013 Sms Management Group Inc
468 Manzanita Ave, 1
Chico, CA 95926


0220 Parents Group
Verdugo Hills Council 058
6724 Ruffner Ave
Lake Balboa, CA 91406


100 Black Men
Metropolitan Houston Chpt, Inc
P.O. Box 604
Bellaire, TX 77402


100 Black Men Macon Mid Georgia Inc
Central Georgia Council 096
P.O. Box 26152
Macon, Ga 31221


100 Black Men Of America Inc
141 Auburn Ave
Atlanta, GA 30303


100 Black Men Of America, Inc
Greater Dallas
P.O. Box 226081
Dallas, TX 75222‐6081


100 Black Men Of West Georgia
Chattahoochee Council 091
P.O. Box 3106
Lagrange, GA 30241


100 Blackmen Of Greater Lafayette
Evangeline Area 212
102 Pintail Dr
Lafayette, LA 70507


1000BulbsCom
2140 Merritt Dr
Garland, TX 75041
1040 Avenue Of The Americas LLC
13‐15 W 54th St, 1st Fl
New York, NY 10019


1040 Avenue Of The Americas LLC
c/o Wilf Law Firm LLP
820 Morris Turnpike, Ste 201
Short Hills, NJ 07078


1040 Avenue Of The Americas LLC
c/o Wilf Law Firm LLP
Attn Mark D Dahn, Esq
13‐15 W 54th St, 1st Fl
New York, NY 10019


1040 Avenue Of The Americas LLC
P.O. Box 765
Short Hills, NJ 07078


10Th Natl Gathering Of Ummen
P.O. Box 440515
Nashville, TN 37244‐0515


10Th Police District
Pathway To Adventure 456
3315 W Ogden Ave
Chicago, IL 60623


1132 Cafe
Kruger of Hawaii Inc
1132 Bishop St, Ste 131
Honolulu, HI 96813


11Th Armored Cavalry Regiment
California Inland Empire Council 045
P.O. Box 10568
Fort Irwin, CA 92310


11Th Police District Chicago
Pathway To Adventure 456
3151 W Harrison St
Chicago, IL 60612


11Th Street Christian Church
South Texas Council 577
1157 W Nelson
Aransas Pass, TX 78336


11Th Western Black Bear Workshop
Idaho Dept Fish   Game
600 S Walnut, Box 25
Boise, ID 83707


127 Hiyer
Verdugo Hills Council 058
1446 Raymond Ave
Glendale, CA 91201


12Th District Chicago Police
Pathway To Adventure 456
1412 S Blue Island Ave
Chicago, IL 60608


12Th Missouri Cavalry Csa
Heart of America Council 307
17311 E 40 Hwy
Independence, MO 64055


1453 Int L Org Of Istanbul
Transatlantic Council, Bsa 802
Adnan Saygun Cad. Kelaynak Sok.
Istanbul,
Turkey


14Th Chicago Police District
Pathway To Adventure 456
2150 N California Ave
Chicago, IL 60647


15Th Ave Baptist Church
Middle Tennessee Council 560
1203 9th Ave N
Nashville, TN 37208
16Th And Haak PTA
Hawk Mountain Council 528
1601 Haak St
Reading, PA 19602


16Th District Explorers
Pathway To Adventure 456
5151 N Milwaukee Ave
Chicago, IL 60630


174 Campus
Greater New York Councils, Bsa 640
456 White Plains Rd
Bronx, NY 10473


17Th District Chicago Police
Pathway To Adventure 456
4650 N Pulaski Rd
Chicago, IL 60630


18 Muns Top Four
Far E Council 803, Unit 5144
Apo, AP 96368


1‐800‐Pack‐Rat
11640 Npark Dr, Ste 200
Wake Forest, NC 27587


1‐800‐Pack‐Rat
6169 Charlotte
P.O. Box 1139
Wallace, NC 28466


18‐Bates Accessories Inc
P.O. Box 468
Greenland, NH 03840


18Th District Chicago Police Dept
Pathway To Adventure 456
1160 N Lorrance Ave
Chicago, IL 60619


193 Dahl Santa Fe
1000 Siler Park Ln
Santa Fe, NM 87507‐3116


1944 Militaria
387 Rainey Rd
Woolwich, NJ 08085


19Th District Chicago Police Dept
Pathway To Adventure 456
850 W Addison St
Chicago, IL 60613


19Th Street Church Of God
Buckskin 617
505 19th St
Parkersburg, WV 26101


1In6 Inc
P.O. Box 222033
Santa Clarita, CA 91322


1In6, Inc
P.O. Box 711113
Los Angeles, CA 90071


1st Associate Reformed Presbyterian Ch
Piedmont Council 420
123 E Broad St
Statesville, Nc 28677


1St Baptist Ch / Robert Harris Memorial
Flint River Council 095
First Baptist Church
Griffin, GA 30223


1st Baptist Ch‐Hines Kids Corner Camp
W D Boyce 138
411 E Lake Ave
Peoria, Il 61614


1St Baptist Church
Pony Express Council 311
407 S 3rd St
P.O. Box 145
Wathena, KS 66090


1St Baptist Church Of Winona
East Texas Area Council 585
212 Dallas St
Winona, TX 75792


1st Baptist Old Stone Ch In Tiverton
Narragansett 546
7 Old Stone Church Rd
Tiverton, Ri 02878


1st Ch Christ Clinton Connecticut
Connecticut Rivers Council, Bsa 066
55 Church Rd
Clinton, Ct 06413


1st Ch In Marlborough Congregal
Mayflower Council 251
37 High St
Marlborough, Ma 01752


1St Chain Supply
797 W Commercial Ave
Lowell, IN 46356


1st Christian Ch Disciples Christ
Blackhawk Area 660
3400 6Th Ave
Sterling, Il 61081


1st Christian Ch Disciple Christ
Lincoln Heritage Council 205
2515 Main St
Benton, Ky 42025
1st Christian Ch Disciples Christ
Calcasieu Area Council 209
1401 Argin Dr
Sulphur, La 70663


1st Christian Ch Disciples Christ
Circle Ten Council 571
203 S Main St
Duncanville, Tx 75116


1st Christian Ch Disciples Christ
Great Rivers Council 653
517 S Carolina St
Louisiana, Mo 63353


1st Christian Ch Disciples Christ
Lincoln Heritage Council 205
175 E John Rowan Blvd
Bardstown, Ky 40004


1st Christian Ch Disiples Christ
W D Boyce 138
604 Groveland St
Creve Coeur, Il 61610


1st Christian Ch Scouting Fndn
East Carolina Council 426
619 Koonce Fork Rd
Richlands, Nc 28574


1St Christian Church   Mt Vernon Arc
National Capital Area Council 082
2723 King St
Alexandria, VA 22302


1St Church Of The Nazerine
Alamo Area Council 583
10715 W Ave
San Antonio, TX 78213


1St Congo Church Of Lincoln‐Mens Club
Katahdin Area Council 216
19 School St
Lincoln, ME 04457


1St Congregal Ch
Bd Of Christian Education
Blackhawk Area 660
461 Pierson St
Crystal Lake, Il 60014


1st Congregal Ch Chesterfield
Western Massachusetts Council 234
P.O. Box 87
Chesterfield, Ma 01012


1st Congregal Ch Des Plaines
Pathway To Adventure 456
766 Graceland Ave
Des Plaines, Il 60016


1st Congregal Ch Hinsdale, Ucc
Western Massachusetts Council 234
129 Maple St
P.O. Box 309
Hinsdale, Ma 01235


1st Congregal Ch N Adams
Western Massachusetts Council 234
134 Main St
North Adams, Ma 01247


1st Congregal Ch Sampton
Western Massachusetts Council 234
P.O. Box 145
212 College Hwy
Southampton, Ma 01073


1st Congregal Ch Webster Groves
Greater St Louis Area Council 312
10 W Lockwood Ave
Saint Louis, Mo 63119
1st Congregal Utd Ch Christ
Bay‐Lakes Council 635
310 Bluff Ave
Sheboygan, Wi 53081


1st Congregal Utd Ch Christ
Bay‐Lakes Council 635
724 E S River St
Appleton, Wi 54915


1St Congregal Utd Ch Christ
Seneca Waterways 397
26 E Church St
Fairport, Ny 14450


1st Congregal Utd Ch Christ
Water And Woods Council 782
6494 Belsay Rd
Grand Blanc, Mi 48439


1St Congregational Church Of Ramona
San Diego Imperial Council 049
8th   D Sts
Ramona, CA 92065


1St Congregational Ucc
Black Hills Area Council 695 695
717 Jackson St
Belle Fourche, SD 57717


1st English Evangelical Lutheran Ch
Baltimore Area Council 220
3807 N Charles St
Baltimore, Md 21218


1st English Evangelical Lutheran Ch
Great Lakes Fsc 272
800 Vernier Rd
Grosse Pointe Woods, Mi 48236


1st English Lutheran Ch   Downtown Site
Bay‐Lakes Council 635
326 E N St
Appleton, Wi 54911


1st English Lutheran Ch   N Site
Bay‐Lakes Council 635
6331 N Ballard Rd
Appleton, Wi 54913


1St English Lutheran Church
Bsa Pack 28
201A 30th St
Austin, TX 78705


1St Evangelical Lutheran Church
Baltimore Area Council 220
8937 Piney Orchard Pkwy
Odenton, MD 21113


1St Henderson Utd Methodist Church
Las Vegas Area Council 328
609 E Horizon Dr
Henderson, NV 89015


1St Lutheran Church
Montana Council 315
303 6th Ave
Havre, MT 59501


1st Meridian Heights Presbyterian Ch
Crossroads Of America 160
4701 Central Ave
Indianapolis, In 46205


1St Methodist Church Fellowship Class
Greater Alabama Council 001
119 Lakeview Dr
Pell City, AL 35128


1St Methodist Church Of Alma
Westark Area Council 016
P.O. Box 1913
Alma, AR 72921
1st Presbyterian Ch Alabaster Cumberland
Greater Alabama Council 001
8828 Elliotsville Ln
Alabaster, Al 35007


1st Presbyterian Ch Austin   Pcusa
Capitol Area Council 564
8001 Mesa Dr
Austin, Tx 78731


1st Presbyterian Ch Birmingham Michigan
Great Lakes Fsc 272
1669 W Maple Rd
Birmingham, Mi 48009


1st Presbyterian Ch Ft Lauderdale
South Florida Council 084
401 Se 15Th Ave
Fort Lauderdale, Fl 33301


1st Presbyterian Ch Gibsonia PC Usa
Laurel Highlands Council 527
4003 Gibsonia Rd
Gibsonia, Pa 15044


1st Presbyterian Ch Granada Hills
W.L.A.C.C. 051
10400 Zelzah Ave
Northridge, Ca 91326


1st Presbyterian Ch Green Cove Spgs
North Florida Council 087
P.O. Box 277
300 Gum St
Green Cove Springs, Fl 32043


1st Presbyterian Ch Hackettstown
Minsi Trails Council 502
298 Main St
Hackettstown, Nj 07840
1st Presbyterian Ch Heber Spgs
Quapaw Area Council 018
1313 W Pine St
Heber Springs, Ar 72543


1st Presbyterian Ch Lambertville
Washington Crossing Council 777
31 N Union St
Lambertville, Nj 08530


1st Presbyterian Ch Sand Spgs
Indian Nations Council 488
222 N Adams Rd
Sand Springs, Ok 74063


1st Presbyterian Ch Three Rivers
Southern Shores Fsc 783
320 N Main St
Three Rivers, Mi 49093


1st Presbyterian Ch Winter Haven
Greater Tampa Bay Area 089
637 6Th St Nw
Winter Haven, Fl 33881


1st Presbyterian Ch Youth Ministries
Great Lakes Fsc 272
1669 W Maple Rd
Birmingham, Mi 48009


1St Presbyterian Church
Bay Area Council 574
130 S Arcola St
Angleton, TX 77515


1St Presbyterian Church
Mid Iowa Council 177
228 W 4th St
Ottumwa, IA 52501


1St Presbyterian Church
Middle Tennessee Council 560
600 N Brittain St
Shelbyville, TN 37160


1St Presbyterian Church ‐ Brazoria
Bay Area Council 574
P.O. Box 70
Brazoria, TX 77422


1St Presbyterian Church Of Allen
Circle Ten Council 571
605 S Greenville Ave
Allen, TX 75002


1St Presbyterian Church Of Chili
Seneca Waterways 397
3600 Chili Ave
Rochester, NY 14624


1St Presbyterian Church Parish Life Comm
Montana Council 315
26 W Babcock St
Bozeman, MT 59715


1St Presbyterian Church Red Bank
Monmouth Council, Bsa 347
255 Harding Rd
Red Bank, NJ 07701


1st Presbyterian, Somerville Rotary Club
West Tennessee Area Council 559
12940 S Main St
Somerville, Tn 38068


1st Trinitarian Congregal Ch Scituate
Mayflower Council 251
381 Country Way
Scituate, Ma 02066


1St Un Meth, 1St Baptist And St Francis
Piedmont Council 420
P.O. Box 905
Rutherfordton, NC 28139


1st Utd Meth Ch Mens Club‐Nville
Great Lakes Fsc 272
777 W 8 Mile Rd
Northville, Mi 48167


1St Utd Methodist
Greater Yosemite Council 059
645 Charity Way
Modesto, CA 95356


1st Utd Methodist Ch Alabaster
Greater Alabama Council 001
10903 Hwy 119
Alabaster, Al 35007


1st Utd Methodist Ch Bentonville
Westark Area Council 016
201 Nw 2Nd St
Bentonville, Ar 72712


1st Utd Methodist Ch Blairstown
Minsi Trails Council 502
P.O. Box 153
Blairstown, Nj 07825


1st Utd Methodist Ch Bloomington
Hoosier Trails Council 145 145
219 E 4Th St
Bloomington, In 47408


1st Utd Methodist Ch Brooksville
Greater Tampa Bay Area 089
109 S Broad St
Brooksville, Fl 34601


1st Utd Methodist Ch Bsa Troop 447
Cape Fear Council 425
101 W Church St
Laurinburg, Nc 28352
1st Utd Methodist Ch Bushnell
Greater Tampa Bay Area 089
221 W Noble Ave
Bushnell, Fl 33513


1st Utd Methodist Ch Caldwell
Sam Houston Area Council 576
306 W Fox St
Caldwell, Tx 77836


1st Utd Methodist Ch Callahan
North Florida Council 087
449648 Us Hwy 301
Callahan, Fl 32011


1st Utd Methodist Ch Canoga Park
W.L.A.C.C. 051
22700 Sherman Way
West Hills, Ca 91307


1st Utd Methodist Ch Carnegie
Last Frontier Council 480
P.O. Box A
Carnegie, Ok 73015


1st Utd Methodist Ch Carterville
Greater St Louis Area Council 312
301 Pine St
Carterville, Il 62918


1st Utd Methodist Ch Central City
Lincoln Heritage Council 205
P.O. Box 249
Central City, Ky 42330


1St Utd Methodist Ch Century Bible Cl
Caddo Area Council 584
2300 S Main St
Hope, AR 71801


1St Utd Methodist Ch Century Bible Cl
Caddo Area Council 584
Hwy 29 S
Hope, AR 71801


1St Utd Methodist Ch Century Bible Club
Caddo Area Council 584
3502 Main St
Hope, Ar 71801


1st Utd Methodist Ch Clermont
Central Florida Council 083
1035 7Th St
Clermont, Fl 34711


1st Utd Methodist Ch Coffeyville
Quivira Council, Bsa 198
10   Elm
Coffeyville, Ks 67337


1st Utd Methodist Ch Colleyville
Longhorn Council 662
1000 Church St
Colleyville, Tx 76034


1st Utd Methodist Ch Constltn Ldg404
Iroquois Trail Council 376
21 Main St N
35 Covington St
Perry, Ny 14530


1st Utd Methodist Ch Crockett
East Texas Area Council 585
P.O. Box 984
Crockett, Tx 75835


1st Utd Methodist Ch Ctrpoint
Greater Alabama Council 001
2129 Center Point Pkwy
Center Point, Al 35215


1st Utd Methodist Ch Dandridge
Great Smoky Mountain Council 557
121 E Meeting St
Dandridge, Tn 37725


1st Utd Methodist Ch Douglasville
Atlanta Area Council 092
6167 Prestley Mill Rd
Douglasville, Ga 30134


1st Utd Methodist Ch Farmersville
Circle Ten Council 571
206 N Main St
Farmersville, Tx 75442


1st Utd Methodist Ch Fountain
Pikes Peak Council 060
1003 N Santa Fe Ave
Fountain, Co 80817


1st Utd Methodist Ch Fremont Umm
San Francisco Bay Area Council 028
2950 Washington Blvd
Fremont, Ca 94539


1st Utd Methodist Ch Frostproof
Greater Tampa Bay Area 089
150 Devane St
Frostproof, Fl 33843


1st Utd Methodist Ch Ft Gibson
Indian Nations Council 488
P.O. Box 370
Fort Gibson, Ok 74434


1St Utd Methodist Ch Gainesville
North Florida Council 087
419 Ne 1St St
Gainesville, Fl 32601


1st Utd Methodist Ch George W
South Texas Council 577
P.O. Box 266
George W, Tx 78022
1st Utd Methodist Ch Georgetown
Capitol Area Council 564
410 E University Ave
Georgetown, Tx 78626


1st Utd Methodist Ch Gladewater
East Texas Area Council 585
P.O. Box 532
Gladewater, Tx 75647


1st Utd Methodist Ch Gonzales
Capitol Area Council 564
426 Saint Paul St
Gonzales, Tx 78629


1st Utd Methodist Ch Grapevine
Longhorn Council 662
422 Church St
Grapevine, Tx 76051


1st Utd Methodist Ch Greenbrier
Quapaw Area Council 018
2 Tyler St
Greenbrier, Ar 72058


1st Utd Methodist Ch Haddon Heights
Garden State Council 690
704 Garden St
Haddon Heights, Nj 08035


1st Utd Methodist Ch Hamilton
The Spirit Of Adventure 227
391 Bay Rd
South Hamilton, Ma 01982


1st Utd Methodist Ch Hendersonville
Daniel Boone Council 414
204 6Th Ave W
Hendersonville, Nc 28739
1st Utd Methodist Ch Highland
California Inland Empire Council 045
27555 Baseline St
Highland, Ca 92346


1st Utd Methodist Ch Hobe Sound
Gulf Stream Council 085
P.O. Box 8601
Hobe Sound, Fl 33475


1st Utd Methodist Ch Hokes Bluff
Greater Alabama Council 001
3001 Alford Bend Rd
Gadsden, Al 35903


1st Utd Methodist Ch Horseheads
Five Rivers Council, Inc 375
1034 W Broad St
Horseheads, Ny 14845


1st Utd Methodist Ch Humboldt
West Tennessee Area Council 559
800 N 12Th St
Humboldt, Tn 38343


1st Utd Methodist Ch Jacksonville
Greater Alabama Council 001
109 Gayle Ave Sw
Jacksonville, Al 36265


1st Utd Methodist Ch Jacksonville
Quapaw Area Council 018
220 W Main St
Jacksonville, Ar 72076


1st Utd Methodist Ch Kennedale
Longhorn Council 662
229 W 4Th St
Kennedale, Tx 76060


1st Utd Methodist Ch Kingsville
South Texas Council 577
230 W Kleberg Ave
Kingsville, Tx 78363


1st Utd Methodist Ch Land O Lakes
Greater Tampa Bay Area 089
6209 Land O Lakes Blvd
Land O Lakes, Fl 34638


1st Utd Methodist Ch Lawrenceville
Northeast Georgia Council 101
395 W Crogan St 29
Lawrenceville, Ga 30045


1st Utd Methodist Ch Lewisville
Longhorn Council 662
907 W Main St
Lewisville, Tx 75067


1st Utd Methodist Ch Lincolnton
Piedmont Council 420
201 E Main St
Lincolnton, Nc 28092


1st Utd Methodist Ch Lockhart
Capitol Area Council 564
313 W San Antonio St
Lockhart, Tx 78644


1st Utd Methodist Ch Los Alamos
Great Swest Council 412
715 Diamond Dr
Los Alamos, Nm 87544


1st Utd Methodist Ch Lucedale
Pine Burr Area Council 304
5101 Main St
Lucedale, Ms 39452


1st Utd Methodist Ch Mansfield
Longhorn Council 662
601 Pleasant Ridge Dr
Mansfield, Tx 76063
1st Utd Methodist Ch Mcalester
Indian Nations Council 488
1501 S 13Th St
Mcalester, Ok 74501


1st Utd Methodist Ch Mcminnville
Middle Tennessee Council 560
200 W Main St
Mcminnville, Tn 37110


1st Utd Methodist Ch Midfield
Lake Erie Council 440
P.O. Box 207
Middlefield, Oh 44062


1st Utd Methodist Ch Milledgeville
Central Georgia Council 096
366 Log Cabin Rd Ne
Milledgeville, Ga 31061


1st Utd Methodist Ch Mineral Wells
Longhorn Council 662
301 Ne 1St St
Mineral Wells, Tx 76067


1st Utd Methodist Ch Mont Belvieu
Sam Houston Area Council 576
10629 Eagle Dr
Mont Belvieu, Tx 77580


1st Utd Methodist Ch Morristown
Great Smoky Mountain Council 557
101 E 1St N St
Morristown, Tn 37814


1st Utd Methodist Ch Mount Dora
Central Florida Council 083
440 E 6Th Ave
Mount Dora, Fl 32757
1st Utd Methodist Ch Munfordville
Lincoln Heritage Council 205
421 Hardyville Rd
Munfordville, Ky 42765


1st Utd Methodist Ch Muskogee
Indian Nations Council 488
600 E Okmulgee St
Muskogee, Ok 74403


1st Utd Methodist Ch Myrtle Beach
Pee Dee Area Council 552
901 N Kings Hwy
Myrtle Beach, Sc 29577


1St Utd Methodist Ch N Hollywood
W.L.A.C.C. 051
4832 Tujunga Ave
North Hollywood, Ca 91601


1st Utd Methodist Ch Ormond Beach
Central Florida Council 083
336 S Halifax Dr
Ormond Beach, Fl 32176


1st Utd Methodist Ch Palo Alto
Pacific Skyline Council 031
625 Hamilton Ave
Palo Alto, Ca 94301


1st Utd Methodist Ch Park Hills
Greater St Louis Area Council 312
403 Taylor Ave
Park Hills, Mo 63601


1st Utd Methodist Ch Pawhuska, Ok
Cherokee Area Council 469 469
621 Leahy Ave
Pawhuska, Ok 74056


1st Utd Methodist Ch Plainwell
President Gerald R Ford 781
200 Park St
Plainwell, Mi 49080


1st Utd Methodist Ch Plant City
Greater Tampa Bay Area 089
P.O. Box 1809
Plant City, Fl 33564


1st Utd Methodist Ch Port Byron
Illowa Council 133
9412 228Th St N
Port Byron, Il 61275


1st Utd Methodist Ch Port Orange
Central Florida Council 083
405 Dunlawton Ave
Port Orange, Fl 32127


1st Utd Methodist Ch Port St John
Central Florida Council 083
1165 Fay Blvd
Cocoa, Fl 32927


1st Utd Methodist Ch Portageville
Greater St Louis Area Council 312
110 E 5Th St
Portageville, Mo 63873


1st Utd Methodist Ch Randleman
Old N State Council 070
301 S Main St
Randleman, Nc 27317


1st Utd Methodist Ch Richardson
Circle Ten Council 571
P.O. Box 830877
503 N Central Expy
Richardson, Tx 75083


1st Utd Methodist Ch Round Rock
Capitol Area Council 564
1004 N Mays St
Round Rock, Tx 78664


1st Utd Methodist Ch Sallisaw
Indian Nations Council 488
2100 E Mcgee Ave
Sallisaw, Ok 74955


1st Utd Methodist Ch Santa Monica
W.L.A.C.C. 051
1008 11Th St
Santa Monica, Ca 90403


1st Utd Methodist Ch Santa Rosa
Redwood Empire Council 041
1551 Montgomery Dr
Santa Rosa, Ca 95405


1st Utd Methodist Ch Saranac Lake
Twin Rivers Council 364
19 Church St
Saranac Lake, Ny 12983


1st Utd Methodist Ch Scotch Plains
Patriots Path Council 358
1171 Terrill Rd
Scotch Plains, Nj 07076


1st Utd Methodist Ch Sneads Ferry
East Carolina Council 426
305 Lakeside Dr
Sneads Ferry, Nc 28460


1st Utd Methodist Ch Spgfield
Middle Tennessee Council 560
511 S Oak St
Springfield, Tn 37172


1st Utd Methodist Ch St Charles
Greater St Louis Area Council 312
801 1St Capitol Dr
Saint Charles, Mo 63301
1st Utd Methodist Ch Stillwater
Northern Star Council 250
813 Myrtle St W
Stillwater, Mn 55082


1st Utd Methodist Ch Union Cnty
Northeast Georgia Council 101
859 Hwy 515
Blairsville, Ga 30512


1st Utd Methodist Ch Verdigris
Indian Nations Council 488
8936 E 530 Rd
Claremore, Ok 74019


1st Utd Methodist Ch Warrensburg
Twin Rivers Council 364
3890 Main St
Warrensburg, Ny 12885


1st Utd Methodist Ch Wartrace
Middle Tennessee Council 560
305 Main St E
Wartrace, Tn 37183


1st Utd Methodist Ch Watkinsville
Northeast Georgia Council 101
123 New High Shoals Rd
Watkinsville, Ga 30677


1st Utd Methodist Ch Webster Groves
Greater St Louis Area Council 312
600 N Bompart Ave
Saint Louis, Mo 63119


1st Utd Methodist Ch Winter Park
Central Florida Council 083
125 N Interlachen Ave
Winter Park, Fl 32789


1st Utd Methodist Ch, Blytheville
Quapaw Area Council 018
701 Main St
Blytheville, Ar 72315


1st Utd Methodist Ch, Carson City
Nevada Area Council 329
412 W Musser St
Carson City, Nv 89703


1st Utd Methodist Ch‐Board Trustees
W D Boyce 138
211 N School St
Normal, Il 61761


1St Utd Methodist Ch‐New Braunfels
Alamo Area Council 583
572 W San Antonio St
New Braunfels, Tx 78130


1St Utd Methodist Church
Bay Area Council 574
200 Hwy 517 W
Dickinson, TX 77539


1St Utd Methodist Church
Bay Area Council 574
207 E 1st St
Sweeny, TX 77480


1St Utd Methodist Church
Bay Area Council 574
404 Azalea St
Lake Jackson, TX 77566


1St Utd Methodist Church
Bay Area Council 574
P.O. Box 487
200 Hwy 517 W
Dickinson, TX 77539


1St Utd Methodist Church
Blackhawk Area 660
3717 Main St
Mchenry, IL 60050


1St Utd Methodist Church
Circle Ten Council 571
P.O. Box 125
Van Alstyne, TX 75495


1St Utd Methodist Church
Conquistador Council Bsa 413
200 N Pennsylvania
Roswell, NM 88201


1St Utd Methodist Church
Coronado Area Council 192
804 N Jefferson St
Junction City, KS 66441


1St Utd Methodist Church
De Soto Area Council 013
121 Harrison St Sw
Camden, AR 71701


1St Utd Methodist Church
East Texas Area Council 585
7638 Park Dr
Ore City, TX 75683


1St Utd Methodist Church
Indian Nations Council 488
1615 N Hwy 88
Claremore, OK 74017


1St Utd Methodist Church
Louisiana Purchase Council 213
222 S Washington St
Bastrop, LA 71220


1St Utd Methodist Church
Monmouth Council, Bsa 347
8 Main St
Farmingdale, NJ 07727
1St Utd Methodist Church
Northeast Georgia Council 101
118 S Thomas St
Elberton, GA 30635


1St Utd Methodist Church
Northwest Georgia Council 100
500 S Thornton Ave
Dalton Ga
Dalton, GA 30720


1St Utd Methodist Church
Simon Kenton Council 441
18 S Fulton St
Richwood, OH 43344


1St Utd Methodist Church Bartlett
Capitol Area Council 564
645 W Clark St
Bartlett, TX 76511


1St Utd Methodist Church Council
Mid‐America Council 326
127 N 10th St
Fort Dodge, IA 50501


1St Utd Methodist Church Mens Club
W D Boyce 138
154 E Washington St
East Peoria, IL 61611


1St Utd Methodist Church Mtn View
Quapaw Area Council 018
P.O. Box 74
Mountain View, AR 72560


1St Utd Methodist Church Oakhurst
Monmouth Council, Bsa 347
103 Monmouth Rd
Oakhurst, NJ 07755
1St Utd Methodist Church Of Escondido
San Diego Imperial Council 049
341 S Kalmia St
Escondido, CA 92025


1St Utd Methodist Church Of Hale
Water and Woods Council 782
P.O. Box 46
Hale, MI 48739


1St Utd Methodist Church Of Mesquite
Circle Ten Council 571
300 N Galloway Ave
Mesquite, TX 75149


1St Utd Methodist Church Of Millbrook
Tukabatchee Area Council 005
P.O. Box 609
Millbrook, AL 36054


1St Utd Methodist Church Of Palmetto
Southwest Florida Council 088
330 11th Ave W
Palmetto, FL 34221


1St Utd Methodist Church‐Kerrville
Alamo Area Council 583
321 Thompson Dr
Kerrville, TX 78028


1st Utd Methodist Mens Club
Kiwanis Dexter
Greater St Louis Area Council 312
P.O. Box 15
P.O. Box 233
Dexter, Mo 63841


1St Utd Methodist Mens Group
Northeast Georgia Council 101
P.O. Box 472
Ellijay, GA 30540
1St Utd Methodist Of Lindale
East Texas Area Council 585
P.O. Box 367
Lindale, TX 75771


1st Utd Presbyterian Ch Brownstown Inc
Hoosier Trails Council 145 145
417 N Elm St
Brownstown, In 47220


1st Utd Presbyterian Ch Dale City
National Capital Area Council 082
14391 Minnieville Rd
Woodbridge, Va 22193


1st Utd Presbyterian Ch Harrisburg
Greater St Louis Area Council 312
34 W Poplar St
Harrisburg, Il 62946


1st Utd Presbyterian Ch Houston
Laurel Highlands Council 527
102 N Main St
Houston, Pa 15342


1st Utd Presbyterian Ch Tarentum
Laurel Highlands Council 527
913 Lock St
Tarentum, Pa 15084


1St Utd Presbyterian Chr Of Dale City
National Capital Area Council 082
14391 Minnieville Rd
Woodbridge, VA 22193


1St Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
1000 Taylor Dr
Sierra Vista, AZ 85635


1‐World Globes   Maps
1605 S Jackson St
Seattle, WA 98144


2 Brothers Collision Inc
1501 S Eisenhower Dr
Beckley, WV 25801


2 Brothers Collision Inc
4657 Robert C Byrd Dr
Beckley, WV 25801


2 Sound Productions
Middle Tennessee Council 560
433 Brinkley Rd
Murfreesboro, TN 37128


20 Communication Booster Club
Pee Dee Area Council 552
20 Comm Bldg
Shaw A F B, Sc 29152


20/20 Staffing, Inc
100 Decker Court, Ste 190
Irving, TX 75062


2008 Lulac National Convention
Lulac National Office
2000 L St NW, Ste 610
Washington, DC 20036


2011 National Urban League Conference
Attn Lisa Davis Sr Dir of Finance
120 Wall St 8th Fl
New York, NY 10005


2012 Bsa Retirees Reunion
Attn Tim Nicholson, Treasurer
3209 Monroe Rd
Yuba City, CA 95993‐8867


2014 T‐L Div Meeting
Attn Beth Grace, Cap
P.O. Box 154555
Irving, TX 75015‐4555


204 Alumni Assoc
Longhouse Council 373
4770 Black Oak Dr
Liverpool, NY 13088


20Th Century Club
Yocona Area Council 748
204 N Main St
Iuka, MS 38852


20Th Civil Engineer Booster Club
Pee Dee Area Council 552
3645 Camden Hwy
P.O. Box 68
Shaw Afb, SC 29152


21C Louisville LLC
700 W Main St
Louisville, KY 40202


21St Cclc Impact
President Gerald R Ford 781
1826 Hoyt St
Muskegon, MI 49442


21St Century ‐ Cahokia High School
Greater St Louis Area Council 312
800 Range Ln
Cahokia, IL 62206


21St Century Anchor Program
Ohio River Valley Council 619
91 Zane St
Wheeling, WV 26003


21St Century At Belle Stone Elem Sch
Buckeye Council 436
2100 Rowland Ave Ne
Canton, Oh 44714


21St Century Clc
Coastal Georgia Council 099
208 Bull St
Savannah, GA 31401


21St Century Community Learning Center
Great Trail 433
105 High St Ne
Warren, OH 44481


21St Century Community Learning Center
Tukabatchee Area Council 005
901 Pegues Cir
Marion, AL 36756


21St Century Community Learning Centers
President Gerald R Ford 781
1420 Madison St
Muskegon, MI 49442


21St Century Expo Group Inc
2404 Fairlawn St
Temple Hills, MD 20748


21St Century Jacobs
Narragansett 546
47 Emery St
New Bedford, MA 02744


21St Century Penniman
Greater St Louis Area Council 312
1820 Jerome Ln
Cahokia, IL 62206


21St Century Rosa Parks
Erie Shores Council 460
1500 N Superior
Toledo, OH 43604
21St Century Wirth
Greater St Louis Area Council 312
1900 Mousette Ln
Cahokia, IL 62206


21St Ows Top Iv
Transatlantic Council, Bsa 802
21 Ows Bldg 2783, Unit 3124
Apo, AE 09021


24 Church
Middle Tennessee Council 560
P.O. Box 230
Pleasant View, TN 37146


2401 Lamar Dallas Esong LLC
dba Hilton Arlington
2401 E Lamar Ave
Arlington, TX 76006


24Th Iowa Volunteer Infantry
Hawkeye Area Council 172
2406 18th St Sw
Cedar Rapids, IA 52404


2504 N Loop Brookhollow LLC
Courtyard Houston Brookhollow
2504 N Loop W
Houston, TX 77092


25Th District Chicago Police
Pathway To Adventure 456
5555 W Grand Ave
Chicago, IL 60639


271 Venture
c/o Regency Realty Advisors Ltd
1357 Broadway, Ste 340
New York, NY 10018


2Cimple Inc
3101 Hoffman Dr
Plano, TX 75025


2Cimple, Inc
2435 N Central Expy, Ste 1200
Richardson, TX 75080


2Nd District Chicago Police Explorers
Pathway To Adventure 456
5101 S Wentworth Ave
Chicago, IL 60609


2Nd District Volunteer Fire Dept
National Capital Area Council 082
45245 Draden Rd
Valley Lee, MD 20692


2Nd Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
2100 E Yaqui St
Sierra Vista, AZ 85650


3 Back LLC
1443 S 27th St, Ste B
Caledonia, WI 53108


3 Degrees Tactical
Las Vegas Area Council 328
5733 Oasis Ridge St
N Las Vegas, NV 89031


3 Di Sign   Design Inc
1133 W Main St
Arlington, TX 76013


3 Mins Defirillation Rural America Inc
Prairielands 117
3168 E 640 N
Wingate, In 47994


3 Rivers Archery
P.O. Box 517
607 H L Thompson Jr Dr
Ashley, IN 46705


300 Degree
Circle Ten Council 571
965 Rolling Meadow Dr
Lavon, TX 75166


3096‐3227 Quebec Inc/Groupe Access
8270 Mayrand
Montreal, Qc H4P 2C5
Canada


311 Kitchen   Cocktails LLC
311 N Market St, 100
Dallas, TX 75202


31St Street Baptist/4St Baptist Church
Heart of Virginia Council 602
823 N 31st St
Richmond, VA 23223


346 Parents Assoc, Inc
South Florida Council 084
5041 SW 10th St
Plantation, FL 33317


360 Media Watch LLC
14‐25 33rd Rd
Astoria, NY 11106


365, Inc
431 US Hwy 70‐A E
Hillsborough, NC 27278


372 ‐ LDS Pioneer Ward
Cornhusker Council 324
3000 Old Cheney Rd
Lincoln, NE 68516


374 Lrs   Yuuko Club
Far E Council 803
Psc 78 Box 728
Apo, AP 96326


37Th Airlift Squadron Booster Club
Transatlantic Council, Bsa 802
Unit 3108
Apo, AE 09094


3Form Material Solutions
2300 S 2300 W, Ste B
Salt Lake City, UT 84119


3Li LLC
1430 Branding Ave, Ste 150
Downers Grove, IL 60515


3Mb‐Men Mentoring Men And Boys
Lake Erie Council 440
2650 E 125th St
Cleveland, OH 44120


3N Global Inc
505 N Brand Blvd, Ste 700
Glendale, CA 91203


3Rd District Juvenial Court
Lfl Explorer Posts
Great Salt Lake Council 590
3636 S Constitution Blvd
West Valley City, Ut 84119


3Rd Generation Plumbing
3980 Overseas Hwy
Marathon, FL 33050


3Rd Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
1655 Avenida Del Sol
Sierra Vista, AZ 85635
4 All Promos
40 Main St
Centerbrook, CT 06409


4 Communities Volunteer Fire Dept
Central Florida Council 083
4870 N Hwy 1
Cocoa, FL 32927


4 Daughters Land   Cattle Co, Inc
4400 Alameda Blvd Ne, Ste E
Albuquerque, NM 87113


4 H Shooting Sports
De Soto Area Council 013
307 American Rd, Ste 101
El Dorado, AR 71730


4 Hills Private Community
Great Swest Council 412
12300 Singing Arrow Ave Se
Albuquerque, NM 87123


4 Rivers Holdings, LLC
4 Rivers Equipment‐Ag, LLC
924 11th St
Greeley, CO 80631


4 Scouting, Inc
Southwest Florida Council 088
2315 SW 22nd Ter
Cape Coral, FL 33991


4 Seasons Athletics
Twin Valley Council Bsa 283
124 State St N
Waseca, MN 56093


426 Explorer Post
Southern Sierra Council 030
29449 Stockdale Hwy
Bakersfield, CA 93314
45Th Street Baptist Church
Greater Alabama Council 001
7600 Div Ave
Birmingham, AL 35206


465 Alumni, Inc
Atlanta Area Council 092
1948 Tripp Rd
Woodstock, GA 30188


48 Fw/Hc Catholic Men Of The Chapel
Transatlantic Council, Bsa 802
Unit 5210
Apo, AE 09461


49Er Rotary Club Of Nevada City
Golden Empire Council 047
101 W Mcknight Way, Ste B
Grass Valley, CA 95949


4And20 Bakers
Coastal Georgia Council 099
115 N Ennis St
Sylvania, GA 30467


4Ctechnologies
P.O. Box 6774
Pittsburgh, PA 15212


4Imprint
25303 Network Pl
Chicago, IL 60673‐1253


4M Plaze   Office Center, LLC
1649 Montgomery Rd, Ste 1
Aurora, IL 60504


4M Plz   Office Center, LLC
c/o Tom Mouroukas
1649 Montgomery Rd, Ste 1
Aurora, IL 60504


4Mz Inc
dba Advanced Graphix
520 23rd St
Lubbock, TX 79404


4Th District Chicago Police Dept
Pathway To Adventure 456
2255 E 103rd St
Chicago, IL 60617


4Th Uniterian Society Of Westchester
Westchester Putnam 388
1698 Strawberry Rd
Mohegan Lake, NY 10547


4Th Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
1655 Avenida Del Sol
Sierra Vista, AZ 85635


5 Cities Mens Club
Los Padres Council 053
P.O. Box 0
Grover Beach, CA 93483


5 Star Fire Explorers
Bay‐Lakes Council 635
8411 County Rd M
Plymouth, WI 53073


5 Star Talent   Entertainment Inc
2256 Country Club Loop
Westminster, CO 80234


501 C Insurances, Services, Inc
10080 N Wolfe Rd, Sw3, Ste 250
Cupertino, CA 95014


501 LLC
2900 W Rd, Ste 400
East Lansing, MI 48823


501 Management, Inc
10080 N Wolfe Rd, Sw3, Ste 250
Cupertino, CA 95014


505 Cwi, LLC
100 Mountain Park Pl Nw, Ste C
Albuquerque, NM 87114


514 Investments LLC
Vertical Excape Climbing Center
1315 N Royal Ave
Evansville, IN 47715


5Th Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
1655 Avenida Del Sol
Sierra Vista, AZ 85635


600 E 3Rd Ltd
Moonshine Patio Bar      Grill
P.O. Box 684588
Austin, TX 78768


628 Communications Squadron Booster Club
Coastal Carolina Council 550
103 N Graves Ave
Charleston Afb, SC 29404


672 ‐ LDS Holmes Lake Ward
Cornhusker Council 324
3000 Old Cheney Rd
Lincoln, NE 68516


68 PCt Club
Nypd 68 Pct,Attn Susan Porcello
333 65 St
Brooklyn, NY 11220
6Th District Explorers
Pathway To Adventure 456
7808 S Halsted St
Chicago, IL 60620


7 Mile Co
85960 Overseas Hwy, Ste 2
Islamorada, FL 33036


7 Rivers Community High School
Gateway Area 624
807 E Ave S
La Crosse, WI 54601


72 ‐ LDS Yankee Hill Ward
Cornhusker Council 324
3000 Old Cheney Rd
Lincoln, NE 68516


7456Th Mbb Family Readiness SuppGrp Frsg
Mid Iowa Council 177
225 E Army Post Rd
Des Moines, Ia 50315


772 ‐ LDS Seward Branch
Cornhusker Council 324
1055 E Seward Rd
Seward, NE 68434


773 Scouters Assoc
Atlanta Area Council 092
P.O. Box 1572
Dallas, GA 30132


777 Nashville LP
dba Sheraton Music City
777 Mcgavock Pike
Nashville, TN 37214


786 Ces Booster Club
Transatlantic Council, Bsa 802
Ramstein Air Base
Apo, AE 09136


7Th District Caps
Pathway To Adventure 456
1438 W 63rd St
Chicago, IL 60636


7Th Masonic District Mwphgl Va
Colonial Virginia Council 595
2505 Chestnut Ave
Newport News, VA 23607


82Nd Airborne Assoc
Yucca Council 573
2608 Fort Blvd
El Paso, TX 79930


838 Youth Ministries Inc
Circle Ten Council 571
3556 Golfing Green Dr
Dallas, TX 75234


84 Lumber Co
1019 Route 519
Eighty Four, PA 15330‐2813


84 Lumber Co
P.O. Box 365
Eighty Four, PA 15330‐0365


86 Ceg Top Iii
Transatlantic Council, Bsa 802
Bldg 2693, Ramstein Ab
Apo, AE 09094


876 Media LLC
122 Goddard Ave
Fayetteville, WV 25840


876 Media LLC
2916 Purple Finch Rd
Roanoke, VA 24018


88 Ridge Royal LLC
The Queensbury Hotel
88 Ridge St
Glen Falls, NY 12801


8Th District Chicago Police
Pathway To Adventure 456
3420 W 63rd St
Chicago, IL 60629


900 Lbs Of Creative LLC
5301 Alpha Rd, Ste A‐10
Dallas, TX 75240


9161 Scouters Assoc
Atlanta Area Council 092
15 Farm Brook Ln
Dallas, GA 30157


9644 Vfw Auxiliary
Denver Area Council 061
2680 W Hampden Ave
Englewood, CO 80110


9644 Vfw Auxillary
Denver Area Council 061
2680 W Hampden Ave
Englewood, CO 80110


990 Online Civic Leadership Pr
2437 15th St Nw
Washington, DC 20009


A   A Line    Wire Corp
29 Liberty St
Passaic, NJ 07055


A   B Process Systems
Samoset Council, Bsa 627
201 S Wisconsin Ave
Stratford, WI 54484


A   B WaLLCoverings And Interiors Inc
8865 24th Ave
Jenison, MI 49428


A   J Catering LLC
P.O. Box 415
Surveyor, WV 25932


A   J Scuba Diving Instruction
Glaciers Edge Council 620
7517 S 74th St
Franklin, WI 53132


A   M Home Center
P.O. Box 1370
106 N Main St
Bowling Green, VA 22427‐1370


A   M Utd Methodist Church
Sam Houston Area Council 576
417 University Dr
College Station, TX 77840


A   S Rg Inc
dba Country Bbq
3921 Sedgebrook St
High Point, NC 27265


A   S Suppliers Inc
1970 W 84th St
Hialeah, FL 33014


A Academy Elementary
Circle Ten Council 571
8225 Bruton Rd
Dallas, TX 75217


A   Academy Secondary
Circle Ten Council 571
Dr. Alan Seay
8225 Bruton Rd
Dallas, TX 75217


A Arts Academy
Simon Kenton Council 441
1395 Fair Ave
Columbus, OH 43205


A B Emblems   Caps
P.O. Box 695
Weaverville, NC 28787


A Better Marine Service LLC
P.O. Box 420054
Summerland Key, FL 33042


A Bright Tomorrow Counseling Service Inc
Last Frontier Council 480
13524 Railway Dr, Ste G
Oklahoma City, OK 73114


A Carl Cummins
Address Redacted


A Century Of Values
23947 Lynwood
Novi, MI 48374


A Ch Jesus Christ LDS
Jefferson Ward
Southeast Louisiana Council 214
5025 Cleveland Pl
Metairie, La 70003


A Christine Wells
Address Redacted


A Clark
Address Redacted
A Compton Reeves
Address Redacted


A D Lewis Community Center
Buckskin 617
1450 A D Lewis Ave
Huntington, WV 25701


A E Johnson Co, Inc
4214‐K Stuart Andrews Blvd
Charlotte, NC 28201


A E Phelps Engine Co 1
Twin Rivers Council 364
P.O. Box 183
Crown Point, NY 12928


A Eagle Circuit Breakers, LLC
309 N Beltline Rd, Ste 101
Irving, TX 75061


A Ely Brewer Jr
Address Redacted


A Floral Experience
5457 N Macarthur Blvd
Irving, TX 75038


A G Ford Arts Inc
9818 Royalwood Ln
Frisco, TX 75035


A G S Labs Inc
4871 Sharp St
Dallas, TX 75247


A Group Of Businessmen Of Gallipolis
Buckskin 617
81 State St
Gallipolis, OH 45631


A Group Of Citizens
Westchester Putnam 388
168 Read Ave
Tuckahoe, NY 10707


A Group Of Citizens
Westchester Putnam 388
19 Hillcrest Rd
Bronxville, NY 10708


A Group Of Citizens
Westchester Putnam 388
39 7th St
New Rochelle, NY 10801


A Group Of Citizens
Westchester Putnam 388
58 Bradford Blvd
Colonial Heights
Yonkers, NY 10710


A Group Of Citizens
Westchester Putnam 388
P.O. Box 630
Bronxville Scout Cabin
Bronxville, NY 10708


A Group Of Citizens Of New Dorp Inc
Greater New York Councils, Bsa 640
19 4th St
Staten Island, NY 10306


A H Harris   Sons
P.O. Box 418827
Boston, MA 02241‐8827


A J Bart Inc
4130 Lindbergh Dr
Addison, TX 75001
A John Bosio
Address Redacted


A K Office Supplies
10 W 15th St 1620
New York, NY 10011‐6828


A L Odom Locksmiths Inc
P.O. Box 15062
Asheville, NC 28813


A La Carte Catering     Event Planning
P.O. Box 1141
Haymarket, VA 20169


A Latina Television
Portal De Sofia
111 Cecilio Urbina St
Guaynabo, PR 00969


A Laundry Room, Inc
P.O. Box 244
Ely, MN 55751


A Lazy 6 Angus At Canyon Blanco
Hcr 72 Box 10
Ribera, NM 87560


A M College Of Forestry
Attn Kate Smith ‐ University of Montana
University Hall, Rm 309
Missoula, MT 59813


A M Leonard, Inc
P.O. Box 816
Piqua, OH 45356


A Murphys Lock   Key
2633 Bay St
Charlotte, NC 28205
A Novel Idea Book Parlor
Trapper Trails 589
2465 N Main
Sunset, UT 84015


A O Mattson Post 25 American Legion
Northern Lights Council 429
410 Lake St Ne
Warroad, MN 56763


A O Mattson Post 25 American Legion
Northern Lights Council 429
American Legion
410 Lake St Ne
Warroad, MN 56763


A P Beutel Elementary Ranch
Bay Area Council 574
300 Ligustrum St
Lake Jackson, TX 77566


A Plus License Service Inc
310 Johnstown Rd, Ste 2
Beckley, WV 25801


A Plus Marine Supply Inc
212 Mcclure Dr
Gulf Breeze, FL 32561


A Quan
Address Redacted


A R Presbyterian Church
Palmetto Council 549
109 Wylie St
Chester, SC 29706


A Rib And A Prayer LLC
Attn Stephanie Reeves
P.O. Box 726
Crab Orchard, WV 25827


A Royal Flush
141 S Hammock Rd
Islamorada, FL 33036


A S C D
P.O. Box 17035
Baltimore, MD 21298‐8431


A Sailors Guide To Rum
411 Walnut St 14412
Green Cove Springs, FL 32043


A Sailors Guide To Rum
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


A Step Ahead Learning Center
Atlanta Area Council 092
340 Wilkerson Rd
Rex, GA 30273


A Stitch In Time Embroidery Inc
25A Jericho Turnpike
Mineola, NY 11501


A Stitch Or Two LLC
Illowa Council 133
2549 34th St
Moline, IL 61265


A T   T
P.O. Box 930170
Dallas, TX 75393‐0170


A T   T 8110
P.O. Box 8110
Aurora, IL 60507‐8110
A T Merhaut Inc
4684 Route 8
Allison Park, PA 15101


A Taste Of Cimarron
22 Deer Run Rd
Cimarron, NM 87714


A Taste Of Cimarron
c/o Dave Kenneke
22 Deer Run Rd
Cimarron, NM 87714


A Taste Of Memphis
412 Beckley Crossing
P.O. Box 1086
Beckley, WV 25801


A Taylor
Address Redacted


A To Z Rental   Sales
826 7th Ave
Huntington, WV 25701


A Viands/ Summit, LLC
Attn Accounts Receivable
1751 County Rd B W, Ste 300
Roseville, MN 55113


A W Brown Fellowship Academy Parents
Circle Ten Council 571
804 Ember Ln
Mesquite, TX 75149


A W Disc Jockeys
2101 Oakfield Ave Se
Grand Rapids, MI 49507


A W Opel Plumbing Co Inc
10049 S Mandel St, Unit A
Plainfield, IL 60540


A W Surveyors Inc
P.O. Box 870029
Mesquite, TX 75187


A Zayja Jonet Alguero Raymo
Address Redacted


A. L. Holmes Elementary PTA Group
Great Lakes Fsc 272
8950 Crane St
Detroit, MI 48213


A.C.L., LLC
672 Old Mill Rd, 140
Millersville, MD 21108


A.E. Beach High School
Coastal Georgia Council 099
3001 Hopkins St
Savannah, GA 31405


A‐1 Drain    Sewer Inc
P.O. Box 543
Belmont, NC 28012


A1 Golf Cart Leasing Inc
25820 S Arizona Ave
Sun Lakes, AZ 85248


A‐1 Lock   Safe
3204 Limerick Rd
El Paso, TX 79925


A‐1 Lockshop Locksmith Services Inc
1036 E Red Hill Pkwy C
St George, UT 84770
A‐1 Locksmith Service Inc
1036 E Red Hills Pkwy C
St George, UT 84770


A‐1 Septic Tank Service
dba Speedy Jons
219 Brookridge Dr
Shady Spring, WV 25918


A‐1 Services Inc
2715 Hwy 37
Eveleth, MN 55734


A1 Uniform Sales Co Inc
P.O. Box 236
Brentwood, MD 20722


Aa Mills 2016, LLC
P.O. Box 2310
Griffin, GA 30224


Aaa Auto Club South
Attn Amber Steadman
P.O. Box 31087
Tampa, FL 33631


Aaa Cooper Transportation
P.O. Box 6827
Dothan, AL 36302


Aaa Glass   Awning Co, Inc
1003 Webster Rd
Summersville, WV 26651


Aaa Pumping Services Inc
P.O. Box 12186
Albuquerque, NM 87195


Aaa Safe   Lock Co, Inc
1561 Sland Cir Nw
Atlanta, GA 30318
Aaa Safe   Lock Co, Inc
722 S Highland St
Memphis, TN 38111


Aaa Septic Tank Portable Toilet Services
P.O. Box 975
Princeton, WV 24740


Aaa Trophy T‐Shirt   Sports
305 E Denman Ave
Lufkin, TX 75901


Aaaa
Alabama‐Florida Council 003
P.O. Box 620643
Fort Rucker, AL 36362


Aaaa‐Zama
Far E Council 803, Unit 45007
Apo, AP 96343


Aacal Animal Science
Golden Spread Council 562
1100 N Forest St
Amarillo, TX 79106


Aacal Autotechnology
Golden Spread Council 562
1100 N Forest St
Amarillo, TX 79106


Aacal Computer Technology
Golden Spread Council 562
1100 N Forest St
Amarillo, TX 79106


Aacal Health Science
Golden Spread Council 562
1100 N Forest St
Amarillo, TX 79106
Aacal Preengineering
Golden Spread Council 562
1100 N Forest St
Amarillo, TX 79106


Aacc
Unit 07 Aacc Academic Marketplace
P.O. Box 4800
Portland, OR 97208‐4800


Aadarsh Padiyath
8059 Somerset Rd
Woodbury, MN 55125


AAF Hauling, Inc
4694 El Llano Rd
Las Vegas, NM 87701


AAF Hauling, Inc
P.O. Box 415
Guadalupita, NM 87722‐0415


Aam
P.O. Box 741970
Atlanta, GA 30374‐1970


Aam Professional Education Program
1575 Eye St NW, Ste 400
Washington, DC 20005‐1105


Aaohn
Membership Processing Ctr
P.O. Box 116005
Atlanta, GA 30368‐6005


Aaohn
P.O. Box 772834
Chicago, IL 60677‐2834
Aap/Pre K‐12 Learning Group
325 Chestnut St, Ste 1110
Philadelphia, PA 19106


Aapip
200 Pine St, Ste 700
San Francisco, CO 94104


Aaron A Ferguson
Address Redacted


Aaron A Murray
Address Redacted


Aaron Angel
Address Redacted


Aaron B Derr
Address Redacted


Aaron Baptist Church
Daniel Boone Council 414
P.O. Box 266
Montezuma, NC 28653


Aaron Bedell
Address Redacted


Aaron Bradford
Address Redacted


Aaron Bryce Moore
Address Redacted


Aaron C Montesdeoca
Address Redacted


Aaron Chase Elsing
Address Redacted
Aaron Christopher
Address Redacted


Aaron Chusid
Address Redacted


Aaron Collins
Address Redacted


Aaron Craig
Address Redacted


Aaron Creighton
Address Redacted


Aaron Crowther
Address Redacted


Aaron D Cohen
Address Redacted


Aaron D Ricker
Address Redacted


Aaron Elizondo
Address Redacted


Aaron Escobar
Address Redacted


Aaron Evans
Address Redacted


Aaron F Richards
Address Redacted
Aaron Foleen
Address Redacted


Aaron G Espinoza
Address Redacted


Aaron Gach
Address Redacted


Aaron Hardware, Inc
201 S Minnesota Ave
St Peter, MN 56082


Aaron Harrington
Address Redacted


Aaron Hayes
Address Redacted


Aaron J Hoffmann
Address Redacted


Aaron J Pianka
Address Redacted


Aaron Javener
Address Redacted


Aaron Jones
Address Redacted


Aaron Kamau
Address Redacted


Aaron Kocha
Address Redacted


Aaron Matzenbacher
Address Redacted


Aaron Montibon
Address Redacted


Aaron Nicklay
Address Redacted


Aaron Overman
Address Redacted


Aaron Patrick Barnes
Address Redacted


Aaron Philips
Address Redacted


Aaron Pickle
Address Redacted


Aaron R Blacklock
Address Redacted


Aaron R Hendry
Address Redacted


Aaron Rents, Inc
5000‐A Pan American Frwy
Albuquerque, NM 87109


Aaron Rondon Dds Ms
Greater Yosemite Council 059
1002 W Robinhood Dr
Stockton, CA 95207


Aaron Stallworth
Address Redacted
Aaron Strong
Address Redacted


Aaron Tobin
Address Redacted


Aaron Vikemyr
Address Redacted


Aaron W English
Address Redacted


Aaron Yoder
Address Redacted


Aat U S Inc
P.O. Box 532076
Atlanta, GA 30353‐2076


Aays Rentall Co Inc
811 W Edison Rd
Mishawka, IN 46545


A‐B Emblem
P.O. Box 695
Weaverville, NC 28787


Abaco Groceries
P.O. Box 1906
Islamorada, FL 33036


Abaco Life
P.O. Box 37487
Raleigh, NC 27627


Abake Mi Sa Na Ki Lodge
Cape Cod and Islands Cncl 224
247 Willow St
Yarmouth Port, MA 02675
Abate Tek Inc
1810 3rd Ave E
Hibbing, MN 55746


Abbett Elementary School PTA
Circle Ten Council 571
730 W Muirfield Rd
Garland, TX 75044


Abbeville County Public Safety
Blue Ridge Council 551
102 S Main St
Abbeville, SC 29620


Abbey Carpet
2222 County Hwy 10
Mounds View, MN 55112


Abbey M Elsbernd
Address Redacted


Abbey Magruder Iii
Address Redacted


Abbey Strubhar
Address Redacted


Abbigail Arellano
Address Redacted


Abbotsford Lions Club
Samoset Council, Bsa 627
P.O. Box 22
Abbotsford, WI 54405


Abbotsford PTO
Samoset Council, Bsa 627
510 W Hemlock St
Abbotsford, WI 54405
Abbott Laboratories
Northeast Illinois 129
100 Abbott Park Rd
Abbott Park, IL 60064


Abbott Nature Photography LLC
14615 Echola Rd
Gordo, AL 35466


Abbott Stores Inc
180 W 4th N
Rigby, ID 83442


Abby Pineda
Address Redacted


Abbygail L Ochs
Address Redacted


Abc Burglar Alarm Systems Inc
P.O. Box 189
Orland Park, IL 60462‐0189


Abc Moulding
13750 E Smith Dr
Aurora, CO 80011


Abc Of The Carolinas
Old Hickory Council 427
610 Minuet Ln
Charlotte, NC 28217


Abc Report Services LLC
2057 Payshere Cir
Chicago, IL 60674


Abenity Inc
725 Cool Springs Blvd, Ste 600
Franklin, TN 37067
Aberdeem Elementary Loop Program
President Gerald R Ford 781
5500 Burton St Se
Grand Rapids, MI 49546


Aberdeen Fire   Rescue
Sioux Council 733
111 2nd Ave Se
Aberdeen, SD 57401


Aberdeen Group Of Concerned Citizens
North Florida Council 087
1365 Shetland Dr
Saint Johns, FL 32259


Aberdeen Police Dept
Pacific Harbors Council, Bsa 612
210 E Market St
Aberdeen, WA 98520


Aberdeen Police Dept
Sioux Council 733
114 2nd Ave Se
Aberdeen, SD 57401


Abernethy Beck Inc
P.O. Box 472808
Charlotte, NC 28247


Abernethy Utd Methodist Church
Daniel Boone Council 414
1418 Patton Ave
Asheville, NC 28806


Abf Freight System
325 Peach Orchard St
Belmont, NC 28012


Abf Freight System Inc
7424 Fairfield Rd
Columbia, SC 29203
Abf Freight System Inc
7850 Wellingford Dr
Manassas, VA 20109‐2494


Abf Freight System Inc
825 Commerce Dr
South Elgin, IL 60177‐2633


Abf Freight System Inc
P.O. Box 667
Belmont, NC 28012‐0667


Abf Freight System Inc
P.O. Box 880
Taylor, MI 48180‐0880


Abf Freight System, Inc
8630 Hall St
Saint Louis, MO 63147‐2317


Abf Freight Systems Inc
145 Middle Rd
Henrietta, NY 14467‐9313


Abf Multimodal Inc
P.O. Box 10048
Fort Smith, AR 72917‐0048


Abide Idea Co
Northern Star Council 250
2155 Kelly Dr
Minneapolis, MN 55427


Abiding Christ Lutheran Church
Tecumseh 439
326 E Dayton Yellow Springs Rd
Fairborn, OH 45324


Abiding Faith Baptist Church
Sam Houston Area Council 576
15376 Fondren Rd
Missouri City, TX 77489


Abiding Faith Bible Church
Lake Erie Council 440
14161 W River Rd, Ste 2
Columbia Station, OH 44028


Abiding Hope Lutheran Church
Denver Area Council 061
6337 S Robb Way
Littleton, CO 80127


Abiding Love Lutheran Church
Capitol Area Council 564
7210 Brush Country Rd
Austin, TX 78749


Abiding Presence Lutheran Church
Alamo Area Council 583
14700 San Pedro Ave
San Antonio, TX 78232


Abiding Presence Lutheran Church
Suffolk County Council Inc 404
4 Trescott Path
Fort Salonga, NY 11768


Abiding Savior Lutheran Church
Baltimore Area Council 220
10689 Owen Brown Rd
Columbia, MD 21044


Abiding Savior Lutheran Church
Orange County Council 039
23262 El Toro Rd
Lake Forest, CA 92630


Abiding Savior Lutheran Church
Three Harbors Council 636
5214 W Luebbe Ln
Milwaukee, WI 53223


Abiding Savior Lutheran School
Greater St Louis Area Council 312
4353 Butler Hill Rd
Saint Louis, MO 63128


Abigail B Pentecost
Address Redacted


Abigail Coleman
Address Redacted


Abigail G Hymer
Address Redacted


Abigail G Poindexter
Address Redacted


Abigail Lukach
Address Redacted


Abigail M Shupe
Address Redacted


Abigail Mccullough
Address Redacted


Abigail Mielke
Address Redacted


Abigail Padilla Alamo
Address Redacted


Abigail R Taussig
Address Redacted


Abigail Roberts
Address Redacted


Abigail Wilkes
Address Redacted


Abilene Christian Schools
Texas Trails Council 561
2550 N Judge Ely Blvd
Abilene, TX 79601


Abilene Christian University
Enrollment Management
Acu Box 29007
Abilene, TX 79699‐9007


Abilene Sailing Assoc
Texas Trails Council 561
P.O. Box 2641
Abilene, TX 79604


Abilities Resource Center
Of Indian River County Ins
Gulf Stream Council 085
1375 16Th Ave
Vero Beach, Fl 32960


Abingdon Episcopal Church
Colonial Virginia Council 595
4645 George Washington Hwy
White Marsh, VA 23183


Abingdon Fire Co
Baltimore Area Council 220
3306 Abingdon Rd
Abingdon, MD 21009


Abingdon Ruritan Club
Colonial Virginia Council 595
P.O. Box 22
Bena, VA 23018
Abingdon Utd Methodist Church
Sequoyah Council 713
101 E Main St
Abingdon, VA 24210


Abington Presbyterian Church
Cradle of Liberty Council 525
1082 Old York Rd
Abington, PA 19001


Abington Twp Police Dept
Cradle of Liberty Council 525
1166 Old York Rd
Abington, PA 19001


Abiqua Academy
Cascade Pacific Council 492
6974 Bates Rd S
Salem, OR 97306


Able Recognition Ltd Inc
A‐1609 Bowen Rd
Nanaimo, Bc V9S 1G5
Canada


Abounding Grace
Catalina Council 011
2450 S Kolb Rd
Tucson, AZ 85710


Above   Beyond Datacom Inc
3016 SW 50th St
Fort Lauderdale, FL 33312


Above And Beyond Students Seigle Street
Mecklenburg County Council 415
110 Winding Path Way
Charlotte, NC 28204


Abraham Hurwitz
Address Redacted
Abraham Lincoln
5231 S 6th St Rd
Springfield, IL 62703


Abraham Lincoln Cncl 144
5231 S 6th St Rd
Springfield, IL 62703


Abraham Lincoln Council
Abraham Lincoln Council 144
5231 S 6th St Rd
Springfield, IL 62703


Abraham Lincoln Elem ‐Rise Special
Crossroads of America 160
5241 Brehob Rd
Indianapolis, IN 46217


Abraham Lincoln High School
Denver Area Council 061
2285 S Federal Blvd
Denver, CO 80219


Abraham M Johnson
Address Redacted


Abraham Malherbe
Address Redacted


Abram J Mcclain
Address Redacted


Abrams Cpto
Bay‐Lakes Council 635
3000 Elm St
Abrams, WI 54101


Absolute Fire Control, Inc
1201 S Graham St, Ste 201
Charlotte, NC 28203
Absolute Return Alpha
P.O. Box 5018
Brentwood, TN 37024


Absten   Sons LLC
13465 Winfield Rd
Winfield, WV 25213


Abundance Gardens
900 S 5th St
Raton, NM 87740


Abundant Hope Baptist Church
Tidewater Council 596
700 Willeyton Rd
Gates, NC 27937


Abundant Life Assembly Of God
Golden Spread Council 562
310 Birch St
Canadian, TX 79014


Abundant Life Christian Center
2245 Route 130, 101
Dayton, NJ 08810


Abundant Life Church
Alamo Area Council 583
7431 S Presa St
San Antonio, TX 78223


Abundant Life Church
Norwela Council 215
618 Ben Dr
Natchitoches, LA 71457


Ac Hansen Post 185
Sioux Council 733
P.O. Box 701
Tyler, MN 56178
Ac Houston Lumber Co
P.O. Box 222
Angel Fire, NM 87710


Ac Printing
3400‐1 S Raider Dr
Euless, TX 76040


Ac Steere Elementary School PTA
Norwela Council 215
4009 Youree Dr
Shreveport, LA 71105


Ac Supply
P.O. Box 1523
St Charles, MO 63302


Aca Illinois
5 S Wabash Ave, Ste 1406
Chicago, IL 60603‐3401


Academia Antonia Alonso Elementary
Del Mar Va 081
4403 Lancaster Pike
Wilmington, DE 19805


Academia Cristo De Los Milagros
Puerto Rico Council 661
P.O. Box 7618
Caguas, PR 00726


Academia Interamericana Metro
Puerto Rico Council 661
Ave Ponce De Leon
Pda 19
San Juan, PR 00910


Academia Perpetuo Socorro
Puerto Rico Council 661
704 Calle Jose Marti
Miramar
San Juan, PR 00907


Academia San Ignacio
Puerto Rico Council 661
1908 Calle Narciso
Santa Maria
Rio Piedras, PR 00927


Academia Santa Teresita
Puerto Rico Council 661
19 Sector Santa Teresita
Naranjito, PR 00719


Academic Works Inc
1609 Shoal Creek, Ste 302
Austin, TX 78701


Academy At High Point PTO
Denver Area Council 061
6750 N Dunkirk St
Aurora, CO 80019


Academy Bus LLC
111 Paterson Ave
Hoboken, NJ 07030


Academy Bus LLC
1251 W Craighead Rd
Charlotte, NC 28206


Academy Charter School
Theodore Roosevelt Council 386
100 Charles Lindbergh Blvd
Uniondale, NY 11553


Academy Endeavor Elementary PTA
Pikes Peak Council 060
3475 Hampton Park Dr
Colorado Springs, CO 80920
Academy Multilingual Immersion Studies
Amis
Dan Beard Council, Bsa 438
1908 Seymour Ave
Cincinnati, Oh 45237


Academy Of Advanced Learning
Denver Area Council 061
431 Sable Blvd
Aurora, CO 80011


Academy Of Art University
79 New Montgomery St
San Francisco, CA 94105


Academy Of Business Training
Eric Deen
10473 Gloria Ave
Cincinnati, OH 45231


Academy Of Junior Scholars
Dan Beard Council, Bsa 438
6277 Collegevue Pl
Cincinnati, OH 45224


Academy Of Our Lady Hsa
Northern New Jersey Council, Bsa 333
180 Rodney St
Glen Rock, NJ 07452


Academy Of The Holy Names
Greater Tampa Bay Area 089
3319 Bayshore Blvd
Tampa, FL 33629


Academy Of Tucson Pac
Catalina Council 011
9209 E Wrightstown Rd
Tucson, AZ 85715


Academy Sporting Goods Store
1523 State Hwy 114 W
Grapevine, TX 76051


Acadia Parish School Board
Attn Sales    Use Tax Dept
P.O. Drawer 309
Crowley, LA 70527‐0309


Acadia Parish School Board
Sales   Use Tax Dept
P O Drawer 309
Crowley, LA 70527‐0309


Acadian Ambulance
Circle Ten Council 571
2424 S Good Latimer Expy
Dallas, TX 75215


Acadian Ambulance
Louisiana Purchase Council 213
105 N 3rd St
Alexandria, LA 71301


Acadian Ambulance Of Texas LLC
Sam Houston Area Council 576
2154 Pansy St
Pasadena, TX 77503


Acadian Ambulance Service
Evangeline Area 212
P.O. Box 98000
Lafayette, LA 70509


Acadian Ambulance Service
Istrouma Area Council 211
9213 Interline Ave
Baton Rouge, LA 70809


Acadian Ambulance Service
Louisiana Purchase Council 213
607 N 3rd St
Monroe, LA 71201
Acadian Ambulance Service Northshore
Istrouma Area Council 211
19432 Hwy 36, Ste C
Covington, LA 70433


Acadian Ambulance Services
Southeast Louisiana Council 214
4249 Hwy 308
Raceland, LA 70394


Acadiana Renaissance Charter Academy
Evangeline Area 212
600 Savoy Rd
Youngsville, LA 70592


Acc Cabling
1380 Hollow Rock Dr
Colorado Springs, CO 80911


Accents On Asheville Inc
c/o Michael Rouse
290 Macon Ave
Asheville, NC 28804


Accenture Sf Innovation Hub
San Francisco Bay Area Council 028
415 Mission St
San Francisco, CA 94105


Access America Transport, Inc
P.O. Box 740048
Atlanta, GA 30374‐0048


Access Communications Inc
Attn Clark Curtis
51 Brooke St
Rehoboth, MA 02769


Access Intelligence LLC
P.O. Box 9187
Gaithersburg, MD 20898‐9187
Access Lock   Safe
David G Smith
26 Martins Ferry Rd
Hooksett, NH 03106


Access Ventures Inc
Lincoln Heritage Council 205
1229 S Shelby St
Louisville, KY 40203


Access‐Able Designs Inc
445 30th Court Sw
Vero Beach, FL 32968


Accessory Superstore
3939 S I35 E
Denton, TX 76210


Acclaim Press
P.O. Box 238
Morley, MO 63767


Accounting System, Inc
1611 Devonshire Dr
Columbia, SC 29204


Accruepartners
2137 S Blvd, Ste 200
Charlotte, NC 23203


Accs
Carol Becker
2780 Utica Ave So
St Louis Park, MN 55416


Acct
1079 Hover St, Ste 200
Longmont, CO 80501
Acct Conference
P.O. Box 47
Deerfield, IL 60015‐0047


Accuracy Inc
dba Ultramax Ammunition
2112 Elk Vale Rd
Rapid City, SD 57701‐8526


Accurate Document Destruction Inc
P.O. Box 91957
Elk Grove Village, IL 60009‐1957


Accurate Lock Co
4989 8th Ave
Grandville, MI 49418


Accurate Locksmiths Inc
10824 Cottonwood Ln
Omaha, NE 68164


Acdelco
P.O. Box 33171
Detroit, MI 48232‐5171


Ace / Esis
Dept Ch 10123
Palatine, IL 60055‐0123


Ace Adventure Resort
Buckskin 617
359 Pea Ridge Rd
Oak Hill, WV 25901


Ace Adventure Resort Inc
P.O. Box 1168
Oak Hill, WV 25901


Ace American Alarm Co
6222 Dixie Hwy
Bridgeport, MI 48722
Ace American Insurance Co
Attn Collateral Manager
436 Walnut St
Philadelphia, PA 19106


Ace American Insurance Co
Dept Ch 10123
Palatine, IL 60055


Ace Charitable Foundation
Attn Wao9C
436 Walnut St
Philadelphia, PA 19106


Ace Coast Services Inc
Ace Portable Services
103 Cictoria Ln
Aptos, CA 95003


Ace Data Group LLC
dba Data Recovery Services
17778 Preston Rd
Dallas, TX 75252


Ace Designs Inc
Bridge Business Ctr
320 George Patterson Blvd
Bristol, PA 19007


Ace Gmbh
Heinrich‐Hertz‐Str 2
Dortmund, 44227
Germany


Ace Hardware
Montana Council 315
415 SE 4th St
Laurel, MT 59044


Ace Hardware H C / Roundlake Vn 19946
2200 Kensington Court
Oak Brook, IL 60523‐2103


Ace Hardware Of Anacortes Inc
1720 Q Ave
Anacortes, WA 98221


Ace Hardware Of Big Pine Key, Inc
P.O. Box 1657
Big Pine Key, FL 33043


Ace Industrial Supply, Inc
7535 N San Fernando Blvd
Burbank, CA 91505‐1044


Ace Locksmith 2, LLC
3232 Irving Blvd
Dallas, TX 75247


Ace Rent A Car, Inc
P.O. Box 78063
Indianapolis, IN 46278


Ace Solid Waste Inc
P.O. Box 679859
Dallas, TX 75267‐9859


Acecamp, LLC
2275 S W Temple
Salt Lake City, UT 84115


Acequia 2Nd Ward ‐ Rupert Stake
Snake River Council 111
20403 5th St
Acequia, ID 83350


Acequia Ward ‐ Rupert Stake
Snake River Council 111
20403 5th St Acequia
Rupert, ID 83350
Acfe
716 W Ave
Austin, TX 78701‐2727


Achieva West Mifflin
Laurel Highlands Council 527
400 Regis Ave
Pittsburgh, PA 15236


Aci Catering Group
70 Bradley Rd
Woodbridge, CT 06525


Acics
7501 1st St Ne, Ste 980
Washington, DC 20002‐4223


Acker Marine Survey Co
801 73rd St
Marathon, FL 33050


Acl Services Ltd
Box 200286
Pittsburgh, PA 15251‐0286


Acli‐Mate Formulations, LLC
234 N Main St, Ste 3E 300
Gunnison, CO 81230


Acme Computer
Crater Lake Council 491
33 W Central
Medford, OR 97501


Acme Presbyterian Church
Mount Baker Council, Bsa 606
P.O. Box 169
Acme, WA 98220


Acme Security Systems Inc
1922 Republic Ave
San Leandro, CA 94577


Acme Sets
4731 Algiers St
Dallas, TX 75207


Acme Tools‐Duluth
4332 Grand Ave
Duluth, GA 55807‐2738


Acme Utd Corp
P.O. Box 347808
Pittsburgh, PA 15250‐4808


Acme Utd Corp
P.O. Box 932607
Atlanta, GA 31193‐2607


Acnielsen Corp
The Nielson Co LLC
P.O. Box 88956
Chicago, IL 60695‐8956


Aco‐Del Group Co Inc
143 Prospect Ave
Brooklyn, NY 11215


Acorn Naturalists
14742 Plaza Dr, Ste 100
Tustin, CA 92780


Acorn Petroleum, Inc
P.O. Box 561312
Denver, CO 80256‐1312


Acoustic Audio Services
Lasalle Council 165
808 S Michigan St
South Bend, IN 46601
Acoustic Musician LLC
5435 N Garland Ave, Ste 140
Garland, TX 75040


Acp International
136 Everett Rd
Albany, NY 12205


Acreage Athletic League Inc
Gulf Stream Council 085
7040 Seminole Pratt Whitney Rd
Loxahatchee, FL 33470


Acroflight International LLC
Northshore Aircraft Leasing Co.
Aloha Council, Bsa 104
66‐888 Wanini St
Waialua, Hi 96791


Acronis International Gmbh
Rheinweg 9
Schaffhausen, Sh, 8200
Switzerland


Acs Advanced Construction Services Inc
304 Lincoln Ave
Eveleth, MN 55734


Acs‐Ackerman Computer Sciences
6233 E Sawgrass Rd
Sarasota, FL 34240


Act Services Inc
915 Eddy Court
Wheaton, IL 60187


Action Automatic Sprinkler Inc
dba Action Fire Pros
P.O. Box 797
Waxahachie, TX 75168
Action Aviation
Grand Teton Council 107
1355 E Lincoln Rd
Idaho Falls, ID 83401


Action Aviation West
Grand Teton Council 107
1355 E Lincoln Rd
Idaho Falls, ID 83401


Action Envelope
1172 Rte 109
Lindenhurst, NY 11757


Action Fire Alarm
dba Action Fire Pros
P.O. Box 797
Waxahachie, TX 75168


Action Mechanical Contractors Inc
3228 Nevada Blvd
Charlotte, NC 28273


Action Printing
A Gannett Co
P.O. Box 677686
Dallas, TX 75267‐7386


Action Printing    Services Inc
813 Main St E
Oak Hill, WV 25901


Action Shred Of Texas
2835 Congressman Ln
Dallas, TX 75220


Action Signs
55 Chastain Rd, Ste 106
Kennesaw, GA 30144
Action Sports
1225 Hwy 72 Bypass
Greenwood, SC 29649


Action Sports
P.O. Box 3069
Greenwood, SC 29648


Action Target
3411 S Mountain Vista Pkwy
Provo, UT 84606


Action Target
Box 636
Provo, UT 84603‐0636


Action Tents
dba Action Tents   Party Rental
4440 Seast Blvd, Bldg 1
Wichita, KS 67210


Action Trophies And Awards
1701South 1‐35 E
Carrollton, TX 75006


Action Whitewater Adventures
P.O. Box 1634
Provo, UT 84603


Active 911 Inc
517 N 19th St
Philomath, OR 97370


Active Care Chiropractic
Longs Peak Council 062
1410 E Riding Club Rd
Cheyenne, WY 82009


Active Informatix LLC
5817 Kentucky Ave
Pittsburgh, PA 15232
Active Lifestyle Products    Services Inc
dba Alps Mountaineering
4575 Hwy 185
New Haven, MO 63068


Acton Community Club Inc
W.L.A.C.C. 051
3748 Nickels Ave
Acton, CA 93510


Acton Umc   Kitley Ptc
Crossroads of America 160
8735 Indian Creek Rd S
Indianapolis, IN 46259


Acton Utd Methodist Church
Crossroads of America 160
5650 Senour Rd
Indianapolis, IN 46239


Acton Utd Methodist Church
Longhorn Council 662
3433 Fall Creek Hwy
Granbury, TX 76049


Acton‐Boxborough Rotary Club
Heart of New England Council 230
P.O. Box 2161
Acton, MA 01720


Acton‐Congregational Church
Heart of New England Council 230
12 Concord Rd
Acton, MA 01720


Acton‐Group Of Citizens, Inc
Heart of New England Council 230
8 Fairway Rd
Acton, MA 01720
Acton‐Lds Church Ward 1
Heart of New England Council 230
21 Grist Mill Rd
Acton, MA 01720


Acton‐Lds Church Ward 2
Heart of New England Council 230
21 Grist Mill Rd
Acton, MA 01720


Acton‐St Elizabeth Of Hungary Parish
Heart of New England Council 230
89 Arlington St
Acton, MA 01720


Acton‐The Church Of The Good Shepherd
Heart of New England Council 230
164 Newtown Rd
Acton, MA 01720


Actors Ames Community Theater
Mid Iowa Council 177
120 Abraham Dr
Ames, IA 50014


Acts Church Leander
Capitol Area Council 564
P.O. Box 1596
Leander, TX 78646


Acts E   W Inc
P.O. Box 1128
Bolingbrook, IL 60440


Acubits LLC
14030 Red Oak Cir S
Mckinney, TX 75071


Acuity Speciality Products Inc
Zep Sales   Service
P.O. Box 841508
Dallas, TX 75284‐1508
Acushnet Firefighters Assoc Inc
Narragansett 546
24 Russell St
Acushnet, MA 02743


Acworth Police Dept
Atlanta Area Council 092
4400 Acworth Industrial Dr Nw
Acworth, GA 30101


Acworth Utd Methodist Church
Atlanta Area Council 092
4340 Collins Cir
Acworth, GA 30101


Ad Roll Inc
2300 Harrison St, 2nd Fl
San Francisco, CA 94110


Ad Sales LLC
Advanced Depositions
1880 Jfk Blvd, 6th Fl
Philadelphia, PA 19103


Ada Citizen Scouting Committee
c/o Sean Beck
Black Swamp Area Council 449
608 S Johnson St
Ada, OH 45810


Ada Congregational Church
President Gerald R Ford 781
6330 Ada Dr Se
Ada, MI 49301


Ada Elks Lodge 1640
Arbuckle Area Council 468
3850 Arlington St
Ada, OK 74820
Ada Hovland
Address Redacted


Ada Lodge 444
Heart of America Council 307
325 Floyd Rd
Orrick, MO 64077


Adadia
661A Pleasant St
Norwood, MA 02062


Adair Masonic Lodge 99
Indian Nations Council 488
P.O. Box 101
Adair, OK 74330


Adairsville Lions Club
Northwest Georgia Council 100
P.O. Box 96
Adairsville, GA 30103


Adalgisa Mckay
Address Redacted


Adalilia Navarrette
Address Redacted


Adam Berthot
Address Redacted


Adam Blanchard
Address Redacted


Adam C Turner
Address Redacted


Adam Cassady
Address Redacted
Adam Cook
Address Redacted


Adam D Graves
Address Redacted


Adam D Kosen
Address Redacted


Adam D Scott
Address Redacted


Adam Dabrowski
Address Redacted


Adam Danie Swaim
Address Redacted


Adam Doty
Address Redacted


Adam Elementary PTO
Sam Houston Area Council 576
11303 Honey Grove Ln
Houston, TX 77065


Adam Fischer
Address Redacted


Adam Freund
Address Redacted


Adam Garrett Bowling
Address Redacted


Adam Grant
Address Redacted
Adam Hartfiel
Address Redacted


Adam Hoffman
Address Redacted


Adam Hough
Address Redacted


Adam Hunter
Address Redacted


Adam I Beard
Address Redacted


Adam J Benton
Address Redacted


Adam J Colclough
Address Redacted


Adam J D Angelo
Address Redacted


Adam J Schmidt
Address Redacted


Adam J Snow
Address Redacted


Adam Jay Chamberlain
Address Redacted


Adam Jude Woeste
Address Redacted


Adam Klepsteen
Address Redacted


Adam Kovalchick
Address Redacted


Adam L Peterson
Address Redacted


Adam Mccarrison
Address Redacted


Adam Mccauley Illustration Services
1081 Treat
San Francisco, CA 94110


Adam Miller
Address Redacted


Adam Patrick Steggell
Address Redacted


Adam Patterson
Address Redacted


Adam Perry
Address Redacted


Adam R Blanchet
Address Redacted


Adam R Cheadle
Address Redacted


Adam Repman
Address Redacted


Adam S Caldwell
Address Redacted
Adam S Power Equipment
450 Ragland Rd
Beckley, WV 25801


Adam Schwebach Inc
dba Neuropsychology Center of Utah
1407 N 2000 W, Ste A
Clinton, UT 84015


Adam Shumard
Address Redacted


Adam Smith
Address Redacted


Adam Tate
Address Redacted


Adam Van Stedum
Address Redacted


Adam Warnement
Address Redacted


Adam Woodward
Address Redacted


Adam Woodworth
Address Redacted


Adams   Co Real Estate LLC
P.O. Box 95000‐5385
Philadelphia, PA 19195‐5385


Adams American Legion Post 146
Twin Valley Council Bsa 283
P.O. Box 181
Adams, MN 55909
Adams Brown Cntys Econ Opp Inc
dba the Glass Refactory
9262 Mt Orab Pike
Georgetown, OH 45121


Adams Center
National Capital Area Council 082
46903 Sugarland Rd
Sterling, VA 20164


Adams County Sheriffs Office
332 N 19th Ave
Brighton, CO 80601


Adams Elementary PTA
Illowa Council 133
3029 N Div St
Davenport, IA 52804


Adams Elementary PTA
Mid‐America Council 326
3420 N 78th St
Omaha, NE 68134


Adams Fire Co Inc
Greater Niagara Frontier Council 380
7113 Nash Rd
North Tonawanda, NY 14120


Adams Fire Dept Inc
Longhouse Council 373
6 S Main St
P.O. Box 52
Adams, NY 13605


Adams Lawn Service
Northeast Georgia Council 101
402 Musket Rdg
Hull, GA 30646
Adams Outdoor Advertising, LP
P.O. Box 809140
Chicago, IL 60680‐9140


Adams Parents For Scouting
Inland Nwest Council 611
14707 E 8th Ave
Spokane Valley, WA 99037


Adams Park Community Center
Mid‐America Council 326
3230 John A Creighton Blvd
Omaha, NE 68111


Adams Pointe Conference Center
1400 NE Coronado Dr
Blue Springs, MO 64014


Adams School PTO
Water and Woods Council 782
Adams St
Midland, MI 48640


Adams Traditional Academy
Grand Canyon Council 010
2323 W Parkside Ln
Phoenix, AZ 85027


Adams‐Burch Inc
1901 Stanford Court
Landover, MD 20785‐3219


Adamstown Area Library
Pennsylvania Dutch Council 524
3000 N Reading Rd 356
Adamstown, PA 19501


Adamsville Elementary PTO
Patriots Path Council 358
400 Union Ave
Bridgewater, NJ 08807
Adan Barajas
Address Redacted


Adaptive Networks
Southern Sierra Council 030
1400 Eon Dr, Ste 113
Bakersfield, CA 93309


Adat Ari El Youth Dept
W.L.A.C.C. 051
12020 Burbank Blvd
North Hollywood, CA 91607


Adau Aquatic Engineering LLC
14884 Indigo Lakes Dr
Naples, FL 34119


Adb Airfield Solutions LLC
P.O. Box 29160
New York, NY 10087‐9160


Adco Marketing
300 Tamal Plaza, Ste 220
Corte Madera, CA 94925


Adcolor
950 Brookstown Ave
Winston‐Salem, NC 27101


Adcolor Printing
950 Brookstown Ave
Winston‐Salem, NC 27101


Adcraft‐Decals Inc
7708 Commerce Park Oval
Independence, OH 44131


Addie S Inc
124 E Main St
Lock Haven, PA 17745
Addilynn Memorial Utd Methodist Ch
Sequoyah Council 713
3225 Avoca Rd
Bristol, Tn 37620


Addison Business Systems, Inc
12555 S Menard
Palos Heights, IL 60463


Addison D Miller
Address Redacted


Addison Elementary School
Atlanta Area Council 092
3055 Ebenezer Rd
Marietta, GA 30066


Addison Fire Protection District
Three Fires Council 127
10 S Addison Rd
Addison, IL 60101


Addison Fox
Address Redacted


Addison Police Dept
Three Fires Council 127
3 Friendship Plz
Addison, IL 60101


Addison Public Library
235 N Kennedy Dr
Addison, IL 60101‐2482


Addison R Guynn
Address Redacted


Addison Search LLC
7076 Solutions Ctr
Chicago, IL 60677‐7000


Addisville Reformed Church
Washington Crossing Council 777
Rr 232
945 2nd St Pike
Richboro, PA 18954


Adecco Employment Services Inc
P.O. Box 371084
Pittsburgh, PA 15250‐7084


Adel Utd Methodist Church
South Georgia Council 098
214 S Hutchinson Ave
Adel, GA 31620


Adelante Of Suffolk County
Suffolk County Council Inc 404
10 3rd Ave
Brentwood, NY 11717


Adele Gormley
Address Redacted


Adelina M Miranda‐Sanchez
Address Redacted


Adella Green
Address Redacted


Adelle Turner Elementary ‐Pta
Circle Ten Council 571
5505 S Polk St
Dallas, TX 75232


Adelphi University
Attn Mary Barca, Cashiers
P.O. Box 701, Levermore Hall, Rm 1
Garden City, NY 11530
Adena Primary PTO
Simon Kenton Council 441
3367 County Rd 550
Frankfort, OH 45628


Ad‐Fax Media Marketing, Inc
830 3rd Ave 2nd Fl
New York, NY 10022


Adi
P.O. Box 731340
Dallas, TX 75373‐1340


Adi Time
855 Waterman Ave
E Providence, RI 02914


Adicio Inc
2382 Faraday Ave, Ste 350
Carlsbad, CA 92008


Adilmarie Gomez
Address Redacted


Adirondack Community Church
Twin Rivers Council 364
P.O. Box 511
Lake Placid, NY 12946


Adirondack Foothills Rotary
Leatherstocking 400
Rt 12 Barnveld
Remsen, NY 13438


Adirondack Museum Store
Routes 28N   30 ‐ Box 99
Blue Mountain Lake, NY 12812


Adirondack Post 70
Twin Rivers Council 364
34 W Ave
American Legion
Saratoga Springs, NY 12866


Adjutant General, State W Virginia
1707 Coonskin Dr
Charleston, Wv 25311‐1099


Adk Electrical Service, Inc
858 US Hwy 1, Ste A
Edison, NJ 08817


Adlai Stevenson High School Campus
Greater New York Councils, Bsa 640
1980 Lafayette Ave
Bronx, NY 10473


Adlai Stevenson School
Lake Erie Council 440
3938 Jo Ann Dr
Cleveland, OH 44122


Admaster Creations/Proforma
P.O. Box 640814
Cincinnati, OH 45264‐0814


Admin Brd Of The Utd Methodist Church
Prairielands 117
403 E Main St
Hoopeston, IL 60942


Administrative Professionals Conference
P.O. Box 3421
Boston, MA 02241‐3421


Administrator, Unemployment Comp
P.O. Box 30289
Hartford, CT 06150‐0289


Admiral Beverage Corp
P.O. Box 27821
Albuquerque, NM 87125


Admirals Club
P.O. Box 679616 MD5307
Dfw Airport, TX 75261‐9616


Admore Air Conditioning Corp
835 Mclean Ave
Yonkers, NY 10704


Adnah Utd Methodist Church
Palmetto Council 549
1 Adnah Dr
Rock Hill, SC 29732


Adniel Alexander Salas
Address Redacted


Adobe Max 2011
Active Network / Wingate Web
P.O. Box 78127, Dept 8127
Los Angeles, CA 90084


Adobe Systems Inc
29322 Network Pl
Chicago, IL 60673‐1293


Adobe Systems Inc
345 Park Ave
San Jose, CA 95110


Adobe Systems, Incorporated    Adus
345 Park Ave
San Jose, CA 95110


Adobe Truck   Equipment
6613 Edith Blvd Ne
Albuquerque, NM 87113


Adobe, Inc   Adus
345 Park Ave
San Jose, CA 95110


Adolph Del Castillo
Address Redacted


Adolph Kiefer   Assoc
1700 Keifer Dr
Zion, IL 60099‐4093


Adolph Kiefer    Assoc
1700 Kiefer Dr
Zion, IL 60099


Adolph Kiefer    Assoc LLC
dba Kiefer Aquatics the Lifeguard Store
903 Morrissey Dr
Bloomington, IL 61701


Adoniram Lodge 42 F Am
Green Mountain 592
825 Mad Tom Rd
East Dorset, VT 05253


Adorama
42 W 18th St
New York, NY 10011


Adoration Lutheran Church
Three Harbors Council 636
3840 W Edgerton Ave
Greenfield, WI 53221


Adp Inc
P.O. Box 842875
Boston, MA 02284‐2875


Adp Taxware
401 Edgewater Pl, Ste 260
Attention Legal
Wakefield, MA 01880
Adpro Sports, LLC
55 Amherst Villa Rd
Buffalo, NY 14225


Adr Options Inc
2001 Market St, Ste 1100
Two Commerce Square
Philadelphia, PA 19103


Adr Services, Inc
1900 Ave of the Stars, Ste 250
Los Angeles, CA 90067


Adrian College
110 S Madison St
Adrian, MI 49221‐2575


Adrian First Utd Methodist
Heart of America Council 307
P.O. Box 126
Adrian, MO 64720


Adrian G Sacripanti
Address Redacted


Adrian Hackett
Address Redacted


Adrian Mccoy
Address Redacted


Adrian Negron
Address Redacted


Adrian R Long
Address Redacted


Adrian Rivas
Address Redacted


Adrian Rotary Club
Southern Shores Fsc 783
P.O. Box 1119
Adrian, MI 49221


Adriana   Co LLC
Las Vegas Area Council 328
1180 N Town Center Dr
Las Vegas, NV 89144


Adriana Murillo
Address Redacted


Adriane James
Address Redacted


Adrienne Casson
Address Redacted


Adrienne Wrona
Address Redacted


Adryn M Shackelford
Address Redacted


Ads Inc
Tidewater Council 596
621 Lynnhaven Pkwy, Ste 400
Virginia Beach, VA 23452


Adt LLC
dba Protection One
P.O. Box 872987
Kansas City, MO 64187‐2987


Adt Security Services
P.O. Box 371878
Pittsburgh, PA 15250‐7878
Adt Security Services
P.O. Box 538083
Atlanta, GA 30353‐8083


Adt Security Services
P.O. Box 672279
Dallas, TX 75267‐2279


Adt Security Services
P.O. Box 71485
San Juan, PR 00936‐8585


Adt Security Services Inc
5471 W Waters Ave, Ste 1000
Tampa, FL 33634


Adt Security Systems
P.O. Box 371956
Pittsburgh, PA 15250‐7956


Adult Fellowship Council‐Concord M C
Mt Diablo‐Silverado Council 023
1645 W St
Concord, CA 94521


Adv Tech Ctr   Denton Police Dept
Longhorn Council 662
1504 Long Rd
Denton, Tx 76207


Advance And Glennon Club
Greater St Louis Area Council 312
P.O. Box 181
Advance, MO 63730


Advance Auto Parts
Aap Financial Services
P.O. Box 742063
Atlanta, GA 30374‐2063
Advance Camp
Mt Diablo‐Silverado Council 023
640 Bailey Rd 142
Bay Point, CA 94565


Advance Canvas Design LLC
The Colorado Yurt Co
P.O. Box 1626
Montrose, CO 81402


Advance Career Technology
Suite 211B, 36 W Route 70
Marlton, NJ 08053


Advance Community Christian Church
Crossroads of America 160
P.O. Box 6
Advance, IN 46102


Advance Electric Motor   Pump
Lincoln Heritage Council 205
292 Arnold Dr
Shepherdsville, KY 40165


Advance Memorial Utd Methodist Church
Simon Kenton Council 441
1007 Bellefonte Rd
Flatwoods, KY 41139


Advance Newspapers
2141 Port Sheldon Rd
P.O. Box 9
Jenison, MI 49429


Advance Resources, LLC
6018 Beech Cv Ln
Charlotte, NC 28269


Advanced Business Equipment
3072 Sweeten Creek Rd
Ashville, NC 28813
Advanced Business Solutions
Orange County Council 039
8302 Snowbird Dr
Huntington Beach, CA 92646


Advanced Comm   Electronics Inc
2417 Baylor Dr Se
Albuquerque, NM 87106


Advanced Compressor Sys
P.O. Box 12372
Albuquerque, NM 87195‐2372


Advanced Court Reporting
P.O. Box 181
Cohasset, MA 02025


Advanced Data‐Comm, Inc
301 Data Ct
Dubuque, IA 52003


Advanced Disposal
88005 Overseas Hwy, Suite 10‐189
Islamorada, FL 33036


Advanced Disposal
Solid Waste Seast Inc
P.O. Box 743019
Atlanta, GA 30374‐3019


Advanced Disposal Wolf Creek
Central Georgia Council 096
911 Landfill Rd
Dry Branch, GA 31020


Advanced Duplication Services LLC
The Ads Group
2155 Niagara Ln N, Ste 120
Plymouth, MN 55447
Advanced Equipment Co
1408 Ctr Park Dr
Charlotte, NC 28217


Advanced Fixtures, Inc
2655 E Audie Murphy Pkwy
Farmersville, TX 75442


Advanced Hood Systems
12550 Wiles Rd
Coral Springs, FL 33076


Advanced Innovative Tech LLC
530 Wilbanks Dr
Ball Ground, GA 30107


Advanced Printing Systems
P.O. Box 118681
Carrollton, TX 75011‐8681


Advanced Resources LLC
5806 Prosperity Church Rd, Suite A2‐108
Charlotte, NC 28269


Advanced Solutions Inc
1901 Nelson Miller Pkwy
Louisville, KY 40223


Advanced Web
600 Hoover St NE, Ste 500
Minneapolis, MN 55413


Advancement Resources
3349 Sgate Court Sw
Cedar Rapids, IA 52404‐5424


Advanstar Communications
Licensing 2010Attn    Accts Rec Dept
131 W 1st St
Duluth, MN 55802
Advanstar Communications Inc
131 W 1st St
Duluth, MN 55802‐2065


Advanstar Communications Inc
P.O. Box 64584
St Paul, MN 55164‐0584


Advant Lutheran Church
Middle Tennessee Council 560
1700 Irby Ln
Murfreesboro, TN 37127


Advantage Emblem   Screen Printing
4313 Haines Rd
Duluth, MN 55811‐1542


Advantage Rent‐A‐Car
P.O. Box 310001
San Antonio, TX 78213‐4307


Advantage Storage ‐ Las Colinas
330 W Ih 635
Irving, TX 75063


Advantage Technology
814 Quarrier St
Charleston, WV 25301


Advantage User Group
Attn Ev Acton
3850 Ranchero Dr
Ann Arbor, MI 48108


Advantagecs
3850 Ranchero Dr
Ann Arbor, MI 48108


Adven Capital Group LLC
Service It Direct
P.O. Box 307
Addison, TX 75001


Adven Capital Group, LLC
dba Service It Direct
2033 Chenault Dr, Ste 130
Carrollton, TX 75006


Advent Assoc Ltd
Southern Shores Fsc 783
7545 W Liberty Rd
Ann Arbor, MI 48103


Advent Capital Group, LLC
dba Service It Direct
2033 Chenault Dr, Ste 130
Carrollton, TX 75006


Advent Lutheran Church
Central Florida Council 083
7550 N Wickham Rd
Melbourne, FL 32940


Advent Lutheran Church
Chester County Council 539
1601 Green Ln
West Chester, PA 19382


Advent Lutheran Church
Daniel Webster Council, Bsa 330
554 Route 202
Rindge, NH 03461


Advent Lutheran Church
Gulf Stream Council 085
300 NE 51st St
Boca Raton, FL 33431


Advent Lutheran Church
Inland Nwest Council 611
13009 E Broadway Ave
Spokane Valley, WA 99216


Advent Lutheran Church
Lake Erie Council 440
5525 Harper Rd
Solon, OH 44139


Advent Lutheran Church
Lake Erie Council 440
7985 Munson Rd
Mentor, OH 44060


Advent Lutheran Church
Mount Baker Council, Bsa 606
4306 132nd St Se
Mill Creek, WA 98012


Advent Lutheran Church
Northern Star Council 250
9475 Jefferson Hwy
Maple Grove, MN 55369


Advent Moravian Church
Minsi Trails Council 502
3730 Jacksonville Rd
Bethlehem, PA 18017


Advent Presbyterian Church     Usa
Chickasaw Council 558
1879 N Germantown Pkwy
Cordova, TN 38016


Advent Utd Methodist
Blue Ridge Council 551
2258 Woodruff Rd
Simpsonville, SC 29681


Advent Utd Methodist Church
Blue Ridge Council 551
2258 Woodruff Rd
Simpsonville, SC 29681
Advent Utd Methodist Church
Northern Star Council 250
3945 Lexington Ave S
Eagan, MN 55123


Adventure 16
P.O. Box 600690
San Diego, CA 92160‐0690


Adventure 16
San Diego Imperial Council 049
4620 Alvarado Canyon Rd
San Diego, CA 92120


Adventure Camp Staff
Crossroads of America 160
7125 Fall Creek Rd
Indianapolis, IN 46256


Adventure Christian Church
Cascade Pacific Council 492
2831 NE Newby St
Mcminnville, OR 97128


Adventure Club Slo
Los Padres Council 053
395 Zanzibar St
Morro Bay, CA 93442


Adventure Cub Scouts Of Beloit Turner
Glaciers Edge Council 620
P.O. Box 442
Beloit, WI 53512


Adventure In Adventure Out
Western Massachusetts Council 234
31 Harkness Rd
Amherst, MA 01002


Adventure Maritime Inc
2308 Windsor Oaks Ave
Lutz, FL 33549


Adventure Maritime Inc
c/o Michael A Painter
73800 Overseas Hwy
Islamorada, FL 33036


Adventure Medical/Tender Corp
944 Industrial Park Rd
Littleton, NH 03561‐3956


Adventure Of Faith
Chief Seattle Council 609
4705 Jackson Ave Se
Port Orchard, WA 98366


Adventure Outdoors
Wallace   Wallace Inc.
Atlanta Area Council 092
630 Windy Hill Rd Se
Smyrna, Ga 30080


Adventure Outfitters
A Div of Design Assoc, LLC
P.O. Box 32307
Phoenix, AZ 85064


Adventure Publications
820 Cleveland St S
Cambridge, MN 55008


Adventure Publishing Group, Inc
286 5th Ave 3rd Fl
New York, NY 10001‐4512


Adventure Scuba Co
13901 Metrotech Dr
Chantilly, VA 20151


Adventure Trading, Inc
3039 W Commodore Way
Seattle, WA 98199


Adventurers Club Of Orem
Utah National Parks 591
87 W 500 S
Orem, UT 84058


Adventures In Sailing Inc
P.O. Box 1906
Islamorada, FL 33036


Adventures Of Saltwater Taffy
6501 Redhook Plz, Ste 201‐383
St Thomas, VI 00802


Adventures Of Saltwater Taffy
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Adventures Without Limits
Cascade Pacific Council 492
1341 Pacific Ave
Forest Grove, OR 97116


Adventures Wv
dba Adventures On the Gorge
P.O. Box 78
Lansing, WV 25862‐0078


Advertising Promotions
Dba Ciaa Coareer Expo
116 Lowes Food Dr, 322
Lewisville, NC 27023


Advisors In Philanthropy
216 W Jackson Blvd, Ste 625
Chicago, IL 60606


Advocacy Inc
5776 Innsbruck Rd
East Syracuse, NY 13057‐3059


Advocates For Aviation Safety Fndn, Inc
Mt Diablo‐Silverado Council 023
301 Waterview Ter
Vallejo, Ca 94591


Advocates For The Amer Osteopathic Assoc
142 E Ontario St
Chicago, IL 60611


Adweek
P.O. Box 15
Congers, NY 10920‐9872


Adwoa Muwzea
Address Redacted


Aea
16 Sconticut Neck Rd 290
Fairhaven, MA 02719


Aecom Inc
1178 Paysphere Cir
Chicago, IL 60674


Aed Brands LLC
95 Chastain Rd Nw, Ste 302
Kennesaw, GA 30144


Aed123 LLC
1920 Mckinney Ave, 7th Fl
Dallas, TX 75201


Aee Energy Seminars
P.O. Box 1026
Lilburn, GA 30048


Aegis Technical Services, Inc
18550 W Capitol Dr
Brookfield, WI 53045‐1925


Aerial Filmworks LLC
501 N College St
Charlotte, NC 28202


Aeris A Taylor
Address Redacted


Aero Squad
961 W Alondra Blvd
Compton, CA 90220


Aerolito Paper Co
445 E 40th St
Hialeah, FL 33013


Aerowerks Inc
6625 Millcreek Dr
Mississauga, ON L5N 5M4
Canada


Aes Huntington Beach LLC
Orange County Council 039
21730 Newland St
Huntington Beach, CA 92646


Aesa Prep Academy
Capitol Area Council 564
14101 Canonade
Austin, TX 78737


Aetma Felt Corp
2401 W Emaus Ave
Allentown, PA 18103


Aetna Hose Hook      Ladder
Del Mar Va 081
P.O. Box 148
Newark, DE 19715
Af V
c/o Joshua J Wells, Coo
124 Metropolitan Park Dr
Syracuse, NY 13088


Afar
P.O. Box 8571
Red Oak, IA 51591‐3571


Affect
Blue Grass Council 204
3460 Lannette Ln
Lexington, KY 40503


Affected Interiors, LLC
Mid Iowa Council 177
121 N Locust St
Colfax, IA 50054


Affiliated Food Service
P.O. Box 2865
Amarillo, TX 79105‐9979


Affinity Coaching   Consulting
Quapaw Area Council 018
1528 County Rd 453
Pollard, AR 72456


Affton Parent S Club
Greater St Louis Area Council 312
8348 S Laclede Station Rd
Saint Louis, MO 63123


Affton Parent S Club
Greater St Louis Area Council 312
8701 Mackenzie Rd
Affton, MO 63123


Afi Flight Training Center
4119 W Commonwealth Ave
Fullerton, CA 92833
Afni
P.O. Box 3068
Bloomington, IL 61702‐3068


Afp 100 Corp
dba Doubletree
By Hilton Bradley Int L Airport
16 Ella Grasso Turnpike
Windsor Locks, CT 06096‐1015


Afp‐Greater Dallas
14070 Proton Rd, Ste 100 Lb9
Dallas, TX 75244


Africa Regional Office
Opposite Gate E
Jamhuri Park
Nairobia
Kenya


African American Club Of Pasco Inc
Greater Tampa Bay Area 089
6105 Pine Hill Rd
Port Richey, FL 34668


African American Performance Magazine
4712 Admiralty Way, Ste 117
Marina Del Rey, CA 90292


African Ctred College Prepartory Academy
Heart Of America Council 307
6410 Swope Pkwy
Kansas City, Mo 64132


African Episcopal Church Of St Thomas
Cradle of Liberty Council 525
6361 Lancaster Ave
Philadelphia, PA 19151


Africentric Early College K‐12
Simon Kenton Council 441
3223 Allegheny Ave
Columbus, OH 43209


Afsa ‐ Air Force Sergeants Assoc
Great Swest Council 412
9500 Osuna Rd NE, Apt 828
Albuquerque, NM 87111


Afsa Cowboy Chapter 1178
Longs Peak Council 062
1413 W Gopp Ct
Cheyenne, WY 82007


After 3
Greater New York Councils, Bsa 640
111 Columbia St
New York, NY 10002


After School Activities Program
Alamo Area Council 583
314 N Hwy 123
Karnes City, TX 78118


After School All Stars Birmingham
Erie Shores Council 460
1500 N Superior St
Toledo, OH 43604


After School Dicovery
Lake Erie Council 440
70 Ross Rd
Ashtabula, OH 44004


Afterschool Alliance
1616 H St NW, Ste 820
Washington, DC 20006


After‐School All‐Stars
9255 Sunset Blvd, Ste 500
Los Angeles, CA 90069
Afton Utd Methodist Church
Baden‐Powell Council 368
34 Spring St
Afton, NY 13730


Afton Utd Methodist Church
Mid‐America Council 326
111 S Douglas St
Afton, IA 50830


Aftra / Sag
261 Madison Ave
New York, NY 10016‐2302


Aftra H   R
P.O. Box 54867
Los Angeles, CA 90054‐0867


Aftra H R
15110 Dallas Pkwy, 440
Dallas, TX 75248


Aftra Health   Retirement Fund
6060 N Central Expwy, Ste 468
Dallas, TX 75206


Afya Public Charter School
Baltimore Area Council 220
2800 Brendan Ave
Baltimore, MD 21213


Aga Khan Ismaili Council
Alamo Area Council 583
3559 E Evans Rd
San Antonio, TX 78259


Agape Fitness Solutions
510 Navajo Rd
Montgomery, TX 77316
Agape Memorial Umc
Circle Ten Council 571
5111 Capitol Ave
Dallas, TX 75206


Agape Theapeutic Riding Resources Inc
Crossroads of America 160
531 W 100 S
Greenfield, IN 46140


Agape Youth And Family Center
Atlanta Area Council 092
2210 Marietta Blvd Nw
Atlanta, GA 30318


Agassiz Rod   Gun Club
Northern Lights Council 429
P.O. Box 231
Newfolden, MN 56738


Agawam Congregational Church
Western Massachusetts Council 234
745 Main St
Agawam, MA 01001


Agency Of Credit Control, Inc
2014 S Pontiac Way
Denver, CO 80224


Aggreko LLC
2 Hawk Court
Bridgeport, NJ 08014


Agility Recovery Solutions
P.O. Box 733788
Dallas, TX 75373‐3788


Agm Container Controls
Catalina Council 011
3526 E Fort Lowell Rd
Howard Stewart
Tucson, AZ 85716
Agnes Johnston
Address Redacted


Agnes Martinez
Address Redacted


Agnes Strayer
Address Redacted


Agnor‐Hurt Elem Parent‐Teachers Org
Stonewall Jackson Council 763
3201 Berkmar Dr
Charlottesville, Va 22901


Agra American Legion
Coronado Area Council 192
331 Main St
Agra, KS 67621


Agren Blando Court Reporting     Video Inc
216 16th St, Ste 650
Denver, CO 80202


Agro Zaffiro, LLP
21 King St W, 11th Fl
Hamilton, ON L8P 4W7
Canada


Agron Inc
2440 S Sepulveda Blvd, Ste 201
Los Angeles, CA 90064


Ags Labs, Inc
4871 Sharp St
Dallas, TX 75247


Agsten Construction Co Inc
209 W Washington St, Ste 100
Charleston, WV 25302
Ahavat Achim
Northern New Jersey Council, Bsa 333
18‐25 Saddle River Rd
Fair Lawn, NJ 07410


Ahern Communications Inc
10 Johnson Rd
Foster, RI 02825


Ahg Inc
Attn Linda
175 Tri‐County Pkwy, Ste 100
Cincinnati, OH 45246


Ahmed Bennett
Address Redacted


Ahmed Fawzy Mohamed Atwa
Address Redacted


Ahoskie Rotary Club
East Carolina Council 426
P.O. Box 325
Ahoskie, NC 27910


Ahrc
Suffolk County Council Inc 404
2900 Veterans Memorial Hwy
Bohemia, NY 11716


Ahrc Suffolk
Suffolk County Council Inc 404
214 Riverhead Rd
Westhampton Beach, NY 11978


Ahrc Suffolk
Suffolk County Council Inc 404
330 Knickerbocker Ave
Bohemia, NY 11716
Aia Cleveland
Lake Erie Council 440
American Inst of Architechure‐Cleveland
1001 Huron Rd E
Cleveland, OH 44115


Aicpa
220 Leigh Farm Rd
Durham, NC 27707‐8440


Aicpa
Attn Membership
P.O. Box 52403
Durham, NC 27717‐9924


Aicpa
P.O. Box 27866
Newark, NJ 07101‐7866


Aidan J Saggers
Address Redacted


Aidan Knab
Address Redacted


Aidan Kocab
Address Redacted


Aidan M Vogel
Address Redacted


Aidan Mulholland
Address Redacted


Aiden Firman
Address Redacted


Aiden M Quinn
Address Redacted
Aidynn K France
Address Redacted


Aiim Expo 2009
P.O. Box 6060
Duluth, MN 55806‐6060


Aiim International
P.O. Box 62281
Baltimore, MD 21264‐2281


Aikane O Nuuanu
Aloha Council, Bsa 104
3055 Puiwa Ln
Honolulu, HI 96817


Aiken County Career Center
Georgia‐Carolina 093
2455 Jefferson Davis Hwy
Warrenville, SC 29851


Aileen M Coldren
Address Redacted


Aileen Ruppe
Address Redacted


Aim
1905 Harney St, Ste 300
Omaha, NE 68102


Aimee Liepert
Address Redacted


Aimee R Stark
Address Redacted


Aimee Stark
Address Redacted


Aimwell Baptist Church
Mobile Area Council‐Bsa 004
500 Earle St
Mobile, AL 36603


Ainsworth Utd Church Of Christ
Cascade Pacific Council 492
2941 NE Ainsworth St
Portland, OR 97211


Aio Acquisition Inc
dba Personnel Concepts
P.O. Box 5750
Carol Stream, IL 60197‐5750


Air   Space Magazine
P.O. Box 420110
Palm Coast, FL 32142‐0110


Air Assoc Of Kansas
Heart of America Council 307
12901 W 151st St, Ste B
Olathe, KS 66062


Air Components   Systems Ltd
P.O. Box 560578
Charlotte, NC 28256‐0578


Air Force Academy Athletic Corp
Pikes Peak Council 060
2168 Field House Dr
Usaf Academy, CO 80840


Air Force Assoc
1501 Lee Hwy, Ste 400
Arlington, VA 22209‐1198


Air Force Sergants Assoc F1552
Far E Council 803
Psc 76 Box 6385
Apo, AP 96319


Air Force Sergeants Assoc
Cimarron Council 474
246 Brown Pkwy
Enid, OK 73705


Air Force Sergeants Assoc
W.L.A.C.C. 051
P.O. Box 427
Edwards, CA 93523


Air Force Sergeants Assoc‐Chapter
Golden Empire Council 047
P.O. Box 560
North Highlands, CA 95660


Air Ops Drone Technology
Southwest Florida Council 088
18316 Oriole Rd
Fort Myers, FL 33967


Air Products
Minsi Trails Council 502
7201 Hamilton Blvd
Allentown, PA 18195


Air Serv Of Fort Bend
Sam Houston Area Council 576
13003 Murphy Rd, Ste M3
Stafford, TX 77477


Aircar Inc
2008 Bedford Rd, Ste 200
Bedford, TX 76021


Aircraft Owners   Pilots Assoc
National Capital Area Council 082
421 Aviation Way
Frederick, MD 21701
Aircycle Corp
2200 Ogden Ave
Lisle, IL 60532


Airgas Inc
dba Airgas USA LLC
P.O. Box 734672
Dallas, TX 75373‐4672


Airline Park Elementary Cub Parents
Southeast Louisiana Council 214
6201 Camphor St
Metairie, LA 70003


Airline Stationery Co Inc
284 Madison Ave
New York, NY 10017


Airpark Dodge Chrysler
Attn Coye Pointer
7801 E Frank Lloyd Blvd
Scottsdale, AZ 85260


Airsoft Megastore Wholesale
5012 4th St
Irwindale, CA 91706


Airstar America, Inc
10255 General Dr, Ste 6A
Orlando, FL 32824


Air‐Tite Holders Inc
1560 Curran Hwy
North Adams, MA 01247


Aisha Stith
Address Redacted


Aitkin Lee American Legion Post 86
Central Minnesota 296
20 1st Ave Ne
Aitkin, MN 56431


Aitkin Lions
Central Minnesota 296
40 2nd Ave Se
Aitkin, MN 56431


Ajapeu Lodge 33
Washington Crossing Council 777
1 Scout Way
Doylestown, PA 18901


Akamai Technologies Inc
General Post Office
P.O. Box 26590
New York, NY 10087‐6590


Akela Wahinapay Lodge Camp Pioneer
Caddo Area Council 584
971 Polk Rd 38
Hatfield, AR 71945


Akers Ski Inc
51 Akers Way
P.O. Box 293
Andover, ME 04216‐0293


Akia Sparkman
Address Redacted


Akima, LLC
Silicon Valley Monterey Bay 055
Bldng 264, 7th Div Rd
Jolon, CA 93928


Akin Road Parent School Partnership
Northern Star Council 250
5231 195th St W
Farmington, MN 55024
Akron Fire Dept
Great Trail 433
146 S High St
Akron, OH 44308


Akron Lions Club
Pennsylvania Dutch Council 524
P.O. Box 64
1 Lions Rd
Akron, PA 17501


Akron Lions Club Inc
Greater Niagara Frontier Council 380
P.O. Box 102
Akron, NY 14001


Akron Police Law Enforcement ‐ Explorers
Great Trail 433
217 S High St
Akron, OH 44308


Akron Urban League Summer Day Camp
Great Trail 433
440 Vernon Odom Blvd
Akron, OH 44307


AL Auxillary Unit 165 Billy Peterson
Connecticut Rivers Council, Bsa 066
1253 Wolcott Rd
Wolcott, Ct 06716


AL Bronsted‐Searl‐Ingman Post 93
C/O Gordon Lovsletten, Cc
Samoset Council, Bsa 627
N8906 N Belliveau Rd
Tomahawk, Wi 54487


Al Brown High School
Central N Carolina Council 416
415 E 1st St
Kannapolis, NC 28083
AL Charles A Conklin Post 28
President Gerald R Ford 781
700 S Harbor Dr
Grand Haven, Mi 49417


AL ColAL Brodie Post 1437
Pathway To Adventure 456
11123 Regency Dr
Westchester, Il 60154


AL David‐Darrow‐Meyer Post 112
Central Minnesota 296
525 Railroad Dr Nw
Davis Darrow Meyer Post112
Elk River, Mn 55330


AL Detrich‐Brechbill Post 612
New Birth Of Freedom 544
P.O. Box 303
St Thomas, Pa 17252


Al Falah Academy
Northeast Georgia Council 101
4805 Lawrenceville Hwy NW, Ste 220
Lilburn, GA 30047


Al Geisler
Address Redacted


AL Gillaspey‐Moodie Post 474
Mississippi Valley Council 141 141
P.O. Box 92
Donnellson, Ia 52625


AL Hayward Vets Post 870
San Francisco Bay Area Council 028
27081 Fielding Dr
Hayward, Ca 94542


Al Huda Society
The Spirit of Adventure 227
60 Willow St
Chelsea, MA 02150


AL James Ely Miller Post 833
Suffolk County Council Inc 404
51 Juniper Ave
Smithtown, Ny 11787


AL Leyden Chiles Wickersham Post 1
Denver Area Council 061
5400 E Yale Ave
Denver, Co 80222


AL Libby, Austin Reedy Post 97
Montana Council 315
319 California Ave
Libby, Mt 59923


AL Otto Hendrickson Post 212
Central Minnesota 296
900 1St St E
Park Rapids, Mn 56470


AL Pickett Post 21 Jonesboro
Quapaw Area Council 018
P.O. Box 585
3414 Dan Ave
Jonesboro, Ar 72403


AL Post 112 Jay Wilson Post
Lake Erie Council 440
6671 Middle Ridge Rd
Madison, Oh 44057


AL Post 136 Arroyo Grande Ca
Los Padres Council 053
417 Orchard Ave
Arroyo Grande, Ca 93420


AL Post 187 John M Siedlicki
Connecticut Yankee Council Bsa 072
190 Ward St
Wallingford, Ct 06492
AL Post 256   1st Baptist Ch
Old Hickory Council 427
P.O. Box 968
Blowing Rock, Nc 28605


AL Post 266 Mayhew Vincent White Lane
Orange County Council 039
P.O. Box 606
Westminster, Ca 92684


AL Post 276    Cary‐Grove Jaycees
Blackhawk Area 660
208 W Main St
Cary, Il 60013


AL Post 405 Lt Chester A Bearse
Narragansett 546
P.O. Box 96
Raynham, Ma 02767


AL Post 42 Jh Wellington 1919
Cascade Pacific Council 492
P.O. Box 16
Saint Helens, Or 97051


AL Post 584‐Utd Methodist Ch
Illowa Council 133
201 E Railroad
P.O. Box 336
Wilton, Ia 52778


AL Post 649 Castro Vly
San Francisco Bay Area Council 028
P.O. Box 2062
Castro Valley, Ca 94546


AL Post 699
Elmer Dade Memorial Post
Great Trail 433
201 S Leavitt Rd
Leavittsburg, Oh 44430
AL Post 78 Everret Ray Seymour
Connecticut Yankee Council Bsa 072
71 N Salem Rd
Ridgefield, Ct 06877


AL Post Manchester Post 113
The Spirit Of Adventure 227
8R Central St
Manchester, Ma 01944


AL Quentin Roosevelt Post 4
Theodore Roosevelt Council 386
120 S St
Oyster Bay, Ny 11771


AL Rancho Cordova Post 709
Golden Empire Council 047
10636 Schirra Ave
Mather, Ca 95655


Al S Custom Frames    Gallery Ltd
2605 Wwood Dr
Nashville, TN 37204


Al S Sporting Goods, Inc
Attn Kris Larsen
1617 N Main St
Logan, UT 84341


AL‐ Vernon J Baker Post 241
Inland Nwest Council 611
12912 E 12Th Ave
Spokane Valley, Wa 99216


AL W Vly Memory Post 99
Silicon Valley Monterey Bay 055
1344 Dell Ave
Campbell, Ca 95008


Al West Boat Service, LLC
Pikes Peak Council 060
215 W Van Buren St
Colorado Springs, CO 80907


AL Wilmore‐Richter Post 161
Denver Area Council 061
6230 W 60Th Ave
Arvada, Co 80003


AL Wojciak Talberg Post 602
Central Minnesota 296
37285 167Th St
Hillman, Mn 56338


Alabama Attorney Generals Office
Attn Consumer Protection
P.O. Box 300152
Montgomery, AL 36130


Alabama Child Support Payment Center
Order Identifier 62Cs20010366
P.O. Box 244015
Montgomery, AL 36124‐4015


Alabama Office Of Attorney General
Office of the Attorney General
1031 W 4th Ave, Ste 200
Anchorage, AK 99501‐5903


Alabama Power Co
Tukabatchee Area Council 005
P.O. Box 160
Montgomery, AL 36101


Alabama Securities Commission
P.O. Box 304700
Montgomery, AL 36130‐4700


Alabama State Attorneys General
State House
11 S Union St
Montgomery, AL 36130
Alabama State Treasury
Unclaimed Property Div
P.O. Box 302520
Montgomery, AL 36130‐2520


Alabama Treasury Dept
Uncl Prop Div ‐ Ralph Ainsworth
P.O. Box 302520
Montgomery, AL 36130‐2520


Alabama‐Florida
6801 W Main St
Dothan, AL 36305‐6937


Alabama‐Florida Cncl 3
6801 W Main St
Dothan, AL 36305


Alabaster City Schools
Greater Alabama Council 001
10111 Hwy 119
Alabaster, AL 35007


Alachua Lions Club
North Florida Council 087
P.O. Box 20
Alachua, FL 32616


Alachua Police Dept
North Florida Council 087
15000 NW 142 Terrace
Alachua, FL 32615


Alahna Obrien
Address Redacted


Alaiedon Elementary School PTO
Water and Woods Council 782
1723 Okemos Rd
Mason, MI 48854
Alain Nau
Address Redacted


Alamance Presbyterian Church
Old N State Council 070
4000 Presbyterian Rd
Greensboro, NC 27406


Alameda
1714 Everett St
Alameda, CA 94501‐0222


Alameda Boys   Girls Club
Alameda Council Bsa 022
1900 3rd St
Alameda, CA 94501


Alameda Cncl 22
1714 Everett St
Alameda, CA 94501‐1529


Alameda County Sheriff Eden Township
San Francisco Bay Area Council 028
15001 Foothill Blvd
San Leandro, CA 94578


Alameda County Sheriff S Office
San Francisco Bay Area Council 028
1401 Lakeside Dr
Oakland, CA 94612


Alameda Elks Lodge Bpoe 1015
Alameda Council Bsa 022
2255 Santa Clara Ave
Alameda, CA 94501


Alamitos Sail And Power Squadron
Long Beach Area Council 032
2535 Poinsettia St
Santa Ana, CA 92706
Alamo Area
2226 NW Military Hwy
San Antonio, TX 78213‐1894


Alamo Area Cncl 583
2226 N W Military Hwy
San Antonio, TX 78213


Alamo Area Search And Rescue
Alamo Area Council 583
P.O. Box 1398
Helotes, TX 78023


Alamo Chapter Assoc Of The Us Army
Alamo Area Council 583
1 University Way
Patriots Casa, Ste 202
San Antonio, TX 78224


Alamo Colleges
Room 112
7990 Pat Booker Rd
Live Oak, TX 78233


Alamo Community Congregational Church
Southern Shores Fsc 783
7925 N 6th St
Kalamazoo, MI 49009


Alamo Heights Presbyterian Church
Alamo Area Council 583
6201 Broadway St
San Antonio, TX 78209


Alamo Heights Utd Methodist Church
Alamo Area Council 583
825 E Basse Rd
San Antonio, TX 78209


Alamo Plumbing   Heating Supply
P.O. Box 939
Magdalena, NM 87825


Alamogordo Elks Lodge 1897 Bpoe
Yucca Council 573
2290 Hamilton Rd
Alamogordo, NM 88310


Alan   Kristin Watson/Watson Conserves
Llc
1517 Canyon Rd
Santa Fe, NM 87501


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Alan Zukowski
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Alana Benson
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Alanna Bonar
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Alanson Methodist Church
President Gerald R Ford 781
P.O. Box 424
Alanson, MI 49706


Alarm One Inc
2821 2nd Ave S C
Birmingham, AL 35233


Alarm Security     Contracting Inc
P.O. Box 71389
Corpus Christi, TX 78467‐1389


Alasdair Charleson
Address Redacted


Alaska Consumer Protection Unit
Consumer Protection Div
1525 Sherman St
Denver, CO 80203


Alaska Dept Of Revenue
Unclaimed Property Unit
1111 W Eight St, Rm 106
P.O. Box 110420
Juneau, AK 99801


Alaska State Attorneys General
P.O. Box 110300
Diamond Courthouse
Juneau, AK 99811‐0300


Alba Morales
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Albany County Sheriffs Office
Twin Rivers Council 364
390 New Salem Rd
Voorheesville, NY 12186


Albany Optimist Club
Cascade Pacific Council 492
P.O. Box 61
Albany, OR 97321


Albany Police Athletic League
Twin Rivers Council 364
844 Madison Ave
Albany, NY 12208


Albatross Air Inc
380 Airport Cir
Beaver, WV 25813


Albee Township Fire Dept
Water and Woods Council 782
10755 E Rd
Burt, MI 48417


Albemarle Fire Dept
Central N Carolina Council 416
1610 E Main St
Albemarle, NC 28001


Albemarle Glass Co Inc
232 S 1st St
Albemarle, NC 28001


Alberice Architecture   Design Pa
12 S Lexington Ave, Ste 100
Ashville, NC 28801


Albert Arrington
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Albert Gallegos
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Albert Garver Jr
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Albert Greene Jr
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Albert Gunther
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Albert Hubby
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Albert Kugler
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Albert Lea Utd Methodist Church
Twin Valley Council Bsa 283
702 S Hwy 69
Albert Lea, MN 56007


Albert Linnell
Address Redacted


Albert Nolan
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Albert O Neal
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Albert Oldenburg
Address Redacted


Albert Rasmussen
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Albert Restaurant Group
dba Schlotzsky S
P.O. Box 165054
Irving, TX 75016


Albert Rieder
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Albert Smith
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Albert W Sisk    Son Inc
Del Mar Va 081
3601 Choptank Rd
Preston, MD 21655


Albert Zenz
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Alberta Cave
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Alberta Smith Concerned Citizens
Heart of Virginia Council 602
13133 Donegal Dr
Chesterfield, VA 23832


Albertina Kerr Centers Washington County
Cascade Pacific Council 492
247 SE Washington St, Ste 200
Hillsboro, OR 97123


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Alberto Rodriguez
Address Redacted


Alberto Saucedo
Address Redacted


Albertville Civitans
Greater Alabama Council 001
6271 US Hwy 431
Albertville, AL 35950


Albertville Lions Club
Northern Star Council 250
P.O. Box 82
Albertville, MN 55301
Albin Bartlett
Address Redacted


Albion Lions
Anthony Wayne Area 157
757 W Albion Rd
Albion, IN 46701


Albion PTA
Pine Tree Council 218
20 School St
Albion, ME 04910


Albion Ward ‐ Declo Stake
Snake River Council 111
P.O. Box 65
Albion, ID 83311


Albrecht   Co
P.O. Box 640814
Cincinnati, OH 45264‐0814


Albright College
Attn Financial Aid Office
13th   Bern Sts, P.O. Box 15234
Reading, PA 19612


Albuquerque Breakfast Civitan Club
Great Swest Council 412
503 Niagara Rd Ne
Albuquerque, NM 87113


Albuquerque Breakfast Lions Club
Great Swest Council 412
P.O. Box 27273
Albuquerque, NM 87125


Albuquerque Christian School
Great Swest Council 412
7201B Montgomery Blvd Ne
Albuquerque, NM 87109


Albuquerque Exotic Woods
4224 Menaul Ne
Albuquerque, NM 87110


Albuquerque Office Systems, LLC
3715 Hawkins St NE, Ste A
Albuquerque, NM 87109


Alburnett Community Diamond Club
Hawkeye Area Council 172
P.O. Box 123
Alburnett, IA 52202


Alcone Co Inc
5‐45 49th Ave
Long Island City, NY 11101


Alcott Elementary PTO
Sam Houston Area Council 576
5859 Bellfort St
Houston, TX 77033


Alcott School Parent Teachers
Overland Trails 322
Association
313 N Cedar Ave
Hastings, NE 68901


Alcova Elementary PTA
Northeast Georgia Council 101
770 Ewing Chapel Rd
Dacula, GA 30019


Alcuin School
Circle Ten Council 571
6144 Churchill Way
Dallas, TX 75230


Aldacos Mexican Cuisine
100 Hoefgen
San Antonio, TX 78205


Aldan American Legion Post 1000
Cradle of Liberty Council 525
106 Bonsall Ave
Aldan, PA 19018


Alden Road Exceptional Center     Sn
North Florida Council 087
11780 Alden Rd
Jacksonville, FL 32246


Alder Energy Systems, LLC
Coastal Carolina Council 550
495 Jessen Ln
Charleston, SC 29492


Aldersgate Campus Of New Creation Umc
Tidewater Council 596
4320 Bruce Rd
Chesapeake, VA 23321


Aldersgate Methodist Church
National Capital Area Council 082
1301 Collingwood Rd
Alexandria, VA 22308


Aldersgate Mission Main Street Umc
Pine Burr Area Council 304
402 E 2nd St
Hattiesburg, MS 39401


Aldersgate Sun Sch Cl 1St Umc
South Georgia Council 098
311 Madison Ave N
Douglas, GA 31533


Aldersgate Utd Meth
Juniata Valley Council 497
109 N 3rd St
Mifflintown, PA 17059
Aldersgate Utd Methodist
Northern Star Council 250
3801 Wooddale Ave S
St Louis Park, MN 55416


Aldersgate Utd Methodist Ch‐Redford
Great Lakes Fsc 272
10000 Beech Daly Rd
Redford, Mi 48239


Aldersgate Utd Methodist Church
Andrew Jackson Council 303
655 Beasley Rd
Jackson, MS 39206


Aldersgate Utd Methodist Church
Anthony Wayne Area 157
2417 Getz Rd
Fort Wayne, IN 46804


Aldersgate Utd Methodist Church
Bay Area Council 574
13217 Fm 1764 Rd
Santa Fe, TX 77510


Aldersgate Utd Methodist Church
Black Warrior Council 006
1975 Hwy 78
Dora, AL 35062


Aldersgate Utd Methodist Church
Blue Ridge Council 551
7 Shannon Dr
Greenville, SC 29615


Aldersgate Utd Methodist Church
Blue Ridge Mtns Council 599
1946 Medallion Dr
Pulaski, VA 24301
Aldersgate Utd Methodist Church
Buckskin 617
6823 Sissonville Dr
Charleston, WV 25320


Aldersgate Utd Methodist Church
Buffalo Trace 156
5130 Lincoln Ave
Evansville, IN 47715


Aldersgate Utd Methodist Church
Chief Seattle Council 609
14230 SE Newport Way
Bellevue, WA 98006


Aldersgate Utd Methodist Church
Circle Ten Council 571
3926 Old Denton Rd
Carrollton, TX 75007


Aldersgate Utd Methodist Church
Del Mar Va 081
2313 Concord Pike
Wilmington, DE 19803


Aldersgate Utd Methodist Church
Erie Shores Council 460
4030 Douglas Rd
Toledo, OH 43613


Aldersgate Utd Methodist Church
Georgia‐Carolina 093
3185 Wheeler Rd
Augusta, GA 30909


Aldersgate Utd Methodist Church
Greater Alabama Council 001
12901 Bailey Cove Rd Se
Huntsville, AL 35803


Aldersgate Utd Methodist Church
Greater St Louis Area Council 312
1201 N Fair St
Marion, IL 62959


Aldersgate Utd Methodist Church
Greater Tampa Bay Area 089
9530 Starkey Rd
Largo, FL 33777


Aldersgate Utd Methodist Church
Gulf Coast Council 773
6915 Hwy 29 N
Molino, FL 32577


Aldersgate Utd Methodist Church
Heart of America Council 307
15315 W 151st St
Shelly Mcnaughton‐Lawrence
Olathe, KS 66062


Aldersgate Utd Methodist Church
Heart of America Council 307
350 SW State Route 150
Lees Summit, MO 64082


Aldersgate Utd Methodist Church
Mid Iowa Council 177
3600 75th St
Urbandale, IA 50322


Aldersgate Utd Methodist Church
Monmouth Council, Bsa 347
568 Ryders Ln
East Brunswick, NJ 08816


Aldersgate Utd Methodist Church
Montana Council 315
1621 Thornton Ave
Butte, MT 59701


Aldersgate Utd Methodist Church
National Capital Area Council 082
1301 Collingwood Rd
Alexandria, VA 22308


Aldersgate Utd Methodist Church
New Birth of Freedom 544
397 Tyler Run Rd
York, PA 17403


Aldersgate Utd Methodist Church
Occoneechee 421
1320 Umstead Rd
Durham, NC 27712


Aldersgate Utd Methodist Church
Orange County Council 039
1201 Irvine Blvd
Tustin, CA 92780


Aldersgate Utd Methodist Church
Ozark Trails Council 306
460 W Aldersgate Dr
Nixa, MO 65714


Aldersgate Utd Methodist Church
Palmetto Council 549
2115 Celanese Rd
Rock Hill, SC 29732


Aldersgate Utd Methodist Church
Piedmont Council 420
1207 W Dixon Blvd
Shelby, NC 28152


Aldersgate Utd Methodist Church
Quivira Council, Bsa 198
7901 W 21st St N
Wichita, KS 67205


Aldersgate Utd Methodist Church
Sequoyah Council 713
136 Highridge St
Bristol, TN 37620
Aldersgate Utd Methodist Church
South Plains Council 694
10306 Indiana Ave
Lubbock, TX 79423


Aldersgate Utd Methodist Church
Southeast Louisiana Council 214
360 Robert Blvd
Slidell, LA 70458


Aldersgate Utd Methodist Church
Stonewall Jackson Council 763
1500 Rio Rd E
Charlottesville, VA 22901


Aldersgate Utd Methodist Church
Texas Trails Council 561
1741 Sayles Blvd
Abilene, TX 79605


Aldersgate Utd Methodist Church
The Spirit of Adventure 227
235 Park St
North Reading, MA 01864


Aldersgate Utd Methodist Church
The Spirit of Adventure 227
242 Boston Rd
Chelmsford, MA 01824


Aldersgate Utd Methodist Church ‐ Oa
Piedmont Council 420
1207 W Dixon Blvd
Shelby, NC 28152


Aldersgate Utd Methodist Church Mens
Tukabatchee Area Council 005
6610 Vaughn Rd
Montgomery, AL 36116


Alderwood Boys And Girls Club
Mount Baker Council, Bsa 606
19719 24th Ave W, Ste 10
Lynnwood, WA 98036


Aldora Utd Methodist Church
Flint River Council 095
328 Old 41 Hwy
Barnesville, GA 30204


Aldridge Early Learning Center
Illowa Council 133
489 27th Ave
East Moline, IL 61244


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Alec Davidson Schrader
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Alec Drew Donnelly
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Alec Juergen Mcgregor
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Alecia Jones
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Illowa Council 133
305 NW 7th St
Aledo, IL 61231


Aledo Utd Methodist Church
Longhorn Council 662
P.O. Box 126
Aledo, TX 76008


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Alejandrina Lopez
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Alejandro Antonio Laboy
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Alejandro Javier Segarra
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Alejandro Santamaria Rojas
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Alemany High School
W.L.A.C.C. 051
11111 Alemany Dr
Mission Hills, CA 91345


Alena Duma
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Alert Logic Inc
75 Remittance Dr, Ste 6693
Chicago, IL 60675‐6693


Alert Logic, Inc
1776 Yorktown, 7th Fl
Houston, TX 77056
Alert One Fire Inc
11220 Metro Pkwy, Ste 9
Ft Myers, FL 33966


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Alex A Cordova
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Alex B Page
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Alex Carter
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Alex Modrell
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111 Presidential Blvd, Ste 203
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Alexander A Moulvi
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Alexander C Bair
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Alexander C Orlich
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Alexander C Spinelli
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Alexander Clardy
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Alexander Connolly
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Piedmont Council 420
County Courthouse
Taylorsville, NC 28681


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West Tennessee Area Council 559
900 N Highland Ave
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Alexander Hamilton Elementary
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800 Poplar Grove St
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Alexander Hamilton Institute Inc
70 Hilltop Rd
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Alexander R Bernard
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8168 Crown Bay Marnia, Ste 505‐544
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Alexander Thomas
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Alexander Thomas Shoemaker
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Rte 98
Alexander, NY 14005


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Alexander W Krukemeyer
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Alexander W Taylor‐Lash
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Alexandria Behrend
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Alexandria Bratcher
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2729 Garrisonville Rd
Stafford, VA 22556


Alexandria Country Day School
National Capital Area Council 082
2400 Russell Rd
Alexandria, VA 22301


Alexandria Fire Dept
Northern Lights Council 429
302 Fillmore St
Alexandria, MN 56308


Alexandria First Presbyterian Church
Washington Crossing Council 777
141 Little York Mount Pleasant Rd
Milford, NJ 08848


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Alexandria Monroe High School
Crossroads of America 160
1 Burden Ct
Alexandria, IN 46001


Alexandria Moyers
Address Redacted
Alexandria Seaport Foundation
P.O. Box 25036
Alexandria, VA 22313


Alexandria Zoological Park
Louisiana Purchase Council 213
3016 Masonic Dr
Alexandria, LA 71301


Alexanian Rugs, Inc
3341 Columbia Ne
Albuquerque, NM 87107


Alexis Bodisco
Address Redacted


Alexis J Martinez
Address Redacted


Alexis Jane Nicholas
Address Redacted


Alexis Lang
Address Redacted


Alexis Neunteufel
Address Redacted


Alexis P Frost
Address Redacted


Alexis Peter Salsedo‐Surovov
Address Redacted


Alexius J Lauzon
Address Redacted
Aley Utd Methodist Church
Tecumseh 439
4143 Kemp Rd
Beavercreek, OH 45431


Alford Elementary Stem
Northeast Georgia Council 101
2625 Lawrenceville Hwy
Lawrenceville, GA 30044


Alford Havens Jr
Address Redacted


Alfred Chaney
Address Redacted


Alfred Degrand
Address Redacted


Alfred Duchene Jr
Address Redacted


Alfred Gardner
Address Redacted


Alfred Giles
Address Redacted


Alfred Go
Address Redacted


Alfred Harrell Iii
Address Redacted


Alfred Lacasse
Address Redacted


Alfred Landon
Address Redacted
Alfred Lawrence Landon
Address Redacted


Alfred Lima School P T A
Narragansett 546
222 Daboll St
Providence, RI 02907


Alfred Morin Jr
Address Redacted


Alfred Publishing Co Inc
P.O. Box 10003
Van Nuys, CA 91410‐0003


Alfred Santillo Iii
Address Redacted


Alfred Sta Vol Fire Co Asn Inc
Five Rivers Council, Inc 375
P.O. Box 282
Alfred Station, Ny 14803


Alfred Street Baptist Church
National Capital Area Council 082
301 S Alfred St
Alexandria, VA 22314


Alfred Vasey
Address Redacted


Alfred W Maxwell Jr Post 40 AL
Pine Tree Council 218
P.O. Box 342
117 Bowdoin St
Winthrop, Me 04364


Alfreda Kukucka
Address Redacted
Alfwear Inc
dba Kuhl
1635 S 5070 W, Ste C
Salt Lake City, UT 84104


Algoma Blvd Utd Methodist Church
Bay‐Lakes Council 635
1174 Algoma Blvd
Oshkosh, WI 54901


Algona Noon Kiwanis Club
Mid‐America Council 326
318 N Roan St
Algona, IA 50511


Algonquin Heights Tenant S Assoc
Mayflower Council 251
1 Algonquin Ter
Plymouth, MA 02360


Algonquin Lions Club
Blackhawk Area 660
P.O. Box 51
Algonquin, IL 60102


Algonquin Police Dept
Blackhawk Area 660
2200 Harnish Dr
Algonquin, IL 60102


Algonquin‐Lith Rotary Club
Blackhawk Area 660
1304 E Algonquin Rd
Algonquin, IL 60102


Algood Cumberland Presbyterian Church
Middle Tennessee Council 560
212 E Main St
Cookeville, TN 38506
Algood Utd Methodist Church
Middle Tennessee Council 560
135 W Main St
Cookeville, TN 38506


Alhambra Police Dept
Greater Los Angeles Area 033
211 S 1st St
Alhambra, CA 91801


Ali Mohammad
Address Redacted


Ali‐Aba
Registrar Ali Aba
4025 Chestnut St
Philadelphia, PA 19104‐3099


Alice Arnold
Address Redacted


Alice Blair
Address Redacted


Alice Byrdean Peoples
Address Redacted


Alice Contreras Elementary ‐ Gfwar
Longhorn Council 662
4100 Lubbock Ave
Fort Worth, TX 76115


Alice Courtland
Address Redacted


Alice Distlehorst
Address Redacted


Alice Frazier
Address Redacted
Alice Gustafson School PTO
Three Fires Council 127
905 Carlisle Rd
Batavia, IL 60510


Alice Hegarty
Address Redacted


Alice Hener
Address Redacted


Alice Hoffman
Address Redacted


Alice Jones
Address Redacted


Alice Kanzenbach
Address Redacted


Alice Lee Blair
Address Redacted


Alice M Harte Charter School
Southeast Louisiana Council 214
5300 Berkley Dr
New Orleans, LA 70131


Alice Marini
Address Redacted


Alice Optimist Club
South Texas Council 577
P.O. Box 1074
Alice, TX 78333


Alice Phillips
Address Redacted
Alice Press
Address Redacted


Alice Richardson
Address Redacted


Alice Robbins
Address Redacted


Alice Watanabe
Address Redacted


Alicemarie Sulham
Address Redacted


Alices Cedar Inn
Mid‐America Council 326
219 Pine St
Creston, NE 68631


Aliceville First Baptist Church
Black Warrior Council 006
323 Broad St Nw
Aliceville, AL 35442


Alicia D Wesseling
Address Redacted


Alicia Embrey
Address Redacted


Alicia Lewis
Address Redacted


Alicia Lifrak
Address Redacted
Alicia Olmeda
Address Redacted


Alicia Porter
Address Redacted


Alicia R Celestine
Address Redacted


Alicia Reese
Address Redacted


Alicia Rhoads
Address Redacted


Alicia Rowe
Address Redacted


Alicia Smock
Address Redacted


Alicia Wesseling
Address Redacted


Alicia Weyant
Address Redacted


Alicja M Hornung
Address Redacted


Alief Family Ymca
Sam Houston Area Council 576
7850 Howell Sugar Land Rd
Houston, TX 77083


Alina Anchondo
Address Redacted
Alina R Bradman
Address Redacted


Aliquippa Elementary
Laurel Highlands Council 527
800 21st St
Aliquippa, PA 15001


Alisha Catherine Nelson
Address Redacted


Alisha M Perrone
Address Redacted


Alisha Mason
Address Redacted


Alisia J Leon
Address Redacted


Alison A Hughes
Address Redacted


Alison Guertin
Address Redacted


Alison Harrison
Address Redacted


Alison K Schuler
Address Redacted


Alison Maniscalco
Address Redacted


Alison Richards
Address Redacted
Alison Whitlock
Address Redacted


Alissa Brandon
Address Redacted


Alissa Hunt
Address Redacted


Alissa Williams
Address Redacted


All About Therapy LLC
Pee Dee Area Council 552
5046 Hwy 17 Byp S, Ste 205
Myrtle Beach, SC 29588


All American Card Co
8550 NW 47th Ct
Lauderhill, FL 33351


All American Fire Protection
Of Fayetteville Inc
P.O. Box 9178
Fayetteville, NC 28311


All American Trailer Connection
3531 Lake Worth Rd
Palm Springs, FL 33461


All American Truck Accessories
718 60th St, Ct E
Bradenton, FL 34208


All American Van   Storage
Las Vegas Area Council 328
600 E Cheyenne Ave
North Las Vegas, NV 89030


All Brothers Truck Repair
Middle Tennessee Council 560
845 Visco Dr
Nashville, TN 37210


All Covered
Dept 33163
P.O. Box 39000
San Francisco, CA 94139‐3163


All Crane    Equipment Rental Corp
140 W 19th St
P.O. Box 249
Nitro, WV 25143


All Digital Video   Post
1127 Windmere Way
Allen, TX 75013


All Dulles Area Muslim Society
National Capital Area Council 082
46903 Sugarland Rd
Sterling, VA 20164


All Hallows Roman Catholic Church
Connecticut Rivers Council, Bsa 066
130 Prospect St
Moosup, CT 06354


All Keys Concrete LLC
101075N Overseas Hwy
Key Largo, FL 33037


All Keys Diesel Repair Inc
3988 Overseas Hwy
Marathon, FL 33050


All Keys Distribution LLC
P.O. Box 431555
127 Industrial Blvd
Big Pine Key, FL 33043
All Keys Gas Service Inc
P.O. Box 431555
Big Pine Key, FL 33043


All Keys Glass Inc
9121 Overseas Hwy
Marathon, FL 33050


All Keys Rental LLC
86300 Overseas Hwy
Islamorada, FL 33036


All Medical Personnel, Inc
4000 Hollywood Blvd, Suite 600‐N
Hollywood, FL 33021


All My Sons Moving‐Storage Austin, Inc
2337 Patterson Industrial Dr
Pflugerville, Tx 78660


All Night Graduation Party
P.O. Box 166
Ely, MN 55731


All Phase Construction, Inc
P.O. Box 633
Ely, MN 55731


All Phase Electric
P.O. Box 210356
Montgomery, AL 36121


All Pro Technology
660 N Central Expwy, Ste 645
Plano, TX 75074


All Saints Episcopal Church
Cherokee Area Council 469 469
225 B St Nw
Miami, OK 74354
All Saints Academy
President Gerald R Ford 781
2233 Diamond Ave Ne
Grand Rapids, MI 49505


All Saints Anglican Catholic Church
Glaciers Edge Council 620
169 S Academy St
Janesville, WI 53548


All Saints Anglican Church
Flint River Council 095
149 Ebenezer Rd
Fayetteville, GA 30215


All Saints Camp   Conf Ctr Inc
418 Stanton Way
Pottsboro, TX 75076


All Saints Catholic Church
Atlanta Area Council 092
2443 Mount Vernon Rd
Dunwoody, GA 30338


All Saints Catholic Church
Central Minnesota 296
311 River St W
Holdingford, MN 56340


All Saints Catholic Church
Circle Ten Council 571
5231 Meadowcreek Dr
Dallas, TX 75248


All Saints Catholic Church
Great Smoky Mountain Council 557
620 N Cedar Bluff Rd
Knoxville, TN 37923


All Saints Catholic Church
Hawkeye Area Council 172
720 29th St Se
Cedar Rapids, IA 52403


All Saints Catholic Church
Lincoln Heritage Council 205
P.O. Box 531
Taylorsville, KY 40071


All Saints Catholic Church
Northern Star Council 250
19795 Holyoke Ave
Lakeville, MN 55044


All Saints Catholic Church
Palmetto Council 549
530 Hwy 274
Clover, SC 29710


All Saints Catholic Church
Quivira Council, Bsa 198
3205 Grand St
Wichita, KS 67218


All Saints Catholic Church
Sam Houston Area Council 576
215 E 10th St
Houston, TX 77008


All Saints Catholic Church
San Francisco Bay Area Council 028
22824 2nd St
Hayward, CA 94541


All Saints Catholic Church
South Florida Council 084
10900 W Oakland Park Blvd
Sunrise, FL 33351


All Saints Catholic School
Great Lakes Fsc 272
48735 Warren Rd
Canton, MI 48187
All Saints Catholic School
Illowa Council 133
1926 N Marquette St
Davenport, IA 52804


All Saints Catholic School
Last Frontier Council 480
4001 36th Ave Nw
Norman, OK 73072


All Saints Church
National Capital Area Council 082
9300 Stonewall Rd
Manassas, VA 20110


All Saints Church
The Spirit of Adventure 227
120 Bellevue Ave
Haverhill, MA 01832


All Saints Church
Theodore Roosevelt Council 386
855 Middle Neck Rd
Great Neck, NY 11024


All Saints Church    School
Dan Beard Council, Bsa 438
8939 Montgomery Rd
Cincinnati, OH 45236


All Saints Church Chevy Chase Parish
National Capital Area Council 082
3 Chevy Chase Cir
Chevy Chase, MD 20815


All Saints Diocesan School
Indian Nations Council 488
299 S 9th St
Broken Arrow, OK 74012
All Saints Elementary School
Water and Woods Council 782
715 14th St
Bay City, MI 48708


All Saints Episcopal
Greater Alabama Council 001
110 W Hawthorne Rd
Birmingham, AL 35209


All Saints Episcopal
North Florida Council 087
4171 Hendricks Ave
Jacksonville, FL 32207


All Saints Episcopal Church
Baden‐Powell Council 368
475 Main St
Johnson City, NY 13790


All Saints Episcopal Church
California Inland Empire Council 045
3847 Terracina Dr
Riverside, CA 92506


All Saints Episcopal Church
Coastal Carolina Council 550
3001 Meeting St
Hilton Head Island, SC 29926


All Saints Episcopal Church
Coastal Carolina Council 550
3001 Meeting St
Hilton Head, SC 29926


All Saints Episcopal Church
Cradle of Liberty Council 525
9601 Frankford Ave
Philadelphia, PA 19114


All Saints Episcopal Church
Grand Canyon Council 010
6300 N Central Ave
Phoenix, AZ 85012


All Saints Episcopal Church
Great Smoky Mountain Council 557
601 W Main St
Morristown, TN 37814


All Saints Episcopal Church
Narragansett 546
121 N Main St
Attleboro, MA 02703


All Saints Episcopal Church
National Capital Area Council 082
100 Lower Marlboro Rd
Sunderland, MD 20689


All Saints Episcopal Church
National Capital Area Council 082
106 W Church St
Frederick, MD 21701


All Saints Episcopal Church
National Capital Area Council 082
3 Chevy Chase Cir
Chevy Chase, MD 20815


All Saints Episcopal Church
National Capital Area Council 082
P.O. Box 1692
100 Lower Marlboro Rd
Sunderland, MD 20689


All Saints Episcopal Church
National Capital Area Council 082
P.O. Box 40
Sunderland, MD 20689


All Saints Episcopal Church
Ore‐Ida Council 106 ‐ Bsa 106
704 S Latah St
Boise, ID 83705


All Saints Episcopal Church
Pacific Harbors Council, Bsa 612
205 E 96th St
Tacoma, WA 98445


All Saints Episcopal Church
Pathway To Adventure 456
4370 Woodland Ave
Western Springs, IL 60558


All Saints Episcopal Church
Rio Grande Council 775
465 N Reagan St
San Benito, TX 78586


All Saints Episcopal Church
Scotch Plains
Patriots Path Council 358
559 Park Ave
Scotch Plains, Nj 07076


All Saints Episcopal Church
Simon Kenton Council 441
5101 Johnstown Rd
New Albany, OH 43054


All Saints Episcopal Church
Yocona Area Council 748
608 W Jefferson St
Tupelo, MS 38804


All Saints Episcopal Church Kapaa
Aloha Council, Bsa 104
4‐1065 Kuhio Hwy
Kapaa, HI 96746


All Saints Episcopal Church‐Millington
Patriots Path Council 358
15 Basking Ridge Rd
Millington, NJ 07946
All Saints Lutheran Church
Bay‐Lakes Council 635
1072 Honey Creek Rd
Oshkosh, WI 54904


All Saints Lutheran Church
Central Florida Council 083
12601 Balcombe Rd
Orlando, FL 32837


All Saints Lutheran Church
Central Florida Council 083
751 Dunlawton Ave
Port Orange, FL 32127


All Saints Lutheran Church
Coastal Carolina Council 550
2107 N Hwy 17
Mount Pleasant, SC 29466


All Saints Lutheran Church
Denver Area Council 061
15625 E Iliff Ave
Aurora, CO 80013


All Saints Lutheran Church
Grand Canyon Council 010
15649 N 7th St
Phoenix, AZ 85022


All Saints Lutheran Church
Longhorn Council 662
4325 SW Green Oaks Blvd
Arlington, TX 76017


All Saints Lutheran Church
Northeast Georgia Council 101
722 Rockbridge Rd
Lilburn, GA 30047
All Saints Lutheran Church
Northern Star Council 250
15915 Excelsior Blvd
Minnetonka, MN 55345


All Saints Lutheran Church
Northern Star Council 250
8100 Belden Blvd
Cottage Grove, MN 55016


All Saints Lutheran Church
Pathway To Adventure 456
630 S Quentin Rd
Palatine, IL 60067


All Saints Luthern Church
Denver Area Council 061
15625 E Iliff Ave
Aurora, CO 80013


All Saints Parish
Cascade Pacific Council 492
3847 NE Glisan St
Portland, OR 97232


All Saints Roman Catholic Church
Greater Niagara Frontier Council 380
127 Chadduck Ave
Buffalo, NY 14207


All Saints School ‐ St Stephen S Church
Three Rivers Council 578
P.O. Box 7188
Beaumont, TX 77726


All Seasons Party   Tent Rental
5885 Transit Rd
East Amherst, NY 14051


All Shepherds Lutheran Church
Simon Kenton Council 441
6580 Columbus Pike
Lewis Center, OH 43035


All Shores Wesleyan Church
President Gerald R Ford 781
15550 Cleveland St
Spring Lake, MI 49456


All Soul S Episcopal Church
San Diego Imperial Council 049
1475 Catalina Blvd
San Diego, CA 92107


All Souls Catholic Church
Denver Area Council 061
4950 S Logan St
Englewood, CO 80113


All Souls Community Church
Hudson Valley Council 374
81 Washington Ave
Suffern, NY 10901


All Souls Episcopal Church
Last Frontier Council 480
6400 N Pennsylvania Ave
Nichols Hills, OK 73116


All Souls Episcopal Church
National Capital Area Council 082
2300 Cathedral Ave Nw
Washington, DC 20008


All Souls Episcopal Church
San Diego Imperial Council 049
1475 Catalina Blvd
San Diego, CA 92107


All Souls Holy Name Society
Greater St Louis Area Council 312
9550 Tennyson Ave
Saint Louis, MO 63114
All Souls Interdenominational Church
Quapaw Area Council 018
4607 Walkers Corner Rd
Scott, AR 72142


All Sports
297 Route 31 S
Washington, NJ 07882


All Star Entertainment Inc
4584 Blakedale Cir
Roswell, GA 30075


All Star Premium Beef
Yucca Council 573
P.O. Box 491
100 Sul Ross Ave
Sierra Blanca, TX 79851


All Student Are Prepared
Pine Burr Area Council 304
9899 Hwy 98
New Augusta, MS 39462


All Terrain Transmission
1829 7th St
Las Vegas, NM 87701


All Tires
97951 Overseas Hwy
P.O. Box 370888
Key Largo, FL 33037


All Veterans Memorial Assoc
Illowa Council 133
1022 E 39th St
Davenport, IA 52807


All Villages Presbyterian Church
Gulf Stream Council 085
1550 SW Heatherwood Blvd
Port Saint Lucie, FL 34986


All Ways Advertising
1442 Broad St
Bloomfield, NJ 07003


Allan Bowman
Address Redacted


Allan Lane
Address Redacted


Allan Morgan
Address Redacted


Allardt Presbyterian Church
Great Smoky Mountain Council 557
1715 Pennsylvania St
Allardt, TN 38504


Allean Huber
Address Redacted


Allegan Branch ‐ Kalamazoo Stake
President Gerald R Ford 781
687 Linn St
Allegan, MI 49010


Allegheny Highlands
P.O. Box 261
Falconer, NY 14733‐0261


Allegheny Highlands Cncl 382
50 Hough Hill Rd
P.O. Box 0261
Falconer, NY 14733‐0261


Allegheny Highlands Repeater Assoc
Chief Cornplanter Council, Bsa 538
218 Pennsylvania Ave W
Warren, PA 16365


Allegheny Lutheran Church
Hawk Mountain Council 528
1327 Alleghenyville Rd
Mohnton, PA 19540


Allegheny Store Fixtures,Inc
dba Allegheny Trico
57 Holley Ave
Bradford, PA 16701


Allegiance
10235 S Jordan Gateway No 500
South Jordan, UT 84095


Allegiance Color Guard
Three Fires Council 127
409 Jackson St
East Dundee, IL 60118


Allegra Marketing
Georgia‐Carolina 093
128 Commercial Blvd
Martinez, GA 30907


Allegro School
Patriots Path Council 358
125 Ridgedale Ave
Cedar Knolls, NJ 07927


Allein Post 3 American Legion
Andrew Jackson Council 303
P.O. Box 1064
Vicksburg, MS 39181


Alleluia Lutheran Church
Grand Canyon Council 010
8444 W Encanto Blvd
Phoenix, AZ 85037
Alleluia Lutheran Church
Three Fires Council 127
4055 Book Rd
Naperville, IL 60564


Allemand Industries Inc
1008 Macarthur Ave
Harvey, LA 70058


Allen A Moran
Address Redacted


Allen Academy
Sam Houston Area Council 576
3201 Boonville Rd
Bryan, TX 77802


Allen Adams
Address Redacted


Allen And Provencher, Inc
dba Captains Quarters
151 E Front St
Traverse City, MI 49684


Allen Boyd Adams
Address Redacted


Allen Brisson‐Smith Photography
408 Penn Ave S 7
Minneapolis, MN 55405


Allen Chapel Ame Church
Blackhawk Area 660
206 S Winnebago
Rockford, IL 61102


Allen Chapel Ame Church
Central Florida Council 083
580 George W Engram Blvd
Daytona Beach, FL 32114
Allen Chapel Ame Church
Southern Shores Fsc 783
804 W N St
Kalamazoo, MI 49007


Allen Cloar
Address Redacted


Allen Construction
Bucktail Council 509
64 Power Rd
Morrisdale, PA 16858


Allen Crawford
Address Redacted


Allen Eagles
Southern Shores Fsc 783
3450 Wooddale Ct
Ann Arbor, MI 48104


Allen Elementary
Buckeye Council 436
1326 Sherrick Rd Se
Canton, OH 44707


Allen Elementary PTO
Simon Kenton Council 441
174 Plyleys Ln
Chillicothe, OH 45601


Allen Endicott
Address Redacted


Allen Graphics Inc
5516 Birch Dr
Edinboro, PA 16412‐1445


Allen Hagan
Address Redacted


Allen High School
Circle Ten Council 571
300 Rivercrest Blvd
Allen, TX 75002


Allen James Darby
Address Redacted


Allen Johnson
Address Redacted


Allen Joseph Lowenstein
Address Redacted


Allen Kirby Jr
Address Redacted


Allen Memorial Baptist Church
Baden‐Powell Council 368
12 Church St
Candor, NY 13743


Allen Memorial Utd Methodist Church
Great Smoky Mountain Council 557
800 Decatur Pike
Athens, TN 37303


Allen Mossman
Address Redacted


Allen O Delke American Legion Post 16
Minsi Trails Council 502
P.O. Box 75
510 Main St
Slatington, PA 18080


Allen Parish School Board
P O Drawer 190
Oberlin, LA 70655


Allen Park Presbyterian Church
Great Lakes Fsc 272
7101 Park Ave
Allen Park, MI 48101


Allen Pond Post 8 American Legion
Pine Tree Council 218
P.O. Box 305
Bethel, ME 04217


Allen Powell
Address Redacted


Allen Press Inc
Accounts Receivable
P.O. Box 621
Lawrence, KS 66044


Allen Ray
Address Redacted


Allen Temple Ame Church
Atlanta Area Council 092
1625 Joseph E Boone Blvd Nw
Atlanta, GA 30314


Allen Temple Ame Church
Greater Tampa Bay Area 089
2101 Lowe St
Tampa, FL 33605


Allen Temple Baptist Church
San Francisco Bay Area Council 028
8501 International Blvd
Oakland, CA 94621


Allen Wimmer
Address Redacted
Allendale Baptist Church
Sam Houston Area Council 576
14535 Allendale Ln
Conroe, TX 77302


Allendale Lions Club
President Gerald R Ford 781
9875 76th Ave
Allendale, MI 49401


Allendale Utd Methodist Church
Greater Tampa Bay Area 089
3803 Haines Rd N
Saint Petersburg, FL 33703


Allenstown Fire Dept
Daniel Webster Council, Bsa 330
1 Ferry St
Allenstown, NH 03275


Allenton Fire Dept
Bay‐Lakes Council 635
P.O. Box 107
Allenton, WI 53002


Allentown Central Catholic High School
Venture Crew 21
301 N 4th St
Allentown, PA 18102


Allentown Presbyterian Church
Monmouth Council, Bsa 347
20 High St
Allentown, NJ 08501


Allentown Utd Methodist Church
Monmouth Council, Bsa 347
23 Church St
Allentown, NJ 08501


Allenwood Parent Teacher Group Inc
Monmouth Council, Bsa 347
3301 Allenwood Lakewood Rd
Allenwood Elementary School
Allenwood, NJ 08720


Allgen Power Services LLC
dba Lighthouse Power Systems
Allied Generators
577 Shoreview Park Rd
Shoreview, MN 55126


Alliance Academy
Dan Beard Council, Bsa 438
1712 Duck Creek Rd
Cincinnati, OH 45207


Alliance Consumer Group
5650 Alliance Gateway Frwy
Ft Worth, TX 76177


Alliance Consumer Group
dba Alliance Sports Group LP
P.O. Box 203246
Dallas, TX 75320‐3246


Alliance Environmental Inc
Crossroads of America 160
5707 Blue Spruce Dr
Indianapolis, IN 46237


Alliance For Audited Media
P.O. Box 74008818
Chicago, IL 60674‐8818


Alliance For Children And Families
c/o Senior Leadership Conf Registrar
11700 W Lake Dr
Milwaukee, WI 53224


Alliance For Litigation Support Inc
P.O. Box 78261
Indianapolis, IN 46278‐0261
Alliance Personnel Services LLC
2611 SW 59Th
Oklahoma City, OK 73119


Alliance Technology Group LLC
7010 Hi Tech Dr
Hanover, MD 21076


Alliance Utd Methodist Church
Longhorn Council 662
7904 Park Vista Blvd
Fort Worth, TX 76137


Alliant International University
10455 Pomerado Rd
San Diego, CA 92131


Allianz Global Corporate     Specialty SE
28 Liberty St, 24th Fl
New York, NY 10005


Allied 100, LLC
100 US Hwy 51 N
Woodruff, WI 54568


Allied 100, LLC
dba Aed Superstore
1800 US Hwy 51 N
Woodruff, WI 54568


Allied Barton Security Services
P.O. Box 534265
Atlanta, GA 30353‐4265


Allied Contract Group, LLC
10612‐D Providence Rd, 707
Charlotte, NC 28277‐0233


Allied Interiors
4830 Lakawana St 121
Dallas, TX 75247


Allied Products Corp
1420 Kansas Ave
Kansas City, MO 64127‐2135


Allied Rentals Inc
dba Allied Party Rentals
5640 Sunnyside Ave, Ste J
Beltsville, MD 20705


Allin Congregational Church, Ucc
The Spirit of Adventure 227
683 High St
Dedham, MA 02026


Allison Barta
Address Redacted


Allison Burgin
Address Redacted


Allison Cancilla
Address Redacted


Allison Chaballa
Address Redacted


Allison Cramer
Address Redacted


Allison Creek Presbyterian Church
Palmetto Council 549
5780 Allison Creek Rd
York, SC 29745


Allison D Hoopes
Address Redacted
Allison Elementary PTA
Capitol Area Council 564
515 Vargas Rd
Austin, TX 78741


Allison Flory
Address Redacted


Allison Jarrett
Address Redacted


Allison Lodden
Address Redacted


Allison M Glasco
Address Redacted


Allison Morris
Address Redacted


Allison Rasmussen
Address Redacted


Allison Tetterton
Address Redacted


Allison V Smith Photography
6026 Goliad Ave
Dallas, TX 75206


Allisonville Parent Teacher Group
Crossroads of America 160
4900 E 79th St
Indianapolis, IN 46250


Allissa Wayman
Address Redacted
Allohak Cncl 618
1340 Juliana St
Parkersburg, WV 26101


Alloway Township Fire Co
Garden State Council 690
17 E Main St
Alloway, NJ 08001


All‐Rite Ac   Refrigeration Services Inc
29960 Overseas Hwy
Big Pine Key, FL 33043


All‐Star Brass Band
Simon Kenton Council 441
25 E Mound St
Canal Winchester, OH 43110


All‐Stars Sports And Fitness LLC
Abraham Lincoln Council 144
629 Hardin Ave
Jacksonville, IL 62650


Allstate Imaging, Inc
21621 Nordhoff St
Chatsworth, CA 91311


Allstate International Assignments Ltd
Chancery House High St
Bridgetown
St Michael, Bb11128
Barbados


Allstate Payment Processing
P.O. Box 650271
Dallas, TX 75265‐0271


Allstream Business Us Inc
1201 Neast Lloyd Blvd, Suite 750
Portland, OR 97232
Allstream Business Us Inc
18110 SE 34th St, Bldg 1, Ste 100
Vancouver, WA 98683


Allstream Business Us Inc
dba Allstream, Dba‐Integra Telecom
Dba‐Electric Lightw
P.O. Box 2966
Milwaukee, WI 53201‐2966


Alltrans Inc
P.O. Box 96
Jackson, WY 83001


Allwood Community Church
Northern New Jersey Council, Bsa 333
100 Chelsea Rd
Clifton, NJ 07012


Ally M Franks
Address Redacted


Ally Warnock
Address Redacted


Allyssa J Sanchez
Address Redacted


Alm
P.O. Box 18114
Newark, NJ 07191‐8114


Alm
P.O. Box 70162
Philadelphia, PA 19176


Alma Biagas
Address Redacted


Alma E Pagels PTA
Connecticut Yankee Council Bsa 072
26 Benham Hill Rd
West Haven, CT 06516


Alma H Butler
Address Redacted


Alma Leticia Redmon
Address Redacted


Alma Lewis
Address Redacted


Alma Mileto
Address Redacted


Alma Peek
Address Redacted


Alma Pitner
Address Redacted


Alma Redmon
Address Redacted


Alma Rod   Gun Club
Gateway Area 624
S1562 County Rd I
Alma, WI 54610


Alma Sigler
Address Redacted


Alma Singletary
Address Redacted


Alma Smith
Address Redacted
Alma Utd Methodist Church
Water and Woods Council 782
501 Gratiot Ave
Alma, MI 48801


Alma Utd Methodist Church
Westark Area Council 016
416 Short St
Alma, AR 72921


Alma Villarreal
Address Redacted


Almaden Hills Utd Methodist Church
Silicon Valley Monterey Bay 055
1200 Blossom Hill Rd
San Jose, CA 95118


Almaden Super Lions Charitable Fndn
Silicon Valley Monterey Bay 055
P.O. Box 18511
San Jose, Ca 95158


Almaden Valley Rotary Club
Silicon Valley Monterey Bay 055
P.O. Box 7001
San Jose, CA 95150


Al‐Medina Education Center
San Francisco Bay Area Council 028
37500 Central Ct
Newark, CA 94560


Almonesson Utd Methodist Church
Garden State Council 690
1680 Almonesson Rd
Deptford, NJ 08096


Almont Volunteer Fire Auxiliaries
Water and Woods Council 782
113 Branch St
Almont, MI 48003


Al‐Mustaoha Assoc
Great Lakes Fsc 272
4862 Greenfield Rd
Dearborn, MI 48126


Aloha
42 Puiwa Rd
Honolulu, HI 96817‐1127


Aloha Church Of God
Cascade Pacific Council 492
18380 SW Kinnaman Rd
Beaverton, OR 97078


Aloha Cncl 104
42 Puiwa Rd
Honolulu, HI 96817‐1127


Alonzo Dunlap
Address Redacted


Alonzo Saunders
Address Redacted


Alonzo Wilson
Address Redacted


Alpen Outdoor Corp
10329 Dorset St
Rancho Cucamonga, CA 91730


Alpfa Corp
801 S Grand Ave, Ste 650
Los Angeles, CA 90017


Alpha Awards
4016 Canton Rd
Marietta, GA 30066
Alpha Design PC
P.O. Box 241
108 Cook Ave
Raton, NM 87740


Alpha Natural Resources
One Alpha Pl
P.O. Box 2345
Abingdon, VA 24212


Alpha Omega
Santa Fe Trail Council 194
404 Downing Rd
Scott City, KS 67871


Alpha Phi Alpha
Denver Area Council 061
7324 E Mineral Pl
Centennial, CO 80112


Alpha Phi Alpha
P.O. Box 50054
Atlanta, GA 30302


Alpha Phi Alpha Fraternity
Kappa Lambda Chapter
P.O. Box 21052
Greenboro, NC 27420


Alpha Phi Alpha Fraternity
Old N State Council 070
2802 Patio Pl
Greensboro, NC 27405


Alpha Phi Alpha Fraternity
Tukabatchee Area Council 005
418 Union St
Selma, AL 36701


Alpha Phi Alpha Fraternity Inc
102nd Anniversary Convention
2313 St Paul St
Baltimore, MD 21218


Alpha Phi Alpha Fraternity Inc
Atlanta Area Council 092
P.O. Box 91393
Atlanta, GA 30364


Alpha Phi Alpha‐Epsilon Tau Lambda
Sam Houston Area Council 576
P.O. Box 2497
Prairie View, TX 77446


Alpha Phi Omega
South Plains Council 694
P.O. Box 4333
Lubbock, TX 79409


Alpha Phi Omega Alpha Alpha Omicron Ch
Heart Of Virginia Council 602
P.O. Box 2923
Farmville, Va 23909


Alpha Phi Omega Fraternity
Longs Peak Council 062
207 Ucb
Umc 448
Boulder, CO 80309


Alpha Phi Omega National Service Fratern
14901 E 42nd St
Independence, MO 64055


Alpha Phi Omega Natl Service Fraternity
East Texas Area Council 585
P.O. Box 6135 Sfasu
Nacogdoches, TX 75962


Alpha Phi Omega‐ Rho Phi
San Diego Imperial Council 049
9500 Gilman Dr
La Jolla, CA 92093


Alpha Phi Omega Xi Zeta Chapter At Rit
Seneca Waterways 397
35 Lomb Memorial Dr
Rochester, NY 14623


Alpha Phi Omega‐Alpha Beta‐Chapter
Juniata Valley Council 497
204 Hub
University Park, PA 16802


Alpha Phi Omega‐Beta Psi Chapter
Greater St Louis Area Council 312
1 University Plz
Alpha Phi Omega c/o Student Government
Cape Girardeau, MO 63701


Alpha Phi Omega‐Las Vegas Alumni Assoc
Las Vegas Area Council 328
5737 Spoon Cir
Las Vegas, Nv 89142


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P.O. Box 799
Gloucester, VA 23061


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216 Business St
Beckley, WV 25801‐5904


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1100 W Blue Springs Ave
Orange City, FL 32763


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201 B W Butler Rd, 154
Mauldin, SC 29662


Alpha Testing
2209 Wisconsin St, Ste 100
Dallas, TX 75229


Alpha Umc Men In Mission
Illowa Council 133
211 N Scandia
P.O. Box 607
Alpha, IL 61413


Alpha Utd Methodist Church
Illowa Council 133
P.O. Box 607
211 N Scandia
Alpha, IL 61413


Alpha Xi Sigma Phi Beta Sigma
Norwela Council 215
3444 Galaxy Ln
Shreveport, LA 71119


Alphagraphics
2561 Waukegan Rd
Bannockburn, IL 60015


Alphagraphics
7801 Mesquite Bend, Ste 106
Irving, TX 75063


Alpharetta Fire Dept
Atlanta Area Council 092
2970 Old Milton Pkwy
Alpharetta, GA 30004


Alpharetta First Utd Methodist Church
Atlanta Area Council 092
69 N Main St
Alpharetta, GA 30009


Alpharetta Police Dept
Atlanta Area Council 092
2565 Old Milton Pkwy
Alpharetta, GA 30009
Alpharetta Presbyterian Church
Atlanta Area Council 092
180 Academy St
Alpharetta, GA 30009


Alphatronics Co
P.O. Box 165063
Irving, TX 75016‐5063


Alphelia Jenkins
Address Redacted


Alpine Church Of Christ
East Texas Area Council 585
610 E Loop 281
Longview, TX 75605


Alpine Community Church
San Diego Imperial Council 049
2225 N Victoria Dr
Alpine, CA 91901


Alpine Fire Safety Systems, Inc
P.O. Box 509
Arroya Hondo, NM 87513


Alpine Historical Society
Great Alaska Council 610
P.O. Box 266
Sutton, AK 99674


Alpine Industries Inc
dba Alpine Range
5482 Shelby Rd
Ft Worth, TX 76140


Alpine Industries Inc
dba Alpine Range
P.O. Box 2162
Mansfield, TX 76063
Alpine Lumber Co
P.O. Box 6263
Broomfield, CO 80021


Alpine Luth Church/Alpine Scouters Assoc
Blackhawk Area 660
5001 Forest View Ave
Rockford, IL 61108


Alpine Lutheran Ch/A C Thompson PTO
Blackhawk Area 660
5001 Forest View Ave
Rockford, IL 61108


Alpine Lutheran Ch/Alpine Scouters Assoc
Blackhawk Area 660
5001 Forest View Ave
Rockford, IL 61108


Alpine Meadows Family Dental
Utah National Parks 591
325 E 100 N
Lehi, UT 84043


Alpine Springs Bottled Water, LLC
Las Vegas Area Council 328
6575 Arville St, Ste A
Las Vegas, NV 89118


Alplaus Fire Dept
Twin Rivers Council 364
P.O. Box 101
Alplaus, NY 12008


Alplaus Utd Methodist Church
Twin Rivers Council 364
Brookside Ave   Riverside Pl
Alplaus, NY 12008


Als Canada Ltd
2103 Dollarton Hwy
North Vancouver, Bc V7H 0A7
Canada


Als Hobby Shop Inc
121 Addison Ave
Elmhurst, IL 60126‐2809


AL‐Schaumburg   Hoffman Estates
Pathway To Adventure 456
P.O. Box 68213
Schaumburg, Il 60168


Alta Douglass
Address Redacted


Alta Johansen
Address Redacted


Alta Lucky
Address Redacted


Alta Vista Presbyterian Church
Blue Ridge Mtns Council 599
701 Broad St
Altavista, VA 24517


Alta Vista Regional Hospital
P.O. Box 846331
Dallas, TX 75284


Altama Presbyterian Church
Coastal Georgia Council 099
4621 Altama Ave
Brunswick, GA 31520


Altamahaw‐Ossipee Fire Dept.
Old N State Council 070
2806 Old Nc 87 Hwy
Elon, NC 27244
Altamonte Chapel Ucc
Central Florida Council 083
825 E Altamonte Dr
Altamonte Springs, FL 32701


Altamonte Springs Police Dept
Central Florida Council 083
175 Newburyport Ave
Altamonte Springs, FL 32701


Alter Image Inc
15 S Aberdeen St
Chicago, IL 60607


Alternatives To Voilence   Atv
24 Deer Run Rd
Cimarron, NM 87714


Alteryx Inc
P.O. Box 101802
Pasadena, CA 91189‐1802


Althea Gee
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P.O. Box 201584
Dallas, TX 75320‐1584


Altman   Altman, LLP
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P.O. Box 7711 P.O. Box 8500
Philadelphia, PA 19178‐7711


Alto Lions Club
President Gerald R Ford 781
P.O. Box 133
Alto, MI 49302


Alto Sign, Inc
c/o Versant Funding LLC
2200 Fletcher Ave 5th Fl
Ft Lee, NJ 07024


Alton Darby PTO
Simon Kenton Council 441
2730 Alton Darby Creek Rd
Hilliard, OH 43026


Alton E Cryer
Address Redacted


Alton Housing Authority
Attn Greg Denton
Greater St Louis Area Council 312
2406 Crawford St
Alton, IL 62002


Alton Housing Authority
Greater St Louis Area Council 312
2406 Crawford St
Alton, IL 62002


Alton Kaul
Address Redacted


Alton Methodist Church
Ozark Trails Council 306
P.O. Box 383
Alton, MO 65606


Alton Police Dept
Greater St Louis Area Council 312
1700 E Broadway
Alton, IL 62002


Alton Police Dept
Rio Grande Council 775
509 S Alton Blvd
Alton, TX 78573


Alton Sch Distr 21St Century Program
Greater St Louis Area Council 312
1043 Tremont St
Alton, Il 62002


Alton Utd Methodist Church
Ozark Trails Council 306
P.O. Box 383
Alton, MO 65606


Altoona Christian Church
Mid Iowa Council 177
3620 NE 72nd St
Altoona, IA 50009


Altoona Fire Dept
Chippewa Valley Council 637
1904 Spooner Ave
Altoona, WI 54720


Altoona Vfw Post 10405
Chippewa Valley Council 637
1419 Lynn Ave
Altoona, WI 54720


Altris Incorporated
2402 Route 66
Delmont, PA 15626


Altus Hospice
5411 Nland Dr Nw
Atlanta, GA 30342


Altus Security Forces Assoc
Last Frontier Council 480
110 N 6th St
Altus Afb, OK 73523
Altus Security Forces Assoc
Last Frontier Council 480
110 N 6th St
Altus, OK 73523


Alum Creek Church Of Christ
Simon Kenton Council 441
6256 S Old State Rd
Lewis Center, OH 43035


Alum Creek Sailing Assoc
Simon Kenton Council 441
3241 Lewis Center Rd
Lewis Center, OH 43035


Alumni Of Camp Buffalo Bill
Greater Wyoming Council 638
870 N Fork Hwy
Cody, WY 82414


Alva First Utd Methodist Church
Methodist Men
Cimarron Council 474
626 College Ave
Alva, Ok 73717


Alva School
Southwest Florida Council 088
17500 Church Ave
Alva, FL 33920


Alvah Moore
Address Redacted


Alvah Scott Elementary School Scc
Aloha Council, Bsa 104
98‐1230 Moanalua Rd
Aiea, HI 96701


Alvanon Inc
145 W 30th St, Ste 1000
New York, NY 10001
Alvarez   Marsal Holdings LLC
dba Alvarez   Marsal Public Sector Svcs
600 Madison Ave, 8th Fl
New York, NY 10022


Alvaro E Vieira Post 5390 Vfw
Narragansett 546
822 Anthony Rd
Portsmouth, RI 02871


Alverta B. Gray Schultz School P.T.S.A
Theodore Roosevelt Council 386
70 Greenwich St
Hempstead, NY 11550


Alvin Cruz
Address Redacted


Alvin Cunningham
Address Redacted


Alvin Denmark Sr
Address Redacted


Alvin Lutheran Church
Bay Area Council 574
1800 Fm 1462 Rd
Alvin, TX 77511


Alvin Phan
Address Redacted


Alvin Robinson Sr
Address Redacted


Alvin Sakai
Address Redacted
Alvin Schrader
Address Redacted


Alwin Tibbitts
Address Redacted


Alycia Farrell
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Alyn Butler America Legion Post 169
Golden Empire Council 047
110 Park Dr
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Alyona Michelle Thompson
Address Redacted


Alyse Rork
Address Redacted


Alyssa Carrizales
Address Redacted


Alyssa Florita Kemp
Address Redacted


Alyssa Fry
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Alyssa Gellman
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Alyssa Heaton
Address Redacted


Alyssa J Panzer
Address Redacted
Alyssa Kellagher
Address Redacted


Alyssa Krinsky
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Alyssa M Larsen
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Alyssa M Williams
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Alyssa R Barnes
Address Redacted


Alzenir Moulder
Address Redacted


Alzheimer S Assocation Foundation
1301 Cordone Ave, Ste 180
Reno, NV 89502


Am Board For Occup Health Nurses Inc
201 E Ogden, Ste 114
Hinsdale, IL 60521


Am Legion Post 48 St Stephens Jrotc
Piedmont Council 420
P.O. Box 505
Hickory, NC 28603


Am Packaging Corp
694 Ctr St
Chicopee, MA 01013


Am Pate Elementary ‐ Gifw
Longhorn Council 662
3218 E Belknap St
Fort Worth, TX 76111
Amal Davis
Address Redacted


Amana Christian Fellowship
Evangeline Area 212
310 Milton Rd
Maurice, LA 70555


Amana Community Chest
Hawkeye Area Council 172
P.O. Box 175
South Amana, IA 52334


Amanda Black
Address Redacted


Amanda Brewer
Address Redacted


Amanda Burkett
Address Redacted


Amanda Cumbie
Address Redacted


Amanda Erickson
Address Redacted


Amanda Flannery
Address Redacted


Amanda Haecker
Address Redacted


Amanda Harmon
Address Redacted


Amanda J Lowe
Address Redacted


Amanda K Dieckhaus
Address Redacted


Amanda L Hager
Address Redacted


Amanda Legendre
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Amanda M Weber
Address Redacted


Amanda Martinez
Address Redacted


Amanda Mercure
Address Redacted


Amanda N Cathey
Address Redacted


Amanda Owens
Address Redacted


Amanda Pantone
Address Redacted


Amanda Parker Owens
Address Redacted


Amanda Potter
Address Redacted


Amanda Rapson
Address Redacted
Amanda Ruck
Address Redacted


Amanda Rzeszut
Address Redacted


Amanda Utd Methodist Church
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P.O. Box 368
Amanda, OH 43102


Amanda Vikemyr
Address Redacted


Amanda Walker
Address Redacted


Amanda Wisniewski
Address Redacted


Amanda‐Paige Grimes
Address Redacted


Amantha Yacht Sales   Management, LLC
6501 Red Hook Plaza, Ste 201
St Thomas, VI 00802


Amarillo American Legion Hanson Post 54
Golden Spread Council 562
617 SW 7th Ave
Amarillo, TX 79101


Amarillo Downtown Kiwanis
Golden Spread Council 562
P.O. Box 9485
Amarillo, TX 79105


Amarillo First Presbyterian Church
Golden Spread Council 562
1100 S Harrison St
Amarillo, TX 79101


Amarillo Mountain Corp
dba Cimarron Mini Mart
31023 US Hwy 64
Cimarron, NM 87714


Amarillo Mountain Corp
dba Cimarron Mini Mart
320 S Polk St, Ste 100
Amarillo, TX 79101


Amarillo Police Dept
Golden Spread Council 562
200 SE 3rd Ave
Amarillo, TX 79101


Amarillo Wesley Community Center
Golden Spread Council 562
1615 S Roberts St
Amarillo, TX 79102


Amateur Geologist, Inc
P.O. Box 1076
Lone Pine, CA 93545


Amazing Grace Lutheran Church
Alamo Area Council 583
12525 Fm 1957
San Antonio, TX 78253


Amazing Grace Lutheran Church
Alamo Area Council 583
12525 Potranco Rd
San Antonio, TX 78253


Amazing Grace Lutheran Church
Great Alaska Council 610
10955 Elmore Rd
Anchorage, AK 99516
Amazing Grace Lutheran Church
Great Lakes Fsc 272
29860 Dequindre Rd
Warren, MI 48092


Amazon Web Services
410 Terry Ave N
Seattle, WA 98109‐5210


Amazon Web Services Inc
P.O. Box 84023
Seattle, WA 98124‐8423


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410 Terry Ave N
Seattle, WA 98109‐5210


Amazon.Com Services Inc
P.O. Box 035184
Seattle, WA 98124‐5184


Ambassador Bible Class‐1St Presb Church
Pikes Peak Council 060
219 E Bijou St
Colorado Springs, CO 80903


Ambassador Services
P.O. Box 269
Gastonia, NC 28053‐0269


Ambassador Speakers Bureau
P.O. Box 50358
Nashville, TN 37205


Amber Ackerman
Address Redacted


Amber Alejos
Address Redacted
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Amber Brown
Address Redacted


Amber Gruenloh
Address Redacted


Amber L Archuleta
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Amber L Hullum
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Amber L Ogaz
Address Redacted


Amber L Pendleton
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Amber Nasekos
Address Redacted


Amber Raelynn Jones
Address Redacted


Amber Sizer
Address Redacted


Amber Talamantez
Address Redacted


Amber Toppah
Address Redacted


Amber Withers
Address Redacted


Ambient It Solutions
Oregon Trail Council 697
900 S 32nd St
Springfield, OR 97478


Ambius Inc
P.O. Box 95409
Palatine, IL 60095‐0409


Amboy Friends Church
Sagamore Council 162
110 E Pennsylvania St
Amboy, IN 46911


Ambral Mccoy
Address Redacted


Ame Zion Church
P.O. Box 19946
Charlotte, NC 28219‐4946


Amelia County Veterans Center
Heart of Virginia Council 602
P.O. Box 407
Amelia Court House, VA 23002


Amelia Ferguson
Address Redacted


Amelia Krapf
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Amelia Moreno
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Amelia R Cashel‐Cordo
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Amelia Utd Methodist Church
Dan Beard Council, Bsa 438
19 E Main St
Amelia, OH 45102


Amenia Fish   Game
Attn Mr Anthony Robert
Hudson Valley Council 374
P.O. Box 262
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Amer Assoc Of State Hwy Transp Officials
444 N Capital St Nw, Ste 249
Washington, DC 20001


Amer Assoc Of State Hwy Transp Officials
P.O. Box 615051
Washington, DC 20061‐5051


Amer Inst Of Certified Public Accountant
P.O. Box 52403
Durham, NC 27717


Amer Red Cross Of Greater Grand Rapids
1050 Fuller Ave Ne
Grand Rapids, MI 49503


Amer Sports
P.O. Box 3141
Carol Stream, IL 60132‐3141


Amer Sports Salomon Usa
2030 Lincoln Ave
Ogden, UT 84401


Amer Sports Winter   Outdoor Co
P.O. Box 3141
Carol Stream, IL 60132‐3141


Ameri Corps Public Allies
Dan Beard Council, Bsa 438
2030 Fairfax Ave
Cincinnati, OH 45207


Ameriben
Ore‐Ida Council 106 ‐ Bsa 106
2888 W Excursion Ln
Meridian, ID 83642


America Legion Post 373
Mason Dixon Council 221
254 S Carlisle St
Greencastle, PA 17225


America Legion Post 44
Denver Area Council 061
P.O. Box 772797
1605 Lincoln Ave
Steamboat Springs, CO 80477


America Legion Post 572
Lake Erie Council 440
6483 State Rd
Cleveland, OH 44134


America S 911 Foundation Inc
National Capital Area Council 082
13630 Barnhouse Pl
Leesburg, VA 20176


America S Charities
Attn Finance Dept
14150 Newbrook Dr, Ste 110
Chantilly, VA 20151


America S Little Leaders Junior Academy
North Florida Council 087
1527 Gandy St
Jacksonville, FL 32208


American   Efird Us Holdings Inc
P.O. Box 741988
Atlanta, GA 30374


American Academy Of Pediatrics
37925 Eagle Way
Chicago, IL 60678‐1379


American Airlines
P.O. Box 70536
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Chicago, IL 60673


American Airlines Admirals Club
P.O. Box 619616 MD 5307
Dallas, TX 75261‐9616


American Alarm Systems Inc
P.O. Box 10520
Santa Ana, CA 92711‐0520


American Alliance For Health Physical
Education Recreation and Dance
1900 Assoc Dr
Reston, VA 20191‐1598


American Alliance Of Museums
P.O. Box 741970
Atlanta, GA 30374‐1970


American Asso. For State     Local History
2021 21st Ave S, Ste 320
Nashville, TN 37212


American Assoc
Far E Council 803
15 Scotts Rd
03‐02 Thong Teck Building
Singapore


American Assoc For State     Local History
1717 Church St
Nashville, TN 37203
American Assoc Of Community Colleges
One Dupont Cir Nw, Ste 410
Washington, DC 20036


American Assoc Of Museums
Dept 4002
Washington, DC 20042‐4002


American Assoc Of Notaries
P.O. Box 630601
Houston, TX 77263‐9956


American Audio Visual Inc
9484 American Eagle Way
Orlando, FL 32837


American Axle   Mfg Inc
Great Lakes Fsc 272
1 Dauch Dr
Detroit, MI 48211


American Baptist Church Of The Valley
Mt Diablo‐Silverado Council 023
19001 San Ramon Valley Blvd
San Ramon, CA 94583


American Baptist Community Church
Five Rivers Council, Inc 375
P.O. Box 175
Big Flats, NY 14814


American Baptist East
Buffalo Trace 156
6300 Washington Ave
Evansville, IN 47715


American Bar Assoc
P.O. Box 4745
Carol Stream, IL 60197‐4745
American Basics Childcare
Pine Tree Council 218
2254 W River Rd
Sidney, ME 04330


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Athens, TN 37303


American Bedding Mfg, Inc
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Athens, TN 37371‐1048


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1825 Monteray Ln, Ste 112
Carrollton, TX 75006


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Gilbert, AZ 85295‐9137


American Camp Assoc
5000 State Rd 67 N
Martinsville, IN 46151‐7902


American Campers, Inc
140 American Campers Rd
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Bradley, WV 25818


American Cancer Society
P.O. Box 22718
Oklahoma City, OK 73123‐1718


American Cancer Society
Route 1 Box 66
Springer, NM 87747


American Cancer Society Inc
1100 Ireland Way, Ste 201
Birmingham, AL 35205


American Cancer Society Inc
250 Williams St
Atlanta, GA 30303


American Canyon Fire Dept
Mt Diablo‐Silverado Council 023
911 Donaldson Way E
American Canyon, CA 94503


American Canyon Lions Club
Mt Diablo‐Silverado Council 023
101 W American Cyn Rd PMB 181, Ste 508
American Canyon, CA 94503


American Casting    Manufacturing Corp
51 Commerce St
Plainview, NY 11803


American Civil Liberties Union
P.O. Box 96265
Washington, DC 20090‐6265


American Club
419 Highland Dr
Kohler, WI 53044


American Collegiate
4440 S Hagadorn
Okemos, MI 48864‐2414


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P.O. Box 198344
Atlanta, GA 30384‐8344
American Community School Of Abu Dhabi
Transatlantic Council, Bsa 802
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Carol Demasters
7 Avenida Vista Grande, Ste B7 467
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c/o Cit Group Commercial Services
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1260 Winchester Pkwy SE, Ste 205
Smyrna, GA 30080‐6546


American Cycle    Fitness
203 N Perry St
Pontiac, MI 48342


American Diabetes Assoc
222 S Church St, Ste 336‐M
Charlotte, NC 28202


American Educational Products LLC
P.O. Box 2121
Ft Collins, CO 80522‐2121


American Electric Equipment Inc
P.O. Box 710
Beckley, WV 25802


American Electric Equipment, Inc
P.O. Box 710
Beckley, WV 24801


American Electric Equipment, Inc
P.O. Box 710
Beckley, WV 25801


American Electric Power
Appalachian Power Ciac
P.O. Box 11923
Charleston, WV 25339‐9928


American Electric Power
P.O. Box 24404
Canton, OH 44701‐4424


American Embassy School
Far E Council 803
Boy Scouts of America, Troop 60
Chandragupta Marg,
India


American Embassy School New Delhi
Far E Council 803
Dept. of State
New Delhi,
India


American Engineers   Contractors
224 Datura St, Ste 1012
West Palm Beach, FL 33401


American Engineers   Contractors
Attn Shiv Shahi, Owner
224 Datura St, Ste 1012
West Palm Beach, FL 33401


American Evaluation Assoc
2025 M St Nw, Ste 800
Washington, DC 20036


American Evangelical Lutheran Church
Grand Canyon Council 010
1085 Scott Dr
Prescott, AZ 86301
American Express Corp
Cashier Operations
P.O. Box 31556
Salt Lake City, UT 84119


American Facility Services Inc
1325 Union Hill Industrial Court, Ste A
Alpharetta, GA 30004‐2005


American Factors Corp
P.O. Box 677517
Dallas, TX 75267‐7517


American Flags Express Inc
12577 W Custer Ave
Butler, WI 53007


American Fly Outfitters
12 Netherwood Rd
Windham, NH 03087


American Food   Vending
124 Metropolitan Park Dr
Syracuse, NY 13088


American Forms Manufacturing Inc
170 Tarheel Dr
Gastonia, NC 28056


American Furniture Rentals
720 Hylton Rd
Pennsauken, NJ 08110


American General Financial Services
P.O. Box 28261
Santa Fe, NM 87592


American General Life Ins Co
P.O. Box 0807
Carol Stream, IL 60132‐0807
American Gi Forum At Mile Hi
Denver Area Council 061
1717 Federal Blvd
Denver, CO 80204


American Glass Co
3419 W Bethany Home
Phoenix, AZ 85017


American Gold Star Mothers Inc
2128 Leroy Pl Nw
Washington, DC 20008


American Gothic Trail
Mid Iowa Council 177
601 Church St
Eldon, IA 52554


American Hanger And Fixtures
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687 Lehigh Ave
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American Heart Assoc
P.O. Box 15120
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American Heritage Academy
Las Vegas Area Council 328
2100 Olympic Ave
Henderson, NV 89014


American Heritage Girls Inc
175 Tri County Pkwy, Ste 100
Cincinnati, OH 45246


American Heritage Of South Jordan
Great Salt Lake Council 590
11100 S Redwood Rd
South Jordan, UT 84095
American Heritage School
South Florida Council 084
12200 W Broward Blvd
Plantation, FL 33325


American Heritage Veterinary Clinic
Northeast Georgia Council 101
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1899 Central Ave
Lake Station, IN 46405


American Legion Post 100
Utah National Parks 591
730 N 200 W
Hurricane, UT 84737


American Legion Post 100 ‐ Syracuse
Cornhusker Council 324
527 5th St
Syracuse, NE 68446


American Legion Post 1009
Westchester Putnam 388
235 Veterans Rd
Yorktown Heights, NY 10598


American Legion Post 100‐Veterans Hall
Sequoia Council 027
411 W D St
Lemoore, CA 93245


American Legion Post 101
Black Warrior Council 006
P.O. Box 992
Carbon Hill, AL 35549


American Legion Post 101
Buford Rockafellow
Pacific Harbors Council, Bsa 612
P.O. Box 160
Winlock, Wa 98596


American Legion Post 101
Central Minnesota 296
265 County Rd 173 Se
Melrose, MN 56352


American Legion Post 101
Mt Diablo‐Silverado Council 023
1150 1st St
Benicia, CA 94510


American Legion Post 101
Ore‐Ida Council 106 ‐ Bsa 106
715 S 3rd W
Mountain Home, ID 83647


American Legion Post 101
Pathway To Adventure 456
108 E Commercial Ave
Lowell, IN 46356


American Legion Post 102
Crossroads of America 160
339 W Main St
P.O. Box 102
Morristown, IN 46161


American Legion Post 103
Hoosier Trails Council 145 145
P.O. Box 821
Mooresville, IN 46158


American Legion Post 103
Quivira Council, Bsa 198
712 E Grant Ave
Greensburg, KS 67054


American Legion Post 1038
Westchester Putnam 388
27 Legion Dr
Valhalla, NY 10595


American Legion Post 104
Crossroads of America 160
2690 Fort Harrison Rd
Terre Haute, IN 47804


American Legion Post 104
Quivira Council, Bsa 198
201 E Main St
Harper, KS 67058


American Legion Post 104 Aloha
Cascade Pacific Council 492
20325 SW Alexander St
Aloha, OR 97003


American Legion Post 105
Flint River Council 095
P.O. Box 441
Fayetteville, GA 30214
American Legion Post 105
Katahdin Area Council 216
82 N St
Newport, ME 04953


American Legion Post 105
Pacific Skyline Council 031
651 El Camino Real
Redwood City, CA 94063


American Legion Post 105
Twin Valley Council Bsa 283
P.O. Box 152
Lyle, MN 55953


American Legion Post 1054
Westchester Putnam 388
P.O. Box 239
Briarcliff Manor, NY 10510


American Legion Post 106
Hoosier Trails Council 145 145
109 S Commercial St
Worthington, IN 47471


American Legion Post 106 ‐ Krause/Kraft
c/o Louis Rynish
Bay‐Lakes Council 635
N9423 State Hwy 55
Seymour, WI 54165


American Legion Post 107
North Florida Council 087
10726 142nd St
Mc Alpin, FL 32062


American Legion Post 108
Allegheny Highlands Council 382
22 Pine St
Bradford, PA 16701
American Legion Post 108
Daniel Webster Council, Bsa 330
25 Raymond Rd
P.O. Box 17
Chester, NH 03036


American Legion Post 108
Golden Empire Council 047
P.O. Box 964
Sutter Creek, CA 95685


American Legion Post 108
Great Lakes Fsc 272
130 E Drahner Rd
Oxford, MI 48371


American Legion Post 108
National Capital Area Council 082
3608 Legion Dr
Cheverly, MD 20785


American Legion Post 109
Baltimore Area Council 220
1610 Sulphur Spring Rd
Baltimore, MD 21227


American Legion Post 109
Catalina Council 011
15921 S Houghton Rd
Vail, AZ 85641


American Legion Post 109
Daniel Webster Council, Bsa 330
33 Cobbetts Pond Rd
Windham, NH 03087


American Legion Post 109
Hawkeye Area Council 172
P.O. Box 592
Lisbon, IA 52253
American Legion Post 1096
Greater St Louis Area Council 312
P.O. Box 104
Campbell Hill, IL 62916


American Legion Post 11
Northern Lights Council 429
201 E 2nd Ave S.
Cavalier, ND 58220


American Legion Post 11
Twin Valley Council Bsa 283
P.O. Box 3246
222 E Walnut St
Mankato, MN 56002


American Legion Post 11 Madera
Sequoia Council 027
17408 Rd 26
Madera, CA 93638


American Legion Post 110
Gateway Area 624
110 Welch Prairie Rd
New Lisbon, WI 53950


American Legion Post 110
Southwest Florida Council 088
3152 Harbor Blvd
Port Charlotte, FL 33952


American Legion Post 111
Connecticut Rivers Council, Bsa 066
P.O. Box 111
Woodstock, CT 06281


American Legion Post 111
Redwood Empire Council 041
P.O. Box 281
Healdsburg, CA 95448


American Legion Post 111
Utah National Parks 591
7363 N Ute Dr
Eagle Mountain, UT 84005


American Legion Post 11‐11
Denver Area Council 061
9959 Wadsworth Blvd
Broomfield, CO 80021


American Legion Post 112
Central Minnesota 296
525 Railroad Dr Nw
Elk River, MN 55330


American Legion Post 112
Northwest Georgia Council 100
1118 N Glenwood Ave
Dalton, GA 30721


American Legion Post 112
Northwest Georgia Council 100
P.O. Box 932
Dalton, GA 30722


American Legion Post 112
Westchester Putnam 388
P.O. Box 147
Hawthorne, NY 10532


American Legion Post 112 ‐ Abington
Mayflower Council 251
1027 Washington St
Abington, MA 02351


American Legion Post 113
Crossroads of America 160
1020 Hendricks Dr
Lebanon, IN 46052


American Legion Post 113
Laurel Highlands Council 527
3721 Business 220
Bedford, PA 15522


American Legion Post 113
Ore‐Ida Council 106 ‐ Bsa 106
22 W Broadway Ave
Meridian, ID 83642


American Legion Post 113
Washington Crossing Council 777
510 Harrison St
Frenchtown, NJ 08825


American Legion Post 114
Connecticut Rivers Council, Bsa 066
P.O. Box 684
Groton, CT 06340


American Legion Post 115
Northern Lights Council 429
11018 159th Ave
Hettinger, ND 58639


American Legion Post 115
Twin Valley Council Bsa 283
General Delivery
Truman, MN 56088


American Legion Post 116
Occoneechee 421
6400 Johnson Pond Rd
Fuquay Varina, NC 27526


American Legion Post 117
Central Florida Council 083
189 Veterans Dr Se
Palm Bay, FL 32909


American Legion Post 117
Crossroads of America 160
611 W State St
Pendleton, IN 46064
American Legion Post 117
Prairielands 117
P.O. Box 495
Cerro Gordo, IL 61818


American Legion Post 1176
Mississippi Valley Council 141 141
P.O. Box 51
Biggsville, IL 61418


American Legion Post 118
Crossroads of America 160
846 S State Rd 39
Danville, IN 46122


American Legion Post 118
Ozark Trails Council 306
Hwy 112 S
Cassville, MO 65625


American Legion Post 1187
Denver Area Council 061
P.O. Box 982
Castle Rock, CO 80104


American Legion Post 1188
Rainbow Council 702
P.O. Box 278
Minooka, IL 60447


American Legion Post 119
Great Smoky Mountain Council 557
7120 Rutledge Pike
Rutledge, TN 37861


American Legion Post 119
Longs Peak Council 062
850 N Saint Vrain Ave
Estes Park, CO 80517


American Legion Post 119
Patriots Path Council 358
137 New Market Rd
Dunellen, NJ 08812


American Legion Post 12
Blackhawk Area 660
1120 W 1st St
Dixon, IL 61021


American Legion Post 12
First United Methodist Church
Blackhawk Area 660
1120 W 1St St
202 S Peoria Ave
Dixon, IL 61021


American Legion Post 12
Grand Canyon Council 010
176 N Frontier St
Wickenburg, AZ 85390


American Legion Post 12 ‐ Elyria
Lake Erie Council 440
393 Ohio St
Elyria, OH 44035


American Legion Post 120
Central Florida Council 083
355 Walker St
Holly Hill, FL 32117


American Legion Post 120
Great Smoky Mountain Council 557
P.O. Box 582
Loudon, TN 37774


American Legion Post 120 Hesson‐Snider
Baltimore Area Council 220
12 Broad St
Taneytown, MD 21787


American Legion Post 121
Northern Star Council 250
701 N Main St
River Falls, WI 54022


American Legion Post 122
Crossroads of America 160
4 W High St
Liberty, IN 47353


American Legion Post 123
Black Warrior Council 006
301 44th Ct Ne
Tuscaloosa, AL 35404


American Legion Post 1231
Blackhawk Area 660
1101 W Algonquin Rd
Lake In the Hills, IL 60156


American Legion Post 1239
Greater St Louis Area Council 312
601 S Clinton St
Aviston, IL 62216


American Legion Post 124
Western Massachusetts Council 234
P.O. Box 236
Westfield, MA 01086


American Legion Post 124 Beaverton
Cascade Pacific Council 492
5550 SW Hall Blvd
Beaverton, OR 97005


American Legion Post 1246
Theodore Roosevelt Council 386
3078 Lawson Blvd
Oceanside, NY 11572


American Legion‐ Post 1248 Arkport
Five Rivers Council, Inc 375
P.O. Box 475
Arkport, NY 14807


American Legion Post 125
Los Padres Council 053
100 E Locust Ave
Lompoc, CA 93436


American Legion Post 1250
Hudson Valley Council 374
Cohen Cir
Florida, NY 10921


American Legion Post 125‐David City
Cornhusker Council 324
P.O. Box 125
David City, NE 68632


American Legion Post 126
Gulf Stream Council 085
2555 NE Savannah Rd
Jensen Beach, FL 34957


American Legion Post 126
National Capital Area Council 082
1725 Berry Ln
Forestville, MD 20747


American Legion Post 126
Tidewater Council 596
P.O. Box 351
Hertford, NC 27944


American Legion Post 127
Middle Tennessee Council 560
P.O. Box 31
Hohenwald, TN 38462


American Legion Post 127
Mount Baker Council, Bsa 606
21920 State Route 9 Se
Woodinville, WA 98072
American Legion Post 1271
Three Fires Council 127
P.O. Box 68
Sugar Grove, IL 60554


American Legion Post 128
Baltimore Area Council 220
44 N Parke St
Aberdeen, MD 21001


American Legion Post 128
Connecticut Rivers Council, Bsa 066
16 York Ave
Niantic, CT 06357


American Legion Post 128
Northern New Jersey Council, Bsa 333
650 American Legion Dr
Teaneck, NJ 07666


American Legion Post 128
Stonewall Jackson Council 763
P.O. Box 424
Ruckersville, VA 22968


American Legion Post 1280
Allegheny Highlands Council 382
228 Maple Ave
P.O. Box 497
Cassadaga, NY 14718


American Legion Post 129
Jersey Shore Council 341
2025 Church Rd
Toms River, NJ 08753


American Legion Post 129 Ogden Valley
Trapper Trails 589
P.O. Box 317
Huntsville, UT 84317
American Legion Post 13
Greater Los Angeles Area 033
131 N Marengo Ave
Pasadena, CA 91101


American Legion Post 13
Green Mountain 592
225 Nside Dr
Bennington, VT 05201


American Legion Post 13
Inland Nwest Council 611
1127 8th Ave
Lewiston, ID 83501


American Legion Post 13
Rocky Mountain Council 063
P.O. Box 1114
Canon City, CO 81215


American Legion Post 130
Baltimore Area Council 220
8666 Silver Lake Dr
Perry Hall, MD 21128


American Legion Post 130
Middle Tennessee Council 560
114 N Main
Waynesboro, TN 38485


American Legion Post 130
National Capital Area Council 082
400 N Oak St
Falls Church, VA 22046


American Legion Post 130
Twin Valley Council Bsa 283
P.O. Box 71
411 1st St
Jackson, MN 56143


American Legion Post 1302
Red Oaks Mills Firehouse
Hudson Valley Council 374
213 Vassar Rd
Poughkeepsie, Ny 12603


American Legion Post 131
Heart of America Council 307
733 E Young Ave
Warrensburg, MO 64093


American Legion Post 131
Minsi Trails Council 502
122 Greenwich St
Belvidere, NJ 07823


American Legion Post 131
Northern Star Council 250
220 1st St W
Maple Lake, MN 55358


American Legion Post 132
Mayflower Council 251
88 Maple St
Marlborough, MA 01752


American Legion Post 132
Orange County Council 039
143 S Lemon St
Orange, CA 92866


American Legion Post 132
Pine Tree Council 218
P.O. Box 132
Richmond, ME 04357


American Legion Post 133
Greater St Louis Area Council 312
98 Grand Ave
Perryville, MO 63775


American Legion Post 133
Orange County Council 039
16791 Tin Mountain Cir
Fountain Valley, CA 92708


American Legion Post 1339
Leatherstocking 400
Main St
Gilbertsville, NY 13776


American Legion Post 135
Pine Tree Council 218
P.O. Box 392
Island Rd
Sabattus, ME 04280


American Legion Post 135
Winnebago Council, Bsa 173
113 S Park Pl
Cresco, IA 52136


American Legion Post 136
Great Smoky Mountain Council 557
146 John J Smith Rd
Oneida, TN 37841


American Legion Post 136
The Spirit of Adventure 227
5 Bay St
Wilmington, MA 01887


American Legion Post 137
Longs Peak Council 062
105 Wridge Ave
Haxtun, CO 80731


American Legion Post 137
North Florida Council 087
5443 San Juan Ave
Jacksonville, FL 32210


American Legion Post 137
Northeast Iowa Council 178
Dyersville, IA 52040
American Legion Post 137
Westark Area Council 016
P.O. Box 481
Huntsville, AR 72740


American Legion Post 1376
Leatherstocking 400
8616 Clinton St
New Hartford, NY 13413


American Legion Post 138
Allegheny Highlands Council 382
P.O. Box 402
Smethport, PA 16749


American Legion Post 138
Attn Timothy M. Burton
Buckskin 617
245 E Tom T. Hall Blvd
Olive Hill, KY 41164


American Legion Post 139
Crossroads of America 160
1631 N Section St
Sullivan, IN 47882


American Legion Post 14
Greater St Louis Area Council 312
433 Fair Ave
Flora, IL 62839


American Legion Post 14
Green Mountain 592
100 Armory Ln
Vergennes, VT 05491


American Legion Post 14
Las Vegas Area Council 328
225 E Oak St
Kingman, AZ 86401
American Legion Post 14 Vancouver
Cascade Pacific Council 492
4607 NE St James Rd
Vancouver, WA 98663


American Legion Post 140
Twin Valley Council Bsa 283
P.O. Box 592
Grand Meadow, MN 55936


American Legion Post 141
Indian Nations Council 488
P.O. Box 336
Claremore, OK 74018


American Legion Post 142
Jayhawk Area Council 197
2978 Ferguson Rd
Main Post Office
Perry, KS 66073


American Legion Post 1420
Hudson Valley Council 374
P.O. Box 7401
Newburgh, NY 12550


American Legion Post 143
Black Swamp Area Council 449
422 S Fayette St
Fayette, OH 43521


American Legion Post 143
Mid‐America Council 326
166 S 2nd St
P.O. Box 324
Springfield, NE 68059


American Legion Post 143
Northern Star Council 250
807 Pine St
P.O. Box 462
Saint Croix Falls, WI 54024
American Legion Post 1430
Seneca Waterways 397
4141 Witherden Rd
Marion, NY 14505


American Legion Post 1434
Allegheny Highlands Council 382
3727 Route 16
P.O. Box 121
Hinsdale, NY 14743


American Legion Post 144
Heart of Virginia Council 602
P.O. Box 2
1717 Old Hanover Rd
Highland Springs, VA 23075


American Legion Post 144
Theodore Roosevelt Council 386
134 I U Willets Rd
Albertson, NY 11507


American Legion Post 145
Northeast Illinois 129
P.O. Box 145
Highland Park, IL 60035


American Legion Post 146
San Diego Imperial Council 049
1617 Mission Ave
Oceanside, CA 92058


American Legion Post 146
Westark Area Council 016
P.O. Box 358
Prairie Grove, AR 72753


American Legion Post 146 ‐ Menominee
Bay‐Lakes Council 635
818 1st St
Menominee, MI 49858
American Legion Post 1460
Allegheny Highlands Council 382
P.O. Box 274
9688 Main St
Machias, NY 14101


American Legion Post 147
Greater Tampa Bay Area 089
17383 Gunn Hwy
Odessa, FL 33556


American Legion Post 149
Buckskin 617
General Delivery
Fayetteville, WV 25840


American Legion Post 149
Hoosier Trails Council 145 145
P.O. Box 115
West Baden Springs, IN 47469


American Legion Post 149
Las Vegas Area Council 328
P.O. Box 70184
Las Vegas, NV 89170


American Legion Post 1493
Twin Rivers Council 364
31 Voorheesville Ave
Voorheesville, NY 12186


American Legion Post 15
Great Alaska Council 610
1500 S Mystic Cir
Palmer, AK 99645


American Legion Post 15
Mason Dixon Council 221
335 S Potomac St
Waynesboro, PA 17268
American Legion Post 15
Mason Dixon Council 221
801 Park St
Waynesboro, PA 17268


American Legion Post 15
Pee Dee Area Council 552
P.O. Box 1193
34 S Artillery Dr
Sumter, SC 29151


American Legion Post 15
Winnebago Council, Bsa 173
P.O. Box 82
West Union, IA 52175


American Legion Post 15
Yocona Area Council 748
P.O. Box 813
Iuka, MS 38852


American Legion Post 150
Greater St Louis Area Council 312
P.O. Box 389
2 Park Dr
Sainte Genevieve, MO 63670


American Legion Post 150
National Capital Area Council 082
P.O. Box 111
Sterling, VA 20167


American Legion Post 150
Pine Tree Council 218
41 Elm St
Mechanic Falls, ME 04256


American Legion Post 152
Greater Tampa Bay Area 089
11211 Sheldon Rd
Tampa, FL 33626
American Legion Post 152
Mississippi Valley Council 141 141
1302 W Washington St
Pittsfield, IL 62363


American Legion Post 1520
Twin Rivers Council 364
4 Everett Rd Ext
Albany, NY 12205


American Legion Post 153
Northern New Jersey Council, Bsa 333
P.O. Box 153
118 Ridge Ave
Park Ridge, NJ 07656


American Legion Post 153
Samoset Council, Bsa 627
4326 Koppen Rd
Pittsville, WI 54466


American Legion Post 154
Baden‐Powell Council 368
14515 State Route 3001
Montrose, PA 18801


American Legion Post 154
East Carolina Council 426
663 Old New Bern Rd
Trenton, NC 28585


American Legion Post 154
Patriots Path Council 358
P.O. Box 267
28 Main St
Butler, NJ 07405


American Legion Post 155
Crossroads of America 160
852 W Main St
Carmel, IN 46032
American Legion Post 155
Patriots Path Council 358
13 Legion Pl
Whippany, NJ 07981


American Legion Post 155
Suffolk County Council Inc 404
115 Church St
Lake Ronkonkoma, NY 11779


American Legion Post 156
Baltimore Area Council 220
P.O. Box 2416
Ellicott City, MD 21041


American Legion Post 156
Middle Tennessee Council 560
8011 Concord Rd
Brentwood, TN 37027


American Legion Post 157
Grand Columbia Council 614
31 W Coulee Blvd
Electric City, WA 99123


American Legion Post 157
South Florida Council 084
1791 Mears Pkwy
Margate, FL 33063


American Legion Post 157 ‐ Horicon
Bay‐Lakes Council 635
P.O. Box 22
Horicon, WI 53032


American Legion Post 158 Tigard Oregon
Cascade Pacific Council 492
8635 SW Scoffins St
Tigard, OR 97223


American Legion Post 1593
Allegheny Highlands Council 382
P.O. Box 41
South Dayton, NY 14138


American Legion Post 1596
Baden‐Powell Council 368
760 Welton St
Harpursville, NY 13787


American Legion Post 16
Blue Ridge Mtns Council 599
1301 Greenview Dr
Lynchburg, VA 24502


American Legion Post 16
Mid‐America Council 326
1305 Riverside Blvd
Norfolk, NE 68701


American Legion Post 16
Northeast Georgia Council 101
Hwy 75 S
Cleveland, GA 30528


American Legion Post 16
Robert H Burns
Istrouma Area Council 211
P.O. Box 1137
Covington, La 70434


American Legion Post 160
Atlanta Area Council 092
160 Legion Dr Se
Smyrna, GA 30080


American Legion Post 161
Pony Express Council 311
P.O. Box 303
Wathena, KS 66090


American Legion Post 161
Twin Valley Council Bsa 283
306 W Main St
Le Roy, MN 55951


American Legion Post 162
French Creek Council 532
617 W Main St
Sharpsville, PA 16150


American Legion Post 162
National Capital Area Council 082
8210 Legion Dr
Lorton, VA 22079


American Legion Post 1624
Baden‐Powell Council 368
119 Dean St
Nichols, NY 13812


American Legion Post 163
Jayhawk Area Council 197
310 Veterans Memorial Dr N
S M N   R Post 163
Marysville, KS 66508


American Legion Post 163 Hackett Larson
Mount Baker Council, Bsa 606
P.O. Box 163
Friday Harbor, WA 98250


American Legion Post 1634
Suffolk County Council Inc 404
10 Bruce St
West Babylon, NY 11704


American Legion Post 164
Black Hills Area Council 695 695
P.O. Box 583
Spearfish, SD 57783


American Legion Post 164
Gamehaven 299
P.O. Box 67
Stewartville, MN 55976


American Legion Post 164
Gulf Stream Council 085
2116 Lantana Rd
Lake Worth, FL 33462


American Legion Post 164
Mid‐America Council 326
301 Main St
Bedford, IA 50833


American Legion Post 164
Pacific Harbors Council, Bsa 612
16733 103rd St Se
Yelm, WA 98597


American Legion Post 1640
Greater Niagara Frontier Council 380
10571 Main St
North Collins, NY 14111


American Legion Post 165
Golden Empire Council 047
549 Merchant St
Vacaville, CA 95688


American Legion Post 165
South Florida Council 084
39 NW 64th Ter
Miami, FL 33150


American Legion Post 165
Water and Woods Council 782
5111 Hedgewood Dr
Midland, MI 48640


American Legion Post 166
Glaciers Edge Council 620
201 S Water St E
Ft Atkinson, WI 53538
American Legion Post 167
Cape Fear Council 425
16660 US Hwy 17 N
Hampstead, NC 28443


American Legion Post 168
Northern Star Council 250
2210 3rd St
White Bear Lake, MN 55110


American Legion Post 168
Northern Star Council 250
E651 1270th Ave
Glenwood City, WI 54013


American Legion Post 169
Golden Empire Council 047
514 Darling Way
Roseville, CA 95678


American Legion Post 17
Central Florida Council 083
619 Canal St
New Smyrna Beach, FL 32168


American Legion Post 17
Daniel Webster Council, Bsa 330
Route 3
Groveton, NH 03582


American Legion Post 17
Longs Peak Council 062
P.O. Box 271
Sidney, NE 69162


American Legion Post 170
Hawkeye Area Council 172
P.O. Box 315
Blairstown, IA 52209


American Legion Post 170
Northern New Jersey Council, Bsa 333
33 W Passaic St
Rochelle Park, NJ 07662


American Legion Post 170
Rocky Mountain Council 063
P.O. Box 424
Westcliffe, CO 81252


American Legion Post 171
c/o Tom Aellig
Blackhawk Area 660
287 Midlane Dr
Crystal Lake, IL 60012


American Legion Post 171
Gulf Stream Council 085
1814 N 21st St
Fort Pierce, FL 34950


American Legion Post 171
National Capital Area Council 082
10201 Lewis Dr
Damascus, MD 20872


American Legion Post 171
Water and Woods Council 782
P.O. Box 15
Gladwin, MI 48624


American Legion Post 1711, Inc
Theodore Roosevelt Council 386
3123 N Jerusalem Rd
Levittown, NY 11756


American Legion Post 172
Great Lakes Fsc 272
234 Walnut Blvd
Rochester, MI 48307


American Legion Post 172
Greater Yosemite Council 059
1960 N Tracy Blvd
Tracy, CA 95376


American Legion Post 172
Mid‐America Council 326
1302 S Cleveland St
Mount Ayr, IA 50854


American Legion Post 172
Northern Star Council 250
260 4th Ave Se
Osseo, MN 55369


American Legion Post 173
Glaciers Edge Council 620
292 S Wisconsin St
Whitewater, WI 53190


American Legion Post 173
Tecumseh 439
120 Colton Ave
Bellefontaine, OH 43311


American Legion Post 1738
Suffolk County Council Inc 404
340 Union Blvd
West Islip, NY 11795


American Legion Post 174/Vfw Post 6485
Coronado Area Council 192
P.O. Box 111
Ellsworth, KS 67439


American Legion Post 1749
Theodore Roosevelt Council 386
P.O. Box 559
North Bellmore, NY 11710


American Legion Post 175
Chippewa Valley Council 637
302 N Union St
Loyal, WI 54446
American Legion Post 175
Great Trail 433
3733 Fishcreek Rd
Stow, OH 44224


American Legion Post 175
Heart of Virginia Council 602
8700 Bell Creek Rd
Mechanicsville, VA 23116


American Legion Post 176
National Capital Area Council 082
9500 Wooden Spoke Ct
Burke, VA 22015


American Legion Post 176
National Capital Area Council 082
P.O. Box 689
6520 Amherst Ave
Springfield, VA 22150


American Legion Post 176
Southern Shores Fsc 783
115 N Jackson St
Clinton, MI 49236


American Legion Post 177
c/o Robert Stine
National Capital Area Council 082
3939 Oak St
Fairfax, VA 22030


American Legion Post 1776
Northern Star Council 250
14521 Granada Dr
Apple Valley, MN 55124


American Legion Post 178
Anthony Wayne Area 157
515 W 5th Ave
Garrett, IN 46738
American Legion Post 1788
Longhouse Council 373
P.O. Box 159
La Fargeville, NY 13656


American Legion Post 179
Marin Council 035
P.O. Box 125
San Anselmo, CA 94979


American Legion Post 1799
National Capital Area Council 082
P.O. Box 1799
Haymarket, VA 20168


American Legion Post 18
Mid‐America Council 326
P.O. Box 125
115 N Main St
Hooper, NE 68031


American Legion Post 18
Ohio River Valley Council 619
P.O. Box 235
44 Main St
Cameron, WV 26033


American Legion Post 18 Grace Umc
Water and Woods Council 782
700 Adams St
Bay City, MI 48708


American Legion Post 180
Connecticut Rivers Council, Bsa 066
567 Exeter
P.O. Box 180
Lebanon, CT 06249


American Legion Post 180
National Capital Area Council 082
330 Center St N
Vienna, VA 22180


American Legion Post 180
South Florida Council 084
1280 SW 44th Ter
Fort Lauderdale, FL 33317


American Legion Post 180
Three Harbors Council 636
2860 S Kinnickinnic Ave
Milwaukee, WI 53207


American Legion Post 180 Milwaukie
Cascade Pacific Council 492
2146 SE Monroe St
Milwaukie, OR 97222


American Legion Post 181
Allegheny Highlands Council 382
62 Jamestown St
Randolph, NY 14772


American Legion Post 181
Jayhawk Area Council 197
610 Chestnut St
Frankfort, KS 66427


American Legion Post 181
Northern Lights Council 429
314 4th St
Thompson, ND 58278


American Legion Post 1812
Theodore Roosevelt Council 386
P.O. Box 62
Plainview, NY 11803


American Legion Post 1817
Twin Rivers Council 364
P.O. Box 313
Burnt Hills, NY 12027
American Legion Post 182
East Carolina Council 426
P.O. Box 346
Columbia, NC 27925


American Legion Post 182
Norwela Council 215
P.O. Box 1051
Ringgold, LA 71068


American Legion Post 182
Samoset Council, Bsa 627
General Delivery
Park Falls, WI 54552


American Legion Post 182
W D Boyce 138
31460 US Hwy 6
Spring Valley, IL 61362


American Legion Post 183
Denver Area Council 061
P.O. Box 518
Strasburg, CO 80136


American Legion Post 1830 Of Chili
Seneca Waterways 397
450 Scottsville Chili Rd
Scottsville, NY 14546


American Legion Post 184
Black Warrior Council 006
20149 Hwy 278
Double Springs, AL 35553


American Legion Post 184
Black Warrior Council 006
P.O. Box 343
Double Springs, AL 35553


American Legion Post 184
Twin Rivers Council 364
P.O. Box 715
7 Fairview Ave
Hudson, NY 12534


American Legion Post 1864
Denver Area Council 061
11832 Trail Sky Ct
Parker, CO 80134


American Legion Post 189/Vfw
Gulf Stream Council 085
807 Louisiana Ave
Sebastian, FL 32958


American Legion Post 19
Chief Seattle Council 609
P.O. Box 503
Renton, WA 98057


American Legion Post 19
Greater Alabama Council 001
960 Ross St
Heflin, AL 36264


American Legion Post 19
Green Mountain 592
P.O. Box 292
56 Airport Dr
Bristol, VT 05443


American Legion Post 19
Middle Tennessee Council 560
812 Nashville Hwy
Columbia, TN 38401


American Legion Post 191
Gateway Area 624
129 S Marshall St
Caledonia, MN 55921


American Legion Post 191
Norwela Council 215
P.O. Box 8128
Bossier City, LA 71113


American Legion Post 192
Allegheny Highlands Council 382
2 Buffalo St
American Legion Post 192
Coudersport, PA 16915


American Legion Post 192
Blackhawk Area 660
P.O. Box 192
Marengo, IL 60152


American Legion Post 192
Georgia‐Carolina 093
275 Legion Dr
Evans, GA 30809


American Legion Post 192
Mayflower Council 251
P.O. Box 892
Norwell, MA 02061


American Legion Post 193
Central Minnesota 296
P.O. Box 322
Becker, MN 55308


American Legion Post 193
Denver Area Council 061
5110 Morrison Rd
Denver, CO 80219


American Legion Post 194
Chester County Council 539
338 E Main St
Rising Sun, MD 21911


American Legion Post 195
Ozark Trails Council 306
P.O. Box 407
Crocker, MO 65452


American Legion Post 196
Connecticut Yankee Council Bsa 072
25 Merwin Ave
Milford, CT 06460


American Legion Post 197
North Florida Council 087
2179 Benedict Rd
Jacksonville, FL 32209


American Legion Post 197
Quapaw Area Council 018
401 W Lake St
P.O. Box 952
Manila, AR 72442


American Legion Post 197      Vfw 6858
Blackhawk Area 660
807 E Exchange St
Brodhead, WI 53520


American Legion Post 1976
Hawkeye Area Council 172
P.O. Box 277
North Liberty, IA 52317


American Legion Post 1977
Rainbow Council 702
14414 Ford Dr
New Lenox, IL 60451


American Legion Post 198
Northwest Texas Council 587
P.O. Box 1001
Archer City, TX 76351


American Legion Post 198
President Gerald R Ford 781
3060 Mantz St
Lewiston, MI 49756


American Legion Post 1982
Transatlantic Council, Bsa 802
Cmr 454 Box N
Apo, AE 09250


American Legion Post 199
Chief Seattle Council 609
Snoqualmie Vly Cntr
Carnation, WA 98014


American Legion Post 199
Mobile Area Council‐Bsa 004
P.O. Box 473
Fairhope, AL 36533


American Legion Post 1992
Denver Area Council 061
16070 E Dartmouth Ave
Aurora, CO 80013


American Legion Post 2
Connecticut Rivers Council, Bsa 066
22 Hooker Ct
Bristol, CT 06010


American Legion Post 2
Montana Council 315
3095 Villard Ave
Helena, MT 59601


American Legion Post 2
Montana Council 315
P.O. Box 553
Helena, MT 59624


American Legion Post 2
Northern Star Council 250
1266 1st Ave E
Shakopee, MN 55379
American Legion Post 2
Rocky Mountain Council 063
701 W 9th St
Pueblo, CO 81003


American Legion Post 2 Seicheprey
Connecticut Rivers Council, Bsa 066
22 Hooker Ct
Bristol, CT 06010


American Legion Post 20
Greater St Louis Area Council 312
108 E Jourdan St
Newton, IL 62448


American Legion Post 20
Longs Peak Council 062
1602 US Hwy 6
Sterling, CO 80751


American Legion Post 200
Longs Peak Council 062
436 Main St
Bayard, NE 69334


American Legion Post 200
Sam Houston Area Council 576
P.O. Box 730
Wallis, TX 77485


American Legion Post 200, Lincoln
Longs Peak Council 062
General Delivery
Bayard, NE 69334


American Legion Post 2008
Pikes Peak Council 060
11605 Meridian Market View
PMB 221, Ste 124
Falcon, CO 80831
American Legion Post 201
Atlanta Area Council 092
201 Wills Rd
Alpharetta, GA 30009


American Legion Post 201
Central Minnesota 296
187 1st St Se
Mora, MN 55051


American Legion Post 201
Northern Lights Council 429
325 Hodson Ave
Minto, ND 58261


American Legion Post 201
Northern New Jersey Council, Bsa 333
P.O. Box 201
Livingston, NJ 07039


American Legion Post 202
Pine Tree Council 218
79 Foreside Rd
Topsham, ME 04086


American Legion Post 202 Brentwood
Mt Diablo‐Silverado Council 023
P.O. Box 575
Brentwood, CA 94513


American Legion Post 203
Rocky Mountain Council 063
2420 Santa Fe Dr
Pueblo, CO 81006


American Legion Post 204
Chief Seattle Council 609
8456 41st Ave Sw
Seattle, WA 98136


American Legion Post 204
Ellsworth Fire Dept
Northern Star Council 250
139 S Oak St
Ellsworth, Wi 54011


American Legion Post 204
Lincoln Heritage Council 205
412 N New Albany St
Sellersburg, IN 47172


American Legion Post 205
Pine Tree Council 218
400 Eern Ave
Augusta, ME 04330


American Legion Post 206
Middle Tennessee Council 560
2912 Hwy 31 W
White House, TN 37188


American Legion Post 206
National Capital Area Council 082
3330 Chesapeake Beach Rd
Chesapeake Beach, MD 20732


American Legion Post 206
National Capital Area Council 082
P.O. Box 428
Chesapeake Beach, MD 20732


American Legion Post 207
Twin Valley Council Bsa 283
319 Broadway St
Cleveland, MN 56017


American Legion Post 207 Uss San Diego
Winnebago Council, Bsa 173
302 Cedar St
La Porte City, IA 50651


American Legion Post 208
Bucktail Council 509
330 Main St
Ridgway, PA 15853


American Legion Post 208
Calcasieu Area Council 209
5461 Joe Courville Rd
Vinton, LA 70668


American Legion Post 208
Glaciers Edge Council 620
120 W Harvey St
Rio, WI 53960


American Legion Post 208
Overland Trails 322
P.O. Box 371
Sutherland, NE 69165


American Legion Post 208 Millis
Mayflower Council 251
136 Curve St
Millis, MA 02054


American Legion Post 209
Grand Columbia Council 614
538 W Broadway Ave
Moses Lake, WA 98837


American Legion Post 209
Hawkeye Area Council 172
3315 Jones Delaware Rd
Monticello, IA 52310


American Legion Post 209
Northern Star Council 250
P.O. Box 336
Cokato, MN 55321


American Legion Post 209
Patriots Path Council 358
237 Park Ave
Scotch Plains, NJ 07076
American Legion Post 209
Pikes Peak Council 060
3613 Jeannine Dr
Colorado Springs, CO 80917


American Legion Post 209 Orfordville
Glaciers Edge Council 620
3913 S State Rd 213
Orfordville, WI 53576


American Legion Post 21
Jayhawk Area Council 197
812 Main St
Seneca, KS 66538


American Legion Post 21
Pine Tree Council 218
200 Congress Ave
Bath, ME 04530


American Legion Post 21
Winnebago Council, Bsa 173
314 2nd Ave Sw
Buffalo Center, IA 50424


American Legion Post 210
Bay‐Lakes Council 635
130 N State St
Waupun, WI 53963


American Legion Post 210
Lasalle Council 165
103 York Dr
Middlebury, IN 46540


American Legion Post 210
Mid‐America Council 326
740 Main St
Anita, IA 50020


American Legion Post 210
Prairielands 117
201 Prospect Pl
Danville, IL 61832


American Legion Post 210
Washington Crossing Council 777
315 N St
Doylestown, PA 18901


American Legion Post 210    Vfw
Twin Valley Council Bsa 283
P.O. Box 83
Wells, MN 56097


American Legion Post 211 ‐ Avon Lake
Lake Erie Council 440
31972 Walker Rd
Avon Lake, OH 44012


American Legion Post 214
Blackhawk Area 660
1400 Keep St
Darlington, WI 53530


American Legion Post 214
Blackhawk Area 660
P.O. Box 163
Darlington, WI 53530


American Legion Post 214
Hudson Valley Council 374
P.O. Box 491
Warwick, NY 10990


American Legion Post 214
Pine Tree Council 218
P.O. Box 176
York, ME 03909


American Legion Post 215
Heart of Virginia Council 602
P.O. Box 17
Goochland, VA 23063


American Legion Post 216
Mid‐America Council 326
11690 S 216th St
Gretna, NE 68028


American Legion Post 217
Great Lakes Fsc 272
2817 Van Alstyne St
Wyandotte, MI 48192


American Legion Post 217‐Baudette
Voyageurs Area 286
115 N Main Ave
Baudette, MN 56623


American Legion Post 218
Cornhusker Council 324
P.O. Box 213
Exeter, NE 68351


American Legion Post 219
Great Rivers Council 653
204 W Mety Ave
Memphis, MO 63555


American Legion Post 22
Denver Area Council 061
11081 Irma Dr
Northglenn, CO 80233


American Legion Post 22
Greater Yosemite Council 059
P.O. Box 521
Lodi, CA 95241


American Legion Post 22
Las Vegas Area Council 328
3435 N Verde Rd
Golden Valley, AZ 86413
American Legion Post 220
Northeast Georgia Council 101
P.O. Box 403
Clayton, GA 30525


American Legion Post 221
Gulf Coast Council 773
444 John Sims Pkwy E
Niceville, FL 32578


American Legion Post 222
Muskingum Valley Council, Bsa 467
P.O. Box 221
Crooksville, OH 43731


American Legion Post 222
Water and Woods Council 782
194 1/2 S Main St
Vermontville, MI 49096


American Legion Post 223
Gateway Area 624
928 Mitscher Ave
Hillsboro, WI 54634


American Legion Post 223
Mayflower Council 251
P.O. Box 1113
Duxbury, MA 02331


American Legion Post 223
Southern Shores Fsc 783
65079 US Hwy 131 N
Constantine, MI 49042


American Legion Post 223
Winnebago Council, Bsa 173
113 E 1st St
Sumner, IA 50674


American Legion Post 223 Sykesville
Baltimore Area Council 220
7327 Slacks Rd
Sykesville, MD 21784


American Legion Post 224
Gateway Area 624
501 N Main St
Alma, WI 54610


American Legion Post 224
Western Massachusetts Council 234
190 Pleasant St
Easthampton, MA 01027


American Legion Post 226
Baltimore Area Council 220
830 Mayo Rd
Edgewater, MD 21037


American Legion Post 226
Indian Nations Council 488
14083 S State Hwy 51 200
Coweta, OK 74429


American Legion Post 226
Indian Nations Council 488
P.O. Box 112
Coweta, OK 74429


American Legion Post 226
Sam Houston Area Council 576
P.O. Box 53
East Bernard, TX 77435


American Legion Post 227
National Capital Area Council 082
13505 Cherry Tree Crossing Rd
Brandywine, MD 20613


American Legion Post 227
Northern Star Council 250
W230 1st St
Spring Valley, WI 54767


American Legion Post 227
President Gerald R Ford 781
305 Main St
East Jordan, MI 49727


American Legion Post 227
The Spirit of Adventure 227
P.O. Box 227
69 River St
Middleton, MA 01949


American Legion Post 229
Greater Alabama Council 001
P.O. Box 194
Madison, AL 35758


American Legion Post 23
Daniel Webster Council, Bsa 330
15 Cottage St
Milford, NH 03055


American Legion Post 23
Middle Tennessee Council 560
P.O. Box 411
Shelbyville, TN 37162


American Legion Post 23
Montana Council 315
American Legion Post 23
Livingston, MT 59047


American Legion Post 231
Hoosier Trails Council 145 145
119 Bridgeway St
Aurora, IN 47001


American Legion Post 232
Erie Shores Council 460
12580 US Route 24
Grand Rapids, OH 43522
American Legion Post 232
Northeast Georgia Council 101
3163 Main St W
Snellville, GA 30078


American Legion Post 232
Northeast Georgia Council 101
P.O. Box 232
Snellville, GA 30078


American Legion Post 233
Northeast Georgia Council 101
P.O. Box 511
Loganville, GA 30052


American Legion Post 233 Charlton Polan
Great Lakes Fsc 272
164 S Broadway St
Lake Orion, MI 48362


American Legion Post 233 Elk Grove
Golden Empire Council 047
P.O. Box 161
Elk Grove, CA 95759


American Legion Post 234
Daugherty‐Hamilton
Bay‐Lakes Council 635
P.O. Box 234
Omro, Wi 54963


American Legion Post 234
Mount Baker Council, Bsa 606
22909 56th Ave W
Mountlake Terrace, WA 98043


American Legion Post 236 ‐ Ernest Haucke
c/o Maynard Zima
Bay‐Lakes Council 635
201 Lakeview Dr
Algoma, WI 54201
American Legion Post 237
Cornhusker Council 324
301 W Eldora Ave
Weeping Water, NE 68463


American Legion Post 237
San Francisco Bay Area Council 028
P.O. Box 823
Pleasanton, CA 94566


American Legion Post 237
W D Boyce 138
410 Clark St
Oglesby, IL 61348


American Legion Post 238
National Capital Area Council 082
P.O. Box 527
Hughesville, MD 20637


American Legion Post 238
Pacific Skyline Council 031
555 Buel Ave
Pacifica, CA 94044


American Legion Post 238 Dewitt Lions
Illowa Council 133
704 9th St
De Witt, IA 52742


American Legion Post 24
Blue Mountain Council 604
P.O. Box 261
Milton Freewater, OR 97862


American Legion Post 24
Daniel Webster Council, Bsa 330
644 Dublin Rd
Marlborough, NH 03455
American Legion Post 24
Northern Lights Council 429
321 Main Ave N
Roseau, MN 56751


American Legion Post 24
Trapper Trails 589
551 Broadway St
Rock Springs, WY 82901


American Legion Post 240
Erie Shores Council 460
335 Park Dr
Luckey, OH 43443


American Legion Post 240
Texas Trails Council 561
801 E Washington St
Stephenville, TX 76401


American Legion Post 242
Central Florida Council 083
17142 E Colonial Dr
Orlando, FL 32820


American Legion Post 242
Evangeline Area 212
P.O. Box 730
Patterson, LA 70392


American Legion Post 243008
Mississippi Valley Council 141 141
P.O. Box 112
Mediapolis, IA 52637


American Legion Post 245
Patriots Path Council 358
210 Espanong Rd
Lake Hopatcong, NJ 07849


American Legion Post 246
Anthony Wayne Area 157
410 E Park Dr
Albion, IN 46701


American Legion Post 246
Mt Diablo‐Silverado Council 023
P.O. Box 133
Danville, CA 94526


American Legion Post 246
Northern Lights Council 429
P.O. Box 62
Elgin, ND 58533


American Legion Post 248
Sagamore Council 162
800 Washington St
Lagro, IN 46941


American Legion Post 248
Sagamore Council 162
P.O. Box 66
Lagro, IN 46941


American Legion Post 249
Patriots Path Council 358
33 Phillip Dr
Parsippany, NJ 07054


American Legion Post 25
Conquistador Council Bsa 413
2400 W 7th St
Clovis, NM 88101


American Legion Post 25
Greater Tampa Bay Area 089
1490 US 27 N
Lake Placid, FL 33852


American Legion Post 25
San Diego Imperial Council 049
569 Broadway Ave
El Centro, CA 92243
American Legion Post 250
Hoosier Trails Council 145 145
P.O. Box 154
Mitchell, IN 47446


American Legion Post 250
North Florida Council 087
P.O. Box 218
Middleburg, FL 32050


American Legion Post 252
Crossroads of America 160
334 US Hwy 31 S
Greenwood, IN 46142


American Legion Post 252
Garden State Council 690
20 Sicklerville Rd
Williamstown, NJ 08094


American Legion Post 252
Heart of Virginia Council 602
14576 Kings Hwy
Montross, VA 22520


American Legion Post 253
Great Lakes Fsc 272
1505 N Main St
Royal Oak, MI 48067


American Legion Post 254
Northern Star Council 250
301 2nd Ave Sw
Milltown, WI 54858


American Legion Post 254
Southwest Florida Council 088
6648 Taneytown St
North Port, FL 34291
American Legion Post 256
Seneca Waterways 397
454 N Main St
Canandaigua, NY 14424


American Legion Post 258
Anthony Wayne Area 157
P.O. Box 535
Pierceton, IN 46562


American Legion Post 258
Bay‐Lakes Council 635
402 W Mckinley Ave
Little Chute, WI 54140


American Legion Post 258
Istrouma Area Council 211
P.O. Box 252
Springfield, LA 70462


American Legion Post 259
National Capital Area Council 082
9122 Piscataway Rd
Clinton, MD 20735


American Legion Post 26
Greater Wyoming Council 638
143 S Clark St
Powell, WY 82435


American Legion Post 26
Green Mountain 592
129 S Main St
White River Junction, VT 05001


American Legion Post 26
Illowa Council 133
702 W 35th St
Davenport, IA 52806


American Legion Post 26
Leatherstocking 400
Main St
Clark Mills, NY 13321


American Legion Post 26
Northern Lights Council 429
9 27th St Nw
Minot, ND 58703


American Legion Post 26
Southern Sierra Council 030
2020 H St
Bakersfield, CA 93301


American Legion Post 26
W D Boyce 138
213 N Main
Vermont, IL 61484


American Legion Post 260
Northern Star Council 250
304 Elm St
Monticello, MN 55362


American Legion Post 261
Great Lakes Fsc 272
28444 Utica Rd
Roseville, MI 48066


American Legion Post 261
Greater Los Angeles Area 033
4542 Peck Rd
El Monte, CA 91732


American Legion Post 261
Patriots Path Council 358
840 S Washington Ave
Piscataway, NJ 08854


American Legion Post 262
Black Swamp Area Council 449
350 E Randolph St
Hamler, OH 43524
American Legion Post 263
Patriots Path Council 358
1155 Roosevelt Ave
Carteret, NJ 07008


American Legion Post 263 ‐ New London
Bay‐Lakes Council 635
840 E N Water St
New London, WI 54961


American Legion Post 265
Black Swamp Area Council 449
1105 N Shoop Ave
P.O. Box 175
Wauseon, OH 43567


American Legion Post 266
Western Massachusetts Council 234
74 Pleasant St
Granby, MA 01033


American Legion Post 268
National Capital Area Council 082
11225 Fern St
Wheaton, MD 20902


American Legion Post 268
Winnebago Council, Bsa 173
10068 Sandhill Rd
Greene, IA 50636


American Legion Post 27
Daniel Webster Council, Bsa 330
6 Sargent Rd
Londonderry, NH 03053


American Legion Post 27
Great Salt Lake Council 590
28 E State St
P.O. Box 427
Farmington, UT 84025
American Legion Post 27
Green Mountain 592
P.O. Box 28
Middlebury, VT 05753


American Legion Post 270
Pathway To Adventure 456
1113 Taft St
Gary, IN 46404


American Legion Post 271
Evangeline Area 212
P.O. Box 303
Kaplan, LA 70548


American Legion Post 271
Gulf Stream Council 085
775 N US Hwy 1
Tequesta, FL 33469


American Legion Post 271
Western Massachusetts Council 234
162 Russell St
Hadley, MA 01035


American Legion Post 273
Northeast Iowa Council 178
111 Market St
Bellevue, IA 52031


American Legion Post 274
National Capital Area Council 082
11820 Hg Trueman Rd
Lusby, MD 20657


American Legion Post 274
Water and Woods Council 782
849 S State St
Oscoda, MI 48750
American Legion Post 276
Crossroads of America 160
327 Main St
Beech Grove, IN 46107


American Legion Post 277
Central Minnesota 296
P.O. Box 6
Sartell, MN 56377


American Legion Post 277
Gateway Area 624
P.O. Box 322
Necedah, WI 54646


American Legion Post 277
Orange County Council 039
230 S Bradford Ave
Placentia, CA 92870


American Legion Post 278
Westmoreland Fayette 512
86 N Morgantown St
Fairchance, PA 15436


American Legion Post 278
Winnebago Council, Bsa 173
504 Main St
Osage, IA 50461


American Legion Post 279
Erie Shores Council 460
P.O. Box 612
Elmore, OH 43416


American Legion Post 279
Great Rivers Council 653
103 S Elm St
Sweet Springs, MO 65351


American Legion Post 279
Great Rivers Council 653
903 N Miller
Sweet Springs, MO 65351


American Legion Post 279
Middle Tennessee Council 560
P.O. Box 141
Woodbury, TN 37190


American Legion Post 279
Patriots Path Council 358
133 Main St
Lincoln Park, NJ 07035


American Legion Post 28
Crater Lake Council 491
206 NW F St
Grants Pass, OR 97526


American Legion Post 28
Far E Council 803
Psc 557 Box 1060
Fpo Ap, 96379


American Legion Post 28
Great Alaska Council 610
7001 Brayton Dr
Anchorage, AK 99507


American Legion Post 28
Lincoln Heritage Council 205
1930 Mcdonald Ln
New Albany, IN 47150


American Legion Post 28
National Capital Area Council 082
17934 Liming Ln
Triangle, VA 22172


American Legion Post 280
Greater Los Angeles Area 033
179 N Vinedo Ave
Pasadena, CA 91107
American Legion Post 281
Middle Tennessee Council 560
P.O. Box 67
Mount Juliet, TN 37121


American Legion Post 281
Twin Valley Council Bsa 283
317 E S St
Janesville, MN 56048


American Legion Post 281
Twin Valley Council Bsa 283
P.O. Box 335
Janesville, MN 56048


American Legion Post 282
National Capital Area Council 082
101 W Elizabeth St
Woodsboro, MD 21798


American Legion Post 283
North Florida Council 087
9459 Fort Caroline Rd
Jacksonville, FL 32225


American Legion Post 283
Simon Kenton Council 441
7725 Refugee Rd
Pickerington, OH 43147


American Legion Post 284
Gateway Area 624
419 1st Ave E
Holmen, WI 54636


American Legion Post 285
French Creek Council 532
120 W 4th St
Waterford, PA 16441
American Legion Post 285
Pony Express Council 311
308 James St
Gordon Dale Swindler
Hamilton, MO 64644


American Legion Post 287
Pony Express Council 311
P.O. Box 186
501 E Price Ave
Savannah, MO 64485


American Legion Post 288
Prairielands 117
116 E 1st St
Veedersburg, IN 47987


American Legion Post 288
Verdugo Hills Council 058
4011 La Crescenta Ave
La Crescenta, CA 91214


American Legion Post 288 ‐ Cedarburg
Bay‐Lakes Council 635
W57N481 Hilbert Ave
Cedarburg, WI 53012


American Legion Post 289
Evangeline Area 212
1080 Main St
Parks, LA 70582


American Legion Post 289
Leatherstocking 400
210 Pennsylvania Ave
Hancock, NY 13783


American Legion Post 289
Middle Tennessee Council 560
P.O. Box 2641
Clarksville, TN 37042
American Legion Post 289
Middle Tennessee Council 560
P.O. Box 289
Clarksville, TN 37041


American Legion Post 289
Northern New Jersey Council, Bsa 333
177 Lincoln Ave
West Milford, NJ 07480


American Legion Post 29
Atlanta Area Council 092
921 Gresham Ave Ne
Marietta, GA 30060


American Legion Post 29
Great Alaska Council 610
1467 Muldoon Rd
Anchorage, AK 99504


American Legion Post 290
National Capital Area Council 082
P.O. Box 125
Stafford, VA 22555


American Legion Post 291
Orange County Council 039
215 15th St
Newport Beach, CA 92663


American Legion Post 291
Rip Van Winkle Council 405
P.O. Box 132
Greenville, NY 12083


American Legion Post 293
North Florida Council 087
P.O. Box 592
Interlachen, FL 32148


American Legion Post 294
Atlanta Area Council 092
3282 Florence Rd
Powder Springs, GA 30127


American Legion Post 294
Garden State Council 690
39 Fort Dix Rd
Pemberton, NJ 08068


American Legion Post 294
Rainbow Council 702
212 W Washington St
Morris, IL 60450


American Legion Post 295
Chippewa Valley Council 637
P.O. Box 71
Bloomer, WI 54724


American Legion Post 295
East Carolina Council 426
585 US Hwy 70 Davis
Davis, NC 28524


American Legion Post 295
National Capital Area Council 082
19401 Walter Johnson Rd
Germantown, MD 20874


American Legion Post 295
National Capital Area Council 082
P.O. Box 1529
Middleburg, VA 20118


American Legion Post 295
National Capital Area Council 082
P.O. Box 690
Germantown, MD 20875


American Legion Post 295
Orange County Council 039
5646 Corporate Ave
Cypress, CA 90630
American Legion Post 297
Lasalle Council 165
486 E Michigan St
New Carlisle, IN 46552


American Legion Post 297
Longhorn Council 662
8201 Old Benbrook Rd
Fort Worth, TX 76126


American Legion Post 297
Northern Lights Council 429
101 Benefit Ln
Harwood, ND 58042


American Legion Post 297 Union
Greater St Louis Area Council 312
205 N Washington Ave
Union, MO 63084


American Legion Post 298
Hawkeye Area Council 172
625 31st St
Marion, IA 52302


American Legion Post 299
Bay‐Lakes Council 635
P.O. Box 1518
Mackinac Island, MI 49757


American Legion Post 299 Chino
California Inland Empire Council 045
13759 Central Ave
Chino, CA 91710


American Legion Post 3
Crossroads of America 160
6379 N College Ave
Indianapolis, IN 46220
American Legion Post 3
Grand Canyon Council 010
204 W Birch Ave
Flagstaff, AZ 86001


American Legion Post 3
Samoset Council, Bsa 627
1216 Elm St
Antigo, WI 54409


American Legion Post 3 Hanford
Sequoia Council 027
401 N Irwin St
Hanford, CA 93230


American Legion Post 30
Chief Seattle Council 609
615 Kendall St
Port Orchard, WA 98366


American Legion Post 30
Nevada Area Council 329
664 Sheffield Ct
Sparks, NV 89431


American Legion Post 30
Nevada Area Council 329
1200 Locust St
Sparks, NV 89432


American Legion Post 30 Banbridge
Nevada Area Council 329
664 Sheffield Ct
Sparks, NV 89431


American Legion Post 300
Alamo Area Council 583
3290 Grosenbacher Rd
San Antonio, TX 78245


American Legion Post 300
Baltimore Area Council 220
5456 Hound Hill Ct
Columbia, MD 21045


American Legion Post 302
Narragansett 546
P.O. Box 1
84 Bay St
Rehoboth, MA 02769


American Legion Post 303
Narragansett 546
73 Ocean Grove Ave
Swansea, MA 02777


American Legion Post 304
Theodore Roosevelt Council 386
27 Bayview Ave
Manhasset, NY 11030


American Legion Post 305
President Gerald R Ford 781
9548 Cherry Valley Ave Se
Caledonia, MI 49316


American Legion Post 306 ‐ Green Lake
Bay‐Lakes Council 635
550 Highknocker Trl
Green Lake, WI 54941


American Legion Post 307
Black Swamp Area Council 449
107 1st St
Pioneer, OH 43554


American Legion Post 307
Ozark Trails Council 306
109 N Calhoun Ave
Ash Grove, MO 65604


American Legion Post 307 Inc
Northeast Georgia Council 101
P.O. Box 2624
Cumming, GA 30028


American Legion Post 309
Hawkeye Area Council 172
505 E 1st St
Mechanicsville, IA 52306


American Legion Post 31
Connecticut Rivers Council, Bsa 066
Kent Rd
New Milford, CT 06776


American Legion Post 31
Southern Shores Fsc 783
557 1/2 Chandler St
Chelsea, MI 48118


American Legion Post 311
Abraham Lincoln Council 144
101 Main St
Murrayville, IL 62668


American Legion Post 311
Narragansett 546
351 Fall River Ave
Seekonk, MA 02771


American Legion Post 311
W.L.A.C.C. 051
44355 40th St E
Lancaster, CA 93535


American Legion Post 313
Greater St Louis Area Council 312
200 Main St
St Peters, MO 63376


American Legion Post 313
Marin Council 035
P.O. Box 313
Larkspur, CA 94977
American Legion Post 314
Twin Valley Council Bsa 283
P.O. Box 456
Winthrop, MN 55396


American Legion Post 316
North Florida Council 087
1127 Atlantic Blvd
Atlantic Beach, FL 32233


American Legion Post 317
Greater St Louis Area Council 312
Rr 1 Box 161
Oconee, IL 62553


American Legion Post 32
Great Lakes Fsc 272
9318 Newburgh Rd
Livonia, MI 48150


American Legion Post 32
Longs Peak Council 062
315 S Bowen St
Longmont, CO 80501


American Legion Post 32
Mid‐America Council 326
230 W Lincoln St
Papillion, NE 68046


American Legion Post 32
Oregon Trail Council 697
P.O. Box 4
Cottage Grove, OR 97424


American Legion Post 32
Pee Dee Area Council 552
P.O. Box 11
Dillon, SC 29536


American Legion Post 32
Texas Swest Council 741
P.O. Box 1171
San Angelo, TX 76902


American Legion Post 32
West Tennessee Area Council 559
235 E Church St
Alamo, TN 38001


American Legion Post 32 Hair‐Matthews
Occoneechee 421
3814 Legion Rd
Hope Mills, NC 28348


American Legion Post 32, John H Buckley
Longs Peak Council 062
315 S Bowen St
Longmont, CO 80501


American Legion Post 320
Black Hills Area Council 695 695
P.O. Box 3645
Rapid City, SD 57709


American Legion Post 320
National Capital Area Council 082
P.O. Box 51
American Legion Post 320
Spotsylvania, VA 22553


American Legion Post 321
South Florida Council 084
9081 SW 51st St
Cooper City, FL 33328


American Legion Post 321 St Clair
Greater St Louis Area Council 312
105 E Illinois St
New Baden, IL 62265


American Legion Post 322
Miami Valley Council, Bsa 444
P.O. Box 2
West Alexandria, OH 45381


American Legion Post 322
Twin Rivers Council 364
P.O. Box 22
Saint Regis Falls, NY 12980


American Legion Post 323
Greater St Louis Area Council 312
504 Luetkenhaus Blvd
Wentzville, MO 63385


American Legion Post 323
W D Boyce 138
Henry Il
Henry, IL 61537


American Legion Post 327
Patriots Path Council 358
77 Old York Rd
Bridgewater, NJ 08807


American Legion Post 329
Southeast Louisiana Council 214
104 Hunt St
Belle Chasse, LA 70037


American Legion Post 33
Black Hills Area Council 695 695
868 Main St
Sturgis, SD 57785


American Legion Post 33
Cornhusker Council 324
184 E Roberts St
Seward, NE 68434


American Legion Post 33
Great Alaska Council 610
P.O. Box 672175
Chugiak, AK 99567
American Legion Post 33
W D Boyce 138
901 La Salle St
Ottawa, IL 61350


American Legion Post 331
Crossroads of America 160
636 E Main St
Brownsburg, IN 46112


American Legion Post 331
Lasalle Council 165
4241 Legion St
P.O. Box 67
Bridgman, MI 49106


American Legion Post 331
Ozark Trails Council 306
484 N Outer Rd
Saint Robert, MO 65584


American Legion Post 333
Glaciers Edge Council 620
P.O. Box 21
Sun Prairie, WI 53590


American Legion Post 333 Of Kasson
Gamehaven 299
212 W Main St
Kasson, MN 55944


American Legion Post 334
Cherokee Area Council 469 469
P.O. Box 116
Ramona, OK 74061


American Legion Post 334
Northern Star Council 250
11640 Crooked Lake Blvd NW B
Coon Rapids, MN 55433
American Legion Post 334
Theodore Roosevelt Council 386
15 Elizabeth St
Floral Park, NY 11001


American Legion Post 334 Of Ramona
Cherokee Area Council 469 469
P.O. Box 116
Ramona, OK 74061


American Legion Post 335 ‐ Hudson
Greater Tampa Bay Area 089
11421 Osceola Dr
New Port Richey, FL 34654


American Legion Post 336
Alamo Area Council 583
6553 Bandera Rd
San Antonio, TX 78238


American Legion Post 337 ‐ Pulaski
Bay‐Lakes Council 635
P.O. Box 746
Pulaski, WI 54162


American Legion Post 338
Pathway To Adventure 456
55 E Richmond St
Westmont, IL 60559


American Legion Post 338
Vander Jagt De Bruine
c/o 346 N Main St
Bay‐Lakes Council 635
Post 338
Cedar Grove, WI 53013


American Legion Post 338
Western Massachusetts Council 234
46 Powder Mill Rd
Southwick, MA 01077
American Legion Post 338 Charities
Erie Shores Council 460
P.O. Box 351
209 W Crocker St
Bradner, OH 43406


American Legion Post 34
Black Warrior Council 006
11121 Maxwell Loop Rd
Tuscaloosa, AL 35405


American Legion Post 34
National Capital Area Council 082
401 Old Waterford Rd Nw
Leesburg, VA 20176


American Legion Post 340
Gulf Coast Council 773
8890 Ashland Ave
Pensacola, FL 32534


American Legion Post 340
Western Massachusetts Council 234
Route 7
Sheffield, MA 01257


American Legion Post 341
Laurel Highlands Council 527
400 Duss Ave
Ambridge, PA 15003


American Legion Post 341
Samoset Council, Bsa 627
P.O. Box 121
Birnamwood, WI 54414


American Legion Post 343
Northern Star Council 250
P.O. Box 527
Norwood, MN 55368
American Legion Post 345
Black Swamp Area Council 449
2490 State Route 49
Fort Recovery, OH 45846


American Legion Post 346
South Florida Council 084
2700 SW 99th Ave
Miami, FL 33165


American Legion Post 347
Central Florida Council 083
P.O. Box 1534
Lady Lake, FL 32158


American Legion Post 347
Greater Alabama Council 001
5021 Gary Ave
Fairfield, AL 35064


American Legion Post 348
Mid‐America Council 326
1311 Court
Fort Calhoun, NE 68023


American Legion Post 349
Bay‐Lakes Council 635
P.O. Box 335
Little Lake, MI 49833


American Legion Post 35
Grand Canyon Council 010
2240 W Chandler Blvd
Chandler, AZ 85224


American Legion Post 350
Northeastern Pennsylvania Council 501
34 W Broad St
Nanticoke, PA 18634


American Legion Post 351
Great Lakes Fsc 272
46146 Cass Ave
Utica, MI 48317


American Legion Post 352
Jersey Shore Council 341
P.O. Box 155
1st and Pennsylvania Ave
Somers Point, NJ 08244


American Legion Post 353
Chippewa Valley Council 637
P.O. Box 71
Cornell, WI 54732


American Legion Post 354
Central Minnesota 296
Hwy 10
Clear Lake, MN 55319


American Legion Post 355
Miami Valley Council, Bsa 444
31 N Main St
P.O. Box 351
Fort Loramie, OH 45845


American Legion Post 355 ‐ Roger L Wood
Mayflower Council 251
22 Carpenter Hill Rd
Mendon, MA 01756


American Legion Post 355 ‐ Rose Harms
Bay‐Lakes Council 635
1540 13th Ave
Grafton, WI 53024


American Legion Post 356
Gulf Coast Council 773
400 Aberdeen Pkwy
Panama City, FL 32405


American Legion Post 356
Twin Valley Council Bsa 283
18 N Osborne St
Sherburn, MN 56171


American Legion Post 357
Baden‐Powell Council 368
P.O. Box 429
Hallstead, PA 18822


American Legion Post 357
Northern Star Council 250
W6698 Maple
Bay City, WI 54723


American Legion Post 359
Central Florida Council 083
7260 S US Hwy 1
Titusville, FL 32780


American Legion Post 36
Connecticut Rivers Council, Bsa 066
One S Main St
P.O. Box 308
Windsor Locks, CT 06096


American Legion Post 36
Inland Nwest Council 611
P.O. Box 428
Kellogg, ID 83837


American Legion Post 36
Pine Tree Council 218
P.O. Box 874
Boothbay Harbor, ME 04538


American Legion Post 360
Suffolk County Council Inc 404
Milldam Rd
Halesite, NY 11743


American Legion Post 364
National Capital Area Council 082
P.O. Box 2121
Woodbridge, VA 22195


American Legion Post 364 ‐ Guiles/Luce
c/o Rodney Cartwright
Bay‐Lakes Council 635
P.O. Box 327
Winneconne, WI 54986


American Legion Post 365
Greater St Louis Area Council 312
1022 Vandalia St
Collinsville, IL 62234


American Legion Post 365
Northern Star Council 250
904 Main St
Plum City, WI 54761


American Legion Post 366
Central Minnesota 296
P.O. Box 61
215 1st Ave Ne
Bertha, MN 56437


American Legion Post 366
Quivira Council, Bsa 198
405 Floral Dr
Hillsboro, KS 67063


American Legion Post 366
Southeast Louisiana Council 214
P.O. Box 372
Destrehan, LA 70047


American Legion Post 367 ‐ Medway
Mayflower Council 251
6 Cutler St
Medway, MA 02053


American Legion Post 368
Colonial Virginia Council 595
368 American Legion Dr
Newport News, VA 23608


American Legion Post 369
Greater St Louis Area Council 312
510 Cedar St
Benton, MO 63736


American Legion Post 369
Greater St Louis Area Council 312
P.O. Box 417
Benton, MO 63736


American Legion Post 370
Calcasieu Area Council 209
2540 Miller Ave
Westlake, LA 70669


American Legion Post 371
Illowa Council 133
P.O. Box 182
Williamsfield, IL 61489


American Legion Post 371
Mid‐America Council 326
P.O. Box 121
1121 Ave A E
Lake Park, IA 51347


American Legion Post 373
Black Swamp Area Council 449
5939 State Route 109
Delta, OH 43515


American Legion Post 374
Mid‐America Council 326
13913 S Plz
Omaha, NE 68137


American Legion Post 375
Northern Star Council 250
P.O. Box 47
Atwater, MN 56209
American Legion Post 375
Potawatomi Area Council 651
627 County Rd Nn E
Mukwonago, WI 53149


American Legion Post 375
Potawatomi Area Council 651
627 Veterans Way E
Mukwonago, WI 53149


American Legion Post 376
Chippewa Valley Council 637
General Delivery
Fall Creek, WI 54742


American Legion Post 376
Hawkeye Area Council 172
P.O. Box 248
Walker, IA 52352


American Legion Post 377
Attn Cmdr Jack Lynch
Northern Star Council 250
P.O. Box 240
Delano, MN 55328


American Legion Post 379
Longhorn Council 662
1245 N Industrial Blvd
Bedford, TX 76021


American Legion Post 38
Bay‐Lakes Council 635
3220 W College Ave
Appleton, WI 54914


American Legion Post 38
Twin Valley Council Bsa 283
100 Industrial Dr
Redwood Falls, MN 56283
American Legion Post 382
Black Swamp Area Council 449
154 N Main St
Bluffton, OH 45817


American Legion Post 382
Gulf Coast Council 773
1850 Luneta St
Navarre, FL 32566


American Legion Post 382
W D Boyce 138
118 E 3rd St
Delavan, IL 61734


American Legion Post 383
Golden Empire Council 047
P.O. Box 2373
Fair Oaks, CA 95628


American Legion Post 384
Mid‐America Council 326
1608 N Ave
Milford, IA 51351


American Legion Post 387
Black Swamp Area Council 449
46 S Cleveland St
Minster, OH 45865


American Legion Post 387
Calcasieu Area Council 209
500 Vernon St
Newllano, LA 71461


American Legion Post 389
Greater Tampa Bay Area 089
P.O. Box 944
Ruskin, FL 33575


American Legion Post 39
Baltimore Area Council 220
500 N Hickory Ave
Bel Air, MD 21014


American Legion Post 39
Garden State Council 690
112 4th Ave
Roebling, NJ 08554


American Legion Post 39
Hawkeye Area Council 172
1008 12th St
Belle Plaine, IA 52208


American Legion Post 39
Northern Lights Council 429
201 Main St N
Velva, ND 58790


American Legion Post 390
Mid‐America Council 326
Main St
Aurelia, IA 51005


American Legion Post 390
Patriots Path Council 358
Legion Pl
Denville Township, NJ 07834


American Legion Post 392
Rainbow Council 702
109 E N St
Peotone, IL 60468


American Legion Post 393
Pony Express Council 311
91 N 3rd St
Gower, MO 64454


American Legion Post 393
Three Rivers Council 578
25774 Hwy 321
Cleveland, TX 77327


American Legion Post 394
Central Florida Council 083
396 Cogan Dr Se
American Legion Post 394
Palm Bay, FL 32909


American Legion Post 394
Seneca Waterways 397
6206 State Route 21
P.O. Box 158
Williamson, NY 14589


American Legion Post 395
Three Fires Council 127
510 E Dearborn St
Plano, IL 60545


American Legion Post 396
Great Lakes Fsc 272
6860 Middlebelt Rd
Garden City, MI 48135


American Legion Post 396
Greater St Louis Area Council 312
P.O. Box 432
110 Fox Run
Sparta, IL 62286


American Legion Post 399
Collins‐Tasch
Sagamore Council 162
P.O. Box 133
Monterey, In 46960


American Legion Post 40
Gulf Stream Council 085
10 Tosca
Fort Pierce, FL 34951


American Legion Post 40
Mayflower Council 251
199 Federal Furnace Rd
Plymouth, MA 02360


American Legion Post 40
Twin Rivers Council 364
150 Main St
Hoosick Falls, NY 12090


American Legion Post 40 Of Lanesboro
Gamehaven 299
P.O. Box 285
Lanesboro, MN 55949


American Legion Post 400
Greater Alabama Council 001
1525 9th St
Leeds, AL 35094


American Legion Post 400
Jayhawk Area Council 197
3029 NW US Hwy 24
Topeka, KS 66618


American Legion Post 401
Monmouth Council, Bsa 347
P.O. Box 82
Monmouth Jct, NJ 08852


American Legion Post 404
Black Swamp Area Council 449
112 Washington St
Republic, OH 44867


American Legion Post 404
New Birth of Freedom 544
P.O. Box 503
North St
Elizabethville, PA 17023


American Legion Post 404
Twin Valley Council Bsa 283
151 N Broadway
Alden, MN 56009


American Legion Post 406
Dan Beard Council, Bsa 438
P.O. Box 42
Bethel, OH 45106


American Legion Post 409
Allegheny Highlands Council 382
100 Legion Dr
Gowanda, NY 14070


American Legion Post 41
c/o Mr. Robert Cappiello
Northern New Jersey Council, Bsa 333
263 Garden Pl
Oradell, NJ 07649


American Legion Post 411
President Gerald R Ford 781
M‐20
Hesperia, MI 49421


American Legion Post 416
Greater St Louis Area Council 312
P.O. Box 1074
Farmington, MO 63640


American Legion Post 416
Laurel Highlands Council 527
P.O. Box 83
Wind Ridge, PA 15380


American Legion Post 416
San Diego Imperial Council 049
P.O. Box 920416
Encinitas, CA 92023


American Legion Post 419
Silicon Valley Monterey Bay 055
P.O. Box 113
Santa Clara, CA 95052


American Legion Post 419
Southern Shores Fsc 783
P.O. Box 468
Pinckney, MI 48169


American Legion Post 42
Montana Council 315
211 Broadway St
Townsend, MT 59644


American Legion Post 42
Northeast Illinois 129
P.O. Box 42
Evanston, IL 60204


American Legion Post 42
Northwest Georgia Council 100
.
Cartersville, GA 30120


American Legion Post 42
Overland Trails 322
P.O. Box 144
Aurora, NE 68818


American Legion Post 42
Pine Tree Council 218
P.O. Box 268
Damariscotta, ME 04543


American Legion Post 42
Twin Rivers Council 364
32 Woodbridge Ave
Chatham, NY 12037


American Legion Post 420
Longhouse Council 373
P.O. Box 464
23 Fenton St
Waddington, NY 13694
American Legion Post 421
Hawkeye Area Council 172
6 Central City Rd
Central City, IA 52214


American Legion Post 421
Lake Erie Council 440
22001 Brookpark Rd
Fairview Park, OH 44126


American Legion Post 423
Anthony Wayne Area 157
6215 N State Rd 327
Orland, IN 46776


American Legion Post 423
Gateway Area 624
121 S Grant St
Houston, MN 55943


American Legion Post 423
Patriots Path Council 358
28 Legion Rd
Oak Ridge, NJ 07438


American Legion Post 426
California Inland Empire Council 045
12167 California St
Yucaipa, CA 92399


American Legion Post 428
Central Minnesota 296
17 2nd Ave N
Waite Park, MN 56387


American Legion Post 43
Grand Canyon Council 010
7807 S 1st Dr
Phoenix, AZ 85041
American Legion Post 43
Heart of Virginia Council 602
231 S Main St
Bsa Pack 7509
Chase City, VA 23924


American Legion Post 43
Mount Baker Council, Bsa 606
P.O. Box 269
Sedro Woolley, WA 98284


American Legion Post 43
Three Fires Council 127
10 W Chicago Ave
Naperville, IL 60540


American Legion Post 43 Mtn View
Quapaw Area Council 018
P.O. Box 602
Mountain View, AR 72560


American Legion Post 430
Jersey Shore Council 341
P.O. Box 102
Cologne, NJ 08213


American Legion Post 430
Pathway To Adventure 456
7430 Broadway
Merrillville, IN 46410


American Legion Post 431
Mid‐America Council 326
P.O. Box 81
Gowrie, IA 50543


American Legion Post 431
Muskingum Valley Council, Bsa 467
1 Canal Ct
P.O. Box 66
Newcomerstown, OH 43832
American Legion Post 434
Monmouth Council, Bsa 347
11 Sanford St
Manalapan, NJ 07726


American Legion Post 435
Attn Commander
Northern Star Council 250
6501 Portland Ave
Richfield, MN 55423


American Legion Post 437
The Spirit of Adventure 227
114 Dunstable Rd
Westford, MA 01886


American Legion Post 44
Aloha Council, Bsa 104
P.O. Box 359
Apo, AP 96555


American Legion Post 44
Mountaineer Area 615
P.O. Box 365
Philippi, WV 26416


American Legion Post 44 ‐ Monrovia
Greater Los Angeles Area 033
119 W Palm Ave
Monrovia, CA 91016


American Legion Post 440
Washington Crossing Council 777
41 Linden Ave
Newtown, PA 18940


American Legion Post 446
Greater St Louis Area Council 312
117 S Poplar St
Centralia, IL 62801


American Legion Post 447
Capitol Area Council 564
1000 N Georgetown St
Round Rock, TX 78664


American Legion Post 449
Blackhawk Area 660
128 E Front Ave
Stockton, IL 61085


American Legion Post 449
Winnebago Council, Bsa 173
216 3rd St Nw
Nora Springs, IA 50458


American Legion Post 45
Coronado Area Council 192
201 E 4th St
Junction City, KS 66441


American Legion Post 45
Northern Star Council 250
300 Lexington Ave S
New Prague, MN 56071


American Legion Post 45
President Gerald R Ford 781
1014 David Dr
Hastings, MI 49058


American Legion Post 45
Sioux Council 733
P.O. Box 442
Harrisburg, SD 57032


American Legion Post 451
President Gerald R Ford 781
6168 Dunbarton St Se
Ada, MI 49301


American Legion Post 453
Circle Ten Council 571
2755 Bachman Dr
Dallas, TX 75220


American Legion Post 454
Twin Valley Council Bsa 283
General Delivery
P.O. Box 327
Kiester, MN 56051


American Legion Post 455
Jersey Shore Council 341
2 Meadowbrook Ln
New Egypt, NJ 08533


American Legion Post 456
Central Minnesota 296
P.O. Box 127
Sebeka, MN 56477


American Legion Post 457
Water and Woods Council 782
4075 Huron St
North Branch, MI 48461


American Legion Post 46
Green Mountain 592
P.O. Box 212
Johnson, VT 05656


American Legion Post 46 ‐ Bellevue
Lake Erie Council 440
208 W Main St
Bellevue, OH 44811


American Legion Post 46 Woodburn
Cascade Pacific Council 492
P.O. Box 371
Woodburn, OR 97071


American Legion Post 460
Hawkeye Area Council 172
222 E Main St
Solon, IA 52333
American Legion Post 468
San Diego Imperial Council 049
P.O. Box 205
2503 Washington St
Julian, CA 92036


American Legion Post 468    Greece
Seneca Waterways 397
344 Dorsey Rd
Rochester, NY 14616


American Legion Post 469
Samoset Council, Bsa 627
P.O. Box 516
1697 1st Ave
Marathon, WI 54448


American Legion Post 47
President Gerald R Ford 781
3811 W River Dr Ne
Comstock Park, MI 49321


American Legion Post 47
Trapper Trails 589
601 Anderson Ave
Hyrum, UT 84319


American Legion Post 470
Black Swamp Area Council 449
415 W Walnut St
Coldwater, OH 45828


American Legion Post 470
Crossroads of America 160
9091 E 126th St
Fishers, IN 46038


American Legion Post 471
Patriots Path Council 358
25 Brown Ave
Iselin, NJ 08830
American Legion Post 471
Winnebago Council, Bsa 173
Box 83
541 2nd St Box 83
Dike, IA 50624


American Legion Post 473
Central Minnesota 296
P.O. Box 277
80 Div St N
Rice, MN 56367


American Legion Post 475
Twin Valley Council Bsa 283
117 E Main St
St. Clair, MN 56080


American Legion Post 479
Erie Shores Council 460
200 S Hallett Ave
Swanton, OH 43558


American Legion Post 479 Tomas Valle
Texas Swest Council 741
P.O. Box 936
Uvalde, TX 78802


American Legion Post 48
Daniel Webster Council, Bsa 330
1 Fulton St
Hudson, NH 03051


American Legion Post 48
Green Mountain 592
P.O. Box 122
Hartland, VT 05048


American Legion Post 48
Northern Star Council 250
107 Chestnut St E
Stillwater, MN 55082
American Legion Post 48
Palmetto Council 549
P.O. Box 323
Chesnee, SC 29323


American Legion Post 48
Utah National Parks 591
P.O. Box 61
Payson, UT 84651


American Legion Post 480
Greater St Louis Area Council 312
303 S Chester St
Steeleville, IL 62288


American Legion Post 482
Central Minnesota 296
P.O. Box 507
371 Railroad Ave
Albany, MN 56307


American Legion Post 485 St Clair
Greater St Louis Area Council 312
200 S 5th St
Dupo, IL 62239


American Legion Post 487
Bay‐Lakes Council 635
P.O. Box 130
Carney, MI 49812


American Legion Post 487
Greater St Louis Area Council 312
500 Opdyke St
Chester, IL 62233


American Legion Post 488
Hudson Valley Council 374
532 Lakes Rd
Monroe, NY 10950
American Legion Post 49
Central Minnesota 296
P.O. Box 238
4435 Main St
Pequot Lakes, MN 56472


American Legion Post 49
Green Mountain 592
72 S Main St
Fair Haven, VT 05743


American Legion Post 49
Northern Lights Council 429
35 2nd St Ne
Garrison, ND 58540


American Legion Post 49
Pacific Harbors Council, Bsa 612
P.O. Box 984
Rochester, WA 98579


American Legion Post 49
Sioux Council 733
47760 181st St
Clear Lake, SD 57226


American Legion Post 490
W.L.A.C.C. 051
P.O. Box 814
Rosamond, CA 93560


American Legion Post 491
Bethlehem Lutheran Church
Northern Star Council 250
263 3Rd St N
Bayport, Mn 55003


American Legion Post 491
Chester County Council 539
208 E State St
Kennett Square, PA 19348
American Legion Post 491
Water and Woods Council 782
P.O. Box 312
422 Woodworth St
Leslie, MI 49251


American Legion Post 492
Greater St Louis Area Council 312
300 Veterans Memorial Pkwy
1 Fair Grounds
Jerseyville, IL 62052


American Legion Post 493
Jersey Shore Council 341
420 Radio Rd
Little Egg Harbor Twp, NJ 08087


American Legion Post 493
Miami Valley Council, Bsa 444
P.O. Box 575
627 E College St
Jackson Center, OH 45334


American Legion Post 494
French Creek Council 532
42 Wall St
Girard, PA 16417


American Legion Post 494
Seneca Waterways 397
76 W Main St
Macedon, NY 14502


American Legion Post 499
Heart of America Council 307
499 SW State Route 7
Blue Springs, MO 64014


American Legion Post 5
Green Mountain 592
32 Linden St
Brattleboro, VT 05301
American Legion Post 50
Pathway To Adventure 456
2427 Grove St
Blue Island, IL 60406


American Legion Post 50 Of Wabasha
Gamehaven 299
155 Pembroke Ave S
Wabasha, MN 55981


American Legion Post 505
Northern Lights Council 429
102 1st Ave N
P.O. Box 84
Gary, MN 56545


American Legion Post 506
Laurel Highlands Council 527
107 N Main St
Carrolltown, PA 15722


American Legion Post 507
W.L.A.C.C. 051
24527 Spruce St
Newhall, CA 91321


American Legion Post 509
Illowa Council 133
307 N Calhoun St
West Liberty, IA 52776


American Legion Post 509
Samoset Council, Bsa 627
290 E Grand Ave
Rosholt, WI 54473


American Legion Post 509
Sequoia Council 027
3509 N 1st St
Fresno, CA 93726
American Legion Post 51
Las Vegas Area Council 328
P.O. Box 335255
North Las Vegas, NV 89033


American Legion Post 51 Lebanon
Cascade Pacific Council 492
480 Main St
Lebanon, OR 97355


American Legion Post 512 ‐ Shiocton
Bay‐Lakes Council 635
P.O. Box 159
Shiocton, WI 54170


American Legion Post 514
Southern Shores Fsc 783
11601 Lewis Ave
Ida, MI 48140


American Legion Post 515
Greater St Louis Area Council 312
P.O. Box 273
122 W Cumberland St
Martinsville, IL 62442


American Legion Post 518
Simon Kenton Council 441
104 E High St
Ashley, OH 43003


American Legion Post 52
Chickasaw Council 558
636 Middleton Rd
Winona, MS 38967


American Legion Post 520
Juniata Valley Council 497
P.O. Box 104
6th   Canal St
Alexandria, PA 16611
American Legion Post 521
Garden State Council 690
107 Salem Ave
Blackwood, NJ 08012


American Legion Post 521
Golden Empire Council 047
6700 8th St
Rio Linda, CA 95673


American Legion Post 522
Blackhawk Area 660
P.O. Box 34
Prophetstown, IL 61277


American Legion Post 525
Pathway To Adventure 456
1819 W Willow Ln
Mt Prospect, IL 60056


American Legion Post 525
Pathway To Adventure 456
P.O. Box 173
Mount Prospect, IL 60056


American Legion Post 528
c/o Philip Auffert
Pony Express Council 311
36729 State Hwy Nn
Parnell, MO 64475


American Legion Post 528
Minsi Trails Council 502
322 Market St
Belvidere, NJ 07823


American Legion Post 53
California Inland Empire Council 045
124 N Ramona St
Hemet, CA 92543
American Legion Post 53
Chippewa Valley Council 637
634 Water St
Eau Claire, WI 54703


American Legion Post 53
Pacific Harbors Council, Bsa 612
P.O. Box 854
Dupont, WA 98327


American Legion Post 530
Washington Crossing Council 777
3 Eisenhower Dr
Trenton, NJ 08691


American Legion Post 531
Allegheny Highlands Council 382
Cattaraugus Rd
Little Valley, NY 14755


American Legion Post 533
Capitol Area Council 564
1224 State Hwy 71
Bastrop, TX 78602


American Legion Post 534
Los Padres Council 053
145 W Clark Ave
Santa Maria, CA 93455


American Legion Post 534 ‐ Wyalusing
Five Rivers Council, Inc 375
P.O. Box 71
Wyalusing, PA 18853


American Legion Post 535
Central N Carolina Council 416
109 E Lawyers Rd
Monroe, NC 28110


American Legion Post 537
Attn Don Anderson
Northern Star Council 250
P.O. Box 154
New London, MN 56273


American Legion Post 539
Erie Shores Council 460
P.O. Box 243
N Baltimore, OH 45872


American Legion Post 54
Leatherstocking 400
6211 E Hill Rd
Munnsville, NY 13409


American Legion Post 54
North Florida Council 087
626 S 3rd St
Fernandina Beach, FL 32034


American Legion Post 547
Lake Erie Council 440
8 S Main St 10
Monroeville, OH 44847


American Legion Post 55
Central Florida Council 083
1063 W Desoto St
Clermont, FL 34711


American Legion Post 55
Old Hickory Council 427
111 Miller St
Winston Salem, NC 27103


American Legion Post 55
Rocky Mountain Council 063
P.O. Box 848
Buena Vista, CO 81211


American Legion Post 55
Southern Shores Fsc 783
1230 Edwards St
Albion, MI 49224


American Legion Post 55
West Tennessee Area Council 559
P.O. Box 655
Martin, TN 38237


American Legion Post 55 ‐ Hortonville
Bay‐Lakes Council 635
N3061 State Hwy 15
Hortonville, WI 54944


American Legion Post 550
Dan Beard Council, Bsa 438
311 Caroline St
New Richmond, OH 45157


American Legion Post 550
Mt Diablo‐Silverado Council 023
420 Admiral Callaghan Ln
Vallejo, CA 94591


American Legion Post 550
Northern Star Council 250
311 W 84th St
Bloomington, MN 55420


American Legion Post 554
Bay Area Council 574
1650 Hwy 3 S
League City, TX 77573


American Legion Post 555
Orange County Council 039
14582 Beach Blvd
Midway City, CA 92655


American Legion Post 556
Allegheny Highlands Council 382
9 Meadow Ln
Frewsburg, NY 14738
American Legion Post 556 Aux
Mid‐America Council 326
P.O. Box 372
Carson, IA 51525


American Legion Post 558
Pacific Skyline Council 031
449 Whisman Park Dr
Mountain View, CA 94043


American Legion Post 56
Northern Lights Council 429
P.O. Box 428
Scobey, MT 59263


American Legion Post 56 Sherwood
Cascade Pacific Council 492
22548 SW Pine St
Sherwood, OR 97140


American Legion Post 560
Central Minnesota 296
P.O. Box 123
Zimmerman, MN 55398


American Legion Post 560
Northern Lights Council 429
P.O. Box 412
Oakes, ND 58474


American Legion Post 562
Mid Iowa Council 177
113 44th St
P.O. Box 31
Cumming, IA 50061


American Legion Post 566
Northern Star Council 250
7731 Lake Dr
Lino Lakes, MN 55014
American Legion Post 567
Northern Star Council 250
14 Main St S
Saint Michael, MN 55376


American Legion Post 57
Flint River Council 095
P.O. Box 544
Newnan, GA 30264


American Legion Post 571
Black Swamp Area Council 449
8140 State Route 119
Maria Stein, OH 45860


American Legion Post 572
Hawkeye Area Council 172
216 Main St
Fairfax, IA 52228


American Legion Post 572
William B Wilson
Five Rivers Council, Inc 375
50 S Williamson Rd
Blossburg, Pa 16912


American Legion Post 579
Alamo Area Council 583
3002 Gunsmoke St
San Antonio, TX 78227


American Legion Post 58
Cascade Pacific Council 492
P.O. Box 602
Sublimity, OR 97385


American Legion Post 58
Grand Canyon Council 010
16837 E Parkview Ave
Fountain Hills, AZ 85268


American Legion Post 58
Mid‐America Council 326
111 E Front St
Valley, NE 68064


American Legion Post 58
Northern Lights Council 429
P.O. Box 381
Plentywood, MT 59254


American Legion Post 58
Yucca Council 573
4724 Vulcan Ave
El Paso, TX 79904


American Legion Post 580
Northern Star Council 250
290 Lake Dr E
Chanhassen, MN 55317


American Legion Post 581
Greater St Louis Area Council 312
P.O. Box 433
Columbia, IL 62236


American Legion Post 583
Central Georgia Council 096
P.O. Box 3035
300 New St
Eatonton, GA 31024


American Legion Post 583
Longhouse Council 373
319 E Bronson St
Dexter, NY 13634


American Legion Post 586
Longhouse Council 373
10 S Main St
Adams, NY 13605


American Legion Post 586
Miami Valley Council, Bsa 444
377 N 3rd St
Tipp City, OH 45371


American Legion Post 587
Golden Empire Council 047
P.O. Box 433
Foresthill, CA 95631


American Legion Post 58‐Hurley
Voyageurs Area 286
201 Iron St
Hurley, WI 54534


American Legion Post 59
Allegheny Highlands Council 382
156 E Main St
Fredonia, NY 14063


American Legion Post 59
Glaciers Edge Council 620
803 N Page St
Stoughton, WI 53589


American Legion Post 59
Green Mountain 592
16 Stowe St
Harry N Cutting Post 59
Waterbury, VT 05676


American Legion Post 59
Hoosier Trails Council 145 145
110 Main St
Rising Sun, IN 47040


American Legion Post 59
Mid Iowa Council 177
301 Washington St
Story City, IA 50248


American Legion Post 59
Patriots Path Council 358
P.O. Box 2013
Morristown, NJ 07962


American Legion Post 591
Circle Ten Council 571
P.O. Box 95
Forney, TX 75126


American Legion Post 593
Alamo Area Council 583
326 Legion Dr W
Converse, TX 78109


American Legion Post 595
Gateway Area 624
414 Red Apple Dr
La Crescent, MN 55947


American Legion Post 596
Northern Lights Council 429
P.O. Box 63
Erskine, MN 56535


American Legion Post 597
Winnebago Council, Bsa 173
P.O. Box 263
Elma, IA 50628


American Legion Post 598
Yucca Council 573
141 Ellsworth Dr
Horizon City, TX 79928


American Legion Post 6
Occoneechee 421
1714 Legion Rd
Chapel Hill, NC 27517


American Legion Post 6
Pine Tree Council 218
114 2nd St
Hallowell, ME 04347
American Legion Post 6
Transatlantic Council, Bsa 802
Cmr 489
Box 1502
Apo, AE 09751


American Legion Post 6 Hillsboro
Cascade Pacific Council 492
285 W Main St
Hillsboro, OR 97123


American Legion Post 60
Las Vegas Area Council 328
P.O. Box 648
Laughlin, NV 89029


American Legion Post 60
Sagamore Council 162
828 Burlington Ave
P.O. Box 737
Logansport, IN 46947


American Legion Post 60
Shenandoah Area Council 598
527 N Washington St
Berkeley Springs, WV 25411


American Legion Post 60
Sioux Council 733
103 N Commercial St
Clark, SD 57225


American Legion Post 60 ‐ Kimberly
Bay‐Lakes Council 635
122 W 1st St
Kimberly, WI 54136


American Legion Post 600
Northern Star Council 250
P.O. Box 55
Champlin, MN 55316
American Legion Post 609
Northeastern Pennsylvania Council 501
320 Lee Park Ave
Hanover Twp, PA 18706


American Legion Post 61
Hoosier Trails Council 145 145
P.O. Box 773
Shoals, IN 47581


American Legion Post 61
The Spirit of Adventure 227
P.O. Box 61
Revere, MA 02151


American Legion Post 610
Lake Erie Council 440
19944 Sheldon Rd
Brook Park, OH 44142


American Legion Post 610
Northeastern Pennsylvania Council 501
600 Lackawanna Ave
Mayfield, PA 18433


American Legion Post 613
Central Minnesota 296
400 Front St
Pine River, MN 56474


American Legion Post 615
Dan Beard Council, Bsa 438
174 S 4th St
Waynesville, OH 45068


American Legion Post 615
Tinley Park Crime Prevention Comm.
Attn Fred Fleischmann
Pathway To Adventure 456
6625 Glenview Dr
Tinley Park, Il 60477
American Legion Post 616
Leatherstocking 400
P.O. Box 1462
Richfield Springs, NY 13439


American Legion Post 618
Sam Houston Area Council 576
P.O. Box 554
Willis, TX 77378


American Legion Post 620
Northern Star Council 250
5383 140th St N
Hugo, MN 55038


American Legion Post 63
Georgia‐Carolina 093
90 Milledge Rd
Augusta, GA 30904


American Legion Post 63
Green Mountain 592
48 Depot Sq
Northfield, VT 05663


American Legion Post 634
Prairielands 117
Lincoln St
Saint Joseph, IL 61873


American Legion Post 634
Twin Rivers Council 364
2106 St Rt 22
2106 St Rt 2
Cambridge, NY 12816


American Legion Post 638
Allegheny Highlands Council 382
P.O. Box 474
132 W Main St
Falconer, NY 14733
American Legion Post 639
Illowa Council 133
P.O. Box 341
220 W Davenport St
Eldridge, IA 52748


American Legion Post 64
Grand Columbia Council 614
401 Sunset Hwy
P.O. Box 832
Cashmere, WA 98815


American Legion Post 64
Muskingum Valley Council, Bsa 467
812 Beverly Pl
Marietta, OH 45750


American Legion Post 643
Mississippi Valley Council 141 141
2147 150th St
Winfield, IA 52659


American Legion Post 648
Black Swamp Area Council 449
341 W Main St
Saint Henry, OH 45883


American Legion Post 65
Montana Council 315
P.O. Box 284
Ennis, MT 59729


American Legion Post 65
Northern Star Council 250
14590 Burma Ave W
Rosemount, MN 55068


American Legion Post 65
Patriots Path Council 358
P.O. Box 365
Metuchen, NJ 08840
American Legion Post 65
Quivira Council, Bsa 198
P.O. Box 194
Whitewater, KS 67154


American Legion Post 65 Wilsonville
Cascade Pacific Council 492
12035 SW Surrey St
Wilsonville, OR 97070


American Legion Post 650
California Inland Empire Council 045
1532 Church St
Redlands, CA 92374


American Legion Post 650
Northeast Iowa Council 178
206 E Main St
Epworth, IA 52045


American Legion Post 654
Sam Houston Area Council 576
3105 Campbell Rd
Houston, TX 77080


American Legion Post 655
Allegheny Highlands Council 382
5 E Main St
Cuba, NY 14727


American Legion Post 66
Northern Lights Council 429
P.O. Box 285
New England, ND 58647


American Legion Post 67
Blackhawk Area 660
15235 US Hwy 52
Mount Carroll, IL 61053


American Legion Post 67
Central Minnesota 296
128 Main St S
Sauk Centre, MN 56378


American Legion Post 67
Daniel Webster Council, Bsa 330
P.O. Box 375
151 Main St
Newmarket, NH 03857


American Legion Post 67
Glaciers Edge Council 620
129 S Main St
Lake Mills, WI 53551


American Legion Post 67
Green Mountain 592
P.O. Box 75
637 Route 103 S
Chester, VT 05143


American Legion Post 67
Ore‐Ida Council 106 ‐ Bsa 106
25 NW 8th St
Ontario, OR 97914


American Legion Post 67
Pacific Harbors Council, Bsa 612
10164 Woodland Ave E
Puyallup, WA 98373


American Legion Post 67, Inc
South Florida Council 084
14901 W Dixie Hwy
North Miami, FL 33181


American Legion Post 674
Hawkeye Area Council 172
3275 Otter Rd
Toddville, IA 52341


American Legion Post 675
Three Fires Council 127
19 W Washington St
Oswego, IL 60543


American Legion Post 679
Hawkeye Area Council 172
P.O. Box 323
Palo, IA 52324


American Legion Post 68
Blue Ridge Mtns Council 599
205 Main St
Narrows, VA 24124


American Legion Post 68
Buckskin 617
205 Main St
Narrows, VA 24124


American Legion Post 68
Conquistador Council Bsa 413
Box 720 W Star Rt
Lovington, NM 88260


American Legion Post 68
Greater St Louis Area Council 312
17 Roley Ests
Sullivan Lions Club
Sullivan, IL 61951


American Legion Post 685
Great Trail 433
10001 Aurora Hudson Rd
Hudson, OH 44236


American Legion Post 69
Green Mountain 592
P.O. Box 339
Arlington, VT 05250


American Legion Post 69
Northern New Jersey Council, Bsa 333
412 3rd St
Carlstadt, NJ 07072


American Legion Post 69
Pushmataha Area Council 691
P.O. Box 2884
Columbus, MS 39704


American Legion Post 694
Suffolk County Council Inc 404
7 Woodside Ave
Northport, NY 11768


American Legion Post 7
Mid‐America Council 326
1124 Heires Ave
Carroll, IA 51401


American Legion Post 7
Pony Express Council 311
749 9th Ave E
Horton, KS 66439


American Legion Post 70
Twin Rivers Council 364
34 W Ave
Saratoga Springs, NY 12866


American Legion Post 70 ‐ Oshkosh
Bay‐Lakes Council 635
1393 Washington Ave
Oshkosh, WI 54901


American Legion Post 703
Northeast Illinois 129
703 N US Hwy 12
Fox Lake, IL 60020


American Legion Post 705
Golden Empire Council 047
P.O. Box 744
Yuba City, CA 95992
American Legion Post 705
Laurel Highlands Council 527
1101 Old National Pike
Fredericktown, PA 15333


American Legion Post 71
Bay‐Lakes Council 635
820 Delta Ave
Gladstone, MI 49837


American Legion Post 71
Black Hills Area Council 695 695
1045 Jennings Ave
Hot Springs, SD 57747


American Legion Post 71
Greater Tampa Bay Area 089
823 Eagle Ridge Dr
Lake Wales, FL 33859


American Legion Post 71
Northern Lights Council 429
P.O. Box 96
Mott, ND 58646


American Legion Post 71
Quapaw Area Council 018
P.O. Box 951
Cabot, AR 72023


American Legion Post 711
Southern Sierra Council 030
P.O. Box 2892
Lake Isabella, CA 93240


American Legion Post 719
Lake Erie Council 440
215 N Maple St
Memorial Post
Orwell, OH 44076
American Legion Post 72
Connecticut Yankee Council Bsa 072
P.O. Box 217
66 Main St
Southington, CT 06489


American Legion Post 72
Inland Nwest Council 611
116 College Ave
Cheney, WA 99004


American Legion Post 72
Mid‐America Council 326
P.O. Box 71
109 W Main St
Pierce, NE 68767


American Legion Post 72
National Capital Area Council 082
345 Legion Dr
Warrenton, VA 20186


American Legion Post 72
Utah National Parks 591
1636 S 100 E
Orem, UT 84058


American Legion Post 721
Abraham Lincoln Council 144
P.O. Box 234
Morrisonville, IL 62546


American Legion Post 721
Hawkeye Area Council 172
901 2nd St
Coralville, IA 52241


American Legion Post 73
Buffalo Trace 156
222 N 4th St
Vincennes, IN 47591
American Legion Post 74
Mid‐America Council 326
P.O. Box 474
Creighton, NE 68729


American Legion Post 74
Stonewall Jackson Council 763
P.O. Box 6566
Charlottesville, VA 22906


American Legion Post 74 Carl Douglas
Cascade Pacific Council 492
P.O. Box 1162
Estacada, OR 97023


American Legion Post 74 Wiley Pevy
Norwela Council 215
119 Pine St
Minden, LA 71055


American Legion Post 75
Gulf Coast Council 773
898 E James Lee Blvd
Crestview, FL 32539


American Legion Post 75
Northern Lights Council 429
P.O. Box 572
Crosby, ND 58730


American Legion Post 75
Three Fires Council 127
22 S 2nd St
Geneva, IL 60134


American Legion Post 75
Twin Valley Council Bsa 283
202 S Broadway
New Richland, MN 56072


American Legion Post 759
Abraham Lincoln Council 144
206 W Chestnut St
Chatham, IL 62629


American Legion Post 76
Capitol Area Council 564
404 Atlanta St
Austin, TX 78703


American Legion Post 76
Central N Carolina Council 416
24302 US 52 Business S
Albemarle, NC 28001


American Legion Post 76
Green Mountain 592
Hc 63 Box 60
Barton, VT 05822


American Legion Post 76
Las Vegas Area Council 328
P.O. Box 34012
Las Vegas, NV 89133


American Legion Post 76
Mount Baker Council, Bsa 606
115 N Olympic Ave
Arlington, WA 98223


American Legion Post 76
Three Fires Council 127
570 S Gary Ave
Carol Stream, IL 60188


American Legion Post 762
Miami Valley Council, Bsa 444
10 W Main St
New Lebanon, OH 45345


American Legion Post 765
c/o Lloyd Hubler
Mississippi Valley Council 141 141
Rr 1 Box 94A
Smithshire, IL 61478


American Legion Post 77
Blackhawk Area 660
900 Chrysler Dr
Belvidere, IL 61008


American Legion Post 77
Chippewa Valley Council 637
P.O. Box 241
Chippewa Falls, WI 54729


American Legion Post 77
Golden Empire Council 047
523 Bush St
Woodland, CA 95695


American Legion Post 77
Mayflower Council 251
40 Summer St
Ashland, MA 01721


American Legion Post 77
Pikes Peak Council 060
2257 Sioux Ave
Simla, CO 80835


American Legion Post 77
Winnebago Council, Bsa 173
1615 Maple Ave
Kanawha, IA 50447


American Legion Post 77 Of Owatonna
Gamehaven 299
137 W Broadway St
Owatonna, MN 55060


American Legion Post 78
Gulf Coast Council 773
6025 Spikes Way
Milton, FL 32583
American Legion Post 78 Keith Powell
Greater Los Angeles Area 033
P.O. Box 128
Claremont, CA 91711


American Legion Post 781
Northeastern Pennsylvania Council 501
1550 Henry Dr
Mountain Top, PA 18707


American Legion Post 79
Buffalo Trail Council 567
P.O. Box 695
Alpine, TX 79831


American Legion Post 79
California Inland Empire Council 045
2979 Dexter Dr
Riverside, CA 92501


American Legion Post 79
Connecticut Yankee Council Bsa 072
43 Bradley Rd
Madison, CT 06443


American Legion Post 79
Northern Star Council 250
102 Elm Ave Sw
Montgomery, MN 56069


American Legion Post 79
P.O. Box 113
Donna Deboer
New Port Richey, FL 34656‐0113


American Legion Post 79
Washington Crossing Council 777
1205 Reins Cir
New Hope, PA 18938
American Legion Post 79 ‐ Ross Wilcox
Three Harbors Council 636
P.O. Box 2
Burlington, WI 53105


American Legion Post 790
Westmoreland Fayette 512
P.O. Box 424
137 1st St
Smithton, PA 15479


American Legion Post 8
National Capital Area Council 082
224 D St Se
Washington, DC 20003


American Legion Post 8
Sioux Council 733
P.O. Box 784
Pierre, SD 57501


American Legion Post 80
Northern Lights Council 429
General Delivery
Wheaton, MN 56296


American Legion Post 800
Baden‐Powell Council 368
307 Main St
Groton, NY 13073


American Legion Post 800
California Inland Empire Council 045
P.O. Box 800
Idyllwild, CA 92549


American Legion Post 806
Baden‐Powell Council 368
25 Bixby St
Bainbridge, NY 13733


American Legion Post 81
Istrouma Area Council 211
421 E City Park St
Gonzales, LA 70737


American Legion Post 81
Mid‐America Council 326
P.O. Box 634
211 Main St
Wakefield, NE 68784


American Legion Post 81
Sioux Council 733
P.O. Box 354
Toronto, SD 57268


American Legion Post 82
Denver Area Council 061
P.O. Box 865
Elizabeth, CO 80107


American Legion Post 82
Pushmataha Area Council 691
P.O. Box 903
Ackerman, MS 39735


American Legion Post 826
W.L.A.C.C. 051
5380 Fallbrook Ave
Woodland Hills, CA 91367


American Legion Post 83
Twin Rivers Council 364
148 Main St
Whitehall, NY 12887


American Legion Post 838 Irvine
Orange County Council 039
51 Bridgeport
Irvine, CA 92620


American Legion Post 85
Northern Star Council 250
P.O. Box 57
North Branch, MN 55056


American Legion Post 859
Hudson Valley Council 374
P.O. Box 7
Suffern, NY 10901


American Legion Post 86
Mount Baker Council, Bsa 606
4580 Legion Dr
Blaine, WA 98230


American Legion Post 86
Ohio River Valley Council 619
415 Market St
Toronto, OH 43964


American Legion Post 86
Pine Tree Council 218
160 Lyons Point Rd
Raymond, ME 04071


American Legion Post 862
Orange County Council 039
P.O. Box 2831
Mission Viejo, CA 92690


American Legion Post 87
Cascade Pacific Council 492
P.O. Box 539
White Salmon, WA 98672


American Legion Post 87
Denver Area Council 061
1427 Elmira St
Aurora, CO 80010


American Legion Post 87
Heart of Virginia Council 602
16440 Five Forks Rd
Amelia, VA 23002
American Legion Post 876
Baden‐Powell Council 368
P.O. Box 286
Sherburne, NY 13460


American Legion Post 878
Hawk Mountain Council 528
P.O. Box 200
Oley, PA 19547


American Legion Post 88
Daniel Webster Council, Bsa 330
P.O. Box 7052
Loudon, NH 03307


American Legion Post 88
Greater Yosemite Council 059
P.O. Box 128
Turlock, CA 95381


American Legion Post 88
Northern Lights Council 429
P.O. Box 88
Hankinson, ND 58041


American Legion Post 88 ‐ Denton Drake
Mobile Area Council‐Bsa 004
2263 Halls Mill Rd
Mobile, AL 36606


American Legion ‐Post 88 Marsh Valley
Grand Teton Council 107
P.O. Box 831
Lava Hot Springs, ID 83246


American Legion Post 889
Northeastern Pennsylvania Council 501
P.O. Box 395
Waymart, PA 18472
American Legion Post 89
W D Boyce 138
205 E Partridge St
Metamora, IL 61548


American Legion Post 892
Allegheny Highlands Council 382
4350 Route 417
Allegany, NY 14706


American Legion Post 9
Black Warrior Council 006
P.O. Box 1204
Jasper, AL 35502


American Legion Post 90
Gamehaven 299
100 Main St
Lewiston, MN 55952


American Legion Post 90
Greater St Louis Area Council 312
302 S 8th St
Marshall, IL 62441


American Legion Post 90
Pine Burr Area Council 304
32 Country Club Dr
Columbia, MS 39429


American Legion Post 90 Banks
Cascade Pacific Council 492
13970 NW Main St
Banks, OR 97106


American Legion Post 91
Connecticut Rivers Council, Bsa 066
66 Prospect St
Moosup, CT 06354


American Legion Post 91
East Bridgewater
Mayflower Council 251
P.O. Box 291
East Bridgewater, Ma 02333


American Legion Post 91
Green Mountain 592
3650 Roosevelt Hwy
Colchester, VT 05446


American Legion Post 91
Illowa Council 133
105 N Main Ave
Wyoming, IL 61491


American Legion Post 91
Laurel Highlands Council 527
154 E Main St
Romney, WV 26757


American Legion Post 91
North Florida Council 087
P.O. Box 559
Trenton, FL 32693


American Legion Post 91
Twin Valley Council Bsa 283
809 12th St Sw
Austin, MN 55912


American Legion Post 911
Northeast Illinois 129
P.O. Box 146
Wauconda, IL 60084


American Legion Post 912
Twin Rivers Council 364
29 Pratt St
Rouses Point, NY 12979


American Legion Post 92
Gamehaven 299
403 E Center St
Rochester, MN 55904


American Legion Post 92
South Florida Council 084
211 N 21st Ave
Hollywood, FL 33020


American Legion Post 927
Minsi Trails Council 502
646 Fairgrounds Rd
Gilbert, PA 18331


American Legion Post 93
Buckskin 617
302 8th St
Kenova, WV 25530


American Legion Post 93
Rio Grande Council 775
910 W Expressway 83
Mission, TX 78572


American Legion Post 93
Westark Area Council 016
P.O. Box 241
401 W Court St
Jasper, AR 72641


American Legion Post 94
Pacific Harbors Council, Bsa 612
2602 Marvin Rd Se
Lacey, WA 98509


American Legion Post 94 Babylon
Suffolk County Council Inc 404
22 Grove Pl
Babylon, NY 11702


American Legion Post 942
Seneca Waterways 397
818 Ridge Rd
Webster, NY 14580
American Legion Post 95
Coastal Georgia Council 099
706 E Barnard St
Glennville, GA 30427


American Legion Post 95
Daniel Webster Council, Bsa 330
Kearsage St
North Conway, NH 03860


American Legion Post 95
Golden Empire Council 047
P.O. Box 1506
Oroville, CA 95965


American Legion Post 95
Sagamore Council 162
424 S Main St
Jonesboro, IN 46938


American Legion Post 96
Northern Star Council 250
35 3rd Ave Se
Hutchinson, MN 55350


American Legion Post 96
Overland Trails 322
1003 Nebraska Ave
Arapahoe, NE 68922


American Legion Post 96
Sagamore Council 162
P.O. Box 353
Medaryville, IN 47957


American Legion Post 960
Washington Crossing Council 777
1537 Woodbourne Rd
Levittown, PA 19057
American Legion Post 964
Pathway To Adventure 456
51 Lions Dr
Lake Zurich, IL 60047


American Legion Post 964
Twin Rivers Council 364
P.O. Box 521
Chestertown, NY 12817


American Legion Post 97
Anthony Wayne Area 157
1729 Sprott St
P.O. Box 650
Auburn, IN 46706


American Legion Post 97
Katahdin Area Council 216
1346 Main Rd
Enfield, ME 04493


American Legion Post 97
Northern Lights Council 429
P.O. Box 732
Larimore, ND 58251


American Legion Post 977
Twin Rivers Council 364
P.O. Box 461
Altamont, NY 12009


American Legion Post 978
Bucktail Council 509
19612 Bennetts Valley Hwy
Weedville, PA 15868


American Legion Post 98
Chippewa Valley Council 637
1225 Veterans St
Cumberland, WI 54829


American Legion Post 98
Northern Lights Council 429
P.O. Box 483
Langdon, ND 58249


American Legion Post 98
The Spirit of Adventure 227
P.O. Box 117
Rockport, MA 01966


American Legion Post 983
Rip Van Winkle Council 405
P.O. Box 329
Cairo, NY 12413


American Legion Post 998
New Birth of Freedom 544
4700 Derry St
Harrisburg, PA 17111


American Legion Post No 111
Blue Ridge Mtns Council 599
P.O. Box 192
Rocky Mount, VA 24151


American Legion Post No 49
Cornhusker Council 324
4130 Superior Rd
Utica, NE 68456


American Legion Post Number 81
Lincoln Heritage Council 205
415 Lee Ave
Leitchfield, KY 42754


American Legion Post South Plainfield
Patriots Path Council 358
243 Oak Tree Ave
South Plainfield, NJ 07080


American Legion Post Thb 187
Three Fires Council 127
815 S Finley Rd
Lombard, IL 60148


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Gamehaven 299
215 3rd St Sw
Plainview, MN 55964


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American Legion Post‐Loomis‐Martin 188
Potawatomi Area Council 651
2870 School St
East Troy, WI 53120


American Legion Pt 268   Commercial Club
Winnebago Council, Bsa 173
10068 Sandhill Rd
Greene, IA 50636


American Legion Rainbow Post 2
Mid‐America Council 326
716 S 4th St
Council Bluffs, IA 51503


American Legion Ravalli Post 47
Montana Council 315
P.O. Box 641
Hamilton, MT 59840


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American Legion Riders Post 54
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P.O. Box 84
Chewelah, WA 99109


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Cascade Pacific Council 492
P.O. Box 1566
Ridgefield, WA 98642


American Legion Rolla Dicks Post 315
Pony Express Council 311
15778 Glacier Rd
Clearmont, MO 64431


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Circle Ten Council 571
418 E Red Bird Ln
Duncanville, TX 75116


American Legion Ronan Post 0138
Montana Council 315
P.O. Box 678
Ronan, MT 59864


American Legion Rothie Post 330
Gamehaven 299
P.O. Box 448
7 Main St E
Hayfield, MN 55940


American Legion Rowe‐Jones Post 145
Buckskin 617
Hc 77 Box 31‐A
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Suffolk County Council Inc 404
39 Nassau Ave
Islip, NY 11751
American Legion Sagebrush Post 68
Longs Peak Council 062
P.O. Box 56
Brush, CO 80723


American Legion Salinas Post 31
Silicon Valley Monterey Bay 055
14 W Laurel Dr
Salinas, CA 93906


American Legion Scherer Post 493
Miami Valley Council, Bsa 444
627 E College St
Jackson Center, OH 45334


American Legion Seaside Post 591
Silicon Valley Monterey Bay 055
P.O. Box 591
Seaside, CA 93955


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107 W Washington St
Clarinda, IA 51632


American Legion Shore Boros Post 351
Jersey Shore Council 341
1400 Bay Blvd
Seaside Heights, NJ 08751


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Grand Canyon Council 010
7145 E 2nd St
Scottsdale, AZ 85251


American Legion Slyvester Post 335
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Sylvester, GA 31791


American Legion Smith‐Spence Post 144
South Georgia Council 098
P.O. Box 309
502 Burum St Sw
Pelham, GA 31779


American Legion Squadron 62
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Peoria, AZ 85345


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29300 the Old Rd
Castaic, CA 91384


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Daniel Boone Council 414
P.O. Box 1181
Cherokee, NC 28719


American Legion Steven H Nipp Post 143
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Post Falls, ID 83854


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Wasilla, AK 99687


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Three Fires Council 127
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Elmhurst, IL 60126


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224 Chellis Rd
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American Legion Tibbitts Post 55
Pine Tree Council 218
24 Emery Corner Rd
Limerick, ME 04048


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Pine Tree Council 218
200 Congress Ave
Bath, ME 04530


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Seneca Waterways 397
P.O. Box 234
1513 Palmyra St
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American Legion Vermilion Post 29
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500 E Lafayette St
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The Villages, FL 32162


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Woodbridge, VA 22192
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Forest Grove, OR 97116


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Waxhaw, NC 28173


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Port Jefferson Station, NY 11776


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417 E Main St
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Whitewater, KS 67154


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5320 Fallbrook Ave
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14313 Medwich Rd
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2263 3rd St
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P.O. Box 182
Pembroke, MA 02359


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319 California Ave
Libby, MT 59923


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1412 4th St
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55 Kings Hwy
Amherst, NY 14226


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Anchor Tours Inc
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1140 Airport Heights Dr
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Blue Ridge Council 551
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Great Smoky Mountain Council 557
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Anniston Fire Dept
Greater Alabama Council 001
5304 Mcclellan Blvd
Anniston, AL 36206


Anniston High Jrotc
Greater Alabama Council 001
1301 Woodstock Ave
Anniston, AL 36207


Annistown Road Baptist Church
Northeast Georgia Council 101
4554 Annistown Rd
Snellville, GA 30039


Annita Kasdorf‐Meyer
Address Redacted


Annual Fire Inspections Inc
11700 Preston Rd, Ste 660‐138
Dallas, TX 75230


Annual Fire Inspections Inc
812 Warwick Dr
Plano, TX 75023


Annunciation Blessed Virgin Mary
Catholic Ch
New Birth Of Freedom 544
26 N 3Rd St
Mcsherrystown, Pa 17344


Annunciation Catholic Church
Central Florida Council 083
1020 Montgomery Rd
Altamonte Springs, FL 32714


Annunciation Catholic Church
East Carolina Council 426
Drawer B
Havelock, NC 28532


Annunciation Catholic Church
Greater Los Angeles Area 033
2701 Peck Rd
Monrovia, CA 91016


Annunciation Catholic Church
Marine Corp League
Leatherstocking 400
109 W St
Ilion, Ny 13357


Annunciation Catholic Church
Northern Star Council 250
509 W 54th St
Minneapolis, MN 55419


Annunciation Of The Blessed Virgin Mary
Greater Niagara Frontier Council 380
7580 Clinton St
Elma, NY 14059


Annunciation Of The Lord
Narragansett 546
31 1st St
Taunton, MA 02780


Annunciation Of The Lord Catholic Church
Greater Alabama Council 001
3910 Spring Ave Sw
Decatur, AL 35603


Annunciation Our Lady Episc Ch
Northeast Illinois 129
5725 Stearns School Rd
Gurnee, Il 60031


Annunciation Parish
Buffalo Trace 156
3010 E Chandler Ave
Evansville, IN 47714
Annunciation Parish
Three Fires Council 127
1820 Church Rd
Aurora, IL 60505


Annunciation Parish Scouting Committee
Great Swest Council 412
2532 Vermont St Ne
Albuquerque, NM 87110


Annunciation Parish Scouting Committee
Great Swest Council 412
2610 Utah St Ne
Albuquerque, NM 87110


Annunication Blessed Virgin Mary
Catholic Ch
New Birth Of Freedom 544
26 N 3Rd St
Mcsherrystown, Pa 17344


Annunziata Catholic Church
Southeast Louisiana Council 214
2011 Acadian Dr
Houma, LA 70363


Anoka County Sheriff S Office
Northern Star Council 250
13301 Hanson Blvd Nw
Andover, MN 55304


Anoka Home Assoc
Northern Star Council 250
16950 Tulip St Nw
Andover, MN 55304


Anoka Mason Lodge 30
Northern Star Council 250
1900 3rd Ave
Anoka, MN 55303
Anoka Police Dept
Northern Star Council 250
275 Harrison St
Anoka, MN 55303


Anoka Rotary Club
Northern Star Council 250
12 Bridge Sq, Ste 101
Anoka, MN 55303


Anqing Xingfeng Industrial Trade Co Ltd
13 Sq Km Industrial Gardon
Anqing Development Zone
Anhui
China


Ans Xtreme Performance Inc
41 Moreland Rd
Simi Valley, CA 93065


Ansel S Pendley‐Griffin
Address Redacted


Ansley Lenor Lockett
Address Redacted


Anson Jones Elementary School
Circle Ten Council 571
3048 Mount Ranier
Dallas, TX 75211


Anson Lions Club
Texas Trails Council 561
P.O. Box 68
Anson, TX 79501


Anson Middle School
Central N Carolina Council 416
832 US 52
Wadesboro, NC 28170
Ansonia Utd Methodist
Miami Valley Council, Bsa 444
P.O. Box 457
West High and Pearl
Ansonia, OH 45303


Ansonia Utd Methodist Church
Miami Valley Council, Bsa 444
P.O. Box 457
Ansonia, OH 45303


Antelope Lions Club
Golden Empire Council 047
7909 Walerga Rd
112‐172
Antelope, CA 95843


Antelope Post 172 American Legion
Mid‐America Council 326
P.O. Box 172
115 W 3rd St
Neligh, NE 68756


Antelope Trails PTO
Pikes Peak Council 060
15280 Jessie Dr
Colorado Springs, CO 80921


Antelope Valley Church
W.L.A.C.C. 051
3830 W Ave L8
Lancaster, CA 93536


Antelope Valley Emblem Club     76
W.L.A.C.C. 051
P.O. Box 2203
Lancaster, CA 93539


Antelope Valley Hospital
P.O. Box 512869
Los Angeles, CA 90051
Anthony Amrhein
Address Redacted


Anthony Barrett
Address Redacted


Anthony Berger
Address Redacted


Anthony Bonner
Address Redacted


Anthony Booth
Address Redacted


Anthony Burson‐Tmas
Address Redacted


Anthony C Romero
Address Redacted


Anthony Cardiello
Address Redacted


Anthony Casaus
Address Redacted


Anthony Chirdo
Address Redacted


Anthony Christian Church
Quivira Council, Bsa 198
817 W Wheatridge Dr
Anthony, KS 67003


Anthony Clay Wilkins
Address Redacted
Anthony D Gibbs
Address Redacted


Anthony D Stephens
Address Redacted


Anthony Debusk
Address Redacted


Anthony Despirito
Address Redacted


Anthony Dvorak
Address Redacted


Anthony Edwards
Address Redacted


Anthony Enterante Iii
Address Redacted


Anthony Fouts
Address Redacted


Anthony Fowler
Address Redacted


Anthony Geukens
Address Redacted


Anthony Guzman
Address Redacted


Anthony Haines
Address Redacted


Anthony Hancock
Address Redacted


Anthony Hankins
Address Redacted


Anthony Hensel
Address Redacted


Anthony Hunt Hamilton A .L. Post 221
The Spirit of Adventure 227
357 Great Rd
Bedford, MA 01730


Anthony Ingram
Address Redacted


Anthony Jerone Johnson
Address Redacted


Anthony Martin
Address Redacted


Anthony Martin Berger
Address Redacted


Anthony Martinez
Address Redacted


Anthony Michael
Address Redacted


Anthony Michael Luciani
Address Redacted


Anthony Montoya
Address Redacted


Anthony Morack
Address Redacted


Anthony Morales
Address Redacted


Anthony Morganelli
Address Redacted


Anthony N Cerda
Address Redacted


Anthony Napoleone‐Sweet
Address Redacted


Anthony Natiello
Address Redacted


Anthony Page Kramer
Address Redacted


Anthony R Abad Santos
Address Redacted


Anthony R Batchelor
Address Redacted


Anthony R Tribby
Address Redacted


Anthony Rabago
Address Redacted


Anthony Rafalowski
Address Redacted


Anthony Reynolds
Address Redacted
Anthony Rogers
Address Redacted


Anthony Romo
Address Redacted


Anthony Roth
Address Redacted


Anthony S Eley
Address Redacted


Anthony Scarpino
Address Redacted


Anthony Scharp
Address Redacted


Anthony Shull
Address Redacted


Anthony Silvia
Address Redacted


Anthony Starr
Address Redacted


Anthony Taylor
Address Redacted


Anthony Toole
Address Redacted


Anthony Vogl
Address Redacted


Anthony Wayne Area
8315 W Jefferson Blvd
Fort Wayne, IN 46804


Anthony Wayne Area Cncl 157
8315 W Jefferson Blvd
Fort Wayne, IN 46804


Anthony Wilson
Address Redacted


Antilles School
National Capital Area Council 082
7280 Frenchman Bay
St Thomas, VI 00802


Antioch Baptist Church
East Texas Area Council 585
P.O. Box 137
Gary, TX 75643


Antioch Baptist Church
Greater Alabama Council 001
2103 E Broad St
Gadsden, AL 35903


Antioch Baptist Church
Three Rivers Council 578
3920 W Cardinal Dr
Beaumont, TX 77705


Antioch Baptist Church Of Summit
Pathway To Adventure 456
7513 W 64th St
Summit Argo, IL 60501


Antioch Christian Church
Hoosier Trails Council 145 145
3007 E US Hwy 50
Washington, IN 47501


Antioch Church
Pikes Peak Council 060
3958 N Academy Blvd, Ste 103
Colorado Springs, CO 80917


Antioch Evangelical Lutheran Church
Great Lakes Fsc 272
33360 W 13 Mile Rd
Farmington Hills, MI 48334


Antioch Law Enforcement Post 15
c/o Antioch Police Dept
Attn Officer Garcia
433 Orchard St
Antioch, IL 60002


Antioch Lutheran Church
Piedmont Council 420
330 Old Nc 277 Loop Rd
Rr 1 Box 237
Dallas, NC 28034


Antioch Lutheran Church
Piedmont Council 420
330 Old Nc 277 Loop Rd
Dallas, NC 28034


Antioch Police Dept
Northeast Illinois 129
433 Orchard St
Antioch, IL 60002


Antioch Presbyterian Church
Cape Fear Council 425
6583 Red Springs Rd
Red Springs, NC 28377


Antioch Utd Medthodist Church
Laurel Highlands Council 527
19504 Knobley Rd
Burlington, WV 26710


Antioch Utd Methodist
Central N Carolina Council 416
3205 Antioch Church Rd
Matthews, NC 28104


Antioch Utd Methodist Church
Laurel Highlands Council 527
20121 Knobley Rd
New Creek, WV 26743


Antioch Utd Methodist Church
Lincoln Heritage Council 205
3422 Wheeler Hill Rd
Columbia, KY 42728


Antioch Utd Methodist Church
Middle Tennessee Council 560
2575 Antioch Church Rd
Clarksville, TN 37040


Antioch Utd Methodist Church
Middle Tennessee Council 560
41 Tusculum Rd
Antioch, TN 37013


Antioch Utd Methodist Church
Mt Diablo‐Silverado Council 023
50 Walton Ln
Antioch, CA 94509


Antiochian Village
40 Church Camp Trail
Bolivar, PA 15923


Antler Inn
43 Pearl Ave
Jackson, WY 83001


Antoine Lafontant
Address Redacted


Antoinette Johnson
Address Redacted


Antoinette Layton
Address Redacted


Antoinette Terrell
Address Redacted


Anton W Sobota
Address Redacted


Antonia Del Rossi Corporate ‐ Ware
2601 Summit Ave
Plano, TX 75074


Antonia Pantoja Charter School
Cradle of Liberty Council 525
4101 N American St
Philadelphia, PA 19140


Antonio Douglas Leopardi
Address Redacted


Antonio Garcia
Address Redacted


Antonio Garcia Jr
Address Redacted


Antonio Huie
Address Redacted


Antonio Mijares Ii
Address Redacted


Antonio P Karides
Address Redacted
Antony Thomas
Address Redacted


Antram Fire Equipment
Buckeye Council 436
P.O. Box 25
27990 Winona Rd
North Georgetown, OH 44665


Anvil Graphic Design, Inc
65 El Vanada Rd
Palomar Park, CA 94062


Anza Elementary
Greater Los Angeles Area 033
21400 Ellinwood Dr
Torrance, CA 90503


Anzuree Hill
Address Redacted


A‐Okay Lock   Key Service Inc
2500 Spring Valley Dr
St Peters, MO 63376‐7129


Aol Freight Solutions
P.O. Box 79009
Charlotte, NC 28271


Aon Esolutions
531 Roselane St NW, Ste 800
Marietta, GA 30060


Aon Esolutions
Accounting Dept Mail Stop 12‐15
200 E Randolph St
Chicago, IL 60601


Aon Esolutions
Douglas Wilson, Snr V Ops
531 Roselane St, Ste 800
Marietta, GA 30060


A‐One Engraving Services
14476 Midway Rd
Dallas, TX 75244


Aopa Aircraft Owners     Pilots Assn
421 Aviation Way
Frederick, MD 21701‐4798


Ap Aim Lisle Tenant LLC
Hyatt Lisle
P.O. Box 842087
Dallas, TX 75284‐2087


Ap Books
The Associated Press
P.O. Box 415458
Boston, MA 02241‐5458


Ap/World Wide Photos Inc
P.O. Box 414262
Boston, MA 02241‐4262


Apa
660 N Main Ave, Ste 100
San Antonio, TX 78205‐1217


Apac C/O Asae
1575 I St Nw
Washington, DC 20005


Apacaf
P.O. Box 2774
Fairfax, VA 22031


Apache Junction Police Dept
Grand Canyon Council 010
300 E Superstition Blvd
Apache Junction, AZ 85119
Apalachin Methodist Church
Baden‐Powell Council 368
303 Pennsylvania Ave
Apalachin, NY 13732


Apalachin Volunteer Fire Dept
Baden‐Powell Council 368
230 Pennsylvania Ave
Apalachin, NY 13732


Apapa Texas Youth Chapter
Capitol Area Council 564
6200 Brodie Ln
Austin, TX 78745


Aparna Gade
Address Redacted


Apb Security Systems, Inc
1 Teleport Dr, Ste 203
Staten Island, NY 10311


Apco Inc
Water and Woods Council 782
5511 Enterprise Dr
Lansing, MI 48911


Aperture
P.O. Box 3000
Denville, NJ 07834‐9914


Apex Fire Dept
Occoneechee 421
736 Hunter St
Apex, NC 27502


Apex Limousines
400 Hamilton Ave
Brooklyn, NY 11231
Apex Lions Club
Occoneechee 421
100 S Hughes St
P.O. Box 633
Apex, NC 27502


Apex Lions Club
Occoneechee 421
100 S Hughes St
Apex, NC 27502


Apex Police Dept
Occoneechee 421
205 Saunders St
Apex, NC 27502


Apex Utd Methodist Church
Occoneechee 421
100 S Hughes St
Apex, NC 27502


Aphm St Louis LLC
dba Hilton St Louis Downtown
400 Olive St
St Louis, MO 63102


Apics International
P.O. Box 75381
Baltimore, MD 21275‐5381


Apison Utd Methodist Church
Cherokee Area Council 556
4412 Bill Jones Rd
Apison, TN 37302


A‐Plus Marine Supply, Inc
145 San Remo Dr
Islamorada, FL 33036


Apogee Med Grp New Mexico
P.O. Box 708850
Sandy, UT 84070‐8870
Apollo Spring Church Sportsmen Inc
Moraine Trails Council 500
1921 State Route 56
Spring Church, PA 15686


Apollo‐Spring Church Sportsmen Inc
Moraine Trails Council 500
P.O. Box 81
1921 State Rte 56, Spring Church, 15686
Apollo, PA 15613


Apopka Elks 2422
Central Florida Council 083
201 W Orange St
Apopka, FL 32703


Apostle Presbyterian
Three Harbors Council 636
1509 S 76th St
Milwaukee, WI 53214


Apostles Lutheran Church
Greater Tampa Bay Area 089
200 Kingsway Rd
Brandon, FL 33510


Apostolic Lighthouse
Three Rivers Council 578
P.O. Box 370
Sour Lake, TX 77659


Apostolic Tabernacle Upc
Caddo Area Council 584
2800 Jefferson Ave
Texarkana, AR 71854


Apostolos Paul Edward Landahl
Address Redacted


Appalachian Log Structures
P.O. Box 614
Ripley, WV 25271


Appalachian Marketing Group Ltd
2770 Debbie Rd
Leon, WV 25123


Appalachian Power
1 Riverside Plaza
Colombus, OH 43215‐2372


Appalachian Power
P.O. Box 24416
Canton, OH 44701‐4416


Appalachian Power
P.O. Box 371496
Pittsburgh, PA 15250‐7496


Appalachian Rustic Furnishings, Inc
P.O. Box 131
33 N Dade Park Dr
Wildwood, GA 30757


Appalachian State University
Asu Student Accounts Office
Asu Box 32059
Boone, NC 28608


Appalachin Bible College Inc
dba Alpine Ministries
161 College Dr
Mount Hope, WV 25880


Apparel Search Co
15 Conestoga Court
Franklin Lakes, NJ 07417


Appdev Products LLC
10250 Valley View Rd, Ste 120
Eden Prairie, MN 55344
Apple Direct Mail Services, Ltd
33 35th St, Unit 14
Brooklyn, NY 11232


Apple Inc
P.O. Box 846095
Dallas, TX 75284‐6095


Apple Nine Hospitality Management Inc
Spring Hill, Ste S Fisher
9698 Hauge Rd
Indianapolis, IN 46256


Apple Nine Hsptlty Tx Serv Iii
Fairfield Inn By Marriott Austin N 1608
12536 N Ih 35 Service Rd
Austin, TX 78753


Apple Nine Hsptlty Tx Serv Iii
Fairfield Inn‐Marriott Austin N 1608
62960 Collection Dr
Chicago, IL 60693‐0960


Apple Pie Ridge Elementary School PTO
Shenandoah Area Council 598
349 Apple Pie Ridge Rd
Road
Winchester, VA 22603


Apple Ridge Funding LLC
P.O. Box 360287
Pittsburgh, PA 15250‐6287


Apple Valley Fire Dept
Northern Star Council 250
7100 147th St W
Apple Valley, MN 55124


Apple Valley Fire Protection District
California Inland Empire Council 045
22400 Headquarters Ave
Apple Valley, CA 92307


Apple Valley Police Dept
Northern Star Council 250
7100 147th St W
Apple Valley, MN 55124


Apple Valley Properties Owners Assoc
Muskingum Valley Council, Bsa 467
113 Hasbrock Cir
Howard, Oh 43028


Apple Valley Property Owners Assoc
Muskingum Valley Council, Bsa 467
113 Hasbrouck Cir
Howard, OH 43028


Appleby Manor Utd Presbyterian Church
Moraine Trails Council 500
810 Main St
Ford City, PA 16226


Applegarth Volunteer Engine Co 1
Monmouth Council, Bsa 347
130 Applegarth Rd
Monroe Twp, NJ 08831


Applegate Fire Dept
Water and Woods Council 782
2457 S Sherman Rd
Applegate, MI 48401


Appleone Employment Services
Accounts Receivable
P.O. Box 29048
Glendale, CA 91209‐9048


Appleton Area Jaycees Inc
Bay‐Lakes Council 635
P.O. Box 483
Appleton, WI 54912
Appleton International Airport
Bay‐Lakes Council 635
W6390 Challenger Dr, Ste 201
Appleton, WI 54914


Appleton Police Dept
Bay‐Lakes Council 635
222 S Walnut St
Appleton, WI 54911


Appletree Uniforms
2063 Grant Rd
Los Altos, CA 94024


Applewood Valley Utd Methodist Church
Denver Area Council 061
2035 Ellis St
Golden, CO 80401


Appliancepartspros.Com
19410 Business Ctr Dr
Northside, CA 91324


Applied Diving Service Inc
dba Rubicon Applied Divers
P.O. Box 219330
Houston, TX 77218


Applied Industrial Technologies Inc
22510 Network Pl
Chicago, IL 60673‐1225


Applied Information Management Institute
1905 Harney St, Ste 700
Omaha, NE 68102


Applied Maintenance Supplies     Solutions
P.O. Box 74186
Cleveland, OH 44194‐4186
Applied Marketing Science Inc
303 Wayman St, Ste 205
Waltham, MA 02451


Applied Measurement Professionals Inc
18000 W 105th St
Olathe, KS 66061‐7543


Appling County Sheriff Office
Coastal Georgia Council 099
560 Barnes St, Ste B
Baxley, GA 31513


Appling Middle School Jlc
Central Georgia Council 096
1210 Shurling Dr
Macon, GA 31211


Appraisal Certified Services Inc
P.O. Box 501822
Marathon, FL 33050


Appraisal Institute
c/o Grubb   Ellis
55 Chastain Rd, Ste 107
Kennesaw, GA 30144


Apprentice Coordinators Assoc Minnesota
Northern Star Council 250
5420 International Pkwy
New Hope, Mn 55428


Appspace Gmbh
c/o Appspace, Inc
Occidental Tower, Ste 1100
5005 Lbj Freeway
Dallas, TX 75244


Apptimal Mobile LLC
4710 Lorigan St
Pittsburgh, PA 15224
April Baker
Address Redacted


April Bauer
Address Redacted


April Byykkonen
Address Redacted


April Cieply
Address Redacted


April Hernandez
Address Redacted


April Howell
Address Redacted


April Hoyt
Address Redacted


April L Way
Address Redacted


April Mcmillan
Address Redacted


April Meeks
Address Redacted


April Nale
Address Redacted


April Natasha Coulter‐Latorre
Address Redacted
April Steinbring
Address Redacted


April Way
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April Wiseman
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April Wright‐Litchfield
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April Zall
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Aps International, LLC
1905 State St
Nashville, TN 37203


Apshawa Parent Teacher Assoc
Northern New Jersey Council, Bsa 333
High Crest Dr
West Milford, NJ 07480


Aptean Inc
4325 Alexander Dr, Ste 100
Alpharetta, GA 30022


Aptean Inc
dba Aptean Systems LLC
P.O. Box 743722
Atlanta, GA 30374‐3722


Aptos Grange
Silicon Valley Monterey Bay 055
2555 Mar Vista Dr
Aptos, CA 95003


Aqua City Scuba
Pine Tree Council 218
11 Water St
Waterville, ME 04901


Aqua Lung America, Inc
P.O. Box 51819
Los Angeles, CA 90051‐6119


Aquamira Technologies, Inc
P.O. Box 145
Logan, UT 84321


Aquatx Distributions Inc
P.O. Box 3134
Gardena, CA 90247


Aquent
90503 Collection Ctr
Chicago, IL 60693


Aquia Episcopal Church
National Capital Area Council 082
2938 Jefferson Davis Hwy
Stafford, VA 22554


Aquia Harbour Property Owners Assoc
National Capital Area Council 082
1221 Washington Dr
Stafford, VA 22554


Aquinas Academy
Laurel Highlands Council 527
2308 W Hardies Rd
Gibsonia, PA 15044


Aquinas College
1700 Fulton St E
Grand Rapids, MI 49506


Aquinas Scout Books
Attn Thomas Mercaldo
154 Herbert St
Milford, CT 06460


Ar   Jo   Mh LLP
Heygood, Orr   Pearson
6363 N State Hwy 161, Ste 450
Irving, TX 75038


Ar Electric Inc
718 E Edna Pl, Ste D
Covina, CA 91723


Ar Fire Protection
P.O. Box 162
Pomona, CA 91769


Arab First Utd Methodist
Greater Alabama Council 001
1058 N Main St
Arab, AL 35016


Arab Regional Office Wosm
c/o Dr Atif Abdelmageed Abdelrahman
Cairo Int L Scout Centre
2 Yussef Abbas St, Nasr City
Cairo, 11511
Egypt


Arab Scout Organization
2 Yousif Abbas Nasr City
Cairo
Egypt


Aragon Elastomers, LLC
740 S Pierce Ave 2
Louisville, CO 80027‐3058


Aragon Utd Methodist Church
Northwest Georgia Council 100
P.O. Box 183
Aragon, GA 30104
Aramark
P.O. Box 2474
Ft Worth, TX 76113‐2474


Aramark 36028
P.O. Box 36028
Dallas, TX 75235


Aramark At Heinz Field
500 Art Rooney Ave
Pittsburgh, PA 15212


Aramark Catering Inc
501 S 5th St
Richmond, VA 23219


Aramark Conference Centers
Dba Chauncey Hotel    Conference Center
One Chauncey Rd
Princeton, NJ 08541


Aramark Corp
Southwestern Illinois College
2500 Carlyle Rd
Belleville, IL 62221


Aramark Dining Services
100 Pawtucket St, Fox Hall
Lowell, MA 01854


Aramark Refreshment Services
2809 A Firestone Dr
Greensboro, NC 27406


Aramark Umass Lowell
Attn Richard Cody
100 Pawtucket St Fox Hall 2nd Flr
Lowell, MA 01853


Aramark Uniform Services Inc
Auca Chicago
25259 Network Pl
Chicago, IL 60673‐1252


Aramco Recreation
Transatlantic Council, Bsa 802
P.O. Box 5000
Dhahran,
Saudi Arabia


Aramco Recreation Dept
Transatlantic Council, Bsa 802
P.O. Box 117
Saudi Arabia


Aransas Pass Police Dept
South Texas Council 577
600 W Cleveland Blvd
Aransas Pass, TX 78336


Arapaho Utd Methodist Church
Circle Ten Council 571
1400 W Arapaho Rd
Richardson, TX 75080


Arapahoe County Sheriffs Dept
Denver Area Council 061
13101 Broncos Pkwy
Centennial, CO 80112


Arber Lewis
Address Redacted


Arbon Equipment Corp
8900 N Arbon Dr
Milwaukee, WI 53223


Arbon Equipment Corp
Customer 3406688
25464 Network Pl
Chicago, IL 60673‐1254
Arbor Aesthetics Tree Service
Mid‐America Council 326
6724 Irvington Rd
Omaha, NE 68122


Arbor Creek Elementary Boosters
Heart of America Council 307
16150 S Brougham Dr
Olathe, KS 66062


Arbor Day Foundation
P.O. Box 80208
Lincoln, NE 68501‐0208


Arbor Heights Ptsa
Chief Seattle Council 609
3701 SW 104th St
Seattle, WA 98146


Arbor Press LLC
dba Arboroakland Group
4303 Normandy Court
Royal Oak, MI 48073


Arbor Ridge PTA
Central Florida Council 083
2900 Logandale Dr
Orlando, FL 32817


Arbor View Parent Teachers Club
Three Fires Council 127
Arbor View School
22W430 Ironwood Dr
Glen Ellyn, IL 60137


Arborlawn Umc Mens Group
Longhorn Council 662
5001 Briarhaven Rd
Fort Worth, TX 76109


Arborlawn Utd Methodist Church
Longhorn Council 662
5001 Briarhaven Rd
Fort Worth, TX 76109


Arborscapes
P.O. Box 1198
Pineville, NC 28134‐1198


Arborwear
8269 E Washington
Chagrin Falls, OH 44023


Arbuckle Area
P.O. Box 5309
Ardmore, OK 73403‐0309


Arbuckle Area Cncl 468
P.O. Box 5309
Ardmore, OK 73403‐0309


Arc Thrift Store
1115 S Prairie Ave
Pueblo, CO 81005


Arcadia Elem 21St Century
Afterschool Program
Black Warrior Council 006
37430 Arcadia Dr
Tuscaloosa, Al 35404


Arcadia Firefighters Assoc
Greater Los Angeles Area 033
710 S Santa Anita Ave
Camino Grove School
Arcadia, CA 91006


Arcadia Garden Club
Southwest Florida Council 088
1005 W Magnolia St
P.O. Box 24
Arcadia, FL 34265
Arcadia Lions Club
Gateway Area 624
P.O. Box 143
Arcadia, WI 54612


Arcadia Masonic Lodge 278
Greater Los Angeles Area 033
50 W Duarte Rd
Arcadia, CA 91007


Arcadia Masonic Lodge 278 Troop 2131
Greater Los Angeles Area 033
50 W Duarte Rd
Arcadia, CA 91007


Arcadia Piol
Address Redacted


Arcadia Police Dept
Greater Los Angeles Area 033
250 W Huntington Dr
Arcadia, CA 91007


Arcadia Police Dept
Southwest Florida Council 088
725 N Brevard Ave
Arcadia, FL 34266


Arcadia Publishing, Inc
420 Wando Park Blvd
Mt Pleasant, SC 29464


Arcadia Utd Methodist Church
Palmetto Council 549
P.O. Box 143
Arcadia, SC 29320


Arcadia Valley Elks Lodge 2330
Greater St Louis Area Council 312
P.O. Box 330
204 N Mccune
Pilot Knob, MO 63663
Archaeology
P.O. Box 433091
Palm Coast, FL 32143‐9813


Archangel Raphael Coptic Church
Sam Houston Area Council 576
14220 Crescent Landing Dr
Houston, TX 77062


Archbishop Neale School
National Capital Area Council 082
104 Port Tobacco Rd
La Plata, MD 20646


Archbold Lions Club
Black Swamp Area Council 449
24657 County Rd D
Archbold, OH 43502


Archdale Friends Meeting
Old N State Council 070
114 Trindale Rd
Archdale, NC 27263


Archdale Utd Methodist
Old N State Council 070
11542 N Main St
Archdale, NC 27263


Archdale Utd Methodist
Old N State Council 070
11543 N Main St
Archdale, NC 27263


Archdiocese Of Oklahoma City
7501 NW Expressway
Oklahoma City, OK 73123‐0380


Archdiocese Of Oklahoma City
Catholic Pastoral Ctr
P.O. Box 32180
Oklahoma City, OK 73123‐0380


Archdiocese Of Philadelphia
Office For Youth   Young Adults
222 N 17th St, Rm 200
Philadelphia, PA 19103


Archdiocese Of Santa Fe
4000 St Josephs Pl Nw
Albuquerque, NM 87120


Archer Lodge Community Center
Tuscarora Council 424
14009 Buffalo Rd
Clayton, NC 27527


Archer Utd Methodist Church
Northern New Jersey Council, Bsa 333
37 E Allendale Ave
Allendale, NJ 07401


Archery Shoppe
2910 Carlisle Blvd Ne
Albuquerque, NM 87110


Archery Trade Assoc
P.O. Box 70
New Ulm, MN 56073‐0070


Archie Davis
Address Redacted


Archie Richmond
Address Redacted


Archie Utd Methodist Church
Heart of America Council 307
19 Hi View Ridge Dr
Archie, MO 64725
Architecture Demarest
Circle Ten Council 571
2320 Valdina St Studio B
Dallas, TX 75207


Architractors
4508 Downey Ne
Alburquerque, NM 87109


Archive Supplies Inc
8925 Sterling St, Ste 150
Irving, TX 75063


Archon Systems Inc
207‐260 Carlaw Ave
Toronto, ON M4M 3L1
Canada


Archon Systems, Inc
207 ‐ 260 Carlaw Ave, Unit 207
Toronto, ON M4M 3L1
Canada


Archway Classical Academy Scottsdale
Grand Canyon Council 010
7496 E Tierra Buena Ln
Scottsdale, AZ 85260


Archway Housing
Denver Area Council 061
P.O. Box 9189
Denver, CO 80209


Archway Housing
Fountain Ridge South Commty Ctr
Pikes Peak Council 060
410 Comanche Village
Fountain, Co 80817


Archway Housing And Services, Inc
Denver Area Council 061
8585 W 14th Ave
Lakewood, CO 80215


Arco Community Church
Grand Teton Council 107
P.O. Box 50
402 W Grand Ave
Arco, ID 83213


Arcola Fire Dept
National Capital Area Council 082
23675 Belmont Ridge Rd
Ashburn, VA 20148


Arcola Lions Club
Prairielands 117
P.O. Box 134
515 S Locust St
Arcola, IL 61910


Arcola Pleasant Vly Vol Fire Dept
National Capital Area Council 082
23675 Belmont Ridge Rd
Ashburn, Va 20148


Arcola Utd Methodist Church
National Capital Area Council 082
24757 Evergreen Mills Rd
Sterling, VA 20166


Arcola‐Pleasant Vly Vol Fire Dept
National Capital Area Council 082
24300 Gum Spring Rd
Arcola, Va 20166


Arctc American Red Cross
P.O. Box 1450
Minneapolis, MN 55485


Arctica Ice Cream, Inc
500 NE 185th St
Miami, FL 33179
Arcube Optical Manufacturing
959 E Collins Blvd, Ste 123
Richardson, TX 75081


Ardem Incorporated
124 Hillsborough Rd
Hillsborough, NJ 08844


Ardenwald Elementary PTO
Cascade Pacific Council 492
8950 SE 36th Ave
Portland, OR 97222


Ardith Kane
Address Redacted


Ardmore City Schools
Arbuckle Area Council 468
P.O. Box 1709
Ardmore, OK 73401


Ardmore PTO
Great Lakes Fsc 272
27001 Greater Mack Ave
Saint Clair Shores, MI 48081


Ardmore Utd Methodist Church
Old Hickory Council 427
630 S Hawthorne Rd
Winston Salem, NC 27103


Ardsley Utd Methodist Church
Westchester Putnam 388
525 Ashford Ave
Ardsley, NY 10502


Arecibo Power Squadron
Puerto Rico Council 661
P.O. Box 3062
Arecibo, PR 00613
Arepii Sa Hotel LLC
Sheraton Atlanta Hotel
165 Courtland St Ne
Atlanta, GA 30303


Ares Sportswear, Ltd
3704 Lacon Rd
Hilliard, OH 43026


Argenta‐Oreana Volunteer Fire Dept
Greater St Louis Area Council 312
303 S N St
Argenta, IL 62501


Argentine Church Of The Nazarene
Water and Woods Council 782
16248 S Seymour Rd
P.O. Box 608
Linden, MI 48451


Argonia Cornerstone Church
Quivira Council, Bsa 198
P.O. Box 147
Argonia, KS 67004


Argonne Post 32 American Legion
Sioux Council 733
P.O. Box 246
Adrian, MN 56110


Argos Lions Club
Lasalle Council 165
10861 State Rd 10
Argos, IN 46501


Argos LLC
1720 Epps Bridge Pkwy, Ste 108‐305
Athens, GA 30606


Argosy Cruises
1101 Alaskan Way, Ste 201
Seattle, WA 98101


Argus Invent, LLC
Glaciers Edge Council 620
P.O. Box 910
30 W Mifflin St, Ste 104
Madison, WI 53701


Argyle Elementary School
Atlanta Area Council 092
2420 Spring Rd Se
Smyrna, GA 30080


Argyle Haus Of Apparel
429 Jessie St
San Fernando, CA 91340


Argyle Utd Methodist Church
Longhorn Council 662
9033 Fort Worth Dr
Argyle, TX 76226


Argyle Utd Presbyterian Church
Twin Rivers Council 364
48 Main St
Argyle, NY 12809


Ari Fleet Lt
4001 Leadenhall Rd
P.O. Box 5039
Mt. Laurel, NJ 08054


Ari Fleet Lt
9000 Midlantic Dr
P.O. Box 5039
Mt. Laurel, NJ 08054


Ariana Butler
Address Redacted
Ariana D Mayher
Address Redacted


Aric Allen Agresti
Address Redacted


Arick‐L‐Lore American Legion Post 274
National Capital Area Council 082
11820 Hg Trueman Rd
Lusby, MD 20657


Arie Roland
Address Redacted


Ariel Hunt
Address Redacted


Ariel Pryor
Address Redacted


Ariella C Herman
Address Redacted


Aris
P.O. Box 72078
Cleveland, OH 44192‐0002


Arise In Christ Evangelical Lutheran Ch
Tecumseh 439
116 E Main St
Donnelsville, Oh 45319


Aristol Classical Academy
Sam Houston Area Council 576
5618 11th St
Katy, TX 77493


Ariva Distribution Inc
62493 Collections Ctr Dr
Chicago, IL 60693‐0624
Arizona Battery
P.O. Box 5731
Yuma, AZ 85366


Arizona Benefit Plans Inc
1850 N Central Ave, Ste 2000
Phoenix, AZ 85004


Arizona Biltmore
2400 E Missouri Ave
Phoenix, AZ 85016


Arizona Cap Co
6353 Nugget Patch Tr
Prescott, AZ 86303


Arizona Corp Commission
Annual Reports‐Corp Div
1300 W Washington
Phoenix, AZ 85007‐2929


Arizona Corp Commission
c/o Annual Reports‐Corp Div
1300 W Washington
Phoenix, AZ 85007‐2929


Arizona Dept Of Revenue
Attn Unclaimed Property Section
1600 W Monroe St
Phoenix, AZ 85007


Arizona Dept Of Revenue
P.O. Box 29009
Phoenix, AZ 85038


Arizona Dept Of Revenue
P.O. Box 29070
Phoenix, AZ 85038‐9070
Arizona Dept Of Revenue
Unclaimed Property Unit
P.O. Box 29026
Phoenix, AZ 85038‐9026


Arizona Families For Home Education
P.O. Box 8291
Fort Mohave, AZ 86427


Arizona Freedom Sports, Inc
Grand Canyon Council 010
13825 N 32nd St, Ste 16
Phoenix, AZ 85032


Arizona Office Technologies
4320 E Cotton Ctr Blvd, Ste 100
Phoenix, AZ 85040‐8852


Arizona Pepper Products
P.O. Box 40605
Mesa, AZ 85274


Arizona Republic
P.O. Box 1950
Phoenix, AZ 85001


Arizona S Duff
Address Redacted


Arizona Secretary Of State
Char. Org. Business Svc. Div.
1700 W Washington, 7th Fl
Phoenix, AZ 85007‐2888


Arizona State University
Attn Financial Aid
P.O. Box 870412
Tempe, AZ 85287‐0412


Arizona State University
Attn Scholarship Dept
P.O. Box 870412
Tempe, AZ 85287‐0412


Arizonas Finest Electrical Services LLC
2725 N Kenton
Mesa, AZ 85215


Ark And Dove Presbyterian Church
Baltimore Area Council 220
8424 Piney Orchard Pkwy
Odenton, MD 21113


Ark Restoration Church International
South Florida Council 084
P.O. Box 26687
Tamarac, FL 33320


Arkadin
Attn Accounts Receivable
P.O. Box 347261
Pittsburgh, PA 15251‐4261


Arkansas 4‐H Center
1 Four H Way
Little Rock, AR 72223


Arkansas Assoc Of The Deaf
Quapaw Area Council 018
2400 W Markham St
Little Rock, AR 72205


Arkansas Canoe Club
Westark Area Council 016
2509 Interstate 30 S
Bryant, AR 72022


Arkansas Dept Of Finance
P.O. Box 9941 Wh
Little Rock, AR 72203‐9941


Arkansas Dept Of Finance
P.O. Box 9941 Wh
Little Rock, AR 72203‐9941


Arkansas Destinations Inc
301 Pepper Ave
Little Rock, AR 72202


Arkansas Outrigger Canoe Team
Westark Area Council 016
P.O. Box 9282
Russellville, AR 72811


Arkansas State University
Attn Dena B Graves
P.O. Box 2640
State University, AR 72467


Arkansas Tech University
Attn Deborah
1605 Coliseum Dr, Rm 117
Russellville, AR 72801‐8819


Arkport Utd Methodist Church
Five Rivers Council, Inc 375
Corner W Ave   Main
Arkport, NY 14807


Arkus Inc
1441 Broadway, 6th Fl
New York, NY 10018


Arlayne Braatz
Address Redacted


Arlene And Louise Wesswick Foundation
Trapper Trails 589
1624 Collins St
Rock Springs, WY 82901


Arlene Brewster
Address Redacted
Arlene G Nora
Address Redacted


Arlene M Davidson
Address Redacted


Arlene Matheson
Address Redacted


Arlene Nelson
Address Redacted


Arlene Stratman
Address Redacted


Arlette Starks
Address Redacted


Arli Boustead
Address Redacted


Arlin Neumann
Address Redacted


Arlina Jones
Address Redacted


Arline C Harris
Address Redacted


Arline Fifield
Address Redacted


Arlington Christian Church
Crossroads of America 160
P.O. Box 74
Arlington, IN 46104
Arlington Church Of The Brethren
National Capital Area Council 082
300 N Montague St
Arlington, VA 22203


Arlington Community Church
Mid‐America Council 326
P.O. Box 187
355 N 4th St
Arlington, NE 68002


Arlington Custom Frame   Design
5222 Vista Verde Dr
Arlington, TX 76017


Arlington Elementary School
Laurel Highlands Council 527
800 Pectenwald St
Pittsburgh, PA 15210


Arlington Elementary School
West Tennessee Area Council 559
701 Arlington Ave
Jackson, TN 38301


Arlington Fairfax Chapter Iwla
National Capital Area Council 082
P.O. Box 366
Centreville, VA 20122


Arlington Forest Utd Methodist Church
National Capital Area Council 082
4701 Arlington Blvd
Arlington, VA 22203


Arlington Heights Methodist Church
Longhorn Council 662
4200 Camp Bowie Blvd
Fort Worth, TX 76107
Arlington Lions Club
Mount Baker Council, Bsa 606
19509 Burn Rd
Arlington, WA 98223


Arlington Middle School
Crossroads of America 160
4825 N Arlington Ave
Indianapolis, IN 46226


Arlington Nazarene Church
Blue Mountain Council 604
P.O. Box 487
Arlington, OR 97812


Arlington Police Dept
Longhorn Council 662
P.O. Box 1065
Arlington, TX 76004


Arlington Presbyterian Ch, Covenant, Inc
National Capital Area Council 082
2666 Military Rd
Arlington, Va 22207


Arlington Reformed Church
Hudson Valley Council 374
22 Raymond Ave
Poughkeepsie, NY 12603


Arlington Rescue Squad
Green Mountain 592
P.O. Box 295
Arlington, VT 05250


Arlington Resort Hotel      Spa
P.O. Box 5652
Hot Springs, AR 71902


Arlington Unc
Middle Tennessee Council 560
1360 Murfreesboro Pike
Nashville, TN 37217


Arlington Utd Methodist
Middle Tennessee Council 560
3105 Hamilton Church Rd
Antioch, TN 37013


Arlington Utd Methodist Church
Black Swamp Area Council 449
P.O. Box 380
Arlington, OH 45814


Arlington Utd Methodist Church
Chickasaw Council 558
6145 Quintard St
Arlington, TN 38002


Arlington Utd Methodist Church
Hoosier Trails Council 145 145
1820 W Arlington Rd
Bloomington, IN 47404


Arlington Utd Methodist Church
Middle Tennessee Council 560
1360 Murfreesboro Pike
Nashville, TN 37217


Arlington Utd Methodist Mens Club
Greater St Louis Area Council 312
3770 Mckelvey Rd
Bridgeton, MO 63044


Arlington Woods 99 Rft
Crossroads of America 160
5801 E 30th St
Indianapolis, IN 46218


Arlington Woods School 99 As
Crossroads of America 160
5801 E 30th St
Indianapolis, IN 46218
Arm Bible Class At Immanuel Lutheran
Potawatomi Area Council 651
13445 Hampton Rd
Brookfield, WI 53005


Arma Dallas Chapter
P.O. Box 844517
Dallas, TX 75284‐4517


Arma Fort Worth Chapter
P.O. Box 17148
Ft Worth, TX 76102


Arma International
11880 College Blvd, Ste 450
Overland Park, KS 66210


Arma International
Dept 999239
P.O. Box 219081
Kansas City, MO 64121‐9081


Arma Rio Grande Chapter
Attn Seminar Coordinator
P.O. Box 26571
Albuquerque, NM 87125


Armand Marine Services LLC
2571 SE 13th Ct
Homestead, FL 33035‐2116


Armand Marine Services LLC
c/o Harold Erien Ochstein
73800 Overseas Hwy
Islamorada, FL 33036


Armando Diaz
Address Redacted


Armbrecht Jackson, LLP
P.O. Box 290
Mobil, AL 36601


Armchem International Corp
3563 NW 53rd Ct
Ft Lauderdale, FL 33309


Armenia Utd Methodist Church
Palmetto Council 549
2840 Armenia Rd
Chester, SC 29706


Armenian All Saints Apostolic Church
Northeast Illinois 129
1701 Greenwood Rd
Glenview, IL 60026


Armenian General Benevolent Union
Greater Los Angeles Area 033
2495 E Mountain St
Pasadena, CA 91104


Armenian General Benovolent Union
W.L.A.C.C. 051
6844 Oakdale Ave
Canoga Park, CA 91306


Armistice Memorial Post 2195 Vfw
Circle Ten Council 571
P.O. Box 284
Allen, TX 75013


Armo Business Connections Usa, Inc
130 Church St 390
New York, NY 10007


Armour Fire Protection
P.O. Box 211622
Bedford, TX 76095


Armstrong Atlantic State University
Attn Office of Financial Aid
11935 Abercorn St
Savannah, GA 31419


Armstrong Chapel Utd Methodist Church
Dan Beard Council, Bsa 438
5125 Drake Rd
Cincinnati, OH 45243


Armstrong Communications
109 S Warren St, Ste 700
Syracuse, NY 13202


Armstrong Elementary School PTA
National Capital Area Council 082
11900 Lake Newport Rd
Reston, VA 20194


Armstrong Ford
30725 S Federal Hwy
Homestead, FL 33030


Armstrong Relocation
3927 Winchester
Memphis, TN 38118


Armstrong School PTO
Northern Star Council 250
8855 Inwood Ave S
Cottage Grove, MN 55016


Armtech Insurance Services Inc
7101 82nd St
Lubbock, TX 79424


Armtech Insurance Services Inc
P.O. Box 69
Wofforth, TX 79382


Army Aviation Assoc America
Middle Tennessee Council 560
P.O. Box 356
Aaaa Chapter President
Fort Campbell, KY 42223


Army Cadet Explorers Post 3
California Inland Empire Council 045
P.O. Box 1951
San Jacinto, CA 92581


Army Cadets Of Bakersfield
Southern Sierra Council 030
283 Bighorn Meadow Dr
Bakersfield, CA 93308


Army Transportation Museum Foundation
Colonial Virginia Council 595
P.O. Box 4730
Fort Eustis, VA 23604


Army‐Navy Store
1018 W Loop 281
Longview, TX 75604


Army‐Navy Stores, Inc
Attn A/P
322 N Higgins
Missoula, MT 59802


Arnaldo Cedar Barcarini
Reconquista 484 Fl 3
Buenos Aires, Ba, 1003
Argentina


Arndt S Lutheran Church
Minsi Trails Council 502
1851 Arndt Rd
Easton, PA 18040


Arnett Public School
Cimarron Council 474
P.O. Box 317
Arnett, OK 73832
Arnica Software Corp
410 Merton St
Toronto, On M4S 1B3
Canada


Arnie B Coritana
Address Redacted


Arnold   Assoc Inc
15275 Midway Rd, Ste 170
Addison, TX 75001


Arnold Baumann
Address Redacted


Arnold Johnson
Address Redacted


Arnold Landry
Address Redacted


Arnold Landsverk
Address Redacted


Arnold Lewis Jr
Address Redacted


Arnold Martin
Address Redacted


Arnold Mills Utd Methodist Church
Narragansett 546
690 Nate Whipple Hwy
Cumberland, RI 02864


Arnold School PTO
Cornhusker Council 324
5000 Mike Scholl St
Lincoln, NE 68524


Arnoldsburg PTO
Buckskin 617
90 Spring Run Rd
Arnoldsburg, WV 25234


Aroma Bhargava
Address Redacted


Aromas Eagles 72
Silicon Valley Monterey Bay 055
225 Aromas Rd
Aromas, CA 95004


Aros Del Norte
Puerto Rico Council 661
393 Calle Las Cuevitas
Quebradillas, PR 00678


Around The World Productions
11870 Santa Monica Blvd, Ste 106‐556
West Los Angeles, CA 90025


Array Technologies, Inc
P.O. Box 3976
Albuquerque, NM 87190‐3976


Arrington Rhett Sr
Address Redacted


Arrow Creative, LLC
425 Magnolia Ave
Charlotte, NC 28203


Arrow Exterminatiors Inc
P.O. Box 159
Woodstock, GA 30188‐0159


Arrow Heights Baptist Church
Indian Nations Council 488
3201 S Elm Pl
Broken Arrow, OK 74012


Arrow Stage Lines
4220 S 52nd St
Omaha, NE 68117


Arrow Systems Integration Inc
P.O. Box 4869, Dept 145
Houston, TX 77210


Arrow Wv Inc Operating Account
1325 W Walnut Hill Ln
Irving, TX 75015‐2079


Arrow Wv, Inc
1325 W Walnut Hill Lane
Irving, TX 75038


Arrowhead Radio   Security
c/o Hunt Electric Corp, Cm 9488
St. Paul, MN 55170‐9488


Arrowhead Sales
480 Stillwaters Dr Sw
Marietta, GA 30064


Arrowood Assoc, Inc
P.O. Box 7601
Charlotte, NC 28241‐7601


Arroyo Del Oso Elementary School PTA
Great Swest Council 412
6504 Harper Dr Ne
Albuquerque, NM 87109


Arroyo Grande Optimist Club
Los Padres Council 053
P.O. Box 344
Arroyo Grande, CA 93421
Arroyo Grande Police Dept
Los Padres Council 053
200 N Halcyon Rd
Arroyo Grande, CA 93420


Ars
536 Broadway, 5th Flr At Spring St
New York, NY 10012


Arsenal Security Group Inc
1600 Tysons Blvd 8th Fl
Mclean, VA 22102


Arsenal Tech High School
Crossroads of America 160
1500 E Michigan St
Indianapolis, IN 46201


Art Braatz
Address Redacted


Art Care Inc
17 Windy Meadow Ln
Canyon, TX 79015


Art Of The West Magazine
15612 Hwy 7, Ste 235
Minnetonka, MN 55345


Art Quintana S Indian Trading Co
P.O. Box 1785
Gallup, NM 87301


Art Semro Post 28 The American Legion
Grand Columbia Council 614
P.O. Box 904
Ephrata, WA 98823


Art Space Studio, LLC
14126 River Gate Pkwy 200
Charlotte, NC 28273


Artech Inc
865 Lind Ave Sw
Renton, WA 98057


Artelous Williams
Address Redacted


Artemis Fine Arts Inc
P.O. Box 540156
Dallas, TX 75354


Artemus Ward School
Lake Erie Council 440
4315 W 140th St
Cleveland, OH 44135


Artesia Fire Equipment, Inc
P.O. Box 1367
Artesia, NM 88210


Artex Group Inc
1004 Charlotte Hwy
Fairview, NC 28730


Artgame Limited
7370 Egate Rd, Ste 150
Henderson, NV 89011


Arthur   Polly Mays High School
South Florida Council 084
11700 SW 216th St
Goulds, FL 33170


Arthur Adler
Address Redacted


Arthur Annweiler Jr
Address Redacted


Arthur Antonioni
Address Redacted


Arthur Ashe Charter School
Southeast Louisiana Council 214
1456 Gardena Dr
New Orleans, LA 70122


Arthur Ashe Charter Schools Girls
Southeast Louisiana Council 214
1456 Gardena Dr
New Orleans, LA 70122


Arthur Daniel Priest
Address Redacted


Arthur E Bouton Post 770 AL
Baden‐Powell Council 368
4431 Seneca Rd
Trumansburg, Ny 14886


Arthur E Lindberg
Address Redacted


Arthur Eddy Academy
Water and Woods Council 782
1000 Cathay St
Saginaw, MI 48601


Arthur Elementary School PTA
Hawkeye Area Council 172
2630 B Ave Ne
Cedar Rapids, IA 52402


Arthur Estrada
Address Redacted


Arthur Fowler
Address Redacted


Arthur Garrison
Address Redacted


Arthur Harris Jr
Address Redacted


Arthur Hawkins
Address Redacted


Arthur Hook
Address Redacted


Arthur J Dollard
Address Redacted


Arthur Jones
Address Redacted


Arthur Koenig
Address Redacted


Arthur Leslow Community Center
Southern Shores Fsc 783
120 Echester St
Monroe, MI 48161


Arthur Lewis
Address Redacted


Arthur Lions Club
Prairielands 117
106 W 3rd St
Arthur, IL 61911


Arthur Lobdell
Address Redacted
Arthur Marty
Address Redacted


Arthur Mathews
Address Redacted


Arthur Mowad Cpa
Sam Houston Area Council 576
135 Towering Pines Dr
The Woodlands, TX 77381


Arthur Murray Dance Studio
Northern Star Council 250
5041 France Ave S
Edina, MN 55410


Arthur Raymond
Address Redacted


Arthur S Creative Events    Catering
860 Sunshine Ln
Altamonte Springs, FL 32714


Arthur Scott
Address Redacted


Arthur Silsby Ii
Address Redacted


Arthur Stevens
Address Redacted


Arthur Styles
Address Redacted


Arthur Utd Methodist
Prairielands 117
128 E Illinois St
Arthur, IL 61911
Arthur W Ankeney
Address Redacted


Arthur Washburn Iii
Address Redacted


Arthur Wiegand
Address Redacted


Artic‐Temp, Inc
9699 Overseas Hwy
Marathon, FL 33050


Articulate
244 5th Ave, Ste 2960
New York, NY 10001


Artificial Intelligence In Action
Indian Waters Council 553
396 St Paul St
Orangeburg, SC 24175


Artinian, LLC
1 Neperan Rd
Tarrytown, NY 10591


Artisan Awards
9328 N Ashley St
Tampa, FL 33612‐7920


Artisans Order Of Mutual Protection
Cradle of Liberty Council 525
8100 Roosevelt Blvd
Philadelphia, PA 19152


Artisha Lawson
Address Redacted
Artist Corner
Utah National Parks 591
380 S Orem Blvd
Orem, UT 84057


Artist Quarter Minyan
Transatlantic Council, Bsa 802
35 Yud Chet St
Tzfat,
Israel


Artistic Monuments
Attn Jill Brown
23 Tabernacle St
Crossville, TN 38555


Artistic Transformations
74 Camino Don Fidel
Santa Fe, NM 87507


Artlist Ltd
P.O. Box 48
Park Edison, 15148
Israel


Arts   Exhibitions International Inc
Attn Bernadett Swarthout
930 W 7th Ave
Denver, CO 80204


Arts Academy After School
Buckeye Council 436
1100 10th St Ne
Canton, OH 44704


Arts Academy Elementary Charter School
Minsi Trails Council 502
601 W Union St
Allentown, PA 18101


Arts N Autism
Black Warrior Council 006
P.O. Box 20111
Tuscaloosa, AL 35402


Arturo Malpica
Address Redacted


Arun Kumar Kothapalli
Address Redacted


Arundel Elementary School
Baltimore Area Council 220
2400 Round Rd
Baltimore, MD 21225


Arundel Historical Society
Pine Tree Council 218
3 Talbot Dr
Arundel, ME 04046


Arvada Covenant Church
Denver Area Council 061
5555 Ward Rd
Arvada, CO 80002


Arvada Rifle And Pistol Club Inc
Denver Area Council 061
P.O. Box 3
Arvada, CO 80001


Arvin Police Dept
Southern Sierra Council 030
200 Campus Dr
Arvin, CA 93203


Aryca Sports   Accessories
P.O. Box 2333
Land O Lakes, FL 34639


Arzo Peterson
Address Redacted
A‐S Medication Solutions, LLC
224 N Park Ave
Fremont, NE 68025


A‐S Medication Solutions, LLC
P.O. Box 8
Fremont, NE 68025


Asa Messer Elementary School P T O
Narragansett 546
158 Messer St
Providence, RI 02909


Asae The Center For Assoc Leadership
c/o Sun Trust Bank
P.O. Box 79263
Baltimore, MD 21279‐0263


Asamblea Apostolica
East Texas Area Council 585
310 S Fleishel Ave
Tyler, TX 75702


Asap Sanitary
Lake Erie Council 440
P.O. Box 245
Chardon, OH 44024


Asbury Eagles Club Aerie 4458
Northeast Iowa Council 178
5900 Saratoga Rd, Ste 10
Asbury, IA 52002


Asbury First Utd Methodist Church
Seneca Waterways 397
1050 E Ave
Rochester, NY 14607


Asbury Memorial Utd Methodist Church
Indian Waters Council 553
1005 Asbury Dr
Columbia, SC 29209


Asbury Methodist Church
Baltimore Area Council 220
78 Church Rd
Arnold, MD 21012


Asbury Methodist Church
Heart of America Council 307
5400 W 75th St
Prairie Village, KS 66208


Asbury Methodist Church
Narragansett 546
143 Ann Mary Brown Dr
Warwick, RI 02888


Asbury Methodist Church
Sequoyah Council 713
201 S Main St
Greeneville, TN 37743


Asbury South Utd Methodist Church
Simon Kenton Council 441
4760 Winchester Pike
Columbus, OH 43232


Asbury U M C Of Orange Park
North Florida Council 087
16 College Dr
Orange Park, FL 32065


Asbury Utd Methodist
Greater Alabama Council 001
980 Hughes Rd
Madison, AL 35758


Asbury Utd Methodist Ch Charles Town
Shenandoah Area Council 598
110 W N St
Charles Town, Wv 25414
Asbury Utd Methodist Ch Little Rock
Quapaw Area Council 018
1700 Napa Valley Dr
Little Rock, Ar 72212


Asbury Utd Methodist Chruch
Sam Houston Area Council 576
5354 Space Center Blvd
Pasadena, TX 77505


Asbury Utd Methodist Church
Anthony Wayne Area 157
204 E Arch St
Portland, IN 47371


Asbury Utd Methodist Church
Anthony Wayne Area 157
605 E Main St
Albion, IN 46701


Asbury Utd Methodist Church
Attn Scouting Coordinator
Greater Alabama Council 001
6690 Cahaba Valley Rd
Birmingham, AL 35242


Asbury Utd Methodist Church
Chattahoochee Council 091
2312 Ellen Ave
Columbus, GA 31903


Asbury Utd Methodist Church
Connecticut Rivers Council, Bsa 066
90 Church Ave
Bristol, CT 06010


Asbury Utd Methodist Church
De Soto Area Council 013
1300 E University
Magnolia, AR 71753
Asbury Utd Methodist Church
Del Mar Va 081
1401 Camden Ave
Salisbury, MD 21801


Asbury Utd Methodist Church
Del Mar Va 081
22 E Mount Vernon St
Smyrna, DE 19977


Asbury Utd Methodist Church
Del Mar Va 081
300 S Basin Rd
New Castle, DE 19720


Asbury Utd Methodist Church
Evangeline Area 212
101 Live Oak Blvd
Lafayette, LA 70503


Asbury Utd Methodist Church
Greater Tampa Bay Area 089
4204 Thys Rd
New Port Richey, FL 34653


Asbury Utd Methodist Church
Heart of Virginia Council 602
324 N 29th St
Richmond, VA 23223


Asbury Utd Methodist Church
Hoosier Trails Council 145 145
1751 27th St
Columbus, IN 47201


Asbury Utd Methodist Church
Illowa Council 133
1809 Mississippi Blvd
Bettendorf, IA 52722


Asbury Utd Methodist Church
Louisiana Purchase Council 213
2100 New Natchitoches Rd
West Monroe, LA 71292


Asbury Utd Methodist Church
Minsi Trails Council 502
1533 Springhouse Rd
Allentown, PA 18104


Asbury Utd Methodist Church
Norwela Council 215
3200 Airline Dr
Bossier City, LA 71111


Asbury Utd Methodist Church
Occoneechee 421
6612 Creedmoor Rd
Raleigh, NC 27613


Asbury Utd Methodist Church
Piedmont Council 420
3097 Asbury Church Rd
Lincolnton, NC 28092


Asbury Utd Methodist Church
Quivira Council, Bsa 198
2801 W 15th St N
Wichita, KS 67203


Asbury Utd Methodist Church
San Francisco Bay Area Council 028
4743 E Ave
Livermore, CA 94550


Asbury Utd Methodist Church
Shenandoah Area Council 598
110 W N St
Charles Town, WV 25414


Asbury Utd Methodist Church
Simon Kenton Council 441
55 W Lincoln Ave
Delaware, OH 43015
Asbury Utd Methodist Church
South Texas Council 577
7501 S Staples St
Corpus Christi, TX 78413


Asbury Utd Methodist Church
Stonewall Jackson Council 763
205 S Main St
Harrisonburg, VA 22801


Asbury Utd Methodist Church
Voyageurs Area 286
6822 Grand Ave
P.O. Box 7135
Duluth, MN 55807


Asbury Utd Methodist Church
Water and Woods Council 782
1653 Davison Rd
Flint, MI 48506


Asbury Utd Methodist Church
West Tennessee Area Council 559
4173 Lightfoot Luckett Rd
Ripley, TN 38063


Asbury Utd Methodist Church Men S Cub
Ozark Trails Council 306
1500 S Campbell Ave
Springfield, MO 65807


Asbury Utd Methodist Men
Abraham Lincoln Council 144
1229 S Grand Ave E
Springfield, IL 62703


Asbury Utd Methodist Men
Indian Nations Council 488
6767 S Mingo Rd
Tulsa, OK 74133
Asbury Woods
French Creek Council 532
4105 Asbury Rd
Erie, PA 16506


Asc Greenway
Attn Linda Turner
P.O. Box 1209
Fort Mill, SC 29716


Ascap
21678 Network Pl
Chicago, IL 60673‐1216


Ascap
Two Music Square W 2nd Fl
Nashville, TN 37203


Ascension Catholic Church
Central Florida Council 083
2950 N Harbor City Blvd
Melbourne, FL 32935


Ascension Catholic Church
Greater St Louis Area Council 312
230 Santa Maria Dr
Chesterfield, MO 63005


Ascension Church
Cascade Pacific Council 492
1823 SW Spring St
Portland, OR 97201


Ascension Day School
Evangeline Area 212
1030 Johnston St
Lafayette, LA 70501


Ascension Health At Nolan
Great Lakes Fsc 272
1150 E Lantz St
Detroit, MI 48203


Ascension Holy Name Society
Pathway To Adventure 456
808 S E Ave
Oak Park, IL 60304


Ascension Lutheran Ch Fellowship Brd
Three Harbors Council 636
1236 S Layton Blvd
2209 S 29th St
Milwaukee, WI 53215


Ascension Lutheran Church
Bay‐Lakes Council 635
2911 Libal St
Green Bay, WI 54301


Ascension Lutheran Church
Denver Area Council 061
1701 W Caley Ave
Littleton, CO 80120


Ascension Lutheran Church
Georgia‐Carolina 093
2860 Wells Dr
Augusta, GA 30906


Ascension Lutheran Church
Greater St Louis Area Council 312
5347 Donovan Ave
Saint Louis, MO 63109


Ascension Lutheran Church
Hawkeye Area Council 172
2210 Grand Ave
Marion, IA 52302


Ascension Lutheran Church
Longs Peak Council 062
712 Storey Blvd
Cheyenne, WY 82009
Ascension Lutheran Church
Mid‐America Council 326
406 5th Ave S
Coon Rapids, IA 50058


Ascension Lutheran Church
Pennsylvania Dutch Council 524
P.O. Box 635
600 W Penn Grant Rd
Willow St, PA 17584


Ascension Lutheran Church
Quivira Council, Bsa 198
842 N Tyler Rd
Wichita, KS 67212


Ascension Lutheran Church
Simon Kenton Council 441
1479 Morse Rd
Columbus, OH 43229


Ascension Lutheran Church
Yucca Council 573
6520 Loma De Cristo Dr
El Paso, TX 79912


Ascension Lutheran Day School
Ventura County Council 057
1600 E Hillcrest Dr
Thousand Oaks, CA 91362


Ascension Parish
Northeastern Pennsylvania Council 501
612 Hudson St
Forest City, PA 18421


Ascension Parish Sales Tax Authority
P.O. Box 1718
Gonzales, LA 70707‐1718
Ascension Sales Group
420 Corporate Cir Dr, Ste F
Golden, CO 80401


Asco Power Services Inc
P.O. Box 73473
Chicago, IL 60673‐7473


Ase Telecom   Data Inc
8545 NW 29 St
Doral, FL 33122


Asel Art Supply
2701 Cedar Springs
Dallas, TX 75201


Asg Security / Ultraguard
P.O. Box 601686
Charlotte, NC 28260‐1686


Ash Township Firefighters Assoc
Southern Shores Fsc 783
2311 Ready Rd
Carleton, MI 48117


Ashaway Sportsmans Club
Narragansett 546
1 Gunclub Pathway
Hopkinton, RI 02833


Ashaway Volunteer Fire Assoc
Narragansett 546
213 Main St
Ashaway, RI 02804


Ashburn Volunteer Fire   Rescue Dept
National Capital Area Council 082
20688 Ashburn Rd
Ashburn, VA 20147


Ashburn Volunteer Fire Rescue
Attn Barbara Murphy
21004 Fowlers Mill
Ashburn, VA 20147


Ashburnham‐American Legion Post 142
Heart of New England Council 230
132 Williams Rd
Ashburnham, MA 01430


Ashburnham‐Fire Rescue Dept
Heart of New England Council 230
99 Central St
Ashburnham, MA 01430


Ashbury Utd Methodist Church
San Francisco Bay Area Council 028
4743 E Ave
Livermore, CA 94550


Ashby Lions Club
Northern Lights Council 429
P.O. Box 81
Ashby, MN 56309


Ashby‐American Legion Post 361
Heart of New England Council 230
536 New Ipswich Rd
Ashby, MA 01431


Ashby‐Fire Dept
Heart of New England Council 230
1093 Main St
Ashby, MA 01431


Ashdown Jr. High School
Caddo Area Council 584
600 S Ellen Dr
Ashdown, AR 71822


Ashdown Police Dept
Caddo Area Council 584
P.O. Box 703
Ashdown, AR 71822


Asheboro Police Dept
Old N State Council 070
205 E Academy St
Asheboro, NC 27203


Asheville Fire   Rescue
Daniel Boone Council 414
P.O. Box 7148
Asheville, NC 28802


Asheville Historic Trolley Tours
58 Sourwood Dr
Mills River, NC 28759


Ashfield Lions Club
Western Massachusetts Council 234
District 33Y
Ashfield, MA 01330


Ashford Utd Methodist
Sam Houston Area Council 576
2201 S Dairy Ashford Rd
Houston, TX 77077


Ashford Utd Methodist Church
Sam Houston Area Council 576
2201 S Dairy Ashford Rd
Houston, TX 77077


Ashland 1St Utd Methodist Church
Greater Alabama Council 001
P.O. Box 305
Ashland, AL 36251


Ashland Church Of Christ
Abraham Lincoln Council 144
320 W Washington St
Ashland, IL 62612
Ashland City Police Dept
Middle Tennessee Council 560
233 Tennessee Waltz Pkwy
Ashland City, TN 37015


Ashland City Utd Methodist Church
Middle Tennessee Council 560
103 Oak St
Ashland City, TN 37015


Ashland City Utd Methodist Church
Middle Tennessee Council 560
2226 Oak St
Ashland City, TN 37015


Ashland County Municipal Ct
1209 E Main St
P.O. Box 385
Ashland, OH 44805


Ashland Cty Wildlife Conservation League
1920 Cr 1035
Ashland, OH 44805


Ashland Elementary School
National Capital Area Council 082
15300 Bowmans Folly Dr
Manassas, VA 20112


Ashland Elementary School PTO
Greater St Louis Area Council 312
3921 N Newstead Ave
Saint Louis, MO 63115


Ashland Evangelical Presbyterian Church
Garden State Council 690
33 E Evesham Rd
Voorhees, NJ 08043


Ashland Fire Dept
70 Cedar Sts
Ashland, MA 01721
Ashland Fire Dept
c/o Robert Gemma
305 Cedar St
Ashland, MA 01721


Ashland Fire Dept
Daniel Webster Council, Bsa 330
9 Main St
Ashland, NH 03217


Ashland First Christian Church
Cornhusker Council 324
1702 Boyd St
Ashland, NE 68003


Ashland Lake Gun Club
Great Trail 433
1193 Brandywine Dr
Medina, OH 44256


Ashland Lions Club
Crater Lake Council 491
P.O. Box 3472
Ashland, OR 97520


Ashland Place Utd Methodist Church
Mobile Area Council‐Bsa 004
15 Wisteria Ave
Mobile, AL 36607


Ashland Ridge PTO
Mid Iowa Council 177
2600 NW Ash Dr
Ankeny, IA 50023


Ashland Ski Team, Inc
Crater Lake Council 491
590 Glenview Dr
Ashland, OR 97520
Ashland Utd Methodist Church
Indian Waters Council 553
2600 Ashland Rd
Columbia, SC 29210


Ashland Utd Methodist Church
Pony Express Council 311
2711 Ashland Ave
Saint Joseph, MO 64506


Ashlar Lodge 29
Montana Council 315
1101 Broadwater Ave
Billings, MT 59102


Ashlee N Boydston
Address Redacted


Ashlee Olson
Address Redacted


Ashleigh Kripinski
Address Redacted


Ashley Academy PTA
Old Hickory Council 427
1647 NE Ashley School Cir
Winston Salem, NC 27105


Ashley Bialko
Address Redacted


Ashley Bolender
Address Redacted


Ashley Chapel Educational Center
Central N Carolina Council 416
377 Mizpah Rd
Rockingham, NC 28379
Ashley D Brighton
Address Redacted


Ashley Daniels
Address Redacted


Ashley Declue
Address Redacted


Ashley E Coco
Address Redacted


Ashley Fenn
Address Redacted


Ashley Holder
Address Redacted


Ashley L Cline
Address Redacted


Ashley Lennon
Address Redacted


Ashley Lillich
Address Redacted


Ashley Marie Finstad
Address Redacted


Ashley Mcdowell
Address Redacted


Ashley Metelski
Address Redacted


Ashley N Hall
Address Redacted
Ashley Sinner
Address Redacted


Ashley Wilson
Address Redacted


Ashlyn Craig
Address Redacted


Ashlynn Allred
Address Redacted


Ashtabula Rod And Gun Club
Lake Erie Council 440
6739 Ninevah Rd
Ashtabula, OH 44004


Ashtabula Ymca
Lake Erie Council 440
263 W Prospect Rd
Ashtabula, OH 44004


Ashton Business Boosters Assoc
Blackhawk Area 660
P.O. Box 362
Ashton, IL 61006


Ashton M Arnold
Address Redacted


Ashton Utd Methodist Church
National Capital Area Council 082
17314 New Hampshire Ave
Ashton, MD 20861


Ashville Kiwanis
Simon Kenton Council 441
585 Clark Ave
Ashville, OH 43103
Ashville Kiwanis Club
Simon Kenton Council 441
P.O. Box 55
Ashville, OH 43103


Ashwin Lahori
Address Redacted


Ashwinii Subramaniyan
Address Redacted


Ashworth Road Baptist Church
Mid Iowa Council 177
5300 Ashworth Rd
West Des Moines, IA 50266


Asiainspection Limited
5/F Dah Sing Life Building
99‐105 Des Voeux Rd
Central
Hong Kong


Asian Channel Ltd
Flat A, 7/F Wha Shing Industrial Bldg
18 Cheung Shun St
Lai Chi Kok
Hong Kong


Asian Diversity Inc
1270 Broadway, Ste 703
New York, NY 10001


Asian Pacific American Cultural Art Fndn
National Capital Area Council 082
7202 Poplar St, Ste C
Annandale, Va 22003


Asiha Cooper C/O The Campbell Agency
3838 Oak Lawn 900
Dallas, TX 75219
Asjha Cooper C/O The Campbell Agency
3838 Oak Lawn 900
Dallas, TX 75219


Ask‐Parent
Teacher Organization Of King Elementary
Bay‐Lakes Council 635
1601 Dancing Dunes Dr
Green Bay, Wi 54313


Asoc Lideres Escutistas Inc
Puerto Rico Council 661
P.O. Box 3582
Amelia Contract Station
Guaynabo, PR 00970


Asociacion Catolica De Scouters
Puerto Rico Council 661
P.O. Box 1120
Mayaguez, PR 00681


Asociacion De CasadoresDeportivos DelSur
Puerto Rico Council 661
31 Parcelas Niagara
Coamo, Pr 00769


Asociacion De CazadoresDeportivos DelSur
Puerto Rico Council 661
Parcelas Niagara
No 31
Coamo, Pr 00769


Asociacion De Guias Y Scouts De Chile
Avenida Republica 97
Santiago
Chile


Asociacion De Scouts De Bolivia
Casilla Postal 3093
Cochabamba
Bolivia
Asociacion De Scouts De Guatemala
Boulevard Rafael Landivar, 2‐01 Zona 15
Guatemala


Asociacion De Scouts De Peru
Av Arequipa 5140
Miraflores
Lima
Peru


Asociacion De Scouts De Venezuela
Edificio Askain, Piso 1, Oficina 1‐I
El Rosal, Avenida Pichincha
Caracas
Venezuela


Asociacion De Scouts Del Paraguay
Scout Del Chaco Casi Castulo Franco
Fernando De La Mora
Asuncion, 1524
Paraguay


Asociacion De Scouts Dominicanos
Apartado 958
Santo Domingo,
Dominican Republic


Asociacion Recreativa Angel Ramos
Puerto Rico Council 661
Codorniz Esq
Esq Sinsonte
San Juan, PR 00924


Asociacion Scouts De Nicaragua
Residencial El Dorado
Costado Sur Oests Del Parque
Managua
Nicaragua


Asociacion Scouts Of Honduras
Colonia Lomas De San Jose
Bloque C Casa 5826
Primera Etapa
Teguicigaipa
Honduras


Asp/Olinda Elementary School
South Florida Council 084
5536 NW 21st Ave
Miami, FL 33142


Aspca
P.O. Box 96929
Washington, DC 20090‐6929


Aspen Corp
2400 Ritter Dr
Daniels, WV 25832


Aspen Elk Lodge
510 E Hyman Ave, Ste 300
Aspen, CO 81611


Aspen Elks Lodge 224 Bpoe
Denver Area Council 061
510 E Hyman Ave, Ste 300
Aspen, CO 81611


Aspen Handy
Address Redacted


Aspen Higher Learning Academy
Denver Area Council 061
P.O. Box 4628
Aspen, CO 81612


Aspen Higher Learning Flight Academy
P.O. Box 4628
Aspen, CO 81612


Aspen Knolls Estates
Greater New York Councils, Bsa 640
151 Ilyssa Way
Staten Island, NY 10312


Aspen Outdoor Outlet
1062 E Tabernacle
St George, UT 84770‐3047


Aspen Publishers
Attn Mcs
P.O. Box 1130
Mechanicsburg, PA 17055


Aspen Publishers Inc
4829 Innovation Way
Chicago, IL 60682‐0048


Aspen R Nolan
Address Redacted


Aspen Ridge Church
Denver Area Council 061
27154 N Turkey Creek Rd
Evergreen, CO 80439


Aspen View Academy Foundation
Denver Area Council 061
2131 Low Meadow Blvd
Castle Rock, CO 80109


Aspen Waste Systems, Inc
2951 Weeks Ave S.E.
Minneapolis, MN 55414


Aspen Waste Systems, Inc
Aws Service Center
P.O. Box 3050
Des Moines, IA 50316


Aspira Inc Of Pennsylvania
Cradle of Liberty Council 525
526 W Girard Ave
Philadelphia, PA 19123


Aspire Academy Parent Teacher Org
Greater St Louis Area Council 312
5421 Thekla Ave
Saint Louis, MO 63120


Aspire Capitol Heights Academy
Golden Empire Council 047
2520 33rd St
Sacramento, CA 95817


Aspj LLC
dba Apple Spice Junction
104‐A Meadowood St
Greensboro, NC 27409


Asselin Transportation   Storage
P.O. Box 746
Fort Frances, On P9A 3N1
Canada


Assemblies Of God‐Mi District
dba Fa‐Ho‐Lo Camp   Conf Ctr
3000 Mt Hope Rd
Grass Lake, MI 49240‐9551


Assemblies Of God‐Mi District
dba Fa‐Ho‐Lo Camp   Conf Ctr
31500 W 13 Mile Rd, 140
Farmington Hills, MI 48334


Assertive Industries, Inc
Five Concourse Pkwy, Ste 3000
Atlanta, GA 30328


Asset Systems Inc
P.O. Box 14550
Portland, OR 97293


Assn Media   Publishing Excel Awards
12100 Sunset Hills Rd, Ste 130
Reston, VA 20190


Assoc For Strategic Planning
12021 Wilshire Blvd, Ste 286
Los Angeles, CA 90025‐1200


Assoc Of Certified Fraud Examiners
716 W Ave
Austin, TX 78701‐2727


Assoc Of Corporate Counsel
P.O. Box 791044
Baltimore, MD 21279‐1044


Assoc Of Fundraising Professionals
Attn Professional Advancement
4300 Wilson Blvd, Ste 300
Arlington, VA 22203


Assoc Of Katy Christian Homeschoolers
Sam Houston Area Council 576
2510 Landover Ln
Katy, Tx 77493


Assoc Old Crows Patriots Roost Ch
The Spirit Of Adventure 227
7 Athens Way
Methuen, Ma 01844


Assoc Vols Of Cv Public Shooting Range
Trapper Trails 589
2851 W 200 N
Logan, UT 84321


Associacao The Haven Portugal
Transatlantic Council, Bsa 802
Empreendimento Casas De Vale 11
Vale Covo, 02540‐0702
Portugal
Associated Battery Co
P.O. Box 1590
Indian Trail, NC 28079


Associated Fresh Markets, Inc
P.O. Box 26908
Salt Lake City, UT 84126


Associated Premium Corp
1870 Summit Rd
Cincinnati, OH 45237


Associated Press Inc
P.O. Box 414212
Boston, MA 02241‐4212


Associated Production Music LLC
6255 Sunset Blvd, Ste 820
Hollywood, CA 90028


Associated Production Music LLC
6255 Sunset Blvd, Ste 900
Hollywood, CA 90028


Associated Production Music LLC
dba Apm Music
6255 Sunset Blvd, Ste 900
Hollywood, CA 90028‐9084


Associated Public Affairs Pros
10424 Woodbury Woods Court
Fairfax, VA 22032


Associated Supply Co
P.O. Box 94497
Las Vegas, NV 89193‐4497


Associated Time    Parking Controls
9104 Dipolmacy Row
Dallas, TX 75247
Associates Of Graduates Usma
Hudson Valley Council 374
P.O. Box 184
Fort Montgomery, NY 10922


Association Des Guides
Et Scouts De Monaco
14B Chemin De La Turbie
Monaco, 98000
Monaco


Association For Challenge Course Technol
P.O. Box 47
Deerfield, IL 60015


Association For Experiential Education
3775 Iris Ave, Ste 4
Boulder, CO 80301‐2043


Association For Financial Professionals
P.O. Box 64714‐D
Baltimore, MD 21264


Association For Middle Level Education
4151 Exec Pkwy, Ste 300
Westerville, OH 43081‐3871


Association Media   Publishing
P.O. Box 826129
Philadelphia, PA 19182‐6129


Association Of Baptists For Scouting
20 Guindola Way
Hot Springs Village, AR 71909


Association Of Contingency Planners
136 Everett Rd
Albany, NY 12205


Association Of Corp Counsel
P.O. Box 791044
Baltimore, MD 21279‐1044


Association Of Corporate Counsel
P.O. Box 824272
Philadelphia, PA 19182‐4272


Association Of Deaf Scouts
Great Salt Lake Council 590
3898 S 4220 W
West Valley City, UT 84120


Association Of Educational Publishers
510 Heron Dr, Ste 201
Swedesboro, NJ 08085


Association Of Fundraising Professionals
4300 Wilson Blvd, Ste 300
Arlington, VA 22203


Association Of Graduates
Pikes Peak Council 060
3116 Academy Dr
Usaf Academy, CO 80840


Association Of Scouts Of Azerbaijan
507‐513 I Gutqashinli
Baku, Az 1073
Azerbaijan


Association Of Troop 684
Greater Los Angeles Area 033
2100 S Stimson Ave
Hacienda Heights, CA 91745


Association Of Us Army‐Japan Chapter
Far E Council 803
Troop 34 ‐ Bsa Camp Zama
Psc 704 Box 33
Apo, AP 96338
Assumption Bvm Catholic Church
Washington Crossing Council 777
Meadowbrook Rd
Feasterville, PA 19053


Assumption Bvm Parish
Chester County Council 539
300 State Rd
West Grove, PA 19390


Assumption Catholic Church
Conquistador Council Bsa 413
2808 N Kentucky Ave
Roswell, NM 88201


Assumption Catholic Church
Inland Nwest Council 611
3624 W Indian Trail Rd
Spokane, WA 99208


Assumption Catholic Church
North Florida Council 087
2403 Atlantic Blvd
Jacksonville, FL 32207


Assumption Catholic Church
Northern Lights Council 429
P.O. Box 339
Barnesville, MN 56514


Assumption Catholic Church
President Gerald R Ford 781
6393 Belmont Ave Ne
Belmont, MI 49306


Assumption Catholic Church
Sam Houston Area Council 576
901 Roselane St
Houston, TX 77037


Assumption Church Mens Group
Dan Beard Council, Bsa 438
7711 Joseph St
Cincinnati, OH 45231


Assumption Greek Orthodox Church
Rainbow Council 702
15625 S Bell Rd
Homer Glen, IL 60491


Assumption Of The Blessed Virgin Mary
Blue Mountain Council 604
2098 E Alder St
Walla Walla, WA 99362


Assumption Of The Blessed Virgin Mary
Catholic Church
President Gerald R Ford 781
6369 Belmont Ave Ne
Belmont, Mi 49306


Assumption Of The Blessed Virgin Mary
Greater Los Angeles Area 033
2640 E Orange Grove Blvd
Pasadena, CA 91107


Assumption Parish
Attn Sales and Use Tax Dept
P.O. Drawer 920
Napoleonville, LA 70390


Assumption Parish
Chief Seattle Council 609
6201 33rd Ave Ne
Seattle, WA 98115


Assumption Parish
Greater St Louis Area Council 312
4725 Mattis Rd
Saint Louis, MO 63128


Assumption Parish
Inland Nwest Council 611
3624 W Indian Trail Rd
Spokane, WA 99208


Assumption Parish
Mount Baker Council, Bsa 606
2116 Cornwall Ave
Bellingham, WA 98225


Assumption Parish
Sales and Use Tax Dept
P O Drawer 920
Napoleonville, LA 70390


Assumption Parish
San Francisco Bay Area Council 028
1100 Fulton Ave
San Leandro, CA 94577


Assumption Parish ‐ O Fallon
Greater St Louis Area Council 312
403 N Main St
O Fallon, MO 63366


Assumption School
Voyageurs Area 286
2310 7th Ave E
Hibbing, MN 55746


Assumption, Blessed Virgin Mary Ch
Rainbow Council 702
195 S Kankakee St
Coal City, Il 60416


Assumption, Blessed Virgin Mary Rc Ch
Suffolk County Council Inc 404
20 Chestnut St
Centereach, Ny 11720


Assyrian American Assoc Of Socal
W.L.A.C.C. 051
5901 Cahuenga Blvd
North Hollywood, CA 91601
Astadia Inc
P.O. Box 845454
Dallas, TX 75284‐5454


Astd Workforce Innovations
240 Peachtree St, Ste 22‐S‐10
Atlanta, GA 30303‐1334


Astm International
100 Barr Harbor Dr
P.O. Box C700
W Conshohocken, PA 17428‐2959


Astral Energy, LLC
580 Sylvan Ave, Ste 2J
Englewood Cliffs, NJ 07632


Asure Software
3700 N Capital of Texas Hwy, Ste 350
Austin, TX 78746


Asure Software Inc
P.O. Box 205146
Dallas, TX 75320


Asylyn K Brodish
Address Redacted


At Mark S Episcopal Church
Last Frontier Council 480
P.O. Box 1304
Seminole, OK 74818


At Massey Coal Co Inc
P.O. Box 152079
Irving, TX 75015‐2079


AT T
208 S Akard St
Dallas, TX 75202
AT T
P.O. Box 13134
Newark, NJ 07101‐5634


AT T
P.O. Box 13148
Newark, NJ 07101‐5648


AT T
P.O. Box 5001
Carol Stream, IL 60197‐5001


AT T
P.O. Box 5080
Carol Stream, IL 60197‐5080


AT T
P.O. Box 5091
Carol Stream, IL 60197‐5091


AT T
P.O. Box 70529
Charlotte, NC 28272‐0529


AT T
P.O. Box 940012
Dallas, TX 75394‐0012


AT T 105251
208 S Akard St
Dallas, TX 75202


AT T 105251
P.O. Box 105251
Atlanta, GA 30348‐5251


AT T 105262
P.O. Box 105262
Atlanta, GA 30348‐5262
AT T 105414
P.O. Box 105414
Atlanta, GA 30348‐5414


AT T 5019
P.O. Box 5019
Carol Stream, IL 60197‐5019


AT T 630047
P.O. Box 630047
Dallas, TX 75263‐0047


AT T 650516
P.O. Box 650516
Dallas, TX 75265‐0516


AT T 660921
P.O. Box 660921
Dallas, TX 75266‐0921


AT T 78045
P.O. Box 78045
Phoenix, AZ 85062‐8045


AT T 78225
P.O. Box 78225
Phoenix, AZ 85062‐8225


AT T 78522
P.O. Box 78522
Phoenix, AZ 85062‐8522


AT T 8100
P.O. Box 8100
Aurora, IL 60507‐8100


AT T 9001309
P.O. Box 9001309
Louisville, KY 40290‐1309
AT T 9001310
P.O. Box 9001310
Louisville, KY 40290‐1310


AT T 9005
P.O. Box 9005
Carol Stream, IL 60197‐9005


AT T ‐ Opus
P.O. Box 16649
Atlanta, GA 30321‐0649


AT T Sacramento
Payment Center
Sacramento, CA 95887‐0001


AT T Advertising Solutions
P.O. Box 105024
Atlanta, GA 30348‐5024


AT T Capital Services, Inc
13160 Collections Center Dr
Chicago, IL 60693


AT T Capital Services, Inc
2000 W AT T Center Dr
Hoffman Estates, IL 60192


AT T Capital Services, Inc
36 S Fairview Ave
Park Ridge, IL 60068


AT T Capital Services, Inc
36 S Fairview Ave, 1st Fl, Ste C
Park Ridge, IL 60068


AT T Capital Services, Inc
36 S Fairview Ave, Ste 1C
Park Ridge, IL 60068‐4016
AT T Corp
Attn Carmen Bopp
800 Guardians Way
Allen, TX 75013


AT T Corp
Attn Chris Chambless
2200 N Greenville Ave, Ste 2E
Richardson, TX 75082


AT T Corp
Attn Katherine W
2200 Greenville Ave
Richardson, TX 75082


AT T Corp
Attn Legal
2500 Riva Rd
Annapolis, MD 21401


AT T Corp
Attn Mark Compton
2200 Greenville Ave
Richardson, TX 75082


AT T Corp
Attn Master Agreement Support Team
One AT T Way
Bedminster , NJ 07921‐0752


AT T Corp
One AT T Plaza
Dallas, TX 75202


AT T Corp
One AT T Way
Bedminster, NJ 07921‐0752


AT T Executive Education And Conf Center
1900 University Ave
Austin, TX 78705


AT T Long Distance 5017
P.O. Box 5017
Carol Stream, IL 60197‐5017


AT T Mobility
208 S Akard St
Dallas, TX 75202


AT T Mobility
P.O. Box 6463
Carol Stream, IL 60197‐6463


AT T Mobility
P.O. Box 650553
Dallas, TX 75265‐0553


AT T Mobility National Accounts, LLC
Attn Offer, Development    Negotiation
P.O. Box 97016
Redmond, WA 98073


AT T Pioneers Valley Council
Greater Yosemite Council 059
905 Guava Dr
Modesto, CA 95356


AT T Pro‐Cabs
P.O. Box 105373
Atlanta, GA 30348


AT T Services
208 S Akard St
Dallas, TX 75202


AT T Services
AT T Labs
P.O. Box 101425
Atlanta, GA 30392‐1425
AT T Teleconference Services
P.O. Box 2840
Omaha, NE 68103‐2840


AT T Teleconference Services
P.O. Box 5002
Carol Stream, IL 60197‐5002


AT T Wireless
12525 Cingular Way 2nd Flr
Alpharetta, GA 30004


Atascaderd Elks Lodge 273 Bpoe
Los Padres Council 053
1516 El Camino Real
Atascadero, CA 93422


Atascadero City Police Dept
Los Padres Council 053
P.O. Box 911
Atascadero, CA 93423


Atascocita Utd Methodist Church
Sam Houston Area Council 576
19325 Pinehurst Trail Dr
Atascocita, TX 77346


Atascocita Volunteer Fire Dept Inc
Sam Houston Area Council 576
18425 Timber Forest Dr
Humble, TX 77346


Atascosita Am Lutheran Church Elca
Sam Houston Area Council 576
7927 Fm 1960 Rd E
Humble, TX 77346


Atascotia Presbyterian
Sam Houston Area Council 576
19426 Atasca Oaks Dr
Atascocita, TX 77346
Atb Canvas Designs Inc
P.O. Box 431762
Big Pine Key, FL 33043


Atchison Child Care Assoc
Pony Express Council 311
1326 Kansas Ave
Atchison, KS 66002


Atchison Elks Lodge 647
Pony Express Council 311
609 Kansas Ave
Atchison, KS 66002


Atchison Housing Authority
Pony Express Council 311
P.O. Box 601
Atchison, KS 66002


Atei Co Inc
3820 E La Palma Ave
Anaheim, CA 92807


Atenogenes Navarro
Address Redacted


Athena PTO
Greater St Louis Area Council 312
3750 Athena School Rd
De Soto, MO 63020


Athena PTO
Greater St Louis Area Council 312
3775 Athena School Rd
De Soto, MO 63020


Athenian Academy
Southwest Florida Council 088
2289 N Hercules Ave
Clearwater, FL 33763
Athens Bible School
Greater Alabama Council 001
507 Hoffman St
Athens, AL 35611


Athens Chilesburg Elementary PTA
Blue Grass Council 204
930 Jouett Creek Dr
Lexington, KY 40509


Athens Christian Church
Abraham Lincoln Council 144
1141 State Hwy 29
Athens, IL 62613


Athens Community Career Academy
Northeast Georgia Council 101
440 Dearing Ext Bldg 1
Athens, GA 30606


Athens Elks Lodge 1927
Great Smoky Mountain Council 557
P.O. Box 51
Athens, TN 37371


Athens Rifle Club
Northeast Georgia Council 101
P.O. Box 5542
Athens, GA 30604


Athens Wesleyan Church
Five Rivers Council, Inc 375
3903 Wilawana Rd
Sayre, PA 18840


Athol‐American Legion Post 102
Heart of New England Council 230
325 Pequoig Ave
Athol, MA 01331
Athol‐Congregational Church
Heart of New England Council 230
1225 Chestnut St
Athol, MA 01331


Athol‐Fire Dept
Heart of New England Council 230
2251 Main St
Athol, MA 01331


Athol‐Our Lady Immaculate Roman Catholic
Heart of New England Council 230
Church
192 School St
Athol, MA 01331


Atikaki Youth Ventures, Inc
1325 W Walnut Hill Lane
Irving, TX 75038


Atikokan Family Health Team
Box 1450
Atikokan, On P0T 1C0
Canada


Atikokan Foodland
Box 1030, 110 O Brien St
Atikokan, On P0T 1C0
Canada


Atikokan General Hospital
120 Dorothy St
Atikokan, ON Pot 1Co
Canada


Atikokan Home Hardware
201 Main St
Atikokan, On P0T 1C0
Canada


Atikokan Home‐N‐Cottage Bldg Supply
119 O Brien St
P.O. Box 790
Atikokan, On P0T 1C0
Canada


Atikokan Youth Ventures, Inc
1325 W Walnut Hill Lane
Irving, TX 75038


Atip Corp
142 Mill Creek Rd
Jacksonville, FL 32211


Atkins Elementary
Norwela Council 215
7611 Saint Vincent Ave
Shreveport, LA 71106


Atkins Memorial Presbyterian Church
Westark Area Council 016
206 N Church St
P.O. Box 437
Atkins, AR 72823


Atkinson Elementary PTA
Flint River Council 095
307 Atkinson Dr
Griffin, GA 30223


Atkinson Fire Dept
Illowa Council 133
101 E Henry St
Atkinson, IL 61235


Atkinson Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 125
Atkinson, NH 03811


Atkinson Pool
40 Fairbank Rd
Sudbury, MA 01776
Atkinson Ruritan Club
Cape Fear Council 425
P.O. Box 153
Atkinson, NC 28421


Atlanta Airport Rotary Club
Atlanta Area Council 092
P.O. Box 90048
East Point, GA 30364


Atlanta Area
1800 Cir 75 Pkwy Se
Atlanta, GA 30339‐3055


Atlanta Area Cncl 92
1800 Cir 75 Pkwy Se
Atlanta, GA 30339‐3055


Atlanta Area Rotary Club
Caddo Area Council 584
P.O. Box 1313
Atlanta, TX 75551


Atlanta Binding    Graphics
3002 Kingston Ct, Ste B
Marietta, GA 30067


Atlanta Childrens Foundation
Northeast Georgia Council 101
127 Gulley Trl
Toccoa, GA 30577


Atlanta Coca Cola Bottling Co
P.O. Box 403390
Atlanta, GA 30384‐3390


Atlanta Coffee Time
6700 Dawson Blvd, Ste 3
Norcross, GA 30093
Atlanta Datacom
Adcom
P.O. Box 587
Norcross, GA 30071


Atlanta Hall Management, Inc
100 Cnn Ctr
Atlanta, GA 30303


Atlanta Heights Community Assoc
Atlanta Area Council 092
P.O. Box 92614
Atlanta, GA 30314


Atlanta Methodist Men Of Atlanta Umc
W D Boyce 138
P.O. Box 574
Atlanta, IL 61723


Atlanta Mission
Atlanta Area Council 092
921 Howell Mill Rd Nw
Atlanta, GA 30318


Atlanta Police Dept
Atlanta Area Council 092
226 Peachtree St Sw
Atlanta, GA 30303


Atlanta Scout Shop ‐ Opc
1800 Cir 75 Pkwy Se
Atlanta, GA 30339


Atlanta West Educators
Atlanta Area Council 092
3801 Halisport Ln Nw
Kennesaw, GA 30152


Atlantic
P.O. Box 37587
Boone, IA 50037‐0587
Atlantic Christian School
Jersey Shore Council 341
389 Zion Rd
Egg Harbor Township, NJ 08234


Atlantic City Boys And Girls Club
Jersey Shore Council 341
317 N Pennsylvania Ave
Atlantic City, NJ 08401


Atlantic City Fire Dept
Jersey Shore Council 341
2715 Atlantic Ave
Atlantic City, NJ 08401


Atlantic City Moose Lodge 216
3900 W End Ave
Atlantic City, NJ 08401


Atlantic City Police Dept
Jersey Shore Council 341
A/C Pal, Rm 129
250 N New York Ave
Atlantic City, NJ 08401


Atlantic Coast Promotions Inc
33 Trafalgar Pl
Shrewsbury, NJ 07702


Atlantic Companies, Inc
1714 Cesery Blvd
Jacksonville, FL 32211


Atlantic Corp
P.O. Box 60002
Charlotte, NC 28260


Atlantic County Sheriffs Office
Darren Aberman Post 29
4997 Unmai Blvd
Mays Landing, NJ 08330
Atlantic County Sheriffs Office
Jersey Shore Council 341
4997 Unami Blvd
Mays Landing, NJ 08330


Atlantic County Utilities Authority
Jersey Shore Council 341
6700 Delilah Rd Bldg 3
Egg Harbor Township, NJ 08234


Atlantic Davits Of The Keys
88665 Overseas Hwy
Tavernier, FL 33070


Atlantic Drs    Bearings Of Nc, Inc
P.O. Box 241092
Charlotte, NC 28224


Atlantic Fasteners Inc
P.O. Box 19066
Greensboro, NC 27419


Atlantic Highlands Fire Dept
Monmouth Council, Bsa 347
10 E Highland Ave
Atlantic Highlands, NJ 07716


Atlantic Highlands Utd Methodist Ch
Monmouth Council, Bsa 347
96 3Rd Ave
Atlantic Highlands, Nj 07716


Atlantic Imaging
Occoneechee 421
1315 Oakwood Ave
Goold Hall
Raleigh, NC 27610


Atlantic Kiwanis Club
Mid‐America Council 326
2409 Chestnut St, Apt 19
Atlantic, IA 50022


Atlantic Plant Services Inc
P.O. Box 842199
Dallas, TX 75284‐2199


Atlantic Poly Inc
86 Morse St
Norwood, MA 02062


Atlantic Security Consultants
1714 Cesery Blvd
Jacksonville, FL 32211


Atlanticare Regional Medical Center
Jersey Shore Council 341
823 Doughty Rd
Galloway, NJ 08205


Atlas ‐ Mikes Bait Inc
231 Hake St
Fort Atkinson, WI 53538


Atlas Prep P T A
Three Harbors Council 636
3945 S Kansas Ave
Milwaukee, WI 53207


Atlas Reserve Temporaries Inc
P.O. Box 771367
St Louis, MO 63177


Atlas Sales   Rentals Inc
P.O. Box 988
Newark, CA 94560


Atlas Space Operations
President Gerald R Ford 781
10850 E Traverse Hwy, Ste 3355
Traverse City, MI 49684
Atlas Tube
P.O. Box 644825
Pittsburgh, PA 15264‐4825


Atlas Van Lines, Inc
Attn Kathleen M Thompson
1212 St George Rd
Evansville, IN 47711


Atlas Van Lines, Inc
P.O. Box 952340
St Louis, MO 63195‐2340


Atlassian Pty Ltd
32151 Collections Ctr Dr
Chicago, IL 60693‐0321


Atlasta Lock   Safe Inc
702 SE Grand
Portland, OR 97214


Atoka Utd Methodist Church
West Tennessee Area Council 559
P.O. Box 382
Atoka, TN 38004


Atomik Climbing Holds
55 E 600 S
Provo, UT 84606


Atonement Lutheran Church
Denver Area Council 061
6281 W Yale Ave
Lakewood, CO 80227


Atonement Lutheran Church
Glaciers Edge Council 620
901 Harrison Ave
Beloit, WI 53511
Atonement Lutheran Church
Greater Tampa Bay Area 089
29617 State Rd 54
Wesley Chapel, FL 33543


Atonement Lutheran Church
Heart of America Council 307
9948 Metcalf Ave
Overland Park, KS 66212


Atonement Lutheran Church
Hudson Valley Council 374
71 Central Hwy
P.O. Box 622
Stony Point, NY 10980


Atonement Lutheran Church
Montana Council 315
2205 34th St
Missoula, MT 59801


Atonement Lutheran Church
Northern Lights Council 429
4601 University Dr S
Fargo, ND 58104


Atonement Lutheran Church
Potawatomi Area Council 651
S70W16244 Martin Dr
Muskego, WI 53150


Atonement Lutheran Church
San Diego Imperial Council 049
10245 Loma Rancho Dr
Spring Valley, CA 91978


Atonement Lutheran Church
Southeast Louisiana Council 214
6500 Riverside Dr
Metairie, LA 70003
Atonement Lutheran Church San Diego
San Diego Imperial Council 049
7250 Eckstrom Ave
San Diego, CA 92111


Atp
Attn Todd Outcalt
P.O. Box 1784
Pointe Verda Beach, FL 32004‐1784


Atp Flight School
Attn Josh Klein
5661 S Sossaman Rd
Mesa, AZ 85212


Atrium Finance Iii LP
12735 Morris Rd, Ste 400
Alpharetta, GA 30004


Atrium Finance Iii LP
dba Greensboro Embassy, Ste s
204 Centreport Dr
Greensboro, NC 27409


Atrium Finance Iv LP
dba the Renaissance Resort
500 S Legacy Trl
St Augustine, FL 32092


Atrium Ymca Creekview
Dan Beard Council, Bsa 438
5750 Innovation Dr
Middletown, OH 45005


Atrium Ymca Mayfield
Dan Beard Council, Bsa 438
5750 Innovation Dr
Middletown, OH 45005


Attain Group, Inc
127 Worthington Ave, Ste 100
Charlotte, NC 28203
Attleboro Police Dept
Narragansett 546
12 Union St
Attleboro, MA 02703


Attn Legal Dept
Wealth‐X LLC
142 W 36th St
New York, NY 10018


Attorney Robert J Tscholl LLC
400 S Main St
North Canton, OH 44720


Atv Parent Assoc
Catalina Council 011
3801 S Kinney Rd
Tucson, AZ 85713


Atwater Utd Methodist Church
Greater Yosemite Council 059
2550 Linden St
Atwater, CA 95301


Atwood Lions Club
Coronado Area Council 192
P.O. Box 46
Atwood, KS 67730


Atwood Mcdonald Elementary ‐ Gifw
Longhorn Council 662
1850 Barron Ln
Fort Worth, TX 76112


Atwood School Apac
Great Lakes Fsc 272
45690 N Ave
Macomb, MI 48042


Au Lac
Silicon Valley Monterey Bay 055
3362 Farthing Way
San Jose, CA 95132


Aubrey Carpenter
Address Redacted


Aubrey Harwell
Address Redacted


Aubrey J Rhoton
Address Redacted


Aubrey K Ritterhouse
Address Redacted


Aubrey V Cover
Address Redacted


Auburn ‐ Faith Baptist Church
Heart of New England Council 230
22 Faith Ave
Auburn, MA 01501


Auburn ‐ First Congregational Church
Heart of New England Council 230
128 Central St
Auburn, MA 01501


Auburn ‐ North American Martyrs
Heart of New England Council 230
8 Wyoma Dr
Auburn, MA 01501


Auburn 49Er Lions Club
Golden Empire Council 047
P.O. Box 5703
David Johnson
Auburn, CA 95604
Auburn Christian Church
Jayhawk Area Council 197
1351 N Washington
Auburn, KS 66402


Auburn Community Church
Lake Erie Council 440
11048 Washington St
Chagrin Falls, OH 44023


Auburn Elks 474
Longhouse Council 373
314 State St
Auburn, NY 13021


Auburn Jaycees   Auburn Utd Methodist Ch
Water And Woods Council 782
207 S Auburn Rd
Auburn, Mi 48611


Auburn Mothers Club
Hawk Mountain Council 528
P.O. Box 6
348 N 5th St
Auburn, PA 17922


Auburn Outdoor Adventures, Inc
Chattahoochee Council 091
2189 Herndon St
Auburn, AL 36830


Auburn Police Dept
Chief Seattle Council 609
340 E Main St, Ste 201
Auburn, WA 98002


Auburn Police Dept
Golden Empire Council 047
1215 Lincoln Way
Auburn, CA 95603


Auburn Police Dept
Northeast Georgia Council 101
1361 4th Ave
Auburn, GA 30011


Auburn Presbyterian Church
Anthony Wayne Area 157
P.O. Box 448
111 W 12th St
Auburn, IN 46706


Auburn School Parent Teachers
Buckeye Council 436
109 Auburn Ave
Shelby, OH 44875


Auburn University
Office of University Scholarships
115 Quad Center
Auburn, AL 36849


Auburn University
Student Financial Aid
203 Mary Martin Hall
Auburn University, AL 36849‐5119


Auburn Utd Methodist
Water and Woods Council 782
84 W Midland Rd
Auburn, MI 48611


Auburn Utd Methodist Church
Abraham Lincoln Council 144
14100 Rt4
Auburn, IL 62615


Auburn Utd Methodist Church
Blue Ridge Mtns Council 599
P.O. Box 74
Riner, VA 24149


Auburn Utd Methodist Church
Chattahoochee Council 091
P.O. Box 3135
Auburn, AL 36831


Auburn/Opelika Benevolent    Protective
Chattahoochee Council 091
P.O. Box 864
1944 Opelika Rd
Auburn, AL 36831


Auctane, LLC
3800 N Lamar Blvd 220
Austin, TX 78756


Auctane, LLC
dba Shipstation
3800 N Lamar Blvd, Ste 220
Austin, TX 78756


Auctane, LLC
Shipstation
P.O. Box 205730
Dallas, TX 75320‐5730


Audio Fidelity Communications Corp
dba the Whitlock Group
12820 W Creek Pkwy, Ste M
Richmond, VA 23238‐1111


Audio Visual Innovations
P.O. Box 62251
Baltimore, MD 21264‐2251


Audiolink LLC
15 Maiden Ln, Ste 300
New York, NY 10038


Audiolink LLC
18 John St, Ste 300
New York, NY 10038‐4003


Auditor Of State
Uncliamed Property Div
1401 W Capitol Ave, Ste 325
Little Rock, AR 72201


Audra Mayes
Address Redacted


Audrain Ambulance District
Great Rivers Council 653
440 Kelley Pkwy
Mexico, MO 65265


Audrey A Williams
Address Redacted


Audrey Bren Lortscher
Address Redacted


Audrey Buchan
Address Redacted


Audrey Clough
Address Redacted


Audrey Desouza
Address Redacted


Audrey Earnest
Address Redacted


Audrey Leek
Address Redacted


Audrey Meisel
Address Redacted


Audrey Parlier
Address Redacted
Audrey Stein
Address Redacted


Audrey Turner
Address Redacted


Audrey Young
Address Redacted


Audry Amos
Address Redacted


Audubon Mutual Housing Corp
Garden State Council 690
20 Rd C
Audubon Park, NJ 08106


Audubon Oaks Lions Club
Cradle of Liberty Council 525
P.O. Box 158
414 Brower Ave
Oaks, PA 19456


Audubon Park Utd Methodist Church
Inland Nwest Council 611
3908 N Driscoll Blvd
Spokane, WA 99205


Audubon Utd Methodist Church
Garden State Council 690
314 W Graisbury Ave
Audubon, NJ 08106


Audubon/Oaks Lions Club
Cradle of Liberty Council 525
134 W Mount Kirk Ave
Eagleville, PA 19403


Audubon‐Oaks Lions Club
Cradle of Liberty Council 525
P.O. Box 249
Oaks, PA 19456


Audun Mikkelson
Address Redacted


Auger Falls Ward ‐ Twin Falls West Stake
Snake River Council 111
1134 N College Rd
Twin Falls, ID 83301


Auglaize County Airport Authority
Black Swamp Area Council 449
07776 State Route 219
P.O. Box 400
New Knoxville, OH 45871


Auglaize County Sheriff Dept
Black Swamp Area Council 449
P.O. Box 26
Wapakoneta, OH 45895


Augsburg College
Attn Student Financial Services
2211 Riverside Ave
Minneapolis, MN 55454‐1350


August Realty And Investments
Longs Peak Council 062
4190 Rockvale Dr
Loveland, CO 80538


August Stinnett
Address Redacted


Augusta Dept Of Safety
Quivira Council, Bsa 198
2100 Ohio St
Augusta, KS 67010


Augusta Jewish Center
Georgia‐Carolina 093
898 Weinberger Way
Evans, GA 30809


Augusta Lions Club
Chippewa Valley Council 637
S10876 County Rd R
Augusta, WI 54722


Augusta Lions Club
Stonewall Jackson Council 763
P.O. Box 2613
Staunton, VA 24402


Augusta Road Utd Methodist Church
Blue Ridge Council 551
8324 Augusta Rd
Pelzer, SC 29669


Augustana Lutheran Church
Pathway To Adventure 456
207 N Kelly St
Hobart, IN 46342


Augustana Lutheran Church
President Gerald R Ford 781
18499 20 Mile Rd
Tustin, MI 49688


Augustana Lutheran Church Of Hyde Park
Pathway To Adventure 456
5500 S Woodlawn Ave
Chicago, IL 60637


Augustana Lutheran Church‐Boone
Mid Iowa Council 177
309 S Greene St
Boone, IA 50036


Augustana Lutheran Churchmen
Northern Lights Council 429
308 E Douglas Ave
Fergus Falls, MN 56537


Augustine M Adams
Address Redacted


Augustus D Ballantine
Address Redacted


Augustus Lutheran Church
Cradle of Liberty Council 525
717 W Main St
Trappe, PA 19426


Aula International Community Center
Far E Council 803
62 Huakang St Tianhe Dong Rd, Unit 103
Guangzhou, 510620
China


Ault Elementary PTO
Sam Houston Area Council 576
21010 Maple Village Dr
Cypress, TX 77433


Aumiller Pools LLC
2438 Summerfield Rd
Winter Park, FL 32792‐5011


Aumsville Pentecostal Church Of God
Cascade Pacific Council 492
10153 Mill Creed Rd
Aumsville, OR 97325


Aumsville Volunteer Fire Dept
Cascade Pacific Council 492
P.O. Box 247
Aumsville, OR 97325


Auras Design Inc
8435 Georgia Ave
Silver Spring, MD 20910
Aurora Academy
Denver Area Council 061
10251 E 1st Ave
Aurora, CO 80010


Aurora Academy
Erie Shores Council 460
824 6th St
Toledo, OH 43605


Aurora Baycare Med Ctr
P.O. Box 8920
Green Bay, WI 54308‐8920


Aurora Chamber Of Commerce
Denver Area Council 061
14305 E Alameda Ave, Ste 300
Aurora, CO 80012


Aurora Fire Dept
Three Fires Council 127
75 N Broadway
Aurora, IL 60505


Aurora Fitzsimons Rotary Club
Denver Area Council 061
P.O. Box 1482
Aurora, CO 80040


Aurora Gateway Rotary Club
Denver Area Council 061
P.O. Box 440998
Aurora, CO 80044


Aurora Novus
dba Novus Select
1111 Ski Run Blvd
South Lake Tahoe, CA 96150


Aurora Police Dept
Denver Area Council 061
13347 E Montview Blvd
Aurora, CO 80045


Aurora Township Vol Fire Prot Assoc
Three Fires Council 127
599 Montgomery Rd
Montgomery, Il 60538


Aurora Utd Methodist Church
Southeast Louisiana Council 214
3300 Eton St
New Orleans, LA 70131


Ausa General Cw Abrams Chapter
Transatlantic Council, Bsa 802
Cmr 467 Box 6415
Apo, AE 9096


Austell First Utd Methodist Church
Atlanta Area Council 092
5705 Mulberry St
Austell, GA 30106


Austin Anderson Safe Haven Inc
Pony Express Council 311
P.O. Box 175
Braymer, MO 64624


Austin Angel
Address Redacted


Austin C Mcclellan
Address Redacted


Austin C Riccio
Address Redacted


Austin Capitol Hotel LLC
Sheraton Austin Hotel
701 E 11th St
Austin, TX 78701


Austin Chapter Of Arma
P.O. Box 27435
Austin, TX 78731‐3064


Austin Charles Firth
Address Redacted


Austin Christian Fellowship
Capitol Area Council 564
6401 River Pl Blvd
Austin, TX 78730


Austin Christopher Tank
Address Redacted


Austin College
900 N Grand Ave, Ste 61562
Sherman, TX 75090‐4400


Austin Community College
Capitol Area Council 564
5930 Middle Fiskville Rd
Austin, TX 78752


Austin Community Of Christ Church
Capitol Area Council 564
2132 Bluebonnet Ln
Austin, TX 78704


Austin Daberko
Address Redacted


Austin Dakota Hendrickson
Address Redacted


Austin Durr
Address Redacted
Austin Elementary PTO
Buffalo Trail Council 567
1501 W Normandy St
Pecos, TX 79772


Austin Elementary School PTA
Atlanta Area Council 092
5435 Roberts Dr
Dunwoody, GA 30338


Austin G Kyte
Address Redacted


Austin Grappe
Address Redacted


Austin H Applegate
Address Redacted


Austin Independent School District
1111 W 6th St, Ste A240
Austin, TX 78703‐5399


Austin J Preiss
Address Redacted


Austin K Gray
Address Redacted


Austin L Warner
Address Redacted


Austin Michael Cox
Address Redacted


Austin Northeast Rotary Club
Capitol Area Council 564
P.O. Box 10642
Austin, TX 78766
Austin Norwine
Address Redacted


Austin Oaks Church
Capitol Area Council 564
4220 Monterey Oaks Blvd
Austin, TX 78749


Austin Pettigrew
Address Redacted


Austin Police Dept
Capitol Area Council 564
715 E 8th St
Austin, TX 78701


Austin Police Dept
Twin Valley Council Bsa 283
201 1st St NE, Ste 2
Austin, MN 55912


Austin Reed Post 84 ‐ American Legion
Sam Houston Area Council 576
800 N May St
Madisonville, TX 77864


Austin Ridge Bible Church ‐ Southwest
Capitol Area Council 564
7416 W Hwy 71
Austin, TX 78735


Austin Ridge Hoa
National Capital Area Council 082
31 Boulder Dr
Stafford, VA 22554


Austin St George
Address Redacted
Austin Utd Methodist Church
Allegheny Highlands Council 382
Turner St
P.O. Box 8
Austin, PA 16720


Austin/Travis County Ems
Capitol Area Council 564
P.O. Box 1088
Austin, TX 78767


Austins Place
Laurel Highlands Council 527
134 Shenott Rd
Wexford, PA 15090


Auston Sheppard Gray
Address Redacted


Austyn David Meritt Hoffman
Address Redacted


Authoria, Inc
300 5th Ave
Waltham, MA 02451


AuthorizeNet Inc
P.O. Box 8999
San Francisco, CA 94128


Autism Project Of Rhode Island
Narragansett 546
1516 Atwood Ave
Johnston, RI 02919


Auto Club Speedway
Attn Accounting Dept
P.O. Box 2801
Daytona Beach, FL 32120


Auto Parallel Technologies Inc
Capitol Area Council 564
608 S Cougar Ave
Cedar Park, TX 78613


Autocustoms Inc
2303 SE 17th St, Ste 102
Ocala, FL 34471


Automated   Custom Food Sv Inc
P.O. Box 970987
Dallas, TX 75397‐0987


Automated Answering Systems Inc
224 W 30th St, Ste 301
New York, NY 10001


Automated Fire Systems Inc
P.O. Box 23545
Charlotte, NC 28227


Automated Signature Technology
112 Oakgrove Rd, Ste 107
Sterling, VA 20166


Automated Waste Disposal Inc
307 White St
Danbury, CT 06810‐6874


Automatic Overhead Door Co
805‐A Lafayette Blvd
Fredericksburg, VA 22401


Automatic Tools, LLC
704 Tera View Cir
Fort Collins, CO 80525


Automatics
1350 Manufacturing St 120
Dallas, TX 75207
Automation Tools, LLC
701 Terra View Cir
Fort Collins, CO 80525


Automattic Inc
P.O. Box 742771
Los Angeles, CA 90074‐2771


Automotive Rentals, Inc
4001 Leadenhall
Mt Laurel, NJ 08054


Automotive Rentals, Inc
4001 Leadenhall Rd
P.O. Box 5039
Mt. Laurel, NJ 08054


Automotive Rentals, Inc
9000 Midlantic Dr
P.O. Box 5039
Mt. Laurel, NJ 08054


Automotive Rentals, Inc
P.O. Box 5039
Mt Laurel, NJ 08054


Automotive Rentals, Inc
P.O. Box 8500‐4375
Philadelphia, PA 19178‐4375


Automotive Workwear Inc
881 Sneath Ln, Ste 113
San Bruno, CA 94066‐2412


Autonation Toyota
4050 Won Rd
Weston, FL 33331


Autonomous Solutions Inc
Trapper Trails 589
990 N 8000 W
Mendon, UT 84325


Autumn Duke
Address Redacted


Autumn Parker
Address Redacted


Auxvasse Lions Club
Great Rivers Council 653
P.O. Box 345
Auxvasse, MO 65231


Av Concepts Inc
1917 W 1st St
Tempe, AZ 85281


Ava Law Group, Inc
Attn Andrew Van Arsdale, Esq.
3667 Voltaire St
San Diego, CA 92106


Avalara
1100 2nd Ave, Ste 300
Seattle, WA 98101


Avalara Inc
Dept Ch 16781
Palatine, IL 60055‐6781


Avalon Church Of Christ
Tidewater Council 596
844 Woodstock Rd
Virginia Beach, VA 23464


Avalon Elementary PTO
Central Florida Council 083
13500 Tanja King Blvd
Orlando, FL 32828
Avalon Elementary School PTO
Simon Kenton Council 441
5220 Avalon Ave
Columbus, OH 43229


Avalon Transportation LLC
1000 Corporate Pointe, Ste 150
Culver City, CA 90230


Avalon Transportation LLC
1243 S 7th St
Phoenix, AZ 85034


Avalon Utd Methodist Church
South Georgia Council 098
3018 Gillionville Rd
Albany, GA 31721


Avalonia Group Home
Blue Ridge Council 551
P.O. Box 699
Marietta, SC 29661


Avangate Bv
Prins Hendriklaan 26 11
1075 Bd Amsterdam
Metropolitan Area, 0363
Netherlands


Avatech Solutions Inc
P.O. Box 17687
Baltimore, MD 21297‐1687


Avaya ,Inc Ny
P.O. Box 5332
New York, NY 10087‐5332


Avaya Financial Services
1 Cit Dr
Livingston, NJ 07039
Avaya, Inc
14400 Hertz Quail Spring Pkwy
Oklahoma City, OK 73134


Avaya, Inc
P.O. Box 5125
Carol Stream, IL 60197‐5125


Ave Maria Catholic Parish
Denver Area Council 061
9056 E Parker Rd
Parker, CO 80138


Ave Maria Press
P.O. Box 428
Notre Dame, IN 46556


Avenal Police Dept
Sequoia Council 027
317 E Alpine St
Avenal, CA 93204


Avenue Utd Methodist Church
Del Mar Va 081
20 N Church Ave
Milford, DE 19963


Avenues For Success
Dan Beard Council, Bsa 438
4400 Smith Rd
Norwood, OH 45212


Averill New Tech Elementary
Water and Woods Council 782
3201 Averill Dr
Lansing, MI 48911


Averill Park‐ Sand Lake Fire Dept
Twin Rivers Council 364
35 Eern Union Tpke
Averill Park, NY 12018
Avery Chapel
Mountaineer Area 615
1152 Cheat Rd
Morgantown, WV 26508


Avery County Firefighters Assoc
Daniel Boone Council 414
175 Linville St
Newland, NC 28657


Avery County Sheriff S Office
Daniel Boone Council 414
P.O. Box 640
Newland, NC 28657


Avery E Runnels
Address Redacted


Avery Lodge 493 F Am
Simon Kenton Council 441
P.O. Box 173
3980 Main St
Hilliard, OH 43026


Avery Logue
Address Redacted


Avery Mason Lodge 493
Simon Kenton Council 441
P.O. Box 173
Hilliard, OH 43026


Avery Ranch Owners Assoc
Capitol Area Council 564
10121 Morgan Creek Dr
Austin, TX 78717


Averys Creek Utd Methodist Church
Daniel Boone Council 414
874 Glen Bridge Rd
Arden, NC 28704
Aviation Explorer Post Aesop
Northern Lights Council 429
2211 17th Ave S
Grand Forks, ND 58201


Aviation Explorers Club 8001
Heart of America Council 307
2178 Montana Rd
Ottawa, KS 66067


Aviation Explorers Inc
W.L.A.C.C. 051
12430 Valley Vista Way
Sylmar, CA 91342


Aviation Facilities Incorporated
Orange County Council 039
4119 W Commonwealth Ave
Fullerton, CA 92833


Aviator Air LLC
3122 S Great Swest Pkwy
Grand Prairie, TX 75052


Aviator Church
Quivira Council, Bsa 198
904 Alexander St
Winfield, KS 67156


Avicenna Institute
Great Lakes Fsc 272
653 Sherbourne Dr
Dearborn Heights, MI 48127


Avicenna Preparatory PTA
Simon Kenton Council 441
2721 Asbury Blvd
Franklin, OH 43235


Avies Brown
Address Redacted


Avio Consulting
Attn Brandon Dean
15851 Dallas Pkwy
Addison, TX 75001


Avio Consulting LLC
15851 N Dallas Pkwy
Addison, TX 75001


Avis Budget Car Rental, LLC
6 Sylvan Way
Parsippany, NJ 07054


Avis Dickson
Address Redacted


Avis Rent A Car
P.O. Box 46030
Eden Prairie, MN 55344‐2730


Avis Rent A Car System Inc
7876 Collections Ctr Dr
Chicago, IL 60693


Avis Rent A Car System Inc
Vehicle Damage Claims
P.O. Box 409309
Atlanta, GA 30384‐9309


Aviva Rental Systems LLC Inc
P.O. Box 17113
Richmond, VA 23226


Avizion Technologies Group Inc
16300 Addison Rd, Ste 250
Addison, TX 75001


Avner Mandler
Address Redacted


Avoca Parent‐Teacher Council
Northeast Illinois 129
2921 Illinois Rd
Wilmette, IL 60091


Avoca Utd Methodist Church
Five Rivers Council, Inc 375
8593 Jacobs Ladder Rd
Avoca, NY 14809


Avon Baptist Church
Mayflower Council 251
119 N Main St
Avon, MA 02322


Avon Christian Church
Crossroads of America 160
7236 E County Rd 100 S
Avon, IN 46123


Avon Lake Police Dept
Lake Erie Council 440
32855 Walker Rd
Avon Lake, OH 44012


Avon Lions Club
Central Minnesota 296
P.O. Box 32
Avon, MN 56310


Avon Police Dept
Crossroads of America 160
6570 E US Hwy 36
Avon, IN 46123


Avon Rotary Club Inc
Iroquois Trail Council 376
P.O. Box 1
Avon, NY 14414
Avon Utd Methodist Church
Lake Erie Council 440
37711 Detroit Rd
Avon, OH 44011


Avon Volunteer Fire Dept
Connecticut Rivers Council, Bsa 066
25 Darling Dr
Avon, CT 06001


Avondale Elementary PTO
Greater Alabama Council 001
4000 8th Ct S
Birmingham, AL 35222


Avondale Fire Co
Chester County Council 539
23 Firehouse Way
Avondale, PA 19311


Avondale Moose Lodge
Grand Canyon Council 010
1572 S Cotton Ln
Goodyear, AZ 85338


Avondale Police Dept
Grand Canyon Council 010
11485 W Civic Center Dr
Avondale, AZ 85323


Avondale Utd Methodist Church
Heart of America Council 307
3101 NE Winn Rd
Kansas City, MO 64117


Avoyelles Parish School Board
Attn Sales    Use Tax Dept
201 Tunica Dr W
Marksville, LA 71351‐2603


Avr Atlanta Hotel Nw Tenant LLC
dba Marriott Atlanta NW Galleria
200 Interstate N Pkwy
Atlanta, GA 30339


Avra Valley Marana Post 5990 Vfw
Catalina Council 011
15850 W El Tiro Rd
Marana, AZ 85653


Avra Valley Ward ‐ LDS Marana Stake
Catalina Council 011
13450 N Lon Adams Rd
Marana, AZ 85653


Avtech Software Inc
16 Cutler St
Warren, RI 02885‐2761


Awac Program Committee
Anthony Wayne Area 157
8315 W Jefferson Blvd
Fort Wayne, IN 46804


Awakening Avatar Ent Inc
dba Genesis Art Supply
2417 N Wern Ave
Chicago, IL 60647


Award Art
46560 Fremont Blvd, Ste 410
Fremont, CA 94538


Award Pros Of Princeton
4175 US Route 1 S
Monmouth Junction, NJ 08852‐1905


Awards And Frames
10119 Pacific Ave
Franklin Park, IL 60131


Awards International
6333 W Howard St
Niles, IL 60714


Awards Unlimited Inc
336 E 4th St
Loveland, CO 80537


Awareness Inc
880 Winter St, Ste 300
Waltham, MA 02451


Awesome Ladies Distinction Learning Ctr
Southeast Louisiana Council 214
3848 Irwin Kuntz Dr
Harvey, La 70058


Awppw Local 13
Oregon Trail Council 697
P.O. Box 255
Toledo, OR 97391


AXA XL
1290 Avenue of the Americas
New York, NY 10104


Axe Memorial Umc/San Juan Umc
Circle Ten Council 571
1700 W Kingsley Rd
Garland, TX 75041


Axel Lopez
Address Redacted


Axis Capital Holdings Ltd
11680 Great Oaks Way, Ste 500
Alpharetta, GA 30022


Axis Outdoor
P.O. Box 1572
Everett, WA 98206
Ayanna Yhap
Address Redacted


Ayden Boys And Girls Club
East Carolina Council 426
108 2nd St
Ayden, NC 28513


Ayden Grifton Kiwanis
East Carolina Council 426
7092 Nc Hwy 43 S
Greenville, NC 27858


Ayden Rotary Club
East Carolina Council 426
881 Old Snow Hill Rd
Ayden, NC 28513


Ayer‐Gun   Sportsmen Club Inc
Heart of New England Council 230
255 Snake Hill Rd
Ayer, MA 01432


Ayers Construction Co
P.O. Box 681
Beckley, WV 25802


Ayers Construction Co
P.O. Box 68I
Beckley, WV 25802


Ayers Fndn At Collinwood Mid Sch Vii
Middle Tennessee Council 560
419 S Main St
Waynesboro, Tn 38485


Ayers Fndn At Sacred Heart Catholic Sch
Middle Tennessee Council 560
419 S Main St
Waynesboro, Tn 38485
Ayers Foundation At Frank Hughes School
Middle Tennessee Council 560
419 S Main St
Waynesboro, TN 38485


Ayer‐St Andrews Church
Heart of New England Council 230
Faulkner St
Ayer, MA 01432


Ayersville Methodist Church
Black Swamp Area Council 449
27720 Ayersville Pleasant Bend Rd
Defiance, OH 43512


Ayersville Utd Methodist Church
Black Swamp Area Council 449
28047 Ayersville Pleasant Bend Rd
Defiance, OH 43512


AyerVol FireAuxiliariescombinatioin Co 1
Heart Of New England Council 230
1 W Main St
Ayer Fire Station
Ayer, Ma 01432


Ayesha Carter
Address Redacted


Ayle Dg Wezeman
Address Redacted


Ayleen Rodriguez
Address Redacted


Aynor Utd Methodist Men
Pee Dee Area Council 552
P.O. Box 348
Aynor, SC 29511
Ayojire Ajiduro Randall
Address Redacted


Ayoka LLC
2313 Brookhollow Plaza Dr
Arlington, TX 76006


Ayres Fndn At Collinwood Mid Sch Ii
Middle Tennessee Council 560
419 S Main St
Waynesboro, Tn 38485


Ayres Fndn At Waynesboro Mid Sch
Middle Tennessee Council 560
419 S Main St
Waynesboro, Tn 38485


Ayres Utd Methodist Church
Del Mar Va 081
P.O. Box 207
Pittsville, MD 21850


Ayres, Mchenry   Assoc, Inc
112 N Alfred St
Alexandria, VA 22314


Ayrsley Hotel Assoc Iii
dba Embassy, Ste S Charlotte/Ayrsley
1917 Ayrsley Town Blvd
Charlotte, NC 28273


Aysta Water Inc
P.O. Box 1226
Virginia, MN 55792


Ayuda Inc
Yucca Council 573
P.O. Box 2017
San Elizario, TX 79849


Ayudan LLC
Northern Lights Council 429
160 50th Ave E
West Fargo, ND 58078


Az Dept Juvenile Corrections Adobe Mtn
Grand Canyon Council 010
2800 W Pinnacle Peak Rd
Phoenix, Az 85027


Az Pet Vet
Grand Canyon Council 010
13844 N 51st Ave
Glendale, AZ 85306


Az Southeast Distributors LLC
P.O. Box 978649
Dallas, TX 75397‐8649


Azalea City Church Of God
South Georgia Council 098
1519 River St
Valdosta, GA 31601


Aziz Masonic Grand Lodge Of Texas Inc
Sam Houston Area Council 576
2600 S Loop W, Ste 300H
Houston, TX 77054


Azle First Utd Methodist Church
Longhorn Council 662
200 Church St
Azle, TX 76020


Azriel Custom Armament
Rocky Mountain Council 063
1163 N Kirkwood Dr
Pueblo W, Co 81007


Aztec / Shaffer LLC
601 W 6th St
Houston, TX 77007
Aztec / Shaffer LLC
P.O. Box 679014
Dallas, TX 75267


Aztec 3 Af   Am
Yucca Council 573
180 E Boutz Rd
Las Cruces, NM 88005


Aztec Mill
P.O. Box 322
Cimarron, NM 87714


Aztec Presbyterian Church
Great Swest Council 412
205 N Church Ave
Aztec, NM 87410


Azzie Hill
Address Redacted


B   B Glass Inc
403 Main St E
Oak Hill, WV 25901


B   B Services Inc
179‐9 Rt 46 W 180
Rockaway, NJ 07866


B   D Assoc LLC
Crowne Plaza Union Station   Indy
123 W Louisiana St
Indianapolis, IN 46225


B   D Marketing Inc
1879 Old Cuthbert Rd, Unit 21
Cherry Hill, NJ 08034


B   H Wholesale
1828 8th St Nw
Albuquerque, NM 87102


B   L Electric
P.O. Box 386
Clinton, MO 64735


B   R Reinforcing Inc
2298 Refugee Rd
Columbus, OH 43207


B B Honey Farm
5917 Hop Hollow Rd
Houston, MN 55943


B B Marketing
The Embroidery Shop
1265 Specialty Dr
Fort Payne, AL 35967


B C Patch
PMB 501
2063 Main St
Oakley, CA 94561


B Coleman
Address Redacted


B D Floor Covering Inc
P.O. Box 193
Rainelle, WV 25962


B D Mobile Support LLC
11030 Hwy 39
Klamath Falls, OR 97603


B D Temps Inc
200 Schulz Dr
Red Bank, NJ 07701‐1635


B F Distribution, L,P
3920 S Walton Walker Blvd
Dallas, TX 75236


B G Ptl Enterprises Inc
1830 SW 2nd St
Pompano Beach, FL 33069


B G Ptl Enterprises Inc
dba Ptl One
P.O. Box 865161
Orlando, FL 32886‐5161


B H Photo
P.O. Box 8698
New York, NY 10116‐8698


B H Photo‐Video
420 9th Ave
New York, NY 10001


B H Photo‐Video
Remittance Processing Ctr
P.O. Box 28072
New York, NY 10087‐8072


B Nai Jeshurun Congregation
Lake Erie Council 440
27501 Fairmount Blvd
Pepper Pike, OH 44124


B Nai Zion Congregation
245 Sfield Rd
Shreveport, LA 71105


B P O E 1941
Northern New Jersey Council, Bsa 333
1 Foxwood Lane
Mahwah, NJ 07430


B P O E Elks 2375
Utah National Parks 591
P.O. Box 597
Vernal, UT 84078


B P O E Elks Lodge 1319
Rocky Mountain Council 063
P.O. Box 672
Lamar, CO 81052


B P O E Elks Lodge 409
Ozark Trails Council 306
2223 E Bennett St
Springfield, MO 65804


B P O E Elks Lodge 610
Rocky Mountain Council 063
404 Macon Ave
Canon City, CO 81212


B P O E Elks Lodge 808
Rocky Mountain Council 063
P.O. Box 967
148 E 2nd St
Salida, CO 81201


B P O Elks
Susquehanna Council 533
216 E Main St
Lock Haven, PA 17745


B P O Elks Lodge 690
Greater St Louis Area Council 312
560 Saint Peters Howell Rd
Saint Charles, MO 63304


B Pack Inc
dba Baggingguys
391 Wilmington Pike, Ste 3, 411
Glen Mils, PA 19342


B Street Martial Arts
Pacific Skyline Council 031
223 S B St
San Mateo, CA 94401


B Vanhorn
Address Redacted


B. Wright Leadership Academy
South Florida Council 084
6100 NW 60 St
Miami, FL 33127


B.A. St. Ville Elementary
Southeast Louisiana Council 214
1121 Pailet Ave
Harvey, LA 70058


B.C. Rain Jrotc Group Of Citizens
Mobile Area Council‐Bsa 004
Bc Rain Hs
3125 Dauphin Island Pkwy
Mobile, AL 36605


B.D.H.L.S.
South Florida Council 084
2600 NE 109 St
Miami, FL 33180


B.P.O. Elks 1251
Mt Diablo‐Silverado Council 023
3931 San Pablo Dam Rd
El Sobrante, CA 94803


B.P.O. Elks Billerica Lodge 2071
The Spirit of Adventure 227
14 Webb Brook Rd
Billerica, MA 01821


B.P.O.E Newburyport Elks Lodge 909
The Spirit of Adventure 227
18 Union St
Newburyport, MA 01950
B.P.O.E. 1289, Glendale, Ca
Verdugo Hills Council 058
120 E Colorado St
Glendale, CA 91205


B.P.O.E. 2070
The Spirit of Adventure 227
777 S St
Tewksbury, MA 01876


B.P.O.E. Elks Lodge 1497
Verdugo Hills Council 058
2232 N Hollywood Way
Burbank, CA 91505


B.P.O.E. Elks Lodge 2190 Canoga Park
W.L.A.C.C. 051
20925 Osborne St
Canoga Park, CA 91304


B.P.O.E. Lodge 101
Twin Rivers Council 364
P.O. Box 101
Amsterdam, NY 12010


B.R.I.D.D.G.E. Academy, Inc
Gulf Stream Council 085
2866 Tennis Club Dr, Apt 103
West Palm Beach, FL 33417


B2K Scouts
East Carolina Council 426
704C Plaza Blvd, Ste 106
Kinston, NC 28501


B‐4‐U Inc
dba Robots‐4‐U
3400 Appalachian Way
Plano, TX 75075


Babbette Brown
Address Redacted
Babbitt Land Silverstein    Warner, LLP
332 S Michigan Ave, Ste 710
Chicago, IL 60604


Babbitt S Wholesale, Inc
275 S River Run, Ste 7
Flagstaff, AZ 86001


Babcock Ranch Concerned Parents
Southwest Florida Council 088
P.O. Box 1627
Fort Myers, FL 33902


Babler School PTO
Greater St Louis Area Council 312
1955 Shepard Rd
Glencoe, MO 63038


Babson College
Student Financial Services
P.O. Box 57310
Babson Park, MA 02457


Baby Boot Camp Katy
Sam Houston Area Council 576
1318 Dominion Dr
Katy, TX 77450


Babyfair, Inc
34 W 33rd St, Ste 818
New York, NY 10001


Babylon Utd Methodist Church
Suffolk County Council Inc 404
21 James St
Babylon, NY 11702


Bac Music
Heart of America Council 307
1219 Lydia Ave
Kansas City, MO 64106


Bacarella Transportations Services Inc
Btx Global Logistics
P.O. Box 853
Shelton, CT 06484


Bach To Rock Penfield
Seneca Waterways 397
2160 Penfield Rd
Penfield, NY 14526


Back Creek Arp Church
Mecklenburg County Council 415
1821 Back Creek Church Rd
Charlotte, NC 28213


Back River Restoration Committee
Baltimore Area Council 220
730 Riverside Dr
Essex, MD 21221


Back River Utd Methodist Church
Baltimore Area Council 220
544 Back River Neck Rd
Baltimore, MD 21221


Backcountry Access, Inc
2820 Wilkerness Pl, Unit H
Boulder, CO 80301


Backcountry Cowboy Outfitters
82240 Overseas Hwy
Islamorada, FL 33036


Backflow Prevention Device Inspections
3831 E Grove St
Phoenix, AZ 85040


Backpacker
P.O. Box 422481
Palm Coast, FL 32142‐2481


Backpacker
P.O. Box 8494
Red Oak, IA 51591‐5494


Backpacker S Pantry/American Outdoor
Products Inc
6350 Gunpark Dr
Boulder, CO 80301‐3337


Baconton Charter School
South Georgia Council 098
260 E Walton St
Baconton, GA 31716


Bacr Esperanza Elementary School
San Francisco Bay Area Council 028
10315 E St
Oakland, CA 94603


Bacr Futures Elementary
San Francisco Bay Area Council 028
6701 International Blvd
Oakland, CA 94621


Baden Scouters Committee
Laurel Highlands Council 527
289 Prospect St
Baden, PA 15005


Baden Utd Methodist Church
Laurel Highlands Council 527
420 Dippold Ave
Baden, PA 15005


Baden‐Powell
2150 Nys Route 12
Binghamton, NY 13901


Baden‐Powell Cncl 368
2150 Nys Route 12
Binghamton, NY 13901


Badge Magic
11201 SE 8th St, Ste 170
Bellevue, WA 98004


Badger Mercantile Inc
1125 E Washington St
West Bend, WI 53095


Badger Tenkara LLC
c/o Matthew A Sment
6240 Mckee Rd
Madison, WI 53719


Bag Arts
20 W 36th St, 5th Fl
New York, NY 10018


Bagdad Baptist Church
Lincoln Heritage Council 205
P.O. Box 8
Bagdad, KY 40003


Bagel Express
Suffolk County Council Inc 404
15 Bennetts Rd, Ste 5
East Setauket, NY 11733


Baggaley Elementary School
Westmoreland Fayette 512
4080 Pa‐982
Latrobe, PA 15650


Bagmasters Factory Direct
P.O. Box 78626
Corona, CA 92877‐0154


Bahai Faith Of Palm Beach County
Gulf Stream Council 085
7369 Wport Pl
West Palm Beach, FL 33413


Bahai National Center
1233 Central St
Evanston, IL 60201


Bahamas Programs
c/o Florida Sea Base
P.O. Box 1906
Islamorada, FL 33036


Bahrain Elementary School
Transatlantic Council, Bsa 802
Psc 851 Box 55003
Fpo Ae, 09834‐0007


Bailey A Rose
Address Redacted


Bailey Elementary PTO
Simon Kenton Council 441
4900 Brandonway Dr
Dublin, OH 43017


Bailey Gatzert Ymca
Chief Seattle Council 609
1301 E Yesler Way
Seattle, WA 98122


Bailey M Scott
Address Redacted


Bailey Masonic Lodge
East Carolina Council 426
6140 Main St
Bailey, NC 27807


Bailey Motor Equipment
10501 S Orange Ave, Ste 126
Orlando, FL 32824
Bailey O Coleson
Address Redacted


Bailey Tools   Supply Inc
P.O. Box 17526
Louisville, KY 40217


Bailey Utd Methodist Church
East Carolina Council 426
Alt Hwy 264 W
Bailey, NC 27807


Baileys
1210 Commerce Ave, Ste 8
Woodland, CA 95776


Baileys Auto Repair Inc
315 Market Rd
Beckley, WV 25801


Baileyton Ruritan Club
Sequoyah Council 713
1605 Baileyton Main St
Greeneville, TN 37745


Bailly Preparation Academy
Pathway To Adventure 456
4621 Georgia St
Gary, IN 46409


Bailly Preparatory Academy
Pathway To Adventure 456
4621 Georgia St
Gary, IN 46409


Bainbridge ‐ Afton Lodge 167
Baden‐Powell Council 368
1892 County Rd 39
Bainbridge, NY 13733
Bainbridge Fire Co
Pennsylvania Dutch Council 524
34 S 2nd St
P.O. Box 231
Bainbridge, PA 17502


Bainbridge Rotary Club
Suwannee River Area Council 664
Charter House Inn
Us Hwy 27
Bainbridge, GA 39819


Baird School PTO
Bay‐Lakes Council 635
539 Laverne Dr
Green Bay, WI 54311


Baiting Hollow Scout Camp
Suffolk County Council Inc 404
1774 Sound Ave
Calverton, NY 11933


Baj Access Security Inc
4400 Morris Park Dr, Ste B
Charlotte, NC 28227‐9269


BakepackerCom
192 Technology Dr, Ste L
Irvine, CA 92618


Baker   Hostetler LLP
P.O. Box 70189
Cleveland, OH 44190‐0189


Baker Communications Inc
10101 SW Freeway, Ste 207
Houston, TX 77074


Baker County Sheriff S Office
North Florida Council 087
1 Sheriffs Office Dr
Macclenny, FL 32063


Baker Elementary Home   School
Silicon Valley Monterey Bay 055
4845 Bucknall Rd
San Jose, CA 95130


Baker Elks 338
Blue Mountain Council 604
1986 2nd St
P.O. Box 347
Baker City, OR 97814


Baker Jrotc Group Of Citizens
Mobile Area Council‐Bsa 004
8901 Airport Blvd
Mobile, AL 36608


Baker Manock   Jensen, Pc
Attn Jan T. Perkins
5260 N Palm Ave, Ste 421
Fresno, CA 93704


Baker Memorial Methodist Church
Greater Niagara Frontier Council 380
Main   Center St
East Aurora, NY 14052


Baker Memorial Utd Methodist Church
Three Fires Council 127
307 Cedar Ave
Saint Charles, IL 60174


Baker Real Estate   Investment
Greater Yosemite Council 059
610 13th St
Modesto, CA 95354


Baker Roofing
P.O. Box 26057
Raleigh, NC 27611
Baker S Ribs
488 W I‐30
Garland, TX 75043


Baker Utility Supply Corp
4320 2nd St Nw
Albuquerque, NM 87107


Bakercorp
P.O. Box 843596
Los Angeles, CA 90084‐3596


Bakersfield City Fire Dept
Southern Sierra Council 030
2101 H St
Bakersfield, CA 93301


Bakersfield Police Dept
Southern Sierra Council 030
1601 Truxtun Ave
Bakersfield, CA 93301


Bakersfield Police Explorers Bakersfield
Attn Karen Bennett
1601 Truxtun Ave
Bakersfield, CA 93301


Bakerstown Presbyterian
Laurel Highlands Council 527
5825 Heckert Rd
Bakerstown, PA 15007


Bakerstown Utd Methodist Church
Laurel Highlands Council 527
5760 William Flynn Hwy
Gibsonia, PA 15044


Bakersville Utd Methodist Church
Daniel Boone Council 414
117 S Mitchell Ave
Bakersville, NC 28705
Balance Consulting, LLC
1995 Highland Dr
Ann Arbor, MI 48108‐2284


Balance Vibration Tech Inc
P.O. Box 702286
Dallas, TX 75370‐2286


Balboa Academy
National Capital Area Council 082
P.O. Box 25207
Pty 3651
Miami, FL 33102


Balboa Parent Teacher Group
Inland Nwest Council 611
3010 W Holyoke Ave
6905 N Post St
Spokane, WA 99208


Balboa Power Squadron
Orange County Council 039
P.O. Box 1603
Newport Beach, CA 92659


Balco Holdings, Inc
5130 Commercial Cir
Concord, CA 94520


Balco Holdings, Inc
dba Bay Alarm Co
P.O. Box 7137
San Francisco, CA 94120‐7137


Bald Eagle Utd Methodist Church
Laurel Highlands Council 527
2862 Bald Eagle Pike
Tyrone, PA 16686


Bald Knob Rotary Club
Quapaw Area Council 018
P.O. Box 915
Bald Knob, AR 72010


Bald Mountain Baptist Church
Old Hickory Council 427
1435 Bald Mountain Rd
West Jefferson, NC 28694


Bald Ridge Lodge
Northeast Georgia Council 101
562 Lakeland Plz 302
Cumming, GA 30040


Bald Spot Sports
1650 Nfield Dr, Ste 800
Brownsburg, IN 46112


Baldwin Boys Assoc
Theodore Roosevelt Council 386
1990 Grove St
North Baldwin, NY 11510


Baldwin Community U M Church
Laurel Highlands Council 527
5001 Baptist Rd
Pittsburgh, PA 15236


Baldwin Concerned Parents ‐ Troop 277
Greater Los Angeles Area 033
900 S Almansor St
Alhambra, CA 91801


Baldwin County
Sales   Use Tax Dept
P.O. Box 369
Foley, AL 36536


Baldwin County Sheriff Office
Mobile Area Council‐Bsa 004
310 Hand Ave
Bay Minette, AL 36507
Baldwin Memorial Utd Methodist Church
Baltimore Area Council 220
921 Generals Hwy
Millersville, MD 21108


Baldwin Park Police Dept
Greater Los Angeles Area 033
14403 Pacific Ave
Baldwin Park, CA 91706


Baldwin Utd Methodist Church
North Florida Council 087
51 Chestnut St S
Baldwin, FL 32234


Baldy Mesa Scouting Booster Club
California Inland Empire Council 045
P.O. Box 293885
Phelan, CA 92329


Baldy Mountain Welding
Rt 1 Box 39A
Springer, NM 87747


Balfour Beatty
Pikes Peak Council 060
6800 Prussman Blvd
Fort Carson, CO 80913


Balfour Beatty Communities
Narragansett 546
8 Constitution Ave
Middletown, RI 02842


Ball Camp Baptist Church
Great Smoky Mountain Council 557
2412 Ball Camp Byington Rd
Knoxville, TN 37931


Ball Chain Manufacturing
741 S Fulton Ave
Mount Vernon, NY 10550‐5085


Ball Ground Masonic Lodge 261 F Am
Atlanta Area Council 092
P.O. Box 383
Ball Ground, GA 30107


Ball Oil Co Inc
P.O. Box 870
Fayetteville, WV 25840


Ball State University
Attn Office of Scholarships
Financial Aid
Lucina Hall, Rm 245
Muncie, IN 47306


Ballard Elks Lodge 827
Chief Seattle Council 609
6411 Seaview Ave Nw
Seattle, WA 98107


Ballard Hudson Middle School Jlc
Central Georgia Council 096
1070 Anthony Rd
Macon, GA 31204


Ballard Spahr LLP
1735 Market St 51st Fl
Philadelphia, PA 19103


Ballard Spahr LLP
2000 Ids Center
80 S 8th St
Minneapolis, MN 55402‐2274


Ballard Troop    Crew Youth
Charitable Assoc
Chief Seattle Council 609
610 N 125Th St
Seattle, Wa 98133
Ballast Group
California Inland Empire Council 045
200 Exeter Way
Corona, CA 92882


Ballena Bay Yacht Club
Piedmont Council 042
1150 Ballena Blvd
Alameda, CA 94501


Ballet Folklorico El Mestizaje
Greater Yosemite Council 059
4825 Wild Rose Dr
Salida, CA 95368


Ballew Music   Repair
16 Ct St
Clayton, NM 88415


Ballin Ballin   Fishman PC
Belinda   Kelly Caldwell
For Jacob Caldwell
200 Jefferson Ave, Ste 1250
Memphis, TN 38103


Ballinger Rotary Club
Texas Swest Council 741
P.O. Box 245
Ballinger, TX 76821


Balloons   More
1230 N Beltline Rd
Irving, TX 75061


Balloons Everyday
P.O. Box 112804
Carrollton, TX 75011‐2804


BalloonsdcCom
6234 Georgia Ave Nw
Washington, DC 20011


Ballston Lake Vol Fire Dept
Twin Rivers Council 364, Route 146A
Ballston Lake, NY 12019


Ballston Spa Utd Methodist Church
Twin Rivers Council 364
101 Milton Ave
Ballston Spa, NY 12020


Ballwin Police Dept
Greater St Louis Area Council 312
300 Vlasis Park Dr
Ballwin, MO 63011


Bally S Park Place Inc
Caesars Ent c/o Ballys Atlantic City
P.O. Box 96118
Las Vegas, NV 89193


Balmoral Presbyterian Church
Chickasaw Council 558
6413 Quince Rd
Memphis, TN 38119


Balsam St Christian Church
Bay‐Lakes Council 635
324 Balsam St
Kingsford, MI 49802


Baltic Lutheran Church
Sioux Council 733
P.O. Box 198
Baltic, SD 57003


Baltic Volunteer Fire Dept
Connecticut Rivers Council, Bsa 066
22 Bushnell Hollow Rd
Baltic, CT 06330
Baltimore Alarm   Security Inc
5314 Reistertown Rd
Baltimore, MD 21215‐4498


Baltimore Area
701 Wyman Park Dr
Baltimore, MD 21211‐2805


Baltimore Area Cncl 220
701 Wyman Park Dr
Baltimore, MD 21211‐2805


Baltimore City Juvenille Justice Court
Baltimore Area Council 220
300 N Gay St
Baltimore, MD 21202


Baltimore City Police Nw Dist
Baltimore Area Council 220
5271 Reisterstown Rd
Baltimore, MD 21215


Baltimore Civitan Club
Baltimore Area Council 220
P.O. Box 42193
Baltimore, MD 21284


Baltimore Co Game Fish Protect Assn Inc
Baltimore Area Council 220
3400 Nwind Rd
Baltimore, Md 21234


Baltimore County Maryland
Report Request Unit
700 E Joppa Rd
Townsend, MD 21286


Baltimore County Police Dept
Baltimore Area Council 220
215 Milford Mill Rd
Pikesville, MD 21208
Baltimore County Police Dept PC 11
Baltimore Area Council 220
216 N Marlyn Ave
Baltimore, MD 21221


Baltimore County Police Dept PC 12
Baltimore Area Council 220
1747 Merritt Blvd
Baltimore, MD 21222


Baltimore County Police Dept PC 2
Baltimore Area Council 220
700 E Joppa Rd
Towson, MD 21286


Baltimore County Police Dept PC 3
Baltimore Area Council 220
606 Nicodemus Rd
Reisterstown, MD 21136


Baltimore County Police Dept PC 7
Baltimore Area Council 220
111 Wight Ave
Cockeysville, MD 21030


Baltimore County Police Dept PC 9
Baltimore Area Council 220
8220 Perry Hall Blvd
Baltimore, MD 21236


Baltimore County Police PC1
Baltimore Area Council 220
901 Walker Ave
Catonsville, MD 21228


Baltimore False Alarm Reduction Program
P.O. Box 17283
Baltimore, MD 21297‐1283


Baltimore‐ Kawasaki Sister City Ctte
C/O Dan Young
Baltimore Area Council 220
21306 Dunk Freeland Rd
Parkton, Md 21120


Baltimore Lock   Hardware
3950 Falls Rd
Baltimore, MD 21211


Baltimore Police Dept Eastern District
Baltimore Area Council 220
1620 Edison Hwy
Baltimore, Md 21213


Baltimore Police Dept Northeast District
Baltimore Area Council 220
1900 Argonne Dr
Baltimore, Md 21218


Baltimore Police Dept Northern
Baltimore Area Council 220
2201 W Cold Spring Ln
Baltimore, MD 21209


Baltimore Police Dept Southeast District
Baltimore Area Council 220
5710 Eern Ave
Baltimore, Md 21202


Baltimore Police Dept Southern District
Baltimore Area Council 220
10 Cherry Hill Rd
Baltimore, Md 21225


Baltimore Police Dept Western District
Baltimore Area Council 220
1034 N Mount St
Baltimore, Md 21217


Baltimore Ravens LP
Attn Jim Coller, Controller
1 Winning Dr
Owings Mills, MD 21117
Baltimore Utd Methodist Church Men
Old Hickory Council 427
2419 Baltimore Rd
East Bend, NC 27018


Baltimore Utd Methodist Church Mens
Old Hickory Council 427
2419 Baltimore Rd
East Bend, NC 27018


Baltimore Washington Emergency
Physicians Inc
P.O. Box 412194
Boston, MA 02241‐2194


Baltimore Washington Medical
Center
P.O. Box 64021
Baltimore, MD 21264‐4021


Baltimore Washington Medical
P.O. Box 64021
Baltimore, MD 21264‐4021


Baltimores Tremonts
222 St Paul Pl
Baltimore, MD 21202


Baltusrol Golf Club
P.O. Box 9
Springfield, NJ 07081


Bamberg Middle School ‐ Ai
Indian Waters Council 553
396 St Paul St
Orangeburg, SC 29115


Bambi Farmer
Address Redacted
Banc Of America Leasing
Lease Admin Ctr
P.O. Box 405874
Atlanta, GA 30384‐5874


Banc Of America Leasing
Lease Admin Ctr
P.O. Box 371992
Pittsburgh, PA 15250‐7992


Banc Of America Leasing
Lease Admin Ctr
P.O. Box 7023
Troy, MI 48007‐0723


Banco Popular
209 Avenida Ponce De Leon
San Juan, PR 00918


Bancroft Elementary Parent Faculty Club
Mt Diablo‐Silverado Council 023
2200 Parish Dr
Walnut Creek, CA 94598


Band Of Brothers
Capitol Area Council 564
4010 Sam Bass Rd
Round Rock, TX 78681


Bandalag Islenskra Skata
Hraunbaer 123
Reykjavik, 110
Iceland


Bandera Utd Methodist Church
Alamo Area Council 583
P.O. Box 128
Bandera, TX 78003


Bang Elementary PTO
Sam Houston Area Council 576
8900 Rio Grande Dr
Houston, TX 77064


Bang Printing
P.O. Box 587
Brainerd, MN 56401


Bangladesh Scouts
60 Anjuman Mufldul Islam Rd
Kakrail Dhaka 1000
Bangladesh
India


Bangor Elementary Parent‐Teacher Org
Gateway Area 624
.Bangor Wi.
Bangor, WI 54614


Bangor Elks Lodge 244
Katahdin Area Council 216
108 Odlin Rd
Bangor Elks Lodge 244
Bangor, ME 04401


Bangor Lions Club
Southern Shores Fsc 783
P.O. Box 13
Bangor, MI 49013


Bangor Police Dept
Katahdin Area Council 216
240 Main St
Bangor, ME 04401


Bangor Twp Firefighters 1682
Water and Woods Council 782
1000 W N Union St
Bay City, MI 48706


Bank Of America
Attn Jake Thomas
901 Main St, Ste 1100
Dallas, TX 75202


Bank Of Lincoln County
Middle Tennessee Council 560
307 College St
Fayetteville, TN 37334


Bank Supplies
43430 N I94 Service Dr
Belleville, MI 48111


Bank‐A‐Count Corp
1666 Main St
Rudolph, WI 54475‐9320


Bankhead Boys Assoc
Atlanta Area Council 092
1281 Fulton Industrial Blvd Nw
Atlanta, GA 30336


Banks Fry‐Bake Co
P.O. Box 183
Claverack, NY 12513


Banks Sunset Park Assoc Inc
Cascade Pacific Council 492
12765 NW Main St
Banks, OR 97106


Banks Utd Methodist Church
Occoneechee 421
2362 Hwy 96
Franklinton, NC 27525


Banks Utd Methodist Church
Occoneechee 421
2632 Nc Hwy 96
Franklinton, NC 27525


Bankson Group Ldt
dba Alamotees   Advertising
12814 Cogburn Ave
San Antonio, TX 78249


Banneker Elementary School At Marquette
Pathway To Adventure 456
6401 Hemlock Ave
Gary, IN 46403


Banner Elk Kiwanis Club
Daniel Boone Council 414
P.O. Box 2321
Banner Elk, NC 28604


Banner PTO
W D Boyce 138
12610 N Allen Rd
Dunlap, IL 61525


Banning Lewis Ranch Academy
Pikes Peak Council 060
7094 Cottonwood Tree Dr
Colorado Springs, CO 80927


Banning Police Dept
California Inland Empire Council 045
125 E Ramsey St
Banning, CA 92220


Bannockburn Baptist Church
Capitol Area Council 564
7100 Brodie Ln
Austin, TX 78745


Bannockburn Elementary School PTA
National Capital Area Council 082
6520 Dalroy Ln
Bethesda, MD 20817


Banso Taylor Golubic
Banso Taylor Sewing Service
127 Parkhurst Ln
Allen, TX 75013
Bantam Fire Dept
Connecticut Rivers Council, Bsa 066
P.O. Box 456
Bantam, CT 06750


Baptist ‐ Arco Baptist Community Church
Grand Teton Council 107
402 W Grand Ave
Arco, ID 83213


Baptist ‐ First Baptist Church
Grand Teton Council 107
P.O. Box 1167
Jackson, WY 83001


Baptist ‐ First Baptist Church
Grand Teton Council 107
P.O. Box 872
Jackson, WY 83001


Baptist Community Church Of Loyalton
Nevada Area Council 329
P.O. Box 93
Loyalton, CA 96118


Baptist First Baptist Church
Of W. Yellowstone
Grand Teton Council 107
P.O. Box 148
West Yellowstone, Mt 59758


Baptist Health Paducah
Lincoln Heritage Council 205
2501 Kentucky Ave
Paducah, KY 42003


Baptist Healthcare System
Lincoln Heritage Council 205
1025 New Moody Ln
Lagrange, KY 40031
Baptist Medical Center
Tukabatchee Area Council 005
2105 E S Blvd
Montgomery, AL 36116


Baptist Temple
Buckskin 617
Quarrier   Morris St
Charleston, WV 25301


Baptist Temple Church
Buckskin 617
902 21st St
Huntington, WV 25703


Bar Harbor Masonic Lodge 185
Katahdin Area Council 216
110 Main St
Bar Harbor, ME 04609


Bara Book   Bible
3101 Saint Clair Ave
East Liverpool, OH 43920


Barab Assoc, Inc
9132 Branch Hollow Dr
Dallas, TX 75243


Barack   Michelle Obama Academy
Atlanta Area Council 092
970 Martin St Se
Atlanta, GA 30315


Barack Obama Elementary Magnet
Atlanta Area Council 092
3132 Clifton Rd
Atlanta, GA 30316


Barbara A Dolan
Address Redacted
Barbara A Sizemore Academy
Pathway To Adventure 456
1540 W 84th St
Chicago, IL 60620


Barbara Aalderink
Address Redacted


Barbara Anders
Address Redacted


Barbara Ann Williams
Address Redacted


Barbara Archer
Address Redacted


Barbara Armstrong
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Barbara Arnette
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Barbara Backus
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Barbara Goldberg
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Barbara Goldstein
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Barbara Goleman Senior High School
South Florida Council 084
14100 NW 89th Ave
Miami Lakes, FL 33018


Barbara Hahn
Address Redacted


Barbara Hargis
Address Redacted


Barbara Hawkins Elementary
South Florida Council 084
19010 NW 37th Ave
Miami Gardens, FL 33056


Barbara Heggem
Address Redacted


Barbara Igo
Address Redacted


Barbara Johnson
Address Redacted


Barbara Jones
Address Redacted


Barbara Jordan Elementary School
Circle Ten Council 571
1111 W Kiest Blvd
Dallas, TX 75224


Barbara Kane
Address Redacted


Barbara Kelley
Address Redacted


Barbara Kurkowski
Address Redacted


Barbara Land
Address Redacted


Barbara Lindeman
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Barbara Prichard
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Barbara Read
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Barbara Rice
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Barbara Robinson
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Barbara Rooney
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Barbara Russell
Address Redacted


Barbara S Austin Elementary P.T.O.
Circle Ten Council 571
161 S Moore Rd
Coppell, TX 75019


Barbara Saunders
Address Redacted


Barbara Scott
Address Redacted


Barbara Seaton
Address Redacted


Barbara Shoemaker
Address Redacted


Barbara Simpson
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Barbara Smith
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Barbara Steward
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Barbara Stubblefield
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Barbara Swan
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Barbara Thompson
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Barbara Uildriks
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Barbara Van Horn
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Barbara Vickus
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Barbara Waycaster
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Barbara Whitaker
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Barbara Williams
Address Redacted


Barbara Wilson
Address Redacted


Barbara Wolff
Address Redacted


Barbara Young
Address Redacted


Barbara Ziegenweide
Address Redacted


Barbee Memorial Presbyterian Church
Heart of America Council 307
501 Tiger Dr
Excelsior Springs, MO 64024


Barberton Church Of God
Great Trail 433
885 N Summit St
Barberton, OH 44203


Barberton Moose Lodge 759
Great Trail 433
250 31st St Nw
Barberton, OH 44203


Barbizon Light Of The Rockies LLC
8269 E 23rd Ave, Ste 111
Denver, CO 80238


Barbizon Lighting Co
11551 Interchange Cir S
Miramar, FL 33025‐6010


Barbor Institut Kosmetickstudio
Beauty    Balance
Transatlantic Council, Bsa 802
Beauty And Balance
Poststr 2
Germany


Barbour Language PTO
Blackhawk Area 660
1506 Clover Ave
Rockford, IL 61102


Barboursville Lion S Club
Buckskin 617
1178 Union Ave
Barboursville, WV 25504


Barclay Bollas
Address Redacted


Barclay Elementary School
Baltimore Area Council 220
2900 Barclay St
Baltimore, MD 21218


Barco Products Co
11 N Batavia Ave
Batavia, IL 60510‐1961


Bardstown Elementary School
Lincoln Heritage Council 205
308 N 5th St
Bardstown, KY 40004


Bardstown High School
Lincoln Heritage Council 205
400 N 5th St
Bardstown, KY 40004
Bardstown Middle School
Lincoln Heritage Council 205
410 N 5th St
Bardstown, KY 40004


Bardstown Utd Methodist Church
Lincoln Heritage Council 205
116 E Flaget St
Bardstown, KY 40004


Bare Memorial Church Of God
Laurel Highlands Council 527
500 E Main St
Roaring Spring, PA 16673


Bare Necessities LLC
c/o Michelle L Bare
P.O. Box 1309
Crab Orchard, WV 25827


Barebones Systems LLC
1215 E Wilmington Ave, Ste 140
Salt Lake City, UT 84106


Barebones Systems LLC
675 W 14600 S
Bluffdale, UT 84065


Barfield Elementary School PTO
Middle Tennessee Council 560
350 Barfield Crescent Rd
Murfreesboro, TN 37128


Bargreen Ellingson, Inc
6626 Tacoma Mall Blvd, Ste B
Tacoma, WA 98409


Bargreen Ellingson, Inc
P.O. Box 94328, P.O. Box 310055
Seattle, WA 98124‐6628
Bark River‐Harris Parent Teachers Org
Bay‐Lakes Council 635
P.O. Box 350
Harris, MI 49845


Barkdull Financial Group
Grand Teton Council 107
3920 Georgia Ln
Ammon, ID 83406


Barker Fire Dept Volunteer
Iroquois Trail Council 376
1660 Quaker Rd
Barker, NY 14012


Barker Lions Club
Iroquois Trail Council 376
P.O. Box 123
Barker, NY 14012


Barkley Ct Reporters
File No 50217
Los Angeles, CA 90074


Barkley Home   School Assn
Chester County Council 539
320 2nd Ave
Phoenixville, PA 19460


Barkley House Ii Inc
Dept 2750
Tulsa, OK 74182


Barks Youth Foundation
Occoneechee 421
1401 Acres Way
Raleigh, NC 27614


Barlett Burns, LLC Trustee
126 Elm St
Chesire, CT 06410
Barling PTA
Westark Area Council 016
1400 D St
Barling, AR 72923


Barlow Building Contractors
30837 Delgado Ln
Big Pine Key, FL 33043


Barlow Designs Inc
20 Commercial Way
East Providence, RI 02914


Barlow Utd Methodist Church
Lincoln Heritage Council 205
198 S 5th St
Barlow, KY 42024


Barlow Volunteer Fire Dept
Muskingum Valley Council, Bsa 467
P.O. Box 121
Barlow, OH 45712


Barloworld
P.O. Box 402473
Atlanta, GA 30384‐2473


Barnard Fire Dept
Seneca Waterways 397
3084 Dewey Ave
Rochester, NY 14616


Barnard Memorial Utd Methodist Church
Last Frontier Council 480
P.O. Box 784
Holdenville, OK 74848


Barnard School P T O
Connecticut Rivers Council, Bsa 066
27 Shaker Rd
Enfield, CT 06082
Barnard School P T O
Great Lakes Fsc 272
3601 Forge Dr
Troy, MI 48083


Barnard Utd Methodist Ch.‐Holdenville
Last Frontier Council 480
P.O. Box 784
Holdenville, OK 74848


Barnegat Fire Dept
Jersey Shore Council 341
11 Birdsall St
Barnegat, NJ 08005


Barnes   Noble
120 Mountain View Blvd
Basking Ridge, NJ 07920


Barnes   Noble
P.O. Box 116378
Atlanta, GA 30368‐6378


Barnes   Noble Booksellers
1430 Plaza Pl
Southlake, TX 76092


Barnes   NobleCom
Professional Technical     Business
76 9th Ave 9th Fl
New York, NY 10011


Barnes Jewish Hospital
Greater St Louis Area Council 312
1 Barnes Jewish Hospital Plz
Saint Louis, MO 63110


Barnes Lake Club
Water and Woods Council 782
375 Pennisula
Columbiaville, MI 48421


Barney S Garage    Implements
705 N Commercial
Trinidad, CO 81082


Barnhart School
Greater Los Angeles Area 033
240 W Colorado Blvd
Arcadia, CA 91007


Barnhill Bolt Co, Inc
P.O. Box 6292
Albuquerque, NM 87197‐6292


Barnstable Amateur Radio Club
Cape Cod and Islands Cncl 224
77 Agnes Rd
South Dennis, MA 02660


Barnstead Fire And Rescue
Daniel Webster Council, Bsa 330
P.O. Box 117
Barnstead, NH 03218


Barnum Fire Dept
Voyageurs Area 286
P.O. Box 257
Barnum, MN 55707


Barnum Volunteer Fire Dept
Voyageurs Area 286
3842 Church St
Barnum, MN 55707


Barnwell Utd Methodist Church
Georgia‐Carolina 093
P.O. Box 126
Barnwell, SC 29812


Baron Ammons
Address Redacted


Baron Technology, Inc
62 Spring Hill Rd
Trumbull, CT 06611


Barr Credit Services Inc
5151 E Broadway Blvd, Ste 800
Tucson, AZ 85711


Barrack Obama Elementary School PTO
Greater St Louis Area Council 312
2505 Kienlen Ave
Saint Louis, MO 63121


Barrackville Utd Methodist Church
Mountaineer Area 615
P.O. Box 186
Barrackville, WV 26559


Barre Congregational Ch
Green Mountain 592
35 Church St
Barre, VT 05641


Barre‐American Legion Post 2
Heart of New England Council 230
450 S Barre Rd
P.O. Box 537
Barre, MA 01005


Barre‐Congregational Church
Heart of New England Council 230
Park St
Barre, MA 01005


Barren County Evening Lions Club
Lincoln Heritage Council 205
457 Owen Rd
Glasgow, KY 42141
Barrett Elementary
Greater Alabama Council 001
7601 Div Ave
Birmingham, AL 35206


Barrett Elementary PTA
Greater Alabama Council 001
7601 Div Ave
Birmingham, AL 35206


Barrett Mohrmann
Address Redacted


Barretts School PTO
Greater St Louis Area Council 312
1780 Carman Rd
Ballwin, MO 63021


Barrington Congregational Church Ucc
Narragansett 546
461 County Rd
Barrington, RI 02806


Barrington Elementary School PTA
Greater St Louis Area Council 312
15600 Old Halls Ferry Rd
Florissant, MO 63034


Barrington Firemans Assoc
Daniel Webster Council, Bsa 330
774 Route 9 Franklin Pierce Hwy
Barrington, NH 03825


Barrington Lions Club
Pathway To Adventure 456
421 W Main St
Barrington, IL 60010


Barrington Middle School
Narragansett 546
Barrington Middle School
261 Middle Hwy
Barrington, RI 02806


Barrington Police Dept.
Pathway To Adventure 456
400 N Nwest Hwy
Barrington, IL 60010


Barrington Rifle Club
Seneca Waterways 397
2401 Gray Rd
Penn Yan, NY 14527


Barrington Utd Methodist Church
Pathway To Adventure 456
98 Algonquin Rd
Barrington, IL 60010


Barron Kiwanis Club
Chippewa Valley Council 637
General Delivery
Barron, WI 54812


Barron Park Assoc
Pacific Skyline Council 031
3875 El Centro St
Palo Alto, CA 94306


Barron S
1211 Ave of the Americas
New York, NY 10036


Barrow County Sheriffs Office
Northeast Georgia Council 101
30 N Broad St
Winder, GA 30680


Barrows School PTO
The Spirit of Adventure 227
29 Edgemont Ave
Reading, MA 01867
Barry American Legion Post 222
Mississippi Valley Council 141 141
P.O. Box 154
Barry, IL 62312


Barry Bowman
Address Redacted


Barry Brown
Address Redacted


Barry Christian Church
Heart of America Council 307
1500 NW Barry Rd
Kansas City, MO 64155


Barry Grant
Address Redacted


Barry Mann
Address Redacted


Barry Mccammon
Address Redacted


Barry Mcdonald
Address Redacted


Barry Moore
Address Redacted


Barry Norris
Address Redacted


Barry Norris Studio, LLC
1205 Cisneros Rd
El Prado, NM 87529


Barry Owen
Address Redacted


Barry Oxley
Address Redacted


Barry Pardee
Address Redacted


Barry Sanders
Address Redacted


Barry Schloss
Address Redacted


Barry Schuch
Address Redacted


Barry Schull
Address Redacted


Barry Shook
Address Redacted


Barryton Church Of God
President Gerald R Ford 781
P.O. Box 222
Barryton, MI 49305


Barstow Fire Protection District
California Inland Empire Council 045
861 Barstow Rd
Barstow, CA 92311


Barstow Police Dept
California Inland Empire Council 045
220 E Mountain View St
Barstow, CA 92311


Bart Arney
Address Redacted


Bart Centenary, Umc
New Birth of Freedom 544
50 E King St
Barts Centenary Umc
Littlestown, PA 17340


Bart Centenary, Umc
New Birth of Freedom 544
50 E King St
Littlestown, PA 17340


Bart Green
Address Redacted


Bart Police Dept
San Francisco Bay Area Council 028
101 8th St
Oakland, CA 94607


Bart Zona
Address Redacted


Bartholomew A Starich
Address Redacted


Bartlesville First Church
Cherokee Area Council 469 469
4715 Price Rd
Bartlesville, OK 74006


Bartlesville Police Dept
Cherokee Area Council 469 469
615 S Johnstone Ave
Bartlesville, OK 74003


Bartlett Center
Pony Express Council 311
409 S 18th St
Saint Joseph, MO 64501
Bartlett Chapel Utd Methodist Church
Crossroads of America 160
4396 E Main St
Avon, IN 46123


Bartlett Learning Center Clare Woods
Three Fires Council 127
125 E Seminary Ave
Wheaton, IL 60187


Bartlett Public Library District
800 S Bartlett Rd
Bartlett, IL 60103


Bartlett Utd Methodist Church
Chickasaw Council 558
5676 Stage Rd
Bartlett, TN 38134


Bartlett Woods Church Of Christ
Chickasaw Council 558
7900 Old Brownsville Rd
Arlington, TN 38002


Bartlett Youth Foundation
Three Harbors Council 636
1120 N Stuart Rd
Racine, WI 53406


Bartley S Bar‐B‐Q
413 E Nwest Hwy
Grapevine, TX 76051


Barton Creek Resort   Spa
8212 Barton Club Dr
Austin, TX 78735


Barton Halpern
Address Redacted
Bartonville Utd Methodist Church
W D Boyce 138
6005 S Adams St
Bartonville, IL 61607


Bartosz Armstrong
Address Redacted


Bartow Police Dept
Greater Tampa Bay Area 089
450 N Broadway Ave
Bartow, FL 33830


Bartram Springs Elementary School PTA
North Florida Council 087
14799 Bartram Springs Pkwy
Jacksonville, FL 32258


Barts Centenary Utd Methodist
New Birth of Freedom 544
50 E King St
Littlestown, PA 17340


Barudan America Inc
30901 Carter St, Ste A
Solon, OH 44139‐3519


Barun Ip   Law
5th Fl Medison Building
1003, Daechi‐Dong, Gangnam‐Gu
Seoul, 135851
Korea


Bas Ptso
Transatlantic Council, Bsa 802
Brussels American School
Unit 8100 Box 13
Apo, AE 09714


Basalt Lions Club   Aspen Elks Lodge
224 Bpoe
Denver Area Council 061
P.O. Box 602
Basalt, Co 81621


Bascomb Methodist Church
Atlanta Area Council 092
2299 Bascomb Carmel Rd
Woodstock, GA 30189


Base Support Group
Transatlantic Council, Bsa 802
Cmr 450 Box 409
Apo, AE 09705


Basehor Awards    Trophies
18501 153rd St
Basehor, KS 66007


Basehor Utd Methodist Church
Heart of America Council 307
18660 158th St
Basehor, KS 66007


Bashford Utd Methodist Church
Glaciers Edge Council 620
329 N St
Madison, WI 53704


Bashiru Allison
Address Redacted


Basil Joint Fire District
Simon Kenton Council 441
410 W Washington St
Baltimore, OH 43105


Basile N Meadows Trust
Melissa Meadows Smith, Trustee
Lloyd L Smith, Trustee
12695 Old Surrey Pl
Roswell, GA 30075
Basilica Of Saint Mary
National Capital Area Council 082
310 Duke St
Alexandria, VA 22314


Basilica Of St Paul
Central Florida Council 083
317 Mullally St
Daytona Beach, FL 32114


Basis International School Guangzhou
Far E Council 803
No. 8 Jiantashan Rd Science City
Huangpu District, Guangzhou, Guangdong
China


Baske Tree
36 W Sheridan
Ely, MN 55731


Baskervill
Attn Vickie Levy
Heart of Virginia Council 602
P.O. Box 400
Richmond, VA 23218


Baskin Elementary PTA
Alamo Area Council 583
630 Crestview Dr
San Antonio, TX 78201


Basking Ridge Presbyterian Church
Patriots Path Council 358
1 E Oak St
Basking Ridge, NJ 07920


Bass Law, LLC
Attn Dondra Bass O Neal
24 Commerce Pl, Ste A
Savannah, GA 31406
Bass Law, LLC
Attn Dondra Bass O Neal, Esq
re Plaintiff
24 Commerce Pl, Ste A
Savannah, GA 31406


Bass Pro Shop
Lincoln Heritage Council 205
951 E Lewis and Clark Pkwy
Clarksville, IN 47129


Bass Pro Shop
Mid‐America Council 326
2901 Bass Pro Dr
Council Bluffs, IA 51501


Bass Pro Shops
2501 Bass Pro Dr
Grapevine, TX 76051


Bass Pro Shops Outdoor World Prattville
Tukabatchee Area Council 005
2553 Bass Pro Blvd
Prattville, AL 36066


Bassc
Greater St Louis Area Council 312
2411 Pathways Xing
Belleville, IL 62221


Bassett Church Of The Brethren
Blue Ridge Mtns Council 599
34 Brethern Dr
Bassett, VA 24055


Bassett Memorial Methodist Church
Blue Ridge Mtns Council 599
P.O. Box 408
Bassett, VA 24055


Bastian Elementary School PTA
Sam Houston Area Council 576
5051 Bellfort St
Houston, TX 77033


Bastrop Christian Church
Capitol Area Council 564
1106 Church St
Bastrop, TX 78602


Bastrop County Sheriffs Dept
Capitol Area Council 564
200 Jackson St
Bastrop, TX 78602


Bastrop First Utd Methodist Church
Capitol Area Council 564
P.O. Box 672
1201 Main St
Bastrop, TX 78602


Bat Conservation Int L Inc
P.O. Box 162603
Austin, TX 78716‐2603


Batavia City Police Dept
Iroquois Trail Council 376
10 W Main St
Batavia, NY 14020


Batavia Fire Dept
Three Fires Council 127
800 E Wilson St
Batavia, IL 60510


Batavia Lions Club
Three Fires Council 127
1270 N Ave
Batavia, IL 60510


Batavia Moose Lodge 682
Three Fires Council 127
1535 S Batavia Ave
Batavia, IL 60510
Batavia Vfw Post 1197
Three Fires Council 127
P.O. Box 82
Batavia, IL 60510


Batchgeo Pro
For Secured Card Only
113 Cherry St, 15478
Seattle, WA 98104


Bateman PTA
Pathway To Adventure 456
4220 N Richmond St
Chicago, IL 60618


Bates Academy Lsco
Great Lakes Fsc 272
19701 Wyoming St
Detroit, MI 48221


Bates College
Attn Office of Student Financial Svcs
P.O. Box 6500
Lewiston, ME 04243‐6500


Bates Memorial Presbyterian Church
Buckskin 617
103 Jefferson Park Dr
Huntington, WV 25705


Bates School PTO
Mayflower Council 251
116 Elmwood Rd
Wellesley, MA 02481


Bates White LLC
2001 K St Nw, North Bldg, Ste 500
Washington, DC 20006


Batesburg‐Leesville Fire Dept
Indian Waters Council 553
431 E Church St
Batesburg Leesville, SC 29070


Batesville Kiwanis
Hoosier Trails Council 145 145
P.O. Box 4
Batesville, IN 47006


Batesville Lions Club
Chickasaw Council 558
P.O. Box 736
Batesville, MS 38606


Batesville Presbyterian Church
Chickasaw Council 558
121 Eureka St
Batesville, MS 38606


Bath First Presbyterian Church
Five Rivers Council, Inc 375
6 E Morris St
Bath, NY 14810


Bath Parent‐Teacher Society
Black Swamp Area Council 449
2300 Bible Rd
Lima, OH 45801


Bath Ruritan Club
East Carolina Council 426
Hwy. 92
Bath, NC 27808


Bath Utd Church Of Christ
Great Trail 433
3980 W Bath Rd
Akron, OH 44333


Baton Rouge City Police Dept
Istrouma Area Council 211
9000 Airline Hwy
Baton Rouge, LA 70815


Batteries Plus
4425 Park Rd
Charlotte, NC 28241


Batteries Plus 176
9939 Lee St
Pineville, NC 28134


Battery WebCom
Leesburg Commerce Park
146 Park Ctr St
Leesburg, FL 34748


Batteryguy
1520 Broadmoor Blvd
Buford, GA 30518


Battle Creek Lions Club
Mid‐America Council 326
P.O. Box 491
Battle Creek, NE 68715


Battle Creek Police Dept
Southern Shores Fsc 783
20 Div St N
Battle Creek, MI 49014


Battle Elementary PTA
Great Rivers Council 653
2600 Battle Ave
Columbia, MO 65202


Battle Ground Lions Club
Cascade Pacific Council 492
P.O. Box 1024
Battle Ground, WA 98604


Battle Ground Utd Methodist
Sagamore Council 162
P.O. Box 302
Battle Ground, IN 47920


Battle Lake Lions Club
Northern Lights Council 429
P.O. Box 282
Battle Lake, MN 56515


Battleground District Committee
Monmouth Council, Bsa 347
705 Ginesi Dr
Morganville, NJ 07751


Baty Elementary Lead
Capitol Area Council 564
2101 Faro Dr
Austin, TX 78741


Bauder Elementary School PTO
Longs Peak Council 062
2345 W Prospect Rd
Fort Collins, CO 80526


Baudville
5380 52nd St Se
Grand Rapids, MI 49512


Bauer Compressors
10052 NW 53rd St
Sunrise, FL 33351


Bauer Compressors
1328 Azalea Garden Rd
Norfolk, VA 23502‐1944


Bauer Ranch
Las Vegas Area Council 328
135 Coal Mine Rd
Mount Carmel, UT 84755


Bauerstown Volunteer Fire Dept
Laurel Highlands Council 527
15 Wible Run Rd
Pittsburgh, PA 15209


Bausman Memorial Utd Church Of Christ
Hawk Mountain Council 528
1064 Penn Ave
Wyomissing, PA 19610


Bauti Yarbrough
Address Redacted


Bav Inc
10550 Maybank Dr
Dallas, TX 75220‐2513


Bax Advisors LLC
c/o Monica Susan Blacker
2132 Ash Grove Way
Dallas, TX 75228


Baxter Church Of God
Middle Tennessee Council 560
446 Elm St
Baxter, TN 38544


Baxter Lions Club
Central Minnesota 296
14307 Oakwood Dr
Baxter, MN 56425


Bay Area
3020 53rd St
Galveston, TX 77551‐5917


Bay Area Cncl 574
3020 53rd St
Galveston, TX 77551


Bay Area Family Church
San Francisco Bay Area Council 028
2305 Washington Ave
San Leandro, CA 94577


Bay Bolt Inc
4610 Malat St
Oakland, CA 94601


Bay Chapel
Greater Tampa Bay Area 089
9020 Imperial Oak Blvd
Tampa, FL 33647


Bay City Police Dept
Sam Houston Area Council 576
2201 Ave H
Bay City, TX 77414


Bay Container Services Inc
P.O. Box 6028
Chesapeake, VA 23323‐0028


Bay County Sheriffs Office
Gulf Coast Council 773
3421 Hwy 77
Panama City, FL 32405


Bay Harbor Island Police
South Florida Council 084
9665 Bay Harbor Ter
Bay Harbor Islands, FL 33154


Bay Harbour Utd Methodist Church
Bay Area Council 574
3459 Fm 518 Rd E
League City, TX 77573


Bay Hills Community Assoc
Baltimore Area Council 220
P.O. Box 8
Arnold, MD 21012
Bay Hope
Greater Tampa Bay Area 089
10701 Sheldon Rd
Tampa, FL 33626


Bay Hope Church
Greater Tampa Bay Area 089
17030 Lakeshore Rd
Lutz, FL 33558


Bay Lakes Cncl 635
P.O. Box 267
Appleton, WI 54912‐0267


Bay Lakes Scout Shop ‐ Opc
2555 Nern Rd
Appleton, WI 54914


Bay Lane Elementary PTO
Potawatomi Area Council 651
S75W16399 Hipptop Dr
Muskego, WI 53150


Bay Life Church Of Brandon Inc
Greater Tampa Bay Area 089
1017 Kingsway Rd
Brandon, FL 33510


Bay Osos Kiwanis Club
Los Padres Council 053
P.O. Box 6014
Los Osos, CA 93412


Bay Point Church
Southwest Florida Council 088
208 Palm Ave
Nokomis, FL 34275


Bay Ridge Volunteer Fire Co Inc
Twin Rivers Council 364
1080 Bay Rd
Lake George, NY 12845
Bay Sea Scouts Inc
Lake Erie Council 440
29560 Lake Rd
Bay Village, OH 44140


Bay Shore Commty
Congregational Church
Long Beach Area Council 032
5100 E The Toledo
Long Beach, Ca 90803


Bay Shore High School
Suffolk County Council Inc 404
155 3rd Ave
Bay Shore, NY 11706


Bay Utd Methodist Church
Lake Erie Council 440
29931 Lake Rd
Bay Village, OH 44140


Bay View Funding
P.O. Box 204703
Dallas, TX 75320‐4703


Bay Village‐Westlake Police Dept
Lake Erie Council 440
28000 Wolf Rd
Bay Village, OH 44140


Bayard Middle School
Del Mar Va 081
200 S Dupont St
Wilmington, DE 19805


Bayco Prouducts, Inc
640 S Sanden Blvd
Wylie, TX 75098


Bayfield Lions Club
Voyageurs Area 286
1007 Washington Ave
Bayfield, WI 54814


Bayflite Medical Transport
P.O. Box 512819
Los Angeles, CA 90051‐0819


Bayhealth Medical Center
Del Mar Va 081
640 S State St
Dover, DE 19901


Baylake Utd Methodist Church
Tidewater Council 596
4300 Shore Dr
Virginia Beach, VA 23455


Bay‐Lakes
2555 Nern Rd
P.O. Box 267
Appleton, WI 54912‐0267


Bay‐Lakes Council 635
2555 Nern Rd
Appleton, WI 54914


Bayless Educational Support Team
Greater St Louis Area Council 312
4530 Weber Rd
Saint Louis, MO 63123


Baylor University
Attn Cashiers Office
One Bear Pl 97048
Waco, TX 97048


Baylor University
Attn Financial Aid Office
1311 S 5th St
Waco, TX 76798
Baylor University
Longhorn Council 662
1 Bear Pl, Unit 97340
Waco, TX 76798


Bayne S Army Store, Inc
118 S Wayne St
Milledgeville, GA 31061


Bayonne Police Cops In Schools Program
Northern New Jersey Council, Bsa 333
630 Ave C
Bayonne, NJ 07002


Bayou City Walls System
Sam Houston Area Council 576
6501 Long Point Rd
Houston, TX 77055


Bayou Woods Elementary School PTA
Southeast Louisiana Council 214
35614 Liberty Dr
Slidell, LA 70460


Bayport Blue Point Chamber Of Commerce
Suffolk County Council Inc 404
P.O. Box 201
Bayport, NY 11705


Bayport Utd Methodist Church
Suffolk County Council Inc 404
482 Middle Rd
Bayport, NY 11705


Bays Lung Rose Holma Attorneys At Law
P.O. Box 1760
Honolulu, HI 96806


Bayshore Elementary School
Southwest Florida Council 088
17050 Williams Rd
North Fort Myers, FL 33917


Bayshore Gardens Community Church
Southwest Florida Council 088
6228 26th St W
Bradenton, FL 34207


Bayshore Landscape Nursery, Inc
P.O. Box 430649
Big Pine Key, FL 33043


Bayshore Medical Center
Monmouth Council, Bsa 347
727 N Beers St
Holmdel, NJ 07733


Bayshore Owner S Assoc
Great Alaska Council 610
P.O. Box 111661
Anchorage, AK 99511


Bayshore Presbyterian Church
Greater Tampa Bay Area 089
2515 Bayshore Blvd
Tampa, FL 33629


Bayside Covenant Church Inc
Golden Empire Council 047
P.O. Box 2336
Granite Bay, CA 95746


Bayside Presbyterian Church
Tidewater Council 596
1400 Ewell Rd
Virginia Beach, VA 23455


Bayside Printing   Northshore Journal
98 B Outer Dr
Silver Bay, MN 55614


Bayside School P T O
Three Harbors Council 636
601 E Ellsworth Ln
Milwaukee, WI 53217


Bayville Elks Lodge 2394
Jersey Shore Council 341
247 Atlantic City Blvd
Bayville, NJ 08721


Baywood Ruritan Club
Blue Ridge Mtns Council 599
122 Grammer Ln
Galax, VA 24333


Bazetta Christian Church
Great Trail 433
4131 Hoagland Blackstub Rd
Cortland, OH 44410


Bazoline Usher PTA
Atlanta Area Council 092
631 Harwell Rd Nw
Atlanta, GA 30318


Bb Kings Blues Club   Restaurant
9101 International Dr 2230
Orlando, FL 32819


Bbb Wise Giving Alliance
National Charity Seal Program
4200 Wilson Blvd, 800
Arlington, VA 22203


Bbj Table Fashions Inc
150 Turtle Creek Blvd, Ste 209B
Dallas, TX 75207


Bbu Services Of Wv LLC
P.O. Box 169
Kenna, WV 25248
Bc Group Holding Inc
P.O. Box 23308
Tigard, OR 97281


Bc Holdings
South Texas Council 577
1612 Denmark Ln
Laredo, TX 78045


Bc Patch LLC
PMB 501
2063 Main St
Oakley, CA 94561


Bc Sales And Sourcing
13712 W 80th St
Lenexa, KS 66215


Bcc Chapter Izaak Walton League America
National Capital Area Council 082
P.O. Box 542
Poolesville, MD 20837


Bcny Interational, Inc
P.O. Box 842683
Boston, MA 02284‐2683


Bcsp
P.O. Box 17040
Urbana, IL 60183‐7040


Bcu Electric
1019 US 250 N
Ashland, OH 44805


Bd Direct Inc
353 3rd Ave 350
New York, NY 10010


Bd Of Tr L Standford Jr Univ
314 Porter Dr
Palo Alto, CA 94304


Bd Of Tr L Standford Jr Univ
Standford Lt Rowing Equip Fd
641 E Campus Dr
Stanford, CA 94305‐6201


Bdo Seidman, LLP
700 N Pearl, Ste 2000
Dallas, TX 75201


Bdsr Committee
Longs Peak Council 062
2215 23rd Ave
Greeley, CO 80634


Be Prepared Pictures, LLC
205 3rd Ave 12W
New York, NY 10003


Beach   Assoc
Las Vegas Area Council 328
529 Seneca Ridge Ave
North Las Vegas, NV 89084


Beach And Assoc
Las Vegas Area Council 328
529 Seneca Ridge Ave
N Las Vegas, NV 89084


Beach And Assoc
Las Vegas Area Council 328
6310 Ruby Cedar Ct
North Las Vegas, NV 89031


Beach Cities Aviation Academy
3732 W 120th St
Los Angeles, CA 90233


Beach House Gardens Inc
104475 Overseas Hwy
Key Largo, FL 33037


Beach School Parents Org
Piedmont Council 042
100 Lake Ave
Piedmont, CA 94611


Beachwood Elementary School
Jersey Shore Council 341
901 Berkeley Ave
Beachwood, NJ 08722


Beachwood Police
Jersey Shore Council 341
1600 Pinewald Rd
Beachwood, NJ 08722


Beacon Academy ‐ Canton
Buckeye Council 436
1379 Garfield Ave Sw
Canton, OH 44706


Beacon Atando LLC
610 E Morehead St, Ste 260‐Ar
Charlotte, NC 28202


Beacon Elks Lodge 1493
Hudson Valley Council 374
90 Wolcott Ave
Beacon, NY 12508


Beacon Falls Fire Dept
Connecticut Rivers Council, Bsa 066
35 N Main St
Beacon Falls, CT 06403


Beacon Falls Rotary Club
Connecticut Rivers Council, Bsa 066
43 Buckingham Dr
Beacon Falls, CT 06403
Beacon Graphics
189 Meister Ave
Branchburg, NJ 08876


Beacon Heights Commty
Of Christ Church
Heart Of America Council 307
19402 Holke Rd
Independence, Mo 64057


Beacon Hill Back Bay Friends Boy Scouts
The Spirit Of Adventure 227
8 Walnut St
Boston, Ma 02108


Beacon Hill Staffing Group, LLC
152 Bowdoin St
Boston, MA 02108


Beacon Hill Staffing Group, LLC
P.O. Box 846193
Boston, MA 02284‐6193


Beacon Lighting Services Inc
16810 Judicial Rd
Lakeville, MN 55044


Beacon Of Hope Hospice
1020 W 35th St
Davenport, IA 52806


Beacon Printing   Graphics Inc
dba Mcquiddy Classic Printing
P.O. Box 83058
Chicago, IL 60691‐3010


Beacon School
Sequoyah Council 713
404 Holston Dr
Greeneville, TN 37743
Beacon Square Civic Assoc
Greater Tampa Bay Area 089
3741 Bradford Dr
Holiday, FL 34691


Beacon Valley Grange 103 Husbandry,Inc
Connecticut Rivers Council, Bsa 066
1354 New Haven Rd
Naugatuck, CT 06770


Beacons Boys   Girls Club At Cole
Denver Area Council 061
3240 N Humboldt St
Denver, CO 80205


Beahen LLC
dba Kent Teaching   Toy
14509 SE 234th Pl
Kent, WA 98042


Beale First Sgt Council
Golden Empire Council 047, Bldg 3308
Beale Afb, CA 95903


Beale Memorial Baptist Church
Heart of Virginia Council 602
19622 Tidewater Trail
Tappahannock, VA 22560


Bealton‐Remington Ruritan Club
National Capital Area Council 082
General Delivery
Remington, VA 22734


Bear Branch Elementary PTA
Sam Houston Area Council 576
3500 Garden Lake Dr
Kingwood, TX 77339


Bear Branch P T O
Sam Houston Area Council 576
8909 Fm 1488 Rd
Magnolia, TX 77354


Bear Canyon Ward ‐ LDS Tucson East Stake
Catalina Council 011
9555 E Snyder Rd
Tucson, AZ 85749


Bear Co Naval Jrotc
Lincoln Heritage Council 205
1142 S Main
Morgantown, KY 42261


Bear Creek Community Church
Chief Seattle Council 609
18931 NE 143rd St
Woodinville, WA 98072


Bear Creek Foundation
Northeastern Pennsylvania Council 501
1900 Bear Creek Blvd
Bear Creek Township, PA 18702


Bear Creek Utd Methodist Church
Chief Seattle Council 609
16530 Avondale Rd Ne
Woodinville, WA 98077


Bear Creek Utd Methodist Church
Sam Houston Area Council 576
16000 Rippling Water Dr
Houston, TX 77084


Bear Grass Ruritan Club
East Carolina Council 426
1240 Cowin Rd
Williamston, NC 27892


Bear Grass Ruritan Club
East Carolina Council 426
General Delivery
Williamston, NC 27892
Bear Lake Utd Methodist Church
Central Florida Council 083
1010 Bear Lake Rd
Forest City, FL 32703


Bear Lake Utd Methodist Church
President Gerald R Ford 781
7681 Main St
Bear Lake, MI 49614


Bear Mountain Inn
55 Hessian Dr
Highland, NY 10911


Bear Valley Community Church
Longhorn Council 662
7900 Precinct Line Rd
Colleyville, TX 76034


Bear Valley Community School
Great Alaska Council 610
15001 Mountain Air Dr
Anchorage, AK 99516


Bear Valley Mens Club
Southern Sierra Council 030
25101 Bear Valley Rd PMB 112
Tehachapi, CA 93561


Beard S Slightly Used Cars
De Soto Area Council 013
401 First Ne
Bearden, AR 71720


Bearden Njrotc Booster Club
Great Smoky Mountain Council 557
8352 Kingston Pike
Knoxville, TN 37919


Beargrass Christian Church
Lincoln Heritage Council 205
4100 Shelbyville Rd
Louisville, KY 40207


Bearnson Woodworks LLC
Trapper Trails 589
4181 W 5800 N
Mountain Green, UT 84050


Beasley Elementary Parent Teacher Org.
Greater St Louis Area Council 312
3131 Koch Rd
Saint Louis, MO 63125


Beasley School PTO
Greater St Louis Area Council 312
3131 Koch Rd
Saint Louis, MO 63125


Beat Four Scouts
Pine Burr Area Council 304
5090 US 84
Waynesboro, MS 39367


Beat Western Suites
201 Music City Cir
Nashville, TN 37214


Beatrice Community Hospital
Cornhusker Council 324
4800 Hospital Pkwy
Beatrice, NE 68310


Beatrice Cunningham
Address Redacted


Beatrice Dibble
Address Redacted


Beatrice Gamble
Address Redacted
Beatrice Mclean
Address Redacted


Beatrice Shriver
Address Redacted


Beatrice Stevenson
Address Redacted


Beatrice V Hurtado
Address Redacted


Beatrice Wentworth
Address Redacted


Beattyville Baptist Church
Blue Grass Council 204
P.O. Box 1038
Beattyville, KY 41311


Beau Mcknight
Address Redacted


Beaufort County Community College
East Carolina Council 426
5337 US Hyw 264 E
Washington, NC 27889


Beaufort County Sheriffs Office
Coastal Carolina Council 550
P.O. Box 1758
Beaufort, SC 29901


Beaufort Lions Club
Greater St Louis Area Council 312
2041 Lutheran Church Rd
Beaufort, MO 63013


Beaumont Elks Lodge 311
Three Rivers Council 578
11431 Hwy 90
Beaumont, TX 77713


Beaumont Lions Club
California Inland Empire Council 045
244 Maple Ave, Ste L
Beaumont, CA 92223


Beaumont Mobile Medicine
Great Lakes Fsc 272
950 W Maple
Troy, MI 48084


Beaumont Police Dept
Three Rivers Council 578
P.O. Box 3827
Beaumont, TX 77704


Beaumont Police Explorers
California Inland Empire Council 045
550 E 6th St Bldg H
Beaumont, CA 92223


Beauregard Parish Sales Tax
122 S Stewart St
Deridder, LA 70634


BeauTheriot Camanche Canyonland Preserve
Capitol Area Council 564
6535 Comanche Trl
Austin, Tx 78732


Beautiful Savior Lutheran Church
Catalina Council 011
7570 N Thornydale Rd
Tucson, AZ 85741


Beautiful Savior Lutheran Church
Cornhusker Council 324
955 C St
Palmyra, NE 68418
Beaver Bay Sport Shop
4878 E Hwy 61
P.O. Box 397
Beaver Bay, MN 55601


Beaver Canoe Rentals
159 State Hwy W
Ava, MO 65608


Beaver Citizen Group
Cascade Pacific Council 492
11935 SW Burlheights St
Portland, OR 97223


Beaver Creek Cumberland Presbyterian Ch
Great Smoky Mountain Council 557
7725 Old Clinton Pike
Knoxville, Tn 37921


Beaver Dam Community Hospitals, Inc
Bay‐Lakes Council 635
707 S University Ave
Beaver Dam, WI 53916


Beaver Lutheran Church
Susquehanna Council 533
P.O. Box 167
Beaver Springs, PA 17812


Beaver Pittman Post 115
Amer Legion Of Kann
Central N Carolina Council 416
P.O. Box 123
Kannapolis, Nc 28082


Beaver Ridge Utd Methodist Church
Great Smoky Mountain Council 557
7753 Oak Ridge Hwy
Knoxville, TN 37931
Beaver Township Fire Dept
Great Trail 433
601 W S Range Rd
North Lima, OH 44452


Beaver Valley Boy Scouts
Golden Empire Council 047
P.O. Box 1684
5056 Mertola Dr El Derado Hills C
Shingle Springs, CA 95682


Beaver Valley Lutheran Church
Sioux Council 733
26214 484th Ave
Valley Springs, SD 57068


Beavercreek Church Of The Brethren
Tecumseh 439
2659 Dayton Xenia Rd
Beavercreek, OH 45434


Beavercreek Lions Club
Cascade Pacific Council 492
1170 Columbia Ave
Gladstone, OR 97027


Beavercreek Township Fire
Tecumseh 439
851 Orchard Lane
Beavercreek, OH 45434


Beaverton Lions Club
Cascade Pacific Council 492
P.O. Box 5042
Beaverton, OR 97006


Beaverton Rock Creek Foursquare Church
Cascade Pacific Council 492
21450 NW Rock Creek Blvd
Portland, OR 97229


Bebe Holloway
Address Redacted


Beck   Masten Pontiac ‐ Gmc
Sam Houston Area Council 576
11300 Fm 1960 Rd W
Houston, TX 77065


Beck Family Volunteers
Great Lakes Fsc 272
54600 Hayes Rd
Macomb, MI 48042


Beck Leather   Crafts
dba Beck Camp   Crafts Supply, LLC
7884 S Redwood Rd
West Jordan, UT 84088


Beckemeyer Wade Fire Dept
Greater St Louis Area Council 312
610 Louis St
Beckemeyer, IL 62219


Becker Lions And Becker Lioness Club
Attn Dr C. Perry Schenk
Central Minnesota 296
Becker, MN 55308


Becket Federated Church
Western Massachusetts Council 234
P.O. Box 306
Becket, MA 01223


Becket Volunteer Fire Dept
Western Massachusetts Council 234
557 Main St
Becket, MA 01223


Beckett Utd Methodist Men
Muskingum Valley Council, Bsa 467
P.O. Box 812
1401 Beckett Ave
Cambridge, OH 43725
Becki Groves
Address Redacted


Beckley Automall Inc
3934 Robert C Byrd Dr
Beckley, WV 25801


Beckley Block LLC
P.O. Box 2594
Beckley, WV 25802‐2594


Beckley Crane   Construction Inc
151 Stanaford Mine Rd
Beckley, WV 25801


Beckley Locksmith Service
P.O. Box 20
Beckley, WV 25802


Beckley Newspapers
P.O. Box 1599
Bluefield, WV 24701


Beckley Rural King
100 Crossroads Mall
Mt Hope, WV 25880


Beckley Steel Inc
P.O. Box 725
Crab Orchard, WV 25827‐0725


Beckley Welding Supply Inc
P.O. Box 1027
3331 Robert C Byrd Dr
Beckley, WV 25802‐1027


Beckley Welding Supply, Inc
331 Robert C Byrd Dr
Beckley, WV 24801
Beckley‐Raleigh County
Chamber of Commerce
245 N Kanawha St
Beckley, WV 25801


Beckley‐Raleigh County Convention Center
200 Armory Dr
Beckley, WV 25801


Becklin Corp
Grand Rental Station
440 University
Trinidad, CO 81082


Beckmanns Auto   Marine Inc
dba Napa Auto Parts
P.O. Box 727
Key Largo, FL 33037


Beckmanns Auto Parts Inc
dba Napa Auto Parts
P.O. Box 727
Key Largo, FL 33037


Beckmanns Auto Supply Inc
dba Napa Auto Parts
P.O. Box 727
Key Largo, FL 33037


Becky David School PTO
Greater St Louis Area Council 312
1155 Jungs Station Rd
Saint Charles, MO 63303


Becky Fowler
Address Redacted


Becky Purvis
Address Redacted
Becky Schmidt
Address Redacted


Becky Turple
Address Redacted


Bedford Community Education
Southern Shores Fsc 783
1623 W Sterns Rd
Temperance, MI 48182


Bedford County Sportsmen S Club
Laurel Highlands Council 527
210 Fresno Rd
Bedford, PA 15522


Bedford Fire Explorers
Southern Shores Fsc 783
P.O. Box 371
Lambertville, MI 48144


Bedford Free Methodist Church
Hoosier Trails Council 145 145
630 R St
Bedford, IN 47421


Bedford Lions Club
Lake Erie Council 440
P.O. Box 46185
Bedford, OH 44146


Bedford Park Fire Dept
Pathway To Adventure 456
6820 S Archer Rd
Bedford Park, IL 60501


Bedford Police Dept
Longhorn Council 662
2121 L. Don Dodson Dr
Bedford, TX 76021
Bedford Presbyterian Ch   St Johns Episc
Blue Ridge Mtns Council 599
105 W Main St
Bedford, Va 24523


Bedford Presbyterian Church
Daniel Webster Council, Bsa 330
4 Church Rd
Bedford, NH 03110


Bedford Presbyterian Church
Westchester Putnam 388
P.O. Box 280
Bedford, NY 10506


Bedford Rotary Club
Daniel Webster Council, Bsa 330
38 Grapevine Rd
Bedford, NH 03110


Bedford Rotary Club
Daniel Webster Council, Bsa 330
54 Hitching Post Ln
Alan Heacock
Bedford, NH 03110


Bedford Utd Methodist Church
Laurel Highlands Council 527
132 E John St
Bedford, PA 15522


Bedminster Twp School PTO
Patriots Path Council 358
234 Somerville Rd
Bedminster, NJ 07921


Bee County Sheriff Dept
South Texas Council 577
1511 E Toledo St
Beeville, TX 78102
Bee Creek Utd Methodist Church
Capitol Area Council 564
3000 Bee Creek Rd
Spicewood, TX 78669


Bee Master Of Las Vegas Inc
Las Vegas Area Council 328
P.O. Box 620635
Las Vegas, NV 89162


Bee S Honey Pots Inc
P.O. Box 430539
Big Pine Key, FL 33043


Beebe Home   School Assoc
Three Fires Council 127
110 E 11th Ave
Naperville, IL 60563


Beebe Miller
Address Redacted


Beech Grove Rhems Charge
East Carolina Council 426
1037 Washington Post Rd
New Bern, NC 28562


Beech Grove Utd Methodist Church
Colonial Virginia Council 595
4251 Drr Ln
Suffolk, VA 23435


Beech Grove Utd Methodist Church
Colonial Virginia Council 595
4245 Drr Ln
Suffolk, VA 23435


Beech Grove Utd Methodist Church
East Carolina Council 426
P.O. Box 12291
New Bern, NC 28561
Beech Haven Baptist Church
2390 W Broad St
Athens, GA 30606


Beecher Hills Elementary School
Atlanta Area Council 092
2257 Bolling Brook Dr Sw
Atlanta, GA 30311


Beechwood Reformed Church
President Gerald R Ford 781
895 Ottawa Beach Rd
Holland, MI 49424


Beechwoods Presbyterian Church
Bucktail Council 509
14 Beechwood Rd
Falls Creek, PA 15840


Beehive Books   More
10213 24th St E
Edgewood, WA 98372


Beehive Federal Credit Union
Grand Teton Council 107
1087 Erikson Dr
Rexburg, ID 83440


Beekmantown Vol Fire Dept
Twin Rivers Council 364
6780 State Route 22
Plattsburgh, NY 12901


Beekmantown Volunteer Fire Dept
Twin Rivers Council 364
6973 State Route 22
West Chazy, NY 12992


Bee‐Line
P.O. Box 571267
Houston, TX 77257‐1267
Beem Construction LLC
327 Huron Ave, Ste 1
Port Huron, MI 48060


Beepco Inc
dba Countrymeatscom
5750 SW 1st Ln
Ocala, FL 34474


Beepco, Inc/Country Meats
5750 SW 1st Ln
Ocala, FL 34474


Beeville Faith Lutheran Church
South Texas Council 577
1500 E Fm 351
Beeville, TX 78102


Behavioral Consulting Assoc, Inc
Middle Tennessee Council 560
136 Dartmoore Dr
Clarksville, TN 37043


Behavioral Criminology International
Greg O Mccrary
11402 Symour Ln
Spotsylvania, VA 22551


Behavioral Data Services LLC
224 Nickels Arcade
Ann Arbor, MI 48104


Behr Insurance Agency, Inc
Laurel Highlands Council 527
5484 Library Rd
Bethel Park, PA 15102


Beijing Home School Co‐Op
Far E Council 803
0730 Baxian Villas
Beijing,
China


Beijing Northside Homeschool Co‐Op.
Far E Council 803
Wang Fuhuanyuan 43 Reiz Hifu
Beijing,
China


Bekah Spengler
Address Redacted


Bekins Van Lines Co
P.O. Box 809300
Chicago, IL 60680‐9300


Bel Air Police Dept
Baltimore Area Council 220
39 N Hickory Ave
Bel Air, MD 21014


Bel Air School PTA
Northern Lights Council 429
501 25th St Nw
Minot, ND 58703


Bel Air Utd Methodist Church
Baltimore Area Council 220
21 Linwood Ave
Bel Air, MD 21014


Belafonte Tacolcy Center
South Florida Council 084
6161 NW 9th Ave
Miami, FL 33127


Belair Utd Methodist Church
Palmetto Council 549
8095 Shelley Mullis Rd
Indian Land, SC 29707
Belcher‐Lane‐Williams Marine Corp
League Detachment 146
Water And Woods Council 782
2401 Wadhams Rd
Saint Clair, Mi 48079


Belchertown Lions Club
Western Massachusetts Council 234
23 Old Pelham Rd
Belchertown, MA 01007


Belchertown Utd Church Of Christ
Western Massachusetts Council 234
18 Park St
P.O. Box 603
Belchertown, MA 01007


Belden Gladden
Address Redacted


Belding Enterprises
Sam Houston Area Council 576
16007 Mueschke Rd
Cypress, TX 77433


Belen Jesuit Preparatory School
South Florida Council 084
500 SW 127th Ave
Miami, FL 33184


Belfair Community Church
Chief Seattle Council 609
P.O. Box 160
Belfair, WA 98528


Belfast Lions Club
Middle Tennessee Council 560
P.O. Box 1375
Lewisburg, TN 37091


Belfast Utd Methodist Church
Allegheny Highlands Council 382
2 Chapel St
Belfast, NY 14711


Belfor Usa Group, Inc
185 Oakland Ave, Ste 300
Birmingham, MI 48009


Belfor Usa Group, Inc
185 Oakland, Ste 150
Birmingham, MI 48009


Belfor Usa Group, Inc
4800 F Sirus Ln
Charlotte, NC 28208


Belfor Usa Group, Inc
8758 Clay Rd, Ste 430
Houston, TX 77080


Belfor Usa Group, Inc
P.O. Box 429
Birmingham, MI 48012‐0429


Belfor Usa Group, Inc
P.O. Box 535815
Grand Prairie, TX 75053


Belgio S Catering
416 W 5th Ave
Naperville, IL 60563


Belgrade Ave Methodist Church
Twin Valley Council Bsa 283
325 Sherman St
North Mankato, MN 56003


Belgrade Community Church
Montana Council 315
119 S Broadway
Belgrade, MT 59714
Belgrade Lions
Central Minnesota 296
P.O. Box 113
Belgrade, MN 56312


Belgrade Utd Methodist Church
East Carolina Council 426
2953 Belgrade Swansboro Rd
Maysville, NC 28555


Belia Freedman
Address Redacted


Believers Academy Advisory Council
Gulf Stream Council 085
5840 Corporate Way, Ste 100
West Palm Beach, FL 33407


Believers In Christ Ministries Inc
Three Harbors Council 636
4065 N 25th St
Milwaukee, WI 53209


Belilizz Mac Rae Legion Post 659
Mid Iowa Council 177
1967 Courtland Dr
Des Moines, IA 50315


Belin Memorial Utd Methodist Church
Coastal Carolina Council 550
P.O. Box 528
Murrells Inlet, SC 29576


Belin Utd Methodist Church
Coastal Carolina Council 550
4183 Hwy 17 Business
Murrells Inlet, SC 29576


Belinda Barcena
Address Redacted
Belinda Castro
Address Redacted


Belinda Francisco
Address Redacted


Belinda G Bailey
Address Redacted


Belinda Irene Johnson
Address Redacted


Belinda Johnson
Address Redacted


Belinda Kelly‐Fluker
Address Redacted


Belinda Munoz
Address Redacted


Belinda Potter
Address Redacted


Belinda Welch
Address Redacted


Bell Buckle Utd Methodist Church
Middle Tennessee Council 560
110 Maple St
Bell Buckle, TN 37020


Bell Canada
P.O. Box 9000, Station Don Mills
North York, On M3C 2X7
Canada


Bell Chapel Utd Methodist Church
Ohio River Valley Council 619
3419 State Route 213
Steubenville, OH 43952


Bell County Juvenile Services
Longhorn Council 662
4800 E Rancier Ave
Killeen, TX 76543


Bell Gardens Police Dept
Greater Los Angeles Area 033
7100 Garfield Ave
Bell Gardens, CA 90201


Bell Leadership Team
Cradle of Liberty Council 525
1000 Bell Ave
Lansdowne, PA 19050


Bell LLC
P.O. Box 24538
Tampa, FL 33623


Bell Lumber   Pole Co
dba Bell Structural Solution
778 1st St NW, P.O. Box 120786
New Brighton, MN 55112‐0024


Bell Lumber   Pole Co
dba Bell Structural Solution
P.O. Box 1414, P.O. Box 131418
Minneapolis, MN 55480‐1414


Bell Medical Services Inc
120 Vanderburg Rd
Marlboro, NJ 07746


Bell Mobility Inc
P.O. Box 5102
Burlington, On L7R 4R7
Canada
Bell Mts
Box 7500
Winnipeg, Mb R3C 3B5
Canada


Bell Police Dept
Greater Los Angeles Area 033
6326 Pine Ave
Bell, CA 90201


Bell Sports Inc
dba Vista Outdoor Sales LLC
6333 N State Hwy 161, Ste 300
Irving, TX 75038


Bell Sports, Inc
6333 N State Hwy 161
Irving, TX 75038


Bell Utd Methodist Church
Daniel Boone Council 414
P.O. Box 36
Leicester, NC 28748


Bella Flora Of Dallas
2010 Century Ctr Blvd, Ste 22
Irving, TX 75062


Bella Jewelry, LLC
50 E San Francisco St, Ste B
Santa Fe, NM 87501


Bella Transportation LLC
Bella Luxury Limousine
P.O. Box 1805
Allentown, PA 18105


Bella Vista Police Dept
Westark Area Council 016
105 Town Ctr W
Bella Vista, AR 72714
Bellaire Lions Club
President Gerald R Ford 781
P.O. Box 268
Bellaire, MI 49615


Bellaire Puritas Develoment Corp
Lake Erie Council 440
14703 Puritas Ave
Cleveland, OH 44135


Bellaire Utd Methodist Church
Sam Houston Area Council 576
4417 Bellaire Blvd
Bellaire, TX 77401


Bellamy Utd Methodist Men
Colonial Virginia Council 595
4870 Chestnut Fork Rd
Gloucester, VA 23061


Bellarmine University
Attn Bursarss Office
2001 Newburg Rd
Louisville, KY 40205


Bellbrook Presbyterian Church
Tecumseh 439
72 W Franklin St
Bellbrook, OH 45305


Bellbrook Utd Methodist Church
Tecumseh 439
47 E Franklin St
Bellbrook, OH 45305


Belle Chasse Academy
Southeast Louisiana Council 214
100 5th St
Belle Chasse, LA 70037
Belle Forest Community Teachers
Chickasaw Council 558
3135 Ridgeway Rd
Memphis, TN 38115


Belle Fourche Volunteer Fire Dept
Black Hills Area Council 695 695
605 National St
Belle Fourche, SD 57717


Belle Haven Marina Inc
National Capital Area Council 082
P.O. Box 7093
Alexandria, VA 22307


Belle Meade Utd Methodist Church
Middle Tennessee Council 560
121 Davidson Rd
Nashville, TN 37205


Belle Place Elementary PTO
Evangeline Area 212
411 Leboutseois Rd
New Iberza, LA 70563


Belle Plaine Lions Club International
Northern Star Council 250
1000 S Chestnut St
Belle Plaine, MN 56011


Belle Plaine Rotary
Northern Star Council 250
223 N Willow St
Belle Plaine, MN 56011


Bellefontaine Methodist Church
Greater St Louis Area Council 312
10600 Bellefontaine Rd
Saint Louis, MO 63137


Bellemans Union Church
Hawk Mountain Council 528
3540 Bellemans Church Rd
Mohrsville, PA 19541


Bellemans Union Church
Hawk Mountain Council 528
842 Trolley Rd
Mohrsville, PA 19541


Bellemont Utd Methodist Men
Old N State Council 070
4039 Markwood Rd
Burlington, NC 27215


Belleplain Volunteer Fire Co
Garden State Council 690
Rr 1
Woodbine, NJ 08270


Bellerive School PTO
Greater St Louis Area Council 312
620 Rue De Fleur Dr
Creve Coeur, MO 63141


Belleview Utd Methodist Church
North Florida Council 087
P.O. Box 567
Belleview, FL 34421


Belleville Community Club
Glaciers Edge Council 620
P.O. Box 439
Belleville Community Club
Belleville, WI 53508


Belleville Kiwanis Charities Foundation
Greater St Louis Area Council 312
P.O. Box 153
Belleville, IL 62222


Belleville Lions Club
Coronado Area Council 192
P.O. Box 502
Belleville, KS 66935


Belleville Wholesale Hobby
1944 Llewellyn Rd
Belleville, IL 62223


Bellevue Baptist Church
Longhorn Council 662
625 W Pipeline Rd
Hurst, TX 76053


Bellevue Congregational
Chief Seattle Council 609
752 108th Ave Ne
Bellevue, WA 98004


Bellevue Easttown Optimists
Bay‐Lakes Council 635
2785 Manitowoc Rd
Green Bay, WI 54311


Bellevue Fire Dept
Chief Seattle Council 609
450 110th Ave Ne
Bellevue, WA 98004


Bellevue Heights Umc
Longhouse Council 373
2112 S Geddes St
Syracuse, NY 13207


Bellevue Hospital Center
Greater New York Councils, Bsa 640
462 1st Ave
New York, NY 10016


Bellevue Lions Club
Mid‐America Council 326
4313 Amos Gates Dr
Bellevue, NE 68123
Bellevue Lions Club
Mid‐America Council 326
9801 S 28th Ave
Bellevue, NE 68123


Bellevue Masonic Lodge 325
Mid‐America Council 326
1908 Franklin St
Bellevue, NE 68005


Bellevue Optimist
Mid‐America Council 326
P.O. Box 6
Bellevue, NE 68005


Bellevue Utd Methodist Church
Middle Tennessee Council 560
7501 Old Harding Pike
Nashville, TN 37221


Bellevue Youth Center
Northeastern Pennsylvania Council 501
531 Emmett St
Scranton, PA 18505


Bellewood Baptist Church
Longhouse Council 373
445 Church St
North Syracuse, NY 13212


Bellflower Kiwanis Club
Long Beach Area Council 032
9302 Laurel St
Bellflower, CA 90706


Bell‐Graham Elementary School PTO
Three Fires Council 127
4N505 Fox Mill Blvd
Saint Charles, IL 60175


Bellingham Covenant Church
Mount Baker Council, Bsa 606
1530 E Bakerview Rd
Bellingham, WA 98226


Bellingham Memorial School PTO
Narragansett 546
130 Blackstone St
Bellingham, MA 02019


Belliston, Ed
363 W 1400 N
American Fork, UT 84003


Bellmore Presbyterian Church
Theodore Roosevelt Council 386
2740 Martin Ave
At Bellmore Ave
Bellmore, NY 11710


Bellpoint Utd Methodist Church
Simon Kenton Council 441
4771 State Route 257 S
Delaware, OH 43015


Bellport Fire Dept
Suffolk County Council Inc 404
161 Main St
Bellport, NY 11713


Bellport High School
Suffolk County Council Inc 404
205 Beaver Dam Rd
Brookhaven, NY 11719


Belluck   Fox, LLP
Attn Kristina Georgiou
546 5th Ave, 5th Fl
New York, NY 10036


Belluck   Fox, LLP
Attn Kristina Georgiou
re Plaintiff
546 5th Ave, 5th Fl
New York, NY 10036


Bellview Baptist Church
Greater Alabama Council 001
150 Noccalula Dr
Gadsden, AL 35904


Bellville American Legion Post 115
Sam Houston Area Council 576
P.O. Box 314
Bellville, TX 77418


Bellville Lions Club
Sam Houston Area Council 576
1118 Fm 1456 Rd
Bellville, TX 77418


Bellwood Baptist Church
Middle Tennessee Council 560
1150 Middle Tennessee Blvd
Murfreesboro, TN 37130


Bellwood Salvation Army Bellwood Boys
And Girls Club
Atlanta Area Council 092
777 Donald Lee Hollowell Pkwy Nw
Atlanta, Ga 30318


Bellwood‐Antis Lions Club
Laurel Highlands Council 527
1974 Bellmeade Dr
Altoona, PA 16602


Belmar Elementary PTA
Denver Area Council 061
885 S Garrison St
Lakewood, CO 80226


Belmar Elementary School
Denver Area Council 061
885 S Garrison St
Lakewood, CO 80226
Belmont Citizens Police
Piedmont Council 420
201 Chronicle St
Belmont, NC 28012


Belmont Elementary School
Baltimore Area Council 220
1406 N Ellamont St
Baltimore, MD 21216


Belmont Fire Dept
Blue Ridge Council 551
1 Fork Shoals Rd
Greenville, SC 29605


Belmont Heights Utd Methodist Church
Long Beach Area Council 032
317 Termino Ave
Long Beach, CA 90814


Belmont Hills Ptg
Washington Crossing Council 777
5000 Neshaminy Blvd
Bensalem, PA 19020


Belmont Runyon School
Northern New Jersey Council, Bsa 333
1 W Runyon St
Newark, NJ 07108


Belmont Shore Lions Club
Long Beach Area Council 032
5156 E Ebell St
Long Beach, CA 90808


Belmont‐Watertown Utd Methodist
The Spirit of Adventure 227
421 Common St
Belmont, MA 02478
Beloved Disciple Church Rc
French Creek Council 532
1310 S Center St Ext
Grove City, PA 16127


Belson Outdoors, Inc
36810 Eagle Way
Chicago, IL 60678‐1368


Belt Shop, Inc
1941 Chespark Dr
Gastonia, NC 28052


Belton Christian Church
Heart of America Council 307
409 Airway Ln
Belton, MO 64012


Belton Fire Dept
Blue Ridge Council 551
P.O. Box 828
Belton, SC 29627


Belton Fire Dept
Heart of America Council 307
16300 N Mullen Rd
Belton, MO 64012


Belton New Horizons Nazarene Church
Heart of America Council 307
17200 Chestnut Dr
Belton, MO 64012


Beltsville Academic PTO
National Capital Area Council 082
4300 Wicomico Ave
Beltsville, MD 20705


Beltway Pack Church
Texas Trails Council 561
2850 State Hwy 351
Abilene, TX 79601
Beltway Park Church South
Texas Trails Council 561
4009 Beltway S
Abilene, TX 79606


Belva Daniel
Address Redacted


Belvedere PTA
Baltimore Area Council 220
360 Broadwater Rd
Arnold, MD 21012


Belvedere Utd Methodist Church
Georgia‐Carolina 093
202 Rhomboid Pl
Belvedere, SC 29841


Belwood Charge Utd Methodist Church
Piedmont Council 420
5701 Fallston Rd
Lawndale, NC 28090


Belynda Dean
Address Redacted


Belzer Band Booster Club, Inc
Crossroads of America 160
5423 Mark Ln
Indianapolis, IN 46226


Belzer Day Camp
Crossroads of America 160
6102 Boy Scout Rd
Indianapolis, IN 46226


Belzer Scout Camp
Crossroads of America 160
6002 Boy Scout Rd
Indianapolis, IN 46236
Bemidji Lions Club
Voyageurs Area 286
P.O. Box 1099
Bemidji, MN 56619


Bemidji Police Dept
Beltrami County Sheriff Dept
Voyageurs Area 286
613 Minnesota Ave Nw
Bemidji, Mn 56601


Bemidji Woolen Mills
P.O. Box 277
301 Irvine Ave Nw
Bemidji, MN 56601‐2923


Bemis Assoc Inc
P.O. Box 414056
Boston, MA 02241‐4056


Bemis Elementary School PTA
Great Lakes Fsc 272
3571 Nfield Pkwy
Troy, MI 48084


Bemiss Utd Methodist Church
South Georgia Council 098
4879 Bemiss Rd
Valdosta, GA 31605


Bemus Point Utd Methodist Church
Allegheny Highlands Council 382
4954 Bemus Ellery Rd
Bemus Point, NY 14712


Ben Ali Temple Aaonms
Golden Empire Council 047
3262 Marysville Blvd
Sacramento, CA 95815
Ben Crudo Consulting, Inc
4020 Rue St‐Ambroise, Ste 399
Montreal, QC H4C 2C7
Canada


Ben Davis Jrotc
Crossroads of America 160
1200 N Girls School Rd
Indianapolis, IN 46214


Ben E Keith Co
P.O. Box 901001
7650 Will Rogers Blvd
Ft Worth, TX 76101


Ben E. Keith Co
P.O. Box 791
Fort Worth, TX 76101


Ben Eielson High Booster Club
Midnight Sun Council 696
675 Ravens Way
Eielson Afb, AK 99702


Ben Franklin And Churchill Schools
Parents For Scouting
Three Fires Council 127
350 Bryant Ave
Glen Ellyn, Il 60137


Ben Franklin Crafts
115 W Maple Ave
Fayetteville, WV 25840


Ben Franklin Middle School
National Capital Area Council 082
3300 Lees Corner Rd
Chantilly, VA 20151


Ben Franklin School Parent Assn
Pacific Skyline Council 031
2385 Trousdale Dr
Burlingame, CA 94010


Ben Franklin Store 3836
63 Main St
Middlebury, VT 05753


Ben Hill Utd Methodist Church
Atlanta Area Council 092
2099 Fairburn Rd Sw
Atlanta, GA 30331


Ben M Deveau
Address Redacted


Ben Meadows Co
P.O. Box 74771
Chicago, IL 60694‐4771


Ben Sheppard Elementary PTA
South Florida Council 084
5700 W 24 Ave
Hialeah, FL 33016


Ben Ussery
Address Redacted


Benajmin Altemus
Address Redacted


Benbrook PTO
Sam Houston Area Council 576
4026 Bolin Rd
Houston, TX 77092


Benbrook Utd Methodist Church
Longhorn Council 662
1122 Bryant St
Benbrook, TX 76126


Benchmark Conf Centers Of Wv LLC
dba Stonewall Resort
940 Resort Dr
Roanoke, WV 26447


Bend Of The River
Lasalle Council 165
900 Mayflower Rd
Niles, MI 49120


Bend Ultimate
Crater Lake Council 491
19599 Greatwood Loop
Bend, OR 97702


Benedict J Baughman
Address Redacted


Benedictine College Prepartory
Heart of Virginia Council 602
12829 River Rd
Richmond, VA 23238


Benevola Utd Methodist Church
Mason Dixon Council 221
19925 Benevola Church Rd
Boonsboro, MD 21713


Benevolant   Protective Order Of Elks
Westmoreland Fayette 512
P.O. Box 705
Manor, PA 15665


Benevolent   Protective Order
Elks Lodge 2524
Chief Seattle Council 609
P.O. Box 840
Forks, Wa 98331


Benevolent   Protective Order
Elks Lodge 259
Bay‐Lakes Council 635
3195 S Ridge Rd
Green Bay, Wi 54304


Benevolent   Protective Order Elks 1689
Crater Lake Council 491
P.O. Box 596
Crescent City, Ca 95531


Benevolent   Protective Order Elks 187
Yucca Council 573
7800 Edgemere Blvd
El Paso, Tx 79925


Benevolent    Protective Order Flk 1762
Longhouse Council 373
511 Fulton St
Carthage, Ny 13619


Benevolent    Protective Order Of
Elks Norfolk Lodge 653
Mid‐America Council 326
P.O. Box 118
316 W Braasch
Norfolk, Ne 68702


Benevolent    Protective Order Of Elks
Abraham Lincoln Council 144
201 W Main St
Carlinville, IL 62626


Benevolent   Protective Order Of Elks
Blue Mountain Council 604
P.O. Box 886
Hermiston, OR 97838


Benevolent   Protective Order Of Elks
Duarte
Greater Los Angeles Area 033
2436 Huntington Dr
Duarte, Ca 91010


Benevolent   Protective Order Of Elks
Golden Empire Council 047
920 D St
Marysville, CA 95901


Benevolent   Protective Order Of Elks
Las Vegas Area Council 328
1000 Lillyhill Dr
Needles, CA 92363


Benevolent   Protective Order Of Elks
Leatherstocking 400
1315 Champlin Ave
Utica, NY 13502


Benevolent   Protective Order Of Elks
Leatherstocking 400
124 Mary St
Lodge 1439
Herkimer, NY 13350


Benevolent   Protective Order Of Elks
Lodge 1431
Greater Wyoming Council 638
622 Greybull Ave
Greybull, Wy 82426


Benevolent   Protective Order Of Elks
Lodge 2188
National Capital Area Council 082
8421 Arlington Blvd
Fairfax, Va 22031


Benevolent   Protective Order Of Elks
Longhorn Council 662
601 W Pioneer Pkwy
Arlington, TX 76010


Benevolent   Protective Order Of Elks
Longhouse Council 373
P.O. Box 728
Watertown, NY 13601


Benevolent   Protective Order Of Elks
Mid‐America Council 326
501 Poplar St
Atlantic, IA 50022


Benevolent   Protective Order Of Elks
National Capital Area Council 082
5 Taft Ct
Rockville, MD 20850


Benevolent   Protective Order Of Elks
National Capital Area Council 082
St Marys Lodge 2092
45779 Fire Dept Lane
California, MD 20619


Benevolent   Protective Order Of Elks
San Diego Imperial Council 049
901 Elks Ln
Chula Vista, CA 91910


Benevolent   Protective Order Of Elks
Seneca Waterways 397
4400 Sweden Walker Rd
Brockport, NY 14420


Benevolent P. Order Elks Lodge 1544
Hudson Valley Council 374
46 N St
P.O. Box 24
Monticello, NY 12701


Benevolent Protective Order Elks
Lodge 1955
Washington Crossing Council 777
110 Hickory Corner Rd
East Windsor, Nj 08520


Benevolent Protective Order Elks
Lodge 2065
Catalina Council 011
1 Elks Ln
Sierra Vista, Az 85635
Benevolent Protective Order Elks
Lodge 2116
Patriots Path Council 358
665 Rahway Ave
Woodbridge, Nj 07095


Benevolent Protective Order Elks
Lodge 2129
Washington Crossing Council 777
P.O. Box 217
Blawenburg, Nj 08504


Benevolent Protective Order Elks
Lodge 2180
Monmouth Council, Bsa 347
72 W Railroad Ave
Jamesburg, Nj 08831


Benevolent Protective Order Elks
Lodge 2229
Monmouth Council, Bsa 347
67 Old Amboy Rd
Old Bridge, Nj 08857


Benevolent Protective Order Elks 1199
Northern Lights Council 429
P.O. Box 1596
Bismarck, ND 58502


Benevolent Protective Order Elks 2409
Longs Peak Council 062
36355 US Hwy 385
Wray, CO 80758


Benevolent Protective Order Elks 2541
Longs Peak Council 062
525 Main St
Louisville, CO 80027


Benevolent Protective Order Elks 566
Longs Peak Council 062
3975 28th St
Boulder, CO 80301


Benevolent Protective Order Elks 809
Longs Peak Council 062
3061 W 29th St
Greeley, CO 80631


Benevolent Protective Order Of Elks
Daniel Webster Council, Bsa 330
Rt 302
Littleton, NH 03561


Benevolent Protective Order Of Elks
Madras Lodge 2017
Crater Lake Council 491
P.O. Box 609
Madras, Or 97741


Benevolent Protective Order Of Elks
Mayflower Council 251
1077 Pond St 2136
Franklin, MA 02038


Benevolent Protective Order Of Elks 1900
Greater Yosemite Council 059
19071 N Lower Sacramento Rd
Woodbridge, CA 95258


Benevolent Protective Order Of Elks 2007
Catalina Council 011
P.O. Box 3
San Manuel, AZ 85631


Benevolent Protective Order Of Elks 955
Catalina Council 011
650 E 10th St
Douglas, AZ 85607


Benevolent Protective Order Of The Elks
Suwannee River Area Council 664
276 N Magnolia Dr
Tallahassee, FL 32301
Benevon Inc
4528 8th Ave NE, Ste 1A
Seattle, WA 98105


Bengt Holmberg
Address Redacted


Benhart Matthew Ness
Address Redacted


Benicia Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 385
Benicia, CA 94510


Benicia Police Dept
Mt Diablo‐Silverado Council 023
200 E L St
Benicia, CA 94510


Benignus Elementary PTO
Sam Houston Area Council 576
7225 Alvin A Klein Dr
Spring, TX 77379


Benita Williams
Address Redacted


Benjamin A Hayden
Address Redacted


Benjamin A Thornbloom
Address Redacted


Benjamin Adelman
Address Redacted


Benjamin B Debauge
Address Redacted


Benjamin B Weimer
Address Redacted


Benjamin Barnes Branch Ymca
Black Warrior Council 006
2939 18th St
Tuscaloosa, AL 35401


Benjamin Blumenberg
Address Redacted


Benjamin Bonnett
Address Redacted


Benjamin Bramlett
Address Redacted


Benjamin Brennecke
Address Redacted


Benjamin Buckelew
Address Redacted


Benjamin Burke
Address Redacted


Benjamin Butler Jr
Address Redacted


Benjamin C Everett
Address Redacted


Benjamin C Mann
Address Redacted


Benjamin Chiochon
Address Redacted


Benjamin Coder
Address Redacted


Benjamin D Brennan
Address Redacted


Benjamin D Fugate
Address Redacted


Benjamin D Learn
Address Redacted


Benjamin D Volk
Address Redacted


Benjamin E Parker
Address Redacted


Benjamin E Sheneman
Address Redacted


Benjamin E Wetzel
Address Redacted


Benjamin Evans
Address Redacted


Benjamin F Gardiner
Address Redacted


Benjamin Franklin
Lake Erie Council 440
1905 Spring Rd
Cleveland, OH 44109


Benjamin Franklin Elementary School PTO
Patriots Path Council 358
700 Prospect St
Westfield, NJ 07090


Benjamin Franklin School
Lake Erie Council 440
1905 Spring Rd
Cleveland, OH 44109


Benjamin Frederick Winter
Address Redacted


Benjamin Geiger
Address Redacted


Benjamin Gross
Address Redacted


Benjamin I Stewart
Address Redacted


Benjamin J Ashcroft
Address Redacted


Benjamin J Gilligan
Address Redacted


Benjamin J Lee
Address Redacted


Benjamin J Marino
Address Redacted


Benjamin J Mord
Address Redacted


Benjamin J Pigula
Address Redacted
Benjamin J Rininger
Address Redacted


Benjamin J Trangsrud
Address Redacted


Benjamin Jacob Farquharson
Address Redacted


Benjamin James Louis
Address Redacted


Benjamin L Cier
Address Redacted


Benjamin L Gratza
Address Redacted


Benjamin L Harper
Address Redacted


Benjamin L Millward
Address Redacted


Benjamin Link
Address Redacted


Benjamin M Ballard
Address Redacted


Benjamin M Fox
Address Redacted


Benjamin M Herman
Address Redacted


Benjamin M Pearce
Address Redacted


Benjamin Mahlke
Address Redacted


Benjamin Melton
Address Redacted


Benjamin Michel Murdock
Address Redacted


Benjamin Mount
Address Redacted


Benjamin Murdock
Address Redacted


Benjamin O Brandeis
Address Redacted


Benjamin Ormsby
Address Redacted


Benjamin P Johns
Address Redacted


Benjamin Parsons   O Donnell
Clark   Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Benjamin Pierce
Address Redacted


Benjamin R Criste
Address Redacted


Benjamin R Grenier
Address Redacted


Benjamin Roberge
Address Redacted


Benjamin S Smith
Address Redacted


Benjamin Schulz
Address Redacted


Benjamin Seligman
Address Redacted


Benjamin Senff
Address Redacted


Benjamin Stahmann
Address Redacted


Benjamin Summerhalder
Address Redacted


Benjamin T Pederson
Address Redacted


Benjamin T Trotter
Address Redacted


Benjamin Tsumas
Address Redacted


Benjamin W Edmonson
Address Redacted


Benjamin W Ellsworth
Address Redacted
Benjamin W Miller
Address Redacted


Benjamin W Skidmore
Address Redacted


Benjamin Wallace
Address Redacted


Benjamin Wielebinski
Address Redacted


Benjamin Wood
Address Redacted


Bennett   Assoc Inc
2404 N Damie Ln
Lehi, UT 84043


Bennett Community Organization
Longs Peak Council 062
1125 Bennett Rd
Fort Collins, CO 80521


Bennett Elementary School PTO
National Capital Area Council 082
8800 Old Dominion Dr
Bennett Elementary School
Manassas, VA 20110


Bennett International Group
Flint River Council 095
1001 Industrial Pkwy
Mcdonough, GA 30253


Bennett S Corners Community Church
Great Trail 433
47 W 130th St
Hinckley, OH 44233
Bennett Smallman
Address Redacted


Bennett Watkins Lions Club
Denver Area Council 061
301 S County Rd 137
Bennett, CO 80102


Bennetts LLC
P.O. Box 27
Raton, NM 87740


Bennettsville Fire Dept
Pee Dee Area Council 552
P.O. Box 1036
Bennettsville, SC 29512


Bennington Lions Club
Coronado Area Council 192
105 N Nelson St
Bennington, KS 67422


Benno Dunn
Address Redacted


Benny Adams
Address Redacted


Benny High
Address Redacted


Bens Uniforms Inc
20 Main St
Amesbury, MA 01913


Bensalem Utd Methodist Church
Washington Crossing Council 777
4300 Hulmeville Rd
Bensalem, PA 19020
Benson First Response
Green Mountain 592
P.O. Box 199
Benson, VT 05731


Benson Kiwanis Club
Tuscarora Council 424
9255 Raleigh Rd
Benson, NC 27504


Benson Memorial Utd Methodist Church
Occoneechee 421
4706 Creedmoor Rd
Raleigh, NC 27612


Benson Middle School ‐ Stem Scouts
Catalina Council 011
360 S Patagonia St
Benson, AZ 85602


Benson Vfw Post 1403
Northern Lights Council 429
1135 Pacific Ave
Benson, MN 56215


Benson Ward ‐ LDS St David Stake
Catalina Council 011
381 N Pomerene Rd
Benson, AZ 85602


Bent Tree Bible Church
Circle Ten Council 571
4141 International Pkwy
Carrollton, TX 75007


Bent, St. Vrain   Co
7235 S Dover Ct
Littleton, CO 80128


Benteen Elementary School PTA
Atlanta Area Council 092
200 Cassanova St Se
Atlanta, GA 30315


Bentley College
Attn Office of Student Acct
175 Forest St
Waltham, MA 02452‐4705


Benton Christian Church
Columbia‐Montour 504
305 3rd St
Benton, PA 17814


Benton City 1st Utd Methodist Ch
Blue Mountain Council 604
906 9Th St
Benton City, Wa 99320


Benton County Sheriffs Office
Blue Mountain Council 604
7122 W Okanogan Pl Bldg B
Kennewick, WA 99336


Benton Harbor Area Schools
Southern Shores Fsc 783
636 Pipestone St
Benton Harbor, MI 49022


Benton Heights Presbyterian Church
Central N Carolina Council 416
2701 Concord Hwy
Monroe, NC 28110


Benton High School Jrotc
Pony Express Council 311
5655 S 4th St
Saint Joseph, MO 64504


Benton Lions Club
Quivira Council, Bsa 198
450 W S St
Kathy Debrect
Benton, KS 67017


Benton Lions Club
Quivira Council, Bsa 198
P.O. Box 393
Benton, KS 67017


Benton Township Esa
Water and Woods Council 782
4713 Hartel Rd
Potterville, MI 48876


Benton Utd Methodist Church
Norwela Council 215
4615 Palmetto Rd
Benton, LA 71006


Benttree Bible Fellowship
Circle Ten Council 571
4141 International Pkwy
Carrollton, TX 75007


Bentwood Elementary School PTA
Heart of America Council 307
13000 Bond St
Overland Park, KS 66213


Bentwood Trail Presbyterian Church
Circle Ten Council 571
6000 Bentwood Trl
Dallas, TX 75252


Beovich Walter   Friend, Inc
1001 SW 5th Ave, Ste 1200
Portland, OR 97204


Bera Holloway
Address Redacted


Berdine Mccord
Address Redacted
Berea Utd Methodist Church
Blue Grass Council 204
101 Fee St
Berea, KY 40403


Beretta Usa Corp
P.O. Box 64449
Baltimore, MD 21264‐4449


Bergamot Brass Works Inc
dba Meridian Metal Works
1632 C Hobbs Dr
Delavan, WI 53115


Bergans Of Norway
455 Weaver Park Rd
Longmont, CO 80501


Bergen Commty
College Aviation Post 747
Northern New Jersey Council, Bsa 333
400 County Rd 62
Paramus, Nj 07652


Bergen Evangelical Presbyterian Church
Iroquois Trail Council 376
38 S Lake Ave
Bergen, NY 14416


Bergen Utd Methodist Church
Iroquois Trail Council 376
P.O. Box 266
27 S Lake Ave
Bergen, NY 14416


Berkeley Baptist Church
Denver Area Council 061
4050 W 44th Ave
Denver, CO 80212
Berkeley County Ems
Coastal Carolina Council 550
223 N Live Oak Dr
Moncks Corner, SC 29461


Berkeley County Sheriff Dept
Coastal Carolina Council 550
223 N Live Oak Dr
Moncks Corner, SC 29461


Berkeley Green
Address Redacted


Berkeley Hills Lutheran Church
Laurel Highlands Council 527
517 Sangree Rd
Pittsburgh, PA 15237


Berkeley Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 874
Berkeley, CA 94701


Berkeley Tandem Inc
160 Haverford Dr
Nashville, TN 37205‐3614


Berkeley Utd Methodist Church
Capitol Area Council 564
2407 Berkeley Ave
Austin, TX 78745


Berkley American Legion Post 374
Great Lakes Fsc 272
2079 12 Mile Rd
Berkley, MI 48072


Berkley Firefighters Assoc
Narragansett 546
5 N Main St
Berkley, MA 02779
Berkley First Utd Methodist Church
Great Lakes Fsc 272
2820 12 Mile Rd
Berkley, MI 48072


Berkley Hills Lutheran Church
Laurel Highlands Council 527
Sangree Rd
Pittsburgh, PA 15237


Berkley Post 121 American Legion
Narragansett 546
80 Myricks St
Berkley, MA 02779


Berkmar Utd Methodist Church
Northeast Georgia Council 101
675 Pleasant Hill Rd
Lilburn, GA 30047


Berks County Bar Assoc
Hawk Mountain Council 528
544 Court St
Reading, PA 19601


Berks County Sheriff Office
Hawk Mountain Council 528
633 Court St
Reading, PA 19601


Berle Manufacturing Co
1549 Folly Rd
Charleston, SC 29412


Berlin Vfw Anmac Post 6253
Garden State Council 690
34 Chestnut Ave
Berlin, NJ 08009


Berlin Vol Fire Dept
Laurel Highlands Council 527
P.O. Box 13
Berlin, PA 15530


Berlin‐Board Of Trade
Heart of New England Council 230
Woodward Ave
Berlin, MA 01503


Berliner Specialty Dist Inc
5101 Buchanan St
Hyattsville, MD 20781


Berlin‐Lions Club
Heart of New England Council 230
43 S St
Berlin, MA 01503


BerlinMillCreek‐Zionsville Vol Fire Dept
Sam Houston Area Council 576
P.O. Box 1832
Brenham, Tx 77834


Berman   Simmons Pa
Obo Harold Pottle II
Pop Box 961
Lewiston, ME 04243‐0961


Berman O Conner   Mann
111 W Chalan Santo Papa, Ste 503
Hagatna, GU 96910


Berman O Connor    Mann
Attn Michael Berman
111 Chalan Santo Papa, Ste 503
Bank of Guam Bldg.
Hagatna, GU 96910


Berman O Connor   Mann
Attn Michael J Berman, Esq
re Plaintiff
111 Chalan Santo Papa
Suite 503, Bank of Guam Bldg.
Hagatna, GU 96910


Berman O Connor   Mann
Attn Michael J Berman, Esq
re Plaintiff
238 Archbishop Flores St
Suite 300, Dna Bldg
Hagatna, GU 96910


Berman S Orienteering Supply
23 Fayette St
Cambridge, MA 02139‐1111


Bermuda Hundred Utd Methodist Church
Heart of Virginia Council 602
2025 Florence Ave
Chester, VA 23836


Bern   Louis LLC
dba M Style Marketing
38 Bellefair Rd
Rye Brook, NY 10573‐5507


Bernadette F Barczak
Address Redacted


Bernadette Legere
Address Redacted


Bernadette Mcrae Elliott
Address Redacted


Bernadette Parris
Address Redacted


Bernadette Sherwood
Address Redacted


Bernadette Smietana
Address Redacted
Bernadine Mares
Address Redacted


Bernadine Monroe
Address Redacted


Bernard Brault
Address Redacted


Bernard Gallenberg Jr
Address Redacted


Bernard Middle School PTO
Greater St Louis Area Council 312
1054 Forder Rd
Saint Louis, MO 63129


Bernard Smith
Address Redacted


Bernay Apgar Post 342 American Legion
Patriots Path Council 358
E Main St
Chester, NJ 07930


Berne Lodge 684 Free    Accepted Masons
Attn Louis Schenck
Twin Rivers Council 364
1652 Helderberg Trail
Berne, NY 12023


Berne Rotary Club
Anthony Wayne Area 157
179 W Main St
Berne, IN 46711


Bernice Ciupek
Address Redacted
Bernice Coca
Address Redacted


Bernice Davis
Address Redacted


Bernice Elaine Kelly
Address Redacted


Bernice Holiday
Address Redacted


Bernice Martinez
Address Redacted


Bernice Mathews Elem Team Up Program
Nevada Area Council 329
535 E Plumb Ln
Reno, Nv 89502


Bernice Mugele
Address Redacted


Bernice Todd
Address Redacted


Bernshausen Elementary PTO
Sam Houston Area Council 576
11116 Mahaffey Rd
Tomball, TX 77375


Bernstein    Andriulli Inc
58 W 40th St
New York, NY 10018


Berrien County Sheriff S Dept
Southern Shores Fsc 783
919 Port St
Saint Joseph, MI 49085
Berry College
Attn Marcia R Mcconnell
2277 Martha Berry Hwy
Mount Berry, GA 30149‐9707


Berry Elementary
Sam Houston Area Council 576
2310 Berry Rd
Houston, TX 77093


Berry High School Ffa
Black Warrior Council 006
18242 Hwy 18 E
Berry, AL 35546


Berry Lumber
718 10th St
Onawa, IA 51040


Berry S Chapel Church Of Christ
Middle Tennessee Council 560
1777 Berrys Chapel Rd
Franklin, TN 37069


Berrys Chapel Church Of Christ
Middle Tennessee Council 560
1777 Berrys Chapel Rd
Franklin, TN 37069


Berryton Utd Methodist Church
Jayhawk Area Council 197
P.O. Box 25
7010 SE Berryton Rd
Berryton, KS 66409


Bert G Taylor Post 300 American Legion
Black Swamp Area Council 449
500 Glenwood Ave
Napoleon, OH 43545
Bert Mcdonald
Address Redacted


Bert Starr
Address Redacted


Bertha Alicia Julsen
Address Redacted


Bertha Deyerle
Address Redacted


Bertha Julsen
Address Redacted


Bertha Napolitano
Address Redacted


Bertha Taylor
Address Redacted


Berwick Utd Methodist Church
Pine Tree Council 218
P.O. Box 645
Berwick, ME 03901


Berwyn Moose Lodge 424
Pathway To Adventure 456
3625 S Harlem Ave
Berwyn, IL 60402


Berwyn Police Dept
Pathway To Adventure 456
6401 31st St
Berwyn, IL 60402


Berwyn Utd Methodist Church
Chester County Council 539
140 Waterloo Ave
Berwyn, PA 19312
Beryl Love
Address Redacted


Bess Brannen Elementary PTO
Bay Area Council 574
802 That Way St
Lake Jackson, TX 77566


Bessemer Elks Lodge
Greater Alabama Council 001
1313 4th Ave N
Bessemer, AL 35020


Bessemer Rotary Club
Moraine Trails Council 500
Bessemer Presbyterian Church
Bessemer, PA 16112


Bessie M Jackson
Address Redacted


Bessie S Floral Design Inc
124 Main St W
Oak Hill, WV 25901


Best Beers Inc
1100 S Strong Dr
Bloomington, IN 47402


Best Buy
3533 Zafarano Dr
Santa Fe, NM 87505‐2618


Best Buy
Hwy 114
Grapevine, TX 76051


Best Buy Stores LP
Best Buy For Business
6281 Paysphere Cir
Chicago, IL 60674


Best Discount Pharmacy
2316 34th St
Lubbock, TX 79411


Best Made Designs, LLC
P.O. Box 475
Monahans, TX 79756


Best Press
Best Plaza
4201 Airborn Dr
Addison, TX 75001


Best Valve Mobile Storage
29421 State Hwy 38
Marshfield, MO 65706


Best Western Plus Rio Grande Inn
1015 Rio Grande Blvd Nw
Albuquerque, NM 87104‐2031


Best Western Suites
201 Music City Cir
Nashville, TN 37214


Best Western Suites Near Opryland
201 Music City Cir
Nashville, TN 37214


Bestlife
P.O. Box 80001
Prescott, AZ 86304‐8001


Beth Avery
Address Redacted


Beth Bonner
Address Redacted


Beth Cobb
Address Redacted


Beth Doughty
Address Redacted


Beth Eckert
Address Redacted


Beth Eden Baptist Church
Pathway To Adventure 456
11121 S Loomis St
Chicago, IL 60643


Beth Eden Evangelical Lutheran Church
Piedmont Council 420
400 N Main Ave
Newton, NC 28658


Beth Eden Lutheran Church Elca
Piedmont Council 420
400 N Main Ave
Newton, NC 28658


Beth Eden Utd Methodist Church
Blackhawk Area 660
3201 Huffman Blvd
Rockford, IL 61103


Beth El Temple
New Birth of Freedom 544
2637 N Front St
Harrisburg, PA 17110


Beth Ferstler
Address Redacted


Beth Hoggle
Address Redacted


Beth Israel Brotherhood
Baltimore Area Council 220
3706 Crondall Ln
Owings Mills, MD 21117


Beth Jacob Congregation
W.L.A.C.C. 051
9030 W Olympic Blvd
Beverly Hills, CA 90211


Beth Jacob Congregation Of Irvine
Orange County Council 039
3900 Michelson Dr
Irvine, CA 92612


Beth Knesset Bamidbar
W.L.A.C.C. 051
1611 E Ave J
Lancaster, CA 93535


Beth Meyer Synagogue
Occoneechee 421
504 Newton Rd
Raleigh, NC 27615


Beth Prince
Address Redacted


Beth Ramsey
Address Redacted


Beth Shalom Synagogue
Heart of America Council 307
14200 Lamar Ave
Overland Park, KS 66223


Beth Whitney
Address Redacted
Beth Wilson C/O Mary Collins Agency, Inc
2909 Cole Ave, Ste 250
Dallas, TX 75204‐1307


Bethabara Moravian Church
Old Hickory Council 427
2100 Bethabara Rd
Winston Salem, NC 27106


Bethalto Police Benev Assoc 85
Greater St Louis Area Council 312
213 N Prairie St
Bethalto, IL 62010


Bethania Lutheran Church
Three Harbors Council 636
4120 Wright Ave
Racine, WI 53405


Bethania Moravian Church
Old Hickory Council 427
P.O. Box 17
Bethania, NC 27010


Bethany Baptist Church
Cascade Pacific Council 492
1150 Hilfiker Ln Se
Salem, OR 97302


Bethany Baptist Church
Greater New York Councils, Bsa 640
460 Marcus Garvey Blvd
Brooklyn, NY 11216


Bethany Baptist Church
Ventura County Council 057
200 Bethany Ct
Thousand Oaks, CA 91360


Bethany Christian Church
Atlanta Area Council 092
2868 Carrollton Villa Rica Hwy
Carrollton, GA 30116


Bethany Christian Church
Atlanta Area Council 092
3264 Villa Rica Hwy
Dallas, GA 30157


Bethany Christian Church
Cornhusker Council 324
1645 N Cotner Blvd
Lincoln, NE 68505


Bethany Christian Church
East Carolina Council 426
P.O. Box 156
Arapahoe, NC 28510


Bethany Christian Church
Yucca Council 573
10453 Springwood Dr
El Paso, TX 79925


Bethany Christian Church
Yucca Council 573
3639 Red Cloud Pl
El Paso, TX 79936


Bethany Church Assemblies Of God
Northern New Jersey Council, Bsa 333
568 Wellington Dr
Wyckoff, NJ 07481


Bethany Church On The Hill
Ventura County Council 057
200 Bethany Ct
Thousand Oaks, CA 91360


Bethany Church Ucc
Green Mountain 592
115 Main St
Montpelier, VT 05602
Bethany Churchmen
Bay‐Lakes Council 635
202 S 11th St
Escanaba, MI 49829


Bethany Congregational Church
Mayflower Council 251
3 Rockhill St
Foxboro, MA 02035


Bethany Congregational Church
Theodore Roosevelt Council 386
100 Main St
East Rockaway, NY 11518


Bethany Covenant Church
Connecticut Rivers Council, Bsa 066
785 Mill St
Berlin, CT 06037


Bethany G Cheyney
Address Redacted


Bethany Leckrone
Address Redacted


Bethany Lutheran Church
Blackhawk Area 660
76 W Crystal Lake Ave
Crystal Lake, IL 60014


Bethany Lutheran Church
Cascade Pacific Council 492
2900 Parkview Dr
Longview, WA 98632


Bethany Lutheran Church
Central Minnesota 296
P.O. Box 473
Nevis, MN 56467
Bethany Lutheran Church
Chief Seattle Council 609
7968 Finch Rd Ne
Bainbridge Island, WA 98110


Bethany Lutheran Church
Connecticut Rivers Council, Bsa 066
50 Court St
Cromwell, CT 06416


Bethany Lutheran Church
Denver Area Council 061
4500 E Hampden Ave
Cherry Hills Village, CO 80113


Bethany Lutheran Church
Garden State Council 690
617 Morgan Ave
Palmyra, NJ 08065


Bethany Lutheran Church
Hawk Mountain Council 528
1375 Friedensburg Rd
Stony Creek Mills
Reading, PA 19606


Bethany Lutheran Church
Hawk Mountain Council 528
1375 Friedensburg Rd
Reading, PA 19606


Bethany Lutheran Church
Laurel Highlands Council 527
200 3rd Ave
Altoona, PA 16602


Bethany Lutheran Church
Mid Iowa Council 177
2712 Washington Ave
Iowa Falls, IA 50126
Bethany Lutheran Church
Mid‐America Council 326
15 W 14th St
Spencer, IA 51301


Bethany Lutheran Church
Mid‐America Council 326
4200 N 204th St
Elkhorn, NE 68022


Bethany Lutheran Church
Mid‐America Council 326
703 Broadway St
Emmetsburg, IA 50536


Bethany Lutheran Church
Mississippi Valley Council 141 141
2515 Madison Ave
Burlington, IA 52601


Bethany Lutheran Church
Northern Lights Council 429
1315 6th St Ne
Red Lake Falls, MN 56750


Bethany Lutheran Church
Quivira Council, Bsa 198
320 N Main St
Lindsborg, KS 67456


Bethany Lutheran Church
W D Boyce 138
P.O. Box Lundy Lane
Leland, IL 60531


Bethany Lutheran Church ‐ Lcms
Capitol Area Council 564
3701 W Slaughter Ln
Austin, TX 78749


Bethany Lutheran Church Men
Three Fires Council 127
8 S Lincoln St
Batavia, IL 60510


Bethany Lutheran Church‐Bigfork
Montana Council 315
P.O. Box 398
8559 Mt Hwy 35
Bigfork, MT 59911


Bethany Memorial Church
Ohio River Valley Council 619
P.O. Box 149
303 Main St
Bethany, WV 26032


Bethany Methodist Church
Bay‐Lakes Council 635
1110 Echo Ln
Green Bay, WI 54304


Bethany Methodist Church
Old N State Council 070
3650 Bethany Church Rd
Franklinville, NC 27248


Bethany Missionary Baptist Church
Cradle of Liberty Council 525
5747 Warrington Ave
Philadelphia, PA 19143


Bethany Presbyterian
Cape Fear Council 425
2237 Castle Hayne Rd
Wilmington, NC 28401


Bethany Presbyterian
Queen Anne United Methodist
Chief Seattle Council 609
1818 Queen Anne Ave N
Seattle, Wa 98109
Bethany Presbyterian Church
Atlanta Area Council 092
1002 Bethany Rd
Covington, GA 30016


Bethany Presbyterian Church
Blue Ridge Council 551
106 Fawn Rd
Clinton, SC 29325


Bethany Presbyterian Church
Cascade Pacific Council 492
15505 NW Springville Rd
Portland, OR 97229


Bethany Presbyterian Church
Central N Carolina Council 416
6713 Plyler Mill Rd
Monroe, NC 28112


Bethany Presbyterian Church
Chief Seattle Council 609
3 Howe St
Seattle, WA 98109


Bethany Presbyterian Church
French Creek Council 532
100 W Venango St
Mercer, PA 16137


Bethany Presbyterian Church
Old N State Council 070
1500 S Main St
Graham, NC 27253


Bethany Presbyterian Church
Pennsylvania Dutch Council 524
25 N W End Ave
Lancaster, PA 17603


Bethany Presbyterian Church
Sagamore Council 162
3305 Longlois Dr
Lafayette, IN 47904


Bethany Presbyterian Church
Seneca Waterways 397
3000 Dewey Ave
Rochester, NY 14616


Bethany Reformed Church
Twin Rivers Council 364
760 New Scotland Ave
Albany, NY 12208


Bethany Umc
Quivira Council, Bsa 198
1601 S Main St
Wichita, KS 67213


Bethany Union Church
Pathway To Adventure 456
1750 W 103rd St
Chicago, IL 60643


Bethany Utd Church Of Christ
Great Trail 433
1235 Broad Blvd
Cuyahoga Falls, OH 44223


Bethany Utd Church Of Christ
Pennsylvania Dutch Council 524
140 E Main St
Ephrata, PA 17522


Bethany Utd Methodist Church
Andrew Jackson Council 303
153 Conerly Rd
Braxton, MS 39044


Bethany Utd Methodist Church
Anthony Wayne Area 157
7715 Sunny Ln
Fort Wayne, IN 46835
Bethany Utd Methodist Church
Atlanta Area Council 092
760 Hurt Rd Sw
Smyrna, GA 30082


Bethany Utd Methodist Church
Baltimore Area Council 220
2875 Bethany Ln
Ellicott City, MD 21042


Bethany Utd Methodist Church
Capitol Area Council 564
10010 Anderson Mill Rd
Austin, TX 78750


Bethany Utd Methodist Church
Coastal Carolina Council 550
118 W 3rd S St
Summerville, SC 29483


Bethany Utd Methodist Church
Columbia‐Montour 504
116 Summerhill Ave
Berwick, PA 18603


Bethany Utd Methodist Church
Dan Beard Council, Bsa 438
6388 Cincinnati Dayton Rd
Liberty Township, OH 45044


Bethany Utd Methodist Church
Glaciers Edge Council 620
3910 Mineral Point Rd
Madison, WI 53705


Bethany Utd Methodist Church
Hawk Mountain Council 528
20 Holly Rd
Barnesville, PA 18214
Bethany Utd Methodist Church
Minsi Trails Council 502
1208 Brookside Rd
Wescosville, PA 18106


Bethany Utd Methodist Church
Northeast Georgia Council 101
4659 Brockton Rd
Jefferson, GA 30549


Bethany Utd Methodist Men
Colonial Virginia Council 595
1509 Todds Ln
Hampton, VA 23666


Bethany Utd Presbyterian Church
Northern New Jersey Council, Bsa 333
293 W Passaic Ave
Bloomfield, NJ 07003


Bethany Volunteer Firemen Assoc
Connecticut Yankee Council Bsa 072
765 Amity Rd
Bethany, CT 06524


Bethel Acres Utd Methodist Church
Last Frontier Council 480
35500 Hardesty Rd
Shawnee, OK 74801


Bethel African Methodist Episc Ch
Old N State Council 070
200 N Regan St
Greensboro, Nc 27401


Bethel African Methodist Episcopal
Water and Woods Council 782
535 Cathay St
Saginaw, MI 48601


Bethel African Methodist Espicopal Ch
Connecticut Rivers Council, Bsa 066
1154 Blue Hills Ave
Bloomfield, Ct 06002


Bethel Ame Church
Central Florida Council 083
226 E Howry Ave
Deland, FL 32720


Bethel Ame Church
Southern Shores Fsc 783
900 John A Woods Dr
Ann Arbor, MI 48105


Bethel Assembly Of God
Greater Alabama Council 001
5250 Hwy 46
Heflin, AL 36264


Bethel Baptist Church
Conquistador Council Bsa 413
2420 N Garden Ave
Roswell, NM 88201


Bethel Baptist Church
Heart of Virginia Council 602
1100 Huguenot Springs Rd
Midlothian, VA 23113


Bethel Baptist Church
Illowa Council 133
1196 N Academy St
Galesburg, IL 61401


Bethel Baptist Church
Piedmont Council 420
200 Bethel Church Rd
Lincolnton, NC 28092


Bethel Baptist Church
W D Boyce 138
1028 S 6th St
Princeton, IL 61356
Bethel Baptist Church
Westchester Putnam 388
1 Fisher Ct
White Plains, NY 10601


Bethel Baptist Institutional Church
North Florida Council 087
215 Bethel Baptist St
Jacksonville, FL 32202


Bethel Church
Crossroads of America 160
12110 W Bethel Ave
Muncie, IN 47304


Bethel Commandment Church
Garden State Council 690
P.O. Box 67
Whitesboro, NJ 08252


Bethel Cumberland Presnyterian Church
Middle Tennessee Council 560
3375 Sango Rd
Clarksville, TN 37043


Bethel Evangelical Congregation Church
Pennsylvania Dutch Council 524
3716 Main St
Conestoga, PA 17516


Bethel Evangelical Lutheran Church
National Capital Area Council 082
8712 Plantation Ln
Manassas, VA 20110


Bethel Evangelical Lutheran Church
Northern Star Council 250
4120 17th Ave S
Minneapolis, MN 55407
Bethel First Presbyterian Church
Lincoln Heritage Council 205
502 E Main St
Campbellsville, KY 42718


Bethel Fish   Game Assoc
Connecticut Yankee Council Bsa 072
P.O. Box 16
Bethel, CT 06801


Bethel Grange 404
Chief Seattle Council 609
5998 Bethel Rd Se
Port Orchard, WA 98367


Beth‐El Jewish Center Of Flatbush
Greater New York Councils, Bsa 640
1981 Homecrest Ave
Brooklyn, NY 11229


Bethel Lutheran Church
Central Minnesota 296
901 W Broadway
Little Falls, MN 56345


Bethel Lutheran Church
Erie Shores Council 460
1853 S Ave
Toledo, OH 43609


Bethel Lutheran Church
Golden Empire Council 047
1200 Alamos Ave
Sacramento, CA 95815


Bethel Lutheran Church
Great Lakes Fsc 272
26400 Little Mack Ave
Saint Clair Shores, MI 48081


Bethel Lutheran Church
Montana Council 315
1009
Great Falls, MT 59404


Bethel Lutheran Church
Mount Zion Lutheran Church
Northern Star Council 250
920 3Rd St
Hudson, Wi 54016


Bethel Lutheran Church
Northern Lights Council 429
1433 Maple Ct
Wahpeton, ND 58075


Bethel Lutheran Church
Northern Star Council 250
1321 N Ave
Northfield, MN 55057


Bethel Lutheran Church
Silicon Valley Monterey Bay 055
10181 Finch Ave
Cupertino, CA 95014


Bethel Methodist Church
Northeast Georgia Council 101
Lumpkin Campground
Rd
Dawsonville, GA 30534


Bethel Missionary Baptist Church
Buckskin 617
P.O. Box 168
Lochgelly, WV 25866


Bethel Murdoch Presbyterian Church
Dan Beard Council, Bsa 438
9602 Murdock Goshen Rd
Loveland, OH 45140


Bethel Ofw Baptist Church
Tuscarora Council 424
3168 Nc Hwy 96 S
Four Oaks, NC 27524


Bethel Presbyterian Church
Baltimore Area Council 220
4135 Norrisville Rd
White Hall, MD 21161


Bethel Presbyterian Church
Laurel Highlands Council 527
2999 Bethel Church Rd
Bethel Park, PA 15102


Bethel Presbyterian Church
Mecklenburg County Council 415
19920 Bethel Church Rd
Cornelius, NC 28031


Bethel Presbyterian Church
Stonewall Jackson Council 763
563 Bethel Green Rd
Staunton, VA 24401


Bethel Rotary Club
Green Mountain 592
P.O. Box 239
Bethel, VT 05032


Bethel Umc
Attn Keith Whitten
1444 Bethel Church Rd
Hiram, GA 30141


Bethel Utd Church Of Christ
Heart of America Council 307
4900 NE Parvin Rd
Kansas City, MO 64117


Bethel Utd Methodist Church
Cape Fear Council 425
1849 E Boiling Spring Rd
Southport, NC 28461
Bethel Utd Methodist Church
Chester County Council 539
952 Bethel Church Rd
Spring City, PA 19475


Bethel Utd Methodist Church
Dan Beard Council, Bsa 438
402 W Plane St
Bethel, OH 45106


Bethel Utd Methodist Church
Daniel Boone Council 414
1050 Riceville Rd
Asheville, NC 28805


Bethel Utd Methodist Church
Daniel Boone Council 414
804 Sonoma Rd
Waynesville, NC 28786


Bethel Utd Methodist Church
Del Mar Va 081
130 W 4th St
Lewes, DE 19958


Bethel Utd Methodist Church
Flint River Council 095
245 Fairview Rd
Stockbridge, GA 30281


Bethel Utd Methodist Church
Last Frontier Council 480
35500 Hardesty Rd
Shawnee, OK 74801


Bethel Utd Methodist Church
Lincoln Heritage Council 205
7357 Hwy 44 E
Mount Washington, KY 40047
Bethel Utd Methodist Church
National Capital Area Council 082
3130 Minnieville Rd
Woodbridge, VA 22192


Bethel Utd Methodist Church
National Capital Area Council 082
6903 Blantyre Rd
Warrenton, VA 20187


Bethel Utd Methodist Church
Northeast Georgia Council 101
100 Lumpkin Campground Rd S
Dawsonville, GA 30534


Bethel Utd Methodist Church
Northern Star Council 250
2116 Commerce Blvd
Mound, MN 55364


Bethel Utd Methodist Church
Palmetto Council 549
245 S Church St
Spartanburg, SC 29306


Bethel Utd Methodist Church
Piedmont Council 420
P.O. Box 1443
Old Fort, NC 28762


Bethel Utd Methodist Church
Tuscarora Council 424
1882 Hood Swamp Rd
La Grange, NC 28551


Bethel Utd Methodist Church/Pond PTO
Greater St Louis Area Council 312
17200 Manchester Rd
Grover, MO 63040


Bethel Utd Methodist Mens Club
Central N Carolina Council 416
12700 Idlebrook Rd
Midland, NC 28107


Bethel Utd Methodist Mens Club
Indian Waters Council 553
4600 Daniel Dr
Columbia, SC 29206


Bethel Wesley Utd Methodist Church
Illowa Council 133
1201 13th St
Moline, IL 61265


Bethel Wesleyan Church
Daniel Boone Council 414
909 Tracy Grove Rd
Flat Rock, NC 28731


Bethelview Utd Methodist Church
Northeast Georgia Council 101
4525 Bethelview Rd
Cumming, GA 30040


Bethesda Baptist Church
Longhorn Council 662
100 W Bethesda Rd
Burleson, TX 76028


Bethesda Belmont Morristown Rotary
Ohio River Valley Council 619
301 N Main St
P.O. Box 126
Bethesda, OH 43719


Bethesda Evangelical Church
Greater St Louis Area Council 312
85 Lemay Gardens Dr
Saint Louis, MO 63125


Bethesda Evangelical Lutheran Church
Laurel Highlands Council 527
3084 Leechburg Rd
New Kensington, PA 15068


Bethesda Lutheran Church
Lake Erie Council 440
28607 Wolf Rd
Bay Village, OH 44140


Bethesda Lutheran Church
Northern Star Council 250
1947 110th Ave
Dresser, WI 54009


Bethesda Lutheran Church
Northern Star Council 250
2855 47th St E
Inver Grove Heights, MN 55076


Bethesda Lutheran Church
Oregon Trail Council 697
4445 Royal Ave
Eugene, OR 97402


Bethesda Lutheran Church ‐ Ames
Mid Iowa Council 177
1517 Nwestern Ave
Ames, IA 50010


Bethesda Lutheran Church ‐ Jewell
Mid Iowa Council 177
439 Main St
Jewell, IA 50130


Bethesda Presbyterian Church
Laurel Highlands Council 527
7220 Bennett St
Pittsburgh, PA 15208


Bethesda Presbyterian Church
Old N State Council 070
1074 Ashland Rd
Ruffin, NC 27326
Bethesda Presbyterian Men S Club
Palmetto Council 549
4858 Mcconnells Hwy
York, SC 29745


Bethesda PTO
Potawatomi Area Council 651
730 S University Dr
Waukesha, WI 53188


Bethesda School PTO
Middle Tennessee Council 560
4907 Bethesda Rd
Thompsons Station, TN 37179


Bethesda U M Church Of Holtwood Pa
Pennsylvania Dutch Council 524
1086 Hilldale Rd
Holtwood, PA 17532


Bethesda Umc
Blue Ridge Council 551
516 Piedmont Hwy
Piedmont, SC 29673


Bethesda Umc Church
National Capital Area Council 082
8300 Old Georgetown Rd
Bethesda, MD 20814


Bethesda Utd Methodist Church
Blue Ridge Council 551
516 Piedmont Rd
Easley, SC 29642


Bethesda Utd Methodist Church
Garden State Council 690
1435 Kings Hwy
Swedesboro, NJ 08085


Bethesda Utd Methodist Church
National Capital Area Council 082
8300 Old Georgetown Rd
Bethesda, MD 20814


Bethesda Utd Methodist Church
Northeast Georgia Council 101
444 Bethesda Church Rd
Lawrenceville, GA 30044


Bethesda Utd Methodist Men
Del Mar Va 081
406 N Div St
Salisbury, MD 21801


Bethesda‐Chevy Chase Rotary Club
National Capital Area Council 082
P.O. Box 5856
Bethesda, MD 20824


Bethia Utd Methodist Church
Heart of Virginia Council 602
10700 Winterpock Rd
Chesterfield, VA 23832


Bethleham Utd Methodist Church
Greater Alabama Council 001
1720 Mcelderry Rd
Munford, AL 36268


Bethlehem Baptist Church
National Capital Area Council 082
7836 Fordson Rd
Alexandria, VA 22306


Bethlehem Baptist Church College Place
Indian Waters Council 553
1028 Eham St
Columbia, SC 29203


Bethlehem Evangelical Lutheran Church
Laurel Highlands Council 527
1719 Mount Royal Blvd
Glenshaw, PA 15116


Bethlehem Evangelical Lutheran Church
San Diego Imperial Council 049
925 Balour Dr
Encinitas, CA 92024


Bethlehem Evangelical Lutheran Church
Three Fires Council 127
1915 N 1st St
Dekalb, IL 60115


Bethlehem Evangelical Lutheran Church
Three Fires Council 127
340 Grand Blvd
Elgin, IL 60120


Bethlehem First Utd Methodist
Northeast Georgia Council 101
709 Christmas Ave
Bethlehem, GA 30620


Bethlehem First Utd Methodist Church
Northeast Georgia Council 101
709 Christmas Ave
Bethlehem, GA 30620


Bethlehem Lutheran Church
Cascade Pacific Council 492
18865 SW Johnson St
Beaverton, OR 97003


Bethlehem Lutheran Church
Central Minnesota 296
4310 County Rd 137
Saint Cloud, MN 56301


Bethlehem Lutheran Church
Denver Area Council 061
2100 Wadsworth Blvd
Lakewood, CO 80214
Bethlehem Lutheran Church
Erie Shores Council 460
Front St
Pemberville, OH 43450


Bethlehem Lutheran Church
Glaciers Edge Council 620
300 Broadway Dr
Sun Prairie, WI 53590


Bethlehem Lutheran Church
Greater New York Councils, Bsa 640
440 Ovington Ave
Brooklyn, NY 11209


Bethlehem Lutheran Church
Greater New York Councils, Bsa 640
6935 4th Ave
Brooklyn, NY 11209


Bethlehem Lutheran Church
Greater St Louis Area Council 312
2153 Salisbury St
Saint Louis, MO 63107


Bethlehem Lutheran Church
Longs Peak Council 062
1000 15th Ave
Longmont, CO 80501


Bethlehem Lutheran Church
Mid Iowa Council 177
411 3rd Ave
Slater, IA 50244


Bethlehem Lutheran Church
Mid‐America Council 326
300 E Bow Dr
Cherokee, IA 51012


Bethlehem Lutheran Church
Mid‐America Council 326
504 W 8th St
Wahoo, NE 68066


Bethlehem Lutheran Church
Mount Baker Council, Bsa 606
7215 51st Ave Ne
Marysville, WA 98270


Bethlehem Lutheran Church
Northern Lights Council 429
613 16th St S
Fargo, ND 58103


Bethlehem Lutheran Church
Northern Star Council 250
4100 Lyndale Ave S
Minneapolis, MN 55409


Bethlehem Lutheran Church
Samoset Council, Bsa 627
1901 Kowalski Rd
Kronenwetter, WI 54455


Bethlehem Lutheran Church
Seneca Waterways 397
48 Perrin St
Fairport, NY 14450


Bethlehem Lutheran Church
Sioux Council 733
1620 Milwaukee Ave Ne
Aberdeen, SD 57401


Bethlehem Lutheran Church
Three Fires Council 127
P.O. Box 3850
1145 N 5th Ave
Saint Charles, IL 60174


Bethlehem Lutheran Church
W.L.A.C.C. 051
12227 Balboa Blvd
Granada Hills, CA 91344


Bethlehem Lutheran Church Twin Cities
Northern Star Council 250
16023 Minnetonka Blvd
Minnetonka, MN 55345


Bethlehem Lutheran Church‐Kalispell
Montana Council 315
603 S Main St
Kalispell, MT 59901


Bethlehem Presbyterian Church
Central N Carolina Council 416
7608 Concord Hwy
Monroe, NC 28110


Bethlehem Presbyterian Church
Washington Crossing Council 777
2 Race St
Pittstown, NJ 08867


Bethlehem Ruritan Club
Colonial Virginia Council 595
140 Manning Rd
Suffolk, VA 23434


Bethlehem Ruritan Club
Mt Pisgah Lutheran Ch
C/O Warren Hollar
Piedmont Council 420
781 River Hills Ct
Taylorsville, Nc 28681


Bethlehem Rutitan Club
Colonial Virginia Council 595
140 Manning Rd
Suffolk, VA 23434


Bethlehem Township Police Dept
Minsi Trails Council 502
4225 Eon Ave
Bethlehem, PA 18020


Bethlehem Utd Church Of Christ
Buffalo Trace 156
6400 Oak Hill Rd
Evansville, IN 47725


Bethlehem Utd Methodist Church
Blue Ridge Mtns Council 599
42 Phoebe Pond Rd
Concord, VA 24538


Bethlehem Utd Methodist Church
Central N Carolina Council 416
5300 Nesbit Rd
Waxhaw, NC 28173


Bethlehem Utd Methodist Church
Chester County Council 539
P.O. Box 57
4 Wtown Rd
Thornton, PA 19373


Bethlehem Utd Methodist Church
East Carolina Council 426
162 Old Walnut Ln
Newport, NC 28570


Bethlehem Utd Methodist Church
Greater Alabama Council 001
94 Harmon Ln
Munford, AL 36268


Bethlehem Utd Methodist Church
Middle Tennessee Council 560
2419 Bethlehem Loop Rd
Franklin, TN 37069


Bethlehem Utd Methodist Church
New Birth of Freedom 544
109 E Main St
Dallastown, PA 17313


Bethlehem Utd Methodist Church
Old N State Council 070
321 Redland Rd
Advance, NC 27006


Bethlehem Utd Methodist Church
Old N State Council 070
6103 Appomattox Rd
Climax, NC 27233


Bethlehem Utd Methodist Church
Piedmont Council 420
607 Bethlehem Rd
Statesville, NC 28677


Bethlehem Utd Methodist Church
Stonewall Jackson Council 763
23258 Village Rd
Unionville, VA 22567


Bethpage Chamber Of Commerce Inc
Theodore Roosevelt Council 386
P.O. Box 636
Bethpage, NY 11714


Bethpage Methodist Church
Central N Carolina Council 416
109 Fellowship Dr
Kannapolis, NC 28081


Bethpage Utd Methodist Church
Central N Carolina Council 416
109 Fellowship Dr
Kannapolis, NC 28081


Bethphage Lutheran Church
Piedmont Council 420
3440 Hwy 182
Lincolnton, NC 28092
Bethune Bowman ‐ Ai
Indian Waters Council 553
4857 Charleston Hwy
Rowesville, SC 29133


Bethune Lions Club
Indian Waters Council 553
401 Chestnut St E
Bethune, SC 29009


Betsy Black
Address Redacted


Betsy Horton
Address Redacted


Betsy Kincaid
Address Redacted


Betsy Ross Flag Girls Inc
11005 Garland Rd
Dallas, TX 75218


Betsy Weixelbaum
Address Redacted


Bette Russnogle
Address Redacted


Bette Sasse
Address Redacted


Bette Taylor
Address Redacted


Bettelou Phillips
Address Redacted
Bettendorf Fire Dept
Illowa Council 133
1609 State St
Bettendorf, IA 52722


Bettendorf Police Dept
Illowa Council 133
1609 State St
Bettendorf, IA 52722


Bettendorf Police Dept
Sara Stolley Post 9611
1609 State St
Bettendorg, IA 52722‐4937


Bettendorf Presbyterian Church
Illowa Council 133
1200 Middle Rd
Bettendorf, IA 52722


Better Billings Foundation
Montana Council 315
2216 Grand Ave
Billings, MT 59102


BettermousepadsCom
Accounts Receivable
681 W 920 N
Orem, UT 84057


Betty Agnew
Address Redacted


Betty Anderson
Address Redacted


Betty Andrus
Address Redacted


Betty Baden
Address Redacted
Betty Beam
Address Redacted


Betty Bell
Address Redacted


Betty Berry
Address Redacted


Betty Bopp
Address Redacted


Betty Brown
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Betty Burum
Address Redacted


Betty C Pacheco
Address Redacted


Betty Campbell
Address Redacted


Betty Carswell
Address Redacted


Betty Chauvin
Address Redacted


Betty Claud
Address Redacted


Betty Conder
Address Redacted
Betty Craig
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Betty Dinwiddie
Address Redacted


Betty Dugger
Address Redacted


Betty Engholm
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Betty Faris
Address Redacted


Betty Graves
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Betty Haden
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Betty Hall
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Betty Hamilton
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Betty Hammond
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Betty Harp
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Betty Hartman
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Betty Hilker
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Betty Johnson
Address Redacted


Betty Jonte
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Betty King
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Betty Lee
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Betty Manous
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Betty Mcadams
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Betty Mcmunn
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Betty Mcpherson
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Betty Morris
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Betty Owens
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Betty Parker
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Betty Payton
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Betty Perkins
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Betty Peters
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Betty Phillippo
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Betty Proffitt
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Betty Ross
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Betty Sanchez
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Betty Sigmon
Address Redacted


Betty Small
Address Redacted


Betty Smith
Address Redacted


Betty Tilton
Address Redacted


Betty Ulrich
Address Redacted


Betty Weber
Address Redacted


Betty White‐Jordan
Address Redacted
Betty Wigfield
Address Redacted


Betty Witt
Address Redacted


Bettyann Beauregard
Address Redacted


Bettye Kneller
Address Redacted


Betzaida Cruz Otero
Address Redacted


Beukendaal Fire Dept
Twin Rivers Council 364
501 Sacandaga Rd
Schenectady, NY 12302


Beulah Branch, Bismarck Nd Stake
Northern Lights Council 429
1820 Cottontail Dr
Beulah, ND 58523


Beulah Buchanan
Address Redacted


Beulah Educational Support Team
Rocky Mountain Council 063
8734 School House Ln W
Beulah, CO 81023


Beulah Fire Dept
Rocky Mountain Council 063
8675 Central Ave
Beulah, CO 81023
Beulah Lions Club
Northern Lights Council 429
P.O. Box 101
Beulah, ND 58523


Beulah Missionary Church
Lasalle Council 165
57595 Old County Rd 17
Goshen, IN 46528


Beulah Presbyterian Church
Lincoln Heritage Council 205
P.O. Box 91072
Louisville, KY 40291


Beulah Ralph Elementary PTA
Great Rivers Council 653
5801 S Hwy Kk
Columbia, MO 65203


Beulah Ruritan Club
Old Hickory Council 427
5436 W Pine St
Mount Airy, NC 27030


Beulah Ruritan Club
Old Hickory Council 427
Rr 9
Mount Airy, NC 27030


Beulah Rylander
Address Redacted


Beulah Utd Methodist Church
Chattahoochee Council 091
5165 Lee Rd 270
Valley, AL 36854


Beulah Utd Methodist Church
Great Smoky Mountain Council 557
907 Kimberlin Heights Rd
Kimberlin Heights, TN 37920
Beulah Utd Methodist Church
Heart of Virginia Council 602
6930 Hopkins Rd
North Chesterfield, VA 23234


Beulah Utilities District
Chattahoochee Council 091
5320 Lee Rd 270
Valley, AL 36854


Beulaville Presbyterian Church
Tuscarora Council 424
205 E Main St
Beulaville, NC 28518


Beveridge Elementary School
Pathway To Adventure 456
1234 Cleveland St
Gary, IN 46404


Beverley Rabidoux
Address Redacted


Beverly A Moore
Address Redacted


Beverly Beltramo
Address Redacted


Beverly Cook
Address Redacted


Beverly Craney
Address Redacted


Beverly Davis
Address Redacted
Beverly Dreger
Address Redacted


Beverly Dubee
Address Redacted


Beverly Duclos
Address Redacted


Beverly Farm Foundation
Greater St Louis Area Council 312
6301 Humbert Rd
Godfrey, IL 62035


Beverly Ferro
Address Redacted


Beverly Fisher
Address Redacted


Beverly Gassmann
Address Redacted


Beverly Hill
Address Redacted


Beverly Hills Community Church
Greater Tampa Bay Area 089
82 Civic Cir
Beverly Hills, FL 34465


Beverly Hills Lions Club
Great Lakes Fsc 272
31200 Fairfax Ave
Beverly Hills, MI 48025


Beverly Hills Police Dept
W.L.A.C.C. 051
464 N Rexford Dr
Beverly Hills, CA 90210
Beverly Hills Presbyterian Church
Buckskin 617
469 Norway Ave
Huntington, WV 25705


Beverly Holman
Address Redacted


Beverly Jaros
Address Redacted


Beverly Kelly
Address Redacted


Beverly Kobilarcsik
Address Redacted


Beverly L Lauinger
Address Redacted


Beverly Lewis
Address Redacted


Beverly Long
Address Redacted


Beverly Martin
Address Redacted


Beverly Murphy
Address Redacted


Beverly Myers
Address Redacted


Beverly Nelson
Address Redacted
Beverly O Dea
Address Redacted


Beverly Pond
Address Redacted


Beverly Presbyterian Church Mens Club
Garden State Council 690
121 Warren St
Beverly, NJ 08010


Beverly Roddy
Address Redacted


Beverly Schartiger
Address Redacted


Beverly Scollay
Address Redacted


Beverly Singel
Address Redacted


Beverly Stan
Address Redacted


Beverly T Goodwin
Address Redacted


Beverly Turner
Address Redacted


Beverly Young
Address Redacted


Bexar Cnty Sheriffs Office
Burbank High School
Alamo Area Council 583
1450 Gillette Blvd
San Antonio, Tx 78224


Bexar Cnty Sheriffs Office
Jefferson High School
Alamo Area Council 583
200 N Comal
San Antonio, Tx 78207


Bexar Cnty Sheriffs Office
Lanier High School
Alamo Area Council 583
200 N Comal
San Antonio, Tx 78207


Bexar Cnty Sheriffs Office
S San High Sch
Alamo Area Council 583
200 N Comal
San Antonio, Tx 78207


Bexar Cnty Sheriffs Office‐E Central
Alamo Area Council 583
200 N Comal
San Antonio, Tx 78207


Bexar Commodities
Alamo Area Council 583
5150 Broadway St 306
San Antonio, TX 78209


Bexar County Sheriff S Office
Sam Houston High School
Alamo Area Council 583
200 N Comal
San Antonio, Tx 78207


Bexar County Sheriffs Office
Brackeridge High School
Alamo Area Council 583
200 N Comal
San Antonio, Tx 78207
Bexar County Sheriffs Office‐Edison
Alamo Area Council 583
200 N Comal
San Antonio, TX 78207


Bexar County Sheriffs Office‐Highland
Alamo Area Council 583
200 N Comal
San Antonio, TX 78207


Bexley Utd Methodist Church
Simon Kenton Council 441
2657 E Broad St
Bexley, OH 43209


Beyer School PTO
Blackhawk Area 660
333 15th Ave
Rockford, IL 61104


Beymer Memorial Utd Methodist Church
Greater Tampa Bay Area 089
700 N Lake Howard Dr
Winter Haven, FL 33881


Beyond Coastal, LLC
2424 S 2570 W
Salt Lake City, UT 84119


Beyond Momentum LLC
5817 Parakeet Dr
Burke, VA 22015


Beyond The Bell
Mid‐America Council 326
2500 Glenn Ave 78
Sioux City, IA 51106


Beyond The Bell‐East
Mid‐America Council 326
2500 Glenn Ave, Ste 78
Sioux City, IA 51106


Beyond The Bell‐West
Mid‐America Council 326
2500 Glenn Ave, Ste 78
Sioux City, IA 51106


Beyond Words Publishing Inc
20827 N W Cornell Rd, Ste 500
Hillsboro, OR 97124‐9808


Be‐You‐Tiful Spa
Buffalo Trace 156
217 W State Rd 68
Lynnville, IN 47619


Bg Somers
106 N John Poindexter St
Odon, IN 47562‐1408


Bh Partnership
Bahia Hotel
998 W Mission Bay Dr
San Diego, CA 92109


Bhg Structured Settlements Inc
1314 Douglas St, Ste 1400
Omaha, NE 68102


Bhg Structured Settlements Inc
Fbo Julian    Isabel Churchill Cadena
1314 Douglas St, Ste 1400
Omaha, NE 68102


Bhsha Inc
W.L.A.C.C. 051
340 S Lemon Ave
Walnut, CA 91789


Bibb Superior Ct Clerk
275 2nd St, Rm 216
Macon, GA 31201


Bible Chapel Utd Church Of Christ
Dan Beard Council, Bsa 438
P.O. Box 194
Hamersville, OH 45130


Bible Class‐First Utd Methodist
Yocona Area Council 748
412 W Main St
Tupelo, MS 38804


Bible Fellowship Baptist Church
Pee Dee Area Council 552
462 Hwy 57 S
Little River, SC 29566


Bibleway Christian Fellowship
Baltimore Area Council 220
4412 Maine Ave
Gwynn Oak, MD 21207


Bic Usa, Inc
dba Norwood Promotional Products, LLC
10 W Market St, Ste 1400
Indianapolis, IN 46204


Bicknell Utd Methodist Church
Buffalo Trace 156
P.O. Box 99
309 W 3rd St
Bicknell, IN 47512


Biddeford Saco Lodge Of Elks 1597
Pine Tree Council 218
P.O. Box 1597
Saco, ME 04072


Bienenstock Court Reporting     Video
30800 Telegraph Rd, Ste 2925
Bingham Farms, MI 48025
Bienville Parish
Sales   Use Tax Commission
P.O. Box 746
Arcadia, LA 71001


Bierbaum School PTO
Greater St Louis Area Council 312
2050 Union Rd
Saint Louis, MO 63125


Big Agnes, Inc
P.O. Box 773072
Steamboat Springs, CO 80477


Big Bear Lions Club Inc
California Inland Empire Council 045
P.O. Box 3217
Big Bear City, CA 92314


Big Bend Elementary PTO
Potawatomi Area Council 651
W230S8695 Big Bend Dr
Big Bend, WI 53103


Big Bend‐Vernon Volunteer Fire Dept
Potawatomi Area Council 651
W233S7475 Woodland Ln
Big Bend, WI 53103


Big Boys Moving, LLC
c/o Antonia Jackson
840 W 17th St, Ste 10
Bloomington, IN 47404


Big Boys Moving, LLC
P.O. Box 1174
Bloomington, IN 47402


Big Brothers Big Sisters Nei
Anthony Wayne Area 157
1005 W Rudisill Blvd
Fort Wayne, IN 46807


Big Canoe Chapel
Atlanta Area Council 092
10455 Big Canoe
Big Canoe, GA 30143


Big Creek Elementary PTA
Northeast Georgia Council 101
1994 Peachtree Pkwy
Cumming, GA 30041


Big D Americas Logistics
1214 S Akard St
Dallas, TX 75215‐1005


Big Daddy S Graphics
140 N 1st St
Raton, NM 87740


Big Duck Canvac
738 W Winder Ind Pkwy, Ste B
Winder, GA 30680


Big Duece Chapter Of The Fa Assoc
Last Frontier Council 480
429 Chickasha Rd
Fort Sill, OK 73503


Big Fish Films Inc
5626 Alta Ave
Dallas, TX 75206


Big Fish Talent
241 S Cherokee, Ste C
Denver, CO 80223


Big Fork Vfw Post 4042
Montana Council 315
636 Blaine View Ln
Big Fork, MT 59901


Big Foundation
Trapper Trails 589
153 N 4950 W
West Point, UT 84015


Big Ivy Community Center
Daniel Boone Council 414
P.O. Box 428
Barnardsville, NC 28709


Big John Grills   Rotisseries
770 W College Ave
Pleasant Gap, PA 16823‐5250


Big Knob Grange 2008
Laurel Highlands Council 527
419 Big Knob Rd
Rochester, PA 15074


Big Lake Lions Club
Central Minnesota 296
P.O. Box 128
Big Lake, MN 55309


Big Lakes Developmental Center
Coronado Area Council 192
1416 Hayes Dr
Manhattan, KS 66502


Big Miller Grove Baptist Church
Atlanta Area Council 092
3800 Big Miller Grove Way
Lithonia, GA 30038


Big O Tires
2803 Toupal Dr
Trinidad, CO 81082


Big Picture Productions
c/o Mike Schwandt
3000 N Browncliff Ln
Bloomington, IN 47408


Big Pine Utd Methodist Church
South Florida Council 084
Box 642
Big Pine Key, FL 33043


Big Pixel Studios Ltd
7 B Riversdale Rd
London, N5 2SS
United Kingdom


Big R Of Trinidad
2208 Freedom St
Trinidad, CO 81082


Big River Hills Eagles Aerie 4210
Greater St Louis Area Council 312
P.O. Box 212
Bonne Terre, MO 63628


Big Rock Lions Club
Three Fires Council 127
408 Rhodes Ave
Big Rock, IL 60511


Big Rock Sports LLC
P.O. Box 11407 Dept 788
Birmingham, AL 35246‐0788


Big Rock Volunteer Fire Dept Assoc
Three Fires Council 127
47W863 E 2Nd St
Big Rock, Il 60511


Big Sandy Utd Methodist Church
Black Warrior Council 006
11441 Mcpherson Landing Rd
Tuscaloosa, AL 35405
Big Scary Gym
Las Vegas Area Council 328
1940 Chickasaw Dr
Henderson, NV 89002


Big Sky Aviation
Millville Airport
103 Leddon Dr
Millville, NJ 08332


Big Sky Cycling
Montana Council 315
801 N Last Chance Gulch
Helena, MT 59601


Big Sky Parents Of Cub Scouts
Montana Council 315
3231 Granger Ave E
Billings, MT 59102


Big Speak Inc
23 S Hope Ave, Ste E
Santa Barbara, CA 93105


Big Stone Gap Kiwanis Club
Sequoyah Council 713
113 W 2nd St S
Big Stone Gap, VA 24219


Big Store
346 S Main St
Tifton, GA 31794


Big‐D Iaap Chapter
P.O. Box 113
Midlotioan, TX 76065


Bigham‐Taylor Roofing Co
San Francisco Bay Area Council 028
22721 Alice St
Hayward, CA 94541
Bigler Ymca
Bucktail Council 509
P.O. Box 417
Bigler, PA 16825


Bike
P.O. Box 420432
Palm Coast, FL 32142‐9335


Bike Instructor Certification Program
5377 Reese Hill Rd, Unit B
Sumas, WA 98295


Bike Magazine
P.O. Box 420432
Palm Coast, FL 32142‐9335


Bill Davis
Address Redacted


Bill Harvey
Address Redacted


Bill Hillary   Chelsea Clinton Foundatio
1200 President Clinton Ave
Little Rock, AR 72201


Bill J. Elliott Elementary ‐ Gifw
Longhorn Council 662
1608 Quails Nest Dr R
Fort Worth, TX 76177


Bill Morin Wjm Assoc Inc
675 3rd Ave, Ste 1610
New York, NY 10017


Bill Pompie
Address Redacted
Bill Reed Decorations Inc
P.O. Box 153230
Dallas, TX 75315


Bill Reed Insurance Agency
Long Beach Area Council 032
72880 Fred Waring Dr, Ste D20
Palm Desert, CA 92260


Bill Rohlf
Address Redacted


Bill S Auto   Marine Inc
82760 Overseas Hwy
Islamorada, FL 33036


Bill Wells
Address Redacted


BiLLCo International, Inc
220 Ridgedale Ave, Ste B2
Florham Park, NJ 07932


Billie Gooden
Address Redacted


Billie Sue Washington
Address Redacted


Billie Vanslyke
Address Redacted


Billings Rod   Gun Club
Montana Council 315
2931 Rod and Gun Club Rd
Billings, MT 59106


Billings Rod And Gun Club
Montana Council 315
2030 Green Briar Rd
Billings, MT 59105


Billion Oyster Project
Greater New York Councils, Bsa 640
10 S St Slip 7
New York, NY 10004


Bills Toggery
Northern Star Council 250
138 Lewis St
Shakopee, MN 55379


Billy Arnold
Address Redacted


Billy Brackett
Address Redacted


Billy Bryant
Address Redacted


Billy Carlen
Address Redacted


Billy Dixon Square And Compass Club
Golden Spread Council 562
P.O. Box 608
Fritch, TX 79036


Billy Freeman
Address Redacted


Billy Grimes Photography Inc
P.O. Box 907788
Gainesville, GA 30501


Billy Hamman
Address Redacted
Billy Hughes
Address Redacted


Billy Knight Jr
Address Redacted


Billy L Coca
Address Redacted


Billy Maloy
Address Redacted


Billy Powers
Address Redacted


Billy Riley
Address Redacted


Billy Rood
Address Redacted


Billy Smith
Address Redacted


Billy Weathers
Address Redacted


Billy Williams
Address Redacted


Biloxi Rotary Club
Pine Burr Area Council 304
P.O. Box 303
Biloxi, MS 39533


Biloxi Rotary Club   City Of Diberville
Pine Burr Area Council 304
P.O. Box 303
Biloxi, MS 39533


Biltmore Group Sales
One Approach Rd
Asheville, NC 28803


Bimini Bay Outfitters Ltd
43 Mckee Dr
Mahwah, NJ 07430


Binachi Shooting Sports
Choctaw Area Council 302
4434 Camp Binachi Rd
Meridian, MS 39301


Bindertek Store
P.O. Box 2120
Amherst, MA 01004‐2120


Bingham Academy
Transatlantic Council, Bsa 802
P.O. Box 4937
Ethiopia


Binghampton Ward ‐ LDS Tucson Stake
Catalina Council 011
3700 E Fort Lowell Rd
Tucson, AZ 85716


Binghamton Prof Ff Local 729 Iaff
Baden‐Powell Council 368
180 Main St
Binghamton, NY 13905


Binghamton University
P.O. Box 6000
Financial Aid Services
Binghamton, NY 13902‐6000


Binswanger Glass 098
P.O. Box 277586
Atlanta, GA 30384‐7586


Binswanger Glass 139
P.O. Box 842478
Dallas, TX 75284‐2478


Binswanger Glass 146
P.O. Box 842478
Dallas, TX 75284‐2478


Binswanger Glass 98
P.O. Box 172321
Memphis, TN 38187‐2321


Binswanger Holding Corp
dba Binswanger Glass
P.O. Box 679331
Dallas, TX 75267‐9331


Bint Jeball Cultural Center
Great Lakes Fsc 272
6220 Miller Rd
Dearborn, MI 48126


Biological Control Of Weeds
1418 Maple Dr
Bozeman, MT 59715


Bion Jones
Address Redacted


Bio‐Rad Laboratories
Life Science Group, Dept 9750
Los Angeles, CA 90084‐9750


Bio‐Rad Laboratories, Inc
P.O. Box 849750
Los Angeles, CA 90084‐9750


Biosurveys Inc
c/o Harry Delashmutt
794 26th St
Marathon, FL 33050


Birch Run Utd Methodist Men
Water and Woods Council 782
12265 Church St
Birch Run, MI 48415


Birch Run Vfw
Water and Woods Council 782
11325 Dixie Hwy
Birch Run, MI 48415


Birchtree Parent Guild
Great Alaska Council 610
7101 E Palmer‐Wasilla Hwy
Palmer, AK 99645


Birchwood Colony Club
Garden State Council 690
South Lakeside Dr
Medford, NJ 08055


Bird Bird   Hestres Psc
P.O. Box 9024040
San Juan, PR 00902‐4040


Bird Island Migrant Project
Northern Star Council 250
P.O. Box 460
Bird Island, MN 55310


Birdsboro Area Climbers Assoc
Hawk Mountain Council 528
429 Glasgow St
Stowe, PA 19464


Birdville Isd
3124 Carson St
Haltom City, TX 76117
Birdville Isd
Rental Office
6119 E Belknap St
Haltom City, TX 76117


Birkes Elementary P T O
Sam Houston Area Council 576
8500 Queenston Blvd
Houston, TX 77095


Birkholm Direct
150 N Santa Anita Ave, Ste 460
Arcadia, CA 91006‐3121


Birkman International Inc
3040 Post Oak Blvd, Ste 1425
Houston, TX 77056


Birkman International Inc
Dept 192, P.O. Box 4346
Houston, TX 77210‐4346


Birmingham 44
Great Lakes Fsc 272
37357 Woodward Ave
Bloomfield Hills, MI 48304


Birmingham City Schools
Greater Alabama Council 001
2015 Park Pl
Birmingham, AL 35203


Birmingham City Schools Career Tech
Greater Alabama Council 001
720 86th St S
Birmingham, AL 35206


Birmingham Fire   Rescue Services
Greater Alabama Council 001
1808 7th Ave N
Birmingham, AL 35203
Birmingham Fire Fighters Assoc
Lake Erie Council 440
11017 Chapel St
Wakeman, OH 44889


Birmingham Lions Club
Great Lakes Fsc 272
P.O. Box 1121
Birmingham, MI 48012


Birmingham Scout Shop ‐ Opc
516 Liberty Pkwy
Birmingham, AL 35243‐0307


Birmingham Utd Methodist Church
Atlanta Area Council 092
15770 Birmingham Hwy
Milton, GA 30004


Birney Prep Academy
Cradle of Liberty Council 525
900 Lindley Ave
Philadelphia, PA 19141


Bishop Dunne Catholic School
3900 Rugged Dr
Dallas, TX 75224


Bishop Lions Club
Southern Sierra Council 030
P.O. Box 1040
Bishop, CA 93515


Bishop Mcguinness Catholic High School
Last Frontier Council 480
801 NW 50th St
Bishop Mcguinness Catholic High School
Oklahoma City, OK 73118


Bishop Ward Class‐First Methodist Church
Circle Ten Council 571
301 Church St
Sulphur Springs, TX 75482


Bishopville Police Dept
Pee Dee Area Council 552
112 E Council St
Bishopville, SC 29010


Bismarck 1St Ward, Bismarck Nd Stake
Northern Lights Council 429
300 W Edmonton Dr
Bismarck, ND 58503


Bismarck 3Rd Ward Bismarck Nd Stake
Northern Lights Council 429
1500 Country W Rd
Bismarck, ND 58503


Bismarck Utd Methodist Church
Quapaw Area Council 018
7075 Hwy 7
Bismarck, AR 71929


Bismarck Ward 2, Bismarck Nd Stake
Northern Lights Council 429
1500 Country W Rd
Bismarck, ND 58503


Bison Designs LLC
735 S Lincoln St
Longmont, CO 80501


Bison Designs LLC
P.O. Box 912176
Denver, CO 80291‐2176


Bison Outdoor Adventure Club
Circle Ten Council 571
2120 W Jefferson Blvd
Dallas, TX 75208
Biss Lock Inc
1218 2nd Ave S
Virginia, MN 55792


Bissett Community Council
Box 30
Bissett, Mb R0E 0J0
Canada


Bite San Diego
770 11th Ave
San Diego, CA 92101


Bitner‐Bechdel Post 623
Susquehanna Council 533
68 Wynn Ave
P.O. Box 344
Beech Creek, PA 16822


Bitstream Inc
500 Nickerson Rd
Marlborough, MA 01752


Bixby Knolls Christian Church
Long Beach Area Council 032
1240 E Carson St
Long Beach, CA 90807


Bizerba Usa Inc
P.O. Box 1041
New York, NY 10268‐1041


Bizport Ltd
9 N 3rd St
Richmond, VA 23219


Bj S Shootin Shop
Box 249
1180 So. 2Nd
Raton, NM 87740
Bj S Wholesale Club Inc
P.O. Box 847899
Boston, MA 02284‐7899


Bjorn Wastvedt
435 W Neshannock Ave
New Wilmington, PA 16142


Bjs Solutions LLC
dba Fastsigns 390401
209B Ragland Rd
Beckley, WV 25801


Bjt Catoring
15608 W Pope Blvd
Deerfield, IL 60015


Bkd, LLP
910 E Stlouis St, Ste 200
P.O. Box 1190
Springfield, MO 65801‐1190


Black   Veatch
Denver Area Council 061
6300 S Syracuse Way, Ste 300
Centennial, CO 80111


Black   Veatch Engineers
Heart of America Council 307
11401 Lamar Ave
Overland Park, KS 66211


Black   White Magazine
P.O. Box 1529
Ross, CA 94957‐1529


Black Bear Reclamation LLC
P.O. Box 327
Beckley, WV 25802
Black Canyon Signs Inc
Utah National Parks 591
597 Grove Creek Dr
Pleasant Grove, UT 84062


Black Crater, LLC
6312 SW Capitol Hwy, Ste 162
Portland, OR 97239


Black Diamond Equipment
P.O. Box 734175
Dallas, TX 75373‐4175


Black Diamond Equipment, Inc
2084 E 3900 S
Salt Lake City, UT 84124


Black Diamond Equipment, Inc
Bdel
P.O. Box 734175
Dallas, TX 75373‐4175


Black Dog Paddle
7307 Round Ridge Pl
Chesterfield, VA 23832


Black Dog Shredding
2800 Vassar Dr Ne, Ste B
Albuquerque, NM 87107


Black Eagle Civic Center
Montana Council 315
3116 Old Havre Hwy
Black Eagle, MT 59414


Black Elementary PTO
Sam Houston Area Council 576
14155 Grant Rd
Cypress, TX 77429


Black Enterprise
P.O. Box 11602
Des Moines, IA 50350‐1602


Black Enterprise
Subscription Service Ctr
P.O. Box 5677
Harlan, IA 51593‐5177


Black Forest Community Club
Pikes Peak Council 060
12530 Black Forest Rd
Black Forest, CO 80908


Black Hawk County Ymca ‐ Aldrich
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hawk County Ymca ‐ Becker
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hawk County Ymca ‐ Cedar Heights
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hawk County Ymca ‐ Dike
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hawk County Ymca ‐ Lowell
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hawk County Ymca ‐ Poyner
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701
Black Hawk County Ymca ‐ Southdale
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hawk Ymca ‐ Orchard Hill
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Black Hills Ammunition, Inc
P.O. Box 3090
Rapid City, SD 57709‐3090


Black Hills Area
144 N St
Rapid City, SD 57701‐1247


Black Hills Area Cncl 695
144 N St
Rapid City, SD 57701‐1247


Black Jack Fire Protection District
Greater St Louis Area Council 312
5675 N Hwy 67
Florissant, MO 63034


Black Lumber Compnay Inc
1710 S Henderson
P.O. Box 576
Bloomington, IN 47402


Black River Volunteer Fire Dept
Longhouse Council 373
P.O. Box 95
Black River, NY 13612


Black Rock Funds
P.O. Box 8950
Wilmington, DE 19885
Black Sapphire C Sellters Ridge 2014
dba Springhill, Ste S Columbus Osu
1421 Olentangy River Rd
Columbus, OH 43212


Black Swamp Area
2100 Broad Ave
Findlay, OH 45840‐2748


Black Swamp Area Cncl 449
2100 Broad Ave
Findlay, OH 45840‐2748


Black Tie Services, Inc
225 S Lagrange Rd
Frankfort, IL 60423‐8079


Black Warrior
P.O. Box 3088
Tuscaloosa, AL 35403‐3088


Black Warrior Cncl 6
2700 Jack Warner Pkwy Ne
P.O. Box 3088
Tuscaloosa, AL 35403‐3088


Blackbaud
2000 Daniel Island Dr
Charleston, SC 29492‐7541


Blackbaud, Inc
P.O. Box 930256
Atlanta, GA 31193‐0256


Blackbob PTO
Heart of America Council 307
14701 S Brougham Dr
Olathe, KS 66062
Blackburn Sports Marketing Corp
9363 Tundra Dr
Zionsville, IN 46077


Blackfoot Fire Dept
Grand Teton Council 107
225 N Ash St
Blackfoot, ID 83221


Blackhat Consultants LLC
19190 SW 90th Ave, Unit 514
Tualatin, OR 97062‐0819


Blackhat Consultants LLC
19725 SW 49th Ave
Tualatin, OR 97062


Blackhawk Area
2820 Mcfarland Rd
Rockford, IL 61107


Blackhawk Area Cncl 660
2820 Mcfarland Rd
Rockford, IL 61107


Blackhawk County Ymca ‐ Irving
Winnebago Council, Bsa 173
669 S Hackett Rd
Waterloo, IA 50701


Blackhawk Ministries
Anthony Wayne Area 157
7400 E State Blvd
Fort Wayne, IN 46815


Blackhawk Network Inc
6220 Stoneridge Mall Rd
Pleasanton, CA 94588


Blackhawk Network Inc
dba Omnicard LLC Attn     Cash Applications
16610 N Black Canyon Hwy, Ste B‐105
Phoenix, AZ 85053


Blackhawk School PTO
Mississippi Valley Council 141 141
2804 S 14th St
Burlington, IA 52601


Blacklick Elementary Pride Partners PTO
Simon Kenton Council 441
6540 Havens Corners Rd
Blacklick, OH 43004


Blackman Utd Methodist Church
Middle Tennessee Council 560
4380 Manson Pike
Murfreesboro, TN 37129


Blackmon Service Inc
1601 Cross Beam Dr
Charlotte, NC 28217


Blackmoon Design Robert Podgorski
Porannej Rosy 87
Kamionki Wielkopolska, 62023
Poland


Blackpowder Products Inc
dba Bpi Outdoors
1685 Boggs Rd, Ste 300
Duluth, GA 30096


Blackridge Civic Assoc
Laurel Highlands Council 527
P.O. Box 10684
1200 Beulah Rd
Pittsburgh, PA 15235


Blackrock
P.O. Box 9889
Providence, RI 02940‐8089
Blackrock Financial Management, Inc
Attn General Counsel
40 E 52nd St
New York, NY 10022


Blacks Chapel Mbc
Andrew Jackson Council 303
3425 Robinson St
Jackson, MS 39209


Blacksburg Presbyterian Church
Blue Ridge Mtns Council 599
701 Church St Se
Blacksburg, VA 24060


Blacksburg Utd Methodist Church
Blue Ridge Mtns Council 599
111 Church St Se
Blacksburg, VA 24060


Blackshear Elementary
Sam Houston Area Council 576
2900 Holman St
Houston, TX 77004


Blackshear PTO
Sam Houston Area Council 576
11211 Lacey Rd
Tomball, TX 77375


Blackthorn Assoc LLC
Mayflower Council 251
32 Falcon Ridge Dr
Hopkinton, MA 01748


Blackwater Utd Methodist Church
Istrouma Area Council 211
10000 Blackwater Rd
Baker, LA 70714


Blackwater Video Productions
P.O. Box 909
Morgantown, WV 26507


Blackwell Community Center
Heart of Virginia Council 602
300 E 15th St
Richmond, VA 23224


Blackwell Institute
Great Lakes Fsc 272
9330 Shoemaker St
Detroit, MI 48213


Blackwell Utd Methodist Church
Cimarron Council 474
524 W Coolidge Ave
Blackwell, OK 74631


Bladensburg Police Dept
National Capital Area Council 082
4910 Tilden Rd
Bladensburg, MD 20710


Blaine Christian Church
President Gerald R Ford 781
7018 Putney Rd
Arcadia, MI 49613


Blaine Davis
Address Redacted


Blaine Festival
Northern Star Council 250
P.O. Box 490563
Blaine, MN 55449


Blaine Memorial Utd Methodist Church
Chief Seattle Council 609
3001 24th Ave S
Seattle, WA 98144
Blaine N Carter
Address Redacted


Blaine Police Dept
Northern Star Council 250
10801 Town Square Dr Ne
Blaine, MN 55449


Blaine Utd Methodist Church
Northern Star Council 250
621 115th Ave Ne
Blaine, MN 55434


Blair Donovan Burns
Address Redacted


Blair Lions Club
Mid‐America Council 326
6078 County Rd 31
Blair Lions Club
Blair, NE 68008


Blair Lutheran Churches
Gateway Area 624
P.O. Box 46
Blair, WI 54616


Blair Marcus Nall
Address Redacted


Blair Road Utd Methodist Men
Mecklenburg County Council 415
9135 Blair Rd
Mint Hill, NC 28227


Blaise Lukasiewicz
Address Redacted


Blaise M Roper
Address Redacted
Blake C Carter
Address Redacted


Blake Cole
Address Redacted


Blake E Ferree
Address Redacted


Blake Elementary School
Lincoln Heritage Council 205
3801 Bonaventure Blvd
Louisville, KY 40219


Blake H Ellis
Address Redacted


Blake Hardgrave
Address Redacted


Blake J Beresheim
Address Redacted


Blake Mahre
Address Redacted


Blake Stinner
Address Redacted


Blakemore Sales Corp
221 Adair Rd
P.O. Box 1149
Branson, MO 65615


Blakemore Utd Methodist Church
Middle Tennessee Council 560
3601 W End Ave
Nashville, TN 37205
Blakeslee Rotary Club
Minsi Trails Council 502
109 Pawnee Ct
Long Pond, PA 18334


Blakewood Elementary School P T O
Three Harbors Council 636
3501 Blakewood Ave
South Milwaukee, WI 53172


Blanca Espinosa
Address Redacted


Blanca Gonzales
Address Redacted


Blanchard Police Dept
Last Frontier Council 480
117 W Broadway
Blanchard, OK 73010


Blanchard Valley Regional Health Center
Black Swamp Area Council 449
1900 S Main St
Findlay, OH 45840


Blanchard Ward LDS Church
Norwela Council 215
143 Church St
Belcher, LA 71004


Blanchie Causey
Address Redacted


Blanco Utd Methodist Church
Capitol Area Council 564
P.O. Box 339
Blanco, TX 78606


Blanford Sportsman Club
Crossroads of America 160
799 W St Rd 163
P.O. Box 373
Clinton, IN 47842


Blanford Sportsman Club
Crossroads of America 160
799 W State Rd 163
Clinton, IN 47842


Blank Rome LLP
300 Carnegie Center, St 220
Princeton, NJ 08540


Blank Rome LLP
300 Carnegie Center, Ste 220
Princeton, NJ 08540


Blankner Elementary Ptsa
Central Florida Council 083
2500 S Mills Ave
Orlando, FL 32806


Blanks Inc
Printing   Imaging
2343 N Beckley
Dallas, TX 75208


Blauvelt Volunteer Fire Co
Hudson Valley Council 374
548 Wern Hwy
Blauvelt, NY 10913


Blawenburg Reformed Church
Washington Crossing Council 777
P.O. Box 266
Blawenburg, NJ 08504


Blazing Enterprises Inc
dba Kla Lighting Consultants
4608 Carrington Dr
Lancaster, SC 29720
Bleakley Platt   Schmidt, LLP
Attn William Harrington
One N Lexington Ave
White Plains, NY 10601


Bledsoe‐Bulas Post 6133 Vfw
Great Rivers Council 653
604 W Jefferson Ave
Owensville, MO 65066


Blemont University
Attn Student Financial Services
1900 Belmont Blvd
Nashville, TN 37212


Blenker Companies Inc
Samoset Council, Bsa 627
P.O. Box 40
Amherst, WI 54406


Blenko Glass Co Inc
9 Bill Blenko Dr
P.O. Box 67
Milton, WV 25541


Blessed Earth
Nancy Sleeth
2980 Four Pines Dr, Unit 6
Lexington, KY 40502


Blessed Francis Seelos Academy
Laurel Highlands Council 527
201 Church Rd
Wexford, PA 15090


Blessed John Xxiii Catholic Church
South Florida Council 084
16800 Miramar Pkwy
Miramar, FL 33027
Blessed Mother Catholic Church Owensboro
Lincoln Heritage Council 205
601 E 23rd St
Owensboro, KY 42303


Blessed Mother Teresa Parish
Greater Niagara Frontier Council 380
496 Terrace Blvd
Depew, NY 14043


Blessed Redeemer Lutheran Church
Sioux Council 733
705 S Sioux Blvd
Brandon, SD 57005


Blessed Sacrament
Mid‐America Council 326
3012 Jackson St
Sioux City, IA 51104


Blessed Sacrament Cathedral
Westmoreland Fayette 512
334 N Main St
Greensburg, PA 15601


Blessed Sacrament Catholic Church
Abraham Lincoln Council 144
1725 S Walnut St
Springfield, IL 62704


Blessed Sacrament Catholic Church
Alamo Area Council 583
600 Oblate Dr
San Antonio, TX 78216


Blessed Sacrament Catholic Church
Central Florida Council 083
5135 N Cocoa Blvd
Cocoa, FL 32927


Blessed Sacrament Catholic Church
Central Florida Council 083
720 12th St
Clermont, FL 34711


Blessed Sacrament Catholic Church
Chief Seattle Council 609
5050 8th Ave Ne
Seattle, WA 98105


Blessed Sacrament Catholic Church
Glaciers Edge Council 620
2116 Hollister Ave
Madison, WI 53726


Blessed Sacrament Catholic Church
Great Salt Lake Council 590
9757 S 1700 E
Sandy, UT 84092


Blessed Sacrament Catholic Church
Old N State Council 070
710 Koury Dr
Burlington, NC 27215


Blessed Sacrament Catholic Church
Simon Kenton Council 441
378 E Main St
Newark, OH 43055


Blessed Sacrament Catholic School
Water and Woods Council 782
3109 Swede Ave
Midland, MI 48642


Blessed Sacrament Church
Black Hills Area Council 695 695
4500 Jackson Blvd
Rapid City, SD 57702


Blessed Sacrament Church
Coastal Georgia Council 099
1003 E Victory Dr
Savannah, GA 31405
Blessed Sacrament Church
Dan Beard Council, Bsa 438
2415 Dixie Hwy
Ft Mitchell, KY 41017


Blessed Sacrament Church
Daniel Webster Council, Bsa 330
14 Elm St
Manchester, NH 03103


Blessed Sacrament Church
Greater Tampa Bay Area 089
11565 66th Ave
Seminole, FL 33772


Blessed Sacrament Church
Narragansett 546
239 Regent Ave
Providence, RI 02908


Blessed Sacrament Church
Patriots Path Council 358
1890 Washington Valley Rd
Martinsville, NJ 08836


Blessed Sacrament Church
South Texas Council 577
2219 Galveston St
Laredo, TX 78043


Blessed Sacrament Church
Suwannee River Area Council 664
624 Miccosukee Rd
Tallahassee, FL 32308


Blessed Sacrament Church
Winnebago Council, Bsa 173
650 Stephan Ave
Waterloo, IA 50701
Blessed Sacrament Home‐School Assoc
Winnebago Council, Bsa 173
600 Stephan Ave
Waterloo, IA 50701


Blessed Sacrament Hsa
Water and Woods Council 782
3109 Swede Ave
Midland, MI 48642


Blessed Sacrament Mens Club
Quivira Council, Bsa 198
124 N Roosevelt St
Wichita, KS 67208


Blessed Sacrament Parish
Mississippi Valley Council 141 141
1119 S 7th St
Quincy, IL 62301


Blessed Sacrament Parish
Pathway To Adventure 456
3615 S Hoyne Ave
Chicago, IL 60609


Blessed Sacrament Parish
Quapaw Area Council 018
614 S Church St
Jonesboro, AR 72401


Blessed Sacrament Rc Church
Greater Niagara Frontier Council 380
263 Claremont Ave
Buffalo, NY 14223


Blessed Sacrament Roman Catholic Church
Cornhusker Council 324
1720 Lake St
Lincoln, NE 68502


Blessed Sacrament Roman Catholic Church
Erie Shores Council 460
4227 Bellevue Rd
Toledo, OH 43613


Blessed Sacrament Roman Catholic Church
Gateway Area 624
2404 King St
La Crosse, WI 54601


Blessed Sacrament Roman Catholic Church
Great Trail 433
3020 Reeves Rd Ne
Warren, OH 44483


Blessed Sacrament Roman Church
Connecticut Rivers Council, Bsa 066
182 Robbins St
Waterbury, CT 06708


Blessed Sacrament School
Longhouse Council 373
3129 James St
Syracuse, NY 13206


Blessed Teresa Calcutta Catholic Ch
Great Smoky Mountain Council 557
P.O. Box 1076
Maynardville, Tn 37807


Blessed Trinity Catholic Church
North Florida Council 087
10472 Beach Blvd
Jacksonville, FL 32246


Blessed Trinity Catholic Church
North Florida Council 087
5 SE 17th St
Ocala, FL 34471


Blessed Virgin Mary Help Christians Rcc
Greater New York Councils, Bsa 640
7031 48Th Ave
Woodside, Ny 11377
Blevins Elementary PTO
Greater St Louis Area Council 312
25 E N St
Eureka, MO 63025


Blick Art Materials
P.O. Box 1769
Galesburg, IL 61402


Blinn College
Attn Scholarship Advisor
902 College Ave
Brenham, TX 77833


Blish‐Mize Southwest
P.O. Box 877850
Kansas City, MO 64187‐7850


Blissfield Rotary Club
Southern Shores Fsc 783
Blissfield Mi
Blissfield, MI 49228


Blitt And Gaines PC No 09Sc155
661 Glenn Ave
Wheeling, IL 60090


Block And Co Inc
1972 Momentum Pl
Chicago, IL 60689‐5319


Blockade Runner
1027 Bell Buckle/Wartrace Rd
Wartrace, TN 37183


Blog World LLC
dba Blogworld   New Media Expo
29991 Canyon Hills Rd 1709‐531
Lake Elsinore, CA 95232
Blond Giraffe Key Lime Pie Factory
92220 Overseas Hwy
Tavernier, FL 33070


Bloom Elementary School
Blackhawk Area 660
2912 Brendenwood Rd
Rockford, IL 61107


Bloom Strategic Consulting Inc
4925 Greenville Ave, Ste 100
Dallas, TX 75206


Bloomberg Finance LP
731 Lexington Ave
New York, NY 10022


Bloomberg Finance LP
P.O. Box 416604
Boston, MA 02241‐6604


Bloomdale Knights Of Pythias Lodge 278
Erie Shores Council 460
P.O. Box 233
Bloomdale, OH 44817


Bloomers Floral   Gift
125 N Central Ave
Ely, MN 55731


Bloomfield Christian Church
Mid Iowa Council 177
107 N Davis St
Bloomfield, IA 52537


Bloomfield Hills Optimist Club
Great Lakes Fsc 272
P.O. Box 781
Bloomfield Hills, MI 48303
Bloomfield Lions Club
Hoosier Trails Council 145 145
306 Marshall Ln
Bloomfield, IN 47424


Bloomfield Lions Club
Seneca Waterways 397
P.O. Box 385
Bloomfield, NY 14469


Bloomfield Police Dept
Connecticut Rivers Council, Bsa 066
785 Park Ave
Bloomfield, CT 06002


Bloomfield Presbyterian Ch On The Green
Northern New Jersey Council, Bsa 333
147 Broad St
Bloomfield, NJ 07003


Bloomfield R‐14 PTO
Greater St Louis Area Council 312
19634 State Hwy E
Bloomfield, MO 63825


Bloomfield Rotary Club
Seneca Waterways 397
P.O. Box 7
Bloomfield, NY 14469


Bloomfield Ruritan Club
Mid‐America Council 326
527 Cir Dr
54458 880 Rd
Bloomfield, NE 68718


Bloomfield Utd Methodist Church
Lincoln Heritage Council 205
126 Taylorsville Rd
Bloomfield, KY 40008


Bloomfield Utd Presbyterian Church
Muskingum Valley Council, Bsa 467
5760 Cambridge Rd
New Concord, OH 43762


Bloomingdale Afjrotc
Greater Tampa Bay Area 089
1700 Bloomingdale Ave
Valrico, FL 33596


Bloomingdale Conservation Club
Southern Shores Fsc 783
16681 41st St
Bloomingdale, MI 49026


Bloomingdale Fire Dept
Northern New Jersey Council, Bsa 333
190 Union Ave
Bloomingdale, NJ 07403


Bloomingdale Utd Methodist Church
Northern New Jersey Council, Bsa 333
65 Main St
Bloomingdale, NJ 07403


Bloomingdale Vfw Post 7539
Three Fires Council 127
101 Fairfield Way
Bloomingdale, IL 60108


Bloomington Housing Authority
W D Boyce 138
104 E Wood St
Bloomington, IL 61701


Bloomington Jr High Outdoor Education
W D Boyce 138
901 Colton Ave
Bloomington, IL 61701


Bloomington Police Dept
Northern Star Council 250
1800 W Old Shakopee Rd
Bloomington, MN 55431


Bloomington Police Explorer Post 3624
c/o Joe Schwartz
1800 W Old Shakopee Rd
Bloomington, MN 55431


Bloomington/Monroe Coty Conv Center
302 S College Ave
Bloomington, IN 47403‐1509


Bloomington/Normal Sunrise Rotary Club
W D Boyce 138
200 W Monroe St, Ste 2
Bloomington, IL 61701


Bloomsburg Univ Of Pa   Aaron Smerling
Office of the Bursar/ 22 Waller Adm Bldg
400 E 2nd St
Bloomsburg, PA 17815‐1301


Bloss Township Recreation
Five Rivers Council, Inc 375
P.O. Box 141
Arnot, PA 16911


Blount County Boys And Girls Club
Great Smoky Mountain Council 557
520 S Washington St
Maryville, TN 37804


Blount Home Education Assoc
Great Smoky Mountain Council 557
1533 Ramsay St
Alcoa, TN 37701


Blountville Utd Methodist Church
Sequoyah Council 713
P.O. Box 686
Blountville, TN 37617
Blr
P.O. Box 41503
Nashville, TN 37204‐1503


Blr Accts Receivable
141 Mill Rock Rd E
Old Saybrook, CT 06475


Blr Business   Legal Reports, Inc
141 Mill Rock Rd E
Old Saybrook, CT 06475


Blu Dragonfly
301 9th St, Ste C
Cimarron, NM 87714


Blu Valet LLC
P.O. Box 103
Hinsdale, IL 60522


Blue 8 Productions, LLC
1004 Olympus Ridge Cv J202
Salt Lake City, UT 84117


Blue Ash Civic League
Dan Beard Council, Bsa 438
9306 Towne Square Ave
Blue Ash, OH 45242


Blue Blood Security Inc
P.O. Box 8666
Bayamon, PR 00960


Blue Childers
Address Redacted


Blue Creek PTA
Montana Council 315
3652 Blue Creek Rd
Billings, MT 59101
Blue Cross And Blue Shield Of Minnesota
Northern Star Council 250
3535 Blue Cross Rd
Eagan, MN 55122


Blue Dolphin
5 High Ridge Rd, Ste 2D
Stamford, CT 06905‐1203


Blue Earth Lions Club
Twin Valley Council Bsa 283
105 N Holland St
Blue Earth, MN 56013


Blue Earth Pottery
236 E Pattison St
Ely, MN 55731


Blue Grass
2134 Nicholasville Rd, Suite 3
Lexington, KY 40503


Blue Grass American Legion Post 711
Illowa Council 133
106 S Juniata St
Blue Grass, IA 52726


Blue Grass Cncl 204
2134 Nicholasville Rd, Ste 3
Lexington, KY 40503


Blue Grass Council 204
2134 Nicholasville Rd, Ste 3
Lexington, KY 40503


Blue Grass Utd Methodist Church
Buffalo Trace 156
14240 Petersburg Rd
Evansville, IN 47725
Blue Hill Volunteer Fire Dept
Overland Trails 322
P.O. Box 474
Blue Hill, NE 68930


Blue Ice Sailing LLC
P.O. Box 1906
Islamorada, FL 33036


Blue Lake Baptist Church Of Chipley
Gulf Coast Council 773
1405 Blue Lake Rd
Chipley, FL 32428


Blue Moon Eclectics
P.O. Box 322
Cimarron, NM 87714


Blue Mound Lions Club
Greater St Louis Area Council 312
221 S Prairie St
Blue Mound, IL 62513


Blue Mountain
8478 W Gage Blvd
Kennewick, WA 99336‐1075


Blue Mountain Cncl 604
8478 W Gage Blvd
Kennewick, WA 99336‐1075


Blue Mountain Design Works, LLC
1920 Ct Ave
Baker City, OR 97814


Blue One Body Shop LLC
6245 Harrison Dr, Ste 9
Las Vegas, NV 89120


Blue Peak Solutions, LLC
Pikes Peak Council 060
1339 Voyager Pkwy, Ste 130 116
Colorado Springs, CO 80921


Blue Planet Cruising School Inc
8168 Crown Bay Marnia, Ste 505‐418
St Thomas, VI 00802


Blue Planet Cruising School Inc
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Blue Ridge
1 Park Plaza
Greenville, SC 29607‐5851


Blue Ridge Autism And Achievement Center
Blue Ridge Mtns Council 599
312 Whitwell Dr
Roanoke, VA 24019


Blue Ridge Blvd Christian Church
Heart of America Council 307
3625 Blue Ridge Blvd
Independence, MO 64052


Blue Ridge Blvd Utd Methodist Church
Heart of America Council 307
5055 Blue Ridge Blvd
Kansas City, MO 64133


Blue Ridge Chapter Of The Eaa, Inc
Piedmont Council 420
3127 Port St
Morganton, NC 28655


Blue Ridge Church Of The Brethren
Blue Ridge Mtns Council 599
15664 W Lynchburg Salem Tpke
Blue Ridge, VA 24064
Blue Ridge Cncl 551
1 Park Plz
Greenville, SC 29607‐5851


Blue Ridge Community Of Christ
Heart of America Council 307
3371 Blue Ridge Blvd
Independence, MO 64052


Blue Ridge Council
1 Park Plz
Greenville, SC 29607‐5851


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Piedmont Council 420
2201 S Sterling St
Morganton, NC 28655


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166 Adwolfe Rd
Marion, VA 24354


Blue Ridge Lumber Co LLC
P.O. Box 89
Fishersville, VA 22939


Blue Ridge Methodist Church
Sam Houston Area Council 576
2929 Reed Rd
Houston, TX 77051


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2131 Valley View Blvd Nw
Roanoke, VA 24012


Blue Ridge Mountains Cncl 599
2131 Valley View Blvd Nw
Roanoke, VA 24012


Blue Ridge Mountains Council, Bsa
2131 Valley View Blvd Nw
Roanoke, VA 24012


Blue Ridge Outdoor Co
dba Lawson Hammock Co
P.O. Box 12602
Raliegh, NC 27605


Blue Ridge Presbyterian Church
Heart of America Council 307
6429 Blue Ridge Blvd
Raytown, MO 64133


Blue Ridge Scout Reservation
Blue Ridge Mtns Council 599
P.O. Box 7606
Roanoke, VA 24019


Blue Ridge Trinity Lutheran Church
Heart of America Council 307
5757 Blue Ridge Blvd
Raytown, MO 64133


Blue River Valley Elementary School PTO
Crossroads of America 160
4713 N Hillsboro Rd
New Castle, IN 47362


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Las Vegas Area Council 328
7582 Las Vegas Blvd S, Ste 271
Las Vegas, NV 89123


Blue Soda Promo
595 N Lakeview Pkwy
Vernon Hills, IL 60061


Blue Spgs 1st Utd Methodist Ch
Heart Of America Council 307
301 Sw Woods Chapel Rd
Blue Springs, Mo 64015
Blue Springs Baptist Conf Ctr
2650 Lake Shore Dr
Marianna, FL 32446


Blue Springs First Christian Church
Heart of America Council 307
701 NW 15th St
Blue Springs, MO 64015


Blue Spruce Kiwanis
Denver Area Council 061
P.O. Box 1153
720‐402‐6019
Evergreen, CO 80437


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Coronado Area Council 192
835 Church Ave
Manhattan, Ks 66502


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209 Lovvorn Rd
Carrollton, GA 30117‐3617


Blue Water Aviation Services Ltd
P.O. Box 20
Pine Falls, Mb R0E 1M0
Canada


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209 Lovvern Rd
Carrollton, GA 30117‐3617


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Western Massachusetts Council 234
Blueberry Hill Rd
Longmeadow, MA 01106


Bluebonnet Volunteerfiredepartment
Capitol Area Council 564
P.O. Box 335
Cedar Creek, TX 78612
Bluefield Ward Ch Jesus Christ LDS
Buckskin 617
122 Fairway St
Bluefield, Va 24605


Bluefield Ward LDS
Church Of Jesus Christ
Buckskin 617
122 Fairway St
Bluefield, Va 24605


Bluegrass Church
Buffalo Trace 156
14200 Petersburg Rd
Evansville, IN 47725


Bluegrass Middle School
Lincoln Heritage Council 205
170 Jenkins St
Elizabethtown, KY 42701


Bluegrass Rifle Club
Blue Grass Council 204
6274 Steele Rd
Versailles, KY 40383


Bluejay Solutions, Inc
P.O. Box 842467
Boston, MA 02284‐2467


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Sam Houston Area Council 576
6241 Mchard Rd
Houston, TX 77053


Bluetarp Financial
P.O. Box 105525
Atlanta, GA 30348‐5525


Bluewater Community Church
Gulf Coast Council 773
4580 Range Rd
Niceville, FL 32578


Bluewell Utd Methodist
Buckskin 617
Rr 4 Box 541
Bluefield, WV 24701


Bluewolf Group, LLC
dba Mondo‐Accouting Dept
11 E 26th St, 21st Flr
New York, NY 10010


Bluff City Utd Methodist Church
Sequoyah Council 713
P.O. Box 190
Bluff City, TN 37618


Bluff Park Utd Methodist Church
Greater Alabama Council 001
733 Valley St
Hoover, AL 35226


Bluffdale Lions Club
Great Salt Lake Council 590
14400 S Redwood Dr
Bluffdale, UT 84065


Bluffsview Elementary PTA
Simon Kenton Council 441
7111 Linworth Rd
Columbus, OH 43235


Bluffton Boys And Girls Club
Coastal Carolina Council 550
100 He Mccraken Cir
Bluffton, SC 29910


Bluffton Township Fire Dept
Coastal Carolina Council 550
P.O. Box 970
357 Fording Island Rd
Bluffton, SC 29910


Bluffton Township Fire District
Coastal Carolina Council 550
357 Fording Island Rd
Bluffton, SC 29909


Bluffton Utd Methodist Church
Coastal Carolina Council 550
101 Calhoun St
Bluffton, SC 29910


Bluffton‐Harrison Elementary PTO
Anthony Wayne Area 157
1100 E Spring St
Bluffton, IN 46714


Blum Consulting Engineers Inc
8144 Walnut Hill Ln, Ste 200
Dallas, TX 75231‐4316


Blythe Police Dept
California Inland Empire Council 045
240 N Spring St
Blythe, CA 92225


Blythewood High Sch‐Sch Impr Council
Indian Waters Council 553
10901 Wilson Blvd
Blythewood, Sc 29016


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P.O. Box 76486
Highland Heights, KY 41076‐0486


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P.O. Box 201040
Houston, TX 77216


Bmc Software, Inc
Numara Div P.O. Box 933754
Atlanta, GA 31193


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Borough of Manhattan Community College
199 Chambers St, Ms F1330
New York, NY 10007‐1097


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P.O. Box 1906
Islamorada, FL 33036


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P.O. Box 989
South Bend, IN 46634


Bmi Inc
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Cincinnati, OH 45263‐0893


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9435 Key W Ave
Rockville, MD 20850


Bna
P.O. Box 17009
Baltimore, MD 21297‐1009


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Northern New Jersey Council, Bsa 333
300 Pleasant Valley Way
West Orange, NJ 07052


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2460 Pershing Rd, Ste 100
Kansas City, MO 64108


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Hi‐Sierra
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Long Barn, CA 95335
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Spartanburg, SC 29302


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330 Madison Ave, Ste 634
New York, NY 10017


Board Of Certified Safety Professionals
P.O. Box 5426
Carol Stream, IL 60197‐5426


Board Of Continuing Legal Education
295 Holcomb Ave, Ste A
Reno, NV 89502


Board Of Deacons‐Pennside Presbyterian
Hawk Mountain Council 528
253 N 25th St
Reading, PA 19606


Board Of Police Commissioners
Attn Accounting Office
1125 Locust St
Kansas City, MO 64106


Board Of Police Commissioners
Heart of America Council 307
1125 Locust St
Kansas City, MO 64106


Board Of Regents University Of Oklahoma
Health Sciences Center
940 NE 13th St, Ste 4900
Oklahoma City, OK 73104


Board Of Regents University Of Oklahoma
Health Sciences Center
P.O. Box 26901 Rp865, Rm 560
Oklahoma City, OK 73126‐0901


Boardman Rotary Club ‐ Harding
Great Trail 433
P.O. Box 3114
Youngstown, OH 44513


Boardman Rotary Club ‐ Mlk
Great Trail 433
P.O. Box 3114
Youngstown, OH 44513


Boardman Rotary Club ‐ Taft
Great Trail 433
P.O. Box 3114
Youngstown, OH 44513


Boardman Utd Methodist Church
Great Trail 433
6809 Market St
Youngstown, OH 44512


Boardsource
1828 L St NW, Ste 900
Washington, DC 20036‐5114


Boardvantage Inc
dba Nasdaq Inc
1 Liberty Plaza, 49th Fl
New York, NY 10006


Boardvantage, Inc
4300 Bohannon Dr, Ste 110
Menlo Park, CA 94025


Boardworks
P.O. Box 845518
Los Angeles, CA 90084


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Ramrod Key, FL 33042


Boathouse Marina
Heart of Virginia Council 602
829 Robin Grove Ln
Colonial Beach, VA 22443


Boats   Harbors
P.O. Box 647
Crossville, TN 38557


Bob Blaeuer
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Bob Davis
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Albuquerque, NM 87107


Bob Henley S Tie‐A‐Fly
4511 Ashton Dr
Sacramento, CA 95864


Bob Nickell Inc
P.O. Box 413
Lewisburg, WV 24901


Bob S Air Conditioning    Refrigeration
P.O. Box 1109
Umatilla, FL 32784


Bob S Yard
P.O. Box 1210
Angel Fire, NM 87710


Bob Turners Ford Country, Inc
dba Power Ford
1101 Montano Rd Ne
Albuquerque, NM 87107‐4942


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Duluth, MN 55811


Bobette Campbell
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Crater Lake Council 491
4140 Williams Hwy
Grants Pass, OR 97527


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Attn Marion Lavoie
14 S Bowdoin St
Lawrence, MA 01843


Bobs Sewing   Vacuum West
3551 Hwy 528 Nw
Albuquerque, NM 87114
Boca Raton Fire   Rescue Services
Gulf Stream Council 085
6500 Congress Ave, Ste 200
Boca Raton, FL 33487


Boca Raton Police Dept
Gulf Stream Council 085
100 NW 2nd Ave
Boca Raton, FL 33432


Body Glide
1600 124th Ave Ne, Ste G
Bellevue, WA 98005


Bodyglide
1600 124th Ave Ne
Bellevue, WA 98005


Boeing
Greater St Louis Area Council 312
P.O. Box 516 Mc5100‐3462
Saint Louis, MO 63166


Boelter Brands
Attn Accounting
N22W23685 Ridgeview Pkwy W
Waukesha, WI 53188‐1013


Bogalusa Daily News
Istrouma Area Council 211
525 Ave V
Bogalusa, LA 70427


Boger City Utd Methodist Church
Piedmont Council 420
2320 E Main St
Lincolnton, NC 28092


Bogg S Mach   Supply
1144 S 2nd St, P.O. Box 157
Raton, NM 87740
Boght Community Fire Co Inc
Twin Rivers Council 364
8 Preston Dr
Cohoes, NY 12047


Bogumila Friend
Address Redacted


Bohannan‐Huston, Inc
7500 Jefferson St Ne
Albuquerque, NM 87109


Bohns Ace Hardware 172‐1
P.O. Box 545
Woodstock, IL 60098


Boies Schiller   Flexner, LLP
2200 Corporate Blvd NW, Ste 400
Boca Raton, FL 33431


Boiling Spgs Utd Methodist Men S Club
Indian Waters Council 553
2373 Calks Ferry Rd
Lexington, Sc 29073


Boiling Springs Baptist Church
Piedmont Council 420
307 S Main St
Boiling Springs, NC 28017


Boiling Springs Baptist Church
Piedmont Council 420
P.O. Box 917
Boiling Springs, NC 28017


Boiling Springs Social Club
Palmetto Council 549
506 Grouse Ln
Boiling Springs, SC 29316
Boise Cascade
Inland Nwest Council 611
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Kettle Falls, WA 99141


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Boise City, OK 73933


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Brighton, CO 80602


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Sam Houston Area Council 576
607 Texas St
Boling, TX 77420


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Rainbow Council 702
375 W.Briarcliff Rd
Bolingbrook, IL 60440


Bolingbrook Glass   Mirror
470 W N Frontage Rd
Bolingbrook, IL 60440


Bolingbrook Police Dept
Rainbow Council 702
375 W Briarcliff
Bolingbrook, IL 60440


Bolivar City Fire Dept
Ozark Trails Council 306
211 W Walnut St
312
Bolivar, MO 65613


Bolivar Lions Club
Allegheny Highlands Council 382
P.O. Box 436
Bolivar, NY 14715


Bolivar Utd Methodist Church
Buckeye Council 436
220 Poplar St Nw
Bolivar, OH 44612


Bolivar Utd Methodist Church
Ozark Trails Council 306
105 E Div St
Bolivar, MO 65613


Bolivar Utd Methodist Church
West Tennessee Area Council 559
218 W Market St
Bolivar, TN 38008


Boltnagi PC
4608 Tutu Park Mall, Ste 202
St Thomas, 00802‐1816
Virgin Islands


Bolton Ecumenical Council Of Churches
Connecticut Rivers Council, Bsa 066
228 Bolton Center Rd
Bolton, CT 06043


Bolton‐The First Parish Of Bolton
Heart of New England Council 230
673 Main St
Bolton, MA 01740


Boma Dallas Foundation
901 Main St, Ste 570, Lb 130
Dallas, TX 75202
Bomi International Inc
One Park Pl, Ste 475
Annapolis, MD 21401


Bon Air Center
Marin Council 035
50 Bon Air Ctr, Ste 200
Greenbrae, CA 94904


Bon Air Presbyterian Church
Heart of Virginia Council 602
9201 W Huguenot Rd
North Chesterfield, VA 23235


Bon Air Utd Methodist Church
Heart of Virginia Council 602
1645 Buford Rd
North Chesterfield, VA 23235


Bon Appetit Management Co
Washington University
6515 Wydown Campus Box 1092
St Louis, MO 63105


Bon Secours Memorial Regional Med Ctr
Heart Of Virginia Council 602
8260 Atlee Rd
Mechanicsville, Va 23116


Bonaire Utd Methodist Church
Central Georgia Council 096
144 Elm St
Bonaire, GA 31005


Bonanza Ward ‐ LDS Rincon Stake
Catalina Council 011
1655 S Melpomeme Way
Tucson, AZ 85748


Bond , Schoeneck   King PLLC
One Lincoln Center
110 W Fayette St, Ste 1800
Syracuse, NY 13202‐1355


Bond County Senior Center
Greater St Louis Area Council 312
1001 E Harris Ave
Greenville, IL 62246


Bond Hill Math   Science Discovery PTO
Dan Beard Council, Bsa 438
1510 California Ave
Cincinnati, OH 45237


Bond Hill Rec Center
Dan Beard Council, Bsa 438
1501 Elizabeth Pl
Cincinnati, OH 45237


Bondurant American Legion
Mid Iowa Council 177
200 5th St Se
Bondurant, IA 50035


Bondurant, Mixson   Elmore, LLC
Attn Michael B. Terry
One Atlantic Ctr
1201 W Peachtree St Nw, Ste 3900
Atlanta, GA 30309


Bondurant, Mixson   Elmore, LLC
Attn Michael B. Terry
One Atlantic Center
1201 W Peachtree Stree Nw, Ste 3900
Atlanta, GA 30309


Bone Yard Inc
271 Hibiscus St
Tavernier, FL 33070


Bonham Academy Parent Teacher Assoc
Alamo Area Council 583
925 S Saint Marys St
San Antonio, Tx 78205


Bonham Elementary P T A
Texas Trails Council 561
4250 Potomac Ave
Abilene, TX 79605


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16 Court St, Ste 1800
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re Plaintiff
16 Court St ‐, Ste 1800
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Bonita Barnhill
Address Redacted


Bonita Caldwell
Address Redacted


Bonita Hovey
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Bonita Lynn Caldwell
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Bonita Spgs Mid Ctr For The Arts
Southwest Florida Council 088
10141 W Terry St
Bonita Springs, Fl 34135
Bonita Springs Ward LDS
Southwest Florida Council 088
20601 Three Oaks Pkwy
Estero, FL 33928


Bonito Security
Northwest Georgia Council 100
P.O. Box 1967
Marietta, GA 30061


Bonners Ferry Utd Methodist Men
Inland Nwest Council 611
1281 Ridgewood Rd
Moyie Springs, ID 83845


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c/o Michael G BorgeAttn y Law
207 E 19th St
Vancouver, WA 98663


Bonnie Bishop
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Bonnie Bouey
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Bonnie Brae Elementary ‐ Gfwar
Longhorn Council 662
3504 Kimbo Rd
Fort Worth, TX 76111


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Bonny Slope Community Organization
Cascade Pacific Council 492
11775 NW Mcdaniel Rd
Portland, OR 97229


Bonsack Utd Methodist Church
Blue Ridge Mtns Council 599
4493 Bonsack Rd
Roanoke, VA 24012


Bonsai
201 S Ave
Grand Junction, CO 80501


Bonsai Design, LLC
201 S Ave
Grand Junction, CO 81501


Booher Consultants Inc
2319 Hall Johnson Rd
Colleyville, TX 76034‐5259


Bookcliff Odd Fellow Lodge 45
Denver Area Council 061
P.O. Box 866
Rifle, CO 81650


Booker T Washington Community Center
Dan Beard Council, Bsa 438
1140 S Front St
Hamilton, OH 45011


Booker T Washington Elementary
Prairielands 117
606 E Grove St
Champaign, IL 61820


Booker T Washington School
Greater Alabama Council 001
115 4th St
Birmingham, AL 35217


Booker Utd Methodist Church
Golden Spread Council 562
P.O. Box 168
412 Eern
Booker, TX 79005


Booklinks Publishing Services LLC
55 Washington St, Ste 253C
Brooklyn, NY 11201


Booklogix Publishing Services, Inc
1264 Old Alpharetta Rd
Alpharetta, GA 30005


Bookman Road Elementary PTO
Indian Waters Council 553
1245 Bookman Rd
Elgin, SC 29045


Bookmark Trenz
1943 Fowler St
Ft Myers, FL 33901


Bookwalter Utd Methodist Church
Great Smoky Mountain Council 557
4218 Central Ave Pike
Knoxville, TN 37912


Boomerang
147 Castro St, Ste 3
Mountain View, CA 94041


Boone Co/Belvidere Pd Law Enforcement
Blackhawk Area 660
615 N Main St
Belvidere, IL 61008


Boone County Sheriff S Dept
Great Rivers Council 653
2121 E County Dr
Columbia, MO 65202


Boone County Veterans Club
Blackhawk Area 660
2014 W Lincoln Ave
Belvidere, IL 61008


Boone Elementary PTO
Greater St Louis Area Council 312
1464 Boone St
Troy, MO 63379


Boone Enterprises Inc
2442 W Clemmonsville Rd
Winston‐Salem, NC 27127


Boone Grove Christian Church
Lasalle Council 165
P.O. Box 92
356 Groveland St
Boone Grove, IN 46302


Boone High Criminal Justice Academy
Central Florida Council 083
1000 E Kaley St
Orlando, FL 32806


Boone Hill Utd Methodist Church
Coastal Carolina Council 550
810 Boone Hill Rd
Summerville, SC 29483


Boone Karlberg PC
P.O. Box 9199
Missoula, MT 59807


Boone School PTA
Heart of America Council 307
8817 Wornall Rd
Kansas City, MO 64114
Boone Utd Methodist Church
Old Hickory Council 427
471 New Market Blvd
Boone, NC 28607


Boone Valley Izaak Walton League
Mid Iowa Council 177
P.O. Box 11
Webster City, IA 50595


Boonsboro Lions Club
Mason Dixon Council 221
P.O. Box 21
Boonsboro, MD 21713


Boonville Lions Club
Great Rivers Council 653
P.O. Box 52
Boonville, MO 65233


Boonville Utd Methodist Church
Old Hickory Council 427
P.O. Box 178
Boonville, NC 27011


Boonville Utd Methodist Men
Old Hickory Council 427
P.O. Box 178
Boonville, NC 27011


Boopa S Bagel Deli
Longhorn Council 662
6513 N Beach St
Fort Worth, TX 76137


Boos Brother Co, LLC Dba Colorado
Floors   Blinds
421 N Santa Fe Ave
Pueblo, CO 81003
Boot Key Harbor City Marina
800 35th St Ocean
Marathon, FL 33050


Booth Hill School PTO
Housatonic Council, Bsa 069
544 Booth Hill Rd
Shelton, CT 06484


Boots Dickson Post 174 American Legion
Great Rivers Council 653
600 Short St
Palmyra, MO 63461


Bordentown Elks Lodge 2085
Garden State Council 690
11 Amboy Rd
Bordentown, NJ 08505


Bordentown Lodge 2085 Bpoe
Garden State Council 690
11 Amboy Rd
Bordentown, NJ 08505


Bordentown Township Police Dept
Garden State Council 690
1 Municipal Dr
Bordentown, NJ 08505


Border County Sign Co
dba Ely Design Works
766 E Madison St
Ely, MN 55731


Border Patrol Imperial Beach
San Diego Imperial Council 049
P.O. Box 68
Imperial Beach, CA 91933


Border States Industries Inc
dba Shealy Electrical Wholesalers
P.O. Box 2767
Fargo, ND 58108‐2767


Border States Industries Inc
dba Shealy Electrical Wholesalers
P.O. Box 603585
Charlotte, NC 28260‐3585


Borders Inc
P.O. Box 691679
Cincinnati, OH 45269‐1679


Borger American Legion Post 671
Golden Spread Council 562
P.O. Box 1371
Borger, TX 79008


Borger Kiwanis Club
Golden Spread Council 562
P.O. Box 775
Borger, TX 79008


Bork Communication Group LLC
7105 Country Meadow Ct
Mclean, VA 22101


Borough Of Coplay
Minsi Trails Council 502
98 S 4th St
Coplay, PA 18037


Borough Of Emmaus Emergency Services
Minsi Trails Council 502
100 N 6th St
Emmaus, PA 18049


Borsheims
120 Regency Pkwy
Omaha, NE 68114


Bosch Packaging Technology, Inc
36815 Treasury Center
Chicago, IL 60694‐6800


Bosch Packaging Technology, Inc
869 S Knowles Ave
New Richmond, WI 54017


Bosco
P.O. Box 1041
Beckley, WV 25802‐1041


Bosley Rental   Supply Inc
497 Goff Mountain Rd
Cross Lanes, WV 25313


Boss Printing
1315 W 4th Ave
Broomfield, CO 80020


Boss Safety Products
30081 Comercio
Rancho Santa Margarita, CA 92688‐2123


Bossier City ‐ Parish
Attn Sales and Use Tax Div
P.O. Box 5337
Bossier City, LA 71171‐5337


Bossier Parish Ems
Norwela Council 215
5275 Swan Lake Rd
Bossier City, LA 71111


Boston Aqua Farms LLC
17 Bridle Bridge Rd
Windham, NH 03087


Boston Ave Methodist Church
Indian Nations Council 488
1301 S Boston Ave
Tulsa, OK 74119
Boston Balloon Events
25 Dry Dock
Boston, MA 02210


Boston College
Attn Office of Student Services
Lyons Hall 103
Chestnut Hill, MA 02467‐3804


Boston College
Office of Student Services
Lyons Hall ‐ 140 Commonwealth
Chestnut Hill, MA 02467


Boston Elementary School PTA
Lincoln Heritage Council 205
669 Allen Rd
Boston, KY 40107


Boston Fire Co Inc
Greater Niagara Frontier Council 380
P.O. Box 357
Boston, NY 14025


Boston Land Co
Narragansett 546
30 Highland St
Taunton, MA 02780


Boston Print Buyers
P.O. Box 785
Westford, MA 01886


Boston University
Attn Matthew Muttart
881 Commonwealth Ave 5th Fl
Boston, MA 02215


Bostwick Lake Congregational Church
President Gerald R Ford 781
7979 Belding Rd Ne
Rockford, MI 49341


Botanical Paperworks
111 Pacific Ave
Winnipeg, Mb R3B 0M1
Canada


Botannical Heights Neighborhood Assn
Greater St Louis Area Council 312
3829 Lafayette Ave
Saint Louis, MO 63110


Bothell Utd Methodist Men
Chief Seattle Council 609
18515 92nd Ave Ne
Bothell, WA 98011


Bothwell Regional Health Center
Great Rivers Council 653
1505 W 3rd St
Sedalia, MO 65301


Botsford Elementary School P.T.O.
Great Lakes Fsc 272
19515 Lathers St
Livonia, MI 48152


Bottega LLC Inc
6525 Washington St, Ste A9
Yountville, CA 94599


Bottom Line Books
P.O. Box 360292
Des Moines, IA 50336‐0292


Bottom Line Personal
P.O. Box 422295
Palm Coast, FL 32142‐2295


Bottom Line/Retirement
Subscription Service Ctr
Box 422349
Palm Coast, FL 32142‐2349


Bouchane Henderson
Address Redacted


Boucher   James Inc
1456 Ferry Rd, Bldg 500
Doylestown, PA 18901


Boughton Baptist Church
Caddo Area Council 584
353 Nevada 35 S
Prescott, AR 71857


Boulder City Police Dept
Las Vegas Area Council 328
1005 Arizona St
Boulder City, NV 89005


Boulder County Sheriff S Office
Longs Peak Council 062
5600 Flatiron Pkwy
Boulder, CO 80301


Boulder Housing And Human Services
Longs Peak Council 062
P.O. Box 471
Boulder, CO 80306


Boulder Junction Lions Club
Samoset Council, Bsa 627
P.O. Box 61
Boulder Junction, WI 54512


Boule Medical
Colonial Virginia Council 595
100 Sentara Cir
Williamsburg, VA 23188


Boulevard Christian Church
Baltimore Area Council 220
920 Essex Ave
Essex, MD 21221


Boulevard Kiwanis Club
Cascade Pacific Council 492
1815 Bergeron Ct
Vancouver, WA 98661


Boulevard Lions Club
South Texas Council 577
487 Live Oak Dr
Inez, TX 77968


Boulevard Presbyterian Church
Simon Kenton Council 441
1235 Nwest Blvd
Columbus, OH 43212


Bounce R Us Party Rental Inc
18333 SW 204 St
Miami, FL 33187


Bound Brook Presbyterian Church
Patriots Path Council 358
409 Mountain Ave
Bound Brook, NJ 08805


Bound Tree Medical
23537 Network Pl
Chicago, IL 60673‐1235


Boundary Waters Journal
9396 Rocky Ledge Rd
Ely, MN 55731


Boundless Network
P.O. Box 123186, Dept 3186
Dallas, TX 75312‐3186


Bountiful Community Church Of Christ
Great Salt Lake Council 590
100 N 400 E
Bountiful, UT 84010


Bountiful Elks Lodge 2442
Great Salt Lake Council 590
544 W 400 N
Bountiful, UT 84010


Bourbon Boosters
Greater St Louis Area Council 312
526 E Pine St
Bourbon, MO 65441


Bourbon Boosters Club
Greater St Louis Area Council 312
P.O. Box 432
Rd.
Bourbon, MO 65441


Bourdon S Institutional Sales
85 Plains Rd
Claremont, NH 03743


Bourdons Institutitonal Sales Inc
85 Plains Rd
Claremont, NH 03743‐4527


Bournemouth Highcliff Marriott Hotel
St Michaels Rd, W Cliff
Bournemouth, Bh2 5Du
United Kingdom


Bow Community Mens Club
Daniel Webster Council, Bsa 330
91 Bow Center Rd
Bow, NH 03304


Bow Lake Community Club
Daniel Webster Council, Bsa 330
P.O. Box 204
Strafford, NH 03884
Bow Police Dept
Daniel Webster Council, Bsa 330
12 Robinson Rd
Bow, NH 03304


Bowdoinham Second Baptist Church
Pine Tree Council 218
P.O. Box 57
Bowdoinham, ME 04008


Bowe Industries, Inc
dba Changes Online
88‐36 77th Ave
Glendale, NY 11385


Bowen Elementary PTO
Sam Houston Area Council 576
3870 Copperfield Dr
Bryan, TX 77802


Bowen‐Holland American Legion Post 141
Norwela Council 215
202 Spear Dr
Vivian, LA 71082


Bower Hill Community Church
Laurel Highlands Council 527
70 Moffett St
Pittsburgh, PA 15243


Bowfin Base Subvets
Aloha Council, Bsa 104
1601 Frederick St
Honolulu, HI 96818


Bowie Elementary PTA
Texas Trails Council 561
1733 S 20th St
Abilene, TX 79602
Bowles Mechanical, Inc
dba Environmental Serv of Charlotte
2101 S Tryon St
Charlotte, NC 28203‐4957


Bowles School PTO
Greater St Louis Area Council 312
501 Bowles Ave
Fenton, MO 63026


Bowling Green Alliance Church
Erie Shores Council 460
1161 Napoleon Rd
Bowling Green, OH 43402


Bowling Green First Presbyterian Church
Great Rivers Council 653
205 W Centennial Ave
Bowling Green, MO 63334


Bowling Green LDS Church
Erie Shores Council 460
1033 Conneaut Ave
Bowling Green, OH 43402


Bowling Green Methodist Church
Greater Tampa Bay Area 089
4910 Church Ave
Bowling Green, FL 33834


Bowman Ching
Address Redacted


Bowman Hollis Mfg, Inc
P.O. Box 19249
Charlotte, NC 28219


Bowman Lions Club
Attn Douglas Langhoff
Northern Lights Council 429
406 2nd Ave Se
Bowman, ND 58623
Bowmansville Volunteer Fire Assoc
Greater Niagara Frontier Council 380
P.O. Box 137
36 Main St
Bowmansville, NY 14026


Box Elder Volunteer Fire Dept
Black Hills Area Council 695 695
120 Box Elder Rd
Box Elder, SD 57719


Box It Up
P.O. Box 5484
Charlotte, NC 28299


Box, Inc
900 Jefferson Ave
Redwood City, CA 94063


Box, Inc
Dept 34666, P.O. Box 3900
San Francisco, CA 94139


Box‐Board Products, Inc
P.O. Box 534335
Atlanta, GA 30353‐4335


Boxborough‐District Minutemen Inc
Heart of New England Council 230
648 Stow Rd
Scott Spalding
Boxborough, MA 01719


Boxercraft, Inc
dba Jones   Mitchell Sportswear
P.O. Box 890011
Charlotte, NC 28289‐0011


Boxford Fire Dept
The Spirit of Adventure 227
6 Middleton Rd
Boxford, MA 01921


Boxford Firefighters Relief Assoc Vol
The Spirit Of Adventure 227
P.O. Box 178
West Boxford, Ma 01885


Boxford Parent Teachers Organization
The Spirit of Adventure 227
33 Spofford Rd
P.O. Box 285
Boxford, MA 01921


Boxley Aggregates Of West Virginia LLC
dba Appalachian Aggregates LLC
P.O. Box 743836
Atlanta, GA 30374‐3836


Boxwood Technology, Inc
Executive Plaza III
11350 Mccormick Rd, Ste 101
Mail Stop 22227
Hunt Valley, MD 21031


Boy   Girls Club After
School Enrichment Program
Abraham Lincoln Council 144
1800 S Grand Ave E
Springfield, Il 62703


Boy S   Girls Club, Wisconsin Rapid Area
Samoset Council, Bsa 627
501 17Th St S
Wisconsin Rapids, Wi 54494


Boy Scout Of The Philippines
181 Natividad Almeda‐Lopez St, Ermita
Manila, 1000
Philippines


Boy Scout Units 448, Inc
Central N Carolina Council 416
900 S Main St
Salisbury, NC 28144


Boy Scouts Ga Recon Account
c/o State St Bank    Trust Co
200 Newport Ave
North Quincy, MA 02171


Boy Scouts Ga Recon Acct
c/o the Nern Trust Co
50 S Lasalle St
Chicago, IL 60675


Boy Scouts Of America
1325 W Walnut Hill Ln
Irving, TX 75038


Boy Scouts Of America
2245 US Hwy 130, Ste 106
Dayton, NJ 08810‐2420


Boy Scouts Of America ‐ National
1325 W Walnut Hill Ln
Irving, TX 75038


Boy Scouts Of America ‐ Noac
1325 W Walnut Hill Ln
Irving, TX 75015‐2079


Boy Scouts Of America Recon Clearance
1325 W Walnut Hill Ln
Irving, TX 75038


Boy Scouts Of America Retiree Reunion
c/o Neast Region
P.O. Box 268
Jamesburg, NJ 08831


Boy Scouts Of America Summit Group
68 Crossroads Mall
Mount Hope, WV 25880


Boy Scouts Parents Club
Northern New Jersey Council, Bsa 333
724 5th St
Carlstadt, NJ 07072


Boya Li
50 Sunrise Dr
Avon, CT 06001


Boyceville Fire Dept
Chippewa Valley Council 637
512 Center St
Boyceville, WI 54725


Boyd S Grove Utd Methodist Church
W D Boyce 138
1976 Wyanet Walnut Rd
Bradford, IL 61421


Boyd S Scout Store
Attn Marie Boyd
1909 E Winter Dr
Phoenix, AZ 85020


Boyertown Lions Community Ambulance
Hawk Mountain Council 528
2 E 2nd St
Boyertown, PA 19512


Boyet Ramirez
Address Redacted


Boyette Springs Elementary School PTA
Greater Tampa Bay Area 089
10141 Sedgebrook Dr
Riverview, FL 33569


Boyle Road Elementary School PTA
Suffolk County Council Inc 404
242 Boyle Rd
Port Jefferson Station, NY 11776


Boylston ‐ 1St Congregational Church
Heart of New England Council 230
10 Church St
Boylston, MA 01505


Boyne City Rotary
President Gerald R Ford 781
P.O. Box 219
Boyne City, MI 49712


Boyne Valley Lions Club
President Gerald R Ford 781
P.O. Box 451
Boyne City, MI 49712


Boynton Beach Fire Rescue Dept
Gulf Stream Council 085
2180 High Ridge Rd
Boynton Beach, FL 33435


Boynton‐Webber American Legion Post 179
Pine Tree Council 218
P.O. Box 401
South China, ME 04358


Boys   Girls Club
Inland Nwest Council 611
200 W Mullan Ave
Post Falls, ID 83854


Boys   Girls Club ‐ Hidden Valley
Nevada Area Council 329
2115 Alphabet Dr
Reno, NV 89502


Boys   Girls Club ‐ Johnson Beacon
Denver Area Council 061
1850 S Irving St
Denver, CO 80219
Boys   Girls Club ‐ Lois Allen
Nevada Area Council 329
5155 Mcguffey Rd
Sun Valley, NV 89433


Boys   Girls Club 9Th Street Torch Club
Nevada Area Council 329
2680 E 9Th St
Reno, Nv 89512


Boys   Girls Club At School 29
Seneca Waterways 397
88 Kirkland Rd
Rochester, NY 14611


Boys   Girls Club Central Mn Sside
Central Minnesota 296
1205 6Th Ave S
Saint Cloud, Mn 56301


Boys   Girls Club Chippewa Falls Center
Chippewa Valley Council 637
21 E Grand Ave
Chippewa Falls, WI 54729


Boys   Girls Club Cr Olivet Mission
Hawkeye Area Council 172
420 6th St SE, Ste 240
Cedar Rapids, IA 52401


Boys   Girls Club Duquesne/ West Mifflin
Laurel Highlands Council 527
29 N 3rd St 31
Duquesne, PA 15110


Boys   Girls Club East
Central N Carolina Council 416
6010 W Marshville Blvd
Marshville, NC 28103
Boys   Girls Club Fire Tower
East Carolina Council 426
621 W Fire Tower Rd
Winterville, NC 28590


Boys   Girls Club Gadsden Etowah Cnty
Greater Alabama Council 001
P.O. Box 2601
2000 W Meighan Blvd
Gadsden, Al 35903


Boys   Girls Club Greater High Point
Old N State Council 070
801 Sunset Ave
Asheboro, Nc 27203


Boys   Girls Club Greene County
East Carolina Council 426
614 Middle School Rd
Snow Hill, NC 28580


Boys   Girls Club Hawthorne Unit
Heart of America Council 307
16995 E Dover Ln
Independence, MO 64056


Boys   Girls Club Hernando Cnty, Inc
Greater Tampa Bay Area 089
5404 Applegate Dr
Spring Hill, Fl 34606


Boys   Girls Club Luis Munoz Martin Sch
Lake Erie Council 440
1701 Castle Ave
Cleveland, Oh 44113


Boys   Girls Club Metrowest
Cellucci Clubhouse
Mayflower Council 251
21 Church St
Hudson, Ma 01749
Boys   Girls Club Monroe Middle School
Central N Carolina Council 416
601 E Sunset Dr
Monroe, NC 28112


Boys   Girls Club Muskegon Lakeshore
President Gerald R Ford 781
P.O. Box 1018
Muskegon, Mi 49443


Boys   Girls Club New Castle
Del Mar Va 081
19 Lambson Ln
New Castle, DE 19720


Boys   Girls Club Of Albany‐Arbor Hill
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Ash
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Delaware Cs
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Eagle Point
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Giffen
Twin Rivers Council 364
21 Delaware Ave
Delaware Ave Unit
Albany, NY 12210


Boys   Girls Club Of Albany‐Nses
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Pine Hills
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Schuyler
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐Sheridan
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Albany‐T.O.A.S.T.
Twin Rivers Council 364
21 Delaware Ave
Albany, NY 12210


Boys   Girls Club Of Athens
Northeast Georgia Council 101
440‐4 Dering Ext.
Athens, GA 30606


Boys   Girls Club Of Bend
Crater Lake Council 491
500 NW Wall St
Bend, OR 97703


Boys   Girls Club Of Bloomington
Hoosier Trails Council 145 145
P.O. Box 1716
Bloomington, IN 47402


Boys   Girls Club Of Central Alabama
Greater Alabama Council 001
2380 Old Springville Rd
Birmingham, AL 35215


Boys   Girls Club Of Cleveland County
Piedmont Council 420
P.O. Box 2001
Shelby, NC 28151


Boys   Girls Club Of Fauquier County
National Capital Area Council 082
169 Keith St
Warrenton, VA 20186


Boys   Girls Club Of Fort Mill
Palmetto Council 549
410 E Black St
York, SC 29732


Boys   Girls Club Of Gaffney
Palmetto Council 549
201 Pecan St
Gaffney, SC 29340


Boys   Girls Club Of Greater Dubuque
Northeast Iowa Council 178
1299 Locust St
Dubuque, IA 52001


Boys   Girls Club Of Hamilton, Inc
Dan Beard Council, Bsa 438
958 E Ave
Hamilton, OH 45011


Boys   Girls Club Of Harlem ‐ Sr
Greater New York Councils, Bsa 640
521 W 145th St
New York, NY 10031


Boys   Girls Club Of Lanier
Northeast Georgia Council 101
2094 Memorial Park Dr
Gainesville, GA 30504
Boys   Girls Club Of Lenoir County
East Carolina Council 426
2600 Rouse Rd
Kinston, NC 28504


Boys   Girls Club Of Marshfield Inc
Mayflower Council 251
37 Proprietors Dr
Marshfield, MA 02050


Boys   Girls Club Of Menomonie
Chippewa Valley Council 637
615 24th Ave W
Menomonie, WI 54751


Boys   Girls Club Of Morris County Inc
Patriots Path Council 358
19 Oak Ave
Pequannock, NJ 07440


Boys   Girls Club Of North Slo County
Los Padres Council 053
2631 Spring St
Paso Robles, CA 93446


Boys   Girls Club Of Pitt County
East Carolina Council 426
475 Belvoir Hwy
Greenville, NC 27834


Boys   Girls Club Of Poughkeepsie
Hudson Valley Council 374
221 Smith St
Poughkeepsie, NY 12601


Boys   Girls Club Of San Antonio‐Barkley
Ruiz
Alamo Area Council 583
829 Nogalitos St
San Antonio, Tx 78204
Boys   Girls Club Of The Piedmont
Piedmont Council 420
1001 Cochran St
Statesville, NC 28677


Boys   Girls Club Of The Redwoods
Crater Lake Council 491
3117 Prospect Ave
Eureka, CA 95503


Boys   Girls Club Of The Rogue Valley
Crater Lake Council 491
203 SE 9th St
Grants Pass, OR 97526


Boys   Girls Club Of The Smoky Mountains
Great Smoky Mountain Council 557
P.O. Box 5743
Sevierville, TN 37864


Boys   Girls Club Of The Upstate
Palmetto Council 549
201 Pecan St
Gaffney, SC 29340


Boys   Girls Club Of Washington
East Carolina Council 426
1089 N Bridge St
Washington, NC 27889


Boys   Girls Club Of Wayne County
Tuscarora Council 424
P.O. Box 774
Goldsboro, NC 27533


Boys   Girls Club Oklahoma Cnty, Inc
Last Frontier Council 480
1150 Nw 36Th St
Oklahoma City, Ok 73118


Boys   Girls Club Paulding County
Atlanta Area Council 092
335 Academy Dr A
Dallas, GA 30132


Boys   Girls Club San Antonio
Jt Barckenridge
Alamo Area Council 583
829 Nogalitos St
San Antonio, Tx 78204


Boys   Girls Club San Antonio
Kate Schenck
Alamo Area Council 583
829 Nogalitos St
San Antonio, Tx 78204


Boys   Girls Club San Antonio
Mission Academy
Alamo Area Council 583
600 Sw 19Th St
San Antonio, Tx 78207


Boys   Girls Club Sutton Hooker Unit
Cherokee Area Council 556
280 Campbell Rd
Benton, TN 37307


Boys   Girls Club Tucker Unit
Cherokee Area Council 556
385 3rd St Sw
Cleveland, TN 37311


Boys   Girls Club W Chester Liberty
Dan Beard Council, Bsa 438
8749 Cincinnati Dayton Rd
West Chester, Oh 45069


Boys   Girls Club, Greater Chippewa Vly
Chippewa Valley Council 637
1005 Oxford Ave
Eau Claire, Wi 54703


Boys   Girls Club, Midlands
Council Bluffs
Mid‐America Council 326
815 N 16Th St
Council Bluffs, Ia 51501


Boys   Girls Club, Midlands‐Carter Lake
Mid‐America Council 326
815 N 16Th St
Council Bluffs, Ia 51501


Boys   Girls Club, Wisconsin Rapids Area
Samoset Council, Bsa 627
501 17Th St S
Wisconsin Rapids, Wi 54494


Boys   Girls Club‐Eside Learning Ctr
Sioux Council 733
700 S Sneve Ave
Sioux Falls, Sd 57103


Boys   Girls Club‐Highland
Winnebago Council, Bsa 173
515 Lime St
Waterloo, IA 50703


Boys   Girls Clubs
Buffalo Butler Mitchell
Greater Niagara Frontier Council 380
370 Massachusetts Ave
Buffalo, Ny 14213


Boys   Girls Clubs Greater Kansas City
Heart Of America Council 307
3831 E 43Rd St
Kansas City, Mo 64130


Boys   Girls Clubs Greater Washington
National Capital Area Council 082
4103 Benning Rd Ne
Washington, Dc 20019


Boys   Girls Clubs Of Central Minnesota
Central Minnesota 296
320 Raymond Ave Ne
Saint Cloud, MN 56304


Boys   Girls Clubs Of Cleveland
Lake Erie Council 440
3340 Trowbridge Ave
Cleveland, OH 44109


Boys   Girls Clubs Of Metro Atlanta
Northeast Georgia Council 101
P.O. Box 1150
Monroe, GA 30655


Boys   Girls Clubs Of Santa Cruz County
Silicon Valley Monterey Bay 055
543 Center St
Santa Cruz, CA 95060


Boys   Girls Clubs Of St Charles
Greater St Louis Area Council 312
1211 Lindenwood Ave
Saint Charles, MO 63301


Boys   Girls Clubs Of Tampa Bay Inc
Greater Tampa Bay Area 089
1307 N Macdill Ave
Tampa, FL 33607


Boys   Girls Clubs Of The Glbr
Kids Campus
Water And Woods Council 782
1781 Fordney St
Saginaw, Mi 48601


Boys   Girls Clubs San Antonio
Collin Gardens
Alamo Area Council 583
829 Nogalitos St
San Antonio, Tx 78204


Boys   Girls Clubs Spgfield Sertoma
Ozark Trails Council 306
2524 S Golden Ave
Springfield, Mo 65807


Boys   Girls Clubs St Charles Cnty
Greater St Louis Area Council 312
1211 Lindenwood Ave
Saint Charles, Mo 63301


Boys   Girls Clubs Stanislaus Cnty
Greater Yosemite Council 059
422 Mchenry Ave
Modesto, Ca 95354


Boys   Girls Clubs Stoneham      Wakefield
The Spirit Of Adventure 227
15 Dale Ct
Stoneham, Ma 02180


Boys   Girls Clubs, Mississippi Vly
Illowa Council 133
406 7Th St
Moline, Il 61265


Boys   Girls Clubs, Virginia Peninsula
Colonial Virginia Council 595
7066 Hayes Shopping Ctr
Hayes, Va 23072


Boys   Girls Clubs‐Diehl Club
Great Lakes Fsc 272
4242 Collingwood St
Detroit, MI 48204


Boys And Girls Club
Hawkeye Area Council 172
P.O. Box 8866
Cedar Rapids, IA 52408


Boys And Girls Club
Lincoln Street Unit
Hoosier Trails Council 145 145
P.O. Box 1716
Bloomington, In 47402


Boys And Girls Club
Middle Tennessee Council 560
915 38th Ave N
Nashville, TN 37209


Boys And Girls Club
Northeastern Pennsylvania Council 501
609 Ash St
Scranton, PA 18510


Boys And Girls Club ‐ 14Th St
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103


Boys And Girls Club ‐ Assam
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103


Boys And Girls Club ‐ Bennis
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103


Boys And Girls Club ‐ Brandon
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103


Boys And Girls Club ‐ Ellettsville Unit
Hoosier Trails Council 145 145
P.O. Box 1716
Bloomington, IN 47402


Boys And Girls Club ‐ Explorer
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103
Boys And Girls Club ‐ Journey
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103


Boys And Girls Club ‐ Musgrave Unit
Ozark Trails Council 306
1410 N Fremont Ave
Springfield, MO 65802


Boys And Girls Club ‐ Rollan Melton
Nevada Area Council 329
6575 Archimedes Ln
Reno, NV 89523


Boys And Girls Club ‐ Stalnaker Unit
Ozark Trails Council 306
1410 N Fremont Ave
Springfield, MO 65802


Boys And Girls Club 57Th Street
Sioux Council 733
700 S Sneve Ave
Sioux Falls, SD 57103


Boys And Girls Club Carl D Thomas
Central Georgia Council 096
P.O. Box 4431
Macon, GA 31208


Boys And Girls Club Evansville Inc
Buffalo Trace 156
P.O. Box 4194
Evansville, IN 47724


Boys And Girls Club Greater Cincinnati
Findlay Street
Dan Beard Council, Bsa 438
901 Findlay St
Cincinnati, Oh 45214
Boys And Girls Club J   D Wagner
Heart of America Council 307
2405 Elmwood Ave
Kansas City, MO 64127


Boys And Girls Club Jarvis
East Carolina Council 426
510 S Washington St
Greenville, NC 27858


Boys And Girls Club Joliet
Rainbow Council 702
226 E Clinton St
Joliet, IL 60432


Boys And Girls Club King Danforth
Central Georgia Council 096
P.O. Box 4431
Macon, GA 31208


Boys And Girls Club Leslie Unit
Heart of America Council 307
315 S Leslie St
Independence, MO 64050


Boys And Girls Club Murphy Tindall
Central Georgia Council 096
P.O. Box 4431
Macon, GA 31208


Boys And Girls Club North East Ohio
Lake Erie Council 440
6114 Broadway Ave
Cleveland, OH 44127


Boys And Girls Club Of Abilene
Texas Trails Council 561
1219 E S 11th St
Abilene, TX 79602


Boys And Girls Club Of Ada
Arbuckle Area Council 468
915 S Hickory St
Ada, OK 74820


Boys And Girls Club Of Allentown
Minsi Trails Council 502
720 N 6th St
Allentown, PA 18102


Boys And Girls Club Of Amarillo
Golden Spread Council 562
1923 S Lincoln St
Amarillo, TX 79109


Boys And Girls Club Of Atchison
Pony Express Council 311
1215 Ash St
Atchison, KS 66002


Boys And Girls Club Of Barren Glasgow
Lincoln Heritage Council 205
100 Cheatham St
Glasgow, KY 42141


Boys And Girls Club Of Bartlesville
Cherokee Area Council 469 469
401 S Seminole Ave
Bartlesville, OK 74003


Boys And Girls Club Of Bethalto
Greater St Louis Area Council 312
324 E Central St
Bethalto, IL 62010


Boys And Girls Club Of Black Hawk County
Winnebago Council, Bsa 173
515 Lime St
Waterloo, IA 50703


Boys And Girls Club Of Boone County
Crossroads of America 160
1575 Mulberry St
Zionsville, IN 46077


Boys And Girls Club Of Brown County
Texas Trails Council 561
1701 Ave L
Brownwood, TX 76801


Boys And Girls Club Of Cape Girardeau
Greater St Louis Area Council 312
1913 Whitener St
Cape Girardeau, MO 63701


Boys And Girls Club Of Central Fl
Central Florida Council 083
1824 Temple Ter
Melbourne, FL 32935


Boys And Girls Club Of Cheyenne
Longs Peak Council 062
515 W Jefferson Rd
Cheyenne, WY 82007


Boys And Girls Club Of Cocoa
Central Florida Council 083
814 Dixon Blvd
Cocoa, FL 32922


Boys And Girls Club Of Eden
Old N State Council 070
1026 Harris St
Eden, NC 27288


Boys And Girls Club Of Greater Kingsport
Sequoyah Council 713
1 Positive Pl
Kingsport, TN 37660


Boys And Girls Club Of Hernando County
Greater Tampa Bay Area 089
5404 Applegate Dr
Spring Hill, FL 34606
Boys And Girls Club Of Jackson County
Northeast Georgia Council 101
P.O. Box 1314
Commerce, GA 30529


Boys And Girls Club Of Kenosha
Three Harbors Council 636
1330 52nd St
Kenosha, WI 53140


Boys And Girls Club Of Long Beach
Long Beach Area Council 032
3635 Long Beach Blvd
Long Beach, CA 90807


Boys And Girls Club Of Martinsville
Henry County
Blue Ridge Mtns Council 599
311 E Church St
710 Smith St
Martinsville, Va 24112


Boys And Girls Club Of Muskegon
President Gerald R Ford 781
900 3rd St, Ste 200
Muskegon, MI 49440


Boys And Girls Club Of Napa Valley
Mt Diablo‐Silverado Council 023
1515 Pueblo Ave
Napa, CA 94558


Boys And Girls Club Of Noblesville ‐ As
Crossroads of America 160
1448 Conner St
Noblesville, IN 46060


Boys And Girls Club Of Odessa
Buffalo Trail Council 567
800 E 13th St
Odessa, TX 79761
Boys And Girls Club Of Sierra Vista
Catalina Council 011
1746 Paseo San Luis
Sierra Vista, AZ 85635


Boys And Girls Club Of Stamford
Connecticut Yankee Council Bsa 072
347 Stillwater Ave
Stamford, CT 06902


Boys And Girls Club Of The Peninsula
Pacific Skyline Council 031
400 Market Pl
Menlo Park, CA 94025


Boys And Girls Club Of Troy
Great Lakes Fsc 272
3670 John R Rd
Troy, MI 48083


Boys And Girls Club Of Vista
San Diego Imperial Council 049
410 W California Ave
Vista, CA 92083


Boys And Girls Club Of Waterloo Inc
Winnebago Council, Bsa 173
515 Lime St 50703
Waterloo, IA 50703


Boys And Girls Club Of West Plains
Ozark Trails Council 306
613 W 1st St
West Plains, MO 65775


Boys And Girls Club Roll Hill
Dan Beard Council, Bsa 438
2411 Baltimore Ave
Cincinnati, OH 45225


Boys And Girls Club Shallowater
South Plains Council 694
3221 59th St
Lubbock, TX 79413


Boys And Girls Club Union Elementary
Central Georgia Council 096
P.O. Box 4431
Macon, GA 31208


Boys And Girls Club Youth Commonwealth
President Gerald R Ford 781
235 Straight Ave Nw
Grand Rapids, MI 49504


Boys And Girls Club‐Ak
Great Alaska Council 610
2300 W 36th Ave
Anchorage, AK 99517


Boys And Girls Clubs Eastside St. Cloud
Central Minnesota 296
320 Raymond Ave Ne
Saint Cloud, MN 56304


Boys And Girls Clubs Of Greater St Louis
Greater St Louis Area Council 312
2901 N Grand Blvd
Saint Louis, MO 63107


Boys And Girls Clubs Of Metro Atlanta
Northeast Georgia Council 101
P.O. Box 1150
Monroe, GA 30655


Boys And Girls Clubs Of Milford
Connecticut Yankee Council Bsa 072
59 Devonshire Rd
Milford, CT 06460


Boys And Girls Clubs Of No. La.
Louisiana Purchase Council 213
400 Jeffress St
Jonesboro, LA 71251


Boys And Girls Clubs Of Philadelphia
Cradle of Liberty Council 525
2901 Bridge St
Philadelphia, PA 19137


Boys And Girls Clubs Of Poplar Bluff
Greater St Louis Area Council 312
P.O. Box 55
Poplar Bluff, MO 63902


Boys And Girls Clubs Of Roosevelt
Central Minnesota 296
345 30th Ave N
Saint Cloud, MN 56303


Boys And Girls Clubs Of The Austin Area
Capitol Area Council 564
5407 N Interstate 35, Ste 400
Austin, TX 78723


Boys And Girls Of The Timber Ridge Inc
Norwela Council 215
P.O. Box 777
Homer, LA 71040


Boys And Girls Town Of Missouri
Greater St Louis Area Council 312
284 Meramec Wilderness Ln
Steelville, MO 65565


Boys Club Of Orwigsburg
Hawk Mountain Council 528
91 E Independence St
Orwigsburg, PA 17961


Boys Girls Club Sacred Heart
Winnebago Council, Bsa 173
515 Lime St
Waterloo, IA 50703
Boys Home Inc
Stonewall Jackson Council 763
411 Boys Home Rd
Covington, VA 24426


Boys Ii Young Men
Norwela Council 215
5947 Manitoba Ln
Shreveport, LA 71107


Boys Prep Elementary Charter School
Greater New York Councils, Bsa 640
1695 Seward Ave
Bronx, NY 10473


Boys Republic
California Inland Empire Council 045
1907 Boys Republic Dr
Chino Hills, CA 91709


Boys Scouts Of America Pack 3300, Inc
Southwest Florida Council 088
17501 Fuchsia Rd
Fort Myers, FL 33967


Boys To Men
Mid Iowa Council 177
2500 38th St
Des Moines, IA 50310


Boys Town Volunteer Fire Dept
Mid‐America Council 326
Box 9999
Boys Town, NE 68010


Bozeman Police Gallatin County
Montana Council 315
615 S 16th Dr
Bozeman, MT 59715


Bozeman Utd Methodist Church
Montana Council 315
121 S Willson Ave
Bozeman, MT 59715


Bp
P.O. Box 70887
Charlotte, NC 28272‐0887


B‐P Jam Roll Limited
Corner Cottage
Hoon Ridge
Hilton, Derby, De65 5Ga
United Kingdom


Bpdi Inc
3831 E Grove St
Phoenix, AZ 85040


Bpi Outdoors
P.O. Box 535116
Atlanta, GA 30353‐5116


Bp‐Lighting Sound   Video
7200 Polar Bear
San Antonio, TX 78238


Bpo Elks 15
National Capital Area Council 082
5 Taft Ct
Rockville, MD 20850


Bpo Elks 15
National Capital Area Council 082
6012 Willow Hill Ln
Rockville, MD 20855


Bpo Elks 15 Washington Rockville
National Capital Area Council 082
5 Taft Ct
Rockville, MD 20850
Bpo Elks 1929
Las Vegas Area Council 328
716 S Laguna Ave
Parker, AZ 85344


Bpo Elks 2250
Overland Trails 322
820 Ave J
Cozad, NE 69130


Bpo Elks 684
National Capital Area Council 082
289 Willowdale Dr
Frederick, MD 21702


Bpo Elks Lodge 122
Norwela Council 215
310 E Preston Ave
Shreveport, LA 71105


Bpo Elks Lodge 1565‐Huntington
Suffolk County Council Inc 404
195 Main St
Huntington, NY 11743


Bpo Elks Lodge 1625
W.L.A.C.C. 051
240 E Ave K
Lancaster, CA 93535


Bpo Elks Lodge 1815 Berea
Lake Erie Council 440
626 N Rocky River Dr
Berea, OH 44017


Bpo Elks Lodge 1825
Inland Nwest Council 611
111 S Meadow St
Grangeville, ID 83530


Bpo Elks Lodge 1930
Grand Columbia Council 614
814 N Stratford Rd
Bpo Elks Lodge 1930
Moses Lake, WA 98837


Bpo Elks Lodge 2036 Smithtown
Suffolk County Council Inc 404
120 Edgewood Ave
Smithtown, NY 11787


Bpo Elks Lodge 2132
Garden State Council 690
P.O. Box 235
Clayton, NJ 08312


Bpo Elks Lodge 2138
Suffolk County Council Inc 404
P.O. Box 602
41 Horseblock Rd
Centereach, NY 11720


Bpo Elks Lodge 2515
Monmouth Council, Bsa 347
Ramtown Greenville
Road
Howell, NJ 07731


Bpo Elks Lodge 2656 ‐ Buckhorn
Grand Canyon Council 010
6718 E Avalon St
Mesa, AZ 85205


Bpo Elks Lodge 2809
Grand Canyon Council 010
P.O. Box 2809
Globe, AZ 85502


Bpo Elks Lodge 335
Grand Canyon Council 010
14424 N 32nd St
Phoenix, AZ 85032


Bpo Elks Lodge 368
Crossroads of America 160
P.O. Box 68
Elwood, IN 46036


Bpo Elks Lodge 41
Iroquois Trail Council 376
6791 N Canal Rd
P.O. Box 395
Lockport, NY 14095


Bpo Elks Lodge 499
Grand Canyon Council 010
2101 N San Francisco St
Flagstaff, AZ 86001


Bpo Elks Lodge 810
Great Lakes Fsc 272
2100 Scott Lake Rd
Waterford, MI 48328


Bpo Elks Lodge No 391
Simon Kenton Council 441
73 N 3rd St
Newark, OH 43055


Bpo Elks No 6
Golden Empire Council 047
6446 Riverside Blvd
Sacramento, CA 95831


Bpo Elks, Lodge 2237
Northern New Jersey Council, Bsa 333
405 Bowden Rd
Cedar Grove, NJ 07009


Bpo Elks, Union Lodge 1583
Patriots Path Council 358
281 Chestnut St
Union, NJ 07083


Bpoe 2348 Lodge
Longhouse Council 373
3730 Cold Springs Rd
Baldwinsville, NY 13027


Bpoe 1247
Crater Lake Council 491
601 Main St
Klamath Falls, OR 97601


Bpoe 1376
Inland Nwest Council 611
30196 Hwy 200
Sandpoint, ID 83864


Bpoe 1600 State College Elks
Juniata Valley Council 497
P.O. Box 8
300 Cirville Rd
Boalsburg, PA 16827


Bpoe 1632
Montana Council 315
421 2nd St Ne
Cut Bank, MT 59427


Bpoe 1786
Golden Empire Council 047
P.O. Box 469
Willows, CA 95988


Bpoe 1929
Las Vegas Area Council 328
716 S Laguna Ave
Parker, AZ 85344


Bpoe 2072
Twin Rivers Council 364
1 Elks Ln
Keeseville, NY 12944


Bpoe 239
Montana Council 315
223 Main St
Anaconda, MT 59711


Bpoe 2427 Elks
Northern Star Council 250
720 Hwy 7 E
Hutchinson, MN 55350


Bpoe 2481/Methodist Men
Laurel Highlands Council 527
1638 Memorial Dr
Oakland, MD 21550


Bpoe 916
Green Mountain 592
925 N Ave
Burlington, VT 05408


Bpoe Aurora Lodge 1921
Denver Area Council 061
560 Geneva St
Aurora, CO 80010


Bpoe Bend 1371
Crater Lake Council 491
63120 Boyd Acres Rd
Bend, OR 97701


Bpoe Elks 1554
Montana Council 315
P.O. Box 505
Dillon, MT 59725


Bpoe Elks Lodge 1272 Cambridge Md
Del Mar Va 081
P.O. Box 381
Cambridge, MD 21613


Bpoe Elks Lodge 1622
Del Mar Va 081
502 Dutchmans Ln
Easton, MD 21601
Bpoe Elks Lodge 1903 Dover De
Del Mar Va 081
200 Saulsbury Rd
Dover, DE 19904


Bpoe Elks Lodge 2401 Milford De
Del Mar Va 081
18951 Elks Lodge Rd
P.O. Box 63
Milford, DE 19963


Bpoe Elks Lodge 2576 Kent Island Md
Del Mar Va 081
2525 Romancoke Rd
Stevensville, MD 21666


Bpoe Elks Lodge 2645 Ocean City
Del Mar Va 081
13708 Sinepuxent Ave
Ocean City, MD 21842


Bpoe Elks Lodge 817 Salisbury Md
Del Mar Va 081
401 Church Hill Ave
Salisbury, MD 21804


Bpoe Elks Lodge 104
Narragansett 546
141 Pelham St
Newport, RI 02840


Bpoe Elks Lodge 1172
Great Swest Council 412
P.O. Box 814
Tucumcari, NM 88401


Bpoe Elks Lodge 1187
Black Hills Area Council 695 695
3333 Jolly Ln
Rapid City, SD 57703
Bpoe Elks Lodge 1328 San Gabriel
Greater Los Angeles Area 033
1373 E Las Tunas Dr
San Gabriel, CA 91776


Bpoe Elks Lodge 1352
Gulf Stream Council 085
6188 Belvedere Rd
West Palm Beach, FL 33413


Bpoe Elks Lodge 1420
San Diego Imperial Council 049
P.O. Box 1299
Brawley, CA 92227


Bpoe Elks Lodge 1440
Great Swest Council 412
1112 Susan Ave
Gallup, NM 87301


Bpoe Elks Lodge 1611 Cody
Greater Wyoming Council 638
1202 Beck Ave
Cody, WY 82414


Bpoe Elks Lodge 1687
San Diego Imperial Council 049
P.O. Box 1687
2430 S Escondido Blvd
Escondido, CA 92033


Bpoe Elks Lodge 1704
Nevada Area Council 329
P.O. Box 1704
Hawthorne, NV 89415


Bpoe Elks Lodge 1747
Great Swest Council 412
801 Municipal Dr
Farmington, NM 87401


Bpoe Elks Lodge 1772
Great Alaska Council 610
102 Marine Way
Kodiak, AK 99615


Bpoe Elks Lodge 1870
Gulf Stream Council 085
1001 S Kanner Hwy
Stuart, FL 34994


Bpoe Elks Lodge 2011
San Diego Imperial Council 049
901 Elks Ln
Chula Vista, CA 91910


Bpoe Elks Lodge 2051 Montebello
Greater Los Angeles Area 033
506 W Whittier Blvd
Montebello, CA 90640


Bpoe Elks Lodge 2173 Bishopville, Md
Del Mar Va 081
Worcester Hwy
Bishopville, MD 21813


Bpoe Elks Lodge 2297 ‐ Horseheads
Five Rivers Council, Inc 375
Hickory Grove Rd
Horseheads, NY 14845


Bpoe Elks Lodge 2500
Great Swest Council 412
1530 Barbara Loop Se
Rio Rancho, NM 87124


Bpoe Elks Lodge 2540 Cape Henlopen De
Del Mar Va 081
7 Mcintosh Ct
Lewes, DE 19958


Bpoe Elks Lodge 2658
Gulf Stream Council 085
2290 SE Lennard Rd
Port Saint Lucie, FL 34952


Bpoe Elks Lodge 507
Great Swest Council 412
901 E 2nd Ave
Durango, CO 81301


Bpoe Elks Lodge 794
Orange County Council 039
212 S Elk Ln
Santa Ana, CA 92701


Bpoe Elks Lodge 882
St Matthew Lutheran Ch
Blackhawk Area 660
123 N Main St
127 S High St
Galena, Il 61036


Bpoe Elks Lodge 966 San Pedro
Greater Los Angeles Area 033
1748 Cumbre Dr
San Pedro, CA 90732


Bpoe Golden Spike Elks Lodge 719
Trapper Trails 589
1875 W 5200 S
Roy, UT 84067


Bpoe Hb Elks 1959
Orange County Council 039
7711 Talbert Ave
Huntington Beach, CA 92648


Bpoe John Day Lodge 1824
Blue Mountain Council 604
140 NE Dayton St
John Day, OR 97845


Bpoe Lodge ‐ Livonia 2246
Great Lakes Fsc 272
31117 Plymouth Rd
Livonia, MI 48150


Bpoe Lodge 1023
Lakeland Elementary School
Southern Shores Fsc 783
47 Div St
Coldwater, Mi 49036


Bpoe Lodge 1418
Inland Nwest Council 611
628 Main Ave
Saint Maries, ID 83861


Bpoe Lodge 1486,Ossining
Westchester Putnam 388
118 Croton Ave
Ossining, NY 10562


Bpoe Lodge 1558
Conquistador Council Bsa 413
P.O. Box 249
Carlsbad, NM 88221


Bpoe Lodge 1682
Las Vegas Area Council 328
1217 Nevada Hwy
Boulder City, NV 89005


Bpoe Lodge 1941
Northern New Jersey Council, Bsa 333
Foxwood Rd
Mahwah, NJ 07430


Bpoe Lodge 1943
Oregon Trail Council 697
106 S Main St
Myrtle Creek, OR 97457


Bpoe Lodge 2022
Hudson Valley Council 374
P.O. Box 337
Red Hook, NY 12571
Bpoe Lodge 2041
Hudson Valley Council 374
2041 Elks Dr
Nanuet, NY 10954


Bpoe Lodge 2067
Hudson Valley Council 374
P.O. Box 862
2067 Elks Dr
Greenwood Lake, NY 10925


Bpoe Lodge 2609
Hudson Valley Council 374
P.O. Box 47
Wappingers Falls, NY 12590


Bpoe Lodge 275
Hudson Valley Council 374
29 Overocker Rd
Poughkeepsie, NY 12603


Bpoe Lodge 322
Los Padres Council 053
222 Elks Ln
San Luis Obispo, CA 93401


Bpoe Lodge 534‐Red Lodge
Montana Council 315
1114 S Broadway Ave
Red Lodge, MT 59068


Bpoe Lodge 666
Potawatomi Area Council 651
117 N 1st St
Watertown, WI 53094


Bpoe Lodge No 28
Ohio River Valley Council 619
P.O. Box 6849
Wheeling, WV 26003
Bpoe Long Branch Elks 742
Monmouth Council, Bsa 347
150 Garfield Ave
Long Branch, NJ 07740


Bpoe Mobile Lodge 108
Mobile Area Council‐Bsa 004
2671 Dauphin Island Pkwy
Mobile, AL 36605


Bpoe Payson Elks 2154
Grand Canyon Council 010
1206 N Beeline Hwy
Payson, AZ 85541


Bpoe Placerville Lodge 1712
Golden Empire Council 047
3821 Quest Ct
Cameron Park, CA 95682


Bpoe Placerville Lodge 1712
Golden Empire Council 047
3821 Quest Ct
Shingle Springs, CA 95682


Bpoe Red Hook‐Rhinebeck Lodge 2022
Hudson Valley Council 374
7711 Albany Post Rd
Red Hook, NY 12571


Bpoe Redondo Beach Lodge 1378
Greater Los Angeles Area 033
315 Esplanade
Redondo Beach, CA 90277


Bpoe Stuart‐Jensen Beach Lodge 1870
Gulf Stream Council 085
1001 S Kanner Hwy
Stuart, FL 34994


Bpoe Walterboro Lodge 1988
Coastal Carolina Council 550
236 Milestone Ln
Walterboro, SC 29488


Bpoe Warrensburg 673
Heart of America Council 307
822 E Young Ave
Warrensburg, MO 64093


Bpoe Weehawken Lodge 1456
Northern New Jersey Council, Bsa 333
2 50th St
Weehawken, NJ 07086


Bpoe‐Elks Lodge 590
Hawkeye Area Council 172
637 Foster Rd
Iowa City, IA 52245


Bpoe‐Walnut Creek Elks Lodge 1811
Mt Diablo‐Silverado Council 023
1475 Creekside Dr
Walnut Creek, CA 94596


Bracewell   Guiliani LLP
106 S Marys St, Ste 800
San Antonio, TX 78205‐3603


Bracken Utd Methodist Church
Alamo Area Council 583
20377 Fm 2252
San Antonio, TX 78266


Brad Bodoh
Address Redacted


Brad Burge
Address Redacted


Brad Defranceschi
Address Redacted
Brad Haddock
Address Redacted


Brad Johnson
Address Redacted


Brad Larson Media Inc
18 Washington St 241
Canton, MA 02021


Brad Michael Neufeld
Address Redacted


Brad Neufeld
Address Redacted


Brad Triska
Address Redacted


Brad Zeringue
Address Redacted


Bradbury Barrel Co
P.O. Box 129
Bridgewater, ME 04735


Braddock Heights Vol. Fire Dept
National Capital Area Council 082
6715 Jefferson Blvd
Braddock Heights, MD 21714


Braddock Street Utd Methodist Church
Shenandoah Area Council 598
115 Wolfe St
Winchester, VA 22601


Braden Harman
Address Redacted
Bradfield Elementary PTA
Circle Ten Council 571
4300 Sern Ave
Dallas, TX 75205


Bradford Bryant
Address Redacted


Bradford Burr
Address Redacted


Bradford Carr
Address Redacted


Bradford Congregational Church
Green Mountain 592
Main St
Bradford, VT 05033


Bradford County Ems Assoc
Five Rivers Council, Inc 375
29 Vankuren Dr, Ste 2
Towanda, PA 18848


Bradford Elementary PTA
Denver Area Council 061
1 White Oak Dr
Littleton, CO 80127


Bradford Jackson
Address Redacted


Bradford Kurisko
Address Redacted


Bradford Manor Hose Co 4, Inc
Connecticut Yankee Council Bsa 072
85 George St
East Haven, CT 06512
Bradford Nesheim
Address Redacted


Bradford Place Homeowners Assoc
Crossroads of America 160
704 S State Rd 135, Ste D
Box 113
Greenwood, IN 46143


Bradfordwoods Community Church
Laurel Highlands Council 527
P.O. Box 421
4836 Wexford Run Rd
Bradfordwoods, PA 15015


Bradin Baum
Address Redacted


Bradley B Hendricksen
Address Redacted


Bradley Brock
Address Redacted


Bradley Burdick
Address Redacted


Bradley C Bowersox
Address Redacted


Bradley County Fire   Rescue
Cherokee Area Council 556
260 Inman St Se
Cleveland, TN 37311


Bradley D Tilden
Address Redacted
Bradley Elementary School
Buckskin 617
210 Bradley School Rd
Mount Hope, WV 25880


Bradley Falatko
Address Redacted


Bradley Farmer
Address Redacted


Bradley Ferrara
Address Redacted


Bradley Fire Dept
Rainbow Council 702
147 S Michigan Ave
Bradley, IL 60915


Bradley Garner
Address Redacted


Bradley Hagberg
Address Redacted


Bradley Hanson
Address Redacted


Bradley Harris
Address Redacted


Bradley Kane
Address Redacted


Bradley Kosak
Address Redacted


Bradley Lewis
Address Redacted
Bradley Moharter
Address Redacted


Bradley Olson
Address Redacted


Bradley Quentin
Address Redacted


Bradley Riley Jacobs Pc
Attn Todd C. Jacobs
320 W Ohio St, Ste 3w
Chicago, IL 60654


Bradley Roberts
Address Redacted


Bradley S Hove
Address Redacted


Bradley S Pianka
Address Redacted


Bradley Schimmoeller
Address Redacted


Bradley Schlemmer
Address Redacted


Bradley Schott
Address Redacted


Bradley Smith
Address Redacted


Bradley Steele
Address Redacted
Bradley Thompson
Address Redacted


Bradley University
Attn Sandra Fay Student Finance Manager
1501 W Bradley Ave
Peoria, IL 61625


Bradley Utd Methodist Church
Crossroads of America 160
210 W Main St
Greenfield, IN 46140


Bradley Walden
Address Redacted


Bradley Weaver
Address Redacted


Bradly Wilson
Address Redacted


Brady J Richards
Address Redacted


Brady Taylor
Address Redacted


Braedon Greenwood   Eugene W Ellison Law
Office of Eugene Ellison
203 Exec Park
Asheville, NC 28801


Braedon L Higby
Address Redacted


Braeside Holdings, LLC
795 Bartlett Ave
Antioch, IL 60002


Brain Cable Inc
P.O. Box 184
Bloomington, IN 47402‐0184


Brain Freeze Events Inc
12114 S Pipeline Rd
Euless, TX 76040


Brainard Lodge 102
Connecticut Rivers Council, Bsa 066
Brainard Lodge 102
P.O. Box 1715
Niantic, CT 06357


Brainchain
7335 Inwood Rd
Dallas, TX 75209


Brainerd High School Rotc
Cherokee Area Council 556
1020 N Moore Rd
Chattanooga, TN 37411


Brainerd Utd Methodist Church
Cherokee Area Council 556
4315 Brainerd Rd
Chattanooga, TN 37411


Brainshark Inc
P.O. Box 200716
Pittsburgh, PA 15251‐0716


Brainstorm Bakery
P.O. Box 925
Ely, MN 55731


Braintree Highlands School PTO
Mayflower Council 251
144 Wildwood Ave
Braintree, MA 02184


Bram L Heilmann
Address Redacted


Brame Specialty Co Inc
P.O. Box 271
Durham, NC 27702


Bramlett Elementary School PTO
Northeast Georgia Council 101
622 Freeman Brock Rd
Auburn, GA 30011


Bramlett Utd Church
Blue Ridge Council 551
2043 Bramlett Church Rd
Gray Court, SC 29645


Bramlett Utd Methodist
Blue Ridge Council 551
2160 Bramlett Church Rd
Gray Court, SC 29645


Branch Township Booster Club
Hawk Mountain Council 528
167 Llewellyn Rd
Llewellyn, PA 17944


Branchburg Police Dept
Patriots Path Council 358
590 Old York Rd
Branchburg, NJ 08876


Branchburg Rotary
Patriots Path Council 358
P.O. Box 5135
North Branch, NJ 08876


Branches, LLC
812 Prospect Court
Osceola, WI 54020‐8163


Branches, LLC
Northern Star Council 250
812 Prospect Ct
Osceola, WI 54020


Branchville American Legion
Patriots Path Council 358
Rt 206 N
Branchville, NJ 07826


Brand 44, LLC
4010 Holly St, Unit 16
Denver, CO 80216


Brand Mktg Int L Limited
3280‐55A Tamiami Trail, Unit 118
Port Charlotte, FL 33952


Brand New Church
Westark Area Council 016
7751 Hwy 7 N
Harrison, AR 72601


Brand Solutions Inc
1801 S Lincoln Ave
Lombard, IL 60148


Brandaris Inc
Trapper Trails 589
1154 Hanline Cir
Kaysville, UT 84037


Branded Emblem Co Inc
7920 Foster
Overland Park, KS 66204


Branden D Palasi
Address Redacted
Brandenburg Utd Methodist Church
Lincoln Heritage Council 205
215 Broadway St
Brandenburg, KY 40108


BrandersCom Inc
Dept Ch 17490
Palatine, IL 60055‐7490


Brandi Bedia
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Brandi D Willett
Address Redacted


Brandi Mantz
Address Redacted


Brandi Willett
Address Redacted


Branding Irons Unlimited
8577 Canoga Ave
Canoga Park, CA 91304


Brandon 86 Rotary Club
Greater Tampa Bay Area 089
P.O. Box 718
Brandon, FL 33509


Brandon A Ruffenach
Address Redacted


Brandon Adkinson
Address Redacted


Brandon Brown
Address Redacted
Brandon Cale
Address Redacted


Brandon Christian Fellowship Inc
Greater Tampa Bay Area 089
P.O. Box 1684
Brandon, FL 33509


Brandon Cicco
Address Redacted


Brandon Dobbins
Address Redacted


Brandon Elks Lodge 2383
Greater Tampa Bay Area 089
800 Centennial Lodge Dr
Brandon, FL 33510


Brandon Fire Relief Assoc
Northern Lights Council 429
P.O. Box 236
Brandon, MN 56315


Brandon First Utd Methodist Church
Andrew Jackson Council 303
205 Mary Ann Dr
Brandon, MS 39042


Brandon Gawel
Address Redacted


Brandon Hart
Address Redacted


Brandon Holt
Address Redacted


Brandon J Easley
Address Redacted


Brandon K Dubois
Address Redacted


Brandon Kleimann
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Brandon Lamar Hill
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Brandon Lewis
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Brandon M Shea
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Brandon M Wilson
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Brandon Martin
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Brandon Matthew Rueger
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Brandon Moffett
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Brandon Morgan
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Brandon Neal
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Brandon Pagan
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Brandon R Weidling
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Brandon Ryan Bodony
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Brandon Smith
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Brandon Stascak
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Brandon Tillman
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Brandon Torralba
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Brandon Vavra
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Brandon Wayne Kincaid
Address Redacted


Brandon West
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Brandt May
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Brandweek
Subscription Service Ctr
P.O. Box 16749
North Hollywood, CA 91615‐9465


Brandy Koenig
Address Redacted
Brandy Runt
Address Redacted


Brandyn Myers
Address Redacted


Branford Fire Dept
Connecticut Yankee Council Bsa 072
45 N Main St
Branford, CT 06405


Brannon Helms
Address Redacted


Brannon Kreis Post 149
The American Legion
Great Smoky Mountain Council 557
202 S Kingston St
Wartburg, Tn 37887


Branson Daybreakers Rotary Club
Ozark Trails Council 306
P.O. Box 7033
Branson, MO 65615


Branson Police Dept
Ozark Trails Council 306
110 W Maddux St, Ste 100
Branson, MO 65616


Branson‐Hollister Lions Club
Ozark Trails Council 306
P.O. Box 1103
Branson, MO 65615


Branson‐Hollister Rotary Club
Ozark Trails Council 306
P.O. Box 6407
Branson, MO 65615
Brant C Reeves
Address Redacted


Brantley Scott
Address Redacted


Bratcher Gockel Law Lc
4014 B S Lynn Ct
Independence, MO 64055


Braulio Villagrana‐Contreras
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Braun Construction Inc
1590 Hwy 1
Ely, MN 55731


Braun Intertec Corp
Nw 7644
P.O. Box 1450
Minneapolis, MN 55485‐7644


Brautigam    Brautigam, LLP
Attn Daryl Brautigam
32 White St
P.O. Box 210
Fredonia, NY 14063


Bravo Productions Entertainment Inc
P.O. Box 670625
Dallas, TX 75367‐0625


Bravo Group Inc
20 N Market Square, Ste 800
Harrisburg, PA 17101


Bravo Signs
P.O. Box 29166
Greensboro, NC 27429
Brawley Police Dept
San Diego Imperial Council 049
351 Main St
Brawley, CA 92227


Braxton Rhodes
Address Redacted


Bray B Barnes
Address Redacted


Brayden Schuyler Boyles
Address Redacted


Brayton PTA
Patriots Path Council 358
10 Myrtle Ave
Summit, NJ 07901


Brazoria Lions Club
Bay Area Council 574
P.O. Box 992
Brazoria, TX 77422


Brazos County Sheriff Office
Sam Houston Area Council 576
300 E 26th St, Ste 105
Bryan, TX 77803


Brazos County Sherriff S Office
Sam Houston Area Council 576
1700 W Hwy 21
Bryan, TX 77803


Brazosport Isd
Bay Area Council 574
P O Drawer Z
Freeport, TX 77541


Bre Solana Holdings LLC
c/o Turley Real Estates Services Inc
P.O. Box 205461
Dallas, TX 75320‐5461


Brea Kiwanis Club
Orange County Council 039
P.O. Box 1372
Brea, CA 92822


Brea Police Dept
Orange County Council 039
1 Civic Center Cir
Brea, CA 92821


Brea Rotary International
Orange County Council 039
P.O. Box 404
Brea, CA 92822


Bread Of Life Lutheran Church
Northern Lights Council 429
1415 17th Ave Sw
Minot, ND 58701


Breaks Interstate Park
Sequoyah Council 713
P.O. Box 100
Breaks, VA 24607


Breana J Scott
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Breanna J Mills
Address Redacted


Breanna Mayo
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Breanne Goodrich
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Breath Of Life Evangelistic Outreach
Circle Ten Council 571
2411 Birmingham Ave
Dallas, TX 75215


Breathing Air Concepts
103680 Overseas Hwy
Key Largo, FL 33037


Breck Dokken
Address Redacted


Breckenridge First Umc
Water and Woods Council 782
125 3rd St
Breckenridge, MI 48615


Breckenridge Lutheran Church
Northern Lights Council 429
301 6th St N
Breckenridge, MN 56520


Breckenridge Rotary Club
Texas Trails Council 561
P.O. Box 183
Breckenridge, TX 76424


Brecksville Utd Methodist Church
Lake Erie Council 440
65 Public Sq
Brecksville, OH 44141


Brecon Utd Methodist Church
Dan Beard Council, Bsa 438
7388 E Kemper Rd
Cincinnati, OH 45249


Brede Exposition Services‐Phoenix
2501 E Magnolia St
Phoenix, AZ 85034
Breece P Ferrell
Address Redacted


Breedlove Toys    Hobbies
Store 1
123 W 2nd St
Kewanee, IL 61443


Breen S, Inc
dba Breens Hardware    Sporting Goods
115 S Main
Blue Earth, MN 56013


Bremen First Utd Methodist Church
Atlanta Area Council 092
321 Hamilton Ave
Bremen, GA 30110


Bremen High School District 228
Pathway To Adventure 456
15233 Pulaski Rd
Midlothian, IL 60445


Bremen Utd Methodist Church
Lasalle Council 165
302 W Plymouth St
Bremen, IN 46506


Bremen Utd Methodist Church
Simon Kenton Council 441
Mulberry   Walnut St
Bremen, OH 43107


Bremen‐Bethel Presbyterian Church
Simon Kenton Council 441
142 Purvis Ave
Bremen, OH 43107


Bremer Bank/S C Bank
Northern Star Council 250
104 Maple St W
Amery, WI 54001
Bremerton Central Lions Club
Chief Seattle Council 609
P.O. Box 363
Bremerton, WA 98337


Bremerton Elks Lodge 1181
Chief Seattle Council 609
4131 Pine Rd Ne
Bremerton, WA 98310


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Brenda Adams‐John
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Brenda Ann Roos
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Brenda Baker
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Brenda Blanchard
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Brenda Bradford
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Brenda Brannan
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Brenda Brown
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Brenda Browning
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Brenda Bryans
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Brenda Connelly
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Brenda Cook
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Brenda Cornell
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Brenda Crisp
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Brenda Davis
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Brenda Daye‐Wilson
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Brenda Dixon
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Brenda Hansen
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Brenda Hardy
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Brenda Heitkamp
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Brenda Hickey
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Brenda Honeycutt
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Brenda J Ryon
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Brenda Keener
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Brenda Ketchum
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Brenda Mallory
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Brenda Mays
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Brenda Newsome
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Brenda Partain
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Brenda Peede
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Brenda Roos
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Great Lakes Fsc 272
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Detroit, MI 48205


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Brenda Wedding
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Brenda White
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Brenda Zipper
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Brendan A Jordan
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Brendan Canale
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Brendan Cronin
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Brendan O Leary
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Brendan R Ryan
Address Redacted
Brendan R Stockwell
Address Redacted


Brendan Robert Lewis
Address Redacted


Brendan Williams
Address Redacted


Brenden T Godbold
Address Redacted


Brenden W Stoker
Address Redacted


Brenna C Hogan
Address Redacted


Brenna C Lanning
Address Redacted


Brenna Emery
Address Redacted


Brennan Woods Backers
Greater St Louis Area Council 312
4630 Brennan Rd
High Ridge, MO 63049


Brenntag Mid‐South Inc
3796 Reliable Pkwy
Chicago, IL 60686‐0037


Brent Bowman
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Brent Enwright
Address Redacted
Brent Harty
Address Redacted


Brent Hatch
Address Redacted


Brent Hortze
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Brent Nicolai
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Brent Robbins
Address Redacted


Brent Stringham
Address Redacted


Brent Washington
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Brentfield Citizens For Scouting
Circle Ten Council 571
17204 Graystone Dr
Dallas, TX 75248


Brentford AL Auxiliary‐Mellette
Sioux Council 733
39315 152Nd St
Mellette, Sd 57461


Brenton Nielson
Address Redacted


Brentsville Hs PTAC
National Capital Area Council 082
12109 Aden Rd
Nokesville, VA 20181
Brentwood Baptist Church
Sam Houston Area Council 576
13033 Landmark St
Houston, TX 77045


Brentwood Elementary Ptso
Inland Nwest Council 611
406 W Regina Ave
Spokane, WA 99218


Brentwood Explorers
9100 Brentwood Blvd
Brentwood, CA 94513


Brentwood Fire Dept
Suffolk County Council Inc 404
125 4th St
Brentwood, NY 11717


Brentwood Legion Ambulance
Suffolk County Council Inc 404
29 3rd Ave
Brentwood Legion Ambulance Explorers
Brentwood, NY 11717


Brentwood Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 811
Brentwood, CA 94513


Brentwood Muslim Community Center
Mt Diablo‐Silverado Council 023
7701 Lone Tree Way
Brentwood, CA 94513


Brentwood Ny Islanders Lions Club 42645
Suffolk County Council Inc 404
P.O. Box 577
Brentwood, NY 11717


Brentwood Police Dept
Mt Diablo‐Silverado Council 023
9100 Brentwood Blvd
Brentwood, CA 94513


Brentwood Presbyterian Church
W.L.A.C.C. 051
12000 San Vicente Blvd
Los Angeles, CA 90049


Brentwood Ufsd
Suffolk County Council Inc 404
52 3rd Ave
Brentwood, NY 11717


Brentwood Ufsd ‐ West Middle School
Suffolk County Council Inc 404
2030 Udall Rd
Bay Shore, NY 11706


Brentwood Ufsd‐ North Middle School
Suffolk County Council Inc 404
350 Wicks Rd
Brentwood, NY 11717


Brentwood Ufsd‐ South Middle School
Suffolk County Council Inc 404
785 Candlewood Rd
Brentwood, NY 11717


Brentwood Utd Methodist Church
Middle Tennessee Council 560
309 Franklin Rd
Brentwood, TN 37027


Bressco
Dba Shippers Supply Custom Pack
405 8th St Se, Unit 5
Loveland, CO 80537


Bret Bockelman
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Bret Harte Elementary School
San Francisco Bay Area Council 028
1035 Gilman Ave
San Francisco, CA 94124


Bret Miller
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Breton Downs PTO
President Gerald R Ford 781
2500 Boston St Se
Grand Rapids, MI 49506


Brett Beck
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Brett Brown Dds Md PC
Cascade Pacific Council 492
1660 NW Eliza Ct
Albany, OR 97321


Brett Bybee
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Brett Dean
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Brett H. Oppenheimer Attorney At Law
Attn Brett H. Oppenheimer
222 E Witherspoon St, Ste 401
Louisville, KY 40202


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Brett Matherly
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Brett Meckley
Address Redacted


Brett Smiley
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Brett W Luce
Address Redacted


Brett Wells
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Brevard College
Attn Office of Financial Aid
One Brevard College Dr
Brevard, NC 28712


Brevard County Sheriffs Office
Central Florida Council 083
700 S Park Ave
Titusville, FL 32780


Brevard First Utd Methodist Church
Daniel Boone Council 414
325 N Broad St
Brevard, NC 28712


Brevard Group Treatment Home
Central Florida Council 083
3905 Grissom Pkwy
Cocoa, FL 32926


Brewer   Co Of Wv Inc
3601 7th Ave
Charleston, WV 25387‐2235


Brewer Blackbird Homeschool
Capitol Area Council 564
16801 Brewer Blackbird Dr
Pflugerville, TX 78660
Brewer Co Inc
P.O. Box 3449
Huntersville, NC 28070‐3449


Brewer First Utd Methodist Church
Katahdin Area Council 216
40 S Main St
Brewer, ME 04412


Brewerton Parent Teachers Organization
Longhouse Council 373
Brewerton Elementary School
Us Route 11
Brewerton, NY 13029


Brewerton Vol Fire Dept
Longhouse Council 373
P.O. Box 629
Brewerton, NY 13029


Brewster Baptist Church
Cape Cod and Islands Cncl 224
1848 Main St
Brewster, MA 02631


Brewster Lions Club
Coronado Area Council 192
320 Illinois
Brewster, KS 67732


Brewster Lions Club
Westchester Putnam 388
3 Rocco Dr
Brewster, NY 10509


Brewster Lodge Of Elks 2101
Westchester Putnam 388
P.O. Box 376
1430 Route 22
Brewster, NY 10509


Brewster Police Assoc
Cape Cod and Islands Cncl 224
Rt 124
Brewster, MA 02631


Brewton First Utd Methodist Church
Gulf Coast Council 773
P.O. Box 289
Brewton, AL 36427


Brian A Seibert
Address Redacted


Brian A Sens
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Brian Adams
Address Redacted


Brian Allen
Address Redacted


Brian Allen Hacker
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Brian Alpaugh
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Brian Arave
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Brian Archimbaud
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Brian Arenella
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Brian Asbury
Address Redacted
Brian Averna Catering Inc
70 Bradley Rd
Woodbridge, CT 06525


Brian Ayers
Address Redacted


Brian Beddow
Address Redacted


Brian Bentrop
Address Redacted


Brian Bishop
Address Redacted


Brian Blachly
Address Redacted


Brian Bramble
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Brian Brown
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Brian Buchanan
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Brian Carl
Address Redacted


Brian Cowley
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Brian Curtis
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Brian David Towne
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Brian Debease
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Brian Defazio
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Brian Doehner
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Brian Dungan
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Brian E Collord
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Brian English
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Brian Estler
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Brian Falin
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Brian Fasci
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Brian Feick
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Brian Gibson
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Brian Glass
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Brian Gorman
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Brian Granger
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Brian Gray
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Brian Hall
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Brian Halloran
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Brian Henry Dvorak
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Brian Hess
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Brian Hodgson
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Brian Holt
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Brian J Hudgins
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Brian J Jordan
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Brian J Stokes
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Brian J Stuhlmiller
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Brian James Feezle
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Brian Jeffery Chiko
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Brian K Leech
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Brian Killebrew
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Brian Lamirande
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Brian Landi
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Brian Lechner
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Brian Lenhart
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Brian Linkous
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Brian Logue
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Brian Lynn
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Brian Mahany Photography Inc
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Brian Martin
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Brian Matthew Bittner
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Brian Mccabe
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Brian Mcguire
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Brian Mcintyre
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Brian Michelli
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Brian Miller
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Brian Morrissey
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Brian Nastase
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Brian Parker
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Brian Patterson
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Brian Payne
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Brian Porter
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Brian Potts
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Brian Pugmire
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Brian R Billings
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Brian R Daugherty
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Brian R Shea
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Brian Redmond
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Brian Reilly
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Brian Robb
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Brian Russ
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Brian S Safe House
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Brian Sens
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Brian Shankey
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Brian Sheets
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Brian Smith
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Brian Spiegel
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Brian Steger
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Brian Stucki
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Brian Sutilla
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Brian Sweeney
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Brian Swerine
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Brian T Cabanban
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Brian Taylor
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Brian Texter
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Brian Tobler
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Brian Tucker
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Brian Uhlenhopp
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Brian Wallace
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Brian Weigel
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Brian Wheeler
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Brian White
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Brian Wilfong
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Brian Williams
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Brian Wilson
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Briana L Chee
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Brianna Ellis
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Brianna Lane
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Brianna Lee Young
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Brianna M Schultz
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Brianna Neal
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Briar Cooper
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Three Fires Council 127
1800 Briarcliffe Blvd
Wheaton, IL 60189


Briarcliff Congregational Church
Westchester Putnam 388
30 S State Rd
Briarcliff Manor, NY 10510


Briarcliff Manor Fire Dept
Westchester Putnam 388
1111 Pleasantville Rd
Briarcliff Manor, NY 10510


Briarwood Baptist Church
Northeast Georgia Council 101
1990 Robinhood Rd
Watkinsville, GA 30677


Briarwood Baptist Church
Northeast Georgia Council 101
P.O. Box 122
Watkinsville, GA 30677


Briarwood Parent Teacher Organization
Heart of America Council 307
14101 S Brougham Dr
Olathe, KS 66062


Brice A Metzger
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Brice Prairie Conservation Assoc
Gateway Area 624
County Hwy Z
Onalaska, WI 54650


Brice Prairie Lions Club
Gateway Area 624
N5753 County Rd Ot
Onalaska, WI 54650


Brice Utd Methodist Church
Simon Kenton Council 441
3160 Brice Rd
Brice, OH 43109


Briceville Elementary School PTO
Great Smoky Mountain Council 557
103 Slatestone Rd
Briceville, TN 37710


Brick   Stone Graphics
10310 Plano Rd, Ste B
Dallas, TX 75238


Brick Avon Academy
Northern New Jersey Council, Bsa 333
219 Avon Ave
Newark, NJ 07108


Brick Church Of The Brethren
Blue Ridge Mtns Council 599
2363 Brick Church Rd
Rocky Mount, VA 24151


Brick Huffman
Address Redacted


Brick Presbyterian Church
Jersey Shore Council 341
111 Drum Point Rd
Brick, NJ 08723


Brick Reformed Church
Hudson Valley Council 374
P.O. Box 114
Montgomery, NY 12549


Bricks R Us
201 S Biscayne Blvd, 28th Fl
Miami, FL 33131


Bricks R Us, Inc
Miami Ctr
201 S Biscayne Blvd, 28th Fl
Miami, FL 33131


Bricolage Academy
Southeast Louisiana Council 214
3368 Esplanade Ave
New Orleans, LA 70119


Bridal Blooms
Attn Kelly Norvell
5009 Mlk Frwy
Ft Worth, TX 76119


Bridge Brands Chocolate
Attn Katrina Duffy
286 12th St
San Francisco, CA 94103


Bridge Brew Works LLC
335 Nick Rahall Greenway
Fayetteville, WV 25840


Bridge Community Church
Pine Burr Area Council 304
16121 Lorraine Rd
Biloxi, MS 39532


Bridge Day
310 Oyler Ave
Oak Hill, WV 25901


Bridge Gate Community School
Simon Kenton Council 441
4060 Sullivant Ave
Columbus, OH 43228


Bridge To Grace Church
Atlanta Area Council 092
2385 Holcomb Bridge Rd
Roswell, GA 30076


Bridgepoint Elementary Boosters
Capitol Area Council 564
6401 Cedar St
Austin, TX 78746


Bridgepointe
Great Lakes Fsc 272
21800 Haggerty Rd, Ste 205
Northville, MI 48167


Bridgeport Community Church
Water and Woods Council 782
P.O. Box 541
3821 State St
Bridgeport, MI 48722


Bridgeport Elementary School
Crossroads of America 160
9035 W Morris St
Indianapolis, IN 46231


Bridgeport Equipment   Tool
6777 Merritts Creek Rd
Hunington, WV 25702


Bridgeport Gun Club   Vfw Post 9931
Water and Woods Council 782
3265 Roselle Dr
Saginaw, MI 48601


Bridgeport Lions Club
Longs Peak Council 062
P.O. Box 430
Bridgeport, NE 69336


Bridgeport Volunteer Fire Dept
Garden State Council 690
P.O. Box 488
Bridgeport, NJ 08014


Bridger P Zadina
Address Redacted


Bridger Utd Methodist Church
Montana Council 315
222 N Broadway
Bridger, MT 59014


Bridges Of Hope Fellowship
Middle Tennessee Council 560
4023 Smithville Hwy
Mcminnville, TN 37110


Bridgestone Hoa
Sam Houston Area Council 576
4518 Shalom Creek Ln
Spring, TX 77388


Bridget Capen
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Bridget Knight
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Bridget Mcmahon
Address Redacted


Bridget Word‐Cunningham
Address Redacted


Bridgeton Police Dept
Garden State Council 690
330 Fayette St
Bridgeton, NJ 08302


Bridgeton Police Dept
Greater St Louis Area Council 312
12355 Natural Bridge Rd
Bridgeton, MO 63044


Bridgetown Middle School PTA
Dan Beard Council, Bsa 438
5191 Clearlake Dr
Cincinnati, OH 45247


Bridgette Allen‐Williams
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Bridgette Lester
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Bridgette Olson
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Bridgette Renee Allen‐Williams
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Bridgeview Parent Teachers Assoc
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316 S 12th St
Le Claire, IA 52753


Bridgeview Park District
Pathway To Adventure 456
8100 Beloit Ave
Bridgeview, IL 60455


Bridgewater Church Of The Brethren
Stonewall Jackson Council 763
420 College View Dr
Bridgewater, VA 22812


Bridgewater Citizens Group
Daniel Webster Council, Bsa 330
Rfd 2
Bridgewater, NH 03264


Bridgewater Fire Rescue And Ems
Daniel Webster Council, Bsa 330
311 Mayhew Tpke
Bristol, NH 03222


Bridgewater Middle School Ptsa
Central Florida Council 083
5600 Tiny Rd
Winter Garden, FL 34787


Bridgeway Community Church
Baltimore Area Council 220
9189 Red Branch Rd
Columbia, MD 21045


Bridgeway Solutions, Inc
600 E Union St
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Bridgewood Church
Northern Star Council 250
6201 W 135th St
Savage, MN 55378


Bridgeworks Ii LLC
Attn Debra Arbit
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Minneapolis, MN 55305


Bridgitt Cornish
Address Redacted


Bridgton Lions Club
Pine Tree Council 218
P.O. Box 103
Bridgton, ME 04009
Brielle Fire Co No 1
Monmouth Council, Bsa 347
508 Longstreet Ave
Brielle, NJ 08730


Brien Allardice
Address Redacted


Briensburg Utd Methodist Church
Lincoln Heritage Council 205
1908 Briensburg Rd
Benton, KY 42025


Brigade Boys And Girls Club
East Carolina Council 426
323 New River Dr
Jacksonville, NC 28540


Brigadoon Civic League
Tidewater Council 596
1705 Tweed Ct
Virginia Beach, VA 23464


Briggs Corp
P.O. Box 1355
Des Moines, IA 50305‐1355


Briggs, Inc
1501 Broadway
New York, NY 10036


Brigham City Community
Trapper Trails 589
641 E 200 N
Brigham City, UT 84302


Brigham Young University
3371 Wsc
Provo, UT 84602


Brigham Young University
A‐41 Asb
Provo, UT 84602


Brigham Young University
Attn Byu Financial Aid
A‐41 Asb
Provo, UT 84602


Brigham Young University
Attn Byu Scholarships
A‐41 Asb
Provo, UT 84602


Brigham Young University
Attn Office Campus Scholarships
A‐41 Asb
Provo, UT 84602


Brigham Young University    Byu
Dining/Catering Services
A‐153 Asb
Provo, UT 84602‐1128


Brigham Young University Idaho
525 S Center St
Rexburg, ID 83460‐1625


Brigham Young Univ‐Hawaii
Attn Cahsiers Office
55‐220 Kulanui St
Laie, HI 96762


Bright Futures‐Hale Creek
Great Lakes Fsc 272
203 Boone Hall
Ypsilanti, MI 48197


Bright Futures‐Romulus Elementary
Great Lakes Fsc 272
203 Boone Hall
Ypsilanti, MI 48197
Bright Key ‐ Selma Street
Alabama‐Florida Council 003
1501 W Selma St
Dothan, AL 36301


Bright Of America LLC
300 Greenbrier Rd
Summersville, WV 26651


Bright Star Utd Methodist Church
Atlanta Area Council 092
3715 Bright Star Rd
Douglasville, GA 30135


Brightmoor Community Center
Great Lakes Fsc 272
14451 Burt Rd
Detroit, MI 48223


Brighton Elks Lodge 1586
Denver Area Council 061
101 N Main St
Brighton, CO 80601


Brighton Fire Dept Inc
Seneca Waterways 397
3100 E Ave
Rochester, NY 14610


Brighton First Utd Methodist Church
Southern Shores Fsc 783
400 E Grand River Ave
Brighton, MI 48116


Brighton Lions Club
Southern Shores Fsc 783
P.O. Box 99
Brighton, MI 48116


Brighton Masonic Lodge 247
Attn Charitable Giving Committee
Southern Shores Fsc 783
P.O. Box 144
Brighton, MI 48116


Brighton Optimist Club
Southern Shores Fsc 783
P.O. Box 524
Brighton, MI 48116


Brighton Police Dept
Seneca Waterways 397
2300 Elmwood Ave
Rochester, NY 14618


Brighton Rotary Club
Seneca Waterways 397
P.O. Box 18141
Rochester, NY 14618


Brighton Rotary Club
Southern Shores Fsc 783
555 Brighton St
Brighton, MI 48116


Brighton Township Vol Fire Co
Laurel Highlands Council 527
P.O. Box 498
Beaver, PA 15009


Brighton Twp Volunteer Fire Dept
Laurel Highlands Council 527
P.O. Box 498
Beaver, PA 15009


Brighton Utd Methodist Church
Denver Area Council 061
625 S 8th Ave
Brighton, CO 80601


Brightwood Concerned Parents
Greater Los Angeles Area 033
1850 W Hellman Ave
Alhambra, CA 91803


Brightwood Ruritan Club
Stonewall Jackson Council 763
3807 Lillards Ford Rd
Brightwood, VA 22715


Brilliant Utd Methodist Church
Ohio River Valley Council 619
525 Labelle St
Brilliant, OH 43913


Brimfield Evangelical Free Church
W D Boyce 138
11724 N Maher Rd
Brimfield, IL 61517


Brimfield Firefighters Assoc Inc
Western Massachusetts Council 234
34A Wales Rd
Brimfield, MA 01010


Brinnon Community Church
Chief Seattle Council 609
P.O. Box 151
Brinnon, WA 98320


Brinton Environmental Center
23800 Overseas Hwy
Summerland Key, FL 33042


Bristol Broadcasting Co Inc
4250 Washington W
Charleston, WV 25313


Bristol Congregational Church
Pine Tree Council 218
P.O. Box 154
Bristol, ME 04539


Bristol County Sheriffs Office
Narragansett 546
400 Faunce Corner Rd
North Dartmouth, MA 02747


Bristol Elementary PTA
Pikes Peak Council 060
890 N Walnut St
Colorado Springs, CO 80905


Bristol Fire   Rescue
Three Harbors Council 636
8312 198th Ave
Bristol, WI 53104


Bristol Hill Utd Methodist Church
Heart of America Council 307
4826 County Line Rd
Kansas City, KS 66106


Bristol Historical Society
Connecticut Rivers Council, Bsa 066
98 Summer St
Bristol, CT 06010


Bristol Police Dept
Connecticut Rivers Council, Bsa 066
131 N Main St
Bristol, CT 06010


Bristol Township Police Organization
Washington Crossing Council 777
2501 Bath Rd
Bristol, PA 19007


Bristol Train Of Artillery
Narragansett 546
135 State St
Bristol, RI 02809


Bristol Utd Methodist Church
Three Harbors Council 636
3463 213th Ave
Bristol, WI 53104


Bristol Utd Methodist Church‐Wesley
Three Harbors Council 636
8014 199th Ave
Bristol, WI 53104


Bristolville Utd Methodist Church
Great Trail 433
P.O. Box 234
Bristolville, OH 44402


Bristow First Church Of God
Indian Nations Council 488
320 S Walnut St
Bristow, OK 74010


Bristow Run Elementary PTO
National Capital Area Council 082
8990 Worthington Dr
Bristow, VA 20136


British International School
Of Chicago Lincoln Park
Pathway To Adventure 456
714 W Eman St
Chicago, Il 60610


British Intl Sch Charlotte
Mecklenburg County Council 415
7000 Endhaven Ln
Charlotte, Nc 28277


Brittany Bailey
Address Redacted


Brittany Cole
Address Redacted


Brittany Dc Hale
Address Redacted
Brittany Hale
Address Redacted


Brittany Harrison
Address Redacted


Brittany L Trione
Address Redacted


Brittany Stanley
Address Redacted


Brittish Brandenburg
Address Redacted


Britton Elementary PTO
Simon Kenton Council 441
4501 Britton Pkwy
Hilliard, OH 43026


Britton Vincent Iii
Address Redacted


Broad Channel Volunteer Fire District
Greater New York Councils, Bsa 640
15 Noel Rd
Broad Channel, NY 11693


Broad Street Christian Church
Blue Ridge Mtns Council 599
106 Broad St
Martinsville, VA 24112


Broad Street Methodist Church
Blue Ridge Council 551
310 N Broad St
Clinton, SC 29325
Broad Street Methodist Church Mens Club
Cherokee Area Council 556
P.O. Box 3
Cleveland, TN 37364


Broadalbin Memorial Vfw Post 8690
Twin Rivers Council 364
19 Pine St
Broadalbin, NY 12025


Broadcast Music, Inc
320 W 57th St
New York, NY 10019


Broadfording Fellowship Ch, Brethren
Mason Dixon Council 221
14010 Greencastle Pike
Hagerstown, Md 21740


Broadkiln Marina
Del Mar Va 081
13795 Coastal Hwy
Milton, DE 19968


Broadleigh Elementary
Simon Kenton Council 441
3039 Maryland Ave
Columbus, OH 43209


Broadmoor Elementary PTO
Evangeline Area 212
609 Broadmoor Blvd
Lafayette, LA 70503


Broadmoor Golf Club
2340 Broadmoor Dr E
Seattle, WA 98112


Broadmoor Hotel
1 Lake Cir
Colorado Springs, CO 80906
Broadmoor Rotary Club
Pikes Peak Council 060
P.O. Box 1443
Colorado Springs, CO 80901


Broadmoor Utd Methodist Church
Istrouma Area Council 211
10230 Mollylea Dr
Baton Rouge, LA 70815


Broadmoor Utd Methodist Church
Norwela Council 215
3715 Youree Dr
Shreveport, LA 71105


Broadmoor Village Florist
9726‐ A Florida Blvd
Baton Rouge, LA 70815


Broadneck Scouting Assoc, Inc
Baltimore Area Council 220
P.O. Box 969
Severna Park, MD 21146


Broadview Fire Dept
Pathway To Adventure 456
2400 S 25th Ave
Broadview, IL 60155


Broadview Networks
P.O. Box 9242
Uniondale, NY 11555‐9242


Broadway Presbyterian Church
Greater New York Councils, Bsa 640
601 W 114th St
New York, NY 10025


Broadway Utd Methodist Church
Buckeye Council 436
120 Church Ave Se
New Philadelphia, OH 44663


Broadway Utd Methodist Church
Great Smoky Mountain Council 557
309 E Broadway Ave
Maryville, TN 37804


Broadway Utd Methodist Church
Heart of America Council 307
406 W 74th St
Kansas City, MO 64114


Broadway Utd Methodist Church
Mid‐America Council 326
11 S 1st St
Broadway Methodist Church
Council Bluffs, IA 51503


Broadway‐Timberville Ruritan Club
Stonewall Jackson Council 763
P.O. Box 64
Broadway, VA 22815


Brochureholders4U.Com
2410 W 3rd St
Santa Ana, CA 92703


Brock Bigsby
Address Redacted


Brock Smith
Address Redacted


Brock Utd Methodist Church
Longhorn Council 662
127 Lazy Bend Rd
Brock, TX 76087


Brockette Davis Drake, Inc
Civil   Structural Engineering
4144 N Central Exwy, Ste 1100
Dallas, TX 75204


Brockport Fire Dept
Seneca Waterways 397
38 Market St
Brockport, NY 14420


Brockport Police Dept
Seneca Waterways 397
1 Clinton St
Brockport, NY 14420


Brockport Utd Methodist Church
Seneca Waterways 397
92 Main St
Brockport, NY 14420


Brocks Riverside Grill
1325 W Walnut Hill Ln
Irving, TX 75015‐2079


Brockway Township Fire Dept
Water and Woods Council 782
7644 Brockway Rd
Brockway, MI 48097


Brodart Co
L‐3544
Columbus, OH 43260‐0001


Broder Bros. Corp
Dba Alphabroder
P.O. Box 13559
Newark, NJ 07188‐0559


Brodnax Printing Co LLC
737 Regal Row
Dallas, TX 75247


Brogden Methodist Church
Tuscarora Council 424
2918 S US 117 Hwy
Dudley, NC 28333


Brogden Primary School
Tuscarora Council 424
2253 Old Mount Olive Hwy
Dudley, NC 28333


Brogden Utd Methodist Church
Tuscarora Council 424
2918 US Hwy 13 S
Dudley, NC 28333


Broken Arrow Army‐Navy Surplus
1113 E Kenosha
Broken Arrow, OK 74012


Broken Arrow Elementary PTA
Heart of America Council 307
5901 Alden St
Shawnee, KS 66216


Broken Arrow Elks Lodge 2673
Indian Nations Council 488
10266 S 241st E Ave
Broken Arrow, OK 74014


Broken Now Elks 1688
Overland Trails 322
625 S 10th Ave
Broken Bow, NE 68822


Bromenn Healthcare Hospice Services
1322 S Main St
Normal, IL 61761


Bronson First Utd Methodist Church
Southern Shores Fsc 783
312 E Chicago St
Bronson, MI 49028
Bronx County District Attorney S Office
Greater New York Councils, Bsa 640
198 E 161st St
Bronx, NY 10451


Bronx Devt   Enrichment Initiative
Greater New York Councils, Bsa 640
576 E 165Th St
Bronx, Ny 10456


Bronxville Group Of Citizens
Westchester Putnam 388
1820 Midland Ave
Bronxville, NY 10708


Bronxville Scout Committee, Inc
Westchester Putnam 388
P.O. Box 630
Bronxville, NY 10708


Bronze Conservation Services LLC
7324 Gaston Ave, Ste 124‐400
Dallas, TX 75214


Bronze Services Of Loveland, Inc
144 2nd St Se
Loveland, CO 80537


Brook Crossing Estates Homeowners Assn
Three Fires Council 127
P.O. Box 2953
Naperville, IL 60567


Brook Hill Utd Methodist Church
National Capital Area Council 082
8946 Indian Springs Rd
Frederick, MD 21702


Brook Hollow Christian Church
Texas Trails Council 561
2310 S Willis
Abilene, TX 79605
Brook Park Council
Pathway To Adventure 456
1214 Raymond Ave
La Grange Park, IL 60526


Brook Utd Methodist Church
Sagamore Council 162
124 E Main St
Brook, IN 47922


Brookdale Uni Hospital Med Ctr
Greater New York Councils, Bsa 640
1 Brookdale Plz
Brooklyn, Ny 11212


Brooke Johnson
Address Redacted


Brooke L Tellef
Address Redacted


Brooke N Hodgson
Address Redacted


Brooke Parkinson
Address Redacted


Brooke R Waterman
Address Redacted


Brooke Rental Center Inc
321 Mill St Ne
Vienna, VA 22180


Brooke Sheree Parkinson
Address Redacted


Brooke Sophia Emily Alexander
Address Redacted


Brooke Watson
Address Redacted


Brookfield ‐ Congregational Church
Heart of New England Council 230
8 Common St
Brookfield, MA 01506


Brookfield Academy
Potawatomi Area Council 651
3460 N Brookfield Rd
Brookfield, WI 53045


Brookfield Jaycees
Potawatomi Area Council 651
P.O. Box 135
Brookfield, WI 53008


Brookfield Rotary Club
French Creek Council 532
P.O. Box 88
Brookfield, OH 44403


Brookfield Swimming Club
National Capital Area Council 082
P.O. Box 220067
Chantilly, VA 20153


Brookhaven College
Circle Ten Council 571
3939 Valley View Ln
Farmers Branch, TX 75244


Brookhaven Community Assoc
Mountaineer Area 615
1186 E 2nd St
Morgantown, WV 26508


Brookhaven Police Dept
Atlanta Area Council 092
2665 Buford Hwy Ne
Atlanta, GA 30324


Brookings Elks Lodge 1934
Oregon Trail Council 697
800 Elk Dr
Brookings, OR 97415


Brookings Harbor Lions Club
Oregon Trail Council 697
524 Pine St A
Brookings, OR 97415


Brookland Baptist Church
Indian Waters Council 553
1066 Sunset Blvd
West Columbia, SC 29169


Brookland Volunteer Fire Dept
Quapaw Area Council 018
P.O. Box 396
Brookland, AR 72417


Brookland Volunteer Fire Dept Auxiliary
Quapaw Area Council 018
P.O. Box 369
Brookland, Ar 72417


Brooklawn Fire Co
Garden State Council 690
100 S Wilson Ave
Brooklawn, NJ 08030


Brooklawn Youth Services
Lincoln Heritage Council 205
2125 Goldsmith Ln
Louisville, KY 40218


Brooklet Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 296
Park Ave
Brooklet, GA 30415


Brooklyn Center Police Dept
Northern Star Council 250
6645 Humboldt Ave N
Brooklyn Center, MN 55430


Brooklyn Chinese American Assoc
Greater New York Councils, Bsa 640
5000 8th Ave
Brooklyn, NY 11220


Brooklyn Chinese American Assoc
Greater New York Councils, Bsa 640
5002 8th Ave
Brooklyn, NY 11220


Brooklyn Elementary School PTO
Hoosier Trails Council 145 145
251 N Church St
Brooklyn, IN 46111


Brooklyn Fire Dept
Lake Erie Council 440
8400 Memphis Ave
Cleveland, OH 44144


Brooklyn Firefighters Local 1145
Lake Erie Council 440
8400 Memphis Ave
Cleveland, OH 44144


Brooklyn Lanes Bowling Center
Southern Shores Fsc 783
11522 Brooklyn Rd
Brooklyn, MI 49230


Brooklyn Lollipops Import Corm
248 W 35th St, Rm 904
New York, NY 10001
Brooklyn Omalley Recl Center
Baltimore Area Council 220
3560 3rd St
Baltimore, MD 21225


Brooklyn Park Fire Dept
Northern Star Council 250
5700 85th Ave N
Brooklyn Park, MN 55443


Brooklyn Park Police Dept
Northern Star Council 250
5400 85th Ave N
Brooklyn Park, MN 55443


Brooklyn Sportsmans Club
Southern Shores Fsc 783
P.O. Box 713
Brooklyn, MI 49230


Brooklyn Usd 88
Greater St Louis Area Council 312
800 Madison St
Lovejoy, IL 62059


Brooklyn Utd Methodist Church
Glaciers Edge Council 620
201 Church St
Brooklyn, WI 53521


Brooklyn Utd Methodist Church
Northern Star Council 250
7200 Brooklyn Blvd
Brooklyn Center, MN 55429


Brooklyn Volunteer Fire Dept Inc
Hoosier Trails Council 145 145
P.O. Box 27
10 N Main St
Brooklyn, IN 46111
Brooklynn E Durst
Address Redacted


Brookpark Utd Methodist Church
Lake Erie Council 440
6220 Smith Rd
Brook Park, OH 44142


Brooks Academies
Alamo Area Council 583
6070 Babcock Rd
San Antonio, TX 78240


Brooks Diversified Systems
c/o Morris Brooks
P.O. Box 1988
Cedar Hill, TX 75106


Brooks School Elementary PTO
Crossroads of America 160
12451 Brooks School Rd
Fishers, IN 46037


Brooks Sutor
Address Redacted


Brooks Utd Methodist Church
Flint River Council 095
P.O. Box 57
119 Morgan Mill Rd
Brooks, GA 30205


Brookside Baptist Church
Indian Nations Council 488
3615 S Peoria Ave
Tulsa, OK 74105


Brookside Community Church
Anthony Wayne Area 157
6102 Evard Rd
Fort Wayne, IN 46835
Brookside Elementary PTA
Simon Kenton Council 441
6700 Mcvey Blvd
Brookside Elementary Pta
Columbus, OH 43235


Brookside School
Connecticut Yankee Council Bsa 072
382 Highland Ave
Norwalk, CT 06854


Brookside Utd Methodist Church
Southern Shores Fsc 783
4000 Francis St
Jackson, MI 49203


Brookside Village Volunteer Fire Dept
Bay Area Council 574
6243 Brookside Rd
Pearland, TX 77581


Brookston Utd Methodist Church
Sagamore Council 162
328 N Wood St
Brookston, IN 47923


Brooksville Utd Methodist Church
Blue Grass Council 204
P.O. Box 145
Brooksville, KY 41004


Brookview Elementary
Atlanta Area Council 092
3250 Hammarskjold Dr
East Point, GA 30344


Brookview School PTO
Blackhawk Area 660
1750 Madron Rd
Rockford, IL 61107
Brookville Evangelical Utd Methodist Ch
Bucktail Council 509
30 S White St
Brookville, Pa 15825


Brookville First Utd Methodist Church
Miami Valley Council, Bsa 444
963 Salem St
Brookville, OH 45309


Brookville Presbyterian Church
Bucktail Council 509
100 White St
Brookville, PA 15825


Brookville Utd Methodist Church
Crossroads of America 160
150 E 8th St
Brookville, IN 47012


Brookwood Elementary School PTA
Northeast Georgia Council 101
2980 Vaughan Dr
Cumming, GA 30041


Broom Clarkson Lanphier    Yamamoto
Client Trust Account
1722 St Marys Ave, Ste 310
Omaha, NE 68102


Broomfield Utd Methodist Church
Denver Area Council 061
545 W 10th Ave
Broomfield, CO 80020


Brosville Volunteer Fire Dept
Blue Ridge Mtns Council 599
11912 Martinsville Hwy
Danville, VA 24541


Brother William Scott Jr Sigma Beta Club
Garden State Council 690
P.O. Box 341
Willingboro, NJ 08046


Brotherhood First Methodist Church
Middle Tennessee Council 560
3131 Browns Mill Rd
Cookeville, TN 38506


Brotherhood Masonic Lodge 375
Greater Tampa Bay Area 089
8344 Natoma St
Brooksville, FL 34606


Brotherhood Of Congregation Emanuel
Sam Houston Area Council 576
1500 Sunset Blvd
Houston, TX 77005


Brotherhood Of St Johns‐Evangelical
Northern New Jersey Council, Bsa 333
145 Mortimer Ave
Rutherford, NJ 07070


Brotherhood Of Temple Beth Israel
Sam Houston Area Council 576
5600 N Braeswood Blvd, Ste B
Houston, TX 77096


Brotherhood‐Luther Memorial Church
Northern Star Council 250
315 15th Ave N
South St Paul, MN 55075


Brougham Elementary PTO
Heart of America Council 307
15500 S Brougham Dr
Olathe, KS 66062


Brouse, Woodke, Meyer Pllp
Voyageurs Area 286
P.O. Box 1273
Bemidji, MN 56619
Broussard Larriviere Trahan Vfw 9210
Evangeline Area 212
207 Ave B
Youngsville, LA 70592


Broward Electric Car    Equipment
2359 SW 34th St
Ft Lauderdale, FL 33312


Browerville Vets Club
Central Minnesota 296
720 7th St E
Browerville, MN 56438


Brown   Andrews, Inc
dba Stumbaug Drug / Best Disc Phar
2316 34th St
Lubbock, TX 79411


Brown   Bigelow Licensing Co
345 Plato Blvd E
St Paul, MN 55107


Brown   Bigelow, Inc
345 Plate Blvd E
St. Paul, MN 55107


Brown   Bigelow, Inc
345 Plato Blvd E
St. Paul, MN 55107


Brown   Brown Marine
A Div of Brown   Brown of Florida Inc
P.O. Box 5727
Ft Lauderdale, FL 33310‐5727


Brown   James PC
800 Market St, Ste 1100
St Louis, MO 63101
Brown   Ruprecht PC
2323 Grand Blvd, Ste 1100
Kansas City, MO 64108‐2670


Brown   Weinraub Plcc
50 State St, 4th Fl
Albany, NY 12207


Brown City Rotary Club
Water and Woods Council 782
4400 2nd St
Brown City, MI 48416


Brown Deer Elementary PTO
Three Harbors Council 636
5757 W Dean Rd
Brown Deer, WI 53223


Brown Elementary School PTA
Greater Alabama Council 001
4811 Court J
Birmingham, AL 35208


Brown Flying School
6898 N Clinton St
Terre Haute, IN 47809


Brown Memorial Baptist Church
Greater New York Councils, Bsa 640
484 Washington Ave
Brooklyn, NY 11238


Brown Memorial Church
Greater New York Councils, Bsa 640
484 Washington Ave
Brooklyn, NY 11238


Brown Resident Camp
Coronado Area Council 192
1038 1935 Ln
Abilene, KS 67410
Brown S True Value Hardware
Attn A/P
1035 Ct Ave
Marengo, IA 52301


Brown Street Academy
Three Harbors Council 636
2020 N 20th St
Milwaukee, WI 53205


Brown University
Attn Bursar Billing Office
Providence, RI 02912


Brown University
Attn Bursars Office ‐ Salvatore Arello
Cashiers Office Box 1911
Providence, RI 02912


Brown University
Attn Cashiers Office
164 Angell St, Box 1911
Providence, RI 02912


Browne Academy
National Capital Area Council 082
5917 Telegraph Rd
Alexandria, VA 22310


Brownell Parents Group
Water and Woods Council 782
6302 Oxley Dr
Flint, MI 48504


Brownell Talbot School
Mid‐America Council 326
400 N Happy Hollow Blvd
Omaha, NE 68132


Brownells
200 S Front St
Montezuma, IA 50171


Brownells, Inc
3006 Brownells Pkwy
Grinnell, IA 50112


Browning
1 Browning Pl
Morgan, UT 84050


Browning
One Browning Pl
Morgan, UT 84050‐9326


Browning Community Society
Montana Council 315
312 1st Ave Sw
Browning, MT 59417


Browning Elementary
Sam Houston Area Council 576
607 Nwood St
Houston, TX 77009


Browning Kaleczyc Berry      Hoven PC
P.O. Box 1697
Helena, MT 59624


Browns Mills Utd Methodist Church
Garden State Council 690
Browns Mills Rd
2 Pemberton Blvd
Browns Mills, NJ 08015


Browns Point Improvement Club
Pacific Harbors Council, Bsa 612
5125 Tok A Lou Ave Ne
Tacoma, WA 98422


Browns Utd Methodist Church
West Tennessee Area Council 559
181 Mcleary Rd
Jackson, TN 38305


Brownsburg Police Dept
Crossroads of America 160
31 N Green St
Brownsburg, IN 46112


Brownson Memorial Presbyterian Church
Occoneechee 421
330 S May St
Southern Pines, NC 28387


Brownstown Lions Club
Hoosier Trails Council 145 145
206 S Main St
Brownstown, IN 47220


Brownsville 1st Utd Methodist Ch
West Tennessee Area Council 559
117 E Franklin St
Brownsville, Tn 38012


Brownsville Police
Rio Grande Council 775
2900 Smost Rd
Brownsville, TX 78521


Brownville Volunteer Fire Dept
Longhouse Council 373
P.O. Box 264
Brown Blvd
Brownville, NY 13615


Browser Stack Inc
4512 Legacy Dr, Ste 103
Plano, TX 75024


Bruce Air Filter Co
2619 W Blvd
Charlotte, NC 28208
Bruce Alger
Address Redacted


Bruce Bye
Address Redacted


Bruce Collins Elementary PTO
Great Lakes Fsc 272
12900 Grand Haven Dr
Sterling Heights, MI 48312


Bruce Craig Elementary
Tukabatchee Area Council 005
108 Craig Industrial Park
Selma, AL 36701


Bruce Daube
Address Redacted


Bruce Farnsworth
Address Redacted


Bruce Gates
Address Redacted


Bruce Goslowsky
Address Redacted


Bruce Green
Address Redacted


Bruce Grinder
Address Redacted


Bruce Hassy
Address Redacted
Bruce Hoffman
Address Redacted


Bruce Hotchkiss
Address Redacted


Bruce Jewett
Address Redacted


Bruce Kelleher Inc
3246 Garden Brook
Farmers Branch, TX 75234


Bruce Kelleher Inc
dba Bk Companies
14275 Midway Rd, Ste 170
Addison, TX 75001


Bruce Kern
Address Redacted


Bruce Mackenzie
Address Redacted


Bruce Mcdonald Memorial Utd Methodist Ch
Buckskin 617
102 Bridge St
Man, Wv 25635


Bruce Mcmillan Iii
Address Redacted


Bruce Pisel
Address Redacted


Bruce Powdrill
Address Redacted


Bruce Prange
Address Redacted


Bruce Rosenthal
Address Redacted


Bruce S Carpet Care
115 Glade Creek Est Rd
Cool Ridge, WV 25825


Bruce S Mobil Glass   Screen
Greater Yosemite Council 059
110 John Muir Ct
Modesto, CA 95350


Bruce Summers
Address Redacted


Bruce Tuten
Address Redacted


Bruce Vancleve
Address Redacted


Bruce Veach
Address Redacted


Bruce Wasson
Address Redacted


Bruceton Lions Club
West Tennessee Area Council 559
40 Bayless
Bruceton, TN 38317


Bruckner S Truck Sales
2121 NW County Rd
Hobbs, NM 88240


Bruington Baptist Church
Heart of Virginia Council 602
4784 the Trl
Bruington, VA 23023


Brumby Elementary School
Atlanta Area Council 092
1306 Powers Ferry Rd Se
Marietta, GA 30067


Brundage Aviation Inc
2 Airport Rd
Taylor, TX 76574


Brunnsum Scouting Assoc
Transatlantic Council, Bsa 802
Psc 7 Box 374
Apo, AE 09104


Bruno Montesinos Deza
c/o Chesterfield Scout Reservation
22 Sugar Hill Rd
Williamsburg, MA 01096


Brunos Pizza    Wings
668 Cook Ave
Raton, NM 87740


Brunssum Support Group
Transatlantic Council, Bsa 802
Cmr 460
Apo, AE 09703


Brunswick Island Baptist Church
Cape Fear Council 425
1672 Mt Pisgah Rd Sw
Supply, NC 28462


Brunswick Lions Club
National Capital Area Council 082
P.O. Box 31
Brunswick, MD 21716
Brunswick Lodge 2556 Bpoe ‐ Elks
Twin Rivers Council 364
665 Brunswick Rd
Troy, NY 12180


Brunswick Police Dept
Pine Tree Council 218
85 Pleasant St
Brunswick, ME 04011


Brunswick Reformed Church
Great Trail 433
3535 Grafton Rd
Brunswick, OH 44212


Brunswick Sign   Exhibit Corp
1510 Jersey Ave
North Brunswick, NJ 08902


Brunswick Sportsman S Club
Twin Rivers Council 364
P.O. Box 21
Cropseyville, NY 12052


Brunswick Utd Methodist Church
Great Trail 433
P.O. Box 85
Brunswick, OH 44212


Brunton Outdoor
P.O. Box 856834
Minneapolis, MN 55485‐6834


Brush Lions Club
Longs Peak Council 062
2301 Mill St
Brush, CO 80723


Bruton Town Community Center
Blue Ridge Council 551
200 Leo Lewis St
Greenville, SC 29609


Bryan Arrington
Address Redacted


Bryan Bobo
Address Redacted


Bryan Bolding
Address Redacted


Bryan Boyajian
Address Redacted


Bryan Cook
Address Redacted


Bryan D Wursten
Address Redacted


Bryan Davidson
Address Redacted


Bryan Feather
Address Redacted


Bryan Ferryman
Address Redacted


Bryan Fuller
Address Redacted


Bryan Gatto
Address Redacted


Bryan Gilmore
Address Redacted
Bryan Glenn
Address Redacted


Bryan Hall
Address Redacted


Bryan Hayek
Address Redacted


Bryan Heller
Address Redacted


Bryan Hyatt
Address Redacted


Bryan J Martinez Reyes
Address Redacted


Bryan Joseph Christensen
Address Redacted


Bryan Knoblich
Address Redacted


Bryan Knowles
Address Redacted


Bryan Kumzi
Address Redacted


Bryan M Mueller
Address Redacted


Bryan M Stephenson
Address Redacted


Bryan Mcconnell
Address Redacted


Bryan Molter
Address Redacted


Bryan Moore
Address Redacted


Bryan Nowling
Address Redacted


Bryan P Ritchey
Address Redacted


Bryan Patrick Kelly   O Donnell Clark
Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Bryan Richards
Address Redacted


Bryan S Dumesnil
Address Redacted


Bryan Sartin
Address Redacted


Bryan School PTA
Inland Nwest Council 611
802 E Harrison Ave
Coeur D Alene, ID 83814


Bryan Schroeder
Address Redacted


Bryan Smith
Address Redacted
Bryan Stein
Address Redacted


Bryan Thomas
Address Redacted


Bryan Wells
Address Redacted


Bryan Wendell
Address Redacted


Bryan Willey
Address Redacted


Bryan Wursten
Address Redacted


Bryanna Burns
Address Redacted


Bryans Road Lions Club
National Capital Area Council 082
14602 Livingston Rd
Accokeek, MD 20607


Bryant Butler
Address Redacted


Bryant Cromartie
Address Redacted


Bryant Electric Co
194 Marrano Dr
Depew, NY 14043


Bryant Fairley
Address Redacted
Bryant Marion
Address Redacted


Bryant N Ebert
Address Redacted


Bryant S Gipson
Address Redacted


Bryant Sales Co, LLC
P.O. Box 31137
Knoxville, TN 37930‐1137


Bryant School PTO
Water and Woods Council 782
925 Hampton St
Owosso, MI 48867


Bryce A Volk
Address Redacted


Bryce Collins
Address Redacted


Bryce D Etling
Address Redacted


Bryce D Stevens
Address Redacted


Bryce Joseph Marsee
Address Redacted


Bryce Likhite‐Koehler
Address Redacted


Bryce Mccandless
Address Redacted


Bryce P Goodrich
Address Redacted


Bryce Simpson
Address Redacted


Bryce William‐Lee Hanshaw
Address Redacted


Bryker Woods P.T.A.
Capitol Area Council 564
3309 Kerbey Ln
Austin, TX 78703


Bryn Athyn Church
Cradle of Liberty Council 525
P.O. Box 277
600 Tomlinson Rd
Bryn Athyn, PA 19009


Bryn Athyn Church
Cradle of Liberty Council 525
P.O. Box 277
Bryn Athyn, PA 19009


Bryn C Jones
Address Redacted


Bryn Mawr Park Presbyterian Church
Westchester Putnam 388
20 Buckingham Rd
Yonkers, NY 10701


Bryn Mawr Presbyterian Church
Cradle of Liberty Council 525
625 Montgomery Ave
Bryn Mawr, PA 19010
Brynn Fredrickson
Address Redacted


Bryon Haverstick
Address Redacted


Bsa ‐ Greater New York Councils
Camping Services
350 5th Ave, Ste 7820
New York, NY 10118


Bsa 337 Boosters
California Inland Empire Council 045
43820 Alcoba Dr
Temecula, CA 92592


Bsa Asset Management, LLC
1325 W Walnut Hill Lane
Irving, TX 75038


Bsa At Iup
Laurel Highlands Council 527
210 S 10th St
Indiana, PA 15705


Bsa Commingled Endowment Fund, LP
1325 W Walnut Hill Lane
Irving, TX 75038


Bsa D O Liability Ins
1325 W Walnut Hill Ln
Irving, TX 75038


Bsa Employee Master Pension Plan
1325 W Walnut Hill Lane
Irving, TX 75038


Bsa Employee Welfare Benefit Plan
c/o State St Bank   Trust
Quincy, MA 02171
Bsa Employee Welfare Benefits Plan
1325 W Walnut Hill Lane
Irving, TX 75038


Bsa Endowment Master Trust
1325 W Walnut Hill Lane
Irving, TX 75038


Bsa Explorer Post 465
Greater Yosemite Council 059
4030 Kiernan Ave
Modesto, CA 95356


Bsa Florida Sea Base Bpc
P.O. Box 1906
Islamorada, FL 33036


Bsa Gift Annuity Fund
State St Financial Ctr
One Lincoln St
Boston, MA 02111‐2900


Bsa Health System
Golden Spread Council 562
1600 Wakkace Blvd
Amarillo, TX 79106


Bsa Jamboree Depository Acct
P.O. Box 152079
Irving, TX 75015‐2079


Bsa Lifestructures
Crossroads of America 160
9365 Counselors Row
Indianapolis, IN 46240


Bsa Manufacturing
P.O. Box 152079
Irving, TX 75015
Bsa Ner Strategic Plan
P.O. Box 152079
Irving, TX 75015‐2079


Bsa Nova Awards Program Fund
1325 W Walnut Hill Ln
Irving, TX 75038


Bsa Of The Phillippines
181 Natividad Ameda‐Lopez, Ermita
Manila, 1000
Philippines


Bsa Parents Inc
2311 Wilson Blvd, 2nd Fl
Arlington, VA 22201


Bsa Retiree Reunion
Attn Bob Justice‐Palmetto Council
420 S Church St
Spartanburg, SC 29306


Bsa Retiree Reunion
c/o Brice Tuten
59 Palmer Blvd
Savannah, GA 31410


Bsa Retiree Reunion
c/o Connie Hays
5723 Bent Dr
Harrison, TN 37341‐9547


Bsa Retiree Reunion
c/o Mr   Mrs Adrian Cronk
5427 Tomahawk Cir
Salem, VA 24153


Bsa Summit Bpc
2550 Jack Furst Dr
Glen Jean, WV 25846
Bsa Unit 2046
c/o Apryl Rivers
2002 Boulderview Dr
Atlanta, GA 30316


Bsa Western Region Retirees 2009
C O Bill Belcher
1732 Fisher Ct
Oxnard, CA 93035


Bsa Western Region Retirees 2010
c/o Quentin Alexander, Treasurer
50 Saint Mark Ct
Danville, CA 94526


Bsa‐Change Fund S401
1325 W Walnut Hill Ln
Irving, TX 75015


Bsa‐Western Region Opc
4765 S Lakeshore Dr
Tempe, AZ 85282


Bsn Medical, Inc
P.O. Box 751766
Charlotte, NC 28275‐1766


Btu Block    Concrete, Inc
P.O. Box 578
Raton, NM 87740


Bub S Cycle Center Inc
P.O. Box 488
Crab Orchard, WV 25827‐0488


Buchanan County Academy
Pony Express Council 311
4702 Green Acres Rd
Saint Joseph, MO 64506


Buchanan First Presbyterian Church
Sequoyah Council 713
P.O. Box 1339
Grundy, VA 24614


Buchanan Loop
President Gerald R Ford 781
1775 Buchanan Ave Sw
Grand Rapids, MI 49507


Buchanan Pump Service      Supply Co, Inc
P.O. Box 827
Pound, VA 24279


Buchanan Umc
Atlanta Area Council 092
P.O. Box 342
Buchanan, GA 30113


Buchanan Visual Communications
P.O. Box 201385
Dallas, TX 75230‐1385


Buchingham Utd Methodist Garland
Circle Ten Council 571
1212 W Buckingham Rd
Garland, TX 75040


Buck Consultants LLC
Dept Ch 14061
Palatine, IL 60055‐4061


Buck Knives
Attn Jody Sharp
1900 Weld Blvd
El Cajon, CA 92020


Buck Knives, Inc
660 S Lochsa St
Post Falls, ID 83854


Buck S Hunting   Dog Training Supplies
809 Gap Newport Pike
Avondale, PA 19311


Buck Woodcraft Inc
120 49th St
Marathon, FL 33050


Buckcreek Volunteer Fire Dept
Sagamore Council 162
P.O. Box 181
Buck Creek, IN 47924


Buckeye
2301 ‐ 13th St, Nw
Canton, OH 44708‐3157


Buckeye Business Products Inc
P.O. Box 92340
Cleveland, OH 44193


Buckeye Cncl 436
2301‐13th St, N W
Canton, OH 44708‐3157


Buckeye Police Explorers
Grand Canyon Council 010
21699 W Yuma Rd
Buckeye, AZ 85326


Buckhall Utd Methodist Church
National Capital Area Council 082
10251 Moore Dr
Manassas, VA 20111


Buckhead Life Restaurant Group Inc
103 W Paces Ferry Rd Nw
Atlanta, GA 30305


Buckhorn Fire Co
Columbia‐Montour 504
19 Firehall Rd
Bloomsburg, PA 17815


Buckingham Masonic Lodge 242
Heart of Virginia Council 602
P.O. Box 242
Buckingham, VA 23921


Buckingham Utd Methodist Church
Circle Ten Council 571
1212 W Buckingham Rd
Garland, TX 75040


Buckjoy LLC
dba Hillbilly Fun
181 Trinity Way
Summerville, WV 26651


Buckley Eagles Aerie 1387
Pacific Harbors Council, Bsa 612
22019 112th St Ct E
Buckley, WA 98321


Buckley Parents For Scouting
Chief Seattle Council 609
12124 223rd Ave E
Bonney Lake, WA 98391


Bucklins Lions Club
Santa Fe Trail Council 194
Bucklin, KS 67834


Bucknell University
Office of Financial Aid
701 Moore Ave
Lewisburg, PA 17837


Buckner Community Of Christ Church
Heart of America Council 307
1001 S Sibley St
Buckner, MO 64016
Buckner Elementary School
Lincoln Heritage Council 205
1240 Colonel Dr
Buckner, KY 40010


Buckner Pratt
Address Redacted


Bucks County Rescue Squad
Washington Crossing Council 777
143 King St
Bristol, PA 19007


Bucks Hill School Parent Liaison
Connecticut Rivers Council, Bsa 066
330 Bucks Hill Rd
Waterbury, CT 06704


Buckskin
2829 Kanawha Blvd E
Charleston, WV 25311


Buckskin Cncl 617
2829 Kanawha Blvd E
Charleston, WV 25311


Buckskin Council Bsa
2829 Kanawha Blvd E
Charleston, WV 25311‐1727


Bucktail
209 1st St
Dubois, PA 15801‐3007


Bucktail Cncl 509
209 1st St
Dubois, PA 15801‐3007


Bucktown Youth Assoc Inc
Southeast Louisiana Council 214
1427 Seminole Ave
Metairie, LA 70005


Bucyrus Police Dept Explorers
Buckeye Council 436
500 S Sandusky Ave
Bucyrus, OH 44820


Buda Utd Methodist Church
Capitol Area Council 564
302 Elm St
Buda, TX 78610


Budd Insurance Agency
Southern Shores Fsc 783
160 Div St, Ste C
Coldwater, MI 49036


Budd Van Lines
P.O. Box 57001
Newark, NJ 07101


Buddha Light International Assoc
Detroit Chapter
Great Lakes Fsc 272
318 Town Center Dr
Troy, Mi 48084


Buddha Light International Assoc Florida
Central Florida Council 083
6555 Hoffner Ave
Orlando, Fl 32822


Buddhist Church Of Sacramento
Golden Empire Council 047
2401 Riverside Blvd
Sacramento, CA 95818


Buddhist Churches Of America
1710 Octavia St
San Francisco, CA 94109
Buddy Lee Attractions Inc
F/S/O Darryl Worley
38 Music Square E, Ste 300
Nashville, TN 37203‐4396


Buddy S Drilling Service Inc
102 E Ridge Rd
Islamorada, FL 33036


Budget Auto Glass
P.O. Box 701
Las Vegas, NM 87701


Budget Lighting Inc
P.O. Box 128
Hopkins, MN 55343


Budget Rent A Car System Inc
Budget Vehicle Damage Claims Dept
P.O. Box 403962
Atlanta, GA 30384


Budget Rent‐A‐Car
14297 Collections Ctr Dr
Chicago, IL 60693


Budget Truck Rental
c/o Bank of America
P.O. Box 403962
Atlanta, GA 30384


Buellton Business Assoc
Los Padres Council 053
P.O. Box 231
Chamber of Commerce
Buellton, CA 93427


Buellton Chamber Of Commerce
Los Padres Council 053
P.O. Box 231
Buellton, CA 93427
Buena Park Elks Lodge 2046
Orange County Council 039
7212 Melrose St
Buena Park, CA 90621


Buena Park Police Dept
Orange County Council 039
6650 Beach Blvd
Buena Park, CA 90621


Buena Vista Utd Methodist Church
Alameda Council Bsa 022
2311 Buena Vista Ave
Alameda, CA 94501


Buey Ray Tut
1213 Jones St
Omaha, NE 68102


Buff Inc
Dept 34923
P.O. Box 39000
San Francisco, CA 94139


Buffalo Chips
327 S 24th W
Billings, MT 59102


Buffalo Elementary Improvement Council
Buckskin 617
331 Buffalo Creek Rd
Kenova, WV 25530


Buffalo Grove Area Chamber Of Commerce
Northeast Illinois 129
50 1/2 Raupp Blvd
Buffalo Grove, IL 60089


Buffalo Grove Rotary
Northeast Illinois 129
512 Ronnie Dr
Buffalo Grove, IL 60089


Buffalo Lions Club
Northern Star Council 250
P.O. Box 531
Buffalo, MN 55313


Buffalo Police Dept
Greater Niagara Frontier Council 380
68 Court St
Buffalo, NY 14202


Buffalo Public School 17
Greater Niagara Frontier Council 380
1045 W Delavan Ave
Buffalo, NY 14209


Buffalo Specialties
P.O. Box 35809
Houston, TX 77235


Buffalo Trace
3501 E Lloyd Expressway
Evansville, IN 47715


Buffalo Trail
1101 W Texas Ave
Midland, TX 79701‐6171


Buffalo Trail Scout Ranch Staff Assoc
Buffalo Trail Council 567
1101 W Texas Ave
Midland, Tx 79701


Buffalo Trails Parents      Friends Of 52
Denver Area Council 061
24300 E Progress Dr
Aurora, CO 80016


Buffalo Trce Cncl 156
3501 E Lloyd Expressway
Evansville, IN 47715‐8624


Buffalo Trl Cncl 567
1101 W Texas Ave
Midland, TX 79701‐6171


Buffalo Ward LDS Buffalo Stake
Greater Niagara Frontier Council 380
145 Goodell St
Buffalo, NY 14203


Buffalo Ward LDS Buffalo Stake
Greater Niagara Frontier Council 380
72 Layton Ave
Buffalo, NY 14226


Buford Campbell
Address Redacted


Buford First Utd Methodist Church
Northeast Georgia Council 101
285 E Main St
Buford, GA 30518


Buford Hill
Address Redacted


Buford Presbyterian Church
Northeast Georgia Council 101
1242 Buford Hwy
Sugar Hill, GA 30518


Buford Street Utd Methodist Church
Palmetto Council 549
120 E Buford St
Gaffney, SC 29340


Bug Bam Products, LLC
P.O. Box 841
Hermosa Beach, CA 90254‐0841
Bugbee School PTO
Connecticut Rivers Council, Bsa 066
1943 Asylum Ave
West Hartford, CT 06117


Bugs N Bullets Sport Shop
40 Sportsman Way
Butte, MT 59701


Build A Sign
11525A Stonehollow Dr, Ste 100
Austin, TX 78758


Building Bright Futures ‐ 21St Cclc
Grand Teton Council 107
3115 Pole Line Rd
Pocatello, ID 83201


Building Character
Utah National Parks 591
20 N Main St, Ste 402
Saint George, UT 84770


Building Commitee Valladolid 70
The Spirit of Adventure 227
177 Lynnfield St
Lynn, MA 01904


Building Mechanical Services Corp
Puerto Rico Council 661
Building Mechanical Services Corp
Girasol A 122 San Rafael Estate
Bayamon, PR 00959


Buildings Magazine
615 5th St Se
Cedar Rapids, IA 52401


Bulbman Inc
P.O. Box 12280
Reno, NV 89510‐2280
Bullard Southern Baptist Church
East Texas Area Council 585
P.O. Box 338
Bullard, TX 75757


Bulldog Battery
P.O. Box 766
Wabash, IN 46992‐0766


Bullhead City Fire Dept
Las Vegas Area Council 328
1260 Hancock Rd
Bullhead City, AZ 86442


Bullhead City Police Dept
Las Vegas Area Council 328
1255 Marina Blvd
Bullhead City, AZ 86442


Bullitt Central High School
Lincoln Heritage Council 205
1330 Hwy 44 E
Shepherdsville, KY 40165


Bullitt East High School
Lincoln Heritage Council 205
11450 Hwy 44 E
Mount Washington, KY 40047


Bullitt Lick Middle School
Lincoln Heritage Council 205
555 W Blue Lick Rd
Shepherdsville, KY 40165


Bulloch County Sheriff Dept
Coastal Georgia Council 099
17257 US 301 N
Statesboro, GA 30458


Bullock Creek Presbyterian Church
Palmetto Council 549
7386 Lockhart Hwy
Sharon, SC 29742


Bullseye Shooting Range
Quivira Council, Bsa 198
1455 N Terrace Dr
Mike Relihan
Wichita, KS 67208


Bullskin Township Fair Assoc
Westmoreland Fayette 512
2488 State Route 982
Mount Pleasant, PA 15666


Bullskin Township Lions Club
Westmoreland Fayette 512
3426 Country Club Rd
Mount Pleasant, PA 15666


Bulverde Lions Club
Alamo Area Council 583
P.O. Box 285
Bulverde, TX 78163


Bulverde Utd Methodist Church
Alamo Area Council 583
28300 US Hwy 281 N
San Antonio, TX 78260


Bulverde‐Spring Branch Ems
Alamo Area Council 583
353 Rodeo Dr
Spring Branch, TX 78070


Buncombe County Sheriffs Dept
Daniel Boone Council 414
60 Court Plz Fl 4
Asheville, NC 28801


Buncombe St Methodist Church
Blue Ridge Council 551
200 Buncombe St
Greenville, SC 29601


Buncombe Street Utd Methodist Church
Blue Ridge Council 551
200 Buncombe St
Greenville, SC 29601


Bundles Of Hope
Sam Houston Area Council 576
9119 Kirkleigh St
Spring, TX 77379


Bundy Trucking Inc
Utah National Parks 591
1805 E 740 S Cir
Saint George, UT 84790


Bunker Hill Elementary School PTA
Sam Houston Area Council 576
11950 Taylorcrest Rd
Houston, TX 77024


Bunker Hill Parent Teachers Organization
Crossroads of America 160
6620 Shelbyville Rd
Indianapolis, IN 46237


Bunker Hill School PTO
Crossroads of America 160
6620 Shelbyville Rd
Indianapolis, IN 46237


Bunker Hill Utd Methodist
Shenandoah Area Council 598
P.O. Box 327
Bunker Hill, WV 25413


Bunker Hill Utd Methodist Church
Sagamore Council 162
100 N Broadway
Bunker Hill, IN 46914
Bunker Hill Utd Methodist Church
Shenandoah Area Council 598
P.O. Box 327
Bunker Hill, WV 25413


Bunn ‐ Hill King Utd Methodist
Occoneechee 421
P.O. Box 142
Bunn, NC 27508


Bunnie Brown
Address Redacted


Bunny Flanders
Address Redacted


Buntyn Presbyterian Church
Chickasaw Council 558
561 S Prescott St
Memphis, TN 38111


Burbank First Utd Methodist Church
Verdugo Hills Council 058
700 N Glenoaks Blvd
Burbank, CA 91502


Burbank Manor Presbyterian Church
Pathway To Adventure 456
7950 Central Ave
Burbank, IL 60459


Burbank Police Dept
Verdugo Hills Council 058
200 N 3rd St
Burbank, CA 91502


Burco Chemical     Supply Inc
1125 S 2nd St
Raton, NM 87740
Burdick Auto Solutions
Circle Ten Council 571
210 E Erwin Ave
Mckinney, TX 75069


Burdin Mediations
4514 Cole Ave, Ste 1450
Dallas, TX 75205


Bureau Mondial Du Scoutime European Reg
P.O. Box 152079
Irving, TX 75015‐2079


Bureau Of Fire Prevention
District 3, Township of Monroe
P.O. Box 7212
Monroe Twp, NJ 08831


Bureau Of Home Furnishings   Thermal Ins
P.O. Box 980580
West Sacramento, CA 95798‐0580


Burgaw Lions Club
Cape Fear Council 425
P.O. Box 1252
Burgaw, NC 28425


Burgaw Presbyterian Church
Cape Fear Council 425
P.O. Box 565
Burgaw, NC 28425


Burgeson S Heating/Air Conditioning Inc
P.O. Box 7310
Redlands, CA 92375‐0310


Burgess Peterson Academy
Atlanta Area Council 092
480 Clifton St Se
Atlanta, GA 30316
Burgettstown Grange 1502
Laurel Highlands Council 527
100 Creek Rd
Burgettstown, PA 15021


Burgher Office Equipment
101 E Chestnut St
Virginia, MN 55792


Burhans Crouse Funeral Home
Westmoreland Fayette 512
28 Connellsville St
Dunbar, PA 15431


Burien Police
Chief Seattle Council 609
14905 6th Ave Sw
Burien, WA 98166


Burkburnett Boys   Girls Club
Northwest Texas Council 587
P.O. Box 2
Burkburnett, TX 76354


Burkburnett Volunteer Fire Dept.
Northwest Texas Council 587
100 Peyton St
Burkburnett, TX 76354


Burke Building Center
Sioux Council 733
1307 S Main St
Burke, SD 57523


Burke County Sheriffs Office
Georgia‐Carolina 093
225 Ga Hwy 24 S
Waynesboro, GA 30830


Burke County Sheriffs Office
Piedmont Council 420
150 Government Dr
Morganton, NC 28655


Burke Gibson Inc
702 3rd St Sw
Auburn, WA 98001


Burke Presbyterian Church
National Capital Area Council 082
5690 Oak Leather Dr
Burke, VA 22015


Burke Street Elementary School
Shenandoah Area Council 598
422 W Burke St
Martinsburg, WV 25401


Burke Utd Methodist Church
National Capital Area Council 082
6200 Burke Centre Pkwy
Burke, VA 22015


Burke Volunteer Fire Dept
National Capital Area Council 082
9501 Old Burke Lake Rd
Burke, VA 22015


Burket Utd Methodist Church
Anthony Wayne Area 157
P.O. Box 25
102 S Market St
Burket, IN 46508


Burket Utd Methodist Church
Anthony Wayne Area 157
P.O. Box 25
Burket, IN 46508


Burkhead Utd Methodist Church
Old Hickory Council 427
5250 Silas Creek Pkwy
Winston Salem, NC 27106
Burks Utd Methodist Church
Cherokee Area Council 556
6433 Hixson Pike
Hixson, TN 37343


Burleigh PTO
Potawatomi Area Council 651
16185 Burleigh Pl
Brookfield, WI 53005


Burleson Police Explorers
Longhorn Council 662
1161 SW Wilshire Blvd
Burleson, TX 76028


Burley 10Th Ward ‐ Burley Stake
Snake River Council 111
958 Maplewood St
Burley, ID 83318


Burley 11Th Ward ‐ Burley West Stake
Snake River Council 111
2400 Park Ave
Burley, ID 83318


Burley 1St Ward ‐ Burley West Stake
Snake River Council 111
2420 Park Ave
Burley, ID 83318


Burley 2Nd Ward ‐ Burley Stake
Snake River Council 111
515 E 16th St
Burley, ID 83318


Burley 3Rd Ward ‐ Burley West Stake
Snake River Council 111
2200 Oakley Ave
Burley, ID 83318
Burley 4Th Ward ‐ Burley Stake
Snake River Council 111
515 E 16th St
Burley, ID 83318


Burley 5Th Ward ‐ Burley West Stake
Snake River Council 111
2420 Park Ave
Burley, ID 83318


Burley 7Th Ward ‐ Burley West Stake
Snake River Council 111
2200 Oakley Ave
Burley, ID 83318


Burley 8Th Ward ‐ Burley Stake
Snake River Council 111
2050 Normal Ave
Burley, ID 83318


Burley 9Th Ward ‐ Burley Stake
Snake River Council 111
2100 Normal Ave
Burley, ID 83318


Burley Utd Methodist Church
Snake River Council 111
450 E 27th St
Burley, ID 83318


Burley Utd Methodist Church
Snake River Council 111
P.O. Box 447
450 E 27th St
Burley, ID 83318


Burlingame Federated Church
Jayhawk Area Council 197
322 S Topeka Ave
Burlingame, KS 66413


Burlingame Police Dept
Pacific Skyline Council 031
1111 Trousdale Dr
Burlingame, CA 94010


Burlington County Police
Garden State Council 690
49 Rancocas Rd
Mount Holly, NJ 08060


Burlington Family Services
1325 W Walnut Hill Ln
Irving, TX 75038


Burlington Fire Dept
Mississippi Valley Council 141 141
418 Valley St
Burlington, IA 52601


Burlington Fire Dept
Old N State Council 070
215 S Church St
Burlington, NC 27215


Burlington Fire Dept
Three Harbors Council 636
165 W Washington St
Burlington, WI 53105


Burlington Firefighters Local 2313
The Spirit of Adventure 227
21 Center St
Burlington, MA 01803


Burlington Flats Fish   Game
Leatherstocking 400
Fish and Game Club Rd
Burlington Flats, NY 13315


Burlington Kiwanis Yth    Fam Assist Inc
Three Harbors Council 636
441 Milwaukee Ave
Burlington, Wi 53105
Burlington Masonic Lodge 32
Garden State Council 690
2308 Mount Holly Rd
Burlington, NJ 08016


Burlington Northern Santa Fe
Mount Baker Council, Bsa 606
2454 Occidental S
Seattle, WA 98134


Burlington Notre Dame Schools
Mississippi Valley Council 141 141
702 S Roosevelt Ave
Burlington, IA 52601


Burlington Police Dept
Mississippi Valley Council 141 141
Burlington Police Dept
424 N 3rd St
Burlington, IA 52601


Burlington Press
328 High St
Burlington, NJ 08016


Burlington Rotary Club
Pikes Peak Council 060
P.O. Box 122
Burlington, CO 80807


Burlington Utd Methodist Church
Jayhawk Area Council 197
207 S 6th St
Burlington, KS 66839


Burnet Elementary School
Sam Houston Area Council 576
5403 Canal St
Houston, TX 77011
Burnet Fire Dept
Capitol Area Council 564
P.O. Box 1369
Burnet, TX 78611


Burnetboys And Girls Club
Capitol Area Council 564
P.O. Box 181
Burnet, TX 78611


Burnett Companies Consolidated, Inc
P.O. Box 973940
Dallas, TX 75397‐3940


Burnett Creek School PTO
Sagamore Council 162
5700 N 50 W
West Lafayette, IN 47906


Burnett S   Struth Scottish Regalia
570 Bryne Dr, Units O, P
Barrie, ON L4N 9P6
Canada


Burnette Avenue Baptist Church
Lincoln Heritage Council 205
6800 S Hurstbourne Pkwy
Louisville, KY 40291


Burney Lions Club
Golden Empire Council 047
P.O. Box 217
Burney, CA 96013


Burney Lions Club 1946
Golden Empire Council 047
P.O. Box 217
Burney, CA 96013


Burnham Bros Fireworks Inc
Great Swest Council 412
P.O. Box 2081
4226A US Hwy 64
Kirtland, NM 87417


Burnham Lions Club
Juniata Valley Council 497
403 1st Ave
Burnham, PA 17009


Burns   Levinson, LLP
125 Summer St
Boston, MA 02110


Burns Do‐It‐Center
1283 So 2nd St
Raton, NM 87740


Burns Lions Club
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 45
Burns, OR 97720


Burns Mccauliffe Post 465 American
Baden‐Powell Council 368
63 S Main St
Homer, NY 13077


Burns White LLC
48 26th St
Pittsburgh, PA 15222


Burnt Church Community Center
West Tennessee Area Council 559
110 School Dr
Savannah, TN 38372


Burnt Hickory Baptist Church
Atlanta Area Council 092
5145 Due W Rd
Powder Springs, GA 30127


Burnt Hickory Utd Methodist Church
Atlanta Area Council 092
9484 Cartersville Hwy
Dallas, GA 30132


Burnt Hills Utd Methodist Church
Twin Rivers Council 364
816 State Route 50
Burnt Hills, NY 12027


Burr Elementary
Pathway To Adventure 456
1621 W Wabansia Ave
Chicago, IL 60622


Burr Elementary School
Great Lakes Fsc 272
41460 Ryan Rd
Sterling Heights, MI 48314


Burra Burra Museum
Cherokee Area Council 556
P.O. Box 458
Ducktown, TN 37326


Burrillville Org For Subst Abuse Prev
Narragansett 546
105 Harrisville Main St
Harrisville, Ri 02830


Burrito Banquet
P.O. Box 4
Miami, NM 87729


Burt Avenue Wesleyan
Muskingum Valley Council, Bsa 467
230 Burt Ave
Coshocton, OH 43812


Burt Harvey
Address Redacted
Burt Hill
Address Redacted


Burt J. Asper American Legion Post 46
New Birth of Freedom 544
755 Philadelphia Ave
Chambersburg, PA 17201


Burtchville Fire Dept
Water and Woods Council 782
4000 Burtch Rd
Burtchville, MI 48059


Burton Center
Blue Ridge Council 551
2605 Hway 221 72 E
Greenwood, SC 29649


Burton Congregational Church
Lake Erie Council 440
P.O. Box 496
Burton, OH 44021


Burton Enterprises
P.O. Box 637
Springer, NM 87747


Burton International Lsco
Great Lakes Fsc 272
2001 Martin Luther King Jr Blvd
Detroit, MI 48208


Burton International Lsco PTO
Great Lakes Fsc 272
2001 Martin Luther King Jr Blvd
Detroit, MI 48208


Burton Memorial Utd Methodist Church
Pine Burr Area Council 304
2419 22nd Ave
Gulfport, MS 39501
Burton Memorial Utd Methodist Church
South Florida Council 084
93001 Overseas Hwy
Tavernier, FL 33070


Burton Mid Sch Counseling Initiative
President Gerald R Ford 781
2133 Buchanan Ave Sw
Grand Rapids, Mi 49507


Burton Volunteer Fire Dept
Sam Houston Area Council 576
P.O. Box 548
Burton, TX 77835


Burton Woolery American Legion Post 18
Hoosier Trails Council 145 145
1800 W 3rd St
Bloomington, IN 47404


Burton/Bentley Kiwanis/Vfw 2777
Water and Woods Council 782
1400 Audrey St
Burton, MI 48509


Burts Bees
P.O. Box 203266
Dallas, TX 75320‐3266


Burts Kennedy
Address Redacted


Busch Gardens Tampa
Sea World Parks   Entertainment LLC
3605 E Bougainvillea Ave
Tampa, FL 33612


Bush Creek Church Of The Brethren
National Capital Area Council 082
4821A Green Valley Rd
Monrovia, MD 21770
Bush Fire Services Inc
136 E 5th St
London, KY 40741


Bush Hills Academy PTA
Greater Alabama Council 001
900 16th St W
Birmingham, AL 35208


Bush Library Trust Fund
1000 George Bush Dr W
College Station, TX 77845


Bush River Yacht Club
Baltimore Area Council 220
4001 E Baker Ave
Abingdon, MD 21009


Bush, Graziano, And Rice
P.O. Box 3423
Tampa, FL 33601‐3423


Bushkill Methodist Church
Minsi Trails Council 502
1330 Church Rd
Wind Gap, PA 18091


Bushkill Township Volunteer Fire Co
Minsi Trails Council 502
155 Firehouse Dr
Nazareth, PA 18064


Bushnell Factory Outlet
8500 Marshall Dr
Lenexa, KS 66214


Bushnell Holdings Inc
9200 Cody
Overland Park, KS 66214
Bushnell Holdings Inc
dba Vista Outdoors LLC
P.O. Box 734154
Chicago, IL 60673‐4154


Bushnells Basin Fire Assoc Inc
Seneca Waterways 397
661 Kreag Rd
Pittsford, NY 14534


Bushton Utd Methodist Church
Quivira Council, Bsa 198
213 3rd Rd
Bushton, KS 67427


Bushy Run Lions Club
Westmoreland Fayette 512
109 Linda Ct
Jeannette, PA 15644


Bushy Run Lions Club
Westmoreland Fayette 512
112 Thomas St
Jeannette, PA 15644


Business   Legal Reports, Inc
141 Mill Rock Rd E
Old Saybrook, CT 06475


Business 21 Publishing
453A Baltimore Pike
Springfield, PA 19064


Business 21 Publishing
P.O. Box 37530
Boone, IA 50037‐0530


Business Machine Agents Inc
7033 High Grove Blvd
Burr Ridge, IL 60521
Business Management Daily
P.O. Box 9070
Mclean, VA 22102‐0070


Business Mens Bible Class
Texas Swest Council 741
P.O. Box 83
San Angelo, TX 76902


Business Objects Americas
P.O. Box 2299
Carol Stream, IL 60132‐2299


Business Objects Software Ltd
c/o Bank of America
P.O. Box 13508
Chicago, IL 60693


Business Performance Group
8345 University Blvd, Ste C
Des Moines, IA 50325


Business Solutions Inc
1700 W 10th Pl
Tempe, AZ 85281


Business Training Library Inc
285 Chesterfield Business Prwy
Chesterfield, MO 63005


Business Traveler
303 5th Ave, Ste 1306
New York, NY 10016


Business Valuation Resources LLC
1000 SW Broadway, Ste 1200
Portland, OR 97205


Business Week
Customer Service Dept
P.O. Box 8426
Red Oak, IA 51591‐1426


Business Week
P.O. Box 8419
Red Oak, IA 51591‐5419


Businessmate C/O Cynthia Collette
331 Olive Ave 302
Carlsbad, CA 92008‐7437


Busy Bee Creations
Greater Los Angeles Area 033
215 S Fernwood St
West Covina, CA 91791


Busy Lady Quilt Shop LLC
Lincoln Heritage Council 205
336 Plum Creek Ct
Taylorsville, KY 40071


Butcher Bbq
331998 E Hwy 66
Wellston, OK 74881


Butcher Bbq
336547 E Main St
Chandler, OK 74834


Butler   Assoc Pa
3706 S Topeka Blvd, Suite 300
Topeka, KS 66609


Butler Armco Employees Assoc
Moraine Trails Council 500
134 Family Ln
Butler, PA 16002


Butler Blast Program
Mid‐America Council 326
945 S 18th St
Fort Dodge, IA 50501


Butler Harmon American Legion Post
Nr Kiwanis
Northern Star Council 250
P.O. Box 10
New Richmond, Wi 54017


Butler Snow Lp
Attn Daniel W. Van Horn
P.O. Box 171443
Memphis, TN 38187‐1443


Butler Traditional High School
Lincoln Heritage Council 205
2222 Crums Ln
Louisville, KY 40216


Butler University
Attn Office of Financial Aid
4600 Sunset Ave
Indianapolis, IN 46208‐3485


Butler University Laboratory School
Crossroads of America 160
1349 E 54th St
Indianapolis, IN 46220


Butler Utd Methodist Church
Dan Beard Council, Bsa 438
8417 US Hwy 27 N
Butler, KY 41006


Butte County Clerk
25 County Center Dr, Ste 105
Oroville, CA 95965


Butte County Fire Dept
Golden Empire Council 047
176 Nelson Ave
Oroville, CA 95965
Butte Creek Wrangler Assoc
Cascade Pacific Council 492
13462 S Butte Creek Rd
Scotts Mills, OR 97375


Butterfield Ward ‐ LDS St David Stake
Catalina Council 011
381 N Pomerne Rd
Benson, AZ 85602


Butterfield Ward ‐ LDS Tucson West Stake
Catalina Council 011
3336 W Sophia St
Tucson, AZ 85741


Butterfly Network Inc
11 Madison Square N, 7th Fl
New York, NY 10010


Butterfly Network Inc
530 Old Whitfield St
Guilford, CT 06437


Button Memorial Utd Methodist Church
Longhorn Council 662
101 W Eldorado Pkwy
Little Elm, TX 75068


Buxton Centre Baptist Church
Pine Tree Council 218
938 Long Plains Rd
Buxton, ME 04093


Buxton Co
2651 S Polaris Dr
Ft Worth, TX 76137


Buxton Co
2651 S Polaris Dr
Fort Worth, TX 76137
Buxton Co
Attn Jim Sellers
2651 S Polaris Dr
Fort Worth, TN 76137


Buxton, Inc
Attn Jim Sellers
2651 S Polaris Dr
Fort Worth, TX 76137


Buydig.Com
80 Carter Dr
Edison, NJ 08817


Buzzshift, Inc
6333 E Mockingbird, Ste 147‐814
Dallas, TX 75214


Buzzshift, Inc
6333 E Mokingbird Ln, Ste 147‐814
Dallas, TX 75214


Buzzshift, Inc
7622 Fisher Rd
Dallas, TX 75214


Bvfd Social Club
Las Vegas Area Council 328
P.O. Box 113
451 3rd St
Beatty, NV 89003


Bvs Tools
201 Mapleridge Dr
Mankato, MN 56001


Bwc Creative
P.O. Box 832795
Richardson, TX 75083
Bwc Photo Imaging Inc
4930 Maple Ave
Dallas, TX 75235


Bwc State Insurance Fund
Corporate Processing Dept
Columbus, OH 43271‐0821


Byer Manufacturing Co
P.O. Box 1403
Houlton, ME 04730


Byers Taxi Service Inc
Moraine Trails Council 500
P.O. Box 336
214 1/2 Longfellow St
Vandergrift, PA 15690


Bykota Lodge 333
Gulf Stream Council 085
P.O. Box 15354
West Palm Beach, FL 33416


Bynder LLC
24 Farnsworth St, Ste 400
Boston, MA 02210


Byog
Oregon Trail Council 697
228 Harbor St
Florence, OR 97439


Byrd School Home    School Assoc
Northern New Jersey Council, Bsa 333
640 Doremus Ave
Glen Rock, NJ 07452


Byrom Pso
Cascade Pacific Council 492
21800 SW 91st Ave
Tualatin, OR 97062
Byron Chamber Of Commerce
Water and Woods Council 782
3453 Lovejoy Rd
Byron, MI 48418


Byron Community Ministries
President Gerald R Ford 781
8250 Byron Creek Rd
Byron Center, MI 49315


Byron Firemans Assoc
Blackhawk Area 660
232 W 2nd St
Byron, IL 61010


Byron First Utd Methodist Church
Water and Woods Council 782
P.O. Box 127
101 S Ann St
Byron, MI 48418


Byron Jones
Address Redacted


Byron King
Address Redacted


Byron Lions Club
Blackhawk Area 660
P.O. Box 200
Byron, IL 61010


Byron Lions Club
Central Georgia Council 096
P.O. Box 1123
Byron, GA 31008


Byron Newquist
Address Redacted
Byron Pennington Crocker Post 184
Garden State Council 690
4200 Atlantic Ave
Wildwood, NJ 08260


Byron Sprott
Address Redacted


Byron Utd Methodist Church
Central Georgia Council 096
103 W Heritage Blvd N
Byron, GA 31008


Byron Von Rosenberg
Address Redacted


Byu‐Idaho Internship      Career Services
Ticket Office
1301 Kimball Bldg
Rexburg, ID 83440


C   G Sporting Goods Inc
137 Harrison Ave
Panama City, FL 32401


C   H Distributors, LLC
22133 Network Pl
Chicago, IL 60673‐1133


C   M Diversified Co Inc
Silicon Valley Monterey Bay 055
14684 Bronson Ave
San Jose, CA 95124


C   R Research
500 N Michigan Ave, Ste 1100
Chicago, IL 60611


C Adam Toney Tires‐Wholesale
P.O. Box 99
Oak Hill, WV 25901
C Allen
Address Redacted


C Anne Rodi
Address Redacted


C Blyth Andrews Housing
Greater Tampa Bay Area 089
2201 E Osborne Ave
Tampa, FL 33610


C Brock
Address Redacted


C C Electric Inc
3672 Atlantic St
Big Pine Key, FL 33043


C C Electric Service Inc
3672 Atlantic St
Big Pine Key, FL 33043


C Chubb
Address Redacted


C David Moody
Address Redacted


C Eugene Kobel
Address Redacted


C Few
Address Redacted


C H Distributors Inc
22133 Network Pl
Chicago, IL 60673‐1133
C Ingraham
Address Redacted


C Jarrett Miller
Address Redacted


C L Perkins Post 60 ‐ American Legion
Daniel Webster Council, Bsa 330
21 Main St
Farmington, NH 03835


C Michael Hoover Jr
Address Redacted


C O Harrison Elementary School PTA
Dan Beard Council, Bsa 438
585 Neeb Rd
Cincinnati, OH 45233


C P Enterprises Of Apopka Inc
2525 S Clarcona Rd
Apopka, FL 32703


C R Applegate School PTO
Monmouth Council, Bsa 347
47 Jean Brennan Dr
Freehold, NJ 07728


C R Drains Inc
1525 W Macarthur Blvd, Ste 11
Costa Mesa, CA 92626


C R Materials Inc
8696 Cotter St
Lewis Center, OH 43035


C Raymond Dawson
Address Redacted
C Ritchey
Address Redacted


C Robert Myers
Address Redacted


C Rosendale
Address Redacted


C S Cattle Co
620C State Rd 58
Cimarron, NM 87714


C Taylor
Address Redacted


C Thomas Ritchey
Address Redacted


C W Shipley Sea
Shenandoah Area Council 598
P.O. Box 270
Harpers Ferry, WV 25425


C Wayne Brock
Address Redacted


C William Steele
Address Redacted


C. T. Club
Northern Lights Council 429
25 N Munsterman St
Appleton, MN 56208


C.A.R.E. Assoc
Mississippi Valley Council 141 141
451 N Vine St
Kahoka, MO 63445
C.A.R.E.S.
Greater Alabama Council 001
P.O. Box 11126
Huntsville, AL 35814


C.C. Moss Elementary ‐ Gifw
Longhorn Council 662
4108 Eland St
Fort Worth, TX 76119


C.R.Batchelder, American Legion Post 72
Daniel Webster Council, Bsa 330
Rt. 28
Alton, NH 03809


c/o Winstead PC
N.R. Block, 600 Travis St, Ste 5200
Houston, TX 77002


C2 Construction
820 Exposition, Ste 4
Dallas, TX 75226


C2 Imaging LLC
4537 Solutions Ctr
Chicago, IL 60677‐4005


C2 Pipeline Denby
Great Lakes Fsc 272
12800 Kelly Rd
Detroit, MI 48224


C2 Pipeline Fitzgerald
Great Lakes Fsc 272
23200 Ryan Rd
Warren, MI 48091


C2 Pipeline Pershing
Great Lakes Fsc 272
18875 Ryan Rd
Detroit, MI 48234
C2 Pipeline Warren Woods
Great Lakes Fsc 272
27900 Bunert Rd
Warren, MI 48088


C2G Engineering Inc
34 Industrial Ln
Huntington, WV 25702


Ca Technologies, Inc
P.O. Box 3591
P.O. Box 8500
Philadelphia, PA 19178‐3591


Ca, Inc
Ca Inc P.O. Box
P.O. Box 783591
Philadelphia, PA 19178‐3591


Caarolina Pottery
12245 Nations Ford Rd
Pineville, NC 28134


Caballeros De Colon 5156
Puerto Rico Council 661
Reparto Flamingo
Calle Capitan Correa
Bayamon, PR 00959


Caballeros De Colon Consejo
Reyes Catolicos 1811
Puerto Rico Council 661
P.O. Box 2983
Mayaguez, Pr 00681


Caballeros De Colon Mayaguez
Puerto Rico Council 661
P.O. Box 2983
Mayaguez, PR 00681
Cabela S Retail, Inc
475 E Hartford Blvd N
East Hartford, CT 06118


Cabelas Acworth
Atlanta Area Council 092
150 Npoint Pkwy
Acworth, GA 30102


Cabelas Mktg   Brand Mgt Inc
Attn Accounts Receivable Dept
P.O. Box 39
Sidney, NE 69162


Cabin John Park Vfd
National Capital Area Council 082
8001 River Rd
Bethesda, MD 20817


Cabinets By Connie
P.O. Box 8
Cimarron, NM 87714


Cable   Area Lions Club
Voyageurs Area 286
P.O. Box 444
Cable, WI 54821


Cablevision Of Long Island
P.O. Box 9202
Uniondale, NY 11555‐9202


Cablevision Systems Corp
dba Optimum
P.O. Box 742698
Cincinnati, OH 45274‐2698


Cablevision Systems Corp     Optimum
1111 Stewart Ave
Bethpage, Ny 11714‐3581
Cabool Housing Authority
Ozark Trails Council 306
P.O. Box 74
Cabool, MO 65689


Cabot Lions Club
Quapaw Area Council 018
General Delivery
Cabot, AR 72023


Cabot Utd Methodist Church
Quapaw Area Council 018
P.O. Box 1118
Cabot, AR 72023


Cabrillo Host Lions Club
Silicon Valley Monterey Bay 055
P.O. Box 94
Aptos, CA 95001


Cac Ultra Investments LLC
dba United Security   Defense Solutions
2506 Carmel Dr
Carrollton, TX 75006


Cac Ultra Investments LLC
dba United Security    Defense Solutions
9330 Lbj Frwy, Ste 900
Dallas, TX 75243


Cache County Sheriffs Office
Trapper Trails 589
1225 Valley View Dr
Logan, UT 84321


Cache Lake Camping Food
506 Beltrami Ave
Bemidji, MN 56601


Cache Valley Cabinets And Tops
Trapper Trails 589
44 N 200 W
Richmond, UT 84333


Cactus Ropes/Pro‐Equine
P.O. Box 38
Pleasanton, TX 78064


Cadby Shutts Vfw Post 7552
Twin Rivers Council 364
P.O. Box 10
Hillsdale, NY 12529


Cadca
625 Slaters LnAttn       Kellie Masten
Suite 300 Forum Xvii
Alexandria, VA 22314


Cadca
901 N Pitt St, Ste 300
Alexandria, VA 22314


Caddell Turf Management Inc
5304 Kathryn Blair Ln
Charlotte, NC 28226‐4004


Caddo Area
P.O. Box 5807
Texarkana, TX 75505‐5807


Caddo Area Cncl 584
24 Lynwood Dr
P.O. Box 5807
Texarkana, TX 75505‐5807


Caddo Heights Elementary
Norwela Council 215
1702 Corbitt St
Shreveport, LA 71108


Caddo Mills Historical Society
Circle Ten Council 571
2308 Main St
Caddo Mills, TX 75135


Caddo Shreveport Sales
Attn and Use Tax Commission
P.O. Box 104
Shreveport, LA 71161‐0104


Cade Chapel Missionary Baptist Church
Andrew Jackson Council 303
1000 W Ridgeway St
Jackson, MS 39213


Cadiz Methodist Church
Lincoln Heritage Council 205
482 Lakota Dr
Cadiz, KY 42211


Cadott Lions Club
Chippewa Valley Council 637
8038 223rd St
Cadott, WI 54727


Caelan Landry Parker
Address Redacted


Caeley M Grady
Address Redacted


Cafe Cipriani
220 Las Colinas Blvd E
Irving, TX 75029


Cafnr Career Services
2‐64 Agriculture Bldg
Columbia, MO 65211


Caguas Private School
Puerto Rico Council 661
130 Calle Jardines
Caguas, PR 00725
Cahaba Chapter Order Of The Arrow
Tukabatchee Area Council 005
1209 Selma Ave
Selma, AL 36703


Cahaba Heights Utd Methodist Church
Greater Alabama Council 001
3139 Cahaba Heights Rd
Vestavia, AL 35243


Cahill Benjamin Richardson LLC
Gulf Stream Council 085
8501 SE Boy Scout Rd
Tequesta, FL 33469


Cahill Richardson LLC
Central Florida Council 083
1304 Biarritz St Nw
Palm Bay, FL 32907


Cai Design, Inc
240 W 37th St
New York, NY 10018


Cai Learning Academy
Minsi Trails Council 502
1033 W Washington St
Allentown, PA 18102


Caiden Laurent Gagner
Address Redacted


Cailin J Allen
Address Redacted


Cains Chapel Methodist Mens Club
Tukabatchee Area Council 005
P.O. Box 96
Deatsville, AL 36022
Cairn Studios
P.O. Box 400
Davidson, NC 28036


Cairo American College
Transatlantic Council, Bsa 802
1 Midan Eigla
Maadi,
Egypt


Cairo Elementary School
Greater St Louis Area Council 312
3101 Elm St
Cairo, IL 62914


Cairrean L May
Address Redacted


Caitlin A Kelly, LLC
222 Martling Ave 6G
Tarrytown, NY 10591


Caitlin A Warner
Address Redacted


Caitlin King
Address Redacted


Caitlin Meeks
Address Redacted


Caius A Guilliams
Address Redacted


Cal Fire‐Riverside County Fire
California Inland Empire Council 045
41725 Rosetta Canyon Dr
Lake Elsinore, CA 92532


Cal Meyers
Address Redacted


Cal Poly Pomona University
Attn Office of Financial Aid
3801 W Temple Ave
Pomona, CA 91768


Cal Poly San Luis Obispo
University Cashier ‐ Scholarships
Administration 131‐E
San Luis Obispo, CA 93407‐0501


Calabash Charter Academy
W.L.A.C.C. 051
23055 Eugene St
Woodland Hills, CA 91364


Calacinos Pizzeria
3611 Robert C Bryd Dr
Beckley, WV 25801


Calamus American Legion Post 466
Illowa Council 133
2907 178th Ave
Calamus, IA 52729


Calcasieu Area
304 Dr Michael Debakey Dr
Lake Charles, LA 70601‐5822


Calcasieu Area Cncl 209
304 Dr Michael Debakey Dr
Lake Charles, LA 70601


Calcasieu Parish School Board
Attn Sales Tax Dept
P.O. Box 3227
Lake Charles, LA 70602‐3227


Calcutt 21St Century Program
Narragansett 546
112 Washington St
Central Falls, RI 02863


Caldic Canada Inc
6980 Creditview Rd
Mississauga, On L5N 8E2
Canada


Caldwell Christian Church
Ore‐Ida Council 106 ‐ Bsa 106
3207 E Ustick Rd
Caldwell, ID 83605


Caldwell Commty
College Technical Institute
Piedmont Council 420
2855 Hickory Blvd
Hudson, Nc 28638


Caldwell County Sheriff Dept
Piedmont Council 420
2351 Morganton Blvd Sw
Lenoir, NC 28645


Caldwell Early College
Piedmont Council 420
2859 Hickory Blvd
Hudson, NC 28638


Caldwell Enterprises
Sequoyah Council 713
846 Hwy 44, Lot 8
Bristol, TN 37620


Caldwell Memorial Hospital
Piedmont Council 420
Mulberry St
Lenoir, NC 28645


Caldwell Parish School Board
Attn Sales Tax Dept
P.O. Box 280
Vidalia, LA 71373‐0250


Caldwell Utd Methodist Church
Muskingum Valley Council, Bsa 467
537 Main St
Caldwell, OH 43724


Caldwell Utd Methodist Church
Northern New Jersey Council, Bsa 333
80 Academy Rd
Caldwell, NJ 07006


Caldwell Vfw
Ore‐Ida Council 106 ‐ Bsa 106
1101 Cleveland Blvd
Caldwell, ID 83605


Caldwell West Caldwell Scouting Inc
Northern New Jersey Council, Bsa 333
37 Hillside Ave
Caldwell, NJ 07006


Cale A Bigelow
Address Redacted


Cale Elementary School P T O
Stonewall Jackson Council 763
1757 Avon St Ext
Charlottesville, VA 22902


Caleb Gilkey
Address Redacted


Caleb Greenlee
Address Redacted


Caleb H Ummel
Address Redacted


Caleb I Delcid
Address Redacted


Caleb J Marshall
Address Redacted


Caleb M Philliber
Address Redacted


Caleb Michael Stahl
Address Redacted


Caleb Mulholland
Address Redacted


Caleb S Jennings
Address Redacted


Caledonia American Legion Post 305
President Gerald R Ford 781
9548 Cherry Valley Ave Se
Caledonia, MI 49316


Caledonia Area Kiwanis
President Gerald R Ford 781
9265 Cherry Valley Ave Se
P.O. Box 36
Caledonia, MI 49316


Caledonia Elementary School
Lake Erie Council 440
914 Caledonia Ave
Cleveland, OH 44112


Caledonia Mumford Lions Club
Iroquois Trail Council 376
P.O. Box 144
Caledonia, NY 14423


Caledonia Supper Club
Pushmataha Area Council 691
1294 Stanley Rd
Caledonia, MS 39740


Caledonia Utd Methodist Church
President Gerald R Ford 781
250 Vine St Se
Caledonia, MI 49316


Caledonia Volunteer Fire Dept
Iroquois Trail Council 376
288 Armstrong Pl
Caledonia, NY 14423


Calen Enterprises Inc
8603 Village Mill Row
Hudson, FL 34667


Calen Enterprises Inc
c/o Christopher Jennett
73800 Overseas Hwy
Islamorada, FL 33036


Calendars
P.O. Box 400
Sidney, NY 13838


Calera Elks Lodge 2703
Greater Alabama Council 001
P.O. Box 1098
Calera, AL 35040


Calexico Police
San Diego Imperial Council 049
417 Heber Ave
Calexico, CA 92231


Calexico Rotary Club
San Diego Imperial Council 049
P.O. Box 747
Calexico, CA 92232
Calhoun First Presbyterian Church
Northwest Georgia Council 100
829 Red Bud Rd Ne
Calhoun, GA 30701


Calhoun Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 185
Calhoun, TN 37309


Caliber Collision Centers
1203 Ave K
Plano, TX 75074


Calidad Industries
1301 30th Ave
Oakland, CA 94601


California Chamber Of Commerce
P.O. Box 398336
San Francisco, CA 94139‐8339


California Deparment Of Justice
P.O. Box 903447
Sacramento, CA 94203‐4470


California Dept Of Consumer Affairs
165 Capitol Ave
Hartford, CT 06106‐1630


California Dept Of Education
1430 N St, Ste 3207
Sacramento, CA 95814


California Div Of Collections
Bureau of Unclaimed Property
P.O. Box 942850
Sacramento, CA 94250‐5873


California Franchise Tax Board
Exempt Organizations, Unit Ms F120
P.O. Box 1286
Rancho Cordova, CA 95741


California Franchise Tax Board
P.O. Box 942857
Sacramento, CA 94257‐0700


California Heights Utd Methodist
Long Beach Area Council 032
3759 Orange Ave
Long Beach, CA 90807


California Highway Patrol
California Inland Empire Council 045
195 Highland Springs Ave
Beaumont, CA 92223


California Highway Patrol
California Inland Empire Council 045
2211 Wern Ave
San Bernardino, CA 92411


California Highway Patrol
California Inland Empire Council 045
8118 Lincoln Ave
Riverside, CA 92504


California Highway Patrol
California Inland Empire Council 045
9530 Pittsburgh Ave
Rancho Cucamonga, CA 91730


California Highway Patrol
Golden Empire Council 047
11336 Trade Center Dr
Rancho Cordova, CA 95742


California Highway Patrol
Golden Empire Council 047
11363 Mccourtney Rd
Grass Valley, CA 95949
California Highway Patrol
Golden Empire Council 047
413 Sgate Ave
Chico, CA 95928


California Highway Patrol
Golden Empire Council 047
5700 Live Oak Dr
Kelseyville, CA 95451


California Highway Patrol
Golden Empire Council 047
6 Massie Ct
Sacramento, CA 95823


California Highway Patrol
Mt Diablo‐Silverado Council 023
3050 Travis Blvd
Fairfield, CA 94533


California Highway Patrol
Mt Diablo‐Silverado Council 023
5001 Blum Rd
Martinez, CA 94553


California Highway Patrol
Pacific Skyline Council 031
355 Convention Way
Redwood City, CA 94063


California Highway Patrol
Rohnert Park Office 360
Redwood Empire Council 041
6100 Labath Ave
Rohnert Park, Ca 94928


California Highway Patrol
San Diego Imperial Council 049
435 La Tortuga Dr
Vista, CA 92081
California Highway Patrol
San Diego Imperial Council 049
4902 Pacific Hwy
San Diego, CA 92110


California Highway Patrol
Santa Cruz County
Silicon Valley Monterey Bay 055
10395 Soquel Dr
Aptos, Ca 95003


California Highway Patrol
Sequoia Council 027
1380 E Fortune Ave
Fresno, CA 93725


California Highway Patrol
Sequoia Council 027
1565 Glendale Ave
Hanford, CA 93230


California Highway Patrol
Sequoia Council 027
3051 Airport Dr
Madera, CA 93637


California Highway Patrol
Silicon Valley Monterey Bay 055
740 Renz Ln
Gilroy, CA 95020


California Highway Patrol
Southern Sierra Council 030
1313 State Hwy 58
Mojave, CA 93501


California Highway Patrol Dublin
San Francisco Bay Area Council 028
4999 Gleason Dr
Dublin, CA 94568


California Highway Patrol ‐ Joshua Tree
California Inland Empire Council 045
63683 29 Palms Hwy
Joshua Tree, CA 92252


California Highway Patrol ‐ Monterey
Silicon Valley Monterey Bay 055
960 E Blanco Rd
Salinas, CA 93901


California Highway Patrol Oakland
San Francisco Bay Area Council 028
3601 Telegraph Ave
Oakland, CA 94609


California Highway Patrol ‐ San Jose
Silicon Valley Monterey Bay 055
2020 Junction Ave
San Jose, CA 95131


California Highway Patrol ‐ Sf Area
San Francisco Bay Area Council 028
455 8th St
San Francisco, CA 94103


California Highway Patrol Altadena
Greater Los Angeles Area 033
2130 Windsor Ave
Altadena, CA 91001


California Highway Patrol Amador
Golden Empire Council 047
301 Clinton Rd
Jackson, CA 95642


California Highway Patrol‐ Antelope Vly
Greater Los Angeles Area 033
2041 W Ave I
Lancaster, Ca 93536


California Highway Patrol‐ Central
Greater Los Angeles Area 033
777 W Washington Blvd
Los Angeles, CA 90015


California Highway Patrol E Los Angeles
Greater Los Angeles Area 033
1601 Corporate Center Dr
Monterey Park, Ca 91754


California Highway Patrol El Cajon Area
San Diego Imperial Council 049
1722 E Main St
El Cajon, CA 92021


California Highway Patrol Explorer 265
Greater Yosemite Council 059
3330 N Ad Art Rd
Stockton, CA 95215


California Highway Patrol Newhall Area
Greater Los Angeles Area 033
28648 the Old Rd
Valencia, CA 91355


California Highway Patrol Redding
Golden Empire Council 047
2503 Cascade Blvd
Redding, CA 96003


California Highway Patrol‐ W Los Angeles
Greater Los Angeles Area 033
6300 Bristol Pkwy
Culver City, Ca 90230


California Highway Patrol‐ W Vly Area
Greater Los Angeles Area 033
5825 De Soto Ave
Woodland Hills, Ca 91367


California Highway Patrol, El Centro
San Diego Imperial Council 049
2331 US Hwy 86
Imperial, CA 92251
California Highway Patrol‐Baldwin Park
Greater Los Angeles Area 033
14039 Francisquito Ave
Baldwin Park, CA 91706


California Inland Empire
1230 Indiana Court
Redlands, CA 92374‐2100


California Inland Empire Cncl 45
1230 Indiana Ct
Redlands, CA 92374‐2100


California Institute Of Technology
Financial Aid Office
383 S Hill Ave
Pasadena, CA 91106


California Jr Life Guards Salt Creek
Orange County Council 039
P.O. Box 1639
Huntington Beach, CA 92647


California Lions Club
Great Rivers Council 653
P.O. Box 141
California, MO 65018


California Maritime Academy
Attn Cashier
200 Maritime Academy Dr
Vallejo, CA 94590‐8181


California National Guard
Orange County Council 039
455 Saratoga Ave Bldg 15
Los Alamitos, CA 9089


California Polytechnic State Univ Pomona
Attn Scholarship Coordinator
3801 W Temple Ave
Pomona, CA 91768


California Polytechnic State University
Attn University Cashier
1 Grand Ave, Administrator 131‐E
San Luis Obispo, CA 93407


California Professional Flyers Inc
37600 Sky Canyon Dr, Box 508
Murrieta, CA 92563


California Sos
P.O. Box 944230
Sacramento, CA 94244‐2300


California State Attorneys General
1300 I St, Ste 1740
Sacramento, CA 95814


California State University ‐ La
Disbursement Office
5151 State University Dr, Adm 131
Los Angeles, CA 90032


California State University Bakersfield
Financial Aid
9001 Stockdale Hwy
Bakersfield, CA 93311‐1022


California State University Fresno
Scholarship Office
5150 N Maple Ave Ja64
Fresno, CA 93740


California State University Long Beach
Attn Glorita Rosario
1250 Bellflower Blvd
Long Beach, CA 90840


California Utd Methodist Church
Laurel Highlands Council 527
227 3rd St
California, PA 15419


California Waterfowl Assoc.
Golden Empire Council 047
1346 Blue Oaks Blvd, Ste 200
Roseville, CA 95678


Calinda H Baker
Address Redacted


Call The Caterer LLC
2600 Paseo Verde Pkwy, Ste 150
Henderson, NV 89074


Callahan Masonic Lodge 32
North Florida Council 087
P.O. Box 535
Callahan, FL 32011


Callahan Neighborhood Center
Central Florida Council 083
101 N Parramore Ave
Orlando, FL 32801


Callaway Elementary School
Baltimore Area Council 220
3701 Fernhill Ave
Baltimore, MD 21215


Callaway High School
Andrew Jackson Council 303
601 Beasley Rd
Jackson, MS 39206


Caln Elementary PTA
Chester County Council 539
3609 Lincoln Hwy
Thorndale, PA 19372


Cal‐Neon Inc
1005 Martin Ave
Santa Clara, CA 95050


Caloosa Elementary School
Southwest Florida Council 088
620 Del Prado Blvd S
Cape Coral, FL 33990


Caltex/Zerox Services Inc
10627 Tower Oaks
Houston, TX 77070


Calumet City Police Dept
Pathway To Adventure 456
1200 Pulaski Rd
Calumet City, IL 60409


Calvary Asbury Utd Methodist Church
Del Mar Va 081
103 N Church St
Sudlersville, MD 21668


Calvary Baptist Church
Alamo Area Council 583
6142 Fm 78
San Antonio, TX 78244


Calvary Baptist Church
Capitol Area Council 564
P.O. Box 340
3100 Loop 150 E
Bastrop, TX 78602


Calvary Baptist Church
Crater Lake Council 491
2241 N Main St
Prineville, OR 97754


Calvary Baptist Church
Del Mar Va 081
1120 Market St
Denton, MD 21629
Calvary Baptist Church
Grand Columbia Council 614
840 Cowboy Ln
Ellensburg, WA 98926


Calvary Baptist Church
Greater Los Angeles Area 033
2990 Damien Ave
La Verne, CA 91750


Calvary Baptist Church
Louisiana Purchase Council 213
5011 Jackson St
Alexandria, LA 71303


Calvary Baptist Church
Old Hickory Council 427
314 S Franklin Rd
Mount Airy, NC 27030


Calvary Baptist Church
Old N State Council 070
7860 Nc Hwy 87
Reidsville, NC 27320


Calvary Baptist Church
Pacific Harbors Council, Bsa 612
9010 320th St S
Roy, WA 98580


Calvary Baptist Church
Pushmataha Area Council 691
295 Dowdle Dr
Columbus, MS 39702


Calvary Baptist Church
Quapaw Area Council 018
5700 Cantrell Rd
Little Rock, AR 72207
Calvary Baptist Church
Westmoreland Fayette 512
792 S Center Ave
New Stanton, PA 15672


Calvary Chapel
Mount Baker Council, Bsa 606
9428 4th St Se
Lake Stevens, WA 98258


Calvary Chapel Chico
Golden Empire Council 047
1888 Springfield Dr
Chico, CA 95928


Calvary Chapel Ft Lauderdale
South Florida Council 084
2401 W Cypress Creek Rd
Ft Lauderdale, FL 33309


Calvary Chapel Golden Springs
Greater Los Angeles Area 033
22324 Golden Springs Dr
Diamond Bar, CA 91765


Calvary Chapel Of Costa Mesa
Orange County Council 039
3800 S Fairview St
Santa Ana, CA 92704


Calvary Chapel Of Downey
Long Beach Area Council 032
12808 Woodruff Ave
Downey, CA 90242


Calvary Chapel Of Norman
Last Frontier Council 480
1401 W Boyd St
Norman, OK 73069


Calvary Chapel Of Santa Maria
Los Padres Council 053
2620 Santa Maria Way
Santa Maria, CA 93455


Calvary Chapel Of Thousand Oaks
Ventura County Council 057
2697 Lavery Ct, Ste 10
Newbury Park, CA 91320


Calvary Chapel Pomona Valley
Greater Los Angeles Area 033
2809 Pomona Blvd
Pomona, CA 91768


Calvary Chapel Tracy
Greater Yosemite Council 059
125 Gandy Dancer Dr, Ste 40
Tracy, CA 95377


Calvary Church
Orange County Council 039
1010 N Tustin Ave
Santa Ana, CA 92705


Calvary Church
W.L.A.C.C. 051
7115 Shoup Ave
West Hills, CA 91307


Calvary Church Of The Nazarene
Coastal Carolina Council 550
P.O. Box 329
Goose Creek, SC 29445


Calvary Church Of The Nazarine Apopka
Central Florida Council 083
750 Roger Williams Rd
Apopka, FL 32703


Calvary Community Center
Pathway To Adventure 456
8200 S S Chicago Ave
Chicago, IL 60617
Calvary Community Church
W.L.A.C.C. 051
5495 Via Rocas
Westlake Village, CA 91362


Calvary Episcopal Church
Dan Beard Council, Bsa 438
3766 Clifton Ave
Cincinnati, OH 45220


Calvary Episcopal Church
Great Rivers Council 653
123 S 9th St
Columbia, MO 65201


Calvary Episcopal Church
Sam Houston Area Council 576
806 Thompson Rd
Richmond, TX 77469


Calvary Evangelical Lutheran Church
Great Lakes Fsc 272
6805 Bluegrass Dr
Clarkston, MI 48346


Calvary Evangelical Lutheran Church
Great Lakes Fsc 272
9101 Highland Rd
White Lake, MI 48386


Calvary Hilltop Utd Methodist Church
Dan Beard Council, Bsa 438
1930 W Galbraith Rd
Cincinnati, OH 45239


Calvary Lutheran Church
Anthony Wayne Area 157
1532 N Main St
Bluffton, IN 46714
Calvary Lutheran Church
Baltimore Area Council 220
16151 Old Frederick Rd
Mount Airy, MD 21771


Calvary Lutheran Church
Bay‐Lakes Council 635
1921 Adams St
Two Rivers, WI 54241


Calvary Lutheran Church
Black Hills Area Council 695 695
5311 Sheridan Lake Rd
Rapid City, SD 57702


Calvary Lutheran Church
Central Minnesota 296
414 Wood St S
Mora, MN 55051


Calvary Lutheran Church
Central N Carolina Council 416
950 Bradley St
Concord, NC 28025


Calvary Lutheran Church
Hawk Mountain Council 528
1009 Elizabeth Ave
Laureldale, PA 19605


Calvary Lutheran Church
Heart of America Council 307
7500 Oak St
Kansas City, MO 64114


Calvary Lutheran Church
Inland Nwest Council 611
1101 N Chase Rd
Post Falls, ID 83854


Calvary Lutheran Church
Jayhawk Area Council 197
4211 NW Topeka Blvd
Topeka, KS 66617


Calvary Lutheran Church
Longhorn Council 662
7620 Baker Blvd
Richland Hills, TX 76118


Calvary Lutheran Church
Northern Lights Council 429
1405 S 9th St
Grand Forks, ND 58201


Calvary Lutheran Church
Northern Lights Council 429
605 Douglas St
Alexandria, MN 56308


Calvary Lutheran Church
Northern New Jersey Council, Bsa 333
165 W Crescent Ave
Allendale, NJ 07401


Calvary Lutheran Church
Northern Star Council 250
302 Olena Ave
Willmar, MN 56201


Calvary Lutheran Church
Northern Star Council 250
6817 Antrim Rd
Edina, MN 55439


Calvary Lutheran Church
Suffolk County Council Inc 404
860 Townline Rd
Hauppauge, NY 11788


Calvary Lutheran Church
Theodore Roosevelt Council 386
36 Taylor Ave
East Meadow, NY 11554
Calvary Lutheran Churchmen
Illowa Council 133
121 Meridian St
New Windsor, IL 61465


Calvary Lutheran Church‐White Lake
Great Lakes Fsc 272
9101 Highland Rd
White Lake, MI 48386


Calvary Lutheran Mens Club
Voyageurs Area 286
2508 Washington Ave Se
Bemidji, MN 56601


Calvary Memorial Utd Methodist Church
East Carolina Council 426
107 W Greene St
Snow Hill, NC 28580


Calvary Presbyterian Ch San Francisco
San Francisco Bay Area Council 028
2515 Fillmore St
San Francisco, Ca 94115


Calvary Presbyterian Church
Great Swest Council 412
P.O. Box 336
Mill St   Church St
Bayfield, CO 81122


Calvary Presbyterian Church
Greater Los Angeles Area 033
1050 Fremont Ave
South Pasadena, CA 91030


Calvary Presbyterian Church
Greater New York Councils, Bsa 640
909 Castleton Ave
Staten Island, NY 10310
Calvary Presbyterian Church
Laurel Highlands Council 527
695 School St
Indiana, PA 15701


Calvary Presbyterian Church
Northeast Illinois 129
510 N Cedar Lake Rd
Round Lake, IL 60073


Calvary Presbyterian Church In America
Occoneechee 421
6520 Ray Rd
Raleigh, NC 27613


Calvary Presbyterian Church Of Wyncote
Cradle of Liberty Council 525
217 Fernbrook Ave
Wyncote, PA 19095


Calvary Reformed Church
President Gerald R Ford 781
955 E 8th St
Holland, MI 49423


Calvary Saint George Episcopal Church
Connecticut Yankee Council Bsa 072
755 Clinton Ave
Bridgeport, CT 06604


Calvary Utd   St Francis Xavier Ches
Ohio River Valley Council 619
1601 1St St
Moundsville, Wv 26041


Calvary Utd Church Of Christ
Laurel Highlands Council 527
125 Shaw Ave
Turtle Creek, PA 15145


Calvary Utd Methodist Church
Anthony Wayne Area 157
6301 Winchester Rd
Fort Wayne, IN 46819


Calvary Utd Methodist Church
Anthony Wayne Area 157
P.O. Box 229
Avilla, IN 46710


Calvary Utd Methodist Church
Baltimore Area Council 220
301 Rowe Blvd
Annapolis, MD 21401


Calvary Utd Methodist Church
Baltimore Area Council 220
3939 Gamber Rd
Finksburg, MD 21048


Calvary Utd Methodist Church
Bucktail Council 509
167 Blue Ball Rd
West Decatur, PA 16878


Calvary Utd Methodist Church
Circle Ten Council 571
3105 Lamar Ave
Paris, TX 75460


Calvary Utd Methodist Church
Crossroads of America 160
575 W Nfield Dr
Brownsburg, IN 46112


Calvary Utd Methodist Church
Five Rivers Council, Inc 375
P.O. Box 237
Lawrenceville, PA 16929


Calvary Utd Methodist Church
Heart of Virginia Council 602
7647 History Land Hwy
Farnham, VA 22460


Calvary Utd Methodist Church
Laurel Highlands Council 527
239 W Church St
Somerset, PA 15501


Calvary Utd Methodist Church
Narragansett 546
200 Turner Rd
Middletown, RI 02842


Calvary Utd Methodist Church
National Capital Area Council 082
131 W 2nd St
Frederick, MD 21701


Calvary Utd Methodist Church
National Capital Area Council 082
2315 S Grant St
Arlington, VA 22202


Calvary Utd Methodist Church
New Birth of Freedom 544
203 Mumper Ln
Dillsburg, PA 17019


Calvary Utd Methodist Church
New Birth of Freedom 544
4700 Locust Ln
Harrisburg, PA 17109


Calvary Utd Methodist Church
New Birth of Freedom 544
Pottsville St
Wiconisco, PA 17097


Calvary Utd Methodist Church
North Florida Council 087
112 Blanding Blvd
Orange Park, FL 32073
Calvary Utd Methodist Church
Pikes Peak Council 060
4210 Austin Bluffs Pkwy
Colorado Springs, CO 80918


Calvary Utd Methodist Church
Pine Tree Council 218
59 Sabattus St
Lewiston, ME 04240


Calvary Utd Methodist Church
Quivira Council, Bsa 198
118 W Jackson Ave
Iola, KS 66749


Calvary Utd Methodist Church
Quivira Council, Bsa 198
2525 N Rock Rd
Wichita, KS 67226


Calvary Utd Methodist Church
Shenandoah Area Council 598
220 W Burke St
Martinsburg, WV 25401


Calvary Utd Methodist Church
Sherrodsville
Buckeye Council 436
338 S Church St
Sherrodsville, Oh 44675


Calvary Utd Methodist Church
Southern Shores Fsc 783
1415 Miller Ave
Ann Arbor, MI 48103


Calvary Utd Methodist Church
Stonewall Jackson Council 763
2179 Stuarts Draft Hwy
Stuarts Draft, VA 24477
Calvary Utd Methodist Church
Stonewall Jackson Council 763
Route 340
Stuarts Draft, VA 24477


Calvary Utd Methodist Church
W D Boyce 138
1700 N Towanda Ave
Normal, IL 61761


Calvary Utd Methodist Church
Westmoreland Fayette 512
201 N Saint Clair St
P.O. Box 716
Ligonier, PA 15658


Calvary Utd Methodist Church
Westmoreland Fayette 512
34 Clark St
Uniontown, PA 15401


Calvary Wesleyan Church
Great Trail 433
139 31st St Sw
Barberton, OH 44203


Calvert City Utd Methodist Church
Lincoln Heritage Council 205
571 Oak Park Blvd
Calvert City, KY 42029


Calvert County Sheriff S Dept
National Capital Area Council 082
30 Church St
Prince Frederick, MD 20678


Calvert Lodge 2620
National Capital Area Council 082
1021 Dares Beach Rd
Prince Frederick, MD 20678


Calvert Marine Museum
National Capital Area Council 082
14150 Solomons Island Rd
Solomons Island, MD 20688


Calvery Missionary Baptist Church
Sam Houston Area Council 576
10346 Fairfax St
Houston, TX 77029


Calvery Utd Methodist Church
Southern Shores Fsc 783
790 Patterson Dr
Monroe, MI 48161


Calvin C Blubaugh
Address Redacted


Calvin College
Financial Aid Offices
3201 Burton St, Se
Grand Rapids, MI 49546‐4301


Calvin Danner Hampton
Address Redacted


Calvin Jewell
Address Redacted


Calvin Johnson
Address Redacted


Calvin Kath
Address Redacted


Calvin Littlefield
Address Redacted


Calvin Mccarroll
Address Redacted
Calvin Presbyterian Church
Cascade Pacific Council 492
10445 SW Canterbury Ln
Tigard, OR 97224


Calvin Presbyterian Church
Tidewater Council 596
2901 E Little Creek Rd
Norfolk, VA 23518


Calvinaugh Rossiel Jones
Address Redacted


Calvino Muse Sr
Address Redacted


Calypso Presbyterian Church
Tuscarora Council 424
P.O. Box 321
Calypso, NC 28325


Calypso Presbyterian Church
Tuscarora Council 424
Rt 2 Box 371‐A
Calypso, NC 28325


Calypso Water Sports   Charters, Inc
257 Atlantic Blvd
Key Largo, FL 33037


Calypso Water Sports   Charters, Inc
73800 Overseas Hwy
Islamorada, FL 33036


Calypso Watersports
Po 2037
Key Largo, FL 33037


Calzone Case Co
225 Black Rock Ave
Bridgeport, CT 06605


Camanche Fire Dept
Illowa Council 133
720 9th Ave
P.O. Box 77
Camanche, IA 52730


Camanche Kiwanis Club
Illowa Council 133
P.O. Box 303
Camanche, IA 52730


Camano Lutheran Church
Mount Baker Council, Bsa 606
850 Heichel Rd
Camano Island, WA 98282


Camarillo Amber S Light Lions Club
Ventura County Council 057
P.O. Box 3264
Camarillo, CA 93011


Camarillo Utd Methodist Church
Ventura County Council 057
291 Anacapa Dr
Camarillo, CA 93010


Camas Church Of The Nazarene
Cascade Pacific Council 492
2204 NE Birch St
Camas, WA 98607


Cambria Volunteer Fire Co
Iroquois Trail Council 376
4631 Cambria Wilson Rd
Lockport, NY 14094


Cambrian Park Utd Methodist Church
Silicon Valley Monterey Bay 055
1919 Gunston Way
San Jose, CA 95124
Cambridge Academy
Grand Canyon Council 010
20365 E Ocotillo Rd
Queen Creek, AZ 85142


Cambridge Area Rotary
Green Mountain 592
P.O. Box 96
Cambridge, VT 05444


Cambridge City Evening Kiwanis
Crossroads of America 160
16933 W Delaware St
Cambridge City, IN 47327


Cambridge Elementary School
Central Florida Council 083
2000 Cambridge Dr
Cocoa, FL 32922


Cambridge Utd Methodist Church
Blue Ridge Council 551
201 Kitson St
Ninty Six, SC 29666


Cambridge Valley Rescue Squad
Twin Rivers Council 364
37 Gilbert St
Cambridge, NY 12816


Camden Community Culinary Co Op 4C
Coastal Georgia Council 099
106 E Conyers St
Saint Marys, GA 31558


Camden Cumberland Presbyterian Church
West Tennessee Area Council 559
239 W Main St
Camden, TN 38320
Camden Fire Dept
Indian Waters Council 553
1000 Lyttleton St
Camden, SC 29020


Camden Lions Club
Leatherstocking 400
P.O. Box 85
Camden, NY 13316


Camden Military Academy
Indian Waters Council 553
520 US Hwy N
Camden, SC 29020


Camden R Waldron
Address Redacted


Camden Utd Methodist Church
Leatherstocking 400
132 Main St
Camden, NY 13316


Camden Utd Methodist Church
Miami Valley Council, Bsa 444
P.O. Box 87
Camden, OH 45311


Camden Witt
Address Redacted


Camden Wyoming Fire Co
Del Mar Va 081
200 E Camden Wyoming Ave
Camden, DE 19934


Camela Rogers
Address Redacted


Camelbak Products Inc
P.O. Box 734148
Chicago, IL 60673‐4148


Camelot Club
451 Florida St
Baton Rouge, LA 70801


Cameo Personnel Systems Inc
P.O. Box 60839
Charlotte, NC 28260‐0839


Camera Bits, Inc
472 S 1st Ave
Hillsboro, OR 97123


Cameron A Nissen
Address Redacted


Cameron Ackley
Address Redacted


Cameron Anstey
Address Redacted


Cameron Bomstad
Address Redacted


Cameron J Ballard
Address Redacted


Cameron J Bonnell
Address Redacted


Cameron J Flester
Address Redacted


Cameron Knight
Address Redacted
Cameron Lions Club
Longhorn Council 662
P.O. Box 52
Cameron, TX 76520


Cameron Park Fire Dept
Golden Empire Council 047
3200 Country Club Dr
Cameron Park, CA 95682


Cameron Richardson
Address Redacted


Cameron Rosloniec
Address Redacted


Cameron S Condara
Address Redacted


Cameron Utd Methodist Church
National Capital Area Council 082
3130 Franconia Rd
Alexandria, VA 22310


Cami Marcom
Address Redacted


Camille E Haycock
Address Redacted


Camille J Hall
Address Redacted


Camille Travis
Address Redacted


Camille Valladares
Address Redacted
Camillus Police Benevolent Assoc
Longhouse Council 373
4600 W Genesee St
Syracuse, NY 13219


Camino Principal Ward ‐ LDS Tucson Stake
Catalina Council 011
6150 E Fairmount St
Tucson, AZ 85712


Camp Augustine
Overland Trails 322
2299 W Camp Augustine Rd
Doniphan, NE 68832


Camp Babcock‐Hovey Alumni Assoc
c/o Hank Roenke
Seneca Waterways 397
24 Maplewood Dr
Geneva, NY 14456


Camp Bartlett
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Camp Barton Alumni Assoc
Baden‐Powell Council 368
P.O. Box 66
Binghamton, NY 13903


Camp Berry Staff Assoc
Black Swamp Area Council 449
11716 County Rd 40
Findlay, OH 45840


Camp Bethel
328 Bethel Rd
Fincastle, VA 24090


Camp Boddie
East Carolina Council 426
419 Boy Scout Rd
Blounts Creek, NC 27814


Camp Bomazeen
Pine Tree Council 218
656 Horsepoint Rd
Belgrade, ME 04918


Camp Bud Schiele
Piedmont Council 420
668 Boy Scout Rd
Rutherfordton, NC 28139


Camp Carpenter
Daniel Webster Council, Bsa 330
300 Blondin Rd
Manchester, NH 03109


Camp Chapel Utd Methodist Church
Baltimore Area Council 220
5000 E Joppa Rd
Perry Hall, MD 21128


Camp Chef/ Logan Outdoor Prod LLC
3985 N 75 W
Hyde Park, UT 84318


Camp Chicagami
Voyageurs Area 286
3755 Scout Camp Rd
Eveleth, MN 55734


Camp Conestoga
Westmoreland Fayette 512
255 Conestoga Camp Rd
Somerset, PA 15501


Camp Cornhusker Camp Staff
Cornhusker Council 324
63375 703 Trl
Du Bois, NE 68345
Camp Cosby
2290 Paul Bear Bryant Rd
Alpine, AL 35014


Camp Crooked Creek Staff Alumni Assoc
Lincoln Heritage Council 205
950 Terry Dr
Shepherdsville, Ky 40165


Camp Curran Community Assoc
Pacific Harbors Council, Bsa 612
P.O. Box 44742
Tacoma, WA 98448


Camp Daniel Boone
P.O. Box 7626
Asheville, NC 28802


Camp Dick Elementary
Blue Grass Council 204
279 N Camp Dick Rd
Lancaster, KY 40444


Camp Emerald Bay
16525 Sherman Way, Unit C‐8
Van Nuys, CA 91406


Camp Fife
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Camp Fire West Texas
Buffalo Trail Council 567
3500 N A St, Ste 1200
Midland, TX 79705


Camp Friendship
Black Hills Area Council 695 695
P.O. Box 1986
Rapid City, SD 57709
Camp Fully Involved
Daniel Webster Council, Bsa 330
27 Derry St
Merrimack, NH 03054


Camp Geiger
Pony Express Council 311
9525 County Rd 388
Saint Joseph, MO 64505


Camp George Thomas
Last Frontier Council 480
Rr 2 Box 169
Apache, OK 73006


Camp Greenough Scout Reservation
Cape Cod and Islands Cncl 224
227 Pine St
Yarmouth Port, MA 02675


Camp Hadley Trust
Narragansett 546
P.O. Box 504
Marion, MA 02738


Camp Hill Grace Evangelical Lutheran Ch
New Birth Of Freedom 544
1610 Carlisle Rd
Camp Hill, Pa 17011


Camp Hunt Bsa
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Camp J. George Mitnick
Black Warrior Council 006
4436 Calumet Rd
Jasper, AL 35501
Camp Jackson Fire Dept
Greater St Louis Area Council 312
3201 Camp Jackson Rd
Cahokia, IL 62206


Camp Kiesel And Camp Browning
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Camp Kinard
6053 Two Notch Rd
Leesville, SC 29070


Camp Kootaga Alumni Assoc
Buckskin 617
Rt 1 Box 233
Walker, WV 26180


Camp Kuratli At Trestle Glen
8495 SE Monterey Ave
Happy Valley, OR 97086


Camp Kuratli At Trestle Glen
c/o Claudia Lewis
24751 SE Hwy 224
Boring, OR 97009


Camp La No Che
P.O. Box 323
Paisley, FL 32767


Camp La No Che Central Florida Council
Central Florida Council 083
P.O. Box 489
Paisley, FL 32767


Camp Laramie Peak Staff Alumni
Longs Peak Council 062
65 Forest Service Rd 633
Wheatland, WY 82201
Camp Lawton Alumni   Staff Assoc
Catalina Council 011
P.O. Box 786
Mount Lemmon, AZ 85619


Camp Living Waters
21230 Living Waters Rd
Loranger, LA 70446‐1750


Camp Loll
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Camp Mack
Pennsylvania Dutch Council 524
Rr 1 Scout Lane
Newmanstown, PA 17073


Camp Manatoc Reservation
Great Trail 433
1065 Truxell Rd
Peninsula, OH 44264


Camp Manitowa
Greater St Louis Area Council 312
12770 N Benton Rd
Benton, IL 62812


Camp Mccomas LLC
Charles E Mccomass
2189 Oakridge Dr
Charleston, WV 25311


Camp Mckee
Blue Grass Council 204
8695 Levee Rd
Jeffersonville, KY 40337


Camp Mcpherson Scouting Group
Cape Fear Council 425
817 A.S. Hinson Rd
Chadbourn, NC 28431


Camp Merz Alumni
Allegheny Highlands Council 382
5297 W Lake Rd
Mayville, NY 14757


Camp Miakonda
5600 W Sylvania Ave
Toledo, OH 43623


Camp Miakonda
Erie Shores Council 460
5600 W Sylvania Ave
Toledo, OH 43623


Camp Mountain Run
Bucktail Council 509
5091 Mountain Run Rd
Penfield, PA 15849


Camp New Fork
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Camp Old Indian
Blue Ridge Council 551
601 Callahan Mountain Rd
Travelers Rest, SC 29690


Camp Omega Inc
Central Florida Council 083
P.O. Box 543
Sanford, FL 32772


Camp Oyo
Simon Kenton Council 441
168 Shawnee Rd
West Portsmouth, OH 45663
Camp Puhtok Forboys And Girls Inc
Baltimore Area Council 220
17433 Big Falls Rd
Monkton, MD 21111


Camp Rainey Mountain
Northeast Georgia Council 101
1494 Rainey Mountain Rd
Clayton, GA 30525


Camp Rotary Scout Camp
Water and Woods Council 782
3201 S Clare Ave
Clare, MI 48617


Camp Roy C Manchester
Lincoln Heritage Council 205
1531 Cross Rd
Benton, KY 42025


Camp Royaneh Alumni Assoc
San Francisco Bay Area Council 028
1001 Davis St
San Leandro, CA 94577


Camp Royaneh Stakeholders
San Francisco Bay Area Council 028
P.O. Box 39
Cazadero, CA 95421


Camp Seminole
Pushmataha Area Council 691
40 Camp Seminole Rd
Starkville, MS 39759


Camp Sertoma Foundation Inc
Crossroads of America 160
2316 S German Church Rd
Indianapolis, IN 46239


Camp Simpson
Arbuckle Area Council 468
6535 E Coatsworth Rd
Milburn, OK 73450


Camp Staff Alumni
Moraine Trails Council 500
150 Bu Co Co Ln
Slippery Rock, PA 16057


Camp Staff Alumni Assoc
Sioux Council 733
31071 430th Ave
Tabor, SD 57063


Camp Story
2121 Colonial Dr
Sheridan, WY 82801


Camp Strake Camping Services
P.O. Box 1739
Conroe, TX 77305‐1739


Camp Sunshine Centennial Hills
Tukabatchee Area Council 005
515 Percy Dr
Montgomery, AL 36104


Camp Sunshine For Boys
Tukabatchee Area Council 005
3236 Bankhead Ave
Montgomery, AL 36106


Camp Sunshine Gibbs West
Tukabatchee Area Council 005
2025 Terminal Rd
Montgomery, AL 36108


Camp Sunshine Southlawn Commons
Tukabatchee Area Council 005
100 Windywood Dr
Montgomery, AL 36108
Camp Tapico
Mike Beratta Camp Dir
2408 Camp Tapico Rd Ne
Kalkaska, MI 49646


Camp Taylor Elementary School
Lincoln Heritage Council 205
1446 Belmar Dr
Louisville, KY 40213


Camp Thoreau Summer
Three Harbors Council 636
7878 N 60th St
Milwaukee, WI 53223


Camp Thunderbird Alumni
Pacific Harbors Council, Bsa 612
609 N Water St
Ellensburg, WA 98926


Camp Tracy New Scout Camp Camp Staff
Great Salt Lake Council 590
525 Foothill Blvd
Salt Lake City, UT 84113


Camp Tuckahoe
400 Tuckahoe Rd
Dillsburg, PA 17013


Camp Tuscarora
Tuscarora Council 424
1433 Scout Rd
Four Oaks, NC 27524


Camp Usa, Inc
16050 Table Mountain Pkwy, 600
Golden, CO 80403


Camp Verde Fire District
Grand Canyon Council 010
26 W Salt Mine Rd B
Camp Verde, AZ 86322


Camp William Hinds
Pine Tree Council 218
146 Plains Rd
Raymond, ME 04071


Camp Wilmont Sweeney
San Francisco Bay Area Council 028
2600 Fairmont Dr
San Leandro, CA 94578


Camp Wingate Kirkland
Cape Cod and Islands Cncl 224
79 White Rock Rd
Yarmouth Port, MA 02675


Camp Yawgoog
Narragansett 546
61 Camp Yawgoog Rd
Rockville, RI 02873


Campaign For Youth Justice
1220 L St Nw, Ste 605
Washington, DC 20005


Campaign Forthe Fair Sentencing Of Youth
1319 F St Nw, Ste 303
Washington, DC 20004


Campamento Guajataka
Puerto Rico Council 661
Carr 119 Km 24.1
San Sebastian, PR 00669


Campbell Ame Church
National Capital Area Council 082
2562 Martin Luther King Jr Ave Se
Washington, DC 20020


Campbell County Family Ymca
Dan Beard Council, Bsa 438
1437 S Fort Thomas Ave
Fort Thomas, KY 41075


Campbell County Police Dept
Dan Beard Council, Bsa 438
8774 Constable Dr
Alexandria, KY 41001


Campbell County Vfw Post 3205
Dan Beard Council, Bsa 438
P.O. Box 173
Alexandria, KY 41001


Campbell County Ymca
Dan Beard Council, Bsa 438
1437 S Fort Thomas Ave
Fort Thomas, KY 41075


Campbell Miracle Mile Optimist Club
Silicon Valley Monterey Bay 055
5655 Gallup Dr
San Jose, CA 95118


Campbell Parent Teacher Organization
Cornhusker Council 324
2200 Dodge St
Lincoln, NE 68521


Campbell Police Dept
Silicon Valley Monterey Bay 055
70 N 1st St
Campbell, CA 95008


Campbell Resources
14800 Landmark Blvd 155
Dallas, TX 75254


Campbell Scouting Foundation
Silicon Valley Monterey Bay 055
610 Craig Ave
Campbell, CA 95008
Campbell Utd Methodist Church
Five Rivers Council, Inc 375
8516 Main St
Campbell, NY 14821


Campbell Utd Methodist Church
Ozark Trails Council 306
1747 E Republic Rd
Springfield, MO 65804


Campbell Ward ‐ LDS Tucson Stake
Catalina Council 011
3750 E Fort Lowell Rd
Tucson, AZ 85716


Campbell‐Richmond AL Post 63
Great Lakes Fsc 272
8047 Ortonville Rd
Clarkston, Mi 48348


Campbellsport Volunteer Fire Dept
Bay‐Lakes Council 635
P.O. Box 709
548 E Main St
Campbellsport, WI 53010


Campbellsville 1st Utd Methodist Ch
Lincoln Heritage Council 205
317 E Main St
Campbellsville, Ky 42718


Campbelltown Volunteer Fire Co
Pennsylvania Dutch Council 524
P.O. Box 64
Campbelltown, PA 17010


Campfire Industries, LLC
1466 W 11150 S
South Jordan, UT 84095
Campfire Publishing Co
8107 Bayou Bend Blvd
Laurel, MD 20724‐1958


Camping Comm Chief Cornplanter
Chief Cornplanter Council, Bsa 538
316 4th Ave
Warren, PA 16365


Camping Life
P.O. Box 5859
Harlan, IA 51593‐1359


Campmaid, LLC
6355 S Rodeo Ln
Salt Lake City, UT 84121


Campton‐Thornton Firemen S Assoc
Daniel Webster Council, Bsa 330
Rt.49
Campton, NH 03223


Campus Elementary
President Gerald R Ford 781
710 Benjamin Ave Se
Grand Rapids, MI 49506


Campus Of Hope Tenants
Greater Alabama Council 001
7527 66th St S
Birmingham, AL 35212


Campus One Sportswear
9980 Lakeview Ave
Lenexa, KS 66219


Canaan Baptist Church
Greater Alabama Council 001
824 15th St N
Bessemer, AL 35020
Canaan Baptist Church
Prairielands 117
402 W Main St
Urbana, IL 61801


Canaan Fire Dept
Daniel Webster Council, Bsa 330
P.O. Box 353
Canaan, NH 03741


Canaan Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 252
Canaan, NH 03741


Canaan Township Fire Dept
Great Trail 433
P.O. Box 2223
Creston, OH 44217


Canaan Utd Methodist Church
Buckskin 617
401 Roane St
Charleston, WV 25302


Canada Revenue Agency
International Tax Services
102A‐2204 Walkley Rd
Ottawa, ON K1A 1A8
Canada


Canadian Academy
Far E Council 803
4‐1 Koyo Cho Naka
Higashinada ‐Ku,
Japan


Canadian Border Outfitters
14635 Canadian Border Rd
Ely, MN 55731


Canadian County Childrens Justice Center
Last Frontier Council 480
7905 Hwy 66
El Reno, OK 73036


Canadian Waters, Inc
111 E Sheridan St
Ely, MN 55731


Canadochly Lutheran Church
New Birth of Freedom 544
4921 E Prospect Rd
York, PA 17406


Canady   Canady, Attys.
Cape Fear Council 425
P.O. Box 7
Saint Pauls, NC 28384


Canajoharie Loyal Order Moose Lodge 853
Twin Rivers Council 364
159 Erie Blvd
Canajoharie, Ny 13317


Canal Fulton Public Library
154 Market St Ne
Canal Fulton, OH 44614


Canal Fulton Utd Methodist Church
Buckeye Council 436
P.O. Box 323
Canal Fulton, OH 44614


Canal Winchester Lions Club
Simon Kenton Council 441
20 S Trine St
Canal Winchester, OH 43110


Can‐Am Merchandising Systems Inc
70 Shields Court
Markham, On L3R 9T5
Canada
Canandaigua Elks Lodge 1844
Seneca Waterways 397
19 Niagara St
Canandaigua, NY 14424


Canandaigua Emergency Squad
Seneca Waterways 397
233N Pearl St
Canandaigua, NY 14424


Canarchy Craft Brewery Collective
dba Deep Ellum Brewing Co
2823 St Louis St
Dallas, TX 75226


Canastota Volunteer Fire Dept
Leatherstocking 400
P.O. Box 81
Canastota, NY 13032


Canby Kiwanis Club
Cascade Pacific Council 492
P.O. Box 1224
Canby, OR 97013


Canby Lions Club
Cascade Pacific Council 492
P.O. Box 711
Canby, OR 97013


Canby Utd Methodist Church
Cascade Pacific Council 492
1520 N Holly St
Canby, OR 97013


Candace Bartlett
Address Redacted


Candace Hutchinson
Address Redacted
Candace Mcrae
Address Redacted


Candace Skinner
Address Redacted


Candee Maltese
Address Redacted


Candi Robertson
Address Redacted


Candia Congregational Church
Daniel Webster Council, Bsa 330
P.O. Box 62
182 High St
Candia, NH 03034


Candice Brown
Address Redacted


Candice Chase
Address Redacted


Candice Lee
Address Redacted


Candice Nyarkoh
Address Redacted


Candis Bland
Address Redacted


Candlewick Lake Assoc
Blackhawk Area 660
13400 Il Route 76
Poplar Grove, IL 61065
Candlewick Press Inc
99 Dover St
Somerville, MA 02144


Cando Lutheran Church
Northern Lights Council 429
P.O. Box 644
Cando, ND 58324


Can‐Do National Tape
P.O. Box 440093
Nashville, TN 37244‐0093


Candor Lions Club
Central N Carolina Council 416
P.O. Box 518
Candor, NC 27229


Candy Brubaker
Address Redacted


Candy Mountain Fudge
P.O. Box 899
Red River, NM 87558


Candyman Music   Electronics
851 St Michaels Dr
Santa Fe, NM 87505


Cane Creek Elementary School PTO
Middle Tennessee Council 560
1500 W Jackson St
Cookeville, TN 38501


Canebrake Fire District
Blue Ridge Council 551
100 Hillside Church Rd
Fountain Inn, SC 29644


Canfield Funding LLC
1775 Wehrle Dr
Williamsville, NY 14221


Canfield Funding LLC
dba Millennium Funding/Meritus Capital/
Phoenix Financi
P.O. Box 327
Williamsville, NY 14231


Cannon Bridge ‐ Ai
Indian Waters Council 553
396 St Paul St
Orangeburg, SC 29115


Cannon Utd Methodist Church
Northeast Georgia Council 101
2424 Webb Gin House Rd
Snellville, GA 30078


Cannons Campground Utd Methodist Ch
Palmetto Council 549
3450 Cannons Campground Rd
Spartanburg, Sc 29307


Cannonsburg Trinity Church
Buckskin 617
11620 Midland Trail Rd
Ashland, KY 41102


Cannonsburg Trinity Utd Methodist Ch
Buckskin 617
11620 Midland Trail Rd
Ashland, Ky 41102


Canoe Country Outfitters
P.O. Box 30
Ely, MN 55731


Canon Business Solutions Inc
15004 Collections Ctr Dr
Chicago, IL 60693
Canon City ‐ Sales Tax Div
128 Main St
P.O. Box 1460
Canon City, CO 81215‐1460


Canon Financial Services
Accounts Receivable Dept
158 Gaither Dr, Ste 200
Mount Laurel, NJ 08054‐1716


Canon Financial Services, Inc
14904 Collections Ctr Dr
Chicago, IL 60693


Canonsburg Utd Presbyterian Church
Laurel Highlands Council 527
112 W Pike St
Canonsburg, PA 15317


Canteen Refreshment Services
P.O. Box 417632
Boston, MA 02241‐7632


Canteen Vending
P.O. Box 91337
Chicago, IL 60693‐1337


Canterbury School
Old N State Council 070
5400 Old Lake Jeanette Rd
Greensboro, NC 27455


Canterbury School Of Florida
Cousteau Center
Greater Tampa Bay Area 089
990 62Nd Ave Ne
St Petersburg, Fl 33702


Canterbury Utd Methodist Church
Greater Alabama Council 001
350 Overbrook Rd
Mountain Brk, AL 35213
Canterbury Woods Civic Assoc
National Capital Area Council 082
4811 Woodland Way
Annandale, VA 22003


Canticle Inc ‐ Qdoba Mexican Grill
1974A Doubglas Blvd
Louisville, KY 40205


Canton Church Of The Bretheren
W D Boyce 138
269 E Chestnut St
Canton, IL 61520


Canton Dept Of Public Safety
Great Lakes Fsc 272
1150 S Canton Center Rd
Canton, MI 48188


Canton First Utd Methodist Church
Atlanta Area Council 092
930 Lower Scott Mill Rd
Canton, GA 30115


Canton Lions Club
Cimarron Council 474
P.O. Box 389
Canton, OK 73724


Canton Police Dept
Buckeye Council 436
218 Cleveland Ave Sw
City Hall
Canton, OH 44702


Canton Public Library
1200 S Canton Center Rd
Canton, MI 48188


Canton Rotary Club
Sioux Council 733
P.O. Box 254
Canton, SD 57013


Canton Township Fire Dept
Buckeye Council 436
210 38th St Se
Canton, OH 44707


Canton Utd Methodist Church
Longhouse Council 373
41 Court St
Canton, NY 13617


Canton Ward LDS Church
Atlanta Area Council 092
3459 E Cherokee Dr
Canton, GA 30115


Canvas Unlimited
Box 6749
Jackson, WY 83002


Canyon Creek LDS Ward
Montana Council 315
7160 Silversprings Cir
Billings, MT 59106


Canyon Creek Parents For Scouts
Mount Baker Council, Bsa 606
23227 49th Ave Se
Bothell, WA 98021


Canyon Creek Ward
Greater Yosemite Council 059
972 Vintage Oak Ave
Galt, CA 95632


Canyon Heights Academy
Silicon Valley Monterey Bay 055
775 Waldo Rd
Campbell, CA 95008
Canyon High Sch
Comal Cnty Sheriffs Office
Alamo Area Council 583
1404 N Interstate 35
New Braunfels, Tx 78130


Canyon Hills Presbyterian Church
Orange County Council 039
190 S Fairmont Blvd
Anaheim, CA 92808


Canyon Isd Kids
Sundown Lane Elementary
Golden Spread Council 562
3301 N 23Rd St
Canyon, Tx 79015


Canyon Isd Kids ‐ Arden Rd
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015


Canyon Isd Kids ‐ Crestview Elementary
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015


Canyon Isd Kids ‐ Gene Howe Elementary
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015


Canyon Isd Kids ‐ Hillside
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015


Canyon Isd Kids ‐ Lakeview Elementary
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015
Canyon Isd Kids ‐ Reeves Hinger
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015


Canyon Lake Utd Methodist Church
Alamo Area Council 583
206 Flintstone Dr
Canyon Lake, TX 78133


Canyon Lake Utd Methodist Church
Black Hills Area Council 695 695
3500 Canyon Lake Dr
Rapid City, SD 57702


Canyon Ridge Christian Church
Las Vegas Area Council 328
6200 W Lone Mountain Rd
Las Vegas, NV 89130


Canyon Ridge Church
Pacific Harbors Council, Bsa 612
8514 Waller Rd E
Tacoma, WA 98446


Canyon Ridge Ward
Twin Falls West Stake
Snake River Council 111
824 Caswell Ave W
Twin Falls, Id 83301


Canyon View Junior High School
625 E 950 N
Orem, UT 84097


Canyon View PTA
Orange County Council 039
12025 Yale Ct
Irvine, CA 92620
Cap Software
7250 W Vickery Blvd
Ft Worth, TX 76116


Capac Utd Methodist Church
Water and Woods Council 782
14952 Imlay City Rd
Mussey, MI 48014


Cape Arthur Improvement Asso Inc
Baltimore Area Council 220
P.O. Box 702
Severna Park, MD 21146


Cape Carteret Presbyterian Church
East Carolina Council 426
100 Yaupon Dr
Cape Carteret, NC 28584


Cape Cod   The Islands Cncl 224
247 Willow St
Yarmouth Port, MA 02675‐1744


Cape Cod And Islands
247 Willow St
Yarmouth Port, MA 02675‐1744


Cape Coral High School
Southwest Florida Council 088
2300 Santa Barbara Blvd
Cape Coral, FL 33991


Cape Coral Hospital
Southwest Florida Council 088
636 Del Prado Blvd S
Cape Coral, FL 33990


Cape Coral Police
Southwest Florida Council 088
1100 Cultural Park Blvd
Cape Coral, FL 33990
Cape Coral Power Squadron
Southwest Florida Council 088
917 SE 47th Ter
Cape Coral, FL 33904


Cape Elizabeth Lions Club
Pine Tree Council 218
P.O. Box 6302
Cape Elizabeth, ME 04107


Cape Fear
P.O. Box 7156
Wilmington, NC 28406‐7156


Cape Fear Academy
Cape Fear Council 425
3900 S College Rd
Wilmington, NC 28412


Cape Fear Council 425
P.O. Box 7156
Wilmington, NC 28406


Cape Girardeau Police Dept
Greater St Louis Area Council 312
40 S Sprigg St
Cape Girardeau, MO 63703


Cape Girardeau Public Schools Foundation
Greater St Louis Area Council 312
301 N Clark St
Cape Girardeau, MO 63701


Cape Island Baptist Church
Garden State Council 690
115 Gurney St
Cape May, NJ 08204


Cape May County Sheriff Dept
Garden State Council 690
9 N Main St
Cape May Court House, NJ 08210


Cape Regional Medical Center
Garden State Council 690
2 Stone Harbor Blvd
Cape May Court House, NJ 08210


Capell   Howard PC
Tukabatchee Area Council 005
150 S Perry St
Montgomery, AL 36104


Capella Church Of Christ
Old Hickory Council 427
1187 Flat Shoals Rd
King, NC 27021


Capella University
Nw 5408 P.O. Box 1450
Minneapolis, MN 55485‐5408


Caperton Furniture Works
5270 Valley Rd
Berkeley Springs, WV 25411


Capetillo Insurance Agency
Texas Swest Council 741
2199 Del Rio Blvd
Eagle Pass, TX 78852


Capilla Del Sol Christian Church
Catalina Council 011
3130 W Overton Rd
Tucson, AZ 85742


Capistrano Valley Christian Schools Inc
Orange County Council 039
32032 Del Obispo St
San Juan Capistrano, CA 92675


Capital Advantage LLC
P.O. Box 309
Newington, VA 22122‐9908


Capital Cast Stone
331 W Noble St
Lebanon, IN 46052


Capital District Electric
100 Broad St
Gloversville, NY 12078


Capital Factory Properties LLC
815‐A Brazos St, 184
Austin, TX 78701


Capital Funding Solutions
P.O. Box 864267
Ft Lauderdale, FL 32886‐4267


Capital Improvement Board
100 S Capital
Indianapolis, IN 46225


Capital Kids‐Sullivant Gardens
Simon Kenton Council 441
1111 E Broad St
Columbus, OH 43205


Capital Office Products
700 Ballough Rd
P.O. Box 1671
Daytona Beach, FL 32115


Capital One Bank
P.O. Box 60024
City of Industry, CA 91716‐0024


Capital Prep Harbor Lower School
Connecticut Yankee Council Bsa 072
461 Mill Hill Ave
Bridgeport, CT 06610
Capital Printing Co
4001 Caven Rd
Austin, TX 78744


Capital Printing Co
P.O. Box 17548
Austin, TX 78760


Capital Sports
361 S Pierre
Pierre, SD 57501


Capital Sports   Western
1092 Helena Ave
Helena, MT 59601


Capital University
Attn Student Accts Financial Aid Office
1 College   Main
Columbus, OH 43209


Capitol Advantage Assoc Inc
2349 Churchill Rd
Raleigh, NC 27608


Capitol Advantage Publishing
P.O. Box 309
Newington, VA 22122


Capitol Area
12500 N Ih 35
Austin, TX 78753


Capitol Area Cncl 564
12500 N Ih 35
Austin, TX 78753


Capitol Broadcasting Co
Attn Loretta Harper Arnold
Occoneechee 421
2619 Wern Blvd
Raleigh, NC 27606


Capitol Business Equipment
dba Capitol Business Interiors
711 Indiana Ave
Charleston, WV 25302‐5300


Capitol City Sda School
Crossroads of America 160
2143 Blvd Pl
Indianapolis, IN 46202


Capitol Corporate Services Inc
P.O. Box 1831
Austin, TX 78767


Capitol Council
Telephone Pioneers Of America
New Birth Of Freedom 544
Verizon 10Th Fl
Strawberry Square
Harrisburg, Pa 17011


Capitol Hill Fundraising, Inc
Northern Star Council 250
560 Concordia Ave
Saint Paul, MN 55103


Capitol Hill Scouts
National Capital Area Council 082
228 12th Pl Ne
Washington, DC 20002


Capitol Lions Club
Golden Empire Council 047
6619 Trudy Way
Sacramento, CA 95831


Capitol Prompting Service Inc
P.O. Box 25024
Arlington, VA 22202


Capitol Service Inc
108 N Virginia Ave
Falls Church, VA 22046


Capitol Services, Inc
Thayer Phillips
Director of Transportation
108 N Virginia Ave
Falls Church, VA 22046


Capitola Police Dept
Silicon Valley Monterey Bay 055
422 Capitola Ave
Capitola, CA 95010


Capitulo Ffa Juan Ponce De Leon
Puerto Rico Council 661
P.O. Box 366
Arecibo, PR 00613


Caplan S Army Store
457 Railroad St
St Johnsbury, VT 05819


Capon Bridge Utd Methodist Chur
Shenandoah Area Council 598
P.O. Box 65
Capon Bridge, WV 26711


Capps Rent‐A‐Car Inc
8555 Carpenter Frwy
Dallas, TX 75247‐4630


Cappys Clothes
5 E 4th St
Emporium, PA 15834


Caprock High School Rotc
Golden Spread Council 562
3001 SE 34th Ave
Amarillo, TX 79103


Capshaw Elementary School PTO
Middle Tennessee Council 560
1 Cougar Ln
Cookeville, TN 38501


Capstone Eye Clinic LLC
Great Alaska Council 610
3122 E Meridian Park LP
Wasilla, AK 99654


Capstone Headwear
2834 Supply Ave
Commeree, CA 90040


Capstone Headwear
P.O. Box 79639
Los Angeles, CA 90079‐1639


Capt Tim LLC
100 Cabana Cay Cir, Apt 106
Panama City Beach, FL 32413


Capt Tim LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Captain Jon S Sailing
c/o Jonathan Strydom
P.O. Box 1906
Islamorada, FL 33036


Captain Michael   Happy Cat
P.O. Box 86
Islamorada, FL 33036


Captain Rick S Diving Adventures
Simon Kenton Council 441
760 S State St
Westerville, OH 43081


Captain Smittys Marine Service
2960 Blue Jay Dr
Cooper City, FL 33026


Captain Smittys Marine Service
c/o Florida Sea Base
7800 Overseas Hwy
Islamorada, FL 33036


Captains Cove Marina
Connecticut Yankee Council Bsa 072
1 Bostwick Ave
Bridgeport, CT 06605


Captions West Inc
Trapper Trails 589
1656 S Sunset Dr
Kaysville, UT 84037


Capture The Flag Redux, LLC
4861 Buchanan St
Los Angeles, CA 90042


Car And Drr
P.O. Box 37871
Boone, IA 50037‐0871


Cara Ahlvers
Address Redacted


Cara L Colley
Address Redacted


Carbon Power   Light, Inc
P.O. Box 579
Saratoga, WY 82331‐0579
Carbondale Church Of Christ
Indian Nations Council 488
3114 W 51st St
Tulsa, OK 74107


Carbondale Police Dept.
610 E College St
Carbondale, IL 62901


Card Industries Inc
P.O. Box 370425
Key Largo, FL 33037


Carden Arbor View School
California Inland Empire Council 045
1530 N San Antonio Ave
Upland, CA 91786


Cardinal Air LLC
Old N State Council 070
2222 Pilots View Rd
Asheboro, NC 27205


Cardinal Assoc, Inc
10115 Andre Dr
Irving, TX 75063


Cardinal Bag Supplies
114 S Main St, Ste 307
Fond Du Lac, WI 54935


Cardinal Cushing Center
Mayflower Council 251
405 Washington St
Hanover, MA 02339


Cardinal Joseph Bernardin Catholic Sch
Pathway To Adventure 456
9250 W 167Th St
Orland Hills, Il 60487
Cardinal Newman School
Indian Waters Council 553
2945 Alpine Rd
Columbia, SC 29223


Cardinal Pacelli School
Dan Beard Council, Bsa 438
927 Ellison Ave
Cincinnati, OH 45226


Cardinal Pawn Brokers
1221 S Eisenhower Dr
Beckley, WV 25801


Cardinal Ritter High School
Greater St Louis Area Council 312
701 N Spring Ave
Saint Louis, MO 63108


Career Expo 2010
401 Hawthorne Ln, Suite 110 Box 125
Charlotte, NC 28204‐2358


Career Premiere Consortium
c/o Career Svcs, Roanoke College
221 College Ln
Salem, VA 24153


Carenlouise Owens‐Turner
Address Redacted


Carenow Corporate
P.O. Box 9101
Coppell, TX 75019


Carey 1St Ward ‐ Carey Stake
Snake River Council 111
P.O. Box 358
Carey, ID 83320


Carey 2Nd Ward ‐ Carey Stake
Snake River Council 111
P.O. Box 157
Carey, ID 83320


Carey Anson
Address Redacted


Carey Davis
Address Redacted


Carey International Inc
7445 New Technology Way
Frederick, MD 21703


Carey International Inc
P.O. Box 931994
Atlanta, GA 31193‐1994


Carey Miller
Address Redacted


Carey Of Dallas/Fort Worth
P.O. Box 847700
Dallas, TX 75284‐7700


Carey Stake ‐ Sun Valley Ward
Snake River Council 111
P.O. Box 268
Sun Valley, ID 83353


Cargerco
5380 Cyril Dr
Dade City, FL 33523


Cargill Methodist Church Youth Council
Glaciers Edge Council 620
2000 Wesley Ave
Janesville, WI 53545


Cargill Utd Methodist Church
Glaciers Edge Council 620
2000 Wesley Ave
Janesville, WI 53545


Carhartt Inc
Blue Grass Council 204
285 Carhartt Ave
Irvine, KY 40336


Carib Christian School
Puerto Rico Council 661
P.O. Box 250470
Aguadilla, PR 00604


Caribbean School
Puerto Rico Council 661
Calle 9
La Rambla
Ponce, PR 00731


Caribbean‐American For Commty
Involvement, Inc.
Gulf Stream Council 085
1030 Royal Palm Beach Blvd
Royal Palm Beach, Fl 33411


Caribbout Vi Inc
P.O. Box 51985
Toa Baja, PR 00950‐1985


Caribbout Vi Inc
P.O. Box 5965
Christiansted, VI 00823


Caribou Kiwanis Club
Katahdin Area Council 216
794 Main St
Caribou, ME 04736


Caribou Rotary Club
Katahdin Area Council 216
P.O. Box 1073
Caribou, ME 04736


Carie King
Address Redacted


Carigas Restrnt   Ctring LLC
dba Carigas Island Cafe
6249 Estate Frydenhoj
St Thomas, VI 00802‐1427


Carillon Elememtary School PTA
Central Florida Council 083
3200 Lockwood Blvd
Oviedo, FL 32765


Carina A Monteleone
Address Redacted


Carisa Breedlove
Address Redacted


Carkenord Ptc
Great Lakes Fsc 272
27100 24 Mile Rd
Chesterfield, MI 48051


Carl Adkins Jr
Address Redacted


Carl Babel   Lisa May‐Ling Yee
Ob Zachary Babel
925 Riesling Rd
Petaluma, CA 94954


Carl Bailey
Address Redacted


Carl Baker
Address Redacted
Carl Bobis
Address Redacted


Carl Boyles
Address Redacted


Carl Brandon Bryant
Address Redacted


Carl Caviness Post 102
c/o Donald Garrett
Mid Iowa Council 177
215 S 12th St
Chariton, IA 50049


Carl Clayton
Address Redacted


Carl Cox
Address Redacted


Carl Cox Photography Inc
16709 Bethayres Rd
Derwood, MD 20855


Carl Curnutte
Address Redacted


Carl Elwood
Address Redacted


Carl Fivecoate
Address Redacted


Carl Gavin
Address Redacted


Carl H Lindner Family Ymca Hays Porter
Dan Beard Council, Bsa 438
1425 Linn St
Cincinnati, OH 45214


Carl Hall Jr
Address Redacted


Carl Hanke
Address Redacted


Carl Hertenstein
Address Redacted


Carl Jackson
Address Redacted


Carl Johnson
Address Redacted


Carl Joyce
Address Redacted


Carl Julien
Address Redacted


Carl Junction First Christian Church
Ozark Trails Council 306
103 Hodge Dr
Carl Junction, MO 64834


Carl Lauro Commty
Engagement Committee
Narragansett 546
99 Kenyon St
Providence, Ri 02903


Carl M Palombaro
Address Redacted
Carl Madsen
Address Redacted


Carl Marchetti
Address Redacted


Carl Mauritz
Address Redacted


Carl Moritz
Address Redacted


Carl Peterson
Address Redacted


Carl Rennell
Address Redacted


Carl Rhodenizer Recreation Center
Atlanta Area Council 092
3499 Rex Rd
Rex, GA 30273


Carl Robbins
Address Redacted


Carl Springs Sr
Address Redacted


Carl Sullivan
Address Redacted


Carl Thomas Brownbridge
Address Redacted


Carl Thompson
Address Redacted
Carl Traeger Psc
Bay‐Lakes Council 635
3000 W 20th Ave
Oshkosh, WI 54904


Carl W Baumeister
Address Redacted


Carl Webster
Address Redacted


Carla Funk
Address Redacted


Carla Jorgensen
Address Redacted


Carla Maurer
Address Redacted


Carla Moore
Address Redacted


Carla Oshiro
Address Redacted


Carla Taets
Address Redacted


Carla Wallace
Address Redacted


Carle Place American Legion Post 1718
Theodore Roosevelt Council 386
12 Evelyn Ave
Westbury, NY 11590


Carleton Borden
Address Redacted
Carleton College
Attn Student Financial Services
One N College St
Northfield, MN 55057


Carleton Sportsmen Club
Southern Shores Fsc 783
P.O. Box 221
14100 Sumpter Rd
Carleton, MI 48117


Carleton Starr
Address Redacted


Carleton Whiting
Address Redacted


Carli R Martinez
Address Redacted


Carlile Florist    Gifts
2731 Summers St
Kennesaw, GA 30144


Carlinsky    Carlinsky Inc
P.O. Box 398
Bethlehem, CT 06751


Carlinville Knights Columbus Council 663
Abraham Lincoln Council 144
106 N Side Sq
Carlinville, Il 62626


Carlinville Utd Methodist Men
Abraham Lincoln Council 144
201 S Broad St
Carlinville, IL 62626


Carlisle Dept Store
92 Congress St
Rumford, ME 04276


Carlisle First Utd Methodist Church
Quapaw Area Council 018
P.O. Box 417
Carlisle, AR 72024


Carlisle Lions Club
Dan Beard Council, Bsa 438
465 Park Dr
Carlisle, OH 45005


Carlisle Lions Club
Quapaw Area Council 018
P.O. Box 587
Carlisle, AR 72024


Carlisle Utd Methodist Church
New Birth of Freedom 544
45 S W St
Carlisle, PA 17013


Carlita Evans
Address Redacted


Carlo Laurore
Address Redacted


Carlock Fireman S Club
W D Boyce 138
200 N Lincoln St
Carlock, IL 61725


Carlos Arguello
Address Redacted


Carlos Cabezas
Address Redacted
Carlos Calderon
Address Redacted


Carlos Coronado
Address Redacted


Carlos Cortez
Address Redacted


Carlos Del Hierro
Address Redacted


Carlos Garcia
Address Redacted


Carlos Hernandez
Address Redacted


Carlos L Martinez
Address Redacted


Carlos Ocegueda
Address Redacted


Carlos Paulino
Address Redacted


Carlos Romero
Address Redacted


Carlos Santiago
Address Redacted


Carlos Santos Coronado
Address Redacted


Carlos Sepulveda
Address Redacted
Carls Flooring   Paint
Indian Nations Council 488
111 N Adair St
Pryor, OK 74361


Carlsbad Elks Lodge No. 1558
Conquistador Council Bsa 413
P.O. Box 249
Carlsbad, NM 88221


Carlsbad Fire Fighters Assoc
San Diego Imperial Council 049
2560 Orion Way
Carlsbad, CA 92010


Carlsbad Kiwanis Club
San Diego Imperial Council 049
P.O. Box 711
Carlsbad, CA 92018


Carlsbad Police Dept
San Diego Imperial Council 049
2560 Orion Way
Carlsbad, CA 92008


Carlson Assoc Inc
Denver Area Council 061
12460 1st St
Eastlake, CO 80614


Carlson Memorial Utd Methodist Church
Southwest Florida Council 088
310 Campbell St
Labelle, FL 33935


Carlson Memorial Utd Methodist Men
Southwest Florida Council 088
P.O. Box 386
Labelle, FL 33975
Carlstadt Christian Assembly
Northern New Jersey Council, Bsa 333
307 Washington St
Carlstadt, NJ 07072


Carlton Area Lions Club
Voyageurs Area 286
P.O. Box 37
Carlton, MN 55718


Carlton Crump
Address Redacted


Carlton Hills Lutheran Church
San Diego Imperial Council 049
9733 Halberns Blvd
Santee, CA 92071


Carlton Rice
Address Redacted


Carlton Volunteer Firefighters Assoc
Cascade Pacific Council 492
343 W Roosevelt Ave
Carlton, OR 97111


Carly Edmiston
Address Redacted


Carlyle Jaycees
Greater St Louis Area Council 312
P.O. Box 236
Carlyle, IL 62231


Carlyle Lions Club
Greater St Louis Area Council 312
10805 Shattuc Rd
Carlyle, IL 62801


Carma Games
2 Broad St
Westport, CT 06080


Carma Steck
Address Redacted


Carmagnola   Ritardi, LLC
60 Washington St
Morristown, NJ 07960


Carman Trails PTO
Greater St Louis Area Council 312
555 S Weidman Rd
Manchester, MO 63021


Carmax
5500 Alameda Blvd
Albuquerque, NM 87113


Carmel Lutheran Church
Crossroads of America 160
4850 E Main St
Carmel, IN 46033


Carmel Police Dept
Crossroads of America 160
3 Civic Sq
Carmel, IN 46032


Carmel Presbyterian Church
Mecklenburg County Council 415
2048 Carmel Rd
Charlotte, NC 28226


Carmel Utd Methodist Church
Crossroads of America 160
621 S Rangeline Rd
Carmel, IN 46032


Carmel Valley Scouting, Inc
Silicon Valley Monterey Bay 055
P.O. Box 90
Carmel Valley, CA 93924


Carmel Vfw, Daniel O Brien Post 1374
Westchester Putnam 388
32 Gleneida Ave
Carmel, NY 10512


Carmelia Hammonds
Address Redacted


Carmen Bopp
800 Guardians Way
Allen, TX 75013


Carmen Calderon
Address Redacted


Carmen Dejesus
Address Redacted


Carmen Jacobs
Address Redacted


Carmen Jenkins
Address Redacted


Carmen Judith Maldonado
Address Redacted


Carmen Maldonado
Address Redacted


Carmen Mcmillin
Address Redacted


Carmen Miranda
Address Redacted
Carmen O Brien
Address Redacted


Carmencita Beronilla
Address Redacted


Carmencita Mateo
Address Redacted


Carmi Rotary Club
Buffalo Trace 156
206 Fairview Dr
Carmi, IL 62821


Carmichael Elks Lodge 2103
Attn Jim Warrick
Golden Empire Council 047
5631 Cypress Ave
Carmichael, CA 95608


Carmichael Kiwanis Club
Attn Vera Vaccaro
Golden Empire Council 047
P.O. Box 680
Carmichael, CA 95609


Carmichaels 1st Utd Methodist Ch
Laurel Highlands Council 527
104 W S St
Carmichaels, Pa 15320


Carnahan High School Of The Future
Greater St Louis Area Council 312
4041 S Broadway
Saint Louis, MO 63118


Carnegie Mellon University
Office of Financial Aid
5000 Forbes Ave
Pittsburgh, PA 15213
Carnegie Software Solutions Inc
6736 Amethyst, Ste 105
Plano, TX 75023


Carnesville Lions Club
Northeast Georgia Council 101
P.O. Box 366
Carnesville, GA 30521


Carneys Point Penns Grove
Municipal Alliance
Garden State Council 690
303 Harding Hwy
Penns Grove, Nj 08069


Carnoustie Sportswear
16901 Millikan Ave
Irvine, CA 92606


Caro Exchange Club
Water and Woods Council 782
305 W Sherman St
Caro, MI 48723


Caro Rotary Club
Water and Woods Council 782
P.O. Box 623
Caro, MI 48723


Carol Acquaviva
Address Redacted


Carol Aguiar
Address Redacted


Carol Andersen
Address Redacted


Carol Ashworth
Address Redacted
Carol Baird
Address Redacted


Carol Barnes
Address Redacted


Carol Birdsell
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Carol Black
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Carol Blake
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Carol Bland
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Carol Bradley
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Carol Bulicek
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Carol Chacon
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Carol Claxton
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Carol Dacquisto
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Carol Dehn
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Carol Devos
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Carol Dupree
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Carol Fletcher
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Carol Forrest
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Carol Frost
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Carol Funk
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Carol Gaio
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Carol Goebel
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Carol Harper
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Carol Harrie
Address Redacted


Carol Horst
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Carol J Dean
Address Redacted


Carol Jorge‐Daniels
Address Redacted
Carol King
Address Redacted


Carol Krumpelbeck
Address Redacted


Carol L Whitebook
Address Redacted


Carol Linnell
Address Redacted


Carol Lowe
Address Redacted


Carol Maranz
Address Redacted


Carol Marks Music Inc
7522 Campbell Rd, Ste 113‐204
Dallas, TX 75248


Carol Mcfarland
Address Redacted


Carol Metzner
Address Redacted


Carol Musgrave
Address Redacted


Carol Page
Address Redacted


Carol Palmer
Address Redacted
Carol Paulson
Address Redacted


Carol Pepitone
Address Redacted


Carol Perrine
Address Redacted


Carol Ranney
Address Redacted


Carol Robilotto
Address Redacted


Carol Rothans
Address Redacted


Carol S Rugs
1406 Su Lew Sw
Grand Rapids, MI 49534


Carol Sausaman
Address Redacted


Carol Schmidt
Address Redacted


Carol Seith
Address Redacted


Carol Serechin
Address Redacted


Carol Shannon
Address Redacted


Carol Shaulis
Address Redacted


Carol Sheridan
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Carol Snow
Address Redacted


Carol Sowa
Address Redacted


Carol Stobbe
Address Redacted


Carol Swank
Address Redacted


Carol Szalabofka
Address Redacted


Carol Temporaries Inc
41 Route 175
Newburgh, NY 12550


Carol Theodosis
Address Redacted


Carol Thurston
Address Redacted


Carol Trupe
Address Redacted


Carol Van Houten
Address Redacted


Carol Vicinie
Address Redacted
Carol Walters
Address Redacted


Carol Whitebook
Address Redacted


Carol Whitehead
Address Redacted


Carol Wicklander
Address Redacted


Carol Williams
Address Redacted


Carol Wolfe
Address Redacted


Carole Herndon
Address Redacted


Carole Hirschi
Address Redacted


Carole Lee
Address Redacted


Carole Roberts
Address Redacted


Carole Spooner
Address Redacted


Carolee Crocker
Address Redacted
Carolee Howard
Address Redacted


Caroleen First Utd Methodist Church
Piedmont Council 420
P.O. Box 187
Caroleen, NC 28019


Carolina Bbq
838 Tyvola Rd
Charlotte, NC 28217


Carolina Beach Presbyterian Church
Cape Fear Council 425
1204 N Lake Park Blvd
Carolina Beach, NC 28428


Carolina Beach Presbyterian Church
Cape Fear Council 425
1209 Lake Park Blvd N
Carolina Beach, NC 28428


Carolina Biological Supply Co
P.O. Box 60232
Charlotte, NC 28260‐0232


Carolina Bronze Sculpture, Inc
6108 Maple Springs Rd
Seagrove, NC 27341


Carolina Business Supplies
5100 Rosselles Ferry Rd
Charlotte, NC 28216


Carolina Business Supplies
P.O. Box 681027
Charlotte, NC 28216


Carolina Business Technologies
P.O. Box 410371
Charlotte, NC 28241‐0371
Carolina Cartridge    Supplies Inc
516 E Hebron St
Charlotte, NC 28273


Carolina Cartridge Systems Inc
516 E Hebron St
Charlotte, NC 28273


Carolina Day School
Daniel Boone Council 414
1345 Hendersonville Rd
Asheville, NC 28803


Carolina Fraser Fir
2617 Potato Creek Rd
Mouth of Wilson, VA 24363


Carolina Fridman Law Corp
306‐1 Wesley Ave
Winnipeg, Mb R3C 4C6
Canada


Carolina Hospitality Group 201
dba Le Meridien Charlotte Hotel
555 S Mcdowell St
Charlotte, NC 28204


Carolina Koolers
P.O. Box 13604
Philadelphia, PA 19101‐3604


Carolina Koolers
P.O. Box 2909
Matthews, NC 28106‐2906


Carolina Manufacturing
7025 Augusta Rd
Greenville, SC 29605
Carolina Pflaumer
Address Redacted


Carolina Raptor Center
Mecklenburg County Council 415
6000 Sample Rd
Huntersville, NC 28078


Carolina Scout Shop ‐ Opc
2121 Winghouse Blvd
Charlotte, NC 28273


Carolina Talent
P.O. Box 36422
Charlotte, NC 28236


Carolina Time
P.O. Box 18158
Charlotte, NC 28218‐8158


Carolina Volunteer Fire Assoc
Narragansett 546
208 Richmond Townhouse Rd
Carolina, RI 02812


Carolina Voyager Charter School
Coastal Carolina Council 550
2415 Ave F
North Charleston, SC 29405


Carolina Water Co
1059 Triad Court, Ste 1
Marietta, GA 30062


Carolinas College Of Health Sciences Sna
Mecklenburg County Council 415
P.O. Box 32861
Charlotte, NC 28232


Carolinas Connections, LLC
7901 Gilead Rd
Huntersville, NC 28078


Caroline A Ullrich
Address Redacted


Caroline Badgley
Address Redacted


Caroline Bradley
Address Redacted


Caroline Hayes
Address Redacted


Caroline I Shorb
Address Redacted


Caroline J Hempleman
Address Redacted


Caroline Manufacturing
7025 Augusta Rd
Greenville, SC 29605


Caroline R Miller
Address Redacted


Caroline Ruritan Club
National Capital Area Council 082
23156 Sorrell Lane
Milford, VA 22514


Carollton Elementary School P T O
Three Harbors Council 636
8965 S Carollton Dr
Oak Creek, WI 53154


Carolyn A Botti
Address Redacted
Carolyn Altemus
Address Redacted


Carolyn Bare
Address Redacted


Carolyn Bartlett
2657 Halifax Dr
Middletown, OH 45044


Carolyn Berry
Address Redacted


Carolyn Bowlin
Address Redacted


Carolyn Clark
Address Redacted


Carolyn Cruson
Address Redacted


Carolyn Daily
Address Redacted


Carolyn Duggan
Address Redacted


Carolyn Erickson
Address Redacted


Carolyn Fales
Address Redacted


Carolyn Feminear
Address Redacted
Carolyn Ford Bates
Address Redacted


Carolyn Frankowski
Address Redacted


Carolyn Goebel
Address Redacted


Carolyn Guzik
Address Redacted


Carolyn Hemphill
Address Redacted


Carolyn Holbert
Address Redacted


Carolyn Hyatte
Address Redacted


Carolyn Johnson
Address Redacted


Carolyn King
Address Redacted


Carolyn Koenning
Address Redacted


Carolyn Kurtz
Address Redacted


Carolyn Leahy
Address Redacted


Carolyn Lint
Address Redacted


Carolyn Macarille
Address Redacted


Carolyn Martin
Address Redacted


Carolyn Mclaughlin
Address Redacted


Carolyn Mcqueen
Address Redacted


Carolyn Miller
Address Redacted


Carolyn Moore
Address Redacted


Carolyn Parrott
Address Redacted


Carolyn Raupp
Address Redacted


Carolyn Rosen
Address Redacted


Carolyn Rotert
Address Redacted


Carolyn Sargent
Address Redacted


Carolyn Smith
Address Redacted
Carolyn Sturdevant
Address Redacted


Carolyn Tinner
Address Redacted


Carolyn Tobin
Address Redacted


Carolyn Toler
Address Redacted


Carolyn Torres
Address Redacted


Carolyn Turrubiarte
Address Redacted


Carolyn Wallace
Address Redacted


Carolyn White
Address Redacted


Carolyn Whitefield
Address Redacted


Carolyn Wilkerson
Address Redacted


Carolyn Zullo
Address Redacted


Carpenter Parents Assoc
Southern Shores Fsc 783
4250 Central Blvd
Ann Arbor, MI 48108
Carpenter School PTO
Pathway To Adventure 456
300 N Hamlin Ave
Park Ridge, IL 60068


Carpenter Trust
Erie Shores Council 460
500 N Locust St
Oak Harbor, OH 43449


Carpenter‐Diesch‐White Legion Post No436
Northeast Iowa Council 178
308 N W St
Earlville, Ia 52041


Carpenters Utd Methodist Church
Great Smoky Mountain Council 557
3538 Best Rd
Maryville, TN 37803


Carpinteria Community Church
Los Padres Council 053
1111 Vallecito Rd
Carpinteria, CA 93013


Carr Allison Howard Oliver
Sisson Pc
100 Vestavia Pkwy
Birmingham, AL 35216


Carr Concrete Subsidiary Of Rw Sidleyinc
P.O. Box 265
Waverly, WV 26184


Carr Textile Corp
243 Wolfner Dr
Fenton, MO 63026


Carrabbas Italian Grill
1701 Crossroads Dr
Grapevine, TX 76051
Carrboro Umc Men
Occoneechee 421
200 Hillsborough Rd
Carrboro, NC 27510


Carriage Hill Elementary PTO
Mid‐America Council 326
400 Cedardale Rd
Papillion, NE 68046


Carrie A Hairston
Address Redacted


Carrie A Vogelsang
Address Redacted


Carrie Brewer
Address Redacted


Carrie Commercial Services Corp
2201 Midway Rd, Ste 200
Carrollton, TX 75006


Carrie Griswold
Address Redacted


Carrie Hutchcraft
Address Redacted


Carrie Kemp
Address Redacted


Carrie L Deitz
Address Redacted


Carrie Mellen
Address Redacted
Carrie Rose
Address Redacted


Carrier Enterprise LLC
1401 Erie Blvd E, Ste 2
Syracuse, NY 13210


Carrier North Carolina
P.O. Box 905957
Charlotte, NC 28290‐5957


Carrington Confroy
Address Redacted


Carrington Lions Club
Northern Lights Council 429
325 5th Ave S
Carrington, ND 58421


Carrington Lions Club
Northern Lights Council 429
564 9th Ave N
Carrington, ND 58421


Carrington School
Connecticut Rivers Council, Bsa 066
24 Kenmore Ave
Waterbury, CT 06708


Carrol Hardin
Address Redacted


Carrol Murray
Address Redacted


Carroll College
Montana Council 315
1601 N Benton Ave
Helena, MT 59625
Carroll Community College
1601 Washington Rd
Westminster, MD 21157


Carroll County High School Jrotc
Blue Ridge Mtns Council 599
100 Cavs Ln
Hillsville, VA 24343


Carroll County Law Enforcement
Baltimore Area Council 220
100 W Court St
Westminster, MD 21102


Carroll France
Address Redacted


Carroll Junior High
Louisiana Purchase Council 213
2913 Renwick St
Monroe, LA 71201


Carroll Manor Fire Co
National Capital Area Council 082
2795 Adams St
Adamstown, MD 21710


Carroll Oakland Elementary PTO
Middle Tennessee Council 560
4664 Hunters Point Pike
Lebanon, TN 37087


Carroll Peak Elementary ‐ Gifw
Longhorn Council 662
1201 E Jefferson Ave
Fort Worth, TX 76104


Carroll Township Trustees
Erie Shores Council 460
11080 W Toussaint E Rd
Oak Harbor, OH 43449
Carroll Traylor
Address Redacted


Carrollton Church Of The Nazarene
Circle Ten Council 571
1529 E Hebron Pkwy
Carrollton, TX 75010


Carrollton Farmers Branch Rotary Club
Circle Ten Council 571
P.O. Box 417
Carrollton, TX 75011


Carrollton Police Dept
Circle Ten Council 571
2025 E Jackson Rd
Carrollton, TX 75006


Carrollton Ruritan Club
Colonial Virginia Council 595
109 Arabian Trl
Smithfield, VA 23430


Carrollwood Seventh Day Adventist Church
Greater Tampa Bay Area 089
10619 Henderson Rd
Tampa, FL 33625


Carrot‐Top Industries, Inc
328 Elizabeth Brady Rd
P.O. Box 820
Hillsborough, NC 27278


Carrow Baptist Church
Tidewater Council 596
5545 Susquehanna Dr
Virginia Beach, VA 23462


Carrsville Ruritan Club
Colonial Virginia Council 595
5336 Carrsville Hwy
Carrsville, VA 23315


Carson Boys N Girls Club
Three Harbors Council 636
4920 W Capitol Dr
Milwaukee, WI 53216


Carson Butt
Address Redacted


Carson Comer
Address Redacted


Carson D Bollinger
Address Redacted


Carson D Mcrae
Address Redacted


Carson Mikami
Address Redacted


Carson R Williams
Address Redacted


Carson R Yates
Address Redacted


Carson S Lumber Mill
25852 Schantz Rd
Sunman, IN 47041


Carson Valley Lions Club
Nevada Area Council 329
P.O. Box 314
Minden, NV 89423


Carson Valley Medical Center
Nevada Area Council 329
1107 US Hwy 395 N
Gardnerville, NV 89410


Carson W Berry
Address Redacted


Carstens Academy Pacsa
Great Lakes Fsc 272
13000 Essex Ave
Detroit, MI 48215


Cartamundi Usa
P.O. Box 671333
Dallas, TX 75267‐1333


Carter   Burgess, Inc
P.O. Box 99350
Fort Worth, TX 76199‐0350


Carter John Fritz
Address Redacted


Carter Park Elementary ‐ Gfwar
Longhorn Council 662
1204 E Broadus Ave
Fort Worth, TX 76115


Carter W Dell
Address Redacted


Carteret Street Utd Methodist Church
Coastal Carolina Council 550
408 Carteret St
Beaufort, SC 29902


Carteret Street Utd Methodist Church
Coastal Carolina Council 550
P.O. Box 788
Beaufort, SC 29901
Carter‐Smith Vfw Post 5867
San Diego Imperial Council 049
12650 Lindo Ln
Lakeside, CA 92040


Cartersville Rotary
Northwest Georgia Council 100
P.O. Box 1476
Cartersville, GA 30120


Cartertoons Media, LLC
12330 W US Hwy 40
Cambridge City, IN 47327


Carterville Baptist Church
Pine Burr Area Council 304
1115 Carterville Rd
Petal, MS 39465


Carthage College
Office of Student Financial Planning
2001 Alford Park Dr
Kenosha, WI 53140


Carthage LDS
Longhouse Council 373
21883 Cole Rd
Carthage, NY 13619


Carthage Police Dept
Ozark Trails Council 306
310 W 4th St
Carthage, MO 64836


Carthage Utd Methodist Church
Andrew Jackson Council 303
P.O. Box 169
Carthage, MS 39051


Carthage Utd Methodist Church
Middle Tennessee Council 560
P.O. Box 241
Carthage, TN 37030


Carus Publishing Co
P.O. Box 7150
Rockford, IL 61126‐9903


Carvel Ice Cream
11508 Providence Rd
Charlotte, NC 28277


Carver Boys N Girls Club
Three Harbors Council 636
1900 N 1st St
Milwaukee, WI 53212


Carver Center
Westchester Putnam 388
400 Wchester Ave
Port Chester, NY 10573


Carver Community Organization
Buffalo Trace 156
400 SE 8th St
Evansville, IN 47713


Carver County Sheriff
Northern Star Council 250
606 E 4th St
Chaska, MN 55318


Carver Elementary School
Greater St Louis Area Council 312
3325 Bell Ave
Saint Louis, MO 63106


Carver High School
Tukabatchee Area Council 005
2001 W Fairview Ave
Montgomery, AL 36108
Carver Middle School
Indian Nations Council 488
624 E Oklahoma Pl
Tulsa, OK 74106


Carversville Christian Church
Washington Crossing Council 777
3736 Aquetong Rd
Carversville, PA 18913


Carvis Braxton
Address Redacted


Cary Grimes‐Graeme
Address Redacted


Cary High School Naval Jrotc
Occoneechee 421
638 Walnut St
Cary, NC 27511


Cary Kaczik
Address Redacted


Cary Lenise Everitt
Address Redacted


Cary Police Dept
Blackhawk Area 660
654 Village Hall Dr
Cary, IL 60013


Cary Presbyterian Church
Occoneechee 421
614 Griffis St
Cary, NC 27511


Cary Reynolds PTA
Atlanta Area Council 092
3498 Pine St
Doraville, GA 30340
Cary Utd Methodist Church
Blackhawk Area 660
500 1st St
Cary, IL 60013


Cary Wilson
Address Redacted


Cary‐Grove Amvets
Blackhawk Area 660
425 Wentworth Cir
Cary, IL 60013


Caryl Jane Lombardi
Address Redacted


Caryl Lombardi
Address Redacted


Caryl Sharpe
Address Redacted


Casa De Amigos
Buffalo Trail Council 567
1101 Garden Ln
Midland, TX 79701


Casa De La Esperanza Learning Center
Longs Peak Council 062
1520 S Emery St
Longmont, CO 80501


Casa Esperanza
W.L.A.C.C. 051
14705 Blythe St
Casa Esperanza
Panorama City, CA 91402


Casa Familiar
San Diego Imperial Council 049
119 W Hall Ave
San Ysidro, CA 92173


Casa Grande Fire Dept
Catalina Council 011
377 E Val Vista Blvd
Casa Grande, AZ 85122


Casa Grande Investments I LLC
6426 City W Pkwy
Eden Prairie, MN 55344


Casa Grande Investments I LLC
730 3rd Ave
New York, NY 10017


Casa Juan Bosco, Inc
Puerto Rico Council 661
P.O. Box 1836
Aguadilla, PR 00605


Casa Manana Theatre
3101 W Lancaster
Fort Worth, TX 76107


Casas Adobes Ward
Lds Tucson North Stake
Catalina Council 011
939 W Chapala Dr
Tucson, Az 85704


Cascade Charter Township
2865 Thornhills Ave SE
Grand Rapids, MI 49546


Cascade Christian Church
President Gerald R Ford 781
2829 Thornapple River Dr Se
Disciples of Christ
Grand Rapids, MI 49546
Cascade Civil War Society
Crater Lake Council 491
3504 Cannon Ave
Klamath Falls, OR 97603


Cascade Designs Inc
29383 Network Pl
Chicago, IL 60673‐1293


Cascade Designs Inc
4000 1st Ave S
Seattle, WA 98134


Cascade Designs Nevada LLC
29383 Network Pl
Chicago, IL 60673‐1293


Cascade Designs Nevada LLC
4000 1st Ave S
Seattle, WA 98134


Cascade Designs Nevada LLC
P.O. Box 94547
Seattle, WA 98124‐6847


Cascade Elementary School PTO
Blue Mountain Council 604
505 S Highland Dr
Kennewick, WA 99337


Cascade Leadership Challenge
Chief Seattle Council 609
13203 2nd Ave Nw
Seattle, WA 98177


Cascade Lions Club
Northeast Iowa Council 178
Cascade, IA 52033


Cascade Pacific
2145 Naito Pkwy
Portland, OR 97201‐5197


Cascade Pacific Cncl No 492
2145 Naito Pkwy
Portland, OR 97201‐5197


Cascade Utd Methodist Church
Atlanta Area Council 092
3144 Cascade Rd Sw
Atlanta, GA 30311


Casco Uninted Methodist Church
President Gerald R Ford 781
880 66th St
South Haven, MI 49090


Case
Membership, Dept 4022
Washington, DC 20042‐4022


Case Clc PTA
Great Trail 433
1420 Garman Rd
Akron, OH 44313


Case District Iii/Iv
Attn Conferences
P.O. Box 79884
Baltimore, MD 21279‐0884


Case Haslam
Address Redacted


Case Western Reserve University
University Financial Aid
2049 Martin Luther King Jr. Dr
Yost Hall 435
Cleveland, OH 44106‐7049


Case Works Crating   Shipping
827 E 17th St 125
Tucson, AZ 85719


Casey Devoti   Brockland
Attn Matthew C. Casey
124 Gay Ave
St. Louis, MO 63105


Casey Dupree
Address Redacted


Casey Hynes
Address Redacted


Casey K Lazar
Address Redacted


Casey L Burns
Address Redacted


Casey M Shandera
Address Redacted


Casey Manning
Address Redacted


Casey Norwood
Address Redacted


Casey R Myers
Address Redacted


Casey Snyder
Address Redacted


Cash   Carry Furniture
P.O. Box 321
Magdalena, NM 87825
Cashe Crossland
833 Fox Trail
Buffalo, MN 55313


Cashmere American Legion Auxiliary 64
Grand Columbia Council 614
P.O. Box 441
Cashmere, WA 98815


Cashton Community Club
Gateway Area 624
539 Schneider St
Cashton, WI 54619


Cashtown Area Lions Club
New Birth of Freedom 544
1043 Green Ridge Rd
Orrtanna, PA 17353


Casie Harris
Address Redacted


Casimiro De Figueiredo
930 Harbourne St
Colorado Springs, CO 80911


Cason Utd Methodist Church
Gulf Stream Council 085
342 N Swinton Ave
Delray Beach, FL 33444


Casper Five Trails Rotary Club
Greater Wyoming Council 638
4210 Deer Run
Casper, WY 82601


Cass Circuit Clerk
2501 W Mechanic
Harrisonville, MO 64701
Cass City Rotary Club
Water and Woods Council 782
P.O. Box 63
Cass City, MI 48726


Cass Co Elks Lodge
Heart of America Council 307
2402 N M 291 Hwy
Harrisonville, MO 64701


Cass Co Emergency Services Dis. 2
Caddo Area Council 584
P.O. Box 157
Queen City, TX 75572


Cass County Cowboy Church
Caddo Area Council 584
P.O. Box 189
Atlanta, TX 75551


Cass County Emergency Svcs District   2
Caddo Area Council 584
P.O. Box 157
Queen City, Tx 75572


Cass County Sheriffs Office
Mid‐America Council 326
P.O. Box 10
Plattsmouth, NE 68048


Cass District 63 Ptc
Pathway To Adventure 456
8502 Bailey Rd
Darien, IL 60561


Cass Road Baptist Church
Erie Shores Council 460
1400 Cass Rd
Maumee, OH 43537


Cassadaga American Legion Post 1280
Allegheny Highlands Council 382
228 Maple Ave
P.O. Box 497
Cassadaga, NY 14718


Cassandra D Engle
Address Redacted


Cassandra Dorris
Address Redacted


Cassandra Ferguson
Address Redacted


Cassandra Godinez
Address Redacted


Cassandra Haskin
Address Redacted


Cassandra J Carl
Address Redacted


Cassandra J Hansen
Address Redacted


Cassandra Jackson
Address Redacted


Cassandra Lebeau
Address Redacted


Cassandra Louise Dorris
Address Redacted


Cassandra Pahl
Address Redacted


Cassandra Sossa
Address Redacted


Cassandra Washington
Address Redacted


Casselberry Utd Methodist Church
Central Florida Council 083
321 Piney Ridge Rd
Casselberry, FL 32707


Casselton Fire Dept
Northern Lights Council 429
121 Langer Ave N
Casselton, ND 58012


Cassian Reporting LLC
21 Oak St, Ste 307
Hartford, CT 06106


Cassian Reporting LLC
P.O. Box 342
East Glastonbury, CT 06025


Cassidy M Levy
Address Redacted


Cassidy Scott
Address Redacted


Cassidy Utd Methodist Church
Sequoyah Council 713
5801 Memorial Blvd
Kingsport, TN 37664


Cassie Dooley
Address Redacted


Cassie Hunsaker
Address Redacted
Cassville Fire Dept
Blackhawk Area 660
310 W Amelia St
Cassville, WI 53806


Cassville Rotary Club
Ozark Trails Council 306
12964 Fr 2195
Cassville, MO 65625


Cassville Volunteer Fire Co
Jersey Shore Council 341
785 Miller Ave
Jackson, NJ 08527


Castaic Chamber Of Commerce
W.L.A.C.C. 051
31744 Castaic Rd, Ste 103
Castaic, CA 91384


Castaic Lions Club
W.L.A.C.C. 051
30801 Gilmour St
Castaic, CA 91384


Castile Community Club
Iroquois Trail Council 376
12 S Main
P.O. Box 401
Castile, NY 14427


Castillo Laman Tan Pantaleon   San Jose
Law Offices
The Valero Tower
122 Salcedo Village
Makati City, 1227
Philippines


Casting For Recovery
17 Deer Run Rd
Cimarron, NM 87714
Castle Elementary School PTO
Buffalo Trace 156
3077 State Route 261
Newburgh, IN 47630


Castle Hills Residential Assoc
Circle Ten Council 571
2520 King Arthur Blvd, Ste 200
Lewisville, TX 75056


Castle Lights Candle Co
325 S 4th St
Raton, NM 87740


Castle Navigation Inc
dba Stanley London
4091 E La Palma Ave, Ste G
Anaheim, CA 92807


Castle Rock Fire Dept
Denver Area Council 061
300 Perry St
Castle Rock, CO 80104


Castle Rock Police Dept
Denver Area Council 061
100 Perry St
Castle Rock, CO 80104


Castle South Parent Support Group
Buffalo Trace 156
3711 Casey Rd
Newburgh, IN 47630


Castle Talent, Inc
P.O. Box 767
Windermere, FL 34786


Castle Valley Center
Utah National Parks 591
755 N Cedar Hills Dr
Price, UT 84501


Castle Worldwide Inc
Attn Gina Puckett
900 Perimeter Park Dr, Ste G
Morrisville, NC 27560


Castleman   Sons Plumbing Inc
Three Harbors Council 636
11725 W Scherrei Dr
Franklin, WI 53132


Castleton Hill Moravian Church
Greater New York Councils, Bsa 640
1657 Victory Blvd
Staten Island, NY 10314


Castleton Kiwanis Club
Twin Rivers Council 364
112 S Main St
Castleton On Hudson, NY 12033


Castleton Utd Methodist Church
Crossroads of America 160
7160 Shadeland Sta
Indianapolis, IN 46256


Castro Valley Utd Methodist Church
San Francisco Bay Area Council 028
19806 Wisteria St
Castro Valley, CA 94546


Castro Vly Utd Methodist Ch Mens Club
San Francisco Bay Area Council 028
19806 Wisteria St
Castro Valley, Ca 94546


Caswell Springs Utd Methodist Church
Pine Burr Area Council 304
18601 Hwy 63
Moss Point, MS 39562
Cat S Welding
Texas Trails Council 561
P.O. Box 483
Haskell, TX 79521


Catahoula Parish School Board
P.O. Box 250
Vidalia, LA 71313‐0250


Catalina
2250 E Broadway Blvd
Tucson, AZ 85719


Catalina Area Cncl 11
2250 E Broadway Blvd
Tucson, AZ 85719


Catalina Biosolutions LLC
6890 E Sunrise Blvd 110‐120
Tucson, AZ 85750


Catalina Elementary School PTA
Central Florida Council 083
2510 Gulfstream Rd
Orlando, FL 32805


Catalina Ward ‐ LDS Tucson North Stake
Catalina Council 011
55 W Arrowsmith Dr
Oro Valley, AZ 85755


Catalina Yachts
7200 Bryan Dairy Rd
Largo, FL 33777


Catalyst Adventure Group, LLC
P.O. Box 285
Fairfield, CT 06824


Cataula Utd Methodist Church
Chattahoochee Council 091
P.O. Box 276
Cataula, GA 31804


Catawba College
Attn Financial Aid Office
2300 W Innes St
Salisbury, NC 28144


Catawba Lodge 56, Afm
Palmetto Council 549
P.O. Box 56
220 Tom Hall St
Fort Mill, SC 29716


Catawba Sail And Power Squadron
Palmetto Council 549
4743 Cascade Ave
Rock Hill, SC 29732


Catawba Trail Elementary School PTO
Indian Waters Council 553
1080 Old National Hwy
Elgin, SC 29045


Catawba Utd Methodist Church
Blue Ridge Mtns Council 599
4972 Catawba Creek Rd
Catawba, VA 24070


Catawba Valley Community College
2550 Hwy 70, Se
Hickory, NC 28602‐8302


Catawissa Ave Utd Methodist Church
Susquehanna Council 533
319 Catawissa Ave
Sunbury, PA 17801


Catering For You Inc
8121 Cantrell Rd
Little Rock, AR 72227
Catfish Charlies
Northeast Iowa Council 178
1650 E 16th St
Dubuque, IA 52001


Cathadral Of St.Joseph
Great Rivers Council 653
2305 W Main St
Jefferson City, MO 65109


Catharine Hamel
Address Redacted


Cathea Barrows
Address Redacted


Cathedral Cafe
Kyss LLC
134 S Court St
Fayetteville, WV 25840


Cathedral Carmel Elem
Evangeline Area 212
848 Saint John St
Lafayette, LA 70501


Cathedral City Police Dept
California Inland Empire Council 045
68700 Avenida Lalo Guerrero
Cathedral City, CA 92234


Cathedral High School
Yucca Council 573
1309 N Stanton St
El Paso, TX 79902


Cathedral Holy Name Society
Greater St Louis Area Council 312
200 W Harrison St
Belleville, IL 62220
Cathedral Of Immaculate Conception
East Texas Area Council 585
423 S Broadway Ave
Tyler, TX 75702


Cathedral Of Mary Our Queen
Baltimore Area Council 220
5200 N Charles St
Baltimore, MD 21210


Cathedral Of Our Lady Of Guadalupe
Santa Fe Trail Council 194
3231 N 14Th
P.O. Box 670
Dodge City, KS 67801


Cathedral Of Sacred Heart
Gulf Coast Council 773
1212 E Moreno St
Pensacola, FL 32503


Cathedral Of Saint Eugene
Redwood Empire Council 041
2323 Montgomery Dr
Santa Rosa, CA 95405


Cathedral Of Saint John Berchmans
Norwela Council 215
939 Jordan St
Shreveport, LA 71101


Cathedral Of St Augustine
North Florida Council 087
35 Treasury St
Saint Augustine, FL 32084


Cathedral Of St Catharine Of Siena
Minsi Trails Council 502
1825 W Turner St
Allentown, PA 18104
Cathedral Of St Mary Of The Assumption
Narragansett 546
327 2nd St
Fall River, MA 02721


Cathedral Of St Peter
Blackhawk Area 660
1243 N Church St
Rockford, IL 61103


Cathedral Of St Philip
Atlanta Area Council 092
2744 Peachtree Rd Nw
Atlanta, GA 30305


Cathedral Of The Incarnation
Middle Tennessee Council 560
2015 W End Ave
Nashville, TN 37203


Cathedral Of The Risen Christ
Cornhusker Council 324
3500 Sheridan Blvd
Lincoln, NE 68506


Cathedral Of The Rockies Amity Campus
Ore‐Ida Council 106 ‐ Bsa 106
4464 S Maple Grove Rd
Boise, ID 83709


Cathedral Of The Sacred Heart
Gulf Coast Council 773
1212 E Moreno St
Pensacola, FL 32503


Cathedral Of The Sacred Heart Of Jesus
Great Smoky Mountain Council 557
711 S Nshore Dr
Knoxville, TN 37919


Cathedral School
Cascade Pacific Council 492
110 NW 17th Ave
Portland, OR 97209


Catherine Bargh
Address Redacted


Catherine Brown
Address Redacted


Catherine Buckalew
Address Redacted


Catherine Calhoun
Address Redacted


Catherine Ch Anderson
Address Redacted


Catherine Curzon
Address Redacted


Catherine D Butz
Address Redacted


Catherine Drake
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Catherine Emerson
Address Redacted


Catherine Foy Roussos
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Catherine Garvey
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Catherine Gosselin
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Catherine Harding
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Catherine Harrison
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Catherine Heil
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Catherine Hevel
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Catherine Huska
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Catherine Irle
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Catherine K Parisi
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Catherine L Winckler
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Catherine Lundry
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Catherine M Curtis
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Catherine M Mazzella
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Catherine Malm
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Catherine Marshall
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Catherine Monaghan
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Catherine Rohloff
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Catherine Ross
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Catherine S Nagib
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Catherine Shawver
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Catherine Smith
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Catherine Spitler
Address Redacted


Catherine Walsh
Address Redacted


Catherine Washburn
Address Redacted


Catherine Zanotti
Address Redacted


Cathey Hand
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Cathey Raber
Address Redacted


Cathie Potts
Address Redacted


Cathleen Courtney
Address Redacted


Cathleen Gauch
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Cathleen Peloubet
Address Redacted


Cathleen Scott    Associates
250 S Central Blvd, Ste 104
Jupiter, FL 33458


Cathleen Vujasin
Address Redacted


Cathlynn Peters
Address Redacted


Catholic ‐ Holy Rosary Church
Grand Teton Council 107
145 9th St
Idaho Falls, ID 83404


Catholic ‐ Holy Rosary Church
Grand Teton Council 107
228 9th St
Idaho Falls, ID 83404


Catholic Church Of Corpus Christi
Northern Star Council 250
2131 Fairview Ave N
Roseville, MN 55113
Catholic Church Of St Ann
Atlanta Area Council 092
4905 Roswell Rd
Marietta, GA 30062


Catholic Church Of St Luke
Blue Ridge Council 551
4408 Hwy 86
Easley, SC 29642


Catholic Church Of St Monica
Atlanta Area Council 092
1700 Buford Hwy
Duluth, GA 30097


Catholic Church Of The Annunciation
Blue Grass Council 204
1007 Main St
Paris, KY 40361


Catholic Church Of The Epiphany
Central Florida Council 083
201 Lafayette St
Port Orange, FL 32127


Catholic Church Of The Holy Ghost
Mayflower Council 251
518 Washington St
Whitman, MA 02382


Catholic Church Of The Holy Spirit
Gulf Coast Council 773
10650 Gulf Beach Hwy
Pensacola, FL 32507


Catholic Committee On Scouting
Archdiocese of Kansas City
12605 Parallel Ave
Kansas City, KS 66109


Catholic Committee On Scouting
Archdiocese of Louisville
P.O. Box 211075
Louisville, KY 40221‐1075


Catholic Committee On Scouting
Diocese of Columbus Ohio
P.O. Box 2222
Westerville, OH 43086‐2222


Catholic Committee On Scouting
Great Rivers Council 653
1011 Boonville Rd
Jefferson City, MO 65109


Catholic Committee, Diocese Of Paterson
c/o Debbie Wickham
16 Old Woodstock Trail
Oak Ridge, NJ 07438


Catholic Community Of New Bedford
Narragansett 546
106 Illinois St
New Bedford, MA 02745


Catholic Community Of St Matthias
Patriots Path Council 358
168 John F Kennedy Blvd
Somerset, NJ 08873


Catholic Diocese Of Evansville
4200 N Kentucky
Evansville, IN 47724‐0169


Catholic Diocese Of Richmond
7800 Carousel Ln
Richmond, VA 23294‐4201


Catholic Diocese Of Richmond
Stonewall Jackson Council 763
1205 Pen Park Rd
Charlottesville Catholic School
Charlottesville, VA 22901
Catholic Diocese Of Richmond
Stonewall Jackson Council 763
1465 Incarnation Dr
Church of Incarnation
Charlottesville, VA 22901


Catholic Holy Spirit Catholic Commty
Grand Teton Council 107
524 N 7Th Ave
Pocatello, Id 83201


Catholic Home School Assoc Of Omaha
Mid‐America Council 326
4816 S 13Th St
Omaha, Ne 68107


Catholic Men Of The Chapel
Transatlantic Council, Bsa 802
8 Fw/Hc, Unit 5210
Apo, AE 09461


Catholic Men S Group
W D Boyce 138
502 N Monroe St
Clinton, IL 61727


Catholic Men St Justin
St Mary Magdalen Parish
Great Lakes Fsc 272
665 E Garfield Ave
Hazel Park, Mi 48030


Catholic Schools Of Fairbanks
Midnight Sun Council 696
615 Monroe St
Fairbanks, AK 99701


Catholic University Of America
Office of Admissions
P.O. Box 8500‐1970
Philadelphia, PA 19178‐1970
Catholic Urban Programs Griffin Center
Greater St Louis Area Council 312
P.O. Box 2185
East Saint Louis, IL 62202


Cathora Corp
Dba D    H Engraving
9769 W 119th Dr, Ste 7
Broomfield, CO 80021


Cathryn Hardy
Address Redacted


Cathy Berg
Address Redacted


Cathy Capuano
Address Redacted


Cathy Carol
Address Redacted


Cathy Connelly
Address Redacted


Cathy Eng
Address Redacted


Cathy Gosselin Council 218
146 Plains Rd
Raymond, ME 04071


Cathy H Keiger
Address Redacted


Cathy Henderson
Address Redacted
Cathy Hunt
Address Redacted


Cathy J Doran
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Cathy L Cunningham
Address Redacted


Cathy L Wilson
Address Redacted


Cathy Sager
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Cathy Stokes
Address Redacted


Cathy Torres
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Cathy West
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Cathy Wilson
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Catigny Foundation
15151 Winfield Rd
Wheaton, IL 60189


Catlettsburg Elem Sch 21 Stcclcwow
Buckskin 617
3348 Court St
Catlettsburg, Ky 41129


Catlin Lions Club
Prairielands 117
10562 Catlin Indianola Rd
Catlin, IL 61817


Catoctin Fish And Game Protective Assoc
National Capital Area Council 082
10219 Clark Rd
Myersville, Md 21773


Catonsville Presbyterian Church
Baltimore Area Council 220
1400 Frederick Rd
Catonsville, MD 21228


Catonsville Utd Methodist Church
Baltimore Area Council 220
6 Melvin Ave
Catonsville, MD 21228


Cats Club 21St Century Brown Elementary
Capitol Area Council 564
505 W Anderson Ln
Austin, TX 78752


Cattlemen S Fort Worth Steak House Inc
2458 N Main St
Ft Worth, TX 76164


Caughdenoy Methodist Church
Longhouse Council 373
P.O. Box 59B
Central Square, NY 13036


Cause Academy, LLC
13020 N 82nd St
Scottsdale, AZ 85260


Cause Media Group, LLC
811 El Capitan Way, Ste 130
San Luis Obispo, CA 93401


Causeway Hospitality, LLC
dba Holiday Inn Metairie
New Orleans Airport
2261 N Causeway Blvd
Metairie, LA 70001


Cavallo Bus Lines
3755 E Kearney
Springfield, MO 65803


Cave Spring Utd Methodist Church
Blue Ridge Mtns Council 599
4505 Hazel Dr
Roanoke, VA 24018


Cave Spring Utd Methodist Men S Club
Northwest Georgia Council 100
5420 Fosters Mill Rd Sw
Road
Cave Spring, GA 30124


Caveman Kiwanis Club
Crater Lake Council 491
712 SW Cypress St
Grants Pass, OR 97526


Cavierre Stolberg
Address Redacted


Cayan LLC
dba Cayan Holdings
1 Federal St, 2nd Fl
Boston, MA 02110


Cayce Dept Of Public Safety
Indian Waters Council 553
2 Lavern Jumper Rd
Cayce, SC 29033


Cayla Michele Stafford
Address Redacted


Caylee Cook
Address Redacted


Caylin G Hintz
Address Redacted


Cayuga Christian Church
Crossroads of America 160
P.O. Box 731
406 S Logan St
Cayuga, IN 47928


Caze Parent Support Group Special Needs
Buffalo Trace 156
2013 S Green River Rd
Evansville, IN 47715


Cazembe Samuel Monds
Address Redacted


Cazenovia American Legion Post 88
Leatherstocking 400
P.O. Box 263
26 Chenango St
Cazenovia, NY 13035


Cbl Data Recovery Technologies Inc
200 Business Park Dr, Unit 105
Armonk, NY 10504


Cbp Border Patrol
Yucca Council 573
1997 Hwy 54 S
Alamogordo, NM 88310


Cbp Calexico 2503
San Diego Imperial Council 049
1699 Carr Rd
Calexico, CA 92231


Cbp Office Of Field Operations
Rio Grande Council 775
3300 S Expressway 77/83
Brownsville, TX 78521


Cbre Inc
Bank of America Loxbox Services
P.O. Box 281620, Location Code 4606
Atlanta, GA 30384‐1620


Cbs
P.O. Box 2489
White City, OR 97503


Cbs Distribution, Inc
dba Permacard   Menuworks
8 Sunbelt Business Park Dr
Greer, SC 29650‐4529


Cbs LLC
Tidewater Council 596
953 Reon Dr
Virginia Beach, VA 23464


Cbs Press Inc
P.O. Box 101295
Fort Worth, TX 76185


Cbs Sports Inc
911 N Green St
Morganton, NC 28655


Cc Creations Ltd
1800 Shiloh Ave
Bryan, TX 77803


CC Dickson Co
P.O. Box 13501
Rock Hill, SC 29731‐3501


Cc Fashions Inc
858 Estes Ave
San Antonio, TX 78209
Ccf Natural Hoofcare
16622 Co Rd 79
Trinidad, CO 81082


Cch
4025 W Peterson Ave
Chicago, IL 60646‐6085


Cch Inc
P.O. Box 4307
Carol Stream, IL 60197‐4307


Ccm Networks, LLC
924 Gainesville Hwy, Ste 100
Buford, GA 30518


Ccmh Times Square LLC
New York Marriott Marquis
1535 Broadway
New York, NY 10036


Ccpit Patent    Trademark Law Office
10/F Ocean Plaza, 158 Fuxingmennei St
Beijing, 100031
China


Ccs Presentation Systems
17350 N Hartford Dr
Scottsdale, AZ 85255


Ccsd Police Officer Assoc
Las Vegas Area Council 328
2412 Harlequin Cir
Henderson, NV 89074


Ccw Distributors Inc
5861 Tennyson St
Arvada, CO 80003
Cd Cook   Son Construction Co Inc
P.O. Box 58
Branchland, WV 25506


Cd Video Manufacturing Inc
12650 Wminster Ave
Santa Ana, CA 92706‐2139


Cdf Freedom School Of Licking County
Simon Kenton Council 441
734 Sherwick Rd
Newark, OH 43055


Cdf Freedom Schools Of Licking County
Simon Kenton Council 441
734 Sherwick Rd
Newark, OH 43055


Cdf/San Mateo County Fire Dept
Pacific Skyline Council 031
320 Paul Scannell Dr
San Mateo, CA 94402


Cdg 1421906 Ont Inc
4181 Sladeview Cres 35
Mississauga, On L5L 5R2
Canada


Cdg Environmental LLC
361 W Cedar St
Allentown, PA 18102


Cdh Oen
7082 166th Way Se
Bellevue, WA 98006‐5678


Cdr William Mccool School PTO
Aloha Council, Bsa 104
Psc 455 Box 168
Fpo Ap, 96540
Cdw Direct, LLC
P.O. Box 75723
Chicago, IL 60675‐5723


Cdw Direct, LLC,
200 N Milwaukee Ave
Vernon Hills, IL 60061


Cdw, LLC
200 N Milwaukee Ave
Vernon Hills, IL 60061


Ceasar Chavez Academy
Great Lakes Fsc 272
4100 Martin St
Detroit, MI 48210


Ceasar Chavez East Academy
Great Lakes Fsc 272
4130 Maxwell St
Detroit, MI 48214


Cebar Esd Inc
Capitol Area Council 564
353 S Commons Ford Rd
Austin, TX 78733


Cec Facilities Group LLC
1275 Valley View Ln
Irving, TX 75061


Cecelia Hansen
Address Redacted


Cecelia Joyce
Address Redacted


Cecelia Rae
Address Redacted
Cecil American Legion Post 793
Laurel Highlands Council 527
P.O. Box 93
3323 Millers Run Rd
Cecil, PA 15321


Cecil B Moore Rec Center
Cradle of Liberty Council 525
2551 N 22nd St
Philadelphia, PA 19132


Cecil College
Attn Accounts Receivable
One Seahawk Dr
North E, MD 21901


Cecil Cox Post 147 Amer Leg
Memorial United Methodist Church
Sequoia Council 027
P.O. Box 415
Clovis, Ca 93613


Cecil Cox Post 147 Inc American Legion
Sequoia Council 027
508 4th St
Clovis, CA 93612


Cecil Cox Post 147 Inc American Legion
Sequoia Council 027
P.O. Box 415
Clovis, CA 93612


Cecil I Walker Machinery Co
29773 Network Pl
Chicago, IL 60673‐1297


Cecil Loveland
Address Redacted


Cecil Murray Center For Commty
Engagement
Greater Los Angeles Area 033
Abm Building, Ste 205
Los Angeles, Ca 90089


Cecil Pitts
Address Redacted


Cecile Rooney
Address Redacted


Cecilia Joya
Address Redacted


Cecilia S Williams
Address Redacted


Cecilia Valley Elementary School
Lincoln Heritage Council 205
931 E Main St
Cecilia, KY 42724


Cecilia Williams
Address Redacted


Cecilio Flores
Address Redacted


Ced Logistics
P.O. Box 2390
Astoria, NY 11102


Cedar Bayou Grace Utd Methodist Ch
Sam Houston Area Council 576
2714 Ferry Rd
Baytown, Tx 77520


Cedar Bluff Police Dept
Buckskin 617
115 Central Ave
Cedar Bluff, VA 24609
Cedar Bluffs Fire And Rescue
Mid‐America Council 326
13 E Main St
Cedar Bluffs, NE 68015


Cedar Chapel Utd Methodist Church
Quivira Council, Bsa 198
1140 E 47th St S
Wichita, KS 67216


Cedar City Elks Lodge 1556
Utah National Parks 591
111 E 200 N
Cedar City, UT 84720


Cedar Creek Baptist Church
North Florida Council 087
1372 Lane Ave S
Jacksonville, FL 32205


Cedar Creek Booster Club
Capitol Area Council 564
3301 Pinnacle Rd
Austin, TX 78746


Cedar Creek Church
Georgia‐Carolina 093
3001 Banks Mill Rd
Aiken, SC 29803


Cedar Creek Utd Methodist Church
Capitol Area Council 564
5630 Fm 535
P.O. Box 33
Cedar Creek, TX 78612


Cedar Crest Elementary
Circle Ten Council 571
2020 Mouser Ln
Dallas, TX 75203
Cedar Cross Utd Methodist Church
Mount Baker Council, Bsa 606
1210 132nd St Se
Mill Creek, WA 98012


Cedar Draw Ward ‐ Filer Stake
Snake River Council 111
841 W Midway St
Filer, ID 83328


Cedar Elementary PTO
Buckeye Council 436
2823 9th St Sw
Canton, OH 44710


Cedar Grange 534
Chief Seattle Council 609
P.O. Box 486
Maple Valley, WA 98038


Cedar Grove Elementary School
Jersey Shore Council 341
137 Cedar Grove Rd
Toms River, NJ 08753


Cedar Grove Elementary School
Lincoln Heritage Council 205
1900 Cedar Grove Rd
Shepherdsville, KY 40165


Cedar Grove Elks Lodge 2237
Northern New Jersey Council, Bsa 333
405 Bowden Rd
Cedar Grove, NJ 07009


Cedar Grove Utd Methodist Church
Buckskin 617
168 Old Turnpike Rd
Parkersburg, WV 26104


Cedar Grove Utd Methodist Church
Great Smoky Mountain Council 557
1246 Whitaker Rd
New Market, TN 37820


Cedar Hall Elementary School
Buffalo Trace 156
2100 N Fulton Ave
Evansville, IN 47710


Cedar Hill Baptist Church
Great Smoky Mountain Council 557
636 Demory Rd
La Follette, TN 37766


Cedar Hill Church Of Christ
Circle Ten Council 571
535 S Clark Rd
Cedar Hill, TX 75104


Cedar Hill Fire Dept
Circle Ten Council 571
1212 W Belt Line Rd
Cedar Hill, TX 75104


Cedar Hill PTO
Great Rivers Council 653
1510 Vieth Dr
Jefferson City, MO 65109


Cedar Hill Roller Rink
Circle Ten Council 571
202 W Main St
Dallas, TX 75208


Cedar Hill School PTO
Patriots Path Council 358
46 Pine Brook Rd
Towaco, NJ 07082


Cedar Hills Baptist Church
Cascade Pacific Council 492
2470 SW Roxbury Ave
Portland, OR 97225
Cedar Hills Baptist Church
Great Smoky Mountain Council 557
726 Hilltop Dr
Jacksboro, TN 37757


Cedar Hills P T O
Three Harbors Council 636
2225 W Sycamore Ave
Oak Creek, WI 53154


Cedar Key Utd Methodist Church
North Florida Council 087
P.O. Box 338
Cedar Key, FL 32625


Cedar Lake Utd Methodist Church
Pathway To Adventure 456
7124 W 137th Pl
Cedar Lake, IN 46303


Cedar Mill Ptc
Cascade Pacific Council 492
10265 NW Cornell Rd
Portland, OR 97229


Cedar Park Police Dept
Capitol Area Council 564
911 Quest Pkwy
Cedar Park, TX 78613


Cedar Park Presbyterian Church
Cradle of Liberty Council 525
7740 Limekiln Pike
Philadelphia, PA 19150


Cedar Park Rotary Club
Capitol Area Council 564
P.O. Box 1446
Cedar Park, TX 78630
Cedar Park Utd Methodist Church
Capitol Area Council 564
600 W Park St
Cedar Park, TX 78613


Cedar Point Elementary School
National Capital Area Council 082
12601 Braemar Pkwy
Bristow, VA 20136


Cedar Rapids Police Dept
Hawkeye Area Council 172
505 1st St Sw
Crime Prevention
Cedar Rapids, IA 52404


Cedar Ridge PTA
Indian Nations Council 488
9817 S Mingo Rd
Tulsa, OK 74133


Cedar Ridge PTA
Utah National Parks 591
4501 W Cedar Hills Dr
Cedar Hills, UT 84062


Cedar Spgs Parent Teacher Organizaiton
Greater St Louis Area Council 312
6992 Rivermont Trl
House Springs, Mo 63051


Cedar Springs Lions Club
President Gerald R Ford 781
19 N Main St
Cedar Springs, MI 49319


Cedar Springs Rotary Club
President Gerald R Ford 781
P.O. Box 73
Cedar Springs, MI 49319


Cedar Springs Utd Methodist Church
President Gerald R Ford 781
P.O. Box K
Cedar Springs, MI 49319


Cedar St Printing
123 W Cedar St
Trinidad, CO 81082


Cedar Union Church
Minsi Trails Council 502
3419 Broadway
Allentown, PA 18104


Cedar Valley Alumni Assoc
Quapaw Area Council 018
1400 Neville St
Jonesboro, AR 72401


Cedar Wood Parents Group
Mount Baker Council, Bsa 606
15825 34th Ave Se
Mill Creek, WA 98012


Cedarburg Fire Dept
Bay‐Lakes Council 635
P.O. Box 327
Cedarburg, WI 53012


Cedar‐East Bethel Lions
Northern Star Council 250
Cedar Mn
Cedar, MN 55011


Cedartown Police Dept
c/o Capt Greg Cooper
301 Victoria Ave
Cedartown, GA 30125


Cedartown Police Dept
Northwest Georgia Council 100
118 N Philpot St
Cedartown, GA 30125
Cedarville Utd Methodist Church
Chester County Council 539
1092 Laurelwood Rd
Pottstown, PA 19465


Cedarville Utd Presbyterian Church
Tecumseh 439
P.O. Box 52
Cedarville, OH 45314


Cedric Bodley
Address Redacted


Cedric Bradford Fund
Greater Higher Ground Ministries
4175 Moat Dr
Winston‐Salem, NC 27101


Ceg Tek International
8605 Santa Monica Blvd 23722
Los Angeles, CA 90069‐4109


Cehr, LLC
Attn Accounts Receivable Supervisor
P.O. Box 102358
Atlanta, GA 30368‐2359


Cei Subrogation Services
4850 E St Rd, Ste 220
Trevose, PA 19053


Celartem Inc
1800 SW 1st Ave, Ste 500
Portland, OR 97201


Celebration Church
Baltimore Area Council 220
7101 Riverwood Dr
Columbia, MD 21046
Celebration Covenant Church
Mid‐America Council 326
16868 Giles Rd
Omaha, NE 68136


Celebration Lutheran Church
Central Minnesota 296
1500 Pine Cone Rd
Sartell, MN 56377


Celebration Rotary Club
Central Florida Council 083
P.O. Box 470232
Celebration, FL 34747


Celebration Utd Methodist Church
Anthony Wayne Area 157
1289 S 250 E
Winona Lake, IN 46590


Celebration Utd Methodist Church
North Florida Council 087
9501 SW Archer Rd
Gainesville, FL 32608


Celebration Utd Methodist Church
Sioux Council 733
500 N Pasque Flower Trl
Brandon, SD 57005


Celebrity Enterprises Inc
dba the Pink Flamingos
137 Saddle Spur Trail
Tijeras, NM 87059


Celerity Woodmere Charter School
Southeast Louisiana Council 214
3191 Alex Kornman Blvd
Harvey, LA 70058


Celeste A Reyes Ramirez
Address Redacted


Celeste Rone‐Moss
Address Redacted


Celia Reiner
Address Redacted


Celidah Porter
Address Redacted


Celina First Baptist Church
Middle Tennessee Council 560
P.O. Box 690
Celina, TN 38551


Cella Consulting LLC
4350 E W Hwy, Ste 307
Bethesda, MD 20814‐2743


Cellhire Usa, LLC
3520 W Miller Rd, Ste 100
Garland, TX 75041


Cendien
P.O. Box 17077
Carrollton, TX 75011


Centaur Forge LLC
117 N Psring St
Burlington, WI 53105


Centenary Methodist Church
East Carolina Council 426
309 New St
New Bern, NC 28560


Centenary Utd Methodist Church
Abraham Lincoln Council 144
331 E State St
Jacksonville, IL 62650


Centenary Utd Methodist Church
Blue Grass Council 204
1441 Perryville Rd
Danville, KY 40422


Centenary Utd Methodist Church
Blue Grass Council 204
2800 Tates Creek Rd
Lexington, KY 40502


Centenary Utd Methodist Church
Coastal Carolina Council 550
672 Gaillard Rd
Moncks Corner, SC 29461


Centenary Utd Methodist Church
Cornhusker Council 324
608 Elk St
Beatrice, NE 68310


Centenary Utd Methodist Church
Del Mar Va 081
200 W Market St
Laurel, DE 19956


Centenary Utd Methodist Church
East Carolina Council 426
P.O. Box 1388
309 New St
New Bern, NC 28563


Centenary Utd Methodist Church
Heart of Virginia Council 602
350 N Marshall St
Chase City, VA 23924


Centenary Utd Methodist Church
Istrouma Area Council 211
1015 Cleveland St
Franklinton, LA 70438
Centenary Utd Methodist Church
Old Hickory Council 427
646 W 5th St
Winston Salem, NC 27101


Centenary Utd Methodist Church
Old N State Council 070
2300 W Friendly Ave
Greensboro, NC 27403


Centenary Utd Methodist Church
Patriots Path Council 358
200 Hillside Ave
Metuchen, NJ 08840


Centenary Utd Methodist Church
Pine Tree Council 218
113 Dr Mann Rd
Skowhegan, ME 04976


Centenary Utd Methodist Church
Simon Kenton Council 441
2048 Denune Ave
Columbus, OH 43211


Centenial Hills Ymca
Las Vegas Area Council 328
8056 Broken Spur Ln
Las Vegas, NV 89131


Centennial Ame Zion Church
Westchester Putnam 388
114 W 4th St
Mount Vernon, NY 10550


Centennial Clearbrook LLC
dba Century Clearbrook
6450 Mercantile Dr E
Frederick, MD 21703
Centennial Elem School Booster Assn
Pacific Harbors Council, Bsa 612
2637 45th Ave Se
Olympia, WA 98501


Centennial Evangelical Lutheran Church
Chester County Council 539
1330 Hares Hill Rd
Kimberton, PA 19442


Centennial Gun Club
Denver Area Council 061
11800 E Peakview Ave
Centennial, CO 80111


Centennial K‐8
Denver Area Council 061
4665 Raleigh St
Denver, CO 80212


Centennial Lodge 326
Mid‐America Council 326
2424 S 135th Ave
Omaha, NE 68144


Centennial Lutheran Church
Denver Area Council 061
3595 W Belleview Ave
Englewood, CO 80110


Centennial Moisture Control Inc
1780 Hurd Dr
Irving, TX 75038‐4324


Centennial PTO
Northern Lights Council 429
2800 Ithica Dr
Bismarck, ND 58503


Centennial Utd Methodist Church
Heart of America Council 307
1834 Woodland Ave
Kansas City, MO 64108


Centennial Utd Methodist Church
Northern Star Council 250
1524 County Rd C2 W
Roseville, MN 55113


Centennial Utd Methodist Church
St. Anthony Park
Northern Star Council 250
2200 Hillside Ave
Saint Paul, Mn 55108


Center Barnstead Fire Co
Daniel Webster Council, Bsa 330
P.O. Box 117
Barnstead, NH 03218


Center Cass School District 66
Pathway To Adventure 456
699 Plainfield Rd
Downers Grove, IL 60516


Center Congregational Church
Connecticut Rivers Council, Bsa 066
11 Center St
Manchester, CT 06040


Center Congregational Church
Connecticut Rivers Council, Bsa 066
155 Main St
Torrington, CT 06790


Center Counseling LLC
265 E Chubbuck Rd
Chubbuck, ID 83202‐5055


Center Creek Repair
Twin Valley Council Bsa 283
3062 160th St
Granada, MN 56039
Center For Coaching And Mentoring Inc
1830 Glynnwood Dr
Bartlesville, OK 74006


Center For Coaching And Mentoring Inc
5927 Martin Ln
Bartlesville, OK 74006


Center For Creative Leadership
1 Leadership Pl
Greensboro, NC 27410


Center For Culinary Arts Manila
287 Katipunan Ave
Loyola Heights Qc
Philippines


Center For Great Apes
P.O. Box 488
Wauchula, FL 33873


Center For Inquiry 2 After School
Crossroads of America 160
725 N New Jersey St
Indianapolis, IN 46202


Center For Inquiry 327 Ptsa
Crossroads of America 160
545 E 19th St
Indianapolis, IN 46202


Center For Inquiry 70
Crossroads of America 160
510 E 46th St
Indianapolis, IN 46205


Center For Leadership Studies Inc
280 Towerview Ct
Cary, NC 27513
Center For Learning After School Mcnair
Pacific Skyline Council 031
2033 Pulgas Ave
East Palo Alto, CA 94303


Center For Management Research Inc
134 Rumford Ave, Ste 202
Newton, MA 02466


Center For Nonprofit Management
2902 Floyd St
Dallas, TX 75204‐5910


Center For Professional Excellence
1010 E Mission Ave
Phoenix, AZ 85014


Center For Sharing
Blue Mountain Council 604
3525 E A St
Pasco, WA 99301


Center For Spiritual Living
North Florida Council 087
1795 Old Moultrie Rd
St Augustine, FL 32084


Center For Spiritual Living
Verdugo Hills Council 058
4845 Dunsmore Ave
La Crescenta, CA 91214


Center For Urban Research Ed And Trn
Connecticut Rivers Council, Bsa 066
1443 Albany Ave
Hartford, CT 06112


Center For Youth    School 106
Seneca Waterways 397
279 W Ridge Rd
Rochester, NY 14615
Center For Youth At School 45
Seneca Waterways 397
1445 Clifford Ave
Rochester, NY 14621


Center For Youth In Conservation
Great Swest Council 412
2359 Ruta Corta St
Santa Fe, NM 87507


Center Grove Middle School North
Crossroads of America 160
202 N Morgantown Rd
Greenwood, IN 46142


Center Moreland Utd Methodist Church
Northeastern Pennsylvania Council 501
1244 Sr 292 E
Tunkhannock, PA 18657


Center Moriches Fire Dept
Suffolk County Council Inc 404
301 Main St
Center Moriches, NY 11934


Center Moriches Watchdog Commty
Assoc Inc
Suffolk County Council Inc 404
P.O. Box 36
Center Moriches, Ny 11934


Center Point Construction
Trapper Trails 589
P.O. Box 387
Morgan, UT 84050


Center Point Fire/Rescue Dept
Greater Alabama Council 001
P.O. Box 9651
Birmingham, AL 35220
Center Point Lions
Hawkeye Area Council 172
P.O. Box 444
Center Point, IA 52213


Center Point Utd Baptist Church
Buckskin 617
P.O. Box 389
West Hamlin, WV 25571


Center Pointe Church
Central Florida Council 083
9580 Curry Ford Rd
Orlando, FL 32825


Center Road Church Of Christ
Sagamore Council 162
899 W 300 S
Kokomo, IN 46902


Center School PTO
The Spirit of Adventure 227
18 Irving St
Peabody, MA 01960


Center Sports, Inc
316 10th St
Worthington, MN 56187‐2316


Center Street PTA
c/o 195 Capitol Ave
Theodore Roosevelt Council 386
Williston Park, NY 11596


Center That Cares
Laurel Highlands Council 527
2701 Centre Ave
Pittsburgh, PA 15219


Center Township Fire Dept
Hoosier Trails Council 145 145
199 S State Rd 45
Bloomfield, IN 47424


Center Twp. Vfd No 36
Laurel Highlands Council 527
115 Trinity Dr
St. Frances Cabrini Parish
Aliquippa, PA 15001


Center Utd Methodist Church
Central N Carolina Council 416
1119 Union St S
Concord, NC 28025


Center Utd Methodist Church
Muskingum Valley Council, Bsa 467
11026 Cadiz Rd
Cambridge, OH 43725


Center Utd Methodist Church
Northeast Georgia Council 101
7641 Jackson Trail Rd
Hoschton, GA 30548


Center Utd Methodist Church
Old N State Council 070
1847 U S Hwy 64 N
Mocksville, NC 27028


Center Utd Methodist Church
Old N State Council 070
P.O. Box 179
Welcome, NC 27374


Center Utd Methodist Church
Piedmont Council 420
4945 Sherrills Ford Rd
Catawba, NC 28609


Centerburg Church Of Christ
Muskingum Valley Council, Bsa 467
3830 Columbus Rd
Centerburg, OH 43011
Centerburg Utd Methodist Church
Muskingum Valley Council, Bsa 467
23 Church St
Centerburg, OH 43011


Centergas
P.O. Box 15000
Amarillo, TX 79105


Centerline Pelorus LLC
National Capital Area Council 082
12539 Homestead Dr
Nokesville, VA 20181


Centerpoint Church
California Inland Empire Council 045
24470 Washington Ave
Murrieta, CA 92562


Centerpoint Energy
1111 Louisiana St
Houston, TX 77002


Centerpoint Energy
P.O. Box 1297
Minneapolis, MN 55440‐1297


Centerpoint Energy
P.O. Box 4671
Houston, TX 77210‐4671


Centerport Fire Dept
Suffolk County Council Inc 404
9 Park Cir
Centerport, NY 11721


Centers For Medicare   Medicaid Services
7500 Security Blvd
Baltimore, MD 21244‐1850
Centerstage Motorsports, LLC
Central N Carolina Council 416
1906 Briarcrest Dr Nw
Charlotte, NC 28269


Centerton 2Nd LDS Ward Troop
Westark Area Council 016
950 Seba Rd
Centerton, AR 72719


Centerton Volunteer Fire Co
Garden State Council 690
64 Dealtown Rd
Pittsgrove, NJ 08318


Centerville Anderson Ymca
Blue Ridge Council 551
201 E Reed Rd
Anderson, SC 29621


Centerville Baptist Church
Tidewater Council 596
908 Centerville Tpke S
South
Chesapeake, VA 23322


Centerville Christian Endeavor Church
The Spirit of Adventure 227
135 Standley St
Beverly, MA 01915


Centerville Community Church
Miami Valley Council, Bsa 444
10688 Dayton Lebanon Pike
Dayton, OH 45458


Centerville Lions Club
St Genevieve Catholic Church
Northern Star Council 250
7087 Goiffon Rd
Centerville, Mn 55038
Centerville Memorial Fire Dept
Iroquois Trail Council 376
P.O. Box 16
Centerville, NY 14029


Centerville P.T.A.
Circle Ten Council 571
600 Keen Dr
Garland, TX 75041


Centerville Police Dept
Miami Valley Council, Bsa 444
155 W Spring Valley Pike
Dayton, OH 45458


Centerville Presbyterian Church
San Francisco Bay Area Council 028
4360 Central Ave
Fremont, CA 94536


Centerville Utd Methodist Church
Central Georgia Council 096
600 N Houston Lake Blvd
Centerville, GA 31028


Centerville Utd Methodist Church
Miami Valley Council, Bsa 444
63 E Franklin St
Centerville, OH 45459


Centext Legal Services
550 W C St, Ste 700
San Diego, CA 92101


Centracomm Communications
Black Swamp Area Council 449
323 S Main St
Findlay, OH 45840


Central Academy Ohio
Erie Shores Council 460
2727 Kenwood Blvd
Toledo, OH 43606


Central Alabama Electric Cooperative
Tukabatchee Area Council 005
P.O. Box 681570
Prattville, AL 36068


Central Bag And Burlap Co
5601 Logan St
Denver, CO 80216‐1301


Central Bank
Northern Star Council 250
304 Cascade St
Osceola, WI 54020


Central Baptist
Indian Nations Council 488
9001 N 145th E Ave
Owasso, OK 74055


Central Baptist Church
Capitol Area Council 564
407 E Eggleston
Manor, TX 78653


Central Baptist Church
East Texas Area Council 585
P.O. Box 1647
Jacksonville, TX 75766


Central Baptist Church
Flint River Council 095
P.O. Box 1221
Newnan, GA 30264


Central Baptist Church
Pee Dee Area Council 552
P.O. Box 253
512 Spring St
Darlington, SC 29540
Central Baptist Church
The Spirit of Adventure 227
9 Academy St
Chelmsford, MA 01824


Central Baptist Church
Tuscarora Council 424
6050 Plain View Hwy
Dunn, NC 28334


Central Baptist Church Youth Committee
Central Florida Council 083
142 Fairview Ave
Daytona Beach, FL 32114


Central CA Hispanic Chamber Commerce
Sequoia Council 027
2331 Fresno St
Fresno, Ca 93721


Central CA Hispanic Chamber Commerce
Sequoia Council 027
764 P St
Fresno, Ca 93721


Central CA Hispanic Chamber Commerce
Sequoia Council 027
764 P St 106
Fresno, Ca 93721


Central Calaveras Fire And Rescue
Greater Yosemite Council 059
19927 Jesus Maria Rd
Mokelumne Hill, CA 95245


Central Catholic School
Crossroads of America 160
1155 Cameron St
Indianapolis, IN 46203
Central Chesterfield Ruritan Club
Heart of Virginia Council 602
2230 Gray Oak Dr
N Chesterfield, VA 23236


Central Christian Church
Anthony Wayne Area 157
500 Macgahan St
Huntington, IN 46750


Central Christian Church
Buckeye Council 436
407 N Market St
Wooster, OH 44691


Central Christian Church
Cimarron Council 474
1111 W Broadway Ave
Enid, OK 73703


Central Christian Church
Crossroads of America 160
800 N Central Ave
Connersville, IN 47331


Central Christian Church
Crossroads of America 160
923 Jackson St
Anderson, IN 46016


Central Christian Church
Grand Canyon Council 010
933 N Lindsay Rd
Mesa, AZ 85213


Central Christian Church
Grand Teton Council 107
918 E Center St
Pocatello, ID 83201


Central Christian Church
Greater St Louis Area Council 312
1420 Illini Dr
O Fallon, IL 62269


Central Christian Church
Hoosier Trails Council 145 145
P.O. Box 402
Seymour, IN 47274


Central Christian Church
Ozark Trails Council 306
1475 N Washington Ave
Springfield, MO 65802


Central Christian Church
Sequoyah Council 713
424 Melrose St
Bristol, TN 37620


Central Christian Church
Simon Kenton Council 441
1541 S 7th St
Ironton, OH 45638


Central Christian Church
Westark Area Council 016
400 N Waldron Rd
Fort Smith, AR 72903


Central Church Of Christ
Lincoln Heritage Council 205
P.O. Box 1162
Benton, KY 42025


Central Church Of Christ
Texas Swest Council 741
402 Cantu Rd
Del Rio, TX 78840


Central Church Of The Nazarene
Indian Nations Council 488
7291 E 81st St
Tulsa, OK 74133
Central City Elks Lodge 557
Denver Area Council 061
113 Main St
Central City, CO 80427


Central City Fire Dept
Hawkeye Area Council 172
P.O. Box 165
Central City, IA 52214


Central Civitan
Middle Tennessee Council 560
P.O. Box 45
275 Hwy 13
Cunningham, TN 37052


Central Civitan Club
Middle Tennessee Council 560
P.O. Box 54
Cunningham, TN 37052


Central Coast Exchange Club
Los Padres Council 053
P.O. Box 1163
Grover Beach, CA 93483


Central College
Attn Alicia Grubb
812 University
Pella, IA 50219


Central College Presbyterian Church
Simon Kenton Council 441
975 S Sunbury Rd
Westerville, OH 43081


Central Congregational Church
Narragansett 546
296 Angell St
Providence, RI 02906
Central Congregational Church
The Spirit of Adventure 227
1 Worthen St
Chelmsford, MA 01824


Central Courier Corp
12048 Forestgate Dr
Dallas, TX 75243


Central Elem 21St Century
Afterschool Program
Black Warrior Council 006
1510 Dinah Washington Ave
Tuscaloosa, Al 35401


Central Elementary School PTO
Greater St Louis Area Council 312
4525 Central School Rd
Saint Charles, MO 63304


Central Ems
Northeast Georgia Council 101
8460 Wallace Tatum Rd
Cumming, GA 30028


Central Faith Heart Academy
Central Florida Council 083
825 Forrest Ave
Cocoa, FL 32922


Central Fire District
Grand Teton Council 107
697 Annis Hwy
Rigby, ID 83442


Central Florida
1951 S Orange Blossom Trl, Suite 102
Apopka, FL 32703‐7747


Central Florida ‐ Opc
1951 S Orange Blossom Trl Sr441
Apopka, FL 32703


Central Florida Cncl 83
1951 S Orange Blossom Trl, Ste 102
Apopka, FL 32703‐7747


Central Florida Council
P.O. Box 849
Paisley, FL 32767


Central Florida Council ‐ Ron Oats, Se
1951 S Orange Blossom Trl, Ste 102
Apopka, FL 32703


Central Florida Pediatric Therapy Fndn
Central Florida Council 083
P.O. Box 120547
Clermont, Fl 34712


Central Florida Swirl LLC
P.O. Box 195608
Winter Springs, FL 32719‐5608


Central Georgia
4335 Confederate Way
Macon, GA 31217‐4719


Central Georgia Cncl 96
4335 Confederate Way
Macon, GA 31217


Central Hardin High School
Lincoln Heritage Council 205
3040 Leitchfield Rd
Cecilia, KY 42724


Central High School East Jrotc
Black Warrior Council 006
905 15th St
Tuscaloosa, AL 35401
Central High School Jrotc
Pony Express Council 311
2602 Edmond St
Saint Joseph, MO 64501


Central Illinois Black Bear Society
Abraham Lincoln Council 144
P.O. Box 73
Pawnee, IL 62558


Central Jersey Office Equipment, Inc
222 Park Ave
Manalapan, NJ 07726


Central Jersey Solutions LLC
dba Stratus Bldg Solution of Central NJ
4365 Route 1 S
Princeton, NJ 08540


Central Jersey Waste      Recycling
432 Stokes Ave
Ewing, NJ 08638


Central Lane Robotics
Oregon Trail Council 697
2545 Alder St
Eugene, OR 97405


Central Lutheran Church
Chippewa Valley Council 637
28 E Columbia St
Chippewa Falls, WI 54729


Central Lutheran Church
Circle Ten Council 571
1000 Eon Rd
Dallas, TX 75218


Central Lutheran Church
Glaciers Edge Council 620
201 Rollin St
Edgerton, WI 53534


Central Lutheran Church
Mount Baker Council, Bsa 606
925 N Forest St
Bellingham, WA 98225


Central Lutheran Church Of Yakima
Grand Columbia Council 614
1604 W Yakima Ave
Yakima, WA 98902


Central Lutheran School‐Nh
Anthony Wayne Area 157
1400 Elm St
New Haven, IN 46774


Central Macomb Optimist Club
Great Lakes Fsc 272
14412 Edshire Dr
Sterling Heights, MI 48312


Central Maine Medical Center
Pine Tree Council 218
300 Main St
Lewiston, ME 04240


Central Marin Police Authority
Marin Council 035
250 Doherty Dr
Larkspur, CA 94939


Central Methodist Church
Old N State Council 070
P.O. Box 126
Denton, NC 27239


Central Methodist Church
Pee Dee Area Council 552
225 W Cheves St
Florence, SC 29501
Central Methodist Church
President Gerald R Ford 781
222 Cass St
Traverse City, MI 49684


Central Methodist Church
South Georgia Council 098
201 W Central Ave
Fitzgerald, GA 31750


Central Michigan University
Attn Judith Boyd
Office of Scholarships   Financial Aid
Mount Pleasant, MI 48859


Central Minnesota
1191 Scout Dr
Sartell, MN 56377


Central Minnesota Cncl 296
1191 Scout Dr
Sartell, MN 56377


Central Nassau Rotary Club
Theodore Roosevelt Council 386
P.O. Box 15
West Hempstead, NY 11552


Central New Jersey Cncl 352
3255 Gloucester Dr
Bethlehem, PA 18020‐1351


Central New Jersey Ss ‐ Opc
2245 Rt 130 S, Ste 106
Dayton, NJ 08810


Central New Mexico Community College
Business OfficeAttn    Tracy Parker
P.O. Box 4586
Albuquerque, NM 87196‐4586
Central North Carolina
P.O. Box 250
Albemarle, NC 28002‐0250


Central North Carolina Cncl 416
32252 Hwy 24‐27
P.O. Box 250
Albamarle, NC 28002‐0250


Central Ohio Wholesalers Kamper City
5549 Akron Cleveland Rd
Peninsula, OH 44264


Central Parent Supp Grp Special Needs
Buffalo Trace 156
5400 N 1St Ave
Evansville, In 47710


Central Park Clc
Mid‐America Council 326
4904 N 42nd St
Omaha, NE 68111


Central Park Elementary PTO
Water and Woods Council 782
1400 Rodd St
Midland, MI 48640


Central Park PTA
Greater Alabama Council 001
4915 Ave Q
Birmingham, AL 35208


Central Park School
Patriots Path Council 358
5 Jean St
Morristown, NJ 07960


Central Pathfinder Club
National Capital Area Council 082
P.O. Box 6636
St Croix, VI 00823


Central Piedmont Commuity College Dental
Mecklenburg County Council 415
3210 Cpcc Harris Campus Dr
Charlotte, NC 28208


Central Piedmont Community College
Mecklenburg County Council 415
1609 Alleghany St
Charlotte, NC 28208


Central Pierce Fire And Rescue
Pacific Harbors Council, Bsa 612
17520 22nd Ave E
Tacoma, WA 98445


Central Point Police Dept
Crater Lake Council 491
155 S 2nd St
Central Point, OR 97502


Central Point PTO
Crater Lake Council 491
450 S 4th St
Central Point, OR 97502


Central Presbyterian
Blue Ridge Council 551
1404 N Blvd
Anderson, SC 29621


Central Presbyterian Church
Abraham Lincoln Council 144
210 W Douglas Ave
Petersburg, IL 62675


Central Presbyterian Church
Blue Ridge Council 551
1404 N Blvd
Anderson, SC 29621
Central Presbyterian Church
Chester County Council 539
100 W Uwchlan Ave
Downingtown, PA 19335


Central Presbyterian Church
Iroquois Trail Council 376
31 Center St
Geneseo, NY 14454


Central Presbyterian Church
Sagamore Council 162
31 N 7th St
Lafayette, IN 47901


Central Presbyterian Church
South Florida Council 084
12455 SW 104th St
Miami, FL 33186


Central Presbyterian Church
Westark Area Council 016
2901 Rogers Ave
Fort Smith, AR 72901


Central Printing
P.O. Box 552
Mabscott, WV 25871


Central Private School
Istrouma Area Council 211
12801 Centerra Ct
Baker, LA 70714


Central PTO
W D Boyce 138
1301 Eagle Ave
Washington, IL 61571


Central Radio Co Inc
P.O. Box 6348
1083 W 39th St
Norfolk, VA 20508


Central Rec Center
Baltimore Area Council 220
1201 N Rosedale St
Baltimore, MD 21216


Central Receipting     Disbursement Unit
P.O. Box 4301
Jackson, MS 39296


Central Region Opc
P.O. Box 3085
Naperville, IL 60566‐7085


Central Region,Bsa
P.O. Box 3085
Naperville, IL 60566


Central Restaurant
P.O. Box 78070
Indianapolis, IN 46278‐0070


Central Schwenkfelder Church
Cradle of Liberty Council 525
P.O. Box 67
2111 Valley Forge Rd
Worcester, PA 19490


Central Square Congregational Church
Mayflower Council 251
71 Central Sq
Bridgewater, MA 02324


Central Square Lions Club
Longhouse Council 373
P.O. Box 406
Central Square, NY 13036


Central Square Vol Fire Co 1
Longhouse Council 373
Main St
Central Square, NY 13036


Central Steel Service Inc
P.O. Box 1506
Pelham, AL 35124


Central Steele Creek Presbyterian Church
Mecklenburg County Council 415
9401 S Tryon St
Charlotte, NC 28273


Central Supply Co
P.O. Box 741866
Atlanta, GA 30374‐1866


Central Synagogue Of Nassau County
Theodore Roosevelt Council 386
430 Demott Ave
Rockville Centre, NY 11570


Central Texas Amvets Post 115
Capitol Area Council 564
P.O. Box 21
Kyle, TX 78640


Central Union Church
Aloha Council, Bsa 104
1660 S Beretania St
Honolulu, HI 96826


Central Utd Church Of Christ
Great Rivers Council 653
118 W Ashley St
Jefferson City, MO 65101


Central Utd Meth Church Mens Club
Central N Carolina Council 416
P.O. Box 428
Albemarle, NC 28002
Central Utd Methodist Ch Mens Club
Jersey Shore Council 341
5 Marvin Ave
Linwood, Nj 08221


Central Utd Methodist Church
Andrew Jackson Council 303
500 N Farish St
Jackson, MS 39202


Central Utd Methodist Church
Blue Ridge Mtns Council 599
803 Wadsworth St
Radford, VA 24141


Central Utd Methodist Church
Buckskin 617
1043 Jefferson Ave
Huntington, WV 25704


Central Utd Methodist Church
Choctaw Area Council 302
1004 23rd Ave
Meridian, MS 39301


Central Utd Methodist Church
Crossroads of America 160
1425 E Main St
Richmond, IN 47374


Central Utd Methodist Church
Daniel Boone Council 414
27 Church St
Asheville, NC 28801


Central Utd Methodist Church
Golden Spread Council 562
517 Rock Island Ave
Dalhart, TX 79022


Central Utd Methodist Church
Great Smoky Mountain Council 557
301 Hickory Creek Rd
Lenoir City, TN 37771


Central Utd Methodist Church
Great Smoky Mountain Council 557
994 Main St
Bean Station, TN 37708


Central Utd Methodist Church
Great Swest Council 412
201 University Blvd Ne
Albuquerque, NM 87106


Central Utd Methodist Church
Greater St Louis Area Council 312
112 N Range St
P.O. Box 58
Oblong, IL 62449


Central Utd Methodist Church
Heart of America Council 307
5144 Oak St
Kansas City, MO 64112


Central Utd Methodist Church
Heart of Virginia Council 602
1211 Porter St
Richmond, VA 23224


Central Utd Methodist Church
Mid Iowa Council 177
201 N Market St
Oskaloosa, IA 52577


Central Utd Methodist Church
Mount Baker Council, Bsa 606
1013 Polte Rd
Sedro Woolley, WA 98284


Central Utd Methodist Church
Mountaineer Area 615
301 Fairmont Ave
Fairmont, WV 26554


Central Utd Methodist Church
Old Hickory Council 427
1909 N Main St
Mount Airy, NC 27030


Central Utd Methodist Church
Pathway To Adventure 456
8237 Kenton Ave
Skokie, IL 60076


Central Utd Methodist Church
Pee Dee Area Council 552
P.O. Box 87
Florence, SC 29503


Central Utd Methodist Church
Piedmont Council 420
113 S Piedmont Ave
Kings Mountain, NC 28086


Central Utd Methodist Church
Piedmont Council 420
200 E Marion St
Shelby, NC 28150


Central Utd Methodist Church
Piedmont Council 420
214 N Academy St
Mooresville, NC 28115


Central Utd Methodist Church
Pikes Peak Council 060
4373 Galley Rd
Colorado Springs, CO 80915


Central Utd Methodist Church
President Gerald R Ford 781
222 Cass St
Traverse City, MI 49684
Central Utd Methodist Church
South Georgia Council 098
210 W Central Ave
Fitzgerald, GA 31750


Central Utd Methodist Church
Westark Area Council 016
2535 W New Hope Rd
Rogers, AR 72758


Central Utd Methodist Church
Westark Area Council 016
6 E Dickson St
Fayetteville, AR 72701


Central Utd Methodist Ch‐Waterford
Great Lakes Fsc 272
3882 Highland Rd
Waterford, Mi 48328


Central Utd Protestant Church
Blue Mountain Council 604
1124 Stevens Dr
Richland, WA 99354


Central Valley Medical Center
Utah National Parks 591
48 W 1500 N
Nephi, UT 84648


Central Van    Storage Inc
P.O. Box 626
Poca, WV 25159


Central Ward ‐ LDS Tucson Stake
Catalina Council 011
105 N Norton Ave
Tucson, AZ 85719


Centralia Community Church
Jayhawk Area Council 197
418 Main St
Centralia, KS 66415


Centralia Rotary Club
Great Rivers Council 653
218 W Railroad St
Centralia, MO 65240


Centralville Sportsmens Club
The Spirit of Adventure 227
308 Wheeler Rd
Dracut, MA 01826


Centrastate Healthcare System
Monmouth Council, Bsa 347
901 W Main St
Freehold, NJ 07728


Centre Congregational Church
The Spirit of Adventure 227
5 Summer St
Lynnfield, MA 01940


Centre Learning Communitee Charter Sch
Juniata Valley Council 497
2643 W College Ave
State College, Pa 16801


Centre Life Link Ems, Inc
Juniata Valley Council 497
P.O. Box 272
125 Puddintown Rd
State College, PA 16804


Centre Port Rv
1132 Jefferson Davis Hwy
Fredericksburg, VA 22405


Centre Presbyterian Church
New Birth of Freedom 544
3219 Freeman Hollow Rd
Loysville, PA 17047


Centre Rotary Club
Greater Alabama Council 001
P.O. Box 792
Centre, AL 35960


Centreville Elementary School PTA
National Capital Area Council 082
14330 Green Trails Blvd
Blvd
Centreville, VA 20121


Centreville Presbyterian Church
National Capital Area Council 082
15450 Lee Hwy
Centreville, VA 20120


Centreville Utd Methodist Church
Del Mar Va 081
General Delivery
Centreville, MD 21617


Centreville Utd Methodist Church
National Capital Area Council 082
6400 Old Centreville Rd
Centreville, VA 20121


Centreville Utd Methodist Church
Southern Shores Fsc 783
305 E Main St
Centreville, MI 49032


Centreville Volunteer Fire Dept Inc
National Capital Area Council 082
5856 Old Centreville Rd
Centreville, Va 20121


Centro Cristiano De Restauracion
Puerto Rico Council 661
P.O. Box 754
Cabo Rojo, PR 00623
Centro De Actividades
Familiares Y Escutista
Puerto Rico Council 661
848 Calle Hypolais
Urb Country Club
San Juan, Pr 00924


Centro De Actividades Familia Escutista
Puerto Rico Council 661
Country Club 848
Calle Hypolais
San Juan, PR 00924


Centro Hispano
P.O. Box 8652
Reading, PA 19603


Centurion Inc
dba Ramptech
14891 Persistence Dr
Woodbridge, VA 22191


Century 21 Jim Lively Reality
204 W Maple Ave
P.O. Box 852
Fayetteville, WV 25840


Century Air Inc
19 Wright Way
Fairfield, NJ 07004


Century Novelty
Attn Accounts Receivable
38239 Plymouth Rd
Livonia, MI 48150


Century Place Apparel
P.O. Box 1036
Charlotte, NC 28201
Century Strategies
P.O. Box 47877
Atlanta, GA 30362


Century Tool
232071 Momentum Pl
Chicago, IL 60689‐5320


Century Tool
90 Mcmillen Rd
Antioch, IL 60002


Centurylink
1025 Eldorado Blvd
Broomfield, CO 80021


Centurylink
Business Services
P.O. Box 52187
Phoenix, AZ 85072‐2187


Centurylink
P.O. Box 2348
Seattle, WA 98111‐2348


Centurylink
P.O. Box 29040
Phoenix, AZ 85038‐9040


Centurylink
P.O. Box 91155
Seattle, WA 98111‐9255


Centurylink 2956
100 Centurylink Dr
Monroe, LA 71203


Centurylink 2956
P.O. Box 2956
Phoenix, AZ 85062‐2956
Centurylink 91155
P.O. Box 91155
Seattle, WA 98111‐9255


Cenveo
121 12th Ave S
Minneapolis, MN 55415


Cenveo Corp
P.O. Box 802035
Chicago, IL 60680‐2035


Cenveo San Antonio
P.O. Box 749004
Los Angeles, CA 90065‐1733


Cerebral Palsy Of Westchester
Westchester Putnam 388
1186 King St
Rye Brook, NY 10573


Cerek H Tunca
Address Redacted


Ceres Dept Of Public Safety
Greater Yosemite Council 059
2727 3rd St
Ceres, CA 95307


Ceres Emergency Svcs Explorer Post 452
Greater Yosemite Council 059
2755 3Rd St
Ceres, Ca 95307


Ceres Lions Club
Greater Yosemite Council 059
P.O. Box 562
Ceres, CA 95307


Ceresco Baptist Church
Southern Shores Fsc 783
234 Marshall St
Ceresco, MI 49033


Cerner Corp
P.O. Box 412702
Kansas City, MO 64141


Cerner Healthcare Solutions, Inc
2800 Rockcreek Pkwy
North Kansas City, MO 64117


Cerner Healthcare Solutions, Inc
2800 Rockcreek Pkwy
Kansas City, MO 64117


Cerner Healthcare Solutions, Inc
P.O. Box 959156
St Louis, MO 63195‐9156


Cernochs Custom Caterers
3303 Klosterhoff Rd
Rosenberg, TX 77471


Cerrillos Lodge No 19
Great Swest Council 412
431 Paseo De Peralta
Santa Fe, NM 87501


Cerritos Baptist Church
Greater Los Angeles Area 033
11947 Del Amo Blvd
Cerritos, CA 90703


Cerritos Mission Church
Long Beach Area Council 032
12413 195th St
Cerritos, CA 90703


Cerro Coso Community College
3000 College Heights Blvd
Ridgecrest, CA 93555‐9571


Certain Inc
Dept 3989
P.O. Box 123989
Dallas, TX 75312‐3989


Certain, Inc
75 Hawthorne St, Ste 550
San Francisco, CA 94105


Certain, Inc
Attn Chief Financial Officer
75 Hawthorne St, Ste 550
San Francisco, CA 94105


Certapro Painters Of Aurora
2112 W Galena Blvd, Ste 8
Aurora, IL 60506


Certified Diesel Corp
3641 W State Rd 84
Ft Lauderdale, FL 33312


Certified Elevator Inspection Service
P.O. Box 370
Mineral Wells, WV 26150


Certified Fire Protection
P.O. Box 820791
N. Richland Hills, TX 76182


Certified Horsemanship Assn
1795 Alysheba Way, Ste 7102
Lexington, KY 40509


Certified Service, Inc
P.O. Box 93787
Albuquerque, NM 87199‐3787
Certified Staffing Solutions
737 Columbia Turnpike E11
East Greenbush, NY 12061


Certified Transportation Services Inc
1038 N Custer St
Santa Anna, CA 92701‐3915


Certify Inc
P.O. Box 780965
Philadelphia, PA 19178‐0965


Certiport Inc
1276 S 820 E, Ste 200
American Fork, UT 84003


Cesar Chavez Academy Elementary
Great Lakes Fsc 272
8126 W Vernor Hwy
Detroit, MI 48209


Cesar Chavez College Preparatory School
Simon Kenton Council 441
2400 Mock Rd
Columbus, OH 43219


Cesar Chavez Elem Okcps
Last Frontier Council 480
600 SE Grand Blvd
Oklahoma City, OK 73129


Cesar Chavez Elementary ‐ Gfwar
Longhorn Council 662
3710 Deen Rd
Fort Worth, TX 76106


Cesar Chavez Learning Center
Circle Ten Council 571
1710 N Carroll Ave
Dallas, TX 75204
Cesar Garingan
Address Redacted


Cf Welding Supply, Inc
101801 O/S Hwy
Key Largo, FL 33037


Cfa Dfw
Attn Theresa Cothran, Wiley Investments
6300 Ridglea Pl, Ste 215
Fort Worth, TX 76116


Cfa Institute
P.O. Box 2082
Charlottesville, VA 22902‐2082


Cfc Dimmitt First Assembly
South Plains Council 694
P.O. Box 187
Hereford, TX 79045


Cfesa
2216 W Meadowview Rd, Ste 100
Greensboro, NC 27407


Cfi 84 Ptsa Center For Inquiry
Crossroads of America 160
440 E 57th St
Indianapolis, IN 46220


Cfj Manufacturing
5001 N Freeway, Ste E
Ft Worth, TX 76106


Cfo Publishing
dba Innovation Enterprise Ltd
45 W 45Th, 12th Fl
New York, NY 10036


Cfre International
300 N Washington St, Ste 504
Alexandria, VA 22314


Cfs Logistics
3410 Oak Lake Blvd
Charlotte, NC 28208


Cfs Logistics Group LLC
P.O. Box 2913
Grapevine, TX 76099


Ch Hill Utd Methodist Ch Henderson
Lincoln Heritage Council 205
2601 Us Hwy 60 E
Henderson, Ky 42420


Ch Realty V/Annapolis Hotel Operating LP
dba Win Annapolis
100 Wgate Cir
Annapolis, MD 21401


Ch2M Hill B W West Valley Chbwv
Allegheny Highlands Council 382
9415 Route 219
West Valley, NY 14171


Cha Consulting Inc
Crossroads of America 160
300 S Meridian St
Indianapolis, IN 46225


Cha Southcenter LLC
Doubletree, Ste S Seattle Airport
16500 Scenter Pkwy
Seattle, WA 98188


Chabad Of West Boca
Gulf Stream Council 085
19701 Fl7
Boca Raton, FL 33498


Chabad Of West Boca Raton
Gulf Stream Council 085
19701 State Rd 7
Boca Raton, FL 33498


Chabad Youth Network
4852 Fox Hunt Trail
Boca Raton, FL 33487


Chabot Elementary School Parents Club
San Francisco Bay Area Council 028
19104 Lake Chabot Rd
Castro Valley, CA 94546


Chad David Swenson
Address Redacted


Chad Dillon
Address Redacted


Chad Elmore
Address Redacted


Chad Greer
Address Redacted


Chad Rugh
Address Redacted


Chad S Printing Inc
6436 Hwy 92, Ste 100
Acworth, GA 30102


Chad Schnitzler
Address Redacted


Chad Srader
Address Redacted


Chad Swenson
Address Redacted


Chad Veeser
Address Redacted


Chadbourne Family   Faculty
San Francisco Bay Area Council 028
801 Plymouth Ave
Fremont, CA 94539


Chaddock
Mississippi Valley Council 141 141
205 S 24th St
Quincy, IL 62301


Chadron State College
Financial Aid Office
1000 Main St
Chadron, NE 69337


Chadwick Center
Linda Wilson Registration
Exhibit Coordinator
3020 Childrens Way Mc 5017
San Diego, CA 92123


Chaffee County Sheriffs Office
Rocky Mountain Council 063
P.O. Box 699
641 W 3rd St
Salida, CO 81201


Chaffee Elks Lodge 1810
Greater St Louis Area Council 312
120 E Yoakum Ave
Chaffee, MO 63740


Chaffin Hornor
Address Redacted


Chagall Design Limited
20625 Belshaw
Carson, CA 90746


Chagrin Falls Fire Dept
Lake Erie Council 440
21 W Washington St
Chagrin Falls, OH 44022


Chaires Utd Methodist Church
Suwannee River Area Council 664
9243 Parkhill Rd
Tallahassee, FL 32317


Chalagroup Inc
6949 Buckeye St
Chino, CA 91710


Chalfont Utd Methodist Church
Washington Crossing Council 777
11 Meadowbrook Ln
Chalfont, PA 18914


Challenge Academy
Yucca Council 573
6400 Delta Dr
El Paso, TX 79905


Challenge Designs, Inc
404 Vigil St
Taos, NM 87571


Challenge Preparatory Cub Scout Pack 710
Greater New York Councils, Bsa 640
710 Hartman Ln
Far Rockaway, NY 11691


Challenge Unlimited
Greater St Louis Area Council 312
4452 Industrial Dr
Alton, IL 62002
Chamber Directory Services
P.O. Box 623
Ellendale, TN 38029


Chamber Insurance Agency Services, LLC
100 Exec Dr, Ste 200
West Orange, NJ 07052‐3362


Chamber Of Commerce
Bellville Clearfork
Buckeye Council 436
101 Worshire Rd
Bellville, Oh 44813


Chamberlain College Of Nursing
Greater St Louis Area Council 312
11830 Wline Industrial Dr
Saint Louis, MO 63146


Chamberlayne Baptist Church
Heart of Virginia Council 602
215 Wilkinson Rd
Richmond, VA 23227


Chambers Container Co
Triad Packaging Inc
P.O. Box 1000
Dept 482
Memphis, TN 38148‐0482


Chambers County Sherifs Dept
Three Rivers Council 578
201 N Court St
Anahuac, TX 77514


Chambers Elementary School
Lake Erie Council 440
14305 Shaw Ave
Cleveland, OH 44112


Chambers J English
Address Redacted
Chamblee First Utd Methodist Church
Atlanta Area Council 092
4147 Chamblee Dunwoody Rd
Chamblee, GA 30341


Chameleon Designs LLC
1900 Premier Row
Orlando, FL 32809


Chamisa School Parent Teacher
Great Swest Council 412
301 Meadow Ln
Los Alamos, NM 87544


Champaign County Fire Chiefs Assoc
Prairielands 117
409 E Reynolds St
Tolono, IL 61880


Champaign West Rotary
Prairielands 117
2308 Aspen Dr
Champaign, IL 61821


Champion America Inc
33430 Treasury Ctr
Chicago, IL 60694‐3400


Champion Awards Inc
12175 Folsom Blvd, Ste D
Rancho Cordova, CA 95742


Champion Christian Church
Great Trail 433
151 Center St W
Warren, OH 44481


Champion Courier Inc
P.O. Box 1196
New York, NY 10018‐9998
Champion Exposition Services
Attn Exhibitor Services Dept
139 Campanelli Dr
Middleboro, MA 02346


Champion Forest Baptist Church
Jersey Village
Sam Houston Area Council 576
16518 Jersey Dr
Jersey Village, Tx 77040


Champion Industries Inc
dba Blue Ridge Printing Inc
P.O. Box 2883
Huntington, WV 25728


Champion Truss, Inc
P.O. Box 12402
Albuquerque, NM 87195


Championship Awards, Inc
399 Spotswood Englishtown Rd
Monroe Township, NJ 08831


Chance A Harper
Address Redacted


Chance Matthew Sloan
Address Redacted


Chancellor Avenue School PTA
Northern New Jersey Council, Bsa 333
844 Chancellor Ave
Irvington, NJ 07111


Chances And Services For Youth   Casy
Crossroads of America 160
1101 S 13th St
Terre Haute, IN 47802
Chander Bhalla
Address Redacted


Chandler Allen Jeffcoat
Address Redacted


Chandler Baptist Church
Heart of America Council 307
11401 NE State Route 33
Liberty, MO 64068


Chandler C Jackson V
Address Redacted


Chandler Christian Church
Grand Canyon Council 010
1825 S Alma School Rd
Chandler, AZ 85286


Chandler Elementary School Parent Group
Buffalo Trace 156
401 S Jaycee St
Chandler, IN 47610


Chandler Evangelical Friends Church
Cimarron Council 474
215 N Blaine Ave
Chandler, OK 74834


Chandler Gilbert Community College
7360 E Tahoe Ave
Mesa, AZ 84212


Chandler Police Dept
Circle Ten Council 571
P.O. Box 425
Chandler, TX 75758


Chandler Utd Methodist Church
Grand Canyon Council 010
450 E Chandler Heights Rd
Chandler, AZ 85249


Chandler Video Services Inc
204 Silver Oak Dr
Grapevine, TX 76051


Chandor Rene Martinez
Address Redacted


Chandra W Swanson
Address Redacted


Changent Systems LLC
1209 N Ave, Ste 3
Plano, TX 75074


Changepoint
Great Alaska Council 610
6689 Changepoint Dr
Anchorage, AK 99518


Chanita Farmer
Address Redacted


Channahon Utd Methodist Church
Rainbow Council 702
24751 W Eames St
Channahon, IL 60410


Channel Craft   Dist Inc
P.O. Box 101
601 Monongahela Ave
N. Charleroi, PA 15022


Channel Craft   Dist Inc
P.O. Box 101
N Charleroi, PA 15022


Channing Bete Co
Amer Heart Assoc Fulfillment Ctr
One Community Pl
South Deerfield, MA 01373‐0200


Channing Johnson Photography
36 Glen St
Melrose, MA 02176


Channing L Bete Co Inc
P.O. Box 84‐5897
Boston, MA 02284‐5897


Channing L Bete Co, Inc
P.O. Box 3538
South Deerfield, MA 01373‐3538


Chaparral Christian Church
Grand Canyon Council 010
6451 E Shea Blvd
Scottsdale, AZ 85254


Chaparral Concerned Parents
Ore‐Ida Council 106 ‐ Bsa 106
1155 N Deer Creek Ln
Meridian, ID 83642


Chapel By The Lake
Great Alaska Council 610
11024 Auke Lake Way
Juneau, AK 99801


Chapel By The Sea Presbyterian
Southwest Florida Council 088
100 Chapel St
Fort Myers Beach, FL 33931


Chapel Hedges
Simon Kenton Council 441
15495 Winchester Rd
Ashville, OH 43103
Chapel Hill Academy
Patriots Path Council 358
31 Chapel Hill Rd
Lincoln Park, NJ 07035


Chapel Hill Bible Church
Occoneechee 421
260 Erwin Rd
Chapel Hill, NC 27514


Chapel Hill Lions Club
Middle Tennessee Council 560
P.O. Box 212
Chapel Hill, TN 37034


Chapel Hill Presbyterian Church
Heart of America Council 307
3108 SW US Hwy 40
Blue Springs, MO 64015


Chapel Hill Presbyterian Church
Pacific Harbors Council, Bsa 612
7700 Skansie Ave
Gig Harbor, WA 98335


Chapel Hill Utd Church Of Christ
New Birth of Freedom 544
701 Poplar Church Rd
Camp Hill, PA 17011


Chapel Hill Utd Methodist Church
Crossroads of America 160
963 N Girls School Rd
Indianapolis, IN 46214


Chapel Hill Utd Methodist Church
Last Frontier Council 480
2717 W Hefner Rd
Oklahoma City, OK 73120


Chapel Hill Utd Methodist Church
Middle Tennessee Council 560
P.O. Box 246
Chapel Hill, TN 37034


Chapel Hill Utd Methodist Church
Mountaineer Area 615
88 S Kanawha St
Buckhannon, WV 26201


Chapel Hill Utd Methodist Church
President Gerald R Ford 781
14591 Fruit Ridge Ave
Kent City, MI 49330


Chapel Hill Utd Methodist Church
Quivira Council, Bsa 198
1550 N Chapel Hill St
Wichita, KS 67206


Chapel Hill Utd Methodist Church
Southern Shores Fsc 783
157 Chapel Hill Dr
Battle Creek, MI 49015


Chapel Hill Utd Methodist Church
Southern Shores Fsc 783
7028 Oakland Dr
Portage, MI 49024


Chapel Of The Centurion
Colonial Virginia Council 595
P.O. Box 3461
Hampton, VA 23663


Chapel Run Breakout Center
Atlanta Area Council 092
4522 Snapfinger Woods Dr
Decatur, GA 30035


Chapel Street Congregational Church
Narragansett 546
185 Chapel St
Lincoln, RI 02865
Chapel Utd Methodist Church
c/o Ann Jackson
Mid Iowa Council 177
1310 220th St
Garwin, IA 50632


Chapel Utd Methodist Church
Lake Erie Council 440
2019 Hubbard Rd
Madison, OH 44057


Chapelside Cleveland Academy
Lake Erie Council 440
3845 E 131st St
Cleveland, OH 44120


Chapelwood Utd Methodist Church
Sam Houston Area Council 576
11140 Greenbay St
Houston, TX 77024


Chapin Church Of Jesus Christ LDS
Indian Waters Council 553
7499 Broad River Rd
Irmo, SC 29063


Chapin Police Dept
Indian Waters Council 553
157 Nwest Columbia Ave
Chapin, SC 29036


Chaplain Charles J Watters School 24
Northern New Jersey Council, Bsa 333
220 Virginia Ave
Jersey City, NJ 07304


Chaple Hill Utd Methodist Church
Northwest Georgia Council 100
1818 Kingston Hwy Se
Rome, GA 30161
Chaplin Elementary School PTO
Connecticut Rivers Council, Bsa 066
240 Palmer Rd
Chaplin, CT 06235


Chapman Men S Bible Class
Yocona Area Council 748
P.O. Box 854
Tupelo, MS 38802


Chapman‐Belter American Legion Post 4
Samoset Council, Bsa 627
604 Alfred St
Athens, WI 54411


Chappaqua Troop 1 Parents Assoc
Westchester Putnam 388
5 Boulder Trl
Chappaqua, NY 10514


Chapter 442 Cfli
Narragansett 546
613 Dartmouth Woods Dr
Dartmouth, MA 02747


Chapter 7 Greater Little Rock Dav
Quapaw Area Council 018
109 S 2nd St
Jacksonville, AR 72076


Chapter C Special Forces Assoc
Occoneechee 421
P.O. Box 72908
Fort Bragg, NC 28307


Character Education Partnership
dba Characterorg
1432 K St Nw, Ste 800
Washington, DC 20005


Chardon Utd Methodist Church
Lake Erie Council 440
515 N St
Chardon, OH 44024


Charitable Gift Planning News
P.O. Box 551606
Dallas, TX 75355‐1606


Charitable Realty
Circle Ten Council 571
1601 Clover Ln
Fort Worth, TX 76107


Charity Call
Address Redacted


Charity Church Ministries
Crossroads of America 160
2697 W 10th St
Indianapolis, IN 46222


Charity Drabik
Address Redacted


Charity Foundation Inc
Grand Canyon Council 010
1423 S Higley Rd, Ste 127
Mesa, AZ 85206


Charity Runs Inc
Norwela Council 215
165 Ann St
Natchitoches, LA 71457


Charity Utd Methodist Church
Tidewater Council 596
4080 Charity Neck Rd
Virginia Beach, VA 23457


Charlean Mahon
Address Redacted
Charlene Angle
Address Redacted


Charlene Burgess
Address Redacted


Charlene Etgen
Address Redacted


Charlene Harter
Address Redacted


Charlene Morgan
Address Redacted


Charlene Oldenburg
Address Redacted


Charlene Saravia
Address Redacted


Charleroi Masonic Lodge
Laurel Highlands Council 527
640 Mckean Ave
Charleroi, PA 15022


Charles A Bissell
Address Redacted


Charles A Rohrbacher
Address Redacted


Charles Ainsworth
Address Redacted


Charles Aman
Address Redacted
Charles Anderson
Address Redacted


Charles Andrew Gray
Address Redacted


Charles Apgar
Address Redacted


Charles Arbogast
Address Redacted


Charles Ball
Address Redacted


Charles Barber
Address Redacted


Charles Barth
Address Redacted


Charles Beatty
Address Redacted


Charles Bickerstaff
Address Redacted


Charles Black Recreation Center
Lasalle Council 165
3419 W Washington St
South Bend, IN 46619


Charles Boothe
Address Redacted


Charles Bossert
Address Redacted
Charles Bower
Address Redacted


Charles Bowles
Address Redacted


Charles Bramlett
Address Redacted


Charles Brasfeild
Address Redacted


Charles Brown
Address Redacted


Charles Browne
Address Redacted


Charles Brumback Jr
Address Redacted


Charles Brunal
Address Redacted


Charles Butts
Address Redacted


Charles Chase
Address Redacted


Charles Cicchella
Address Redacted


Charles Clark
Address Redacted
Charles Coates Jr
Address Redacted


Charles Conard
Address Redacted


Charles Cooper Jr
Address Redacted


Charles Copeland
Address Redacted


Charles County Sheriff S Office
National Capital Area Council 082
P.O. Box 189
La Plata, MD 20646


Charles Crawford
Address Redacted


Charles Custer
Address Redacted


Charles D Jageler AL Post 42
Longhorn Council 662
P.O. Box 1076
Gatesville, Tx 76528


Charles D Lodger 35 American Legion
W D Boyce 138
P.O. Box 259
Glasford, IL 61533


Charles Denis
Address Redacted


Charles Dicarlo
Address Redacted
Charles Dulaney
Address Redacted


Charles E Fournier
Address Redacted


Charles E Gerlach Phd    Assoc Inc
4700 Reed Rd, Ste C
Columbus, OH 43220


Charles E Kehoe
Address Redacted


Charles E Saunders
Address Redacted


Charles Eaton
Address Redacted


Charles Edward Nix Iii
Address Redacted


Charles Evans Elementary School
Arbuckle Area Council 468
P.O. Box 1709
Ardmore, OK 73402


Charles Eyre American Legion Post 633
Simon Kenton Council 441
P.O. Box 190
Seaman, OH 45679


Charles Ezell Jr
Address Redacted


Charles F Hard Elementary PTA
Greater Alabama Council 001
2801 Arlington Ave
Bessemer, AL 35020
Charles F Mccalley
Address Redacted


Charles Flowers
Address Redacted


Charles Forsyth
Address Redacted


Charles Frieman
Address Redacted


Charles Fults
Address Redacted


Charles G Allgood
Address Redacted


Charles G Duran
Address Redacted


Charles George Companies Inc
P.O. Box 857
Londonberry, NH 03053


Charles Goff
Address Redacted


Charles Gray
Address Redacted


Charles Greene Ii
Address Redacted


Charles Griffiths Ii
Address Redacted
Charles Gronau
Address Redacted


Charles H Enloe
Address Redacted


Charles H Eyre American Legion Post 633
Simon Kenton Council 441
P.O. Box 190
17825 Sr 247
Seaman, OH 45679


Charles H Fox
Address Redacted


Charles H Smith
Address Redacted


Charles H Tekverk
Address Redacted


Charles Hanchey
Address Redacted


Charles Harbin
Address Redacted


Charles Harklerode
Address Redacted


Charles Harvey
Address Redacted


Charles Herrera
Address Redacted


Charles Hiebler Jr
Address Redacted
Charles Holmes Sr
Address Redacted


Charles Holscher
Address Redacted


Charles Hornung
Address Redacted


Charles Howard Jr
Address Redacted


Charles Howard‐Gibbon
Address Redacted


Charles Huffman
Address Redacted


Charles Huse
Address Redacted


Charles J Botti
Address Redacted


Charles J Fulton AL Post 382
Water And Woods Council 782
1322 Clinton Ave
Saint Clair, Mi 48079


Charles J Kinsler
Address Redacted


Charles James Keener
Address Redacted


Charles Jaxel
Address Redacted
Charles Keathley
Address Redacted


Charles Kenawell
Address Redacted


Charles Kramer
Address Redacted


Charles Lamb
Address Redacted


Charles Landrum
Address Redacted


Charles Lang
Address Redacted


Charles Larson‐Todd
Address Redacted


Charles Levengood
Address Redacted


Charles Levine Caterers   Events
11‐W Gwynns Mills Court
Owings Mills, MD 21117


Charles Lipscomb
Address Redacted


Charles Lord
Address Redacted


Charles Louree
Address Redacted
Charles Lowman Iii
Address Redacted


Charles Mahaleris
Address Redacted


Charles Major
Address Redacted


Charles Martin Kilbourn Iii
Address Redacted


Charles Marvin
Address Redacted


Charles Mcclelland Echard
Address Redacted


Charles Mclemore
Address Redacted


Charles Mead
Address Redacted


Charles Moon
Address Redacted


Charles Moore
Address Redacted


Charles Morris
Address Redacted


Charles Moss
Address Redacted


Charles Myers
Address Redacted
Charles Nash PTA
Three Harbors Council 636
6801 99th Ave
Kenosha, WI 53142


Charles Nunn
Address Redacted


Charles Oglesby
Address Redacted


Charles Owen
Address Redacted


Charles Parker
Address Redacted


Charles Parr
Address Redacted


Charles Perkins
Address Redacted


Charles Perry
Address Redacted


Charles Peterson
Address Redacted


Charles Pickard
Address Redacted


Charles Pickering
Address Redacted


Charles R Blackwood
Address Redacted
Charles R Odle
Address Redacted


Charles Randall Bowles
Address Redacted


Charles Riddle
Address Redacted


Charles Roberts
Address Redacted


Charles Rodenberger
Address Redacted


Charles Rogers
Address Redacted


Charles Rosser
Address Redacted


Charles Schwab
Attn Aaron Won
7401 Wisconsin Ave, Ste 100
Bethesda, MD 20814


Charles Schwab   Co Inc
P.O. Box 1803
Santa Rosa, CA 95402‐1803


Charles Sheen
Address Redacted


Charles Shelabarger
Address Redacted


Charles Sheldrake
Address Redacted


Charles Shirley
Address Redacted


Charles Simmons
Address Redacted


Charles Simmons Jr
Address Redacted


Charles Somogyi
Address Redacted


Charles Sproul Jr
Address Redacted


Charles Stone
Address Redacted


Charles Stultz
Address Redacted


Charles Stutsman
Address Redacted


Charles Sullivan
Address Redacted


Charles T Pyne Jr
Address Redacted


Charles Taylor
Address Redacted


Charles Thomas
Address Redacted
Charles Town Baptist Church
Shenandoah Area Council 598
211 E Congress St
Charles Town, WV 25414


Charles Town Moose Lodge 948
Shenandoah Area Council 598
P.O. Box 516
Charles Town, WV 25414


Charles Town Ward LDS Church
Shenandoah Area Council 598
343 Carriage Dr
Harpers Ferry, WV 25425


Charles Triplett
Address Redacted


Charles Truckenmiller
Address Redacted


Charles Turner
Address Redacted


Charles Vandiver
Address Redacted


Charles Vesely
Address Redacted


Charles Vonderheid
Address Redacted


Charles W Bieser
Address Redacted


Charles W Dahlquist
Address Redacted
Charles W Stanislav
Address Redacted


Charles Walker
Address Redacted


Charles Warnell Bradley
Address Redacted


Charles Watt
Address Redacted


Charles Wesley Utd Methodist Church
National Capital Area Council 082
6817 Dean Dr
Mc Lean, VA 22101


Charles Wetter
Address Redacted


Charles White
Address Redacted


Charles Willenbrink
Address Redacted


Charles Williams
Address Redacted


Charles Williamson
Address Redacted


Charles Wilson
Address Redacted


Charles Winn
Address Redacted
Charles Wolfe
Address Redacted


Charles Woodland
Address Redacted


Charles Woods
Address Redacted


Charles Wright
Address Redacted


Charles Zettler
Address Redacted


Charleston Acoustics Supply
900 Maccorkle Ave Sw
Charleston, WV 25303


Charleston Area Medical Center
Buckskin 617
Box 1547
Charleston, WV 25326


Charleston Auto, Inc
P.O. Box 13412
Charleston, WV 25360


Charleston Blueprint Inc
1203 Virginia St E
Charleston, WV 25301


Charleston City Police Dept
Coastal Carolina Council 550
180 Lockwood Blvd
Charleston, SC 29403


Charleston Commty
Family Devt Corp
Buckskin 617
100 Florida St
Charleston, Wv 25302


Charleston Community Impact Corp
Coastal Carolina Council 550
4870 Piedmont Ave
North Charleston, SC 29406


Charleston County
4045 Bridge View Dr
North Charleston, SC 29405‐7464


Charleston County Sheriffs Office
Coastal Carolina Council 550
3691 Leeds Ave
Charleston, SC 29405


Charleston Presbyterian Church
Coastal Carolina Council 550
1405 Miles Dr
Charleston, SC 29407


Charleston Sail   Power Squadron
Coastal Carolina Council 550
1376 Orange Grove Rd
Charleston, SC 29407


Charleston Steel
P.O. Box 547
Dunbar, WV 25714


Charlestown Congregational Church
Daniel Webster Council, Bsa 330
71 Main St
Charlestown, NH 03603


Charlestown Fire Dept
Daniel Webster Council, Bsa 330
Main St
Charlestown, NH 03603
Charlet Funeral Home Inc
P.O. Box 287
Clinton, LA 70722


Charley Brown Hopson
Address Redacted


Charley Burgdorf
Address Redacted


Charley D Walton
Address Redacted


Charley Hopson
Address Redacted


Charley Toppino    Sons Inc
P.O. Box 787
Key W, Fl 33041


Charli Mustachia
Address Redacted


Charlie Baggs Inc
c/o the Belden Stratford Hotel
2300 N Lincoln Park W, Unit A3
Chicago, IL 60614


Charlie Furlough
Address Redacted


Charlie S Sporting Goods
8908 Menaul Blvd Ne
Albuquerque, NM 87112


Charlie S Sporting Goods
8908 Menaul N E
Albuquerque, NM 87112
Charlie Sullivan
Address Redacted


Charlie Tinsley
Address Redacted


Charlies Custom Calls
1325 W Walnut Hill Ln
Irving, TX 75038


Charlotte Alarm Management Services
P.O. Box 602486
Charlotte, NC 28260‐2486


Charlotte Beauregard
Address Redacted


Charlotte Brackett
Address Redacted


Charlotte Bridgman
Address Redacted


Charlotte Buckingham
Address Redacted


Charlotte Business Journal
110 S Tryon St, Ste 100
Charlotte, NC 28203


Charlotte Chamber Of Commerce
P.O. Box 20103
Charlotte, NC 28232‐0027


Charlotte Co Sheriff S Office
Southwest Florida Council 088
7474 Utilities Rd
Punta Gorda, FL 33982
Charlotte Cook
Address Redacted


Charlotte Fire Dept
Mecklenburg County Council 415
500 Dalton Ave
Charlotte, NC 28206


Charlotte Knights Baseball Club
2280 Deerfield Dr
Fort Mill, SC 29715


Charlotte Landon
Address Redacted


Charlotte Leonard
Address Redacted


Charlotte Pontanilla
Address Redacted


Charlotte S Brauer
Address Redacted


Charlotte Schroeder
Address Redacted


Charlotte Shafer
Address Redacted


Charlotte Tedesco
Address Redacted


Charlotte Tent   Awning Co
5901 N Hills Cir
Charlotte, NC 28213


Charlotte Wayt
Address Redacted


Charlotte White
Address Redacted


Charlotte/Mecklenburg Police Dept
Mecklenburg County Council 415
825 E 4th St
Charlotte, NC 28202


Charlotte‐Fagan Utd Methodist Church
Middle Tennessee Council 560
3158 Vanleer Hwy
Charlotte, TN 37036


Charlottesville Lions Club
Crossroads of America 160
10165 E Co Rd 25 N
Charlottesville, IN 46117


Charlton ‐ American Legion Post 391
Heart of New England Council 230
P.O. Box 671
Charlton, MA 01507


Charlton ‐ Federated Church
Heart of New England Council 230
P.O. Box 355
Charlton, MA 01507


Charlton ‐ Police Dept
Heart of New England Council 230
85 Masonic Home Rd
Charlton, MA 01507


Charlton ‐ St Josephs Church
Heart of New England Council 230
P.O. Box 338
Charlton City, MA 01508


Charlton Utd Methodist Church
New Birth of Freedom 544
5920 Jonestown Rd
Harrisburg, PA 17112


Charlyn Lambert
Address Redacted


Charmalee Olsen‐Runion
Address Redacted


Charter Hose Co 4
Housatonic Council, Bsa 069
4 Murray St
Ansonia, CT 06401


Charter Oak Ptc
W D Boyce 138
5221 W Timberedge Dr
Peoria, IL 61615


Charterwood Municipal Utility District
Sam Houston Area Council 576
15820 Quill Dr
Houston, TX 77070


Chartiers Center
Laurel Highlands Council 527
2866 Glenmore Ave
Pittsburgh, PA 15216


Chartiers Hill Utd Presbyterian Ch
Laurel Highlands Council 527
2230 Washington Rd
Canonsburg, Pa 15317


Charyl Stockwell Academy
Southern Shores Fsc 783
9758 E Highland Rd
Howell, MI 48843


Charyl Stockwell Academy District
Southern Shores Fsc 783
9758 E Highland Rd
Howell, MI 48843


Chasan   Walton
Fbo Jeffrey Corder
1459 Tyrell Ln
Boise, ID 83706


Chasan   Walton LLC
Fbo Clarence Reberry
1459 Tyrell Ln
Boise, ID 83706


Chasan   Walton LLC
Fbo John Elliot
1459 Tyrell Ln
Boise, ID 83706


Chasan   Walton LLC
Fbo Robert Nielsen
1459 Tyrell Ln
Boise, ID 83706


Chasan   Walton LLC
Fbo Thomas Moore Jr
1459 Tyrell Ln
Boise, ID 83706


Chasan   Walton LLC
Fbo Timothy Jordan
1459 Tyrell Ln
Boise, ID 83706


Chasan   Walton LLC
Trust Account
1459 Tyrell Ln
Boise, ID 83706


Chase A Dormire
Address Redacted
Chase A Larson
Address Redacted


Chase Assoc Inc
Route 27 S
P.O. Box 75
Edgecomb, ME 04556


Chase B Koontz
Address Redacted


Chase Bank Usa Na
Attn Legal Dept Il1‐0169
131 S Dearborn St Fl 5
Chicago, IL 60603


Chase Boys And Girls Club
Dan Beard Council, Bsa 438
4151 Turrill St
Cincinnati, OH 45223


Chase Cardmember Service
P.O. Box 94014
Palatine, IL 60094‐4014


Chase D Anderson
Address Redacted


Chase D Tollefson
Address Redacted


Chase Family Resource Center
Connecticut Rivers Council, Bsa 066
40 Woodtick Rd
Waterbury, CT 06705


Chase J Benedict
Address Redacted
Chase Lester
Address Redacted


Chase Otter
Address Redacted


Chase Paymentech
14221 Dallas Pkwy
Dallas, TX 75254‐2942


Chase Ranch Foundation
P.O. Box 1218
Raton, NM 87740


Chase Utd Methodist Church
Baltimore Area Council 220
6601 Ebenezer Rd
Baltimore, MD 21220


Chaseburg American Legion
Gateway Area 624
P.O. Box 15
Chaseburg, WI 54621


Chaser Nautical Foundation
Mt Diablo‐Silverado Council 023
P.O. Box 5651
Napa, CA 94581


Chasity Chatham
Address Redacted


Chasity M Mcreynolds
Address Redacted


Chaska Fire Dept
Northern Star Council 250
285 Engler Blvd
Chaska, MN 55318
Chaska Police
Northern Star Council 250
2 City Hall Plz
Chaska, MN 55318


Cha‐Srd
1 Julian Price Pl
Charlotte, NC 28208


Cha‐Srd
4700 S Syracuse St, Ste 450
Denver, CO 80237


Chassahowitzka Community Assoc
Greater Tampa Bay Area 089
10300 S Riviera Dr
Homosassa, FL 34448


Chatfield Lions Club
Gamehaven 299
P.O. Box 421
Chatfield, MN 55923


Chatham Lions Club
Bay‐Lakes Council 635
P.O. Box
Chatham, MI 49816


Chatham Post 42 American Legion
Twin Rivers Council 364
34 Woodbridge Ave
Chatham, NY 12037


Chatham Presbyterian Church
Abraham Lincoln Council 144
1835 E Walnut St
Chatham, IL 62629


Chatham Rotary Club
Blue Ridge Mtns Council 599
P.O. Box 855
Chatham, VA 24531
Chatham Utd Methodist Church
Cape Cod and Islands Cncl 224
569 Main St
Chatham, MA 02633


Chatham/Worth Specialties Inc
C2 Construction Inc
2607 Brenner Dr
Dallas, TX 75220


Chatsworth First Utd Methodist Church
Northwest Georgia Council 100
P.O. Box 152
Chatsworth, GA 30705


Chattahoochee
1237 1st Ave
Columbus, GA 31901


Chattahoochee Cncl 91
1237 1st Ave
Columbus, GA 31901


Chattahoochee Nature Center
Atlanta Area Council 092
9135 Willeo Rd
Roswell, GA 30075


Chattanooga Police Explorer
Cherokee Area Council 556
3300 Amnicola Hwy
Chattanooga, TN 37406


Chauncey Conference Center Inc
660 Rosedale Rd
Princeton, NJ 08541


Chautauqua Camp
Miami Valley Council, Bsa 444
10550 Camp Trails
Miamisburg, OH 45342


Chaves County Sheriff Dept
Conquistador Council Bsa 413
1 Saint Marys Pl
Roswell, NM 88203


Chavez Evj Co Ltd
Circle Ten Council 571
4210 Junius St
Dallas, TX 75246


Chayce Vincent Torres
Address Redacted


Chazy   Westport Communications
Twin Rivers Council 364
P.O. Box Q
Westport, NY 12993


Cheaper Than Dirt Ctd Inc
2524 NE Loop 820
Ft Worth, TX 76106


Cheat Lake Elementary
Mountaineer Area 615
P.O. Box 152A
Morgantown, WV 26507


Cheat Lake Umc
Mountaineer Area 615
750 Fairchance Rd
Morgantown, WV 26508


Cheat Lake Utd Methodist Church
Mountaineer Area 615
750 Fairchance Rd
Morgantown, WV 26508


Cheatham Memorial Utd Methodist Ch
Circle Ten Council 571
P.O. Box 800
Edgewood, Tx 75117


Chebanse American Legion
Prairielands 117
255 S Walnut St
Chebanse, IL 60922


Checotah Lodge No 86 Af    Am
Indian Nations Council 488
P.O. Box 826
Checotah, OK 74426


Cheeca Lodge   Spa
Nwcl LLC
81801 Overseas Hwy
Islamorada, FL 33036


Cheektowaga Police Dept
Greater Niagara Frontier Council 380
3223 Union Rd
Cheektowaga, NY 14227


Cheesequake Volunteer Fire Dept
Monmouth Council, Bsa 347
113 State Route 34
Matawan, NJ 07747


Chef S Catering
P.O. Box 3596
Matthews, NC 28106


Chelsea Chamberlain
Address Redacted


Chelsea Church Of The Nazarene
Southern Shores Fsc 783
P.O. Box 389
Chelsea, MI 48118


Chelsea D Moss
Address Redacted


Chelsea Heights PTO
Northern Star Council 250
1557 Huron St
Saint Paul, MN 55108


Chelsea Kiwanis Club
Southern Shores Fsc 783
P.O. Box 61
Chelsea, MI 48118


Chelsea Mcclain
Address Redacted


Chelsea Nicole Perkins
Address Redacted


Chelsea R Jackman
Address Redacted


Chelsey Luster
Address Redacted


Cheltenham Scout Cabin Assoc
Cradle of Liberty Council 525
7707 Mill Rd
Elkins Park, PA 19027


Chem Dry Okc Edmond
6504 Hunter Dr
Edmond, OK 73013


Chemsearchfe
P.O. Box 971269
Dallas, TX 75397‐1269


Chena Kiwanis Club
Midnight Sun Council 696
P.O. Box 73112
Fairbanks, AK 99707


Chenal Country Club Inc
10 Chenal Club Blvd
Little Rock, AR 72223


Chenango Bridge Utd Methodist Church
Baden‐Powell Council 368
P.O. Box 501
Chenango Bridge, NY 13745


Cheng Lee
Address Redacted


Chengdu Intl Christian Fellowship
Far E Council 803
46 Renmin Nan Lu Si Duan, 124‐1‐7‐10
China


Chenise Smith
Address Redacted


Chenoa Vfw Post 8350
W D Boyce 138
215 S Green St
Chenoa, IL 61726


Chenoweth Elementary School
Lincoln Heritage Council 205
3622 Brownsboro Rd
Louisville, KY 40207


Chepachet Union Church
Narragansett 546
1138 Putnam Pike
Chepachet, RI 02814


Cheri Hodek
Address Redacted
Cherie Miller‐Kling
Address Redacted


Cherie Bridges
Address Redacted


Cheril Snow
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Cherita Clemons
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Cherokee Area
520 S Quapaw Ave
Bartlesville, OK 74003‐4330


Cherokee Area
6031 Lee Hwy
Chattanooga, TN 37421‐2930


Cherokee Area Cncl 469
520 S Quapaw
Bartlesville, OK 74003


Cherokee Area Cncl 556
6031 Lee Hwy
Chattanooga, TN 37421‐2930


Cherokee Area Council 469
520 S Quapaw Ave
Bartlesville, OK 74003


Cherokee County Fire   Emergency Service
Atlanta Area Council 092
150 Chattin Dr
Canton, GA 30115


Cherokee Park Elementary
Norwela Council 215
2010 E Algonquin Trl
Shreveport, LA 71107


Cherokee Sheriffs Office
Atlanta Area Council 092
498 Chattin Dr
Canton, GA 30115


Cherokee Staff Alumni
Old N State Council 070
3296 Boy Scout Camp Rd
Yanceyville, NC 27379


Cherokee Trail And Campsites Inc
Atlanta Area Council 092
P.O. Box 708
Tucker, GA 30085


Cherokee Volunteer Firefighters Inc
Greater Alabama Council 001
P.O. Box 181
Cherokee, AL 35616


Cherokee Youth Center Boys     Girls Club
Daniel Boone Council 414
P.O. Box 455
Cherokee, NC 28719


Cherri Samuel
Address Redacted


Cherry Creek Academy
Denver Area Council 061
6260 S Dayton St
Englewood, CO 80111


Cherry Creek Wesleyan Church
Denver Area Council 061
19401 E Chenango Dr
Aurora, CO 80015


Cherry Crest Parents For Scouting
Chief Seattle Council 609
12400 NE 32nd St
Bellevue, WA 98005


Cherry Hill Presbyterian Church
Great Lakes Fsc 272
24110 Cherry Hill St
Dearborn, MI 48124


Cherry Hill School P T O
c/o Cub Scouts Pack 229
Northern New Jersey Council, Bsa 333
410 Bogert Rd
River Edge, NJ 07661


Cherry Hill Twp Vol Fire Co
Laurel Highlands Council 527
P.O. Box 305
Penn Run, PA 15765


Cherry Hills Village
2450 E Quincy Ave
Cherry Hills Village, CO 80113


Cherry Hills Village Friends Of Scouting
Denver Area Council 061
2400 E Quincy Ave
Englewood, CO 80113


Cherry Valley Camp Staff
Greater Los Angeles Area 033
3450 E Sierra Madre Blvd
Pasadena, CA 91107


Cherry Valley Country Club
125 Country Club Dr
Skillman, NJ 08558


Cherry Valley Cub Residence Camp Staff
Greater Los Angeles Area 033
3450 E Sierra Madre Blvd
Pasadena, CA 91107
Cherry Valley Fire
Blackhawk Area 660
Cv United Methodist Church
112 S Cherry St
Cherry Valley, IL 61016


Cherry Valley Utd Methodist Church
Blackhawk Area 660
112 S Cherry St
Cherry Valley, IL 61016


Cherrydale Utd Methodist Church
National Capital Area Council 082
3701 Lorcom Ln
Arlington, VA 22207


Cherryville Rotary Club
Piedmont Council 420
700 E 1st St
Cherryville, NC 28021


Cheryl Bieler
Address Redacted


Cheryl Boston Simon
Address Redacted


Cheryl Burris
Address Redacted


Cheryl Clark
Address Redacted


Cheryl Connor
Address Redacted


Cheryl Czechowski
Address Redacted
Cheryl Davis
Address Redacted


Cheryl Delashmit
Address Redacted


Cheryl Dundas
Address Redacted


Cheryl Farmer
Address Redacted


Cheryl Ferreri
Address Redacted


Cheryl Kuras
Address Redacted


Cheryl Kurtz
Address Redacted


Cheryl Langston Burris
Address Redacted


Cheryl Larsen
Address Redacted


Cheryl Leon
Address Redacted


Cheryl Littlejohn
Address Redacted


Cheryl Lynn Dundas
Address Redacted


Cheryl Muraida Bedford
Address Redacted


Cheryl Muraida Muraida Bedford
Address Redacted


Cheryl Myers
Address Redacted


Cheryl Nagle
Address Redacted


Cheryl Rose
Address Redacted


Cheryl Rosebrook
Address Redacted


Cheryl Schneider
Address Redacted


Cheryl Simon
Address Redacted


Cheryl Smith
Address Redacted


Cheryl Thomas
Address Redacted


Cheryl Walker
Address Redacted


Cheryl Wilson
Address Redacted


Cheryle Garcia
Address Redacted
Cheryle Green
Address Redacted


Cheryle Larino
Address Redacted


Cherylyn D Stewart
Address Redacted


Cherylyn Stewart
Address Redacted


Chesaning Rotary Club
Water and Woods Council 782
200 S Line St
Chesaning, MI 48616


Chesapeak Church Of The Nazarene
Buckskin 617
817 3rd Ave
Chesapeake, OH 45619


Chesapeake Church Of The Nazarene
Buckskin 617
817 3rd Ave
Chesapeake, OH 45619


Chesapeake Multicultural Resource Center
Del Mar Va 081
20 Bay St
Easton, MD 21601


Chesapeake Police Dept
Tidewater Council 596
Chesapeake Civic Cnt
304 Albemarle Dr
Chesapeake, VA 23322


Chesapeake Valley Water Co
P.O. Box 10841
Springfield, MO 65808


Cheshire Lions Club, Incorporated
Connecticut Rivers Council, Bsa 066
71 Horton Ave
Cheshire, CT 06410


Cheshire Police Dept
Connecticut Rivers Council, Bsa 066
500 Highland Ave
Cheshire, CT 06410


Chessa N Kosmicki
Address Redacted


Chester Baptist Church
Heart of Virginia Council 602
4317 School St
Chester, VA 23831


Chester Community Charter School East
Cradle of Liberty Council 525
214 E 5th St
Chester, PA 19013


Chester Concerned Parents
Inland Nwest Council 611
3525 S Pines Rd
Spokane Valley, WA 99206


Chester County
226 Exton Square Pkwy
Exton, PA 19341


Chester County Bar Assoc
Chester County Council 539
15 W Gay St
West Chester, PA 19380


Chester County Cncl 539
226 Exton Square Pkwy
Exton, PA 19341


Chester County Family Academy
Chester County Council 539
323 E Gay St, Ste B7
West Chester, PA 19380


Chester Fire Dept
Daniel Webster Council, Bsa 330
27 Murphy Dr
Chester, NH 03036


Chester Fire Dept
Greater St Louis Area Council 312
1330 State St
Chester, IL 62233


Chester Firemans Assoc
Western Massachusetts Council 234
300 Route 20
Chester, MA 01011


Chester Hill Assoc
Western Massachusetts Council 234
471 Skyline Trl
Chester, MA 01011


Chester Lions Club
Greater St Louis Area Council 312
16 Knollwood Dr
Chester, IL 62233


Chester Miller Concerned Citizens
Water and Woods Council 782
911 Thurman St
Saginaw, MI 48602


Chester Presbyterian Church
Heart of Virginia Council 602
3424 W Hundred Rd
Chester, VA 23831
Chester Township Fire Dept
Tecumseh 439
5580 State Route 380
Wilmington, OH 45177


Chester Upland Charter School
Cradle of Liberty Council 525
1100 Main St
Upland, PA 19015


Chester Upland School Of The Arts
Cradle of Liberty Council 525
501 W 9th St
Chester, PA 19013


Chester Utd Methodist
Buckskin 617
43570 Lovers Ln
Pomeroy, OH 45769


Chester Utd Methodist Church
Heart of Virginia Council 602
12132 Percival St
Chester, VA 23831


Chester Wright
Address Redacted


Chesterbrook Utd Methodist Church
National Capital Area Council 082
1711 Kirby Rd
Mc Lean, VA 22101


Chesterfield Baptist Church
Heart of Virginia Council 602
16520 Hull St Rd
Moseley, VA 23120


Chesterfield Christian Church
Crossroads of America 160
207 E Plum St
Chesterfield, IN 46017


Chesterfield Fire Fighter Assoc
Great Lakes Fsc 272
33991 23 Mile Rd
Chesterfield, MI 48047


Chesterfield Lions Club
Great Lakes Fsc 272
52101 Gratiot Ave
Chesterfield, MI 48051


Chesterfield Police Dept
Greater St Louis Area Council 312
184 Chesterfield Industrial Blvd
Chesterfield, MO 63005


Chesterfield Police Dept
Jeff Ovca Post 9270
690 Chesterfield Pkwy W
Chesterfield, MO 63017


Chesterfield Volunteer Fire Dept
Western Massachusetts Council 234
North Rd
Chesterfield, MA 01012


Chesterland Baptist Church
Lake Erie Council 440
12670 Chillicothe Rd
Chesterland, OH 44026


Chesterton, LLC
c/o Daniel Yergin c/o Ih
55 Cambridge Pkwy, Ste 601
Cambridge, MA 02142


Chestnut Grove Middle School
Old Hickory Council 427
2185 Chestnut Grove Rd
King, NC 27021
Chestnut Grove Presbyterian Church
Baltimore Area Council 220
3701 Sweet Air Rd
Phoenix, MD 21131


Chestnut Hill Baptist Church
Narragansett 546
Victory Hwy
Exeter, RI 02822


Chestnut Hill School Parent Teacher
Water and Woods Council 782
3900 Chestnut Hill Dr
Chestnut Hill Elementary
Midland, MI 48642


Chestnut Hill Utd Church Of Christ
Minsi Trails Council 502
6870 Chestnut Hill Church Rd
Coopersburg, PA 18036


Chestnut Level Presbyterian Church
Pennsylvania Dutch Council 524
1068 Chestnut Level Rd
Quarryville, PA 17566


Chestnut Memorial Utd Meth Church
Colonial Virginia Council 595
1024 Harpersville Rd
Newport News, VA 23601


Chestnut Memorial Utd Methodist Ch
Colonial Virginia Council 595
1024 Harpersville Rd
Newport News, Va 23601


Chestnut Ridge Christian Church
Atlanta Area Council 092
2663 Johnson Ferry Rd
Marietta, GA 30062
Chestnut Street Utd Methodist Church
Cape Fear Council 425
P.O. Box 1464
Lumberton, NC 28359


Chetek Lutheran Church
Chippewa Valley Council 637
1419 2nd St
Chetek, WI 54728


Cheviot Firemens Assoc Inc
Dan Beard Council, Bsa 438
3816 Harrison Ave
Cincinnati, OH 45211


Cheviot Police Explorer Post 801
Dan Beard Council, Bsa 438
3814 Harrison Ave
Cincinnati, OH 45211


Chevy Chase Utd Methodist Church
National Capital Area Council 082
7001 Connecticut Ave
Chevy Chase, MD 20815


Chewelah Kiwanis Club
Inland Nwest Council 611
P.O. Box 285
Chewelah, WA 99109


Chewelah Valley Lions Club
Inland Nwest Council 611
P.O. Box 994
Chewelah, WA 99109


Chews Landing Fire Co
Garden State Council 690
43 Somerdale Rd
Blackwood, NJ 08012


Chewsville Community Center
Mason Dixon Council 221
P.O. Box 162
Chewsville, MD 21721


Chewsville Lions Club
c/o Warren Middlekauff
Mason Dixon Council 221
19830 Jefferson Blvd
Hagerstown, MD 21742


Cheyann Thunberg
Address Redacted


Cheyanne Beaty
Address Redacted


Cheyenne First Utd Methodist Church
Last Frontier Council 480
P.O. Box 6
Cheyenne, OK 73628


Cheyenne First Utd Methodist Church
Last Frontier Council 480
P.O. Box 85
Cheyenne, OK 73628


Cheyenne G Johnston‐Ashton
Address Redacted


Cheyenne Mountain Elementary School PTO
Pikes Peak Council 060
5250 Farthing Dr
Colorado Springs, CO 80906


Cheyenne Mountain Vfw Post 3917
Pikes Peak Council 060
P.O. Box 5355
Colorado Springs, CO 80931


Cheyenne Police Dept
Longs Peak Council 062
2020 Capitol Ave
Cheyenne, WY 82001


Cheyenne Tant
Address Redacted


Cheyenne Wells Fire Dept
Pikes Peak Council 060
151 S 1st W
Cheyenne Wells, CO 80810


Chg Youth Outreach
Blue Mountain Council 604
2899 Crosswater Loop
Richland, WA 99354


Chi Lang 1279 Assoc
Orange County Council 039
16706 Bayberry St
Fountain Valley, CA 92708


Chiang Mai International School
Far E Council 803
Jason Leseure
Chiang Mai International School
Chiangmai, 50000
Thailand


Chiang Rai Intl Christian Sch
Far E Council 803
P.O. Box 36 Baan Duu Post Office
Chaing Rai, 57100
Thailand


Chicago Area Cncl 118
1218 W Adams St
Chicago, IL 60607‐2802


Chicago Bar Assoc
321 S Plymouth Court
Chicago, IL 60604‐3997
Chicago Coptic Church
Pathway To Adventure 456
2100 W Frontage Rd
Palatine, IL 60067


Chicago Decal Co
P.O. Box 75253
Chicago, IL 60675‐5253


Chicago Distribution Center
11030 S Langley Ave
Chicago, IL 60628


Chicago First Ward LDS
Pathway To Adventure 456
5100 N Springfield Ave
Chicago, IL 60625


Chicago Housing Authority
Pathway To Adventure 456
60 E Van Buren
Chicago, IL 60605


Chicago Latvian Zion Lutheran Church
Pathway To Adventure 456
6551 W Montrose Ave
Chicago, IL 60634


Chicago Metropolitan Fire Prevention Co
820 N Addison Ave
Elmhurst, IL 60126


Chicago Police Dept
Pathway To Adventure 456
1718 S State St
Chicago, IL 60616


Chicago Police Dept
Pathway To Adventure 456
5400 N Lincoln Ave
Chicago, IL 60625
Chicago Police Dept
Pathway To Adventure 456
6464 N Clark St
Chicago, IL 60626


Chicago Police Dept‐15Th District
Pathway To Adventure 456
5701 W Madison St
Chicago, IL 60644


Chicago Police District 022
Pathway To Adventure 456
1900 W Monterey Ave
Chicago, IL 60643


Chicago Security Systems
1516 N Elmhurst Rd, Ste 113
Mt Prospect, IL 60056


Chicago South Elks Lodge 1596
Pathway To Adventure 456
4428 Midlothian Tpke
Crestwood, IL 60445


Chicago Yacht Club
Pathway To Adventure 456
400 E Monroe St
Chicago, IL 60603


Chicagoland Hobby
6017 Nwest Hwy
Chicago, IL 60631


Chichester Grange 132
Daniel Webster Council, Bsa 330
86 Broadway
Concord, NH 03301


Chickahominy Indians Eern Div Inc
Heart Of Virginia Council 602
3120 Mt Pleasant Rd
Providence Forge, Va 23140


Chickasaw
171 S Hollywood St
Memphis, TN 38112‐4802


Chickasaw Civic Theatre
Mobile Area Council‐Bsa 004
P.O. Box 11476
Mobile, AL 36671


Chickasaw Cncl 558
171 S Hollywood St
Memphis, TN 38112‐4802


Chickasaw Council
Bsa Troop 0056
605 Furlong Cove
Collierville, TN 38017


Chickasaw County Historical Society
Winnebago Council, Bsa 173
2729 Cheyenne Ave
Nashua, IA 50658


Chickasaw Nation Div Of Commer
dba Winstar World Casino
Group Sales, 777 Casino Ave
Thackerville, OK 73459


Chickasha Rotary Club
Last Frontier Council 480
619 W Chickasha Ave
Chickasha, OK 73018


Chick‐Fil‐A At Harligen
1021 Dixieland Rd
Harlingen, TX 78552


Chick‐Fil‐A Of Crossroads Mall
31 Crossroads Mall
Mt Hope, WV 25880‐9507


Chico Breakfast Lions Club
Golden Empire Council 047
P.O. Box 1909
Chico, CA 95927


Chico Elks Lodge
Golden Empire Council 047
1705 Manzanita Ave
Chico, CA 95926


Chico Elks Lodge 423
Golden Empire Council 047
1705 Manzanita Ave
Chico, CA 95926


Chicopee Moose Family Center
Western Massachusetts Council 234
244 Fuller Rd
Chicopee, MA 01020


Chicora Loyal Order Of Moose 962
Moraine Trails Council 500
P.O. Box M
Chicora, PA 16025


Chief Cornplanter
316 4th St
Warren, PA 16365


Chief Cornplanter Cncl 538
316 4th Ave
Warren, PA 16365‐2320


Chief Drywall Corp
Great Salt Lake Council 590
3162 W 7325 S
West Jordan, UT 84084


Chief Executive Officer
Integrated Warehousing Solutions
3075 Highland Pkwy
Downers Grove, IL 60515


Chief Kiondashawa District Committee
French Creek Council 532
6 1/2 Orangeville Rd
Greenville, PA 16125


Chief Petty Officer S Organization
Baltimore Area Council 220
Building T4
Fort Meade, MD 20755


Chief Petty Officers Assoc
Far E Council 803
Psc 476 Box 1
Fpo Ap, 96322


Chief Petty Officers Assoc
Far E Council 803
Psc 476 Box 973
Fpo Ap, 96322


Chief Petty Officers Assoc
Far E Council 803
Psc 561 Box 142
Fpo Ap, 96310


Chief Petty Officers Assoc
Tidewater Council 596
514 Cardwell St
Elizabeth City Chapter
Elizabeth City, NC 27909


Chief S Group
Black Hills Area Council 695 695
1958 Scott Dr, Ste 1
Ellsworth Afb, SD 57706


Chief S Group 31 Fw
Transatlantic Council, Bsa 802
Psc 103
Apo, AE 09603


Chief Seattle
3120 Rainier Ave S W
Seattle, WA 98144


Chief Seattle Cncl 609
3120 Rainier Ave S
Seattle, WA 98144


Chief Tarhe Elementary School PTO
Simon Kenton Council 441
2141 Greencrest Way
Lancaster, OH 43130


ChiefPettyOfficer Assoc Sigonella Top IV
Transatlantic Council, Bsa 802
Psc 812 Box 3530
Fpo Ae, 09627


Chieftain Archery
Moraine Trails Council 500
4711 Leechburg Rd
New Kensington, PA 15068


Child Center‐Marygrove
Greater St Louis Area Council 312
2705 Mullanphy Ln
Florissant, MO 63031


Child Development Center
Montana Council 315
1725 Mt Hwy 35
Kalispell, MT 59901


Child Nutrition Service Inc
Heart of America Council 307
14450 N US Hwy 169, Ste Q
Smithville, MO 64089
Child Opportunity Zone Pawtucket
Narragansett 546
40 Baldwin St
Pawtucket, RI 02860


Child Support Enforcement
Family Support Registry
P.O. Box 1800
Carrollton, GA 30112‐1800


Child Support Services/Ors
P.O. Box 45011
Salt Lake City, UT 84145


Child Trauma Counseling Service
2597 N 141st Ln
Goodyear, AZ 85395‐2495


Child Welfare League Of America
P.O. Box 75171
Baltimore, MD 21275


Children Charter Concerned Parents
Istrouma Area Council 211
1143 N St
Baton Rouge, LA 70802


Children Of The Valley
Mount Baker Council, Bsa 606
1318 S 18th St
Mount Vernon, WA 98274


Children S Hospital Medical Center
Great Trail 433
1 Perkins Sq
Akron, OH 44308


Children S Miracle Network
P.O. Box 855
Hershey, PA 17033‐0855
Children S Place Preschool
Cradle of Liberty Council 525
6006 Colgate St
Philadelphia, PA 19111


Children S Place Preschool Longshore
Cradle of Liberty Council 525
4817 Longshore Ave
Philadelphia, PA 19135


Childrens Home Of Northern Ky
Dan Beard Council, Bsa 438
200 Home Rd
Covington, KY 41011


Childrens Home Wyoming Un Meth Conf
Baden‐Powell Council 368
1182 Chenango St
Binghamton, Ny 13901


Childrens Hospital   Medical Center
Mid‐America Council 326
8200 Dodge St
Omaha, NE 68114


Childrens Leadership Academy
Grand Canyon Council 010
1648 S 16th St
Phoenix, AZ 85034


Childrens Mercy Hospital
Heart of America Council 307
2401 Gillham Rd
Kansas City, MO 64108


Childrens Therapy Center
Northern New Jersey Council, Bsa 333
125 Bauer Dr
Oakland, NJ 07436


Childress Elks Lodge 1113
Golden Spread Council 562
P.O. Box 427
Childress, TX 79201


Chilhowee Rod And Gun Club
Great Smoky Mountain Council 557
P.O. Box 345
Athens, TN 37371


Chili Fire Dept Inc
Seneca Waterways 397
3231 Chili Ave
Rochester, NY 14624


Chili Lions Club
Seneca Waterways 397
P.O. Box 24
North Chili, NY 14514


Chillicothe Elks Lodge 656
Grace Episcopal Church
Pony Express Council 311
421 Elm St
Chillicothe, Mo 64601


Chillicothe Primary School
Simon Kenton Council 441
235 Cherry St
Chillicothe, OH 45601


China Baptist Church
Pine Tree Council 218
P.O. Box 6095
China Village, ME 04926


China Grove Utd Methodist Church
Central N Carolina Council 416
110 W Church St
China Grove, NC 28023


China Utd Methodist Church
Three Rivers Council 578
P.O. Box 8
China, TX 77613


Chinese American Scouting Assoc
551 Brown Rd
Fremont, CA 94539


Chinese American Scouting Assoc
Silicon Valley Monterey Bay 055
1618 Cheney Ct
San Jose, CA 95128


Chinese Baptist Church
Chief Seattle Council 609
5801 Beacon Ave S
Seattle, WA 98108


Chinese Church Of Christ
Silicon Valley Monterey Bay 055
1490 Saratoga Ave
San Jose, CA 95129


Chiniqua Coggins
Address Redacted


Chinita Saba
Address Redacted


Chino Police Dept
California Inland Empire Council 045
5450 Guardian Way
Chino, CA 91710


Chino Rotary Club
California Inland Empire Council 045
P.O. Box 116
Chino, CA 91708


Chino Utd Methodist Church
California Inland Empire Council 045
5201 Riverside Dr
Chino, CA 91710
Chino Valley Fire Dept
California Inland Empire Council 045
14011 Civic Center
Chino Hills, CA 91709


Chino Valley Masonic Lodge
California Inland Empire Council 045
3955 Thomas St
Pomona, CA 91766


Chinook Ptsa
Cascade Pacific Council 492
1900 NW Bliss Rd
Vancouver, WA 98685


Chip Ganassi Racing
Crossroads of America 160
7777 Woodland Dr
Indianapolis, IN 46278


Chip Travers
12045 Barbary Coast Rd
Tucson, AZ 85749


Chip Travers
12045 Barbery Coast Rd
Tucson, AZ 85749


Chippewa Utd Methodist Church
Laurel Highlands Council 527
2545 Darlington Rd
Beaver Falls, PA 15010


Chippewa Valley
710 S Hastings Way
Eau Claire, WI 54701‐3425


Chippewa Valley Bible Church
Chippewa Valley Council 637
531 E S Ave
Chippewa Falls, WI 54729


Chippewa Valley Cncl No 637
710 S Hastings Way
Eau Claire, WI 54701‐3425


Chippewa Valley Council, Bsa
710 S Hastings Way
Eau Claire, WI 54701‐3425


Chippewa Valley Family Ymca
Chippewa Valley Council 637
611 Jefferson Ave
Chippewa Falls, WI 54729


Chippewa Valley High School
Chippewa Valley Council 637
2820 E Park Ave
Chippewa Falls, WI 54729


Chips
10777 Mazoch Rd
Weimar, TX 78962


Chiquita Vinson
Address Redacted


Chiquola Utd Methodist Church
Blue Ridge Council 551
405 Chiquola Ave
Honea Path, SC 29654


Chisago Lake Ev Lutheran
Northern Star Council 250
1 Summit Ave
P.O. Box 175
Center City, MN 55012


Chisago Lakes Lions
Northern Star Council 250
P.O. Box 135
Chisago City, MN 55013


Chisco
2424 S 2570 W
Salt Lake City, UT 84119


Chisholm Elementary School P.T.A.
Cimarron Council 474
300 Colorado Ave
Enid, OK 73701


Chisholm Hills Church Of Christ
Greater Alabama Council 001
2810 Chisholm Rd
Florence, AL 35630


Chloe Jade Mouawad
Address Redacted


Chloe M Sandlin
Address Redacted


Chloe R West
Address Redacted


Chloetta M Kinney
Address Redacted


Choctaw Area
P.O. Box 3784
Meridian, MS 39303


Choctaw Area Cncl No 302
P.O. Box 3784
Meridian, MS 39303‐3784


Choctaw Casino   Resort Durant
Choctaw Nation of Oklahoma
4216 S Hwy 69/75
Durant, OK 74701
Choctaw Police Dept
Choctaw Area Council 302
125 River Ridge Cir
Philadelphia, MS 39350


Choctaw Utd Methodist Church
Last Frontier Council 480
1200 N Choctaw Rd
Choctaw, OK 73020


Choctaw Volunteer Fire Dept
Southeast Louisiana Council 214
2854 Choctaw Rd
Thibodaux, LA 70301


Choice One Communications
P.O. Box 1927
Albany, NY 12201‐1927


Choicepoint Public Records Inc
P.O. Box 945664
Atlanta, GA 30394‐5664


Choose Outdoors
8256E S Wadsworth Blvd, 330
Littleton, CO 80128


Chopmist Hill Volunteer Fire Dept
Narragansett 546
1362 Chopmist Hill Rd
North Scituate, RI 02857


Chosen Valley LLC
Creating Ability Div
P.O. Box 474
Chatfield, MN 55923


Choteau Lions Club
Montana Council 315
Lions Hall
Choteau, MT 59422


Chouteau Utd Methodist Church
Indian Nations Council 488
104 S Hayden St
Chouteau, OK 74337


Chowchilla Friends Of Scouting
Sequoia Council 027
128 Holiday Way
Chowchilla, CA 93610


Chp ‐ Santa Fe Springs
Greater Los Angeles Area 033
10051 Orr and Day Rd
Santa Fe Springs, CA 90670


Chp ‐ Visalia
Sequoia Council 027
5025 W Noble Ave
Visalia, CA 93277


Chp Explorer Post 460
Greater Yosemite Council 059
1500 Bell Dr
Atwater, CA 95301


Chp North Sac Explorer Post
Golden Empire Council 047
5109 Tyler St
Sacramento, CA 95841


Chp South Los Angeles
Greater Los Angeles Area 033
19700 Hamilton Ave
Torrance, CA 90502


Chris A Finlay
Address Redacted


Chris A Perkins
Address Redacted


Chris Adamini
Address Redacted


Chris B Clark
Address Redacted


Chris Bell
Address Redacted


Chris Blum
Address Redacted


Chris Chambless
2200 N Greenville Ave, Ste 2E
Richardson, TX 75082


Chris Coca
Address Redacted


Chris Cone
Address Redacted


Chris Crowley
Address Redacted


Chris Daughtrey
Address Redacted


Chris Hagarman
Address Redacted


Chris Lewis Camacho
Address Redacted


Chris Mario Coca
Address Redacted
Chris Mathes
Address Redacted


Chris Morrow
Address Redacted


Chris Petersen
Address Redacted


Chris Rimar   His Attorneys
O Donnell Clark    Crew
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Chris Rocchi
Address Redacted


Chris Schultz
Address Redacted


Chris Snyder
Address Redacted


Chris Walsh
Address Redacted


Chris Ware
Address Redacted


Chris Wolfe
Address Redacted


Chrismar Mapping Services Inc
7 Wilson St
Uxbridge, On L9P 1H8
Canada
Chrissy Eads
Address Redacted


Christ   Holy Trinity Episcopal Church
Connecticut Yankee Council Bsa 072
55 Myrtle Ave
Westport, CT 06880


Christ   Trinity Luthern Church
Great Rivers Council 653
3201 Swest Blvd
Sedalia, MO 65301


Christ Alive Community Church
W D Boyce 138
9320 Route 150
Edwards, IL 61528


Christ Chapel Community Church
Flint River Council 095
115 Sullivan Rd
Zebulon, GA 30295


Christ Chapel Wesleyan Church
Seneca Waterways 397
1410 Lake Rd W Frk
Hamlin, NY 14464


Christ Church
Coastal Carolina Council 550
2304 N Hwy 17
Mount Pleasant, SC 29466


Christ Church
Daniel Webster Council, Bsa 330
43 Pine St
Exeter, NH 03833


Christ Church
Greater St Louis Area Council 312
26 N 14th St
Belleville, IL 62220
Christ Church
Northeast Illinois 129
470 Maple St
Winnetka, IL 60093


Christ Church
Pathway To Adventure 456
1492 Henry Ave
Des Plaines, IL 60016


Christ Church
Pine Tree Council 218
6 Dane St
Kennebunk, ME 04043


Christ Church Anglican
Heart of America Council 307
5500 W 91st St
Overland Park, KS 66207


Christ Church At Goshen
Lincoln Heritage Council 205
12001 W Hwy 42
Goshen, KY 40026


Christ Church Cranbrook
Great Lakes Fsc 272
470 Church Rd
Bloomfield Hills, MI 48304


Christ Church Episcopal
Connecticut Rivers Council, Bsa 066
9 S Main St
Sharon, CT 06069


Christ Church Episcopal
Great Trail 433
21 Aurora St
Hudson, OH 44236
Christ Church Episcopal
Heart of Virginia Council 602
5000 Pouncey Tract Rd
Glen Allen, VA 23059


Christ Church Episcopal
Pine Tree Council 218
1 Pleasant St
Gardiner, ME 04345


Christ Church Episcopal
Pine Tree Council 218
2 Dresden Ave
Gardiner, ME 04345


Christ Church Episcopal Church
Blue Ridge Council 551
10 N Church St
Greenville, SC 29601


Christ Church Episcopal Church
Indian Nations Council 488
10901 S Yale Ave
Tulsa, OK 74137


Christ Church Episcopal Norcross
Atlanta Area Council 092
400 Holcomb Bridge Rd
Norcross, GA 30071


Christ Church Episcopal Parish
Blue Ridge Council 551
10 N Church St
Greenville, SC 29601


Christ Church Fox Chapel
Laurel Highlands Council 527
630 Squaw Run Rd E
Pittsburgh, PA 15238


Christ Church In Short Hills
Northern New Jersey Council, Bsa 333
66 Highland Ave
Short Hills, NJ 07078


Christ Church Irving
Circle Ten Council 571
1750 E Airport Fwy
Irving, TX 75062


Christ Church New Brighton
Greater New York Councils, Bsa 640
76 Franklin Ave
Staten Island, NY 10301


Christ Church Of Oak Brook
Thirty First   York Rd
Oak Brook, IL 60523


Christ Church Of The Valley
Daniel Boone Council 414
P.O. Box 2863
Cashiers, NC 28717


Christ Church Of The Valley
Southern Sierra Council 030
13701 Stockdale Hwy
Bakersfield, CA 93314


Christ Church Parish
Gulf Coast Council 773
18 W Wright St
Pensacola, FL 32501


Christ Church Presbyerian
Northwest Georgia Council 100
510 S Tibbs Rd
Dalton, GA 30720


Christ Church Presbyterian
Hawkeye Area Council 172
2000 1st Ave Nw
Cedar Rapids, IA 52405
Christ Church Presbyterian
Northwest Georgia Council 100
510 S Tibbs Rd
Dalton, GA 30720


Christ Church Quaker Farms
Housatonic Council, Bsa 069
470 Quaker Farms Rd
Oxford, CT 06478


Christ Church Sierra Madre
Greater Los Angeles Area 033
170 W Sierra Madre Blvd
Sierra Madre, CA 91024


Christ Church Utd
The Spirit of Adventure 227
10 Arlington St
Dracut, MA 01826


Christ Church Utd Methodist
Denver Area Council 061
690 Colorado Blvd
Denver, CO 80206


Christ Church Utd Methodist
Greater Alabama Council 001
5091 Caldwell Mill Rd
Troop 5
Birmingham, AL 35242


Christ Church Utd Methodist
Monmouth Council, Bsa 347
300 Ridge Rd
Fair Haven, NJ 07704


Christ Church Utd Methodist
Sam Houston Area Council 576
6363 Research Forest Dr
The Woodlands, TX 77381
Christ Church Utd Methodist
Three Harbors Council 636
5109 Washington Ave
Racine, WI 53406


Christ Church Utd Methodist Church
Lincoln Heritage Council 205
4614 Brownsboro Rd
Louisville, KY 40207


Christ Church, Utd Church Of Christ
Pennsylvania Dutch Council 524
247 S Market St
Elizabethtown, PA 17022


Christ Clarion Presbyterian Church
Seneca Waterways 397
415 Thornell Rd
Pittsford, NY 14534


Christ Community Church
Crossroads of America 160
13097 Allisonville Rd
Fishers, IN 46038


Christ Community Church
Greater Tampa Bay Area 089
1895 Overlook Dr
Winter Haven, FL 33884


Christ Community Church
Heart of America Council 307
1100 Kasold Dr
Lawrence, KS 66049


Christ Community Church
Istrouma Area Council 211
P.O. Box 1113
Denham Springs, LA 70727


Christ Community Church
Middle Tennessee Council 560
1215 Hillsboro Rd
Franklin, TN 37069


Christ Community Church
Middle Tennessee Council 560
1530 Woodland Ave
Cookeville, TN 38501


Christ Community Church
National Capital Area Council 082
21660 Red Rum Dr
Ashburn, VA 20147


Christ Community Church ‐ Montreat
Daniel Boone Council 414
396 Geneva Pl
Montreat, NC 28757


Christ Community Church Of The Nazarene
Heart of America Council 307
21385 College Blvd
Olathe, KS 66061


Christ Community Church Of The Nazarene
Longhouse Council 373
3644 Warners Rd
Syracuse, NY 13209


Christ Community Church, Milpitas
Silicon Valley Monterey Bay 055
1000 S Park Victoria Dr
Milpitas, CA 95035


Christ Community Utd Methodist
Grand Canyon Council 010
104 W Wern Ave
Avondale, AZ 85323


Christ Community Utd Methodist Church
Yucca Council 573
P.O. Box 24063
4447 Loma Clara Ct
El Paso, TX 79914


Christ Community Wesleyan Church
Simon Kenton Council 441
6275 Kenney Memorial Ln
Albany, OH 45710


Christ Congregational Church
Connecticut Rivers Council, Bsa 066
1075 Main St
Newington, CT 06111


Christ Congregational Church
National Capital Area Council 082
9525 Colesville Rd
Montgomery County
Silver Spring, MD 20901


Christ Episc Ch Christ Lutheran Ch
Lincoln Heritage Council 205
P.O. Box 1054
Elizabethtown, Ky 42702


Christ Episcopal Church
Atlanta Area Council 092
1210 Wooten Lake Rd Nw
Kennesaw, GA 30144


Christ Episcopal Church
Atlanta Area Council 092
400 Holcomb Bridge Rd
Norcross, GA 30071


Christ Episcopal Church
Baltimore Area Council 220
6800 Oakland Mills Rd
Columbia, MD 21045


Christ Episcopal Church
Black Warrior Council 006
605 Lurleen B Wallace Blvd N
Tuscaloosa, AL 35401
Christ Episcopal Church
Capitol Area Council 564
P.O. Box 638
Cedar Park, TX 78630


Christ Episcopal Church
Circle Ten Council 571
534 W 10th St
Dallas, TX 75208


Christ Episcopal Church
Coastal Carolina Council 550
2304 N Hwy 17
Mount Pleasant, SC 29466


Christ Episcopal Church
Coastal Georgia Council 099
305 Wheeler St
Saint Marys, GA 31558


Christ Episcopal Church
Columbia‐Montour 504
712 E 16th St
Salem Township
Berwick, PA 18603


Christ Episcopal Church
Connecticut Yankee Council Bsa 072
2000 Main St
Stratford, CT 06615


Christ Episcopal Church
Del Mar Va 081
830 Romancoke Rd
Stevensville, MD 21666


Christ Episcopal Church
Five Rivers Council, Inc 375, 1st St
Corning, NY 14830
Christ Episcopal Church
Great Lakes Fsc 272
120 N Military St
Dearborn, MI 48124


Christ Episcopal Church
Great Trail 433
118 S Mantua St
Kent, OH 44240


Christ Episcopal Church
Great Trail 433
2627 Atlantic St Ne
Warren, OH 44483


Christ Episcopal Church
Hawkeye Area Council 172
220 40th St Ne
Cedar Rapids, IA 52402


Christ Episcopal Church
Hudson Valley Council 374
20 Carroll St
Poughkeepsie, NY 12601


Christ Episcopal Church
Istrouma Area Council 211
120 S New Hampshire St
Covington, LA 70433


Christ Episcopal Church
Jersey Shore Council 341
157 Shore Rd
Somers Point, NJ 08244


Christ Episcopal Church
Lake Erie Council 440
3445 Warrensville Center Rd
Shaker Heights, OH 44122


Christ Episcopal Church
Mecklenburg County Council 415
1412 Providence Rd
Charlotte, NC 28207


Christ Episcopal Church
National Capital Area Council 082
8951 Courthouse Rd
Spotsylvania, VA 22553


Christ Episcopal Church
North Florida Council 087
400 San Juan Dr
Ponte Vedra Beach, FL 32082


Christ Episcopal Church
Northern Star Council 250
7305 Afton Rd
Woodbury, MN 55125


Christ Episcopal Church
Ozark Trails Council 306
601 E Walnut St
Springfield, MO 65806


Christ Episcopal Church
Pacific Skyline Council 031
1040 Border Rd
Los Altos, CA 94024


Christ Episcopal Church
Palmetto Council 549
534 Plantation Rd
Lancaster, SC 29720


Christ Episcopal Church
Southeast Louisiana Council 214
1534 7th St
Slidell, LA 70458


Christ Episcopal Church
Twin Rivers Council 364
15 W High St
Ballston Spa, NY 12020
Christ Episcopal Church Medway
Mayflower Council 251
14 School St
Medway, MA 02053


Christ Evangelical Lutheran Church
Cradle of Liberty Council 525
700 Pennsylvania Ave
Oreland, PA 19075


Christ Evangelical Lutheran Church
Laurel Highlands Council 527
Elknud Lane
Johnstown, PA 15905


Christ Evangelical Lutheran Church
Mason Dixon Council 221
216 N Cleveland Ave
Hagerstown, MD 21740


Christ Evangelical Lutheran Church
New Birth of Freedom 544
126 W Main St
Dallastown, PA 17313


Christ Evangelical Lutheran Church
Northern New Jersey Council, Bsa 333
337 N Farview Ave
Paramus, NJ 07652


Christ Evangelical Lutheran Church
Pennsylvania Dutch Council 524
125 E High St
Elizabethtown, PA 17022


Christ Evangelical Lutheran Church
Suffolk County Council Inc 404
P.O. Box 205
Carleton Ave   Nassau St
Islip Terrace, NY 11752
Christ Evangelical Lutheran Church
Theodore Roosevelt Council 386
61 N Grove St
Freeport, NY 11520


Christ Family Church
Cherokee Area Council 556
12070 Dayton Pike
Soddy Daisy, TN 37379


Christ Fellowship Utd Methodist Ch
Alamo Area Council 583
10915 Shaenfield Rd
San Antonio, Tx 78254


Christ First Utd Methodist Church
Allegheny Highlands Council 382
663 Lakeview Ave
Jamestown, NY 14701


Christ First Utd Methodist Church
Great Alaska Council 610
5137 W Fairview Loop
Robert C. Hicks, Pastor
Wasilla, AK 99654


Christ Hamilton Utd Lutheran Church
Minsi Trails Council 502
419 Bossardsville Rd
Stroudsburg, PA 18360


Christ King Catholic School
Three Harbors Council 636
2604 N Swan Blvd
Milwaukee, WI 53226


Christ Life Community
Middle Tennessee Council 560
P.O. Box 529
Smyrna, TN 37167
Christ Lutheran
Simon Kenton Council 441
2314 E Main St
Bexley, OH 43209


Christ Lutheran   School
Great Swest Council 412
7701 Candelaria Rd Ne
Albuquerque, NM 87110


Christ Lutheran Church
Atlanta Area Council 092
176 W Sandtown Rd Sw
Marietta, GA 30064


Christ Lutheran Church
Bay Area Council 574
P.O. Box 948
86 Plantation Ct
Lake Jackson, TX 77566


Christ Lutheran Church
Buffalo Trace 156
131 S State Rd 56
Jasper, IN 47546


Christ Lutheran Church
Capitol Area Council 564
510 Luther Dr
Georgetown, TX 78628


Christ Lutheran Church
Chippewa Valley Council 637
1306 Wilcox St
Menomonie, WI 54751


Christ Lutheran Church
Cradle of Liberty Council 525
1600 Sumneytown Pike
Kulpsville, PA 19443


Christ Lutheran Church
Denver Area Council 061
8997 S Broadway
Highlands Ranch, CO 80129


Christ Lutheran Church
Gamehaven 299
201 Frontage Rd Ne
Byron, MN 55920


Christ Lutheran Church
Glaciers Edge Council 620
220 S Main St
Deforest, WI 53532


Christ Lutheran Church
Glaciers Edge Council 620
237 E Daley St
Spring Green, WI 53588


Christ Lutheran Church
Glaciers Edge Council 620
700 County Rd B
Stoughton, WI 53589


Christ Lutheran Church
Grand Canyon Council 010
2555 S Engler Ave
Yuma, AZ 85365


Christ Lutheran Church
Grand Columbia Council 614
5606 W Lincoln Ave
Yakima, WA 98908


Christ Lutheran Church
Greater Los Angeles Area 033
311 S Citrus St
West Covina, CA 91791


Christ Lutheran Church
Heart of America Council 307
11720 Nieman Rd
Overland Park, KS 66210


Christ Lutheran Church
Lasalle Council 165
2610 Campbell St
Valparaiso, IN 46385


Christ Lutheran Church
Laurel Highlands Council 527
P.O. Box 143
Grantsville, MD 21536


Christ Lutheran Church
Mid‐America Council 326
517 8th St
Wisner, NE 68791


Christ Lutheran Church
Middle Tennessee Council 560
2425 Kirkwood Rd
Clarksville, TN 37043


Christ Lutheran Church
Minsi Trails Council 502
1245 Hamilton St
Allentown, PA 18102


Christ Lutheran Church
Minsi Trails Council 502
189 Church Rd
Jim Thorpe, PA 18229


Christ Lutheran Church
Minsi Trails Council 502
69 Main St
Hellertown, PA 18055


Christ Lutheran Church
Mississippi Valley Council 141 141
333 S 36th St
Quincy, IL 62305
Christ Lutheran Church
New Birth of Freedom 544
66 S Main St
Manchester, PA 17345


Christ Lutheran Church
Northeast Illinois 129
595 N Deerpath Dr
Vernon Hills, IL 60061


Christ Lutheran Church
Northern New Jersey Council, Bsa 333
32 Pascack Rd
Woodcliff Lake, NJ 07677


Christ Lutheran Church
Northern Star Council 250
510 Germain St
Somerset, WI 54025


Christ Lutheran Church
Orange County Council 039
2715 E La Veta Ave
Orange, CA 92869


Christ Lutheran Church
Orange County Council 039
820 W Imperial Hwy
Brea, CA 92821


Christ Lutheran Church
Pathway To Adventure 456
41 S Rohlwing Rd
Palatine, IL 60074


Christ Lutheran Church
Pathway To Adventure 456
60 55th St
Clarendon Hills, IL 60514


Christ Lutheran Church
Sam Houston Area Council 576
1104 Carlee Dr
Brenham, TX 77833


Christ Lutheran Church
Sioux Council 733
701 N Main Ave
Hartford, SD 57033


Christ Lutheran Church
Southern Shores Fsc 783
4250 Page Ave
Michigan Center, MI 49254


Christ Lutheran Church
Suffolk County Council Inc 404
189 Burr Rd
East Nport, NY 11731


Christ Lutheran Church
Theodore Roosevelt Council 386
3384 Island Rd
Wantagh, NY 11793


Christ Lutheran Church
W.L.A.C.C. 051
25816 Tournament Rd
Rd
Valencia, CA 91355


Christ Lutheran Church
Western Massachusetts Council 234
568 College Hwy
P.O. Box 1107
Southwick, MA 01077


Christ Lutheran Church ‐ Lincoln
Cornhusker Council 324
4325 Sumner St
Lincoln, NE 68506


Christ Lutheran Church Elca
Quivira Council, Bsa 198
P.O. Box 347
315 N Elm St
Eureka, KS 67045


Christ Lutheran Church Men In Mission
Northern Lights Council 429
502 17th St Nw
Minot, ND 58703


Christ Lutheran Church Of Capitol Hill
Northern Star Council 250
105 University Ave W
Saint Paul, MN 55103


Christ Lutheran Church Of Federal Way
Pacific Harbors Council, Bsa 612
2501 SW 320th St
Federal Way, WA 98023


Christ Lutheran Church Of Yakima
Grand Columbia Council 614
5606 W Lincoln Ave
Yakima, WA 98908


Christ Lutheran Church On Capitol Hill
Northern Star Council 250
105 University Ave W
Saint Paul, MN 55103


Christ Lutheran Church Outreach Program
Minsi Trails Council 502
189 Church Rd
Jim Thorpe, PA 18229


Christ Lutheran Men In Mission
Northern Lights Council 429
502 17th St Nw
Minot, ND 58703


Christ Lutheran Ministries
Orange County Council 039
760 Victoria St
Costa Mesa, CA 92627


Christ Lutheran School
Mid‐America Council 326
511 S 5th St
Norfolk, NE 68701


Christ Memorial Lutheran Church
Greater St Louis Area Council 312
5252 S Lindbergh Blvd
Saint Louis, MO 63126


Christ Memorial Lutheran Church
Northern Star Council 250
13501 Sunset Trl
Plymouth, MN 55441


Christ Memorial Lutheran Church Lcms
Sam Houston Area Council 576
14200 Memorial Dr
Houston, TX 77079


Christ Memorial Presbyterian Church
Baltimore Area Council 220
6410 Amherst Ave
Columbia, MD 21046


Christ Methodist   Presbyterian Utd
Cascade Pacific Council 492
412 Clay St W
Monmouth, OR 97361


Christ Methodist Church
Twin Rivers Council 364
Bay St
Glens Falls, NY 12801


Christ Our King Church
Coastal Carolina Council 550
1122 Russell Dr
Mount Pleasant, SC 29464
Christ Our King Presbyterian Church
Baltimore Area Council 220
10 Lexington Rd
Bel Air, MD 21014


Christ Our Light Church
Twin Rivers Council 364
15 Exchange St
Albany, NY 12205


Christ Our Redeemer Catholic Church
Gulf Coast Council 773
1028 White Point Rd
Niceville, FL 32578


Christ Our Savior Lutheran Church
Great Alaska Council 610
1612 Oceanview Dr
Anchorage, AK 99515


Christ Our Savior Lutheran Church
Longs Peak Council 062
640 Alpine St
Longmont, CO 80504


Christ Presbyterian Church
Central Florida Council 083
1035 W Granada Blvd
Ormond Beach, FL 32174


Christ Presbyterian Church
Crossroads of America 160
7879 N Carroll Rd
Mc Cordsville, IN 46055


Christ Presbyterian Church
Dan Beard Council, Bsa 438
5657 Pleasant View Dr
Milford, OH 45150
Christ Presbyterian Church
Glaciers Edge Council 620
444 E Gorham St
Madison, WI 53703


Christ Presbyterian Church
Marin Council 035
620 Del Ganado Rd
San Rafael, CA 94903


Christ Presbyterian Church
Middle Tennessee Council 560
2323 Old Hickory Blvd
Nashville, TN 37215


Christ Presbyterian Church
Northern Star Council 250
6901 Normandale Rd
Edina, MN 55435


Christ Presbyterian Church
Southwest Florida Council 088
515 Upper Manatee River Rd Ne
Bradenton, FL 34212


Christ Presbyterian Church Usa
Suwannee River Area Council 664
2317 Bannerman Rd
Tallahassee, FL 32312


Christ Prince Of Peace
Moraine Trails Council 500
718 4th Ave
Ford City, PA 16226


Christ Prince Of Peace Church
Greater St Louis Area Council 312
415 Weidman Rd
Manchester, MO 63011


Christ S Church
East Carolina Council 426
745 Davenport Farm Rd
Winterville, NC 28590


Christ S Church/Bowling Green
1106 Conneaut Ave
Bowling Green, OH 43402


Christ S Greenfield Lutheran Church
Grand Canyon Council 010
425 N Greenfield Rd
Gilbert, AZ 85234


Christ S Kingdom Builders Ministries
Indian Nations Council 488
9230 Osage St
Muskogee, OK 74403


Christ S Prince Of Peace
Knights Of Columbus
Trapper Trails 589, Bldg 351
Crow Hall
Hill Afb, Ut 84056


Christ S Reformed Church
Mason Dixon Council 221
130 W Franklin St
Hagerstown, MD 21740


Christ School
Daniel Boone Council 414
500 Christ School Rd
Arden, NC 28704


Christ Temple Apostolic Church
Mobile Area Council‐Bsa 004
801 Virginia St
Mobile, AL 36603


Christ The Cornerstone Lutheran Church
San Diego Imperial Council 049
9028 Wmore Rd
San Diego, CA 92126
Christ The Divine Teacher Catholic Acad
Laurel Highlands Council 527
207 Brilliant Ave
Pittsburgh, PA 15215


Christ The Good Shepard Catholic Church
Water and Woods Council 782
2445 N Charles St
Saginaw, MI 48602


Christ The Good Shepherd Catholic Church
Sam Houston Area Council 576
18511 Klein Church Rd
Spring, TX 77379


Christ The Good Shepherd Lutheran Church
Cascade Pacific Council 492
4440 State St
Salem, OR 97301


Christ The Good Shepherd Lutheran Church
Silicon Valley Monterey Bay 055
1550 Meridian Ave
San Jose, CA 95125


Christ The Good Shepherd Parish
Garden State Council 690
1655 Magnolia Rd
Vineland, NJ 08361


Christ The Incarnate Word Catholic Ch
Sam Houston Area Council 576
8503 S Kirkwood Rd
Houston, Tx 77099


Christ The King
Inland Nwest Council 611
1700 E Pennsylvania Ave
Coeur D Alene, ID 83814
Christ The King
Three Harbors Council 636
7750 N 60th St
Milwaukee, WI 53223


Christ The King Catholic Ch Little Rock
Quapaw Area Council 018
4000 N Rodney Parham Rd
Little Rock, Ar 72212


Christ The King Catholic Ch Madisonville
Lincoln Heritage Council 205
1600 Kingsway Dr
Madisonville, Ky 42431


Christ The King Catholic Church
Atlanta Area Council 092
2699 Peachtree Rd Ne
Atlanta, GA 30305


Christ The King Catholic Church
Blue Mountain Council 604
1111 Stevens Dr
Richland, WA 99354


Christ The King Catholic Church
Buffalo Trace 156
P.O. Box 156
Ferdinand, IN 47532


Christ The King Catholic Church
Circle Ten Council 571
8017 Preston Rd
Dallas, TX 75225


Christ The King Catholic Church
Grand Canyon Council 010
1551 E Dana Ave
Mesa, AZ 85204


Christ The King Catholic Church
Greater St Louis Area Council 312
7324 Balson Ave
Saint Louis, MO 63130


Christ The King Catholic Church
Greater Tampa Bay Area 089
821 S Dale Mabry Hwy
Tampa, FL 33609


Christ The King Catholic Church
Jayhawk Area Council 197
5973 SW 25th St
Topeka, KS 66614


Christ The King Catholic Church
Mt Diablo‐Silverado Council 023
199 Brandon Rd
Pleasant Hill, CA 94523


Christ The King Catholic Church
North Florida Council 087
742 Arlington Rd N
Jacksonville, FL 32211


Christ The King Catholic Church
Northern Star Council 250
5029 Zenith Ave S
Minneapolis, MN 55410


Christ The King Catholic Church
Norwela Council 215
425 Mccormick St
Bossier City, LA 71111


Christ The King Catholic Church
Rio Grande Council 775
2255 Smost Rd
Brownsville, TX 78521


Christ The King Catholic Church
Southeast Louisiana Council 214
535 Deerfield Rd
Terrytown, LA 70056
Christ The King Catholic Church ‐ Gering
Longs Peak Council 062
P.O. Box 33
1730 N Stret
Gering, NE 69341


Christ The King Catholic Men S Group
Longs Peak Council 062
P.O. Box 33
Gering, NE 69341


Christ The King Catholic Parish
Cascade Pacific Council 492
7414 SE Michael Dr
Portland, OR 97222


Christ The King Church
Baltimore Area Council 220
126 Dorsey Rd
Glen Burnie, MD 21061


Christ The King Church
Cradle of Liberty Council 525
3252 Chesterfield Rd
Philadelphia, PA 19114


Christ The King Church
Mid‐America Council 326
654 S 86th St
Omaha, NE 68114


Christ The King Church
Northeastern Pennsylvania Council 501
417 Main St
Eynon, PA 18403


Christ The King Church Of East Bay
President Gerald R Ford 781
3801 Shore Rd
Williamsburg, MI 49690
Christ The King Church Of East Bay
President Gerald R Ford 781
P.O. Box 95
3801 Shore Rd
Williamsburg, MI 49690


Christ The King Episcopal Church
Colonial Virginia Council 595
4109 Big Bethel Rd
Yorktown, VA 23693


Christ The King Lutheran Church
Alamo Area Council 583
1129 Pat Booker Rd
Universal City, TX 78148


Christ The King Lutheran Church
Bay‐Lakes Council 635
440 Stoneville Rd
Ishpeming, MI 49849


Christ The King Lutheran Church
Chief Seattle Council 609
3730 148th Ave Se
Bellevue, WA 98006


Christ The King Lutheran Church
Dan Beard Council, Bsa 438
7393 Dimmick Rd
West Chester, OH 45069


Christ The King Lutheran Church
Golden Empire Council 047
5811 Walnut Ave
Orangevale, CA 95662


Christ The King Lutheran Church
Great Swest Council 412
495 Florida Rd
Durango, CO 81301
Christ The King Lutheran Church
Greater Los Angeles Area 033
2706 W 182nd St
Torrance, CA 90504


Christ The King Lutheran Church
Greater Tampa Bay Area 089
11220 Oakhurst Rd
Largo, FL 33774


Christ The King Lutheran Church
Indian Waters Council 553
7239 Patterson Rd
Columbia, SC 29209


Christ The King Lutheran Church
Inland Nwest Council 611
5350 N 4th St
Coeur D Alene, ID 83815


Christ The King Lutheran Church
Mid‐America Council 326
7308 S 42nd St
Bellevue, NE 68147


Christ The King Lutheran Church
National Capital Area Council 082
10550 Georgetown Pike
Great Falls, VA 22066


Christ The King Lutheran Church
Northern Lights Council 429
1900 14th St S
Moorhead, MN 56560


Christ The King Lutheran Church
Northern Star Council 250
1040 S Grade Rd Sw
Hutchinson, MN 55350


Christ The King Lutheran Church
Northern Star Council 250
1900 7th St Nw
New Brighton, MN 55112


Christ The King Lutheran Church
Northern Star Council 250
8600 Fremont Ave S
Bloomington, MN 55420


Christ The King Lutheran Church
Occoneechee 421
600 Walnut St
Cary, NC 27511


Christ The King Lutheran Church
Pikes Peak Council 060
950 Vindicator Dr
Colorado Springs, CO 80919


Christ The King Lutheran Church
Potawatomi Area Council 651
1600 N Genesee St
Delafield, WI 53018


Christ The King Lutheran Church
Sam Houston Area Council 576
3803 W Lake Houston Pkwy
Kingwood, TX 77339


Christ The King Lutheran Church
San Francisco Bay Area Council 028
1301 Mowry Ave
Fremont, CA 94538


Christ The King Lutheran Church
Southeast Louisiana Council 214
1001 W Esplanade Ave
Kenner, LA 70065


Christ The King Lutheran Church
Twin Valley Council Bsa 283
222 Pfau St
Mankato, MN 56001
Christ The King Lutheran School
Great Lakes Fsc 272
15600 Trenton Rd
Southgate, MI 48195


Christ The King Men S Club
Abraham Lincoln Council 144
1930 Barberry Dr
Springfield, IL 62704


Christ The King Parish
Baltimore Area Council 220
126 Dorsey Rd
Glen Burnie, MD 21061


Christ The King Parish
Cape Cod and Islands Cncl 224
P.O. Box 1800
Mashpee, MA 02649


Christ The King Parish
Daniel Webster Council, Bsa 330
72 S Main St
Concord, NH 03301


Christ The King Parish
Mayflower Council 251
54 Lyman St
Brockton, MA 02301


Christ The King Parish
Narragansett 546
180 Old N Rd
Kingston, RI 02881


Christ The King Parish
Tidewater Council 596
1803 Columbia Ave
Norfolk, VA 23509
Christ The King Parish Council
Middle Tennessee Council 560
3001 Belmont Blvd
Nashville, TN 37212


Christ The King Parish Council
Southern Sierra Council 030
1800 Bedford Way
Bakersfield, CA 93308


Christ The King Roman Catholic Church
Blue Grass Council 204
299 Colony Blvd
Lexington, KY 40502


Christ The King Roman Catholic Church
Erie Shores Council 460
4100 Harvest Ln
Toledo, OH 43623


Christ The King Roman Catholic Church
Lasalle Council 165
52473 Indiana State Route 933
South Bend, IN 46637


Christ The King Roman Catholic Church
Narragansett 546
130 Legris Ave
West Warwick, RI 02893


Christ The King Roman Catholic Church
Westchester Putnam 388
740 N Broadway
Yonkers, NY 10701


Christ The King School
South Plains Council 694
4011 54th St
Lubbock, TX 79413


Christ The King Spiritual Life Center
Twin Rivers Council 364
575 Burton Rd
Greenwich, NY 12834


Christ The Lord Lutheran Church
Northeast Georgia Council 101
1001 Duluth Hwy
Lawrenceville, GA 30043


Christ The Lord Lutheran Church
Three Fires Council 127
12N462 Tina Trl
Elgin, IL 60124


Christ The Redeemer Catholic Church
Northeast Georgia Council 101
8875 Stone River Dr
Gainesville, GA 30506


Christ The Redeemer Catholic Church
Sam Houston Area Council 576
11507 Huffmeister Rd
Houston, TX 77065


Christ The Savior Lutheran Church
Denver Area Council 061
1092 S Nome St
Aurora, CO 80012


Christ The Servant Lutheran Church
Circle Ten Council 571
821 S Greenville Ave
Allen, TX 75002


Christ The Servant Lutheran Church
Las Vegas Area Council 328
2 S Pecos Rd
Henderson, NV 89074


Christ The Shepherd Luthern Church
Atlanta Area Council 092
4655 Webb Bridge Rd
Alpharetta, GA 30005
Christ The Vine Lutheran Church
Cascade Pacific Council 492
18677 SE Hwy 212
Damascus, OR 97089


Christ Ucc
Minsi Trails Council 502
109 S Chestnut St
Bath, PA 18014


Christ Unity Church Of Sacramento
Golden Empire Council 047
9249 Folsom Blvd
Sacramento, CA 95826


Christ Utd Baptist Fellowship
West Tennessee Area Council 559
5774 Millsfield Hwy
Dyersburg, TN 38024


Christ Utd Church
Sam Houston Area Council 576
14207 Telge Rd
Cypress, TX 77429


Christ Utd Church Of Christ
Minsi Trails Council 502
P.O. Box 187
460 Main St
Conyngham, PA 18219


Christ Utd Evan Lutheran Church
Columbia‐Montour 504
116 Church St
Catawissa, PA 17820


Christ Utd Methodist Church
Alamo Area Council 583
102 SE Main St
Stockdale, TX 78160
Christ Utd Methodist Church
Alliance
Buckeye Council 436
470 E Broadway St
Alliance, Oh 44601


Christ Utd Methodist Church
Atlanta Area Council 092
1340 Woodstock Rd
Roswell, GA 30075


Christ Utd Methodist Church
Black Swamp Area Council 449
215 N Fulton St
Wauseon, OH 43567


Christ Utd Methodist Church
Buckeye Council 436
1140 Claremont Ave
Ashland, OH 44805


Christ Utd Methodist Church
Cascade Pacific Council 492
12755 NW Dogwood St
Portland, OR 97229


Christ Utd Methodist Church
Central Florida Council 083
7795 Babcock St Se
Palm Bay, FL 32909


Christ Utd Methodist Church
Central Georgia Council 096
511 Russell Pkwy
Warner Robins, GA 31088


Christ Utd Methodist Church
Cherokee Area Council 556
8645 E Brainerd Rd
Chattanooga, TN 37421
Christ Utd Methodist Church
Chickasaw Council 558
4488 Poplar Ave
Memphis, TN 38117


Christ Utd Methodist Church
Circle Ten Council 571
2807 Valwood Pkwy
Farmers Branch, TX 75234


Christ Utd Methodist Church
Circle Ten Council 571
3101 Coit Rd
Plano, TX 75075


Christ Utd Methodist Church
Colonial Virginia Council 595
133 Deep Creek Rd
Newport News, VA 23606


Christ Utd Methodist Church
Cornhusker Council 324
4530 A St
Lincoln, NE 68510


Christ Utd Methodist Church
Cradle of Liberty Council 525
1020 S Valley Forge Rd
Lansdale, PA 19446


Christ Utd Methodist Church
Cradle of Liberty Council 525
600 E Dutton Mill Rd
Brookhaven, PA 19015


Christ Utd Methodist Church
Crossroads of America 160
318 N Union St
Westfield, IN 46074


Christ Utd Methodist Church
Crossroads of America 160
8540 US 31 S
Indianapolis, IN 46227


Christ Utd Methodist Church
Crossroads of America 160
P.O. Box 743
Westfield, IN 46074


Christ Utd Methodist Church
Del Mar Va 081
6 N Clifton Ave
Roselle
Wilmington, DE 19805


Christ Utd Methodist Church
Del Mar Va 081
6253 Church St
Chincoteague, VA 23336


Christ Utd Methodist Church
Erie Shores Council 460
P.O. Box 137
Portage, OH 43451


Christ Utd Methodist Church
French Creek Council 532
2615 W 32nd St
Erie, PA 16506


Christ Utd Methodist Church
Gamehaven 299
400 5th Ave Sw
Rochester, MN 55902


Christ Utd Methodist Church
Great Salt Lake Council 590
2375 E 3300 S
Salt Lake City, UT 84109


Christ Utd Methodist Church
Great Smoky Mountain Council 557
7535 Maynardville Pike
Knoxville, TN 37938


Christ Utd Methodist Church
Greater St Louis Area Council 312
1503 N Summit Ave
Decatur, IL 62526


Christ Utd Methodist Church
Hawk Mountain Council 528
400 E Grand Ave
Tower City, PA 17980


Christ Utd Methodist Church
Heart of America Council 307
14506 E 39th St S
Independence, MO 64055


Christ Utd Methodist Church
Hudson Valley Council 374
60 Union St
Beacon, NY 12508


Christ Utd Methodist Church
Illowa Council 133
3801 7th St
East Moline, IL 61244


Christ Utd Methodist Church
Indian Nations Council 488
3515 S Harvard Ave
Tulsa, OK 74135


Christ Utd Methodist Church
Lake Erie Council 440
3625 W 138th St
Cleveland, OH 44111


Christ Utd Methodist Church
Laurel Highlands Council 527
44 Highland Rd
Bethel Park, PA 15102
Christ Utd Methodist Church
Lincoln Heritage Council 205
716 Cave Mill Rd
Bowling Green, KY 42104


Christ Utd Methodist Church
Longhorn Council 662
3301 Sycamore School Rd
Fort Worth, TX 76123


Christ Utd Methodist Church
Longhorn Council 662
3301 Sycamore School Rd
Fort Worth, TX 76133


Christ Utd Methodist Church
Louisville
Buckeye Council 436
600 E Gorgas St
Louisville, Oh 44641


Christ Utd Methodist Church
Mecklenburg County Council 415
8020 Bellhaven Blvd
Charlotte, NC 28216


Christ Utd Methodist Church
Miami Valley Council, Bsa 444
3440 Shroyer Rd
Kettering, OH 45429


Christ Utd Methodist Church
Mobile Area Council‐Bsa 004
6101 Grelot Rd
Mobile, AL 36609


Christ Utd Methodist Church
National Capital Area Council 082
7600 Ox Rd
Fairfax Station, VA 22039
Christ Utd Methodist Church
New Birth of Freedom 544
202 N Main St
Jacobus, PA 17407


Christ Utd Methodist Church
North Florida Council 087
400 Penman Rd
Neptune Beach, FL 32266


Christ Utd Methodist Church
Northeastern Pennsylvania Council 501
175 S Main Rd
Mountain Top, PA 18707


Christ Utd Methodist Church
Norwela Council 215
1204 Crabapple Dr
Shreveport, LA 71118


Christ Utd Methodist Church
Occoneechee 421
800 Market St
Chapel Hill, NC 27516


Christ Utd Methodist Church
Ohio River Valley Council 619
1232 National Rd
Wheeling, WV 26003


Christ Utd Methodist Church
Old N State Council 070
410 N Holden Rd
Greensboro, NC 27410


Christ Utd Methodist Church
Piedmont Council 420
2416 Zion Church Rd
Hickory, NC 28602


Christ Utd Methodist Church
Piedmont Council 420
3415 Union Rd
Gastonia, NC 28056


Christ Utd Methodist Church
Randolph
Northern Star Council 250
29470 Gaylord Ave
Cannon Falls, Mn 55009


Christ Utd Methodist Church
Sagamore Council 162
3610 S 18th St
Lafayette, IN 47909


Christ Utd Methodist Church
Sam Houston Area Council 576
3300 Austin Pkwy
Sugar Land, TX 77479


Christ Utd Methodist Church
Sam Houston Area Council 576
4203 State Hwy 6 S
College Station, TX 77845


Christ Utd Methodist Church
Simon Kenton Council 441
150 Portsmouth St
Jackson, OH 45640


Christ Utd Methodist Church
Simon Kenton Council 441
700 S Main St
Baltimore, OH 43105


Christ Utd Methodist Church
Simon Kenton Council 441
P.O. Box 748
10 N Cedar St
Newark, OH 43058


Christ Utd Methodist Church
Southwest Florida Council 088
1430 Homestead Rd N
Lehigh Acres, FL 33936


Christ Utd Methodist Church
Susquehanna Council 533
P.O. Box 268
Northumberland, PA 17857


Christ Utd Methodist Church
Three Fires Council 127
920 S Swain Ave
Elmhurst, IL 60126


Christ Utd Methodist Church
Washington Crossing Council 777
501 Wistar Rd
Fairless Hills, PA 19030


Christ Utd Methodist Church
Water and Woods Council 782
3322 E Huron Rd
Au Gres, MI 48703


Christ Utd Methodist Church
Westmoreland Fayette 512
2800 Coulterville Rd
N Huntingdon, PA 15642


Christ Utd Methodist Church Mens Club
Yocona Area Council 748
3161 Shiloh Rd
Corinth, MS 38834


Christ Utd Methodist Church Of Casper
Greater Wyoming Council 638
1868 S Poplar St
Casper, WY 82601


Christ Utd Methodist Men
Montana Council 315
2900 9th Ave S
Great Falls, MT 59405
Christ Utd Methodist Men
Yocona Area Council 748
3161 E Shiloh Rd
Corinth, MS 38834


Christ Utd Presbyterian
San Diego Imperial Council 049
3035 Fir St
San Diego, CA 92102


Christ Wesleyan Church
Old N State Council 070
2400 S Holden Rd
Greensboro, NC 27407


Christ, Prince Of Peace
Moraine Trails Council 500
740 4th Ave
Ford City, PA 16226


Christa Baird
Address Redacted


Christa Parish
Address Redacted


Christchurch Parish
Heart of Virginia Council 602
P.O. Box 476
Saluda, VA 23149


Christchurch Presbyterian
Sam Houston Area Council 576
5001 Bellaire Blvd
Bellaire, TX 77401


Christel Jackson
Address Redacted
Christel Jones
Address Redacted


Christen Dunn
Address Redacted


Christene Tessmer
Address Redacted


Christi Medley
Address Redacted


Christian A Walsh
Address Redacted


Christian Academy
Miami Valley Council, Bsa 444
2151 W Russell Rd
Sidney, OH 45365


Christian Academy In Japan
Far E Council 803
1‐2‐14 Shinkawa‐Cho
Higashi,
Japan


Christian Activity Center
Greater St Louis Area Council 312
540 N 6th St
East Saint Louis, IL 62201


Christian And Missionary Alliance Church
Miami Valley Council, Bsa 444
306 Devor St
Greenville, OH 45331


Christian Andersen Jr
Address Redacted


Christian Appalachian Project
Blue Grass Council 204
P.O. Box 459
Hagerhill, KY 41222


Christian Book Services, LLC
307 Verde Meadow Dr
Franklin, TN 37067


Christian Brothers Academy
c/o Br Thomas Zoppo Fsc
6245 Randall Rd
Syracuse, NY 13214


Christian Brothers Catholic School
Southeast Louisiana Council 214
4600 Canal St
New Orleans, LA 70124


Christian Care Retirement Community
Anthony Wayne Area 157
720 E Dustman Rd
Bluffton, IN 46714


Christian Christensen
Address Redacted


Christian Church ‐ Carlisle
Mid Iowa Council 177
625 Elm St
Carlisle, IA 50047


Christian Church ‐ Osceola
Mid Iowa Council 177
300 S Main St
Osceola, IA 50213


Christian Church Of Lemon Grove
San Diego Imperial Council 049
6970 San Miguel Ave
Lemon Grove, CA 91945
Christian City Church
Cascade Pacific Council 492
17979 Stafford Rd
Lake Oswego, OR 97034


Christian City Of Praise
Georgia‐Carolina 093
1510 Halton Rd
Augusta, GA 30909


Christian Cloud
Address Redacted


Christian Community Presbyterian Church
National Capital Area Council 082
3120 Belair Dr
Bowie, MD 20715


Christian Da Luz
Address Redacted


Christian Dudzinski
Address Redacted


Christian Education Commission
Stonewall Jackson Council 763
420 College View Dr
Bridgewater, VA 22812


Christian Fellowship Baptist Church
Atlanta Area Council 092
1500 Norman Dr
Atlanta, GA 30349


Christian Fellowship Ministries Inc
Rip Van Winkle Council 405
230 Kings Mall Ct 150
Kingston, NY 12401


Christian Fellowship School
Great Rivers Council 653
4600 Christian Fellowship Rd
Columbia, MO 65203


Christian Hayes
Address Redacted


Christian Homeschool Parents Of 4031
Circle Ten Council 571
813 Fairlawn St
Allen, TX 75002


Christian Hospital
Greater St Louis Area Council 312
11133 Dunn Rd
Saint Louis, MO 63136


Christian Hughes
Address Redacted


Christian Life Assembly
Inland Nwest Council 611
P.O. Box 276
Saint John, WA 99171


Christian Life Center
Greater St Louis Area Council 312
1901 N Park Ave
Herrin, IL 62948


Christian Long
Address Redacted


Christian Men S Fellowship
Fredericktown Christian Church
Greater St Louis Area Council 312
208 W Main St
Fredericktown, Mo 63645


Christian Mens Fellowship
East Carolina Council 426
P.O. Box 205
3776 S Main St
Farmville, NC 27828


Christian Mens Fellowship Murray
Lincoln Heritage Council 205
111 N 5th St
Murray, KY 42071


Christian Miller
Address Redacted


Christian Park 82 As
Crossroads of America 160
4700 English Ave
Indianapolis, IN 46201


Christian R Chavez
Address Redacted


Christian Roger Morris
Address Redacted


Christian Service Commission
Great Lakes Fsc 272
22430 Michigan Ave
Dearborn, MI 48124


Christian T Holyoak
Address Redacted


Christian Townsend
Address Redacted


Christian/Missionary Alliance Maranatha
774 Sing Sing Rd
Horseheads, NY 14845


Christiana Buchalski
Address Redacted
Christiana Care Health Systems
Del Mar Va 081
131 Continental Dr, Ste 202
Newark, DE 19713


Christiana Josephine Buchalski
Address Redacted


Christiana Lutheran Church
Central N Carolina Council 416
6190 US Hwy 52
Salisbury, NC 28146


Christiana Lutheran Church
Central N Carolina Council 416
6190Us52Hwy
Salisbury, NC 28144


Christiana Utd Methodist Church
Del Mar Va 081
21 W Main St
Christiana, DE 19702


Christiane Bushko
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ChristiannetcastCom
1920 Ctrville Tpke, Suite 117‐269
Virginia Beach, VA 23464


Christiansburg Presbyterian Church
Blue Ridge Mtns Council 599
107 W Main St
Christiansburg, VA 24073


Christiansburg Rescue
Blue Ridge Mtns Council 599
190 Depot St W
Christiansburg, VA 24073
Christianson Bus Co LLC
6 Burning Tree Ln
Chelmsford, MA 01824


Christie Christensen
Address Redacted


Christie Franke
Address Redacted


ChristieS Appraisals, Inc
20 Rockefeller Plaza
New York, NY 10020


Christina A Leiva
Address Redacted


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Address Redacted


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Christine Duncan Heritage Academy
Great Swest Council 412
1900 Atrisco Dr Nw
Albuquerque, NM 87120


Christine Friswold
Address Redacted


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Christine Whitwell
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Christmas Civic Assoc Inc
Central Florida Council 083
P.O. Box 473
Christmas, FL 32709


Christmas Point Inc
14803 Edgewood Dr
Baxter, MN 56425


Christophe Keener
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Christopher Adamson
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Christopher Aker/Linode, LLC
329 E Jimme Leeds Rd, Ste A
Galloway, NJ 08205‐4110


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Obo Kenneth Hall
33 N Dearborn St, Ste 1430
Chicago, IL 60602


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Christopher Taylor Photography
13428 Maxella Ave 376
Marina Del Rey, CA 90292


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Christopher Wiseman
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Christopher Young
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Christopher Zarada
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Christopher Zeitler
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Christos Victor Lutheran Church
Baltimore Area Council 220
9833 Harford Rd
Parkville, MD 21234


Christs Church At Mason
Dan Beard Council, Bsa 438
5165 Wern Row Rd
Mason, OH 45040


Christs Church At Whitewater
Flint River Council 095
1577 Hwy 85 S
Fayetteville, GA 30215


Christs Church Camden
Coastal Georgia Council 099
201 Kings Bay Rd
Kingsland, GA 31548


Christs Haven For Children
Longhorn Council 662
4200 Keller Haslet Rd
Fort Worth, TX 76244


Christs Utd Lutheran Church
Susquehanna Council 533
13765 Old Turnpike Rd
Millmont, PA 17845


Christus Building Corp Church
Greater St Louis Area Council 312
318 N Adams
Festus, MO 63028


Christus Lutheran Church Brotherhood
Bay‐Lakes Council 635
120 N Main St
Clintonville, WI 54929


Christus Victor Lutheran Church
Bay Area Council 574
2098 W Main St
League City, TX 77573


Christus Victor Lutheran Church
Pathway To Adventure 456
1045 S Arlington Heights Rd
Elk Grove Village, IL 60007


Christus Victor Lutheran Church
Pine Burr Area Council 304
Hwy 90 E
Ocean Springs, MS 39564


Christus Victor Lutheran Elca
Occoneechee 421
1615 E Hwy 54
Durham, NC 27713


Christus Victor Lutheran Elca
Occoneechee 421
1619 E Hwy 54
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Christy Bianchi
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Christy Clark
Address Redacted


Christy Donley‐Hauer
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Christy Gaye Hendon
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Christy Hendon
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Christy Hobbs
Address Redacted


Christy Marie Costa
Address Redacted


Christy S Kids
Gulf Stream Council 085
13380 83rd Ln N
West Palm Beach, FL 33412


Chronicle Of Higher Education
P.O. Box 16359
North Hollywood, CA 91615‐6359


Chronicle Of Philanthropy
P.O. Box 699
Mt Morris, IL 61054‐8431


Chs Mobile Integrated Health Care
Seneca Waterways 397
280 Calkins Rd
Rochester, NY 14623


Chubb Group Of Insurance Companies
15 Mountain View Rd
Warren, NJ 07059
Chubb Group of Insurance Companies
202B Hall s Mill Rd
Whitehouse Station, NJ 08889


Chuck Atkinson, Inc
dba Cap Software
4100 International Plaza, Ste 510
Fort Worth, TX 76109


Chuck Hedrick
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Chuck S Sport Shop
630 N 4th St
Tomahawk, WI 54487


Chuckatuck Ruritan Club
Colonial Virginia Council 595
Chuckatuck Sta
Suffolk, VA 23432


Chugach Parents For Scouting
Great Alaska Council 610
8301 Ginami Cir
Anchorage, AK 99516


Chula Vista Border Patrol
Domenico Cinelli Post 1326
2411 Boswell Rd
Chula Vista, CA 91914


Chula Vista Border Patrol
San Diego Imperial Council 049
P.O. Box 210038
Chula Vista, CA 91921


Chula Vista Fire Dept
San Diego Imperial Council 049
447 F St
Chula Vista, CA 91910
Chula Vista Police Dept
San Diego Imperial Council 049
315 4th Ave
Chula Vista, CA 91910


Chums
2424 S 2570 W
Salt Lake City, UT 84119


Church At Battle Creek
Indian Nations Council 488
3201 N Aspen Ave
Broken Arrow, OK 74012


Church At Litchfield Park
Grand Canyon Council 010
300 N Old Litchfield Rd
Litchfield Park, AZ 85340


Church At South Creek
Central Florida Council 083
P.O. Box 620091
Orlando, FL 32862


Church By The Woods
Dan Beard Council, Bsa 438
P.O. Box 62443
3755 Cornell Rd
Cincinnati, OH 45262


Church Camp Scholarship Fund
United Methodist Church
309 College Ave
Fruitland Park, FL 34731


Church Christ At 521 S Jefferson Inc
Middle Tennessee Council 560
521 S Jefferson Ave
Cookeville, Tn 38501


Church Copyright License
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Church Good Shepherd Utd Ch Christ
Hawk Mountain Council 528
W Philadelphia Ave
Boyertown, Pa 19512


Church Hill Utd Methodist Church
Juniata Valley Council 497
199 Woodland Cir
Reedsville, PA 17084


Church In Silver Lake
Great Trail 433
2951 Kent Rd
Silver Lake, OH 44224


Church In The Gardens
Greater New York Councils, Bsa 640
50 Ascan Ave
Forest Hills, NY 11375


Church In The Wildwood
Pikes Peak Council 060
P.O. Box 26
Green Mountain Falls, CO 80819


Church Jesus Chirst LDS
Transatlantic Council, Bsa 802
Erich Ollenhauer Stragge 36
65187 Wiesbaden, Biebrich
Germany


Church Jesus Christ Later‐Day Saints
Potawatomi Area Council 651
755 Woelfel Rd
Brookfield Ward
Brookfield, Wi 53045


Church Jesus Christ LDS
134643 Ward 2
Texas Trails Council 561
3325 N 12Th St
Abilene, Tx 79603


Church Jesus Christ LDS
1St Ward Sioux Falls
Sioux Council 733
3900 S Fairhall Ave
Sioux Falls, Sd 57106


Church Jesus Christ LDS
2Nd Ward Sioux Falls
Sioux Council 733
3901 S Fairhall Ave
Sioux Falls, Sd 57106


Church Jesus Christ LDS
2Nd Wd Westchester St
Westchester Putnam 388
111 N Ave
New Rochelle, Ny 10801


Church Jesus Christ LDS
484318 Abilene Stake 514446
Texas Trails Council 561
3325 N 12Th St
Abilene, Tx 79603


Church Jesus Christ LDS
Aberdeen
Sioux Council 733
1103 24Th Ave Nw
Aberdeen, Sd 57401


Church Jesus Christ LDS
Aberdeen
Sioux Council 733
1115 Ne 24Th Ave
1115 Ne Fairgrounds Rd
Aberdeen, Sd 57401


Church Jesus Christ LDS
Andrew Jackson Council 303
102 Quail Cv
Brandon, Ms 39047


Church Jesus Christ LDS
Andrew Jackson Council 303
1617 Tanglewood Dr
Clinton, Ms 39056


Church Jesus Christ LDS
Beaver Valley Ward
Laurel Highlands Council 527
114 Church Dr
Monaca, Pa 15061


Church Jesus Christ LDS
Blackhawk Area 660
115 S Fox Run Ln
Byron, Il 61010


Church Jesus Christ LDS
Blue Grass Council 204
114 Tollage Creek
Pikeville, Ky 41501


Church Jesus Christ LDS
Blue Grass Council 204
2459 Sir Barton Way
Lexington, Ky 40509


Church Jesus Christ LDS
Blue Ridge Mtns Council 599
555 Wview Ave
Bedford, Va 24523


Church Jesus Christ LDS
Blue Ridge Mtns Council 599
1325 Longwood Ave
Bedford, Va 24523


Church Jesus Christ LDS
Botetourt Branch
Blue Ridge Mtns Council 599
6311 Wayburn Dr
Salem, Va 24153


Church Jesus Christ LDS
Brandon
Sioux Council 733
2113 S Copper Crest Trl
Sioux Falls, Sd 57110


Church Jesus Christ LDS
Brookings
Sioux Council 733
1118 42Nd St
Brookings, Sd 57006


Church Jesus Christ LDS
Buckskin 617
2515 Capital Dr
Parkersburg, Wv 26101


Church Jesus Christ LDS
Buckskin 617
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Church Jesus Christ LDS
C/O George B. Estes
Marin Council 035
650 Bugeia Ln
Novato, Ca 94945


Church Jesus Christ LDS
Calcasieu Area Council 209
127 Sapphire Lane
Leesville, La 71446


Church Jesus Christ LDS
Canyon West
South Plains Council 694
7014 Frankford Ave
Lubbock, Tx 79424
Church Jesus Christ LDS
Carmel Ward
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, Nc 28226


Church Jesus Christ LDS
Chickasaw Council 558
4520 Winchester Rd
Memphis, Tn 38118


Church Jesus Christ LDS
Colfax Ward
Old N State Council 070
8934 Us Hwy 421 E
Colfax, Nc 27235


Church Jesus Christ LDS
Colfax Ward
Old N State Council 070
8934 W Market St
Colfax, Nc 27235


Church Jesus Christ LDS
Conrad
Montana Council 315
416 S Kansas St
Conrad, Mt 59425


Church Jesus Christ LDS
Cornelius Ward
Mecklenburg County Council 415
7036 Mcilwain Rd
Huntersville, Nc 28078


Church Jesus Christ LDS
Cradle Of Liberty Council 525
413 Fern Dr
Perkasie, Pa 18944


Church Jesus Christ LDS
Daniel Boone Council 414
91 Monticello Rd
Weaverville, Nc 28787


Church Jesus Christ LDS
Durham Stake, S Boston Ward
Blue Ridge Mtns Council 599
3192 Dan River Church Rd
South Boston, Va 24592


Church Jesus Christ LDS
East Carolina Council 426
3110 Wshire Dr N
Wilson, Nc 27896


Church Jesus Christ LDS
Eden Ward
Old N State Council 070
4751 Nc Hwy 14
Reidsville, Nc 27320


Church Jesus Christ LDS
Eldersburg
Baltimore Area Council 220
7225 Slacks Rd
Eldersburg, Md 21784


Church Jesus Christ LDS
Elizabethtown Ward
Pennsylvania Dutch Council 524
1136 Sunwood Ln
Lancaster, Pa 17601


Church Jesus Christ LDS
Ephrata Ward
Pennsylvania Dutch Council 524
1210 E King St
Lancaster, Pa 17602


Church Jesus Christ LDS
Far E Council 803
Psc 3 Box 8517
Apo, Ap 96266
Church Jesus Christ LDS
Fayetteville
Longhouse Council 373
5070 N Eagle Village Rd
Manlius, Ny 13104


Church Jesus Christ LDS
Fayetteville Branch
Longhouse Council 373
8628 5 Rd E
Fabius, Ny 13063


Church Jesus Christ LDS
Flat Creek Ward
Flint River Council 095
101 S Peachtree Pkwy
Peachtree City, Ga 30269


Church Jesus Christ LDS
Flint River Council 095
3748 Barnesville Hwy
Thomaston, Ga 30286


Church Jesus Christ LDS
French Creek Council 532
1101 S Hill Rd
Erie, Pa 16509


Church Jesus Christ LDS
Guilford Ward
Old N State Council 070
3719 Pinetop Rd
Greensboro, Nc 27410


Church Jesus Christ LDS
Gulfport Stake
Southeast Louisiana Council 214
112 Rue Esplanade
Slidell, La 70461


Church Jesus Christ LDS
Hampstead Ward
Baltimore Area Council 220
4117 Lower Beckleysville Rd
Hampstead, MD 21074


Church Jesus Christ LDS
Harrisburg Ward
Mecklenburg County Council 415
2500 Rocky River Rd
Charlotte, Nc 28213


Church Jesus Christ LDS
Hawk Mountain Council 528
1540 Crossland Rd
Breinigsville, Pa 18031


Church Jesus Christ LDS
Hawk Mountain Council 528
3344 Reading Crest Ave
Reading, Pa 19605


Church Jesus Christ LDS
Heritage
South Plains Council 694
3211 58Th St
Lubbock, Tx 79413


Church Jesus Christ LDS
Hopkins Ward
Indian Waters Council 553
4440 Fort Jackson Blvd
Columbia, Sc 29209


Church Jesus Christ LDS
Hudson Valley Council 374
485 Mount Airy Rd
New Windsor, Ny 12553


Church Jesus Christ LDS
Hudson Valley Council 374
790 Silver Lake ‐ Scotchtown Rd
Middletown, Ny 10941


Church Jesus Christ LDS
Hudson Valley Council 374
Twin Hills Rd
Poughkeepsie, Ny 12601


Church Jesus Christ LDS
Huntersville Ward
Mecklenburg County Council 415
4036 Mcilwaine Rd
Huntersville, Nc 28078


Church Jesus Christ LDS
Huntersville Ward
Mecklenburg County Council 415
7032 Mcilwaine Rd
Huntersville, Nc 28078


Church Jesus Christ LDS
Jersey Shore Council 341
1348 Old Freehold Rd
Toms River, Nj 08753


Church Jesus Christ LDS
Jersey Shore Council 341
624 Zion Rd
Egg Harbor Twp, Nj 08234


Church Jesus Christ LDS
Lakefield Ward
Old N State Council 070
3621 Lakefield Dr
Greensboro, Nc 27406


Church Jesus Christ LDS
Lancaster Ward
Pennsylvania Dutch Council 524
1210 E King St
Lancaster, Pa 17602


Church Jesus Christ LDS
Laplace Wrd No Stk
Southeast Louisiana Council 214
373 Afton Ct
La Pl, La 70068
Church Jesus Christ LDS
Laurel Highlands Council 527
132 Sacred Heart Rd
Monongahela, Pa 15063


Church Jesus Christ LDS
Lds
Northern New Jersey Council, Bsa 333
42 E 39Th St
Paterson, Nj 07514


Church Jesus Christ LDS
Lds
W D Boyce 138
1404 N Motorola Dr
Pontiac, Il 61764


Church Jesus Christ LDS
Lds
Calcasieu Area Council 209
1117 Rose Lee Lane
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Church Jesus Christ LDS
Lds
Laurel Highlands Council 527
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Altoona, Pa 16602


Church Jesus Christ LDS
Lebanon Ward
Pennsylvania Dutch Council 524
455 Church Rd
Lebanon, Pa 17042


Church Jesus Christ LDS
Lititz Ward
Pennsylvania Dutch Council 524
1136 Sunwood Ln
Lancaster, Pa 17601
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Longhouse Council 373
21 Castle Dr
Potsdam, Ny 13676


Church Jesus Christ LDS
Longhouse Council 373
4889 Bear Rd
Liverpool, Ny 13088


Church Jesus Christ LDS
Longhouse Council 373
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Syracuse, Ny 13210


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Longs Peak Council 062
224 Park Knoll Dr
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Luling Brch No Stk
Southeast Louisiana Council 214
321 Lakewood Dr
Luling, La 70070


Church Jesus Christ LDS
Madison Branch
Sioux Council 733
927 N Lee Ave
Madison, Sd 57042


Church Jesus Christ LDS
Mannington Branch
Mountaineer Area 615
2 Kimberly Heights
Farmington, Wv 26571


Church Jesus Christ LDS
Marshall
Sioux Council 733
207 S 4Th St, Unit A
Marshall, Mn 56258
Church Jesus Christ LDS
Maryville Branch
Pony Express Council 311
1721 S Munn Ave
Maryville, Mo 64468


Church Jesus Christ LDS
Matthews Ward
Mecklenburg County Council 415
13925 Thompson Rd
Matthews Ward
Mint Hill, Nc 28227


Church Jesus Christ LDS
Mecklenburg County Council 415
2500 Rocky River Rd
Reedy Creek Ward
Charlotte, Nc 28213


Church Jesus Christ LDS
Mecklenburg County Council 415
2500 Rocky River Rd
University City Ward
Charlotte, Nc 28213


Church Jesus Christ LDS
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, Nc 28226


Church Jesus Christ LDS
Montana Council 315
2929 Belvedere Dr
Billings, Mt 59102


Church Jesus Christ LDS
Montana Council 315
61501 Watson Rd
St Ignatius, Mt 59865


Church Jesus Christ LDS
Monterey Park
South Plains Council 694
6310 114Th St
Lubbock, Tx 79424


Church Jesus Christ LDS
Mountaineer Area 615
179 S Kanawha St
Buckhannon, Wv 26201


Church Jesus Christ LDS
Mt. Island Ward
Mecklenburg County Council 415
7032 Mcilwaine Rd
Huntersville, Nc 28078


Church Jesus Christ LDS
Mt. Island Ward
Mecklenburg County Council 415
Mountain Island Ward
7036 Mcilwaine Rd
Huntersville, Nc 28078


Church Jesus Christ LDS
Natchitoches
Norwela Council 215
Rr 5
Natchitoches, La 11457


Church Jesus Christ LDS
New Philadelphia
Buckeye Council 436
521 Stratton Ave Sw
New Philadelphia, Oh 44663


Church Jesus Christ LDS
Oakland, Nj
Northern New Jersey Council, Bsa 333
72 Monhegan Ave
Oakland, Nj 07436


Church Jesus Christ LDS
Of Yarmouth
Pine Tree Council 218
247 Walnut Hill Rd
North Yarmouth, Me 04097


Church Jesus Christ LDS
Old Hickory Council 427
604 Poplar Grove Rd
Boone, Nc 28607


Church Jesus Christ LDS
Old Hickory Council 427
Golf Course Rd
Pilot Mountain, Nc 27041


Church Jesus Christ LDS
Old N State Council 070
1830 Chestnut Dr
High Point, Nc 27262


Church Jesus Christ LDS
Osan Military Branch
Far E Council 803
Yaesu Christo Hugisongdo Kyo‐Hway
Pyeongtaek‐Si Seojeong‐Dong 837‐8
Korea, Republic Of


Church Jesus Christ LDS
Overland Trails 322
2038 N Front Rd
North Platte, Ne 69101


Church Jesus Christ LDS
Pea Ridge Branch
Westark Area Council 016
13809 Degraff Rd
Rogers, Ar 72756


Church Jesus Christ LDS
Pee Dee Area Council 552
981 W Carolina Ave
Hartsville, Sc 29550
Church Jesus Christ LDS
Petal Ward
Pine Burr Area Council 304
1618 Broadway Dr
Hattiesburg, Ms 39402


Church Jesus Christ LDS
Piedmont Council 420
307 Country Club Rd
Shelby, Nc 28150


Church Jesus Christ LDS
Pine Tree Council 218
8 Howe Dr
Parsonsfield, Me 04047


Church Jesus Christ LDS
Pineville Ward
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, Nc 28226


Church Jesus Christ LDS
Pipestone
Sioux Council 733
701 2Nd Ave Sw
Pipestone, Mn 56164


Church Jesus Christ LDS
Pittsburgh 4Th Ward
Laurel Highlands Council 527
2202 Reis Run Rd
Pittsburgh, Pa 15237


Church Jesus Christ LDS
Pittsburgh 5Th Ward
Laurel Highlands Council 527
46 School St
Pittsburgh, Pa 15220


Church Jesus Christ LDS
Pushmataha Area Council 691
413 Abernathy Dr
Starkville, Ms 39759


Church Jesus Christ LDS
Quivira Council, Bsa 198
518 E 43Rd Ave
Hutchinson, Ks 67502


Church Jesus Christ LDS
Regal Park
South Plains Council 694
6310 114Th St
Lubbock, Tx 79424


Church Jesus Christ LDS
Royal Palm Beach Ward
Gulf Stream Council 085
990 Big Blue Trce
Wellington, Fl 33414


Church Jesus Christ LDS
Second Ward
Stonewall Jackson Council 763
1275 Timberwood Blvd
Charlottesville, Va 22911


Church Jesus Christ LDS
Shadow Hill Ward
South Plains Council 694
7014 Frankford Ave
Lubbock, Tx 79424


Church Jesus Christ LDS
Sharon Ward
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, Nc 28226


Church Jesus Christ LDS
Simpsonville Ward 101
Blue Ridge Council 551
403 Bel Arbor Ln
Mauldin, Sc 29662
Church Jesus Christ LDS
Sioux Council 733
P.O. Box 837
27110 282Nd St
Mission, Sd 57555


Church Jesus Christ LDS
Southeast Louisiana Council 214
3702 Hwy 311
Houma, La 70360


Church Jesus Christ LDS
Summit Ward
Old N State Council 070
3719 Pinetop Rd
Greensboro, Nc 27410


Church Jesus Christ LDS
Tuscola Branch
Prairielands 117
610 Sunset Dr
Tuscola, Il 61953


Church Jesus Christ LDS
Uptown Wrd No Stk
Southeast Louisiana Council 214
3613 Saint Charles Ave
New Orleans, La 70115


Church Jesus Christ LDS
Washington Ward
Laurel Highlands Council 527
195 Wellington Cir
Mcmurray, Pa 15317


Church Jesus Christ LDS
Waxhaw Ward
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, Nc 28226


Church Jesus Christ LDS
Weddington Ward
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, Nc 28226


Church Jesus Christ LDS
West Tennessee Area Council 559
1921 Lone Oak Rd
Paris, Tn 38242


Church Jesus Christ LDS
West Tennessee Area Council 559
3400 Us Hwy 51 S
Dyersburg, Tn 38024


Church Jesus Christ LDS
Westark Area Council 016
1 Lambeth Dr
Bella Vista, Ar 72714


Church Jesus Christ LDS
Westbank Wrd No Stk
Southeast Louisiana Council 214
2625 Jupiter St
Harvey, La 70058


Church Jesus Christ LDS
Westchester 1St Ward
Westchester Stake
Westchester Putnam 388
60 Wayside Lane
Scarsdale, NY 10583


Church Jesus Christ LDS
Winnebago Council, Bsa 173
406 Water St
Fayette, Ia 52142


Church Jesus Christ LDS
Yorktown ‐Stake‐ Yorktown
Westchester Putnam 388
801 Kitchawan Rd, Route 134
Ossining, Ny 10562
Church Jesus Christ LDS‐Poughkeepsie
Hudson Valley Council 374
204 Spackenkill Rd
Poughkeepsie, Ny 12603


Church LDS Sheridan 3Rd Ward
Greater Wyoming Council 638
2051 Colonial Dr
Sheridan, WY 82801


Church Mutual Insurance
P.O. Box 342
Merrill, WI 54452


Church Of All Saints
Minsi Trails Council 502
17 N Cleveland St
Mcadoo, PA 18237


Church Of Annunciata Catholic Church
Pathway To Adventure 456
11128 S Ave G
Chicago, IL 60617


Church Of Annunciation
Bay‐Lakes Council 635
401 Gray St
Green Bay, WI 54303


Church Of Ascension
Miami Valley Council, Bsa 444
2025 Woodman Dr
Kettering, OH 45420


Church Of Christ
Daniel Webster Council, Bsa 330
14 Milford St
Brookline, NH 03033


Church Of Christ
Northeastern Pennsylvania Council 501
5439 Main Rd
Sweet Valley, PA 18656


Church Of Christ
Pine Burr Area Council 304
4524 Meridian St
Moss Point, MS 39563


Church Of Christ
Simon Kenton Council 441
18077 State Route 31
Marysville, OH 43040


Church Of Christ
Suffolk County Council Inc 404
600 Montauk Hwy
West Islip, NY 11795


Church Of Christ At Hagerstown
Mason Dixon Council 221
10014 White Hall Rd
Hagerstown, MD 21740


Church Of Christ At Trenton Crossing
Middle Tennessee Council 560
2650 Trenton Rd
Clarksville, TN 37040


Church Of Christ Congregational
Attn John Krukar
Connecticut Rivers Council, Bsa 066
P.O. Box 216
Goshen, CT 06756


Church Of Christ Congregational
Connecticut Rivers Council, Bsa 066
P.O. Box 216
5 Old Middle St
Goshen, CT 06756


Church Of Christ In Christian Union
Simon Kenton Council 441
8280 Rickard Rd
Plain City, OH 43064


Church Of Christ Paris
Transatlantic Council, Bsa 802
4 Rue Deodat De Severac
Paris, 75017
France


Church Of Christ, Congregational
United Church OF Christ
Connecticut Rivers Council, Bsa 066
4 Litchfield Rd
Norfolk, Ct 06058


Church Of Good Shepherd
Greater New York Councils, Bsa 640
608 Isham St
New York, NY 10034


Church Of Jesus Christ L D S
Pony Express Council 311
2930 Oklahoma Ave
Trenton, MO 64683


Church Of Jesus Christ L D S
Pony Express Council 311
7 N Carriage Dr
Saint Joseph, MO 64506


Church Of Jesus Christ L D S
Pony Express Council 311
Ken Stull
812 Jansen St
Chillicothe, MO 64601


Church Of Jesus Christ LDS
12809 Ventana St
Parker, CO 80134


Church Of Jesus Christ LDS
Allegheny Highlands Council 382
851 Forest Ave
Jamestown, NY 14701


Church Of Jesus Christ LDS
Andrew Jackson Council 303
342 W Main St
Florence, MS 39073


Church Of Jesus Christ LDS
Arbuckle Area Council 468
12690 County Rd 3522
Ada, OK 74820


Church Of Jesus Christ LDS
Attn Jeff Cannon
25326 212th Pl Se
Maple Valley, WA 98038


Church Of Jesus Christ LDS
Black Hills Area Council 695 695
15148 Sd Hwy 73
Faith, SD 57626


Church Of Jesus Christ LDS
Black Warrior Council 006
171 Co Rd 3401
Haleyville, AL 35565


Church Of Jesus Christ LDS
Blue Grass Council 204
1789 Tates Creek Rd
Lexington, KY 40502


Church Of Jesus Christ LDS
Blue Ridge Council 551
400 Farrs Bridge Rd
Greenville, SC 29617


Church Of Jesus Christ LDS
Blue Ridge Council 551
Hwy 254
Greenwood, SC 29646


Church Of Jesus Christ LDS
Blue Ridge Council 551
Hwy 254 At Crestview
Greenwood, SC 29646


Church Of Jesus Christ LDS
Buckeye Council 436
1295 Montgomery
Twp Rd 653
Ashland, OH 44805


Church Of Jesus Christ LDS
Buckeye Council 436
1951 Middle Bellville Rd
Mansfield, OH 44904


Church Of Jesus Christ LDS
Central Minnesota 296
1420 29th Ave N
Saint Cloud, MN 56303


Church Of Jesus Christ LDS
Central N Carolina Council 416
1718 Ridge St
Albemarle, NC 28001


Church Of Jesus Christ LDS
Cherokee Area Council 469 469
1104 Lee St
Grove, OK 74344


Church Of Jesus Christ LDS
Cherokee Area Council 469 469
1516 Ponder Ct
Miami, OK 74354


Church Of Jesus Christ LDS
Choctaw Area Council 302
5805 N Hills St
Meridian, MS 39307
Church Of Jesus Christ LDS
Columbia‐Montour 504
7368 School House Rd
Berwick, PA 18603


Church Of Jesus Christ LDS
Coronado Area Council 192
2812 Marlatt Ave
Manhattan, KS 66502


Church Of Jesus Christ LDS
Coronado Area Council 192
845 S Ohio St
Salina, KS 67401


Church Of Jesus Christ LDS
Coronado Area Council 192
1705 Mcfarland Rd
Junction City, KS 66441


Church Of Jesus Christ LDS
Cradle of Liberty Council 525
721 Paxon Hollow Rd
Broomall, PA 19008


Church Of Jesus Christ LDS
Cradle of Liberty Council 525
93 Maugers Mill Rd
Pottstown, PA 19464


Church Of Jesus Christ LDS
Flint River Council 095
2021 Redwine Rd
Fayetteville, GA 30215


Church Of Jesus Christ LDS
Flint River Council 095
2100 Lake Jodeco Rd
Jonesboro, GA 30236
Church Of Jesus Christ LDS
Glaciers Edge Council 620
825 S Van Buren St
Stoughton, WI 53589


Church Of Jesus Christ LDS
Great Rivers Council 653
Hwy 5
Tipton, MO 65081


Church Of Jesus Christ LDS
Gulf Stream Council 085
1480 Knuth Rd
Boynton Beach, FL 33436


Church Of Jesus Christ LDS
Gulf Stream Council 085
5837 Aurora Ct
Lake Worth, FL 33463


Church Of Jesus Christ LDS
Gulf Stream Council 085
2901 Virginia Ave
Fort Pierce, FL 34981


Church Of Jesus Christ LDS
Lake Erie Council 440
12090 S Durkee Rd
Grafton, OH 44044


Church Of Jesus Christ LDS
Lake Erie Council 440
3501 Kolbe Rd
Lorain, OH 44053


Church Of Jesus Christ LDS
Lake Erie Council 440
4511 Galloway Rd
Sandusky, OH 44870


Church Of Jesus Christ LDS
Louisiana Purchase Council 213
800 Downing Pines Rd
West Monroe, LA 71291


Church Of Jesus Christ LDS
Miami Valley Council, Bsa 444
4930 Central Ave
Middletown, OH 45044


Church Of Jesus Christ LDS
Middle Tennessee Council 560
78 Ables Ln
Fayetteville, TN 37334


Church Of Jesus Christ LDS
Northern New Jersey Council, Bsa 333
840 Soldier Hill Rd
Emerson, NJ 07630


Church Of Jesus Christ LDS
Northwest Georgia Council 100
455 Mcdaniel Station Rd Sw
Calhoun, GA 30701


Church Of Jesus Christ LDS
Northwest Georgia Council 100
3300 Garden Lakes Pkwy Nw
Rome, GA 30165


Church Of Jesus Christ LDS
Old Hickory Council 427
166 Woodbridge Dr
Mount Airy, NC 27030


Church Of Jesus Christ LDS
Overland Trails 322
510 E 46th St
Kearney, NE 68847


Church Of Jesus Christ LDS
Overland Trails 322
212 W 22nd St
Grand Island, NE 68801
Church Of Jesus Christ LDS
Overland Trails 322
411 Elizabeth Ln
Mccook, NE 69001


Church Of Jesus Christ LDS
Pathway To Adventure 456
1530 Tulip Ln
Munster, IN 46321


Church Of Jesus Christ LDS
Pathway To Adventure 456
1550 Haase Ave
Westchester, IL 60154


Church Of Jesus Christ LDS
Patriots Path Council 358
40 Cherry St
Elizabeth, NJ 07202


Church Of Jesus Christ LDS
Piedmont Council 420
2230 Airport Rd
Marion, NC 28752


Church Of Jesus Christ LDS
Piedmont Council 420
105 Old Tram St
Lincolnton, NC 28092


Church Of Jesus Christ LDS
Piedmont Council 420
250 Mount Pleasant Church Rd
Forest City, NC 28043


Church Of Jesus Christ LDS
Piedmont Council 420
307 Country Club Rd
Shelby, NC 28150
Church Of Jesus Christ LDS
Pine Burr Area Council 304
1302 Martin St
Pascagoula, MS 39581


Church Of Jesus Christ LDS
Pine Burr Area Council 304
89350 Diamondhead Dr E
Diamondhead, MS 39525


Church Of Jesus Christ LDS
Pine Tree Council 218
14 Hasson St
Farmingdale, ME 04344


Church Of Jesus Christ LDS
Pine Tree Council 218
141 Woodfield Dr
Farmington, ME 04938


Church Of Jesus Christ LDS
Pine Tree Council 218
25 Bush St, Apt 5
Skowhegan, ME 04976


Church Of Jesus Christ LDS
Pine Tree Council 218
25 Wview Dr
Sanford, ME 04073


Church Of Jesus Christ LDS
Pine Tree Council 218
26 Washington Ave
Waterville, ME 04901


Church Of Jesus Christ LDS
Pine Tree Council 218
33 Pinewood Dr
Topsham, ME 04086


Church Of Jesus Christ LDS
Pine Tree Council 218
755 River Rd
Windham, ME 04062


Church Of Jesus Christ LDS
Pony Express Council 311
1102 N 18th St
Albany, MO 64402


Church Of Jesus Christ LDS
Puerto Rico Council 661
Calle Colina Real
Toa Baja, PR 00949


Church Of Jesus Christ LDS
Pushmataha Area Council 691
2808 Ridge Rd
Columbus, MS 39705


Church Of Jesus Christ LDS
Pushmataha Area Council 691
2808 Ridge Rd
Columbus, MS 39701


Church Of Jesus Christ LDS
Samoset Council, Bsa 627
780 Iverson St
Rhinelander, WI 54501


Church Of Jesus Christ LDS
Santa Fe Trail Council 194
619 E Mary St
Garden City, KS 67846


Church Of Jesus Christ LDS
Seminole Branch
South Plains Council 694
100 Nw Ave J
Seminole, Tx 79360


Church Of Jesus Christ LDS
Simon Kenton Council 441
6 Cross St
The Plains, OH 45780


Church Of Jesus Christ LDS
South Georgia Council 098
Murray Ave
Tifton, GA 31794


Church Of Jesus Christ LDS
South Plains Council 694
4211 SW 2nd St
Plainview, TX 79072


Church Of Jesus Christ LDS
South Plains Council 694
209 Tiger St
Wolfforth, TX 79382


Church Of Jesus Christ LDS
Stonewall Jackson Council 763
1869 Taylors Gap Rd
North Garden, VA 22959


Church Of Jesus Christ LDS
Stonewall Jackson Council 763
217 Ridge Ave
Buena Vista, VA 24416


Church Of Jesus Christ LDS
Stonewall Jackson Council 763
Charlottesville 1st Ward
1275 Timberwood Blvd
Charlottesville, VA 22911


Church Of Jesus Christ LDS
Stonewall Jackson Council 763
2825 Jefferson Ln
Waynesboro, VA 22980


Church Of Jesus Christ LDS
Stonewall Jackson Council 763
2227 Oak Ave
Buena Vista, VA 24416
Church Of Jesus Christ LDS
Stonewall Jackson Council 763
2438 Maple Ave
Buena Vista, VA 24416


Church Of Jesus Christ LDS
Suffolk County Council Inc 404
1 Cedar Ave
Medford, NY 11763


Church Of Jesus Christ LDS
Susquehanna Council 533
2294 Ridge Rd
Northumberland, PA 17857


Church Of Jesus Christ LDS
Texas Trails Council 561
4503 4th St
Brownwood, TX 76801


Church Of Jesus Christ LDS
Three Harbors Council 636
9904 W Calumet Rd
Milwaukee, WI 53224


Church Of Jesus Christ LDS
Tuscarora Council 424
1000 11th St
Goldsboro, NC 27534


Church Of Jesus Christ LDS
Tuscarora Council 424
303 Canterbury Rd
Smithfield, NC 27577


Church Of Jesus Christ LDS
W D Boyce 138
3700 W Reservoir Blvd
Peoria, IL 61615
Church Of Jesus Christ LDS
West Tennessee Area Council 559
923 Pipkin Rd
Jackson, TN 38305


Church Of Jesus Christ LDS
Westchester 1St Ward
Westchester Stake ‐ Westchester
Westchester Putnam 388
60 Wayside Ln
Scarsdale, NY 10583


Church Of Jesus Christ LDS ‐ Canton
c/o Matthew Scott Oettli
Buckeye Council 436
9383 Huntshire Ave Nw
North Canton, OH 44720


Church Of Jesus Christ LDS ‐ Canton
W D Boyce 138
1313 Sunview Dr
Canton, IL 61520


Church Of Jesus Christ LDS ‐ Lisbon
Buckeye Council 436
7160 State Route 45
Lisbon, OH 44432


Church Of Jesus Christ LDS ‐ Massillon
Buckeye Council 436
2625 Ohio State Dr Se
Massillon, OH 44646


Church Of Jesus Christ LDS ‐ Wooster
Buckeye Council 436
1388 Liahona Dr
Wooster, OH 44691


Church Of Jesus Christ LDS Alliance Ward
Buckeye Council 436
2260 Hedgewood Ave
Alliance, Oh 44601
Church Of Jesus Christ LDS Conway Ward
Pee Dee Area Council 552
450 Dunne Short Cut Rd
Conway, SC 29527


Church Of Jesus Christ LDS Lake Norman
Piedmont Council 420
148 Lazy Lane
Mooresville, NC 28117


Church Of Jesus Christ Of LDS ‐ Saco
Pine Tree Council 218
13 Smith Lane
Saco, ME 04072


Church Of Jesus Christ Of LDS 37427 Ward
Texas Trails Council 561
3325 N 12th St
Abilene, TX 79603


Church Of Jesus Christ Of LDS Atchison
Pony Express Council 311
1415 Riverview Dr
Atchison, KS 66002


Church Of Jesus Christ Of LDS Bossier
Norwela Council 215
310 Wellington Dr
Bossier City, LA 71111


Church Of Jesus Christ Of LDS Cameron
Pony Express Council 311
1100 E Grand Ave
Cameron, MO 64429


Church Of Jesus Christ Of LDS Chicago
Pathway To Adventure 456
5100 N Springfield Ave
Chicago, IL 60625


Church Of Jesus Christ Of LDS Far West
Pony Express Council 311
1100 E Grand Ave
Cameron, MO 64429


Church Of Jesus Christ Of LDS Many
Norwela Council 215
2084 Natchitoches Hwy
Many, LA 71449


Church Of Jesus Christ Of LDS Of Wm
Louisiana Purchase Council 213
800 Downing Pines Rd
West Monroe, LA 71291


Church Of Jesus Christ Of LDS Salem
Ozark Trails Council 306
1701 W Franklin St
Salem, MO 65560


Church Of Jesus Christ Of LDS Thibodaux
Houma Ward
Southeast Louisiana Council 214
3702 Hwy311
Houma, La 70360


Church Of Jesus Christ Of LDS‐Cornish
Pine Tree Council 218
8 Howe Dr
Parsonsfield, ME 04047


Church Of Jesus Christ Of LDS‐Saco Ward
Pine Tree Council 218
15 Smith Ln
Saco, ME 04072


Church Of Jesus Christ Of LDS‐Yarmouth
Pine Tree Council 218
247 Walnut Hill Rd
North Yarmouth, ME 04097


Church Of Jesus Christ Shreveport Ward
Norwela Council 215
216 Johnnie Dr
Shreveport, LA 71115


Church Of Jesus Christ Stonewall Ward
Norwela Council 215
2560 US Hwy 171
Stonewall, LA 71070


Church Of Latter‐Day Saints
Gastonia Stake
Piedmont Council 420
2710 Redbud Dr
Gastonia, Nc 28056


Church Of Latter‐Day Saints
West New York
Northern New Jersey Council, Bsa 333
6301 Palisade Ave
West New York, Nj 07093


Church Of LDS Hudson
Northern New Jersey Council, Bsa 333
140 Sip Ave
Jersey City, NJ 07306


Church Of LDS ‐ Owingsville Ward
Blue Grass Council 204
12 Maysville Ave
Mt Sterling, KY 40353


Church Of LDS Caprock Ward
South Plains Council 694
3211 58th St
Lubbock, TX 79413


Church Of LDS Eldersburg
Baltimore Area Council 220
7225 Slacks Rd
Eldersburg, MD 21784


Church Of LDS Gray Ward
Central Georgia Council 096
139 Hunting Dr
Gray, GA 31032


Church Of Nativity
Mid‐America Council 326
4242 Natalia Way
Sioux City, IA 51106


Church Of Our Saviour
Bay‐Lakes Council 635
363 S Main St
Fond Du Lac, WI 54935


Church Of Our Saviour
Circle Ten Council 571
1616 N Jim Miller Rd
Dallas, TX 75217


Church Of Our Saviour
Daniel Webster Council, Bsa 330
P.O. Box 237
10 Amherst St
Milford, NH 03055


Church Of Our Saviour
Narragansett 546
P.O. Box 89
Middleboro, MA 02346


Church Of Our Saviour St‐Matthews‐Leran
Northern New Jersey Council, Bsa 333
Roosevelt Ave
Paterson Plk Rd
Secaucus, NJ 07094


Church Of Our Saviour Umc
Laurel Highlands Council 527
1502 Chicago St
Pittsburgh, PA 15214


Church Of Saint Anastasia Rcc
Greater New York Councils, Bsa 640
4514 245th St
Little Neck, NY 11362


Church Of Saint Andrew
Greater New York Councils, Bsa 640
40 Old Mill Rd
Staten Island, NY 10306


Church Of Saint Anne
Theodore Roosevelt Council 386
35 Dartmouth St
Garden City, NY 11530


Church Of Saint Clare Roman Catholic
Mayflower Council 251
1244 Liberty St
Braintree, MA 02184


Church Of Saint Clement
Yucca Council 573
810 N Campbell St
El Paso, TX 79902


Church Of Saint Edward
Winnebago Council, Bsa 173
1423 Kimball Ave
Waterloo, IA 50702


Church Of Saint James
Patriots Path Council 358
184 S Finley Ave
Basking Ridge, NJ 07920


Church Of Saint James The Less
Westchester Putnam 388
10 Church Ln
Scarsdale, NY 10583


Church Of Saint Magdalen
Washington Crossing Council 777
105 Mine St
Flemington, NJ 08822
Church Of Saint Patrick
Southwest Florida Council 088
7900 Bee Ridge Rd
Sarasota, FL 34241


Church Of Saint Rocco
Theodore Roosevelt Council 386
18 3rd St
Glen Cove, NY 11542


Church Of Santa Susanna
Transatlantic Council, Bsa 802
Via Venti Settembre 15
Roma, 00187
Italy


Church Of Santa Teresa
Silicon Valley Monterey Bay 055
794 Calero Ave
San Jose, CA 95123


Church Of Scientology
Greater Tampa Bay Area 089
210 S Fort Harrison Ave
Clearwater, FL 33756


Church Of Scientology Celebrity Center
Greater Los Angeles Area 033
5930 Franklin Ave
Los Angeles, CA 90028


Church Of Scientology Of The Valley
W.L.A.C.C. 051
11455 Burbank Blvd
North Hollywood, CA 91601


Church Of Ss Cosmas And Damian
Lake Erie Council 440
10419 Ravenna Rd
Twinsburg, OH 44087
Church Of St Anastasia Rcc
Greater New York Councils, Bsa 640
4514 245th St
Douglaston, NY 11362


Church Of St Andrew
Central Minnesota 296
566 4th St Nw
Elk River, MN 55330


Church Of St Benedict Men S Club
Indian Nations Council 488
2200 W Ithica St
Broken Arrow, OK 74012


Church Of St Clare
Lake Erie Council 440
5659 Mayfield Rd
Lyndhurst, OH 44124


Church Of St Columba
Northern Star Council 250
1327 Lafond Ave
Saint Paul, MN 55104


Church Of St Edward
Northern Star Council 250
9401 Nesbitt Ave S
Minneapolis, MN 55437


Church Of St Eugene S
Westchester Putnam 388
32 Massitoa Rd
Yonkers, NY 10710


Church Of St Helen
Patriots Path Council 358
1600 Rahway Ave
Westfield, NJ 07090


Church Of St John The Apostle
Minsi Trails Council 502
5171 Milford Rd
East Stroudsburg, PA 18302


Church Of St Luke
P.O. Box 249
Clearwater, MN 55320


Church Of St Mark
Greater New York Councils, Bsa 640
1417 Union St
Brooklyn, NY 11213


Church Of St Mark
Northern Star Council 250
2001 Dayton Ave
Saint Paul, MN 55104


Church Of St Mark/All Saints
Jersey Shore Council 341
429 S Pitney Rd
Galloway, NJ 08205


Church Of St Mary Catholic
Indian Nations Council 488
1347 E 49th Pl
Tulsa, OK 74105


Church Of St Mary Magdalene
San Diego Imperial Council 049
1945 Illion St
San Diego, CA 92110


Church Of St Marys
Northern Star Council 250
Marystown Catholic Church
15858 Marystown Rd
Shakopee, MN 55379


Church Of St Michael
Northern Star Council 250
16311 Duluth Ave Se
Prior Lake, MN 55372


Church Of St Patrick
Greater New York Councils, Bsa 640
3650 Richmond Rd
Staten Island, NY 10306


Church Of St Peters
Central Minnesota 296
930 31st Ave N
Saint Cloud, MN 56303


Church Of St Roch
Greater New York Councils, Bsa 640
602 Port Richmond Ave
Staten Island, NY 10302


Church Of St Therese
Tidewater Council 596
4137 Portsmouth Blvd
Chesapeake, VA 23321


Church Of St William
Northern Star Council 250
6120 5th St Ne
Fridley, MN 55432


Church Of St. Catharine
Northern New Jersey Council, Bsa 333
905 S Maple Ave
Glen Rock, NJ 07452


Church Of St. Denis
Hudson Valley Council 374
602 Beekman Rd
P.O. Box 10
Hopewell Junction, NY 12533


Church Of St. Joseph The Worker
Southeast Louisiana Council 214
P.O. Box 190
Pierre Part, LA 70339
Church Of St. Rita
Greater New York Councils, Bsa 640
281 Bradley Ave
Staten Island, NY 10314


Church Of The Accension
Central Florida Council 083
4950 S Apopka Vineland Rd
Orlando, FL 32819


Church Of The Advent
Chester County Council 539
401 N Union St
Kennett Square, PA 19348


Church Of The Advent
East Carolina Council 426
P.O. Box 463
Williamston, NC 27892


Church Of The Advent Of S.E. Ocala, Inc
North Florida Council 087
11251 SW Hwy 484
Dunnellon, FL 34432


Church Of The Annunciation
Heart of America Council 307
701 N Jefferson St
Kearney, MO 64060


Church Of The Annunciation
Lincoln Heritage Council 205
105 Main St
Shelbyville, KY 40065


Church Of The Annunciation
Narragansett 546
175 Oaklawn Ave
Cranston, RI 02920
Church Of The Apostles
Circle Ten Council 571
322 S Macarthur Blvd
Coppell, TX 75019


Church Of The Ascension
Blue Grass Council 204
311 Washington St
Frankfort, KY 40601


Church Of The Ascension
Heart of America Council 307
9510 W 127th St
Overland Park, KS 66213


Church Of The Ascension
Miami Valley Council, Bsa 444
2025 Woodman Dr
Kettering, OH 45420


Church Of The Ascension
Narragansett 546
390 Pontiac Ave
Cranston, RI 02910


Church Of The Ascension
Quivira Council, Bsa 198
702 Osage St
Neodesha, KS 66757


Church Of The Ascension
Simon Kenton Council 441
555 S Main St
Johnstown, OH 43031


Church Of The Ascension
Tidewater Council 596
405 Talbot Hall Rd
Norfolk, VA 23505


Church Of The Ascension
Tidewater Council 596
4853 Princess Anne Rd
Virginia Beach, VA 23462


Church Of The Ascension Roman Catholic
Northern New Jersey Council, Bsa 333
256 Azileia Dr
New Milford, NJ 07646


Church Of The Assumption
Dan Beard Council, Bsa 438
7711 Joseph St
Cincinnati, OH 45231


Church Of The Assumption
Lake Erie Council 440
9183 Broadview Rd
Broadview Hts, OH 44147


Church Of The Assumption
Longhorn Council 662
P.O. Box 276
303 S Harrison St
West, TX 76691


Church Of The Assumption
Northern New Jersey Council, Bsa 333
29 Jefferson Ave
Emerson, NJ 07630


Church Of The Assumption
Northern Star Council 250
305 E 77th St
Richfield, MN 55423


Church Of The Assumption
Westchester Putnam 388
131 Union Ave
Peekskill, NY 10566


Church Of The Beatitudes
Grand Canyon Council 010
555 W Glendale Ave
Phoenix, AZ 85021


Church Of The Beloved Disciple
Roman Catholic Church
French Creek Council 532
1310 S Center St Ext
Grove City, Pa 16127


Church Of The Brethren
Blackhawk Area 660
215 N Court St
Dixon, IL 61021


Church Of The Chimes Congregational
W.L.A.C.C. 051
14115 Magnolia Blvd
Sherman Oaks, CA 91423


Church Of The Cross
Indian Waters Council 553
7244 Patterson Rd
Columbia, SC 29209


Church Of The Cross Utd Methodist
Coronado Area Council 192
1600 Rush St
Salina, KS 67401


Church Of The Crucifixion
Baltimore Area Council 220
126 Dorsey Rd
Ccgb Parish Center
Glen Burnie, MD 21061


Church Of The Epiphany
Connecticut Rivers Council, Bsa 066
196 Main St
Durham, CT 06422


Church Of The Epiphany
Greater New York Councils, Bsa 640
239 E 21st St
New York, NY 10010


Church Of The Epiphany
Heart of Virginia Council 602
11000 Smoketree Dr
North Chesterfield, VA 23236


Church Of The Epiphany
Jersey Shore Council 341
615 Thiele Rd
Brick, NJ 08724


Church Of The Epiphany
Simon Kenton Council 441
6110 Angel Ridge Rd
193 Jefferson St
Athens, OH 45701


Church Of The Gardens
3937 Holly Dr
Palm Beach Gardens, FL 33410


Church Of The Good Samaritan
Chester County Council 539
212 W Lancaster Ave
Paoli, PA 19301


Church Of The Good Samaritan, Anglican
North Florida Council 087
3813 Old Jennings Rd
Middleburg, FL 32068


Church Of The Good Shepherd
Cherokee Area Council 556
211 Franklin Rd
Lookout Mountain, TN 37350


Church Of The Good Shepherd
Cradle of Liberty Council 525
Chalfont Dr   Calera Rd
Philadelphia, PA 19154
Church Of The Good Shepherd
Greater New York Councils, Bsa 640
608 Isham St
New York, NY 10034


Church Of The Good Shepherd
Middle Tennessee Council 560
1420 Wilson Pike
Brentwood, TN 37027


Church Of The Good Shepherd
Mountaineer Area 615
3025 Lucas Dairy Rd
Grafton, WV 26354


Church Of The Good Shepherd
National Capital Area Council 082
2351 Hunter Mill Rd
Vienna, VA 22181


Church Of The Good Shepherd
Northeast Georgia Council 101
3740 Holtzclaw Rd
Cumming, GA 30041


Church Of The Good Shepherd
Northwest Texas Council 587
1007 Burnett St
Wichita Falls, TX 76301


Church Of The Good Shepherd
Patriots Path Council 358
200 State Rt 23
Sussex, NJ 07461


Church Of The Good Shepherd
Sam Houston Area Council 576
715 Carrell St
Tomball, TX 77375


Church Of The Good Shepherd
San Diego Imperial Council 049
3990 Bonita Rd
Bonita, CA 91902


Church Of The Good Shepherd
Simon Kenton Council 441
64 University Ter
Athens, OH 45701


Church Of The Good Shepherd
The Spirit of Adventure 227
62 Cedar St
Dedham, MA 02026


Church Of The Good Shepherd
Three Fires Council 127
P.O. Box 695
5 W Washington St
Oswego, IL 60543


Church Of The Good Shepherd
United Methodist
Greater Los Angeles Area 033
400 W Duarte Rd
Arcadia, Ca 91007


Church Of The Good Shepherd
Westchester Putnam 388
39 Granite Springs Rd
Granite Springs, NY 10527


Church Of The Good Shepherd Utd Meth
Laurel Highlands Council 527
1650 Clay Ave
Tyrone, PA 16686


Church Of The Good Shepherd Utd Meth
Simon Kenton Council 441
6176 Sharon Woods Blvd
Columbus, OH 43229


Church Of The Harvest
Chickasaw Council 558
14707 Goodman Rd
Olive Branch, MS 38654


Church Of The Heavenly Rest
Texas Trails Council 561
602 Meander St
Abilene, TX 79602


Church Of The Holy Apostles
Chickasaw Council 558
1380 Wolf River Blvd
Collierville, TN 38017


Church Of The Holy Apostles
Sam Houston Area Council 576
1225 W Grand Pkwy S
Katy, TX 77494


Church Of The Holy Child
Del Mar Va 081
2500 Naamans Rd
Wilmington, DE 19810


Church Of The Holy Comforter
Georgia‐Carolina 093
473 Furys Ferry Rd
Augusta, GA 30907


Church Of The Holy Comforter
Mecklenburg County Council 415
2701 Park Rd
Charlotte, NC 28209


Church Of The Holy Comforter
Northeast Illinois 129
222 Kenilworth Ave
Kenilworth, IL 60043


Church Of The Holy Cross
Chief Seattle Council 609
11526 162nd Ave Ne
Redmond, WA 98052


Church Of The Holy Cross
Heart of America Council 307
8311 W 93rd St
Overland Park, KS 66212


Church Of The Holy Cross
Quivira Council, Bsa 198
2631 Independence Rd
Hutchinson, KS 67502


Church Of The Holy Cross
Twin Rivers Council 364
3764 Main St
Warrensburg, NY 12885


Church Of The Holy Family
Baden‐Powell Council 368
3600 Phyllis St
Endicott, NY 13760


Church Of The Holy Family
Connecticut Rivers Council, Bsa 066
185 Church
Hebron, CT 06248


Church Of The Holy Family
Tidewater Council 596
1279 N Great Neck Rd
Virginia Beach, VA 23454


Church Of The Holy Family
Water and Woods Council 782
11804 S Saginaw St
Grand Blanc, MI 48439


Church Of The Holy Ghost
Three Fires Council 127
254 N Wood Dale Rd
Wood Dale, IL 60191
Church Of The Holy Innocents
401 Main St
Highland Falls, NY 10928


Church Of The Holy Spirit
Central Minnesota 296
2405 Walden Way
Saint Cloud, MN 56301


Church Of The Holy Spirit
Crossroads of America 160
7243 E 10th St
Indianapolis, IN 46219


Church Of The Holy Spirit
North Florida Council 087
11665 Fort Caroline Rd
Jacksonville, FL 32225


Church Of The Holy Spirit
Pathway To Adventure 456
1451 Bode Rd
Schaumburg, IL 60194


Church Of The Holy Spirit
Patriots Path Council 358
318 Newark Pompton Tpke
Pequannock, NJ 07440


Church Of The Holy Spirit Inc
Greater Tampa Bay Area 089
601 Phillippe Pkwy
Safety Harbor, FL 34695


Church Of The Immaculate Conception
Monmouth Council, Bsa 347
18 S St
Spotswood, NJ 08884


Church Of The Immaculate Heart Of Mary
Greater St Louis Area Council 312
8 W Hwy D
New Melle, MO 63365


Church Of The Incarnation
Great Swest Council 412
2309 Monterrey Rd Ne
Rio Rancho, NM 87144


Church Of The Incarnation
Miami Valley Council, Bsa 444
55 Williamsburg Ln
Dayton, OH 45459


Church Of The Incarnation
The Spirit of Adventure 227
429 Upham St
Melrose, MA 02176


Church Of The Incarnation
Verdugo Hills Council 058
1001 N Brand Blvd
Glendale, CA 91202


Church Of The Infant Savior
Hudson Valley Council 374
22 Holland Ave
Pine Bush, NY 12566


Church Of The Joyful Healer
Crater Lake Council 491
1944 Central Ave
Mckinleyville, CA 95519


Church Of The LDS
San Diego Imperial Council 049
1515 Elder Ave
San Diego, CA 92154


Church Of The Little Flower
South Florida Council 084
2711 Indian Mound Trl
Coral Gables, FL 33134
Church Of The Lord Jesus Christ
Pony Express Council 311
1201 Central Ave
Horton, KS 66439


Church Of The Magdalen
Quivira Council, Bsa 198
12626 E 21st St N
Wichita, KS 67206


Church Of The Master
Grand Canyon Council 010
6659 E University Dr
Mesa, AZ 85205


Church Of The Master
Greater New York Councils, Bsa 640
2783 Lafayette Ave
Bronx, NY 10465


Church Of The Master Lutheran Church
Inland Nwest Council 611
4800 N Ramsey Rd
Coeur D Alene, ID 83815


Church Of The Master Utd Methodist
Simon Kenton Council 441
24 N Grove St
Westerville, OH 43081


Church Of The Mediator
North Florida Council 087
P.O. Box 184
Micanopy, FL 32667


Church Of The Messiah
Atlanta Area Council 092
415 Charles Cox Dr
Canton, GA 30115
Church Of The Messiah
Baltimore Area Council 220
5801 Harford Rd
Baltimore, MD 21214


Church Of The Messiah
National Capital Area Council 082
12201 Spotswood Furnace Ln
Fredericksburg, VA 22407


Church Of The Messiah Episcopal
Twin Rivers Council 364
296 Glen St
Glens Falls, NY 12801


Church Of The Nativity
Chickasaw Council 558
5955 Saint Elmo Rd
Memphis, TN 38135


Church Of The Nativity
Crossroads of America 160
7300 Lantern Rd
Indianapolis, IN 46256


Church Of The Nativity
Laurel Highlands Council 527
33 Alice St
Crafton, PA 15205


Church Of The Nativity
Laurel Highlands Council 527
33 Alice St
Pittsburgh, PA 15205


Church Of The Nativity
Mayflower Council 251
45 Howard St
Northborough, MA 01532


Church Of The Nativity
National Capital Area Council 082
6400 Nativity Ln
Burke, VA 22015


Church Of The Nativity Mens Club
Greater Tampa Bay Area 089
705 E Brandon Blvd
Brandon, FL 33511


Church Of The Nazarene
Pacific Harbors Council, Bsa 612
1119 W 1st St
Centralia, WA 98531


Church Of The Nazarene
Quivira Council, Bsa 198
201 E 19th Ave
Winfield, KS 67156


Church Of The Nazarene ‐ Nyssa
Ore‐Ida Council 106 ‐ Bsa 106
412 Good Ave
Nyssa, OR 97913


Church Of The Nazarene / The Point
Crossroads of America 160
2578 Donica Rd
Greenwood, IN 46143


Church Of The Palms Presbyterian
Southwest Florida Council 088
3224 Bee Ridge Rd
Sarasota, FL 34239


Church Of The Palms Umc
Coastal Carolina Council 550
1425 Okatie Hwy
Okatie, SC 29909


Church Of The Pilgrimage
Mayflower Council 251
8 Town Sq
Plymouth, MA 02360
Church Of The Precious Blood
Monmouth Council, Bsa 347
72 Riverdale Ave
Monmouth Beach, NJ 07750


Church Of The Red Rocks Ucc
Grand Canyon Council 010
54 Bowstring Dr
Sedona, AZ 86336


Church Of The Redeemer
Baltimore Area Council 220
5603 N Charles St
Baltimore, MD 21210


Church Of The Redeemer
Five Rivers Council, Inc 375
201 S Wilbur Ave
Sayre, PA 18840


Church Of The Redeemer
Heart of Virginia Council 602
8275 Meadowbridge Rd
Mechanicsville, VA 23116


Church Of The Redeemer
Marin Council 035
123 Knight Dr
San Rafael, CA 94901


Church Of The Redeemer Episcopal
Sam Houston Area Council 576
5700 Lawndale St
Houston, TX 77023


Church Of The Redemption
Baltimore Area Council 220
1401 Towson St
Baltimore, MD 21230
Church Of The Resurrection
Baltimore Area Council 220
3175 Paulskirk Dr
Ellicott City, MD 21042


Church Of The Resurrection
Baltimore Area Council 220
700 Anchor Dr
P.O. Box 222
Joppa, MD 21085


Church Of The Resurrection
Baltimore Area Council 220
P.O. Box 222
Joppa, MD 21085


Church Of The Resurrection
Greater Tampa Bay Area 089
3855 S Florida Ave
Lakeland, FL 33813


Church Of The Resurrection
Laurel Highlands Council 527
1100 Creedmoor Ave
Pittsburgh, PA 15226


Church Of The Resurrection
National Capital Area Council 082
2280 N Beauregard St
Alexandria, VA 22311


Church Of The Resurrection
Quivira Council, Bsa 198
4910 N Woodlawn Blvd
Bel Aire, KS 67220


Church Of The Resurrection
Tidewater Council 596
3501 Cedar Ln
Portsmouth, VA 23703


Church Of The Resurrection
Westchester Putnam 388
910 Boston Post Rd
Rye, NY 10580


Church Of The Resurrection Episcopal
Alamo Area Council 583
5909 Walzem Rd
Windcrest, TX 78218


Church Of The Resurrection Roman
Laurel Highlands Council 527
1100 Creedmoor Ave
Catholic Church
Pittsburgh, PA 15226


Church Of The Resurrection, Sunnyvale
Silicon Valley Monterey Bay 055
725 Cascade Dr
Sunnyvale, CA 94087


Church Of The Rock
Green Mountain 592
1091 Fairfax Rd
Saint Albans, VT 05478


Church Of The Savior Lutheran
643 Forest Ave
Paramus, NJ 07652


Church Of The Saviour Utd Methodist
Dan Beard Council, Bsa 438
8005 Pfeiffer Rd
Montgomery, OH 45242


Church Of The Valley Presbyterian
California Inland Empire Council 045
20700 Standing Rock Ave
Apple Valley, CA 92307


Church Of The Word
Indian Nations Council 488
1915 W Taft Ave
Sapulpa, OK 74066


Church Of The Word
Indian Nations Council 488
P.O. Box 945
Kellyville, OK 74039


Church On Main Presbyterian Church
Del Mar Va 081
44 W Main St
Middletown, DE 19709


Church On The Rock
Caddo Area Council 584
1601 Mall Dr
Texarkana, TX 75503


Church St Utd Methodist Church
Tukabatchee Area Council 005
214 Church St
Selma, AL 36701


Church Street School PTA
Westchester Putnam 388
100 Orchard St
White Plains, NY 10604


Church Street Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 1303
Knoxville, TN 37901


Church Without Walls
Sam Houston Area Council 576
7500 Eldridge Pkwy
Houston, TX 77083


Church, Assumption Blessed Virgin Mary
Minsi Trails Council 502
4101 Old Bethlehem Pike
Bethlehem, Pa 18015
Church, Beatitudes‐Utd Ch Christ
Grand Canyon Council 010
555 W Glendale Ave
Phoenix, Az 85021


Church, Cross Utd Methodist Ch
Buckeye Council 436
5100 Cleveland Rd
Wooster, Oh 44691


Church, Faith Lutheran, Reno
Nevada Area Council 329
2075 W 7th St
Reno, NV 89503


Church, Incarnation Catholic Ch
Chickasaw Council 558
360 Bray Station Rd
Collierville, Tn 38017


Church, Lakes Utd Methodist Ch
Buckeye Council 436
5944 Fulton Dr Nw
Canton, Oh 44718


Church, Resurrection Utd Methodist Ch
Heart Of America Council 307
13720 Roe Blvd
Leawood, Ks 66224


Church, Resurrection, Emmaus Catholic Ch
Capitol Area Council 564
1718 Lohmans Crossing Rd
Lakeway, Tx 78734


Churches Of God, General Conference
Black Swamp Area Council 449
700 E Melrose Ave
Findlay, OH 45840


Churchhill Memorial Utd Methodist Ch
Greater Niagara Frontier Council 380
8019 Boston State Rd
Boston, NY 14025


Churchill Academy
Tukabatchee Area Council 005
395 Ray Thorington Rd
Montgomery, AL 36117


Churchill Elementary PTO
President Gerald R Ford 781
961 Porter Rd
Norton Shores, MI 49441


Churchill Park
Lincoln Heritage Council 205
435 Boxley Ave
Louisville, KY 40209


Churchland Baptist Church
Old N State Council 070
7516 S Nc Hwy 150
Lexington, NC 27295


Churchville Fire Dept Inc
Seneca Waterways 397
24 Washington St
Churchville, NY 14428


Churchville Lions Club
Baltimore Area Council 220
P.O. Box 131
Churchville, MD 21028


Churchville Lions Club
Seneca Waterways 397
7365 Buffalo Rd
Churchville, NY 14428


Churchville Lions Club
Stonewall Jackson Council 763
Churchville
Churchville, VA 24421


Churubusco Chamber Of Commerce
Anthony Wayne Area 157
111 N Main St
Churubusco, IN 46723


Chv‐Electronics, Inc
1661 Pineridge Ct
Marietta, GA 30066


Cia
P.O. Box 398
Manhattan Beach, CA 90267


Cianbro Corp
Pine Tree Council 218
P.O. Box 1000
Pittsfield, ME 04967


Ciara M Kibby
Address Redacted


Ciaran D Lynch
Address Redacted


CIBC ‐ First Caribbean Bank
Attn Iris Henchell
P.O. Box Ab‐20401
Great Abaco Island
Marsh Harbour
Bahamas


Cicely Nelson
Address Redacted


Cicero Police Expl Post 823
8236 Brewerton Rd
Cicero, NY 13039
Cicero Utd Methodist Church
Crossroads of America 160
P.O. Box 56
100 E Jackson St
Cicero, IN 46034


Cicero Utd Methodist Church
Longhouse Council 373
8416 N Main St
Box 87
Cicero, NY 13039


Cicily Gardea
Address Redacted


Cics ‐ Jackson PTO
Blackhawk Area 660
315 Summit St
Rockford, IL 61107


Cics‐Iccs
Banca Di Roma Ag No 1
Via Del Banco Di S Spirito 31
Rome, I00186
Italy


Cienega Ward ‐ LDS South Stake
Catalina Council 011
700 E Sahuarita Rd
Vail, AZ 85641


Cierra E Mcfadden
Address Redacted


Cierra P Sollecito
Address Redacted


Cilia Suhayda
Address Redacted


Cimarron
P.O. Box 3146
Enid, OK 73702‐3146


Cimarron Ambulance
P.O. Box 654
Cimarron, NM 87714


Cimarron Ambulance Fund
P.O. Box 654
Cimarron, NM 87714


Cimarron Area Military Assoc
P.O. Box 604
Cimarron, NM 87714


Cimarron Art Gallery
337 9th St
Cimarron, NM 87714


Cimarron Art Gallery
P.O. Box 115
Cimarron, NM 87714


Cimarron Blue
P.O. Box 646
Cimarron, NM 87714


Cimarron Candle Co
P.O. Box 357
Cimarron, NM 87714


Cimarron Chamber Of Commerce
P.O. Box 604
Cimarron, NM 87714


Cimarron Cncl 474
317 N Grand
P.O. Box 3146
Enid, OK 73702‐3146
Cimarron Council
Cimarron Council 474
P.O. Box 3146
Enid, OK 73702


Cimarron Cowboy Music     Poetry
337 S Euclid
Cimarron, NM 87714


Cimarron Enterprises Inc
dba Cimarron Cafe   Catering
7900 9th St W P.O. Box 57
Columbia Falls, MT 59912‐0057


Cimarron Ffa Chapter
165 N Collision Ave
Cimarron, NM 87714


Cimarron Firearms Co, Inc
105 Winding Oak Rd
Fredricksburg, TX 78624


Cimarron Floral
P.O. Box 507
Cimarron, NM 87714


Cimarron Head Start
P.O. Box 180
Holman, NM 87723


Cimarron Healthcare Clinic
P.O. Box 625
Cimarron, NM 87714


Cimarron High School Band
165 N Collison Ave E
Cimarron, NM 87714


Cimarron House Of Pizza
P.O. Box 508
Cimarron, NM 87714
Cimarron Inn   Rv Park
P.O. Box 631
Cimarron, NM 87714


Cimarron Kiwanis Club
P.O. Box 513
Cimarron, NM 87714


Cimarron Municipal Schools
125 N Collison Ave
Cimarron, NM 87714


Cimarron Municipal Schools
P.O. Box 605
Cimarron, NM 87714‐0605


Cimarron Postmaster
210 E 9th St
P.O. Box 9999
Cimarron, NM 87714


Cimarron Public Schools
165 N Collison Ave
Cimarron, NM 87714


Cimarron Publishing
11831 Bucking Bronco Trail Se
Albuquerque, NM 87123


Cimarron Rotary Club
Santa Fe Trail Council 194
P.O. Box 521
Cimarron, KS 67835


Cimarron Springs Goat Dairy
P.O. Box 1338
Angel Fire, NM 87710


Cimarron Toy Drive‐C/O Rose Romero
P.O. Box 53
Cimarron, NM 87714


Cimarron Traveling Basketball Team
52 Pinon
Cimarron, NM 87714


Cimarron Wind Ensemble
165 N Collison
Cimarron, NM 87714


Cimarron Youth Athletics Comm
P.O. Box 552
Cimarron, NM 87714


Cincinnati Christian Schools
Dan Beard Council, Bsa 438
7350 Dixie Hwy
Fairfield, OH 45014


Cincinnati, Income Tax Bureau
P.O. Box 634580
Cincinnati, OH 45263‐4580


Cinco Charities
Sam Houston Area Council 576
21421 Cinco Park Rd
Katy, TX 77450


Cinco Ranch Church Of Christ
Sam Houston Area Council 576
6655 S Mason Rd
Katy, TX 77450


Cincy After School Reese   Price
Dan Beard Council, Bsa 438
1228 Considine Ave
Cincinnati, OH 45204


Cinda Farris
Address Redacted
Cindi Bangsberg
Address Redacted


Cindy Barrus
Address Redacted


Cindy Blackwell
Address Redacted


Cindy Day
Address Redacted


Cindy Hailey
Address Redacted


Cindy Hoffer
Address Redacted


Cindy Laws
Address Redacted


Cindy Louise Scott
Address Redacted


Cindy Maddox‐Plaisance
Address Redacted


Cindy Noriega
Address Redacted


Cindy Olsavsky
Address Redacted


Cindy Proctor
Address Redacted
Cindy Scott
Address Redacted


Cindy Spalding
Address Redacted


Cindy Sulc
Address Redacted


Cindy Trish
Address Redacted


Cindy Van Brocklin
Address Redacted


Cindy Venerick
Address Redacted


Cindy Warmbrodt
Address Redacted


Cindy Watts
Address Redacted


Cine
1112 16th St Nw, Ste 510
Washington, DC 20036


Cinevideotech
7330 NE 4th Court
Miami, FL 33138


Cinnaminson Fire Dept
Garden State Council 690
1621 Riverton Rd
Cinnaminson, NJ 08077


Cintas
P.O. Box 630910
Cincinnati, OH 45263‐0910


Cintas Corp
6800 Cintas Blvd
Cincinnati, OH 45262‐5737


Cintas Corp
P.O. Box 631025
Cincinnati, OH 45263‐1025


Cintas Corp
P.O. Box 740855
Cincinnati, OH 45274‐0855


Cintas Corp 003
P.O. Box 630803
Cincinnati, OH 45263‐0803


Cintas Corp 200
P.O. Box 630803
Cincinnati, OH 45263‐0803


Cintas Corp 492
P.O. Box 650838
Dallas, TX 75265‐0838


Cintas Corp Loc 696
2425 N Nevada St
Chandler, AZ 85225


Cintas Corp No 179
214 S Rockford Dr
Tempe, AZ 85281‐3050


Cintas Document Mgmt
2323 E Magnolia St, Ste 124
Phoenix, AZ 85034


Cintas Fas Lockbox 636525
P.O. Box 636525
Cincinnati, OH 45263‐6525


Cintas Fire Protection
1705 Corporate Dr, Ste 440
Norcross, GA 30093


Cintas Loc D65
634 Lambert Pointe Dr
Hazelwood, MO 63042


Circ One Inc
7440 Susan Springs Dr
Westchester, OH 45069


Circa Of America
1330 Fitzgerald Ave
San Francisco, CA 94124


Circle C Homeowner S Assoc
Capitol Area Council 564
5119 La Crosse Ave, Suite 100
Austin, TX 78739


Circle Chevrolet
1‐25 Exit 11
3019 Toupal Dr
Trinidad, CO 81082


Circle City Preparatory School
Crossroads of America 160
4002 N Franklin Rd
Indianapolis, IN 46226


Circle K
9424 S Tyron St
Charlotte, NC 28273


Circle Of Peace Church Of The Brethren
Grand Canyon Council 010
8430 W Deer Valley Rd
Peoria, AZ 85382
Circle R Media LP
6301 Riverside Dr, Bldg 1
Irving, TX 75039


Circle Ten
P.O. Box 35726
Dallas, TX 75235‐0726


Circle Ten Cncl 571
8605 Harry Hines Blvd
P.O. Box 35726
Dallas, TX 75235‐0726


Circle Ten Council
Circle Ten Council 571
8605 Harry Hines Blvd
Dallas, TX 75235


Circuit Court Of Mobile County
Alabama
205 Government Plaza, Ste 913
Mobile, AL 36655


Circuitree LLC
1353 Lake Shore Dr
Branson, MO 65616


Circuits Plus LLC
307 E Central Entrance, Ste 2A
Duluth, MN 55811


Circulation Specialists Inc
12812 Cardinal Ln
Urbandale, IA 50323


Cisco Systems Capital Corp
P.O. Box 742927
Los Angeles, CA 90074‐2927
Cissel‐Saxon American Legion Post 41
National Capital Area Council 082
905 Sligo Ave
Silver Spring, MD 20910


Cissna Park American Legion Post
Prairielands 117
P.O. Box 97
Cissna Park, IL 60924


Cit
Avaya Financial Services
P.O. Box 93000
Chicago, IL 60673‐3000


Cit Bank, N.A.
10201 Centurion Pkwy N, Ste 100
Jacksonville, FL 32256


Cit Group / Commercial Services
P.O. Box 1036
Charlotte, NC 28201‐1036


Cit Group Commercial Services Inc
P.O. Box 1036
Charlotte, NC 28202‐1036


Cit Technology Financing
21146 Network Pl
Chicago, IL 60673‐1211


Cit Technology Financing Service
21146 Network Pl
Chicago, IL 60673‐1211


Citation Software Inc
26 N St, Unit 154
Presque Isle, ME 04769‐2239


Cities Restaurant
Greater Los Angeles Area 033
3956 E 4th St
Los Angeles, CA 90063


Citigroup Global Markets Inc
c/o Morgan Stanley Smith Barney LLC
55 Broad St
Red Bank, NJ 07701


Citizen Bike Inc
1190 Stirling Rd
Dania Beach, FL 33004


Citizen Hose Co Of The Lancaster Fire
Greater Niagara Frontier Council 380
24 W Drullard Ave
Lancaster, NY 14086


Citizens Academy Southeast
Lake Erie Council 440
15700 Lotus Dr
Cleveland, OH 44128


Citizens Committee
Leatherstocking 400
461 5th Ave Ext
Frankfort, NY 13340


Citizens Committee Of Pack 201
Mt Diablo‐Silverado Council 023
2890 Winthrop Ave
San Ramon, CA 94583


Citizens Committee Of Troop 104
Mt Diablo‐Silverado Council 023
6806 Tahoe Pl
El Cerrito, CA 94530


Citizens For Animal Welfare
Piedmont Council 420
P.O. Box 88
Harmony, NC 28634
Citizens For Mayor Jerry Bennett
Pathway To Adventure 456
10335 S Roberts Rd
Palos Hills, IL 60465


Citizens For Scouting
Buckskin 617
2951 W Front St
Richlands, VA 24641


Citizens For Scouting
California Inland Empire Council 045
4481 Lone Trl
Jurupa Valley, CA 92509


Citizens For Scouting At Herr Es
Las Vegas Area Council 328
6475 Eagle Creek Ln
Las Vegas, NV 89156


Citizens For Scouting In Winnetka Inc
Northeast Illinois 129
560 Chestnut St
Winnetka, IL 60093


Citizens For Youth
Quivira Council, Bsa 198
P.O. Box 425
Nickerson, KS 67561


Citizens Group
Theodore Roosevelt Council 386
275 Lakeville Rd
Great Neck, NY 11020


Citizens Group Of Filer
Snake River Council 111
3670 N 2100 E
Filer, ID 83328


Citizens Group Of Glocester
Narragansett 546
58 Jackson School House Rd
Chepachet, RI 02814


Citizens Group Of San Ramon
Mt Diablo‐Silverado Council 023
35 Seneca Ln
San Ramon, CA 94583


Citizens Of Gene Ward
Las Vegas Area Council 328
1555 E Hacienda Ave
Las Vegas, NV 89119


Citizens Of Good Hope
Greater Alabama Council 001
134 Town Hall Dr
Cullman, AL 35057


Citizens Of Hamel
Greater St Louis Area Council 312
111 S Old Route 66
Hamel, IL 62046


Citizens Of Haysville
Quivira Council, Bsa 198
1260 E 71st St S
Haysville, KS 67060


Citizens Of Ignacio
Great Swest Council 412
P.O. Box 706
Ignacio, CO 81137


Citizens Of Inola
Indian Nations Council 488
18305 E 610 Rd C
Inola, OK 74036


Citizens Of Jordan Creek
Mid Iowa Council 177
4501 Mills Civic Pkwy
West Des Moines, IA 50265


Citizens Of Pellston Village
President Gerald R Ford 781
175 Milton Rd
Pellston, MI 49769


Citizens Of River Forest Illinois
Pathway To Adventure 456
929 William St
River Forest, IL 60305


Citizens Of South Norfolk
Tidewater Council 596
2700 Omar St
Chesapeake, VA 23324


Citizens Of Village Of Bourbonnais
Rainbow Council 702
700 Main St Nw
Bourbonnais, IL 60914


Citizens Police Academy Alumni
Middle Tennessee Council 560
940 New Salem Rd
Murfreesboro, TN 37129


Citizens War W Virginia For Scouting
Buckskin 617
P.O. Box 281
Warriormine, Wv 24894


Citracado Dental Group
San Diego Imperial Council 049
500 W El Norte Pkwy
Escondido, CA 92026


Citrix Systems Inc
P.O. Box 931686
Atlanta, GA 31193‐1686
Citrix Systems, Inc
7414 Hollister Ave
Goleta, CA 93117


Citrix Systems, Inc
851 W Cypress Creek Rd
Fort Lauderdale, FL 33309


Citrix Systems, Inc
Global Customer Support
7414 Hollister Ave
Goleta, CA 93117


Citroen Wolf Communications
10 E 38th St 3rd Fl
New York, NY 10016


Citronelle Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 125
Citronelle, AL 36522


Citrus County Sheriffs Office
Greater Tampa Bay Area 089
1 Dr Martin Luther King Jr Ave
Inverness, FL 34450


Citrus Cove Elementary PTO
Gulf Stream Council 085
8400 Lawrence Rd
Boynton Beach, FL 33436


Citrus Heights Police Dept
Golden Empire Council 047
6315 Fountain Square Dr
Citrus Heights, CA 95621


Citrus Heights Utd Methodist Church
Golden Empire Council 047
7833 Highland Ave
Citrus Heights, CA 95610
City Academy
Greater St Louis Area Council 312
4175 N Kingshighway Blvd
Saint Louis, MO 63115


City Awning LLC
1273 Flint St Ext
P.O. Box 11604
Rock Hill, SC 29731


City Bible Church Rocky Butte Campus
Cascade Pacific Council 492
9200 NE Fremont St
Portland, OR 97220


City Bible Church Vancouver Campus
Cascade Pacific Council 492
14311 SE Mill Plain Blvd
Vancouver, WA 98684


City Church
Yucca Council 573
2200 Sun Country Dr
El Paso, TX 79938


City Club Of Fort Worth
301 Commerce St, Ste 00
Fort Worth, TX 76102


City Coconut Creek Police Explorers
Post 18
South Florida Council 084
4800 W Copans Rd
Coconut Creek, Fl 33063


City Creek Parking Inc
P.O. Box 112130
Salt Lake City, UT 84147‐2130


City Electric Supply Co
P.O. Box 16707
Greensboro, NC 27416


City Florist
613 W Front St
Tyler, TX 75702


City Florist
6244 Dream Dust Dr
North Richland Hills, TX 76180


City Florist   Enchanted Rose
1900 Wimbleton Dr
Bedford, TX 76021


City Florist   Enchanted Rose
810 W Shady Grove Rd
Grand Prairie, TX 75050


City House Inc
Circle Ten Council 571
830 Central Pkwy E, Ste 350
Plano, TX 75074


City Image Sign LLC
4338 158th Court W
Rosemont, MN 55068


City Light Ministry
Hawk Mountain Council 528
940 Spruce St
Reading, PA 19602


City Lighting Products Kansas City
P.O. Box 33417
Kansas City, MO 64120‐3417


City Of Abbeville
City Clerk
101 E Washington St
Abbeville, AL 36310‐2117
City Of Adamsville
Department of Revenue
P.O. Box 309
Adamsville, AL 35005‐0309


City Of Albany
Division of Bldg   Codes
24 Eagle St, Rm 303 City Hall
Albany, NY 12207


City Of Albuquerque Faru
P.O. Box 25700
Albuquerque, NM 87125


City Of Alexander
P.O. Box 552
Alexander City, AL 35011‐0552


City Of Anaheim
Business License Div
P.O. Box 61042
Anaheim, CA 92803‐6142


City Of Anaheim
P.O. Box 61042
Anaheim, CA 92803‐6142


City Of Aniak
P.O. Box 189
Aniak, AK 99557


City Of Annapolis Police Dept
199 Taylor Ave
Annapolis, MD 21401


City Of Arlington Parks Dept
717 W Main St
Arlington, TX 76013


City Of Arvada
8101 Ralston Rd
Arvada, CO 80002


City Of Aspen
P.O. Box 912513
Denver, CO 80291‐2513


City Of Auburn
144 Tichanor Ave, Ste 5
Auburn, AL 36830


City Of Aurora
15151 E Alameda Pkwy
Aurora, CO 80012


City Of Austin Fire Dept
Capitol Area Council 564
4201 Ed Bluestein Blvd
Austin, TX 78721


City Of Avondale Estates
Atlanta Area Council 092
21 N Avondale Plz
Avondale Estates, GA 30002


City Of Barnesville Police Dept
Flint River Council 095
100 Mill St
Barnesville, GA 30204


City Of Beckley
409 S Kanawha St
Beckley, WV 25801


City Of Beckley
P.O. Box 2514
Beckley, WV 25802‐2514


City Of Beloit
Glaciers Edge Council 620
100 State St
Beloit, WI 53511


City Of Beloit Fire Dept
Glaciers Edge Council 620
1111 Church St
Beloit, WI 53511


City Of Bethel
Finance Dept/Accts Rcvbl
P.O. Box 388
Bethel, AK 99559


City Of Bethlehem Police Dept
Minsi Trails Council 502
10 E Church St
Bethlehem, PA 18018


City Of Biloxi Police Dept
Pine Burr Area Council 304
170 Porter Ave
Biloxi, MS 39530


City Of Bloomingale
8 W Highway 80
Bloomingdale, GA 31302


City Of Bloomington
3550 N Kinser Pike
Bloomington, IN 47404


City Of Boulder
1777 Broadway
Boulder, CO 80302


City Of Bowie Police Dept
National Capital Area Council 082
15901 Excalibur Rd
Bowie, MD 20716


City Of Boynton Beach Police
Gulf Stream Council 085
100 E Boynton Beach Blvd
Boynton Beach, FL 33435


City Of Bremerton
Tax   License Div
239 4th St
Bremerton, WA 98337


City Of Brighton
500 S 4th Ave
Brighton, CO 80601


City Of Camargo
Blue Grass Council 204
General Delivery
Mount Sterling, KY 40353


City Of Canon City
128 Main St
P.O. Box 1460
Canon City, CO 81215‐1460


City Of Carbondale
511 Colorado Ave
Carbondale, CO 81623


City Of Casa Grande Fire Dept
3181 N Lear Ave
Casa Grande, AZ 85122


City Of Central
P.O. Box 249
Central City, CO 80427


City Of Champaign Fire Dept
Prairielands 117
307 S Randolph St
Champaign, IL 61820


City Of Champaign Police Dept.
Prairielands 117
82 E University Ave
Champaign, IL 61820


City Of Charlotte
Attn Utility Dept
600 E 4th St
Charlotte, NC 28202


City Of Charlotte
Billing Center
P.O. Box 1316
Charlotte, NC 28201‐1316


City Of Charlotte
Mecklenburg County Council 415
600 E 4th St
Charlotte, NC 28202


City Of Charlotte
P.O. Box 31032
Charlotte, NC 28231‐1032


City Of Charlotte Regional Visitors Auth
dba Charlotte Convention Center
501 S College St
Charlotte, NC 28202‐1873


City Of Cherokee
c/o P.O. Box 3989
Muscle Shoals, AL 35662


City Of Chicago ‐ Dept Of Revenue
121 N Lasalle St
Room 107
Chicago, IL 60680‐4956


City Of Chicago ‐ Dept. Of Revenue
121 N Lasalle St, Rm 107
Chicago, IL 60680‐4956


City Of Chico
411 Main St
Chico, CA 95928


City Of Chico
Golden Empire Council 047
1460 Humboldt Rd
Chico, CA 95928


City Of Cincinnati Police Dept
Dan Beard Council, Bsa 438
310 Ezzard Charles Dr
Cincinnati, OH 45214


City Of Clermont
865 W Montrose St
Clermont, FL 34711


City Of Clinton Fire Dept
Blue Ridge Council 551
404 N Broad St
Clinton, SC 29325


City Of Colorado Springs
P.O. Box 2408
Colorado Springs, CO 80901


City Of Colton Fire Dept
California Inland Empire Council 045
303 E E St
Colton, CA 92324


City Of Columbia Police Dept
Great Rivers Council 653
600 E Walnut St
Columbia, MO 65201


City Of Columbus
Dept of Public Safety‐License Section
4252 Groves Rd
Columbus, OH 43232
City Of Columbus
Inspections   Code
420 10th St, 2nd Fl
Columbus, GA 31901


City Of Conroe
300 W Davis
Conroe, TX 77301


City Of Cordova
P.O. Box 1210
Cordova, AK 99574


City Of Corpus Christi
Alarm Permit
P.O. Box 141869
Irving, TX 75014


City Of County Of Broomfield
P.O. Box 407
Broomfield, CO 80038‐0407


City Of Craig
300 W 4th St
Craig, CO 81625


City Of Craig Alaska
P.O. Box 725
Craig, AK 99921


City Of Crystal Lake
100 W Woodstock St
Crystal Lake, IL 60039‐0597


City Of Dacono
512 Cherry St
Dacono, CO 80514


City Of Dallas Fire Rescue Dept
Inspection   Life Safety Education
1551 Baylor St, Ste 400
Dallas, TX 75226‐1956


City Of Daphne
P. O. Drawer 1047
Daphne, AL 35626‐1047


City Of Darlington Fire Dept
Pee Dee Area Council 552
301 Orange St
Darlington, SC 29532


City Of Davenport
Attn Business Licensing
226 W 4th St
Davenport, IA 52801


City Of Dayton Fire Dept
Miami Valley Council, Bsa 444
300 N Main St
Dayton, OH 45402


City Of Decatur
P.O. Box 488
Decatur, AL 35602


City Of Delray Beach
Gulf Stream Council 085
50 NW 1st Ave
Delray Beach, FL 33444


City Of Deltona Fire Dept
Central Florida Council 083
1685 Providence Blvd
Deltona, FL 32725


City Of Des Peres
12325 Manchester Rd
Des Peres, MO 63131


City Of Detroit
Attn Environmental Health       Safety
3245 E Jefferson Ave, Ste 100
Detroit, MI 48207‐4222


City Of Dillingham Alaska
P.O. Box 889
Dillingham, AK 99576


City Of Doral
South Florida Council 084
6100 NW 99th Ave
Doral, FL 33178


City Of Dunwoody Police
Atlanta Area Council 092
41 Perimeter Ctr E, Ste 100
Atlanta, GA 30346


City Of Dunwoody Police
William Furman Post 702
41 Perimeter Center E 100
Dunwoody, GA 30346


City Of Durango
949 E 2nd Ave
Durango, CO 81301‐5109


City Of Edwardsville
P.O. Box 8
Edwardsville, AL 36261


City Of Elgin Fire Dept
Three Fires Council 127
550 Summit St
Elgin, IL 60120


City Of Ely
209 E Chapman St
Ely, MN 55731


City Of Englewood
P.O. Box 2900, Sales Tax
Englewood, CO 80150‐2900


City Of Evans Colorado
1100 37th St
Evans, CO 80620


City Of Fairfield
5350 Pleasant Ave
Fairfield, OH 45014‐3597


City Of Fairfield Police Dept
Dan Beard Council, Bsa 438
5230 Pleasant Ave
Fairfield, OH 45014


City Of Falls Church
300 Park Ave
Finance Div
Falls Church, VA 22046


City Of Fayetteville Fire Dept
433 Hay St
Fayetteville, NC 28301‐5537


City Of Fenton Fire Dept
Water and Woods Council 782
205 E Caroline St
Fenton, MI 48430


City Of Findlay Airport
Black Swamp Area Council 449
1615 Gray St
Findlay, OH 45840


City Of Florissant
Greater St Louis Area Council 312
1700 N US Hwy 67
Florissant, MO 63033


City Of Fort Collins
Attn Sales Tax Dept
P.O. Box 440
Fort Collins, CO 80522‐0439


City Of Fort Deposit
c/o Crockers Accounting      Tax Svcs
P.O. Box 950
Alexandria, AL 36250


City Of Fort Worth
Fire Dept Revenue Group
505 W Felix St
Ft Worth, TX 76115


City Of Fort Worth
Longhorn Council 662
200 Texas St
Fort Worth, TX 76102


City Of Fort Yukon
P.O. Box 269
Fort Yukon, AK 99740


City Of Foster City
610 Foster City Blvd
Foster City, CA 94404


City Of Franklin Police Dept
Middle Tennessee Council 560
900 Columbia Ave
Franklin, TN 37064


City Of Freeport Fire Dept
Blackhawk Area 660
1650 S Walnut Ave
Freeport, IL 61032


City Of Frisco
P.O. Box 4100
Frisco, CO 80443


City Of Ft Lauderdale Fire Rescue Dept
South Florida Council 084
2200 Exec Airport Way 59
Fort Lauderdale, FL 33309


City Of Ft Myers
P.O. Box 340
Ft Myers, FL 33903‐0340


City Of Galt Police Dept
Greater Yosemite Council 059
455 Industrial Dr
Galt, CA 95632


City Of Glenco
c/o P.O. Box 3989
Muscle Shoals, AL 35662


City Of Glendale
5850 W Glendale Ave
Glendale, AZ 85301


City Of Glendale‐Tax Administration
950 S Birch St
Glendale, CO 80246


City Of Glenwood Springs
101 W 8th St
Glenwood Springs, CO 81601


City Of Glenwood Springs Fire Dept
Denver Area Council 061
806 Cooper Ave
Glenwood Springs, CO 81601


City Of Golden
911 10th St
Golden, CO 80401


City Of Grand Blanc
Bethany J Smith
203 E Grand Blanc Rd
Grand Blanc, MI 48439


City Of Grand Junction Finance
250 N 5th St
Grand Junction, CO 81501


City Of Graysville
c/o Graysville Revenue
266 Valleydale Rd 310
Birmingham, AL 35244


City Of Greeley
P.O. Box 1648
Greeley, CO 80632


City Of Green Bay Law Dept
100 N Jefferson St, Rm 200
Green Bay, WI 54301


City Of Greeneville Citizens
Sequoyah Council 713
P.O. Box 377
Sneedville, TN 37869


City Of Greensburg
Lincoln Heritage Council 205
110 W Court St
Greensburg, KY 42743


City Of Greenwood Village
6060 S Quebec St
Greenwood Village, CO 80111


City Of Greenwood Village
P.O. Box 4837
Greenwood Village, CO 80155‐4837


City Of Gulf Shore
P.O. Box 299
Gulf Shores, AL 36547
City Of Gunnison
P.O. Box 239
Gunnison, CO 81230


City Of Gustavus
P.O. Box 1
Gustavus, AK 99829


City Of Harrison Fire Dept
Dan Beard Council, Bsa 438
200 Harrison Ave
Harrison, OH 45030


City Of Haskell Volunteer Fire Dept
Texas Trails Council 561
301 N 1St St
Haskell, Tx 79521


City Of Helen Ga
Northeast Georgia Council 101
P.O. Box 280
Helen, GA 30545


City Of Helena
P.O. Box 613
Helena, AL 35080‐0613


City Of Hemet Fire Dept
California Inland Empire Council 045
510 E Florida Ave
Hemet, CA 92543


City Of Hialeah Police Dept.
Cadet Post 589
5555 E 8th Ave
Hialeah, FL 33013


City Of Homer
491 E Pioneer Ave
Homer, AK 99603
City Of Hoonah Alaska
300 Front St
P.O. Box 360
Hoonah, AK 99829


City Of Hoover
P.O. Box 11407
Birmingham, AL 35236‐0628


City Of Houston
Ara Alarm Administrator
P.O. Box 203887
Houston, TX 77216‐3887


City Of Hudson Fire Dept
Twin Rivers Council 364
520 Warren St
Hudson, NY 12534


City Of Hueytown
City Clerk   Treasurer
Sales   Use Tax P.O. Box 3650
Hueytown, AL 35023


City Of Huntsville
City Clerk‐Treasurer
P.O. Box 040003
Huntsville, AL 35804


City Of Hurst
P.O. Box 269110
Sacramento, CA 95826‐9110


City Of Indio Police Dept/Cadet Program
California Inland Empire Council 045
46800 Jackson St
Indio, CA 92201


City Of Irving
825 W Irving Blvd
Irving, TX 75060
City Of Irving
P.O. Box 840534
Dallas, TX 75284‐0534


City Of Irving ‐ Utility Billing
825 W Irving Blvd
Irving, TX 75060


City Of Irving‐Municipal Services Bill
P.O. Box 840898
Dallas, TX 75284‐0898


City Of Johnson City
c/o City Recorder
P.O. Box 2227
Johnson City, TN 37605‐2227


City Of Johnson City
Dept. of Finance
P.O. Box 2150
Johnson City, TN 37605


City Of Kake
P.O. Box 500
Kake, AK 99830


City Of Kansas City Missouri
Finance Dept Revenue Div
P.O. Box 15623
Kansas City, MO 64106‐0623


City Of Keene Fire Dept
Daniel Webster Council, Bsa 330
33 Vernon St
Keene, NH 03431


City Of Ketchikan
334 Front St
Sales Tax Dept
Ketchikan, AK 99901
City Of Ketchikan Gateway
1900 1st Ave
Ketchikan, AK 99901


City Of Key West
Key W Bight Marina
201 William St
Key W, Fl 33040


City Of Kiana
P.O. Box 150
Kiana, AK 99868


City Of King Fire Dept
Old Hickory Council 427
302 W King St
King, NC 27021


City Of Klawock
P.O. Box 469
Klawock, AK 99925


City Of Knoxville
Attn Revenue Office
P.O. Box 15001
Knoxville, TN 37901‐5001


City Of Knoxville
Dept of Finance Revenue Office
Business Tax Div
P.O. Box 1028
Knoxville, TN 37901


City Of Knoxville Fire Dept
Great Smoky Mountain Council 557
900 E Hill Ave, Ste 430
Knoxville, TN 37915


City Of Kodiak
710 Mill Bay Rd
Room 213
Kodiak, AK 99615


City Of Kodiak
710 Mill Bay Rd, Rm 213
Kodiak, AK 99615


City Of La Junta
601 Colorado Ave
P.O. Box 489
La Junta, CO 81050


City Of Lafayette
1290 S Public Rd
Lafayette, CO 80026


City Of Lakewood
Attn Revenue Div
P.O. Box 261450
Lakewood, CO 80226‐9450


City Of Lamar
102 E Parmenter St
Lamar, CO 81052


City Of Las Vegas Dps
Las Vegas Area Council 328
3300 Stewart Ave
Las Vegas, NV 89101


City Of Laurinburg Police Dept
Cape Fear Council 425
303 W Church St
Laurinburg, NC 28352


City Of Lavergne Fire Rescue Dept
Middle Tennessee Council 560
283 Old Nashville Hwy
La Vergne, TN 37086


City Of Lawrence Police Dept
The Spirit of Adventure 227
90 Lowell St
Lawrence, MA 01840


City Of Lawrenceville
70 S Clayton St
Lawrenceville, GA 30046


City Of Leighton
City Clerk
8900 Main St
Leighton, AL 35646


City Of Lewisville
1197 W Main St
P.O. Box 299002
Lewisville, TX 75029‐9002


City Of Lilburn Police Dept
Northeast Georgia Council 101
76 Main St Nw
Lilburn, GA 30047


City Of Littleton
2255 W Berry Ave
Littleton, CO 80120


City Of Livonia
33000 Civic Ctr Dr
Livonia, MI 48154


City Of Lone Tree
9220 Kimmer Dr, Ste 100
Lone Tree, CO 80124


City Of Longmont
Civic Ctr Complex
350 Kimbark St
Longmont, CO 80501


City Of Los Angeles ‐ Office Of Finance
Tax   Permit Div
P.O. Box 54407
Los Angeles, CA 90054‐0407


City Of Louisville
749 Main St
Louisville, CO 80027


City Of Loveland
500 E 3rd St
Loveland, CO 80537


City Of Lynnville
Middle Tennessee Council 560
P.O. Box 158
Lynnville, TN 38472


City Of Lynnwood Police Dept
Mount Baker Council, Bsa 606
P.O. Box 5008
Lynnwood, WA 98046


City Of Madison
Sales   Use Tax
P.O. Box 99
Madison, AL 35758


City Of Malden Parks And Recreation
Greater St Louis Area Council 312
607 N Douglass St
Malden, MO 63863


City Of Manchester
Office of the City Clerk
One City Hall Plz
Manchester, NH 03101


City Of Manteca Police Dept
Greater Yosemite Council 059
1001 W Center St
Manteca, CA 95337
City Of Margate Fire Dept
South Florida Council 084
600 N Rock Island Rd
Margate, FL 33063


City Of Marina Recreation Dept
Silicon Valley Monterey Bay 055
211 Hillcrest Ave
Marina, CA 93933


City Of Melbourne
Attn Revenue Div
900 E Strawbridge Ave
Melbourne, FL 32901


City Of Mesa Customer Service
Cashiers ‐ Miscellaneous ‐Receivables
P.O. Box 1466
Mesa, AZ 85211‐1466


City Of Mesquite Florence
Circle Ten Council 571
1515 N Galloway Ave
Dallas, TX 75149


City Of Mesquite Parks      Rec Center
Circle Ten Council 571
1515 N Galloway Ave
Mesquite, TX 75149


City Of Mesquite Rutherford
Circle Ten Council 571
1515 N Galloway Ave
Mesquite, TX 75149


City Of Miami Gardens Police Dept
South Florida Council 084
18711 NW 27 Ave
Miami Gardens, FL 33056


City Of Miami Police‐South Station
South Florida Council 084
2200 W Flagler St
Miami, FL 33135


City Of Mobile
P.O. Box 2745
Mobile, AL 36652‐2745


City Of Monroe Fire Dept
Northeast Georgia Council 101
116 S Broad St
Monroe, GA 30655


City Of Monroe Police Dept
Northeast Georgia Council 101
116 S Broad St
Monroe, GA 30655


City Of Montclair
5111 Benito St
Montclair, CA 91763


City Of Montevallo
P.O. Box 63
Montevallo, AL 35115


City Of Montgomery
P.O. Box 1111
Montgomery, AL 36101


City Of Montrose
433 S 1st St
Montrose, CO 81401‐3908


City Of Morrow
Public Works Dept
1500 Morrow Rd
Morrow, GA 30260


City Of Mount Hope ‐ Sewer
P.O. Box 151
Mt Hope, WV 25880


City Of Mount Hope ‐ Water
609 Main St
Mount Hope, WV 25880


City Of Mount Hope ‐ Water
P.O. Box 151
Mt Hope, WV 25880


City Of Mountain Brook
P.O. Box 130009
Mountain Brook, AL 35213‐3700


City Of Naperville Police Dept
400 S Eagle St
Naperville, IL 60540


City Of Naperville‐Fire Dept
400 S Eagle St
P.O. Box 3020
Naperville, IL 60566‐7020


City Of Nappanee Fire Dept
Lasalle Council 165
300 W Lincoln St
Nappanee, IN 46550


City Of Newnan Police Dept
Flint River Council 095
1 Joseph Hannah Blvd
Newnan, GA 30263


City Of Nome
P.O. Box 281
Nome, AK 99762


City Of North Charleston
2500 City Hall Ln
North Charleston, SC 29406‐6538
City Of North Pole
125 Snowman Ln
North Pole, AK 99705


City Of Northglenn ‐ Sales Tax Div
11701 Community Center Dr
Northglenn, CO 80233‐1001


City Of Northglenn‐Sales Tax Divison
11701 Community Ctr Dr
Northglenn, CO 80233‐1001


City Of Northport
P.O. Box 569
Northport, AL 35476


City Of Ontario Fire Dept
California Inland Empire Council 045
425 E B St
Ontario, CA 91764


City Of Opa Locka Parks   Recreation
South Florida Council 084
215 N Perviz Ave
Opa Locka, FL 33054


City Of Orange Beach
P.O. Box 1159
Orange Beach, AL 36561‐1159


City Of Orange Public Library
Orange County Council 039
407 E Chapman Ave
Orange, CA 92866


City Of Oxford Div Of Police
Dan Beard Council, Bsa 438
101 E High St
Oxford, OH 45056
City Of Oxnard Fire Dept
Ventura County Council 057
360 W 2nd St
Oxnard, CA 93030


City Of Palm Springs Fire Dept
California Inland Empire Council 045
300 N El Cielo Rd
Palm Springs, CA 92262


City Of Palmer
231 W Evergreen Ave
Palmer, AK 99645


City Of Palms High School
Southwest Florida Council 088
2830 Winkler Ave, Ste 201
Fort Myers, FL 33916


City Of Pasadena
100 N Garfield Ave
Pasadena, CA 91101


City Of Pasadena
Business License Section
100 N Garfield St ‐, Rm 121
Pasadena, CA 91109


City Of Pelham
P.O. Box 1238
Pelham, AL 35124


City Of Petersburg
P.O. Box 329
Petersburg, AK 99833


City Of Philadelphia
Department of Revenue
P.O. Box 1018
Philadelphia, PA 19105‐1018
City Of Philadelphia
Dept of Finance
P.O. Box 56318
Philadelphia, PA 19130‐6318


City Of Pinellas Park Fire Dept
Greater Tampa Bay Area 089
11350 43rd St N
Clearwater, FL 33762


City Of Pittsburgh
Alarm Program
P.O. Box 140309
Irving, TX 75014


City Of Pleasant Hill
Business License Dept
100 Gregory Ln
Pleasant Hill, CA 94523‐3323


City Of Portland
Inspections Div Services
389 Congress St, Rm 315
Portland, ME 04101‐3509


City Of Prattville
P.O. Box 680190
Prattville, AL 36068


City Of Princeton Police Deptartment
W D Boyce 138
2 S Main St
Princeton, IL 61356


City Of Pueblo
Attn Finance Dept/Sales Tax Div
1 City Hall Pl
Pueblo, CO 81003


City Of Raleigh Fire Dept
Occoneechee 421
310 W Martin St
Raleigh, NC 27601


City Of Raton
P.O. Box 910
Raton, NM 87740


City Of Redlands
Office of the City Treasurer
35 Cajon St, Ste 15B
Redlands, CA 92373‐1505


City Of Refuge
Atlanta Area Council 092
1300 Joseph E Boone Blvd Nw
Atlanta, GA 30314


City Of Rifle
202 Railroad Ave
Rifle, CO 81650


City Of Rio Rancho Police Dept
Great Swest Council 412
500 Quantum Rd Ne
Rio Rancho, NM 87124


City Of Robertsdale
P.O. Box 429
Robertsdale, AL 36567


City Of Rochester Fire Dept
Great Lakes Fsc 272
277 E 2nd St
Rochester, MI 48307


City Of Rockford Fire Dept
Blackhawk Area 660
204 S 1st St
Rockford, IL 61104


City Of Rome Police Dept
Northwest Georgia Council 100
5 Government Plz, Ste 300
Rome, GA 30161


City Of Sacramento
City Hall
915 I St, Rm 104
Sacramento, CA 95814‐2616


City Of Salinas
Attn Finance Dept
200 Lincoln Ave
Salinas, CA 93901‐2639


City Of San Clemente Marine Safety
Orange County Council 039
910 Calle Negocio
San Clemente, CA 92673


City Of San Jose
Business Tax Customer Service
200 E Santa Clara St, 1st Fl
San Jose, CA 95113


City Of San Luis Fire Dept
Grand Canyon Council 010
1165 N Mccain St
San Luis, AZ 85349


City Of Santa Ana
Business Tax Section     M‐15
P.O. Box 1964
Santa Ana, CA 92702


City Of Santa Rosa
City of Santa Rosa Alarm Program
P.O. Box 143217
Irving, TX 75014


City Of Savoonga
P.O. Box 40
Savoonga, AK 99769
City Of Seattle
Attn Revenue and Consumer Affairs
P.O. Box 34904
Seattle, WA 98124‐1907


City Of Seattle
P.O. Box 34904
Seattle, WA 98124‐1904


City Of Seattle
Revenue and Consumer Affairs
P.O. Box 34907
Seattle, WA 98124‐1907


City Of Sebastian Police Dept
Gulf Stream Council 085
1201 Main St
Sebastian, FL 32958


City Of Semmes
Mobile Area Council‐Bsa 004
P.O. Box 1757
Semmes, AL 36575


City Of Seward
P.O. Box 167
Seward, AK 99664


City Of Sheffield Alabama
Stacs
P.O. Box 3989
Muscle Shoals, AL 35662


City Of Shelby Police Dept
Piedmont Council 420
130 W Warren St
Shelby, NC 28150


City Of Sherdian
4101 S Federal Blvd
Sheridan, CO 80110
City Of Sheridan
4101 S Federal Blvd
Sheridan, CO 80110


City Of Sitka
100 Lincoln St
Sitka, AK 98835


City Of Slocomb Ems
Alabama‐Florida Council 003
324 S State Hwy 103
Slocomb, AL 36375


City Of Sneedville Citizens
Sequoyah Council 713
P.O. Box 377
Sneedville, TN 37869


City Of Snomass Village
P.O. Box 5010
130 Kearns Rd
Snomass Village, CO 81615


City Of Snoqualmie Police Dept
Chief Seattle Council 609
34825 SE Douglas St
Snoqualmie, WA 98065


City Of Socorro
Yucca Council 573
901 N Rio Vista Rd
Socorro, TX 79927


City Of Spartanburg
Palmetto Council 549
210 Bomar Ave
Spartanburg, SC 29306


City Of Spokane
Office of the City Treasurer
808 W Spokane Falls Blvd
Spokane, WA 99201‐3336


City Of St Louis ‐ Arfam
P.O. Box 790106
St Louis, MO 63179‐0106


City Of St. Mary S
P.O. Box 209
Saint Marys, AK 99658


City Of Stafford
Attn Finance Dept
2610 S Main St
Stafford, TX 77477


City Of Steamboat Springs
P.O. Box 772869
Steamboat Springs, CO 80477‐2869


City Of Steamboat Springs
P.O. Box 775088
Steamboat Springs, CO 80477


City Of Sterling
P.O. Box 4000
Sterling, CO 80751


City Of Sunrise Fire‐Rescue
South Florida Council 084
10440 W Oakland Park Blvd
Sunrise, FL 33351


City Of Tacoma
733 Market St, Rm 201
Tacoma, WA 98402‐3370


City Of Tacoma
Attn Finance Dept/Tax      License Div
733 Market St, Rm 21
Tacoma, WA 98402‐3770
City Of Taylor Mill Police Dept
Dan Beard Council, Bsa 438
5227 Taylor Mill Rd
Taylor Mill, KY 41015


City Of Taylorsville
Community Development Dept
2600 W Taylorsville Blvd
Taylorsville, UT 84118


City Of Tempe
P.O. Box 29617
Phoenix, AZ 85038‐9617


City Of Thorne Bay
P.O. Box 19110
Thorne Bay, AK 99919


City Of Thornton
P.O. Box 910222
Denver, CO 80291‐0222


City Of Thornton Fire Dept
Denver Area Council 061
14051 Colorado Blvd
Thornton, CO 80602


City Of Tolleson Fire Dept
Grand Canyon Council 010
203 N 92nd Ave
Tolleson, AZ 85353


City Of Tonawanda Fire Dept
Greater Niagara Frontier Council 380
44 William St
Tonawanda, NY 14150


City Of Topeka
Topeka Police Alarm Clerk
320 S Kansas Ave, Ste 100
Topeka, KS 66603‐3640


City Of Troy ‐ Treasurer
500 W Big Beaver
Troy, MI 48084‐5285


City Of Troy Police Dept
Greater St Louis Area Council 312
800 Cap Au Gris St
Troy, MO 63379


City Of Tuscaloosa
P.O. Box 2089
Tuscaloosa, AL 35403


City Of Tuscumbia
City Clerk
5010 Missouri St
Tuscumbia, AL 35674‐4756


City Of Tustin/Tustin Pd
Orange County Council 039
300 Centennial Way
Tustin, CA 92780


City Of Unalaska
P.O. Box 610
Unalaska, AK 99685


City Of Vacaville Fire Dept
Golden Empire Council 047
650 Merchant St
Vacaville, CA 95688


City Of Vandalia Fire Dept
Miami Valley Council, Bsa 444
8705 Peters Pike
Vandalia, OH 45377


City Of Virginia
327 1st St S
Virginia, MN 55792‐2623


City Of Walker
4243 Remembrance Rd Nw
Walker, MI 49534


City Of Walker Fire Dept
President Gerald R Ford 781
4343 Remembrance Rd Nw
Walker, MI 49534


City Of Warren Police Dept
Explorer Post 312
318 W 3rd Ave
Warren, PA 16365


City Of Wasilla
290 E Herning Ave
Wasilla, AK 99654


City Of Waukesha
c/o City Treasurer
201 Delafield St
Waukesha, WI 53188


City Of Westminster
P.O. Box 17107
Denver, CO 80217‐7107


City Of Wheat Ridge
7500 W 29th Ave
Wheat Ridge, CO 80033


City Of White House Fire Dept
Middle Tennessee Council 560
120 Business Park Dr
White House, TN 37188


City Of Wichita
Attn Tina Henry, 7th Fl City Hall
455 N Main
Wichita, KS 67202


City Of Wilmington
Attn Div of Revenue
P.O. Box 15526
Wilmington, DE 19886‐5526


City Of Wilmington
Division of Revenue
P.O. Box 15526
Wilmington, DE 19886‐5526


City Of Woburn
Attn Office of the City Clerk
10 Common St, City Hall
Woburn, MA 01801


City Of Wrangell
P.O. Box 531
Wrangell, AK 99929


City On A Hill Utd Methodist Church
Atlanta Area Council 092
7745 Main St
Woodstock, GA 30188


City Point Utd Methodist Church
Longhorn Council 662
7301 Glenview Dr
Richland Hills, TX 76180


City Road Utd Methodist Church
Middle Tennessee Council 560
701 Gallatin Pike S
Madison, TN 37115


City Soul Ministries
Buckskin 617
1101 46th St
Vienna, WV 26105
City Taste Tours LLC
1903 Brentmoor Ln
Louisville, KY 40223


City Utilities Of Springfield
Ozark Trails Council 306
301 E Central St
Springfield, MO 65802


City/Borough Of Juneau
115 S Seward
Sales Tax Dept
Juneau, AK 99801


Citygraphics Inc
P.O. Box 410746
Charlotte, NC 28241


Cityview Site ‐ Canyon Kids
Golden Spread Council 562
3301 N 23rd St
Canyon, TX 79015


Citywide Electric
3131 E Camelback Rd, Ste 200
Phoenx, AZ 85016


Civil Tech Engineering Inc
300 A Prestige Dr
Hurricane, WV 25526


Civil War Times Illustrated
P.O. Box 420560
Palm Coast, FL 32142‐0560


Civilian Marksmanship Program
1401 Commerce Blvd
Anniston, AL 36207


Civilized Discourse Construct
For Secured Card Only
410 Clayton Ave
El Cerrito, CA 94530


Civille   Tang PLLC
330 Hernan Cortez Ave, Ste 200
Hagatna, GU 96910‐5081


Civitan Club Of Albertville
Greater Alabama Council 001
P.O. Box 51
Albertville, AL 35950


Civitan Club Of Clarksville
Middle Tennessee Council 560
P.O. Box 881
223 N 2nd St
Clarksville, TN 37040


Civitan Club Of Fairfield
Dan Beard Council, Bsa 438
1381 Hunter Rd
Fairfield, OH 45014


Civitan Club Of Guntersville
Greater Alabama Council 001
2577 Buck Island Dr
Guntersville, AL 35976


Civitan Club Of Wilsonville
Greater Alabama Council 001
31 Mcclure Dr
Wilsonville, AL 35186


Cjk Print Possibilities
6008 Reliable Pkwy
Chicago, IL 60686‐0060


Ck Ridge Creek West Iii, LLC
10240‐F Wern Ridge RD
Charlotte, NC 28273
Clackamas County Boring Fire District 1
Cascade Pacific Council 492
11300 SE Fuller Rd
Milwaukie, OR 97222


Claflin University
Indian Waters Council 553
400 Magnolia St
Orangeburg, SC 29115


Clague Road Utd Church Of Christ
Lake Erie Council 440
3650 Clague Rd
North Olmsted, OH 44070


Claiborne Utd Methodist Church
Louisiana Purchase Council 213
5401 Cypress St
West Monroe, LA 71291


Clair M Trenhaile
Address Redacted


Clair Memorial Utd Methodist Church
Mid‐America Council 326
5544 Ames Ave
Omaha, NE 68104


Clair Shirley
Address Redacted


Clairborne Parish Sales
And Use Tax Dept
P.O. Box 600
Homer, LA 71040‐0600


Clairbourn School
Greater Los Angeles Area 033
8400 Huntington Dr
San Gabriel, CA 91775
Claire Bissell
Address Redacted


Claire Connell
Address Redacted


Claire Dibble
Address Redacted


Claire E Rugaber
Address Redacted


Claire Gagnon
Address Redacted


Claire Miller
Address Redacted


Claire Osterman
Address Redacted


Claire Shumate
Address Redacted


Clairemont Covenant Church
San Diego Imperial Council 049
5255 Mount Ararat Dr
San Diego, CA 92111


Clairemont Lutheran Church
San Diego Imperial Council 049
4271 Clairemont Mesa Blvd
San Diego, CA 92117


Clairton Elementary School
Laurel Highlands Council 527
501 Waddell Ave
Clairton, PA 15025
Clairview Preschool
Westmoreland Fayette 512
102 Equity Dr
Greensburg, PA 15601


Clallam County Fire District 2
Chief Seattle Council 609
102 E 5th St
Port Angeles, WA 98362


Clallam County Fire District 3
Chief Seattle Council 609
323 N 5th Ave
Sequim, WA 98382


Clament Newport
Address Redacted


Clampitt Paper Co
P.O. Box 915018
Dallas, TX 75391‐5018


Clancey D Craig
Address Redacted


Clancy M Thomas
Address Redacted


Clancy Vfd
Montana Council 315
P.O. Box 157
Clancy, MT 59634


Clapps Chapel Utd Methodist Church
Great Smoky Mountain Council 557
7420 Clapps Chapel Rd
Corryton, TN 37721


Clara City Lions Club
Northern Star Council 250
General Delivery
Clara City, MN 56222


Clara Mohammed School
Three Harbors Council 636
317 W Wright St
Milwaukee, WI 53212


Clara Vartanian
Address Redacted


Clare College Tutors Account
P.O. Box 152079
Irving, TX 75015‐2079


Clare County Senior Community Center
Water and Woods Council 782
P.O. Box 98
Farwell, MI 48622


Clare M Yoritomo
Address Redacted


Clare Utd Methodist Church
Water and Woods Council 782
105 E 7th St
Clare, MI 48617


Claremont Police Dept
Greater Los Angeles Area 033
570 W Bonita Ave
Claremont, CA 91711


Claremont Presbyterian Church
Greater Los Angeles Area 033
1111 N Mountain Ave
Claremont, CA 91711


Claremont Utd Church Of Christ
Greater Los Angeles Area 033
233 Harrison Ave
Claremont, CA 91711
Claremore Church Of The Nazarene
Indian Nations Council 488
1336 N Dorothy Ave
Claremore, OK 74017


Clarence G Dzuris Vfw Post 5221
Pikes Peak Council 060
568 Colorado Ave
Calhan, CO 80808


Clarence Giles
Address Redacted


Clarence H Beaver Masonic Lodge 124
Transatlantic Council, Bsa 802
Psc 47 Box 1447
Raf Alconbury
Apo, AE 09470


Clarence H Beaver Masonic Lodge 124
Transatlantic Council, Bsa 802
Pso 47 Box 1142
Apo, AE 9470


Clarence Joseph
Address Redacted


Clarence L Neiman Post 455
Erie Shores Council 460
4805 County Rd 16
Woodville, OH 43469


Clarence L Nieman Post 455
Erie Shores Council 460
P.O. Box 94
Woodville, OH 43469


Clarence Neslen Jr
Address Redacted
Clarence Nicholas
Address Redacted


Clarence Renfroe
Address Redacted


Clarence Smith
Address Redacted


Clarence Utd Methodist Church
Great Rivers Council 653
301 S Center St
Clarence, MO 63437


Clarence Utd Methodist Church
Greater Niagara Frontier Council 380
10205 Greiner Rd
Clarence, NY 14031


Clarence Walker Jr
Address Redacted


Clarendon First Christian Church
Golden Spread Council 562
P.O. Box 690
120 E 3Rd
Clarendon, TX 79226


Clarendon First Utd Methodist Church
Golden Spread Council 562
P.O. Box 1050
420 Jefferson
Clarendon, TX 79226


Clarendon Utd Methodist Church
National Capital Area Council 082
606 N Irving St
Arlington, VA 22201


Clarion Holiday Inn
45 Holiday Inn Rd
Clarion, PA 16214


Clarion Holiday Inn
I 80 At Route 68
Clarion, PA 16214


Clarion Inn Kennedy Space Center
4951 S Washington Ave
Titusville, FL 32780


Clarion Lodge 277 Fr   Acc Masons
French Creek Council 532
P.O. Box 20
Masonic Hall
Clarion, PA 16214


Clarion University Of Pennsylvania
Attn B‐16 Carrier Hall
840 Wood St
Clarion, PA 16214


Clarion Vfw Post 2612
Winnebago Council, Bsa 173
211 6th St Sw
Clarion, IA 50525


Clarissa Conolley
Address Redacted


Clarissa J Ramsey
Address Redacted


Clarix Technologies Inc
1000 Pittsford Victor Rd
Pittsford, NY 14534


Clark Cnty Fire Distr 3 Firemans Assoc
Cascade Pacific Council 492
17718 Ne 159Th St
Brush Prairie, Wa 98606
Clark County Fire Dept
Las Vegas Area Council 328
575 E Flamingo Rd
Las Vegas, NV 89119


Clark County Firefighters Assoc
Blue Grass Council 204
34 S Main St, Ste 103
Winchester, KY 40391


Clark County Sheriff S Office
Tecumseh 439
120 N Fountain Ave
Springfield, OH 45502


Clark County Sheriffs Dept
Cascade Pacific Council 492
P.O. Box 410
Vancouver, WA 98666


Clark Elementary PTO
Greater St Louis Area Council 312
9130 Big Bend Blvd
Webster Groves, MO 63119


Clark Elementary School PTO
Tukabatchee Area Council 005
405 Lawrence St
Selma, AL 36703


Clark Equipment Co
dba Bobcat Co
250 E Beaton Dr
West Fargo, ND 58078


Clark Equipment Co
dba Bobcat Co
75 Remittance Dr, Ste 1130
Chicago, IL 60675‐1130
Clark Farley
Address Redacted


Clark Garthwait
Address Redacted


Clark Grounds
Address Redacted


Clark H Wigley
Address Redacted


Clark Haney
Address Redacted


Clark Hanson Vfw Post 117
Northern Star Council 250
205 1st St W
Canby, MN 56220


Clark Israel
Address Redacted


Clark Memorial Utd Methodist Chruch
Last Frontier Council 480
5808 NW 23rd St
Oklahoma City, OK 73127


Clark Mize   Linville, Chartered
129 S 8Th
Salina, KS 67401


Clark Mize   Linville, Chartered
P.O. Box 380
Salina, KS 67402‐0380


Clark Police Dept
Patriots Path Council 358
315 Wfield Ave
Clark, NJ 07066
Clark Rifles Inc
Cascade Pacific Council 492
25115 NE Rawson Rd
Brush Prairie, WA 98606


Clark S Corner 2006
Box 28
Pine Falls, Mb R0E 1M0
Canada


Clark Truck Equipment Co, Inc
P.O. Box 3483
Albuquerque, NM 87190‐3483


Clark University
Attn Cathy White 508       793‐7491
950 Main St
Worcester, MA 01610


Clark University
Attn Office of Financial Aid
950 Main St
Worcester, MA 01610


Clark Utd Methodist
French Creek Council 532
96 Charles St
Clark, PA 16113


Clark Wigley
Address Redacted


Clark, Hunt, Ahern   Embry
Attn Jonathan A Barnes
re Plaintiff
150 Cambridgepark Dr
Cambridge, MA 02140


Clarke County Reserves
Mid Iowa Council 177
P.O. Box 537
Osceola, IA 50213


Clarke County Sheriffs Office
Northeast Georgia Council 101
325 E Washington St
Athens, GA 30601


Clarke Farrer
Address Redacted


Clarke Funeral Home
Heart of Virginia Council 602
110 E 5th Ave
Kenbridge, VA 23944


Clarke Sliverglate Pa
799 Brickell Plaza, Ste 900
Miami, FL 33131


Clarke Street School B    G Club
Three Harbors Council 636
2816 W Clarke St
Milwaukee, WI 53210


Clarkesville Methodist Mens Club
Northeast Georgia Council 101
P.O. Box 130
Clarkesville, GA 30523


Clarkesville Veterinary Hospital
Northeast Georgia Council 101
6637 Hwy 115
Clarkesville, GA 30523


Clarks Green Utd Methodist Church
Northeastern Pennsylvania Council 501
119 Glenburn Rd
Clarks Green, PA 18411


Clarks Grove Cumberland Presbyterian
Great Smoky Mountain Council 557
306 Jackson Hills Dr
Maryville, TN 37804


Clarks Summit Utd Methodist Church
Northeastern Pennsylvania Council 501
Grove St
Morgan Hwy
Clarks Summit, PA 18411


Clarksburg Community Church
Golden Empire Council 047
P.O. Box 83
Clarksburg, CA 95612


Clarksburg Elementary PTA
National Capital Area Council 082
23930 Burdette Forest Rd
Clarksburg, MD 20871


Clarksburg Mack Sales   Service Inc
Route 19 N
P.O. Box 4277
Clarksburg, WV 26302‐4277


Clarkson College
Mid‐America Council 326
101 S 42nd St
Omaha, NE 68131


Clarkston Rotary Club
Great Lakes Fsc 272
6167 White Lake Rd
Clarkston, MI 48346


Clarkston Utd Methodist Church
Inland Nwest Council 611
1242 Highland Ave
Clarkston, WA 99403


Clarksville 1st Utd Methodist Ch
Westark Area Council 016
P.O. Box 535
Clarksville, Ar 72830


Clarksville Bible Church
President Gerald R Ford 781
191 S Main St
Clarksville, MI 48815


Clarksville Fire Dept
Baltimore Area Council 220
5000 Signal Bell Ln
Clarksville, MD 21029


Clarksville Police Dept
Middle Tennessee Council 560
135 Commerce St
Clarksville, TN 37040


Clarksville Rotary Club
Middle Tennessee Council 560
P.O. Box 572
Clarksville, TN 37041


Clarksville Sunrise Rotary Club
Middle Tennessee Council 560
139 Village Way
Clarksville, TN 37043


Clarksville Utd Methodist Church
Tecumseh 439
68 S 1st St
Clarksville, OH 45113


Claro Puerto Rico
1515 Frnklin D Rsvelt Ave
Guaynabo, PR 00968


Clas Ropes Course
Utah National Parks 591
3606 W Center St
Provo, UT 84601
Class Act Entertainment
P.O. Box 160236
Nashville, TN 37216


Class B
9437 Corporate Lake Dr
Tampa, FL 33634


Classic Auto Collision Center
Chippewa Valley Council 637
N4041 State Rd 40
Bruce, WI 54819


Classic Caps And Embroidery
4901 Woodall St
Dallas, TX 75247


Classic Chevrolet
2501 D William D Tate Ave
Grapevine, TX 76051


Classic Party Rental
600 Phillip Davis Dr
Charlotte, NC 28217


Classic Party Rentals
3101 S Harbor Blvd
Santa Ana, CA 92704


Classic Party Rentals
8615 Alameda Pk Dr Ne
Albuquerque, NM 87113


Classic Shoe Shine Co Inc
4651 Woodstock Rd, Ste 208
Roswell, GA 30075


Classic/Prime Inc Dba Classic Tents
4505 S Country Club Rd
Tucson, AZ 85714
Classical Conversation
Suwannee River Area Council 664
2000 Quinn Ct
Tallahassee, FL 32309


Classical Conversations
Suwannee River Area Council 664
2000 Quinn Ct
Tallahassee, FL 32309


Claude Barrow
Address Redacted


Claude H Montgomery AL Post 58
Mid‐America Council 326
111 E Front
P.O. Box 574
Valley, Ne 68064


Claude L Holsapple   Son
2510 Electronic Ln, Ste 905‐906
Dallas, TX 75220


Claude L Holsapple   Sons
2510 Electronic Ln, Suite 905‐906
Dallas, TX 75220


Claude O Markoe
National Capital Area Council 082
7175 Mars Hills
Fredricksted, VI 00840


Claude Telles Iv
Address Redacted


Claudette M Johnson
Address Redacted


Claudia Chamberlain
Address Redacted


Claudia Davis
Address Redacted


Claudia Hanks
Address Redacted


Claudia Kallman
Address Redacted


Claudia Vannoy
Address Redacted


Claudia Wright
Address Redacted


Claudine Mee
Address Redacted


Clawson Middle School
Great Lakes Fsc 272
150 John M Ave
Clawson, MI 48017


Clawson Utd Methodist Church
Great Lakes Fsc 272
205 N Main St
Clawson, MI 48017


Clay Center Fire Dept
Coronado Area Council 192
504 Grant Ave
Clay Center, KS 67432


Clay City Utd Methodist Church
Greater St Louis Area Council 312
412 S Main
P.O. Box 431
Clay City, IL 62824
Clay Converse
Address Redacted


Clay County Medical Center
Coronado Area Council 192
617 Liberty St
Clay Center, KS 67432


Clay Creative Academy
Northeast Georgia Council 101
7309 Coral Lake Dr
Flowery Branch, GA 30542


Clay Creek Industries Inc
804 Bradley St
P.O. Box 1962
Burlington, NC 27216


Clay J Helfrick
Address Redacted


Clay Lions Club
Buckskin 617
3292 Triplett Ridge Rd
Clay, WV 25043


Clay Utd Methodist Church
Greater Alabama Council 001
6790 Old Springville Rd
P.O. Box 77
Clay, AL 35048


Clay Utd Methodist Church
Lasalle Council 165
17646 Cleveland Rd
South Bend, IN 46635


Clay‐Granger Lions Club
Lasalle Council 165
P.O. Box 526
Granger, IN 46530


Claysburg Rotary Club
Laurel Highlands Council 527
P.O. Box 1
Claysburg, PA 16625


Clayton A Carte
Address Redacted


Clayton Business   Community Assoc
Mt Diablo‐Silverado Council 023
P.O. Box 436
Clayton, CA 94517


Clayton C Bochow
Address Redacted


Clayton Civitan Club
Tuscarora Council 424
340 Mccullers St
Clayton, NC 27520


Clayton Civitan Club Youth Center
Tuscarora Council 424
P.O. Box 385
Clayton, NC 27528


Clayton Claxton
Address Redacted


Clayton County Explorers
Atlanta Area Council 092
7911 N Mcdonough St
Jonesboro, GA 30236


Clayton County Exploring Post
Atlanta Area Council 092
7911 N Mcdonough St
Jonesboro, GA 30236
Clayton County Fire And Emergency Svcs
Atlanta Area Council 092
7810 Hwy 85
Riverdale, Ga 30274


Clayton Elementary PTA
Bay‐Lakes Council 635
2916 Fairview Rd
Neenah, WI 54956


Clayton Fire
Northern Star Council 250
P.O. Box 44
Clayton, WI 54004


Clayton Ipsen
Address Redacted


Clayton Kern
Address Redacted


Clayton Methodist Church
Longhouse Council 373
324 John St
Clayton, NY 13624


Clayton Newcomb
Address Redacted


Clayton Presbyterian Church
Crossroads of America 160
4887 Pennsylvania St
Clayton, IN 46118


Clayton R Sheldon
Address Redacted


Clayton S Swartz
Address Redacted
Clayton Schroeder
Address Redacted


Clayton Southers
Address Redacted


Clayton Watson
Address Redacted


Cle Elum Volunteer Fire Dept
Grand Columbia Council 614
141 Swallow Ln
Cle Elum, WA 98922


Clean Shop Wlssd
2626 Courtland St
Duluth, MN 55806


Clean Sweep Contracting Inc
P.O. Box 525
Mabscott, WV 25871


Clear Creek Elementary
Lincoln Heritage Council 205
279 Chapel Hl
Shelbyville, KY 40065


Clear Creek Elementary PTO
Hoosier Trails Council 145 145
300 W Clear Creek Dr
Bloomington, IN 47403


Clear Horizons Academy
1875 S Geneva Rd
Orem, UT 84058


Clear Image Printing Supplies LLC
P.O. Box 260938
Tampa, FL 33685
Clear Image, Inc
dba Clearbags
4949 Windplay Dr, Ste 100
El Dorado Hills, CA 95762‐9621


Clear Lake Area Community Center, Inc
Northern Star Council 250
560 5th St
Clear Lake, WI 54005


Clear Lake Church Of Christ
Sam Houston Area Council 576
938 El Dorado Blvd
Houston, TX 77062


Clear Lake Forest Community Assoc
Sam Houston Area Council 576
1019 Baronridge Dr
Taylor Lake Village, TX 77586


Clear Lake Lions Club
Central Minnesota 296
P.O. Box 127
Clear Lake, MN 55319


Clear Lake Presbyterian Church
Sam Houston Area Council 576
1511 El Dorado Blvd
Houston, TX 77062


Clear Lake Utd Methodist Church
Sam Houston Area Council 576
16335 El Camino Real
Houston, TX 77062


Clear Lakes Ward ‐ Filer Stake
Snake River Council 111
Fair St
Buhl, ID 83316


Clear Light Books Inc
823 Don Diego
Santa Fe, NM 87505


Clear Purpose Management Inc
1860 W Moonshadow St
Oro Valley, AZ 85737


Clear Spring Fire ‐ Rescue
Blue Ridge Council 551
3008 Woodruff Rd
Simpsonville, SC 29681


Clear Spring Scouting Assoc
Mason Dixon Council 221
P.O. Box 245
Clear Spring, MD 21722


Clear Springs PTO
Northern Star Council 250
5701 County Rd 101
Minnetonka, MN 55345


Clearco
P O B Ox 31641
Mesa, AZ 85275‐1641


Clearfield Community Church
Trapper Trails 589
200 S 500 E
Clearfield, UT 84015


Clearfork Baptist Church
Muskingum Valley Council, Bsa 467
72998 Broadhead Rd
Kimbolton, OH 43749


Clearinghouse, Atlas No. 000739720300
P.O. Box 52107
Phoenix, AZ 85072‐2107


Clearlake Police Dept
Mt Diablo‐Silverado Council 023
14050 Olympic Dr
Clearlake, CA 95422


Clearly Carolina Water   Coffee Co
829 Davidson Dr Nw
Concord, NC 28025‐4351


Clearsound Design Inc
250 Charles A Liddle Dr, Ste 6
Lawrenceburg, IN 47025


Clearsound Design Inc
dba Ellis Events
2300 N County Rd 250 W
Greensburg, IN 47240


Clearview Elementary School PTA
National Capital Area Council 082
12635 Builders Rd
Herndon, VA 20170


Clearview Medical Explorers
Northeast Georgia Council 101
2151 W Spring St
Monroe, GA 30655


Clearview Utd Methodist Ch
Mens Fellowship
Greater Tampa Bay Area 089
4515 38Th Ave N
St Petersburg, Fl 33713


Clearview Utd Methodist Church
Great Trail 433
1733 Massillon Rd
Akron, OH 44312


Clearwater Church Of The Nazarine
Quivira Council, Bsa 198
529 E Ross St
Clearwater, KS 67026
Clearwater Creek Outfitters
9675 Hamilton Rd, Ste 100
Eden Prairie, MN 55344


Clearwater Creek Ptc
Heart of America Council 307
930 S Clearwater Creek Dr
Olathe, KS 66061


Clearwater Neighborhood Family Center
Greater Tampa Bay Area 089
900 N Martin Luther King Jr Ave
Clearwater, FL 33755


Cleats N Sneaks, Ltd, Inc
201 W Route 59
Nanuet, NY 10954


Cleburne Police Dept
Longhorn Council 662
302 W Henderson St
Cleburne, TX 76033


Cleghorn Lions Club
Chippewa Valley Council 637
S10414 Cty Rd I
Eleva, WI 54738


Clelian Heights For Exceptional Children
Westmoreland Fayette 512
135 Clelian Heights Ln
Greensburg, PA 15601


Clement Communications, Inc
P.O. Box 500
Concordville, PA 19331‐0500


Clement Friends Of Pack Troop 145
Three Harbors Council 636
3666 S Clement Ave
Milwaukee, WI 53207


Clement Gormley Iii
Address Redacted


Clements Catering Inc
704 Central Ave
Louisville, KY 40208


Clements Circle Civic Assoc
Attn Lynn Fenton
Great Lakes Fsc 272
9919 Deering St
Livonia, MI 48150


Clements Circle Civic Assoc
Great Lakes Fsc 272
11181 Haller St
Livonia, MI 48150


Clemmons Civic Club
Old Hickory Council 427
2870 Middlebrook Dr
Clemmons, NC 27012


Clemmons Fd Explorer Post 14 Clemmons Fd
5931 James St
Clemmons, NC 27012


Clemmons Utd Methodist Church
Old Hickory Council 427
Hwy 158
Clemmons, NC 27012


Clemson University Ar
Administrative Services Bldg
108 Silas N Pearman Blvd
Clemson, SC 29634


Clemson University Campfest
Lehotsky Hall Box 340735
Clemson, SC 29634‐0735


Clemson Utd Methodist Church
Blue Ridge Council 551
P.O. Box 590
Clemson, SC 29633


Clendenin Utd Methodist Church
Buckskin 617
121 Koontz Ave
Clendenin, WV 25045


Cleora Group Of Citizens
Cherokee Area Council 469 469
32281 Pebble Bch
Afton, OK 74331


Clerk Of Superior Ct
Gwinnett County Cthouse
P.O. Box 880
Lawrenceville, GA 30046‐0880


Clerk Of The Circuit Ct
For Montomgery County
50 Maryland Ave‐, Rm 111
Rockville, MD 20850


Clerk Of The Circuit Ct
Montgomery County
50 Ct House Square‐, Rm 111
Rockville, MD 20850


Clerk Of The Supreme Court
State Bar of Texas Membership Dept
P.O. Box 12487
Austin, TX 78711


Clerk, Supreme Court
State Bar of Texas
P.O. Box 149335
Austin, TX 78714‐9335
Clermont Family Ymca
c/o Michelle Ferguson
2075 James E Sauls Sr Dr
Batavia, OH 45103


Clermont Family Ymca
Dan Beard Council, Bsa 438
2075 James E Sauls Sr Dr
Batavia, OH 45103


Clermont Lions Club
Crossroads of America 160
P.O. Box 34100
Indianapolis, IN 46234


Cletus Mcconville
Address Redacted


Cletus Mcconville
c/o Neast Region Bsa
P.O. Box 268
Jamesburg, NJ 08831


Cleveland Airport Marriott
Marriott Hotel Servcies Inc
4277 W 150th St
Cleveland, OH 44135


Cleveland Church Of Christ
Twin Valley Council Bsa 283
P.O. Box 307
900 State Hwy 99
Cleveland, MN 56017


Cleveland Clinic Foundation
P.O. Box 951026
Cleveland, OH 44193‐1861


Cleveland Community College
Piedmont Council 420
137 S Post Rd
Shelby, NC 28152


Cleveland Community Partners
Cimarron Council 474
1401 W Pawnee St
Cleveland, OK 74020


Cleveland County Arts Council
Piedmont Council 420
111 S Washington St
Shelby, NC 28150


Cleveland County Sheriffs Office
Piedmont Council 420
100 Justice Pl
Shelby, NC 28150


Cleveland Elementary School
Northern New Jersey Council, Bsa 333
388 Bergen St
Newark, NJ 07103


Cleveland Glover Jr
Address Redacted


Cleveland Heights Christian Church
Greater Niagara Frontier Council 380
4774 Union Rd
Cheektowaga, NY 14225


Cleveland Hill Fd Board Fire Comm
Greater Niagara Frontier Council 380
440 Cleveland Dr
Buffalo, Ny 14225


Cleveland Isd
C/O Linebarger Goggan Blair     Sampson
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064
Cleveland Lions Club
Bay‐Lakes Council 635
1410 Wview St
Cleveland, WI 53015


Cleveland Lynch Jr
600 Greenspring Terr
Bear, DE 19701


Cleveland Lynch Jr
Address Redacted


Cleveland Parents Of Cubs
Long Beach Area Council 032
5922 Deerford St
Lakewood, CA 90713


Cleveland Police Dept‐Community
Lake Erie Council 440
Policing Section
1300 Ontario St
Cleveland, OH 44113


Cleveland Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 1226
Cleveland, GA 30528


Cleveland Vfw Post 4800
Chickasaw Council 558
Highway 61 N
Cleveland, MS 38732


Cleveland Ward
Church Of Jesus Christ Latter‐Day Saints
Cimarron Council 474
50472 S 36700 Rd
Cleveland, Ok 74020


Clever Utd Methodist Church
Ozark Trails Council 306
P.O. Box 66
Kennedy and Carpenter
Clever, MO 65631


Cleverbridge Inc
c/o Malwarebytes
360 N Michigan Ave, Ste 1900
Chicago, IL 60601‐3805


Clewiston Police Dept
Gulf Stream Council 085
205 W Ventura Ave
Clewiston, FL 33440


Clia Laboratory Program
P.O. Box 3056
Portland, OR 97208‐3056


Clia Laboratory Program
P.O. Box 70948
Charlotte, NC 28272


Click Appraisal Service LLC
P.O. Box 934
Cedar Hill, TX 75106


Click Wheelchair Services Inc
2429 Dalworth St
Grand Prairie, TX 75050‐4968


Clickn Kids Inc
5737 Kanan Rd, Ste 107
Agoura Hills, CA 91301


Clif Bar   Co
P.O. Box 742065 P.O. Box
Los Angeles, CA 90074‐2065


Cliff Weil, Inc
8043 Industrial Park Rd
Mechanicsville, VA 23116
Clifford Bailey
Address Redacted


Clifford Crismore
Address Redacted


Clifford Davis Elementary ‐ Gifw
Longhorn Council 662
4300 Campus Dr
Fort Worth, TX 76119


Clifford Eade
Address Redacted


Clifford Eng
Address Redacted


Clifford Freiwald
Address Redacted


Clifford Garbison AL Post 356
Lasalle Council 165
P.O. Box 84
Hamlet, In 46532


Clifford Hall
Address Redacted


Clifford Hazel
Address Redacted


Clifford J Fulmer Post 92
Leatherstocking 400
8083 State Route 20
Waterville, NY 13480


Clifford Mansley Sr
Address Redacted
Clifford Scott
Address Redacted


Clifford Takawana
Address Redacted


Clifford Waetje
Address Redacted


Clifford Wagner
Address Redacted


Clifford Waters
Address Redacted


Clifton Elks Lodge 1569
Northern New Jersey Council, Bsa 333
775 Clifton Ave
Clifton, NJ 07013


Clifton Forge Presbyterian Church
Stonewall Jackson Council 763
544 Church St
Clifton Forge, VA 24422


Clifton Lions Club
National Capital Area Council 082
P.O. Box 41
Clifton, VA 20124


Clifton Lions Club
Prairielands 117
100 S Maple St
Clifton, IL 60927


Clifton Lutheran Church
The Spirit of Adventure 227
150 Humphrey St
Marblehead, MA 01945
Clifton M Sutherland
Address Redacted


Clifton Park Lodge 2466 Bpoe ‐ Elks
Attn Mr Michael Bloss
Twin Rivers Council 364
P.O. Box 220
Clifton Park, NY 12065


Clifton Presbyterian Church
National Capital Area Council 082
12748 Richards Ln
Clifton, VA 20124


Clifton Springs Rotary Club
Seneca Waterways 397
14 Hillside Dr
Clifton Springs, NY 14432


Clifton Stewart
Address Redacted


Clifton Utd Methodist Church
Atlanta Area Council 092
4095 Stonewall Tell Rd
College Park, GA 30349


Clifton Whalin
Address Redacted


Cliftondale Congregational Church
The Spirit of Adventure 227
50 Essex St
Saugus, MA 01906


Climatemp Service Group LLC
2315 Gardner Rd
Broadview, IL 60155


Climax, LLC
1674 Hwy 11‐W
Bristol, TN 37620


Clinch County Lions Club
South Georgia Council 098
4411 Fargo Hwy
Homerville, GA 31634


Clinch School Teachers Assoc
Sequoyah Council 713
1540 Clinch Valley Rd
Sneedville, TN 37869


Cline Bradley Co, Inc
1570 S Main St
Waynesville, NC 28786


Clinebell Equipment Co Inc
890 Denver Ave
Loveland, CO 80537


Clint Andera
Address Redacted


Clint Harper
Address Redacted


Clint Knighton
Address Redacted


Clint Siskow
Address Redacted


Clinton Bugg
Address Redacted


Clinton Chapel Ame Zion Church
Tukabatchee Area Council 005
4560 Narrow Lane Rd
Montgomery, AL 36116
Clinton Church Of Christ
Illowa Council 133
210 N 13th St
Clinton, IA 52732


Clinton Church Of Christ
Quapaw Area Council 018
184 3rd St
Clinton, AR 72031


Clinton County Resa
Water and Woods Council 782
1013 S US Hwy 27, Ste A
Saint Johns, MI 48879


Clinton Elks Lodge 1034
Heart of America Council 307
115 W Franklin St
Clinton, MO 64735


Clinton Garber
Address Redacted


Clinton Hammett
Address Redacted


Clinton Holmes
Address Redacted


Clinton House
Address Redacted


Clinton Kiwanis Club
Blue Ridge Council 551
P.O. Box 454
Clinton, SC 29325


Clinton Lawton
Address Redacted
Clinton Massie PTO
Tecumseh 439
2556 Lebanon Rd
Clarksville, OH 45113


Clinton Moose Lodge 363
Illowa Council 133
1936 Lincoln Way
Clinton, IA 52732


Clinton P Russell Elementary PTA
Circle Ten Council 571
3031 S Beckley Ave
Dallas, TX 75224


Clinton Presbyterian Church
Washington Crossing Council 777
91 Center St
Clinton, NJ 08809


Clinton Scharff
Address Redacted


Clinton Twp Volunteer Fire Dept
Black Swamp Area Council 449
North S R 101
Tiffin, OH 44883


Clinton Utd Methodist Church
Istrouma Area Council 211
P.O. Box 148
Clinton, LA 70722


Clinton Utd Methodist Church
W D Boyce 138
308 E Main St
Clinton, IL 61727


Clinton Utd Presbyterian Church
Laurel Highlands Council 527
25 Wilson Rd
Clinton, PA 15026


Clinton Watkins
Address Redacted


Clinton Ywca
Illowa Council 133
317 7th Ave S
Clinton, IA 52732


Clinton‐Fish   Game Assoc
Heart of New England Council 230
185 Lancaster Rd
Clinton, MA 01503


Clinton‐Presbyterian Church
Heart of New England Council 230
169 Chestnut St
Clinton, MA 01510


Clinton‐St John
Heart of New England Council 230
149 Chestnut St
Clinton, MA 01510


Clintonville Ruritan Club
Buckskin 617
18966 Midland Tr W
Clintonville, WV 24931


Clintwood Volunteer Fire Dept
Sequoyah Council 713
P.O. Box 455
Clintwood, VA 24228


Clio Area Fire
Water and Woods Council 782
3291 W Vienna Rd
Clio, MI 48420
Clive Lions Club
Mid Iowa Council 177
14822 Lakeview Dr
Clive, IA 50325


Cloise Hendley
Address Redacted


Clonmell Utd Methodist Church
Garden State Council 690
516 W Broad St
Gibbstown, NJ 08027


Cloquet Gospel Tabernacle
Voyageurs Area 286
1400 Washington Ave
Cloquet, MN 55720


Close Walk Utd Methodist Church
Cape Fear Council 425
117 Village Rd Ne
Leland, NC 28451


Closer Walk Utd Methodist Church
Cape Fear Council 425
117C Village Rd Ne
Leland, NC 28451


Closter Lions Club
Northern New Jersey Council, Bsa 333
P.O. Box 206
Closter, NJ 07624


Clostridion Design     Support LLC
1219 N 161st St
Shoreline, WA 98133


Cloud 9 Sport Aviation LLC
dba Cloud 9 Flight Training
11088 W Coon Lake Rd
Webberville, MI 48892
Cloudcroft Utd Methodist Church
Yucca Council 573
P.O. Box 229
Cloudcroft, NM 88317


Clough Pike Elementary PTO
Dan Beard Council, Bsa 438
808 Clough Pike
Cincinnati, OH 45245


Clover Fire Dept
Palmetto Council 549
115 Bethel St
Clover, SC 29710


Clover Hill Civic Assoc
National Capital Area Council 082
8122 Glendale Dr
Frederick, MD 21702


Clover Presbyterian Church
Palmetto Council 549
202 Kings Mountain St
Clover, SC 29710


Clover/Optimist/Presbyterian
Palmetto Council 549
202 Kings Mountain St
Clover, SC 29710


Cloverdale Fire Dept
Redwood Empire Council 041
451 S Cloverdale Blvd
Cloverdale, CA 95425


Cloverfield Holden
Address Redacted


Clovis Elks Lodge 2599
Sequoia Council 027
535 Woodworth Ave
Clovis, CA 93612


Clovis Fire Dept
Sequoia Council 027
1233 5th St
Clovis, CA 93612


Clovis Horseshow    Festival Assoc.
Sequoia Council 027
748 Rodeo Dr
Clovis, CA 93612


Clovis Kiwanis
Sequoia Council 027
2572 Trenton Ave
Clovis, CA 93619


Clovis Masonic Lodge   417 F Am
Sequoia Council 027
P.O. Box 417
Clovis, CA 93613


Clovis Police Dept
Sequoia Council 027
1033 5th St
Clovis, CA 93612


Club Amigos Unidos Inc
Puerto Rico Council 661
Hc 3 Box 33625
Aguada, PR 00602


Club De Leones
Puerto Rico Council 661
P.O. Box 2528
Juncos, PR 00777


Club De Leones De Adjuntas
Puerto Rico Council 661
P.O. Box 26
Adjuntas, PR 00601
Club De Leones De Bayamon
Puerto Rico Council 661
P.O. Box 6427
Bayamon, PR 00960


Club De Leones De Cabo Rojo
Puerto Rico Council 661
P.O. Box 665
Cabo Rojo, PR 00623


Club De Leones De Rincon
Puerto Rico Council 661
Hc 1 Box 4362
Rincon, PR 00677


Club De Leones Isabela
Puerto Rico Council 661
P.O. Box 551
Isabela, PR 00662


Club De Leones Jeronimo
Puerto Rico Council 661
Hc 2 Box 13379
Lajas, PR 00667


Club De Leones Ponce
Puerto Rico Council 661
P.O. Box 330045
Ponce, PR 00733


Club Esteem
Central Florida Council 083
3316 Monroe St
Melbourne, FL 32901


Club Giraud
707 N St Marys St
San Antonio, TX 78205


Club Rotario De San German
Puerto Rico Council 661
Carr. 102 Km 20 Hm 6
San German, PR 00683


Club Rotario De Yauco
Puerto Rico Council 661
Ave Rotaria Carr 127
Yauco, PR 00698


Club Sole
203 Wellness / Recreation Center
Cedar Falls, IA 50614‐0214


Clyde Church Of Christ
Texas Trails Council 561
206 S 4th St
P.O. Box 1375
Clyde, TX 79510


Clyde Civic Improvement Assoc
Mt Diablo‐Silverado Council 023
109 Wellington Ave
Concord, CA 94520


Clyde Hamrick PTO
Greater St Louis Area Council 312
4524 E 4 Ridge Rd
Imperial, MO 63052


Clyde Holy Name Society
Seneca Waterways 397
45 W Dezeng St
Clyde, NY 14433


Clyde Mayer
Address Redacted


Clyde Mccullough Jr
Address Redacted


Clyde Stapleton
Address Redacted
Clyde Volunteer Fire Dept
Seneca Waterways 397
P.O. Box 266
15 Ford St
Clyde, NY 14433


Cm Lath   Plaster Inc
3901 Sage Rd Sw
Albuquerque, NM 87121


Cma, Inc
P.O. Box 9244
Naperville, IL 60567


Cmc Construction Services LLC
141 Millwell
Maryland Heights, MO 63043


Cmc Supply Inc
P.O. Box 12058
Roanoke, VA 24022


Cmf
P.O. Box 339
3622 Kennedy Rd
South Plainfield, NJ 07080‐0339


Cmgrp, Inc
Attn Business    Legal Affairs
909 3rd Ave
New York, NY 10022


Cmgrp, Inc
Attn Business and Legal Affairs
909 3rd Ave
New York, NY 10022


Cmha Post Oak
Simon Kenton Council 441
1383 Vida Way
Columbus, OH 43228


Cmha Rosewind Resident Council
Simon Kenton Council 441
1400 Brooks Ave
Columbus, OH 43211


Cmjoslin Post 618 American Legion
Sam Houston Area Council 576
P.O. Box 554
Willis, TX 77378


Cmma
20423 State Rd 7, Ste F6‐491
Boca Raton, FL 33498


Cmpic LLC
P.O. Box 2131
Forest, VA 24551


Cmr A/S/O Cox Communication
P.O. Box 60770
Oklahoma City, OK 73146


Cmrs‐Fp
P.O. Box 0505
Carol Stream, IL 60132‐0505


Cms Communications Inc
P.O. Box 790051
St Louis, MO 63179‐0051


Cms Manufacturing, Inc
1169 Shriver Rd
Orofino, ID 83544


Cms Mechanical Services LLC
445 W Dr, Ste 101
Melbourne, FL 32904
CNA Insurance Companies
151 N Franklin St
Chicago, IL 60606


Cnh Capital Productivity Plus Acct
Dept 93‐5502219681
P.O. Box 78004
Phoenix, AZ 85062‐8004


Co‐ Alliance
Muskingum Valley Council, Bsa 467
975 Malinda St
Zanesville, OH 43701


Coach America Dallas/Ft Worth
710 E Davis St
Grand Prairie, TX 75050


Coach CliffS Gaga Ball Pits
95 Noll St
Waukegan, IL 60085


Coach Insignia
Renaissance Tower 72nd Fl
Detroit, MI 48243


Coach Usa Suburban Transit
750 Somerset St
New Brunswick, NJ 08901


Coachmans Trail Homeowners Assoc
Occoneechee 421
11412 Coachmans Way
Raleigh, NC 27614


Coahoma Lions Club
Buffalo Trail Council 567
P.O. Box 25
Coahoma, TX 79511


Coal City Utd Methodist Church
Rainbow Council 702
6805 E Mcardle Rd
Coal City, IL 60416


Coal Country Coach LLC
P.O. Box 1416
Coal City, WV 25823


Coal Creek Canyon Improvement Assoc
Denver Area Council 061
P.O. Box 7331
Golden, CO 80403


Coal Mountain Elementary PTO
Northeast Georgia Council 101
3455 Coal Mountain Dr
Cumming, GA 30040


Coal Valley Fire Protection District
Illowa Council 133
103 W 18th Ave
Coal Valley, IL 61240


Coalbush Utd Methodist Church
Lasalle Council 165
15977 Jackson Rd
Mishawaka, IN 46544


Coalgate Lions Club
Arbuckle Area Council 468
1003 W Blair Ave
Coalgate, OK 74538


Coalinga Police Dept
Sequoia Council 027
270 N 6th St
Coalinga, CA 93210


Coalition For Juvenile Justice
1710 Rhode Island Ave Nw, 10th Fl
Washington, DC 20036
Coalition For Kids
Sequoyah Council 713
2308 Watauga Rd
Johnson City, TN 37601


Coalition For St Amant Area Scouting
Istrouma Area Council 211
12040 Niece Rd
Saint Amant, LA 70774


Coan Park Recreation Center
Atlanta Area Council 092
1530 Woodbine Ave Se
Atlanta, GA 30317


Coast Christian Fellowship
Greater Los Angeles Area 033
4000 Pacific Coast Hwy
Torrance, CA 90505


Coast Guard Auxiliary
9449 Watson Industrial Park
St. Louis, MO 63126


Coast Guard Auxiliary
Middle Tennessee Council 560
600 Dr Martin Luther King Jr Pl
Louisville, KY 40202


Coast Personnel Services
800 Central Pkwy E, Ste 200
Plano, TX 75074


Coast Personnel Services Inc
P.O. Box 398231
San Francisco, CA 94139‐8231


Coast To Coast Carports
P.O. Box 100
Knoxville, AR 72845
Coast To Coast Computer Products
4277 Valley Fair St
Simi Valley, CA 93063


Coastal Ami
P.O. Box 846078
Dallas, TX 75284‐6078


Coastal Carolina
9297 Medical Plaza Dr
North Charleston, SC 29406


Coastal Carolina Cncl No 550
9297 Medical Plz Dr
North Charleston, SC 29406


Coastal Connections Mktg
327 N Queen St, Ste 102
Kinston, NC 28501


Coastal Georgia
11900 Abercorn St
Savannah, GA 31419‐1910


Coastal Georgia Council 99
11900 Abercorn St
Savannah, GA 31419


Coastal Kayaking Tours ‐ Acadia Bike
P.O. Box 405
Bar Harbor, ME 04609


Coastal Marine Survey LLC
127 Caribbean Ave
Tavernier, FL 33070


Coastal Shores Baptist Church
Coastal Carolina Council 550
Dorchester Rd
North Charleston, SC 29418
Coastal Wire Co
427 Gapway Rd
Georgetown, SC 29440


Coastline Realty Services Inc
Greater Tampa Bay Area 089
10366 Kamble Ridge Ct
Weeki Wachee, FL 34613


Coatesville Commty
Education Foundation
Chester County Council 539
P.O. Box 1060
Coatesville, Pa 19320


Coats American Inc
Dept 2627
P.O. Box 122627
Dallas, TX 75362‐2627


Coats Utd Methodist Church
Occoneechee 421
P.O. Box 388
Coats, NC 27521


Cobb Audio Visual
P.O. Box 1831
Power Springs, GA 30127


Cobb County Fire Dept
Atlanta Area Council 092
1595 County Services Pkwy Sw
Marietta, GA 30008


Cobb County Police Dept
Atlanta Area Council 092
2245 Callaway Rd Sw
Marietta, GA 30008


Cobb County Police Dept
c/o Officer William Furman
2245 Callaway Rd
Marietta, GA 30008


Cobb County Water System
P.O. Box 580440
Charlotte, NC 28258‐0440


Cobb Office Technologies
P.O. Box 3003
Richmond, VA 23228


Cobb Williams Nehiba Post 222
Voyageurs Area 286
6483 Mccormack Lake Rd
Chisholm, MN 55719


Cobblestone Farm Assoc
Southern Shores Fsc 783
2781 Packard St
Ann Arbor, MI 48108


Cobian
1739 Melrose Dr, Ste 101
San Marcos, CA 92078


Cobleskill Fire Dept
Leatherstocking 400
610 E Main St
Cobleskill, NY 12043


Cobleskill Utd Methodist Church
Leatherstocking 400
109 Chapel St
Cobleskill, NY 12043


Coburn Catering Services Inc
801 N Main St
Fort Worth, TX 76164


Coby Tyler Edwards
Address Redacted


Coc Metro Church
Longhorn Council 662
28691 Harper Rd
Prosper, TX 75078


Coca Cola Refreshments
South Dade Coca‐Cola
P.O. Box 403390
Atlanta, GA 30384‐3390


Coca‐Cola Beverages Florida LLC
P.O. Box 740909
Atlanta, GA 30374‐0909


Coca‐Cola Bottling Co Of Elizabethtown
321 Peterson Dr
Elizabethtown, KY 42701


Co‐Cathedral Of St Joseph
Pony Express Council 311
519 N 10th St
Saint Joseph, MO 64501


Co‐Cathedral Of St Theresa
Aloha Council, Bsa 104
712 N School St
Honolulu, HI 96817


Cochise Elementary School Parents
Grand Canyon Council 010
9451 N 84th St
Scottsdale, AZ 85258


Cochran Brothers Roofing Inc
Greater Tampa Bay Area 089
121 Brittany Ln
Sebring, FL 33875


Cochran Masonic Lodge
Central Georgia Council 096
Masonic Dr
Cochran, GA 31014


Cockrell Hill Utd Methodist Church
Circle Ten Council 571
4031 W Clarendon Dr
Dallas, TX 75211


Cockrell Law Firm
159 Main St
Chesterfield, SC 29709


Cockrell Law Firm Iolta In Trust For
Clifton Rodney Michael
159 Main St
Chesterfield, SC 29709


Cockrell Law Firm Iolta In Trust For
Kenneth Ray Michael
159 Main St
Chesterfield, SC 29709


Cockrell Printing Co
dba Cockrell Enovation
218 W Broadway
Fort Worth, TX 76104


Cockrell Printing Co
dba Cockrell Enovation
P.O. Box 676649
Dallas, TX 75267‐6649


Cockrell Printing Co
P.O. Box 1568
Ft Worth, TX 76101‐1568


Coco Plum Marine
66 Coco Plum Dr
Marathon, FL 33050
Cocoa Beach Elks Lodge 2387
Central Florida Council 083
175 N Brevard Ave
Cocoa Beach, FL 32931


Cocoa Presbyterian Church
Central Florida Council 083
1404 Dixon Blvd
Cocoa, FL 32922


Coconut Palm K‐8 Academy
South Florida Council 084
24400 SW 124th Ave
Homestead, FL 33032


Codemantra Us, LLC
101 Federal St, Ste 1900
Boston, MA 02110


Codemantra Us, LLC
125 Summer St, 5th Fl
Boston, MA 02110


Cody A Boruff
Address Redacted


Cody Elementary School PTA
Illowa Council 133
2100 Territorial Rd
Leclaire, IA 52753


Cody Fishell
Address Redacted


Cody J Stark
Address Redacted


Cody Lydon
Address Redacted
Cody R Bruggemeyer
Address Redacted


Cody R Payne
Address Redacted


Cody Richard Schultz
Address Redacted


Coeburn Kiwanis Club
Sequoyah Council 713
7147 Caney Ridge Rd
Coeburn, VA 24230


Coelacanth, LLC
6689 Makena Rd
Kihei, HI 96753


Coelacanth, LLC
dba Snorkel Bob S
702 Kapahulu Ave
Honolulu, HI 96816


Coeli C Clemons
Address Redacted


Coen A Noeninckx
Address Redacted


Coequyt Plumbing And Heating
Sioux Council 733
409 E Lyon St
Minneota, MN 56264


Coeur D Alene Police Dept
Inland Nwest Council 611
3818 N Schreiber Way
Coeur D Alene, ID 83815


Coeur D Alene Shriner Club
Inland Nwest Council 611
P.O. Box 393
Coeur D Alene, ID 83816


Cof Training Services
Heart of America Council 307
P.O. Box 459
Ottawa, KS 66067


Coffee Connections Roasting Co, LLC
127 Kool Springs Dr
Shepherdsville, KY 40165


Coffee County Sheriff Office
Middle Tennessee Council 560
76 County Jail Ln
Manchester, TN 37355


Coffee GiantCom
P.O. Box 110225
Carrollton, TX 75011


Coghlan S Ltd
121 Irene St
Winnipeg, MB R3T 4C7
Canada


Coghlan S Ltd
1411 Meador Ave
Bellingham, WA 98229


Cogniview Systems Ltd
15th Fl 410 Park Ave
New York, NY 10022


Cohasset Rotary Club
Mayflower Council 251
P.O. Box 36
Cohasset, MA 02025


Cohen   Grigsby PC
P.O. Box 641014
Pittsburgh, PA 15264‐1014


Cohocton Fire Dept
Five Rivers Council, Inc 375
43 Maple Ave
Cohocton, NY 14826


Coker Utd Methodist Church
Alamo Area Council 583
231 E N Loop Rd
San Antonio, TX 78216


Cokes Chapel Utd Methodist Church
Flint River Council 095
4096 Lower Fayetteville Rd
Sharpsburg, GA 30277


Cokesbury
P.O. Box 2252
Birmingham, AL 35246‐0069


Cokesbury Bookstore
19200 Preston Rd 101
Dallas, TX 75252


Cokesbury Methodist Church
Occoneechee 421
P.O. Box 280
Stedman, NC 28391


Cokesbury Utd Methodist Church
Great Smoky Mountain Council 557
9919 Kingston Pike
Knoxville, TN 37922


Cokesbury Utd Methodist Church
Mecklenburg County Council 415
6701 Idlewild Rd
Charlotte, NC 28212
Cokesbury Utd Methodist Church
Occoneechee 421
7536 Clinton Rd
Stedman, NC 28391


Cokesbury Utd Methodist Men
Gulf Coast Council 773
5725 N 9th Ave
Pensacola, FL 32504


Col. Lowell H Smith Vfw Post 10015
Catalina Council 011
4727 S 12th Ave
Tucson, AZ 85714


Colbert County
County Cthouse
201 N Main St
Tuscumbia, AL 35674


Colbert Methodist Church
Circle Ten Council 571
P.O. Box 1148
Colbert, OK 74733


Colbert School PTO
Inland Nwest Council 611
4526 E Greenbluff Rd
Colbert, WA 99005


Colby Budd
Address Redacted


Colby College
4000 Mayflower Hill
Waterville, ME 04901‐8840


Colby Jones
Address Redacted


Colby Lions Club
Samoset Council, Bsa 627
312 N 2nd St
Colby, WI 54421


Colby Norgaard
Address Redacted


Colchester Federated Church
Connecticut Rivers Council, Bsa 066
60 Main St
Colchester, CT 06415


Colchester First Christian Church
Illowa Council 133
201 N Hun St
Colchester, IL 62326


Colchester Lions Club
Green Mountain 592
156 Meadow Dr
Colchester, VT 05446


Cold Spg Elem Home   Sch Assoc
Washington Crossing Council 777
4150 Durham Rd
Doylestown, Pa 18902


Cold Spot
P.O. Box 21
Glen Jean, WV 25846


Cold Springs Academy After School
Crossroads of America 160
3650 Cold Spring Rd
Indianapolis, IN 46222


Cold Springs Methodist Church
Central N Carolina Council 416
2550 Cold Springs Rd E
Concord, NC 28025
Cold Springs Presbyterian Church
Sequoyah Council 713
280 Cold Spring Rd
Bristol, TN 37620


Cold Springs Utd Methodist Church
Central N Carolina Council 416
2550 Cold Springs Rd E
Concord, NC 28025


Cold Springs Valley Church
Nevada Area Council 329
P.O. Box 61447
Reno, NV 89506


Cold Springs Volunteer Fire Dept
Nevada Area Council 329
17505 US Hwy 395 N
Reno, NV 89508


Cold Water School PTA
Greater St Louis Area Council 312
1105 Wiethaupt Rd
Florissant, MO 63031


Colden Volunteer Fire Co
Greater Niagara Frontier Council 380
8448 Gutekunst Rd
Colden, NY 14033


Coldenham Fire Dept
Hudson Valley Council 374
Coldenham Rd
Walden, NY 12586


Coldspring Utd Methodist Church
Three Rivers Council 578
1 Cemetery Rd
Coldspring, TX 77331


Coldspring Utd Methodist Men
Three Rivers Council 578
1 Cemetery Rd
Coldspring, TX 77331


Coldwater Kiwanis Club
Southern Shores Fsc 783
132 N Clay St
Coldwater, MI 49036


Coldwell Banker Farm    Home Realty
Utah National Parks 591
1340 W Hwy 40
Vernal, UT 84078


Cole Arts   Sciences Academy
Denver Area Council 061
3240 Humboldt St
Denver, CO 80205


Cole Canoe Base Staff
Great Lakes Fsc 272
1356 E Greenwood Rd
Alger, MI 48610


Cole Equipment, Inc
4015 S Ash Ave
Ada, OK 74820


Cole H Woodeshick
Address Redacted


Cole International Inc
401A Mowat Ave
Fort Frances, On P9A 1Y8
Canada


Cole K Sanders
Address Redacted


Cole Russell
Address Redacted
Cole S Baker
Address Redacted


Cole Truck Parts Inc
105 Appalachian Dr
Beckley, WV 25801


Coleen Benzo
Address Redacted


Colegio Catolico La Merced
Puerto Rico Council 661
Calle Lucia Vazquez
Cayey, PR 00736


Colegio Creativo De Pr
Puerto Rico Council 661, Ste 256
Ave San Claudio 352
Rio Piedras, PR 00924


Colegio Evangelico Capitan Correa
Puerto Rico Council 661
Bo Carrizales
Carr 493 Km 0.2
Hatillo, PR 00659


Colegio Marista
Puerto Rico Council 661
Alturas De Torrimar
Calle Marcelino Champagnat
Guaynabo, PR 00969


Colegio Marista El Salvador
Puerto Rico Council 661
Carr 2 Km 45.5
Manati, PR 00674


Colegio Mater Salvatoris
Puerto Rico Council 661
Carr 838 Km 4.8
Barrio Monacillos
Rio Piedras, PR 00926


Colegio Mercedes Morales Inc
Puerto Rico Council 661
Urbanizacion Victor Braegger
Guaynabo, PR 00966


Colegio Nuestra Senora
Del Perpetuo Socorro
Puerto Rico Council 661
Ave Tejas
908 Km 20
Humacao, Pr 00791


Colegio Nuestra Senora Del Carmen
Puerto Rico Council 661
Esquina Padre Francisco Lopez
Avenida Doctor Susoni
Hatillo, PR 00659


Colegio Nuestra Sra Del Perpetuo Socorro
Puerto Rico Council 661
P.O. Box 9107
Humacao, PR 00792


Colegio Nueva Granada
National Capital Area Council 082
Cra. 2 Este 7‐20
Bogota,
Colombia


Colegio Perpetuo Socorro
Puerto Rico Council 661
Bo Coqui Carr 3
Salinas, PR 00704


Colegio Ponceno
Puerto Rico Council 661
1900 Carr 14 63
Coto Laurel, PR 00780


Colegio Radians Inc
Puerto Rico Council 661
P.O. Box 371298
Cayey, PR 00737


Colegio Sagrado Corazon
Puerto Rico Council 661
215 Calle Palma Real
San Juan, PR 00927


Colegio San Agustin
Puerto Rico Council 661
P.O. Box 342
Boqueron, PR 00622


Colegio San Carlos Borromeo
Puerto Rico Council 661
P.O. Box 1009
Aguadilla, PR 00605


Colegio San Ignacio
Puerto Rico Council 661
1940 Calle Sauco
Santa Maria
San Juan, PR 00927


Colegio San Jose
Puerto Rico Council 661
P.O. Box
21300
San Juan, PR 00928


Colegio San Vicente De Paul
Puerto Rico Council 661
709 Calle Bolivar
San Juan, PR 00909


Colegio Santa Maria Del Camino
Puerto Rico Council 661
658 Carr 8860
Trujillo Alto, PR 00976


Coleman
Merchant P.O. Box
5550 Paysphere Cir
Chicago, IL 60674


Coleman Co Inc
Alamo Area Council 583
766 Fm 306
Canyon Lake, TX 78130


Coleman Co, Inc
5550 Paysphere Cir
Chicago, IL 60674


Coleman Lew    Assoc Inc
P.O. Box 36489
Charlotte, NC 28236‐6489


Coleman Lions Club
Water and Woods Council 782
P.O. Box 163
Coleman, MI 48618


Coleman Memorial Utd Methodist Church
Middle Tennessee Council 560
322 N Military Ave
Lawrenceburg, TN 38464


Coleon M Donaldson
Address Redacted


Colerain Presbyterian Church
Ohio River Valley Council 619
P.O. Box 96
Colerain, OH 43916


Colerain Township Police Dept
Dan Beard Council, Bsa 438
4200 Springdale Rd
Cincinnati, OH 45251


Coleridge Taylor Elementary
Lincoln Heritage Council 205
1115 W Chestnut St
Louisville, KY 40203


Coles Crossing Cai
Sam Houston Area Council 576
13050 Barker Cypress Rd
Cypress, TX 77429


Coles Crossing Cai, Inc
Sam Houston Area Council 576
13060 Baker Cypress
Cypress, TX 77429


Coles Ferry PTO
Middle Tennessee Council 560
511 Coles Ferry Pike
Lebanon, TN 37087


Coles Transportation
Utah National Parks 591
1462 N 1090 W
Orem, UT 84057


Colesville Lions Club
National Capital Area Council 082
2005 Hopefield Rd
Silver Spring, MD 20905


Colesville Presbyterian Church
National Capital Area Council 082
12800 New Hampshire Ave
Silver Spring, MD 20904


Coleton Walters
Address Redacted


Colette Erickson
Address Redacted


Colette Taylor
Address Redacted


Colfax Area Churches
Chippewa Valley Council 637
506 Balsam St
Colfax, WI 54730


Colfax Catering / The Porch
P.O. Box 122
Cimarron, NM 87714


Colfax County Clerk
P.O. Box 159
Raton, NM 87740


Colfax County Fair Assoc
P.O. Box 237
Raton, NM 87740


Colfax County Fair Assoc
P.O. Box 502
Springer, NM 87747


Colfax County Health Fair
P.O. Box 370
Raton, NM 87740


Colfax County Treasurer
P.O. Box 98
Raton, NM 87740


Colfax Lions Club
Golden Empire Council 047
P.O. Box 664
Colfax, CA 95713


Colfax Soil Water Conservation District
c/o Vcd
P.O. Box 292
Maxwell, NM 87728
Colfax Sportsmens Club Inc
Chippewa Valley Council 637
E6779 County Rd B
Colfax, WI 54730


Colfax Tavern   Diner, LLC
P.O. Box 160
Maxwell, NM 87728


Colfax Trading Co
P.O. Box 122
Cimarron, NM 87714


Colfax Utd Methodist Church
W D Boyce 138
200 S Harrison St
Colfax, IL 61728


Colgate Baptist Church
Lincoln Heritage Council 205
125 E Montgomery Ave
Clarksville, IN 47129


Colin A Frank
Address Redacted


Colin Buckley
Address Redacted


Colin Cassady
Address Redacted


Colin Earl
Address Redacted


Colin French
Address Redacted


Colin G Kesicki
Address Redacted


Colin Hayes Illustrator, Inc
2304 S Dusk Ln
Spokane Valley, WA 99016


Colin L Potluri
Address Redacted


Colin Lemon
Address Redacted


Colin R Seher
Address Redacted


Colin Romberger
Address Redacted


Colin Thomas Lemon
Address Redacted


Collaborative College For Leadership
Piedmont Council 420
500 W Broad St
Statesville, NC 28677


Collamer Utd Church
Longhouse Council 373
6865 Fly Rd
East Syracuse, NY 13057


Collections Unlimited/The Gift Assoc Inc
1031 Gant Rd
Graham, NC 27253


Collective For Youth
Howard Kennedy Elementary
Mid‐America Council 326
2906 N 30Th St
Omaha, Ne 68111
Collective For Youth
Indian Hills Elementary
Mid‐America Council 326
3121 U St
Omaha, Ne 68107


Collective For Youth
Mid‐America Council 326
302 S 36th St
Omaha, NE 68131


Collective For Youth
Rose Hill Elementary
Mid‐America Council 326
5605 Corby St
Omaha, Ne 68104


Collective For Youth Ashland Park
Robbins Elementary
Mid‐America Council 326
5050 S 51St St
Omaha, Ne 68117


Collective For Youth Bancroft Elementary
Mid‐America Council 326
2724 Riverview Blvd
Omaha, NE 68108


Collective For Youth Castelar Elem Sch
Mid‐America Council 326
2316 S 18Th St
Omaha, Ne 68108


Collective For Youth Fontenelle Elem
Mid‐America Council 326
3905 N 52Nd St
Omaha, Ne 68104


Collective For Youth Nelson Mandela Elem
Mid‐America Council 326
6316 N 30Th St
Omaha, Ne 68111


Collective For Youth Norfolk Mid Sch
Mid‐America Council 326
1221 Norfolk 1St St
Norfolk, Ne 68701


Collective For Youth Skinner Magnet Ctr
Mid‐America Council 326
4304 N 33Rd St
Omaha, Ne 68111


Collective For Youth Washington Elem
Mid‐America Council 326
130 E 9Th St
Fremont, Ne 68025


Collective For Youth/Gateway Elementary
Mid‐America Council 326
5610 S 42nd St
Omaha, NE 68107


Collective For Youth‐Gilder Elementary
Mid‐America Council 326
3705 Chandler Rd W
Bellevue, NE 68147


Collective For Youth‐Shermanelementary
Mid‐America Council 326
5618 N 14th Ave
Omaha, NE 68110


Collective Of Youth Druid Hill
Mid‐America Council 326
4020 N 30th St
Omaha, NE 68111


Collectors Corner Trophies   Awards
P.O. Box 522739
Suite 216 Town Sq Mall
Marathon Shores, FL 33052
Colleen Brazier
Address Redacted


Colleen Ehlers
Address Redacted


Colleen Galloway
Address Redacted


Colleen Hart
Address Redacted


Colleen Holz
Address Redacted


Colleen Laroe
Address Redacted


Colleen M Marconi
Address Redacted


Colleen Marsh
Address Redacted


Colleen Moore
Address Redacted


College Assist C/O Nco Financial Systems
P.O. Box 15109
Wilimngton, DE 19850‐5109


College Ave Utd Methodist Church
The Spirit of Adventure 227
149 Broadway
Somerville, MA 02145


College Avenue Utd Methodist Church
Coronado Area Council 192
1609 College Ave
Manhattan, KS 66502


College Church Of The Nazarene
Heart of America Council 307
2020 E Sheridan St
Olathe, KS 66062


College Heights Christian Church
Ozark Trails Council 306
4311 Newman Rd
Joplin, MO 64801


College Heights Presbyterian Church
Occoneechee 421
1801 Seabrook Rd
Fayetteville, NC 28301


College Heights Utd Methodist Church
Lincoln Heritage Council 205
710 College St Rd
Elizabethtown, KY 42701


College Hill Baptist Church
Andrew Jackson Council 303
1600 Florence Ave
Jackson, MS 39204


College Hill Middle School
Caddo Area Council 584
1600 Forest St
Texarkana, AR 71854


College Hill Presbyterian Church
Dan Beard Council, Bsa 438
5742 Hamilton Ave
Cincinnati, OH 45224


College Hill Presbyterian Church
Minsi Trails Council 502
501 Brodhead St
Easton, PA 18042
College Hill Rec Center
Dan Beard Council, Bsa 438
5545 Belmont Ave
Cincinnati, OH 45224


College Hills Church Of Christ
Middle Tennessee Council 560
1401 Leeville Pike
Lebanon, TN 37090


College Of Charleston
Financial Assistance      Veterans Affairs
66 George St
Charlestown, SC 29424


College Of Coastal Georgia
Attn Office of Financial Aid
One College Dr
Brunswick, GA 31520


College Of New Jersey
Attn Eileen Rose
Office of Student Accts
P.O. Box 7718 Gh 119
Ewing, NJ 08628‐0718


College Of New Jersey
Office of Student Accts
P.O. Box 7718
Ewing, NJ 08628‐0718


College Of Southern Nevada
Attn Student Financial Services
3200 E Cheyenne Ave
Las Vegas, NV 89030


College Of St Rose
Attn Financial Aid Office
432 Wern Ave
Albany, NY 12203‐1490
College Of St Scholastica
Attn Business Office
1200 Kenwood Ave
Duluth, MN 55811


College Of Staten Island
Attn Bursar
2800 Victory Blvd
Staten Island, NY 10314


College Of The Ouachitas
Quapaw Area Council 018
1 College Cir
Malvern, AR 72104


College Of William   Mary
Attn Student Accounts
P.O. Box 8795
Williamsburg, VA 23187‐8795


College Of Wooster
1189 Beall Ave
Wooster, OH 44691


College Park Utd Methodist Church
Central Florida Council 083
644 W Princeton St
Orlando, FL 32804


College Park Utd Methodist Church
National Capital Area Council 082
9601 Rhode Island Ave
College Park, MD 20740


College Place Presbyterian Church Men
Blue Mountain Council 604
325 NE Damson Ave
College Pl, WA 99324


College Utd Methodist Church
Oregon Trail Council 697
1123 Main St
Philomath, OR 97370


Collegewood Community Club Pack 722
Greater Los Angeles Area 033
20725 Collegewood Dr
Walnut, CA 91789


Coller Industries Inc
dba Name Tag Inc
2211 S 300 W
Salt Lake City, UT 84115


Colleton County Fire Rescue
Coastal Carolina Council 550
113 Mabel T Willis Blvd
Walterboro, SC 29488


Colleyville Police Dept
Longhorn Council 662
5201 Riverwalk Dr
Colleyville, TX 76034


Collier County Sheriff S Office
Southwest Florida Council 088
3319 Tamiami Trl E
Naples, FL 34112


Collier Township Board Commissioners
Laurel Highlands Council 527
2418 Hilltop Rd
Presto, PA 15142


Collierville Christian Church
Chickasaw Council 558
707 S Byhalia Rd
Collierville, TN 38017


Collierville Police Dept
Chickasaw Council 558
156 N Rowlett St
Collierville, TN 38017
Collierville Presbyterian Church
Chickasaw Council 558
202 W Poplar Ave
Collierville, TN 38017


Collierville Utd Methodist Church
Chickasaw Council 558
454 W Poplar Ave
Collierville, TN 38017


Collierville Utd Methodist Men S Club
Chickasaw Council 558
454 W Poplar Ave
Collierville, TN 38017


Collin A Sindt
Address Redacted


Collin County Adventure Camp
Circle Ten Council 571
1180 Houston St
Anna, TX 75409


Collin County Tax Assessor Collector
Attn Kenneth L Maun
P.O. Box 8046
Mckinney, TX 75070‐8046


Collin Higgs
Address Redacted


Collin M Sawyer
Address Redacted


Collin M Wampler
Address Redacted


Collin P Bonnell
Address Redacted
Collin W Clark
Address Redacted


Collington Square Elementary
Middle School
Baltimore Area Council 220
1409 N Collington Ave
Baltimore, Md 21213


Collins Buckley Sauntry   Haugh Pllp
W 1100 First National Bank Bldg
332 Minnesota St
St Paul, MN 55101‐1379


Collins Engineering LLC
200 Garrett St, Ste K
Charlottesville, VA 22902


Collins Hill High School Jrotc
Northeast Georgia Council 101
50 Taylor Rd
Suwanee, GA 30024


Collins Memorial Utd Methodist Church
Atlanta Area Council 092
2220 Bolton Rd Nw
Atlanta, GA 30318


Collins Reporting Service Inc
405 N Huron St
Toledo, OH 43604


Collins Rotary Club
Pine Burr Area Council 304
P.O. Box 1688
Collins, MS 39428


Collinsville Police Dept
Greater St Louis Area Council 312
200 W Clay St
Collinsville, IL 62234


Collinsville Volunteer Fire Dept
Circle Ten Council 571
P.O. Box 557
Collinsville, TX 76233


Collinwood Fire Dept
Middle Tennessee Council 560
P.O. Box 98
Collinwood, TN 38450


Collom And Carney Radiology
Caddo Area Council 584
5002 Cowhorn Creek
Texarkana, TX 75503


Colman Brohan    Davis, Inc
540 W Hubbard St
Concourse Level E
Chicago, IL 60654


Coloma Lions Club
Bay‐Lakes Council 635
P.O. Box 161
Coloma, WI 54930


Coloma Utd Methodist Church
Southern Shores Fsc 783
P.O. Box 670
144 S Church St
Coloma, MI 49038


Colona Utd Methodist Men
Illowa Council 133
1709 Cleveland Rd
Colona, IL 61241


Colonia Vol Chemical Hook      Ladder Co
Patriots Path Council 358
250 Inman Ave
Colonia, Nj 07067
Colonial Beach Baptist Church
Heart of Virginia Council 602
10 Garfield Ave
Colonial Beach, VA 22443


Colonial Brass Co
42 Connie St
Taunton, MA 02780


Colonial Container Services Inc
P.O. Box 5309
Charlotte, NC 28299


Colonial Cutlery International
Colonial Knife Co
61 Dewey Ave
Kent, WA 02886


Colonial Dames Xvii Century
Quapaw Area Council 018
335 Bondair Rd
Higden, AR 72067


Colonial Drive Elementary
10755 S W 160th St
Miami, FL 33148


Colonial Heights AL Post 284
Heart Of Virginia Council 602
P.O. Box 57
505 Springdale Ave
Colonial Heights, Va 23834


Colonial Heights Presbyterian Church
Sequoyah Council 713
213 Colonial Heights Rd
Kingsport, TN 37663


Colonial Heights Umc
Great Smoky Mountain Council 557
6321 Chapman Hwy
Knoxville, TN 37920


Colonial Heights Utd Methodist Church
Sequoyah Council 713
P.O. Box 6027
Kingsport, TN 37663


Colonial Hills Civic Assoc
Simon Kenton Council 441
P.O. Box 676
Worthington, OH 43085


Colonial Hills Utd Methodist Church
Alamo Area Council 583
5247 Vance Jackson Rd
San Antonio, TX 78230


Colonial Hotel
625 Betty Spring Rd
Gardner, MA 01440


Colonial Point Christian Church
Connecticut Rivers Council, Bsa 066
855 Chapel Rd
South Windsor, CT 06074


Colonial Presbyterian Church
Heart of America Council 307
12501 W 137th St
Overland Park, KS 66221


Colonial Virginia
11834 Canon Blvd, Suite L
Newport News, VA 23606


Colonial Virginia Cncl 595
P.O. Box 12144
Newport News, VA 23612


Colonial Williamsburg Foundation
P.O. Box 1776
Williamsburg, VA 23187‐1776


Colonial Williamsburg Foundation
P.O. Box 79788
Baltimore, MD 21279‐0788


Colonie Police Dept
Twin Rivers Council 364
Public Safety Bldg
312 Wolf Rd
Latham, NY 12110


Color Blaze Supply, LLC
1450 W 12th Pl
Tempe, AZ 85281


Color House Graphics
3505 Eern Se
Grand Rapids, MI 49508


Colorad
P.O. Box 1788
Manassas, VA 20108


Colorado Adventure Point
Denver Area Council 061
10455 W 6th Ave, Ste 150
Lakewood, CO 80215


Colorado Cards   Magnets Inc
P.O. Box 26449
Colorado Springs, CO 80936


Colorado Chapter Icc/Education Committee
P.O. Box 961
Arvada, CO 80001


Colorado City Park And Rec
Rocky Mountain Council 063
P.O. Box 20229
Colorado City, CO 81019


Colorado Convention Center
700 14th St
Denver, CO 80202


Colorado Dept Of Local Affairs
1313 Sherman St, Rm 419
Denver, CO 80203


Colorado Dept Of Revenue
1375 Sherman St
Denver, CO 80261‐0009


Colorado Dept Of Treasury
Unclaimed Property Div
1580 Logan St, Ste 500
Denver, CO 80203


Colorado Ent And Allergy
Pikes Peak Council 060
3030 N Cir Dr, Ste 300
Colorado Springs, CO 80909


Colorado Equipment
240 5th St
Greeley, CO 80631


Colorado Heirloom, Inc
1215 S Grant Ave
Loveland, CO 80537


Colorado Mountain Industries
P.O. Box 535
Franklin, WV 26807


Colorado Natl Guard Friends Scouting
Denver Area Council 061
8212 Club Crest Dr
Arvada, Co 80005
Colorado Office Of The Attorney General
Division of Consumer Services
Terry Lee Rhodes Building
2005 Apalachee Pkwy.
Tallahassee, FL 32399‐6500


Colorado Printing Co
2800 Printers Way
Grand Junction, CO 81506


Colorado Printing Co
Cpcneutek
2800 Printers Way
Grand Junction, CO 81506


Colorado Rockies Baseball Club Ltd
2001 Blake St
Denver, CO 80205


Colorado School PTO
Illowa Council 133
149 Colorado St
Muscatine, IA 52761


Colorado Secretary Of State
1700 Broadway, Suite 200
Denver, CO 80290


Colorado Security Products, Inc
11805 W Colfax Ave
Lakewood, CO 80215


Colorado Springs Fire Dept
Pikes Peak Council 060
375 Printers Pkwy
Colorado Springs, CO 80910


Colorado State Attorneys General
Dept. of Law
1525 Sherman St
Denver, CO 80203
Colorado State University
Attn Student Financial Services
501 University Ave
Fort Collins, CO 80521


Colorado State University
Student Financial Services
1065 Campus Delivery
Ft Collins, CO 80523‐1065


Colorado Yurt Co
P.O. Box 1626
Montrose, CO 80140


Colorburst
44710 Cafe Court 142
Ashburn, VA 20147


Colordynamics
200 E Bethany Dr
Allen, TX 75002


Colton Buckingham
Address Redacted


Colton C Franke
Address Redacted


Colton J Urbanski
Address Redacted


Colton Police Dept
California Inland Empire Council 045
650 N La Cadena Dr
Colton, CA 92324


Colts Neck Vol Fire Dept Co 2
Monmouth Council, Bsa 347
P.O. Box 172
Colts Neck, NJ 07722


Columbia Academy
Baltimore Area Council 220
10350 Old Columbia Rd
Columbia, MD 21046


Columbia Building Assoc
Water and Woods Council 782
3501 Rattle Run Rd
St Clair, MI 48079


Columbia Central High School Njrotc
Middle Tennessee Council 560
921 Lion Pkwy
Columbia, TN 38401


Columbia Club Of Osceola County Inc
Central Florida Council 083
2000 Neptune Rd
Kissimmee, FL 34744


Columbia County Sheriff Office
Georgia‐Carolina 093
2273 County Camp Rd
Appling, GA 30802


Columbia Elementary School
Central Florida Council 083
1225 Waco Blvd Se
Palm Bay, FL 32909


Columbia Falls Lions Club
Montana Council 315
100
Columbia Falls, MT 59912


Columbia Fire Dept
Middle Tennessee Council 560
1000 S Garden St
Columbia, TN 38401
Columbia Fire Dept.‐Cate Center
Indian Waters Council 553
1800 Laurel St
Columbia, SC 29201


Columbia Heights Fire Dept
Northern Star Council 250
825 41st Ave Ne
Columbia Heights, MN 55421


Columbia Heights Utd Methodist Church
Simon Kenton Council 441
775 Galloway Rd
Galloway, OH 43119


Columbia Independent School
Great Rivers Council 653
1801 N Stadium Blvd
Columbia, MO 65202


Columbia International University
Attn Registrar
P.O. Box 3122
Columbia, SC 29230‐3122


Columbia Journalism Review
P.O. Box 422492
Palm Coast, FL 32142‐8974


Columbia Lions Club
Connecticut Rivers Council, Bsa 066
P.O. Box 1
Columbia, CT 06237


Columbia Lodge 25 A.F.   A.M.
Connecticut Rivers Council, Bsa 066
895 Main St
South Glastonbury, CT 06073


Columbia Machine Inc
Cascade Pacific Council 492
P.O. Box 8950
Vancouver, WA 98668


Columbia Middle School
Denver Area Council 061
17600 E Columbia Ave
Aurora, CO 80013


Columbia Police Dept
Middle Tennessee Council 560
707 N Main St
Columbia, TN 38401


Columbia Police Dept
Pine Burr Area Council 304
205 2nd St
Columbia, MS 39429


Columbia Properties Minneapolis Ltd
dba Minneapolis Airport Marriott
2020 American Blvd E
Bloomington, MN 55425


Columbia River Knife      Tool Co
18348 SW 126th Pl
Tualatin, OR 97062


Columbia Rotary Club
East Carolina Council 426
P.O. Box 696
Columbia, NC 27925


Columbia Rotary Club
Middle Tennessee Council 560
Mark Mayberry
2288 Tindell Ln
Columbia, TN 38401


Columbia Sportswear
P.O. Box 935641
Atlanta, GA 31193‐5641
Columbia Sportswear Co
P.O. Box 935641
Atlanta, GA 31193‐5641


Columbia Street Baptist Church
Katahdin Area Council 216
63 Columbia St
Bangor, ME 04401


Columbia Township
Five Rivers Council, Inc 375
P.O. Box 33
Columbia Cross Rds, PA 16914


Columbia University
210 Kent Hall
1140 Amsterdam Ave
New York, NY 10027


Columbia Utd Methodist Church
Bay Area Council 574
315 S 16th St
West Columbia, TX 77486


Columbia Yacht Club
Pathway To Adventure 456
111 N Lake Shore Dr
Chicago, IL 60601


Columbia‐Montour
5 Audubon Court
Bloomsburg, PA 17815


Columbia‐Montour Cncl No 504
5 Audubon Ct
Bloomsburg, PA 17815


Columbian Center Inc
Heart of Virginia Council 602
2324 Pump Rd
Henrico, VA 23233
Columbian Club Of Metuchen
Patriots Path Council 358
48 Sharon Ct
Metuchen, NJ 08840


Columbian Club Of Virginia Beach Inc
Tidewater Council 596
1236 Prosperity Rd
Virginia Beach, VA 23451


Columbian Hall Building Corp
Potawatomi Area Council 651
P.O. Box 82
Oconomowoc, WI 53066


Columbian Presbyterian Church
Longhouse Council 373
P.O. Box 270
La Fayette, NY 13084


Columbiana Kiwanis Club
Greater Alabama Council 001
P.O. Box 338
Columbiana, AL 35051


Columbiana Police Dept
Buckeye Council 436
28 S Vine St
Columbiana, OH 44408


Columbianism 3006
Calcasieu Area Council 209
P.O. Box 1006
503 E Hwy 90
Iowa, LA 70647


ColumbiaRiverGorge Natl Scenic Area Fire
Cascade Pacific Council 492
902 Wasco St, Ste 200
Hood River, Or 97031
Columbine Hills Church
Denver Area Council 061
9700 Old Coal Mine Ave
Littleton, CO 80123


Columbine Utd Church
Denver Area Council 061
6375 S Platte Canyon Rd
Littleton, CO 80123


Columbus After School Program
Mid‐America Council 326
2715 13th St
Columbus, NE 68601


Columbus Bilingual Academy North
Simon Kenton Council 441
3360 Kohr Blvd
Columbus, OH 43224


Columbus City Masonic Lodge 107
Mississippi Valley Council 141 141
P.O. Box 168
Columbus Jct, IA 52738


Columbus Club
Bay Area Council 574
6403 N Hwy 6
Alvin, TX 77511


Columbus Club Of Wharton
Sam Houston Area Council 576
2820 N Fulton St
Wharton, TX 77488


Columbus Club Of Yoakum
Capitol Area Council 564
P.O. Box 309
Yoakum, TX 77995


Columbus County Dream Center, Inc
Cape Fear Council 425
403 S Martin Luther King Jr Ave
Whiteville, NC 28472


Columbus Div Of Police
Simon Kenton Council 441
120 Marconi Blvd
Columbus, OH 43215


Columbus Flooring    More Inc
4848 River Rd
Columbus, GA 31904


Columbus Grove Middle / High School
Black Swamp Area Council 449
201 W Cross St
Columbus Grove, OH 45830


Columbus Hotels LLC
dba Courtyard Columbus Airport
2901 Airport Dr
Columbus, OH 43219


Columbus Lions Club
Northern Star Council 250
P.O. Box 484
Forest Lake, MN 55025


Columbus Moose Lodge 11
Simon Kenton Council 441
1444 Demorest Rd
Columbus, OH 43228


Columbus Noon Lions Club
Sam Houston Area Council 576
P.O. Box 532
Columbus, TX 78934


Columbus Police Dept
Chattahoochee Council 091
510 10th St
Columbus, GA 31901
Columbus Recreation   Parks Dept
Simon Kenton Council 441
1111 E Broad Dt
Columbus, OH 43205


Columbus Spanish Immersion Academy PTO
Simon Kenton Council 441
3940 Karl Rd
Columbus, OH 43224


Columbus Utd Methodist Church
Piedmont Council 420
P.O. Box 533
Columbus, NC 28722


Colusa Lions Club
Golden Empire Council 047
333 Ashley Dr
Colusa, CA 95932


Colwyn Leadership Team
Cradle of Liberty Council 525
211 Pine St
Darby, PA 19023


Comanche Trail Church Of Christ
Golden Spread Council 562
P.O. Box 30516
2700 SE 34th Ave
Amarillo, TX 79120


Combee Elementary PTA
Greater Tampa Bay Area 089
2805 Morgan Combee Rd
Lakeland, FL 33801


Combined Locks Advancement Assoc
Bay‐Lakes Council 635
405 Wallace St
Combined Locks, WI 54113
Combined Locks Fire   Rescue
Bay‐Lakes Council 635
405 Wallace St
Combined Locks, WI 54113


Comcast
P.O. Box 3001
Southeastern, PA 19398‐3005


Comcast
P.O. Box 530098
Atlanta, GA 30353‐0098


Comcast
P.O. Box 530099
Atlanta, GA 30353‐0099


Comcast
P.O. Box 71211
Charlotte, NC 28272‐1211


Comer Lions Club
Northeast Georgia Council 101
422 Main St
Comer, GA 30629


Comerciantes Unidos
Greater Yosemite Council 059
P.O. Box 1193
Stockton, CA 95201


Comfort Inn Southpoint
5422 Jefferson Davis Hwy
Fredericksburg, VA 22407


Comfort Suites Las Colinas Center
1223 Greenway Cir
Irving, TX 75038


Comite De Padres
Puerto Rico Council 661
J11 Calle 5
Juana Diaz, PR 00795


Comite De Padres Pack 1204
Esc Josefita Monserrate DE Selles
Puerto Rico Council 661
P.O. Box 191736
San Juan, Pr 00919


Comite De Padres Unidad 104
Puerto Rico Council 661
J11 Calle 5
Urb Las Flores
Juana Diaz, PR 00795


Comite De Padres Y Amigos De La Tropa247
Puerto Rico Council 661
31 Calle Miguel Planellas
Cidra, Pr 00739


Commack Utd Methodist Church
Suffolk County Council Inc 404
486 Townline Rd
Commack, NY 11725


Commemorative Air Force
Grand Canyon Council 010
4733 E Encanto St
Mesa, AZ 85205


Commemorative Air Force
Nevada Area Council 329
5519 Alpha Ave Hngr H‐10
Reno, NV 89506


Commerce Bank
c/o Neast Region Bsa
P.O. Box 268
Jamesburg, NJ 08831


Commerce Bank Commercial Cards
Enterprise Rent‐A‐Car Account
P.O. Box 846451
Kansas City, MO 64184‐6451


Commerce City ‐ Tax Div
7887 E 60th Ave
Commerce City, CO 80022


Commerce Kiwanis Club
Northeast Georgia Council 101
P.O. Box 441
Commerce, GA 30529


Commerce Masonic Lodge 121
Great Lakes Fsc 272
374 W Walled Lake Dr
Walled Lake, MI 48390


Commerce Police Dept
Circle Ten Council 571
1103 Sycamore St
Commerce, TX 75428


Commerce Presbyterian Church
Northeast Georgia Council 101
89 Lakeview Dr
Commerce, GA 30529


Commerce Sign Solutions
540 Cranbury Rd 334
East Brunswick, NJ 08816


Commerce Utd Methodist Church
Great Lakes Fsc 272
1155 N Commerce Rd
Commerce Township, MI 48382


Commerce V3 Inc
Central Florida Council 083
13045 Mountain Trl
Clermont, FL 34715
Commercial Due Diligence Services Inc
Accounts Receivable Dept
P.O. Box 27489
Santa Ana, CA 92799


Commercial Lighting Co
P.O. Box 270651
Tampa, FL 33688


Commercial Lighting Supply
2440 S 900 W
Salt Lake City, UT 84119


Commercial Maintenance Specialist
P.O. Box 306
Denver, NC 28037


Commercial Metals Co
Dept 1339, P.O. Box 844579
Dallas, TX 75284‐4579


Commercial Point Community Men S Club
Simon Kenton Council 441
P.O. Box 97
Orient, OH 43146


Commerical Recreation Specialists
807 Liberty Dr, Ste 101
Verona, WI 53593


Commingled Endowment
1325 W Walnut Hill Ln
Irving, TX 75038


Commissioner Of Revenue Serv
Dept of Revenue Serv
P.O. Box 5014
Hartford, CT 06102‐5014


Commissioner Of Taxation And Finance
Nys Assessment Receivable
P.O. Box 4127
Binghamton, NY 13902‐4127


Commissioner Of Taxation And Finance
P.O. Box 4128
Binghamton, NY 13902‐4128


Commissioning    Green Bldg Solutions Inc
3075 Breckinridge Blvd, Ste 480
Duluth, GA 30096


Committee For Children
2815 2nd Ave, Ste 400
Seattle, WA 98121‐3207


Commodore Perry Food Pantry Inc
French Creek Council 532
P.O. Box 246
West Middlesex, PA 16159


Commodore Perry Lions Club
French Creek Council 532
P.O. Box 6
Hadley, PA 16130


Commodore Uniform
335 Lower County Rd
P.O. Box 445
Harwich Port, MA 02646


Commomwealth Of Pennsylvania
Unclaimed Property
P.O. Box 783473
Philadelphia, PA 19178‐3473


Commomwealth Of Pennsylvania
Unclaimed Property
P.O. Box 8500‐53473
Philadelphia, PA 19178‐3473
Commonwealth Club Of Cache Valley
Trapper Trails 589
P.O. Box 332
Millville, UT 84326


Commonwealth Computer Recycling LLC
P.O. Box 43249
Louisville, KY 40253‐0249


Commonwealth Electric Co
100 N 3rd St
Phoenix, AZ 85004


Commonwealth Event Co
5611 Greendale Rd
Richmond, VA 23228


Commonwealth Mediation Conciliation, Inc
1145 W Chestnut St, Ste 202
Brockton, Ma 02301‐7500


Commonwealth Of Kentucky
Capital Complex E
1025 Capital Center Dr, Ste 104
Frankford, KY 40601


Commonwealth Of Massachusetts
Attn Annual Report ‐ Ar 125
Secretary of the Commonwealth
One Ashburton Pl, Rm 1717
Boston, MA 02108‐1512


Commonwealth Of Massachusetts
Attn Dept Of Attorney General
Division Of Public Charities
Boston, MA 02108‐1698


Commonwealth Of Massachusetts
Attn Dept of Public Health
305 S St
Jamaica Plain, MA 02130‐3597
Commonwealth Of Massachusetts
Attn Secretary of the Commonwealth
One Ashburton Pl, Rm 1717
Boston, MA 02108‐1512


Commonwealth Of Massachusetts
Dept of Attorney General
Division of Public Charities
One Ashburton Pl, Rm 1413
Boston, MA 02108‐1698


Commonwealth Of Massachusetts
Dept of Public Health
305 S St
Jamaica Plain, MA 02130‐3597


Commonwealth Of Massachusetts
Ezdrivema Payment Processing Center
P.O. Box 847840
Boston, MA 02284‐7840


Commonwealth Of Massachusetts
One Ashburton Pl, Rm 1413
Boston, MA 02108‐1698


Commonwealth Of Massachusetts
State Treasurers Office, Upc Div
1 Ashburton Pl, 12th Fl
Boston, MA 02108


Commonwealth Of Pennsylvania
Attn Bureau of Charitable Organizations
207 N Office Building
Harrisburg, PA 17120


Commonwealth Of Pennsylvania
Attn Bureau of Charitable Organizations
207 N Office Bldg
Harrisburg, PA 17120


Commonwealth Of Pennsylvania
Attn Dept of Revenue
Dept. 280414
Harrisburg, PA 17128‐0414


Commonwealth Of Pennsylvania
Department of Revenue
Dept 280414
Harrisburg, PA 17128‐0414


Commonwealth of Pennsylvania
Dept of Labor   Industry
Attn Deb Secrest/Collections Supp Unit
651 Boas St, Rm 925
Harrisburg, PA 17121


Commonwealth Of Pennsylvania
Dept of State‐Corp   Char Org Bureau
P.O. Box 8722
Harrisburg, PA 17105‐8722


Commonwealth Of Puerto Rico
Attn Dept of Labor    Human Resources
Bureau of Employment Security
San Juan, PR 00919‐1020


Commonwealth Of Puerto Rico
Dept of Labor   Human Resources
Bureau of Employment Security
P.O. Box 191020
San Juan, PR 00919‐1020


Commonwealth Of Virginia
Department of Taxation
P.O. Box 1103
Richmond, VA 23218‐1103


Commonwealth Of Virginia
P.O. Box 1197
Richmond, VA 23218‐1197


Commonwealth Of Virginia
Treasury Dept ‐ Unclaimed Prop Div
P.O. Box 2478
Richmond, VA 23218‐2478


Commonwealth Parkville School
Puerto Rico Council 661
Urb Parville
Calle Alabama Final
Guaynabo, PR 00969


Commonwealth Ram Jv LLC
Yardley Country Club
1010 Reading Ave
Yardley, PA 19067


Commtech
710 Lavadie Rd
Taos, NM 87571


Commtech
P.O. Box 2446
Taos, NM 87571


Commty Consolidated School Dist 180
Pathway To Adventure 456
16 W 631 91St St
Willowbrook, Il 60527


Commty Christ Natl Guard
Methodist Mens
Mid‐America Council 326
Rlds Church, 17Th   1St Ave N
Denison, Ia 51442


Commty Congregational
United Church Of Christ
Southern Shores Fsc 783
P.O. Box 585
125 E Unadilla St
Pinckney, Mi 48169


Commty Of Faith
United Methodist Church
Central Florida Council 083
9120 Teacher Ln
Davenport, Fl 33897


Commty Presbyterian Church
Mountainside
Patriots Path Council 358
1459 Deer Path
Mountainside, Nj 07092


Communication Arts
P.O. Box 2013
Langhorne, PA 19047‐9623


Communication Enterprises Corp
7716 Brookshire Dr
Urbandale, IA 50322


Communication Media Mgmt Assn
20423 State Rd 7, Suite F6‐491
Boca Raton, FL 33498


Communications Concepts, Inc
Attn Anne Lopez
7481 Huntsman Blvd, 720
Springfield, VA 22153‐1648


Communications Test Design Inc
Attn Accounts Receivable Dept
1373 Enterprise Dr
West Chester, PA 19380


Communimatics Mobile Notary Services
Central Florida Council 083
P.O. Box 2410
Goldenrod, FL 32733


Communities In School Dudley Site
Southern Shores Fsc 783
308 Roosevelt Ave W
Battle Creek, MI 49037
Communities In Schools Big Country
Texas Trails Council 561
1654 Campus Ct
Abilene, TX 79601


Communities In Schools Of Rowan County
Central N Carolina Council 416
204 E Innes St, Ste 240
Salisbury, NC 28144


Communities In Schools Of San Antonio
Alamo Area Council 583
1616 E Commerce St
San Antonio, TX 78205


Communities In Schools Petersburg
Heart of Virginia Council 602
255 E S Blvd
Petersburg, VA 23805


Communities In Schools Valleyview Site
Southern Shores Fsc 783
960 Ave A
Springfield, MI 49037


Communities In Schools Willow
Water and Woods Council 782
741 N Cedar St, Ste 100
Lansing, MI 48906


Communities In Schools‐Attwood
Water and Woods Council 782
741 N Cedar St, Ste 100
Lansing, MI 48906


Community Action Network
Southern Shores Fsc 783
P.O. Box 130076
Ann Arbor, MI 48113


Community Action Organization Of Wny
Greater Niagara Frontier Council 380
45 Jewett Ave
Buffalo, NY 14214


Community Ambulance
Central Georgia Council 096
242 Holt Ave
Macon, GA 31201


Community Ambulance
Las Vegas Area Council 328
91 Corporate Center Dr
Henderson, NV 89074


Community Athletics Boos Tech Club
Circle Ten Council 571
P.O. Box 331
Nevada, TX 75173


Community Athletics Booster Club
Circle Ten Council 571
P.O. Box 331
Nevada, TX 75173


Community Bank Of Dunlap
Mid‐America Council 326
601 Iowa Ave
Dunlap, IA 51529


Community Baptist Church
California Inland Empire Council 045
9090 19th St
Rancho Cucamonga, CA 91701


Community Baptist Church
Connecticut Rivers Council, Bsa 066
585 E Center St
Manchester, CT 06040


Community Bible Church
Alamo Area Council 583
2477 N Loop 1604 E
San Antonio, TX 78232


Community Bible Church
Flint River Council 095
2001 Jodeco Rd
Stockbridge, GA 30281


Community Bible Church
North Florida Council 087
3150 US Hwy 1 S
St Augustine, FL 32086


Community Christian Church
Northeast Illinois 129
1970 Riverwoods Rd
Lincolnshire, IL 60069


Community Christian Church
Three Fires Council 127
1635 Emerson Ln
Naperville, IL 60540


Community Christian Fellowship
Crater Lake Council 491
20380 Cooley Rd
Bend, OR 97703


Community Church
Middle Tennessee Council 560
381 W Main St
Hendersonville, TN 37075


Community Church
Westark Area Council 016
288 Main St
West Fork, AR 72774


Community Church Of Alton
Daniel Webster Council, Bsa 330
P.O. Box 997
Alton, NH 03809
Community Church Of Christ
Northern Star Council 250
5990 134th St Ct
Apple Valley, MN 55124


Community Church Of Durham
Daniel Webster Council, Bsa 330
P.O. Box 310
Durham, NH 03824


Community Church Of East Williston
Theodore Roosevelt Council 386
45 E Williston Ave
East Williston, NY 11596


Community Church Of Glen Rock
Northern New Jersey Council, Bsa 333
354 Rock Rd
Glen Rock, NJ 07452


Community Church Of God
Central Georgia Council 096
5555 Bethesda Ave
Macon, GA 31206


Community Church Of Greenburg
Hoosier Trails Council 145 145
1427 W Vandalia Rd
Greensburg, IN 47240


Community Church Of Harrington Park
Northern New Jersey Council, Bsa 333
1 Spring St
Harrington Park, NJ 07640


Community Church Of Ho Ho Kus
Northern New Jersey Council, Bsa 333
400 Warren Ave
Ho Ho Kus, NJ 07423


Community Church Of Hudson
Winnebago Council, Bsa 173
P.O. Box 60
226 Eldora Rd
Hudson, IA 50643


Community Church Of Huntington
Green Mountain 592
P.O. Box 24
Huntington, VT 05462


Community Church Of Joy
Chief Seattle Council 609
723 233rd Ave Ne
Sammamish, WA 98074


Community Church Of Mountain Lakes
Patriots Path Council 358
48 Briarcliff Rd
Mountain Lakes, NJ 07046


Community Church Of Poway
San Diego Imperial Council 049
13501 Community Rd
Poway, CA 92064


Community Church Of Rolling Meadows
Pathway To Adventure 456
2720 Kirchoff Rd
Rolling Meadows, IL 60008


Community Church Of The Pelhams
Westchester Putnam 388
Washington Ave
Pelham, NY 10803


Community Church Pine Grove
Golden Empire Council 047
14045 Ponderosa Way
Pine Grove, CA 95665


Community Church Presbyterian‐
President Gerald R Ford 781
109 N Harrison St
Ludington, MI 49431


Community Club Of Selby
Sioux Council 733
P.O. Box 244
Selby, SD 57472


Community Club Of Winthrop
Winnebago Council, Bsa 173
P.O. Box 159
Winthrop, IA 50682


Community Concerns Inc
Atlanta Area Council 092
605 Spencer St
Atlanta, GA 30314


Community Congregational Church
Bay‐Lakes Council 635
502 Center St
Kewaunee, WI 54216


Community Congregational Church
Crossroads of America 160
4592 Hurricane Rd
Franklin, IN 46131


Community Congregational Church
San Diego Imperial Council 049
276 F St
Chula Vista, CA 91910


Community Congregational Church
Three Fires Council 127
P.O. Box 308
100 E Shannon St
Elburn, IL 60119


Community Congregational Church Ucc
Montana Council 315
P.O. Box 545
Columbus, MT 59019


Community Congregrational Church Ucc
Montana Council 315
P.O. Box 545
Columbus, MT 59019


Community Connections Of Jax ‐ Normandy
North Florida Council 087
1751 Lindsey Rd
Jacksonville, FL 32221


Community Covenant Church
Great Alaska Council 610
16123 Artillery Rd
Eagle River, AK 99577


Community Covenant Church
Heart of America Council 307
15700 W 87th St Pkwy
Lenexa, KS 66219


Community Covenant Church
National Capital Area Council 082
7018 Sydenstricker Rd
Springfield, VA 22152


Community Covenant Church
The Spirit of Adventure 227
33 Lake St
Peabody, MA 01960


Community Economic Development Assoc
Golden Empire Council 047
P.O. Box 424
Pollock Pines, CA 95726


Community Electric Inc
P.O. Box 1198
Waterloo, IA 50704‐1198
Community Ems
Great Lakes Fsc 272
25400 W 8 Mile Rd
Southfield, MI 48033


Community Evangelical Free Church
Lasalle Council 165
120 E Bertrand Rd
Niles, MI 49120


Community Federated Church
Greater Wyoming Council 638
244 N 6th St
Thermopolis, WY 82443


Community Fellowship Church
Atlanta Area Council 092
612 Cohran Store Rd
Douglasville, GA 30134


Community Grand Lodge Of Masons
Northern Star Council 250
11501 Masonic Home Dr
Minneapolis, MN 55437


Community Healthcare Clinic
Northwest Texas Council 587
200 Mlk Jr Blvd
Wichita Falls, TX 76301


Community Housing Innovations
Suffolk County Council Inc 404
3240 Route 112
Medford, NY 11763


Community Housing Partners
Blue Ridge Mtns Council 599
1446 W Fayette St
Martinsville, VA 24112


Community Learning Center
Samoset Council, Bsa 627
500 N Piece
Adams, WI 53901


Community Learning Center Ldf School
Samoset Council, Bsa 627
2899 State Hwy 47 S
Lac Du Flambeau, WI 54538


Community Learning Center, Inc
Longhorn Council 662
555 N Grants Ln
Fort Worth, TX 76108


Community Life Utd Methodist Church
Gulf Coast Council 773
415 Soundside Dr
Gulf Breeze, FL 32563


Community Link
P.O. Box 306
Pinckneyville, IL 62274


Community Lions Club
Middle Tennessee Council 560
336 Dunnaway Rd
Shelbyville, TN 37160


Community Lutheran Church
Las Vegas Area Council 328
3720 E Tropicana Ave
Las Vegas, NV 89121


Community Lutheran Church
National Capital Area Council 082
21014 Whitfield Pl
Sterling, VA 20165


Community Medical Center
Jersey Shore Council 341
99 Route 37 W
Toms River, NJ 08755
Community Memorial Hospital
Black Swamp Area Council 449
208 Columbus St
Hicksville, OH 43526


Community Memorial Hospital
Leatherstocking 400
150 Broad St
Hamilton, NY 13346


Community Montessori
West Tennessee Area Council 559
716 Wwood Ave
Jackson, TN 38301


Community Of Christ
c/o David Powell
Pony Express Council 311
1103 Main St
Stewartsville, MO 64490


Community Of Christ
Denver Area Council 061
3780 Ward Rd
Wheat Ridge, CO 80033


Community Of Christ
Heart of America Council 307
515 S 1st St
Odessa, MO 64076


Community Of Christ
Jayhawk Area Council 197
5252 SW 19th St
Topeka, KS 66604


Community Of Christ
Mississippi Valley Council 141 141
P.O. Box 513
Nauvoo, IL 62354
Community Of Christ
Pony Express Council 311
902 W 4th St
Cameron, MO 64429


Community Of Christ
President Gerald R Ford 781
220 S Center Ave
Gaylord, MI 49735


Community Of Christ Abundant Life Ctr
Pony Express Council 311
5130 Faraon St
Saint Joseph, MO 64506


Community Of Christ Church
Inland Nwest Council 611
11515 E Broadway Ave
Spokane Valley, WA 99206


Community Of Christ Church
Mid‐America Council 326
140 W Kanesville Blvd
Council Bluffs, IA 51503


Community Of Christ Church
Mississippi Valley Council 141 141
906 W Henry St
Mount Pleasant, IA 52641


Community Of Christ Church
Mobile Area Council‐Bsa 004
672 Azalea Rd
Mobile, AL 36609


Community Of Christ The Redeemer
Northern Star Council 250
110 Crusader Ave W
West Saint Paul, MN 55118


Community Of Faith Church
Greater St Louis Area Council 312
5208 Meadowland Pkwy
Marion, IL 62959


Community Of Faith Church
Lake Erie Council 440
9715 E River Rd
Elyria, OH 44035


Community Of Faith Methodist Church
National Capital Area Council 082
13224 Franklin Farm Rd
Herndon, VA 20171


Community Of Ghs Outdoor Ed Post
Chief Seattle Council 609
P.O. Box 22911
2401 E Spring St
Seattle, WA 98122


Community Of Grace Church
Northeast Georgia Council 101
1200 Athens Hwy.
Grayson, GA 30017


Community Of Grace Lutheran Church
Northern Star Council 250
4000 Linden St
White Bear Lake, MN 55110


Community Of Hope
Anthony Wayne Area 157
208 W Jackson St
Columbia City, IN 46725


Community Of Hope Church
Grand Canyon Council 010
45295 W Honeycutt Ave
Maricopa, AZ 85139


Community Of Hope Umc
Longhorn Council 662
1800 E Debbie Ln
Mansfield, TX 76063


Community Of Joy, Elca
Great Swest Council 412
841 Saratoga Dr Ne
Rio Rancho, NM 87144


Community Of Love Lutheran Church
Chester County Council 539
117 N 4th St
Oxford, PA 19363


Community Of Morgan S Point Resort
Longhorn Council 662
8 Morgans Point Blvd
Belton, TX 76513


Community Of Morgan S Point Resort
Longhorn Council 662
8 Morgans Point Blvd
Morgans Point Resort, TX 76513


Community Of Saints
Northern Star Council 250
335 Hurley St E
West St Paul, MN 55118


Community Of Saints School
Northern Star Council 250
335 Hurley St E
West St Paul, MN 55118


Community Of St Mary   St Ann
Water and Woods Council 782
807 Saint Marys Blvd
Charlotte, MI 48813


Community Presbyterian Church
Buckskin 617
605 Bellefonte Princess Rd
Ashland, KY 41101
Community Presbyterian Church
Crater Lake Council 491
529 NW 19th St
Redmond, OR 97756


Community Presbyterian Church
Mt Diablo‐Silverado Council 023
200 E Leland Rd
Pittsburg, CA 94565


Community Presbyterian Church
Mt Diablo‐Silverado Council 023
2800 Georgia St
Vallejo, CA 94591


Community Presbyterian Church
North Florida Council 087
150 Sherry Dr
Atlantic Beach, FL 32233


Community Presbyterian Church
Northern New Jersey Council, Bsa 333
145 Carletondale Rd
Ringwood, NJ 07456


Community Presbyterian Church
Occoneechee 421
P.O. Box 1449
Pinehurst, NC 28370


Community Presbyterian Church
Patriots Path Council 358
220 Main St
Chester, NJ 07930


Community Presbyterian Church
South Texas Council 577
P.O. Box 147
Port Aransas, TX 78373


Community Presbyterian Church
Westmoreland Fayette 512
P.O. Box 361
New Alexandria, PA 15670


Community Presbyterian Church A.F.
Utah National Parks 591
75 N 100 E
American Fork, UT 84003


Community Presbyterian Church Cambria
Los Padres Council 053
2250 Yorkshire Dr
Cambria, CA 93428


Community Presbyterian Church La Mirada
Greater Los Angeles Area 033
13701 Hillsborough Dr
La Mirada, CA 90638


Community Rowing Of San Diego
San Diego Imperial Council 049
3431 Conrad Ave
San Diego, CA 92117


Community School 112
Greater New York Councils, Bsa 640
1925 Schieffelin Ave
Bronx, NY 10466


Community Service Venturing
Alameda Council Bsa 022
2857 Lincoln Ave
Alameda, CA 94501


Community Support Assoc
Transatlantic Council, Bsa 802
Joachim‐Becher‐Str. 19
60320 Frankfurt/Main
09213, Germany


Community Support Assoc Frankfurt
Transatlantic Council, Bsa 802
Giessener Strasse 30
Frankfurt, 60435
Germany


Community Utd Church Of Christ
Hawk Mountain Council 528
3330 Saint Lawrence Ave
Reading, PA 19606


Community Utd Methodist Church
Baltimore Area Council 220
1690 Riedel Rd
Crofton, MD 21114


Community Utd Methodist Church
Baltimore Area Council 220
8680 Smallwood Rd
Pasadena, MD 21122


Community Utd Methodist Church
Blue Grass Council 204
147 Burke Ave
Prestonsburg, KY 41653


Community Utd Methodist Church
Cape Fear Council 425
2999 Calloway Rd
Raeford, NC 28376


Community Utd Methodist Church
Central Florida Council 083
309 Ncollege Ave
Fruitland Park, FL 34731


Community Utd Methodist Church
Central Florida Council 083
321 Piney Ridge Rd
Casselberry, FL 32707


Community Utd Methodist Church
Chief Seattle Council 609
130 Church St
Port Hadlock, WA 98339


Community Utd Methodist Church
Conquistador Council Bsa 413
220 Junction Rd
Ruidoso, NM 88345


Community Utd Methodist Church
Grand Canyon Council 010
104 W Wern Ave
Avondale, AZ 85323


Community Utd Methodist Church
Grand Canyon Council 010
127 W Sherman Ave
Williams, AZ 86046


Community Utd Methodist Church
Greater Tampa Bay Area 089
207 Buckingham Ave E
Oldsmar, FL 34677


Community Utd Methodist Church
Greater Yosemite Council 059
135 Laurel St
Valley Springs, CA 95252


Community Utd Methodist Church
Gulf Stream Council 085
3114 Okeechobee Rd
Fort Pierce, FL 34947


Community Utd Methodist Church
Gulf Stream Council 085
401 SW 1st St
Belle Glade, FL 33430


Community Utd Methodist Church
Inland Nwest Council 611
1470 W Hanley Ave
Coeur D Alene, ID 83815
Community Utd Methodist Church
Miami Valley Council, Bsa 444
114 Hay Ave
Brookville, OH 45309


Community Utd Methodist Church
Miami Valley Council, Bsa 444
339 Meyer Ave
Dayton, OH 45403


Community Utd Methodist Church
Mid‐America Council 326
1st and Baker Dr
Sergeant Bluff, IA 51054


Community Utd Methodist Church
Montana Council 315
750 Electric Ave
Bigfork, MT 59911


Community Utd Methodist Church
Mountaineer Area 615
1966 Grafton Rd
Morgantown, WV 26508


Community Utd Methodist Church
Mt Diablo‐Silverado Council 023
1875 Fairfield Ave
Fairfield, CA 94533


Community Utd Methodist Church
Pacific Skyline Council 031
777 Miramontes St
Half Moon Bay, CA 94019


Community Utd Methodist Church
President Gerald R Ford 781
1614 Ruddiman Dr
Muskegon, MI 49445


Community Utd Methodist Church
Simon Kenton Council 441
120 N Pickaway St
Circleville, OH 43113


Community Utd Methodist Church
Three Fires Council 127
400 W Spring St
South Elgin, IL 60177


Community Utd Methodist Church
Tidewater Council 596
1072 Old Kempsville Rd
Virginia Beach, VA 23464


Community Utd Methodist Church
Water and Woods Council 782
P.O. Box 186
201 S Forest St
Standish, MI 48658


Community Utd Methodist Mens Club
Orange County Council 039
6652 Heil Ave
Huntington Beach, CA 92647


Community Utd Presbyterian Church
Westmoreland Fayette 512
P.O. Box 361
New Alexandria, PA 15670


Compania Comercial El Dorado Ltda
Avenida San Martin 4‐41 Bocagrande
Cartagena
Colombia


Companybox, LLC
13347 S Point Blvd
Charlotte, NC 28273


Compass Christian Church
Great Lakes Fsc 272
35475 5 Mile Rd
Livonia, MI 48154


Compass Christian Church
Longhorn Council 662
2600 Hall Johnson Rd
Colleyville, TX 76034


Compass Group Usa Inc
dba Eurest Dining Services
2400 Yorkmont Rd
Charlotte, NC 28217


Compass Group Usa Inc
dba Eurest Dining Services
P.O. Box 417632
Boston, MA 02241‐7632


Compass Group Usa, Inc
2400 Yorkmont Rd
Charlotte, NC 28217


Compass Group Usa, Inc
Attention General Counsel and Secretary
Charlotte, NC 28217


Compass Group Usa, Inc
Attn General Counsel and Secretary
2400 Yorkmont Rd
Charlotte, NC 28217


Compass Group Usa, Inc
Attn Mark H Maloney, Div Pres‐Eurest
Eurest Dining Services Div
1 Gatehall Dr, Ste 203
Parsippany , NJ 07054


Compass Group Usa, Inc
Eurest Dining Services Division
Attn Mark H. Maloney ‐ Div President
1 Gatehall Dr ‐, Ste 203
Parsippany, NJ 07054
Compass Tools, Inc
6770 S Dawson Cir, Unit 100
Centennial, CO 80112


Compass Tools, Inc
7074 S Revere Pkwy
Centennial, CO 80112


Competitive Cameras Ltd
2025 Irving Blvd 107
Dallas, TX 75207


Competitive Ege Products
1915 N Beechwood Dr
Layton, UT 84040


Competitive Media Reporting LLC
P.O. Box 7247‐9301
Philadelphia, PA 19170‐9301


Comp‐E‐Ware Technology Assoc Inc
dba Comware
P.O. Box 612042
Dallas, TX 75261‐2042


Complete Care Consulting Service LLC
957 Capetown Ln
Clover, SC 29710


Complete Design   Packaging
P.O. Box 815
Concord, NC 28026


Complete Music
11224 Olive Blvd
St Louis, MO 63141


Complete Security Service
1314 N Industrial Blvd
P.O. Box 566076
Dallas, TX 75356‐6076


Complete Structural Consulting
Crossroads of America 160
9880 Wpoint Dr, Ste 100
Indianapolis, IN 46256


Completely Kids
Mid‐America Council 326
2566 Saint Marys Ave
Omaha, NE 68105


Completely Kids Norris Middle School
Mid‐America Council 326
2235 S 46th St
Omaha, NE 68106


Compliance Signs Inc
56 S Main St
Chadwick, IL 61014‐9425


Composite Containers, LLC
P.O. Box 936567
Atlanta, GA 31193‐6567


Composite F Am Masonic Lodge 499
Great Lakes Fsc 272
27151 Gratiot Ave
Roseville, MI 48066


Compton Fire Dept Station 1
Greater Los Angeles Area 033
201 S Acacia Ave
Compton, CA 90220


Compton Office Machine, LLC
267 Dawkins Dr, Ste B
Lewisburg, WV 24901


Comptroller Of Maryland
Compliance Div Unclaimed Property Unit
P.O. Box 17161
Baltimore, MD 21297‐1161


Comptroller Of Public Accounts
Holder Reporting Section
P.O. Box 12019
Austin, TX 78711‐2019


Compucom
P.O. Box 951654
Dallas, TX 75395‐1654


Compumaster
P.O. Box 804441
Kansas City, MO 64180‐4441


Compumeric Engineering, Inc
Dba Bearsaver
1390 S Milliken Ave
Ontario, CA 91761


Compusa
c/o Syx Services
P.O. Box 0309
Miami, FL 33144‐0309


Compusystems, Inc
P.O. Box 6271
Broadview, IL 60155


Computer Bits Inc
Pathway To Adventure 456
7805 Palm Dr
Orland Park, IL 60462


Computer Cable Connection
2810 Harlan Dr
Bellevue, NE 68005‐1269


Computer Data Source Inc
275 Industrial Way W
Eatontown, NJ 07724‐2205


Computer Digital Imaging Corp
3440 N Knox Ave
Chicago, IL 60641


Computer Marketing Corp
dba Macauthority
2018 Lindell Ave
Nashville, TN 37203


Comstock North
Southern Shores Fsc 783
3100 N 26th St
Kalamazoo, MI 49048


Comstock Park Comm Outreach Coalition
President Gerald R Ford 781
100 Betty St Ne
Comstock Park, MI 49321


Conant Elementary School PTO
Great Lakes Fsc 272
4100 Quarton Rd
Bloomfield Hills, MI 48302


Concentra Health Services Inc
Concentra Med Compliance Admin
P.O. Box 9008
Broomfield, CO 80021‐9008


Concepta Systems, Inc
3523 Mckinney Ave 459
Dallas, TX 75204


Concerned Adults For Troop 146
Great Lakes Fsc 272
21641 Yale St
Saint Clair Shores, MI 48081


Concerned Adults Of Juveniles
Calcasieu Area Council 209
P.O. Box 2073
Lake Charles, LA 70602


Concerned Adults Of Troop 248
Great Lakes Fsc 272
49658 Guy Dr
David Carbery
Macomb, MI 48044


Concerned Citizen Group
Blue Grass Council 204
2002 Memphis Ct
Lexington, KY 40505


Concerned Citizens
Westchester Putnam 388
625 Douglas Rd
Chappaqua, NY 10514


Concerned Citizens At Indian Lake Elem
Middle Tennessee Council 560
505 Indian Lake Rd
Hendersonville, Tn 37075


Concerned Citizens At Moore Elementary
Middle Tennessee Council 560
1061 Lewisburg Pike
Franklin, TN 37064


Concerned Citizens Benjamin Sch Distr 25
Three Fires Council 127
28W250 Saint Charles Rd
West Chicago, Il 60185


Concerned Citizens For Holy Cross
Heart of America Council 307
540 Holmes St
Kansas City, MO 64106


Concerned Citizens For Scouting
Pathway To Adventure 456
2211 N Burke Dr
Arlington Heights, IL 60004


Concerned Citizens For Young Adults
Cherokee Area Council 556
153 N Lake Ter
Rossville, GA 30741


Concerned Citizens For Youth Our Commty
Gulf Stream Council 085
3720 Sherwood Blvd
Delray Beach, Fl 33445


Concerned Citizens Group
Middle Tennessee Council 560
1135 Rucker Rd
Christiana, TN 37037


Concerned Citizens Kc
Neighborhood Academy
Heart Of America Council 307
1619 E 24Th Ter
Kansas City, Mo 64108


Concerned Citizens Meadowmere Elem
Heart Of America Council 307
7010 E 136Th St
Grandview, Mo 64030


Concerned Citizens Monte Sano Village
Istrouma Area Council 211
3002 E Mason Ave
Baton Rouge, LA 70805


Concerned Citizens Of Atoka
West Tennessee Area Council 559
2055 Rosemark Rd
Atoka, TN 38004


Concerned Citizens Of Bear River Valley
Trapper Trails 589
660 N 100 E
Tremonton, UT 84337


Concerned Citizens Of Beech Community
Middle Tennessee Council 560
3124 Long Hollow Pike
Hendersonville, TN 37075


Concerned Citizens Of Bradford
Five Rivers Council, Inc 375
9888 Old State Rd
Bradford, NY 14815


Concerned Citizens Of Camp Tuscarora
Baden‐Powell Council 368
209 Summitt Rd
Windsor, NY 13865


Concerned Citizens Of Cedar Hill
Middle Tennessee Council 560
7617 Hwy 41 N, Ste 101
Adams, TN 37010


Concerned Citizens Of Chesbrough
Istrouma Area Council 211
16219 Hwy 10
Roseland, LA 70456


Concerned Citizens Of Clarksdale
Istrouma Area Council 211
801 Swan Ave
Baton Rouge, LA 70807


Concerned Citizens Of Conn West
Heart of America Council 307
1100 High Grove Rd
Grandview, MO 64030


Concerned Citizens Of Crew 370
Istrouma Area Council 211
43285 Bayou Narcisse Rd
Gonzales, LA 70737
Concerned Citizens Of Danville
Prairielands 117
9994 Camp Drake Rd
Fairmount, IL 61841


Concerned Citizens Of Dearing Elementary
Las Vegas Area Council 328
3046 Ferndale St
Las Vegas, NV 89121


Concerned Citizens Of Dinuba
Sequoia Council 027
850 N Eaton Ave
Dinuba, CA 93618


Concerned Citizens Of Ector
Circle Ten Council 571
P.O. Box 392
Ector, TX 75439


Concerned Citizens Of Hampton Hall
Atlanta Area Council 092
10545 Centennial Dr
Alpharetta, GA 30022


Concerned Citizens Of Hawthorne
Sioux Council 733
422 N Duluth Ave
Sioux Falls, SD 57104


Concerned Citizens Of Henderson County
West Tennessee Area Council 559
317 W Church St
Lexington, TN 38351


Concerned Citizens Of Ingels School
Heart of America Council 307
11600 Food Ln
Kansas City, MO 64134


Concerned Citizens Of Leadore
Grand Teton Council 107
P.O. Box 70
Leadore, ID 83464


Concerned Citizens Of Lemoore
Sequoia Council 027
1248 W Oak Dr Cir
Reedley, CA 93654


Concerned Citizens Of Norwood Park
Pathway To Adventure 456
6113 N Ncott Ave
Chicago, IL 60631


Concerned Citizens Of Pack 228
Las Vegas Area Council 328
4668 Petaluma Cir
Las Vegas, NV 89120


Concerned Citizens Of Pack 29
Sequoia Council 027
6263 E Homan Ave
Fresno, CA 93727


Concerned Citizens Of Pack 378
Middle Tennessee Council 560
6300 Lascassas Pike
Lascassas, TN 37085


Concerned Citizens Of Pack 603
Las Vegas Area Council 328
3143 Blossom Glen Dr
Henderson, NV 89014


Concerned Citizens Of Pierce County
Coastal Georgia Council 099
3116 Rhett Cir
Patterson, GA 31557


Concerned Citizens Of Pollock
Louisiana Purchase Council 213
17411 Hwy 167
Dry Prong, LA 71423


Concerned Citizens Of Prairie School
Prairielands 117
2102 E Washington St
Urbana, IL 61802


Concerned Citizens Of Prince George
Heart of Virginia Council 602
559 Trenton Dr
Fort Lee, VA 23801


Concerned Citizens Of Redfield
Sioux Council 733
17649 392nd Ave
Redfield, SD 57469


Concerned Citizens Of Riverwoods School
Three Fires Council 127
2225 Keim Rd
Naperville, IL 60565


Concerned Citizens Of Salina
Utah National Parks 591
90 W Main St
Salina, UT 84654


Concerned Citizens Of Selma
Sequoia Council 027
132 W Burlwood Ln
Lemoore, CA 93245


Concerned Citizens Of Shayne Elementary
Middle Tennessee Council 560
6217 Nolensville Pike
Nashville, TN 37211


Concerned Citizens Of Sioux Falls
Sioux Council 733
800 N W Ave
Sioux Falls, SD 57104
Concerned Citizens Of St. Pauls
Cape Fear Council 425
253 Gentle Winds Dr
Saint Pauls, NC 28384


Concerned Citizens Of Sumner County
Middle Tennessee Council 560
555 Hickory Hills Blvd
Whites Creek, TN 37189


Concerned Citizens Of Thomas Paine
Prairielands 117
1801 James Cherry Dr
Urbana, IL 61802


Concerned Citizens Of Tracy
Sioux Council 733
162 Morgan St
Tracy, MN 56175


Concerned Citizens Of Troop 29
Sequoia Council 027
6263 E Homan Ave
Fresno, CA 93727


Concerned Citizens Of Venturing
Prairielands 117
802 W Main St
Urbana, IL 61801


Concerned Citizens Of Westdale Heights
Istrouma Area Council 211
849 S 17th St
Baton Rouge, LA 70802


Concerned Citizens Of Yankee Ridge
Prairielands 117
2102 S Anderson St
Urbana, IL 61801


Concerned Citizens Parents Of Albany
Istrouma Area Council 211
P.O. Box 965
Albany, LA 70711


Concerned Citizens Robert Frost Elem
Sioux Council 733
4708 S Arthur Cir
Sioux Falls, Sd 57105


Concerned Citizens Symington Elem Sch
Heart Of America Council 307
8650 Ruskin Way
Kansas City, Mo 64134


Concerned Faculty Of Dupont Elementary
Denver Area Council 061
7970 Kimberly St
Commerce City, CO 80022


Concerned Families Of The Hmong Commty
Sequoia Council 027
530 W Sierra Ave
Clovis, Ca 93612


Concerned Group Of Parents
c/o John Riekena
Chief Seattle Council 609
16541 Redmond Way, Apt 309C
Redmond, WA 98052


Concerned Group Of Parents
Chief Seattle Council 609
6830 NE Bothell Way PMB 352, Ste C
Kenmore, WA 98028


Concerned Nshore Parents For Scouting
Chief Seattle Council 609
6830 Ne Bothell Way Pmb 352, Ste C
Kenmore, Wa 98028


Concerned Parent Of Capitol Square
Istrouma Area Council 211
700 N 17th St
Baton Rouge, LA 70802


Concerned Parents
Ore‐Ida Council 106 ‐ Bsa 106
343 W Crestwood Dr
Nampa, ID 83686


Concerned Parents Brookside Charter Sch
Heart Of America Council 307
1815 E 63Rd St
Kansas City, Mo 64130


Concerned Parents Century Villages
At Cabrillo
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, Ca 90806


Concerned Parents For Scouting
Pathway To Adventure 456
2359 N Windoor Dr
Arlington Heights, IL 60004


Concerned Parents Glen Oaks Park Elem
Istrouma Area Council 211
5656 Lanier Dr
Baton Rouge, La 70812


Concerned Parents Hughes Mid Sch
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, Ca 90806


Concerned Parents James Garfield Elem
Long Beach Area Council 032
1625 Junipero Ave
Long Beach, Ca 90804


Concerned Parents Melbourne Elem
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, Ca 90806


Concerned Parents Mondovi Elemt Sch
Gateway Area 624
S1101 Rockwell Rd
Alma, Wi 54610


Concerned Parents Nativity Catholic Ch
Crossroads Of America 160
7725 Seastern Ave
Indianapolis, In 46239


Concerned Parents Of
Duane St Apartments Complex
Istrouma Area Council 211
1701 Duane St
Baton Rouge, La 70802


Concerned Parents Of Addams Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Afia
Heart of America Council 307
7910 Troost Ave
Kansas City, MO 64131


Concerned Parents Of Almond School
Pacific Skyline Council 031
160 Formway Ct
Los Altos, CA 94022


Concerned Parents Of Ardenwood Village
Istrouma Area Council 211
1957 N Ardenwood Dr
Baton Rouge, LA 70806


Concerned Parents Of Audubon
Chief Seattle Council 609
3014 W Lake Sammamish Pkwy Ne
Redmond, WA 98052
Concerned Parents Of Barkstall School
Prairielands 117
2201 Hallbeck Dr
Champaign, IL 61822


Concerned Parents Of Chavez Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Coronado Middle
Heart of America Council 307
1735 N 64th Ter
Kansas City, KS 66102


Concerned Parents Of Cotaylor/Kirklane
Gulf Stream Council 085
4200 Purdy Ln
Palm Springs, FL 33461


Concerned Parents Of Cub Pack 429
Chief Seattle Council 609
12107 NE 168th Pl
Bothell, WA 98011


Concerned Parents Of Dingeman Elem
San Diego Imperial Council 049
11102 Tampere Ct
San Diego, CA 92131


Concerned Parents Of Dooley Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Edison Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804
Concerned Parents Of Ervin Elc
Heart of America Council 307
10530 Greenwood Rd
Kansas City, KS 66134


Concerned Parents Of Garden Hills
Prairielands 117
2001 Garden Hills Dr
Champaign, IL 61821


Concerned Parents Of Gilman
Prairielands 117
312 E Lincoln Ave
Onarga, IL 60955


Concerned Parents Of Girls Troop 422
Rainbow Council 702
4730 W Iris Ln
Monee, IL 60449


Concerned Parents Of Gompers School
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, CA 90806


Concerned Parents Of Great Kills
Greater New York Councils, Bsa 640
434 Leverett Ave
Staten Island, NY 10308


Concerned Parents Of Hal Smith
Las Vegas Area Council 328
5150 E Desert Inn Rd
Las Vegas, NV 89122


Concerned Parents Of Harte Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Herrera Elementary
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, CA 90806


Concerned Parents Of Hudson School
Long Beach Area Council 032
1625 Junipero Ave
Long Beach, CA 90804


Concerned Parents Of Ilalko Elementary
Chief Seattle Council 609
5204 Quincy Ave Se
Auburn, WA 98092


Concerned Parents Of Jackson Woods
South Texas Council 577
10817 Stonewall Blvd
Corpus Christi, TX 78410


Concerned Parents Of Kelly Terrace
Istrouma Area Council 211
999 Rosenwald Rd
Baton Rouge, LA 70807


Concerned Parents Of Lamping Elem School
Las Vegas Area Council 328
2259 Lyrical Rd
Henderson, NV 89052


Concerned Parents Of Lincoln Elementary
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, CA 90806


Concerned Parents Of Lindsey Academy
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Lol / Wc
Greater Tampa Bay Area 089
2209 Collier Pkwy, Ste 118
Land O Lakes, FL 34639
Concerned Parents Of Mann Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Margaret Mead
Chief Seattle Council 609
1826 211th Way Ne
Sammamish, WA 98074


Concerned Parents Of Marion
Circle Ten Council 571
1535 Cliff Creek Dr
Allen, TX 75002


Concerned Parents Of Mcmillin Elementary
San Diego Imperial Council 049
1418 Plumas Pines Pl
Chula Vista, CA 91915


Concerned Parents Of Muir Academy
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Nelson Academy
Long Beach Area Council 032
1625 Junipero Ave
Long Beach, CA 90804


Concerned Parents Of Orland Hills
Pathway To Adventure 456
8924 Dwight Ct
Orland Hills, IL 60487


Concerned Parents Of Pack 1225
Middle Tennessee Council 560
3414 Hillsboro Pike
Nashville, TN 37215
Concerned Parents Of Pack 140
Las Vegas Area Council 328
231 Bailey Island Dr
Henderson, NV 89074


Concerned Parents Of Pack 20
Las Vegas Area Council 328
3650 Cambridge St
Las Vegas, NV 89169


Concerned Parents Of Pack 208
Long Beach Area Council 032
2801 Bomberry St
Lakewood, CA 90712


Concerned Parents Of Pack 24
Pacific Harbors Council, Bsa 612
9010 Mckinley Ave
Tacoma, WA 98445


Concerned Parents Of Pack 267
Long Beach Area Council 032
2277 Granada Ave
Long Beach, CA 90815


Concerned Parents Of Pack 350
Pathway To Adventure 456
2060 Excalibur Ct
Lynwood, IL 60411


Concerned Parents Of Pack 351
Middle Tennessee Council 560
P.O. Box 666
Spring Hill, TN 37174


Concerned Parents Of Pack 371
Great Lakes Fsc 272
39618 Cobridge Dr
Clinton Township, MI 48038


Concerned Parents Of Pack 4025
San Diego Imperial Council 049
976 Tapia Ct
Calexico, CA 92231


Concerned Parents Of Pack 42
Pacific Harbors Council, Bsa 612
8442 S Park Ave
Tacoma, WA 98444


Concerned Parents Of Pack 509
Las Vegas Area Council 328
71 Belle Maison Ave
Las Vegas, NV 89123


Concerned Parents Of Pack 521
Las Vegas Area Council 328
2815 W Ford Ave, Apt 1030
Las Vegas, NV 89123


Concerned Parents Of Pack 586
Chief Seattle Council 609
3050 206th Way Ne
Sammamish, WA 98074


Concerned Parents Of Pack 718
c/o Ben Newman
Circle Ten Council 571
7009 Dartbrook Dr
Dallas, TX 75254


Concerned Parents Of Pack 825
San Diego Imperial Council 049
1577 Copper Penny Dr
Chula Vista, CA 91915


Concerned Parents Of Patton Elementary
Middle Tennessee Council 560
1003 Woodridge Pl
Mount Juliet, TN 37122


Concerned Parents Of Ps 188X
Greater New York Councils, Bsa 640
770 Grote St
Bronx, NY 10460


Concerned Parents Of Ramona Elementary
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, CA 90806


Concerned Parents Of Robert
Istrouma Area Council 211
21385 E Prevost Ln
Loranger, LA 70446


Concerned Parents Of Roosevelt Terrace
Istrouma Area Council 211
1255 W Roosevelt St
Baton Rouge, LA 70802


Concerned Parents Of Roseland Montessori
Istrouma Area Council 211
12516 Time Ave
Roseland, LA 70456


Concerned Parents Of Roundy Elementary
Las Vegas Area Council 328
2755 Mohave
Las Vegas, NV 89146


Concerned Parents Of Santa Fe
Heart of America Council 307
8908 Old Santa Fe Rd
Kansas City, MO 64138


Concerned Parents Of Scotlandvilla
Istrouma Area Council 211
10666 Scotland Ave
Baton Rouge, LA 70807


Concerned Parents Of Smith Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804
Concerned Parents Of Syracuse
Trapper Trails 589
2371 W 1125 S
Syracuse, UT 84075


Concerned Parents Of Troop 2010
San Diego Imperial Council 049
1790 Sunny Crest Ln
Bonita, CA 91902


Concerned Parents Of Troop 25
Suffolk County Council Inc 404
43 Nimitz Ave
Brentwood, NY 11717


Concerned Parents Of Troop 578
Las Vegas Area Council 328
2505 Anthem Village Dr E209
Henderson, NV 89052


Concerned Parents Of Troop 593
South Plains Council 694
17601 County Rd 3100
Slaton, TX 79364


Concerned Parents Of Troop 678
Las Vegas Area Council 328
9029 Iron Hitch Ave
Las Vegas, NV 89143


Concerned Parents Of Truman Ele Linc
Heart of America Council 307
9601 James A Reed Rd
Kansas City, MO 64134


Concerned Parents Of Utah County
Utah National Parks 591
860 N 900 W
Provo, UT 84604


Concerned Parents Of Venture Crew 1403
Long Beach Area Council 032
19514 Alida Ave
Cerritos, CA 90703


Concerned Parents Of Venturing Crew 422
Rainbow Council 702
4730 W Iris Ln
Monee, IL 60449


Concerned Parents Of Webster Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Wesley Chapel
Greater Tampa Bay Area 089
5450 Bruce B Downs Blvd
Wesley Chapel, FL 33544


Concerned Parents Of Whitney
Las Vegas Area Council 328
117 S Cimarron Rd
Las Vegas, NV 89145


Concerned Parents Of Whittier Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Willard Elementary
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, CA 90804


Concerned Parents Of Wood Plaza
Istrouma Area Council 211
9990 Ave J
Baton Rouge, LA 70807


Concerned Parents Of Wynn Elementary
Las Vegas Area Council 328
5655 Edna Ave
Las Vegas, NV 89146


Concerned Parents Of Zion Terrace
Istrouma Area Council 211
5958 Cadillac St
Baton Rouge, LA 70811


Concerned Parents Pack 0479   Troop 0479
Istrouma Area Council 211
29910 S Pine St
Livingston, La 70754


Concerned Parents Roosevelt Elem
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, Ca 90804


Concerned Parents Sherkenbach / Bilbray
Las Vegas Area Council 328
8901 Wind Warrior Ave
Las Vegas, NV 89143


Concerned Parents Utd Cambodian Commty
Long Beach Area Council 032
1625 Junipero Ave, Apt B
Long Beach, Ca 90804


Concerned Parents Vegas Verdes Elem
Las Vegas Area Council 328
4000 El Parque Ave
Las Vegas, Nv 89102


Concerned Parents Washington Mid Sch
Long Beach Area Council 032
2176 Atlantic Ave
Long Beach, Ca 90806


Concerned Scouter Of Cbh
Central Georgia Council 096
2251 Boy Scout Rd
Byron, GA 31008
Concetta Haverstick
Address Redacted


Conch Contracting Inc
P.O. Box 1138
Islamorada, FL 33036


Conch Harbor Marina
951 Caroline St
Key W, Fl 33040


Conch West Inc
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Conch West Inc
P.O. Box 775
Key W, Fl 33041


Conchita Ballard
Address Redacted


Conco Management Inc
Great Salt Lake Council 590
9891 S Countrywood Dr
Sandy, UT 84092


Concord Baptist Church
Circle Ten Council 571
6808 Pastor Bailey Dr Dallas Tx75237
1627 Acapulco Dr
Dallas, TX 75237


Concord East Side PTO
Lasalle Council 165
57156 County Rd 13
Elkhart, IN 46516


Concord Elks Lodge 1994
Mt Diablo‐Silverado Council 023
P.O. Box 935
Concord, CA 94522


Concord Methodist Church
Miami Valley Council, Bsa 444
1123 S Main St
Englewood, OH 45322


Concord Neighborhood Center
Crossroads of America 160
1310 S Meridian St
Indianapolis, IN 46225


Concord Nevitt Forest
Blue Ridge Council 551
201 E Reed Rd
Anderson, SC 29621


Concord Presbyterian Church
Moraine Trails Council 500
625 Hooker Rd
West Sunbury, PA 16061


Concord Presbyterian Church
Piedmont Council 420
3867 Taylorsville Hwy
Statesville, NC 28625


Concord School Ptg
Greater St Louis Area Council 312
10305 Concord School Rd
Saint Louis, MO 63128


Concord Scout House, Inc
The Spirit of Adventure 227
74 Walden St
Concord, MA 01742


Concord St Andrews Utd Methodist Ch
National Capital Area Council 082
5910 Goldsboro Rd
Bethesda, Md 20817


Concord Trinity Utd Methodist Church
Greater St Louis Area Council 312
5275 S Lindbergh Blvd
Saint Louis, MO 63126


Concord Utd Methodist Church
Buckskin 617
P.O. Box 746
Athens, WV 24712


Concord Utd Methodist Church
Lincoln Heritage Council 205
5178 Hinkleville Rd
Paducah, KY 42001


Concord Utd Methodist Church
Miami Valley Council, Bsa 444
1123 S Main St
Englewood, OH 45322


Concord Utd Methodist Church
Old N State Council 070
163 Cherry Hill Rd
Mocksville, NC 27028


Concord Utd Methodist Church
Old N State Council 070
70 Concord Church Rd
Roxboro, NC 27574


Concord Utd Methodist Church
Simon Kenton Council 441
30769 Route 50 Chillicothe
Chilliocothe, OH 45601


Concord Utd Methodist Church
Southern Shores Fsc 783
119 S Main St
P.O. Box 366
Concord, MI 49237
Concord Utd Methodist Church
Tecumseh 439
2963 N State Route 560
Urbana, OH 43078


Concord Utd Methodist Men
Colonial Virginia Council 595
19039 Walkers Mill Rd
Jarratt, VA 23867


Concord Utd Methodist Mens Club
Great Smoky Mountain Council 557
11020 Roane Dr
Knoxville, TN 37934


Concord Yacht Club
Great Smoky Mountain Council 557
11600 S Nshore Dr
Knoxville, TN 37922


Concordia College
Attn Business Office
901 8th St S
Moorhead, MN 56562


Concordia Evangelical Lutheran Church
Pennsylvania Dutch Council 524
3825 Concordia Rd
Columbia, PA 17512


Concordia International School
Shanghai
Far E Council 803
999 Mingyue Rd
Pudong,
China


Concordia International School Hanoi
Far E Council 803
Van Tri Golf Compound, Kim No
Dong Anh District,
Vietnam


Concordia Lutheran Church
Alamo Area Council 583
16801 Huebner Rd
San Antonio, TX 78258


Concordia Lutheran Church
Connecticut Rivers Council, Bsa 066
40 Pitkin St
Manchester, CT 06040


Concordia Lutheran Church
Minsi Trails Council 502
2623 Brookside Rd
Macungie, PA 18062


Concordia Lutheran Church
Pathway To Adventure 456
3144 Home Ave
Berwyn, IL 60402


Concordia Lutheran Church
Voyageurs Area 286
1708 John Ave
Superior, WI 54880


Concordia Lutheran Church   School
Blackhawk Area 660
7424 N 2nd St
Machesney Park, IL 61115


Concordia Lutheran Church   School
Piedmont Council 420
215 5th Ave Se
Conover, NC 28613


Concordia Lutheran School
Southeast Louisiana Council 214
1001 Rupp St
Gretna, LA 70053
Concordia Parish School Board
Attn Sales Tax Dept
P.O. Box 160
Vidalia, LA 71373‐0160


Concordia University
c/o Office of Financial Aid
2811 NW Holman St
Portland, OR 97211


Concordia University Irvine
Attn Financial Aid
1530 Concordia W
Irvine, CA 92612


Concord‐St Andrews Umc
National Capital Area Council 082
5910 Goldsboro Rd
Bethesda, MD 20817


Concrete Cutting By Bond
P.O. Box 154017
Irving, TX 75015


Conde Nast Portfolio
P.O. Box 37677
Boone, IA 50037‐0626


Conde Nast Traveler
P.O. Box 37626
Boone, IA 50037‐0626


Condon Ray Mcfall
Address Redacted


Condon Sign Shop Inc
P.O. Box 1153
Condon, MT 59826‐1153


Conduit Corp
Attn Jeanette Lord
3212 W End Dr
Nashville, TN 37203


Conduit Ministries Inc
Allegheny Highlands Council 382
120 Delaware Ave
Jamestown, NY 14701


Conemaugh Twp Lions Club
Laurel Highlands Council 527
201 Hickory St
P.O. Box
Davidsville, PA 15928


Conestoga Community Organization
Cascade Pacific Council 492
12250 SW Conestoga Dr
Beaverton, OR 97008


Conestoga/Collective For Youth
Mid‐America Council 326
2115 Burdette St
Omaha, NE 68110


Conesus Lake Sportsman Club Inc
Iroquois Trail Council 376
P.O. Box 220B
Lakeville, NY 14480


Conesville Fire Dept
Leatherstocking 400
1292 State Route 990V
Gilboa, NY 12076


Conexis Benefits Administrators, LP
6191 N State Hwy 161, Ste 400
Irving, TX 75038


Conference America, Inc
P.O. Box 241188
Montgomery, AL 36124‐1188
Conference Center Maritime Institute
692 Maritime Blvd
Linthicum Heights, MD 21090


Conference Direct LLC
P.O. Box 69777
Los Angeles, CA 90069


Conferences   Seminars
P.O. Box 805
Framingham, MA 01701‐0805


Confluence Academy
Greater St Louis Area Council 312
3017 N 13th St
Saint Louis, MO 63107


Confluence Lions Club
Laurel Highlands Council 527
1643 Listonburg Rd
Confluence, PA 15424


Confluence Preparatory Academy‐Elite
Greater St Louis Area Council 312
310 N 15th St
Saint Louis, MO 63103


Confreg/Adobe Max 2009
Attn Kim Pasket‐Registrar
5205 Prospect Rd 135 PMB 119
San Jose, CA 95129


Congdon ‐ Overlook Lodge 163 F Am
Patriots Path Council 358
P.O. Box 621
Bernardsville, NJ 07924


Congregal Ch In S Glastonbury
Connecticut Rivers Council, Bsa 066
P.O. Box 187
949 Main St
South Glastonbury, Ct 06073


Congregation Ahavath Chesed
North Florida Council 087
8727 San Jose Blvd
Jacksonville, FL 32217


Congregation Anshei Shalom
Theodore Roosevelt Council 386
472 Hempstead Ave
West Hempstead, NY 11552


Congregation B Nai Jacob
Connecticut Yankee Council Bsa 072
75 Rimmon Rd
Woodbridge, CT 06525


Congregation Beth Abraham
Baltimore Area Council 220
6208 Wallis Ave
Baltimore, MD 21215


Congregation Beth El
Mayflower Council 251
105 Hudson Rd
Sudbury, MA 01776


Congregation Beth El
Sam Houston Area Council 576
3900 Raoul Wallenberg Ln
Missouri City, TX 77459


Congregation Beth Shalom
Northeast Illinois 129
3433 Walters Ave
Northbrook, IL 60062


Congregation Beth Sholom
Mt Diablo‐Silverado Council 023
1455 Elm St
Napa, CA 94559
Congregation Of Veshalom
Atlanta Area Council 092
1681 N Druid Hills Rd Ne
Brookhaven, GA 30319


Congregation Oher Shalom
Circle Ten Council 571
7103 Mumford Ct
Dallas, TX 75252


Congregation Olam Tikvah Men S Club
National Capital Area Council 082
3800 Glenbrook Rd
Fairfax, VA 22031


Congregational Church Of Algonquin
Blackhawk Area 660
109 Washington St
Algonquin, IL 60102


Congregational Church Of Burlington
Connecticut Rivers Council, Bsa 066
P.O. Box 1291
Burlington, CT 06013


Congregational Church Of East Canaan
Connecticut Rivers Council, Bsa 066
6 Granite Ave
Canaan, CT 06018


Congregational Church Of East Hampton
Connecticut Rivers Council, Bsa 066
59 Main St
P.O. Box 237
East Hampton, CT 06424


Congregational Church Of Ellington
Connecticut Rivers Council, Bsa 066
72 Main St
Ellington, CT 06029
Congregational Church Of Ellsworth
Katahdin Area Council 216
Church St
Ellsworth, ME 04605


Congregational Church Of Greens Farms
Connecticut Yankee Council Bsa 072
71 Hillandale Rd
Westport, CT 06880


Congregational Church Of Harwinton
Connecticut Rivers Council, Bsa 066
1 Litchfield Rd
Harwinton, CT 06791


Congregational Church Of Hollis
Daniel Webster Council, Bsa 330
Monument Square
23 Main St
Hollis, NH 03049


Congregational Church Of Jefferson Park
Pathway To Adventure 456
5320 W Giddings St
Chicago, IL 60630


Congregational Church Of Killingworth
Connecticut Rivers Council, Bsa 066
273 Route 81
Killingworth, CT 06419


Congregational Church Of Manhasset
Theodore Roosevelt Council 386
1845 Nern Blvd
Manhasset, NY 11030


Congregational Church Of Marlborough
Connecticut Rivers Council, Bsa 066
35 S Main St
Marlborough, CT 06447
Congregational Church Of Middlebury
Connecticut Rivers Council, Bsa 066
1242 Whittemore Rd
Middlebury, CT 06762


Congregational Church Of Naugatuck
Connecticut Rivers Council, Bsa 066
9 Div St
Naugatuck, CT 06770


Congregational Church Of Raymond
Daniel Webster Council, Bsa 330
1 Church St
Raymond, NH 03077


Congregational Church Of Roxbury
Connecticut Rivers Council, Bsa 066
24 Church St
Roxbury, CT 06783


Congregational Church Of South Dartmouth
Narragansett 546
17 Middle St
South Dartmouth, MA 02748


Congregational Church Of South Hero
Green Mountain 592
P.O. Box 99
South Hero, VT 05486


Congregational Church Of Sunnyvale
Silicon Valley Monterey Bay 055
1112 S Bernardo Ave
Sunnyvale, CA 94087


Congregational Church Of Taftville
Connecticut Rivers Council, Bsa 066
16 N B St
Taftville, CT 06380


Congregational Church Of The Valley
Grand Canyon Council 010
12001 E Shea Blvd
Scottsdale, AZ 85259


Congregational Church Of Topsfield
The Spirit of Adventure 227
9 E Common St
Topsfield, MA 01983


Congregational Church Of West Suffield
Connecticut Rivers Council, Bsa 066
P.O. Box 26
1408 Mountain Rd
West Suffield, CT 06093


Congregational Church Of Westbrook
Connecticut Rivers Council, Bsa 066
Norris Ave
Westbrook, CT 06498


Congregational Utd Church Of Christ
Bay‐Lakes Council 635
1511 Nicolet Blvd
Neenah, WI 54956


Congregational Utd Church Of Christ
Mid Iowa Council 177
P.O. Box 38
Baxter, IA 50028


Congregational Utd Church Of Christ
Mississippi Valley Council 141 141
P.O. Box 230
Denmark, IA 52624


Congregational Utd Church Of Christ
Northern Lights Council 429
430 N Broadway
Minot, ND 58703


Congregational Utd Church Of Christ
Overland Trails 322
310 N Woodward
Ainsworth, NE 69210


Congregational Utd Church Of Christ
Suffolk County Council Inc 404
335 Horseblock Rd
Farmingville, NY 11738


Congregational Utd Church Of Christ
Three Fires Council 127
40W451 Fox Mill Blvd
St Charles, IL 60175


Congress At Your Fingertips
P.O. Box 309
Newington, VA 22122


Congress Community Church
Great Trail 433
10691 Franchester Rd
West Salem, OH 44287


Congress St Utd Methodist Church
Sagamore Council 162
2010 Congress St
Lafayette, IN 47905


Congressional Black Caucus Foundation
11208 Waples Mill Rd, Ste 112
Fairfax, VA 22030


Congressional Black Caucus Foundation
Cbcf Registration Center
11208 Waples Mills Rd, Ste 112
Fairfax, VA 22030


Congressional Blackcaucus Foundation Inc
1720 Massachusetts Ave Nw
Washington, DC 20036


Congressional Management Foundation
Dept of Publications
513 Capitol Ct NE, Ste 300
Washington, DC 20002


Congressional Schools Of Virginia
National Capital Area Council 082
3229 Sleepy Hollow Rd
Falls Church, VA 22042


Conifer Community Church
Denver Area Council 061
9998 Havekost Rd
Conifer, CO 80433


Conklin Kiwanis
Baden‐Powell Council 368
P.O. Box 84
Conklin, NY 13748


Conklin Methodist Church
Monmouth Council, Bsa 347
82 Main St
South River, NJ 08882


Conklin Presbyterian Church
Baden‐Powell Council 368
1175 Conklin Rd
Conklin, NY 13748


Conklin School PTO
Blackhawk Area 660
3003 Halsted Rd
Rockford, IL 61101


Conklyn S Inc
Conklyns Florist
4406 Wheeler
Alexandria, VA 22304


Conn S Store 104
2800 Ranch Trail
Irving, TX 75063
Conneaut Elem School PTO
c/o Conneaut Elementary School
Erie Shores Council 460
542 Conneaut Ave
Bowling Green, OH 43402


Connected Technologies Inc
218 Fort Fisher Blvd S
Kure Beach, NC 28449


Connectedsign LLC
480 New Holland Ave, Ste 6202
Lancaster, PA 17602


Connectedsign, Inc
480 New Holland Ave, Ste 8204
Lancaster, PA 17602


Connectedsign, LLC
480 New Holland Ave, Ste 8204
Lancaster, PA 17607


Connecticut Dept Of Consumer Protection
2 Martin Luther King, Jr Dr Se, Ste 356
Atlanta, GA 30334‐4600


Connecticut Estonian Society Inc
Connecticut Rivers Council, Bsa 066
5 Old Post Rd
Tolland, CT 06084


Connecticut Farms Presbyterian Church‐
Patriots Path Council 358
888 Stuyvesant Ave
Union, NJ 07083


Connecticut Public Charity Unit
450 Columbus Blvd, Ste 801
Hartford, CT 06103
Connecticut River Sportsmens Club
Daniel Webster Council, Bsa 330
125 Whitcomb Rd
Swanzey, NH 03446


Connecticut Rivers
60 Darlin St
East Hartford, CT 06108‐3256


Connecticut Rivers Cncl 66
60 Darlin St
East Hartford, CT 06108‐3256


Connecticut Rivers Council Stem
Connecticut Rivers Council, Bsa 066
60 Darlin St
East Hartford, CT 06108


Connecticut Secretary Of State
30 Trinity St
Hartford, CT 06106


Connecticut Secretary Of State
30 Trinity St
P.O. Box 150470
Hartford, CT 06115‐0470


Connecticut State Attorneys General
55 Elm St
Hartford, CT 06141‐0120


Connecticut Yankee
60 Wellington Rd
P.O. Box 32
Milford, CT 06460‐0032


Connecticut Yankee Cncl 72
60 Wellington Rd
P.O. Box 32
Milford, CT 06460‐0032
Connecticut Yankee Council
60 Wellington Rd
Milford, CT 06460‐0032


Connecting For Children And Families
Narragansett 546
46 Hope St
Woonsocket, RI 02895


Connecting Point
2401 17th St
Greeley, CO 80634


Connection Chrisitan Church
Buffalo Trail Council 567
4241 Tanglewood Ln
Odessa, TX 79762


Connection Church
Quapaw Area Council 018
4110 Memorial Dr
Gosnell, AR 72315


Connectivity LLC
45 Odell School Rd, Ste H
Concord, NC 28027


Connell Foley LLP
56 Livingston Ave
Roseland, NJ 07068‐1765


Connell Memorial Umc
Middle Tennessee Council 560
113 Church St
Goodlettsville, TN 37072


Connell T Morantte
Address Redacted


Connell Utd Methodist
Middle Tennessee Council 560
113 Church St
Goodlettsville, TN 37072


Conner Butler
Address Redacted


Conner L Orr
Address Redacted


Conner Vagle
Address Redacted


Connersville Baptist Temple
Crossroads of America 160
1380 E State Rd 44
Connersville, IN 47331


Connetquot High School
Suffolk County Council Inc 404
190 7th St
Bohemia, NY 11716


Connie Adams
Address Redacted


Connie Allison
Address Redacted


Connie Aquino
Address Redacted


Connie Bielinski
Address Redacted


Connie D Prescott
Address Redacted


Connie Davis
Address Redacted
Connie Estep
Address Redacted


Connie Fugitt
Address Redacted


Connie Jensen
Address Redacted


Connie Koehmstedt
Address Redacted


Connie Lore
Address Redacted


Connie Lucas
Address Redacted


Connie Perry
Address Redacted


Connie Saalwaechter
Address Redacted


Connie Seebaugh
Address Redacted


Connie Stephens
Address Redacted


Connie Welker
Address Redacted


Connie Woods
Address Redacted
Connoquenessing Vfd
Moraine Trails Council 500
Main St
Connoquenessing, PA 16027


Connor Academy Public Charter School
Grand Teton Council 107
1295 Alpine Ave
Chubbuck, ID 83202


Connor Austen Harling
Address Redacted


Connor C Augspurger
Address Redacted


Connor C Mcneil
Address Redacted


Connor Douglas Coupanger
Address Redacted


Connor E Hooley
Address Redacted


Connor G Gray
Address Redacted


Connor J Donald
Address Redacted


Connor J Duncklee
Address Redacted


Connor J Kooistra
Address Redacted


Connor Kontz
Address Redacted
Connor L Clary
Address Redacted


Connor Larsen
Address Redacted


Connor M Karns
Address Redacted


Connor M Smith
Address Redacted


Connor Nelson
Address Redacted


Connor R Rederick
Address Redacted


Connor R Stewart
Address Redacted


Connor R Thomas
Address Redacted


Connor Thompson
Address Redacted


Connor W Harte
Address Redacted


Conn‐Weissenberger AL Post 587
Erie Shores Council 460
2020 W Alexis Rd
Toledo, Oh 43613


Conoa Inc
42 Standish Rd
Arlington, MD 02476


Conor B Timoney
Address Redacted


Conor Bickham
Address Redacted


Conover Police Dept
Piedmont Council 420
115 2nd Ave Nw
Conover, NC 28613


Conquistador
2603 N Aspen Ave
Roswell, NM 88201‐9785


Conquistador Cncl No 413
2603 N Aspen Ave
Roswell, NM 88201‐9785


Conrad American Legion Post 681
Winnebago Council, Bsa 173
P.O. Box 681
Conrad, IA 50621


Conrad Fleming
Address Redacted


Conrad Industries
P.O. Box 695
Weaverville, NC 28787


Conrad Industries Inc
dba A‐B Emblem
P.O. Box 695, 22 A‐B Emblem Dr
Weaverville, NC 28787


Conrad Spiczka
Address Redacted
Conron Camp Foundation Inc
Greater New York Councils, Bsa 640
17129 46th Ave
Flushing, NY 11358


Conron Camp Foundation Inc
Greater New York Councils, Bsa 640
9409 Vanderveer St
Queens Village, NY 11428


Conroy School
Laurel Highlands Council 527
1398 Page St
Pittsburgh, PA 15233


Consejo Escolar Escuela San Agustin
Puerto Rico Council 661
Ext San Agustin Calle 6
San Juan, PR 00926


Consejo Monsenor Jose Torres Diaz 3836
Puerto Rico Council 661
21 Camino Tomas Morales
San Juan, PR 00926


Conservation Action Network
2027 Deertree Ln
Rockville, MD 20851


Conservation Action Network
dba Dolphinfish Research Prog
P.O. Box 3506
Newport, RI 02840


Consolidated Communications
121 S 17th St
Mattoon, IL 61938


Consolidated Communications
P.O. Box 66523
St Louis, MO 63166‐6523


Consolidated Edison
Greater New York Councils, Bsa 640
4 Irving Pl, Rm 1650‐S
New York, NY 10003


Consolidated Electrical Distrib
dba Raybro Electric
P.O. Box 936240
Atlanta, GA 31193‐6240


Consolidated Electrical Distrib Inc
1920 Wridge Dr
Irving, TX 75038


Consolidated Electrical Distrib Inc
c/o Ced Albuquerque 0146
701A Comanche Rd Ne
Albuquerque, NM 87107


Consolidated Electrical Distributers
Corporate Hq
1920 Wridge Dr
Irving, TX 75038


Consolidated Electrical Distributers
dba American Electric Co
P.O. Box 913120
Denver, CO 80291‐3120


Consolidated Graphics Inc
dba the Graphics Group Inc
P.O. Box 932721
Cleveland, OH 44193


Consolidated Industries, LLC
dba Weather King Portable Buildings
P.O. Box 108
Paris, TN 38242
Consolidated Restaurant Operations, Inc
12200 Stemmons Freeway, Ste 100
Dallas, TX 75234


Constable Precinct 2 Explorer
South Texas Council 577
901 S Milmo Ave
Laredo, TX 78043


Constance Lige
Address Redacted


Constance O Keefe
Address Redacted


Constant Contact
1601 Trapelo Rd, Ste 329
Waltham, MA 02451


Constant Contact Inc
Attn Accounts Receivable
1601 Trapelo Rd, Ste 329
Waltham, MA 02451


Constant Contact, Inc/Att Accounts Rec
1601 Trapelo Rd, Ste 329
Waltham, MA 02451


Constantia Volunteer Fire Dept
Longhouse Council 373, Route 23
Constantia, NY 13044


Constantia Volunteer Fire Dept. Inc
Longhouse Council 373
23 County Route 23
Constantia, NY 13044


Constantine Rotary Club
Attn Mark Honeysett
Southern Shores Fsc 783
133 Jeremy Ln
Constantine, MI 49042


Constantino Brumidi Lodge 2211
Suffolk County Council Inc 404
2075 Deer Park Ave
Deer Park, NY 11729


Constanze Freiling
Swiss Press Ls
29 Long Meadow Rd
Riverside, CT 06878‐1103


Constellation Homebuilder Sys Inc
dba Msi Solutions
7600 N 15th St, Ste 250
Phoenix, AZ 85020


Constellation Newenergy, Inc
Attn Contracts Admin
1221 Lamar St, Ste 750
Houston, TX 77010


Construction Industry Assoc Of Rochester
Seneca Waterways 397
180 Linden Oaks
Rochester, Ny 14625


Construction Seminars, Inc
4411 Mcleod Ne, Ste B
Albuquerque, NM 87109


Consultant Pharmacists Of Nm Inc
Charles Vandiver
3201 Zafarano Dr, Ste C 367
Santa Fe, NM 87507


Consultnet LLC
10813 S River Front Pkwy, Ste 150
South Jordan, UT 84095


Consumer Marketing Solutions
499 7th Ave, FL 18 S
New York, NY 10018


Consumer Marketing Solutions
653 W Fallbrook Ave, Ste 101
Fresno, CA 93711


Consumer Reports
P.O. Box 2069
Harlan, IA 51593‐4252


Consumer Reports
P.O. Box 2105
Harlan, IA 51593‐0294


Consumer Reports
Subscription Dept, Box 2069
Harlan, IA 51593‐4252


Consumer Testing Laboratories, Inc
P.O. Box 952766
Atlanta, GA 31192‐2766


Container Storage Solutions
7438 Fancy Gap Hwy
Fancy Gap, VA 24328


Container Technology Inc
1055 Sern Rd
Morrow, GA 30260


Contemporary Printing Services
6943 Prestonshire
Dallas, TX 75225


ContemporaryTheology 1stUtd Methodist Ch
Westark Area Council 016
307 W Elm St
1st United Methodist
Rogers, Ar 72756
Continental American Insurance Co
2801 Devine St
Columbia, SC 29205


Continental Colony Elementary PTA
Atlanta Area Council 092
3181 Hogan Rd Sw
Atlanta, GA 30331


Continental Courier Solutions Inc
Dept 700
11697 W Grand Ave
Northlake, IL 60164‐1302


Continental Datalabel, Inc
1855 Fox Ln
Elgin, IL 60123


Continental Message Solution Inc
41 S Grant Ave
Columbus, OH 43215‐3979


Continental Ranch Ward
Lds Marana Stake
Catalina Council 011
3530 W Magee Rd
Tucson, Az 85741


Continental School Of Beauty
Seneca Waterways 397
633 Jefferson Rd
Rochester, NY 14623


Continental Training    Service Centerinc
7614 Hayvenhurst Ave
Van Nuys, CA 91406‐1740


Continental Village Fire Dept
Westchester Putnam 388
Continental Village Fire Dept
12 Spy Pond Rd
Garrison, NY 10524


Continental Western Corp
P.O. Box 2418
San Leandro, CA 94577


Continental Western Insurance Co
c/o Ronald Laskowski
6342 SW 21st St, Ste 101
Topeka, KS 66615


Contra Costa Fire Dept
Mt Diablo‐Silverado Council 023
4288 Folsom Dr
Antioch, CA 94531


Contra Costa Youth Soccer League
Mt Diablo‐Silverado Council 023
1134 Lovell Ct
Concord, CA 94520


Control Products Inc
P.O. Box 77
Beckley, WV 25802


Convenant Utd Methodist Church
Inland Nwest Council 611
15515 N Gleneden Dr
Spokane, WA 99208


Convention Housing Services Inc
2920 Green Valley Pkwy, Bldg 1, Ste 111
Henderson, NV 89014


Convention Industry Council
Attn Cmp Recertification
700 N Fairfax St, Ste 510
Alexandria, VA 22314


Convention Makers Inc
12‐D Old Charlotte Hwy
Ashville, NC 28803


Conventus Sa
Route D Allaman 36
Etoy, 1163
Switzerland


Convergeone Inc
Nw 5806, P.O. Box 1450
Minneapolis, MN 55485‐5806


Converse Digital Corp
101 Livingston Pl
Metairie, LA 70005


Converse Electrical Inc
3783 Gantz Rd
Grove City, OH 43123


Con‐Way Freight Inc
P.O. Box 5160
Portland, OR 97208‐5160


Conway Polites
Address Redacted


Conway Utd Methodist Church
Central Florida Council 083
3401 Conway Rd
Orlando, FL 32812


Conway Ward LDS Church
Pee Dee Area Council 552
450 Dunn Short Cut Rd
Conway, SC 29526


Conyers First Utd Methodist Church
Atlanta Area Council 092
921 N Main St Nw
Conyers, GA 30012
Conyers Police Dept
Atlanta Area Council 092
1194 Scott St Se
Conyers, GA 30012


Cook County
118 N Clark St
Chicago, IL 60602


Cook County Auditor
411 W 2nd St
Grand Marais, MN 55604‐2307


Cook Elementary PTA
Westark Area Council 016
3517 Brooken Hill Dr
Fort Smith, AR 72908


Cook Schuhmann   Groseclose Inc
P.O. Box 70810
Fairbanks, AK 99707


Cook Truck Equipment   Tools Inc
3701 Harlee Ave
Charlotte, NC 28208‐5493


Cookeville First Utd Methodist Umw
Middle Tennessee Council 560
165 E Broad St
Cookeville, TN 38501


Cookies By Design 017
6715 W Nwest Hwy
Dallas, TX 75225


Cookies In Bloom
120 S Main St, Ste 20
Grapevine, TX 75051


Cooks Corners Elementary School Pt0
Lasalle Council 165
358 Bullseye Lake Rd
Valparaiso, IN 46383


Cooks Memorial Presbyterian Church
Mecklenburg County Council 415
3413 Mt Holly Hntrsvl Rd
Charlotte, NC 28216


Cooks Umc Mens Club
Middle Tennessee Council 560
7919 Lebanon Rd
Mount Juliet, TN 37122


Cool Community Assoc
Golden Empire Council 047
P.O. Box 171
Cool, CA 95614


Cool River Cafe
1045 Hidden Ridge
Irving, TX 75038


Cool Spring Baptist Church
Heart of Virginia Council 602
9283 Atlee Station Rd
Mechanicsville, VA 23116


Cool Works Tm
P.O. Box 383
Morrison, CO 80465


Cooley Elementary PTO
Great Lakes Fsc 272
2000 Highfield Rd
Waterford, MI 48329


Coolidge Elementary School PTA
Hawkeye Area Council 172
6225 1st Ave Sw
Cedar Rapids, IA 52405
Coolidge Police Dept
Grand Canyon Council 010
911 S Arizona Blvd
Coolidge, AZ 85128


Coolidge School Concerned Parents
Greater Los Angeles Area 033
524 Coolidge Dr
San Gabriel, CA 91775


Coolspring Volunteer Fire Dept
Lasalle Council 165
7111 W 400 N
Michigan City, IN 46360


Coolville Utd Methodist Church
Buckskin 617
P.O. Box 125
Coolville, OH 45723


Coon Rapids Fire Dept
Northern Star Council 250
2831 113th Ave Nw
Coon Rapids, MN 55433


Coon Rapids Methodist Church
Northern Star Council 250
10506 Hanson Blvd Nw
Coon Rapids, MN 55433


Coon Rapids Police Dept
Northern Star Council 250
11155 Robinson Dr Nw
Coon Rapids, MN 55433


Coon Valley Conservation Club
Gateway Area 624
S1005 Knudson Ln
Coon Valley, WI 54623


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Puerto Rico Council 661
Calle San Carlos
Quebradillas, PR 00678


Cooper   Scully
900 Jackson St, Ste 100
Dallas, TX 75202


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Golden Empire Council 047
804 Cooper Ave
Yuba City, CA 95991


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Northeast Georgia Council 101
555 Ozora Rd
Loganville, GA 30052


Cooper Elementary PTO
Three Harbors Council 636
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Lincoln Heritage Council 205
9901 Cooper Church Dr
Louisville, KY 40229


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Cascade Pacific Council 492
7670 SW 170th Ave
Beaverton, OR 97007


Cooper W Davis
Address Redacted
Cooperativa De Ahorros Y Credito Isabela
Puerto Rico Council 661
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Isabela, PR 00662


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Attn Becky Buice Hall
2930 Flowers Rd S, Ste 133
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P.O. Box 821
Bellows Falls, VT 05101‐0821


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East Carolina Council 426
896 Macedonia Rd
Spring Hope, NC 27882


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Minsi Trails Council 502
34 S Main St
Coopersburg, PA 18036


Cooperstown Rotary Club
Leatherstocking 400
P.O. Box 993
Cooperstown, NY 13326


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President Gerald R Ford 781
105 68th Ave N
Coopersville, MI 49404


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Middle Tennessee Council 560
3936 Hwy 49 W
Springfield, TN 37172
Coopertown School PTO
Cradle of Liberty Council 525
800 Coopertown Rd
Bryn Mawr, PA 19010


Coos Bay Lions Club
Oregon Trail Council 697
P.O. Box 3
Coos Bay, OR 97420


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Twin Rivers Council 364
390 County Route 7A
Copake, NY 12516


Copake Fire Co No. 1
Twin Rivers Council 364
P.O. Box 630
Copake, NY 12516


Copeland PTO
Sam Houston Area Council 576
18018 Forest Heights Dr
Houston, TX 77095


Copenhagen International School
Transatlantic Council, Bsa 802
Levantkaj 4‐14, 2150
Kobenhavn,
Denmark


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Great Trail 433
1280 Sunset Dr
Copley, OH 44321


Copley Utd Methodist Church
Great Trail 433
1518 S Cleveland Massillon Rd
Copley, OH 44321


Coppell Bible Fellowship
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Coppell, TX 75019


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Granbury, TX 76048


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185 W Pkwy Blvd
Coppell, TX 75019


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Circle Ten Council 571
130 Town Center Blvd
Coppell, TX 75019


Copper Canyon Fire And Medical Authority
Grand Canyon Council 010
26 W Salt Mine Rd, Unit B
Camp Verde, AZ 86322


Copper Creek PTA
Grand Canyon Council 010
7071 W Hillcrest Blvd
Glendale, AZ 85310


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8338 S Mcclanahan Ln
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2680 S Fm 116
Copperas Cove, TX 76522


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Copperopolis Fire Protection District
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370 Main St
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10230 Gravols Rd
St Louis, MO 63123‐4099


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Fairdale, KY 40118


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Coral Springs, FL 33065


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Coral Springs, FL 33065


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Coralville, IA 52241


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Hawkeye Area Council 172
P.O. Box 5196
Coralville, IA 52241


Coralville Utd Methodist Church
Hawkeye Area Council 172
806 13th Ave
Coralville, IA 52241


Coralys Nahir Negron
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303 Middle Country Rd
Coram, NY 11727


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Men S Club
Laurel Highlands Council 527
1205 Ridge Ave
Coraopolis, Pa 15108


Corazon De Los Caminos Chapter
16 Descanso Rd
Santa Fe, NM 87508


Corazon De Los Caminos Chapter
Santa Fe Trail Assn
P.O. Box 1516Attn Nancy Robertson
Raton, NM 87740


Corazon Rivera
Address Redacted


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Corbin, KY 40701


Corbin Thomas Lanker
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11894 Grand Lawn Cir
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Potosi, MO 63664
Cordial Greetings
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Mankato, MN 56002‐8465


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183 School Rd
Cordova, AL 35550


Cordova Masonic Lodge 559
Black Warrior Council 006
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Cordova, AL 35550


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31913 Blades Rd E
Cordova, MD 21625


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St Louis, MO 63146


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Hickory, NC 28601


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Redwood Falls, Mn 56283


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Gulf Stream Council 085
5950 12th St
Vero Beach, FL 32966


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Simon Kenton Council 441
4900 Big Run S Rd
Grove City, OH 43123


Cornerstone Christian Sch Jacksonville
North Florida Council 087
9039 Beach Blvd
Jacksonville, Fl 32216


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Denver Area Council 061
5624 Yarrow St
Arvada, CO 80002


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Norwalk, CT 06850


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Kouts, IN 46347


Cornerstone Community Church
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Floyds Knobs, IN 47119


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Caney, KS 67333


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Williston, ND 58801


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101 Kylies Rd
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Crossroads of America 160
13450 E 116th St
Fishers, IN 46037


Cornerstone Presbyterian Church
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California, MD 20619


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Bear, DE 19701


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2956 Sharpsburg Mccullum Rd
Newnan, GA 30265


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1151 Tom Ginnever Ave
O Fallon, MO 63366


Cornerstone Utd Methodist Church
Lake Erie Council 440
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Elyria, OH 44035


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Sioux Council 733
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Marshall, Mn 56258


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Jonesboro, AR 72401


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18081 W Rd
Houston, TX 77095


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234 Hudson St
Cornwall On Hudson, NY 12520


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2054 Independence Dr
New Windsor, NY 12553


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Pennsylvania Dutch Council 524
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Cornwall, PA 17076


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Washington Crossing Council 777
2284 Bristol Pike
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730 Corp Yard Way
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2880 California Ave
Corona, CA 92881


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Catalina Council 011
865 S Eynon Pl
Vail, AZ 85641


Coronado Area
644 S Ohio St
Salina, KS 67402‐0912


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644 S Ohio St
Salina, KS 67401‐3346


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Salina, KS 67401‐3346


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1004 S Lake Rd
Kirwin, KS 67644


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7922 S Carr Ct
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1590 W Fillmore St
Colorado Springs, CO 80904


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San Diego Imperial Council 049
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939 W Chapala Dr
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Corpus Christi Catholic Church
Catalina Council 011
300 N Tanque Verde Loop Rd
Tucson, AZ 85748


Corpus Christi Catholic Church
Circle Ten Council 571
111 N Wood St
Ferris, TX 75125


Corpus Christi Catholic Church
Cradle of Liberty Council 525
900 Sumneytown Pike
Lansdale, PA 19446


Corpus Christi Catholic Church
Grand Canyon Council 010
3550 E Knox Rd
Phoenix, AZ 85044


Corpus Christi Catholic Church
Grand Canyon Council 010
P.O. Box 50040
Phoenix, AZ 85076


Corpus Christi Catholic Church
Greater St Louis Area Council 312
206 Rasp St
O Fallon, IL 62269


Corpus Christi Catholic Church
Heart of America Council 307
6001 Bob Billings Pkwy
Lawrence, KS 66049


Corpus Christi Catholic Church
San Diego Imperial Council 049
450 Corral Canyon Rd
Bonita, CA 91902


Corpus Christi Catholic Church Mens Club
Piedmont Council 042
322 Saint James Dr
Piedmont, CA 94611


Corpus Christi Catholic School
Pikes Peak Council 060
2410 N Cascade Ave
Colorado Springs, CO 80907


Corpus Christi Catholic School
President Gerald R Ford 781
12100 Quincy St
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Corpus Christi Catholic School
W D Boyce 138
1909 E Lincoln St
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Corpus Christi Church
Greater New York Councils, Bsa 640
529 W 121st St
New York, NY 10027
Corpus Christi Church
Orange County Council 039
27231 Aliso Viejo Pkwy
Aliso Viejo, CA 92656


Corpus Christi Church
Twin Rivers Council 364
2001 Route 9
Round Lake, NY 12151


Corpus Christi Church
Twin Rivers Council 364
P.O. Box 628
2001 Route 9
Round Lake, NY 12151


Corpus Christi Fire Dept
South Texas Council 577
2406 Leopard
Corpus Christi, TX 78408


Corpus Christi Isd Police Dept
South Texas Council 577
4401 Greenwood Dr
Corpus Christi, TX 78416


Corpus Christi Parish
Green Mountain 592
49 Winter St
Saint Johnsbury, VT 05819


Corpus Christi Police Dept
South Texas Council 577
321 John Sartain St
Corpus Christi, TX 78401


Corpus Christi Roman Catholic Church
Mobile Area Council‐Bsa 004
6300 Mckenna Dr
Mobile, AL 36608
Corpus Christi Roman Catholic Church
Northern New Jersey Council, Bsa 333
206 Washington Pl
Hasbrouck Heights, NJ 07604


Corpus Christi Roman Catholic Church
Northern New Jersey Council, Bsa 333
218 Washington Pl
Hasbrouck Heights, NJ 07604


Corpus Christi Rotary Club Sunrise
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6653 Downing St
Corpus Christi, TX 78414


Corpus Christi State Supped Living Ctr
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902 Airport Rd
Corpus Christi, Tx 78405


Corpus Christi Yacht Club
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455 Thornwood Way
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Corryville Recreation Center
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2823 Eden Ave
Cincinnati, OH 45219


Corsair Foundation
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The Dalles, OR 97058


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Great Swest Council 412
P.O. Box 726
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Cortez Elks Lodge
Great Swest Council 412
2100 N Dolores Rd
Cortez, CO 81321


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Great Swest Council 412
P.O. Box 726
Cortez, CO 81321


Cortland Bolles
Address Redacted


Cortland Commty
Volunteer Fire Dept Assoc
Three Fires Council 127
455 N St
Cortland, Il 60112


Cortland Moose Lodge 1012
Great Trail 433
6400 State Route 46
Cortland, OH 44410


Cortney Webber
Address Redacted
Corvallis Elks Lodge 1413
Oregon Trail Council 697
1400 NW 9th St
Corvallis, OR 97330


Corvallis Utd Methodist Church
Montana Council 315
411 S 5th St
Hamilton, MT 59840


Corvallis Utd Methodist Church
Montana Council 315
P.O. Box 37
Corvallis, MT 59828


Corwin Stites
1 Wilson Rd
Annapolis, MD 21402


Cory Asbjornson
Address Redacted


Cory Bolt
Address Redacted


Cory Cook
Address Redacted


Cory Dewell
Address Redacted


Cory Harp
Address Redacted


Cory Haynes
Address Redacted


Cory Henderson Mckee
Address Redacted


Cory Jewel Jensen,Co‐Director
Center For Behavioral Intervention
4345 SW 109Th
Beaverton, OR 97005


Cory Thompson
Address Redacted


Cory Wrolstad
Address Redacted


Corydon Utd Methodist Church
Mid Iowa Council 177
213 W Jackson St
Corydon, IA 50060


Cosgrave Vergeer Kester, LLP
805 SW Broadway 8th Fl
Portland, OR 97205


Coshocton County Sheriff S Office
Muskingum Valley Council, Bsa 467
328 Chestnut St
Coshocton, OH 43812


Cosmes Outboard Service LLC
44 Pelican Ln
Big Pine Key, FL 33043


Cosmes Outboard Service LLC
dba Cosmes Marine
5670 Laurel Ave
Key W, Fl 33040


Cosmic Comics
Las Vegas Area Council 328
3830 E Flamingo Rd, Ste F2
Las Vegas, NV 89121
Cosmo Marketing Services Team
3000 University Ctr Dr
Tampa, FL 33609


Cosmopolitan
P.O. Box 6093
Harlan, IA 51593‐1593


Costa Mesa Fire Dept Explor Post 400
Orange County Council 039
P.O. Box 1200
Costa Mesa, CA 92628


Costa Mesa Lock   Key
1093 W Baker St
Costa Mesa, CA 92626


Costa Mesa Police Dept
Orange County Council 039
P.O. Box 1200
Costa Mesa, CA 92628


Costamar Travel Cruise    Tours, Inc
531 E Oakland Park Blvd
Fort Lauderdale, FL 33334


Costano Elementary School
Pacific Skyline Council 031
2695 Fordham St
East Palo Alto, CA 94303


Costco Membership
P.O. Box 34783
Seattle, WA 98124‐1783


Costello   Mains LLC
18000 Horizon Way, Ste 800
Mount Laurel, NJ 08054


Costello Elementary School PTO
Great Lakes Fsc 272
5201 Abington Dr
Troy, MI 48085


Costume Society Of America
390 Amwell Rd, Ste 403
Hillsborough, NJ 08844


Coteau Volunteer Fire Dept
Southeast Louisiana Council 214
2325 Coteau Rd
Houma, LA 70364


Cottage Grove Elementary PTO
Northern Star Council 250
7447 65th St S
Cottage Grove, MN 55016


Cottage Grove Lions Club
c/o Lee Phillips
Glaciers Edge Council 620
2414 Nora Rd
Cottage Grove, WI 53527


Cottage Grove Lions Club
Northern Star Council 250
8729 Indian Blvd S
Cottage Grove, MN 55016


Cottage Grove Police Explorers
Northern Star Council 250
12800 Ravine Pkwy
Cottage Grove, MN 55016


Cottage Grove Utd Church Of Christ
Northern Star Council 250
7008 Lamar Ave S
Cottage Grove, MN 55016


Cottage Grove Vfw Post 8752
Northern Star Council 250
9260 E Point Douglas Rd S
Cottage Grove, MN 55016


Cottage Lake Presbyterian Church
Chief Seattle Council 609
P.O. Box 950
Cottage Lake Presbyterian Church
Woodinville, WA 98072


Cotter Schools
Gamehaven 299
1115 W Broadway St
Winona, MN 55987


Cotton Hill Ward‐Lds
Blue Ridge Mtns Council 599
5836 Cotton Hill Rd
Roanoke, VA 24018


Cotton Valley Fumc
Norwela Council 215
130 Church St
Cotton Valley, LA 71018


Cottondale Utd Methodist Church
Black Warrior Council 006
2117 Church St
Cottondale, AL 35453


Cottonwood Creek Baptist Church
Circle Ten Council 571
1015 Sam Rayburn Tollway
Allen, TX 75013


Cottonwood Creek PTO
Circle Ten Council 571
615 Minyard Dr
Coppell, TX 75019


Cottonwood Elementary School
Arbuckle Area Council 468
P.O. Box 347
Coalgate, OK 74538
Cottonwood Middle School
Arbuckle Area Council 468
P.O. Box 347
Coalgate, OK 74538


Cottonwood Plains Elementary School PTA
Longs Peak Council 062
525 Turman Dr
Fort Collins, CO 80525


Cottonwood Presbyterian Church
Great Salt Lake Council 590
1580 E Vine St
Salt Lake City, UT 84121


Cottreall‐Warner AL Post 942
Seneca Waterways 397
818 Ridge Rd
Webster, Ny 14580


Cottrell Boylan Post 253 AL
Black Swamp Area Council 449
518 Erie St
Antwerp, Oh 45813


Cotuit Federated Church
Cape Cod and Islands Cncl 224
40 School St
Cotuit, MA 02635


Coufal Land Management
Pikes Peak Council 060
7650 Wranglers Way
Colorado Springs, CO 80908


Cougar Lanes, Ltd.
Glaciers Edge Council 620
204 Mill St
Clinton, WI 53525
Coulee City Presbyterian Church
Grand Columbia Council 614
No St Address
214 N 4th St
Coulee City, WA 99115


Coulson Church Of The Brethren
Blue Ridge Mtns Council 599
4127 Coulson Church Rd
Hillsville, VA 24343


Council
P.O. Box 75674
Baltimore, MD 21275‐5674


Council Bluffs After Sch Club‐Longfellow
Mid‐America Council 326
2011 S 10Th St
Council Bluffs, Ia 51501


Council Bluffs After School Club‐Rue
Mid‐America Council 326
300 W Broadway, Ste 1600
Council Bluffs, IA 51503


Council Elementary School PTA
Sequoyah Council 713
7608 Helen Henderson Hwy
Honaker, VA 24260


Council For A Better Louisiana
P.O. Box 4308
Baton Rouge, LA 70821


Council For Environmental Education
5555 Morningside Dr, Ste 212
Houston, TX 77005


Council Grove Rotary
Coronado Area Council 192
510 Spencer St
Council Grove, KS 66846
Council Grove Rotary Club
Coronado Area Council 192
P.O. Box C
Council Grove, KS 66846


Council Oak Elementary School PTA
Indian Nations Council 488
1920 S Cincinnati Ave
Tulsa, OK 74119


Council Of Churches
Cornhusker Council 324
7701 S 176th Rd
Adams, NE 68301


Council Of Churches Of Wendell
Occoneechee 421
421 Mattox St
Wendell, NC 27591


Council Of Grace Lutheran Church
Cradle of Liberty Council 525
25 W Broad St
Hatfield, PA 19440


Council Of Ministries
Seneca Waterways 397
1160 Macedon Center Rd
Macedon, NY 14502


Council On Education In Management
P.O. Box 340023
Boston, MA 02241‐0423


Council On Foundations
2121 Crystal Dr, Ste 700
Arlington, VA 22202‐3706


Council Unemployment
Jp Morgan Chase
Cupertino, CA 95014


Counseling, Inc
714 S Hillside 2nd Fl
Wichita, KS 67211


Counter Assault
120 Industrial Ct
Kalispell, MT 59901


Country Boy Seed, Inc
6685 Gate City Hwy
Bristol, VA 24202‐1721


Country Club Christian Church
Heart of America Council 307
6101 Ward Pkwy
Kansas City, MO 64113


Country Club View Civic Assoc
National Capital Area Council 082
P.O. Box 7074
Fairfax Station, VA 22039


Country Inn   Suites
7620 Pan American Fwy Ne
Albuquerque, NM 87109


Country Inn   Suites Summersville
106 Merchants Walk
Summersville, WV 26651


Country Lane Home   School Club
Silicon Valley Monterey Bay 055
5140 Country Ln
San Jose, CA 95129


Country Music Foundation Inc
dba Country Music Hall of Fame      Museum
222 5th Ave S
Nashville, TN 37203
Country Parkway Elementary School PTA
Greater Niagara Frontier Council 380
35 Hollybrook Dr
Williamsville, NY 14221


Country Squires, Inc
1399 N Missouri
West Memphis, AR 72301


Country Store   Healthy Harvest
2903 NE 109th Ave, Ste H
Vancouver, WA 98682


Country Ways By Wilcox    Williams Inc
6001 Lyndale Ave S, Ste A
Minneapolis, MN 55419


Countryside Christian Church
Heart of America Council 307
6101 Nall Ave
Mission, KS 66202


Countryside Elementary PTO
Heart of America Council 307
15800 W 124th Ter
Olathe, KS 66062


Countryside PTO
Pathway To Adventure 456
205 W County Line Rd
Barrington, IL 60010


Countryside Ward ‐ LDS Tucson West Stake
Catalina Council 011
3500 W Sumter Dr
Tucson, AZ 85742


Countryside Ymca
Dan Beard Council, Bsa 438
1699 Deerfield Rd
Lebanon, OH 45036


County College Of Morris
214 Center Grove Rd
Randolph, NJ 07869


County Line Utd Methodist Church
Atlanta Area Council 092
1183 County Line Rd Nw
Acworth, GA 30101


County Of Colfax
230 N 3rd St
Raton, NM 87740


County Of Colfax
Colfax County Refuse
P.O. Box 1498
Raton, NM 87740


County Of Fairfax
Faru
4100 Chain Bridge Rd
Fairfax, VA 22030


County Of Monterey
168 W Alisal St, 3rd Fl
Salinas, CA 93901


County Of Monterey
c/o Weather Tech Raceway Laguna Seca
P.O. Box 2538
Monterey, CA 93942


County Of Orange
Attn Sealer of Weights     Measures
222 E Bristol Ln
Orange, CA 92865‐2714


County Of Orange
Oc Public Works
300 N Flower St
Santa Ana, CA 92702


Coupeville Foursquare Church
Mount Baker Council, Bsa 606
P.O. Box 896
Coupeville, WA 98239


Coupeville Lions Club
Mount Baker Council, Bsa 606
P.O. Box 473
Coupeville, WA 98239


Coupralux Inc
1715 Market Ctr Blvd
Dallas, TX 75207


Coupralux Lc
1715 Market Ctr Blvd
Dallas, TX 75207


Courageous Inc
Great Lakes Fsc 272
12925 Auburn St
Detroit, MI 48223


Courier Companies Inc
Attn A/R Dept
15 Wellman Ave
North Chelmsford, MA 01863


Courier Net Inc
P.O. Box 409236
Atlanta, GA 30384‐9236


Court Street Scouts
Pine Burr Area Council 304
609 Sern Ave
Hattiesburg, MS 39401


Court Street Utd Methodist Mens Club
Water and Woods Council 782
225 W Court St
Flint, MI 48502


Courteney Warford
Address Redacted


Courthouse Commty
United Methodist Church
Tidewater Council 596
2708 Princess Anne Rd
Virginia Beach, Va 23456


Courtney Barlow
Address Redacted


Courtney Bukowski
Address Redacted


Courtney Greenwaldt
Address Redacted


Courtney L Weaver
Address Redacted


Courtney Mackercher
Address Redacted


Courtney Massey
Address Redacted


Courtney Mcnabb
Address Redacted


Courtney Oliver
Address Redacted


Courtney Olsen
Address Redacted
Courtney Sales Inc
6120‐C Brookshire Blvd
Charlotte, NC 28216


Courtney Srey Chiv
Address Redacted


Courtney Y Nunnally
Address Redacted


Courtroom Sciences Inc
4950 N O Connor Rd, Ste 100
Irving, TX 75062‐2778


Courtyard By Marriott Atlanta Midtown
1132 Techwood Dr
Atlanta, GA 30318


Courtyard By Marriott Buena Park
7621 Beach Blvd
Buena Park, CA 90520


Courtyard By Marriott Fredericksburg
620 Caroline St
Fredericksburg, VA 22401


Courtyard By Marriott Gulfport Beachfron
1600 E Beach Blvd
Gulfport, MS 39501


Courtyard By Marriott‐ Us Capital
1325 2nd St Ne
Washington, DC 20002


Courtyard Marriott
1151 W Walnut Hill Ln
Irving, TX 75038
Courtyard Marriott Kansas City East
1500 NE Coronado Dr
Blue Springs, MO 64014


Couts Utd Methodist Church
Longhorn Council 662
802 N Elm St
Weatherford, TX 76086


Coutts Sweetgrass Lions Club
Montana Council 315
P.O. Box 722
Sunburst, MT 59482


Cove Marina Group LLC
dba Caloosa Cove Marina
73501 Overseas Hwy
Islamorada, FL 33036


Cove Property Management LLC
73801 Overseas Hwy
Islamorada, FL 33036


Cove Run Contracting LLC
P.O. Box 104
Moatsville, WV 26405


Cove Utd Methodist Church
Greater Alabama Council 001
366 Old Hwy 431
Hampton Cove, AL 35763


Cove Utd Presbyterian Church
Ohio River Valley Council 619
3404 Main St
Weirton, WV 26062


Covenant Christian Church
Circle Ten Council 571
P.O. Box 1803
Paris, TX 75461
Covenant Church Utd Methodist
Old N State Council 070
1526 Skeet Club Rd
High Point, NC 27265


Covenant Community Church
Dan Beard Council, Bsa 438
2860 Mack Rd
Fairfield, OH 45014


Covenant Community Church
Daniel Boone Council 414
11 Rocket Dr
Asheville, NC 28803


Covenant Community Church
Last Frontier Council 480
2250 S Yukon Pkwy
Yukon, OK 73099


Covenant Community Presbyterian Church
Samoset Council, Bsa 627
1806 Won Ave
Schofield, WI 54476


Covenant Congregational Church
Mayflower Council 251
204 Center St
North Eon, MA 02356


Covenant Evangelical Presbyterian Church
Bay Area Council 574
102 Yaupon St
Lake Jackson, TX 77566


Covenant Faith Utd Methodist Ch
Sam Houston Area Council 576
7900 Fuqua St
Houston, Tx 77075


Covenant Food Mart
1401 N Dunn St
Bloomington, IN 47408


Covenant Glen Utd Methodist Church
Sam Houston Area Council 576
3663 Wcenter Dr
Houston, TX 77042


Covenant Lutheran Church
Sam Houston Area Council 576
3785 Barker Cypress Rd
Houston, TX 77084


Covenant Of Grace Presbyterian Church
Baltimore Area Council 220
820 Nicodemus Rd
Reisterstown, MD 21136


Covenant Presbyterian
Daniel Boone Council 414
2101 Kanuga Rd
Hendersonville, NC 28739


Covenant Presbyterian
Greater Los Angeles Area 033
6323 W 80th St
Los Angeles, CA 90045


Covenant Presbyterian Ch Palo Alto
Pacific Skyline Council 031
670 E Meadow Dr
Palo Alto, Ca 94306


Covenant Presbyterian Church
Alamo Area Council 583
211 Roleto Dr
San Antonio, TX 78213


Covenant Presbyterian Church
Andrew Jackson Council 303
4000 Ridgewood Rd
Jackson, MS 39211
Covenant Presbyterian Church
Atlanta Area Council 092
2461 Peachtree Rd Ne
Atlanta, GA 30305


Covenant Presbyterian Church
Atlanta Area Council 092
2881 Canton Rd
Marietta, GA 30066


Covenant Presbyterian Church
Blue Ridge Mtns Council 599
1831 Deyerle Rd Sw
Roanoke, VA 24018


Covenant Presbyterian Church
Chester County Council 539
400 Lancaster Ave
Malvern, PA 19355


Covenant Presbyterian Church
Dan Beard Council, Bsa 438
415 N Main St
Springboro, OH 45066


Covenant Presbyterian Church
Garden State Council 690
2618 New Albany Rd
Cinnaminson, NJ 08077


Covenant Presbyterian Church
Glaciers Edge Council 620
326 S Segoe Rd
Madison, WI 53705


Covenant Presbyterian Church
Greater Los Angeles Area 033
6323 W 80th St
Los Angeles, CA 90045
Covenant Presbyterian Church
Heart of America Council 307
5931 Swope Pkwy
Kansas City, MO 64130


Covenant Presbyterian Church
Last Frontier Council 480
10100 Ridgeview Dr
Oklahoma City, OK 73120


Covenant Presbyterian Church
North Florida Council 087
1001 NW 98th St
Gainesville, FL 32606


Covenant Presbyterian Church
Northeast Georgia Council 101
1065 Gaines School Rd
Athens, GA 30605


Covenant Presbyterian Church
Ore‐Ida Council 106 ‐ Bsa 106
4848 N Five Mile Rd
Boise, ID 83713


Covenant Presbyterian Church
Palmetto Council 549
1830 Celanese Rd
Rock Hill, SC 29732


Covenant Presbyterian Church
Quivira Council, Bsa 198
1750 N Tyler Rd
Wichita, KS 67212


Covenant Presbyterian Church
Sam Houston Area Council 576
220 Rock Prairie Rd
College Station, TX 77845


Covenant Presbyterian Church
Sequoyah Council 713
603 Sunset Dr
Johnson City, TN 37604


Covenant Presbyterian Church
Simon Kenton Council 441
2070 Ridgecliff Rd
Columbus, OH 43221


Covenant Presbyterian Church
Southwest Florida Council 088
2439 Mcgregor Blvd
Fort Myers, FL 33901


Covenant Presbyterian Church
Tecumseh 439
201 N Limestone St
Springfield, OH 45503


Covenant Presbyterian Church    Pusa
Capitol Area Council 564
3003 Nland Dr
Austin, TX 78757


Covenant Presbyterian Church Mens
Glaciers Edge Council 620
326 S Segoe Rd
Madison, WI 53705


Covenant Ranch Fellowship Church
Buffalo Trail Council 567
302 Hughes St
Westbrook, TX 79565


Covenant Trophies
150 N Macarthur Blvd
Irving, TX 75061


Covenant Utd Church Of Christ
Iroquois Trail Council 376
4449 Main St
Gasport, NY 14067
Covenant Utd Methodist Church
Anthony Wayne Area 157
10001 Coldwater Rd
Fort Wayne, IN 46825


Covenant Utd Methodist Church
Bay‐Lakes Council 635
20 N Marr St
Fond Du Lac, WI 54935


Covenant Utd Methodist Church
Blue Grass Council 204
602 Dorchester Ave
Middlesboro, KY 40965


Covenant Utd Methodist Church
Capitol Area Council 564
4410 Duval Rd
Austin, TX 78727


Covenant Utd Methodist Church
Central Florida Council 083
3701 Clyde Morris Blvd
Port Orange, FL 32129


Covenant Utd Methodist Church
Chickasaw Council 558
8350 Walnut Grove Rd
Cordova, TN 38018


Covenant Utd Methodist Church
Cradle of Liberty Council 525
212 W Springfield Rd
Springfield, PA 19064


Covenant Utd Methodist Church
East Carolina Council 426
4000 Corey Rd
Winterville, NC 28590


Covenant Utd Methodist Church
Great Swest Council 412
8510 Wyoming Blvd Ne
Albuquerque, NM 87113


Covenant Utd Methodist Church
Inland Nwest Council 611
15515 N Gleneden Dr
Spokane, WA 99208


Covenant Utd Methodist Church
Lincoln Heritage Council 205
909 W Jefferson St
Lagrange, KY 40031


Covenant Utd Methodist Church
Pennsylvania Dutch Council 524
346 N 9th St
Lebanon, PA 17042


Covenant Utd Methodist Church
Southeast Louisiana Council 214
115 E Damour St
Chalmette, LA 70043


Covenant Utd Methodist Church
Southeast Louisiana Council 214
P.O. Box 530
Chalmette, LA 70044


Covenant Utd Methodist Church
Tidewater Council 596
2004 Dock Landing Rd
Chesapeake, VA 23321


Covenant Wealth Management
Old Hickory Council 427
301 N Main St, 24th Fl
Winston Salem, NC 27101


Coventry Catholic Men S Club, Inc
Connecticut Rivers Council, Bsa 066
P.O. Box 243
138 Snake Hill
Coventry, CT 06238


Coventry Church Of The Brethren
Chester County Council 539
946 Keen Rd
Pottstown, PA 19465


Coventryville Methodist Church
Chester County Council 539
1521 Old Ridge Rd
Pottstown, PA 19465


Covestro, LLC
29347 Network Pl
Chicago, IL 60673‐1347


Covina Police Explorer Post
Greater Los Angeles Area 033
444 N Citrus Ave
Covina, CA 91723


Covington   Burlin LLP
One City Center
850 10th St Nw
Washington, DC 20001


Covington Exchange Club
West Tennessee Area Council 559
P.O. Box 376
Covington, TN 38019


Covington First Utd Methodist Church
West Tennessee Area Council 559
145 W Church Ave
Covington, TN 38019


Covington Police Dept
Atlanta Area Council 092
1143 Oak St Se
Covington, GA 30014
Covington Presbyterian Church
Miami Valley Council, Bsa 444
115 N Pearl St
Covington, OH 45318


Covington Presbyterian Church
Miami Valley Council, Bsa 444
30 N Pearl St
Covington, OH 45318


Covington Utd Methodist Church
Longhorn Council 662
115 S Douglass St
Covington, TX 76636


Covington Ward New Orleans Stake LDS
Southeast Louisiana Council 214
2638 W 15th Ave
Covington, LA 70433


Cow Paddys
800 Adams
Cimarron, NM 87714


Cowboy Church Of Harrison County
East Texas Area Council 585
P.O. Box 1073
Hallsville, TX 75650


Cowboys   Indians
P.O. Box 538
Mt Morris, IL 61054


Cowboys Stadium LP
One Legends Way
Arlington, TX 76011


Cowern Parent Teacher Group
Northern Star Council 250
2131 Margaret St N
Saint Paul, MN 55109
Coweta Charter Academy
Flint River Council 095
6675 Hwy 16
Senoia, GA 30276


Coxs Creek Elem Parent Teacher Assoc
Lincoln Heritage Council 205
5635 Louisville Rd
Coxs Creek, Ky 40013


Coxsackie American Legion Post 166
Rip Van Winkle Council 405
P.O. Box 101
Coxsackie, NY 12051


Coy School P G A
Erie Shores Council 460
3604 Pickle Rd
Oregon, OH 43616


Coy Thomas Burdette
Address Redacted


Coyote Ridge Golf Club
1640 Hebron Pkwy
Carrollton, TX 75010


Cozad Elks Club
Overland Trails 322
P.O. Box 243
Cozad, NE 69130


Cpasoft, Inc/Dba Ugly Mugz
2300 S 13
Clinton, OK 73601


Cpb
Distribution Serv/Attn Church Magazines
P.O. Box 80093
Prescott, AZ 86304‐8093
Cpc Solutions
2800 Printers Way
Grand Junction, CO 81506


Cpcc Drones
Mecklenburg County Council 415
11920 Vorhoeff Dr
Huntersville, NC 28007


Cpd Industries
4665 State St
Montclair, CA 91763


Cpe Inc
370 Reed Rd, Ste 227
Broomall, PA 19008‐4098


Cpl Mark Goyet Vfw Post 12160
South Texas Council 577
P.O. Box 694
Sinton, TX 78387


Cpr Heart Starters Inc
P.O. Box 448
Warrington, PA 18976


Cpts Hotel Lessee LLC Corp
Crowne Plz Times Square Manhattan Hotel
1605 Broadway
New York, NY 10019


Cpx Warrenville Opag LLC
dba Hyatt Pl Warrenville
27576 Maecliff Dr
Warrenville, IL 60555


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2455 Teller Rd
Thousand Oaks, CA 91320
Cr Airport Hotel Assoc LLC
dba Country Inn , Ste s
9100 Atlantic Dr Sw
Cedar Rapids, IA 52404


Crabbe Elementary School
Buckskin 617
520 17th St
Ashland, KY 41101


Crabby Artworks
P.O. Box 953
Islamorada, FL 33036


Crabtree Utd Methodist Church
Daniel Boone Council 414
5405 Crabtree Rd
Clyde, NC 28721


Cracked Pepper Catering      Bakery
736 SW Washington St
Peoria, IL 61602


Cradle Of Liberty
1485 Valley Forge Rd
Wayne, PA 19087


Cradle Of Liberty Cncl 525
1485 Valley Forge Rd
Wayne, PA 19087


Cradle Of Liberty Council 525 Bsa
1485 Valley Forge Rd
Wayne, PA 19087


Craft Group LLC
450 Lexington Ave, 4 Fl
New York, NY 10017


Craft World   Action Hobbies
1385 Kyantone Rd
Jamestown, NY 14701


Crafter S Closet
513 W Madison Ave
Athens, TN 37303


Crafton Ingram Rotary
Laurel Highlands Council 527
P.O. Box 44007
Pittsburgh, PA 15205


Craftsman Glass   Paint Inc
P.O. Box 291146
Port Orange, FL 32129


Craftsmen Recreation Club Inc
Great Trail 433
4450 Rex Lake Dr
New Franklin, OH 44319


Craig Arcos
Address Redacted


Craig Avenue Tabernacle Arp Church
3936 Craig Ave
Charlotte, NC 28211


Craig Bills
Address Redacted


Craig Bond
Address Redacted


Craig Butterfield
Address Redacted


Craig Church
Address Redacted
Craig Depuy
Address Redacted


Craig Dunstan
Address Redacted


Craig Edwards
Address Redacted


Craig Fenneman
Address Redacted


Craig Grant
Address Redacted


Craig Green
Address Redacted


Craig Hower
Address Redacted


Craig Hudgins
Address Redacted


Craig Johnson
Address Redacted


Craig Jones
Address Redacted


Craig Jones Business Manager
Greenwich Council
63 Mason St
Greenwich, CT 06830


Craig L Cochran
Address Redacted
Craig Lashford
Address Redacted


Craig Lesh
Address Redacted


Craig Macpherson
Address Redacted


Craig Meigs
Address Redacted


Craig Memorial Congregational Church
Golden Empire Council 047
5665 Scottwood Rd
Paradise, CA 95969


Craig Michelsen
Address Redacted


Craig Mittendorf
Address Redacted


Craig Neal Jones
Address Redacted


Craig Overland
Address Redacted


Craig Owen
Address Redacted


Craig Poland
Address Redacted


Craig R Anderson    His Attorneys Of
Record
O Donnell Clark    Crew LLP
Portland, OR 97209


Craig Realty Group ‐ Loveland
4100 Macarthur Blvd, Ste 200
Newport Beach, CA 92660


Craig Reide
Address Redacted


Craig S Specialists Of Dallas LP
dba Craigs Collision Ctrs
2078 W Hwy 114
Grapevine, TX 76051


Craig School PTO
Greater St Louis Area Council 312
1492 Craig Rd
Saint Louis, MO 63146


Craig Shelley
Address Redacted


Craig Sims
Address Redacted


Craig Sonoda
Address Redacted


Craig Stover
Address Redacted


Craig Sweet
Address Redacted


Craig T Henderson
Address Redacted


Craig T Powell
Address Redacted
Craig Truax
Address Redacted


Craig Vander Ploeg
Address Redacted


Craig‐Harris Post 251 American Legion
Sam Houston Area Council 576
P.O. Box 1001
El Campo, TX 77437


Crain S Chicago Business
Drawer 7718 P.O. Box 79001
Detroit, MI 48279


Cramer Security   Investigations Inc
P.O. Box 1082
Beckley, WV 25802‐1082


Cramp Second Chances
Cradle of Liberty Council 525
3449 N Mascher St
Philadelphia, PA 19140


Cranberry Commty
United Presbyterian Church
Moraine Trails Council 500
2662 Rochester Rd
Cranberry Twp, Pa 16066


Cranberry Elks Lodge 2249
Moraine Trails Council 500
20720 Route 19
Cranberry Twp, PA 16066


Cranberry Lake Volunteer Fire Dept
Patriots Path Council 358
Rte 206
Andover, NJ 07821
Cranberry Lions Club/Seneca Vfd
French Creek Council 532
152 Pennsylvania Ave
Seneca, PA 16346


Cranberry Network LLC
320 W Grand Ave, Ste 200
Wisconsin Rapids, WI 54495


Cranberry Township Friends Of Scouting
Moraine Trails Council 500
158 Briarwood Ln
Cranberry Twp, PA 16066


Cranberrys Gourmet Shoppe
8 Public Rd
Monroe Twsp, NJ 08831


Cranbrook Educational Community
Great Lakes Fsc 272
P.O. Box 801
Bloomfield Hills, MI 48303


Cranbury School PTA
Connecticut Yankee Council Bsa 072
10 Knowalot Ln
Norwalk, CT 06851


Crandall Utd Methodist Church
Circle Ten Council 571
P.O. Box 145
Crandall, TX 75114


Crandell Holdings, LLC
Catalina Council 011
4349 E Tennessee St
Tucson, AZ 85714


Crandon Public Library Friends, Library
Samoset Council, Bsa 627
110 W Polk St
Crandon, Wi 54520


Crane Presbyterian Church
Ozark Trails Council 306
P.O. Box 46
Crane, MO 65633


Cranfill Sumner   Hartzog LLP
P.O. Box 27808
Raleigh, NC 27611‐7808


Cranford Fire Explorer Post
Patriots Path Council 358
7 Springfield Ave
Cranford, NJ 07016


Cranford Police Dept
Patriots Path Council 358
8 Springfield Ave
Cranford, NJ 07016


Cranford Utd Methodist Church
Patriots Path Council 358
201 Lincoln Ave E
Cranford, NJ 07016


Cranford Utd Methodist Church
Patriots Path Council 358
Lincoln Ave
Cranford, NJ 07016


Craniologie.Com
P.O. Box 2843
Breckenridge, CO 80424


Cranston Police Dept
Narragansett 546
5 Garfield Ave
Cranston, RI 02920


Cranston Rotary Club
Narragansett 546
648 Park Ave
Cranston, RI 02910


Crater Lake
3039 Hanley Rd
Central Point, OR 97502‐1474


Crater Lake Cncl No 491
3039 Hanley Rd
Central Point, OR 97502‐1474


Crawford Co Citizens For Scouting
Central Georgia Council 096
P.O. Box 233
Roberta, GA 31078


Crawford Co Citizens For Scouting
Central Georgia Council 096
P.O. Box 466
Roberta, GA 31078


Crawford Elementary PTO
Denver Area Council 061
1600 Florence St
Aurora, CO 80010


Crawford Memorial Methodist Church
The Spirit of Adventure 227
34 Dix St
Winchester, MA 01890


Crawford Woods PTO
Dan Beard Council, Bsa 438
2200 Hensley Ave
Hamilton, OH 45011


Crawford‐Hale Post American Legion 95
Greater St Louis Area Council 312
321 S 7th St
Vandalia, IL 62471
Crawfordville Utd Methodist Church
Suwannee River Area Council 664
176 Ochlockonee St
Crawfordville, FL 32327


Crazy Creek Productions, Inc
P.O. Box 1050
Red Lodge, MT 59068


Crazy Creek Products Inc
1401 S Broadway
P.O. Box 1050
Red Lodge, MT 59068


Crazy Crow Trading Post
P.O. Box 847
Pottsboro, TX 75076


Crci LLC
P.O. Box 11875
Daytona Beach, FL 32120


Create Multimedia LLC
dba Workhorse
8012 Bee Caves Rd
Austin, TX 78746


Creative Apparel
407 W Dakota St
Spring Valley, IL 61362


Creative Catering Inc
P.O. Box 241644
Charlotte, NC 28224


Creative Cir, LLC
P.O. Box 74008799
Chicago, IL 60674‐8799


Creative City School
Baltimore Area Council 220
2810 Shirley Ave
Baltimore, MD 21215


Creative Concepts   Givageta
27 Kreiger Ln, Unit 12
Glanstonbury, CT 06033‐2327


Creative Concepts Lc
11845 N Atlas Dr
Highland, UT 84003


Creative Converting Inc
B110149
P.O. Box 790051
St Louis, MO 63179‐0051


Creative Floor   Surfaces Inc
P.O. Box 420424
Summerland Key, FL 33042


Creative Geocraphics, Inc
1356 Ten Bar Trail
Southlake, TX 76092


Creative Greenery Of Dallas, Inc
101 N Greenville Ave, Ste 440
Allen, TX 75002


Creative Kids Far East Limited, Inc
750 Chestnut Ridge Rd, Unit 301
Chestnut Ridge, NY 10977


Creative Laser Solutions
13404 Woodland Ave
Kansas City, MO 64146


Creative Learning Academy Believes
Erie Shores Council 460
1 Aurora Gonzalez Dr
Toledo, OH 43609
Creative Manager Inc
Workamajig
721 Auth Ave
Oakhurst, NJ 07755‐2965


Creative Manager, Inc
721 Auth Ave
Oakhurst, NJ 07755


Creative Market
600 Congress Ave, 14th Fl
Austin, TX 78701


Creative Marketing Solutions
13451 S Point Blvd
Charlotte, NC 28273


Creative Mischief
50 Hurt Plaza, Ste 1650
Atlanta, GA 30303


Creative Naturescapes Inc
1806 Bogey Court
Matthews, NC 28104


Creative Plastics
P.O. Box 128
Dalton, GA 30722


Creative Signs, Ltd
1231 Kings Hwy
Fredericksburg, VA 22405


Creative Specialties LLC
P.O. Box 27986
Denver, CO 80227‐0986


Creative Whack Co
179 Ludlow St
Stamford, CT 06902


Creator Lutheran Church
Cascade Pacific Council 492
13250 SE Sunnyside Rd
Clackamas, OR 97015


Credera
Gencorp Technologies Inc
P.O. Box 678323
Dallas, TX 75267‐8323


Credit Management Services
P.O. Box 14010
Santa Rosa, CA 95402‐6010


Credit Suisse First Boston
Greater New York Councils, Bsa 640
11 Madison Ave
New York, NY 10010


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Creditsafe Usa Inc
4635 Crackersport Rd
Allentown, PA 18104


Creditsafe Usa Inc
P.O. Box 789985
Philadelphia, PA 19178‐9985


Creditsafe Usa, Inc
2711 Ctrville Rd, Ste 400
Wilmington , DE 19808


Cree Mee
P.O. Box 507
Cimarron, NM 87714


Creec School
Coastal Carolina Council 550
1011 Old Cemetery Rd
Mc Clellanville, SC 29458


Creech Road Elementary
Occoneechee 421
450 Creech Rd
Garner, NC 27529


Creedmoor Elementary Lead
Capitol Area Council 564
5604 Fm 1327
Austin, TX 78747
Creedmoor Utd Methodist Church
Occoneechee 421
P.O. Box 368
Creedmoor, NC 27522


Creeds Ruritan Club
Tidewater Council 596
P.O. Box 7015
Virginia Beach, VA 23457


Creek Ridge Sports Club Inc
1752 Creek Ridge Tr
Ely, MN 55731


Creekside Community Church
San Francisco Bay Area Council 028
951 Macarthur Blvd
San Leandro, CA 94577


Creekside Elementary PTO
Southern Shores Fsc 783
3480 E St
Hartland, MI 48353


Creekside Elementary School
Crossroads of America 160
700 E State Rd 44
Franklin, IN 46131


Creekside Middle School
Crossroads of America 160
355 W 126th St
Carmel, IN 46032


Creekside Utd Methodist Church
Northeast Georgia Council 101
673 Peachtree Pkwy
Cumming, GA 30041


Creekwood Church Of Christ
Mobile Area Council‐Bsa 004
1901 Schillinger Rd S
Mobile, AL 36695


Creekwood Farms
P.O. Box 8136
Mcminnville, TN 37111


Creekwood Umc
Circle Ten Council 571
261 Country Club Rd
Allen, TX 75002


Creel Elementary School
Central Florida Council 083
2000 Glenwood Dr
Melbourne, FL 32935


Creighton University
Attn Financial Office
2500 California Plaza
Omaha, NE 68178‐0315


Creighton University
Mid‐America Council 326
2500 California Plz
Omaha, NE 68178


Creighton University Dental School
Mid‐America Council 326
2500 California Plz
Omaha, NE 68178


Crenshaw Christian Academy
Tukabatchee Area Council 005
197 Country Club Dr
Luverne, AL 36049


Crenshaw Utd Methodist Church
Heart of Virginia Council 602
200 Church St
Blackstone, VA 23824
Crepe Myrtles
Evangeline Area 212
2210 W Saint Mary Blvd
Lafayette, LA 70506


Crepes N Creme
San Diego Imperial Council 049
13144 Old W Ave
San Diego, CA 92129


Cresaptown Utd Methodist Church
Laurel Highlands Council 527
14805 Mcmullen Hwy Sw
Cresaptown, MD 21502


Crescendo Interactive Inc
110 Camino Ruiz
Camarillo, CA 93012


Crescendo Interactive, Inc
Attn Billing Dept
110 Camino Ruiz
Camarillo, CA 93012


Crescendo Interactive, Inc
Attn Billing Dept
110 Camino Ruiz
Camirillo, CA 93012


Crescent Academy
Great Lakes Fsc 272
25175 Code Rd
Southfield, MI 48033


Crescent Academy International
Great Lakes Fsc 272
40440 Palmer Rd
Canton, MI 48188


Crescent Bay Optimist Club
W.L.A.C.C. 051
P.O. Box 66314
Los Angeles, CA 90066


Crescent City Vol Firefighters Assoc
Crater Lake Council 491
255 W Washington Blvd
Crescent City, Ca 95531


Crescent Elementry School
Last Frontier Council 480
P.O. Box 719
Crescent, OK 73028


Crescent Fire Protection District
Crater Lake Council 491
255 W Washington Blvd
Crescent City, CA 95531


Crescent Hill Utd Methodist Church
Lincoln Heritage Council 205
201 S Peterson Ave
Louisville, KY 40206


Crescent School Pso
Northern New Jersey Council, Bsa 333
Crescent Ave
Waldwick, NJ 07463


Crescent, Inc
P.O. Box 669
Niota, TN 37826


Crescenta Canada Rotary Club
Greater Los Angeles Area 033
1103 S Gladys Ave
San Gabriel, CA 91776


Crescenta Valley Utd Methodist Church
Verdugo Hills Council 058
2700 Montrose Ave
Montrose, CA 91020
Cress Creek Country Club
1215 Royal St George Dr
Naperville, IL 60563


Cressey Road Utd Methodist Church
Pine Tree Council 218
81 Cressey Rd
Gorham, ME 04038


Cresskill Citzens Club
Northern New Jersey Council, Bsa 333
34 Pierce Ave
Cresskill, NJ 07626


Crest Craft Co
4460 Lake Forest Dr, Ste 232
Cincinnati, OH 45242


Crest Craft Of Ri Div Or J A Mktg
200 Compass Cir
North Kingstown, RI 02852


Crested Butte Fire Protection District
Denver Area Council 061
306 Maroon Ave
Crested Butte, CO 81224


Cresthill Baptist Church
National Capital Area Council 082
6510 Laurel Bowie Rd
Bowie, MD 20715


Crestline Co Inc
Mt Hope Ave
P.O. Box 2027
Lewiston, ME 04241


Crestline Elementary PTO
Greater Alabama Council 001
600 Crestline Dr Sw
Hartselle, AL 35640
Crestline Specialties Inc
P.O. Box 712144
Cincinnati, OH 45271‐2144


Crestmark Commercial Capital Lending LLC
A/C Elevate Group Holding LLC
P.O. Box 41047
Baton Rouge, LA 70835


Crestmont Elem After Sch Program
Black Warrior Council 006
2400 34Th Ave
Northport, Al 35476


Creston Intermediate
Crossroads of America 160
10925 Prospect St
Indianapolis, IN 46239


Creston Utd Methodist Church
Great Trail 433
166 S Main St
Creston, OH 44217


Crestview Christian Church
Coronado Area Council 192
4761 Tuttle Creek Blvd
Manhattan, KS 66502


Crestview Presbyterian Church
Dan Beard Council, Bsa 438
9463 Cincinnati Columbus Rd
West Chester, OH 45069


Crestwood Baptist Church
Three Rivers Council 578
1150 Hwy 69 S
Kountze, TX 77625


Crestwood Christian Church
Blue Grass Council 204
1882 Bellefonte Dr
Lexington, KY 40503


Crestwood Elementary School PTO
Greater St Louis Area Council 312
1020 S Sappington Rd
Saint Louis, MO 63126


Crestwood Middle School
Great Trail 433
10880 John Edward Dr
Mantua, OH 44255


Crestwood Police Dept
Pathway To Adventure 456
13840 Cicero Ave
Crestwood, IL 60445


Crestwood School C.A.P.T.
Glaciers Edge Council 620
5930 Old Sauk Rd
Madison, WI 53705


Crestwood Utd Methodist Church
Lincoln Heritage Council 205
7214 Kavanaugh Rd
Crestwood, KY 40014


Creswell Elementary PTA
Norwela Council 215
2901 Creswell Ave
Shreveport, LA 71104


Creswell Vfw Post 4039
Oregon Trail Council 697
111 S 10th St
Creswell, OR 97426


Crete Construction   Development LLC
1405 Flat Top Rd
P.O. Box 601
Cool Ridge, WV 25825
Crete High School
Cornhusker Council 324
1750 Iris Ave
Crete, NE 68333


Crete Lions Club
Cornhusker Council 324
614 E 1st St
Crete, NE 68333


Crete Utd Methodist Ch Youth Grp
Pathway To Adventure 456
1321 Main St
Crete, Il 60417


Creve Coeur Christian Church
W D Boyce 138
101 S Thorncrest Ave
Creve Coeur, IL 61610


Crew 1872 Alumni Assoc
Longhorn Council 662
3217 Meadowbrook Dr
Fort Worth, TX 76103


Crew Janci LLP
Attn Stephen Crew
1200 NW Naito Pkwy, Ste 500
Portland, OR 97209


Crew Janci LLP
Client Trust Account
1650 NW Naito Pkwy, Ste 125
Portland, OR 97209


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Attn S. Crew, P. Janci, A. Seo
re Plaintiff
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Crew Janci, LLP
Attn S. Crew, P. Janci, W. Stewart
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Attn S. Crew, P. Janci, H. Mcmilan
re Plaintiff
1650 NW Naito Pkwy, Ste 125
Portland, OR 97209


Crews Control
11820 W Market Pl
Fulton, MD 20759


Crews Control
11820 W Market Pl, Ste L
Fulton, MD 20759


Crews Utd Methodist Church
Old Hickory Council 427
4150 Reidsville Rd
Winston Salem, NC 27101


Crgc Educational Foundation Inc
Cascade Pacific Council 492
9377 S Barnards Rd
Canby, OR 97013


Crichfield School PTA
Lasalle Council 165
336 W Johnson Rd
Laporte, IN 46350
Cridersville Utd Methodist Church
Black Swamp Area Council 449
105 Shawnee Rd
Cridersville, OH 45806


Crieve Hall Church Of Christ
Middle Tennessee Council 560
4806 Trousdale Dr
Nashville, TN 37220


Crievewood Umc Mens Club
Middle Tennessee Council 560
451 Hogan Rd
Nashville, TN 37220


Crievewood Utd Methodist Mens Club
Middle Tennessee Council 560
451 Hogan Rd
Nashville, TN 37220


Crimewatch Security Inc
20 Gardenia Ln
Hicksville, NY 11801


Crimora Ruritan Club
Stonewall Jackson Council 763
P.O. Box 337
Crimora, VA 24431


Crinos Extreme Martial Arts
Suffolk County Council Inc 404
2460 Nesconset Hwy
Stony Brook, NY 11790


Cripple Creek Fire Dept
Pikes Peak Council 060
147 E Bennett Ave
Cripple Creek, CO 80813


Crisp County Fire Rescue
South Georgia Council 098
112 Eddie Rd
Cordele, GA 31015


Crisp County Sheriff S Office
South Georgia Council 098
196 Ga Hwy 300 S
Drug and Education Account
Cordele, GA 31015


Crispus Attucks Rec Center
Baltimore Area Council 220
1601 Madison Ave
Baltimore, MD 21217


Cristal Razo
Address Redacted


Cristi Richardson
Address Redacted


Cristin Collings
Address Redacted


Cristina Goodwin
Address Redacted


Cristina Johnson
Address Redacted


Cristina Van Putten
Address Redacted


Cristina Wells
Address Redacted


Cristo Rey Catholic Parish
Yucca Council 573
8011 Williamette Ave
El Paso, TX 79907
Cristobal Coca
Address Redacted


Cristopher Casteel
Address Redacted


Cristopher Wells
Address Redacted


Criswell Robinson Post 71
Quapaw Area Council 018
116 N 1st St
Cabot, AR 72023


Critical Power Services Inc
4732 Lebanon Rd
Charlotte, NC 28227


Critter Control Of St Louis
8625 Lackland Rd
St Louis, MO 63114


Crockett Early College High School
Capitol Area Council 564
5601 Manchaca Rd
Austin, TX 78745


Crockett Lions Club
Mt Diablo‐Silverado Council 023
51 Rolph Park Dr
Crockett, CA 94525


Crockett Striped Bass Club
Mt Diablo‐Silverado Council 023
995 Loring Ave
Crockett, CA 94525


Crockett Virtus Social Club Inc
Mt Diablo‐Silverado Council 023
40 Grand View Ave
Crockett, CA 94525
Croft Corners Fire Co/Vfw Post 170
Hudson Valley Council 374
7 Spackenkill Rd
Poughkeepsie, NY 12603


Cromer Babb Porter    Hicks
1418 Laurel St, Ste A
Columbia, SC 29201


Cromer PTO
Grand Canyon Council 010
7150 Silver Saddle Rd
Flagstaff, AZ 86004


Cromie School Ptc
Great Lakes Fsc 272
29797 Gilbert Dr
Warren, MI 48093


Cromwell Court
Cape Cod and Islands Cncl 224
168 Barnstable Rd
Hyannis, MA 02601


Cromwell Fire Dept
Connecticut Rivers Council, Bsa 066
82 Court St
Cromwell, CT 06416


Cronomer Valley Fire Dept
Hudson Valley Council 374
296 N Plank Rd
Newburgh, NY 12550


Crooked River Ranch Lions Club
Crater Lake Council 491
P.O. Box 1163
Crooked River Ranch, OR 97760


Crooks Clothing Co
226 Public Sq
Greenfield, IA 50849


Crosby Ace Hardware
395 S 100 E
Kanab, UT 84741


Crosby Community Club
Chief Seattle Council 609
P.O. Box 305
Seabeck, WA 98380


Crosby Food   Vending
4112 Garland Dr
Fort Worth, TX 76117


Crosby Utd Methodist Church
Sam Houston Area Council 576
1334 Runneburg Rd
Crosby, TX 77532


Crosier S Sanitary Service Inc
19 Auction House Rd
Lansing, WV 25862


Crosier S Sanitary Service Inc
P.O. Box 250
Lansing, VA 25862


Crosman Corp
P.O. Box 8000
Department No 843
Buffalo, NY 14267


Cross   Crown Lutheran Church
Chief Seattle Council 609
10940 SE 168th St
Renton, WA 98055


Cross And Crown Lutheran Church
California Inland Empire Council 045
6723 Etiwanda Ave
Rancho Cucamonga, CA 91739


Cross And Crown Lutheran Church
Mecklenburg County Council 415
300 Pineville Matthews Rd
Matthews, NC 28105


Cross Church
Alamo Area Council 583
814 N Bauer St
Seguin, TX 78155


Cross Creek Charter Academy Ptc
President Gerald R Ford 781
7701 Kalamazoo Ave Se
Byron Center, MI 49315


Cross Creek Community Church
Buckskin 617
2175 Cross Creek Rd
Buffalo, WV 25033


Cross Crown Lutheran Church
Mecklenburg County Council 415
300 Pineville Matthews Rd
Matthews, NC 28105


Cross D Productions
121 E Exchange Ave
Ft Worth, TX 76106


Cross In The Desert Utd Methodist
Grand Canyon Council 010
12835 N 32nd St
Phoenix, AZ 85032


Cross In The Desert Utd Methodist Ch
Grand Canyon Council 010
12835 N 32Nd St
Phoenix, Az 85032
Cross Lanes Methodist Church
Buckskin 617
5320 Frontier Dr
Cross Lanes, WV 25313


Cross Lanes Utd Methodist
Buckskin 617
5320 Frontier Dr
Charleston, WV 25313


Cross Lanes Utd Methodist Church
Buckskin 617
5320 Frontier Dr
Charleston, WV 25313


Cross Lutheran Church
Potawatomi Area Council 651
W710 Gopher Hill Rd
Ixonia, WI 53036


Cross Lutheran Church‐Mens Club
Three Harbors Council 636
126 Chapel Ter
Burlington, WI 53105


Cross Mills Fire Dept
Narragansett 546
4258 Old Post Rd
Charlestown, RI 02813


Cross Of Christ Lutheran Church
Central N Carolina Council 416
4500 Rimer Rd
Concord, NC 28025


Cross Of Christ Lutheran Church
Chief Seattle Council 609
411 156th Ave Ne
Bellevue, WA 98007


Cross Of Glory Lutheran Church
Northern Star Council 250
5929 Brooklyn Blvd
Brooklyn Center, MN 55429


Cross Of Glory Lutheran Church
Rainbow Council 702
14719 W 163rd St
Homer Glen, IL 60491


Cross Of Grace Lutheran Church
Crossroads of America 160
3519 S 600 W
New Palestine, IN 46163


Cross Of Hope Lutheran Church
Great Swest Council 412
6104 Taylor Ranch Rd Nw
Albuquerque, NM 87120


Cross Of Life Lutheran Church
Atlanta Area Council 092
1000 Hembree Rd
Roswell, GA 30076


Cross Plains Lions Club
Glaciers Edge Council 620
P.O. Box 215
Cross Plains, WI 53528


Cross Plains Umc
Middle Tennessee Council 560
7665 Tennessee 25
Cross Plains, TN 37049


Cross Point Alliance Church
Inland Nwest Council 611
1330 Powers Ave
Lewiston, ID 83501


Cross Pointe Swim   Racquet Inc
National Capital Area Council 082
8275 Glen Eagles Ln
Fairfax Station, VA 22039


Cross Purpose
Denver Area Council 061
2959 Franklin St
Denver, CO 80205


Cross Roads Commty
Presbyterian Church
Moraine Trails Council 500
1St And Main Sts
Leechburg, Pa 15656


Cross Roads Utd Methodist Church
Chickasaw Council 558
9315 E Shelby Dr
Collierville, TN 38017


Cross Roads Utd Methodist Church
Simon Kenton Council 441
1100 S Hague Ave
Columbus, OH 43204


Cross Village
President Gerald R Ford 781
4200 W Levering Rd
Harbor Springs, MI 49740


Cross Winds Presbyterian Church
Grand Canyon Council 010
20125 N 15th Ave
Phoenix, AZ 85027


Crossett Lions Club
De Soto Area Council 013
603 Hickory St
Crossett, AR 71635


Crossgates Methodist Church
Andrew Jackson Council 303
23 Crossgates Dr
Brandon, MS 39042
Crossgates Utd Methodist Church
Andrew Jackson Council 303
23 Crossgates Dr
Brandon, MS 39042


Crosshatch Studio
P.O. Box 192
Berea, KY 40403


Crosslife Free Will Baptist Church
Crossroads of America 160
7030 E Stop 11 Rd
Indianapolis, IN 46259


Crossman Corp
7629 Routes 5   20
East Bloomfield, NY 14443


Crossnore Volunteer Fire Dept Auxiliary
Daniel Boone Council 414
P.O. Box 507
Crossnore, Nc 28616


Crosspoint Church
California Inland Empire Council 045
6950 Edison Ave
Chino, CA 91710


Crosspoint Church Of Christ
Circle Ten Council 571
3020 Bardin Rd
Grand Prairie, TX 75052


Crosspointe Alliance Church
North Campus
Mecklenburg County Council 415
3242 Ridge Rd
Charlotte, Nc 28269


Crosspointe Chruch
First Freewill Baptist Church
Last Frontier Council 480
2601 24Th Ave Se
Norman, Ok 73071


Crosspointe Church
Arbuckle Area Council 468
P.O. Box 39
Ada, OK 74821


Crosspointe Church
Quapaw Area Council 018
P.O. Box 735
Bryant, AR 72089


Crossroad Lutheran Church
North Florida Council 087
5101 Lakeshore Dr W
Orange Park, FL 32003


Crossroad Utd Methodist Church
North Florida Council 087
10005 Gate Pkwy N
Jacksonville, FL 32246


Crossroads Assembly Of God
Sequoyah Council 713
2747 Tennessee 66
Rogersville, TN 37857


Crossroads Assembly Of God
W D Boyce 138
P.O. Box 578
Elmwood, IL 61529


Crossroads Baptist Church
Alabama‐Florida Council 003
3276 Main St
Cottondale, FL 32431


Crossroads Baptist Church
Alamo Area Council 583
8300 Tezel Rd
San Antonio, TX 78254


Crossroads Baptist Church
Sam Houston Area Council 576
5000 College Park Dr
The Woodlands, TX 77384


Crossroads Christian Church
Sequoyah Council 713
1300 Suncrest Dr
Johnson City, TN 37615


Crossroads Church
Golden Empire Council 047
10050 Wolf Rd
Grass Valley, CA 95949


Crossroads Church
Northern Star Council 250
17671 Glacier Way
Lakeville, MN 55044


Crossroads Church
Occoneechee 421
6781 Camden Rd
Fayetteville, NC 28306


Crossroads Church
Simon Kenton Council 441
5679 Tarlton Rd
Circleville, OH 43113


Crossroads Church Of The Nazarene
Baltimore Area Council 220
2750 Rogers Ave
Ellicott City, MD 21043


Crossroads Coalition
Quapaw Area Council 018
1790 N Falls Blvd
Wynne, AR 72396
Crossroads Commty
Center Bellevue B Gc
Chief Seattle Council 609
16000 Ne 10Th St
Bellevue, Wa 98008


Crossroads Commty
Church Of The Nazarene
Winnebago Council, Bsa 173
3622 Hammond Ave
Waterloo, Ia 50702


Crossroads Community Church
Cascade Pacific Council 492
40257 Hunt Ln
Astoria, OR 97103


Crossroads Community Church
Longs Peak Council 062
P.O. Box 537
Pine Bluffs, WY 82082


Crossroads Community Church
Old N State Council 070
P.O. Box 355
Stokesdale, NC 27357


Crossroads Designs LLC
P.O. Box 10323
Springfield, MO 65808


Crossroads Elementary School
Lincoln Heritage Council 205
156 Erin Cir
Mount Washington, KY 40047


Crossroads Fellowship Cma
Middle Tennessee Council 560
2687 Tiny Town Rd
Clarksville, TN 37042
Crossroads Lutheran Church
Palmetto Council 549
8511 Shelley Mullis Rd
Fort Mill, SC 29707


Crossroads Neighborhood Church
Chief Seattle Council 609
7555 Old Military Rd Ne
Bremerton, WA 98311


Crossroads Of America
7125 Fall Creek Rd N
Indianapolis, IN 46256


Crossroads Of America Council No 160
7125 Fall Creek Rd N
Indianapolis, IN 46256


Crossroads Presbyterian Church
Cradle of Liberty Council 525
10 W Cherry Ln
Limerick, PA 19468


Crossroads Presbyterian Church Mens Club
Laurel Highlands Council 527
2310 Haymaker Rd
Monroeville, PA 15146


Crossroads Presbyterian Church Mens Club
Laurel Highlands Council 527
Haymaker Rd
Crossroads Church
Monroeville, PA 15146


Crossroads School
Patriots Path Council 358
45 Cardinal Dr
Westfield, NJ 07090


Crossroads Utd Methodist Ch Belton
Heart Of America Council 307
P.O. Box 167
Belton, Mo 64012


Crossroads Utd Methodist Church
Buckskin 617
3146 Saltwell Rd
Huntington, WV 25705


Crossroads Utd Methodist Church
National Capital Area Council 082
43454 Crossroads Dr
Ashburn, VA 20147


Crossroads Utd Methodist Church
Snake River Council 111
P.O. Box 326
Kimberly, ID 83341


Crossroads Utd Methodist Church
W D Boyce 138
1420 N Main St
Washington, IL 61571


Crossroads Wesleyan Church
Black Hills Area Council 695 695
1823 Sheridan Lake Rd
Rapid City, SD 57702


Crossville First Utd Methodist Church
Great Smoky Mountain Council 557
100 Braun St
Crossville, TN 38555


Crossville Latterday Saints Church
Great Smoky Mountain Council 557
1550 Genesis Rd
Crossville, TN 38571


Crossville Lions Club
Attn Carl Cromwell
P.O. Box 3277
Crossville, TN 38555
Crossway Church
Andrew Jackson Council 303
1825 Hwy 615
Vicksburg, MS 39180


Crossway Community Church
Dan Beard Council, Bsa 438
9091 New Haven Rd
Harrison, OH 45030


Crosswicks Community Assoc
Garden State Council 690
P.O. Box 128
Crosswicks, NJ 08515


Crosswind Golf Club
232 James B Blackburn Dr
Savannah, GA 31408


Cross‐Wind Utd Methodist Church
Sagamore Council 162
616 N State Rd 25
Logansport, IN 46947


Croswell First Utd Methodist Church
Water and Woods Council 782
13 N Howard Ave
Croswell, MI 48422


Croswell Vip Motorcoach Services Inc
975 W Main St
Williamsburg, OH 45176‐1147


Crothersville First Baptist Church
Hoosier Trails Council 145 145
401 E Howard St
Crothersville, IN 47229


Croton Elemenraty School
Central Florida Council 083
1449 Croton Rd
Melbourne, FL 32935


Croton Ems
Westchester Putnam 388
44 Wayne St
Croton On Hudson, NY 10520


Croton Falls Fire Dept
Westchester Putnam 388, Route 22
Croton Falls, NY 10519


Croton Utd Methodist Church
Simon Kenton Council 441
75 N High St
P.O. Box 127
Croton, OH 43013


Croton Volunteer Fire Dept
Westchester Putnam 388
30 Wayne St
Croton On Hudson, NY 10520


Crotty   Schlitz LLC
120 N Lasalle St, 20th Fl
Chicago, IL 60602


Crouch Elementary School ‐ Gifw
Longhorn Council 662
2810 Prairie Hill Dr
Grand Prairie, TX 75051


Crouse Utd Methodist Church
Piedmont Council 420
P.O. Box 43
Crouse, NC 28033


Crow Shooting Supply
200 S Front St
Montezuma, IA 50171
Crowd9 Pty Ltd
33B Swan Walk
Chelsea, Vic 3196
Australia


Crowley Barnum American Legion Post 25
Leatherstocking 400
43 W Main St
Mohawk, NY 13407


Crowley First Utd Methodist Church
Longhorn Council 662
509 Peach St
Crowley, TX 76036


Crowley Logistics Inc
P.O. Box 2684
Carol Stream, IL 60132‐2684


Crown Awards
Nine Skyline Dr
Hawthorne, NY 10532


Crown Equipment Corp
Black Swamp Area Council 449
44 S Washington St
New Bremen, OH 45869


Crown Equipment Corp
dba Crown Lift Trucks
8401 Wmoreland DR
Concord, NC 28027


Crown Equipment Corp
P.O. Box 641173
Cincinnati, OH 45264‐1173


Crown Of Glory Lutheran
Northern Star Council 250
1141 Cardinal St
Chaska, MN 55318
Crown Of Life Lutheran Church
Grand Teton Council 107
3856 E 300 N
Rigby, ID 83442


Crown Of Life Lutheran Church
Great Lakes Fsc 272
2975 Dutton Rd
Rochester Hills, MI 48306


Crown Plaza Hotel
1 Resort Dr
Ashville, NC 28806


Crown Trophy
420 Grapevine Hwy, Ste 116
Hurst, TX 76054


Crowne Plaza
390 Forsgate Dr
Monroe Township, NJ 08831


Crowne Plaza Baltimore
2004 Greenspring Dr
Timonium, MD 21093‐4114


Crowne Plaza Dublin
600 Metro Pl N
Dublin, OH 43017


Crowne Plaza Hotel Pittsburgh
1160 Thorn Run Rd
Moon Township, PA 15108


Crowne Plaza Hotels
Washington National Airport
1480 Crystal Dr
Arlington, VA 22202


Crowne Plaza Resort Asheville
One Resort Dr
Asheville, NC 28806


Crowne Plaza San Marcos
One N San Marcos Pl
Chandler, AZ 85225


Crozet Utd Methodist Church
Stonewall Jackson Council 763
1156 Crozet Ave
P.O. Box 70
Crozet, VA 22932


Cruz J Garibay
Address Redacted


Crysant G Elliott
Address Redacted


Crystal Awards Inc
dba Crystal Images Inc
1915 Peters Rd 313
Irving, TX 75061‐3246


Crystal Bay Corp
dba Woodlund Homes
P.O. Box 600
Wyoming, MN 55092


Crystal Briggs
Address Redacted


Crystal Finder
Address Redacted


Crystal Gilliatt
Address Redacted


Crystal Grange
Chief Seattle Council 609
2160 NE Paulson Rd
Poulsbo, WA 98370


Crystal Hooper
Address Redacted


Crystal Lake Elementary A Commty
Partnership School
Greater Tampa Bay Area 089
700 Galvin Dr
Lakeland, Fl 33801


Crystal Lakes Elementary
Gulf Stream Council 085
6050 Gateway Blvd
Boynton Beach, FL 33472


Crystal Lions Club
President Gerald R Ford 781
2530 S Shore Dr
Crystal, MI 48818


Crystal Mann
Address Redacted


Crystal Marchan
Address Redacted


Crystal Mayfield
Address Redacted


Crystal Mischel
Address Redacted


Crystal Police Dept
Northern Star Council 250
4141 Douglas Dr N
Crystal, MN 55422


Crystal River Utd Methodist Church
Greater Tampa Bay Area 089
4801 N Citrus Ave
Crystal River, FL 34428


Crystal Springs
Narragansett 546
38 Narrows Rd
Assonet, MA 02702


Crystal Springs Utd Methodist Church
Pacific Skyline Council 031
2145 Bunker Hill Dr
San Mateo, CA 94402


Crystal Springs Ward ‐ Filer Stake
Snake River Council 111
2263 E 4195 N
Filer, ID 83328


Crystals Personal Touch
21 W Main St
Rockville, CT 06066


Crystle Swager
Address Redacted


Cs 134 George F Bristow School Sr
Greater New York Councils, Bsa 640
1330 Bristow St
Bronx, NY 10459


Cs Creative Solutions LLC
303 S Broadway, Ste 200‐273
Denver, CO 80209


Cs Land
Utah National Parks 591
355 E 100 N, Apt 9
Vernal, UT 84078


Csc Holdings LLC
740 Centre View Blvd
Crestview Hills, KY 41017


Csc Holdings LLC
Cp Hartsfield
dba Renaissance Conc. Atlanta Airport
1 Hartsfield Centre Pkwy
Atlanta, GA 30354


Csc Holdings LLC
Cp Sanibel LLC
dba Sanibel Harbour Marriott Resort Spa
17260 Harbour Pointe Dr
Ft Myers, FL 33908


Csd Staff Assoc
Northwest Georgia Council 100
3624 Everett Springs Rd Ne
Armuchee, GA 30105


Cse Inc
150 Interstate N Pkwy
Atlanta, GA 30339


Csfd Explorer Post 1894
5280 Bluestem Dr
Colorado Springs, CO 80917


Csp Of Northeast Ga
Northeast Georgia Council 101
56 Franklin Spring Cir
Royston, GA 30662


Cspa And Vfw Post 993
Tidewater Council 596
70 Morrison St
Portsmouth, VA 23702


Csrsaa
Chief Seattle Council 609
2115 201st Pl SE, Unit A4
Bothell, WA 98012
Cstars, Inc
1938 Tyler Ave, Suite Q
S El Monte, CA 91733


Csu Sacramento
Attn Mike Dear
6000 J St
Sacramento, CA 95819


Csu San Bernardino
Attn Registrars Office
5500 University Pkwy
San Bernardino, CA 92407‐2393


Ct Corp
P.O. Box 4349
Carol Stream, IL 60197‐4349


Ctbook Holdings LLC
dba Bulk Bookstore
3330 NW Yeon Ave, Ste 230
Portland, OR 97210


Ctiy Of Irondale
Revenue Dept
P.O. Box 100188
Irondale, AL 35210‐0188


Ctl Thompson Texas, LLC Inc
1971 W 12th Ave
Denver, CO 80204


Ctpu
Greater Yosemite Council 059
P.O. Box 502
Woodbridge, CA 95258


Ctr For Architecture   Design
Kansas City
Heart Of America Council 307
1801 Mcgee St, Ste 100
Kansas City, Mo 64108


Ctr For Individualized Trng      Edu
Narragansett 546
15 Bough St
Providence, Ri 02909


Ctr For Marine Sciences   Tech
East Carolina Council 426
303 College Cir
Morehead City, Nc 28557


Ctrton 2Nd Ward Ch Jesus Ch
Westark Area Council 016
950 Seba Rd
Centerton, Ar 72719


Cub Parents Of Marie Riviere
Southeast Louisiana Council 214
1564 Lake Ave
Metairie, LA 70005


Cub Run Elementary School PTA
National Capital Area Council 082
5301 Sully Station Dr
Centreville, VA 20120


Cub Scout Boosters Of Hammond Elementary
Baltimore Area Council 220
8325 Mary Lee Ln
Laurel, MD 20723


Cub Scout Of America‐Pack 210
c/o Trisha Burton
266 P.R. 51326
Pittsburg, TX 75686


Cub Scout Pack 335 Inc
Gulf Stream Council 085
22374 Garrison St
Boca Raton, FL 33428
Cub Scout Pack 737
Greater Los Angeles Area 033
23330 Quail Summit Dr
Diamond Bar, CA 91765


Cub Scout Pack 815 Of La Mirada
Greater Los Angeles Area 033
14817 Greenworth Dr
La Mirada, CA 90638


Cub Scout Pack 844 Inc
Central Florida Council 083
701 Green Ct
Kissimmee, FL 34759


Cub Scout Pack 851 Inc
Greater Los Angeles Area 033
3115 Merrill Dr, Apt 48
Torrance, CA 90503


Cub Scout Pack 95 AL Post 40
Las Vegas Area Council 328
425 E Van Wagenen St
Henderson, Nv 89015


Cub Scout Parents Of Kellar School
W D Boyce 138
6413 N Mount Hawley Rd
Peoria, IL 61614


Cub Scout Parents Of Mcgavock Elementary
Middle Tennessee Council 560
85 Fairway Dr
Nashville, TN 37214


Cub Scout Parents Of Metairie Academy
Southeast Louisiana Council 214
201 Metairie Rd
Metairie, LA 70005
Cub Scout Parents Wa Wright Elem
Middle Tennessee Council 560
802 Copperfield Ct
Mount Juliet, Tn 37122


Cub Scouts ‐ LDS Tucson East Stake
Catalina Council 011
6901 E Kenyon Dr
Tucson, AZ 85710


Cuba City Lions Club
Blackhawk Area 660
512 E Webster St
Cuba City, WI 53807


Cuba Utd Methodist Church
Allegheny Highlands Council 382
49 E Main St
Cuba, NY 14727


Cubby Boat Sjc, LLC
6186 Woodbury Rd
Boca Raton, FL 33433


Cubby Boat Sjc, LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Cube Creative Design Inc
110 Heywood Rd, 6A
Arden, NC 28704


Cucamonga Christian Fellowship
California Inland Empire Council 045
11376 5th St
Rancho Cucamonga, CA 91730


Cuddebackville Reformed Church
Hudson Valley Council 374
P.O. Box 293
Cuddebackville, NY 12729
Cudjoe Sales Fishermens Warehouse
22536 Overseas Hwy
Cudjoe Key, FL 33042


Cuero First Utd Methodist Church
Capitol Area Council 564
301 E Courthouse St
Cuero, TX 77954


Cul Usvi Inc
4400 Weymouth Rhymer Rd
St Thomas, VI 00802‐2220


Cul Usvi Inc
dba Cost U Less
4300 Sion Farm Christiansted
St Croix, VI 00820


Culinaire International Inc
George W Bush Presidential Ctr
2943 Smu Blvd
University Park, TX 75205


Culinex
1802 1st Ave S
Fargo, ND 58103


Cullen Assoc Hope Center
Norwela Council 215
401 E Rd
Cullen, LA 71021


Cullen M Mcdowell
Address Redacted


Cullens Youth Assoc, Inc, The
Connecticut Yankee Council Bsa 072
P.O. Box 323
Newtown, CT 06470
Culleoka Lions Club
Middle Tennessee Council 560
P.O. Box 143
Culleoka, TN 38451


Culley Entertainment LLC
dba Puroclean First Response
11218 S Pipeline Rd
Euless, TX 76040


Culligan Of Dfw
3201 Premier Dr, Ste 300
Irving, TX 75063‐6075


Cullman County
500 2nd Ave Sw
Cullman, AL 35055


Cullowhee Utd Methodist Church
Daniel Boone Council 414
P.O. Box 1267
Cullowhee, NC 28723


Culpeper Police Dept
National Capital Area Council 082
740 Old Brandy Rd
Culpeper, VA 22701


Cultural Arts Academy Charter School
Greater New York Councils, Bsa 640
1400 Linden Blvd
Brooklyn, NY 11212


Culture One World LLC
5202 Wehawken Rd
Bethesda, MD 20816


Culture One World LLC
P.O. Box 40615
Washington, DC 20016
Culver City Elks Lodge 1917
W.L.A.C.C. 051
11160 Washington Pl
Culver City, CA 90232


Culver City Police Dept
W.L.A.C.C. 051
4040 Duquesne Ave
Culver City, CA 90232


Culver Education Foundation
Woodcraft Camp
Lasalle Council 165
1300 Academy Rd 120
Culver, In 46511


Cumberland   Happy Hollow Parent Council
Sagamore Council 162
1130 N Salisbury St
West Lafayette, IN 47906


Cumberland ‐ North Yarmouth Lions Club
Pine Tree Council 218
105 Middle Rd
Cumberland, ME 04021


Cumberland Baptist Church
Great Smoky Mountain Council 557
5600 Wern Ave
Knoxville, TN 37921


Cumberland Community Church
Laurel Highlands Council 527
12900 Bedford Rd Ne
Cumberland, MD 21502


Cumberland County Register Of Deeds
117 Dick St, Rm 114
Cumberland County Cthouse
Fayetteville, NC 28301
Cumberland County Sheriff Office
Garden State Council 690
220 Laurel St N
Bridgeton, NJ 08302


Cumberland County Sheriffs Office
Pine Tree Council 218
36 County Way
Portland, ME 04102


Cumberland County Wildlfe Club
Occoneechee 421
2611 Mellwood Dr
Fayetteville, NC 28306


Cumberland El School Friends Of Pack 400
Three Harbors Council 636
4780 N Marlborough Dr
Whitefish Bay, WI 53211


Cumberland Elementary School PTO
Water and Woods Council 782
2801 Cumberland Rd
Lansing, MI 48906


Cumberland Fire Departmant
Pine Tree Council 218
366 Tuttle Rd
Cumberland, ME 04021


Cumberland Presbyterian Ch
West Tennessee Area Council 559
2280 Parr Ave
Dyersburg, TN 38024


Cumberland Presbyterian Church
Great Smoky Mountain Council 557
503 College Ave
Loudon, TN 37774


Cumberland Presbyterian Church
Greater St Louis Area Council 312
1700 Outer W Delaware
Fairfield, IL 62837


Cumberland Presbyterian Church
Greater St Louis Area Council 312
300 NW 5th St
Fairfield, IL 62837


Cumberland Presbyterian Church
Last Frontier Council 480
P.O. Box 8
Burns Flat, OK 73624


Cumberland Presbyterian Church
Middle Tennessee Council 560
P.O. Box 176
Winchester, TN 37398


Cumberland Presbyterian Church
West Tennessee Area Council 559
P.O. Box 181
Dyer, TN 38330


Cumberland Rd. Elementary PTO
Crossroads of America 160
13535 Cumberland Rd
Fishers, IN 46038


Cumberland University I
Middle Tennessee Council 560
1 Cumberland Sq
Lebanon, TN 37087


Cumberland University Ii
Middle Tennessee Council 560
1 Cumberland Sq
Lebanon, TN 37087


Cumberland Utd Methodist Church
Crossroads of America 160
219 N Muessing St
Indianapolis, IN 46229
Cumberland Utd Methodist Church
Occoneechee 421
2262 George Owen Rd
Fayetteville, NC 28306


Cumins
P.O. Box 339
Mt Prospect, IL 60056


Cumming American Legion Post 562
Mid Iowa Council 177
1728 Holly Dr
Norwalk, IA 50211


Cumming First Utd Methodist Church
Northeast Georgia Council 101
770 Canton Hwy
Cumming, GA 30040


Cumming First Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 606
Cumming, GA 30028


Cumming Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 606
Cumming, GA 30028


Cummins Canada Ulc
P.O. Box 2521 Stn M
Calgary, Ab T2P 0T6
Canada


Cummins Sales   Service
1600 Buerkle Rd
White Bear Lake, MN 55110


Cummins Sales    Service
Cummins Npower
Nw7686, P.O. Box 1450
Minneapolis, MN 55485‐7686


Cunico Tire Co
1042 S 2nd St
Raton, NM 87740


Cunningham Electric Inc
13445 Villa Rd
Ely, MN 55731‐8188


Cunningham Park PTA
National Capital Area Council 082
1001 Park St Se
Vienna, VA 22180


Cupeyville School
Puerto Rico Council 661
P.O. Box 192705
San Juan, PR 00919


Curative Care Network Inc
Three Harbors Council 636
1000 N 92nd St
Milwaukee, WI 53226


Cure Of Ars Catholic School
Heart of America Council 307
9401 Mission Rd
Leawood, KS 66206


Cure Of Ars R C Church
Theodore Roosevelt Council 386
2323 Merrick Ave
Merrick, NY 11566


Curlew Castings LLC
c/o Walter Matia
18327A Comus Rd
Dickerson, MD 20842
Currie Community Baptist Church
Cape Fear Council 425
28396 Hwy 210 W
Currie, NC 28457


Currie Systems, Inc
P.O. Box 12757
Huntsville, AL 35815


Curry College
Attn Financial Services
1071 Blue Hill Ave
Milton, MA 02186‐2395


Curry High School Ffa
Black Warrior Council 006
155 Yellow Jacket Dr
Jasper, AL 35503


Curry Printing Inc
1109 Pamela Dr
Euless, TX 76040


Curt Carleen
Address Redacted


Curtis   Curtis, Inc
4500 N Prince
Clovis, NM 88101‐9714


Curtis Alexander
Address Redacted


Curtis Andrew Gardner
Address Redacted


Curtis Bay Elementary/Middle
Baltimore Area Council 220
4301 W Bay Ave
Brooklyn, MD 21225
Curtis Bay Rec Center
Baltimore Area Council 220
1630 Filbert St
Baltimore, MD 21226


Curtis Chastain    O Donnell Clark
And Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Curtis Conde
Address Redacted


Curtis Edward George
Address Redacted


Curtis Franks
Address Redacted


Curtis G Shaw
Address Redacted


Curtis Grimm
Address Redacted


Curtis Haak
Address Redacted


Curtis Howard
Address Redacted


Curtis Hunt
Address Redacted


Curtis Hurt Jr
Address Redacted


Curtis J Kolke
Address Redacted


Curtis J Waidley
Address Redacted


Curtis Miller
Address Redacted


Curtis Olson Vfw
Central Minnesota 296
401 Pacific Ave
Randall, MN 56475


Curtis Palmer
Address Redacted


Curtis Pruett
Address Redacted


Curtis S Brugler
Address Redacted


Curtis S Wais
Address Redacted


Curtis W Cox
Address Redacted


Curtis Wayne Palmer
Address Redacted


Curtistene Williamson
Address Redacted


Curwensville Utd Methodist Church
Bucktail Council 509
700 State St
Curwensville, PA 16833
Cushing Elementary School PTO
Potawatomi Area Council 651
227 Genesee St
Delafield, WI 53018


Cushing First Christian Church
Cimarron Council 474
300 E Moses St
Cushing, OK 74023


Cushing First Utd Methodist Church
Cimarron Council 474
930 S Little Ave
Cushing, OK 74023


Cushing Holland
Address Redacted


Custer Baker Intermediate School
Crossroads of America 160
711 E State Rd 44
Franklin, IN 46131


Custer Road Utd Methodist Church
Circle Ten Council 571
6601 Custer Rd
Plano, TX 75023


Custer Rotary Club   Bh Electric Coop
Black Hills Area Council 695 695
235 S 9th St
Custer, SD 57730


Custer Sportsmens Club Inc
Mount Baker Council, Bsa 606
3000 Birch Bay Lynden Rd
Custer, WA 98240


Custom Accessories, Inc
5900 Ami Dr
Richmond, IL 60071
Custom Branded Sportswear Inc
dba Ping Apparel
7007 College Blvd, Ste 700
Overland Park, KS 66211


Custom Card Systems Int L
P.O. Box 342
Addison, TX 75001‐0342


Custom Concentrates
One Madison St
East Rutherford, NJ 07073


Custom Costumes And Creations
4128 Bristlecone Ln
Ft Worth, TX 76137


Custom Earth Promos, LLC
1200 NW 17th Ave, Ste 15
Delivery Beach, FL 33445


Custom Embroidery    Screen Printing
3301 Conflans Rd 108
Irving, TX 75061


Custom Food Group
1903 Anson Rd
Dallas, TX 75235


Custom Greenscaping Inc
1780 Hurd Dr
Irving, TX 75038


Custom Ink
Attn Accounts Receivable
P.O. Box 759439
Baltimore, MD 21275‐9439


Custom Laminating Corp
5000 River Rd
Mount Bethel, PA 18343‐5610


Custom Lawn Care Services
Great Smoky Mountain Council 557
3352 Old Airport Rd
White Pine, TN 37890


Custom Packaging Inc
1315 W Baddour Pkwy
Lebanon, IN 37087‐2511


Custom Printing   Copy Inc
1330 Main St
East Hartford, CT 06108


Custom Printing   Copy, Inc
P.O. Box 7028
St Louis, MO 63177‐1028


Custom Publishing Council Inc
30 W 26th St 3rd Fl
New York, NY 10010


Custom Security LLC
8 Stephen Dr
Bedford, NH 03110‐5933


Custom Theaters, Inc
301 W Sheridan St
Ely, MN 55731


Custom Tied
B George Hammond
4120 Dixie Ave
Chambersburg, PA 17202


Customer Care Center Wiley
10475 Crosspoint Blvd
Indianapolis, IN 46256
Customer Minded Assoc Inc
P.O. Box 1289
Lutz, FL 33548‐1289


Customs   Border Protection
Lake Erie Council 440
6747 Engle Rd
Middleburg Hts, OH 44130


Customs   Border Protection
Long Beach Area Council 032
301 E Ocean Blvd, Ste 1400
Long Beach, CA 90802


Customs And Border Protection
Chief Seattle Council 609
1021 SW Klickitat Way, Ste D‐103
Seatle, WA 98134


Customs And Border Protection
Greater Tampa Bay Area 089
1624 E 7th Ave, Ste 101
Tampa, FL 33605


Customs And Border Protection
Mount Baker Council, Bsa 606
9901 Pacific Hwy
Blaine, WA 98230


Customs And Border Protection
Pathway To Adventure 456
610 S Canal St
Chicago, IL 60607


Customs And Border Protection
South Texas Council 577
700 Zaragoza
Laredo, TX 78041


Cut And Shoot Family Lion Club
Sam Houston Area Council 576
P.O. Box 7108
Conroe, TX 77306


Cutesoft Components, Inc
18 Willow Farm Ln
Aurora, On L4G 6K1
Canada


Cutler Bay Fire Sprinkler Inc
8931 SW 197th St
Cutler Bay, FL 33157


Cutler Bay Middle School
South Florida Council 084
19400 Gulfstream Rd
Cutler Bay, FL 33157


Cutler Bay Senior High Stem
South Florida Council 084
8601 SW 212th St
Cutler Bay, FL 33189


Cutter   Buck, Inc
101 Elliott Ave W, Ste 100
Seattle, WA 98119


Cutter   Buck, Inc
P.O. Box 34855
Seattle, WA 98124‐1855


Cutter Scout Reservation Venture Crew
Pacific Skyline Council 031
1150 Chess Dr
Foster City, CA 94404


Cuyahoga Community College
Lake Erie Council 440
11000 W Pleasant Valley Rd
Parma, OH 44130


Cuyahoga Community College District
11000 Pleasant Valley Rd
Parma, OH 44130


Cuyahoga County Sheriff Dept
Lake Erie Council 440
1215 W 3rd St
Cleveland, OH 44115


Cuyahoga Heights Scouting Assoc
Lake Erie Council 440
4863 E 71st St
Cleveland, OH 44125


Cuyler Community Center
Central Florida Council 083
2329 Harry T Moore Ave
Mims, FL 32754


Cv International Inc
P.O. Box 3295
Norfolk, VA 23514


Cvent Inc
P.O. Box 822699
Philadelphia, PA 19182‐2699


Cvhs Race Team Parents Advisory Group
Oregon Trail Council 697
4440 NW Crocus Pl
Corvallis, OR 97330


Cvs Corp
Attn Dsd Merchandise
One Cvs Dr P.O. Box N
Woonsocket, RI 02895


Cvs Pharmacy
P.O. Box 740652
Cincinnati, OH 45274‐0652


Cvs Pharmacy 8549
1207 8th Ave
Menominee, MI 49858


Cvs Systems Inc
1139 S Baldwin Ave
Marion, IN 46953


Cxtec
P.O. Box 5211 Dept 116003
Binghamton, NY 13902‐5211


Cyalume Technologies Inc
96 Windsor St
West Springfield, MA 01089


Cyberhorse Sportswear
3305 E 19th St
Signal Hill, CA 90755


Cybernance Ii Inc
5805 Davenport Divide Rd
Austin, TX 78738


Cybernance Ii Inc
700 N Capital of Texas Hwy, 450
Austin, TX 78746


Cybwv LLC
124 Hylton Ln
Beckley, WV 25801


Cycle Sports Center
4001 N John Young Pkwy
Orlando, FL 32804


Cycling Sports Group
6822 Payshere Cir
Chicago, IL 60674


Cycling Sports Group
6822 Paysphere Cir
Chicago, IL 60674


Cydo
Transatlantic Council, Bsa 802
Box 11671
Dhahran, 31311
Saudi Arabia


Cygnus Applied Research Inc
444 N Michigan Ave 12th Fl
Chicago, IL 60611


Cynamic Chemical Co
1472 Louis Bork Dr
Batavia, IL 60510


Cyndora Gauthreaux
Address Redacted


Cynmar Land    Lawn Care
15888 Co Rd 75
Trinidad, CO 81082


Cynthia A Polman
Address Redacted


Cynthia A Rasmusson
Address Redacted


Cynthia A Wallace, LLC
85 Mill St
Putnam Valley, NY 10579


Cynthia Abbot
Address Redacted


Cynthia Anhorn
Address Redacted
Cynthia Batt
Address Redacted


Cynthia Behm
Address Redacted


Cynthia Bohannon
Address Redacted


Cynthia Bresock
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Cynthia Brown
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Cynthia C Oxendine
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Cynthia Crain
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Cynthia Cunningham
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Cynthia Davis
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Cynthia De Jarnett
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Cynthia Doss
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Cynthia Duraine
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Cynthia Gaines
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Cynthia Gentleman
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Cynthia Gulyas
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Cynthia Hernandez
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Cynthia Holguin
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Cynthia Ira
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Cynthia Johnson
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Cynthia Kay Mcanear
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Cynthia Knowles
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Cynthia Koontz‐Gray
Address Redacted


Cynthia Landry
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Cynthia Lea Lowe
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Cynthia Leatherman
Address Redacted
Cynthia Linnebur
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Cynthia Lowe
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Cynthia Lutonsky
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Cynthia Lynnette Speer
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Cynthia Mann
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Cynthia Marshall
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Cynthia Mckinley
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Cynthia Mcleroy
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Cynthia Morris
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Cynthia Mosley
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Cynthia Mueller
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Cynthia Myers
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Cynthia Pepe
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Cynthia Pierce
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Cynthia Pittman
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Cynthia Powers
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Cynthia Rains
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Cynthia Rhodes
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Cynthia Riggs
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Cynthia Rosales‐Mcelligott
Address Redacted


Cynthia Ruiz
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Cynthia Sellers
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Cynthia Sharp
Address Redacted
Cynthia Stauffer
Address Redacted


Cynthia Stone
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Cynthia Turcotte
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Cynthia Vognetz
Address Redacted


Cynthia Walker
Address Redacted


Cynthia Webb
Address Redacted


Cynthia Wilson
Address Redacted


Cynthia Withers
Address Redacted


Cynthia Zampich
Address Redacted


Cynthiana Elks Lodge 438
Blue Grass Council 204
1544 US Hwy 62 E
Cynthiana, KY 41031


Cynthiana Police Dept
Blue Grass Council 204
104 E Pleasant St, Ste 5
Cynthiana, KY 41031


Cypress Centennial Scouting Lions Club
Sam Houston Area Council 576
P.O. Box 2893
Cypress, TX 77410


Cypress Creek Christian Church
Sam Houston Area Council 576
6823 Cypresswood Dr
Spring, TX 77379


Cypress Creek Emergency Medical Services
Sam Houston Area Council 576
7111 Five Forks Dr
Spring, TX 77379


Cypress Homeschool Assoc
Sam Houston Area Council 576
12320 Barker Cypress Rd PMB 164, Ste 600
Cypress, TX 77429


Cypress Lake Presbyterian Church
Southwest Florida Council 088
8260 Cypress Lake Dr
Fort Myers, FL 33919


Cypress Lake Utd Methodist Church
Southwest Florida Council 088
8570 Cypress Lake Dr
Fort Myers, FL 33919


Cypress Police Dept
Orange County Council 039
5275 Orange Ave
Cypress, CA 90630


Cypress Shores Baptist Church
Mobile Area Council‐Bsa 004
4327 Higgins Rd
Mobile, AL 36619


Cypress Trails Utd Methodist Church
Sam Houston Area Council 576
22801 Aldine Wfield Rd
Spring, TX 77373


Cypress Utd Methodist Church
Sam Houston Area Council 576
13403 Cypress N Houston Rd
Cypress, TX 77429


Cypress‐Fairbanks Isd Police Dept
Sam Houston Area Council 576
11200 Telge Rd
Cypress, TX 77429


Cyr Plourde Post 145
Katahdin Area Council 216
P.O. Box 254
Frenchville, ME 04745


Cyrene Lodge 844 Masonic Lodge
Tukabatchee Area Council 005
P.O. Box 16
Uniontown, AL 36786


Cyrilene Massiah
Address Redacted


Czoc Housewares, LLC
Thirtystone Resources
P.O. Box 826362
Philadelphia, PA 19182‐6362


Cz‐Usa
3341 N 7th St Trafficway
Kansas City, KS 66115


D   G Upholstery
Great Smoky Mountain Council 557
1328 Black Rd
Dandridge, TN 37725


D   M Golf Cart
6677 Overseas Hwy
Marathon, FL 33050


D   M Marketing, Inc
P.O. Box 118
Ophir, OR 97464


D   P Custom Lights   Wiring Systems Inc
P.O. Box 90465
Nashville, TN 37209‐0465


D   R Engraving      Rubber Stamp Inc
2709 Quail Ridge
Irving, TX 75060


D Bar A Scout Ranch
Great Lakes Fsc 272
880 E Sutton Rd
Metamora, MI 48455


D C Bar
c/o Suntrust Bank
P.O. Box 79834
Baltimore, MD 21279‐0834


D C Treasurer
Dcra, Corps Div
P.O. Box 92300
Washington, DC 20090


D Carter Hall
6350 Ironwood Dr
Loveland, OH 45140


D Ceo
4311 Oak Lawn Ave 1st Fl
Dallas, TX 75219


D Cox
Address Redacted
D Custom
750 N St Paul St, Ste 2100
Dallas, TX 75201


D G W, Inc
Reelfoot Ave
Union City, TN 38261


D I B S, LLC
Dan Beard Council, Bsa 438
8339 S State Route 123
Blanchester, OH 45107


D Kent Clayburn
Address Redacted


D Kusina Filipino Restaurant
2122 E Beltline Rd
Richardson, TX 75081


D Linda Hukari
Address Redacted


D M Electrical Services Inc
4932 Lansdowne Rd
Fredericksburg, VA 22408


D Magazine
750 N St Paul St, Ste 2100
Dallas, TX 75201‐9704


D Mcrae Elementary ‐ Gifw
Longhorn Council 662
3316 Ave N
Fort Worth, TX 76105


D T Mechanical Electrical Contractors
P.O. Box 42
Lemoyne, PA 17043
D T N
P.O. Box 3546
Omaha, NE 68103‐0546


D Weaver
Address Redacted


D. A. V. Chapter 85
The Spirit of Adventure 227
85 Willow St
Malden, MA 02148


D.A.V. Montessori
Sam Houston Area Council 576
14375 Schiller Rd
Houston, TX 77082


D/I Laser Products Of Dallas Inc
dba Di Digital Imaging   Laser Products
P.O. Box 674052
Dallas, TX 75267


Dabir Haider
Address Redacted


Dacc Wildlife
Simon Kenton Council 441
4565 Columbus Pike
Delaware, OH 43015


Dacotah Paper Co
dba Range Paper
1321 2nd Ave S
Virginia, MN 55792‐2905


Dacotah Paper Co
P.O. Box 2727
Fargo, ND 58108‐2727


Dacula Lodge 433
Northeast Georgia Council 101
P.O. Box 665
Dacula, GA 30019


Dacula Utd Methodist Church
Northeast Georgia Council 101
2655 Fence Rd
Dacula, GA 30019


Dacusville Recreation Center
Blue Ridge Council 551
183 Shoals Creek Church Rd
Easley, SC 29640


Dadant And Sons, Inc
1169 Bonham St
P.O. Box 146
Paris, TX 75460


Dadant And Sons, Inc
51 S 2nd St
Hamilton, IL 62341


Dade City Police Dept
Greater Tampa Bay Area 089
38042 Pasco Ave
Dade City, FL 33525


Dade Paper
9601 NW 112th Ave
Miami, FL 33178


Dads Club Of Troop One Flushing Inc
Greater New York Councils, Bsa 640
3511 191st St
Flushing, NY 11358


Dae Kenderdine
Address Redacted


Dae Laurel Dodge
Address Redacted
Daggett Elementery School ‐ Gfwar
Longhorn Council 662
1608 Quails Nest Dr
Fort Worth, TX 76177


Daggett Volunteer Fire Dept
California Inland Empire Council 045
P.O. Box 193
Daggett, CA 92327


Dagsboro Fire Dept
Del Mar Va 081
P.O. Box 128
Dagsboro, DE 19939


Dahl Plumbing
1000 Siler Park Ln
Santa Fe, NM 87507‐3116


Dahlgren Utd Methodist Church
National Capital Area Council 082
P.O. Box 1797
Dahlgren, VA 22448


Dahlonega Baptist Church
Northeast Georgia Council 101
203 S Chestatee St
Dahlonega, GA 30533


Dahlonega Baptist Church
Northeast Georgia Council 101
234 Hawkins St
Dahlonega, GA 30533


Daingerfield Lions Club
Circle Ten Council 571
1109 Glenn St
Daingerfield, TX 75638


Daingerfield Lions Club
Circle Ten Council 571
500 Park Dr
Daingerfield, TX 75638


Daiohs Usa Inc
dba First Choice Coffee Svcs
10600 E Hurst Blvd, Ste D
Hurst, TX 76053


Daisy Flores
Address Redacted


Daisy Manufacturing Co
1700 N 2nd St
Rogers, AR 72756


Daisy Manufacturing Co
dba Daisy Outdoor Products
P.O. Box 733860
Dallas, TX 75373‐3860


Daisy May Allen
Address Redacted


Dakota Ace
7210 W 41st St
Sioux Falls, SD 57106


Dakota Arms
1310 Industry Rd
Sturgis, SD 57785


Dakota County Sheriffs Office
Northern Star Council 250
1580 Hwy 55
Hastings, MN 55033


Dakota D Dreher
Address Redacted
Dakota Electric Assoc
4300 220th St W
Farmington, MN 55024‐9583


Dakota Electric Assoc
P.O. Box 64427
St. Paul, MN 55164‐0427


Dakota Oher
Address Redacted


Dakota Watch Co
10179 Commerce Park Dr
Cincinnati, OH 45246


Daktronics Inc
201 Daktronics Dr
Brookings, SD 57006


Daktronics Inc
Sds‐12‐2222
P.O. Box 86
Minneapolis, MN 55486


Dalals Housing Authority     Buckeye
Circle Ten Council 571
6676 Buckeye Commons Way
Dallas, TX 75215


Dalan Moss
Address Redacted


Dalat International School
Far E Council 803
Jalan Tanjung Bungah
Tanjung Bungah,
Malaysia


Dale Askey
Address Redacted
Dale Beebe
Address Redacted


Dale Blair
Address Redacted


Dale Blue
Address Redacted


Dale Boone
Address Redacted


Dale Cavin
Address Redacted


Dale City Moose Lodge 2165
National Capital Area Council 082
15424 Cardinal Dr
Woodbridge, VA 22193


Dale Crick Chapter 793 Moph
Grand Canyon Council 010
409 W Santa Fe Ave
Flagstaff, AZ 86001


Dale Davis
Address Redacted


Dale De Girolamo   Heart Ofohio Cncl 450
311 Crestview Dr
Elyvia, OH 44035


Dale Florence
Address Redacted


Dale Foster
Address Redacted
Dale H Fairbanks
Address Redacted


Dale Holbrook
Address Redacted


Dale Lovett
Address Redacted


Dale Mccann
Address Redacted


Dale Musgrave
Address Redacted


Dale Nordahl
Address Redacted


Dale Peters
Address Redacted


Dale Presbyterian Church
Buffalo Trace 156
P.O. Box 426
Dale, IN 47523


Dale Roland Krum
Address Redacted


Dale Sign Service Inc
13652 Manchester Rd
St Louis, MO 63131‐1615


Dale Turner
Address Redacted


Dale Wheeler
Address Redacted
Dale White
Address Redacted


Dale Williams
Address Redacted


Dale Wright
Address Redacted


Dalene Bales
Address Redacted


Dalewood Middle School
Cherokee Area Council 556
1300 Shallowford Rd
Chattanooga, TN 37411


Dalewood Utd Methodist Church
Middle Tennessee Council 560
2300 Ridgecrest Dr
Nashville, TN 37216


Dallas A Elmore
Address Redacted


Dallas Arboretum
Circle Ten Council 571
8525 Garland Rd
Dallas, TX 75218


Dallas Audio Post
dba Dallas Audio Post Group
2445 Lacy Ln
Carrollton, TX 75006


Dallas Banjo Band
8730 Sanshire Ave
Dallas, TX 75231‐4734
Dallas Baptist University
Dbu Advancement Office
3000 Mountain Creek Pkwy
Dallas, TX 75211‐9299


Dallas Bar Assoc
2101 Ross Ave
Dallas, TX 75201


Dallas Bay Baptist Church
Cherokee Area Council 556
8305 Daisy Dallas Rd
Hixson, TN 37343


Dallas Bay Volunteer Fire And Rescue
Cherokee Area Council 556
2010 Mcconnell Ln
Hixson, TN 37343


Dallas Black Dance Theater
2700 Flora St
Dallas, TX 75201


Dallas Building Owners   Managers Assoc
1717 Main St, 2440, Lb‐9
Dallas, TX 75201


Dallas Business Journal
Subscription Services
P.O. Box 36919
Charlotte, NC 28236‐9904


Dallas Ccc Dist Inlc Eastfield
3737 Motley Dr
Mesquite, TX 75150


Dallas Chapter Apa
P.O. Box 251042
Plano, TX 75025‐1042


Dallas Chapter Of Arma
P.O. Box 630442
Irving, TX 75063‐0120


Dallas Chapter Of Web
c/o Belo Corp Debbie Maddox
P.O. Box 655237
Dallas, TX 75265


Dallas Chapter Of Web
P.O. Box 655237
Dallas, TX 75265


Dallas Christian Leadership
Prayer Breakfast
2344 Farrington St
Dallas, TX 75207


Dallas Christian School
Circle Ten Council 571
1515 Republic Pkwy
Mesquite, TX 75150


Dallas Commerce LP
dba the Adolphus Hotel
1321 Commerce St
Dallas, TX 75202


Dallas Convention Center
Attn Convention Services
650 S Griffin St
Dallas, TX 75202


Dallas County
C/O Linebarger Googan Blair   Sampson
Attn Elizabeth Weller
2777 N. Stemmons Fwy
Dallas, TX 75207


Dallas County Tax Assessor‐Collector
Records Bldg 500 Elm St
P.O. Box 139033
Dallas, TX 75313‐9033
Dallas Cowboys Football Club Ltd
1 Cowboys Way
Frisco, TX 75034


Dallas Elks Lodge 11
Circle Ten Council 571
8550 Lullwater Dr
Dallas, TX 75238


Dallas Elks Lodge 71
Circle Ten Council 571
8550 Lullwater Dr
Dallas, TX 75238


Dallas Fire Rescue
Circle Ten Council 571
1500 Marilla St, Rm 7A
Dallas, TX 75201


Dallas First Utd Methodist Church
Atlanta Area Council 092
141 E Memorial Dr
Dallas, GA 30132


Dallas Fort Worth Travel Assoc
P.O. Box 630844
Irving, TX 75063


Dallas Hr Management Assoc Inc
5001 Lbj Freeway, Ste 800
Dallas, TX 75244


Dallas Iia
P.O. Box 261747
Plano, TX 75026‐1747


Dallas Isd Police
Circle Ten Council 571
2500 S Ervay St
Dallas, TX 75215
Dallas Lutheran Church
Chippewa Valley Council 637
101 W Dallas St
Dallas, WI 54733


Dallas Masonic Lodge 128
Caddo Area Council 584
701 Port Arthur Ave
Mena, AR 71953


Dallas Midwest Co
4100 Alpha Rd, Ste 111
Dallas, TX 75244


Dallas Morning News
P.O. Box 630054
Dallas, TX 75263‐0054


Dallas Morning News
P.O. Box 655237
Dallas, TX 75265‐5237


Dallas Museum Of Art
Member Services
1717 N Harwood
Dallas, TX 75201‐2398


Dallas Plastic Card Co Inc
11127 Shady Trail, Ste 105
Dallas, TX 75229‐4630


Dallas Police Dept
Circle Ten Council 571
1400 S Lamar St
Dallas, TX 75215


Dallas Police Dept
Circle Ten Council 571
1999 E Camp Wisdom Rd
Dallas, TX 75241
Dallas Police Dept
Circle Ten Council 571
4230 W Illinois Ave
Dallas, TX 75211


Dallas Police Dept
Circle Ten Council 571
9915 E Nwest Hwy
Dallas, TX 75238


Dallas Police Dept Jr.Explorer
Circle Ten Council 571
1400 S Lamar St
Dallas, TX 75215


Dallas Police Explorer Program
Circle Ten Council 571
725 N Jim Miller Rd
Dallas, TX 75217


Dallas Producers Assoc
P.O. Box 600233
Dallas, TX 75360


Dallas Puppet Theater Inc
3905 Main St
Dallas, TX 75226‐1229


Dallas Regional Chamber
500 N Akard St, Ste 2600
Dallas, TX 75201


Dallas Safari Club
13709 Gamma Rd
Dallas, TX 75244


Dallas Sail   Power Squadron
dba Americas Boating Club
600 N Pearl St, Ste S2270
Dallas, TX 75201
Dallas Scout Shop ‐ Opc
8605 Harry Hines Blvd, Ste 125
Dallas, TX 75235‐0726


Dallas Sioux Creek Fire Dept
Chippewa Valley Council 637
211 W Dallas St
Dallas, WI 54733


Dallas Society Of Visual Communications
14902 Preston Rd 404, PMB 603
Dallas, TX 75254


Dallas South Lions Club
c/o Treasurer ‐ Mr Alva C Jackson
3210 Bonnie View Rd
Dallas, TX 75216‐3427


Dallas Stars
c/o Nicole Beasley
2601 Ave of the Stars
Frisco, TX 75034


Dallas Utd Methodist Church
Northeastern Pennsylvania Council 501
4 Parsonage St
Dallas, PA 18612


Dallas Zoo
Circle Ten Council 571
650 S R L Thornton Fwy
Dallas, TX 75203


Dallas/Fort Worth Marriott Solana
1301 Solana Blvd, Bldg 3
Westlake, TX 76262


Dally K Clark
Address Redacted
Dalraida Utd Methodist Church
Tukabatchee Area Council 005
3817 Atlanta Hwy
Montgomery, AL 36109


Dalton Dempsey
Address Redacted


Dalton Lions Club
Western Massachusetts Council 234
127 Ashuelot St
Dalton, MA 01226


Dalton Medical Corp
P.O. Box 961
Addison, TX 75001


Dalton Police Dept
Northwest Georgia Council 100
301 Jones St
Dalton, GA 30720


Dalton Presbyterian Church
Buckeye Council 436
163 W Main St
P.O. Box 306
Dalton, OH 44618


Dalton Presbyterian Church
Buckeye Council 436
P.O. Box 306
Dalton, OH 44618


Dalton Utd Methodist Church
Northeastern Pennsylvania Council 501
P.O. Box 683
Dalton, PA 18414


Daly City Police Dept
Pacific Skyline Council 031
333 90th St
Daly City, CA 94015


Dalys Chapel Free Will Baptist Church
East Carolina Council 426
6138 Dalys Chapel Rd
Seven Springs, NC 28578


Damage Recovery
P.O. Box 801770
Kansas City, MO 64180


Damage Recovery
P.O. Box 843369
Kansas City, MO 64184


Damage Recovery Unit
P.O. Box 405738
Atlanta, GA 30384‐5738


Damage Recovery Unit
P.O. Box 801988
Kansas City, MO 64180


Damage Recovery Unit
P.O. Box 842264
Dallas, TX 75284‐2264


Damaris Bromley
Address Redacted


Damaris Roman
Address Redacted


Damascus 199 F Am/Amer. Legion Post 125
Mount Baker Council, Bsa 606
P.O. Box 588
Granite Falls, WA 98252


Damascus Emmanuel Church
Central N Carolina Council 416
502 E Fisher St
Salisbury, NC 28144


Damascus Lodge Temple
Mount Baker Council, Bsa 606
P.O. Box 588
Granite Falls, WA 98252


Damascus Manor Utd Methodist Church
Northeastern Pennsylvania Council 501
P.O. Box 221
Damascus, PA 18415


Damascus School PTA
Northeastern Pennsylvania Council 501
Rr 371
Damascus, PA 18415


Damascus Volunteer Fire Dept
National Capital Area Council 082
26334 Ridge Rd
Damascus, MD 20872


Damon Carney C/O Kim Dawson Agency
1645 N Stemmons Frwy, Ste B
Dallas, TX 75207


Dan Allen
Address Redacted


Dan Baker
Address Redacted


Dan Beard
10078 Reading Rd
Cincinnati, OH 45241


Dan Beard Cncl No 438
10078 Reading Rd
Cincinnati, OH 45241
Dan Beard Council, Inc
Dan Beard Council, Bsa 438
10078 Reading Rd
Cincinnati, OH 45241


Dan Beard Scout Shop ‐ Opc
10078 Reading Rd
Cincinnati, OH 45241


Dan Beard Scout Shop, Ste 1940
10078 Reading Rd
Evendale, OH 45241


Dan Bonsall
Address Redacted


Dan Crawford
Address Redacted


Dan Duggins
Address Redacted


Dan Howell
Address Redacted


Dan Leeman
Address Redacted


Dan Leghorn Engine Co No. 1
Hudson Valley Council 374
426 S Plank Rd
Newburgh, NY 12550


Dan Ownby
Address Redacted


Dan Peters
Address Redacted
Dan S Ace Hardware
Grand Teton Council 107
101 E Main St, Ste 201
Rexburg, ID 83440


Dan S Pro Shop Of Dubois
289 Midway Dr
Dubois, PA 15801


Dan Smith Jr
Address Redacted


Dan Studnicka
Address Redacted


Dana Carrier
Address Redacted


Dana Crowley   Assoc
760 W Main St, Ste 120
Barrington, IL 60010


Dana Fay
Address Redacted


Dana Fossett
Address Redacted


Dana H Mccorkle
Address Redacted


Dana Kuhns
Address Redacted


Dana Limited
Erie Shores Council 460
3939 Technology Dr
Maumee, OH 43537
Dana Mendoza
Address Redacted


Dana Mott
Address Redacted


Dana Oxendine
Address Redacted


Dana Ryder
Address Redacted


Dana Smith
Address Redacted


Dana Stull
Address Redacted


Dana Tully
Address Redacted


Dana Wolfe
Address Redacted


Danbury Police Dept
Connecticut Yankee Council Bsa 072
375 Main St
Danbury, CT 06810


Dancyt S Foods
106‐19 Pine St
Pine Falls, Mb R0E 1M0
Canada


Dane A Riha
Address Redacted


Dane Boudreau
Address Redacted


Dane M Mccall
Address Redacted


Dane Street Congregational Church
The Spirit of Adventure 227
10 Dane St
Beverly, MA 01915


Danette Verdugo
Address Redacted


Daniel A Brownfield
Address Redacted


Daniel A Cramer
Address Redacted


Daniel A Huebner
Address Redacted


Daniel Adams
Address Redacted


Daniel Akins
Address Redacted


Daniel Anderson
Address Redacted


Daniel Arters
Address Redacted


Daniel B Hefner Plumbing Co LLC
5527 Racine Ave
Charlotte, NC 28269
Daniel Baird
Address Redacted


Daniel Baker
Address Redacted


Daniel Balboni
Address Redacted


Daniel Barnes
Address Redacted


Daniel Bart
Address Redacted


Daniel Bell
Address Redacted


Daniel Bettison
Address Redacted


Daniel Blake Parker
Address Redacted


Daniel Blasius
Address Redacted


Daniel Boone
333 W Haywood St
Asheville, NC 28801


Daniel Boone Cncl No 414
333 W Haywood St
Asheville, NC 28801


Daniel Boone Conservation League
Potawatomi Area Council 651
W276N9293 Red Wing Rd
Hartland, WI 53029
Daniel Boone Council
333 W Haywood St
Asheville, NC 28801‐3155


Daniel Brock
Address Redacted


Daniel Bruce
Address Redacted


Daniel Buckhout
Address Redacted


Daniel Byrne
Address Redacted


Daniel C Hernandez
Address Redacted


Daniel Cabela
Address Redacted


Daniel Carpenter
Address Redacted


Daniel Carroll
Address Redacted


Daniel Caulkett
Address Redacted


Daniel Chapman
Address Redacted


Daniel Chester
Address Redacted
Daniel Cicchino
Address Redacted


Daniel Coker Horton    Bell Pa
P.O. Box 1084
Jackson, MS 39215‐1084


Daniel Collett
Address Redacted


Daniel Conniff
Address Redacted


Daniel Cooley
Address Redacted


Daniel Cross
Address Redacted


Daniel D Dufau
Address Redacted


Daniel Damon
Address Redacted


Daniel Deakin
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Daniel Decker
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Daniel Degraffenreid
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Daniel Demersseman
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Daniel Dillard
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Daniel Dillard Jr
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Daniel Dobbins
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Daniel Donovan
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Daniel Drager
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Daniel Dyer
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Daniel E Schu
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Daniel Fleetham Jr
Address Redacted


Daniel Folta
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Daniel Fry
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Daniel Furr
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Daniel G Perkins
Address Redacted


Daniel Garcia‐Ramirez
Address Redacted
Daniel Garvin
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Daniel Gasparo
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Daniel Gatica
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Daniel Geisheker
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Daniel Gelis
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Daniel Goetz
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Daniel Green
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Daniel Groth
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Daniel Guzman
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Daniel Hanson
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Daniel Hayes
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Daniel Hemphill
Address Redacted
Daniel Hoffman
Address Redacted


Daniel Hogan
Address Redacted


Daniel Holden
Address Redacted


Daniel Hoover
Address Redacted


Daniel Hoskins Jr
Address Redacted


Daniel Hotaling
Address Redacted


Daniel J Edelman Inc
Jp Morgan Chase Bank Na
21992 Network Pl
Chicago, IL 60673‐1219


Daniel J Lavery
Address Redacted


Daniel J Martin Legion Post 8 Wi
Potawatomi Area Council 651
2301 Springdale Rd
Waukesha, WI 53186


Daniel J Rogan
Address Redacted


Daniel J Warren
Address Redacted


Daniel James Galante
Address Redacted
Daniel John Bartkowski
Address Redacted


Daniel Johnson
Address Redacted


Daniel K Bursma
Address Redacted


Daniel K Harper
Address Redacted


Daniel K Ho
Address Redacted


Daniel Kelly
Address Redacted


Daniel Kilby
Address Redacted


Daniel Knight
Address Redacted


Daniel Knutson
Address Redacted


Daniel Ksiazek
Address Redacted


Daniel L Hughes
Address Redacted


Daniel L Orr Ii Ltd
Las Vegas Area Council 328
2040 W Charleston
Las Vegas, NV 89102
Daniel L Orr Ii, Dds. Ms. Ltd
Las Vegas Area Council 328
2040 W Charleston Blvd, Ste 201
Las Vegas, NV 89102


Daniel Leathers
Address Redacted


Daniel Lee Pittman
Address Redacted


Daniel Lindh
Address Redacted


Daniel Lynch
Address Redacted


Daniel M Petschauer
Address Redacted


Daniel M Preston
Address Redacted


Daniel M St Cyr
Address Redacted


Daniel Madison Smith
Address Redacted


Daniel Maiers
Address Redacted


Daniel Marks
Address Redacted


Daniel Marr
Address Redacted
Daniel Matza
Address Redacted


Daniel Mccranie
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Daniel Mcmanus
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Daniel Mcphee
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Daniel Minnick
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Daniel Mullin
Address Redacted


Daniel Munoz Nazario
Address Redacted


Daniel Murphy
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Daniel Nissen
Address Redacted


Daniel O Brien
Address Redacted


Daniel O Leary Iii
Address Redacted


Daniel O Neill
Address Redacted
Daniel Odell
Address Redacted


Daniel Osnato
Address Redacted


Daniel R Willis
Address Redacted


Daniel R Zimmerman
Address Redacted


Daniel Rager
Address Redacted


Daniel Richardson
Address Redacted


Daniel Ripley
Address Redacted


Daniel Riser
Address Redacted


Daniel Robert Tracy
Address Redacted


Daniel Robles
Address Redacted


Daniel Roe
Address Redacted


Daniel Rogers
Address Redacted


Daniel Ross
Address Redacted
Daniel Rushing
Address Redacted


Daniel Ruth
Address Redacted


Daniel S Carey
Address Redacted


Daniel Santos
Address Redacted


Daniel Satterlee
Address Redacted


Daniel Schmit
Address Redacted


Daniel Seaman
Address Redacted


Daniel Seth Holtzberg
Address Redacted


Daniel Sigala
Address Redacted


Daniel Soza
Address Redacted


Daniel St Clair
Address Redacted


Daniel Starr
Address Redacted
Daniel Stromberg
Address Redacted


Daniel Sullivan
Address Redacted


Daniel Sutherland
Address Redacted


Daniel T Gugliotta
Address Redacted


Daniel Templar
Address Redacted


Daniel Thomas
Address Redacted


Daniel Trevarthen
Address Redacted


Daniel Tucker
Address Redacted


Daniel V Busby
Address Redacted


Daniel Varn
Address Redacted


Daniel Victorio
Address Redacted


Daniel Vigil
Address Redacted


Daniel Vineyards LLC
c/o C Richard Daniel Sr, MD
200 Twin Oaks Rd
Crab Orchard, WV 25827


Daniel W Condra
Address Redacted


Daniel Wagner
Address Redacted


Daniel Webster
571 Holt Ave
Manchester, NH 03109‐5214


Daniel Webster 46 As
Crossroads of America 160
1450 S Reisner St
Indianapolis, IN 46221


Daniel Webster Cncl 330
571 Holt Ave
Manchester, NH 03109‐5213


Daniel Webster Elementary PTA
Circle Ten Council 571
3815 S Franklin St
Dallas, TX 75233


Daniel Wernett
Address Redacted


Daniel White
Address Redacted


Daniel Wilson
Address Redacted


Daniel Wiseman
Address Redacted
Daniel Wright Elementary PTO
Simon Kenton Council 441
2335 W Case Rd
Columbus, OH 43235


Daniel Zalewski Jr
Address Redacted


Daniela Rios
Address Redacted


Danielle Alyssa Lutfi‐Proctor
Address Redacted


Danielle Brooks
Address Redacted


Danielle Darden
Address Redacted


Danielle Forest
Address Redacted


Danielle Ing
Address Redacted


Danielle Lucia
Address Redacted


Danielle Maria Mccarson
Address Redacted


Danielle Marie Blanchard
Address Redacted


Danielle Reeves
Address Redacted
Danielle S Mceathron
Address Redacted


Daniels Long Automotive, LLC
Daniels Long Chevrolet
670 Automotive Dr
Colorado Springs, CO 80905


Daniels Memorial Utd Methodist Mens
Tuscarora Council 424
2802 E Ash St
Goldsboro, NC 27534


Danielson Lodge Of Elks 1706
Connecticut Rivers Council, Bsa 066
13 Center St
Danielson, CT 06239


Danielsville Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 145
Danielsville, GA 30633


Danika E Riddlebarger
Address Redacted


Danish Lutheran Church
Orange County Council 039
16881 Bastanchury Rd
Yorba Linda, CA 92886


Danita Brayall
Address Redacted


Danman Productions, Inc
1303 W Canterbury Ct
Dallas, TX 75208


Dann Cooke
Address Redacted
Dannelly Elementary School
Tukabatchee Area Council 005
3425 Carter Hill Rd
Montgomery, AL 36111


Dannie Testerman
Address Redacted


Danny Apodaca
Address Redacted


Danny Ashlock
Address Redacted


Danny Burris
Address Redacted


Danny Clifton
Address Redacted


Danny Daugherty
Address Redacted


Danny Greenwood    O Donnell
Clark   Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Danny J Piccone
Address Redacted


Danny Morris
Address Redacted


Danny Pryor
Address Redacted


Danny S Smokehouse
P.O. Box 1777
Athens, TX 75751


Danny S Tree Service, Inc
250 Key Honey Ln
Tavernier, FL 33070


Danoff S Sporting Goods
dba Montrose Sporting Goods
51 Public Ave
Montrose, PA 18801


Dansville Fish And Game
Five Rivers Council, Inc 375
Gibson St
Dansville, NY 14437


Dansville Foursquare Church
Five Rivers Council, Inc 375
49 W Ave
Dansville, NY 14437


Dansville Utd Methodist Church
Water and Woods Council 782
1932 M‐52
Stockbridge, MI 49285


Dante Holguin
Address Redacted


Dante Pittman
Address Redacted


Danville Baptist Church
Daniel Webster Council, Bsa 330
226 Main St
P.O. Box 2
Danville, NH 03819


Danville Baptist Church
Daniel Webster Council, Bsa 330
226 Main St
Danville, NH 03819


Danville Boys    Girls Club
Prairielands 117
850 N Griffin St
Danville, IL 61832


Danville Community Presbyterian Church
Mt Diablo‐Silverado Council 023
222 W El Pintado
Danville, CA 94526


Danville Knights Of Columbus
Columbia‐Montour 504
345 Oak Grove Rd
Danville, PA 17821


Danville Lions Club
Mississippi Valley Council 141 141
104 W Shepherd St
Danville, IA 52623


Danville Police Dept/Pitt Co Sheriffs
Blue Ridge Mtns Council 599
P.O. Box 3300
Danville, VA 24543


Danville Utd Methodist Church
Crossroads of America 160
820 W Mill St
Danville, IN 46122


Danyelle Schauer
Address Redacted


Daphne Brizendine
Address Redacted


Daphne Ellis
Address Redacted
Daphne Ferguson
Address Redacted


Daphne Hicks
Address Redacted


Daphne Roxanne Hicks
Address Redacted


Daphne Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 609
2401 Main St
Daphne, AL 36526


Daphne Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 609
Daphne, AL 36526


Daphne Womack
Address Redacted


Daqri LLC
1201 W 5th St, Ste T800
Los Angeles, CA 90017


Darby Creek PTO
Simon Kenton Council 441
6305 Pinefield Dr
Hilliard, OH 43026


Darby Johnson
Address Redacted


Darcie Anne Allen
Address Redacted
Darcy Boswell
Address Redacted


Darcy Brewington
Address Redacted


Dardanelle First Free Will Baptist
Westark Area Council 016
2494 State Hwy 22 W
Dardanelle, AR 72834


Dardenne Presbyterian Church
Greater St Louis Area Council 312
7400 S Outer 364
Dardenne Prairie, MO 63368


Daren Lane Hoffman
Address Redacted


Darien Lion S Club
Pathway To Adventure 456
1702 Plainfield Rd
Darien, IL 60561


Darin J Kinn
Address Redacted


Darin Killian
Address Redacted


Darin Lavon Killian
Address Redacted


Darin Noble
Address Redacted


Darin Steindl
Address Redacted
Darius Peoples
Address Redacted


Darke County Fish   Game Ass.
Miami Valley Council, Bsa 444
1407 New Garden Rd
New Paris, OH 45347


Darkness To Light
1064 Gardner Rd, Ste 210
Charleston, SC 29407


Darla Digiovanni
Address Redacted


Darla Duarte
Address Redacted


Darla Fink
Address Redacted


Darla Hulse
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Darla Hunzelman
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Address Redacted


De Zavala Elementary PTO
Sam Houston Area Council 576
7521 Ave H
Houston, TX 77012


Dead Eye Supply Inc
145 Reasonover Dr
Franklin, KY 42134


Deadwood Elks Lodge 508
Black Hills Area Council 695 695
P.O. Box 584
Deadwood, SD 57732


Deaf Action Center
3110 Cedar Plaza Ln
Dallas, TX 75235
Deaf Action Center
P.O. Box 191649
Dallas, TX 75219‐8504


Dealers Choice Casinos, LLC
12217 Major Dr
Germantown, MD 20876


Dealers Electrical Supply
P.O. Box 2535
Waco, TX 76702‐2535


Dean   Jason Bradshaw Dba Valley Trading
3435 Hwy 64
Waterflow, NM 87421


Dean Adkins
Address Redacted


Dean Allen Parent Teacher Organization
Las Vegas Area Council 328
8680 W Hammer Ln
Las Vegas, NV 89149


Dean Brown
Address Redacted


Dean Bushey
Address Redacted


Dean Cary
Address Redacted


Dean Ertel
Address Redacted


Dean Evans And Assoc, Inc
P.O. Box 975000
Dallas, TX 75397‐5000
Dean Fournier
Address Redacted


Dean Fulton
Address Redacted


Dean Hatch
Address Redacted


Dean Jorgensen
Address Redacted


Dean Lucas American Legion Post 25
Conquistador Council Bsa 413
2400 W 7th St
Clovis, NM 88101


Dean M Zarembski
Address Redacted


Dean Madsen
Address Redacted


Dean Paving Co, Inc
P.O. Box 244
151 Bamont St
Prosperity, WV 25909


Dean Quaranta
Address Redacted


Dean Tooley
Address Redacted


Deandra Boll
Address Redacted
Deangelo   Co LLC
500 Office Center Dr, Ste 225
Fort Washington, PA 19034


Deanna Alford
Address Redacted


Deanna Babb
Address Redacted


Deanna Gochenouer
Address Redacted


Deanna Heisler
Address Redacted


Deanna Medlin
Address Redacted


Deanna Owens
Address Redacted


Deanna Pellegrino
Address Redacted


Deanna Westmyer
Address Redacted


Deanne Dimarco
Address Redacted


Deanne Molenkamp
Address Redacted


Deans 4 In 1
115 W Ludington Ave
Ludington, MI 49431
Dearborn County Sheriffs Dept
Hoosier Trails Council 145 145
301 W High St
Lawrenceburg, IN 47025


Dearborn Hills Methodist Church
Hoosier Trails Council 145 145
25365 Stateline Rd
Lawrenceburg, IN 47025


Dearborn Police Dept
Great Lakes Fsc 272
16099 Michigan Ave
Dearborn, MI 48126


Dearborn Ymca Community Center
Mobile Area Council‐Bsa 004
321 N Warren St
Mobile, AL 36603


Dearing Utd Methodist Church
Georgia‐Carolina 093
161 Church St
P.O. Box 187
Dearing, GA 30808


Debany E Henriksen
Address Redacted


Debbie Crain
Address Redacted


Debbie Gallegos
Address Redacted


Debbie Goodman
Address Redacted


Debbie Griffith
Address Redacted
Debbie Jauregui
Address Redacted


Debbie Kay Crain
Address Redacted


Debbie Lacelle
Address Redacted


Debbie Meggett
Address Redacted


Debbie Norton
Address Redacted


Debbie T Chapman
Address Redacted


Debbie Wenzel
Address Redacted


Debcon Inc
9714 US Route 60
Ashland, KY 41102


Debie L Franz
Address Redacted


Debora Geiger
Address Redacted


Debora Heads
Address Redacted


Debora O Shea
Address Redacted
Debora Rasberry
Address Redacted


Deborah Alexander
Address Redacted


Deborah Almeida
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Deborah Ann Moffatt
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Deborah Ann Slavik
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Deborah Auldridge
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Deborah Bailey
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Deborah Barnes
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Deborah Buford
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Deborah Clark
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Deborah Claxton
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Deborah Costner
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Deborah Curry
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Deborah Dangerfield
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Deborah Davis
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Deborah Digrispino
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Deborah Dwyer
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Deborah Elise Auldridge
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Deborah Engell
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Deborah Erwin
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Deborah Evans
Address Redacted


Deborah Falconio‐Porras
Address Redacted


Deborah Franklin
Address Redacted


Deborah Gilboa Md LLC
dba Ask Doctor G
5888 Hobart St
Pittsburgh, PA 15217‐2110


Deborah Gordon
Address Redacted
Deborah Griffiths
Address Redacted


Deborah Harlow‐Laird
Address Redacted


Deborah Hartman
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Deborah Harvey
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Deborah Horton
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Deborah Ingram
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Deborah Johnson
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Deborah Jones
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Deborah Knechtel
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Deborah Kovalicky
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Deborah L Bangert
Address Redacted


Deborah L Martinez
Address Redacted
Deborah Lambright
Address Redacted


Deborah Leishman
Address Redacted


Deborah Lightfoot Sizemore
P.O. Box 682
Crowley, TX 76036


Deborah Lynn Williams
Address Redacted


Deborah Marino
Address Redacted


Deborah Mcdonald
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Deborah Mckenna
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Deborah Moffatt
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Deborah Morgan
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Deborah Olsen
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Deborah Paul
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Deborah Pensyl Reasy
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Deborah Peterson
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Deborah Reynolds
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Deborah Ryan
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Deborah Santel
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Deborah Schmidt
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Deborah Siebenthal
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Deborah Slack
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Deborah Slavik
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Deborah Stone
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Deborah Strader
Address Redacted


Deborah Summers
Address Redacted


Deborah Sussex Photography
1245 Sheridan St
Ely, MN 55731


Deborah Sweitzer
Address Redacted


Deborah Swift
Address Redacted


Deborah Teigen
Address Redacted


Deborah Wildey
Address Redacted


Deborah Williams
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Deborah Wimberley
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Deborah Wright
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Debra Ann Henrie
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Debra Ashline
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Debra Behringer
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Debra Benson
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Debra Blankenship
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Debra Bush
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Debra Carey
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Debra Clineman
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Debra Clinton
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Debra Cohen
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Debra Cowie
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Debra Czako
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Debra Donnelly
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Debra Doty
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Debra Dow
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Debra Dyson
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Debra Eileen Mileson
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Debra Everitt
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Debra Federici
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Debra Flores
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Debra Gillihan
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Debra Grazzini
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Debra Horvath
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Debra Johnson
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Debra K Straker
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Debra Kelderman
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Debra Kinder
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Debra L Wise
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Debra Lenart
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Debra M Diepenbrock
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Debra M Kendrew
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Debra Mae Dyson
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Debra Manning
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Debra Mellor
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Debra Miclette
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Debra Miller
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Debra Moreschini
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Debra Morse
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Debra Muehlbauer
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Debra Reddy
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Debra Robert
Address Redacted


Debra Roth
Address Redacted


Debra Salmon
Address Redacted


Debra Sanders
Address Redacted


Debra Staples
Address Redacted


Debra Straker
Address Redacted


Debra Swenson
Address Redacted


Debra Thomas Learning Centers
W D Boyce 138
1711 R T Dunn Dr
Bloomington, IL 61701


Debra Thomson
Address Redacted


Debra Wickham
Address Redacted


Debra Wilson‐Edwards
Address Redacted
Debra Wise
Address Redacted


Debrah Forcinito
Address Redacted


Debut Art Ltd
30 Tottenham St
London, W1T 4RJ
United Kingdom


Debut Art Ltd
Illustrators, Photogr.      Fine Artists Ag
30 Tottenham St
London, W1T 4Rj
United Kingdom


Decatur First Utd Methodist
Atlanta Area Council 092
601 E Ponce De Leon Ave
Decatur, GA 30030


Decatur First Utd Methodist Church
Atlanta Area Council 092
300 E Ponce De Leon Ave
Decatur, GA 30030


Decatur Heritage Christian Academy
Greater Alabama Council 001
P.O. Box 5659
Decatur, AL 35601


Decatur Housing Authority
Atlanta Area Council 092
481 Electric Ave
Decatur, GA 30030


Decatur Methodist Church
Choctaw Area Council 302
P.O. Box 325
Decatur, MS 39327


Decatur Police Dept
Longhorn Council 662
1601 S State St
Decatur, TX 76234


Decatur Utd Methodist Church
Choctaw Area Council 302
268 W Broad St
Decatur, MS 39327


Decisionpathhr
8720 Red Oak Blvd, Ste 300
Charlotte, NC 28217


Decker Elementary
Capitol Area Council 564
8500 Decker Ln
Austin, TX 78724


Declan Wesley Lockwood
Address Redacted


Declo 1St Ward ‐ Declo Stake
Snake River Council 111
213 W Main St
Declo, ID 83323


Declo 2Nd Ward ‐ Declo Stake
Snake River Council 111
213 W Main St
Declo, ID 83323


Declo Stake‐Almo Ward
Snake River Council 111
2985 S 834 E
Almo, ID 83312


Decor, Inc
2985 W 29th St, Ste E
Greeley, CO 80631‐8537


Decorah Bicycle Shop Inc
101 College Dr
Decorah, IA 52101


Decorah Lutheran Church
Winnebago Council, Bsa 173
309 Winnebago St
Decorah, IA 52101


Decorah Pac
Bay‐Lakes Council 635
1225 Sylvan Way
West Bend, WI 53095


Dedrick Elder
Address Redacted


Dee Dee Wallace
Address Redacted


Dee Slate
Address Redacted


Deeana L Huffman
Address Redacted


Deeann Hawkes
Address Redacted


Deeanna Kringle
Address Redacted


Deedee L Johnson
Address Redacted


Deem
301 Howard St
21st Fl
San Francisco, CA 94105


Deem, Inc
642 Harrison St, 2nd Fl
San Francisco, CA 94107


Deena Hill
Address Redacted


Deep Creek Baptist Church
Tidewater Council 596
250 Mill Creek Pkwy
Chesapeake, VA 23323


Deep Creek Community Church
Southwest Florida Council 088
1500 Cooper St
Punta Gorda, FL 33950


Deep Creek Utd Methodist Church
Tidewater Council 596
141 George Washington Hwy N
Chesapeake, VA 23323


Deep Creek Ward ‐ Filer Stake
Snake River Council 111
1001 Fair Ave
Buhl, ID 83316


Deep Ellum Distillery LLC
2817 Canton St
Dallas, TX 75226


Deep Run Free Will Baptist Church
East Carolina Council 426
2390 John Green Smith Rd
Deep Run, NC 28525


Deep Six Marine Surveyor S
Captain Thomas L Ferguson
9721 Bahama Dr
Miami, FL 33189


Deep South Schooner Inc
202 William St
Key W, Fl 33040‐6645


Deep South Schooner Inc
c/o Richard P Sands
73800 Overseas Hwy
Islamorada, FL 33036


Deep Trekker, Inc
40 Melair Dr
Ayr, On N0B 1E0
Canada


Deer Creek Conservation Club
Sagamore Council 162
6203 S 375 E
Jonesboro, IN 46938


Deer Creek Fire Protection Dist
Tazewood Fire And Ems
W D Boyce 138
P.O. Box 352
Deer Creek, Il 61733


Deer Lake Day Camp
Connecticut Yankee Council Bsa 072
101 Paper Mill Rd
Killingworth, CT 06419


Deer Lake Utd Methodist Church
Suwannee River Area Council 664
8013 Deer Lk S
Tallahassee, FL 32312


Deer Lakes High School
Laurel Highlands Council 527
163 E Union Rd
Cheswick, PA 15024
Deer Lakes School District
Laurel Highlands Council 527
East Union Rd
Cheswick, PA 15024


Deer Park Church Of The Nazarene
Inland Nwest Council 611
P.O. Box 700
Deer Park, WA 99006


Deer Park Grace Utd Methodist Church
Pony Express Council 311
2522 S Leonard Rd
Saint Joseph, MO 64503


Deer Park Rotary
Inland Nwest Council 611
P.O. Box 1234
Deer Park, WA 99006


Deer Park Spring Water
P.O. Box 856192
Louisville, KY 40285‐6192


Deer Park Utd Methodist Church
Sam Houston Area Council 576
1300 E 13th St
Deer Park, TX 77536


Deer Path School PTO
Blackhawk Area 660
2211 Crystal Lake Rd
Cary, IL 60013


Deer Valley Scouting Assoc
Grand Canyon Council 010
8122 N 29th Dr
Phoenix, AZ 85051


Deerfield Elementary PTO
Great Lakes Fsc 272
3600 Crooks Rd
Rochester Hills, MI 48309


Deerfield Fair Assoc Inc
Daniel Webster Council, Bsa 330
34 Stage Rd
Deerfield, NH 03037


Deerfield Hills Community Center
Pikes Peak Council 060
4290 Deerfield Hills Rd
Colorado Springs, CO 80916


Deerfield Lutheran Church
Glaciers Edge Council 620
206 S Main St
Deerfield, WI 53531


Deerfield PTO
Heart of America Council 307
101 Lawrence Ave
Lawrence, KS 66049


Deerfield Urethane Inc
P.O. Box 223138
Pittsburgh, PA 15251‐2138


Deerfield Utd Methodist Church
Dan Beard Council, Bsa 438
2757 W US Hwy 22 and 3
Maineville, OH 45039


Deerfield Utd Methodist Church
Santa Fe Trail Council 194
P.O. Box 200
Deerfield, KS 67838


Deerfield Village Community Assn Inc
Sam Houston Area Council 576
4045 Deerfield Village Dr
Houston, TX 77084
Deerwood Elementary School PTO
Northern Star Council 250
1480 Deerwood Dr
Eagan, MN 55122


Deerwood PTA
Sam Houston Area Council 576
2920 Forest Garden Dr
Kingwood, TX 77345


Defender Industries Inc
42 Great Neck Rd
Waterford, CT 06385


Defiance Engine Co 3
Patriots Path Council 358
P.O. Box 1015
Hopatcong, NJ 07843


Defiance Rotary Club
Black Swamp Area Council 449
P.O. Box 830
200 Perry St
Defiance, OH 43512


Degolyer Dad S Club
Circle Ten Council 571
3453 Flair Dr
Dallas, TX 75229


Degraffics LLC
1515 W Deer Valley Rd, C101
Phoenix, AZ 85027


Degree Of Comfort LLC
c/o Jason Beegle
425 4th Rd
Key Largo, FL 33037


Dehesa Charter School
San Diego Imperial Council 049
1441 Montiel Rd, Ste 143
Escondido, CA 92026


Deirdre Bland
Address Redacted


Deja Hunter
Address Redacted


Deja Rice
Address Redacted


Dekalb Academy Tech   Envt
Atlanta Area Council 092
1492 Kelton Dr
Stone Mountain, Ga 30083


Dekalb Assoc Of Fire Depts Inc
Greater Alabama Council 001
151 14Th St Ne
Fort Payne, Al 35967


Dekalb County Fire And Rescue
Atlanta Area Council 092
1950 W Exchange Pl
Tucker, GA 30084


Dekalb County Police Explorers
Atlanta Area Council 092
1960 W Exchange Pl
Tucker, GA 30084


Dekalb Elks Bpoe 765
Three Fires Council 127
209 S Annie Glidden Rd
Dekalb, IL 60115


Dekalb Family Moose Center 586
Three Fires Council 127
1231 E Lincoln Hwy
Dekalb, IL 60115


Deko Technical And Graphical Svcs Inc
Central N Carolina Council 416
1405 Debbie St
Kannapolis, Nc 28083


Del Norte Ambulance
Crater Lake Council 491
2600 Morehead Rd
Crescent City, CA 95531


Del Norte County Sheriffs Dept
Crater Lake Council 491
650 5th St
Crescent City, CA 95531


Del Norte Pharmacy   Hm Medical Of Raton
P.O. Box 188
Raton, NM 87740


Del Rey Parents Club
Mt Diablo‐Silverado Council 023
25 El Camino Moraga
Orinda, CA 94563


Del Rio Host Lions Club
Texas Swest Council 741
P.O. Box 420462
Del Rio, TX 78842


Del Sol Lc
280 W 10200 S
Sandy, UT 84070


Del Valle Elementary Lead
Capitol Area Council 564
5400 Ross Rd
Del Valle, TX 78617


Del Valle Middle School Lead
Capitol Area Council 564
5500 Ross Rd
Del Valle, TX 78617


Delafield American Legion Post 196
Potawatomi Area Council 651
333 N Lapham Peak Rd
Delafield, WI 53018


Delafield Legion Post 196
Potawatomi Area Council 651
333 N Lapham Peak Rd
Delafield, WI 53018


Delailah Fajardo‐Rosencrans
Address Redacted


Delaine Heim
Address Redacted


Deland Elks Lodge 1463
Central Florida Council 083
P.O. Box 567
Deland, FL 32721


Deland Police Dept
Central Florida Council 083
219 W Howry Ave
Deland, FL 32720


Delaney Julia Pulsifer Myers
Address Redacted


Delaney Street Baptist Church
Central Florida Council 083
1919 Delaney Ave
Orlando, FL 32806


Delano Lions Club
Northern Star Council 250
P.O. Box 252
Delano, MN 55328


Delavan Darien Rotary Club
Glaciers Edge Council 620
P.O. Box 552
Delavan, WI 53115


Delaware County Sheriffs Office
Simon Kenton Council 441
149 N Sandusky St
Delaware, OH 43015


Delaware Dept Of Labor
Employer Contributions Operations
P.O. Box 9953
Wilmington, DE 19809‐0953


Delaware Div Of Child Support Enforcemnt
P.O. Box 12287
Wilmington, DE 19850


Delaware Div Of Revenue
P.O. Box 2340
Wilmington, DE 19899‐2340


Delaware Div Of Revenue
P.O. Box 8750
Wilmington, DE 19899‐8750


Delaware Elementary School
Buffalo Trace 156
700 N Garvin St
Evansville, IN 47711


Delaware Insurance Dept
841 Silver Lake Blvd
Dover, DE 19904


Delaware Moving   Storage Inc
244 Quigley
New Castle, DE 19720
Delaware River Yacht Club
Cradle of Liberty Council 525
9635 Milnor St
Philadelphia, PA 19114


Delaware Secretary Of State
1209 Orange St
Wilmington, DE 19801


Delaware Secretary Of State
Attn Div of Corps
P.O. Box 5509
Binghamton, NY 13902‐5509


Delaware Secretary Of State
Division of Corps
P.O. Box 11728
Newark, NJ 07101‐4728


Delaware Secretary Of State
Division of Corps
P.O. Box 5509
Binghamton, NY 13902‐5509


Delaware Secretary Of State
Divisions of Corps
401 Federal St, Ste 4
Dover, DE 19901


Delaware State Patrol Troop 3
c/o Angela Garnsey
34 Debs Way Moores Meadows
Dover, DE 19904


Delaware Valley Fish And Game Assoc
Washington Crossing Council 777
P.O. Box 17
Point Pleasant, Pa 18950


Delayne Petitt
Address Redacted


Delbert Bishop
Address Redacted


Delbert Hanks
Address Redacted


Delbert Raby
Address Redacted


Delberta Sprague
Address Redacted


Delcambre Volunteer Fire Dept
Evangeline Area 212
302 N Railroad St
Delcambre, LA 70528


Delco Alarm Systems, LLC
5241 Birney Hwy
Aston, PA 19014


Delena Chevis
Address Redacted


Delevan Vol. Fire Co
Allegheny Highlands Council 382
P.O. Box 22
Delevan, NY 14042


Delhi First Baptist Church
Leatherstocking 400
21 2nd St
Delhi, NY 13753


Delhi Township Fire Dept
Dan Beard Council, Bsa 438
697 Neeb Rd
Cincinnati, OH 45233
Delhi Township Police
Dan Beard Council, Bsa 438
934 Neeb Rd
Cincinnati, OH 45233


Delhi Utd Methodist Church
Louisiana Purchase Council 213
P.O. Box 395
Delhi, LA 71232


Delilis Renee Garza
Address Redacted


Dell Harvey
Address Redacted


Dell Software Inc
1 Dell Way
Round Rock, TX 78682


Della Hessing
Address Redacted


Dellingers Dept Store
P.O. Box 758
Newton, NC 28658


Dellwood Recreation Center
Greater St Louis Area Council 312
10266 W Florissant Ave
Saint Louis, MO 63136


Delma Wyman
Address Redacted


Del‐Mar‐Va
1910 Baden Powell Way
Dover, DE 19904
Del‐Mar‐Va Cncl 81
100 W 10th St, Ste 915
Wilmington, DE 19801


Del‐Mar‐Va Council, Bsa
1910 Baden Powell Way
Dover, DE 19904


Delmonico Steakhouse
1050 E Flaming Rd
Las Vegas, NV 89119


Delmonico Steakhouse
829 St Charles Ave
New Orleans, LA 70130


Delmont Lions Club
Westmoreland Fayette 512
154 Abbe Pl
Delmont, PA 15626


Delongchamp   Assoc Dba    Platte River Tr
6270 S Coventry Ln E
Littleton, CO 80123


Delores Blohm
Address Redacted


Delores Busby
Address Redacted


Delores Hainzinger
Address Redacted


Delores Mcgee
Address Redacted


Delores Pedersen
Address Redacted
Delores Stagg
Address Redacted


Delores T. Aaron Charter School
Southeast Louisiana Council 214
10200 Curran Blvd
New Orleans, LA 70127


Delores Theodore
Address Redacted


Delores Tracy
Address Redacted


Deloris D Simpson
Address Redacted


Delorme Inreach LLC
P.O. Box 298
Yarmouth, ME 04096


Delphi Academy
Greater Los Angeles Area 033
11341 Brainard Ave
Lake View Terrace, CA 91342


Delphi Lions Club
Sagamore Council 162
9827 S Evans Rd
Brookston, IN 47923


Delphos St John Catholic Church
Black Swamp Area Council 449
331 E 2nd St
Delphos, OH 45833


Delran Twp Fire District No 1
Garden State Council 690
900 S Chester Ave
Delran, NJ 08075


Delray Beach Fire Dept
Gulf Stream Council 085
501 W Atlantic Ave
Delray Beach, FL 33444


Delray Beach Police Dept
Gulf Stream Council 085
300 W Atlantic Ave
Delray Beach, FL 33444


Delta Apparel
2750 Premiere Pkwy
Duluth, GA 30097


Delta Apparel
dba Funtees
11500 Miramar Pkwy, Ste 100
Miramar, FL 33025


Delta Apparel
dba Funtees
P.O. Box 933666
Atlanta , GA 31193‐9666


Delta Area Economic Opportunity Corp.
Greater St Louis Area Council 312
99 Skyview Rd
Portageville, MO 63873


Delta Chapter‐Alpha Phi Omega Fraternity
Chattahoochee Council 091
3130 Auburn University Student Center
Auburn, AL 36849


Delta Charter School
Louisiana Purchase Council 213
300 Lynwood Dr
Ferriday, LA 71334
Delta Clearwater Moose Lodge 911
Midnight Sun Council 696
P.O. Box 1478
Delta Junction, AK 99737


Delta Community Presbyterian Church
Mt Diablo‐Silverado Council 023
1900 Willow Lake Rd
Discovery Bay, CA 94505


Delta County Ambulance District
Denver Area Council 061
60 Heinz St
Delta, CO 81416


Delta Electrical Contractors, Ltd
4890 Gray Rd
Cincinnati, OH 45232


Delta Inn Inc
dba Courtyard By Marriott‐Portland Air
11550 NE Airport Way
Portland, OR 97220‐1070


Delta Inn, Inc
Dba Hilton Garden Inn Portland Airport
12048 NE Airport Way
Portland, OR 97220


Delta Lions Club
Midnight Sun Council 696
P.O. Box 243
Delta Junction, AK 99737


Delta Lions Club
Southeast Louisiana Council 214
1725 Hickory Ave
New Orleans, LA 70123


Delta Sports Products, LLC
30151 160th St
Dike, IA 50624
Delta State University
Highway 8 W
Cleveland, MS 38733


Delta Theta Lambda Ch Alpha Phi Alpha
Greater Alabama Council 001
4301 Oakwood Ave Nw
Huntsville, Al 35810


Delta Zeta Sorority
Central Minnesota 296
511 8th Ave S
Saint Cloud, MN 56301


Delton Michigan Fire Club
President Gerald R Ford 781
201 E Orchard St
Delton, MI 49046


Deltona Christian Church
Central Florida Council 083
960 E Normandy Blvd
Deltona, FL 32725


Deltona Fire Station 65
Central Florida Council 083
2983 Howland Blvd
Deltona, FL 32725


Deltona Presbyterian Church
Central Florida Council 083
2300 Howland Blvd
Deltona, FL 32738


Deluxe For Business
P.O. Box 88042
Chicago, IL 60680‐1042


Deluxe Small Business Sale Inc
dba Deluxe
P.O. Box 4656
Carol Stream, IL 60197


Delwin Hill
Address Redacted


Delworth Publishing
10480 Main St
Houston, TX 77025


Demco
P.O. Box 8048
Madison, WI 53708‐8048


Demdaco
P.O. Box 803314
Kansas City, MO 54180‐3314


Demetrious Johnson Charitable Foundation
Greater St Louis Area Council 312
840 Caronne Dr
St Louis, MO 63021


Demetrius Morris
Address Redacted


Demiguel Elementary School PTO
Grand Canyon Council 010
3500 S Gillenwater Dr
Flagstaff, AZ 86005


Democracy Prep At Agassi Campus
Las Vegas Area Council 328
1201 W Lake Mead Blvd
Las Vegas, NV 89106


Demopolis High Jrotc
Black Warrior Council 006
701 US Hwy 80 W
Demopolis, AL 36732
Demorest Fire Dept
Northeast Georgia Council 101
P.O. Box 128
Demorest, GA 30535


Demotte Utd Methodist Church
Sagamore Council 162
227 N Halleck St
Demotte, IN 46310


Deneen Bush
Address Redacted


Denice Fellows
Address Redacted


Denis Silva
Address Redacted


Denis Szabaga
Address Redacted


Denise Alvey
Address Redacted


Denise Brewster
Address Redacted


Denise Cardenas
Address Redacted


Denise Dawydko
Address Redacted


Denise Dreyer
Address Redacted


Denise Ellen
Address Redacted


Denise Finn
Address Redacted


Denise Fisher
Address Redacted


Denise Grennell
Address Redacted


Denise Jacobson
Address Redacted


Denise K Tevis
Address Redacted


Denise Lamarsh
Address Redacted


Denise M Aerts‐Stritch
Address Redacted


Denise M Kugler‐Stover
Address Redacted


Denise M Montoya
Address Redacted


Denise Maki
Address Redacted


Denise Michelle Dobbins
Address Redacted


Denise Miller
Address Redacted
Denise Peterson
Address Redacted


Denise Reid
Address Redacted


Denise Rosado
Address Redacted


Denise Shoemaker
Address Redacted


Denise Siebert
Address Redacted


Denise St Clair
Address Redacted


Denise Ward
Address Redacted


Denisse Coday
Address Redacted


Denmark Elementary
West Tennessee Area Council 559
1945 Denmark Rd
Jackson, TN 38305


Denmay, Inc
dba Blue Orange Games
1937 Davis St, Ste C
San Leandro, CA 94577


Dennis Almeida
Address Redacted


Dennis Anderson
Address Redacted


Dennis Bathon
Address Redacted


Dennis Boehme
Address Redacted


Dennis Browning
Address Redacted


Dennis Chavez PTA
Great Swest Council 412
7500 Barstow St Ne
Albuquerque, NM 87109


Dennis Clark
Address Redacted


Dennis Connor
Address Redacted


Dennis Cook
Address Redacted


Dennis Dickey
Address Redacted


Dennis Dubay
Address Redacted


Dennis Dugan
Address Redacted


Dennis Erickson
Address Redacted


Dennis Francis
Address Redacted


Dennis Garner
Address Redacted


Dennis Gray
Address Redacted


Dennis Greenwood   O Donnell
Clark   Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Dennis H Chookaszian
Address Redacted


Dennis Haines
Address Redacted


Dennis Hernandez
Address Redacted


Dennis Holtby
Address Redacted


Dennis Horn
Address Redacted


Dennis Howie
Address Redacted


Dennis J Selbitschka
Address Redacted


Dennis Johnston
Address Redacted


Dennis Keplinger
Address Redacted


Dennis Kohl
Address Redacted


Dennis Lockhart Jr
Address Redacted


Dennis Luellen
Address Redacted


Dennis M House
Address Redacted


Dennis Mcgarry
Address Redacted


Dennis Michael Wimett
Address Redacted


Dennis Minks
Address Redacted


Dennis Mobley
Address Redacted


Dennis Patterson
Address Redacted


Dennis Pawlewicz
Address Redacted


Dennis Prefontaine
Address Redacted


Dennis Pumphrey
Address Redacted
Dennis Pupa
Address Redacted


Dennis Purdy
Address Redacted


Dennis Ranstead
Address Redacted


Dennis Riggs
Address Redacted


Dennis Root   Dearborn Collision 1
1249 Magnolia Dr
Inkster, MI 48141


Dennis Ross
Address Redacted


Dennis Sales Co, Inc
146 5th St
Raymond, VA 98577‐2510


Dennis Seth
Address Redacted


Dennis Shaffer
Address Redacted


Dennis St Jean
Address Redacted


Dennis Stamstad
Address Redacted


Dennis Torio
Address Redacted
Dennis Vargo
Address Redacted


Dennis Weiher
Address Redacted


Dennisa Prince
Address Redacted


Dennison Elementary PTA
Denver Area Council 061
401 Independence St
Lakewood, CO 80226


Dennler Fence LLC
492 Washington Ave
Oak Hill, WV 25901


Denny Barnhart
Address Redacted


Denovan Lino
Address Redacted


Denton Avenue School PTA
Theodore Roosevelt Council 386
1050 Denton Ave
New Hyde Park, NY 11040


Denton County Sheriff S Office
Longhorn Council 662
127 N Woodrow Ln
Denton, TX 76205


Denton County Tax Assessor Collector
Attn Tax Assessor/Collector
P.O. Box 90223
Denton, TX 76202‐5223
Denton Creek Elementary PTO
Circle Ten Council 571
250 Natches Trce
Coppell, TX 75019


Denton Fire Dept
Longhorn Council 662
332 E Hickory St
Denton, TX 76201


Denton S Chapel Utd Methodist Church
Piedmont Council 420
5358 Dentons Chapel Rd
Morganton, NC 28655


Dentons Chapel Utd Methodist Church
Piedmont Council 420
5358 Dentons Chapel Rd
Morganton, NC 28655


Dentons Us LLP
233 S Wacker Dr, Ste 5900
Chicago, IL 60606


Dentons Us LLP
Dept 3078
Carol Stream, IL 60132‐3078


Denver Academy Of Torah
Denver Area Council 061
6825 E Alameda Ave
Denver, CO 80224


Denver Area
10455 W 6th Ave
Denver, CO 80215


Denver Area Cncl No 61
10455 W 6th Ave, Ste 100
Denver, CO 80215
Denver City    County Dept
Of Revenue‐Treasury Div
P.O. Box 17430
Denver, CO 80217‐0430


Denver Elk Lodge No 17 Bpolks
Denver Area Council 061
2475 W 26th Ave
Denver, CO 80211


Denver Elks
Denver Area Council 061
2475 W 26th Ave
Denver, CO 80211


Denver Elks Lodge 17
Denver Area Council 061
2475 W 26th Ave
Denver, CO 80211


Denver Equipment Co Of Charlotte Inc
P.O. Box 480038
Charlotte, NC 28269‐5300


Denver Health Paramedic Div
Denver Area Council 061
660 Bannock St
Denver, CO 80204


Denver Laabs
Address Redacted


Denver Lodge 17 Bpo Elks
Denver Area Council 061
2465 W 26th Ave
Denver, CO 80211


Denver Scout Shop ‐ Opc
10455 W 6th Ave, Ste 125
Lakewood, CO 80215
Denver Tech Center Rotary
Denver Area Council 061
59994 S Holly St, Ste 211
Greenwood Village, CO 80111


Denver Turner
Address Redacted


Denver Utd Methodist Church Men
Piedmont Council 420
3910 N Hwy 16
Denver, NC 28037


Denver Wallace
Address Redacted


Denver Warren Turner
Address Redacted


Denver Wire Rope   Supply, Inc
4100 Dahlia St
Denver, CO 80216‐4406


Denver Zoological Foundation
Denver Area Council 061
2900 E 23rd Ave
Denver, CO 80205


Denville Community Church
Patriots Path Council 358
190 Diamond Spring Rd
Denville, NJ 07834


Deomedes Ancheta
Address Redacted


Deomelio Zenith
Address Redacted


Deon Bell
Address Redacted


Departamento De Finanzaz
Attn Municipio Autonomo De Guaynabo
Apartado 71370
Guaynabo, PR 00970


Depco Pump Co
P.O. Box 6820
Clearwater, FL 33758


Dependable Trucks    Equpment Repair
dba Dte Repair    Towing
1101 Main St E
Oak Hill, WV 25901


Deposit Rotary Club
Baden‐Powell Council 368
P.O. Box 80
Deposit, NY 13754


Depot Square Pizza
Green Mountain 592
40 Depot Square
Northfield, VT 05663


Deprez Travel Bureau Inc
145 Rue De Ville
Rochester, NY 14618


Dept Of Business   Prof Regula
Bureau of Elevator Safety
P.O. Box 6300
Tallahassee, FL 32314‐6300


Dept Of Commerce And Consumer Affairs
Annual Filing‐Breg
P.O. Box 113600
Honolulu, HI 96811


Dept Of Consumer   Regulatory Affairs
Corporations Div
P.O. Box 92300
Washington, DC 20090


Dept Of Consumer Protection
55 Elm St
P.O. Box 120
Hartford, CT 06141‐0120


Dept Of Consumer Protection
Office of the Atty General
Public Charities Unit
55 Elm St
Hartford, CT 06106‐1746


Dept Of Employment    Training
Charles F Hurley Bldg
19 Staniford St
Boston, MA 02114‐2589


Dept Of Employment And Economic
Development
332 Minnesota St
St Paul, MN 55101‐1351


Dept Of Environmental Protection
Division of Water    Waste
P.O. Box 364
Charleston, WV 25322


Dept Of Finance Bureau
Of Revenue, Rm 1W09
City Hall 1300 Perdido St
New Orleans, LA 70112‐2114


Dept Of Fire Rescue    Emergency Medical
1 Courthouse Square
Kissimmee, FL 34741


Dept Of Health   Human Svcs
Ctr For Medicare   Medicaid Svcs
Nghp, P.O. Box 138832
Oklahoma City, OK 73113


Dept Of Health    Wellness Promotion
Environmental Health    Safety
1151 Taylor Bldg 4
Detroit, MI 48202


Dept Of Juvenile Justice
Lincoln Heritage Council 205
8300 Wport Rd
Louisville, KY 40242


Dept Of Labor
200 Constitution Ave Nw
Washington, DC 20210


Dept Of Labor
P.O. Box 30289
Hartford, CT 06150‐0289


Dept Of Military Affairs   Public Safety
1900 Kanawha Blvd, E
Charleston, WV 25305


Dept Of The Treasury
Internal Revenue Service
Ogden, UT 84201‐0009


Dept Of Treasury Us Mint
1750 Pennsylvania Ave NW 11th Fl
Washington, DC 20220


Dept. Of Consumer   Regulatory Affairs
1100 4th St Sw, 4th Fl
Washington, DC 20024‐4471


Dept. Of Persons With Disabilities
Patriots Path Council 358
1 Catholic Charties Way
Paterson Diocese
Oak Ridge, NJ 07438
Deptford Township Police Dept
Garden State Council 690
1011 Cooper St
Deptford, NJ 08096


Deputy Corporate Council
One Elmcroft Rd
Stamford, CT 06926


Derby 2Nd Congregational Church
Housatonic Council, Bsa 069
P.O. Box 395
Derby, CT 06418


Derby Lions Club
Green Mountain 592
P.O. Box 388
Derby, VT 05829


Derby Methodist Church
Housatonic Council, Bsa 069
17 5th St
Derby, CT 06418


Derby Ridge Family School Partnership
Great Rivers Council 653
4000 Derby Ridge Dr
Columbia, MO 65202


Derby Worx Inc
1126 Summer Crk Ln
Millstadt, IL 62260


Derby‐Shelton Rotary Club
Housatonic Council, Bsa 069
P.O. Box 224
Shelton, CT 06484


Derek B Esterly
Address Redacted
Derek B Mead
Address Redacted


Derek Bloomfield
Address Redacted


Derek Brawner
Address Redacted


Derek C Lines Dds LLC
Great Swest Council 412
5343 Wyoming Blvd NE, Ste A
Albuquerque, NM 87109


Derek Cepeda
Address Redacted


Derek Cerjanec
Address Redacted


Derek Dudek Studio, LLC
110 Bartholomew Rd
Middletown, CT 06457


Derek H Luetke
Address Redacted


Derek Hartley
Address Redacted


Derek J Bechtel
Address Redacted


Derek James Phillips
Address Redacted


Derek Mallow
Address Redacted


Derek Rasmussen
Address Redacted


Derek Riley
Address Redacted


Derek Shiney
Address Redacted


Derek V Ford
Address Redacted


Derek Van Kampen
Address Redacted


Derek Wayne Shiney
Address Redacted


Derek Xu
Address Redacted


Derf Consults
5402 Wisteria Brook Ln
Spring, TX 77379


Deric Wertz
Address Redacted


Derik V Wickham
Address Redacted


Deron Smith
Address Redacted


Deronda D Hale
Address Redacted
Derouen‐Moss Post 279 American Legion
Evangeline Area 212
16838 E La Hwy 330, Apt Ste
Erath, LA 70533


Derrald Watkins
Address Redacted


Derrick Brooks
Address Redacted


Derrick Clark
Address Redacted


Derrick Jordan
Address Redacted


Derrick Larsen
Address Redacted


Derrick Russaw
Address Redacted


Derrick Stingley
Address Redacted


Derrick Woods
Address Redacted


Derry Area Middle School
Westmoreland Fayette 512
994 N Chestnut St Ext
Derry, PA 15627


Derry First Utd Methodist Church
Westmoreland Fayette 512
311 N Ligonier St
Derry, PA 15627
Derry Presbyterian Church
New Birth of Freedom 544
248 E Derry Rd
Hershey, PA 17033


Derry‐Salem Elks Lodge 2226
Daniel Webster Council, Bsa 330
39 Shadow Lake Rd
Salem, NH 03079


Derynoski PTO
Connecticut Yankee Council Bsa 072
240 Main St
Southington, CT 06489


Des Moines Area Community College
Mid Iowa Council 177
600 N 2nd Ave W
Newton, IA 50208


Des Moines Elks Lodge 98
Mid Iowa Council 177
5420 NE 12th Ave
Pleasant Hill, IA 50327


Des Moines Police Dept
Lorrie Mckinney Post 5021
25 E 1st St
Des Moines, IA 50309


Des Parents Group
Glaciers Edge Council 620
404 N Johnson St
Dodgeville, WI 53533


Des Plaines Police Dept
Pathway To Adventure 456
1420 Miner St
Des Plaines, IL 60016
Des Plains Elks Lodge 1526
Northeast Illinois 129
2744 Grand Ave
Waukegan, IL 60085


Desales University
2755 Station Ave
Center Valley, PA 18034


Desert Ac
San Diego Imperial Council 049
429 W Main St
El Centro, CA 92243


Desert Cross Lutheran Church
Grand Canyon Council 010
8600 S Mcclintock Dr
Tempe, AZ 85284


Desert Foothills Utd Methodist Church
Grand Canyon Council 010
2156 E Liberty Ln
Phoenix, AZ 85048


Desert Grace Commty
Church Of Nazarene
Grand Canyon Council 010
12134 N Frontage Rd
Yuma, Az 85367


Desert Greens Equipment, Inc
4850 Pan American Freeway Ne
Albuquerque, NM 87109


Desert Group Search And Rescue
W.L.A.C.C. 051
P.O. Box 1419
Rosamond, CA 93560


Desert Hills Middle School PTO
Blue Mountain Council 604
1701 S Clodfelter Rd
Kennewick, WA 99338


Desert Hills Presbyterian Church
Grand Canyon Council 010
24605 N Scottsdale Rd
Scottsdale, AZ 85262


Desert Hills Presbyterian Church
Grand Canyon Council 010
P.O. Box 874
Carefree, AZ 85377


Desert Hot Springs Police Dept
California Inland Empire Council 045
65950 Pierson Blvd
Desert Hot Springs, CA 92240


Desert Outdoor Center At Lake Pleasant
41402 N 87th Ave
Peoria, AZ 85383


Desert Paper   Envelope Co, Inc
2700 Girard Blvd N.E.
Albuquerque, NM 87107


Desert Son Community Church
Catalina Council 011
5250 W Cortaro Farms Rd
Tucson, AZ 85742


Desert Spring Utd Methodist Church
Las Vegas Area Council 328
120 N Pavilion Center Dr
Las Vegas, NV 89144


Desert Vineyard
W.L.A.C.C. 051
1011 E Ave I
Lancaster, CA 93535


Desert Wave Pool
240 E 500 N
Price, UT 84501


Desert Willow Ward ‐ LDS Rincon Stake
Catalina Council 011
8851 E La Palma Dr
Tucson, AZ 85747


Deshler American Legion Post 316
Black Swamp Area Council 449
429 S Stearns Ave
Deshler, OH 43516


Design Assoc Ad LLC
dba Adventure Outfitters
P.O. Box 32307
Phoenix, AZ 85064


Design Glass, Inc
5768 Ndcbu
Taos, NM 87571


Designs By Jm
Joel Manalili II
23511 Aliso Creek Rd, 48
Aliso Viejo, CA 92656


Designs Thread
5044 Franciford 200
Lubbock, TX 79424


Designsensory
1740 Commons Point Dr
Centerpoint Commons Bldg 1
Knoxville, TN 37932


Designwear, Inc
2630 N 27th St
Lincoln, NE 68521


Desire Brown
Address Redacted


Desiree Menken
Address Redacted


Desmane L Thomas
Address Redacted


Desmond Chambers
Address Redacted


Desmond Miller
Address Redacted


Desoto Area Lions
Gateway Area 624
65915 Desoto Bluffs Dr
Desoto, WI 54624


Desoto Community Church Of God
Greater St Louis Area Council 312
300 W Mineral St
De Soto, MO 63020


Desoto County High School Jrotc
Southwest Florida Council 088
1710 E Gibson St
Arcadia, FL 34266


Desoto County Sheriff Dept
Chickasaw Council 558
311 W S St
Hernando, MS 38632


Desoto County Sheriff S Sar Unit
Chickasaw Council 558
830 Old Hwy 51 N
Nesbit, MS 38651


Desoto Parish Sales
Attn and Use Tax Commission
P.O. Box 471
Mansfield, LA 71052‐0471


Desoto Presbyterian Church
Circle Ten Council 571
212 W Pleasant Run Rd
Desoto, TX 75115


Desoto Utd Meth Ch,1st Ch God Eaton
Crossroads Of America 160
700 E Harris St
5200 N County Rd 500 E
Eaton, In 47338


Desoto Utd Methodist Church
Crossroads of America 160
6309 N County Rd 500 E
Muncie, IN 47303


Desoto Utd Methodist Church
Heart of America Council 307
P.O. Box 400
8760 Kill Creek Rd
De Soto, KS 66018


Dessel‐Schmidt Post 225
Mid‐America Council 326
121 N Main St
Holstein, IA 51025


Dessert Dreams, Inc
409 N Berry
Irving, TX 75061


Destin Utd Methodist Church
Gulf Coast Council 773
200 Beach Dr
Destin, FL 32541


Destination Nashville Inc
835 Wren Rd
Goodlettsville, TN 37072


Destination Pros
20341 Irvine Ave, Ste D4
Newport Beach, CA 92707


Destination Pros
437 J St, Ste 210
San Diego, CA 92101


Destiny Christian Academy
Atlanta Area Council 092
7400 Factory Shoals Rd
Austell, GA 30168


Destiny Church
National Capital Area Council 082
1241 S King St
Leesburg, VA 20175


Destiny Temple
Old Hickory Council 427
1131 NE 21st St
Winston Salem, NC 27105


Dests Unlimited Nern CA, Inc
San Francisco Bay Area Council 028
1989 Santa Rita Rd, Ste C
Pleasanton, Ca 94566


Destyne R Hailey
Address Redacted


Detroit Country Day School Village Camp
Great Lakes Fsc 272
3600 Bradway Blvd
Bloomfield Hills, MI 48301


Detroit Innovation Academy
Great Lakes Fsc 272
18211 Plymouth Rd
Detroit, MI 48228


Detroit Lakes Police Dept
Northern Lights Council 429
106 Holmes St E
Detroit Lakes, MN 56501


Detroit Marriott
Renaissance Center
Detroit, MI 48243


Detroit Marriott Renaissance Ctr
100 Renaissance Ctr
Detroit, MI 48243


Detroit Police Dept 10Th Precinct
Great Lakes Fsc 272
12000 Livernois Ave
Detroit, MI 48204


Detroit Police Dept 8Th Precinct
Great Lakes Fsc 272
11450 Warwick St
Detroit, MI 48228


Detroit Police Dept Northeastern Dist.
Great Lakes Fsc 272
5100 E Nevada St
Detroit, Mi 48234


Detroit Police Law Enforcement Explorers
Great Lakes Fsc 272
1441 W 7 Mile Rd
Detroit, MI 48203


Detroit Police Law Enforcement Explorers
Great Lakes Fsc 272
18100 Meyers
Detroit, MI 48235


Detroit Police Law Enforcement Explorers
Great Lakes Fsc 272
3500 Conner St
Detroit, MI 48215


Detroit Police Law Enforecement Explorer
Great Lakes Fsc 272
11187 Gratiot Ave
Detroit, Mi 48213


Detroit Service Learning Academy
Great Lakes Fsc 272
21605 W 7 Mile Rd
Detroit, MI 48219


Detroit Toyota Ss ‐ Opc
1776 W Warren Ave
Detroit, MI 48208‐2215


Deuter Usa Inc
Dept 0841
Denver, CO 80256‐0001


Devan Mapp
Address Redacted


Devaney Elementary School PTO
Crossroads of America 160
1011 S Brown Ave
Terre Haute, IN 47803


Devang Desai
Address Redacted


Development Dimensions International Inc
P.O. Box 780470
Philadelphia, PA 19178‐0470


Development Solutions Group
477 Laurel Ave E‐3
St Paul, MN 55102‐3445
Developmental Dimensions, Inc
Kris Zajac
1225 Washington Pike
Bridgeville, PA 15017‐2838


Developmental Pathways
Denver Area Council 061
325 Inverness Dr S
Englewood, CO 80112


Developmental Resources
P.O. Box 615
Chapin, SC 29036


Devi Deaver
Address Redacted


Devin Kenneth Laughton
Address Redacted


Devin Koehler
Address Redacted


Devin N Barnett
Address Redacted


Devin Ryan Ayala
Address Redacted


Devin Spangler
Address Redacted


Devine Millimet   Branch, Prof Assoc
111 Amherst St
Manchester, NH 03101


Devine Records Management LLC
Pee Dee Area Council 552
P.O. Box 1691
Dillon, SC 29536


Devolutions Inc
1000 Rue Notre‐Dame
Lavaltrie, Qc J5T 1M1
Canada


Devon 50 Inc
Chester County Council 539
P.O. Box 50
Devon, PA 19333


Devon 50, Inc Grp Interested Citizens
Chester County Council 539
P.O. Box 50
Devon, Pa 19333


Devon Dougherty
Address Redacted


Devon Mayo
Address Redacted


Devon Park Restoration Branch
Heart of America Council 307
824 E Devon St
Independence, MO 64055


Devon Rotary Club 6723
Connecticut Yankee Council Bsa 072
P.O. Box 421
Milford, CT 06460


Devon William Buttenshaw
Address Redacted


Devon‐Aire, Inc
P.O. Box 25112
4904 Savarese
Tampa, FL 33622
Devonshire Elementary PTO
Pathway To Adventure 456
1401 Pennsylvania Ave
Des Plaines, IL 60018


Devtal Learning Center
New Providence
Patriots Path Council 358
330 Central Ave
New Providence, Nj 07974


Dewanda Sheets
Address Redacted


Dewberry Engineers Inc
Greater New York Councils, Bsa 640
132 W 31st St, Rm 301
New York, NY 10001


Dewco Water Equipment, Inc
1841‐A Wadsworth Blvd
Lakewood, CO 80214


Dewees Rec Center
Baltimore Area Council 220
5501 Ivanhoe Ave
Baltimore, MD 21212


Deweews Rec Center
Baltimore Area Council 220
5501 Ivanhoe Ave
Baltimore, MD 21212


Dewey Barr
Address Redacted


Dewey Int. Studies
Greater St Louis Area Council 312
6746 Clayton Ave
Saint Louis, MO 63139
Dewey Jones
Address Redacted


Dewey Middle School
Cherokee Area Council 469 469
1 Bulldogger Rd
Dewey, OK 74029


Dewey School PTA
Northeast Illinois 129
1551 Wesley Ave
Evanston, IL 60201


Dewitt Clinton Masonic Lodge
Cape Cod and Islands Cncl 224
P.O. Box 1772
Sandwich, MA 02563


Dewitt Lions Club
Water and Woods Council 782
1306 Sandhill Dr
Dewitt, MI 48820


Dewitt Night Lions
c/o Leo Fier
Illowa Council 133
200 8th St
De Witt, IA 52742


Dewitt Rotary Club
Quapaw Area Council 018
P.O. Box 511
De Witt, AR 72042


Dexter American Legion Post 557
Southern Shores Fsc 783
8225 Dexter Chelsea Rd
Dexter, MI 48130


Dexter And Caze Elementary Schools
Buffalo Trace 156
917 S Dexter Ave
Evansville, IN 47714


Dexter Cantelou
Address Redacted


Dexter Lions Club
Southern Shores Fsc 783
9652 Alice Hill Rd
Dexter, MI 48130


Dexter Mccree
Address Redacted


Dexter Sunrise Kiwanis
Katahdin Area Council 216
74 Grove St
Dexter, ME 04930


Dfas
Attn Resource Management Office
Us Army Garrison Ft Ap Hill Commander
14136 Burke Rd
Fort Ap Hill, VA 22427‐3116


Dfw Airport Marriott
8440 Freeport Pkwy
Irving, TX 75063


Dfw Business Group On Health
11520 N Central Expressway, Suite 201
Dallas, TX 75243


Dfw Communications Inc
P.O. Box 226467
Dallas, TX 75222‐6467


Dfw Electric Group LLC
130 Kristen Ln
Wylie, TX 75098
Dfw Global Trucking LLC
7820 Meadowlark Dr
Ft Worth, TX 76133


Dfw Marriott Hotel   Golf Club
3300 Championship Pkwy
Fort Worth, TX 76177


Dfw Rims
P.O. Box 803567
Dallas, TX 75380‐3567


Dfw Small Engine Center Inc
1301A W Nwest Hwy
Grapevine, TX 76051


Dfw Uso
433 E Las Colinas Blvd, Ste 1250 Lb 30
Irving, TX 75039


Dgl Group, Ltd
195 Raritan Center Pkwy
Edison, NJ 00837


Dgmb Casino LLC
Resorts Casino Hotel
1133 Boardwalk
Atlantic City, NJ 08401


Dharma Trading Co
1805 S Mcdowell Blvd Ext
Petaluma, CA 94954


Dheera Limited Co LLC
P.O. Box 16387
Fort Worth, TX 76162


Dheera Limited Co LLC
P.O. Box 1647
Hurst, TX 76053
Dhl Express Usa Inc
P.O. Box 415099
Boston, MA 02241‐5099


Diablo View Middle School
Mt Diablo‐Silverado Council 023
300 Diablo View Ln
Clayton, CA 94517


Dial A Messenger LLC
1214 S Akard St
Dallas, TX 75215


Dial One General Electronic Security Inc
6114 Madison Rd
Cincinnati, OH 45227


Diamond Archery
Quivira Council, Bsa 198
10502 E 26th Cir N
Wichita, KS 67226


Diamond Brand
145 Cane Creek Industrial Park Rd
Ste 100
Fletcher, NC 28732


Diamond Brand Canvas Products
145 Cane Creek Industrial Park Rd
Ste 100
Fletcher, NC 28732‐6544


Diamond Hill Ptso
Blue Ridge Council 551
104 Lake Secession Rd
Abbeville, SC 29620


Diamond Hill Utd Methodist Church
Greenwich 067
521 E Putnam Ave
Cos Cob, CT 06807


Diamond In The Rough
Northeast Georgia Council 101
2140 Mcgee Rd, Ste C270
Snellville, GA 30078


Diamond Lake Lutheran Church
Northern Star Council 250
5760 Portland Ave
Minneapolis, MN 55417


Diamond Lake School District 76 PTO
Northeast Illinois 129
25807 N Diamond Lake Rd
Mundelein, IL 60060


Diamond Masonry
Las Vegas Area Council 328
9515 Redwood St
Las Vegas, NV 89139


Diamond Rental Party
4518 Riverside Dr
Salt Lake City, UT 84123


Diamond Spgs El Dorado Firefighter Assoc
Golden Empire Council 047
P.O. Box 741
501 Main St
Diamond Springs, Ca 95619


Diamond Vly Fire Special Svc Distr
Utah National Parks 591
1651 W Diamond Valley Dr
Saint George, Ut 84770


Diamond W Arena Inc
8901 E Hwy 67 S
Alvarado, TX 76009
Diamondhead Utd Methodist Church
Pine Burr Area Council 304
5305 Noma Dr
Diamondhead, MS 39525


Diana Bates
Address Redacted


Diana Brewer
Address Redacted


Diana Burrough
Address Redacted


Diana Castellano
Address Redacted


Diana Cramer
Address Redacted


Diana Diez De Medina
Address Redacted


Diana Godbey
Address Redacted


Diana Hallisey
Address Redacted


Diana Hart
Address Redacted


Diana Knapstein
Address Redacted


Diana Lanunziata
Address Redacted
Diana Macnamee Gold
Address Redacted


Diana Madrigal
Address Redacted


Diana Rubio
Address Redacted


Diana Sullivan
Address Redacted


Diana Sunderland
Address Redacted


Diana Taylor
Address Redacted


Diana Trent
Address Redacted


Diana Venema
Address Redacted


Diana Wise
Address Redacted


Diandra Ongso
Address Redacted


Diane Barnhart
Address Redacted


Diane Birch
Address Redacted


Diane Campman
Address Redacted
Diane Cloutier
Address Redacted


Diane Cordell
Address Redacted


Diane Denison
Address Redacted


Diane Doser
Address Redacted


Diane Evelyn Lavenz
Address Redacted


Diane Hinman
Address Redacted


Diane Jackson
Address Redacted


Diane Johnson
Address Redacted


Diane Jones
Address Redacted


Diane Krakoff
Address Redacted


Diane Lariar
Address Redacted


Diane Leicht
Address Redacted
Diane Marguerite Porto‐Miner
Address Redacted


Diane Marie Smith
Address Redacted


Diane Mcmillan
Address Redacted


Diane Mysinger
Address Redacted


Diane Naughton
Address Redacted


Diane Nelson
Address Redacted


Diane P Bond
Address Redacted


Diane Purtty
Address Redacted


Diane Sadler
Address Redacted


Diane Schneider
Address Redacted


Diane Schulz
Address Redacted


Diane Smith
Address Redacted


Diane Stein
Address Redacted
Diane Thornton
Address Redacted


Diane Waldron
Address Redacted


Diane Wheeler
Address Redacted


Diane Wigell
Address Redacted


Diane Yokum
Address Redacted


Diann Conde
Address Redacted


Diann Cunningham
Address Redacted


Diann Taghan
Address Redacted


Dianna Blanchard
Address Redacted


Dianna D Onofrio
Address Redacted


Dianna Gatz
Address Redacted


Dianna Henderson
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Dianna Marsh
Address Redacted


Dianna Zullo
Address Redacted


Dianne Haines
Address Redacted


Dianne Harvey
Address Redacted


Dianne Johnson
Address Redacted


Dianne Jones
Address Redacted


Dianne Koch
Address Redacted


Dianne Maharrey
Address Redacted


Dianne Nelson
Address Redacted


Dianne Rogers
Address Redacted


Dianne S Custom Candles
11903 Larc Industrial Blvd
Burnsville, MN 55337


Dianne Swanson
Address Redacted


Dibs On Oils LLC
Pikes Peak Council 060
5927 Adamants Dr
Colorado Springs, CO 80924


DiceCom
4939 Collection Ctr Dr
Chicago, IL 60693


Dick   Jean Isler
4447 S Iris Ct
Littleton, CA 80123‐1179


Dick Lox
Address Redacted


Dick Martin Sports Inc
495 Industrial Rd
P.O. Box 6532
Carlstadt, NJ 07072


Dick Mckelvey
Address Redacted


Dick S Sporting Goods
Attn Mary Ellen Corcoran Receivables
345 Court St
Coraopolis, PA 15108


Dick S Sporting Goods, Inc
345 Ct St
Coraopolis, PA 15108


Dick S Welding   Repair
440 N 15th Ave E
Ely, MN 55731


Dick Spark Photography
5555 E 62nd Ave
Indianapolis, IN 46220
Dickerson Park Zoo
Ozark Trails Council 306
3043 N Fort Ave
Springfield, MO 65803


Dickey Collins
Address Redacted


Dickey Hill
Baltimore Area Council 220
5025 Dickey Hill Rd
Gwynn Oak, MD 21207


Dickey Memorial Presbyterian Church
Baltimore Area Council 220
5112 Wetheredsville Rd
Gwynn Oak, MD 21207


Dickey S Barbecue Pit Inc
5330 N Macarthur Blvd, Ste 168
Irving, TX 75038


Dickie Turner
Address Redacted


Dickinson 2Nd Ward Bismarck Nd Stake
Northern Lights Council 429
1200 Alder Av
Dickinson, ND 58601


Dickinson Branch, Bismarck Nd Stake
Northern Lights Council 429
1200 Alder Ave
Dickinson, ND 58601


Dickinson College
Attn Student Accounts
P.O. Box 1773
Carlisle, PA 17013


Dickinson PTO
Attn Megan Dorsey Pto Representative
Sam Houston Area Council 576
7110 Greatwood Pkwy
Sugar Land, TX 77479


Dickinson Roughrider Kiwanis Club
Northern Lights Council 429
10641 Hwy 10
Dickinson, ND 58601


Dicks Ace Home Center
Attn Alane Bohman
380 E Pages Ln
Centerville, UT 84014


Dickson Animal Clinic
Piedmont Council 420
2940 S New Hope Rd
Gastonia, NC 28056


Dickson City Commty
Ambulance Assoc
Northeastern Pennsylvania Council 501
2 Eagle Ln
Dickson City, Pa 18519


Dickson Fisrt Utd Methodist Church
Middle Tennessee Council 560
111 Hwy 70 E
Dickson, TN 37055


Die Hard Dice
Utah National Parks 591
521 Village Dr
Orem, UT 84058


Diederich Farm LLC
Bay‐Lakes Council 635
2878 Woodhaven Cir
De Pere, WI 54115


Diego Aviles
Address Redacted


Diego M Demmon
Address Redacted


Dien Hong Youth Foundation
Silicon Valley Monterey Bay 055
3515 Pleasant Row Ct
San Jose, CA 95148


Diesen Winkler American Legion Post 325
Greater St Louis Area Council 312
P.O. Box 243
1105 Sycamore St
Germantown, IL 62245


Dieste Inc
1999 Bryan St, Ste 2700
Dallas, TX 75201


Dietrich Ward ‐ Carey Stake
Snake River Council 111
181 S 650 E
Dietrich, ID 83324


Dietz Froehlich
Address Redacted


Diggin Active, Inc
5900 Hollis St
Emeryville, CA 94608


Dighton Community Church
Narragansett 546
2036 Elm St
Dighton, MA 02715


Digi Print Corp
4865 Longley Ln, Ste C
Reno, NV 89502
Digital Alarm Systems, Inc
P.O. Box 630186
Houston, TX 77263‐0186


Digital Data Services, Inc
10920 W Alameda, Suite 200
Lakewood, CO 80226


Digital Datacomm
Utah National Parks 591
1284 E 420 S
Provo, UT 84606


Digital Discovery Corp
8131 Lbj Freeway, Ste 325
Dallas, TX 75251


Digital Es
P.O. Box 14469
Oklahoma City, OK 73113


Digital Intelligence Systems Corp
P.O. Box 100113
Atlanta, GA 30384‐0113


Digital Marketing    Print Solutions
3305 Wiley Post
Carrollton, TX 75006


Digital Railroad
117 S Main St, Ste 300
Seattle, WA 98104


Digital River
Ar P.O. Box 88278
88278 Expedite Way
Chicago, IL 60695‐0001


Digital Training   Designs Inc
16200 Addison Rd, Ste 200
Addison, TX 75001


Digsau Architecture, PC
340 N 12th St, Ste 421
Philadelphia, PA 19107


Dike School Of The Arts
Lake Erie Council 440
2501 E 61st St
Cleveland, OH 44104


Diken Construction
1347 S Highland Ave
Arlington Heights, IL 60005


Dillabers Locksmith Service
829 W College Ave
Waukesha, WI 53186


Dillard Bickerstaff
Address Redacted


Dillon Cabinet And Millwork Inc
Middle Tennessee Council 560
420 S College St
Lebanon, TN 37087


Dillon Lions Club
Pee Dee Area Council 552
P.O. Box 1003
Dillon, SC 29536


Dillon M Burks
Address Redacted


Dillon M Landewee
Address Redacted


Dillon Precision Procedures, Inc
8009 E Dillons Way
Scottsdale, AZ 85260


Dillon Precision Products, Inc
8009 E Dillons Way
Scottsdale, AZ 85260


Dillon Road Presbyterian Church
Suwannee River Area Council 664
3041 Dillon Rd
Thomasville, GA 31757


Dillon Sportsman Center Foundation
Simon Kenton Council 441
6051 Jacksontown Rd
Newark, OH 43056


Dillonscott Media
200225 Allentown Dr
Woodland Hills, CA 91364


Dillsburg Lions Club
New Birth of Freedom 544
P.O. Box 264
Dillsburg, PA 17019


Dilworth Lions Club
Northern Lights Council 429
20 Avon St
Dilworth, MN 56529


Dilworth Lions Club
Northern Lights Council 429
P.O. Box 116
Dilworth, MN 56529


Dimaco Ltd
1100 Valwood Pkwy, Ste 104
Carrollton, TX 75006


Dime Emb, LLC
10495 Olympic Dr, Ste 100
Dallas, TX 75220


Dimension Fabricators Inc
2000 7th St
Scotia, NY 12302


Dimitri M Lindsey
Address Redacted


Dimitria Delights Inc
81 Creeper Hill Rd
North Grafton, MA 01536‐1421


Dina Ingham
Address Redacted


Dina Wiscowitch
Address Redacted


Dinaz Kachhi‐Jiwani
Address Redacted


Dingmans Ferry Utd Methodist Church
Hudson Valley Council 374
115 Myck Rd
Dingmans Ferry, PA 18328


Dinh Thai
Address Redacted


Dinosaur Restaurants LLC
246 W Willow St
Syracuse, NY 13202


Dinsmore   Shohl, LLP
P.O. Box 640635
Cincinnati, OH 45264‐0635


Dinuba Fire
Sequoia Council 027
420 E Tulare St
Dinuba, CA 93618


Dinuba Law Enforcement
Sequoia Council 027
680 S Alta Ave
Dinuba, CA 93618


Dinwiddie Moose Lodge 1993
Heart of Virginia Council 602
7212 Boydton Plank Rd
North Dinwiddie, VA 23803


Diocese Of Charleston
1662 Ingram Rd
Charleston, SC 29407‐4242


Diocese Of Orange
c/o James Root
3980 Landmark Ln
Brea, CA 92823


Diocese Of Orange Christ Cathedral
Orange County Council 039
13280 Chapman Ave
Garden Grove, CA 92840


Diocese Of Phoenix/Serra
Grand Canyon Council 010
400 E Monroe St
Phoenix, AZ 85004


Diocese Of Portland Maine
P.O. Box 11559
Portland, ME 04103


Diocese Of Rockville Centre
Suffolk County Council Inc 404
P.O. Box 9023
Rvc ‐ Office of Youth Ministries
Rockville Centre, NY 11571
Diocese Of Rockville Centre
Theodore Roosevelt Council 386
50 N Park Ave
Rockville Centre, NY 11570


Diocese Of Savannah
Kim Nott
2170 E Victory Dr
Savannah, GA 31404


Diocese Of Venice
1000 Pinebrook Rd
Venice, FL 34285


Diocese Of Wheeling Charleston
P.O. Box 230
Wheeling, WV 26003


Diocese Trenton Catholic Ctte, Scouting
Washington Crossing Council 777
P.O. Box 5147
Trenton, Nj 08638


Dioese Of Dallas
Catholic Committe On Scouting
6427 Windsong Dr
Dallas, TX 75252‐5417


Dion Enterprises LLC
4900 W Hundred Rd
Chester, VA 23831


Dion Enterprises LLC
dba Dion Fuels LLC
412 S Flagler Ave
Homestead, FL 33030


Dion Generator Solutions
12931 SW 84th Ave Rd
Miami, FL 33156
Diplomat Elementary School
Southwest Florida Council 088
1115 NE 16th Ter
Cape Coral, FL 33909


Dirani Dry Cleaners
935 Edgewood Ave
Jacksonville, FL 32205


Dircksen   Talleyrand Inc
The River Cafe
1 Water St
Brooklyn, NY 11201


Direct Brothers, Inc
T/A Pottstown Army Navy
229 E High St
Pottstown, PA 19464


Direct Business Products
P.O. Box 2372
Denton, TX 76202


Direct Communications Rockland
150 S Main St
Rockland, ID 83271


Direct Communications Rockland
P.O. Box 269
Rockland, ID 83271‐0269


Direct Energy Business, Inc
1001 Liberty Ave
Pittsburgh, PA 15222


Direct Energy Business,Inc
P.O. Box 660749
Dallas, TX 75266
Direct Marketing Assoc Inc
General Post Office
P.O. Box 29814
New York, NY 10087‐9814


Direct Power   Water Corp
4000 B Vassar Dr Ne
Albuquerque, NM 87107


Direct Supply, Inc
Box 88201
Milwaukee, WI 53288‐0201


Direct Textile Store
8710 Hillsborough Ave, Ste 223
Tampa, FL 33615


Directions Usa Inc
3922 W Market St
Greensboro, NC 27407


Director Of Revenue
P.O. Box 1366
Jefferson City, MO 65102


Director Of Taxation
Kansas Dept of Revenue
Topeka, KS 66625‐0001


Directv
P.O. Box 105249
Atlanta, GA 30348‐5249


Directv
P.O. Box 5006
Carol Stream, IL 60197‐5006


Directv, LLC
Business Service Ctr
P.O. Box 5392
Miami , FL 33152‐5392
Directv, LLC
Commercial Accounts Payments
P.O. Box 60036
Los Angeles, CA 60036


Directv, LLC
Commercial Accounts Payments
P.O. Box 60036
Los Angeles, CA 90060‐0036


Dirk Checketts
Address Redacted


Dirk Daube
Address Redacted


Dirk J Page
Address Redacted


Dirk Smith
Address Redacted


Dirkhats, Inc
Dba Master Electrician
4492 Black Elk Way
West Jordan, UT 84088


Dirt Rag Magazine
P.O. Box 5040
Brentwood, TN 37024‐5040


Disabled America Veterans Chapter 29
Longhorn Council 662
607 E Veterans Memorial Blvd
Harker Heights, TX 76548


Disabled American Veterans
Gift Processing
P.O. Box 14301
Cincinnati, OH 45250‐0301


Disabled American Veterans
Gulf Stream Council 085
11 Amherst Ct, Apt A
Royal Palm Beach, FL 33411


Disabled American Veterans ‐ Chapter 26
Pikes Peak Council 060
6880 Palmer Park Blvd
Colorado Springs, CO 80915


Disabled American Veterans 41
Tidewater Council 596
P.O. Box 2153
Portsmouth, VA 23702


Disabled American Veterans Buffalo C62
Ozark Trails Council 306
1100 N Maple St
Buffalo, MO 65622


Disaster Preparedness Summit
27520 Hawthorne Blvd, Ste 176
Palos Verdes, CA 90274


Disc Makers
Accounting Dept
7905 N Route 130
Pennsauken, NJ 08110


Disciple Discovery Center
Indian Nations Council 488
1883 S Cherokee St
Catoosa, OK 74015


Disciples Christian Church
Circle Ten Council 571
2001 Independence Pkwy
Plano, TX 75075
Disciples Of Christ First Christian
Prairielands 117
546 N 6th St
Watseka, IL 60970


Disciples Utd Methodist Church
Iroquois Trail Council 376
4410 Holley Byron Rd
Holley, NY 14470


Disc‐O‐Bed, LP
2408 Tech Center Pkwy, Ste 100
Lawrenceville, GA 30043


Discount Boat Tops
14000 66th St
Largo, FL 33771


Discount Cities, Inc
306 S Bonner St
Jacksonville, TX 75766


Discount Magazine Sub Service
P.O. Box 60114
Ft Myers, FL 33906‐6114


Discount Mugs
12610 NW 115th Ave
Building 20
Medley, FL 33178


Discount Paintball
2280 Elmhurst Rd
Elk Grove Village, IL 60007


Discount Ramps
N102 W19400 Willow Creek Way
Germantown, WI 53022


Discount Rock   Sand Inc
10500 Aviation Blvd, Unit 2
Marathon, FL 33050


Discount Rock   Sand Inc
P.O. Box 504484
Marathon, FL 33050


Discount School Supply
P.O. Box 6013
Carol Stream, IL 60197‐6013


Discount Tire /America S Tire Co
P.O. Box 29851
Phoenix, AZ 85038‐9851


Discount Two‐Way Radio Corp
555 W Victoria St
Rancho Dominguez, CA 90220


Discountflies.Com
3105 E Phillips
Centennial, CO 80122


Discover
P.O. Box 37809
Boone, IA 50037


Discover Church Of Noble Inc
Last Frontier Council 480
996 S Front St
Noble, OK 73068


Discover Nowhere LLC
Bay‐Lakes Council 635
N3494 State Hwy 55
White Lake, WI 54491


Discover Of Noble Church Inc
Last Frontier Council 480
996 S Front St
Noble, OK 73068
Discovery Bay Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 493
Byron, CA 94514


Discovery Charter School Hillpointe
Las Vegas Area Council 328
8941 Hillpointe Rd
Las Vegas, NV 89134


Discovery Charter School Sandhill
Las Vegas Area Council 328
8941 Hillpointe Rd
Las Vegas, NV 89134


Discovery Christian Church
California Inland Empire Council 045
27555 Alessandro Blvd
Moreno Valley, CA 92555


Discovery Church
Central Minnesota 296
700 18th St N
Sauk Rapids, MN 56379


Discovery Document Technologies
725 S Figueroa St, Ste 1505
Los Angeles, CA 90017


Discovery Elaementary After School
Central Florida Council 083
1275 Glendale Ave Nw
Palm Bay, FL 32907


Discovery Elementary PTO
Northern Lights Council 429
3300 43rd Ave S
Grand Forks, ND 58201


Discovery Link, Dps Schools
Denver Area Council 061
1617 S Acoma St
Denver, CO 80223


Discovery Outdoor Committee
Pacific Skyline Council 031
1150 Chess Dr
Foster City, CA 94404


Discovery Point Silverthorn
Greater Tampa Bay Area 089
14281 Odyssey Rd
Spring Hill, FL 34609


Discovery Resource
1511 W 34th St
Houston, TX 77018


Discovery School
Rio Grande Council 775
1711 W Alberta Rd
Edinburg, TX 78539


Discovery School Of Lancaster
Palmetto Council 549
1033 E Meadow Dr, Apt A
Lancaster, SC 29720


Discovery Utd Methodist Church
Greater Alabama Council 001
5487 Stadium Trace Pkwy
Hoover, AL 35244


Discovery Utd Methodist Church
Heart of Virginia Council 602
13000 Gayton Rd
Richmond, VA 23233


Dish
P.O. Box 94063
Palatine, IL 60094‐4063
Dish Network
Dept 0063
Palatine, IL 60055‐0063


Dish Network
P.O. Box 105169
Atlanta, GA 30348‐5169


Dishman Mcginnis Elementary School PTA
Lincoln Heritage Council 205
375 Glen Lily Rd
Bowling Green, KY 42101


Disney Destinations LLC
dba Disney Resort Destinations
P.O. Box 10000
Lake Buena Vista, FL 32830‐1000


Disney Elementary
Indian Nations Council 488
11702 E 25th St
Tulsa, OK 74129


Disney PTA
Indian Nations Council 488
11702 E 25th St
Tulsa, OK 74129


Disney Sports Attractions
3281 Sherberth Rd
Kissimmee, FL 34747


Display Concepts Inc
P.O. Box 832795
616 S Sherman St, Ste 100
Richardson, TX 75083


Display Direct
2554 Stowe Dr
Lawrence, KS 66049‐1870
Display Options Inc
9517 Monroe Rd, Ste A
Charlotte, NC 28270‐1489


Displays 2 Go
55 Broadcommon Rd
Bristol, RI 02809


Displays 2 Go
81 Commerce Dr
Fall River, MA 02720


Displays Inc
626 106th St
Arlington, TX 76011


Disposal Management
P.O. Box 1960
Birmingham, MI 48009


Disston Memorial Presbyterian Church
Cradle of Liberty Council 525
4500 Tyson Ave
Philadelphia, PA 19135


Distinct Auto Glass
P.O. Box 3328
Fredericksburg, VA 22402


Distinctive College Prep
Great Lakes Fsc 272
19360 Harper Ave
Harper Woods, MI 48225


Distinctive Graphics Inc
dba Identitec
P.O. Box 93555
2840 Market Loop, Ste 100
Southlake, TX 76092


Distinctive Lighting
Montana Council 315
2608 W Main St
Bozeman, MT 59718


Distinctive Offices Inc
250 W 40th St, 9th Fl
New York, NY 10018


Distribution Technology Inc
P.O. Box 7123
Charlotte, NC 28241‐7123


District 2 Fire    Rescue
Alamo Area Council 583
7045 Old Talley Rd
San Antonio, TX 78253


District Committee Outreach
Twin Valley Council Bsa 283
636 1st Ave N
Sleepy Eye, MN 56085


District Court Of Russell County
501 14th St
Russell County Judicial Ctr
Phenix City, AL 36867


District Iv Law Enforcement Post 1004
National Capital Area Council 082
5135 Indian Head Hwy
Oxon Hill, MD 20745


District Of Columbia
1101 4th St, Sw, Ste 270 W
Washington, DC 20024


Ditch Witch Of New Mexico Inc
2520 Comanche Rd Ne
Albuquerque, NM 87107


Dive Connections
Stonewall Jackson Council 763
1754 Timberwood Blvd
Charlottesville, VA 22911


Divers Supply Indy Inc
104 S Post Rd
Indianapolis, IN 46219


Divers Alert Network
Peter B Bennett Ctr
6 W Colony Pl
Durham, NC 27705


Diversco Supply Usa Inc
dba Sherwood Scuba
6161 Atlantic Blvd
Norcross, GA 30071


Diverse Unity Outreach Center
Water and Woods Council 782
1403 Jenks St
Port Huron, MI 48060


Diversified Collection Services Inc
P.O. Box 9048
Pleasanton, CA 94566‐9048


Diversified Fire Protection Inc
5941 Midway Rd
Ft Worth, TX 76117


Diversified Lab
1445 N Warson
St Louis, MO 63132


Diversified Media Group
385 Market St
Kenilworth, NJ 07033


Diversified Metal Crafters, Inc
4 Carol Dr
Lincoln, RI 02865


Diversified Office Cleaning Services
P.O. Box 1523
Addison, IL 60101


Diversified Search LLC
Stemconnector
2005 Market St, Ste 3300
Philadelphia, PA 19103


Diversified Security, Inc
P.O. Box 18891
West Palm Beach, FL 33416


Diversified Waste Disposal, Inc
P.O. Box 2389
Danbury, CT 06813‐2389


Diversity   Leadership Inc
P.O. Box 891212
Houston, TX 77289‐1212


Diversity Comm, Inc
18 Technology Dr, Ste 170
Irvine, CA 92618


Diversity Law Group PC
444 S Flower St, Ste 1370
Los Angeles, CA 90071


Diversity Training Group
692 Pine St
Herndon, VA 20170


Diversity Travel Ltd
Hanover House
30‐32 Charlotte St
Manchester, M1 4Fd
United Kingdom
Divine Child Parish Mens Club
Great Lakes Fsc 272
25001 Herbert Weier Dr
Dearborn, MI 48128


Divine Destiny School
Three Harbors Council 636
3725 N Sherman Blvd
Milwaukee, WI 53216


Divine Mercy Catholic Church
Northern Star Council 250
4 2nd Ave Sw
Faribault, MN 55021


Divine Mercy Catholic School
Northern Star Council 250
15 3rd Ave Sw
Faribault, MN 55021


Divine Mercy Holy Name Society
Three Harbors Council 636
695 College Ave
South Milwaukee, WI 53172


Divine Mercy Parish
Heart of America Council 307
P.O. Box 267
Gardner, KS 66030


Divine Mercy Parish ‐ Rcc
Greater New York Councils, Bsa 640
219 Conselyea St
Brooklyn, NY 11211


Divine Mercy Parish Corp
Connecticut Yankee Council Bsa 072
1620 Whitney Ave
Hamden, CT 06517


Divine Mercy Parish St Cecilia S
Greater New York Councils, Bsa 640
84 Herbert St
Brooklyn, NY 11222


Divine Redeemer Catholic Church PTA
Pikes Peak Council 060
926 Farragut Ave
Colorado Springs, CO 80909


Divine Redeemer Church
Susquehanna Council 533
438 W Ave
Mount Carmel, PA 17851


Divine Redeemer Presbyterian Church
Alamo Area Council 583
407 N Calaveras
San Antonio, TX 78207


Divine Savior Catholic Church
Golden Empire Council 047
9079 Greenback Ln
Orangevale, CA 95662


Divine Savior Healthcare
P.O. Box 112
Portage, WI 53901


Divine Saviour Catholic Church
Palmetto Council 549
P.O. Box 341
York, SC 29745


Divine Temple Church
Bay‐Lakes Council 635
425 Cherry St
Green Bay, WI 54301


Divinekinship Inc
8245 Stony Creek
Dallas, TX 75228
Diving Equipment    Marketing Assoc
3750 Convoy St 310
San Diego, CA 92111


Division Of Public Health
Jesse Copper Building
417 Federal St
Dover, DE 19901‐4523


Division Street P.T.A.
Twin Rivers Council 364
220 Div St
Division St Elementary School Pta
Saratoga Springs, NY 12866


Dix Hills Fire Dept
Suffolk County Council Inc 404
115 E Deer Park Rd
Dix Hills, NY 11746


Dix Hills Utd Methodist Church
Suffolk County Council Inc 404
400 Deer Park Rd
Dix Hills, NY 11746


Dixie Aluminum Products Inc
88509 Overseas Hwy Mm 88
Tavernier, FL 33070


Dixie Borchers
Address Redacted


Dixie Elementary School
Lincoln Heritage Council 205
10201 Casalanda Dr
Louisville, KY 40272


Dixie Gun Works
P.O. Box 130
Union City, TN 38281
Dixie Home   School Club
Marin Council 035
1175 Idylberry Rd
San Rafael, CA 94903


Dixie L Green
Address Redacted


Dixie Reel And Box Co
P.O. Box 177357
Irving, TX 75017‐7357


Dixie Utd Methodist Chruch
Pine Burr Area Council 304
111 Dixie Church Rd
Hattiesburg, MS 39401


Dixon Lions Club
Golden Empire Council 047
960 N Lincoln St
Dixon, CA 95620


Dixon Parent Teacher Organization
Potawatomi Area Council 651
2400 Pilgrim Square Dr
Brookfield, WI 53005


Dixon Police Dept
Blackhawk Area 660
306 S Hennepin Ave
Dixon, IL 61021


Dixon Police Dept
Golden Empire Council 047
201 W A St
Dixon, CA 95620


Dixon School PTO
Potawatomi Area Council 651
2400 Pilgrim Square Dr
Brookfield, WI 53005
Dixon Troxell Post 211
Mason Dixon Council 221
P.O. Box 250
Funkstown Legion
Funkstown, MD 21734


Diyanet Center Of America
National Capital Area Council 082
9704 Good Luck Rd
Lanham, MD 20706


Dj S California Catering Inc
2784 Johnson Dr
Ventura, CA 93003


Dji Technology Co, Ltd
14th Fl, W Wing, Skyworth Semiconductor
Design Bldg, No 18 Gaoxin S 4th Ave
Nashan District, Shenzhen, 518057
China


Dkk Consulting
National Capital Area Council 082
1510 Inlet Ct
Reston, VA 20190


Dlr Group
Mid‐America Council 326
6457 Frances St, Ste 200
Omaha, NE 68106


Dlt Construction
Las Vegas Area Council 328
6500 W Richmar Ave, Ste 400
Las Vegas, NV 89139


Dm Airport Developers Inc
Patriots Path Council 358
8 Airport Rd
Morristown, NJ 07960
Dm Services, LLC
Middle Tennessee Council 560
P.O. Box 51
Burns, TN 37029


Dmitri Martin
Address Redacted


Dmsi 2309 Nevada Blvd
P.O. Box 7112
Charlotte, NC 28241


Dn Mcqueen Post 103 The American Legion
Southwest Florida Council 088
2101 Taylor Rd
Punta Gorda, FL 33950


Dnc Parks   Resorts At Yosemite Inc
P.O. Box 578Attn    Ar
Yosemite, CA 95389


Do It Right, Inc
Hcr 63 Box 439
Raton, NM 87740


Doane College
Attn Office of Financial Aid
1014 Boswell Ave
Crete, NE 68333


Dobbins Memorial Utd Methodist Church
Garden State Council 690
330 Union Ave
Delanco, NJ 08075


Dobbins Oregon House Impr Fndn
Golden Empire Council 047
P.O. Box 302
Oregon House, Ca 95962
Dobie Dormatory‐University Of Texas
2021 Guadalupe St
Austin, TX 78705


Dobson Goldberg Berns   Rich LLP
5017 Washington Pl, 3rd Fl
St Louis, MO 63108


Dobson Ranch Inn
1666 S Dobson Rd
Mesa, AZ 85202


Dobson Utd Methodist Church
Old Hickory Council 427
800 Tobe Hudson Rd
Dobson, NC 27017


Doby S Bridge Presbyterian Church
Palmetto Council 549
2500 S Dobys Bridge Rd
Fort Mill, SC 29715


Doc Morgan, Inc C/O Mary Collins Agency
2909 Cole Ave, Ste 250
Dallas, TX 75204


Doc S Harley Davidson
Bay‐Lakes Council 635
W2709 State Rd 29
Bonduel, WI 54107


Docks On Wheels Inc
2195 Twin Lakes Rd
Ely, MN 55731


Docnetwork LLC
4750 Venture Dr, Ste 101
Ann Arbor, MI 48108


Doctors Care Charleston
P.O. Box 890741
Charlotte, NC 28289


Document Technologies Inc
P.O. Box 933440
Atlanta, GA 31193‐3440


Docunav Solutions
8501 Wade Blvd, Ste 760
Frisco, TX 75034‐5894


Docusign Inc
Dept 3428
P.O. Box 123428
Dallas, TX 75312‐3428


Dodge Memorial Christian Church
Mid‐America Council 326
3200 Ave C
Council Bluffs, IA 51501


Dodge Road Elementary School PTA
Greater Niagara Frontier Council 380
1900 Dodge Rd
East Amherst, NY 14051


Dodge School Afterschool Program
Overland Trails 322
2808 O Flannagan St
Grand Island, NE 68803


Dodson Bros Exterminating Co Inc
P.O. Box 10118
Charleston, WV 25357


Dodson Chapel Utd Methodist Church
Middle Tennessee Council 560
4701 Dodson Chapel Rd
Hermitage, TN 37076


Dodson International Parts Inc
Heart of America Council 307
2155 Vermont Rd
Rantoul, KS 66079


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Dryden, VA 24243
Drydun, Inc / Shield Services, Inc
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Bethesda, MD 20816


Du Bridge Project ‐ Columbine
Denver Area Council 061
2390 W Cedar Ave
Denver, CO 80223


Du Bridge Project ‐ Lincoln Park
Denver Area Council 061
1265 Mariposa St
Denver, CO 80204


Duane Beougher
Address Redacted


Duane Crouse
Address Redacted
Duane Havard
Address Redacted


Duane Hille
Address Redacted


Duane Klink
Address Redacted


Duane Powell
Address Redacted


Duane Rhodes
Address Redacted


Duane Rieker
Address Redacted


Dublin Baptist Church
Simon Kenton Council 441
7195 Coffman Rd
Dublin, OH 43017


Dublin Commty
Church United Church Of Christ
Simon Kenton Council 441
81 W Bridge St
Dublin, Oh 43017


Dublin Community Church
Simon Kenton Council 441
81 W Bridge St
Dublin, OH 43017


Dublin Elementary Pfc
San Francisco Bay Area Council 028
7997 Vomac Rd
Dublin, CA 94568
Dublin First Utd Methodist Church
Central Georgia Council 096
305 W Gaines St
Dublin, GA 31021


Dublin Rotary Club
Texas Trails Council 561
719 Hurt St
Dublin, TX 76446


Dublin Utd Methodist Church
Blue Ridge Mtns Council 599
P.O. Box 577
Dublin, VA 24084


Dublin Volunteer Fire Dept
Cape Fear Council 425
324 3rd St
Dublin, NC 28332


Dubois Lions Club
Greater Wyoming Council 638
P.O. Box 777
Dubois, WY 82513


Dubose Conf Ctr
P.O. Box 339/ 635 College St
Monteagle, TN 37356


Dubuque County Conservation Board
Northeast Iowa Council 178
13606 Swiss Valley Rd
Peosta, IA 52068


Dubuque Fighting Saints
Northeast Iowa Council 178
1800 Admiral Sheehy Dr
Dubuque, IA 52001


Dubuque Police Dept
Northeast Iowa Council 178
P.O. Box 875
Dubuque, IA 52004


Duc Button
Address Redacted


Duck Creek Historical Society
Del Mar Va 081
P.O. Box 335
Smyrna, DE 19977


Dudley ‐ St Anthony Of Padua R.C. Parish
Heart of New England Council 230
22 Dudley Hill Rd
Dudley, MA 01571


Due North Aviation
3380 Old Columbus Rd
Carroll, OH 43112


Due West Ar Presbyterian Church
Blue Ridge Council 551
Plaxco Scout Hut
Hayes St
Due W, SC 29639


Due West Ar Presbyterian Church
Blue Ridge Council 551
P.O. Box 397
Due W, SC 29639


Due West Utd Methodist Church
Atlanta Area Council 092
3956 Due W Rd Nw
Marietta, GA 30064


Dueber Elementary School
Buckeye Council 436
815 Dueber Ave Sw
Canton, OH 44706


Dueber Utd Methodist Church
Buckeye Council 436
645 Dueber Ave Sw
Canton, OH 44706


Duff Street Utd Methodist Church
Mountaineer Area 615
400 Duff Ave
Clarksburg, WV 26301


Dufur Christian Church
Cascade Pacific Council 492
P.O. Box 425
Dufur, OR 97021


Duggal Visual Solutions Inc
29 W 23rd St
New York City, NY 10010


Duggan School PTO
Connecticut Rivers Council, Bsa 066
38 W Porter St
Waterbury, CT 06708


Duke Energy
526 S Church St
Charlotte, NC 28202


Duke Energy
P.O. Box 70516
Charlotte, NC 28272‐0516


Duke University
Cashiering Office
P.O. Box 90759
Durham, NC 27708


Duke University
P.O. Box 90968
Durham, NC 27708


Dulles Community Church
National Capital Area Council 082
4200 Lafayette Center Dr, Ste T
Chantilly, VA 20151


Dulles International Airport Rotary Club
National Capital Area Council 082
22214 Rock Hill Rd
Herndon, VA 20147


Dulles Rotary
National Capital Area Council 082
P.O. Box 554
Herndon, VA 20172


Dulles Rotary Club
National Capital Area Council 082
P.O. Box 554
Herndon, VA 20172


Duluth Clinic Ely
P.O. Box 1450
Minneapolis, MN 55485‐7813


Duluth First Utd Methodist Church
Atlanta Area Council 092
P.O. Box 699
3208 Duluth Hwy 120
Duluth, GA 30096


Duluth Pack
1610 W Superior St
Duluth, MN 55806


Duluth Paper   Specialties Co
P.O. Box 16045
Duluth, MN 55816‐0045


Duluth Utd Methodist
Atlanta Area Council 092
3208 Duluth Hwy 120 120
P.O. Box 120
Duluth, GA 30096
Duluth Utd Methodist Church
Atlanta Area Council 092
3208 Duluth Hwy 120 120
Duluth, GA 30096


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Golden Spread Council 562
106 N Bliss Ave
Dumas, TX 79029


Dumas First Presbyterian Church
Golden Spread Council 562
P.O. Box 1118
700 E 1st St
Dumas, TX 79029


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1751 S Fire St
P.O. Box 1167
Rogers, AR 72757


Dun   Bradstreet
P.O. Box 75434
Chicago, IL 60675‐5434


Dun   Bradstreet Creditability Corp
3501 Corporate Pkwy
Center Valley, PA 18034


Dunaway Assoc LP
550 Bailey Ave, Ste 400
Ft Worth, TX 76107
Dunbar Armored Inc
P.O. Box 64115
Baltimore, MD 21264‐4115


Dunbar Elementary
Greater St Louis Area Council 312
1900 Tudor Ave
East Saint Louis, IL 62207


Dunbar Elementary PTO
Greater St Louis Area Council 312
1415 N Garrison Ave
Saint Louis, MO 63106


Dunbar High School
Southwest Florida Council 088
3800 Edison Ave
Fort Myers, FL 33916


Dunbar S Supply Inc
1707 N 5th St
Superior, WI 54880


Duncan C Spilsbury
Address Redacted


Duncan Chapel Fire District
Blue Ridge Council 551
5111 Old Buncombe Rd
Greenville, SC 29617


Duncan Creek Properties LLC
Northeast Georgia Council 101
3615 Braselton Hwy, Ste 103
Dacula, GA 30019


Duncan Disposal
P.O. Box 9001856
Louisville, KY 40290‐1856


Duncan Falls Elementary P.T.O.
Muskingum Valley Council, Bsa 467
397 Oak St
Duncan Falls, OH 43734


Duncan Falls Presbyterian Church
Muskingum Valley Council, Bsa 467
376 Main St
Duncan Falls, OH 43734


Duncan Locke
Address Redacted


Duncan M Gray Center
1530 Way Rd
Canton, MS 39046


Duncan Mcintosh Co
Subscription Services
P.O. Box 25859
Santa Ana, CA 92799‐5859


Duncan Memorial Methodist Church
Shenandoah Area Council 598
210 E Main St
Berryville, VA 22611


Duncan Memorial Utd Methodist
Heart of Virginia Council 602
201 Henry St
Ashland, VA 23005


Duncan Memorial Utd Methodist Church
Coastal Carolina Council 550
901 Highmarket St
Georgetown, SC 29440


Duncan Memorial Utd Methodist Church
Shenandoah Area Council 598
210 E Main St
Berryville, VA 22611
Duncan Toys
1598 Valplast Rd
Middlefield, OH 44062


Duncan‐Parnell Corporate
P.O. Box 35649
Charlotte, NC 28235


Duncans Auto Sales Inc
1618 N Roosevelt Blvd
Key W, Fl 33040


Duncanville Church Of Christ
Circle Ten Council 571
P.O. Box 382000
402 W Danieldale Rd
Duncanville, TX 75138


Duncanville Church Of Christ
Circle Ten Council 571
P.O. Box 382000
Duncanville, TX 75138


Dundee Area Council Of Churches
Seneca Waterways 397
67 Main St
Lew Ann Giles
Dundee, NY 14837


Dundee Elementary School PTA
Mid‐America Council 326
310 N 51st St
Omaha, NE 68132


Dundee Presbyterian Church
Mid‐America Council 326
5312 Underwood Ave
Omaha, NE 68132


Dundee Sportsmans Club
Southern Shores Fsc 783
2300 Plank Rd
Dundee, MI 48131


Dundee Township Lions Club
Three Fires Council 127
P.O. Box 273
Dundee, IL 60118


Dunellen Sponsors Club Inc
Patriots Path Council 358
Pulaski St
Dunellen, NJ 08812


Dunes Golf   Beach Club
9000 N Ocean Blvd
Myrtle Beach, SC 29573


Dunford Roofing Inc
2873A Gratton Rd
Tazewell, VA 24651


Dunham Design, Inc
7557 Rambler Rd, Ste 616
Dallas, TX 75231


Dunhams Sports
Raleigh Mall
4301 Robert C Byrd Dr
Beckley, WV 25801


Dunkirk Albany Lions Club
Crossroads of America 160
335 Lincoln Ave
Dunkirk, IN 47336


Dunlap Utd Methodist Church
Cherokee Area Council 556
1958 Main St
Dunlap, TN 37327


Dunlap Utd Methodist Church
Lasalle Council 165
23674 US Hwy 33
Elkhart, IN 46517


Dunleith Elementary PTA
Atlanta Area Council 092
120 Saine Dr Sw
Marietta, GA 30008


Dunlo American Legion Post 573
Laurel Highlands Council 527
P.O. Box 266
Dunlo, PA 15930


Dunmore Presbyterian Church
Northeastern Pennsylvania Council 501
137 Chestnut St
Dunmore, PA 18512


Dunn County Humane Society
Chippewa Valley Council 637
302 Brickyard Rd
Menomonie, WI 54751


Dunn Engineers Inc
400 S Ruffner Rd
Charleston, WV 25314


Dunn Loring Volunteer Fire Dept
National Capital Area Council 082
2148 Gallows Rd
Dunn Loring, VA 22027


Dunn Mfg Corp
Bankbox 751138
Charlotte, NC 28275


Dunns Corner Community Church
Narragansett 546
221 Post Rd
Westerly, RI 02891
Dunraven Enterprises
315 N Page Rd
Colorado Springs, CO 80930


Dunraven Enterprises
c/o Randolph W Bowen
315 N Page Rd
Colorado Springs, CO 80930


Dunsmuir Fire Dept
Crater Lake Council 491
5902 Dunsmuir Ave
Dunsmuir, CA 96025


Dunstable Congregational Church
The Spirit of Adventure 227
P.O. Box 190
518 Main St
Dunstable, MA 01827


Dunwoody Baptist Church
Atlanta Area Council 092
1445 Mount Vernon Rd
Dunwoody, GA 30338


Dunwoody Utd Methodist Church
Atlanta Area Council 092
1548 Mount Vernon Rd
Dunwoody, GA 30338


D‐Up Basketball Fundamentals
And Skills Training Inc
Old N State Council 070
613 E Washington Dr
High Point, Nc 27260


Dupage A M E Church
Three Fires Council 127
4300 Yackley Ave
Lisle, IL 60532


Dupage County Recorder
County Recorder of Deeds Office
P.O. Box 936
Wheaton, IL 60189


Dupage County Sheriff S Office
Three Fires Council 127
501 N County Farm Rd
Wheaton, IL 60187


Dupage Memorial Veterans Of Foreign Wars
Three Fires Council 127
0N731 Papworth St
Wheaton, IL 60187


Duplin County Sheriffs Office
Tuscarora Council 424
P.O. Box 908
Kenansville, NC 28349


Duplin Rotary Club
c/o C Johnson Sheffield
Tuscarora Council 424
P.O. Box 895
Warsaw, NC 28398


Duplin Rotary Club
c/o C Johnson Sheffield, Cpa, Pc
Tuscarora Council 424
P.O. Box 895
Warsaw, NC 28398


Duplium Co
2029 W Gate Dr, Ste 120
Carrollton, TX 75006


Dupont Hotel Project Owner LLC
Washington Hilton
1919 Connecticut Ave Nw
Washington, DC 20009


Duquesne University
Cashiers Office
600 Forbes Ave
Pittsburgh, PA 15282


Duran Oil Co
P.O. Box 1274
Raton, NM 87740


Duran Oil Co
P.O. Box 810
Trinidad, CO 81082


Durand Lions Club
Blackhawk Area 660
14941 Ruby St
Durand, IL 61024


Durand Lions Club
Blackhawk Area 660
American Legion Hall
Durand, IL 61024


Durand Lions Club
Chippewa Valley Council 637
General Delivery
Durand, WI 54736


Durand‐Pepin Masonic Lodge 149
Chippewa Valley Council 637
P.O. Box 82
Durand, WI 54736


Durant S Abernethy
Address Redacted


Durant‐Tuuri‐Mott Parent Advy Council
Water And Woods Council 782
1518 University Ave
Flint, Mi 48504


Dura‐Trac Flooring,Ltd
272 James Burr Blvd
Kearneysville, WV 25430


Durban Propane
1355 S Gregory Ln
Jackson, WY 83001


Durbin Creek Elementary P.T.O.
North Florida Council 087
4100 Race Track Rd
Saint Johns, FL 32259


Durbin Elementary School PTO
Crossroads of America 160
18000 Durbin Rd
Noblesville, IN 46060


Durham Bulls Fox 50 Tv
Occoneechee 421
613 Wilton Meadow Dr
Garner, NC 27529


Durham Exchange Club
Golden Empire Council 047
P.O. Box 403
Durham, CA 95938


Durham Lions Club
Occoneechee 421
1850 Hillandale Rd
Durham, NC 27705


Durham Nockamixon PTA
Washington Crossing Council 777
41 Thomas Free Dr
Kintnersville, PA 18930


Durham Pistol And Rifle Club Education
Old N State Council 070
3973 S Jim Minor Rd
Haw River, NC 27258
Durham Police Dept
Occoneechee 421
101 City Hall Plz
Durham, NC 27701


Durham Sail   Power Squadron
Occoneechee 421
3101 Doubleday Pl
Durham, NC 27705


Durham School Of Engineering
Mid‐America Council 326
1110 S 67th St
Omaha, NE 68182


Durham School Parents Club
Cascade Pacific Council 492
7980 SW Durham Rd
Portland, OR 97224


Durham School Services
2601 Navistar Dr
Lisle, IL 60532


Durham School Services
4300 Weaver Pkwy
Warrenville, IL 60555


Durham School Services
File 749085
Los Angeles, CA 90074‐9085


Durham School Services
P.O. Box 841879
Dallas, TX 75284‐1879


Durham Volunteer Fire Co
Attn Jen Kinzel
Connecticut Yankee Council Bsa 072
P.O. Box 154
Durham, CT 06422
Durokon, LLC
P.O. Box 231311
Portland, OR 97281‐1311


Durrell Security Inc
P.O. Box 69
Wildwood, MO 63040‐0069


Duryea Lions Club No 6061
Northeastern Pennsylvania Council 501
P.O. Box 2085
Duryea, PA 18642


Dushan Milic
5 Rockwood Pl 7
Hamilton, On L8N 2G3
Canada


Dushore Fire Co
Five Rivers Council, Inc 375
212 Julia St
Dushore, PA 18614


Dushore Lions Club
Five Rivers Council, Inc 375
P.O. Box 1
Dushore, PA 18614


Dusky Marine
110 N Bryan Rd
Dania Beach, FL 33004


Dusky S Sport Center
110 N Bryan Rd
Dania, FL 33004


Dustin Alton Strupp
Photographer Alton Strupp
3759 Sern Pkwy, Apt 1
Louisville, KY 40214
Dustin Benoit
Address Redacted


Dustin Boatright
Address Redacted


Dustin Boyer
Address Redacted


Dustin Dodd
Address Redacted


Dustin Dupuis
Address Redacted


Dustin Farris
Address Redacted


Dustin J Raatz
Address Redacted


Dustin Melton
Address Redacted


Dustin Shaver
Address Redacted


Dustin Shoemake
Address Redacted


Dustin Weins
Address Redacted


Dutch American Import Co, Inc
1004 SW Emkay Dr
Bend, OR 97702‐1010
Dutch Eagles Inc
Hawk Mountain Council 528
8660 Hensingersville Rd
Macungie, PA 18062


Dutch Neck Presbyterian Church
Washington Crossing Council 777
154 S Mill Rd
Princeton Junction, NJ 08550


Dutch Reformed Church
Washington Crossing Council 777
23 Church St
High Bridge, NJ 08829


Dutch Reformed Church Of The Tarrytowns
Westchester Putnam 388
42 N Broadway
Tarrytown, NY 10591


Dutcher Lodge 193 F Am
President Gerald R Ford 781
635 Main St
Fennville, MI 49408


Dutchess County Deputy Sheriff, Pba
Hudson Valley Council 374
108 Parker Ave
Poughkeepsie, NY 12601


Dutton Utd Methodist Church
Montana Council 315
20 1st Ave Ne
Dutton, MT 59433


Duval Cnty Emergency Svc Distr 1
South Texas Council 577
1106 S Norton
Freer, Tx 78357


Duval County Tax Collector
Attn Occupational License Dept
231 E Forsyth St ‐, Rm 130
Jacksonville, FL 32202‐3370


Duxberry Park Art Impact Elementary
Simon Kenton Council 441
1779 E Maynard Ave
Columbus, OH 43219


Duxbury Post 223 American Legion
Mayflower Council 251
254 W St
Duxbury, MA 02332


Dv Nation
119 Antler Cir
San Antonio, TX 78232


Dvd Transfer
2155 Niagara Ln N
Plymouth, MN 55447


Dvs Renewal
17 E Chapman St
Ely, MN 55731


Dwain Frazier
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Dwayne Cox
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Dwayne Hunter
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Dwayne Rogge
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Dwayne Skinner
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Dwight Cowles American Legion Post 370
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Dwight Hester
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Dwight Javier Rodriguez
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2 Commerce Dr
North Branford, CT 06471


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Dyal Consulting LLC
P.O. Box 10181
Tallahassee, FL 32302


Dye Sub Graphics
8020 Henderson Ct
Alpharetta, GA 30004


Dyekman Trophies Inc
3749 So Mason
Ft Collins, CO 80525‐3056


Dyer Utd Methodist Church
Pathway To Adventure 456
2016 Church St
Dyer, IN 46311


Dykema Rubber Band Co
4075 Windgap Ave Bldg 5
Pittsburgh, PA 15204


Dylan A Friedt
Address Redacted


Dylan Alexander Smith
Address Redacted


Dylan Anderholm
Address Redacted


Dylan Chilcote
Address Redacted


Dylan Cordle
Address Redacted


Dylan H Harootunian
Address Redacted
Dylan Hendrickson
Address Redacted


Dylan Hepner
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Dylan J Pilger
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Dylan J Scheihing
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Dylan Melling
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Dylan Orion Peters
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Dylan Runde
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Dylan S Beck
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Dylan T Gainor
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Dylan Theg
Address Redacted


Dylan Vander Velde
Address Redacted


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Minsi Trails Council 502
202 Veterans Rd
Bangor, PA 18013
Dymitri Doherty
Address Redacted


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P.O. Box 971342
Dallas, TX 75397‐1342


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6755 N Hwy 89
Chino Valley, AZ 86323


Dynamex, Inc
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Marietta, GA 30065


Dynamic Displays
6470 Wyoming St, Unit 2024
Dearborn, MI 48126


Dynamic Perception LLC
P.O. Box 230569
Houston, TX 77003


Dynamic Possibilities Day Hab Center
Sam Houston Area Council 576
17440 Fm 529 Rd, Ste 106
Houston, TX 77095


Dynamic Services International Inc
57 W 38th St, 12th Fl
New York, NY 10018


Dynamic Transportation Inc
dba Keys Shuttle
P.O. Box 501439
Marathon, FL 33050


Dynamx Inc
6755 N Hwy 89
Chino Valley, AZ 86323
Dynocool Mechanical Services
2332 Cherry Tree Ln Sw
Albuquerque, NM 87105


Dysart Lions Club
Mid Iowa Council 177
P.O. Box 579
Dysart, IA 52224


E A Jones Elementary PTO
Sam Houston Area Council 576
302 Martin Ln
Missouri City, TX 77489


E A Sween Co
16101 W 78th St
Eden Prairie, MN 55344


E A Sween Co
Deli Express
P.O. Box 851368
Minneapolis, MN 55483‐1368


E Alfred Swenson
Address Redacted


E Brookfield ‐ Baptist Church
Heart of New England Council 230
262 E Main St
East Brookfield, MA 01515


E Brookfield ‐ Fire Dept Assoc
Heart of New England Council 230
273 E Main St
East Brookfield, MA 01515


E Brookfield ‐ Howe Lumber Co Inc
Heart of New England Council 230
555 E Main St
East Brookfield, MA 01515
E Chicago Katherine House
Boys   Girls Club
Pathway To Adventure 456
2009 E 138Th St
East Chicago, In 46312


E D Nixon Elementary
Tukabatchee Area Council 005
1000 Edgar D Nixon Ave
Montgomery, AL 36104


E Earl Hays
Address Redacted


E Edward Phillips Iii
Address Redacted


E F Possinger   Sons Inc
2251 Rimrock Dr
Stroudsburg, PA 18360


E Fairfield Utd Methodist Church
Buckeye Council 436
45675 State Route 558
New Waterford, OH 44445


E G Shaw School Parent Teachers
Tecumseh 439
3560 Kemp Rd
Beavercreek, OH 45431


E Gordon Gee
Address Redacted


E Greenwich Veterans Firemens Assoc
Narragansett 546
80 Queen St
East Greenwich, RI 02818
E Knutson
Address Redacted


E M Trout Elementary School Parent
Cimarron Council 474
2109 E Prospect Ave
Ponca City, OK 74604


E Michelle Johnson
Address Redacted


E Michelle Mchanny Johnson
Address Redacted


E P Clarke PTO
Southern Shores Fsc 783
515 E Glenlord Rd
Saint Joseph, MI 49085


E Paul Perkins Jr
Address Redacted


E Point 1St Mallaliou Methodist Ch
Atlanta Area Council 092
2651 Church St
East Point, GA 30344


E Rich Hawkes
Address Redacted


E Richmond Scoutin Support Assct
Greater St Louis Area Council 312
7406 Bruno Ave
Saint Louis, MO 63117


E S Haven Academy
Circle Ten Council 571
813 Ryan Rd
Dallas, TX 75224
E Sims
Address Redacted


E Z Excavating
P.O. Box 202
Ely, MN 55731


E. C. Stevens And Pond Hill PTO
Connecticut Yankee Council Bsa 072
18 Kondracki Ln
Wallingford, CT 06492


E. G. Ross Elementary PFC
Great Swest Council 412
6700 Palomas Ave Ne
Albuquerque, NM 87109


E. R. Dickson P.T.A.
Mobile Area Council‐Bsa 004
4645 Bit and Spur Rd
Mobile, AL 36608


E470 Public Highway Authority
P.O. Box 5470
Denver, CO 80217‐5470


Ea Young Academy
Longhorn Council 662
8521 Davis Blvd
North Richland Hills, TX 76182


Eaa Chapter 1432
Greater Yosemite Council 059
P.O. Box 9104
Stockton, CA 95208


Eaa Chapter 237
Northern Star Council 250
8891 Airport Rd Ne
Blaine, MN 55445
Eaa Chapter 32
Greater St Louis Area Council 312
6410 Grafton Ferry Rd
Portage Des Sioux, MO 63373


Eaa Chapter 635
Central Florida Council 083
1585 W Beresford Ave
Deland, FL 32720


Eaa Chapter 838 Of Racine, Inc
Three Harbors Council 636
3333 N Green Bay Rd
Racine, WI 53404


Eaa Chapter 977
North Florida Council 087
288 SW Challenger Ln
Lake City, FL 32025


Eac Network
Suffolk County Council Inc 404
60 Plant Ave
Hauppauge, NY 11788


Eads Es PTO
Pathway To Adventure 456
8000 Jackson Ave
Munster, IN 46321


Eagan Fire Dept
Northern Star Council 250
1001 Station Trl
Eagan, MN 55123


Eagan Fire Fighters Relief Assoc
Northern Star Council 250
1001 Station Trl
Eagan, MN 55123


Eagan Lions Club
Northern Star Council 250
1763 Meadowlark Ct
Eagan, MN 55122


Eagan Police Dept
Northern Star Council 250
3830 Pilot Knob Rd
Eagan, MN 55122


Eagan Rotary Club
Northern Star Council 250
3324 Promenade Ave
Eagan, MN 55121


Eagle
National Capital Area Council 082
3230 Lima Pl
Dulles, VA 20189


Eagle   Wheeler
P.O. Box 1190
Denton, TX 76202


Eagle Bound Boys Inc
Gulf Stream Council 085
11680 Timberwood Rd
Boca Raton, FL 33428


Eagle Brook Country Club
2288 Fargo Blvd
Geneva, IL 60134


Eagle Business Assoc
Potawatomi Area Council 651
P.O. Box 272
Eagle, WI 53119


Eagle Cabinets
Westark Area Council 016
P.O. Box 387
Flippin, AR 72634
Eagle Camp Mug
8825 Parkridge Terrace
Okla City, OK 73132


Eagle Claw
Winnebago Council, Bsa 173
P.O. Box 503
503 S Albright St
Shell Rock, IA 50670


Eagle Claw Fishing Tackle
P.O. Box 0410
Denver, CO 80291


Eagle College Prep St Louis
Greater St Louis Area Council 312
3716 Morganford Rd
Saint Louis, MO 63116


Eagle Creek Community Church Corp.
Crossroads of America 160
5943 Lafayette Rd
Indianapolis, IN 46254


Eagle Fire Extinguisher Co Inc
4430 Brass Way
Dallas, TX 75236


Eagle Grove Evangelical Lutheran Church
Winnebago Council, Bsa 173
2nd   Garfield
Eagle Grove, IA 50533


Eagle Grove Lions Club
Winnebago Council, Bsa 173
715 NE 3rd St
Eagle Grove, IA 50533


Eagle Industri
P.O. Box 10652
New Orleans, LA 70181
Eagle Lane Road Funds
P.O. Box 57
Ute Park, NM 87749


Eagle Lions Club
Denver Area Council 061
P.O. Box 4020
Eagle, CO 81631


Eagle Lodge 1403
Miami Valley Council, Bsa 444
433 E Court St
Sidney, OH 45365


Eagle Mountain Baptist Church
Longhorn Council 662
8780 Eagle Mountain Cir
Fort Worth, TX 76135


Eagle Nest School
P.O. Box 287
Eagle Nest, NM 87718


Eagle Point Bay Assoc
Greater St Louis Area Council 312
275 Foxrun Rd
Goreville, IL 62939


Eagle Point Lions
Crater Lake Council 491
3980 E Antelope Rd
Eagle Point, OR 97524


Eagle Point Lions Club
Crater Lake Council 491
P.O. Box 1348
Eagle Point, OR 97524


Eagle Point Parent Group
Northern Star Council 250
7850 15th St N
Oakdale, MN 55128


Eagle Pointe Church
Atlanta Area Council 092
5100 Old Stilesboro Rd Nw
Acworth, GA 30101


Eagle Products, Inc
1824 Mcgee St
Kansas City, MO 64108


Eagle Promotions
4575 W Post Rd, Ste 100
Las Vegas, NV 89118


Eagle Regalia Co Inc
P.O. Box 246
West Nyack, NY 10994‐0246


Eagle River Designs
411 Locust Ln
Moab, UT 84532


Eagle Rock Community Assoc
Ozark Trails Council 306
P.O. Box 72
Eagle Rock, MO 65641


Eagle Rock Evangelical Covenant Church
Verdugo Hills Council 058
1649 Yosemite Dr
Los Angeles, CA 90041


Eagle S View Church
Longhorn Council 662
200 Blue Bonnet St
Saginaw, TX 76179


Eagle Technology Management Inc
P.O. Box 11100
Cedar Rapids, IA 52410‐1100
Eagle Utd Methodist Church
Cornhusker Council 324
704 S 4th St
Eagle, NE 68347


Eagle Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
651 N Eagle Rd
Eagle, ID 83616


Eagle Valley Fire Co
Hudson Valley Council 374
14 Scott Mine Rd
Tuxedo Park, NY 10987


Eagle Valley Fire Co
Hudson Valley Council 374
673 Eagle Valley Rd
Tuxedo Park, NY 10987


Eagle Wings Academy
Simon Kenton Council 441
9100 Jacksontown Rd Se
Jacksontown, OH 43055


Eagles
Mid‐America Council 326
209 S 23rd St
Plattsmouth, NE 68048


Eagles 2258, Albert Lea
Twin Valley Council Bsa 283
205 W William St
Albert Lea, MN 56007


Eagles Aerie 2338
Chief Seattle Council 609
4001 Jackson Ave Se
Port Orchard, WA 98366
Eagles Aerie 622
Central Minnesota 296
730 41st Ave N
Saint Cloud, MN 56303


Eagles Club Aerie 2749
Northern Lights Council 429
114 Dakota Ave
Wahpeton, ND 58075


Eagles Nest Elementary School PTA
Central Florida Council 083
5353 Metrowest Blvd
Orlando, FL 32811


Eagles Nest Outfitters, Inc
c/o Eno Hammocks A/R
601 Sweeten Creek Industrial Park Rd
Asheville, NC 28803


Eagles Nest Society
Golden Empire Council 047
5601 Natomas Blvd, Apt 7102
Sacramento, CA 95835


Eagleswood Volunteer Fire Co
Jersey Shore Council 341
219 Railroad Ave
West Creek, NJ 08092


Eagleton Elementary School
Great Smoky Mountain Council 557
708 Sam Houston School Rd
Maryville, TN 37804


Eaglewood Resort   Spa
1401 Nordic Rd
Itasca, IL 60143


Eaglewood Resort   Spa
Agl Investments N017 LLC
16539 Collections Ctr Dr
Chicago, IL 60693


Eakin School PTO
Middle Tennessee Council 560
2400 Fairfax Ave
Nashville, TN 37212


Ean Services LLC
P.O. Box 402383
Atlanta, GA 30384‐2383


Eanes Elementary School Booster Club
Capitol Area Council 564
4101 Bee Caves Rd
West Lake Hills, TX 78746


Earl Burkett
Address Redacted


Earl Burris
Address Redacted


Earl Burton
Address Redacted


Earl Gladfelter American Legion Post 268
Southern Shores Fsc 783
8 Park Ln
Milan, MI 48160


Earl Hollister Ii
Address Redacted


Earl J Manning American Legion Post 490
Twin Rivers Council 364
P.O. Box 464
Stillwater, NY 12170


Earl Moore Jr
Address Redacted
Earl Rasch
Address Redacted


Earl Runyan
Address Redacted


Earl Stewart Toyota Of North Palm Beach
1215 N Federal Hwy
Lake Park, FL 33403


Earl Township Parent Teacher Org
Hawk Mountain Council 528
22 School House Rd
Boyertown, Pa 19512


Earl Township Parent Teacher Org
Hawk Mountain Council 528
Rd 3
Boyertown, Pa 19512


Earle Street Baptist Church
Blue Ridge Council 551
225 W Earle St
Greenville, SC 29609


Earle Test
Address Redacted


Earlene Matkin
Address Redacted


Earlham   Penn Ctr Utd Methodist Ch
Mid Iowa Council 177
P.O. Box 338
Earlham, Ia 50072


Earlville Fire Co
Leatherstocking 400
4 N Main St
Earlville, NY 13332


Early Lake Lions Club
Mt Diablo‐Silverado Council 023
3019 Keeling Ave
Lakeport, CA 95453


Early Utd Methodist Church
Texas Trails Council 561
P.O. Box 3281
Brownwood, TX 76803


Early View Academy Of Excellence
Three Harbors Council 636
7132 W Good Hope Rd
Milwaukee, WI 53223


Earlyn Scott
Address Redacted


Earlysville Ruritan Club
Stonewall Jackson Council 763
Rr 1 Box 162
Earlysville, VA 22936


Earnest Carl Simpson
Address Redacted


Earnest Simpson
Address Redacted


Earthgrains Baking Co S, Inc
P.O. Box 842437
Boston, MA 02284‐2437


Earthlink Windstream
1375 Peachtree St
Atlanta, GA 30309


Earthlink Business
P.O. Box 88104
Chicago, IL 60680‐1104


Earthview, Inc
6800 N Camino Martin, Ste 166
Tucson, AZ 85741


Earthwork Programs
Western Massachusetts Council 234
P.O. Box 150
Amherst, MA 01004


Earvin Rosier Sr
Address Redacted


East 39Th Street Commty
Of Christ Church
Heart Of America Council 307
15006 E 39Th St S
Independence, Mo 64055


East African Community Services
Chief Seattle Council 609
7050 32nd Ave S
Seattle, WA 98118


East Allegheny School District
Laurel Highlands Council 527
1150 Jacks Run Rd
North Versailles, PA 15137


East Alton Community Of Christ Church
Heart of America Council 307
16999 E 23rd St S
Independence, MO 64057


East Angelo Lions Club
Texas Swest Council 741
P.O. Box 5616
San Angelo, TX 76902
East Asheville Utd Methodist Church
Daniel Boone Council 414
48 Browndale Rd
Asheville, NC 28805


East Avon Fire Dept.
Iroquois Trail Council 376
P.O. Box 329
Avon, NY 14414


East Baton Rouge Sheriffs Office
Istrouma Area Council 211
1120 Government St
Baton Rouge, LA 70802


East Bay Charter Township
1965 N Three Mile
Traverse City, MI 49696


East Bay High School Ajrotc
Greater Tampa Bay Area 089
7710 Old Big Bend Rd
Gibsonton, FL 33534


East Bend Baptist Church
Old Hickory Council 427
112 Fairground Rd
East Bend, NC 27018


East Bend Umc
Old Hickory Council 427
P.O. Box 117
East Bend, NC 27018


East Bernard Lions Club
Sam Houston Area Council 576
P.O. Box 866
East Bernard, TX 77435


East Bethel Fire Dept
Northern Star Council 250
2751 Viking Blvd Ne
East Bethel, MN 55092


East Boston Police
The Spirit of Adventure 227
69 Paris St
East Boston, MA 02128


East Brentwood Presbyterian Church
Middle Tennessee Council 560
9000 Concord Rd
Brentwood, TN 37027


East Bridgewater Utd Methodist Church
Mayflower Council 251
78 N Water St
East Bridgewater, MA 02333


East Broad St Umc
Piedmont Council 420
315 W Broad St
Statesville, NC 28677


East Brooks Fire Dept
South Georgia Council 098
1290 Cates Rd
Valdosta, GA 31602


East Carolina
P.O. Box 1698
Kinston, NC 28503‐1698


East Carolina Cncl No 426
313 Boy Scouts Blvd
P.O. Box 1698
Kinston, NC 28503‐1698


East Carroll Parish School Board
East Carroll Parish
P.O. Box 130
Vidalia, LA 71373
East Cleveland Special Programs
Lake Erie Council 440
13231 Euclid Ave
East Cleveland, OH 44112


East Coast Transportation Co Of N Fl
dba E Coast Transportation
14125 Beach Blvd
Jacksonville, FL 32250


East Columbus Elementary School PTA
Simon Kenton Council 441
3100 E 7th Ave
Columbus, OH 43219


East Columbus Utd Methodist Church
Hoosier Trails Council 145 145
2439 Indiana Ave
Columbus, IN 47201


East Concord Fire Dept
Greater Niagara Frontier Council 380
9413 Genesee Rd
East Concord, NY 14055


East Continental Supplies
7955 W 20th Ave
Hialeah, FL 33014


East County Church Of Christ
Cascade Pacific Council 492
24375 SE Stark St
Gresham, OR 97030


East County Veterans Support Servies
Mt Diablo‐Silverado Council 023
3240 G St
Antioch, CA 94509


East Dakota Edu Coop
715 E 14th St
Sioux Falls, SD 57104‐5151
East Dekalb Boys   Girls Club
Atlanta Area Council 092
6020 Paul Rd
Lithonia, GA 30058


East Dover First Aid And Rescue Squad
Jersey Shore Council 341
2 Garfield Ave
Toms River, NJ 08753


East Elementary PTA
Chickasaw Council 558
208 Meadowbrook Rd
Greenwood, MS 38930


East Elementary School
West Tennessee Area Council 559
Ashport Rd
Jackson, TN 38305


East Elementary School PTO
Piedmont Council 420
600 Cleveland Ave
Kings Mountain, NC 28086


East End Baptist Church
Quapaw Area Council 018
4701 E End Rd
Hensley, AR 72065


East End Parent Teachers Assoc Hensley
c/o E End School
Quapaw Area Council 018
21801 Arch St
Little Rock, AR 72206


East End School PTO
Patriots Path Council 358
170 Oneida Ave
North Plainfield, NJ 07060
East End Temple Lodge
Choctaw Area Council 302
1637 9th Ave
Meridian, MS 39301


East End Utd Methodist Church
Middle Tennessee Council 560
1212 Holly St
Nashville, TN 37206


East End Utd Methodist Church
West Tennessee Area Council 559
104 Fairground St
Savannah, TN 38372


East Fallowfield Elementary School PTO
Chester County Council 539
2254 Strasburg Rd
Coatesville, PA 19320


East Felician Parish
Attn Sales Tax Dept
P.O. Box 397
Clinton, LA 70722‐0397


East Feliciana Parish
Attn Sales Tax Dept
P.O. Box 397
Clinton, LA 70722‐0397


East Flint Lions Club
Water and Woods Council 782
4352 Crosby Rd
Flint, MI 48506


East Forsyth Middle School
Old Hickory Council 427
810 Bagley Rd
Kernersville, NC 27284


East Franklin Twp Vol Fire Dept
Moraine Trails Council 500
165 E Brady Rd
Kittanning, PA 16201


East Gate Church
Three Rivers Council 578
1707 Cr 1611
Dayton, TX 77535


East Gate Lions
Blue Mountain Council 604
P.O. Box 2665
Walla Walla, WA 99362


East Goshen Home   School Assoc
Chester County Council 539
Rt. 352 and Paoli Pike
West Chester, PA 19380


East Greenbush Fire Co
Twin Rivers Council 364
68 Phillips Rd
Rensselaer, NY 12144


East Greenwich Boys Home Assoc
Narragansett 546
380 Moosehorn Rd
East Greenwich, RI 02818


East Greenwich Home   School Assoc
Garden State Council 690
7 Quaker Rd
Mickleton, NJ 08056


East Greenwich Yacht Club
Narragansett 546
10 Water St
East Greenwich, RI 02818


East Hall Navy Junior Rotc
Northeast Georgia Council 101
3534 E Hall Rd
Gainesville, GA 30507


East Hardin Middle School
Lincoln Heritage Council 205
129 College St
Glendale, KY 42740


East Hartford Scout Shop ‐ Opc
60 Darlin St
East Hartford, CT 06108


East Hartland Fire Dept Inc
Connecticut Rivers Council, Bsa 066
South Rd
East Hartland, CT 06027


East Hartland Volunteer Fire Dept Inc
Connecticut Rivers Council, Bsa 066
34 S Rd
East Hartland, CT 06027


East Haven Fire Dept
Connecticut Yankee Council Bsa 072
200 Main St
East Haven, CT 06512


East Heights Utd Methodist Church
Quivira Council, Bsa 198
4407 E Douglas Ave
Wichita, KS 67218


East Hickman Volunteer Fire Dept
Middle Tennessee Council 560
10011 Old Hwy 46
Bon Aqua, TN 37025


East Hickman Volunteer Fire Dept
Middle Tennessee Council 560
1509 Bruce Dr
Bon Aqua, TN 37025
East High School
Denver Area Council 061
1600 City Park Esplanade
Denver, CO 80206


East High School Jrotc
Denver Area Council 061
1545 Detroit St
Denver, CO 80206


East Hill Community Club Inc
Connecticut Rivers Council, Bsa 066
59 Daniel Trace
Collinsville, CT 06022


East Hill Flying Club
Baden‐Powell Council 368
62 Brown Rd
Ithaca, NY 14850


East Hills Community Church
California Inland Empire Council 045
20660 Orange Terrace Pkwy
Riverside, CA 92508


East Hills Moravian Church
Minsi Trails Council 502
1830 Butztown Rd
Bethlehem, PA 18017


East Holmes Fire    Ems Co
Buckeye Council 436
P.O. Box 186
Berlin, OH 44610


East Jordan Rotary Club
President Gerald R Ford 781
P.O. Box 195
East Jordan, MI 49727


East Lake Lions Club
San Diego Imperial Council 049
1175 Barton Peak Dr
Chula Vista, CA 91913


East Lake Utd Methodist Church
Greater Tampa Bay Area 089
2801 E Lake Rd
Palm Harbor, FL 34685


East Las Vegas Community/Senior Center
Las Vegas Area Council 328
250 N Eern Ave
Las Vegas, NV 89101


East Linden Elementary School
Simon Kenton Council 441
2505 Brentnell Ave
Columbus, OH 43211


East Lynn Elementary
Buckskin 617
19594 E Lynn Rd
East Lynn, WV 25512


East Main Presbyterian Church
French Creek Council 532
120 E Main St
Grove City, PA 16127


East Maine Fire Co
Baden‐Powell Council 368
847 E Maine Rd
Johnson City, NY 13790


East Meadow Fire Dept Ladder Co 2
Theodore Roosevelt Council 386
197 E Meadow Ave
East Meadow, NY 11554


East Millcreek Lions Club
Great Salt Lake Council 590
P.O. Box 9103
Millcreek, UT 84109
East Mississippi Rotary Club
Choctaw Area Council 302
2115 5th St
Meridian, MS 39301


East Montgomery County Fire Dept
Sam Houston Area Council 576
27980 Fm 1485
New Caney, TX 77357


East Montgomery Elementary School PTO
Middle Tennessee Council 560
230 Mcadoo Creek Rd
Clarksville, TN 37043


East Montpelier Volunteer Fire Dept
Green Mountain 592
54 Village Acres
East Montpelier, VT 05651


East Moriches Fire Dept
Suffolk County Council Inc 404
Pine St
East Moriches, NY 11940


East Naples Utd Methodist Church
Southwest Florida Council 088
2701 Airport Rd S
Naples, FL 34112


East Northport Chamber Of Commerce
Suffolk County Council Inc 404
24 Larkfield Rd
East Nport, NY 11731


East Northport Fire Dept
Suffolk County Council Inc 404
1 9th Ave
East Nport, NY 11731
East Oakview Elem School Ptc
President Gerald R Ford 781
3940 Suburban Shores Dr Ne
Grand Rapids, MI 49525


East Ohio Larpers
Buckeye Council 436
107 Carolina Ave
Chester, WV 26034


East Orange Com.Charter School
99 Washington St
East Orange, NJ 07017


East Orange Public Safety Dept
Northern New Jersey Council, Bsa 333
44 City Plaza
East Orange, NJ 07018


East Orange Public Safety Dept
Northern New Jersey Council, Bsa 333
715 Park Ave
East Orange, NJ 07017


East Orange Ruritan Club
Stonewall Jackson Council 763
P.O. Box 112
22303 Constitution Hwy
Unionville, VA 22567


East Orrington Congregational Church
Katahdin Area Council 216
38 Johnson Mill Rd
Orrington, ME 04474


East Palestine Happy Youth
Buckeye Council 436
825 W N Ave
East Palestine, OH 44413


East Palo Alto Charter
Aspire Public Schools
Pacific Skyline Council 031
1286 Runnymede St
East Palo Alto, Ca 94303


East Park Community Center
Middle Tennessee Council 560
600 Woodland St
Nashville, TN 37206


East Peoria Vfw
W D Boyce 138
308 Lawnridge Dr
Creve Coeur, IL 61610


East Plano Murphy Pet Hospital
Circle Ten Council 571
627 W Fm 544
Murphy, TX 75094


East Prospect Lion Club
New Birth of Freedom 544
73 New Bridgeville
Wrightsville, PA 17368


East Providence Police Explorer Cadets
Narragansett 546
750 Waterman Ave
East Providence, RI 02914


East Quogue Utd Methodist Men
Suffolk County Council Inc 404
P.O. Box 3000
580 Montauk Hwy
East Quogue, NY 11942


East Ridge High School
Cherokee Area Council 556
4320 Bennett Rd
Chattanooga, TN 37412


East Rivanna Volunteer Fire Co
Stonewall Jackson Council 763
3501 Steamer Dr
Keswick, VA 22947


East Rochester Fire Dept
Seneca Waterways 397
415 Main St
East Rochester, NY 14445


East Rochester Rotary Club
Seneca Waterways 397
234 E Filbert St
East Rochester, NY 14445


East Rock School
Connecticut Yankee Council Bsa 072
133 Nash St
New Haven, CT 06511


East Rowan Ymca
Central N Carolina Council 416
1056 Quail Haven Ln
Rockwell, NC 28138


East Rutherford Fire Dept
Northern New Jersey Council, Bsa 333
1 Everett Pl
East Rutherford, NJ 07073


East Saint Louis District 189
Greater St Louis Area Council 312
12 N 10th St
East St Louis, IL 62201


East San Jose Kiwanis Club
Silicon Valley Monterey Bay 055
310 Gordon Ave
San Jose, CA 95127


East Seneca Volunteer Fire Co
Greater Niagara Frontier Council 380
100 Lein Rd
West Seneca, NY 14224
East Shore Utd Methodist Church
Lake Erie Council 440
23002 Lake Shore Blvd
Euclids Pioneer Troop
Euclid, OH 44123


East Side Lutheran Church
Sioux Council 733
1300 E 10th St
Sioux Falls, SD 57103


East Side Utd Methodist Church
Pathway To Adventure 456
11000 S Ewing Ave
Chicago, IL 60617


East Side Utd Methodist Church Mens
Pathway To Adventure 456
11000 S Ewing Ave
Brotherhood
Chicago, IL 60617


East Somerset Baptist Church
Blue Grass Council 204
345 Pumphouse Rd
Somerset, KY 42503


East Sparta Utd Methodist Church
Buckeye Council 436
2041 Pine St Se
East Sparta, OH 44626


East Stone Gap Baptist Church
Sequoyah Council 713
3904 E Stone Gap Rd
East Stone Gap, VA 24246


East Stroudsburg University
Attn Enrollment Servs‐Billing
200 Prospect St
East Stroudsburg, PA 18301‐2999
East Stroudsburg Utd Methodist Church
Minsi Trails Council 502
83 S Courtland St
East Stroudsburg, PA 18301


East Surry Jrotc
Old Hickory Council 427
801 W Main St
Pilot Mountain, NC 27041


East Texas Area
1331 E 5th St
Tyler, TX 75701‐3427


East Texas Area Cncl 585
1331 E 5th St
Tyler, TX 75701‐3427


East Texas Area Council
East Texas Area Council 585
1331 E 5th St
Tyler, TX 75701


East Union Middle School
Central N Carolina Council 416
6010 Marshville Blvd
Marshville, NC 28103


East Union Presbyterian Church
Laurel Highlands Council 527
292 E Union Rd
Cheswick, PA 15024


East Valley Parents
Ore‐Ida Council 106 ‐ Bsa 106
5913 S Settlement Way
Boise, ID 83716


East Washington Academy PTO
Crossroads of America 160
1000 E Washington St
Muncie, IN 47305


East Wesley Hills Parent Assoc
Hudson Valley Council 374
22 Deerwood Rd
Spring Valley, NY 10977


East Whittier Friends Church
Greater Los Angeles Area 033
15911 Whittier Blvd
Whittier, CA 90603


East Whittier Utd Methodist Church
Greater Los Angeles Area 033
10005 Cole Rd
Whittier, CA 90603


East Whittier Utd Presbyterian Church
Greater Los Angeles Area 033
14061 2nd St
Whittier, CA 90605


East Wilkinson County Library
Central Georgia Council 096
154 E Main St
Irwinton, GA 31042


East Ymca Of St Paul
Northern Star Council 250
875 Arcade St
Saint Paul, MN 55106


East/West Custom Boats Inc
P.O. Box 193
Kittery Point, ME 03905


Eastbrooke Ward ‐ Twin Falls Stake
Snake River Council 111
778 Carriage Ln N
Twin Falls, ID 83301
Eastchester Youth Council Inc
Westchester Putnam 388
40 Mill Rd
Eastchester, NY 10709


Easter Lutheran Church
Northern Star Council 250
4200 Pilot Knob Rd
Eagan, MN 55122


Easter S Lock   Key
1713 E Joppa Rd
Parkville, MD 21234


Easter Seals Of Western New York
Seneca Waterways 397
402 Rogers Pkwy
Rochester, NY 14617


Easter Seals Sno Mo
Daniel Webster Council, Bsa 330
260 Griswold Rd
Gilmanton Iw, NH 03837


Eastern Arrow Corp Inc
P.O. Box 4108
Charleston, WV 25364


Eastern Asphalt Products LLC
P.O. Box 884
Beckley, WV 25802


Eastern Connecticut State Univ
Attn Mike Kowalczuk
83 Windham St
Williamantic, CT 06226


Eastern Gate Ministries
Simon Kenton Council 441
6389 Blacklick Eern Rd
Pickerington, OH 43147
Eastern Hancock Elementary School
Crossroads of America 160
10450 E 250 N
Charlottesville, IN 46117


Eastern Heights Lutheran Church
Northern Star Council 250
616 Ruth St N
Saint Paul, MN 55119


Eastern Henrico Animal Education
8301 Bradbury Rd
Richmond, VA 23231


Eastern High School Screaming Eagles
Lincoln Heritage Council 205
12400 Old Shelbyville Rd
Louisville, KY 40243


Eastern Nazarene College
23 E Elm Ave
Quincy, MA 02170


Eastern New Mexico Engineering, Inc
1104 Libra Dr
Portales, NM 88130


Eastern New Mexico University
1500 S Ave K
Student Accounts Station 04
Portales, NM 88130‐7400


Eastern New Mexico University
Attn Rachell Holt
Enmu 1500 S Ave K
Portales, NM 88130


Eastern New Mexico University ‐ Roswell
Conquistador Council Bsa 413
52 University Blvd
Roswell, NM 88203


Eastern Orthodox Community North Ga
Northeast Georgia Council 101
3074 Bethelview Rd
Cumming, GA 30040


Eastern Orthodox Community Of North Ga
Northeast Georgia Council 101
3074 Bethelview Rd
Cumming, GA 30040


Eastern Pa Ems Council, Inc
Minsi Trails Council 502
4801 Kernsville Rd
Orefield, PA 18069


Eastern Senior High School Hmsa
National Capital Area Council 082
1700 E Capitol St Ne
Washington, DC 20003


Eastern Service Distribution Center Inc
4138 Manor Forest Trail
Boynton Beach, FL 33436‐8851


Eastern Skateboard Supply Inc
6612 Amsterdam Way
Wilmington, NC 28405


Eastern Star Church
Crossroads of America 160
5750 E 30th St
Indianapolis, IN 46218


Eastern Star Lodge 55
Dan Beard Council, Bsa 438
P.O. Box 133
Franklin, OH 45005


Eastern Vault Co Inc
P.O. Box 1134
Princeton, WV 24740


Eastern Wind Sailing LLC
411 New York Ave
Norfolk, VA 23508


Eastern Wind Sailing LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Eastern Wind Sailing LLC
Tidewater Council 596
411 New York Ave
Norfolk, VA 23508


Easterseals Chicagoland And Rockford
Pathway To Adventure 456
1939 W 13th St
Chicago, IL 60608


Easterseals New York
Seneca Waterways 397
402 Rogers Pkwy
Rochester, NY 14617


Eastfield College
Circle Ten Council 571
3737 Motley Dr
Mesquite, TX 75150


Eastgate Christian Church
Heart of America Council 307
4010 S River Blvd
Independence, MO 64055


Eastgate Church
Three Rivers Council 578
P.O. Box 340
Dayton, TX 77535
Eastgate Elementary PTO
Simon Kenton Council 441
1925 Stratford Way
Columbus, OH 43219


Easthaven Elementary School
Simon Kenton Council 441
2360 Garnet Pl
Columbus, OH 43232


Eastlake Area Kiwanis
Lake Erie Council 440
P.O. Box 7225
Eastlake, OH 44097


Eastlake Cumberland Presbyterian
Last Frontier Council 480
700 SW 134th St
Oklahoma City, OK 73170


Eastlake Lions Club
San Diego Imperial Council 049
1211 Barton Peak Dr
Chula Vista, CA 91913


Eastland Lions Club
Texas Trails Council 561
1205 W Commerce St
Eastland, TX 76448


Eastland Utd Methodist Church
National Capital Area Council 082
10718 Courthouse Rd
Fredericksburg, VA 22407


Eastman Outdoors Inc
P.O. Box 674588
Detroit, MI 48267‐4588


Eastman Premier Rentals    Sales
P.O. Box 792
Grantham, NH 03753


Eastminster Presbyterian Church
Atlanta Area Council 092
3125 Sewell Mill Rd
Marietta, GA 30062


Eastminster Presbyterian Church
Atlanta Area Council 092
5801 Hugh Howell Rd
Stone Mtn, GA 30087


Eastminster Presbyterian Church
Blue Ridge Council 551
2240 Woodruff Rd
Simpsonville, SC 29681


Eastminster Presbyterian Church
Great Smoky Mountain Council 557
4904 Asheville Hwy
Knoxville, TN 37914


Eastminster Presbyterian Church
Indian Waters Council 553
3200 Trenholm Rd
Columbia, SC 29204


Eastminster Presbyterian Church
Quivira Council, Bsa 198
1958 N Webb Rd
Wichita, KS 67206


Eastmister Presbyterian
Blue Ridge Council 551
2240 Woodruff Rd
Simpsonville, SC 29681


Easton Area Community Center
Minsi Trails Council 502
901 Washington St
Easton, PA 18042
Easton Place Utd Methodist Men
Mid Iowa Council 177
2412 Eon Blvd
Des Moines, IA 50317


Eastorn Shore Bldg Assoc
Mobile Area Council‐Bsa 004
P.O. Box 53
Daphne, AL 36526


Eastover School PTA
Great Lakes Fsc 272
1101 Wview Rd
Bloomfield Hills, MI 48304


Eastpoint Church
Inland Nwest Council 611
15303 E Sprague Ave
Spokane, WA 99037


Eastpoint Utd Methodist Church
Suwannee River Area Council 664
P.O. Box 522
Eastpoint, FL 32328


Eastpointe Christian Church
Simon Kenton Council 441
745 N Waggoner Rd
Blacklick, OH 43004


Eastpointe Community Church
Last Frontier Council 480
6801 S Anderson Rd
Oklahoma City, OK 73150


Eastridge Church Of Christ
Circle Ten Council 571
485 N Stodghill Rd
Rockwall, TX 75087


Eastridge Elementary School
Crossroads of America 160
10930 E 10th St
Indianapolis, IN 46229


Eastside College Preparatory School
Pacific Skyline Council 031
1041 Myrtle St
East Palo Alto, CA 94303


Eastside Community Church
North Florida Council 087
13301 Beach Blvd
Jacksonville, FL 32246


Eastside Community Church Muskogee
Indian Nations Council 488
500 E Peak Blvd
Muskogee, OK 74403


Eastside Elementary School
Crossroads of America 160
4500 Main St
Anderson, IN 46013


Eastside Fire   Rescue
Chief Seattle Council 609
175 Newport Way Nw
Issaquah, WA 98027


Eastside Foursquare Church
Chief Seattle Council 609
14520 100th Ave Ne
Bothell, WA 98011


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Atlanta, GA 30305


Ehire, LLC
Tony Verde
3565 Piedmont Rd, NE
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Eholee‐Opal Design
P.O. Box 4913
Key W, Fl 33041


Ehrhardt Elementary School PTO
Sam Houston Area Council 576
6603 Rosebrook Ln
Spring, TX 77379


Ehscareers.Com Inc
P.O. Box 190
Watkinsville, GA 30677


Eighty Scouts, Inc
Golden Spread Council 562
P.O. Box 51
Amarillo, TX 79105


Eighty‐First St School B      G Club
Three Harbors Council 636
2964 N 81st St
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Eike Jordan Bauer Post 1501
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344 Dorsey Rd
Rochester, NY 14616


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Eisenhower Elementary
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5300 Jessamine Ln
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Eisenhower Elementary School P T A
Illowa Council 133
2827 Jersey Ridge Rd
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Eisenhower Elementary School P T A
Three Harbors Council 636
11600 W Center St
Wauwatosa, WI 53222


Eisenhower Intermediate School PTO
Patriots Path Council 358
791 Eisenhower Ave
Bridgewater, NJ 08807


Eisenhower International School PTA
Indian Nations Council 488
3111 E 56th St
Tulsa, OK 74105


Eisenhower Parent Advisory Rd
Abraham Lincoln Council 144
1901 W Lafayette Ave
Jacksonville, IL 62650


Eisenhower PTO
Northern Star Council 250
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Hopkins, MN 55305


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New York, NY 10017‐2703


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Puerto Rico Council 661
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1401 Bluegrass Ave
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Eklund Systems For Business
Longhouse Council 373
6532 Fremont Rd
East Syracuse, NY 13057


Ekron Fire And Rescue Inc
Lincoln Heritage Council 205
P.O. Box 99
Ekron, KY 40117


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Piedmont Council 420
122 El Bethel Rd
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San Diego Imperial Council 049
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El Cajon, CA 92020


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Sam Houston Area Council 576
303 E Jackson St
El Campo, TX 77437


El Campo Volunteer Fire Dept
Sam Houston Area Council 576
220 Merchant St
El Campo, TX 77437


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P.O. Box 158
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El Centro Hispano
Westchester Putnam 388
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San Diego Imperial Council 049
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El Cerrito Police Dept
Mt Diablo‐Silverado Council 023
10900 San Pablo Ave
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El Do Youth Incorporated
Ozark Trails Council 306
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El Dorado Branch ‐ LDS Tucson East Stake
Catalina Council 011
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El Dorado County Fire District
Golden Empire Council 047
P.O. Box 807
Camino, CA 95709


El Dorado County Fire Volunteer Assoc
Golden Empire Council 047
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Golden Empire Council 047
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Sam Houston Area Council 576
406 E Rittenhouse St
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El Mirage Police Dept
Grand Canyon Council 010
12401 W Cinnabar Ave
El Mirage, AZ 85335


El Monte Police Dept
Greater Los Angeles Area 033
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Santa Fe, NM 87504‐2087


El Paso County Sheriffs Dept
Yucca Council 573
3850 Justice Rd
El Paso, TX 79938


El Paso Elks Lodge 187
Yucca Council 573
2278 Trawood Dr, Ste C
El Paso, TX 79935


El Paso Elks Lodge 187
Yucca Council 573
2278 Trawood Dr, Ste C‐D
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El Paso Fire Dept
Yucca Council 573
6800 Delta Dr
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El Paso Fire Protection District
W D Boyce 138
700 S Fayette St
El Paso, IL 61738


El Paso Key Fitting Co Inc
719 Myrtle Ave
El Paso, TX 79901


El Paso Police Dept.
Yucca Council 573
9011 Escobar Dr
El Paso, TX 79907


El Paso Saddleblanket Co, LP
6935 Commerce Ave
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334 Los Pinos Rd
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El Redentor Presbyterian Church
Central Florida Council 083
6971 Red Bug Lake Rd
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El Reno First Chruch Of The Nazerene
Last Frontier Council 480
910 S Reno Ave
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El Rey Del Pollo
Pathway To Adventure 456
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El Segundo Rotary Club
Greater Los Angeles Area 033
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Mt Diablo‐Silverado Council 023
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Elaine Watts
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Water and Woods Council 782
3714 Genesee Rd
Lapeer, MI 48446


Elba Volunteer Fire Co Inc
Iroquois Trail Council 376
Main St
Elba, NY 14058


Elba Volunteer Fire Dept
Iroquois Trail Council 376
Main St
Elba, NY 14058


Elba Ward ‐ Declo Stake
Snake River Council 111
1198 E 2000 S
Elba, ID 83342


Elberfeld American Legion
Buffalo Trace 156
350 N 4th St
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Elberta Volunteer Fire Dept
Mobile Area Council‐Bsa 004
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Elberton First Utd Methodist Church
Northeast Georgia Council 101
132 E Church St
Elberton, GA 30635


Elbow Lake Lions Club
Northern Lights Council 429
26779 Oak Point Rd
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Buffalo Trail Council 567
411 6th St
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Elbridge Community Church
Longhouse Council 373
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Elburn   Countryside Fire Prot Distr
Three Fires Council 127
210 E N St
Elburn, Il 60119


Elcho Utd Church Of Christ
Samoset Council, Bsa 627
11291 Dorr St
Elcho, WI 54428


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1024 E Lawson Ave
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Eldorado Rotary
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Eleanor Miller
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Eleanor Molyneux
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Eleanor Morrison
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Greater New York Councils, Bsa 640
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Mecklenburg County Council 415
1300 W W T Harris Blvd
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Electrical Supplies Inc
13395 NW 107 Ave
Miami, FL 33018


Electroimpact Inc
Mount Baker Council, Bsa 606
4413 Chennault Beach Rd
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Mountain Green, UT 84050


Electronic Specialty Co
1325 Dunbar Ave
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Dunbar, WV 25064


Electronic Specialty Co
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Element Moving   Storage
3210 Skylane Dr
Carrollton, TX 75006


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1825 Turning Basin Dr, 300
Houston, TX 77059


Element Solutions International
Eagle Packaging Sol, dba US Poly Pack
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Sugar Land, TX 77487


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Laurel Highlands Council 527
3200 Mount Royal Blvd
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Elgin Lions Club
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P.O. Box 184
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Capitol Area Council 564
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Three Fires Council 127
151 Douglas Ave
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Elim Lutheran Church
Cascade Pacific Council 492
15815 NE 182nd Ave
Brush Prairie, WA 98606


Elim Lutheran Church
Northern Star Council 250
20971 Olinda Trl N
Scandia, MN 55073


Elim Lutheran Church
Northern Star Council 250
3978 W Broadway Ave
Robbinsdale, MN 55422


Elim Lutheran Church
Redwood Empire Council 041
504 Baker St
Petaluma, CA 94952


Elim Lutheran Church
Trapper Trails 589
575 23rd St
Ogden, UT 84401


Elim Lutheran Church    Elca
Voyageurs Area 286
6101 Cody St
Duluth, MN 55807
Elinor Semple
Address Redacted


Eliot Shepherd
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Eliot Utd Methodist Church
Pine Tree Council 218
238 Harold L Dow Hwy
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308 Winding Way St
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Elite Limousine Plus Inc
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Elite Pipe Welding Academy
Sam Houston Area Council 576
7119 Village Way
Houston, TX 77087


Elite Retreat Of Shelley
Grand Teton Council 107
193 W Pine St
Shelley, ID 83274


Elite Show Services Inc
2878 Camino Del Rio So, Ste 260
San Diego, CA 92108


Elite Sporting Goods
333 E Cook Ave
Raton, NM 87740


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Elizabeth Baptist Church
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4245 Cascade Rd Sw
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Elizabeth Boots
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Elizabeth City Elks Lodge
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400 E Fearing St
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Elizabeth City Rotary Club
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Elizabeth Garber
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Elizabeth H Morgan
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Elizabeth Hooper
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Elizabeth Shank
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Cape Fear Council 425
1800 W Broad St
Elizabethtown, NC 28337


Elizabethtown Rotary Club
Cape Fear Council 425
1100 E Broad St
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Last Frontier Council 480
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Bucktail Council 509
P.O. Box 835
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Saint Marys, PA 15857


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P.O. Box 607
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10543 Old Lake Rd
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Elk Elementary Center
Buckskin 617
3320 Pennsylvania Ave
Charleston, WV 25302


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Sequoyah Council 713
P.O. Box 1433
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Elk Grove Historical Society
Golden Empire Council 047
9941 E Stockton Blvd
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Elk Grove Lions Club
Golden Empire Council 047
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Elk Grove, CA 95759


Elk Grove Optimist Club
Golden Empire Council 047
P.O. Box 672
Elk Grove, CA 95759


Elk Grove Police Dept
Golden Empire Council 047
8380 Laguna Palms Way, Ste 100
Elk Grove, CA 95758
Elk Hills Presbyterian Church
Buckskin 617
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Charleston, WV 25302


Elk Lick Camp Trails
Allegheny Highlands Council 382
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Elk Management
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Elk Mound Alternative High School
Chippewa Valley Council 637
405 University St
Elk Mound, WI 54739


Elk Mound Area Lions Club
Chippewa Valley Council 637
400 N Holly Ave
Elk Mound, WI 54739


Elk Mound Area Lions Club
Chippewa Valley Council 637
General Delivery
Elk Mound, WI 54739


Elk Mound Middle School
Chippewa Valley Council 637
302 University St
Elk Mound, WI 54739


Elk Ridge Shooting Sports LLC
Denver Area Council 061
12105 W Cedar Dr
Lakewood, CO 80228


Elk River Lions
Central Minnesota 296
General Delivery
Elk River, MN 55330


Elk River Lions Club
Central Minnesota 296
General Delivery
Elk River, MN 55330


Elk S Mt Clemens Lodge 2124
Great Lakes Fsc 272
179 S Main St
Mount Clemens, MI 48043


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Tukabatchee Area Council 005
2221 Elkdale St
Selma, AL 36701


Elkdale Scouting Committee
Tukabatchee Area Council 005
816 Selma Ave, Ste 5
Selma, AL 36701


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Elkhardt Thompson Middle School
Heart of Virginia Council 602
7825 Forest Hill Ave
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Lasalle Council 165
P.O. Box 784
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Elkhart County Sheriff Dept
Lasalle Council 165
26861 County Rd 26
Elkhart, IN 46517


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Denver Area Council 061
1020 Eagle St
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Mid‐America Council 326
20227 Veterans Dr
Elkhorn, NE 68022


Elkhorn Lion S Club
Glaciers Edge Council 620
P.O. Box 569
Elkhorn, WI 53121


Elkin Fire Dept
Old Hickory Council 427
304 N Front St
Elkin, NC 28621


Elkins Community Church
Westark Area Council 016
12229 Elk Rdg
Wesley, AR 72773


Elkins Lake Baptist Church
Sam Houston Area Council 576
206 Sh 19
Huntsville, TX 77340


Elkins Park Presbyterian Church
Cradle of Liberty Council 525
234 Cedar Rd
Elkins Park, PA 19027


Elks ‐ Bpoe Lodge 1087 S
Grand Teton Council 107
640 E Elva St
Idaho Falls, ID 83401


Elks ‐ Bpoe Lodge 1416
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P.O. Box 99
123 N Ash St
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13308 Worcester Hwy
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Elks Casper Lodge
Greater Wyoming Council 638
108 E 7th St
Casper, WY 82601


Elks Club 299
Bay‐Lakes Council 635
1943 Erie Ave
Sheboygan, WI 53081


Elks Club 676 ‐ Neenah‐Menasha
Bay‐Lakes Council 635
328 Nicolet Blvd
Menasha, WI 54952


Elks Lodge 296
Rainbow Council 702
250 SE Frontage Rd
Joliet, IL 60431


Elks Lodge 399
Caddo Area Council 584
4701 Garland Ave
Texarkana, AR 71854


Elks Lodge ‐ Ames 1626
Mid Iowa Council 177
522 Douglas Ave
Ames, IA 50010


Elks Lodge ‐ Jefferson Bpoe 2306
Mid Iowa Council 177
103 E Harrison St
Jefferson, IA 50129
Elks Lodge 1053 Bpoe
Denver Area Council 061
P.O. Box 1166
801 S Hillcrest Dr
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Elks Lodge 1082 ‐ Hoquiam
Pacific Harbors Council, Bsa 612
624 K St
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Elks Lodge 1112 San Mateo
Pacific Skyline Council 031
229 W 20th Ave
San Mateo, CA 94403


Elks Lodge 1172
Great Swest Council 412
2118 S Adams St
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Elks Lodge 1246 Of Summit
Patriots Path Council 358
40 Maple St
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Elks Lodge 1249
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Elks Lodge 1296 Greenfield
Western Massachusetts Council 234
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Pacific Skyline Council 031
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Elks Lodge 1475
Orange County Council 039
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Elks Lodge 1623 Bpoe
Denver Area Council 061
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Elks Lodge 1632
Montana Council 315
18 S Central Ave
Cut Bank, MT 59427


Elks Lodge 1695 Polson
Montana Council 315
512 Main St
Polson, MT 59860


Elks Lodge 1748 Seaside
Cascade Pacific Council 492
324 Ave A
Seaside, OR 97138


Elks Lodge 179
Northern Star Council 250
5880 Omaha Ave N
Stillwater, MN 55082


Elks Lodge 1799 Blythe
California Inland Empire Council 045
244 W Hobsonway
Blythe, CA 92225


Elks Lodge 1839
California Inland Empire Council 045
P.O. Box 3387
Beaumont, CA 92223


Elks Lodge 186 ‐ Olympia
Pacific Harbors Council, Bsa 612
1818 4th Ave E
Olympia, WA 98506


Elks Lodge 187
Yucca Council 573
2278 Trawood
El Paso, TX 79936


Elks Lodge 1873
Central Florida Council 083
1655 Kings Hwy
Kissimmee, FL 34744


Elks Lodge 1884
Nevada Area Council 329
P.O. Box 1177
Quincy, CA 95971


Elks Lodge 1889
Rio Grande Council 775
1426 S Commerce St
Harlingen, TX 78550


Elks Lodge 1905
California Inland Empire Council 045
P.O. Box 5266
Palm Springs, CA 92263


Elks Lodge 1935
Oregon Trail Council 697
P.O. Box 428
Coquille, OR 97423


Elks Lodge 1968
San Diego Imperial Council 049
1947 E Vista Way
Vista, CA 92084


Elks Lodge 1982
President Gerald R Ford 781
4932 W Houghton Lake Dr
Houghton Lake, MI 48629


Elks Lodge 1991 Emerald Hills
Pacific Skyline Council 031
938 Wilmington Way
Emerald Hills, CA 94062


Elks Lodge 1993
Orange County Council 039
1451 Brea Blvd
Fullerton, CA 92835


Elks Lodge 2013
California Inland Empire Council 045
P.O. Box 3517
Fontana, CA 92334


Elks Lodge 2045
California Inland Empire Council 045
P.O. Box 771
Corona, CA 92878
Elks Lodge 2091 So San Francisco
Pacific Skyline Council 031
920 Stonegate Dr
South San Francisco, CA 94080


Elks Lodge 2119 Of Manville/Hillsborough
Patriots Path Council 358
P.O. Box 355
Manville, NJ 08835


Elks Lodge 216
Alamo Area Council 583
15650 Market Hl
San Antonio, TX 78256


Elks Lodge 218
Greater Yosemite Council 059
8900 Thornton Rd
Stockton, CA 95209


Elks Lodge 2210 Silverton
Cascade Pacific Council 492
300 High St
Silverton, OR 97381


Elks Lodge 2218 Of Potosi
Greater St Louis Area Council 312
P.O. Box 177
Potosi, MO 63664


Elks Lodge 2243
San Diego Imperial Council 049
1393 Windsor Rd
Cardiff By the Sea, CA 92007


Elks Lodge 2286 Bpoe
Denver Area Council 061
P.O. Box 57
Glenwood Springs, CO 81602


Elks Lodge 2314
California Inland Empire Council 045
55946 Yucca Trl
Yucca Valley, CA 92284


Elks Lodge 2322
Bay Area Council 574
623 Hanson Rd
Kemah, TX 77565


Elks Lodge 2383 Of Brandon
Greater Tampa Bay Area 089
800 Centennial Lodge Dr
Brandon, FL 33510


Elks Lodge 2388 ‐ Lakewood
Pacific Harbors Council, Bsa 612
6313 75th St W
Lakewood, WA 98499


Elks Lodge 24
Seneca Waterways 397
3525 E Henrietta Rd
Henrietta, NY 14467


Elks Lodge 2411 Gateway
Cascade Pacific Council 492
16321 SE Stark St
Portland, OR 97233


Elks Lodge 2440 Forest Grove
Cascade Pacific Council 492
2810 Pacific Ave
Forest Grove, OR 97116


Elks Lodge 2444
Orange County Council 039
25092 Marguerite Pkwy
Mission Viejo, CA 92692


Elks Lodge 2477 Of Thousand Oaks
Ventura County Council 057
185 N Conejo School Rd
Thousand Oaks, CA 91362


Elks Lodge 2500
Great Swest Council 412
1530 Barbara Loop Se
Rio Rancho, NM 87124


Elks Lodge 2561 Bpoe
Denver Area Council 061
P.O. Box 515
Silverthorne, CO 80498


Elks Lodge 2587
Greater St Louis Area Council 312
1163 Tom Ginnever Ave
O Fallon, MO 63366


Elks Lodge 2589 Battle Ground
Cascade Pacific Council 492
907 SE Grace Ave
Battle Ground, WA 98604


Elks Lodge 2591
California Inland Empire Council 045
33700 Mission Trl
Wildomar, CA 92595


Elks Lodge 2646
California Inland Empire Council 045
9202 E Ave
Hesperia, CA 92345


Elks Lodge 2701
Greater St Louis Area Council 312
921 N Perryville Blvd
Perryville, MO 63775


Elks Lodge 317
Chief Seattle Council 609
555 Otto St
Port Townsend, WA 98368
Elks Lodge 343
Water and Woods Council 782
3292 Beach Rd
Port Huron, MI 48060


Elks Lodge 409
Ozark Trails Council 306
2223 E Bennett St
Springfield, MO 65804


Elks Lodge 444
Sioux Council 733
460 Dakota Ave S
Huron, SD 57350


Elks Lodge 575 Bpoe
Denver Area Council 061
249 S 4th St
Grand Junction, CO 81501


Elks Lodge 583
California Inland Empire Council 045
663 New York St
Redlands, CA 92374


Elks Lodge 593 ‐ Aberdeen
Pacific Harbors Council, Bsa 612
1712 S Boone St
Aberdeen, WA 98520


Elks Lodge 639 Of Cape Girardeau
Greater St Louis Area Council 312
639 Elks Ln
Cape Girardeau, MO 63701


Elks Lodge 643
California Inland Empire Council 045
6166 Brockton Ave
Riverside, CA 92506


Elks Lodge 687
Bay‐Lakes Council 635
P.O. Box 95
1807 N Rapids Rd
Manitowoc, WI 54221


Elks Lodge 692 Bpoe
Denver Area Council 061
P.O. Box 3583
Telluride, CO 81435


Elks Lodge 80
Cornhusker Council 324
5910 S 58Th
Lincoln, NE 68506


Elks Lodge 823 Vancouver
Cascade Pacific Council 492
11605 SE Mcgillivray Blvd
Vancouver, WA 98683


Elks Lodge 836
California Inland Empire Council 045
2055 Elks Dr
San Bernardino, CA 92404


Elks Lodge 837
Texas Swest Council 741
421 San Felipe Springs Rd
Del Rio, TX 78840


Elks Lodge 9
Greater St Louis Area Council 312
12481 Ladue Rd
Creve Coeur, MO 63141


Elks Lodge 905
Pine Tree Council 218
76 Industrial St
Waterville, ME 04901


Elks Lodge 96 B.P.O.E.
Leatherstocking 400
126 W Liberty St
Rome, NY 13440


Elks Lodge 992
Seneca Waterways 397
P.O. Box 43
W Bayard St Ext
Seneca Falls, NY 13148


Elks Lodge 994
Sioux Council 733
504 W 27th St
Yankton, SD 57078


Elks Lodge 997 Northampton
Western Massachusetts Council 234
17 Spring St
Florence, MA 01062


Elks Lodge B.O.P.E. 42
Leatherstocking 400
60 N Ann St
Little Falls, NY 13365


Elks Lodge Bpoe 2389
California Inland Empire Council 045
P.O. Box 578
12165 2nd St
Yucaipa, CA 92399


Elks Lodge Hemet
California Inland Empire Council 045
1305 W Florida Ave
Hemet, CA 92543


Elks Lodge No 1063
Greater St Louis Area Council 312
4801 Maryville Rd
Granite City, IL 62040


Elks Lodge No 2347
Silicon Valley Monterey Bay 055
1680 Martin Ave
Santa Clara, CA 95050


Elks Lodge Of Greenwich‐Bpoe 2223
Twin Rivers Council 364
636 County Rte 77
Greenwich, NY 12834


Elks Lodge Of Park Ridge
Northern New Jersey Council, Bsa 333
13 Sulak Ln
Park Ridge, NJ 07656


Elks Lodge Salem Post 336
Cascade Pacific Council 492
2336 Turner Rd Se
Salem, OR 97302


Elks Of Lacey Lodge 2518
Jersey Shore Council 341
900 Beach Blvd
Forked River, NJ 08731


Elks Of Point Pleasant Lodge 1698
Jersey Shore Council 341
P.O. Box 1069
820 Arnold Ave
Pt Pleasant Beach, NJ 08742


Elks Of Toms River Lodge 1875
Jersey Shore Council 341
600 Washington St
Toms River, NJ 08753


Elks Usa Bpoe 2376
Heart of America Council 307
7010 N Cherry St
Kansas City, MO 64118


Elkton Lions Club
Water and Woods Council 782
P.O. Box 371
Elkton, MI 48731


Elkton Utd Methodist Church
Del Mar Va 081
219 E Main St
Elkton, MD 21921


Elkton Utd Methodist Church
Stonewall Jackson Council 763
205 Warren St
Elkton, VA 22827


El‐Ku‐Ta Lodge ‐ Order Of The Arrow
Great Salt Lake Council 590
P.O. Box 575
Stockton, UT 84071


Ella Austin Community Center
Alamo Area Council 583
1023 N Pine St
San Antonio, TX 78202


Ella Bailey Rec Center
Baltimore Area Council 220
100 E Heath St
Baltimore, MD 21230


Ella C Penczek
Address Redacted


Ella Risk 21St Century Program
Narragansett 546
949 Dexter St
Central Falls, RI 02863


Ellen Beltran
Address Redacted


Ellen Bilanow Wilcock
Dba Ellen Bilanow Wilcock Licsw
5100 Eden Ave, Ste 318
Edina, MN 55436


Ellen C Morgan
Address Redacted


Ellen Epperson
Address Redacted


Ellen Houck
Address Redacted


Ellen Jenison
Address Redacted


Ellen Kelton
Address Redacted


Ellen Kolin
Address Redacted


Ellen Mackay
Address Redacted


Ellen Milano
Address Redacted


Ellen Muench
Address Redacted


Ellen Post
Address Redacted


Ellen Reisberg
Address Redacted


Ellen Roush
Address Redacted
Ellen Scott
Address Redacted


Ellen Turner‐Clewis
Address Redacted


Ellen Watkins
Address Redacted


Ellen Weintraub
Address Redacted


Ellen Whitley
Address Redacted


Ellen Williams
Address Redacted


Ellen Young
Address Redacted


Ellendale Baptist Church
Chickasaw Council 558
3861 Broadway Rd
Memphis, TN 38135


Ellendale Utd Methodist Church
Chickasaw Council 558
P.O. Box 85
7217 Centralia Rd
Ellendale, TN 38029


Ellenville Methodist Church
Rip Van Winkle Council 405
85 Canal St
Ellenville, NY 12428


Ellerbe Utd Methodist Church
Central N Carolina Council 416
P.O. Box 340
Ellerbe, NC 28338


Ellettsville First Utd Methodist
Hoosier Trails Council 145 145
P.O. Box 548
803 W Temperance St
Ellettsville, IN 47429


Ellicott City Volunteer Fireman S Assoc
Baltimore Area Council 220
4150 Montgomery Rd
Ellicott City, MD 21043


Ellicott Fire Protection District
Pikes Peak Council 060
75 N Ellicott Hwy
Calhan, CO 80808


Ellicott School District 22
Pikes Peak Council 060
322 S Ellicott Hwy
Calhan, CO 80808


Ellicottville Fire Dept
Allegheny Highlands Council 382
30 Filmore Dr
P.O. Box 397
Ellicottville, NY 14731


Ellingson Tactical Safety And Security
Gamehaven 299
4550 NW 50th St
Medford, MN 55049


Ellington A/C   Heat Inc
3280 Hwy US 1
Rockledge, FL 32955


Ellinwood Lions Club
Quivira Council, Bsa 198
115 Pembroke Pl
Ellinwood, KS 67526


Elliot Baker
Address Redacted


Elliot Bennett
Address Redacted


Elliot Investment Corp
dba Petals   Stems Florist
13319 Montfort Dr
Dallas, TX 75240


Elliot J Hoinville
Address Redacted


Elliot Van Court‐Reynaud
Address Redacted


Elliott Es PTO
Pathway To Adventure 456
8718 White Oak Ave
Munster, IN 46321


Elliott Johnson
Address Redacted


Elliott M Remer
Address Redacted


Ellis Arts Academy PTO
Blackhawk Area 660
222 S Central Ave
Rockford, IL 61102


Ellis Communictions LLC
2167 Court St
P.O. Box 397
Fayetteville, WV 25840
Ellis County Sheriff Office
Circle Ten Council 571
300 S Jackson St
Waxahachie, TX 75165


Ellis Eagles Parent Organization
Southeast Louisiana Council 214
801 Brockenbraugh Ct
Metairie, LA 70005


Ellis Hollow Community Center
Baden‐Powell Council 368
111 Genung Rd
Ithaca, NY 14850


Ellis Rotary Club
Coronado Area Council 192
201 E 6th St
Ellis, KS 67637


Ellis Vfw Post 9139
Coronado Area Council 192
446 Feedlot Rd
Ellis, KS 67637


Ellisburg Volunteer Fire Dept
Longhouse Council 373
1395 N Main St
Ellisburg, NY 13636


Ellisville Rotary Club
Pine Burr Area Council 304
P.O. Box 1
Ellisville, MS 39437


Ellsinore Youth Center
Greater St Louis Area Council 312
Rr 2 Box 2622
Ellsinore, MO 63937


Ellsworth Fujimoto
Address Redacted


Ellsworth Home   School Assoc
Three Fires Council 127
145 N Sleight St
Naperville, IL 60540


Ellsworth Presbyterian Church
Great Trail 433
P.O. Box 55
Ellsworth, OH 44416


Ellwood School
Cradle of Liberty Council 525
6701 N 13th St
Philadelphia, PA 19126


Ellyn M Washburne
Address Redacted


Elm City Rotary Club
East Carolina Council 426
P.O. Box 1643
Elm City, NC 27822


Elm Creek Lions Club
Overland Trails 322
P.O. Box 184
Elm Creek, NE 68836


Elm Fork Clay Sports Inc
10751 Luna Rd
Dallas, TX 75220


Elm Grove Baptist Church
Old N State Council 070
1302 US 29 Bus
Reidsville, NC 27320


Elm Grove Golden K Kiwanis Club
Potawatomi Area Council 651
1260 Church St
Elm Grove Golden K Kiwanis Club
Elm Grove, WI 53122


Elm Grove Methodist Church
Ohio River Valley Council 619
125 Kruger St
Elm Grove, WV 26003


Elm Grove Methodist Church
Ohio River Valley Council 619
125 Kruger St
Wheeling, WV 26003


Elm Grove PTA
Sam Houston Area Council 576
2815 Clear Ridge Dr
Kingwood, TX 77339


Elm Woodworks
801 Maxwell
Cimarron, NM 87714


Elma Grange 26
Pacific Harbors Council, Bsa 612
P.O. Box 1882
Elma, WA 98541


Elmer Anderson
Address Redacted


Elmer E Vance Post 386‐American Legion
Abraham Lincoln Council 144
118 S Dye St
Virden, IL 62690


Elmer Ellis Post 33 American Legion
Pony Express Council 311
911 N Ashland Dr
Cameron, MO 64429
Elmer Grange 29
Garden State Council 690
535 Daretown Rd
Elmer, NJ 08318


Elmer Greey Jr
Address Redacted


Elmer Miller
Address Redacted


Elmer T. Hawkins Lodge No. 113
Transatlantic Council, Bsa 802
Cmr 447 Box 56
Apo, AE 09020


Elmhurst Elementary School
Erie Shores Council 460
4530 Elmhurst Rd
Toledo, OH 43613


Elmhurst Fire Dept
Three Fires Council 127
209 N York St
Elmhurst, IL 60126


Elmhurst Police Dept
Three Fires Council 127
125 E 1st St
Elmhurst, IL 60126


Elmira City School PTA
Five Rivers Council, Inc 375
110 Hendy Ave
Elmira, NY 14905


Elmira Elks Lodge 62
Five Rivers Council, Inc 375
300 E Gray St
Elmira, NY 14901
Elmo F Hill Post 291
W D Boyce 138
610 E S St
Lexington, IL 61753


Elmont Utd Methodist Church
Jayhawk Area Council 197
6635 NW Church Ln
Topeka, KS 66618


Elmont Volunteer Fire Dept
Theodore Roosevelt Council 386
95 Lehrer Ave
Elmont, NY 11003


Elmsford Fire Dept
Westchester Putnam 388
15 S Stone Ave
Elmsford, NY 10523


Elmwood Avenue Baptist Church
Five Rivers Council, Inc 375
232 Elmwood Ave
Elmira Heights, NY 14903


Elmwood Avenue Presbyterian Church
French Creek Council 532
2816 Elmwood Ave
Erie, PA 16508


Elmwood Elementary PTA
Great Lakes Fsc 272
22700 California St
Saint Clair Shores, MI 48080


Elmwood Home   School Assoc
Potawatomi Area Council 651
5900 S Sunnyslope Rd
New Berlin, WI 53151


Elmwood Park Volunteer Fire Dept
Northern New Jersey Council, Bsa 333
98 Martha Ave
Elmwood Park, NJ 07407


Elmwood Presbyterian Church
Northern New Jersey Council, Bsa 333
135 Elmwood Ave
East Orange, NJ 07018


Elmwood PTO
Water and Woods Council 782
1533 Elmwood Rd
Lansing, MI 48917


Elmwood Volunteer Fire Dept
Cornhusker Council 324
P.O. Box 3
601 N 4Th
Elmwood, NE 68349


Elna Batykefer
Address Redacted


Elnora Rock
Address Redacted


Elon College Fire Rescue Explorers
Old N State Council 070
P.O. Box 595
Elon College, NC 27244


Elon Community Utd Church Of Christ
Old N State Council 070
204 N Williamson Ave
Elon, NC 27244


Elon University
Attn Bursars Office
P.O. Box 398
Elon, NC 27244


Eloy Fire District
Grand Canyon Council 010
4010 N Toltec Rd
Eloy, AZ 85131


Elphege Haydel
Address Redacted


Elsa L Moore
Address Redacted


Elsa Lizarzaburu
Address Redacted


Elsa Stewart
Address Redacted


Elsa Wenzel
Address Redacted


Elsberry Methodist Church
Greater St Louis Area Council 312
109 N 4th St
Elsberry, MO 63343


Elsie Green
Address Redacted


Elsie Hemmings
Address Redacted


Elsie Moore
Address Redacted


Elsie Trimboli
Address Redacted


Elsie Williams
Address Redacted
Elsie‐Vinemaple Firefighters Assoc
Cascade Pacific Council 492
42644 Loyd Ln
Seaside, OR 97138


Elsmere Fire Co A Inc
Twin Rivers Council 364
15 W Poplar Dr
Delmar, NY 12054


Elsom Eldridge
Address Redacted


Eltingville Lutheran Church
Greater New York Councils, Bsa 640
300 Genesee Ave
Staten Island, NY 10312


Elva Ehler
Address Redacted


Elva Sherwood
Address Redacted


Elverson/Morgantown Lions Club
Chester County Council 539
101 S Chestnut St
Elverson, PA 19520


Elvex Corp
P.O. Box 850
Bethel, CT 06801


Elvin Bucu
Address Redacted


Elvin Manges Iii
Address Redacted
Elvira Carron
Address Redacted


Elvira Doody
Address Redacted


Elvis Bauman
Address Redacted


Elwin Knackstedt
Address Redacted


Elwin Utd Methodist Church
Greater St Louis Area Council 312
1260 W Elwin Rd
Elwin, IL 62532


Elwood Community Church
Rainbow Council 702
P.O. Box 305
101 N Chicago St
Elwood, IL 60421


Elwood Optimist Club
Crossroads of America 160
7753 W 1300 N
Elwood, IN 46036


Elwood Volunteer Fire Co
Jersey Shore Council 341
P.O. Box 223
Elwood, NJ 08217


Ely Area Ambulance
400 3rd St
Farmington, MN 55024‐1358


Ely Auto Services Inc
1614 E Harvey St
Ely, MN 55731
Ely Bike Shop
255 W Camp St
Ely, MN 55731


Ely Chamber Of Commerce
1600 E Sheridan St
Ely, MN 55731


Ely Chapman Education Foundation
Muskingum Valley Council, Bsa 467
403 Scammel St
Marietta, OH 45750


Ely Dq Grill And Chill
1441 E Sheridan St
Ely, MN 55731


Ely Electric Inc
1543 Hwy 1
Ely, MN 55731


Ely Flower And Seed And Greenhouse
145 W Camp St
Ely, MN 55731


Ely High School Timberlane
600 E Harvey St
Ely, MN 55731


Ely J Lara
Address Redacted


Ely License Bureau
118 S 4th Ave E
Ely, MN 55731


Ely Main Po
34 S 2nd Ave E
Ely, MN 55731
Ely Mateo
Address Redacted


Ely Nordic Ski Club
P.O. Box 346
Ely, MN 55731


Ely Northland Market
1230 E Sheridan St
Ely, MN 55731


Ely Shuttles LLP
118 Sunset Rd
Ely, MN 55731


Ely Surplus And Outdoor
129 N Central Ave
Ely, MN 55731


Ely Utd Methodist Church
Nevada Area Council 329
P.O. Box 151838
890 Ave M
Ely, NV 89301


Ely‐Bloomenson Community Hospital
328 W Conan St
Ely, MN 55731‐1198


Ely‐Fagan American Legion Post 1151
Seneca Waterways 397
P.O. Box 72
260 Middle Rd
Henrietta, NY 14467


Elyria Community
Lake Erie Council 440
300 Abbe Rd N
Elyria, OH 44035
Elyria Moose Lodge 778
Lake Erie Council 440
555 Ternes Ln
Elyria, OH 44035


Elysburg Presbyterian Church
Susquehanna Council 533
320 W Valley Ave
Elysburg, PA 17824


Em Gray   Son Inc
P.O. Box 25
Milford, VA 22514


Ema O Mahpe Lodge 14
c/o Cimarron Council
P.O. Box 3146
Enid, OK 73702‐3146


Emalea Warner Elementary School
Del Mar Va 081
801 W 18th St
Wilmington, DE 19802


Eman Schools
Crossroads of America 160
11965 Allisonville Rd
Fishers, IN 46038


Emanuel Advent Christian Church
Daniel Webster Council, Bsa 330
24 Eern Ave
Rochester, NH 03867


Emanuel Episcopal
Baden‐Powell Council 368
W Main St
Norwich, NY 13815


Emanuel Lutheran Church
Buckeye Council 436
241 S Prospect St
Marion, OH 43302


Emanuel Lutheran Church
Mid‐America Council 326
2444 N Broadway
Council Bluffs, IA 51503


Emanuel Lutheran Church
Northern Star Council 250
2075 70th St E
Inver Grove Heights, MN 55077


Emanuel Lutheran Church
Westchester Putnam 388
197 Manville Rd
Pleasantville, NY 10570


Emanuel Lutheran Church Of Milbank
Sioux Council 733
701 S 1st St
Milbank, SD 57252


Emanuel Utd Church Of Christ
Buckeye Council 436
13989 Pitt Rd 127
Upper Sandusky, OH 43351


Emanuel Utd Church Of Christ
Northeastern Pennsylvania Council 501
7768 Blue Ridge Trl
Mountain Top, PA 18707


Emanuel Utd Church Of Christ
Southern Shores Fsc 783
324 W Main St
Manchester, MI 48158


Emanuel Utd Methodist Church
Seneca Waterways 397
925 Joseph Ave
Rochester, NY 14621
Embarcadero Technologies Inc
P.O. Box 45162
San Francisco, CA 94145


Embarq
P.O. Box 96064
Charlotte, NC 28296‐0064


Embassy Suites
4400 S Rural Rd
Tempe, AZ 85282


Embassy Suites
7900 NE 82nd Ave
Portland, OR 97220


Embassy Suites Hotels
5100 Upper Metro Pl
Dublin, OH 43017


Embassy Suites Hotels ‐ Bloomington
2800 American Blvd W
Bloomington, MN 55431


Embassy Suites Salt Lake / W Valley City
3524 S Market St
West Valley City, UT 84119


Emblem Enterprises Inc
P.O. Box 10033
Van Nuys, CA 91410‐0033


Embry Hills Methodist Church
Atlanta Area Council 092
3304 Henderson Mill Rd
Atlanta, GA 30341


Embry Riddle Aeronautical Univ
3700 Willow Creek Rd
Prescott, AZ 86301
Embry Riddle Aeronautical University
Attn Bursars Office
600 S Clyde Morris Blvd
Daytona Beach, FL 32114


Embry Riddle Aeronautical University
Central Florida Council 083
600 S Clyde Morris Blvd
Daytona Beach, FL 32114


Embury Utd Methodist Church
Chickasaw Council 558
2060 Locke Cuba Rd
Millington, TN 38053


Embury Utd Methodist Church
Monmouth Council, Bsa 347
49 Church St
Little Silver, NJ 07739


Emc Oil Corp
P.O. Box 520882
Miami, FL 33152‐0882


Emcee Creative LLC
203 Greyfriars Ln
Cary, NC 27518


Emci Ltd
2101 S Tryon St
Charlotte, NC 28203


Emcor Services Inc
24‐37 46th St
Long Island City, NY 11103


Emedco
39209 Treasury Ctr
Chicago, IL 60694‐9200
Emerald Academy
Great Smoky Mountain Council 557
220 Carrick St
Knoxville, TN 37921


Emerald Avenue Utd Methodist Church
Great Smoky Mountain Council 557
1620 N Central St
Knoxville, TN 37917


Emerald Bay Assoc
W.L.A.C.C. 051
P.O. Box 959
Venice, CA 90294


Emerald Bible Fellowship
Oregon Trail Council 697
1855 Cal Young Rd
Eugene, OR 97401


Emerald City Marine Corps League
Leatherstocking 400
Legion Dr
Chittenango, NY 13037


Emerald Coast Hospitality LLC
dba Country Inn , Ste S ‐ Summersville
106 Merchants Walk Shopping Ctr
Summersville, WV 26651


Emerald Expositions Holding Inc
31910 Del Obispo, Ste 200
San Juan Capitrao, CA 92675


Emerald Expositions Holding Inc
dba Emerald Expositions
32753 Collection Ctr Dr
Chicago, IL 60693‐0327


Emerald Glen
Simon Kenton Council 441
930 Regentshire Dr
Columbus, OH 43228


Emergency Medical Assoc
6400 Industrial Loop
Greendale, WI 53129


Emergency Medical Products Inc
25196 Network Pl
Chicago, IL 60673‐1251


Emergency Medical Svcs
Education And Consulting Inc
Sam Houston Area Council 576
24423 Rolling Meadow Dr
Tomball, Tx 77375


Emergency Physicians, Inc
P.O. Box 13811
Philadelphia, PA 19101‐3811


Emergency Responder Products
P.O. Box 353
Old Bethpage, NY 11804


Emergency Staffing Solutions
P.O. Box 96088
Oklahoma City, OK 73143‐6088


Emerson 2Nd Ward ‐ Paul Stake
Snake River Council 111
125 S 950 W
Paul, ID 83347


Emerson Elementary PTO
Mid Iowa Council 177
1109 E Euclid Ave
Indianola, IA 50125


Emerson Elementary School
Gateway Area 624
2101 Campbell Rd
La Crosse, WI 54601


Emerson Elementary School PTO
Great Lakes Fsc 272
32151 Danna
Fraser, MI 48026


Emerson Unitarian Universalist Congr Inc
Atlanta Area Council 092
4010 Canton Rd
Marietta, Ga 30066


Emerson Ward ‐ Paul Stake
Snake River Council 111
125 S 950 W
Paul, ID 83347


Emerson‐Williams School P T O
Connecticut Rivers Council, Bsa 066
461 Wells Rd
Wethersfield, CT 06109


Emery A Hansell
Address Redacted


Emery Celli Brinckerhoff  Abady, LLP
Attn Debra Greenberger, David Lebowitz
re Plaintiff
600 5th Ave, 10th Fl
New York, NY 10020


Emery County School District
120 N Main
Huntington, UT 84528


Emery Photography, Inc
914 Mohawk St
Columbus, OH 43206


Emery Telecom
P.O. Box 629‐455 E Hwy 29
Orangeville, UT 84537


Emery Young
Address Redacted


Emerywood Baptist Church
Old N State Council 070
1300 Country Club Dr
High Point, NC 27262


Emi Sportswear
6840 Winchester Cir 1
Boulder, CO 80301


Emigre Inc
1700 Shattuck Ave 307
Berkeley, CA 94709


Emil Schoener
Address Redacted


Emile A J Mestressat Iii
Address Redacted


Emile Mestressat Iii
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Emile Pendarvis‐Murden
Address Redacted


Emilee Hess
Address Redacted


Emilia Schiro
Address Redacted


Emilie Utd Methodist Church
Washington Crossing Council 777
7300 New Falls Rd
Levittown, PA 19055


Emilio Andres Diaz
Address Redacted


Emilio Avila
Address Redacted


Emilio G Najera
Address Redacted


Emily A Lenherr
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Emily A Rogers
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Emily A Stenzel
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Emily Adams
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Emily Beyette
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Emily Bratten
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Emily C Haskins
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Emily C Mcarthur
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Emily Cross
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Emily Determan
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Emily E Radtke
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Emily Havens
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Emily J Hartke
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Emily J O Donnell
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Emily L Howsley
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Emily L Konopka
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Emily Leonard
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Emily M Bartles
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Emily M Pearson
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Emily Pollard
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Emily Prymula
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Emily R Blagg
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Emily Rendini
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Emily Rodrigue
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Emily S Potter
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Emily Scott
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Emily Streber
Address Redacted


Emily Thompson
Address Redacted


Emily Wunnenberg
Address Redacted


Emily Zapach
Address Redacted


Eminence Christian Church
Hoosier Trails Council 145 145
P.O. Box 203
Eminence, IN 46125


Emington Utd Church Of Christ
W D Boyce 138
103 Div St
Emington, IL 60934


Emma Dickerson
Address Redacted


Emma Dillinger
Address Redacted


Emma Gray Utd Methodist Church
Palmetto Council 549
321 W Georgia St
P.O. Box 271
Woodruff, SC 29388


Emma Gray Utd Methodist Men
Palmetto Council 549
321 W Georgia St
Woodruff, SC 29388


Emma H Willard School P T O
Connecticut Rivers Council, Bsa 066
1088 Norton Rd
Berlin, CT 06037


Emma L Eppig
Address Redacted


Emma L Hodson
Address Redacted


Emma Louise Penczek
Address Redacted


Emma Palmer
Address Redacted


Emma R Francis
Address Redacted


Emma Rager
Address Redacted


Emmalee R Passmore
Address Redacted


Emman S Bibiano
Address Redacted


Emmanuel Baptist Church
Buckskin 617
1401 Washington St W
Charleston, WV 25387


Emmanuel Baptist Church
Golden Empire Council 047
9350 Kiefer Blvd
Sacramento, CA 95826


Emmanuel Baptist Church
Louisiana Purchase Council 213
430 Jackson St
Alexandria, LA 71301


Emmanuel Christian Academy
Great Trail 433
350 S Portage Path
Akron, OH 44320


Emmanuel Church Geneva
Transatlantic Council, Bsa 802
3 Rue Monthoux
Geneva, 1201
Switzerland
Emmanuel Church Of God In Christ
Southern Shores Fsc 783
106 E Saint Marys St
Decatur, MI 49045


Emmanuel Commty
United Methodist Church
Potawatomi Area Council 651
N84W16707 Menomonee Ave
Menomonee Falls, Wi 53051


Emmanuel Episcopal Church
Blue Grass Council 204
General Delivery
Winchester, KY 40391


Emmanuel Episcopal Church
c/o Emmanuel Episcopal Church
Central Florida Council 083
1603 E Winter Park Rd
Orlando, FL 32803


Emmanuel Episcopal Church
Chief Seattle Council 609
4400 86th Ave Se
Mercer Island, WA 98040


Emmanuel Episcopal Church
Five Rivers Council, Inc 375
380 Pennsylvania Ave
Elmira, NY 14904


Emmanuel Episcopal Church
Last Frontier Council 480
214 W Farrall
Po 3457
Shawnee, OK 74801


Emmanuel Episcopal Church
National Capital Area Council 082
P.O. Box 306
Middleburg, VA 20118
Emmanuel Episcopal Church
North Florida Council 087
P.O. Box 302
Welaka, FL 32193


Emmanuel Episcopal Church
Stonewall Jackson Council 763
660 S Main St
Harrisonburg, VA 22801


Emmanuel Episcopal Church
Tidewater Council 596
5181 Singleton Way
Virginia Beach, VA 23462


Emmanuel Family And Child Devt Center
Heart of America Council 307
2416 Swope Pkwy
Kansas City, MO 64130


Emmanuel Lawrence
Address Redacted


Emmanuel Lutheran
Daniel Boone Council 414
51 Wilburn Pl
Asheville, NC 28806


Emmanuel Lutheran Church
Cascade Pacific Council 492
2218 E Kessler Blvd
Longview, WA 98632


Emmanuel Lutheran Church
Cornhusker Council 324, 8th and Beaver
York, NE 68467


Emmanuel Lutheran Church
Cradle of Liberty Council 525
150 N Hanover St
Pottstown, PA 19464
Emmanuel Lutheran Church
Indian Waters Council 553
2491 Emanuel Church Rd
West Columbia, SC 29170


Emmanuel Lutheran Church
Juniata Valley Council 497
N Mill St
Thompsontown, PA 17094


Emmanuel Lutheran Church
Lake Erie Council 440
360 Princeton Ave
Elyria, OH 44035


Emmanuel Lutheran Church
Laurel Highlands Council 527
Grant   Highland Aves
Pittsburgh, PA 15223


Emmanuel Lutheran Church
Montana Council 315
5515 Shepherd Acton Rd
Shepherd, MT 59079


Emmanuel Lutheran Church
Muskingum Valley Council, Bsa 467
1500 Pleasant Valley Dr
Coshocton, OH 43812


Emmanuel Lutheran Church
National Capital Area Council 082
2589 Chain Bridge Rd
Vienna, VA 22181


Emmanuel Lutheran Church
National Capital Area Council 082
7730 Bradley Blvd
Bethesda, MD 20817
Emmanuel Lutheran Church
Pacific Harbors Council, Bsa 612
1315 N Stevens St
Tacoma, WA 98406


Emmanuel Lutheran Church
Southern Shores Fsc 783
201 N River St
Ypsilanti, MI 48198


Emmanuel Lutheran Church
Westmoreland Fayette 512
5000 Old William Penn Hwy
Export, PA 15632


Emmanuel Luthern Church
Southern Shores Fsc 783
9950 Ridge Hwy
Britton, MI 49229


Emmanuel Missionary Baptist Church
Pikes Peak Council 060
3615 Vickers Dr
Colorado Springs, CO 80918


Emmanuel Presbyterian Church
Longhorn Council 662
2701 Harwood Rd
Bedford, TX 76021


Emmanuel Reformed Utd Ch Christ
Westmoreland Fayette 512
3618 Hills Church Rd
Export, Pa 15632


Emmanuel Utd Church Of Christ
Southern Shores Fsc 783
324 W Main St
Manchester, MI 48158


Emmanuel Utd Methodist Church
Baltimore Area Council 220
10755 Scaggsville Rd
Laurel, MD 20723


Emmanuel Utd Methodist Church
Buckeye Council 436
222 W Martin St
East Palestine, OH 44413


Emmanuel Utd Methodist Church
Central Florida Council 083
2800 W Eau Gallie Blvd
Melbourne, FL 32935


Emmanuel Utd Methodist Church
Crossroads of America 160
16000 Cumberland Rd
Noblesville, IN 46060


Emmanuel Utd Methodist Church
Dan Beard Council, Bsa 438
4312 Amelia Olive Branch Rd
Batavia, OH 45103


Emmanuel Utd Methodist Church
Iroquois Trail Council 376
75 E Ave
Lockport, NY 14094


Emmanuel Utd Methodist Church
National Capital Area Council 082
11416 Cedar Ln
Beltsville, MD 20705


Emmanuel Utd Methodist Church
Seneca Waterways 397
925 Joseph Ave
Rochester, NY 14621


Emmanuel Utd Methodist Church
Shenandoah Area Council 598
2732 Martinsburg Pike
Stephenson, VA 22656
Emmanuel Utd Methodist Church
Simon Kenton Council 441
73 Scioto St
Lucasville, OH 45648


Emmanuel Worship Center
Heart of Virginia Council 602
236 Grove Ave
Petersburg, VA 23803


Emmanuel‐Bethlehem Lutheran Brotherhood
Voyageurs Area 286
602 4th Ave
Two Harbors, MN 55616


Emmanuels Evangelical Lutheran Church
Miami Valley Council, Bsa 444
30 W Warren St
Germantown, OH 45327


Emmaus Lutheran Church
Central Florida Council 083
2500 S Volusia Ave
Orange City, FL 32763


Emmaus Moravian Church
Minsi Trails Council 502
146 Main St
Emmaus, PA 18049


Emmaus Utd Methodist Church
Blue Ridge Mtns Council 599
2282 Meadors Spur Rd
Moneta, VA 24121


Emmaus Utd Methodist Church
Jersey Shore Council 341
706 E Moss Mill Rd
Galloway, NJ 08205
Emmeline L Segler
Address Redacted


Emmert Heating   Air
Quapaw Area Council 018
906 S Promise Land Rd
Blytheville, AR 72315


Emmetsburg Kiwanis
Mid‐America Council 326
P.O. Box 565
3575 420th Ave
Emmetsburg, IA 50536


Emmett Lions Club
Ore‐Ida Council 106 ‐ Bsa 106
850 S Moffatt Ave
Emmett, ID 83617


Emmott Elementary PTO
Sam Houston Area Council 576
11750 Steeple Way Blvd
Houston, TX 77065


Emory County School District
Transportation Dept
P.O. Box 1177
Castle Dale, UT 84513


Emory Johns Creek Hospital
Atlanta Area Council 092
6325 Hospital Pkwy
Johns Creek, GA 30097


Emory Methodist Church
Baltimore Area Council 220
3810 Church Rd
Ellicott City, MD 21043


Emory University
1390 Oxford Rd Ne
Atlanta, GA 30322
Emory Utd Methodist Church
Baltimore Area Council 220
1600 Emory Rd
Upperco, MD 21155


Emory Utd Methodist Church
Baltimore Area Council 220
3810 Church Rd
Ellicott City, MD 21043


Emp Communications Inc
19 W 21st St, Rm 303
New York, NY 10160‐0052


Emp Industries Inc
1330 2nd St S
St Petersburg, FL 33701


Emp Of Mecklenburg County Pll
P.O. Box 636859
Cincinnati, OH 45263‐6859


Empire Direct
225 Distribution Way
Plattsburgh, NY 12901


Empire Education Group
Seneca Waterways 397
340 Elmridge Center Dr
Rochester, NY 14626


Empire Scout Shop ‐ Opc
48 W 37th St
New York, NY 10018


Empire Staple Co, Inc
1710 Platte St
Denver, CO 80202
Empire Technologies LLC
88707 Expedite Way
Chicago, IL 60695‐1700


Employee 117112
Address redacted


Employee 117113
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Employee 117114
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Employee 121754
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Employee 121755
Address Redacted


Employee Handbook Corp Dba Hr Choice
14861 W Devlin Dr
Goodyear, AZ 85395‐8669


Employment Development Dept
P.O. Box 826219,Attn    Cashier‐Rb
Sacramento, CA 94230‐6219


Employnet Inc
P.O. Box 51400
Pacific Grove, CA 93950


Empowering Youth, Inc
dba Kelly Curtis
P.O. Box 385
New Richmond, WI 54017


Empowerment Church
Great Lakes Fsc 272
24300 Sfield Rd
Southfield, MI 48075


Empowerment Community Devt Corp
Piedmont Council 042
3900 Telegraph Ave
Oakland, CA 94609


Emr Elevator Inc
2320 Michigan Ct
Arlington, TX 76016


Emr Elevator, Inc
2320 Michigan Court
Arlington , TX 76016
Ems Hooptech, LLC
9185 Le Saint Dr
West Chester, OH 45014


EMS Services Inc
235 66th St Ocean
Marathon, FL 33050


EMS Services Inc
709 68th St Ocean
Marathon, FL 33050


Ems Software
6455 Greenwood Plaza Blvd, Ste 600
Centennial , CO 80111


Ems Software LLC
6465 Greenwood Plaza Blvd, Ste 600
Centennial, CO 80111


Ems Software LLC
P.O. Box 679881
Dallas, TX 75267‐9881


Emu Bright Futures At Ford Elc
Southern Shores Fsc 783
203 Boone Hall
Ypsilanti, MI 48197


Emu Bright Futures Perry Elc
Southern Shores Fsc 783
203 Boone Hall
Ypsilanti, MI 48197


Emu Bright Futures‐Holmes
Southern Shores Fsc 783
1255 Holmes Rd
Ypsilanti, MI 48198
Enable Utah
Trapper Trails 589
2640 Industrial Dr
Ogden, UT 84401


Encantada Home Owners Assoc
Puerto Rico Council 661
110 Plaza Silvestre
Entrerios
Trujillo Alto, PR 00976


Enchanted Circle Chapter
Trout Unlimited
P.O. Box 556
Red River, NM 87558


Enchanted Florist
P.O. Box 650
Islamorada, FL 33036


Enchanted Hills School PTO
Great Swest Council 412
5400 Obregon Rd Ne
Rio Rancho, NM 87144


Enchanted Valley Hoa
Sam Houston Area Council 576
14910 Enchanted Valley Dr
Houston, TX 77429


Enchantment Recycling, LLC
4121 Prospect Ave NE, Ste B
Albuquerque, NM 87110


Encinitas Florist
335 Santa Fe Dr
Encinitas, CA 92024


Encore Decor Inc
2223 Kansas Ave
Silver Spring, MD 20910
Encore Decor Inc
2321 Stewart Ave
Silver Spring, MD 20910


Endeavour Elementary Magnet
Central Florida Council 083
902 Pineda St
Cocoa, FL 32922


Enderlin Nd Lions Club
Northern Lights Council 429
220 Broadway St
Enderlin, ND 58027


Enders Consulting LLC
Brenda Enders
4865 Langtree Dr
Saint Louis, MO 63128


Endevour Elementary
Central Florida Council 083
905 Pineda St
Cocoa, FL 32922


Endicott Elks Lodge
Baden‐Powell Council 368
619 N Nanticoke Ave
Endicott, NY 13760


Endresen Sound Co Systems Inc
P.O. Box 1095
Proctor, MN 55810


Endrun Technologies
2270 Npoint Pkwy
Santa Rosa, CA 95407


Endura Mfg LLC
Utah National Parks 591
45 E 600 N
Mapleton, UT 84664
Enfield Mascoma Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 91
Enfield, NH 03748


Enfield Street School PTO
Connecticut Rivers Council, Bsa 066
1318 Enfield St
Enfield, CT 06082


Engineered Permits Inc
Central Florida Council 083
311 S Woodland Blvd, Ste A
Deland, FL 32720


Engineering Standards Manual
Cookware Manufacturers Assoc
Box 531335
Mountain Brook, AL 35253‐1335


England First Utd Methodist Church
Quapaw Area Council 018
200 N E
England, AR 72046


Engleburg Boys And Girls Club
Three Harbors Council 636
5100 N 91st St
Milwaukee, WI 53225


Engleman School‐District 30 PTA
Overland Trails 322
1812 Mansfield Rd
Grand Island, NE 68803


Englewood Christian Church
North Florida Council 087
4316 Barnes Rd
Jacksonville, FL 32207
Englewood Utd Methodist Church
Miami Valley Council, Bsa 444
107 N Walnut St
Englewood, OH 45322


Englewood Utd Methodist Church
Southwest Florida Council 088
700 E Dearborn St
Englewood, FL 34223


English Lucas Priest    Owsley LLP
1101 College St
P.O. Box 770
Bowling Green, KY 42102


English Lutheran Church
Moraine Trails Council 500
200 E Grandview Ave
Zelienople, PA 16063


English Lutheran Church Of Bateman
Chippewa Valley Council 637
20588 County Hwy X
Chippewa Falls, WI 54729


Engraving And Stamp Center Inc
218 N Madison St
Bloomington, IN 47404


Engraving Awards    Gifts
42 Franklin St
Laconia, NH 03246


Engravings Etc Inc
280 W 900 N
Springville, UT 84663


Enid Braxton
Address Redacted


Enid First Utd Methodist Church
Cimarron Council 474
P.O. Box 3707
Enid, OK 73702


Enid Melendez
Address Redacted


Enid Ward
Church Of Jesus Christ Latter‐Day Saints
Cimarron Council 474
419 N Eisenhower St
Enid, Ok 73703


Enjoli Deleon
Address Redacted


Enlace Academy
Crossroads of America 160
3725 N Kiel Ave
Indianapolis, IN 46224


Enlicia Byrd
Address Redacted


Enoch Cincotta
Address Redacted


Enoch City Police Dept
Utah National Parks 591
900 E Midvalley Rd
Enoch, UT 84721


Enoki Events, LLC
dba Boost Collaborative
1666 Garnet Ave, PMB 126
San Diego, CA 92109


Enon Baptist Church
Heart of Virginia Council 602
8814 Andersonville Rd
Dillwyn, VA 23936
Enon Chapel Baptist Church
East Carolina Council 426
102 Barbara Ave
Midway Park, NC 28544


Enon Tabernacle Baptist Church
Cradle of Liberty Council 525
2800 W Cheltenham Ave
Philadelphia, PA 19150


Enon Utd Methodist Church
Tecumseh 439
85 Broadway Rd
Enon, OH 45323


Enos Mitchell Inc
P.O. Box 286
78 Hibiscus Ln
Key Largo, FL 33037


En‐Ovation Group
218 W Broadway
Ft Worth, TX 76104


En‐R‐G Foods LLC
735 Oak St
P.O. Box 771162
Steamboat Springs, CO 80487‐1162


En‐R‐G Foods, Inc
P.O. Box 771162
735 Oak St
Steamboat Springs, CO 80477


Enrique Cruz
Address Redacted


Enrique Teigeiro‐Belmar
Address Redacted
Ensminger Crane Service Inc
2300 C Whittleys Rd
Columbus, GA 31909


Entercom Charlotte Wlnk‐Fm
1 Julian Price Pl
Charlotte, NC 28208


Enterprise
P.O. Box 403328
Atlanta, GA 30384‐3328


Enterprise Attendance Center
Andrew Jackson Council 303
1601 Hwy 583 Se
Brookhaven, MS 39601


Enterprise Charter School
Greater Niagara Frontier Council 380
275 Oak St
Buffalo, NY 14203


Enterprise Holdings France Sas
37 Rue Du Colonel Pierre Avia
Cs 21601
Cedex 15
Paris, 75, 75738
France


Enterprise Lions Club
Golden Empire Council 047
P.O. Box 493308
Redding, CA 96049


Enterprise Media LLC
91 Harvey St
Cambridge, MA 02140


Enterprise Rac Co Of Maryland LLC
13605 Jefferson Davis Hwy
Woodbridge, VA 22191‐2004
Enterprise Rent A Car
Attn Beth Mannion
20400 S W Teton
Tualatin, OR 97062‐8812


Enterprise Rent A Car
Attn Kristy Stephens
P.O. Box 613109
Dfw Airport, TX 75261


Enterprise Rent‐A‐Car
1921 Route 27
Edison, NJ 08817


Enterprise Rent‐A‐Car
Attn Accounts Receivable
4970 H Teays Valley Rd
Scott Depot, WV 25560‐9509


Enterprise Rent‐A‐Car
Attn Accts Receivable
4740 Pan American Blvd
Albuquerque, NM 87109


Enterprise Rent‐A‐Car
Damage Recovery Unit
P.O. Box 801988
Kansas, MO 64180


Enterprise Rent‐A‐Car
Damage Recovery Unit
P.O. Box 842264
Dallas, TX 75284‐2264


Enterprise Rent‐A‐Car
P.O. Box 12907
Newport News, VA 23612


Enterprise Rent‐A‐Car Co Wi LLC
S17W22650 Lincoln Ave
Waukesha, WI 53186‐5377


Enterprise School
Andrew Jackson Council 303
1601 Hwy 583 Se
Brookhaven, MS 39601


Enterprise Scouting Parents Assoc
Golden Empire Council 047
942 Merchant St
Redding, CA 96002


Enterprise Tolls
P.O. Box 30
Roslyn Heights, NY 11577


Entertainment Properties Group Inc
dba Pinstack
12400 Colt Rd, Ste 800
Dallas, TX 75251


Entertainment Properties Group Inc
dba Pinstack‐2 LLC
2750 W I‐635
Irving, TX 75063


Entiatgrange
Entiat Valley Commty Svcs
Grand Columbia Council 614
P.O. Box 463
Entiat, Wa 98822


Entit Software LLC
1140 Enterprise Way
Sunnyvale, CA 95747


Entosense Inc
41 Chestnut St
Lewiston, ME 04240


Entrust Inc
Accounts Receivable
P.O. Box 972894
Dallas, TX 75397‐2894


Envelope Sales Co
P.O. Box 644276
Pittsburgh, PA 15264‐4276


Enventys Creative LLC
520 Elliot St, Ste 200
Charlotte, NC 28202


Enventys, LLC
Dba Louis J Foreman
P.O. Box 3452
Huntersville, NC 28070


Enviromental Construction Inc
P.O. Box 705
Scott Depot, WV 25560


Environment Resources Manag
Box No 2701
P.O. Box 8500
Philadelphia, PA 19178‐2701


Environmental Charter School
Greater Los Angeles Area 033
3600 W Imperial Hwy
Inglewood, CA 90303


Environmental Management Inc
Heart of America Council 307
P.O. Box 23753
Overland Park, KS 66283


Environmental Operating Solutions
160 Macarthur Blvd, Ste 6
Bourne, MA 02532‐3919


Environmental Systems Research Inst
File 54630
Los Angeles, CA 90074‐4630


Envision Graphics
225 Madsen Dr
Bloomingdale, IL 60108


Envtal Systems Research Inst, Inc   Esri
380 New York St
Redlands, Ca 92373‐8100


Envue Promotions
1019 Baldwin Dr
Arlington, TX 76012


Eoc ‐ William Floyd Middle School
Suffolk County Council Inc 404
31 W Main St
Patchogue, NY 11772


Eoc‐ William Paca Middle School
Suffolk County Council Inc 404
31 W Main St, Ste 300
Patchogue, NY 11772


Ephraim D Moore
Address Redacted


Ephrata First U M Church
Pennsylvania Dutch Council 524
68 N Church St
Ephrata, PA 17522


Epic
W D Boyce 138
1913 W Townline Rd
Peoria, IL 61615


Epic Adv Troop 2001
Mt Diablo‐Silverado Council 023
9640 Ernwood Pl
San Ramon, CA 94583


Epic Elementary PTA
Greater Alabama Council 001
1000 10th Ave S
Birmingham, AL 35205


Epicenter Supplies LLC
384 Wallis St, Ste 2
Eugene, OR 97402‐5300


Epicureans
12802 Ford Dr
Fishers, IN 46038


Epiphany Catholic School PTA
W D Boyce 138
1002 E College Ave
Normal, IL 61761


Epiphany Council Knights Columbus 8160
Jersey Shore Council 341
615 Thiele Rd
Brick, Nj 08724


Epiphany Evangelical Lutheran Church
Three Fires Council 127
314 W Vallette St
Elmhurst, IL 60126


Epiphany Lutheran Church
Anthony Wayne Area 157
6606 Maplecrest Rd
Fort Wayne, IN 46835


Epiphany Lutheran Church
Atlanta Area Council 092
1350 Peachtree Industrial Blvd
Suwanee, GA 30024


Epiphany Lutheran Church
Baltimore Area Council 220
9122 Sybert Dr
Ellicott City, MD 21043


Epiphany Lutheran Church
Grand Canyon Council 010
800 W Ray Rd
Chandler, AZ 85225


Epiphany Lutheran Church
Great Alaska Council 610
P.O. Box 829
Valdez, AK 99686


Epiphany Lutheran Church
Greater New York Councils, Bsa 640
721 Lincoln Pl
Brooklyn, NY 11216


Epiphany Lutheran Church
Miami Valley Council, Bsa 444
6430 Far Hills Ave
Centerville, OH 45459


Epiphany Lutheran Church
National Capital Area Council 082
13495 Keytone Rd
Dale City, VA 22193


Epiphany Lutheran Church
Twin Valley Council Bsa 283
605 Pkwy Ave
Eagle Lake, MN 56024


Epiphany Mens Club
Greater St Louis Area Council 312
6596 Smiley Ave
Saint Louis, MO 63139


Epiphany Methodist Church
National Capital Area Council 082
1014 Country Club Dr Ne
Vienna, VA 22180


Epiphany Of Our Lord Rcc
Cradle of Liberty Council 525
3050 Walton Rd
Plymouth Meeting, PA 19462


Epiphany Of The Lord Catholic Church
Sam Houston Area Council 576
1530 Norwalk Dr
Katy, TX 77450


Epiphany Parish
Winnebago Council, Bsa 173
300 5th St Se
Mason City, IA 50401


Epiphany Parish Of Seattle
Chief Seattle Council 609
1805 38th Ave
Seattle, WA 98122


Epiphany Roman Catholic Church
Five Rivers Council, Inc 375
304 S Elmer Ave
Sayre, PA 18840


Epiphany Roman Catholic Church
Greater New York Councils, Bsa 640
239 E 21st St
New York, NY 10010


Epiphany Utd Methodist Church
Dan Beard Council, Bsa 438
6635 Loveland Miamiville Rd
Loveland, OH 45140


Epiq Discovery Solutions
2 Ravinia Dr, Ste 850
Atlanta, GA 30346
Epiq Discovery Solutions
Dept 0250
P.O. Box 120250
Dallas, TX 75312‐0250


Episcopal Church Of Messiah
Old N State Council 070
108 S 2nd Ave
Mayodan, NC 27027


Episcopal Church Of Our Saviour
North Florida Council 087
12236 Mandarin Rd
Jacksonville, FL 32223


Episcopal Church Of Reconciliation
Alamo Area Council 583
8900 Starcrest Dr
San Antonio, TX 78217


Episcopal Church Of Saint Martin
Golden Empire Council 047
640 Hawthorne Ln
Davis, CA 95616


Episcopal Church Of Saint Matthew
Catalina Council 011
9071 E Old Spanish Trl
Tucson, AZ 85710


Episcopal Church Of St John The Baptist
Grand Canyon Council 010
4102 W Union Hills Dr
Glendale, AZ 85308


Episcopal Church Of St Thomas
Narragansett 546
111 High St
Taunton, MA 02780


Episcopal Church Of The Advent
Palmetto Council 549
141 Advent St
Spartanburg, SC 29302


Episcopal Church Of The Advent
Tidewater Council 596
9629 Norfolk Ave
Norfolk, VA 23503


Episcopal Church Of The Ascension
Greater Tampa Bay Area 089
701 Orange Ave
Clearwater, FL 33756


Episcopal Church Of The Creator
Andrew Jackson Council 303
1445 Clinton Raymond Rd
Clinton, MS 39056


Episcopal Church Of The Epiphany
Capitol Area Council 564
P.O. Box 2
Burnet, TX 78611


Episcopal Church Of The Epiphany
Circle Ten Council 571
421 Custer Rd
Richardson, TX 75080


Episcopal Church Of The Epiphany
Evangeline Area 212
1103 S Union St
Opelousas, LA 70570


Episcopal Church Of The Good Shepherd
Middle Tennessee Council 560
1420 Wilson Pike
Brentwood, TN 37027


Episcopal Church Of The Good Shepherd
Middle Tennessee Council 560
P.O. Box 1867
1420 Wilson Pike
Brentwood, TN 37024


Episcopal Church Of The Good Shepherd
North Florida Council 087
1100 Stockton St
Jacksonville, FL 32204


Episcopal Church Of The Good Shepherd
Silicon Valley Monterey Bay 055
301 Corral De Tierra Rd
Salinas, CA 93908


Episcopal Church Of The Holy Cross
Chief Seattle Council 609
11526 162nd Ave Ne
Redmond, WA 98052


Episcopal Church Of The Holy Spirit
Mid‐America Council 326
1305 Thomas Dr
Bellevue, NE 68005


Episcopal Church Of The Holy Spirit
Sam Houston Area Council 576
12535 Perthshire Rd
Houston, TX 77024


Episcopal Church Of The Messiah
Baltimore Area Council 220
5801 Harford Rd
Baltimore, MD 21214


Episcopal Church Of The Messiah
Old N State Council 070
108 S 2nd St
Mayodan, NC 27027


Episcopal Church Of The Nativity
Grand Canyon Council 010
22405 N Miller Rd
Scottsdale, AZ 85255
Episcopal Church Of The Redeemer
Blue Mountain Council 604
241 SE 2nd St
Pendleton, OR 97801


Episcopal Church Of The Redeemer
Heart of Virginia Council 602
2341 Winterfield Rd
Midlothian, VA 23113


Episcopal Church Of The Resurrection
Capitol Area Council 564
2200 Justin Ln
Austin, TX 78757


Episcopal Church Of The Resurrection
Central Florida Council 083
251 E Lake Brantley Dr
Longwood, FL 32779


Episcopal Church Of The Resurrection
Inland Nwest Council 611
15319 E 8th Ave
Spokane Valley, WA 99037


Episcopal Church Of The Resurrection
Last Frontier Council 480
13112 N Rockwell Ave
Oklahoma City, OK 73142


Episcopal Church Of The Resurrection
Mt Diablo‐Silverado Council 023
399 Gregory Ln
Pleasant Hill, CA 94523


Episcopal Church Of The Resurrection
Theodore Roosevelt Council 386
147 Campbell Ave
Williston Park, NY 11596


Episcopal Church Of Transfiguration
National Capital Area Council 082
13925 New Hampshire Ave
Silver Spring, MD 20904


Episcopal Day School
Rio Grande Council 775
34 N Coria St
Brownsville, TX 78520


Episcopal Diocese Of West Virginia
c/o David Ramkey
1608 Virginia St E
Charleston, WV 25311


Episcopal Parrish Of St David
Northern Star Council 250
13000 Saint Davids Rd
Minnetonka, MN 55305


Episcopal School Of Knoxville
Great Smoky Mountain Council 557
950 Episcopal School Way
Knoxville, TN 37932


Eplers Utd Church Of Christ
Hawk Mountain Council 528
Rd 1
Leesport, PA 19533


Eplers Utd Church Of Christ Church
Hawk Mountain Council 528
W Leesport Rd Rd 1
Leesport, PA 19533


Epm Communications, Inc
19 W 21st St
New York, NY 10010


Epoch Dream Center
Del Mar Va 081
P.O. Box 218
Hebron, MD 21830
Epping Community Church
Daniel Webster Council, Bsa 330
4 Pleasant St
Epping, NH 03042


Epping Fire Dept
Daniel Webster Council, Bsa 330
37 Pleasant St
Epping, NH 03042


Epping Rural Fire Volunteer Dept
Northern Lights Council 429
402 2nd St
Epping, ND 58843


Epromos Promotional Products Inc
113 5th Ave S
St Cloud, MN 56301


Epsilon Lambda Charitable Foundation
Greater St Louis Area Council 312
P.O. Box 78662
3615 N 19th St
Saint Louis, MO 63178


Epstein   Fass Assoc
60 Cooper St, Ste 4G
New York, NY 10034‐3076


Epstein Educational Enterprises
7650 Elbrook Ave
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Epting Memorial Utd Methodist Church
Blue Ridge Council 551
1401 Milligan St
Newberry, SC 29108


Epworth Community Club
Northeast Georgia Council 101
P.O. Box 89
Epworth, GA 30541


Epworth Methodist Church
Baltimore Area Council 220
3317 Saint Lukes Ln
Baltimore, MD 21207


Epworth Methodist Church
Central N Carolina Council 416
1030 Burrage Rd Ne
Concord, NC 28025


Epworth Methodist Church
Mid Iowa Council 177
412 Euclid Ave
Des Moines, IA 50313


Epworth Utd Methodist
Coastal Carolina Council 550
1540 Camp Rd
Charleston, SC 29412


Epworth Utd Methodist Ch Fallon, Nv
Nevada Area Council 329
280 E Stillwater Ave
Fallon, Nv 89406


Epworth Utd Methodist Chapel
Baltimore Area Council 220
3317 Saint Lukes Ln
Baltimore, MD 21207


Epworth Utd Methodist Church
Atlanta Area Council 092
1561 Mclendon Ave Ne
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Epworth Utd Methodist Church
Blue Ridge Mtns Council 599
60 Merriman Way Rd
Moneta, VA 24121
Epworth Utd Methodist Church
Buckeye Council 436
249 E Center St
Marion, OH 43302


Epworth Utd Methodist Church
Buckskin 617
299 Church St N
Ripley, WV 25271


Epworth Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 1134
Jesup, GA 31598


Epworth Utd Methodist Church
Conquistador Council Bsa 413
1406 W Blodgett St
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Del Mar Va 081
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Epworth Utd Methodist Church
Erie Shores Council 460
4855 W Central Ave
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Epworth Utd Methodist Church
Greater Alabama Council 001
2102 Epworth Dr Ne
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Epworth Utd Methodist Church
Heart of Virginia Council 602
11 Epworth Rd
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Epworth Utd Methodist Church
Mid‐America Council 326
1222 5th Ave
Council Bluffs, IA 51501


Epworth Utd Methodist Church
Middle Tennessee Council 560
4340 Arno Rd
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Epworth Utd Methodist Church
Minsi Trails Council 502
3245 Oakland Rd
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Epworth Utd Methodist Church
Mt Diablo‐Silverado Council 023
1953 Hopkins St
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Epworth Utd Methodist Church
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Epworth Utd Methodist Church
Simon Kenton Council 441
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Epworth Utd Methodist Men
Alamo Area Council 583
5718 Pecan Valley Dr
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Equestrian Pointe Ward
Utah National Parks 591
370 N 4050 W
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Equian LLC
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Equipco Rentals
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Equipment Depot
P.O. Box 209004
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Equipment Depot
P.O. Box 974287
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Equipment Sales International LLC
3870 Elm St
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Equistar Irvine LLC
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18800 Macarthur Blvd
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Ernest Phillips American Legion Post 485
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Ernest Thomas Jr
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Erwin Presbyterian Church
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Erwin, TN 37650


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600 Denim Dr
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Escalade Sports
P.O. Box 663637
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Escali Digital Scales
3203 Corporate Ctr Dr, Ste 150
Burnsville, MN 55306


Escambia County Tax Collector
P.O. Box 1312
Pensacola, FL 32591


Escambria County Tax Collector
P.O. Box 1312
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Bay‐Lakes Council 635
4618 County 416 20th Rd
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Escape Hatch
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Escondido Moose Lodge 1874
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25721 Jesmond Dene Rd
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Escondido Sunrise Rotary
San Diego Imperial Council 049
P.O. Box 163
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Escot Bus Lines LLC
6890 142nd Ave N
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657 Calle Felipe R Goyco
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Escuela Belen Blanco De Zequeira
Puerto Rico Council 661
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Escuela De Guadalupe
Denver Area Council 061
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Escuela Parcelas Suarez
Puerto Rico Council 661
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Calle 48 SE 1258
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7435 Bradford Pear Dr
Irving, TX 75063


Esi/Employee Solutions, LP
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Plano, TX 75093


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Esp Properties LLC
14498 Collections Center Dr
Chicago, IL 60693


Esp Properties LLC
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Espanola Hospital
Dept 1584
Denver, CO 80291


Especially For You Florist     Gift Shop
39 W Main St
Freehold, NJ 07728
Esperanza Lutheran Church
Grand Canyon Council 010
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Bernsteins Fine Catering
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Northern New Jersey Council, Bsa 333
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Essex Parent Teacher Organization
The Spirit of Adventure 227
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Etss Wedgewood Middle School
Simon Kenton Council 441
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Columbus, OH 43228


Ettain Group Inc
P.O. Box 60070
Charlotte, NC 28260‐0070
Euclid Ave Utd Methodist Church
Muskingum Valley Council, Bsa 467
1324 Euclid Ave
Zanesville, OH 43701


Euclid Park Elementary School
Lake Erie Council 440
17914 Euclid Ave
Cleveland, OH 44112


Euclid Preparatory School
Lake Erie Council 440
23001 Euclid Ave
Euclid, OH 44117


Eudora Lions Club Foundation
Heart of America Council 307
P.O. Box 574
Eudora, KS 66025


Eudora Utd Methodist Church
Heart of America Council 307
2084 N 1300th Rd
Eudora, KS 66025


Euell A. Wilson Community Center
Anthony Wayne Area 157
1512 Oxford St
Fort Wayne, IN 46806


Euell Payne
Address Redacted


Eugene Dalbo
Address Redacted


Eugene Elks Lodge 357
Oregon Trail Council 697
P.O. Box 2475
Eugene, OR 97402
Eugene Field
Heart of America Council 307
720 S Tremont Ave
Ottawa, KS 66067


Eugene Field Elementary School
Last Frontier Council 480
1515 N Klein Ave
Oklahoma City, OK 73106


Eugene Field PTA Inc
Ozark Trails Council 306
2120 E Barataria St
Springfield, MO 65804


Eugene Foley
Address Redacted


Eugene Fox
Address Redacted


Eugene Glover
Address Redacted


Eugene Handon
Address Redacted


Eugene Hunyadi
Address Redacted


Eugene J Schnell
Address Redacted


Eugene Karr
Address Redacted


Eugene Lee
Address Redacted
Eugene Mochel
Address Redacted


Eugene Nall
Address Redacted


Eugene Richey
Address Redacted


Eugene Roche
Address Redacted


Eugene Smith
Address Redacted


Eugene Yacht Club
Oregon Trail Council 697
P.O. Box 2751
Eugene, OR 97402


Eugenia Chan
Address Redacted


Eugenia Grissom
Address Redacted


Eugenia Maria Grissom
Address Redacted


Eugenia Miller
Address Redacted


Euharlee Law Enforcement Explores
Northwest Georgia Council 100
30 Burges Mill Rd
Euharlee, GA 30145


Eula Sweeney
Address Redacted


Eulalia Borunda
Address Redacted


Euler Hermes Uma, Inc
600 S 7th St
Louisville, KY 40201‐1672


Eunice T Thixton
Address Redacted


Euper Lane Parent Teacher Assoc
Westark Area Council 016
6601 Euper Ln
Fort Smith, AR 72903


Eupora Lions Club
Pushmataha Area Council 691
P.O. Box 594
Eupora, MS 39744


Eureka Christian Church
c/o Bob Mcclure
W D Boyce 138
3100 N Knoxville Ave, Ste 219
Peoria, IL 61603


Eureka Elks Lodge 652
Crater Lake Council 491
445 Herrick Ave
Eureka, CA 95503


Eureka Utd Methodist Church
Greater St Louis Area Council 312
215 N Central Ave
Eureka, MO 63025


Eureka Utd Methodist Church
W D Boyce 138
208 N Callender St
Eureka, IL 61530


Eurest Dining Services
45 Center Dr, Msc 6130
Bethesda, MD 20892


Eurest Dining Services
P.O. Box 91337
Chicago, IL 60693‐1337


Eurest Dining Services Inc
c/o Linda Kehoe the Lodge/Welch Allyn
4355 State St Rd
Skaneateles Falls, NY 13153


Euro Rail
44 S Broadway
White Plains, NY 10601


Eurowest Inns Inc
dba the Essex Resort and Spa
70 Essex Way
Essex Junction, VT 05452


Eustis Elks Lodge 1578
Central Florida Council 083
P.O. Box 1660
Eustis, FL 32727


Eva Barfi
Address Redacted


Eva Casstevens American Legion Post 535
Greater St Louis Area Council 312
General Delivery
Beecher City, IL 62414


Eva Casstevens Legion Post 535
Greater St Louis Area Council 312
Rr 1
Beecher City, IL 62414
Eva L Little
Address Redacted


Eva M Estrella
Address Redacted


Eva M Lawson
Address Redacted


Eva Shoemaker
Address Redacted


Eva Smith
Address Redacted


Eva Stewart
Address Redacted


Evalon Benton
Address Redacted


Evaluation Systems Design Inc
5145 Pimlico Dr
Tallahassee, FL 32309


Evan C Glidewell
Address Redacted


Evan Chalmers
Address Redacted


Evan Clark
Address Redacted


Evan D Graney
Address Redacted
Evan Goodrich
Address Redacted


Evan Hansen
Address Redacted


Evan Hardy
Address Redacted


Evan J Swinehart
Address Redacted


Evan James Chidester
Address Redacted


Evan Knepp
Address Redacted


Evan Nyman
Address Redacted


Evan P Jones
Address Redacted


Evan P Kane
Address Redacted


Evan P Withrow
Address Redacted


Evan Page
Address Redacted


Evan Pollock
Address Redacted


Evan Sidney Smith
Address Redacted


Evan Sommerfeld
Address Redacted


Evan W Wilcox
Address Redacted


Evan Yaros
Address Redacted


Evan Yingst
Address Redacted


Evangel Utd Methodist Church
Gamehaven 299
2645 Broadway Ave N
Rochester, MN 55906


Evangel Utd Methodist Church
Jayhawk Area Council 197
227 Pennsylvania Ave
Holton, KS 66436


Evangelical Center Conf
18121 SE River Rd
Milwaukie, OR 97267


Evangelical Congregational Church
Mayflower Council 251
8 Church St
Westborough, MA 01581


Evangelical Covenant Church
Mid‐America Council 326
501 2nd St S
Albert City, IA 50510


Evangelical Covenant Church
Sagamore Council 162
3600 S 9th St
Lafayette, IN 47909


Evangelical Covenant Church Of Hinsdale
Pathway To Adventure 456
412 S Garfield St
Hinsdale, IL 60521


Evangelical Free Church
Great Rivers Council 653
600 Silvey St
Columbia, MO 65203


Evangelical Free Church
Longs Peak Council 062
611 Cody Ave
Alliance, NE 69301


Evangelical Lutheran Ch Of Living Word
Cradle of Liberty Council 525
1250 Eon Rd
Abington, PA 19001


Evangelical Lutheran Ch, Master
Lake Erie Council 440
860 Nfield Rd
Bedford, Oh 44146


Evangelical Lutheran Ch, Redeemer
Greater New York Councils, Bsa 640
9216 217Th St
Queens Village, Ny 11428


Evangelical Lutheran Ch, Resurrection
Seneca Waterways 397
3736 Saint Paul Blvd
Rochester, Ny 14617


Evangelical Lutheran Ch, Trinity
Cradle Of Liberty Council 525
2300 S 18Th St
Philadelphia, Pa 19145
Evangelical Lutheran Church
Gateway Area 624
115 N 5th St
Black River Falls, WI 54615


Evangelical Lutheran Church
Mason Dixon Council 221
43 S Church St
Waynesboro, PA 17268


Evangelical Lutheran Church Frederick
National Capital Area Council 082
31 E Church St
Frederick, MD 21701


Evangelical Lutheran Church Zion
National Capital Area Council 082
107 W Main St
Middletown, MD 21769


Evangelical Lutheran Education Assoc
500 N Estrella Pkwy, Suite B2 Box 601
Goodyear, AZ 85338


Evangelical Ucc
Greater St Louis Area Council 312
2406 Poplar St
Highland, IL 62249


Evangelical Utd Church Of Christ
Greater St Louis Area Council 312
1212 W Homer M Adams Pkwy
Godfrey, IL 62035


Evangelical Utd Lutheran Church
Cornhusker Council 324
5945 Fremont St
Lincoln, NE 68507


Evangelical Utd Methodist Church
Bucktail Council 509
30 S White St
Brookville, PA 15825


Evangelical Utd Methodist Church
Chief Cornplanter Council, Bsa 538
18 2nd St
Youngsville, PA 16371


Evangelical Utd Methodist Church
Garden State Council 690
14 W Cohawkin Rd
Clarksboro, NJ 08020


Evangeline Area
2266 S College Rd Ext
Lafayette, LA 70598‐0115


Evangeline Area Cncl 212
2266 S College Rd Ext, Ste E
Lafayette, LA 70508


Evangeline Area Council
2266 S College Rd Ext, Ste E
Lafayette, LA 70508


Evangeline Parish
Attn Sales/Use Tax Commission
115 S W Railroad
Ville Platte, LA 70586


Evangeline S Moore
Address Redacted


Evanna Tucker
Address Redacted


Evans Analytical Group, LLC
Dept La 22489
Pasadena, CA 91185‐2489
Evans Center Volunteer Fire Co
Greater Niagara Frontier Council 380
P.O. Box 193
8298 Erie Rd
Angola, NY 14006


Evans Center Volunteer Fire Co
Greater Niagara Frontier Council 380
8298 Erie Rd
Angola, NY 14006


Evans Elementary School
Buffalo Trace 156
2727 N Evans Ave
Evansville, IN 47711


Evans Harvey
Address Redacted


Evans Middle School
Ottumwa Public Schools
Mid Iowa Council 177
812 Chester Ave
Ottumwa, Ia 52501


Evans Plumbing Inc
dba Epi Construction Inc
23808 SW 30th Ave
Newberry, FL 32669


Evans School PTO
Bay‐Lakes Council 635
140 S Peters Ave
Fond Du Lac, WI 54935


Evans Sports, Inc
P.O. Box 130
Chapin, SC 29036


Evans Utd Methodist Church
Blackhawk Area 660
7605 N 2nd St
Loves Park, IL 61115


Evansburg Utd Methodist Church
Cradle of Liberty Council 525
3871 Germantown Pike
Collegeville, PA 19426


Evanston American Legion Post 42
Northeast Illinois 129
1030 Central St
Evanston, IL 60201


Evanston Fire Dept
Northeast Illinois 129
909 Lake St
Evanston, IL 60201


Evanston Lighthouse Rotary Club
Northeast Illinois 129
P.O. Box 445
Evanston, IL 60204


Evanston Police Dept
Northeast Illinois 129
1454 Elmwood Ave
Evanston, IL 60201


Evanston Sunrise Lions Club
Northeast Illinois 129
2925 Central St
Evanston, IL 60201


Evansville Fire Dept
Northern Lights Council 429
P.O. Box 367
Evansville, MN 56326


Evansville Lions Club
Glaciers Edge Council 620
239 W Liberty St
Evansville, WI 53536
Evart Utd Methodist Church
President Gerald R Ford 781
619 N Cherry St
Evart, MI 49631


Evelene Bridger
Address Redacted


Evelin Adams
Address Redacted


Evelina Tolentino
Address Redacted


Evelyn Adams
Address Redacted


Evelyn Clardy
Address Redacted


Evelyn Coley Puckett
Address Redacted


Evelyn Cowen
Address Redacted


Evelyn Decanio
Address Redacted


Evelyn Delazzaro
Address Redacted


Evelyn Graham
Address Redacted


Evelyn Houston
Address Redacted
Evelyn Kempinger
Address Redacted


Evelyn M Ramirez
Address Redacted


Evelyn Mckanna
Address Redacted


Evelyn Paschal
Address Redacted


Evelyn Payan Pantoja
Address Redacted


Evelyn Tucker
Address Redacted


Evelyn Unti
Address Redacted


Evelyn Walls
Address Redacted


Evelyn Wheelhouse
Address Redacted


Evelynn Harris
Address Redacted


Even Start Family Literacy Center
Glaciers Edge Council 620
717 Hackett St
Beloit, WI 53511


Evendale Carpet   Flooring
Juniata Valley Council 497
35626 Route 35 N
Cocolamus, PA 17014


Evendale Community Church
Dan Beard Council, Bsa 438
3270 Glendale Milford Rd
Cincinnati, OH 45241


Evening Optimist Club
Circle Ten Council 571
1103 N Washington Ave
Mount Pleasant, TX 75455


Evening Optimist Club Of Albuquerque
Great Swest Council 412
4016 Blue Ridge Pl Ne
Albuquerque, NM 87111


Evening Optimists
Great Swest Council 412
4016 Blue Ridge Pl Ne
Albuquerque, NM 87111


Evening Street PTA
Simon Kenton Council 441
885 Evening St
Worthington, OH 43085


Event Makers‐Usa Inc
P.O. Box 2176
Glen Allen, VA 23058


Event Print Store
1100 Valwood Pkwy, Ste 104
Carrollton, TX 75006


Event Production LLC
c/o David V Dodd
P.O. Box 2949
Charleston, WV 25330
Everbank Commercial Finance, Inc
10 Waterview Blvd
Parsippany, NJ 07054


Everbridge
155 N Lake Ave, Ste 900
Pasadena, CA 91101


Everbridge Inc
P.O. Box 740745
Los Angeles, CA 90074‐0745


Everbridge, Inc
500 N Brand Blvd, Ste 1000
Glendale, CA 91203


Everest Area Optimist Club
Samoset Council, Bsa 627
P.O. Box 103
Schofield, WI 54476


Everest Motivation Team Pte, Ltd
192 Pandan Loop
Pantech Business Hub, 04‐10
128381
Singapore


Everest Optimist
Samoset Council, Bsa 627
842 Ridgeland Ave
Club
Schofield, WI 54476


Everett Central Lions Club
Mount Baker Council, Bsa 606
P.O. Box 1243
Everett, WA 98206


Everett ‐Clc Lincoln
Cornhusker Council 324
1123 C St
Lincoln, NE 68502
Everett Collection Inc
570 Broad St, 9th Fl
Newark, NJ 07102


Everett Graviel
Address Redacted


Everett Hamby
Address Redacted


Everett School ‐ Ymca After School
The Spirit of Adventure 227
71 Pleasant St
Dorchester, MA 02125


Everett Sumner
Address Redacted


Everett Vincent
Address Redacted


Everett Young
Address Redacted


Everfi Inc
P.O. Box 200034
Pittsburgh, PA 15251‐0034


Everglades Community Assoc
South Florida Council 084
P.O. Box 343529
Rural Neighborhoods, Inc
Homestead, FL 33034


Everglades Community Church
South Florida Council 084
20871 Johnson St, Ste 101
Pembroke Pines, FL 33029
Evergreen Academy
Three Harbors Council 636
3554 Taylor Ave
Elmwood Park, WI 53405


Evergreen Baptist Church
Greater Los Angeles Area 033
1255 San Gabriel Blvd
Rosemead, CA 91770


Evergreen Church Of Macon
Central Georgia Council 096
5221 Nisbet Dr
Macon, GA 31206


Evergreen Church Of Peachtree City, Inc
Flint River Council 095
400 Windgate Rd
Peachtree City, GA 30269


Evergreen Construction Inc
955 E Sheridan
Ely, MN 55731


Evergreen Financial Services, Inc
P.O. Box 9073
1214 N 16th Ave
Yakima, WA 98909


Evergreen Lions
Montana Council 315
P.O. Box 5421
Kalispell, MT 59903


Evergreen Lutheran Church
Denver Area Council 061
5980 Hwy 73
Evergreen, CO 80439


Evergreen Presbyterian Church
Pacific Harbors Council, Bsa 612
10118 249th St E
Graham, WA 98338


Evergreen Utd Methodist
Occoneechee 421
11098 US 15 501 N
Chapel Hill, NC 27517


Evergreen Utd Methodist Church
Louisiana Purchase Council 213
P.O. Box 680
Bunkie, LA 71322


Everitt Middle School
Denver Area Council 061
3900 Kipling St
Wheat Ridge, CO 80033


Everman Utd Methodist Church
Longhorn Council 662
530 Townley Dr
Fort Worth, TX 76140


Everrett Prostrollo
Address Redacted


Eversoll Enterprises, Inc
813 Biscay Ln
Ft Collins, CO 80525


Everson Civic Club
Westmoreland Fayette 512
307 Graff St
Everson, PA 15631


Everson Lions Club
Mount Baker Council, Bsa 606
6574 Lawrence Rd
Everson, WA 98247


Eversource
247 Station Dr
Westwood, MA 02090


Eversource
P.O. Box 660369
Dallas, TX 75266‐0369


Everst M Banner
Address Redacted


Everton Elementary School PTO
Crossroads of America 160
2440 E Everton Rd
Connersville, IN 47331


Everton Vol Fire Dept
Crossroads of America 160
5495 S State Rd 1
Connersville, IN 47331


Everweigh Scale Industries, LLC
709 E Chelsea Dr
Pueblo W, Co 81007


Everyday Christian Fellowship
Alamo Area Council 583
950 N Main St
Cibolo, TX 78108


Everyone Loves Buttons Inc
20801 N 19th Ave, Ste 8
Phoenix, AZ 85027


Everywhere Communications Inc
30 W St
Annapolis, MD 21401


Evesham Police Dept
Garden State Council 690
984 Tuckerton Rd
Marlton, NJ 08053
Evesham Twp Fire Dept District 1
Garden State Council 690
125 E Main St
Marlton, NJ 08053


Evolution Models Talent Inc
3205 N Davidson St, 103
Charlotte, NC 28205


Evolution Talent Agency Inc
310 Arlington Ave, Ste 206
Charlotte, NC 28203


Evolve Sports   Designs
6769 8th St
Buena Park, CA 90620


E‐Volved Print    Packaging LLC
7370 Dogwood Park
Fort Worth, TX 76118


Evoqua Water Technologies, LLC
28563 Network Pl
Chicago, IL 60673‐1285


Evvie Atkinson
Address Redacted


Ewa Immaculate Conception Catholic Ch
Aloha Council, Bsa 104
91‐1298 Renton Rd
Ewa Beach, Hi 96706


Ex Officio, LLC
P.O. Box 915199
Dallas, TX 75391


Exalta Music
California Inland Empire Council 045
6946 Royal Crest Way
Fontana, CA 92336


Excalibur Youth Services
Blue Ridge Council 551
5321 Old Buncombe Rd
Travelers Rest, SC 29690


Excel Christian School
Nevada Area Council 329
850 Baring Blvd
Sparks, NV 89434


Excel Hobby Blades Corp
481 Getty Ave
Paterson, NJ 07503


Excel4Business, Inc
8 Orchard St
Auburn, NY 13021


Excela Health Latrobe
Westmoreland Fayette 512
1 Mellon Way
Latrobe, PA 15650


Exceptional Teens    Adults Learning Ctr
Lincoln Heritage Council 205
724 W Breckinridge St
Louisville, Ky 40203


Exchange Ambulance Of The Islips, Inc
Suffolk County Council Inc 404
P.O. Box 1
East Islip, NY 11730


Exchange Club
Chickasaw Council 558
33 Gaston Dr
Cleveland, MS 38732
Exchange Club
Pushmataha Area Council 691
P.O. Box 362
Columbus, MS 39703


Exchange Club Of Austin
Capitol Area Council 564
4211 Far W Blvd
Austin, TX 78731


Exchange Club Of Austin
Capitol Area Council 564
P.O. Box 684921
Austin, TX 78768


Exchange Club Of Columbus
Pushmataha Area Council 691
P.O. Box 8114
Columbus, MS 39705


Exchange Club Of Durham
Connecticut Rivers Council, Bsa 066
252 Main St
Durham, CT 06422


Exchange Club Of Farmington
Connecticut Rivers Council, Bsa 066
79 Main St
Farmington, CT 06032


Exchange Club Of Florence
Greater Alabama Council 001
P.O. Box 742
Florence, AL 35631


Exchange Club Of Fort Bend
Sam Houston Area Council 576
7002 Riverbrook Dr, Ste 900F
Sugar Land, TX 77479


Exchange Club Of Glastonbury
Connecticut Rivers Council, Bsa 066
111 Tall Timbers Ln
Glastonbury, CT 06033


Exchange Club Of Grayslake
Northeast Illinois 129
P.O. Box 113
Grayslake, IL 60030


Exchange Club Of Hollister
Silicon Valley Monterey Bay 055
P.O. Box 1240
Hollister, CA 95024


Exchange Club Of Irvine
Orange County Council 039
P.O. Box 4537
Irvine, CA 92616


Exchange Club Of Murphy Texas
Circle Ten Council 571
P.O. Box 1984
Wylie, TX 75098


Exchange Club Of Naperville
Three Fires Council 127
511 Aurora Ave, Unit 510
Naperville, IL 60540


Exchange Club Of Rapid City
Black Hills Area Council 695 695
302 Main St
Rapid City, SD 57701


Exchange Club Of Sugar Land
Sam Houston Area Council 576
4800 Sugar Grove Blvd, Ste 100
Stafford, TX 77477


Exchange Club/Elon Comm Church/College
Old N State Council 070
204 N Williamson Ave
Elon, NC 27244
Exchange New Car Sales
Military Car Sales
Transatlantic Council, Bsa 802
Westerbachstrasse 23
Kronberg, 61476
Germany


Exciting Events Inc
dba Fx In Motion
2020 S Calhoun Rd
New Berlin, WI 53151


Executive Charter Inc
1810 Monmouth St
Newport, KY 41071


Executive Edu Academy Charter Sch
Minsi Trails Council 502
555 Union Blvd, Ste 4
Allentown, Pa 18109


Executive Graphic Systems, LLC
994 N Colony Rd 184
Wallingford, CT 06492


Executive Imaging Supplies
20005 Tanager Ct
Santa Clarita, CA 91351


Executive Ink, LLC
P.O. Box 6277
Charleston, WV 25362


Exemplis LLC
25090 Network Pl
Chicago, IL 60673


Exemplis LLC
6415 Katella Ave
Cypress, CA 90630
Exerplay, Inc
P.O. Box 1160
Cedar Crest, NM 87008‐1160


Exeter Lions Club
Sequoia Council 027
P.O. Box 405
Exeter, CA 93221


Exeter Police Dept
Daniel Webster Council, Bsa 330
P.O. Box 127
Exeter, NH 03833


Exeter Volunteer Fire Dept 1
Narragansett 546
305 Ten Rod Rd
Exeter, RI 02822


Exfront Technologies
3850 W Nwest Hwy 4003
Dallas, TX 75220‐5231


Exhibit Assoc
4706 Memphis St
Dallas, TX 75207


Exhibits Etc
325 NE 2nd Ave, Ste 102
Delray Beach, FL 33444


Exide Technologies ‐ Denver
14800 E 35th Pl 600
Aurora, CO 80011


Exothermic Robotics
Chief Seattle Council 609
6906 237th Ave Ne
Redmond, WA 98053
Exotic Pet Birds Inc
Seneca Waterways 397
656 Ridge Rd
Webster, NY 14580


Expat Americans Growing Leaders In Excel
National Capital Area Council 082
Unit 3230 Box 351
Lima
Apo, Aa 34031


Expedited Hot Shots Co LLC
6308 Bay Lake Dr
Ft Worth, TX 76179


Expedition Films
1717 E Edgecliff Dr
Sandy, UT 84092


Experian Marketing Solutions Inc
dba Qas Ltd
P.O. Box 416021
Boston, MA 02241‐6021


Experience Based Learning Sys
Hc1‐124, 75 Ulua Rd
Kaunakakai, HI 96748


Experience Florida Inc
dba Access Destination Services
6881 Kingspointe Pkwy, Ste 2
Orlando, FL 32819


Experienced Solar, LLC
P.O. Box 53151
Albuquerque, NM 87153


Experient
1888 N Market St
Frederick, MD 21701
Experiential Resources Inc
P.O. Box 4307
Louisville, KY 40204


Experiential Systems, Inc
P.O. Box 188
Lansing, IL 60438


Experimental Aircraft Assoc
Greater St Louis Area Council 312
P.O. Box 3086
Oshkosh, WI 54903


Experimental Aircraft Assoc Chapter 44
Seneca Waterways 397
44 Eisenhauer Dr
Brockport, NY 14420


Experimental Aircraft Assoc Chapter 898
Jersey Shore Council 341
373 N Main St
Barnegat, NJ 08005


Explorador Urbano Inc
Puerto Rico Council 661
46 Calle Duarte
Mayaguez, PR 00682


Explore Risd Risd Academy
Circle Ten Council 571
701 W Belt Line Rd
Richardson, TX 75080


Explorer Post 0708
Longhouse Council 373
46735 Interstate Rt 81
Alexandria Bay, NY 13607


Explorer Post 109 Inc
The Spirit of Adventure 227
207 Shurtleff St
Chelsea, MA 02150


Explorer Post 140
Nevada Area Council 329
472‐400 Diamond Crest Rd
Susanville, CA 96130


Explorer Post 2704
c/o Claudia Canizalez Custom
Border Protection
301 E Ocean Blvd, Ste 1400
Long Beach, CA 90802


Explorer Post 511 Ftw Pd
c/o Rebecca Woodward
511 W Felix St
Fort Worth, TX 76115


Explorer Post 609
Chesterfield County Police Dept
P.O. Box 148
Chesterfield, VA 23832


Explorer Post 911
570 W Forlines Rd
Winterville, NC 28570


Explorers Club
46 E 70th St
New York, NY 10021


Express Aviation
33788 US Hwy 64‐87
Raton, NM 87740


Express Courier Of Ny, Inc
Carolina Express Courier Systems
P.O. Box 78482
Charlotte, NC 28271


Express Jet Airlines Inc
700 N Sam Houston Pkwy W, Ste 200
Houston, TX 77067


Express St James Hotel
617 S Collison Ave
Cimarron, NM 87714


Express Toll
E‐470 Public Hwy Authority
P.O. Box 5470
Denver, CO 80217‐5470


Express U U Bar Ranches
1115 Hwy 21
Cimarron, NM 87714


Express Uu Bar Ranch LLC ‐ S Corp
1115 Nm‐21
Cimarron, NM 87714


Express Uubar Ranches
1115 State Rd 21
Cimarron, NM 87714


Extended School Program
Northern Lights Council 429
128 Soo Line Dr, Ste 102
Bismarck, ND 58501


Extensis Corp
1800 SW 1st Ave, Ste 500
Portland, OR 97201


Exton Community Baptist Church
Chester County Council 539
114 E Swedesford Rd
Exton, PA 19341


Exton Utd Methodist Church
Chester County Council 539
181 Sharp Ln
Exton, PA 19341


Extraordinary Abilities LLC
Sam Houston Area Council 576
5109 E 5th St
Katy, TX 77493


Exxel Outdoors LLC
6235 Lookout Rd, Ste B
Boulder, CO 80301


Exxel Outdoors LLC
P.O. Box 52572
Phoenix, AZ 85072‐2572


Exxon Mobil Corp
Sam Houston Area Council 576
22777 Springwoods Village
Houston, TX 77027


Exxonmobil
P.O. Box 6404
Sioux Falls, SD 57117‐6404


Exxonmobil
P.O. Box 78001
Phoenix, AZ 85062‐8001


Exxonmobile
For Secured Card Only
Dfw Area, TX 75038


Eye Assoc Of New Mexico
P.O. Box 90550
Albuquerque, NM 87199‐0550


Eye On You Photography Corp LLC
Crossroads of America 160
635 N State St
Greenfield, IN 46140
Eye Think
312 Poplar Ave
Santa Cruz, CA 95062


Eyre Bus Service Inc
P.O. Box 239
13600 Triadelphia Rd
Glenelg, MD 21737


Eythan Franklin
Address Redacted


Ezekiel Hudson
Address Redacted


Ezekiel Lutheran Church
Northern Star Council 250
202 S 2nd St
River Falls, WI 54022


Ezell Harding Christian School
Middle Tennessee Council 560
574 Bell Rd
Antioch, TN 37013


Ezra Millard Elementary School PTO
Mid‐America Council 326
14111 Blondo St
Omaha, NE 68164


F   Am Lodge 393
Longhouse Council 373
205 Mcginnis Rd
Waddington, NY 13694


F   M Hat Co Inc
103 Walnut St
P.O. Box 40
Denver, PA 17517‐0040
F Anderson
Address Redacted


F Blaine Kuhn
Address Redacted


F Claudine Mckibben
Address Redacted


F E Sportswear Inc
1230 Newell Pkwy
Montgomery, AL 36110


F G Lindsey School PTA
Westchester Putnam 388
Trolley Rd
Montrose, NY 10548


F M George Safe   Lock Co
622 N Central Ave
Knoxville, TN 37927


F P Tillman PTO
Greater St Louis Area Council 312
230 Quan Ave
Saint Louis, MO 63122


F S Ervin Elementary
Tukabatchee Area Council 005
500 Leroy Randolph Rd
Pine Hill, AL 36769


F. W. Thompson Masonic Lodge
The Spirit of Adventure 227
25 Great Rd
Bedford, MA 01730


F.J. Sciame Construction Co Inc
Greater New York Councils, Bsa 640
14 Wall St Fl 2
New York, NY 10005
F.O.E. Eagles 2711
Greater Wyoming Council 638
210 W 3rd St
Gillette, WY 82716


Fabcon LLC
12520 Quentin Ave S, Ste 200
Savage, MN 55378


Fabian Lopez
Address Redacted


Fabian Vazquez‐Riley
Address Redacted


Fabiola De Castro Balbina
Address Redacted


Fabric Depot Inc
700 S E 122Nd
Portland, OR 97233


Fabricators Inc
P.O. Box 432143
Big Pine Key, FL 33043


Fabtech LLC
P.O. Box 764
Prosperity, WV 25909‐0487


Facebook Inc
Accounts Receivable
15161 Collections Center Dr
Chicago, IL 60693


Facebooklicious
5000 Sunnyside Ave, Ste 104
Beltsville, MD 20904
Facilitech, Inc
P.O. Box 602943
Charlotte, NC 28260‐2943


Facility Solutions Group
P.O. Box 952143
Dallas, TX 75395‐2143


Facility Solutions Group
P.O. Box 971492
Dallas, TX 75397‐1492


Fackrell Holdings
Utah National Parks 591
1365 N 1250 S
Orem, UT 84058


Factoryville Utd Methodist Church
Northeastern Pennsylvania Council 501
162 College Ave
P.O. Box 355
Factoryville, PA 18419


Faegre Drinker Biddle   Reath Llp
Attn Jay Jaffe
600 E. 96th St, Ste 600
Indianapolis, IN 46240


Faegre Drinker Biddle   Reath Llp
Attn Patrick A. Johnson
222 Delaware Ave, Ste 1410
Wilmington, DE 19801‐1621


Faholo Christian Conference Ctr
Paul Weber
3000 Mt. Hope Rd
Grass Lake, MI 49240‐9551


Fair Grove Methodist Church
Old N State Council 070
138 Fairgrove Church Rd
Thomasville, NC 27360


Fair Haven Council Of Churches
c/o Methodist Church
Green Mountain 592
West Park Pl
Fair Haven, VT 05743


Fair Haven Police Dept
Monmouth Council, Bsa 347
35 Fisk St
Fair Haven, NJ 07704


Fair Hill Environmental Foundation, Inc
Del Mar Va 081
630 Tawes Dr
Elkton, MD 21921


Fair Lawn Police Dept
Northern New Jersey Council, Bsa 333
8‐01 Fair Lawn Ave
Fair Lawn, NJ 07410


Fair Lawn Rescue Assoc
Northern New Jersey Council, Bsa 333
P.O. Box 239
Fair Lawn, NJ 07410


Fair Oaks Utd Methodist Church
Golden Empire Council 047
9849 Fair Oaks Blvd
Fair Oaks, CA 95628


Fair Play Camp School Incorporated
Blue Ridge Council 551
347 Wilderness Trl
Westminster, SC 29693


Fair View Umc   Centre Presbyterian
Piedmont Council 420
P.O. Box 27
Mount Mourne, NC 28123
Fair View Utd Methodist
Centre Presbyterian Churches
Piedmont Council 420
P.O. Box 27
Mount Mourne, Nc 28123


Fairbanks Elks Lodge 1551
Midnight Sun Council 696
1003 Pioneer Rd
Fairbanks, AK 99701


Fairbanks Host Lions Club
Midnight Sun Council 696
P.O. Box 71908
Fairbanks, AK 99707


Fairbanks N Star Borough Sch Distr
Midnight Sun Council 696
520 5Th Ave
Fairbanks, Ak 99701


Fairbanks Scales, Inc
P.O. Box 802796
Kansas City, MO 64180‐2796


Fairbanks Utd Methodist Church
Sam Houston Area Council 576
14210 Aston St
Houston, TX 77040


Fairbrae Swim And Tennis
Silicon Valley Monterey Bay 055
696 Sheraton Dr
Sunnyvale, CA 94087


Fairbrook Elem Sch Parent‐Teacher Org
Tecumseh 439
260 N Fairfield Rd
Beavercreek, Oh 45430
Fairbury Elks Lodge
Cornhusker Council 324
525 G St
Fairbury, NE 68352


Fairchance V F D
Westmoreland Fayette 512
31 Pittsburgh St
Fairchance, PA 15436


Fairchild Chiefs Group
Inland Nwest Council 611
610 N Depot Ave
Scout Hut, Bldg 2447C
Fairchild Afb, WA 99011


Faircon Service Co
764 Vandalia St
St Paul, MN 55114


Faircount LLC
701 N Wshore Blvd
Tampa, FL 33609


Fairdale Elementary
Buckskin 617
P.O. Box 10
722 Bolt Rd
Fairdale, WV 25839


Fairdale Elementary School
Lincoln Heritage Council 205
10104 Mitchell Hill Rd
Fairdale, KY 40118


Fairdale Fire Dept
Lincoln Heritage Council 205
10015 Mitchell Hill Rd
Fairdale, KY 40118


Fairdale High School
Lincoln Heritage Council 205
1001 Fairdale Rd
Fairdale, KY 40118


Fairfax US Inc
2850 Lake Vista Dr, Ste 150
Lewisville, TX 75067


Fairfax Club Estates Homeowners Assoc
National Capital Area Council 082
P.O. Box 10133
Fairfax, VA 22038


Fairfax County Fire And Rescue Dept
National Capital Area Council 082
12099 Government Center Pkwy
Fairfax, VA 22035


Fairfax County Police Dept
c/o Mirchelle Enright
4900 Stonecroft Blvd
Chantilly, VA 20151


Fairfax First Baptist Church
Chattahoochee Council 091
510 Denson St
Valley, AL 36854


Fairfax Gen District Court‐Traffic
P.O. Box 10157
Fairfax, VA 22038‐8057


Fairfax Utd Lacrosse, Inc
Green Mountain 592
P.O. Box 381
31 Lyons Rd
Fairfax, VT 05454


Fairfax Utd Methodist Church
National Capital Area Council 082
10300 Stratford Ave
Fairfax, VA 22030
Fairfax Utd Methodist Men
National Capital Area Council 082
10300 Stratford Ave
Fairfax, VA 22030


Fairfax Utd Methodist Men
Pony Express Council 311
305 N Broadway St
Fairfax, MO 64446


Fairfax Villa
Cavalier Woods Civic Assoc
C/O Tammy Harper
National Capital Area Council 082
4223 San Carlos Dr
Fairfax, Va 22030


Fairfield Baptist Church
Atlanta Area Council 092
6133 Redan Rd
Lithonia, GA 30058


Fairfield Central Ptc
Dan Beard Council, Bsa 438
5058 Dixie Hwy
Fairfield, OH 45014


Fairfield City School System
Greater Alabama Council 001
6405 Ave D
Fairfield, AL 35064


Fairfield Community Club
Overland Trails 322
P.O. Box 3
Fairfield, NE 68938


Fairfield Community Service Club
Overland Trails 322
P.O. Box 3
Fairfield, NE 68938
Fairfield East Ptc
Dan Beard Council, Bsa 438
6711 Morris Rd
Fairfield E
Hamilton, OH 45011


Fairfield Elementary School PTO
Simon Kenton Council 441
13000 Coventry Ave
Pickerington, OH 43147


Fairfield Firefighters
Mt Diablo‐Silverado Council 023
1200 Kentucky St
Fairfield, CA 94533


Fairfield First Utd Methodist Church
Longhorn Council 662
201 N Mount St
Fairfield, TX 75840


Fairfield Host Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 126
Fairfield, CA 94533


Fairfield Inn
2300 Centre Ave Se
Albuquerque, NM 87106


Fairfield Inn By Marriott
125 Hylton Ln
Beckley, WV 25801


Fairfield Inn Las Cruces
Attn Manager
2101 Summit Ct
Las Cruces, NM 88011


Fairfield Kiwanis Club
Atlanta Area Council 092
9047 Woodlake Ln
Villa Rica, GA 30180


Fairfield Knights Of Columbus
Northern New Jersey Council, Bsa 333
420 US Hwy 46
Fairfield, NJ 07004


Fairfield Lions Club
New Birth of Freedom 544
4 Field Trl
Fairfield, PA 17320


Fairfield Moose Family Ctr
Mt Diablo‐Silverado Council 023
P.O. Box 63
Fairfield, CA 94533


Fairfield Park   Rec Dept
Holland Hill Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Park   Rec Dept
Jennings School
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Park   Rec Dept
N Stratfield Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Park    Rec Dept
Roger Sherman Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824
Fairfield Park   Rec Dept‐Burr School
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, CT 06824


Fairfield Park   Rec Dept‐Mill Hill Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Park   Rec Dept‐Riverfield Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Park   Rec Dept‐Stratfield Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Park/Rec Dept‐Osborn Hill Sch
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, Ct 06824


Fairfield Parks   Recreation Dept
Connecticut Yankee Council Bsa 072
75 Mill Plain Rd
Fairfield, CT 06824


Fairfield Presbyterian Church
Heart of Virginia Council 602
6930 Cold Harbor Rd
Mechanicsville, VA 23111


Fairfield PTA
Norwela Council 215
6215 Fairfield Ave
Shreveport, LA 71106


Fairfield School PTO
Oregon Trail Council 697
3455 Royal Ave
Eugene, OR 97402


Fairfield Township Fire Dept
Dan Beard Council, Bsa 438
6048 Morris Rd
Hamilton, OH 45011


Fairfield University
Attn Office of the Bursar
P.O. Box 320455
Fairfield, CT 06825


Fairfield Utd Methodist Church
Pine Tree Council 218
37 Skowhegan Rd
P.O. Box 313
Fairfield, ME 04937


Fairhaven Methodist Church
Sam Houston Area Council 576
1330 Gessner Rd
Houston, TX 77055


Fairhaven Utd Methodist Church
National Capital Area Council 082
12801 Darnestown Rd
Gaithersburg, MD 20878


Fairhill School PTA
National Capital Area Council 082
3001 Chichester Ln
Fairfax, VA 22031


Fairhope Methodist Mens Ministry
Mobile Area Council‐Bsa 004
155 S Section St
Fairhope, AL 36532


Fairhope Utd Methodist Church
Mobile Area Council‐Bsa 004
155 S Section St
Fairhope, AL 36532


Fairhope Utd Methodist Mens Club
Mobile Area Council‐Bsa 004
155 S Section St
Fairhope, AL 36532


Fairhope Volunteer Fire Dept
Mobile Area Council‐Bsa 004
P.O. Box 1218
Fairhope, AL 36533


Fairlawn Lutheran Church
Great Trail 433
3415 W Market St
Fairlawn, OH 44333


Fairlawn Utd Methodist Church
Buffalo Trace 156
2001 S Parker Dr
Evansville, IN 47714


Fairleigh Dickinson University
Attn Meredith Wright
Office of Enrollement Servs
1000 River Rd Tkb1‐05
Teaneck, NJ 07666


Fairlington Umc Mens Club
National Capital Area Council 082
3900 King St
Alexandria, VA 22302


Fairmeadows Parent Faculty Club
Mid Iowa Council 177
217 S 27th St
West Des Moines, IA 50265


Fairmont Presbyterian Church
Miami Valley Council, Bsa 444
3705 Far Hills Ave
Kettering, OH 45429
Fairmont Private School
Orange County Council 039
1557 W Mable St
Anaheim, CA 92802


Fairmont‐Hahntown Vfd
Westmoreland Fayette 512
890 Rose St
N Huntingdon, PA 15642


Fairmount First Umc
Northwest Georgia Council 100
121 Calhoun St
Fairmount, GA 30139


Fairmount Kiwanis Club
Northwest Georgia Council 100
12028 Fairmount Hwy Se
Fairmount, GA 30139


Fairmount Kiwanis Club
Northwest Georgia Council 100
P.O. Box 8
Fairmount, GA 30139


Fairmount Utd Methodist Church
Crossroads of America 160
301 S Walnut St
Fairmount, IN 46928


Fairpoint Communications
P.O. Box 1
Worcester, MA 01654‐0001


Fairport Baptist Home
Seneca Waterways 397
4646 Nine Mile Point Rd
Fairport, NY 14450


Fairport Central PTA
Seneca Waterways 397
303 Jefferson Ave
Fairport, NY 14450


Fairport Lions Club
Seneca Waterways 397
103 Blackwatch Trl
Fairport, NY 14450


Fairport Utd Methodist Church
Seneca Waterways 397
31 W Church St
Fairport, NY 14450


Fairview Baptist Church
Daniel Boone Council 414
P.O. Box 1339
Fairview, NC 28730


Fairview Baptist Church
Heart of America Council 307
9551 NE State Route Bb
Butler, MO 64730


Fairview Baptist Church
National Capital Area Council 082
900 Charlotte St
Fredericksburg, VA 22401


Fairview Baptist‐Speedwell Presb
Old N State Council 070
862 Iron Works Rd
Reidsville, NC 27320


Fairview Boys And Girls Club
Middle Tennessee Council 560
1814 Fairview Blvd
Fairview, TN 37062


Fairview Christian Church
Heart of America Council 307
1800 NE 65th St
Kansas City, MO 64118


Fairview Elementary
Greater St Louis Area Council 312
8888 Clifton Ave
Saint Louis, MO 63136


Fairview Elementary School P T O
French Creek Council 532
7460 Mccray Rd
Fairview, PA 16415


Fairview Elementary School PTA
Mid‐America Council 326
14110 Tregaron Dr
Bellevue, NE 68123


Fairview Elementary School PTA
National Capital Area Council 082
5815 Ox Rd
Fairfax Station, VA 22039


Fairview Fire Co
Hudson Valley Council 374
258 Violet Ave
Poughkeepsie, NY 12601


Fairview Grange 1351
Laurel Highlands Council 527
6270 Tuscarawas Rd
Beaver, PA 15009


Fairview High School Ajrotc
Middle Tennessee Council 560
2595 Fairview Blvd
Fairview, TN 37062


Fairview Home    School Assoc
Northern New Jersey Council, Bsa 333
376 Berkeley Ave
Bloomfield, NJ 07003
Fairview Lake Ymca
Patriots Path Council 358
1035 Fairview Lake Rd
Newton, NJ 07860


Fairview Methodist Church
Caddo Area Council 584
1524 Laurel St
Texarkana, AR 71854


Fairview Parent Teachers Organization
Monmouth Council, Bsa 347
230 Cooper Rd
Fairview School
Red Bank, NJ 07701


Fairview Parents Teachers Organization
Monmouth Council, Bsa 347
230 Cooper Rd
Red Bank, NJ 07701


Fairview Park Utd Methodist Church
Lake Erie Council 440
22420 Lorain Rd
Fairview Park, OH 44126


Fairview Presbyterian Church
Northeast Georgia Council 101
857 Duluth Hwy
Lawrenceville, GA 30043


Fairview Primary Ptso
Greater St Louis Area Council 312
7047 Emma Ave
Saint Louis, MO 63136


Fairview PTO
Heart of America Council 307
600 N Marion St
Olathe, KS 66061
Fairview School
Laurel Highlands Council 527
Western Beaver
School Dist
Midland, PA 15059


Fairview School PTA
Great Rivers Council 653
909 S Fairview Rd
Columbia, MO 65203


Fairview School PTO
Northeast Georgia Council 101
2925 Cannon Bridge Rd
Demorest, GA 30535


Fairview School PTO
Pathway To Adventure 456
300 N Fairview Ave
Mount Prospect, IL 60056


Fairview Scouters Inc
Cimarron Council 474
202 N Main St
Fairview, OK 73737


Fairview Search Group, LLC
5950 Fairview Rd, Ste 300
Charlotte, NC 28210


Fairview Utd Methodist Church
Baden‐Powell Council 368
254 Robinson St
Binghamton, NY 13904


Fairview Utd Methodist Church
Old Hickory Council 427
3692 Quaker Church Rd
Pinnacle, NC 27043


Fairview‐Oneal Junior Fire Explorers
Blue Ridge Council 551
149 Seibert Rd
Prosperity, SC 29127


Fairway   Greene Ltd
P.O. Box 18168
Bridgeport, CT 06601‐2968


Fairway And Green Ltd
P.O. Box 73
Brattleboro, VT 05302‐0073


Fairway Manor
600 Clubhouse Dr
Patchogue, NY 11772


Fairwind Sailing LLC
P.O. Box 1906
Islamorada, FL 33036


Fairwood Elementary PTO
Dan Beard Council, Bsa 438
281 N Fair Ave
Hamilton, OH 45011


Fairwood Financial Services
Chief Seattle Council 609
Fairwood Plaza, Ste 208
14410 SE Petrovitsky Rd
Renton, WA 98058


Fairwood Utd Methodist Church
Chief Seattle Council 609
15255 SE Fairwood Blvd
Renton, WA 98058


Faisal Abbas Rajani
Address Redacted


Faisal Ahmed
Address Redacted
Faisal Rajani
Address Redacted


Faison K‐12
Laurel Highlands Council 527
7430 Tioga St
Pittsburgh, PA 15208


Faison Utd Methodist Church
Tuscarora Council 424
P.O. Box 417
Faison, NC 28341


Faith Always Wins Foundation Inc
Heart of America Council 307
16671 Orchard Ln
Stilwell, KS 66085


Faith Assembly Of Belleville
Great Lakes Fsc 272
894 E Huron River Dr
Belleville, MI 48111


Faith Baptist Church
Anthony Wayne Area 157
6600 Trier Rd
Fort Wayne, IN 46815


Faith Baptist Church
Blue Grass Council 204
116 Pocahontas Trl
Georgetown, KY 40324


Faith Baptist Church
Central Georgia Council 096
232 Ga Hwy 126
Cochran, GA 31014


Faith Baptist Church
Connecticut Rivers Council, Bsa 066
182 Broadbrook Rd
Enfield, CT 06082


Faith Baptist Church
Flint River Council 095
346 Hwy 138 E
Stockbridge, GA 30281


Faith Bible Chapel International
Denver Area Council 061
6210 Ward Rd
Arvada, CO 80004


Faith Bible Church
Circle Ten Council 571
1437 W Pleasant Run Rd
Desoto, TX 75115


Faith Bible Church Cma
Central Florida Council 083
3015 Howland Blvd
Deltona, FL 32725


Faith Christian Church
Great Alaska Council 610
4240 Wisconsin St
Anchorage, AK 99517


Faith Christian Church
Las Vegas Area Council 328
1100 Buchanan Blvd
Boulder City, NV 89005


Faith Christian Church
Mid‐America Council 326
2201 S 132nd St
Omaha, NE 68144


Faith Christian Church
Quivira Council, Bsa 198
2110 W 45th St S
Wichita, KS 67217
Faith Christian Church‐Bh
Mid‐America Council 326
2201 S 132nd St
Omaha, NE 68144


Faith Community Baptist Church
Heart of Virginia Council 602
1903 Cool Ln
Richmond, VA 23223


Faith Community Church
Laurel Highlands Council 527
341 Jefferson St
Rochester, PA 15074


Faith Community Church
Mid Iowa Council 177
807 N 3rd St
Eddyville, IA 52553


Faith Community Church
North Florida Council 087
3450 County Rd 210 W
Saint Johns, FL 32259


Faith Community Church
Old N State Council 070
417 Arlington St
Greensboro, NC 27406


Faith Community Endowment
Central N Carolina Council 416
P.O. Box 551
Faith, NC 28041


Faith Community Utd Methodist Church
Baltimore Area Council 220
5315 Harford Rd
Baltimore, MD 21214


Faith Community Utd Methodist Church
Bay‐Lakes Council 635
N1966 Julius Dr
Greenville, WI 54942


Faith Community Utd Methodist Church
Dan Beard Council, Bsa 438
4310 Richardson Rd
Independence, KY 41051


Faith Community Utd Methodist Church
Dan Beard Council, Bsa 438
8230 Cox Rd
West Chester, OH 45069


Faith Community Utd Methodist Church
Jersey Shore Council 341
526 Atlantic City Blvd
Bayville, NJ 08721


Faith Community Utd Methodist Church
Tecumseh 439
100 Country Club Dr
Xenia, OH 45385


Faith Covenant Church
Great Lakes Fsc 272
35415 W 14 Mile Rd
Farmington Hills, MI 48331


Faith Covenant Church
Pacific Harbors Council, Bsa 612
1915 Washington St
Sumner, WA 98390


Faith Creek Utd Methodist Church
Flint River Council 095
2331 Hwy 29 N
Newnan, GA 30265


Faith Cumberland Presbyterian Church
Chickasaw Council 558
3427 Appling Rd
Bartlett, TN 38133


Faith Denis
Address Redacted


Faith E Kenneke
Address Redacted


Faith Evangelical Congregational Church
Pennsylvania Dutch Council 524
2124 Old Philadelphia Pike
Lancaster, PA 17602


Faith Evangelical Lutheran Church
Central Florida Council 083
509 E Pennsylvania Ave
Deland, FL 32724


Faith Evangelical Lutheran Church
Chief Seattle Council 609
9041 166th Ave Ne
Redmond, WA 98052


Faith Evangelical Lutheran Church
Gamehaven 299
648 E 5th St
Saint Charles, MN 55972


Faith Evangelical Lutheran Church
Minsi Trails Council 502
3355 Macarthur Rd
Whitehall, PA 18052


Faith Family Education Foundation
Circle Ten Council 571
1608 Osprey Dr
Desoto, TX 75115


Faith Fellowship Assembly Of God
Narragansett 546
260 Victory Hwy
West Greenwich, RI 02817


Faith Harbor Utd Methodist Church
Cape Fear Council 425
P.O. Box 2713
Surf City, NC 28445


Faith Immanuel Presbyterian Church
New Birth of Freedom 544
1801 Colonial Rd
Harrisburg, PA 17112


Faith In Christ Fellowship
Bay‐Lakes Council 635
101 Oakridge Dr
Marquette, MI 49855


Faith In Christ Lutheran Church
Tecumseh 439
1603 Moorefield Rd
Springfield, OH 45503


Faith Legacy Church
Golden Empire Council 047
3532 Whitney Ave
Sacramento, CA 95821


Faith Lilac Way Lutheran Church
Northern Star Council 250
5530 42nd Ave N
Robbinsdale, MN 55422


Faith Lutheran
Capitol Area Council 564
6600 Woodrow Ave
Austin, TX 78757


Faith Lutheran Church
Blue Grass Council 204
1000 Tates Creek Rd
Lexington, KY 40502
Faith Lutheran Church
Buckeye Council 436
107 6th St Sw
Massillon, OH 44647


Faith Lutheran Church
Cascade Pacific Council 492
930 Queen Ave Sw
Albany, OR 97321


Faith Lutheran Church
Central Florida Council 083
2010 W Granada Blvd
Ormond Beach, FL 32174


Faith Lutheran Church
Central Florida Council 083
280 E Merritt Ave
Merritt Island, FL 32953


Faith Lutheran Church
Chippewa Valley Council 637
733 Woodward Ave
Chippewa Falls, WI 54729


Faith Lutheran Church
Circle Ten Council 571
2200 SW 3rd St
Grand Prairie, TX 75051


Faith Lutheran Church
French Creek Council 532
5414 E Lake Rd
Erie, PA 16511


Faith Lutheran Church
Glaciers Edge Council 620
1305 Blackhawk Blvd
South Beloit, IL 61080


Faith Lutheran Church
Golden Empire Council 047
22601 State Hwy 88
Pioneer, CA 95666


Faith Lutheran Church
Golden Empire Council 047
667 E 1st Ave
Chico, CA 95926


Faith Lutheran Church
Great Lakes Fsc 272
50600 Shelby Rd
Shelby Township, MI 48317


Faith Lutheran Church
Great Rivers Council 653
2027 Industrial Dr
Jefferson City, MO 65109


Faith Lutheran Church
Great Swest Council 412
10000 Spain Rd Ne
Albuquerque, NM 87111


Faith Lutheran Church
Great Trail 433
2726 W Market St
Fairlawn, OH 44333


Faith Lutheran Church
Greater Los Angeles Area 033
9920 Mills Ave
Whittier, CA 90604


Faith Lutheran Church
Greater Yosemite Council 059
P.O. Box 488
Murphys, CA 95247


Faith Lutheran Church
Hawkeye Area Council 172
155 Boyson Rd
Marion, IA 52302


Faith Lutheran Church
Indian Nations Council 488
9222 N Garnett Rd
Owasso, OK 74055


Faith Lutheran Church
Indian Waters Council 553
1717 Platt Springs Rd R
West Columbia, SC 29169


Faith Lutheran Church
Longhorn Council 662
6000 Morriss Rd
Flower Mound, TX 75028


Faith Lutheran Church
Mid Iowa Council 177
10395 University Ave
Clive, IA 50325


Faith Lutheran Church
Minsi Trails Council 502
2012 Sullivan Trl
Easton, PA 18040


Faith Lutheran Church
Montana Council 315
406 5th Ave Sw
Ronan, MT 59864


Faith Lutheran Church
Northern Star Council 250
1115 Hanson Blvd Nw
Coon Rapids, MN 55433


Faith Lutheran Church
Orange County Council 039
2219 W Orange Ave
Anaheim, CA 92804
Faith Lutheran Church
Patriots Path Council 358
381 S Branch Rd
Hillsborough, NJ 08844


Faith Lutheran Church
President Gerald R Ford 781
2740 Fuller Ave Ne
Grand Rapids, MI 49505


Faith Lutheran Church
Samoset Council, Bsa 627
207 S Cherry Ave
Marshfield, WI 54449


Faith Lutheran Church
Samoset Council, Bsa 627
P.O. Box 6
Rosholt, WI 54473


Faith Lutheran Church
Sequoyah Council 713
2909 Weaver Pike
Bristol, TN 37620


Faith Lutheran Church
Southwest Florida Council 088
705 Leeland Heights Blvd
Lehigh Acres, FL 33972


Faith Lutheran Church
Susquehanna Council 533
2349 Old Turnpike Rd
Lewisburg, PA 17837


Faith Lutheran Church
Three Fires Council 127
3000 Liberty St
Aurora, IL 60502


Faith Lutheran Church
W D Boyce 138
2206 Washington Rd
Washington, IL 61571


Faith Lutheran Church
W.L.A.C.C. 051
7500 De Soto Ave
Canoga Park, CA 91303


Faith Lutheran Church
Winnebago Council, Bsa 173
422 N Prairie St
Shell Rock, IA 50670


Faith Lutheran Church ‐ Bismarck
Northern Lights Council 429
1402 E Ave C
Bismarck, ND 58501


Faith Lutheran Church ‐ Mo Synod
Jayhawk Area Council 197
1716 SW Gage Blvd
Topeka, KS 66604


Faith Lutheran Church ‐ West Fargo
Northern Lights Council 429
127 2nd Ave E
West Fargo, ND 58078


Faith Lutheran Church Lcms
Sam Houston Area Council 576
800 Brooks St
Sugar Land, TX 77478


Faith Lutheran Church Men
Northern Lights Council 429
1402 E Ave C
Bismarck, ND 58501


Faith Lutheran Church Of Golden
Denver Area Council 061
17701 W 16th Ave
Golden, CO 80401


Faith Memorial Lutheran Church
Lasalle Council 165
753 N Calumet Ave
Valparaiso, IN 46383


Faith Naber
Address Redacted


Faith Norris
Address Redacted


Faith Presbyterian Church
Black Swamp Area Council 449
P.O. Box 966
700 E Melrose Ave
Findlay, OH 45839


Faith Presbyterian Church
Chickasaw Council 558
8816 Poplar Pike
Germantown, TN 38138


Faith Presbyterian Church
Crossroads of America 160
8170 Hague Rd
Indianapolis, IN 46256


Faith Presbyterian Church
Denver Area Council 061
11373 E Alameda Ave
Aurora, CO 80012


Faith Presbyterian Church
Inland Nwest Council 611
9845 N Maple St
Hayden, ID 83835


Faith Presbyterian Church
Lincoln Heritage Council 205
9800 Stonestreet Rd
Louisville, KY 40272


Faith Presbyterian Church
Mid‐America Council 326
8100 Giles Rd
La Vista, NE 68128


Faith Presbyterian Church
Mississippi Valley Council 141 141
1027 S 24th St
Quincy, IL 62301


Faith Presbyterian Church
Sagamore Council 162
3318 State Rd 26 W
West Lafayette, IN 47906


Faith Presbyterian Church
Suwannee River Area Council 664
2200 N Meridian Rd
Tallahassee, FL 32303


Faith Presbyterian Church Of Tallahassee
Suwannee River Area Council 664
2200 N Meridian Rd
Tallahassee, FL 32303


Faith Presbyterian Church PCusa
North Florida Council 087
2738 SE County Rd 21
Melrose, FL 32666


Faith Real Estate And Investments
655 W Warner Rd 123
Tempe, AZ 85284‐0041


Faith Southwest Umc
Golden Spread Council 562
4415 Wesley St
Amarillo, TX 79121
Faith Tabernacle Church Of God In Christ
Pennsylvania Dutch Council 524
665 S Ann St
Lancaster, PA 17602


Faith Tabernacle Community Church
Chattahoochee Council 091
1601 Floyd Rd
Columbus, GA 31907


Faith Temple
Blue Ridge Council 551
5080 Sandy Flat Rd
Taylors, SC 29687


Faith Umc
Anthony Wayne Area 157
207 E Dewald St
Fort Wayne, IN 46803


Faith Utd Church Of Christ
Minsi Trails Council 502
5992 Route 378
Center Valley, PA 18034


Faith Utd Church Of Christ
New Birth of Freedom 544
P.O. Box 2
117 N Faith Rd
Grantville, PA 17028


Faith Utd Church Of Christ
Voyageurs Area 286
P.O. Box 1113
1001 5th St
International Falls, MN 56649


Faith Utd Evangelical Lutheran Church
Pennsylvania Dutch Council 524
357 Walnut St
Denver, PA 17517
Faith Utd Lutheran
Crossroads of America 160
4015 National Rd W
Richmond, IN 47374


Faith Utd Lutheran Church
Voyageurs Area 286
8964 Hwy 37
Iron, MN 55751


Faith Utd Methodist
East Carolina Council 426
4143 Dr M L King Jr Blvd
New Bern, NC 28562


Faith Utd Methodist
Indian Nations Council 488
7431 E 91st St
Tulsa, OK 74133


Faith Utd Methodist
Mid Iowa Council 177
23851 Hwy 5
P.O. Box 804
Centerville, IA 52544


Faith Utd Methodist
Northern Star Council 250
2708 33rd Ave Ne
St Anthony, MN 55418


Faith Utd Methodist Church
Anthony Wayne Area 157
207 E Dewald St
Fort Wayne, IN 46803


Faith Utd Methodist Church
Bay‐Lakes Council 635
1025 Tullar Rd
Neenah, WI 54956
Faith Utd Methodist Church
Blackhawk Area 660
1430 S Walnut Ave
Freeport, IL 61032


Faith Utd Methodist Church
Blackhawk Area 660
1440 S Walnut Ave
Freeport, IL 61032


Faith Utd Methodist Church
Blue Ridge Council 551
1301 S Main St
Greer, SC 29651


Faith Utd Methodist Church
Buckeye Council 436
1574 State Route 96
Ashland, OH 44805


Faith Utd Methodist Church
Buckeye Council 436
300 9th St Nw
North Canton, OH 44720


Faith Utd Methodist Church
Cascade Pacific Council 492
27400 SE Stark St
Troutdale, OR 97060


Faith Utd Methodist Church
Central N Carolina Council 416
3708 Faith Church Rd
Indian Trail, NC 28079


Faith Utd Methodist Church
Chief Seattle Council 609
3924 Issaquah Pine Lake Rd Se
Issaquah, WA 98029


Faith Utd Methodist Church
Connecticut Yankee Council Bsa 072
81 Clintonville Rd
North Haven, CT 06473


Faith Utd Methodist Church
Crossroads of America 160
116 N 3rd St
West Terre Haute, IN 47885


Faith Utd Methodist Church
Erie Shores Council 460
3415 Starr Ave
Oregon, OH 43616


Faith Utd Methodist Church
Erie Shores Council 460
795 W Madison St
Gibsonburg, OH 43431


Faith Utd Methodist Church
Gamehaven 299
27 4th St Sw
P.O. Box 10
Eyota, MN 55934


Faith Utd Methodist Church
Gamehaven 299
617 Maple Ln
Spring Valley, MN 55975


Faith Utd Methodist Church
Great Trail 433
1235 Tallmadge Rd
Kent, OH 44240


Faith Utd Methodist Church
Greater Alabama Council 001
7315 Old Springville Rd
Pinson, AL 35126


Faith Utd Methodist Church
Greater Los Angeles Area 033
2115 W 182nd St
Torrance, CA 90504


Faith Utd Methodist Church
Gulf Stream Council 085
6340 Boynton Beach Blvd
Boynton Beach, FL 33437


Faith Utd Methodist Church
Heart of America Council 307
1950 SW Eagles Pkwy
Grain Valley, MO 64029


Faith Utd Methodist Church
Illowa Council 133
876 E Knox St
Galesburg, IL 61401


Faith Utd Methodist Church
Juniata Valley Council 497
512 Hughes St
Bellefonte, PA 16823


Faith Utd Methodist Church
Minsi Trails Council 502
1160 Clause Dr
Stroudsburg, PA 18360


Faith Utd Methodist Church
National Capital Area Council 082
6810 Montrose Rd
Rockville, MD 20852


Faith Utd Methodist Church
Northern Lights Council 429
909 19th Ave N
Fargo, ND 58102


Faith Utd Methodist Church
Overland Trails 322
1623 Central Ave
Kearney, NE 68847
Faith Utd Methodist Church
Pathway To Adventure 456
432 59th St
Downers Grove, IL 60516


Faith Utd Methodist Church
Prairielands 117
1719 S Prospect Ave
Champaign, IL 61820


Faith Utd Methodist Church
Sam Houston Area Council 576
2403 Rayford Rd
Spring, TX 77386


Faith Utd Methodist Church
Susquehanna Council 533
700 Fairview Dr
Montoursville, PA 17754


Faith Utd Methodist Church
Three Fires Council 127
325 S Stott St
Genoa, IL 60135


Faith Utd Methodist Church
Three Fires Council 127
5395 Wview Ln
Lisle, IL 60532


Faith Utd Methodist Church
Three Fires Council 127
815 S Finley Rd
Lombard, IL 60148


Faith Utd Methodist Church
Three Rivers Council 578
18895 Fm 365 Rd
Beaumont, TX 77705


Faith Utd Methodist Church ‐ Denton
Longhorn Council 662
6060 Teasley Ln
Denton, TX 76210


Faith Utd Methodist Church ‐ Fargo
Northern Lights Council 429
909 19th Ave N
Fargo, ND 58102


Faith Utd Methodist Church Men S Club
Southwest Florida Council 088
15690 Mcgregor Blvd
Fort Myers, FL 33908


Faith Utd Methodist Church Mens Group
Gulf Stream Council 085
6340 Boynton Beach Blvd
Boynton Beach, FL 33437


Faith Utd Methodist Church Tulsa
Indian Nations Council 488
7431 E 91st St
Tulsa, OK 74133


Faith Utd Methodist Church‐Richmond
Sam Houston Area Council 576
4600 Fm 359 Rd
Richmond, TX 77406


Faith Utd Methodist Mens Club
Northern Lights Council 429
219 1st Ave W
Williston, ND 58801


Faith Utd Methodist Mens Club
Northern Lights Council 429
715 17th Ave W
Williston, ND 58801


Faith Utd Methodist Mens Group
Lake Erie Council 440
2201 Reid Ave
Lorain, OH 44052


Faith Utd Methodist Of Twinsburg
Lake Erie Council 440
2560 Post Rd
Twinsburg, OH 44087


Faith Utd Presbyterian
Mid‐America Council 326
4327 Morningside Ave
Sioux City, IA 51106


Faith Utd Presbyterian Church
Garden State Council 690
318 Stokes Rd
Medford, NJ 08055


Faith Utd Presbyterian Church
Greater Niagara Frontier Council 380
3150 Elmwood Ave
Tonawanda, NY 14150


Faith Utd Presbyterian Church
Pathway To Adventure 456
6200 167th St
Tinley Park, IL 60477


Faith Utd Presbyterian Church
Sioux Council 733
800 S Splitrock Blvd
P.O. Box 49
Brandon, SD 57005


Faith West Academy
Sam Houston Area Council 576
2225 Porter Rd
Katy, TX 77493


Faith Westwood Utd Methodist Church
Mid‐America Council 326
4814 Oaks Ln
Omaha, NE 68137
Faith Whidden
Address Redacted


Faith Worship   Outreach
Andrew Jackson Council 303
6893 Medgar Evers Blvd
Jackson, MS 39213


Faith Worship Ctr Schuylkill Cnty
Hawk Mountain Council 528
1168 Centre Tpke
Orwigsburg, Pa 17961


Faithbridge Church
Three Harbors Council 636
10402 Nwestern Ave
Franksville, WI 53126


Faithbridge Presbyterian Church
Circle Ten Council 571
10930 College Pkwy
Faithbridge Presbyterian Church
Frisco, TX 75035


Faithful Friend Moble Veterinary Clinic
Northeast Georgia Council 101
4581 Kelly Mill Rd
Cumming, GA 30040


Faithful Savior Lutheran Church
Cascade Pacific Council 492
11100 NE Skidmore St
Portland, OR 97220


Faithful Shepherd Catholic School
Northern Star Council 250
3355 Columbia Dr
Eagan, MN 55121


Faithful Shepherd Presbyterian Church
Mid‐America Council 326
2530 S 165th Ave
Omaha, NE 68130


Fakhruddin Fakhruddin
Address Redacted


Falcon Elementary School PTA
Pikes Peak Council 060
12050 Falcon Hwy
Peyton, CO 80831


Falcon Express Delivery
1312 Decatur St
Brooklyn, NY 11207


Falcon Fire Protection District
Pikes Peak Council 060
7030 Old Meridian Rd
Peyton, CO 80831


Falcon Flying Club Inc
510 N Omaha Cir
Mesa, AZ 85205


Falcon Paymasters
1350 W 5th Ave, Ste 224
Columbus, OH 43212


Falcon Vfd Explorers Falcon Vfd Explorer
7030 Old Meridian Rd
Peyton, CO 80831.8112


Falconer Inc
Alameda Council Bsa 022
1516 Oak St, Ste 103
Alameda, CA 94501


Falconer Volunteer Fire Dept, Inc
Allegheny Highlands Council 382
115 Davis St
Falconer, NY 14733


Fall Branch Utd Methodist Church
Sequoyah Council 713
1901 Hwy 93
Fall Branch, TN 37656


Fall Creek Enterprises
P.O. Box 92
Whitestown, IN 46075


Fall Creek Middle School
Chippewa Valley Council 637
336 E Hoover Ave
Fall Creek, WI 54742


Fallbrook Baptist Church
Sam Houston Area Council 576
12512 Walters Rd
Houston, TX 77014


Falls Church Presbyterian Church
National Capital Area Council 082
225 E Broad St
Falls Church, VA 22046


Falls City Lions Club
Cornhusker Council 324
1906 Fulton St
Falls City, NE 68355


Falls Lannon Lions Club
Potawatomi Area Council 651
P.O. Box 473
Lannon, WI 53046


Fallsington Utd Methodist Church
Washington Crossing Council 777
50 Lacrosse St
Levittown, PA 19054
Fallston Utd Methodist Church
Baltimore Area Council 220
1509 Fallston Rd
Fallston, MD 21047


Falmouth Congregational Church
Pine Tree Council 218
267 Falmouth Rd
Falmouth, ME 04105


False Alarm Reduction Unit
4100 Chain Bridge Rd
Fairfax, VA 22030


Familias Para Scouting De Cahlan Es
Las Vegas Area Council 328
2801 Fort Sumter Dr
North Las Vegas, NV 89030


Familias Para Scouting De Herron Es
Las Vegas Area Council 328
2421 Kenneth Rd
North Las Vegas, NV 89030


Families First
Atlanta Area Council 092
80 Joseph E Lowery Blvd Nw
Atlanta, GA 30314


Families First Inc
Atlanta Area Council 092
1105 W Peachtree St Ne
Atlanta, GA 30309


Families First Stanford Village
Atlanta Area Council 092
1105 W Peachtree St NW En
Atlanta, GA 30309


Families For Scouting
Utah National Parks 591
80 S Carbon Ave
Price, UT 84501


Families For Scouting Inc
Circle Ten Council 571
5100 Riverside Dr
Irving, TX 75039


Families Forward
Dan Beard Council, Bsa 438
1835 Fairfax Ave
Cincinnati, OH 45207


Families Of Mines Road For Scouting
South Texas Council 577
2903 Mier St, Apt 2
Laredo, TX 78043


Families Of Pack 814
Mt Diablo‐Silverado Council 023
2 Terraced Hills Way
San Ramon, CA 94583


Families Of Strawberry Hill
The Spirit of Adventure 227
9 Holmes St
Cambridge, MA 02138


Families Of Troop 92
Attn Jerry Dean Buchanan
Buckskin 617
2641 Wittens Mill Rd
North Tazewell, VA 24630


Family   Friends Of Cutler Manor
South Florida Council 084
10875 SW 216th St
Miami, FL 33170


Family   School Assoc
Garden State Council 690
Chews School
Somerdale Rd
Blackwood, NJ 08012


Family And Friends Of Pack 605
Heart of America Council 307
2614 NW London Dr
Blue Springs, MO 64015


Family And Friends Of Troop 605
Heart of America Council 307
2614 NW London Dr
Blue Springs, MO 64015


Family Bible Church
Lasalle Council 165
52100 Woodsedge Dr
Granger, IN 46530


Family Catering Service Inc
8500 Summerfield Ln
Huntersville, NC 28078‐6864


Family Christian Center
Central Florida Council 083
2500 S Hwy 27
Clermont, FL 34711


Family Cir
P.O. Box 37425
Boone, IA 50037‐4425


Family Coin Laundry
3704 Robert C Byrd Dr
Beckley, WV 25801


Family Counseling Assoc
9961 Crosspoint Blvd, 100
Indianapolis, IN 46256


Family Ct
147 W Main St
Kingstree, SC 29556
Family Engagement Committee
Utah National Parks 591
3435 N 1120 E
Lehi, UT 84043


Family Facets
Greater St Louis Area Council 312
P.O. Box 1662
Columbia, MO 65205


Family Fun
P.O. Box 37426
Boone, IA 50037‐0426


Family Games America Pga, Inc
P.O. Box 97
Snowdon, QC H3X 3T3
Canada


Family Medical Group
514 Jungerman Rd
Saint Peters, MO 63376‐2730


Family Of Christ Lutheran Church
Cascade Pacific Council 492
3500 NW 129th St
Vancouver, WA 98685


Family Of Christ Lutheran Church
Northern Star Council 250
185th St
Lakeville, MN 55044


Family Of Christ West Lutheran Church
Greater Tampa Bay Area 089
5601 Hanley Rd
Tampa, FL 33634


Family Of Faith Luthern Church
Hudson Valley Council 374
240 Midland Lake Rd
Middletown, NY 10941


Family Of God Lutheran Church
Voyageurs Area 286
4097 Martin Rd
Duluth, MN 55803


Family Of Grace Lutheran Church
Chief Seattle Council 609
31317 124th Ave Se
Auburn, WA 98092


Family Resources
Laurel Highlands Council 527
1425 Forbes Ave
Pittsburgh, PA 15219


Family Resources Fairmount Pines
Illowa Council 133
4205 N Fairmount St
Davenport, IA 52806


Family Roots Farm
245 Hervey Ln
Wellsburg, WV 26070


Family Scout Units Of Colorado
Denver Area Council 061
5625 S Newport St
Greenwood Village, CO 80111


Family Security
Tidewater Council 596
2192 Weybridge Dr
Virginia Beach, VA 23454


Family Services Lincoln
Cornhusker Council 324
501 S 7th St
Lincoln, NE 68508
Family Support Payment Center
P.O. Box 109001
Jefferson City, MO 65110‐9001


Family Worship Center
Southern Shores Fsc 783
1901 Mount Hope Rd
Grass Lake, MI 49240


Familymeans
Northern Star Council 250
1875 Nwestern Ave S
Stillwater, MN 55082


Fan Creations
2655 Ngate Ave
Cumming, GA 30041


Fanatics Retail Group
dba Secstore.Com
7215 Financial Way
Jacksonville, FL 32256‐6853


Fancy Gap Utd Methodist Church
Blue Ridge Mtns Council 599
793 Old Appalachian Trl
Fancy Gap, VA 24328


Fannie Booker
Address Redacted


Fannie C. Williams Charter School
Southeast Louisiana Council 214
11755 Dwyer Rd
New Orleans, LA 70128


Fannie Madry
Address Redacted


Fannie Tyler
Address Redacted


Fannin County Fire   Rescue Ems
Northeast Georgia Council 101
P.O. Box 1168
Blue Ridge, GA 30513


Fantasia Accessories, Ltd
31 W 34th St, Ste 501
New York, NY 10001


Fantasy World Entertainment Inc
124 Jibsail Dr
Prince Frederick, MD 20678


Fanwood Presbyterian Church
Patriots Path Council 358
74 S Martine Ave
Fanwood, NJ 07023


Far Bank Enterprises
P.O. Box 24821
Seattle, WA 98124‐0821


Far East
Mcb Camp Foster, Unit 35049
Okinawa
Fpo, Ap 96373‐5049
Japan


Far East Council 803
Far E Council
Mcb Camp Foster, Unit 35049
Fpo Ap, 96373‐5049


Fargo 1St Ward, Fargo Nd Stake
Northern Lights Council 429
2502 17th Ave S
Fargo, ND 58103


Fargo 2Nd Ward, Fargo Nd Stake
Northern Lights Council 429
2502 17th Ave S
Fargo, ND 58103


Fargo Police Dept
Northern Lights Council 429
222 4th St N
Fargo, ND 58102


Fargo Utd Methodist Church
Cimarron Council 474
P.O. Box 18
Fargo, OK 73840


Fargo‐Moorhead Rotary Club
Northern Lights Council 429
P.O. Box 9359
Fargo, ND 58106


Faribault Police Dept
Northern Star Council 250
25 4th St Nw
Faribault, MN 55021


Farish Street Baptist Church
Andrew Jackson Council 303
619 N Farish St
Jackson, MS 39202


Farm Preservation Foundation
Southern Shores Fsc 783
7343 Angle Rd
Northville, MI 48168


Farmacia Apolo
Puerto Rico Council 661
528 Fernandez Vanga
San Juan, PR 00926


Farmer Brothers Coffee
744 Ave H E
Arlington, TX 76001
Farmer City American Legion
W D Boyce 138
755 Stensel Dr
Farmer City, IL 61842


Farmer Utd Methodist Mens Club
Old N State Council 070
4933 New Hope Rd
Denton, NC 27239


Farmers Branch Moose Lodge 2277
Circle Ten Council 571
P.O. Box 814056
Farmers Branch, TX 75234


Farmers Branch Police Dept
Circle Ten Council 571
3723 Valley View Ln
Dallas, TX 75244


Farmers Insurance Co Inc
P.O. Box 4363
Woodland Hills, CA 91365‐4363


Farmersburg Utd Methodist Church
Crossroads of America 160
318 W Main St
Farmersburg, IN 47850


Farmersville Fire Dept
Sequoia Council 027
909 W Visalia Rd
Farmersville, CA 93223


Farmersville Parent Teacher Organization
Buffalo Trace 156
4065 Hwy 69 S
Mount Vernon, IN 47620


Farmersville Rotary Club
Miami Valley Council, Bsa 444
12945 Manning Rd
Farmersville, OH 45325


Farmingdale Catholic Center
Theodore Roosevelt Council 386
1 Morton St
Farmingdale, NY 11735


Farmingdale Ptc   Elementary School
Abraham Lincoln Council 144
2473 N Farmingdale Rd
Pleasant Plains, IL 62677


Farmingdale Rotary Club
Theodore Roosevelt Council 386
P.O. Box 575
Farmingdale, NY 11735


Farmington Community Center
Old N State Council 070
1723 Farmington Rd
Mocksville, NC 27028


Farmington Eagles 4031
Northern Star Council 250
200 3rd St
Farmington, MN 55024


Farmington Heights Church Of God
East Carolina Council 426
910 Raleigh Rd Pkwy W
Wilson, NC 27896


Farmington Lions Club
Northern Star Council 250
2982 225th St W
Farmington, MN 55024


Farmington Presbyterian Church
Chickasaw Council 558
8245 Farmington Blvd
Germantown, TN 38139


Farmington Rotary Foundation
Great Lakes Fsc 272
P.O. Box 2974
Farmington Hills, MI 48333


Farmington Utd Methodist Church
Westark Area Council 016
355 Swinds
Farmington, AR 72730


Farmington Vet Clinic
Northern Star Council 250
645 8th St
Farmington, MN 55024


Farmington Vol Fire Dept
Seneca Waterways 397
P.O. Box 25117
Farmington, NY 14425


Farmington Volunteer Fire Dept
Connecticut Rivers Council, Bsa 066
P.O. Box 200
Farmington, CT 06034


Farmington Volunteer Fire Dept
Westmoreland Fayette 512
P.O. Box 251
Farmington, PA 15437


Farmington Ymca Program Center
W D Boyce 138
88 W Fremont
Farmington, IL 61531


Farmland Lions Club / Parker Umc
Crossroads of America 160
320 N Main St
Parker City, IN 47368
Farmlife Ruritan Club
East Carolina Council 426
2865 Fire Dept Rd
Williamston, NC 27892


Farmville Boys And Girls Club
East Carolina Council 426
3443 Park St
Farmville, NC 27828


Farmville Methodist Church
Northwest Georgia Council 100
6906 Fairmount Hwy Se
Calhoun, GA 30701


Farmville Police Dept
Heart of Virginia Council 602
116 N Main St
Farmville, VA 23901


Farmville Rescue And Ems, Inc
East Carolina Council 426
4414 Belcher St
Farmville, NC 27828


Farney Elementary PTO
Sam Houston Area Council 576
14425 Barker Cypress Rd
Cypress, TX 77429


Farnham Fire Dept Explorer Post 526
Evan Russell
526 Commercial St
Farnham, NY 14061


Farnsley Middle School
Lincoln Heritage Council 205
3400 Lees Ln
Louisville, KY 40216


Faro Palazzolo
Address Redacted


Faro Services, Inc
L‐2538
P.O. Box 600001
Columbus, OH 43260‐2538


Farr Systems
9420 Forestridge
Dallas, TX 75238


Farrady Post 24 American Legion
Laurel Highlands Council 527
27 W Main St
Frostburg, MD 21532


Farragut Church Of Christ
Great Smoky Mountain Council 557
136 Smith Rd
Knoxville, TN 37934


Farragut Presbyterian Church
Great Smoky Mountain Council 557
209 Jamestowne Blvd
Farragut, TN 37934


Farragut Utd Methodist Church
Susquehanna Council 533
45 Route 864 Hwy
Montoursville, PA 17754


Farrell   Seldin Attorney At Law
7807 E Peakview Ave, Suite 410
Centennial, CO 80111


Fasclampitt‐ Farmers Branch
14540 Midway Rd
Farmers Branch, TX 75244


Fasclapmitt‐Dallas
914 Regal Row
Dallas, TX 75247


Fast 30
Grand Canyon Council 010
5102 E Columbine Dr
Scottsdale, AZ 85254


Fast Cuts Edits Inc
1845 Woodall Rodgers Frwy, Ste 200
Dallas, TX 75201


Fast Frame
440 Barrett Pkwy, Ste 6
Kennesaw, GA 30144


Fast Signs
720 Saint Micheals Dr
Sante Fe, NM 87505


Fast Signs Erie
144 W 12th St
Erie, PA 16501‐1780


Fastenal Co
2001 Theurer Blvd
Winona, MN 55987


Fastenal Co
P.O. Box 1286
Winona, MN 55987‐1286


Fastenal Co
P.O. Box 978
Winona, MN 55987‐0978


Fasteners For Retail Inc
P.O. Box 932397
Cleveland, OH 44193


Fastsigns
4070 N Beltline Rd, Ste 118
Irving, TX 75038


Fastsigns
4500 Plank Rd, Ste 1020
Fredericksburg, VA 22407


Fastsprings
11 W Victoria St, Ste 207A
Santa Barbara, CA 93101


Fast‐Tax Fps
33788 Treasury Ctr
Chicago, IL 60694


Fat Joe S Auto Repair Inc
3701 N Story Rd
Irving, TX 75062


Faternal Order Of The Eagles Aerie 3080
Northern Lights Council 429
931 US Bus 52
Harvey, ND 58341


Father Dyer Utd Methodist
Denver Area Council 061
P.O. Box 6201
Breckenridge, CO 80424


Father Francisco Garces
Las Vegas Area Council 328
1111 N Michael Way
Las Vegas, NV 89108


Father Marquette School
Bay‐Lakes Council 635
500 S 4th St
Marquette, MI 49855


Fathers Club 100 Inc
Northeastern Pennsylvania Council 501
13 Stocker St
Plains, PA 18705


Fathom It Distributing
2210 Andrea Ln, Unit A
Fort Myers, FL 33912


Fathom It Distributing
2760 Braman Ave, Unit 1
Fort Myers, FL 33901


Fatima Council Knights Of Columbus
Greater St Louis Area Council 312
1216 Teson Rd
Hazelwood, MO 63042


Fatima Council Nights Of Columbus
Greater St Louis Area Council 312
1216 Teson Rd
Hazelwood, MO 63042


Fatima Hinton
Address Redacted


Fatima Sanchez‐Perez
Address Redacted


Faucett Lions Club
Pony Express Council 311
108 Oak St
Faucett, MO 64448


Faulkner County Rescue
Quapaw Area Council 018
1220 Clarence Dr
Conway, AR 72034


Faulkner Design Group
Circle Ten Council 571
3232 Mckinney Ave, Ste 1170
Dallas, TX 75204
Faulkner University
5345 Atlanta Hwy
Montgomery, AL 36109


Fauquier County Sheriffs Office
National Capital Area Council 082
78 W Lee St
Warrenton, VA 20186


Faust S Transportation Inc
P.O. Box 1050
El Prado, NM 87529


Fawn Laughlin
Address Redacted


Fawn Utd Methodist Church
New Birth of Freedom 544
67 S Market St
Fawn Grove, PA 17321


Fay Biccard Glick Neighborhood Center
Crossroads of America 160
2990 W 71st St
Indianapolis, IN 46268


Fay Galloway Elementary School PTO
Las Vegas Area Council 328
701 Skyline Rd
Henderson, NV 89002


Faye Drenth‐Thurman
Address Redacted


Faye Harris
Address Redacted


Fayette City Recreation League
Laurel Highlands Council 527
P.O. Box 125
Fayette City, PA 15438


Fayette County Board Of Education
Attn Paula Fridley, Accounting
111 Fayette Ave
Fayetteville, WV 25840


Fayette County Chamber Of Commerce
310 Oyler Ave
Oak Hill, WV 25901


Fayette County Clerk
c/o Fayette County Bldg Safety Dept
P.O. Box 307, 100 Court St
Fayetteville, WV 25840


Fayette County Commission
General Delivery
Fayetteville, WV 25840‐0307


Fayette County Ems
Capitol Area Council 564
750 E Camp St
La Grange, TX 78945


Fayette County Fish   Game Assoc Inc
Simon Kenton Council 441
3684 Old Springfield Rd Ne
Washington Court House, OH 43160


Fayette County Health Dept
202 Church St
Fayetteville, WV 25840


Fayette County High School Ffa
Black Warrior Council 006
202 14th Ct Ne
Fayette, AL 35555


Fayette County Kiwanis
Flint River Council 095
3019 Carol Dr
Fayetteville, GA 30214


Fayette Institute Of Technology
300 W Oyler Ave
Oak Hill, WV 25901


Fayette Lions Club
Attn Steven Nolen
Black Warrior Council 006
Fayette, AL 35555


Fayette Lions Club
Black Warrior Council 006
821 Shannon Cir
Fayette, AL 35555


Fayette Lions Club
Juniata Valley Council 497
158 Lions Den Dr
Mc Alisterville, PA 17049


Fayette Presbyterian Church
Flint River Council 095
791 Hwy 92 N
Fayetteville, GA 30214


Fayette Utd Methodist Church
Black Swamp Area Council 449
P.O. Box 99
Fayette, OH 43521


Fayetteville 1st Utd Methodist Ch
Flint River Council 095
175 Lanier Ave E
Fayetteville, Ga 30214


Fayetteville Christian Church
Flint River Council 095
114 Hickory Rd
Fayetteville, GA 30214
Fayetteville Cumberland Presbyterian Ch
Middle Tennessee Council 560
1015 Lewisburg Hwy
Fayetteville, Tn 37334


Fayetteville Masonic Lodge 711
Flint River Council 095
P.O. Box 711
Fayetteville, GA 30214


Fayetteville Police Dept
Occoneechee 421
467 Hay St
Fayetteville, NC 28301


Fayetteville Post Office
Attn Brenda Holcomb
P.O. Box 9998
Fayetteville, WV 25840


Fayetteville Utd Methodist Church
Flint River Council 095
175 Lanier Ave E
Fayetteville, GA 30214


Fayetteville Utd Methodist Church
Longhouse Council 373
601 E Genesee St
Fayetteville, NY 13066


Fayetteville Utd Methodist Church
Manlius, NY 13104


Fc Ziegler Co
P.O. Box 700930 Dept 488
Tulsa, OK 74170‐0930


Fd U S Communications Inc
dba Financial Dynamics
P.O. Box 418005
Boston, MA 02241‐8005


Fdr Academy
Lake Erie Council 440
800 Linn Dr
Cleveland, OH 44108


Federacao Escutista De Portugal
Traverssa Das Galeostas 1
Lisboa, 1300‐264
Portugal


Federal Bureau Investigation Chicago Div
Pathway To Adventure 456
2111 W Roosevelt Rd
Chicago, Il 60608


Federal Bureau Of Investigation
Greater New York Councils, Bsa 640
26 Federal Plaza
New York, NY 10278


Federal Bureau Of Investigation
Greater New York Councils, Bsa 640
75 N Hangar Rd, Ste 241
Federal Bureau of Investigation
Jamaica, NY 11430


Federal Cartridge Co
Atk Customer SrvcAttn   L Pavel
900 Ehlen Dr
Anoka, MN 55303


Federal Cartridge Co
Sds 12‐0312 / P.O. Box 86
Minneapolis, MN 55486‐0132


Federal Reserve Bank Of Cleveland
Pittsburgh Branch
P.O. Box 299
Pittsburgh, PA 15230‐0299
Federal Way Dept Of Public Safety
Pacific Harbors Council, Bsa 612
P.O. Box 9718
Federal Way, WA 98063


Federal Way Kiwanis
Pacific Harbors Council, Bsa 612
P.O. Box 3232
Federal Way, WA 98063


Federal Way Utd Methodist Church
Pacific Harbors Council, Bsa 612
29645 51st Ave S
Auburn, WA 98001


Federated Bank
Attn Jonathan Lipinski
1001 Liberty Ave
Pittsburgh, PA 15222


Federated Church
Greater Yosemite Council 059
P.O. Box 1418
Patterson, CA 95363


Federated Church
Jayhawk Area Council 197
322 S Topeka Ave
Burlingame, KS 66413


Federated Church
Lake Erie Council 440
76 Bell St
Chagrin Falls, OH 44022


Federated Church
Mid‐America Council 326
2704 15th St
P.O. Box 564
Columbus, NE 68601
Federated Church
Three Fires Council 127
612 W State St
Sycamore, IL 60178


Federated Church Of Norfolk Ma
Mayflower Council 251
1 Union St
Norfolk, MA 02056


Federated Church Of Orland
Golden Empire Council 047
709 1st St
Orland, CA 95963


Federated Church Of Spearville
Santa Fe Trail Council 194
P.O. Box 62
Spearville, KS 67876


Federated Church Of Sutton
Overland Trails 322
P.O. Box 306
Sutton, NE 68979


Federated Church Of Thomaston
Pine Tree Council 218
8 Hyler St
Thomaston, ME 04861


Federated Community Church
Grand Canyon Council 010
400 W Aspen Ave
Flagstaff, AZ 86001


Federation Nationale Du
Scoutisme Marocain
Rue Soumaya 6
Agdal‐Rabat
Morocco


Fedex
P.O. Box 371461
Pittsburgh, PA 15250‐7461


Fedex
P.O. Box 94515
Palatine, IL 60094‐4515


Fedex Dallas
P.O. Box 660481
Dallas, TX 75266‐0481


Fedex Express Tx
P.O. Box 660481
Dallas, TX 75266‐0481


Fedex Freight
Dept Ch P.O. Box 10306
Palatine, IL 60055‐0306


Fedex Freight
P.O. Box 223125
Pittsburgh, PA 15251‐2125


Fedex Freight Pa
P.O. Box 223125
Pittsburgh, PA 15250‐2125


Fedex Ground Service
P.O. Box 371461
Pittsburgh, PA 15250‐7461


Fedex Kinkos
P.O. Box 672085
Dallas, TX 75267‐2085


Fedex Office
Customer Admin Services
P.O. Box 672085
Dallas, TX 75267‐2085
Fedex Office
Customer Administrative Services
P.O. Box 672085
Dallas, TX 75267‐2085


Fee Transportation Services Inc
3400 Stonewell Dr
Lancaster, TX 75134‐1536


Fee Transportation Services Inc
P.O. Box 847576
Dallas, TX 75284‐7576


Feed   More, LLC
43510 Hwy 160
Trinidad, CO 81082


Feedback Sports LLC
600 Corporate Cir, Ste O
Golden, CO 80401


Feh Design ‐ Architecture
Northeast Iowa Council 178
951 Main St
Dubuque, IA 52001


Fei Engineering
5325 S Valentia Way
Greenwood Village, CO 80111


Feifish
P.O. Box 1871
Bolton Landing, NY 12814


Feldman Enterprise
425 W Main
Tremonton, UT 84337


Felecia Stanley
Address Redacted
Felicia Boyle
Address Redacted


Felicia Ellis
Address Redacted


Felicia Goynes
Address Redacted


Felicia Phillips
Address Redacted


Felicia Trotman
Address Redacted


Felicia Wood
Address Redacted


Felicita Subia
Address Redacted


Felicita Torres
Address Redacted


Felicity E Evans
Address Redacted


Felipe Valencia
Address Redacted


Felisha Hamilton
Address Redacted


Felix Mantilla
Address Redacted


Felix Rivera Ii
Address Redacted


Felix Varela Snr High Police Explorers
South Florida Council 084
15255 Sw 96Th St
Miami, Fl 33196


Felix Ventures Foundation
Greater Los Angeles Area 033
523 W 6th St, Ste 1120
Los Angeles, CA 90014


Fellenzer Engineering
Hudson Valley Council 374
22 Mulberry St, Ste 2A
Middletown, NY 10940


Fellerman   Ciarimboli Law PC
183 Market St, Ste 200
Kingston, PA 18704


Fellowship Baptist Church
Anthony Wayne Area 157
289 S 200 W
Portland, IN 47371


Fellowship Baptist Church
Dan Beard Council, Bsa 438
P.O. Box 219
Maineville, OH 45039


Fellowship Baptist Church
Golden Spread Council 562
P.O. Box 388
Borger, TX 79008


Fellowship Baptist Church
Lincoln Heritage Council 205
1298 Rogersville Rd
Radcliff, KY 40160
Fellowship Bible Church
Ozark Trails Council 306
4855 S Farm Rd 205
Rogersville, MO 65742


Fellowship Bible Church
Trapper Trails 589
4783 N 3100 E
Eden, UT 84310


Fellowship Bible Church Tucson
Catalina Council 011
6721 E 12th St
Tucson, AZ 85710


Fellowship Christian Church
Indian Nations Council 488
500 N 15th St
Broken Arrow, OK 74012


Fellowship Christian School
Atlanta Area Council 092
10965 Woodstock Rd
Roswell, GA 30075


Fellowship Church Inc
Istrouma Area Council 211
14363 Hwy 73
Prairieville, LA 70769


Fellowship Class Of 1St Utd Methodist
Tukabatchee Area Council 005
100 E 4th St
Prattville, AL 36067


Fellowship Community Church Inc
Blue Ridge Mtns Council 599
1226 Red Lane Ext
Salem, VA 24153


Fellowship General Baptist Church
Greater St Louis Area Council 312
3581 N Wwood Blvd
Poplar Bluff, MO 63901


Fellowship Independent Baptist Church
Lincoln Heritage Council 205
1298 Rogersville Rd
Radcliff, KY 40160


Fellowship Lutheran Church
Indian Nations Council 488
6727 S Sheridan Rd
Tulsa, OK 74133


Fellowship Methodist Church
Central N Carolina Council 416
1200 Mcdonald Ave
Hamlet, NC 28345


Fellowship Of The Parks Church
Longhorn Council 662
9900 N Beach St
Fort Worth, TX 76244


Fellowship Of The Parks Haslet Campus
Longhorn Council 662
1029 Avondale Haslet Rd
Haslet, TX 76052


Fellowship Of The Rockies‐Fountain
Pikes Peak Council 060
7755 C and S Rd
Fountain, CO 80817


Fellowship Presbyterian Church
441 Kinards Mill Rd
Jackson, GA 30233


Fellowship Presbyterian Church
Suwannee River Area Council 664
3158 Shamrock St S
Tallahassee, FL 32309
Fellowship Utd Methodist Chruch
Central N Carolina Council 416
1200 Mcdonald Ave
Hamlet, NC 28345


Fellowship Utd Methodist Church
Longhorn Council 662
101 Trophy Club Dr
Trophy Club, TX 76262


Fellowship Utd Methodist Church
Middle Tennessee Council 560
2201 Peachers Mill Rd
Clarksville, TN 37042


Fellowship Utd Methodist Church
Middle Tennessee Council 560
2511 Hwy 99
Murfreesboro, TN 37128


Fellowship Utd Methodist Church
Norwela Council 215
4750 Barksdale Blvd
Bossier City, LA 71112


Felters Group The
P.O. Box 228
Roebuck, SC 29376


Felton Community Fire Co, Inc
Del Mar Va 081
9 E Main St
Felton, DE 19943


Felton Fire Co
Del Mar Va 081
9 E Main St
Felton, DE 19943


Felton Presbyterian Church
Silicon Valley Monterey Bay 055
6090 Hwy 9
Felton, CA 95018


Fenstermacher   Assoc
5115 E Trindle Rd
Mechanicsburg, PA 17080


Fenton Gift Shops Inc
2242 Williams Hwy, Ste 107‐108
Williamstown, WV 26187


Fenton Gift Shops Inc
Attn Randy Fenton
420 Caroline Ave
Williamstown, WV 26187


Fenton Lions Club
Greater St Louis Area Council 312
1300 W Lark Industrial Dr
Fenton, MO 63026


Fenton Utd Methodist Ch
Fenton Lions Club
Water And Woods Council 782
119 S Leroy St
Fenton, Mi 48430


Fenton Utd Methodist Church
Water and Woods Council 782
119 S Leroy St
Fenton, MI 48430


Fenton Utd Methodist Church
Water and Woods Council 782
P.O. Box 488
Fenton, MI 48430


Fenwick   West LLP
Silicon Valley Center
801 California St
Mountain View, CA 94041
Feradyne Outdoors LLC
1230 Poplar Ave
Superior, WI 54880


Fergus Falls Sertoma Club
Northern Lights Council 429
P.O. Box 621
Fergus Falls, MN 56538


Ferguson Consulting Firm LLC
6144 Preston Creek Dr
Dallas, TX 75240


Ferguson Enterpises, Inc 109
17655 E 25th Dr
Auruora, CO 80011


Ferguson Enterprises Inc
P.O. Box 802817
Chicago, IL 60680‐2817


Ferguson Enterprises Inc 1480
P.O. Box 644054
Pittsburgh, PA 15264‐4054


Ferguson Enterprises, Inc ‐ Pueblo 516
P.O. Box 847411
Dallas, TX 75284‐7411


Ferguson Supply   Box Co
10820 Quality Dr
Charlotte, NC 28278


Ferguson Township Lions Club
Juniata Valley Council 497
454 W Pine Grove Rd
Pine Grove Mills, PA 16868


Fern Creek High School
Reserve Officer Training Corps
Lincoln Heritage Council 205
9115 Fern Creek Rd
Louisville, Ky 40291


Fern Creek Utd Methodist Church
Lincoln Heritage Council 205
6727 Bardstown Rd
Louisville, KY 40291


Fern Lamberd
Address Redacted


Fernandina Beach Rotary Club
North Florida Council 087
2222 High Rigger Ct
Fernandina Beach, FL 32034


Fernando Camacho
Address Redacted


Fernando Reyes
Address Redacted


Fernbrook Elementary School PTO
Northern Star Council 250
9661 Fernbrook Ln N
Maple Grove, MN 55369


Fernbrook School
Patriots Path Council 358
206 Quaker Church Rd
Randolph, NJ 07869


Ferndale Chamber Of Commerce
Crater Lake Council 491
8445 Centerville Rd
Ferndale, CA 95536


Ferndale Lions Club
Crater Lake Council 491
P.O. Box 262
Ferndale, CA 95536


Ferndale Lions Club
Mount Baker Council, Bsa 606
P.O. Box 1977
Ferndale, WA 98248


Ferndale Utd Methodist Church
Baltimore Area Council 220
117 Ferndale Rd
Glen Burnie, MD 21061


Ferndale Utd Methodist Church
Baltimore Area Council 220
117 Ferndale Rd
Ferndale, MD 21456


Fernhill Elementary School PTO
Chester County Council 539
915 Lincoln Ave
West Chester, PA 19380


Fernvale Church Of Christ
Middle Tennessee Council 560
5911 Old State Hwy 96
Fairview, TN 37062


Fernwood Friends Of Pack 179
Three Harbors Council 636
3239 S Pennsylvania Ave
Milwaukee, WI 53207


Fernwood Hotel   Resort
Group Sales, Route 209
Bushkill, PA 18324


Ferrellgas
Lighton Tower
7500 College Blvd 1000
Overland Park, KS 66210
Ferrellgas
P.O. Box 173940
Denver, CO 80217‐3940


Ferris State University
1201 S State St, Css 101
Big Rapids, MI 49307


Ferry Farm Baptist Church
National Capital Area Council 082
1 Wmoreland Dr
Fredericksburg, VA 22405


Festival Of The Photograph
P.O. Box 1541
Charlottesville, VA 22902


Festive Foods, Inc
3668 Midvale Rd
Tucker, GA 30084


Festus/Crystal City Rotary Club
Attn Terrence Bridgewater
Greater St Louis Area Council 312
6 Waggener Industrial Ct
Crystal City, MO 63019


Festus‐Crystal City Elks Lodge 1721
Greater St Louis Area Council 312
4 Elks Dr
Festus/Crystal City. Mo
Festus, MO 63028


Fewsmith Memorial Presbyterian Church
Northern New Jersey Council, Bsa 333
444 Union Ave
Belleville, NJ 07109


Fewsmith Presbyterian Church
Northern New Jersey Council, Bsa 333
444 Union Ave
Belleville, NJ 07109
Ff Marketing
Alameda Council Bsa 022
1848 Central Ave
Alameda, CA 94501


Ffr‐Dsi, Inc
P.O. Box 932397
Cleveland, OH 44193


Fh Stoltze Land And Lumber Co
Montana Council 315
P.O. Box 1429
Columbia Falls, MT 59912


Fhs Enterprises
dba Florida Salt Scrubs
1279 W Palmetto Park Rd, 273923
Boca Raton, FL 33427


Fhulufhelo Ramuthivheli
c/o Philmont Scout Ranch
17 Deer Run Rd
Cimarron, NM 87714


Fiasp
P.O. Box 236
Islamorada, FL 33036


Fiberlok, Inc
Dept 821
Denver, CO 80291‐0821


Fickett Elementary
Atlanta Area Council 092
3935 Rux Rd Sw
Atlanta, GA 30331


Fiddler Gonzalez   Rodriguez Psc
P.O. Box 363507
San Juan, PR 00936‐3507
Fidelis Technologies
Pathway To Adventure 456
3110 Opengate Rd
Crystal Lake, IL 60012


Fidelitas Masonic Lodge 364
Hawkeye Area Council 172
P.O. Box 90
Fairfax, IA 52228


Fidelity Investments
100 Crosby Pkwy
Covington, KY 41015


Fidelity Investments
900 Salem St
Smithfield, RI 02917


Fidelity Management Trust Co
P.O. Box 770002
Cincinnati, OH 45277‐0090


Fidelity Retirement Services
One Utah Ctr
Salt Lake City, UT 84111


Fidelity Work Place Services LLC
Attn Wi Contracts
245 Summer St, V7B
Boston, MA 02210


Fiel Foundation
P.O. Box 158
Verdugo City, CA 91046


Field   Stream
P.O. Box 422057
Palm Coast, FL 32142‐9933
Field Elementary School PTO
Great Lakes Fsc 272
1000 S Haggerty Rd
Canton, MI 48188


Field Store Elementary School PTO
Sam Houston Area Council 576
31670 Giboney Rd
Waller, TX 77484


Fielder   Assoc Inc
P.O. Box 22698
Lexington, KY 40522‐2698


Fields And Assoc, LLC
Attn Larry Fields
401 S 18th St, Ste 425
St. Louis, MO 63103


Fields And Associates, LLC
Attn Larry S Fields
re Plaintiff
S. 18th St ‐, Ste 425
St Louis, MO 63101


Fields Of Grace
Leatherstocking 400
3673 State Route 145
Cobleskill, NY 12043


Fields Road Elementary PTA
National Capital Area Council 082
1 School Dr
Gaithersburg, MD 20878


Fields Utd Methodist Church
Lake Erie Council 440
34077 Lorain Rd
North Ridgeville, OH 44039


Fieldstone Presbyterian Church
Piedmont Council 420
804 Fieldstone Rd
Mooresville, NC 28115


Fiest Elementary PTO
Sam Houston Area Council 576
8425 Pine Falls Dr
Houston, TX 77095


Fiesta
2834 E 46th St
Vernon, CA 90058


Fiesta Graphix
25 E Fiesta Dr
Tempe, AZ 85282


Fiesta Mericana/Us Mexico Cultural And
Educational Foundation
P.O. Box 14414
Washington, DC 20044


Fifth Ave Utd Methodist Church
Bay‐Lakes Council 635
323 S 5th Ave
West Bend, WI 53095


Fifth Baptist Church
Heart of Virginia Council 602
1415 W Cary St
Richmond, VA 23220


Fifth District Volunteer Fire Dept
Baltimore Area Council 220
P.O. Box 601
Clarksville, MD 21029


Fifth Episcopal District
c/o Wayman Ame Church
5010 Cabanne Ave
St Louis, MO 63113
Fifth Street Baptist Church
Heart of Virginia Council 602
2800 3rd Ave
Richmond, VA 23222


Fifth Third Bank
Attn Lora Joyce
P.O. Box 630900
Cincinnati, OH 45263‐0900


Fifth Ward Elementary P.T.O.
Southeast Louisiana Council 214
158 Panther Dr
Reserve, LA 70084


Fig Leaf Software Inc
1400 16 St Nw, Ste B‐120
Washington, DC 20036


Fig Leaf Software, Inc
1400 16th St Nw, Ste 450
Washington, DC 20036


Fighting Gravity LLC
217 Janie Ln
Blacksburg, VA 24060


Figueroa Brothers Inc
1740 Hurd Dr
Irving, TX 75038


Fiix Inc
35 Golden Ave, Ste A‐201
Toronto, On M6R 2J5
Canada


Fiji Elevator Co
9167 Oak Alley Dr
Lake Worth, FL 33467


Fiji Elevator Co
9167 Oak Alley Way
Lake Worth, FL 33467


Fiji Scout Assoc
P.O. Box 152079
Irving, TX 75015‐2079


Filberto Ruiz
Address Redacted


Filgo Oil Co
P.O. Box 565421
Dallas, TX 75356‐5421


Fillmore Lions Club
Ventura County Council 057
P.O. Box 632
Fillmore, CA 93016


Fillmore Wesleyan Church
Iroquois Trail Council 376
P.O. Box 8
Fillmore, NY 14735


FilmcanistersforsaleCom
P.O. Box 981
Littleton, CO 80160


Filmtrack, Inc
12001 Ventura Pl, Ste 500
Studio City, CA 91604‐2622


Filmworkers Club/Dallas
Accounts Receivable
232 E Ohio St
Chicago, IL 60611


Filson Corp
P.O. Box 34020
Seattle, WA 98124‐1020
Filter Press, LLC
P.O. Box 95
Palmer Lake, CO 80133


Filtration Technology Inc
P.O. Box 760
Oakridge, NC 27310


Fin   Feather, Inc
125 Hwy 1 W
Iowa City, IA 52246‐4201


Financial Accounting Standards Board
Attn Accounts Receivable
P.O. Box 416673
Boston, MA 02241‐6673


Financial Dynamics
P.O. Box 630391
Baltimore, MD 21263‐0391


Financial Times
P.O. Box 669
Newburgh, NY 12551‐9970


Financial Times Diaries
Charles Letts Canada Ltd
1885 Clements Rd, Unit 239
Pickering, On L1W 3V4
Canada


Fincastle Consulting Inc
dba Access Control Specialists
Dcjs11‐3103 P.O. Box 191
Blacksburg, VA 24063


Fincham Enterprises Inc
5601 Wilshire Ave Ne
Albuquerque, NM 87113
Finco Enterprises
Utah National Parks 591
P.O. Box 38016
Leamington, UT 84638


Findley Elementary School PTO
Cascade Pacific Council 492
4155 NW Saltzman Rd
Portland, OR 97229


Fineman Krekstein    Harris, Pc
Attn Dierdre M Richards
1300 N King St
Wilmington, DE 19801


Finest First Construction
California Inland Empire Council 045
7426 Cherry Ave PMB 307, Ste 210
Fontana, CA 92336


Fin‐Feather‐Fur Outfitters
Buckeye Council 436
652 US Hwy 250 E
Ashland, OH 44805


Finger Lake Elementary PTA
Great Alaska Council 610
P.O. Box 875910
Wasilla, AK 99687


Finger Lakes Community College
Seneca Waterways 397
200 Victor Heights Pkwy
Victor, NY 14564


Finger Lakes Family Inc
Baden‐Powell Council 368
P.O. Box 242
Etna, NY 13062


Finley Fire Equipment
5255 N State Route 60 Nw
Mcconnelsville, OH 43756‐9642


Finlon Law PLLC
P.O. Box 9661
Charlotte, NC 28229


Finn Academy ‐ An Elmira Charter School
Five Rivers Council, Inc 375
610 Lake St
Elmira, NY 14901


Finn D Westenhaven
Address Redacted


Finney Advertising   Design Co
1265 Pebble Hill Rd
Doylestown, PA 18901


Finnie Plumbing
P.O. Box 406
Daniels, WV 25832


Fir Conway Lutheran Church
Mount Baker Council, Bsa 606
18101 Fir Island Rd
Mount Vernon, WA 98273


Fir Grove PTO
Cascade Pacific Council 492
6300 SW Wilson Ave
Beaverton, OR 97008


Fire And Rescue Assoc Of Kennett
Greater St Louis Area Council 312
200 Cedar St
Kennett, MO 63857


Fire Control Inc
3243 Berwick Knoll
Minneapolis, MN 55443
Fire Dept Belmond
Winnebago Council, Bsa 173
127 Sunset Dr
Belmond, IA 50421


Fire Dept Of Mount Juliet Tn
Middle Tennessee Council 560
104 Belinda Pkwy
Mount Juliet, TN 37122


Fire Dept Of The City Of New York
Greater New York Councils, Bsa 640
9 Metrotech Ctr
Brooklyn, NY 11201


Fire Dept Of Viborg
Sioux Council 733
P.O. Box 51
Viborg, SD 57070


Fire Dept Of Worthing
Sioux Council 733
403 S Prairie St
Worthing, SD 57077


Fire Fighter Sales   Service Co
791 Commonwealth Dr
Warrendale, PA 15086


Fire Fighters Assoc
Aloha Council, Bsa 104, Unit 14007
36 Ces/Cef
Apo, AP 96543


Fire King Security Products, LLC
2789 Solution Ctr
Chicago, IL 60677‐2007


Fire Mountain Gems
Customer Service
1 Fire Mountain Way
Grants Pass, OR 97526‐2373


Fire Mountain Staff Alumni Assoc
Mount Baker Council, Bsa 606
22922 13th Pl W
Bothell, WA 98021


Fire Point Extinguisher Co
P.O. Box 855
Norco, CA 92860


Fire Prep And Leadership Academy
Las Vegas Area Council 328
1016 W Owens Ave
Las Vegas, NV 89106


Fire Protection Service Corp
3292 Harrison Blvd
Ogden, UT 84403


Fire Protection Service Corp
Dba Mountain Alarm
P.O. Box 12487
Ogden, UT 84412‐2487


Fire Service Women Of New York State
Twin Rivers Council 364
P.O. Box 1377
Guilderland, NY 12084


Firecraft Safety Products
1395 Grandview Ave, Ste 10
Columbus, OH 43212


Fired Up, LLC
620 C State Rd 58
Cimarron, NM 87714


Firefighters Of Stevens Dist 4
Inland Nwest Council 611
4162 Springdale Hunters Rd
Springdale, WA 99173


Fireguard Inc
P.O. Box 550654
Dallas, TX 75355‐0654


Firelands Lions Club
Lake Erie Council 440
15018 S St
Wakeman, OH 44889


Firelands Military Vehicle Group
Lake Erie Council 440
1319 Pearl St
Sandusky, OH 44870


Firemaster Dept 1019
P.O. Box 121019
Dallas, TX 75312‐1019


Fireside Industries
13954 W Waddell Rd
Surprise, AZ 85379


Fireside Lodge Furniture
P.O. Box 665
Pequot Lakes, MN 56472


Firestone Des Moines
Mid Iowa Council 177
4600 NW 2nd St
Des Moines, IA 50313


Firestone Park Utd Methodist Church
Great Trail 433
250 N Firestone Blvd
Akron, OH 44301


Firetree Place
Susquehanna Council 533
600 Campbell St
Williamsport, PA 17701


Fireworks Screen Printers
17218 S Cedar Rd
Homer Glen, IL 60491


First Advantage Lns
P.O. Box 403532
Atlanta, GA 30384‐3532


First Advent Christian Church
Buckskin 617
615 Randolph St
Charleston, WV 25302


First African Methodist Episcopal Church
Atlanta Area Council 092
2046 Richard Allen Ln Se
Atlanta, GA 30316


First Aid Merit Badge Councilor
2006 Exeter Cir
Irving, TX 75062


First Alliance Church
Moraine Trails Council 500
111 Mission Meade Dr
New Castle, PA 16105


First Ame Church
Greater Los Angeles Area 033
1700 N Raymond Ave
Pasadena, CA 91103


First American Lutheran Church
Bay‐Lakes Council 635
511 Madison St
Oconto, WI 54153


First And Calvary Presbyterian Church
Ozark Trails Council 306
820 E Cherry St
Springfield, MO 65806


First Apostolic Church
Greater St Louis Area Council 312
1202 S Poplar St
Centralia, IL 62801


First Assembly Of God
Illowa Council 133
P.O. Box 92
Abingdon, IL 61410


First Assembly Of God
Indian Nations Council 488
P.O. Box 1213
Okmulgee, OK 74447


First Assembly Of God
Jersey Shore Council 341
800 Bay Ave
Toms River, NJ 08753


First Assembly Of God
Simon Kenton Council 441
400 US 23 Hwy
Raceland, KY 41169


First Bank ‐ Virgin Islands
Attn Delores Velasquez
P.O. Box 100
Christiansted, VI 00821‐0100


First Bank Johnston City
Greater St Louis Area Council 312
908 Grand Ave
Johnston City, IL 62951


First Baptist
East Texas Area Council 585
207 S Main St
Henderson, TX 75654
First Baptist
Northeast Georgia Council 101
751 Green St
Gainesville, GA 30501


First Baptist   Spencer Baptist Churches
Piedmont Council 420
Wilson St And
Oak St
Spindale, NC 28160


First Baptist Castle Rock
Cascade Pacific Council 492
211 Front Ave Nw
Castle Rock, WA 98611


First Baptist Ch Of Chitt
Leatherstocking 400
520 Tuscarora Rd
Chittenango, NY 13037


First Baptist Charlotte
P.O. Box 31046
Charlotte, NC 28231


First Baptist Church
Andrew Jackson Council 303
100 E College St
Clinton, MS 39056


First Baptist Church
Andrew Jackson Council 303
430 N President St
Jackson, MS 39201


First Baptist Church
Arbuckle Area Council 468
P.O. Box 247
Elmore City, OK 73433
First Baptist Church
Atlanta Area Council 092
1647 Lake Harbin Rd
Morrow, GA 30260


First Baptist Church
Baden‐Powell Council 368
1406 Monroe St
Endicott, NY 13760


First Baptist Church
Blue Grass Council 204
P.O. Box 839
Middlesboro, KY 40965


First Baptist Church
Blue Ridge Council 551
300 E 1st Ave
Easley, SC 29640


First Baptist Church
Buckskin 617
P.O. Box 10
Racine, WV 25165


First Baptist Church
Buckskin 617
P.O. Box 237
Grantsville, WV 26147


First Baptist Church
Buckskin 617, 16th   Myers Ave
Dunbar, WV 25064


First Baptist Church
Buffalo Trace 156
214 E Walnut St
Boonville, IN 47601


First Baptist Church
Buffalo Trail Council 567
2104 W Louisiana Ave
Midland, TX 79701


First Baptist Church
Buffalo Trail Council 567
400 E Bryan
Kermit, TX 79745


First Baptist Church
Caddo Area Council 584
3015 Moores Ln
Texarkana, TX 75503


First Baptist Church
Calcasieu Area Council 209
401 S Huntington St
Sulphur, LA 70663


First Baptist Church
Cape Fear Council 425
South 5th Ave
Wilmington, NC 28401


First Baptist Church
Capitol Area Council 564
306 Round Rock Ave
Round Rock, TX 78664


First Baptist Church
Capitol Area Council 564
P.O. Box 90
Luling, TX 78648


First Baptist Church
Cascade Pacific Council 492
125 SE Cowls St
Mcminnville, OR 97128


First Baptist Church
Catalina Council 011
700 E 10th St
Douglas, AZ 85607
First Baptist Church
Central N Carolina Council 416
201 N Randolph St
Rockingham, NC 28379


First Baptist Church
Cherokee Area Council 469 469
321 W Illinois Ave
Vinita, OK 74301


First Baptist Church
Cherokee Area Council 556
201 N Main St
La Fayette, GA 30728


First Baptist Church
Choctaw Area Council 302
414 Pecan Ave
Philadelphia, MS 39350


First Baptist Church
Circle Ten Council 571
116 Oak Ave
Sulphur Springs, TX 75482


First Baptist Church
Coronado Area Council 192
843 Lewis Ave
Salina, KS 67401


First Baptist Church
Crossroads of America 160
207 E Washington St
Lebanon, IN 46052


First Baptist Church
Crossroads of America 160
2107 S Park Ave
Alexandria, IN 46001


First Baptist Church
Crossroads of America 160
4701 E Poplar Dr
Terre Haute, IN 47803


First Baptist Church
Dan Beard Council, Bsa 438
4500 Riverview Ave
Middletown, OH 45042


First Baptist Church
Daniel Boone Council 414
10 S Main St
Waynesville, NC 28786


First Baptist Church
Daniel Boone Council 414
125 Tappan St
Spruce Pine, NC 28777


First Baptist Church
Daniel Webster Council, Bsa 330
105 Maple Ave
Keene, NH 03431


First Baptist Church
Daniel Webster Council, Bsa 330
461 Main St
P.O. Box 336
New London, NH 03257


First Baptist Church
Daniel Webster Council, Bsa 330
88 W Main St
Bradford, NH 03221


First Baptist Church
De Soto Area Council 013
201 W 7th St
Smackover, AR 71762


First Baptist Church
Del Mar Va 081
1 S Somerset Ave
Crisfield, MD 21817


First Baptist Church
Del Mar Va 081
General Delivery
East New Market, MD 21631


First Baptist Church
East Carolina Council 426
239 Middle St
New Bern, NC 28560


First Baptist Church
East Carolina Council 426
P.O. Box 1467
Wilson, NC 27894


First Baptist Church
Five Rivers Council, Inc 375
14 Baldwin Ave
Addison, NY 14801


First Baptist Church
Five Rivers Council, Inc 375
26 Church St
Hornell, NY 14843


First Baptist Church
Flint River Council 095
106 W Taylor St
Griffin, GA 30223


First Baptist Church
Flint River Council 095
208 S Church St
Thomaston, GA 30286


First Baptist Church
French Creek Council 532
60 Shenango St
Greenville, PA 16125
First Baptist Church
Garden State Council 690
200 Prince St
Bordentown, NJ 08505


First Baptist Church
Georgia‐Carolina 093
161 Allen St
Barnwell, SC 29812


First Baptist Church
Glaciers Edge Council 620
3414 Woodhall Dr
Janesville, WI 53546


First Baptist Church
Great Swest Council 412
P.O. Box 85
Dove Creek, CO 81324


First Baptist Church
Great Trail 433
1670 Shatto Ave
Akron, OH 44313


First Baptist Church
Greater Alabama Council 001
300 3rd Ave E
Oneonta, AL 35121


First Baptist Church
Greater St Louis Area Council 312
1804 S 9th St
Mattoon, IL 61938


First Baptist Church
Greater St Louis Area Council 312
820 Broadway St
Gillespie, IL 62033
First Baptist Church
Gulf Coast Council 773
500 N Palafox St
Pensacola, FL 32501


First Baptist Church
Heart of America Council 307
1410 N 155th St
Basehor, KS 66007


First Baptist Church
Heart of America Council 307
P.O. Box 245
324 E Shawnee St
Gardner, KS 66030


First Baptist Church
Heart of Virginia Council 602
2709 Monument Ave
Richmond, VA 23220


First Baptist Church
Hoosier Trails Council 145 145
100 E Walnut St
Washington, IN 47501


First Baptist Church
Hoosier Trails Council 145 145
416 Vine St
Madison, IN 47250


First Baptist Church
Illowa Council 133
123 S Tremont St
Kewanee, IL 61443


First Baptist Church
Indian Nations Council 488
420 W Trudgeon St
Henryetta, OK 74437


First Baptist Church
Indian Waters Council 553
P.O. Box 348
Saint Matthews, SC 29135


First Baptist Church
Katahdin Area Council 216
95 High St
Belfast, ME 04915


First Baptist Church
Lake Erie Council 440
3630 Fairmount Blvd
Shaker Hts, OH 44118


First Baptist Church
Leatherstocking 400
9 W Main St
P.O. Box 127
Earlville, NY 13332


First Baptist Church
Lincoln Heritage Council 205
200 E Walnut St
Salem, IN 47167


First Baptist Church
Lincoln Heritage Council 205
230 J R Miller Blvd
Owensboro, KY 42303


First Baptist Church
Lincoln Heritage Council 205
401 Highland Ave
Carrollton, KY 41008


First Baptist Church
Longhorn Council 662
1100 Malone St
Denton, TX 76201


First Baptist Church
Mayflower Council 251
518 N Main St
Randolph, MA 02368


First Baptist Church
Minsi Trails Council 502
3235 Linden St
Bethlehem, PA 18017


First Baptist Church
Narragansett 546
P.O. Box 551
East Greenwich, RI 02818


First Baptist Church
National Capital Area Council 082
2932 King St
Alexandria, VA 22302


First Baptist Church
Northeast Georgia Council 101
355 Pulaski St
Athens, GA 30601


First Baptist Church
Northeast Georgia Council 101
751 Green St Nw
Gainesville, GA 30501


First Baptist Church
Northwest Georgia Council 100
311 N Thornton Ave
Dalton, GA 30720


First Baptist Church
Old Hickory Council 427
110 Gwyn Ave
Elkin, NC 28621


First Baptist Church
Old Hickory Council 427
714 N Main St
Mount Airy, NC 27030
First Baptist Church
Old N State Council 070
412 N Main St
Mocksville, NC 27028


First Baptist Church
Ozark Trails Council 306
1014 E 7th St
Galena, KS 66739


First Baptist Church
Ozark Trails Council 306
105 Kennedy Ave
Clever, MO 65631


First Baptist Church
Ozark Trails Council 306
P.O. Box 116
Clever, MO 65631


First Baptist Church
Piedmont Council 420
120 N Lafayette St
Shelby, NC 28150


First Baptist Church
Piedmont Council 420
2650 Union Rd
Gastonia, NC 28054


First Baptist Church
Piedmont Council 420
P.O. Box 459
Morganton, NC 28680


First Baptist Church
Piedmont Council 420
P.O. Box 549
Morganton, NC 28680
First Baptist Church
Piedmont Council 420
P.O. Box 6298
2650 Union Rd
Gastonia, NC 28056


First Baptist Church
Pine Burr Area Council 304
814 Azalea Dr
Waynesboro, MS 39367


First Baptist Church
Pine Tree Council 218
733 Main St
Westbrook, ME 04092


First Baptist Church
Pony Express Council 311
P.O. Box 55
Union Star, MO 64494


First Baptist Church
Santa Fe Trail Council 194
1005 N 11th St
Garden City, KS 67846


First Baptist Church
Seneca Waterways 397
119 W Elm St
East Rochester, NY 14445


First Baptist Church
Seneca Waterways 397
124 Main St
Brockport, NY 14420


First Baptist Church
Seneca Waterways 397
1862 Penfield Rd
Penfield, NY 14526


First Baptist Church
Seneca Waterways 397
224 Main St
Penn Yan, NY 14527


First Baptist Church
Seneca Waterways 397
6025 New Hartford St
Wolcott, NY 14590


First Baptist Church
Sequoyah Council 713
P.O. Box 587
Blountville, TN 37617


First Baptist Church
South Georgia Council 098
200 W Central Ave
Valdosta, GA 31601


First Baptist Church
South Plains Council 694
501 Main St
Wolfforth, TX 79382


First Baptist Church
South Texas Council 577
1305 Wildcat Dr
Portland, TX 78374


First Baptist Church
South Texas Council 577
3115 Ocean Dr
Corpus Christi, TX 78404


First Baptist Church
Texas Trails Council 561
P.O. Box 68
Moran, TX 76464


First Baptist Church
The Spirit of Adventure 227
400 Lexington St
Waltham, MA 02452


First Baptist Church
Tidewater Council 596
418 E Bute St
Norfolk, VA 23510


First Baptist Church
Tuscarora Council 424
408 College St
Clinton, NC 28328


First Baptist Church
Tuscarora Council 424
P.O. Box 209
202 S 4th St
Smithfield, NC 27577


First Baptist Church
Utah National Parks 591
157 S 300 W
Blanding, UT 84511


First Baptist Church
Water and Woods Council 782
915 E Sugnet Rd
Midland, MI 48642


First Baptist Church
West Tennessee Area Council 559
220 Masonic St
Dyersburg, TN 38024


First Baptist Church
Westark Area Council 016
P.O. Box 635
Greenwood, AR 72936


First Baptist Church
Western Massachusetts Council 234
131 Main St
North Adams, MA 01247
First Baptist Church ‐ Alliance
Buckeye Council 436
1659 W State St
Alliance, OH 44601


First Baptist Church ‐ Blountstown
Alabama‐Florida Council 003
14506 State Rd 71 S
Blountstown, FL 32424


First Baptist Church ‐ Enterprise
Alabama‐Florida Council 003
302 N Main St
Enterprise, AL 36330


First Baptist Church ‐ Eureka
Montana Council 315
P.O. Box 391
Eureka, MT 59917


First Baptist Church ‐ Johnston
Mid Iowa Council 177
8250 NW 62nd Ave
Johnston, IA 50131


First Baptist Church ‐ Pierre
Sioux Council 733
2310 E Capitol Ave
Pierre, SD 57501


First Baptist Church ‐ Quanah
Northwest Texas Council 587
601 S Main St
Quanah, TX 79252


First Baptist Church ‐ Shawnee
Last Frontier Council 480
P.O. Box 1928
Shawnee, OK 74802
First Baptist Church Bristow
Indian Nations Council 488
P.O. Box 717
Bristow, OK 74010


First Baptist Church Broad Street
Chickasaw Council 558
2835 Broad Ave
Memphis, TN 38112


First Baptist Church Brotherhood
South Georgia Council 098
221 S Lee St
Americus, GA 31709


First Baptist Church Cassville
Ozark Trails Council 306
602 W St
Cassville, MO 65625


First Baptist Church China Spring
Longhorn Council 662
301 Illinois
China Spring, TX 76633


First Baptist Church Dawson
Northeast Georgia Council 101
P.O. Box 1358
Dawsonville, GA 30534


First Baptist Church Denbigh
Colonial Virginia Council 595
3628 Campbell Rd
Newport News, VA 23602


First Baptist Church Deweyville
Three Rivers Council 578
P.O. Box 79
644 State Hwy 272
Deweyville, TX 77614


First Baptist Church East
Last Frontier Council 480
3302 SE Lee Blvd
Lawton, OK 73501


First Baptist Church Eaton
Crossroads of America 160
510 E Columbia Ave
Eaton, IN 47338


First Baptist Church Ellijay
Northeast Georgia Council 101
164 Dalton St
Ellijay, GA 30540


First Baptist Church Greenwood
Blue Ridge Council 551
722 Grace St
Greenwood, SC 29649


First Baptist Church Gresham Rd
Atlanta Area Council 092
2394 Gresham Rd Se
Atlanta, GA 30316


First Baptist Church Groves
Three Rivers Council 578
P.O. Box 937
Groves, TX 77619


First Baptist Church Huntsville
Greater Alabama Council 001
600 Governors Dr Sw
Huntsville, AL 35801


First Baptist Church In Chili
Seneca Waterways 397
3182 Chili Ave
Rochester, NY 14624


First Baptist Church Jefferson City
Great Smoky Mountain Council 557
1610 Russell Ave
Jefferson City, TN 37760


First Baptist Church Lawrence
Heart of America Council 307
1330 Kasold Dr
Lawrence, KS 66049


First Baptist Church Madisonville
Lincoln Heritage Council 205
1634 Sunrise Dr
Anthony Munger
Madisonville, KY 42431


First Baptist Church Mens Fellowship
Overland Trails 322
3610 6th Ave
Kearney, NE 68845


First Baptist Church Moody
Greater Alabama Council 001
902 Church St
Moody, AL 35004


First Baptist Church Murray
Lincoln Heritage Council 205
203 S 4th St
Murray, KY 42071


First Baptist Church Of Agawam
Western Massachusetts Council 234
760 Main St
Agawam, MA 01001


First Baptist Church Of Alameda
Alameda Council Bsa 022
1515 Santa Clara Ave
Alameda, CA 94501


First Baptist Church Of Albany
South Georgia Council 098
145 Oakland Pkwy
Leesburg, GA 31763
First Baptist Church Of Anderson
Crossroads of America 160
907 N Raible Ave
Anderson, IN 46011


First Baptist Church Of Arlington
The Spirit of Adventure 227
819 Massachusetts Ave
Arlington, MA 02476


First Baptist Church Of Ashland
Heart of Virginia Council 602
800 Thompson St
Ashland, VA 23005


First Baptist Church Of Athens
355 Pulaski St
Athens, GA 30601


First Baptist Church Of Benton
Greater St Louis Area Council 312
201 S Main St
Benton, IL 62812


First Baptist Church Of Bristol
Narragansett 546
250 Hope St
Bristol, RI 02809


First Baptist Church Of Brooksville
Greater Tampa Bay Area 089
420 Howell Ave
Brooksville, FL 34601


First Baptist Church Of Carlisle
Blue Grass Council 204
345 N Locust St
Carlisle, KY 40311


First Baptist Church Of Carolina Beach
Cape Fear Council 425
409 Lake Park Blvd N
Carolina Beach, NC 28428


First Baptist Church Of Cassville
Ozark Trails Council 306
602 W St
Cassville, MO 65625


First Baptist Church Of Citrus Park
Greater Tampa Bay Area 089
7705 Gunn Hwy
Tampa, FL 33625


First Baptist Church Of Clinton
Andrew Jackson Council 303
100 E College St
Clinton, MS 39056


First Baptist Church Of College Hill
Greater Tampa Bay Area 089
3838 N 29th St
Tampa, FL 33610


First Baptist Church Of Corona
California Inland Empire Council 045
155 W 8th St
Corona, CA 92882


First Baptist Church Of Corsicana
Circle Ten Council 571
510 W Collin St
Corsicana, TX 75110


First Baptist Church Of Corvallis
Oregon Trail Council 697
125 NW 10th St
Corvallis, OR 97330


First Baptist Church Of Crestmont
Cradle of Liberty Council 525
1678 Fairview Ave
Willow Grove, PA 19090


First Baptist Church Of Crown Heights
Greater New York Councils, Bsa 640
450 Eern Pkwy
Brooklyn, NY 11225


First Baptist Church Of Danville
D/B/A Boy Scout Troop 354
871 Main St
Danville, VA 24541


First Baptist Church Of Decatur
Atlanta Area Council 092
308 Clairemont Ave
Decatur, GA 30030


First Baptist Church Of Edwardsville
Greater St Louis Area Council 312
534 Saint Louis St
Edwardsville, IL 62025


First Baptist Church Of Elm Mott
Longhorn Council 662
P.O. Box 308
Elm Mott, TX 76640


First Baptist Church Of Franklin
Middle Tennessee Council 560
828 Murfreesboro Rd
Franklin, TN 37064


First Baptist Church Of Geronimo
Last Frontier Council 480
P.O. Box 128
Geronimo, OK 73543


First Baptist Church Of Glenarden
National Capital Area Council 082
3600 Brightseat Rd
Landover, MD 20785
First Baptist Church Of Goodlettsville
Middle Tennessee Council 560
211 Cafe Rd
Goodlettsville, TN 37072


First Baptist Church Of Grain Valley
Heart of America Council 307
P.O. Box 346
207 Walnut
Grain Valley, MO 64029


First Baptist Church Of Gray
Central Georgia Council 096
134 W Clinton St
Gray, GA 31032


First Baptist Church Of Greater Toledo
Erie Shores Council 460
6520 Pilliod Rd
Holland, OH 43528


First Baptist Church Of Guilford
Baltimore Area Council 220
7504 Oakland Mills Rd
Columbia, MD 21046


First Baptist Church Of Haddonfield
Garden State Council 690
124 Kings Hwy E
Haddonfield, NJ 08033


First Baptist Church Of Helotes
Alamo Area Council 583
P.O. Box 1490
Helotes, TX 78023


First Baptist Church Of Hendersonville
Middle Tennessee Council 560
106 Bluegrass Commons Blvd
Hendersonville, TN 37075
First Baptist Church Of Holt
Gulf Coast Council 773
P.O. Box 38
Holt, FL 32564


First Baptist Church Of Hoosick Falls
Twin Rivers Council 364
80 Main St
Hoosick Falls, NY 12090


First Baptist Church Of Horizon City
Yucca Council 573
17018 Darrington Rd
Horizon City, TX 79928


First Baptist Church Of Jamestown
Old N State Council 070
306 Guilford Rd
Jamestown, NC 27282


First Baptist Church Of Jeff City
Great Rivers Council 653
301 E Capitol Ave
Jefferson City, MO 65101


First Baptist Church Of Jefferson
Pine Tree Council 218
P.O. Box 921
Jefferson, ME 04348


First Baptist Church Of La Grange
Pathway To Adventure 456
20 N Ashland Ave
La Grange, IL 60525


First Baptist Church Of Laurelton
Jersey Shore Council 341
1824 Route 88
Brick, NJ 08724


First Baptist Church Of Livingston
Middle Tennessee Council 560
708 E Main St
Livingston, TN 38570


First Baptist Church Of Lorena
Longhorn Council 662
307 E Center St
Lorena, TX 76655


First Baptist Church Of Los Fresnos
Rio Grande Council 775
300 E Ocean Blvd
Los Fresnos, TX 78566


First Baptist Church Of Lutz
Greater Tampa Bay Area 089
18116 N US Hwy 41
Lutz, FL 33549


First Baptist Church Of Malden
The Spirit of Adventure 227
493 Main St
Malden, MA 02148


First Baptist Church Of Mandeville, Inc
Istrouma Area Council 211
1895 Hwy 190
Mandeville, LA 70448


First Baptist Church Of Marietta
Atlanta Area Council 092
148 Church St Ne
Marietta, GA 30060


First Baptist Church Of Marion
Choctaw Area Council 302
5711 Clinton St
P.O. Box 607
Marion, MS 39342


First Baptist Church Of Mason
Dan Beard Council, Bsa 438
735 Reading Rd
Mason, OH 45040


First Baptist Church Of Mcdonough
Flint River Council 095
101 Macon St
Mcdonough, GA 30253


First Baptist Church Of Mclouth
Jayhawk Area Council 197
P.O. Box 190
Mc Louth, KS 66054


First Baptist Church Of Mentone
Anthony Wayne Area 157
206 S Oak St
Mentone, IN 46539


First Baptist Church Of Mont Belvieu
Sam Houston Area Council 576
P.O. Box 1167
Mont Belvieu, TX 77580


First Baptist Church Of Morrisville
Occoneechee 421
209 Church St
Morrisville, NC 27560


First Baptist Church Of Morrow
Atlanta Area Council 092
1647 Lake Harbin Rd
Morrow, GA 30260


First Baptist Church Of Murfreesboro
Middle Tennessee Council 560
200 E Main St
Murfreesboro, TN 37130


First Baptist Church Of New Market
Patriots Path Council 358
450 New Market Rd
Piscataway, NJ 08854
First Baptist Church Of Newport
Great Smoky Mountain Council 557
261 E Broadway
Newport, TN 37821


First Baptist Church Of Olathe
Heart of America Council 307
2024 E 151st St
Olathe, KS 66062


First Baptist Church Of Opelousas
Evangeline Area 212
P.O. Box 1938
Opelousas, LA 70571


First Baptist Church Of Orange
Three Rivers Council 578
P.O. Box 1453
7637 Martin Luther King Jr Dr
Orange, TX 77631


First Baptist Church Of Owego
Baden‐Powell Council 368
228 Main St
Owego, NY 13827


First Baptist Church Of Parrish
Southwest Florida Council 088
P.O. Box 195
Parrish, FL 34219


First Baptist Church Of Peculiar
Heart of America Council 307
P.O. Box 325
216 E Broadway St
Peculiar, MO 64078


First Baptist Church Of Ponca City
Cimarron Council 474
218 S 6th St
Fifth At Central
Ponca City, OK 74601
First Baptist Church Of Poplarville
Pine Burr Area Council 304
203 S Main St
Poplarville, MS 39470


First Baptist Church Of Riverside‐Mens
California Inland Empire Council 045
5500 Alessandro Blvd
Riverside, CA 92506


First Baptist Church Of San Diego
San Diego Imperial Council 049
5055 Governor Dr
San Diego, CA 92122


First Baptist Church Of Sanford
Occoneechee 421
200 Summitt Dr
Sanford, NC 27330


First Baptist Church Of Shawnee
Last Frontier Council 480
P.O. Box 1928
Shawnee, OK 74802


First Baptist Church Of Shelbyville
Crossroads of America 160
27 W Broadway St
Shelbyville, IN 46176


First Baptist Church Of Shepherdsville
Lincoln Heritage Council 205
254 S Buckman St
Shepherdsville, KY 40165


First Baptist Church Of South Bend
Pacific Harbors Council, Bsa 612
P.O. Box 147
South Bend, WA 98586
First Baptist Church Of Southington
Connecticut Yankee Council Bsa 072
581 Meriden Ave
Southington, CT 06489


First Baptist Church Of Sparta
Old Hickory Council 427
202 S Main St
Sparta, NC 28675


First Baptist Church Of Spring Hill
Middle Tennessee Council 560
5219 Main St
Spring Hill, TN 37174


First Baptist Church Of Springfield
National Capital Area Council 082
7300 Gary St
Springfield, VA 22150


First Baptist Church Of Stilwell Kansas
Heart of America Council 307
19950 Broadmoor Ln
Stilwell, KS 66085


First Baptist Church Of Tahlequah
Indian Nations Council 488
201 Commercial Rd
Tahlequah, OK 74464


First Baptist Church Of Texas City
Bay Area Council 574
1400 9th Ave N
Texas City, TX 77590


First Baptist Church Of The Lakes
Las Vegas Area Council 328
9125 Spring Mountain Rd
Las Vegas, NV 89117


First Baptist Church Of Theodore
Mobile Area Council‐Bsa 004
7125 Bellingratin Rd
Theodore, AL 36590


First Baptist Church Of Toccoa
Northeast Georgia Council 101
475 Tugalo St
Toccoa, GA 30577


First Baptist Church Of Tuscola
Texas Trails Council 561
702 Kent St
Tuscola, TX 79562


First Baptist Church Of Valley Mills
Longhorn Council 662
P.O. Box 627
302 Ave C
Valley Mills, TX 76689


First Baptist Church Of Village Mills
Three Rivers Council 578
P.O. Box 460
Village Mills, TX 77663


First Baptist Church Of Walterboro
Coastal Carolina Council 550
124 S Memorial Ave
Walterboro, SC 29488


First Baptist Church Of Westwood
The Spirit of Adventure 227
808 High St
Westwood, MA 02090


First Baptist Church Of Winnemucca
Nevada Area Council 329
P.O. Box 7
Winnemucca, NV 89446


First Baptist Church Of Wylie
Circle Ten Council 571
200 N Ballard Ave
Wylie, TX 75098


First Baptist Church On The Hill
Silicon Valley Monterey Bay 055
500 Sands Dr
San Jose, CA 95125


First Baptist Church Pinellas Park
Greater Tampa Bay Area 089
5495 Park Blvd N
Pinellas Park, FL 33781


First Baptist Church Rochester
Seneca Waterways 397
175 Allens Creek Rd
Rochester, NY 14618


First Baptist Church South Hill
Tidewater Council 596
3633 Galberry Rd
Chesapeake, VA 23323


First Baptist Church Sugar Hill Inc
Northeast Georgia Council 101
5091 Hwy 20
Sugar Hill, GA 30518


First Baptist Church Trumann
Quapaw Area Council 018
P.O. Box 575
Trumann, AR 72472


First Baptist Church Union City
West Tennessee Area Council 559
500 E Church St
Union City, TN 38261


First Baptist Church Vega
Golden Spread Council 562
704 S Main St
Vega, TX 79092
First Baptist Church West
Mecklenburg County Council 415
1801 Oaklawn Ave
Charlotte, NC 28216


First Baptist Church Wylie
Circle Ten Council 571
200 Ballard St
Wylie, TX 75098


First Baptist Forsyth
Ozark Trails Council 306
10000 State Hwy 76
P.O. Box 74
Forsyth, MO 65653


First Baptist Forsyth
Ozark Trails Council 306
P.O. Box 74
Forsyth, MO 65653


First Baptist Of Laurinburg
Cape Fear Council 425
302 E Church St
Laurinburg, NC 28352


First Bethel Ame Church
Northern New Jersey Council, Bsa 333
2 Auburn St
Paterson, NJ 07501


First Bethel Utd Methodist Church
Laurel Highlands Council 527
5901 Library Rd
Bethel Park, PA 15102


First Broad St Utd Methodist Church
Sequoyah Council 713
P.O. Box 1346
Kingsport, TN 37662
First California Bank
Funding ‐ Discover
21550 Oxnard St, Ste 100
Woodland Hills, CA 91367


First Calvary Baptist Church
Occoneechee 421
1311 Morehead Ave
Durham, NC 27707


First Chinese Baptist Church, La
Greater Los Angeles Area 033
942 Yale St
Los Angeles, CA 90012


First Choice Services / Hurst
P.O. Box 1722
Hurst, TX 76053


First Christian Chruch
East Carolina Council 426
419 E Main St
Belhaven, NC 27810


First Christian Church
2102 Ave A
Scottsbluff, NE 69361‐1935


First Christian Church
Abraham Lincoln Council 144
2106 S Main St
South Jacksonville, IL 62650


First Christian Church
Arbuckle Area Council 468
13th   Broadway
Ada, OK 74820


First Christian Church
Arbuckle Area Council 468, 13th    Bdwy
Ada, OK 74820
First Christian Church
Blackhawk Area 660
3400 6th Ave
Sterling, IL 61081


First Christian Church
Blue Grass Council 204
100 Michigan Ave
Monticello, KY 42633


First Christian Church
Blue Grass Council 204
112 E College St
Georgetown, KY 40324


First Christian Church
Blue Grass Council 204
206 Chestnut St
Berea, KY 40403


First Christian Church
Blue Grass Council 204
222 W Main St
Mt Sterling, KY 40353


First Christian Church
Blue Grass Council 204
300 S Main St
Lawrenceburg, KY 40342


First Christian Church
Blue Grass Council 204
316 Ann St
Frankfort, KY 40601


First Christian Church
Blue Grass Council 204
555 E Lexington Ave
Danville, KY 40422


First Christian Church
Blue Grass Council 204
Hwy 39
Somerset, KY 42503


First Christian Church
Blue Grass Council 204
P.O. Box 414
Barbourville, KY 40906


First Christian Church
Blue Mountain Council 604
775 W Highland Ave
Hermiston, OR 97838


First Christian Church
Blue Ridge Mtns Council 599
524 Jefferson Ave N
Pulaski, VA 24301


First Christian Church
Blue Ridge Mtns Council 599
712 Front Ave
Salem, VA 24153


First Christian Church
Buckskin 617
2200 Bland Rd
Bluefield, WV 24701


First Christian Church
Buffalo Trace 156
4544 State Rd 261
Newburgh, IN 47630


First Christian Church
Central Florida Council 083
2880 W Jay Jay Rd
Titusville, FL 32796


First Christian Church
Cherokee Area Council 469 469
520 SE Osage
Bartlesville, OK 74003


First Christian Church
Cimarron Council 474
614 Manvel Ave
Chandler, OK 74834


First Christian Church
Circle Ten Council 571
1109 Brown St
Waxahachie, TX 75165


First Christian Church
Circle Ten Council 571
1800 W Hunt St
Mckinney, TX 75069


First Christian Church
Circle Ten Council 571
405 N Adelaide St
Terrell, TX 75160


First Christian Church
Circle Ten Council 571
900 Robbins Rd
Athens, TX 75751


First Christian Church
Coastal Georgia Council 099
412 Mcdonald St
Waycross, GA 31501


First Christian Church
Coronado Area Council 192
115 Courthouse Plz
Manhattan, KS 66502


First Christian Church
Crossroads of America 160
107 W 3rd St
Sheridan, IN 46069
First Christian Church
Crossroads of America 160
110 S Indiana St
Greencastle, IN 46135


First Christian Church
Crossroads of America 160
16377 Herriman Blvd
Noblesville, IN 46060


First Christian Church
Crossroads of America 160
2000 Bundy Ave
New Castle, IN 47362


First Christian Church
Dan Beard Council, Bsa 438
14 W 5th St
Covington, KY 41011


First Christian Church
Dan Beard Council, Bsa 438
4520 Rosedale Rd
Middletown, OH 45042


First Christian Church
Dan Beard Council, Bsa 438
80 Evanwood Dr
Owenton, KY 40359


First Christian Church
Disciples Of Christ
Greater Los Angeles Area 033
P.O. Box 698
Glendora, Ca 91740


First Christian Church
East Carolina Council 426
124 Trott Rd
Richlands, NC 28574
First Christian Church
East Carolina Council 426
401 E 2nd St
Washington, NC 27889


First Christian Church
East Carolina Council 426
509 E Main St
Plymouth, NC 27962


First Christian Church
East Texas Area Council 585
4202 S Broadway Ave
Tyler, TX 75701


First Christian Church
Great Rivers Council 653
130 N Jefferson Ave
Marshall, MO 65340


First Christian Church
Great Rivers Council 653
1416 N Main St
Brookfield, MO 64628


First Christian Church
Great Rivers Council 653
200 S Limit Ave
Sedalia, MO 65301


First Christian Church
Great Rivers Council 653
6th   S Carolina
Louisiana, MO 63353


First Christian Church
Great Smoky Mountain Council 557
510 N Chamberlain Ave
Rockwood, TN 37854


First Christian Church
Great Trail 433
4797 Sharon Copley Rd
Medina, OH 44256


First Christian Church
Greater St Louis Area Council 312
105 N Maple St
Christopher, IL 62822


First Christian Church
Greater St Louis Area Council 312
201 S Main St
Paris, IL 61944


First Christian Church
Greater St Louis Area Council 312
310 S Main St
Edwardsville, IL 62025


First Christian Church
Greater St Louis Area Council 312
P.O. Box 266
Herrick, IL 62431


First Christian Church
Greater Yosemite Council 059
1125 N Union Rd
Manteca, CA 95336


First Christian Church
Heart of America Council 307
1000 Kentucky St
Lawrence, KS 66044


First Christian Church
Heart of America Council 307
101 E Gay St
Warrensburg, MO 64093


First Christian Church
Heart of America Council 307
130 N 6th St
Leavenworth, KS 66048
First Christian Church
Heart of America Council 307
602 N 1st St
Louisburg, KS 66053


First Christian Church
Hoosier Trails Council 145 145
512 W Main St
Madison, IN 47250


First Christian Church
Hoosier Trails Council 145 145
525 N Indiana St
Mooresville, IN 46158


First Christian Church
Hoosier Trails Council 145 145
531 5th St
Columbus, IN 47201


First Christian Church
Illowa Council 133
105 Dwight St
Kewanee, IL 61443


First Christian Church
Illowa Council 133
120 N Mcarthur St
Macomb, IL 61455


First Christian Church
Indian Nations Council 488
2602 S Elm Pl
Broken Arrow, OK 74012


First Christian Church
Lasalle Council 165
1507 Glendale Blvd
Valparaiso, IN 46383
First Christian Church
Last Frontier Council 480
201 E 2nd St
Edmond, OK 73034


First Christian Church
Last Frontier Council 480
201 W 1st St
Edmond, OK 73003


First Christian Church
Last Frontier Council 480
415 E 1st St
Luther, OK 73054


First Christian Church
Last Frontier Council 480
629 NW 12th St
Moore, OK 73160


First Christian Church
Last Frontier Council 480
701 SW D Ave
Lawton, OK 73501


First Christian Church
Last Frontier Council 480
P.O. Box 626
Chickasha, OK 73023


First Christian Church
Laurel Highlands Council 527
55 Providence St
Benevolent Fund
Everett, PA 15537


First Christian Church
Lincoln Heritage Council 205
100 Eminence Pike
Shelbyville, KY 40065


First Christian Church
Lincoln Heritage Council 205
1106 State St
Bowling Green, KY 42101


First Christian Church
Lincoln Heritage Council 205
2601 S Walnut St
Hopkinsville, KY 42240


First Christian Church
Lincoln Heritage Council 205
3209 Middle Rd
Jeffersonville, IN 47130


First Christian Church
Lincoln Heritage Council 205
700 J R Miller Blvd
Owensboro, KY 42303


First Christian Church
Longhorn Council 662
910 S Collins St
Arlington, TX 76010


First Christian Church
Los Padres Council 053
P.O. Box 1056
Lompoc, CA 93438


First Christian Church
Mason Dixon Council 221
1345 Potomac Ave
Hagerstown, MD 21742


First Christian Church
Mid Iowa Council 177
1905 S Main St
Fairfield, IA 52556


First Christian Church
Middle Tennessee Council 560
368 W Main St
Linden, TN 37096


First Christian Church
Mississippi Valley Council 141 141
961 Walnut St
Hamilton, IL 62341


First Christian Church
Mississippi Valley Council 141 141
P.O. Box 952
1221 Park Ave
Burlington, IA 52601


First Christian Church
Montana Council 315
2701 S Russell St
Missoula, MT 59801


First Christian Church
Mount Baker Council, Bsa 606
495 E Bakerview Rd
Bellingham, WA 98226


First Christian Church
Muskingum Valley Council, Bsa 467
1127 Beatty Ave
Cambridge, OH 43725


First Christian Church
New Birth of Freedom 544
442 Hummel Ave
Lemoyne, PA 17043


First Christian Church
North Florida Council 087
11924 San Jose Blvd
Jacksonville, FL 32223


First Christian Church
North Florida Council 087
1908 E Fort King St
Ocala, FL 34471
First Christian Church
North Florida Council 087
2876 Moody Ave
Orange Park, FL 32073


First Christian Church
North Florida Council 087
3411 NW 83rd St
Gainesville, FL 32606


First Christian Church
Northwest Texas Council 587
3701 Taft Blvd
Wichita Falls, TX 76308


First Christian Church
Orange County Council 039
1207 Main St
Huntington Beach, CA 92648


First Christian Church
Oregon Trail Council 697
12th   Nyssa St
Junction City, OR 97448


First Christian Church
Ore‐Ida Council 106 ‐ Bsa 106
619 12th Ave S
Nampa, ID 83651


First Christian Church
Ore‐Ida Council 106 ‐ Bsa 106
629 12th Ave S
Nampa, ID 83651


First Christian Church
Ozark Trails Council 306
1314 Oak Ridge Dr
Neosho, MO 64850
First Christian Church
Ozark Trails Council 306
3020 Roberts Rd
Baxter Springs, KS 66713


First Christian Church
Ozark Trails Council 306
407 W Broadway St
Bolivar, MO 65613


First Christian Church
Ozark Trails Council 306
705 E Centennial Dr
Pittsburg, KS 66762


First Christian Church
Ozark Trails Council 306
919 S Main St
Galena, KS 66739


First Christian Church
Ozark Trails Council 306
Washington   Austin
Nevada, MO 64772


First Christian Church
Pony Express Council 311
1700 Princeton Rd
Trenton, MO 64683


First Christian Church
Pony Express Council 311
P.O. Box 422
Bethany, MO 64424


First Christian Church
Pushmataha Area Council 691
P.O. Box 208
West Point, MS 39773


First Christian Church
Quapaw Area Council 018
2600 Woodsprings Rd
Jonesboro, AR 72404


First Christian Church
Quapaw Area Council 018
2721 W Beebe Capps Expy
Searcy, AR 72143


First Christian Church
Quapaw Area Council 018
2803 E Kiehl Ave
Sherwood, AR 72120


First Christian Church
Quapaw Area Council 018
P.O. Box 1588
Pine Bluff, AR 71613


First Christian Church
Quivira Council, Bsa 198
204 N Chautauqua St
Sedan, KS 67361


First Christian Church
Rainbow Council 702
455 W Smor Rd
Morris, IL 60450


First Christian Church
Sagamore Council 162
106 S Market St
Winamac, IN 46996


First Christian Church
Sagamore Council 162
854 N 300 W
Kokomo, IN 46901


First Christian Church
Sequoia Council 027
505 W Cameron St
Hanford, CA 93230
First Christian Church
Snake River Council 111
601 Shoshone St N
Twin Falls, ID 83301


First Christian Church
South Georgia Council 098
1905 N Patterson St
Valdosta, GA 31602


First Christian Church
South Texas Council 577
715 N Saint Marys St
Beeville, TX 78102


First Christian Church
Tecumseh 439
215 E Sandusky Ave
Bellefontaine, OH 43311


First Christian Church
Texas Trails Council 561
201 S Walnut
P.O. Box 2316
Albany, TX 76430


First Christian Church
Texas Trails Council 561
2411 Coggin Ave
Brownwood, TX 76801


First Christian Church
Texas Trails Council 561
P.O. Box 2316
Albany, TX 76430


First Christian Church
W D Boyce 138
115 N Washington St
Mount Pulaski, IL 62548
First Christian Church
Westmoreland Fayette 512
P.O. Box 297
Perryopolis, PA 15473


First Christian Church
Winnebago Council, Bsa 173
1302 W 11th St
Cedar Falls, IA 50613


First Christian Church
Women S / Men S Fellowships
W D Boyce 138
1201 Chestnut St
Pekin, Il 61554


First Christian Church   Kiwanis Club
East Texas Area Council 585
4202 S Broadway Ave
Tyler, TX 75701


First Christian Church ‐ Emporia
Jayhawk Area Council 197
202 E 12th Ave
Emporia, KS 66801


First Christian Church ‐ Minerva
Buckeye Council 436
300 W Lincolnway
Minerva, OH 44657


First Christian Church ‐ Oskaloosa
Mid Iowa Council 177
119 A Ave E
Oskaloosa, IA 52577


First Christian Church ‐ Scottsbluff
Longs Peak Council 062
2102 Ave A
Scottsbluff, NE 69361
First Christian Church ‐ Winterset
Mid Iowa Council 177
103 W Green St
Winterset, IA 50273


First Christian Church Bowling Green
Lincoln Heritage Council 205
1106 State St
Bowling Green, KY 42101


First Christian Church Bryan
College Station
Sam Houston Area Council 576
700 S Ennis
Bryan, Tx 77803


First Christian Church Canyon Country
W.L.A.C.C. 051
27421 Homyr Pl
Canyon Country, CA 91351


First Christian Church Little Rock
Quapaw Area Council 018
1500 N Mississippi St
Little Rock, AR 72207


First Christian Church Madisonville
Lincoln Heritage Council 205
1030 College Dr
Madisonville, KY 42431


First Christian Church Mens Fellowship
W D Boyce 138
1201 Chestnut St
Pekin, IL 61554


First Christian Church Mens Group
Pony Express Council 311
7th   Santa Fe
Atchison, KS 66002


First Christian Church Of Allen
Circle Ten Council 571
1207 Twin Creeks Dr
Allen, TX 75013


First Christian Church Of Anna
Circle Ten Council 571
P.O. Box 365
Anna, TX 75409


First Christian Church Of Beaches
North Florida Council 087
2125 Ocean Front
Neptune Beach, FL 32266


First Christian Church Of Carrollton
Circle Ten Council 571
1835 Walnut Ave
Carrollton, TX 75006


First Christian Church Of Casper
Greater Wyoming Council 638
520 Cy Ave
Casper, WY 82601


First Christian Church Of Duncan
Last Frontier Council 480
912 W Walnut Ave
Duncan, OK 73533


First Christian Church Of Duncanville
Circle Ten Council 571
203 S Main St
Duncanville, TX 75116


First Christian Church Of Fayette
Great Rivers Council 653
307 N Church St
Fayette, MO 65248


First Christian Church Of Garland
Circle Ten Council 571
115 S Glenbrook Dr
Garland, TX 75040


First Christian Church Of Independence
Heart of America Council 307
125 S Pleasant St
Independence, MO 64050


First Christian Church Of Independence
Quivira Council, Bsa 198
319 W Laurel St
Independence, KS 67301


First Christian Church Of Lake Butler
North Florida Council 087
155 NW 1st St
Lake Butler, FL 32054


First Christian Church Of Lufkin
East Texas Area Council 585
1300 S 1st St
Lufkin, TX 75901


First Christian Church Of Mckinney
Circle Ten Council 571
1800 W Hunt St
Mckinney, TX 75069


First Christian Church Of Melissa
Circle Ten Council 571
P.O. Box 606
Melissa, TX 75454


First Christian Church Of Monongahela
Laurel Highlands Council 527
Chess St   6th St
Monongahela, PA 15063


First Christian Church Of Nkc
Heart of America Council 307
2018 Gentry St
Kansas City, MO 64116
First Christian Church Of Nkc
Heart of America Council 307
2018 Gentry St
North Kansas City, MO 64116


First Christian Church Of Olathe
Heart of America Council 307
200 E Loula St
Olathe, KS 66061


First Christian Church Of Poplar Bluff
Greater St Louis Area Council 312
1601 N Main St
Poplar Bluff, MO 63901


First Christian Church Of Port Orchard
Chief Seattle Council 609
4885 SW Hovde Rd
Port Orchard, WA 98367


First Christian Church Of Rowlett
Circle Ten Council 571
7301 Miller Rd
Rowlett, TX 75088


First Christian Church Of Sikeston
Greater St Louis Area Council 312
1006 N Main St
Sikeston, MO 63801


First Christian Church Of Smithville
Heart of America Council 307
201 N Bridge St
Smithville, MO 64089


First Christian Church Of Stow
Great Trail 433
3493 Darrow Rd
Stow, OH 44224


First Christian Church Of Texas City
Bay Area Council 574
2400 21st St N
Texas City, TX 77590


First Christian Church Of Topeka
Jayhawk Area Council 197
1880 SW Gage Blvd
Topeka, KS 66604


First Christian Church Of Tullahoma
Middle Tennessee Council 560
P.O. Box 606
Tullahoma, TN 37388


First Christian Church Of Waxahachie
Circle Ten Council 571
1109 Brown St
Waxahachie, TX 75165


First Christian Church Of Wellington
Quivira Council, Bsa 198
123 W 9th St
Wellington, KS 67152


First Christian Church Of Winnsboro
East Texas Area Council 585
P.O. Box 556
Winnsboro, TX 75494


First Christian Church San Marcos
Capitol Area Council 564
3105 Ranch Rd 12
San Marcos, TX 78666


First Christian Church Wagoner
Indian Nations Council 488
415 NE 2nd St
Wagoner, OK 74467


First Christian Disciples Of Christ
Mountaineer Area 615
100 Cobun Ave
Morgantown, WV 26501


First Church ‐ Christ Experience
Last Frontier Council 480
131 NW 4th St
Oklahoma City, OK 73102


First Church Congregational
Connecticut Yankee Council Bsa 072
148 Beach Rd
Fairfield, CT 06824


First Church Congregational
Lake Erie Council 440
22 Liberty St
Painesville, OH 44077


First Church Of Bethlehem
Connecticut Rivers Council, Bsa 066
Main St
Bethlehem, CT 06751


First Church Of Christ
Cape Cod and Islands Cncl 224
136 Old Main St
Sandwich, MA 02563


First Church Of Christ
Connecticut Rivers Council, Bsa 066
12 S Main St
West Hartford, CT 06107


First Church Of Christ
Connecticut Rivers Council, Bsa 066
190 Court St
Middletown, CT 06457


First Church Of Christ
Connecticut Rivers Council, Bsa 066
P.O. Box 251
61 Main St
Unionville, CT 06085
First Church Of Christ
Connecticut Yankee Council Bsa 072
5 Meetinghouse Ln
Woodbridge, CT 06525


First Church Of Christ
Connecticut Yankee Council Bsa 072
511 Amity Rd
Bethany, CT 06524


First Church Of Christ
Dan Beard Council, Bsa 438
6080 Camp Ernst Rd
Burlington, KY 41005


First Church Of Christ
Prairielands 117
715 W Vermilion St
Catlin, IL 61817


First Church Of Christ   Eccles Society
Connecticut Rivers Council, Bsa 066
689 Hopmeadow St
Simsbury, CT 06070


First Church Of Christ Congregational
Connecticut Rivers Council, Bsa 066
366 Main St
Old Saybrook, CT 06475


First Church Of Christ Scientist Salem
Cascade Pacific Council 492
935 High St Se
Salem, OR 97302


First Church Of Evans
Greater Niagara Frontier Council 380
7431 Erie Rd
Derby, NY 14047
First Church Of God
Great Rivers Council 653
803 Union Ave
Moberly, MO 65270


First Church Of God
Sioux Council 733
P.O. Box 477
702 N Broadway
Marion, SD 57043


First Church Of God
Southern Shores Fsc 783
2627 Niles Ave
Saint Joseph, MI 49085


First Church Of God ‐ Alliance
Buckeye Council 436
505 N Lincoln Ave
Alliance, OH 44601


First Church Of Ipswich
The Spirit of Adventure 227
Meeting House Green
Ipswich, MA 01938


First Church Of Lombard
Three Fires Council 127
220 S Main St
Lombard, IL 60148


First Church Of Monson
Western Massachusetts Council 234
5 High St
Monson, MA 01057


First Church Of Pembroke
Mayflower Council 251
P.O. Box 576
Pembroke, MA 02359


First Church Of Squantum Congregational
The Spirit of Adventure 227
164 Bellevue Rd
Quincy, MA 02171


First Church Of The Nazarene
Buffalo Trail Council 567
1400 S Lancaster St
Big Spring, TX 79720


First Church Of The Nazarene
Cimarron Council 474
104 E Wichita Ave
Cleveland, OK 74020


First Church Of The Nazarene
Juniata Valley Council 497
5851 Newton Ave
Mcconnellstown, PA 16660


First Church Of The Nazarene
Last Frontier Council 480
910 S Reno Ave
El Reno, OK 73036


First Church Of The Nazarene
Lincoln Heritage Council 205
600 E Main St
Glasgow, KY 42141


First Church Of The Nazarene
Longs Peak Council 062
2515 W 16th St
Greeley, CO 80634


First Church Of The Nazarene
Ore‐Ida Council 106 ‐ Bsa 106
601 16th Ave S
Nampa, ID 83651


First Church Of The Nazarene
Sagamore Council 162
201 Veterans Memorial Pkwy E
Lafayette, IN 47905


First Church Of The Nazarene Pasadena
Greater Los Angeles Area 033
3700 E Sierra Madre Blvd
Pasadena, CA 91107


First Church West Of Plantation
South Florida Council 084
9904 NW 77th St
Tamarac, FL 33321


First Citizens Bank
2230 Winghouse Blvd
Charlotte, NC 28241


First Class Wiring Inc
P.O. Box 7122
Traverse City, MI 49696


First Clearing, LLC
One N Jefferson Ave
St Louis, MO 63103


First Coast High School Sn
North Florida Council 087
590 Duval Station Rd
Jacksonville, FL 32218


First Colony Christian Church
Sam Houston Area Council 576
4141 Sweetwater Blvd
Sugar Land, TX 77479


First Colony Church Of Christ
Sam Houston Area Council 576
2140 First Colony Blvd
Sugar Land, TX 77479


First Commerce Bank
Middle Tennessee Council 560
500 N Ellington Pkwy
Lewisburg, TN 37091


First Community Utd Methodist Church
The Spirit of Adventure 227
55 Otis St
Medford, MA 02155


First Cong Ch Tosa Christian Ed Board
Three Harbors Council 636
1511 Church St
Wauwatosa, WI 53213


First Congregational
Oregon Trail Council 697
1050 E 23rd Ave
Eugene, OR 97405


First Congregational Church
Abraham Lincoln Council 144
2100 S Bates Ave
Springfield, IL 62704


First Congregational Church
Baden‐Powell Council 368
309 Highland Rd
Ithaca, NY 14850


First Congregational Church
Baden‐Powell Council 368
P.O. Box 217
5016 Creek Rd
Harford, PA 18823


First Congregational Church
Blackhawk Area 660
11628 Main St
Huntley, IL 60142


First Congregational Church
Blackhawk Area 660
461 Pierson St
Crystal Lake, IL 60014


First Congregational Church
California Inland Empire Council 045
2 W Olive Ave
Redlands, CA 92373


First Congregational Church
Connecticut Rivers Council, Bsa 066
111 Church Dr
Cheshire, CT 06410


First Congregational Church
Connecticut Rivers Council, Bsa 066
124 Scantic Rd
East Windsor, CT 06088


First Congregational Church
Connecticut Rivers Council, Bsa 066
221 N Granby Rd
Granby, CT 06035


First Congregational Church
Connecticut Rivers Council, Bsa 066
835 Riverside Ave
Torrington, CT 06790


First Congregational Church
Connecticut Rivers Council, Bsa 066
837 Main St
East Hartford, CT 06108


First Congregational Church
Connecticut Rivers Council, Bsa 066
P.O. Box 147
Woodstock, CT 06281


First Congregational Church
Connecticut Rivers Council, Bsa 066
Rt 207
Lebanon, CT 06249
First Congregational Church
Connecticut Rivers Council, Bsa 066
Rte 6 Box 107
Andover, CT 06232


First Congregational Church
Connecticut Yankee Council Bsa 072
1 Church St
West Haven, CT 06516


First Congregational Church
Connecticut Yankee Council Bsa 072
122 Broad St
Guilford, CT 06437


First Congregational Church
Connecticut Yankee Council Bsa 072
23 S Main St
Wallingford, CT 06492


First Congregational Church
Connecticut Yankee Council Bsa 072
2301 Main St
Stratford, CT 06615


First Congregational Church
Daniel Webster Council, Bsa 330
301 Pembroke St
Pembroke, NH 03275


First Congregational Church
Daniel Webster Council, Bsa 330
508 Union St
Manchester, NH 03104


First Congregational Church
Daniel Webster Council, Bsa 330
P.O. Box 230
South Park St
Lebanon, NH 03766
First Congregational Church
Grand Canyon Council 010
216 E Gurley St
Prescott, AZ 86301


First Congregational Church
Greater St Louis Area Council 312
105 S Franklin St
Bunker Hill, IL 62014


First Congregational Church
Green Mountain 592
39 Main St
Essex Junction, VT 05452


First Congregational Church
Green Mountain 592
Brattleboro Vt
Brattleboro, VT 05301


First Congregational Church
Katahdin Area Council 216
P.O. Box 232
Cherryfield, ME 04622


First Congregational Church
Mayflower Council 251
100 Winter St
Norwood, MA 02062


First Congregational Church
Mayflower Council 251
519 Washington St
Whitman, MA 02382


First Congregational Church
Mayflower Council 251
725 Washington St
Holliston, MA 01746


First Congregational Church
Northern New Jersey Council, Bsa 333
19 Church St
Verona, NJ 07044


First Congregational Church
Oregon Trail Council 697
4515 SW W Hills Rd
Corvallis, OR 97333


First Congregational Church
Ore‐Ida Council 106 ‐ Bsa 106
515 E 15th N
Mountain Home, ID 83647


First Congregational Church
Pathway To Adventure 456
1047 Curtiss St
Downers Grove, IL 60515


First Congregational Church
Pathway To Adventure 456
1106 Chestnut St
Western Springs, IL 60558


First Congregational Church
Pine Tree Council 218
167 Black Point Rd
Scarborough, ME 04074


First Congregational Church
Pine Tree Council 218
17 E Main St
South Paris, ME 04281


First Congregational Church
Pine Tree Council 218
S High St
Bridgton, ME 04009


First Congregational Church
Potawatomi Area Council 651
231 Roberts Dr
Mukwonago, WI 53149
First Congregational Church
President Gerald R Ford 781
126 E Cass St
Greenville, MI 48838


First Congregational Church
President Gerald R Ford 781
201 S 2nd Ave
Alpena, MI 49707


First Congregational Church
President Gerald R Ford 781
312 Hoffman St
Saugatuck, MI 49453


First Congregational Church
President Gerald R Ford 781
6105 Center Rd
Traverse City, MI 49686


First Congregational Church
Quivira Council, Bsa 198
3410 N Plum St
Hutchinson, KS 67502


First Congregational Church
Sequoia Council 027
165 E Mill Ave
Porterville, CA 93257


First Congregational Church
Southern Shores Fsc 783
2001 Niles Ave
Saint Joseph, MI 49085


First Congregational Church
Southern Shores Fsc 783
651 Phoenix St
South Haven, MI 49090
First Congregational Church
The Spirit of Adventure 227
1 Church St
Stoneham, MA 02180


First Congregational Church
The Spirit of Adventure 227
121 W Foster St
Melrose, MA 02176


First Congregational Church
The Spirit of Adventure 227
18 Andover Rd
Billerica, MA 01821


First Congregational Church
The Spirit of Adventure 227
21 Church St
Winchester, MA 01890


First Congregational Church
The Spirit of Adventure 227
7 Andover St
Georgetown, MA 01833


First Congregational Church
Three Fires Council 127
535 Forest Ave
Glen Ellyn, IL 60137


First Congregational Church
Water and Woods Council 782
106 S Bostwick St
Charlotte, MI 48813


First Congregational Church
Water and Woods Council 782
P.O. Box 296
Breckenridge, MI 48615


First Congregational Church
Westchester Putnam 388
210 Orchard Ridge Rd
Chappaqua, NY 10514


First Congregational Church
Western Massachusetts Council 234
7 Somers Rd
East Longmeadow, MA 01028


First Congregational Church
Western Massachusetts Council 234
P.O. Box 395
25 Park Pl
Lee, MA 01238


First Congregational Church ‐ Braintree
Mayflower Council 251
12 Elm St
Braintree, MA 02184


First Congregational Church ‐ Plympton
Mayflower Council 251
254 Main St
Plympton, MA 02367


First Congregational Church ‐ Ucc
Lake Erie Council 440
P.O. Box 66
Berlin Heights, OH 44814


First Congregational Church ‐ Ucc
Longs Peak Council 062
1500 9th Ave
Longmont, CO 80501


First Congregational Church Hanover
Mayflower Council 251
515 Hanover St
Hanover, MA 02339


First Congregational Church Norwich
Connecticut Rivers Council, Bsa 066
81 E Town St
Norwich, CT 06360


First Congregational Church Of Bethlehem
Connecticut Rivers Council, Bsa 066
Main St S
Bethlehem, CT 06751


First Congregational Church Of Brimfield
Western Massachusetts Council 234
P.O. Box 203
Brimfield, MA 01010


First Congregational Church Of Camden
Pine Tree Council 218
55 Elm St
Camden, ME 04843


First Congregational Church Of Charlotte
Water and Woods Council 782
106 S Bostwick St
Charlotte, MI 48813


First Congregational Church Of Dalton
Western Massachusetts Council 234
514 Main St
Dalton, MA 01226


First Congregational Church Of Fairhaven
Narragansett 546
34 Center St
Fairhaven, MA 02719


First Congregational Church Of Greenwich
Greenwich 067
108 Sound Beach Ave
Greenwich
Old Greenwich, CT 06870


First Congregational Church Of Hamilton
The Spirit of Adventure 227
624 Bay Rd
Hamilton, MA 01936
First Congregational Church Of Hudson
Great Trail 433
47 Aurora St
Hudson, OH 44236


First Congregational Church Of Lasalle
W D Boyce 138
502 Joliet St
P.O. Box 522
La Salle, IL 61301


First Congregational Church Of Ledyard
Connecticut Rivers Council, Bsa 066
P.O. Box 77
Ledyard, CT 06339


First Congregational Church Of Lee
Western Massachusetts Council 234
P.O. Box 395
25 Park Pl
Lee, MA 01238


First Congregational Church Of Old Lyme
Connecticut Rivers Council, Bsa 066
2 Ferry Rd
Old Lyme, CT 06371


First Congregational Church Of Pelham
Daniel Webster Council, Bsa 330
2 Main St
Pelham, NH 03076


First Congregational Church Of Perris
California Inland Empire Council 045
100 N A St
Perris, CA 92570


First Congregational Church Of Peru
W D Boyce 138
1431 4th St
Peru, IL 61354
First Congregational Church Of Raynham
Narragansett 546
785 S Main St
Raynham, MA 02767


First Congregational Church Of Rowley
The Spirit of Adventure 227
175 Main St
Rowley, MA 01969


First Congregational Church Of Royal Oak
Great Lakes Fsc 272
1314 Nwood Blvd
Royal Oak, MI 48073


First Congregational Church Of Santa Ana
Orange County Council 039
2555 Santiago St
Santa Ana, CA 92706


First Congregational Church Of Tallmadge
Great Trail 433
85 Heritage Dr
Tallmadge, OH 44278


First Congregational Church Of Twinsburg
Lake Erie Council 440
9050 Church St
Twinsburg, OH 44087


First Congregational Church Of Vernon
Connecticut Rivers Council, Bsa 066
695 Hartford Tpke
Vernon, CT 06066


First Congregational Church Of Warwick
Narragansett 546
715 Oakland Beach Ave
Warwick, RI 02889
First Congregational Church Of Wayne
Great Lakes Fsc 272
2 Towne Square St
Wayne, MI 48184


First Congregational Church Of Wilmette
Northeast Illinois 129
1125 Wilmette Ave
Wilmette, IL 60091


First Congregational Church Rock Springs
Trapper Trails 589
1275 Adams Ave
Rock Springs, WY 82901


First Congregational Church Ucc
Longs Peak Council 062
2101 16th St
Greeley, CO 80631


First Congregational Church Ucc
Water and Woods Council 782
6494 Belsay Rd
Grand Blanc, MI 48439


First Congregational Church Womens Guild
Western Massachusetts Council 234
20 Lathrop St
West Springfield, MA 01089


First Congregational Church‐Wayne
Great Lakes Fsc 272
2 Towne Square St
Wayne, MI 48184


First Congregational Of Mccook
Overland Trails 322
P.O. Box 655
212 E E St
Mccook, NE 69001


First Congregational Of Sullivan
Buckeye Council 436
503 US Hwy 224
Sullivan, OH 44880


First Congregational U.C.C.
Montana Council 315
310 N 27th St
Billings, MT 59101


First Congregational Ucc
Leatherstocking 400
1 Bridge St
Sidney, NY 13838


First Congregational Ucc
Potawatomi Area Council 651
P.O. Box 273
Oconomowoc, WI 53066


First Congregational Ucc Church
Glaciers Edge Council 620
741 E High St
Milton, WI 53563


First Congregational Ucc Of Eagle River
Samoset Council, Bsa 627
105 N First
Eagle River, WI 54521


First Congregational Utd Church
Longs Peak Council 062
1500 9th Ave
Boulder, CO 80501


First Corinth Missionary Baptist
Atlanta Area Council 092
2165 Donald Lee Hollowell Pkwy Nw
Atlanta, GA 30318


First Corporate Sedans Inc
General Post Office
P.O. Box 5389
New York, NY 10087‐5389


First Covenant Church
Northern Star Council 250
801 Willmar Ave Sw
Willmar, MN 56201


First Cumberland Presbyterian Church
Great Smoky Mountain Council 557
6900 Nubbin Ridge Dr
Knoxville, TN 37919


First Cumberland Presbyterian Church
West Tennessee Area Council 559
16835 Highland Dr
Mc Kenzie, TN 38201


First Cumberland Presbyterian Church
West Tennessee Area Council 559
1730 Hwy 45 Byp
Jackson, TN 38305


First Dakota National Bank
Sioux Council 733
P.O. Box 718
Parkston, SD 57366


First Degree, LLC
4300 Tullamore Estates
Gainesville, VA 20155


First District Police
Greater St Louis Area Council 312
3157 Sublette Ave
Saint Louis, MO 63139


First English Lutheran Church
Blackhawk Area 660
215 W Pine St
Platteville, WI 53818
First English Lutheran Church
Blackhawk Area 660
303 S Galena Ave
Freeport, IL 61032


First English Lutheran Church
Capitol Area Council 564
3001 Whitis Ave
Austin, TX 78705


First English Lutheran Church
Montana Council 315
1243 N 31st St
Billings, MT 59101


First English Lutheran Church
Northern Star Council 250
204 2nd St Nw
Faribault, MN 55021


First English Lutheran Church
Samoset Council, Bsa 627
440 Garfield St
Wisconsin Rapids, WI 54494


First Evangelical Church
Chickasaw Council 558
735 Ridge Lake Blvd
Memphis, TN 38120


First Evangelical Community Church
Greater Los Angeles Area 033
11330 166th St
Cerritos, CA 90703


First Evangelical Free Church
Illowa Council 133
3321 7th St
Moline, IL 61265


First Evangelical Lutheran Church
Abraham Lincoln Council 144
301 W 4th St
Beardstown, IL 62618


First Evangelical Lutheran Church
Baltimore Area Council 220
3604 Chatham Rd
Ellicott City, MD 21042


First Evangelical Lutheran Church
Baltimore Area Council 220
8397 Piney Orchard Pkwy
C / O Felco
Odenton, MD 21113


First Evangelical Lutheran Church
Bay Area Council 574
2415 Winnie St
Galveston, TX 77550


First Evangelical Lutheran Church
Chief Seattle Council 609
10207 NE 183rd St
Bothell, WA 98011


First Evangelical Lutheran Church
Cornhusker Council 324
315 S 16th St
Nebraska City, NE 68410


First Evangelical Lutheran Church
Gamehaven 299
309 Forest St
Kenyon, MN 55946


First Evangelical Lutheran Church
Great Trail 433
249 2nd St Nw
Barberton, OH 44203


First Evangelical Lutheran Church
Longs Peak Council 062
803 3rd Ave
Longmont, CO 80501


First Evangelical Lutheran Church
Old N State Council 070
3600 W Friendly Ave
Greensboro, NC 27410


First Evangelical Lutheran Church
Tecumseh 439
287 W Main St
Xenia, OH 45385


First Faith Missionary Baptist Church
Cradle of Liberty Council 525
1705 Highland Ave
Chester, PA 19013


First Farragut Utd Methodist Church
Great Smoky Mountain Council 557
12733 Kingston Pike
Knoxville, TN 37934


First Federated Church
Great Trail 433
10786 Mahoning Ave
North Jackson, OH 44451


First Financial Asset Management, Inc
P.O. Box 56245
Atlanta, GA 30343


First Free Will Baptist Church
East Carolina Council 426
3150 Wern Blvd
Tarboro, NC 27886


First Friends Church
Mid Iowa Council 177
2409 S 6th St
Marshalltown, IA 50158
First General Baptist Church
Buffalo Trace 156
P.O. Box 347
Owensville, IN 47665


First Good Shepherd Lutheran Church
Las Vegas Area Council 328
301 S Maryland Pkwy
Las Vegas, NV 89101


First Health Moore Regional Hospital
Occoneechee 421
P.O. Box 3000
Pinehurst, NC 28374


First Legal Network, LLC
P.O. Box 844250
Los Angeles, CA 90084‐4250


First Lutheran Brotherhood ‐ Brookings
Sioux Council 733
P.O. Box 300
1st Lutheran Church
Brookings, SD 57006


First Lutheran Church
Alamo Area Council 583
1406 6th St
Floresville, TX 78114


First Lutheran Church
Black Swamp Area Council 449
P.O. Box 434
Stryker, OH 43557


First Lutheran Church
Capitol Area Council 564
P.O. Box 177
Burnet, TX 78611


First Lutheran Church
Cascade Pacific Council 492
725 33rd St
Astoria, OR 97103


First Lutheran Church
Central Minnesota 296
424 S 8th St
Brainerd, MN 56401


First Lutheran Church
Central N Carolina Council 416
230 S 2nd St
Albemarle, NC 28001


First Lutheran Church
East Texas Area Council 585
3901 Bill Owens Pkwy
Longview, TX 75605


First Lutheran Church
Gamehaven 299
100 Peace Rdg
Lake City, MN 55041


First Lutheran Church
Greater Los Angeles Area 033
2900 W Carson St
Torrance, CA 90503


First Lutheran Church
Greater Tampa Bay Area 089
1644 Nursery Rd
Clearwater, FL 33756


First Lutheran Church
Jayhawk Area Council 197
1234 SW Fairlawn Rd
Topeka, KS 66604


First Lutheran Church
Lutheran Brotherhood
Three Fires Council 127
324 N 3Rd St
Dekalb, Il 60115


First Lutheran Church
Mid‐America Council 326
2146 Wright St
Blair, NE 68008


First Lutheran Church
Mid‐America Council 326
3601 Dakota Ave
South Sioux City, NE 68776


First Lutheran Church
Mid‐America Council 326
3939 Cheyenne Blvd
Sioux City, IA 51104


First Lutheran Church
Montana Council 315
415 Johnson St
Wolf Point, MT 59201


First Lutheran Church
New Birth of Freedom 544
43 W Washington St
Chambersburg, PA 17201


First Lutheran Church
North Florida Council 087
1801 NW 5th Ave
Gainesville, FL 32603


First Lutheran Church
Northern Lights Council 429
912 Lake Ave
Detroit Lakes, MN 56501


First Lutheran Church
Northern Star Council 250
703 S Sibley Ave
Litchfield, MN 55355
First Lutheran Church
Overland Trails 322
305 W 5th St
North Platte, NE 69101


First Lutheran Church
Overland Trails 322
3315 G Ave
Kearney, NE 68847


First Lutheran Church
Pony Express Council 311
302 S 10th St
Saint Joseph, MO 64501


First Lutheran Church
Twin Valley Council Bsa 283
1114 W Traverse Rd
Saint Peter, MN 56082


First Lutheran Church
Twin Valley Council Bsa 283
301 W Clark St
Albert Lea, MN 56007


First Lutheran Church
Winnebago Council, Bsa 173
604 W Broadway St
Decorah, IA 52101


First Lutheran Church ‐ Alexandria
Northern Lights Council 429
9th   Douglas
Alexandria, MN 56308


First Lutheran Church ‐ Barron
Chippewa Valley Council 637
4 W La Salle Ave
Barron, WI 54812


First Lutheran Church ‐ Bottineau
Northern Lights Council 429
701 Main St
Bottineau, ND 58318


First Lutheran Church ‐ Minot
Northern Lights Council 429
120 5th Ave Nw
Minot, ND 58703


First Lutheran Church ‐ Watford City
Northern Lights Council 429
212 2 Ave Nw
Watford City, ND 58854


First Lutheran Church Brookings
Sioux Council 733
P.O. Box 300
Brookings, SD 57006


First Lutheran Church Hot Springs
Quapaw Area Council 018
105 Village Rd
Hot Springs, AR 71913


First Lutheran Church Of Colton
Sioux Council 733
405 E 3rd St
Colton, SD 57018


First Lutheran Church Of Gray Manor
Baltimore Area Council 220
212 Oakwood Rd
Baltimore, MD 21222


First Lutheran Church Of Port Orchard
Chief Seattle Council 609
2483 Mitchell Rd Se
Port Orchard, WA 98366


First Lutheran Church Of Poulsbo
Chief Seattle Council 609
P.O. Box 825
Poulsbo, WA 98370


First Lutheran Church Of Red Wing
Gamehaven 299
615 W 5th St
Red Wing, MN 55066


First Lutheran Church Of Richmond Beach
Chief Seattle Council 609
18354 8th Ave Nw
Shoreline, WA 98177


First Lutheran Church Of Shelby
Buckeye Council 436
33 Broadway St
Shelby, OH 44875


First Lutheran Church Of Throggs Neck
Greater New York Councils, Bsa 640
3075 Baisley Ave
Bronx, NY 10461


First Lutheran Church Of Throgsneck
Greater New York Councils, Bsa 640
3075 Baisley Ave
Bronx, NY 10461


First Lutheran Church Torrance
Greater Los Angeles Area 033
2900 W Carson St
Torrance, CA 90503


First Lutheran Church Youth Board
Glaciers Edge Council 620
612 N Randall Ave
Janesville, WI 53545


First Lutheran Church‐Elca
Lake Erie Council 440
1019 W 5th St
Lorain, OH 44052
First Lutheran Mens Club
Northern Lights Council 429
200 E 5th St
Morris, MN 56267


First Maintenance Co
3158 S 108th E Ave, Ste 274
Tulsa, OK 74146


First Methodist Church
Arbuckle Area Council 468
223 NE 1St
Wilson, OK 73463


First Methodist Church
Black Warrior Council 006
1800 3rd Ave S
Jasper, AL 35501


First Methodist Church
Calcasieu Area Council 209
202 N Fifth
Leesville, LA 71446


First Methodist Church
Choctaw Area Council 302
563 E Main St
Philadelphia, MS 39350


First Methodist Church
Circle Ten Council 571
122 N Center St
Grand Prairie, TX 75050


First Methodist Church
Circle Ten Council 571
127 N Roberts Rd
P.O. Box 187
Cedar Hill, TX 75104


First Methodist Church
Circle Ten Council 571
208 S Houston St
Kaufman, TX 75142


First Methodist Church
Circle Ten Council 571
320 N 15th St
Corsicana, TX 75110


First Methodist Church
Circle Ten Council 571
501 S 3rd St
Mabank, TX 75147


First Methodist Church
Circle Ten Council 571
600 Daubitz Dr
Red Oak, TX 75154


First Methodist Church
Circle Ten Council 571
801 W Ave B
Garland, TX 75040


First Methodist Church
Daniel Boone Council 414
6th Ave At Church St
Hendersonville, NC 28739


First Methodist Church
East Carolina Council 426
302 W 2nd St
Washington, NC 27889


First Methodist Church
Flint River Council 095
132 Cherokee Rd
Thomaston, GA 30286


First Methodist Church
Gulf Coast Council 773
820 Belleville Ave
Brewton, AL 36426


First Methodist Church
Last Frontier Council 480
P.O. Box 390
Edmond, OK 73083


First Methodist Church
Last Frontier Council 480
P.O. Box 490
Blanchard, OK 73010


First Methodist Church
Mayflower Council 251
109 Pleasant St
Stoughton, MA 02072


First Methodist Church
Norwela Council 215
401 Gum St
Logansport, LA 71049


First Methodist Church
Norwela Council 215
P.O. Box 1567
Shreveport, LA 71165


First Methodist Church
Old N State Council 070
512 N Main St
High Point, NC 27260


First Methodist Church
Pine Burr Area Council 304
220 3rd St
Picayune, MS 39466


First Methodist Church
Sequoyah Council 713
900 Spring St
Johnson City, TN 37604
First Methodist Church
South Georgia Council 098
General Delivery
Tifton, GA 31794


First Methodist Church
W D Boyce 138
101 S Broadway St
Havana, IL 62644


First Methodist Church
West Tennessee Area Council 559
P.O. Box 25
101 E Blythe St
Paris, TN 38242


First Methodist Church ‐ Clinton
Last Frontier Council 480
1001 Frisco Ave
Clinton, OK 73601


First Methodist Church ‐ Huntsville
Sam Houston Area Council 576
1016 Sam Houston Ave
Huntsville, TX 77320


First Methodist Church ‐ Missouri City
Sam Houston Area Council 576
3900 Lexington Blvd
Missouri City, TX 77459


First Methodist Church Belton
Longhorn Council 662
205 E 3rd Ave
Belton, TX 76513


First Methodist Church Jacksonville
Quapaw Area Council 018
220 W Main St
Jacksonville, AR 72076
First Methodist Church Mens Club
W D Boyce 138
1315 Court St
Pekin, IL 61554


First Methodist Church North Little Rock
Quapaw Area Council 018
6701 John F Kennedy Blvd
North Little Rock, AR 72116


First Methodist Church Of Allen
Circle Ten Council 571
601 S Greenville Ave
Allen, TX 75002


First Methodist Church Of Creston
Mid‐America Council 326
306 S Cherry St
Creston, IA 50801


First Methodist Church Of Evergreen Park
Pathway To Adventure 456
9358 S Homan Ave
Evergreen Park, IL 60805


First Methodist Church Of Royse City
Circle Ten Council 571
P.O. Box 327
Royse City, TX 75189


First Missionary Baptist Church
Greater Alabama Council 001
3509 Blue Spring Rd Nw
Huntsville, AL 35810


First Missionary Baptist Church
Greater Tampa Bay Area 089
200 Ave R Nw
Winter Haven, FL 33881


First Missionary Baptist Church‐Lagrange
East Carolina Council 426
201 N Caswell St
La Grange, NC 28551


First National Bank
Attn Stephanie
P.O. Box 620
Fort Collins, CO 80522


First National Bank Of Fayetteville
Middle Tennessee Council 560
405 College St W
Fayetteville, TN 37334


First National Bank Of Pulaski
Middle Tennessee Council 560
206 S 1st St
Pulaski, TN 38478


First Nazareth Baptist Church
Indian Waters Council 553
2351 Gervais St
Columbia, SC 29204


First Parish Church
Daniel Webster Council, Bsa 330
218 Central Ave
Dover, NH 03820


First Parish Church
Daniel Webster Council, Bsa 330
P.O. Box 114
East Derry, NH 03041


First Parish Church
Pine Tree Council 218
116 Main St
Yarmouth, ME 04096


First Parish Church
The Spirit of Adventure 227
50 Church St
Waltham, MA 02452
First Parish Church Of Yarmouth
Pine Tree Council 218
116 Main St
Yarmouth, ME 04096


First Parish Church Utd
The Spirit of Adventure 227
48 Main St
Westford, MA 01886


First Parish Church, York, Me
United Church OF Christ
Pine Tree Council 218
180 York St
York, Me 03909


First Parish Church‐Congregational
Pine Tree Council 218
40 Main St
Freeport, ME 04032


First Parish Congregational Church
Pine Tree Council 218
1 Church St
Gorham, ME 04038


First Parish Congregational Church
Pine Tree Council 218
116 Main St
Yarmouth, ME 04096


First Parish Congregational Church
Pine Tree Council 218
9 Cleaveland St
Brunswick, ME 04011


First Parish Congregational Church
The Spirit of Adventure 227
1 Church St
Wakefield, MA 01880
First Pentecostal Church
Southeast Louisiana Council 214
384 Robert Blvd
Slidell, LA 70458


First Pentecostal Church Of Masardis
Katahdin Area Council 216
1306 Garfield Rd
Masardis, ME 04732


First Prebyterian Church
Middle Tennessee Council 560
101 Legends Club Ln
Franklin, TN 37069


First Pres Of Debary River City Church
Central Florida Council 083
267 E Highbanks Rd
Debary, FL 32713


First Presbyterian
Quivira Council, Bsa 198
15 N Steuben Ave
Chanute, KS 66720


First Presbyterian
Quivira Council, Bsa 198
Church C/0 Clerk of Session
24th and Washington
Great Bend, KS 67530


First Presbyterian Church
Abraham Lincoln Council 144
116 E Franklin St
Taylorville, IL 62568


First Presbyterian Church
Alabama‐Florida Council 003
201 N Randolph Ave
Eufaula, AL 36027
First Presbyterian Church
Alabama‐Florida Council 003
3012 W Main St
Dothan, AL 36305


First Presbyterian Church
Allegheny Highlands Council 382
54 E Corydon St
Bradford, PA 16701


First Presbyterian Church
Andrew Jackson Council 303
1501 Cherry St
Vicksburg, MS 39180


First Presbyterian Church
Andrew Jackson Council 303
400 State St
Natchez, MS 39120


First Presbyterian Church
Anthony Wayne Area 157
50 E Tipton St
Huntington, IN 46750


First Presbyterian Church
Arbuckle Area Council 468
223 W Broadway St
Ardmore, OK 73401


First Presbyterian Church
Arbuckle Area Council 468
P.O. Box 486
Ardmore, OK 73402


First Presbyterian Church
Atlanta Area Council 092
189 Church St Ne
Marietta, GA 30060


First Presbyterian Church
Baden‐Powell Council 368
367 Church St
Montrose, PA 18801


First Presbyterian Church
Baden‐Powell Council 368
East Main St
Marathon, NY 13803


First Presbyterian Church
Baltimore Area Council 220
224 N Main St
Bel Air, MD 21014


First Presbyterian Church
Baltimore Area Council 220
9325 Presbyterian Cir
Columbia, MD 21045


First Presbyterian Church
Bay Area Council 574
302 S Johnson St
Alvin, TX 77511


First Presbyterian Church
Bay‐Lakes Council 635
1225 4th St Rd
Fond Du Lac, WI 54935


First Presbyterian Church
Bay‐Lakes Council 635
200 Church St
Neenah, WI 54956


First Presbyterian Church
Black Swamp Area Council 449
110 W Crawford St
Van Wert, OH 45891


First Presbyterian Church
Black Swamp Area Council 449
114 W Washington St
Montpelier, OH 43543
First Presbyterian Church
Black Swamp Area Council 449
2330 S Main St
Findlay, OH 45840


First Presbyterian Church
Black Swamp Area Council 449
303 W Washington St
Napoleon, OH 43545


First Presbyterian Church
Black Swamp Area Council 449
96 S Monroe St
Tiffin, OH 44883


First Presbyterian Church
Black Warrior Council 006
900 Greensboro Ave
Tuscaloosa, AL 35401


First Presbyterian Church
Blackhawk Area 660
200 S 5th St
Oregon, IL 61061


First Presbyterian Church
Blackhawk Area 660
208 E Winnebago St
Winnebago, IL 61088


First Presbyterian Church
Blackhawk Area 660
221 N Main St
Belvidere, IL 61008


First Presbyterian Church
Blackhawk Area 660
P.O. Box 441
410 2nd Ave
Sterling, IL 61081
First Presbyterian Church
Blue Grass Council 204
125 W Main St
Mount Sterling, KY 40353


First Presbyterian Church
Blue Grass Council 204
508 Cedar Creek Rd
Pikeville, KY 41501


First Presbyterian Church
Blue Grass Council 204
P.O. Box 1063
Harlan, KY 40831


First Presbyterian Church
Blue Mountain Council 604
2001 W Kennewick Ave
Kennewick, WA 99336


First Presbyterian Church
Blue Mountain Council 604
201 S Dorion Ave
Pendleton, OR 97801


First Presbyterian Church
Blue Mountain Council 604, 6th   Wash
La Grande, OR 97850


First Presbyterian Church
Blue Ridge Council 551
108 Cambridge Ave E
P.O. Box 426
Greenwood, SC 29646


First Presbyterian Church
Blue Ridge Council 551
209 W Washington St
Greenville, SC 29601


First Presbyterian Church
Blue Ridge Council 551
302 W Whitner St
Anderson, SC 29624


First Presbyterian Church
Blue Ridge Council 551
402 W Main St
Laurens, SC 29360


First Presbyterian Church
Blue Ridge Council 551
510 E Curtis St
Simpsonville, SC 29681


First Presbyterian Church
Blue Ridge Mtns Council 599
1215 V E S Rd
Lynchburg, VA 24503


First Presbyterian Church
Blue Ridge Mtns Council 599
2101 Jefferson St Sw
Roanoke, VA 24014


First Presbyterian Church
Blue Ridge Mtns Council 599
408 Jefferson Ave N
Pulaski, VA 24301


First Presbyterian Church
Blue Ridge Mtns Council 599
800 N Main St
South Boston, VA 24592


First Presbyterian Church
Blue Ridge Mtns Council 599
P.O. Box 2
Galax, VA 24333


First Presbyterian Church
Buckskin 617
1015 5th Ave
Huntington, WV 25701


First Presbyterian Church
Buckskin 617
1341 Juliana St
Parkersburg, WV 26101


First Presbyterian Church
Buffalo Trace 156
P.O. Box 824
Olney, IL 62450


First Presbyterian Church
c/o Tom Hoskins
Greater Alabama Council 001
2745 Whistler Ln Se
Owens Cross Rds, AL 35763


First Presbyterian Church
Caddo Area Council 584
516 Pecan St
Texarkana, AR 71854


First Presbyterian Church
California Inland Empire Council 045
33122 Grape St
Wildomar, CA 92595


First Presbyterian Church
California Inland Empire Council 045
869 N Euclid Ave
Upland, CA 91786


First Presbyterian Church
Cape Fear Council 425
125 S 3rd St
Wilmington, NC 28401


First Presbyterian Church
Cape Fear Council 425
511 N Thompson St
Whiteville, NC 28472
First Presbyterian Church
Cape Fear Council 425
P.O. Box 1061
Lumberton, NC 28359


First Presbyterian Church
Central Florida Council 083
106 E Church St
Orlando, FL 32801


First Presbyterian Church
Central Florida Council 083
15 Church St
Kissimmee, FL 34741


First Presbyterian Church
Central Florida Council 083
500 S Highland Ave
Apopka, FL 32703


First Presbyterian Church
Central Florida Council 083
509 Magnolia St
New Smyrna Beach, FL 32168


First Presbyterian Church
Central Florida Council 083
724 N Woodland Blvd
Deland, FL 32720


First Presbyterian Church
Central N Carolina Council 416
200 Vance Ave
Kannapolis, NC 28081


First Presbyterian Church
Central N Carolina Council 416
208 S Green St
Wadesboro, NC 28170
First Presbyterian Church
Central N Carolina Council 416
302 E Windsor St
Monroe, NC 28112


First Presbyterian Church
Central N Carolina Council 416
70 Union St N
Concord, NC 28025


First Presbyterian Church
Central N Carolina Council 416
904 Fayetteville Rd
Rockingham, NC 28379


First Presbyterian Church
Chattahoochee Council 091
1100 1st Ave
Columbus, GA 31901


First Presbyterian Church
Chattahoochee Council 091
120 Broad St
Lagrange, GA 30240


First Presbyterian Church
Cherokee Area Council 469 469
505 S Dewey Ave
Bartlesville, OK 74003


First Presbyterian Church
Cherokee Area Council 556
1 Harker Rd
Fort Oglethorpe, GA 30742


First Presbyterian Church
Cherokee Area Council 556
433 N Ocoee St
Cleveland, TN 37311


First Presbyterian Church
Chickasaw Council 558
1 John Calvin Cir
Mens Council
Greenville, MS 38701


First Presbyterian Church
Chickasaw Council 558
1 John Calvin Cir
Greenville, MS 38701


First Presbyterian Church
Chickasaw Council 558
1100 W Hwy 8
Cleveland, MS 38732


First Presbyterian Church
Chickasaw Council 558
300 Main St
Greenwood, MS 38930


First Presbyterian Church
Chief Cornplanter Council, Bsa 538
300 Market St
Warren, PA 16365


First Presbyterian Church
Chippewa Valley Council 637
2112 Rudolph Rd
Eau Claire, WI 54701


First Presbyterian Church
Cimarron Council 474
524 S Duncan St
Stillwater, OK 74074


First Presbyterian Church
Circle Ten Council 571
1028 S Belt Line Rd
Mesquite, TX 75149


First Presbyterian Church
Circle Ten Council 571
1835 Young St
Dallas, TX 75201


First Presbyterian Church
Circle Ten Council 571
818 N Main St
Bonham, TX 75418


First Presbyterian Church
Circle Ten Council 571
P.O. Box 646
Paris, TX 75461


First Presbyterian Church
Colonial Virginia Council 595
514 S Armistead Ave
Hampton, VA 23669


First Presbyterian Church
Conquistador Council Bsa 413
920 N Turner St
Hobbs, NM 88240


First Presbyterian Church
Cornhusker Council 324
321 N 5th St
Beatrice, NE 68310


First Presbyterian Church
Coronado Area Council 192
223 N 4th Ave
Hill City, KS 67642


First Presbyterian Church
Coronado Area Council 192
2900 Hall St
Hays, KS 67601


First Presbyterian Church
Coronado Area Council 192
308 S 8th St
Salina, KS 67401
First Presbyterian Church
Coronado Area Council 192
801 Leavenworth St
Manhattan, KS 66502


First Presbyterian Church
Coronado Area Council 192
P.O. Box 148
Junction City, KS 66441


First Presbyterian Church
Cradle of Liberty Council 525
750 N Evans St
Pottstown, PA 19464


First Presbyterian Church
Crater Lake Council 491
230 NE 9th St
Bend, OR 97701


First Presbyterian Church
Dan Beard Council, Bsa 438
115 S Vine St
Harrison, OH 45030


First Presbyterian Church
Dan Beard Council, Bsa 438
227 N St
Batavia, OH 45103


First Presbyterian Church
Dan Beard Council, Bsa 438
2910 Central Ave
Middletown, OH 45044


First Presbyterian Church
Del Mar Va 081
292 W Main St
Newark, DE 19711


First Presbyterian Church
Denver Area Council 061
3940 27 1/2 Rd
Grand Junction, CO 81506


First Presbyterian Church
East Carolina Council 426
1400 S Elm St
Greenville, NC 27858


First Presbyterian Church
East Carolina Council 426
153 N Church St
Rocky Mount, NC 27804


First Presbyterian Church
East Carolina Council 426
400 N Bayshore Blvd
Jacksonville, NC 28540


First Presbyterian Church
East Carolina Council 426
414 Sunset Rd Nw
Wilson, NC 27893


First Presbyterian Church
First Methodist Church Men S Club
Mobile Area Council‐Bsa 004
P.O. Box 1508
Bay Minette, Al 36507


First Presbyterian Church
Five Rivers Council, Inc 375
10 S Main St
Canisteo, NY 14823


First Presbyterian Church
Five Rivers Council, Inc 375
P.O. Box 305
Cohocton, NY 14826


First Presbyterian Church
Flint River Council 095
403 Birdsong St
Thomaston, GA 30286


First Presbyterian Church
French Creek Council 532
215 E Bissell Ave
Oil City, PA 16301


First Presbyterian Church
French Creek Council 532
216 N Franklin St
Titusville, PA 16354


First Presbyterian Church
French Creek Council 532
890 Liberty St
Meadville, PA 16335


First Presbyterian Church
Garden State Council 690
119 W Commerce St
Bridgeton, NJ 08302


First Presbyterian Church
Garden State Council 690
125 Garden St
Mount Holly, NJ 08060


First Presbyterian Church
Georgia‐Carolina 093
224 Barnwell Ave Nw
Aiken, SC 29801


First Presbyterian Church
Glaciers Edge Council 620
148 N Park St
Reedsburg, WI 53959


First Presbyterian Church
Golden Empire Council 047
2315 Plr St
Redding, CA 96001
First Presbyterian Church
Grand Canyon Council 010
161 N Mesa Dr
Mesa, AZ 85201


First Presbyterian Church
Great Rivers Council 653
120 N 6th St
Hannibal, MO 63401


First Presbyterian Church
Great Rivers Council 653
214 N Jefferson St
Vandalia, MO 63382


First Presbyterian Church
Great Rivers Council 653
324 Madison St
Jefferson City, MO 65101


First Presbyterian Church
Great Rivers Council 653
718 Court St
Fulton, MO 65251


First Presbyterian Church
Great Salt Lake Council 590
12 C St
Salt Lake City, UT 84103


First Presbyterian Church
Great Smoky Mountain Council 557
600 W Main St
Morristown, TN 37814


First Presbyterian Church
Great Smoky Mountain Council 557
601 Church St
Sweetwater, TN 37874
First Presbyterian Church
Great Swest Council 412
1159 E 3rd Ave
Durango, CO 81301


First Presbyterian Church
Great Swest Council 412
865 N Dustin Ave
Farmington, NM 87401


First Presbyterian Church
Greater New York Councils, Bsa 640
8960 164th St
Jamaica, NY 11432


First Presbyterian Church
Greater Tampa Bay Area 089
355 S Florida Ave
Bartow, FL 33830


First Presbyterian Church
Greater Tampa Bay Area 089
37412 Church Ave
Dade City, FL 33525


First Presbyterian Church
Greater Tampa Bay Area 089
5510 19th St
Zephyrhills, FL 33542


First Presbyterian Church
Greater Wyoming Council 638
511 Carey Ave
Gillette, WY 82716


First Presbyterian Church
Green Mountain 592
39 Summer St
Barre, VT 05641


First Presbyterian Church
Gulf Stream Council 085
2240 SE Walton Rd
Port Saint Lucie, FL 34952


First Presbyterian Church
Gulf Stream Council 085
2240 SE Walton Rd
Port St Lucie, FL 34952


First Presbyterian Church
Gulf Stream Council 085
600 W Camino Real
Boca Raton, FL 33486


First Presbyterian Church
Gulf Stream Council 085
717 Prosperity Farms Rd
North Palm Beach, FL 33408


First Presbyterian Church
Hawkeye Area Council 172
P.O. Box 24
Williamsburg, IA 52361


First Presbyterian Church
Heart of America Council 307
100 N Pleasant St
Independence, MO 64050


First Presbyterian Church
Heart of America Council 307
138 E Shawnee St
Gardner, KS 66030


First Presbyterian Church
Heart of America Council 307
2415 Clinton Pkwy
Lawrence, KS 66047


First Presbyterian Church
Heart of America Council 307
344 Main St
Osawatomie, KS 66064
First Presbyterian Church
Hudson Valley Council 374
2568 S Ave
Wappingers Falls, NY 12590


First Presbyterian Church
Hudson Valley Council 374
30 Goshen Ave
Washingtonville, NY 10992


First Presbyterian Church
Hudson Valley Council 374
P.O. Box 128
Milford, PA 18337


First Presbyterian Church
Illowa Council 133
1702 Iowa St
Davenport, IA 52803


First Presbyterian Church
Illowa Council 133
200 S 12th St
Le Claire, IA 52753


First Presbyterian Church
Illowa Council 133
401 Iowa Ave
Muscatine, IA 52761


First Presbyterian Church
Inland Nwest Council 611
405 S Van Buren St
Moscow, ID 83843


First Presbyterian Church
Iroquois Trail Council 376
300 E Main St
Batavia, NY 14020
First Presbyterian Church
Istrouma Area Council 211
111 N Pine St
Hammond, LA 70401


First Presbyterian Church
Lake Erie Council 440
225 Williams St
Huron, OH 44839


First Presbyterian Church
Lasalle Council 165
3401 Valparaiso St
Valparaiso, IN 46383


First Presbyterian Church
Lasalle Council 165
401 N Walnut St
Plymouth, IN 46563


First Presbyterian Church
Last Frontier Council 480
1001 NW 25th St
Oklahoma City, OK 73106


First Presbyterian Church
Last Frontier Council 480
1001 S Rankin St
Edmond, OK 73034


First Presbyterian Church
Last Frontier Council 480
555 S University Blvd
Norman, OK 73069


First Presbyterian Church
Laurel Highlands Council 527
252 College Ave
Beaver, PA 15009


First Presbyterian Church
Laurel Highlands Council 527
601 Walnut St
Hollidaysburg, PA 16648


First Presbyterian Church
Leatherstocking 400
304 Broad St
Oneida, NY 13421


First Presbyterian Church
Leatherstocking 400
90 Morgan St
Ilion, NY 13357


First Presbyterian Church
Leatherstocking 400
Marion Ave
Gilbertsville, NY 13776


First Presbyterian Church
Lincoln Heritage Council 205
1016 Pear Orchard Rd
Elizabethtown, KY 42701


First Presbyterian Church
Lincoln Heritage Council 205
1328 Griffith Ave
Owensboro, KY 42301


First Presbyterian Church
Lincoln Heritage Council 205
158 S Main St
Greenville, KY 42345


First Presbyterian Church
Lincoln Heritage Council 205
629 Main St
Shelbyville, KY 40065


First Presbyterian Church
Longhorn Council 662
1002 Fox Ave
Lewisville, TX 75067
First Presbyterian Church
Longhorn Council 662
704 M L King Jr Dr
Copperas Cove, TX 76522


First Presbyterian Church
Longhouse Council 373
112 S St
Auburn, NY 13021


First Presbyterian Church
Longhouse Council 373
603 Tulip St
Liverpool, NY 13088


First Presbyterian Church
Longhouse Council 373
64 Oswego St
Baldwinsville, NY 13027


First Presbyterian Church
Louisiana Purchase Council 213
310 S Washington St
Bastrop, LA 71220


First Presbyterian Church
Mid‐America Council 326
1111 5th Ave N
Fort Dodge, IA 50501


First Presbyterian Church
Mid‐America Council 326
216 S 34th St
Omaha, NE 68131


First Presbyterian Church
Mid‐America Council 326
216 W 3rd St
Wayne, NE 68787
First Presbyterian Church
Mid‐America Council 326
601 Omaha Ave
Essex, IA 51638


First Presbyterian Church
Middle Tennessee Council 560
213 Main St
Clarksville, TN 37040


First Presbyterian Church
Mississippi Valley Council 141 141
301 W Washington St
Rushville, IL 62681


First Presbyterian Church
Mississippi Valley Council 141 141
902 S Walnut St
Mount Pleasant, IA 52641


First Presbyterian Church
Montana Council 315
209 2nd St S
Stanford, MT 59479


First Presbyterian Church
Montana Council 315
215 5th Ave S
Lewistown, MT 59457


First Presbyterian Church
Montana Council 315, 11th Ave   Ewing
Helena, MT 59601


First Presbyterian Church
Moraine Trails Council 500
125 N Jefferson St
New Castle, PA 16101


First Presbyterian Church
Mount Baker Council, Bsa 606
2936 Rockefeller Ave
Everett, WA 98201


First Presbyterian Church
Muskingum Valley Council, Bsa 467
106 N Gay St
Mount Vernon, OH 43050


First Presbyterian Church
North Florida Council 087
511 SE 3rd St
Ocala, FL 34471


First Presbyterian Church
North Florida Council 087
P.O. Box 469
Lake City, FL 32056


First Presbyterian Church
Northeast Georgia Council 101
800 S Enota Dr
Gainesville, GA 30503


First Presbyterian Church
Northeast Illinois 129
219 W Maple Ave
Libertyville, IL 60048


First Presbyterian Church
Northern Lights Council 429
3rd   Thayer
Bismarck, ND 58501


First Presbyterian Church
Northern New Jersey Council, Bsa 333
722 E Ridgewood Ave
Ridgewood, NJ 07450


First Presbyterian Church
Northern Star Council 250
4821 Bloom Ave
White Bear Lake, MN 55110
First Presbyterian Church
Northwest Georgia Council 100
E 3rd Ave
Rome, GA 30161


First Presbyterian Church
Occoneechee 421
101 Spring Ave
Spring Lake, NC 28390


First Presbyterian Church
Occoneechee 421
222 Young St
Henderson, NC 27536


First Presbyterian Church
Occoneechee 421
901 N Park Ave
Dunn, NC 28334


First Presbyterian Church
Ohio River Valley Council 619
110 S Marietta St
Saint Clairsville, OH 43950


First Presbyterian Church
Ohio River Valley Council 619
200 S Court St
New Cumberland, WV 26047


First Presbyterian Church
Ohio River Valley Council 619
59 E Benjamin Dr
New Martinsville, WV 26155


First Presbyterian Church
Ohio River Valley Council 619
Union St
Mt Pleasant, OH 43939


First Presbyterian Church
Old N State Council 070
420 W Walker Ave
Asheboro, NC 27203


First Presbyterian Church
Old N State Council 070
508 W Davis St
Burlington, NC 27215


First Presbyterian Church
Old N State Council 070
617 N Elm St
Greensboro, NC 27401


First Presbyterian Church
Old N State Council 070
918 N Main St
High Point, NC 27262


First Presbyterian Church
Old N State Council 070
P.O. Box 586
Lexington, NC 27293


First Presbyterian Church
Orange County Council 039
11832 Euclid St
Garden Grove, CA 92840


First Presbyterian Church
Orange County Council 039
838 N Euclid St
Fullerton, CA 92832


First Presbyterian Church
Ore‐Ida Council 106 ‐ Bsa 106
950 W State St
Boise, ID 83702


First Presbyterian Church
Overland Trails 322
1901 W Leota St
North Platte, NE 69101


First Presbyterian Church
Overland Trails 322
2103 W Anna St
Grand Island, NE 68803


First Presbyterian Church
Overland Trails 322
621 N Lincoln Ave
Hastings, NE 68901


First Presbyterian Church
Ozark Trails Council 306
420 W Main St
Branson, MO 65616


First Presbyterian Church
Ozark Trails Council 306
509 Pearl
Joplin, MO 64801


First Presbyterian Church
Ozark Trails Council 306
511 W Broadway St
Webb City, MO 64870


First Presbyterian Church
Ozark Trails Council 306
919 E 10th St
Rolla, MO 65401


First Presbyterian Church
Ozark Trails Council 306
P.O. Box 13
Webb City, MO 64870


First Presbyterian Church
Palmetto Council 549
234 E Main St
Rock Hill, SC 29730
First Presbyterian Church
Palmetto Council 549
393 E Main St
Spartanburg, SC 29302


First Presbyterian Church
Palmetto Council 549
700 N Main St
P.O. Box 990
Lancaster, SC 29720


First Presbyterian Church
Pathway To Adventure 456
3739 Cherry Hill Dr
Crown Point, IN 46307


First Presbyterian Church
Patriots Path Council 358
11 Springfield Ave
Cranford, NJ 07016


First Presbyterian Church
Patriots Path Council 358
158 Central Ave
Stirling, NJ 07980


First Presbyterian Church
Patriots Path Council 358
1731 Church St
Rahway, NJ 07065


First Presbyterian Church
Patriots Path Council 358
218 Dunellen Ave
Dunellen, NJ 08812


First Presbyterian Church
Patriots Path Council 358
35 Church St
Rockaway, NJ 07866
First Presbyterian Church
Patriots Path Council 358
513 Birch St
Boonton, NJ 07005


First Presbyterian Church
Pee Dee Area Council 552
700 Park Ave
Florence, SC 29501


First Presbyterian Church
Pee Dee Area Council 552
9 W Calhoun St
Sumter, SC 29150


First Presbyterian Church
Piedmont Council 420
107 W Academy St
Cherryville, NC 28021


First Presbyterian Church
Piedmont Council 420
125 N Meeting St
Statesville, NC 28677


First Presbyterian Church
Piedmont Council 420
1621 E Garrison Blvd
Gastonia, NC 28054


First Presbyterian Church
Piedmont Council 420
237 2nd St Nw
Hickory
Hickory, NC 28601


First Presbyterian Church
Piedmont Council 420
237 2nd St Nw
Hickory, NC 28601


First Presbyterian Church
Piedmont Council 420
249 W Mclelland Ave
Mooresville, NC 28115


First Presbyterian Church
Piedmont Council 420
701 N Main Ave
Newton, NC 28658


First Presbyterian Church
Piedmont Council 420
P.O. Box 1
102 S Central Ave
Belmont, NC 28012


First Presbyterian Church
Pony Express Council 311
302 N 5th St
Atchison, KS 66002


First Presbyterian Church
Potawatomi Area Council 651
810 N E Ave
Waukesha, WI 53186


First Presbyterian Church
President Gerald R Ford 781
508 Franklin Ave
Grand Haven, MI 49417


First Presbyterian Church
President Gerald R Ford 781
659 State St
Holland, MI 49423


First Presbyterian Church
Quapaw Area Council 018
213 Whittington Ave
Hot Springs, AR 71901


First Presbyterian Church
Quivira Council, Bsa 198
1400 N Main St
Mcpherson, KS 67460


First Presbyterian Church
Quivira Council, Bsa 198
201 E Sherman St
Hutchinson, KS 67501


First Presbyterian Church
Rainbow Council 702
180 N Weber Rd
Bolingbrook, IL 60440


First Presbyterian Church
Rainbow Council 702
200 E Jackson St
Morris, IL 60450


First Presbyterian Church
Rio Grande Council 775
709 S Iowa Ave
Weslaco, TX 78596


First Presbyterian Church
Rocky Mountain Council 063
220 W 10th St
Pueblo, CO 81003


First Presbyterian Church
Sagamore Council 162
104 N Illinois St
Monticello, IN 47960


First Presbyterian Church
San Diego Imperial Council 049
2001 S El Camino Real
Oceanside, CA 92054


First Presbyterian Church
San Diego Imperial Council 049
320 Date St
San Diego, CA 92101
First Presbyterian Church
Santa Fe Trail Council 194
202 N Wern St
Lakin, KS 67860


First Presbyterian Church
Santa Fe Trail Council 194
803 Central Ave
Dodge City, KS 67801


First Presbyterian Church
Seneca Waterways 397
21 Church St
Pittsford, NY 14534


First Presbyterian Church
Seneca Waterways 397
25 Cayuga St
Seneca Falls, NY 13148


First Presbyterian Church
Seneca Waterways 397
25 Church St
Pittsford, NY 14534


First Presbyterian Church
Seneca Waterways 397
42 E Main St
Waterloo, NY 13165


First Presbyterian Church
Sequoyah Council 713
700 Florida Ave
Bristol, TN 37620


First Presbyterian Church
Shenandoah Area Council 598
116 Loudoun St Mall
Winchester, VA 22601
First Presbyterian Church
Shenandoah Area Council 598
116 S Loudoun St
Winchester, VA 22601


First Presbyterian Church
Simon Kenton Council 441
210 W 5th St
Marysville, OH 43040


First Presbyterian Church
Simon Kenton Council 441
214 N Hinde St
Washington Court House, OH 43160


First Presbyterian Church
Simon Kenton Council 441
222 N Broad St
Lancaster, OH 43130


First Presbyterian Church
Simon Kenton Council 441
405 S Main St
Pataskala, OH 43062


First Presbyterian Church
Simon Kenton Council 441
73 W Winter St
Delaware, OH 43015


First Presbyterian Church
South Texas Council 577
301 Hwy 35‐N
Rockport, TX 78382


First Presbyterian Church
South Texas Council 577
430 S Carancahua St
Corpus Christi, TX 78401


First Presbyterian Church
Southern Shores Fsc 783
111 Capital Ave Ne
Battle Creek, MI 49017


First Presbyterian Church
Southern Shores Fsc 783
120 Pine St
Paw Paw, MI 49079


First Presbyterian Church
Southern Shores Fsc 783
300 E Chicago St
Jonesville, MI 49250


First Presbyterian Church
Southern Shores Fsc 783
321 W S St
Kalamazoo, MI 49007


First Presbyterian Church
Southern Shores Fsc 783
743 W Michigan Ave
Jackson, MI 49201


First Presbyterian Church
Southern Shores Fsc 783
8047 Church St
Richland, MI 49083


First Presbyterian Church
Southwest Florida Council 088
1402 Manatee Ave W
Bradenton, FL 34205


First Presbyterian Church
Suffolk County Council Inc 404
175 E Main St
Smithtown, NY 11787


First Presbyterian Church
Suffolk County Council Inc 404
P.O. Box 397
Port Jefferson, NY 11777
First Presbyterian Church
Susquehanna Council 533
P.O. Box 751
Market Square
Sunbury, PA 17801


First Presbyterian Church
Suwannee River Area Council 664
306 N Madison St
Quincy, FL 32351


First Presbyterian Church
Tecumseh 439
1130 Highview Dr
Fairborn, OH 45324


First Presbyterian Church
Tecumseh 439
116 W Court St
Urbana, OH 43078


First Presbyterian Church
The Spirit of Adventure 227
346 Broadway
Haverhill, MA 01832


First Presbyterian Church
Theodore Roosevelt Council 386
182 1st St
Mineola, NY 11501


First Presbyterian Church
Theodore Roosevelt Council 386
474 Wantagh Ave
Levittown, NY 11756


First Presbyterian Church
Three Fires Council 127
715 N Carlton Ave
Wheaton, IL 60187
First Presbyterian Church
Tidewater Council 596
820 Colonial Ave
Norfolk, VA 23507


First Presbyterian Church
Tukabatchee Area Council 005
100 W Bridge St
Wetumpka, AL 36092


First Presbyterian Church
Tuscarora Council 424
1101 E Ash St
Goldsboro, NC 27530


First Presbyterian Church
Tuscarora Council 424
South 3rd St
Smithfield, NC 27577


First Presbyterian Church
Twin Rivers Council 364
3212 Church St
Valatie, NY 12184


First Presbyterian Church
Twin Rivers Council 364
57 Church St
Saranac Lake, NY 12983


First Presbyterian Church
Twin Valley Council Bsa 283
706 3rd Ave S
Saint James, MN 56081


First Presbyterian Church
Ventura County Council 057
850 Ivywood Dr
Oxnard, CA 93030


First Presbyterian Church
Voyageurs Area 286
501 Minnesota Ave Nw
Bemidji, MN 56601


First Presbyterian Church
W D Boyce 138
1003 5th St
Mendota, IL 61342


First Presbyterian Church
W D Boyce 138
101 N Main St
Lewistown, IL 61542


First Presbyterian Church
W.L.A.C.C. 051
24317 Newhall Ave
Newhall, CA 91321


First Presbyterian Church
Water and Woods Council 782
503 S Leroy St
Fenton, MI 48430


First Presbyterian Church
Westark Area Council 016
116 N 12th St
Fort Smith, AR 72901


First Presbyterian Church
Westark Area Council 016
1901 S 26th St
Rogers, AR 72758


First Presbyterian Church
Westark Area Council 016
220 N Arbor Dr
Harrison, AR 72601


First Presbyterian Church
Westark Area Council 016
901 NE J St
Bentonville, AR 72712


First Presbyterian Church
Westchester Putnam 388
411 Route 6N
Mahopac, NY 10541


First Presbyterian Church
Winnebago Council, Bsa 173
115 6th Ave Nw
Independence, IA 50644


First Presbyterian Church
Yocona Area Council 748
919 E Shiloh Rd
Corinth, MS 38834


First Presbyterian Church
Yocona Area Council 748
924 Van Buren Ave
Oxford, MS 38655


First Presbyterian Church
Yocona Area Council 748
Box 1725
Tupelo, MS 38801


First Presbyterian Church
Yucca Council 573
1340 Murchison Dr
El Paso, TX 79902


First Presbyterian Church   Moose Lodge
Allegheny Highlands Council 382
49 S Portage St
Westfield, NY 14787


First Presbyterian Church ‐ Boulder
Longs Peak Council 062
1820 15th St
Boulder, CO 80302
First Presbyterian Church ‐ Bryan
Sam Houston Area Council 576
1100 Carter Creek Pkwy
Bryan, TX 77802


First Presbyterian Church ‐ Cheyenne
Longs Peak Council 062
220 W 22nd St
Cheyenne, WY 82001


First Presbyterian Church ‐ Fort Collins
Longs Peak Council 062
531 S College Ave
Fort Collins, CO 80524


First Presbyterian Church ‐ Houston
Sam Houston Area Council 576
5300 Main St
Houston, TX 77004


First Presbyterian Church ‐ Paris
West Tennessee Area Council 559
P.O. Box 107
Paris, TN 38242


First Presbyterian Church ‐ Salem
Buckeye Council 436
436 E 2nd St
Salem, OH 44460


First Presbyterian Church ‐ Vernon
Northwest Texas Council 587
2001 Yucca Ln
Vernon, TX 76384


First Presbyterian Church ‐ Wooster
Buckeye Council 436
621 College Ave
Wooster, OH 44691


First Presbyterian Church Belmar
Monmouth Council, Bsa 347
121 Van Cortlandt Dr
Brick, NJ 08723


First Presbyterian Church Belmar
Monmouth Council, Bsa 347
600 9th Ave
Belmar, NJ 07719


First Presbyterian Church Butte
Montana Council 315
900 W Platinum St
Butte, MT 59701


First Presbyterian Church Butte
Montana Council 315
901 W Platinum St
Butte, MT 59701


First Presbyterian Church Gt
Montana Council 315
215 5th Ave S
Lewistown, MT 59457


First Presbyterian Church Highland
Rip Van Winkle Council 405
P.O. Box 725
Highland, NY 12528


First Presbyterian Church In Springfield
Cradle of Liberty Council 525
1710 Bethlehem Pike
Flourtown, PA 19031


First Presbyterian Church Lewistown
Montana Council 315
215 5th Ave S
Lewistown, MT 59457


First Presbyterian Church Marlboro
Rip Van Winkle Council 405
98 W St
Marlboro, NY 12542


First Presbyterian Church Martinsville
Blue Ridge Mtns Council 599
1901 Patrick Henry Ave
Martinsville, VA 24112


First Presbyterian Church Mayfield
Lincoln Heritage Council 205
P.O. Box 435
Mayfield, KY 42066


First Presbyterian Church Mcalester
Indian Nations Council 488
P.O. Box 1550
3rd   Washington
Mcalester, OK 74502


First Presbyterian Church Mens Club
Leatherstocking 400
304 Broad St
Oneida, NY 13421


First Presbyterian Church Moses Lake
Grand Columbia Council 614
1142 W Ivy Ave
Moses Lake, WA 98837


First Presbyterian Church Oak Ridge
Great Smoky Mountain Council 557
P.O. Box 6106
Oak Ridge, TN 37831


First Presbyterian Church Of Adrian
Southern Shores Fsc 783
156 E Maumee St
Adrian, MI 49221


First Presbyterian Church Of Alameda
Alameda Council Bsa 022
2001 Santa Clara Ave
Alameda, CA 94501
First Presbyterian Church Of Allentown
Minsi Trails Council 502
3231 W Tilghman St
Allentown, PA 18104


First Presbyterian Church Of Anaconda
Montana Council 315, 4th   Main
Anaconda, MT 59711


First Presbyterian Church Of Anderson
Blue Ridge Council 551
302 W Whitner St
Anderson, SC 29624


First Presbyterian Church Of Ann Arbor
Southern Shores Fsc 783
1432 Washtenaw Ave
Ann Arbor, MI 48104


First Presbyterian Church Of Arkadelphia
Quapaw Area Council 018
1220 Pine St
Arkadelphia, AR 71923


First Presbyterian Church Of Avon
Iroquois Trail Council 376
5605 E Avon Lima Rd
Avon, NY 14414


First Presbyterian Church Of Barberton
Great Trail 433
636 W Park Ave
Barberton, OH 44203


First Presbyterian Church Of Bartow
Greater Tampa Bay Area 089
355 S Florida Ave
Bartow, FL 33830


First Presbyterian Church Of Bath
Five Rivers Council, Inc 375
6 W Pulteney Sq
Bath, NY 14810


First Presbyterian Church Of Bellevue
Chief Seattle Council 609
1717 Bellevue Way Ne
Bellevue, WA 98004


First Presbyterian Church Of Belmont
Piedmont Council 420
P.O. Box 1
Belmont, NC 28012


First Presbyterian Church Of Bethlehem
Minsi Trails Council 502
2344 Center St
Bethlehem, PA 18017


First Presbyterian Church Of Big Flats
Five Rivers Council, Inc 375
P.O. Box 454
Big Flats, NY 14814


First Presbyterian Church Of Branchville
Patriots Path Council 358
P.O. Box 1
Branchville, NJ 07826


First Presbyterian Church Of Branchville
Patriots Path Council 358
P.O. Box 2163
Branchville, NJ 07826


First Presbyterian Church Of Brighton
Denver Area Council 061
510 S 27th Ave
Brighton, CO 80601


First Presbyterian Church Of Brighton
Greater St Louis Area Council 312
402 N Main St
P.O. Box 638
Brighton, IL 62012


First Presbyterian Church Of Burlingame
Pacific Skyline Council 031
1500 Eon Dr
Burlingame, CA 94010


First Presbyterian Church Of Canton
W D Boyce 138
275 Linden St
Canton, IL 61520


First Presbyterian Church Of Cape Gir
Greater St Louis Area Council 312
P.O. Box 477
Cape Girardeau, MO 63702


First Presbyterian Church Of Casa Grande
Grand Canyon Council 010
702 E Cottonwood Ln
Casa Grande, AZ 85122


First Presbyterian Church Of Cazenovia
Leatherstocking 400
27 Albany St
Cazenovia, NY 13035


First Presbyterian Church Of Charleston
Buckskin 617
16 Leon Sullivan Way
Charleston, WV 25301


First Presbyterian Church Of Chester
Hudson Valley Council 374
98 Main St
Chester, NY 10918


First Presbyterian Church Of Coal Valley
Illowa Council 133
2431 1st St
Coal Valley, IL 61240
First Presbyterian Church Of Cody
Greater Wyoming Council 638
2025 23rd St
Cody, WY 82414


First Presbyterian Church Of Covina
Greater Los Angeles Area 033
310 N 2nd Ave
Covina, CA 91723


First Presbyterian Church Of Covington
Atlanta Area Council 092
1169 Clark St Sw
Covington, GA 30014


First Presbyterian Church Of Cranbury
Washington Crossing Council 777
22 S Main St
Cranbury, NJ 08512


First Presbyterian Church Of Dayton
Monmouth Council, Bsa 347
362 Georges Rd
Dayton, NJ 08810


First Presbyterian Church Of Deerfield
Northeast Illinois 129
824 Waukegan Rd
Deerfield, IL 60015


First Presbyterian Church Of Dimondale
Water and Woods Council 782
162 N Bridge St
Dimondale, MI 48821


First Presbyterian Church Of Dunedin
Greater Tampa Bay Area 089
455 Scotland St
Dunedin, FL 34698
First Presbyterian Church Of Dupage
Rainbow Council 702
180 N Weber Rd
Bolingbrook, IL 60440


First Presbyterian Church Of Edgewood
Laurel Highlands Council 527
120 E Swissvale Ave
Pittsburgh, PA 15218


First Presbyterian Church Of Elko
Nevada Area Council 329
1559 Sewell Dr
Elko, NV 89801


First Presbyterian Church Of Encino
W.L.A.C.C. 051
4963 Balboa Blvd
Encino, CA 91316


First Presbyterian Church Of Englewood
Northern New Jersey Council, Bsa 333
150 E Palisade Ave
Englewood, NJ 07631


First Presbyterian Church Of Englishtown
Monmouth Council, Bsa 347
50 Main St
Englishtown, NJ 07726


First Presbyterian Church Of Farmington
Great Lakes Fsc 272
26165 Farmington Rd
Farmington Hills, MI 48334


First Presbyterian Church Of Farmington
Great Swest Council 412
865 N Dustin Ave
Farmington, NM 87401


First Presbyterian Church Of Fenton
Water and Woods Council 782
P.O. Box 436
503 S Leroy St
Fenton, MI 48430


First Presbyterian Church Of Ferguson
Greater St Louis Area Council 312
401 Darst Rd
Ferguson, MO 63135


First Presbyterian Church Of Finleyville
Laurel Highlands Council 527
3495 Washington Ave
Finleyville, PA 15332


First Presbyterian Church Of Franklin
Middle Tennessee Council 560
101 Legends Club Ln
Franklin, TN 37069


First Presbyterian Church Of Gallatin
Middle Tennessee Council 560
167 W Main St
Gallatin, TN 37066


First Presbyterian Church Of Garland
Circle Ten Council 571
930 W Ave B
Garland, TX 75040


First Presbyterian Church Of Garner
Occoneechee 421
503 Lakeside Dr
Garner, NC 27529


First Presbyterian Church Of Gillette
Greater Wyoming Council 638
511 Carey Ave
Gillette, WY 82716


First Presbyterian Church Of Glen Cove
Theodore Roosevelt Council 386
7 N Ln
Glen Cove, NY 11542


First Presbyterian Church Of Glen Ellyn
Three Fires Council 127
500 Anthony St
Glen Ellyn, IL 60137


First Presbyterian Church Of Greensburg
Hoosier Trails Council 145 145
202 N Franklin St
Greensburg, IN 47240


First Presbyterian Church Of Greenwood
Blue Ridge Council 551
108 Cambridge Ave E
Greenwood, SC 29646


First Presbyterian Church Of Grove City
Simon Kenton Council 441
4227 Broadway
Grove City, OH 43123


First Presbyterian Church Of Haines City
Greater Tampa Bay Area 089
104 Scenic Hwy
Haines City, FL 33844


First Presbyterian Church Of Hanover
Patriots Path Council 358
14 Hanover Rd
East Hanover, NJ 07936


First Presbyterian Church Of Hightstown
Washington Crossing Council 777
320 N Main St
Hightstown, NJ 08520


First Presbyterian Church Of Hilton Head
Coastal Carolina Council 550
540 William Hilton Pkwy
Hilton Head, SC 29928
First Presbyterian Church Of Holley
Iroquois Trail Council 376
34 N Main St
Holley, NY 14470


First Presbyterian Church Of Hollywood
South Florida Council 084
1530 Hollywood Blvd
Hollywood, FL 33020


First Presbyterian Church Of Honesdale
Northeastern Pennsylvania Council 501
201 10th St
Honesdale, PA 18431


First Presbyterian Church Of Inverness
Greater Tampa Bay Area 089
206 Washington Ave
Inverness, FL 34450


First Presbyterian Church Of Irwin
Westmoreland Fayette 512
617 Main St
Irwin, PA 15642


First Presbyterian Church Of Kenosha
Three Harbors Council 636
6209 64th St
Kenosha, WI 53142


First Presbyterian Church Of Kingwood
Sam Houston Area Council 576
5520 Kingwood Dr
Kingwood, TX 77345


First Presbyterian Church Of Kouts
Lasalle Council 165
1419 S 500 E
Kouts, IN 46347


First Presbyterian Church Of Lake Forest
Northeast Illinois 129
700 N Sheridan Rd
Lake Forest, IL 60045


First Presbyterian Church Of Lakeland
Greater Tampa Bay Area 089
175 Lake Hollingsworth Dr
Lakeland, FL 33801


First Presbyterian Church Of Lansdowne
Cradle of Liberty Council 525
140 N Lansdowne Ave
Lansdowne, PA 19050


First Presbyterian Church Of Lapeer
Water and Woods Council 782
433 N Calhoun St
Lapeer, MI 48446


First Presbyterian Church Of Lebanon
Middle Tennessee Council 560
304 W Main St
Lebanon, TN 37087


First Presbyterian Church Of Levittown
Washington Crossing Council 777
5918 Bristol Emilie Rd
Levittown, PA 19057


First Presbyterian Church Of Lewiston
Greater Niagara Frontier Council 380
505 Cayuga St
Lewiston, NY 14092


First Presbyterian Church Of Liberty
Heart of America Council 307
138 N Main St
Liberty, MO 64068


First Presbyterian Church Of Littleton
Denver Area Council 061
1609 W Littleton Blvd
Littleton, CO 80120


First Presbyterian Church Of Livermore
San Francisco Bay Area Council 028
2020 5th St
Livermore, CA 94550


First Presbyterian Church Of Logan
Simon Kenton Council 441
2 W Hunter St
Logan, OH 43138


First Presbyterian Church Of London
Simon Kenton Council 441
211 Garfield Ave
London, OH 43140


First Presbyterian Church Of Lufkin
East Texas Area Council 585
607 Janeway Ave
Lufkin, TX 75904


First Presbyterian Church Of Maitland
Central Florida Council 083
341 N Orlando Ave
Maitland, FL 32751


First Presbyterian Church Of Mason
Water and Woods Council 782
131 E Maple St
Mason, MI 48854


First Presbyterian Church Of Mesquite
Circle Ten Council 571
1028 S Belt Line Rd
Mesquite, TX 75149


First Presbyterian Church Of Metuchen
Patriots Path Council 358
270 Woodbridge Ave
Metuchen, NJ 08840
First Presbyterian Church Of Milan
Illowa Council 133
1620 1st St W
Milan, IL 61264


First Presbyterian Church Of Monroe
Northeast Georgia Council 101
P.O. Box 784
Monroe, GA 30655


First Presbyterian Church Of Montezuma
Crossroads of America 160
251 E Wilkinson St
P.O. Box 367
Montezuma, IN 47862


First Presbyterian Church Of Mtn View
Pacific Skyline Council 031
1667 Miramonte Ave
Mountain View, CA 94040


First Presbyterian Church Of Nashville
Middle Tennessee Council 560
4815 Franklin Pike
Nashville, TN 37220


First Presbyterian Church Of New Vernon
Patriots Path Council 358
2 Lees Hill Rd
P.O. Box 218
New Vernon, NJ 07976


First Presbyterian Church Of Newark
San Francisco Bay Area Council 028
35450 Newark Blvd
Newark, CA 94560


First Presbyterian Church Of Northville
Great Lakes Fsc 272
200 E Main St
Northville, MI 48167
First Presbyterian Church Of Ogden
Trapper Trails 589
880 28th St
Ogden, UT 84403


First Presbyterian Church Of Olean
Allegheny Highlands Council 382
P.O. Box 1608
212 Laurens St
Olean, NY 14760


First Presbyterian Church Of Palestine
East Texas Area Council 585
410 Ave A St
Palestine, TX 75801


First Presbyterian Church Of Palm Bay
Central Florida Council 083
1080 Port Malabar Blvd Ne
Palm Bay, FL 32905


First Presbyterian Church Of Parsons
Quivira Council, Bsa 198
1700 Broadway Ave
Parsons, KS 67357


First Presbyterian Church Of Ponca City
Cimarron Council 474
1505 E Grand Ave
Ponca City, OK 74604


First Presbyterian Church Of Port Jervis
Hudson Valley Council 374
60 Sussex St
Port Jervis, NY 12771


First Presbyterian Church Of Ramsey
Northern New Jersey Council, Bsa 333
15 Shuart Ln
Ramsey, NJ 07446
First Presbyterian Church Of Richmond
Blue Grass Council 204
330 W Main St
Richmond, KY 40475


First Presbyterian Church Of Rogers
Westark Area Council 016
1901 S 26th St
Rogers, AR 72758


First Presbyterian Church Of Saline
Southern Shores Fsc 783
143 E Michigan Ave
Saline, MI 48176


First Presbyterian Church Of San Marcos
Capitol Area Council 564
410 W Hutchison St
San Marcos, TX 78666


First Presbyterian Church Of Sayreville
Monmouth Council, Bsa 347
174 Main St
Sayreville, NJ 08872


First Presbyterian Church Of Sharon
French Creek Council 532
600 E State St
Sharon, PA 16146


First Presbyterian Church Of Smyrna
Middle Tennessee Council 560
545 Sam Ridley Pkwy N
Smyrna, TN 37167


First Presbyterian Church Of South Amboy
Monmouth Council, Bsa 347
P.O. Box 787
South Amboy, NJ 08879


First Presbyterian Church Of South Lyon
Great Lakes Fsc 272
205 E Lake St
South Lyon, MI 48178


First Presbyterian Church Of Springfield
Cradle of Liberty Council 525
356 Summit Rd
Springfield, PA 19064


First Presbyterian Church Of St Louis
Greater St Louis Area Council 312
7200 Delmar Blvd
University City, MO 63130


First Presbyterian Church Of Succasunna
Patriots Path Council 358
99 Main St
Succasunna, NJ 07876


First Presbyterian Church Of Towanda
Five Rivers Council, Inc 375
5 Court St
Towanda, PA 18848


First Presbyterian Church Of Urbana
Prairielands 117
602 W Green St
Urbana, IL 61801


First Presbyterian Church Of Warminster
Washington Crossing Council 777
500 Madison Ave
Warminster, PA 18974


First Presbyterian Church Of Washington
Minsi Trails Council 502
40 E Church St
Washington, NJ 07882


First Presbyterian Church Of Weedsport
Longhouse Council 373
8871 S Seneca St
Weedsport, NY 13166
First Presbyterian Church Of Wellsboro
Five Rivers Council, Inc 375
130 Main St
Wellsboro, PA 16901


First Presbyterian Church Of Westminster
Orange County Council 039
7702 Wminster Blvd
Westminster, CA 92683


First Presbyterian Church Of Wilmette
Northeast Illinois 129
600 9th St
Wilmette, IL 60091


First Presbyterian Church Of Yorktown
Westchester Putnam 388
2880 Crompond Rd
Yorktown Heights, NY 10598


First Presbyterian Church Of Youngstown
Great Trail 433
201 Wick Ave
Youngstown, OH 44503


First Presbyterian Church Of Ypsilanti
Southern Shores Fsc 783
300 N Washington St
Ypsilanti, MI 48197


First Presbyterian Church Of Zephyrhills
Greater Tampa Bay Area 089
5510 19th St
Zephyrhills, FL 33542


First Presbyterian Church Othello
Grand Columbia Council 614
715 E Scootney St
Othello, WA 99344
First Presbyterian Church Outreach Prog
120 W Hargett St
Raleigh, NC 27601


First Presbyterian Church Owasso
Indian Nations Council 488
12800 E 85th St N
Owasso, OK 74055


First Presbyterian Church Owensboro
Lincoln Heritage Council 205
1328 Griffith Ave
Owensboro, KY 42301


First Presbyterian Church Sapulpa
Indian Nations Council 488
P.O. Box 29
Sapulpa, OK 74067


First Presbyterian Church Stanhope
Patriots Path Council 358
100 Main St
P.O. Box 212
Stanhope, NJ 07874


First Presbyterian Church‐ Tulsa
Indian Nations Council 488
709 S Boston Ave
Tulsa, OK 74119


First Presbyterian Church, Usa
West Tennessee Area Council 559
19835 Main St E
Huntingdon, TN 38344


First Presbyterian Church, Wolcott
Seneca Waterways 397
11988 W Main St
Wolcott, NY 14590


First Presbyterian Church‐Fort Stockton
Texas Swest Council 741
202 N Oklahoma St
Fort Stockton, TX 79735


First Presbyterian Church‐Granada Hills
W.L.A.C.C. 051
10400 Zelzah Ave
Northridge, CA 91326


First Presbyterian Church‐Men Class
Central N Carolina Council 416
P.O. Box 789
Concord, NC 28026


First Presbyterian Church‐San Angelo
Texas Swest Council 741
32 N Irving St
San Angelo, TX 76903


First Presbyterian Church‐Walker Bible
Central N Carolina Council 416
904 Fayetteville Rd
Rockingham, NC 28379


First Presbyterian Men Of Church
400 W Main St
Laurens, SC 29360


First Presbyterian Mens Bible Class
Connecticut Yankee Council Bsa 072
2475 Eon Tpke
Fairfield, CT 06825


First Presbyterian Mens Bros.‐ Brookings
Sioux Council 733
405 7th Ave
Brookings, SD 57006


First Presbyterian Roanoke Rapids
East Carolina Council 426
16 E 5th St
Roanoke Rapids, NC 27870
First Presbyterian Union Church
Baden‐Powell Council 368
111 Temple St
Owego, NY 13827


First Presbytrian Church Of Clinton
Blue Ridge Council 551
410 E Carolina Ave
Clinton, SC 29325


First Protestant Church
Alamo Area Council 583
172 W Coll St
New Braunfels, TX 78130


First Reformed Church
Hudson Valley Council 374
1153 Main St
Fishkill, NY 12524


First Reformed Church
President Gerald R Ford 781
P.O. Box 197
Byron Center, MI 49315


First Reformed Church
Westchester Putnam 388
18 Farragut Ave
Hastings On Hudson, NY 10706


First Reformed Church Of Bethlehem
Twin Rivers Council 364
38 Church Rd
Selkirk, NY 12158


First Reformed Church Of Demotte
Sagamore Council 162
5387 W State Rd 10
Wheatfield, IN 46392


First Reformed Church Of Pompton Plains
Patriots Path Council 358
529 Newark Pompton Tpke
Pompton Plains, NJ 07444


First Reformed Church Of Tampa
Greater Tampa Bay Area 089
8283 W Hillsborough Ave
Tampa, FL 33615


First Reformed Church Of Walden
Hudson Valley Council 374
70 Scofield St
Walden, NY 12586


First Saint Marks Lutheran Church
Erie Shores Council 460
1121 Grasser St
Oregon, OH 43616


First Saints Community Church
National Capital Area Council 082
25550 Point Lookout Rd
Leonardtown, MD 20650


First Sate Bank
1201 Simonton St
Key W, FL 33040


First Sate Bank
P.O. Box 1579
Key W, FL 33040


First Security Bank
Winnebago Council, Bsa 173
P.O. Box 577
Charles City, IA 50616


First Sergeants Assoc
Aloha Council, Bsa 104, Unit 14007
36 Ces/Cef
Apo, AP 96543
First Southern Baptist Church
Grand Canyon Council 010
20895 W Hamilton St
Buckeye, AZ 85396


First Southern National Bank
P.O. Box 295
Stanford, KY 40484


First St Charles Utd Methodist Church
Greater St Louis Area Council 312
801 1st Capitol Dr
Saint Charles, MO 63301


First St Pauls Lutheran Church
Overland Trails 322
501 N Burlington Ave
Hastings, NE 68901


First St. Paul Lutheran
Overland Trails 322
501 N Burlington Ave
Hastings, NE 68901


First State Bank
1201 Simonton St
Key W, Fl 33040


First State Bank
P.O. Box 1579
Key W, Fl 33040


First State Bank Of The Florida Keys
Attn Corporate Services
3406 N Roosevelt Blvd
Keywest, FL 33040


First State Community Action Agency
Del Mar Va 081
308 N Railroad Ave
Georgetown, DE 19947
First Strike
28101 Ballard Dr, Unit F
Lake Forest, IL 60045


First Trinity Lutheran Church
Allegheny Highlands Council 382
470 N Main St
Wellsville, NY 14895


First Trinity Presbyterian Church
Pine Burr Area Council 304
500 N 5th Ave
Laurel, MS 39440


First U M Churches
Laurel Highlands Council 527
50 S Walnut St
Blairsville, PA 15717


First Umc
Gateway Area 624
1105 Butts Ave
Tomah, WI 54660


First Umc Bay City Texas
Sam Houston Area Council 576
2300 Ave H
Bay City, TX 77414


First Umc Mens Club Of Lebanon
Middle Tennessee Council 560
415 W Main St
Lebanon, TN 37087


First Umc Mens Club Of Manchester
Middle Tennessee Council 560
105 Church St
Manchester, TN 37355


First Umc Mens Club‐Gallatin
Middle Tennessee Council 560
149 W Main St
Gallatin, TN 37066


First Umc Of Augusta
Quivira Council, Bsa 198
2420 N Ohio
Augusta, KS 67010


First Umc Of Columbia
Middle Tennessee Council 560
222 W 7th St
Columbia, TN 38401


First Umc Of Franklin
Middle Tennessee Council 560
120 Aldersgate Way
Franklin, TN 37069


First Umc Of Gainesboro
Middle Tennessee Council 560
P.O. Box 206
Gainesboro, TN 38562


First Umc Of Germantown
Cradle of Liberty Council 525
6001 Germantown Ave
Philadelphia, PA 19144


First Umc Of Lakeland
Greater Tampa Bay Area 089
72 Lake Morton Dr
Lakeland, FL 33801


First Umc Of Lavergne
Middle Tennessee Council 560
248 Old Waldron Rd
La Vergne, TN 37086


First Umc Of Lebanon
Middle Tennessee Council 560
415 W Main St
Lebanon, TN 37087


First Umc Of Murfreesboro
Middle Tennessee Council 560
265 W Thompson Ln
Murfreesboro, TN 37129


First Umc Of Pensacola
Gulf Coast Council 773
6 E Wright St
Pensacola, FL 32501


First Umc Of Sebring
Greater Tampa Bay Area 089
126 S Pine St
Sebring, FL 33870


First Umc Of Tullahoma Mens Club
Middle Tennessee Council 560
208 W Lauderdale St
Tullahoma, TN 37388


First Umc Of Wartrace
Middle Tennessee Council 560
305 Main St E
Wartrace, TN 37183


First Umc Of Winchester
Middle Tennessee Council 560
P.O. Box 427
Winchester, TN 37398


First Unitarian Church Of Dallas
Circle Ten Council 571
4015 Normandy Ave
Dallas, TX 75205


First Utd Church Of Christ
Colonial Virginia Council 595
1017 Todds Ln
Hampton, VA 23666
First Utd Church Of Christ
Dan Beard Council, Bsa 438
5808 Glenview Ave
Cincinnati, OH 45224


First Utd Church Of Christ
Hawk Mountain Council 528
3rd   Pine Sts
Hamburg, PA 19526


First Utd Church Of Christ
Hawk Mountain Council 528
76 S 3rd St
Hamburg, PA 19526


First Utd Church Of Christ
Miami Valley Council, Bsa 444
120 Market St
Troy, OH 45373


First Utd Church Of Christ
Minsi Trails Council 502
501 Nampton St
Hellertown, PA 18055


First Utd Church Of Christ
Sugarcreek
Buckeye Council 436
526 W Main St
Sugarcreek, Oh 44681


First Utd Church Of Christ
W D Boyce 138
210 W Chestnut St
Sheffield, IL 61361


First Utd Church Of Christ
Westmoreland Fayette 512
P.O. Box 89
Harrison City, PA 15636
First Utd Church Of Mt Pulaski
W D Boyce 138
303 E Jefferson St
Mount Pulaski, IL 62548


First Utd Church Of Oak Park
Pathway To Adventure 456
848 Lake St
Oak Park, IL 60301


First Utd Church Of Richardson
Circle Ten Council 571
503 N Central Expy
Richardson, TX 75080


First Utd Church Seagoville
Circle Ten Council 571
101 S Kaufman St
Seagoville, TX 75159


First Utd Commty
Methodist Church BD Of Trustees
Blackhawk Area 660
3717 Main St
Mchenry, Il 60050


First Utd Lutheran Church
Bay‐Lakes Council 635
2401 Kohler Memorial Dr
Sheboygan, WI 53081


First Utd Methodiist Church
Yocona Area Council 748
P.O. Box 286
Booneville, MS 38829


First Utd Methodist
Andrew Jackson Council 303
Hwy 80 E Mt. Salus Dr
Clinton, MS 39056


First Utd Methodist
Circle Ten Council 571
309 N Josephine
Royse City, TX 75189


First Utd Methodist
Circle Ten Council 571
503 N Central Expy
Richardson, TX 75080


First Utd Methodist
Circle Ten Council 571
810 N Denny St
Howe, TX 75459


First Utd Methodist
Evangeline Area 212
119 Jefferson St
New Iberia, LA 70560


First Utd Methodist
Flint River Council 095
132 Cherokee Rd
Thomaston, GA 30286


First Utd Methodist
Great Smoky Mountain Council 557
P.O. Box 752
Crossville, TN 38557


First Utd Methodist
Greater Alabama Council 001
341 W Main St
Centre, AL 35960


First Utd Methodist
Greater Wyoming Council 638
136 S 5th St
Douglas, WY 82633


First Utd Methodist
Hawkeye Area Council 172
1298 7th Ave
Marion, IA 52302


First Utd Methodist
Northwest Georgia Council 100
500 S Thornton Ave
Dalton, GA 30720


First Utd Methodist
Overland Trails 322
1600 W E St
North Platte, NE 69101


First Utd Methodist
Pine Burr Area Council 304
323 N Haugh Ave
Picayune, MS 39466


First Utd Methodist
Sam Houston Area Council 576
200 Atchison St
Sealy, TX 77474


First Utd Methodist
Southern Shores Fsc 783
120 S State St
Ann Arbor, MI 48104


First Utd Methodist
Taylorsville Presbyterian Churches
Piedmont Council 420
110 E Main Ave
Taylorsville, Nc 28681


First Utd Methodist
Twin Valley Council Bsa 283
204 1st Ave Nw
Austin, MN 55912


First Utd Methodist
West Tennessee Area Council 559
225 Main St
Martin, TN 38237
First Utd Methodist
West Tennessee Area Council 559
500 S College St
Trenton, TN 38382


First Utd Methodist ‐ Mens Fellowship
Glaciers Edge Council 620
320 S Main St
Fort Atkinson, WI 53538


First Utd Methodist Bella Vista
Westark Area Council 016
20 Boyce Dr
Bella Vista, AR 72715


First Utd Methodist Bixby
Indian Nations Council 488
15502 S Memorial Dr
Bixby, OK 74008


First Utd Methodist Bridgeport
Longhorn Council 662
608 17th St
Bridgeport, TX 76426


First Utd Methodist Calhoun
Northwest Georgia Council 100
205 E Line St
Calhoun, GA 30701


First Utd Methodist Ch
Flint River Council 095
P.O. Box 595
1401 Maple Dr
Griffin, GA 30224


First Utd Methodist Chr Of Lynn Haven
Gulf Coast Council 773
4501 Transmitter Rd
Panama City, FL 32404
First Utd Methodist Church
307 Elm St
Big Rapids, MI 49307


First Utd Methodist Church
620 E Broadway St
Forrest City, AR 72335


First Utd Methodist Church
6220 Griffith Rd
Hillsboro, OH 45133


First Utd Methodist Church
Abraham Lincoln Council 144
200 S Walnut St
Taylorville, IL 62568


First Utd Methodist Church
Abraham Lincoln Council 144
239 N Main St
White Hall, IL 62092


First Utd Methodist Church
Abraham Lincoln Council 144
2941 S Koke Mill Rd
Springfield, IL 62711


First Utd Methodist Church
Alabama‐Florida Council 003
101 E Barbour St
Eufaula, AL 36027


First Utd Methodist Church
Alabama‐Florida Council 003
167 E Broad St
Ozark, AL 36360


First Utd Methodist Church
Allegheny Highlands Council 382
112 Greeves St
Kane, PA 16735
First Utd Methodist Church
Andrew Jackson Council 303
215 W Cherokee St
Brookhaven, MS 39601


First Utd Methodist Church
Andrew Jackson Council 303
P.O. Box 444
Yazoo City, MS 39194


First Utd Methodist Church
Anthony Wayne Area 157
179 S Indiana St
Warsaw, IN 46580


First Utd Methodist Church
Anthony Wayne Area 157
209 W Spring St
Lagrange, IN 46761


First Utd Methodist Church
Anthony Wayne Area 157
502 W Monroe St
Decatur, IN 46733


First Utd Methodist Church
Arbuckle Area Council 468
10 Church St
Lone Grove, OK 73443


First Utd Methodist Church
Arbuckle Area Council 468
129 W 14th St
Ada, OK 74820


First Utd Methodist Church
Arbuckle Area Council 468
306 S 3rd St
Davis, OK 73030
First Utd Methodist Church
Arbuckle Area Council 468
504 S Robberson Ave
Wynnewood, OK 73098


First Utd Methodist Church
Arbuckle Area Council 468
P.O. Box 1632
Ardmore, OK 73402


First Utd Methodist Church
Arbuckle Area Council 468
P.O. Box 563
Atoka, OK 74525


First Utd Methodist Church
Arbuckle Area Council 468
P.O. Box 88
Madill, OK 73446


First Utd Methodist Church
Atlanta Area Council 092
1113 Conyers St Sw
Covington, GA 30014


First Utd Methodist Church
Atlanta Area Council 092
206 Newnan St
Carrollton, GA 30117


First Utd Methodist Church
Atlanta Area Council 092
300 E Ponce De Leon Ave
Decatur, GA 30030


First Utd Methodist Church
Atlanta Area Council 092
321 Hamilton Ave
Bremen, GA 30110


First Utd Methodist Church
Atlanta Area Council 092
4329 Marietta St
Powder Springs, GA 30127


First Utd Methodist Church
Atlanta Area Council 092
56 Whitlock Ave Nw
Marietta, GA 30064


First Utd Methodist Church
Atlanta Area Council 092
P.O. Box 461
Tallapoosa, GA 30176


First Utd Methodist Church
Attn President of Execeutive Board
South Texas Council 577
900 S Shoreline Blvd
Corpus Christi, TX 78401


First Utd Methodist Church
Baden‐Powell Council 368
53 Mckinley Ave
Endicott, NY 13760


First Utd Methodist Church
Bay Area Council 574
1600 W Broad St
Freeport, TX 77541


First Utd Methodist Church
Bay‐Lakes Council 635
108 W Doty Ave
Neenah, WI 54956


First Utd Methodist Church
Bay‐Lakes Council 635
325 E Franklin St
Appleton, WI 54911


First Utd Methodist Church
Bay‐Lakes Council 635
501 Howe St
Green Bay, WI 54301


First Utd Methodist Church
Bay‐Lakes Council 635
601 10th Ave
Menominee, MI 49858


First Utd Methodist Church
Bay‐Lakes Council 635
700 W Linwood Ave
Oshkosh, WI 54901


First Utd Methodist Church
Bay‐Lakes Council 635
813 Owena St
Marinette, WI 54143


First Utd Methodist Church
Black Hills Area Council 695 695
629 Kansas City St
Rapid City, SD 57701


First Utd Methodist Church
Black Swamp Area Council 449
113 W Central Ave
Van Wert, OH 45891


First Utd Methodist Church
Black Swamp Area Council 449
234 N Main St
Kenton, OH 43326


First Utd Methodist Church
Black Swamp Area Council 449
504 Glynwood Rd
Wapakoneta, OH 45895


First Utd Methodist Church
Black Warrior Council 006
800 Greensboro Ave
Tuscaloosa, AL 35401
First Utd Methodist Church
Blackhawk Area 660
1100 N Div St
Harvard, IL 60033


First Utd Methodist Church
Blackhawk Area 660
201 W S St
Woodstock, IL 60098


First Utd Methodist Church
Blackhawk Area 660
236 W Crystal Lake Ave
Crystal Lake, IL 60014


First Utd Methodist Church
Blackhawk Area 660
610 Bonus Ave
Belvidere, IL 61008


First Utd Methodist Church
Blue Grass Council 204
117 W Main St
Flemingsburg, KY 41041


First Utd Methodist Church
Blue Grass Council 204
200 W High St
Lexington, KY 40507


First Utd Methodist Church
Blue Grass Council 204
204 S Main St
Winchester, KY 40391


First Utd Methodist Church
Blue Grass Council 204
211 Washington St
Frankfort, KY 40601


First Utd Methodist Church
Blue Grass Council 204
401 W Main St
Richmond, KY 40475


First Utd Methodist Church
Blue Grass Council 204
99 S Central Ave
Somerset, KY 42501


First Utd Methodist Church
Blue Grass Council 204
P.O. Box 307
Cynthiana, KY 41031


First Utd Methodist Church
Blue Mountain Council 604
421 W Kennewick Ave
Kennewick, WA 99336


First Utd Methodist Church
Blue Ridge Mtns Council 599
146 E Main St
Martinsville, VA 24112


First Utd Methodist Church
Buckeye Council 436
220 Sandusky St
Ashland, OH 44805


First Utd Methodist Church
Buckeye Council 436
P.O. Box 426
Uhrichsville, OH 44683


First Utd Methodist Church
Buckskin 617
100 Center St
Princeton, WV 24740


First Utd Methodist Church
Buckskin 617
1124 5th Ave
Huntington, WV 25701


First Utd Methodist Church
Buckskin 617
120 Church St
Webster Springs, WV 26288


First Utd Methodist Church
Buckskin 617
719 Flinn Ave
Ravenswood, WV 26164


First Utd Methodist Church
Buckskin 617
P.O. Box 78
Williamson, WV 25661


First Utd Methodist Church
Bucktail Council 509
100 W Long Ave
Du Bois, PA 15801


First Utd Methodist Church
Bucktail Council 509
506 Jackson St
Reynoldsville, PA 15851


First Utd Methodist Church
Buffalo Trace 156
100 S Church St
Carmi, IL 62821


First Utd Methodist Church
Buffalo Trace 156
117 W N St
Grayville, IL 62844


First Utd Methodist Church
Buffalo Trace 156
129 E Main St
Albion, IL 62806
First Utd Methodist Church
Buffalo Trace 156
601 Main St
Mount Vernon, IN 47620


First Utd Methodist Church
Buffalo Trace 156
P.O. Box 157
Petersburg, IN 47567


First Utd Methodist Church
Buffalo Trail Council 567
305 S Baird St
Midland, TX 79701


First Utd Methodist Church
Buffalo Trail Council 567
600 S Alice Ave
Monahans, TX 79756


First Utd Methodist Church
Buffalo Trail Council 567
P.O. Box 1229
Big Spring, TX 79721


First Utd Methodist Church
Caddo Area Council 584
1403 W Sunset St
Nashville, AR 71852


First Utd Methodist Church
Caddo Area Council 584
501 9th St
Mena, AR 71953


First Utd Methodist Church
Caddo Area Council 584
701 Lindsey Ln
Atlanta, TX 75551


First Utd Methodist Church
Calcasieu Area Council 209
202 N 5th Str
Leesville, LA 71446


First Utd Methodist Church
Calcasieu Area Council 209
406 W Shirley St
De Ridder, LA 70634


First Utd Methodist Church
Calcasieu Area Council 209
812 Kirkman Str
Lake Charles, LA 70601


First Utd Methodist Church
California Inland Empire Council 045
4845 Brockton Ave
Riverside, CA 92506


First Utd Methodist Church
California Inland Empire Council 045
918 N Euclid Ave
Ontario, CA 91762


First Utd Methodist Church
Cape Fear Council 425
P.O. Box 1706
Laurinburg, NC 28353


First Utd Methodist Church
Capitol Area Council 564
129 W Hutchison St
San Marcos, TX 78666


First Utd Methodist Church
Carrollton
Buckeye Council 436
P.O. Box 85
253 S Lisbon St
Carrollton, OH 44615


First Utd Methodist Church
Central Florida Council 083
1001 Ohio Ave
Saint Cloud, FL 34769


First Utd Methodist Church
Central Florida Council 083
101 W Dakin Ave
Kissimmee, FL 34741


First Utd Methodist Church
Central Florida Council 083
125 N Lakeview Ave
Winter Garden, FL 34787


First Utd Methodist Church
Central Florida Council 083
419 S Park Ave
Sanford, FL 32771


First Utd Methodist Church
Central Florida Council 083
600 S Grove St
Eustis, FL 32726


First Utd Methodist Church
Central N Carolina Council 416
110 W Church St
China Grove, NC 28023


First Utd Methodist Church
Central N Carolina Council 416
217 S Church St
Salisbury, NC 28144


First Utd Methodist Church
Chattahoochee Council 091
401 Broad St
Lagrange, GA 30240


First Utd Methodist Church
Cherokee Area Council 469 469
1005 Leisure Rd
Grove, OK 74344


First Utd Methodist Church
Cherokee Area Council 556
3425 Ocoee St N
Cleveland, TN 37312


First Utd Methodist Church
Cherokee Area Council 556
P.O. Box 12
Dayton, TN 37321


First Utd Methodist Church
Chickasaw Council 558
161 S Line St
Grenada, MS 38901


First Utd Methodist Church
Chickasaw Council 558
215 N Missouri St
West Memphis, AR 72301


First Utd Methodist Church
Chief Cornplanter Council, Bsa 538
200 Market St
Warren, PA 16365


First Utd Methodist Church
Choctaw Area Council 302
South Mulberry
Butler, AL 36904


First Utd Methodist Church
Cimarron Council 474
110 Flynn
Waynoka, OK 73860


First Utd Methodist Church
Cimarron Council 474
115 N Pennsylvania Ave
Drumright, OK 74030
First Utd Methodist Church
Cimarron Council 474
626 College Ave
Alva, OK 73717


First Utd Methodist Church
Cimarron Council 474
727 Elm St
Perry, OK 73077


First Utd Methodist Church
Cimarron Council 474
P.O. Box 385
Mooreland, OK 73852


First Utd Methodist Church
Circle Ten Council 571
101 Burris
Valliant, OK 74764


First Utd Methodist Church
Circle Ten Council 571
101 S Kaufman St
Seagoville, TX 75159


First Utd Methodist Church
Circle Ten Council 571
122 N Center St
Grand Prairie, TX 75050


First Utd Methodist Church
Circle Ten Council 571
122 S Union St
Whitesboro, TX 76273


First Utd Methodist Church
Circle Ten Council 571
128 N Roberts Rd
Cedar Hill, TX 75104


First Utd Methodist Church
Circle Ten Council 571
1555 E Quinlan Pkwy
P.O. Box 2590
Quinlan, TX 75474


First Utd Methodist Church
Circle Ten Council 571
1709 State Hwy 24
Commerce, TX 75428


First Utd Methodist Church
Circle Ten Council 571
201 Cedar Ave
Naples, TX 75568


First Utd Methodist Church
Circle Ten Council 571
206 N Main St
Farmersville, TX 75442


First Utd Methodist Church
Circle Ten Council 571
211 W 3rd St
Irving, TX 75060


First Utd Methodist Church
Circle Ten Council 571
2201 E Hebron Pkwy
Carrollton, TX 75010


First Utd Methodist Church
Circle Ten Council 571
300 N Sherman St
Ennis, TX 75119


First Utd Methodist Church
Circle Ten Council 571
301 S Preston St
Van Alstyne, TX 75495


First Utd Methodist Church
Circle Ten Council 571
303 N Sherman St
Ennis, TX 75119


First Utd Methodist Church
Circle Ten Council 571
315 N Church St
Mckinney, TX 75069


First Utd Methodist Church
Circle Ten Council 571
322 Lamar Ave
Paris, TX 75460


First Utd Methodist Church
Circle Ten Council 571
401 N Elm St
Sherman, TX 75090


First Utd Methodist Church
Circle Ten Council 571
403 S Main St
Duncanville, TX 75116


First Utd Methodist Church
Circle Ten Council 571
406 Hwy 37 S
P.O. Box 659
Mount Vernon, TX 75457


First Utd Methodist Church
Circle Ten Council 571
420 S Heartz Rd
Coppell, TX 75019


First Utd Methodist Church
Circle Ten Council 571
4405 Main St
Rowlett, TX 75088


First Utd Methodist Church
Circle Ten Council 571
501 N Main St
Grand Saline, TX 75140


First Utd Methodist Church
Circle Ten Council 571
501 S 3rd St
Mabank, TX 75147


First Utd Methodist Church
Circle Ten Council 571
502 W Broad St
P.O. Box 69
Chandler, TX 75758


First Utd Methodist Church
Circle Ten Council 571
503 N Central Expy
Richardson, TX 75080


First Utd Methodist Church
Circle Ten Council 571
600 S Buffalo St
Canton, TX 75103


First Utd Methodist Church
Circle Ten Council 571
800 S 9th St
Midlothian, TX 76065


First Utd Methodist Church
Circle Ten Council 571
801 W Ave B
Garland, TX 75040


First Utd Methodist Church
Circle Ten Council 571
P.O. Box 1015
Broken Bow, OK 74728


First Utd Methodist Church
Circle Ten Council 571
P.O. Box 158
Rockwall, TX 75087
First Utd Methodist Church
Circle Ten Council 571
P.O. Box 187
Canton, TX 75103


First Utd Methodist Church
Circle Ten Council 571
P.O. Box 25
600 Daubitz Dr
Red Oak, TX 75154


First Utd Methodist Church
Circle Ten Council 571
P.O. Box 556
Pittsburg, TX 75686


First Utd Methodist Church
Circle Ten Council 571
P.O. Box 625
Mount Vernon, TX 75457


First Utd Methodist Church
Circle Ten Council 571
P.O. Box 74
Wolfe City, TX 75496


First Utd Methodist Church
Coastal Carolina Council 550
12 21st Ave
P.O. Box 807
Isle of Palms, SC 29451


First Utd Methodist Church
Coastal Carolina Council 550
P.O. Box 807
12 21st Ave
Isle of Palms, SC 29451


First Utd Methodist Church
Coastal Georgia Council 099
1400 Norwich St
Brunswick, GA 31520


First Utd Methodist Church
Coastal Georgia Council 099
217 S Main St
Baxley, GA 31513


First Utd Methodist Church
Coastal Georgia Council 099
410 Williams St
Waycross, GA 31501


First Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 534
Statesboro, GA 30458


First Utd Methodist Church
Columbiana
Buckeye Council 436
210 S Main St
Columbiana, Oh 44408


First Utd Methodist Church
Connecticut Yankee Council Bsa 072
159 E Main St
Meriden, CT 06450


First Utd Methodist Church
Connecticut Yankee Council Bsa 072
42 Cross Rd
Stamford, CT 06905


First Utd Methodist Church
Connecticut Yankee Council Bsa 072
941 Old Rock Hill Rd
Wallingford, CT 06492


First Utd Methodist Church
Conquistador Council Bsa 413
1501 Sycamore St
Clovis, NM 88101
First Utd Methodist Church
Conquistador Council Bsa 413
200 E Snyder St
Hobbs, NM 88240


First Utd Methodist Church
Conquistador Council Bsa 413
200 S Ave C
Portales, NM 88130


First Utd Methodist Church
Conquistador Council Bsa 413
407 N Main Ave
Lovington, NM 88260


First Utd Methodist Church
Conquistador Council Bsa 413
P.O. Box 1492
Artesia, NM 88211


First Utd Methodist Church
Conquistador Council Bsa 413
P.O. Box 419
Portales, NM 88130


First Utd Methodist Church
Cornhusker Council 324
1023 1st Ave
Nebraska City, NE 68410


First Utd Methodist Church
Cornhusker Council 324
14410 Folkestone St
Waverly, NE 68462


First Utd Methodist Church
Cornhusker Council 324
2723 N 50th St
Lincoln, NE 68504
First Utd Methodist Church
Coronado Area Council 192
593 3rd St
Phillipsburg, KS 67661


First Utd Methodist Church
Coronado Area Council 192
601 N Cedar St
Abilene, KS 67410


First Utd Methodist Church
Coronado Area Council 192
612 Poyntz Ave
Manhattan, KS 66502


First Utd Methodist Church
Coronado Area Council 192
801 N Bell St
Beloit, KS 67420


First Utd Methodist Church
Coronado Area Council 192
P.O. Box 118
921 5th St
Clay Center, KS 67432


First Utd Methodist Church
Corsicana
Circle Ten Council 571
320 N 15Th St
Corsicana, Tx 75110


First Utd Methodist Church
Crater Lake Council 491
680 NW Bond St
Bend, OR 97703


First Utd Methodist Church
Crossroads of America 160
1215 Jackson St
Anderson, IN 46016
First Utd Methodist Church
Crossroads of America 160
2051 Monument St
Noblesville, IN 46060


First Utd Methodist Church
Crossroads of America 160
212 E Wabash Ave
Crawfordsville, IN 47933


First Utd Methodist Church
Crossroads of America 160
34 W Washington St
Shelbyville, IN 46176


First Utd Methodist Church
Daniel Boone Council 414
29 Newfound St
Canton, NC 28716


First Utd Methodist Church
Daniel Boone Council 414
31 Newfound St
Canton, NC 28716


First Utd Methodist Church
Daniel Boone Council 414
566 S Haywood St
Waynesville, NC 28786


First Utd Methodist Church
Daniel Boone Council 414
P.O. Box 296
Sylva, NC 28779


First Utd Methodist Church
Daniel Boone Council 414
P.O. Box 86
73 Valley River Ave
Murphy, NC 28906


First Utd Methodist Church
De Soto Area Council 013
104 E 4th St
Fordyce, AR 71742


First Utd Methodist Church
De Soto Area Council 013
317 S Main St
Monticello, AR 71655


First Utd Methodist Church
De Soto Area Council 013
320 W Main St
Magnolia, AR 71753


First Utd Methodist Church
De Soto Area Council 013
500 Main St
Crossett, AR 71635


First Utd Methodist Church
De Soto Area Council 013
500 W 7th St
Smackover, AR 71762


First Utd Methodist Church
Del Mar Va 081
P.O. Box 227
Chestertown, MD 21620


First Utd Methodist Church
Denver Area Council 061
1200 S St
Castle Rock, CO 80104


First Utd Methodist Church
Denver Area Council 061
1500 Ford St
Golden, CO 80401


First Utd Methodist Church
Denver Area Council 061
522 White Ave
Grand Junction, CO 81501


First Utd Methodist Church
East Carolina Council 426
100 S Church St
Rocky Mount, NC 27804


First Utd Methodist Church
East Carolina Council 426
304 W 2nd St
Washington, NC 27889


First Utd Methodist Church
East Carolina Council 426
P.O. Box 1423
100 Green St Ne
Wilson, NC 27894


First Utd Methodist Church
East Liverpool
Buckeye Council 436
200 W 5Th St
East Liverpool, Oh 43920


First Utd Methodist Church
East Texas Area Council 585
105 N Montgomery St
Gilmer, TX 75644


First Utd Methodist Church
East Texas Area Council 585
201 E Hospital St
Nacogdoches, TX 75961


First Utd Methodist Church
East Texas Area Council 585
204 N Marshall St
Henderson, TX 75652


First Utd Methodist Church
East Texas Area Council 585
211 Porter St
Center, TX 75935


First Utd Methodist Church
East Texas Area Council 585
213 E Henderson St
Overton, TX 75684


First Utd Methodist Church
East Texas Area Council 585
601 E Hospital St
Nacogdoches, TX 75961


First Utd Methodist Church
East Texas Area Council 585
612 N Newsom St
Mineola, TX 75773


First Utd Methodist Church
East Texas Area Council 585
P.O. Box 365
Hallsville, TX 75650


First Utd Methodist Church
Erie Shores Council 460
200 W 2nd St
Perrysburg, OH 43551


First Utd Methodist Church
Evangeline Area 212
109 Gilmore Dr
Berwick, LA 70342


First Utd Methodist Church
Fairfield
Mid Iowa Council 177
P.O. Box 464
201 N Court St
Fairfield, IA 52556


First Utd Methodist Church
Five Rivers Council, Inc 375
144 Cedar St
Corning, NY 14830


First Utd Methodist Church
Flint River Council 095
33 Greenville St
Newnan, GA 30263


First Utd Methodist Church
Flint River Council 095
375 Thomaston St
Barnesville, GA 30204


First Utd Methodist Church
Flint River Council 095
P.O. Box 2424
33 Greenville St
Newnan, GA 30264


First Utd Methodist Church
Fort Collins
Longs Peak Council 062
1005 Stover St
Fort Collins, Co 80524


First Utd Methodist Church
French Creek Council 532
42 E High St
Union City, PA 16438


First Utd Methodist Church
French Creek Council 532
73 Clinton St
Greenville, PA 16125


First Utd Methodist Church
Garden State Council 690
1 Church St
Cape May Court House, NJ 08210


First Utd Methodist Church
Garden State Council 690
201 N 2nd St
Millville, NJ 08332


First Utd Methodist Church
Garden State Council 690
Camden   Pleasant Valley
Moorestown, NJ 08057


First Utd Methodist Church
Georgia‐Carolina 093
353 Main St
Thomson, GA 30824


First Utd Methodist Church
Glaciers Edge Council 620
111 N Broad St
Elkhorn, WI 53121


First Utd Methodist Church
Glaciers Edge Council 620
400 Doty St
Mineral Point, WI 53565


First Utd Methodist Church
Grand Canyon Council 010
101 E Hillview St
Winslow, AZ 86047


First Utd Methodist Church
Grand Canyon Council 010
298 W 3rd St
Yuma, AZ 85364


First Utd Methodist Church
Grand Canyon Council 010
5510 N Central Ave
Phoenix, AZ 85012


First Utd Methodist Church
Grand Columbia Council 614
941 Washington St
Wenatchee, WA 98801
First Utd Methodist Church
Great Rivers Council 653
1701 W 32nd St
Sedalia, MO 65301


First Utd Methodist Church
Great Rivers Council 653
201 Monroe St
Jefferson City, MO 65101


First Utd Methodist Church
Great Rivers Council 653
300 E Washington St
Kirksville, MO 63501


First Utd Methodist Church
Great Rivers Council 653
Broadway and Church
Bowling Green, MO 63334


First Utd Methodist Church
Great Rivers Council 653, 4th      Osage
Sedalia, MO 65301


First Utd Methodist Church
Great Rivers Council 653, 4th and Osage
Sedalia, MO 65301


First Utd Methodist Church
Great Smoky Mountain Council 557
121 E Meeting St
Dandridge, TN 37725


First Utd Methodist Church
Great Smoky Mountain Council 557
1350 Oak Ridge Tpke
Oak Ridge, TN 37830


First Utd Methodist Church
Great Smoky Mountain Council 557
1469 Dupont Rd
Seymour, TN 37865


First Utd Methodist Church
Great Smoky Mountain Council 557
2011 Branner Ave
Jefferson City, TN 37760


First Utd Methodist Church
Great Smoky Mountain Council 557
617 Gilbert St
Alcoa, TN 37701


First Utd Methodist Church
Great Smoky Mountain Council 557
804 Montvale Station Rd
Maryville, TN 37803


First Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 157
Madisonville, TN 37354


First Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 4445
Oneida, TN 37841


First Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 752
Crossville, TN 38557


First Utd Methodist Church
Great Swest Council 412
1501 S 4th St
Raton, NM 87740


First Utd Methodist Church
Great Trail 433
245 Portage Trl
Cuyahoga Falls, OH 44221
First Utd Methodist Church
Great Trail 433
608 N Crandon Ave
Niles, OH 44446


First Utd Methodist Church
Greater Alabama Council 001
105 E Spring St
Sylacauga, AL 35150


First Utd Methodist Church
Greater Alabama Council 001
1105 S Broad St
Scottsboro, AL 35768


First Utd Methodist Church
Greater Alabama Council 001
208 E Hobbs St
Athens, AL 35611


First Utd Methodist Church
Greater Alabama Council 001
2200 3rd Ave N
Pell City, AL 35125


First Utd Methodist Church
Greater Alabama Council 001
311 Jackson Ave N
Russellville, AL 35653


First Utd Methodist Church
Greater Alabama Council 001
320 3rd St Se
Cullman, AL 35055


First Utd Methodist Church
Greater Alabama Council 001
806 Main St
Roanoke, AL 36274


First Utd Methodist Church
Greater Los Angeles Area 033
13222 Bailey St
Whittier, CA 90601


First Utd Methodist Church
Greater Los Angeles Area 033
5957 Golden W Ave
Temple City, CA 91780


First Utd Methodist Church
Greater Niagara Frontier Council 380
474 E Main St
Springville, NY 14141


First Utd Methodist Church
Greater Niagara Frontier Council 380
7 Church St
Akron, NY 14001


First Utd Methodist Church
Greater St Louis Area Council 312
127 N 4th St
Vandalia, IL 62471


First Utd Methodist Church
Greater St Louis Area Council 312
1601 Charleston Ave
Mattoon, IL 61938


First Utd Methodist Church
Greater St Louis Area Council 312
201 W N St
Decatur, IL 62522


First Utd Methodist Church
Greater St Louis Area Council 312
201 W Walnut St
Robinson, IL 62454


First Utd Methodist Church
Greater St Louis Area Council 312
214 W Main St
Carbondale, IL 62901


First Utd Methodist Church
Greater St Louis Area Council 312
310 S 2nd St
Greenville, IL 62246


First Utd Methodist Church
Greater St Louis Area Council 312
324 W Court St
Paris, IL 61944


First Utd Methodist Church
Greater St Louis Area Council 312
3324 Old US Hwy 50
Trenton, IL 62293


First Utd Methodist Church
Greater St Louis Area Council 312
400 W Broadway Blvd
Johnston City, IL 62951


First Utd Methodist Church
Greater St Louis Area Council 312
413 E Broadway
Centralia, IL 62801


First Utd Methodist Church
Greater St Louis Area Council 312
500 N Main St
Poplar Bluff, MO 63901


First Utd Methodist Church
Greater St Louis Area Council 312
702 Plum St
Marshall, IL 62441


First Utd Methodist Church
Greater St Louis Area Council 312
P.O. Box 337
109 E Washington
Carrier Mills, IL 62917
First Utd Methodist Church
Greater St Louis Area Council 312
West 3rd and N Walnut
Saint Elmo, IL 62458


First Utd Methodist Church
Greater Tampa Bay Area 089
212 3rd St N
Saint Petersburg, FL 33701


First Utd Methodist Church
Greater Tampa Bay Area 089
501 E Tarpon Ave
Tarpon Springs, FL 34689


First Utd Methodist Church
Greater Tampa Bay Area 089
72 Lake Morton Dr
Lakeland, FL 33801


First Utd Methodist Church
Greater Wyoming Council 638
2000 W Lakeway Rd
Gillette, WY 82718


First Utd Methodist Church
Greater Wyoming Council 638
262 N 3rd St
Lander, WY 82520


First Utd Methodist Church
Greater Wyoming Council 638
332 E 2nd St
Casper, WY 82601


First Utd Methodist Church
Greater Yosemite Council 059
6901 3rd St
P.O. Box 1091
Riverbank, CA 95367
First Utd Methodist Church
Gulf Coast Council 773
1001 Constitution Dr
Port Saint Joe, FL 32456


First Utd Methodist Church
Gulf Coast Council 773
103 1st St Se
Ft Walton Bch, FL 32548


First Utd Methodist Church
Gulf Coast Council 773
311 S Pensacola Ave
Atmore, AL 36502


First Utd Methodist Church
Gulf Coast Council 773
599 8th Ave
Crestview, FL 32536


First Utd Methodist Church
Gulf Coast Council 773
6 E Wright St
Pensacola, FL 32501


First Utd Methodist Church
Gulf Coast Council 773
903 E 4th St
Panama City, FL 32401


First Utd Methodist Church
Gulf Coast Council 773
P.O. Box 9
88 Cir Dr
Defuniak Springs, FL 32435


First Utd Methodist Church
Gulf Stream Council 085
1500 S Kanner Hwy
Stuart, FL 34994
First Utd Methodist Church
Gulf Stream Council 085
352 W Arcade Ave
Clewiston, FL 33440


First Utd Methodist Church
Gulf Stream Council 085
625 NE Mizner Blvd
Boca Raton, FL 33432


First Utd Methodist Church
Hawkeye Area Council 172
214 E Jefferson St
Iowa City, IA 52245


First Utd Methodist Church
Heart of America Council 307
1650 Rainbow Blvd
Excelsior Springs, MO 64024


First Utd Methodist Church
Heart of America Council 307
203 E 4th St
Ottawa, KS 66067


First Utd Methodist Church
Heart of America Council 307
205 S Oak St
Garnett, KS 66032


First Utd Methodist Church
Heart of Virginia Council 602
P.O. Box 636
Hopewell, VA 23860


First Utd Methodist Church
Henderson
West Tennessee Area Council 559
P.O. Box 579
Henderson, Tn 38340


First Utd Methodist Church
Hoosier Trails Council 145 145
240 W Poplar St
North Vernon, IN 47265


First Utd Methodist Church
Hoosier Trails Council 145 145
618 8th St
Columbus, IN 47201


First Utd Methodist Church
Hoosier Trails Council 145 145
P.O. Box 548
Ellettsville, IN 47429


First Utd Methodist Church
Illowa Council 133
108 E Central Blvd
Kewanee, IL 61443


First Utd Methodist Church
Illowa Council 133
120 N Kellogg St
Galesburg, IL 61401


First Utd Methodist Church
Illowa Council 133
221 E Broadway
Monmouth, IL 61462


First Utd Methodist Church
Illowa Council 133
236 7th Ave S
Clinton, IA 52732


First Utd Methodist Church
Illowa Council 133
302 N State St
Geneseo, IL 61254


First Utd Methodist Church
Illowa Council 133
621 S 3rd St
Clinton, IA 52732


First Utd Methodist Church
Indianola
Mid Iowa Council 177
302 W Ashland Ave
Indianola, Ia 50125


First Utd Methodist Church
Inland Nwest Council 611
322 E 3rd St
Moscow, ID 83843


First Utd Methodist Church
Iowa Falls
Mid Iowa Council 177
619 Main St
Iowa Falls, Ia 50126


First Utd Methodist Church
Iroquois Trail Council 376
8221 Lewiston Rd
Batavia, NY 14020


First Utd Methodist Church
Istrouma Area Council 211
319 Mattie St
Denham Springs, LA 70726


First Utd Methodist Church
Istrouma Area Council 211
80007 Fitzgerald Church Rd
Covington, LA 70435


First Utd Methodist Church
Istrouma Area Council 211
P.O. Box 155
Livingston, LA 70754


First Utd Methodist Church
Jayhawk Area Council 197
600 SW Topeka Blvd
Topeka, KS 66603


First Utd Methodist Church
Jayhawk Area Council 197
P.O. Box 154
Osage City, KS 66523


First Utd Methodist Church
Jayhawk Area Council 197
P.O. Box 269
Holton, KS 66436


First Utd Methodist Church
Jersey Shore Council 341
6011 Main St
Mays Landing, NJ 08330


First Utd Methodist Church
Juniata Valley Council 497
427 Mifflin St
Huntingdon, PA 16652


First Utd Methodist Church
Katahdin Area Council 216
703 Essex St
Bangor, ME 04401


First Utd Methodist Church
Knoxville
Mid Iowa Council 177
313 E Montgomery St
Knoxville, Ia 50138


First Utd Methodist Church
Lake Erie Council 440
127 Park Pl
Wellington, OH 44090


First Utd Methodist Church
Lasalle Council 165
103 Franklin St
Valparaiso, IN 46383
First Utd Methodist Church
Lasalle Council 165
132 S Oak St
Buchanan, MI 49107


First Utd Methodist Church
Lasalle Council 165
214 S 5th St
Goshen, IN 46528


First Utd Methodist Church
Lasalle Council 165
400 N Michigan St
Plymouth, IN 46563


First Utd Methodist Church
Last Frontier Council 480
202 W Oklahoma Ave
Anadarko, OK 73005


First Utd Methodist Church
Last Frontier Council 480
224 E Noble Ave
Guthrie, OK 73044


First Utd Methodist Church
Last Frontier Council 480
2300 N Country Club Rd
Duncan, OK 73533


First Utd Methodist Church
Last Frontier Council 480
2602 NW Ferris Ave
Lawton, OK 73505


First Utd Methodist Church
Last Frontier Council 480
305 E Hurd St
Edmond, OK 73034
First Utd Methodist Church
Last Frontier Council 480
400 Elm Ave
Yukon, OK 73099


First Utd Methodist Church
Last Frontier Council 480
438 E D Ave
Waurika, OK 73573


First Utd Methodist Church
Last Frontier Council 480
Box 648
201 S Washington St
Hobart, OK 73651


First Utd Methodist Church
Last Frontier Council 480
P.O. Box 177
619 G St
Elgin, OK 73538


First Utd Methodist Church
Last Frontier Council 480
P.O. Box 177
Elgin, OK 73538


First Utd Methodist Church
Last Frontier Council 480
P.O. Box 997
Mcloud, OK 74851


First Utd Methodist Church
Laurel Highlands Council 527
29 N College St
Washington, PA 15301


First Utd Methodist Church
Laurel Highlands Council 527
430 W Main St
Monongahela, PA 15063
First Utd Methodist Church
Laurel Highlands Council 527
801 Allegheny St
Hollidaysburg, PA 16648


First Utd Methodist Church
Lincoln Heritage Council 205
200 E Center St
Madisonville, KY 42431


First Utd Methodist Church
Lincoln Heritage Council 205
423 Main Cross St
Charlestown, IN 47111


First Utd Methodist Church
Lincoln Heritage Council 205
503 Maple St
Murray, KY 42071


First Utd Methodist Church
Lincoln Heritage Council 205
P.O. Box 372
Dawson Springs, KY 42408


First Utd Methodist Church
Longhorn Council 662
114 Paula Dr
Joshua, TX 76058


First Utd Methodist Church
Longhorn Council 662
1300 W Whill Dr
Cleburne, TX 76033


First Utd Methodist Church
Longhorn Council 662
201 S Locust St
Denton, TX 76201


First Utd Methodist Church
Longhorn Council 662
203 N Canton St
Mexia, TX 76667


First Utd Methodist Church
Longhorn Council 662
214 S Denton St
Gainesville, TX 76240


First Utd Methodist Church
Longhorn Council 662
300 N Main
Meridian, TX 76665


First Utd Methodist Church
Longhorn Council 662
301 N Spears St
Alvarado, TX 76009


First Utd Methodist Church
Longhorn Council 662
313 N Center St
Arlington, TX 76011


First Utd Methodist Church
Longhorn Council 662
406 N Main St
Jacksboro, TX 76458


First Utd Methodist Church
Longhorn Council 662
4901 Cobbs Dr
Waco, TX 76710


First Utd Methodist Church
Longhorn Council 662
907 W Main St
Lewisville, TX 75067


First Utd Methodist Church
Longhorn Council 662
P.O. Box 1461
Hurst, TX 76053
First Utd Methodist Church
Longhorn Council 662
P.O. Box 205
Colleyville, TX 76034


First Utd Methodist Church
Longhorn Council 662
P.O. Box 529
Clifton, TX 76634


First Utd Methodist Church
Longhorn Council 662
P.O. Box 773
Temple, TX 76503


First Utd Methodist Church
Longhouse Council 373
189 Main St
Massena, NY 13662


First Utd Methodist Church
Longhouse Council 373
2744 E Brutus St
Weedsport, NY 13166


First Utd Methodist Church
Longhouse Council 373
South St
Port Byron, NY 13140


First Utd Methodist Church
Longs Peak Council 062
108 E 18th St
Cheyenne, WY 82001


First Utd Methodist Church
Longs Peak Council 062
1215 E Gibbon St
Laramie, WY 82072
First Utd Methodist Church
Longs Peak Council 062
503 Walnut St
Windsor, CO 80550


First Utd Methodist Church
Longs Peak Council 062
900 O St
Gering, NE 69341


First Utd Methodist Church
Longs Peak Council 062
917 10th Ave
Greeley, CO 80631


First Utd Methodist Church
Los Padres Council 053
305 E Anapamu St
Santa Barbara, CA 93101


First Utd Methodist Church
Louisiana Purchase Council 213
1411 Glenwood Dr
West Monroe, LA 71291


First Utd Methodist Church
Marshalltown
c/o Jeff Kodis
Mid Iowa Council 177
202 W Main St
Marshalltown, IA 50158


First Utd Methodist Church
Mason Dixon Council 221
11 N Fayette St
Mercersburg, PA 17236


First Utd Methodist Church
Mason Dixon Council 221
Of Mercersburg
Mercersburg, PA 17236
First Utd Methodist Church
Mayflower Council 251
120 W Main St
Gina Downing
Westborough, MA 01581


First Utd Methodist Church
Mayflower Council 251
360 Water St
Framingham, MA 01701


First Utd Methodist Church
Miami Valley Council, Bsa 444
202 W 4th St
Greenville, OH 45331


First Utd Methodist Church
Mid‐America Council 326
1202 9th St
Harlan, IA 51537


First Utd Methodist Church
Mid‐America Council 326
127 N 10th St
Fort Dodge, IA 50501


First Utd Methodist Church
Mid‐America Council 326
200 Church St
Shenandoah, IA 51601


First Utd Methodist Church
Mid‐America Council 326
400 N Elm St
Creston, IA 50801


First Utd Methodist Church
Mid‐America Council 326
428 Washington St
Audubon, IA 50025


First Utd Methodist Church
Mid‐America Council 326
600 E Hammond St
Red Oak, IA 51566


First Utd Methodist Church
Mid‐America Council 326
815 N Broad St
Fremont, NE 68025


First Utd Methodist Church
Mid‐America Council 326
P.O. Box 398
222 Walnut St
Louisville, NE 68037


First Utd Methodist Church
Middle Tennessee Council 560
202 S Main St
Mt Pleasant, TN 38474


First Utd Methodist Church
Middle Tennessee Council 560
204 S Main St
Mt Pleasant, TN 38474


First Utd Methodist Church
Mississippi Valley Council 141 141
309 N Main St
Mt Pleasant, IA 52641


First Utd Methodist Church
Mississippi Valley Council 141 141
P.O. Box 208
Rushville, IL 62681


First Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 338
Reverend Jay Cooper
Bay Minette, AL 36507


First Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 448
Grand Bay, AL 36541


First Utd Methodist Church
Montana Council 315
24 N 11th St
Miles City, Mt
Miles City, MT 59301


First Utd Methodist Church
Montana Council 315
2800 4th Ave N
Billings, MT 59101


First Utd Methodist Church
Montana Council 315
300 E Main St
Missoula, MT 59802


First Utd Methodist Church
Montana Council 315
600 2nd Ave N
Great Falls, MT 59401


First Utd Methodist Church
Montana Council 315
610 2nd Ave N
Great Falls, MT 59401


First Utd Methodist Church
Moraine Trails Council 500
416 Crescent Ave
Ellwood City, PA 16117


First Utd Methodist Church
Mount Baker Council, Bsa 606
1607 E Div St
Mount Vernon, WA 98274


First Utd Methodist Church
Mountaineer Area 615
315 Kerens Ave
Elkins, WV 26241


First Utd Methodist Church
Mountaineer Area 615
52 S Florida St
Buckhannon, WV 26201


First Utd Methodist Church
Mountaineer Area 615
64 Rebecca St
Shinnston, WV 26431


First Utd Methodist Church
Mt Diablo‐Silverado Council 023
502 Virginia St
Vallejo, CA 94590


First Utd Methodist Church
Muskingum Valley Council, Bsa 467
304 W 5th St
Williamstown, WV 26187


First Utd Methodist Church
Nevada Area Council 329
209 W 1st St
Reno, NV 89501


First Utd Methodist Church
New Birth of Freedom 544
64 W Chocolate Ave
Hershey, PA 17033


First Utd Methodist Church
North Florida Council 087
1126 E Silver Springs Blvd
Ocala, FL 34470


First Utd Methodist Church
North Florida Council 087
118 King St
Saint Augustine, FL 32084
First Utd Methodist Church
North Florida Council 087
213 W Noble Ave
Williston, FL 32696


First Utd Methodist Church
North Florida Council 087
P.O. Box 1086
Chiefland, FL 32644


First Utd Methodist Church
Northeast Georgia Council 101
2780 Thompson Bridge
Gainesville, GA 30506


First Utd Methodist Church
Northeast Georgia Council 101
280 N Broad St
Winder, GA 30680


First Utd Methodist Church
Northeast Georgia Council 101
327 N Lumpkin St
Athens, GA 30601


First Utd Methodist Church
Northeastern Pennsylvania Council 501
408 Wyoming Ave
West Pittston, PA 18643


First Utd Methodist Church
Northwest Georgia Council 100
100 W Chestnut St
Chatsworth, GA 30705


First Utd Methodist Church
Northwest Texas Council 587
909 10th St
Wichita Falls, TX 76301
First Utd Methodist Church
Norwela Council 215
411 2nd St
Natchitoches, LA 71457


First Utd Methodist Church
Norwela Council 215
502 Polk St
Mansfield, LA 71052


First Utd Methodist Church
Occoneechee 421
1101 W Raleigh St
Siler City, NC 27344


First Utd Methodist Church
Ohio River Valley Council 619
123 W Church St
Barnesville, OH 43713


First Utd Methodist Church
Ohio River Valley Council 619
307 Clay St
Martins Ferry, OH 43935


First Utd Methodist Church
Ohio River Valley Council 619
3402 Guernsey St
Bellaire, OH 43906


First Utd Methodist Church
Old Hickory Council 427
401 6th St
North Wilkesboro, NC 28659


First Utd Methodist Church
Old Hickory Council 427
Sixth   E St
North Wilkesboro, NC 28659


First Utd Methodist Church
Old N State Council 070
224 N Fayetteville St
St
Asheboro, NC 27203


First Utd Methodist Church
Old N State Council 070
224 N Fayetteville St
Asheboro, NC 27203


First Utd Methodist Church
Old N State Council 070
310 S Main St
Lexington, NC 27292


First Utd Methodist Church
Old N State Council 070
512 N Main St
High Point, NC 27260


First Utd Methodist Church
Orange County Council 039
148 10th St
Seal Beach, CA 90740


First Utd Methodist Church
Oregon Trail Council 697
1165 NW Monroe Ave
Corvallis, OR 97330


First Utd Methodist Church
Oregon Trail Council 697
1376 Olive St
Eugene, OR 97401


First Utd Methodist Church
Oregon Trail Council 697
1771 W Harvard Ave
Roseburg, OR 97471


First Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
104 E Main St
Middleton, ID 83644


First Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
1110 W Franklin St
Boise, ID 83702


First Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
717 N 11th St
Boise, ID 83702


First Utd Methodist Church
Overland Trails 322
1105 Main St
Wood River, NE 68883


First Utd Methodist Church
Overland Trails 322
420 Holland St
Imperial, NE 69033


First Utd Methodist Church
Overland Trails 322
4500 Linden Dr
Kearney, NE 68847


First Utd Methodist Church
Overland Trails 322
604 W Ave
Holdrege, NE 68949


First Utd Methodist Church
Overland Trails 322
701 5th St
Arapahoe, NE 68922


First Utd Methodist Church
Overland Trails 322
P.O. Box 30
604 W Ave
Holdrege, NE 68949
First Utd Methodist Church
Ozark Trails Council 306
300 N Madison Ave
Http//Www.1Umclebanon.Com
Lebanon, MO 65536


First Utd Methodist Church
Ozark Trails Council 306
301 S National Ave
Fort Scott, KS 66701


First Utd Methodist Church
Ozark Trails Council 306
330 W Maple St
Columbus, KS 66725


First Utd Methodist Church
Ozark Trails Council 306
415 N Pine St
Pittsburg, KS 66762


First Utd Methodist Church
Ozark Trails Council 306
617 S Main St
Carthage, MO 64836


First Utd Methodist Church
Ozark Trails Council 306
803 N Main St
Rolla, MO 65401


First Utd Methodist Church
Pacific Harbors Council, Bsa 612
1224 Legion Way Se
Olympia, WA 98501


First Utd Methodist Church
Palmetto Council 549
124 Bethel St
Clover, SC 29710
First Utd Methodist Church
Pathway To Adventure 456
100 W Cossitt Ave
La Grange, IL 60525


First Utd Methodist Church
Pathway To Adventure 456
1903 E Euclid Ave
Arlington Heights, IL 60004


First Utd Methodist Church
Pathway To Adventure 456
352 S Main St
Crown Point, IN 46307


First Utd Methodist Church
Pathway To Adventure 456
418 W Touhy Ave
Park Ridge, IL 60068


First Utd Methodist Church
Pathway To Adventure 456
4300 Howard Ave
Western Springs, IL 60558


First Utd Methodist Church
Pathway To Adventure 456
654 E 4th St
Hobart, IN 46342


First Utd Methodist Church
Patriots Path Council 358
111 Ryerson Ave
Newton, NJ 07860


First Utd Methodist Church
Patriots Path Council 358
48 W High St
Somerville, NJ 08876


First Utd Methodist Church
Pee Dee Area Council 552
1001 5th Ave
Conway, SC 29526


First Utd Methodist Church
Piedmont Council 420
124 Painted Bunting Dr
Troutman, NC 28166


First Utd Methodist Church
Piedmont Council 420
140 N Main St
Mount Holly, NC 28120


First Utd Methodist Church
Piedmont Council 420
140 N Main St
Mt Holly, NC 28120


First Utd Methodist Church
Piedmont Council 420
190 E Franklin Blvd
Gastonia, NC 28052


First Utd Methodist Church
Piedmont Council 420
200 N King St
Morganton, NC 28655


First Utd Methodist Church
Piedmont Council 420
201 E Main St
Lincolnton, NC 28092


First Utd Methodist Church
Piedmont Council 420
204 Mills Ave
Troutman, NC 28166


First Utd Methodist Church
Piedmont Council 420
217 German Ave Se
Valdese, NC 28690


First Utd Methodist Church
Piedmont Council 420
264 N Main St
Rutherfordton, NC 28139


First Utd Methodist Church
Piedmont Council 420
301 W Main St
Dallas, NC 28034


First Utd Methodist Church
Piedmont Council 420
309 Church St Nw
Lenoir, NC 28645


First Utd Methodist Church
Piedmont Council 420
311 3rd Ave Ne
Hickory, NC 28601


First Utd Methodist Church
Piedmont Council 420
341 E Main St
Forest City, NC 28043


First Utd Methodist Church
Piedmont Council 420
601 N Pink St
Cherryville, NC 28021


First Utd Methodist Church
Piedmont Council 420
807 S Point Rd
Belmont, NC 28012


First Utd Methodist Church
Piedmont Council 420
9 Lakeside Ave
Granite Falls, NC 28630
First Utd Methodist Church
Piedmont Council 420
P.O. Box 235
410 1st Ave N
Conover, NC 28613


First Utd Methodist Church
Pikes Peak Council 060
420 N Nevada Ave
Colorado Springs, CO 80903


First Utd Methodist Church
Pine Burr Area Council 304
208 Pine St
Long Beach, MS 39560


First Utd Methodist Church
Pine Burr Area Council 304
220 3rd St
Picayune, MS 39466


First Utd Methodist Church
Pine Burr Area Council 304
2301 15th St
Gulfport, MS 39501


First Utd Methodist Church
Pine Burr Area Council 304
2717 Hwy 90
Gautier, MS 39553


First Utd Methodist Church
Pine Burr Area Council 304
420 N 5th Ave
Laurel, MS 39440


First Utd Methodist Church
Pine Burr Area Council 304
P.O. Box 597
Wiggins, MS 39577
First Utd Methodist Church
Pony Express Council 311
102 N Main St
Maryville, MO 64468


First Utd Methodist Church
Pony Express Council 311
201 N Pine St
Cameron, MO 64429


First Utd Methodist Church
President Gerald R Ford 781
204 W Cass St
Greenville, MI 48838


First Utd Methodist Church
President Gerald R Ford 781
621 E Main St
Lowell, MI 49331


First Utd Methodist Church
Pushmataha Area Council 691
200 W Lampkin St
P.O. Box 2585
Starkville, MS 39759


First Utd Methodist Church
Pushmataha Area Council 691
200 W Lampkin St
Starkville, MS 39759


First Utd Methodist Church
Pushmataha Area Council 691
602 Main St
Columbus, MS 39701


First Utd Methodist Church
Pushmataha Area Council 691
P.O. Box 293
West Point, MS 39773


First Utd Methodist Church
Quapaw Area Council 018
1100 Central Ave
Hot Springs National Park, AR 71901


First Utd Methodist Church
Quapaw Area Council 018
201 S Chestnut St
Morrilton, AR 72110


First Utd Methodist Church
Quapaw Area Council 018
300 Washington St
Star City, AR 71667


First Utd Methodist Church
Quapaw Area Council 018
400 N Thomasville Ave
Pocahontas, AR 72455


First Utd Methodist Church
Quapaw Area Council 018
404 W Main St
Paragould, AR 72450


First Utd Methodist Church
Quapaw Area Council 018
508 N Reynolds Rd
Bryant, AR 72022


First Utd Methodist Church
Quapaw Area Council 018
801 S Main St
Jonesboro, AR 72401


First Utd Methodist Church
Quivira Council, Bsa 198
100 N Jackson St
Pratt, KS 67124


First Utd Methodist Church
Quivira Council, Bsa 198
202 S Lincoln Ave
Chanute, KS 66720


First Utd Methodist Church
Quivira Council, Bsa 198
421 W Central Ave
El Dorado, KS 67042


First Utd Methodist Church
Quivira Council, Bsa 198
467 W 3rd St
Hoisington, KS 67544


First Utd Methodist Church
Quivira Council, Bsa 198
P.O. Box 286
521 N Main St
Eureka, KS 67045


First Utd Methodist Church
Quivira Council, Bsa 198
P.O. Box 545
Independence, KS 67301


First Utd Methodist Church
Rainbow Council 702
118 W Jackson St
Morris, IL 60450


First Utd Methodist Church
Rio Grande Council 775
1225 Boca Chica Blvd
Brownsville, TX 78520


First Utd Methodist Church
Rio Grande Council 775
400 N Sam Houston Blvd
San Benito, TX 78586


First Utd Methodist Church
Rio Grande Council 775
520 S Illinois Ave
Weslaco, TX 78596
First Utd Methodist Church
Rio Grande Council 775
P.O. Box 25
Edinburg, TX 78540


First Utd Methodist Church
Sagamore Council 162
110 N Cass St
Wabash, IN 46992


First Utd Methodist Church
Sam Houston Area Council 576
616 Holland St
Navasota, TX 77868


First Utd Methodist Church
Sam Houston Area Council 576
P.O. Box 530
Mont Belvieu, TX 77580


First Utd Methodist Church
Samoset Council, Bsa 627
724 Arbutus St
Rhinelander, WI 54501


First Utd Methodist Church
San Diego Imperial Council 049
1200 E H St
Chula Vista, CA 91910


First Utd Methodist Church
San Diego Imperial Council 049
312 S 8th St
El Centro, CA 92243


First Utd Methodist Church
San Francisco Bay Area Council 028
2950 Washington Blvd
Fremont, CA 94539
First Utd Methodist Church
Santa Fe Trail Council 194
1106 N Main St
Garden City, KS 67846


First Utd Methodist Church
Santa Fe Trail Council 194
116 W 3rd St
Liberal, KS 67901


First Utd Methodist Church
Santa Fe Trail Council 194
210 Soule St
Dodge City, KS 67801


First Utd Methodist Church
Santa Fe Trail Council 194
321 W Grant Ave
Ulysses, KS 67880


First Utd Methodist Church
Scottsbluff
Longs Peak Council 062
2002 4Th Ave
Scottsbluff, Ne 69361


First Utd Methodist Church
Seneca Waterways 397
100 N Main St
Canandaigua, NY 14424


First Utd Methodist Church
Seneca Waterways 397
106 E Main St
Victor, NY 14564


First Utd Methodist Church
Seneca Waterways 397
P.O. Box 172
4146 Ridge Rd
Williamson, NY 14589
First Utd Methodist Church
Seneca Waterways 397
P.O. Box 62
Newark, NY 14513


First Utd Methodist Church
Sequoia Council 027
505 N Redington St
Hanford, CA 93230


First Utd Methodist Church
Sequoyah Council 713
128 N Church St
Mountain City, TN 37683


First Utd Methodist Church
Sequoyah Council 713
41880 E Morgan Ave
Pennington Gap, VA 24277


First Utd Methodist Church
Sequoyah Council 713
P.O. Box 134
Surgoinsville, TN 37873


First Utd Methodist Church
Shenandoah Area Council 598
49 S Green St
Berkeley Springs, WV 25411


First Utd Methodist Church
Simon Kenton Council 441
101 N 5th St
Ironton, OH 45638


First Utd Methodist Church
Simon Kenton Council 441
163 E Wheeling St
Lancaster, OH 43130


First Utd Methodist Church
Simon Kenton Council 441
2 S College St
Athens, OH 45701


First Utd Methodist Church
Simon Kenton Council 441
205 W Columbus St
Nelsonville, OH 45764


First Utd Methodist Church
Simon Kenton Council 441
207 S Court St
Marysville, OH 43040


First Utd Methodist Church
Simon Kenton Council 441
950 Main St
South Shore, KY 41175


First Utd Methodist Church
Simon Kenton Council 441
P.O. Box 37
205 W Columbus St
Nelsonville, OH 45764


First Utd Methodist Church
Snake River Council 111
360 Shoshone St E
Twin Falls, ID 83301


First Utd Methodist Church
South Florida Council 084
8650 W Sample Rd
Coral Springs, FL 33065


First Utd Methodist Church
South Georgia Council 098
107 12th St W
Tifton, GA 31794


First Utd Methodist Church
South Georgia Council 098
302 E 12th Ave
Cordele, GA 31015


First Utd Methodist Church
South Plains Council 694
1411 Broadway
Lubbock, TX 79401


First Utd Methodist Church
South Texas Council 577
407 N Bridge St
Victoria, TX 77901


First Utd Methodist Church
South Texas Council 577
P.O. Box 688
Ingleside, TX 78362


First Utd Methodist Church
Southeast Louisiana Council 214
433 Erlanger Ave
Slidell, LA 70458


First Utd Methodist Church
Southeast Louisiana Council 214
6109 Hwy 311
Houma, LA 70360


First Utd Methodist Church
Southern Shores Fsc 783
600 E Michigan Ave
Albion, MI 49224


First Utd Methodist Church
Southwest Florida Council 088
27690 Shriver Ave
Bonita Springs, FL 34135


First Utd Methodist Church
Southwest Florida Council 088
388 1st Ave S
Naples, FL 34102
First Utd Methodist Church
Southwest Florida Council 088
507 W Marion Ave
Punta Gorda, FL 33950


First Utd Methodist Church
Southwest Florida Council 088
603 11th St W
Bradenton, FL 34205


First Utd Methodist Church
Stonewall Jackson Council 763
101 E Jefferson St
Charlottesville, VA 22902


First Utd Methodist Church
Suffolk County Council Inc 404
P.O. Box 1228
Central Islip, NY 11722


First Utd Methodist Church
Suwannee River Area Council 664
300 W Shotwell St
Bainbridge, GA 39819


First Utd Methodist Church
Suwannee River Area Council 664
P.O. Box 975
425 N Broad St
Thomasville, GA 31799


First Utd Methodist Church
Tecumseh 439
220 S Main St
New Carlisle, OH 45344


First Utd Methodist Church
Texas Trails Council 561
103 E Main St
Gustine, TX 76455
First Utd Methodist Church
Texas Trails Council 561
2 Alexander Ln
Lampasas, TX 76550


First Utd Methodist Church
Texas Trails Council 561
2500 11th St
Brownwood, TX 76801


First Utd Methodist Church
Texas Trails Council 561
616 S Houston St
De Leon, TX 76444


First Utd Methodist Church
Texas Trails Council 561
P.O. Box 248
630 Highland Ave
Dublin, TX 76446


First Utd Methodist Church
Texas Trails Council 561
P.O. Box 487
San Saba, TX 76877


First Utd Methodist Church
Texas Trails Council 561
P.O. Box 768
Bangs, TX 76823


First Utd Methodist Church
Texas Trails Council 561
P.O. Box 88
Comanche, TX 76442


First Utd Methodist Church
Three Fires Council 127
155 S Main St
Lombard, IL 60148


First Utd Methodist Church
Three Fires Council 127
318 W Main St
West Dundee, IL 60118


First Utd Methodist Church
Three Fires Council 127
321 Oak St
Dekalb, IL 60115


First Utd Methodist Church
Three Fires Council 127
328 S Church Rd
Bensenville, IL 60106


First Utd Methodist Church
Three Fires Council 127
424 Forest Ave
Glen Ellyn, IL 60137


First Utd Methodist Church
Three Rivers Council 578
1826 Nall St
Port Neches, TX 77651


First Utd Methodist Church
Trapper Trails 589
1339 W 400 N
Marriott‐Slaterville City, UT 84404


First Utd Methodist Church
Tukabatchee Area Council 005
1 Jordan Ave
Tallassee, AL 36078


First Utd Methodist Church
Tukabatchee Area Council 005
112 Adams St
Greenville, AL 36037


First Utd Methodist Church
Tukabatchee Area Council 005
207 8th St N
Clanton, AL 35045


First Utd Methodist Church
Tukabatchee Area Council 005
2416 W Cloverdale Park
Montgomery, AL 36106


First Utd Methodist Church
Tukabatchee Area Council 005
306 W Tuskeena St
Wetumpka, AL 36092


First Utd Methodist Church
Tukabatchee Area Council 005
310 Green St
Alexander City, AL 35010


First Utd Methodist Church
Tukabatchee Area Council 005
P.O. Box 305
Dadeville, AL 36853


First Utd Methodist Church
Tuscarora Council 424
120 E James St
Mount Olive, NC 28365


First Utd Methodist Church
Twin Rivers Council 364
428 Kenwood Ave
Delmar, NY 12054


First Utd Methodist Church
Twin Valley Council Bsa 283
109 Cleveland Ave W
Winnebago, MN 56098


First Utd Methodist Church
Ventura County Council 057
1338 E Santa Clara St
Ventura, CA 93001
First Utd Methodist Church
W D Boyce 138
219 N Chicago St
Pontiac, IL 61764


First Utd Methodist Church
W D Boyce 138
302 Broadway St
Lincoln, IL 62656


First Utd Methodist Church
W D Boyce 138
P.O. Box 169
201 N Chestnut
Le Roy, IL 61752


First Utd Methodist Church
W D Boyce 138, 1st Ave   6th St
Mendota, IL 61342


First Utd Methodist Church
W.L.A.C.C. 051
18120 Saticoy St
Reseda, CA 91335


First Utd Methodist Church
W.L.A.C.C. 051
22700 Sherman Way
West Hills, CA 91307


First Utd Methodist Church
W.L.A.C.C. 051
4832 Tujunga Ave
North Hollywood, CA 91601


First Utd Methodist Church
Washington Crossing Council 777
501 W Market St
Perkasie, PA 18944


First Utd Methodist Church
Water and Woods Council 782
116 S Franklin St
Saint Louis, MI 48880


First Utd Methodist Church
Water and Woods Council 782
139 N Main St
Vassar, MI 48768


First Utd Methodist Church
Water and Woods Council 782
2490 W State Rd
West Branch, MI 48661


First Utd Methodist Church
Water and Woods Council 782
3827 Delta River Dr
Lansing, MI 48906


First Utd Methodist Church
Water and Woods Council 782
400 S Main St
Mount Pleasant, MI 48858


First Utd Methodist Church
Water and Woods Council 782
400 S Main St
Mt Pleasant, MI 48858


First Utd Methodist Church
Water and Woods Council 782
600 S Main St
Eaton Rapids, MI 48827


First Utd Methodist Church
Water and Woods Council 782
P.O. Box 466
Midland, MI 48640


First Utd Methodist Church
West Tennessee Area Council 559
100 Mcgaughey St E
Dyersburg, TN 38024


First Utd Methodist Church
West Tennessee Area Council 559
1122 W Cherry Ave
Selmer, TN 38375


First Utd Methodist Church
West Tennessee Area Council 559
189 N Main St
Dyer, TN 38330


First Utd Methodist Church
West Tennessee Area Council 559
201 E Main St
Adamsville, TN 38310


First Utd Methodist Church
West Tennessee Area Council 559
202 S E St
Somerville, TN 38068


First Utd Methodist Church
West Tennessee Area Council 559
27 E Church St
Lexington, TN 38351


First Utd Methodist Church
West Tennessee Area Council 559
906 Main St E
Savannah, TN 38372


First Utd Methodist Church
West Tennessee Area Council 559
P.O. Box 39
Huntingdon, TN 38344


First Utd Methodist Church
Westark Area Council 016
1100 W Bower Ave
Harrison, AR 72601
First Utd Methodist Church
Westark Area Council 016
200 N 15th St
Fort Smith, AR 72901


First Utd Methodist Church
Westark Area Council 016
200 W Sevier St, Unit 535
Clarksville, AR 72830


First Utd Methodist Church
Westark Area Council 016
201 NW 2nd St
Bentonville, AR 72712


First Utd Methodist Church
Westark Area Council 016
325 Church Ave
P.O. Box 251
Mulberry, AR 72947


First Utd Methodist Church
Westark Area Council 016
503 W Commercial St
Ozark, AR 72949


First Utd Methodist Church
Westark Area Council 016
605 W 6th St
Mountain Home, AR 72653


First Utd Methodist Church
Westark Area Council 016
P.O. Box 35
Charleston, AR 72933


First Utd Methodist Church
Westark Area Council 016
P.O. Box 6293
206 W Johnson Ave
Springdale, AR 72766
First Utd Methodist Church
Western Massachusetts Council 234
55 Fenn St
Pittsfield, MA 01201


First Utd Methodist Church
Westmoreland Fayette 512
15 E 2nd St
Greensburg, PA 15601


First Utd Methodist Church
Westmoreland Fayette 512
310 Oak St
Irwin, PA 15642


First Utd Methodist Church
Westmoreland Fayette 512
P.O. Box 149
106 N 2nd St
West Newton, PA 15089


First Utd Methodist Church
Winnebago Council, Bsa 173
119 S Georgia Ave
Mason City, IA 50401


First Utd Methodist Church
Winnebago Council, Bsa 173
201 3rd Ave Ne
Clarion, IA 50525


First Utd Methodist Church
Winnebago Council, Bsa 173
723 Washington St
Cedar Falls, IA 50613


First Utd Methodist Church
Winterset
Mid Iowa Council 177
309 E Jefferson St
Winterset, Ia 50273
First Utd Methodist Church
Yocona Area Council 748
207 E Bankhead St
New Albany, MS 38652


First Utd Methodist Church
Yocona Area Council 748
P.O. Box 156
New Albany, MS 38652


First Utd Methodist Church
Yocona Area Council 748
P.O. Box 288
Water Valley, MS 38965


First Utd Methodist Church
Yocona Area Council 748
P.O. Box 334
Booneville, MS 38829


First Utd Methodist Church ‐ Alvin
Bay Area Council 574
611 W S St
Alvin, TX 77511


First Utd Methodist Church ‐ Ames
Mid Iowa Council 177
516 Kellogg Ave
Ames, IA 50010


First Utd Methodist Church ‐ Bowie
Northwest Texas Council 587
1515 Jefferson St
Bowie, TX 76230


First Utd Methodist Church ‐ Bryan
Sam Houston Area Council 576
506 E 28th St
Bryan, TX 77803


First Utd Methodist Church ‐ Burk
Northwest Texas Council 587
301 E 4th St
Burkburnett, TX 76354


First Utd Methodist Church ‐ Burleson
Longhorn Council 662
590 NE Mcalister Rd
Burleson, TX 76028


First Utd Methodist Church ‐ Colfax
Mid Iowa Council 177
10277 Olive Ave
Colfax, IA 50054


First Utd Methodist Church ‐ Dover
Buckeye Council 436
1725 N Wooster Ave
Dover, OH 44622


First Utd Methodist Church ‐ El Campo
Sam Houston Area Council 576
1001 Ave I
El Campo, TX 77437


First Utd Methodist Church ‐ Greeley
Longs Peak Council 062
917 10th Ave
Greeley, CO 80631


First Utd Methodist Church ‐ Hamilton
Longhorn Council 662
P.O. Box 386
Hamilton, TX 76531


First Utd Methodist Church ‐ Holliday
Northwest Texas Council 587
P.O. Box 1037
Holliday, TX 76366


First Utd Methodist Church ‐ Katy
Sam Houston Area Council 576
5601 5th St
Katy, TX 77493


First Utd Methodist Church ‐ Killeen
Longhorn Council 662
3501 E Elms Rd
Killeen, TX 76542


First Utd Methodist Church ‐ Laramie
Longs Peak Council 062
1215 E Gibbon St
Laramie, WY 82072


First Utd Methodist Church ‐ Lisbon
Buckeye Council 436
114 E Washington St
Lisbon, OH 44432


First Utd Methodist Church ‐ Mitchell
Sioux Council 733
310 N Rowley St
Mitchell, SD 57301


First Utd Methodist Church ‐ Nevada
Mid Iowa Council 177
1036 7th St
Nevada, IA 50201


First Utd Methodist Church ‐ Pearland
Bay Area Council 574
2314 N Grand Blvd
Pearland, TX 77581


First Utd Methodist Church ‐ Perry
Mid Iowa Council 177
P.O. Box 237
Perry, IA 50220


First Utd Methodist Church ‐ Pierre
Sioux Council 733
117 N Central Ave
Pierre, SD 57501
First Utd Methodist Church ‐ Salem
Buckeye Council 436
244 S Broadway Ave
Salem, OH 44460


First Utd Methodist Church ‐ Troy
Alabama‐Florida Council 003
213 N 3 Notch St
Troy, AL 36081


First Utd Methodist Church ‐ Vernon
Northwest Texas Council 587
3029 Wilbarger St
Vernon, TX 76384


First Utd Methodist Church ‐ Weimar
Sam Houston Area Council 576
301 W Saint Charles St
Weimar, TX 78962


First Utd Methodist Church ‐ Windsor
Longs Peak Council 062
503 Walnut St
Windsor, CO 80550


First Utd Methodist Church Albany
Cascade Pacific Council 492
1115 28th Ave Sw
Albany, OR 97321


First Utd Methodist Church Alpine
Buffalo Trail Council 567
208 E Sul Ross Ave
Alpine, TX 79830


First Utd Methodist Church Alvarado
Longhorn Council 662
P.O. Box 364
710 N Spears St
Alvarado, TX 76009
First Utd Methodist Church Arkansas
Quivira Council, Bsa 198
2448 Edgemont Dr
Arkansas City, KS 67005


First Utd Methodist Church Athens
Circle Ten Council 571
225 Lovers Ln
Athens, TX 75751


First Utd Methodist Church Atmore
Gulf Coast Council 773
311 S Pensacola Ave
Atmore, AL 36502


First Utd Methodist Church Batesville
Quapaw Area Council 018
615 E Main St
Batesville, AR 72501


First Utd Methodist Church Beebe
Quapaw Area Council 018
302 N Main St
Beebe, AR 72012


First Utd Methodist Church Bixby
Indian Nations Council 488
15502 S Memorial Dr
Church
Bixby, OK 74008


First Utd Methodist Church Bixby
Indian Nations Council 488
15502 S Memorial Dr
Bixby, OK 74008


First Utd Methodist Church Carbondale
Greater St Louis Area Council 312
214 W Main St
Carbondale, IL 62901


First Utd Methodist Church Clarksdale
Chickasaw Council 558
P.O. Box 1303
Clarksdale, MS 38614


First Utd Methodist Church Cleveland
Chickasaw Council 558
P.O. Box 130
Cleveland, MS 38732


First Utd Methodist Church Conway
Quapaw Area Council 018
1610 Prince St
Conway, AR 72034


First Utd Methodist Church Diboll
East Texas Area Council 585
401 S Hines St
Diboll, TX 75941


First Utd Methodist Church Dothan
Alabama‐Florida Council 003
1380 W Main St
Dothan, AL 36301


First Utd Methodist Church Dublin
Central Georgia Council 096
305 W Gaines St
Dublin, GA 31021


First Utd Methodist Church El Dorado
Quivira Council, Bsa 198
421 W Central Ave
El Dorado, KS 67042


First Utd Methodist Church Fellowship
Chattahoochee Council 091
206 S Mcdougald Ave
Pine Mountain, GA 31822


First Utd Methodist Church Flatrock
Southern Shores Fsc 783
28400 Evergreen St
Flat Rock, MI 48134


First Utd Methodist Church Frisco
Circle Ten Council 571
7659 Preston Rd
Frisco, TX 75034


First Utd Methodist Church Fritch
Golden Spread Council 562
403 S Cornell Ave
Fritch, TX 79036


First Utd Methodist Church Gadsden
Greater Alabama Council 001
115 S 5th St
Gadsden, AL 35901


First Utd Methodist Church Grandview
Longhorn Council 662
P.O. Box 1213
Grandview, TX 76050


First Utd Methodist Church Greene
Baden‐Powell Council 368
32 S Chenango St
Greene, NY 13778


First Utd Methodist Church Hamburg
De Soto Area Council 013
202 S Main St
Hamburg, AR 71646


First Utd Methodist Church Heath
Circle Ten Council 571
201 Laurence Dr PMB 415
Heath, TX 75032


First Utd Methodist Church Henderson
Lincoln Heritage Council 205
338 3rd St
Henderson, KY 42420
First Utd Methodist Church Hillsville
Blue Ridge Mtns Council 599
P.O. Box 356
Hillsville, VA 24343


First Utd Methodist Church ‐Howe
Circle Ten Council 571
810 N Denny St
Howe, TX 75459


First Utd Methodist Church Humble
Sam Houston Area Council 576
800 E Main St
Humble, TX 77338


First Utd Methodist Church Idabel
Circle Ten Council 571
302 SE Jefferson St
Idabel, OK 74745


First Utd Methodist Church In Ganado
South Texas Council 577
P.O. Box 345
Ganado, TX 77962


First Utd Methodist Church Kelso
Cascade Pacific Council 492
206 Cowlitz Way
Kelso, WA 98626


First Utd Methodist Church Kerens
Circle Ten Council 571
205 NW 2nd St
Kerens, TX 75144


First Utd Methodist Church Laramie
Longs Peak Council 062
108 E 18th St
Cheyenne, WY 82001


First Utd Methodist Church Laredo
South Texas Council 577
1220 Mcclelland Ave
Laredo, TX 78040


First Utd Methodist Church Laurel
Pine Burr Area Council 304
420 N 5th Ave
Laurel, MS 39440


First Utd Methodist Church Lawrence
Heart of America Council 307
867 Hwy 40
Lawrence, KS 66049


First Utd Methodist Church Liberty
Three Rivers Council 578
539 Main St
Liberty, TX 77575


First Utd Methodist Church Long Beach
Pine Burr Area Council 304
208 Pine St
Long Beach, MS 39560


First Utd Methodist Church Lufkin
East Texas Area Council 585
805 E Denman Ave
Lufkin, TX 75901


First Utd Methodist Church Malakoff
Circle Ten Council 571
107 College St
Malakoff, TX 75148


First Utd Methodist Church Mannington
Mountaineer Area 615
118 Clarksburg St
Mannington, WV 26582


First Utd Methodist Church Maumelle
Quapaw Area Council 018
1201 Edgewood Dr
Maumelle, AR 72113


First Utd Methodist Church Mcpherson
Quivira Council, Bsa 198
1200 E Kansas Ave
Mcpherson, KS 67460


First Utd Methodist Church Men
Istrouma Area Council 211
P.O. Box 2903
St Francisvle, LA 70775


First Utd Methodist Church Men
Old N State Council 070
P.O. Box 220
Liberty, NC 27298


First Utd Methodist Church Men S Club
Longs Peak Council 062
350 11th Ave
Longmont, CO 80501


First Utd Methodist Church Men S Club
Sam Houston Area Council 576
1010 7th St
Hempstead, TX 77445


First Utd Methodist Church Mens Club
Coronado Area Council 192
601 N Cedar St
Abilene, KS 67410


First Utd Methodist Church Mens Club
Water and Woods Council 782
828 Lapeer Ave
Port Huron, MI 48060


First Utd Methodist Church Metropolis
Lincoln Heritage Council 205
100 E 5th St
Metropolis, IL 62960
First Utd Methodist Church Morris
Indian Nations Council 488
601 S Hughes Ave
Morris, OK 74445


First Utd Methodist Church Nampa
Ore‐Ida Council 106 ‐ Bsa 106
2717 12th Ave Rd
Nampa, ID 83686


First Utd Methodist Church Newcastle
Longhorn Council 662
P.O. Box 187
Newcastle, TX 76372


First Utd Methodist Church Of Adrian
Southern Shores Fsc 783
1245 W Maple Ave
Adrian, MI 49221


First Utd Methodist Church Of Allen
Circle Ten Council 571
601 S Greenville Ave
Allen, TX 75002


First Utd Methodist Church Of Apopka
Central Florida Council 083
201 S Park Ave
Apopka, FL 32703


First Utd Methodist Church Of Ashdown
Caddo Area Council 584
145 E Commerce St
Ashdown, AR 71822


First Utd Methodist Church Of Augusta
Quivira Council, Bsa 198
2420 Ohio St
Augusta, KS 67010


First Utd Methodist Church Of Austin
Capitol Area Council 564
1201 Lavaca St
Austin, TX 78701


First Utd Methodist Church Of Bastrop
Capitol Area Council 564
P.O. Box 672
Bastrop, TX 78602


First Utd Methodist Church Of Bedford
Longhorn Council 662
1245 Bedford Rd
Bedford, TX 76021


First Utd Methodist Church Of Blmfld
Great Swest Council 412
11095 N 1st St
Bloomfield, NM 87413


First Utd Methodist Church Of Bossier
Norwela Council 215
201 John Wesley Blvd
Bossier City, LA 71112


First Utd Methodist Church Of Boyd
Longhorn Council 662
540 S Allen St Fm 730
Boyd, TX 76023


First Utd Methodist Church Of Brenham
Sam Houston Area Council 576
408 N Baylor St
Brenham, TX 77833


First Utd Methodist Church Of Bunnell
Central Florida Council 083
P.O. Box 335
Bunnell, FL 32110


First Utd Methodist Church Of Burbank
Verdugo Hills Council 058
700 N Glenoaks Blvd
Burbank, CA 91502


First Utd Methodist Church Of Canyon
Golden Spread Council 562
1818 4th Ave
Canyon, TX 79015


First Utd Methodist Church Of Celina
Circle Ten Council 571
P.O. Box 306
Celina, TX 75009


First Utd Methodist Church Of Cheraw
Pee Dee Area Council 552
117 3rd St
Cheraw, SC 29520


First Utd Methodist Church Of Conyers
Atlanta Area Council 092
921 N Main St Nw
Conyers, GA 30012


First Utd Methodist Church Of Dallas
Piedmont Council 420
301 W Main St
Dallas, NC 28034


First Utd Methodist Church Of Dayton
Three Rivers Council 578
106 S Cleveland St
Dayton, TX 77535


First Utd Methodist Church Of Desoto
Circle Ten Council 571
310 Roaring Springs Dr
Desoto, TX 75115


First Utd Methodist Church Of Duncan
Last Frontier Council 480
2300 N Country Club Rd
Duncan, OK 73533
First Utd Methodist Church Of Elgin
Capitol Area Council 564
216 W 3rd St
Elgin, TX 78621


First Utd Methodist Church Of Eugene
Oregon Trail Council 697
1376 Olive St
Eugene, OR 97401


First Utd Methodist Church Of Frisco
Circle Ten Council 571
7659 Preston Rd
Frisco, TX 75034


First Utd Methodist Church Of Fulton
Lincoln Heritage Council 205
200 Carr St
Fulton, KY 42041


First Utd Methodist Church Of Geneva
Lake Erie Council 440
89 S Broadway
Geneva, OH 44041


First Utd Methodist Church Of Graham
Old N State Council 070
303 N Main St
Graham, NC 27253


First Utd Methodist Church Of Grove
Cherokee Area Council 469 469
1031 Hillside Rd
Grove, OK 74344


First Utd Methodist Church Of Grove
Cherokee Area Council 469 469
P.O. Box 450387
Grove, OK 74345


First Utd Methodist Church Of Groves
Three Rivers Council 578
6501 Washington St
Groves, TX 77619


First Utd Methodist Church Of Hanford
Sequoia Council 027
505 N Redington St
Hanford, CA 93230


First Utd Methodist Church Of Hawkins
East Texas Area Council 585
P.O. Box 450
Hawkins, TX 75765


First Utd Methodist Church Of Hayward
San Francisco Bay Area Council 028
1183 B St
Hayward, CA 94541


First Utd Methodist Church Of Hewitt
Longhorn Council 662
600 S 1st St
Hewitt, TX 76643


First Utd Methodist Church Of Hondo
Alamo Area Council 583
1006 16th St
Hondo, TX 78861


First Utd Methodist Church Of Hubbard
Great Trail 433
48 Church St
Hubbard, OH 44425


First Utd Methodist Church Of Hudson
Greater Tampa Bay Area 089
13123 US Hwy 19
Hudson, FL 34667


First Utd Methodist Church Of Hudson
Mayflower Council 251
34 Felton St
Hudson, MA 01749


First Utd Methodist Church Of Irving
Circle Ten Council 571
211 W 3rd St
Irving, TX 75060


First Utd Methodist Church Of Jupiter
Gulf Stream Council 085
815 E Indiantown Rd
Jupiter, FL 33477


First Utd Methodist Church Of Kennett
Greater St Louis Area Council 312
300 College Ave
Kennett, MO 63857


First Utd Methodist Church Of Kingman
Quivira Council, Bsa 198
P.O. Box 287
133 Ave D E
Kingman, KS 67068


First Utd Methodist Church Of Konawa
Last Frontier Council 480
301 W 1st St
Konawa, OK 74849


First Utd Methodist Church Of Laplace
Southeast Louisiana Council 214
301 Bamboo Rd
La Pl, LA 70068


First Utd Methodist Church Of Laporte
Sam Houston Area Council 576
9601 W Fairmont Pkwy
La Porte, TX 77571


First Utd Methodist Church Of Loomis
Golden Empire Council 047
6414 Brace Rd
Loomis, CA 95650
First Utd Methodist Church Of Madison
Northeast Georgia Council 101
285 Old Post Rd
Madison, GA 30650


First Utd Methodist Church Of Many
Norwela Council 215
1000 Main St
Many, LA 71449


First Utd Methodist Church Of Mason
Capitol Area Council 564
P.O. Box 178
224 Broad St
Mason, TX 76856


First Utd Methodist Church Of Mathis
South Texas Council 577
420 S Duval St
Mathis, TX 78368


First Utd Methodist Church Of Miami
Cherokee Area Council 469 469
200 B St Nw
Miami, OK 74354


First Utd Methodist Church Of Milford
Mayflower Council 251
39 Exchange St
Milford, MA 01757


First Utd Methodist Church Of Monroe
Northeast Georgia Council 101
400 S Broad St
Monroe, GA 30655


First Utd Methodist Church Of Napa
Mt Diablo‐Silverado Council 023
625 Randolph St
Napa, CA 94559
First Utd Methodist Church Of Norfolk
Mid‐America Council 326
406 W Phillip Ave
Norfolk, NE 68701


First Utd Methodist Church Of Npr
Greater Tampa Bay Area 089
5901 Indiana Ave
New Port Richey, FL 34652


First Utd Methodist Church Of Odessa
Buffalo Trail Council 567
415 N Lee Ave
Odessa, TX 79761


First Utd Methodist Church Of Oviedo
Central Florida Council 083
263 King St
Oviedo, FL 32765


First Utd Methodist Church Of P Hills
Greater St Louis Area Council 312
401 Taylor Ave
Park Hills, MO 63601


First Utd Methodist Church Of Pampa
Golden Spread Council 562
P.O. Box 1981
201 E Foster Ave
Pampa, TX 79066


First Utd Methodist Church Of Paris
Circle Ten Council 571
322 Lamar Ave
Paris, TX 75460


First Utd Methodist Church Of Plano
Circle Ten Council 571
3160 E Spring Creek Pkwy
Plano, TX 75074
First Utd Methodist Church Of Portage
Lasalle Council 165
2637 Mccool Rd
Portage, IN 46368


First Utd Methodist Church Of Pryor
Indian Nations Council 488
400 E Graham Ave
Pryor, OK 74361


First Utd Methodist Church Of Reform
Black Warrior Council 006
807 3rd St Ne
Reform, AL 35481


First Utd Methodist Church Of Rowlett
Circle Ten Council 571
P.O. Box 447
4405 Main St
Rowlett, TX 75030


First Utd Methodist Church Of Safford
Grand Canyon Council 010
1020 S 10th Ave
Safford, AZ 85546


First Utd Methodist Church Of Salem
Blue Ridge Mtns Council 599
125 W Main St
Salem, VA 24153


First Utd Methodist Church Of Sanger
Longhorn Council 662
P.O. Box 367
Sanger, TX 76266


First Utd Methodist Church Of Seffner
Greater Tampa Bay Area 089
P.O. Box 607
Seffner, FL 33583


First Utd Methodist Church Of Seymour
Hoosier Trails Council 145 145
201 E 3rd St
Seymour, IN 47274


First Utd Methodist Church Of Shelton
Housatonic Council, Bsa 069
188 Rock Rest Rd
Shelton, CT 06484


First Utd Methodist Church Of Shelton
Housatonic Council, Bsa 069
188 Rocky Rest Rd
Shelton, CT 06484


First Utd Methodist Church Of Stcloud
Central Florida Council 083
1000 Ohio Ave
Saint Cloud, FL 34769


First Utd Methodist Church Of Tavares
Central Florida Council 083
P.O. Box 1086
Tavares, FL 32778


First Utd Methodist Church Of Terrell
Circle Ten Council 571
503 W College St
Terrell, TX 75160


First Utd Methodist Church Of Troy
Great Lakes Fsc 272
6363 Livernois Rd
Troy, MI 48098


First Utd Methodist Church Of Wagoner
Indian Nations Council 488
308 E Church St
Wagoner, OK 74467


First Utd Methodist Church Of Wharton
Sam Houston Area Council 576
1717 Pioneer Ave
Wharton, TX 77488


First Utd Methodist Church Of Winnie
Three Rivers Council 578
P.O. Box 1570
Winnie, TX 77665


First Utd Methodist Church Of Yuma
Grand Canyon Council 010
298 W 3rd St
Yuma, AZ 85364


First Utd Methodist Church Palestine
East Texas Area Council 585
422 S Magnolia St
Palestine, TX 75801


First Utd Methodist Church Pasadena
Sam Houston Area Council 576
1062 Fairmont Pkwy
Pasadena, TX 77504


First Utd Methodist Church Pineville
Louisiana Purchase Council 213
2550 Monroe Hwy
Pineville, LA 71360


First Utd Methodist Church Portland
Cascade Pacific Council 492
1838 SW Jefferson St
Portland, OR 97201


First Utd Methodist Church Portland
South Texas Council 577
4500 Wildcat Dr
Portland, TX 78374


First Utd Methodist Church Poteau
Indian Nations Council 488
109 S Harper St
Poteau, OK 74953
First Utd Methodist Church Quitman
East Texas Area Council 585
P.O. Box 1643
Quitman, TX 75783


First Utd Methodist Church Refugio
South Texas Council 577
P.O. Box 267
Refugio, TX 78377


First Utd Methodist Church Sachse
Circle Ten Council 571
1520 Blackburn Rd
Sachse, TX 75048


First Utd Methodist Church Sapulpa
Indian Nations Council 488
1401 E Taft Ave
Sapulpa, OK 74066


First Utd Methodist Church Searcy
Quapaw Area Council 018
304 N Main St
Searcy, AR 72143


First Utd Methodist Church Selmer
West Tennessee Area Council 559
1122 W Cherry Ave
Selmer, TN 38375


First Utd Methodist Church Shamrock
Golden Spread Council 562
500 N Main St
Shamrock, TX 79079


First Utd Methodist Church Stratford
Golden Spread Council 562
P.O. Box 1289
Stratford, TX 79084


First Utd Methodist Church The Colony
Longhorn Council 662
4901 Paige Rd
The Colony, TX 75056


First Utd Methodist Church Troop 27
Greater Los Angeles Area 033
500 E Colorado Blvd
Pasadena, CA 91101


First Utd Methodist Church Um Men
Pine Burr Area Council 304
P.O. Box 845
Lucedale, MS 39452


First Utd Methodist Church Umm
Sam Houston Area Council 576
1106 4th St
Rosenberg, TX 77471


First Utd Methodist Church Vancouver
Cascade Pacific Council 492
401 E 33rd St
Vancouver, WA 98663


First Utd Methodist Church Wellington
Quivira Council, Bsa 198
P.O. Box 189
202 W Harvey Ave
Wellington, KS 67152


First Utd Methodist Church Wenatchee
Grand Columbia Council 614
941 Washington St
Wenatchee, WA 98801


First Utd Methodist Church Wilburton
Indian Nations Council 488
P.O. Box 6
Wilburton, OK 74578


First Utd Methodist Church, Cocoa Bch
Central Florida Council 083
3300 N Atlantic Ave
Cocoa Beach, FL 32931


First Utd Methodist Church, LLC
Last Frontier Council 480
509 Cottonwood
Granite, OK 73547


First Utd Methodist Church, Pt Neches
Three Rivers Council 578
1826 Nall St
Port Neches, TX 77651


First Utd Methodist Church‐Andalusia
Alabama‐Florida Council 003
P.O. Box 1066
Methodist Church
Andalusia, AL 36420


First Utd Methodist Church‐Birmingham
Great Lakes Fsc 272
1589 W Maple Rd
Birmingham, MI 48009


First Utd Methodist Church‐Boerne
Alamo Area Council 583
205 James St
Boerne, TX 78006


First Utd Methodist Church‐Bourbon
Lasalle Council 165
204 N Washington St
Bourbon, IN 46504


First Utd Methodist Church‐Brady
Texas Swest Council 741
P.O. Box 1030
Brady, TX 76825


First Utd Methodist Church‐Buchanan
Lasalle Council 165
132 S Oak St
Buchanan, MI 49107


First Utd Methodist Church‐Coleman
Texas Trails Council 561
500 W Liveoak St
Coleman, TX 76834


First Utd Methodist Church‐Dearborn
Great Lakes Fsc 272
22124 Garrison St
Dearborn, MI 48124


First Utd Methodist Church‐Del Rio
Texas Swest Council 741
P.O. Box 1234
Del Rio, TX 78841


First Utd Methodist Church‐Farmington
Great Lakes Fsc 272
33112 Grand River Ave
Farmington, MI 48336


First Utd Methodist Church‐Fulshear
Sam Houston Area Council 576
8201 Harris St
Fulshear, TX 77441


First Utd Methodist Church‐Galax
Blue Ridge Mtns Council 599
306 W Center St
Galax, VA 24333


First Utd Methodist Church‐Marion
Blue Ridge Mtns Council 599
115 S Church St
Marion, VA 24354


First Utd Methodist Church‐Meth. Men
Greater Yosemite Council 059
1660 Arbor Way
Turlock, CA 95380
First Utd Methodist Church‐Plymouth
Great Lakes Fsc 272
45201 N Territorial Rd
Plymouth, MI 48170


First Utd Methodist Church‐Royal Oak
Great Lakes Fsc 272
320 W 7th St
Royal Oak, MI 48067


First Utd Methodist Church‐Rusk
East Texas Area Council 585
255 S Henderson St
Rusk, TX 75785


First Utd Methodist Church‐Salem
Blue Ridge Mtns Council 599
125 W Main St
Salem, VA 24153


First Utd Methodist Church‐San Angelo
Texas Swest Council 741
37 E Beauregard Ave
San Angelo, TX 76903


First Utd Methodist Church‐South Lyon
Great Lakes Fsc 272
640 S Lafayette St
South Lyon, MI 48178


First Utd Methodist Church‐Sugarland
Sam Houston Area Council 576
431 Eldridge Rd
Sugar Land, TX 77478


First Utd Methodist Church‐Uvalde
Texas Swest Council 741
301 N High St
Uvalde, TX 78801


First Utd Methodist Durant
Circle Ten Council 571
P.O. Box 518
Durant, OK 74702


First Utd Methodist Men
Circle Ten Council 571
2212 Durham Rd
Whitewright, TX 75491


First Utd Methodist Men
Circle Ten Council 571
249 Dove Hollow Rd
Whitewright, TX 75491


First Utd Methodist Men
Indian Nations Council 488
112 E College St
Broken Arrow, OK 74012


First Utd Methodist Men
Lasalle Council 165
434 S 2nd St
Chesterton, IN 46304


First Utd Methodist Men
Last Frontier Council 480
201 W Main St
Moore, OK 73160


First Utd Methodist Men
Overland Trails 322
1217 Q St
Ord, NE 68862


First Utd Methodist Men
Texas Trails Council 561
P.O. Box 447
Goldthwaite, TX 76844


First Utd Methodist Men
West Tennessee Area Council 559
117 E Franklin St
Brownsville, TN 38012


First Utd Methodist Men Murray
Lincoln Heritage Council 205
503 Maple St
Murray, KY 42071


First Utd Methodist Men S Club
Gulf Stream Council 085
625 NE Mizner Blvd
Boca Raton, FL 33432


First Utd Methodist Men S Club
W D Boyce 138
1315 Court St
Pekin, IL 61554


First Utd Methodist Mens Assoc
Anthony Wayne Area 157
502 W Monroe St
Decatur, IN 46733


First Utd Methodist Mens Club
Andrew Jackson Council 303
Hwy 80 W
Clinton, MS 39056


First Utd Methodist Mens Club
Southern Shores Fsc 783
1230 Bower St
Howell, MI 48843


First Utd Methodist Mens Club
West Tennessee Area Council 559
Methodist Mens Club
Dyersburg, TN 38024


First Utd Methodist Mens Group
Last Frontier Council 480
P.O. Box 490
Blanchard, OK 73010
First Utd Methodist Mens Organization
Greater St Louis Area Council 312
619 Kitchell St
Pana, IL 62557


First Utd Methodist Ministries, Inc
Crossroads of America 160
225 W State St
Pendleton, IN 46064


First Utd Methodist Of Alamo
West Tennessee Area Council 559
80 N Johnson St
Alamo, TN 38001


First Utd Methodist Of Bloomfield
Great Swest Council 412
1105 N 1st St
Bloomfield, NM 87413


First Utd Methodist Of New Iberia
Evangeline Area 212
119 Jefferson St
New Iberia, LA 70560


First Utd Methodist Of Satellite Bch
Central Florida Council 083
450 Lee Ave
Satellite Beach, FL 32937


First Utd Methodist Rowlett
Circle Ten Council 571
4405 Main St
Rowlett, TX 75088


First Utd Methodist Stigler
Indian Nations Council 488
P.O. Box 249
Stigler, OK 74462


First Utd Methodist, Livingston
Three Rivers Council 578
2901 US Hwy 190 W
P.O. Box 1638
Livingston, TX 77351


First Utd Methodist/O Fallon Kiwanis
Greater St Louis Area Council 312
504 E Hwy 50
O Fallon, IL 62269


First Utd Methodist‐Moody
Longhorn Council 662
500 6th St
Moody, TX 76557


First Utd Methodist‐Tuscumbia
Greater Alabama Council 001
104 E 3rd St
Tuscumbia, AL 35674


First Utd Presbyterian Church
Baltimore Area Council 220
65 Washington Rd
Westminster, MD 21157


First Utd Presbyterian Church
Bay‐Lakes Council 635
555 Bingham Ave
Sault Sainte Marie, MI 49783


First Utd Presbyterian Church
Bay‐Lakes Council 635
605 N Webster Ave
De Pere, WI 54115


First Utd Presbyterian Church
Buckskin 617
51 State
Gallipolis, OH 45631


First Utd Presbyterian Church
Chief Seattle Council 609
1111 Franklin St
Port Townsend, WA 98368


First Utd Presbyterian Church
Five Rivers Council, Inc 375
P.O. Box 72
Mansfield, PA 16933


First Utd Presbyterian Church
Heart of America Council 307
110 E Peoria St
Paola, KS 66071


First Utd Presbyterian Church
Iroquois Trail Council 376
34 E Albion St
Holley, NY 14470


First Utd Presbyterian Church
President Gerald R Ford 781
760 E Savidge St
Spring Lake, MI 49456


First Utd Presbyterian Church
Quivira Council, Bsa 198
1700 Broadway Ave
Parsons, KS 67357


First Utd Presbyterian Church
Tecumseh 439
314 Xenia Ave
Yellow Springs, OH 45387


First Utd Presbyterian Church
W D Boyce 138
83 N Cone St
Farmington, IL 61531


First Utd Presbyterian Church
Westark Area Council 016
695 E Calvin St
Fayetteville, AR 72703
First Utd Redeemer Lutheran Church
Greater New York Councils, Bsa 640
9210 217th St
Queens Village, NY 11428


First Utd Utd Methodist Church
Simon Kenton Council 441
88 N 5th St
Newark, OH 43055


First Ward Community Center
Water and Woods Council 782
1410 N 12th St
Saginaw, MI 48601


First Washington Utd Methodist Church
Greater St Louis Area Council 312
4349 Saint Johns Rd
Washington, MO 63090


First Wyoming Presbyterian Church
Longs Peak Council 062
2972 Main St
Torrington, WY 82240


First Wyoming Utd Presbyterian Church
Longs Peak Council 062
2972 Main St
Torrington, WY 82240


First‐Faith Utd Methodist Men
Overland Trails 322
4190 W Capital Ave
Grand Island, NE 68803


Firwood Utd Methodist Church
Northeastern Pennsylvania Council 501
399 Old River Rd
Wilkes Barre, PA 18702
Fish   Game Club
Twin Rivers Council 364
25 Game Club Rd
Schroon Lake, NY 12870


Fish Tanks Direct
12096 Granite Woods Loop
Venice, FL 34292


Fishback Creek Academy
Crossroads of America 160
8301 W 86th St
Indianapolis, IN 46278


Fishbowl Utd Sportsmans Club
Northern Star Council 250
P.O. Box 318
Webster, WI 54893


Fishburne Military School
Stonewall Jackson Council 763
225 S Wayne Ave
Waynesboro, VA 22980


Fisher   Phillips, LLP
500 N Akard St, Ste 3500
Dallas, TX 75201


Fisher Amvets Post 52
Prairielands 117
P.O. Box 52
Fisher, IL 61843


Fisher Auto Parts Inc
5126 Greenville Ave
Staunton, VA 24401


Fisher Broyles LLP
1200 Abernathy Rd, Bldg 600, Ste 1700
Atlanta, GA 30328
Fisher Broyles LLP
P.O. Box 935079
Atlanta, GA 31193‐5079


Fisher PTO
Great Lakes Fsc 272
10000 Crosley
Redford, MI 48239


Fishers Elem School P T O
Crossroads of America 160
11442 Lantern Rd
Fishers Elem School
Fishers, IN 46038


Fishers Police Dept
Crossroads of America 160
4 Municipal Dr
Fishers, IN 46038


Fishers Rotary Club
Crossroads of America 160
1 Municipal Dr
Fishers, IN 46038


Fishers Utd Methodist Church
Crossroads of America 160
9690 E 116th St
Fishers, IN 46037


Fishhawk Fellowship Church
Greater Tampa Bay Area 089
15326 Fishhawk Blvd
Lithia, FL 33547


Fishing Creek Salem Utd Methodist Ch
New Birth Of Freedom 544
402 Valley Rd
Etters, Pa 17319


Fisk Community Center
Greater St Louis Area Council 312
501 Garfield St
Fisk, MO 63940


Fit Academy
Northern Star Council 250
7200 147th St W
Apple Valley, MN 55124


Fitchburg Fire   Rescue Assoc
Glaciers Edge Council 620
5791 Lacy Rd
Fitchburg, WI 53711


Fitchburg‐Boy S And Girls Club Of
Fitchburg, Leominster
Heart Of New England Council 230
365 Lindell Ave
Leominster, Ma 01453


Fitchburg‐Fitchburg Friends Of Scouting
Heart of New England Council 230
123 Village Xing
Fitchburg, MA 01420


Fitchburg‐K Of C Home Assoc
Heart of New England Council 230
165 Electric Ave
Fitchburg, MA 01420


Fitchburg‐Saint Bernards Elem Sch
Heart Of New England Council 230
254 Summer St
Fitchburg, Ma 01420


Fitchburg‐Utd Commercial Travelers
Tri City
Heart Of New England Council 230
Council 823
Fitchburg, Ma 01420


Fitness Service Of North Texas Inc
11126 Shady Trail,Suite 108
Dallas, TX 75229


Fitness Systems, Inc
1266 E Woodmen Rd
Colorado Springs, CO 80920


Fitzgerald Memorial Baptist Church
Heart of Virginia Council 602
P.O. Box 164
Cumberland, VA 23040


Fitzgerald Methodist Church
Istrouma Area Council 211
80007 Fitzgerald Church Rd
Covington, LA 70435


Fitzillo Inc
361 Abbot Rd
Winslow, ME 04901


Fitzpatrick Hotel Group
Greater New York Councils, Bsa 640
687 Lexington Ave
New York, NY 10022


Fitzsimonds Boys    Girls Club
Three Harbors Council 636
3400 W N Ave
Milwaukee, WI 53208


Fiurentina Ortega
Address Redacted


Five Acres School
Chief Seattle Council 609
515 Lotzgesell Rd
Sequim, WA 98382


Five Holy Martyrs Roman Catholic Church
Pathway To Adventure 456
4327 S Richmond St
Chicago, IL 60632


Five Points Lions Club
Yucca Council 573
6130 Montana Ave
El Paso, TX 79925


Five Rivers
244 W Water St
Elmira, NY 14901


Five Rivers Cncl No 375
244 W Water St
Elmira, NY 14901


Five Rivers Council,Bsa
Five Rivers Council, Inc 375
P.O. Box 5190
Horseheads, NY 14844


Five Rivers Metroparks Ranger Div
Miami Valley Council, Bsa 444
409 E Monument Ave
Dayton, OH 45402


Five Star
Chief Seattle Council 609
15612 SE 128th St
Renton, WA 98059


Five Star Speakers    Trainers, LLC
P.O. Box 412882
Kansas City, MO 64141


Five Star Window Washing Inc
P.O. Box 1194
Lombard, IL 60148


Five States Livestock Auction, Inc
P.O. Box 266
54 Lake Hwy
Clayton, NM 88415


Fixture Concepts Inc
1110 Mid Rivers Industrial Dr
St Peters, MO 63376


Fixture King Corp
13970 Stemmons Frwy
Farmers Branch, TX 75234


Fixture Pronto
5098 Foothills Blvd, Ste 3‐312
Roseville, CA 95747


Fj Kingsbury Elementary School
Connecticut Rivers Council, Bsa 066
220 Columbia Blvd
Waterbury, CT 06710


Fj Reitz Parent Support Group
Buffalo Trace 156
350 Dreier Blvd
Evansville, IN 47712


Fkaa
P.O. Box 1479
Key W, Fl 33041‐1479


Fl Dept Of Health‐Monroe Co
50 High Point Rd
Tavernier, FL 33070


Fl Keys Acquisition LLC
Forest Tek/Overseas Lumb Sup
88521 Overseas Hwy
Tavernier, FL 33043‐0232


Fl Keys Taxi Dispatch 2000 Inc
6631 Maloney Ave
Key W, Fl 33040
Flag Springs Utd Methodist Church
Old N State Council 070
5852 Zoo Pkwy
Asheboro, NC 27205


Flagler Beach Utd Methodist Church
Central Florida Council 083
1520 S Daytona Ave
Flagler Beach, FL 32136


Flagler County Sheriff S Office
Central Florida Council 083
901 E Moody Blvd
Bunnell, FL 32110


Flagpoles, Inc
4000 Baldwin Rd
Holly, MI 48442


Flagship
225 W Colfax Ave
South Bend, IN 46626


Flagstaff Christian Fellowship
Grand Canyon Council 010
123 S Beaver St
Flagstaff, AZ 86001


Flagstaffotos
39 Cassilis Rd
Swifts Creek, Vic 3897
Australia


Flagstone Church Of Christ
Westark Area Council 016
3801 SW Eden Brooke St
Bentonville, AR 72712


Flagstuff America Inc
P.O. Box 5338
410 C Lightfoot Rd
Williamsburg, VA 23188


Flake Consulting Inc
dba Certification Camps
8374 Market St, 412
Lakewood Ranch, FL 34202


Flanagan‐Dorn American Legion Post 294
Potawatomi Area Council 651
231 Goodwin Ave
Hartland, WI 53029


Flanders Baptist And Community Church
Connecticut Rivers Council, Bsa 066
85 Boston Post Rd
East Lyme, CT 06333


Flanders Fire Co 1
Patriots Path Council 358
27 Main St
Flanders, NJ 07836


Flanders Scientific
470 Satellite Blvd Ne, Ste P
Suwanee, GA 30024


Flanders Utd Methodist Church
Patriots Path Council 358
12 Park Pl
Flanders, NJ 07836


Flappin Flags
175 Cap Court
Eugene, OR 97402


Flash Sales, Inc
4401 NW 167th St
Miami, FL 33055


Flashfix
2108 Irving Blvd
Dallas, TX 75207


Flat Creek Co LLC
dba Heavywood Furniture Co
6580 Wolffork Rd
Rabun Gap, GA 30568


Flat Nose Ranch
Utah National Parks 591
Hc 74 Box 321
Pioche, NV 89043


Flat Rock Baptist Church
Blue Ridge Council 551
115 Slab Bridge Rd
Liberty, SC 29657


Flat Rock Baptist Church
Old Hickory Council 427
P.O. Box 267
3800 Flat Rock Church Rd
Hamptonville, NC 27020


Flat Rock Baptist Church
Old Hickory Council 427
P.O. Box 587
Mount Airy, NC 27030


Flat Top Arms Inc
701 S Eisenhower Dr
Beckley, WV 25801


Flatwoods Days Hotel   Conference Center
John Skidmore Development Inc
350 Days Dr
Sutton, WV 26601


Flatwoods Elementary School
Black Warrior Council 006
3800 66th Ave
Northport, AL 35473
Flavia Pena
c/o Camp Squanto
200 Cuttersfield Rd
Plymouth, MA 02360


Fleco Industries Inc
dba Lights Fantastic
4645 Greenville Ave
Dallas, TX 75206


Fleet Reserve Assoc
National Capital Area Council 082
21707 Three Notch Rd
Lexington Park, MD 20653


Fleet Reserve Assoc
National Capital Area Council 082
P.O. Box 93
Patuxent River, MD 20670


Fleet Reserve Assoc
Sequoia Council 027
P.O. Box 669
Lemoore, CA 93245


Fleet Reserve Assoc 91
North Florida Council 087
5391 Collins Rd
Jacksonville, FL 32244


Fleet Reserve Assoc Br 18
Mount Baker Council, Bsa 606
P.O. Box 146
Mountlake Terrace, WA 98043


Fleet Reserve Assoc Br 97
Mount Baker Council, Bsa 606
311 SE 8th Ave
Oak Harbor, WA 98277


Fleet Reserve Assoc Branch 103
Far E Council 803
Psc 473 Box 186
Fpo, AP 96349


Fleet Reserve Assoc Branch 178
Silicon Valley Monterey Bay 055
P.O. Box 1447
Monterey, CA 93942


Fleet Reserve Assoc Branch 346
Gulf Coast Council 773
2117 Wilkinson Ave
Panama City, FL 32408


Fleet Reserve Assoc Branch 46
Aloha Council, Bsa 104
891 Valkenburgh St
Honolulu, HI 96818


Fleet Reserve Assoc No 55
Cascade Pacific Council 492
7034 SE 91st Ave
Portland, OR 97266


Fleet Reserve Assoc Post 99
Tidewater Council 596
357 Edwin Dr
Virginia Beach, VA 23462


Fleet Reserve Assoc, Branch 70
San Diego Imperial Council 049
14231 Garden Rd
Poway, CA 92064


Fleet Transportation LLC
950B S Pickett St
Alexandria, VA 22304


Fleet Transportation LLC
P.O. Box 3638
Alexandria, VA 22302
Fleishman Hillard Inc
P.O. Box 598
St Louis, MO 63188‐0598


Fleishman Hillard Inc
P.O. Box 771733
St Louis, MO 63177


Fleming Chemical Co Inc
P.O. Box 35131
Albuquerque, NM 87176


Fleming Federated Church
Longhouse Council 373
4990 State Route 34
Auburn, NY 13021


Fleming Island Utd Methodist Church
North Florida Council 087
7170 Hwy 17
Fleming Island, FL 32003


Fleming Memorial Church
Mountaineer Area 615
1493 Locust Ave
Fairmont, WV 26554


Fleming Memorial Presbyterian Church
Mountaineer Area 615
1493 Locust Ave
Fairmont, WV 26554


Flemington Borough Police Dept
Washington Crossing Council 777
100 Main St
Flemington, NJ 08822


Flemington Dept Store Inc
151 Route 31
Flemington, NJ 08822
Flemington Fire Dept
Washington Crossing Council 777
38 Park Ave
Flemington, NJ 08822


Flemington Moose Lodge No. 1829
Washington Crossing Council 777
81 Barley Sheaf Rd
Flemington, NJ 08822


Flemington Presbyterian Church
Washington Crossing Council 777
10 E Main St
Flemington, NJ 08822


Fletcher Hills Kiwanis
San Diego Imperial Council 049
P.O. Box 19051
San Diego, CA 92159


Fletcher Hills Presbyterian Church
San Diego Imperial Council 049
455 Church Way
El Cajon, CA 92020


Fletcher Scaife Iii
Address Redacted


Fletcher Utd Methodist Church
Daniel Boone Council 414
50 Library Rd
Fletcher, NC 28732


Fletcher Utd Methodist Church
Daniel Boone Council 414
P.O. Box
Fletcher, NC 28732


Fleur‐De‐Lis Event Design   Catering Co
7704 Longbow Ln
Arlington, TX 76002
Flex‐A‐Chart
P.O. Box 127
Burlison, TN 38015


Flexcon
200 Connell Dr
Berkley Heights, NJ 07922


Flexdel Corp
1969 Rutgers University Blvd
Lakewood, NJ 08701


Flexx Productions Inc
1833 E Harmony 19
Fort Collins, CO 80528


Flickinger Parent Group
Great Lakes Fsc 272
45400 Vanker Ave
Utica, MI 48317


Flint Lake Elementary School PTA
Lasalle Council 165
4106 Calumet Ave
Valparaiso, IN 46383


Flint River
1363 Zebulon Rd
Griffin, GA 30224‐0173


Flint River Cncl No 95
1361 Zebulon Rd
Griffin, GA 30224‐5100


Flint River Council, Boy Scouts America
1363 Zebulon Rd
Griffin, Ga 30224‐5100


Flintco, LLC
6020 Indian School Rd Ne
Albuquerque, NM 87110‐4176


Flintstone‐Simpson Utd Methodist Men
Cherokee Area Council 556
2503 Chattanooga Valley Rd
Flintstone, GA 30725


Flintwood Wesleyan Church
Hoosier Trails Council 145 145
5300 25th St
Columbus, IN 47203


Flipper Temple Ame Church
Atlanta Area Council 092
580 Fair St Sw
Atlanta, GA 30314


Flippin Christian Church
Westark Area Council 016
306 Main St
Flippin, AR 72634


Flo Adell Smith
Address Redacted


Flomaton Lions Club
Gulf Coast Council 773
1615 Wilkerson St
Flomaton, AL 36441


Floor To Ceiling Inc
8401 Enterprise Dr N
Virginia, MN 55792


Flor Beltran
Address Redacted


Flor Geronimo Beltran
Address Redacted
Flora Alonso
Address Redacted


Flora Filler
Address Redacted


Flora First Utd Methodist Church
Greater St Louis Area Council 312
103 E 3rd St
Flora, IL 62839


Flora Rotary International
Sagamore Council 162
208 Park Row
Flora, IN 46929


Florabella
1732 Madison Ave
San Diego, CA 92116


Floral Expositions Inc
2100 Premier Row
Orlando, FL 32809


Floral Heights Utd Methodist Church
Northwest Texas Council 587
2214 10th St
Wichita Falls, TX 76309


Floral Park Methodist Church
Theodore Roosevelt Council 386
35 Verbena Ave
Floral Park, NY 11001


Florcita Jewell
Address Redacted


Florence A Higgins Rs
dba Higgins Environm. Health Solutions
1341 Dwyer
Raton, NM 87740


Florence Arkans
Address Redacted


Florence Birkemeier
Address Redacted


Florence Braidwood
Address Redacted


Florence Christian Church
Dan Beard Council, Bsa 438
300 Main St
Florence, KY 41042


Florence Co Finance Dept.
6719 Friendfield Rd
Effingham, SC 29541


Florence Community Pharmacy
Montana Council 315
P.O. Box 1134
Florence, MT 59833


Florence Davis
Florences Alterations
647 7th St
Beaumont, TX 77701


Florence Elks Lodge 1858
Oregon Trail Council 697
P.O. Box 36
Florence, OR 97439


Florence Hasbrook
Address Redacted


Florence Heckrodt
Address Redacted
Florence Historical Foundation
Mid‐America Council 326
P.O. Box 12331
Omaha, NE 68112


Florence Hornberg
Address Redacted


Florence Larrousse
Address Redacted


Florence Lee
Address Redacted


Florence O Grady
Address Redacted


Florence Presbyterian Church
Mid‐America Council 326
8314 N 31st St
Omaha, NE 68112


Florence Tees
Address Redacted


Florence Utd Methodist Church
Dan Beard Council, Bsa 438
8585 Old Toll Rd
Florence, KY 41042


Florence Witte
Address Redacted


Florence‐Carlton Community Church
Montana Council 315
P.O. Box 219
Florence, MT 59833
Flores   Ritchie LLC
Texas Swest Council 741
493 Madison St
Eagle Pass, TX 78852


Florham Park PTA
Patriots Path Council 358
56 Elm St
Florham Park, NJ 07932


Florham Pistol   Rifle Club, Inc
Patriots Path Council 358
90 Brooklake Rd
Florham Park, NJ 07932


Florida Agricultural   Mechanical
Unviersity Foundation Inc
625 E Tennessee St, Ste 100
Tallahassee, FL 32308


Florida Annual Conf Of The Umc
dba Life Enrichment Ctr/Ww Camp
4990 Picciola Rd
Fruitland Park, FL 34731


Florida Annual Conf Of The Umc
dba Warren Willis Camp
450 Martin Luther King Jr Ave
Lakeland, FL 33815‐1522


Florida Dept Of Agri   Consumer Svcs
P.O. Box 6700
Tallahassee, FL 32314‐6700


Florida Dept Of Agriculture
And Consumer Services
Consumer Bureau
500 S 2nd St
Springfield, IL 62706


Florida Dept Of Agriculture
Consumer Affairs
Solicitation of Contributions
P.O. Box 6700
Tallahassee, FL 32314‐6700


Florida Dept Of Banking    Finance
Bureau of Unclaimed Property
101 E Gaines St, Fletcher Bldg
Tallahassee, FL 32399‐0350


Florida Dept Of Revenue
5050 W Tennessee
Tallahassee, FL 32399‐0120


Florida Dept Of State
Attn Div of Corps
P.O. Box 1500
Tallahassee, FL 32302‐1500


Florida Dept Of State
Division of Corps
P.O. Box 1500
Tallahassee, FL 32302‐1500


Florida Dept Of State
P.O. Box 1300
Tallahassee, FL 32302‐1300


Florida Dept. Of State
Attn Div of Corp
Fictitious Name Registr
P.O. Box 1300
Tallahassee, FL 32302‐1300


Florida Elks Youth Camp Inc
P.O. Box 49
Umatilla, FL 32784


Florida Fence Corp
P.O. Box 227
Tavernier, FL 33070
Florida Fire Systems LLC
17430 Alico Center Rd
Ft. Myers, FL 33967‐6062


Florida Fishing Academy
Gulf Stream Council 085
7067 Peninsula Ct
Lake Worth, FL 33467


Florida Grange 306
Great Swest Council 412
12960 County Rd 310
Ignacio, CO 81137


Florida Gulf Coast University
10501 Fgcu Blvd S
Fort Myers, FL 33965‐6565


Florida Institute Of Technology
Attn Office of Student
Financial Aid   Scholarships
150 W University Blvd
Melbourne, FL 32901


Florida International University
11200 SW 8th St
Miami, FL 33199


Florida Keys Aqueduct Authority
1100 Kennedy Dr
Key W, Fl 33040‐4021


Florida Keys Art By Cinnamon
P.O. Box 158
Islamorada, FL 33036


Florida Keys Diesel Repair LLC
531 107th St, Unit 4‐5‐6
Marathon, FL 33050


Florida Keys Dive Center Inc
90451 Old Hwy
Tavernier, FL 33070


Florida Keys Electric Cooperative
91630 Overseas Hwy
Tavernier, FL 33070


Florida Keys Electric Cooperative Assn
P.O. Box 377
Tavernier, FL 33070‐0377


Florida Keys Keynoter
P.O. Box 500158
Marathon, FL 33050


Florida Keys Panama Jack Inc
30459 Coconut Hwy
Big Pine Key, FL 33043


Florida Keys Panama Jack Inc
30549 Coconut Hwy
Big Pine Key, FL 33043


Florida Keys Pay Fair   Ag
P.O. Box 511
Tavernier, FL 33070


Florida Keys Pressure Washing LLC
c/o Andrew Garr
288 Scorpio Ln
Key W, Fl 33040


Florida Keys Printing   Graphics Inc
dba Printing Plus
99353 Overseas Hwy, Ste 6
Key Largo, FL 33037


Florida Keys Sailing Adventures
250 16th Ave Ne
St Petersburg, FL 33704
Florida Keys Sailing Adventures
c/o Harry Fink
73800 Overseas Hwy
Islamorada, FL 33036


Florida Safari Adventure Inc
3440 NE 12th Ave
Oakland Park, FL 33334


Florida Sea Base
P.O. Box 1906
Islamorada, FL 33036


Florida Sea Base ‐ Bahamas Account
c/o First Caribbean International Bank
P.O. Box Ab20402
Marsh Harbor, Abacos
Bahamas


Florida Sea Base‐Petty Cash
P.O. Box 1906
Islamorada, FL 33036


Florida State Attorneys General
The Capitol, Pl 01
Tallahassee, FL 32399‐1050


Florida State University
Attn Student Business Services
1500A University Center
Tallahassee, FL 32306‐2394


Florida Trend
P.O. Box 16238
North Hollywood, CA 91615


Florida Uc Fund
5050 W Tennessee St
Tallahassee, FL 32399‐0110
Florida Unemployment Compensation Fund
5050 W Tennessee St
Tallahasse, FL 32399‐0180


Floris Utd Methodist Church
National Capital Area Council 082
13600 Frying Pan Rd
Herndon, VA 20171


Florissant Valley Kiwanis Club
Greater St Louis Area Council 312
955 Rue Saint Francois St
Florissant, MO 63031


Flower Mound Methodist Church
Longhorn Council 662
3950 Bruton Orand Blvd
Flower Mound, TX 75022


Flower Mound Presbyterian Church
Longhorn Council 662
1501 Flower Mound Rd
Flower Mound, TX 75028


Flower Mound Rotary Club
Longhorn Council 662
P.O. Box 271450
Flower Mound, TX 75027


Flower Mound Utd Methodist Men S Club
Longhorn Council 662
3950 Bruton Orand Blvd
Flower Mound, TX 75022


Flowerland Floral
248 Canyon Dr
Raton, NM 87740


Flowers By Emily
5230 W 116th Pl
Leawood, KS 66211
Flowers For You
7600 N Macarthur Blvd ‐, Ste 180
Irving, TX 75063


Flowery Branch Masonic Lodge 212
Northeast Georgia Council 101
P.O. Box 624
Flowery Branch, GA 30542


Flowery Branch Police Dept
Northeast Georgia Council 101
P.O. Box 757
Flowery Branch, GA 30542


Flowery Branch Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 490
Flowery Branch, GA 30542


Floyd Baptist Church
Blue Ridge Mtns Council 599
510 E Main St
Floyd, VA 24091


Floyd Bieniek
Address Redacted


Floyd Hamm
Address Redacted


Floyd Henderson Ii
Address Redacted


Floyd Lodge 537 American Legion
Attn Dan Roghair
Mid‐America Council 326
304 Central Ave Sw
Orange City, IA 51041


Floyd Pflueger     Ringer
200 W Thomas St, Ste 500
Seattle, WA 98119‐4296


Floyd Siebert Jr
Address Redacted


Floyd Springs Umc
Northwest Georgia Council 100
1954 Floyd Springs Rd Ne
Armuchee, GA 30105


Floyd Volunteer Fire Dept
Leatherstocking 400
8367 Old Floyd Rd
Rome, NY 13440


Floydada Lions Club
South Plains Council 694
P.O. Box 7
Floydada, TX 79235


Floyds Studio
Inland Nwest Council 611
4127 N Maple Leaf Rd
Coeur D Alene, ID 83815


Flushing Utd Methodist Church
Ohio River Valley Council 619
301 High St
Flushing, OH 43977


Flushing Utd Methodist Church
Water and Woods Council 782
413 E Main St
Flushing, MI 48433


Fluvanna Community Church
Allegheny Highlands Council 382
3363 Fluvanna Ave Ext
Jamestown, NY 14701
Fluvanna County Sheriffs Office
Stonewall Jackson Council 763
160 Commons Blvd
Palmyra, VA 22963


Fluvanna Fire Dept
Allegheny Highlands Council 382
Rd 1
Jamestown, NY 14701


Fly Church Of The Nazarene
Middle Tennessee Council 560
5688 Leipers Creek Rd
Santa Fe, TN 38482


Fly Right Incorporated
Central N Carolina Council 416
7275 Wwinds Blvd Nw
Concord, NC 28027


Fly Shack
28 E Fulton St
Gloversville, NY 12078


Flying A Security Systems, Inc
12605 SW 114 Ave
Miami, FL 33176


Flying A Security Systems, Inc
12605 SW 114th Ave
Miami, FL 33176


Flying L Guest Ranch Inc
P.O. Box 1959
Bandero, TX 78003


Flying L Ranch Resort
Alamo Area Council 583
675 Flying L Dr
Bandera, TX 78003
Flynn Park School PTA
Greater St Louis Area Council 312
7220 Waterman Ave
Saint Louis, MO 63130


Flynn Turner
Address Redacted


Flyspace Productions
2731 N Charles St
Pittsburgh, PA 15214


F‐M Ambulance Service Inc
Northern Lights Council 429
2215 18th St S
Fargo, ND 58103


Fmh Material Handling Solutions
P.O. Box 5052
Denver, CO 80217


Fml Inc
dba Dynasty Gallery
2765 16th St
San Francisco, CA 94103


Fmr LLC
dba Fidelity Workplace Services LLC
200 Seaport Blvd
Boston, MA 02210


Fmr LLC
dba Fidelity Workplace Services LLC
P.O. Box 73307
Chicago, IL 60673‐7307


Fn Brown School Sca
Northern New Jersey Council, Bsa 333
125 Grove Ave
Verona, NJ 07044
Fndn, Rotary Club Forest Grove
Cascade Pacific Council 492
P.O. Box 125
Forest Grove, Or 97116


Focus Latino
720 Barton Creek Blvd
Austin, TX 78746


Focused Technology
P.O. Box 17315
Sarasota, FL 34276


Foe 4149 Sky Valley
Mount Baker Council, Bsa 606
P.O. Box 1589
Sultan, WA 98294


Foe 4273
Central Florida Council 083
27150 Haywood Worm Farm Rd
Okahumpka, FL 34762


Fogarty Memorial School P T O
Narragansett 546
736 Snake Hill Rd
North Scituate, RI 02857


Fogelman   Fogelman LLC
Massachusetts Iolta Account
100 Wells Ave
Newton, MA 02459


Foland Wickens Roper Hofer
Crawford Pc
1200 Main St, Ste 2200
Kansas City, MO 64105


Foley   Lardner LLP
111 Huntington Ave, 25th Fl
Boston, MA 02199
Foley   Lardner Llp
Attn Richard J Bernard
90 Park Ave
New York, NY 10016


Foley   Lardner Llp
Attn Victor Vilaplana
3579 Valley Centre Dr, Ste 300
San Diego, CA 92130


Foley Area Chamber
Central Minnesota 296
P.O. Box 499
Foley, MN 56329


Foley Optimist Club
Mobile Area Council‐Bsa 004
P.O. Box 1353
Foley, AL 36536


Folkston Utd Methodist Church
Coastal Georgia Council 099
1463 3rd St
Folkston, GA 31537


Follansbee Steel
P.O. Box 643507
Pittsburgh, PA 15264‐3507


Follett Library Resources
1340 Ridgeview Dr
Mchenry, IL 60050


Folsom City Lions Club
Golden Empire Council 047
117 Abrozo Ct
Folsom, CA 95630


Folsom Police Dept
Golden Empire Council 047
46 Natoma St
Folsom, CA 95630


Folwell School PTO Inc
Garden State Council 690
465 Jacksonville Rd
Mount Holly, NJ 08060


Fond Du Lac Police Dept
Bay‐Lakes Council 635
126 N Main St
Fond Du Lac, WI 54935


Font Brothers Inc
5117 38th Ave S
Minneapolis, MN 55417


Font Diner Inc
Attn Stuart Sandler
3224 Anric Dr
Eau Claire, WI 54701


Fontana Police Dept
California Inland Empire Council 045
17005 Upland Ave
Fontana, CA 92335


Food By Paige
4332 Amherst Ave
Dallas, TX 75225


Food Ranch
315 E 300 N
Price, UT 84501


Foot   Ankle Assoc Inc
1 Calle Medico
Santa Fe, NM 87505‐4764


Foothill Rehab   Performance Srvc
Grand Teton Council 107
3715 Woodking Dr
Idaho Falls, ID 83404


Foothill Scout Shop ‐ Opc
525 Foothill Blvd
Salt Lake City, UT 84113‐1199


Foothills Baptist Church
Grand Canyon Council 010
15450 S 21st St
Phoenix, AZ 85048


Foothills Ch Rancho Santa Margarita
Orange County Council 039
23122 Arroyo Vis
Rancho Santa Margarita, Ca 92688


Foothills Utd Methodist Church
Golden Empire Council 047
3301 Green Valley Rd
Rescue, CA 95672


Foothills Utd Methodist Church
San Diego Imperial Council 049
4301 Avocado Blvd
La Mesa, CA 91941


Foothills Utd Methodist Church
Twin Rivers Council 364
17 Fremont St
Gloversville, NY 12078


Foothills Young Marines C
O Beverly Hills Glass
Denver Area Council 061
9150 W Jewell Ave
Lakewood, Co 80232


Footprints Of Michigan ‐ Forestview
Water and Woods Council 782
3300 W Main St
Lansing, MI 48917
Footprints Of Michigan Inc ‐ Pattengill
Water and Woods Council 782
3300 W Main St
Lansing, MI 48917


For The Kids Foundation Of Tampa Bay
Greater Tampa Bay Area 089
302 E Henry Ave
Tampa, FL 33604


For Unity Community Outreach Corp
Connecticut Rivers Council, Bsa 066
P.O. Box 330991
West Hartford, CT 06133


Foran Glennon Planadech Ponzi   Rudloff
Attn Susan N K Gummow
Attn Igor Shleypak
222 N Lasalle St, Ste 1400
Chicago, IL 60614


Forbes
P.O. Box 5474
Harlan, IA 51593‐0974


Forbes Hospital
Westmoreland Fayette 512
2570 Haymaker Rd
Monroeville, PA 15146


Forbush High School Jrotc
Old Hickory Council 427
1525 Falcon Rd
East Bend, NC 27018


Force Beacons
Denver Area Council 061
1550 S Wolff St
Denver, CO 80219


Ford Audi Video Inc
4800 W I40
Oklahoma City, OK 73128


Ford Drake Scout Memorial Inc
Great Lakes Fsc 272
1524 Middlebelt Rd
Garden City, MI 48135


Ford Middle School
Narragansett 546
708 Middle Rd
Acushnet, MA 02743


Ford St Utd Methodist Church
Crossroads of America 160
P.O. Box 626
Lapel, IN 46051


Forder School PTO
Greater St Louis Area Council 312
623 W Ripa Ave
Saint Louis, MO 63125


Fordham University
Attn Enrollment Group
441 E Fordham Rd, Thebaud Hall
Bronx, NY 10458


Fords Fire Co Posts
Patriots Path Council 358
667 King George Rd
Fords, NJ 08863


Fords Fire Co Traditional Units
Patriots Path Council 358
667 King George Rd
Fords, NJ 08863


Fore Mechanical Services Inc
3102 103rd Ln Ne
Blane, MN 55449
Forensic Psychiatry Services
Of Idaho Pllc, Camille A La Croix MD
1775 W State St, 327
Boise, ID 83702


Forest Ave Home   School Assoc
Northern New Jersey Council, Bsa 333
118 Forest Ave
Verona, NJ 07044


Forest Baptist Church
Andrew Jackson Council 303
P.O. Box 338
Forest, MS 39074


Forest Bend Homeowners Assoc Inc
Sam Houston Area Council 576
4300 Laura Leigh Dr
Friendswood, TX 77546


Forest City Community Assoc Inc
Theodore Roosevelt Council 386
3199 Morgan Dr
Wantagh, NY 11793


Forest City Foursquare Church
Piedmont Council 420
178 Cornwell St
Forest City, NC 28043


Forest City Lions Club
c/o Steven Howell
Pony Express Council 311
205 S Monroe St
Oregon, MO 64473


Forest Concrete Products Inc
1715 E Sheridan St
Ely, MN 55731


Forest David Mackenzie
Address Redacted


Forest Fitness LLC
5311 Los Poblanos Ln Nw
Albuquerque, NM 87107


Forest Hill Assoc
San Francisco Bay Area Council 028
381 Magellan Ave
San Francisco, CA 94116


Forest Hill Church
Lake Erie Council 440
3031 Monticello Blvd
Cleveland Heights, OH 44118


Forest Hill Church
Mecklenburg County Council 415
7224 Park Rd
Charlotte, NC 28210


Forest Hill High School
Andrew Jackson Council 303
2607 Raymond Rd
Jackson, MS 39212


Forest Hill Police Dept
Longhorn Council 662
3336 Horton Rd
Forest Hill, TX 76119


Forest Hill Utd Methodist Church
Central N Carolina Council 416
265 Union St N
Concord, NC 28025


Forest Hills Baptist Church
Occoneechee 421
201 Dixie Trl
Raleigh, NC 27607
Forest Hills Presbyterian Church
Alamo Area Council 583
P.O. Box 257
Helotes, TX 78023


Forest Hills Presbyterian Church
Greater Tampa Bay Area 089
709 W Linebaugh Ave
Tampa, FL 33612


Forest Hills Presbyterian Church
Laurel Highlands Council 527
1840 Ardmore Blvd
Pittsburgh, PA 15221


Forest Hills Presbyterian Church
President Gerald R Ford 781
7495 Cascade Rd Se
Grand Rapids, MI 49546


Forest Hills PTA
Greater Alabama Council 001
101 Stovall Dr
Florence, AL 35633


Forest Hills Utd Methodist Church
Central Georgia Council 096
1217 Forest Hill Rd
Macon, GA 31210


Forest Hills Utd Methodist Church
Middle Tennessee Council 560
1250 Old Hickory Blvd
Brentwood, TN 37027


Forest Hillsunited Methodist Church
Middle Tennessee Council 560
1250 Old Hickory Blvd
Brentwood, TN 37027


Forest Lake Lions Club
Northern Star Council 250
P.O. Box 543
Forest Lake, MN 55025


Forest Lake Senior High
Northern Star Council 250
6101 Scandia Trl N
Forest Lake, MN 55025


Forest Lake Utd Methodist Church
Black Warrior Council 006
1711 4th Ave
Tuscaloosa, AL 35401


Forest Lake Vfw Post 4210
Northern Star Council 250
556 12th St Sw
P.O. Box 307
Forest Lake, MN 55025


Forest Park Baptist Church
National Capital Area Council 082
12995 Church Rd
Waldorf, MD 20601


Forest Park Presbyterian Church
Potawatomi Area Council 651
12700 W Howard Ave
New Berlin, WI 53151


Forest Park Presbyterian Church
Potawatomi Area Council 651
2300 S Sunnyslope Rd
New Berlin, WI 53151


Forest Park School Assoc
Three Harbors Council 636
6810 45th Ave
Kenosha, WI 53142


Forest Park Utd Methodist Church
Atlanta Area Council 092
4473 College St
Forest Park, GA 30297


Forest Park Utd Methodist Church
Gulf Coast Council 773
1401 W 23rd St
Panama City, FL 32405


Forest Preserve District ‐ Dupage County
1717 W 31st St
Oak Brook, IL 06523


Forest Ptc
Pathway To Adventure 456
1375 S 5th Ave
Des Plaines, IL 60018


Forest Street Utd Methodist Church
Middle Tennessee Council 560
416 Church St
Clarksville, TN 37040


Forest Tek Lumber
88521 Overseas Hwy
Tavernier, FL 33070


Forest Trail Booster Club
Capitol Area Council 564
1203 S Capital of Texas Hwy
West Lake Hills, TX 78746


Forestbrook Animal Hospital
Piedmont Council 420
3200 Union Rd
Gastonia, NC 28054


Forestdale Fire District
Greater Alabama Council 001
751 Heflin Ave E
Birmingham, AL 35214


Forester Elem Parent Teacher Assoication
Alamo Area Council 583
10726 Rousseau St
San Antonio, Tx 78245


Forestry Suppliers Inc
P.O. Box 8397
Jackson, MS 39284‐8397


Forestville Utd Methodist Men
Redwood Empire Council 041
6550 Covey Rd
Forestville, CA 95436


Forever Green Unities
Seneca Waterways 397
95 Brayer St
Rochester, NY 14606


Fork Shoals School PTA
Blue Ridge Council 551
916 Mckelvey Rd
Pelzer, SC 29669


Form Tech Concrete Forms
48575 Downing
Wixom, MI 48393


Formcenter
231 Croton Ave
Corlandt Manor, NY 10567


Former Members Of Post 2111
Anthony Wayne Area 157
514 E Hazel St
Albion, IN 46701


Forms   Supply Inc
P.O. Box 563953
Charlotte, NC 28256


Formstack LLC
8604 Allisonville Rd, Ste 300
Indianapolis, IN 46250


Forrest Burdette Memorial Utd Methodist
Buckskin 617
2848 Putnam Ave
Hurricane, Wv 25526


Forrest Daniel Mills
Address Redacted


Forrest Hill Utd Methodist Church
W D Boyce 138
706 E Forrest Hill Ave
Peoria, IL 61603


Forrest Lodge Vfw Post 245
Washington Crossing Council 777
2118 Old Bethlehem Pike
Sellersville, PA 18960


Forrest Mcvicar
Address Redacted


Forrest W Duval
Address Redacted


Forreston Reformed Church
Blackhawk Area 660
P.O. Box 664
Forreston, IL 61030


Forsyth Area Sports Teams
Northeast Georgia Council 101
2645 Pilgrim Mill Cir
Cumming, GA 30041


Forsyth County Fire Dept
Northeast Georgia Council 101
3480 Settindown Rd
Cumming, GA 30028
Forsyth County Sheriffs Office
Northeast Georgia Council 101
202 Veterans Memorial Blvd
Cumming, GA 30040


Forsyth County Sheriffs Office
Old Hickory Council 427
P.O. Box 21089
Winston Salem, NC 27120


Forsyth County Tax Collector
P.O. Box 82
Winston‐Salem, NC 27102‐0082


Forsyth Ems
Old Hickory Council 427
911 E 5th St
Winston Salem, NC 27101


Forsyth Tech Community College
Old Hickory Council 427
2100 Silas Creek Pkwy
Winston Salem, NC 27103


Forsyth Township Ministerium
Bay‐Lakes Council 635
P.O. Box 1114
Gwinn, MI 49841


Forsyth Utd Methodist Church
Central Georgia Council 096
68 W Johnston St
Forsyth, GA 31029


Forsyth Utd Methodist Church
Greater St Louis Area Council 312
210 E Ruehl St
Forsyth, IL 62535


Forsyth Volunteer Fire Dept
Montana Council 315
P.O. Box 1247
Forsyth, MT 59327


Forsyth‐Cumming Optimist Club
Northeast Georgia Council 101
P.O. Box 111
Cumming, GA 30028


Fort Allen P T O
Westmoreland Fayette 512
560 Baltzer Meyer Pike
Greensburg, PA 15601


Fort Ann Volunteer Fire Co
Twin Rivers Council 364
11289 State Route 149
Fort Ann, NY 12828


Fort Ashby Lions Club Inc
Laurel Highlands Council 527
P.O. Box 167
Fort Ashby, WV 26719


Fort Belvoir Friends Of Scouting
National Capital Area Council 082
P.O. Box 15127
Alexandria, VA 22309


Fort Belvoir Friends Of Scouting
National Capital Area Council 082
P.O. Box 15142
Alexandria, VA 22309


Fort Bend Animal Services
Sam Houston Area Council 576
1210 Blume Rd
Rosenberg, TX 77471


Fort Bend Christian Academy
Sam Houston Area Council 576
1250 7th St
Sugar Land, TX 77478


Fort Bend Columbus Club
Sam Houston Area Council 576
P.O. Box 866
Rosenberg, TX 77471


Fort Bend County
C/O Linebarger Goggan Blair     Sampson
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064


Fort Bend County Sheriff S Office
Sam Houston Area Council 576
1410 Williams Way Blvd
Richmond, TX 77469


Fort Burd Utd Presbyterian Church
Westmoreland Fayette 512
200 Thornton Rd
Brownsville, PA 15417


Fort Chiswell Utd Methodist Church
Blue Ridge Mtns Council 599
771 Fort Chiswell Rd
Max Meadows, VA 24360


Fort Daniel Elementary School
Northeast Georgia Council 101
1725 Auburn Rd
Dacula, GA 30019


Fort Fairfield Frontier Fish    Game
Katahdin Area Council 216
550 Dorsey Rd
Fort Fairfield, ME 04742


Fort Fairfield Frontier Fish And Game
Katahdin Area Council 216
P.O. Box 182
Fort Fairfield, ME 04742
Fort Foote Baptist Church
National Capital Area Council 082
8310 Fort Foote Rd
Fort Washington, MD 20744


Fort Gay Utd Methodist Church
Buckskin 617
Court St
Att. Tom Baisden
Fort Gay, WV 25514


Fort Gibson Utd Methodist Church
Sequoyah Council 713
30 Church St
Castlewood, VA 24224


Fort Hill Co
1013 Centre Rd, Ste 102
Delle Donne Corporate Ctr
Wilmington, DE 19805


Fort Hill Presbyterian Church
Blue Ridge Council 551
101 Edgewood Ave
Clemson, SC 29631


Fort Hill Presbyterian Church
Blue Ridge Council 551
399 College Ave
Clemson, SC 29631


Fort Hunter Fire District
Twin Rivers Council 364
3525 Carman Rd
Schenectady, NY 12303


Fort Island PTA
Great Trail 433
496 Trunko Rd
Fairlawn, OH 44333
Fort Jackson Dept Of Emergency Services
Indian Waters Council 553
5385 Jackson Blvd
Columbia, SC 29207


Fort Jones Fire Dept
Crater Lake Council 491
31 Newton St
Fort Jones, CA 96032


Fort Kent Lions Club
Katahdin Area Council 216
P.O. Box 26
Fort Kent, ME 04743


Fort King Presbyterian Church
North Florida Council 087
13 NE 36th Ave
Ocala, FL 34470


Fort Knox Federal Credit Union
Lincoln Heritage Council 205
1175 Pershing Dr
Fort Knox, KY 40121


Fort Lee Crater Ch Warrant Officer Assoc
Heart Of Virginia Council 602
3901 C Ave Bldg 10000, Ste E
Fort Lee, Va 23801


Fort Lewis College
Attn Controllers
1000 Rim Dr
Durango, CO 81301


Fort Madison Fire Dept
Mississippi Valley Council 141 141
811 Ave E
Fort Madison, IA 52627


Fort Meigs Elementary
Erie Shores Council 460
26431 Fort Meigs Rd
Perrysburg, OH 43551


Fort Myers Middle Academy
Southwest Florida Council 088
3050 Central Ave
Fort Myers, FL 33901


Fort Myers Power Squadron
Southwest Florida Council 088
3145 Royalston Ave
Fort Myers, FL 33916


Fort Oglethorpe Fire   Rescue
Cherokee Area Council 556
201 Forrest Rd
Fort Oglethorpe, GA 30742


Fort Owen American Legion Post 94
Montana Council 315
1055 Middle Burnt Fork Rd
Stevensville, MT 59870


Fort Payne City Schools
Greater Alabama Council 001
205 45th St Ne
Fort Payne, AL 35967


Fort Pierce Masonic Lodge No 87
Gulf Stream Council 085
4590 Oleander Ave
Fort Pierce, FL 34982


Fort Pierce Police Dept
Gulf Stream Council 085
920 S US Hwy 1
Fort Pierce, FL 34950


Fort Salonga School PTA
Suffolk County Council Inc 404
39 Sunken Meadow Rd
Fort Salonga, NY 11768


Fort Stewart Youth Challenge
Coastal Georgia Council 099
P.O. Box 3610
Fort Stewart, GA 31315


Fort Valley Utd Methodist Church
Central Georgia Council 096
301 W Church St
Fort Valley, GA 31030


Fort Vancouver Sail   Power Squadron
Cascade Pacific Council 492
1312 SW Taylors Ferry Rd
Portland, OR 97219


Fort Walton Beach Police Dept.
7 NE Hollywood Blvd
Fort Walton Beach, FL 32548


Fort Washington Baptist Church
National Capital Area Council 082
11516 Fort Washington Rd
Fort Washington, MD 20744


Fort Washington Baptist Church
National Capital Area Council 082
11516 Fort Washington Rd
Ft Washington, MD 20744


Fort Washington Collegate
Greater New York Councils, Bsa 640
729 W 181st St
New York, NY 10033


Fort Wayne Urban League
Anthony Wayne Area 157
2135 S Hanna St
Fort Wayne, IN 46803
Fort Worth Country Day
Longhorn Council 662
4200 Country Day Ln
Fort Worth, TX 76109


Fort Worth Fire Dept
Longhorn Council 662
509 W Felix St
Fort Worth, TX 76115


Fort Worth Pd Exploring
1000 Calvert St
Fort Worth, TX 76107


Fort Worth Police Dept
Longhorn Council 662
511 W Felix St
Fort Worth, TX 76115


Fort Worth Postal Customer Council
P.O. Box 162871
Fort Worth, TX 76161‐2871


Fort Worth Symphony
Group Sales
330 E 4th St, Ste 200
Ft Worth, TX 76102


Fort Worthington Rec Center
Baltimore Area Council 220
2710 E Hoffman St
Baltimore, MD 21213


Fortified Prep
Orange County Council 039
8671 Hudson River Cir
Fountain Valley, CA 92708


Fortis Properties LLC
Daniel Webster Council, Bsa 330
4 Linda Ln
Merrimack, NH 03054
Fortson Communications, Inc
2037 N Surrey Ct
Grand Junction, CO 81503


Fortuna Lions Club
Crater Lake Council 491
P.O. Box 432
Fortuna, CA 95540


Fortuna Rotary Club
Crater Lake Council 491
P.O. Box 518
Fortuna, CA 95540


Fortuna Volunteer Fire Dept
Crater Lake Council 491
320 S Fortuna Blvd
Fortuna, CA 95540


Fortune
P.O. Box 62121
Tampa, FL 33663‐1211


Fortville Elementary PTO
Crossroads of America 160
8414 N 200 W
Fortville, IN 46040


Forty Fort Lions Club
Northeastern Pennsylvania Council 501
245 Owen St
Swoyersville, PA 18704


Forza Inc
700 W Hwy 89
Sedona, AZ 86351


Forza Inc
dba Mariposa
7000 State Hwy 179, Ste 126A
Sedona, AZ 86351


Foss Marine
Long Beach Area Council 032
P.O. Box 1940
Long Beach, CA 90801


Foss Waterway Seaport
Pacific Harbors Council, Bsa 612
705 Dock St
Tacoma, WA 98402


Fossil Rim Wildlife Center
2155 County Rd 2008
Glen Rose, TX 76043


Foster And Adoptive Family Assoc
Blue Grass Council 204
700 Bluegrass Ave
Frankfort, KY 40601


Foster Animal Hospital Pa
Central N Carolina Council 416
730 Concord Pkwy N
Concord, NC 28027


Foster City Police Dept
Pacific Skyline Council 031
1030 E Hillsdale Blvd
Foster City, CA 94404


Foster Elementary PTA
Sam Houston Area Council 576
1800 Trailwood Village Dr
Kingwood, TX 77339


Foster Elementary School PTO
Sam Houston Area Council 576
3919 Ward St
Houston, TX 77021
Foster Gordon Mfg Corp
55 Knickerbocker Ave
Bohemia, NY 11716


Foster Memorial American Legion Post
Narragansett 546
Foster Center Rd
Foster, RI 20825


Foster Printing Service Inc
4295 Ohio St
Michigan City, IN 46360


Foster S Chapel Umc
Palmetto Council 549
154 Pea Ridge Hwy
Jonesville, SC 29353


Foster Selman Jr
Address Redacted


Foster Supply Inc
P.O. Box 488
Scott Depot, WV 25560


Fotosearch
21155 Watertown Rd
Waukesha, WI 53186‐1898


Foulston   Siefkin LLP
1551 N Waterfront Pkwy, Ste 100
Wichita, KS 67206‐4466


Foundation Arts
P.O. Box 856
American Fork, UT 84003


Foundation Center
32 Old Slip 24th Fl
New York, NY 10005
Foundation For Male Studies
333 Mamaroneck Ave‐ 444
White Plains, NY 10605


Foundation For Youth
Hoosier Trails Council 145 145
405 Hope Ave
Columbus, IN 47201


Foundation For Youth Initiative‐Texas
Alamo Area Council 583
16702 Fallen Tree Dr
San Antonio, TX 78247


Foundation Preparatory Charter School
Southeast Louisiana Council 214
2733 Esplanade Ave
New Orleans, LA 70119


Foundation Umc
Longhorn Council 662
10751 W Adams Ave
Temple, TX 76502


Founders Lions Club
Capitol Area Council 564
9800 Curlew Dr
Austin, TX 78748


Foundry Utd Methodist Church
Sam Houston Area Council 576
8350 Jones Rd
Houston, TX 77065


Fountain City Lions Club Inc
Crossroads of America 160
P.O. Box 223
Fountain City, IN 47341


Fountain City Presbyterian Church
Great Smoky Mountain Council 557
500 Hotel Rd
Knoxville, TN 37918


Fountain City Utd Methodist Church
Great Smoky Mountain Council 557
212 Hotel Rd
Knoxville, TN 37918


Fountain Elementary School
Atlanta Area Council 092
5215 W St
Forest Park, GA 30297


Fountain Inn Rotary Club
Blue Ridge Council 551
S. Main St
Fountain Inn, SC 29644


Fountain Lake School District PTA
Quapaw Area Council 018
4207 Park Ave
Hot Springs, AR 71901


Fountain Valley Police
Orange County Council 039
10200 Slater Ave
Fountain Valley, CA 92708


Fountain Valley Utd Methodist Church
Orange County Council 039
18225 Bushard St
Fountain Valley, CA 92708


Four   Six Cycle Inc
Pathway To Adventure 456
9258 N Courtland Dr
Niles, IL 60714


Four Brothers Farming In Clinton Co
Illowa Council 133
2568 223rd Ave
Grand Mound, IA 52751
Four Mile Presbyterian Church
Laurel Highlands Council 527
6078 Tuscarawas Rd
Beaver, PA 15009


Four Nine Design LLC
2309 Springlake Rd, Ste 630
Farmers Branch, TX 75234


Four Oaks Achievement Academy
Hawkeye Area Council 172
943 14th Ave Se
Cedar Rapids, IA 52401


Four Oaks Civitan Club
Tuscarora Council 424
P.O. Box 1009
Four Oaks, NC 27524


Four Oaks Civitan Club
Tuscarora Council 424
P.O. Box 487
Four Oaks, NC 27524


Four Oaks Utd Methodist Church
Tuscarora Council 424
P.O. Box 177
Four Oaks, NC 27524


Four Point Solutions Ltd
106 Colonnade Rd, Ste 210
Ottawa, On K2E 7L6
Canada


Four Points By Sheraton
99 Erdman Way
Leominster, MA 01453


Four Season Family Day Care
Occoneechee 421
396 Wood Point Dr
Lillington, NC 27546


Four Seasons Hotel Ca
757 Market St
San Francisco, CA 94103


Four Seasons Resort And Club
4150 N Macarthur Blvd
Irving, TX 75038


Four Seasons Sports
2828 Washington Ave
Bedford, IN 47421


Four Seasons Sports
Tuscarora Council 424
1713 E Ash St
Goldsboro, NC 27530


Four Sons Logistics LLC
Denver Area Council 061
81191 Deadwood Trl
Crawford, CO 81415


Four Square Sportsman Club
Water and Woods Council 782
6777 Cline Rd
Grant Township, MI 48032


Four Star Couriers Inc
P.O. Box 1212
Grapevine, TX 76099


Four Star Marketing Inc
3732 W Morese Ave
Lincolnwood, IL 60712‐7270


Four Star Rentals Inc
5216 US Hwy 1
Key W, Fl 33040
Four Star Rentals Inc
86300 Overseas Hwy
Islamorada, FL 33036


Four States Equipment   Service
714 W Main St, Ste D
Farmington, NM 87401


Four Winds Dstr, LLC
5161 Ward Rd
Wheat Ridge, CO 80033


Four Winds Interactive LLC
1859 York St
Denver, CO 80206


Fourpoints By Sheraton Neworleansairport
6401 Veterans Memorial Blvd
Metairie, LA 70003


Foursquare Church Of South Boston
Blue Ridge Mtns Council 599
1011 S of Dan School Rd
South Boston, VA 24592


Foursquare Church‐Eb Fellowship
Mt Diablo‐Silverado Council 023
2615 Camino Tassajara
Danville, CA 94506


Foursquare Gospel‐Church Of Open Door
Illowa Council 133
816 13th Ave N
Clinton, IA 52732


Fourstar Group Ltd
Unit A, 8/F, Kaiser Estate Phase 1
41 Man Yue St
Hung Hom
Hong Kong
Fourteen Holy Helpers Rc Church
Greater Niagara Frontier Council 380
1345 Indian Church Rd
West Seneca, NY 14224


Fourth   Elm Church Of Christ
Texas Trails Council 561
400 Elm St
Sweetwater, TX 79556


Fourth   Elm Church Of Christ
Texas Trails Council 561
P.O. Box 917
400 Elm St
Sweetwater, TX 79556


Fourth Avenue Church Of Christ
Middle Tennessee Council 560
117 4th Ave N
Franklin, TN 37064


Fourth Degree Assembly 89
Longs Peak Council 062
2600 6th Ave
Greeley, CO 80631


Fourth Presbyterian Church
Blue Ridge Council 551
703 E Washington St
Greenville, SC 29601


Fourth Presbyterian Church
National Capital Area Council 082
5500 River Rd
Bethesda, MD 20816


Fourth Street Baptist Church
Chattahoochee Council 091
P.O. Box 1591
Columbus, GA 31902
Fourth Utd Methodist Church
Garden State Council 690
308 Kates Blvd
Millville, NJ 08332


Fow Group
Baltimore Area Council 220
3009 Old Channel Rd
Laurel, MD 20724


Fowler Dix Park Post 5095
Connecticut Rivers Council, Bsa 066
12 Essex
East Hampton, CT 06424


Fowler Family Center
Minsi Trails Council 502
1210 E 4th St
Bethlehem, PA 18015


Fowler Inc
Trapper Trails 589
340 W Main St
Tremonton, UT 84337


Fowler Park Ward LDS
Atlanta Area Council 092
510 Brannon Rd
Cumming, GA 30041


Fowler Rotary Club
Sagamore Council 162
P.O. Box 568
Fowler, IN 47944


Fowler Utd Methodist Church
Sagamore Council 162
908 E 12th St
Fowler, IN 47944


Fowlerville Rotary Club
Southern Shores Fsc 783
P.O. Box 489
Fowlerville, MI 48836


Fox 1 Holdings
Central N Carolina Council 416
7902 Rockland Trl
Waxhaw, NC 28173


Fox Chapel Publishing
1970 Broad St
E Petersburg, PA 17520


Fox Farms
11570 E County Rd 1040 N
Seymour, IN 47274


Fox Hills
8768 N Territorial Rd
Plymouth, MI 48170


Fox Island Community   Recreation Assoc
Pacific Harbors Council, Bsa 612
690 9th Ave Fi
Fox Island, WA 98333


Fox Lake Volunteer Fire Dept
Northeast Illinois 129
114 Washington St
Ingleside, IL 60041


Fox Laminating Co Inc
84 Custer St
West Hartford, CT 06110‐1955


Fox Metro
P.O. Box 160
Aurora, IL 60507


Fox Point ‐ Bayside School P T O
Three Harbors Council 636
601 E Ellsworth Ln
Milwaukee, WI 53217


Fox Rental
1300 W Nwest Hwy
Grapevine, TX 76051


Fox River Grove Lions Club
Blackhawk Area 660
P.O. Box 103
Fox River Grove, IL 60021


Fox River Mills Inc
P.O. Box 2041
Cedar Rapids, IA 52406‐2041


Fox Rothschild, LLP
2000 Market St
Philadelphia, PA 19103


Fox Run PTO
Connecticut Yankee Council Bsa 072
288 Fillow St
Norwalk, CT 06850


Fox Swibel Levin   Carroll Llp
Attn Margaret M. Anderson
200 W Madison St, Ste 3000
Chicago, IL 60606


Fox Twp Fire Dept
Bucktail Council 509
Main St
Kersey, PA 15846


Fox Valley Older Adult Services
Three Fires Council 127
1406 Suydam Rd
Sandwich, IL 60548


Fox Valley Presbyterian Church
Three Fires Council 127
227 E Side Dr
Geneva, IL 60134


Fox Valley Shooting Range
Three Fires Council 127
780 S Mclean Blvd
Elgin, IL 60123


Fox Valley Special Recreation Assoc
Three Fires Council 127
2121 W Indian Trl
Aurora, IL 60506


Foxborough Fire   Rescue
Mayflower Council 251
8 Chestnut St
Foxboro, MA 02035


Foxdale Village
Juniata Valley Council 497
500 E Marylyn Ave
State College, PA 16801


Foxon Recreation League
Connecticut Yankee Council Bsa 072
North High St
East Haven, CT 06512


Foy Todd Ii
Address Redacted


Fp By Sheraton Columbus Ohio Airport
3030 Plaza Properties Blvd
Columbus, OH 43219


Fpe Exam Prep Com
Grand Teton Council 107
145 Stone Hedge Ct
Idaho Falls, ID 83404
Fr Mark A Carr
Address Redacted


Fraboni S Wholesale Dist, Inc
315 E Thirteenth St
Hibbing, MN 55746


Frame Warehouse
4626 S Blvd
Charlotte, NC 28209


Fran Holmes
Address Redacted


France Publications
3500 Piedmont Rd, Ste 415
Atlanta, GA 30305


Francee Reyes
Address Redacted


Francena Butler
Address Redacted


Frances Abrahamson
Address Redacted


Frances Barnett
Address Redacted


Frances Coghlan
Address Redacted


Frances Corona
Address Redacted


Frances Crawford
Address Redacted
Frances Derossett
Address Redacted


Frances Harrison
Address Redacted


Frances Hempe
Address Redacted


Frances Jarvis
Address Redacted


Frances Liberis
Address Redacted


Frances Park
Address Redacted


Frances Presnall
Address Redacted


Frances Puckett
Address Redacted


Frances Reeves
Address Redacted


Frances Schaffer
Address Redacted


Frances Sony
Address Redacted


Frances V Hunt
Address Redacted


Francescas Oc Catering   Newport Mesa Inn
2642 Newport Blvd
Costa Mesa, CA 92627


Francheska Ortiz
Address Redacted


Franchise Missionary Baptist Church
Chattahoochee Council 091
P.O. Box 1819
Phenix City, AL 36868


Francine Auerbach
Address Redacted


Francine Mihalasky
Address Redacted


Francine Prear
Address Redacted


Francis Asbury Umc
Daniel Boone Council 414
725 Asbury Rd
Candler, NC 28715


Francis Asbury Utd Methodist Church
Tidewater Council 596
1871 N Great Neck Rd
Virginia Beach, VA 23454


Francis Barre
Address Redacted


Francis Carteaux
Address Redacted


Francis Gallagher Post 294
Mid Iowa Council 177
P.O. Box 225
Brooklyn, IA 52211
Francis Galliher
Address Redacted


Francis Imossi
Address Redacted


Francis Kiger Jr
Address Redacted


Francis Korchnak
Address Redacted


Francis Kwok
Address Redacted


Francis Lewis High School
Greater New York Councils, Bsa 640
5820 Utopia Pkwy
Fresh Meadows, NY 11365


Francis Mallon
Address Redacted


Francis Marion
Address Redacted


Francis Mcallister
Address Redacted


Francis Mcintyre
Address Redacted


Francis Mcnamara Iii
Address Redacted


Francis Micah Holston
Address Redacted
Francis Peyton
Address Redacted


Francis R Danaher
Address Redacted


Francis Serrani
Address Redacted


Francis Thomas Masi Jr
Address Redacted


Francis Town Council
Arbuckle Area Council 468
P.O. Box 103
105 S Miller
Francis, OK 74844


Francis W Parker 56 As
Crossroads of America 160
2353 Columbia Ave
Indianapolis, IN 46205


Francis Ward
Address Redacted


Francis Weise
Address Redacted


Francis Witt
Address Redacted


Francisca Ordia
Address Redacted


Franciscan University
Enrollment Services/Financial Aid
1235 University Blvd
Steubenville, OH 43952‐1763


Francisco Guzman
Address Redacted


Francisco Martinez
Address Redacted


Francisco Medina
Address Redacted


Francisco Orozco
Address Redacted


Francisco Ramirez
Address Redacted


Francisco Tapia
Address Redacted


Francisco X Gamez
Address Redacted


Franconia Moose Family Center
National Capital Area Council 082
P.O. Box 10377
Franconia Moose Family Center
Alexandria, VA 22310


Francotyp Postalia Inc
P.O. Box 157
Bedford Park, IL 60499‐0157


Frank    Joe S Deli
Remj Inc
76 Wheeler Ave
Pleasantville, NY 10570


Frank A Tantsits
Address Redacted


Frank Achievers Program
Three Harbors Council 636
1816 57th St
Kenosha, WI 53140


Frank Adler Law
Circle Ten Council 571
2600 Lone Star Dr
Dallas, TX 75212


Frank B Moser
Address Redacted


Frank Benham
Address Redacted


Frank Borman Elementary ‐ Utd Way
Longhorn Council 662
1201 Parvin St
Denton, TX 76205


Frank Brown
Address Redacted


Frank C Reigelman
Address Redacted


Frank Capozzi Jr
Address Redacted


Frank Casano
Address Redacted


Frank Caywood
Address Redacted


Frank Chlebek
Address Redacted


Frank Cody
Address Redacted


Frank D Tsuru
Address Redacted


Frank E Robinson American Legion Pt 586
Miami Valley Council, Bsa 444
377 N 3rd St
Tax Id 31‐059‐7502
Tipp City, OH 45371


Frank Elementary PTO
Sam Houston Area Council 576
9225 Crescent Clover Dr
Spring, TX 77379


Frank Erickson
Address Redacted


Frank G Love Envelopes Inc
10733 E Ute St
Tulsa, OK 74116


Frank Geer
Address Redacted


Frank Gilcreast Jr
Address Redacted


Frank Hebb
Address Redacted


Frank Hilton
Address Redacted


Frank Hollick
Address Redacted


Frank Hutchings
Address Redacted


Frank Kule
Address Redacted


Frank Leblanc
Address Redacted


Frank Lewis
Address Redacted


Frank Lisk Sr
Address Redacted


Frank Love Shelton View Parents, Scouts
Mount Baker Council, Bsa 606
21518 Damson Rd
Bothell, Wa 98021


Frank M Jarman American Legion Post 36
Del Mar Va 081
9155 American Legion Rd
Chestertown, MD 21620


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Attn Frank Bogulski
286 Delaware Ave, Ste B
Buffalo, NY 14202


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Attn Frank M Bogulski, Esq
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Buffalo, NY 14202


Frank Madrid
Address Redacted
Frank Maley
Address Redacted


Frank Mund
Address Redacted


Frank Newhouse
Address Redacted


Frank Orth
Address Redacted


Frank P Tillman PTO
Greater St Louis Area Council 312
230 Quan Ave
Saint Louis, MO 63122


Frank Penrose
Address Redacted


Frank Pierce Recreation Center
Greater Tampa Bay Area 089
2000 7th St S
St Petersburg, FL 33705


Frank Polk Iii
Address Redacted


Frank R Czarnecki
Address Redacted


Frank Rains Sr
Address Redacted


Frank Ramirez
Address Redacted
Frank Resciniti
Address Redacted


Frank Rickenbaugh
Address Redacted


Frank S Sport Shop
430 E Tremont St
Bronx, NY 10457


Frank Sadowski
Address Redacted


Frank Schullek
Address Redacted


Frank Schultz
Address Redacted


Frank Sketo
Address Redacted


Frank Smith
Address Redacted


Frank T Dimas
Address Redacted


Frank Waldron
Address Redacted


Frank Whalin Jr
Address Redacted


Frank Yoke
Address Redacted


Franke Park Elementary PTA
Anthony Wayne Area 157
828 Mildred Ave
Fort Wayne, IN 46808


Franken Construction Co
1025 Douglas Ave
Las Vegas, NM 87701


Frankenmuth Rotary Club
c/o Zehnder and Assoc
Water and Woods Council 782
656 S Main St
Frankenmuth, MI 48734


Frankenmuth Utd Methodist Church
Water and Woods Council 782
346 E Vates St
Frankenmuth, MI 48734


Frankfort Fire District
Rainbow Council 702
333 W Nebraska St
Frankfort, IL 60423


Frankfort Police Dept
Blue Grass Council 204
P.O. Box 697
Frankfort, KY 40602


Frankfort Square Park District
Rainbow Council 702
7540 W Braemar Ln
Frankfort, IL 60423


Frankfort Ward LDS Church
Rainbow Council 702
2405 Fleetwood Dr
Joliet, IL 60432


Frankfurt International School
Transatlantic Council, Bsa 802
An Der Waldlust 15
Oberursel, 61440
Germany


Frankie Combs
Address Redacted


Frankie Herron
Address Redacted


Frankie Melvin
Address Redacted


Franklin Abbott
Address Redacted


Franklin Borough Recreation Committee
Patriots Path Council 358
46 Main St
Franklin, NJ 07416


Franklin Boys    Girls Club
Middle Tennessee Council 560
129 W Fowlkes St
Franklin, TN 37064


Franklin C Johnson Jr
Address Redacted


Franklin Christian Church
Abraham Lincoln Council 144
P.O. Box 208
111 Main
Franklin, IL 62638


Franklin Community Church
Great Lakes Fsc 272
32473 Normandy Rd
Franklin, MI 48025


Franklin Community Middle School
Crossroads of America 160
625 Grizzly Cub Dr
Franklin, IN 46131


Franklin County
County Cthouse
P.O. Box 1028
Russellville, AL 35653‐1028


Franklin County Sheriffs Office
Blue Mountain Council 604
1016 N 4th Ave D201
Pasco, WA 99301


Franklin Ede Jr
Address Redacted


Franklin Elementary PTO
Denver Area Council 061
1603 E Euclid Ave
Centennial, CO 80121


Franklin Elementary School Ptf
Sagamore Council 162
400 W Miami Ave
Logansport, IN 46947


Franklin Elite Athletics, LLC.
Occoneechee 421
15 Pinyon Cir
Pinehurst, NC 28374


Franklin Fire Co 1
Garden State Council 690
3135 Route 206
Columbus, NJ 08022


Franklin Fire Dept
Connecticut Rivers Council, Bsa 066
5 Tyler Dr
North Franklin, CT 06254
Franklin First Utd Methodist Church
Lincoln Heritage Council 205
107 N College St
Franklin, KY 42134


Franklin Fox Trails
Utah National Parks 591
320 E Gammon Rd
Vineyard, UT 84059


Franklin G Russel
Address Redacted


Franklin Griffin
Address Redacted


Franklin Heights Baptist Church
Central N Carolina Council 416
526 Wright Ave
Kannapolis, NC 28083


Franklin High Street Methodist Church
Colonial Virginia Council 595
31164 Camp Pkwy
Courtland, VA 23837


Franklin Lakes Utd Methodist Church
Northern New Jersey Council, Bsa 333
454 Pulis Ave
Franklin Lakes, NJ 07417


Franklin Middle School PTA
National Capital Area Council 082
3300 Lees Corner Rd
Chantilly, VA 20151


Franklin Outing Club
Daniel Webster Council, Bsa 330
200 Prospect St
Franklin, NH 03235
Franklin Parish School Board
Attn Sales and Use Tax Dept
P.O. Drawer 710
Winnsboro, LA 71295


Franklin Parish School Board
Sales and Use Tax Dept
P O Drawer 710
Winnsboro, LA 71295


Franklin Park Elementary School PTO
Southwest Florida Council 088
2323 Ford St
Fort Myers, FL 33916


Franklin Park Homeowners Assoc
South Florida Council 084
2501 Franklin Dr
Fort Lauderdale, FL 33311


Franklin Pierce University
Attn Student Financial Services
40 University Dr
Rindge, NH 03461


Franklin Police Assoc
James Ray Post 911
911 Panther Way
Franklin, MA 02038


Franklin Professional Firefighters
Three Harbors Council 636
8901 W Drexel Ave
Franklin, WI 53132


Franklin Reformed Church
Northern New Jersey Council, Bsa 333
45 Hillside Cr
Nutley, NJ 07110


Franklin Road Academy
Middle Tennessee Council 560
4700 Franklin Pike
Nashville, TN 37220


Franklin Rod And Gun Club Inc
Mayflower Council 251
51 Florence St
Franklin, MA 02038


Franklin Rotary Club
Daniel Boone Council 414
P.O. Box 375
Franklin, NC 28744


Franklin Rotary Club At Noon
Middle Tennessee Council 560
P.O. Box 1557
Franklin, TN 37065


Franklin School PTO
Buffalo Trace 156
2600 Wabash Ave
Vincennes, IN 47591


Franklin School PTO
Patriots Path Council 358
1000 Franklin Ave
South Plainfield, NJ 07080


Franklin School PTO
Patriots Path Council 358
136 Blackburn Rd
Franklin School Pta
Summit, NJ 07901


Franklin Sears
Address Redacted


Franklin Shurtliff Jr
Address Redacted
Franklin Smith Jr
Address Redacted


Franklin Special Sch Distr Mac Program
Middle Tennessee Council 560
1406 Cannon St
Franklin, Tn 37064


Franklin Square
Munson Volunteer Fire Dept.
Theodore Roosevelt Council 386
841 Liberty Pl
Franklin Square, Ny 11010


Franklin Square Elementary School
Baltimore Area Council 220
1400 W Lexington St
Baltimore, MD 21223


Franklin Township Civic League
Crossroads of America 160
8822 Seastern Ave
Indianapolis, IN 46239


Franklin Township Fire Dept
Simon Kenton Council 441
P.O. Box 576
Peebles, OH 45660


Franklin Township Middle School East
Crossroads of America 160
10440 Indian Creek Rd S
Indianapolis, IN 46259


Franklin Twp Middle School West
Crossroads of America 160
7620 E Edgewood Ave
Indianapolis, IN 46239


Franklin Ub Church
Simon Kenton Council 441
7171 Central College Rd
New Albany, OH 43054


Franklin Utd Methodist Church
Dan Beard Council, Bsa 438
303 S Main St
Franklin, OH 45005


Franklin Utd Methodist Church
Mayflower Council 251
82 W Central St
Franklin, MA 02038


Franklin Utd Methodist Church
Mayflower Council 251
P.O. Box 313
82 W Central St
Franklin, MA 02038


Franklin Volunteer Fire Dept
Leatherstocking 400
P.O. Box 8
Franklin, NY 13775


Franklin W Brown PTO
Great Lakes Fsc 272
25485 Middlebelt Rd
New Boston, MI 48164


Franklin W Smith
Address Redacted


Franklinville Area Fellowship Of
Allegheny Highlands Council 382
Churches
Vfw Post 9487
Franklinville, NY 14737


Franklinville Fire Co
Garden State Council 690
P.O. Box 64
Franklinville, NJ 08322
Franklinville Utd Methodist Church
Garden State Council 690
1525 Coles Mill Rd
Franklinville, NJ 08322


Franko Maps Ltd
16‐566 Keaau Pahoa Rd, Ste 188, PMB 406
Keaau, HI 96749‐8137


Frankton Lions Club   AL Post 469
Crossroads Of America 160
4350 W 700 N
Frankton, In 46044


Frankton Methodist Church
Crossroads of America 160
P.O. Box 338
Frankton, IN 46044


Franse Irrigation, Inc
P.O. Box 99
Farwell, TX 79325


Fraquiel David Soto
Address Redacted


Fraser Lions Club
Great Lakes Fsc 272
34540 Utica Rd
Fraser, MI 48026


Fraser River Valley Lions Club
Denver Area Council 061
100 Meadows Blvd
Tabernash, CO 80478


Fraser Ross Sack Watchko Vfw Post 8695
Garden State Council 690
15 Lyndhurst Rd
Upper Township, NJ 08223
Fraser Vfw Post 6691
Great Lakes Fsc 272
17075 Anita
Fraser, MI 48026


Fraternal Order Eagles 3177 Ladies Aux
Katahdin Area Council 216
22 Atlantic Ave
Brewer, Me 04412


Fraternal Order Eagles Big Walnut 3261
Simon Kenton Council 441
1623 Brice Rd
Reynoldsburg, Oh 43068


Fraternal Order Eagles Roseclair 2895
Great Lakes Fsc 272
29500 Little Mack Ave
Roseville, Mi 48066


Fraternal Order Of Eagle ‐ Aerie 4123
National Capital Area Council 082
21 Cool Spring Rd
Fredericksburg, VA 22405


Fraternal Order Of Eagles
Crater Lake Council 491
130 SE J St
Grants Pass, OR 97526


Fraternal Order Of Eagles
Great Lakes Fsc 272
23631 Greater Mack Ave
Saint Clair Shores, MI 48080


Fraternal Order Of Eagles
Mayflower Council 251
56 Florence St
Marlborough, MA 01752


Fraternal Order Of Eagles
Pacific Harbors Council, Bsa 612
P.O. Box 1358
Puyallup, WA 98371


Fraternal Order Of Eagles
Pathway To Adventure 456
13140 Lake Shore Dr
Cedar Lake, IN 46303


Fraternal Order Of Eagles
Samoset Council, Bsa 627
Aerie 624
1104 S Oak Ave
Marshfield, WI 54449


Fraternal Order Of Eagles 1213
Las Vegas Area Council 328
1601 E Washington Ave
Las Vegas, NV 89101


Fraternal Order Of Eagles 2874
Water and Woods Council 782
7542 Palms Rd
Ira, MI 48023


Fraternal Order Of Eagles 3372
Utah National Parks 591
220 N 600 W
Pleasant Grove, UT 84062


Fraternal Order Of Eagles 3607 Howell
Southern Shores Fsc 783
141 Schroeder Park Dr
Howell, MI 48843


Fraternal Order Of Eagles 397
Tecumseh 439
1802 Selma Rd
Springfield, OH 45505


Fraternal Order Of Eagles 497
Water and Woods Council 782
7078 Gratiot Rd
Saginaw, MI 48609


Fraternal Order Of Eagles 612
Southern Shores Fsc 783
301 Detroit St
Jackson, MI 49201


Fraternal Order Of Eagles Aerie 3138
Great Lakes Fsc 272
P.O. Box 39
Taylor, MI 48180


Fraternal Order Of Eagles Aerie 545
Greater St Louis Area Council 312
100 Eagle Dr
Belleville, IL 62221


Fraternal Order Of Eagles No 1126
Greater St Louis Area Council 312
2558 Madison Ave
Granite City, IL 62040


Fraternal Order Of Moose 2491
Rainbow Council 702
16310 S Lincoln Hwy, Ste 100/102
Plainfield, IL 60586


Fraternal Order Of Orioles Nest 183
Minsi Trails Council 502
475 Orioles Dr
Lehighton, PA 18235


Fraternal Order Of Police
Middle Tennessee Council 560
510 Chestnut St
Hohenwald, TN 38462


Fraternal Order Of Police
National Capital Area Council 082
P.O. Box 7393
Fredericksburg, VA 22404
Fraternal Order Of Police
Water and Woods Council 782
Clay Twp
Clay Twp, MI 48001


Fraternal Order Of Police ‐ Lodge 35
Pathway To Adventure 456
901 Wellington Ave
Elk Grove Village, IL 60007


Fraternal Order Of Police Assoc 8
Black Swamp Area Council 449
750 W Robb Ave
Lima, OH 45801


Fraternal Order Of Police Lodge 11
Central Minnesota 296
23545 Cross Dr
Deerwood, MN 56444


Fraternal Order Of Police Lodge 147
Southern Shores Fsc 783
3470 Angling Rd
Coloma, MI 49038


Fraternal Order Of Police Lodge 2
Heart of America Council 307
P.O. Box 272
Lawrence, KS 66044


Fraternal Order Of Police Lodge 39
Pathway To Adventure 456
31 Riverside Rd
Riverside Police Dept
Riverside, IL 60546


Fraternal Order Of Police Lodge 94
Great Trail 433
P.O. Box 717
Wooster, OH 44691
Fraternal Order Of The Eagles
Northern Lights Council 429
1400 Collins Ave
Mandan, ND 58554


Fraternal Order Police Local Lodge 249
Buffalo Trace 156
403 8Th St
Carmi, Il 62821


Fraternal Order Police Wwego Lodge 25
Southeast Louisiana Council 214
P.O. Box 756
Westwego, La 70096


Fratney Boys N Girls Club
Three Harbors Council 636
3255 N Fratney St
Milwaukee, WI 53212


Fraturnity Of Eagles 2323
Mt Diablo‐Silverado Council 023
3223 Carlson Blvd
El Cerrito, CA 94530


Fray Adel Aponte
Address Redacted


Frayser Elem Family Resource Ctr
Lincoln Heritage Council 205
1230 Larchmont Ave
Louisville, Ky 40215


Frazier Revitalization
Circle Ten Council 571
4716 Elsie Faye Heggins St
Dallas, TX 75210


Fred Baker Jr
Address Redacted
Fred Brown
Address Redacted


Fred Day
Address Redacted


Fred E Hayes Post 57 American Legion
Grand Columbia Council 614
P.O. Box 56
Grandview, WA 98930


Fred Freeman
Address Redacted


Fred Funston American Legion Post 227
Mid‐America Council 326
28500 420th St
Avoca, IA 51521


Fred Garner PTO
Greater Tampa Bay Area 089
2500 Havendale Blvd Nw
Winter Haven, FL 33881


Fred Markham
Address Redacted


Fred Martinez
Address Redacted


Fred Morris
Address Redacted


Fred Morris Jr
Address Redacted


Fred Nestel
Address Redacted
Fred Novak
Address Redacted


Fred S Fix‐It And Repairs
20 Arlington Rd
Greer, SC 29561


Fred Sisk Knox County Trustee
P.O. Box 70
Knoxville, TN 37901


Fred Slayden American Legion Post 363
Mid Iowa Council 177
105 E Marion St
P.O. Box 122
Monroe, IA 50170


Fred Smith
Address Redacted


Fred T Foard Model Un
Piedmont Council 420
3407 Plateau Rd
Newton, NC 28658


Fred Tichauer
Address Redacted


Fred Walley Marks
Address Redacted


Fred Yockey
Address Redacted


Freddie Marler
Address Redacted


Freddie Neal
Address Redacted
Freddie Stevens Entertainment
P.O. Box 15033
Baltimore, MD 21282


Freddy Meijering
Address Redacted


Frederic Lions Club
Northern Star Council 250
P.O. Box 563
Frederic, WI 54837


Frederic Nugent
Address Redacted


Frederica Browne
Address Redacted


Frederick A Simeone Md Foundation Inc
6825 Norwtch Dr
Philadelphia, PA 19153


Frederick Baird
Address Redacted


Frederick Bignall
Address Redacted


Frederick Broadbent
Address Redacted


Frederick C Cantarine
Address Redacted


Frederick C Davison
Address Redacted
Frederick Cnty Sheriff S Office‐Club 152
Shenandoah Area Council 598
1080 Coverstone Dr
Winchester, Va 22602


Frederick Community College
7932 Opossumtown Pike
Frederick, MD 21702


Frederick County Fire   Rescue     Club
Shenandoah Area Council 598
1080 Coverstone Dr
Winchester, VA 22602


Frederick County Sheriff S Office
National Capital Area Council 082
110 Airport Dr E
Frederick, MD 21701


Frederick County Sheriffs Cadets
Shenandoah Area Council 598
5 N Kent St
Winchester, VA 22601


Frederick Coursen
Address Redacted


Frederick Danz
Address Redacted


Frederick Douglas Community Center
Erie Shores Council 460
1001 Indiana Ave
Toledo, OH 43607


Frederick E Wallace
Address Redacted


Frederick Goltz
Address Redacted
Frederick Kaak
Address Redacted


Frederick Lee
Address Redacted


Frederick Lewis Jr
Address Redacted


Frederick Lodge 684 Bpoe
National Capital Area Council 082
289 Willowdale Dr
Frederick, MD 21702


Frederick Noyes
Address Redacted


Frederick Patterson
Address Redacted


Frederick Police Dept
Jason Essel Post 714
100 W Patrick St
Frederick, MD 21701


Frederick Police Dept
National Capital Area Council 082
100 W Patrick St
Frederick, MD 21701


Frederick Ponder
Address Redacted


Frederick Shropshire
Address Redacted


Frederick W Sanford
Address Redacted
Frederick Wallace
Address Redacted


Frederick Wilder
Address Redacted


Frederick Young
Address Redacted


Fredericksburg Hospitality House
2801 Plank Rd
Fredericksburg, VA 22401


Fredericksburg Limousines Inc
2201 Lafayette Rd
Fredericksburg, VA 22401


Fredericksburg Umc Umm
National Capital Area Council 082
308 Hanover St
Fredericksburg, VA 22401


Fredericksburg Utd Methodist Church
Capitol Area Council 564
1800 N Llano St
Fredericksburg, TX 78624


Fredericksburg Utd Methodist Church
National Capital Area Council 082
308 Hanover St
Fredericksburg, VA 22401


Fredericksburg Utd Methodist Church
Pennsylvania Dutch Council 524
P.O. Box 7
Fredericksburg, PA 17026


Fredericktown Army Jrotc
Greater St Louis Area Council 312
805 E Hwy 72
Fredericktown, MO 63645


Fredericktown Fire Dept
Greater St Louis Area Council 312
202 W College Ave
Fredericktown, MO 63645


Fredericktown Lions Club
Muskingum Valley Council, Bsa 467
141 S Main St
Fredericktown, OH 43019


Fredericktown Utd Methodist Church
Muskingum Valley Council, Bsa 467
123 Columbus Rd
Fredericktown, OH 43019


Frederico Henry
Address Redacted


Fredon Volunteer Fire Co
Patriots Path Council 358
443A State Route 94 S
Newton, NJ 07860


Fredonia Lions Club
Bay‐Lakes Council 635
107 Edmaro St
Fredonia, WI 53021


Fredric Jepsen
Address Redacted


Fredric Richmond
Address Redacted


Fredrick Betzold
Address Redacted


Fredrick Broad
Address Redacted


Fredrick Douglas Elementary
Southeast Louisiana Council 214
1400 Huey P Long Ave
Gretna, LA 70053


Fredrick Sheesley
Address Redacted


Free   Accepted Masons Ark Lodge 33
Seneca Waterways 397
State Routes 5 and 20
Geneva, NY 14456


Free Library Of Philadelphia
Cradle of Liberty Council 525
6942 Woodland Ave
Philadelphia, PA 19142


Freeburg Utd Methodist Church
Susquehanna Council 533
New Market St
Freeburg, PA 17827


Freed‐Hardeman University
Attn Summer Judd
158 E Main St
Henderson, TN 38340


Freedman Metals Inc
2929 Glenfield Ave
Dallas, TX 75233


Freedom Elementary School Ptc
South Texas Council 577
415 Eg Ranch
Laredo, TX 78046


Freedom Fellowship
Las Vegas Area Council 328
8391 Las Lagunas Ln
Las Vegas, NV 89129


Freedom Fellowship Church
Longs Peak Council 062
503 S Main St
Yuma, CO 80759


Freedom Group, Inc
Dba Remington Arms Co, LLC
P.O. Box 700
Madison, NC 27025‐0700


Freedom High School Njrotc
Greater Tampa Bay Area 089
17410 Commerce Park Blvd
Tampa, FL 33647


Freedom Museum
National Capital Area Council 082
10600 Harry J Parrish Blvd
Manassas, VA 20110


Freedom Optimist Club Inc
Baltimore Area Council 220
P.O. Box 781
Sykesville, MD 21784


Freedom Park Elementary
Georgia‐Carolina 093
345 42nd St
Fort Gordon, GA 30905


Freedom Pay Inc
5 Radnor Corporate Center
100 Matsonford Rd, Ste 100
Radnor, PA 19087


Freedom Plains Presbyterian Church
Hudson Valley Council 374
P.O. Box 400
Lagrangeville, NY 12540
Freedom Plains Utd Presbyterian Ch
Hudson Valley Council 374
Overlook Rd
Poughkeepsie, Ny 12603


Freedom Plastic Bags, Inc
7173 32nd Ave S
Grand Forks, ND 58201


Freedom Ptc
Sequoia Council 027
2955 Gettysburg Ave
Clovis, CA 93611


Freedom Rv Rentals
11256 Old Telegraph Rd
Ashland, VA 23005


Freedom Tabernacle Baptist Church
Blue Ridge Mtns Council 599
442 Freedom Tabernacle Ln
Atkins, VA 24311


Freehold Elks 1454
Monmouth Council, Bsa 347
73 E Main St
Freehold, NJ 07728


Freeland American Legion Post 473
Minsi Trails Council 502
523 Centre St
Freeland, PA 18224


Freeland Lions Club
Water and Woods Council 782
730 Church St
Committee Chair, Therese Kish
Freeland, MI 48623


Freelander Co
125 W Liberty St
Wooster, OH 44691


Freeman
1000 Elmwood Park Blvd
New Orleans, LA 70123


Freeman
Attn Bill Taylor
8801 Ambassador Row
Dallas, TX 75247


Freeman
Attn Legal Dept
1600 Viceroy Dr, Ste 100
Dallas, TX 75235


Freeman
Attn Neil Bufkin
P.O. Box 660613
Dallas, TX 75266


Freeman
P.O. Box 650036
Dallas, TX 75265‐0036


Freeman   Hasselwander Resort Prop
dba Win Cape Coral
Resort‐Marinal Village
5951 Silver King Blvd
Cape Coral, FL 33914


Freeman Decorating Co
1600 Viceroy, Ste 100
Dallas, TX 75235


Freeman Decorating Co
4493 Florence St
Denver, CO 80238‐2479


Freeman Decorating Services
1600 Viceroy Dr, Ste 100
Dallas, TX 75038


Freeman Decorating Services
1600 Viceroy Dr, Ste 100
Dallas, TX 75235


Freeman Decorating Services Inc
6555 W Sunset Rd
Las Vegas, NV 89118


Freeman Decorative Services
1600 Viceroy Dr, Ste 100
Dallas, TX 75308


Freeman Expositions, Inc
Attn Legal Dept, Ste 100
1600 Viceroy Dr
Dallas, TX 75235


Freeman Expositions, LLC
1600 Viceroy, Ste 100
Dallas , TX 75235


Freeman Group Of Citizens For Scouting
Water and Woods Council 782
4001 Ogema Ave
Flint, MI 48507


Freeman Marine Inc
11053 Memphis‐Arlington Rd
Arlington, TN 38002


Freeman Marine Inc
8603 Village Mill Row
Hudson, FL 34667


Freeman Marine Inc
c/o Brett A Freeman
73800 Overseas Hwy
Islamorada, FL 33036
Freeman Xp
350 Rhode Island St, Ste 220N
San Francisco, CA 94103


Freemanco C/O Freemanxp Inc
275 Bodwell St
Avon, MA 02332


Freeport Elem
Bay Area Council 574
P.O. Box Z
Freeport, TX 77542


Freeport Health Network
Blackhawk Area 660
1045 W Stephenson St
Freeport, IL 61032


Freeport Police Dept
Bay Area Council 574
430 N Brazosport
Freeport, TX 77541


Freeport Police Dept
Blackhawk Area 660
320 W Exchange St
Freeport, IL 61032


Freer Police Dept
South Texas Council 577
P.O. Box N
Freer, TX 78357


Freese   Nichols
P.O. Box 980004
Ft Worth, TX 76198‐0004


Freese And Nichols, Inc
P.O. Box 980004
Ft Worth, TX 76198‐0004
Freestyle Brands LLC
3330 Earhart Dr, Ste 208
Carrollton, TX 75006


Freestyle Slides, Inc
9675 4th St N
St. Petersburg, FL 33702


Freetown Community Center
Blue Ridge Council 551
200 Alice Ave
Greenville, SC 29611


Freeville Utd Methodist Church
Baden‐Powell Council 368
37 Main St
Freeville, NY 13068


Freeway Propane Inc
Utah National Parks 591
P.O. Box 804
Sp Fork, UT 84660


Freeze‐Dry Foods LLC
111 W Ave
Albion, NY 14411


Freight Value
P.O. Box 10048
Fort Smith, AR 72917‐0048


Freightman LLC
dba Keys Property Management
P.O. Box 9720
Tavernier, FL 33070


Freightvalue
P.O. Box 10048
Ft Smith, AR 72917‐0048
Freixenet Sonoma Caves, Inc
Dba Gloria Ferrer Caves     Vineyards
P.O. Box 1427
Sonoma, CA 95476


Fremont Elk S Lodge 2121
San Francisco Bay Area Council 028
38991 Farwell Dr
Fremont, CA 94536


Fremont Elks Lodge 2121
San Francisco Bay Area Council 028
38991 Farwell Dr
Fremont, CA 94536


Fremont Fire Dept
San Francisco Bay Area Council 028
43600 S Grimmer Blvd
Fremont, CA 94538


Fremont Moose Lodge 2387
Anthony Wayne Area 157
P.O. Box 878
Fremont, IN 46737


Fremont Parent Teacher Organization
Northeast Illinois 129
28855 N Fremont Center Rd
Mundelein, IL 60060


Fremont Police Dept
San Francisco Bay Area Council 028
2000 Stevenson Blvd
Fremont, CA 94538


Fremont Rotary Club
Tuscarora Council 424
P.O. Box 731
Fremont, NC 27830


Fremont Utd Methodist Church
Cascade Pacific Council 492
2620 NE Fremont St
Portland, OR 97212


Fremont Utd Methodist Church
Tuscarora Council 424
106 N Sycamore St
Fremont, NC 27830


Fremont Utd Methodist Men
President Gerald R Ford 781
351 Butterfield St
Fremont, MI 49412


French Creek
1815 Robison Rd W
Erie, PA 16509


French Creek Cncl No 532
1815 Robison Rd W
Erie, PA 16509‐4905


French Island Lions Club
Gateway Area 624
921 Plainview Rd
La Crosse, WI 54603


French Lick Springs Resort
8670 W State Rd 56
French Lick, IN 47432


French River Lutheran Church
Voyageurs Area 286
5310 Ryan Rd
Duluth, MN 55804


French‐Bartlett Vfw Post 1082
Lake Erie Council 440
343 Nfield Rd
Bedford, OH 44146
Frenship Mesa Ward
South Plains Council 694
7014 Lubbock Ave
Lubbock, TX 79424


Fresh Id LLC
1815 Walnut
Kansas City, MO 64064


Fresh Prints LLC
134 E 70th St
New York, NY 10021


Fresh Prints LLC
P.O. Box 412063
Boston, MA 02241


Fresh Wind Christian Community
President Gerald R Ford 781
18201 Honor Hwy
Interlochen, MI 49643


Fresno Buddhist Betsuin And Ujcc
Sequoia Council 027
1340 Kern St
Fresno, CA 93706


Fresno Ca North Stake LDS
Finance Records Dept Fl 15
50 E N Temple St
Salt Lake City, UT 84150‐1780


Fresno Co Library ‐ Auberry
Sequoia Council 027
33049 Auberry Rd
Auberry, CA 93602


Fresno County Sportsmen S Club
Sequoia Council 027
10645 N Lanes Rd
Fresno, CA 93730
Fresno Fire Dept
Sequoia Council 027
911 H St
Fresno, CA 93721


Fresno Police Dept Chaplaincy
Sequoia Council 027
P.O. Box 1271
Fresno, CA 93715


Fresno Sheriff Dept
Sequoia Council 027
2200 Fresno St
Fresno, CA 93721


Freyja Sobioch
Address Redacted


Freyssinet Inc
44880 Falcon Pl, Ste 100
Sterling, VA 20166


Friday Harbor Power Squadron
Mount Baker Council, Bsa 606
161 Avenida De Oro
Friday Harbor, WA 98250


Friday Motors
1040 Paseo Del Pueblo Sur
Taos, NM 87571


Fridley High School Oec
Northern Star Council 250
6000 Moore Lake Dr W
Fridley, MN 55432


Fridley Knights Of Columbus
Northern Star Council 250
4030 Jackson St Ne
Minneapolis, MN 55421
Fridley Lions
Northern Star Council 250
P.O. Box 32815
Fridley, MN 55432


Fridley Police Dept
Northern Star Council 250
6431 University Ave Ne
Minneapolis, MN 55432


Frieda Halverson
Address Redacted


Frieda Takaki
Address Redacted


Friedberg Moravian Church
Old Hickory Council 427
2178 Friedberg Church Rd
Winston Salem, NC 27127


Friedberg Moravian Church
Old Hickory Council 427
3201 Friedberg Church Rd
Winston Salem, NC 27127


Friedens Evangelical Lutheran Church
Hawk Mountain Council 528
P.O. Box 231
Oley, PA 19547


Friedens Evangelical Lutheran Church
Minsi Trails Council 502
2451 Saucon Valley Rd
Center Valley, PA 18034


Friedens Lutheran Church
Laurel Highlands Council 527
131 S Main St
Friedens, PA 15541
Friedens Lutheran Church
Pennsylvania Dutch Council 524
301 W Washington Ave
Myerstown, PA 17067


Friedens Utd Church Of Christ
Crossroads of America 160
8300 S Meridian St
Indianapolis, IN 46217


Friedens Utd Church Of Christ
Greater St Louis Area Council 312
313 E Booneslick Rd
Warrenton, MO 63383


Friedland Moravian Church
Old Hickory Council 427
2750 Friedland Church Rd
Winston Salem, NC 27107


Friedman    Ranzenhofer
74 Main St
P.O. Box 31
Akron, NY 14001‐0031


Friedman S Catering Inc
180 Point Plaza Shopping Ctr
Butler, PA 16001


Friend American Legion
Cornhusker Council 324
112 Maple St
Friend, NE 68359


Friend Equipment Inc
P.O. Box 560274
The Colony, TX 75056


Friendly Center
Erie Shores Council 460
1324 N Superior St
Toledo, OH 43604


Friendly Chevrolet
2754 N Stemmons Freeway
Dallas, TX 75207


Friendly House
Illowa Council 133
1221 N Myrtle St
Davenport, IA 52804


Friends   Families Of Troop 531
Three Harbors Council 636
7134 S Beachwood Ct
Franklin, WI 53132


Friends   Family N Star Distr Pack 850
Las Vegas Area Council 328
5936 Magic Oak St
North Las Vegas, Nv 89031


Friends   Family N Star Scouts
Of Pack 500
Las Vegas Area Council 328
8056 Broken Spur Ln
Las Vegas, Nv 89131


Friends   Family Of Pack 21
Grand Canyon Council 010
23638 W Beacon Ln
Wittmann, AZ 85361


Friends   Family Of Pack 257
Denver Area Council 061
8648 E Eer Pl
Centennial, CO 80112


Friends   Family Of Pack 351
Denver Area Council 061
6154 S Newark Way
Englewood, CO 80111
Friends   Family Of Pack 809
Denver Area Council 061
6986 S Ammons St
Littleton, CO 80128


Friends   Family Of Troop 21
Grand Canyon Council 010
23638 W Beacon Ln
Wittmann, AZ 85361


Friends   Family Powderhorn Elem Sch
Denver Area Council 061
12109 W Coal Mine Ave
Littleton, Co 80127


Friends 1996 Youth Edu Fndn Inc
Atlanta Area Council 092
5729 Strathmoor Manor Cir
Lithonia, Ga 30058


Friends And Family Of Copper Mesa
Denver Area Council 061
3169 Lynwood Ave
Highlands Ranch, CO 80126


Friends And Family Of Pack 143
South Plains Council 694
5721 108th St
Lubbock, TX 79424


Friends And Family Of Pack 2010
Denver Area Council 061
26641 E Arbor Dr
Aurora, CO 80016


Friends And Family Of Pack 3250
Heart of America Council 307
14235 W 123rd St
Olathe, KS 66062


Friends And Family Of Pack 662
Denver Area Council 061
5311 Windflower Ln
Highlands Ranch, CO 80130


Friends And Family Of Pack 749
Denver Area Council 061
3770 S Mission Pkwy, Apt D
Aurora, CO 80013


Friends And Family Of Pack 81
Las Vegas Area Council 328
9520 Havasu Canyon Ave
Las Vegas, NV 89166


Friends And Family Of Troop 175
Great Swest Council 412
403 Mcdonald Rd
Farmington, NM 87401


Friends And Family Of Troop 430
Las Vegas Area Council 328
1741 Winter Rock Way
Las Vegas, NV 89031


Friends And Supporters Of Troop 30
Grand Canyon Council 010
2709 E Evans Dr
Phoenix, AZ 85032


Friends And Supporters Of Troop 30
Grand Canyon Council 010
8219 N 74th Pl
Scottsdale, AZ 85258


Friends B T Washington
Connecticut Yankee Council Bsa 072
240 Creene St
New Haven, CT 06511


Friends Barnard Envtal Studies Magnet
Connecticut Yankee Council Bsa 072
170 Derby Ave
New Haven, Ct 06511


Friends Benjamin Banneker Elem Sch
Heart Of America Council 307
7050 Askew Ave
Kansas City, Mo 64132


Friends Christian Elementary School
Orange County Council 039
5151 Lakeview Ave
Yorba Linda, CA 92886


Friends Christian Middle School
Orange County Council 039
4231 Rose Dr
Yorba Linda, CA 92886


Friends Compass At Baptise Elem Linc
Heart Of America Council 307
5401 E 103Rd St
Kansas City, Mo 64137


Friends Crooked Creek Elem Sch
Crossroads Of America 160
2150 Kessler Blvd W Dr
Indianapolis, In 46228


Friends Fountain Hill Elem Sch
Minsi Trails Council 502
1330 Church St
Fountain Hill, Pa 18015


Friends Francis Willard Elem Sch
Kidzone
Heart Of America Council 307
4601 State Ave
Kansas City, Ks 66102


Friends Frank Rushton Elem Kidzone
Heart Of America Council 307
2605 W 43Rd Ave
Kansas City, Ks 66103
Friends Freemansburg Elem Sch
Minsi Trails Council 502
501 Monroe St
Freemansburg Elementary School
Freemansburg, Pa 18017


Friends Grace Mcwayne Elem Sch
Three Fires Council 127
3501 Hapner Way
Batavia, Il 60510


Friends Heights Terrace Elem Sch
Minsi Trails Council 502
275 Mill St
Hazleton, Pa 18201


Friends In Christ Utd Methodist Ch
Iroquois Trail Council 376
P.O. Box 184
Fillmore, Ny 14735


Friends John Martinez School
Connecticut Yankee Council Bsa 072
100 James St
New Haven, CT 06513


Friends Johnson Cnty Youth Detention Ctr
Heart Of America Council 307
920 W Spruce St
Olathe, Ks 66061


Friends New Chelsea Elem Kidzone
Heart Of America Council 307
2500 Wood Ave
Kansas City, Ks 66104


Friends New Stanley Elem Kid Zone
Heart Of America Council 307
3604 Metropolitan Ave
Kansas City, Ks 66106
Friends Of 165Th Air Squad
Coastal Georgia Council 099
1401 Robert B Miller Dr
Garden City, GA 31408


Friends Of 1776 Inc
Atlanta Area Council 092
4479 Mountain Creek Dr Ne
Roswell, GA 30075


Friends Of 224
Mt Diablo‐Silverado Council 023
4115 Happy Valley Rd
Lafayette, CA 94549


Friends Of 40, Inc
Chattahoochee Council 091
P.O. Box 737
Pine Mountain, GA 31822


Friends Of 45
The Spirit of Adventure 227
P.O. Box 381241
Cambridge, MA 02238


Friends Of 515 Scouts
Cascade Pacific Council 492
15110 SW Ruby Ct
Beaverton, OR 97007


Friends Of 717 Air Base Squadron
Transatlantic Council, Bsa 802
Unit 6940 Box 45
Apo, AE 09822


Friends Of 757
Greater St Louis Area Council 312
3866 S Old Hwy 94
Saint Charles, MO 63304


Friends Of 98/Ncdc
Lake Erie Council 440
7914 Madison Ave
Cleveland, OH 44102


Friends Of Adams Elem
Last Frontier Council 480
3416 SW 37th St
Oklahoma City, OK 73119


Friends Of Adams Farm Inc
Mayflower Council 251
P.O. Box 725
Walpole, MA 02081


Friends Of American Fork Youth
Utah National Parks 591
51 E Main
American Fork, UT 84003


Friends Of Archie Adams
Southern Shores Fsc 783
5215 W Liberty Rd
Ann Arbor, MI 48103


Friends Of Arleta Community
Cascade Pacific Council 492
5203 SE 66th Ave
Portland, OR 97206


Friends Of Aveson School
Greater Los Angeles Area 033
1919 Pinecrest Dr
Altadena, CA 91001


Friends Of Awareness Camp ‐ South
Quivira Council, Bsa 198
3247 N Oliver St
Wichita, KS 67220


Friends Of Awareness Camp East
Quivira Council, Bsa 198
3247 N Oliver St
Wichita, KS 67220


Friends Of Awareness Camp West
Quivira Council, Bsa 198
3247 N Oliver St
Wichita, KS 67220


Friends Of Banneker Elementary Kid Zone
Heart of America Council 307
2026 N 4th St
Kansas City, KS 66101


Friends Of Battleground District
Monmouth Council, Bsa 347
705 Ginesi Dr
Morganville, NJ 07751


Friends Of Beaupre Elementary School
Three Fires Council 127
954 E Benton St
Aurora, IL 60505


Friends Of Belvidere Elementary Linc
Heart of America Council 307
8310 E 108th St, Apt 6
Kansas City, MO 64134


Friends Of Beverly Hills Troop 110
W.L.A.C.C. 051
9048 Olin St
Los Angeles, CA 90034


Friends Of Bluestem Elementary
Quivira Council, Bsa 198
501 S Mill Rd
Leon, KS 67074


Friends Of Bodine Elem
Last Frontier Council 480
5301 S Bryant Ave
Oklahoma City, OK 73129
Friends Of Border Star Montessori
Heart of America Council 307
6321 Wornall Rd
Kansas City, MO 64113


Friends Of Britton Elem School
Last Frontier Council 480
1215 NW 95th St
Oklahoma City, OK 73114


Friends Of Broughal Middle School
Minsi Trails Council 502
114 W Morton St
Bethlehem, PA 18015


Friends Of Bsa 10
Utah National Parks 591
13447 Alpine Cove Dr
Alpine, UT 84004


Friends Of Bsa Pack 5
Pine Burr Area Council 304
969 Memorial Blvd
Picayune, MS 39466


Friends Of Bsa Troop 351
Pine Burr Area Council 304
969 Memorial Blvd
Picayune, MS 39466


Friends Of Buchanan Elem
Last Frontier Council 480
4126 NW 18th St
Oklahoma City, OK 73107


Friends Of Buckskin
Heart of Virginia Council 602
14930 Scotchtown Rd
Montpelier, VA 23192


Friends Of Burlington Scouting
The Spirit of Adventure 227
6 Birch St
Burlington, MA 01803


Friends Of Butcher Greene Elementary
Heart of America Council 307
5302 E 140th St
Grandview, MO 64030


Friends Of Calvin
Last Frontier Council 480
820 Ideal St
Seminole, OK 74868


Friends Of Cambeiro
Las Vegas Area Council 328
900 N 21st St
Las Vegas, NV 89101


Friends Of Cambridge Scouting
The Spirit of Adventure 227
4 Trowbridge Pl, Apt 1D
Cambridge, MA 02138


Friends Of Camp Kern
Southern Sierra Council 030
2417 M St
Bakersfield, CA 93301


Friends Of Camp Lassen
Golden Empire Council 047
21359 Scout Rd
Forest Ranch, CA 95942


Friends Of Camp Long Lake
Potawatomi Area Council 651
804 Bluemound Rd
Waukesha, WI 53188


Friends Of Camp Munhacke
Southern Shores Fsc 783
20120 Bartell Rd
Gregory, MI 48137


Friends Of Camp Preston Hunt
Caddo Area Council 584
6918 Tennessee Rd
Texarkana, AR 71854


Friends Of Camp Three Falls
Ventura County Council 057
2011 Morning Glory St
Simi Valley, CA 93065


Friends Of Camp Wakpominee
Twin Rivers Council 364
185 Sly Pond Rd
Fort Ann, NY 12827


Friends Of Camp Winton
Golden Empire Council 047
P.O. Box 13558
Sacramento, CA 95853


Friends Of Canton Scouting
Mayflower Council 251
10 Meetinghouse Rd
Canton, MA 02021


Friends Of Capitol Hill Elementary
Last Frontier Council 480
3031 NW 64th St
Oklahoma City, OK 73116


Friends Of Carlisle Scouting
The Spirit of Adventure 227
P.O. Box 135
Carlisle, MA 01741


Friends Of Celina K‐8 School
Middle Tennessee Council 560
1324 Mitchell St
Celina, TN 38551
Friends Of Centennial School
Longs Peak Council 062
2908 Glen Dale Dr, Apt 2
Evans, CO 80620


Friends Of Centennial School
Three Fires Council 127
234 E Stearns Rd
Bartlett, IL 60103


Friends Of Center School
Heart of America Council 307
8401 Euclid Ave
Kansas City, MO 64132


Friends Of Central Elementary School
Minsi Trails Council 502
829 W Turner St
Allentown, PA 18102


Friends Of Cheston Elementary School
Minsi Trails Council 502
723 Coal St
Easton, PA 18042


Friends Of Chowchilla Scouting
Sequoia Council 027
128 Holiday Way
Chowchilla, CA 93610


Friends Of Clear Run Elementary School
Minsi Trails Council 502
780 Memorial Blvd
Clear Run Elementary School
Tobyhanna, PA 18466


Friends Of Clear Run Intermediate School
Minsi Trails Council 502
800 Route 611
Tobyhanna, PA 18466
Friends Of Cleveland Elementary School
Minsi Trails Council 502
424 N 9th St
Allentown, PA 18102


Friends Of Clinton Avenue School
Connecticut Yankee Council Bsa 072
293 Clinton Ave
New Haven, CT 06513


Friends Of Clymer Neighborhood Center
Heart of America Council 307
1301 Vine St
Kansas City, MO 64106


Friends Of Colton Community
Cascade Pacific Council 492
25125 S Mountain View Rd
Colton, OR 97017


Friends Of Columbus School
Connecticut Yankee Council Bsa 072
225 Blatchley Ave
New Haven, CT 06513


Friends Of Crew 0098
South Georgia Council 098
1210 Ponderosa Dr
Valdosta, GA 31601


Friends Of Crew 2307
Heart of America Council 307
12613 Mcgee St
Kansas City, MO 64145


Friends Of Crew 2687
Pathway To Adventure 456
2326 N 77th Ave
Elmwood Park, IL 60707


Friends Of Crew 29
Great Lakes Fsc 272
42381 Wedgewood Ln
Clinton Township, MI 48038


Friends Of Crew 4
South Florida Council 084
7741 NW 39th St
Davie, FL 33024


Friends Of Crew 585
Oregon Trail Council 697
1300 SE Magnolia Dr
Roseburg, OR 97470


Friends Of Crew 586
Cascade Pacific Council 492
848 SE Wendy Ln
Gresham, OR 97080


Friends Of Crew 604
Denver Area Council 061
13911 W 74th Ave
Arvada, CO 80005


Friends Of Crew 649
San Diego Imperial Council 049
801 S Juniper St
Escondido, CA 92025


Friends Of Crew 8
Connecticut Rivers Council, Bsa 066
91 Woodside Cir
Torrington, CT 06790


Friends Of Crew 934
Chief Seattle Council 609
2424 162nd Ave Ne
Bellevue, WA 98008


Friends Of Crooked Oak Elementary
Last Frontier Council 480
1901 SE 15th St
Oklahoma City, OK 73129
Friends Of Crouse Elementary School
Great Trail 433
1000 Diagonal Rd
Akron, OH 44320


Friends Of Cub Scout Pack 109
Three Harbors Council 636
3707 N 94th St
Milwaukee, WI 53222


Friends Of Cub Scout Pack 241
Great Swest Council 412
10208 Jarash Pl Ne
Albuquerque, NM 87122


Friends Of Cub Scout Pack 475
Three Harbors Council 636
9025 W Lawrence Ave
Milwaukee, WI 53225


Friends Of Curves 413
Pee Dee Area Council 552
8240 Forest Lake Dr
Conway, SC 29526


Friends Of Custer Volunteer Fire Dept
Attn Custer Cub Scouts
Black Hills Area Council 695 695
40 Mount Rushmore Rd, Apt 3
Custer, SD 57730


Friends Of Cypress Chauve
Istrouma Area Council 211
3024 Woodland Ridge Blvd
Baton Rouge, LA 70816


Friends Of Davey Elementary
Kent City School
Great Trail 433
196 N Prospect St
Kent, Oh 44240
Friends Of Davis Elementary
Pathway To Adventure 456
3014 W 39th Pl
Chicago, IL 60632


Friends Of Davis Street Magnet School
Connecticut Yankee Council Bsa 072
35 Davis St
New Haven, CT 06515


Friends Of Deer Creek Praire Vale Elem
Last Frontier Council 480
22522 N Pennsylvania Ave
Edmond, OK 73025


Friends Of Dodson Branch Elementary
Middle Tennessee Council 560
1040 Bill Smith Rd
Cookeville, TN 38501


Friends Of Don Benito Pack 37
Greater Los Angeles Area 033
3700 Denair St
Pasadena, CA 91107


Friends Of Douglas Elementry Kidzone
Heart of America Council 307
1310 N 9th St
Kansas City, KS 66101


Friends Of Downtown Ithaca Scouting
Baden‐Powell Council 368
109 E Seneca St
Ithaca, NY 14850


Friends Of Dr Green Scouting
Yucca Council 573
5812 Kingsfield Ave
El Paso, TX 79912
Friends Of Duncan Elementary
Great Lakes Fsc 272
14500 26 Mile Rd
Shelby Township, MI 48315


Friends Of Eagles Summit T Roop
Great Swest Council 412
11708 Kings Canyon Rd Se
Albuquerque, NM 87123


Friends Of East Charholt Venturers
Water and Woods Council 782
4401 Stonehurst Ave
Holt, MI 48842


Friends Of East Memorial
Longs Peak Council 062
4212 W 31st St
Greeley, CO 80634


Friends Of Edgemere Elementary
Last Frontier Council 480
3200 N Walker Ave
Oklahoma City, OK 73118


Friends Of Edwards Elementary
Last Frontier Council 480
1123 NE Grand Blvd
Oklahoma City, OK 73117


Friends Of El Cerrito
Kensington Scouting
Mt Diablo‐Silverado Council 023
7927 Terrace Dr
El Cerrito, Ca 94530


Friends Of El Cerrito Scouting
Mt Diablo‐Silverado Council 023
45 Avon Rd
Kensington, CA 94707


Friends Of Emerson Elementary Kid Zone
Heart of America Council 307
1429 S 29th St
Kansas City, KS 66106


Friends Of Engineering
Science Univ. Magnet School
Connecticut Yankee Council Bsa 072
804 State St
New Haven, Ct 06511


Friends Of Esar
Pacific Harbors Council, Bsa 612
P.O. Box 11322
Tacoma, WA 98411


Friends Of Fairchance Fire Dept
Westmoreland Fayette 512
31 Pittsburgh St
Fairchance, PA 15436


Friends Of Fairfield
Quivira Council, Bsa 198
16115 S Langdon Rd
Langdon, KS 67583


Friends Of Faith‐ Based Youth
Inland Nwest Council 611
11220 E 21st Ave
Spokane Valley, WA 99206


Friends Of Faith Based Youth LLC
Inland Nwest Council 611
1209 E Garden Ave
Coeur D Alene, ID 83814


Friends Of Faxon Montesorri School
Heart of America Council 307
1320 E 32nd Ter
Kansas City, MO 64109


Friends Of Fielder Elementary
Sam Houston Area Council 576
25123 Sbriar Ln
Katy, TX 77494


Friends Of Flics Elementary
Great Lakes Fsc 272
6501 W Outer Dr
Detroit, MI 48235


Friends Of Floyd Elementary School
Circle Ten Council 571
122 Country View Ln
Garland, TX 75043


Friends Of Foreign Language Academy
Heart of America Council 307
3450 Warwick Blvd
Kansas City, MO 64111


Friends Of Fort Wayne Housing Authority
Anthony Wayne Area 157
3005 Mccormick Ave
Fort Wayne, IN 46803


Friends Of Fox Valley Youth
Three Fires Council 127
2001 Larkin Ave, Ste 202
Elgin, IL 60123


Friends Of Francis D Raub Middle School
Minsi Trails Council 502
102 S Saint Cloud St
Allentown, PA 18104


Friends Of Fruitland Scouting
Ore‐Ida Council 106 ‐ Bsa 106
8156 N Pennsylvania Ave
Fruitland, ID 83619


Friends Of Ft Leavenworth Boy Scouts
Heart of America Council 307
600 Thomas Ave
Fort Leavenworth, KS 66027
Friends Of Garfield School
Heart of America Council 307
436 Prospect Ave
Kansas City, MO 64124


Friends Of Garfield Singers
Chief Seattle Council 609
400 23rd Ave
Seattle, WA 98122


Friends Of Genesis School
Heart of America Council 307
3800 E 44th St
Kansas City, MO 64130


Friends Of George Washington Carver Sch
Heart of America Council 307
4600 Elmwood Ave
Kansas City, MO 64130


Friends Of Gladstone Academy
Heart of America Council 307
335 N Elmwood Ave
Kansas City, MO 64123


Friends Of Glover Clc
Great Trail 433
935 Hammel St
Akron, OH 44306


Friends Of Gold Camp
Pikes Peak Council 060
1805 Preserve Dr
Colorado Springs, CO 80906


Friends Of Good Samaritan Hospital
Silicon Valley Monterey Bay 055
2425 Samaritan Dr
San Jose, CA 95124
Friends Of Grace Management
Flint River Council 095
325 Country Club Dr
Stockbridge, GA 30281


Friends Of Gragson Elementary
Las Vegas Area Council 328
555 N Honolulu St
Las Vegas, NV 89110


Friends Of Grandview
Great Lakes Fsc 272
19814 Louise St
Livonia, MI 48152


Friends Of Green Pastures Elem
Last Frontier Council 480
4300 N Post Rd
Spencer, OK 73084


Friends Of Greystone Lower Elem
Last Frontier Council 480
2525 NW 112th St
Oklahoma City, OK 73120


Friends Of Guadalupe Center Ele
Heart of America Council 307
5123 E Truman Rd
Kansas City, MO 64127


Friends Of Hale Cook School
Heart of America Council 307
7302 Pennsylvania Ave
Kansas City, MO 64114


Friends Of Happy Valley Community
Cascade Pacific Council 492
14433 SE Mia Garden Dr
Happy Valley, OR 97086


Friends Of Harmony Science Academy
South Texas Council 577
4401 San Francisco Ave
Laredo, TX 78041


Friends Of Hartman Extended Day
Heart of America Council 307
8111 Oak St
Kansas City, MO 64114


Friends Of Hayes
Last Frontier Council 480
6900 S Byers Ave
Oklahoma City, OK 73149


Friends Of Hazel Dell
Cascade Pacific Council 492
10621 NE 62nd Ct
Vancouver, WA 98686


Friends Of Heritage Trails
Last Frontier Council 480
1801 S Bryant Ave
Moore, OK 73160


Friends Of Heronville Elementary
Last Frontier Council 480
1240 SW 29th St
Oklahoma City, OK 73109


Friends Of Hillcrest
Last Frontier Council 480
6421 S Miller Blvd
Oklahoma City, OK 73159


Friends Of Hillhouse
Connecticut Yankee Council Bsa 072
175 Crescent St
New Haven, CT 06511


Friends Of Holliday Montessori School
Heart of America Council 307
7227 Jackson Ave
Kansas City, MO 64132
Friends Of Hooksett Scouting
Daniel Webster Council, Bsa 330
7 Elmer Ave
Hooksett, NH 03106


Friends Of Hull Scouting
Mayflower Council 251
P.O. Box 14
31 Highland Ave
Hull, MA 02045


Friends Of Ia Cty Conservation Fdn
Hawkeye Area Council 172
P.O. Box 290
Williamsburg, IA 52361


Friends Of Ira Earl Es
Las Vegas Area Council 328
2540 E Desert Inn Rd
Las Vegas, NV 89121


Friends Of Irving Aviation
Circle Ten Council 571
312 E Scotland Dr
Irving, TX 75062


Friends Of Islington Scouting Inc
The Spirit of Adventure 227
20 Meadowbrook Rd
Westwood, MA 02090


Friends Of Israel Scouts Inc
575 8th Ave, 11th Fl
New York, NY 10018


Friends Of Ithaca Sea Scouts
Baden‐Powell Council 368
P.O. Box 242
Etna, NY 13062
Friends Of Ja Rogers School
Heart of America Council 307
6400 E 23rd St
Kansas City, MO 64129


Friends Of Jackson Elem
Last Frontier Council 480
2601 S Villa Ave
Oklahoma City, OK 73108


Friends Of James School Extended Day
Heart of America Council 307
5810 Scarritt Ave
Kansas City, MO 64123


Friends Of Jane Ryan School
Connecticut Yankee Council Bsa 072
190 Park Ln
Trumbull, CT 06611


Friends Of Jasper Cub Scouts
Three Rivers Council 578
225 Bulldog Ave
Jasper, TX 75951


Friends Of John C Daniels School
Connecticut Yankee Council Bsa 072
569 Congress Ave
New Haven, CT 06519


Friends Of Jon Spencer
Utah National Parks 591
4166 N 400 W
Lehi, UT 84043


Friends Of Juvenile Drug Court Inc
Ohio River Valley Council 619
114 S Butler St
Saint Clairsville, OH 43950


Friends Of Kaala
Aloha Council, Bsa 104
130 California Ave
Wahiawa, HI 96786


Friends Of Kaiser Elem
Last Frontier Council 480
3101 N Lyon Blvd
Okc, OK 73106


Friends Of Kamaile
Aloha Council, Bsa 104
85‐180 Ala Akau St
Waianae, HI 96792


Friends Of Kelly Elementary
Cascade Pacific Council 492
4060 SE Mall St
Portland, OR 97202


Friends Of Kennett Youth
Chester County Council 539
1000 Wlakes Dr, Ste 150
Berwyn, PA 19312


Friends Of Kia Kima
Chickasaw Council 558
171 S Hollywood St
Memphis, TN 38112


Friends Of Killbuck Lodge
Laurel Highlands Council 527
P.O. Box 33
Oakdale, PA 15071


Friends Of Kirkland Scouting
Chief Seattle Council 609
11447 NE 92nd St
Kirkland, WA 98033


Friends Of Kirtland Historic Sites
Lake Erie Council 440
17233 Bittersweet Trl
Chagrin Falls, OH 44023
Friends Of L W Beecher School
Connecticut Yankee Council Bsa 072
100 Jewell St
New Haven, CT 06515


Friends Of Lakeshore Elementary
Cascade Pacific Council 492
910 NE 109th Cir
Vancouver, WA 98685


Friends Of Lawton Street Commty
Center
Great Trail 433
1225 Lawton St
Akron, Oh 44320


Friends Of Lee A Tolbert Academy
Heart of America Council 307
3400 Paseo Blvd
Kansas City, MO 64109


Friends Of Lee Elementary
Last Frontier Council 480
431 SW 29th St
Oklahoma City, OK 73109


Friends Of Leggett Elementary School
Great Trail 433
619 Sumner St
Akron, OH 44311


Friends Of Leihoku Elementary
Aloha Council, Bsa 104
86‐285 Leihoku St
Waianae, HI 96792


Friends Of Linc Johnson Elementary
Heart of America Council 307
10900 Marsh Ave
Kansas City, MO 64134
Friends Of Lincoln Bassett Community
Connecticut Yankee Council Bsa 072
130 Bassett St
New Haven, CT 06511


Friends Of Lincoln Leadership Academy
Minsi Trails Council 502
1414 E Cedar St
Allentown, PA 18109


Friends Of Long S.T.E.A.M. Academy
Las Vegas Area Council 328
2000 S Walnut Rd
Las Vegas, NV 89104


Friends Of Longfellow School
Heart of America Council 307
2830 Holmes St
Kansas City, MO 64109


Friends Of Lovelady Family Trust
San Diego Imperial Council 049
12301 Zelzah Ave
Granada Hills, CA 91344


Friends Of Machias Cub Scouts
Katahdin Area Council 216
33 Church Ln
Marshfield, ME 04654


Friends Of Maili
Aloha Council, Bsa 104
87‐129 Kulala Pl
Waianae, HI 96792


Friends Of Makaha
Aloha Council, Bsa 104
84‐868 Hana St
Waianae, HI 96792


Friends Of Margaret Wills Elementary
Golden Spread Council 562
3500 SW 11th Ave
Amarillo, TX 79106


Friends Of Marlborough Community Center
Heart of America Council 307
8200 Paseo Blvd
Kansas City, MO 64131


Friends Of Martin City Elem Linc
Heart of America Council 307
201 E 133rd St
Kansas City, MO 64145


Friends Of Martin Volunteer Fire Dept
Black Hills Area Council 695 695
P.O. Box 841
Martin, SD 57551


Friends Of Mason Clc
Great Trail 433
700 E Exchange St
Akron, OH 44306


Friends Of Mata
Circle Ten Council 571
7420 La Vista Dr
Dallas, TX 75214


Friends Of Maypearl
Circle Ten Council 571
P.O. Box 507
Maypearl, TX 76064


Friends Of Mckinley
Three Harbors Council 636
2435 N 89th St
Wauwatosa, WI 53226


Friends Of Mckinley Elementary School
Minsi Trails Council 502
1124 W Turner St
Allentown, PA 18102


Friends Of Me Pearson Elementary Kidzone
Heart of America Council 307
310 N 11th St
Kansas City, KS 66102


Friends Of Medinah School District 11
Three Fires Council 127
700 E Granville Ave
Roselle, IL 60172


Friends Of Melcher Elementary School
Heart of America Council 307
3958 Chelsea Ave
Kansas City, MO 64130


Friends Of Melita Island
Montana Council 315
General Delivery
Big Arm, MT 59910


Friends Of Melrose
San Francisco Bay Area Council 028
357 Hanover Ave
Oakland, CA 94606


Friends Of Merrill Park Elementary
Water and Woods Council 782
1800 Grout St
Saginaw, MI 48602


Friends Of Middlebrook School
Connecticut Yankee Council Bsa 072
6254 Main St
Trumbull, CT 06611


Friends Of Millridge School
Lake Erie Council 440
950 Millridge Rd
Highland Heights, OH 44143
Friends Of Millwood School
Last Frontier Council 480
6710 N Martin Luther King Ave
Oklahoma City, OK 73111


Friends Of Monkton Methodist Church
Green Mountain 592
Silver St
Monkton, VT 05469


Friends Of Montclair Scouting
San Francisco Bay Area Council 028
P.O. Box 13301
Oakland, CA 94661


Friends Of Montclaire School
Pacific Skyline Council 031
1148 Saint Joseph Ave
Los Altos, CA 94024


Friends Of Moon
Last Frontier Council 480
1901 NE 13th St
Oklahoma City, OK 73117


Friends Of Moore Elementary School
Flint River Council 095
201 Cabin Creek Dr
Griffin, GA 30223


Friends Of Morris
Orange County Council 039
9952 Graham St
Cypress, CA 90630


Friends Of Mosser Elementary School
Minsi Trails Council 502
129 S Dauphin St
Allentown, PA 18109


Friends Of Mt. Pleasant Schools
Water and Woods Council 782
1706 Fessenden Ave
Mount Pleasant, MI 48858


Friends Of Mukhanyo
Occoneechee 421
P.O. Box 51385
Durham, NC 27717


Friends Of Murray County Youth
Northwest Georgia Council 100
501 S 5th Ave
Chatsworth, GA 30705


Friends Of New England Base Camp
The Spirit of Adventure 227
411 Unquity Rd
Milton, MA 02186


Friends Of Normandy School
Lake Erie Council 440
26920 Normandy Rd
Bay Village, OH 44140


Friends Of North School
Three Fires Council 127
1680 Brickville Rd
Sycamore, IL 60178


Friends Of Northeast Middel School
Minsi Trails Council 502
1170 Fernwood St
Bethlehem, PA 18018


Friends Of Northern Johnson County Youth
Heart of America Council 307
8725 Rosehill Rd, Ste 119
Lenexa, KS 66215


Friends Of Nylt
Chief Seattle Council 609
10126 127th Ave Ne
Kirkland, WA 98033


Friends Of Olean School
Allegheny Highlands Council 382
410 W Sullivan St
Olean, NY 14760


Friends Of Operation Breakthrough
Heart of America Council 307
3039 Troost Ave
Kansas City, MO 64109


Friends Of Optima School PTA
Golden Spread Council 562
Rr 1 Box 188
Optima, OK 73945


Friends Of Otken
Andrew Jackson Council 303
7737 Tom Ln
Summit, MS 39666


Friends Of Our School
Potawatomi Area Council 651
111 S St
Johnson Creek School
Johnson Creek, WI 53038


Friends Of Pack   Troop 177
Chief Seattle Council 609
P.O. Box 222
Bothell, WA 98041


Friends Of Pack 1
Aloha Council, Bsa 104
P.O. Box 1919
Honolulu, HI 96805


Friends Of Pack 102
Longs Peak Council 062
5660 Prevailing Dr
Cheyenne, WY 82009
Friends Of Pack 104
Mt Diablo‐Silverado Council 023
8311 Buckingham Dr, Apt A
El Cerrito, CA 94530


Friends Of Pack 112
c/o David Olinger
Circle Ten Council 571
7300
Plano, TX 75024


Friends Of Pack 12
Caddo Area Council 584
4801 Lionel
Texarkana, TX 75503


Friends Of Pack 144
Great Lakes Fsc 272
8401 Constitution Blvd
Sterling Heights, MI 48313


Friends Of Pack 1532
Three Harbors Council 636
3531 W Sland Dr
Franklin, WI 53132


Friends Of Pack 186
Longs Peak Council 062
435 N 35th Ave, Lot 387
Greeley, CO 80631


Friends Of Pack 23
Pathway To Adventure 456
1525 Alima Ter
La Grange Park, IL 60526


Friends Of Pack 2525
National Capital Area Council 082
5474 Joseph Johnston Ln
Centreville, VA 20120
Friends Of Pack 26
Great Swest Council 412
1412 Estancia Ave
Grants, NM 87020


Friends Of Pack 261
Catalina Council 011
326 E Burrows St
Tucson, AZ 85704


Friends Of Pack 28
Pathway To Adventure 456
1111 S Grove Ave
Oak Park, IL 60304


Friends Of Pack 31
Mount Baker Council, Bsa 606
2806 93rd Pl Se
Everett, WA 98208


Friends Of Pack 312
Three Fires Council 127
153 S Randall Rd
Aurora, IL 60506


Friends Of Pack 318
Pikes Peak Council 060
7324 Centennial St
Fountain, CO 80817


Friends Of Pack 321
Minsi Trails Council 502
1811 Monocacy St
Bethlehem, PA 18018


Friends Of Pack 329
Grand Canyon Council 010
P.O. Box 47481
Phoenix, AZ 85068


Friends Of Pack 3481
Montana Council 315
P.O. Box 1718
Red Lodge, MT 59068


Friends Of Pack 358
Three Fires Council 127
2001 Heather Dr
Aurora, IL 60506


Friends Of Pack 39
Pathway To Adventure 456
741 N Grove Ave
Oak Park, IL 60302


Friends Of Pack 4
Potawatomi Area Council 651
520 S Allen Rd
Waukesha, WI 53186


Friends Of Pack 4
Three Fires Council 127
449 New Indian Trail Ct
Aurora, IL 60506


Friends Of Pack 4236
Montana Council 315
3180 Quarter Horse Ct
Helena, MT 59602


Friends Of Pack 4243
Last Frontier Council 480
P.O. Box 38
Lone Wolf, OK 73655


Friends Of Pack 501
National Capital Area Council 082
3435 Fort Lyon Dr
Woodbridge, VA 22192


Friends Of Pack 5155      Troop 5155   Fos
Buckeye Council 436
6088 Alliance Rd Nw
Malvern, OH 44644


Friends Of Pack 52
Circle Ten Council 571
9706 Pinehurst Dr
Rowlett, TX 75089


Friends Of Pack 538
Three Harbors Council 636
6558 S Dory Dr
Franklin, WI 53132


Friends Of Pack 54
Caddo Area Council 584
163 Mcnully Ln
De Queen, AR 71832


Friends Of Pack 585, Inc
Sam Houston Area Council 576
5905 S Mason Rd
Katy, TX 77450


Friends Of Pack 641
Cascade Pacific Council 492
19760 NW Metolius Dr
Portland, OR 97229


Friends Of Pack 679
Las Vegas Area Council 328
5625 Corbett St
Las Vegas, NV 89130


Friends Of Pack 683
Denver Area Council 061
9174 Madras Ct
Highlands Ranch, CO 80130


Friends Of Pack 715
Las Vegas Area Council 328
850 Scholar St
Henderson, NV 89002
Friends Of Pack 858
Greater St Louis Area Council 312
549 Quarterhorse Trl
Saint Peters, MO 63376


Friends Of Pack 895
Circle Ten Council 571
7415 Carta Valley Dr
Dallas, TX 75248


Friends Of Pack 931
Las Vegas Area Council 328
1688 Amador Ln
Henderson, NV 89012


Friends Of Pack And Troop 531
Heart of America Council 307
8603 E 116th St
Kansas City, MO 64134


Friends Of Palolo
Aloha Council, Bsa 104
2106 10th Ave
Honolulu, HI 96816


Friends Of Pathways
P.O. Box 2062
Jackson, WY 83001


Friends Of Pelham Pack 8
Westchester Putnam 388
301 3rd Ave
Pelham, NY 10803


Friends Of Pierce Elementary
Last Frontier Council 480
2701 S Tulsa Ave
Oklahoma City, OK 73108


Friends Of Pingree Grove Fire Dept
Three Fires Council 127
39W160 Plank Rd
Plato Center, IL 60124


Friends Of Pleasant Grove Elem
Last Frontier Council 480
1927 E Walnut St
Shawnee, OK 74801


Friends Of Pleasant Hill
Last Frontier Council 480
4346 NE 36th St
Forest Park, OK 73121


Friends Of Possibilities
Three Harbors Council 636
5301 N Milwaukee River Pkwy
Milwaukee, WI 53209


Friends Of Post 6740
Rainbow Council 702
140 Turtle St
Shorewood, IL 60404


Friends Of Prairie Queen
Last Frontier Council 480
6609 S Blackwelder Ave
Oklahoma City, OK 73159


Friends Of Prairie View Grade School
Three Fires Council 127
P.O. Box 6702
Elgin, IL 60121


Friends Of Rainier Valley
Chief Seattle Council 609
8825 Rainier Ave S
Seattle, WA 98118


Friends Of Reilly Elementary
Pathway To Adventure 456
3650 W School St
Chicago, IL 60618
Friends Of Reilly School
Pathway To Adventure 456
3650 W School St
Chicago, IL 60618


Friends Of Resica Falls
Cradle of Liberty Council 525
1200 Resica Falls Rd
East Stroudsburg, PA 18302


Friends Of Rhs Expeditionary Academy
Great Trail 433
1400 N Mantua St
Kent, OH 44240


Friends Of Richmond Elementary
Cascade Pacific Council 492
125 NE 73rd Ave
Portland, OR 97213


Friends Of Rickover
Pathway To Adventure 456
5900 N Glenwood Ave
Chicago, IL 60660


Friends Of Ritter Elementary School
Minsi Trails Council 502
790 Plymouth St
Allentown, PA 18109


Friends Of Riverview Scouting, Inc
Greater Tampa Bay Area 089
13194 US Hwy 301 S 320
Riverview, FL 33578


Friends Of Roberto Clemente
Connecticut Yankee Council Bsa 072
360 Columbus Ave
New Haven, CT 06519
Friends Of Robinson Clc
Great Trail 433
1156 4th Ave
Akron, OH 44306


Friends Of Rockwall Scouting
Circle Ten Council 571
705 Robin Dr
Rockwall, TX 75087


Friends Of Rockwood
Last Frontier Council 480
3101 SW 24th St
Oklahoma City, OK 73108


Friends Of Ronnow
Las Vegas Area Council 328
1100 Lena St
Las Vegas, NV 89101


Friends Of Roxborough Scouting, Inc
Denver Area Council 061
5650 Greenwood Plaza Blvd, Ste 225J
Greenwood Village, CO 80111


Friends Of Sallie Curtis
Three Rivers Council 578
640 N Circuit Dr
Beaumont, TX 77706


Friends Of Sallie Curtis Pack 122
Three Rivers Council 578
1145 Ivy Ln
Beaumont, TX 77706


Friends Of Sandy Troop 668
Cascade Pacific Council 492
P.O. Box 1823
Sandy, OR 97055


Friends Of School District 73 1/2
Pathway To Adventure 456
8000 E Prairie Rd
Skokie, IL 60076


Friends Of Schumacher Clc
Great Trail 433
1020 Hartford Ave
Akron, OH 44320


Friends Of Scouting At Beverly School
Great Lakes Fsc 272
17870 Locherbie Ave
Beverly Hills, MI 48025


Friends Of Scouting At Longfellow School
Northern Lights Council 429
20 29th Ave Ne
Fargo, ND 58102


Friends Of Scouting At Warwick School
Northern Lights Council 429
210 4th Ave
Warwick, ND 58381


Friends Of Scouting Burkburnett Inc
Northwest Texas Council 587
958 Cropper Rd
Burkburnett, TX 76354


Friends Of Scouting Downeast Inc
East Carolina Council 426
P.O. Box 94
Smyrna, NC 28579


Friends Of Scouting In Willow Creek, Inc
Denver Area Council 061
9540 E Grand Ave
Greenwood Village, CO 80111


Friends Of Scouting Menwith Hill
Transatlantic Council, Bsa 802
Psc 45 Box 518
Apo, AE 09468
Friends Of Scouting Menwith Hill
Transatlantic Council, Bsa 802
Psc 45 Box 971
Apo, AE 09468


Friends Of Scouting Pack 65
Pathway To Adventure 456
826 Keystone Ave
River Forest, IL 60305


Friends Of Scouting Troop 102
Cape Fear Council 425
1412 Longleaf Dr
Southport, NC 28461


Friends Of Scouting, Parents Of
Grayback District Troop 3
California Inland Empire Council 045
1891 Rossmont Dr
Redlands, Ca 92373


Friends Of Scouts 132
Katahdin Area Council 216
77 Swan St
Calais, ME 04619


Friends Of Sea Scout Ship 1830
Southeast Louisiana Council 214
5022 Loyola Ave
New Orleans, LA 70115


Friends Of Seminole
Last Frontier Council 480
P.O. Box 1244
Seminole, OK 74818


Friends Of Sheppard Scouts
Northwest Texas Council 587
149 Hart St
Sheppard Afb, TX 76311
Friends Of Sheridan Elementary School
Minsi Trails Council 502
521 N 2nd St
Allentown, PA 18102


Friends Of Shidler Elem
Last Frontier Council 480
1415 S Byers Ave
Oklahoma City, OK 73129


Friends Of Ship 299
Three Harbors Council 636
1314 E Potter Ave
Milwaukee, WI 53207


Friends Of Shomer
Shabbat Scouting
P.O. Box 4032
Silver Spring, MD 20914


Friends Of Short Avenue
W.L.A.C.C. 051
12814 Maxella Ave
Los Angeles, CA 90066


Friends Of S‐O400/Whitefish Bay U M C
Three Harbors Council 636
819 E Silver Spring Dr
Whitefish Bay, WI 53217


Friends Of South Coffeyville
Cherokee Area Council 469 469
Rr 1 Box 39‐3
S Coffeyville, OK 74072


Friends Of Southeast Community Center
Heart of America Council 307
4201 E 63rd St
Kansas City, MO 64130


Friends Of Spencer Elementary
Last Frontier Council 480
8900 NE 50th St
Spencer, OK 73084


Friends Of Sss 717 Ihc
Simon Kenton Council 441
310 Mcarthur Ln
Erlanger, KY 41018


Friends Of St Clement School
Pathway To Adventure 456
2524 N Orchard St
Chicago, IL 60614


Friends Of St Elizabeth Pack 150
Heart of America Council 307
7575 Grand Ave
Kansas City, MO 64114


Friends Of St Elizabeth Troop 150
Heart of America Council 307
4 E Main St
Kansas City, MO 64114


Friends Of Stand Waitie
Last Frontier Council 480
1354 SW 30th St
Oklahoma City, OK 73119


Friends Of Strong School
Connecticut Yankee Council Bsa 072
130 Orchard St
New Haven, CT 06519


Friends Of Success Academy
Heart of America Council 307
1601 Forest Ave
Kansas City, MO 64108


Friends Of Sugarite Canyon State Park
Hcr 63 Box 386
Raton, NM 87740
Friends Of T. Williams
Las Vegas Area Council 328
814 Argenta Ct
Henderson, NV 89011


Friends Of Tamarancho
Marin Council 035
9132 Marysville Rd
Oregon House, CA 95962


Friends Of Tashua Elementary School
Connecticut Yankee Council Bsa 072
401 Stonehouse Rd
Trumbull, CT 06611


Friends Of Tella Qualla Boundary
Atlanta Area Council 092
3053 Brookshire Way
Duluth, GA 30096


Friends Of Telstar Elementary
Last Frontier Council 480
9521 NE 16th St
Oklahoma City, OK 73130


Friends Of Texas Sea Scouts
c/o Ron Sunker
1915 Forest Garden Dr
Kingwood, TX 77345


Friends Of The Ask Scouting
Transatlantic Council, Bsa 802
Unit 69900
Ask P.O. Box 6735
Kuwait


Friends Of The Circle
Great Swest Council 412
1217 Festival Rd Nw
Los Lunas, NM 87031
Friends Of The Foster School
Mayflower Council 251
55 Downer Ave
Hingham, MA 02043


Friends Of The Fraternal Order Of Police
President Gerald R Ford 781
122 N St
Cheboygan, MI 49721


Friends Of The Husky Adventurers
Minsi Trails Council 502
815 N Irving St
Allentown, PA 18109


Friends Of The Jensen Family
Utah National Parks 591
2202 E Cassidy Way
Eagle Mountain, UT 84005


Friends Of The Knights Of Columbus
Northern Lights Council 429
722 6th Ave E
Alexandria, MN 56308


Friends Of The Mic O Say Dancers
Heart of America Council 307
8603 E 116th St
Kansas City, MO 64134


Friends Of The Osage Youth
Heart of America Council 307
10950 NE 320 Rd
Osceola, MO 64776


Friends Of The Plymouth River School
Mayflower Council 251
200 High St
Hingham, MA 02043


Friends Of The Thunderbird District
Monmouth Council, Bsa 347
705 Ginesi Dr
Morganville, NJ 07751


Friends Of Topping Elementary
Heart of America Council 307
4433 N Topping Ave
Kansas City, MO 64117


Friends Of Trailwoods School
Heart of America Council 307
6201 E 17th St
Kansas City, MO 64126


Friends Of Troop 1
Aloha Council, Bsa 104
96 Kawananakoa Pl
Honolulu, HI 96817


Friends Of Troop 1212
Greater Los Angeles Area 033
6229 Hart Ave
Temple City, CA 91780


Friends Of Troop 130
Transatlantic Council, Bsa 802
La Chataigneraie Campus
Founex, 1297
Switzerland


Friends Of Troop 16
Three Harbors Council 636
280 S Beaumont Ave
Brookfield, WI 53005


Friends Of Troop 17
Prairielands 117
1 Willowbrook Ct
Champaign, IL 61820


Friends Of Troop 184
Miami Valley Council, Bsa 444
585 State Route 571
Union City, OH 45390


Friends Of Troop 19
Rainbow Council 702
24222 W Pheasant Chase Dr
Plainfield, IL 60544


Friends Of Troop 22 Davisville
Narragansett 546
79 Mesa Dr
North Kingstown, RI 02852


Friends Of Troop 283 For Scouting
Heart of America Council 307
8616 E 80th Ter
Raytown, MO 64138


Friends Of Troop 298
Mt Diablo‐Silverado Council 023
P.O. Box 555
Knightsen, CA 94548


Friends Of Troop 3063
Baden‐Powell Council 368
198 County Rd 10A
Norwich, NY 13815


Friends Of Troop 312
Caddo Area Council 584
247 County Rd 3769
Queen City, TX 75572


Friends Of Troop 398
Three Harbors Council 636
4867 N Newhall St
Whitefish Bay, WI 53217


Friends Of Troop 501
Caddo Area Council 584
247 County Rd 3769
Queen City, TX 75572
Friends Of Troop 501
National Capital Area Council 082
3435 Fort Lyon Dr
Woodbridge, VA 22192


Friends Of Troop 531
Greater Los Angeles Area 033
1517 Adson Pl
South El Monte, CA 91733


Friends Of Troop 575
Chief Seattle Council 609
505 207th Ave Ne
Sammamish, WA 98074


Friends Of Troop 715
Las Vegas Area Council 328
620 Burton St
Henderson, NV 89015


Friends Of Troop 78/Vfw Post 5203
Chester County Council 539
P.O. Box 22
Malvern, PA 19355


Friends Of Troop 7‐Olgh
Three Harbors Council 636
7152 N 41st St
Milwaukee, WI 53209


Friends Of Troop 80
Sequoia Council 027
2552 W Tyler Ave
Visalia, CA 93291


Friends Of Troop 840
Gulf Stream Council 085
18740 SE River Ridge Rd
Tequesta, FL 33469
Friends Of Troop 918
Golden Empire Council 047
231 Holmfirth Ct
Roseville, CA 95661


Friends Of Troost Community
Heart of America Council 307
1215 E 59th St
Kansas City, MO 64110


Friends Of Troup School
Connecticut Yankee Council Bsa 072
259 Edgewood Ave
New Haven, CT 06511


Friends Of Truman School
Connecticut Yankee Council Bsa 072
114 Truman St
New Haven, CT 06519


Friends Of Trumbull Board Of Education
Connecticut Yankee Council Bsa 072
6254 Main St
Trumbull, CT 06611


Friends Of Union Terrace Elemtary School
Minsi Trails Council 502
1939 W Union St
Allentown, PA 18104


Friends Of Unit 2020
Catalina Council 011
8952 E Rainsage St
Tucson, AZ 85747


Friends Of University Academy
Heart of America Council 307
6801 Holmes Rd
Kansas City, MO 64131


Friends Of Upward Bound Phcc
Blue Ridge Mtns Council 599
645 Patriot Ave
Martinsville, VA 24112


Friends Of Van Buren Elem
Last Frontier Council 480
2700 SW 40th St
Oklahoma City, OK 73119


Friends Of Vincent Foundation LLC
Samoset Council, Bsa 627
200 N Center Ave
Merrill, WI 54452


Friends Of Wade School
Great Rivers Council 653
8301 W S Trails Dr
Columbia, MO 65202


Friends Of Waltham Scouting
The Spirit of Adventure 227
109 Taylor St
Waltham, MA 02453


Friends Of Warford Linc
Heart of America Council 307
11400 Cleveland Ave
Kansas City, MO 64137


Friends Of Warren Central Mcjrotc
Crossroads of America 160
9500 E 16th St
Indianapolis, IN 46229


Friends Of Washington Elementary School
Minsi Trails Council 502
837 N 9th St
Allentown, PA 18102


Friends Of Webelos Resident Camp
Lincoln Heritage Council 205
3913 Tunnel Mill Rd
Charlestown, IN 47111
Friends Of Welborn Elementary Kidzone
Heart of America Council 307
5200 Leavenworth Rd
Kansas City, KS 66104


Friends Of Wendell Phillips School
Heart of America Council 307
2400 Prospect Ave
Kansas City, MO 64127


Friends Of West Concord
Gamehaven 299
56210 160th Ave
West Concord, MN 55985


Friends Of Westport Roanoke Comm Ctr
Heart of America Council 307
3601 Roanoke Rd
Kansas City, MO 64111


Friends Of Weymouth Landing Assoc
Mayflower Council 251
55 Commercial St
Weymouth, MA 02188


Friends Of Whitney Lodge
Sam Houston Area Council 576
P.O. Box 12296
Spring, TX 77391


Friends Of Whittier Elementary Kid Zone
Heart of America Council 307
295 S 10th St
Kansas City, KS 66102


Friends Of Whittier School
Heart of America Council 307
1012 Bales Ave
Kansas City, MO 64127
Friends Of Wilderness Medicine
Blue Grass Council 204
P.O. Box 4611
Winchester, KY 40392


Friends Of Willoughby Venturing Group
Greater St Louis Area Council 312
631 Willoughby Ln
Collinsville, IL 62234


Friends Of Willowbrook
Last Frontier Council 480
8105 NE 10th St
Oklahoma City, OK 73110


Friends Of Youth Leadership And Devt Inc
Southwest Florida Council 088
P.O. Box 2161
Labelle, FL 33975


Friends Ofthe Boundary Waters Wilderness
401 N 3rd St, Ste 290
Minneapolis, MN 55401


Friends Pleasant Vly Elem Sch
Minsi Trails Council 502
476 Polk Township Rd
Kunkletown, Pa 18058


Friends Pleasant Vly Intermediate Sch
Minsi Trails Council 502
2233 Route 115
Brodheadsville, Pa 18322


Friends Portage Path Tech Sch
Great Trail 433
55 S Portage Path
Akron, Oh 44303


Friends Scouting At Dodd Elem Sch
Minsi Trails Council 502
1944 S Church St
Allentown, Pa 18103


Friends Scouting At Holy Infancy Sch
Minsi Trails Council 502
127 E 4Th St
Bethlehem, Pa 18015


Friends Scouting At Lincoln Elem Sch
Minsi Trails Council 502
1260 Gresham St
Bethlehem, Pa 18017


Friends Silver City Elem Kidzone
Heart Of America Council 307
2515 Lawrence Ave
Kansas City, Ks 66106


Friends Sleepy Hollow Elem Sch
Three Fires Council 127
898 Glen Oak Dr
Sleepy Hollow, Il 60118


Friends Stonewall Tell Elem Sch
Atlanta Area Council 092
3310 Stonewall Tell Rd
Atlanta, Ga 30349


Friends Stony Point N Elem Sch Kid Zone
Heart Of America Council 307
8200 Elizabeth Ave
Kansas City, Ks 66112


Friends To Police Exploring Post 9904
215 Millford Rd
Pikesville, MD 21208


Friends Wern Heights Elem Sch
Calcasieu Area Council 209
1100 Elizabeth St
Westlake, La 70669
Friends Wheatley Elem Extended Day
Heart Of America Council 307
2415 Agnes Ave
Kansas City, Mo 64127


Friends William Allen White Elem Schl
Kid Zone
Heart Of America Council 307
2600 N 43Rd Ter
Kansas City, Ks 66104


Friends, Knights Columbus Council 4718
Northern Lights Council 429
722 6Th Ave E
2203 Woodland Park Dr Ne
Alexandria, Mn 56308


Friends, Office, Mayor Chicago Ridge
Pathway To Adventure 456
10455 Ridgeland Ave
Chicago Ridge, Il 60415


Friendship Baptist Church
Georgia‐Carolina 093
515 Richland Ave
Aiken, SC 29801


Friendship Baptist Church
Heart of Virginia Council 602
1305 Arlington Rd
Hopewell, VA 23860


Friendship Baptist Church
Longhorn Council 662
4396 Main St
The Colony, TX 75056


Friendship Baptist Church
Middle Tennessee Council 560
11821 Sparta Hwy
Rock Island, TN 38581
Friendship Baptist Church
Orange County Council 039
17145 Bastanchury Rd
Yorba Linda, CA 92886


Friendship Baptist Church
Sam Houston Area Council 576
25979 Kickapoo Rd
Hockley, TX 77447


Friendship Church
Great Lakes Fsc 272
1240 N Beck Rd
Canton, WI 44187


Friendship Church
Great Lakes Fsc 272
53245 Van Dyke Rd
Shelby, MI 48094


Friendship Community Church
Atlanta Area Council 092
4141 Old Fairburn Rd
College Park, GA 30349


Friendship Mens Club
Greater Alabama Council 001
16479 Lucas Ferry Rd
Athens, AL 35611


Friendship Methodist Church Mens Club
Suwannee River Area Council 664
P.O. Box 305
Donalsonville, GA 39845


Friendship Missionary Baptist Church
Mecklenburg County Council 415
3400 Beatties Ford Rd
Charlotte, NC 28216


Friendship Missionary Baptist Church
Pee Dee Area Council 552
1111 Grainger Rd
Conway, SC 29527


Friendship Missionary Baptist Church
South Georgia Council 098
411 Cotton Ave
Americus, GA 31709


Friendship Presbyterian Church
Northeast Georgia Council 101
8531 Macon Hwy
Athens, GA 30606


Friendship Utd Methodist Church
Dan Beard Council, Bsa 438
1025 Springfield Pike
Cincinnati, OH 45215


Friendship Utd Methodist Church
Dan Beard Council, Bsa 438
1025 Springfield Pike
Wyoming, OH 45215


Friendship Utd Methodist Church
National Capital Area Council 082
3527 Gallows Rd
Falls Church, VA 22042


Friendship Utd Methodist Church
Old N State Council 070
4612 Friendship Patterson Mill Rd
Burlington, NC 27215


Friendship Utd Methodist Church
Piedmont Council 420
P.O. Box 1373
Newton, NC 28658


Friendship Utd Methodist Church
Rainbow Council 702
305 E Boughton Rd
Bolingbrook, IL 60440
Friendship Utd Methodist Church
Sam Houston Area Council 576
22388 Ford Rd
Porter, TX 77365


Friendship Utd Methodist Church
Simon Kenton Council 441
582 Ed Warren Dr
Friendship, OH 45630


Friendship Utd Methodist Church
Suwannee River Area Council 664
P.O. Box 305
Donalsonville, GA 39845


Friendship Utd Methodist Church
Yocona Area Council 748
1689 State Rd 30 W
Myrtle, MS 38650


Friendswood Friends Church
Bay Area Council 574
502 S Friendswood Dr
Friendswood, TX 77546


Friendswood Utd Methodist Church
Bay Area Council 574
204 W Edgewood Dr
Friendswood, TX 77546


Frisco Community Bible Church
Circle Ten Council 571
10055 Warren Pkwy
Frisco, TX 75035


Frisco Financial Planning LLC
2770 Main St, Ste 288
Frisco, TX 75033


Frisco Police Dept
Circle Ten Council 571
7200 Stonebrook Pkwy
Frisco, TX 75034


Frisco Reid
Address Redacted


Frito Lay Inc
75 Remittance Dr, Ste 1217
Chicago, IL 60675‐1217


Fritz Neff
Address Redacted


Fritz Schmidt
Address Redacted


Frm Socks LLC
227 Poplar St, P.O. Box 298
Osage, IA 50461


Frm Socks LLC
Fox River Mills
P.O. Box 92170, Lock Box 135235
Elk Grove, IL 60009


Frogfish Ink
29605 N 48th St
Cave Creek, AZ 85331


From The Heart Church Ministries Inc
National Capital Area Council 082
4929 Allentown Rd
Suitland, MD 20746


Front Royal Moose Lodge 829
Shenandoah Area Council 598
P.O. Box 95
Front Royal, VA 22630
Front Royal Presbyterian Church
Shenandoah Area Council 598
115 Luray Ave
Front Royal, VA 22630


Front Royal Utd Methodist Ch‐ Mens Club
Shenandoah Area Council 598
1 W Main St
Front Royal, Va 22630


Front Royal Utd Methodist Church
Mens Club
Shenandoah Area Council 598
1 W Main St
Front Royal, Va 22630


Frontenac Ward
8 Clerbrook Ln
Saint Louis, MO 63124


Frontier
P.O. Box 20550
Rochester, NY 14602‐0550


Frontier Adjusters Inc
P.O. Box 7610
Phoenix, AZ 85011


Frontier Brigade Band Inc
4103 Lexington Pkwy
Colleyville, TX 76034


Frontier Cleaners Inc
Boonruon Williams
809 Hope Mills Rd
Fayetteville, NC 28304


Frontier Communications
401 Merritt 7
Norwalk, CT 06851
Frontier Communications
Attn Access Billing
P.O. Box 92713
Rochester, NY 14692


Frontier Communications
P.O. Box 740407
Cincinnati, OH 45274‐0407


Frontier Communications Of America
P.O. Box 20567
Rochester, NY 14602‐0567


Frontier Telephone Of Rochester Inc
Frontier Ctr
P.O. Box 20550
Rochester, NY 14646‐3008


Frontier Youth Group
Washington Crossing Council 777
P.O. Box 322
Line Lexington, PA 18932


Frontiers International,Inc
6301 Crittenden St
Philadelphia, PA 19138


Front‐Line Products, LLC
712 N Oakridge Dr
Weatherford, TX 76087‐7768


Frost Brown Todd LLC
400 W Market St, Flr 32
Louisville, KY 40202


Frost Home And School Club
Silicon Valley Monterey Bay 055
530 Gettysburg Dr
San Jose, CA 95123


Frostig School
Greater Los Angeles Area 033
971 N Altadena Dr
Pasadena, CA 91107


Frostwood Elementary School PTA
Sam Houston Area Council 576
12214 Memorial Dr
Houston, TX 77024


Fruchthendler School PTA
Catalina Council 011
7470 E Cloud Rd
Tucson, AZ 85750


Fruita Utd Methodist Church
Denver Area Council 061
405 E Aspen Ave
Fruita, CO 81521


Fruitland Community Church
Greater St Louis Area Council 312
6040 US Hwy 61
Jackson, MO 63755


Fruitland Park Lions Club
Central Florida Council 083
200 Fountain St
Fruitland Park, FL 34731


Fruitport Lions Club
President Gerald R Ford 781
3119 Lily Ct
Muskegon, MI 49444


Fruitvale Elementary
San Francisco Bay Area Council 028
3200 Boston Ave
Oakland, CA 94602


Fruitvale Elementary School Parents
San Francisco Bay Area Council 028
3200 Boston Ave
Oakland, CA 94602


Fry S Electronics
2488 Market Pl Blvd
Irving, TX 75063


Fry S Electronics
600 E Brokaw Rd
San Jose, CA 95112


Fs Systems
517 Rosewood Ln
Forney, TX 75126


Fscs Corp
dba Horizon Coach Lines
1251 W Craighead Rd
Charlotte, NC 28206


Ft Atkinson American Legion Post 348
Mid‐America Council 326
1311 Court St
Fort Calhoun, NE 68023


Ft Benning Masonic Lodge F Am
Chattahoochee Council 091
P.O. Box 3186
Columbus, GA 31903


Ft Caroline Utd Methodist Church
North Florida Council 087
8510 Fort Caroline Rd
Jacksonville, FL 32277


Ft Donelson Umc Mens Group
Middle Tennessee Council 560
424 Church St
Dover, TN 37058


Ft Gibson Police Dept
Indian Nations Council 488
P.O. Box 218
Fort Gibson, OK 74434


Ft Lauderdale Police Dept
South Florida Council 084
1300 W Broward Blvd
Fort Lauderdale, FL 33312


Ft Lincoln Elementary PTO
Northern Lights Council 429
2007 8th Ave Se
Mandan, ND 58554


Ft Oglethorpe Utd Methodist
Cherokee Area Council 556
1733 Battlefield Pkwy
Fort Oglethorpe, GA 30742


Ft Publications Inc
330 Hudson St 8th Fl
New York, NY 10013


Ft Recovery American Legion Post 345
Black Swamp Area Council 449
2490 St Rt 49
Ft Recovery, OH 45846


Ft Vancouver Lions Club
Cascade Pacific Council 492
P.O. Box 701
Vancouver, WA 98666


Ft Worth High Tech Signs Co
3141 Joyce Dr
Fort Worth, TX 76116


Ft Wright Civic Club
Dan Beard Council, Bsa 438
115 Kennedy Rd
Covington, KY 41011
Ft. Washington Collegiate Church
Greater New York Councils, Bsa 640
729 W 181st St
New York, NY 10033


Fti Consulting Inc
88 Pine St, 32nd Fl
New York, NY 10005


Ftl
44 E 32nd St, 3rd Fl
New York, NY 10016


Fuel Visual Media Inc
P.O. Box 503025
Indianapolis, IN 46250


Fugro Earthdata Inc
P.O. Box 301492
Dallas, TX 75303‐1492


Fugua Salvation Army Boys      Girls Club
Atlanta Area Council 092
405 Lovejoy St Nw
Atlanta, GA 30313


Fujifilm Graphic Systems Usa
Dept At 952142
Atlanta, GA 31192‐2142


Fujifilm Usa, Inc
Dept 0480 P.O. Box 120480
Dallas, TX 75312‐0480


Fujifilm Usa, Inc
Fujifilm N America Corp
Dept La 22214
Pasadena, CA 91185‐2214


Full Compass Systems Ltd
9770 Silicon Prairie Pkwy
Madison, WI 53593


Full Frontal LLC
4230 Harness Dr
Hampstead, MD 21074


Full Science Media
Conservation Job Board
159 20th St, 1B
Brooklyn, NY 11232


Full Source LLC
10302 Deerwood Park Blvd, Ste 200
Jacksonville, FL 32256


Fuller Rd Fire Dept
Twin Rivers Council 364
1342 Central Ave
Albany, NY 12205


Fuller St Productions
10702 Hathaway Dr, Ste 2
Santa Fe Springs, CA 90670


Fullerton Airport Pilot Assoc
4011 W Commonwealth Ave
Fullerton, CA 92834


Fullerton Elks Lodge 1993
Orange County Council 039
1400 Elks View Ln
Fullerton, CA 92835


Fullerton Police Dept
Orange County Council 039
237 W Commonwealth Ave
Fullerton, CA 92832


Fullerton School
Lake Erie Council 440
5920 Fullerton Ave
Cleveland, OH 44105


Fullerton Sunrise Rotary
Orange County Council 039
P.O. Box 5351
Fullerton, CA 92838


Fullerton Union High Jrotc
Orange County Council 039
201 E Chapman Ave
Fullerton, CA 92832


Fulton Breakfast Optimist Club
Great Rivers Council 653
P.O. Box 844
Fulton, MO 65251


Fulton County Clerk Of Superior Ct
Cathelene Robinson Clerk of Superior Ct
136 Pryor St Sw
Atlanta, GA 30303


Fulton County Sheriff Office
Black Swamp Area Council 449
129 Court House Plz
Wauseon, OH 43567


Fulton Elementary Commty
Learning Center
Tecumseh 439
631 S Yellow Springs St
Springfield, Oh 45506


Fulton Presbyterian Church
Blackhawk Area 660
311 N 9th St
Fulton, IL 61252


Fulton Utd Methodist Church
Yocona Area Council 748
P.O. Box 279
Fulton, MS 38843
Fulton Utd Methodist Mens Club
Yocona Area Council 748
P.O. Box 279
301 E Main St
Fulton, MS 38843


Fultondale Elementary School
Greater Alabama Council 001
950 Central Ave
Fultondale, AL 35068


Fumc
Circle Ten Council 571
800 S 9th St
Midlothian, TX 76065


Fumc   Lawndale Baptist
Piedmont Council 420
313 W Main St
Lawndale, NC 28090


Fumc ‐ Slocomb
Alabama‐Florida Council 003
P.O. Box 304
Slocomb, AL 36375


Fumc Of Kaufman
Circle Ten Council 571
208 S Jefferson St
Kaufman, TX 75142


Fumc Royse City Texas
Circle Ten Council 571
P.O. Box 327
Royse City, TX 75189


Fun Express, LLC
P.O. Box 14463
Des Moines, IA 50306
Fun In The Sun
Longs Peak Council 062
920 A St
Greeley, CO 80631


Fun In The Sun City Of Greeley
Longs Peak Council 062
1992 Greeley Mall
Greeley, CO 80631


Fun Services‐Om
8942 J St
Omaha, NE 68127


Fun Sun Marine Inc
4511 Floramar Ter
New Port Richey, FL 34652


Fun Sun Marine Inc
c/o Brian Stolzenberger
73800 Overseas Hwy
Islamorada, FL 33036


Fun Tees Delta Apparel
P.O. Box 933666
Atlanta, GA 61193‐9666


Fundacion Estudiantes Internacionales
Debatiendo Por El Saber
Soler 5163
Cuidad De Buenos Aires, 1425
Argentina


Fundacion Unidos Para Servir
Puerto Rico Council 661
P.O. Box 1183
Manati, PR 00674


Funderburk Electric Services LLC
P.O. Box 14380
Knoxville, TN 37914
Funkstown American Legion Post 211
Mason Dixon Council 221
P.O. Box 250
12 N Wside Ave
Funkstown, MD 21734


Funtime Entertainment Group Inc
1221 Flower Mound Rd, Ste 320‐116
Flower Mound, TX 75028


Fuquay Varina Utd Methodist Church
Occoneechee 421
100 S Judd Pkwy Se
Fuquay Varina, NC 27526


Fuquay‐Varina Baptist Church
Occoneechee 421
301 N Woodrow St
Fuquay Varina, NC 27526


Fuquay‐Varina Fire Dept
Occoneechee 421
401 Old Honeycutt Rd
Fuquay Varina, NC 27526


Fuquay‐Varina Police Dept
Occoneechee 421
114 N Main St
Fuquay Varina, NC 27526


Furches Wingate
Address Redacted


Furman E Jordan
Address Redacted


Furman University
Attn Financial Aid Office
3300 Poinsett Hwy
Greenville, SC 29613
Furnace Woods PTA
Westchester Putnam 388
239 Watch Hill Rd
Cortlandt Manor, NY 10567


Furniture Concepts
4925 Galaxy Pkwy, Ste G
Warrensville Heights, OH 44128


Fusfeld Group Inc
15 Laverdure Cir
Framingham, MA 01701


Future Com Ltd
P.O. Box 843966
Dallas, TX 75284‐3966


Future Fisherman Foundation
5998 N Pleasant View Rd
Ponca City, OK 74601


Future Media Concepts Inc
299 Broadway, Ste 1510
New York, NY 10007


Future Omro Chamber ‐ Main Street
Bay‐Lakes Council 635
130 W Larrabee St
Omro, WI 54963


Future Telecom
P.O. Box 852728
Mesquite, TX 75185


Fwh Ii Little Rock LLC
dba Marriott Little Rock
3 Statehouse Plaza
Little Rock, AR 72201


G   G Ace Hardware
17434 Gravatt Rd
Milford, VA 22514


G   G Farm Service
17434 Gravatt Rd
Milford, VA 22514


G   N Unlimited
Sagamore Council 162
309 N Mill St
North Manchester, IN 46962


G Allen
Address Redacted


G Ann Nugent
Address Redacted


G Bradford Murray
Address Redacted


G Downton
Address Redacted


G G Outfitters, Inc
Accounts Receivable
4901 Forbes Rd
Lanham, MD 20706


G Holcomb
Address Redacted


G Kim Sutterfield Phd
dba Pacific Counseling Assoc
1341 W Robinhood Dr, Ste B10
Stockton, CA 95207


G L Plumbing
140 Shresbury
St Boylston, MA 01505
G M Printwear
549 S Broadway
Gloucester City, NJ 08030


G Men Environmental Services Inc
P.O. Box 269
Ely, MN 55731


G Neil Direct Mail Inc
P.O. Box 451179
Sunrise, FL 33345‐1179


G Outdoors, Inc
13947 Central Ave
Chino, CA 91710


G Robert Wagner
Address Redacted


G W Equipment Inc
P.O. Box 890208
Charlotte, NC 28289‐0208


G Williams
Address Redacted


Ga Designs Inc
dba Anju
75 John Portman Blvd NW, Ste 6S‐349
Atlanta, GA 30303


GA Governor S Office Of Consumer Affairs
Consumer Protection   Antitrust Div
120 SW 10th St, Ste 430
Topeka, KS 66612‐1597


Ga In Lee
c/o Hiawatha
E6350 Doe Lake Rd
Chatham, MI 49816


Gaberiel Harrison Biggs
Address Redacted


Gables Elementary PTA
Simon Kenton Council 441
1680 Becket Ave
Columbus, OH 43235


Gabriel Ables
Address Redacted


Gabriel Alexander Rodriguez Rios
Address Redacted


Gabriel C Chelius
Address Redacted


Gabriel D Alesse
Address Redacted


Gabriel D Bailey
Address Redacted


Gabriel Estrada
Address Redacted


Gabriel G Jackson
Address Redacted


Gabriel H Sylvester
Address Redacted


Gabriel J Martinez
Address Redacted


Gabriel J Mitchell
Address Redacted


Gabriel Lopez
Address Redacted


Gabriel Rivera
Address Redacted


Gabriel Ruiz
Address Redacted


Gabriel S House
Last Frontier Council 480
P.O. Box 883
Duncan, OK 73534


Gabrielle Martinek
Address Redacted


Gadsden Fire Dept
Greater Alabama Council 001
322 Walnut St
Gadsden, AL 35901


Gadsden Golf Carts Inc
Greater Alabama Council 001
323 Ewing Ave
Gadsden, AL 35901


Gadsden Memorial Vfw Post 4384
Yucca Council 573
P.O. Box 3773
1580 N 4th St
Anthony, NM 88021


Gaelle Prussien‐Francillon
Address Redacted


Gaenslen
Three Harbors Council 636
1250 E Burleigh St
Milwaukee, WI 53212


Gagein, Inc
2077 Gold St, Ste 208
Alviso, CA 95002


Gahanna Community Congregational Church
Simon Kenton Council 441
470 Havens Corners Rd
Gahanna, OH 43230


Gahanna Community Theatre
Simon Kenton Council 441
622 Fawndale Pl
Gahanna, OH 43230


Gail Babalonis
Address Redacted


Gail Bratt
Address Redacted


Gail Dante
Address Redacted


Gail Davis   Assoc, Inc
3500 Oak Lawn Sute 740
Dallas, TX 75219


Gail E Karas
Address Redacted


Gail Fujimoto
Address Redacted


Gail Henderson
Address Redacted
Gail K Rauch
Address Redacted


Gail Kearby
Address Redacted


Gail Kibodeaux
Address Redacted


Gail Mayfield
Address Redacted


Gail Newton
Address Redacted


Gail Olson
Address Redacted


Gail Pare
Address Redacted


Gail S Hennessey, Inc
641 Welton St
Harpursville, NY 13787


Gail S Hennessey, Inc
647 Welton St
Harpursville, NY 13787


Gail Walker
Address Redacted


Gail Wojtkowiak
Address Redacted


Gainesville Police Dept
North Florida Council 087
413 NW 8th Ave
Gainesville, FL 32601
Gainesville Police Dept
Northeast Georgia Council 101
118 Jesse Jewell Pky
Gainesville, GA 30503


Gainesville Presbyterian Church
National Capital Area Council 082
16127 Lee Hwy
Gainesville, VA 20155


Gainesville Utd Methodist Church
National Capital Area Council 082
13710 Milestone Ct
Gainesville, VA 20155


Gainor Davis
Address Redacted


Gaither High School Njrotc
Greater Tampa Bay Area 089
16200 N Dale Mabry Hwy
Tampa, FL 33618


Gaithersburg Presbyterian Church
National Capital Area Council 082
610 S Frederick Ave
Gaithersburg, MD 20877


Gaitree R Mofford
Address Redacted


Gak Stonn LLC
107 Kit Carson Rd, Ste A
Taos, NM 87571


Gak Stonn LLC
936 Calle Conquistador
Taos, NM 87571
Galapagos Charter PTO
Blackhawk Area 660
2605 School St
Rockford, IL 61101


Galatia Fire Dept
Greater St Louis Area Council 312
305 W Mill St
Galatia, IL 62935


Galax Fire   Rescue
Blue Ridge Mtns Council 599
P.O. Box 147
Galax, VA 24333


Galax Presbyterian Church
Blue Ridge Mtns Council 599
P.O. Box 2
Galax, VA 24333


Galaxy Hobby
P.O. Box 164
Plover, WI 54467‐0164


Gale Consulting Inc
24803 Meadow Oaks Dr
Katy, TX 77494


Gale Follett
Address Redacted


Gale Landeen
Address Redacted


Galen Scholl
Address Redacted


Galena B.P.O.E. Lodge 882
Blackhawk Area 660
123 N Main St
Galena, IL 61036
Galena City School District
Midnight Sun Council 696
P.O. Box 299
Galena, AK 99741


Galesburg Police Dept
Illowa Council 133
Pb   Pa 19
150 S Broad
Galesburg, IL 61401


Galesburg Railroad Days
Illowa Council 133
P.O. Box 335
Wataga, IL 61488


Galesville Lions Club
Gateway Area 624
P.O. Box 324
Galesville, WI 54630


Galey   Lord Industries, LLC
P.O. Box 157
670 N Main St
Society Hill, SC 29593


Galilee Baptist Church
Norwela Council 215
1500 Pierre Ave
Shreveport, LA 71103


Galilee Lutheran Church
Baltimore Area Council 220
4652 Mountain Rd
Pasadena, MD 21122


Galilee Lutheran Church
Potawatomi Area Council 651
N24W26430 Crestview Dr
Pewaukee, WI 53072
Galilee Missionary Baptist Church
Old Hickory Council 427
4129 Nampton Dr
Winston Salem, NC 27105


Galilee Utd Methodist Church
Heart of Virginia Council 602
747 Hull Neck Rd
Heathesville, VA 22473


Galilee Utd Methodist Church
National Capital Area Council 082
45425 Winding Rd
Sterling, VA 20165


Gallagher Gosseen Faller   Crowley
1010 Franklin Ave, Ste 400
Garden City, NY 11530‐2927


Gallagher‐Hansen Vfw Post 295
Northern Star Council 250
111 Concord Exchange S
South Saint Paul, MN 55075


Gallatin Fire Dept
Middle Tennessee Council 560
119 Chief Billy Crook Blvd
Gallatin, TN 37066


Gallatin First Church Of The Nazarene
Middle Tennessee Council 560
407 N Water Ave
Gallatin, TN 37066


Gallatin High School Njrotc
Middle Tennessee Council 560
700 Dan P Herron Dr
Gallatin, TN 37066


Gallatin Industry Supply
P.O. Box 11827
Pueblo, CO 81001


Gallatin Lions Club
c/o Andrea Gibson
Pony Express Council 311
102 N Main
Gallatin, MO 64640


Gallatine Gateway Fire Dept
Montana Council 315
320 Webb St
Bozeman, MT 59718


Gallegos Sanitation Inc
P.O. Box 1986
Ft Collins, CO 80522


Gallik, Bremer    Molloy, P.C.
Attn James P. Molloy
777 E Main St, Ste 203
P.O. Box 70
Bozeman, MT 59771


Gallik, Bremer    Molloy, PC
Attn J. Molloy, G. Gumas, A. Vaughn
re Plaintiff
777 E Main St, Ste 203
P.O. Box 70
Bozeman, MT 59771


Gallipolis Fire Dept
Buckskin 617
2018 Chestnut St
Gallipolis, OH 45631


Galloway Township Police Dept
Jersey Shore Council 341
300 E Jimmie Leeds Rd
Galloway, NJ 08205


Galls, LLC
P.O. Box 71628
Chicago, IL 60694‐1628


Gallup Inc
P.O. Box 310284
Des Moines, IA 50331‐0284


Galt Scouting   Youth Services
Greater Yosemite Council 059
28 Almo Ct
Galt, CA 95632


Galt Sunrise Rotary
Greater Yosemite Council 059
P.O. Box 774
Galt, CA 95632


Galva Rotary
Illowa Council 133
313 Market St
Galva, IL 61434


Galveston Police Dept
Bay Area Council 574
601 54th St, Ste 200
Galveston, TX 77550


Galvez‐Lake Volunteer Fire Dept
Istrouma Area Council 211
16288 Joe Sevario Rd
Prairieville, LA 70769


Gambe Group Corp
10156 NW 41St
Miami, FL 33178


Gamber   Community Fire Co Inc
Baltimore Area Council 220
3838 Niner Rd
Finksburg, MD 21048


Gambles C   R, Inc
New Opportunity, Inc
302 N State St
Caro, MI 48723


Game Business Law Summit
c/o Ctr For American   Intl Law Regist.
5201 Democracy Dr
Plano, TX 75024‐3561


Game Time LLC
c/o Artinian LLC
P.O. Box 71353
Philadelphia, PA 19176‐1353


Gamehaven
1124 11‐1/2 St, Se
Rochester, MN 55904‐5097


Gamehaven Cncl 299
1124 11‐1/2 St Se
Rochester, MN 55904‐5097


Gamehaven Council
Gamehaven 299
1124 11 1/2 St Se
Rochester, MN 55904


Gamewell Utd Methodist
Piedmont Council 420
2897 Morganton Blvd Sw
Lenoir, NC 28645


Gamezarena
dba Sabina   Ryan Nore
1160 Vienna
Paletzgasse, 222411
Austria


Gamma Zeta Boule Foundation
Greater Los Angeles Area 033
P.O. Box 94833
Pasadena, CA 91109
Gamo Outdoor Usa Inc
One Biscayne Tower
2 S Biscayne Blvd 3301
Miami, FL 33131


Ganado Rotary Club
South Texas Council 577
P.O. Box 19
Ganado, TX 77962


Ganapath Velu
Address Redacted


Gander Mtn
Attn Sales Audit Joanne H
180 E 5th St, Ste 1300
St Paul, MN 55101


Gang Mills Fire Dept
Five Rivers Council, Inc 375
P.O. Box 203
Painted Post, NY 14870


Ganges Township Fire Dept
President Gerald R Ford 781
6957 114th Ave
South Haven, MI 49090


Ganges/Fennville Utd Methodist Church
President Gerald R Ford 781
2218 68th St
5849 124th Ave
Fennville, MI 49408


Gannett Co Inc
dba Imagn Content Services
7950 Jones Branch Dr
Mclean, VA 22107


Gannett Co Inc
dba Imagn Content Services
P.O. Box 677700
Dallas, TX 75267‐7700


Gannon Petza
Address Redacted


Garage Door Operators, Inc
P.O. Box 128
Scott Depot, WV 25560


Garage Graphics   Visuals Inc
2625 N Neergard Ave
Springfield, MO 65803


Garber Utd Methodist
East Carolina Council 426
4201 Country Club Rd
Trent Woods, NC 28562


Garber Utd Methodist Church
East Carolina Council 426
4201 Country Club Rd
Trent Woods, NC 28562


Garcia S Tent Rentals, Inc
dba Aa Events   Tents, Inc
303 Arvada Nw
Albuquerque, NM 87102


Garden City Ch Inc The Foundry Ch
Cradle Of Liberty Council 525
25 Cedar Rd
Wallingford, Pa 19086


Garden City Elementary Afterschool
Crossroads of America 160
4901 Rockville Rd
Indianapolis, IN 46224


Garden City Elementary School
Crossroads of America 160
4901 Rockville Rd
Indianapolis, IN 46224


Garden City Police Dept
Santa Fe Trail Council 194
304 N 9th St
Garden City, KS 67846


Garden City Presbyterian Church
Great Lakes Fsc 272
1841 Middlebelt Rd
Garden City, MI 48135


Garden City Utd Methodist Church
Heart of America Council 307
500 S 5th St
P.O. Box 80
Garden City, MO 64747


Garden City Utd Methodist Church
Heart of America Council 307
P.O. Box 80
Garden City, MO 64747


Garden Grove Kiwanis
Orange County Council 039
9840 Larson Ave
Garden Grove, CA 92844


Garden Grove Moose Lodge
Orange County Council 039
9901 Bixby Ave
Garden Grove, CA 92841


Garden Grove Police Dept
Orange County Council 039
11301 Acacia Pkwy
Garden Grove, CA 92840


Garden Grove Utd Methodist Church
Orange County Council 039
12741 Main St
Garden Grove, CA 92840


Garden Lakes Baptist Church
Northwest Georgia Council 100
220 Redmond Cir Nw
Rome, GA 30165


Garden Of The Mind
Las Vegas Area Council 328
2823 Misty Grove Dr
Henderson, NV 89074


Garden State
693 Rancocas Rd
Westampton, NJ 08060


Garden State Council 690
693 Rancocas Rd
Westhampton, NJ 08060


Garden Street Utd Methodist
Mens Fellowship Charles Rice
Mount Baker Council, Bsa 606
1326 N Garden St
Bellingham, Wa 98225


Garden Villas Community Center
Sam Houston Area Council 576
P.O. Box 266282
Houston, TX 77207


Gardena Buddhist Church
Greater Los Angeles Area 033
1517 W 166th St
Gardena, CA 90247


Gardena Police Dept
Greater Los Angeles Area 033
1718 W 162nd St
Gardena, CA 90247
Gardendale Church Of The Nazarene
Greater Alabama Council 001
1800 Decatur Hwy
Gardendale, AL 35071


Gardendale Mt Vernon Umc
Greater Alabama Council 001
805 Crest Dr
Gardendale, AL 35071


Gardenville Rec Center
Baltimore Area Council 220
4517 Hazelwood Ave
Baltimore, MD 21206


Gardiner Angus Ranch
Santa Fe Trail Council 194
2605 Cr 13
Ashland, KS 67831


Gardner ‐ House Of Peace And Education
Heart of New England Council 230
29 Pleasant St
Gardner, MA 01440


Gardner American Legion Post 132
Northern Lights Council 429
101 Benefit Ln
Harwood, ND 58042


Gardner Camp
Mississippi Valley Council 141 141
26558 160th St
Hull, IL 62343


Gardner Lake Volunteer Fire Co
Connecticut Rivers Council, Bsa 066
429 Old Colchester Rd
Salem, CT 06420


Gardner Lions Club
Rainbow Council 702
Rt 53
Gardner, IL 60424


Gardner‐American Legion Post 129
Heart of New England Council 230
22 Elm St
P.O. Box 1092
Gardner, MA 01440


Gardner‐Annunciation Parish
Heart of New England Council 230
135 Nichols St
Gardner, MA 01440


Gardner‐Lds‐Gardner Ward
Heart of New England Council 230
634 Pearl St
Gardner, MA 01440


Gardners Community
New Birth of Freedom 544
35 Hill View Rd
Gardners, PA 17324


Gardners Utd Methodist Church
Occoneechee 421
4555 Rosehill Rd
Fayetteville, NC 28311


Gardnertown Utd Methodist Church
Hudson Valley Council 374
1191 Union Ave
Newburgh, NY 12550


Garet Beane
Address Redacted


Garfield Academy
Buckeye Council 436
1379 Garfield Ave Sw
Canton, OH 44706
Garfield County 4‐H Council
Montana Council 315
345 E Lone Tree Rd
Brusett, MT 59318


Garfield County Sheriffs Office
Denver Area Council 061
107 8th St
Glenwood Springs, CO 81601


Garfield Elementary School PTA
National Capital Area Council 082
2435 Alabama Ave Se
Washington, DC 20020


Garfield Elks Lodge 2267
Northern New Jersey Council, Bsa 333
68 Lanza Ave
Garfield, NJ 07026


Garfield Memorial Church
Lake Erie Council 440
3650 Lander Rd
Pepper Pike, OH 44124


Garfield PTA
Illowa Council 133
902 E 29th St
Davenport, IA 52803


Garfield S Murden
Address Redacted


Garibaldi Lions Club
Cascade Pacific Council 492
P.O. Box 597
Garibaldi, OR 97118


Garland Elks Lodge 1984
Circle Ten Council 571
3825 Duck Creek Dr
Garland, TX 75043


Garland Firefighters Assoc
Circle Ten Council 571
P.O. Box 462341
Garland, TX 75046


Garland Groom
Address Redacted


Garland Kitchens
Address Redacted


Garland Marriott
Address Redacted


Garlin Driscoll, LLC
245 Century Cir, Ste 101
Louisville, CO 80027


Garlon J Stuart Jr
Address Redacted


Garman Engineering Co LLC
1226 Old Charlotte Pike
Pegram, TN 37143


Garmin Services Inc
2 Delorme Dr, Ste 200
Yarmouth, ME 04096‐6965


Garmin Usa
1200 E 151st St
Olathe, KS 66062


Garmisch Community Club
Transatlantic Council, Bsa 802
Cmr 409 Box 615
Apo, AE 09053
Garner Methodist Church
Occoneechee 421
P.O. Box 2179
201 Methodist Dr
Garner, NC 27529


Garner Nc American Legion Post 232
Tuscarora Council 424
106 Irene Lane
Raleigh, NC 27603


Garnet Van Winkle
Address Redacted


Garnish Richmond LLC
304 Eglantine Cir
Henrico, VA 23228


Garnish Richmond LLC
8574 Sanford Dr
Henrico, VA 23228


Garrett A Harris
Address Redacted


Garrett Byrd
Address Redacted


Garrett C Owen
Address Redacted


Garrett C Wright
Address Redacted


Garrett Canterbury
Address Redacted


Garrett Creek Ranch Conference Ctr
270 Private Rd 3475
Paradise, TX 76073


Garrett D Morrell
Address Redacted


Garrett Edward Ram
Address Redacted


Garrett H Janson
Address Redacted


Garrett I Canducci
Address Redacted


Garrett Investigations LLC
3482 Kelth Bridge Rd, Ste 121
Cumming, GA 30041


Garrett J Nixon
Address Redacted


Garrett John Meister
Address Redacted


Garrett M Cole
Address Redacted


Garrett M George
Address Redacted


Garrett M Hood
Address Redacted


Garrett O Hara
Address Redacted


Garrett P O Keefe
Address Redacted


Garrett Reporting Service
P.O. Box 20200
Charleston, WV 25362


Garrett Sausen
Address Redacted


Garrett V Engelhard
Address Redacted


Garrett Volunteer Fire Co
Laurel Highlands Council 527
303 Jackson St
Garrett, PA 15542


Garrett Williams
Address Redacted


Garrett Wood
Address Redacted


Garrettsville Utd Methodist Church
Great Trail 433
8223 Park Ave
Garrettsville, OH 44231


Garrick Charles Thomas
Address Redacted


Garrick E Otto
Address Redacted


Garris Chapel Utd Methodist Church
Tuscarora Council 424
823 Piney Grove Church Rd
La Grange, NC 28551
Garrison C Caruso
Address Redacted


Garrison Memorial Ar Presbyterian Church
Piedmont Council 420
646 Diane 29 Theater Rd
Bessemer City, NC 28016


Garrison Mickna
Address Redacted


Garrison Mill Elementary School
Atlanta Area Council 092
4111 Wesley Chapel Rd
Marietta, GA 30062


Garrison Printing Co Inc
7155 Airport Hwy
Pennsauken, NJ 08109


Garry Polodna
Address Redacted


Garry Taylor Iii
Address Redacted


Garson Tile    Stone LLC
5442 Nikula Rd
Embarrass, MN 55732


Garth Fielding
Address Redacted


Gartner Blade, LLC
940 Ashley Falls Rd
P.O. Box 185
Ashley Falls, MA 01222


Gartner Inc
P.O. Box 911319
Dallas, TX 75391‐1319


Gary Adams
Address Redacted


Gary Anderson
Address Redacted


Gary Beus
Address Redacted


Gary Bogner
Address Redacted


Gary Brewer
Address Redacted


Gary Brust   O Donnell Clark   Crew LLP
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Gary Budge
Address Redacted


Gary Butler
Address Redacted


Gary Chrislip
Address Redacted


Gary Copeland
Address Redacted


Gary Cox
Address Redacted


Gary Crawford
Address Redacted
Gary Crum
Address Redacted


Gary Cuppy
Address Redacted


Gary D Brough
Address Redacted


Gary Decker
Address Redacted


Gary Denney
Address Redacted


Gary Dettling
Address Redacted


Gary Dobbins
Address Redacted


Gary E Jubber, Trustee
Fabian   Clendenin Pc
215 S State St, Ste 1200
Salt Lake City, UT 84111‐2323


Gary E Wendlandt
Address Redacted


Gary Earley
Address Redacted


Gary Erlinger
Address Redacted


Gary F Persin
Address Redacted
Gary Fields Studios
30 Allen Dr
Wayne, NJ 07470


Gary Focken
Address Redacted


Gary Garza
Address Redacted


Gary Gilger
Address Redacted


Gary Griffin
Address Redacted


Gary Guare
Address Redacted


Gary Hadley
Address Redacted


Gary Hageman
Address Redacted


Gary Hamburgh Photography
23214 SE 57th St
Issaquah, WA 98029


Gary Hampton
Address Redacted


Gary Hanson
Address Redacted


Gary Harris
Address Redacted
Gary Hartley
Address Redacted


Gary Hayes
Address Redacted


Gary Hendzell
Address Redacted


Gary Hicks
Address Redacted


Gary Jensen
Address Redacted


Gary Kirkpatrick
Address Redacted


Gary L Carroll
Address Redacted


Gary L Snowden
Address Redacted


Gary Laermer
Address Redacted


Gary Lange
Address Redacted


Gary Lee
Address Redacted


Gary Lewis
Address Redacted
Gary Martin
Address Redacted


Gary Memorial Utd Methodist Church
Baltimore Area Council 220
P.O. Box 421
Ellicott City, MD 21041


Gary Memorial Utd Methodist Church
Three Fires Council 127
224 N Main St
Wheaton, IL 60187


Gary Mertz
Address Redacted


Gary Moes Plumbing Services Inc
1324 20th Ter
Key W, Fl 33040


Gary Moore
Address Redacted


Gary Pearson
Address Redacted


Gary Preston
Address Redacted


Gary Price
Address Redacted


Gary Pruyn
Address Redacted


Gary R Schoener Counsulting
4033 Dupont Ave S
Minneapolis, MN 55409
Gary Rea Sr
Address Redacted


Gary Richards
Address Redacted


Gary Savignano
Address Redacted


Gary Schmidtke
Address Redacted


Gary Shoemaker
Address Redacted


Gary Stasco
Address Redacted


Gary Steiner
Address Redacted


Gary Struble
Address Redacted


Gary Swift Studios Ltd
dba Lemonade Illustration Agency
North House, 8 Hague Park Ln
South Kirkby, Pontefract, Wyorks Wf9 3Ss
United Kingdom


Gary T Brock Md
4008 Inverness
Houston, TX 77019


Gary Tartt
Address Redacted


Gary Vandyke
Address Redacted
Gary Varano
Address Redacted


Gary Washburn
Address Redacted


Gary Watkins
Address Redacted


Gary Weeks
Address Redacted


Gary Wenisch
Address Redacted


Gary Williams
Address Redacted


Gary Wyatt
Address Redacted


Gary Yoshida
Address Redacted


Gary/New Duluth Community Club
Voyageurs Area 286
801 101st Ave W
Duluth, MN 55808


Garys Utd Methodist Church
Heart of Virginia Council 602
15301 Sunnybrook Rd
Petersburg, VA 23805


Gashland Utd Methodist Church
Heart of America Council 307
7715 N Oak Trfy
Kansas City, MO 64118
Gasport Chemical Hose Inc Volunteer
Iroquois Trail Council 376
8412 Telegraph Rd
Gasport, NY 14067


Gassaway Utd Methodist Church
Buckskin 617
Elk St
Gassaway, WV 26624


Gaston Arts Council
Piedmont Council 420
P.O. Box 242
Gastonia, NC 28053


Gaston County Emergency Medical Services
Piedmont Council 420
P.O. Box 1475
Gastonia, NC 28053


Gaston County Firefighter Assoc
Piedmont Council 420
2912 Forbes Rd
Gastonia, NC 28056


Gaston County Police Dept
Piedmont Council 420
420 W Franklin Blvd
Gastonia, NC 28052


Gaston County Sheriffs Office
Piedmont Council 420
425 N Marietta St
Gastonia, NC 28052


Gaston County Tax Collections
P.O. Box 1578
Gastonia, NC 28053


Gaston Memorial Hospital
Piedmont Council 420
2525 Court Dr
P.O. Box 1747
Gastonia, NC 28053


Gaston Oaks Baptist Church
Circle Ten Council 571
8515 Greenville Ave
Dallas, TX 75243


Gaston PTO
Glaciers Edge Council 620
1515 W Grand Ave
Beloit, WI 53511


Gaston Town Hall
Indian Waters Council 553
131 N Carlisle St
Gaston, SC 29053


Gastonia Police Dept
Piedmont Council 420
200 E Long Ave
Gastonia, NC 28052


Gate Of Heaven Parish
Daniel Webster Council, Bsa 330
163 Main St
Lancaster, NH 03584


Gates Chapel Utd Methodist Church
Northeast Georgia Council 101
4180 Gates Chapel Rd
Ellijay, GA 30540


Gates Presbyterian Church
Seneca Waterways 397
1049 Wegman Rd
Rochester, NY 14624


Gates Supply
363 Ragland Rd
Beckley, WV 25801


Gates Volunteer Ambulance Inc
Seneca Waterways 397
1001 Elmgrove Rd
Rochester, NY 14624


Gates‐Chili Fire Dept
Seneca Waterways 397
2355 Chili Ave
Rochester, NY 14624


Gatesville Lions Club
Longhorn Council 662
115 Willow Ln
Gatesville, TX 76528


Gatesville Ruritans
Tidewater Council 596
905 Court St
Gatesville, NC 27938


Gateway Acquisitions
Gateway Motorsports Park
700 Raceway Blvd
Madison, IL 62060‐0200


Gateway Area
2600 Quarry Rd
La Crosse, WI 54601‐3997


Gateway Area Cncl No 624
2600 Quarry Rd
La Crosse, WI 54601‐3997


Gateway Baptist Church
Sam Houston Area Council 576
2930 Rayford Rd
Spring, TX 77386


Gateway Cdi C/O Google
909 N 20th St
St Louis, MO 63106


Gateway Christian Church
Blue Grass Council 204
801 Winchester Rd
Mount Sterling, KY 40353


Gateway Church Of God
Calcasieu Area Council 209
1815 Sam Houston Jones Pkwy
Lake Charles, LA 70611


Gateway Community Church
Coastal Georgia Council 099
1702 Pine Barren Rd
Bloomingdale, GA 31302


Gateway Community Church
Crossroads of America 160
7551 Oaklandon Rd
Indianapolis, IN 46236


Gateway Community Church
National Capital Area Council 082
24796 Gateway Village Pl
Chantilly, VA 20152


Gateway Daycare Center
Mecklenburg County Council 415
8010 Strawberry Ln
Charlotte, NC 28277


Gateway Family Ymca ‐ Rahway Branch
Patriots Path Council 358
1564 Irving St
Rahway, NJ 07065


Gateway Foursquare Church Agoura Hills
Ventura County Council 057
29646 Agoura Rd
Agoura Hills, CA 91301
Gateway Masonic Lodge 175
Cascade Pacific Council 492
P.O. Box 455
Warrenton, OR 97146


Gateway Press Inc
4500 Robards Ln
Louisville, KY 40218


Gateway Science Academy South
Greater St Louis Area Council 312
6651 Gravois Ave
Saint Louis, MO 63116


Gateway Utd Methodist Church
Mountaineer Area 615
301 Diamond St
Fairmont, WV 26554


Gatlin W Arnold
Address Redacted


Gatlinburg Rotary Foundation Inc
Great Smoky Mountain Council 557
P.O. Box 1144
Gatlinburg, TN 37738


Gator S Grilled Cheese Emporium
955 E Sheridan St
Ely, MN 55731


Gaughan South Holdings Co LLC
dba S Point Hotel   Casino
9777 Las Vegas Blvd S
Las Vegas, NV 89183


Gauley Bridge Utd Methodist Church
Buckskin 617
P.O. Box 329
Gauley Bridge, WV 25085
Gaurav Seth
Address Redacted


Gavel Club
Water and Woods Council 782
4737 Hunt St
Cass City, MI 48726


Gavilan Limited Liability Co
P.O. Box 518
Cimarron, NM 87714


Gavin Albury
Address Redacted


Gavin B Roberts
Address Redacted


Gavin Dawson
Address Redacted


Gavin R Russell
Address Redacted


Gay Ann Walters
Address Redacted


Gay Lea Foods Co‐Operative Ltd
11301 Hwy 62 Rr 5
Madoc, On K0K 2K0
Canada


Gay Walters
Address Redacted


Gaye Lyn Robertson
Address Redacted
Gayla Kilgore
Address Redacted


Gayle Bodin
Address Redacted


Gayle Jeanine Kosmicki
Address Redacted


Gayle Sykes
Address Redacted


Gayle Wilton
Address Redacted


Gaylor Electric Inc
Crossroads of America 160
5750 Castle Creek Pkwy N Dr, Ste 400
Indianapolis, IN 46250


Gaylord Bros
P.O. Box 4901
Syracuse, NY 13221‐4901


Gaylord Brothers
P.O. Box 4901
Syracuse, NY 13221‐4901


Gaylord Kiwanis Club
President Gerald R Ford 781
P.O. Box 87
Troop 1
Gaylord, MI 49734


Gaylord National Resort   Convention Ctr
201 Waterford St
National Harbor, MD 20745


Gaylord National Resort   Convention Ctr
201 Waterfront St
National Harbor, MD 20745


Gaylord Opryland Hotel
P.O. Box 406285
Atlanta, GA 30384‐6285


Gaylord Rotary Club
President Gerald R Ford 781
P.O. Box 1242
Gaylord, MI 49734


Gaylord Texan Resort
1501 Gaylord Trail
Grapevine, TX 76051


Gaylord Texan Resort     Convention Ctr
1501 Gaylord Trail
Grapevine, TX 76051


Gayton Baptist Church
Heart of Virginia Council 602
13501 N Gayton Rd
Richmond, VA 23233


Gayville American Legion
Sioux Council 733
405 Brown St
Gayville, SD 57031


Gbs Group Inc
13745 Omega Rd
Dallas, TX 75244


Gci Outdoor, Inc
Dept 1900, P.O. Box 4110
Woburn, MA 01888‐4110


Gcps‐ Community Based Mentoring Program
Northeast Georgia Council 101
1229 Nbrook Pkwy, Ste B
Suwanee, GA 30024


Gcs Service Inc
24673 Network Pl
Chicago, IL 60673‐1246


Gcs Services, Inc
P.O. Box 64373
St Paul, MN 55164‐0373


Ge Capital C/O Ricoh Usa Program
P.O. Box 41564
Philadelphia, PA 19101‐1564


Gear Aid Inc
1411 Meador Ave
Bellingham, WA 98229‐5845


Gearhartville Free Methodist Church
Bucktail Council 509
305 Keystone Hill Rd
Philipsburg, PA 16866


Gearing Up Bicycle Shop
129 Paseo Del Pueblo Sur
Taos, NM 87571


Gearl Diggs
Address Redacted


Gearlene Salters
Address Redacted


Geary Community Hospital
Coronado Area Council 192
1102 St Marys St
Junction City, KS 66441


Geary County Fire Dept
Coronado Area Council 192
236 E 8th St
Junction City, KS 66441


Geauga Aerie 2261
Lake Erie Council 440
317 Water St
Chardon, OH 44024


Geckobrands, LLC
2950 Prairie St SW, Ste 1000
Grandville, MI 49418


Gecp Inc
Patriots Path Council 358
52 S Hillside Ave
Succasunna, NJ 07876


Gee S Clippers
Three Harbors Council 636
2215 N Dr Martin Luther King Dr
Milwaukee, WI 53212


Gegail J Warren
Address Redacted


Gegail Warren
Address Redacted


Geiger
P.O. Box 712144
Cincinnati, OH 45271‐2144


Geiger Bros
P O 712144
Cincinnati, OH 45271‐2144


Geist Christian Church
Crossroads of America 160
12756 Promise Rd
Fishers, IN 46038
Geist Christian Church
Crossroads of America 160
8550 Mud Creek Rd
Indianapolis, IN 46256


Gelfand Rennert And Feldman LLP
1880 Century Park E, Ste 1600
Los Angeles, CA 90067


Geller Lighting Supply Co
3720 Commerce Dr
Baltimore, MD 21227


Gem‐Dandy Accessories
200 W Academy St
Maidson, NC 27025


Gemini Sign Co
128 S Bolton St
Marlborough, MA 01752‐2889


Gemma Mitchell
Address Redacted


Gempler S
P.O. Box 5175
Janesville, WI 53547‐5175


Gen L Wood Post 162 American Legion
Northern New Jersey Council, Bsa 333
98 Legion Pl
Hillsdale, NJ 07642


Gen Lewis B Chesty Puller Post 1503
National Capital Area Council 082
14631 Minnieville Rd
Dale City, VA 22193


Gen Valley‐Henrietta Moose Family Center
Seneca Waterways 397
5375 W Henrietta Rd Route 15
West Henrietta, NY 14586


Gene Butler
Address Redacted


Gene Clemens
Address Redacted


Gene Haning
Address Redacted


Gene Hicks Gourmet Coffee
P.O. Box 223
Ely, MN 55731


Gene Hinson
Address Redacted


Gene Howe PTA
Golden Spread Council 562
5108 Pico Blvd
Amarillo, TX 79110


Gene Sears Supply
P.O. Box 38
El Reno, OK 73036


Gene Walters Ii
Address Redacted


Genegantslet Fire Co Inc
Baden‐Powell Council 368
P.O. Box 151
Smithville Flats, NY 13841


General Assoc Of General Baptist
2522 Miami Ave
Nashville, TN 37214
General Binding Corp
P.O. Box 71361
Chicago, IL 60694‐1361


General Blackjack Pershing Vfw Post 4557
Great Rivers Council 653
114 E Wood St
Brookfield, MO 64628


General Commercial Corp
110 S 15th St
Sebring, OH 44672


General Datatech LP
P.O. Box 650002
Dept D8014
Dallas, TX 75265


General Datatech, LP
999 Metromedia Pl
Dallas, TX 75247


General Dynamics ‐ Electric Boat
Narragansett 546
165 Dillabur Ave
North Kingstown, RI 02852


General Electric Co
Dan Beard Council, Bsa 438
1 Neumann Way
Cincinnati, OH 45215


General Electric Digital Energy
Atlanta Area Council 092
2018 Powers Ferry Rd Se
Atlanta, GA 30339


General Fire Extinguisher Service Inc
E 4004 Trent
Spokane, WA 99202
General Mailing And Shipping Systems
8532 Paseo Alameda Ne
Albuquerque, NM 87113


General Mills Finance, Inc
P.O. Box 120845
Dallas, TX 75312‐0845


General Mitchell PTO
Three Harbors Council 636
5950 S Illinois Ave
Cudahy, WI 53110


General Motors LLC
300 Renaissance Ctr
Mc 482 C19 C36
Detroit, MI 48265


General Post Office
P.O. Box 27737
New York, NY 10087‐7737


General Security Inc
100 Fairchild Ave
Plainview, NY 11803


General Stilwell Chapter Ausa
Silicon Valley Monterey Bay 055
P.O. Box 5922
Monterey, CA 93944


Genesco Sports Enterprises Inc
5944 Luther Ln, Ste 500
Dallas, TX 75225


Genesee Conservation League Inc
Seneca Waterways 397
1570 Old Penfield Rd
Rochester, NY 14625
Genesee School Gea
Longhouse Council 373
244 E Genesee St
Auburn, NY 13021


Genesee Stem Academy
Water and Woods Council 782
310 W Oakley St
Flint, MI 48503


Genesee Stem Academy
Water and Woods Council 782
5240 Calkins Rd
Flint, MI 48532


Genesee Twp Fire Station 2
Water and Woods Council 782
3128 Alcott Ave
Flint, MI 48506


Genesee Valley Fire Dept
Seneca Waterways 397
9 Riverview Dr
Rochester, NY 14623


Genesee Valley Trappers Inc
Seneca Waterways 397
4648 County Rd 37
Livonia, NY 14487


Geneseo Kiwanis Club
Illowa Council 133
880 Ash Dr
Geneseo, IL 61254


Geneseo Rotary Club
Iroquois Trail Council 376
P.O. Box 216
Geneseo, NY 14454


Genesis Catering
2651 Telegraph Rd
St Louis, MO 63125


Genesis Church
Inland Nwest Council 611
810 S Sullivan Rd
Spokane Valley, WA 99037


Genesis Corp
15076 Collections Center Dr
Chicago, IL 60693


Genesis Health System
Illowa Council 133
1401 W Central Park Ave
Davenport, IA 52804


Genesis Jenite Reyes
Address Redacted


Genesis Presbyterian Church
Denver Area Council 061
5707 S Simms St
Littleton, CO 80127


Genesis Utd Methodist Church
Longhorn Council 662
7635 S Hulen St
Fort Worth, TX 76133


Genesis Utd Methodist Church
Occoneechee 421
850 High House Rd
Cary, NC 27513


Genesys Group Inc
2600 Network Blvd, Ste 330
Frisco, TX 75034


Geneva Academic Foundation
Three Fires Council 127
P.O. Box 44
Geneva, IL 60134


Geneva Biggers
Address Redacted


Geneva Center
5282 N Old US 31
Rochester, IN 46975‐7382


Geneva Clark
Address Redacted


Geneva Community Church Of God
Central Florida Council 083
P.O. Box 1164
Geneva, FL 32732


Geneva Ctr
5282 N Old US Hwy 31
Rochester, IN 45975


Geneva Family School Assoc
Seneca Waterways 397
30 W St
Geneva, NY 14456


Geneva Fire Dept
Lake Erie Council 440
44 N Forest St
Geneva, OH 44041


Geneva Fire Dept
Three Fires Council 127
200 E Side Dr
Geneva, IL 60134


Geneva Heights 10Th Ward
Utah National Parks 591
467 N 100 W
Vineyard, UT 84059
Geneva Lions Club
Cornhusker Council 324
1036 N 9th St
Geneva, NE 68361


Geneva Living Word Church Of Nazarene
Central Florida Council 083
P.O. Box 410
Geneva, FL 32732


Geneva Lutheran Church
Three Fires Council 127
301 S 3rd St
Geneva, IL 60134


Geneva Presbyterian Church
North Florida Council 087
1755 State Rd 13
Switzerland, FL 32259


Geneva Rotary Club
Cornhusker Council 324
P.O. Box 41
Geneva, NE 68361


Genevieve Doll
Address Redacted


Genevieve Peterson
Address Redacted


Genevieve Porter
Address Redacted


Genoa Elementary
Buckskin 617
21269 Route 152
Genoa, WV 25517


Genoa Police Dept
Three Fires Council 127
333 E 1st St
Genoa, IL 60135


Genoveva A Hurtado
Address Redacted


Gensler
File 57109
Los Angeles, CA 90074‐7109


Gentry Waipio Community Assoc
Aloha Council, Bsa 104
94‐1036 Waipio Uka St, Ste 104A
Waipahu, HI 96797


Genundewah Uniform
137 S Main St
Canandaigua, NY 14424


Genus LLC
1046 N Gun Club Rd
Independence, OR 97351


Geo Bergam Post 489 Am Legion
Northern Lights Council 429
P.O. Box 61
Underwood, MN 56586


Geo Washington Univ   Scott Ira Backer
Attn Cashiers Office
800 21st St NW Marvin Ctr Ground Flr
Washington, DC 20052


Geodek, Inc
P.O. Box 2200
Canon City, CO 81215‐2200


Geoffrey A Gulliver
Address Redacted
Geoffrey Angle
Address Redacted


Geoffrey Thomas
Address Redacted


Geoffrey Z Solomon
Address Redacted


Geographic Locations International
P.O. Box 18293
Minneapolis, MN 55418


Geolat   Assoc, Inc
16910 Dallas Pkwy, Ste 204
Dallas, TX 75248


Georgann Wilson
Address Redacted


George A Swann
Address Redacted


George Adams
Address Redacted


George Anderson
Address Redacted


George Archie
Address Redacted


George Arciba
Address Redacted


George Atkinson
Address Redacted
George Barfield
Address Redacted


George Beach Post 4 American Legion Co
Longs Peak Council 062
2124 County Rd 54 G
La Porte, CO 80535


George Bergem Post 489
Northern Lights Council 429
General Delivery
Underwood, MN 56586


George Bowden Jr
Address Redacted


George Brand Jr
Address Redacted


George Brown
Address Redacted


George Burnet
Address Redacted


George C Marshall International Center
National Capital Area Council 082
43100 Ashburn Farm Pkwy
Ashburn, VA 20147


George C Stiteler
Address Redacted


George Carlson
Address Redacted


George Christmann
Address Redacted
George Clay
Address Redacted


George Clemmer
Address Redacted


George Colflesh
Address Redacted


George Crory
Address Redacted


George D Keller Memorial Assoc
Hawk Mountain Council 528
P.O. Box 193
Schuylkill Haven, PA 17972


George Doss
Address Redacted


George Duckett
Address Redacted


George Duggins
Address Redacted


George E Ingersoll AL Post 658
Seneca Waterways 397
P.O. Box 243
Fair Haven, Ny 13064


George E Williams
Address Redacted


George Etier
Address Redacted


George Fern Co
645 Linn St
Cincinnati, OH 45203


George Fern Co ‐ Cincinnati
645 Linn St
Cincinnati, OH 45203


George Finch
Address Redacted


George Fleckenstein
Address Redacted


George Fox University
414 N Meridian St, 6068
Financial Aid Office
Newberg, OR 97132


George Frank
Address Redacted


George Giles   Assoc Inc
dba Right Management
14131 Midway Rd, Ste 1140
Addison, TX 75001


George Gillis Jr
Address Redacted


George Greenlee
Address Redacted


George H Elliot Vfw Post 7902
Northern Lights Council 429
P.O. Box 278
701 E 8th Ave
Osakis, MN 56360


George Hackett
Address Redacted
George Haddaway
Address Redacted


George Hagey Pratt
Address Redacted


George Hall
Address Redacted


George Handley
Address Redacted


George Hemenetz
Address Redacted


George Henington
Address Redacted


George Hewes
Address Redacted


George Hill
Address Redacted


George Hollyer
Address Redacted


George Homesley
Address Redacted


George Jenkins Hs Ajrotc Booster Club
Greater Tampa Bay Area 089
6000 Lakeland Highlands Rd
Lakeland, FL 33813


George Jones
Address Redacted
George Jones Jr
Address Redacted


George Kaiser
Address Redacted


George Kornfeld
Address Redacted


George Krec Jr
Address Redacted


George Kunkel
Address Redacted


George L Oneill Post 62‐American Legion
Daniel Webster Council, Bsa 330
16 Park St
Colebrook, NH 03576


George Lambert
Address Redacted


George Lucas
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George Lutch
Address Redacted


George M Ardelean Jr
Address Redacted


George Martin
Address Redacted


George Martinez Corporan
C/P Yawgoog Scout Reservation
61 Camp Yawgoog Rd
Rockville, RI 02873


George Mason University
Office of Student Financial Aid
Msn 3Bn, 4400 University Dr
Fairfax, VA 22030‐4444


George Mcdonough
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George Mcgovern
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George Melendez
Address Redacted


George Morales
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George Morton
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George Murdoch
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George Nelson
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George Newton Post 1607 Vfw
Connecticut Rivers Council, Bsa 066
Lakeside Rd
Southbury, CT 06488


George O Loughlin
Address Redacted


George P Cook
Address Redacted
George Pate
Address Redacted


George Patrick
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George Phillips
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George Pope
Address Redacted


George R Birch
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George R Robinson School PTO
Greater St Louis Area Council 312
803 Couch Ave
Saint Louis, MO 63122


George R Shupe
Address Redacted


George R Teal
Address Redacted


George Randall
Address Redacted


George Reynolds
Address Redacted


George Ridge
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George Sloan
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George Smith
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George Snipes
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George Sonnier
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George Sparks
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George Spice
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George Spock
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George T Mcmurray
Address Redacted


George T Savvides
Address Redacted


George Test
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George Trosko
Address Redacted
George Villalobos
Address Redacted


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Cradle of Liberty Council 525
1541 S 17th St
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George W Reed
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George Washington Carver 87
Crossroads of America 160
241 Indianapolis Ave
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George Washington University
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South Texas Council 577
404 Nueces St
George W, Tx 78022


George White
Address Redacted


George Wright
Address Redacted


Georgetown American Legion
Prairielands 117
106 E W St
Georgetown, IL 61846


Georgetown Baptist Church
Attn Boy Scout Troop
Blue Grass Council 204
207 S Hamilton St
Georgetown, KY 40324
Georgetown Christian Church
Lincoln Heritage Council 205
9420 Indiana Sr 64
Georgetown, IN 47122


Georgetown City Fire Dept
Coastal Carolina Council 550
1405 Prince St
Georgetown, SC 29440


Georgetown College
400 E College St
Georgetown, KY 40324


Georgetown First Utd Methodist Church
Blue Grass Council 204
1280 Lexington Rd
Georgetown, KY 40324


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600 New Jersey Ave Nw
Washington, DC 20001‐2075


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Capitol Area Council 564
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Office of Student Fin Servs
Box 571252/G‐19 Healy Hall
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Washington, DC 20057‐1252


Georgetown University
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Washington, DC 20057‐1252


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Dan Beard Council, Bsa 438
217 S Main St
Georgetown, OH 45121


Georgetown Utd Methodist Church
President Gerald R Ford 781
2766 Baldwin St
Jenison, MI 49428


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Georgia ‐ Carolina Council
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Augusta, GA 30909‐9114


Georgia Academy For The Blind
Central Georgia Council 096
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Macon, GA 31204


Georgia Butler
Address Redacted


Georgia C Arnold
Address Redacted


Georgia College And State University
Attn Jarris Lanham
Gcsu Office of Fin Aid Campus Box 030
Milledgeville, GA 31061


Georgia Dept Of Revenue
Property Tax Div ‐ Unclaimed Property
270 Washington St, Sw, Rm 404
Atlanta, GA 30334


Georgia Dept Of Revenue
Unclaimed Property Program
4125 Welcome All Rd,Suite 701
Atlanta, GA 30349
Georgia Dept Of Revenue
Withholding Tax Section
P.O. Box 740387
Atlanta, GA 30374‐0387


Georgia Engineering Foundation
Atlanta Area Council 092
100 Peachtree St, Ste 2150
Atlanta, GA 30303


Georgia Ffa‐Fccla Center
720 Ffa Fha Camp Rd
Covington, GA 30014


Georgia Institute Of Technology
Attn Office of Student Financial Plan
225 N Ave
Atlanta, GA 30332


Georgia Institute Of Technology
Distance Learning   Professional Educ.
P.O. Box 93686
Atlanta, GA 30377‐0686


Georgia Institute Of Technology
Outside Scholarships   Financial Aid
225 N Ave
Atlanta, GA 30332‐0460


Georgia Insurance Commissioner
Two Martin Luther King Jr Dr
West Tower, Ste 604
Atlanta, GA 30334


Georgia Lions Club
Green Mountain 592
Rfd
Georgia, VT 05468


Georgia Niemeyer
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Georgia Perimeter College
Attn Bruce Stuart
3251 Panthersville Rd
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Georgia Secretary Of State
Attn Securities    Charities Div
2 Mlk Jr Dr Se, Ste 317 W Tower
Atlanta, GA 30334


Georgia Secretary Of State
Corporation Div/Ann Regis
P.O. Box 23038
Columbus, GA 31902‐3038


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Georgia‐Carolina Cncl 93
4132 Madeline Dr
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Georgian Organization Of The Scout Movem
12 Chaikovsky St
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Georgia


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Georgianna Mayle
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Atlanta, GA 30368‐0574


Georgina Alvarado
Address Redacted


Geoscouting
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San Rafael, CA 94903


Geotek, Inc
Las Vegas Area Council 328
6835 Escondido St, Ste A
Las Vegas, NV 89119


Geo‐Test, Inc
3204 Richards Ln
Santa Fe, NM 87507


Gerakan Pramuka
Kwartir Nasional
Jalan Medan Merdeka Timur 6
Jakarta, 10110
Indonesia


Gerald Brown
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Gerald Cable
Address Redacted


Gerald Daniels
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Gerald Deeg
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Gerald Dehoney
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Gerald Favre Jr
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Gerald Freyberg
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Gerald Granum
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Gerald Henson
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Gerald Hunt   O Donnell Clark   Crew
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Gerald Jackey
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Gerald Keesecker
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Gerald Kiste
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Gerald Lions Club
Greater St Louis Area Council 312
109 W Industrial Dr
Gerald, MO 63037


Gerald Livingston
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Gerald Mosley
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Gerald O Neil American Legion Post 1683
Twin Rivers Council 364
P.O. Box 349
836 Broadway
Rensselaer, NY 12144


Gerald Patterson
Address Redacted


Gerald Pence
Address Redacted


Gerald Primm
Address Redacted


Gerald R Snodgrass
Address Redacted


Gerald Reed
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Gerald Robinson
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Gerald Rooney
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Gerald Sanders
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Gerald Welty
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Gerald Wollett Sr
Address Redacted


Gerald Wood
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Geraldine Brown
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Geraldine Chockley
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Geraldine Lambert
Address Redacted


Geraldine Mccoy
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Geralyn Coppersmith
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Gerard Brady Ii
Address Redacted
Gerard J Gentleman
Address Redacted


Gerard Lipari
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Gerard Lupien
Address Redacted


Gerard Monahan
Address Redacted


Gerard Williams
Address Redacted


Gerardo Martinez
Address Redacted


Geri Kolok
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Geri Voit
Address Redacted


Gerianne Farrands
Address Redacted


Germaine Carney
Address Redacted


German May PC
1201 Walnut, Ste 2000
Kansas City, MO 64106


Germania Society
Dan Beard Council, Bsa 438
3529 W Kemper Rd
Cincinnati, OH 45251
Germania Volunteer Fire Co
Jersey Shore Council 341
312 S Cologne Ave
Cologne, NJ 08213


Germantown American Legion
Potawatomi Area Council 651
N120W15932 Freistadt Rd
Germantown, WI 53022


Germantown Fire Dept
Chickasaw Council 558
7766 Farmington Blvd
Germantown, TN 38138


Germantown Hills PTO
W D Boyce 138
110 Fandel Rd
Germantown Hills, IL 61548


Germantown Kernel Nut Club
Greater St Louis Area Council 312
P.O. Box 348
Germantown, IL 62245


Germantown Parents Of Scouts
Potawatomi Area Council 651
W145N10184 Raintree Dr
Germantown, WI 53022


Germantown Parents Of Scouts
Potawatomi Area Council 651
W162N9991 Mayflower Dr
Germantown, WI 53022


Germantown Police Dept
Potawatomi Area Council 651
N112W16877 Mequon Rd
Germantown, WI 53022
Germantown Presbyterian Church
Chickasaw Council 558
2363 S Germantown Rd
Germantown, TN 38138


Germantown Prof Police Assn
Potawatomi Area Council 651
N112W16877 Mequon Rd
Germantown, WI 53022


Germantown Utd Methodist Church
Chickasaw Council 558
2331 S Germantown Rd
Germantown, TN 38138


Germantown Utd Methodist Church
Miami Valley Council, Bsa 444
525 Farmersville Pike
Germantown, OH 45327


Germonds Presbyterian Church
Hudson Valley Council 374
39 Germonds Rd
New City, NY 10956


Gerolamo Mcnulty Divis   Lewbart PC
121 S Broad St, Ste 1400
Philadelphia, PA 19107


Gerrells Sports Center
415 4th St Nwest
Devils Lake, ND 58301‐2596


Gerry Mix
Address Redacted


Gerry Resciniti
Address Redacted


Gerstein Fisher
Greater New York Councils, Bsa 640
565 5th Ave, Fl 27
New York, NY 10017


Gertrude Evans
Address Redacted


Gertrude Hyman
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Gertrude Pike
Address Redacted


Gervins Inc
dba Route 18 Sports
691 Route 18
East Brunswick, NJ 08816‐3721


Ges Exposition Services
7050 Lindell Rd
Las Vegas, NV 89118


Ges Exposition Services Inc
491 C St
Chulo Vista, CA 91910


Gesturetek Canada Inc
317 Adelaide St W, Ste 302
Toronto, On M5V 1P9
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Gesu Catholic School
Great Lakes Fsc 272
17139 Oak Dr
Detroit, MI 48221


Gesu Parish
Lake Erie Council 440
2470 Miramar Blvd
University Heights, OH 44118
Gesu School
Cradle of Liberty Council 525
1700 W Thompson St
Philadelphia, PA 19121


Get Promo
50 Wallabout St, Ste 96
Brooklyn, NY 11211


Get Rv Com Inc
10500 Steppington Dr, Ste 252
Dallas, TX 75230


Get There Designs
439 E Sheridan St
Ely, MN 55731


Get Travel Sports And Events
5080 Robert J Matthews Pkwy
El Dorado Hills, CA 95762


Getaways On Display Inc
Great Display Co
147 Arrowhead Dr
Manheim, PA 17545


Getgo Inc
c/o Logmein Inc
P.O. Box 50264
Los Angeles, CA 90074‐0264


Gethsemane Baptist Temple
Blue Ridge Council 551
6116 Hwy 81 S
Starr, SC 29684


Gethsemane Episcopal Cathedral
Northern Lights Council 429
3600 25th St S
Fargo, ND 58104
Gethsemane Lutheran Church
Anthony Wayne Area 157
1505 Bethany Ln
Fort Wayne, IN 46825


Gethsemane Lutheran Church
Northern Star Council 250
221 Atlantic Ave E
P.O. Box C
Dassel, MN 55325


Gethsemane Lutheran Church
Northern Star Council 250
2410 Stillwater Rd E
Maplewood, MN 55119


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1020 Petersburg Rd
Hebron, KY 41048


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P.O. Box 953604
St. Louis, MO 63195‐3604


Gettysburg Battlefield Preservation
New Birth of Freedom 544
P.O. Box 4087
Gettysburg, PA 17325


Gettysburg Flag Works
P.O. Box 524
East Greenbush, NY 12061


Gettysburg Presbyterian Church
New Birth of Freedom 544
208 Baltimore St
Gettysburg, PA 17325


Getwell Church
Chickasaw Council 558
7875 Getwell Rd
Southaven, MS 38672
Getzville Fire Co Inc
Greater Niagara Frontier Council 380
P.O. Box 111
630 Dodge Rd
Getzville, NY 14068


Geva Theatre Center
Seneca Waterways 397
75 Woodbury Blvd
Rochester, NY 14607


Gew Mechanical Contractors, Inc
127 Aztec Nw
Albuquerque, NM 87107


Gfafb 1St Sergeants Group
Attn Msgt Ronald Brooks
Northern Lights Council 429
Grand Forks Afb First Sergeants Council
Grand Forks Afb, ND 58205


Gfs Design Group
815 Central Ave, Ste 2
Peekskill, NY 10566


Gfs Florida Div
Dept At 40472
Atlanta, GA 31192‐0472


Gfwc Mira Mesa Women S Club
San Diego Imperial Council 049
P.O. Box 26013
San Diego, CA 92196


Gfwc Of Tn Newbern Women S Club
West Tennessee Area Council 559
212 Clearview Dr
Newbern, TN 38059


Ghana Scout Assoc
P.O. Box Gp 108
Accra
Ghana


Ghost Talk Ghost Walk
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Giant Bicycle Inc
P.O. Box 894416
Los Angeles, CA 90189‐4416


Giant Photo Equipment
683 Callecita Pecos
Santa Fe, NM 87505


Giant Steps
Three Fires Council 127
2500 Cabot Dr
Lisle, IL 60532


Gibault Children S Services
Crossroads of America 160
6301 S US Hwy 41
Terre Haute, IN 47802


Gibbs Elementary School PTO
Buckeye Council 436
1320 Gibbs Ave Ne
Canton, OH 44705


Gibbs High School Jrotc
Great Smoky Mountain Council 557
7628 Tazewell Pike
Corryton, TN 37721


Gibbs Smith Publisher
P.O. Box 667
Layton, UT 84041


Gibbs Smith, Publisher
Peregrine Smith Books Attn       A/R
P.O. Box 667
Layton, UT 84041


Gibbsboro Utd Methodist Church
Garden State Council 690
30 Clementon Rd W
Gibbsboro, NJ 08026


Gibbsville Reformed Church
Bay‐Lakes Council 635
N3145 State Rd 32
Sheboygan Falls, WI 53085


Gibby Media Group Inc
1213 S Pines Rd
Spokane Valley, WA 99206
Gibraltar Rockwood Rotary Club
Great Lakes Fsc 272
27332 Polk Ave
Brownstown Twp, MI 48183


Gibsland Utd Methodist Church
Norwela Council 215
P.O. Box 673
Gibsland, LA 71028


Gibson City Lions Club
Prairielands 117
410 Meadow Rue Dr
Gibson City, IL 60936


Gibson, Mcaskill   Crosby, LLP
Attn Charles Desmond, II
69 Delaware Ave, Ste 900
Buffalo, NY 14202


Gibsonville Utd Methodist Church
Old N State Council 070
501 Church St
Gibsonville, NC 27249


Gideon J Washburne
Address Redacted


Gideon Pond Elementary
Northern Star Council 250
613 E 130th St
Burnsville, MN 55337


Gifford Hurt
Address Redacted


Gifford Youth Achievement Center
Gulf Stream Council 085
4875 43rd Ave
Vero Beach, FL 32967
Gifford Youth Activity Center
Gulf Stream Council 085
4875 43rd Ave
Vero Beach, FL 32967


GiftcardsCom
6220 Stoneridge Mall Rd
Pleasanton, CA 94588


Gifts   Decorative Accessories
P.O. Box 5879
Harlan, IA 51593‐1379


Gig Harbor Elks
Pacific Harbors Council, Bsa 612
9701 54th Ave Nw
Gig Harbor, WA 98332


Gig Harbor Police Dept
Pacific Harbors Council, Bsa 612
3510 Grandview St
Gig Harbor, WA 98335


Gigantic Color
7900 Ambassador Row
Dallas, TX 75247


Gigawatt Electric, LLC
Hc 80 Box 258D
Las Vegas, NM 87701


Gila Outdoors
3660 W Main St
Thatcher, AZ 85552


Gila Valley Rotary Club
Grand Canyon Council 010
P.O. Box 1484
Thatcher, AZ 85552
Gilbarco Veeder‐Root Co Inc
12249 Collections Ctr Dr
Chicago, IL 60693


Gilbert C Grafton American Legion 2
Northern Lights Council 429
P.O. Box 2525
1801 23rd Ave N
Fargo, ND 58108


Gilbert Dickinson
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Gilbert Elementary Lead
Capitol Area Council 564
5412 Gilbert Rd
Austin, TX 78724


Gilbert LLP
1100 New York Ave Nw, Ste 700
Washington, DC 20005


Gilbert Lutheran Church
Mid Iowa Council 177
135 School St
Gilbert, IA 50105


Gilbert Presbyterian Church
Grand Canyon Council 010
235 E Guadalupe Rd
Attention Carl Meitl
Gilbert, AZ 85234


Gilbert Ruritan Club
Indian Waters Council 553
713 Juniper Springs Rd
Gilbert, SC 29054


Gilbert Schweiger
Address Redacted
Gilbert Utd Methodist Church
Grand Canyon Council 010
331 S Cooper Rd
Gilbert, AZ 85233


Gilbert Ward LDS
Indian Waters Council 553
2224 Augusta Hwy
Lexington, SC 29072


Gilberto Saucedo
Address Redacted


Gilchrist PTO
Suwannee River Area Council 664
1301 Timberlane Rd
Tallahassee, FL 32312


Gilford Community Church
Daniel Webster Council, Bsa 330
19 Potter Hill Rd
Gilford, NH 03249


Gill Elementary PTA
Great Lakes Fsc 272
21195 Gill Rd
Farmington, MI 48335


Gill Engineering Group Inc
Puerto Rico Council 661
823 Santana
Arecibo, PR 00612


Gillburg Utd Methodist Church
Occoneechee 421
4815 Nc 39 Hwy S
Henderson, NC 27537


Gillen Vinscotski Vet. Of Foreign Wars
Westchester Putnam 388
P.O. Box 623
Putnam Valley, NY 10579
Gillespie, Rozen   Watsky, PC
3402 Oak Grove Ave, Ste 200
Dallas, TX 75204


Gillett Civic Club
c/o Clifford Gerbers
Bay‐Lakes Council 635
6728 Klaus Lake Rd
Gillett, WI 54124


Gillette 4Th Ward Campbell
Greater Wyoming Council 638
1500 Ohara Dr
Gillette, WY 82716


Gillfiield Baptist Church
Heart of Virginia Council 602
209 Perry St
Petersburg, VA 23803


Gillian C Suhre
Address Redacted


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Gilliaum Feed And Seed
Quapaw Area Council 018
507 Malcolm Ave
Newport, AR 72112


Gillmann Services, Inc
11848 Rock Landing Dr, Ste 102
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Gillmann Services, Inc
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Philadelphia, PA 19182‐3461
Gilman Lions Club
Chippewa Valley Council 637
P.O. Box 63
Gilman, WI 54433


Gilmanton Community Club
Gateway Area 624
P.O. Box 26
Gilmanton, WI 54743


Gilmanton Fire Dept
Daniel Webster Council, Bsa 330
P.O. Box 547
Gilmanton, NH 03237


Gilmanton Firemans Assoc
Daniel Webster Council, Bsa 330
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Gilmanton Iron Works, NH 03837


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107 Wyoming Ave
Waterbury, CT 06706


Gilmer County Fire And Rescue
Northeast Georgia Council 101
325 Howard Simmons Rd
Ellijay, GA 30540


Gilmer County Sheriffs Office
Northeast Georgia Council 101
106 Brett Dickey Memorial Dr
Ellijay, GA 30536


Gilmer Smith
Address Redacted


Gilroy Police Dept
Silicon Valley Monterey Bay 055
7301 Hanna St
Gilroy, CA 95020
Gilson Fire Dept
Illowa Council 133
1045 Moss St
Gilson, IL 61436


Giltz Brown American Legion Post 341
Black Swamp Area Council 449
First St
Oakwood, OH 45873


Gilvia Brown
Address Redacted


Gina Carson
Address Redacted


Gina Circelli
Address Redacted


Gina Farrar
Address Redacted


Gina Gibney Dance Inc
890 Broadway, 5th Fl
New York, NY 10003


Gina Gibney Dance Inc
Greater New York Councils, Bsa 640
890 Broadway Fl 5
New York, NY 10003


Gina Heslin
Address Redacted


Gina Hutson
Address Redacted


Gina Jackson
Address Redacted


Gina Koch
Address Redacted


Gina L Foli
Address Redacted


Gina Mason
Address Redacted


Gina Reed
Address Redacted


Ginger Kern
Address Redacted


Ginger Reed
Address Redacted


Ginghamsburg Utd Methodist Church
Miami Valley Council, Bsa 444
6759 S County Rd 25A
Tipp City, OH 45371


Gino Bartolucci
Address Redacted


Ginos Distributing Inc
209 1st Ave S
Nitro, WV 25143


Ginos Distributing Inc
dba Tudors Biscuit World
P.O. Box 403
Fayetteville, WV 25840


Ginter Park Elementary PTA
Heart of Virginia Council 602
3817 Chamberlayne Ave
Richmond, VA 23227


Giordano, Halleran   Ciesla
Monmouth Council, Bsa 347
125 Half Mile Rd
Red Bank, NJ 07701


Giovanni Alvarez
Address Redacted


Giovanni Experiences, LLC
1351‐Sundial Point
Winter Springs, FL 32708


Giovanni Experiences, LLC
5703 Red Bug Lake Rd 360
Winter Springs, FL 32708


Girard College
Cradle of Liberty Council 525
2101 S College Ave
Philadelphia, PA 19121


Girard Lions Club
Ozark Trails Council 306
950 W Saint John St
Girard, KS 66743


Girard Utd Methodist Church
Ozark Trails Council 306
614 W Saint John St
Girard, KS 66743


Girl Scouts Of Northern California
7700 Edgewater Dr, Ste 340
Oakland, CA 94621


Girl Scouts Of Usa
420 5th Ave
New York, NY 10018‐2798
Girl Soccer Club
Mecklenburg County Council 415
8403 Vermilion Dr
Charlotte, NC 28215


Girls Life Magazine
4529 Harford Rd
Baltimore, MD 21214‐9989


Girton Manufacturing Inc
Columbia‐Montour 504
160 W Main St
Millville, PA 17846


Gisela Rios
Address Redacted


Gisler PTO
Orange County Council 039
18720 Las Flores St
Fountain Valley, CA 92708


Gitlab Inc
1233 Howard St, Ste 2F
San Francisco, CA 94103


Giuseppes Restaurant
707 Main St
Mt Hope, WV 25880


Give And Take Community Services
Tecumseh 439
115 S Main St
West Mansfield, OH 43358


Giving Usa Foundation
4700 W Lake Ave
Glenview, IL 60025‐1485
Gk Holdings Inc
Attn Elia Cadet / P.O. Box 116929
dba Global Knowledge Training LLC
Atlanta, GA 30368‐6929


Gk Holdings Inc
dba Global Knowledge Training LLC
29214 Network Pl
Chicago, IL 60673


Glacier Hills Assoc
Patriots Path Council 358
100 Dolly Dr
Parsippany, NJ 07054


Glacier S Edge
P.O. Box 14135
Madison, WI 53708‐0135


Glacier S Edge Council
Glaciers Edge Council 620
P.O. Box 14135
717 Post Rd
Madison, WI 53713


Glacier S Edge Council 620
P.O. Box 14135
Madison, WI 53708‐0135


Glacier Wear
P.O. Box 1730
Greenville, ME 04441


Glade Creek Lutheran Church
Blue Ridge Mtns Council 599
3359 Webster Rd
Blue Ridge, VA 24064


Glade Run Utd Presbyterian
Moraine Trails Council 500
1091 Pittsburgh Rd
Glade Run United Presbytyerian Church
Valencia, PA 16059


Glade Run Utd Presbyterian
Moraine Trails Council 500
1091 Pittsburgh Rd
Rev Greg Wiest
Valencia, PA 16059


Glade Valley Group Of Citizens
Old Hickory Council 427
154 Phillips Akers Ln
Ennice, NC 28623


Glade Valley Lions Club
National Capital Area Council 082
36 E Frederick St
Walkersville, MD 21793


Glade Valley Lions Club
National Capital Area Council 082
P.O. Box 384
Walkersville, MD 21793


Glades County Sheriff S Office
Gulf Stream Council 085
1297 E State Rd 78
Moore Haven, FL 33471


Glades Covenant Community Church
Gulf Stream Council 085
248 US Hwy 27 S
South Bay, FL 33493


Glades Covenant Community Church
Gulf Stream Council 085
Highway 27 P.O. Box 2173
South Bay, FL 33493


Glades Covenent Community Church
Gulf Stream Council 085
248 US Hwy 27 S
South Bay, FL 33493
Gladeville Elementary School PTO
Middle Tennessee Council 560
8840 Stewarts Ferry Pike
Mount Juliet, TN 37122


Gladeville Presbyterian Church
Sequoyah Council 713
231 Ridgefield Rd Sw
Wise, VA 24293


Gladeville Utd Methodist Church
Middle Tennessee Council 560
8770 Stewarts Ferry Pike
Mount Juliet, TN 37122


Gladewater Rotary Club
East Texas Area Council 585
P.O. Box 983
Gladewater, TX 75647


Gladwyn Jones
Address Redacted


Gladwyne Elem Sch Home   Sch Assoc
Cradle Of Liberty Council 525
230 Righters Mill Rd
Gladwyne, Pa 19035


Gladys Bailey
Address Redacted


Gladys Gunn
Address Redacted


Gladys Lane
Address Redacted


Gladys Manes
Address Redacted
Gladys Mccrorey
Address Redacted


Gladys Mohamed
Address Redacted


Gladys Polk Elementary School
Bay Area Council 574
600 Audubon Woods Dr
Richwood, TX 77531


Gladys Powders
Address Redacted


Gladys Solmonson
Address Redacted


Glas
Attn Jeanne Woodall Nca1‐01
1900 S Ave
La Crosse, WI 54601


Glasco
1036‐C Reed St
Taos, NM 87571


Glasco Fire Co Inc
Rip Van Winkle Council 405
P.O. Box 157
Glasco, NY 12432


Glasgow First Church Of The Nazarene
Lincoln Heritage Council 205
600 E Main St
Glasgow, KY 42141


Glasgow Lions Club
Great Rivers Council 653
904 County Rd 214
Glasgow, MO 65254


Glass Crafters
398 Interstate Court
Sarasota, FL 34240‐8765


Glass Doctor ‐ Matthews
P.O. Box 470846
Charlotte, NC 28247


Glassboro Memorial Vfw Post 679
Garden State Council 690
275 Wilmer St
Glassboro, NJ 08028


Glassboro Police Dept
Garden State Council 690
1 S Main St
Glassboro, NJ 08028


GlassdoorCom
100 Shoreline Hwy
Mill Valley, CA 94941


Glastonbury Elks 2202
Connecticut Rivers Council, Bsa 066
98 Woodland St
S Glastonbury, CT 06073


Glastonbury Exchange Club
Connecticut Rivers Council, Bsa 066
111 Tall Timbers Ln
Glastonbury, CT 06033


Glastonbury Fire Dept
Connecticut Rivers Council, Bsa 066
2825 Main St
Glastonbury, CT 06033


Gleason Community Club
Samoset Council, Bsa 627
General Delivery
Gleason, WI 54435


Gleason Elementary PTO
Sam Houston Area Council 576
9203 Willowbridge Park Blvd
Houston, TX 77064


Gleason Gazelles Inc
West Tennessee Area Council 559
P.O. Box 373
Gleason, TN 38229


Gleasons Campers Supply, Inc
9 Pearl St
Northhampton, MA 01060


Glemif Multiservice
Puerto Rico Council 661
Cruce Davila 1835
Barceloneta, PR 00617


Glen Acres Elem Sch Parent Teacher Org
Chester County Council 539
1150 Delancey Pl
West Chester, PA 19382


Glen Allen Baptist Church
Heart of Virginia Council 602
3028 Mountain Rd
Glen Allen, VA 23060


Glen Allen High School Ptsa
Heart of Virginia Council 602
10700 Staples Mill Rd
Glen Allen, VA 23060


Glen Allen School Elementary PTA
Heart of Virginia Council 602
11101 Mill Rd
Glen Allen, VA 23060
Glen Alpine Utd Methodist Church
Piedmont Council 420
P.O. Box 576
Glen Alpine, NC 28628


Glen Arbor Community Church
Three Fires Council 127
204 Church St
West Chicago, IL 60185


Glen Arden Elementary School PTO
Daniel Boone Council 414
50 Pinehurst Cir
Arden, NC 28704


Glen Avon Presbyterian Church
Voyageurs Area 286
2105 Woodland Ave
Duluth, MN 55803


Glen Boe   Assoc, Inc
5800 Overseas Hwy, Ste 4
Marathon, FL 33050


Glen Burnie Utd Methodist Church
Baltimore Area Council 220
5 2nd   Crain Hwy
Glen Burnie, MD 21061


Glen Burnie Utd Methodist Church
Baltimore Area Council 220
5 2nd Ave Se
Glen Burnie, MD 21061


Glen Carbon Kiwanis
Greater St Louis Area Council 312
570 Glen Crossing Rd
Glen Carbon, IL 62034


Glen Cary Lutheran Church
Northern Star Council 250
15531 Central Ave Ne
Ham Lake, MN 55304


Glen Cove Ems
Theodore Roosevelt Council 386
P.O. Box 391
Glen Cove, NY 11542


Glen Dale PTA / Umc
Ohio River Valley Council 619, 7th St
Glendale, WV 26038


Glen Dale Utd Methodist
Ohio River Valley Council 619
700 Wheeling Ave
Glen Dale, WV 26038


Glen Duncan Team Up Program
Nevada Area Council 329
535 E Plumb Ln
Reno, NV 89502


Glen Goddard
Address Redacted


Glen Iris PTA
Greater Alabama Council 001
1115 11th St S
Birmingham, AL 35205


Glen Johnson
Address Redacted


Glen Lake Optimist Club
Northern Star Council 250
P.O. Box 1091
Minnetonka, MN 55345


Glen Lydell Johnson
Address Redacted
Glen Mar Utd Methodist Church
Baltimore Area Council 220
4701 New Cut Rd
Ellicott City, MD 21043


Glen Oak Learning Center
W D Boyce 138
2100 N Wisconsin Ave
Peoria, IL 61603


Glen Park Academy
Pathway To Adventure 456
5002 Madison St
Gary, IN 46408


Glen Park Elementary ‐ Gifw
Longhorn Council 662
3601 Pecos St
Fort Worth, TX 76119


Glen R Williams
Address Redacted


Glen Ridge Congregational Church
Northern New Jersey Council, Bsa 333
195 Ridgewood Ave
Glen Ridge, NJ 07028


Glen Rose First Utd Methodist Church
Longhorn Council 662
P.O. Box 426
Glen Rose, TX 76043


Glen Steenberger
Address Redacted


Glen Worden P.T.A.
Twin Rivers Council 364
30 Worden Rd
Scotia, NY 12302
Glenbrook School
Norwela Council 215
1674 Country Club Cir
Minden, LA 71055


Glenda Banister
Address Redacted


Glenda Beckmann
Address Redacted


Glenda Bowman
Address Redacted


Glenda Hooks
Address Redacted


Glenda Kautz
Address Redacted


Glenda Myers
Address Redacted


Glenda O Bryant
Address Redacted


Glenda Ronell O Bryant
Address Redacted


Glenda Rumney
Address Redacted


Glenda Scott
Address Redacted


Glenda Shivers
Address Redacted
Glendaal School Parent Teachers Assoc
Twin Rivers Council 364
774 Sacandaga Rd
Scotia, NY 12302


Glendale Clean And Beautiful
Verdugo Hills Council 058
1413 1/2 N Kenneth Rd 24
Glendale, CA 91201


Glendale First Church Of The Nazarene
Grand Canyon Council 010
5902 W Cactus Rd
Glendale, AZ 85304


Glendale Heights Utd Methodist Church
Occoneechee 421
908 Leon St
Durham, NC 27704


Glendale Heights Vfw Post 2377
Three Fires Council 127
142 E Army Trail Rd
Glendale Heights, IL 60139


Glendale Kiwanis
Verdugo Hills Council 058
3155 Montrose Ave
Glendale, CA 91214


Glendale Nazarene Church
Grand Canyon Council 010
5902 W Cactus Rd
Glendale, AZ 85304


Glendale Parent Teachers Assoc
Greater Niagara Frontier Council 380
101 Glendale Dr
Tonawanda, NY 14150


Glendale Police Deparment
Grand Canyon Council 010
6835 N 57th Dr
Glendale, AZ 85301


Glendale Police Dept
Verdugo Hills Council 058
140 N Isabel St
Glendale, CA 91206


Glendale PTO
Middle Tennessee Council 560
800 Thompson Ave
Nashville, TN 37204


Glendale Utd Methodist Church
Northern Star Council 250
13550 Glendale Rd
Savage, MN 55378


Glendale Utd Methodist Church
The Spirit of Adventure 227
392 Ferry St
Everett, MA 02149


Glendola Fire Co
Monmouth Council, Bsa 347
3404 Belmar Blvd
Wall, NJ 07719


Glendon Pixton
Address Redacted


Glendora Community Church
Greater Los Angeles Area 033
645 N Grand Ave
Glendora, CA 91741


Glendora Police Dept
Greater Los Angeles Area 033
150 S Glendora Ave
Glendora, CA 91741
Glendora Utd Methodist Church
Greater Los Angeles Area 033
201 E Bennett Ave
Glendora, CA 91741


Gleneagle Sertoma Club
Pikes Peak Council 060
13395 Voyager Pkwy, Ste 130
Colorado Springs, CO 80921


Glenelg Umc
Baltimore Area Council 220
13900 Burntwoods Rd
Glenelg, MD 21737


Glenelg Utd Methodist Church
Baltimore Area Council 220
14001 Burntwoods Rd
Glenelg, MD 21737


Glenham School PTO
Hudson Valley Council 374
5 Chase Dr
Glenham, NY 12577


Glenkirk
Northeast Illinois 129
711 Indian Spring Ln
Niles C I L A
Buffalo Grove, IL 60089


Glenkirk Elementary School
National Capital Area Council 082
8584 Sedge Wren Dr
Gainesville, VA 20155


Glenmoore Methodist Church
Chester County Council 539
P.O. Box 37
Glenmoore, PA 19343
Glenn A Pratt Post 1460
Allegheny Highlands Council 382
P.O. Box 274
Machias, NY 14101


Glenn Adams
Address Redacted


Glenn Alexander
Address Redacted


Glenn Barclay
Address Redacted


Glenn Cromartie
Address Redacted


Glenn Gabbard
Address Redacted


Glenn Gamble
Address Redacted


Glenn Harp   Sons Inc
P.O. Box 208
Tucker, GA 30085


Glenn Ingram
Address Redacted


Glenn Memorial Umc
Atlanta Area Council 092
1660 N Decatur Rd Ne
Atlanta, GA 30307


Glenn Morrison
Address Redacted


Glenn Overby Ii
Address Redacted


Glenn Pannell Sr
Address Redacted


Glenn Schalk
Address Redacted


Glenn Simar
Address Redacted


Glenn Utd Methodist Church
Atlanta Area Council 092
1660 N Decatur Rd Ne
Atlanta, GA 30307


Glenn Williamson
Address Redacted


Glenn Young
Address Redacted


Glenna Brandenburg
Address Redacted


Glennon Heights Elementary PTA
Denver Area Council 061
11025 W Glennon Dr
Lakewood, CO 80226


Glens Falls Elks 81
Twin Rivers Council 364
32 Cronin Rd
Queensbury, NY 12804


Glens Key, Inc
1147 S State
Salt Lake City, UT 84111‐4596
Glenshaw Valley Presbyterian Church
Laurel Highlands Council 527
1520 Butler Plank Rd
Glenshaw, PA 15116


Glenvale Church Of God
New Birth of Freedom 544
1970 New Valley Rd
Marysville, PA 17053


Glenview Community Church
Northeast Illinois 129
1000 Elm St
Glenview, IL 60025


Glenview Rotary
Northeast Illinois 129
P.O. Box 223
Glenview, IL 60025


Glenview Sunrise Rotary
Northeast Illinois 129
P.O. Box 382
Glenview, IL 60025


Glenview Utd Methodist Church
Northeast Illinois 129
727 Harlem Ave
Glenview, IL 60025


Glenville Volunteer Fire Co
Greenwich 067
266 Glenville Rd
Greenwich, CT 06831


Glenwa, Inc
Cobra Kayaks/Paddles
P.O. Box 3134
Gardena, CA 90247


Glenwood
Boys   Girls Club Of Amarillo   Canyon
Golden Spread Council 562
1923 S Lincoln St
Amarillo, Tx 79109


Glenwood ‐ Highland Parent Support Group
Buffalo Trace 156
901 Sweetser Ave
Evansville, IN 47713


Glenwood Landing American Legion P336
Theodore Roosevelt Council 386
190 Glen Head Rd
Glen Head, NY 11545


Glenwood Leadership Academy
Buffalo Trace 156
901 Sweetser Ave
Evansville, IN 47713


Glenwood Lions Club
Baltimore Area Council 220
2949 Rt. 97
Glenwood, MD 21738


Glenwood Lutheran Church
Northern Lights Council 429
206 Minnesota Ave E
Glenwood, MN 56334


Glenwood Lutheran Church Alc
Northern Lights Council 429
206 Minnesota Ave E
Glenwood, MN 56334


Glenwood Optimist Club
Mid‐America Council 326
301 1st St
Glenwood, IA 51534


Glenwood Ruritan Club
Piedmont Council 420
1742 Old US 221 S
Marion, NC 28752


Glenwood Ruritan Club
Piedmont Council 420
6283 US 221 S
Marion, NC 28752


Glenwood School Community Assoc
Baden‐Powell Council 368
377 Jones Rd
Vestal, NY 13850


Glide Rural Fire Protection District
Oregon Trail Council 697
P.O. Box 446
Glide, OR 97443


Glitterboxx Sutdios LLC
Coastal Georgia Council 099
12 Bushwood Dr
Savannah, GA 31407


Global Cash Card
7 Corporate Park Dr, Ste 130
Irvine, CA 92606


Global Collect Bv
135 S Lasalle St, Ste 1525
Chicago, IL 60603


Global Computer Supplies
c/o Syx Services
P.O. Box 440939
Miami, FL 33144‐0939


Global Consumer Products, Inc
120 Brighton Rd, Unit 3
Clifton, NJ 07012


Global Equipment Co
29833 Network Pl
Chicago, IL 60673‐1298


Global Equipment Co
P.O. Box 100090
Buford, GA 30515


Global Equipment Co Inc
2505 Mill Ctr Pkwy
Buford, GA 30518‐3700


Global Equipment Co Inc
Global Industrial
29833 Network Pl
Chicago, IL 60673‐1298


Global Experience Specialist Inc
Bank of America
P.O. Box 96174
Chicago, IL 60693


Global Fireproof Solutions Inc
1502 Max Hooks Rd, Ste E
Groveland, FL 34736


Global Group Inc
P.O. Box 1771
Grapevine, TX 76099


Global Knowledge
Attn Registration
9000 Regency Pkwy
Cary, NC 27518


Global Med Industries LLC
dba Heartsmart
P.O. Box 78908
Milwaukee, WI 53278‐8908


Global Scuba Mfg Of Texas LLC
4674 Priem Ln, Ste 402
Pflugerville, TX 78660
Global Spectrum
dba Kovalchick Conven.      Athletic Dept
711 Pratt Dr
Indiana, PA 15705


Global Strategy Group LLC
215 Park Ave S, 15th Fl
New York, NY 10003


Global Training And Certification
Institute LLC
3300 NW 185th Ave, Ste 108
Portland, OR 97229


Global‐E
45 Leather Ln
London, Ec1N 7Tj
United Kingdom


Globalscape
P.O. Box 2567
San Antonio, TX 78299‐2567


Globalstar Canada
P.O. Box 8013 Postal Station A
Toronto, On M5W 3W5
Canada


Globalstar Inc
dba Globalstar Usa
300 Holiday Square Blvd
Covington, LA 70433


Globalstar Inc
dba Globalstar Usa
P.O. Box 30519
Los Angeles, CA 90030‐0519


Globe Equipment Co
300 Dewey St
Bridgeport, CT 06605


Globe Express Services ‐ Ny
160‐51 Rockaway Blvd
Jamaica, NY 11434


Globe Express Services Ltd
8025 Arrowridge Blvd
Charlotte, NC 28273


Globe Express Services Ltd
P.O. Box 603624
Charlotte, NC 28260‐3624


Globe Express Services Ltd
P.O. Box 6063
Hermitage, PA 16148‐0923


Globe Pequot Press
P.O. Box 480
Guilford, CT 06437


Globe‐Tex Apparel
1071 Ave of the Americas, Ste 802
New York, NY 10018


Globex International
P.O. Box 776
Chester, NJ 07930


Gloria Ainsworth Center
Arbuckle Area Council 468
1220 L St Ne
Ardmore, OK 73401


Gloria Atkins
Address Redacted


Gloria Bottom
Address Redacted
Gloria Bradley
Address Redacted


Gloria Bryant
Address Redacted


Gloria Cox
Address Redacted


Gloria Dei Lutheran Church
Baltimore Area Council 220
461 College Pkwy
Arnold, MD 21012


Gloria Dei Lutheran Church
Bay Area Council 574
18220 Upper Bay Rd
Houston, TX 77058


Gloria Dei Lutheran Church
Bay‐Lakes Council 635
1000 W Quincy St
Hancock, MI 49930


Gloria Dei Lutheran Church
Cascade Pacific Council 492
402 Crawford St
Kelso, WA 98626


Gloria Dei Lutheran Church
Colonial Virginia Council 595
250 Fox Hill Rd
Hampton, VA 23669


Gloria Dei Lutheran Church
Connecticut Rivers Council, Bsa 066
355 Camp St
Bristol, CT 06010
Gloria Dei Lutheran Church
Cradle of Liberty Council 525
570 Welsh Rd
Huntingdon Valley, PA 19006


Gloria Dei Lutheran Church
Dan Beard Council, Bsa 438
2718 Dixie Hwy
Lakeside Park, KY 41017


Gloria Dei Lutheran Church
Gamehaven 299
1212 12th Ave Nw
Rochester, MN 55901


Gloria Dei Lutheran Church
Gateway Area 624
310 W Elizabeth St
Tomah, WI 54660


Gloria Dei Lutheran Church
Great Alaska Council 610
8427 Jewel Lake Rd
Anchorage, AK 99502


Gloria Dei Lutheran Church
Heart of America Council 307
5409 NW 72nd St
Kansas City, MO 64151


Gloria Dei Lutheran Church
Illowa Council 133
606 4th Ave
Durant, IA 52747


Gloria Dei Lutheran Church
Mount Baker Council, Bsa 606
3215 Larch Way
Lynnwood, WA 98036


Gloria Dei Lutheran Church
Pacific Harbors Council, Bsa 612
1515 Harrison Ave Nw
Olympia, WA 98502


Gloria Dei Lutheran Church
Pathway To Adventure 456
4501 Main St
Downers Grove, IL 60515


Gloria Dei Lutheran Church
Quivira Council, Bsa 198
1101 N River Blvd
Wichita, KS 67203


Gloria Dei Lutheran Church
Sioux Council 733
5500 E 57th St
Sioux Falls, SD 57108


Gloria Dei Lutheran Church
Suffolk County Council Inc 404
22 E 18th St
Huntington Station, NY 11746


Gloria Dei Lutheran Church
Theodore Roosevelt Council 386
600 New Hyde Park Rd
New Hyde Park, NY 11040


Gloria Dei Luthern Church
Dan Beard Council, Bsa 438
2718 Dixie Hwy
Lakeside Park, KY 41017


Gloria Fansler
Address Redacted


Gloria Garrison
Address Redacted


Gloria Granier
Address Redacted
Gloria Jefferies
Address Redacted


Gloria Joiner
Address Redacted


Gloria Lohn
Address Redacted


Gloria Lundin
Address Redacted


Gloria Mccuistion
Address Redacted


Gloria Murray
Address Redacted


Gloria Newcom
Address Redacted


Gloria Osburn
Address Redacted


Gloria Porter
Address Redacted


Gloria Rector Vessel Doc Inc
P.O. Box 6750
Lakeland, FL 33807


Gloria Robinson
Address Redacted


Gloria Silvira
Address Redacted
Gloria Underwood
Address Redacted


Gloria Uny
Address Redacted


Gloria Utley
Address Redacted


Gloria Young
Address Redacted


Glory House Catering Co LLC
dba Bjk Glory House Catering Co LLC
109 S Main St
Irving, TX 75060


Glory Huckabee
Address Redacted


Glossbrenner U M Church
Pennsylvania Dutch Council 524
713 Church St
Mount Joy, PA 17552


Gloucester American Legion Post 75
Colonial Virginia Council 595
6139 George Washington Memorial Hwy
Gloucester, VA 23061


Gloucester City Police Athletic League
Garden State Council 690
51 S Brown St
Gloucester City, NJ 08030


Gloucester Elks Lodge 892
The Spirit of Adventure 227
101 Atlantic Rd
Gloucester, MA 01930
Gloucester Utd Methodist Church
The Spirit of Adventure 227
436 Washington St
Gloucester, MA 01930


Glover Rubber Stamp   Crafts
1015 Goodnight Blvd
Wills Point, TX 75169


Glyndon Lions Club
Northern Lights Council 429
209 Seter Cir
Glyndon, MN 56547


Glynn County Fire Rescue
Coastal Georgia Council 099
121 Public Safety Blvd
Brunswick, GA 31525


Glynn County Police Dept
Coastal Georgia Council 099
157 Public Safety Blvd
Brunswick, GA 31525


Gm Plan Works
Attn Pamela Wasson Asst
Print Media Buyer
150 W Jefferson, Ste 400
Detroit, MI 48226


G‐Men Of Walker County
Black Warrior Council 006
2800 6th Ave S
Jasper, AL 35501


Gmr Assoc, Inc
Seneca Waterways 397
271 Marsh Rd, Ste 2
Pittsford, NY 14534


Gms ‐ Parent Teacher Organization
Three Harbors Council 636
6800 Schoolway
Greendale, WI 53129


Gnadenhutten Utd Methodist Church
Buckeye Council 436
P.O. Box 37
Gnadenhutten, OH 44629


Gnb Enterprises
dba Carolina Golf Cars
8740 Wilkinson Blvd
Charlotte, NC 28214


Gneil
720 International Pkwy
P.O. Box 450939
Sunrise, FL 33345‐0939


Gnet Group LLC
2675 Long Lake Rd, Ste 150
Roseville, MN 55113


Gnm Financ Svc, Inc
Dba Idcservco Bus Svc
Attn Acct Receivable
P.O. Box 1925
Culver City, Ca 90232‐1925


Gnoss Field Community Assoc
Marin Council 035
451 Airport Rd 5
Novato, CA 94945


Go Camping
Calle La Republica 892
San Isidro, 15073
Peru


Go Church
Southwest Florida Council 088
590 Tamiami Trail
Port Charlotte, FL 33953


Go Enterprise
27765 San Pasqual St
Mission Viejo, CA 92692


Go Express Travel Inc
3200 W Venture Blvd
Bloomington, IN 47404


Go Fish Media, LLC
90 S Cole Rd
Boise, ID 83709


Go For Broke Assoc
Aloha Council, Bsa 104
P.O. Box 88234
Honolulu, HI 96830


Go Landscaping
486 Katherine St
Summerland Key, FL 33042


Go Source LLC
2012 W Hwy 160
Mill, SC 29708


Go1Ng Places, LLC
Val Lucas
1343 N Wells St
Chicago, IL 60610‐2440


Go2Marine
19351 8th Ave Ne, Ste 101
Poulsbo, WA 98370


Go2Realty Pros Inc
Greater Yosemite Council 059
440 Sullivan Ct
Mountain House, CA 95391
Goa Merchandising
1710 Gen George Patton Dr 104
Brentwood, TN 37027


Goal Zero LLC
Dept La24016
Pasadena, CA 91185‐4016


Goal Zero, LLC
675 W 14600 S
Bluffdale, UT 84065


GodaddyCom LLC
14455 N Hayden Rd, Ste 226
Scottsdale, AZ 85260‐6993


Goddard Lions Club
Quivira Council, Bsa 198
9 Argon Dr
Daniel J Funke
Goddard, KS 67052


Goddard Lions Club
Quivira Council, Bsa 198
9 Argon Dr
Goddard, KS 67052


Goddu Printing Inc
5 Candlestick Ln
Salem, NH 03079


Godley Park District
Rainbow Council 702
500 S Kankakee St
Godley, IL 60407


Godley Utd Methodist Church
Longhorn Council 662
P.O. Box 267
Godley, TX 76044
Goegleins Inc
Anthony Wayne Area 157
7311 Maysville Rd
Fort Wayne, IN 46815


Goelzer Industries
201 E Trinity Blvd
Grand Prairie, TX 75050


Goff Law Group
Attn Brooke Goff
2475 Albany Ave, Ste 205
West Hartford, CT 06117


Goff Law Group, LLC
Attn Brooke A Goff, Esq
re Plaintiff
2475 Albany Ave, Ste 205
West Hartford, CT 06117


Goffstown Citizens Committee
Daniel Webster Council, Bsa 330
111 Goffstown Back Rd
Goffstown, NH 03045


Goffstown Fire Dept
Daniel Webster Council, Bsa 330
18 Church St
Goffstown, NH 03045


Goffstown Police Dept
Daniel Webster Council, Bsa 330
326 Mast Rd
Goffstown, NH 03045


Gohn Bros Manufacturing Co
P.O. Box 1110
Middlebury, IN 46540‐0111


Golconda Utd Methodist Church
Lincoln Heritage Council 205
225 E Washington St
Golconda, IL 62938


Gold Creek Community Church
Mount Baker Council, Bsa 606
4326 148th St Se
Mill Creek, WA 98012


Gold Cross Ems
Georgia‐Carolina 093
4328 Wheeler Rd
Martinez, GA 30907


Gold N Things
65 Tripps Ln
East Providence, RI 02915


Gold River Discovery Center
Golden Empire Council 047
2200 Roaring Camp Dr
Gold River, CA 95670


Gold Star Bible Class
Norwela Council 215
903 Broadway St
Minden, LA 71055


Gold Team Real Estate
California Inland Empire Council 045
90 W Grand Blvd, Ste 101
Corona, CA 92882


Gold Trail Grange 452
Golden Empire Council 047
P.O. Box 16
Coloma, CA 95613


Golda Meir Elementary School
Three Harbors Council 636
1555 N Dr Martin Luther King Dr
Milwaukee, WI 53212
Golden Acres Baptist Church
Sam Houston Area Council 576
2812 Pansy St
Pasadena, TX 77503


Golden Empire
251 Commerce Cir
Sacramento, CA 95853‐0558


Golden Empire Cncl 47
P.O. Box 13558
Sacramento, CA 95853‐3558


Golden Empire Council
251 Commerce Cir
Sacramento, CA 95815


Golden Equipment Co
721 Candlearia Ne
Albuquerque, NM 87107


Golden Fields Owners Associatin Inc
Three Harbors Council 636
P.O. Box 483
Oak Creek, WI 53154


Golden Gait Trailers
5051 Davidson Hwy
Concord, NC 28027


Golden Gate Kiwanis
Southwest Florida Council 088
P.O. Box 990252
Naples, FL 34116


Golden Hill Utd Methodist Church
Connecticut Yankee Council Bsa 072
210 Elm St
Bridgeport, CT 06604
Golden K Kiwanis Club Of Carmel Indiana
Crossroads of America 160
7 Lincoln Ct
Carmel, IN 46032


Golden Lions Club
Mississippi Valley Council 141 141
307 Quincy St
Golden, IL 62339


Golden Lodge 1123 ‐ Utd Steelworkers
Buckeye Council 436
1234 Harrison Ave Sw
Canton, OH 44706


Golden Motors Inc
Southeast Louisiana Council 214
15101 Hwy 3235
Cut Off, LA 70345


Golden Nugget Nautical Society
Golden Empire Council 047
3254 Marrissey Ln
Sacramento, CA 95834


Golden Oak Montessori Charter School
San Francisco Bay Area Council 028
2652 Vergil Ct
Castro Valley, CA 94546


Golden Optimist Club
Denver Area Council 061
16281 W 16th Pl
Golden, CO 80401


Golden Spread
401 Tascosa Rd
Amarillo, TX 79124‐1515


Golden Spread Cncl 562
401 Tascosa Rd
Amarillo, TX 79124‐1619
Golden Trophy   Promotions
7812 Wminster Blvd
Westminster, CA 92683


Golden Valley Luthern Church
Northern Star Council 250
5501 Glenwood Ave
Golden Valley, MN 55422


Golden West College
Attn Garland Moore
15744 Golden W St
Huntington Beach, CA 92647


Goldendale Church Of Nazarene
Cascade Pacific Council 492
P.O. Box 1500
Goldendale, WA 98620


Goldens Bridge Fire Dept
Westchester Putnam 388
254 Waccabuc Rd
Goldens Bridge, NY 10526


Goldman Antonetti   Cordova Psc
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Goldman Sachs
Attn Dallas Mildfelt
71 S Wacker Dr, Ste 500
Chicago, IL 60606‐4673


Goldman Sachs
P.O. Box 219711
Kansas, MO 64121


Goldmine Property Services, Inc
2526 Logan Dr
Loveland, CO 80538


Goldsboro Fire Dept
Tuscarora Council 424
204 S Center St
Goldsboro, NC 27530


Goldsboro Police Dept
Tuscarora Council 424
P.O. Box A
Goldsboro, NC 27533


Goldsmith Elementary School
Lincoln Heritage Council 205
3520 Goldsmith Ln
Louisville, KY 40220


Goldston Utd Methodist Church
Occoneechee 421
185 Hillcrest Ave
Goldston, NC 27252


Goldston Utd Methodist Church
Occoneechee 421
P.O. Box 99
Goldston, NC 27252


Goldstream Lions
Midnight Sun Council 696
2968 Goldstream Rd
Fairbanks, AK 99709


Goldy Locks Inc
17048 S Oak Park Ave
Tinley Park, IL 60477


Goleta Noontime Rotary
Los Padres Council 053
P.O. Box 164
Goleta, CA 93116
Golf Connections
dba Darling Promo
P.O. Box 27619
Austin, TX 78755


Golf Course Specialists Inc
972 Ohio Dr Sw
Washington, DC 20024


Golfview Elementary School
Central Florida Council 083
1530 S Fiske Blvd
Rockledge, FL 32955


Golfwear Plus
1429 Shadowrock Ct
Marietta, GA 30062


Goliad Lions Club
South Texas Council 577
P.O. Box 793
Goliad, TX 77963


Golightly Education Center
Great Lakes Fsc 272
5536 Saint Antoine St
Detroit, MI 48202


Golin Harris International Inc
13455 Noel Rd, Fl 11
Dallas, TX 75240


Gombert Concerned Citizens Group
Three Fires Council 127
2707 Ridge Rd
Aurora, IL 60504


Gomer Congregational Church
Black Swamp Area Council 449
7370 Gomer Rd
Gomer, OH 45809
Gomez Heritage Elementary School PTA
Mid‐America Council 326
5101 S 17th St 6
Omaha, NE 68107


Gonzaga University
Attn Student Accounts
502 E Boone Ave
Spokane, WA 99258


Gonzales Lions Club
Istrouma Area Council 211
P.O. Box 852
Gonzales, LA 70707


Gonzales Police Dept
Silicon Valley Monterey Bay 055
109 4th St
Gonzales, CA 93926


Gonzales Youth Center
Capitol Area Council 564
P.O. Box 13
Gonzales, TX 78629


Gonzalez Elementary School PTA
Rio Grande Council 775
201 E Martin Ave
Mcallen, TX 78504


Gonzalez Methodist Mens Club
Gulf Coast Council 773
P.O. Box 38
Gonzalez, FL 32560


Gonzalez Utd Methodist Church
Gulf Coast Council 773
P.O. Box 38
Gonzalez, FL 32560


Good Fellowship Ambulance
Chester County Council 539
600 Montgomery Ave
West Chester, PA 19380


Good Hope Baptist Church
Pine Burr Area Council 304
331 Purvis Oloh Rd
Purvis, MS 39475


Good Hope Country Day School
National Capital Area Council 082
Rr 1 Box 6199
Kingshill, VI 00850


Good Hope Lutheran Church
Black Swamp Area Council 449
P.O. Box 379
300 S Main St
Arlington, OH 45814


Good Hope Missionary Baptist Church
Georgia‐Carolina 093
710 E Cedar St
Augusta, GA 30901


Good Housekeeping
P.O. Box 6093
Harlan, IA 51593‐6093


Good Magazine
P.O. Box 5792
Harlan, IA 51593‐1292


Good News Ministries Inc
South Georgia Council 098
P.O. Box 1457
Americus, GA 31709


Good News Presbyterian Church
North Florida Council 087
1357 Wildwood Dr
Saint Augustine, FL 32086
Good News Utd Methodist Church
Capitol Area Council 564
1610 E New Hope Dr
Leander, TX 78641


Good News Utd Methodist Church
Gulf Coast Council 773
4747 US Hwy 98 W
Santa Rosa Beach, FL 32459


Good Samaritan Episcopal Church
Chief Seattle Council 609
1757 244th Ave Ne
Sammamish, WA 98074


Good Samaritan Episcopal Church
San Diego Imperial Council 049
4321 Egate Mall
San Diego, CA 92121


Good Samaritan Lutheran Church
Las Vegas Area Council 328
8425 W Windmill Ln
Las Vegas, NV 89113


Good Samaritan Society Vetrans Assoc.
Central Florida Council 083
4115 Sgate Dr
Kissimmee, FL 34746


Good Samaritan Utd Methodist Church
Northern Star Council 250
5730 Grove St
Edina, MN 55436


Good Samaritan Utd Methodist Church
Silicon Valley Monterey Bay 055
19624 Homestead Rd
Cupertino, CA 95014
Good Samaritan Utd Methodist Church
Suwannee River Area Council 664
3720 Capital Cir Se
Tallahassee, FL 32311


Good Shepard Parish
Daniel Webster Council, Bsa 330
151 Emery St
Berlin, NH 03570


Good Shepard Utd Methodist Church
Pikes Peak Council 060
1201 Leta Dr
Colorado Springs, CO 80911


Good Shepherd Baptist Church
Heart of Virginia Council 602
1127 N 28th St
Richmond, VA 23223


Good Shepherd Catholic Church
Buffalo Trace 156
2301 N Stockwell Rd
Evansville, IN 47715


Good Shepherd Catholic Church
Denver Area Council 061
2626 E 7th Ave Pkwy
Denver, CO 80206


Good Shepherd Catholic Church
Golden Empire Council 047
9539 Racquet Ct
Elk Grove, CA 95758


Good Shepherd Catholic Church
Greater Alabama Council 001
13550 Chaney Thompson Rd Se
Huntsville, AL 35803


Good Shepherd Catholic Church
Heart of America Council 307
12800 W 75th St
Shawnee, KS 66216


Good Shepherd Catholic Church
National Capital Area Council 082
8710 Mount Vernon Hwy
Alexandria, VA 22309


Good Shepherd Catholic Church
Pacific Skyline Council 031
901 Oceana Blvd
Pacifica, CA 94044


Good Shepherd Catholic Church
Suwannee River Area Council 664
4665 Thomasville Rd
Tallahassee, FL 32309


Good Shepherd Catholic Community
Longhorn Council 662
1000 Tinker Rd
Colleyville, TX 76034


Good Shepherd Catholic Parish
Sequoia Council 027
506 N Garden St
Visalia, CA 93291


Good Shepherd Catholic School
San Diego Imperial Council 049
8180 Gold Coast Dr
San Diego, CA 92126


Good Shepherd Church
Gamehaven 299
559 20th St Sw
Rochester, MN 55902


Good Shepherd Church
San Diego Imperial Council 049
3990 Bonita Rd
Bonita, CA 91902
Good Shepherd Church Elca
President Gerald R Ford 781
3990 112th Ave
Holland, MI 49424


Good Shepherd Community Of Christ
Heart of America Council 307
4341 Blue Ridge Blvd
Kansas City, MO 64133


Good Shepherd Community Utd Methodist
New Birth of Freedom 544
2135 Ritner Hwy
Carlisle, PA 17015


Good Shepherd Episcopal Church
Calcasieu Area Council 209
715 Kirkman
Lake Charles, LA 70602


Good Shepherd Episcopal Church
National Capital Area Council 082
818 University Blvd W
Montgomery County
Silver Spring, MD 20901


Good Shepherd Evangelical Lutheran Ch
Gateway Area 624
4141 Mormon Coulee Rd
La Crosse, Wi 54601


Good Shepherd Foundation
Attn Cindy Jordan
700 E Marshall
Longview, TX 75601


Good Shepherd Gladstone
Heart of America Council 307
2800 NE 64th St
Gladstone, MO 64119
Good Shepherd Lutheran
Great Lakes Fsc 272
814 N Campbell Rd
Royal Oak, MI 48067


Good Shepherd Lutheran Church
Bay‐Lakes Council 635
2736 Glendale Ave
Green Bay, WI 54313


Good Shepherd Lutheran Church
Bay‐Lakes Council 635
331 Pine St
Peshtigo, WI 54157


Good Shepherd Lutheran Church
Cascade Pacific Council 492
16001 NE 34th St
Vancouver, WA 98682


Good Shepherd Lutheran Church
Chester County Council 539
107 S 17th Ave
Coatesville, PA 19320


Good Shepherd Lutheran Church
Cornhusker Council 324
P.O. Box 90
2668 Pioneers Rd
Milford, NE 68405


Good Shepherd Lutheran Church
Garden State Council 690
120 White Horse Pike
Lindenwold, NJ 08021


Good Shepherd Lutheran Church
Gateway Area 624
504 S Main St
Viroqua, WI 54665
Good Shepherd Lutheran Church
Glaciers Edge Council 620
700 N Wright Rd
Janesville, WI 53546


Good Shepherd Lutheran Church
Glaciers Edge Council 620
7291 County Rd Pd
Verona, WI 53593


Good Shepherd Lutheran Church
Great Alaska Council 610
501 E Bogard Rd
Wasilla, AK 99654


Good Shepherd Lutheran Church
Great Lakes Fsc 272
1950 S Baldwin Rd
Lake Orion, MI 48360


Good Shepherd Lutheran Church
Great Salt Lake Council 590
8575 S 700 E
Sandy, UT 84070


Good Shepherd Lutheran Church
Great Swest Council 412
5 Entrada Del Norte
Edgewood, NM 87015


Good Shepherd Lutheran Church
Greater Tampa Bay Area 089
439 E Norvell Bryant Hwy
Hernando, FL 34442


Good Shepherd Lutheran Church
Greater Tampa Bay Area 089
501 S Dale Mabry Hwy
Tampa, FL 33609


Good Shepherd Lutheran Church
Greater Wyoming Council 638
51 Primrose St
Casper, WY 82604


Good Shepherd Lutheran Church
Hudson Valley Council 374
112 N Main St
Pearl River, NY 10965


Good Shepherd Lutheran Church
Laurel Highlands Council 527
1700 Bower Hill Rd
Pittsburgh, PA 15243


Good Shepherd Lutheran Church
Laurel Highlands Council 527
418 Maxwell Dr
Pittsburgh, PA 15236


Good Shepherd Lutheran Church
Longhorn Council 662
4809 S Colony Blvd
The Colony, TX 75056


Good Shepherd Lutheran Church
Marin Council 035
1180 Lynwood Dr
Novato, CA 94947


Good Shepherd Lutheran Church
Mayflower Council 251
183 W Main St
Westborough, MA 01581


Good Shepherd Lutheran Church
Minsi Trails Council 502
2115 Washington Blvd
Easton, PA 18042


Good Shepherd Lutheran Church
Minsi Trails Council 502
Old Carriage Rd
Northampton, PA 18067
Good Shepherd Lutheran Church
Northern Star Council 250
7600 Cahill Ave
Inver Grove Heights, MN 55076


Good Shepherd Lutheran Church
Occoneechee 421
7000 Creedmoor Rd
Raleigh, NC 27613


Good Shepherd Lutheran Church
Orange County Council 039
4800 Irvine Center Dr
Irvine, CA 92604


Good Shepherd Lutheran Church
Samoset Council, Bsa 627
2000 Roosevelt Dr
Plover, WI 54467


Good Shepherd Lutheran Church
Sequoia Council 027
5140 N Fruit Ave
Fresno, CA 93711


Good Shepherd Lutheran Church
Sioux Council 733
1429 N Dakota St
Aberdeen, SD 57401


Good Shepherd Lutheran Church
Southwest Florida Council 088
4770 Orange Grove Blvd
North Fort Myers, FL 33903


Good Shepherd Lutheran Church
Theodore Roosevelt Council 386
99 Central Park Rd
Plainview, NY 11803
Good Shepherd Lutheran Church
Three Fires Council 127
1310 Shepherd Dr
Naperville, IL 60565


Good Shepherd Lutheran Church
Twin Valley Council Bsa 283
291 1st St Sw
Wells, MN 56097


Good Shepherd Lutheran Church
Washington Crossing Council 777
877 St Rd
Southampton, PA 18966


Good Shepherd Lutheran Church ‐ Aberdeen
Sioux Council 733
1429 N Dakota St
Aberdeen, SD 57401


Good Shepherd Lutheran Church ‐ Bismarck
Northern Lights Council 429
106 Osage Ave
Bismarck, ND 58501


Good Shepherd Lutheran Church ‐ Elca
Miami Valley Council, Bsa 444
901 E Stroop Rd
Kettering, OH 45429


Good Shepherd Lutheran Church Tulsa
Indian Nations Council 488
8730 E Skelly Dr
Tulsa, OK 74129


Good Shepherd Luthern Church
Atlanta Area Council 092
1208 Rose Creek Dr
Woodstock, GA 30189


Good Shepherd Methodist Church
National Capital Area Council 082
305 Smallwood Dr
Waldorf, MD 20602


Good Shepherd Parish
Dan Beard Council, Bsa 438
8815 E Kemper Rd
Cincinnati, OH 45249


Good Shepherd Parish
Daniel Webster Council, Bsa 330
151 Emery St
Berlin, NH 03570


Good Shepherd Parish
Laurel Highlands Council 527
1024 Maple Ave
Braddock, PA 15104


Good Shepherd Parish
Pine Tree Council 218
291 Main St
Saco, ME 04072


Good Shepherd Parish
Pine Tree Council 218
297 Main St
Saco, ME 04072


Good Shepherd Parish
Water and Woods Council 782
4470 N Washington St
Ubly, MI 48475


Good Shepherd Presbyterian Church
Northeast Georgia Council 101
1400 Killian Hill Rd
Lilburn, GA 30047


Good Shepherd Presbytrerian Church
Northeast Georgia Council 101
1400 Killian Hill Rd Sw
Lilburn, GA 30047
Good Shepherd Roman Catholic Church
Iroquois Trail Council 376
5442 Tonawanda Creek Rd
North Tonawanda, NY 14120


Good Shepherd Roman Catholic Church
New Birth of Freedom 544
3435 Trindle Rd
Camp Hill, PA 17011


Good Shepherd School
Northern Star Council 250
145 Jersey Ave S
Golden Valley, MN 55426


Good Shepherd Umc
National Capital Area Council 082
305 Smallwood Dr
Waldorf, MD 20602


Good Shepherd Umc N Oak
Heart of America Council 307
9555 N Oak Trfy
Kansas City, MO 64155


Good Shepherd Utd Church Of Christ
Catalina Council 011
17750 S La Canada Dr
Sahuarita, AZ 85629


Good Shepherd Utd Church Of Christ
Hawk Mountain Council 528
170 Tuckerton Rd
Reading, PA 19605


Good Shepherd Utd Church Of Christ
Hawk Mountain Council 528
35 W Philadelphia Ave
Boyertown, PA 19512
Good Shepherd Utd Methodist
Circle Ten Council 571
750 W Lucas Rd
Lucas, TX 75002


Good Shepherd Utd Methodist Ch Murray
Lincoln Heritage Council 205
1101 Fairlane Dr
Murray, Ky 42071


Good Shepherd Utd Methodist Church
Anthony Wayne Area 157
4700 Vance Ave
Fort Wayne, IN 46815


Good Shepherd Utd Methodist Church
Crossroads of America 160
2015 S Arlington Ave
Indianapolis, IN 46203


Good Shepherd Utd Methodist Church
Denver Area Council 061
3960 E 128th Ave
Thornton, CO 80241


Good Shepherd Utd Methodist Church
French Creek Council 532
P.O. Box 198
Leeper, PA 16233


Good Shepherd Utd Methodist Church
Greater Alabama Council 001
1418 Old Railroad Bed Rd
Madison, AL 35757


Good Shepherd Utd Methodist Church
Jersey Shore Council 341
207 Nfield Ave
Northfield, NJ 08225


Good Shepherd Utd Methodist Church
Mecklenburg County Council 415
13110 Moss Rd
Charlotte, NC 28273


Good Shepherd Utd Methodist Church
Middle Tennessee Council 560
525 New Shackle Island Rd
Hendersonville, TN 37075


Good Shepherd Utd Methodist Church
Potawatomi Area Council 651
209 W Wisconsin Ave
Oconomowoc, WI 53066


Good Shepherd Utd Methodist Church
Sam Houston Area Council 576
20155 Cypresswood Dr
Cypress, TX 77433


Good Shepherd Utd Methodist Church
The Spirit of Adventure 227
471 Main St
Haverhill, MA 01830


Good Technology Inc
15042 Collections Ctr Dr
Chicago, IL 60693


Good Turn Northwest, Inc
Cascade Pacific Council 492
11627 SW 31st Ct
Portland, OR 97219


Good Vibrations
P.O. Box 387
Damascus, MD 20872


Goodale Iii Loren J
500 Norway
Grayling, MI 49738


Goodell Web Design    Marketing
Great Alaska Council 610
2521 E Mountain Village Dr
Wasilla, AK 99654


Goodeye Photoshare Inc
1600 Big Bend Blvd
Richmond Heights, MO 63117


Gooding 1St Ward ‐ Wendell Stake
Snake River Council 111
1228 Main St
Gooding, ID 83330


Gooding 2Nd Ward ‐ Wendell Stake
Snake River Council 111
1228 Main St
Gooding, ID 83330


Gooding 3Rd Ward ‐ Wendell Stake
Snake River Council 111
317 Main St
Gooding, ID 83330


Gooding Lions Club
Snake River Council 111
422 Idaho St
Gooding, ID 83330


Goodison Scout Committee
Great Lakes Fsc 272
1104 Eagle Nest Dr
Rochester, MI 48306


Goodland Academy
Circle Ten Council 571
1216 N 4200 Rd
Hugo, OK 74743


Goodmans, Inc
dba Goodmans Interior Structures
P.O. Box 53512
Phoenix, AZ 85072‐3512
Goodpasture Christian Elementary School
Middle Tennessee Council 560
619 W Due W Ave
Madison, TN 37115


Goodrich Memorial Utd Methodist Churc
Last Frontier Council 480
200 W Hayes St
Norman, OK 73069


Goodrich Mud Inc
Utah National Parks 591
3211 E Hwy 40
Vernal, UT 84078


Goodrich School Gso
Three Fires Council 127
3450 Hobson Rd
Woodridge, IL 60517


Goodrich Utd Methodist Church
Water and Woods Council 782
8071 S State Rd
Goodrich, MI 48438


Goodwill Fire Co No. 2
Monmouth Council, Bsa 347
311 Washington Ave
Spring Lake, NJ 07762


Goodwin Animal Hospital
Tukabatchee Area Council 005
4701 Atlanta Hwy
Montgomery, AL 36109


Goodwyn, Mills And Cawood, Inc
Tukabatchee Area Council 005
2660 Echase Ln
Montgomery, AL 36117
Goodyear Boating   Yachting Assoc
Great Trail 433
3565 S Main St
Akron, OH 44319


Goodyear Heights Presbyterian Church
Great Trail 433
1430 Goodyear Blvd
Akron, OH 44305


Goodyear Police Dept
Grand Canyon Council 010
175 N 145th Ave
Goodyear, AZ 85338


Google, Inc
1600 Amphitheatre Pkwy
Mountain View, CA 94043


Google, Inc
Department 33654
P.O. Box 39000
San Francisco, CA 94139


Goose Creek Cisd Police Dept
Sam Houston Area Council 576
6001 E Wallisville Rd
Baytown, TX 77521


Goose Creek Police Dept
Coastal Carolina Council 550
519 N Goose Creek Blvd
Goose Creek, SC 29445


Goose Creek Rural Fire Dept
Coastal Carolina Council 550
907 Red Bank Rd
Goose Creek, SC 29445


Goose Pond Scout Reservation
Northeastern Pennsylvania Council 501
72 Montage Mountain Rd
Moosic, PA 18507


Gopher
Nw5634
P.O. Box 1450
Minneapolis, MN 55485


Gopro
26740 Network Pl
Chicago, IL 60673‐1267


Gordo Utd Methodist Church
Black Warrior Council 006
P.O. Box 343
Gordo, AL 35466


Gordon Blocker Consulting LLC
1701 Sagebrush Trl
Grapevine, TX 76051


Gordon Brown
Address Redacted


Gordon Bull
Address Redacted


Gordon Corcoran
Address Redacted


Gordon Davis Jr
Address Redacted


Gordon Dewitt
Address Redacted


Gordon Food Service Inc
P.O. Box 88029
Chicago, IL 60680‐1029
Gordon Harris
Address Redacted


Gordon Hild
Address Redacted


Gordon Ivey
Address Redacted


Gordon Lang
Address Redacted


Gordon Lew
Address Redacted


Gordon Moll
Address Redacted


Gordon Moulton
Address Redacted


Gordon Przybylski
Address Redacted


Gordon Rubard
Address Redacted


Gordon Sidler
Address Redacted


Gordon St Christian Church
East Carolina Council 426
118 E Gordon St
Kinston, NC 28501


Gordon Vicker
Address Redacted
Gordon William Garrett
Address Redacted


Gordons Chapel Utd Methodist Church
Northeast Georgia Council 101
6625 Nowhere Rd
Hull, GA 30646


Gordonsville Baptist Church
Stonewall Jackson Council 763
P.O. Box 926
Gordonsville, VA 22942


Gordonsville Utd Methodist Church
Middle Tennessee Council 560
118 Main St E
Gordonsville, TN 38563


Gordonsville Utd Methodist Church
Middle Tennessee Council 560
P.O. Box 267
Gordonsville, TN 38563


Gordonsville Utd Methodist Church
Stonewall Jackson Council 763
407 N Main St
Gordonsville, VA 22942


Gordonville Utd Methodist Church
Water and Woods Council 782
76 E Gordonville Rd
Midland, MI 48640


Goreville Utd Methodist Church
Greater St Louis Area Council 312
P.O. Box 288
Goreville, IL 62939


Gorham Emergency Medical Service
Daniel Webster Council, Bsa 330
347 Main St
Gorham, NH 03581
Gorham Scout Ranch
Great Swest Council 412
P.O. Box 459
Chimayo, NM 87522


Goshen Baptist Church
Cape Fear Council 425
4124 Mt Misery Rd Ne
Leland, NC 28451


Goshen Fire Dept Inc
Connecticut Rivers Council, Bsa 066
Goshen Rd
Waterford, CT 06385


Goshen Lions Club
Dan Beard Council, Bsa 438
P.O. Box 225
Goshen, OH 45122


Goshen PTO
Dan Beard Council, Bsa 438
6713 Bray Rd
Goshen, OH 45122


Goshen Rotary Club
Hudson Valley Council 374
P.O. Box 563
Goshen, NY 10924


Goshen Rotary Club
Hudson Valley Council 374
P.O. Box 910
Goshen, NY 10924


Goshen Scout Reservation
340 Millard Burke Memorial Hwy
Goshen, VA 24439


Gosun
1217 Ellis St
Cincinnati, OH 45223


Gotenna Inc
81 Willoughby St
Brooklyn, NY 11201


Gothenburg Lions Club
Overland Trails 322
1620 Ave D
Gothenburg, NE 69138


Gothenburg Lions Club
Overland Trails 322
1724 Ave J
Gothenburg, NE 69138


Gouverneur Lodge 217
Longhouse Council 373
Trinity Ave
Gouverneur, NY 13642


Government   Educational Furnishings
5853 Chaco Loop Ne
Rio Rancho, NM 87144


Governor Bent Parent Teacher Assoc
Great Swest Council 412
5700 Hendrix Rd Ne
Albuquerque, NM 87110


Governors Ranch Elementary PTA
Denver Area Council 061
5354 S Field St
Littleton, CO 80123


Govision LLC
8291 Gateway Dr, Ste 100
Argyle, TX 76226


Gower Elementary School PTO
Middle Tennessee Council 560
650 Old Hickory Blvd
Nashville, TN 37209


Gower West School PTO
Pathway To Adventure 456
7700 Clarendon Hills Rd
Willowbrook, IL 60527


Gpm Consulting Inc
2100 Clematis Court
Mckinney, TX 75070


Gr Manufacturing, LLC
5304 Hidden Oaks Ln
Arlington, TX 76017


Gra ‐ Ram Friends Of Scouting
Three Harbors Council 636
3951 S 58th St
Milwaukee, WI 53220


Grabber Performance Group
5760 Hawkeye Ct Sw
Wyoming, MI 49509‐9534


Grabber Performance Group
P.O. Box 27561
Salt Lake City, UT 84127‐0561


Grace A Utd Methodist Congregation
Greater Alabama Council 001
5125 Sicard Hollow Rd
Vestavia Hills, AL 35242


Grace Abbott Elementary School PTO
Mid‐America Council 326
1313 N 156th St
Omaha, NE 68118


Grace Anglican Church
North Florida Council 087
5804 US Hwy 17
Fleming Island, FL 32003


Grace Avenue Utd Methodist
Circle Ten Council 571
3521 Main St
Frisco, TX 75034


Grace Baptist Church
Daniel Boone Council 414
10 W Holden Rd
Brevard, NC 28712


Grace Baptist Church
Pennsylvania Dutch Council 524
1899 Marietta Ave
Lancaster, PA 17603


Grace Baptist Church
Westchester Putnam 388
52 S 6th Ave
Mount Vernon, NY 10550


Grace Baptist Church Of Gemantown
Cradle of Liberty Council 525
25 W Johnson St
Philadelphia, PA 19144


Grace Baptist Church Of Germantown
Cradle of Liberty Council 525
25 W Johnson St
29 W Johnson St
Philadelphia, PA 19144


Grace Baptist Temple
East Texas Area Council 585
119 Peavine Rd
Kilgore, TX 75662


Grace Bentley
Address Redacted
Grace Bible Church
Circle Ten Council 571
11306 Inwood Rd
Dallas, TX 75229


Grace Bible Church
Great Rivers Council 653
601 Blue Ridge Rd
Columbia, MO 65202


Grace Bible Church
Mississippi Valley Council 141 141
2880 N Il 9
Dallas City, IL 62330


Grace Bible Fellowship
Redwood Empire Council 041
642 Ellen Lynn St
Redwood Valley, CA 95470


Grace Chapel Church Of Christ
Northeast Georgia Council 101
6755 Majors Rd
Cumming, GA 30040


Grace Chapel Mens Club
Greater St Louis Area Council 312
10015 Lance Dr
Saint Louis, MO 63137


Grace Christian Center
Simon Kenton Council 441
202 Evan St
Oak Hill, OH 45656


Grace Christian School
Louisiana Purchase Council 213
4900 Jackson St
Alexandria, LA 71303
Grace Christian School
Orange County Council 039
4545 Myra Ave
Cypress, CA 90630


Grace Church
Blue Ridge Mtns Council 599
2731 Edgewood St Sw
Roanoke, VA 24015


Grace Church
Quapaw Area Council 018
12900 Cantrell Rd
Little Rock, AR 72223


Grace Church And The Incarnation
Cradle of Liberty Council 525
2645 E Venango St
Philadelphia, PA 19134


Grace Church Brooklyn Heights
Greater New York Councils, Bsa 640
254 Hicks St
Brooklyn, NY 11201


Grace Church Episcopal
Last Frontier Council 480
720 S Yukon Pkwy
Yukon, OK 73099


Grace Church In The Mountains
Daniel Boone Council 414
394 N Haywood St
Waynesville, NC 28786


Grace Church Inc
Calcasieu Area Council 209
1021 W 1st St
Deridder, LA 70634


Grace Church Ministries
Greater St Louis Area Council 312
2100 State St
Chester, IL 62233


Grace Church Nwa
Westark Area Council 016
2828 N Crossover Rd
Fayetteville, AR 72703


Grace Church Of Evergreen
Silicon Valley Monterey Bay 055
2650 Aborn Rd
San Jose, CA 95121


Grace Church Of San Luis Obispo
Los Padres Council 053
1350 Osos St
San Luis Obispo, CA 93401


Grace Church Of The Nazarene
Middle Tennessee Council 560
2620 Pennington Bend Rd
Nashville, TN 37214


Grace Church Taipei
Far E Council 803
1F 161 Mingde Rd Beitou
Taipei,
Taiwan


Grace Coastal Church PCa
Coastal Carolina Council 550
15 Williams Dr
Okatie, SC 29909


Grace College
Attn Office of Financial Aid
200 Seminary Dr
Winona Lake, IN 46590


Grace Comm Utd Methodist Ch Congreg
Norwela Council 215
9400 Ellerbe Rd
Shreveport, La 71106


Grace Community
Quapaw Area Council 018
30 2nd St
Ward, AR 72176


Grace Community Baptist Church
Heart of Virginia Council 602
2400 Pump Rd
Henrico, VA 23233


Grace Community Christian Church
Three Fires Council 127
2770 Montgomery Rd
Aurora, IL 60504


Grace Community Church
Coastal Georgia Council 099
1094 Goshen Rd
Rincon, GA 31326


Grace Community Church
Hawk Mountain Council 528
15 W Ridge St
Lansford, PA 18232


Grace Community Church
Miami Valley Council, Bsa 444
P.O. Box 24112
5001 Fishburg Rd
Huber Heights, OH 45424


Grace Community Church
Silicon Valley Monterey Bay 055
750 Paradise Rd
Prunedale, CA 93907


Grace Community Church
Stonewall Jackson Council 763
5146 Dickerson Rd
Charlottesville, VA 22911
Grace Community Church
Three Rivers Council 578
22044 Burrell Wingate Rd
Beaumont, TX 77705


Grace Community Church
Westmoreland Fayette 512
343 S Pennsylvania Ave
Uniontown, PA 15401


Grace Community Church Of Clermont Inc
Central Florida Council 083
14244 Johns Lake Rd
Clermont, FL 34711


Grace Community Presbyterian Church
Laurel Highlands Council 527
2751 Grant St
Lower Burrell, PA 15068


Grace Community Utd Methodist Church
Greater Tampa Bay Area 089
5708 Lithia Pinecrest Rd
Lithia, FL 33547


Grace Congregational Church
Green Mountain 592
8 Court St
Rutland, VT 05701


Grace Cottage Hospital
Green Mountain 592
185 Grafton Rd
Townshend, VT 05357


Grace Covenant Church
Stonewall Jackson Council 763
3337 Emmaus Rd
Rockingham, VA 22801
Grace Covenant Community Church
Susquehanna Council 533
99 Cafe Ln
Middleburg, PA 17842


Grace Covenant Presbyterian Church
Central Florida Council 083
1655 Peel Ave
Orlando, FL 32806


Grace Covenant Presbyterian Church
Daniel Boone Council 414
789 Merrimon Ave
Asheville, NC 28804


Grace Covenant Presbyterian Church
Heart of America Council 307
11100 College Blvd
Shawnee Mission, KS 66210


Grace Crossing Church Of Christ
Sam Houston Area Council 576
105 Fm 1488 Rd
Conroe, TX 77384


Grace E Wilkins
Address Redacted


Grace Eng Ev Lutheran Church
Baltimore Area Council 220
8601 Valleyfield Rd
Lutherville, MD 21093


Grace Episcopal Cathedral
Jayhawk Area Council 197
701 SW 8th Ave
Topeka, KS 66603


Grace Episcopal Church
Baltimore Area Council 220
6725 Montgomery Rd
Elkridge, MD 21075
Grace Episcopal Church
Bay Area Council 574
202 W Lang St
Alvin, TX 77511


Grace Episcopal Church
Bay‐Lakes Council 635
1011 N 7th St
Sheboygan, WI 53081


Grace Episcopal Church
Cascade Pacific Council 492
1545 Franklin Ave
Astoria, OR 97103


Grace Episcopal Church
Connecticut Rivers Council, Bsa 066
124 Maple Hill Ave
Newington, CT 06111


Grace Episcopal Church
Connecticut Rivers Council, Bsa 066
336 Main St
Old Saybrook, CT 06475


Grace Episcopal Church
Garden State Council 690
7 E Maple Ave
Merchantville, NJ 08109


Grace Episcopal Church
Great Rivers Council 653
217 Adams St
Jefferson City, MO 65101


Grace Episcopal Church
Hudson Valley Council 374
130 1st Ave
Nyack, NY 10960
Grace Episcopal Church
Indian Nations Council 488
218 N 6th St
Muskogee, OK 74401


Grace Episcopal Church
Istrouma Area Council 211
P.O. Box 28
Saint Francisville, LA 70775


Grace Episcopal Church
Lake Erie Council 440
36200 Ridge Rd
Willoughby, OH 44094


Grace Episcopal Church
Narragansett 546
104 N Washington St
North Attleboro, MA 02760


Grace Episcopal Church
Northeast Georgia Council 101
422 Brenau Ave
Gainesville, GA 30501


Grace Episcopal Church
Northeastern Pennsylvania Council 501
827 Church St
Honesdale, PA 18431


Grace Episcopal Church
Shenandoah Area Council 598
115 N Church St
Berryville, VA 22611


Grace Episcopal Church
Stonewall Jackson Council 763
123 W Washington St
Lexington, VA 24450


Grace Episcopal Church
Theodore Roosevelt Council 386
23 Cedar Shore Dr
Massapequa, NY 11758


Grace Episcopal Church
Tidewater Council 596
1400 E Brambleton Ave
Norfolk, VA 23504


Grace Episcopal Church ‐ Galveston
Bay Area Council 574
1115 36th St
Galveston, TX 77550


Grace Episcopal Church Of Glendora
Greater Los Angeles Area 033
555 E Mountain View Ave
Glendora, CA 91741


Grace Episcopal Church Of Tampa Inc
Greater Tampa Bay Area 089
15102 Amberly Dr
Tampa, FL 33647


Grace Episcopal Church Paducah
Lincoln Heritage Council 205
820 Broadway St
Paducah, KY 42001


Grace Etts
Address Redacted


Grace Ev Lutheran Church
Blackhawk Area 660
1300 Kishwaukee Valley Rd
Woodstock, IL 60098


Grace Evangelical Congregational Church
French Creek Council 532
2561 Grace Church Rd
Knox, PA 16232
Grace Evangelical Luth Ch/Mens Breakfast
Anthony Wayne Area 157
204 N Main St
Columbia City, IN 46725


Grace Evangelical Lutheran
Ohio River Valley Council 619
2105 Sunset Blvd
Steubenville, OH 43952


Grace Evangelical Lutheran Church
Bay‐Lakes Council 635
P.O. Box 117
W8014 Minnie St
Pembine, WI 54156


Grace Evangelical Lutheran Church
Central N Carolina Council 416
58 Chestnut Dr Sw
Concord, NC 28025


Grace Evangelical Lutheran Church
Green Bay
Bay‐Lakes Council 635
321 S Madison St
Green Bay, Wi 54301


Grace Evangelical Lutheran Church
Hawk Mountain Council 528
30 Liberty St
Shillington, PA 19607


Grace Evangelical Lutheran Church
Overland Trails 322
105 E 17th St
Lexington, NE 68850


Grace Evangelical Lutheran Church
Pathway To Adventure 456
7300 Div St
River Forest, IL 60305
Grace Evangelical Lutheran Church
Simon Kenton Council 441
100 E Schrock Rd
Westerville, OH 43081


Grace Evangelical Lutheran Church
Simon Kenton Council 441
8950 Refugee Rd
Pickerington, OH 43147


Grace Evangelical Lutheran Church
Tecumseh 439
1801 Saint Paris Pike
Springfield, OH 45504


Grace Evangelical Lutheran Church
The Spirit of Adventure 227
543 Greendale Ave
Needham, MA 02492


Grace Evangelical Luthern Church
Hudson Valley Council 374
25 Waterstone Rd
P.O. Box 394
Greenwood Lake, NY 10925


Grace Fellowship A Congreg, Umc
Mid Iowa Council 177
635 Pennsylvania Ave
Ottumwa, Ia 52501


Grace Fellowship Baptist Church
Alamo Area Council 583
7804 Eckhert Rd
San Antonio, TX 78240


Grace Fellowship Church
Longhorn Council 662
2964 Tx 114
Paradise, TX 76073


Grace Fellowship Church
Northeast Georgia Council 101
1440 Dogwood Rd
Snellville, GA 30078


Grace Fellowship Church
Westark Area Council 016
1007 N Nashville Ave
Russellville, AR 72802


Grace Fellowship Church Of Amador
Golden Empire Council 047
8040 S State Hwy 49
Jackson, CA 95642


Grace First Lutheran Church Of Bend
Crater Lake Council 491
P.O. Box 47
Bend, OR 97709


Grace First Presbyterian Church
Long Beach Area Council 032
3955 N Studebaker Rd
Long Beach, CA 90808


Grace First Presbyterian Church
Longhorn Council 662
606 Mockingbird Ln
Weatherford, TX 76086


Grace Harbor Lighthouse
Calcasieu Area Council 209
6118 River Rd
Lake Charles, LA 70615


Grace Herron
Address Redacted


Grace Hills Baptist Church
Blue Ridge Mtns Council 599
4320 Pumping Station Rd
Appomattox, VA 24522
Grace Hills Baptist Church
Blue Ridge Mtns Council 599
P.O. Box 807
Appomattox, VA 24522


Grace I Taylor
Address Redacted


Grace In The Desert Episcopal
Las Vegas Area Council 328
2004 Spring Gate Ln
Las Vegas, NV 89134


Grace Jennings
Address Redacted


Grace Lemier
Address Redacted


Grace Life Community Church
National Capital Area Council 082
9560 Linton Hall Rd
Bristow, VA 20136


Grace Lutheran Brotherhood ‐ Sisseton
Sioux Council 733
8 6th Ave E
Sisseton, SD 57262


Grace Lutheran Church
Baltimore Area Council 220
21 Carroll St
Westminster, MD 21157


Grace Lutheran Church
Bay‐Lakes Council 635
501 S Main St
Oconto Falls, WI 54154


Grace Lutheran Church
Blackhawk Area 660
1025 15Av
Monroe, WI 53566


Grace Lutheran Church
Buckeye Council 436
216 N Wooster Ave
Dover, OH 44622


Grace Lutheran Church
Buffalo Trail Council 567
5500 College Ave
Snyder, TX 79549


Grace Lutheran Church
Capitol Area Council 564
708 Bluff Dr
Round Rock, TX 78681


Grace Lutheran Church
Central Florida Council 083
1123 Louisiana Ave
Saint Cloud, FL 34769


Grace Lutheran Church
Chief Seattle Council 609
22975 24th Ave S
Des Moines, WA 98198


Grace Lutheran Church
Chippewa Valley Council 637
200 W Grand Ave
Eau Claire, WI 54703


Grace Lutheran Church
Circle Ten Council 571
1200 E Hebron Pkwy
Carrollton, TX 75010


Grace Lutheran Church
Cornhusker Council 324
2225 Washington St
Lincoln, NE 68502


Grace Lutheran Church
Cradle of Liberty Council 525
575 Main St
Royersford, PA 19468


Grace Lutheran Church
Cradle of Liberty Council 525
660 N Charlotte St
Pottstown, PA 19464


Grace Lutheran Church
Cradle of Liberty Council 525
801 E Willow Grove Ave
Wyndmoor, PA 19038


Grace Lutheran Church
Del Mar Va 081
2033 Graves Rd
Hockessin, DE 19707


Grace Lutheran Church
Erie Shores Council 460
705 W State St
Fremont, OH 43420


Grace Lutheran Church
Greater New York Councils, Bsa 640
31 20 21st Ave
Astoria, NY 11105


Grace Lutheran Church
Hawk Mountain Council 528
31 Liberty St
Shillington, PA 19607


Grace Lutheran Church
Hudson Valley Council 374
25 Waterstone Rd
Greenwood Lake, NY 10925
Grace Lutheran Church
Illowa Council 133
2107 Cedar St
Muscatine, IA 52761


Grace Lutheran Church
Lake Erie Council 440
203 S Washington St
Castalia, OH 44824


Grace Lutheran Church
Las Vegas Area Council 328
2101 Harrison St
Kingman, AZ 86401


Grace Lutheran Church
Lasalle Council 165
831 W Marion St
Elkhart, IN 46516


Grace Lutheran Church
Minsi Trails Council 502
300 Roseberry St
Phillipsburg, NJ 08865


Grace Lutheran Church
Minsi Trails Council 502
5907 Sullivan Trl
Nazareth, PA 18064


Grace Lutheran Church
Mountaineer Area 615
300 Gaston Ave
Fairmont, WV 26554


Grace Lutheran Church
National Capital Area Council 082
1200 Charles St
La Plata, MD 20646


Grace Lutheran Church
Northeast Illinois 129
501 Valley Park Dr
Libertyville, IL 60048


Grace Lutheran Church
Northern Star Council 250
13655 Round Lake Blvd Nw
Andover, MN 55304


Grace Lutheran Church
Northern Star Council 250
P.O. Box 549
Dawson, MN 56232


Grace Lutheran Church
Old N State Council 070
115 Unity St
Thomasville, NC 27360


Grace Lutheran Church
Ore‐Ida Council 106 ‐ Bsa 106
602 Yakima St S
Vale, OR 97918


Grace Lutheran Church
Palmetto Council 549
426 Oakland Ave
Rock Hill, SC 29730


Grace Lutheran Church
Sagamore Council 162
102 Buckingham Dr
Lafayette, IN 47909


Grace Lutheran Church
Samoset Council, Bsa 627
11284 US Hwy 10
Marshfield, WI 54449


Grace Lutheran Church
Sioux Council 733
202 2nd St Se
Watertown, SD 57201


Grace Lutheran Church
South Plains Council 694
1002 N 11th St
Lamesa, TX 79331


Grace Lutheran Church
Southern Shores Fsc 783
630 N Monroe St
Monroe, MI 48162


Grace Lutheran Church
Southern Sierra Council 030
502 N Norma St
Ridgecrest, CA 93555


Grace Lutheran Church
Texas Trails Council 561
1202 S Pioneer Dr
Abilene, TX 79605


Grace Lutheran Church
Theodore Roosevelt Council 386
311 Uniondale Ave
Uniondale, NY 11553


Grace Lutheran Church
Three Fires Council 127
493 Forest Ave
Glen Ellyn, IL 60137


Grace Lutheran Church
Three Fires Council 127
780 S Bartlett Rd
Streamwood, IL 60107


Grace Lutheran Church
Twin Valley Council Bsa 283
300 S Grant St
Fairmont, MN 56031
Grace Lutheran Church
Voyageurs Area 286
5454 Miller Trunk Hwy
Hermantown, MN 55811


Grace Lutheran Church
W.L.A.C.C. 051
4427 Overland Ave
Culver City, CA 90230


Grace Lutheran Church
Westchester Putnam 388
3830 Gomer St
Yorktown Heights, NY 10598


Grace Lutheran Church
Winnebago Council, Bsa 173
208 1st St Sw
Tripoli, IA 50676


Grace Lutheran Church ‐ Ada
Northern Lights Council 429
110 3rd Ave E
Ada, MN 56510


Grace Lutheran Church ‐ Troop 315
Central N Carolina Council 416
3020 Grace Church Rd
Salisbury, NC 28147


Grace Lutheran Church Allegheny
Laurel Highlands Council 527
3196 Sebolt Rd
South Park, PA 15129


Grace Lutheran Church And School
National Capital Area Council 082
1200 Charles St
La Plata, MD 20646


Grace Lutheran Church Of Apple Valley
Northern Star Council 250
7800 150th St W
Apple Valley, MN 55124


Grace Lutheran Church Of Miami Springs
South Florida Council 084
254 Curtiss Pkwy
Miami Springs, FL 33166


Grace Lutheran Church Sunday School
Central N Carolina Council 416
3020 Grace Church Rd
Salisbury, NC 28147


Grace Lutheran Church, Lcms
Ventura County Council 057
6190 Telephone Rd
Ventura, CA 93003


Grace Martinez
Address Redacted


Grace Mayer
Address Redacted


Grace Mcelroy
Address Redacted


Grace Merchant
Address Redacted


Grace Methodist Church
Louisiana Purchase Council 213
3401 N Trenton St
Ruston, LA 71270


Grace Methodist Church
Theodore Roosevelt Council 386
21 S Franklin Ave
Valley Stream, NY 11580
Grace Ministries
Daniel Webster Council, Bsa 330
263 Route 125
Brentwood, NH 03833


Grace Mott
Address Redacted


Grace New Hope
Northeast Georgia Council 101
1766 New Hope Rd
Lawrenceville, GA 30045


Grace Parmelee
Address Redacted


Grace Place
Middle Tennessee Council 560
4316 Central Pike
Hermitage, TN 37076


Grace Presbyterian Ch S Brunswick
Monmouth Council, Bsa 347
57 Sand Hills Rd
Kendall Park, Nj 08824


Grace Presbyterian Church
Anthony Wayne Area 157
1811 Fairhill Rd
Fort Wayne, IN 46808


Grace Presbyterian Church
Capitol Area Council 564
1705 Gattis School Rd
Round Rock, TX 78664


Grace Presbyterian Church
Circle Ten Council 571
4300 W Park Blvd
Plano, TX 75093
Grace Presbyterian Church
Cradle of Liberty Council 525
444 Old York Rd
Jenkintown, PA 19046


Grace Presbyterian Church
Denver Area Council 061
9720 US Hwy 85 N
Littleton, CO 80125


Grace Presbyterian Church
Gulf Stream Council 085
1844 Hypoluxo Rd
Lantana, FL 33462


Grace Presbyterian Church
Mt Diablo‐Silverado Council 023
2100 Tice Valley Blvd
Walnut Creek, CA 94595


Grace Presbyterian Church
Palmetto Council 549
P.O. Box 3454
Hwy 160 At Gold Hill Rd
Fort Mill, SC 29708


Grace Presbyterian Church
Sam Houston Area Council 576
10221 Ella Lee Ln
Houston, TX 77042


Grace Presbyterian Church
Yucca Council 573
8001 Magnetic St
El Paso, TX 79904


Grace Presbyterian Church Of Arlington
Longhorn Council 662
5500 Mansfield Rd
Arlington, TX 76017
Grace St Lukes Episcopal Church
Chickasaw Council 558
1720 Peabody Ave
Memphis, TN 38104


Grace Stewart
Address Redacted


Grace Tabernacle Baptist Church
Lake Erie Council 440
5020 Mayfield Rd
Lyndhurst, OH 44124


Grace Temple Ministries
Longhorn Council 662
P.O. Box 992
Temple, TX 76503


Grace Thompson
Address Redacted


Grace Ucc
Pennsylvania Dutch Council 524
22 Church St
Richland, PA 17087


Grace Utd Church Of Christ
Greater St Louis Area Council 312
4025 Wilmington Ave
Saint Louis, MO 63116


Grace Utd Church Of Christ
Greater St Louis Area Council 312
8326 Mexico Rd
Saint Peters, MO 63376


Grace Utd Church Of Christ
Uniontown
Buckeye Council 436
13275 Cleveland Ave Nw
Uniontown, Oh 44685
Grace Utd Methodist
Chattahoochee Council 091
915 E Glenn Ave
Auburn, AL 36830


Grace Utd Methodist
Juniata Valley Council 497
7990 Garlock Rd
Mapleton Depot, PA 17052


Grace Utd Methodist
Muskingum Valley Council, Bsa 467
516 Shinnick St
Zanesville, OH 43701


Grace Utd Methodist Church
Abraham Lincoln Council 144
Church   State St
400 W Morgan St
Jacksonville, IL 62650


Grace Utd Methodist Church
Baltimore Area Council 220
5407 N Charles St
Baltimore, MD 21210


Grace Utd Methodist Church
Bay‐Lakes Council 635
201 Isle Royale St
Houghton, MI 49931


Grace Utd Methodist Church
Blue Ridge Council 551
17 Austin St
Williamston, SC 29697


Grace Utd Methodist Church
Blue Ridge Council 551
627 Taylor Rd
Greer, SC 29651
Grace Utd Methodist Church
Bucktail Council 509
61 Hillcrest Dr
Punxsutawney, PA 15767


Grace Utd Methodist Church
Central Florida Council 083
499 N Country Club Rd
Lake Mary, FL 32746


Grace Utd Methodist Church
Central Florida Council 083
65 Needle Blvd
Merritt Island, FL 32953


Grace Utd Methodist Church
Chief Cornplanter Council, Bsa 538
501 Pennsylvania Ave E
Warren, PA 16365


Grace Utd Methodist Church
Coastal Georgia Council 099
6412 Waters Ave
Savannah, GA 31406


Grace Utd Methodist Church
Colonial Virginia Council 595
1209 Country Club Rd
Newport News, VA 23606


Grace Utd Methodist Church
Crossroads of America 160
1300 E Adams Dr
Franklin, IN 46131


Grace Utd Methodist Church
Dan Beard Council, Bsa 438
1200 Main St
Hamilton, OH 45013


Grace Utd Methodist Church
Del Mar Va 081
P.O. Box 156
18484 Wilson Ave
Parksley, VA 23421


Grace Utd Methodist Church
Del Mar Va 081
P.O. Box 566
Millsboro, DE 19966


Grace Utd Methodist Church
Des Moines
Mid Iowa Council 177
3700 Cottage Grove Ave
Des Moines, Ia 50311


Grace Utd Methodist Church
Erie Shores Council 460
601 E Boundary St
Perrysburg, OH 43551


Grace Utd Methodist Church
Georgia‐Carolina 093
639 Georgia Ave
North Augusta, SC 29841


Grace Utd Methodist Church
Greater Alabama Council 001
2113 Old Monrovia Rd Nw
Huntsville, AL 35806


Grace Utd Methodist Church
Greater St Louis Area Council 312
116 E Schwartz St
Salem, IL 62881


Grace Utd Methodist Church
Greater St Louis Area Council 312
220 N Tower Rd
Carbondale, IL 62901


Grace Utd Methodist Church
Greater St Louis Area Council 312
250 N Mill St
Nashville, IL 62263


Grace Utd Methodist Church
Greater St Louis Area Council 312
521 Caruthers St
Cape Girardeau, MO 63701


Grace Utd Methodist Church
Hawkeye Area Council 172
P.O. Box 256
Tiffin, IA 52340


Grace Utd Methodist Church
Heart of America Council 307
2400 E US Hwy 50
Lees Summit, MO 64063


Grace Utd Methodist Church
Jayhawk Area Council 197
2 Neosho St
Emporia, KS 66801


Grace Utd Methodist Church
Juniata Valley Council 497
P.O. Box 344
Three Springs, PA 17264


Grace Utd Methodist Church
Lasalle Council 165
3012 S Twyckenham Dr
South Bend, IN 46614


Grace Utd Methodist Church
Last Frontier Council 480
620 S Park Ln
Altus, OK 73521


Grace Utd Methodist Church
Last Frontier Council 480
6316 N Tulsa Ave
Oklahoma City, OK 73112
Grace Utd Methodist Church
Longhorn Council 662
101 W Ave F
Copperas Cove, TX 76522


Grace Utd Methodist Church
Louisiana Purchase Council 213
3401 N Trenton St
Ruston, LA 71270


Grace Utd Methodist Church
Mason Dixon Council 221
712 W Church St
Hagerstown, MD 21740


Grace Utd Methodist Church
Miami Valley Council, Bsa 444
1001 Harvard Blvd
Dayton, OH 45406


Grace Utd Methodist Church
Miami Valley Council, Bsa 444
P.O. Box 11
750 Arcanum Ithaca Rd
Pitsburg, OH 45358


Grace Utd Methodist Church
Mid‐America Council 326
112 N Walnut St
Glenwood, IA 51534


Grace Utd Methodist Church
Mid‐America Council 326
1735 Morningside Ave
Sioux City, IA 51106


Grace Utd Methodist Church
Mid‐America Council 326
311 2nd Ave W
Spencer, IA 51301
Grace Utd Methodist Church
Middle Tennessee Council 560
2905 N Mount Juliet Rd
Mount Juliet, TN 37122


Grace Utd Methodist Church
Minsi Trails Council 502
404 E Mountain Ave
Pen Argyl, PA 18072


Grace Utd Methodist Church
Mississippi Valley Council 141 141
1100 Angular St
Burlington, IA 52601


Grace Utd Methodist Church
Monmouth Council, Bsa 347
115 Saint James Ave
Union Beach, NJ 07735


Grace Utd Methodist Church
Montana Council 315
305 S 9th St
Livingston, MT 59047


Grace Utd Methodist Church
Muskingum Valley Council, Bsa 467
422 Walnut St
Coshocton, OH 43812


Grace Utd Methodist Church
National Capital Area Council 082
119 N Frederick Ave
Gaithersburg, MD 20877


Grace Utd Methodist Church
National Capital Area Council 082
9750 Wellington Rd
Manassas, VA 20110


Grace Utd Methodist Church
New Birth of Freedom 544
309 Herman Ave
Lemoyne, PA 17043


Grace Utd Methodist Church
New Birth of Freedom 544
404 Hellam St
Wrightsville, PA 17368


Grace Utd Methodist Church
North Canton
Buckeye Council 436
1720 Schneider St Nw
North Canton, Oh 44720


Grace Utd Methodist Church
North Florida Council 087
8 Carrera St
Saint Augustine, FL 32084


Grace Utd Methodist Church
North Florida Council 087
9325 W Newberry Rd
Gainesville, FL 32606


Grace Utd Methodist Church
Northeast Illinois 129
244 E Center Ave
Lake Bluff, IL 60044


Grace Utd Methodist Church
Northern New Jersey Council, Bsa 333
555 Russell Ave
Wyckoff, NJ 07481


Grace Utd Methodist Church
Northern Star Council 250
15309 Maple Island Rd
Burnsville, MN 55306


Grace Utd Methodist Church
Old N State Council 070
313 Church St
Roxboro, NC 27573


Grace Utd Methodist Church
Overland Trails 322
1832 W 9th St
Hastings, NE 68901


Grace Utd Methodist Church
Palmetto Council 549
201 S Church St
Union, SC 29379


Grace Utd Methodist Church
Patriots Path Council 358
98 N Sussex St
Dover, NJ 07801


Grace Utd Methodist Church
Quivira Council, Bsa 198
320 College St
Winfield, KS 67156


Grace Utd Methodist Church
Rainbow Council 702
1718 Avalon Ave
Joliet, IL 60435


Grace Utd Methodist Church
Sagamore Council 162
615 N 22nd St
Lafayette, IN 47904


Grace Utd Methodist Church
Sam Houston Area Council 576
1245 Heights Blvd
Houston, TX 77008


Grace Utd Methodist Church
Simon Kenton Council 441
104 S High St
Waverly, OH 45690
Grace Utd Methodist Church
South Texas Council 577
14521 Nwest Blvd
Corpus Christi, TX 78410


Grace Utd Methodist Church
Southwest Florida Council 088
13 SE 21st Pl
Cape Coral, FL 33990


Grace Utd Methodist Church
Southwest Florida Council 088
14036 Matanzas Dr
Fort Myers, FL 33905


Grace Utd Methodist Church
Southwest Florida Council 088
400 Field Ave E
Venice, FL 34285


Grace Utd Methodist Church
Tecumseh 439
P.O. Box 66
Blanchester, OH 45107


Grace Utd Methodist Church
Three Fires Council 127
300 E Gartner Rd
Naperville, IL 60540


Grace Utd Methodist Church
Twin Rivers Council 364
42 Church St
Nassau, NY 12123


Grace Utd Methodist Church
Water and Woods Council 782
4267 2 Mile Rd
Bay City, MI 48706
Grace Utd Methodist Church
Westchester Putnam 388
337 Peekskill Hollow Rd
Putnam Valley, NY 10579


Grace Utd Methodist Church
Winnebago Council, Bsa 173
9 1st St Ne
Oelwein, IA 50662


Grace Utd Methodist Church
Yucca Council 573
1206 Greenwood Ln
Alamogordo, NM 88310


Grace Utd Methodist Church ‐ Ff
Northern Lights Council 429
1100 Friberg Ave
Fergus Falls, MN 56537


Grace Utd Methodist Church ‐ Moorhead
Northern Lights Council 429
1120 17th St S
Moorhead, MN 56560


Grace Utd Methodist Church Conway
Quapaw Area Council 018
1075 Hogan Ln
Conway, AR 72034


Grace Utd Methodist Church Of Cpe Gir
Greater St Louis Area Council 312
521 Caruthers St
Cape Girardeau, MO 63701


Grace Utd Methodist Church Of Olathe
Heart of America Council 307
11485 S Ridgeview Rd
Olathe, KS 66061


Grace Utd Methodist Men Club
Winnebago Council, Bsa 173
200 14th St Nw
Mason City, IA 50401


Grace Utd Methodist Mens Club
Blue Ridge Council 551
Grace United
Methodist Church
Pickens, SC 29671


Grace Utd Methodist Mens Group
Montana Council 315
1756 S 10th St W
Missoula, MT 59801


Grace Utd Protestant Church
Pathway To Adventure 456
266 Somonauk St
Park Forest, IL 60466


Graceland College Center For Pdll, Inc
Dba Skillpath Seminars
P.O. Box 864441
Kansas City, MO 64180‐4441


Gracemed
Quivira Council, Bsa 198
1122 N Topeka St
Wichita, KS 67214


Gracemor Elementary School PTA
Heart of America Council 307
5125 N Sycamore Dr
Kansas City, MO 64119


Gracepoint At Mount Olive
Greater Alabama Council 001
2451 Mount Olive Rd
Mount Olive, AL 35117


Gracepoint Church
Greater Yosemite Council 059
801 S Lower Sacramento Rd
Lodi, CA 95242


Gracepoint Church Of The Nazarene
Heart of America Council 307
5425 Martindale Rd
Shawnee, KS 66218


Graceway Presbyterian Church
San Francisco Bay Area Council 028
1183 Quarry Ln
Pleasanton, CA 94566


Gracewood Utd Methodist Church
Georgia‐Carolina 093
2117 Tobacco Rd
Augusta, GA 30906


Graceworks Church Inc
Istrouma Area Council 211
16131 Hwy 44
Prairieville, LA 70769


Graciana R Cox
Address Redacted


Gracie Maybit
Address Redacted


Gracie Quintela
Address Redacted


Graciela Trevino
Address Redacted


Grad Cincinnati
Dan Beard Council, Bsa 438
2651 Burnet Ave
Cincinnati, OH 45219


Gradd‐Nvbaa
Las Vegas Area Council 328
404 S Boulder Hwy, Unit 90124
Henderson, NV 89009


Grady Editorial Service Inc
423 S Creek Dr
Osprey, FL 34229


Grady Gearbox Gangstaz Robotics
Atlanta Area Council 092
931 Monroe Dr NE, Ste A102‐101
Atlanta, GA 30308


Grady Mullis
Address Redacted


Grady Rasco Middle School
Bay Area Council 574
92 Lake Rd
Lake Jackson, TX 77566


Grady S Restaurant   Bar Supply
P.O. Box 1587
Pueblo, CO 81002


Grady Vap
Address Redacted


Graeme H Bagley
Address Redacted


Graf Engineering
Denver Area Council 061
1205 S Platte River Dr, Unit 200
Denver, CO 80223


Graffiti Inc
P.O. Box 931890
Cleveland, OH 44193‐1210
Grafton ‐ Congregational Church
Heart of New England Council 230
30 Grafton Cmn
Grafton, MA 01519


Grafton ‐ St Marys Catholic Church
Heart of New England Council 230
17 Waterville St
North Grafton, MA 01536


Grafton Vfw Post 3341
Lake Erie Council 440
781 Huron St
Grafton, OH 44044


Grafton Villiage Firemen Assoc
Lake Erie Council 440
1013 Chestnut St
Grafton, OH 44044


Graham A Mcconnell
Address Redacted


Graham A Patrick
Address Redacted


Graham Allen
Address Redacted


Graham Blue
Address Redacted


Graham Community Church
Water and Woods Council 782
7320 W Beard Rd
Perry, MI 48872


Graham County Sheriff S Office
Daniel Boone Council 414
P.O. Box 622
Robbinsville, NC 28771
Graham Garson
Address Redacted


Graham Gibby
Address Redacted


Graham Honaker
Address Redacted


Graham Howard
Address Redacted


Graham Lions Club
c/o Richard Vogel
Pony Express Council 311
37133 Eagle Rd
Graham, MO 64455


Graham Martin Studios LLC
26199 F M 506
La Feria, TX 78559


Graham Police Dept
Old N State Council 070
216 S Maple St
Graham, NC 27253


Graham PTA
Pacific Harbors Council, Bsa 612
10026 204th St E
Graham, WA 98338


Graham S Sawyer
Address Redacted


Graham Yachting LLC
3555 Lakefront Trl
Helena, AL 35022
Graham Yachting LLC
c/o James R Graham
73800 Overseas Hwy
Islamorada, FL 33036


Grainfield Community Devt Commitee
Coronado Area Council 192
P.O. Box 25
Grainfield, KS 67737


Grainger
6708 Grade Ln, Ste 701
Louisville, KY 40213


Grainger
Dept 802392720
P.O. Box 419267
Kansas City, MO 64141‐6267


Grainger
Dept 885467530
Palentine, IL 60038‐0001


Gra‐Mar Middle School‐Pto
Middle Tennessee Council 560
575 Joyce Ln
Nashville, TN 37216


Gramling Utd Methodist Church
Palmetto Council 549
P.O. Box 58
Gramling, SC 29348


Grammarly, Inc
548 Market St, 35410
San Francisco, CA 94104


Granbury First Utd Methodist Church
Longhorn Council 662
P.O. Box 70
Granbury, TX 76048
Granby Church Of God
Ozark Trails Council 306
P.O. Box 243
Granby, MO 64844


Granby Elementary
Simon Kenton Council 441
2106 Stowbridge Rd
Dublin, OH 43016


Granby First Church Of God
Ozark Trails Council 306
234 Cobb Hill Rd
Grandby, MO 64844


Granch Golf Club
7600 Gainey Club Dr
Scottsdale, AZ 85258


Grand   Benedicts Inc
301 N E 2nd Ave
Portland, OR 97232


Grand   Benedicts Inc
6140 SW Macadam Ave
Portland, OR 97239‐3648


Grand American Hotel Co
555 S Main St
Salt Lake City, UT 84111


Grand Avenue Urgent Care
Longs Peak Council 062
3236 E Grand Ave, Ste D
Laramie, WY 82070


Grand Avenue Utd Methodist Ch Stuttgart
Quapaw Area Council 018
803 S Grand Ave
Stuttgart, Ar 72160
Grand Blanc Huntman Club
Water and Woods Council 782
P.O. Box 828
Grand Blanc, MI 48480


Grand Blanc Masonic Lodge 571
Water and Woods Council 782
522 E Grand Blanc Rd
Grand Blanc, MI 48439


Grand Boulevard Fire Co
Twin Rivers Council 364
1079 Balltown Rd
Niskayuna, NY 12309


Grand Canyon
2969 N Greenfield Rd
Phoenix, AZ 85016‐7715


Grand Canyon Cncl 10
2969 N Greenfield Rd
Phoenix, AZ 85016‐7715


Grand Canyon Council
2969 N Greenfield Rd
Phoenix, AZ 85016‐7715


Grand Canyon University
Accounts Receivable
P.O. Box 11590
Phoenix, AZ 85061


Grand Chute Lions Club
Bay‐Lakes Council 635
1221 W Woodstone Dr
Appleton, WI 54914


Grand Columbia
12 N 10th Ave
Yakima, WA 25304
Grand Columbia Cncl No 614
12 N 10th Ave
Yakima, WA 98902


Grand Coulee Dam Rotary Club
Grand Columbia Council 614
P.O. Box 367
Grand Coulee, WA 99133


Grand Ely Lodge
1914 S 7th St
Brainerd, MN 56401


Grand Ely Lodge
400 N Pioneer Rd
Ely, MN 55731


Grand Floral
One Market Pl, 33rd Fl
San Diego, CA 92101


Grand Forks 2Nd Ward, Fargo Nd Stake
Northern Lights Council 429
2814 Cherry St
Grand Forks, ND 58201


Grand Forks Police Dept
Northern Lights Council 429
122 S 5th St
Grand Forks, ND 58201


Grand Grove Of Druids Of Santa Rosa
Redwood Empire Council 041
1011 College Ave
Santa Rosa, CA 95404


Grand Hotel, Mackinac Island
2177 Commons Pkwy
Okemos, MI 48864
Grand Hyatt Dfw
P.O. Box 974413
Dallas, TX 75397‐4413


Grand Isle Vfw
Green Mountain 592
General Delivery
Grand Isle, VT 05458


Grand Lake Sailing Club
Cherokee Area Council 469 469
P.O. Box 31700
Grove, OK 74345


Grand Ledge Lions Club
Water and Woods Council 782
P.O. Box 6
Grand Ledge, MI 48837


Grand Ledge Masonic Lodge
Water and Woods Council 782
200 W River St
Grand Ledge, MI 48837


Grand Lodge Masons Sside Boys   Girls
Northern Star Council 250
11501 Masonic Home Dr
Minneapolis, Mn 55437


Grand Lodge Of Masons
Northern Star Council 250
11501 Masonic Home Dr
Minneapolis, MN 55437


Grand Nation
Cherokee Area Council 469 469
P.O. Box 572
Vinita, OK 74301


Grand Nellie Inc
7 Palm Dr
Key W, Fl 33040


Grand Nellie Inc
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Grand Peak Academy
Pikes Peak Council 060
4769 Spotted Horse Dr
Colorado Springs, CO 80923


Grand Point Church
New Birth of Freedom 544
2230 Grand Point Rd
Chambersburg, PA 17202


Grand Prairie Police Dept
Circle Ten Council 571
1525 Arkansas Ln
Grand Prairie, TX 75052


Grand Prairie Professional Baseball
P.O. Box 530251
Grand Prairie, TX 75053


Grand Prairie PTO
Rainbow Council 702
Grand Prairie Pto
3100 Caton Farm Rd
Plainfield, IL 60544


Grand Rapids Baptist Church
President Gerald R Ford 781
4525 Stauffer Ave Se
Grand Rapids, MI 49508


Grand Rapids Police Dept
President Gerald R Ford 781
1 Monroe Center St Nw
Grand Rapids, MI 49503
Grand Rapids Uni Preparatory Assoc
President Gerald R Ford 781
P.O. Box 3127
Grand Rapids, Mi 49501


Grand Rapids Utd Methodist Church
Voyageurs Area 286
1701 SE 5th Ave
Grand Rapids, MN 55744


Grand Reserve Of Naperville
Attn Lindsey Pastern
504 Chamberlain Ln
Naperville, IL 60540


Grand River Conservation Club
Water and Woods Council 782
7345 Lyons Rd
Portland, MI 48875


Grand River Home Design
Pony Express Council 311
25869 Lilac Ave
Gallatin, MO 64640


Grand Terrace Lions Club
California Inland Empire Council 045
22130 Barton Rd
Grand Terrace, CA 92313


Grand Teton
3910 S Yellowstone Hwy
Idaho Falls, ID 83402


Grand Teton Campers
Grand Teton Council 107
3910 S Yellowstone Hwy
Idaho Falls, ID 83402


Grand Teton Cncl 107
3910 S Yellowstone Hwy
Idaho Falls, ID 83402


Grand Traverse Metro Fire Dept
President Gerald R Ford 781
897 Parsons Rd
Traverse City, MI 49686


Grand Trunk
8136 Monticello Ave
Skokie, IL 60076‐3326


Grand Valley Fire Protection District
Denver Area Council 061
124 Stone Quarry Rd
Parachute, CO 81635


Grand View University
Mid Iowa Council 177
1200 Grandview Ave
Des Moines, IA 50316


Grande Colonial
910 Prospect St
La Jolla, CA 92037


Grandview Elementary PTO
Greater St Louis Area Council 312
11470 Hwy C
Hillsboro, MO 63050


Grandview Elementary School
Westmoreland Fayette 512
188 Recreation Rd
Derry, PA 15627


Grandview Lutheran Church
Mid Iowa Council 177
1300 Hull Ave
Des Moines, IA 50316


Grandview Umc
Pennsylvania Dutch Council 524
888 Pleasure Rd
Lancaster, PA 17601


Grandview Utd Methodist Chiurch
Northeast Iowa Council 178
3342 John Wesley Dr
Dubuque, IA 52002


Grandview Utd Methodist Church
Heart of America Council 307
12613 Grandview Rd
Grandview, MO 64030


Grandville Jenison Rotary Club
President Gerald R Ford 781
P.O. Box 281
Grandville, MI 49468


Grandville Utd Methodist Church
President Gerald R Ford 781
3140 Wilson Ave Sw
Grandville, MI 49418


Grandy Lions
Central Minnesota 296
P.O. Box 30
Grandy, MN 55029


Grandy Lions Club
Northern Star Council 250
2749 County Rd 6 Ne
Grandy, MN 55029


Grange Supply Inc
145 NE Gilman Blvd
Issaquah, WA 98027


Granger Business Assoc Inc
Lasalle Council 165
51663 Deer Trail Dr
Granger, IN 46530
Granger Utd Methodist Church
Great Trail 433
1235 Granger Rd
Medina, OH 44256


Grangeville Elks Lodge 1825
Inland Nwest Council 611
111 S Meadow St
Grangeville, ID 83530


Granite City Optimist Club
Greater St Louis Area Council 312
P.O. Box 951
Granite City, IL 62040


Granite Falls Fire Dept
Piedmont Council 420
119 N Main St
Granite Falls, NC 28630


Granite Gear
2312 10th St
P.O. Box 278
Two Harbors, MN 55616‐0278


Granite Gear LLC
P.O. Box 278
2312 10th St
Two Harbors, MN 55616‐0278


Granite Seed
1697 W 2100 N
Lehi, UT 84043


Granite Telecommunications
100 Newport Ave Ext
Quincy, MA 02171


Granite Telecommunications
Client Id 311
P.O. Box 983119
Boston, MA 02298‐3119


Graniterock
Silicon Valley Monterey Bay 055
P.O. Box 50001
Watsonville, CA 95077


Granlibakken Management Co Ltd
dba Granlibakken Tahoe
P.O. Box 6329
Tahoe City, CA 96145


Grannys Alliance Holdings Inc
Southern Ops
105 Fernwood
Pass Christian, MS 39571


Grant   Power Landscaping Inc
700 E Roosevelt Rd
West Chicago, IL 60185


Grant Community Center
Central Florida Council 083
P.O. Box 44
Grant, FL 32949


Grant Creek Kiwanis
Montana Council 315
P.O. Box 16643
Missoula, MT 59808


Grant Dealy
Address Redacted


Grant E Otto
Address Redacted


Grant Fry
Address Redacted
Grant Lions Club
Overland Trails 322
5 Pkwy Ave
Grant, NE 69140


Grant Martin
Address Redacted


Grant Mason Dollman
Address Redacted


Grant Memorial Utd Methodist Church
Katahdin Area Council 216
79 Fleetwood St
Presque Isle, ME 04769


Grant Neuer
Address Redacted


Grant Olson
Address Redacted


Grant Parish School Board
Attn Sales Tax Dept
P.O. Box 208
Colfax, LA 71417‐0208


Grant Reigelman
Address Redacted


Grant Robinson
Address Redacted


Grant S Supermarket
1808 Jefferson St
Bluefield, WV 24701


Grant School Parent Teacher Organization
Illowa Council 133
705 Barry Ave
Muscatine, IA 52761


Grant Scouting Organization
Greater Alabama Council 001
453 Olinger Rd
Scottsboro, AL 35769


Grant Thorn Reigelman
Address Redacted


Grant Thornton Hong Kong Ltd
20th Fl Sunning Plaza
10 Hysan Ave
Causeway Bay
Hong Kong


Grant Thornton, LLP
33911 Treasury Ctr
Chicago, IL 60694‐3900


Grant Thornton, LLP
P.O. Box 532019
Atlanta, GA 30353‐2019


Grant Van Eck
Address Redacted


Grant W Hodges
Address Redacted


Grant Wesleyen Church
President Gerald R Ford 781
688 W 112th St
Grant, MI 49327


Grant Wilkins
Address Redacted


Grant Wood Parents Youth Ord Inc
Hawkeye Area Council 172
P.O. Box 2107
Cedar Rapids, IA 52406


Grantham Fire Dept
Daniel Webster Council, Bsa 330
P.O. Box 80
Grantham, NH 03753


Grantham Frederick
Address Redacted


Granton Rotary Club
Chippewa Valley Council 637
P.O. Box 62
Granton, WI 54436


Grantsville Volunteer Fire Dept Auxially
Laurel Highlands Council 527
P.O. Box 248
Grantsville, MD 21536


Granville American Legion Post 180
W D Boyce 138
209 N Mccoy St
Granville, IL 61326


Granville American Legion Post 323
Twin Rivers Council 364
10 Bolumbus St
Granville, NY 12832


Granville County Sherifts Office
Occoneechee 421
143 Williamsboro St
Oxford, NC 27565


Granville Masonic Lodge 1093
W D Boyce 138
307 S Mccoy St
P.O. Box 58
Granville, IL 61326
Granville Rotary Club
c/o Danielle Park
Twin Rivers Council 364
53 Mettowee St
Granville, NY 12832


Granville Utd Methodist Church
Juniata Valley Council 497
1346 N River Rd
P.O. Box 142
Granville, PA 17029


Grapevine Catering Co LLC
5755 Mountain Hawk Way 208
Santa Rosa, CA 95409


Grapevine Church Of Christ
Longhorn Council 662
525 N Park Blvd
Grapevine, TX 76051


Grapevine Golf Course
P.O. Box 2252
Grapevine, TX 76099


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Albuquerque, NM 87113


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Dallas, TX 75208


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Carrollton, TX 75006


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P.O. Box 780
Little Elm, TX 75068
Graphic Iii Papers Inc
307 Eisenhower Ln So
Yorkbrook Industrial Park
Lombard, IL 60148


Graphics Group Inc
7810 Solution Center
Chicago, IL 60677‐7008


Graphis
P.O. Box 1020
Sewickley, PA 15143


Grass Lick Batptist Church
Buckskin 617
Pleasant Valley Rd
Kenna, WV 25248


Grass Valley Elks Lodge 538
Golden Empire Council 047
109 S School St
Grass Valley, CA 95945


Grass Valley Host Lions Club
Golden Empire Council 047
P.O. Box 2388
Grass Valley, CA 95945


Grassi   Co
Greater New York Councils, Bsa 640
488 Madison Ave
New York, NY 10022


Grassy Creek Elementary School
Crossroads of America 160
10330 Prospect St
Indianapolis, IN 46239


Grassy Creek Utd Methodist Church
Old Hickory Council 427
291 Klondike Rd
State Rd, NC 28676


Gravely Tractor   Lawn Equipment
2 Carney Commercial Court
Dunbar, WV 25064


Gravenstein Lions Club
Redwood Empire Council 041
P.O. Box 572
Sebastopol, CA 95473


Graves Dougherty Hearon    Moody PC
401 Congress Ave, Ste 2200
Austin, TX 78701


Graves Dougherty Hearon      Moody PC
P.O. Box 98
Austin, TX 78767


Graves Elementary
Northeast Georgia Council 101
1700 Graves Rd
Norcross, GA 30093


Graves Memorial Presbyterian Church
Tuscarora Council 424
201 Fayetteville St
Clinton, NC 28328


Gravic Inc
17 General Warren Blvd
Malvern, PA 19355


Gravity Logic Inc
7470 Ambassador Crescent
Whistler, BC V0N 1B7
Canada


Gravotech
P.O. Box 934020
Atlanta, GA 31193‐4020


Gravotech, Inc Dba Gravograph
2200 Nmont Pkwy
Duluth, GA 30096


Grawn Utd Methodist Church
President Gerald R Ford 781
1260 S W Silver Lake Rd
Traverse City, MI 49685


Gray Line Of Denver
P.O. Box 17646
Denver, CO 80217‐0646


Gray Ruritan Club
Sequoyah Council 713
P.O. Box 8625
Gray, TN 37615


Gray Summit Lions Club
Greater St Louis Area Council 312
P.O. Box 103
Gray Summit, MO 63039


Gray Summit Lions Club
Greater St Louis Area Council 312
P.O. Box 97
Gray Summit, MO 63039


Gray Utd Methodist Church
Central Georgia Council 096
P.O. Box 416
Gray, GA 31032


Grayarc
101 E 9th St
Waynesboro, PA 17268


Graybar
P.O. Box 403062
Atlanta, GA 30384‐3062


Grays Chapel Utd Methodist Church
Old N State Council 070
5056 Nc 22 N
Franklinville, NC 27248


Grays Utd Methodist Church
Juniata Valley Council 497
5687 W Buffalo Run Rd
Port Matilda, PA 16870


Grayson Buchholz
Address Redacted


Grayson County High School
Lincoln Heritage Council 205
340 School House Rd
Leitchfield, KY 42754


Grayson County Middle School
Lincoln Heritage Council 205
726 John Hill Taylor Dr
Leitchfield, KY 42754


Grayson Day
Address Redacted


Grayson Elementary PTA
Great Lakes Fsc 272
3800 W Walton Blvd
Waterford, MI 48329


Grayson L Kirkman
Address Redacted


Grayson Masonic Lodge 549
Northeast Georgia Council 101
1203 Willow Trce
Grayson, GA 30017
Grayson P Radvansky
Address Redacted


Grayson W Costlow
Address Redacted


Graysville Utd Methodist Church
Cherokee Area Council 556
P.O. Box 39
2331 Graysville Rd
Ringgold, GA 30736


Greasewood Ward ‐ LDS Tucson West Stake
Catalina Council 011
2002 N Greasewood Rd
Tucson, AZ 85745


Great Alaska
3117 Patterson St
Anchorage, AK 99504‐4041


Great Alaska Cncl 610
3117 Patterson St
Anchorage, AK 99504‐4041


Great Alaska Council
Great Alaska Council 610
3117 Patterson St
Anchorage, AK 99504


Great Alaska Council, Bsa
3117 Patterson
Anchorage, AK 99504


Great American Illustrators
155 Water St
Stonington Borough, CT 06378


Great American Opportunities Inc
Attn Payment Processing Office
P.O. Box 305142
Nashville, TN 37230‐5142


Great American Packaging, Inc
4361 S Soto St
Vernon, CA 90058


Great American Products Ltd
1661 S Sequin Ave
New Braunfels, TX 78130


Great American Products Ltd
P.O. Box 2515
San Antonio, TX 78299


Great American Property
Casualty Ins Grp
301 E 4th St
Cincinnati, Oh 45202


Great Bridge Baptist Church
Tidewater Council 596
640 Battlefield Blvd S
Chesapeake, VA 23322


Great Bridge Presbyterian Church
Tidewater Council 596
333 Cedar Rd
Chesapeake, VA 23322


Great Bridge Utd Methodist Church
Tidewater Council 596
201 Stadium Dr
Chesapeake, VA 23322


Great Circle
Ozark Trails Council 306
1212 W Lombard St
Springfield, MO 65806


Great Divide Ski Bike      Hike
400 N Santa Fe Ave
Pueblo, CO 81003


Great Falls Kiwanis Club
Montana Council 315
P.O. Box 1208
Great Falls, MT 59403


Great Hearts Northern Oaks
Alamo Area Council 583
17223 Jones Maltsberger Rd
San Antonio, TX 78247


Great Island Presbyterian Church
Susquehanna Council 533
12 W Water St
Lock Haven, PA 17745


Great Lakes Fsc
1776 W Warren Ave
Detroit, MI 48208‐2215


Great Lakes Fsc 784
1776 W Warren Ave
Detroit, MI 48208‐2215


Great Lakes Higher Education Corp
P.O. Box 530229
Atlanta, GA 30353‐0229


Great Lakes Water Sports Institute
Greater Niagara Frontier Council 380
3621 Stony Point Rd
Grand Island, NY 14072


Great Life Ranch LLC
Sam Houston Area Council 576
2531 S Cherry St
Tomball, TX 77375


Great Northwest Crossing Scouting Assoc
Alamo Area Council 583
7051 Shadow Run
San Antonio, TX 78250


Great River Fire Dept
Suffolk County Council Inc 404
River Rd
Great River, NY 11739


Great River Health System
Mississippi Valley Council 141 141
1221 S Gear Ave
West Burlington, IA 52655


Great River Rotary
Central Minnesota 296
1248 7th Ave N
Sauk Rapids, MN 56379


Great Rivers
1203 Fay St
Columbia, MO 65201


Great Rivers Cncl No 653
1203 Fay St
Columbia, MO 65201


Great Rivers Oa Chapter
Northern Star Council 250
393 Marshall Ave
Saint Paul, MN 55102


Great Salt Lake
8389 S 700 W
Sandy, UT 84070


Great Salt Lake Cncl 590
525 Foothill Blvd
Salt Lake City, UT 84113‐1199


Great Salt Lake Council/Deseret Peak
Great Salt Lake Council 590
446 E 1310 N
Tooele, UT 84074


Great Smoky Mountain
P.O. Box 51885
Knoxville, TN 37950‐1885


Great Smoky Mountain Cncl No 557
1333 Old Weisgarber Rd
P.O. Box 51885
Knoxville, TN 37950‐1885


Great Southwest
5841 Office Blvd Ne
Albuquerque, NM 87109‐5820


Great Southwest Cncl No 412
5841 Office Blvd, Ne
Albuquerque, NM 87109‐5820


Great Southwest Council 412
5841 Office Blvd Ne
Albuquerque, NM 87109‐5820


Great Stuff Convention Bags
P.O. Box 7271
Newark, DE 19714


Great Trail
4500 Hudson Dr
Stow, OH 44224‐1702


Great Trl Cncl 433
4500 Hudson Dr
Stow, OH 44224


Great Valley Fire Dept
Allegheny Highlands Council 382
Depot St
Great Valley, NY 14741
Great Valley Volunteer Fire Co
Allegheny Highlands Council 382
6042 Depot St
P.O. Box 142
Great Valley, NY 14741


Great West Indies Tea Co, Ltd
dba Quality Food St Croix
6096 Castle Coakley
Christiansted, VI 00820


Great White North Communications Ltd
49 Bathurst St, Ste 101
Toronto, ON M5V 2P2
Canada


Great Wolf Lodge
1 Great Wolf Dr
Scotrun, PA 18355


Greatamerica Financial Svcs Corp
P.O. Box 660831
Dallas, TX 75266‐0831


Greater Alabama
P.O. Box 43307
Birmingham, AL 35243‐0307


Greater Alabama Cncl No 1
516 Liberty Pkwy
P.O. Box 43307
Birmingham, AL 35243‐0307


Greater Alabama Council, Bsa
P.O. Box 43307
Birmingham, AL 35243‐0307


Greater Albuquerque Housing Partnership
Great Swest Council 412
320 Gold Ave SW, Ste 918
Albuquerque, NM 87102


Greater Allen Chapel Ame Church
Central Florida Council 083
2416 Lipscomb St
Melbourne, FL 32901


Greater Anderson Rotary Club 1
Blue Ridge Council 551
3010 S Main St
Anderson, SC 29624


Greater Atlanta Christian School
Northeast Georgia Council 101
Box 4277
Norcross, GA 30091


Greater Bellevue Baptist Church
Central Georgia Council 096
4041 Mumford Rd
Macon, GA 31204


Greater Centennial Amezion Church
Westchester Putnam 388
114 W 4th St
Mount Vernon, NY 10550


Greater Clearfield Chamber Of Commerce
Bucktail Council 509
125 E Market St
Clearfield, PA 16830


Greater Dallas Chamber
700 N Pearl St, Ste 1200
Dallas, TX 75201


Greater Damascus Ch Christ Holiness Usa
Andrew Jackson Council 303
131 E Whitworth St
Hazlehurst, Ms 39083
Greater Ebenezer Baptist Church
Sam Houston Area Council 576
6600 Saint Augustine St
Houston, TX 77021


Greater Enrichment Program Ashley Park
Mecklenburg County Council 415
2401 Belfast Dr
Charlotte, NC 28208


Greater Enrichment Program Hidden Valley
Mecklenburg County Council 415
2035 Patton Ave
Charlotte, NC 28216


Greater Fairview Baptist Church
Andrew Jackson Council 303
2545 Newport St
Jackson, MS 39213


Greater Friendship Missionary Baptist Ch
Central Georgia Council 096
1220 Rev Jl Mills Sr Way
Macon, Ga 31201


Greater Grant Memorial Ame Church
North Florida Council 087
5533 Gilchrist Rd
Jacksonville, FL 32219


Greater Hope Ministries, Inc
North Florida Council 087
1702 N Davis St
Jacksonville, FL 32209


Greater Horsham Chamber Of Commerce
Cradle of Liberty Council 525
P.O. Box 1926
Horsham, PA 19044


Greater Imani Church
Chickasaw Council 558
3824 Austin Peay Hwy
Memphis, TN 38128


Greater King David Baptist Church
Istrouma Area Council 211
222 Blount Rd
Baton Rouge, LA 70807


Greater Latrobe Jr High School
Westmoreland Fayette 512
130 High School Rd
Latrobe, PA 15650


Greater Latrobe Junior High School
Westmoreland Fayette 512
131 Arnold Palmer Dr
Latrobe, PA 15650


Greater Life Inc
Northern New Jersey Council, Bsa 333
272 Chancellor Ave
Newark, NJ 07112


Greater Life Inc
Northern New Jersey Council, Bsa 333
272 Chancellor Ave
P.O. Box 8447
Newark, NJ 07112


Greater Los Angeles Area
2333 Scout Way
Los Angeles, CA 90026


Greater Los Angeles Area Cncl 33
2333 Scout Way
Los Angeles, CA 90026‐4995


Greater Lowell Cncl 238
60 Carlisle St
Chelmsford, MA 01824‐3208
Greater Mattoon Area Advancement     Gmaa
Bay‐Lakes Council 635
310 State Ave
P.O. Box 225
Mattoon, WI 54450


Greater Minds, Inc
2602 Cottage Creek Ct
Pearland, TX 77584


Greater Mount Carmel Baptist Church
Istrouma Area Council 211
1414 Sora St
Baton Rouge, LA 70807


Greater Mount Sinai Baptist Church
Mecklenburg County Council 415
1243 W Blvd
Charlotte, NC 28208


Greater Mount Zion Baptist Church
Blue Ridge Mtns Council 599
1810 Grayson Ave Nw
Roanoke, VA 24017


Greater Mt Nebo Ame Church
National Capital Area Council 082
1001 Mitchellville Rd
Bowie, MD 20716


Greater New Hope Church Ministries
Del Mar Va 081
4514 Preston Rd
Preston, MD 21655


Greater New York
475 Riverside Dr, Ste 600
New York, NY 10115


Greater New York Cncl No 640
475 Riverside Dr, Ste 600
New York, NY 10115
Greater New York Councils
Greater New York Councils, Bsa 640
475 Riverside Dr, Ste 600
New York, NY 10115


Greater New York Councils‐Camping Svcs
Alpine Scout Camp
P.O. Box 377
Alpine, NJ 07620


Greater Newcastle Chamber Of Commerce
Chief Seattle Council 609
6947 Coal Creek Pkwy SE, Unit 150
Newcastle, WA 98059


Greater Niagara Frontier
2860 Genesee St
Buffalo, NY 14225


Greater Niagara Frontier Council
2860 Genesee St
Buffalo, NY 14225


Greater Patchogue Foundation
Suffolk County Council Inc 404
15 N Ocean Ave
Patchogue, NY 11772


Greater Peotone Clergy Assoc
Rainbow Council 702
311 W Corning Ave
Peotone, IL 60468


Greater Providence Ymca ‐ Pleasant View
Narragansett 546
640 Broad St
Providence, RI 02907


Greater Refuge Temple Church
Andrew Jackson Council 303
375 Morgan Rd
Canton, MS 39046


Greater Rochester International Airport
Seneca Waterways 397
1200 Brooks Ave
Rochester, NY 14624


Greater Round Lake Fire Prot Distr
Northeast Illinois 129
409 Nippersink Ave
Round Lake, Il 60073


Greater Santa Clarita Optimists
W.L.A.C.C. 051
30535 Hasley Canyon Rd
Castaic, CA 91384


Greater Santa Clarita Optimists Club
W.L.A.C.C. 051
30535 Hasley Canyon Rd
Castaic, CA 91384


Greater St Louis Area
4568 W Pine Blvd
St. Louis, MO 63108‐2193


Greater St Louis Area Cncl 312
4568 W Pine Blvd
St Louis, MO 63108‐2193


Greater St Louis Area Council
c/o S Bar F Scout Ranch Hwy 67
Attn Patrick Martchink
Knob Lick, MO 63651


Greater St Luke Baptist Church
Indian Waters Council 553
5228 Farrow Rd
Columbia, SC 29203
Greater St Matthews Baptist Church
Chickasaw Council 558
406 Summerwood Ave
Memphis, TN 38109


Greater Tampa Bar Area Council Ste 89
11046 Johnson Blvd
Seminole, FL 33772


Greater Tampa Bay Area
13228 N Central Ave
Tampa, FL 33612‐3462


Greater Tampa Bay Area Council 89
13228 N Central Ave
Tampa, FL 33612


Greater Union Baptist Church
Gulf Coast Council 773
1300 N Guillemard St
Pensacola, FL 32501


Greater Ward Chapel Ame
Chattahoochee Council 091
1330 Talbotton Rd
Columbus, GA 31901


Greater Western Rsrv Cncl 463
4930 Enterprise Dr
Warren, OH 44481‐8706


Greater Williamsburg Chamber
Tourism Alliance
Colonial Virginia Council 595
421 N Boundary St
Williamsburg, Va 23185


Greater Woodland Kalama Kiwanis
Cascade Pacific Council 492
1350 Lewis River Rd
Woodland, WA 98674
Greater Wyoming
3939 Casper Mountain Rd
Casper, WY 82601‐1506


Greater Wyoming Council
3939 Casper Mountain Rd
Casper, WY 82601


Greater Wyoming Council, Bsa
3939 Mountain Rd
Casper, WY 82601


Greater Yosemite
4031 Technology Dr
Modesto, CA 95356


Greater Yosemite Cncl 59
4031 Technology Dr
Modesto, CA 95356


Greater Yosemite Council
4031 Technology Dr
Modesto, CA 95356


Greece Baptist Church
Seneca Waterways 397
1230 Long Pond Rd
Rochester, NY 14626


Greece Police Dept
Seneca Waterways 397
400 Island Cottage Rd
Rochester, NY 14612


Greece Utd Methodist Church
Seneca Waterways 397
1924 Maiden Ln
Rochester, NY 14626


Greece Volunteer Ambulance Service
Seneca Waterways 397
867 Long Pond Rd
Rochester, NY 14612


Greek Orthodox Ch, Holy Resurrection
Theodore Roosevelt Council 386
1400 Cedar Swamp Rd
Glen Head, Ny 11545


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Green   Gillispie Attorneys At Law
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Green Acres Baptist Church
2085 Barnett Shoals Rd
Athens, GA 30605


Green Acres Baptist Church
East Texas Area Council 585
1607 Troup Hwy
Tyler, TX 75701


Green Acres Contracting Co Inc
148 Pennsylvania Ave
P.O. Box 463
Scottsdale, PA 15683


Green Acres Excavating      Landscaping
6 Park Rd
Las Vegas, NM 87701


Green Bay Metro Fire Dept
Bay‐Lakes Council 635
501 S Washington St
Green Bay, WI 54301
Green Bay Police Dept
Records Permits
307 S Adams St
Green Bay, WI 54301‐4582


Green Brook School PTO
Patriots Path Council 358
132 Jefferson Ave
Green Brook, NJ 08812


Green Equipment Co
2563 Gravel Dr
Ft Worth, TX 76118


Green Forest Baptist Church
Atlanta Area Council 092
3250 Rainbow Dr
Decatur, GA 30034


Green Forest Utd Methodist Church
Westark Area Council 016
100 S Springfield St
Green Forest, AR 72638


Green Gables Elementary PTA
Denver Area Council 061
8701 W Woodard Dr
Lakewood, CO 80227


Green Hill Presbyterian Church
Alabama‐Florida Council 003
735 E Lee St
Enterprise, AL 36330


Green Inspiration Academy
Lake Erie Council 440
4265 Nfield Rd
Highland Hills, OH 44128


Green Lights Recycling Inc
10040 Davenport St Ne
Blaine, MN 55449‐4423


Green Meadow Elementary PTO
Southern Shores Fsc 783
6171 E Mn Ave
Kalamazoo, MI 49048


Green Meadow School PTO
Twin Rivers Council 364
234 Schuurman Rd
Castleton, NY 12033


Green Mountain
P.O. Box 557
Waterbury, VT 05676‐0557


Green Mountain Cncl No 592
P.O. Box 557
Waterbury, VT 05676‐0557


Green Mountain Masonic Center
Green Mountain 592
115 Merchants Row
Williston, VT 05495


Green Mountain Presbyterian Church
Denver Area Council 061
12900 W Alameda Pkwy
Lakewood, CO 80228


Green Oaks Pt
3824 Carrier Pkwy, Ste 470
Grand Prairie, TX 75052


Green Pastures Mb Church
Andrew Jackson Council 303
2239 N Flag Chapel Rd
Jackson, MS 39209


Green River Garden Center Inc
P.O. Box 806
Daniels, WV 25832


Green River Outreach For Wilderness Fndn
Trapper Trails 589
P.O. Box 259
Boulder, Wy 82923


Green Road Synagogue
Lake Erie Council 440
2437 S Green Rd
Beachwood, OH 44122


Green Run Homes Assoc
Tidewater Council 596
1248 Green Garden Cir
Virginia Beach, VA 23453


Green Savits   Lenzo, LLC
35 Airport Rd, Ste 200
Morristown, NJ 07960


Green Spring Presbyterian Church
Sequoyah Council 713
22007 Green Spring Rd
Abingdon, VA 24211


Green Top Sporting Goods
10150 Lakeridge Pkwy
Ashland, VA 23005


Green Township PTO
Hoosier Trails Council 145 145
6275 Maple Grove Rd
Martinsville, IN 46151


Green Trails Parent Teacher Organization
Greater St Louis Area Council 312
170 Portico Dr
Chesterfield, MO 63017
Green Valley Utd Methodist Church
Great Trail 433
620 E Turkeyfoot Lake Rd
Akron, OH 44319


Greenawalds Utd Church Of Christ
Minsi Trails Council 502
2325 Albright Ave
Allentown, PA 18104


Greenback First Presbyterian
Great Smoky Mountain Council 557
P.O. Box 170
Greenback, TN 37742


Greenbarlabs, LLC
1802 N Howard Ave
P.O. Box 4514
Tampa, FL 33602


Greenbelt Community Church
National Capital Area Council 082
1 Hillside Rd
Greenbelt, MD 20770


Greenbiz Group Inc
350 Frank H Ogawa Plaza, Ste 800
Oakland, CA 94612


Greenbrae Property Assoc
Marin Council 035
P.O. Box 383
Kentfield, CA 94914


Greenbriar Civic Assoc
c/o Emerson Cale
National Capital Area Council 082
P.O. Box 239
Chantilly, VA 20153


Greenbriar Civic Assoc
National Capital Area Council 082
P.O. Box 220239
Fairfax, VA 20153


Greenbriar East Elementary School PTA
National Capital Area Council 082
13006 Point Pleasant Dr
Fairfax, VA 22033


Greenbriar Elementary School ‐ Gfwar
Longhorn Council 662
1605 Grady Lee St
Fort Worth, TX 76134


Greenbrier Elem PTO
Georgia‐Carolina 093
5116 Riverwood Pkwy
Evans, GA 30809


Greenbrier Nurseries Inc
225 Pinewood Dr
Beckley, WV 25801


Greenbrier Nurseries Inc
6531 Barger Springs Rd
Talcott, WV 24981


Greenbrier Utd Methodist Church
Middle Tennessee Council 560
204 W Main St
Greenbrier, TN 37073


Greenbrook Homeowners Assoc
Orange County Council 039
18222 Santa Joanana
Fountain Valley, CA 92708


Greenbrook Homes Assoc Inc
Mt Diablo‐Silverado Council 023
300 Greenbrook Dr
Danville, CA 94526
Greenbush Fire Dept
Northern Lights Council 429
244 4th St N
Greenbush, MN 56726


Greenbush Volunteer Fire Dept
Northern Lights Council 429
P.O. Box 195
Greenbush, MN 56726


Greendale Friends Of Scouting
Three Harbors Council 636
7716 Overlook Dr
Greendale, WI 53129


Greendale Park   Recreation
Three Harbors Council 636
6800 Schoolway
Greendale, WI 53129


Greene County Jrotc
Black Warrior Council 006
14221 US Hwy 11 S
Eutaw, AL 35462


Greene County Para
Black Warrior Council 006
P.O. Box 106
Eutaw, AL 35462


Greene County Sheriffs Office
Ozark Trails Council 306
1010 N Boonville Ave
Springfield, MO 65802


Greene County Sheriffs Office
Tecumseh 439
120 E Main St
Xenia, OH 45385


Greeneview Elementary PTO
Tecumseh 439
53 N Limestone St
Jamestown, OH 45335


Greeneville Moose Lodge 692
Sequoyah Council 713
728 Kiser Blvd
Greeneville, TN 37745


Greenfield Chamber Of Commerce
Mid‐America Council 326
P.O. Box 61
201 S 1st St
Greenfield, IA 50849


Greenfield Chamber Of Commerce
Mid‐America Council 326
P.O. Box 61
Greenfield, IA 50849


Greenfield Commercial Credit
Assignee of Branch‐Smith
P.O. Box 908
Bloomfield Hills, MI 48303‐0908


Greenfield Ctr Vol Fire Co No 1
Twin Rivers Council 364
P.O. Box 57
13 S Greenfield Rd
Greenfield Center, Ny 12833


Greenfield Elementary School PTO
North Florida Council 087
6343 Knights Ln N
Jacksonville, FL 32216


Greenfield Fire Dept
Daniel Webster Council, Bsa 330
Forest Rd
Greenfield, NH 03047


Greenfield Firefighters Union
Three Harbors Council 636
7325 W Forest Home Ave
Milwaukee, WI 53220


Greenfield First Utd Methodist Church
Simon Kenton Council 441
405 S St
Greenfield, OH 45123


Greenfield Hill Congregational Church
Connecticut Yankee Council Bsa 072
1045 Old Academy Rd
Fairfield, CT 06824


Greenfield Home School Assoc
Twin Rivers Council 364
3180 Route 9N
Greenfield Center, NY 12833


Greenfield Park Lutheran Church
Three Harbors Council 636
1236 S 115th St
West Allis, WI 53214


Greenfield Police Dept
Silicon Valley Monterey Bay 055
P.O. Box 306
Greenfield, CA 93927


Greenfield Rotary Club
Silicon Valley Monterey Bay 055
150 El Camino Real
Greenfield, CA 93927


Greenfield Utd Methodist Church
Greater St Louis Area Council 312
P.O. Box 282
400 Prairie St
Greenfield, IL 62044


Greenford Ruritan Club
Great Trail 433
P.O. Box 43
Greenford, OH 44422


Greenhill Utd Methodist Church
Lincoln Heritage Council 205
4802 Old Greenhill Rd
Bowling Green, KY 42103


Greenland Community Congreg Church
Daniel Webster Council, Bsa 330
P.O. Box 128
42 Post Rd
Greenland, NH 03840


Greenland Hill Utd Methodist Church
Circle Ten Council 571
5835 Penrose Ave
Dallas, TX 75206


Greenland Utd Methodist Church
Daniel Webster Council, Bsa 330
87 Great Bay Rd
Greenland, NH 03840


Greenlawn Beach   Swim Club
Suffolk County Council Inc 404
P.O. Box 127
Greenlawn, NY 11740


Greenleaf Lodge 117
Pine Tree Council 218
142 Maple St
Cornish, ME 04020


Greenmount Community Fire Co
New Birth of Freedom 544
3095 Emmitsburg Rd
Gettysburg, PA 17325


Greenpeace Photo Dept
Suite 300 702 H St Nw
Washington, DC 20001
Greensboro Fire Dept
Old N State Council 070
1514 N Church St
Greensboro, NC 27405


Greensboro First Utd Methodist Church
Northeast Georgia Council 101
202 W Broad St
Greensboro, GA 30642


Greensboro Housing Authority
Old N State Council 070
450 N Church St
Greensboro, NC 27401


Greensboro Lions
Black Warrior Council 006
607 Cargile Dr
Greensboro, AL 36744


Greensboro Police Dept
Old N State Council 070
300 W Washington
Greensboro, NC 27402


Greensburg Community Kiwanis Club
Hoosier Trails Council 145 145
2503 N County Rd 400 E
Greensburg, IN 47240


Greensburg Salem High School
Westmoreland Fayette 512
65 Mennel Dr
Greensburg, PA 15601


Greensburg Salem Middle School
Westmoreland Fayette 512
301 N Main St
Greensburg, PA 15601


Greensburg Utd Methodist Church
Great Trail 433
2161 Greensburg Rd
P.O. Box 155
Green, OH 44232


Greensburg Utd Methodist Church
Hoosier Trails Council 145 145
301 N Broadway St
Greensburg, IN 47240


Greenspoint Baptist Church
Sam Houston Area Council 576
11703 Walters Rd
Houston, TX 77067


Greenstone Utd Methodist Church
Laurel Highlands Council 527
939 California Ave
Pittsburgh, PA 15202


Greenstone Utd Methodist Church
Pathway To Adventure 456
11211 S Saint Lawrence Ave
Chicago, IL 60628


Greensview School PTO
Simon Kenton Council 441
4301 Greensview Dr
Upper Arlington, OH 43220


Greentown Utd Methodist Church
Buckeye Council 436
3088 State St
Uniontown, OH 44685


Greentree Elementary PTA
Sam Houston Area Council 576
3502 Brook Shadow Dr
Kingwood, TX 77345


Greenup Volunteer Fire Dept.
Greater St Louis Area Council 312
P.O. Box 486
Greenup, IL 62428


Greenview Utd Methodist Church
Buckskin 617
P.O. Box 6130
Bluefield, WV 24701


Greenville Baptist Church
Narragansett 546
582 Putnam Pike
Greenville, RI 02828


Greenville City Fire Dept
Blue Ridge Council 551
206 S Main St
Greenville, SC 29601


Greenville Community Reformed Church
Westchester Putnam 388
270 Ardsley Rd
Scarsdale, NY 10583


Greenville County Ems
Blue Ridge Council 551
301 University Rdg, Ste 1100
Greenville, SC 29601


Greenville County Sheriff S Office
Blue Ridge Council 551
4 Mcgee St
Greenville, SC 29601


Greenville Fire Rescue
Circle Ten Council 571
2603 Templeton St
Greenville, TX 75401


Greenville First Presbyterian Church
Greater St Louis Area Council 312
501 N Idler Ln
Greenville, IL 62246
Greenville Housing Authority ‐ Moyewood
East Carolina Council 426
1710 W 3rd St
Greenville, NC 27834


Greenville Memorial Ame Zion
Mecklenburg County Council 415
P.O. Box 560549
6116 Monteith Dr
Charlotte, NC 28256


Greenville Moose Lodge 329
Miami Valley Council, Bsa 444
1200 Sweitzer St
Greenville, OH 45331


Greenville Oaks Church Of Christ
Circle Ten Council 571
703 S Greenville Ave
Allen, TX 75002


Greenville Police Dept
Circle Ten Council 571
P.O. Box 1049
Greenville, TX 75403


Greenville Tech Brashier Campus
Blue Ridge Council 551
P.O. Box 5616
Greenville, SC 29606


Greenville Utd Methodist Church
Chattahoochee Council 091
P.O. Box 85
Greenville, GA 30222


Greenville Utd Methodist Church
Lincoln Heritage Council 205
144 N Main St
Greenville, KY 42345
Greenville Utd Methodist Church
Middle Tennessee Council 560
5892 Clarksville Pike
Joelton, TN 37080


Greenway School PTO
Cascade Pacific Council 492
9150 SW Downing Dr
Beaverton, OR 97008


Greenwich
63 Mason St
Greenwich, CT 06830


Greenwich Board Of Education
Greenwich 067
290 Greenwich Ave
Greenwich, CT 06830


Greenwich Cncl No 67
63 Mason St
Greenwich, CT 06830


Greenwich Emergency Medical Services
Greenwich 067
1111 E Putnam Ave
Riverside, CT 06878


Greenwich Lions Club
Twin Rivers Council 364
P.O. Box 172
Greenwich, NY 12834


Greenwich Point Capital LLC
dba Morningside Translations LLC
450 7th Ave, Ste 1001
New York, NY 10123


Greenwich Police Dept/Silver Shield Assc
Greenwich 067
11 Bruce Pl
Greenwich, CT 06830


Greenwich Probate Court
101 Field Point Rd P.O. Box 2540
Greenwich, CT 06836‐2540


Greenwich Utd Methodist Church
Lake Erie Council 440
18 E Main St
Greenwich, OH 44837


Greenwich Volunteer Fire Dept
Twin Rivers Council 364
6 Academy St
Greenwich, NY 12834


Greenwood Baptist Church
Tukabatchee Area Council 005
1510 Washington Ave
Tuskegee Institute, AL 36088


Greenwood Charter School
Trapper Trails 589
840 N Hwy 89
Harrisville, UT 84404


Greenwood Christian Church
Cornhusker Council 324
P.O. Box 25
447 Elm St
Greenwood, NE 68366


Greenwood City Elementary PTA
Greater Alabama Council 001
5012 Roselyn Rd
Bessemer, AL 35022


Greenwood Family Ymca
Blue Ridge Council 551
1760 Calhoun Rd
Greenwood, SC 29649
Greenwood Fastsigns
1280 US 31 N
Greenwood, IN 46142


Greenwood Fire Dept
Crossroads of America 160
155 E Main St
Greenwood, IN 46143


Greenwood Gourmets
859 Briar Patch Ln
Greenwood, IN 46142‐3706


Greenwood Masonic Lodge 131
Westark Area Council 016
P.O. Box 1086
Greenwood, AR 72936


Greenwood Middle School
Crossroads of America 160
523 Madison Ave
Indianapolis, IN 46225


Greenwood Mill Elementary School
Shenandoah Area Council 598
8989 Winchester Grade Rd
Winchester, VA 22601


Greenwood Missionary Baptist Church
Tukabatchee Area Council 005
1510 Washington Ave
Tuskegee Institute, AL 36088


Greenwood Park Advisory Board
Erie Shores Council 460
6150 Jackman Rd
Toledo, OH 43613


Greenwood Presbyterian Church
Crossroads of America 160
102 W Main St
Greenwood, IN 46142


Greenwood Utd Methodist Church
Crossroads of America 160
525 N Madison Ave
Greenwood, IN 46142


Greenwood Utd Methodist Church
Heart of Virginia Council 602
10040 Greenwood Rd
Glen Allen, VA 23060


Greenwood Vol Fire   Rescue Co, Inc
Shenandoah Area Council 598
P.O. Box 3023
Winchester, Va 22604


Greenwood Volunteer Fire Dept
Five Rivers Council, Inc 375
P.O. Box 977
Greenwood, NY 14839


Greenworks By Shane Floral
1145 23rd St Nw
Washington, DC 20037


Greer Fire Dept
Blue Ridge Council 551
103 W Poinsett St
Greer, SC 29650


Grefe   Sidney Plc
500 E Ct Ave, Ste 200
Des Moines, IA 50309


Greg Brownfield
Address Redacted


Greg Glover Group LLC
National Capital Area Council 082
7012 Summerfield Dr
Frederick, MD 21702


Greg Hughes Realty   Auction Co
Greater Alabama Council 001
1114 Knight St Se
Decatur, AL 35601


Greg Magnuson
Address Redacted


Greg Osborn
Address Redacted


Greg Sanders
Address Redacted


Greg Stalling
Address Redacted


Greg Yance
Address Redacted


Gregg Bennett
Address Redacted


Gregg Klice Community Center
Heart of America Council 307
1600 E 17th Ter
Kansas City, MO 64108


Gregg Loucks
Address Redacted


Gregg Magee
Address Redacted


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Lexington, MA 02421


Greggton Methodist Church
East Texas Area Council 585
1101 Pine Tree Rd
Longview, TX 75604


Greggton Utd Methodist Church
East Texas Area Council 585
1101 Pine Tree Rd
Longview, TX 75604


Gregory Alan Lehman
Address Redacted


Gregory Anderson
Address Redacted


Gregory Andrews
Address Redacted


Gregory Baker
Address Redacted


Gregory Ball
Address Redacted


Gregory Balog
Address Redacted


Gregory Boggs
Address Redacted


Gregory Brown
Address Redacted


Gregory Burns
Address Redacted
Gregory C Yentz
Address Redacted


Gregory Cohen
Address Redacted


Gregory Cooley
Address Redacted


Gregory Covington
Address Redacted


Gregory Davis
Address Redacted


Gregory Dyer
Address Redacted


Gregory E St Amand
Address Redacted


Gregory Elementary PTO
Blackhawk Area 660
4820 Carol Ct
Rockford, IL 61108


Gregory Elementary School PTO
Washington Crossing Council 777
500 Rutherford Ave
Trenton, NJ 08618


Gregory Gibson
Address Redacted


Gregory Gottula
Address Redacted
Gregory H Winters
Address Redacted


Gregory Hancock
Address Redacted


Gregory Harmon
Address Redacted


Gregory Heins
Address Redacted


Gregory Hitchcock
Address Redacted


Gregory Holt
Address Redacted


Gregory Hutchinson
Address Redacted


Gregory Hutchison
Address Redacted


Gregory J. Cannata  Assoc, LLP
Attn Robert Cannata
60 E 42 St, Ste 932
New York, NY 10165


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re Plaintiff
60 E 42 St, Ste 932
New York, NY 10165


Gregory Jones
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Gregory King
Address Redacted


Gregory L Carson
Address Redacted


Gregory Latz
Address Redacted


Gregory Lawrence
Address Redacted


Gregory Lee Mayer Phd
4699 Harrison Blvd, Ste 300
Ogden, UT 84403


Gregory Leitch
Address Redacted


Gregory Lyles
Address Redacted


Gregory M Montelongo
Address Redacted


Gregory Mazen
Address Redacted


Gregory Mcdaniel
Address Redacted


Gregory Memorial Presbyterian Church
Heart of Virginia Council 602
P.O. Box 182
6300 Courthouse Rd
Prince George, VA 23875


Gregory Morin
Address Redacted
Gregory Mountain Products, LLC
2088 E 3900 S
Salt Lake City, UT 84124


Gregory Mustoe
Address Redacted


Gregory Nelson
Address Redacted


Gregory P Foley
Address Redacted


Gregory Phillips
Address Redacted


Gregory Pistner
Address Redacted


Gregory Pogue
Address Redacted


Gregory Portland High School
South Texas Council 577
4601 Wildcat Dr
Portland, TX 78374


Gregory R Brooks
Address Redacted


Gregory Rathje
Address Redacted


Gregory Rowe
Address Redacted


Gregory S Windeler
Address Redacted
Gregory Salce
Address Redacted


Gregory Sayer
Address Redacted


Gregory Schaefer
Address Redacted


Gregory Schultz
Address Redacted


Gregory Seibold
Address Redacted


Gregory Sewell
Address Redacted


Gregory Simms
Address Redacted


Gregory Smith
Address Redacted


Gregory Thomas
Address Redacted


Gregory Valdez
Address Redacted


Gregory Voyzey
Address Redacted


Gregory W Franzen
Address Redacted
Gregory W Hess
Address Redacted


Gregory Wierschke
Address Redacted


Gregory Wilson
Address Redacted


Gregory Winters
Address Redacted


Greif Bros Corp
Silicon Valley Monterey Bay 055
235 San Pedro Ave
Morgan Hill, CA 95037


Grenada First Utd Methodist Church
Chickasaw Council 558
161 S Line St
Grenada, MS 38901


Grenzebach Glier   Assoc Inc
P.O. Box 88277 Dept A
Chicago, IL 60680‐1277


Gresham Friends
Cascade Pacific Council 492
1127 NE 27th St
Gresham, OR 97030


Gresham Utd Methodist Church
Cascade Pacific Council 492
620 NW 8th St
Gresham, OR 97030


Greta Oppe Elementary PTA
Bay Area Council 574
2915 81st St
Galveston, TX 77554
Gretchen C Reifenberger
Address Redacted


Gretchen Durand
Address Redacted


Gretchen Kuhuski
Address Redacted


Gretchen Singh
Address Redacted


Gretchen Sparling
Address Redacted


Gretchen Trobec
Address Redacted


Gretchen Weekley
Address Redacted


Gretna Lions Club
Mid‐America Council 326
P.O. Box 104
Gretna, NE 68028


Gretna Optimist Club
Mid‐America Council 326
11717 S 216th St
Gretna, NE 68028


Gretna Utd Methodist Church
Southeast Louisiana Council 214
1309 Whitney Ave
Gretna, LA 70056


Grey Owl Indian Crafts Inc
1640 Mason Ave, Ste 160
Daytona Beach, FL 32117
Grey Owl Indian Crafts Inc
502 Atkins Ave
Neptune, NJ 07753‐1185


Grey Rolland
Address Redacted


Greyheller, LLC
111 Deerwood Rd, Ste 200
San Ramom, CA 94583


Gridsmart Technologies, Inc
Great Smoky Mountain Council 557
10545 Hardin Valley Rd
Knoxville, TN 37932


Griffeth Brothers Construction Inc
4155 Jefferson Township Pkwy
Marietta, GA 30066


Griffin Fire Rescue
Flint River Council 095
1420 Ellis Rd
Griffin, GA 30223


Griffin M Hall
Address Redacted


Griffin Memorial Utd Methodist Church
Quapaw Area Council 018
524 E Court St
Paragould, AR 72450


Griffin Restoration Inc
P.O. Box 948
Whitesboro, TX 76273


Griffin Road Church Of Christ
South Florida Council 084
14550 Griffin Rd
Southwest Ranches, FL 33330


Griffin‐ Spalding Law Enforcement
Flint River Council 095
401 Justice Blvd
Griffin, GA 30224


Griffin W Davis
Address Redacted


Griffiss Institute
Leatherstocking 400
725 Daedalian Dr
Rome, NY 13441


Griffith First Utd Methodist Church
Pathway To Adventure 456
400 W 44th Pl
Griffith, IN 46319


Griffith Highland Police Dept
Pathway To Adventure 456
115 N Broad St
Griffith, IN 46319


Griffith Lutheran Church
Pathway To Adventure 456
1000 N Broad St
Griffith, IN 46319


Griffon B Mckinniss
Address Redacted


Griggs Enterprise, Inc
Norwela Council 215
330 Marshall St, Ste 711
Shreveport, LA 71101


Griggstown Reformed Church
Patriots Path Council 358
1065 Canal Rd
Princeton, NJ 08540


Griggsville Christian Church
Mississippi Valley Council 141 141
P.O. Box 52
Griggsville, IL 62340


Grimes American Legion
Mid Iowa Council 177
P.O. Box 663
Grimes, IA 50111


Grimes Elementary School
Mississippi Valley Council 141 141
800 S St
Burlington, IA 52601


Grimes Utd Methodist Church
Mid Iowa Council 177
801 W 1st St
Grimes, IA 50111


Grimes‐Kohl Vfw 1031
Tecumseh 439
1237 E Main St
Springfield, OH 45503


Grinnell Lions Club
Mid Iowa Council 177
909 Main St
Grinnell, IA 50112


Griselda Juarez
Address Redacted


Grissitt Swamp Mine
Cape Fear Council 425
10211 Swamp Fox Hwy E
Tabor City, NC 28463
Grissom Air Museum
Sagamore Council 162
1000 W Hoosier Blvd
Peru, IN 46970


Grissom Elementary PTA
Indian Nations Council 488
6646 S 73rd E Ave
Tulsa, OK 74133


Grissom Elementary School PTO
Crossroads of America 160
3201 S Macedonia Ave
Muncie, IN 47302


Grist Inc
P.O. Box 669
Lewisburg, WV 24901


Griswold Scout Reservation
Daniel Webster Council, Bsa 330
7 Daniel Webster Way
Gilmanton Iron Works, NH 03837


Griz Ink
4310 NW 46th St
Topeka, KS 66618


Groce Utd Methodist Church
Daniel Boone Council 414
954 Tunnel Rd
Asheville, NC 28805


Groesbeck Utd Methodist Church
Dan Beard Council, Bsa 438
8871 Colerain Ave
Cincinnati, OH 45251


Groesbeck Volunteer Fire Dept
Longhorn Council 662
409 Whitt St
Groesbeck, TX 76642
Gromatzky Dupree   Assoc
Victory Plaza‐West
3090 Olive St, Ste 500
Dallas, TX 75219


Groot Industries Inc
P.O. Box 309
Elk Grove Village, IL 60009


Gross Kobrick Corp
111 Linnett St
Bayonne, NJ 07002‐4300


Grosse Ile Rotary Club
c/o William Krauss
Great Lakes Fsc 272
23541 Parke Ln
Grosse Ile, MI 48138


Grosse Ile Rotary Club
Great Lakes Fsc 272
P.O. Box 125
Grosse Ile, MI 48138


Grosse Pointe Crisis Club
Great Lakes Fsc 272
P.O. Box 36243
Grosse Pointe Farms, MI 48236


Grosse Pointe Memorial Presbyterian
Great Lakes Fsc 272
16 Lake Shore Rd
Grosse Pointe Farms, MI 48236


Grosse Pointe PTO Council ‐ Defer
Great Lakes Fsc 272
2037 Hollywood Ave
Grosse Pointe Woods, MI 48236


Grosse Pointe PTO Council ‐ Ferry
Great Lakes Fsc 272
389 Saint Clair St
Grosse Pointe, MI 48230


Grosse Pointe PTO Council ‐ Kerby
Great Lakes Fsc 272
461 Calvin Ave
Grosse Pointe Farms, MI 48236


Grosse Pointe PTO Council ‐ Maire
Great Lakes Fsc 272
389 Saint Clair St
Grosse Pointe, MI 48230


Grosse Pointe PTO Council ‐ Mason School
Great Lakes Fsc 272
389 Saint Clair St
Grosse Pointe, MI 48230


Grosse Pointe PTO Council ‐ Monteith
Great Lakes Fsc 272
1275 Cook Rd
Grosse Pointe Woods, MI 48236


Grosse Pointe PTO Council ‐ Poupard
Great Lakes Fsc 272
389 Saint Clair St
Grosse Pointe, MI 48230


Grosse Pointe PTO Council ‐ Trombly
Great Lakes Fsc 272
820 Beaconsfield Ave
Grosse Pointe Park, MI 48230


Grosse Pointe PTO Council Trombly
Great Lakes Fsc 272
888 Harcourt Rd
Grosse Pointe Park, MI 48230


Groton Fire Dept
Baden‐Powell Council 368
108 E Cortland St
Groton, NY 13073


Groton Lodge Bpoe 2163
Connecticut Rivers Council, Bsa 066
700 Shennecossett Rd
Groton, CT 06340


Groton Volunteer Fire Dept
Green Mountain 592
302 Scott Hwy
Groton, VT 05046


Groton‐Fire Service Local 4879
Heart of New England Council 230
P.O. Box 314
Groton, MA 01450


Groton‐Firefighters Assoc
Heart of New England Council 230
128 N St
Groton, MA 01472


Groton‐Group Of Citizens
Heart of New England Council 230
Main St
Groton, MA 01450


Groton‐Police Assoc Inc
Heart of New England Council 230
99 Pleasant St
Groton, MA 01450


Ground Pros Inc
P.O. Box 477
Itasca, IL 60143


Groundhog Auto Parts, Inc
110 S Gilpin St
Punxsutawney, PA 15767


Groundspeak, Inc
2127 5th Ave
Seattle, WA 98121


Group Of American Citizens Of Troop 310
c/o M. Scarano/ Ft. Ham Post Chapel
Greater New York Councils, Bsa 640
219 Grimes Rd
Brooklyn, NY 11252


Group Of Citizen
Northeast Georgia Council 101
P.O. Box 399
Jefferson, GA 30549


Group Of Citizens
Aloha Council, Bsa 104
2532 Nohona St
Hilo, HI 96720


Group Of Citizens
Anthony Wayne Area 157
11520 Saint Francis Way
Fort Wayne, IN 46816


Group Of Citizens
Buckskin 617
800 Dundee Dr
Radford, VA 24141


Group Of Citizens
Bucktail Council 509
730 Patterson Ave
Dubois, PA 15801


Group Of Citizens
c/o Charlie Kemp
Narragansett 546
10 Winsor Dr
Barrington, RI 02806


Group Of Citizens
Cape Cod and Islands Cncl 224
416 Hatchville Rd
East Falmouth, MA 02536


Group Of Citizens
Chester County Council 539
1038 Radnor Rd
Wayne, PA 19087


Group Of Citizens
Chief Seattle Council 609
8108 Roosevelt Way Ne
Seattle, WA 98115


Group Of Citizens
Connecticut Rivers Council, Bsa 066
P.O. Box 47
Cromwell, CT 06416


Group Of Citizens
Cradle of Liberty Council 525
206 Williamsburg Rd
Ardmore, PA 19003


Group Of Citizens
Hawk Mountain Council 528
88 Black Creek Rd
Gordon, PA 17936


Group Of Citizens
Juniata Valley Council 497
1530 Werly Pkwy
State College, PA 16801


Group Of Citizens
Mayflower Council 251
9 Saw Mill Pond Rd
Sharon, MA 02067


Group Of Citizens
Minsi Trails Council 502
207 Race St
Belvidere, NJ 07823
Group Of Citizens
Narragansett 546
10 Starbrook Dr
Barrington, RI 02806


Group Of Citizens
Narragansett 546
143 Middle Hwy
Barrington, RI 02806


Group Of Citizens
New Birth of Freedom 544
304A Hillcrest Dr
New Cumberland, PA 17070


Group Of Citizens
Northeast Georgia Council 101
1611 Woodbow King
Dacula, GA 30019


Group Of Citizens
Northeast Georgia Council 101
2075 Lanier Heights Dr
Cumming, GA 30041


Group Of Citizens
Northeast Georgia Council 101
2915 Ridge Spring Ct
Alpharetta, GA 30004


Group Of Citizens
Northeast Georgia Council 101
4688 Manor Dr
Gainesville, GA 30506


Group Of Citizens
Northeast Georgia Council 101
6816 Hampshire Dr
Tucker, GA 30084
Group Of Citizens
Northeast Georgia Council 101
7045 Pinecone Way
Cumming, GA 30028


Group Of Citizens
Northeast Georgia Council 101
998 Cole Dr Sw
Lilburn, GA 30047


Group Of Citizens
Northeast Georgia Council 101
P.O. Box 399
Jefferson, GA 30549


Group Of Citizens
Northeastern Pennsylvania Council 501
Scout Home
53 Lincoln St
Exeter, PA 18643


Group Of Citizens
Northern New Jersey Council, Bsa 333
25 Brighton Ave
Belleville, NJ 07109


Group Of Citizens
Northern New Jersey Council, Bsa 333
459 Devon St
Kearny, NJ 07032


Group Of Citizens
Northern New Jersey Council, Bsa 333
724 Valley St
Maplewood, NJ 07040


Group Of Citizens
Prairielands 117
2809 Berniece Ct
Champaign, IL 61822


Group Of Citizens
Quapaw Area Council 018
24245 Amanda Dr
Mabelvale, AR 72103


Group Of Citizens
South Texas Council 577
P.O. Box 323
Seadrift, TX 77983


Group Of Citizens
South Texas Council 577
P.O. Box 83
Seadrift, TX 77983


Group Of Citizens
Suffolk County Council Inc 404
11 Longwood Dr
John Vanasco
Huntington Station, NY 11746


Group Of Citizens
Texas Outdoor Camping
Longhorn Council 662
5152 S Colony Blvd
The Colony, Tx 75056


Group Of Citizens
Westchester Putnam 388
65 Rock Ridge Dr
Rye Brook, NY 10573


Group Of Citizens ‐ Fort Totten
Northern Lights Council 429
P.O. Box 292
Fort Totten, ND 58335


Group Of Citizens 108
Cradle of Liberty Council 525
2037 Adams Rd
East Greenville, PA 18041


Group Of Citizens 258
Northern New Jersey Council, Bsa 333
258 Sherman Ave
Jersey City, NJ 07307


Group Of Citizens C/O Potoak
Northern New Jersey Council, Bsa 333
85 N 12th St
Prospect Park, NJ 07508


Group Of Citizens Community Scouting
Northern New Jersey Council, Bsa 333
258 Sherman Ave
Jersey City, NJ 07307


Group Of Citizens For Scouting
Mount Baker Council, Bsa 606
6720 139th Pl Sw
Edmonds, WA 98026


Group Of Citizens Of Cool Springs
Old Hickory Council 427
244 Shady Pine Ln
Ronda, NC 28670


Group Of Citizens Of Hammock Point
Gulf Stream Council 085
22377 SW 65th Ave
Boca Raton, FL 33428


Group Of Citizens Of Milledgeville
Central Georgia Council 096
4335 Confederate Way
Macon, GA 31217


Group Of Citizens Of New Dorp
Greater New York Councils, Bsa 640
19 4th St
Staten Island, NY 10306


Group Of Citizens Of New Dorp In
Greater New York Councils, Bsa 640
19 4th St
Staten Island, NY 10306


Group Of Citizens Of Sa
Orange County Council 039
104 N Grant Pl
Orange, CA 92868


Group Of Citizens Of Schwenksville
Cradle of Liberty Council 525
207 Big Rd
Zieglerville, PA 19492


Group Of Citizens Of South Lake Tahoe
Nevada Area Council 329
P.O. Box 8379
321 Glenmore Way
South Lake Tahoe, CA 96158


Group Of Citizens Pack 321
Northern New Jersey Council, Bsa 333
35 Inwood Rd
Essex Fells, NJ 07021


Group Of Citizens Pueblo West
Rocky Mountain Council 063
1442 N Will Rogers Dr
Pueblo W, Co 81007


Group Of Citizens University Park
Circle Ten Council 571
2829 Lovers Ln
Dallas, TX 75225


Group Of Citizens, Endy Community
Central N Carolina Council 416
33694 Lona Rd
Albemarle, NC 28001


Group Of Citizens, Fogelsville, Pa, Inc
Minsi Trails Council 502
1718 Mulberry Rd
Fogelsville, PA 18051
Group Of Citizens‐Blossom Valley
Silicon Valley Monterey Bay 055
362 Spode Way
San Jose, CA 95123


Group Of Concerned Citizens
Blue Grass Council 204
1500 Lancaster Rd
Richmond, KY 40475


Group Of Concerned Citizens
Blue Grass Council 204
516 Dorton Crk
Jenkins, KY 41537


Group Of Concerned Citizens
Cherokee Area Council 556
8814 Dayflower Dr
Ooltewah, TN 37363


Group Of Concerned Citizens
Middle Tennessee Council 560
271 Short St
Clarksville, TN 37042


Group Of Concerned Citizens
Middle Tennessee Council 560
3542 Hwy 149
Palmyra, TN 37142


Group Of Concerned Citizens
North Florida Council 087
765 Flowers St
St Augustine, FL 32092


Group Of Concerned Citizens
Sequoia Council 027
7305 S Peach Ave
Fowler, CA 93625
Group Of Concerned Citizens
Sequoia Council 027
P.O. Box 712
Fowler, CA 93625


Group Of Concerned Citizens
Suffolk County Council Inc 404
412 4th Ave
East Nport, NY 11731


Group Of Concerned Citizens In Waycross
Coastal Georgia Council 099
93 Timber Ln
Waycross, GA 31503


Group Of Concerned Citizens Of Brighton
West Tennessee Area Council 559
35 Wylie Dr
Brighton, TN 38011


Group Of Concerned Citizens Of Troop 98
Grand Canyon Council 010
18252 W Port Royale Ln
Surprise, AZ 85388


Group Of Concerned Parents
Ozark Trails Council 306
11746 N Farm Rd 153
Brighton, MO 65617


Group Of Dads In N.E. Seattle
Chief Seattle Council 609
7346 21st Ave Ne
Seattle, WA 98115


Group Of Hillsborough Citizens
Pacific Skyline Council 031
250 Darrell Rd
Hillsborough, CA 94010


Group Of Inspired Parents
Chief Seattle Council 609
4530 46th Ave Ne
Seattle, WA 98105


Group Of Interested Citizens
Northern New Jersey Council, Bsa 333
39 Woodland Ave
Glen Ridge, NJ 07028


Group Of Interested Parents
Chief Seattle Council 609
4343 53rd Ave Ne
Seattle, WA 98105


Group Of Interested Parents
Long Beach Area Council 032
3200 Monogram Ave
Long Beach, CA 90808


Group Of Norris School District Scouters
Southern Sierra Council 030
8604 Sand Fox Ct
Bakersfield, CA 93312


Group Of Parents
Narragansett 546
400 Nayatt Rd
Nayatt School
Barrington, RI 02806


Group Of Parents ‐ Niagara
Bay‐Lakes Council 635
W7269 Kinziger Rd
Niagara, WI 54151


Group Of Southwest Scouters
Southern Sierra Council 030
3504 Actis Rd
Bakersfield, CA 93309


Group Sales Box Office LLC
729 7th Ave, 6th Fl
New York, NY 10019
Group W Productions LLC
P.O. Box 597
Weatherford, TX 76086


Groupcse LLC
150 Interstate N Pkwy
Atlanta, GA 30339


Groupe Access
1255 Universite, Ste 100
Montreal, QC H38B 3A9
Canada


Groupe Era Group, Inc
2500 Rue Guenette
Saint‐Laurent, Qc H4R 2H2
Canada


Groupe Scout Francophone De La Baie
Pacific Skyline Council 031
1374 Morton Ave
Los Altos, CA 94024


Groupe Sharegate, Inc
1751 Rue Richardson, Ste 5400
Montreal, QC H3K 1G6
Canada


Grouplogic Inc
P.O. Box 100310
Arlington, VA 22210


Groups Of Citizens
Northeast Georgia Council 101
1290 Knob Creek Dr
Athens, GA 30606


Grove City College
Attn Financial Aid Office
100 Campus Dr
Grove City, PA 16127


Grove City Police
Simon Kenton Council 441
3360 Park St
Grove City, OH 43123


Grove City Utd Methodist Church
Simon Kenton Council 441
2684 Columbus St
Grove City, OH 43123


Grove Manor‐Lake Wales Housing Authority
Greater Tampa Bay Area 089
P.O. Box
Lake Wales, FL 33859


Grove Park Baptist Church
Old N State Council 070
108 Trail One
Burlington, NC 27215


Grove Park Golf Inn Resort      Spa
290 Macon Ave
Asheville, NC 28804


Grove Presbyterian Church
Baltimore Area Council 220
50 E Bel Air Ave
Aberdeen, MD 21001


Grove Presbyterian Church
Columbia‐Montour 504
330 Bloom St
Danville, PA 17821


Grove Rotary Club
Cherokee Area Council 469 469
P.O. Box 452286
Grove, OK 74345
Grove Street Utd Methodist Church
Laurel Highlands Council 527
11 N Grove St
Petersburg, WV 26847


Grove Utd Methodist Church
Blue Ridge Mtns Council 599
1020 Tyler Ave
Radford, VA 24141


Grove Utd Methodist Mens Group
Chester County Council 539
490 W Boot Rd
West Chester, PA 19380


Groveland Congregational Church Ucc
The Spirit of Adventure 227
4 King St
Groveland, MA 01834


Groveland Police Dept
Central Florida Council 083
Groveland Police Dept
408 W Orange St
Groveland, FL 34736


Groveport Utd Methodist Church
Simon Kenton Council 441
512 Main St
Groveport, OH 43125


Groveport‐Madison Lions Club
Simon Kenton Council 441
5157 Bixford Ave
Canal Winchester, OH 43110


Grovetown Dept Of Public Safety
Georgia‐Carolina 093
306 E Robinson Ave
Grovetown, GA 30813


Grovetown High School
Georgia‐Carolina 093
2010 Warrior Way
Grovetown, GA 30813


Grovetown Utd Methodist Church
Georgia‐Carolina 093
P.O. Box 30
Grovetown, GA 30813


Groveville Utd Methodist Church
Washington Crossing Council 777
447 Church St
Trenton, NJ 08620


Grovewood Cafe
111 Grovewood Rd
Asheville, NC 28804


Growing Faith Church
Middle Tennessee Council 560
247 Foster St
Nashville, TN 37207


Growing Up Green Charter School
Greater New York Councils, Bsa 640
3929 28th St
Long Island City, NY 11101


Grp Citizens Mary G Montgomery Jrotc
Mobile Area Council‐Bsa 004
4275 Snow Rd N
Semmes, Al 36575


Grt American Property   Casualty Ins Grp
301 E 4th St
Cincinnati, OH 45202


Grubb   Ellis Management Services Inc
1600 Parkwood Cir SE, Ste 160
Atlanta, GA 30339
Gruber Excavating Inc
Montana Council 315
32 Bitterroot Ln
Clancy, MT 59634


Gruber Thomas   Co
6370 Mt Pleasant St Nw
North Canton, OH 44720


Gruel Mills Nims   Plyman, PLLC
Attn William M. Azkoul
99 Monroe Ave Nw, Ste 800
Grand Rapids, MI 49503


Gruel Mills Nims   Pylman, PLLC
Attn W. Azkoul, T. Behm, L. Danielson
re Plaintiff
99 Monroe Ave Nw, Ste 800
Grand Rapids, MI 49503


Gruhl Educational Consultants LLC
Voyageurs Area 286
79001 Church Corner Rd
Washburn, WI 54891


Grundy County Sheriff S Dept
Rainbow Council 702
111 E Illinois Ave
Morris, IL 60450


Grundy School PTO
W D Boyce 138
1100 S 4th Ave
Morton, IL 61550


Gruver Utd Methodist Church
Golden Spread Council 562
P.O. Box 877
Gruver, TX 79040


Gsi Outdoors Inc
1023 S Pines Rd
Spokane, WA 99206


Gsi Outdoors, Inc
1023 S Pines Rd
Spokane Valley, WA 99206


Gsr LLC
dba the Resort At Glade Springs
255 Resort Dr
Daniels, WV 25832


Gt Scouting 400
Las Vegas Area Council 328
580 Dusty Pines Pl
Henderson, NV 89052


Gtc ‐Friends Of Youth Utd
Grand Teton Council 107
3910 S Yellowstone Hwy
Idaho Falls, ID 83402


G‐Tech Services Inc
17101 Michigan Ave
Dearborn, MI 48126‐2736


G‐Technology
3528 Hayden Ave
Second Fl S
Culver City, CA 90232


Guadalupe Center
South Plains Council 694
123 N Ave N
Lubbock, TX 79401


Guadalupe Home    School Club
Silicon Valley Monterey Bay 055
6044 Vera Cruz Dr
San Jose, CA 95120


Guadalupe Police Dept
Los Padres Council 053
4490 10th St
Guadalupe, CA 93434


Guadalupe Schubert
Address Redacted


Guadalupe Washington
Address Redacted


Guantanamo Bay Chief Petty Officer Assoc
Attn Eileen D Andrea
National Capital Area Council 082
Psc 1005 Box 37
Fpo, AE 09593


Guaranteed Returns
100 Colin Dr
Holbrook, NY 11741


Guardian Angels Parents
Great Lakes Fsc 272
521 E 14 Mile Rd
Clawson, MI 48017


Guardian Angels Roman Catholic Church
Dan Beard Council, Bsa 438
6531 Beechmont Ave
Cincinnati, OH 45230


Guardian Owls PTO
Greater St Louis Area Council 312
6208 Hwy 61‐67
Imperial, MO 63052


Guardian Southwest String Tag Inc
300 N Rogers
Waxahachie, TX 75165


Guardian Watch, Inc
South Florida Council 084
P.O. Box 4612
Miami Lakes, FL 33014


Guatemala Nature
Boulevard Liberacion 6‐31 Zona 9
Chuck E Cheeses Ctr
Guatemala


Gudgell Park Community Of Christ Church
Heart of America Council 307
500 E Gudgell Ave
Independence, MO 64055


Guerrilla Graphix, Inc
223 Sierra Dr Se
Albuquerque, NM 87108


Guffey Community Organization
Greater St Louis Area Council 312
400 13th St
Fenton, MO 63026


Guglielmo   Assoc
P.O. Box 9420
Salt Lake City, UT 84109


Guidance Solutions Inc
4134 Del Rey Ave
Marina Del Rey, CA 90292


Guidance Solutions, Inc
Attn Jason Meugniot, Chief Exec Officer
4134 Del Rey Ave
Marina Del Rey, CA 90292


Guide Service Of Washington Inc
734 Fifteenth St NW, Ste 701
Washington, DC 20005


Guidebook, Inc
340 Bryant St, Ste 400
San Francisco, CA 94107


Guidebook, Inc
Dept La 24671
Pasadena, CA 91185‐4671


Guideline, Inc
Newark Post Office
P.O. Box 34961
Newark, NJ 07189‐4961


Guilderland Bpoe Elks 2480
Twin Rivers Council 364
3867 Carman Rd
Schenectady, NY 12303


Guilderland Police Dept
Twin Rivers Council 364
Guilderland
Town Hall
Guilderland, NY 12084


Guildford   Co
1526 Ft Worth Ave
Dallas, TX 75208


Guilford College
Office of Student Accounts
P.O. Box 18743
Greensboro, NC 27419‐8743


Guilford College Utd Methodist Church
Old N State Council 070
1205 Fleming Rd
Greensboro, NC 27410


Guilford County Sheriff Dept
Old N State Council 070
400 W Washington St
Greensboro, NC 27401
Guilford Lakes School PTO
Connecticut Yankee Council Bsa 072
40 Maupas Rd
Guilford, CT 06437


Guillermo Padilla
Address Redacted


Guinn Consulting, LLC
2503 Wlake Dr 2
Austin, TX 78746


Guinn Consulting, LLC
2503 Wlake Dr, 7
Austin, TX 78746


Gulf Beach Baptist Church
Gulf Coast Council 773
10620 Hutchison Blvd
Panama City Beach, FL 32407


Gulf Breeze Presbyterian Church
Gulf Coast Council 773
P.O. Box 130
Gulf Breeze, FL 32562


Gulf Breeze Utd Methodist Church
Gulf Coast Council 773
4115 Soundside Dr
Gulf Breeze, FL 32563


Gulf Breeze Utd Methodist Church
Gulf Coast Council 773
75 Fairpoint Dr
Gulf Breeze, FL 32561


Gulf Coast
9440 University Pkwy
Pensacola, FL 32514‐5434


Gulf Coast Area Cncl 773
9440 University Pkwy
Pensacola, FL 32514‐5434


Gulf Coast Army Navy
1824 Denny Ave
Pascagoula, MS 39567


Gulf Coast Cncl 773
9440 University Pkwy
Pensacola, FL 32514‐5434


Gulf Coast Council Of Laraza, Inc
Dr Garza Gonzalez Charter School
South Texas Council 577
4129 Greenwood Dr
Corpus Christi, Tx 78416


Gulf Coast Environmental Consultants Inc
326 W Shore Dr
Alexandria, LA 71303


Gulf Coast Foursquare Church
Bay Area Council 574
6205 Delany Rd
Hitchcock, TX 77563


Gulf Coast Storage Sheds
88 9th Ave E
Horseshoe Beach, FL 32648


Gulf Cove Utd Methodist Church
Southwest Florida Council 088
1100 S Mccall Rd
Port Charlotte, FL 33981


Gulf Power Co
Attn Gary Sammons
Gulf Coast Council 773
1 Energy Pl
Pensacola, FL 32520
Gulf Shores Police Dept
Mobile Area Council‐Bsa 004
P.O. Box 896
Gulf Shores, AL 36547


Gulf Stream
8335 N Military Trl
Palm Beach Gardens, FL 33410‐6329


Gulf Stream Cncl 85
8335 N Military Trl
Palm Beach Gardens, FL 33410‐6329


Gulfport Police Dept
Greater Tampa Bay Area 089
2401 53rd St S
Gulfport, FL 33707


Gulfport Police Dept
Pine Burr Area Council 304
P O Drawer S
Gulfport, MS 39501


Gulfport Police Dept Explorers
Pine Burr Area Council 304
2220 15th St
Gulfport, MS 39501


Gulfport Youth Sailing Inc
Greater Tampa Bay Area 089
4600 Tifton Dr S
Gulfport, FL 33711


Gulfstream Lures
857 N E Dixie Hwy
Jensen Beach, FL 34957


Gull Lake Utd Methodist Church
Southern Shores Fsc 783
8640 Gull Rd
Richland, MI 49083
Gundersen Health System
Attn Legal Dept
1900 S Ave
Mail Stop Gb1‐001
La Crosse , WI 54601


Gundersen Health System
Attn Ncptc Dir
1900 S Ave
Mail Stop Winst
La Crosse , WI 54601


Gundersen Lutheran Admin Svcs, Inc
Independently And As Agent For
Gundersen Lutheran Medical Ctr, Inc
1900 S Ave
La Crosse, Wi 54601


Gunnar Sigurd Christian Raasch
Address Redacted


Gunnison Chamber Of Commerce
P.O. Box 36
Gunnison, CO 81230


Gunnison City
Utah National Parks 591
P.O. Box 790
Gunnison, UT 84634


Gunold Usa
980 Cobb Pl Blvd ‐, Ste 130
Kennesaw, GA 30144


Gunpowder Vfw 10067
Baltimore Area Council 220
6309 Ebenezer Rd
Baltimore, MD 21220


Gunter Fire   Rescue
105 N 4Th
Gunter, TX 75058


Gunter Volunteer Fire     Rescue
Circle Ten Council 571
P.O. Box 115
Gunter, TX 75058


Guntersville Breathables, Inc
131 Sundown Dr Nw
Arab, AL 35016


Guntersville Lions Club
Greater Alabama Council 001
P.O. Box 632
Guntersville, AL 35976


Gurdon Utd Methodist Church
Quapaw Area Council 018
201 E Walnut St
Gurdon, AR 71743


Gurnee Community Church
Northeast Illinois 129
4555 Old Grand Ave
Gurnee, IL 60031


Gurnee Police Deptment
Northeast Illinois 129
100 N Oplaine Rd
Gurnee, IL 60031


Gurtler Bros Vfw Post 420
Twin Rivers Council 364
190 Excelsior Ave
Saratoga Springs, NY 12866


Guru Nanak Khalsa School
Silicon Valley Monterey Bay 055
3636 Murillo Ave
San Jose, CA 95148
Gus Garcia Young Mens Leadership Academy
Capitol Area Council 564
7414 Johnny Morris Rd
Austin, TX 78724


Gus R Conwell
Address Redacted


Gustave Boucher
Address Redacted


Gustave Chutorash
Address Redacted


Gustave F Kerndt Vfw Post 5981
Northeast Iowa Council 178
680 Center St
Lansing, IA 52151


Gustavo Adolfo Rodriguez Rivera
Address Redacted


Gustavo Cantarero
Address Redacted


Gustavo Velasquez
Address Redacted


Gustavus Adolphus Lutheran Church
Northern Star Council 250
1669 Arcade St
Saint Paul, MN 55106


Gustavus Fed    Kinsman Prsbyt Churchs
Great Trail 433
7774 State Route 88
Kinsman, OH 44428


Gustwiller S Clothing Inc
116 W Main St
Ottawa, OH 45875


Guthrie First Utd Methodist Church
Last Frontier Council 480
P.O. Box 249
Guthrie, OK 73044


Guy E Shelley Jr Post 974,AL
New Birth Of Freedom 544
352 Marsh Run Rd
New Cumberland, Pa 17070


Guy Eichsteadt
Address Redacted


Guy Finne
Address Redacted


Guy Matthew Wilemon
Address Redacted


Guy Wilemon
Address Redacted


Guyasuta Stem
Laurel Highlands Council 527
300 23rd St Ext
Sharpsburg, PA 15215


Guyot Designs
P.O. Box 343
Deer Isle, ME 04627


Guyton Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 85
Guyton, GA 31312


Guzman 23 Foundation
P.O. Box 884
Colleyville, TX 76034


Gwangi Shipp
Address Redacted


Gwendolyn Granderson
Address Redacted


Gwendolyn Kieso
Address Redacted


Gwendolyn Lehr
Address Redacted


Gwendolyn Odum
Address Redacted


Gwendolyn Warth
Address Redacted


Gwendylen Metivier
Address Redacted


Gwinnett Bar Assoc
Northeast Georgia Council 101
P.O. Box 1682
Lawrenceville, GA 30046


Gwinnett Braves
Northeast Georgia Council 101
2500 Buford Dr
Lawrenceville, GA 30043


Gwinnett Church Of Christ
Northeast Georgia Council 101
1736 Sever Rd
Lawrenceville, GA 30043


Gwinnett Citizen
Northeast Georgia Council 101
107 W Crogan St
Lawrenceville, GA 30046


Gwinnett Co Sheriffs Dept
Northeast Georgia Council 101
2900 Hwy 316
Lawrenceville, GA 30043


Gwinnett County Div Of Police
Northeast Georgia Council 101
Services
P.O. Box 602
Lawrenceville, GA 30246


Gwinnett County Fire And Emergency Svcs
Northeast Georgia Council 101
408 Hurricane Shoals Rd Ne
Lawrenceville, Ga 30045


Gwinnett County School Police
Northeast Georgia Council 101
1229 Nbrook Pkwy, Ste A
Suwanee, GA 30024


Gwinnett Daily Post
725 Old Norcross Rd
Lawrenceville, GA 30046


Gwinnett Hospital System
Northeast Georgia Council 101
1000 Medical Center
Blvd
Lawrenceville, GA 30245


Gwynedd‐Mercy College
Attn Ann Cleary
1325 Sumneytown Pike
Gwynedd Valley, PA 19437‐0901


Gwynns Falls Elementary
Baltimore Area Council 220
2700 Gwynns Falls Pkwy
Baltimore, MD 21216


H   M Implement Co
2425 E Main
Trinidad, CO 81082


H   S Assn
Immaculate Conception Catholic Church
Northern Star Council 250
4030 Jackson St Ne
Columbia Heights, Mn 55421


H A Dominion Group Inc
dba Hampshire Pewter
350 Route 108, Unit 201
Somersworth, NH 03878


H B B Rusmisel
Address Redacted


H B Rusmisel
Address Redacted


H Bar H Turf Farms, Inc
6270 S Osage
Amarillo, TX 79118


H Barbara Booker School
Lake Erie Council 440
2121 W 67th St
Cleveland, OH 44102


H Burks
Address Redacted


H C Southlake Hilton LLCp
Hilton Slake Dfw
1400 Plaza Pl
Southlake, TX 76092
H Customs Loc
1213 Hudson Dr
Mansfield, TX 76063


H D Communications
2180 5th Ave
Ronkonkoma, NY 11779


H D Wright
Address Redacted


H Don Smith
Address Redacted


H Douglas Clevinger
Address Redacted


H Duane Maples
Address Redacted


H G Webers, Inc
1899 Greenville Turnpike
Port Jarvis, NY 12771


H H Industries Inc
P.O. Box 735
Elmwood, IL 61529‐0735


H Hugo Petters
Address Redacted


H J Heinz Co LP
1 Ppg Pl, Ste 3200
Pittsburgh, PA 15222


H J Heinz Co LP
Heinz Dispensing Solutions
2293 Sweeney Dr
Clinton, PA 15026
H M Carroll Elementary
Sam Houston Area Council 576
10210 C E King Pkwy
Houston, TX 77044


H N S St Theresas RC Ch
New Birth Of Freedom 544
1300 Bridge St
New Cumberland, Pa 17070


H Pauline Neff
Address Redacted


H Rickerson
Address Redacted


H Shanight
Address Redacted


H Stadiem, Inc
124 N Queen St
Kingston, NC 28501‐4928


H T Lyons
Minsi Trails Council 502
7165 Ambassador Dr
Allentown, PA 18106


H Wallace Potts
Address Redacted


Haag Engineering Co
4949 W Royal Ln
Irving, TX 75063


Haakon Colwell
Address Redacted
Habersham County Sheriff S Office
Northeast Georgia Council 101
1000 Detention Dr
Clarkesville, GA 30523


Hach Co
2207 Collections Ctr Dr
Chicago, IL 60693


Hachette Book Group
P.O. Box 8828
Boston, MA 02114


Hacienda Elementary School
San Francisco Bay Area Council 028
3800 Stoneridge Dr
Pleasanton, CA 94588


Hackberry Creek Country Club
1901 Royal Ln
Irving, TX 75063


Hacu
8415 Datapoint Dr, Ste 400
San Antonio, TX 78229


Haddad Interests Inc
The French Corner
1104 Old Spanish Trl
Houston, TX 77054


Haddam Citizens For Scouting
Connecticut Rivers Council, Bsa 066
P.O. Box 313
Haddam, CT 06438


Hadden Smith
Address Redacted


Haddon Fire Co 1
Garden State Council 690
15 N Haddon Ave
Haddonfield, NJ 08033


Haddon Heights Fire Dept
Garden State Council 690
608 Station Ave
Haddon Heights, NJ 08035


Haddonfield Utd Methodist Church
Garden State Council 690
29 Warwick Rd
Haddonfield, NJ 08033


Hadley Park
Middle Tennessee Council 560
1037 28th Ave N
Nashville, TN 37208


Haga Enterprises LLC
1046 N Gun Club Rd
Independence, OR 97351


Hagan   Stone Wholesale
Lincoln Heritage Council 205
P.O. Box 158
Tompkinsville, KY 42167


Hagan Charles Mchenry
Address Redacted


Hagar Restaurant Equip Service
6200 NW 2nd St
Oklahoma City, OK 73127‐6520


Hageman Parent Orgranization
Greater St Louis Area Council 312
6401 Hagemann Rd
Saint Louis, MO 63128


Hagen Charles Wiese
Address Redacted
Hager Elementary School
Buckskin 617
1600 Blackburn Ave
Ashland, KY 41101


Hagerman Fire Dept
Suffolk County Council Inc 404
510 Oakdale Ave
East Patchogue, NY 11772


Hagerman Ward ‐ Wendell Stake
Snake River Council 111
P.O. Box 73
Hagerman, ID 83332


Haggerty School Advisory Council
The Spirit of Adventure 227
110 Cushing St
Cambridge, MA 02138


Hague Fish   Game Club Inc
Twin Rivers Council 364
488 W Hague Rd
Hague, NY 12836


Hahira Utd Methodist Church
South Georgia Council 098
208 N Church St
Hahira, GA 31632


Hahira Utd Methodist Church Mens Grp
South Georgia Council 098
P.O. Box 491
110 E Main St
Hahira, GA 31632


Hailey 1St Ward ‐ Carey Stake
Snake River Council 111
417 Ash St
Hailey, ID 83333
Hailey 2Nd Ward ‐ Carey Stake
Snake River Council 111
P.O. Box 399
Hailey, ID 83333


Hailey L Hutchings
Address Redacted


Hailey N Becker
Address Redacted


Haines Borough
P.O. Box 1209
Haines, AK 99827


Haines City High School Jrrotc
Greater Tampa Bay Area 089
2800 Hornet Dr
Haines City, FL 33844


Haines City Police Dept
Greater Tampa Bay Area 089
35400 Hwy 27
Haines City, FL 33844


Haines Falls Volunteer Fire Co
Rip Van Winkle Council 405
P.O. Box 168
Haines Falls, NY 12436


Hainesport Fire Co
Garden State Council 690
P.O. Box 245
Hainesport, NJ 08036


Haisee Garcia
Address Redacted


Haisley School Parents
Southern Shores Fsc 783
825 Duncan St
Ann Arbor, MI 48103


Hajoca Corp
P.O. Box 601976
Charlotte, NC 28260‐1976


Hal Hopkins Wwii Memorial Inc
Great Alaska Council 610
5929 Camden Cir
Anchorage, AK 99504


Hal Leonard Corp
P.O. Box 13819
Milwaukee, WI 53213


Hal Myers
Address Redacted


Hale Junior High
Indian Nations Council 488
2177 S 67th E Ave
Tulsa, OK 74129


Hales Chapel Baptist Church
Alabama‐Florida Council 003
7548 S US Hwy 29
Troy, AL 36081


Hales Corners Elementary School P T O
Three Harbors Council 636
11319 W Godsell Ave
Hales Corners, WI 53130


Halethorpe‐Relay Utd Methodist Men
Baltimore Area Council 220
4513 Ridge Ave
Halethorpe, MD 21227


Haley F Turner
Address Redacted
Haley O Otto
Address Redacted


Haley S Saunders
Address Redacted


Haleyville First Utd Methodist Church
Black Warrior Council 006
2203 9th Ave
Haleyville, AL 35565


Half Moon Bay Yacht Club
Pacific Skyline Council 031
P.O. Box 52
El Granada, CA 94018


Halfmoon Education Inc
P.O. Box 278
Altoona, WI 54720


Halfmoon/ Waterford Fire Co
Twin Rivers Council 364
315 Middletown Rd
Waterford, NY 12188


Halfway Mini‐Storage LLC
Lincoln Heritage Council 205
506 N 9th St
Scottsville, KY 42164


Halifax Congregational Church
Mayflower Council 251
781 Plymouth St
Halifax, MA 02338


Halifax Fire Dept
New Birth of Freedom 544
22 S River Rd
Halifax, PA 17032
Halifax Lions Club
Mayflower Council 251
P.O. Box 427
Halifax, MA 02338


Halifax Utd Methodist Church
Blue Ridge Mtns Council 599
133 Mountain Rd
Halifax, VA 24558


Halifax Utd Methodist Church
Blue Ridge Mtns Council 599
P.O. Box 357
Halifax, VA 24558


Halifax Utd Methodist Church
New Birth of Freedom 544
104 Wind Hill Dr
Halifax, PA 17032


Hall   Monagle, LLC
Attn Brad D. Hall
320 Gold Ave Sw, Ste 1218
Albuquerque, NM 87102


Hall Arbery   Gilligan LLP
3340 Peachtree Rd NE, Ste 2570
Atlanta, GA 30326


Hall Bryan Vfw Post 10132
Gulf Stream Council 085
P.O. Box 665
Hobe Sound, FL 33475


Hall County Fire Services
Northeast Georgia Council 101
P.O. Box 907730
Gainesville, GA 30501


Hall Environmental Analysis Lab, Inc
4901 Hawkins NE, Ste D
Albuquerque, NM 87109‐4372


Hall Foundation Of America
Connecticut Rivers Council, Bsa 066
Jared Sparks Rd
Willington, CT 06279


Hall Law, P.A.
Attn Mara Brust
1010 W St Germain St, Ste 100
St. Cloud, MN 56301


Hall Timberland
Choctaw Area Council 302
P.O. Box 3727
Meridian, MS 39303


Hall Timberlands
Choctaw Area Council 302
P.O. Box 3727
Meridian, MS 39303


Halley Walter
Address Redacted


Halliburton Charitable Foundation
Sam Houston Area Council 576
3000 N Sam Houston Pkwy E
Houston, TX 77032


Hallie Miller Rutten
Address Redacted


Hallmark
Heart of America Council 307
25th   Mcgee Trfwy
Kansas City, MO 64141


Halls Arrow
291 W Middle Turnpike
Manchester, CT 06040
Halls Arrow, Inc Dba Halls Arrow Archery
291 W Middle Turnpike
Manchester, CT 06040


Halls First Utd Methodist Church
West Tennessee Area Council 559
110 Gate 6 Rd
Halls, TN 38040


Hallsville Ptsa
Great Rivers Council 653
411 Hwy 124 E
Hallsville, MO 65255


Hallsville Utd Methodist Church
Great Rivers Council 653
11700 N Route B
Hallsville, MO 65255


Halni Inc
2458 Madison St
Hollywood, FL 33020


Halo
3182 Momentum Pl
Chicago, IL 60689‐5331


Halo Branded Solutions, Inc
3182 Momentum Pl
Chicago, IL 60689‐5331


Halstad Fire Dept
Northern Lights Council 429
P.O. Box 176
2530 145th St
Halstad, MN 56548


Halstead Lions Club
Quivira Council, Bsa 198
318 W St
Halstead, KS 67056


Haltom City Police Dept
Longhorn Council 662
5110 Broadway Ave
Haltom City, TX 76117


Halvern Johnson
Address Redacted


Halverson Community
Twin Valley Council Bsa 283
707 E 10th St
Albert Lea, MN 56007


Ham Lake Lions Club
Northern Star Council 250
15710 Xylite St Ne
Ham Lake, MN 55304


Ham Lake Sportsmans Club
Northern Star Council 250
2441 Constance Blvd Ne
Ham Lake, MN 55304


Ham Lane Branch
Greater Yosemite Council 059
731 N Ham Ln
Lodi, CA 95242


Ham Radio Outlet, Inc
10613 N 43rd Ave
Phoenix, AZ 85029


Hamakua Lions Club
Aloha Council, Bsa 104
P.O. Box 1682
Honokaa, HI 96727


Hamakua Lions Club
Aloha Council, Bsa 104
P.O. Box 181
Paauilo, HI 96776


Hambden Fire Dept
Lake Erie Council 440
9867 Old State Rd
Chardon, OH 44024


Hamblen Park Presbyterian Church
Inland Nwest Council 611
4102 S Crestline St
Spokane, WA 99203


Hamburg Fire Dept
Patriots Path Council 358
18 Wallkill Ave
Hamburg, NJ 07419


Hamburg Firefighters Assoc
Southern Shores Fsc 783
P.O. Box 149
Lakeland, MI 48143


Hamburg Township Police Dept
Southern Shores Fsc 783
P.O. Box 157
Hamburg, MI 48139


Hamburg Utd Methodist Church
Greater Niagara Frontier Council 380
116 Union St
Hamburg, NY 14075


Hamel Lions
Northern Star Council 250
P.O. Box 301
Hamel, MN 55340


Hamer Pellet Fuel Co
P.O. Box 152079
Irving, TX 75015‐2079
Hamill Metals
Indian Nations Council 488
2976 W 410 Rd
Adair, OK 74330


Hamilton Butler
Address Redacted


Hamilton College
Attn Financial Aid
198 College Hill Rd
Clinton, NY 13323


Hamilton County Sheriffs Office
Dan Beard Council, Bsa 438
1000 Sycamore St, Ste 110
Cincinnati, OH 45202


Hamilton E Holmes Elementary
Atlanta Area Council 092
2301 Connally Dr
Atlanta, GA 30344


Hamilton Elementary Comm Edcuation Cntr
Greater St Louis Area Council 312
5819 Wminster Pl
Saint Louis, MO 63112


Hamilton Elementary PTO
Sam Houston Area Council 576
12050 Kluge Rd
Cypress, TX 77429


Hamilton Elementary School
Central Florida Council 083
1501 E 8th St
Sanford, FL 32771


Hamilton Emints Academy
Greater St Louis Area Council 312
5819 Wminster Pl
Saint Louis, MO 63112


Hamilton Exhibits, LLC
9150 Easr 33rd St
Indianapolis, IN 46235‐3605


Hamilton Fish   Game Club
Anthony Wayne Area 157
110 E Railroad
Hamilton, IN 46742


Hamilton Hardware Co, Inc
P.O. Box 299
New Albany, MS 38652


Hamilton Lions Club
President Gerald R Ford 781
4620 132nd Ave
Hamilton, MI 49419


Hamilton Lodge 120 F    Am
Leatherstocking 400
P.O. Box 85
Hamilton, NY 13346


Hamilton Mill Presbyterian Church
Northeast Georgia Council 101
5152 Braselton Hwy
Hoschton, GA 30548


Hamilton Mill Utd Methodist Church
Northeast Georgia Council 101
1450 Pine Rd
Dacula, GA 30019


Hamilton Mill Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 309
Dacula, GA 30019


Hamilton Optimist Youth Ranch
Dan Beard Council, Bsa 438
567 Beissinger Rd
Hamilton, OH 45013


Hamilton Ruritan Club
New Birth of Freedom 544
1608 Richard Ave
Chambersburg, PA 17201


Hamilton Stem Academy
Simon Kenton Council 441
2047 Hamilton Ave
Columbus, OH 43211


Hamilton Utd Methodist Church
Monmouth Council, Bsa 347
858 Old Corlies Ave
Neptune, NJ 07753


Hamilton Va Ruritan Club 543
c/o Graham Overman
National Capital Area Council 082
12 Burke Cir
Hamilton, VA 20158


Hamler Volunteer Fire Dept
Black Swamp Area Council 449
General Delivery
Hamler, OH 43524


Hamlet Shirvani
Address Redacted


Hamline Chapel Utd Methodist Church
Hoosier Trails Council 145 145
High and Vine St
Lawrenceburg, IN 47025


Hamline University
1536 Hewitt Ave
Office of Financial Aid, Ms‐C1915
Saint Paul, MN 55104
Hammer And Chisel Inc
Mayflower Council 251
32 Meeting House Path
Ashland, MA 01721


Hammond Yacht Club
Pathway To Adventure 456
731 Casino Center Dr
Hammond, IN 46320


Hammondsport American Legion
Five Rivers Council, Inc 375
Rr 54
Hammondsport, NY 14840


Hampden Kiwanis Club
Katahdin Area Council 216
462 Main Rd S
Hampden, ME 04444


Hampden Kiwanis Club
Katahdin Area Council 216
P.O. Box 498
Hampden, ME 04444


Hampshire House Corp
84 Beacon St
Boston, MA 02108


Hampshire Lions Club
Three Fires Council 127
281 S Ave
Hampshire, IL 60140


Hampshire Lions Club    American Legion
Three Fires Council 127
P.O. Box 74
269 Grove Ave
Hampshire, IL 60140
Hampstead Civic Club
Daniel Webster Council, Bsa 330
P.O. Box 411
Hampstead, NH 03841


Hampstead Elementary School PTO
Baltimore Area Council 220
3737 Shiloh Rd
Hampstead, MD 21074


Hampstead Hill Academy
Baltimore Area Council 220
500 S Linwood Ave
Baltimore, MD 21224


Hampstead Post 167 The AL, Inc
Cape Fear Council 425
P.O. Box 337
Hampstead, Nc 28443


Hampstead Utd Methodist Church
Cape Fear Council 425
15395 US Hwy 17 N
Hampstead, NC 28443


Hampstead Utd Methodist Church
Cape Fear Council 425
Highway 17
Hampstead, NC 28443


Hampton Bays Fire District
Suffolk County Council Inc 404
69 W Montauk Hwy
Hampton Bays, NY 11946


Hampton Bays Utd Methodist Church
Suffolk County Council Inc 404
158 W Montauk Hwy
Hampton Bays, NY 11946


Hampton Congregational Church
Connecticut Rivers Council, Bsa 066
263 Main St
Hampton, CT 06247


Hampton County Fire Rescue
Coastal Carolina Council 550
703 2nd St W
Hampton, SC 29924


Hampton Falls Volunteer Fire Dept
Daniel Webster Council, Bsa 330
3 Drinkwater Rd
Hampton Falls, NH 03844


Hampton Inn
110 Harper Park Dr
Beckley, WV 25801


Hampton Inn   Suites
80001 Overseas Hwy
Islamorada, FL 33036


Hampton Inn   Suites ‐ Riverplace
171 Riverplace
Greenville, SC 29601


Hampton Inn   Suites Folsom
155 Plrville Rd
Folsom, CA 95630


Hampton Inn Okeechobee
1200 State Rd 70 E
Okeechobee, FL 34972


Hampton Inn Summersville
5400 Webster Rd
Summersville, WV 26651


Hampton Inn Taos
1515 Paseo Del Pueblo Sur
Taos, NM 87571
Hampton Lakes Fire Co 1
Garden State Council 690
P.O. Box 2057
Vincentown, NJ 08088


Hampton Oaks Hoa
National Capital Area Council 082
80 Nampton Blvd
Stafford, VA 22554


Hampton Police Div
Colonial Virginia Council 595
40 Lincoln St
Hampton, VA 23669


Hampton Township Fire Dept
c/o P.O. Box 149, Route 206
Patriots Path Council 358
Newton, NJ 07860


Hampton Utd Methodist Church
Flint River Council 095
10 W Main St
Hampton, GA 30228


Hanahan Police Dept
Coastal Carolina Council 550
1255 Yeamans Hall Rd
Hanahan, SC 29406


Hanawalt School PTA
Mid Iowa Council 177
Kristi Kiefer
225 56th St
Des Moines, IA 50312


Hanceville Police Dept
Greater Alabama Council 001
203 Bangor Ave Se
Hanceville, AL 35077
Hancock Alumni Community Assoc
Greater St Louis Area Council 312
9101 S Broadway
Saint Louis, MO 63125


Hancock Co Fire Assoc
Black Swamp Area Council 449
P.O. Box 921
Findlay, OH 45839


Hancock Co Sheriff Dept
Crossroads of America 160
123 E Main St
Greenfield, IN 46140


Hancock Lions Club
Northern Lights Council 429
P.O. Box 144
Hancock, MN 56244


Hancock Regional Hospital
Crossroads of America 160
801 N State St
Greenfield, IN 46140


Hancock Regional Hospital
Food Service Division
Crossroads Of America 160
801 N State St
Greenfield, In 46140


Hancock Rotary Club
Leatherstocking 400
P.O. Box 535
Hancock, NY 13783


Hancock Rotary Club
Mason Dixon Council 221
189 E Main St
Hancock, MD 21750


Hancock Rotary Club
Mason Dixon Council 221
4310 Wern Pike
Hancock, MD 21750


Hancock Utd Church Of Christ
The Spirit of Adventure 227
1912 Massachusetts Ave
Lexington, MA 02421


Hancock Volunteer Fire Dept
Leatherstocking 400
P.O. Box 883
Hancock, NY 13783


Hand‐Done‐T‐Shirts
15 E Sheridan St
Ely, MN 55731


Handson Texarkana
Caddo Area Council 584
1915 Olive St
Texarkana, TX 75501


Handstands Plus Inc
dba Eye Catchers Signs
88511 Overseas Hwy, Ste 3
Tavernier, FL 33070


Handy Advertising
6108 Village Oaks Dr, Ste C
Pensacola, FL 32504


Hanford Fire Dept
Sequoia Council 027
350 W Grangeville Blvd
Hanford, CA 93230


Hang Ups Unlimited
1904 14th St
Santa Monica, CA 90404
Hanging Tough
P.O. Box 88346
Houston, TX 77288


Hanmer School P T O
Connecticut Rivers Council, Bsa 066
Francis St
Wethersfield, CT 06109


Hanna City Methodist Church
W D Boyce 138
1007 N Eden Rd
P.O. Box 105
Hanna City, IL 61536


Hanna Elaine Edens
Address Redacted


Hanna Gibbons Elementary School
Lake Erie Council 440
1401 Larchmont Rd
Cleveland, OH 44110


Hanna L Vranesevich
Address Redacted


Hanna Liao
Address Redacted


Hanna Lodge 61
Sagamore Council 162
141 S Wabash St
P.O. Box 154
Wabash, IN 46992


Hanna Rovinskas
Address Redacted


Hanna Woods School PTO
Greater St Louis Area Council 312
720 Hanna Rd
Manchester, MO 63021


Hannah A Stewart
Address Redacted


Hannah Carter
Address Redacted


Hannah Cranford
Address Redacted


Hannah Danielle Harris
Address Redacted


Hannah E Pio
Address Redacted


Hannah E Redford
Address Redacted


Hannah E Reussner
Address Redacted


Hannah Franklin
Address Redacted


Hannah Hobbs
Address Redacted


Hannah J Nunamaker
Address Redacted


Hannah L White
Address Redacted


Hannah M Stritzinger
Address Redacted
Hannah R Seeley
Address Redacted


Hannecke Display Systems Inc
210 Grove St
Franklin, MA 02035


Hannecke Display Systems, Inc
91 Fulton St, Unit 3
Boonton, NJ 07005


Hannelore Koziol
Address Redacted


Hannibal AL Post Prior Stock    1552
Longhouse Council 373
226 Rochester St
Hannibal, Ny 13074


Hannibal Fire Co
Longhouse Council 373
155 Oseso St
Hanibal, NY 10374


Hannibol Sullivan
Address Redacted


Hanover American Legion Post 764
Simon Kenton Council 441
1989 W High St
Newark, OH 43055


Hanover Insurance Co
Mail Station S456
440 Lincoln St
Worchester, MA 01653


Hanover Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 871
Hanover, NH 03755


Hanover Middle School
Mayflower Council 251
45 Whiting St
Hanover, MA 02339


Hanover Park Lions Club
Pathway To Adventure 456
1551 Maplewood Ave
Hanover Park, IL 60133


Hanover Presbyterian Church
Hoosier Trails Council 145 145
P.O. Box 276
Hanover, IN 47243


Hanover Sheriffs Office
Barry Bland Post 606
8340 Glendale Ln
Mechanicsville, VA 23116


Hanover Township Fire Dept
Southern Shores Fsc 783
129 W Allen St
Hanover, MI 49241


Hanover Township Fire District
Northeastern Pennsylvania Council 501
299 1st St
Hanover Township, PA 18706


Hanoverton Christian Church
Buckeye Council 436
10251 Plymouth St
Hanoverton, OH 44423


Hanrahan Elementary
Greater St Louis Area Council 312
8430 Lucas and Hunt Rd
Saint Louis, MO 63136
Hans Chocolatier
9118 Cochran Heights Dr
Dallas, TX 75220


Hans Christian Anderson Elementary
Central Florida Council 083
3011 S Fiske Blvd
Rockledge, FL 32955


Hansen   Co
4155 E Jewell Ave, Ste 1016
Denver, CO 80222


Hansen Dam Riding School
Verdugo Hills Council 058
11127 Orcas Ave
Sylmar, CA 91342


Hansen Motor Co
Trapper Trails 589
1175 S Commerce Way
Brigham City, UT 84302


Hansen Ward ‐ Kimberly Stake
Snake River Council 111
23709 Hwy 30
Murtaugh, ID 83344


Hansen Wheel   Wagon
40979 245th St
Letcher, SD 57359


Hanson
P.O. Box 842481
Dallas, TX 75284‐2481


Hanson / Renaissance Ct
Reporters   Video
400 Renaissance Center, Ste 2160
Detroit, MI 48243
Hanson Cole American Legion Post 391
Laurel Highlands Council 527
P.O. Box 517
Fredericktown, PA 15333


Hanson Congregational Church
Mayflower Council 251
639 High St
Hanson, MA 02341


Haonge Lee
Address Redacted


Hapa Unlimited
19031 Blackhawk St
Northridge, CA 91326


Happ Controls Inc
Box 88696
Milwaukee, WI 53288‐0696


Happy Hour Pools Inc
P.O. Box 104
Islamorada, FL 33036


Happy Valley Parent Teacher Assoc
Cascade Pacific Council 492
13865 SE King Rd
Happy Valley, OR 97086


Happylander Ltd
33 A Whitestile Rd
Brentford Middlesex, Tw8 9Nr
United Kingdom


Happylander Ltd
33A Whitestile Rd
Brentford
Middlesex, TW8 9NR
United Kingdom
Harare International School
Transatlantic Council, Bsa 802
66 Pendennis Rd
Harare,
Zimbabwe


Harashall Hardin
Address Redacted


Harbert Us Real Estate Fund Vi LP
2100 3rd Ave N, Ste 600
Birmingham, AL 35203


Harbert Us Real Estate Fund Vi LP
dba Hmc Solana LLC
721 Emerson Rd, Ste 600
St Louis, MO 63141


Harbins Elementary PTA
Northeast Georgia Council 101
3550 New Hope Rd
Dacula, GA 30019


Harbison Canyon Lions Club
San Diego Imperial Council 049
326 Harbison Canyon Rd
El Cajon, CA 92019


Harbor Bay Realty
Alameda Council Bsa 022
885 Island Dr, Ste 200
Alameda, CA 94502


Harbor Beach Lions Club
Water and Woods Council 782
221 Stoneybrook Dr
Harbor Beach, MI 48441


Harbor Church Of Block Island
Narragansett 546
P.O. Box D2
Block Island, RI 02807


Harbor City Elementary School
Central Florida Council 083
1377 Sarno Rd
Melbourne, FL 32935


Harbor Day School
Orange County Council 039
3443 Pacific View Dr
Corona Del Mar, CA 92625


Harbor Freight Tools Usa, Inc
P.O. Box 748076
Los Angeles, CA 90074‐8076


Harbor Fuel Oil Corp
Cape Cod and Islands Cncl 224
10 Airport Rd
Nantucket, MA 02554


Harbor Island Yacht Club
Middle Tennessee Council 560
200 Harbor Dr
Old Hickory, TN 37138


Harbor Springs Kiwanis Club
President Gerald R Ford 781
7515 S Lake Shore Dr
Harbor Springs, MI 49740


Harbor Springs Methodist Church
President Gerald R Ford 781
343 E Main St
Harbor Springs, MI 49740


Harbor View Hotel   Resort
Attn A Zullo Dir Mktg
131 Water St P.O. Box 7
Edgartown, MA 02539
Harborside Academy
Three Harbors Council 636
913 57th St
Kenosha, WI 53140


Harborview Presbyterian Church
Coastal Carolina Council 550
900 Harbor View Rd
Charleston, SC 29412


Hard Rock Climbing Services
P.O. Box 398
Fayetteville, WV 25840


Hard‐Circle Inc
18 Mohawk Rd E 603
Ham, On L9A 2G6
Canada


Harder Odonnel Post 734 The AL
Iroquois Trail Council 376
83 Market St
Attica, Ny 14011


Hardin Valley Church Of Christ
Great Smoky Mountain Council 557
11515 Hardin Valley Rd
Knoxville, TN 37932


Harding Academy
Middle Tennessee Council 560
170 Windsor Dr
Nashville, TN 37205


Harding High School
Grand Lodge Of Masons
Northern Star Council 250
11501 Masonic Home Dr
Minneapolis, Mn 55437


Harding University
Attn Penny Bohannan
P.O. Box 10770
Searcy, AR 72149


Hardy Elementary PTO
Cherokee Area Council 556
2100 Glass St
Chattanooga, TN 37406


Hardy Memorial Methodist Church
Caddo Area Council 584
6203 N Kings Hwy
Texarkana, TX 75503


Hardy Memorial Utd Methodist Church
Caddo Area Council 584
2903 N King Hwy
Texarkana, TX 75503


Harford County Public Library
1221‐A Brass Mill Rd
Adminstrative and Support Services
Belcamp, MD 21017


Harford County Sheriff S Dept
Baltimore Area Council 220
45 S Main St
Bel Air, MD 21014


Hargrave Military Academy
200 Military Dr
Chatham, VA 24531


Hargrave Military Academy
Blue Ridge Mtns Council 599
200 Military Dr
Chatham, VA 24531


Harlan Hoult
Address Redacted


Harlan Pierce
Address Redacted


Harland Technology Services
2020 S 156th Cir
Omaha, NE 88130


Harland Technology Services
Box 93038
Chicago, IL 60673‐3038


Harlandale Utd Methodist Church
Alamo Area Council 583
6025 S Flores St
San Antonio, TX 78214


Harlean Berry Beal Elementary ‐ Gifw
Longhorn Council 662
5615 Forest Hill Dr
Forest Hill, TX 76119


Harlem Boys And Girls Club Ps 133
Greater New York Councils, Bsa 640
521 W 145th St
New York, NY 10031


Harlem Boys And Girls Club Ps92
Greater New York Councils, Bsa 640
521 W 145th St
New York, NY 10031


Harlem Hospital
Greater New York Councils, Bsa 640
506 Malcolm X Blvd
New York, NY 10037


Harlem Park Recreation Center
Baltimore Area Council 220
700 N Calhoun St
Baltimore, MD 21217


Harlem Reformed Church
President Gerald R Ford 781
6854 144th Ave
Holland, MI 49424


Harlem Utd Methodist Church
Blackhawk Area 660
8401 N Alpine Rd
Machesney Park, IL 61115


Harley Burger Sr
Address Redacted


Harleysville Lions Club
Cradle of Liberty Council 525
107 Kulp Rd
Harleysville, PA 19438


Harleysville Lions Club
Cradle of Liberty Council 525
43 Highview Dr
E. Timothy Clemmer
Telford, PA 18969


Harleysville Lions Club
Cradle of Liberty Council 525
P.O. Box 222
Harleysville, PA 19438


Harlin Printing Services Inc
11‐05 44th Dr
Long Island City, NY 11101


Harlingen Border Patrol
Rio Grande Council 775
3902 S Expressway 77
Harlingen, TX 78552


Harlingen Housing Authority
Rio Grande Council 775
3221 N 25th St
Harlingen, TX 78550
Harlingen Police Dept
Rio Grande Council 775
1018 Fair Park Blvd
Harlingen, TX 78550


Harlingen South Ptsa
Rio Grande Council 775
1701 Dixieland Rd
Harlingen, TX 78552


Harlowton Kiwanis
Montana Council 315
P.O. Box 705
Harlowton, MT 59036


Harman Harkema
444 Brickell Ave, Ste 51 273
Miami, FL 33131


Harmon Street Baptist Church
Piedmont Council 420
398 Harmon St
Forest City, NC 28043


Harmony Christian Church
Last Frontier Council 480
7100 S Choctaw Rd
Choctaw, OK 73020


Harmony Creek Church
Miami Valley Council, Bsa 444
5280 Bigger Rd
Kettering, OH 45440


Harmony Elementary School
Northeast Georgia Council 101
3946 S Bogan Rd
Buford, GA 30519


Harmony Elementary School PTA
Heart of America Council 307
14140 Grant St
Overland Park, KS 66221


Harmony Freewill Baptist Church
Arbuckle Area Council 468
224 SE County Rd
Ada, OK 74820


Harmony Grove Methodist Church
Northeast Georgia Council 101
Friendship Class
Harmony Grove Rd
Lilburn, GA 30245


Harmony Grove Utd Methodist Church
Northeast Georgia Council 101
50 Harmony Grove Rd
Lilburn, GA 30047


Harmony Grove Utd Methodist Church
Northeast Georgia Council 101
Harmony Grove Ch. Rd
Friendship Class
Lilburn, GA 30047


Harmony Historical Society
Allegheny Highlands Council 382
P.O. Box 127
Ashville, NY 14710


Harmony Presbyterian Church
Longs Peak Council 062
400 Boardwalk Dr
Fort Collins, CO 80525


Harmony School Of Excellence
Alamo Area Council 583
2015 SW Loop 410
San Antonio, TX 78227


Harmony School Parent Teachers
Monmouth Council, Bsa 347
Harmony School Pto
Murphy Rd
Port Monmouth, NJ 07758


Harmony Science Academy
Circle Ten Council 571
8080 President George Bush Tpke
Dallas, TX 75252


Harmony Sd 175 PTO
Greater St Louis Area Council 312
7401 Wchester Dr
Emge School
Belleville, IL 62223


Harmony Utd Methodist Church
Buckskin 617
3800 Riverside Dr
Huntington, WV 25705


Harmony Utd Methodist Church
National Capital Area Council 082
380 E Colonial Hwy
Hamilton, VA 20158


Harmony Utd Methodist Church
Shenandoah Area Council 598
P.O. Box 1510
Falling Waters, WV 25419


Harms School
Great Lakes Fsc 272
5716 Michigan Ave
Detroit, MI 48210


Harned Fowler Post 6471
Green Mountain 592
280 Depot St
Manchester Center, VT 05255


Harney Point Vfw Post 8463
Southwest Florida Council 088
4709 SE 11th Pl
Cape Coral, FL 33904


Harold Alford Jr
Address Redacted


Harold B Davis Baptist Church
Cradle of Liberty Council 525
4500 N 10th St
Philadelphia, PA 19140


Harold Booth Jr
Address Redacted


Harold Bramson
Address Redacted


Harold Donnelly Jr
Address Redacted


Harold Dudley
Address Redacted


Harold Hernandez Nieves
Address Redacted


Harold Jackson Jr
Address Redacted


Harold Johns American Legion Post 62
Gulf Stream Council 085
2000 SE Fischer St
Stuart, FL 34997


Harold Kane
Address Redacted


Harold Keller Jr
Address Redacted
Harold Kenney
Address Redacted


Harold Miller
Address Redacted


Harold Murray Jr
Address Redacted


Harold Muse Keller Jr
Address Redacted


Harold Nash
Address Redacted


Harold Pinkham
Address Redacted


Harold Robinson
Address Redacted


Harold Sikes
Address Redacted


Harold Spanier
Address Redacted


Harold T Griffin Inc
7491 Pacific Cir
Mississauga, On L5T 2A4
Canada


Harold Tate Jr
Address Redacted


Harold Teller
Address Redacted
Harold Van Duyn
Address Redacted


Harold W White
Address Redacted


Harold Washam Jr
Address Redacted


Harold Watson
Address Redacted


Harold Witherspoon
Address Redacted


Harold Woodward Jr
Address Redacted


Harold Young
Address Redacted


Harolds Arctic Sales Inc
6734 Hwy 169
Tower, MN 55790


Harper   Pearson Co, PC
One Riverway, Ste 1000
Houston, TX 77056‐1973


Harper   Pearson Co, PC
One Riverway, Ste 1900
Houston, TX 77056‐1973


Harper And Pearson
1 Riverway, Ste 1900
Houston, TX 77056
Harper And Pearson
P.O. Box 679064
Dallas, TX 75267‐9064


Harper Chapel Methodist Men
Great Rivers Council 653
5567 Osage Beach Pkwy
Osage Beach, MO 65065


Harper Evangelical Free Church
Chief Seattle Council 609
10384 SE Sedgwick Rd
Port Orchard, WA 98366


Harper House
1945 W Walnut Hill Ln
Irving, TX 75038


Harper PTO
Capitol Area Council 564
P.O. Box 68
Harper, TX 78631


Harper S Choice Community Assoc
Baltimore Area Council 220
5440 Old Tucker Row
Columbia, MD 21044


Harper S Magazine
P.O. Box 7704
Red Oak, IA 51591‐4704


Harper Volunteer Fire Dept
Capitol Area Council 564
P.O. Box 306
Harper, TX 78631


Harpers Ferry Middle School
Shenandoah Area Council 598
1710 W Washington St
Harpers Ferry, WV 25425
Harpeth Presybterian Church
Middle Tennessee Council 560
3077 Hillsboro Rd
Brentwood, TN 37027


Harrah S Resort Southern California
P.O. Box 96118
Las Vegas, NV 89193


Harrah Utd Methodist Church
Last Frontier Council 480
2224 Harrison Ave
Harrah, OK 73045


Harrahs Las Vegas
Attn Jericho Rea
P.O. Box 17010
Las Vegas, NV 89114‐7010


Harrell Budd Elementary
2121 S Marsalis Ave
Dallas, TX 75216


Harrell Budd Elementary PTA
Circle Ten Council 571
2121 S Marsalis Ave
Dallas, TX 75216


Harrell Budd Elementaryschool
Circle Ten Council 571
2121 S Marsalis Ave
Dallas, TX 75216


Harrell Budd PTA
Circle Ten Council 571
2121 S Marsalis Ave
Dallas, TX 75216


Harriet Andersen
Address Redacted
Harriet Hanson
Address Redacted


Harriet Rivers
Address Redacted


Harriett Hull
Address Redacted


Harriman Fire And Rescue
Great Smoky Mountain Council 557
501 Walden Ave
Harriman, TN 37748


Harrington Elementary PTO
Southern Shores Fsc 783
100 S Clark St
Albion, MI 49224


Harris   Co
Water and Woods Council 782
6815 Main St
P.O. Box 38
Cass City, MI 48726


Harris Cnty Sheriff Office Alarm Detail
1200 Baker St
Houston, Tx 77002


Harris County
C/O Linebarger Goggan Blair     Sampson
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064


Harris County Emergency Corps
Sam Houston Area Council 576
2800 Aldine Bender Rd
Houston, TX 77032
Harris County Sherrifs Office
238 Tomball Pkwy
Tomball, TX 77375


Harris County Treasurer
Harris County Alarm Detail
9418 Jensen Dr, Ste A
Houston, TX 77093‐6821


Harris Hill Volunteer Fire Co
Greater Niagara Frontier Council 380
8630 Main St
Williamsville, NY 14221


Harris Interactive
23993 Network Pl
Chicago, IL 60673‐1239


Harris J R El
Sam Houston Area Council 576
801 Broadway St
Houston, TX 77012


Harris R P El
Sam Houston Area Council 576
1262 Mae Dr
Houston, TX 77015


Harris Tire Co
P.O. Box 888
Troy, AL 36081


Harris Township Lions Club
Juniata Valley Council 497
P.O. Box 438
Boalsburg, PA 16827


Harris Training Center
Piedmont Council 420
2560 Brookford Blvd
Hickory, NC 28602
Harris Utd Methodist Church
Blue Ridge Council 551
P.O. Box 8058
Greenwood, SC 29649


Harrisburg Fraternal Order Of Police
Greater St Louis Area Council 312
P.O. Box 152
Harrisburg, IL 62946


Harrisburg Kiwanis Youth Foundation
New Birth of Freedom 544
435 Independence Ave, Ste C
Mechanicsburg, PA 17055


Harrisburg Presbyterian Church
Central N Carolina Council 416
4815 Hwy 49 S
Harrisburg, NC 28075


Harrisburg Presbyterian Church
Central N Carolina Council 416
P.O. Box 310
4815 Hwy 49 S
Harrisburg, NC 28075


Harrisburg Utd Methodist Church
Central N Carolina Council 416
4560 Hwy 49 S
Harrisburg, NC 28075


Harrisburg Utd Methodist Church
Central N Carolina Council 416
P.O. Box 222
Harrisburg, NC 28075


Harrisburg Utd Methodist Church
Sioux Council 733
204 Grand Ave
Harrisburg, SD 57032
Harrison A Londeen
Address Redacted


Harrison Bell Post American Legion 122
Last Frontier Council 480
P.O. Box 675
Wewoka, OK 74884


Harrison C Evans
Address Redacted


Harrison County Sherriffs Dept
Pine Burr Area Council 304
10451 Larkin Smith Dr
Gulfport, MS 39503


Harrison Emergency Medical Services
Westchester Putnam 388
2 Pleasant Ridge Rd
Harrison, NY 10528


Harrison G Deford
Address Redacted


Harrison Hill Elem Pfo After Sch
Crossroads Of America 160
7510 E 53Rd St
Indianapolis, In 46226


Harrison J Parker
Address Redacted


Harrison Kiwanis Youth Foundation
New Birth of Freedom 544
1227 Berryhill St
Harrisburg, PA 17104


Harrison Lee American Legion Post 283
Iroquois Trail Council 376
P.O. Box 214
Livonia, NY 14487
Harrison Moose Lodge 2235
Water and Woods Council 782
5185 N Clare Ave
Harrison, MI 48625


Harrison Oehler
Address Redacted


Harrison Parkway PTO
Crossroads of America 160
14135 Harrison Pkwy
Fishers, IN 46038


Harrison PTO
Anthony Wayne Area 157
1300 Husky Trl
Warsaw, IN 46582


Harrison R Decker
Address Redacted


Harrison School PTA
Mid‐America Council 326
5404 Hamilton St
Omaha, NE 68132


Harrison Sportsman Club
Water and Woods Council 782
3704 N Harrison Ave
Harrison, MI 48625


Harrison Utd Methodist Church
Cherokee Area Council 556
5621 Hwy 58
Harrison, TN 37341


Harrison Utd Methodist Church
Mecklenburg County Council 415
15008 Lancaster Hwy
Pineville, NC 28134
Harrison Volunteer Fire Dept
Westchester Putnam 388
206 Harrison Ave
Harrison, NY 10528


Harrison W Neville
Address Redacted


Harrison Ward ‐ Twin Falls West Stake
Snake River Council 111
667 Harrison St
Twin Falls, ID 83301


Harrisonburg 2Nd Ward Ch Jesus Christ
Of Latter‐Day Saints
Stonewall Jackson Council 763
210 S Ave
Harrisonburg, Va 22801


Harrisonburg Baptist Church
Stonewall Jackson Council 763
501 S Main St
Harrisonburg, VA 22801


Harrisonburg Baptist Church
Stonewall Jackson Council 763
P.O. Box 281
Harrisonburg, VA 22803


Harrisonburg Police Dept
Stonewall Jackson Council 763
101 N Main St
Harrisonburg, VA 22802


Harrisonville Police Dept
Heart of America Council 307
208 E Pearl St
Harrisonville, MO 64701


Harrisonville Utd Methodist Church
Heart of America Council 307
2600 E Mechanic St
Harrisonville, MO 64701


Harriss   Covington Hosiery Mills Inc
P.O. Box 1909
High Point, NC 27261


Harrisville Congregal Christian Ch
Crossroads Of America 160
4900 E S St
Union City, In 47390


Harrisville Utd Methodist Church
Moraine Trails Council 500
P.O. Box 424
309 S Main St
Harrisville, PA 16038


Harrod Fire Dept
Black Swamp Area Council 449
123 S Walnut St
Harrod, OH 45850


Harry B. O Donnell Iv
Attn Harry B. O Donnell Iv
Watterson W Office Building
1941 Bishop Lane
Louisville, KY 40218


Harry Bitler And O Donnell Clark
Crew LLP Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 92709


Harry Bynum
Address Redacted


Harry Charles Dobbins
Address Redacted
Harry D Zeigler Post 6319
Mason Dixon Council 221
408 S Washington St
Greencastle, PA 17225


Harry E Anderson Vfw Post 9545
Rainbow Council 702
323 Old Hickory Rd
New Lenox, IL 60451


Harry Forrest
Address Redacted


Harry Kizirian Elementary School PTA
Narragansett 546
60 Camden Ave
Providence, RI 02908


Harry L Cooper Vfw Post 160
Baltimore Area Council 220
2597 Dorsey Rd
Glen Burnie, MD 21061


Harry Lane Iii
Address Redacted


Harry Lester Oakes
Address Redacted


Harry Madison
Address Redacted


Harry Merrill
Address Redacted


Harry Olson
Address Redacted


Harry Pokorny
Address Redacted
Harry S Truman Lodge 1727
Far E Council 803
169‐3 Noyang‐Ri, Paengseong‐Eup
Pyeongtaek, Gyeonggi‐Do
Korea, Republic Of


Harry S Truman Parent Teacher Assoc
Cascade Pacific Council 492
4505 NE 42nd Ave
Vancouver, WA 98661


Harry Satterfield Jr
Address Redacted


Harry Smith
Address Redacted


Harry Smith Hardware
dba Smiths True Value Hardware
300 E Laurel Ave
Eunice, LA 70535


Harry Spence School Ptu
Gateway Area 624
2150 Bennett St
La Crosse, WI 54601


Harry Whiting Brown House
Dan Beard Council, Bsa 438
34 Village Sq
Glendale, OH 45246


Harry Whitner Iii
Address Redacted


Harry Wimbrough
3137 Dashiell Rd,
Falls Church, VA 22042
Harsha Karanth
Address Redacted


Hart Howerton Partners Ltd
10 E 40th St
New York, NY 10016


Hart Vfw
President Gerald R Ford 781
802 S State St
Hart, MI 49420


Harter Elementary PTO
Buckeye Council 436
317 Raff Rd Nw
Canton, OH 44708


Harter Secrest    Emery, LLP
1600 Bausch    Lomb Pl
Rochester, NY 14604‐2711


Hartford Civic Club
Alabama‐Florida Council 003
P.O. Box 353
Hartford, AL 36344


Hartford Council Of Churches
Twin Rivers Council 364
P.O. Box 114
Hartford, NY 12838


Hartford Fire Dept
Connecticut Rivers Council, Bsa 066
253 High St
Hartford, CT 06103


Hartford Memorial Baptist Church
Great Lakes Fsc 272
18700 James Couzens Fwy
Detroit, MI 48235
Hartford Optimist Club
Great Trail 433
7034 State Route 609
Burghill, OH 44404


Hartford Parks And Recreation Dept
Bay‐Lakes Council 635
125 N Rural St
Hartford, WI 53027


Hartford Police Dept
Bay‐Lakes Council 635
110 N Johnson St
Hartford, WI 53027


Hartford Utd Methodist Church
Southern Shores Fsc 783
425 E Main St
Hartford, MI 49057


Hartland Fire Fighters Assoc
c/o Hartland Fire Hall
Southern Shores Fsc 783
3205 Hartland Rd
Hartland, MI 48353


Hartland Volunteer Fire Auxiliary
Green Mountain 592
341 US Rt 12
Hartland, VT 05048


Hartley Elementary School Clc ‐ Lincoln
Cornhusker Council 324
730 N 33rd St
Lincoln, NE 68503


Hartley Lions Club
Mid‐America Council 326
51 S 1st Ave W
Hartley, IA 51346


Hartley M Robey Post 151American Legion
Voyageurs Area 286
330 Minnesota St
Sandstone, MN 55072


Hartman Elementary Clc
Mid‐America Council 326
5530 N 66th St
Omaha, NE 68104


Hartman Park
Middle Tennessee Council 560
2801 Tucker Rd
Nashville, TN 37218


Hartman Park Community Center
Middle Tennessee Council 560
2801 Tucker Rd
Nashville, TN 37218


Hartsfield Parent‐Teacher Assoc
Sam Houston Area Council 576
5001 Perry St
Houston, TX 77021


Hartsook Companies Inc
P.O. Box 26147
Shawnee Mission, KS 66225


Hartwell Rotary Club
Northeast Georgia Council 101
P.O. Box 362
Hartwell, GA 30643


Hartwell Utd Methodist Church
Dan Beard Council, Bsa 438
140 Pkwy Ave
Cincinnati, OH 45216


Hartwood Presbyterian Church
National Capital Area Council 082
50 Hartwood Church Rd
Fredericksburg, VA 22406
Harundale Presbyterian Church
Baltimore Area Council 220
1020 Eway
Glen Burnie, MD 21060


Harvard Business Review
P.O. Box 62180
Tampa, FL 33663‐1803


Harvard Business School
Financial Office
Soldiers Field
Boston, MA 02163


Harvard Business School Publishing
300 N Beacon St
Watertown, MA 02472‐2750


Harvard Business School Publishing Corp
dba Harvard Bus Publishing,
Harvard Bus Review
20 Guest St, Ste 700
Brighton, MA 02135


Harvard Club Of New York City
27 W 44th St
New York, NY 10036


Harvard Div Of Continuing Education
Attn Linda Cross
51 Brattle St
Cambridge, MA 02138


Harvard Management Update
Subscriber Services Ctr
P.O. Box 2088
Danbury, CT 06813‐2088


Harvard University
Attn Student Receivables Office
953 Holyoke Center
1350 Massachusetts Ave
Cambridge, MA 02138


Harvard University
c/o Student Financial Service
51 Brattle St
Cambridge, MA 02138


Harvard‐Boy Scouts Inc
Heart of New England Council 230
P.O. Box 346
Harvard, MA 01451


Harvard‐Firefighters Assoc
Heart of New England Council 230
13 Ayer Rd
Harvard, MA 01451


Harvard‐Sportsmens Club
Heart of New England Council 230
250 Littleton County Rd
Harvard, MA 01451


Harvest Baptist Church
Indian Nations Council 488
24733 S Hwy 66
Claremore, OK 74019


Harvest Church Of The Nazarene
Quapaw Area Council 018
194 Old Military Rd
Conway, AR 72034


Harvest Fellowship Church, Inc
North Florida Council 087
5444 US 129 S
Jasper, FL 32052


Harvest Field Community Church
Attn Rev. Terry Cary
Southwest Florida Council 088
7710 121st Ave E
Parrish, FL 34219


Harvest Foods
Inland Nwest Council 611
14515 E Trent Ave
Spokane Valley, WA 99216


Harvest Foods 4
Inland Nwest Council 611
14515 E Trent Ave
Spokane Valley, WA 99216


Harvest Headquarters
124 Hart Ave
Raton, NM 87740


Harvest Lane Alliance Church
Erie Shores Council 460
5132 Harvest Ln
Toledo, OH 43623


Harvest Research Group LLC
3900 Rose Hill Ave, Ste 402A
Cincinnati, OH 45229


Harvest Ridge Elementary PTO
Greater St Louis Area Council 312
1220 Harvest Ridge Dr
St Charles, Mo 63303
Saint Charles, MO 63303


Harvest Ridge School PTO
Greater St Louis Area Council 312
1220 Harvest Ridge Dr
Saint Charles, MO 63303


Harvest Utd Methodist Church
Longhorn Council 662
6036 Locke Ave
Fort Worth, TX 76116
Harvest Utd Methodist Church
Sam Houston Area Council 576
9029 Sienna Ranch Rd
Missouri City, TX 77459


Harvest Utd Methodist Church
Southwest Florida Council 088
14305 Covenant Way
Lakewood Ranch, FL 34202


Harvester Christian Church
Greater St Louis Area Council 312
2950 Kings Xing
Saint Peters, MO 63303


Harvester Utd Methodist
Greater Tampa Bay Area 089
2432 Collier Pkwy
Land O Lakes, FL 34639


Harvey Browne Memorial Presbyterian Ch
Lincoln Heritage Council 205
311 Browns Ln
Louisville, Ky 40207


Harvey C Noone American Legion Post 954
Seneca Waterways 397
6444 Buffalo Rd
Churchville, NY 14428


Harvey Drive Church Of Christ
Rio Grande Council 775
508 W Harvey St
Mcallen, TX 78501


Harvey Electric
P.O. Box 1326
Key Largo, FL 33037


Harvey Hunter
Address Redacted
Harvey Kelley Jr
Address Redacted


Harvey Kiwanis Club
c/o Mark Knudtson
Northern Lights Council 429
2954 25th St Ne
Harvey, ND 58341


Harvey Oaks Home Owner S Assoc
Mid‐America Council 326
14906 Brookside Cir
Omaha, NE 68144


Harvey Oaks School Homeowners Assoc
Mid‐America Council 326
14866 Harvey Oaks Ave
Omaha, NE 68144


Harvey Raper
Address Redacted


Harvey Ruel Post 1164
Rainbow Council 702
4216 E 5000N Rd
Bourbonnais, IL 60914


Harvey Thompson
Address Redacted


Harvey W Hoopes Iv
Address Redacted


Harveys Office Products
6650 Highland Rd M59, Ste 303
Waterford, MI 48327


Harveyville Utd Methodist Church
Jayhawk Area Council 197
371 Wabaunsee
Harveyville, KS 66431


Harwich Fire Assoc
Cape Cod and Islands Cncl 224
175 Sisson Rd
Harwich, MA 02645


Harwich Police Assoc
Cape Cod and Islands Cncl 224
Sisson Rd
Harwich, MA 02645


Harwood American Legion
Northern Lights Council 429
Lowell Matthys
P.O. Box 37
Harwood, ND 58042


Harwood Lloyd, LLC
130 Main St
Hackensack, NJ 07601


Haskell School Parent Teachers Org
Blackhawk Area 660
515 Maple St
Rockford, IL 61103


Hasler‐Kamp Post 215 American Legion
Hudson Valley Council 374
P.O. Box 515
Pawling, NY 12564


Haslett Commty
Church
United Church Of Christ
Water And Woods Council 782
1427 Haslett Rd
Haslett, Mi 48840


Haslett Community Church
Water and Woods Council 782
1427 Haslett Rd
Haslett, MI 48840


Hasselbring‐Clark Co
P.O. Box 25006
Lansing, MI 48909


Hassler Elementary School PTO
Sam Houston Area Council 576
9325 Lochlea Ridge Dr
Spring, TX 77379


Hastings College
Financial Aid
710 N Turner Ave
Hastings, NE 68901


Hastings Fire Dept
Westchester Putnam 388
50 Main St
Hastings On Hudson, NY 10706


Hastings Group Of Concerned Citizens
North Florida Council 087
4750 Florida 206
Elkton, FL 32033


Hastings Lions Club
Northern Star Council 250
2224 Wview Dr
Hastings, MN 55033


Hastings Police
Lilly Murr Post 9567
150 3rd St E
Hastings, MN 55033‐1210


Hastings Ward LDS Church
Overland Trails 322
1725 Crane Ave
Hastings, NE 68901
Hat Trick Theatre Productions Inc
Greater Tampa Bay Area 089
17540 Willow Pond Dr
Lutz, FL 33549


Hatboro Baptist Church
Cradle of Liberty Council 525
32 N York Rd
Hatboro, PA 19040


Hatboro Community Methodist Church
Cradle of Liberty Council 525
730 Preston Ln
Hatboro, PA 19040


Hatboro Rotary Club
Cradle of Liberty Council 525
P.O. Box 435
Hatboro, PA 19040


Hatch Mott Macdonald LLC
W510344 P.O. Box 7777
Philadelphia, PA 19175‐0344


Hatchling Productions
P.O. Box 301
Clunes, Nsw 2480
Australia


Hatfield Police Assoc
Western Massachusetts Council 234
59 Main St
Hatfield, MA 01038


Hatfield Post 933 The American Legion
Cradle of Liberty Council 525
P.O. Box 125
Hatfield, PA 19440


Hathaway Fire Dept
Calcasieu Area Council 209
5396 Pine Island Hwy
Jennings, LA 70546


Hattie Hayward
Address Redacted


Hattie Larlham Foundation
Great Trail 433
9772 Diagonal Rd
Mantua, OH 44255


Hattie Robertson
Address Redacted


Hattiesburg High Jrotc
Pine Burr Area Council 304
301 Hutchinson Ave
Hattiesburg, MS 39401


Hauber, Inc
128 Mangrove Ln
Tavernier, FL 33070


Haude Elementary School PTO
Sam Houston Area Council 576
3311 Louetta Rd
Spring, TX 77388


Haught Chapel Utd Methodist Men
Mountaineer Area 615
P.O. Box 403
Fairview, WV 26570


Hauling Reorganization LLC Glens Towing
dba Lewis Terminal Garage
P.O. Box 1661
Oak Hill, WV 25901


Hauppauge Fire Dept
Suffolk County Council Inc 404
855 Wheeler Rd
Hauppauge, NY 11788


Haus Of Hammers And Thrones
Long Beach Area Council 032
4248 3/4 Maxson Rd
El Monte, CA 91732


Hauser Architects Inc
3780 E 15th St, Ste 201
Loveland, CO 80538


Haute On The Hill By Ridgwells Inc
dba Capital Host and Haute Catering
P.O. Box 77896
Washington, DC 20013


Havana Commty
Developement Corporation
Suwannee River Area Council 664
264 Carver Ave
Havana, Fl 32333


Havana S 1st Utd Methodist Ch Mens Club
W D Boyce 138
101 S Broadway St
Havana, Il 62644


Haven Lutheran Church
Mason Dixon Council 221
1035 Haven Rd
Hagerstown, MD 21742


Havenstein S, Inc
547 Main St
Tell City, IN 47856


Havenwood Presbyterian Church
Baltimore Area Council 220
100 E Ridgely Rd
Lutherville, MD 21093
Haverford College
Financial Aid Office
370 Lancaster Ave
Haverford, PA 19041


Havre De Grace Police Dept
Baltimore Area Council 220
715 Pennington Ave
Havre De Grace, MD 21078


Havre De Grace Utd Methodist Church
Baltimore Area Council 220
101 S Union Ave
Havre De Grace, MD 21078


Hawaii Attorney General
201 Merchant St, Ste 1805
Honolulu, HI 96813


Hawaii Kai Lions Club
Aloha Council, Bsa 104
P.O. Box 25163
Honolulu, HI 96825


Hawaii Kai Lions Club
c/o Mr. William Modglin, Jr
Aloha Council, Bsa 104
6217 Milolii Pl, Apt 101
Honolulu, HI 96825


Hawaii Youth Maritime Programs, Inc
Aloha Council, Bsa 104
1774 Puu Kaa St
Kapaa, HI 96746


Hawaii Youth Maritime Programs, Inc
Guam
Aloha Council, Bsa 104
1774 Puu Kaa St
Kapaa, Hi 96746


Hawaiian Airlines Inc
Aloha Council, Bsa 104
3375 Koapaka St
Honolulu, HI 96819


Hawfields Presbyterian Church
Old N State Council 070
2115 Nc 119 S
Mebane, NC 27302


Hawk Mountain
5027 Pottsville Pike
Reading, PA 19605‐1284


Hawk Mountain Cncl No 528
5027 Pottsville Pike
Reading, PA 19605‐9713


Hawk Mountain Council Bsa
Hawk Mountain Council 528
5027 Pottsville Pike
Reading, PA 19605


Hawk Publications
P.O. Box 182
Angel Fire, NM 87710


Hawker Utd Church Of Christ
Tecumseh 439
1617 N Longview St
Beavercreek, OH 45432


Hawkeye Alarm   Signal Co
P.O. Box 2431
Waterloo, IA 50704


Hawkeye Area
660 32nd Ave, Sw
Cedar Rapids, IA 52404‐3910


Hawkeye Area Cncl No 172
660 32nd Ave Sw
Cedar Rapids, IA 52404‐3910


Hawkins Commercial Appliance
3000 S Wyandot St
Englewood, CO 80110


Hawkins Methodist Church
Andrew Jackson Council 303
317 Goodrum Rd
Vicksburg, MS 39180


Hawks Rise Elementary School PTO
Suwannee River Area Council 664
205 Meadow Ridge Dr
Tallahassee, FL 32312


Hawley Area Fire Dept
Northern Lights Council 429
P.O. Box 254
Hawley, MN 56549


Hawley Area Fire Dept
Northern Lights Council 429
P.O. Box 981
Hawley, MN 56549


Hawley Memorial Presbyterian Church
Mason Dixon Council 221
P.O. Box 582
14753 Charmian Rd
Blue Ridge Summit, PA 17214


Hawley Troxell Ennis    Hawley LLP
877 N Main St, Ste 1000
Boise, ID 83701‐1617


Hawley Troxell Ennis   Hawley LLP
P.O. Box 1617
Boise, ID 83701‐1617


Hawleyton Utd Methodist Church
Baden‐Powell Council 368
901 Hawleyton Rd
Binghamton, NY 13903


Haworth Fire Co
Northern New Jersey Council, Bsa 333
75 Hardenburgh Ave
Haworth, NJ 07641


Hawthorn PTO
Greater St Louis Area Council 312
50 Spencer Trail Ct
Saint Peters, MO 63376


Hawthorne Parent Teacher Assoc
Three Fires Council 127
145 W Arthur St
Elmhurst, IL 60126


Hawthorne Police Dept
Greater Los Angeles Area 033
12501 Hawthorne Blvd
Hawthorne, CA 90250


Hawthorne Post 112‐American Legion
Westchester Putnam 388
P.O. Box 147
Hawthorne, NY 10532


Hawthorne PTA
Great Rivers Council 653
1250 W Curtis St
Mexico, MO 65265


Hawthorne School PTO
Potawatomi Area Council 651
1111 Maitland Dr
Waukesha, WI 53188


Haxtun American Legion Post 137
Longs Peak Council 062
129 N Colorado
Haxtun, CO 80731


Hay Group, Inc
P.O. Box 828352
Philadelphia, PA 19182‐8352


Hay House
P.O. Box 5100
Carlsbad, CA 92018‐5100


Hayden Catholic High School
Jayhawk Area Council 197
401 SW Gage Blvd
Topeka, KS 66606


Hayden Lake Eagles Foe 4080
Inland Nwest Council 611
P.O. Box 1319
Hayden, ID 83835


Hayden Lions Club
Greater Alabama Council 001
P.O. Box 241
Hayden, AL 35079


Hayden M Brandt
Address Redacted


Hayden Utd Methodist Church
Greater Alabama Council 001
277 3rd St
Hayden, AL 35079


Hayes Barton Baptist Church
Occoneechee 421
1800 Glenwood Ave
Raleigh, NC 27608


Hayes Catholic School Home School Assc
Illowa Council 133
2407 Cedar St
Muscatine, IA 52761


Hayes Elementary School PTA
Great Lakes Fsc 272
30600 Louise St
Westland, MI 48185


Hayes Looney
Address Redacted


Hayes Memorial Utd Methodist Church
Erie Shores Council 460
1441 Fangboner Rd
Fremont, OH 43420


Hayesville Men ‐ Boys Club Inc
c/o Byron Meadows
Cascade Pacific Council 492
4758 Lisa St Ne
Salem, OR 97305


Hayfield Citizens Assoc
c/o Susan King
National Capital Area Council 082
7621 Hayfield Rd
Alexandria, VA 22315


Hayfield Citizens Assoc Inc
National Capital Area Council 082
7821 Welch Ct
Alexandria, VA 22315


Haygood Memorial Utd Methodist Church
Atlanta Area Council 092
1015 E Rock Springs Rd Ne
Atlanta, GA 30306


Haygood Utd Methodist Church
Tidewater Council 596
4713 Haygood Rd
Virginia Beach, VA 23455
Haylee Hughes
Address Redacted


Hayley D Kilmer
Address Redacted


Hayley R Cordaro
Address Redacted


Haylie S Goetz
Address Redacted


Haymarket Masonic Lodge No 313
National Capital Area Council 082
6713 Jefferson St
Haymarket, VA 20169


Haymarket Worldwide Inc
16842 Von Karman Ave, Ste 125
Irvine, CA 92606


Haymount Utd Methodist Church
Occoneechee 421
1700 Fort Bragg Rd
Fayetteville, NC 28303


Hayneedle Inc
9394 W Dodge Rd, Ste 300
Omaha, NE 68114‐3319


Haynes   Boone LLP
P.O. Box 841399
Dallas, TX 75284‐1399


Hays County Constable PCt 1
Capitol Area Council 564
712 Stage Coach Trail
San Marcos, TX 78666
Hays County Sheriffs Office
Capitol Area Council 564
1307 Uhland Rd
San Marcos, TX 78666


Hays Lions Club
Coronado Area Council 192
1320 Douglas Dr
Hays, KS 67601


Hays Lions Club   1St Utd Meth Church
Coronado Area Council 192
1320 Douglas Dr
Hays, KS 67601


Hays W Woods
Address Redacted


Haysi Volunteer Fire Dept
Sequoyah Council 713
P.O. Box 610
Haysi, VA 24256


Haysville Utd Methodist Church
Quivira Council, Bsa 198
601 E Grand Ave
Haysville, KS 67060


Hayward Lions Club
Chippewa Valley Council 637
13754W Sjostrom Cir
Hayward, WI 54843


Hayward Police Dept
San Francisco Bay Area Council 028
300 W Winton Ave
Hayward, CA 94544


Hayward Vets AL Post 870
San Francisco Bay Area Council 028
27081 Fielding Dr
Hayward, Ca 94542
Hazel Avenue PTA
Northern New Jersey Council, Bsa 333
45 Hazel Ave
West Orange, NJ 07052


Hazel Dell Elementary School PTO
Crossroads of America 160
3025 Wfield Rd
Noblesville, IN 46062


Hazel Gann
Address Redacted


Hazel Green Utd Methodist Church
Greater Alabama Council 001
P.O. Box 10
14131 US Hwy 231
Hazel Green, AL 35750


Hazel Mcelroy
Address Redacted


Hazel Moore
Address Redacted


Hazel Park Recreation Dept
Great Lakes Fsc 272
620 W Woodward Heights Blvd
Hazel Park, MI 48030


Hazel Standeven
Address Redacted


Hazeldale School Ptc
Cascade Pacific Council 492
20080 SW Farmington Rd
Aloha, OR 97007


Hazelton Heights Fire Co 4
Northern New Jersey Council, Bsa 333
P.O. Box 723
Troop 3 Bsa
Ridgefield Park, NJ 07660


Hazelton Ward ‐ Paul Stake
Snake River Council 111
531 Middleton Ave
Hazelton, ID 83335


Hazelwood Christian Church
Crossroads of America 160
9947 S County Rd 0
Clayton, IN 46118


Hazelwood East Middle School
Greater St Louis Area Council 312
11300 Dunn Rd
Saint Louis, MO 63138


Hazelwood Police Dept
Greater St Louis Area Council 312
415 Elm Grove Ln
Hazelwood, MO 63042


Hazen Lions Club
c/o Doug Rothe
Northern Lights Council 429
508 4th Ave Nw
Hazen, ND 58545


Hazlehurst Group Of Concerned Citizens
Coastal Georgia Council 099
189 E Jarman St
Hazlehurst, GA 31539


Hazlet Fire Co No 1
Monmouth Council, Bsa 347
Holmdel Rd
Hazlet, NJ 07730


Hazlet First Aid   Rescue Squad
Monmouth Council, Bsa 347
19 Maple Dr
Hazlet, NJ 07730


Hazmatpac Inc
P.O. Box 41027
Houston, TX 77241‐1027


Hb Police And Fire Depts
Orange County Council 039
18381 Gothard St
H B Search   Rescue
Huntington Beach, CA 92648


Hcso Explorer Program Post 41
Sam Houston Area Council 576
6831 Cypresswood Dr
Spring, TX 77379


Hcso Explorer Program Post 42
Sam Houston Area Council 576
7900 Will Clayton Pkwy
Humble, TX 77338


Hcso Explorer Program Post 43
Sam Houston Area Council 576
14350 Wallisville Rd
Houston, TX 77049


Hcso Explorer Program Post 44
Sam Houston Area Council 576
16715 Clay Rd
Houston, TX 77084


Hd Communications
2180 5th Ave
Ronkonkoma, NY 11779


Hd Student Healthcare Internship Pipline
California Inland Empire Council 045
12555 Navajo Rd
Apple Valley, CA 92308
Hd Supply Facilities Maintenance
P.O. Box 509058
San Diego, CA 92150‐9058


Hd Supply Facilities Maintenance Ltd
3781 Bur Wood Dr
Waukegan, IL 60085


Hd Supply Facilities Maintenance Ltd
dba Usabluebook
P.O. Box 9004
Gurnee, IL 60031‐9004


Hd Supply Plumbing / Hvac Ltd
P.O. Box 601976
Charlotte, NC 28260‐1976


Hd Supply Waterworks Ltd
3100 Cumberland Blvd Se, Ste 1700
Atlanta, GA 30339


Hd Supply Waterworks Ltd
P.O. Box 28330
St Louis, MO 63146


Hd Supply Waterworks Ltd
P.O. Box 91036
Chicago, IL 60693‐1036


Hdr, Inc
Mid‐America Council 326
1917 S 67th St
Omaha, NE 68106


He E Nalu, LLC
Aloha Council, Bsa 104
59‐520 Aukauka Pl
Haleiwa, HI 96712
Head In The Clouds Productions
125 S 2nd St
Raton, NM 87740


Head Rush Technologies LLC
1835 38th St, Ste C
Boulder, CO 80301


Headland Utd Methodist Church
Alabama‐Florida Council 003
103 W King St
Headland, AL 36345


Headliners Club Inc
P.O. Box 97
Austin, TX 78767


Headquarters 224 Sust. Brigade
W.L.A.C.C. 051
2200 Redondo Ave
Long Beach, CA 90822


HeadsetsCom
One Daniel Burnham Ct 400C
San Francisco, CA 94109


Headstrong Services LLC
Fairfax Office
4035 Ridge Top Rd, Ste 300
Fairfax, VA 22030


Headsweats, Inc
11711 Lebanon Rd
Cincinnati, OH 45241


Healdsburg Fire Dept
Redwood Empire Council 041
601 Healdsburg Ave
Healdsburg, CA 95448


Health
P.O. Box 62120
Tampa, FL 33663‐1203


Health Care Logsitics
450 Town St
Circleville, OH 43113


Health Care Service Corp
Blue Cross Blue Shield of Tx
300 E Randolph St
Chicago, IL 60601


Health Front PC
P.O. Box 844449
Dallas, TX 75284‐4449


Health Management Systems Inc
dba Hms Inc
P.O. Box 27151
New York, NY 10087‐7151


Health Products For You
14 Fairfield Dr
Brookfield, CT 06804


Health Special Risk Inc
P.O. Box 957765
St Louis, MO 63195


Health Warrior, Inc
1707 Summit Ave
Richmond, VA 23230


Healthcare Allinace Inc
P.O. Box 740023
Cincannati, OH 45274‐0023


Healthcare Explorers Parent Assoc
Great Salt Lake Council 590
620 W 400 N
Salt Lake City, UT 84116
Healthpark Medical Center
Southwest Florida Council 088
9981 S Healthpark Dr
Fort Myers, FL 33908


Healthport
P.O. Box 409740
Atlanta, GA 30384‐9740


Healthtrust Purchasing Group, LP
155 Franklin Rd, Ste 400
Brentwood, TN 37027


Heard Robinson
Address Redacted


Heardes Butler Jr
Address Redacted


Heards Ferry PTA
Atlanta Area Council 092
6151 Powers Ferry Rd
Sandy Springs, GA 30339


Hearst Corp
P.O. Box 8464
Red Oak, IA 51591‐1464


Heart Home School
Sam Houston Area Council 576
18422 Dale Forest Ct
Humble, TX 77346


Heart Longmont Utd Methodist Ch
Longs Peak Council 062
350 11Th Ave
Longmont, Co 80501


Heart Of America
10210 Holmes Rd
Kansas City, MO 64131


Heart Of America Council
10210 Holmes Rd
Kansas City, MO 64131‐4212


Heart Of America Trail To Eagle
Heart of America Council 307
617 NE 81st Ter
Kansas City, MO 64118


Heart Of God Fellowship
Heart of America Council 307
3720 N Buckner Tarsney Rd
Buckner, MO 64016


Heart Of God Ministries
Buckskin 617
1703 S Kanawha St
Beckley, WV 25801


Heart Of New England
1980 Lunenburg Rd
Lancaster, MA 01523


Heart Of New England Council 230
1980 Lunenburg Rd
Lancaster, MA 01523


Heart Of Ohio Scout Shop
471 US Rt 250 E, Bldg D
Ashland, OH 44805


Heart Of The Desert, Inc
7288 Hwy 54/70
Alamogordo, NM 88310


Heart Of Virginia
P.O. Box 6809
Richmond, VA 23230
Heart Of Virginia Cncl 602
4015 Fitzhugh Ave
P.O. Box 6809
Richmond, VA 23230‐6809


Heartfelt Music Ministries
P.O. Box 3
Mt Hermon, CA 95041


Hearthside Corner Inc
1203 E Sheridan St
Ely, MN 55731


Heartland Business Credit
Leasing Services
Department 202
Denver, CO 80291‐0202


Heartland Center
16965 NW 45 Hwy
Parkville, MO 64152


Heartland Elementary
Lincoln Heritage Council 205
2300 Nelson Dr
Elizabethtown, KY 42701


Heartland Elementary PTO
Heart of America Council 307
12775 Goodman St
Shawnee Mission, KS 66213


Heartland Girls Ranch
Northern Lights Council 429
185 Hwy 9 Ne
Benson, MN 56215


Heartland Graphics
1715 12th St
Monroe, WI 53566
Heartland It Consulting
1722 N Hall St, Ste 200
Dallas, TX 75204‐3902


Heartland Presbyterian
16965 NW 45 Hwy
Parkville, MO 64152


Heartland Presbyterian Center
Heart of America Council 307
16965 NW Hwy 45
Parkville, MO 64152


Heartland Presbyterian Church
Mid Iowa Council 177
14300 Hickman Rd
Clive, IA 50325


Heartland Trailways
P.O. Box 3243
St Joseph, MO 64503


Hearts   Hands For Haiti
2013 Midwood Dr
Raleigh, NC 27604


Hearts Academy
Atlanta Area Council 092
4010 Fambrough Dr
Powder Springs, GA 30127


Heat Optimist Club
Catalina Council 011
7961 S Depot Ct
Tucson, AZ 85747


Heath Geil‐Haggerty
Address Redacted
Heath Richmond
Address Redacted


Heath Rose
Address Redacted


Heath Utd Methodist Church
Simon Kenton Council 441
1149 Hebron Rd
Heath, OH 43056


Heather Balom
Address Redacted


Heather Bolte
Address Redacted


Heather Burks
Address Redacted


Heather Contrestan
Address Redacted


Heather Dunton
Address Redacted


Heather Ettmyer
Address Redacted


Heather Frailey
Address Redacted


Heather Giesey
Address Redacted


Heather Huebner
Address Redacted
Heather Johnson
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Heather Josebeck
Address Redacted


Heather Kienast
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Heather Kostka
Address Redacted


Heather Lowthert
Address Redacted


Heather M Youmans
Address Redacted


Heather M Zink
Address Redacted


Heather Mayfield
Address Redacted


Heather Mcmillan
Address Redacted


Heather Miller
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Heather N Bermudez
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Heather Persaud
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Heather Rauch
Address Redacted
Heather Richards
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Heather Sheehan
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Heather Shepard
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Heather Sherbon
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Heather Stout
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Heather Sweeney
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Heather Thompson
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Heatherwood Baptist Church
Flint River Council 095
721 Shenandoah Blvd
Newnan, GA 30265


Heathsville Utd Methodist Church
Heart of Virginia Council 602
P.O. Box 86
Heathsville, VA 22473


Heaven Hill Idstilleries Inc
P.O. Box 729
Bardstown, KY 40004


Heavenly Host Lutheran Church
Middle Tennessee Council 560
777 S Willow Ave
Cookeville, TN 38501


Heavenly Host Lutheran Church      School
Middle Tennessee Council 560
777 S Willow Ave
Cookeville, TN 38501


Hebbronville Border Patrol
South Texas Council 577
34 E State Hwy 359
Hebbronville, TX 78361


Hebrew College/Shamash
160 Herrick Rd
Newton Centre, MA 02459


Hebrew Institute Of White Plains
Westchester Putnam 388
40 Prescott Ave
White Plains, NY 10605


Hebron Baptist Church
Alabama‐Florida Council 003
3347 County Rd 308
Troy, AL 36079


Hebron Christian Academy
Northeast Georgia Council 101
570 Dacula Rd
Dacula, GA 30019


Hebron Lions Club
Dan Beard Council, Bsa 438
P.O. Box 242
Hebron, KY 41048


Hebron Lions Club
Lasalle Council 165
79 Maple Ct
Hebron, IN 46341
Hebron Utd Methodist
Old N State Council 070
2325 Mebane Oaks Rd
Mebane, NC 27302


Hebron Utd Methodist Church
Piedmont Council 420
1929 W Hwy 27
Vale, NC 28168


Hecht Spencer   Assoc Inc
499 S Capitol St Sw
Washington, DC 20003


Hecht Spencer   Assoc Inc
525 9th St Nw, Ste 800
Washington, DC 20004


Heckerling Institute
University of Miami School of Law
1311 Miller Dr, Rm C‐423
Coral Gables, FL 33146


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Hector E Hernandez Adorno
Address Redacted


Hector Garma
Address Redacted


Hector Lions Club
Northern Star Council 250
P.O. Box 433
Hector, MN 55342


Hector Martinez
Address Redacted
Hedding Utd Methodist Men
Green Mountain 592
40 Washington St
Barre, VT 05641


Hedges Chapel Cccu
Simon Kenton Council 441
15495 Winchester Rd
Ashville, OH 43103


Hedgesville Utd Methodist Church
Shenandoah Area Council 598
201 S Mary St
Hedgesville, WV 25427


Hedman And Assoc
3312 Woodford, Ste 200
Arlington, TX 76013‐1139


Hedrick S Grove Utd Church Of Christ
Old N State Council 070
3840 Allred Rd
Lexington, NC 27292


Heflinreps Inc
10 Lindel Ter
Leonia, NJ 07605


Heidelberg Lions Club
Pennsylvania Dutch Council 524
501 W Main St
Schaefferstown, PA 17088


Heidelberg Utd Church Of Christ
Cradle of Liberty Council 525
1101 Cowpath Rd
Hatfield, PA 19440


Heidelberg Utd Church Of Christ
Cradle of Liberty Council 525
251 Perkiomen Ave
Schwenksville, PA 19473
Heidi Anuszkiewicz
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Heidi Daubendiek
Address Redacted


Heidi Davenport
Address Redacted


Heidi Foisy
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Heidi M Hummel
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Heidi Steppe Roytek
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Heifer International
1 World Ave
Little Rock, AR 72202


Heights Business Optimist Club
Montana Council 315
1825 Sagebrush Rd
Billings, MT 59105


Heights Charter School
Southwest Florida Council 088
15570 Hagie Dr
Fort Myers, FL 33908


Heights Christian Ch Disciples Christ
Sam Houston Area Council 576
1703 Heights Blvd
Houston, Tx 77008


Heights Elementary School
Bay Area Council 574
300 N Logan St
Texas City, TX 77590


Heights Jewish Center
Lake Erie Council 440
14270 Cedar Rd
Cleveland, OH 44121


Heights Presbyterian Church
Sam Houston Area Council 576
240 W 18th St
Houston, TX 77008


Heigl Technologies Inc
7667 Cahill Rd, Ste 100
Edina, MN 55439


Heiland American Legion Post 446
Miami Valley Council, Bsa 444
North Co Rd 25‐A
Anna, OH 45302


Heilmann Recreation Center
Great Lakes Fsc 272
19601 Crusade St
Detroit, MI 48205


Heim Middle School PTA
Greater Niagara Frontier Council 380
175 Heim Rd
Williamsville, NY 14221


Heim Rd Elementary School PTA
Greater Niagara Frontier Council 380
155 Heim Rd
Williamsville, NY 14221


Heinline‐Hanks
Ozark Trails Council 306
P.O. Box 172
Fair Grove, MO 65648
Heinrich Christmann
Address Redacted


Heiskell Utd Methodist Church
Great Smoky Mountain Council 557
9420 Heiskell Rd
Heiskell, TN 37754


Helen A Houp
2626 Lombardy Ln, Ste 106
Dallas, TX 75220‐2500


Helen Arnold Community Center
Great Trail 433
450 Vernon Odom Blvd
Akron, OH 44307


Helen Barber
Address Redacted


Helen Bohlig
Address Redacted


Helen Casto
Address Redacted


Helen Clark
Address Redacted


Helen Cunningham
Address Redacted


Helen Deysher
Address Redacted


Helen Foley
Address Redacted
Helen Forward
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Helen Glaser
Address Redacted


Helen Harrison
Address Redacted


Helen Harrod
Address Redacted


Helen Herrera
Address Redacted


Helen Irey‐Jackson
Address Redacted


Helen Kane
Address Redacted


Helen Lauginiger
Address Redacted


Helen Nourse
Address Redacted


Helen Pelkey
Address Redacted


Helen Plotkin
Address Redacted


Helen Redmond
Address Redacted


Helen Rey
Address Redacted


Helen Saddlemire
Address Redacted


Helen Singer
Address Redacted


Helen Snelson
Address Redacted


Helen Sonenberg
Address Redacted


Helen Weachock
Address Redacted


Helena Civitan Club
Montana Council 315
1006 Saddle Dr
Helena, MT 59601


Helena Fire Dept
Greater Alabama Council 001
P.O. Box 262
Helena, AL 35080


Helena Police Dept
Greater Alabama Council 001
P.O. Box 262
Helena, AL 35080


Helena Utd Methodist Church
Greater Alabama Council 001
2035 Hwy 58
Helena, AL 35080


Helena Utd Methodist Church
Old N State Council 070
290 Helena Moriah Rd
Timberlake, NC 27583


Helendale‐Silver Lakes Lions Club
California Inland Empire Council 045
P.O. Box 678
Helendale, CA 92342


Helene Ferguson
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Helene Levesque
Address Redacted


Helene Sullivan
Address Redacted


Helfrich Park‐Glenwood‐Plaza Park
Parent Support Group Special Needs
Buffalo Trace 156
2603 W Maryland St
Evansville, In 47712


Heliconia Press The
1576 Beachburg Rd
Beachburg, ON K0J 1C0
Canada


Helix
310 S Racine Ave
Chicago, IL 60607


Hellenic Orthodox Community Of Astoria
Greater New York Councils, Bsa 640
3011 30th Dr
Astoria, NY 11102


Hellenic Orthodox Community Of Denver
Denver Area Council 061
4610 E Alameda Ave
Denver, CO 80246
Hello Direct Inc
75 Neastern Blvd
Ms Box 555
Nashua, NH 03062


Hello Direct Inc
Dept Ch 17200
Palatine, IL 60055‐7200


Hello Florida Inc
3840 Vineland Rd, Ste 200
Orlando, FL 32811


Hellriegel S Foto 1
Chief Seattle Council 609
P.O. Box 8149
Covington, WA 98042


Helmsbriscoe Dallas
Barbara Richards
P.O. Box 351
Athens, TX 75751


Helotes Hills Utd Methodist Church
Alamo Area Council 583
13222 Bandera Rd
Helotes, TX 78023


Helotes LDS Ward‐West Stake
Alamo Area Council 583
13153 Iron Horse Way
Helotes, TX 78023


Helotes Lions Club
Alamo Area Council 583
14690 Bandera Rd
Helotes, TX 78023


Help Desk Chapters Inc
c/o Paul Strei
2564 Stone Meadows Trl, 10
Green Bay, WI 54313


Help Desk Chapters Inc
P.O. Box 540202
Grand Prairie, TX 75054‐0202


Helping Hand Home For Children
Capitol Area Council 564
3804 Ave B
Austin, TX 78751


Helping Here ‐ Helping There
Aloha Council, Bsa 104
55‐568 Naniloa Loop, Apt 7C
Laie, HI 96762


Helsell Fetterman
1001 4th Ave, Ste 4200
Seattle, WA 98154‐1154


Hemenway Utd Methodist Church
Northeast Illinois 129
933 Chicago Ave
Evanston, IL 60202


Hemet Police Dept
California Inland Empire Council 045
450 E Latham Ave
Hemet, CA 92543


Hemispheres
2325 S Stemmons, Ste 400A
Lewisville, TX 75067


Hemlock Grange Hall
Connecticut Rivers Council, Bsa 066
Sage Hollow Rd
Portland, CT 06480


Hemlock Grove Christian Church
Buckskin 617
General Delivery
Pomeroy, OH 45769


Hemlock Grove Utd Methodist Church
Northeastern Pennsylvania Council 501
491 Roernville Rd
Greentown, PA 18426


Hemlock Lions Club
Water and Woods Council 782
3730 Trimm Rd
Saginaw, MI 48609


Hempfield Fire Co
Pennsylvania Dutch Council 524
19 W Main St
Salunga, PA 17538


Hemphill Elementary PTA
Capitol Area Council 564
3995 E Fm 150
Kyle, TX 78640


Hemphill School PTA
Greater Alabama Council 001
1240 Cotton Ave Sw
Birmingham, AL 35211


Henderson
Green Valley Elks Lodge 2802
Las Vegas Area Council 328
P.O. Box 90007
Henderson, Nv 89009


Henderson Center Kiwanis
Crater Lake Council 491
P.O. Box 615
Eureka, CA 95502


Henderson Civitan Club
West Tennessee Area Council 559
Henderson
Henderson, TN 38340


Henderson Community Church
Denver Area Council 061
12001 Oakland St
Henderson, CO 80640


Henderson Elementary School PTO
Greater St Louis Area Council 312
2663 Hackmann Rd
Saint Charles, MO 63303


Henderson Fire Dept
Las Vegas Area Council 328
405 Parkson Rd
Henderson, NV 89015


Henderson Funeral Home
Texas Trails Council 561
P.O. Box 609
Santa Anna, TX 76878


Henderson International School
Las Vegas Area Council 328
1165 Sandy Ridge Ave
Henderson, NV 89052


Henderson Parent Teacher Organization
Great Lakes Fsc 272
16101 W Chicago St
Detroit, MI 48228


Henderson Police Dept
Las Vegas Area Council 328
223 Lead St
Friends of Scouting
Henderson, NV 89015


Henderson Presbyterian Church
Las Vegas Area Council 328
P.O. Box 91346
Henderson, NV 89009
Henderson Unit Boys And Girls Club
Ozark Trails Council 306
835 W Calhoun St
Springfield, MO 65802


Hendersonville 1st Utd Methodist Ch
Middle Tennessee Council 560
217 E Main St
Hendersonville, Tn 37075


Hendersonville Church Of Christ
Middle Tennessee Council 560
107 Rockland Rd
Hendersonville, TN 37075


Hendersonville Hs Mjrotc
Middle Tennessee Council 560
123 Cherokee Rd
Hendersonville, TN 37075


Hendersonville Kiwanis Club
Daniel Boone Council 414
P.O. Box 2138
Hendersonville, NC 28793


Hendersonville Lions Club
Daniel Boone Council 414
P.O. Box 2093
Hendersonville, NC 28793


Hendersonville Police Dept
Middle Tennessee Council 560
3 Exec Park Dr
Hendersonville, TN 37075


Hendersonville Presbyterian Church
Daniel Boone Council 414
699 N Grove St
Hendersonville, NC 28792
Hendricks Regional Health
Crossroads of America 160
1000 E Main St
Danville, IN 46122


Hendrix College
Attn Chris Simon
1600 Washington Ave
Conway, AR 72032


Hendron Lone Oak Parent Teacher Org
Lincoln Heritage Council 205
2501 Marshall Ave
Paducah, Ky 42003


Hendry County Sheriff S Dept.
Southwest Florida Council 088
101 S Bridge St
Labelle, FL 33935


Hendy Avenue School PTO
Five Rivers Council, Inc 375
110 Hendy Ave
Elmira, NY 14905


Henleyfield Vfd
Pine Burr Area Council 304
5585 Hwy 43 N
Carriere, MS 39426


Hennepin County Sheriffs Office
Northern Star Council 250
350 S 5th St, Ste 6
Minneapolis, MN 55415


Henniker Fire And Rescue
Daniel Webster Council, Bsa 330
216 Maple St
Henniker, NH 03242


Henning Erickson Vfw Po/Trinity Luth Ch
Northern Star Council 250
1218 N 6th St
Montevideo, MN 56265


Henning Memorial Utd Methodist Church
Calcasieu Area Council 209
401 Ruth Str
Sulphur, LA 70663


Henning Rod And Gun
Northern Lights Council 429
49888 220th St
Henning, MN 56551


Henrico Co Dept Of Parks And Recreation
Heart of Virginia Council 602
P.O. Box 27032
Richmond, VA 23273


Henrico County Div Of Fire
Heart of Virginia Council 602
P.O. Box 90775
Richmond, VA 23273


Henrico County Police Div
Heart of Virginia Council 602
P.O. Box 90775
Henrico, VA 23273


Henrietta Christian Fellowship
Seneca Waterways 397
1085 Middle Rd
Rush, NY 14543


Henrietta Fire Co 1
Seneca Waterways 397
3129 E Henrietta Rd
Henrietta, NY 14467


Henrietta Payne Unit
Huntington Boy   Girl Club
Buckskin 617
732 14Th St W
Huntington, Wv 25704


Henry B Pratt Jr AL Post 15
Katahdin Area Council 216
P.O. Box 5
Caribou, Me 04736


Henry Cardwell Spencer Jr
Address Redacted


Henry County Fire Dept
Flint River Council 095
110 S Zack Hinton Pkwy
Mcdonough, GA 30253


Henry County Police Dept
Flint River Council 095
110 Henry Pkwy
Mcdonough, GA 30253


Henry County Sheriff Dept
Black Swamp Area Council 449
123 E Washington St
Napoleon, OH 43545


Henry County Sheriff Office
Flint River Council 095
120 Henry Pkwy
Mcdonough, GA 30253


Henry County Sportsmens Club
Black Swamp Area Council 449
5835 County Rd U4
Liberty Center, OH 43532


Henry D Burtis
Address Redacted


Henry D Hibbeln
Address Redacted
Henry David Thorean School
Three Harbors Council 636
7878 N 60th St
Milwaukee, WI 53223


Henry Elementary PTO
Blue Ridge Mtns Council 599
200 Henry School Rd
Henry, VA 24102


Henry G Fix Post 23
Sioux Council 733
504 N Main
P.O. Box 376
Garretson, SD 57030


Henry Giles Medical Fund
c/o Linda Lee/ Citizens Bank
P.O. Box 830
Groveton, TX 75845


Henry Goodson
Address Redacted


Henry Googe Jr
Address Redacted


Henry Heer Jr
Address Redacted


Henry Hollins
Address Redacted


Henry Jack Bauer
Address Redacted


Henry Johnson Charter School
Twin Rivers Council 364
30 Watervliet Ave
Albany, NY 12206
Henry Knowles Jr
Address Redacted


Henry L Dushay
Address Redacted


Henry L Robb Post No. 1135
Pacific Harbors Council, Bsa 612
407 7th St
Hoquiam, WA 98550


Henry Lee
Address Redacted


Henry Lord School PTO
Narragansett 546
151 Amity St
Fall River, MA 02721


Henry Medlin
Address Redacted


Henry Miller
Address Redacted


Henry Montgomery
Address Redacted


Henry Parker Jr
Address Redacted


Henry Pham
Address Redacted


Henry Reinewald
Address Redacted
Henry Repeating Arms Co
59 E 1st St
Bayonne, NJ 07002


Henry Reyes
Address Redacted


Henry S Miller Consulting LLC
14001 Dallas Pkwy, 11th Fl
Dallas, TX 75240


Henry S. West Laboratory School
South Florida Council 084
5300 Carillo St
Coral Gables, FL 33146


Henry School PTA
Greater St Louis Area Council 312
700 Henry Ave
Ballwin, MO 63011


Henry Stewart Publications
P.O. Box 361
Birmingham, AL 35201‐0361


Henry T Jones Community Center
North Florida Council 087
3856 Grant Rd
Jacksonville, FL 32207


Henry T Marks
Address Redacted


Henry W Moore School PTO
Daniel Webster Council, Bsa 330
12 Deerfield Rd
Candia, NH 03034


Henry Willauer
Address Redacted
Henry Zarrow International School PTA
Indian Nations Council 488
3613 S Hudson Ave
Tulsa, OK 74135


Henrys Richmond County
Big Rock Sports LLC
P.O. Box 60990
Charlotte, NC 28260


Henrys Tower Service Inc
8618, Unit B Richmond Rd
Toano, VA 23168


Henryville Utd Methodist Church
Lincoln Heritage Council 205
113 S Ferguson St
Henryville, IN 47126


Henryville Utd Methodist Church
Middle Tennessee Council 560
981 Turnpike Rd
Summertown, TN 38483


Henschel Manufacturing
1706 Olive St
St Louis, MO 63103


Hensley Enterprises
4 Black Mesa Trail
Placitas, NM 87043


Henson Chapel Umc
Old Hickory Council 427
120 Henson Hollar Rd
Vilas, NC 28692


Hephzibah Umc
Georgia‐Carolina 093
4431 Brothersville Rd
Hephzibah, GA 30815
Hephzibah Utd Methodist Church
Georgia‐Carolina 093
4431 Brothersville Rd
Hephzibah, GA 30815


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Herbert Brown
Address Redacted


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O Donnell Clark    Crew LLP
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Bronx, NY 10461


Herbert Kemp
Address Redacted


Herbert Mckinney
Address Redacted


Herbert Ragsdale
Address Redacted


Herbert Schmidt Iii
Address Redacted


Herbert Spangler
Address Redacted


Herbertsville Fire Co
Jersey Shore Council 341
601 Herbertsville Rd
Brick, NJ 08724


Hercules Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 5422
Hercules, CA 94547


Hercules Police Dept
Mt Diablo‐Silverado Council 023
111 Civic Dr
Hercules, CA 94547


Here 4 Youth ‐ Lutheran Social Services
Sioux Council 733
1721 W 51st St
Sioux Falls, SD 57105


Hereford First Utd Methodist Church
Golden Spread Council 562
501 Main St
Hereford, TX 79045


Hereford Police Dept
Golden Spread Council 562
212 Lee Ave
Hereford, TX 79045


Hereford Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
5255 S Laguna Ave
Sierra Vista, AZ 85650


Heritage Academy Elementary
Atlanta Area Council 092
3500 Villa Cir Dr
Atlanta, GA 30354


Heritage Baptist Church
Caddo Area Council 584
5801 N Kings Hwy
Texarkana, TX 75503


Heritage Baptist Church
Central N Carolina Council 416
1301 S Long Dr
Rockingham, NC 28379


Heritage Baptist Church
Heart of Virginia Council 602
700 Milnwood Rd
Farmville, VA 23901


Heritage Baptist Church
Occoneechee 421
230 Capcom Ave
Wake Forest, NC 27587


Heritage Bible Church
Blue Ridge Council 551
2005 Old Spartanburg Rd
Greer, SC 29650


Heritage Charter Academy
Southwest Florida Council 088
2119 Santa Barbara Blvd
Cape Coral, FL 33991


Heritage Christian Academy
Circle Ten Council 571
1408 S Goliad St
Rockwall, TX 75087


Heritage Christian Church
Flint River Council 095
2130 Redwine Rd
Fayetteville, GA 30215


Heritage Christian Church
Simon Kenton Council 441
7413 Maxtown Rd
Westerville, OH 43082


Heritage Christian Fellowship
Narragansett 546
358 Warwick Neck Ave
Warwick, RI 02889


Heritage Christian Schools
Potawatomi Area Council 651
3500 S Glen Park Rd
New Berlin, WI 53151


Heritage Church Of Christ
Longhorn Council 662
4201 Heritage Trace Pkwy
Fort Worth, TX 76244


Heritage Elem Parent Teacher Org
Lincoln Heritage Council 205
6535 Waddy Rd
Waddy, Ky 40076


Heritage Elementary School PTA
Del Mar Va 081
2815 Highlands Ln
Wilmington, DE 19808


Heritage Fellowship Church
National Capital Area Council 082
2501 Fox Mill Rd
Reston, VA 20191


Heritage Food Service Group, Inc
P.O. Box 71595
Chicago, IL 60694‐1595
Heritage High School PTO
Middle Tennessee Council 560
220 W Dr
White House, TN 37188


Heritage Hotels   Resorts, Inc
201 3rd St NW, Ste 1500
Albuquerque, NM 87102


Heritage Middle School
Lake Erie Council 440
14410 Terrace Rd
Cleveland, OH 44112


Heritage Parent Teacher Organization
Heart of America Council 307
1700 E Pawnee Dr
Olathe, KS 66062


Heritage Park
Northern Star Council 250
1000 Olson Memorial Hwy
Minneapolis, MN 55411


Heritage Presbyterian Church
Atlanta Area Council 092
5323 Bells Ferry Rd
Acworth, GA 30102


Heritage Presbyterian Church
Cornhusker Council 324
880 S 35th St
Lincoln, NE 68510


Heritage Presbyterian Church
Dan Beard Council, Bsa 438
6546 S Mason Montgomery Rd
Mason, OH 45040


Heritage Presbyterian Church
Great Trail 433
1951 Mathews Rd
Youngstown, OH 44514


Heritage Presbyterian Church
Lake Erie Council 440
P.O. Box 834
Amherst, OH 44001


Heritage Presbyterian Church
National Capital Area Council 082
8503 Fort Hunt Rd
Alexandria, VA 22308


Heritage Preservation
1012 14th St Nw, Ste 100
Washington, DC 20005


Heritage Printing   Graphics
P.O. Box 1959
Leonardtown, MD 20650


Heritage Schooner Cruises, Inc
P.O. Box 1906
Islamorada, FL 33036


Heritage Trade Show Services
620 Shenandoah Ave
St Louis, MO 63104


Heritage Utd Methodist Chruch
Pine Burr Area Council 304
3 Baracuda Dr
Hattiesburg, MS 39402


Heritage Utd Methodist Church
Blue Ridge Mtns Council 599
582 Leesville Rd
Lynchburg, VA 24502


Heritage Utd Methodist Church
Denver Area Council 061
7077 S Simms St
Littleton, CO 80127


Heritage Utd Methodist Church
Greater Tampa Bay Area 089
2680 Landmark Dr
Clearwater, FL 33761


Heritage Utd Methodist Church
Heart of America Council 307
12850 Quivira Rd
Overland Park, KS 66213


Heritage Utd Methodist Church
Indian Nations Council 488
5300 E Kenosha St
Broken Arrow, OK 74014


Heritage Utd Methodist Church
Pine Burr Area Council 304
4322 Popps Ferry Rd
Diberville, MS 39540


Heritage Utd Methodist Church
Westark Area Council 016
1604 E Pointer Trl
Van Buren, AR 72956


Heritage Utd Methodist Church
Westmoreland Fayette 512
107 S Market St
P.O. Box 775
Ligonier, PA 15658


Heritage Utd Methodist Church Mens Cl
Pine Burr Area Council 304
P.O. Box 15728
Hattiesburg, MS 39404


Herlinda Blair
Address Redacted
Herlocker Mechanical Systems, Inc
12600 Downs Rd
Pineville, NC 28134


Herman Ashcroft
Address Redacted


Herman Burnette Jr
Address Redacted


Herman Jones Vfw Post 8676
Last Frontier Council 480
P.O. Box 4
Hollis, OK 73550


Herman Kent Post 777
Allegheny Highlands Council 382
26 Jackson Ave We
Jamestown, NY 14701


Herman Kent Post 777
Allegheny Highlands Council 382
26 Jackson Ave We
Celoron, NY 14720


Herman Law
Attn Herman,Mermelstein,Ellis,Sandler
re Plaintiff
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New York, NY 10001


Herman Law
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434 W 33rd St Penthouse
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Herman Law
Attn Jeff Herman, Stuart S Mermelstein
Daniel G Ellis, Jason S Sandler
re Plaintiff
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New York, NY 10001
Herman Law Firm P A Trust Account
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Boca Raton, FL 33431


Herman Seidel
Address Redacted


Herman Volounteer Fire Co
Moraine Trails Council 500
P.O. Box 87
Herman, PA 16039


Herminie Utd Methodist Church
Westmoreland Fayette 512
3365 Pike St
Herminie, PA 15637


Hermitage Golf Course
3939 Old Hickory Blvd
Old Hickory, TN 37138


Hermitage Hills Baptist Church
Middle Tennessee Council 560
3475 Lebanon Pike
Hermitage, TN 37076


Hermitage Presbyterian Church
Middle Tennessee Council 560
421 Highland View Dr
Hermitage, TN 37076


Hermitage Utd Methodist Church
Middle Tennessee Council 560
205 Belinda Dr
Hermitage, TN 37076


Hermitge Steak House
4342 Lebanon Rd
Hermitage, TN 37076
Hermon Volunteer Fire Dept
Longhouse Council 373
P.O. Box 177
Hermon, NY 13652


Hermosa School PTO
Conquistador Council Bsa 413
601 W Hermosa Dr
Hermosa   Heath
Artesia, NM 88210


Hernan Morales
Address Redacted


Hernandez Middle School
Capitol Area Council 564
1901 Sunrise Rd
Round Rock, TX 78664


Hernando County Sheriffs Office
Greater Tampa Bay Area 089
18900 Cortez Blvd
Brooksville, FL 34601


Hernando Optimist Club
Chickasaw Council 558
P.O. Box 532
Hernando, MS 38632


Hernando Rotary Club
Chickasaw Council 558
1645 Oak Crest Rd
Hernando, MS 38632


Hernani Lacuesta
Address Redacted


Herndon Utd Methodist Church
National Capital Area Council 082
701 Bennett St
Herndon, VA 20170
Hernwood Elementary School
Baltimore Area Council 220
9919 Marriottsville Rd
Randallstown, MD 21133


Hero Complex   Entertainment Corp
Quivira Council, Bsa 198
2120 N Woodlawn St, Ste 314
Wichita, KS 67208


Herox Pbc
3 Germany Dr, Unit 4‐4402
Wilmington, DE 19804


Herrin First Baptist Church
Greater St Louis Area Council 312
1500 S 13th St
Herrin, IL 62948


Herrington Bethel Utd Methodist Ch
Buckeye Council 436
4009 Arbor Rd Ne
Mechanicstown, Oh 44651


Hershey Creamery Co
80 Arlington St
Nashua, NH 03060‐4007


Hershey School P T A
Sagamore Council 162
7521 E 300 N
Lafayette, IN 47905


Hertford Utd Methodist Church
Tidewater Council 596
200 Dobbs St
Hertford, NC 27944


Hertz Claims Center
P.O. Box 782293
Orlando, FL 32878


Hertz Corp
5601 NW Expwy
Oklahoma City, OK 73162


Hertz Corp
Dept 1190
P.O. Box 121190
Dallas, TX 75312‐1190


Hertz Equipment Rental
9300 Burge Ave
Richmond, VA 23237


Herve Fortin
Address Redacted


Herzfelds
6180 NW 84th Ave
Miami, FL 33166‐3319


Herzog Elementary School
Greater St Louis Area Council 312
5831 Pamplin Ave
Saint Louis, MO 63147


Herzog Environmental, Inc Of New Mexico
P.O. Box 129
Wagon Mound, NM 87752


Heshbon Park Utd Methodist Church
Susquehanna Council 533
2898 Heshbon Rd
Williamsport, PA 17701


Hess Academy
Atlanta Area Council 092
611 Medlock Rd
Decatur, GA 30033
Hess Print Solutions
3240 Paysphere Cir
Chicago, IL 60674


Hess Pumice Products, Inc
Grand Teton Council 107
100 Hess Dr
Malad City, ID 83252


Hessel Fire Fighters Assoc
Redwood Empire Council 041
4500 Hessel Rd
Sebastopol, CA 95472


Hesston Utd Methodist Church
Quivira Council, Bsa 198
600 N Ridge Rd
Hesston, KS 67062


Hesston Utd Methodist Church
Quivira Council, Bsa 198
P.O. Box 9
Hesston, KS 67062


Hester S Motorsports Inc
1190 S 2nd St
Raton, NM 87740


Hetrick Aviation, Inc
Jayhawk Area Council 197
3600 NE Sardou Ave
Billard Airport
Topeka, KS 66616


Hettinger American Legion Post 115
Northern Lights Council 429
P.O. Box 704
Hettinger, ND 58639


Heuvelton Volunteer Fire Dept
Longhouse Council 373
95 State St
Heuvelton, NY 13654


Hewitt First Utd Methodist Church
Longhorn Council 662
P.O. Box 398
Hewitt, TX 76643


Hewitt Interiors Inc
1100 W Allen, Ste B
Bloomington, IN 47403


Hewitt Presbyterian Church
Laurel Highlands Council 527
1206 Crucible Rd
Rices Landing, PA 15357


Hewitt Wiley
Address Redacted


Hewlett Packard
13207 Collections Ctr Dr
Chicago, IL 60693


Hewlett Packard Enterprise Co
P.O. Box 101032
Atlanta, GA 30392‐1032


Heyburn ‐ Paul Stake
Snake River Council 111
300 S 500 W
Heyburn, ID 83336


Heyburn 1St Ward ‐ Rupert West Stake
Snake River Council 111
530 Villa Dr
Heyburn, ID 83336


Heyburn 2Nd Ward ‐ Rupert West Stake
Snake River Council 111
530 Villa Dr
Heyburn, ID 83336


Heyer Elementary PTO
Potawatomi Area Council 651
1209 Heyer Dr
Waukesha, WI 53186


Hgo Technology Inc
2100 Market St, Ste 200
Wheeling, WV 26003


Hhc Trs Portsmouth LLC
14185 Dallas Pkwy, Ste 1100
Dallas, TX 75254


Hhc Trs Portsmouth LLC
dba Marriott Dfw Airport
P.O. Box 733737
Dallas, TX 75373‐2763


Hhc Trs Portsmouth LLC
dba Renaissance Palm Springs
888 E Tahquitz Canyon Way
Palm Springs, CA 92262


Hhh Enterprises, Inc
301 E S 11th St
Abilene, TX 79602


Hhh Enterprises, Inc
P.O. Box 390
Abilene, TX 79604


Hi Altitude Sales   Consulting, Inc
2336 W College Ave
Englewood, CO 80110


Hi Point Chrch Of Christ
Tecumseh 439
1815 State Route 540
Bellefontaine, OH 43311
Hi Tech Assets
401 N Portland
Oklahoma City, OK 73107


Hiahwahnahi Neal
Address Redacted


Hialeah Gardens Middle School
South Florida Council 084
11700 Hialeah Gardens Blvd
Hialeah Gardens, FL 33108


Hialeah Gardens Optimist Club
South Florida Council 084
2055 SW 97th Ave
Miami, FL 33165


Hialeah High School Afjrotc
South Florida Council 084
251 E 47th St
Hialeah, FL 33013


Hialeah Miami Lakes Senior High School
South Florida Council 084
7977 W 12th Ave
Hialeah, FL 33014


Hianloland Fire Co
Narragansett 546
270 Victory Hwy
West Greenwich, RI 02817


Hiawassee Elementary School PTA
Central Florida Council 083
6800 Hennepin Blvd
Orlando, FL 32818


Hiawassee Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 609
Hiawassee, GA 30546


Hiawatha Elementary School PTO
Water and Woods Council 782
1900 Jolly Rd
Okemos, MI 48864


Hiawatha Firefighters Assoc
Hawkeye Area Council 172
101 Emmons St
Hiawatha, IA 52233


Hiawatha Kiwanis Club
c/o Jeremy Stover
Pony Express Council 311
1705 Oregon St
Hiawatha, KS 66434


Hiawatha PTO
Hawkeye Area Council 172
603 Emmons St
Hiawatha Elementary
Hiawatha, IA 52233


Hibben Methodist Church
Coastal Carolina Council 550
690 Coleman Blvd
Mount Pleasant, SC 29464


Hibben Utd Methodist Church
Coastal Carolina Council 550
690 Coleman Blvd
Mt Pleasant, SC 29464


Hibernia Methodist Church
Chester County Council 539
220 Hibernia Rd
Coatesville, PA 19320


Hibernia Utd Methodist Church
Chester County Council 539
220 Hibernia Rd
Coatesville, PA 19320


Hickman Civitan Club Inc
Middle Tennessee Council 560
P.O. Box 257
Centerville, TN 37033


Hickman Mills Community Christian
Heart of America Council 307
5809 E Red Bridge Rd
Kansas City, MO 64134


Hickman Mills Community Christian Church
Heart of America Council 307
5809 E Red Bridge Rd
Kansas City, MO 64134


Hickman Presbyterian Church
Cornhusker Council 324
300 E 3rd St
Hickman, NE 68372


Hickory Baptist Church
Tuscarora Council 424
11341 N US 421 Hwy
Clinton, NC 28328


Hickory Creek Elementary School ‐ PTO
North Florida Council 087
235 Hickory Creek Trl
Jacksonville, FL 32259


Hickory Flat Utd Methodist Church
Atlanta Area Council 092
4056 E Cherokee Dr
Canton, GA 30115


Hickory Grove Baptist Church
Tuscarora Council 424
11341 N US 421 Hwy
Clinton, NC 28328
Hickory Grove Church Of The Brethren
Anthony Wayne Area 157
9169 W State Rd 26
Dunkirk, IN 47336


Hickory Grove PTO
W D Boyce 138
2514 W Hickory Grove Rd
Dunlap, IL 61525


Hickory Grove Utd Methodist Church
Mecklenburg County Council 415
6401 Hickory Grove Rd
Charlotte, NC 28215


Hickory Grove Utd Methodist Church
Old N State Council 070
5959 Hickory Grove Rd
Greensboro, NC 27409


Hickory Hills Elementary PTA
Atlanta Area Council 092
500 Redwood Dr Sw
Marietta, GA 30064


Hickory Police Dept
Piedmont Council 420
347 2nd Ave Sw
Hickory, NC 28602


Hickory Printing Solutions LLC
P.O. Box 69
Hickory, NC 28603‐0069


Hickory Ridge Community Assoc
Baltimore Area Council 220
6175 Sunny Spg
Columbia, MD 21044


Hickory Ridge Marriott
1195 Summerhill Dr
Lisle, IL 60532


Hickory Ruritan Club
Tidewater Council 596
2752 Battlefield Blvd S
Chesapeake, VA 23322


Hickory St Presbyterian Church
Northeastern Pennsylvania Council 501
427 Hickory St
Scranton, PA 18505


Hickory Utd Methodist Church
French Creek Council 532
240 N Hermitage Rd
Hermitage, PA 16148


Hickory Utd Methodist Church
Tidewater Council 596
2708 Battlefield Blvd S
Chesapeake, VA 23322


Hickory Utd Presbyterian Church
Laurel Highlands Council 527
P.O. Box 97
210 Main St
Hickory, PA 15340


Hicks Memorial Utd Methodist Church
Laurel Highlands Council 527
1211 3rd Ave
Duncansville, PA 16635


Hicksville Foe 2556
Black Swamp Area Council 449
213 E Edgerton St
Hicksville, OH 43526


Hico Auto Detail LLC
P.O. Box 7
357 Sunday Rd
Hico, WV 25854
Hi‐Country Flies
34850 County Rd 202
Trinidad, CO 81082


Hidalgo Customs Post 2305
Rio Grande Council 775
9901 S Cage Blvd
Pharr, TX 70577


Hidden Hollow PTA
Sam Houston Area Council 576
4104 Appalachian Trl
Kingwood, TX 77345


Hidden Oaks Elementary School‐Pta
Gulf Stream Council 085
7685 S Military Trl
Lake Worth, FL 33463


Hidden Oaks Middle School Builders Club
Gulf Stream Council 085
2801 SW Martin Hwy
Palm City, FL 34990


Hidden Valley School Organization
Redwood Empire Council 041
3435 Bonita Vista Ln
Santa Rosa, CA 95404


Hidden Valley Ward ‐ LDS Tucson Stake
Catalina Council 011
6150 E Fairmount Dr
Tucson, AZ 85712


Hidden Village Bellevue B Gc
Chief Seattle Council 609
Hidden Village
14508 SE 24th St
Bellevue, WA 98007
Hideco, LLC
7936 Camp Bowie W
Ft Worth, TX 76116


Hidenwood Presbyterian Church
Colonial Virginia Council 595
414 Hiden Blvd
Newport News, VA 23606


Higgins Memorial Utd Methodist
Daniel Boone Council 414
P.O. Box 85
Burnsville, NC 28714


High Achievers Aim High
Dan Beard Council, Bsa 438
7942 Glenorchard Dr
Cincinnati, OH 45237


High Adventure Scout Parents Tinley
Pathway To Adventure 456
17532 Duvan Dr
Tinley Park, IL 60477


High Bridge Utd Methodist Church
Washington Crossing Council 777
38 Church St
High Bridge, NJ 08829


High Country Meats
340 Colfax Ave
Raton, NM 87740


High Desert Respiratory
W.L.A.C.C. 051
42247 12th St W Hills
Lancaster, CA 93534


High Desert Scout Shop
5841 Office Blvd Ne
Alvuquerque, NM 87109
High Desert Scout Shop
5841 Office Blvd, Ne
Albuquerque, NM 87109


High Desert Trailer Sales Inc
P.O. Box 422
Gamerco, NM 87317


High Desert Training
Grand Canyon Council 010
30012 N Cave Creek Rd, Ste 103
Cave Creek, AZ 85331


High Flow Fuel Systems Inc
dba Quantum Fuel Systems
4835 Coit St, Unit E
Ventura, CA 93003


High Plains Flooring
1045 E Sequoya Dr
Pueblo W, CO 81007


High Plains Lions Club
Coronado Area Council 192
2247 Hwy K25
Colby, KS 67701


High Plains Radiology
P.O. Box 3780
Amarillo, TX 79116‐3780


High Point Academy
Longhorn Council 662
1256 N Jim Wright Fwy
White Settlement, TX 76108


High Point Baptist Church
Transatlantic Council, Bsa 802
Cmr 411 Box 3072
Apo, AE 09112
High Point Church Of Orlando
Central Florida Council 083
476 Ocoee Commerce Pkwy
Ocoee, FL 34761


High Point Fire Dept
Old N State Council 070
434 S Elm St
High Point, NC 27260


High Point Police Dept
Old N State Council 070
1009 Leonard Ave
High Point, NC 27260


High Point University
Attn Office of Student
Financial Planning
833 Montlieau Ave
High Point, NC 27262


High Pointe Baptist Church
Circle Ten Council 571
101 High Pointe Ln
Cedar Hill, TX 75104


High Ridge Elementary Ptg
Greater St Louis Area Council 312
2901 High Ridge Blvd
High Ridge, MO 63049


High Ridge Elks
Greater St Louis Area Council 312
1990 Old Hillsboro Rd
High Ridge, MO 63049


High Ridge Memorial Post 6516 Vfw
Greater St Louis Area Council 312
2220 B Old Gravois
High Ridge, MO 63049
High Sierra Business Systems Inc
2814 N Carson St
Carson City, NV 89706


High Sierra Sport Co
880 Corporate Woods Pkwy
Vernon Hills, IL 60061‐3164


High Springs Police Dept
North Florida Council 087
23720 NW 187th Ave
High Springs, FL 32643


High Stakes Digital
2965 Kaley Dr, Ste D
Kennesaw, GA 30152


High Street Utd Methodist Church
Colonial Virginia Council 595
P.O. Box 218
Franklin, VA 23851


High Towers Wood Welding      Fabrication
P.O. Box 186
Bradley, WV 25818


High Towers Wood, Welding     Fab, Inc
P.O. Box 186
Bradley, WV 25818


Highcrest School P T O
Connecticut Rivers Council, Bsa 066
95 Highcrest Rd
Wethersfield, CT 06109


Highcroft Ridge Pso
Greater St Louis Area Council 312
15380 Highcroft Dr
Chesterfield, MO 63017


Highcroft Ridge Pso
Greater St Louis Area Council 312
15380 Highcroft Ridge Dr
Chesterfield, MO 63017


Higher Achievement Homewood
Laurel Highlands Council 527
211 N Whitfield St
Pittsburgh, PA 15206


Higher Achievement West End ‐ Langley
Laurel Highlands Council 527
211 N Whitfield St
Pittsburgh, PA 15206


Higher Ed Jobs
Internet Employment Linkage
1010 Lake St 611
Oak Park, IL 60301


Higher Ground Academy
Northern Star Council 250
1381 Marshall Ave
Saint Paul, MN 55104


Higher Grounds ‐ Brookfield
San Francisco Bay Area Council 028
401 Jones Ave
Oakland, CA 94603


Higher Grounds ‐ Madison Park Academy
San Francisco Bay Area Council 028
470 El Paseo Dr
Oakland, CA 94603


Higher Grounds ‐ Parker Elementary
San Francisco Bay Area Council 028
7929 Ney Ave
Oakland, CA 94605


Higherground‐Rise/New Highland
San Francisco Bay Area Council 028
7929 Ney Ave
Oakland, CA 94605


Highgrove Utd Methodist Church
California Inland Empire Council 045
938 Center St
Riverside, CA 92507


Highland Avenue Utd Methodist Church
Mountaineer Area 615
204 Highland Ave
Fairmont, WV 26554


Highland Baptist Church
Lincoln Heritage Council 205
511 Mount Eden Rd
Shelbyville, KY 40065


Highland Beef Farms Inc
P.O. Box 2414
Reston, VA 20195


Highland Beffalo Farms, Inc
Dba Highland Beef Farms
P.O. Box 2414
Reston, VA 20195


Highland Catholic School
Northern Star Council 250
2017 Bohland Ave
Saint Paul, MN 55116


Highland Cemetery
Dan Beard Council, Bsa 438
2167 Dixie Hwy
Ft Mitchell, KY 41017


Highland Christian Church
Blue Grass Council 204
265 Versailles Rd
Frankfort, KY 40601
Highland Christian Church
Pony Express Council 311
P.O. Box 127
Highland, KS 66035


Highland Church Of Christ
Texas Trails Council 561
425 Highland Ave
Abilene, TX 79605


Highland Community
Attn Financial Aid
2998 W Pearl City Rd
Freeport, IL 61032


Highland Community Church
Chief Seattle Council 609
3031 NE 10th St
Renton, WA 98056


Highland Containers
P.O. Box 932714
Atlanta, GA 31193‐2714


Highland Engine   Hose Co
Hudson Valley Council 374
P.O. Box 600
South Main St
Florida, NY 10921


Highland Friendship Club
Northern Star Council 250
P.O. Box 16437
Saint Paul, MN 55116


Highland Gardens Elementary School
Tukabatchee Area Council 005
2801 Willena Ave
Montgomery, AL 36107


Highland Hill Southeast Vfw 837
Alamo Area Council 583
4436 Valleyfield St
San Antonio, TX 78222


Highland Hose Volunteer Fire Co
Greater Niagara Frontier Council 380
George Nalbo Dr
Derby, NY 14047


Highland Hospital Dept Family Med
Seneca Waterways 397
777 Clinton Ave S
Rochester, Ny 14620


Highland House
Crater Lake Council 491
2201 NW Highland Ave
Grants Pass, OR 97526


Highland Hts Fire Dept
Lake Erie Council 440
5827 Highland Rd
Highland Hts, OH 44143


Highland Hunting LLC
3127 160th St
Riverside, IA 52327


Highland Lake Congregational Church
Pine Tree Council 218
1303 Bridgton Rd
Westbrook, ME 04092


Highland Lake Congregational Church
Pine Tree Council 218
25 Anderson Rd
Windham, ME 04062


Highland Lakes Umc
Capitol Area Council 564
8303 Farm Rd 1431
Buchanan Dam, TX 78609
Highland Lutheran Church
Cascade Pacific Council 492
38809 NE 41st Ave
La Center, WA 98629


Highland Middle School
Crossroads of America 160
1600 Hillcrest Ave
Anderson, IN 46011


Highland Oaks Improvement Assoc
San Francisco Bay Area Council 028
4530 Sandalwood Dr
Pleasanton, CA 94588


Highland Park Baptist Church
Capitol Area Council 564
5206 Balcones Dr
Austin, TX 78731


Highland Park Cleaners
5630 York Blvd
Los Angeles, CA 90026


Highland Park Conservative Temple
Patriots Path Council 358
201 S 3rd Ave
Highland Park, NJ 08904


Highland Park High School
Jayhawk Area Council 197
2424 SE California Ave
Topeka, KS 66605


Highland Park Presbyterian Church
Circle Ten Council 571
3821 University Blvd
Dallas, TX 75205


Highland Park Presbyterian Church
Northeast Illinois 129
330 Laurel Ave
Highland Park, IL 60035


Highland Park Umc
Circle Ten Council 571
3300 Mockingbird Ln
Dallas, TX 75205


Highland Park Utd Methodist Church
Cimarron Council 474
524 N Stallard St
Stillwater, OK 74075


Highland Park Utd Methodist Church
Circle Ten Council 571
Mockingbird Lane
Dallas, TX 75205


Highland Park Utd Methodist Church
Jayhawk Area Council 197
2914 SE Michigan Ave
Topeka, KS 66605


Highland Park Utd Methodist Church
Pee Dee Area Council 552
1300 2nd Loop Rd
Florence, SC 29505


Highland Presbyterian Church
Moraine Trails Council 500
310 Franklin St
Slippery Rock, PA 16057


Highland Presbyterian Church
Moraine Trails Council 500
708 Highland Ave
New Castle, PA 16101


Highland Presbyterian Church
Old Hickory Council 427
2380 Cloverdale Ave
Winston Salem, NC 27103
Highland Presbyterian Church
Pennsylvania Dutch Council 524
500 E Roseville Rd
Lancaster, PA 17601


Highland Products Group, LLC
dba the Park Catalog
The Park   Facilities Catalog
3350 NW Boca Raton Blvd, Ste B2
Boca Raton, FL 33431


Highland Solutions, LLC
P.O. Box 101
Cimarron, NM 87714


Highland Utd Methodist Church
Dan Beard Council, Bsa 438
406 N Fort Thomas Ave
Fort Thomas, KY 41075


Highland Utd Methodist Church
Great Lakes Fsc 272
680 W Livingston Rd
Highland, MI 48357


Highland Utd Methodist Church
Heart of Virginia Council 602
125 E Wover Ave
Colonial Heights, VA 23834


Highland Utd Methodist Church
Occoneechee 421
1901 Ridge Rd
Raleigh, NC 27607


Highland Veteran Scouter Assoc
Pathway To Adventure 456
3815 Clough Ave
Highland, IN 46322
Highland Village Lions Foundation Inc
Longhorn Council 662
924 Swood Dr
Highland Village, TX 75077


Highland Vly Utd Methodist Little Rock
Quapaw Area Council 018
15524 Chenal Pkwy
Little Rock, Ar 72211


Highlands Community Church
Chief Seattle Council 609
3031 NE 10th St
Renton, WA 98056


Highlands County Sheriff S Office
Greater Tampa Bay Area 089
400 S Eucalyptus St
Sebring, FL 33870


Highlands Fire Fighter Union
Grand Canyon Council 010
4468 Canyon Loop
Flagstaff, AZ 86005


Highlands Home    School Assoc
Three Fires Council 127
525 S Brainard St
Naperville, IL 60540


Highlands Police Dept
Monmouth Council, Bsa 347
171 Bay Ave
Highlands, NJ 07732


Highlands Rotary Club
Daniel Boone Council 414
P.O. Box 1741
Highlands, NC 28741


Highlands Utd Methodist Church
Denver Area Council 061
3131 Osceola St
Denver, CO 80212


Highlawns Umc Scouting Committee
Mountaineer Area 615
P.O. Box
Paw Paw Ave
Baxter, WV 26560


Highlawns Utd Methodist Church
Mountaineer Area 615
P.O. Box 66
Paw Paw Ave
Baxter, WV 26560


Highline Kiwanis South
Chief Seattle Council 609
P.O. Box 66091
Burien, WA 98166


Highline Utd Methodist Church
Chief Seattle Council 609
13015 1st Ave S
Burien, WA 98168


High‐Lonesome Books
26 High‐Lonesome Rd
P.O. Box 878
Silver City, NM 88062


Highmeadow PTA
Great Lakes Fsc 272
30175 Highmeadow Rd
Highmeadow Common Campus
Farmington Hills, MI 48334


Highpoint Baptist Church
Mobile Area Council‐Bsa 004
2421 Lott Rd
Eight Mile, AL 36613


Highspire Utd Methodist Church
New Birth of Freedom 544
170 2nd St
Highspire, PA 17034


Hightower Elementary School PTA
Atlanta Area Council 092
4236 Tilly Mill Rd
Doraville, GA 30360


Highview Fire Dept
Lincoln Heritage Council 205
7308 Fegenbush Ln
Louisville, KY 40228


Highwater Congregational Church
Simon Kenton Council 441
1213 Dutch Ln Nw
Newark, OH 43055


Highway Nazarene Church
Ozark Trails Council 306
Rr 2 Box 774
Ava, MO 65608


Hi‐Ho Class Centerville Utd Methodist
Crossroads of America 160
112 S Morton Ave
Centerville, IN 47330


Hike America
P.O. Box 5684
Redwood City, CA 94063‐5684


Hilario Garcia
Address Redacted


Hilary Black
Address Redacted


Hilary Tanner
Address Redacted
Hilda Castillo
Address Redacted


Hill Central Music Academy PTO
Connecticut Yankee Council Bsa 072
140 Dewitt St
New Haven, CT 06519


Hill City Lions Club
Black Hills Area Council 695 695
198 Rainbow Ridge Ct
Hill City, SD 57745


Hill Country Bible Church ‐ Leander
Capitol Area Council 564
11880 Old 2243 W, Ste 600
Leander, TX 78641


Hill Country Bible Church Northwest
Capitol Area Council 564
12124 Ranch Rd 620 N
Austin, TX 78750


Hill Elementary School PTO
Great Lakes Fsc 272
4600 Forsyth Dr
Troy, MI 48085


Hill N Dale Club
Great Trail 433
3605 Poe Rd
Medina, OH 44256


Hill Top Hose Co 5
Housatonic Council, Bsa 069
80 Pulaski Hwy
Ansonia, CT 06401


Hill Warner American Legion Post 414
Allegheny Highlands Council 382
P.O. Box 273
Angelica, NY 14709


Hillard Elementary
Atlanta Area Council 092
3353 Mount Olive Rd
East Point, GA 30344


Hillard Hainzinger Jr
Address Redacted


Hillcat Law Enforcement Cadet Post 612
Daniel Webster Council, Bsa 330
762 Deering Center Rd
Deering, NH 03244


Hillcrest Baptist Church
Caddo Area Council 584
5501 W 7th St
Texarkana, TX 75501


Hillcrest Baptist Church
Sam Houston Area Council 576
4220 Boonville Rd
Bryan, TX 77802


Hillcrest Christian Church
Heart of America Council 307
11411 Quivira Rd
Overland Park, KS 66210


Hillcrest Christian Church
Hoosier Trails Council 145 145
1130 Hillcrest Rd
Bedford, IN 47421


Hillcrest Church Of The Nazarene
Cascade Pacific Council 492
14410 NW 21st Ave
Vancouver, WA 98685
Hillcrest Elementary Lead
Capitol Area Council 564
6910 E William Cannon Dr
Austin, TX 78744


Hillcrest Home And School
Cradle of Liberty Council 525
Bond   Agnew Aves
Drexel Hill, PA 19026


Hillcrest Intermediate School
Westmoreland Fayette 512
11091 Mockingbird Dr
North Huntingdon, PA 15642


HiLLCrest Party Rentals
3507 Motor Ave
Los Angeles, CA 90034


Hillcrest Presbyterian Church
Ozark Trails Council 306
818 E Norton Rd
Springfield, MO 65803


Hillcrest PTA
Trapper Trails 589
960 N 1400 E
Logan, UT 84341


Hillcrest Utd Methodist Church
Lasalle Council 165
4206 E Bristol St
Elkhart, IN 46514


Hillcrest Utd Methodist Church
Middle Tennessee Council 560
5112 Raywood Ln
Nashville, TN 37211


Hillcrest Volunteer Fire Co
Greater Niagara Frontier Council 380
7125 Ellicott Rd
Orchard Park, NY 14127


Hiller Companies Inc
P.O. Box 935434
Atlanta, GA 31193


Hiller Elementary Stem Society
Great Lakes Fsc 272
400 E La Salle Ave
Madison Heights, MI 48071


Hillerich   Bradsby Co
dba Louisville Slugger Museum      Factory
800 W Main St
Louisville, KY 40202


Hilliard Church Of Christ
Simon Kenton Council 441
4300 Avery Rd
Hilliard, OH 43026


Hilliard Police Dept
Simon Kenton Council 441
5171 Nwest Pkwy
Hilliard, OH 43026


Hilliard Utd Methodist Church
Simon Kenton Council 441
5445 Scioto Darby Rd
Hilliard, OH 43026


Hilliard Utd Presbyterian Church
Simon Kenton Council 441
P.O. Box 63
3600 Leap Rd
Hilliard, OH 43026


Hilling Construction LLC
481 Whispering Pine Ln
Princeton, WV 24739
Hillrise Elementary School PTA
Mid‐America Council 326
20110 Hopper St
Elkhorn, NE 68022


Hills Town And Country Club
Hawkeye Area Council 172
442 Brady St
Hills, IA 52235


Hillsboro Animal Hospital Inc
Middle Tennessee Council 560
2207 Bandywood Dr
Nashville, TN 37215


Hillsboro Chamber Of Commerce
Greater St Louis Area Council 312
P.O. Box 225
Hillsboro, MO 63050


Hillsboro Civic Club
Greater St Louis Area Council 312
10349 Business 21
Hillsboro, MO 63050


Hillsboro First Congregational Ucc
Cascade Pacific Council 492
494 E Main St
Hillsboro, OR 97123


Hillsboro First Utd Methodist
Simon Kenton Council 441
133 E Walnut St
Hillsboro, OH 45133


Hillsboro Kiwanis Club
Northern Lights Council 429
302 4th St Se
Hillsboro, ND 58045


Hillsboro Lions Club
Quivira Council, Bsa 198
601 S Main St
Marvin Funk
Hillsboro, KS 67063


Hillsboro Lions Club
Simon Kenton Council 441
P.O. Box 711
Hillsboro, OH 45133


Hillsboro Optimists Club
Longhorn Council 662
915A Corsicana Hwy
Hillsboro, TX 76645


Hillsboro Police Dept Explorer Post
Longhorn Council 662
303 N Waco St
Hillsboro, TX 76645


Hillsboro Rotary Club
Greater St Louis Area Council 312
4810 State Rd B
Bro. David Webster
Hillsboro, MO 63050


Hillsboro Ruritan Club
National Capital Area Council 082
Rt 9
Hillsboro, VA 20134


Hillsboro Utd Methodist Chrch
Cascade Pacific Council 492
168 NE 8th Ave
Hillsboro, OR 97124


Hillsboro Utd Methodist Church
Daniel Webster Council, Bsa 330
P.O. Box 692
Hillsboro, NH 03244


Hillsboro Utd Methodist Church
Middle Tennessee Council 560
P.O. Box 65
Hillsboro, TN 37342


Hillsborough Community College Icce
39 Columbia Dr
Tampa, FL 33606


Hillsborough County Sheriffs Office
Greater Tampa Bay Area 089
2008 E 8th Ave
Tampa, FL 33605


Hillsborough Elem School Home And School
Patriots Path Council 358
435 US Hwy 206
Hillsborough, NJ 08844


Hillsborough Fire Dept 2
Patriots Path Council 358, Route 206
Hillsborough, NJ 08844


Hillsborough River Preservation, Inc
Greater Tampa Bay Area 089
204 Craft Rd
Brandon, FL 33511


Hillsborough Utd Methodist Church
Greater Tampa Bay Area 089
9008 Harney Rd
Tampa, FL 33637


Hillsborough Utd Methodist Church
Occoneechee 421
130 W Tryon St
Hillsborough, NC 27278


Hillsdale Elementary
Ore‐Ida Council 106 ‐ Bsa 106
5225 S Stockenham Way
Meridian, ID 83642
Hillsdale Kiwanis
Southern Shores Fsc 783
1791 Steamburg Rd
Hillsdale, MI 49242


Hillsdale Methodist Church
Northern New Jersey Council, Bsa 333
349 Hillsdale Ave
Hillsdale, NJ 07642


Hillsdale School PTO
Chester County Council 539
725 W Market St
West Chester, PA 19382


Hillsdale Utd Brethren In Christ Ch
Black Swamp Area Council 449
701 Holly St
Saint Marys, Oh 45885


Hillsdale Utd Methodist
Northern New Jersey Council, Bsa 333
349 Hillsdale Ave
Hillsdale, NJ 07642


Hillsdale Utd Methodist Church
Northern New Jersey Council, Bsa 333
339 Hillsdale Ave
Hillsdale, NJ 07642


Hillsdale Utd Methodist Church
Old N State Council 070
5018 US Hwy 158
Advance, NC 27006


Hillsdale Utd Methodist Church
Pacific Skyline Council 031
303 36th Ave
San Mateo, CA 94403


Hillside Children S Center
Seneca Waterways 397
4887 State Route 96A
Romulus, NY 14541


Hillside Children S Center School
Seneca Waterways 397
1183 Monroe Ave
Rochester, NY 14620


Hillside Childrens Center School
Seneca Waterways 397
2075 Scottsville Rd
Rochester, NY 14623


Hillside Christian Church
Quivira Council, Bsa 198
8330 E Douglas Ave
Wichita, KS 67206


Hillside Community Center
Pikes Peak Council 060
925 S Institute St
Colorado Springs, CO 80903


Hillside Community Church
Potawatomi Area Council 651
S93W30580 County Rd Nn
Mukwonago, WI 53149


Hillside Covenant Church
Mt Diablo‐Silverado Council 023
2060 Magnolia Way
Walnut Creek, CA 94595


Hillside Elementary PTO
Chester County Council 539
797 Old State Rd
Berwyn, PA 19312


Hillside Fellowship
Cascade Pacific Council 492
501 Nandina St
Sweet Home, OR 97386
Hillside Islamic Center
Theodore Roosevelt Council 386
300 Hillside Ave
New Hyde Park, NY 11040


Hillside Utd Methodist Church
Atlanta Area Council 092
4474 Towne Lake Pkwy
Woodstock, GA 30189


Hillside Utd Methodist Church
Buffalo Trace 156
828 W Archer Rd
Princeton, IN 47670


Hillside Utd Methodist Church
Westmoreland Fayette 512
P.O. Box 85
Derry, PA 15627


Hillside Utd Methodist Women
Voyageurs Area 286
1801 Piedmont Ave
Duluth, MN 55811


Hillsong Church
Occoneechee 421
201 Culbreth Rd
Chapel Hill, NC 27516


Hillspring Church
Blue Mountain Council 604
1153 Gage Blvd
Richland, WA 99352


Hilltop Elementary School PTA
Mount Baker Council, Bsa 606
20425 Damson Rd
Lynnwood, WA 98036
Hilltop Lutheran Community Center
Del Mar Va 081
1018 W 6th St
Wilmington, DE 19805


Hilltop PTO
Blackhawk Area 660
2615 W Lincoln Rd
Mchenry, IL 60051


Hilltop Utd Methodist Church
Great Salt Lake Council 590
985 E 10600 S
Sandy, UT 84094


Hilltop Utd Methodist Church
Sioux Council 733
1312 S Bahnson Ave
Sioux Falls, SD 57103


Hilltop Ymca
Simon Kenton Council 441
2879 Valleyview Dr
Columbus, OH 43204


Hilltown Township Civic Assoc
Washington Crossing Council 777
P.O. Box 118
Hilltown, PA 18927


Hillview Elementary School
Greater Alabama Council 001
1520 Cherry Ave
Birmingham, AL 35214


Hillview Parents Club
Erie Shores Council 460
5425 Whiteford Rd
Sylvania, OH 43560


Hillview Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
8525 W Ustick Rd
Boise, ID 83704


Hillyard Kiwanis
Inland Nwest Council 611
P.O. Box 6644
Spokane, WA 99217


Hillyard Post 1474 Vfw
Inland Nwest Council 611
2902 E Diamond Ave
Spokane, WA 99217


Hillyard Vfw Post 1474
Inland Nwest Council 611
2902 E Diamond Ave
Spokane, WA 99217


Hilo Meisho Young Buddhist Assoc
Aloha Council, Bsa 104
97 Olona St
Hilo, HI 96720


Hilo Meishoin Young Buddhist Assoc
Aloha Council, Bsa 104
97 Olona St
Hilo, HI 96720


Hilsabeck Sporting Goods
408 E Ave
Holdrege, NE 68949‐2215


Hilton Americas‐Houston
1600 Lamar
Houston, TX 77010


Hilton Anatole
2201 Stemmons Freeway
Dallas, TX 75207


Hilton Anatole Hotel
2201 Stemmons Freeway
Dallas, TX 75207


Hilton Columbus / Polaris
8700 Lyra Dr
Columbus, OH 43240


Hilton Dallas Rockwall Lakefront
2055 Summer Lee Dr
Rockwall, TX 75032


Hilton Dfw Lakes
1800 Hwy 26E
Grapevine, TX 76051


Hilton Fire Dept
Seneca Waterways 397
120 Old Hojack Ln
Hilton, NY 14468


Hilton Fort Collins
425 W Prospect Rd
Fort Collins, CO 80526


Hilton Garden Inn
1920 Ayrsley Town Blvd
Charlotte, NC 28273


Hilton Garden Inn Atlanta Airport
2301 Sullivan Rd
College Park, GA 30337


Hilton Garden Inn‐ Virginia
1060 Hospitality Ln
Fredericksburg, VA 22401


Hilton Head Marriott Beach    Golf Resort
P.O. Box 65925
Charlotte, NC 28265‐0925
Hilton Oakland Airport
1 Hegenberger Rd
Oakland, CA 94621


Hilton Pasadena
168 S Los Robles Ave
Pasadena, CA 91101


Hilton Phoenix/Mesa
1011 W Holmes Ave
Mesa, AZ 85210


Hilton Rec Center
Baltimore Area Council 220
2950 Phelps Ln
Baltimore, MD 21229


Hilton Sandestin Beach      Golf Resort
4000 Sandestin Blvd S
Destin, FL 32550


Hilton St Louis Frontenac
B   F Enterprises
1335 S Lindbergh Blvd
St Louis, MO 63131‐2926


Hilton Tent City
272 Friend St
Boston, MA 02114


Hilton Zurich Airport
Hohenbuehlstr 10
Zurich Ch, 8032
Switzerland


Himmels Church
Susquehanna Council 533
107 Covered Bridge Rd
Dornsife, PA 17823


Hinckley Lions
Voyageurs Area 286
P.O. Box 1
Hinckley, MN 55037


Hinesville First Utd Methodist Church
Coastal Georgia Council 099
203 N Main St
Hinesville, GA 31313


Hingham Troop 1 Committee Inc
Mayflower Council 251
P.O. Box 651
Hingham, MA 02043


Hinkle Chair Co
P.O. Box 410
Springfield, TN 37172


Hinkle Creek PTO
Crossroads of America 160
595 S Harbour Dr
Noblesville, IN 46062


Hinkle Shanor LLP
P.O. Box 10
Roswell, NM 88202‐0010


Hinsdale Fire Assoc
Daniel Webster Council, Bsa 330
P.O. Box 13
Hinsdale, NH 03451


Hinsdale Lions Club
Daniel Webster Council, Bsa 330
Hinsdale Nh
Hinsdale, NH 03451


Hinsdale Lions Club
Western Massachusetts Council 234
P.O. Box 235
Hinsdale, MA 01235
Hinsdale Utd Methodist Church
Pathway To Adventure 456
55th and Grafield
Hinsdale, IL 60521


Hinsdale Utd Methodist Church
Pathway To Adventure 456
945 S Garfield St
Hinsdale, IL 60521


Hinshaw   Culbertson LLP
8142 Solutions Ctr Dr
Chicago, IL 60677‐8001


Hinton First Utd Methodist Church
Buckskin 617
312 Ballengee St
Hinton, WV 25952


Hintz Targeted Marketing
P.O. Box 1566
Asheville, NC 28802


Hintz Targeted Marketing, LLC
dba American Backcountry
P.O. Box 1566
Asheville, NC 28802


Hi‐Pro Feeds
P.O. Box 675032
Dallas, TX 75267‐5032


Hiram First Utd Methodist Church
Atlanta Area Council 092
324 Hiram Douglasville Hwy
Hiram, GA 30141


Hiram Police Dept
Atlanta Area Council 092
217 Main St
Hiram, GA 30141
Hirsch Academy
Grand Canyon Council 010
6536 E Osborn Ave
Scottsdale, AZ 85251


Hirsch Solutions Inc
490 Wheeler Rd, Ste 285
Hauppauge, NY 11788


Hirshfield   Costanzo, P.C.
Attn Jeremy D. Barberi, Esq.
190 E Post Rd, Ste 402
White Plains, NY 10601


Hirshfield   Costanzo, PC
Attn Jeremy D Barberi, Esq
re Plaintiff
190 E Post Rd, Ste 402
White Plains, NY 10601


Hisdahl, Inc
1978 Hwy 96
White Bear Lake, MN 55110


Hispanic Alliance For Career Enhancement
100 S Wacker Dr, Ste 700
Chicago, IL 60606


Hispanic Apostolate
Southeast Louisiana Council 214
2525 Maine Ave
Metairie, LA 70003


Hispanic Assn Of Colleges    Universities
8415 Datapoint Dr, Ste 400
San Antonio, TX 78229


Hispanic Assoc On Corporate Responsibili
1441 I St NW, Ste 850
Washington, DC 20005
Hispanic Brotherhood Inc
Theodore Roosevelt Council 386
59 Clinton Ave
Rockville Centre, NY 11570


Hispanic Communications Network
1126 16th Stree, Nw, Ste 350
Washington, DC 20036


Hispanic Scholarship Foundation
145 W 45th St, Ste 300
New York, NY 10036‐4008


Hiss Utd Methodist Church
Baltimore Area Council 220
8700 Harford Rd
Baltimore, MD 21234


Historic First Baptist Church
West Tennessee Area Council 559
433 Dr Ml King Jr Dr
Jackson, TN 38301


Historic Long Branc
Shenandoah Area Council 598
416 Valley Mill Rd
Winchester, VA 22602


Historic Montgomery Business Assoc
Sam Houston Area Council 576
P.O. Box 189
Montgomery, TX 77356


Historic Philadelphia Inc
c/o Alison English
150 S Independence Mall W, Ste 550
Philadelphia, PA 19106


Historic Print   Map
85 Riberia St
St Augustine, FL 32084


Historical Art Prints
P.O. Box 660
Southbury, CT 06488‐0660


Historical Assoc Of South Jefferson
Longhouse Council 373
29 E Church St
Adams, NY 13605


Historical Emporium Inc
188 Stauffer Blvd
San Jose, CA 95125


Historical Society Community Support
Pine Tree Council 218
P.O. Box 27
Windsor, ME 04363


Historical Society Of Palm Desert
California Inland Empire Council 045
P.O. Box 77
Palm Desert, CA 92261


Hit   Run Band LLC
73 Beech Bottom Rd
Oak Hill, WV 25901


Hitachi Consulting
Attn Sona Manzo
14642 Dallas Pkwy, Ste 800
Dallas, TX 75254


Hitachi Consulting Corp
Attn General Counsel
123 N Wacker Dr, Ste 1200
Chicago, IL 60606


Hitchcock Elementary PTO
Mid‐America Council 326
5809 S 104th St
Omaha, NE 68127


Hitchcock Presbyterian Church
Westchester Putnam 388
6 Greenacres Ave
Scarsdale, NY 10583


Hitchcock Volunteer Fire Dept
Bay Area Council 574
7005 2nd St
Hitchcock, TX 77563


Hite Elementary School
Lincoln Heritage Council 205
12408 Old Shelbyville Rd
Louisville, KY 40243


Hi‐Tech Electric LLC
24209 Clawiter Rd
Hayward, CA 94545


Hi‐Tech Rental And Staging
1053 Willingham Dr
Atlanta, GA 30344


Hiteon Parent Teacher Assoc
Cascade Pacific Council 492
13800 SW Brockman St
Beaverton, OR 97008


Hix Corp
1201 E 27th Ter
Pittsburgh, KS 66762


Hme PTA
Circle Ten Council 571
8939 Whitewing Ln
Dallas, TX 75238


Hmong Manufacturing Inc
1900 Osage Ave
Kansas City, KS 66105


Hmong Mutual Assistance Assoc
Menomonie
Chippewa Valley Council 637
423 Wisconsin St
Eau Claire, Wi 54703


Hoa Nguyen
Address Redacted


Hoague Batchelder AL Post 103
Daniel Webster Council, Bsa 330
P.O. Box 331
Deerfield, Nh 03037


Hobart And William Smith Colleges
Attn Office of Financial Aid
300 Pulteney St
Geneva, NY 14456


Hobart Corp
9100 NW 7th Ave
Miami, FL 33150‐2099


Hobart Gentry Jr
Address Redacted


Hobart Utd Methodist Church
Leatherstocking 400
P.O. Box 205
Hobart, NY 13788


Hobbs Anderson Post 91
Ozark Trails Council 306
717 E Broadway St
Monett, MO 65708


Hobbs Police Dept
Conquistador Council Bsa 413
300 N Turner St
Hobbs, NM 88240


Hobby Barn
P.O. Box 1148
Jefferson, NC 28640


Hobby Chest
209 E Main
Ottumwa, IA 52501


Hobby Lobby
3100 Heritage Trace Pkwy
Ft Worth, TX 76177‐7586


Hocking Technical College
dba Hocking College
3301 Hocking Pkwy
Nelsonville, OH 45764


Hodgdon Poweder Comapny
P.O. Box 844110
Kansas City, MO 64184‐4110


Hodges Presbyterian Church
North Florida Council 087
4140 Hodges Blvd
Jacksonville, FL 32224


Hoefler   Frere‐Jones
611 Broadway, Rm 725
New York, NY 10012‐2608


Hoffman Estates Chamber Comm   Industry
Pathway To Adventure 456
2200 W Higgins Rd, Ste 201
Hoffman Estates, Il 60169


Hoffman Estates Police
Pathway To Adventure 456
411 W Higgins Rd
Hoffman Estates, IL 60169


Hoffman Trails Elementary PTO
Simon Kenton Council 441
4301 Hoffman Farms Dr
Hilliard, OH 43026


Hoffman Utd Methodist
Miami Valley Council, Bsa 444
201 S Main St
West Milton, OH 45383


Hoffmans Electric, Inc
1521 Cerro Vista Sw
Albuquerque, NM 87105‐3005


Hoffmaster
P.O. Box 500990
St Louis, MO 63160‐0990


Hofstra University
Office of Bursar, Memorial Hall 205
126 Hofstra University
Hempstead, NY 11549


Hog Wild, LLC
12402 SE Jennifer St, Ste 100
Clackamas, OR 97015


Hogg Middle School Ace
East Texas Area Council 585
920 S Broadway Ave
Tyler, TX 75701


Hohner Incorporated
1000 Technology Park Dr
Glen Allen, VA 23059


Hola Sunshine Graphic Design
P.O. Box 14474
Bradenton, FL 34280‐4474
Holbrook Chamber Of Commerce
Suffolk County Council Inc 404
206 Ave B
Lake Ronkonkoma, NY 11779


Holden ‐ Fire Dept
Heart of New England Council 230
1370 Main St
Holden, MA 01520


Holden ‐ First Baptist Church
Heart of New England Council 230
1216 Main St
Holden, MA 01520


Holden ‐ First Congregational Church
Heart of New England Council 230
1180 Main St
Holden, MA 01520


Holden ‐ Immanuel Lutheran Church
Heart of New England Council 230
346 Shrewsbury St
Holden, MA 01520


Holden Congregational Church
Katahdin Area Council 216
66 Church Rd
Holden, ME 04429


Holden Congregational Church
Katahdin Area Council 216
Church Rd
Holden, ME 04429


Holden Graphic Services
P.O. Box 223762
Dallas, TX 75222


Holden J Brecht
Address Redacted


Holden J Kales
Address Redacted


Holden L Snyder
Address Redacted


Holden N Muller‐Mckinstry
Address Redacted


Holden School Assoc
Great Trail 433
132 W School St
Holden Elementary School
Kent, OH 44240


Holgate Lions Club
Black Swamp Area Council 449
216 S Wilhelm St
Holgate, OH 43527


Holiday Classics
6253 W 74th St
Bedford Park, IL 60499‐2001


Holiday Credit Office
Holiday Companies
P.O. Box 860456
Minneapolis, MN 55486‐0456


Holiday Inn   Suites Chicago
10233 W Higgins Rd
Rosemont, IL 60018


Holiday Inn At Six Flags, Eureka
4901 Six Flags Rd
P.O. Box 999
Eureka, MO 63025
Holiday Inn Boxborough Woods
242 Adams Pl
Boxborough, MA 01719


Holiday Inn Burnsville
14201 Nicollet Ave S
Burnsville, MN 55337


Holiday Inn Dallas Market Center
4500 Harry Hines Blvd
Dallas, TX 75219


Holiday Inn Express ‐ Bloomington
117 S Franklin Rd
Bloomington, IN 47404


Holiday Inn Express ‐ Lewisburg Inc
222 Hunter Ln
Lewisburg, WV 24901


Holiday Inn Harrisburg East
4751 Lindle Rd
Harrisburg, PA 17111


Holiday Inn Mansfield
31 Hampshire St
Mansfield, MA 02048


Holiday Inn Panama
Ave Omar Torrijos Herrera Clayton
Ciudad Del Saber, 7336
Panama


Holiday Inn Portland Airport Hotel
8439 NE Columbia Blvd
Portland, OR 97220


Holiday Inn Riverfront
600 W 3rd St
Covington, KY 41011
Holiday Inn Santa Barbara
5650 Calle Real
Goleta, CA 93117


Holiday Inn Select
1 Pureland Dr
Swedesboro, NJ 08085


Holiday Inn Select
1801 N Naper Blvd
Naperville, IL 60563


Holiday Inn Springfield
304 Route 22 W
Springfield, NJ 07081


Holiday Inn Tallahassee
2725 Graves Rd
Tallahassee, FL 32303


Holiday Lodge Hotel    Conference
340 Oyler Ave
Oak Hill, WV 25901


Holiday Park Utd Methodist Church
Laurel Highlands Council 527
81 Sandune Dr
Pittsburgh, PA 15239


Holladay Utd Methodist Church
West Tennessee Area Council 559
173 Stokes Rd
Holladay, TN 38341


Holland Elementary School PTO
Great Lakes Fsc 272
10201 Holland Rd
Taylor, MI 48180


Holland Hall School
Indian Nations Council 488
5666 E 81st St
Tulsa, OK 74137


Holland Mutual Insurance Co
Bay‐Lakes Council 635
265 S Main St
Cedar Grove, WI 53013


Holland S Shooters Supply Inc
P.O. Box 69
Powers, OR 97466


Holland Teachers Assoc
Greater Niagara Frontier Council 380
103 Canada St
Holland Central School
Holland, NY 14080


Holland Utd Methodist Church
Occoneechee 421
9433 Ten Ten Rd
Raleigh, NC 27603


Hollie Lupo
Address Redacted


Hollis Congregational Church
Daniel Webster Council, Bsa 330
Monument Square
Hollis, NH 03049


Hollis Discount Pharmacy
1800 City Ave N
Ripley, MS 38663


Hollis Discount Pharmacy Inc
1008 City Ave N
Ripley, MS 38663


Hollis Fire Dept
Daniel Webster Council, Bsa 330
P.O. Box 38
Hollis, NH 03049


Hollis Innovation Academy
Atlanta Area Council 092
225 Griffin St Nw
Atlanta, GA 30314


Hollis Parks   Recreation Comm
Pine Tree Council 218
Municipal Bldg
Hollis Center, ME 04042


Hollis Parks And Recreation
Pine Tree Council 218
35 Town Farm Rd
Hollis Center, ME 04042


Hollister City Fire Dept
Silicon Valley Monterey Bay 055
110 5th St
Hollister, CA 95023


Hollister Elks Lodge 1436
Silicon Valley Monterey Bay 055
P.O. Box 421
Hollister, CA 95024


Hollister Police Dept
Silicon Valley Monterey Bay 055
395 Apollo Way
Hollister, CA 95023


Hollister Ward ‐ Filer Stake
Snake River Council 111
Rt 1
Twin Falls, ID 83301


Holliston Lions Club
Mayflower Council 251
P.O. Box 6112
Holliston, MA 01746


Holloman Officers Spouses Club
Yucca Council 573
P.O. Box 580
Holloman Air Force Base, NM 88330


Holly Abney
Address Redacted


Holly Academy
Great Lakes Fsc 272
820 Academy Rd
Holly, MI 48442


Holly Davis
Address Redacted


Holly Dougharty
Address Redacted


Holly E Henderson
Address Redacted


Holly E Johnson
Address Redacted


Holly Grove Ruritan Club
Stonewall Jackson Council 763
P.O. Box 102
Bumpass, VA 23024


Holly Hall
Address Redacted


Holly Hill Elementary ‐ Ai
Indian Waters Council 553
396 St Paul St
Orangeburg, SC 29115
Holly Hill Police Explorers
Central Florida Council 083
1065 Ridgewood Ave
Holly Hill, FL 32117


Holly Hills Christian Church
Old N State Council 070
245 Lakecrest Rd
Eden, NC 27288


Holly Hills Christian Church
Old N State Council 070
255 Lakecrest Rd
Eden, NC 27288


Holly Hugart
Address Redacted


Holly J Barcelona
Address Redacted


Holly M Boyer
Address Redacted


Holly Marie Dickson
Address Redacted


Holly Nockels
Address Redacted


Holly Peirson
Address Redacted


Holly Roemer
Address Redacted


Holly Saporito
Address Redacted
Holly Schwalm
Address Redacted


Holly Spring Baptist Church
Occoneechee 421
304 Raleigh St
Holly Springs, NC 27540


Holly Spring Utd Methodist Church
Occoneechee 421
108 Avent Ferry Rd
Holly Springs, NC 27540


Holly Springs Baptist
Atlanta Area Council 092
2614 Holly Springs Rd
Rockmart, GA 30153


Holly Springs Baptist Church
Daniel Boone Council 414
366 Holly Springs Church Rd
Franklin, NC 28734


Holly Springs Fire Rescue District
Palmetto Council 549
3301 Hwy 357
Inman, SC 29349


Holly Springs Police Dept
Occoneechee 421
P.O. Box 8
Holly Springs, NC 27540


Holly Springs Police Dept
Yocona Area Council 748
538 J M Ash Dr
Holly Springs, MS 38635


Holly Springs Utd Methodist Church
Occoneechee 421
108 Avent Ferry Rd
Holly Springs, NC 27540


Hollydale Utd Methodist Church
Atlanta Area Council 092
2364 Powder Springs Rd Sw
Marietta, GA 30064


Hollymead Parent Teacher Organization
Stonewall Jackson Council 763
2775 Powell Creek Dr
Charlottesville, VA 22911


Hollywood Boosters Business Assoc
Cascade Pacific Council 492
1515 NE 41st Ave
Portland, OR 97232


Hollywood Police Dept
South Florida Council 084
3250 Hollywood Blvd
Hollywood, FL 33020


Hollywood Presbyterian Church
East Carolina Council 426
5103 Nc Hwy 43 S
Greenville, NC 27858


Hollywood Rotary Club
South Florida Council 084
2349 Taylor St
Hollywood, FL 33020


Holman S Inc
6201 Jefferson St N E
Albuquerque, NM 87109‐3431


Holman S Quality Plumbing
Sam Houston Area Council 576
2702 E Villa Maria Rd
Bryan, TX 77802
Holmdel Fire   Rescue Co 2
Monmouth Council, Bsa 347
111 Centerville Rd
Holmdel, NJ 07733


Holmdel Fire And Rescue Co 2
Monmouth Council, Bsa 347
11 Centerville Rd
Holmdel, NJ 07733


Holmdel First Aid Squad, Inc
Monmouth Council, Bsa 347
P.O. Box 171
Holmdel, NJ 07733


Holmdel High School Ptso
Monmouth Council, Bsa 347
36 Crawfords Corner Rd
Holmdel, NJ 07733


Holmdel Twp Police
Monmouth Council, Bsa 347
Box 410
4 Crawfords Corner R
Holmdel, NJ 07733


Holmes County Sheriffs Reserve
Buckeye Council 436
P.O. Box 5000
8105 Tr 574
Holmesville, OH 44633


Holmes Elementary
1895 N W 75th St
Miami, FL 33147


Holmes Murphy   Assoc Inc
P.O. Box 9207
Des Moines, IA 50306‐9207


Holmes Presbyterian Church
Cradle of Liberty Council 525
P.O. Box 117
375 Holmes Rd
Holmes, PA 19043


Holmsley Elementary PTO
Sam Houston Area Council 576
7315 Hudson Oaks Dr
Houston, TX 77095


Holopaw Home Owners Inc
Central Florida Council 083
2010 Apollo Ave
Saint Cloud, FL 34773


Holroyd Enterprises Inc
29433 Lucrecia St
Big Pine Key, FL 33043


Holsey Memorial Cme
Central Georgia Council 096
464 Ghettis St
Sparta, GA 31087


Holstein Kiwanis
Mid‐America Council 326
General Delivery
Holstein, IA 51025


Holston View Utd Methodist Church
Sequoyah Council 713
P.O. Box 2278
Weber City, VA 24290


Holt Community House
Crossroads of America 160
7102 Allisonville Rd
Indianapolis, IN 46250


Holts Summit Lions Club
Great Rivers Council 653
12018 County Rd 4031
John Kearns
Holts Summit, MO 65043


Holtsville Fire Dept
Suffolk County Council Inc 404
1025 Waverly Ave
Holtsville, NY 11742


Holtville Fire Explorer
San Diego Imperial Council 049
549 Fern Ave
Holtville, CA 92250


Holy Angels Catholic Church
Bay‐Lakes Council 635
138 N 8th Ave
West Bend, WI 53095


Holy Angels Catholic Church
Texas Swest Council 741
2202 Rutgers St
San Angelo, TX 76904


Holy Angels Catholic Church
Three Fires Council 127
180 S Russell Ave
Aurora, IL 60506


Holy Angels Catholic School
Crossroads of America 160
2802 Dr Martin Luther King Jr St
Indianapolis, IN 46208


Holy Angels Church
Greater Los Angeles Area 033
370 Campus Dr
Arcadia, CA 91007


Holy Angels Regional School
Suffolk County Council Inc 404
Division St
Patchogue, NY 11772
Holy Angels School PTA
Greater Los Angeles Area 033
360 Campus Dr
Arcadia, CA 91007


Holy Apostles Catholic Church
Ore‐Ida Council 106 ‐ Bsa 106
6300 N Meridian Rd
Meridian, ID 83646


Holy Apostles Catholic Church
Pikes Peak Council 060
4925 N Carefree Cir
Colorado Springs, CO 80917


Holy Apostles Parish
Laurel Highlands Council 527
3198 Schieck St
3171 Churchview Ave
Pittsburgh, PA 15227


Holy Apostles‐School
Potawatomi Area Council 651
3875 S 159H St
New Berlin, WI 53151


Holy Assumption Parish
Three Harbors Council 636
1525 S 71st St
West Allis, WI 53214


Holy Child Academy
Cradle of Liberty Council 525
475 Shadeland Ave
Drexel Hill, PA 19026


Holy Child Jesus Roman Catholic Church
Greater New York Councils, Bsa 640
11111 86th Ave
Richmond Hill, NY 11418
Holy Child R C Church
Greater New York Councils, Bsa 640
4747 Amboy Rd
Staten Island, NY 10312


Holy Childhood Catholic Church
Northern Star Council 250
1435 Midway Pkwy
Saint Paul, MN 55108


Holy Childhood Of Jesus Catholic Church
Greater St Louis Area Council 312
104 N Independence St
Mascoutah, IL 62258


Holy Comforter Episcopal Church
Bay Area Council 574
227 S Chenango St
Angleton, TX 77515


Holy Comforter Episcopal Church
Sam Houston Area Council 576
2322 Spring Cypress Rd
Spring, TX 77388


Holy Comforter Episcopal Church
Suwannee River Area Council 664
2015 Fleischmann Rd
Tallahassee, FL 32308


Holy Comforter Lutheran Church Elca
Sam Houston Area Council 576
1901 Woodland Hills Dr
Kingwood, TX 77339


Holy Communion Lutheran Church
Garden State Council 690
442 S Route 73
Berlin, NJ 08009


Holy Covenant Methodist Church
Circle Ten Council 571
1901 E Peters Colony Rd
Carrollton, TX 75007


Holy Covenant Utd Methodist Church
Circle Ten Council 571
1901 E Peters Colony Rd
Carrollton, TX 75007


Holy Covenant Utd Methodist Church
Sam Houston Area Council 576
22111 Morton Ranch Rd
Dr
Katy, TX 77449


Holy Cow Barbeque LLC
dba Dickeys Barbeque Pit
P.O. Box 726
Crab Orchard, WV 25827


Holy Cross ‐ Family    School Together
Bay‐Lakes Council 635
3002 Bay Settlement Rd
Green Bay, WI 54311


Holy Cross Academy
National Capital Area Council 082
250 Stafford Lakes Pkwy
Fredericksburg, VA 22406


Holy Cross Catholic Church
Aloha Council, Bsa 104
P.O. Box 1263
Kalaheo, HI 96741


Holy Cross Catholic Church
Aloha Council, Bsa 104
P.O. Box 487
Kalaheo, HI 96741


Holy Cross Catholic Church
Atlanta Area Council 092
3175 Hathaway Ct
Atlanta, GA 30341


Holy Cross Catholic Church
Cascade Pacific Council 492
5227 N Bowdoin St
Portland, OR 97203


Holy Cross Catholic Church
Evangeline Area 212
505 Broadmoor Blvd
Lafayette, LA 70503


Holy Cross Catholic Church
Mid‐America Council 326
4803 William St
Omaha, NE 68106


Holy Cross Catholic Church
Northern Lights Council 429
2711 7th St E
West Fargo, ND 58078


Holy Cross Catholic Church
Old Hickory Council 427
616 S Cherry St
Kernersville, NC 27284


Holy Cross Catholic Church
Prairielands 117
409 W Clark St
Champaign, IL 61820


Holy Cross Catholic Church
Three Fires Council 127
2300 Main St
Batavia, IL 60510


Holy Cross Catholic Church
Ventura County Council 057
13955 Peach Hill Rd
Moorpark, CA 93021
Holy Cross Church
Hudson Valley Council 374
626 County Route 22
Middletown, NY 10940


Holy Cross Church
Monmouth Council, Bsa 347
30 Ward Ave
Rumson, NJ 07760


Holy Cross College
Attn Bursars Office,
54515 State Rd 933 N
P.O. Box 308
Notre Dame, IN 46556‐0308


Holy Cross Episcopal Church
Blue Ridge Council 551
205 E College St
Simpsonville, SC 29681


Holy Cross Episcopal Church
Daniel Webster Council, Bsa 330
118 Center Rd
P.O. Box 161
Weare, NH 03281


Holy Cross Episcopal Church
Greater Tampa Bay Area 089
201 Kipling Ln
Winter Haven, FL 33884


Holy Cross Episcopal Church
Old Hickory Council 427
P.O. Box 645
Valle Crucis, NC 28691


Holy Cross Episcopal Church
Sam Houston Area Council 576
5653 W River Park Dr
Sugar Land, TX 77479
Holy Cross Evangelical Lutheran Church
Mid‐America Council 326
4117 Terrace Dr
Omaha, NE 68134


Holy Cross Evangelical Lutheran Church
Minsi Trails Council 502
2700 Jacksonville Rd
Bethlehem, PA 18017


Holy Cross Greek Orthodox Church
Greater New York Councils, Bsa 640
8401 Ridge Blvd
Brooklyn, NY 11209


Holy Cross Hospital Er
1397 Weimer Rd
Taos, NM 87571


Holy Cross Hospital Er
P.O. Box Dd
Taos, NM 87571


Holy Cross Hospital Profession
P.O. Box 848767
Boston, MA 02284‐8767


Holy Cross Lutheran Church
Central Florida Council 083
780 N Sun Dr
Lake Mary, FL 32746


Holy Cross Lutheran Church
Circle Ten Council 571
11425 Marsh Ln
Dallas, TX 75229


Holy Cross Lutheran Church
Denver Area Council 061
4500 Wadsworth Blvd
Wheat Ridge, CO 80033
Holy Cross Lutheran Church
Greater Niagara Frontier Council 380
8900 Sheridan Dr
Clarence, NY 14031


Holy Cross Lutheran Church
Greater St Louis Area Council 312
13014 Olive Blvd
Creve Coeur, MO 63141


Holy Cross Lutheran Church
Greater St Louis Area Council 312
3778 N Water St
Decatur, IL 62526


Holy Cross Lutheran Church
Last Frontier Council 480
2105 NW 38th St
Lawton, OK 73505


Holy Cross Lutheran Church
National Capital Area Council 082
1090 Sterling Rd
Herndon, VA 20170


Holy Cross Lutheran Church
Northeast Illinois 129
29700 N Saint Marys Rd
Libertyville, IL 60048


Holy Cross Lutheran Church
Northern Star Council 250
6355 10th St N
Oakdale, MN 55128


Holy Cross Lutheran Church
Old N State Council 070
1913 US Hwy 601 S
Mocksville, NC 27028
Holy Cross Lutheran Church
Orange County Council 039
4321 Cerritos Ave
Cypress, CA 90630


Holy Cross Lutheran Church
Pikes Peak Council 060
4125 Constitution Ave
Colorado Springs, CO 80909


Holy Cross Lutheran Church
San Francisco Bay Area Council 028
1020 Mocho St
Livermore, CA 94550


Holy Cross Lutheran Church
Sioux Council 733
1300 S Sertoma Ave
Sioux Falls, SD 57106


Holy Cross Lutheran Church
Tuscarora Council 424
2920 Nc Hwy 42 W
Clayton, NC 27520


Holy Cross Lutheran Church Of Bismarck
Northern Lights Council 429
730 Hwy 1804 Ne
Bismarck, ND 58503


Holy Cross Lutheran School
Greater St Louis Area Council 312
304 S Seminary St
Collinsville, IL 62234


Holy Cross Orthodox Church
Buffalo Trail Council 567
1616 W Golf Course Rd
Midland, TX 79701


Holy Cross Parents For Scouting
Heart of America Council 307
540 Holmes St
Kansas City, MO 64106


Holy Cross Parish
Bay‐Lakes Council 635
309 Desnoyer St
Kaukauna, WI 54130


Holy Cross Parish
Hudson Valley Council 374
626 County Route 22
Middletown, NY 10940


Holy Cross Parish
Mayflower Council 251
225 Purchase St
South Eon, MA 02375


Holy Cross Parish
National Capital Area Council 082
4900 Strathmore Ave
Garrett Park, MD 20896


Holy Cross Parish Catholic Church
Garden State Council 690
46 Central Ave
Bridgeton, NJ 08302


Holy Cross R C Church
Seneca Waterways 397
4492 Lake Ave
Rochester, NY 14612


Holy Cross Rc Church
Suffolk County Council Inc 404
95 Nichols Rd
Nesconset, NY 11767


Holy Disciples Catholic Church
Pacific Harbors Council, Bsa 612
10425 187th St E
Puyallup, WA 98374
Holy Eucharist Roman Catholic Church
Garden State Council 690
344 Kresson Rd
Cherry Hill, NJ 08034


Holy Faith Catholic Church
North Florida Council 087
747 NW 43rd St
Gainesville, FL 32607


Holy Family   St John The Evangelist
Westmoreland Fayette 512
1204 Ligonier St
Latrobe, PA 15650


Holy Family Cathedral School
Orange County Council 039
530 S Glassell St
Orange, CA 92866


Holy Family Catholic Academy
Aloha Council, Bsa 104
830 Main St
Honolulu, HI 96818


Holy Family Catholic Church
Abraham Lincoln Council 144
410 S State St
Litchfield, IL 62056


Holy Family Catholic Church
Atlanta Area Council 092
3401 Lower Roswell Rd
Marietta, GA 30068


Holy Family Catholic Church
Blackhawk Area 660
4401 Highcrest Rd
Rockford, IL 61107
Holy Family Catholic Church
Buffalo Trace 156
950 Church Ave
Jasper, IN 47546


Holy Family Catholic Church
Central Florida Council 083
5125 S Apopka Vineland Rd
Orlando, FL 32819


Holy Family Catholic Church
Great Lakes Fsc 272
24505 Meadowbrook Rd
Novi, MI 48375


Holy Family Catholic Church
Great Trail 433
3450 Sycamore Dr
Stow, OH 44224


Holy Family Catholic Church
Greater Tampa Bay Area 089
200 78th Ave Ne
Saint Petersburg, FL 33702


Holy Family Catholic Church
Lake Erie Council 440
7367 York Rd
Parma, OH 44130


Holy Family Catholic Church
Las Vegas Area Council 328
4490 Mountain Vista St
Las Vegas, NV 89121


Holy Family Catholic Church
Lincoln Heritage Council 205
129 W Daisy Ln
New Albany, IN 47150


Holy Family Catholic Church
Middle Tennessee Council 560
9100 Crockett Rd
Brentwood, TN 37027


Holy Family Catholic Church
Northern Lights Council 429
1018 18th Ave S
Grand Forks, ND 58201


Holy Family Catholic Church
Old Hickory Council 427
4820 Kinnamon Rd
Winston Salem, NC 27103


Holy Family Catholic Church
Pathway To Adventure 456
2515 Palatine Rd
Inverness, IL 60067


Holy Family Catholic Church
Sam Houston Area Council 576
1510 5th St
Missouri City, TX 77489


Holy Family Catholic Church
Samoset Council, Bsa 627
8950 County J
Woodruff, WI 54568


Holy Family Catholic Church
Southeast Louisiana Council 214
155 Holy Family Ln
Luling, LA 70070


Holy Family Catholic Church
Three Harbors Council 636
4810 N Marlborough Dr
Whitefish Bay, WI 53217


Holy Family Catholic Church
Tidewater Council 596
1453 N Rd St
Elizabeth City, NC 27909
Holy Family Catholic Church
Verdugo Hills Council 058
209 E Lomita Ave
Glendale, CA 91205


Holy Family Catholic Commty
St. Josephs
Five Rivers Council, Inc 375
206 Fremont St
Wayland, Ny 14572


Holy Family Catholic Community
National Capital Area Council 082
7321 Burksville Rd
Middletown, MD 21769


Holy Family Catholic Community
Pathway To Adventure 456
2515 Palatine Rd
Inverness, IL 60067


Holy Family Catholic School
Capitol Area Council 564
9400 Neenah Ave
Austin, TX 78717


Holy Family Catholic School
Denver Area Council 061
786 26 1/2 Rd
Grand Junction, CO 81506


Holy Family Catholic School
Istrouma Area Council 211
335 N Jefferson Ave
Port Allen, LA 70767


Holy Family Catholic School
North Florida Council 087
9800 Baymeadows Rd 3
Jacksonville, FL 32256
Holy Family Church
415 Ames St
Rochester, NY 14611


Holy Family Church
Grand Columbia Council 614
5315 Tieton Dr
Yakima, WA 98908


Holy Family Church
Greater St Louis Area Council 312
2606 Washington Ave
Granite City, IL 62040


Holy Family Church
Mayflower Council 251
601 Tremont St
Duxbury, MA 02332


Holy Family Church
Minsi Trails Council 502
23 Forest Dr
Nazareth, PA 18064


Holy Family Church
Ohio River Valley Council 619
2608 Hollywood Blvd
Steubenville, OH 43952


Holy Family Church
Silicon Valley Monterey Bay 055
4848 Pearl Ave
San Jose, CA 95136


Holy Family Church And School
South Texas Council 577
2509 Nogales St
Corpus Christi, TX 78416


Holy Family Episcopal Church
Crossroads of America 160
11445 Fishers Point Blvd
Fishers, IN 46038


Holy Family Episcopal Church
Great Swest Council 412
10A Bisbee Ct
Turqouise Trail Buisness Park
Santa Fe, NM 87508


Holy Family Of Nazareth Catholic Church
Circle Ten Council 571
2330 Cheyenne St
Irving, TX 75062


Holy Family Parish
Bay‐Lakes Council 635
271 4th St Way
Fond Du Lac, WI 54937


Holy Family Parish
Chief Seattle Council 609
7300 120th Ave Ne
Kirkland, WA 98033


Holy Family Parish
Daniel Webster Council, Bsa 330
5 Church St
Gorham, NH 03581


Holy Family Parish
Garden State Council 690
226 Hurffville Rd
Sewell, NJ 08080


Holy Family Parish
Leatherstocking 400
763 E Main St
Little Falls, NY 13365


Holy Family Parish
Mid‐America Council 326
103 E 3rd St
Lindsay, NE 68644


Holy Family Parish
Mississippi Valley Council 141 141
415 11th St
Fort Madison, IA 52627


Holy Family Parish
Sioux Council 733
222 N Kimball St
Mitchell, SD 57301


Holy Family Parish
The Spirit of Adventure 227
9 Sparhawk St
Amesbury, MA 01913


Holy Family Parish‐Catholic
Trapper Trails 589
1100 E 5550 S
South Ogden, UT 84403


Holy Family Rc Church
Greater Niagara Frontier Council 380
1885 S Park Ave
37 Lilac St
Buffalo, NY 14220


Holy Family Rc Church
Westchester Putnam 388
83 Clove Rd
New Rochelle, NY 10801


Holy Family Rc Parish
Iroquois Trail Council 376
106 S Main St
Albion, NY 14411


Holy Family Roman Catholic Church
Baltimore Area Council 220
9531 Liberty Rd
Randallstown, MD 21133
Holy Family Roman Catholic Church
Greater New York Councils, Bsa 640
17520 74th Ave
Fresh Meadows, NY 11366


Holy Family Roman Catholic Church
Narragansett 546
370 Middleboro Ave
East Taunton, MA 02718


Holy Family Roman Catholic Church
Theodore Roosevelt Council 386
5 Fordham Ave
Hicksville, NY 11801


Holy Family School
Bay‐Lakes Council 635
1204 S Fisk St
Green Bay, WI 54304


Holy Family School
Central Minnesota 296
160 2nd St S
Albany, MN 56307


Holy Family School
Greater St Louis Area Council 312
2606 Washington Ave
Granite City, IL 62040


Holy Family School
Pathway To Adventure 456
3415 W Arthington St
Chicago, IL 60624


Holy Family School
Water and Woods Council 782
215 Orchard St
Grand Blanc, MI 48439
Holy Family School System
Hawkeye Area Council 172
3700 1st Ave Nw
Cedar Rapids, IA 52405


Holy Ghost Catholic Church
Northeast Iowa Council 178
2215 Windsor Ave
Dubuque, IA 52001


Holy Ghost Parish
Mayflower Council 251
518 Washington St
Whitman, MA 02382


Holy Ground Church Theological Seminary
San Francisco Bay Area Council 028
388 9th St, Ste 183
Oakland, CA 94607


Holy Guardian Angel RC Ch
Hawk Mountain Council 528
3125 Kutztown Rd
Reading, Pa 19605


Holy Guardian Angels RC Ch
Hawk Mountain Council 528
3121 Kutztown Rd
Reading, Pa 19605


Holy Infant Catholic Church
Greater St Louis Area Council 312
627 Dennison Dr
Ballwin, MO 63021


Holy Infant Of Prague Catholic Church
Greater Alabama Council 001
8090 Gadsden Hwy
Trussville, AL 35173


Holy Innocents Catholic Church
Chief Seattle Council 609
P.O. Box 850
Duvall, WA 98019


Holy Innocents Church
Cradle of Liberty Council 525
1337 E Hunting Park Ave
Philadelphia, PA 19124


Holy Innocents Episcopal Church
Atlanta Area Council 092
805 Mount Vernon Hwy Nw
Atlanta, GA 30327


Holy Innocents Episcopal Church
Greater Tampa Bay Area 089
604 N Valrico Rd
Valrico, FL 33594


Holy Innocents Knights Columbus
Council 3581
Theodore Roosevelt Council 386
3581 Jeffries Rd
Levittown, Ny 11756


Holy Love Lutheran Church
Denver Area Council 061
4210 S Chambers Rd
Aurora, CO 80014


Holy Martyrs Of Vietnam Catholic Church
National Capital Area Council 082
915 S Wakefield St
Arlington, VA 22204


Holy Mother Of Consolation
Glaciers Edge Council 620
651 N Main St
Oregon, WI 53575


Holy Mount Episcopal Church
Conquistador Council Bsa 413
121 Mescalero Trl
Ruidoso, NM 88345


Holy Name Catholic Church
Great Alaska Council 610
433 Jackson St
Ketchikan, AK 99901


Holy Name Catholic Church
Lincoln Heritage Council 205
511 2nd St
Henderson, KY 42420


Holy Name Catholic Church Of Watertown
Sioux Council 733
1009 Skyline Dr
Watertown, SD 57201


Holy Name Central School
Bay‐Lakes Council 635
409 S 22nd St
Escanaba, MI 49829


Holy Name Church
The Spirit of Adventure 227
1689 Centre St
West Roxbury, MA 02132


Holy Name Of Jesus
California Inland Empire Council 045
115 W Olive Ave
Redlands, CA 92373


Holy Name Of Jesus
Northern Star Council 250
155 County Rd 24
Wayzata, MN 55391


Holy Name Of Jesus Catholic Church
Central Florida Council 083
3050 N Hwy A1A
Indialantic, FL 32903
Holy Name Of Jesus Catholic Church
Gulf Coast Council 773
1200 Valparaiso Blvd
Niceville, FL 32578


Holy Name Of Jesus Catholic Church
New Birth of Freedom 544
6150 Allentown Blvd
Harrisburg, PA 17112


Holy Name Of Jesus Church
Westchester Putnam 388
75 Lispenard Ave
New Rochelle, NY 10801


Holy Name Of Jesus Roman Catholic Church
Greater New York Councils, Bsa 640
245 Prospect Park W
Brooklyn, NY 11215


Holy Name Of Jesus School Parents Club
Southeast Louisiana Council 214
6325 Cromwell Pl
New Orleans, LA 70118


Holy Name Of Mary Catholic Church
Greater Los Angeles Area 033
724 E Bonita Ave
San Dimas, CA 91773


Holy Name Of Mary Roman Catholic Church
Westchester Putnam 388
110 Grand St
Croton On Hudson, NY 10520


Holy Name School
San Francisco Bay Area Council 028
1560 40th Ave
San Francisco, CA 94122


Holy Name Scty Immaculate Conception Ch
Great Rivers Council 653
1206 E Mccarty St
Jefferson City, Mo 65101


Holy Name Society
Longhouse Council 373
320 W Lynde St
Watertown, NY 13601


Holy Name Society
Rocky Mountain Council 063
608 S Maple St
Trinidad, CO 81082


Holy Name Society Assumption Of
The Blessed Virgin Mary Rcc
Pennsylvania Dutch Council 524
2 N 8Th St
Lebanon, Pa 17046


Holy Name Society Of Lady Of Visitation
Northern New Jersey Council, Bsa 333
234 N Farview Ave
Paramus, NJ 07652


Holy Name Society Of Our Lady
Northern New Jersey Council, Bsa 333
234 N Farview Ave
Paramus, NJ 07652


Holy Name Society Of St Peter S
Great Rivers Council 653
216 Broadway
Jefferson City, MO 65101


Holy Name Society Of St Richards
The Spirit of Adventure 227
88 Forest St
Danvers, MA 01923


Holy Name Society Of St Thomas Apostle
Roman Catholic Church
Northern New Jersey Council, Bsa 333
60 Byrd Ave
Bloomfield, Nj 07003


Holy Name Society Of Visitation Roman
Jersey Shore Council 341
730 Lynnwood Ave
Brick, NJ 08723


Holy Name Society St Francis Catholic Ch
Mississippi Valley Council 141 141
1721 College Ave
Quincy, Il 62301


Holy Name Society St Joseph Cupertino
Silicon Valley Monterey Bay 055
10110 N De Anza Blvd
Cupertino, Ca 95014


Holy Name Society St Philip The Apostle
Northern New Jersey Council, Bsa 333
488 Saddle River Rd
Saddle Brook, NJ 07663


Holy Name Society, Holy Name Parish
Garden State Council 690
P.O. Box 1099
260 Conrow Rd
Delran, Nj 08075


Holy Name Society‐Holy Name Church
Samoset Council, Bsa 627
1104 S 9th Ave
Wausau, WI 54401


Holy Name Society‐St John The Baptist
Minsi Trails Council 502
3024 S Ruch St
Whitehall, PA 18052


Holy Name Society‐St Josephs Catholic Ch
New Birth Of Freedom 544
5055 Grandview Rd
Hanover, Pa 17331


Holy Redeemer Cath. Church Of Marshall
Sioux Council 733
503 W Lyon St
Marshall, MN 56258


Holy Redeemer Catholic Church
Buffalo Trace 156
918 W Mill Rd
Evansville, IN 47710


Holy Redeemer Catholic Church
National Capital Area Council 082
4902 Berwyn Rd
College Park, MD 20740


Holy Redeemer Catholic Church
Oregon Trail Council 697
2250 16th St
North Bend, OR 97459


Holy Redeemer Catholic Church
Sioux Council 733
503 W Lyon St
Marshall, MN 56258


Holy Redeemer Catholic Church
Verdugo Hills Council 058
2411 Montrose Ave
Montrose, CA 91020


Holy Redeemer Catholic Parish
Longhorn Council 662
16250 Old Weatherford Rd
Aledo, TX 76008


Holy Redeemer Catholic School
Atlanta Area Council 092
3380 Old Alabama Rd
Johns Creek, GA 30022
Holy Redeemer Christian Academy
Three Harbors Council 636
3500 W Mother Daniels Way
Milwaukee, WI 53209


Holy Redeemer Church
Greater St Louis Area Council 312
17 Joy Ave
Saint Louis, MO 63119


Holy Redeemer Lutheran Church
Long Beach Area Council 032
14515 Blaine Ave
Bellflower, CA 90706


Holy Redeemer Parish
Cascade Pacific Council 492
25 N Rosa Parks Way
Portland, OR 97217


Holy Redeemer Parish
National Capital Area Council 082
9715 Saul Rd
Kensington, MD 20895


Holy Redeemer Parish
The Spirit of Adventure 227
42 Green St
Merrimac, MA 01860


Holy Rosary Catholic Church
Alamo Area Council 583
159 Camino Santa Maria St
San Antonio, TX 78228


Holy Rosary Catholic Church
Buffalo Trace 156
1301 S Green River Rd
Evansville, IN 47715
Holy Rosary Catholic Church
Chickasaw Council 558
4851 Park Ave
Memphis, TN 38117


Holy Rosary Catholic Church
Chief Seattle Council 609
4142 42nd Ave Sw
Seattle, WA 98116


Holy Rosary Catholic Church
Istrouma Area Council 211
44450 Hwy 429
Saint Amant, LA 70774


Holy Rosary Catholic Church
Middle Tennessee Council 560
190 Graylynn Dr
Nashville, TN 37214


Holy Rosary Catholic Church
Mt Diablo‐Silverado Council 023
1313 A St
Antioch, CA 94509


Holy Rosary Catholic Church
Sam Houston Area Council 576
3617 Milam St
Houston, TX 77002


Holy Rosary Catholic Church
South Florida Council 084
9500 SW 184th St
Cutler Bay, FL 33157


Holy Rosary Catholic Mens Club
Housatonic Council, Bsa 069
Father Salemi Dr
Ansonia, CT 06401


Holy Rosary Church
Greater St Louis Area Council 312
724 E Booneslick Rd
Truesdale, MO 63380


Holy Rosary Homeschool Group
Cascade Pacific Council 492
P.O. Box 482
Beaverton, OR 97075


Holy Rosary Ladies Guild
Housatonic Council, Bsa 069
10 Father Salemi Dr
Ansonia, CT 06401


Holy Rosary Parish
Cascade Pacific Council 492
375 NE Clackamas St
Portland, OR 97232


Holy Rosary Parish‐Catholic Church
Sam Houston Area Council 576
1416 George St
Rosenberg, TX 77471


Holy Rosary R C Church
French Creek Council 532
2701 E Ave
Erie, PA 16504


Holy Rosary Roman Catholic Church
Daniel Webster Council, Bsa 330
189 N Main St
Rochester, NH 03867


Holy Rosary Roman Catholic Church
Del Mar Va 081
3200 Philadelphia Pike
Claymont, DE 19703


Holy Rosary Roman Catholic Church
Westchester Putnam 388
170 Bradhurst Ave
Hawthorne, NY 10532
Holy Rosary School
Great Rivers Council 653
620 S Main St
Monroe City, MO 63456


Holy Rosary St Richard Catholic Church
South Florida Council 084
7500 SW 152nd St
Palmetto Bay, FL 33157


Holy Savior Lutheran Church
Cornhusker Council 324
4710 N 10th St
Lincoln, NE 68521


Holy Savior Menard High School
Louisiana Purchase Council 213
4603 Coliseum Blvd
Alexandria, LA 71303


Holy Savior Parish
Pine Tree Council 218
7 Brown St
Mexico, ME 04257


Holy Savior Pncc Church
Connecticut Rivers Council, Bsa 066
118 Prospect St
Naugatuck, CT 06770


Holy Spirit Catholic Church
Alamo Area Council 583
758 W Ramsey Rd
San Antonio, TX 78216


Holy Spirit Catholic Church
Black Warrior Council 006
733 James I Harrison Jr Pkwy E
Tuscaloosa, AL 35405
Holy Spirit Catholic Church
Circle Ten Council 571
1111 W Danieldale Rd
Duncanville, TX 75137


Holy Spirit Catholic Church
Greater Alabama Council 001
625 Airport Rd Sw
Huntsville, AL 35802


Holy Spirit Catholic Church
Greater Tampa Bay Area 089
644 S 9th St
Lake Wales, FL 33853


Holy Spirit Catholic Church
Gulf Coast Council 773
10650 Gulf Beach Hwy
Pensacola, FL 32507


Holy Spirit Catholic Church
Heart of America Council 307
11300 W 103rd St
Overland Park, KS 66214


Holy Spirit Catholic Church
Heart of America Council 307
1800 SW State Route 150
Lees Summit, MO 64082


Holy Spirit Catholic Church
Lincoln Heritage Council 205
4754 Smallhouse Rd
Bowling Green, KY 42104


Holy Spirit Catholic Church
National Capital Area Council 082
5121 Woodland Way
Annandale, VA 22003


Holy Spirit Catholic Church
Northern Lights Council 429
1420 7th St N
Fargo, ND 58102


Holy Spirit Catholic Church
Pathway To Adventure 456
7667 E 109th Ave
Crown Point, IN 46307


Holy Spirit Catholic Church
Piedmont Council 420
537 N Nc 16 Business Hwy
Denver, NC 28037


Holy Spirit Catholic Church
Pine Burr Area Council 304
6705 Jim Ramsay Rd
Vancleave, MS 39565


Holy Spirit Catholic Church
Redwood Empire Council 041
1244 Saint Francis Rd
Santa Rosa, CA 95409


Holy Spirit Catholic Church
Rio Grande Council 775
2201 Martin Ave
Mcallen, TX 78504


Holy Spirit Catholic Church
San Francisco Bay Area Council 028
37588 Fremont Blvd
Fremont, CA 94536


Holy Spirit Catholic Church
Sequoia Council 027
355 E Champlain Dr
Fresno, CA 93730


Holy Spirit Catholic Church
South Plains Council 694
9821 Frankford Ave
Lubbock, TX 79424
Holy Spirit Catholic Church
Yucca Council 573
14132 Mcmahon Ave
Horizon City, TX 79928


Holy Spirit Catholic Church‐Sioux Falls
Sioux Council 733
3601 E Dudley Ln
Sioux Falls, SD 57103


Holy Spirit Catholic Community
Three Fires Council 127
2003 Hassert Blvd
Naperville, IL 60564


Holy Spirit Catholic School
Greater St Louis Area Council 312
3120 Parkwood Ln
Maryland Heights, MO 63043


Holy Spirit Catholic School
Montana Council 315
2820 Central Ave
Great Falls, MT 59401


Holy Spirit Church
Black Warrior Council 006
711 James I Harrison Jr Pkwy E
Tuscaloosa, AL 35405


Holy Spirit Church
Connecticut Yankee Council Bsa 072
403 Scofieldtown Rd
Stamford, CT 06903


Holy Spirit Episcopal Church
Great Alaska Council 610
P.O. Box 773223
Eagle River, AK 99577
Holy Spirit Episcopal Church
Las Vegas Area Council 328
580 Hancock Rd
Bullhead City, AZ 86442


Holy Spirit Evangelical Lutheran Church
Hawk Mountain Council 528
4th   Windsor Sts
Reading, PA 19601


Holy Spirit Lutheran Church
Chief Seattle Council 609
10021 NE 124th St
Kirkland, WA 98034


Holy Spirit Lutheran Church
Pennsylvania Dutch Council 524
3131 Columbia Ave
Lancaster, PA 17603


Holy Spirit Mens Club
National Capital Area Council 082
5121 Woodland Way
Annandale, VA 22003


Holy Spirit Parish
Bay‐Lakes Council 635
620 E Kimberly Ave
Kimberly, WI 54136


Holy Spirit Parish
Greater St Louis Area Council 312
3120 Parkwood Ln
Maryland Heights, MO 63043


Holy Spirit Parish
Narragansett 546
1030 Dexter St
Central Falls, RI 02863


Holy Spirit Parish
Orange County Council 039
10280 Slater Ave
Fountain Valley, CA 92708


Holy Spirit Parish
Water and Woods Council 782
1035 N River Rd
Saginaw, MI 48609


Holy Spirit Parish Montgomery
Tukabatchee Area Council 005
8570 Vaughn Rd
Montgomery, AL 36117


Holy Spirit Parrish
Trapper Trails 589
116 Broadway St
Rock Springs, WY 82901


Holy Spirit School
Silicon Valley Monterey Bay 055
1198 Redmond Ave
San Jose, CA 95120


Holy Trinity Anglican Church
Mayflower Council 251
16 Gibbon St
Marlborough, MA 01752


Holy Trinity By The Lake Episc Ch
Circle Ten Council 571
1524 Smirl Dr
Heath, Tx 75032


Holy Trinity Catholic Church
Alamo Area Council 583
20523 Huebner Rd
San Antonio, TX 78258


Holy Trinity Catholic Church
Cornhusker Council 324
P.O. Box 39
Brainard, NE 68626
Holy Trinity Catholic Church
Flint River Council 095
101 Walt Banks Rd
Peachtree City, GA 30269


Holy Trinity Catholic Church
Greater St Louis Area Council 312
3500 Saint Luke Ln
Saint Ann, MO 63074


Holy Trinity Catholic Church
Greater St Louis Area Council 312
505 Fountains Pkwy
Fairview Heights, IL 62208


Holy Trinity Catholic Church
Heart of America Council 307
13600 W 92nd St
Holy Trinity School
Lenexa, KS 66215


Holy Trinity Catholic Church
Mid Iowa Council 177
2922 Beaver Ave
Des Moines, IA 50310


Holy Trinity Catholic Church
National Capital Area Council 082
8213 Linton Hall Rd
Gainesville, VA 20155


Holy Trinity Catholic Church
Pikes Peak Council 060
3122 Poinsetta Dr
Colorado Springs, CO 80907


Holy Trinity Catholic Church
Simon Kenton Council 441
2215 Galena Pike
West Portsmouth, OH 45663
Holy Trinity Catholic School
Lake Erie Council 440
2610 Nagel Rd
Avon, OH 44011


Holy Trinity Catholic School
Longhorn Council 662
3750 William D Tate Ave
Grapevine, TX 76051


Holy Trinity Church
Aloha Council, Bsa 104
5919 Kalanianaole Hwy
Honolulu, HI 96821


Holy Trinity Church
Blue Grass Council 204
2536 S US Hwy 421
Harlan, KY 40831


Holy Trinity Church
Greater New York Councils, Bsa 640
213 W 82nd St
New York, NY 10024


Holy Trinity Church
Iroquois Trail Council 376
211 Eagle St
Medina, NY 14103


Holy Trinity Church
Northern New Jersey Council, Bsa 333
34 Maple Ave
Hackensack, NJ 07601


Holy Trinity Church
Pine Tree Council 218
67 Frost Hill Ave
Lisbon Falls, ME 04252


Holy Trinity Church ‐ Hillsdale
Northern New Jersey Council, Bsa 333
326 Hillsdale Ave
Hillsdale, NJ 07642


Holy Trinity Episcopal Church
Central Florida Council 083
1830 S Babcock St
Melbourne, FL 32901


Holy Trinity Episcopal Church
Central Florida Council 083
50 W Strawbridge Ave
Melbourne, FL 32901


Holy Trinity Episcopal Church
Circle Ten Council 571
3217 Guthrie Rd
Garland, TX 75043


Holy Trinity Episcopal Church
National Capital Area Council 082
13106 Annapolis Rd
Bowie, MD 20720


Holy Trinity Episcopal Church
Suffolk County Council Inc 404
P.O. Box 502
Greenport, NY 11944


Holy Trinity Evangelical Lutheran Church
Laurel Highlands Council 527
525 Main St
Berlin, PA 15530


Holy Trinity Evangelical Lutheran Church
Simon Kenton Council 441
2001 Nwest Blvd
Columbus, OH 43212


Holy Trinity Greek Orthodox Cathedral
Greater New York Councils, Bsa 640
337 E 74th St
New York, NY 10021


Holy Trinity Greek Orthodox Church
Westchester Putnam 388
10 Mill Rd
New Rochelle, NY 10804


Holy Trinity Lutheran Church
Atlanta Area Council 092
2922 Sandy Plains Rd
Marietta, GA 30066


Holy Trinity Lutheran Church
Buckeye Council 436
2551 55th St Ne
Canton, OH 44721


Holy Trinity Lutheran Church
Cradle of Liberty Council 525
196 Woodbine Ave
Narberth, PA 19072


Holy Trinity Lutheran Church
Garden State Council 690
26 S Forklanding Rd
Maple Shade, NJ 08052


Holy Trinity Lutheran Church
Glaciers Edge Council 620
605 Madison St
Marshall, WI 53559


Holy Trinity Lutheran Church
Great Lakes Fsc 272
39020 5 Mile Rd
Livonia, MI 48154


Holy Trinity Lutheran Church
Greater New York Councils, Bsa 640
4118 Ave R
Brooklyn, NY 11234
Holy Trinity Lutheran Church
Greater Tampa Bay Area 089
3712 W El Prado Blvd
Tampa, FL 33629


Holy Trinity Lutheran Church
Hudson Valley Council 374
103 Delaware Crest Dr
Dingmans Ferry, PA 18328


Holy Trinity Lutheran Church
Mayflower Council 251
143 Lincoln St
North Eon, MA 02356


Holy Trinity Lutheran Church
Mid Iowa Council 177
517 SW Des Moines St
Ankeny, IA 50023


Holy Trinity Lutheran Church
Minsi Trails Council 502
5th   Lafayette Ave
Palmerton, PA 18071


Holy Trinity Lutheran Church
Mobile Area Council‐Bsa 004
8271 Whispering Pines Rd
Daphne, AL 36526


Holy Trinity Lutheran Church
Moraine Trails Council 500
2217 Chicora Rd
Chicora, PA 16025


Holy Trinity Lutheran Church
National Capital Area Council 082
3022 Woodlawn Ave
Falls Church, VA 22042


Holy Trinity Lutheran Church
National Capital Area Council 082
605 W Market St
Leesburg, VA 20176


Holy Trinity Lutheran Church
New Birth of Freedom 544
212 Cocoa Ave
Hershey, PA 17033


Holy Trinity Lutheran Church
Northeast Iowa Council 178
1755 Delhi St
Dubuque, IA 52001


Holy Trinity Lutheran Church
Piedmont Council 420
547 6th St Nw
Hickory, NC 28601


Holy Trinity Lutheran Church
Southwest Florida Council 088
2565 Tamiami Trl
Port Charlotte, FL 33952


Holy Trinity Lutheran Church
Ventura County Council 057
1 W Avenida De Los Arboles
Thousand Oaks, CA 91360


Holy Trinity Lutheran Church
Westmoreland Fayette 512
211 Gaskill Ave
Jeannette, PA 15644


Holy Trinity Lutheran Church
Westmoreland Fayette 512
502 Main St
Irwin, PA 15642


Holy Trinity Memorial Lutheran Church
Minsi Trails Council 502
604 4th St
Catasauqua, PA 18032


Holy Trinity Montessori School
Middle Tennessee Council 560
525 Sneed Rd
Nashville, TN 37221


Holy Trinity Parents Assoc
Greater Los Angeles Area 033
1226 W Santa Cruz St
Holy Trinity School
San Pedro, CA 90732


Holy Trinity Parish
Black Swamp Area Council 449
120 E Main St
Coldwater, OH 45828


Holy Trinity Parish
Daniel Webster Council, Bsa 330
46 Langdon St
Plymouth, NH 03264


Holy Trinity Parish
Golden Empire Council 047
3111 Tierra De Dios Dr
El Dorado Hills, CA 95762


Holy Trinity Parish
Greater Los Angeles Area 033
209 N Hanford Ave
San Pedro, CA 90732


Holy Trinity Parish
Lincoln Heritage Council 205
501 Cherrywood Rd
Louisville, KY 40207


Holy Trinity Parish
Narragansett 546
1409 Park Ave
Woonsocket, RI 02895
Holy Trinity Parish
Twin Rivers Council 364
122 Vliet Blvd
Cohoes, NY 12047


Holy Trinity Parish
Twin Rivers Council 364
P.O. Box 930
205 Glebe St
Johnstown, NY 12095


Holy Trinity Presbyterian Church
Alamo Area Council 583
16245 Nacogdoches Rd
San Antonio, TX 78247


Holy Trinity R C Church
Northern New Jersey Council, Bsa 333
34 Maple Ave
Hackensack, NJ 07601


Holy Trinity Roman Catholic Church
Greater New York Councils, Bsa 640
213 W 82nd St
New York, NY 10024


Holy Trinity Roman Catholic Church
Laurel Highlands Council 527
5718 Steubenville Pike
Mc Kees Rocks, PA 15136


Holy Trinity Roman Catholic Church
Patriots Path Council 358
315 1st St
Westfield, NJ 07090


Holy Trinity School Parents Club
Cascade Pacific Council 492
13755 SW Walker Rd
Beaverton, OR 97005
Holy Trinity Utd Methodist Church
Sam Houston Area Council 576
13207 Orleans St
Houston, TX 77015


Holy Trinty Episc Ch Diocese Kentucky
Lincoln Heritage Council 205
319 Oaklawn Rd
Brandenburg, Ky 40108


Holyoke Lions Club
Longs Peak Council 062
125 N Campbell Ave
Holyoke, CO 80734


Home   School Org Of George Washington
Northern New Jersey Council, Bsa 333
39 Fardale Ave
George Washington School
Mahwah, NJ 07430


Home Alarm Co Of Port Huron
3925 Wadhams Rd
North St, MI 48060


Home And School Assoc
Cradle of Liberty Council 525
1901 S 23rd St
Philadelphia, PA 19145


Home Decorators Collection
P.O. Box 4190
Hazelwood, MO 63042


Home Depot
4555 Overseas Hwy
Marathon, FL 33050


Home Depot
8555 Home Depot Dr
Irving, TX 75063
Home Depot
937 N Wridge Dr
St George, UT 84770


Home Depot
Orange County Council 039
27401 La Paz Rd
Laguna Niguel, CA 92677


Home Depot Credit Services
Dept 32‐2500188028
P.O. Box 6031
The Lakes, NV 88901‐6031


Home Depot Credit Services
Dept 32‐2500188028
P.O. Box 183176
Columbus, OH 43218‐3176


Home Depot Credit Services
Dept 32‐2500188028
P.O. Box 9001043
Louisville, KY 40290‐1043


Home Depot Credit Services
Dept 32‐2505853931
P.O. Box 6031
The Lakes, NV 88901‐6031


Home Depot Credit Services
Dept 32‐2541409458
P.O. Box 9001043
Louisville, KY 40290‐1043


Home Depot Credit Services
P.O. Box 675, Station D
Scarborough, On M1R 5T4
Canada


Home Depot Credit Services
P.O. Box 78047
Phoenix, AZ 85062‐8047


Home Depot Credit Svcs
Dept 32‐2138087980
P.O. Box 9001030
Louisville, KY 40290‐1030


Home Everything
1269 Coney Island Ave
Brooklyn, NY 11230


Home Of Christ Church In Cupertino
Silicon Valley Monterey Bay 055
10340 Bubb Rd
Cupertino, CA 95014


Home Of Hope Inc
Cherokee Area Council 469 469
P.O. Box 903
Vinita, OK 74301


Home Port Alliance For The
Uss New Jersey Inc
62 Battleship Pl
Camden, NJ 08103


Home Reserve
3015 Cannongate Dr
Ft Wayne, IN 46808


Home School 94
Mecklenburg County Council 415
1500 Suther Rd
University Hill Baptist Church
Charlotte, NC 28213


Home School Scouting Assoc
Baltimore Area Council 220
8237 Green Ice Dr
Pasadena, MD 21122
Home Schoolers In Scouting Unit 447 Inc
Mecklenburg County Council 415
7700 Wallace Rd
Charlotte, NC 28212


Home2 Suites By Hilton
4240 Scott Futrell
Charlotte, NC 28214


Homeboy Industries
Greater Los Angeles Area 033
130 Bruno St
Los Angeles, CA 90012


Homegate Realty
Silicon Valley Monterey Bay 055
2236 Bentley Ridge Dr
San Jose, CA 95138


Homeglo Inc
45 N Main
Fillmore, UT 84631


Homeland Security Investigation
Greater New York Councils, Bsa 640
601 W 26th St, Rm 700
New York, NY 10001


Homeland Security Investigations
South Florida Council 084
11226 NW 20th St
Miami, FL 33172


Homeland Security Us Customs Border Prot
Melvin Figueroa Post 818
1 La Puntilla St
San Juan, PR 00901


Homenetmen Burbank Sipan Chapter
Verdugo Hills Council 058
75 E Santa Anita Ave
Burbank, CA 91502


Homenetmen Crescenta Vly Shant Ch
Verdugo Hills Council 058
2951 Honolulu Ave
Lacrescenta, Ca 91214


Homenetmen Fresno Sassoon Chapter
Sequoia Council 027
2348 Ventura St
Fresno, CA 93721


Homenetmen Glendale Ararat Chapter
Verdugo Hills Council 058
3347 N San Fernando Rd
Los Angeles, CA 90065


Homenetmen Inland Empire Araz Chapter
Verdugo Hills Council 058
757 E Arrow Hwy, Ste K
Glendora, CA 91740


Homenetmen Los Angeles
Verdugo Hills Council 058
1203 N Vermont Ave
Los Angeles, CA 90029


Homenetmen Los Angeles Chapter
Verdugo Hills Council 058
1203 N Vermont Ave
Los Angeles, CA 90029


Homenetmen Los Angeles Chapter
Verdugo Hills Council 058
1559 N Kenmore Ave
Los Angeles, CA 90027


Homenetmen Of Detroit
Great Lakes Fsc 272
19310 Ford Rd
Dearborn, MI 48128
Homenetmen Of Providence
Narragansett 546
402 Broadway
Providence, RI 02902


Homenetmen Pasadena Azadamard Chapter
Verdugo Hills Council 058
2324 Colorado Blvd
Los Angeles, CA 90041


Homenetmen San Fernando Valley Massis
Verdugo Hills Council 058
P.O. Box 17266
Encino, CA 91416


Homenetmen San Fernando Vly Massis Ch
Verdugo Hills Council 058
P.O. Box 17266
Encino, Ca 91416


Homenetmen San Francisco Chapter
Pacific Skyline Council 031
699 Serramonte Blvd
Daly City, CA 94015


Homenetmen Scouts
The Spirit of Adventure 227
47 Nichols Ave
Watertown, MA 02472


Homenetmen Sevan
San Diego Imperial Council 049
11319 Monticook Ct
San Diego, CA 92127


Homenetmen Walnut Creek Gars
Mt Diablo‐Silverado Council 023
P.O. Box 4519
Walnut Creek, CA 94596


Homer Brink PTA
Baden‐Powell Council 368
3618 Briar Ln
Endwell, NY 13760


Homer Churches Cooperating
c/o Homer United Methodist Church
Prairielands 117
301 S Main St
Homer, IL 61849


Homer City Utd Methodist Church
Laurel Highlands Council 527
2 S Main St
Homer City, PA 15748


Homer Drive Elementary School
Three Rivers Council 578
8950 Homer Dr
Beaumont, TX 77708


Homer Lions Club
Southern Shores Fsc 783
10220 Vanwert Rd
Homer, MI 49245


Homer Masonic Lodge 199
Prairielands 117
P.O. Box 113
135A S Main St
Homer, IL 61849


Homer Miles
Address Redacted


Homer School
Arbuckle Area Council 468
Rt 7
Ada, OK 74820


Homer Utd Methodist Church
Great Alaska Council 610
770 E End Rd
Homer, AK 99603


Homer Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 37
Homer, GA 30547


Homerville Ruritan
Great Trail 433
12427 Greenwich Rd
Homerville, OH 44235


Homerville Utd Methodist Church
South Georgia Council 098
202 S Church St
Homerville, GA 31634


Homeschool Concerned Citizens
Cherokee Area Council 556
91 Mountain Meadows Rd
Lookout Mountain, GA 30750


Homeschool Support Group
Utah National Parks 591
1558 N 110 W
Orem, UT 84057


Homeschoolers Of Kent And Covington
Chief Seattle Council 609
12027 SE 250th Pl
Kent, WA 98030


Homeschooling Families Of Pack 5575
Pacific Harbors Council, Bsa 612
101 E 40th St
Tacoma, WA 98404


Homeschooling Friends
Great Swest Council 412
8604 Silk Tassel Rd Nw
Albuquerque, NM 87120
Homestead Community Church
Northern Star Council 250
19535 Ewing St
Farmington, MN 55024


Homestead Foundation
c/o University of New Mexico
Msc063770
Albuquerque, NM 80131‐0001


Homestead Gas Co, Inc
437 N Krome Ave
Homestead, FL 33030


Homestead In The Willow Hoa
Denver Area Council 061
5896 E Geddes Ave
Centennial, CO 80112


Homestead In The Willows
Denver Area Council 061
5896 E Geddes Ave
Centennial, CO 80112


Homestead Mills
P.O. Box 1115
Cook, MN 55723


Homestead Park Methodist Church
Laurel Highlands Council 527
4231 Shady Ave
Munhall, PA 15120


Homestead Police Dept Explorers
South Florida Council 084
45 NW 1st Ave
Homestead, FL 33030


Homestead Senior High School
South Florida Council 084
2351 S E 12 Ave
Homestead, FL 33034


Homestead Welfare Assoc
Hawkeye Area Council 172
4215 V St
Homestead, IA 52236


Homewood Flossmoor Lions Club
Pathway To Adventure 456
17648 Wern Ave
Homewood, IL 60430


Homewood Suites By Hilton
1040 Hospitality Ln
Fredericksburg, VA 22401


Hominy Baptist Church
Daniel Boone Council 414
135 Candler School Rd
Candler, NC 28715


Hominy Drug And Gift
Cimarron Council 474
104 W Main St
Hominy, OK 74035


Homosassa Scout Hut Inc
Greater Tampa Bay Area 089
4159 S Olbek Pt
Homosassa, FL 34446


Hompa Hongwanji Buddhist Temple
Greater Los Angeles Area 033
815 E 1st St
Los Angeles, CA 90012


Homtec Residential Inspections LLC
Erie Shores Council 460
3435 N Holland Sylvania Rd
Toledo, OH 43615
Honakers Well Drilling
H C 73 Box 15C
Alderson, WV 24910


Honali Outfitters And Guide Service
Lasalle Council 165
13777 County Rd 8
Middlebury, IN 46540


Honea Path Scouting Alumni Assoc
Blue Ridge Council 551
P.O. Box 691
Honea Path, SC 29654


Honeoye Falls‐Mendon Rotary Club
Seneca Waterways 397
P.O. Box 415
Honeoye Falls, NY 14472


Honesdale Police Dept
Northeastern Pennsylvania Council 501
962 Main St
Honesdale, PA 18431


Honey Brook Lions Club
Chester County Council 539
17 Mount Pleasant Rd
Honey Brook, PA 19344


Honey Elementary PTA
South Plains Council 694
3615 86th St
Lubbock, TX 79423


Honey Island Elementary School PTA
Southeast Louisiana Council 214
500 S Military Rd
Rd
Slidell, LA 70461


Honey Stinger
P.O. Box 773072
Steamboat Springs, CO 80477


Honeybake Farms
P.O. Box 6124
Kansas City, KS 66106


Honeybaked Ham And Cafe Of Beckley
P.O. Box 546
Skelton, WV 25919


Honeyford Memorial Post 110 AL
Rip Van Winkle Council 405
87 Greene St
Catskill, Ny 12414


Hong Kong International School
Far E Council 803
1 Red Hill Rd
Tai Tam,
Hong Kong


Hong Kong International School
Far E Council 803
S Bay Close
Repulse Bay,
Hong Kong


Honolulu Elks Lodge No 616 Bpoe
Aloha Council, Bsa 104
2933 Kalakaua Ave
Honolulu, HI 96815


Honolulu Fire Dept
Aloha Council, Bsa 104
636 S St
Honolulu, HI 96813


Honolulu Navy League
Aloha Council, Bsa 104
P.O. Box 31032
Honolulu, HI 96820
Honolulu Police Dept
Aloha Council, Bsa 104
801 S Beretania St
Waianae District 8
Honolulu, HI 96813


Honolulu Post 1‐American Legion
Aloha Council, Bsa 104
612 Mccully St
Honolulu, HI 96826


Honor Guard Vfw Post 2280
Mid‐America Council 326
2108 Franklin St
Bellevue, NE 68005


Honor Lions Club
President Gerald R Ford 781
11510 Main St
Honor, MI 49640


Honorcraft Inc
292A Page St
P.O. Box 385
Stoughton, MA 02072


Honore Haydel Jr
Address Redacted


Honpa Hongwanji Hawaii Betsuin
Aloha Council, Bsa 104
1727 Pali Hwy
Honolulu, HI 96813


Honpa Hongwanji Hilo Betsuin
Aloha Council, Bsa 104
398 Kilauea Ave
Hilo, HI 96720


Hood County Sheriff S Office
Longhorn Council 662
400 Deputy Larry Miller Dr
Granbury, TX 76048


Hood River Lions Club
Cascade Pacific Council 492
4127 Summitview Dr
Hood River, OR 97031


Hood Scout Reservation Bsa
Andrew Jackson Council 303
8065 Old Port Gibson Rd
Hazlehurst, MS 39083


Hood Utd Methodist Church
Ozark Trails Council 306
139 N Walnut Ave
Republic, MO 65738


Hoodland Fire District 74
Cascade Pacific Council 492
69634 E Hwy 26
Welches, OR 97067


Hook Dept Store Inc
121 Washington Ave
Deridder, LA 70634


Hooker Friends Of Scouting
Golden Spread Council 562
P.O. Box 941
Hooker, OK 73945


Hooks Book Events
Attn Loretta Yenson
4802 Crescent St
Bethesda, MD 20816


Hooksett Kiwanis Foundation
Daniel Webster Council, Bsa 330
3 Morningside Dr
Hooksett, NH 03106
Hooksett Lions Club
Daniel Webster Council, Bsa 330
1465 Hooksett Rd, Unit 387
Hooksett, NH 03106


Hoopers Island Utd Methodist Church
Del Mar Va 081
P.O. Box 10
Fishing Creek, MD 21634


Hoopes Hardware
108 S Main
Muskogee, OK 74401


Hoopeston Police Dept
Prairielands 117
301 W Main St
Hoopeston, IL 60942


Hoosac School
Twin Rivers Council 364
P.O. Box 9
Hoosick Falls, NY 12090


Hoose School PTO
W D Boyce 138
600 Grandview Dr
Normal, IL 61761


Hoosier Road Elementary School PTO
Crossroads of America 160
11300 E 121st St
Fishers, IN 46037


Hoosier Times Inc
P.O. Box 909
Bloomington, IN 47402‐0909


Hoosier Trails
5625 E State Rd 46
Bloomington, IN 47401
Hoosier Trls Cncl 145
5625 E State Rd 46
Bloomington, IN 47401


Hoosier Utd Methodist Church
Atlanta Area Council 092
2545 Benjamin E Mays Dr Sw
Atlanta, GA 30311


Hootsuite Inc
8 E 8th Ave
Vancouver, Bc V5T 1R6
Canada


Hoover Community Council
Northeast Iowa Council 178
3259 Saint Anne Dr
Dubuque, IA 52001


Hoover Fire Dept
Greater Alabama Council 001
2020 Valleydale Rd
Hoover, AL 35244


Hoover Parent Teacher Organization
Cherokee Area Council 469 469
512 S Madison Blvd
Bartlesville, OK 74006


Hoover Parents Organization
Crater Lake Council 491
2323 Siskiyou Blvd
Medford, OR 97504


Hoover Police Dept
Greater Alabama Council 001
100 Municipal Dr
Birmingham, AL 35216


Hoovers, Inc
75 Remittance Dr, Ste 1617
Chicago, IL 60675‐1617


Hooverson Heights Vfd
Ohio River Valley Council 619
P.O. Box 305
116 May Rd
Follansbee, WV 26037


Hopatcong Ambulance Squad
Patriots Path Council 358
P.O. Box 334
Hopatcong, NJ 07843


Hopatcong Police Dept
Patriots Path Council 358
111 River Styx Rd
Hopatcong, NJ 07843


Hope 21St Donald
Greater Alabama Council 001
1231 2nd Ave S
Birmingham, AL 35233


Hope 21St Glen Oaks
Greater Alabama Council 001
1231 2nd Ave S
Birmingham, AL 35233


Hope 21St Robinson
Greater Alabama Council 001
1231 2nd Ave S
Birmingham, AL 35233


Hope Academy
Baltimore Area Council 220
1808 Edison Hwy
Baltimore, MD 21213


Hope Academy
Great Lakes Fsc 272
12121 Broadstreet Ave
Detroit, MI 48204


Hope Academy Northwest
Lake Erie Council 440
1441 W 116th St
Cleveland, OH 44102


Hope Arise Utd Methodist Church
Alamo Area Council 583
20770 Hwy 281 N 108134
San Antonio, TX 78258


Hope Baptist Church Of Laurel
Baltimore Area Council 220
8801 Stephens Rd
Laurel, MD 20723


Hope Center Covenant Church
Mt Diablo‐Silverado Council 023
2275 Morello Ave
Pleasant Hill, CA 94523


Hope Commty
United Methodist Church OF Pasadena
Sam Houston Area Council 576
2838 Lily St
Pasadena, Tx 77503


Hope Community Academy
Northern Star Council 250
720 Payne Ave
Saint Paul, MN 55130


Hope Community Charter School
Garden State Council 690
836 S 4th St
Camden, NJ 08103


Hope Community Church
Pathway To Adventure 456
5900 W Iowa St
Chicago, IL 60651
Hope Community Church ‐ Lincoln
Cornhusker Council 324
4700 S Folsom St
Lincoln, NE 68523


Hope Covenant Church
Grand Canyon Council 010
1770 S Dobson Rd
Chandler, AZ 85286


Hope Evangelical Lutheran Church
Anthony Wayne Area 157
2001 S 500 E
Columbia City, IN 46725


Hope Evangelical Lutheran Church
Greater Tampa Bay Area 089
9425 N Citrus Springs Blvd
Citrus Springs, FL 34434


Hope Fellowship Christian Reform Church
Denver Area Council 061
2400 S Ash St
Denver, CO 80222


Hope Fellowship Evangelical
Presbyterian Ch
Cherokee Area Council 556
2000 Twin Cedars
Chickamauga, Ga 30707


Hope Fellowship Of Hillsboro
Cascade Pacific Council 492
5215 SE Golden Rd
Hillsboro, OR 97123


Hope For Tomorrow
Crossroads of America 160
6845 Madison Ave
Indianapolis, IN 46227
Hope Haven Area Devt Center Corp.
Mississippi Valley Council 141 141
838 N 7Th
Burlington, IA 52601


Hope Hose Co No 1 Inc
Westchester Putnam 388
50 Main St
P.O. Box 71
Tarrytown, NY 10591


Hope House Inc
Heart of America Council 307
P.O. Box 520409
Independence, MO 64052


Hope House Of Lees Summit Inc
Heart of America Council 307
P.O. Box 520409
Independence, MO 64052


Hope In Christ Fellowship
Middle Tennessee Council 560
315 E Peter Ave
Monterey, TN 38574


Hope Institute For Children And Families
Abraham Lincoln Council 144
15 E Hazel Dell Ln
Springfield, IL 62712


Hope Jackson Fire Co
Narragansett 546
117 Main St
P.O. Box 201
Hope, RI 02831


Hope Lutheran Church
Alamo Area Council 583
5714 Callaghan Rd
San Antonio, TX 78228
Hope Lutheran Church
California Inland Empire Council 045
45900 Portola Ave
Palm Desert, CA 92260


Hope Lutheran Church
Circle Ten Council 571
917 Straus Rd
Cedar Hill, TX 75104


Hope Lutheran Church
Greater Tampa Bay Area 089
1801 62nd Ave N
Saint Petersburg, FL 33702


Hope Lutheran Church
Inland Nwest Council 611
17909 E Broadway Ave
Spokane Valley, WA 99016


Hope Lutheran Church
Lake Erie Council 440
4792 Oster Rd
Sheffield Village, OH 44054


Hope Lutheran Church
Laurel Highlands Council 527
35 Ridge Ave
Homer City, PA 15748


Hope Lutheran Church
Minsi Trails Council 502
P.O. Box 765
Cherryville, PA 18035


Hope Lutheran Church
Montana Council 315
2152 W Graf St
Bozeman, MT 59718


Hope Lutheran Church
North Florida Council 087
10495 SE Sunset Harbor Rd
Summerfield, FL 34491


Hope Lutheran Church
Northeast Illinois 129
1660 Checker Rd
Long Grove, IL 60047


Hope Lutheran Church
Silicon Valley Monterey Bay 055
2383 Pacific Dr
Santa Clara, CA 95051


Hope Lutheran Church
Sioux Council 733
1700 S Cliff Ave
Sioux Falls, SD 57105


Hope Lutheran Church
Suffolk County Council Inc 404
46 Dare Rd
Selden, NY 11784


Hope Lutheran Church
Voyageurs Area 286
401 Hwy 73
Floodwood, MN 55736


Hope Lutheran Church And School
Heart of America Council 307
6308 Quivira Rd
Shawnee Mission, KS 66216


Hope Lutheran Church Of Cranberry Twp
Moraine Trails Council 500
8070 Rowan Rd
Rr 4
Cranberry Twp, PA 16066


Hope Mills Umc Men
Occoneechee 421
4955 Legion Rd
Hope Mills, NC 28348


Hope Mills Utd Methodist Church
Occoneechee 421
4955 Legion Rd
Hope Mills, NC 28348


Hope Moravian Church
Hoosier Trails Council 145 145
202 Main St
Hope, IN 47246


Hope Of Glory Fellowship
Rio Grande Council 775
4330 Pecan Blvd
Mcallen, TX 78501


Hope Presbyterian Church
Capitol Area Council 564
11512 Olson Dr
Austin, TX 78750


Hope Presbyterian Church
Chickasaw Council 558
8500 Walnut Grove Rd
Cordova, TN 38018


Hope Presbyterian Church
Crossroads of America 160
1331 Section St
Plainfield, IN 46168


Hope Presbyterian Church
Greater Tampa Bay Area 089
2110 Cypress Gardens Blvd
Winter Haven, FL 33884


Hope Presbyterian Church
Old Hickory Council 427
2050 N Peace Haven Rd
Winston Salem, NC 27106
Hope Presbyterian Church
Three Fires Council 127
1771 S Wiesbrook Rd
Wheaton, IL 60189


Hope Reformed
Southern Shores Fsc 783
1365 Monroe Blvd
South Haven, MI 49090


Hope Ridge Church
Lake Erie Council 440
9870 Johnnycake Ridge Rd
Mentor, OH 44060


Hope Street Academy
Jayhawk Area Council 197
1900 SW Hope St
Topeka, KS 66604


Hope Utd Church Of Christ
Minsi Trails Council 502
2nd   Cherry Sts
Wind Gap, PA 18091


Hope Utd Methodist Church
c/o Pack 58 ‐ John Stabler
Simon Kenton Council 441
219 E 1st St
Wellston, OH 45692


Hope Utd Methodist Church
Chippewa Valley Council 637
2233 Golf Rd
Eau Claire, WI 54701


Hope Utd Methodist Church
Dan Beard Council, Bsa 438
3642 Shaker Rd
Franklin, OH 45005
Hope Utd Methodist Church
Daniel Boone Council 414
P.O. Box 477
East Flat Rock, NC 28726


Hope Utd Methodist Church
Erie Shores Council 460
10610 Waterville St
Whitehouse, OH 43571


Hope Utd Methodist Church
Heart of America Council 307
525 Hunter Ln
Lone Jack, MO 64070


Hope Utd Methodist Church
Las Vegas Area Council 328
1325 Ramar Rd
Bullhead City, AZ 86442


Hope Utd Methodist Church
Mid Iowa Council 177
2203 S 3rd Ave
Marshalltown, IA 50158


Hope Utd Methodist Church
Montana Council 315
1911 US Hwy 87 E
Billings, MT 59101


Hope Utd Methodist Church
San Diego Imperial Council 049
16550 Bernardo Heights Pkwy
San Diego, CA 92128


Hope Utd Methodist Church
Simon Kenton Council 441
219 E 1st St
Wellston, OH 45692


Hope Utd Methodist Church
Tecumseh 439
5980 Wilmington Pike
Dayton, OH 45459


Hope Utd Presbyterian Church
New Birth of Freedom 544
931 Red Hill Rd
Dauphin, PA 17018


Hope Village Foundation
Sam Houston Area Council 576
15403 Hope Village Rd
Friendswood, TX 77546


Hopeful Lutheran Church
Dan Beard Council, Bsa 438
6430 Hopeful Church Rd
Florence, KY 41042


Hopeful Lutheran Church
Dan Beard Council, Bsa 438
6431 Hopeful Church Rd
Florence, KY 41042


Hopelawn Engine Co 1
Patriots Path Council 358
127 Loretta St
Hopelawn, NJ 08861


Hopeville School
Connecticut Rivers Council, Bsa 066
2 Cypress St
Waterbury, CT 06706


Hopewell Baptist Church
Atlanta Area Council 092
182 Hunter St
Norcross, GA 30071


Hopewell Baptist Church
Palmetto Council 549
511 Old Chester Rd
Blacksburg, SC 29702


Hopewell Bureau Of Police
Heart of Virginia Council 602
300 N Main St
Hopewell, VA 23860


Hopewell Elementary School PTA
Illowa Council 133
3900 Hopewell Ave
Bettendorf, IA 52722


Hopewell N E Missionary Baptist Ch
Northeast Georgia Council 101
2685 Camp Mitchell Rd
Grayson, Ga 30017


Hopewell Presbyterian Church
Lincoln Heritage Council 205
13721 New Hopewell Rd
Louisville, KY 40299


Hopewell Presbyterian Church
Mecklenburg County Council 415
10500 Beatties Ford Rd
Huntersville, NC 28078


Hopewell Presbyterian Church
Washington Crossing Council 777
80 W Broad St
Hopewell, NJ 08525


Hopewell Reformed Church
Hudson Valley Council 374
143 Beekman Rd
Hopewell Junction, NY 12533


Hopewell Sherrifs Office
Heart of Virginia Council 602
100 E Broadway
Hopewell, VA 23860
Hopewell Twp Recreation Committee
Laurel Highlands Council 527
1700 Clark Blvd
Aliquippa, PA 15001


Hopewell Utd Methodist Church
Chester County Council 539
1811 Hopewell Rd
Port Deposit, MD 21904


Hopewell Utd Methodist Church
Chester County Council 539
852 Hopewell Rd
Downingtown, PA 19335


Hopewell Utd Methodist Church
Flint River Council 095
P.O. Box 70
351 Jenkins Rd
Tyrone, GA 30290


Hopewell Utd Methodist Church
Heart of Virginia Council 602
6200 Courthouse Rd
Chesterfield, VA 23832


Hopewell Utd Methodist Church
Palmetto Council 549
3734 Heyward Hough Rd
Lancaster, SC 29720


Hopewell Valley Lions Club
Washington Crossing Council 777
241 Washington Crossing Pe Rd
Titusville, NJ 08560


Hopewell Valley Ymca
Washington Crossing Council 777
P.O. Box 999
62 S Main St
Pennington, NJ 08534
Hopkins Elementary PTO
Indian Waters Council 553
6120 Cabin Creek Rd
Hopkins, SC 29061


Hopkins Elementary Stem Program
Northeast Georgia Council 101
1315 Dickens Rd Nw
Lilburn, GA 30047


Hopkins Law Office, And Dumas Law Group
Attn P. Hopkins, G. Dumas, A. Vaughn
re Plaintiff
3835 NE Hancock St, Ste Gl‐B
Portland, OR 97212


Hopkins Law Office, And Dumas Law Group
Attn P. Hopkins, G. Dumas, A. Vaughn
re Plaintiff
1415 28th St, Ste 160
West Des Moines, IA 50266


Hopkins Law Office, Plc
Attn Patrick Hopkins
1415 28th St, Ste 160
West Des Moines, IA 50266


Hopkins Lions Club
President Gerald R Ford 781
127 N Water St
Hopkins, MI 49328


Hopkins Utd Methodist Church
President Gerald R Ford 781
322 N Maple St
Hopkins, MI 49328


Hopkinton Fire Dept
Daniel Webster Council, Bsa 330
9 Pine St
Contoocook, NH 03229
Hopkinton Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 185
Contoocook, NH 03229


Hopkinton Lions Club
Northeast Iowa Council 178
Gen Delivery
Hopkinton, IA 52237


Hopkinton Scout Leaders Assoc
Mayflower Council 251
P.O. Box 375
Hopkinton, MA 01748


Hopp Industries
Pacific Harbors Council, Bsa 612
4702 N Cheyenne St
Tacoma, WA 98407


Hoquiam Police Dept
Pacific Harbors Council, Bsa 612
215 10th St
Hoquiam, WA 98550


Horace Franks
Address Redacted


Horace Lutheran Church
Northern Lights Council 429
650 1st St E
Horace, ND 58047


Horace Mann School PTA
Northern Star Council 250
2001 Eleanor Ave
Saint Paul, MN 55116


Horace Payne
Address Redacted
Horace Payne Jr
Address Redacted


Horatio Alger Assoc
Of Distinguished Americans Inc
99 Canal Center Plaza, Ste 320
Alexandria, VA 22314


Horicon Masonic Lodge 244
Blackhawk Area 660
500 Lincoln Hwy
Rochelle, IL 61068


Horizion Education Center After School
Lake Erie Council 440
11005 Parkhurst Dr
Cleveland, OH 44111


Horizon Christian Academy
Anthony Wayne Area 157
3301 E Coliseum Blvd
Fort Wayne, IN 46805


Horizon Coach Lines
1251 W Craighead Rd
Charlotte, NC 28206


Horizon Community Church
Grand Canyon Council 010
14120 N 79th Ave
Peoria, AZ 85381


Horizon Community Learning Center
Grand Canyon Council 010
16233 S 48th St
Phoenix, AZ 85048


Horizon Education Center ‐ Gala
Lake Erie Council 440
13442 Lorain Ave
Cleveland, OH 44111
Horizon Education Centers After School
Lake Erie Council 440
11005 Parkhurst Dr
Cleveland, OH 44111


Horizon Elementary PTO
Lasalle Council 165
10060 Brummitt Rd
Granger, IN 46530


Horizon Organizaton Of Parents And Staff
Water and Woods Council 782
5776 Holt Rd
Horizon Elementary School
Holt, MI 48842


Horizon Realty Of Northeast Florida
8823 San Jose Blvd, Ste 206
Jacksonville, FL 32217


Horizon Realty Of Northeast Florida
dba Hover Girl Properties
P.O. Box 5793
Jacksonville, FL 32247‐5793


Horizon Roofing Inc
Central Minnesota 296
2010 County Rd 137
Waite Park, MN 56387


Horizon Science Academy Cincinnati
Dan Beard Council, Bsa 438
1055 Laidlaw Ave
Cincinnati, OH 45237


Horizon Unitarian Universalist
Circle Ten Council 571
1641 W Hebron Pkwy
Carrollton, TX 75010
Horizons Incorporated
18531 S Miles Rd
P.O. Box 73702‐N
Cleveland, OH 44193


Hormel Foods Sales, LLC
1 Hormel Pl
Austin, MN 55912


Hormel Foods Sales, LLC
Justin, LLC
P.O. Box 100352
Pasadena, CA 91189‐0352


Hornady
P.O. Box 1848
Grand Island, NE 68802


Horne Elementary PTO
Sam Houston Area Council 576
14950 W Little York Rd
Houston, TX 77084


Horne Memorial Utd Methodist Church
Tuscarora Council 424
121 E 2nd St
Clayton, NC 27520


Hornsby Dunlap Elementary Lead
Capitol Area Council 564
13901 Fm 969
Austin, TX 78724


Hornsbys Refrigeration, LLC
646 Pluto Rd
Shady Springs, WV 25918


Horry County Fire Rescue Dept
Pee Dee Area Council 552
2560 Main St
Conway, SC 29526
Horseshoe Billiards
2415 W Superior St
Duluth, MN 55806


Horseshoe Casino   Hotel Inc
711 Horseshoe Blvd
Bossier City, LA 71111


Horseshoe Dr Utd Methodist Church
Louisiana Purchase Council 213
1600 Horseshoe Dr
Alexandria, LA 71301


Horseshoe Grange 965
Mount Baker Council, Bsa 606
16428 Broadway
Snohomish, WA 98290


Horsethief Canyon Ranch Homeowners Assoc
California Inland Empire Council 045
13289 Mountain Rd
Corona, CA 92883


Horsham Township Police Dept
Cradle of Liberty Council 525
1025 Horsham Rd
Horsham, PA 19044


Hortencia Dubois
Address Redacted


Horton Congregational Church
Southern Shores Fsc 783
P.O. Box 50
Horton, MI 49246


Horton Dowd Bartschi   Levesque PC
90 Gillett St
Hartford, CT 06105
Horton Remodeling
Coastal Georgia Council 099
719 W Victory Dr
Savannah, GA 31405


Hosanna Lutheran Church
Denver Area Council 061
10304 W Belleview Ave
Littleton, CO 80127


Hosanna Lutheran Church
Gamehaven 299
2815 57th St Nw
Rochester, MN 55901


Hosanna Lutheran Church
Istrouma Area Council 211
2480 Hwy 190
Mandeville, LA 70448


Hosanna Lutheran Church
Northern Star Council 250
9600 163rd St W
Lakeville, MN 55044


Hosanna Lutheran Church
Three Fires Council 127
36W925 Red Gate Rd
St Charles, IL 60175


Hospice   Community Care
2275 India Hook Rd
Rock Hill, SC 29731


Hospice   Community Care
P.O. Box 993
Rock Hill, SC 29731


Hospice   Pallative Center Of
Alamance‐Caswell
914 Chapel Hill Rd
Burlington, NC 27215
Hospice And Palliative Of Charlotte
1420 E 7th Ave
Charlotte, NC 28204


Hospice Of Lubbock
c/o Covenant Foundation
3623 22nd Pl
Lubbock, TX 79410


Hospitalgiftshop.Com
11722 Sorrento Valley Rd
San Diego, CA 92121


Host Milan SRL
Piazza Della Repubblica 20
San Marco 2159
Milano, Mi 30124
Italy


Hostelling International Usa
Washington Dc Hostel
1009 11th St Nw
Washington, DC 20001


Hostmann‐Steinberg Ink Co
4287 Paysphere Cir
Lock Box Lsnw2 0004287
Chicago, IL 60674


Hot Rod Golf Carts Inc
P.O. Box 372992
Key Largo, FL 33037


Hot Shots Usa, Inc
1540 Louis Bork Dr
Batavia, IL 60510


Hot Springs Lions Club
Daniel Boone Council 414
P.O. Box 609
Hot Springs, NC 28743


Hotel 11237 Lone Eagle Opco LP
dba Embassy, Ste S St Louis Airport
11237 Lone Eagle Dr
Bridgeton, MO 63044


Hotel Alyeska LLC
P.O. Box 249
Girdwood, AK 99587


Hotel Alyeska, LLC
dba Alyeska Resort Or the Hotel Alyeska
P.O. Box 249
Girdwood, AK 99587


Hotel Curitiba Capital S/A
Avenida Sete De Setemro 4211
Curitiba, Pr 80250210
Brazil


Hotlink Inc
Dept 0368
P.O. Box 120368
Dallas, TX 75312‐0368


Hotsos Enterprises Ltd
1701 W Nwest Hwy, Ste 240
Grapevine, TX 76051


Houa Xiong
Address Redacted


Hough Pontus Vfw Post 3071
President Gerald R Ford 781
P.O. Box 501
Lakeview, MI 48850


Houghs Neck Congregational Church
The Spirit of Adventure 227
310 Manet Ave
Quincy, MA 02169


Houghton College
Attn Student Finance Servs Office
One Willard Ave
Houghton, NY 14744


Houghton Lake Area Historical Society
President Gerald R Ford 781
P.O. Box 14
Roscommon, MI 48653


Houghton Lake Utd Methodist Church
President Gerald R Ford 781
7059 W Houghton Lake Dr
Houghton Lake, MI 48629


Houghton Mifflin Harcourt Publishing
14046 Collections Center Dr
Chicago, IL 60693


Houghton Mifflin Harcourt Publishing
222 Berkeley St
Boston, MA 02116‐3764


Hour Glass Communications Inc
San Francisco Bay Area Council 028
831 Mitten Rd, Ste 209
Burlingame, CA 94010


Housatonic
111 New Haven Ave
Derby, CT 06418


Housatonic Cncl 69
111 New Haven Ave
Derby, CT 06418


House   House PC
Alamo Area Council 583
8526 N New Braunfels Ave
San Antonio, TX 78217


House Of Hope Lutheran Church
Northern Star Council 250
4800 Boone Ave N
New Hope, MN 55428


House Of Hope Presbyterian Church
8440 248th St
Bellerose, NY 11426


House Of Prayer Lutheran Church
Alamo Area Council 583
10226 Ironside Dr
San Antonio, TX 78230


House Of Prayer Lutheran Church
Northern Star Council 250
6039 40th St N
Oakdale, MN 55128


House Of Prayer Lutheran Church
Sam Houston Area Council 576
14045 Space Center Blvd
Houston, TX 77062


House Of Prayer Lutheran Church
Three Harbors Council 636
3900 W Ryan Rd
Franklin, WI 53132


House On F St, LLC
800 F St Nw
Washington, DC 20004


House Springs Elementary PTO
Greater St Louis Area Council 312
4380 Gravois Rd
House Springs, MO 63051


Housing Authority City Of Laurens
Blue Ridge Council 551
218 Spring St
Laurens, SC 29360


Housing Authority Of Asheville
Daniel Boone Council 414
16 E Stewart St
Asheville, NC 28806


Housing Devt
Jersey Shore Council 341
818K N Maryland Ave
Atlantic City, NJ 08401


Houston Ace Program
Capitol Area Council 564
5409 Ponciana Dr
Austin, TX 78744


Houston Airport Hospitality LP
dba Holiday Inn‐Houston Intercontinental
15222 Jfk Blvd
Houston, TX 77032


Houston American Legion Post 423
Gateway Area 624
121 S Grant St
Houston, MN 55943


Houston Astros Baseball Club
Conference Center At Minute Maid Pk
501 Crawford St, Ste 400
Houston, TX 77002


Houston Compensation And Benefits
dba Texas Total Rewards Conference
P.O. Box 59
Bellaire, TX 77402


Houston County Fire Emergency Management
Central Georgia Council 096
200 Carl Vinson Pkwy
Warner Robins, GA 31088


Houston Cy‐Fair Lions Club
Sam Houston Area Council 576
P.O. Box 40264
Houston, TX 77240


Houston D Phillips
Address Redacted


Houston Endeavor Class Of Dillon Chapel
Buckskin 617
Dillon U M Chapel
Rt 1 Box 478
Huntington, WV 25701


Houston Forensic Science Center
Sam Houston Area Council 576
13011 Fannin, Ste 170
Houston, TX 77002


Houston Gulf Coast Chapter Sci
Sam Houston Area Council 576
16818 Bonnie Sean Dr
Spring, TX 77379


Houston Internatioal 7Th Day Adventist
Sam Houston Area Council 576
14520 Briar Forest Dr
Houston, TX 77077


Houston Liens
C/O Linebarger Goggan Blair      Sampson
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064


Houston Marriott North At Greenspoint
Attn Account Receivable
255 N Sam Houston Pkwy E
Houston, TX 77060
Houston Police Dept
High School For Law   Justice
Sam Houston Area Council 576
1200 Travis St 2100
Houston, Tx 77002


Houston Police Dept ‐ Central
Sam Houston Area Council 576
61 Riesner St
Houston, TX 77002


Houston Police Dept ‐ Eastside
Sam Houston Area Council 576
7525 Sherman St
Houston, TX 77012


Houston Police Dept ‐ Midwest
Sam Houston Area Council 576
7277 Regency Square Blvd
Houston, TX 77036


Houston Police Dept ‐ Northeast
Sam Houston Area Council 576
8301 Ley Rd
Houston, TX 77028


Houston Police Dept ‐ South Central
Sam Houston Area Council 576
2202 St Emanuel St
Houston, TX 77003


Houston Police Dept ‐ South Gessner
Sam Houston Area Council 576
8605 Wplace Dr
Houston, TX 77071


Houston Police Dept ‐ Southeast
Sam Houston Area Council 576
8300 Mykawa Rd
Houston, TX 77048
Houston Police Dept ‐ Southwest
Sam Houston Area Council 576
13097 Nitida
Houston, TX 77045


Houston Police Dept ‐ Training Academy
Sam Houston Area Council 576
17000 Aldine Wfield Rd
Houston, TX 77073


Houston Police Dept ‐ West Side
Sam Houston Area Council 576
3203 S Dairy Ashford Rd
Houston, TX 77082


Houston Police Dept Hobby Airport
Sam Houston Area Council 576
1200 Travis St
Houston, TX 77002


Houston Police Dpartment
Sam Houston Area Council 576
1200 Travis St
Houston, TX 77002


Houston Scout Shop ‐ Opc
2225 N Loop W, Ste A
Houston, TX 77008


Houstonian Hotel Club      Spa
P.O. Box 4346
Dept 526
Houston, TX 77210‐4346


Houtzdale Lions Club
c/o William Ellis
Bucktail Council 509
203 Dorthea St
Houtzdale, PA 16651


Hovey Cowles
Address Redacted
How Design Conference
4700 E Galbraith Rd
Cincinnati, OH 45236


How Design Live
Registration Dept
10151 Carver Rd, Ste 200
Blue Ash, OH 45242


Howard   Co, LLP
8350 Meadow Rd, Ste 286
Dallas, TX 75231


Howard Afterschool Program
Overland Trails 322
502 W 9th St
Grand Island, NE 68801


Howard Area Lions Club
Juniata Valley Council 497
P.O. Box 589
Howard, PA 16841


Howard Bulloch
Address Redacted


Howard C Johnson PTO
Jersey Shore Council 341
1021 Larsen Rd
Jackson, NJ 08527


Howard Carter
Address Redacted


Howard County Hospital
Winnebago Council, Bsa 173
235 8th Ave W
Cresco, IA 52136
Howard County Police Dept
Baltimore Area Council 220
3410 Court House Dr
Ellicott City, MD 21043


Howard County Sheriff
Sagamore Council 162
1800 W Markland Ave
Kokomo, IN 46901


Howard Davis Jr
Address Redacted


Howard Herlihy
Address Redacted


Howard Koch
Address Redacted


Howard Lock
Address Redacted


Howard Lodge 69 Afam
Katahdin Area Council 216
13 Commercial St
Winterport, ME 04496


Howard Mcgee
Address Redacted


Howard Memorial Presbyterian Church
East Carolina Council 426
303 E Saint James St
Tarboro, NC 27886


Howard Middle School Jlc
Central Georgia Council 096
6600 Forsyth Rd
Macon, GA 31210
Howard Pernell
Address Redacted


Howard Polbos
Address Redacted


Howard Propst
Address Redacted


Howard Silberman
Address Redacted


Howard Torrence
Address Redacted


Howard Williams
Address Redacted


Howards Grove Rod   Gun Club
Bay‐Lakes Council 635
P.O. Box 804
Howards Grove, WI 53083


Howbert School PTA
Pikes Peak Council 060
1023 N 31st St
Colorado Springs, CO 80904


Howd   Ludorf, LLC
65 Wethersfield Ave
Hartford, CT 06114‐1121


Howe Fire Dept
Anthony Wayne Area 157
175 W State Rd 120
Howe, IN 46746


Howe Memorial Utd Methodist Church
North Florida Council 087
252 S Summit St
Crescent City, FL 32112


Howell E Jackson Inn Of Court
West Tennessee Area Council 559
312 E Lafayette St
Jackson, TN 38301


Howell Elks B P O E 2515
Monmouth Council, Bsa 347
84 Ramtown Greenville Rd
Howell, NJ 07731


Howell Elks Club
Southern Shores Fsc 783
P.O. Box 258
Howell, MI 48844


Howell Masonic Lodge 38, F Am
Southern Shores Fsc 783
401 W Grand River Ave
Howell, MI 48843


Howell Rotary
Southern Shores Fsc 783
411 N Highlander Way
Howell, MI 48843


Howell Township Fire Co 1
Monmouth Council, Bsa 347
P.O. Box 125
Adelphia, NJ 07710


Howell Township Police Dept
Monmouth Council, Bsa 347
P.O. Box 580
Howell, NJ 07731


Howland Community Church
Great Trail 433
198 Niles Cortland Rd Se
Warren, OH 44484
Howland Utd Methodist Church
Great Trail 433
730 Howland Wilson Rd Ne
Warren, OH 44484


Howry Breen   Herman LLP
1900 Pearl St
Austin, TX 78705‐5408


Hoxie Recreation
Coronado Area Council 192
P.O. Box 184
Hoxie, KS 67740


Hoxie Rotary Club
c/o Ken Eland
Coronado Area Council 192
6185 E Rd 15 S
Hoxie, KS 67740


Hoxie Rotary Club
Coronado Area Council 192
P.O. Box 137
Hoxie, KS 67740


Hoyt Howlett
Address Redacted


Hoyt Smith Recreation Center
Atlanta Area Council 092
3444 N Fulton Ave
Hapeville, GA 30354


Hp Express Services
P.O. Box 22160
Oakland, CA 94623


Hp2 Inc
2880 E Nern Ave
Phoenix, AZ 85028
Hpc, Inc
3999 N 25th Ave
Schiller Park, IL 60176‐2093


Hpg Postage
P.O. Box 69
Hickory, NC 28603


Hpt Trs Ihg‐2 Inc
2 Newton Pl, 255 Washington St
Newton, MA 02458


Hpt Trs Ihg‐2 Inc
dba Crowne Plaza Charlotte Exec Park
5700 Wpark Dr
Charlotte, NC 28217


Hr Certification Institute
1800 Duke St
Alexandria, VA 22314


Hr Consultant LLC
777 Main St, Ste 600
Fort Worth, TX 76102


Hr Southwest
4100 Spring Valley Rd, Ste 300
Dallas, TX 75244


Hr Web Advisor
2801 Via Fortuna Blvd, Ste 600
Austin, TX 78746


Hrchitect Inc
Attn Finance     Accounting Mgr
6136 Frisco Square Blvd, Ste 250
Frisco, TX 75047


Hrdq
827 Lincoln Ave, Ste B‐10
West Chester, PA 19380


Hsbc Business Solutions
P.O. Box 17698
Baltimore, MD 21297‐1698


Hsbc Business Solutions
P.O. Box 5219
Carol Stream, IL 60197‐5219


Hsc LLC
316 Rural Acres Dr
Beckley, WV 25801


Hser Ner Moo Center
Great Salt Lake Council 590
2530 S 500 E
Salt Lake City, UT 84106


Hshs St. Joseph S Hospital
Chippewa Valley Council 637
2661 Hwy I
Chippewa Falls, WI 54729


Hsi Baltimore Middle School
Baltimore Area Council 220
40 S Gay St
Baltimore, MD 21202


Hsp Epi Acquisition, LLC
dba Entertainment
1401 Crooks Rd, Ste 150
Troy, MI 48084


Hsp Epi Acquisition, LLC Lockbox
6553 Solution Ctr
Chicago, IL 60677‐6005


Ht‐Exit 88 Hotel Trs LLC
625 N Rd, Rte 117
Groton, CT 06340
Htg Supply
20232 Us‐19, 6
Cranberry Township, PA 16066


Hth Aquametrics LLC
3124 Creekview Rd
Hiawassee, GA 30546


Hth Aquametrics LLC
340 Camp Cove Rd
Zirconia, NC 28790


Htm‐Lighting, LLC
dba Htm‐Mbs
6420 Benjamin Rd
Tampa, FL 33634


Htt Headwear, Ltd
41185 Raintree Ct
Murrieta, CA 92562


Huachuca Ward ‐ LDS Sierra Vista Stake
Catalina Council 011
1000 Taylor Dr
Sierra Vista, AZ 85635


Hubbard Heights Elementary ‐ Gifw
Longhorn Council 662
1333 W Spurgeon St
Fort Worth, TX 76115


Hubbard Masonic Lodge 220
Muskingum Valley Council, Bsa 467
Main St
Adamsville, OH 43802


Hubbardston‐Lions Club
Heart of New England Council 230
58 Bemis Rd
Pinecrest Lodge
Hubbardston, MA 01452


Hubbardston‐Ron Burton Training Village
Heart of New England Council 230
P.O. Box 2
Hubbardston, MA 01452


Hubenak Elementary PTA
Sam Houston Area Council 576
11344 Rancho Bella Pkwy
Richmond, TX 77406


Huber Heights Police Explorer Post
Miami Valley Council, Bsa 444
6121 Taylorsville Rd
Huber Heights, OH 45424


Hubert Co
25401 Network Pl
Chicago, IL 60673‐1254


Hubert Co
P.O. Box 631642
Cincinnati, OH 45263‐1642


Hubert Jackson Jr
Address Redacted


Hubert L Jones Post 87
Denver Area Council 061
1427 Elmira St
Aurora, CO 80010


Hubert Long
Address Redacted


Hubert Middle School
Coastal Georgia Council 099
768 Grant St
Savannah, GA 31401
Hubert Neubauer
Address Redacted


Huckwagons LLC
31717 3rd Ave Ne
Stanwood, WA 98292


Hudson American Legion Post 180
Southern Shores Fsc 783
P.O. Box 63
Hudson, MI 49247


Hudson Community Church
Winnebago Council, Bsa 173
226 Eldora Rd
Hudson, IA 50643


Hudson Elementary PTO
Greater St Louis Area Council 312
9825 Hudson Ave
Saint Louis, MO 63119


Hudson Falls Utd Methodist Church
Twin Rivers Council 364
227 Main St
Hudson Falls, NY 12839


Hudson Fire Dept
Daniel Webster Council, Bsa 330
39 Ferry St
Firefighting‐Ems
Hudson, NH 03051


Hudson Fire Dept
Northern Star Council 250
222 Walnut St
Hudson, WI 54016


Hudson Graphics Inc
Fine Printing/Hudson Printing
P.O. Box 7010
Longview, TX 75607


Hudson Lions Club
Daniel Webster Council, Bsa 330
Lions Ave
Hudson, NH 03051


Hudson Lions Club
W D Boyce 138
P.O. Box 406
Hudson, IL 61748


Hudson Memorial Presbyterian Church
Occoneechee 421
4921 Six Forks Rd
Raleigh, NC 27609


Hudson Police Dept
Northern Star Council 250
101 Vine St
Hudson, WI 54016


Hudson River Maritime Museum
Rip Van Winkle Council 405
50 Rondout Lndg
Kingston, NY 12401


Hudson Rod, Gun   Archery Club
Northern Star Council 250
285 Krattley Ln
P.O. Box 83
Hudson, WI 54016


Hudson Utd Methodist Church
Great Trail 433
2600 Hudson Aurora Rd
Hudson, OH 44236


Hudson Utd Methodist Church
Piedmont Council 420
383 Main St
Hudson, NC 28638
Hudson Utd Methodist Men
Northern Star Council 250
1401 Laurel Ave
Hudson, WI 54016


Hudson Valley
6 Jeanne Dr
Newburgh, NY 12550


Hudson Valley Cncl No 374
6 Jeanne Dr
Newburgh, NY 12550


Hudson Valley Trust
Westchester Putnam 388
P.O. Box 563
2 Route 164
Patterson, NY 12563


Hueston Hennigan
523 W 6th St, 400
Los Angeles, CA 90014‐4340


Hueytown 1St Utd Methodist
Greater Alabama Council 001
110 Sunset Dr
Hueytown, AL 35023


Huffman Elementary
Greater St Louis Area Council 312
1700 Jerome Ln
Cahokia, IL 62206


Huffman Memorial Utd Methodist Church
Pony Express Council 311
2802 Renick St
Saint Joseph, MO 64507


Huffman Utd Methodist Church
Greater Alabama Council 001
711 Gene Reed Rd
Birmingham, AL 35235


Hugh Bragg
Address Redacted


Hugh Gilbert Strickland Post 138
Greater Tampa Bay Area 089
5535 W Prescott St
Tampa, FL 33616


Hugh Lynch Post 0737 American Legion
Iroquois Trail Council 376
550 Main St
Arcade, NY 14009


Hugh Mccoll
Address Redacted


Hugh Nesbitt
Address Redacted


Hugh Pemberton Rote
Address Redacted


Hugh Travis
Address Redacted


Hughes Hubbard   Reed LLP
One Battery Park Plaza
New York, NY 10004‐1482


Hughes Memorial Presbyterian Church
Baltimore Area Council 220
3008 Sparrows Point Rd
Rd
Baltimore, MD 21219


Hughes Network Systems
P.O. Box 96874
Chicago, IL 60693‐6874


Hughes Trailers LLC
14000 Hale Rd
Canyon, TX 79015


Hughes Trailers LLC
P.O. Box 226
Canyon, TX 79015


Hughsonville Fire Dept
Hudson Valley Council 374
88 Old Hopewell Rd
P.O. Box 545
Town of Wappinger, NY 12590


Hugo Elementary PTO
Circle Ten Council 571
1100 David Roebuck Lane
Hugo, OK 74743


Hugo Lions Club
Pikes Peak Council 060
P.O. Box 711
Hugo, CO 80821


Huguenot Memorial Church
Westchester Putnam 388
901 Pelhamdale Ave
Pelham, NY 10803


Huguenot Road Baptist Church
Heart of Virginia Council 602
10525 W Huguenot Rd
North Chesterfield, VA 23235


Hulburt Field Top 3
Gulf Coast Council 773
233 Hartson St Bldg 90061
Usaf Eos/Det 1 Top 3 Rep
Hurlburt Field, FL 32544
Hulic Boney Ratterree Jr
Address Redacted


Hull Valley Scout Reservation
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Hulme S Sporting Goods
P.O. Box 670
Paris, TN 38242


Human Brothers
P.O. Box 440262
St Louis, MO 63144


Human Capital Institute Inc
Brian Klein c/o Human Capital Institute
205 Billings Farm Rd, Ste 5
White River Jct, VT 05001


Human Service Center Of Southern Metro E
Greater St Louis Area Council 312
10257 State Route 3
Red Bud, IL 62278


Human Synergistics International
39819 Plymouth Rd ‐ C 8020
Plymouth, MI 48170‐8020


Human Synergistics/Ctr For App Res Inc
21 S Evergreen Ave, Ste 100
Arlington Heights, IL 60005


Humane Society Of Charlotte
2700 Toomey Ave
Charlotte, NC 28203


Humanex Academy
Denver Area Council 061
2700 S Zuni St
Englewood, CO 80110


Humanity Helpers
Circle Ten Council 571
12189 Windy Ln
Forney, TX 75126


Humble Lions Club
Sam Houston Area Council 576
P.O. Box 621
Humble, TX 77347


Humboldt Bay Harbor District
Crater Lake Council 491
601 Startare Dr
Eureka, CA 95501


Humboldt Noon Kiwanis Club
Mid‐America Council 326
P.O. Box 6
Humboldt, IA 50548


Humboldt Park El School ‐ Friends Of
Three Harbors Council 636
3230 S Adams Ave
Milwaukee, WI 53207


Humboldt Rotary
Cornhusker Council 324
65122 715 Rd
Falls City, NE 68355


Humboldt State University
Attn Financial Aid Dept
1 Harpst St
Arcata, CA 95521


Humm Foods, Inc
dba Larabar
P.O. Box 18932
Denver, CO 80218
Hummelstown Utd Church Of Christ
New Birth of Freedom 544
104 E Main St
Hummelstown, PA 17036


Humphrey   Assoc Inc
P.O. Box 59247
Dallas, TX 75229


Humphreys Memorial Methodist Church
Buckskin 617
7799 Coal River Rd
Tornado, WV 25202


Humphreys Memorial Utd Methodist
Buckskin 617
107 Coal River
Tornado, WV 25202


Humphreys Memorial Utd Methodist
Buckskin 617
2829 Kanawha Blvd E
Sissonville, WV 25320


Humphreys Memorial Utd Methodist Ch
Buckskin 617
8340 Sissonville Dr
Sissonville, WV 25360


Hung Vuong Institute
Silicon Valley Monterey Bay 055
4483 Park Sommers Way
San Jose, CA 95136


Hungarian Scouts Of Washington
National Capital Area Council 082
4620 N Park Ave, Apt 1205E
Chevy Chase, MD 20815


Hungarin Scouts Of Washington
National Capital Area Council 082
4620 N Park Ave
Chevy Chase, MD 20815


Hunsberger Parent Teacher Organization
Nevada Area Council 329
2505 Crossbow Ct
Reno, NV 89511


Hunt ‐ Kennedy American Legion Post 639
Laurel Highlands Council 527
P.O. Box M
208 Main St
Claysville, PA 15323


Hunt S Memorial Utd Methodist Church
Baltimore Area Council 220
1912 Old Court Rd
Towson, MD 21204


Hunter Army Airfield
Coastal Georgia Council 099
685 Horace Emmet Wilson Blvd Bldg 1201
Savannah, GA 31409


Hunter College Cuny
Career Development Services
695 Park Ave E 805
New York, NY 10065


Hunter Joseph Mccormick
Address Redacted


Hunter L Thompson
Address Redacted


Hunter Mccormick
Address Redacted


Hunter R Clardy
Address Redacted
Hunter R Oliver
Address Redacted


Hunter Woodworth
Address Redacted


Hunterdale Ruritan Club
Colonial Virginia Council 595
P.O. Box 826
Franklin, VA 23851


Huntersville Post 321 American Legion
Mecklenburg County Council 415
107 N Main St
Huntersville, NC 28078


Huntersville Presbyterian Church
Mecklenburg County Council 415
P.O. Box 313
Huntersville, NC 28070


Huntersville Soccer Academy
Mecklenburg County Council 415
15631 Lakepoint Forest Dr
Charlotte, NC 28278


Huntersville Soccer Club
Mecklenburg County Council 415
12461 Stumptown Rd
Huntersville, NC 28078


Huntersville Utd Methodist Church
Mecklenburg County Council 415
14005 Stumptown Rd
Huntersville, NC 28078


Huntertown Utd Methodist Church
Anthony Wayne Area 157
16021 Lima Rd
Huntertown, IN 46748
Hunting Creek Baptist Church
Blue Ridge Mtns Council 599
4055 Hunting Creek Rd
Nathalie, VA 24577


Huntingdon Animal Clinic
West Tennessee Area Council 559
280 Veterans Dr N
Huntingdon, TN 38344


Huntingdon College
1500 E Fairview Ave
Montgomery, AL 36106


Huntington Beach Host Lions Club 2607
Orange County Council 039
7070‐F Warner Ave
Huntington Beach, CA 92647


Huntington Beach Masonic Lodge 380
Orange County Council 039
601 Palm Ave
Huntington Beach, CA 92648


Huntington Christian School
Orange County Council 039
9700 Levee Dr
Huntington Beach, CA 92646


Huntington Congregational Church
Housatonic Council, Bsa 069
19 Church St
Huntington, CT 06484


Huntington Court Utd Methodist Church
Blue Ridge Mtns Council 599
3333 Williamson Rd Nw
Roanoke, VA 24012


Huntington Park Police Dept
Greater Los Angeles Area 033
6542 Miles Ave
Huntington Park, CA 90255


Huntington Township Fire Dept
Simon Kenton Council 441
6038 Blain Hwy
Chillicothe, OH 45601


Huntington Utd Methodist Church Mens
Housatonic Council, Bsa 069
338 Walnut Tree Hill Rd
Shelton, CT 06484


Huntington Woods Mens Club
Great Lakes Fsc 272
10514 Borgman Ave
Huntington Woods, MI 48070


Huntingtown Utd Methodist Church
National Capital Area Council 082
4020 Hunting Creek Rd
P.O. Box 550
Huntingtown, MD 20639


Huntingtown Utd Methodist Church
National Capital Area Council 082
4020 Hunting Creek Rd
Huntingtown, MD 20639


Huntley Police Dept
Blackhawk Area 660
10911 Main St
Huntley, IL 60142


Huntly Memorial Baptist Church
Lasalle Council 165
1139 Huntly Rd
Niles, MI 49120


Hunton   Williams LLP
951 E Byrd St
Richmond, VA 23219‐4074


Hunton   Williams LLP
P.O. Box 840686
Dallas, TX 75284‐0686


Hunton And Williams, LLP
P.O. Box 405759
Atlanta, GA 30384‐5759


Huntsman Holdings, LLC
Dba Cabelas, LLC/Bass Pro, LLC
2500 E Kearney St
Springfield, MO 65898


Huntsville Hospital
Attn Burr Ingram
Greater Alabama Council 001
101 Sivley Rd Sw
Huntsville, AL 35801


Huntsville Kiwanis Club
Sam Houston Area Council 576
P.O. Box 623
Huntsville, TX 77342


Hunyadi Matyas Scout Troop 19
Pathway To Adventure 456
800 E Palatine Rd
Palatine, IL 60074


Hurd‐Welch American Legion Post 90
Daniel Webster Council, Bsa 330
P.O. Box 448
Raymond, NH 03077


Hurlburt Field Top 3
Gulf Coast Council 773
Usaf Eos/ Det 1 Top 3 Rep
Hurlburt Field, FL 32544
Hurley Lions Club
Rip Van Winkle Council 405
P.O. Box 261
Hurley, NY 12443


Hurley Mckenna    Mertz
Attn Evan M Smola, Christopher T Hurley
re Plaintiff
33 N Dearborn St, Ste 1430
Chicago, IL 60602


Hurley Mckenna    Mertz
Obo Christopher Stryszak
33 N Dearborn St, Ste 1430
Chicago, IL 60602


Hurley Mckenna    Mertz
Obo Matthew Fisher
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Hurley Mckenna    Mertz PC
Attn Christopher Hurley
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Obo Jeffrey Smith
33 N Dearborn St, Ste 1430
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Hurley Mckenna    Mertz PC
Obo Joseph Sullivan
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Huron Chapter 27 Royal Arch Masons
Water and Woods Council 782
327 6th St
Port Huron, MI 48060


Huron County Sheriff Dept
Water and Woods Council 782
120 S Heisterman St
Bad Axe, MI 48413


Huron Crew Grand Lodge Of Masons
Northern Star Council 250
11501 Masonic Home Dr
Bloomington, MN 55437


Huron Park Parents Club
Great Lakes Fsc 272
18530 Marquette St
Roseville, MI 48066


Huron Township Rotary Club
Great Lakes Fsc 272
P.O. Box 289
Huron Township Rotary Club
New Boston, MI 48164


Hurricane Baptist Church
Lincoln Heritage Council 205
4177 Hurricane Rd
Cadiz, KY 42211


Hurricane Management Group LLC
24550 SW 193 Ave
Homestead, FL 33031
Hurricane Management Group LLC
412 Sunshine Blvd
Tavernier, FL 33070


Hurst   Henrichs Mn Ltd
Board of Trade Building
Duluth, MN 55802


Hurst Christian Church
Longhorn Council 662
745 Brown Trl
Hurst, TX 76053


Hurst Collins Post 281 American Legion
Crossroads of America 160
501 S Main St
Cloverdale, IN 46120


Hurst Police Dept
Alarm Permit Officer
1501 Precinct Line Rd
Hurst, TX 76054


Hurstbourne Christian Church
Lincoln Heritage Council 205
601 Nottingham Pkwy
Louisville, KY 40222


Hurtado Timber
P.O. Box 158
Holman, NM 87723


Huseby Inc
P.O. Box 6180
Hermitage, PA 16148‐0922


Huskie Tools, LLC
P.O. Box 603525
Charlotte, NC 28260‐3525
Husking Bee Books
P.O. Box 515
Warren, RI 02885


Hussey Gay Bell    Deyoung
Coastal Georgia Council 099
329 Commercial Dr
Savannah, GA 31406


Hussey Seating Co
Pine Tree Council 218
38 Dyer St Ext
North Berwick, ME 03906


Hustisford Lions Club
Bay‐Lakes Council 635
249 S Hustis St
Hustisford, WI 53034


Hutchens Elementary PTA
Mobile Area Council‐Bsa 004
10005 W Lake Rd
Mobile, AL 36695


Hutchinson Elementary School Wiu
Westmoreland Fayette 512
810 Welty St
Greensburg, PA 15601


Hutchinson Howe Parent Teacher Org
Great Lakes Fsc 272
2600 Garland St
Detroit, Mi 48214


Hutchinson Lions Club
Northern Star Council 250
171 Elk Dr Se
Hutchinson, MN 55350


Hutto Fire Rescue
Capitol Area Council 564
501 Exchange Blvd
Hutto, TX 78634


Hutto Lutheran Church
Capitol Area Council 564
P.O. Box 279
402 Church St
Hutto, TX 78634


Hutto Police Law Enforcement
Capitol Area Council 564
401 W Front St
Hutto, TX 78634


Hutto Utd Methodist Church
Capitol Area Council 564
350 Ed Schmidt Blvd
Hutto, TX 78634


Hutton Elementary
Inland Nwest Council 611
908 E 24th Ave
Spokane, WA 99203


Hy Noon Kiwanis Club
Mid‐America Council 326
P.O. Box 1005
Storm Lake, IA 50588


Hyalite School
Montana Council 315
3600 W Babcock St
Bozeman, MT 59718


Hyatt At The Bellevue
Hyatt Corp
Lock Box 843646
Dallas, TX 75284


Hyatt Corp
dba Hyatt Regency Tamaya Resort   Spa
1300 Tuyuna Trl
Santa Ann Pueblo, NM 87004


Hyatt Corp Aao Mcdonalds Corp
2815 Jorie Blvd
Oak Brook, IL 60523


Hyatt Corp Hyatt Equities LLC
Hyatt Regency O Hara
P.O. Box 98314
Chicago, IL 60693


Hyatt Place Atlanta/Cobb Galeria
2876 Springhill Pkwy
Smyrna, GA 30080


Hyatt Place Atlanta/Cobb Galeria
71 S Wacker Dr
Chicago, IL 60606


Hyatt Regency Atlanta
265 Peachtree ST Ne
Atlanta, GA 30303


Hyatt Regency Baltimore LLC
P.O. Box 842215
Dallas, TX 75284


Hyatt Regency Bethesda
P.O. Box 79076
Baltimore, MD 21279‐0076


Hyatt Regency Dallas
300 Reunion Blvd
Dallas, TX 75207


Hyatt Regency Dallas
300 Reunion Blvd
P.O. Box 201789
Dallas, TX 75320
Hyatt Regency Dallas
300 Reunion Blvd E
Dallas, TX 75207‐4498


Hyatt Regency Greenwich Inc
1800 E Putnam Ave
Old Greenwich, CT 06870


Hyatt Regency Irvine
File 53416
Los Angeles, CA 90074‐3416


Hyatt Regency Lake Tahoe Resort
P.O. Box 842208
Dallas, TX 75284


Hyatt Regency Lost Pines Resort
575 Lost Pines Rd
Lost Pines, TX 78612


Hyatt Regency Louisville
P.O. Box 635322
Cincinnati, OH 45263‐5322


Hyatt Regency New Orleans
601 Loyola Ave
New Orleans, LA 70113


Hyatt Regency Newport Hotel   Spa
Attn Sue Swenton Sales Mgr
1 Goat Island
Newport, RI 02840


Hyatt Regency O   Hare
P.O. Box 98314
Chicago, IL 60693


Hyatt Regency Orange County
11999 Harbor Blvd
Garden Grove, CA 92840
Hyatt Regency San Antonio
P.O. Box 1821
San Antonio, TX 78296


Hyatt Regency Washington On Capitol Hill
400 New Jersey Ave Nw
Washington, DC 20001


Hybrid Light, Inc
P.O. Box 430
Saint George, UT 84771


Hyde Park Baptist School Inc
Capitol Area Council 564
3901 Speedway
Austin, TX 78751


Hyde Park Christian Church
Capitol Area Council 564
610 E 45th St
Austin, TX 78751


Hyde Park Commty
United Methodist Church
Dan Beard Council, Bsa 438
1345 Grace Ave
Cincinnati, Oh 45208


Hyde Park Utd Methodist Church
Greater Tampa Bay Area 089
500 W Platt St
Tampa, FL 33606


Hyde Park Utd Methodist Church
Hudson Valley Council 374
1 Church St
Hyde Park, NY 12538


Hydetown Baptist Church
French Creek Council 532
12749 Main St
Hydetown, PA 16328


Hydra Hotels
dba Hampton Inn , Ste S Trophy Club
525 Plaza Dr
Trophy Club, TX 76262


Hydrapak LLC
6605 San Leandro St
Oakland, CA 94621


Hydro One Networks Inc
P.O. Box 4102 Stn A
Toronto, On M5W 3L3
Canada


Hydro Pumps Inc
6512 NW 13th Court
Plantation, FL 33313


Hydrohoist Marine Group Inc
915 W Blue Starr Dr
Claremore, OK 74017


Hydrologx
P.O. Box 5193
Greenwood Village, CO 80155‐5193


Hyes PTO
Connecticut Yankee Council Bsa 072
415 Church St
Wallingford, CT 06492


Hyg Financial Services, Inc
300 E John Carpenter Freeway
Irving , TX 75062‐2712


Hyg Financial Services, Inc
P.O. Box 14545
Des Moines, IA 50306‐3545
Hyg Financial Services, Inc
P.O. Box 35701
Billings, MT 59107


Hygiene Utd Methodist Church
Longs Peak Council 062
P.O. Box 76
7542 Hygiene Rd
Hygiene, CO 80533


Hylc Buhach
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Delhi
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Gregori
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Hughson
Greater Yosemite Council 059
2625 Coffee Rd, Ste F
Modesto, CA 95355


Hylc Johansen
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Lathrop
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Manteca
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Orestimba
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Pitman
Greater Yosemite Council 059
134 H St
Modesto, CA 95354


Hylc Riverbank
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Ross
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Sierra
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylc Turlock
Greater Yosemite Council 059
4720 Alyssa Ave
Salida, CA 95368


Hylc Vanguard
Greater Yosemite Council 059
1314 H St
Modesto, CA 95354


Hylton S Starter   Ternator Shop, Inc
550‐A Jones Ave
Oak Hill, WV 25901
Hyndman Londonderry Lions Club
Laurel Highlands Council 527
3636 Hyndman Rd
Hyndman, PA 15545


Hyndman‐Londonderry Lions Club
Laurel Highlands Council 527
P.O. Box 136
Hyndman, PA 15545


Hyun Joon Kim
Address Redacted


I Am Tyler
140 Montrose Rd
Waterloo, IA 50701


I Can Innovate Npc
22 Ironwood Way,
Simbithi Eco Estate, Ballito
Kawzulu Natal, 4420
South Africa


I J Lietemeyer Vfw Post 1982
Evangeline Area 212
P.O. Box 10623
New Iberia, LA 70562


I Know Boats Inc
90525 Old Hwy
Tavernier, FL 33070


I Need It Now Trophies
East Carolina Council 426
1108 Gum Branch Rd
Jacksonville, NC 28540


I Overson
955 NW Pebble Beach Way
Beaverton, OR 97006‐8403
I S Construction Group LLC
dba Innovative Services
1303 Pegasus
Arlington, TX 76013


I V Industry Inc
dba Dis Printing
10104 Wminster Ave
Garden Grove, CA 92843


I William Chase Attorney 0260
1190 W Nern Pkwy, Ste 124
Baltimore, MD 21210


I.O.O.B
Allegheny Highlands Council 382
16 Park Sq
Franklinville, NY 14737


I.O.O.F
W D Boyce 138
103 N Main St
Le Roy, IL 61752


I.O.R.M. Tarratine Tribe 13
Katahdin Area Council 216
135 Main St
P.O. Box 1011
Belfast, ME 04915


Ia Impresos Alejandro
Puerto Rico Council 661
425 Santana
Arecibo, PR 00612


Iaa
Attn Jeff Hubbard
Attention Jeanene O Brien
Two Wbrook Corporate Center
Westchester, IL 60154
Iaap
10502 N Ambassador Dr 100
Kansas City, MO 64153‐1291


IAAP
10502 NW Ambassador Dr, Ste 100
Kansas City, MO 64153


Iaap Agc
3103 Monties Ln
Arlington, TX 76015


Iaap Big D Chapter
Big D Spring Education Forum
3620 Huffines Blvd, Apt 3026
Carrollton, TX 75010


Iaap Las Colinas Chapter
Exxonmobil c/o Cindy Hammer
5959 Las Colinas Blvd
Irving, TX 75039


Iaap Texas Louisiana Div
P.O. Box 154555
Irving, TX 75015‐4555


Iaapa
c/o Experient‐Orlando Registration
P.O. Box 3867
Frederick, MD 21705


Iaap‐Ntbc
2301 Eagle Pkwy, Ste 200
Ft Worth, TX 76177


Iabc Colorado
8042 Lt William Clark Rd
Parker, CO 80134


Iabc Executive Accreditation Seminar
c/o Centre For Applied Leadership    Mgmt
Royal Rds University 2005 Sooke Rd
Victoria, BC V9B 5Y2
Canada


Iacp
P.O. Box 90976
Washington, DC 20090‐0976


Iacp 2014
44 Canal Ctr Plaza, Ste 200
Alexandria, VA 22314


Iain M Laurence
Address Redacted


Iain Probert
Address Redacted


Iain S Carpenter
Address Redacted


Iam Rock River Lodge 2053
Bay‐Lakes Council 635
W3032 State Rd 33
Iron Ridge, WI 53035


Ian Boden
Address Redacted


Ian C Ericson
Address Redacted


Ian C Wilson
Address Redacted


Ian Dick
Address Redacted
Ian Dyson
Address Redacted


Ian Fannin
Address Redacted


Ian Hooks
Address Redacted


Ian Imrie
Address Redacted


Ian J Mccasland
Address Redacted


Ian J Sullivan
Address Redacted


Ian K Kessler
Address Redacted


Ian Kirkland
Address Redacted


Ian Lilien
Address Redacted


Ian M Anderson
Address Redacted


Ian M Norris
Address Redacted


Ian M Rakow
Address Redacted


Ian Michael Mclaughlin
Address Redacted
Ian Morris
Address Redacted


Ian Nesbit
Address Redacted


Ian R Shown
Address Redacted


Ian Seth Lilien
Address Redacted


Ian Snyder
Address Redacted


Ian W Chamberlin
Address Redacted


Ian Weir
Address Redacted


Ian Yearwood
Address Redacted


Iana Jaroszynski
Address Redacted


Iapp
170 Cider Hill Rd
York, ME 03909


Iapp
Pease International Tradeport
75 Rochester Ave, Ste 4
Portsmouth, NH 03801


Iasis Christian Center
Quivira Council, Bsa 198
1914 E 11th St N
Wichita, KS 67214


Iatse Local 271 Labor Center, LLC
P.O. Box 75323
Charleston, WV 25375‐0323


Iatse National Benefit Funds
111 N Wabash Ave, Ste 2107
Chicago, IL 60602


Ibc Engineering
Seneca Waterways 397
3445 Winton Pl, Ste 219
Rochester, NY 14623


Iberia Parish School Board
Attn Sales Tax Dept
P.O. Box 9770
New Iberia, LA 70562‐9770


Iberia Utd Methodist Church
Buckeye Council 436
P.O. Box 148
Iberia, OH 43325


Ibew Local No. 5
Laurel Highlands Council 527
5 Hot Metal St
Pittsburgh, PA 15203


Ibex Outdoor Clothing, LLC
P.O. Box 842924
Boston, MA 02284‐2924


Ibm
P.O. Box 9005
Carol Stream, IL 60197‐9005


Ibm Corp
Marcus Steele
1 New Orchard Rd
Armonk, NY 10504


Ibps‐Hsi Lai Scouts
Greater Los Angeles Area 033
3456 Glenmark Dr
Hacienda Heights, CA 91745


Ibraham Elementary
Old Hickory Council 427
5036 Old Walkertown Rd
Winston Salem, NC 27105


Ibs Of Southern Miami     Florida Keys
13970 SW 139th Ct
Miami, FL 33186


Ic Group
2545 W 8th Ave, Ste B
Denver, CO 80204


Ic Group
P.O. Box 25175
Salt Lake City, UT 84125‐0175


Icdc Bella Vista Cana
Puerto Rico Council 661
P.O. Box 4104
Bayamon, PR 00958


Ice Dreams Ice Cream And Coffee Shop
Chattahoochee Council 091
808 Hwy 165
Fort Mitchell, AL 36856


Ice Express
Beer Wholesale Jr Inc
8257 Gulf Freeway
Houston, TX 77017
Ice Tees
250 NW 12th St 4
Florida City, FL 33034


Icebreaker Mackinaw Museum
President Gerald R Ford 781
P.O. Box 39
Mackinaw City, MI 49701


Ice‐Hsi
Puerto Rico Council 661
800 Ponce De Leon
Ave 12th Fl
San Juan, PR 00908


Icelandic Boy    Girl Scout Assoc
Hraunbae 123
Reykjavik, 110
Iceland


Icert Global LLC
10685‐B Hazelburst Dr, 15727
Houston, TX 77043


Ichabod Crane Services Inc
P.O. Box 2038
Big Pine Key, FL 33043


Icle
1020 Greene St
Ann Arbor, MI 48109‐1444


Ic‐New Orleans LLC
dba Doubletree By Hilton No Airport
2150 Veterans Blvd
Kenner, LA 70062


Icon Technology Systems Usa, Inc
8850 Terabyte Ct, Ste C
Reno, NV 89521
Ico‐Pto
Greater St Louis Area Council 312
6208 US Hwy 61‐67
Imperial, MO 63052


Icq Usa Inc
411 Caredean Dr, Ste E
Horsham, PA 19044


Icso, LLC
224 Commerce St, Unit 1
Broomfield, CO 80020


Id Card Group, LLC
P.O. Box 23308
Tigard, OR 97281


Id Media Inc
P.O. Box 7247‐6588
Philadelphia, PA 19170‐6588


Id Product Source
728 SW Munjack Cir
Port Saint Lucie, FL 34986


Id Superstore
250 H St 510
Blaine, WA 98230


Id Video Productions
5039 Roslindale Ave
Erie, PA 16509


Id Wholesaler South
1501 NW 163rd St
Miami, FL 33169


Ida A Weller School PTO
Miami Valley Council, Bsa 444
9600 Sheehan Rd
Centerville, OH 45458
Ida B. Well Elementary School
Middle Tennessee Council 560
244 Foster St
Nashville, TN 37207


Ida Civic Club   American Legion
Southern Shores Fsc 783
P.O. Box 27
Ida, MI 48140


Ida Donovan
Address Redacted


Ida Freeman Elementary School
Last Frontier Council 480
501 W Hurd St
Edmond, OK 73003


Ida Mcallister
Address Redacted


Ida O Daniel
Address Redacted


Ida Patterson Mcallister
Address Redacted


Ida Whitmore
Address Redacted


Idaho Dept Of Labor
Attn Cashier
317 W Main St
Boise, ID 83735‐0610


Idaho Falls Fire Dept 1565
Grand Teton Council 107
P.O. Box 50220
Idaho Falls, ID 83405
Idaho Springs Elks Lodge 607
Denver Area Council 061
P.O. Box 607
Idaho Springs, CO 80452


Idaho State Dept Of Education
650 W State St
Boise, ID 83702


Idaho State Treasurers Office
Unclaimed Property
P.O. Box 83720
Boise, ID 83720


Idautomation
550 N Reo St, Ste 300
Tampa, FL 33609


Idea Art Inc
P.O. Box 2933
Colorado Springs, CO 80901‐2933


Idea Ewing Halsell
Alamo Area Council 583
2523 W Ansley Blvd
San Antonio, TX 78224


Idea Logistics
South Texas Council 577
4204 Trade Center Blvd
Laredo, TX 78045


Idea Public Charter School
National Capital Area Council 082
1027 45th St Ne
Washington, DC 20019


Idea Walzem Academy
Alamo Area Council 583
6445 Walzem Rd
San Antonio, TX 78239


Ideal Business Machines
P.O. Box 6467
Mesa, AZ 85216


Ideal Distributing Inc
1020 N Eisenhower Dr
Beckley, WV 25801


Ideal Embroidered Patch Inc
427 Kelsey Park Dr
Palm Beach Gardens, FL 33410


Ideal Fit Models, Inc
5900 Wilshire Blvd, Ste 26070
Los Angeles, CA 90036


Ideascale LLC
93 S Jackson St No 14277
Seattle, WA 98104‐2818


Identisys
P.O. Box 1086
Minnetonka, MN 55345‐0086


Identisys, Inc
7630 Commerce Way
Eden Prairie, MN 55344‐00866


Ideqa Limited
130 Ponsonby Rd, Level 3
Auckland, 1011
New Zealand


Idia Sistare
Address Redacted


Idlewild Elementary PTA
Pacific Harbors Council, Bsa 612
8417 101st St Ct Sw
Lakewood, WA 98498


Idlewylde Utd Methodist Church
Baltimore Area Council 220
1000 Regester Ave
Idlewylde, MD 21239


Idm Computer Solutions
5559 Eureka Dr, Ste B
Hamilton, OH 45011


Idsecurityonline.Com LLC
37 W 26th St, 10th Fl
New York, NY 10010


Idville
5376 52nd St Se
Grand Rapids, MI 49512


Ieg, LLC
14498 Collections Center Dr
Chicago, IL 60693


Iep LLC
2001 Ross Ave, Ste 1800
Dallas, TX 75201‐2997


Iesi Ny Corp
P.O. Box 660654
Dallas, TX 75266‐0654


Ifm North America LLC
1115 Locust St, Ste 500
St Louis, MO 63101


Ighl
Suffolk County Council Inc 404
221 N Sunrise Service Rd
P.O. Box 638
Manorville, NY 11949
Igl Carismatica Liberados Por Cristo
Puerto Rico Council 661
Hc 2 Box 7892
Camuy, PR 00627


Iglesia Bautista De Carolina
Puerto Rico Council 661
203 Calle Ignacio Arzuaga W 7
Carolina, PR 00985


Iglesia Bautista De Palmer
Puerto Rico Council 661
P.O. Box 168
Palmer, PR 00721


Iglesia Catolica La Monserrate
Puerto Rico Council 661
Apartado 435
Moca, PR 00676


Iglesia Ciudad Para Las Naciones
Puerto Rico Council 661
Carr 483 Km 1.8
Hc04 Box 9484
Quebradillas, PR 00678


Iglesia Cristiana De Aguadilla Inc
Puerto Rico Council 661
Hc 4 Box 47171
Aguadilla, PR 00603


Iglesia Cristiana Vision Vida
South Texas Council 577
1301 Espejo Molina Rd
Rio Bravo, TX 78046


Iglesia De Dios Mission Board
Puerto Rico Council 661
Rr 2 Box 6115
Bo Pugnado
Manati, PR 00674
Iglesia De Jesuscristo De Los Santos
Rainbow Council 702
655 Springfield Ave
Joliet, IL 60435


Iglesia Del Dios Vivo Cristo Viene
Rio Grande Council 775
P.O. Box 1747
Weslaco, TX 78599


Iglesia Jesucristo Santos Ultimos Dias
Puerto Rico Council 661
123 Calle Ronda
San Juan, PR 00926


Iglesia Luterana Misionera
Puerto Rico Council 661
P.O. Box 9024118
San Juan, PR 00902


Iglesia Mas Que Vencedores
Alamo Area Council 583
824 Sams Dr
San Antonio, TX 78221


Iglesia Puerta Del Cielo
East Texas Area Council 585
1900 Bellwood Rd
Tyler, TX 75701


Iglesia San Miguel
Longhorn Council 662
3605 Fairfax Ave
Fort Worth, TX 76119


Igloo Products Corp
P.O. Box 671229
Dallas, TX 75267‐1229


Ignacio Gonzalez
Address Redacted


Ignite Achievement Academy As
Crossroads of America 160
1002 W 25th St
Indianapolis, IN 46208


Ignite Church
Sam Houston Area Council 576
900 Nichols Ave
Bay City, TX 77414


Ignite Usa, LLC
dba Newell Co
6655 Peachtree Dunwoody Rd
Atlanta, GA 30328


Iguana Be Gone
P.O. Box 500043
Marathon, FL 33050


Igx Interactive Game
921 Transport Way 10
Petaluma, CA 94954


Ihael Gabriel Palermo
Address Redacted


Ihc Instacare
2655 W 9000 S
Westjordan, UT 84088


Ihm Catholic Church
Great Swest Council 412
3700 Canyon Rd
Los Alamos, NM 87544


Ihospitality LLC
37 Plaistow Rd, Uit 7‐126
Plaistow, NH 03865
Ihrim Dallas/Fort Worth Chapter
Attn Karen Cunningham Hrchitect
6130 Frisco Square Blvd, Ste 250
Frisco, TX 75034


Iida Ny Rochester City Center
Seneca Waterways 397
205 St Paul St
Rochester, NY 14604


Iidon Inc
P.O. Box 973091
Dallas, TX 75397‐3091


Iimage Retrieval Inc
3620 N Josey Ln, Ste 103
Carrollton, TX 75007


Ikon Financial Services
Attn Lease End
P.O. Box 536732
Atlanta, GA 30353‐6732


Ikon Financial Services
P.O. Box 650016
Dallas, TX 75265‐0016


Ikon Financial Services
P.O. Box 740540
Atlanta, GA 30374‐0540


Ikon Office Solutions
Lds Wern District ‐ Por
P.O. Box 31001‐0743
Pasadena, CA 91110‐0743


Ikon Office Solutions
P.O. Box 827577
Philadelphia, PA 19182‐7577
Ikon Office Solutions Chicago
P.O. Box 802815
Chicago, IL 60680‐2815


Ikon Office Solutions‐Dallas
Texas/Louisiana District
P.O. Box 660342
Dallas, TX 75266‐0342


Ikumi Komoda
Address Redacted


Il Dept Dcss Sdu
P.O. Box 5400
Carol Stream, IL 60197‐5400


Il Great Rivers Conference Of The Utd
2879 E 300 N Rd
Hoopeston, IL 60942


Ila Greene
Address Redacted


Ilead Spring Meadows
Erie Shores Council 460
1615 Timber Wolf Dr
Holland, OH 43528


Ilene Liebler
Address Redacted


Illinois Aviation Academy
Three Fires Council 127
32W751 Tower Rd
West Chicago, IL 60185


Illinois Center Rehab And Education
Pathway To Adventure 456
1950 W Roosevelt Rd
Chicago, IL 60608
Illinois Charity Bureau Fund
Attn Annual Report Section
Charitable Trust Fund
100 W Randolph St 11th Fl
Chicago, IL 60601‐3175


Illinois Charity Bureau Fund
Charitable Trust Fund
Attn Annual Report Section
100 W Randolph St, 11th Fl
Chicago, IL 60601‐3175


Illinois Dept Of Revenue
Attn Retailers Occupation Tax
Springfield, IL 62796‐0001


Illinois Dept Transportation, Distr 6
Abraham Lincoln Council 144
126 E Ash St
Springfield, Il 62704


Illinois Office Of The Attorney General
Consumer Protection Section
P.O. Box 94005
Baton Rouge, LA 70804‐9005


Illinois Sch For The Visually
Impaired Parent S Org
Abraham Lincoln Council 144
658 E State St
Jacksonville, Il 62650


Illinois Secretary Of State
Attn Dept of Business Services
501 S 2nd St ‐ 3rd Fl
Springfield, IL 62756


Illinois Secretary Of State
Dept of Business Services
501 S 2nd St ‐ 3rd Fl
Springfield, IL 62756
Illinois State Attorneys General
James R. Thompson Ctr.
100 W Randolph St
Chicago, IL 60601


Illinois State Police
Greater St Louis Area Council 312
1100 Eport Plaza Dr
Collinsville, IL 62234


Illinois State Treasurer S Office
Unclaimed Property Div
P.O. Box 19495
Springfield, IL 62794‐9495


Illinois State University
Attn Scholarship Resource Office
214 Fell Hall, Campus Box 2320
Normal, IL 61790‐2320


Illinois Student Assistance Commission
Attn Debt Management Dept, K‐Awg
P.O. Box 904
Deerfield, IL 60015


Illinois Valley Fire District
Crater Lake Council 491
681 Caves Hwy
Cave Junction, OR 97523


Illinois Vly Chamber Commerce   Ivac
W D Boyce 138
1320 Peoria St
Peru, Il 61354


Illinois Wesleyan University
1312 Park St
Bloomington, IL 61701


Illowa
4412 N Brady St
Davenport, IA 52806


Illowa Cncl 133
4412 N Brady St
Davenport, IA 52806‐4009


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119 Idaho
San Antonio, TX 78203‐1004


Illustration Magazine
3640 Russell Blvd
St Louis, MO 63110


Illustrations Usa Inc
207 N Moss Rd, Ste 205
Winter Springs, FL 32708


Ilm Academy
San Francisco Bay Area Council 028
42412 Albrae St
Fremont, CA 94538


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New York, NY 10087‐7129


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9100 Georgia Ave
Silver Spring, MD 20910


Imaculate Conception Church
Baden‐Powell Council 368
1180 State Hwy 206
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420 Haywood Rd
Asheville, NC 28806


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700 Virginia St, Ste 220
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800 N Side Dr, Ste 27
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1545 S 100 E 1
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P.O. Box 95 / 202 S Main St
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Imagemark
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Attention Contracts Dept
913 N Broadway
Oklahoma City, OK 73102


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Attention Contracts Div
913 N Broadway
Oklahoma City, OK 73102


Imagenet Consulting LLC
913 N Broadway Ave
Oklahoma City, OK 73102


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Columbus, OH 43229


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6145 Hill Ave
Toledo, OH 43615


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Greater New York Councils, Bsa 640
818 Schenck Ave
Brooklyn, NY 11207


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Greater Tampa Bay Area 089
2940 Sunlake Blvd
Land O Lakes, FL 34638


Imagine Schools At Rosefield
Grand Canyon Council 010
12050 N Bullard Ave
Surprise, AZ 85379


Imaging Products Corp
dba Buzz Print
1850 Empire Central
Dallas, TX 75235


Imaging Spectrum Inc
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Ascent Or Randy Worldwide
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dba Fillable Pdf Forms Com
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Stevens Point, WI 54481


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Dan Beard Council, Bsa 438
3716 Woodford Rd
Cincinnati, OH 45213
Imani Family Center
Dan Beard Council, Bsa 438
45 Mulberry St
Cincinnati, OH 45202


Imani Utd Church Of Christ
Lake Erie Council 440
1505 E 260th St
Euclid, OH 44132


Imara L Chew
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Imba
P.O. Box 711
Boulder, CO 80306


Imba Inc
4888 Pearl E Cir, Ste 200E
Boulder, CO 80301


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140 Carondelet St
New Orleans, LA 70130


Imelda Duenas
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Imelda Escamilla
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Imex Model Co, Inc
15391 Flight Path Dr
Brooksville, FL 34604


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Suwannee River Area Council 664
4750 Capital Cir Se
Tallahassee, FL 32311
Imler Area Volunteer Fire Hall
Laurel Highlands Council 527
996 Mowerys Mills Rd
Imler, PA 16655


Immaculate   Lady Lourdes Mens Club
Owensboro
Lincoln Heritage Council 205
2516 Christie Pl
Owensboro, Ky 42301


Immaculate Conception
Mid‐America Council 326
1212 Morningside Ave
Sioux City, IA 51106


Immaculate Conception Bvm Church
Cradle of Liberty Council 525
602 W Ave
Jenkintown, PA 19046


Immaculate Conception Cathdral Sch
Calcasieu Area Council 209
1536 Ryan Str
Lake Charles, LA 70601


Immaculate Conception Catholic Church
Anthony Wayne Area 157
506 E Walnut St
Portland, IN 47371


Immaculate Conception Catholic Church
Bay‐Lakes Council 635
2722 Henry St
Sheboygan, WI 53081


Immaculate Conception Catholic Church
Coastal Carolina Council 550
510 Saint James Ave
Goose Creek, SC 29445
Immaculate Conception Catholic Church
Greater St Louis Area Council 312
100 N Washington Ave
Union, MO 63084


Immaculate Conception Catholic Church
Greater St Louis Area Council 312
7701 Hwy N
Dardenne Prairie, MO 63368


Immaculate Conception Catholic Church
Istrouma Area Council 211
P.O. Box 1609
Denham Springs, LA 70727


Immaculate Conception Catholic Church
Longhorn Council 662
2255 N Bonnie St
Denton, TX 76207


Immaculate Conception Catholic Church
Middle Tennessee Council 560
709 Franklin St
Clarksville, TN 37040


Immaculate Conception Catholic Church
Narragansett 546
P.O. Box 556
111 High St
Westerly, RI 02891


Immaculate Conception Catholic Church
Occoneechee 421
901 W Chapel Hill St, Ste A
Durham, NC 27701


Immaculate Conception Catholic Church
Ozark Trails Council 306
3555 S Fremont Ave
Springfield, MO 65804
Immaculate Conception Catholic Church
Silicon Valley Monterey Bay 055
7290 Airline Hwy
Tres Pinos, CA 93924


Immaculate Conception Catholic Church
Simon Kenton Council 441
414 E N Broadway St
Columbus, OH 43214


Immaculate Conception Catholic Church
Southeast Louisiana Council 214
4401 7th St
Marrero, LA 70072


Immaculate Conception Catholic Church
Three Fires Council 127
134 W Arthur St
Elmhurst, IL 60126


Immaculate Conception Catholic Church
Three Rivers Council 578
6248 Washington St
Groves, TX 77619


Immaculate Conception Catholic Church
Winnebago Council, Bsa 173
106 Chapel Ln
Charles City, IA 50616


Immaculate Conception Catholic H   S
Northern Star Council 250
4030 Jackson St Ne
Columbia Heights, MN 55421


Immaculate Conception Catholic Parish
Grand Canyon Council 010
700 N Bill Gray Rd
Cottonwood, AZ 86326


Immaculate Conception Ch KC Council 3537
Middle Tennessee Council 560
709 Franklin St
Clarksville, Tn 37040


Immaculate Conception Church
440 W 18th St
Cimarron, NM 78814


Immaculate Conception Church
Aloha Council, Bsa 104
P.O. Box 3209
Lihue, HI 96766


Immaculate Conception Church
Attn Brendan Conboy
Mayflower Council 251
17 Washington Ct
Marlborough, MA 01752


Immaculate Conception Church
Black Swamp Area Council 449
229 W Anthony St
Celina, OH 45822


Immaculate Conception Church
Black Swamp Area Council 449
P.O. Box 296
Ottoville, OH 45876


Immaculate Conception Church
Daniel Webster Council, Bsa 330
216 E Dunstable Rd
Nashua, NH 03062


Immaculate Conception Church
Del Mar Va 081
455 Bow St
Elkton, MD 21921


Immaculate Conception Church
Great Lakes Fsc 272
9792 Dixie Hwy
Ira, MI 48023
Immaculate Conception Church
Greater Los Angeles Area 033
726 S Shamrock Ave
Monrovia, CA 91016


Immaculate Conception Church
Greater New York Councils, Bsa 640
414 E 14th St
New York, NY 10009


Immaculate Conception Church
Hudson Valley Council 374
26 John St
Stony Point, NY 10980


Immaculate Conception Church
Mayflower Council 251
193 Main St
North Eon, MA 02356


Immaculate Conception Church
Miami Valley Council, Bsa 444
116 N Mill St
Botkins, OH 45306


Immaculate Conception Church
Mount Baker Council, Bsa 606
2619 Cedar St
Everett, WA 98201


Immaculate Conception Church
Mountaineer Area 615
126 E Pike St
Clarksburg, WV 26301


Immaculate Conception Church
Westark Area Council 016
22 N 13th St
Fort Smith, AR 72901
Immaculate Conception Church
Westchester Putnam 388
53 Winter Hill Rd
Tuckahoe, NY 10707


Immaculate Conception Church Nlr
Quapaw Area Council 018
7000 John F Kennedy Blvd
North Little Rock, AR 72116


Immaculate Conception Dardenne
Greater St Louis Area Council 312
7701 Hwy N
Dardenne Prairie, MO 63368


Immaculate Conception H N S
Three Harbors Council 636
1023 E Russell Ave
Milwaukee, WI 53207


Immaculate Conception Home     School Assn
Great Rivers Council 653
1206 E Mccarty St
Jefferson City, MO 65101


Immaculate Conception Parish
Chippewa Valley Council 637
1712 Highland Ave
Eau Claire, WI 54701


Immaculate Conception Parish
Greater St Louis Area Council 312
208 S Hope St
Jackson, MO 63755


Immaculate Conception Parish ‐ Arnold
Greater St Louis Area Council 312
2300 Church Rd
Arnold, MO 63010


Immaculate Conception Parish And School
The Spirit of Adventure 227
1 Washington St
Newburyport, MA 01950


Immaculate Conception RC Ch
Baltimore Area Council 220
200 Ware Ave
Towson, Md 21204


Immaculate Conception Rc Ch
Holy Name Society
Greater Niagara Frontier Council 380
520 Oakwood Ave
East Aurora, Ny 14052


Immaculate Conception RC Ch
Laurel Highlands Council 527
119 W Chestnut St
Washington, Pa 15301


Immaculate Conception RC Ch
Northeastern Pennsylvania Council 501
605 Luzerne Ave
West Pittston, Pa 18643


Immaculate Conception RC Ch
Washington Crossing Council 777
316 Old Allerton Rd
Annandale, Nj 08801


Immaculate Conception Roman Cath Church
Pathway To Adventure 456
7211 W Talcott Ave
Chicago, IL 60631


Immaculate Conception Roman Catholic
Northern New Jersey Council, Bsa 333
1219 Paterson Plank Rd
Secaucus, NJ 07094


Immaculate Conception Roman Catholic
Twin Rivers Council 364
400 Saratoga Rd
Church
Scotia, NY 12302


Immaculate Conception Roman Catholic Ch
Longhouse Council 373
400 Salt Springs St
Fayetteville, NY 13066


Immaculate Conception School
Westark Area Council 016
223 S 14th St
Fort Smith, AR 72901


Immaculate Heart Mary RC Ch
Great Trail 433
1905 Portage Trl
Cuyahoga Falls, Oh 44223


Immaculate Heart Mary RC Ch
Northern New Jersey Council, Bsa 333
P.O. Box 1385
Wayne, Nj 07474


Immaculate Heart Of Mary
Evangeline Area 212
800 12th St
Lafayette, LA 70501


Immaculate Heart Of Mary
Greater St Louis Area Council 312
4070 Blow St
Saint Louis, MO 63116


Immaculate Heart Of Mary
Sam Houston Area Council 576
7539 Ave K
Houston, TX 77012


Immaculate Heart Of Mary Catholic Church
Atlanta Area Council 092
2855 Briarcliff Rd Ne
Atlanta, GA 30329
Immaculate Heart Of Mary Catholic Church
Dan Beard Council, Bsa 438
7820 Beechmont Ave
Cincinnati, OH 45255


Immaculate Heart Of Mary Catholic Church
Denver Area Council 061
11385 Grant Dr
Northglenn, CO 80233


Immaculate Heart Of Mary Catholic Church
New Birth of Freedom 544
6084 W Canal Rd
Abbottstown, PA 17301


Immaculate Heart Of Mary Catholic Church
Old N State Council 070
4145 Johnson St
High Point, NC 27265


Immaculate Heart Of Mary Catholic Church
Orange County Council 039
1100 S Center St
Santa Ana, CA 92704


Immaculate Heart Of Mary Catholic Church
San Diego Imperial Council 049
537 E St
Ramona, CA 92065


Immaculate Heart Of Mary Catholic Church
Westchester Putnam 388
8 Carman Rd
Scarsdale, NY 10583


Immaculate Heart Of Mary Church
Dan Beard Council, Bsa 438
5876 Veterans Way
Burlington, KY 41005
Immaculate Heart Of Mary Church
Del Mar Va 081
4701 Weldin Rd
Wilmington, DE 19803


Immaculate Heart Of Mary Church
Evangeline Area 212
818 12th St
Lafayette, LA 70501


Immaculate Heart Of Mary Church
Northern New Jersey Council, Bsa 333
580 Ratzer Rd
Wayne, NJ 07470


Immaculate Heart Of Mary Church
President Gerald R Ford 781
1935 Plymouth Se
Grand Rapids, MI 49506


Immaculate Heart Of Mary Church
Western Massachusetts Council 234
256 State St
Granby, MA 01033


Immaculate Heart Of Mary Men S Club
Greater St Louis Area Council 312
4070 Blow St
Saint Louis, MO 63116


Immaculate Heart Of Mary Parish
Coronado Area Council 192
513 E 19th St
Hays, KS 67601


Immaculate Heart Of Mary Parish
Dan Beard Council, Bsa 438
5876 Veterans Way
Burlington, KY 41005


Immaculate Heart Of Mary Parish
Daniel Webster Council, Bsa 330
180 Loudon Rd
Concord, NH 03301


Immaculate Heart Of Mary Rc Church
Greater New York Councils, Bsa 640
2805 Fort Hamilton Pkwy
Brooklyn, NY 11218


Immaculate Heart Of Mary Rcc
Crossroads of America 160
5692 Central Ave
Indianapolis, IN 46220


Immaculate Heart Of Mary Roman Cath Chur
Cradle of Liberty Council 525
814 E Cathedral Rd
Philadelphia, PA 19128


Immaculate Heart Of Mary Roman Catholic
Baltimore Area Council 220
8501 Loch Raven Blvd
Baltimore, MD 21286


Immanuael Utd Church Of Christ
Greater St Louis Area Council 312
P.O. Box 187
Wright City, MO 63390


Immanuel Baptist Church
Blue Grass Council 204
1075 Collins Ln
Frankfort, KY 40601


Immanuel Baptist Church
Blue Grass Council 204
3100 Tates Creek Rd
Lexington, KY 40502


Immanuel Baptist Church
Leatherstocking 400
9501 Won Rd
New Hartford, NY 13413
Immanuel Baptist Church
Middle Tennessee Council 560
214 Castle Heights Ave
Lebanon, TN 37087


Immanuel Baptist Church
Tuscarora Council 424
P.O. Box 52
1017 Sunset Ave
Clinton, NC 28329


Immanuel Episcopal Church
Baltimore Area Council 220
1509 Glencoe Rd
Sparks, MD 21152


Immanuel Episcopal Church
Heart of Virginia Council 602
3263 Old Church Rd
Mechanicsville, VA 23111


Immanuel Evangelical Lutheran Church
Baltimore Area Council 220
3184 Church St
Manchester, MD 21102


Immanuel Lutheran
Bay‐Lakes Council 635
600 S Lincoln Rd
Judy Kincaid Ih
Escanaba, MI 49829


Immanuel Lutheran
Snake River Council 111
2055 Filer Ave E
Twin Falls, ID 83301


Immanuel Lutheran Church
Alameda Council Bsa 022
1910 Santa Clara Ave
Alameda, CA 94501
Immanuel Lutheran Church
Baltimore Area Council 220
3184 Chruch St
Westminster, MD 21102


Immanuel Lutheran Church
Blackhawk Area 660
300 S Pathway Ct
Crystal Lake, IL 60014


Immanuel Lutheran Church
Capitol Area Council 564
500 Immanuel Rd
Pflugerville, TX 78660


Immanuel Lutheran Church
Chickasaw Council 558
6325 Raleigh Lagrange Rd
Memphis, TN 38134


Immanuel Lutheran Church
Connecticut Rivers Council, Bsa 066
154 Meadow St
Bristol, CT 06010


Immanuel Lutheran Church
Greater New York Councils, Bsa 640
2018 Richmond Ave
Staten Island, NY 10314


Immanuel Lutheran Church
Greater St Louis Area Council 312
115 S 6th St
Saint Charles, MO 63301


Immanuel Lutheran Church
Greater Tampa Bay Area 089
2913 John Moore Rd
Brandon, FL 33511
Immanuel Lutheran Church
Gulf Stream Council 085
2655 SW Immanuel Dr
Palm City, FL 34990


Immanuel Lutheran Church
Housatonic Council, Bsa 069
25 Great Hill Rd
Oxford, CT 06478


Immanuel Lutheran Church
Lasalle Council 165
1700 Monticello Park Dr
Valparaiso, IN 46383


Immanuel Lutheran Church
Longhorn Council 662
3801 Cunningham Rd
Killeen, TX 76542


Immanuel Lutheran Church
Mid‐America Council 326
2725 N 60th Ave
Omaha, NE 68104


Immanuel Lutheran Church
Northern Star Council 250
104 Snelling Ave S
Saint Paul, MN 55105


Immanuel Lutheran Church
Northern Star Council 250
16515 Luther Way
Eden Prairie, MN 55346


Immanuel Lutheran Church
Ozark Trails Council 306
2616 Connecticut Ave
Joplin, MO 64804


Immanuel Lutheran Church
Pacific Harbors Council, Bsa 612
1209 N Scheuber Rd
Centralia, WA 98531


Immanuel Lutheran Church
Santa Fe Trail Council 194
P.O. Box 46
Lakin, KS 67860


Immanuel Lutheran Church
Sioux Council 733
607 W Main St
Elk Point, SD 57025


Immanuel Lutheran Church
South Texas Council 577
1400 N Texas Blvd
Alice, TX 78332


Immanuel Lutheran Church
Three Fires Council 127
950 Hart Rd
Batavia, IL 60510


Immanuel Lutheran Church
W D Boyce 138
Minonk
Minonk, IL 61760


Immanuel Lutheran Church
Water and Woods Council 782
247 N Lincoln St
Bay City, MI 48708


Immanuel Lutheran Church
Western Massachusetts Council 234
867 N Pleasant St
Amherst, MA 01002


Immanuel Lutheran Church
Winnebago Council, Bsa 173
246 S Clark St
Forest City, IA 50436
Immanuel Lutheran Church   School
Greater St Louis Area Council 312
632 E Hwy N
Wentzville, MO 63385


Immanuel Lutheran Church And School
Attn Boy Scout Troop 176
California Inland Empire Council 045
5455 Alessandro Blvd
Riverside, CA 92506


Immanuel Lutheran Church Elca
Glaciers Edge Council 620
700 N Bloomfield Rd
Lake Geneva, WI 53147


Immanuel Lutheran Church Of Saratoga
Silicon Valley Monterey Bay 055
14103 Saratoga Ave
Saratoga, CA 95070


Immanuel Presbyterian Church
Catalina Council 011
9252 E 22nd St
Tucson, AZ 85710


Immanuel Presbyterian Church
Great Swest Council 412
114 Carlisle Blvd Se
Albuquerque, NM 87106


Immanuel Presbyterian Church
Pathway To Adventure 456
140 W US Hwy 30
Schererville, IN 46375


Immanuel Trinity Lutheran Church
Bay‐Lakes Council 635
20 Wisconsin American Dr
Fond Du Lac, WI 54937
Immanuel Ucc Of Hamel
Greater St Louis Area Council 312
5838 Staunton Rd
Edwardsville, IL 62025


Immanuel Union Church
Greater New York Councils, Bsa 640
693 Jewett Ave
Staten Island, NY 10314


Immanuel Utd Church Of Christ
Bay‐Lakes Council 635
118 Oak St
Neenah, WI 54956


Immanuel Utd Church Of Christ
Buffalo Trace 156
5812 Ford Rd N
Mount Vernon, IN 47620


Immanuel Utd Church Of Christ
Greater St Louis Area Council 312
126 Church St
Ferguson, MO 63135


Immanuel Utd Church Of Christ
Greater St Louis Area Council 312
141 W Service Rd N
Wright City, MO 63390


Immanuel Utd Church Of Christ
Sam Houston Area Council 576
26501 Border St
Spring, TX 77373


Immanuel Utd Church Of Christ
Sam Houston Area Council 576
P.O. Box 505
Needville, TX 77461


Immanuel Utd Church Of Christ
Three Fires Council 127
415 W N Ave
Bartlett, IL 60103


Immanuel Utd Methodist
Glaciers Edge Council 620
201 E Racine St
Jefferson, WI 53549


Immanuel Utd Methodist Church
Del Mar Va 081
209 Main St
Townsend, DE 19734


Immediate Music LLC
1540 7th St, Ste 300
Santa Monica, CA 90401


Imogene Lacy
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Impact Computers    Electronics
4151 N 29th Ave
Hollywood, FL 33020


Impact Fire Services
26 Hampshire Dr
Hudson, NH 03051


Impact Networking LLC Inc
Dept 5270
P.O. Box 1170
Milwaukee, WI 53201‐1170


Impact Nw
Cascade Pacific Council 492
7211 SE 62nd Ave
Portland, OR 97206


Impact Productions
Attn Tom Newman
3939 S Harvard Ave
Tulsa, OK 74135


Imperial Bedding Company
P.O. Box 5347
Huntington, WV 25701


Imperial Copy Products Inc
961 Route 10 E
Randolph, NJ 07869


Imperial County Sheriffs Office
San Diego Imperial Council 049
328 Applestille Rd
El Centro, CA 92243


Imperial Police Dept
San Diego Imperial Council 049
424 S Imperial Ave
Imperial, CA 92251


Imperial Printing Products
Payment Processing Ctr ‐ Fgb
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Hickory, NC 28603‐3386


Implusfoot Footcare, LLC
P.O. Box 601469
Charlotte, NC 28260‐1469


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1253 Round Table
Dallas, TX 75247


Imprimis Group, Inc
Bravo Technical Resources, Inc
4835 Lbj Freeway, Ste 1000
Dallas, Tx 75244


Imprimis/Freeman Leonard
4835 Lbj Freeway, Ste 1000
Dallas, TX 75244


Improve Life, Inc
1607 Perrino Pl
Los Angeles, CA 90023


Imr Research Group Inc
P.O. Box 1358
Wilmington, NC 28402


Ims Productions Inc
P.O. Box 24548
Indianapolis, IN 46224


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200 W Adams, Ste Ll110
Chicago, IL 60606


In Forms
3860 Eagle Dr
Anaheim, CA 92807


In The News
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Tampa, FL 33634


In The Swim
P.O. Box 505428
St Louis, MO 63150‐5428


In The Wind
1610 W Euless Blvd
Euless, TX 76040


Ina Agnew
Address Redacted


Ina April Metz
Address Redacted
Ina Hoover
Address Redacted


Ina Metz
Address Redacted


Inbank
Attn Shirley Hooper
31062 Hwy 64
Cimarron, NM 87714


Incarnate Word Catholic Church
Greater St Louis Area Council 312
13416 Olive Blvd
Chesterfield, MO 63017


Incarnation Catholic Church
Miami Valley Council, Bsa 444
55 Williamsburg Ln
Centerville, OH 45459


Incarnation Catholic Church
Southwest Florida Council 088
2929 Bee Ridge Rd
Sarasota, FL 34239


Incarnation Lutheran Church
Northern Star Council 250
4880 Hodgson Rd
Shoreview, MN 55126


Incarnation Utd Church Of Christ
New Birth of Freedom 544
P.O. Box 68
North 4th St
Newport, PA 17074


Incident Management Solutions
Central Florida Council 083
P.O. Box 391
Minneola, FL 34755
Incienso De Santa Fe, Inc
320 Headingly Ave Nw
Albuquerque, NM 87107‐2324


Incredible Horizons
Central Florida Council 083
674 N Wickham Rd
Melbourne, FL 32935


Indeed Inc
Mail Code 5160, P.O. Box 660367
Dallas, TX 75266‐0367


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7630 Commerce Way
Eden Prairie, MN 55344


Independence Fire Co
Hudson Valley Council 374
819 State Route 208
Monroe, NY 10950


Independence Lodge 10, F      Am
Green Mountain 592
656 Route 73
Orwell, VT 05760


Independence Police Dept
Dan Beard Council, Bsa 438
5409 Madison Pike
Independence, KY 41051


Independence School Inc
Del Mar Va 081
1300 Paper Mill Rd
Newark, DE 19711


Independence Utd Methodist Church
Lake Erie Council 440
6615 Brecksville Rd
Independence, OH 44131


Independence Ward
Cradle of Liberty Council 525
568 N 23rd St
Philadelphia, PA 19130


Independent Fire Co
711 Aspen N.W.
Albuquerque, NM 87102‐1217


Independent Order Of Odd Fellows
New Birth of Freedom 544
P.O. Box 212
New Bloomfield, PA 17068


Independent Order Of Odd Fellows N Pt4
Baltimore Area Council 220
9401 N Point Rd
Fort Howard, MD 21052


Independent Order Of Odd Fellows‐Calif
Mt Diablo‐Silverado Council 023
803 Main St
Suisun, CA 94533


Independent Order Of Oddfellows
Greater St Louis Area Council 312
111 Lindemann Ave
Dupo, IL 62239


Independent Presbyterian Church
Chickasaw Council 558
4738 Walnut Grove Rd
Memphis, TN 38117


Independent Presbyterian Church
Greater Alabama Council 001
3100 Highland Ave S
Birmingham, AL 35205
Independent Sector
Attn Finance Dept
1602 L St NW, Ste 900
Washington, DC 20036


Independent Sector Membership
Cl 500058
P.O. Box 5007
Merrifield, VA 22116‐5007


India Assoc Of San Antonio
Alamo Area Council 583
P.O. Box 5586
San Antonio, TX 78201


India J Rhinehardt
Address Redacted


Indian Country
P.O. Box 433165
Palm Coast, FL 32143‐9704


Indian Country Today
Four Directions Media
3059 Seneca Turn Pike
Canastota, NY 13032


Indian Creek Community Church
Heart of America Council 307
12480 S Blackbob Rd
Olathe, KS 66062


Indian Creek Elementary PTA
Atlanta Area Council 092
724 N Indian Creek Dr
Clarkston, GA 30021


Indian Creek Elementary School
Crossroads of America 160
10833 E 56th St
Indianapolis, IN 46235
Indian Creek Primitive Baptist
Greater Alabama Council 001
380 Indian Creek Rd Nw
Huntsville, AL 35806


Indian Creek Primitive Baptist Church
Greater Alabama Council 001
380 Indian Creek Rd Nw
Huntsville, AL 35806


Indian Falls Utd Methodist Mens Group
Iroquois Trail Council 376
7908 Alleghany Rd
Corfu, NY 14036


Indian Head Baptist Church
National Capital Area Council 082
27 Raymond Ave
Indian Head, MD 20640


Indian Hill PTO
Dan Beard Council, Bsa 438
6100 Drake Rd
Cincinnati, OH 45243


Indian Hill Rangers Boy Scout Camp Inc
Dan Beard Council, Bsa 438
7851 Shawnee Run Rd
Cincinnati, OH 45243


Indian Hills Cc Mens Soccer
Mid Iowa Council 177
525 Grandview Ave
Ottumwa, IA 52501


Indian Hills Friends Of Scouting
Mississippi Valley Council 141 141
501 Harrison Hills
Quincy, IL 62301


Indian Lake Community Church
Tecumseh 439
P.O. Box 457
Russells Point, OH 43348


Indian Lakes Assoc
Tidewater Council 596
5202 Halifax Dr
Virginia Beach, VA 23464


Indian Mills Volunteer Fire Co
Garden State Council 690
48 Willow Grove Rd
Shamong, NJ 08088


Indian Motorcycle International, LLC
Attn General Counsel
2100 Hwy 55
Medina, MN 55340


Indian Nations
4295 S Garnett Rd
Tulsa, OK 74146‐4261


Indian Nations Cncl 488
4295 S Garnett Rd
Tulsa, OK 74146


Indian Nations Council 488
4295 S Garnett Rd
Tulsa, OK 74146


Indian Riffle PTO
Miami Valley Council, Bsa 444
3090 Glengarry Dr
Kettering, OH 45420


Indian River County Sheriffs Office
Gulf Stream Council 085
4055 41st Ave
Vero Beach, FL 32960
Indian River Lions Club
President Gerald R Ford 781
4439 M 68 Hwy
Indian River, MI 49749


Indian River Presbyterian Church
Gulf Stream Council 085
2499 Virginia Ave
Fort Pierce, FL 34982


Indian Run Elementary PTO
Simon Kenton Council 441
80 W Bridge St
Dublin, OH 43017


Indian Run Utd Methodist Church
Simon Kenton Council 441
6305 Brand Rd
Dublin, OH 43016


Indian Trail School Club
Rainbow Council 702
20912 S Frankfort Square Rd
Frankfort, IL 60423


Indian Trails
109 E Comstock St
Owosso, MI 48867


Indian Valley Meats Inc
Hc 52 P.O. Box 8809
Indian, AK 99540


Indian Village, Inc
2209 W Hwy 66
Gallup, NM 87301


Indian Waters
P.O. Box 144
Columbia, SC 29202‐0144
Indian Waters Cncl 553
715 Betsy Dr
P.O. Box 144
Columbia, SC 29202‐0144


Indian Waters Council, Bsa
P.O. Box 144
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35 S Park Blvd
Greenwood, IN 46143


Indiana Convention Center‐Utility Dept
100 S Capitol Ave
Indianapolis, IN 46225


Indiana Dept Of Revenue
P.O. Box 7231
Indianapolis, IN 46207‐7231


Indiana Dept Of Workforce Development
10 N Senate Ave, Se106
Indianapolis, IN 46204‐2277


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Anthony Wayne Area 157
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Indiana Sal Post 10
Sagamore Council 162
1700 S Pennsylvania St
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Indiana Secretary Of State
302 W Washington St
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Corporations Div
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Indiana State University
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Indiana University
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P.O. Box 78000
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Bloomington, IN 47405


Indiana University Athletics
c/o Championship Catering
1001 E 17th St
Bloomington, IN 47408


Indiana University Iu Conferences
P.O. Box 6212
Indianapolis, IN 46206‐6212


Indiana University Of Pennsylvania
John Sutton Hall, Rm 425
1011 S Dr
Indiana, PA 15705‐1046


Indiana University‐Bloomington
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Poplars Bldg 400 E 7th St
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Indiana University‐Purdue University
Attn Office of Student Scholarships
Indianapolis
P.O. Box 6035
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4201 S Washington St
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Crossroads of America 160
555 N New Jersey St
Indianapolis, IN 46204


Indianapolis Marriott Downtown
350 W Maryland St
Indianapolis, IN 46225


Indianapolis Metro Police Explorers
Crossroads of America 160
901 N Post Rd
Indianapolis, IN 46219


Indianapolis Metropolitan Police Dept
Crossroads of America 160
50 N Alabama St
Indianapolis, IN 46204


Indianapolis Power   Light
Crossroads of America 160
11 Monument Cir
Indianapolis, IN 46204


Indianapolis Zoo
Crossroads of America 160
1200 W Washington St
Indianapolis, IN 46222


Indianola Rotary Club
Chickasaw Council 558
General Delivery
Indianola, MS 38749


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Gulf Stream Council 085
14563 SW Rake Dr
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Indianwaters Council‐Camp Barstow
Indian Waters Council 553
117 Camp Barstow Dr
Batesburg, SC 29006


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California Inland Empire Council 045
P.O. Box Eeee
Indio, CA 92202


Indoor Shooting Range
Golden Empire Council 047
13235 Grass Valley Ave, Ste B
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Industrial Disposal Co
P.O. Box 9001099
Louisville, KY 40290‐1099


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St Joseph, MI 49085


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East Syracuse, NY 13057


Industrial Revolution, Inc
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Tukwila, WA 98188


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431 Post Rd E, Ste 1
Westport, CT 06880


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Doral, FL 33122


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Orange, CA 92863


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Seneca Waterways 397
375 Rush Scottsville Rd
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Sam Houston Area Council 576
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Inez Eggers
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Greater Niagara Frontier Council 380
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Infinite Arms Inc
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101 W Brooks Ave
North Las Vegas, NV 89030
Infinity Management Inc
P.O. Box 2410
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Infinity Management, Inc
84 Park Ave, Ste C‐101
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Infinity Youth Group
Northern Star Council 250
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Inflatable Design Group
13350 SW 131 St, Unit 106
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Inflatable Services Inc
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South Texas Council 577
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Ingleside, TX 78362


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Inglewood, CA 90301
Inglewood Presbyterian Church
Chief Seattle Council 609
7718 NE 141st St
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Ingomar Utd Methodist Church
Laurel Highlands Council 527
1501 W Ingomar Rd
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Emergency Ambulance Service, Inc
Laurel Highlands Council 527
40 W Prospect Ave
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P.O. Box 936194
Atlanta, GA 31193‐6194


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Chattaroy, WA 99003


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37417 N Conklin St
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Spokane, WA 99201‐2243


Inland Northwest Camp Easton
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411 W Boy Scout Way
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Inman, SC 29349


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3700 NW 124th Ave
Coral Springs, FL 33065


Inmotion Imaging
922 Dragon St
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Heritage Hotels Fredericksburg LLC
308 S Washington St
Fredericksburg, TX 78624


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One Antler Hill Rd
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Inn On The River
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Glen Rose, TX 76043


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Innovative Sign Group LLC
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Fifth Third Bank
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Grand Forks, ND 58208‐3471


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Narberth, PA 19072


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4810 Rowan Rd
Knoxville, TN 37912


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Cupertino, CA 95014


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1773 Doane Ave
Mountain View, CA 94043


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Dr. Alan Seay
8225 Bruton Rd
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Inspired Vision Church
Circle Ten Council 571
9424 Military Pkwy
Dallas, TX 75227


Inspired Vision Secondary
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Holistic Ctr c/o James C Daulton
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Albuquerque, NM 87108


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New York, NY 10006


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Us Chamber of Commerce
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Washington, DC 20062


Institute For Crisis Management
455 S 4th St, Ste 1490
Louisville, KY 40202


Institute For Educational Leadership
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4455 Connecticut Ave NW, Ste 310
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Intercontinental Hotels Group
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dba Staybridge, Ste S Dallas
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Intercultural Montessori Language School
Pathway To Adventure 456
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John C Morris
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Interface Eap
2424 Wilcrest Dr, Ste 230
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Interface Eap Inc
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Internal Revenue Service
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Internal Revenue Service
Irs Ogden
Ogden, UT 84201‐0039


Internal Revenue Service
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Internal Revenue Service
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Internal Revenue Service
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1111 Constitution Ave NW, Ir‐6526
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International Schools Group‐ Jubail PTO
Transatlantic Council, Bsa 802
P.O. Box 10059
Isg Jubail,
Saudi Arabia


International Sports Images
143 Churchill Ave
Palo Alto, CA 94301


International Sports Specialists, Inc
45 N Main, Ste 302
Logan, UT 84321


International Textile Goup Inc
P.O. Box 101876
Atlanta, GA 30392‐1876


International Translating Co
299 S Main St, Ste 1300
Salt Lake City, UT 84111


International Wolf Center
1396 Hwy 169
Ely, MN 55731


International Wolf Center
7100 Nland Cir N, Ste 205
Minneapolis, MN 55428


Internet Escrow Services
16251 Laguna Canyon Rd, Ste 150
Irvine, CA 92618‐3603


Internet Exposure
1101 Washington Ave S
Minneapolis, MN 55415


Interpretive Graphics Sings      Systems In
3590 E Summerhill Dr
Salt Lake City, UT 84121


Interstate All Battery Center
c/o Retail Acquisition     Development
P.O. Box 3244
Des Moines, IA 50316


Interstate Battery System Of So Wv
457 Enterprise Dr
Gassaway, WV 26624


Interstate Locksmith Inc
2277 Route 33 E, Ste 407
Hamilton, NJ 08690


Interstate Restoration LLC
3401 Quorum Dr, Ste 300
Ft Worth, TX 76137


Interstate Waste Services Of Pa
P.O. Box 288
Sloatsburg, NY 10974


Intertek Certification Gmbh
Hanns‐Martin‐Schleyer‐Str 2
Monchengladbach, 41199
Germany


Intertek Consumer Goods Na
545 E Algonquin Rd, Ste F
Arlington Heights, IL 60005


Intertek De Guatemala
20 Calle 26‐30 Zona 10
Centro Empresarial Pradera Bodega 4
Guatemala


Intertek Do Brasil Inspecoes Ltda
Av Eng Augusto Barata S/N
Port of Alemoa
Santos, Sp 11095650
Brazil


Intertek Labtest South Africa Ltd
9th Fl 2 Long St
Cape Town, 8001
South Africa


Intertek Labtest Uk Limited
Centre Court
Meridian Business Park
Leicester, Le19 1Wd
United Kingdom


Intertek Poland Sp Z O O
Jutrzenki 177
Warszawa, 02231
Poland


Intertek Testing Service De Mexico Sa
Poniente 134 No 660 Col
Industrial Vallejo
Mexico, Df, C.P. 02300
Mexico


Intertek Testing Services Ltd Shanghai
4/F, No 2 Bldg Shanghai
Comalong Ind Park
Shanghai, 200233
China


Intertek Testingservices Cambodia Co Ltd
House No 9 St 400
Sangkat Beoung Keng Kang I
Khan Chamkarmon
Phnom Penh, Kampuchea
Cambodia


Intex Inc
C2 Construction Inc
11981 Classic P.O. Box 1886
Forney, TX 75126


Intex Recreation Corp
P.O. Box 1440
Long Beach, CA 90801
Inti Acadmey Of Manchester Ltd
Daniel Webster Council, Bsa 330
72 Concord St
Manchester, NH 03101


Intimidad Con Dios
Sam Houston Area Council 576
3131 F M 2920 Rd
Spring, TX 77388


Intl Assoc Of Business Communicators
601 Montgomery St, Ste 1900
San Francisco, CA 94111


Intl Assoc Of Privacy Professionals
Pease International Tradeport
75 Rochester Ave, Ste 4
Portsmouth, NH 03801


Intl Business Machines Corp     Ibm
1 New Orchard Rd
Armonk, Ny 10504‐1722


Intl Business Machines Corp     Ibm
Attn Legal Dept
1 New Orchard Rd
Armonk, Ny 10104‐1722


Intl Business Machines Corp     Ibm
Attn Legal Dept
1 New Orchard Rd
Armonk, Ny 10504‐1722


Intl Catholic Committe On Scouting
Attn Francesca De Laura
Piazza Paoli 18
Roma, 00186
Italy


Intl Council For The Envt Inc
Garden State Council 690
3111 Route 38, Ste 11
Larchmont Commons
Mount Laurel, Nj 08054


Intl Order Alehambra Sancho Caravan 261
Great Lakes Fsc 272
41358 Trevor Ct
Sterling Hts, Mi 48313


Intl Protestant Ch Zurich
Transatlantic Council, Bsa 802
Zeltweg 20
Zurich, 8032
Switzerland


Intl School Of Beijing Isb
Far E Council 803
10 An Hua St,
Shunyi District,
China


Intown Community Church
Atlanta Area Council 092
2059 Lavista Rd Ne
Atlanta, GA 30329


Intravest Trust ‐ Fidelity
48 Wall St
New York, NY 10005‐2901


Intronetworks Inc
1280 Coast Village Cir, Ste B
Montecito, CA 93108


Intuit Inc
2700 Coast Ave
Mountain View, CA 94043


Inver Grove Heights Fire Dept
Northern Star Council 250
7015 Clayton Ave
Inver Grove Heights, MN 55076
Inver Grove Hgts Police Dept
Northern Star Council 250
8150 Barbara Ave
Inver Grove Heights, MN 55077


Invesco Real Estate Fund Iii, LP
c/o Iri Fund III, L.P.
Attn Melissa Neckar
13155 Noel Rd
Dallas, TX 75240


Involved Parents Of East Manatee
Southwest Florida Council 088
12570 Cara Cara Loop
Bradenton, FL 34212


Inwhatlanguage LLC
3007 S W Temple, Ste L
Salt Lake City, UT 84115


Iodin Security Assoc
4055 Valley View Lane, Ste 150
Farmers Branch, TX 75244


Iolani School
Aloha Council, Bsa 104
563 Kamoku St
Honolulu, HI 96826


Iomas Institute Of Finance      Management
1 Sound Shore Dr, Ste 100
Greenwich, CT 06830


Iona C Davis
Address Redacted


Iona Prep Lower School
Westchester Putnam 388
173 Stratton Rd
New Rochelle, NY 10804
Iona Prep School
Westchester Putnam 388
255 Wilmot Rd
New Rochelle, NY 10804


Iona Preparatory School
255 Wilmot Rd
New Rochelle, NY 10804


Ione Business Community Assoc
Golden Empire Council 047
P.O. Box 637
Ione, CA 95640


Ioof Fort Lupton 100
Longs Peak Council 062
701 3rd Ave
Fort Lupton, CO 80621


Ioof Lodge 50 Montezuma
Cascade Pacific Council 492
P.O. Box 278
Hillsboro, OR 97123


Ioof Odd Fellows Ben Hur Lodge 870
Commty
Church OF Richmond
Blackhawk Area 660
5700 Hill Rd
Richmond, Il 60071


Iosafe
12760 Earhart Ave
Auburn, CA 95602


Iosepa Electric
Aloha Council, Bsa 104
55‐483 Iosepa St
Laie, HI 96762
Iota‐Egan Lions Club
Evangeline Area 212
1623 Connie Rd
Iota, LA 70543


Iowa Child Support Collections Svcs Cntr
P.O. Box 9125
Des Moines, IA 50306‐9125


Iowa Dept Of Revenue And Finance
P.O. Box 10412
Des Moines, IA 50306‐0412


Iowa Dept. Of Revenue And Finance
P. O. Box 10412
Des Moines, IA 50306‐0412


Iowa Secretary Of State
Business Services Div
Lucas Bldg 1st Fl
Des Moines, IA 50319


Iowa State Treasurer
Attn Unclaimed Property Div
P.O. Box 10430
Des Moines, IA 50306‐0005


Iowa State University
Attn Student Financial Aid Office
Room 0210 Beardshear Hall
Ames, IA 50011‐2028


Iowa State University
Attn Treasurers Office
1220 Beardshear Hall
Ames, IA 50011‐2044


Iowa Workforce Development
1000 E Grand Ave
Des Moines, IA 50319‐0220
Ip Sarge Bell Memorial Vfw Post 3377
Capitol Area Council 564
P.O. Box 808
Manchaca, TX 78652


Ipa
7200 France Ave S, Ste 223
Edina, MN 55435


Ipma
710 Regency Dr, Ste 6
Kearney, MO 64060


Ipromoteu
Dept La 23232
Pasadena, CA 91185‐3232


Ips 109 Jonathan Jennings Elementary
Crossroads of America 160
3725 N Kiel Ave
Indianapolis, IN 46224


Ips 114 Sn
Crossroads of America 160
2251 Sloan Ave
Indianapolis, IN 46203


Ips 102 Francis Bellamy Elem School
Crossroads of America 160
9501 E 36th Pl
Indianapolis, IN 46235


Ips 105 After School
Crossroads of America 160
8620 Montery Rd
Indianapolis, IN 46226


Ips 105 Charles Fairbanks School
Crossroads of America 160
8620 Montery Rd
Indianapolis, IN 46226
Ips 106 Robert Lee Frost School
Crossroads of America 160
5301 Roxbury Rd
Indianapolis, IN 46226


Ips 107 After School
Crossroads of America 160
3307 Ashway Dr
Indianapolis, IN 46224


Ips 114 Paul I Miller School
Crossroads of America 160
2251 Sloan Ave
Indianapolis, IN 46203


Ips 14 Washington Irving School
Crossroads of America 160
1250 E Market St
Indianapolis, IN 46202


Ips 15 Thomas Gregg Es After School
Crossroads of America 160
2302 E Michigan St
Indianapolis, IN 46201


Ips 19 After School
Crossroads of America 160
2020 Dawson St
Indianapolis, IN 46203


Ips 39 After School
Crossroads of America 160
1173 Spann Ave
Indianapolis, IN 46203


Ips 43 After School
Crossroads of America 160
150 W 40th St
Indianapolis, IN 46208


Ips 43 James Whitcomb Riley Schol
Crossroads of America 160
150 W 40th St
Indianapolis, IN 46208


Ips 46 Daniel Webster Elem
Crossroads of America 160
1450 S Reisner St
Indianapolis, IN 46221


Ips 48 Russell Elementary School
Crossroads of America 160
3445 Central Ave
Indianapolis, IN 46205


Ips 49 William Penn Elem After Sch
Crossroads Of America 160
1720 W Wilkins St
Indianapolis, In 46221


Ips 49 William Penn Elementary School
Crossroads of America 160
1720 W Wilkins St
Indianapolis, IN 46221


Ips 51 James Russekll Lowell   Lfl
Crossroads of America 160
3426 Roosevelt Ave
Indianapolis, IN 46218


Ips 54 After School
Crossroads of America 160
3150 E 10th St
Indianapolis, IN 46201


Ips 58 After School
Crossroads of America 160
321 N Linwood Ave
Indianapolis, IN 46201


Ips 58 Ralph Waldo Emerson Elem School
Crossroads of America 160
321 N Linwood Ave
Indianapolis, IN 46201


Ips 61 Farrington Es After School
Crossroads of America 160
4326 Patricia St
Indianapolis, IN 46222


Ips 63 Wendell Phillips After School
Crossroads of America 160
1163 N Belmont Ave
Indianapolis, IN 46222


Ips 74 After School
Crossroads of America 160
1601 E 10th St
Indianapolis, IN 46201


Ips 79 After School
Crossroads of America 160
5002 W 34th St
Indianapolis, IN 46224


Ips 91 Rousseau Mcclellan
Crossroads of America 160
5111 Evanston Ave
Indianapolis, IN 46205


Ips 91 Rousseau Mcclelland
Crossroads of America 160
5111 Evanston Ave
Indianapolis, IN 46205


Ips 93 After School
Crossroads of America 160
7151 E 35th St
Indianapolis, IN 46226


Ips Educators
Great Trail 433
400 W Market St
Akron, OH 44313
Iq‐Company Usa Inc
4085 Hancock Bridge Pkwy, Suite 111‐289
North Ft Myers, FL 33903


Ira Combs
Address Redacted


Ira Lipson C/O Mary Collins Agency
2909 Cole Ave, Ste 250
Dallas, TX 75204


Iran Maisonet
Address Redacted


Iran Smith
Address Redacted


Irby Small Jr
Address Redacted


Irc Retail Centers
814 Commerce Dr, 300
Oak Brook, IL 60523


Irc Retail Centers
Lease 1854
75 Remittance Dr, Dept 3128
Chicago, IL 60675‐3128


Iredell County Sherrif S Office
Piedmont Council 420
P.O. Box 287
Statesville, NC 28687


Iredell Memorial Hospital
Piedmont Council 420
557 Brookdale Dr
Statesville, NC 28677
Ireland Stapleton Pryor   Pascoe PC
1675 Broadway, Ste 2600
Denver, CO 80202


Irene Bogart
Address Redacted


Irene Castro
Address Redacted


Irene Cheney
Address Redacted


Irene Craig
Address Redacted


Irene Curry
Address Redacted


Irene Dehollander
Address Redacted


Irene Fujimoto
Address Redacted


Irene Hafelfinger
Address Redacted


Irene Kariithi
Address Redacted


Irene Nazak
Address Redacted


Irene Reyes
Address Redacted


Irene Snyder
Address Redacted


Irene Szinavel
Address Redacted


Irion County Lions Club
Texas Swest Council 741
2702 County Rd 202
Mertzon, TX 76941


Iris Cheatham
Address Redacted


Iris Houston
Address Redacted


Iris Lopez
Address Redacted


Iris Wilhelm‐Norseth
Address Redacted


Irma Lee
Address Redacted


Irma Martinez
Address Redacted


Irma Shields
Address Redacted


Irma Styers
Address Redacted


Irmo Ward LDS
Indian Waters Council 553
201 Lyndhurst Rd
Columbia, SC 29212
Irmo Ward LDS
Indian Waters Council 553
7449 Broad River Rd
Irmo, SC 29063


Iron Cactus Mexican Grill
Margarita Bar
1520 Main St
Dallas, TX 75006


Iron Gate Industries, LLC
Alamo Area Council 583
6803 Lendell St
San Antonio, TX 78249


Iron Horse Welding, LLC
P.O. Box 1521
Peralta, NM 87042


Iron Impressions Inc
128 Spratt Dr
Mount Holly, NC 28120


Iron Mountain
7277 N Haggerty Rd
Canton, MI 48187


Iron Mountain
P.O. Box 915026
Dallas, TX 75391‐5026


Iron Mountain Inc
P.O. Box 915004
Dallas, TX 75391‐5004


Iron Mtn Information Mgt, LLC
7277 N Haggerty Rd
Canton, Mi 48187


Iron Oakes Fencing
7908 US Hwy 169
Bovey, MN 55709


Iron Port Systems
950 Elm Ave
San Bruno, CA 94066


Irondale Methodist Church
Ohio River Valley Council 619
Morgan St
Irondale, OH 43932


Irondale Utd Methodist Church
Greater Alabama Council 001
400 Deering St
Birmingham, AL 35210


Irondequoit Rotary Club
Seneca Waterways 397
125 Eman Est
Rochester, NY 14622


Irondequoit Utd Church Of Christ
Seneca Waterways 397
644 Titus Ave
Rochester, NY 14617


Ironville Utd Methodist Church
Pennsylvania Dutch Council 524
4020 Holly Dr
Columbia, PA 17512


Ironwood Ward ‐ LDS Marana Stake
Catalina Council 011
3500 W Sumter Dr
Tucson, AZ 85742


Iroquois Community School PTO
Pathway To Adventure 456
1836 E Touhy Ave
Des Plaines, IL 60018
Iroquois Point Elementary Ptsa
Aloha Council, Bsa 104
5553 Cormorant Ave
Ewa Beach, HI 96706


Iroquois Products
2220 W 56th St
Chicago, IL 60636


Iroquois Trail
201 E Main St
Batavia, NY 14020


Iroquois Trail Council Bsa
201 E Main St
Batavia, NY 14020


Iroquois Trl Cncl 376
201 E Main St
Batavia, NY 14020


Irrigation Holdings LLC
dba Irrigation Research      Design
P.O. Box 17993
Richmond, VA 23226


Irs
310 Lowell St, Stop 830
Andover, MA 01810


Irs Compliance, Inc
P.O. Box 1209
Bel Air, MD 21014


Irs Nationwide Tax Forums
c/o Enterprise Services   Technologies
1010 Wayne Ave, Ste 420
Silver Spring, MD 20910


Irs Nationwide Tax Forums 09
Waterfront Ctr, Ste 650
1010 Wisconsin Ave Nw
Washington, DC 20007


Irvan‐Smith Inc
1027 Central Dr
Concord, NC 28027


Irvin Parish
Address Redacted


Irvine Co
Orange County Council 039
111 Innovation Dr
Irvine, CA 92617


Irvine Inline
Orange County Council 039
3150 Barranca Pkwy
Irvine, CA 92606


Irvine Marriott Inc
18000 Von Karman Ave
Irvine, CA 92612‐1004


Irvine Police Dept
Orange County Council 039
1 Civic Center Plz
Irvine, CA 92606


Irvine Presbyterian Church
Chief Cornplanter Council, Bsa 538
P.O. Box 124
Irvine, PA 16329


Irvine Ranch Outdoor Education Ctr
2 Irvine Park Rd
Orange, CA 92869


Irvine Utd Congregation Church
Orange County Council 039
4915 Alton Pkwy
Irvine, CA 92604


Irvine Utd Methodist Church
Blue Grass Council 204
243 Main St
Irvine, KY 40336


Irvine‐Ravenna Kiwanis Club
Blue Grass Council 204
207 5th St
Ravenna, KY 40472


Irving Arts Center
3333 N Macarthur Blvd
Irving, TX 75062


Irving False Alarm Reduction Program
P.O. Box 840534
Dallas, TX 75284


Irving Grange 377
Oregon Trail Council 697
P.O. Box 40537
Eugene, OR 97404


Irving High School Usmc Jrotc
Circle Ten Council 571
900 N O Connor Rd
Irving, TX 75061


Irving Independent School District
3620 Valley View Ln
Irving, TX 75062


Irving North Christian Church
Circle Ten Council 571
2901 N Macarthur Blvd
Irving, TX 75062


Irving Orthopedics And Sports
2120 N Macarthur Blvd
Irving, TX 75061


Irving Park Lutheran Church
Pathway To Adventure 456
3938 W Belle Plaine Ave
Chicago, IL 60618


Irving Park Parents Assoc
Old N State Council 070
1401 Roanoke Dr
Greensboro, NC 27408


Irving Park Utd Methodist Church
Old N State Council 070
1510 W Cone Blvd
Greensboro, NC 27408


Irving Police Dept
Circle Ten Council 571
305 N O Connor Rd
Irving, TX 75061


Irving Quiles
1247 Old Camp Meade Rd
Severn, MD 21144


Irving School PTA
Northeast Iowa Council 178
2520 Pennsylvania Ave
Dubuque, IA 52001


Irving School PTO
Housatonic Council, Bsa 069
9 Garden Pl
Derby, CT 06418


Irving School PTO
Mid Iowa Council 177
500 W Clinton Ave
Indianola, IA 50125
Irving School PTO
Oregon Trail Council 697
3200 Hyacinth St
Eugene, OR 97404


Irving Upshaw
Address Redacted


Irving Willis
Address Redacted


Irving‐Postmaster
Attn Postage Due, Usps
Irving, TX 75015


Irvington Community School
Crossroads of America 160
6705 Julian Ave
Indianapolis, IN 46219


Irvington Presbyterian Church
Westchester Putnam 388
25 N Broadway
Irvington, NY 10533


Irvington Public Safety
Northern New Jersey Council, Bsa 333
1 Civic Savare
Irvington, NJ 07111


Irvington Utd Methodist Church
Crossroads of America 160
30 N Audubon Rd
Indianapolis, IN 46219


Irwin Albrecht
Address Redacted


Is Construction Group LLC
dba Innovative Services
3009 Sandy Ln
Ft Worth, TX 76112


Isaa C Ferguson
Address Redacted


Isaac Campbell Sr Community Center
Central Florida Council 083
701 S St
Titusville, FL 32780


Isaac D Schmied
Address Redacted


Isaac Fox School PTO
Pathway To Adventure 456
395 W Cuba Rd
Lake Zurich, IL 60047


Isaac Ivery
Address Redacted


Isaac James Ekstrom
Address Redacted


Isaac James Olona
Address Redacted


Isaac James Peterson
Address Redacted


Isaac M Ansell
Address Redacted


Isaac M Brodrick
Address Redacted


Isaac Manuel Lopez
Address Redacted
Isaac N Esty
Address Redacted


Isaac Ptacek
Address Redacted


Isaac R Tamayo
Address Redacted


Isaac T Grosner
Address Redacted


Isaac T Irlbeck
Address Redacted


Isaac W W Kelly
Address Redacted


Isaac Walten League Of America
National Capital Area Council 082
26430 Mullinix Mill Rd
Mount Airy, MD 21771


Isaacs Design Inc
201 Ansin Blvd
Hallandle Beach, FL 33009


Isaacs, Rollin Lee PTO Harris
Sam Houston Area Council 576
3830 Pickfair St
Houston, TX 77026


Isabel A Hogg
Address Redacted


Isabel Diaz
Address Redacted
Isabel M Taylor
Address Redacted


Isabelle C Herde
Address Redacted


Isabelle Stafford
Address Redacted


Isaca
1055 Paysphere Cir
Chicago, IL 60674


Isadora Gelb
Address Redacted


Isaiah D Woodruff
Address Redacted


Isaiah Easterling
Address Redacted


Isaiah Martin
Address Redacted


Isaiah Reaves‐Mcbride
Address Redacted


Isaias Ortega Iii
Address Redacted


Isaleen Montgomery
Address Redacted


Isanti County Law Enforcement
Northern Star Council 250
2440 Main St S
Cambridge, MN 55008
Isanti Lions Club
Northern Star Council 250
P.O. Box 1
Isanti, MN 55040


Isbister PTO
Great Lakes Fsc 272
9300 N Canton Center Rd
Plymouth, MI 48170


Isco Industries
1974 Solutions Center
Chicago, IL 60677‐1009


Iselin Fire District 9
Patriots Path Council 358
1222 Green St
Iselin, NJ 08830


Isg Jubail Parent Teacher Organization
Transatlantic Council, Bsa 802
P.O. Box 10059
Jubail Industrial City, 31961
Saudi Arabia


Isi Commercial Refrigeration Inc
P.O. Box 654020
Dallas, TX 75265‐4020


Isi Telemanagement Solutions LLC
1051 Perimeter Dr, Ste 200
Schaumburg, IL 60173


Isi Telemanagement Solutions LLC
P.O. Box 206605
Dallas, TX 75320‐6605


Isi Telemanagement Solutions, LLC
P.O. Box Services 206605
2975 Regent Blvd
Irving, TX 75063


Isiah A Duran
Address Redacted


Isla Hoffman
Address Redacted


Islamic Center Of East Brunswick
Monmouth Council, Bsa 347
402 New Brunswick Ave
East Brunswick, NJ 08816


Islamic Center Of Long Island
Theodore Roosevelt Council 386
835 Brush Hollow Rd
Westbury, NY 11590


Islamic Center Of Morris County
Patriots Path Council 358
1 Mannino Dr
Rockaway, NJ 07866


Islamic Center Of Naperville
Three Fires Council 127
2844 W Ogden Ave
Naperville, IL 60540


Islamic Center Of Olympia
Pacific Harbors Council, Bsa 612
4324 20th Ln Ne
Olympia, WA 98516


Islamic Center Of Orlando
Central Florida Council 083
11543 Ruby Lake Rd
Orlando, FL 32836


Islamic Center Of Tri‐Cities
Blue Mountain Council 604
2900 Bombing Range Rd
West Richland, WA 99353


Islamic Community Center Of Potomac
National Capital Area Council 082
10601 River Rd
Potomac, MD 20854


Islamic Ctr Nern Virginia Trust
National Capital Area Council 082
4420 Shirley Gate Rd
Fairfax, Va 22030


Islamic Education Center
Sam Houston Area Council 576
2313 S Voss Rd
Houston, TX 77057


Islamic Soc Of Gsl/Bud Bailey   Refugee
Great Salt Lake Council 590
P.O. Box 12772
Salt Lake City, UT 84101


Islamic Society Boston Cultural Ctr
The Spirit Of Adventure 227
100 Malcolm X Blvd
Roxbury, Ma 02120


Islamic Society Of Baltimore
Baltimore Area Council 220
6631 Johnnycake Rd
Windsor Mill, MD 21244


Islamic Society Of Central Jersey Iscj
Monmouth Council, Bsa 347
P.O. Box 628
Monmouth Junction, NJ 08852


Islamic Society Of Central Virginia
Stonewall Jackson Council 763
708 Pine St
Charlottesville, VA 22903
Islamic Society Of Greater Lowell
The Spirit of Adventure 227
5 Courthouse Ln
Chelmsford, MA 01824


Islamic Society Of Greater Salt Lake
Great Salt Lake Council 590
P.O. Box 58844
Salt Lake City, UT 84158


Islamic Society Of New Tampa
Greater Tampa Bay Area 089
15830 Morris Bridge Rd
Thonotosassa, FL 33592


Islamorada Boat Center
81954 Overseas Hwy, Mm 82
Islamorada, FL 33036


Islamorada Carpet Cleaners, Inc
P.O. Box 55
Mile Marker 885
Islamorada, FL 33036


Islamorada Chamber Of Commerce
P.O. Box 915
Islamorada, FL 33036


Islamorada Fire Rescue
South Florida Council 084
81850 Overseas Hwy
Islamorada, FL 33036


Islamorada Fish Co LLC
P.O. Box 283
81532 Overseas Hwy
Islamorada, FL 33036


Islamorada Fishing Club
P.O. Box 22
Islamorada, FL 33036
Islamorada Pool Svc    Maint LLC
89210 Overseas Hwy
Tavernier, FL 33070


Islamorada Pool Svc    Maint LLC
dba Islamorada Pools
P.O. Box 238
Islamorada, FL 33036


Islamorada Village Of Islands
Attn Finance Dept Prepayments
P.O. Box 568
Islamorada, FL 33036


Island Adventure Yacht Mgmt Inc
2612 Whale Harbor Ln
Ft Lauderdale, FL 33312


Island Adventure Yacht Mgmt Inc
c/o Gerard Robinson
73800 Overseas Hwy
Islamorada, FL 33036


Island Bay Yacht Club Sailing Foundation
Abraham Lincoln Council 144
76 Yacht Club Rd
Springfield, IL 62712


Island Custom Embroidery Inc
82685 H Overseas Hwy
Islamorada, FL 33036


Island Escape Charters LLC
1241 Royal Oak Dr
Dunedin, FL 34698


Island Escape Charters LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036
Island Heights Volunteer Fire Co 1
Jersey Shore Council 341
P.O. Box 316
Island Heights, NJ 08732


Island Pacific Academy
Aloha Council, Bsa 104
909 Haumea St
Pack 50 Cub Scouts
Kapolei, HI 96707


Island Palm Communities
Aloha Council, Bsa 104
182 Kauhini Rd
Honolulu, HI 96818


Island Palm Communities Schofield
Aloha Council, Bsa 104
435 Ulrich Way
Schofield Barracks, HI 96786


Island Park Fire Dept
Theodore Roosevelt Council 386
19 Brighton Rd
Island Park, NY 11558


Island Pools
P.O. Box 326
Islamorada, FL 33036


Island Presbyterian Church
South Texas Council 577
14030 Fortuna Bay Dr
Corpus Christi, TX 78418


Island Tire Of The Florida Keys LLC
dba Island Tire
1326 107th St Gulf
Marathon, FL 33050
Island Tranquility, Inc
Garrison Bight Marina
711 Eisenhower Dr
Key W, Fl 33040


Island Trees Elementary PTA
Theodore Roosevelt Council 386
100 Robin Pl
Levittown, NY 11756


Island Utd Methodist Church
Lincoln Heritage Council 205
380 W Main St
Island, KY 42350


Island Village Montessori School
Southwest Florida Council 088
2001 Pinebrook Rd
Venice, FL 34292


Island Way Concessions Of Kentucky
1430 N Hwy 1793, Ste B
Prospect, KY 40059


Island X‐7 Seabee Veterans Of America
Ventura County Council 057
1442 Park Ave
Port Hueneme, CA 93041


Island Yacht Club
Alameda Council Bsa 022
1815 Clement Ave
Alameda, CA 94501


Islands Management Co LLC
7000 Holiday RdAttn Finance
Buford, GA 30518


Isle Of Faith Utd Methodist Church
North Florida Council 087
1821 San Pablo Rd S
Jacksonville, FL 32224
Isle Of Hope Utd Methodist Church
Coastal Georgia Council 099
412 Parkersburg Rd
Savannah, GA 31406


Isle Vfw Post
Central Minnesota 296
P.O. Box 177
Isle, MN 56342


Isle Vfw Post 2762
Central Minnesota 296
P.O. Box 177
Isle, MN 56342


Ismael Gomez
Address Redacted


Ismaili Jamatkhana
Three Fires Council 127
1847 La Salle Ave
Naperville, IL 60563


Isna Dept Bazaar
P.O. Box 38
Plainfield, IN 46168


Isolutions
1954 Airport Rd, Ste 230
Atlanta, GA 30341


Isoms Chapel Utd Methodist Church
Greater Alabama Council 001
16230 Mooresville Rd
Athens, AL 35613


Ispeak.Com Inc
dba Ispeak Or Ispeak Inc
3000 Joe Dimaggio Blvd, Ste 81
Round Rock, TX 78665
Israel Baptist Church
National Capital Area Council 082
1251 Saratoga Ave Ne
Washington, DC 20018


Israel Cobos
Address Redacted


Issaquah Highlands Council
Chief Seattle Council 609
2550 NE Park Dr
Issaquah, WA 98029


Isshiki   Co
Rookin‐Shinbashi Bldg 2‐12‐7, Shinbashi
Minato‐Ku, 13, 105‐0004
Japan


Istrouma Area
9644 Brookline Ave
Baton Rouge, LA 70809


Istrouma Area Cncl 211
9644 Brookline Ave
Baton Rouge, LA 70809‐1432


It S A Small World Elementary PTA
South Florida Council 084
4617 NW 22nd Ave
Miami, FL 33142


Itad Usa Holdings LLC
2029 Mckenzie Dr, Ste 100
Carrollton, TX 75006


Italian American Civic Org Berwyn
Pathway To Adventure 456
6710 16Th St
Berwyn, Il 60402
Italian Cultural Center, Inc
Baltimore Area Council 220
315 Homeland Sway
Baltimore, MD 21212


Itasca Lions Club
Three Fires Council 127
P.O. Box 14
Itasca, IL 60143


Ithaca Sunrise Rotary
Baden‐Powell Council 368
P.O. Box 6565
Ithaca, NY 14851


Ithaca Utd Methodist Church
Water and Woods Council 782
327 E Center St
Ithaca, MI 48847


Itn International, Inc
9696 S 500 W
Sandy, UT 84070


Its Canada Inc
1617 Colonization Rd W
Fort Frances, On P9A 2T9
Canada


Itu Inc
P.O. Box 88479
Milwaukee, WI 53288‐0479


Itw Food Equipment Group LLC
dba Hobart Service
P.O. Box 2517
Carol Stream, IL 60132‐2517


Itw Food Equipment Group LLC
Hobart Service
P.O. Box 2517
Carol Stream, IL 60132‐2517


Iu Golf Course
1001 E 17th St
Bloomington, IN 47408


Iu Health Ball Memorial Hospital
Crossroads of America 160
2401 W University Ave
Muncie, IN 47303


Iuc Whh Syracuse LLC
Doubletree By Hilton Syracuse
6301 Route 298
East Syracuse, NY 13057


Iuka Rotary Club
Yocona Area Council 748
408 W Quitman St
Iuka, MS 38852


Iupat District Counsil 15
Las Vegas Area Council 328
1701 Whitney Mesa Dr
Henderson, NV 89014


Iva Fire Dept
Blue Ridge Council 551
P.O. Box 84
Iva, SC 29655


Iva Wolfe
Address Redacted


Ivan Anderson
Address Redacted


Ivan Newfield
Address Redacted
Ivan Waldorf
Address Redacted


Ivanhoe Neighborhood Council
Heart of America Council 307
3700 Woodland Ave
Kansas City, MO 64109


Ivc Whh Pittsburgh, LLC
dba Pittsburgh Airport Marriott
777 Aten Rd
Coraopolis, PA 15108


Iveland Elementary PTO
Greater St Louis Area Council 312
1836 Dyer Ave
Saint Louis, MO 63114


Ivette Alvarez
Address Redacted


Ivey Lane Rec Site
Central Florida Council 083
291 Silverton St
Orlando, FL 32811


Ivey Memorial Utd Methodist Church
Heart of Virginia Council 602
17120 Jefferson Davis Hwy
South Chesterfield, VA 23834


Ivory Johns
Address Redacted


Ivy Academy
Cherokee Area Council 556
8443 Dayton Pike
Soddy Daisy, TN 37379


Ivy Drive School P T A
Connecticut Rivers Council, Bsa 066
160 Ivy Dr
Bristol, CT 06010


Ivy Howard
Address Redacted


Ivy Tech Community College Of Indiana
3800 N Anthony Blvd
Fort Wayne, IN 46805


Izaak Walton League
Gamehaven 299
1546 58th St Sw
Owatonna, MN 55060


Izaak Walton League
Hawkeye Area Council 172
5401 42nd St Ne
Cedar Rapids, IA 52411


Izaak Walton League
Orange County Council 039
1280 N Harbor Blvd
Fullerton, CA 92832


Izaak Walton League
Sagamore Council 162
1046 N State Rd 17
Logansport, IN 46947


Izaak Walton League ‐ Ames
Mid Iowa Council 177
P.O. Box 148
Ames, IA 50010


Izaak Walton League America Alexandria
National Capital Area Council 082
2729 Garrisonville Rd
Stafford, Va 22556


Izaak Walton League America Eugene Ch
Oregon Trail Council 697
P.O. Box 2247
Eugene, Or 97402


Izaak Walton League Arlington
Fairfax Chapter
National Capital Area Council 082
P.O. Box 366
Arlington Fairfax Chapter
Centreville, Va 20122


Izaak Walton League Arlington
Fairfax Chapter
National Capital Area Council 082
P.O. Box 366
Centreville, Va 20122


Izaak Walton League Bcc
National Capital Area Council 082
Izaak Walton League Way
Poolesville, MD 20837


Izaak Walton League Berkeley Co Chapter
Shenandoah Area Council 598
P.O. Box 1212
Martinsburg, WV 25402


Izaak Walton League Of America
Anthony Wayne Area 157
17100 Griffin Rd
Huntertown, IN 46748


Izaak Walton League Of America
Dan Beard Council, Bsa 438
450 Beissinger Rd
Hamilton, OH 45013


Izaak Walton League Rockville Chapter
National Capital Area Council 082
18301 Waring Station Rd
Germantown, MD 20874
Izaak Walton League/ Roc
National Capital Area Council 082
18301 Waring Station Rd
Germantown, MD 20874


Izabelle A Zager
Address Redacted


J   C Crazy 8 Creations
Greater Tampa Bay Area 089
9058 Mccormick St
Spring Hill, FL 34608


J   L Heating
Columbia‐Montour 504
442 Hollow Rd
Bloomsburg, PA 17815


J   M Design
40 Mountain Meadows Rd
Cimarron, NM 87714


J   M Scaffolds Of Florida Inc
dba J M Waste Services Inc
P.O. Box 1544
Key Largo, FL 33037


J   S Audio Visual Inc
P.O. Box 671170
Dallas, TX 75267‐1170


J A Larocco Enterprise Inc
743 Largo Rd
Key Largo, FL 33037


J A Printing, Inc
P.O. Box 1316
Cedar Rapids, IA 52406


J A Smith, Inc
P.O. Box 550
Fallston, NC 28042


J Allen Wallace Jr
Address Redacted


J And J Fabricating      Trailers Inc
801Ragland Rd
Beckley, WV 25801


J Angel Ministries Inc
Circle Ten Council 571
2408 Gilford St
Dallas, TX 75235


J B Nelson Grade School PTO
Three Fires Council 127
304 William Wood Ln
Batavia, IL 60510


J B Waddell General Contractors Inc
8621‐B Fairview Rd
Mint Hill, NC 28227


J Brett Harvey
Address Redacted


J Broyles
Address Redacted


J Bruce Mcdowell
Address Redacted


J C Penney
P.O. Box 530936
Atlanta, GA 30353‐0936


J Carey Keane
Address Redacted
J Carnell Gullett
Address Redacted


J Colin English Elementary School
Southwest Florida Council 088
120 Pine Island Rd
North Fort Myers, FL 33903


J Colleen Bromley
Address Redacted


J Conroy
Address Redacted


J D Italian Specialties
355 Applegarth Rd
Monroe, NJ 08831


J D Owen
Address Redacted


J Daniel Daniel Nelson
Address Redacted


J Daniel Nelson
Address Redacted


J David Gano
Address Redacted


J David Thompson
Address Redacted


J Dean Anderson
Address Redacted


J Devere Pomroy
Address Redacted
J E Hobbs PTO
Tukabatchee Area Council 005
P.O. Box 578
Camden, AL 36726


J Ellison
Address Redacted


J Erik Jonsson Community School ‐ PTA
Circle Ten Council 571
106 E 10th St
Dallas, TX 75203


J F Fixture Installers
502 Carl C Senter
Forney, TX 75126


J F Hurley Family Ymca
Central N Carolina Council 416
828 Jake Alexander Blvd W
Salisbury, NC 28147


J F Swartsel Lodge 251 F Am
Greater Tampa Bay Area 089
P.O. Box 1475
Lutz, FL 33548


J Franklin Bell Post 81
Theodore Roosevelt Council 386
91 Sherman Ave
Woodmere, NY 11598


J Garry Matson
Address Redacted


J H Brooks Parent Teacher Club
Laurel Highlands Council 527
1720 Hassam Rd
J H Brooks Elem. School
Moon Twp, PA 15108
J Hopper
Address Redacted


J Iverson Riddle Devtal Center
Piedmont Council 420
300 Enola Rd
Morganton, NC 28655


J J Computer Connection, Inc
P.O. Box 1815
Roswell, GA 30077‐1815


J J Keller   Assoc
3003 W Breezewood Ln
P.O. Box 548
Neenah, WI 54957‐0548


J J Lumber
4670 El Llano Rd
Las Vegas, NV 87701


J J Maguire ‐ American Legion Post 28
Daniel Webster Council, Bsa 330
43 Church St
Allenstown, NH 03275


J J Transportation Inc
P.O. Box 99415
Louisville, KY 40269‐0415


J Jesus Hernandez Dba Sonora Landscape
4809 W Kristal Way
Glendale, AZ 85308


J K Blake
Address Redacted


J Kent Brown
Address Redacted
J L Darling, LLC
Rite In the Rain
2614 Pacific Hwy E
Tacoma, WA 98424


J L Hardware Hank Ben Franklin Rental
128 E Chapman St
Ely, MN 55731


J L Long Middle School
Circle Ten Council 571
6116 Reiger Ave
Dallas, TX 75214


J L Power Lodge
Pine Burr Area Council 304
35 Parkertown Rd
Mc Henry, MS 39561


J Libcke
Address Redacted


J Lucas
Address Redacted


J Mallison
Address Redacted


J Miller
Address Redacted


J N Webb   Sons Ltd
930 5th St W
Fort Frances, On P9A 3C7
Canada


J P Morgan Chase
5530 N Macarthur Blvd
Irving, TX 75038
J R Corporate Sales
59‐21 Queens‐Midtown Expwy
Maspeth, NY 11378


J R Kuzma Painting Inc
2326 Montgomery St
Silver Spring, MD 20910


J Richard Thralls
Address Redacted


J S Morton Elempto/Faithful Shepherd PC
Mid‐America Council 326
2530 S 165th Ave
Omaha, NE 68130


J S Place
W D Boyce 138
219 Logan St
Emden, IL 62635


J Scott Menswear
443 Harvest Gate
Lake In the Hills, IL 60156


J Steven Taylor
Address Redacted


J Ted Theilig
Address Redacted


J Tiger Martial Arts
National Capital Area Council 082
10038 Spoint Pkwy
Fredericksburg, VA 22407


J Timothy Mohr
Address Redacted
J Timothy Smith
Address Redacted


J Torrey Hayden
Address Redacted


J Tyson
Address Redacted


J W Alvey Elementary School
National Capital Area Council 082
5300 Waverly Farm Dr
Haymarket, VA 20169


J W Cate Recreation Center
Greater Tampa Bay Area 089
5801 22nd Ave N
St Petersburg, FL 33710


J W Marriot Cancun Resort   Spa
Casamagna Marriott Cancun Resort
Blvd Kukulcan, Km 145, Lote 40‐A
Zona Hotelera
Cancun, Qroo, 77500
Mexico


J W Sport Shop
20 N Main
Fort Scott, KS 66701


J Walston Jr
Address Redacted


J William Copeland
Address Redacted


J. Fred Corriher Ymca
Central N Carolina Council 416
950 Kimball Rd
China Grove, NC 28023
J.E. Dubois Hose Co
Bucktail Council 509
301 1st St
Du Bois, PA 15801


J.E. Fisher American Legion Post 376
Muskingum Valley Council, Bsa 467
P.O. Box 135
Junction City, OH 43748


J.J. White Memorial Presbyterian Church
Andrew Jackson Council 303
110 3rd St
Mccomb, MS 39648


Ja Machuca Assoc Inc
Puerto Rico Council 661
285 PMB 1575
Ave Munoz Rivera
Ponce, PR 00717


Ja Swope Co
Heart of America Council 307
9311 W 81st Ter
Overland Park, KS 66204


Jabo Supply Corp
Attn A/R Dept
P.O. Box 238
Huntington, WV 25707


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Jacinta M Jackson
Address Redacted


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Jack Albert
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Carle Pl, NY 11514


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Jack Bassett Sr
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Jack Bohlka
Address Redacted


Jack Boyett
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Jack County Sheriff S Office
Longhorn Council 662
1432 Fm 3344
Jacksboro, TX 76458


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Jack Dillon
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Jack Furst
Address Redacted


Jack Graham
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Jack Green Assoc
242 W 36th St
New York, NY 10018


Jack H Hittson‐Smith
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Jack H Mccoy
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Jack Huggins
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Jack Johnson
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Jack Knox
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Jack Krautkramer
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Jack Lee
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Jack Looney
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Jack M Turnquest
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Jack Moore
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Jack Mosher
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Jack Murray
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Jack Nguyen
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Jack Pan
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Jack Peters
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Jack Preston
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Jack R Rodgers
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Jack R Young
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Jack Rhodes
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Jack Richmond Young
Address Redacted


Jack Robertson
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Jack Roegner
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Jack S S Queener
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Jack Schaefer
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Jack Skelton
Address Redacted


Jack Swanson Attachments
2134 Hwy 65
Mora, MN 55051


Jack Tyler Merrill
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Jack W Meuse
Address Redacted


Jackie Armstrong
Address Redacted


Jackie Faris
Address Redacted


Jackie Joyner Kersee Youth Foundation
Greater St Louis Area Council 312
101 Jackie Joyner Kersee Cir
East Saint Louis, IL 62204


Jackie L Mcdougall
Address Redacted


Jackie Moffit
Address Redacted


Jackie Pettit
Address Redacted


Jackie Sears Jr
Address Redacted


Jackie Torrence
Address Redacted
Jackie White
Address Redacted


Jacklyn S Rapport
Address Redacted


Jackson Academy
Andrew Jackson Council 303
4908 Ridgewood Rd
Jackson, MS 39211


Jackson B Graydon
Address Redacted


Jackson Career Technology School
West Tennessee Area Council 559
668 Lexington Ave
Jackson, TN 38301


Jackson Center
Central Florida Council 083
1002 Carter St
Orlando, FL 32805


Jackson Co Boys And Girls Club
Northeast Georgia Council 101
412 Gordon St
Jefferson, GA 30549


Jackson Co Sheriff S Office
Northeast Georgia Council 101
555 General Jackson Dr
Jefferson, GA 30549


Jackson Community Church
Daniel Webster Council, Bsa 330
127 Main St
Jackson, NH 03846


Jackson Compaction, LLC
6360 2nd St Nw
Albuquerque, NM 87107


Jackson County Lions Club
Longs Peak Council 062
P.O. Box
Walden, CO 80480


Jackson County Sheriff S Office
Southern Shores Fsc 783
212 W Wesley St
Jackson, MI 49201


Jackson Darby
Address Redacted


Jackson Elem School PTA
Last Frontier Council 480
520 Wylie Rd
Norman, OK 73069


Jackson Elementary P T O
Mid Iowa Council 177
3825 Indianola Ave
Des Moines, IA 50320


Jackson Elementary PTA
Greater Tampa Bay Area 089
502 E Gilchrist St
Plant City, FL 33563


Jackson Elementary PTA
Hawkeye Area Council 172
1300 38th St Nw
Cedar Rapids, IA 52405


Jackson Elks Lodge 2652
Greater St Louis Area Council 312
542 W Independence St
Jackson, MO 63755


Jackson Exchange Club
Southern Shores Fsc 783
1970 Kibby Rd
Jackson, MI 49203


Jackson Fire Dept Assoc
Bay‐Lakes Council 635
W204N16722 Jackson Dr
Jackson, WI 53037


Jackson Gaylord
Address Redacted


Jackson Hall Memorial Assoc
Chief Seattle Council 609
P.O. Box 1489
Silverdale, WA 98383


Jackson Heights School Parent Teachers
Twin Rivers Council 364
Jackson Ave
Glens Falls, NY 12801


Jackson Hendrix Jr
Address Redacted


Jackson Hole Adventure Rentals Inc
P.O. Box 3581
Jackson, WY 83001


Jackson Hole High School
P.O. Box 568
Jackson, WY 83001


Jackson Lewis, LLP
P.O. Box 416019
Boston, MA 02241‐6019


Jackson Lions Club
Golden Empire Council 047
3805 Buena Vista Rd
Ione, CA 95640
Jackson Malaney
Address Redacted


Jackson Mills Volunteer Fire Co
Jersey Shore Council 341
465B N County Line Rd
Jackson, NJ 08527


Jackson Moultrie Nietert
Address Redacted


Jackson Parish Sales Tax Collection
102 4th St
Jonesboro, LA 71251


Jackson Park Church Of The Brethren
Sequoyah Council 713
100 Oak Grove Ave
Jonesborough, TN 37659


Jackson Park PTO
Greater St Louis Area Council 312
7400 Balson Ave
University City, MO 63130


Jackson Park Yacht Club
Pathway To Adventure 456
6400 S Promontory Dr
Chicago, IL 60649


Jackson Police Dept
West Tennessee Area Council 559
234 Institute St
Jackson, TN 38301


Jackson R Baker
Address Redacted


Jackson R Lovelace
Address Redacted


Jackson R Wooten
Address Redacted


Jackson State University
P.O. Box 17280
Jackson, MS 17280


Jackson T Alexander
Address Redacted


Jackson T Heinzer
Address Redacted


Jackson Township Elementary School PTO
Crossroads of America 160
1860 E County Rd 600 N
Brazil, IN 47834


Jackson Township Police Dept
Buckeye Council 436
7383 Fulton Dr Nw
Massillon, OH 44646


Jackson Township PTO
Lasalle Council 165
811 N 400 E
Valparaiso, IN 46383


Jackson Township Station 55
Jersey Shore Council 341
113 N New Prospect Rd
Jackson, NJ 08527


Jackson Twp Police Dept
Jersey Shore Council 341
102 Jackson Dr
Jackson, NJ 08527
Jackson Twp Vol Fire Dept Of Luzerne Co
Northeastern Pennsylvania Council 501
1160 Chase Rd
Jackson Township, PA 18708


Jackson Utd Methodist Church
East Carolina Council 426
P.O. Box 767
Jackson, NC 27845


Jackson Utd Methodist Church
Flint River Council 095
409 E 3rd St
Jackson, GA 30233


Jackson Utd Methodist Church
Istrouma Area Council 211
P.O. Box 250
Jackson, LA 70748


Jackson Woods Presbyterian Church
South Texas Council 577
10500 Stonewall Blvd
Corpus Christi, TX 78410


Jackson‐Hirsh Inc
700 Anthony Trail
Northbrook, IL 60062‐2542


Jacksonville Applegate Rotary
Crater Lake Council 491
P.O. Box 1504
Jacksonville, OR 97530


Jacksonville Fire/Rescue
North Florida Council 087
2219 Burpee Dr
Jacksonville, FL 32210


Jacksonville Golf And Country Club
North Florida Council 087
3985 Hunt Club Rd
Jacksonville, FL 32224


Jacksonville Jewish Center
North Florida Council 087
3662 Crown Point Rd
Jacksonville, FL 32257


Jacksonville Museum Of Military History
Quapaw Area Council 018
100 Veterans Cir
Jacksonville, AR 72076


Jacksonville Rotary Club
East Texas Area Council 585
P.O. Box 707
Jacksonville, TX 75766


Jacksonville Sheriff S Office
North Florida Council 087
501 E Bay St
Jacksonville, FL 32202


Jackwise Catholic Communities
Longhorn Council 662
1305 Deer Park Rd
Decatur, TX 76234


Jaclyn Christianson
Address Redacted


Jaclyn Horton
Address Redacted


Jacob A Duttera
Address Redacted


Jacob A Fahey
Address Redacted


Jacob A Macdonald
Address Redacted


Jacob A Smith
Address Redacted


Jacob Allen
Address Redacted


Jacob Allred
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Jacob Armstrong
Address Redacted


Jacob B Shepard
Address Redacted


Jacob B Sternberg
Address Redacted


Jacob Bakker
Address Redacted


Jacob Bangerter
Address Redacted


Jacob Berg
Address Redacted


Jacob Brian Pelletier
Address Redacted


Jacob C Alexander
Address Redacted


Jacob Claassen
Address Redacted
Jacob D Kirk
Address Redacted


Jacob D Sherman
Address Redacted


Jacob D Taylor
Address Redacted


Jacob D Thompson
Address Redacted


Jacob David White
Address Redacted


Jacob E Kohls
Address Redacted


Jacob Elementary
Lincoln Heritage Council 205
3701 E Wheatmore Dr
Louisville, KY 40215


Jacob Fountain
Address Redacted


Jacob Godwin
Address Redacted


Jacob Gotimer
Address Redacted


Jacob Horner
Address Redacted


Jacob Hughes
Address Redacted
Jacob J Handel
Address Redacted


Jacob J Nicholson
Address Redacted


Jacob Jansen
Address Redacted


Jacob Jay
Address Redacted


Jacob K Javits Convention Center
655 W 34 St
New York, NY 10001


Jacob K Roark
Address Redacted


Jacob Kamper
Address Redacted


Jacob Kappen
Address Redacted


Jacob Kraus
Address Redacted


Jacob Landers
Address Redacted


Jacob Lorenzo Mati
Address Redacted


Jacob Lynn
Address Redacted
Jacob M Ramsey
Address Redacted


Jacob Meyers
Address Redacted


Jacob Novik
Address Redacted


Jacob Olsen
Address Redacted


Jacob P Koch
Address Redacted


Jacob R Tomer
Address Redacted


Jacob Riley Evans
Address Redacted


Jacob Rose
Address Redacted


Jacob Ryan Winans
Address Redacted


Jacob S Kutnyak
Address Redacted


Jacob S Montazeri
Address Redacted


Jacob S Murdock
Address Redacted


Jacob S Well Church
Chippewa Valley Council 637
P.O. Box 449
Eau Claire, WI 54702


Jacob Segal
Address Redacted


Jacob Stapleton
Address Redacted


Jacob Stonesifer
Address Redacted


Jacob T Anderson
Address Redacted


Jacob T Dostal
Address Redacted


Jacob T Fager
Address Redacted


Jacob T Gabriel
Address Redacted


Jacob T Geboski
Address Redacted


Jacob T Parmenter
Address Redacted


Jacob T Redwine
Address Redacted


Jacob T Trione
Address Redacted


Jacob T Wiper
Address Redacted
Jacob Twaddle
Address Redacted


Jacob W Kruse
Address Redacted


Jacob W Torkelson
Address Redacted


Jacob Wagner
Address Redacted


Jacob Wismer Elementary PTO
Cascade Pacific Council 492
5477 NW Skycrest Pkwy
Portland, OR 97229


Jacobs   Crumplar, P.A.
Attn Raeann Warner/Thomas Crumplar
750 Shipyard Dr, Ste 200
Wilmington, DE 19801


Jacobs Communications Inc
6212 Jacqueline
Plano, TX 75024


Jacobstown Fire Co Ems
Garden State Council 690
86 Chesterfield Jacobstown Rd
Wrightstown, NJ 08562


Jacquelene Crowe
Address Redacted


Jacquelin Houghtaling
Address Redacted


Jacqueline Antinovitch
Address Redacted


Jacqueline Charrier
Address Redacted


Jacqueline Clymans
Address Redacted


Jacqueline Faye Dequasie
Address Redacted


Jacqueline Garcia
Address Redacted


Jacqueline Gaston
Address Redacted


Jacqueline Green Public Relations Inc
2515 Astral Dr
Los Angeles, CA 90046


Jacqueline Hawes
Address Redacted


Jacqueline Holewa
Address Redacted


Jacqueline Hutchinson
Address Redacted


Jacqueline Johnson
Address Redacted


Jacqueline Le Blanc
Address Redacted


Jacqueline M Ostergaard
Address Redacted
Jacqueline Moore
Address Redacted


Jacqueline Peretz
Address Redacted


Jacqueline Sampson
Address Redacted


Jacqueline Sullivan
Address Redacted


Jacqueline Warber
Address Redacted


Jacqueline Whitcomb
Address Redacted


Jacqueline Wright
Address Redacted


Jacqueline Yvette Sampson
Address Redacted


Jacquelyn A Williams
Address Redacted


Jacquelyn Alford
Address Redacted


Jacquelyn Benson
Address Redacted


Jacquelyn Cadalbert
Address Redacted
Jacquelyn Schmidt
Address Redacted


Jacques Sims
Address Redacted


Jacques Whitford Nawe Inc
3312 Solutions Ctr
Chicago, IL 60677‐3003


Jaden R Miller
Address Redacted


Jadin Rae Elliott
Address Redacted


Jaffe Durg Stores, Inc
217 E Ct St
Kankakee, IL 60901


Jagemann Stamping Co
Bay‐Lakes Council 635
5757 W Custer St
Manitowoc, WI 54220


Jaguar Battalion‐Sern Uni Rotc
Istrouma Area Council 211
P.O. Box 9334
Baton Rouge, La 70813


Jaime Bishop
Address Redacted


Jaime Bloat
Address Redacted


Jaime Bochenek
Address Redacted
Jaime Garciaz
Address Redacted


Jaime Gutierrez
Address Redacted


Jaime Limas
Address Redacted


Jaime Mendoza
Address Redacted


Jaime Senn
Address Redacted


Jaime Wilder
Address Redacted


Jaimee O Neal
Address Redacted


Jakarta International School
Far E Council 803
Jl Terogong Raya 33
Jakarta, 12430
Indonesia


Jake B Kellar
Address Redacted


Jake Barnett‐Hill
Address Redacted


Jake Carlson
Address Redacted


Jake R Smit
Address Redacted
Jake T Gillette
Address Redacted


Jake T Slott
Address Redacted


Jake W Vickers
Address Redacted


Jakes Branch County Park
Jersey Shore Council 341
1100 Double Trouble Rd
Beachwood, NJ 08722


Jakob Bowie
Address Redacted


Jakob Cyrus Montoya
Address Redacted


Jakob Helderman
Address Redacted


Jakob Hoffmann
Address Redacted


Jakob R Hinman
Address Redacted


Jakob W Hoelscher
Address Redacted


Jakprints Inc
3133 Chester Ave
Cleveland, OH 44114


Jakym Darnell Morales Perez
Address Redacted
Jalensky S Outdoors   Marine, Inc
5307 Green Bay Rd
Kenosha, WI 53144


Jam Lighting Distributors Inc
1749 Park Central Blvd S
Pompano Beach, FL 33064


Jamaica Hospital Medical Center
Greater New York Councils, Bsa 640
8900 Van Wyck Expy
Richmond Hill, NY 11418


Jamal T Brown
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Jamalee Scaggs
Address Redacted


Jamarrik Gardner
Address Redacted


Jamason D Petree
Address Redacted


James A Brady
Address Redacted


James A Coulson
Address Redacted


James A Garfield School
Lake Erie Council 440
3800 W 140th St
Cleveland, OH 44111


James A Grow
Address Redacted
James A Hans
Address Redacted


James A Weaver
Address Redacted


James Adams
Address Redacted


James Albright
Address Redacted


James Alden Kornegay
Address Redacted


James Allegretto
Address Redacted


James Anderson
Address Redacted


James Andrew Ryan Morrow
Address Redacted


James Antes
Address Redacted


James Armishaw
Address Redacted


James Armour
Address Redacted


James Armstrong
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James Atkinson
Address Redacted


James Austin
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James B Edwards Elementary School PTA
Coastal Carolina Council 550
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James Bailey Jr
Address Redacted


James Barclay
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James Bare Jr
Address Redacted


James Barnett
Address Redacted


James Barr
Address Redacted


James Barry Harper
Address Redacted


James Bartel
Address Redacted


James Barton
Address Redacted
James Battaglia
Address Redacted


James Battles
Address Redacted


James Baylor
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James Beaudoin Jr
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East Carolina Council 426
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Jbg Tysons Hotel LLC
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Overland Trails 322
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Jefferson Christian Church
Daniel Webster Council, Bsa 330
Presidential Hwy
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Jefferson City Breakfast Lions Club
Great Rivers Council 653
10616 W Lohman Rd
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Jefferson City Police Dept
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Jefferson Fire Co 2
Patriots Path Council 358
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Jefferson First Baptist Church
Northeast Georgia Council 101
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Jefferson High School
Longs Peak Council 062
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Greeley, CO 80631


Jefferson Jr High School
Longs Peak Council 062
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Jefferson Parish Tax Collector
Attn Property Tax Div
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Greater St Louis Area Council 312
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Sioux Council 733
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Sioux Council 733
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Organization
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Mid Iowa Council 177
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Suffolk County Council Inc 404
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Jennifer S Walker
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Jfamtek‐Oba Ram Kitchen Supplies
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Jfk Elementary School PTO
Northern Star Council 250
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Jgc Government Relations Inc
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Jh Corpening Ii
3119 Durbin Ct
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Jhb Galleries Inc
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Jhc Technology Inc
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John A Siebert
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John A Teague
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John A Vos
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John Akerman
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John Alexander Passero
Address Redacted
John Alford
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John Andrews
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John Anthony
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John Astor Powell
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John Atkinson
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John B Chace Engine Co Number Four
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John B Gillett
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John B Pearson Consulting
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John B Redwine
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John Babbage
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John Barry Elementary School
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John Bear
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John Bennison
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John Boni
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John Buckenberger
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Johnny Lequire
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Johnson Community Library
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Johnson County Ema
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Johnson County Sheriffs Dept
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Johnson Outdoors Watercraft
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Johnson Outdoors, Inc
127 Egrets Walk Pl
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Johnson Public Library
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P.O. Box 132
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The Spirit of Adventure 227
292 Castle Rd
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Johnson Utd Methodist Church
Great Trail 433
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Johnsontown Road Elementary
Lincoln Heritage Council 205
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Johnsonville Community Center
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Johnston PTO
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Jersey Shore Council 341
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Elgin, IL 60124


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Sblc Group
21591 Network Pl
Chicago, IL 60673‐1215
Jpm Morgan Non‐Profit     Charitable Acct
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P.O. Box 227237
Dallas, TX 75222‐7237


JPMorgan Chase
Attn William Kincaid
2200 Ross Ave, 8th Fl
Mail Code Tx1‐2939
Dallas, TX 75201‐2787


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Jr S Expert Tailoring
1705‐C Texas Pkwy
Missouri City, TX 77489


Jre Shooting Sports LLC
dba R R Trap Sales    Service
8611 Geronimo Dr
San Antonio, TX 78254


Jrm Mentoring
Erie Shores Council 460
3251 Glendale Ave
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Jro Group / Joseph Overlock
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Jrotc Encampment
Denver Area Council 061
3240 Humboldt St
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Jrotc Encampment ‐ South
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Jrt Assoc, Inc
21495 Ridgetop Cir, Ste 304A
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307 29th St NE, Ste 101
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Jtb Global Marketing   Travel, Inc
Jtb Bldg 2‐3‐11, Higashi‐Shinagawa
Shkinagawa‐Ku, 13, 140‐8604
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Jtb Usa Inc
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Jubilee ‐ Harlingen
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Jubilee Academic Center
South Texas Council 577
1727 Senator Carlos Truan Blvd
Kingsville, TX 78363


Jubilee Center
Sequoyah Council 713
197 Jockey St
Sneedville, TN 37869
Jubilee Family Devt Center
Blue Ridge Mtns Council 599
1512 Florida Ave
Lynchburg, VA 24501


Jubilee Fellowship Church
Denver Area Council 061
9830 Lone Tree Pkwy
Lone Tree, CO 80124


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Judson Memorial Baptist Church
Water and Woods Council 782
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Just Kid Inc
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Kansas State University
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920 N 17th St, 0056 Seaton Hall
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Address Redacted


Kelli Sprague
Address Redacted


Kelli Webb
Address Redacted


Kelli‐Ann Mie Nakayama
Address Redacted


Kelli‐Ann Nakayama
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Kellie Hill
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Kellie Pence
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Kellie Whittemore
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Kellison School PTA
Greater St Louis Area Council 312
1626 Hawkins Rd
Fenton, MO 63026


Kelly   Co
3151 Airway Ave
Costa Mesa, CA 92626


Kelly Barrett
Address Redacted


Kelly Bedtelyon
Address Redacted


Kelly Bowland
Address Redacted


Kelly Coffey
Address Redacted


Kelly Colleen Ware
Address Redacted


Kelly Couzens
Address Redacted


Kelly Crow
Address Redacted


Kelly Difede
Address Redacted


Kelly Dolnack
Address Redacted


Kelly Generator  Equipment Of Pa    Wv,
Attn Accts Receivable
1955 Dale Ln
Owings, MD 20736


Kelly Gregg
Address Redacted


Kelly Heffner
Address Redacted


Kelly Helm
Address Redacted


Kelly Houle
Address Redacted


Kelly J Mazzanobile
Address Redacted


Kelly Jabs
Address Redacted


Kelly Jenkins
Address Redacted


Kelly Kreifels
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Kelly Lord
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Kelly Loyko
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Kelly Lynn Gregg
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Kelly Mcaninch
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Kelly Mcdonald
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Kelly Mchargue
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Kelly Mcmurphy
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Kelly Moll
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Kelly Murtaugh
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Kelly O Keefe
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Kelly Precourt
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Kelly Price
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Kelly Quinn
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Kelly R Everett
Address Redacted


Kelly Repka
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Kelly Santo
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Kelly Services Inc
1212 Solutions Ctr
Chicago, IL 60677‐1002


Kelly Smith
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Kelly Thaxton
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Kelly Tractor Co
P.O. Box 918579
Orlando, FL 32891‐8579


Kelly Ware
Address Redacted


Kelly White
Address Redacted


Kelly‐Moore Paint Co Inc
825 N Beltline Rd
Irving, TX 75061


Kelly‐Moore Paint Co Inc
Accounts Receivable Office
363 Keller Pkwy
Keller, TX 76248


Kelsan, Inc
Network Service Co
29060 Network Pl
Chicago, IL 60673‐1290


Kelsey B Bartlett
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Address Redacted
Kelsey Cupples
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Kelsey Story
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2242 E Howard City Rd
Edmore, MI 48829


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Mt Diablo‐Silverado Council 023
P.O. Box 414
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Cascade Pacific Council 492
403 Academy St
Kelso, WA 98626


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P.O. Box 78157
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Kelso Elem ‐ Knights Of Columbus
Sam Houston Area Council 576
5800 Smund St
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Capitol Area Council 564
346 Hoffman Rd
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Kemblesville Utd Methodist Church
Chester County Council 539
P.O. Box 189
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2420 Glenda Ln
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National Capital Area Council 082
11910 Kemp Mill Rd
Silver Spring, MD 20902


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221 N Kansas, Ste 1700
El Paso, TX 79901


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Circle Ten Council 571
304 E 9th St
Kemp, TX 75143


Kemper Academy
Choctaw Area Council 302
149 Walnut Ave
De Kalb, MS 39328


Kempner Volunteer Fire Dept
Texas Trails Council 561
P.O. Box 136
Kempner, TX 76539


Kempsville Presbyterian Church
Tidewater Council 596
805 Kempsville Rd
Virginia Beach, VA 23464


Kempsville Ruritan Club
Tidewater Council 596
P.O. Box 62166
Virginia Beach, VA 23466


Kempton School Concerned Citizens
Water and Woods Council 782
3040 Davenport Ave
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125 State Pl
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Soldotna, AK 99669


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Great Alaska Council 610
10800 Kenai Spur Hwy
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Tuscarora Council 424
P.O. Box 1062
Kenansville, NC 28349


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Tuscarora Council 424
P.O. Box 275
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10693 SW 93rd St
Miami, FL 33176


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Marietta, GA 30066‐2798
Kendall M Taylor
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Kendall Park First Aid Rescue Squad
Monmouth Council, Bsa 347
P.O. Box 5097
Kendall Park, NJ 08824


Kendall Utd Methodist Church
Iroquois Trail Council 376
1814 Kendall Rd
Kendall, NY 14476


Kendall Utd Methodist Church
South Florida Council 084
10400 SW 77th Ave
Pinecrest, FL 33156


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Kendallville Rotary Club   Bpoe 1194
Anthony Wayne Area 157
P.O. Box 5091
Kendallville, IN 46755


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1328 Bagley Rd
Kenly, NC 27542


Kenmar Construction Inc
1637 W College St
Springfield, MO 65806


Kenmare Boy Scouts C/O Merry Feldman
45201 Hwy. 52 N
Kenmare, ND 58746‐8819


Kenmont Montessori School
Rio Grande Council 775
2734 N Coria St
Brownsville, TX 78520


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Rio Grande Council 775
2734 N Coria St
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Kenmoor Middle School
National Capital Area Council 082
2500 Kenmoor Dr
Hyattsville, MD 20785


Kenmore Presbyterian Church
Greater Niagara Frontier Council 380
2771 Delaware Ave
Kenmore, NY 14217


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Greater St Louis Area Council 312
5031 Potomac St
Saint Louis, MO 63139


Kennedy Capital Management, Inc
10829 Olive Blvd
St. Louis, MO 63141


Kennedy Hall American Legion Post 106
Central N Carolina Council 416
6250 Nc Hwy 801
Salisbury, NC 28147


Kennedy Jr High Parent Group
Silicon Valley Monterey Bay 055
821 Bubb Rd
Cupertino, CA 95014


Kennedy Middle School
Mecklenburg County Council 415
4000 Gallant Ln
Charlotte, NC 28273


Kennedy‐Hall American Legion Post 106
Central N Carolina Council 416
6250 Hwy 801
Salisbury, NC 28147


Kennedys Eng/Efp Products
P.O. Box 815 ‐ 109 W Midway Dr
Euless, TX 76039


Kenner Lions Club
Southeast Louisiana Council 214
2001 18th St
Kenner, LA 70062


Kenner Lions Club
Southeast Louisiana Council 214
P.O. Box 768
Kenner, LA 70063


Kennerly School PTO
Greater St Louis Area Council 312
10025 Kennerly Rd
Saint Louis, MO 63128


Kennesaw Police Dept
Atlanta Area Council 092
2539 J O Stephenson Ave Nw
Kennesaw, GA 30144
Kennesaw State University
1000 Chastain Rd
Kennesaw, GA 30144


Kennesaw Utd Methodist Church
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Kenneth Etter
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Kenneth Fincher
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Kenneth Foster
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Kenneth Gardner
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Kenneth George
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Kenneth Goad
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Kenneth Hardy
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Kenneth Harold Ceaser
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Kenneth Hazlitt
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Kenneth Hearn
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Kenneth Hoagland
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Kenneth Holmes
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Kenneth Lyons
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Kenneth M Moran
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Kenneth Marshall
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Kenneth Martin
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Kenneth Mcedwards
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Kenneth Mcneill
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Kenneth Mehlhorn
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Kenneth Merritt
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Kenneth Moore
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Kenneth Nabors
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Kenneth Nelson
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Kenneth Newkirk
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Kenneth Novotny
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Kenneth Nygard
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Kenneth Persinger
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Kenneth Smith
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Kenneth Sparta
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Kenneth Swanson
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Kenneth Toole
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Kenneth Tucker
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Kenneth Wade
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Kenneth Walters Sr
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Kenneth Weybright
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Kennewick Fire Dept
Blue Mountain Council 604
600 S Auburn St
Kennewick, WA 99336


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Kenny Cunningham
Address Redacted


Kenny Hack
Address Redacted


Kenny Martinez
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Kenny Products Inc
22889 Lockness Ave
Torrance, CA 90501


Keno Fire Dept
Crater Lake Council 491
P.O. Box 10
Keno, OR 97627


Keno Fire District
Crater Lake Council 491
14800 Puckett Rd
Klamath Falls, OR 97601
Kenockee Twp Fire Dept
Water and Woods Council 782
8815 Main St
Avoca, MI 48006


Kenosha Moose Lodge 286
Three Harbors Council 636
3003 30th Ave
Kenosha, WI 53144


Kenosha Police Explorer Post 509
Three Harbors Council 636
1000 55th St
Kenosha, WI 53140


Kenova Utd Methodist Church
Buckskin 617
503 15th St
Kenova, WV 25530


Kensington Elementary PTO
Central N Carolina Council 416
8701 Kensington Dr
Waxhaw, NC 28173


Kensington Police Dept
Mt Diablo‐Silverado Council 023
217 Kensington Ave
Kensington, CA 94707


Kensington Vol Fireman S Assoc Inc
Connecticut Rivers Council, Bsa 066
880 Farmington Ave
Kensington, CT 06037


Kensington Volunteer Fire Dept
National Capital Area Council 082
10620 Connecticut Ave
Kensington, MD 20895


Kensington Volunteer Fire Dept
National Capital Area Council 082
P.O. Box 222
Kensington, MD 20895


Kent B Nguyen
Address Redacted


Kent Brown
Address Redacted


Kent Caraway
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Kent Electric Inc
6655 San Fernando Rd
Glendale, CA 91201


Kent Gibbs
Address Redacted


Kent Gregersen
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Kent International Inc
60 E Halsey Rd
Parsippany, NJ 07054


Kent Island Elks Lodge 2576
Del Mar Va 081
2525 Romancoke Rd
Stevensville, MD 21666


Kent Island Methodist Church
Del Mar Va 081
2739 Cox Neck Rd
Chester, MD 21619


Kent J Mohr
Address Redacted
Kent Lee
Address Redacted


Kent Mckay
Address Redacted


Kent Mckinnis
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Kent P Downing
Address Redacted


Kent Somerville
Address Redacted


Kent Spanier
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Kent State University
Attn Bursars Office
P.O. Box 5190
Kent, OH 44242


Kent State University
College Of Nursing
Great Trail 433
P.O. Box 5190
Kent, Oh 44242


Kent Utd Methodist Church
Chief Seattle Council 609
11010 SE 248th St
Kent, WA 98030


Kent Volunteer Fire Dept Inc
Connecticut Rivers Council, Bsa 066
41 Kent Green Blvd
Kent, CT 06757


Kent York
Address Redacted


Kenten Logue
Address Redacted


Kentlands Community Foundation
National Capital Area Council 082
267 Kentlands Blvd PMB 200
Gaithersburg, MD 20878


Kenton Surplus, Inc
201 W Franklin St
Kenton, OH 43326


Kentucky Central Canteen Corp
Lincoln Heritage Council 205
3001 W Hwy 146
La Grange, KY 40031


Kentucky Derby Museum
704 Central Ave
Louisville, KY 40208


Kentucky Leadership Center
17500 Hwy 196
Nancy, KY 42544


Kentucky Mining Institute
2800 Palumbo Dr, Ste 200
Lexington, KY 40509


Kentucky Pilots Assoc
Lincoln Heritage Council 205
1924 Boston
Bardstown, KY 40004


Kentucky School For The Blind
Lincoln Heritage Council 205
1867 Frankfort Ave
Louisville, KY 40206
Kentucky Secretary Of State
700 Capital Ave, Ste 152
Frankfort, KY 40601


Kentucky Secretary Of State
Business Filings
700 Capital Ave
Frankfort, KY 40601


Kentucky State Treasurer
Attn Dept of Revenue
Frankfort, KY 40601


Kentucky State Treasurer
Dept of Revenue
Frankfort, KY 40601


Kentucky Tent Rental
159 Baker 315
Shelbyville, KY 40065


Kentucky Treasury Dept
Attn Unclaimed Property Branch
1050 US Hwy 127, Ste 100
Frankfort, KY 40601


Kentwood Jaycees
President Gerald R Ford 781
2325 Collingwood Ave Sw
Wyoming, MI 49519


Kenwood Elementary PTO
Hawkeye Area Council 172
3700 E Ave Ne
Cedar Rapids, IA 52402


Kenwood School P T O
Erie Shores Council 460
710 Kenwood Ave
Bowling Green, OH 43402
Kenwood School Ptk
President Gerald R Ford 781
1700 Chestnut St
Cadillac, MI 49601


Kenwood Utd Methodist Church
Heart of Virginia Council 602
11208 Elmont Rd
Ashland, VA 23005


Kenwood Utd Presbyterian Church
Baltimore Area Council 220
4601 Fullerton Ave
Baltimore, MD 21236


Kenya Scouts Assoc
P.O. Box 41422‐00100
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716 Doctors Dr
Kinston, NC 28501


Kenyon Sandy
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Keokuk High School
Mississippi Valley Council 141 141
2285 Middle Rd
Keokuk, IA 52632


Keokuk Middle School
Mississippi Valley Council 141 141
2002 Orleans Ave
Keokuk, IA 52632


Keowee Elementary PTA
Blue Ridge Council 551
7051 Keowee School Rd
Seneca, SC 29672
Keowee Fire Dept
Blue Ridge Council 551
7031 Keowee School Rd
Seneca, SC 29672


Kepha Resources
Sam Houston Area Council 576
2201 Plantation
Richmond, TX 77406


Kepler Neighborhood School
Sequoia Council 027
1462 Broadway Ave
Fresno, CA 93721


Keppler Speakers Inc
4350 N Fairfax Dr, Ste 700
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Rip Van Winkle Council 405
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Southern Sierra Council 030
5642 Victor St
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Kern County Sheriff S Dept
Southern Sierra Council 030
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Kern Memorial Utd Methodist Men
Great Smoky Mountain Council 557
451 E Tennessee Ave
Oak Ridge, TN 37830


Kernersville Fire Rescue Dept
Old Hickory Council 427
316 W Bodenhamer St
Kernersville, NC 27284


Kernersville Moravian Church
Old Hickory Council 427
504 S Main St
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Kern‐Thompson Post 77
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172 N 2Nd
Kerr Elementary School PTA
Laurel Highlands Council 527
341 Kittanning Pike
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Kevin Hemstreet
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Kevin Menzer
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Kevin Nichols
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Kevin O Hara
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Kevin O Keefe
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Kevin P Glynn
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Kevin Schildgen‐Mcleod
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14414 72nd Dr
Flushing, NY 11367


Kewanee LDS Church
Illowa Council 133
300 E S St
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Kewill, Inc
1 Exec Dr
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Key Equipment Finance
1000 S Mccaslin Blvd
Superior, CO 80027


Key Equipment Finance
A Division Of Keybank NA
1000 S Mccaslin Blvd
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Key Foundation
The Spirit of Adventure 227
216 Main St
North Chelmsford, MA 01863


Key Largo Chocolates
100470 Overseas Hwy
Key Largo, FL 33037


Key Largo Undersea Park Inc
51 Shoreland Dr
Key Largo, FL 33037


Key Log Rolling
626 Mendelssohn Ave N
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Key Peninsula Lions Club
Pacific Harbors Council, Bsa 612
4990 SW Daisy St
Port Orchard, WA 98367
Key Telephone   Security
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Key West Bight Marina
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Key West Chemical    Paper Sply
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Key West Engine Service Inc
P.O. Box 2521
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Key W, Fl 33045


Key West Packet Lines Inc
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Islamorada, FL 33036


Key West Police Dept Explorers
South Florida Council 084
1604 N Roosevelt Blvd
Key W, Fl 33040


Key West Sailing Adventures Inc
1302 11th St
Key W, Fl 33040


Key West Sailing Adventures Inc
c/o Florida Sea Base
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Keyla Quinones
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Key W, Fl 33040


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Keys Energy Services
P.O. Box 6100
Key W, Fl 33041‐6100


Keys Environmental Restoration Fund
11399 Overseas Hwy
Marathon, FL 33050


Keys Kayak LLC
10499 Overseas Hwy
Marathon, FL 33050


Keys Ocean Adventure Co
Owner James Disser
P.O. Box 1906
Islamorada, FL 33036


Keys Plus Antelope
P.O. Box 2824
Citrus Heights, CA 95611
Keys Rigging Inc
5409 Overseas Hwy No 307
Marathon, FL 33050‐2710


Keys Supply Inc
102131 Overseas Hwy
Key Largo, FL 33037


Keys To Embroidery
c/o Richard Mangel
281 Woods Ave, Unit 16
Tavernier, FL 33070


Keyser Moose Lodge 662
Laurel Highlands Council 527
P.O. Box 966
Keyser, WV 26726


Keyser Rotary Club
Laurel Highlands Council 527
606 Carskadon Rd
Keyser, WV 26726


Keyser School PTO
Erie Shores Council 460
3900 Hill Ave
Toledo, OH 43607


Keysor School PTO
Greater St Louis Area Council 312
725 N Geyer Rd
Kirkwood, MO 63122


Keystone College
Attn Financial Aid Dept
One College Green
La Plume, PA 18440


Keystone Consistory 85 Asr Nj Inc
c/o Mccs Exec Branch
Far E Council 803
Fpo, AP 96377


Keystone Fire Dept
Indian Nations Council 488
25505 W 41st St S
Sand Springs, OK 74063


Keystone Mission
Northeastern Pennsylvania Council 501
290 Parkview Cir
Wilkes Barre, PA 18702


Keystone Montessori School
Pathway To Adventure 456
7415 N Ave
River Forest, IL 60305


Keystone Packaging
6619 N Cedar Hill 111
Spokane, WA 99208


Keystone Utd Methodist Church
Greater Tampa Bay Area 089
16301 Race Track Rd
Odessa, FL 33556


Keystone Utd Methodist Church
North Florida Council 087
P.O. Box 744
4004 SE State Rd 21


Keystone Valley Fire Dept
Chester County Council 539
329 W 1st Ave
Parkesburg, PA 19365


Keyswide Computers Inc
82205 Overseas Hwy
Islamorada, FL 33036
Kforce Inc
1001 E Palm Ave
Tampa, FL 33605


Kforce Inc
P.O. Box 277997
Atlanta, GA 30384‐7997


Khary Floyd
Address Redacted


Khiva South Plains Shrine Club
South Plains Council 694
7412 83rd St
Lubbock, TX 79424


Ki Sawyer Heritage Air Museum
Bay‐Lakes Council 635
500 S 3rd St
Marquette, MI 49855


Kiah A Cornforth
Address Redacted


Kiantone Independent Fire Dept
Allegheny Highlands Council 382
2318 Stillwate‐ Frewsburg Rd
Jamestown, NY 14701


Kiara Quinones Marin
Address Redacted


Kid S Kottage
Nevada Area Council 329
2075 Longley Ln
Reno, NV 89502


Kid U ‐ Solaris
Circle Ten Council 571
10062 Royal Lane
Dallas, TX 75238
Kidder Memorial Utd Methodist Church
Allegheny Highlands Council 382
385 S Main St
Jamestown, NY 14701


Kid‐E‐Korral
3194 Arden Way
Sacramento, CA 95825


Kidron International Missions
San Francisco Bay Area Council 028
4541 Loch Ln
San Leandro, CA 94578


Kids 4 Kids
South Florida Council 084
P.O. Box 165802
Miami, FL 33116


Kids Can Wakonda Elementary
Mid‐America Council 326
4845 Curtis Ave
Omaha, NE 68104


Kids Care Elementany School
Simon Kenton Council 441
3360 Kohr Blvd
Columbus, OH 43224


Kids Discover
P.O. Box 54207
Boulder, CO 80322‐4207


Kids Drone Aviation
Atlanta Area Council 092
P.O. Box 5945
Douglasville, GA 30154


Kids U ‐ Alista
Circle Ten Council 571
10062 Royal Lane
Dallas, TX 75238


Kids U Carrolton Oaks
Circle Ten Council 571
8515 Greenville Ave
Dallas, TX 75243


Kids U Fair Oaks
Circle Ten Council 571
8515 Greenville Ave
Dallas, TX 75243


Kids U Park
Circle Ten Council 571
8515 Greenville Ave
Dallas, TX 75243


Kids U The Grove
Circle Ten Council 571
8515 Greenville Ave
Dallas, TX 75243


Kids U Vineyards
Circle Ten Council 571
8515 Greenville Ave
Dallas, TX 75243


Kidstop
Sioux Council 733
401 S Spring Ave
Sioux Falls, SD 57104


Kidventure Gladstone
Narragansett 546
50 Gladstone St
Cranston, RI 02920


Kidz Roc
Del Mar Va 081
306 Nice Pl
Salisbury, MD 21804
Kidz Spirit Childrens Hospital
Los Angeles
Greater Los Angeles Area 033
4650 W Sunset Blvd
Los Angeles, Ca 90027


Kiera A Yap
Address Redacted


Kieran Berigan
Address Redacted


Kieran M Inbody
Address Redacted


Kierra Harris
Address Redacted


Kiesler S Police Supply Inc
2802 Sable Mill Rd
Jeffersonville, IN 47130


Kieth Smith
Address Redacted


Kiewit Building Group Inc
Mid‐America Council 326
1926 S 67th St, Ste 300
Omaha, NE 68106


Kiker Elementary School P.T.A.
Capitol Area Council 564
5913 La Crosse Ave
Austin, TX 78739


Kilaya Draknga Ling
San Diego Imperial Council 049
10176 Zapata Ave
San Diego, CA 92126
Kilbourne Utd Methodist Church
Simon Kenton Council 441
5591 US Rte 521
Kilbourne, OH 43032


Kilduff‐Wirtanen American Legion 74
Daniel Webster Council, Bsa 330
P.O. Box 671
Brookline, NH 03033


Kiley J Conner
Address Redacted


Kilgo Utd Methodist Church
Mecklenburg County Council 415
2101 Belvedere Ave
Charlotte, NC 28205


Kilgore Rotary Club
East Texas Area Council 585
P.O. Box 419
Kilgore, TX 75663


Killbuck Utd Methodist Church
Buckeye Council 436
410 N Main St
Killbuck, OH 44637


Killdeer Lions Club
Northern Lights Council 429
P.O. Box 143
Killdeer, ND 58640


Killearn Utd Methodist Church
Suwannee River Area Council 664
2800 Shamrock St S
Tallahassee, FL 32309


Killen Utd Methodist Church
Greater Alabama Council 001
201 J C Mauldin Hwy
Killen, AL 35645


Killer Beads, Inc
P.O. Box 18797
Panama City Beach, FL 32417


Kilmarnock Baptist Church
Heart of Virginia Council 602
P.O. Box 99
Kilmarnock, VA 22482


Kilmer Elementary PTO
Pikes Peak Council 060
4285 Walker Rd
Colorado Springs, CO 80908


Kilohana Utd Methodist Church
Aloha Council, Bsa 104
5829 Mahimahi St
Honolulu, HI 96821


Kim Christian Sandoval Jalosjos
Address Redacted


Kim Faught
Address Redacted


Kim Hansen
Address Redacted


Kim Hardcastle
Address Redacted


Kim Harreld
Address Redacted


Kim L Lundgren
Address Redacted
Kim Messersmith
Address Redacted


Kim Moss
Address Redacted


Kim Peacock
Address Redacted


Kim Reid Graham
Address Redacted


Kim Scarola ‐ Taylor
Address Redacted


Kim Schree Yeatman
Address Redacted


Kim Son Restaurant
Golden Mountaint LP
2001 Jefferson
Houston, TX 77003


Kim Tankersley
Address Redacted


Kim Thayer   Assoc
1326 W Herndon Ave, Ste 101
Fresno, CA 93711


Kim Weaver
Address Redacted


Kim Whitaker
Address Redacted


Kim Yeatman
Address Redacted
Kim Young
Address Redacted


Kimball Rod   Gun
Northern Star Council 250
9837 Willow Creek Rd
Kimball, MN 55353


Kimball Rotc
Circle Ten Council 571
3606 S Wmoreland Rd
Dallas, TX 75233


Kimberlee Manor
Address Redacted


Kimberley Brisson
Address Redacted


Kimberley Hennessey
Address Redacted


Kimberlie Wilkerson
Address Redacted


Kimberling City Utd Methodist Church
Ozark Trails Council 306
57 Kimberling City Center Ln
P.O. Box 10


Kimberly 1St Ward ‐ Kimberly Stake
Snake River Council 111
3850 N 3500 E
Kimberly, ID 83341


Kimberly 2Nd Ward ‐ Kimberly Stake
Snake River Council 111
222 Birch St S
Kimberly, ID 83341
Kimberly 7 Ward ‐ Kimberly Stake
Snake River Council 111
3339 Oregon Trail
Kimberly, ID 83341


Kimberly A Brockhausen
Address Redacted


Kimberly Abernathy
Address Redacted


Kimberly Ashlock
Address Redacted


Kimberly Aurin Davies
Address Redacted


Kimberly Bibler
Address Redacted


Kimberly Blumenberg
Address Redacted


Kimberly Brainard
Address Redacted


Kimberly Clarke‐Easton
Address Redacted


Kimberly Cowherd
Address Redacted


Kimberly Daniher
Address Redacted


Kimberly Davis
Address Redacted
Kimberly Dawn Ellegood
Address Redacted


Kimberly Elementary
Atlanta Area Council 092
1090 Windsor St Sw
Atlanta, GA 30310


Kimberly Garrett
Address Redacted


Kimberly Graboyes
Address Redacted


Kimberly Grant
Address Redacted


Kimberly Hannigan
Address Redacted


Kimberly Hart
Address Redacted


Kimberly Harvey
Address Redacted


Kimberly Hoard
Address Redacted


Kimberly Hobson
Address Redacted


Kimberly Horton
Address Redacted


Kimberly Jackson
Address Redacted
Kimberly Jewell
Address Redacted


Kimberly K Hunter
Address Redacted


Kimberly Kailey
Address Redacted


Kimberly Kanouse
Address Redacted


Kimberly Korff
Address Redacted


Kimberly Krychiw
Address Redacted


Kimberly Layne
Address Redacted


Kimberly Leininger
Address Redacted


Kimberly Liszewski
Address Redacted


Kimberly Lynn Graboyes
Address Redacted


Kimberly Martin
Address Redacted


Kimberly Morrison
Address Redacted
Kimberly Mulvaney
Address Redacted


Kimberly Orosco
Address Redacted


Kimberly R Merry
Address Redacted


Kimberly Ramirez
Address Redacted


Kimberly Shannon
Address Redacted


Kimberly Shehan
Address Redacted


Kimberly Stake ‐ Kimberly 3Rd Ward
Snake River Council 111
3850 N 3500 E
Kimberly, ID 83341


Kimberly Stake ‐ Kimberly 6Th Ward
Snake River Council 111
3497 E 3838 N
Kimberly, ID 83341


Kimberly Stake‐Kimberly 4Th Ward
Snake River Council 111
4032 N 3400 E
Kimberly, ID 83341


Kimberly Stake‐Kimberly 5Th Ward
Snake River Council 111
222 Birch St S
Kimberly, ID 83341


Kimberly Stake‐Twin Falls 19Th Ward
Snake River Council 111
723 Hankins Rd
Twin Falls, ID 83301


Kimberly Story
Address Redacted


Kimberly Stuart
Address Redacted


Kimberly Szajko
Address Redacted


Kimberly T Roberts
Address Redacted


Kimberly Thomas
Address Redacted


Kimberly Weidner‐Feigh
Address Redacted


Kimbra Vandermeulen
Address Redacted


Kimisis Tis Theotokou Greek Orth Church
Monmouth Council, Bsa 347
P.O. Box 367
20 Hillcrest Rd
Holmdel, NJ 07733


Kimiyanni Esko
Address Redacted


Kimley‐Horn And Assoc Inc
P.O. Box 932514
Atlanta, GA 31193‐2514


Kinco LLC
29237 Network Pl
Chicago, IL 60673‐1292


Kinderhook Sportsman S Club
Twin Rivers Council 364
P.O. Box 494
Kinderhook, NY 12106


Kinderhook Sportsman S Club Inc
Twin Rivers Council 364
P.O. Box 494
Kinderhook, NY 12106


Kindezi Old Fourth Ward
Atlanta Area Council 092
386 Pine St Ne
Atlanta, GA 30308


Kindle Compassion
Alamo Area Council 583
18119 Prestonshire
San Antonio, TX 78258


Kindred Glass Co Inc
2302 W Park Row
Arlington, TX 76013


Kindred Wildlife Club
Northern Lights Council 429
P.O. Box 33
Kindred, ND 58051


King   Kcmsa
Heart of America Council 307
4848 Woodland Ave
Kansas City, MO 64110


King American Legion Post 290, Inc
Old Hickory Council 427
P.O. Box 432
King, NC 27021
King And Queen Sheriffs Office
Heart of Virginia Council 602
242 Allens Cir
King and Queen Court House, VA 23085


King City Community Foundation
Cascade Pacific Council 492
15685 SW 116th Ave PMB 191
King City, OR 97224


King County Explorer Search And Rescue
Chief Seattle Council 609
P.O. Box 1266
North Bend, WA 98045


King County Library
System Admin Offices
960 Newport Way Nw
Issaquah, WA 98027‐2702


King County Sheriff S Office‐Burien
Chief Seattle Council 609
516 3rd Ave
Seattle, WA 98104


King Elementary School PTO
Blackhawk Area 660
1306 S Court St
Rockford, IL 61102


King Elementary/Collective For Youth
Mid‐America Council 326
3706 Maple St
Omaha, NE 68111


King George Family Ymca
National Capital Area Council 082
10545 Kings Hwy
King George, VA 22485


King George Ruritan Club
National Capital Area Council 082
P.O. Box 2
King George, VA 22485


King Harbor Yacht Club
Greater Los Angeles Area 033
280 Yacht Club Way
Redondo Beach, CA 90277


King Hill Christian Church
Pony Express Council 311
5828 King Hill Ave
Saint Joseph, MO 64504


King Hiram Lodge 784 F   Am
Baden‐Powell Council 368
186 Main St
Newfield, NY 14867


King Lions Club
Old Hickory Council 427
P.O. Box 941
King, NC 27021


King Memorial Utd Methodist Church
Longhorn Council 662
502 S Colorado St
P.O. Box 612


King Murphy Elementary School PTA
Denver Area Council 061
425 Cir K Dr
Evergreen, CO 80439


King Of Glory Church
Crossroads of America 160
2201 E 106th St
Carmel, IN 46032


King Of Glory Lutheran Chuch
Colonial Virginia Council 595
4897 Longhill Rd
Williamsburg, VA 23188
King Of Glory Lutheran Church
Colonial Virginia Council 595
4897 Longhill Rd
Williamsburg, VA 23188


King Of Glory Lutheran Church
Denver Area Council 061
10001 W 58th Ave
Arvada, CO 80002


King Of Glory Lutheran Church
Grand Canyon Council 010
2085 E Sern Ave
Tempe, AZ 85282


King Of Glory Lutheran Church
Montana Council 315
4125 Grand Ave
Billings, MT 59106


King Of Glory Lutheran Church
Orange County Council 039
10280 Slater Ave
Fountain Valley, CA 92708


King Of Glory Lutheran Church
Three Harbors Council 636
4330 S 84th St
Milwaukee, WI 53228


King Of Kings Church
Hudson Valley Council 374
543 Union Ave
New Windsor, NY 12553


King Of Kings Evangelical Luth Church
Great Lakes Fsc 272
1715 S Lapeer Rd
Lake Orion, MI 48360
King Of Kings Lutheran Church
Heart of America Council 307
1701 NE 96th St
Kansas City, MO 64155


King Of Kings Lutheran Church
Longhouse Council 373
8278 Oswego Rd
Liverpool, NY 13090


King Of Peace Episcopal Church
Coastal Georgia Council 099
6230 Laurel Island Pkwy
Kingsland, GA 31548


King PTA After School Program
Prairielands 117
1108 Fairview Ave
Urbana, IL 61801


King St Utd Ch Christ, Congregal
Connecticut Yankee Council Bsa 072
201 S King St
Danbury, Ct 06811


King Vacuum Cleaner LLC
Badger Merchandise Service
P.O. Box 163
Horicon, WI 53032‐0163


King William County Fire And Ems
Heart of Virginia Council 602
180 Horse Landing Rd, Ste 4
King William, VA 23086


King/Robinson School Friends Of Scouting
Connecticut Yankee Council Bsa 072
150 Fournier St
New Haven, CT 06511


Kingdom Academy
Anthony Wayne Area 157
225 Ferguson Park Ct
Bluffton, IN 46714


Kingdom Authority Mininstry
Blackhawk Area 660
518 N Court St
Rockford, IL 61103


Kingdom Life Church ‐ Reo
Water and Woods Council 782
4303 S Martin Luther King Jr Blvd
Lansing, MI 48910


Kingdom Of God Ministries
Dan Beard Council, Bsa 438
636 Prospect Pl
Cincinnati, OH 45229


Kingfisher Lions Club
Cimarron Council 474
18835 E 780 Rd
Kingfisher, OK 73750


Kingman Elks Lodge 468
Las Vegas Area Council 328
900 Gates Ave
Kingman, AZ 86401


Kingman Fire Dept
Las Vegas Area Council 328
412 N Oak St
Kingman, AZ 86401


Kingman Police Dept
Las Vegas Area Council 328
2730 E Andy Devine Ave
Kingman, AZ 86401


Kingman Rebekah Lodge 12
Las Vegas Area Council 328
2740 N Melody St
Kingman, AZ 86401
Kingman Utd Methodist Church
Quivira Council, Bsa 198
133 E D Ave
Kingman, KS 67068


Kings Avenue Baptist Church Inc
Greater Tampa Bay Area 089
2602 S Kings Ave
Brandon, FL 33511


Kings Co Sheriff Explorers
Sequoia Council 027
1444 W Lacey Blvd
Hanford, CA 93230


Kings College
James Clerk Maxwell Bldg, Rm 6‐20
57 Waterloo Rd
London, SE1 8WA
United Kingdom


Kings County District Attorney
Greater New York Councils, Bsa 640
350 Jay St
Brooklyn, NY 11201


Kings County District Attorneys Office
Greater New York Councils, Bsa 640
350 Jay St
Brooklyn, NY 11201


Kings Daughters Health
Hoosier Trails Council 145 145
P.O. Box 447
1 Kings Daughters Dr
Madison, IN 47250


Kings Express Inc
P.O. Box 550
St Joseph, MN 56374
Kings Grant Presbyterian Church
Tidewater Council 596
745 Little Neck Rd
Virginia Beach, VA 23452


Kings Mountain Police Dept
Piedmont Council 420
P.O. Box 7
Kings Mountain, NC 28086


Kings Parents Of Troop 106
Chief Seattle Council 609
550 Hemlock Way
Edmonds, WA 98020


Kings Park West Civic Assoc
National Capital Area Council 082
P.O. Box 7114
Fairfax Station, VA 22039


Kings Road School PTA
Patriots Path Council 358
215 Kings Rd
Madison, NJ 07940


Kings Tire Service Inc
107 Stanford Rd
Beckley, WV 25801


Kings Tire Service Inc
P.O. Box 3511
Bluefield, WV 24701


Kings Way Utd Methodist Church
Ozark Trails Council 306
2401 S Lone Pine Ave
Springfield, MO 65804


Kingsborough PTA
Twin Rivers Council 364
24 W 11th Ave
Gloversville, NY 12078


Kingsburg Fire Dept
Sequoia Council 027
P.O. Box 2
Kingsburg, CA 93631


Kingsburg Police Dept
Sequoia Council 027
1300 California St
Kingsburg, CA 93631


Kingshighway Utd Methodist Men
Greater St Louis Area Council 312
900 Bellerive Blvd
Saint Louis, MO 63111


Kingsland First Utd Methodist Church
Coastal Georgia Council 099
120 E William Ave
Kingsland, GA 31548


Kingsley Elementary PTO
Winnebago Council, Bsa 173
201 Sunset Rd
Waterloo, IA 50701


Kingsley Home    School Assoc
Three Fires Council 127
2403 Kingsley Dr
Naperville, IL 60565


Kingsley Utd Methodist Church
Sequoyah Council 713
2828 Bloomingdale Rd
Kingsport, TN 37660


Kingsport Police Dept
Sequoyah Council 713
200 Shelby St
Kingsport, TN 37660
Kingston Congregational Church
Narragansett 546
2610 Kingstown Rd
Kingston, RI 02881


Kingston Elementary PTO
Tukabatchee Area Council 005
2224 Selma Ave
Selma, AL 36703


Kingston Episcopal Church
Colonial Virginia Council 595
370 Main St
P.O. Box 471
Mathews, VA 23109


Kingston K14 Sports Boosters
Greater St Louis Area Council 312
10047 Diamond Rd
Cadet, MO 63630


Kingston Lions Club
Great Smoky Mountain Council 557
P.O. Box 325
Kingston, TN 37763


Kingston Lions Club
Mayflower Council 251
P.O. Box 138
Kingston, MA 02364


Kingston Memorial Vfw Post 1088
Daniel Webster Council, Bsa 330
93 Route 125
Kingston, NH 03848


Kingston Nk Rotary Club
Chief Seattle Council 609
26159 Dulay Rd Ne
Kingston, WA 98346
Kingston Utd Methodist Church
Arbuckle Area Council 468
P.O. Box 99
Kingston, OK 73439


Kingston Utd Methodist Church
Simon Kenton Council 441
P.O. Box 335
Kingston, OH 45644


Kingston Utd Methodist Church
Three Fires Council 127
115 W 1st St
Kingston, IL 60145


Kingston Veterans    Sportsman Club
Westmoreland Fayette 512
138 Kingston Club Rd
Latrobe, PA 15650


Kingston‐Pinehurst Parents
Inland Nwest Council 611
P.O. Box 238
Kingston, ID 83839


Kingsville Baptist Church
Heart of America Council 307
P.O. Box 115
Kingsville, MO 64061


Kingsville Border Patrol Post 252
South Texas Council 577
2422 E Carlos Truan Blvd
Kingsville, TX 78363


Kingsville Elks Lodge 1926
South Texas Council 577
1404 S 6th St
Kingsville, TX 78363


Kingsville Presbyterian Church
Lake Erie Council 440
P.O. Box 41
Kingsville, OH 44048


Kingsway Baptist Church
Central N Carolina Council 416
7550 Ruben Linker Rd Nw
Concord, NC 28027


Kingsway Christian Church
Mid‐America Council 326
1106 S 139th St
Omaha, NE 68144


Kingsway Regional Police
Garden State Council 690
159 Democrat Rd
Mickleton, NJ 08056


Kingswood Utd Methodist Ch Methodist Men
Old Hickory Council 427
6840 University Pkwy
Rural Hall, Nc 27045


Kingswood Utd Methodist Church
Atlanta Area Council 092
4896 N Peachtree Rd
Dunwoody, GA 30338


Kingswood Utd Methodist Church
Del Mar Va 081
300 Marrows Rd
Newark, DE 19713


Kingswood Utd Methodist Men S Club
Conquistador Council Bsa 413
2600 N Main St
Clovis, NM 88101


Kingswood Utd Methodist Men S Club
Pathway To Adventure 456
401 W Dundee Rd
Buffalo Grove, IL 60089
King‐Westwood PTO
Southern Shores Fsc 783
1100 Bretton Dr
Kalamazoo, MI 49006


Kingwood Utd Methodist Church
Sam Houston Area Council 576
1799 Woodland Hills Dr
Kingwood, TX 77339


Kinkaid School
Sam Houston Area Council 576
201 Kinkaid School Dr
Houston, TX 77024


Kinko S Copies
730 St Michaels Dr 3
Santa Fe, NM 87505


Kinseys Archery Products, Inc
1660 Steel Way Dr
Mount Joy, PA 17522


Kinsley Rotary Club
Quivira Council, Bsa 198
701 E 7th St
Kinsley, KS 67547


Kinsmen Lutheran Church
Sam Houston Area Council 576
12100 Champion Forest Dr
Houston, TX 77066


Kintera
Dept At 952208
Atlanta, GA 31192‐2208


Kinton Grange 562
Cascade Pacific Council 492
19015 SW Scholls Ferry Rd
Beaverton, OR 97007


Kinyon Elementary School
Great Lakes Fsc 272
10455 Monroe Blvd
Taylor, MI 48180


Kinzua Ltd
Chief Cornplanter Council, Bsa 538
P.O. Box 395
250 Marina Lane
Clarendon, PA 16313


Kip Motor Co
Circle Ten Council 571
2127 Crown Rd
Dallas, TX 75229


Kipling Utd Methodist Church
Occoneechee 421
194 Jackson Rd
Fuquay Varina, NC 27526


Kiplinger Letter
P.O. Box 5106
Harlan, IA 51593‐4606


Kiplinger S Personal Finance
Subscriber Servs Ctr
1729 H St Nw
Washington, DC 20006


Kiplinger Tax Letter
P.O. Box 5113
Harlan, IA 51593‐4613


Kipp Academy
San Francisco Bay Area Council 028
1700 Market St
Oakland, CA 94607
Kipp And Christian PC
10 Exchange Pl, Ste 400
Salt Lake City, UT 84111


Kipp Brothers Toys   Novelties
9760 Mayflower Park Dr
Carmel, IN 46032


Kipp College Prep
Sam Houston Area Council 576
8805 Ferndale
Houston, TX 77017


Kipp Columbus
Simon Kenton Council 441
2750 Agler Rd
Columbus, OH 43224


Kipp East Community Primary
Southeast Louisiana Council 214
6519 Virgilian St
New Orleans, LA 70126


Kipp Jacksonville Elementary
North Florida Council 087
2525 W 1st St
Jacksonville, FL 32254


Kipp Reach Prep School
Last Frontier Council 480
1901 NE 13th St
Oklahoma City, OK 73117


Kipp South Charter
Last Frontier Council 480
401 SW 44th St
Oklahoma City, OK 73109


Kipp Strive Primary
Atlanta Area Council 092
1448 Lucile Ave Sw
Atlanta, GA 30310
Kipp Ways Academy
Atlanta Area Council 092
80 Joseph E Lowery Blvd Nw
Atlanta, GA 30314


Kira Zeyer
Address Redacted


Kirby Crocker
Address Redacted


Kirby Simmons   O Donnell Clark
Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Kirbyville Utd Methodist Church
Three Rivers Council 578
105 W Main St
Kirbyville, TX 75956


Kirchoff/Wohlberg, Inc
897 Boston Post Rd
Madison, CT 06443


Kirk Elementary PTO
Sam Houston Area Council 576
12421 Tanner Rd
Houston, TX 77041


Kirk Heimstead
Address Redacted


Kirk In The Hills Presbyterian Church
Great Lakes Fsc 272
1340 W Long Lake Rd
Bloomfield Hills, MI 48302


Kirk M Easterday
Address Redacted


Kirk Mayes
Address Redacted


Kirk Of Kildaire Presbyterian Church
Occoneechee 421
200 High Meadow Dr
Cary, NC 27511


Kirk Of The Hills Presbyterian Church
Greater St Louis Area Council 312
12928 Ladue Rd
Saint Louis, MO 63141


Kirk Setzer
Address Redacted


Kirkersville Utd Methodist Church
Simon Kenton Council 441
180 E Main St
Kirkersville, OH 43033


Kirkland   Ellis LLP
300 N Lasalle St
Chicago, IL 60654


Kirkland   Ellis LLP
655 15th St Nw
Washington, DC 20005


Kirkland Police Explorers
Chief Seattle Council 609
11750 NE 118th St
Kirkland, WA 98034


Kirkman Vfd/Irwin Vfd/Manning Vfw
Mid‐America Council 326
General Delivery
Kirkman, IA 51447
Kirkpatrick Community Center
Middle Tennessee Council 560
1000 Sevier St
Nashville, TN 37206


Kirkpatrick Elementary ‐ Gfwra
Longhorn Council 662
3229 Lincoln Ave
Fort Worth, TX 76106


Kirkpatrick Memorial Presbyterian Church
Washington Crossing Council 777
P.O. Box 560
37 John Ringo Rd
Ringoes, NJ 08551


Kirkridge Presbyterian Church
Water and Woods Council 782
8070 S Saginaw St
Grand Blanc, MI 48439


Kirksville Area Technical Center
Great Rivers Council 653
1103 Cottage Grove Ave
Kirksville, MO 63501


Kirkus Reviews
Attn Circulation Dept
770 Broadway
New York, NY 10003‐9525


Kirkville Volunteer Fire Co
Longhouse Council 373
6225 Kirkville Rd N
Kirkville, NY 13082


Kirkville Volunteer Fire Co
Longhouse Council 373
Kirkville Rd N
Kirkville, NY 13082
Kirkward Clark
Address Redacted


Kirkwood Community College
6301 Kirwood Blvd P.O. Box 2068
Cedar Rapids, IA 52406


Kirkwood Community College
dba the Hotel At Kirkwood Center
7725 Kirwood Blvd Sw
Cedar Springs, IA 52404


Kirkwood High Sch
Pioneer Parents Organization
Greater St Louis Area Council 312
801 W Essex Ave
Saint Louis, Mo 63122


Kirkwood High School
Greater St Louis Area Council 312
801 W Essex Ave
Saint Louis, MO 63122


Kirkwood Police Dept
Greater St Louis Area Council 312
131 W Madison Ave
Saint Louis, MO 63122


Kirkwood Presbyterian Church
Atlanta Area Council 092
618 Acworth Due W Rd Nw
Kennesaw, GA 30152


Kirkwood Presbyterian Church
Colonial Virginia Council 595
1209 Hampton Hwy
Yorktown, VA 23693


Kirkwood Presbyterian Church
National Capital Area Council 082
8336 Carrleigh Pkwy
Springfield, VA 22152
Kirkwood Presbyterian Church
North Florida Council 087
8701 Argyle Forest Blvd
Jacksonville, FL 32244


Kirkwood Presbyterian Church
Southwest Florida Council 088
6101 Cortez Rd W
Bradenton, FL 34210


Kirkwood Umc
Circle Ten Council 571
2232 W Irving
Irving, TX 75060


Kirkwood Utd Methodist Church
Circle Ten Council 571
2232 W 5th St
Irving, TX 75060


Kirkwood Utd Methodist Church
Illowa Council 133
235 S Kellogg St
Kirkwood, IL 61447


Kirsten Hill Jacobson
Address Redacted


Kirsten Lienhard
Address Redacted


Kirsten Misfeldt
Address Redacted


Kirsten Prien
Address Redacted


Kirsten Wagner
Address Redacted
Kirtland Cgoc
Great Swest Council 412
3550 Aberdeen Ave Se
Kirtland Afb, NM 87117


Kirtland Scouting Families
Great Swest Council 412
11A Rd 6763
Fruitland, NM 87416


Kisha Emanuel
Address Redacted


Kishwaukee School PTO
Blackhawk Area 660
526 Catlin St
Rockford, IL 61104


Kiski Upper Elementary
Westmoreland Fayette 512
4350 Pa‐66
Apollo, PA 15613


Kisling Nco Academy
Transatlantic Council, Bsa 802
Unit 3015
Apo, AE 09021


Kissimmee Police Explorers
Central Florida Council 083
8 N Stewart Ave
Kissimmee, FL 34741


Kit Baker
Address Redacted


Kit Carson Electric Cooperative
P.O. Box 578
118 Cruz Alta St
Taos, NM 87571
Kit Carson Electric Cooperative, Inc
P.O. Box 578
Taos, NM 87571


Kit Poy
Address Redacted


Kitchell Memorial Presbyterian Church
Patriots Path Council 358
469 Ridgedale Ave
East Hanover, NJ 07936


Kite Construction
P.O. Box 95
Eagle Nest, NM 87718


Kite Studio
5555 Hamilton Blvd
Wescosville, PA 18106


Kitsap County Sheriffs
Chief Seattle Council 609
614 Div St
Port Orchard, WA 98366


Kitsap Fire   Security
P.O. Box 2898
Poulsbo, WA 98370


Kittery Lions Club
Pine Tree Council 218
P.O. Box 104
Kittery, ME 03904


Kittinger Business Machines
1024 N Mills Ave
Orlando, FL 32803


Kitty Hawk Utd Methodist Church
Tidewater Council 596
803 W Kitty Hawk Rd
Kitty Hawk, NC 27949


Kiva PTO
Grand Canyon Council 010
6911 E Mcdonald Dr
Paradise Valley, AZ 85253


Kiwanas Club Of Logan
Mid‐America Council 326
2649 Monroe Ave
Logan, IA 51546


Kiwanas Club Of Logan
Mid‐America Council 326
2945 Reading Trl
Logan, IA 51546


Kiwanas Club Of North Manchester
Sagamore Council 162
1212 N Wayne St
North Manchester, IN 46962


Kiwanis
Indian Nations Council 488
111 Rodeo Dr E
Fort Gibson, OK 74434


Kiwanis
Inland Nwest Council 611
Sandpoint
Sandpoint, ID 83864


Kiwanis
Sioux Council 733
P.O. Box 464
Clear Lake, SD 57226


Kiwanis   Sons Of American Legion
Buffalo Trace 156
General Delivery
Holland, IN 47541


Kiwanis ‐ Ames Town    Country
Mid Iowa Council 177
1039 Vermont Ct
Ames, IA 50014


Kiwanis ‐ Glasgow
Montana Council 315
P.O. Box 174
Glasgow, MT 59230


Kiwanis ‐ Nevada
Mid Iowa Council 177
P.O. Box 4
Nevada, IA 50201


Kiwanis ‐ Pella
Mid Iowa Council 177
101 Pike Ct
Pella, IA 50219


Kiwanis ‐ Sigourney
Mid Iowa Council 177
709 S Main St
Sigourney, IA 52591


Kiwanis Amr. Legion Post 49
Eagle Nest
Suwannee River Area Council 664
655 N Olive St
Monticello, Fl 32344


Kiwanis Club
Blackhawk Area 660
P.O. Box 262
Rochelle, IL 61068


Kiwanis Club
c/o Dean Hastings
W D Boyce 138
2586 County Rd 500 N
El Paso, IL 61738


Kiwanis Club
Cape Fear Council 425
P.O. Box 606
Elizabethtown, NC 28337


Kiwanis Club
Chippewa Valley Council 637
General Delivery
Cumberland, WI 54829


Kiwanis Club
Mid‐America Council 326
703 Broadway St
Emmetsburg, IA 50536


Kiwanis Club
Pony Express Council 311
P.O. Box 468
Oregon, MO 64473


Kiwanis Club
Pony Express Council 311
P.O. Box 71
Burlington Junction, MO 64428


Kiwanis Club
Sagamore Council 162
202 S Franklin St
Winamac, IN 46996


Kiwanis Club
Santa Fe Trail Council 194
2105 Rd 7
Hugoton, KS 67951


Kiwanis Club
Santa Fe Trail Council 194
P.O. Box 5
Meade, KS 67864
Kiwanis Club
Suffolk County Council Inc 404
101 Montauk Hwy
Lindenhurst, NY 11757


Kiwanis Club
W D Boyce 138
902 E Richardson St
Farmer City, IL 61842


Kiwanis Club
Winnebago Council, Bsa 173
109 Woodland Ave
Riceville, IA 50466


Kiwanis Club   Botello
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club   Maria Moreno Elem Sch
Circle Ten Council 571
2115 S Hampton Rd
Dallas, Tx 75224


Kiwanis Club   Nova Academy
Circle Ten Council 571
P.O. Box 0310
Dallas, TX 75217


Kiwanis Club   Roger Q Mills
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club   T G Terry Elem Sch
Circle Ten Council 571
6661 Greenspan Ave
Dallas, Tx 75232


Kiwanis Club   W.W. Bushman
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club ‐ Appleton‐Fox Cities
Bay‐Lakes Council 635
P.O. Box 62
Appleton, WI 54912


Kiwanis Club ‐ Chilton
Bay‐Lakes Council 635
115 S Columbia St
Chilton, WI 53014


Kiwanis Club ‐ Kewaskum
Bay‐Lakes Council 635
706 Memorial Dr
Kewaskum, WI 53040


Kiwanis Club ‐ New Holstein
c/o Elroy Mauer
Bay‐Lakes Council 635
1813 Washington St
New Holstein, WI 53061


Kiwanis Club ‐ Port Washington
Bay‐Lakes Council 635
1546 Parknoll Ln
Port Washington, WI 53074


Kiwanis Club ‐ T S Morris Elementary
Tukabatchee Area Council 005
801 Hill St
Montgomery, AL 36108


Kiwanis Club Umphrey Lee
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club ‐ Valley City
Northern Lights Council 429
637 6th Ave Ne
Valley City, ND 58072


Kiwanis Club ‐ Waupun
c/o William Jannusch
Bay‐Lakes Council 635
900 Pleasant Ave
Waupun, WI 53963


Kiwanis Club William Brown Miller Sch
Circle Ten Council 571
3111 Bonnie View Rd
Dallas, Tx 75216


Kiwanis Club / 1St Methodist Church
Chattahoochee Council 091
P.O. Box 491
Manchester, GA 31816


Kiwanis Club / American Legion Post 0124
c/o Elroy Mauer
Bay‐Lakes Council 635
1813 Washington St
New Holstein, WI 53061


Kiwanis Club / V F W Post 6707 ‐ Kiel
Bay‐Lakes Council 635
P.O. Box 141
Kiel, WI 53042


Kiwanis Club Anderson Elementary
Circle Ten Council 571
183 Pleasant Dr Sc
Dallas, TX 75217


Kiwanis Club Borger
Golden Spread Council 562
P.O. Box 1141
Borger, TX 79008


Kiwanis Club Clatskanie
Cascade Pacific Council 492
P.O. Box 1095
Clatskanie, OR 97016


Kiwanis Club Colorado City
Buffalo Trail Council 567
1220 Vine St
Colorado City, TX 79512


Kiwanis Club Columbia Gorge
Cascade Pacific Council 492
P.O. Box 152
Troutdale, OR 97060


Kiwanis Club Fairfield Plantation
Atlanta Area Council 092
Montecello Dr
Villa Rica, GA 30180


Kiwanis Club Fort Vancouver
Cascade Pacific Council 492
P.O. Box 822065
Vancouver, WA 98682


Kiwanis Club Inc
Buffalo Trace 156
P.O. Box 68
Dale, IN 47523


Kiwanis Club Jackson
Twin Valley Council Bsa 283
800 Sherman St
Jackson, MN 56143


Kiwanis Club LacanadaLacrescenta‐Am Fndn
Verdugo Hills Council 058
P.O. Box 1255
La Canada Flintridge, Ca 91012


Kiwanis Club Marion
Quivira Council, Bsa 198
403 E Main St
Marion, KS 66861
Kiwanis Club Molalla
Cascade Pacific Council 492
P.O. Box 652
Molalla, OR 97038


Kiwanis Club Nport   E Nport
Suffolk County Council Inc 404
24 Woodbine Ave
Northport, Ny 11768


Kiwanis Club Oak Cliff
At Founders Academy
Circle Ten Council 571
2407 W 12Th St
Dallas, Tx 75211


Kiwanis Club Oak Cliff     Thomas Tolber
Circle Ten Council 571
4000 Blue Ridge Blvd
Dallas, Tx 75233


Kiwanis Club Oakcliff Kahan Elementary
Circle Ten Council 571
610 N Franklin St
Dallas, TX 75211


Kiwanis Club Of Abilene
Texas Trails Council 561
2334 Jackson St
Abilene, TX 79602


Kiwanis Club Of Addison
Southern Shores Fsc 783
17335 Manitou Beach Rd
Addison, MI 49220


Kiwanis Club Of Addison
Three Fires Council 127
222 N Jf Kennedy Dr
Addison, IL 60101
Kiwanis Club Of Alpine
San Diego Imperial Council 049
P.O. Box 306
Alpine, CA 91903


Kiwanis Club Of Anderson
Blue Ridge Council 551
105 S Fant St
Anderson, SC 29624


Kiwanis Club Of Ann Arbor
Southern Shores Fsc 783
200 S 1st St
Ann Arbor, MI 48104


Kiwanis Club Of Arcata
Crater Lake Council 491
P.O. Box 232
Arcata, CA 95518


Kiwanis Club Of Ardmore
Arbuckle Area Council 468
P.O. Box 653
Ardmore, OK 73402


Kiwanis Club Of Arlington
Longhorn Council 662
P.O. Box 441
Arlington, TX 76004


Kiwanis Club Of Arlington
Mount Baker Council, Bsa 606
P.O. Box 356
Arlington, WA 98223


Kiwanis Club Of Arnold
Greater St Louis Area Council 312
331 Jeffco Blvd
Arnold, MO 63010


Kiwanis Club Of Arnold
Greater St Louis Area Council 312
754 Jeffco Blvd
Arnold, MO 63010


Kiwanis Club Of Atascadero
Los Padres Council 053
7548 Pismo Ave
Atascadero, CA 93422


Kiwanis Club Of Auburn
Chattahoochee Council 091
P.O. Box 1982
Auburn, AL 36831


Kiwanis Club Of Auburn
Chief Seattle Council 609
P.O. Box 1249
Auburn, WA 98071


Kiwanis Club Of Auburn
Golden Empire Council 047
P.O. Box 434
Auburn, CA 95604


Kiwanis Club Of Aurora
Three Fires Council 127
P.O. Box 1551
Aurora, IL 60507


Kiwanis Club Of Batesville
Quapaw Area Council 018
P.O. Box 2522
Batesville, AR 72503


Kiwanis Club Of Baton Rouge Inc
Istrouma Area Council 211
P.O. Box 1062
Baton Rouge, LA 70821


Kiwanis Club Of Bay‐Osos
Los Padres Council 053
1201 12th St
Los Osos, CA 93402


Kiwanis Club Of Benicia
Mt Diablo‐Silverado Council 023
P.O. Box 722
Benicia, CA 94510


Kiwanis Club Of Birmingham
Great Lakes Fsc 272
572 S Adams Rd
Birmingham, MI 48009


Kiwanis Club Of Blairsville
Northeast Georgia Council 101
P.O. Box 1732
Blairsville, GA 30514


Kiwanis Club Of Blue Water
Water and Woods Council 782
P.O. Box 610402
Port Huron, MI 48061


Kiwanis Club Of Bonita Foundation
San Diego Imperial Council 049
306 Greenwood Pl
Bonita, CA 91902


Kiwanis Club Of Boonville
Great Rivers Council 653
401 Highland Dr
Boonville, MO 65233


Kiwanis Club Of Boonville
Leatherstocking 400
P.O. Box 3
Boonville, NY 13309


Kiwanis Club Of Bradenton
Southwest Florida Council 088
P.O. Box 1250
Bradenton, FL 34206
Kiwanis Club Of Bridgewater
Mayflower Council 251
P.O. Box 663
Bridgewater, MA 02324


Kiwanis Club Of Brighton
Southern Shores Fsc 783
P.O. Box 414
Brighton, MI 48116


Kiwanis Club Of Brownwood
Texas Trails Council 561
P.O. Box 322
Brownwood, TX 76804


Kiwanis Club Of Burbank
Verdugo Hills Council 058
2106 Hilton Dr
Burbank, CA 91504


Kiwanis Club Of California
Great Rivers Council 653
1156 Hampton Ln
California, MO 65018


Kiwanis Club Of Camarillo
Ventura County Council 057
P.O. Box 533
Camarillo, CA 93011


Kiwanis Club Of Cambridge
Muskingum Valley Council, Bsa 467
P.O. Box 953
Cambridge, OH 43725


Kiwanis Club Of Canton
Great Rivers Council 653
812 White St
Canton, MO 63435


Kiwanis Club Of Carlsbad
San Diego Imperial Council 049
P.O. Box 711
Oceanside, CA 92049


Kiwanis Club Of Carmel Valley
Silicon Valley Monterey Bay 055
P.O. Box 485
Carmel Valley, CA 93924


Kiwanis Club Of Carmel, In
Crossroads of America 160
1402 W Main St
Carmel, IN 46032


Kiwanis Club Of Carmichael Foundation
Golden Empire Council 047
P.O. Box 680
Carmichael, CA 95609


Kiwanis Club Of Carson Valley
Nevada Area Council 329
P.O. Box 892
Gardnerville, NV 89410


Kiwanis Club Of Castro Valley
San Francisco Bay Area Council 028
P.O. Box 2961
Castro Valley, CA 94546


Kiwanis Club Of Centralia
Great Rivers Council 653
5149 Audrain Rd 245
Centralia, MO 65240


Kiwanis Club Of Charlevoix
President Gerald R Ford 781
P.O. Box 275
Charlevoix, MI 49720


Kiwanis Club Of Chatham
Abraham Lincoln Council 144
P.O. Box 168
Chatham, IL 62629


Kiwanis Club Of Chatsworth
W.L.A.C.C. 051
P.O. Box 3475
21704 Devonshire St 150
Chatsworth, CA 91313


Kiwanis Club Of Cherokee Village
Quapaw Area Council 018
226 E Lakeshore Dr
Cherokee Village, AR 72529


Kiwanis Club Of Chewelah
Inland Nwest Council 611
P.O. Box 285
Chewelah, WA 99109


Kiwanis Club Of Chino Hills
California Inland Empire Council 045
14071 Peyton Dr, Unit 2236
Chino Hills, CA 91709


Kiwanis Club Of Chula Vista
San Diego Imperial Council 049
355 3rd Ave, Ste 101
Chula Vista, CA 91910


Kiwanis Club Of Cimarron, Nm
P.O. Box 513
Cimarron, NM 87714


Kiwanis Club Of Cle Elum
Grand Columbia Council 614
P.O. Box 933
Cle Elum, WA 98922


Kiwanis Club Of Clovis
Sequoia Council 027
P.O. Box 705
Clovis, CA 93613
Kiwanis Club Of College Station
Sam Houston Area Council 576
P.O. Box A
College Station, TX 77841


Kiwanis Club Of Colonial Plymouth
c/o Sutherland and Yoe
Great Lakes Fsc 272
1095 S Main St
Plymouth, MI 48170


Kiwanis Club Of Columbia
Greater St Louis Area Council 312
P.O. Box 923
Columbia, IL 62236


Kiwanis Club Of Columbia Inc
Middle Tennessee Council 560
418 W 7th St
Columbia, TN 38401


Kiwanis Club Of Columbus, Ga, Inc
Chattahoochee Council 091
2329 S Lumpkin Rd
Columbus, GA 31903


Kiwanis Club Of Colville
Inland Nwest Council 611
P.O. Box 55
Colville, WA 99114


Kiwanis Club Of Cooley Ranch
California Inland Empire Council 045
P.O. Box 345
Colton, CA 92324


Kiwanis Club Of Copiague
Suffolk County Council Inc 404
P.O. Box 537
Copiague, NY 11726
Kiwanis Club Of Corona Del Mar
Orange County Council 039
1931 W Coast Hwy
Newport Beach, CA 92663


Kiwanis Club Of Covington
Atlanta Area Council 092
P.O. Box 126
Covington, GA 30015


Kiwanis Club Of Cumming
Northeast Georgia Council 101
2045 Habersham Trce
Cumming, GA 30041


Kiwanis Club Of Cy‐Fair, Houston
Sam Houston Area Council 576
16213 Congo Ln
Jersey Village, TX 77040


Kiwanis Club Of Delmar
Twin Rivers Council 364
P.O. Box 121
Delmar, NY 12054


Kiwanis Club Of Des Plaines
Pathway To Adventure 456
P.O. Box 153
Des Plaines, IL 60016


Kiwanis Club Of Detroit Lakes
Northern Lights Council 429
P.O. Box 398
Detroit Lakes, MN 56502


Kiwanis Club Of Dewitt Inc
Longhouse Council 373
P.O. Box 23
Syracuse, NY 13214


Kiwanis Club Of Dover‐ Foxcroft
Katahdin Area Council 216
P.O. Box 615
Dover Foxcroft, ME 04426


Kiwanis Club Of East Hollywood/Los Feliz
Greater Los Angeles Area 033
523 N Larchmont Blvd
Los Angeles, CA 90004


Kiwanis Club Of East Norwich
Theodore Roosevelt Council 386
P.O. Box 330
Oyster Bay, NY 11771


Kiwanis Club Of Eatonton
Central Georgia Council 096
205 N Madison Ave
Eatonton, GA 31024


Kiwanis Club Of El Paso
W D Boyce 138
El Paso
El Paso, IL 61738


Kiwanis Club Of El Paso ‐ Coronado
Yucca Council 573
P.O. Box 12695
El Paso, TX 79913


Kiwanis Club Of El Segundo
Greater Los Angeles Area 033
P.O. Box 392
El Segundo, CA 90245


Kiwanis Club Of Ellicott City
Baltimore Area Council 220
3907 Clovelly Rd
Ellicott City, MD 21042


Kiwanis Club Of Elma
Greater Niagara Frontier Council 380
P.O. Box 132
Elma, NY 14059
Kiwanis Club Of Elmore
c/o John Bock
Erie Shores Council 460
19080 W Orchard Dr
Elmore, OH 43416


Kiwanis Club Of Exeter
Sequoia Council 027
P.O. Box 151
Exeter, CA 93221


Kiwanis Club Of Fairbanks
Midnight Sun Council 696
P.O. Box 70864
Fairbanks, AK 99707


Kiwanis Club Of Ferndale
Mount Baker Council, Bsa 606
P.O. Box 245
Ferndale, WA 98248


Kiwanis Club Of Fircrest Wa
Pacific Harbors Council, Bsa 612
4417 64th Ave W
University Pl, WA 98466


Kiwanis Club Of Fontana
California Inland Empire Council 045
P.O. Box 1027
Fontana, CA 92334


Kiwanis Club Of Forest Park
Pathway To Adventure 456
P.O. Box 514
Forest Park, IL 60130


Kiwanis Club Of Forrest City
Quapaw Area Council 018
P.O. Box 706
Forrest City, AR 72336
Kiwanis Club Of Fort Walton Beach Fl
Gulf Coast Council 773
P.O. Box 2198
Fort Walton Beach, FL 32549


Kiwanis Club Of Franklin Park
Wood Dale And Bensenville
Pathway To Adventure 456
3005 Atlantic St
Franklin Park, Il 60131


Kiwanis Club Of Frederick
National Capital Area Council 082
P.O. Box 404
Frederick, MD 21705


Kiwanis Club Of Ft Walton Bch
Gulf Coast Council 773
P.O. Box 2198
Fort Walton Beach, FL 32549


Kiwanis Club Of Fullerton
Orange County Council 039
P.O. Box 222
Fullerton, CA 92836


Kiwanis Club Of Fulton
Great Rivers Council 653
P.O. Box 374
Fulton, MO 65251


Kiwanis Club Of Gaylord
President Gerald R Ford 781
P.O. Box 87
Gaylord, MI 49734


Kiwanis Club Of Glendale
Verdugo Hills Council 058
608 N Central Ave
Glendale, CA 91203
Kiwanis Club Of Golden Gate Naples
Southwest Florida Council 088
4701 Golden Gate Pkwy
Naples, FL 34116


Kiwanis Club Of Grantville   Allied Grdn
San Diego Imperial Council 049
P.O. Box 601211
San Diego, CA 92160


Kiwanis Club Of Granville
Simon Kenton Council 441
P.O. Box 133
Granville, OH 43023


Kiwanis Club Of Greater Davis
Golden Empire Council 047
P.O. Box 2122
Davis, CA 95617


Kiwanis Club Of Greater Garden Grove
Orange County Council 039
12565 Springdale St
Garden Grove, CA 92845


Kiwanis Club Of Greater Modesto
c/o Bill Gordin
Greater Yosemite Council 059
1615 H St
Modesto, CA 95354


Kiwanis Club Of Greater Pismo Beach
Los Padres Council 053
P.O. Box 44
Pismo Beach, CA 93448


Kiwanis Club Of Greater Whittier
Greater Los Angeles Area 033
7606 Wellsford Ave
Whittier, CA 90606


Kiwanis Club Of Greece Ny
Seneca Waterways 397
152 N Park Dr
Rochester, NY 14612


Kiwanis Club Of Griffin
Flint River Council 095
218 Meriwether St
Griffin, GA 30224


Kiwanis Club Of Hamburg
Mid‐America Council 326
1020 Main St
Hamburg, IA 51640


Kiwanis Club Of Hamburg
Southern Shores Fsc 783
Hamburg Mi
Hamburg, MI 48139


Kiwanis Club Of Hanson Foundation Inc
Mayflower Council 251
509 W Washington St
Hanson, MA 02341


Kiwanis Club Of Hartford
Connecticut Rivers Council, Bsa 066
199 Branford St
Hartford, CT 06112


Kiwanis Club Of Hartsdale
Westchester Putnam 388
216 Tallwood Dr
Hartsdale, NY 10530


Kiwanis Club Of Hartselle
Greater Alabama Council 001
P.O. Box 52
Hartselle, AL 35640


Kiwanis Club Of Hartwell
Northeast Georgia Council 101
P.O. Box 158
Hartwell, GA 30643


Kiwanis Club Of Hayward‐Castro Valley
San Francisco Bay Area Council 028
P.O. Box 2961
Castro Valley, CA 94546


Kiwanis Club Of Healdsburg
Redwood Empire Council 041
437 1st St
Clary Hall
Healdsburg, CA 95448


Kiwanis Club Of Helena
Greater Alabama Council 001
P.O. Box 443
Helena, AL 35080


Kiwanis Club Of Hendersonville
Daniel Boone Council 414
P.O. Box 2138
Hendersonville, NC 28793


Kiwanis Club Of Henritta
Northwest Texas Council 587
2107 E Crafton St
Henrietta, TX 76365


Kiwanis Club Of Highline Burien
Chief Seattle Council 609
16030 Stivester Rd Sw
Burien, WA 98166


Kiwanis Club Of Hillsdale
Southern Shores Fsc 783
1791 Steamburg Rd
Hillsdale, MI 49242


Kiwanis Club Of Hixson
Cherokee Area Council 556
P.O. Box 36
Hixson, TN 37343
Kiwanis Club Of Holland
Greater Niagara Frontier Council 380
P.O. Box 297
Holland, NY 14080


Kiwanis Club Of Hollister
Silicon Valley Monterey Bay 055
P.O. Box 492
Hollister, CA 95024


Kiwanis Club Of Holt
Water and Woods Council 782
P.O. Box 708
Holt, MI 48842


Kiwanis Club Of Huntingburg
Buffalo Trace 156
P.O. Box 108
Huntingburg, IN 47542


Kiwanis Club Of Huntsville
Sam Houston Area Council 576
P.O. Box 361
Huntsville, TX 77342


Kiwanis Club Of Iron Mountain/Kingsford
Bay‐Lakes Council 635
200 W Ludington St
Iron Mountain, MI 49801


Kiwanis Club Of Irondequoit
Seneca Waterways 397
745 Titus Ave
Rochester, NY 14617


Kiwanis Club Of Irvine
Orange County Council 039
5299 Alton Pkwy
Irvine, CA 92604
Kiwanis Club Of Issaquah
Chief Seattle Council 609
P.O. Box 1111
Issaquah, WA 98027


Kiwanis Club Of Jackson
Jersey Shore Council 341
P.O. Box 505
Jackson, NJ 08527


Kiwanis Club Of Jefferson
Mid Iowa Council 177
115 E Lincoln Way, Ste 200
Jefferson, IA 50129


Kiwanis Club Of Kennett
Greater St Louis Area Council 312
908 Rose Ave
Kennett, MO 63857


Kiwanis Club Of Keyport Inc
Monmouth Council, Bsa 347
P.O. Box 778
Keyport, NJ 07735


Kiwanis Club Of Kirkland
Chief Seattle Council 609
90 Central Way
Kirkland, WA 98033


Kiwanis Club Of La Habra
Orange County Council 039
409 W La Habra Blvd
La Habra, CA 90631


Kiwanis Club Of La Palma
Orange County Council 039
5031 Sausalito Cir
La Palma, CA 90623


Kiwanis Club Of Lake Forest Foundation
Orange County Council 039
22651 Lake Forest Dr
Lake Forest, CA 92630


Kiwanis Club Of Lake Norman
Mecklenburg County Council 415
P.O. Box 2543
Cornelius, NC 28031


Kiwanis Club Of Lake Stevens
Mount Baker Council, Bsa 606
P.O. Box 530
Lake Stevens, WA 98258


Kiwanis Club Of Lakeside
Denver Area Council 061
6711 Lupine Cir
Arvada, CO 80007


Kiwanis Club Of Latham Inc
Twin Rivers Council 364
3 Christine Ct
Latham, NY 12110


Kiwanis Club Of Leroy
W D Boyce 138
313 Marsh Hawk Dr
Le Roy, IL 61752


Kiwanis Club Of Liberty Lake
Inland Nwest Council 611
P.O. Box 384
Liberty Lake, WA 99019


Kiwanis Club Of Lima
Black Swamp Area Council 449
P.O. Box 544
Lima, OH 45802


Kiwanis Club Of Lincoln
Cornhusker Council 324
2836 Porter Ridge Rd
Lincoln, NE 68516
Kiwanis Club Of Lincoln City
Oregon Trail Council 697
P.O. Box 333
Lincoln City, OR 97367


Kiwanis Club Of Logan
Buckskin 617
P.O. Box 333
Mount Gay, WV 25637


Kiwanis Club Of Los Alamos
Great Swest Council 412
2403 Club Rd
Los Alamos, NM 87544


Kiwanis Club Of Lyons
Quivira Council, Bsa 198
515 S Douglas Ave
Lyons, KS 67554


Kiwanis Club Of Malibu
W.L.A.C.C. 051
28903 Wight Rd
Malibu, CA 90265


Kiwanis Club Of Manassas Battlefield
National Capital Area Council 082
P.O. Box 376
Manassas, VA 20108


Kiwanis Club Of Manitowoc
Bay‐Lakes Council 635
P.O. Box 832
Manitowoc, WI 54221


Kiwanis Club Of Manson
Grand Columbia Council 614
No Mail
Chelan ‐ Manson, WA 98831
Kiwanis Club Of Maquoketa
Illowa Council 133
206 Austin Ave
Maquoketa, IA 52060


Kiwanis Club Of Marsalie
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Marysville
Mount Baker Council, Bsa 606
6907 75th Dr Ne
Marysville, WA 98270


Kiwanis Club Of Massapequa
Theodore Roosevelt Council 386
P.O. Box 195
Massapequa, NY 11758


Kiwanis Club Of Meade Kansas
Santa Fe Trail Council 194
P.O. Box 1043
Meade, KS 67864


Kiwanis Club Of Menlo Park
Pacific Skyline Council 031
P.O. Box 311
Menlo Park, CA 94026


Kiwanis Club Of Monroe
Blackhawk Area 660
N3698 State Rd 59
Monroe, WI 53566


Kiwanis Club Of Monroe
Blackhawk Area 660
P.O. Box 456
Monroe, WI 53566


Kiwanis Club Of Monroe
Northeast Georgia Council 101
P.O. Box 683
Monroe, GA 30655


Kiwanis Club Of Monte Vista
Rocky Mountain Council 063
200 Franklin St
P.O. Box 287
Monte Vista, CO 81144


Kiwanis Club Of Monterey
Silicon Valley Monterey Bay 055
18619 Mcclellan Cir
East Garrison, CA 93933


Kiwanis Club Of Moraga Valley
Mt Diablo‐Silverado Council 023
P.O. Box 503
Moraga, CA 94556


Kiwanis Club Of Morgan Hill
Silicon Valley Monterey Bay 055
P.O. Box 753
Morgan Hill, CA 95038


Kiwanis Club Of Morristown
Great Smoky Mountain Council 557
P.O. Box 1002
Morristown, TN 37816


Kiwanis Club Of Mound City
Pony Express Council 311
P.O. Box 116
Mound City, MO 64470


Kiwanis Club Of Mountain Grove
Ozark Trails Council 306
General Delivery
Mountain Grove, MO 65711


Kiwanis Club Of Naples On The Gulf
Southwest Florida Council 088
3871 1st Ave Sw
Naples, FL 34117


Kiwanis Club Of Newington
Connecticut Rivers Council, Bsa 066
P.O. Box 310214
Newington, CT 06131


Kiwanis Club Of Newnan
Flint River Council 095
103 Garden Hills Dr
Newnan, GA 30263


Kiwanis Club Of Newport
Great Smoky Mountain Council 557
P.O. Box 815
Newport, TN 37821


Kiwanis Club Of North Lake Tahoe
Nevada Area Council 329
P.O. Box 5718
Tahoe City, CA 96145


Kiwanis Club Of North Olmsted
Lake Erie Council 440
31143 Lily Ln
North Olmsted, OH 44070


Kiwanis Club Of North Shore Milwaukee In
Three Harbors Council 636
3916 N Oakland Ave, Unit 318
Shorewood, WI 53211


Kiwanis Club Of Northfield
Western Massachusetts Council 234
P.O. Box 943
Northfield, MA 01360


Kiwanis Club Of Nova Academy Cedar Hill
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211
Kiwanis Club Of Oak Cliff
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Cliff    Jn Bryan
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Cliff    Jn Ervin
Circle Ten Council 571
3722 Black Oak Dr
Dallas, TX 75241


Kiwanis Club Of Oak Cliff    Pease
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Cliff    Twain Elem
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Cliff   Rl Thornton
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Cliff   Steven Park
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Cliff Oliverelem
Circle Ten Council 571
2407 W 12th St
Dallas, TX 75211


Kiwanis Club Of Oak Ridge
Great Smoky Mountain Council 557
P.O. Box 7000
Oak Ridge, TN 37831


Kiwanis Club Of Oakwood
Northeast Georgia Council 101
P.O. Box 1502
Oakwood, GA 30566


Kiwanis Club Of Okeene
Cimarron Council 474
116 W E St
Community Bldg
Okeene, OK 73763


Kiwanis Club Of Old Town Clovis
Sequoia Council 027
1486 Tollhouse Rd, Ste 103
Clovis, CA 93611


Kiwanis Club Of Olmsted Falls
Lake Erie Council 440
8534 Brentwood Dr
Olmsted Twp, OH 44138


Kiwanis Club Of Oviedo/Winter Springs
Central Florida Council 083
P.O. Box 196983
Winter Springs, FL 32719


Kiwanis Club Of Owosso Inc
Water and Woods Council 782
P.O. Box 363
215 N Water St
Owosso, MI 48867


Kiwanis Club Of Oxnard
Ventura County Council 057
2572 Bolker Dr
Port Hueneme, CA 93041


Kiwanis Club Of Pacific Grove
Silicon Valley Monterey Bay 055
P.O. Box 351
Pacific Grove, CA 93950


Kiwanis Club Of Palm Beach Gardens
Gulf Stream Council 085
1224 US Hwy 1, Ste G
North Palm Beach, FL 33408


Kiwanis Club Of Pasco
Blue Mountain Council 604
P.O. Box 556
Pasco, WA 99301


Kiwanis Club Of Paso Robles
Los Padres Council 053
P.O. Box 1615
Paso Robles, CA 93447


Kiwanis Club Of Peachtree City
Flint River Council 095
P.O. Box 2043
Peachtree City, GA 30269


Kiwanis Club Of Petersburg
Abraham Lincoln Council 144
999 Petersburg
Petersburg, IL 62675


Kiwanis Club Of Plainview
South Plains Council 694
P.O. Box 684
Plainview, TX 79073


Kiwanis Club Of Plano Tx Usa
Circle Ten Council 571
P.O. Box 261505
Plano, TX 75026


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
1324 Pleasant Dr
Dallas, TX 75217


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
1515 S Buckner Blvd, Ste 183
Dallas, TX 75217


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
2449 Trenton Dr
Mesquite, TX 75150


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
8301 Bruton Rd
Dallas, TX 75217


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
8401 Bruton Rd
Dallas, TX 75217


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
8501 Bruton Rd
Dallas, TX 75217


Kiwanis Club Of Pleasant Grove
Circle Ten Council 571
P.O. Box 170310
Dallas, TX 75217


Kiwanis Club Of Pleasant Grove‐Macon
Circle Ten Council 571
650 Holcomb Rd
Dallas, TX 75217


Kiwanis Club Of Prairie Du Chien
c/o Dave Parks
Gateway Area 624
214 W Blackhawk Ave
Prairie Du Chien, WI 53821
Kiwanis Club Of Providence Point
Issaquah
Chief Seattle Council 609
4135A Providence Point Dr Se
Issaquah, Wa 98029


Kiwanis Club Of Rancho Murieta
Golden Empire Council 047
P.O. Box 855
Sloughhouse, CA 95683


Kiwanis Club Of Rancho Murietta
Golden Empire Council 047
P.O. Box 855
Sloughhouse, CA 95683


Kiwanis Club Of Reading
Dan Beard Council, Bsa 438
813 E Columbia Ave
Cincinnati, OH 45215


Kiwanis Club Of Redondo Beach
Greater Los Angeles Area 033
318 Ave I 82
Redondo Beach, CA 90277


Kiwanis Club Of Redwood City
Pacific Skyline Council 031
P.O. Box 624
Redwood City, CA 94064


Kiwanis Club Of Republic
Grand Columbia Council 614
154 Yenter Rd
Republic, WA 99166


Kiwanis Club Of Riceville
Winnebago Council, Bsa 173
3145 390th St
Riceville, IA 50466
Kiwanis Club Of Riverside Uptown
California Inland Empire Council 045
P.O. Box 20394
Riverside, CA 92516


Kiwanis Club Of Riverview
Great Lakes Fsc 272
15841 Kristin Ln
Riverview, MI 48193


Kiwanis Club Of Rock Island
Illowa Council 133
P.O. Box 3434
Rock Island, IL 61204


Kiwanis Club Of Rocklin
Golden Empire Council 047
P.O. Box 76
Rocklin, CA 95677


Kiwanis Club Of Rockville
National Capital Area Council 082
P.O. Box 1401
Rockville, MD 20849


Kiwanis Club Of Rockwall
Circle Ten Council 571
P.O. Box 903
Rockwall, TX 75087


Kiwanis Club Of Roseville
Golden Empire Council 047
P.O. Box 662
Roseville, CA 95678


Kiwanis Club Of Royal Oak
Great Lakes Fsc 272
P.O. Box 427
Royal Oak, MI 48068


Kiwanis Club Of Sac City
Mid‐America Council 326
1015 W Main St
Sac Community Rec Center
Sac City, IA 50583


Kiwanis Club Of Saline
Southern Shores Fsc 783
3702 Hedgerow Dr
Mike Raham
Saline, MI 48176


Kiwanis Club Of Salyersville
Blue Grass Council 204
General Delivery
Salyersville, KY 41465


Kiwanis Club Of Sammamish
Chief Seattle Council 609
704 228th Ave NE, Ste 772
Sammamish, WA 98074


Kiwanis Club Of San Carlos
Pacific Skyline Council 031
P.O. Box 1103
San Carlos, CA 94070


Kiwanis Club Of San Clemente
Orange County Council 039
P.O. Box 32
San Clemente, CA 92674


Kiwanis Club Of San Marcos
San Diego Imperial Council 049
P.O. Box 493
San Marcos, CA 92079


Kiwanis Club Of San Mateo
Pacific Skyline Council 031
P.O. Box 2028
San Mateo, CA 94401


Kiwanis Club Of San Ramon Valley
Mt Diablo‐Silverado Council 023
P.O. Box 223
Danville, CA 94526


Kiwanis Club Of Santa Clarita
W.L.A.C.C. 051
27959 Palmetto Ridge Dr
Valencia, CA 91354


Kiwanis Club Of Santa Rosa
Redwood Empire Council 041
P.O. Box 1204
Santa Rosa, CA 95402


Kiwanis Club Of Scott City
Greater St Louis Area Council 312
210 Forest Dr
Scott City, MO 63780


Kiwanis Club Of Sevierville
Great Smoky Mountain Council 557
P.O. Box 5896
Sevierville, TN 37864


Kiwanis Club Of Sikeston
1St United Methodist Church OF Sikeston
Greater St Louis Area Council 312
P.O. Box 234
Sikeston, Mo 63801


Kiwanis Club Of Solvay Geddes      Camillus
Longhouse Council 373
119 Meadow Rd
Syracuse, NY 13219


Kiwanis Club Of Solvay‐Geddes‐Camillus
Longhouse Council 373
408 Clover Rd
Syracuse, NY 13219


Kiwanis Club Of Southington
Connecticut Yankee Council Bsa 072
P.O. Box 372
Southington, CT 06489


Kiwanis Club Of Spring Hill
Middle Tennessee Council 560
P.O. Box 1822
Spring Hill, TN 37174


Kiwanis Club Of Springville Utah
Utah National Parks 591
1277 N 150 E
Springville, UT 84663


Kiwanis Club Of St Louis Park
Northern Star Council 250
7930 Golden Valley Rd, Ste 15
Golden Valley, MN 55427


Kiwanis Club Of Stephenville
Texas Trails Council 561
P.O. Box 281
Stephenville, TX 76401


Kiwanis Club Of Sunrise Vista
San Diego Imperial Council 049
P.O. Box 142
Vista, CA 92084


Kiwanis Club Of Surf City Santa Cruz
Silicon Valley Monterey Bay 055
P.O. Box 1223
Santa Cruz, CA 95061


Kiwanis Club Of Swainsboro
Georgia‐Carolina 093
428 Fairground Rd
Swainsboro, GA 30401


Kiwanis Club Of Swartz Creek
Water and Woods Council 782
8077 Miller Rd
Swartz Creek, MI 48473
Kiwanis Club Of Temecula Valley
California Inland Empire Council 045
P.O. Box 447
Temecula, CA 92593


Kiwanis Club Of Tempe
Grand Canyon Council 010
P.O. Box 27366
Tempe, AZ 85285


Kiwanis Club Of Temple City
Greater Los Angeles Area 033
P.O. Box 173
Temple City, CA 91780


Kiwanis Club Of The Bay Area
Oregon Trail Council 697
P.O. Box 866
North Bend, OR 97459


Kiwanis Club Of The Haddons
c/o Popiolek Funeral Home
Garden State Council 690
400 Clements Bridge Rd
Barrington, NJ 08007


Kiwanis Club Of The Ranchos
Sequoia Council 027
37479 Ave 12
Madera, CA 93636


Kiwanis Club Of Thevalleys
Silicon Valley Monterey Bay 055
P.O. Box 66257
Scotts Valley, CA 95067


Kiwanis Club Of Three Village
Suffolk County Council Inc 404
P.O. Box 553
East Setauket, NY 11733
Kiwanis Club Of Tierrasanta
San Diego Imperial Council 049
P.O. Box 420094
San Diego, CA 92142


Kiwanis Club Of Torrey Pines
San Diego Imperial Council 049
8677 Villa La Jolla Dr
La Jolla, CA 92037


Kiwanis Club Of Twentynine Palms
California Inland Empire Council 045
P.O. Box 2288
Twentynine Palms, CA 92277


Kiwanis Club Of Upper Allen Inc
New Birth of Freedom 544
2198 Hastings Dr
Mechanicsburg, PA 17055


Kiwanis Club Of Victoria Texas
South Texas Council 577
106 Nottingham Dr
P.O. Box 3974
Victoria, TX 77904


Kiwanis Club Of Washington
Georgia‐Carolina 093
1041 Lexington Rd
Washington, GA 30673


Kiwanis Club Of Watonga
Cimarron Council 474
P.O. Box 717
Watonga, OK 73772


Kiwanis Club Of Wauwatosa
Three Harbors Council 636
2047 N 85th St
Wauwatosa, WI 53226
Kiwanis Club Of Webster
Seneca Waterways 397
P.O. Box 632
Webster, NY 14580


Kiwanis Club Of Webster
Sioux Council 733
P.O. Box 15
Webster, SD 57274


Kiwanis Club Of Wellington
Lake Erie Council 440
127 Park Pl
Wellington, OH 44090


Kiwanis Club Of West Seattle
Chief Seattle Council 609
P.O. Box 16309
Seattle, WA 98116


Kiwanis Club Of Westlake
Utah National Parks 591
2462 S Maverick Rd
Saratoga Springs, UT 84045


Kiwanis Club Of Westport
Hoosier Trails Council 145 145
P.O. Box 428
Westport, IN 47283


Kiwanis Club Of Wheaton
Three Fires Council 127
P.O. Box 33
Wheaton, IL 60187


Kiwanis Club Of Williamsburg
Colonial Virginia Council 595
310 S England St
Williamsburg, VA 23185


Kiwanis Club Of Williamston
Water and Woods Council 782
2281 White Pine Dr
Williamston, MI 48895


Kiwanis Club Of Youngstown‐Williamson
Great Trail 433
17 N Champion St
Youngstown, OH 44503


Kiwanis Club Omak
Grand Columbia Council 614
P.O. Box 1300
Omak, WA 98841


Kiwanis Club Pleasant Grove Titche Sch
Circle Ten Council 571
8914 Fairhaven Ln
Dallas, Tx 75227


Kiwanis Club Pueblo De San Jose
Silicon Valley Monterey Bay 055
2118 Walsh Ave
Santa Clara, CA 95050


Kiwanis Club Riviera Beach Florida
Gulf Stream Council 085
619 Nlake Blvd
North Palm Beach, FL 33408


Kiwanis Club Rockwood
Cascade Pacific Council 492
P.O. Box 20518
Portland, OR 97294


Kiwanis Club Ross Island Early Risers
Cascade Pacific Council 492
5433 NE Skidmore St
Portland, OR 97218


Kiwanis Club Sandy
Cascade Pacific Council 492
P.O. Box 1446
Sandy, OR 97055
Kiwanis Club Scappoose
Cascade Pacific Council 492
P.O. Box 482
Scappoose, OR 97056


Kiwanis Club South Lyon
Great Lakes Fsc 272
P.O. Box 235
South Lyon, MI 48178


Kiwanis Club Southwest Hills
Cascade Pacific Council 492
7442 SW Corbett Ave
Portland, OR 97219


Kiwanis Club‐ Tatunm
Circle Ten Council 571
8501 Bruton Rd
Dallas, TX 75217


Kiwanis Club Tonasket
Grand Columbia Council 614
P.O. Box 632
Tonasket, WA 98855


Kiwanis Club Willamina Sheridan
Grande Ronde
Cascade Pacific Council 492
P.O. Box 1144
Willamina, Or 97396


Kiwanis Club Woodburn
Cascade Pacific Council 492
1475 Mount Hood Ave
Woodburn, OR 97071


Kiwanis Club Young
Circle Ten Council 571
4601 Veterans Dr
Dallas, TX 75216
Kiwanis Club/Elks Club Of Susanville
Nevada Area Council 329
400 Main St
Susanville, CA 96130


Kiwanis Club‐Darboy
Bay‐Lakes Council 635
N178 County Rd N
Appleton, WI 54915


Kiwanis Club‐Marion
Quivira Council, Bsa 198
223 Tanglewood St
703 S Coble St
Marion, KS 66861


Kiwanis Clubs Henry Gonzales School
Circle Ten Council 571
8201 Bruton Rd
Dallas, TX 75217


Kiwanis International
Tuscarora Council 424
P.O. Box 201
Kenly, NC 27542


Kiwanis International Convention
Exhibition Registration
3636 Woodview Trace
Indianapolis, IN 46268‐3196


Kiwanis International Wellesley Inc
Mayflower Council 251
P.O. Box 812201
Wellesley, MA 02482


Kiwanis Mankato
Twin Valley Council Bsa 283
P.O. Box 733
Kiwanis Mankato
Mankato, MN 56002
Kiwanis Of East Orange County
Central Florida Council 083
12819 Waterhaven Cir
Underliverable As Addressed
Orlando, FL 32828


Kiwanis Of Fairview Heights
Greater St Louis Area Council 312
P.O. Box 3064
Fairview Heights, IL 62208


Kiwanis Of Granville
Simon Kenton Council 441
P.O. Box 133
Granville, OH 43023


Kiwanis Of Hays
Coronado Area Council 192
1304 Schwaller Ave
Hays, KS 67601


Kiwanis Of Saddle Brook
Northern New Jersey Council, Bsa 333
114 Colonial Ave
Saddle Brook, NJ 07663


Kiwanis Of San Luis Obispo
Los Padres Council 053
P.O. Box 371
San Luis Obispo, CA 93406


Kiwanis Of Slayton
Sioux Council 733
40 Park Dr
Slayton, MN 56172


Kiwanis Of South Bend
Pacific Harbors Council, Bsa 612
P.O. Box 425
South Bend, WA 98586
Kiwanis Of Sylvester
South Georgia Council 098
P.O. Box 846
Sylvester, GA 31791


Kiwanis Of West Seattle
Chief Seattle Council 609
P.O. Box 16128
Seattle, WA 98116


Kiwanis Of Windom
Twin Valley Council Bsa 283
812 4th Ave
Windom, MN 56101


Kiwanis Scout Camp
15987 Saint Croix Trail N
Marine On St Croix, MN 55047‐9600


Kiwanis‐Grafton
Northern Lights Council 429
402 Hill Ave
Grafton, ND 58237


Kiwans S Club Of Pleasant Grove
Circle Ten Council 571
8501 Bruton Rd
Dallas, TX 75217


Klamath Cnty Ch Oregon Hunters Assoc
Crater Lake Council 491
P.O. Box 8161
Klamath Falls, Or 97602


Klamath Falls City Police Dept
Crater Lake Council 491
2501 Shasta Way
Klamath Falls, OR 97601


Klamath Falls Lions Club
Crater Lake Council 491
P.O. Box 305
Klamath Falls, OR 97601


Klamath River Fire Co
Crater Lake Council 491
30330 Walker Rd
Klamath River, CA 96050


Klas Products Inc
4100 Eldorado Pkwy, Ste 100 434
Mckinney, TX 75070


Klassy Kids
245 Bedford St
Whitman, MA 02382‐1863


Klayton Fink
Address Redacted


Klc School Partnerships
10106 W San Juan Way, Ste 100
Littleton, CO 80217


Klecker Knives
205 Oak St, Ste B
Silverton, OR 97381


Klecknersville Rangers Fire Co
Minsi Trails Council 502
2718 Mountain View Dr
Bath, PA 18014


Kleen‐Rite Corp
257 S 9th St
P.O. Box 886
Columbia, PA 17512


Klein Phoenix Scouting Lions Club
Sam Houston Area Council 576
P.O. Box 12081
Klein, TX 77391
Klein Texas Historical Foundation
Sam Houston Area Council 576
7200 Spring Cypress Rd
Klein, TX 77379


Klein Utd Methodist Church
Sam Houston Area Council 576
5920 Fm 2920 Rd
Spring, TX 77388


Klein Volunteer Fire Dept
Sam Houston Area Council 576
16810 Squyres Rd
Spring, TX 77379


Klem Road North Elementary School Ptsa
Seneca Waterways 397
1015 Klem Rd
Webster, NY 14580


Klem Road South Elementary School Ptsa
Seneca Waterways 397
1025 Klem Rd
Webster, NY 14580


Kli Shell Lumber    Hardware LLC
102265 Overseas Hwy
Key Largo, FL 33037


Klixi Cannon
505 Kingsbridge Dr
Garland, TX 75040‐3634


Klondike School PTO
Sagamore Council 162
Klondike School Pto
3311 Klondike Rd


Klun Law Firm P A
1 E Chapman St
Ely, MN 55731
Klun Law Firm P A
P.O. Box 240
Ely, MN 55731‐0240


Klymit Argon Technologies
457 S Desert Dr, Ste 1
Kaysville, UT 84037


Km Design Inc
8931 Bryant Field Cir
Charlotte, NC 28277


Km Services
1159 Leonard Nw
Grand Rapids, MI 49504


Kmart
1235 S Second
Raton, NM 87740


Kmc Firefighter Assoc
Transatlantic Council, Bsa 802
Unit 3180 Box 300
Apo Ae, 09094


Kment Parent Club
Great Lakes Fsc 272
20033 Washington St
Roseville, MI 48066


Kms Designs
Great Salt Lake Council 590
446 E 1310 N
Tooele, UT 84074


Knapp Elementary PTO
Chippewa Valley Council 637
110 S St
Knapp, WI 54749
Knapp Elementary/Clipper Club
Three Harbors Council 636
2701 17th St
Racine, WI 53405


Knickrehm Elementary School/Pta
Overland Trails 322
2013 N Oak St
Grand Island, NE 68801


Knight Of Columbus Council 5254
Silicon Valley Monterey Bay 055
1911 Saint Lawrence Dr
Santa Clara, CA 95051


Knightdale Utd Methodist Church
Occoneechee 421
7071 Forestville Rd
Knightdale, NC 27545


Knights Auto Parts
P.O. Box 386
Raton, NM 87740‐0386


Knights Columbus 1762 St Pats Ch
Northern Star Council 250
1500 Vine St
Hudson, Wi 54016


Knights Columbus Fr Thomas Lane
Council 3645
Chief Seattle Council 609
314 S 4Th St
Renton, Wa 98057


Knights Columbus Ponderosa Charities Inc
Nevada Area Council 329
7581 Avila Dr
Sparks, Nv 89436


Knights Columbus Sacred Heart
Council 2804
Heart Of America Council 307
21801 Johnson Dr
Shawnee, Ks 66218


Knights Columbus St Andrews Catholic Ch
Grand Columbia Council 614
401 S Willow St
Ellensburg, Wa 98926


Knights Columbus St Joseph On Rio Grande
Great Swest Council 412
5901 Saint Josephs Ave Nw
Albuquerque, Nm 87120


Knights Columbus St Marys Council 13664
California Inland Empire Council 045
16550 Jurupa Ave
Fontana, Ca 92337


Knights Columbus Sullivan Council 2700
Narragansett 546
20 Claremont St
Central Falls, Ri 02863


Knights Of Colombus Council 13227
Aloha Council, Bsa 104
P.O. Box 359
Kailua Kona, HI 96745


Knights Of Columbus
c/o Tom Ecay
Sequoyah Council 713
1028 Greenfield Dr
Johnson City, TN 37604


Knights Of Columbus
Calcasieu Area Council 209
301 W Nichols St
Welsh, LA 70591


Knights Of Columbus
Christ The King Council 11163
Suffolk County Council Inc 404
2 Indian Head Rd
Commack, Ny 11725


Knights Of Columbus
Crossroads of America 160
1040 N Post Rd
Indianapolis, IN 46219


Knights Of Columbus
Dan Beard Council, Bsa 438
10490 N State St
Harrison, OH 45030


Knights Of Columbus
Gateway Area 624
P.O. Box 55
Prairie Du Chien, WI 53821


Knights Of Columbus
Golden Empire Council 047
814 Solano St
Corning, CA 96021


Knights Of Columbus
Greater St Louis Area Council 312
7057 Old 66
Cuba, MO 65453


Knights Of Columbus
Holy Mother Mary Council 3958
Suffolk County Council Inc 404
P.O. Box 241
Smithtown, Ny 11787


Knights Of Columbus
Los Padres Council 053
P.O. Box 669
Paso Robles, CA 93447


Knights Of Columbus
Mayflower Council 251
91 S St
Kingston, MA 02364


Knights Of Columbus
Northern New Jersey Council, Bsa 333
67 Hathaway St
Wallington, NJ 07057


Knights Of Columbus
Northern Star Council 250
2008 Sunnyview Ln
Northfield, MN 55057


Knights Of Columbus
Northern Star Council 250
P.O. Box 1616
Willmar, MN 56201


Knights Of Columbus
Samoset Council, Bsa 627
P.O. Box 535
Antigo, WI 54409


Knights Of Columbus
W D Boyce 138
120 Walnut St
Council 6707
Washington, IL 61571


Knights Of Columbus     4182
Del Mar Va 081
P.O. Box 165
Dover, DE 19903


Knights Of Columbus 9689
Northeast Illinois 129
P.O. Box 88
Grayslake, IL 60030


Knights Of Columbus ‐ North Canton 3777
Buckeye Council 436
241 S Main St
North Canton, OH 44720


Knights Of Columbus ‐ St Christopher
Greater Los Angeles Area 033
629 S Glendora Ave
West Covina, CA 91790


Knights Of Columbus St Vincent Depaul
Muskingum Valley Council, Bsa 467
303 E High St
Mount Vernon, OH 43050


Knights Of Columbus ‐ Westphalia
Great Rivers Council 653
P.O. Box 132
Westphalia, MO 65085


Knights Of Columbus 11807
South Plains Council 694
1120 52nd St
Lubbock, TX 79412


Knights Of Columbus 13945
Far E Council 803
Psc 556 Box 713
Apo Ap, 96386


Knights Of Columbus 1397
Inland Nwest Council 611
618 E 1st St
St Marys Church


Knights Of Columbus 1623
Greater St Louis Area Council 312
1623 Jeffco Blvd
Arnold, MO 63010


Knights Of Columbus 2204
Theodore Roosevelt Council 386
Morton St   Garity
Farmingdale, NY 11735
Knights Of Columbus 2273
Greater St Louis Area Council 312
2291 Post Rd
O Fallon, MO 63368


Knights Of Columbus 2987
Quivira Council, Bsa 198
115 N 12th St
Conway Springs, KS 67031


Knights Of Columbus 3253
South Texas Council 577
601 Sunnydale Dr
Port Lavaca, TX 77979


Knights Of Columbus 3914
Abraham Lincoln Council 144
355 S 4th St
Riverton, IL 62561


Knights Of Columbus 4026
Last Frontier Council 480
8805 NE 10th St
Midwest City, OK 73110


Knights Of Columbus 4179
Abraham Lincoln Council 144
Rr 1 Box 172A
Chatham, IL 62629


Knights Of Columbus 4753
Narragansett 546
28 Fish Rd
Tiverton, RI 02878


Knights Of Columbus 4964
Golden Empire Council 047
7817 Old Auburn Rd
Citrus Heights, CA 95610
Knights Of Columbus 6018 ‐ Arnold
Greater St Louis Area Council 312
1623 Jeffco Blvd
Arnold, MO 63010


Knights Of Columbus 6273
Hoosier Trails Council 145 145
1709 E Harrison St
Martinsville, IN 46151


Knights Of Columbus 6415
Greater St Louis Area Council 312
1270 Church Rd
O Fallon, MO 63366


Knights Of Columbus 6447
Bay‐Lakes Council 635
264 Silver Creek Rd
Marquette, MI 49855


Knights Of Columbus 6722
Heart of America Council 307
201 S Vine St
Holden, MO 64040


Knights Of Columbus 676
Chief Seattle Council 609
722 E Union St
Seattle, WA 98122


Knights Of Columbus 7487
President Gerald R Ford 781
P.O. Box 453
Jenison, MI 49429


Knights Of Columbus 752
Lake Erie Council 440
816 Monroe St
Bellevue, OH 44811


Knights Of Columbus 7589
North Florida Council 087
P.O. Box 833
Lake City, FL 32056


Knights Of Columbus 7863
Mount Baker Council, Bsa 606
P.O. Box 201
Marysville, WA 98270


Knights Of Columbus 8295
Blue Ridge Council 551
103 Shady Ln
Anderson, SC 29625


Knights Of Columbus 988 Murphysboro
Greater St Louis Area Council 312
606 Plum St
Murphysboro, IL 62966


Knights Of Columbus 996
Westark Area Council 016
P.O. Box 180367
Fort Smith, AR 72918


Knights Of Columbus Aptos Council 9580
Silicon Valley Monterey Bay 055
P.O. Box 2322
Aptos, CA 95001


Knights Of Columbus Bellevue
Northeast Iowa Council 178
100 S 2nd St
Bellevue, IA 52031


Knights Of Columbus Co 2737
Mobile Area Council‐Bsa 004
901 Ryan Ave
Daphne, AL 36526


Knights Of Columbus Council
Northern New Jersey Council, Bsa 333
27 Pompton Ave
Pompton Lakes, NJ 07442
Knights Of Columbus Council   1599
Pathway To Adventure 456
670 Schultz St
Lemont, IL 60439


Knights Of Columbus Council 1078
The Spirit of Adventure 227
10 Brook St
Andover, MA 01810


Knights Of Columbus Council 1128
Longs Peak Council 062
265 Spruce St
Chadron, NE 69337


Knights Of Columbus Council 11421
Gulf Stream Council 085
10300 Yamato Rd
Boca Raton, FL 33498


Knights Of Columbus Council 11732
Indian Nations Council 488
1007 N 19th St
Collinsville, OK 74021


Knights Of Columbus Council 12295
Southern Shores Fsc 783
2201 S Old US Hwy 23
Brighton, MI 48114


Knights Of Columbus Council 12620
Monmouth Council, Bsa 347
240 Broad St
Eatontown, NJ 07724


Knights Of Columbus Council 12765
Mobile Area Council‐Bsa 004
23028 Palmer St
Robertsdale, AL 36576
Knights Of Columbus Council 1337
Louisiana Purchase Council 213
1205 Oliver Rd
Monroe, LA 71201


Knights Of Columbus Council 1345
Northern New Jersey Council, Bsa 333
61 Armour Pl
Dumont, NJ 07628


Knights Of Columbus Council 1400
Laurel Highlands Council 527
450 Lincoln Ave
Pittsburgh, PA 15202


Knights Of Columbus Council 1576
Greater St Louis Area Council 312
700 Clearview Dr
Union, MO 63084


Knights Of Columbus Council 1610
Dan Beard Council, Bsa 438
201 Clark St
Middletown, OH 45042


Knights Of Columbus Council 1883
Northern Lights Council 429
519 1st Ave S
Jamestown, ND 58401


Knights Of Columbus Council 1911
Three Fires Council 127
537 S York St
Elmhurst, IL 60126


Knights Of Columbus Council 246
Twin Rivers Council 364
50 Pine Rd
Saratoga Springs, NY 12866


Knights Of Columbus Council 2601
Three Fires Council 127
P.O. Box 525
Wheaton, IL 60187


Knights Of Columbus Council 2740
Water and Woods Council 782
1021 Woodside Ave
Essexville, MI 48732


Knights Of Columbus Council 3052
Long Beach Area Council 032
9847 E Artesia Blvd
Bellflower, CA 90706


Knights Of Columbus Council 3118
Northern Lights Council 429
P.O. Box 51
Fergus Falls, MN 56538


Knights Of Columbus Council 3389
South Texas Council 577
320 General Cavazos Blvd
Kingsville, TX 78363


Knights Of Columbus Council 3472
Verdugo Hills Council 058
134 S Glenoaks Blvd
Burbank, CA 91502


Knights Of Columbus Council 3652
c/o St Marys Church
South Florida Council 084
1010 Windsor Ln
Key W, Fl 33040


Knights Of Columbus Council 389
President Gerald R Ford 781
1120 4 Mile Rd Ne
Grand Rapids, MI 49525


Knights Of Columbus Council 4064
Great Lakes Fsc 272
531 Common St
Walled Lake, MI 48390


Knights Of Columbus Council 4498
Lake Erie Council 440
32400 Vine St
Willowick, OH 44095


Knights Of Columbus Council 488
Mayflower Council 251
P.O. Box 36
Bridgewater, MA 02324


Knights Of Columbus Council 4901
Golden Empire Council 047
350 Stinson Ave
Vacaville, CA 95688


Knights Of Columbus Council 5216
San Diego Imperial Council 049
672 B Ave
Sacred Heart Catholic Church


Knights Of Columbus Council 5277
Silicon Valley Monterey Bay 055
1911 Saint Lawrence Dr
Santa Clara, CA 95051


Knights Of Columbus Council 5427
Northern New Jersey Council, Bsa 333
79 Pascack Rd
Township of Washington, NJ 07676


Knights Of Columbus Council 5667
Central Florida Council 083
3450 Kilmarnoch Ln
Titusville, FL 32780


Knights Of Columbus Council 570
Garden State Council 690
45 Crosswicks St
Bordentown, NJ 08505
Knights Of Columbus Council 5967
Capitol Area Council 564
P.O. Box 9482
Austin, TX 78766


Knights Of Columbus Council 6197
Golden Empire Council 047
309 Montrose Dr
Folsom, CA 95630


Knights Of Columbus Council 6415
Greater St Louis Area Council 312
1270 Church Rd
Saint Paul, MO 63366


Knights Of Columbus Council 6742
Water and Woods Council 782
11824 S Saginaw St
Grand Blanc, MI 48439


Knights Of Columbus Council 8075
Laurel Highlands Council 527
137 Chief Logan Dr
Tyrone, PA 16686


Knights Of Columbus Council 8306
Alamo Area Council 583
13715 Riggs Rd
Helotes, TX 78023


Knights Of Columbus Council 8747
Silicon Valley Monterey Bay 055
750 Sequoia Dr
Milpitas, CA 95035


Knights Of Columbus Council 9836
Greater Yosemite Council 059
950 S Lincoln Way
Galt, CA 95632


Knights Of Columbus Council No 11459
Northern New Jersey Council, Bsa 333
800 Bergen Ave
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Jersey City, NJ 07306


Knights Of Columbus Ellensburg 1401
Grand Columbia Council 614
401 S Willow St
Ellensburg, WA 98926


Knights Of Columbus Ephrata
Grand Columbia Council 614
5352 Painted Hills Rd
Ephrata, WA 98823


Knights Of Columbus Jfk Council 2952
Istrouma Area Council 211
P.O. Box 2952
Hammond, LA 70404


Knights Of Columbus Kent Council 8150
Chief Seattle Council 609
310 3rd Ave S
Kent, WA 98032


Knights Of Columbus Marion Council 3801
Northern New Jersey Council, Bsa 333
P.O. Box 180
Pompton Lakes, NJ 07442


Knights Of Columbus Of Bloomsdale
Greater St Louis Area Council 312
175 Jersey Ln
Bloomsdale, MO 63627


Knights Of Columbus Of Cuba
Greater St Louis Area Council 312
7057 Old 66
Cuba, MO 65453


Knights Of Columbus Of Leopold 5898
Greater St Louis Area Council 312
P.O. Box 1130
Leopold, MO 63760


Knights Of Columbus Perpetual Help 4603
Simon Kenton Council 441
3730 Broadway
Grove City, OH 43123


Knights Of Columbus St Killians 2204
Theodore Roosevelt Council 386
124 Plitt Ave
Farmingdale, NY 11735


Knights Of Columbus Warrenton
Greater St Louis Area Council 312
700 S St
Truesdale, MO 63380


Knights Of Columbus,Co1261
Oregon Trail Council 697
3959 Sheridan Ave
North Bend, OR 97459


Knights Of Pythias Gaston Lodge 104
Cascade Pacific Council 492
P.O. Box 397
Gaston, OR 97119


Knights Of Pythias Glencoe Lodge 22
Cascade Pacific Council 492
31520 NW Commercial St
North Plains, OR 97133


Knights Of Pythias Lodge 9
Catalina Council 011
2435 E 17th St
Tucson, AZ 85719


Knights Of St John
Black Swamp Area Council 449
St Rochus Commandery
Maria Stein, OH 45860
Knights Of St John
Miami Valley Council, Bsa 444
122 S Wayne St
Piqua, OH 45356


Knightsof Columbus /Vfw Post 2814
Los Padres Council 053
9555 Morro Rd
Atascadero, CA 93422


Knightstown Kids Inc
Crossroads of America 160
4405 S State Rd 109
Wilkinson, IN 46186


Knightstown Kids Inc
Crossroads of America 160
P.O. Box 3
Knightstown, IN 46148


Knightsville Utd Methodist Church Men
Coastal Carolina Council 550
1505 Central Ave
Summerville, SC 29483


Knightsville Utd Methodist Women
Coastal Carolina Council 550
1505 Central Ave
Summerville, SC 29483


Knitec Inc
1235 Puerta Del Sol, Unit 100
San Clemente, CA 92673


Knob Hill Towing
Pikes Peak Council 060
3250 Drennan Industrial Loop N
Colorado Springs, CO 80910


Knob Noster Utd Methodist Church
Heart of America Council 307
106 E Wimer St
Knob Noster, MO 65336


Knollwood Baptist Church
Old Hickory Council 427
330 Knollwood St
Winston Salem, NC 27104


Knotting Hill Inn    Events
Middle Tennessee Council 560
149 Gunter Hollow Rd
Fayetteville, TN 37334


Knotts Memorial Utd Methodist Church
Buckskin 617
P.O. Box 617
Grantsville, WV 26147


Knotts Sportsman Supply
Box 396
Clayton, NM 88415


Knowledge Key Assoc, Inc
Training Camp
Six Neshaminy Interplex, Ste 101
Trevose, PA 19053


Knox Co
1601 W Deer Valley Rd
Phoenix, AZ 85027


Knox County Arc
Buffalo Trace 156
2900 E Arc Ave
Vincennes, IN 47591


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Knox Mclaughlin Gornall     Sennett
120 W 10th St
Erie, PA 16501‐1461


Knox Middle School
Central N Carolina Council 416
1625 Park Rd W
Salisbury, NC 28144


Knox Presbyterian Church
Heart of America Council 307
9595 W 95th St
Overland Park, KS 66212


Knox Presbyterian Church
Three Fires Council 127
1105 Catalpa Ln
Naperville, IL 60540


Knox Utd Methodist Church
Lasalle Council 165
302 S Shield St
Knox, IN 46534


Knoxville East Lions Club
Great Smoky Mountain Council 557
4200 Asheville Hwy
Knoxville, TN 37914


Knoxville LDS Church
Mid Iowa Council 177
1600 W Jackson St
Knoxville, IA 50138


Knoxville Police Dept
Great Smoky Mountain Council 557
800 Howard Baker Ave
Knoxville, TN 37915


Knoxville Utd Methodist Men
Illowa Council 133
303 S Broad St
Knoxville, IL 61448


Knoxville Yoked Churches Mens Fellowship
Five Rivers Council, Inc 375
110 Alba St
Knoxville, PA 16928


Knute Rockne Memorial Kiwanis
Lasalle Council 165
51733 Chestnut Rd
Granger, IN 46530


Knutson Photography Inc
1807 Elliot Ave S, 5
Minneapolis, MN 55404


Ko‐Am Gifted Education Inc
Greater Los Angeles Area 033
4322 Wilshire Blvd, Ste 302
Los Angeles, CA 90010


Kochenderfer Utd Methodist Church
Pennsylvania Dutch Council 524
1105 Kochenderfer Rd
Lebanon, PA 17046


Kodak Utd Methodist Church
Great Smoky Mountain Council 557
2923 Bryan Rd
Kodak, TN 37764


Kodiak Chief Petty Officers Assoc
Great Alaska Council 610
P.O. Box 190410
Kodiak, AK 99619


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Koerner Heights Church
Attn Diana Zuercher
320 N Meridian Rd
Newton, KS 67114


Kog Mainstay Academy
Flint River Council 095
218 Meriwether St
Griffin, GA 30224


Koh Kulkan Daniel Cruz Vazquez
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Kohfeldt Elementary
Bay Area Council 574
1401 9th Ave N
Texas City, TX 77590


Kohler Police Athletic League
Bay‐Lakes Council 635
651 School St
Kohler, WI 53044


Kohl‐Jeck Vfw Post 2866
Greater St Louis Area Council 312
66 Vfw Ln
Saint Charles, MO 63303


Kohrville Elementary P F O
Sam Houston Area Council 576
11600 Woodland Shore Dr
Tomball, TX 77375


Koka Contractors LLC
Longhorn Council 662
160 Timber Ridge Dr
Euless, TX 76039


Kokomo Early Riser Rotary Club
Sagamore Council 162
P.O. Box 6118
Kokomo, IN 46904
Kokomo Opalescent Glass Co Inc
1310 S Market St
P.O. Box 2265
Kokomo, IN 46904


Kolstad‐Olson Drilling
P.O. Box 568
112 S River St
Cook, MN 55723


Kolton M Breeding
Address Redacted


Kona Church Of Christ
Aloha Council, Bsa 104
74‐4907 Palani Rd
Kailua Kona, HI 96740


Kona Hongwanji Mission
Aloha Council, Bsa 104
P.O. Box 769
Kealakekua, HI 96750


Kona Ice
13736 Charcoal Ln
Farmers Branch, TX 75234


Kondos Outdoors
205 N Central Ave
Ely, MN 55731


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21146 Network Pl
Chicago, IL 60673‐1211


Konica Minolta C/O
21146 Network Pl
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Konica Minolta Danka Imaging
4388 Collections Ctr Dr
Chicago, IL 60693


Konica Minolta Premier Finance
10201 Centurion Pkwy N
Jacksonville, FL 32256


Konica Minolta Premier Finance
4251 W John Carpenter Freeway
Irving, TX 75063


Konica‐Minolta Business Solutions Usa In
Dept 2366 P.O. Box 122366
Dallas, TX 75312‐2366


Konko Church Of San Francisco
San Francisco Bay Area Council 028
1909 Bush St
San Francisco, CA 94115


Konnoak Hills Moravian Church
Old Hickory Council 427
3401 Konnoak Dr
Winston Salem, NC 27127


Konocti Bay Sailing Club
Mt Diablo‐Silverado Council 023
9749 Crestview Dr
Clearlake, CA 95422


Kootaga Indian Dancers
Buckskin 617
1349 Saint Marys Ave
Parkersburg, WV 26101


Koppe S Kandles
1031 Gant Rd
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Korean American Scouting Assoc
Greater Los Angeles Area 033
4177 Div St
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Korematsu Discovery Academy
San Francisco Bay Area Council 028
10315 E St
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3029 Lincoln Ave
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Korner Market
Sequoyah Council 713
6515 Mcdonald Rd
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Kornit Digital North America, Inc
10541 N Commerce St
Mequon, WI 53092
Kornit Digital North America, Inc
Dept Ch 19387
Palatine, IL 60055‐9387


Kory J Anthony‐Petter
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Koshare Indian Museum Inc
Rocky Mountain Council 063
P.O. Box 580
115 W 18th St
La Junta, CO 81050


Koshgarian Rug Cleaners Inc
248 E Ogden Ave
Hinsdale, IL 60521


Kosnoff Fasy For The Benefit
Of James Barstad
520 Pike St, Ste 1010
Seattle, WA 98101


Kosnoff Fasy PLLC Trust Account
520 Pike St, Ste 1010
Seattle, WA 98101


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Attn Timothy Kosnoff, Esq.
1321 Upland Dr PMB 4685
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Kossuth Utd Methodist Church
Yocona Area Council 748
189 County Rd 533
Corinth, MS 38834


Kossuth Utd Methodist Church
Yocona Area Council 748
8 Co Rd 604
Kossuth, MS 38834
Koucky Enterprises LLC
5971 Baypoint Rd
Bokeelia, FL 33922


Koucky Enterprises LLC
c/o Charles J Koucky Jr
73800 Overseas Hwy
Islamorada, FL 33036


Kountze Church Of Christ
Three Rivers Council 578
P.O. Box 998
Kountze, TX 77625


Kovack Mechanical Inc
Northeast Georgia Council 101
1421 Wayne Poultry Rd
Pendergrass, GA 30567


Koyasan Buddhist Temple
Greater Los Angeles Area 033
342 E 1st St
Los Angeles, CA 90012


Kpmg LLP
Greater New York Councils, Bsa 640
345 Park Ave
New York, NY 10154


Kpmg, LLP
Mid‐America Council 326
1212 N 96th St, Ste 300
Omaha, NE 68114


Kragen   Co
14039 Aubrey Rd
Beverly Hills, CA 90210


Krahn Elementary PTO
Sam Houston Area Council 576
9502 Eday Dr
Spring, TX 77379


Kramer Lane PTA American Legion
Theodore Roosevelt Council 386
1 Kramer Ln
Plainview, NY 11803


Kramer Law LLC
2307 Waters Dr
Mendota Heights, MN 55120


Kraus Hartig Vfw Post 6587
Northern Star Council 250
8100 Pleasant View Dr Ne
Spring Lake Park, MN 55432


Krauss Garage Co
Lake Erie Council 440
1482 E 363rd St
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Kreinhop Elementary PTA
Sam Houston Area Council 576
20820 Ella Blvd
Spring, TX 77388


Krelman Co
P.O. Box 3115
Pueblo, CO 81005


Krieger   Krieger, A Law Corp
249 E Ocean Blvd, Ste 750
Long Beach, CA 90802


Krietenstein Summer Camp
Crossroads of America 160
6445 E County Rd 575 N
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Kriewald Road Elementary PTA
Alamo Area Council 583
10355 Kriewald Rd
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Kristin Simpson
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Kristin Williams
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Kristina Lucas
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Kristine Humphrey
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Kristine Malkin
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Kristine Mann
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Kristine Marie Burson
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Samoset Council, Bsa 627
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Longhorn Council 662
1001 E Mccart St
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8440 N 87th St
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10 Exchange Pl
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Sam Houston Area Council 576
5510 Winding Ridge Dr
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Kuemper Catholic Schools
Mid‐America Council 326
116 S E St
Carroll, IA 51401


Kully Supply Inc
2100 W Co Rd 42
Burnsville, MN 55337


Kuna Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 116
Kuna, ID 83634


Kuna Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 17
4th   Franklin Ave


Kunkletown Volunteer Fire Co
Minsi Trails Council 502
Rr 3
Kunkletown, PA 18058
Kurru LLC
2240 Warrington Ave
Flower Mound, TX 75028


Kurt Carlson
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Kurt S Adler, Inc
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New York, NY 10001


Kurt Saterbak
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Kurtis Roberts
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Kuster Sign Co
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Addison, TX 75001


Kustom Kraftsmen Inc
6445 El Dora St
Las Vegas, NV 89146


Kustom Signals, Inc
P.O. Box 776238
Chicago, IL 60677‐6238


Kutz Elementary Home   School Assoc
Washington Crossing Council 777
1950 Turk Rd, Rd 3
Doylestown, PA 18901


Kuyahoora Valley Rotary Club
Leatherstocking 400
8218 State Route 28
Blue Rose Restaurant
Newport, NY 13416


Kvc Vfw 2230
Patriots Path Council 358
33 S 21st St
Kenilworth, NJ 07033
Kvc Wheatland
Coronado Area Council 192
205 E 7th St
Hfays, KS 67601


Kwahadi Dancers
Po Box32125
Amarillo, TX 79120


Kwahadi Heritage Inc
Golden Spread Council 562
9151 E Interstate 40
Amarillo, TX 79118


Kwik Kopy Business Center
17587 Glasgow Ave
Lakeville, MN 55044


KwizCom
148 Castle Rock Dr
Richmond Hill, On L4C 5K5
Canada


Kwpacker    Blppacker 2011
257 E 700 N
American Fork, UT 84003


Ky Stoltzfus
5815 Mcgee St
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Kyds‐Keep Youth Doing Something Inc
W.L.A.C.C. 051
7026 Sophia Ave
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Kyffin Elementary PTA
Denver Area Council 061
205 Flora Way
Golden, CO 80401
Kyiv Boy Scout Org
Transatlantic Council, Bsa 802
Department of State
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Kyiv International School
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Kyla Waddell‐Grafton
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Kyle A Estrada
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Kyle Austin
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Kyle Benbrook
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Kyle Brendon Jackson
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Kyle Bryan
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Kyle C Reamer
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Kyle Camp
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Kyle Campbell
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Kyle Chase Woodard
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Kyle D Gage
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Kyle Davis
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Kyle Ellerbeck
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Kyle G Jackson
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Kyle Garber
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Kyle Garner
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Kyle Golimowski
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Kyle Joseph Meyers
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Address Redacted


Kyle Russell And O Donnell Clark
Crew LLP Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Kyle Smith
Address Redacted


Kyle William Piekarski
Address Redacted


Kyletavious Hill
Address Redacted


Kylie R Armstrong
Address Redacted


Kym Price
Address Redacted


Kynan Trail
105 Calumet Dr
Yankton, SD 57078


Kyndall L Chollett
Address Redacted


Kyndl Oliver
Address Redacted


Kyo Ya Hotels   Resorts LP
Sheraton Maui Resort    Spa
P.O. Box 8559
Honolulu, HI 96830‐0559
Kyocera Mita America
P.O. Box 6434
Carol Stream, IL 60197‐6434


Kyocera Mita America Inc‐Nj
225 Sand Rd
Fairfield, NJ 07004‐0008


Kyong Toomey
Address Redacted


Kyra Q Webster
Address Redacted


Kyrene De Las Brisas Ptso
Grand Canyon Council 010
777 N Desert Breeze Blvd E
Chandler, AZ 85226


Kyrene De Los Lagos PTA
Grand Canyon Council 010
17001 S 34th Way
Phoenix, AZ 85048


Kyrene Monte Vista PTO
Grand Canyon Council 010
15221 S Ray Rd
Phoenix, AZ 85048


L   K Propane
6520 Harper Rd
P.O. Box 104
Surveyor, WV 25932‐0104


L   M Fisheries
dba Bionic Bait
95 N W 13th Ave
Pompano Beach, FL 33069


L   M Production Design Group
5510 Cherokee Ave, Ste 200
Alexandria, VA 22312


L Anse Area Parent Committee
Bay‐Lakes Council 635
302 Young St
Baraga, MI 49908


L B Smith Elementary
4700 NW 12th Ave
Miami, FL 33142


L Barbara Powers
Address Redacted


L Brady
Address Redacted


L C Community Ctr
Narragansett 546
P.O. Box 926
Little Compton, RI 02837


L Cutler
Address Redacted


L D S Church Etowah Valley Ward
Northwest Georgia Council 100
870 Peeples Valley Rd Ne
Cartersville, GA 30121


L D S Milwaukee Ward Wi North Stake
Three Harbors Council 636
755 Woelfel Rd
Brookfield, WI 53045


L D S Oak Creek Ward Milw Wi South Stake
Three Harbors Council 636
9600 W Grange Ave
Hales Corners, WI 53130
L D S Parkway Ward Milwaukee Wi Stake
Three Harbors Council 636
9900 W Calumet Rd
Milwaukee, WI 53224


L D S, Tanglewood Ward
Old Hickory Council 427
4260 Clinard Rd
Clemmons, NC 27012


L E Whitford Co Inc
58 Connecticut Blvd
East Hartford, CT 06108


L F Henderson Intermediate School
Caddo Area Council 584
410 Burke St
Ashdown, AR 71822


L F Pike    Sons
339 Main St
Norway, ME 04268


L Franklin Aydelotte
Address Redacted


L G Interiors
3465 Mountain View Blvd
Angel Fire, NM 87710


L G Stone Design, Inc
Sam Houston Area Council 576
6218 Keyko St
Houston, TX 77041


L H Chase
Senior VP‐Bright Claim
3850 Holcomb Bridge Rd, Ste 410
Norcross, GA 30092


L H Manufacturing Co Inc
dba L H Branding Irons
P.O. Box 639
Mandan, ND 58554


L H Odenwald Electric Of River Ridge LLC
332 Tudor Ave
River Ridge, LA 70123


L Hayden
Address Redacted


L I Industries
97‐18 Metropolitan Ave
Forest Hills, NY 11375


L Kevin Schneyder
Address Redacted


L Klepsig
Address Redacted


L L Bean, Inc
Fin. Accounting Services
15 Casco St
Freeport, ME 04033‐0001


L Martin Pavletich Studio
P.O. Box 46
Cimarron, NM 87714


L N E S C
1133 19th St Nw, Ste 100
Washington, DC 20036


L N E S C
1133 19th St NW, Ste 1000
Washington, DC 20036


L O Donald Elementary School
Circle Ten Council 571
1218 Phinney Ave
Dallas, TX 75211


L P Cowart ‐ PTA
Circle Ten Council 571
1515 S Ravinia Dr
Dallas, TX 75211


L P Miles Elementary
Atlanta Area Council 092
4215 Bakers Ferry Rd Sw
Atlanta, GA 30331


L R Sales
8250 Broadway Se
Albuquerque, NM 87105


L T Enterprises
dba Hicks Service Center
1498 S Eisenhower Dr
Beckley, WV 25801


L Theresa Macon
Address Redacted


L Torrison
Address Redacted


L Veronica King
Address Redacted


L.C. Industries, Inc
P.O. Box 6634
Carol Stream, IL 60197‐6634


L2W Taxidermy   Custom Service Co
Alamo Area Council 583
2704 Kline Cir
Schertz, TX 78154
La Amistad
Atlanta Area Council 092
3434 Roswell Rd Nw
Atlanta, GA 30305


La Canada Congregational Church
Greater Los Angeles Area 033
1200 Foothill Blvd
La Canada Flintridge, CA 91011


La Canada Congregational Church Pack 515
Greater Los Angeles Area 033
1200 Foothill Blvd
La Canada Flintridge, CA 91011


La Canada Presbyterian Church
Greater Los Angeles Area 033
626 Foothill Blvd
La Canada Flintridge, CA 91011


La Canada Ward ‐ LDS Tucson North Stake
Catalina Council 011
55 W Arrowsmith Dr
Oro Valley, AZ 85755


La Casa De Cristo Lutheran Church
Grand Canyon Council 010
6300 E Bell Rd
Scottsdale, AZ 85254


La Casa De Esperanza Inc
Potawatomi Area Council 651
410 Arcadian Ave
Waukesha, WI 53186


La Casa Del Buen Pastor
South Florida Council 084
1981 W Oakland Park Blvd
Oakland Park, FL 33311


La Causa Charter School
Three Harbors Council 636
1643 S 2nd St
Milwaukee, WI 53204


La Cd Sar
1240 Sioux
Los Alamos, NM 87544


La China Mcclain
Address Redacted


La Cholla Ward ‐ LDS Tucson North Stake
Catalina Council 011
939 W Chapala Dr
Tucson, AZ 85704


La Cima Club Inc
Attn Sherry Montoya
5215 N O Connor Rd
Irving, TX 75039


La County Fire Dep ‐ Battalion 19
Greater Los Angeles Area 033
3325 W Temple Ave
Pomona, CA 91768


La County Fire Dep ‐ Battalion 22
Greater Los Angeles Area 033
19190 Golden Valley Rd
Santa Clarita, CA 91387


La County Fire Dep ‐ Battalion 5
Greater Los Angeles Area 033
29575 Canwood St
Agoura Hills, CA 91301


La County Fire Dep Battalion 12
Greater Los Angeles Area 033
140 S 2nd Ave
City of Industry, CA 91746


La County Fire Dep‐ Battalion 14
Greater Los Angeles Area 033
27413 Indian Peak Rd
Rolling Hills Estates, CA 90274


La County Fire Dep Battalion 21
Greater Los Angeles Area 033
12110 Adoree St
Norwalk, CA 90650


La County Fire Dept Battalion 7
Greater Los Angeles Area 033
755 E Victoria St
Carson, CA 90746


La County Fire Dept Station
Battalion 6
Greater Los Angeles Area 033
25870 Hemingway Ave
Stevenson Ranch, Ca 91381


La Crosse Police Dept
Gateway Area 624
400 La Crosse St
La Crosse, WI 54601


La Fayette First Utd Methodist Church
Cherokee Area Council 556
301 S Main St
La Fayette, GA 30728


La Francis Hardiman Elementary School
Suffolk County Council Inc 404
792 Mount Ave
Wyandanch, NY 11798


La Grande Optimist Club Inc
Blue Mountain Council 604
P.O. Box 3091
La Grande, OR 97850


La Grange Fire Dept Auxiliary
Great Rivers Council 653
216 S Main St
La Grange, MO 63448


La Grange First Utd Methodist Men
Capitol Area Council 564
P.O. Box 89
1215 N Von Minden St


La Grange Police Dept
304 W Burlington
La Grange, IL 60525


La Grange Presbyterian Church
Lincoln Heritage Council 205
P.O. Box 191
La Grange, KY 40031


La Grange Rotary Club
Capitol Area Council 564
P.O. Box 718
La Grange, TX 78945


La Habra Host Lions
Orange County Council 039
P.O. Box 248
La Habra, CA 90633


La Habra Police Dept
Orange County Council 039
150 N Euclid St
La Habra, CA 90631


La Habra Presbyterian Church
Orange County Council 039
951 N Idaho St
La Habra, CA 90631


La Harpe Lions Club
Mississippi Valley Council 141 141
P.O. Box 185
La Harpe, IL 61450
La Isla Tree Care Co LLC
308 Tavernier St
Tavernier, FL 33070


La Isla Tree Care Co LLC
c/o John Pell
P.O. Box 405
Islamorada, FL 33036


La Jolla Methodist Church
San Diego Imperial Council 049
6063 La Jolla Blvd
La Jolla, CA 92037


La Jolla Presbyterian Church/Kiwanis
San Diego Imperial Council 049
7715 Draper Ave
La Jolla, CA 92037


La Jolla Utd Methodist Church
San Diego Imperial Council 049
6063 La Jolla Blvd
La Jolla, CA 92037


La Joya Isd Police Dept
Rio Grande Council 775
7209 Ann Richards Rd
Palmview, TX 78572


La Keesha Rainey
Address Redacted


La Mesa Firefighters Assoc
San Diego Imperial Council 049
8054 Allison Ave
La Mesa, CA 91942


La Palma Police Dept
Orange County Council 039
7792 Walker St
La Palma, CA 90623
La Paz Children Outreach Commty
Church
Central Florida Council 083
5500 Faith Dr
Rockledge, Fl 32955


La Pia Farm
Puerto Rico Council 661
P.O. Box 253
Jayuya, PR 00664


La Pia Farm Inc
Puerto Rico Council 661
P.O. Box 255
Jayuya, PR 00664


La Pine Lions Club
Crater Lake Council 491
P.O. Box 3241
La Pine, OR 97739


La Plata Utd Methodist Church
National Capital Area Council 082
P.O. Box 2824
La Plata, MD 20646


La Plaza Hispanic Center
Crossroads of America 160
8902 E 38th St
Indianapolis, IN 46226


La Puente Valley Rop
1850 E Gale Ave, Ste 100
Industry, CA 91748


La Quinta Explorers
California Inland Empire Council 045
44555 Adams St
La Quinta, CA 92253
La Quinta Inn    Suites Dallas‐Las Colina
4225 N Macarthur Blvd
Irving, TX 75038


La Rae Boothe
Address Redacted


La Red
2403 Holcombe Blvd
Houston, TX 77021


La Salida Del Sol Lions
Catalina Council 011
P.O. Box 1442
Sierra Vista, AZ 85636


La Salle
1340 S Bend Ave
South Bend, IN 46617


La Salle Cncl 165
1340 S Bend Ave
South Bend, IN 46617


La Salle High School
3091 N Bend Rd
Cincinnati, OH 45239


La Sed Latin Americans, Social   Eco Dev
Great Lakes Fsc 272
4138 W Vernor Hwy
Detroit, Mi 48209


La Tijera School
Greater Los Angeles Area 033
1415 La Tierra Blvd
Inglewood, CA 90302


La Tourells Inc
P.O. Box 239
Ely, MN 55731
La Treasury Dept For U Of La Lafayette
Office of Scholarships
P.O. Box 41206
Lafayette, LA 70504


La Vergne Free Will Baptist Church
Middle Tennessee Council 560
185 Mason Cir
La Vergne, TN 37086


La Verne Police Dept
Greater Los Angeles Area 033
2061 3rd St
La Verne, CA 91750


La Vernia Utd Methodist Church
Alamo Area Council 583
P.O. Box 155
La Vernia, TX 78121


Lab Cardona Lamela Inc
Puerto Rico Council 661
P.O. Box 487
Isabela, PR 00662


Lab Safety Supply Inc
P.O. Box 5004
Janesville, WI 53547‐5004


Labatt Institutional Supply Co
P.O. Box 27730
Albuquerque, NM 87125


Label Systems Inc
4111 Lindbergh Dr
Addison, TX 75001


Labf
Varassaarenkatu 5 A 11
Nokia, 37120
Finland


Labor Law Center Inc
3501 W Garry Aveune
Santa Ana, CA 92704


Labor Law Compliance Center
17215 Red Oak Dr, Ste 112
Houston, TX 77090


Labor Ready Midwest Inc
P.O. Box 740435
Atlanta, GA 30374‐0435


Labor Ready Northeast Inc
P.O. Box 820145
Philadelphia, PA 19182‐0145


Labor Ready Southeast Iii, LP
P.O. Box 740435
Atlanta, GA 30374‐0435


Labor Ready Southwest Inc
P.O. Box 641034
Pittsburgh, PA 15264‐1034


Labor Ready Southwest, Inc
P.O. Box 31001‐0257
Pasadena, CA 91110‐0257


Labrae Scout Alumni Assoc Inc
Great Trail 433
2235 N Leavitt Rd Nw
Warren, OH 44485


Labtest International, Inc
P.O. Box 99959
Chicago, IL 60696‐7759


Labyrinth Inc ‐ West
1808 Aston Ave, Ste 230
Carlsbad, CA 92008


Lac Courte Oreilles Tribal Police
Chippewa Valley Council 637
13394 W Trepania Rd
Hayward, WI 54843


Lac Hong Group
Silicon Valley Monterey Bay 055
2018 Skyline Dr
Milpitas, CA 95035


Lac Viet Community Devt Corp
Orange County Council 039
2715 W Madison Cir
Anaheim, CA 92801


Lac Viet Culture Center
San Diego Imperial Council 049
6819 Deep Valley Rd
San Diego, CA 92120


Lacey A Hunt
Address Redacted


Lacey Police Dept
Pacific Harbors Council, Bsa 612
420 College St Se
Lacey, WA 98503


Lacey Professional Firefighter S
Local 2903
Pacific Harbors Council, Bsa 612
P.O. Box 5013
Lacey, Wa 98509


Lacey T Bowman
Address Redacted


Lacey Twp Police Pba Local 238
Jersey Shore Council 341
P.O. Box 238
Forked River, NJ 08731


Lachlan E Kerr
Address Redacted


Lachmund‐Cramer Post 7694 Vfw
Glaciers Edge Council 620
P.O. Box 24
Prairie Du Sac, WI 53578


Lackland Vfw Post 9174
Alamo Area Council 583
2400 Pinn Rd
San Antonio, TX 78227


Lacofd Fire Station 166
Greater Los Angeles Area 033
3615 Santa Anita Ave
El Monte, CA 91731


Lacon Rotary Club
W D Boyce 138
217 S Prairie St
Lacon, IL 61540


Lacon Rotary Club
W D Boyce 138
P.O. Box 244
Lacon, IL 61540


Ladd Moose
W D Boyce 138
1528 E Cleveland St
Ladd, IL 61329


Laddie Buck
Address Redacted


Ladera Ranch Education Foundation Inc
Orange County Council 039
27762 Antonio Pkwy, Ste L1‐306
Ladera Ranch, CA 92694


Ladoga Christian Church
Crossroads of America 160
P.O. Box 26
124 W Elm St
Ladoga, IN 47954


Ladonia Baptist Church
Chattahoochee Council 091
3789 US Hwy 80 W
Phenix City, AL 36870


Ladue Middle School Parents Org
Greater St Louis Area Council 312
9701 Conway Rd
Saint Louis, MO 63124


Lady And Sons
102 W Congress St
Savannah, GA 31401


Ladyfingers Fine Catering Inc
12901 Old Henry Rd
Louisville, KY 40223


Ladysmith Jaycees
Chippewa Valley Council 637
P.O. Box 191
Ladysmith, WI 54848


Ladysmith Lions Club
Chippewa Valley Council 637
1102 Lake Ave W
Ladysmith, WI 54848


Ladysmith Ruritan Club
National Capital Area Council 082
19366 Chilesburg Rd
Beaverdam, VA 23015
Ladysmith Village Hoa
National Capital Area Council 082
17276 Camellia Dr
Ruther Glen, VA 22546


Lafave, Wein   Frament, PLLC, and
Jeff Anderson   Associates, PA
re Plaintiff
2400 Wern Ave
Guilderland, NY 12084


Lafave, Wein   Frament, PLLC, And
Jeff Anderson   Associates, PA
re Plaintiff
55 W 39th St, 11th Fl
New York, NY 10018


Lafayette American Legion Post 300
Twin Valley Council Bsa 283
P.O. Box 102
Lafayette, MN 56054


Lafayette Avenue Presbyterian Church
Greater Niagara Frontier Council 380
875 Elmwood Ave
Buffalo, NY 14222


Lafayette Christian Church
Mt Diablo‐Silverado Council 023
584 Glenside Dr
Lafayette, CA 94549


Lafayette Church Of Christ
Middle Tennessee Council 560
212 Church St
Lafayette, TN 37083


Lafayette College
Attn Financial Aid Office
107 Markle Hall
Easton, PA 18042‐1777
Lafayette Dads Club
Mt Diablo‐Silverado Council 023
1224 Monticello Rd
Lafayette, CA 94549


Lafayette Elementary School Parents
San Francisco Bay Area Council 028
1700 Market St
Oakland, CA 94607


Lafayette Fire Dept
Evangeline Area 212
300 N Dugas Rd
Lafayette, LA 70507


Lafayette Fire Dept
Patriots Path Council 358
P.O. Box 164
Lafayette, NJ 07848


Lafayette High School Jrotc
Pony Express Council 311
412 E Highland Ave
Saint Joseph, MO 64505


Lafayette Lodge 44 F   Am Masonic Lodge
Northeast Georgia Council 101
100 Ramey Dr
Cumming, Ga 30040


Lafayette Meadows Ptc
Anthony Wayne Area 157
11420 Ernst Rd
Roanoke, IN 46783


Lafayette Parish School Board
Attn Sales Tax Div
P.O. Box 3883
Lafayette, LA 70502‐3883
Lafayette Police Dept
Evangeline Area 212
900 E University Ave
Lafayette, LA 70503


Lafayette Presbyterian Church
Suwannee River Area Council 664
4220 Mahan Dr
Tallahassee, FL 32308


Lafayette Renaissance Charter Academy
Evangeline Area 212
205 Vienne Ln
Lafayette, LA 70507


Lafayette Rotary Club
Middle Tennessee Council 560
1370 Akersville Rd
Lafayette, TN 37083


Lafayette Street Utd Methodist Church
Piedmont Council 420
1509 Olde Farm Rd
Shelby, NC 28150


Lafayette Tent   Awning Co, Inc
125 S 5th St
Lafayette, IN 47901


Lafayette Township Fire Dept
Great Trail 433
P.O. Box 15
Chippewa Lake, OH 44215


Lafayette Troop 204 Dad S Club, Inc
Mt Diablo‐Silverado Council 023
1224 Monticello Rd
Lafayette, CA 94549


Lafayette Upper Elementary PTO
National Capital Area Council 082
3 Learning Ln
Fredericksburg, VA 22401


Lafayette Utd Methodist Church
Black Swamp Area Council 449
P.O. Box 7247
Lafayette, OH 45854


Lafayette Volunteer Fire Co
Longhouse Council 373
P.O. Box 260
La Fayette, NY 13084


Lafollette C L C
Three Harbors Council 636
3239 N 9th St
Milwaukee, WI 53206


Lafourche Parish School Board
Attn Sales Tax Dept
P.O. Box 997
Thibodeaux, LA 70302‐0997


Lafourche Parish Sheriff S Office
Southeast Louisiana Council 214
P.O. Box 5608
Thibodaux, LA 70302


Lagoon 42 LLC
Tidewater Council 596
1100 Wishart Point Rd
Virginia Beach, VA 23455


Lagrange Lions Club
Lake Erie Council 440
240 Glendale St
P.O. Box 63
Lagrange, OH 44050


Lagrange Police
Chattahoochee Council 091
100 E Haralson St
Lagrange, GA 30241
Lagrange Police Dept
Lincoln Heritage Council 205
121 W Main St
La Grange, KY 40031


Lagrange Rotary Club
Anthony Wayne Area 157
207 W Michigan St
Lagrange, IN 46761


Lagrange Rotary Club
East Carolina Council 426
151 Brandy Ave
La Grange, NC 28551


Lagrange Rotary Club
East Carolina Council 426
P.O. Box 57
La Grange, NC 28551


Lagrave Avenue Christian Reformed Church
President Gerald R Ford 781
107 La Grave Ave Se
Grand Rapids, MI 49503


Laguna Beach Police Dept
Orange County Council 039
505 Forest Ave
Laguna Beach, CA 92651


Laguna Country Utd Methodist Church
Orange County Council 039
24442 Moulton Pkwy
Laguna Hills, CA 92637


Laguna Niguel Presbyterian Church
Orange County Council 039
30071 Ivy Glenn Dr
Laguna Niguel, CA 92677
Laguna Niguel Rotary Foundation Inc
Orange County Council 039
23862 Windmill Ln
Laguna Niguel, CA 92677


Laguna Presbyterian Church
Orange County Council 039
415 Forest Ave
Laguna Beach, CA 92651


Laguna Sunrise Rotary Club
Golden Empire Council 047
4705 Selway Ct
Elk Grove, CA 95758


Lahaska Utd Methodist Church
Washington Crossing Council 777
2491 St Rd
Lahaska, PA 18931


Laingsburg Lions Club
Water and Woods Council 782
P.O. Box 32
Laingsburg, MI 48848


Laire
Patriots Path Council 358
29 Wenonah Ave
Rockaway, NJ 07866


Lake Almanor Elks Lodge 2626
Nevada Area Council 329
P.O. Box 1329
Chester, CA 96020


Lake Ann Utd Methodist Church
President Gerald R Ford 781
6583 1st St
Lake Ann, MI 49650


Lake Arbor Optimist Club
Denver Area Council 061
9833 W 83rd Ave
Arvada, CO 80005


Lake Ariel Lions Club
Northeastern Pennsylvania Council 501
P.O. Box 358
Lake Ariel, PA 18436


Lake Arrowhead Camp Staff
Greater Los Angeles Area 033
29485 Hook Creeck Rd
Cedar Glen, CA 99231


Lake Arrowhead Community Presbyterian
California Inland Empire Council 045
P.O. Box 340
Lake Arrowhead, CA 92352


Lake Auburn Watershed Neighborhood Assn
Pine Tree Council 218
185 N Auburn Rd
Auburn, ME 04210


Lake Braddock Community
National Capital Area Council 082
9528 Ashbourn Dr
Burke, VA 22015


Lake Braddock Community Assoc
National Capital Area Council 082
9408 Odyssey Ct
Burke, VA 22015


Lake Burien Presbyterian Church
Chief Seattle Council 609
15003 14th Ave Sw
Burien, WA 98166


Lake Cable Recreation Assoc
Buckeye Council 436
5725 Fulton Dr Nw
Canton, OH 44718
Lake Carmel Volunteer Fire Dept
Westchester Putnam 388
Rt 52
Lake Carmel, NY 10512


Lake Carolina Elementary PTO
Indian Waters Council 553
1151 Kelly Mill Rd
Blythewood, SC 29016


Lake Castle North School
Southeast Louisiana Council 214
363 Thompson Rd
Slidell, LA 70460


Lake Charles Charter Academy Ptc
Calcasieu Area Council 209
2750 Power Centre Pkwy
Lake Charles, LA 70607


Lake Christian Church
Stonewall Jackson Council 763
733 S Boston Rd
Palmyra, VA 22963


Lake Cities Utd Methodist Church
Longhorn Council 662
300 E Hundley Dr
Lake Dallas, TX 75065


Lake City Fire Co
French Creek Council 532
2232 Rice Ave
Lake City, PA 16423


Lake City Lions Club
Anthony Wayne Area 157
2507 E 225 S
Warsaw, IN 46580
Lake Conroe Forest Owners Assoc
Sam Houston Area Council 576
610 Navajo St
Montgomery, TX 77316


Lake Country Academy
Bay‐Lakes Council 635
4101 Technology Pkwy
Sheboygan, WI 53083


Lake Country Corp
dba Crowne Plaza Lansing W
925 S Creyts Rd
Lansing, MI 48917


Lake Country Fire Rescure
Potawatomi Area Council 651
115 Main St
Delafield, WI 53018


Lake Country Lions Club
Potawatomi Area Council 651
P.O. Box 1014
Oconomowoc, WI 53066


Lake Country Power
8535 Park Ridge Dr
Mountain Iron, MN 55768‐2059


Lake Country PTO
Potawatomi Area Council 651
1800 Vettelson Rd
Hartland, WI 53029


Lake County Health Dept
616 3rd Ave
Two Harbors, MN 55616


Lake County Sheriff Office
Northeast Illinois 129
25 S Martin Luther King Jr Ave
Waukegan, IL 60085
Lake County Sheriffs Office
Central Florida Council 083
360 W Ruby St
Tavares, FL 32778


Lake County Sheriffs Office
Mt Diablo‐Silverado Council 023
P.O. Box 489
Lakeport, CA 95453


Lake County Sheriffs Office
President Gerald R Ford 781
1153 Michigan Ave
Baldwin, MI 49304


Lake County States Attorneys Office
Northeast Illinois 129
18 N County St
Waukegan, IL 60085


Lake Cumberland Regional Hospital
Blue Grass Council 204
305 Langdon St
Somerset, KY 42503


Lake Egypt Fire Protection District
Greater St Louis Area Council 312
12228 Lake of Egypt Rd
Marion, IL 62959


Lake Elmo Jaycees
Northern Star Council 250
P.O. Box 198
Lake Elmo, MN 55042


Lake Elmo Lions Club
Northern Star Council 250
P.O. Box 50
Lake Elmo, MN 55042
Lake Erie
2241 Woodland Ave
Cleveland, OH 44115


Lake Erie Beach Vol Fire Co Inc
Greater Niagara Frontier Council 380
9483 Lake Shore Rd
Angola, NY 14006


Lake Erie Cncl 440
2241 Woodland Ave
Cleveland, OH 44115‐3295


Lake Erie Regiment
French Creek Council 532
909 E 35th St
Lake Erie Fanfare Inc
Erie, PA 16504


Lake Fenton Utd Methodist Church
Water and Woods Council 782
2581 N Long Lake Rd
Fenton, MI 48430


Lake Forest Charter School
Southeast Louisiana Council 214
P.O. Box 15095
New Orleans, LA 70175


Lake Forest Community Assoc
Orange County Council 039
22921 Ridge Route Dr
Lake Forest, CA 92630


Lake Forest Parent Teacher Council
Golden Empire Council 047
2240 Sailsbury Dr
El Dorado Hills, CA 95762


Lake Forest Park Elementary School
Chartered By Lake Forest Prk Rotary Club
Chief Seattle Council 609
P.O. Box 55983
Seattle, Wa 98155


Lake Forest Park Presbyterian Church
Chief Seattle Council 609
17440 Brookside Blvd Ne
Lake Forest Park, WA 98155


Lake Geneva Lions Club
Glaciers Edge Council 620
735 Henry St
Lake Geneva, WI 53147


Lake George Parent Teacher Student Org
Twin Rivers Council 364
69 Sun Valley Dr
Lake George, NY 12845


Lake Gibson Utd Methodist Church
Greater Tampa Bay Area 089
424 W Daughtery Rd
Lakeland, FL 33809


Lake Grove Presbyterian Church
Cascade Pacific Council 492
4040 Sunset Dr
Lake Oswego, OR 97035


Lake Havasu City Police Dept
Las Vegas Area Council 328
2360 Mcculloch Blvd N
Lake Havasu City, AZ 86403


Lake Havasu Divers Assoc
Las Vegas Area Council 328
2959 Kiowa Blvd N
Lake Havasu City, AZ 86403


Lake Hazel Elementary
Ore‐Ida Council 106 ‐ Bsa 106
11711 W Lake Hazel Rd
Boise, ID 83709
Lake Hazel School PTO
Ore‐Ida Council 106 ‐ Bsa 106
11625 W La Grange St
Boise, ID 83709


Lake Hefner Boat Owners Assoc
Last Frontier Council 480
P.O. Box 42131
Oklahoma City, OK 73123


Lake Helen American Legion Post 127
Central Florida Council 083
109 Cassadaga Rd
Lake Helen, FL 32744


Lake Highland Prepatory School
Central Florida Council 083
901 Highland Ave
Orlando, FL 32803


Lake Highlands Methodist Church
Circle Ten Council 571
9015 Plano Rd
Dallas, TX 75238


Lake Highlands Presbyterian Church
Circle Ten Council 571
8525 Audelia Rd
Dallas, TX 75238


Lake Highlands Utd Methodist Church
Circle Ten Council 571
9015 Plano Rd
Dallas, TX 75238


Lake Hill Preparatory School
Circle Ten Council 571
2702 Hillside Dr
Dallas, TX 75214
Lake Hills Park Assoc
Capitol Area Council 564
3106 Edgewater Dr
Austin, TX 78733


Lake Hills Presbyterian Church
Great Smoky Mountain Council 557
3805 Maloney Rd
Knoxville, TN 37920


Lake Hopatcong Elks Lodge 2109
Patriots Path Council 358
201 Howard Blvd
Mount Arlington, NJ 07856


Lake Houston Sailing Assoc
Sam Houston Area Council 576
18703 Cleeve Close
Humble, TX 77346


Lake In The Hills AL Post 1231
Blackhawk Area 660
1101 W Algonquin Rd
Lake In The Hills, Il 60156


Lake In The Hills Police Dept
Blackhawk Area 660
1115 Crystal Lake Rd
Lake In the Hills, IL 60156


Lake Jackson Police Dept
Bay Area Council 574
5 Oak Dr, Ste A
Lake Jackson, TX 77566


Lake Jackson Vol Fire Dept
National Capital Area Council 082
11310 Coles Dr
Manassas, VA 20112


Lake Life Church
President Gerald R Ford 781
P.O. Box 161
Alanson, MI 49706


Lake Lotawana Utd Methodist Church
Heart of America Council 307
28901 E Colbern Rd
Lake Lotawana, MO 64086


Lake Lure Fire Dept
Piedmont Council 420
6221 Memorial Hwy
Lake Lure, NC 28746


Lake Magdalene Utd Methodist Church
Greater Tampa Bay Area 089
2902 W Fletcher Ave
Tampa, FL 33618


Lake Marion Elementary PTO
Northern Star Council 250
19875 Dodd Blvd
Lakeville, MN 55044


Lake Meade Property Owners Assoc
New Birth of Freedom 544
4 Forrest Dr
East Berlin, PA 17316


Lake Montessori Private School
Central Florida Council 083
415 Lee St
Leesburg, FL 34748


Lake Murray Presbyterian Church
Indian Waters Council 553
2721 Dutch Fork Rd
Chapin, SC 29036


Lake Murray Ward LDS
Indian Waters Council 553
511 Carriage Lake Dr
Lexington, SC 29072
Lake Nona Ymca
Attn Pack 15
Central Florida Council 083
9055 Nlake Pkwy
Orlando, FL 32827


Lake Norman Regional Medical Center
Piedmont Council 420
171 Fairview Rd
Mooresville, NC 28117


Lake Of The Ozarks Scout Reservation
Great Rivers Council 653
525 Camp Hohn Dr
Gravois Mills, MO 65037


Lake Of The Woods Church
Stonewall Jackson Council 763
1 Church Ln
Locust Grove, VA 22508


Lake Overholser Nazarene Chruch
Last Frontier Council 480
3900 Overholser Dr
Oklahoma City, OK 73008


Lake Ozark Christian Church
Great Rivers Council 653
1560 Bagnell Dam Blvd
Lake Ozark, MO 65049


Lake Park Utd Methodist Men
South Georgia Council 098
4532 Carum Cir
Lake Park, GA 31636


Lake Park Utd Methodist Men
South Georgia Council 098
P.O. Box 130
Lake Park, GA 31636
Lake Parsippany Vol Fire Co Inc
Patriots Path Council 358
100 Centerton Dr
Parsippany, NJ 07054


Lake Placid Lions Club
Twin Rivers Council 364
P.O. Box 296
Lake Placid, NY 12946


Lake Pontchartrain Elementary Boys PTO
Southeast Louisiana Council 214
3328 Hwy 51
Laplace, LA 70068


Lake Pontchartrain Elementary Girls PTO
Southeast Louisiana Council 214
3378 Hwy 51
Laplace, LA 70068


Lake Providence Baptist Church
Middle Tennessee Council 560
5891 Nolensville Pike
Nashville, TN 37211


Lake Ray Roberts Rotary Club
Longhorn Council 662
P.O. Box 331
Pilot Point, TX 76258


Lake Region Bible Church
Northeast Illinois 129
205 W Washington St
Round Lake, IL 60073


Lake Region Memorial Vfw Post 8858
Hudson Valley Council 374
2 Chatham Rd
Monroe, NY 10950


Lake Ridge Baptist Church
National Capital Area Council 082
12450 Clipper Dr
Woodbridge, VA 22192


Lake Ridge Elementary School PTO Inc
National Capital Area Council 082
11970 Hedges Run Dr
Woodbridge, VA 22192


Lake Shore Utd Methodist Church
Lake Erie Council 440
33119 Electric Blvd
Avon Lake, OH 44012


Lake Square Presbyterian Church
Central Florida Council 083
10200 Morningside Dr
Leesburg, FL 34788


Lake Stevens Lions Club
Mount Baker Council, Bsa 606
P.O. Box 589
Lake Stevens, WA 98258


Lake Stevens Memorial Post 181
Mount Baker Council, Bsa 606
P.O. Box 475
Lake Stevens, WA 98258


Lake Stevens Police Dept
Mount Baker Council, Bsa 606
2211 Grade Rd
Lake Stevens, WA 98258


Lake Street School P T O
Connecticut Rivers Council, Bsa 066
201 Lake St
Vernon, CT 06066


Lake Street Utd Methodist Church
Chippewa Valley Council 637
337 Lake St
Eau Claire, WI 54703


Lake Sumter State College
1250 N Hancock Rd
Clermont, FL 34711


Lake Tahoe Community Presbyterian Church
Nevada Area Council 329
P.O. Box 7795
South Lake Tahoe, CA 96158


Lake Tansi Exchange Club
Great Smoky Mountain Council 557
P.O. Box 58
Crossville, TN 38557


Lake Tapps Christian Church
Pacific Harbors Council, Bsa 612
P.O. Box 7315
Bonney Lake, WA 98391


Lake Travis Utd Methodist Church
Capitol Area Council 564
1502 Ranch Rd 620 N
Lakeway, TX 78734


Lake Villa Utd Methodist Church
Northeast Illinois 129
110 Mckinley Ave
Lake Villa, IL 60046


Lake Village Elementary PTO
Sagamore Council 162
3281 W 950 N
Lake Village, IN 46349


Lake Washington Christian Church
Chief Seattle Council 609
343 15th Ave
Kirkland, WA 98033
Lake Washington Utd Methodist Church
Chief Seattle Council 609
7525 132nd Ave Ne
Kirkland, WA 98033


Lake Wissota Lions Club
Chippewa Valley Council 637
P.O. Box 761
Chippewa Falls, WI 54729


Lake Wissota Yacht Club
Chippewa Valley Council 637
P.O. Box 631
Chippewa Falls, WI 54729


Lake Wood Middle School
Coronado Area Council 192
1135 E Lakewood Cir
Salina, KS 67401


Lake Yosemite Sailing Assoc
Greater Yosemite Council 059
P.O. Box 3994
Merced, CA 95344


Lake Zurich Fire Dept
Pathway To Adventure 456
321 S Buesching Rd
Lake Zurich, IL 60047


Lake/ Flato Architect Inc
311 3rd St, Ste 200
San Antonio, TX 78205


Lakecross Veterinary Hospital
Mecklenburg County Council 415
106 Parr Rd
Huntersville, NC 28078


Lakehoma Church Of Christ
Last Frontier Council 480
2124 W State Hwy 152
Mustang, OK 73064


Lakeland College
P.O. Box 359
Sheboygan, WI 53082


Lakeland Emergency Squad Inc
Patriots Path Council 358
221 Rt 206
Andover, NJ 07821


Lakeland Fire Dept Benevolent Assoc
Suffolk County Council Inc 404
929 Johnson Ave
Ronkonkoma, Ny 11779


Lakeland High School Jrotc
Greater Tampa Bay Area 089
450 Martin L King Jr Ave
Lakeland, FL 33815


Lakeland Police Explorers
Greater Tampa Bay Area 089
219 N Massachusetts Ave
Lakeland, FL 33801


Lakeland Reformed Church
Southern Shores Fsc 783
10442 Sprinkle Rd
Vicksburg, MI 49097


Lakeland Tours, LLC
dba Worldstrides
590 Peter Jefferson Pkwy, Ste 300
Charlottesville, VA 22911


Lakeland Union High School
9573 State Hwy 70
Minocqua, WI 54548


Lakemoor Police Deptment
Northeast Illinois 129
27901 W Concrete Dr
Ingleside, IL 60041


Lakeport Lions Club
Mt Diablo‐Silverado Council 023
P.O. Box 57
Lakeport, CA 95453


Lakeridge Utd Methodist Church
South Plains Council 694
4701 82nd St
Lubbock, TX 79424


Lakes Of The Meadows Homeowners Assoc
South Florida Council 084
4450 SW 152nd Ave
Miami, FL 33185


Lakes Region Tent   Event
6 Whitney Rd
Concord, NH 03301


Lakeshirts, Inc
dba Tgt   Tgt Stickers
750 Randolph Rd
Detroit Lakes, MN 56501


Lakeshirts, Inc
dba Tgt   Tgt Stickers
P.O. Box 87
Detroit Lakes, MN 56501


Lakeshore Presbyterian Church
North Florida Council 087
2270 Blanding Blvd
Jacksonville, FL 32210


Lakeshore School PTO
Bay‐Lakes Council 635
706 N Prairie Rd
Fond Du Lac, WI 54935
Lakeside Academy
Cherokee Area Council 556
4850 Jersey Pike
Chattanooga, TN 37416


Lakeside Church
French Creek Council 532
3203 N Hermitage Rd
Transfer, PA 16154


Lakeside Church
Golden Empire Council 047
745 Oak Ave Pkwy
Folsom, CA 95630


Lakeside Church
Northeast Georgia Council 101
5800 Lake Oconee Pkwy
Greensboro, GA 30642


Lakeside Church At Lake Oconee
Northeast Georgia Council 101
5800 Lake Oconee Pkwy
Greensboro, GA 30642


Lakeside Community Chapel
Montana Council 315
714 4th Ave E
Kalispell, MT 59901


Lakeside Community Chapel Umc
Montana Council 315
7233 Hwy 90 S
Lakeside, MT 59922


Lakeside Elementary Parents For Scouting
President Gerald R Ford 781
2325 Hall St Se
Grand Rapids, MI 49506
Lakeside Optimist Club
San Diego Imperial Council 049
P.O. Box 476
Lakeside, CA 92040


Lakeside Presbyterian Church
Andrew Jackson Council 303
2070 Spillway Rd
Brandon, MS 39047


Lakeside Presbyterian Church
Andrew Jackson Council 303
P.O. Box 5007
Brandon, MS 39047


Lakeside Presbyterian Church
Dan Beard Council, Bsa 438
2690 Dixie Hwy
Lakeside Park, KY 41017


Lakeside Presbyterian Church
Heart of Virginia Council 602
7343 Hermitage Rd
Richmond, VA 23228


Lakeside Presbyterian Church
Voyageurs Area 286
4430 Mcculloch St
Duluth, MN 55804


Lakeside Presbyterian Church
Voyageurs Area 286
4432 Mcculloch St
Duluth, MN 55804


Lakeside PTO
Circle Ten Council 571
1100 Village Pkwy
Coppell, TX 75019


Lakeside School PTO
Bay‐Lakes Council 635
4991 S US Hwy 45
Oshkosh, WI 54902


Lakeside Utd Methodist Church
Bucktail Council 509
420 1st St
Dubois, PA 15801


Lakeside Utd Methodist Church
Coastal Georgia Council 099
5572 New Jesup Hwy
Brunswick, GA 31523


Lakeside Utd Methodist Church
Sam Houston Area Council 576
P.O. Box 1028
Humble, TX 77347


Lakeside Utd Methodist Church Men
Gulf Stream Council 085
1801 12th Ave S
Lake Worth, FL 33461


Lakeside Ward ‐ LDS Rincon Stake
Catalina Council 011
700 N Bonanza Ave
Tucson, AZ 85748


Lakethia M Thompson
Address Redacted


Lakeview Baptist Church
Chattahoochee Council 091
1600 E Glenn Ave
Auburn, AL 36830


Lakeview Community Assoc, Inc
Greater Niagara Frontier Council 380
1890 N Creek Rd
Lake View, NY 14085
Lakeview Community Church
Seneca Waterways 397
30 Long Pond Rd
Rochester, NY 14612


Lakeview Community Parents Assoc
Utah National Parks 591
2599 W 370 N
Provo, UT 84601


Lakeview Design Center PTO
Middle Tennessee Council 560
455 Rural Hill Rd
Nashville, TN 37217


Lakeview Hospital
Northern Star Council 250
927 Churchill St W
Stillwater, MN 55082


Lakeview Lions Club
President Gerald R Ford 781
1380 90th Ave
Lakeview, MI 48850


Lakeview Lodge   Conference Center
Rt 1 Box 157
Jacksboro, TX 76458


Lakeview Medical Center
Chippewa Valley Council 637
1700 W Stout St
Rice Lake, WI 54868


Lakeview Parent Teacher Org
Golden Empire Council 047
3371 Brittany Way
El Dorado Hills, CA 95762


Lakeview Parents Org
Utah National Parks 591
1839 S 400 W
Orem, UT 84058


Lakeview Presbyterian Church
Southeast Louisiana Council 214
5914 Canal Blvd
New Orleans, LA 70124


Lakeview Pst Assoc
Three Harbors Council 636
9449 88th Ave
Pleasant Prairie, WI 53158


Lakeview School PTO
Hoosier Trails Council 145 145
9090 S Strain Ridge Rd
Bloomington, IN 47401


Lakeview Utd Church Of Christ
Dan Beard Council, Bsa 438
8639 Columbia Rd
Maineville, OH 45039


Lakeview/Urbandale Kiwanis Club
Southern Shores Fsc 783
113 Sunnyside Dr
Battle Creek, MI 49015


Lakeville Lions Club
Lasalle Council 165
P.O. Box 506
Lakeville, IN 46536


Lakeville Lions Club
Northern Star Council 250
P.O. Box 428
Lakeville, MN 55044


Lakeville Rotary Club
Northern Star Council 250
16575 Kenosha Ave
Lakeville, MN 55044
Lakewood American Legion Post 178
Denver Area Council 061
1655 Simms St
Lakewood, CO 80215


Lakewood Area Lions Club
President Gerald R Ford 781
14324 Nash Hwy
Lake Odessa, MI 48849


Lakewood Baptist Church
Narragansett 546
259 Atlantic Ave
Warwick, RI 02888


Lakewood Catholic Academy
Lake Erie Council 440
14808 Lake Ave
Lakewood, OH 44107


Lakewood Electrice Inc
3616 Eden Ln
Duluth, MN 55803


Lakewood Elementary PTA
Great Lakes Fsc 272
1500 Bogie Lake Rd
White Lake, MI 48383


Lakewood Elementary PTA
Voyageurs Area 286
5207 N Tischer Rd
Duluth, MN 55804


Lakewood Elementary PTO
Heart of America Council 307
14600 Lamar Ave
Overland Park, KS 66223


Lakewood Elks Lodge 1570
Orange County Council 039
12507 Carson St
Hawaiian Gardens, CA 90716


Lakewood First Utd Methodist Church
Long Beach Area Council 032
4300 Bellflower Blvd
Lakewood, CA 90713


Lakewood High School
Denver Area Council 061
9700 W 8th Ave
Lakewood, CO 80215


Lakewood Memorial Post 1286
Allegheny Highlands Council 382
174 Chaut. Ave
Lakewood, NY 14750


Lakewood Parent Teacher Club‐West Ottawa
President Gerald R Ford 781
2134 W Lakewood Blvd
Holland, MI 49424


Lakewood Police Dept
c/o Det Kelly Karinen
14500 W Colfax Ave 110
Lakewood, CO 80226


Lakewood Police Dept
Denver Area Council 061
445 S Allison Pkwy
Lakewood, CO 80226


Lakewood Police Dept
Pacific Harbors Council, Bsa 612
9401 Lakewood Dr Sw
Lakewood, WA 98499


Lakewood Presbyterian Church
Lake Erie Council 440
14502 Detroit Ave
Lakewood, OH 44107
Lakewood School PTA
Circle Ten Council 571
3000 Hillbrook St
Dallas, TX 75214


Lakewood Utd Methodist Church
French Creek Council 532
3856 W 10th St
Erie, PA 16505


Lakewood Utd Methodist Church
Lake Erie Council 440
15700 Detroit Ave
Lakewood, OH 44107


Lakewood Utd Methodist Church
Quapaw Area Council 018
1922 Topf Rd
North Little Rock, AR 72116


Lakewood Utd Methodist Men
Sam Houston Area Council 576
11330 Louetta Rd
Houston, TX 77070


Lakewood Village Community Church
Long Beach Area Council 032
4515 Sunfield Ave
Long Beach, CA 90808


Lalumier Elementary School
Greater St Louis Area Council 312
1700 Jerome Ln
Cahokia, IL 62206


Lamar Advertising Southwest Inc
5321 Corporate Blvd
Baton Rouge, LA 70896


Lamar Advertising Southwest Inc
dba Lamar Companies New Mexico/El Paso
P.O. Box 96030
Baton Rouge, LA 70896


Lamar Christian Church
Rocky Mountain Council 063
811 S Main St
Lamar, CO 81052


Lamar Dykes
Address Redacted


Lamar Perry Jr
Address Redacted


Lamar Police Dept
Rocky Mountain Council 063
505 S Main St
Lamar, CO 81052


Lamar University Police Dept
Three Rivers Council 578
211 Redbird Ln
Beaumont, TX 77705


Lamar Ward LDS Church
Santa Fe Trail Council 194
1700 S 14th St
Lamar, CO 81052


Lamarr Walker
Address Redacted


Lamb Investments, LP
Chief Seattle Council 609
231 River Run Rd
Sequim, WA 98382


Lamb Of God Church
Southwest Florida Council 088
19691 Cypress View Dr
Fort Myers, FL 33967


Lamb Of God Lutheran Church
Longhorn Council 662
1401 Cross Timbers Rd
Flower Mound, TX 75028


Lamb Of God Lutheran Church
School Troop 340
Las Vegas Area Council 328
6220 N Jones Blvd
Las Vegas, NV 89130


Lambert Radiology Medical Group
P.O. Box 511228
Los Angeles, CA 90051‐2997


Lambertville Utd Methodist Church
Southern Shores Fsc 783
P.O. Box 232
Lambertville, MI 48144


Lambs Fellowship Lake Elsinore
California Inland Empire Council 045
21901 Railroad Canyon Rd
Lake Elsinore, CA 92532


Lambuth Family Center
Denver Area Council 061
2741 Federal Blvd
Denver, CO 80211


Laminacorr Industries Inc
P.O. Box 862
Cornwall, ON K6H 5T7
Canada


Laminator Warehouse
P.O. Box 630167
Irving, TX 75063
Laminex
P.O. Box 49457
Greenwood, SC 29649


Lamkin Elementary PTO
Sam Houston Area Council 576
11521 Telge Rd
Cypress, TX 77429


Lamont Henry
Address Redacted


Lamonte Scrabeck
Address Redacted


Lamorinda Adult Respite Ctr
Mt Diablo‐Silverado Council 023
433 Moraga Way
Orinda, CA 94563


Lamotte Co
P.O. Box 329
Chestertown, MD 21620‐0329


Lamoure Lions Club
Northern Lights Council 429
403 S Main St
Lamoure, ND 58458


Lampeter Utd Methodist Church
Pennsylvania Dutch Council 524
Book   Village Rds
Lampeter, PA 17537


Lampstand Church
Greater St Louis Area Council 312
655 S Airport Rd
Decatur, IL 62521


Lamrite West Inc
dba Darnice 77446
4446 Solutions Ctr
Chicago, IL 60677‐4004


Lamrite West, Inc / Dba    Darice
4446 Solutions Center
Chicago, IL 60677‐4004


Lana James
Address Redacted


Lana Mixon
Address Redacted


Lanark Lions Club
Blackhawk Area 660
101 S Broad St
Lanark, IL 61046


Lancaster   Numberland Cnty Sheriffs
Heart Of Virginia Council 602
8293 Mary Ball Rd
Lancaster, Va 22503


Lancaster Archery Supply
21 Graybill Rd
Leola, PA 17540


Lancaster Camp Ground
2151 W Fair Ave
Lancaster, OH 43130


Lancaster Christ Lutheran Church
Blackhawk Area 660
250 S Grant St
Lancaster, WI 53813


Lancaster Congregational Ucc
Blackhawk Area 660
225 S Madison St
Lancaster, WI 53813
Lancaster Elementary School PTA
Central Florida Council 083
6700 Sheryl Ann Dr
Orlando, FL 32809


Lancaster Elks Lodge 1478
Greater Niagara Frontier Council 380
33 Legion Pkwy
Lancaster, NY 14086


Lancaster Fire Dept
Daniel Webster Council, Bsa 330
25 Main St
Lancaster, NH 03584


Lancaster Fire Dept
Greater Niagara Frontier Council 380
5423 Broadway St
Lancaster, NY 14086


Lancaster Lions Club
Circle Ten Council 571
422 S Centre Ave
Lancaster, TX 75146


Lancaster Lions Club‐ Pleasant Run
Circle Ten Council 571
713 Colgate Dr
Lancaster, TX 75134


Lancaster Lions Club Rolling Hills
Circle Ten Council 571
713 Colgate Dr
Lancaster, TX 75134


Lancaster Marriott At Penn Square
25 S Queen St
Lancaster, PA 17603


Lancaster Presbyterian Church
Greater Niagara Frontier Council 380
5461 Broadway St
Lancaster, NY 14086


Lancaster Township Friends Of Scouting
Moraine Trails Council 500
318 Fanker Rd
Harmony, PA 16037


Lancaster Utd Methodist Church
Blue Grass Council 204
200 Stanford St
Lancaster, KY 40444


Lancaster Volunteer Ambulance Corps Inc
Greater Niagara Frontier Council 380
40 Embry Pl
Lancaster, NY 14086


Lancaster Ward LDS Buffalo Stake
Greater Niagara Frontier Council 380
127 William Kidder Rd
Lancaster, NY 14086


Lancaster‐Fire Fighters Assoc
Heart of New England Council 230
1055 Main St
Lancaster, MA 01523


Lancaster‐Nashua Valley Council
Heart of New England Council 230
1980 Lunenburg Rd
Lancaster, MA 01523


Lancaster‐Volunteer Fire Auxiliaries
Heart of New England Council 230
1055 Main St
Lancaster, MA 01523


Lance Hawk
Address Redacted
Lance M Martin
Address Redacted


Lance Parkes
Address Redacted


Lance R Anderson
Address Redacted


Lancelot Dollinger
Address Redacted


Lanco Aviation
Westark Area Council 016
P.O. Box 550
Farmington, AR 72730


Land N Sea Distributing, Inc
P.O. Box 951905
Dallas, TX 75395‐1905


Land Trust Alliance
1660 L St NW, Ste 1100
Washington, DC 20036


Lander Utd Methodist Church
Chief Cornplanter Council, Bsa 538
5582 Pa 957
Russell, PA 16345


Landis Arboretum
Leatherstocking 400
P.O. Box 186
Esperance, NY 12066


Landisburg Lions Club
c/o Deke   Cathy Gilbert
New Birth of Freedom 544
2560 Shermans Valley Rd
Elliottsburg, PA 17024
Landmark Church Of God
Piedmont Council 420
2200 E Broad St
Statesville, NC 28625


Landmark Outdoors
201 Regency Pkwy
Mansfield, TX 76063


Landon Cooley
Address Redacted


Landon Robins
Address Redacted


Landov, LLC
244 5th Ave, 5th Fl
New York, NY 10001


Landpro Equipment
Seneca Waterways 397
P.O. Box 265
Hall, NY 14463


Landrum E Bagwell Iii
Address Redacted


Landrum Utd Methodist Church
Palmetto Council 549
227 N Howard Ave
Landrum, SC 29356


Landry Architects
1202 Richardson Dr, Ste 106
Richardson, TX 75080


Lands End Business Outfitters
P.O. Box 217
Dodgeville, WI 53533‐0217
Lands End, Inc
6 Lands End Ln
Dodgeville, WI 53595‐0001


Lands End, Inc
dba Lands End Business Outfitters
P.O. Box 217
Dodgeville, WI 53533‐0217


Landscape Supply Inc
P.O. Box 12706
Roanoke, VA 24027‐2706


Landshark Communications, LLC
P.O. Box 80
Amelia, OH 45102


Landstar Ranger Inc
13410 Sutton Park Dr S
Jacksonville, FL 32224


Landstar Ranger Inc
P.O. Box 784293
Philadelphia, PA 19178‐4293


Landway International Corp
2368 Lincoln Ave
Hayward, CA 94545


Lane   Lane LLC
Obo Joseph Rahe
230 W Monroe St, Ste 1900
Chicago, IL 60606


Lane Calvert
Address Redacted


Lane Chapel Cme
Norwela Council 215
1007 Norma Ave
Shreveport, LA 71103


Lane Elementary
West Tennessee Area Council 559
310 N Pkwy
Jackson, TN 38305


Lane Lebahn
Address Redacted


Lane Memorial Utd Methodist Church
Blue Ridge Mtns Council 599
1201 Bedford Ave
Altavista, VA 24517


Lane Moore
Address Redacted


Lane Reese Summers Ennis   Perdomo Pa
2600 Douglas Rd, Ste 304
Coral Gables, FL 33134


Lane Reese Summers Ennis    Perdomo Pa
2600 S Douglas Rd, Ste 401
Coral Gables, FL 33134‐6134


Lane Search And Rescue
Attn John Miller
Oregon Trail Council 697
125 E 8th Ave
Eugene, OR 97401


Lane Stumme
Address Redacted


Lane T Mims
Address Redacted


Lanell Pena C/O Kim Dawson Agency
1645 N Stemmons Frwy, Ste B
Dallas, TX 75207


Lanes Chapel Utd Methodist Church
East Texas Area Council 585
8720 Old Jacksonville Hwy
Tyler, TX 75703


Lanette Lemmer
Address Redacted


Langdon Elementary School PTA
National Capital Area Council 082
1900 Evarts St Ne
Washington, DC 20018


Langevin Learning Services Inc
P.O. Box 1221
Ogdensburg, NY 13669‐6221


Langford PTA
Capitol Area Council 564
2206 Blue Meadow Dr
Austin, TX 78744


Langhorne Utd Methodist Church
Washington Crossing Council 777
301 E Maple Ave
Langhorne, PA 19047


Langley Bible Church
Georgia‐Carolina 093
P.O. Box 326
Langley, SC 29834


Langley C Ma Church
Mount Baker Council, Bsa 606
P.O. Box 322
Langley, WA 98260


Langley Christian Church
Colonial Virginia Council 595
175 Fox Hill Rd
Boy Scout Pack 27
Hampton, VA 23669


Langley Elementary School
Laurel Highlands Council 527
2940 Sheraden Blvd
Pittsburgh, PA 15204


Langley Park Mccormick Elementary School
National Capital Area Council 082
8201 15th Ave
Hyattsville, MD 20783


Langston Hughes PTO
Heart of America Council 307
1101 George William Way
Lawrence, KS 66049


Langtree Charter Academy
Piedmont Council 420
154 Foundation Ct
Mooresville, NC 28117


Language Resource Center, Inc
4801 E Independance Blvd, Ste 303
Charlotte, NC 28212


Language Resource Center, Inc
P.O. Box 18066
Charlotte, NC 28218


Lanier County Lions Club
South Georgia Council 098
P.O. Box 187
Lakeland, GA 31635


Lanier High School
Andrew Jackson Council 303
833 Maple St
Jackson, MS 39203
Lanier Hills Church
Northeast Georgia Council 101
3129 Duckett Mill Rd
Gainesville, GA 30506


Lanier Safety LLC
Northeast Georgia Council 101
4366 Sugar Leaf Dr
Oakwood, GA 30566


Lanier Utd Methodist Church
Northeast Georgia Council 101
1979 Buford Hwy
Cumming, GA 30040


Lanier Utd Methodist Church
Northeast Georgia Council 101
1979 Buford Hwy
Cumming, GA 30041


Lanier Utd Methodist Church
Northeast Georgia Council 101
1979 Hwy 20
Cumming, GA 30041


Lanigan School PTA
Great Lakes Fsc 272
23800 Tuck Rd
Farmington Hills, MI 48336


Lanita Mayes
Address Redacted


Lannon‐Falls Lions Club
Potawatomi Area Council 651
P.O. Box 473
Lannon, WI 53046


Lannoye Elementary School PTO
Bay‐Lakes Council 635
2007 County Rd U
Green Bay, WI 54313


Lanny Medlock
Address Redacted


Lansdale Lions Club
Cradle of Liberty Council 525
P.O. Box 304
Lansdale, PA 19446


Lansing Brewer
Address Redacted


Lansing Elementary School
Denver Area Council 061
551 Lansing St
Aurora, CO 80010


Lansing Housing Commission
Water and Woods Council 782
310 Seymour Ave
Lansing, MI 48933


Lansing Lions Club
Baden‐Powell Council 368
P.O. Box 82
Lansing, NY 14882


Lansing Police Dept
Pathway To Adventure 456
2710 E 170th St
Lansing, IL 60438


Lansing Police Explorer Post
Water and Woods Council 782
120 W Michigan Ave
Lansing, MI 48933


Lansing State Journal
2960 Ena Dr
Lansing, MI 48917
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Lantana Cares
Longhorn Council 662
10185 Lantana Trl
Lantana, TX 76226


Lantana Community Fellowship
Longhorn Council 662
2200 E Jeter Rd
Bartonville, TX 76226


Lantana Police Dept
Gulf Stream Council 085
500 Greynolds Cir
Lantana, FL 33462


Laos Outreach Center
Heart of Virginia Council 602
333 E Poythress St
Hopewell, VA 23860


Lapeer Law Enforcement
Water and Woods Council 782
3231 John Conley Dr
Lapeer, MI 48446


Lapeer Teamwork
Water and Woods Council 782
P.O. Box 720
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Lapeer, MI 48446


Lapel Pin Productions
7319 Sandcove Ct, Ste 6
Winter Park, FL 32792


Laplata Police Dept
National Capital Area Council 082
101 La Grange Ave
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Sam Houston Area Council 576
202 S 1st St
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Laporte Police Dept
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Laporte Presbyterian Church
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Larchmont Utd Methodist Church
Tidewater Council 596
1101 Jamestown Cres
Norfolk, VA 23508
Laredo Church Of The Crossroads
South Texas Council 577
1301 International Blvd
Laredo, TX 78045


Laredo Police Dept Explorers
South Texas Council 577
4712 Maher Ave
Laredo, TX 78041


Largo Community Church
National Capital Area Council 082
1701 Enterprise Rd
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Largo Elks Lodge 2159 Bpoe
Greater Tampa Bay Area 089
810 16th Ave Se
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1327 N Miranda St
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Grand Canyon Council 010
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7220 S Paradise Rd
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Las Vegas Area Council 328
7220 S Paradise Rd
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Las Vegas Elk 1468
Las Vegas Area Council 328
4100 W Charleston Blvd
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Las Vegas Fire Dept Post 740
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500 N Casino Center Blvd
Las Vegas, NV 89101
Las Vegas International Scouting Museum
2915 W Charleston Blvd, Ste 4
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Las Vegas Metropolitan Police Dept
Las Vegas Area Council 328
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Las Vegas Woods   Waters Club
Las Vegas Area Council 328
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P.O. Box 190
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Greater Los Angeles Area 033
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Durham, NC 27703


Laser Printer Checks
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Laser Shot Inc
4214 Bluebonnet Dr
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Laser Star Amusements Inc
c/o Dr David Perretz
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Laser Surgical Solutions Rgv
Rio Grande Council 775
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Laser Works Of East Tn LLC
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Latham Utd Methodist Church
Greater Alabama Council 001
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901 Airport Way
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Greater Yosemite Council 059
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Utah National Parks 591
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Provo, Ut 84601


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Wilmington, DE 19805


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Long Beach, CA 90813


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Latrobe, PA 15650


Latta Rotary Club
Pee Dee Area Council 552
408 N Marion St
Latta, SC 29565
Latter Day Saints
Tuscarora Council 424
1000 11th St
Goldsboro, NC 27534


Latter Day Saints
Winnebago Council, Bsa 173
3006 Pleasant Dr
Cedar Falls, IA 50613


Latter Day Saints Church
Piedmont Council 420
426Jane Sowers Rd
Statesville, NC 28625


Latter Day Saints Church First Ward
French Creek Council 532
1101 S Hill Rd
Erie, PA 16509


Latter Day Saints Conover Ward
Piedmont Council 420
3931 Deer Run Dr Ne
Conover, NC 28613


Latter Day Saints Of Mooresville
Piedmont Council 420
148 Lazy Lane
Mooresville, NC 28117


Latter Day Saints, Westlake Ward
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Latter Day Saints‐Kutztown Ward
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190 Kohler Rd
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Laural Lodge Enterprises Inc
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Laurel Highlands Council 527
Flag Plz ‐ 1275 Bedford Ave
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National Capital Area Council 082
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Laurel Hill Utd Methodist Church
Heart of Virginia Council 602
1919 New Market Rd
Richmond, VA 23231


Laurel Housing Authority
Pine Burr Area Council 304
50 Brown Cir
Laurel, MS 39440


Laurel Housing Authority Beacon Homes
Pine Burr Area Council 304
911 Home St
Laurel, MS 39440


Laurel Lions
Moraine Trails Council 500
2595 Ebrook Volant Rd
New Castle, PA 16105


Laurel Lions Club
Mid‐America Council 326
57197 877 Rd
Laurel, NE 68745


Laurel Music Camp Inc
Connecticut Rivers Council, Bsa 066
169 Camp Workcoeman Rd
New Hartford, CT 06057


Laurel Oak Christian Church
Old N State Council 070
1001 Old Plank Rd
High Point, NC 27265


Laurel Trinity Lutheran Church
Laurel Highlands Council 527
P.O. Box 185
7520 Somerset Pike
Jennerstown, PA 15547


Laurel Utd Methodist Church
Abraham Lincoln Council 144
631 S Grand Ave W
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Laurel Utd Methodist Church
Montana Council 315
307 W 4th St
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Jersey Shore Council 341
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Blue Grass Council 204
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Three Harbors Council 636
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Lavonia First Utd Methodist Church
Northeast Georgia Council 101
25 Baker St
Lavonia, GA 30553


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Law Enforcement Explorer Post 227
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Law Enforcement Exploring Post 1952
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Law Enforcement Post 10
c/o Da Reach Roswell Pd
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c/o Chris Lawton Garden Grove
Police Explorers
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Law Enforcement Post 1096
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Law Enforcement Post 11
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3705 E Gemstone Cir
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3753 Hipp
Dearborn, MI 48124
Law Enforcement Post 119
c/o Troy Vandusen Watertown Pd
1225 3rd St Nw
Watertown, SD 57201


Law Enforcement Post 120
c/o Matthew Chaves Danvers
Police Recreation
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Danvers, MA 01923


Law Enforcement Post 1211
c/o Pablo Correa Doral Police Dept
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Law Enforcement Post 130
c/o Rita Kelley Barrington‐Inverness Pd
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1893 SE Cashmere St
Port Orchard, WA 98366
Law Enforcement Post 152
c/o Tom Tatum Gpd
2418 Mccook Dr
Georgetown, TX 78626


Law Enforcement Post 154
c/o Robert Ortenzi Howell Township Pd
55 Picket Pl
Freehold, NJ 07728


Law Enforcement Post 1551
c/o Stephen Worton
50393 Bower
Chesterfield, MI 48047


Law Enforcement Post 1658
c/o Bill Donley Charles Cty Sheriffs Ofc
26790 Lynndale Ct
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Law Enforcement Post 166
c/o Dexter Turner Spd
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Law Enforcement Post 1696
c/o Yakeisha Hines
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2130 Brooks Dr 623
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Law Enforcement Post 1742
c/o Mirchelle Enright Fairfax Cty Pd
4900 Stonecroft Blvd
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Law Enforcement Post 1843
c/o Darrell Potts Keller Pd
P.O. Box 770
Keller, TX 76244
Law Enforcement Post 1925
c/o April Mckee Cbp US Border Patrol
7740 Highgate Ln
La Mesa, CA 91942


Law Enforcement Post 197
c/o Dean C Miller Mpd
2925 99th St
Highland, IN 46321


Law Enforcement Post 1974
c/o George Besendorfer Ppd
48 S 300 W
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Law Enforcement Post 198
c/o Kha Bao Costa Mesa Police
7382 Natal Dr
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Law Enforcement Post 1986
c/o Charles H Carp Mcpd
9125 Gaither Rd
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Law Enforcement Post 1993
c/o Norma Maciel Century Sheriffs
Youth Activity Leagu
11703 S Alameda St
Lynwood, CA 90262


Law Enforcement Post 2
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Cty Sheriffs Dept
3556 Ctrville Rd
Vadnais Heights, MN 55127


Law Enforcement Post 2
c/o Josh Liedke Mpd
240 Lemon St
Marietta, GA 30060
Law Enforcement Post 2
c/o Robert Cynova Jcpd
5708 Bradford Ct
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Law Enforcement Post 2000
c/o Jennifer Humphries Apd
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Law Enforcement Post 2001
c/o Todd Rich Spd
116 Maine St
Hope, RI 02831


Law Enforcement Post 2002
c/o Vince Macias El Paso Pd
10780 Pebble Hills
El Paso, TX 79935


Law Enforcement Post 2005
c/o Albert Montoya El Paso
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11673 Teachers
El Paso, TX 79936


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Law Enforcement Post 2017
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Law Enforcement Post 2028
c/o Douglas Allen Tpd
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Law Enforcement Post 2033
c/o Craig Drengson Customs
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10980 1‐29, Ste 2
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Law Enforcement Post 2038
c/o Derik Zimmel Gfpd
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Law Enforcement Post 2049
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56 Stephenson Blvd 2nd Fl
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Law Enforcement Post 2052
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1162 Main St
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Law Enforcement Post 306
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Law Enforcement Post 310
c/o James Holt Tpd
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c/o Joshua Motley Bvod
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Law Enforcement Post 3400
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Law Enforcement Post 3401
c/o Zandra Jackson Mpd
708 Phillips Dr
Mobile, AL 36610


Law Enforcement Post 3402
c/o Elsie Boykin Mpd
9726 Estate Dr
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Law Enforcement Post 3405
c/o Marshall Freeman Sr Mpd
2304 Tonlours Dr
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Law Enforcement Post 368
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c/o Rick Wright
Lake Jackson Police Dept
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Law Enforcement Post 3925
c/o Jason Behr City of Edina Pd
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c/o Brian Owens Bpd
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Blaine, MN 55449


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c/o Guy W Gourlay Suffolk Ct Pd
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211 W Aten Rd
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Law Enforcement Post 416
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Greenwich, CT 06830
Law Enforcement Post 457
c/o Christina Novello El Dorado
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3840 Spinel Cir
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Law Enforcement Post 464
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Cheektowasa, NY 14225


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Law Enforcement Post 474
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6650 Beach Blvd
Buena Park, CA 90620


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5083 NE 46th St
Des Moines, IA 50317


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82695 Dr Carreon Blvd
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Law Enforcement Post 504
c/o Thomas Poizien Sioux Falls Pd
320 W 4th St
Sioux Falls, SD 57104‐2413


Law Enforcement Post 505
c/o John Herman St Louis Police Dept
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St Louis Park, MN 55416
Law Enforcement Post 507
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Law Enforcement Post 5151
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Law Enforcement Post 611
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c/o Nick Francis Avpd
7100 147th St W
Apple Valley, MN 55124
Law Enforcement Post 9611
c/o Sara Stolley Bettendorf Pd
1313 E Central Park Ave
Davenport, IA 52803


Law Enforcement Post 9706
c/o Jose Venegas US Customs
Border Protection
9915 Bryn Mawr Ave
Rosemont, IL 60018


Law Enforcement Post 9707
c/o Jose Venegas US Customs
Border Protection
9915 Bry Maur Ave
Rosemont, IL 60076


Law Enforcement Post 9765
c/o Mike Untalam Ca Hwy Patrol
4656 Valentine Rd
Ventura, CA 93003


Law Enforcement Post 9774
c/o Chrystal Ruhmann Slcpd
625 New Smizer Mill Rd
Fenton, MO 63026


Law Enforcement Post 9799
c/o Patrick Ofallon
3640 Santiago
Florissant, MO 63033


Law Enforcement Post 99
c/o Evelyn Vela US Customs
Border Protection
6601 NW 25th St
Miami, FL 33122


Law Enforcement Post 99
c/o Michelle Lucero Jefferson
Cty Sheriffs Ofc
7231 W Alabama Dr
Lakewood, CO 80232


Law Enforcement Post 99
c/o Stephen Rogers Winthrop Pd
3 Metcalf Square
Winthrop, MA 02152


Law Enforcement Post 9903
c/o Andrew Kauffman Bcpd
606 Nicodemus Rd
Reisterstown, MD 21136


Law Enforcement Post 9904
c/o Keith Ketterman Bcpd
215 Milford Rd
Baltimore, MD 21208


Law Enforcement Post 9910
c/o Iliana Pagan Drug Enforcement Admin
99 10th Ave
New York, NY 10011


Law Enforcement Post 9910
c/o James Zywicki Hartford Pd
110 N Johnson St
Hartford, WI 53027


Law Enforcement Post 9911
c/o Micheal Hartwell W Bend Pd
1115 S Main St
West Bend, WI 53095


Law Enforcement Post 9911
c/o William Ayers 111 Bcpd
216 N Marilyn Ave
Baltimore, MD 21221


Law Enforcement Post 995
c/o Curtis Flaherty Louisville Metro Pd
768 Barret Ave
Louisville, KY 40204
Law Enforcement Post 996
c/o Heather Rippe Portland Police Bureau
1111 SW 2nd Ave
Portland, OR 97204


Law Enforcement Senior High
South Florida Council 084
3300 NW 27 Ave
Miami, FL 33142


Law Enforcment Post 88
c/o Sandra Mciver Manatee Cty Sheriff
6907 95 Ln E
Palmetto, FL 34221


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Law Office Of Gregory J. Stacker, LLC
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1321 Washington Ave
Portland, ME 04103


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Norwood, MA 02062


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Valencia, CA 91355
Law Office Of Omid Nosrati
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Los Angeles, CA 90067


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Vashon, WA 98070


Law Offices Of Kevin Madison PC
13062 Hwy 290 W
Austin, TX 78737


Law Offices Of Maryann P Gallagher
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Los Angeles, CA 90012
Law Offices Of Mitchell Garabedian
Attn Mitchell Garabedian
100 State St, 6th Fl
Boston, MA 02109


Law Offices Of Pizana   Neidzwiedz, PLLC
Attn Rafael Pizana III
6222 De Zavala Rd, Ste 101
San Antonio, TX 78249


Lawerence Norman
Address Redacted


Lawhorn Staff Assoc
Flint River Council 095
1361 Zebulon Rd
Griffin, GA 30224


Lawndale Baptist   1St Utd Methodist
Piedmont Council 420
P.O. Box 548
Lawndale, NC 28090


Lawrence Archer
Address Redacted


Lawrence Avenue Utd Methodist Church
Water and Woods Council 782
210 E Lawrence Ave
Charlotte, MI 48813


Lawrence Bartrem
Address Redacted


Lawrence Brown
Address Redacted


Lawrence Butler
Address Redacted
Lawrence Bystran
Address Redacted


Lawrence Canal Fulton Fire Dept
Buckeye Council 436
5828 Manchester Ave Nw
North Lawrence, OH 44666


Lawrence Clark
Address Redacted


Lawrence Colletta
Address Redacted


Lawrence County Service Club
Andrew Jackson Council 303
P.O. Box 906
Monticello, MS 39654


Lawrence Crawford Assoc
Greater St Louis Area Council 312
2222 Lexington Ave
Lawrenceville, IL 62439


Lawrence Crawford Assoc
Greater St Louis Area Council 312
905 W Mulberry St
Robinson, IL 62454


Lawrence Crouch
Address Redacted


Lawrence Daly
Address Redacted


Lawrence Danner
Address Redacted
Lawrence Douglas Cnty Housing Auth
Heart of America Council 307
1600 Haskell Ave, Apt 187
Lawrence, KS 66044


Lawrence Douglas County Fire Medical
Heart of America Council 307
1911 Stewart Ave
Lawrence, KS 66046


Lawrence Feagin
Address Redacted


Lawrence Free Methodist Church
Heart of America Council 307
3001 Lawrence Ave
Lawrence, KS 66047


Lawrence Green
Address Redacted


Lawrence J Martinez
Address Redacted


Lawrence Minnis
Address Redacted


Lawrence Moore
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367 Fowling St
Playa Del Rey, CA 90293


Lawrence Newman
Address Redacted


Lawrence Oswalt
Address Redacted
Lawrence Otto
Address Redacted


Lawrence Parent Photography Inc
735 Saddle Ridge Dr
Wimberley, TX 78676


Lawrence Pegg
Address Redacted


Lawrence Police Dept
Crossroads of America 160
4455 Mccoy St, Ste 1
Lawrence, IN 46226


Lawrence Potts
Address Redacted


Lawrence Preston
Address Redacted


Lawrence Ragan Communications
111 E Wacker Dr, Ste 500
Chicago, IL 60601‐4205


Lawrence Road Presbyterian Church
Washington Crossing Council 777
1039 Lawrence Rd
Lawrenceville, NJ 08648


Lawrence School District
Theodore Roosevelt Council 386
1 Donahue Ave
Inwood, NY 11096


Lawrence Smith
Address Redacted


Lawrence Snead
Address Redacted


Lawrence Springer
Address Redacted


Lawrence Stephenson American Legion 133
Northern Lights Council 429
23 E 2 Av
Turtle Lake, ND 58575


Lawrence Tapia
Address Redacted


Lawrence Technological University
21000 W Ten Mile Rd
Southfield, MI 48075


Lawrence Thibault
Address Redacted


Lawrence Underkoffler
Address Redacted


Lawrence Utd Methodist Church
Crossroads of America 160
5200 N Shadeland Ave
Indianapolis, IN 46226


Lawrence Utd Methodist Church
Southern Shores Fsc 783
122 S Exchange St
Lawrence, MI 49064


Lawrence Washington
Address Redacted


Lawrence Weekly And Friends
Las Vegas Area Council 328
1929 Rose Coral Ave
Las Vegas, NV 89106
Lawrenceburg First Umc
Middle Tennessee Council 560
212 Waterloo St
Lawrenceburg, TN 38464


Lawrenceville 1St Utd Methodist
Northeast Georgia Council 101
395 W Crogan St
Hwy 29


Lawrenceville Church Of God
Northeast Georgia Council 101
329 Grayson Hwy
Lawrenceville, GA 30045


Lawrenceville Community Church
Tecumseh 439
3880 Lawrenceville Dr
Springfield, OH 45504


Lawrenceville Elementary Stem Club
Northeast Georgia Council 101
122 Gwinnett Dr
Lawrenceville, GA 30046


Lawrenceville Lions Club
Northeast Georgia Council 101
1125 Lewis Ridge Cir
Lawrenceville, GA 30045


Lawrenceville Police Dept
Northeast Georgia Council 101
P.O. Box 2220
Lawrenceville, GA 30246


Lawrenceville Presbyterian Church
Northeast Georgia Council 101
800 Lawrenceville Hwy
Lawrenceville, GA 30045
Lawrenceville Road Utd Methodist Ch
Atlanta Area Council 092
3142 Lawrenceville Hwy
Tucker, Ga 30084


Lawrenceville Utd Methodist Men
Colonial Virginia Council 595
P.O. Box 2
Lawrenceville, VA 23868


Lawson Products Inc
P.O. Box 809401
Chicago, IL 60680‐9401


Lawson Software Americas‐Usd
c/o Citibank
P.O. Box 2395
Carol Stream, IL 60132‐2395


Lawson‐Cox Vfw Post 7679
Garden State Council 690
8 New York Ave
Mantua, NJ 08051


Lawton Byrum Vfw Post 972
Crossroads of America 160
1111 Veteran Sq
Terre Haute, IN 47807


Lawton Lions Club
Southern Shores Fsc 783
76719 C.R. 652
Lawton, MI 49065


Lawyersville Reformed Church
Leatherstocking 400
P.O. Box
Lawyersville, NY 12113


Laycie Bowers
Address Redacted
Laymond Bennett
Address Redacted


Laytonsville Lions Club
National Capital Area Council 082
P.O. Box 5111
Laytonsville, MD 20882


Lazart Production
P.O. Box 826358
Philadelphia, PA 19182


Lazarus Utd Church Of Christ
Baltimore Area Council 220
5101 S Church St
Lineboro, MD 21102


Lb Eckelkamp Jr
Address Redacted


Lbi Us LLC
295 Lafayette St, 8th Fl
New York, NY 10012


Lc Industries
P.O. Box 601174
Charlotte, NC 28260‐1174


Lc Industries Inc
401 N Wern Ave
Chicago, IL 60612


Lc Kirkpatrick
Address Redacted


Lcg Assoc Inc
400 Galleria Pkwy, Ste 1800
Atlanta, GA 30339
Lcsc
4150 N Macarthur Blvd
Irving, TX 75038


Ld Hung Vuong Foundation
122 19th St
Huntington Beach, CA 92648


Ld Hung Vuong Foundation
Orange County Council 039
7777 Wminster Blvd
Westminster, CA 92683


Ld Lower Holdings Inc
9023
Columbine Rd
Eden Prairie, MN 55347


Ld Lower Holdings Inc
dba Ontrack
P.O. Box 845823
Dallas, TX 75284‐5823


Ldhdtd
13442 Flower St 12
Garden Grove, CA 92843


Lds
Andrew Jackson Council 303
1301 Pinehaven Rd
Clinton, MS 39056


Lds
Andrew Jackson Council 303
175 Burnham Rd S
Brandon, MS 39042


Lds
Black Warrior Council 006
5510 10th Ct E
Northport, AL 35473
Lds
Central N Carolina Council 416
1255 Julian Rd
Salisbury, NC 28146


Lds
Central N Carolina Council 416
1601 Cooper Ave
Kannapolis, NC 28081


Lds
De Soto Area Council 013
28th   Calion Rd
El Dorado, AR 71730


Lds
East Texas Area Council 585
1943 County Rd 121
Gary, TX 75643


Lds
East Texas Area Council 585
P.O. Box G
Lufkin, TX 75902


Lds
Indian Waters Council 553
2 Glenn St Ext
Newberry, SC 29168


Lds
Indian Waters Council 553
2112 Glenn St Ext
Newberry, SC 29108


Lds
Indian Waters Council 553
34 Chestnut Ferry Rd
Camden, SC 29020


Lds
Old N State Council 070
1830 Chestnut St Ext
High Point, NC 27260


Lds
Overland Trails 322
1003 W 10th St
North Platte, NE 69101


Lds
Overland Trails 322
4100 W A Lakeview Bl
North Platte, NE 69101


Lds
Pine Burr Area Council 304
1302 Martin St
Pascagoula, MS 39581


Lds
Pine Burr Area Council 304
133 Morrison Ave
Biloxi, MS 39530


Lds
Pine Burr Area Council 304
14928 Big Ridge Rd
Biloxi, MS 35931


Lds ‐ 1St Ward‐Harlingen Stake
Rio Grande Council 775
2320 Haine Dr
Harlingen, TX 78550


Lds ‐ Adams Park Ward/Layton East Stake
Trapper Trails 589
1015 N Emerald Dr
Layton, UT 84040


Lds ‐ Adams Ward/South Ogden Stake
Trapper Trails 589
3270 Orchard Ave
South Ogden, UT 84403


Lds ‐ Adamswood Ward/Valley View Stake
Trapper Trails 589
1589 E Gentile St
Layton, UT 84040


Lds ‐ Alief Ward ‐ Richmond‐Stake
Sam Houston Area Council 576
602 Eldridge Rd
Sugar Land, TX 77478


Lds ‐ Allen 1St Ward/ Allen Stake
Circle Ten Council 571
1324 W Exchange Pkwy
Allen, TX 75013


Lds ‐ Allen 2Nd Ward/Allen Stake
Circle Ten Council 571
1404 E Main St
Allen, TX 75002


Lds ‐ Allen 3Rd Ward/ Allen Stake
Circle Ten Council 571
1404 E Main St
Allen, TX 75002


Lds ‐ Allen 4Th Ward/Allen Stake
Circle Ten Council 571
1324 W Exchange Pkwy
Allen, TX 75013


Lds ‐ Allen 5Th Ward/Allen Stake
Circle Ten Council 571
1404 E Main St
Allen, TX 75002


Lds ‐ Allen 6Th Ward/Allen Stake
Circle Ten Council 571
1324 W Exchange Pkwy
Allen, TX 75013
Lds ‐ Allen 7Th Ward/Allen Stake
Circle Ten Council 571
651 Stacy Rd
Fairview, TX 75069


Lds ‐ Alluvial ‐ Fresno Stake
Sequoia Council 027
1149 E Alluvial Ave
Fresno, CA 93720


Lds ‐ Almy Ward/Evanston Stake
Trapper Trails 589
251 Elm St
Evanston, WY 82930


Lds ‐ Alvin ‐ Friendswood
Bay Area Council 574
2700 Lehi Ln
Alvin, TX 77511


Lds ‐ Amalga Ward/Benson Stake
Trapper Trails 589
6521 N 2400 W
Amalga, UT 84335


Lds ‐ Angel Park Ward/Kaysville Stake
Trapper Trails 589
205 S Angel St
Kaysville, UT 84037


Lds ‐ Angleton ‐ Bay City
Bay Area Council 574
3101 N Valderas St
Angleton, TX 77515


Lds ‐ Apex ‐ Apex Ward
Occoneechee 421
6011 Mccrimmon Pkwy
Morrisville, NC 27560


Lds ‐ Apex ‐ Beaver Creek Ward
Occoneechee 421
590 Bryan Dr
Apex, NC 27502


Lds ‐ Apex ‐ Cary 1St Ward
Occoneechee 421
590 Bryan Dr
Apex, NC 27502


Lds ‐ Apex ‐ Cary 2Nd Ward
Occoneechee 421
1811 Seabrook Ave
Cary, NC 27511


Lds ‐ Apex ‐ Green Level Ward
Occoneechee 421
6011 Mccrimmon Pkwy
Morrisville, NC 27560


Lds ‐ Apex ‐ Morrisville Ward
Occoneechee 421
6011 Mccrimmon Pkwy
Morrisville, NC 27560


Lds ‐ Apex ‐ Pittsboro Ward
Occoneechee 421
287 E St, Ste 412
Pittsboro, NC 27312


Lds ‐ Arlington Heights Ward I
Pathway To Adventure 456
2035 N Windsor Dr
Arlington Heights, IL 60004


Lds ‐ Arlington Heights Ward I
Pathway To Adventure 456
2035 N Windsor Dr
Arlington Hts, IL 60004


Lds ‐ Arlington Heights Ward Ii
Pathway To Adventure 456
2035 N Windsor Dr
Arlington Hts, IL 60004


Lds ‐ Arlington Ward
North Florida Council 087
7665 Fort Caroline Rd
Jacksonville, FL 32277


Lds ‐ Aspen Cove Ward/Valley View Stake
Trapper Trails 589
789 E Wasatch Dr
Layton, UT 84041


Lds ‐ Atascocita Ward ‐ Kingwood Stake
Sam Houston Area Council 576
19618 Atasca Oaks Dr
Humble, TX 77346


Lds ‐ Auberry ‐ Fresno North Stake
Sequoia Council 027
29711 Auberry Rd
Prather, CA 93651


Lds ‐ Auburn Ward
Chattahoochee Council 091
510 Groce St
Opelika, AL 36801


Lds ‐ Back Creek Ward ‐ Roanoke Stake
Blue Ridge Mtns Council 599
5836 Cotton Hill Rd
Roanoke, VA 24018


Lds ‐ Baer Creek Ward/Haight Creek Stake
Trapper Trails 589
1282 W 1875 N
Farmington, UT 84025


Lds ‐ Banbury Ward/Syracuse Stake
Trapper Trails 589
3267 W 700 S
Syracuse, UT 84075
Lds ‐ Bangor
Katahdin Area Council 216
P.O. Box 1123
Bangor, ME 04402


Lds ‐ Bartram Trails Branch
North Florida Council 087
4128 Running Bear Ln
Saint Johns, FL 32259


Lds ‐ Baybrook ‐ Friendswood
Bay Area Council 574
505 Deseret Dr
Friendswood, TX 77546


Lds ‐ Bear Creek 1St Ward ‐ Katy Stake
Sam Houston Area Council 576
16203 Longenbaugh Dr
Houston, TX 77095


Lds ‐ Beaver Ward/Fielding Stake
Trapper Trails 589
16025 N Beaver Dam Rd
Collinston, UT 84306


Lds ‐ Bedford Ward ‐ Bloomington Stake
Hoosier Trails Council 145 145
1010 22nd St
Bedford, IN 47421


Lds ‐ Belleview Ward
North Florida Council 087
12975 SE 55th Ave Rd
Belleview, FL 34420


Lds ‐ Belmont 1St Ward/Fielding Stake
Trapper Trails 589
16925 N 5200 W
Garland, UT 84312


Lds ‐ Belmont 2Nd Ward/Fielding Stake
Trapper Trails 589
16925 N 5200 W
Riverside, UT 84334


Lds ‐ Bennington Ward/Montpelier Stake
Trapper Trails 589
24 E Center
Bennington, ID 83254


Lds ‐ Benson 1St Ward/Benson Stake
Trapper Trails 589
3432 N 3000 W
Benson, UT 84335


Lds ‐ Benson 2Nd Ward/Benson Stake
Trapper Trails 589
2496 N 3200 W
Benson Stake
Benson, UT 84335


LDS ‐ Benton Ward
Quapaw Area Council 018
13901 Quail Run Dr
Little Rock, AR 72210


Lds ‐ Bentwood Ward/North Logan Stake
Trapper Trails 589
1650 E 2600 N
North Logan, UT 84341


Lds ‐ Bern Ward/Paris Stake
Trapper Trails 589
661 Main St
Paris Stake
Bern, ID 83220


Lds ‐ Big Piney Ward/Kemmerer Stake
Trapper Trails 589
2266 Piney Dr
Big Piney, WY 83113


Lds ‐ Blacksburg Ward ‐ Pembroke Stake
Blue Ridge Mtns Council 599
301 Craig Dr
Blacksburg, VA 24060


Lds ‐ Bloomington Ward/Paris Stake
Trapper Trails 589
109 S Main St
Paris, ID 83223


Lds ‐ Bonham Ward/Sherman Stake
Circle Ten Council 571
1540 N State Hwy 78
Bonham, TX 75418


Lds ‐ Bothwell Ward/Tremonton West Stake
Trapper Trails 589
10350 W 11600 N
Bothwell, UT 84337


Lds ‐ Branford Ward
North Florida Council 087
106 US Hwy 27 Se
Branford, FL 32008


Lds ‐ Bridgeland Ward ‐ Cypress Stake
Sam Houston Area Council 576
21521 Fairfield Pl Dr
Cypress, TX 77433


Lds ‐ Bridgerland Park 2Nd Ward
Trapper Trails 589
280 W 1200 N
Logan, UT 84341


Lds ‐ Bridgeway Ward/Syracuse West Stake
Trapper Trails 589
1600 S 4500 W
Syracuse, UT 84075


Lds ‐ Buffalo Point/Syracuse West Stake
Trapper Trails 589
1600 S 4500 W
Syracuse, UT 84075


Lds ‐ Burkburnett Ward
Northwest Texas Council 587
1010 Arthur St
Burkburnett, TX 76354


Lds ‐ Burlington Ward ‐ Nauvoo Stake
Mississippi Valley Council 141 141
2727 Cliff Rd
Burlington, IA 52601


Lds ‐ Burton Ward/Deseret Mill Stake
Trapper Trails 589
270 W Burton Ln
Kaysville, UT 84037


Lds ‐ Camelot Ward/Layton West Stake
Trapper Trails 589
1715 W 1600 N
Layton, UT 84041


Lds ‐ Cannon Creek Ward
North Florida Council 087
1293 SW Bascom Norris Dr
Lake City, FL 32025


Lds ‐ Canoga Park Stake‐West Hills Ward
W.L.A.C.C. 051
7045 Farralone Ave
Canoga Park, CA 91303


Lds ‐ Canyon Creek/Morgan West
Trapper Trails 589
2700 S Morgan Valley Dr
Morgan, UT 84050


Lds ‐ Canyon Crest Ward/Weber Stake
Trapper Trails 589
6350 Combe Rd
Ogden, UT 84403
Lds ‐ Canyon Hollows Ward/Ogden Stake
Trapper Trails 589
1550 Rushton St
Ogden, UT 84401


Lds ‐ Canyon Lakes Ward ‐ Spanish Stake
Sam Houston Area Council 576
16203 Longenbaugh Dr
Houston, TX 77095


Lds ‐ Canyon Woods Ward/Crestwood Stake
Trapper Trails 589
1085 No 50 E
Kaysville, UT 84037


Lds ‐ Carl Junction Ward ‐ Joplin Stake
Ozark Trails Council 306
112 Briarbrook Dr
Carl Junction, MO 64834


Lds ‐ Casa Linda Ward/Dallas East Stake
Circle Ten Council 571
10701 E Lake Highlands Dr
Dallas, TX 75218


Lds ‐ Cedar Bench Ward/South Weber Stake
Trapper Trails 589
1814 E 7775 S
South Weber, UT 84405


Lds ‐ Cedar Bluff Ward/South Weber Stake
Trapper Trails 589
1814 E 7775 S
South Weber, UT 84405


Lds ‐ Cedar Crest Ward/Roy North Stake
Trapper Trails 589
3845 S 2000 W
Roy, UT 84067


Lds ‐ Cedarwood ‐ Fresno East Stake
Sequoia Council 027
45 N Fowler Ave
Clovis, CA 93611


Lds ‐ Cedarwood ‐ Fresno East Stake
Sequoia Council 027
45 N Fowler Ave
Clovis, CA 93612


Lds ‐ Celina 1St Ward/Sherman Tx Stake
Circle Ten Council 571
970 Coit Rd
Prosper, TX 75078


Lds ‐ Celina 2Nd Ward/Sherman Tx Stake
Circle Ten Council 571
737 E Melissa Rd
Melissa, TX 75454


Lds ‐ Center Ward/Legacy Park Stake
Trapper Trails 589
2228 S 1660 W
Syracuse, UT 84075


Lds ‐ Centerville Ward‐Dayton, Oh
Miami Valley Council, Bsa 444
901 E Whipp Rd
Centerville, OH 45459


Lds ‐ Central Ward/Box Elder Stake
Trapper Trails 589
215 S 200 W
Brigham City, UT 84302


Lds ‐ Central Ward/Layton Stake
Trapper Trails 589
60 W Gordon Ave
Layton, UT 84041


Lds ‐ Champions Ward ‐ Tomball Stake
Sam Houston Area Council 576
9525 Spring Cypress
Spring, TX 77379


Lds ‐ Chateau Park Ward/Roy Stake
Trapper Trails 589
5930 S 2200 W
Roy, UT 84067


Lds ‐ Cheat River Ward
Mountaineer Area 615
161 Meadow View Ln
Morgantown, WV 26508


Lds ‐ Chelemes Ward/Clearfield Stake
Trapper Trails 589
1245 S 1175 E
Clearfield, UT 84015


Lds ‐ Cherry Creek Ward/Richmond Stake
Trapper Trails 589
135 W Main St
Richmond, UT 84333


Lds ‐ Cherry Lane Ward/Layton East Stake
Trapper Trails 589
1015 N Emerald Dr
Layton, UT 84040


Lds ‐ Chiefland
North Florida Council 087
215 NE 8th St
Chiefland, FL 32626


Lds ‐ Church ‐ Brownsville 1
Rio Grande Council 775
114 E Price Rd
Brownsville, TX 78521


Lds ‐ Church ‐ Brownsville 2
Rio Grande Council 775
114 E Price Rd
Brownsville 1st Ward
Brownsville, TX 78521
Lds ‐ Cinco West Ward ‐ Katy Stake
Sam Houston Area Council 576
1603 Norwalk
Katy, TX 77450


Lds ‐ City Creek Ward/Richmond Stake
Trapper Trails 589
150 S 100 E
Richmond, UT 84333


Lds ‐ Clarkston 1St Ward/Benson Stake
Trapper Trails 589
25 E 100 S
Clarkston, UT 84305


Lds ‐ Clarkston 2Nd Ward/Benson Stake
Trapper Trails 589
25 E 100 S
Clarkston, UT 84305


Lds ‐ Clear Creek Ward ‐ Bloomington
Hoosier Trails Council 145 145
4235 W 3rd St
Bloomington, IN 47404


Lds ‐ Clearfield 6Th Ward/Sunset Stake
Trapper Trails 589
220 W 975 N
Sunset, UT 84015


Lds ‐ Clearfield 7Th Ward/Sunset Stake
Trapper Trails 589
350 Vine St
Clearfield, UT 84015


Lds ‐ Clearwater Ward ‐ St Pete Stake
Greater Tampa Bay Area 089
3303 Belcher Rd
Dunedin, FL 34698
Lds ‐ Cliffside/Mt Logan Stake
Trapper Trails 589
1380 E 25 N
Logan, UT 84321


Lds ‐ Clinton 10Th Ward/Clinton Stake
Trapper Trails 589
702 W 1300 N
Clinton, UT 84015


Lds ‐ Clinton 12Th Ward/Clinton Stake
Trapper Trails 589
1708 W 800 N
Clinton, UT 84015


Lds ‐ Clinton 13Th Ward/Clinton Stake
Trapper Trails 589
1708 W 800 N
Clinton, UT 84015


Lds ‐ Clinton 14Th Ward/Sunset Stake
Trapper Trails 589
338 W 1800 N
Sunset, UT 84015


Lds ‐ Clinton 16Th Ward/Clinton Stake
Trapper Trails 589
1288 W 1300 N
Clinton, UT 84015


Lds ‐ Clinton 19Th Ward/Clinton Stake
Trapper Trails 589
702 W 1300 N
Clinton, UT 84015


Lds ‐ Clinton 1St Ward/Clinton Stake
Trapper Trails 589
1288 W 1300 N
Clinton, UT 84015


Lds ‐ Clinton 20Th Ward/Clinton Stake
Trapper Trails 589
1288 W 1300 N
Clinton, UT 84015


Lds ‐ Clinton 27Th Ward/Clinton Stake
Trapper Trails 589
1708 W 800 N
Clinton, UT 84015


Lds ‐ Clinton 8Th Ward/Clinton Stake
Trapper Trails 589
702 W 1300 N
Clinton, UT 84015


Lds ‐ Clinton Stake
Andrew Jackson Council 303
1301 Pinehaven
Clinton, MS 39056


Lds ‐ Clovis ‐ Fresno East Stake
Sequoia Council 027
45 N Fowler Ave
Clovis, CA 93611


Lds ‐ Coalinga ‐ Hanford Stake
Sequoia Council 027
P.O. Box 95
Coalinga, CA 93210


Lds ‐ College Ward/Mendon Stake
Trapper Trails 589
2394 W 2200 S
Mendon, UT 84325


Lds ‐ Columbus 4Th Ward ‐ Indianapolis
Hoosier Trails Council 145 145
4850 W Goeller Blvd
Columbus, IN 47201


Lds ‐ Conroe 1St Ward ‐ Spring Stake
Sam Houston Area Council 576
2495 Ed Kharbat Dr
Conroe, TX 77301
Lds ‐ Conroe 2Nd Ward ‐ Spring Stake
Sam Houston Area Council 576
1516 Wilson Rd
Conroe, TX 77304


Lds ‐ Coppell 1St Ward/Carrollton Stake
Circle Ten Council 571
615 S Macarthur Blvd
Coppell, TX 75019


Lds ‐ Coppell 2Nd Ward/Carrollton Stake
Circle Ten Council 571
615 S Macarthur Blvd
Coppell, TX 75019


Lds ‐ Coppell 3Rd Ward/Carrollton Stake
Circle Ten Council 571
615 S Macarthur Blvd
Coppell, TX 75019


Lds ‐ Corcoran ‐ Hanford Stake
Sequoia Council 027
1450 N Ave
Corcoran, CA 93212


Lds ‐ Cornish Ward/Benson Stake
Trapper Trails 589
1200 N 400 W
Benson, UT 84308


Lds ‐ Corsicana Ward/Dallas Stake
Circle Ten Council 571
3800 Enhouse Rd
Corsicana, TX 75110


Lds ‐ Country Lane Ward/Roy West Stake
Trapper Trails 589
2915 W 4425 S
Roy, UT 84067
Lds ‐ Country Oaks Ward/Kays Creek Stake
Trapper Trails 589
2680 E Cherry Lane
Layton, UT 84040


Lds ‐ Country View Ward/Kanesville Stake
Trapper Trails 589
4775 S 4875 W
West Haven, UT 84401


Lds ‐ Cove Ward/Richmond Stake
Trapper Trails 589
12832 N 1200 E
Cove, UT 84320


Lds ‐ Creek Ward ‐ The Woodlands Stake
Sam Houston Area Council 576
10303 Branch Crossing Dr
The Woodlands, TX 77382


Lds ‐ Creekside Ward/Holmes Creek Stake
Trapper Trails 589
625 So 750 E
Layton, UT 84041


Lds ‐ Crescent City Branch
North Florida Council 087
2376 S US Hwy 17
Crescent City, FL 32112


Lds ‐ Crestwood Ward/Crestwood Stake
Trapper Trails 589
1039 Crestwood Rd
Kaysville, UT 84037


Lds ‐ Crighton Ward ‐ Spring Stake
Sam Houston Area Council 576
154 Stonehedge Pl
Montgomery, TX 77316


Lds ‐ Cross Creek Ward ‐ Katy Stake
Sam Houston Area Council 576
1603 Norwalk Dr
Katy, TX 77450


Lds ‐ Cub River Ward/Franklin Stake
Trapper Trails 589
5307 E Cub River Rd
Preston, ID 83263


Lds ‐ Curlew Ward/Garland Stake
Trapper Trails 589
75 N 100 E
Snowville, UT 84336


Lds ‐ Cypress Lakes Ward ‐ Cypress Stake
Sam Houston Area Council 576
21521 Fairfield Pl Dr
Cypress, TX 77433


Lds ‐ Cypress Ward ‐ Cypress Stake
Sam Houston Area Council 576
10555 Mills Rd
Houston, TX 77070


Lds ‐ Dakota ‐ Fresno East Stake
Sequoia Council 027
1880 Gettysburg Ave
Clovis, CA 93611


Lds ‐ Dallas 1St Ward/Dallas East Stake
Circle Ten Council 571
4166 Hawthorne Ave
Dallas, TX 75219


Lds ‐ Dallas 4Th Ward/Richardson Stake
Circle Ten Council 571
14740 Meandering Way
Dallas, TX 75254


Lds ‐ Dallas 6Th Ward/ Irving Stake
Circle Ten Council 571
1553 S Story Rd
Irving, TX 75060
Lds ‐ Dallas 9Th Ward/Dallas East Stake
Circle Ten Council 571
6408 Norway Rd
Dallas, TX 75230


Lds ‐ Danville Ward ‐ Greensboro Stake
Blue Ridge Mtns Council 599
3058 N Main St
Danville, VA 24540


Lds ‐ Daphne Ward ‐ Mobile Stake
Mobile Area Council‐Bsa 004
7322 Lake Blvd
Spanish Fort, AL 36527


Lds ‐ Dayton Ward/Preston South Stake
Trapper Trails 589
825 N Wside Hwy
Dayton, ID 83232


Lds ‐ Deseret Ward/Deseret Mill Stake
Trapper Trails 589
925 Deseret Dr
Kaysville, UT 84037


Lds ‐ Desoto Ward/Dallas Stake
Circle Ten Council 571
1019 Big Stone Gap
Dallas, TX 75201


Lds ‐ Desoto Ward/Dallas Stake
Circle Ten Council 571
1019 Big Stone Gap Rd
Duncanville, TX 75137


Lds ‐ Deweyville Ward/Tremonton Stake
Trapper Trails 589
10750 N Hwy 69
Deweyville, UT 84309
Lds ‐ Dingle Ward/Montpelier South Stake
Trapper Trails 589
4197 Dingle Rd
Dingle, ID 83233


Lds ‐ Dixie Ward/Valley View Stake
Trapper Trails 589
789 E Wasatch Dr
Layton, UT 84041


Lds ‐ Doha 1St Ward Qatar
Transatlantic Council, Bsa 802
P.O. Box 209145
Doha,
Qatar


Lds ‐ Dry Canyon Ward/Mount Logan Stake
Trapper Trails 589
1350 Eridge Cir
Logan, UT 84321


Lds ‐ Dry Creek ‐ Fresno North Stake
Sequoia Council 027
342 W Nees Ave
Clovis, CA 93611


Lds ‐ Dunn Avenue Ward
North Florida Council 087
1679 Dunn Ave
Jacksonville, FL 32218


Lds ‐ Durant Ward / Sherman Stake
Circle Ten Council 571
101 S 2nd Ave
Durant, OK 74701


Lds ‐ Durham ‐ Chapel Hill Ward
Occoneechee 421
1050 Martin Luther King Jr Blvd
Chapel Hill, NC 27514


Lds ‐ Durham ‐ Durham 2Nd Ward
Occoneechee 421
3902 Berini Dr
Durham, NC 27705


Lds ‐ Durham ‐ Durham 4Th Ward
Occoneechee 421
3902 Berini Dr
Durham, NC 27705


Lds ‐ Durham ‐ Mebane Ward
Occoneechee 421
150 Ashbury Blvd
Mebane, NC 27302


Lds ‐ Durham ‐ Mebane Ward
Occoneechee 421
3902 Berini Dr
Durham, NC 27705


Lds ‐ Eagle Lake Branch/Roy South Stake
Trapper Trails 589
5725 S 3750 W
Roy, UT 84067


Lds ‐ East Garland Ward/Fielding Stake
Trapper Trails 589
4375 W 15600 N
Fielding, UT 84312


Lds ‐ Eastridge Ward/Mount Logan Stake
Trapper Trails 589
1350 Eridge Cir
Logan, UT 84321


Lds ‐ Eastwood Ward/Weber Stake
Trapper Trails 589
5855 Skyline Dr
Ogden, UT 84403


LDS ‐ Eau Claire Ward, Oakdale Stake
Chippewa Valley Council 637
3335 Stein Blvd
Eau Claire, WI 54701


Lds ‐ Eccles Park Ward/Ogden East Stake
Trapper Trails 589
1029 26th St
Ogden, UT 84401


Lds ‐ Echo ‐ Fresno Stake
Sequoia Council 027
1375 E Salem Ave
Fresno, CA 93720


Lds ‐ Eden 1St Ward/Huntsville Stake
Trapper Trails 589
6500 E 1900 N
Eden, UT 84310


Lds ‐ Eden 2Nd Ward/Huntsville Stake
Trapper Trails 589
2900 N Hwy 162
Eden, UT 84310


Lds ‐ Edinburg 2Nd Ward
Rio Grande Council 775
401 S Jackson Rd
Edinburg, TX 78539


Lds ‐ Edinburg I
Rio Grande Council 775
200 W La Vista Ave
Mcallen Texas Stake
Mcallen, TX 78501


Lds ‐ Elk Ridge/North Logan Stake
Trapper Trails 589
1190 E 2500 N
Logan, UT 84341


Lds ‐ Ellsworth
Katahdin Area Council 216
33 Elm St
Ellsworth, ME 04605
Lds ‐ Emerald Ward/Layton East Stake
Trapper Trails 589
1325 E Cherry Lane
Layton, UT 84040


Lds ‐ Enterprise Ward/Morgan West Stake
Trapper Trails 589
2755 W Old Hwy Rd
Morgan, UT 84050


Lds ‐ Eufaula
Alabama‐Florida Council 003
Hwy 131
Eufaula, AL 36027


Lds ‐ Evanston 2Nd Ward/Evanston Stake
Trapper Trails 589
251 Elm St
Evanston, WY 82930


Lds ‐ Evanston 3Rd Ward/Evanston Stake
Trapper Trails 589
1224 Morse Lee
Evanston, WY 82930


Lds ‐ Evanston 5Th Ward/Evanston Stake
Trapper Trails 589
251 Elm St
Evanston, WY 82930


Lds ‐ Evanston 6Th Ward/Evanston Stake
Trapper Trails 589
1224 Morse Lee St
Evanston, WY 82930


Lds ‐ Evergreen Park/Rock Cliff Stake
Trapper Trails 589
300 Grammercy Ave
Ogden, UT 84404
Lds ‐ Exeter ‐ Visalia Stake
Sequoia Council 027
601 N B St
Exeter, CA 93221


Lds ‐ Fair Grove Ward/Kanesville Stake
Trapper Trails 589
4555 W 4000 S
West Haven, UT 84401


Lds ‐ Fairfield Ward ‐ Cypress Stake
Sam Houston Area Council 576
21521 Fairfield Pl Dr
Cypress, TX 77433


Lds ‐ Fairfield Ward/Crestwood Stake
Trapper Trails 589
1085 N 50 E
Kaysville, UT 84037


Lds ‐ Fairfield Ward/Layton Hills Stake
Trapper Trails 589
3290 N 1050 E
Layton, UT 84040


Lds ‐ Fairmont Ward
Mountaineer Area 615, Route 73 N
Fairmont, WV 26554


Lds ‐ Fairview 1St /Preston South Stake
Trapper Trails 589
165 W 4800 S
Preston, ID 83263


Lds ‐ Fairview 1St/Tremonton West Stake
Trapper Trails 589
345 S 1000 W
Tremonton, UT 84337


Lds ‐ Fairview 2Nd/Preston South Stake
Trapper Trails 589
165 W 4800 S
Preston, ID 83263


Lds ‐ Fairview Ward/Allen Stake
Circle Ten Council 571
651 Stacy Rd
Fairview, TX 75069


Lds ‐ Falcon Ranch Ward ‐ Katy Stake
Sam Houston Area Council 576
1603 Norwalk Dr
Katy, TX 77494


Lds ‐ Fall Creek Ward ‐ Summerwood Stake
Sam Houston Area Council 576
14350 N Sam Houston Pkwy E
Houston, TX 77044


Lds ‐ Farmersville Ward/Allen Stake
Circle Ten Council 571
513 Sycamore St
Farmersville, TX 75442


Lds ‐ Farr West 4Th Ward/Farr West Stake
Trapper Trails 589
2132 W 2700 N
Farr W, Ut 84404


Lds ‐ Farr West 5Th Ward/Farr West Stake
Trapper Trails 589
2565 W 3300 N
Farr W, Ut 84404


Lds ‐ Farr West 6Th Ward/Farr West Stake
Trapper Trails 589
2132 W 2700 N
Farr W, Ut 84404


Lds ‐ Farr West 9Th Ward/Farr West Stake
Trapper Trails 589
2565 W 3300 N
Farr W, Ut 84404
Lds ‐ Fayetteville ‐ Gillis Hill Ward
Occoneechee 421
9701 Cliffdale Rd
Fayetteville, NC 28306


Lds ‐ Fayetteville ‐ Hope Mills Ward
Occoneechee 421
5810 Rockfish Rd
Hope Mills, NC 28348


Lds ‐ Fayetteville West ‐ 3Rd Ward
Occoneechee 421
6420 Morganton Rd
Fayetteville, NC 28314


Lds ‐ Fayetteville West ‐ Cameron Ward
Occoneechee 421
9800 US Hwy 1‐5‐501
Pinehurst, NC 28327


Lds ‐ Fayetteville West ‐ Pinehurst Ward
Occoneechee 421
9800 Hwy 15‐501
Pinehurst, NC 28374


Lds ‐ Fayetteville West ‐ Pinehurst Ward
Occoneechee 421
9800 US Hwy 15 501
Pinehurst, NC 28374


Lds ‐ Fayetteville West ‐ Sanford Ward
Occoneechee 421
3204 Keller Andrews Rd
Sanford, NC 27330


Lds ‐ Faytteville Raeford Spanish Ward
Occoneechee 421
9701 Cliffdale Rd
Fayetteville, NC 28304


Lds ‐ Fernandina Beach Ward
North Florida Council 087
2800 S 14th St
Fernandina Beach, FL 32034


Lds ‐ Fielding Ward/Fielding Stake
Trapper Trails 589
4375 W 15600 N
Fielding, UT 84311


Lds ‐ Fig Garden ‐ Fresno West Stake
Sequoia Council 027
3775 W Sierra Ave
Fresno, CA 93711


Lds ‐ Flat Rock Ward
Chattahoochee Council 091
4400 Reese Rd
Columbus, GA 31907


Lds ‐ Fleming Island 1St Ward
North Florida Council 087
780 Water Oak Ln
Fleming Island, FL 32003


Lds ‐ Fleming Island 2Nd Ward
North Florida Council 087
780 Water Oak Ln
Fleming Island, FL 32003


Lds ‐ Flint Meadows Ward/Kaysville Stake
Trapper Trails 589
615 N Flint St
Kaysville, UT 84037


Lds ‐ Floyd Ward ‐ Pembroke Stake
Blue Ridge Mtns Council 599
2028 Coles Knob Rd Ne
Check, VA 24072


Lds ‐ Foothill 1St Ward/Logan East Stake
Trapper Trails 589
1450 E 1500 N
Logan, UT 84341


Lds ‐ Foothill 2Nd Ward/Logan East Stake
Trapper Trails 589
1464 E 1425 N
Logan, UT 84341


Lds ‐ Foothill Trails/Rock Cliff Stake
Trapper Trails 589
1000 Suncrest Dr
Ogden, UT 84404


Lds ‐ Foothill Ward/Rock Springs Stake
Trapper Trails 589
3315 White Mountain Blvd
Rock Springs, WY 82901


Lds ‐ Foothills Ward/Ogden Stake
Trapper Trails 589
1475 Cahoon St
Ogden, UT 84401


Lds ‐ Forney Ward/Heath Stake
Circle Ten Council 571
8200 Fm 741
Forney, TX 75126


Lds ‐ Fort Bridger Ward/Lyman Stake
Trapper Trails 589
3815 N Hwy 414
Lyman, WY 82937


Lds ‐ Fort Caroline Ward
North Florida Council 087
6565 Fort Caroline Rd
Jacksonville, FL 32277


Lds ‐ Fort Lane Ward/Layton Stake
Trapper Trails 589
1402 N Fort Lane
Layton, UT 84041
Lds ‐ Founders Park Ward/Syracuse Stake
Trapper Trails 589
1350 S 1800 W
Syracuse, UT 84075


Lds ‐ Fox Creek Ward/Layton Stake
Trapper Trails 589
202 W 1675 N
Layton, UT 84041


Lds ‐ Fox Hollow Ward/Clearfield Stake
Trapper Trails 589
2150 So 800 E
Clearfield, UT 84015


Lds ‐ Fox Hollow Ward/Morgan North Stake
Trapper Trails 589
4150 W Old Hwy Rd
Mountain Green, UT 84050


Lds ‐ Fox Pointe Ward/Haight Creek Stake
Trapper Trails 589
1520 Fox Pointe Dr
Kaysville, UT 84037


Lds ‐ Fox Ridge Ward/River Heights Stake
Trapper Trails 589
155 N 100 E
Providence, UT 84332


Lds ‐ Foxglen Park Ward/Kanesville Stake
Trapper Trails 589
3939 W 4000 S
West Haven, UT 84401


Lds ‐ Foxglen Ward/Roy Midland Stake
Trapper Trails 589
3649 W 4800 S
Roy, UT 84067


Lds ‐ Franklin 1St Ward/Franklin Stake
Trapper Trails 589
106 E Main St
Franklin, ID 83237


Lds ‐ Franklin 2Nd Ward/Franklin Stake
Trapper Trails 589
106 E Main St
Franklin, ID 83237


Lds ‐ Franklin 3Rd Ward/Franklin Stake
Trapper Trails 589
106 E Main St
Franklin, ID 83237


Lds ‐ Franklinton Ward
Occoneechee 421
35 James Joyce Ct
Youngsville, NC 27596


Lds ‐ Freedom Ward/Pioneer Trail Stake
Trapper Trails 589
5689 S 4650 W
Hooper, UT 84315


Lds ‐ Fremont Peak Ward
Trapper Trails 589
134 Woods Wardell Rd
Pinedale, WY 82941


Lds ‐ Fremont Ward/Pioneer Trail Stake
Trapper Trails 589
4979 S 5100 W
Hooper, UT 84315


Lds ‐ Fremont Ward/Syracuse West Stake
Trapper Trails 589
2887 W 2700 S
Syracuse, UT 84075


Lds ‐ Fresno 5Th ‐ Fresno Stake
Sequoia Council 027
5685 N Cedar Ave
Fresno, CA 93710


Lds ‐ Fresno East Stake ‐ Kings Canyon
Sequoia Council 027
6641 E Butler Ave
Fresno, CA 93727


Lds ‐ Friendswood 1 ‐ Friendswood
Bay Area Council 574
505 Deseret Dr
Friendswood, TX 77546


Lds ‐ Friendswood 2 ‐ Friendswood
Bay Area Council 574
505 Deseret Dr
Friendswood, TX 77546


Lds ‐ Frisco 10Th Ward/Frisco Stake
Circle Ten Council 571
11000 El Dorado Pkwy
Frisco, TX 75035


Lds ‐ Frisco 1St Ward/Frisco Stake
Circle Ten Council 571
5095 Coit Rd
Frisco, TX 75035


Lds ‐ Frisco 3Rd Ward/Frisco Stake
Circle Ten Council 571
10400 Legacy Dr
Frisco, TX 75033


Lds ‐ Frisco 4Th Ward/Frisco Stake
Circle Ten Council 571
11000 El Dorado Pkwy
Frisco, TX 75035


Lds ‐ Frisco 4Th Ward/Frisco Stake
Circle Ten Council 571
12390 Nandina Ln
Frisco, TX 75035
Lds ‐ Frisco 5Th Ward/Frisco Stake
Circle Ten Council 571
5095 Coit Rd
Frisco, TX 75035


Lds ‐ Frisco 6Th Ward/Frisco Stake
Circle Ten Council 571
10400 Legacy Dr
Frisco, TX 75033


Lds ‐ Frisco 7Th Ward/Frisco Stake
Circle Ten Council 571
5095 Coit Rd
Frisco, TX 75035


Lds ‐ Frisco 8Th Ward/Frisco Stake
Circle Ten Council 571
11000 El Dorado Pkwy
Frisco, TX 75035


Lds ‐ Frisco 9Th Ward/Frisco Stake
Circle Ten Council 571
10400 Legacy Dr
Frisco, TX 75033


Lds ‐ Gainesville 1St Ward
North Florida Council 087
3745 NW 16th Blvd
Gainesville, FL 32605


Lds ‐ Gainesville 2Nd Ward
North Florida Council 087
10600 SW 24th Ave
Gainesville, FL 32607


Lds ‐ Gainesville 5Th Ward
North Florida Council 087
3745 NW 16th Blvd
Gainesville, FL 32605


Lds ‐ Galveston ‐ Friendswood
Bay Area Council 574
3114 77th St
Galveston, TX 77551


Lds ‐ Garden City 1St Ward/Paris Stake
Trapper Trails 589
65 S Bear Lake Blvd
Garden City, UT 84028


Lds ‐ Garden City 2Nd Ward/Paris
Trapper Trails 589
65 S Bear Lake Blvd
Garden City, UT 84028


Lds ‐ Garland 1St Ward/Dallas East Stake
Circle Ten Council 571
10701 E Lake Highlands Dr
Dallas, TX 75218


Lds ‐ Garland 1St Ward/Garland Stake
Trapper Trails 589
140 W Factory St
Garland, UT 84312


Lds ‐ Garland 2Nd Ward/Garland Stake
Trapper Trails 589
140 W Factory St
Garland, UT 84312


Lds ‐ Garland 3Rd Ward/Garland Stake
Trapper Trails 589
175 S Main St
Garland, UT 84312


Lds ‐ Garland 3Rd Ward/Richardson Stake
Circle Ten Council 571
900 S Bowser Rd
Richardson, TX 75081


Lds ‐ Garland 4Th Ward/Garland Stake
Trapper Trails 589
175 S Main St
Garland Stake
Garland, UT 84312


Lds ‐ Garland 4Th Ward/Richardson Stake
Circle Ten Council 571
2701 N Garland Ave
Garland, TX 75040


Lds ‐ Garland 5Th Ward/Garland Stake
Trapper Trails 589
175 S Main St
Garland, UT 84312


Lds ‐ Garland 5Th Ward/Richardson Stake
Circle Ten Council 571
900 S Bowser Rd
Richardson, TX 75081


Lds ‐ Geneva Ward ‐ Naperville Stake
Three Fires Council 127
0S234 S Mathewson Ln
Geneva, IL 60134


Lds ‐ Geneva Ward/Montpelier South Stake
Trapper Trails 589
40422 US Hwy 89
Geneva, ID 83238


Lds ‐ Gettysburg ‐ Fresno North Stake
Sequoia Council 027
524 W Gettysburg Ave
Clovis, CA 93612


Lds ‐ Gettysburg ‐ Fresno North Stake
Sequoia Council 027
P.O. Box 626
Clovis, CA 93613


Lds ‐ Grand Lakes Ward ‐ Katy Stake
Sam Houston Area Council 576
9950 S Mason Rd
Richmond, TX 77406
Lds ‐ Grand Rapids Branch‐Duluth Stake
Voyageurs Area 286
2300 La Prairie Ave
Grand Rapids, MN 55744


Lds ‐ Grandview/Morgan West
Trapper Trails 589
355 N 700 E
Morgan, UT 84050


Lds ‐ Greatwood Ward
Sam Houston Area Council 576
1354 Summer Terrace Dr
Sugar Land, TX 77479


Lds ‐ Green Leaf Ward/Layton West Stake
Trapper Trails 589
2160 W Gordon Ave
Layton, UT 84041


Lds ‐ Green Meadows Ward/Logan Stake
Trapper Trails 589
680 S 1250 W
Logan, UT 84321


Lds ‐ Greenbriar Ward/Layton South Stake
Trapper Trails 589
505 S 1000 W
Layton, UT 84041


Lds ‐ Greenfield Ward/Cache Stake
Trapper Trails 589
250 W 1200 N
Cache Stake
Logan, UT 84341


Lds ‐ Greenville Ward
East Carolina Council 426
307 Martinsborough Rd
Greenville, NC 27858
Lds ‐ Greenville Ward/Heath Stake
Circle Ten Council 571
5309 Utah St
Greenville, TX 75402


Lds ‐ Greenville Ward/North Logan Stake
Trapper Trails 589
2450 N 400 E
North Logan, UT 84341


Lds ‐ Greyhawk Ward/Northridge Stake
Trapper Trails 589
2375 E 3225 N
Layton, UT 84040


Lds ‐ Hampton Ford Ward/Fielding Stake
Trapper Trails 589
16025 N Beaver Dam Rd
Collinston, UT 84306


Lds ‐ Hanford 1St ‐ Hanford Stake
Sequoia Council 027
1130 N 11th Ave
Hanford, CA 93230


Lds ‐ Hanford 2Nd ‐ Hanford Stake
Sequoia Council 027
1130 N 11th Ave
Hanford, CA 93230


Lds ‐ Hanford 2Nd ‐ Hanford Stake
Sequoia Council 027
2400 N 11th Ave
Hanford, CA 93230


Lds ‐ Hargis Hill Ward/Willard Stake
Trapper Trails 589
80 W 100 N
Willard, UT 84340


Lds ‐ Harmony Ward ‐ Spring Stake
Sam Houston Area Council 576
28449 Rose Vervain Dr
Spring, TX 77386


Lds ‐ Havenwood Ward/Kaysville Stake
Trapper Trails 589
615 N Flint St
Kaysville, UT 84037


Lds ‐ Heath Ward/Heath Stake
Circle Ten Council 571
6819 S Fm 549
Rockwall, TX 75032


Lds ‐ Hendricks Avenue Ward
North Florida Council 087
4087 Hendricks Ave
Jacksonville, FL 32207


Lds ‐ Henrys Point Ward/Logan Stake
Trapper Trails 589
680 S 1250 W
Logan, UT 84321


Lds ‐ Heritage Ward/Creekside Stake
Trapper Trails 589
725 S 200 E
Layton, UT 84041


Lds ‐ Heritage Ward/Syracuse Stake
Trapper Trails 589
1469 W 700 S
Syracuse, UT 84075


Lds ‐ Hermann Park Ward ‐ Houston Stake
Sam Houston Area Council 576
5531 Beechnut St
Houston, TX 77096


Lds ‐ Hess Farms Ward/Haight Creek Stake
Trapper Trails 589
1650 S 500 E
Kaysville, UT 84037


Lds ‐ Hidalgo Ii
Rio Grande Council 775
3107 N Bryan Rd
Mission, TX 78574


Lds ‐ High Springs Branch
North Florida Council 087
5710 NE 38th Ln
High Springs, FL 32643


Lds ‐ Highland Ward ‐ Bloomington
Hoosier Trails Council 145 145
4235 W 3rd St
Bloomington, IN 47404


Lds ‐ Highland Ward/Ogden East Stake
Trapper Trails 589
1314 27th St
Ogden, UT 84403


Lds ‐ Highland/Rock Cliff Stake
Trapper Trails 589
300 Gramercy Ave
Ogden, UT 84404


Lds ‐ Highlands Ward/Haight Creek Stake
Trapper Trails 589
1520 Fox Pointe Dr
Kaysville, UT 84037


Lds ‐ Highlands Ward/Morgan North Stake
Trapper Trails 589
5378 W Old Hwy Rd
Mountain Green, UT 84050


Lds ‐ Highlands Ward/Weber Stake
Trapper Trails 589
5855 Skyline Dr
South Ogden, UT 84403
Lds ‐ Hill Farms Ward/Kaysville Stake
Trapper Trails 589
1505 Whispering Meadow Lane
Kaysville, UT 84037


Lds ‐ Hilliard Branch
North Florida Council 087
2387 State Rd 2
Hilliard, FL 32046


Lds ‐ Hilliard Ward/Evanston South Stake
Trapper Trails 589
14864 Hwy 150 S
Evanston, WY 82930


Lds ‐ Hobbs Creek Ward/Northridge Stake
Trapper Trails 589
2505 N Church St
Layton, UT 84040


Lds ‐ Homestead Ward/Hooper Stake
Trapper Trails 589
5375 S 5900 W
Hooper, UT 84315


Lds ‐ Hooper 1St Ward/Hooper Stake
Trapper Trails 589
5601 S 6100 W
Hooper, UT 84315


Lds ‐ Hooper 2Nd Ward/Hooper Stake
Trapper Trails 589
5000 S 5900 W
Hooper, UT 84315


Lds ‐ Hooper 3Rd Ward / Hooper Stake
Trapper Trails 589
5601 S 6100 W
Hooper, UT 84315


Lds ‐ Hooper 4Th Ward/Hooper Stake
Trapper Trails 589
4675 W 5500 S
Hooper, UT 84315


LDS ‐ Hot Springs Ward
Quapaw Area Council 018
2767 Malvern Ave
Hot Springs, AR 71901


Lds ‐ Houston 1St Ward ‐ Houston Stake
Sam Houston Area Council 576
1101 Bering Dr
Houston, TX 77057


Lds ‐ Houston 2Nd Ward ‐ Houston Stake
Sam Houston Area Council 576
5531 Beechnut St
Houston, TX 77096


Lds ‐ Houston 5Th Ward ‐ Houston West
Sam Houston Area Council 576
65 Melbourne St
Houston, TX 77022


Lds ‐ Howell Ward/Garland Stake
Trapper Trails 589
16035 N 17400 W
Howell, UT 84316


Lds ‐ Hudson Ward ‐ St Pete Stake
Greater Tampa Bay Area 089
10606 Hilltop Dr
New Port Richey, FL 34654


Lds ‐ Hugo Branch/Gilmer Tx Stake
Circle Ten Council 571
2400 Jackson St
Hugo, OK 74743


Lds ‐ Humble Ward ‐ Kingwood Stake
Sam Houston Area Council 576
19618 Atasca Oaks Dr
Humble, TX 77346


Lds ‐ Hyde Park 1St Ward/Hyde Park Stake
Trapper Trails 589
480 N 100 W
Hyde Park, UT 84318


Lds ‐ Hyde Park 2Nd Ward/Hyde Park Stake
Trapper Trails 589
485 E 250 S
Hyde Park Stake
Hyde Park, UT 84318


Lds ‐ Hyde Park 3Rd Ward/Hyde Park Stake
Trapper Trails 589
42 W 200 S
Hyde Park, UT 84318


Lds ‐ Hyde Park 4Th Ward
Trapper Trails 589
535 E 200 S
Hyde Park, UT 84318


Lds ‐ Hyde Park 5Th Ward/Hyde Park Stake
Trapper Trails 589
65 E Center St
Hyde Park, UT 84318


Lds ‐ Hyde Park 6Th Ward/Hyde Park Stake
Trapper Trails 589
535 E 200 S
Hyde Park, UT 84318


Lds ‐ Hyde Park 7Th Ward/Hyde Park Stake
Trapper Trails 589
65 E Center St
Hyde Park, UT 84318


Lds ‐ Hyde Park 8Th Ward/Hyde Park Stake
Trapper Trails 589
480 N 100 W
Hyde Park, UT 84318
Lds ‐ Hyde Park 9Th Ward/Hyde Park Stake
Trapper Trails 589
65 E Center St
Hyde Park, UT 84318


Lds ‐ Hyrum 10Th Ward/Hyrum North Stake
Trapper Trails 589
125 N 400 W
Hyrum, UT 84319


Lds ‐ Hyrum 11Th Ward/Hyrum Stake
Trapper Trails 589
600 S 200 E
Hyrum, UT 84319


Lds ‐ Hyrum 12Th Ward/Hyrum North Stake
Trapper Trails 589
176 S 1300 E
Hyrum, UT 84319


Lds ‐ Hyrum 13Th Ward/Hyrum North Stake
Trapper Trails 589
95 N 675 W
Hyrum, UT 84319


Lds ‐ Hyrum 14Th Ward/Hyrum North Stake
Trapper Trails 589
176 S 1300 E
Hyrum, UT 84319


Lds ‐ Hyrum 15Th Ward/Hyrum Stake
Trapper Trails 589
455 E 100 S
Hyrum, UT 84319


Lds ‐ Hyrum 16Th Ward/Hyrum North Stake
Trapper Trails 589
176 S 1300 E
Hyrum, UT 84319
Lds ‐ Hyrum 1St Ward/Hyrum North Stake
Trapper Trails 589
95 N 675 W
Hyrum, UT 84319


Lds ‐ Hyrum 2Nd Ward/Hyrum Stake
Trapper Trails 589
455 E 100 S
Hyrum, UT 84319


Lds ‐ Hyrum 3Rd Ward/Hyrum North Stake
Trapper Trails 589
95 N 675 W
Hyrum, UT 84319


Lds ‐ Hyrum 4Th Ward/Hyrum North Stake
Trapper Trails 589
245 Apple Dr
Hyrum, UT 84319


Lds ‐ Hyrum 5Th Ward/Hyrum North Stake
Trapper Trails 589
245 Apple Dr
Hyrum, UT 84319


Lds ‐ Hyrum 6Th Ward/Hyrum Stake
Trapper Trails 589
455 E 100 S
Hyrum, UT 84319


Lds ‐ Hyrum 7Th Ward/Hyrum North Stake
Trapper Trails 589
245 Apple Dr
Hyrum, UT 84319


Lds ‐ Hyrum 8Th Ward/Hyrum Stake
Trapper Trails 589
600 S 200 E
Hyrum, UT 84319


Lds ‐ Hyrum 9Th Ward/Hyrum Stake
Trapper Trails 589
9060 S 200 W
Paradise, UT 84328


Lds ‐ Imperial Falls Ward ‐ Spring Stake
Sam Houston Area Council 576
3591 Discovery Creek Blvd
Spring, TX 77386


Lds ‐ Imperial Oaks Ward ‐ Spring Stake
Sam Houston Area Council 576
25623 Richards Rd
Spring, TX 77386


Lds ‐ Inman Ward
Palmetto Council 549
5365 Rainbow Lake Rd
Campobello, SC 29322


Lds ‐ Inverness Ward ‐ Tomball Stake
Sam Houston Area Council 576
19920 Champion Forrest Dr
Spring, TX 77379


Lds ‐ Inverness Ward/Syracuse West Stake
Trapper Trails 589
3426 W Augusta
Syracuse, UT 84075


Lds ‐ Irving 1St Ward/ Irving Stake
Circle Ten Council 571
1553 S Story Rd
Irving, TX 75060


Lds ‐ Irving 1St Ward/ Irving Stake
Circle Ten Council 571
1553 S Story Ward
Irving, TX 75060


Lds ‐ Irving 2Nd Ward/Irving Stake
Circle Ten Council 571
2945 S Sunbeck Cir
Farmers Branch, TX 75234
Lds ‐ Irving Stake/ Shady Grove
Circle Ten Council 571
1553 S Story Rd
Irving, TX 75060


Lds ‐ Jackson Ward/Ogden East Stake
Trapper Trails 589
1029 26th St
Ogden, UT 84401


Lds ‐ Jacksonville Beach Ward
North Florida Council 087
440 Penman Rd
Neptune Beach, FL 32266


Lds ‐ Jarrettown 1St Ward
Cradle of Liberty Council 525
1501 Limekiln Pike
Dresher, PA 19025


Lds ‐ Jefferson 1St Ward/Riverdale Stake
Trapper Trails 589
2720 Jefferson Ave
Ogden, UT 84403


Lds ‐ Jefferson 2Nd Ward/Ogden Stake
Trapper Trails 589
1314 27th St
Ogden, UT 84401


Lds ‐ Julington Creek Ward
North Florida Council 087
5490 County Rd 210 W
Saint Johns, FL 32259


Lds ‐ Kanesville Ward/West Haven Stake
Trapper Trails 589
3300 S 4700 W
West Haven, UT 84401
Lds ‐ Katy 1St Ward ‐ Katy Stake
Sam Houston Area Council 576
1928 Drexel Dr
Katy, TX 77493


Lds ‐ Katy 2Nd Ward ‐ Katy Stake
Sam Houston Area Council 576
3634 Brinton Trails Ln
Katy, TX 77494


Lds ‐ Katy Mills Ward ‐ Katy Stake
Sam Houston Area Council 576
1042 Wern Meadows Dr
Katy, TX 77450


Lds ‐ Kaufman Ward/Dallas East Stake
Circle Ten Council 571
8200 Fm 741
Forney, TX 75126


Lds ‐ Kays Creek Ward/Kays Creek Stake
Trapper Trails 589
2435 E 1500 N
Layton, UT 84040


Lds ‐ Kays Ward/Desert Mill Stake
Trapper Trails 589
270 W Burton Lane
Kaysville, UT 84037


Lds ‐ Kaysville 3Rd Ward/Crestwood Stake
Trapper Trails 589
855 E Mutton Hollow Rd
Kaysville, UT 84037


Lds ‐ Kemmerer 1St Ward/Kemmerer Stake
Trapper Trails 589
1584 3rd W Ave
Diamondville, WY 83116


Lds ‐ Kemmerer 2Nd Ward/Kemmerer Stake
Trapper Trails 589
Kemmerer Stake
Kemmerer, WY 83101


Lds ‐ Kemmerer 3Rd Ward/Kemmerer Stake
Trapper Trails 589
1584 3rd W Ave
Diamondville, WY 83116


Lds ‐ Kerman ‐ Fresno West Stake
Sequoia Council 027
15500 W Kearney
Kerman, CA 93630


Lds ‐ Kessler Park Ward/Dallas Stake
Circle Ten Council 571
1415 S Vernon Ave
Dallas, TX 75224


Lds ‐ Kimball Ward/Holmes Creek Stake
Trapper Trails 589
125 Chapel St
Layton, UT 84041


Lds ‐ Kings Canyon ‐ Fresno East Stake
Sequoia Council 027
6641 E Butler Ave
Fresno, CA 93727


Lds ‐ Kingston Ward/Ogden East Stake
Trapper Trails 589
1425 Kingston Dr
Ogden, UT 84403


Lds ‐ Kingwood 1St Ward ‐ Kingwood Stake
Sam Houston Area Council 576
4021 Deerbrook Dr
Kingwood, TX 77339


Lds ‐ Kingwood 2Nd Ward ‐ Kingwood Stake
Sam Houston Area Council 576
4021 Deerbrook Dr
Kingwood, TX 77339
Lds ‐ Kingwood 3Rd Ward ‐ Kingwood Stake
Sam Houston Area Council 576
4021 Deerbrook Dr
Kingwood, TX 77339


Lds ‐ Klein Ward ‐ Klein Stake
Sam Houston Area Council 576
8425 Hidden Trail Ln
Spring, TX 77379


Lds ‐ Kleinwood Ward ‐ Klein Stake
Sam Houston Area Council 576
16535 Kleinwood Dr
Spring, TX 77379


Lds ‐ La Barge Ward/Kemmerer Stake
Trapper Trails 589
304 W Wy Hwy 235
La Barge, WY 83123


Lds ‐ Lake Butler Ward
North Florida Council 087
14970 W Sr 238
Lake Butler, FL 32054


Lds ‐ Lake Jackson ‐ Bay City
Bay Area Council 574
502 Sern Oaks Dr
Lake Jackson, TX 77566


Lds ‐ Lake Jackson ‐ Bay City 2
Bay Area Council 574
502 Sern Oaks Dr
Lake Jackson, TX 77566


Lds ‐ Lake View Ward/Brigham South Stake
Trapper Trails 589
865 S 300 W
Brigham City, UT 84302
Lds ‐ Lake View Ward/Roy Central Stake
Trapper Trails 589
4900 S 2000 W
Roy, UT 84067


Lds ‐ Lakeland Ward/Layton Hills Stake
Trapper Trails 589
2400 N University Park Blvd
Layton, UT 84041


Lds ‐ Lakeshore Ward ‐ Summerwood Stake
Sam Houston Area Council 576
12521 Will Clayton Pkwy
Humble, TX 77346


Lds ‐ Lakeshore Ward/Syracuse West Stake
Trapper Trails 589
1600 S 4500 W
Syracuse, UT 84075


Lds ‐ Laketown Ward/Paris Stake
Trapper Trails 589
115 S 100 E
Laketown, UT 84038


Lds ‐ Lakeview Ward/Hooper Stake
Trapper Trails 589
5253 S 6150 W
Hooper, UT 84315


Lds ‐ Lakeview Ward/Northridge Stake
Trapper Trails 589
2505 N Church St
Layton, UT 84040


Lds ‐ Lakewood Ward ‐ Cypress Stake
Sam Houston Area Council 576
12310 New Hampton Dr
Tomball, TX 77377


Lds ‐ Lakewood Ward/Dallas East Stake
Circle Ten Council 571
5454 Amesbury Dr
1001
Dallas, TX 75206


Lds ‐ Lakewood Ward/Dallas East Stake
Circle Ten Council 571
6250 Mccommas Blvd
Dallas, TX 75214


Lds ‐ Layton 17Th Ward/Layton Stake
Trapper Trails 589
1290 Church St
Layton, UT 84041


Lds ‐ Layton 18Th Ward/Creekside Stake
Trapper Trails 589
1480 W Phillips St
Kaysville, UT 84037


Lds ‐ Layton 28Th Ward/Northridge Stake
Trapper Trails 589
2505 N Church St
Layton, UT 84040


Lds ‐ Layton 31St Ward/Creekside Stake
Trapper Trails 589
1480 Phillips St
Kaysville, UT 84037


Lds ‐ Layton 38Th Ward/Creekside Stake
Trapper Trails 589
725 S 200 E
Layton, UT 84041


Lds ‐ Layton 3Rd Ward/Layton Stake
Trapper Trails 589
1402 N Fort Lane
Layton, UT 84041


Lds ‐ Layton 4Th Ward/Creekside Stake
Trapper Trails 589
1480 Phillips St
Kaysville, UT 84037


Lds ‐ Layton 6Th Ward/Layton Stake
Trapper Trails 589
1402 N Fort Lane
Layton, UT 84041


Lds ‐ Layton 7Th Ward/Creekside Stake
Trapper Trails 589
725 S 200 E
Layton, UT 84041


Lds ‐ Layton Park Ward/Valley View Stake
Trapper Trails 589
789 E Wasatch Dr
Layton, UT 84041


Lds ‐ League City ‐ Friendswood
Bay Area Council 574
4511 Brookstone Ln
League City, TX 77573


Lds ‐ Legacy Park Ward/Legacy Park Stake
Trapper Trails 589
2024 S 1475 W
Syracuse, UT 84075


Lds ‐ Legends Ward ‐ Spring Stake
Sam Houston Area Council 576
25623 Richards Rd
Spring, TX 77386


Lds ‐ Lemoore ‐ Hanford Stake
Sequoia Council 027
800 E Hanford Armona Rd
Lemoore, CA 93245


Lds ‐ Lewiston 1St Ward/Richmond Stake
Trapper Trails 589
836 Preston Ave
Lewiston, UT 83501
Lds ‐ Lewiston 2Nd Ward/Richmond Stake
Trapper Trails 589
3810 16th St
Lewiston, UT 83501


Lds ‐ Lewiston 3Rd Ward/Richmond Stake
Trapper Trails 589
16 S Main
Lewiston, UT 84320


Lds ‐ Lewiston 4Th Ward/Richmond Stake
Trapper Trails 589
16 S Main St
Lewiston, UT 84320


Lds ‐ Liberty 1St Ward/Huntsville Stake
Trapper Trails 589
4279 N 3300 E
Liberty, UT 84310


Lds ‐ Liberty 2Nd Ward/Huntsville Stake
Trapper Trails 589
4279 N 3300 E
Liberty, UT 84310


Lds ‐ Liberty Park Ward/Ogden Stake
Trapper Trails 589
1050 E 21st St
Ogden, UT 84401


Lds ‐ Liberty Ward/Paris Stake
Trapper Trails 589
29 Church Rd
Liberty, ID 83254


Lds ‐ Lincoln Ward/Layton Hills Stake
Trapper Trails 589
590 W 2000 N
Layton, UT 84041


Lds ‐ Lindsay ‐ Porterville Stake
Sequoia Council 027
516 Mountain View Dr
Lindsay, CA 93247


Lds ‐ Linrose Ward/Preston South Stake
Trapper Trails 589
825 N Wside Hwy
Preston S Stake
Dayton, ID 83232


Lds ‐ Linton Ward ‐ Bloomington
Hoosier Trails Council 145 145
1475 W Lone Tree Rd
Linton, IN 47441


Lds ‐ Live Oak Ward
North Florida Council 087
5659 185th Rd
Live Oak, FL 32060


Lds ‐ Logan 12Th Ward/Logan Stake
Trapper Trails 589
910 Three Point Ave
Logan, UT 84321


Lds ‐ Logan 15Th Ward/Cache West Stake
Trapper Trails 589
125 W 600 N
Logan, UT 84321


Lds ‐ Logan 16Th Ward/Cache West Stake
Trapper Trails 589
125 W 600 N
Logan, UT 84321


Lds ‐ Logan 17Th Ward/Cache West Stake
Trapper Trails 589
440 W 550 N
Logan, UT 84321


Lds ‐ Logan 1St Ward/Cache West
Trapper Trails 589
89 S 200 W
Logan, UT 84321


Lds ‐ Logan 2Nd Ward/Cache West Stake
Trapper Trails 589
89 S 200 W
Logan, UT 84321


Lds ‐ Logan 3Rd Ward/Cache West
Trapper Trails 589
250 N 400 W
Cache W Stake
Logan, UT 84321


Lds ‐ Logan 4Th Ward/Cache Stake
Trapper Trails 589
294 N 100 E
Logan, UT 84321


Lds ‐ Logan 5Th Ward/Logan Central Stake
Trapper Trails 589
502 E 300 N
Logan, UT 84321


Lds ‐ Logan 9Th Ward/Cache Stake
Trapper Trails 589
125 E 500 N
Logan, UT 84321


Lds ‐ Logan River 4Th Ward/Logan Stake
Trapper Trails 589
993 W 100 S
Logan, UT 84321


Lds ‐ Logan River 5Th Ward/Logan Stake
Trapper Trails 589
502 E 300 N
Logan, UT 84321


Lds ‐ Longwood Ward ‐ Cypress Stake
Sam Houston Area Council 576
12310 New Hampton Dr
Tomball, TX 77377


Lds ‐ Lyman 1St Ward/Lyman Stake
Trapper Trails 589
127 N Main
Lyman, WY 82937


Lds ‐ Lyman 2Nd Ward/Lyman Stake
Trapper Trails 589
127 N Main St
Lyman, WY 82937


Lds ‐ Lyman 3Rd Ward/Lyman Stake
Trapper Trails 589
127 N Main St
Lyman, WY 82937


Lds ‐ Lyman 4Th Ward/Lyman Stake
Trapper Trails 589
3815 N Hwy 414
Lyman, WY 82937


Lds ‐ Macclenny Ward
North Florida Council 087
904 S 5th St
Macclenny, FL 32063


Lds ‐ Madera 1St ‐ Fresno West Stake
Sequoia Council 027
2112 Sunset Ave
Madera, CA 93637


Lds ‐ Madera 2Nd ‐ Fresno West Stake
Sequoia Council 027
2112 Sunset
2112 Sunset Ave
Madera, CA 93637


Lds ‐ Madera 2Nd ‐ Fresno West Stake
Sequoia Council 027
2112 Sunset
Madera, CA 93637
Lds ‐ Magnolia 1St Ward ‐ Klein Stake
Sam Houston Area Council 576
25822 Bridle Fls
Magnolia, TX 77355


Lds ‐ Malans Peak Ward/Ogden Stake
Trapper Trails 589
1643 26th St
Ogden, UT 84401


Lds ‐ Mandarin 1St Ward
North Florida Council 087
11951 Old Saint Augustine Rd
Jacksonville, FL 32258


Lds ‐ Mandarin 2Nd Ward
North Florida Council 087
11951 Old Saint Augustine Rd
Jacksonville, FL 32258


Lds ‐ Manila Ward/Green River Stake
Trapper Trails 589, 1st N 1st W
Manila, UT 84046


Lds ‐ Mantua 1St Ward/Box Elder Stake
Trapper Trails 589
237 Willard Peak Rd
Mantua, UT 84324


Lds ‐ Mantua 2Nd Ward/Box Elder Stake
Trapper Trails 589
237 Willard Peak Rd
Mantua, UT 84324


Lds ‐ Maple Way Ward/Holmes Creek Stake
Trapper Trails 589
380 S Fairfield Rd
Layton, UT 84041


Lds ‐ Mapleton Ward/Franklin Stake
Trapper Trails 589
5307 E Cub River Rd
Preston, ID 83263


Lds ‐ Maplewood Ward/Legacy Park Stake
Trapper Trails 589
2024 S 1475 W
Syracuse, UT 84075


Lds ‐ Marianna
Alabama‐Florida Council 003
3141 College St
Marianna, FL 32446


Lds ‐ Marion Ward ‐ Kingsport Stake
Blue Ridge Mtns Council 599
156 Water Mill Rd
Marion, VA 24354


Lds ‐ Martinsville Ward ‐ Roanoke Stake
Blue Ridge Mtns Council 599
25 Riverside Dr
Bassett, VA 24055


Lds ‐ Mcallen I
Rio Grande Council 775
1700 Ulex Ave
Mcallen, TX 78504


Lds ‐ Mckinley ‐ Fresno East Stake
Sequoia Council 027
6641 E Butler
Fresno, CA 93727


Lds ‐ Mckinney 1St Ward/Mckinney Stake
Circle Ten Council 571
1020 N Lake Forest Dr
Mc Kinney, TX 75071


Lds ‐ Mckinney 2Nd Ward/Mckinney Stake
Circle Ten Council 571
2801 W Eldorado Pkwy
Mc Kinney, TX 75070


Lds ‐ Mckinney 3Rd Ward/Mckinney Stake
Circle Ten Council 571
2801 El Dorado Pkwy
Mckinney, TX 75070


Lds ‐ Mckinney 4Th Ward/Mckinney Stake
Circle Ten Council 571
1020 N Lake Forest Dr
Mckinney, TX 75071


Lds ‐ Mckinney 5Th Ward/Mckinney Stake
Circle Ten Council 571
1020 N Lake Forest Dr
Mckinney, TX 75071


Lds ‐ Mckinney 7Th Ward / Mckinney Stake
Circle Ten Council 571
2801 W Eldorado Pkwy
Mckinney, TX 75070


Lds ‐ Mckinney 8Th Ward/Mckinney Stake
Circle Ten Council 571
2910 Hardin Blvd
Mckinney, TX 75071


Lds ‐ Meadow Lane Ward/Providence Stake
Trapper Trails 589
485 W 200 S
Providence Stake
Providence, UT 84332


Lds ‐ Meadow View Ward/North Logan Stake
Trapper Trails 589
2540 N 400 E
N Logan, UT 84341


Lds ‐ Meadowbrook Ward/Logan Stake
Trapper Trails 589
1078 S 900 W
Logan, UT 84321
Lds ‐ Meadowbrook Ward/Mound Fort Stake
Trapper Trails 589
373 15th St
Ogden, UT 84404


Lds ‐ Meadows 1St Ward/Cache Stake
Trapper Trails 589
1585 N 400 W
Logan, UT 84321


Lds ‐ Meadows Ward/Weber Stake
Trapper Trails 589
5855 Skyline Dr
Ogden, UT 84403


Lds ‐ Melissa 1St Ward/Sherman Stake
Circle Ten Council 571
737 E Melissa Rd
Melissa, TX 75454


Lds ‐ Melissa 2Nd Ward/Sherman Stake
Circle Ten Council 571
737 E Melissa Rd
Melissa, TX 75454


Lds ‐ Memorial Ward ‐ Richmond Stake
Sam Houston Area Council 576
14694 Perthshire Rd, Apt F
Houston, TX 77079


Lds ‐ Mendon 1St Ward/Mendon Stake
Trapper Trails 589
547 N 220 E
Mendon, UT 84325


Lds ‐ Mendon 3Rd Ward/Mendon Stake
Trapper Trails 589
460 S 100 E
Mendon, UT 84325
Lds ‐ Mendon 4Th Ward/Mendon Stake
Trapper Trails 589
P.O. Box 333
Mendon, UT 84325


Lds ‐ Mercedes Ward LDS Church
Rio Grande Council 775
210 S Wgate Dr
Weslaco, TX 78596


Lds ‐ Mesquite Ward/Dallas East Stake
Circle Ten Council 571
2801 Skyline Dr
Mesquite, TX 75149


Lds ‐ Miamisburg Ward‐Dayton,Oh
Miami Valley Council, Bsa 444
901 E Whipp Rd
Dayton, OH 45459


Lds ‐ Middle Fork Ward/Huntsville Stake
Trapper Trails 589
6500 E 1900 N
Eden, UT 84310


Lds ‐ Middleburg Ward
North Florida Council 087
4342 County Rd 218
Middleburg, FL 32068


Lds ‐ Midland 2Nd Ward/Roy Midland Stake
Trapper Trails 589
3776 W 5375 S
Roy, UT 84067


Lds ‐ Midland Farms Ward/Roy North Stake
Trapper Trails 589
3845 S 2000 W
Roy, UT 84067


Lds ‐ Mill Creek Ward/Mound Fort Stake
Trapper Trails 589
250 N 1500 W
Ogden, UT 84404


Lds ‐ Millcreek Youth Center
Trapper Trails 589
790 W 12th St
Ogden, UT 84404


Lds ‐ Mills Branch Ward
Sam Houston Area Council 576
4021 Deerbrook Dr
Kingwood, TX 77339


Lds ‐ Milton Ward/Morgan West Stake
Trapper Trails 589
1255 N Morgan Valley Dr
Morgan, UT 84050


Lds ‐ Milwaukee Stake ‐ Elkhorn Ward
Glaciers Edge Council 620
W3799 State Rd 50
Lake Geneva, WI 53147


Lds ‐ Mission 1St Ward
Rio Grande Council 775
5601 N 29th St
Mcallen, TX 78504


Lds ‐ Mission Ii
Rio Grande Council 775
3107 N Bryan Rd
Mission, TX 78574


Lds ‐ Mobile Ward ‐ Mobile Stake
Mobile Area Council‐Bsa 004
5520 Zeigler Blvd
Mobile, AL 36608


Lds ‐ Montgomery Ward ‐ Spring Stake
Sam Houston Area Council 576
1516 Wilson Rd
Conroe, TX 77304
Lds ‐ Morgan 10Th Ward/Morgan Stake
Trapper Trails 589
10 W Young St
Morgan, UT 84050


Lds ‐ Morgan 11Th Ward/Morgan Stake
Trapper Trails 589
355 N 700 E
Morgan, UT 84050


Lds ‐ Morgan 12Th Ward/Morgan Stake
Trapper Trails 589
10 W Young St
Morgan, UT 84050


Lds ‐ Morgan 1St Ward/Morgan Stake
Trapper Trails 589
355 N 700 E
Morgan, UT 84050


Lds ‐ Morgan 2Nd Ward/Morgan Stake
Trapper Trails 589
240 Field St
Morgan, UT 84050


Lds ‐ Morgan 3Rd Ward/Morgan Stake
Trapper Trails 589
10 W Young St
Morgan, UT 84050


Lds ‐ Morgan 5Th Ward/Morgan Stake
Trapper Trails 589
2700 S Morgan Valley Dr
Morgan, UT 84050


Lds ‐ Morgan 7Th Ward/Morgan Stake
Trapper Trails 589
240 S Field St
Morgan, UT 84050
Lds ‐ Morgan 9Th Ward/Morgan Stake
Trapper Trails 589
240 S Field St
Morgan, UT 84050


Lds ‐ Mound Fort Ward/Mound Fort Stake
Trapper Trails 589
952 Childs Ave
Ogden, UT 84404


Lds ‐ Mount Ogden Ward/Ogden East Stake
Trapper Trails 589
1314 27th St
Ogden, UT 84403


Lds ‐ Mountain Creek Ward/Dallas Stake
Circle Ten Council 571
1019 Big Stone Gap Rd
Duncanville, TX 75137


Lds ‐ Mountain Creek Ward/Dallas Stake
Circle Ten Council 571
1910 Big Stone Gap
Duncanville, TX 75137


Lds ‐ Mountain View 1St Ward/Lyman Stake
Trapper Trails 589
116 4th St
Mountain View, WY 82939


Lds ‐ Mountain View 2Nd Ward/Lyman Stake
Trapper Trails 589
116 4th St
Mountain View, WY 82939


Lds ‐ Mountain View 3Rd Ward/Lyman Stake
Trapper Trails 589
3815 N Hwy 414
Lyman, WY 82937


Lds ‐ Mountain Ward/Coldwater Stake
Trapper Trails 589
787 E 1700 N
North Ogden, UT 84414


Lds ‐ Ms / Brandermill Ward
Heart of Virginia Council 602
4601 N Bailey Bridge Rd
Midlothian, VA 23112


Lds ‐ Ms / Cloverhill Ward
Heart of Virginia Council 602
4601 N Bailey Bridge Rd
Midlothian, VA 23112


Lds ‐ Mt Pleasant Ward/Gilmer Stake
Circle Ten Council 571
2801 W Ferguson
Mount Pleasant, TX 75455


Lds ‐ Mt View ‐ Fresno North Stake
Sequoia Council 027
220 N Peach Ave
Clovis, CA 93612


Lds ‐ Municipal Park Ward/Roy Stake
Trapper Trails 589
5930 S 2200 W
Roy, UT 84067


Lds ‐ Nauvoo 3Rd Ward ‐ Nauvoo Stake
Mississippi Valley Council 141 141
380 N Durphy St
Nauvoo, IL 62354


Lds ‐ Nauvoo Stake ‐ Keokuk Branch
Mississippi Valley Council 141 141
3238 Brookshire Dr
Keokuk, IA 52632


Lds ‐ Nauvoo Ward ‐ Nauvoo Stake
Mississippi Valley Council 141 141
P.O. Box 454
Nauvoo, IL 62354
Lds ‐ Nauvoo Ward ‐ Nauvoo Stake
Mississippi Valley Council 141 141
P.O. Box 66
Nauvoo, IL 62354


Lds ‐ Newport
Katahdin Area Council 216
59 Libby Hill Rd
Newport, ME 04953


Lds ‐ Newton 1St Ward/Benson Stake
Trapper Trails 589
76 S 100 W
Newton, UT 84327


Lds ‐ Newton 2Nd Ward/Benson Stake
Trapper Trails 589
76 S 100 W
Newton, UT 84327


Lds ‐ Nibley 10Th Ward/Nibley Stake
Trapper Trails 589
2825 S 1000 W
Nibley Stake
Nibley, UT 84321


Lds ‐ Nibley 11Th Ward/Nibley Stake
Trapper Trails 589
130 W 2600 S
Nibley, UT 84321


Lds ‐ Nibley 12Th Ward/Nibley Stake
Trapper Trails 589
3107 S 450 W
Nibley, UT 84321


Lds ‐ Nibley 1St Ward/Nibley Stake
Trapper Trails 589
3701 S 450 W
Nibley, UT 84321
Lds ‐ Nibley 2Nd Ward/Nibley Stake
Trapper Trails 589
130 W 2600 S
Nibley, UT 84321


Lds ‐ Nibley 3Rd Ward/Nibley Stake
Trapper Trails 589
3701 S 450 W
Nibley, UT 84321


Lds ‐ Nibley 4Th Ward/Niblely Stake
Trapper Trails 589
360 W 3200 S
Nibley, UT 84321


Lds ‐ Nibley 5Th Ward/Nibley Stake
Trapper Trails 589
3701 S 450 W
Nibley, UT 84321


Lds ‐ Nibley 6Th Ward/Nibley Stake
Trapper Trails 589
360 W 3200 S
Nibley, UT 84321


Lds ‐ Nibley 7Th Ward/Nibley Stake
Trapper Trails 589
450 W 3701 S
Nibley, UT 84321


Lds ‐ Nibley 8Th Ward/Nibley Stake
Trapper Trails 589
2825 S 1000 W
Nibley, UT 84321


Lds ‐ Nibley 9Th Ward/Nibley Stake
Trapper Trails 589
2600 S 130 W
Logan, UT 84321


Lds ‐ Normandy Ward
North Florida Council 087
5100 Firestone Rd
Jacksonville, FL 32210


Lds ‐ North Fork Ward/Huntsville Stake
Trapper Trails 589
4279 N 3300 E
Liberty, UT 84310


Lds ‐ North Mankato
Twin Valley Council Bsa 283
1851 Marie Ln
North Mankato, MN 56003


Lds ‐ North Park Ward/Layton Stake
Trapper Trails 589
202 W 1675 N
Layton, UT 84041


Lds ‐ North Park Ward/North Logan Stake
Trapper Trails 589
North Logan Stake
North Logan, UT 84341


Lds ‐ North Park Ward/Roy North Stake
Trapper Trails 589
2175 W 4250 S
Roy, UT 84067


Lds ‐ Northwood Ward/Central Stake
Trapper Trails 589
125 E 500 N
Logan, UT 84321


Lds ‐ Oak Brook Ward/Logan Stake
Trapper Trails 589
645 Trail Cir
Logan, UT 84321


Lds ‐ Oak Cliff 1St Ward/Dallas Stake
Circle Ten Council 571
1415 S Vernon Ave
Dallas, TX 75224


Lds ‐ Oak Forest Ward/Layton North Stake
Trapper Trails 589
2250 E 2200 N
Layton, UT 84040


Lds ‐ Oak Hollow Ward/Haight Creek Stake
Trapper Trails 589
1520 Fox Pointe Dr
Kaysville, UT 84037


Lds ‐ Oak Lane Ward/Kays Creek Stake
Trapper Trails 589
2680 E Cherry Lane
Layton, UT 84040


Lds ‐ Oak Ridge Ward ‐ Spring Stake
Sam Houston Area Council 576
25623 Richards Rd
Spring, TX 77386


Lds ‐ Oak Ridge Ward/Layton North Stake
Trapper Trails 589
2250 E 2200 N
Layton, UT 84040


Lds ‐ Oak Woods Ward/Crestwood Stake
Trapper Trails 589
Crestwood Stake
Kaysville, UT 84037


Lds ‐ Oakhills Ward/Valley View Stake
Trapper Trails 589
1410 E Gentile St
Layton, UT 84040


Lds ‐ Oakhurst Ward ‐ Kingwood Stake
Sam Houston Area Council 576
4021 Deerbrook Dr
Kingwood, TX 77339
Lds ‐ Oakleaf Ward
North Florida Council 087
461 Blanding Blvd
Orange Park, FL 32073


Lds ‐ Ocala 1St Ward
North Florida Council 087
1831 SE 18th Ave
Ocala, FL 34471


Lds ‐ Ocala 2Nd Ward
North Florida Council 087
1832 SE 18th Ave
Ocala, FL 34471


Lds ‐ Ogden 49Th Ward
Trapper Trails 589
4210 S 300 W
Riverdale, UT 84405


Lds ‐ Ogden 4Th Ward/Ogden Stake
Trapper Trails 589
2115 Jefferson Ave
Ogden, UT 84401


Lds ‐ Ogden River Ward/Mound Fort Stake
Trapper Trails 589
373 15th St
Ogden, UT 84404


Lds ‐ Old Farm Ward/Kaysville Stake
Trapper Trails 589
235 N Bonneville Lane
Kaysville, UT 84037


Lds ‐ Old Mill Ward/Deseret Mill Stake
Trapper Trails 589
925 Deseret Dr
Kaysville, UT 84037


Lds ‐ Old Post Ward/Weber Heights Stake
Trapper Trails 589
5191 Old Post Rd
Ogden, UT 84403


Lds ‐ Orange Park 1St Ward
North Florida Council 087
461 Blanding Blvd
Orange Park, FL 32073


Lds ‐ Orangeburg Ward
Indian Waters Council 553
2740 Broughton St
Orangeburg, SC 29115


Lds ‐ Orchard View ‐ Fresno North Stake
Sequoia Council 027
Peach Nees
Clovis, CA 93611


Lds ‐ Overland Ward/Rock Springs Stake
Trapper Trails 589
3315 White Mountain Blvd
Rock Springs, WY 82901


Lds ‐ Painted Post
Five Rivers Council, Inc 375
9666 Chatfield Pl
Painted Post, NY 14870


Lds ‐ Palatka 1St Ward
North Florida Council 087
1414 Husson Ave
Palatka, FL 32177


Lds ‐ Palatka 2Nd Ward
North Florida Council 087
1414 Husson Ave
Palatka, FL 32177


Lds ‐ Palm Harbor Ward ‐ St Pete Stake
Greater Tampa Bay Area 089
3303 Belcher Rd
Palm Harbor, FL 34683


Lds ‐ Paradise 1St Ward/Hyrum Stake
Trapper Trails 589
155 E 9400 S
Paradise, UT 84328


Lds ‐ Paradise 2Nd Ward/Hyrum Stake
Trapper Trails 589
P.O. Box 427
Hyrum Stake
Paradise, UT 84328


Lds ‐ Paradise 3Rd Ward/Hyrum Stake
Trapper Trails 589
9060 S 200 W
Paradise, UT 84328


Lds ‐ Paradise 4Th Ward/Hyrum Stake
Trapper Trails 589
155 E 9400 S
Paradise, UT 84328


Lds ‐ Paradise Acres/Rock Cliff Stake
Trapper Trails 589
236 Porter Ave
Ogden, UT 84404


Lds ‐ Paris Ward/Gilmer Stake
Circle Ten Council 571
3060 Pine Mill Rd
Paris, TX 75460


Lds ‐ Park Avenue Ward/Logan Stake
Trapper Trails 589
940 Three Point Ave
Logan, UT 84321


Lds ‐ Park Valley Ward/Garland Stake
Trapper Trails 589
54080 W 17600 N
Park Valley, UT 84329
Lds ‐ Park Ward/Creekside Stake
Trapper Trails 589
275 Park St
Layton, UT 84041


Lds ‐ Park Ward/Hooper Stake
Trapper Trails 589
6138 W 5700 S
Hooper, UT 84315


Lds ‐ Park West Ward/Layton West Stake
Trapper Trails 589
1715 W 1600 N
Layton, UT 84041


Lds ‐ Parkway Ward ‐ Tomball Stake
Sam Houston Area Council 576
9203 Barnsford Ln
Tomball, TX 77375


Lds ‐ Peacefield Ward/Valley View Stake
Trapper Trails 589
1589 E Gentile St
Layton, UT 84040


Lds ‐ Peachwood ‐ Fresno North Stake
Sequoia Council 027
478 W Birch Ave
Clovis, CA 93611


Lds ‐ Pearland ‐ Friendswood
Bay Area Council 574
3311 Sfork Dr
Pearland, TX 77584


Lds ‐ Perry 1St Ward/Perry Stake
Trapper Trails 589
1290 W 2950 S
Perry, UT 84302
Lds ‐ Perry 2Nd Ward/Perry Stake
Trapper Trails 589
2415 S Park Dr
Perry, UT 84302


Lds ‐ Perry 3Rd Ward/Willard Stake
Trapper Trails 589
1290 W 2950 S
Perry, UT 84302


Lds ‐ Perry 4Th Ward/Perry Stake
Trapper Trails 589
685 W 2250 S
Perry, UT 84302


Lds ‐ Perry 5Th Ward/Perry Stake
Trapper Trails 589
2415 S Park Dr
Perry Church
Perry, UT 84302


Lds ‐ Perry 6Th Ward/Perry Stake
Trapper Trails 589
1290 W 2950 S
Perry, UT 84302


Lds ‐ Perry 7Th Ward/Perry Stake
Trapper Trails 589
2415 S Park Dr
Perry, UT 84302


Lds ‐ Perry 8Th Ward/Perry Stake
Trapper Trails 589
685 W 2250 S
Perry, UT 84302


Lds ‐ Perry 9Th Ward/Perry Stake
Trapper Trails 589
118 Chateau Dr
Perry Stake
Perry, UT 84302
Lds ‐ Petersboro Ward/Mendon Stake
Trapper Trails 589
20 N 100 W
Mendon, UT 84325


Lds ‐ Peterson Ward/Morgan West Stake
Trapper Trails 589
2755 W Old Hwy Rd
Morgan, UT 84050


Lds ‐ Pheasant Run Ward/Roy West Stake
Trapper Trails 589
5080 S 3100 W
Roy, UT 84067


Lds ‐ Phenix City Ward
Attn Chris Zeh
Chattahoochee Council 091
20 Elm Ct
Smiths Station, AL 36877


Lds ‐ Pine Mountain
Chattahoochee Council 091
550 S St
Pine Mountain Valley, GA 31823


Lds ‐ Pioneer Park ‐ Fresno North Stake
Sequoia Council 027
524 W Gettysburg Ave
Clovis, CA 93612


Lds ‐ Pioneer Ward/ Irving Stake
Circle Ten Council 571
1553 S Story Rd
Irving, TX 75060


Lds ‐ Pioneer Ward/Mound Fort Stake
Trapper Trails 589
250 N 1500 W
Ogden, UT 84404


Lds ‐ Pioneer Ward/South Weber Stake
Trapper Trails 589
6660 S 1775 E
Ogden, UT 84405


Lds ‐ Plano 10Th Ward/Plano Stake
Circle Ten Council 571
3401 Los Rios Blvd
Plano, TX 75074


Lds ‐ Plano 1St Ward/Plano Stake
Circle Ten Council 571
2700 Roundrock Trl
Plano, TX 75075


Lds ‐ Plano 2Nd Ward/Plano Stake
Circle Ten Council 571
2700 Roundrock Trl
Plano, TX 75075


Lds ‐ Plano 4Th Ward/Plano Stake
Circle Ten Council 571
2401 Legacy Dr
Plano, TX 75023


Lds ‐ Plano 5Th Ward/Plano Stake
Circle Ten Council 571
3401 Los Rios Blvd
Plano, TX 75074


Lds ‐ Plano 6Th Ward/Plano Stake
c/o Bishop Curt Shill
Circle Ten Council 571
1700 Craig Dr
Plano, TX 75023


Lds ‐ Plano 7Th Ward/Plano Stake
Circle Ten Council 571
3401 Los Rios Blvd
Plano, TX 75074


Lds ‐ Plano 8Th Ward/Plano Stake
Circle Ten Council 571
2444 Deer Horn Dr
Plano, TX 75025


Lds ‐ Plano 9Th Ward/Plano Stake
Circle Ten Council 571
6454 W Plano Pkwy
Plano, TX 75093


Lds ‐ Pleasant View 10Th Ward
Trapper Trails 589
3602 N 500 W
Pleasant View, UT 84414


Lds ‐ Portage Ward/Fielding Stake
Trapper Trails 589
8765 Wild Rose Ln
Portage, UT 84331


Lds ‐ Porterville/Morgan West
Trapper Trails 589
2700 S Morgan Valley Dr
Morgan, UT 84050


Lds ‐ Powell Valley Ward
Sequoyah Council 713
Middle School Rd
Big Stone Gap, VA 24219


Lds ‐ Preston 1St Ward/Franklin Stake
Trapper Trails 589
213 S 2nd E
Preston, ID 83263


Lds ‐ Preston 5Th Ward/Franklin Stake
Trapper Trails 589
213 S 2nd E
Preston, ID 83263


Lds ‐ Preston 8Th Ward/Franklin Stake
Trapper Trails 589
213 S 2nd E
Preston, ID 83263
Lds ‐ Price Creek Ward
North Florida Council 087
909 SE Country Club Rd
Lake City, FL 32025


Lds ‐ Quincy Ward 1 ‐ Nauvoo Stake
Mississippi Valley Council 141 141
210 Cardinal Ter
Quincy, IL 62305


Lds ‐ Quitman Ward
East Texas Area Council 585
1128 E Goode St
E. Sh 154
Quitman, TX 75783


Lds ‐ Radford Ward ‐ Pembroke Stake
Blue Ridge Mtns Council 599
900 Pendleton St
Radford, VA 24141


Lds ‐ Raleigh ‐ Falls Lake Ward
Occoneechee 421
1524 Jenkins Rd
Wake Forest, NC 27587


Lds ‐ Raleigh ‐ Henderson Ward
Occoneechee 421
1615 Graham Ave
Henderson, NC 27536


Lds ‐ Raleigh ‐ Raleigh 1St Ward
Occoneechee 421
5060 Six Forks Rd
Raleigh, NC 27609


Lds ‐ Raleigh ‐ Raleigh 2Nd Ward
Occoneechee 421
5060 Six Forks Rd
Raleigh, NC 27609
Lds ‐ Raleigh ‐ Raleigh 4Th Ward
Occoneechee 421
7312 Forestville Rd
Knightdale, NC 27545


Lds ‐ Raleigh ‐ Wake Forest 2Nd Ward
Occoneechee 421
1524 Jenkins Rd
Wake Forest, NC 27587


Lds ‐ Raleigh ‐ Wake Forest Ward
Occoneechee 421
1524 Jenkins Rd
Wake Forest, NC 27587


Lds ‐ Raleigh South ‐ Fuquay Varina Ward
Occoneechee 421
6528 Johnson Pond Rd
Fuquay Varina, NC 27526


Lds ‐ Raleigh South ‐ Garner Ward
Occoneechee 421
1433 Aversboro Rd
Garner, NC 27529


Lds ‐ Raleigh South ‐ Harris Lake Ward
Occoneechee 421
6528 Johnson Pond Rd
Fuquay Varina, NC 27526


Lds ‐ Raleigh South ‐ Holly Springs Ward
Occoneechee 421
574 Bryan Dr
Apex, NC 27502


Lds ‐ Raleigh South ‐ Knightdale Ward
Occoneechee 421
7312 Forestville Rd
Knightdale, NC 27545


Lds ‐ Raleigh South ‐ Knightdale Ward
Occoneechee 421
7312 Forestville Rd
Knightdale, NC 27597


Lds ‐ Raleigh South ‐ Lake Wheeler
Occoneechee 421
1433 Aversboro Rd
Garner, NC 27529


Lds ‐ Raleigh South ‐ Sunset Lake Ward
Occoneechee 421
1411 New Moon Ct
Fuquay Varina, NC 27526


Lds ‐ Raleigh South ‐ Swift Creek Ward
Occoneechee 421
6528 Johnson Pond Rd
Fuquay Varina, NC 27526


Lds ‐ Raleigh South ‐ Zebulon Ward
Occoneechee 421
1300 Jones St Ne
Zebulon, NC 27597


Lds ‐ Randolph 1St Ward/Kemmerer Stake
Trapper Trails 589
15 S Main St
Randolph, UT 84064


Lds ‐ Randolph 2Nd Ward/Kemmerer Stake
Trapper Trails 589
15 S Main St
Randolph, UT 84064


Lds ‐ Redbank ‐ Fresno East Stake
Sequoia Council 027
1880 Gettysburg Ave
Clovis, CA 93611


Lds ‐ Richmond 1St Ward ‐ Richmond Stake
Sam Houston Area Council 576
9950 S Mason Rd
Richmond, TX 77406


Lds ‐ Richmond 1St Ward/Richmond Stake
Trapper Trails 589
135 W Main St
Richmond, UT 84333


Lds ‐ Richmond 2Nd Ward ‐ Richmond Stake
Sam Houston Area Council 576
9950 S Mason Rd
Richmond, TX 77406


Lds ‐ Richmond 2Nd Ward/Richmond Stake
Trapper Trails 589
150 S 100 E
Richmond, UT 84333


Lds ‐ Richmond 3Rd Ward/Richmond Stake
Trapper Trails 589
135 W Main St
Richmond, UT 84333


Lds ‐ Richmond 4Th Ward/Richmond Stake
Trapper Trails 589
150 S 100 E
Richmond, UT 84333


Lds ‐ Ridge Crest Ward/Northridge Stake
Trapper Trails 589
2375 E 3225 N
Layton, UT 84040


Lds ‐ River Parkway Ward/Ogden Stake
Trapper Trails 589
1050 21st St
Ogden, UT 84401


Lds ‐ Rivercrest Ward
Chattahoochee Council 091
3007 Howard Ave
Columbus, GA 31904
Lds ‐ Riverdale 1St Ward/Riverdale Stake
Trapper Trails 589
1056 W 4400 S
Riverdale, UT 84405


Lds ‐ Riverdale 2Nd Ward/Riverdale Stake
Trapper Trails 589
5500 S 1175 W
Riverdale, UT 84405


Lds ‐ Riverdale 4Th Ward/Riverdale Stake
Trapper Trails 589
5500 S 1175 W
Riverdale, UT 84405


Lds ‐ Riverdale 5Th Ward/Riverdale Stake
Trapper Trails 589
4000 Parker Dr
Riverdale, UT 84405


Lds ‐ Riverdale 6Th Ward/Riverdale Stake
Trapper Trails 589
4000 S Parker Way
Riverdale, UT 84405


Lds ‐ Riverdale 7Th Ward/Riverdale Stake
Trapper Trails 589
1056 W 4400 S
Riverdale, UT 84405


Lds ‐ Riverdale 8Th Ward/Riverdale Stake
Trapper Trails 589
4000 S Parker Dr
Riverdale, UT 84405


Lds ‐ Riverside ‐ Fresno West Stake
Sequoia Council 027
5025 W Ashlan Ave
Fresno, CA 93722


Lds ‐ Riverside Ward/Mt Logan Stake
Trapper Trails 589
325 Lauralin Dr
Logan, UT 84321


Lds ‐ Riverside Ward/Plain City Stake
Trapper Trails 589
4575 W 2125 N
Plain City, UT 84404


Lds ‐ Riverview ‐ Fresno Stake
Sequoia Council 027
5685 N Cedar Ave
Fresno, CA 93710


Lds ‐ Riverview Ward/Tremonton Stake
c/o Shawn Lish
Trapper Trails 589
482 N 1600 E
Tremonton, UT 84337


Lds ‐ Roanoke Ward 1 ‐ Roanoke Stake
Blue Ridge Mtns Council 599
6311 Wayburn Dr
Salem, VA 24153


Lds ‐ Robins Park Ward/Layton Stake
Trapper Trails 589
60 W Gordon Ave
Layton, UT 84041


Lds ‐ Rockwall Ward/Heath Stake
Circle Ten Council 571
6819 S Fm 549
Rockwall, TX 75032


Lds ‐ Rocky Mount Ward ‐ Roanoke Stake
Blue Ridge Mtns Council 599
755 Gills Creek Ln
Hardy, VA 24101


Lds ‐ Rose Wood Ward/West Haven Stake
Trapper Trails 589
3628 S 2700 W
West Haven, UT 84401


Lds ‐ Rosehill Ward/Morgan North Stake
Trapper Trails 589
4150 W Old Hwy Rd
Mountain Green, UT 84050


Lds ‐ Rosenberg Ward ‐ Richmond Stake
Sam Houston Area Council 576
139 Pecan Park Dr
Rosenberg, TX 77471


Lds ‐ Rosewood Ward/Holmes Creek Stake
Trapper Trails 589
125 Chapel St
Layton, UT 84041


Lds ‐ Rowlett 1St Ward/Heath Stake
Circle Ten Council 571
8201 Garner Rd
Rowlett, TX 75088


Lds ‐ Rowlett 2Nd Ward/Heath Stake
Circle Ten Council 571
8201 Garner Rd
Rowlett, TX 75088


Lds ‐ Rowlett 3Rd Ward/Heath Stake
Circle Ten Council 571
8201 Garner Rd
Rowlett, TX 75088


Lds ‐ Roy 10Th Ward/Roy South Stake
Trapper Trails 589
5900 S 3100 W
Roy, UT 84067


Lds ‐ Roy 11Th Ward/Roy North Stake
Trapper Trails 589
4250 S 2175 W
Roy, UT 84067
Lds ‐ Roy 12Th Ward/Roy Central Stake
Trapper Trails 589
4524 S 2525 W
Roy, UT 84067


Lds ‐ Roy 13Th Ward/Roy Stake
Trapper Trails 589
5127 S 2400 W
Roy, UT 84067


Lds ‐ Roy 14Th Ward/Roy West Stake
Trapper Trails 589
5850 S 2575 W
Roy, UT 84067


Lds ‐ Roy 15Th Ward/Roy South Stake
Trapper Trails 589
5900 S 3100 W
Roy, UT 84067


Lds ‐ Roy 16Th Ward/Roy Central Stake
Trapper Trails 589
5850 S 2575 W
Roy, UT 84067


Lds ‐ Roy 17Th Ward/Roy South Stake
Trapper Trails 589
5725 S 3750 W
Roy, UT 84067


Lds ‐ Roy 18Th Ward/Roy South Stake
Trapper Trails 589
5725 S 3750 W
Roy, UT 84067


Lds ‐ Roy 1St Ward/Roy West Stake
Trapper Trails 589
5850 S 2575 W
Roy, UT 84067
Lds ‐ Roy 26Th Ward/Roy Midland Stake
Trapper Trails 589
3649 W 4800 S
Roy, UT 84067


Lds ‐ Roy 27Th Ward/Roy Midland Stake
Trapper Trails 589
5375 So 3776 W
Roy, UT 84067


Lds ‐ Roy 28Th Ward/Roy Midland Stake
Trapper Trails 589
3345 W 5200 S
Roy, UT 84067


Lds ‐ Roy 2Nd Ward/Roy Stake
Trapper Trails 589
5127 S 2400 W
Roy, UT 84067


Lds ‐ Roy 30Th Ward/Roy South Stake
Trapper Trails 589
5900 S 3100 W
Roy, UT 84067


Lds ‐ Roy 31St Ward/Roy Midland Stake
Trapper Trails 589
3345 W 5200 S
Roy, UT 84067


Lds ‐ Roy 4Th Ward/Roy Stake
Trapper Trails 589
5301 S 2100 W
Roy, UT 84067


Lds ‐ Roy 5Th Ward/Roy Stake
Trapper Trails 589
5301 S 2100 W
Roy Stake
Roy, UT 84067


Lds ‐ Roy 7Th Ward/Roy Central Stake
Trapper Trails 589
3900 S 2000 W
Roy, UT 84067


Lds ‐ Roy 9Th Ward/Roy North Stake
Trapper Trails 589
4250 S 2175 W
Roy, UT 84067


Lds ‐ Royse City Ward/Heath Stake
Circle Ten Council 571
6819 S Fm 549
Heath, TX 75032


Lds ‐ Rushton Heights Ward/Ogden Stake
Trapper Trails 589
1550 Rushton St
Ogden, UT 84401


Lds ‐ Sachse Ward/Richardson Stake
Circle Ten Council 571
2701 N Garland Ave
Garland, TX 75040


Lds ‐ Salem Ward ‐ Roanoke Stake
Blue Ridge Mtns Council 599
6311 Wayburn Dr
Salem, VA 24153


Lds ‐ San Benito Branch
Rio Grande Council 775
225 E Sam Houston Blvd
San Benito, TX 78586


Lds ‐ San Jose Branch
North Florida Council 087
4087 Hendricks Ave
Jacksonville, FL 32207


Lds ‐ Sand Ridge Ward/Roy Central Stake
Trapper Trails 589
4900 S 2000 W
Roy, UT 84067


Lds ‐ Sanger ‐ Fresno East Stake
Sequoia Council 027
810 Bethel Ave
Sanger, CA 93657


Lds ‐ Schaumburg Ward Ii
Pathway To Adventure 456
1320 W Schaumburg Rd
Schaumburg, IL 60194


Lds ‐ Schoharie Valley Ward Albany Stake
Leatherstocking 400
141 Church St
Central Bridge, NY 12035


Lds ‐ Sealy 1St Branch ‐ Katy Stake
Sam Houston Area Council 576
600 W St
Sealy, TX 77474


Lds ‐ Selma ‐ Hanford Stake
Sequoia Council 027
2370 Burnham St
Selma, CA 93662


Lds ‐ Seminole Ward ‐ St Pete Stake
Greater Tampa Bay Area 089
9000 106th Ave
Ch of Jesus Christ of Latter Day Saints
Largo, FL 33777


Lds ‐ Seminole Ward ‐ St Pete Stake
Greater Tampa Bay Area 089
9000 106th Ave
Largo, FL 33777


Lds ‐ Seven Lakes Ward ‐ Katy Stake
Sam Houston Area Council 576
9907 Terrance Springs Ln
Katy, TX 77494
Lds ‐ Shadow Creek ‐ Houston South Stake
Sam Houston Area Council 576
2606 Werlake Dr
Pearland, TX 77584


Lds ‐ Shadow Mountain Ward/Weber Stake
Trapper Trails 589
5191 Old Post Rd
Ogden, UT 84403


Lds ‐ Shadow Valley Ward/Weber Stake
Trapper Trails 589
5191 Old Post Rd
Ogden, UT 84403


Lds ‐ Shannondoah Ward/Hooper Stake
Trapper Trails 589
5000 S 5900 W
Hooper, UT 84315


Lds ‐ Sharyland Ward
Rio Grande Council 775
816 Travis St, Apt D37
Mission, TX 78572


Lds ‐ Shepherd ‐ Fresno North Stake
Sequoia Council 027
9318 N Sunnyside Ave
Clovis, CA 93619


Lds ‐ Sherman 1St Ward/Sherman Stake
Circle Ten Council 571
1900 W Lamberth Rd
Sherman, TX 75092


Lds ‐ Sherman 2Nd Ward/Sherman Stake
Circle Ten Council 571
1900 W Lamberth Rd
Sherman, TX 75092
Lds ‐ Shoreline Ridge/Rock Cliff Stake
Trapper Trails 589
300 Iowa
Ogden, UT 84404


Lds ‐ Sierra ‐ Fresno West Stake
Sequoia Council 027
3375 W Sierra Ave
Fresno, CA 93711


Lds ‐ Sierra ‐ Fresno West Stake
Sequoia Council 027
6559 N Vernal Ave
Fresno, CA 93722


Lds ‐ Sierra Vista ‐ Fresno East Stake
Sequoia Council 027
1880 Gettysburg Ave
Clovis, CA 93611


Lds ‐ Silver Lake Ward/Morgan West Stake
Trapper Trails 589
2755 W Old Hwy Rd
Morgan, UT 84050


Lds ‐ Silver Pines Ward ‐ Cypress Stake
Sam Houston Area Council 576
10555 Mills Rd
Houston, TX 77070


Lds ‐ Silverlake ‐ Friendswood
Bay Area Council 574
3311 Sfork Dr
Pearland, TX 77584


Lds ‐ Silverlake Houston South Stake
Sam Houston Area Council 576
8333 Scanlan Trce
Missouri City, TX 77459


Lds ‐ Skyline Ward/Dallas East Stake
Circle Ten Council 571
2801 Skyline Dr
Mesquite, TX 75149


Lds ‐ Smithfield 13Th Ward/Smithfield
Trapper Trails 589
600 E 120 S
Smithfield, UT 84335


Lds ‐ Smithfield 17Th Ward/Smithfield
Trapper Trails 589
345 E 300 S
Smithfield, UT 84335


Lds ‐ Smithfield 1St Ward/Smithfield
Trapper Trails 589
79 E 200 S
Smithfield, UT 84335


Lds ‐ Smithfield 20Th Ward/Smithfield
Trapper Trails 589
600 E 120 S
Smithfield, UT 84335


Lds ‐ Smithfield 21St Ward/Smithfield
Trapper Trails 589
345 E 300 S
Smithfield, UT 84335


Lds ‐ Smithfield 6Th/Smithfield South
Trapper Trails 589
600 E 120 S
Smithfield, UT 84335


Lds ‐ Smithfield 7Th Ward/Smithfield
Trapper Trails 589
79 E 200 S
Smithfield, UT 84335


Lds ‐ Snow Canyon Ward/Kays Creek Stake
Trapper Trails 589
2455 N Valleyview Dr
Layton, UT 84040
Lds ‐ Snow Creek Ward/Layton East Stake
Trapper Trails 589
845 N 1150 E
Layton, UT 84040


Lds ‐ South Fork Ward/Huntsville Stake
Trapper Trails 589
277 S 7400 E.
Huntsville, UT 84317


Lds ‐ South Shore ‐League City
Bay Area Council 574
4655 S Shore Blvd
League City, TX 77573


Lds ‐ Spencer Ward/Kaysville South Stake
Trapper Trails 589
500 S Main St
Kaysville, UT 84037


Lds ‐ Spring Branch Ward ‐ Cypress Stake
Sam Houston Area Council 576
4703 Shadowdale Dr
Houston, TX 77041


Lds ‐ Spring Canyon Ward/Weber Stake
Trapper Trails 589
6350 Combe Rd
Ogden, UT 84403


Lds ‐ Spring Creek Ward/Mendon Stake
Trapper Trails 589
2394 W 2200 S
College Ward, UT 84325


Lds ‐ Spring Trails Ward ‐ Spring Stake
Sam Houston Area Council 576
28322 Lauren Cove Ln
Spring, TX 77386
Lds ‐ Spring Ward ‐ Spring Stake
Sam Houston Area Council 576
3591 Discovery Creek Blvd
Spring, TX 77386


Lds ‐ Springbrook Ward/Roy West Stake
Trapper Trails 589
5080 S 3100 W
Roy, UT 84067


Lds ‐ St Augustine
North Florida Council 087
500 Deltona Blvd
Saint Augustine, FL 32086


Lds ‐ St Augustine Shores
North Florida Council 087
500 Deltona Blvd
Saint Augustine, FL 32086


Lds ‐ St Charles Ward ‐ Naperville Stake
Three Fires Council 127
0N429 Old Kirk Rd
West Chicago, IL 60185


Lds ‐ St Charles Ward/Paris Stake
Trapper Trails 589
75 N Main St
St Charles, ID 83272


Lds ‐ St John S Ward
North Florida Council 087
5490 County Rd 210 W
Saint Augustine, FL 32092


Lds ‐ St Johns River Ward
North Florida Council 087
5490 County Rd 210 W
St Augustine, FL 32092


Lds ‐ St Joseph Second Ward
Pony Express Council 311
7 N Carriage Dr
Saint Joseph, MO 64506


Lds ‐ Starke Ward
North Florida Council 087
20439 NW State Rd 16
Starke, FL 32091


Lds ‐ Stewart Park Ward/Mt Logan Stake
Trapper Trails 589
565 E 100 S
Logan, UT 84321


Lds ‐ Stoddard Ward/Morgan West Stake
Trapper Trails 589
1255 N Morgan Valley Dr
Morgan, UT 84050


Lds ‐ Stone Creek Ward/West Haven Stake
Trapper Trails 589
3628 S 2700 W
West Haven, UT 84401


Lds ‐ Summerfield Ward/Layton Stake
Trapper Trails 589
60 W Gordon Ave
Layton, UT 84041


Lds ‐ Summerhaze Ward/Holmes Creek Stake
Trapper Trails 589
380 S Fairfield Rd
Layton, UT 84041


Lds ‐ Summerwood Ward ‐ Summerwood Stake
Sam Houston Area Council 576
14350 N Sam Houston Pkwy E.
Houston, TX 77044


Lds ‐ Summerwood Ward/Valley View Stake
Trapper Trails 589
1410 E Gentile St
Layton, UT 84040
Lds ‐ Sun Hills Ward/Layton Hills Stake
Trapper Trails 589
3290 N 1050 E
Layton, UT 84040


Lds ‐ Sunset 1St Ward/Sunset Stake
Trapper Trails 589
2431 N 250 W
Sunset, UT 84015


Lds ‐ Sunset 2Nd Ward/Sunset Stake
Trapper Trails 589
220 W 975 N
Sunset, UT 84015


Lds ‐ Sunset 3Rd Ward/Sunset Stake
Trapper Trails 589
338 W 1800 N
Sunset, UT 84015


Lds ‐ Sunset 4Th Ward/Sunset Stake
Trapper Trails 589
220 W 975 N
Sunset, UT 84015


Lds ‐ Sunset 5Th Ward/Sunset Stake
Trapper Trails 589
2431 N 250 W
Sunset, UT 84015


Lds ‐ Sunset Ward/Kaysville West Stake
Trapper Trails 589
925 Deseret Dr
Kaysville, UT 84037


Lds ‐ Suntrails Ward/Layton West Stake
Trapper Trails 589
2160 W Gordon Ave
Layton, UT 84041
Lds ‐ Swan Lakes Ward/Layton South Stake
Trapper Trails 589
2120 W Gentile St
Layton, UT 84041


Lds ‐ Syracuse 10Th Ward/Syracuse Stake
Trapper Trails 589
1469 W 700 S
Syracuse, UT 84015


Lds ‐ Syracuse 4Th Ward/Syracuse Stake
Trapper Trails 589
1625 S 1100 W
Syracuse, UT 84075


Lds ‐ Syracuse 5Th Ward/Syracuse Stake
Trapper Trails 589
1525 W 1175 S
Syracuse, UT 84075


Lds ‐ Syracuse 7Th Ward/Syracuse Stake
Trapper Trails 589
1625 S 1100 W
Syracuse, UT 84075


Lds ‐ Syracuse 9Th Ward/Syracuse Stake
Trapper Trails 589
1525 W 1175 S
Syracuse, UT 84075


Lds ‐ Taylor 1St Ward/Ogden West Stake
Trapper Trails 589
2550 S 3271 W
Ogden, UT 84401


Lds ‐ Taylor 2Nd Ward/Ogden West Stake
Trapper Trails 589
2200 S 4300 W
Ogden, UT 84401


Lds ‐ Taylor 3Rd Ward/Ogden West Stake
Trapper Trails 589
2200 S 4300 W
Ogden, UT 84401


Lds ‐ Taylor 4Th Ward/Ogden West Stake
Trapper Trails 589
2200 S 4300 W
Ogden, UT 84401


Lds ‐ Taylor Canyon Ward/Ogden Stake
Trapper Trails 589
1643 26th St
Ogden, UT 84401


Lds ‐ Texarkana, Tx
Caddo Area Council 584
3701 Moores Ln
Texarkana, TX 75503


Lds ‐ The Church Of Jesus Christ Of LDS
National Capital Area Council 082
P.O. Box 9000
Brownsville, TX 78520


Lds ‐ The Colony 1St Ward/Frisco Stake
Circle Ten Council 571
6800 Anderson Dr
The Colony, TX 75056


Lds ‐ Theodore Ward ‐ Mobile Stake
Mobile Area Council‐Bsa 004
5520 Zeigler Blvd
Mobile, AL 36608


Lds ‐ Three Mile Creek/Willard
Trapper Trails 589
8230 S Hwy 89
Willard, UT 84340


Lds ‐ Timuquana Ward
North Florida Council 087
5100 Firestone Rd
Jacksonville, FL 32210
Lds ‐ Tomball Ward ‐ Cypress Stake
Sam Houston Area Council 576
12310 New Hampton Dr
Tomball, TX 77377


Lds ‐ Trailside Ward/Syracuse West Stake
Trapper Trails 589
2800 W 2700 S
Syracuse W Stake
Syracuse, UT 84075


Lds ‐ Tremonton 1St Ward/Tremonton Stake
Trapper Trails 589
166 N Tremonton St
Tremonton, UT 84337


Lds ‐ Tremonton 4Th Ward/Tremonton Stake
Trapper Trails 589
660 N 300 E
Tremonton, UT 84337


Lds ‐ Tremonton 6Th Ward/Tremonton Stake
Trapper Trails 589
660 N 300 E
Tremonton, UT 84337


Lds ‐ Trenton Ward/Benson Stake
Trapper Trails 589
1200 N 400 W
Benson Stake
Trenton, UT 84338


Lds ‐ Tri Oaks Ward/Northridge Stake
Trapper Trails 589
2375 E 3225 N
Layton, UT 84040


Lds ‐ Tulare 1St ‐ Porterville Stake
Sequoia Council 027
451 E Merritt Ave
Tulare, CA 93274
Lds ‐ Turnberry Ward/Syracuse West Stake
Trapper Trails 589
3426 W Augusta Dr
Syracuse, UT 84075


Lds ‐ University Ward ‐ Bloomington
Hoosier Trails Council 145 145
2411 E 2nd St
Bloomington, IN 47401


Lds ‐ Urie Ward/Lyman Stake
Trapper Trails 589
3815 N Hwy 414
Lyman, WY 82937


Lds ‐ Vae View Ward/Layton West Stake
Trapper Trails 589
1715 W 1600 N
Layton, UT 84041


Lds ‐ Valley View Ward/Kays Creek Stake
Trapper Trails 589
2455 N Valleyview Dr
Layton, UT 84040


Lds ‐ Van Ness ‐ Fresno Stake
Sequoia Council 027
5341 N Maroa Ave
Fresno, CA 93704


Lds ‐ Van Ness ‐ Fresno Stake
Sequoia Council 027
5685 N Cedar Ave
Fresno, CA 93710


Lds ‐ Ventura ‐ Fresno East Stake
Sequoia Council 027
6641 E Butler Ave
Fresno, CA 93727
Lds ‐ Vinton Ward ‐ Roanoke Stake
Blue Ridge Mtns Council 599
2268 Hardy Rd
Vinton, VA 24179


Lds ‐ Visalia 1St ‐ Visalia Stake
Sequoia Council 027
650 N Lovers Ln
Visalia, CA 93292


Lds ‐ Visalia 2Nd ‐ Visalia Stake
Sequoia Council 027
650 N Lovers Ln
Visalia, CA 93292


Lds ‐ Visalia 3Rd ‐ Visalia Stake
Sequoia Council 027
4000 W Caldwell Ave
Visalia, CA 93277


Lds ‐ Visalia 3Rd ‐ Visalia Stake
Sequoia Council 027
650 N Lovers Ln
Visalia, CA 93292


Lds ‐ Visalia 4Th ‐ Visalia Stake
Sequoia Council 027
2940 W Tyler Ave
4000 W Caldwell Ave
Visalia, CA 93291


Lds ‐ Visalia 5Th Ward ‐ Visalia Stake
Sequoia Council 027
650 N Lovers Ln
Visalia, CA 93292


Lds ‐ Visalia 6Th ‐ Visalia Stake
Sequoia Council 027
4000 W Caldwell Ave
Visalia, CA 93277


Lds ‐ Visalia 8Th ‐ Visalia Ward
Sequoia Council 027
650 N Lovers Ln
Visalia, CA 93292


Lds ‐ Waller 2Nd Ward ‐ Cypress Stake
Sam Houston Area Council 576
24514 Lazy Kay Ln
Hockley, TX 77447


Lds ‐ Waller Ward ‐ Cypress Stake
Sam Houston Area Council 576
P.O. Box 1546
Waller, TX 77484


Lds ‐ Ward 1
East Texas Area Council 585
1130 Jaguar Rd
Big Sandy, TX 75755


Lds ‐ Ward 2
East Texas Area Council 585
P.O. Box 1227
Gilmer, TX 75644


Lds ‐ Ward 2 ‐ Rockford Stake
Blackhawk Area 660
324 N University Dr
Rockford, IL 61107


Lds ‐ Ward 3
East Texas Area Council 585
1314 Greenway St
Gilmer, TX 75644


Lds ‐ Warren Ward/Weber North Stake
Trapper Trails 589
856 No 5900 W
Ogden, UT 84404


Lds ‐ Wasatch Ward/Weber Stake
Trapper Trails 589
6350 Combe Rd
Ogden, UT 84403


Lds ‐ Washington Terrace 10Th Ward
Trapper Trails 589
125 E 5350 S
Ogden, UT 84405


Lds ‐ Washington Terrace 12Th Ward
Trapper Trails 589
125 E 5350 S
Ogden, UT 84405


Lds ‐ Washington Terrace 13Th Ward
Trapper Trails 589
4855 S 300 W
Washington Terrace, UT 84405


Lds ‐ Washington Terrace 1St Spanish
Trapper Trails 589
4210 S 300 W
Riverdale, UT 84405


Lds ‐ Washington Terrace 2Nd
Trapper Trails 589
4210 S 300 W
Riverdale, UT 84405


Lds ‐ Washington Terrace 3Rd Ward
Trapper Trails 589
4855 S 300 W
Washington Terrace, UT 84405


Lds ‐ Washington Terrace 4Th Ward
Trapper Trails 589
4760 S 200 E
Washington Terrace, UT 84405


Lds ‐ Washington Terrace 5Th Ward
Trapper Trails 589
350 W 5100 S
Washington Terrace, UT 84405
Lds ‐ Washington Terrace 6Th Ward
Trapper Trails 589
4760 S 200 E
Washington Terrace, UT 84405


Lds ‐ Washington Terrace 7Th Ward
Trapper Trails 589
4855 S 300 W
Washington Terrace, UT 84405


Lds ‐ Washington Terrace 8Th Ward
Trapper Trails 589
350 W 5100 S
Ogden, UT 84405


Lds ‐ Washington Terrace 9Th Ward
Trapper Trails 589
125 E 5350 S
Washington Terrace, UT 84405


Lds ‐ Waxahachie 1St Ward/Dallas Stake
Circle Ten Council 571
2418 Brown St
Waxahachie, TX 75165


Lds ‐ Waxahachie 2Nd Ward/Dallas Stake
Circle Ten Council 571
2418 Brown St
Waxahachie, TX 75165


Lds ‐ Waynesboro Ward
Georgia‐Carolina 093
284 Hwy 56
Waynesboro, GA 30830


Lds ‐ Wellington Ward/Kaysville Stake
Trapper Trails 589
190 N Country Ln
Fruit Heights, UT 84037


Lds ‐ Wellsville 2Nd /Wellsville Stake
Trapper Trails 589
30 S Center
Wellsville, UT 84339


Lds ‐ West Haven Ward/West Haven Stake
Trapper Trails 589
3628 S 2700 W
West Haven, UT 84401


Lds ‐ West Point 1St Ward/Lakeside Stake
Trapper Trails 589
4383 W 300 N
West Point, UT 84015


Lds ‐ West Point 3Rd Ward/Lakeside Stake
Trapper Trails 589
3290 W 800 N
West Point, UT 84015


Lds ‐ West Point 5Th Ward/Lakeside Stake
Trapper Trails 589
3488 W 300 N
West Point, UT 84015


Lds ‐ West Point 6Th Ward/Lakeside Stake
Trapper Trails 589
3290 W 800 N
West Point, UT 84015


Lds ‐ West Point 9Th Ward/Lakeside Stake
Trapper Trails 589
855 N 4000 W
West Point, UT 84015


Lds ‐ West Warren Ward/Weber North Stake
Trapper Trails 589
856 N 5900 W
Ogden, UT 84404


Lds ‐ Westlake Ward ‐ Katy Stake
Sam Houston Area Council 576
16198 Cairnway Dr
Houston, TX 77084


Lds ‐ Westlake Ward/Roy West Stake
Trapper Trails 589
2915 W 4425 S
Roy, UT 84067


Lds ‐ Wheatridge Ward/Roy West Stake
Trapper Trails 589
5080 S 3100 W
Roy, UT 84067


Lds ‐ White Oak Ward ‐ Cypress Stake
Sam Houston Area Council 576
10055 W Rd
Houston, TX 77064


Lds ‐ White Rail Ward/West Haven Stake
Trapper Trails 589
3330 S 4700 W.
West Haven, UT 84401


Lds ‐ White Springs Branch
North Florida Council 087
909 SE Country Club Rd
Lake City, FL 32025


Lds ‐ Whitehouse Ward
North Florida Council 087
798 Chaffee Rd N
Jacksonville, FL 32220


Lds ‐ Whitney Ward/Franklin Stake
Trapper Trails 589
1444 S 1600 E
Preston, ID 83263


Lds ‐ Wichita Falls I Ward
Northwest Texas Council 587
4325 York St
Wichita Falls, TX 76309
Lds ‐ Wildercrest Ward/North Logan Stake
Trapper Trails 589
2750 N 800 E
North Logan, UT 84341


Lds ‐ Wildwood Ward/Pioneer Trail Stake
Trapper Trails 589
4675 W 5500 S
Hooper, UT 84315


Lds ‐ Willard 1St Ward/Willard Stake
Trapper Trails 589
80 N 100 W
Willard, UT 84340


Lds ‐ Willard 2Nd Ward/Willard Stake
Trapper Trails 589
7615 S 665 W
Willard, UT 84340


Lds ‐ Willard 3Rd Ward/Willard Stake
Trapper Trails 589
7364 S 625 W
Willard, UT 84340


Lds ‐ Willard 4Th Ward/Willard Stake
Trapper Trails 589
80 N 100 W
Willard, UT 84340


Lds ‐ Willard 5Th Ward/Willard Stake
Trapper Trails 589
990 W 7900 S
Willard, UT 84340


Lds ‐ Willard 6Th Ward/Willard Stake
Trapper Trails 589
7615 S 665 W
Willard, UT 84340


Lds ‐ Willow Brook Ward/Kaysville Stake
Trapper Trails 589
1505 Whispering Meadow Lane
Kaysville, UT 84037


Lds ‐ Wilson 1St Ward/Ogden West Stake
Trapper Trails 589
2333 S 2700 W
West Haven, UT 84401


Lds ‐ Wilson 2Nd Ward/Ogden West Stake
Trapper Trails 589
2333 S 2700 W
West Haven, UT 84401


Lds ‐ Wilson 3Rd Ward/Ogden West Stake
Trapper Trails 589
2333 S 2700 W
Ogden, UT 84401


Lds ‐ Wilson 4Th Ward/Ogden West Stake
Trapper Trails 589
2550 S 3271 W
Ogden, UT 84401


Lds ‐ Wilson 5Th Ward/Ogden West Stake
Trapper Trails 589
2550 S 3721 W
West Haven, UT 84401


Lds ‐ Wimbledon Ward ‐ Klein Stake
Sam Houston Area Council 576
16535 Kleinwood Dr
Spring, TX 77379


Lds ‐ Winder Ward ‐ Athens Stake
Northeast Georgia Council 101
36 Sims Rd
Winder, GA 30680


Lds ‐ Winder Ward/Preston North Stake
Trapper Trails 589
4400 N 1600 W
Preston, ID 83263


Lds ‐ Windridge Ward/Haight Creek Stake
Trapper Trails 589
1282 W 1875 N
Haight Creek Stake
Farmington, UT 84025


Lds ‐ Windrose Ward ‐ Klein Stake
Sam Houston Area Council 576
16535 Kleinwood Dr
Spring, TX 77379


Lds ‐ Wolfcreek Ward/Huntsville Stake
Trapper Trails 589
2900 N Hwy 162
Eden, UT 84310


Lds ‐ Woodruff Ward/Kemmerer Stake
Trapper Trails 589
180 S Main
Woodruff, UT 84086


Lds ‐ Woodruff Ward/Logan Stake
Trapper Trails 589
940 Three Point Ave
Logan, UT 84321


Lds ‐ Woodward Park ‐ Fresno Stake
Sequoia Council 027
1149 E Alluvial Ave
Fresno, CA 93720


Lds ‐ Woodward Park ‐ Fresno Stake
Sequoia Council 027
1199 E Alluvial Ave
Fresno, CA 93720


Lds ‐ Wylie 1St Ward/Richardson Stake
Circle Ten Council 571
400 Sanden Blvd
Wylie, TX 75098
Lds ‐ Wylie 2Nd Ward/Richardson Stake
Circle Ten Council 571
400 Sanden Blvd
Wylie, TX 75098


Lds ‐ Wylie 3Rd Ward/Richardson Stake
Circle Ten Council 571
400 Sanden Blvd
Wylie, TX 75098


Lds ‐ Wylie 4Th Ward/Richardson Stake
Circle Ten Council 571
400 Sanden Blvd
Wylie, TX 75098


Lds ‐ Yorkshire Ward/Cache Stake
Trapper Trails 589
Cache Stake
Logan, UT 84321


Lds ‐ Yosemite Ward ‐ Fresno West Stake
Sequoia Council 027
49967 Rd 427
Oakhurst, CA 93644


Lds ‐ Young Ward/Mendon Stake
Trapper Trails 589
2394 W 2200 S
College Ward, UT 84339


Lds ‐ Zions Crossing Ward/Syracuse Stake
Trapper Trails 589
1525 W 1175 S
Syracuse, UT 84075


Lds 10Th Ward E Lb Stake
Long Beach Area Council 032
1140 Ximeno Ave
Long Beach, CA 90804
Lds 10Th Ward Modesto Stake
Greater Yosemite Council 059
2618 Fine Ave
Modesto, CA 95355


Lds 10Th Ward/Moses Lake Stake
Grand Columbia Council 614
1515 S Div St
Moses Lake, WA 98837


Lds 11Th Ward/Moses Lake Stake
Grand Columbia Council 614
1849 Nelson Rd Ne
Moses Lake, WA 98837


Lds 11Th Ward‐East Stake
Pikes Peak Council 060
4955 Meadowland Blvd
Colorado Springs, CO 80918


Lds 12Th Branch Modesto Stake
Greater Yosemite Council 059
731 El Vista Ave
Modesto, CA 95354


Lds 12Th Ward El Paso Chamizal Stk
Yucca Council 573
1212 Sumac Dr
El Paso, TX 79925


Lds 13Th Ward Lb Stake
Long Beach Area Council 032
3114 E S St
Lakewood, CA 90805


Lds 15Th Ward Lb Stake
Long Beach Area Council 032
6979 Orange Ave
Long Beach, CA 90805


Lds 15Th Ward‐East Stake
Pikes Peak Council 060
4955 Meadowland Blvd
Colorado Springs, CO 80918


Lds 16Th Ward Lb Stake
Long Beach Area Council 032
3701 Elm Ave
Long Beach, CA 90807


Lds 16Th Ward‐Fountain Stake
Pikes Peak Council 060
1310 Aeroplaza Dr
Colorado Springs, CO 80916


Lds 18Th Ward‐Fountain Stake
Pikes Peak Council 060
1310 Aeroplaza Dr
Colorado Springs, CO 80916


Lds 1st Landing Ward
Virginia Beach Stake
Tidewater Council 596
4784 Princess Anne Rd
Virginia Beach, Va 23462


Lds 1St Navarre Ward
Gulf Coast Council 773
1751 Sea Lark Ln
Navarre, FL 32566


Lds 1St Navarre Ward Pack 103
Gulf Coast Council 773
1751 Sea Lark Ln
Navarre, FL 32566


Lds 1St Ward ‐ Arlington Stake
Longhorn Council 662
1500 California Ln
Arlington, TX 76015


Lds 1St Ward ‐ Denton Stake
Longhorn Council 662
1801 Malone St
Denton, TX 76201


Lds 1St Ward ‐ Ely Stake
Nevada Area Council 329
900 Ave E
Ely, NV 89301


Lds 1St Ward ‐ Killeen Stake
Longhorn Council 662
1410 S 2nd St
Killeen, TX 76541


Lds 1St Ward ‐ Midland Stake
Water and Woods Council 782
1700 W Sugnet Rd
Midland, MI 48640


Lds 1St Ward ‐ Waco Stake
Longhorn Council 662
7201 Viking Dr
Waco, TX 76710


Lds 1St Ward ‐ Winnemucca Stake
Nevada Area Council 329
P.O. Box 207
Winnemucca, NV 89446


Lds 1St Ward Auburn Stake
Golden Empire Council 047
287 Poet Smith Dr
Auburn, CA 95603


Lds 1St Ward Bloomfield Stake
Great Swest Council 412
902 W Blanco Blvd
Bloomfield, NM 87413


Lds 1St Ward Deland
Central Florida Council 083
734 Taylor Rd W
Deland, FL 32720
Lds 1St Ward El Paso Chamizal Stk
Yucca Council 573
3625 Douglas Ave
El Paso, TX 79903


Lds 1St Ward Fallon North Stake
Nevada Area Council 329
450 N Taylor St
Fallon, NV 89406


Lds 1St Ward Farmington Stake
Great Swest Council 412
1310 E 25th St
Farmington, NM 87401


Lds 1St Ward Gallup Stake
Great Swest Council 412
601 Susan Ave
Gallup, NM 87301


Lds 1St Ward Indep Stake
Heart of America Council 307
705 W Walnut St
Independence, MO 64050


Lds 1St Ward Kirtland Stake
Great Swest Council 412
P.O. Box 7
Kirtland, NM 87417


Lds 1St Ward Lb Stake
Long Beach Area Council 032
3701 Elm Ave
Long Beach, CA 90807


Lds 1St Ward Liberty Stake
Heart of America Council 307
1130 N Clayview Dr
Liberty, MO 64068


Lds 1St Ward Modesto North Stake
Greater Yosemite Council 059
4300 Dale Rd
Modesto, CA 95356


Lds 1St Ward Olathe Stake
Heart of America Council 307
15915 W 143rd St
Olathe, KS 66062


Lds 1St Ward Turlock Stake
Greater Yosemite Council 059
4300 Geer Rd
Turlock, CA 95382


Lds 1St Ward, E Bakersfield Stake
Southern Sierra Council 030
5600 Panorama Dr
Bakersfield, CA 93306


Lds 1St Ward, Fort Wayne Stake
Anthony Wayne Area 157
5401 Saint Joe Rd
Fort Wayne, IN 46835


Lds 1St Ward, Odessa, Tx Stake
Buffalo Trail Council 567
5401 John Ben Shepard Pkwy
Odessa, TX 79764


Lds 1St Ward, Tallahassee, Fl Stake
Suwannee River Area Council 664
312 Stadium Dr
Tallahassee, FL 32304


Lds 1St Ward/Ephrata Stake
Grand Columbia Council 614
1301 E Div Ave
Ephrata, WA 98823


Lds 1St Ward/Moses Lake Stake
Grand Columbia Council 614
912 Camas Pl
Moses Lake, WA 98837


Lds 1St Ward/Othello Stake
Grand Columbia Council 614
611 S 7th Ave
Othello, WA 99344


Lds 1St, 2Nd Wards Gallup Stake
Great Swest Council 412
601 Susan Ave
Gallup, NM 87301


Lds 2Nd Ward ‐ Arlington Stake
Longhorn Council 662
6300 Crawford Ln W
Forest Hill, TX 76119


Lds 2Nd Ward ‐ Denton Stake
Longhorn Council 662
4501 Teasley Ln
Denton, TX 76210


Lds 2Nd Ward ‐ Ely Stake
Nevada Area Council 329
900 Ave E
Ely, NV 89301


Lds 2Nd Ward ‐ Killeen Stake
Longhorn Council 662
1410 S 2nd St
Killeen, TX 76541


Lds 2Nd Ward ‐ Midland Stake
Water and Woods Council 782
1700 W Sugnet Rd
Midland, MI 48640


Lds 2Nd Ward ‐ Waco Stake
Longhorn Council 662
300 Ritchie Rd
Hewitt, TX 76643
Lds 2Nd Ward ‐ Winnemucca Stake
Nevada Area Council 329
8655 Herschell Rd
Winnemucca, NV 89445


Lds 2Nd Ward Bloomingdale Spanish Branch
Three Fires Council 127
270 Knollwood Dr
Bloomingdale, IL 60108


Lds 2Nd Ward Cerritos Stake
Long Beach Area Council 032
16115 Studebaker Rd
Cerritos, CA 90703


Lds 2Nd Ward Charleston Stake
Coastal Carolina Council 550
8720 Antler Dr
Charleston, SC 29406


Lds 2Nd Ward Cincinnati Stake
Dan Beard Council, Bsa 438
144 Buttermilk Pike
Lakeside Park, KY 41017


Lds 2Nd Ward Davenport Stake
Illowa Council 133
4929 Wisconsin Ave
Davenport, IA 52806


Lds 2Nd Ward Deland
Central Florida Council 083
621 W Indiana Ave, Apt 7
Deland, FL 32720


Lds 2Nd Ward Fallon North Stake
Nevada Area Council 329
450 N Taylor St
Fallon, NV 89406


Lds 2Nd Ward Gallup Stake
Great Swest Council 412
601 Susan Ave
Gallup, NM 87301


Lds 2Nd Ward Harlingen Stake
Rio Grande Council 775
Rr 8 Box 721
Harlingen, TX 78552


Lds 2Nd Ward Kirtland Stake
Great Swest Council 412
P.O. Box 811
Kirtland, NM 87417


Lds 2Nd Ward Modesto Stake
Greater Yosemite Council 059
1105 E Orangeburg Ave
Modesto, CA 95350


Lds 2Nd Ward Olathe Stake
Heart of America Council 307
15915 W 143rd St
Olathe, KS 66062


Lds 2Nd Ward Turlock Stake
Greater Yosemite Council 059
4300 Geer Rd
Turlock, CA 95382


Lds 2Nd Ward, Bakersfield Stake
Southern Sierra Council 030
316 A St
Bakersfield, CA 93304


Lds 2Nd Ward, Fort Wayne Stake
Anthony Wayne Area 157
5401 Saint Joe Rd
Fort Wayne, IN 46835


Lds 2Nd Ward, Odessa, Tx Stake
Buffalo Trail Council 567
5401 John Ben Shepperd Pkwy
Odessa, TX 79762


Lds 2Nd Ward, Tallahassee, Fl Stake
Suwannee River Area Council 664
3717 Thomasville Rd
Tallahassee, FL 32309


Lds 2Nd Ward/Ephrata Stake
Grand Columbia Council 614
1301 E Div Ave
Ephrata, WA 98823


Lds 2Nd Ward/Moses Lake Stake
Grand Columbia Council 614
925 N Grape Dr
Moses Lake, WA 98837


Lds 2Nd Ward/Othello Stake
Grand Columbia Council 614
12th   Rainer Rd
Othello, WA 99344


Lds 2Nd, Ward Farmington Stake
Great Swest Council 412
400 W Comanche St
Farmington, NM 87401


Lds 3Rd Branch
South Texas Council 577
1520 E Hillside Rd
Laredo, TX 78041


Lds 3Rd Ward ‐ Arlington Stake
Longhorn Council 662
3809 Curt Dr
Arlington, TX 76016


Lds 3Rd Ward ‐ Denton Stake
Longhorn Council 662
1801 Malone St
Denton, TX 76201
Lds 3Rd Ward ‐ Ely Stake
Nevada Area Council 329
900 Ave E
Ely, NV 89301


Lds 3Rd Ward ‐ Fort Worth Stake
Longhorn Council 662
5001 Altamesa Blvd
Fort Worth, TX 76133


Lds 3Rd Ward ‐ Killeen Stake
Longhorn Council 662
1410 S 2nd St
Killeen, TX 76541


Lds 3Rd Ward ‐ Winnemucca Stake
Nevada Area Council 329
111 W Mcarthur Ave
Winnemucca, NV 89445


Lds 3Rd Ward Fallon South Stake
Nevada Area Council 329
750 W Richards St
Fallon, NV 89406


Lds 3Rd Ward Farmington Stake
Great Swest Council 412
2901 Knudsen Ave
Farmington, NM 87401


Lds 3Rd Ward Indep Stake
Heart of America Council 307
5609 Norfleet Rd
Kansas City, MO 64133


Lds 3Rd Ward Kirtland Stake
Great Swest Council 412
P.O. Box 215
Kirtland, NM 87417


Lds 3Rd Ward Modesto Stake
Greater Yosemite Council 059
731 El Vista Ave
Modesto, CA 95354


Lds 3Rd Ward Olathe Stake
Heart of America Council 307
15915 W 143rd St
Olathe, KS 66062


Lds 3Rd Ward, Tallahassee, Fl Stake
Suwannee River Area Council 664
3717 Thomasville Rd
Tallahassee, FL 32309


Lds 3Rd Ward/Ephrata Stake
Grand Columbia Council 614
1301 E Div Ave
Ephrata, WA 98823


Lds 3Rd Ward/Moses Lake Stake
Grand Columbia Council 614
1036 W Rose Ave
Moses Lake, WA 98837


Lds 3Rd Ward/Othello Stake
Grand Columbia Council 614
1050 E Elm St
Othello, WA 99344


Lds 3Rd Ward‐Fountain Stake
Pikes Peak Council 060
1705 N Murray Blvd
Colorado Springs, CO 80915


Lds 4Th Branch ‐ Laredo
South Texas Council 577
4120 Los Presidents Ave
Laredo, TX 78046


Lds 4Th Ward ‐ Arlington Stake
Longhorn Council 662
1500 California Ln
Arlington, TX 76015


Lds 4Th Ward ‐ Denton Stake
Longhorn Council 662
3000 Old N Rd
Denton, TX 76209


Lds 4Th Ward El Paso Chamizal Stk
Yucca Council 573
1212 Sumac Dr
El Paso, TX 79925


Lds 4Th Ward Fallon South Stake
Nevada Area Council 329
5741 Rivers Edge Dr
Fallon, NV 89406


Lds 4Th Ward Farmington Stake
Great Swest Council 412
5001 Samantha Ln
Farmington, NM 87402


Lds 4Th Ward Indep Stake
Heart of America Council 307
5609 Norfleet Rd
Kansas City, MO 64133


Lds 4Th Ward Lb Stake
Long Beach Area Council 032
3701 Elm Ave
Long Beach, CA 90807


Lds 4Th Ward Odessa, Texas Stake
Buffalo Trail Council 567
5401 John Ben Sheppard Pkwy
Odessa, TX 79762


Lds 4Th Ward Sacramento North Stake
Golden Empire Council 047
750 Rio Tierra
Sacramento, CA 95833
Lds 4Th Ward, Tallahassee, Fl Stake
Suwannee River Area Council 664
312 Stadium Dr
Tallahassee, FL 32304


Lds 4Th Ward/Moses Lake Stake
Grand Columbia Council 614
1515 S Div St
Moses Lake, WA 98837


Lds 5Th Branch Merced Stake
Greater Yosemite Council 059
1080 Yosemite Ave
Merced, CA 95340


Lds 5Th Ward ‐ Arlington Stake
Longhorn Council 662
3809 Curt Dr
Arlington, TX 76016


Lds 5Th Ward ‐ Fort Worth Stake
Longhorn Council 662
100 Paint Pony Trl N
Fort Worth, TX 76108


Lds 5Th Ward Fallon North Stake
Nevada Area Council 329
450 N Taylor St
Fallon, NV 89406


Lds 5Th Ward Farmington Stake
Great Swest Council 412
4400 College Blvd
Farmington, NM 87402


Lds 5Th Ward Kirtland Stake
Great Swest Council 412
P.O. Box 322
Fruitland, NM 87416


Lds 5Th Ward, Bakersfield Stake
Southern Sierra Council 030
316 A St
Bakersfield, CA 93304


Lds 5Th Ward/Moses Lake Stake
Grand Columbia Council 614
5454 Viking Rd Ne
Moses Lake, WA 98837


Lds 5Th Ward‐Fountain Stake
Pikes Peak Council 060
1310 Aeroplaza Dr
Colorado Springs, CO 80916


Lds 6Th Ward ‐ Arlington Stake
Longhorn Council 662
3809 Curt Dr
Arlington, TX 76016


Lds 6Th Ward ‐ Fort Worth Stake
Longhorn Council 662
5001 Altamesa Blvd
Fort Worth, TX 76133


Lds 6Th Ward Fallon South Stake
Nevada Area Council 329
125 W Tolas Pl
Fallon, NV 89406


Lds 6Th Ward Farmington Stake
Great Swest Council 412
4400 College Blvd
Farmington, NM 87402


Lds 6Th Ward, Tallahassee, Fl Stake
Suwannee River Area Council 664
3717 Thomasville Rd
Tallahassee, FL 32309


Lds 6Th Ward/Moses Lake Stake
Grand Columbia Council 614
77 Judy Rd
Moses Lake, WA 98837


Lds 7Th Ward ‐ Fort Worth Stake
Longhorn Council 662
2520 8th Ave
Fort Worth, TX 76110


Lds 7Th Ward Cincinnati East Stake
Dan Beard Council, Bsa 438
8579 Sunmont Dr
Cincinnati, OH 45255


Lds 7Th Ward Farmington Stake
Great Swest Council 412
514 N Orchard Ave
Farmington, NM 87401


Lds 7Th Ward Lb Stake
Long Beach Area Council 032
6979 Orange Ave
Long Beach, CA 90805


Lds 7Th Ward Modesto North Stake
Greater Yosemite Council 059
800 Sylvan Ave
Modesto, CA 95350


Lds 7Th Ward/Moses Lake Stake
Grand Columbia Council 614
458 Trout Ave
Moses Lake, WA 98837


Lds 8Th Ward ‐ Arlington Stake
Longhorn Council 662
3703 Meadowcreek Ct
Arlington, TX 76001


Lds 8Th Ward ‐ Fort Worth Stake
Longhorn Council 662
2520 8th Ave
Fort Worth, TX 76110
Lds 8Th Ward Farmington Stake
Great Swest Council 412
4400 College Blvd
Farmington, NM 87402


Lds 8Th Ward Modesto Stake
Greater Yosemite Council 059
2618 Fine Rd
Modesto, CA 95355


Lds 8Th Ward/Moses Lake Stake
Grand Columbia Council 614
4796 Brent Rd Ne
Moses Lake, WA 98837


Lds 8Th Ward‐Fountain Stake
Pikes Peak Council 060
325 Putnam Dr
Colorado Springs, CO 80911


Lds 8Th Wd El Paso Stake
Yucca Council 573
2322 N Lee Trevino Dr
El Paso, TX 79936


Lds 9Th Ward Spanish Branch
Moses Lake Stake
Grand Columbia Council 614
1515 S Div St
Moses Lake, Wa 98837


Lds Abingdon Ward
Sequoyah Council 713
13 Heritage Dr
Bristol, VA 24201


Lds Acacia Park Ward
Henderson Black Mountain Stake
Las Vegas Area Council 328
913 Twilight Peak Ave
Henderson, Nv 89012
Lds Academy Heights Ward Abq North Stake
Great Swest Council 412
1100 Montano Rd Nw
Albuquerque, NM 87122


Lds Academy Ward‐Colorado Springs Stake
Pikes Peak Council 060
5375 Centennial Blvd
Colorado Springs, CO 80919


Lds Accokeek Ward
Stafford Virginia Stake
National Capital Area Council 082
1399 Courthouse Rd
Stafford, Va 22554


Lds Acoma Ward Lake Havasu City Stake
Las Vegas Area Council 328
504 Acoma Blvd N
Lake Havasu City, AZ 86403


Lds Acworth Ward / Cartersville Stake
Atlanta Area Council 092
5055 Holt Rd Nw
Acworth, GA 30101


Lds Adrian Ward ‐ Ann Arbor Stake
Southern Shores Fsc 783
140 Sand Creek Hwy
Adrian, MI 49221


Lds Af Hillcrest Fifth Ward
Utah National Parks 591
680 N 350 W
American Fork, UT 84003


Lds Af Hillcrest First Ward
Utah National Parks 591
949 N 540 W
American Fork, UT 84003
Lds Af Hillcrest Fourth Ward
Utah National Parks 591
680 N 350 W
American Fork, UT 84003


Lds Af Hillcrest Second Ward
Utah National Parks 591
242 W 1400 N
American Fork, UT 84003


Lds Af Hillcrest Sixth Ward
Utah National Parks 591
1202 N 250 W
American Fork, UT 84003


Lds Af Hillcrest Third Ward
Utah National Parks 591
1120 N 150 W
American Fork, UT 84003


Lds Afton Stake ‐ Afton 1St Ward
Grand Teton Council 107
Box 762
Bo
Afton, WY 83110


Lds Afton Stake ‐ Afton 2Nd Ward
Grand Teton Council 107
P.O. Box 1385
Afton, WY 83110


Lds Afton Stake ‐ Afton 3Rd Ward
Grand Teton Council 107
165 E 5th Ave
Afton, WY 83110


Lds Afton Stake ‐ Afton 4Th Ward
Grand Teton Council 107
P.O. Box 1703
Afton, WY 83110


Lds Afton Stake ‐ Cottonwood Ward
Grand Teton Council 107
505 Lancaster Ln
Afton, WY 83110


Lds Afton Stake ‐ Fairview Ward
Grand Teton Council 107
3166 Wy State Hwy 241
Fairview, WY 83119


Lds Afton Stake ‐ Osmond Ward
Grand Teton Council 107
2949 State Hwy 241
Afton, WY 83110


Lds Afton Stake ‐ Salt River Ward
Grand Teton Council 107
104 Johnny Miller Dr
Afton, WY 83110


Lds Afton Stake ‐ Smoot Ward
Grand Teton Council 107
3166 Wy State Hwy 241
Smoot, WY 83126


Lds Agoura 1St Ward Newbury Park Stake
Ventura County Council 057
6100 Doubletree Rd
Oak Park, CA 91377


Lds Agoura 2Nd Ward Newbury Park Stake
Ventura County Council 057
6100 Doubletree Rd
Agoura Hills, CA 91377


Lds Ahtanum Creek Ward/Yakima Stake
Grand Columbia Council 614
9203 Bell Ave
Yakima, WA 98908


Lds Aiken Ward Augusta Georgia Stake
Georgia‐Carolina 093
514 E Pine Log Rd
Aiken, SC 29803


Lds‐ Akron Ward‐ Akron Stake
Great Trail 433
735 N Revere Rd
Akron, OH 44333


Lds Alabaster Ward Bessemer Stake
Greater Alabama Council 001
210 Laceys Grove
Alabaster, AL 35214


Lds Alameda Stake ‐ Alameda 1St Ward
Grand Teton Council 107
954 E Walnut St
Pocatello, ID 83201


Lds Alameda Stake ‐ Alameda 2Nd Ward
Grand Teton Council 107
954 E Walnut St
Pocatello, ID 83201


Lds Alameda Stake ‐ Alameda 3Rd Ward
Grand Teton Council 107
954 E Walnut St
Pocatello, ID 83201


Lds Alameda Stake ‐ Alameda 4Th Ward
Grand Teton Council 107
1440 Lakeview Dr
Pocatello, ID 83201


Lds Alameda Stake ‐ Alameda 5Th Ward
Grand Teton Council 107
1440 Lakeview Dr
Pocatello, ID 83201


Lds Alameda Stake ‐ Alameda 6Th Ward
Grand Teton Council 107
930 E Alameda Rd
Pocatello, ID 83201
Lds Alameda Stake ‐ Alameda 7Th Ward
Grand Teton Council 107
930 E Alameda Rd
Pocatello, ID 83201


Lds Alameda Stake ‐ Alameda 8Th Ward
Grand Teton Council 107
930 E Alameda Rd
Pocatello, ID 83201


Lds Alameda Ward Aurora Stake
Denver Area Council 061
11100 E Alameda Ave
Aurora, CO 80012


Lds Alamo Ward
Utah National Parks 591, 1st E and Main
Alamo, NV 89001


Lds Alamosa 2Nd Ward, Alamosa Stake
Rocky Mountain Council 063
2111 Thomas Ave
Alamosa, CO 81101


Lds Alamosa 3Rd Ward, Alamosa Stake
Rocky Mountain Council 063
2625 County Rd 8 S
Alamosa, CO 81101


Lds Alamosa 4Th Ward, Alamosa Stake
Rocky Mountain Council 063
7131 Rd 3 S
Alamosa, CO 81101


Lds Albany Ward
South Georgia Council 098
2700 Wgate Dr
Albany, GA 31707


Lds Albemarle Br
Chesapeake Virginia Stake
Tidewater Council 596
130 Standard Bred Way
Hertford, Nc 27944


Lds Alderwood Ward Lynnwood Stake
Mount Baker Council, Bsa 606
16124 35th Ave Se
Mill Creek, WA 98012


Lds Alexander Ward Meadows Stake
Las Vegas Area Council 328
7940 Hickam Ave
Las Vegas, NV 89129


Lds Alexandria Ward Mt Vernon Stake
National Capital Area Council 082
2810 King St
Alexandria, VA 22302


Lds Algonkian Ward Ashburn Stake
National Capital Area Council 082
Circle Dr At Maple Dr
Sterling, VA 20164


Lds Algonkian Ward Oakton Stake
National Capital Area Council 082
22066 Cir Dr
Sterling, VA 20164


Lds Alhambra Ward 201 Pasadena Stake
Greater Los Angeles Area 033
770 Sierra Madre Villa Ave
Pasadena Stake
Pasadena, CA 91107


Lds Aliante Ward Highland Hills Stake
Las Vegas Area Council 328
6101 Golden Harmony St
North Las Vegas, NV 89031


Lds‐ Alice
South Texas Council 577
1550 Morningside Dr
Alice, TX 78332


Lds Alkali Creek Ward, Billings E Stake
Montana Council 315
1640 Broadmoor Dr
Billings, Mt 59105


Lds Alma Branch ‐ Midland Stake
Water and Woods Council 782
927 N Union
Ithaca, MI 48847


Lds Alma Branch ‐ Santa Cruz Stake
Silicon Valley Monterey Bay 055
23187 Summit Rd
Los Gatos, CA 95033


Lds Alma Ward, Fort Smith Stake
Westark Area Council 016
200 Canterbury Dr
Alma, AR 72921


Lds Almaden Ward ‐ San Jose South Stake
Silicon Valley Monterey Bay 055
6625 Camden Ave
San Jose, CA 95120


Lds Aloha First Ward Bvtn West Stake
Cascade Pacific Council 492
17140 SW Bany Rd
Beaverton, OR 97007


Lds Aloha Second Ward Bvtn West Stake
Cascade Pacific Council 492
17140 SW Bany Rd
Beaverton, OR 97007


Lds Alpine Cove Ward
Utah National Parks 591
1681 Box Elder Cir
Alpine, UT 84004
Lds Alpine Eighth Ward
Utah National Parks 591
904 N Main St
Alpine, UT 84004


Lds Alpine Eleventh Ward
Utah National Parks 591
98 E Canyon Crest Rd
Alpine, UT 84004


Lds Alpine Fifth Ward
Utah National Parks 591
98 E Canyon Crest Rd
Alpine, UT 84004


Lds Alpine First Ward
Utah National Parks 591
890 N Heritage Dr
Alpine, UT 84004


Lds Alpine Fourth Ward
Utah National Parks 591
910 S High Bench Rd
Alpine, UT 84004


Lds Alpine Heights Ward
Ridgefield Wa Stake
Cascade Pacific Council 492
14805 Ne 259Th St
Battle Ground, Wa 98604


Lds Alpine Ninth Ward
Utah National Parks 591
1117 E Alpine Dr
Alpine, UT 84004


Lds Alpine Second Ward
Utah National Parks 591
1125 N Alpine Blvd
Alpine, UT 84004
Lds Alpine Seventh Ward
Utah National Parks 591
1125 N Alpine Blvd
Alpine, UT 84004


Lds Alpine Sixth Ward
Utah National Parks 591
901 E Village Way
Alpine, UT 84004


Lds Alpine Tenth Ward
Utah National Parks 591
370 S Long Dr
Alpine, UT 84004


Lds Alpine Third Ward
Utah National Parks 591
398 N Matterhorn Dr
Alpine, UT 84004


Lds Alpine Twelfth Ward
Utah National Parks 591
314 S 800 E
Alpine, UT 84004


Lds Alta Sierra Ward Auburn Stake
Golden Empire Council 047
1255 Bell Rd
Auburn, CA 95603


Lds Alta Vista Ward Red Rock Stake
Las Vegas Area Council 328
10550 W Alta
Las Vegas, NV 89144


Lds Altamont First Ward
Utah National Parks 591
P.O. Box 254
Altamont, UT 84001


Lds Altamont Second Ward
Utah National Parks 591
Hc 65 Box 125
Bluebell, UT 84007


Lds Alton Ward
Utah National Parks 591
P.O. Box 100022
12 S Main
Alton, UT 84710


Lds Alton Ward Ofallon Stake
Greater St Louis Area Council 312
34030 Craig Lake Rd
Brighton, IL 62012


Lds Altus Ward Lawton Stake
Last Frontier Council 480
309 Val Verde St
Altus, OK 73521


Lds Alum Rock Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
3060 Patt Ave
San Jose, CA 95133


Lds Amador Ward Anthem Hills Stake
Las Vegas Area Council 328
1500 Amador Ln
Henderson, NV 89012


Lds Amber Hills Ward
Desert Foothill Stake
Las Vegas Area Council 328
9011 Hillpointe Rd
Las Vegas, Nv 89134


Lds American Falls Stake
Aberdeen 1St Ward
Grand Teton Council 107
149 W Central St
Aberdeen, Id 83210
Lds American Falls Stake
Aberdeen 2Nd Ward
Grand Teton Council 107
111 Church Pl
American Falls, Id 83211


Lds American Falls Stake ‐ 1St Ward
Grand Teton Council 107
111 Church Pl
American Falls, ID 83211


Lds American Falls Stake ‐ 2Nd Ward
Grand Teton Council 107
111 Church Pl
American Falls, ID 83211


Lds American Falls Stake ‐ 3Rd Ward
Grand Teton Council 107
650 Pocatello Ave
American Falls, ID 83211


Lds American Falls Stake ‐ 4Th Ward
Grand Teton Council 107
650 Pocatello Ave
American Falls, ID 83211


Lds American Falls Stake ‐ Lakeview Ward
Grand Teton Council 107
2120 Hwy 39
Aberdeen, ID 83210


Lds American Falls Stake ‐ Rockland Ward
Grand Teton Council 107
P.O. Box 303
Rockland, ID 83271


Lds American Fork Eighteenth Ward
Utah National Parks 591
381 S 300 E
American Fork, UT 84003


Lds American Fork Eighth Ward
Utah National Parks 591
98 W 500 N
American Fork, UT 84003


Lds American Fork Eleventh Ward
Utah National Parks 591
240 S Center St
American Fork, UT 84003


Lds American Fork Fifteenth Ward
Utah National Parks 591
358 E 600 N
American Fork, UT 84003


Lds American Fork Fifth Ward
Utah National Parks 591
381 S 300 E
American Fork, UT 84003


Lds American Fork First Ward
Utah National Parks 591
467 S 380 E
American Fork, UT 84003


Lds American Fork Forty First Ward
Utah National Parks 591
240 S Center St
American Fork, UT 84003


Lds American Fork Fourteenth Ward
Utah National Parks 591
400 N 1100 E
American Fork, UT 84003


Lds American Fork Fourth Ward
Utah National Parks 591
455 E 300 N
American Fork, UT 84003


Lds American Fork Nineteenth Ward
Utah National Parks 591
284 E 900 N
American Fork, UT 84003


Lds American Fork Ninth Ward
Utah National Parks 591
673 E 300 N
American Fork, UT 84003


Lds American Fork Second Ward    Tongan
Utah National Parks 591
5287 W 10700 N
Highland, UT 84003


Lds American Fork Seventeenth Ward
Utah National Parks 591
240 S Center St
American Fork, UT 84003


Lds American Fork Seventh Ward
Utah National Parks 591
378 N 400 W
American Fork, UT 84003


Lds American Fork Sixteenth Ward
Utah National Parks 591
465 Hindley Dr
American Fork, UT 84003


Lds American Fork Sixth Ward
Utah National Parks 591
320 N 100 E
American Fork, UT 84003


Lds American Fork Tenth Ward
Utah National Parks 591
507 W 700 N.
American Fork, UT 84003


Lds American Fork Third Ward
Utah National Parks 591
590 N 350 W
American Fork, UT 84003
Lds American Fork Thirteenth Ward
Utah National Parks 591
975 N 60 E
American Fork, UT 84003


Lds American Fork Thirtieth Ward
Utah National Parks 591
261 N 900 E
American Fork, UT 84003


Lds American Fork Thirty Eighth Ward
Utah National Parks 591
196 S 980 E
American Fork, UT 84003


Lds American Fork Thirty Fifth Ward
Spanish
Utah National Parks 591
647 S 150 W Cir
American Fork, Ut 84003


Lds American Fork Thirty First Ward
Utah National Parks 591
1305 N 100 E
American Fork, UT 84003


Lds American Fork Thirty Second Ward
Utah National Parks 591
270 N 900 E
American Fork, UT 84003


Lds American Fork Thirty Seventh Ward
Utah National Parks 591
1275 E 650 N
American Fork, UT 84003


Lds American Fork Thirty Third Ward
Utah National Parks 591
945 N 370 E
American Fork, UT 84003
Lds American Fork Twelfth Ward
Utah National Parks 591
581 N 580 E
American Fork, UT 84003


Lds American Fork Twentieth Ward
Utah National Parks 591
825 E 500 N
American Fork, UT 84003


Lds American Fork Twenty Eighth Ward
Utah National Parks 591
384 E 500 S
American Fork, UT 84003


Lds American Fork Twenty Fifth Ward
Utah National Parks 591
320 N 100 E
American Fork, UT 84003


Lds American Fork Twenty First Ward
Utah National Parks 591
196 N 860 E
American Fork, UT 84003


Lds American Fork Twenty Fourth Ward
Utah National Parks 591
975 N 60 E
American Fork, UT 84003


Lds American Fork Twenty Ninth Ward
Utah National Parks 591
673 E 300 N
American Fork, UT 84003


Lds American Fork Twenty Second Ward
Utah National Parks 591
762 N 650 E
American Fork, UT 84003


Lds American Fork Twenty Seventh Ward
Utah National Parks 591
165 N 350 W
American Fork, UT 84003


Lds American Fork Twenty Sixth Ward
Utah National Parks 591
975 N 60 E
American Fork, UT 84003


Lds American Fork Twenty Third Ward
Utah National Parks 591
680 N 350 W
American Fork, UT 84003


Lds Amity Ward Mcminnville Stake
Cascade Pacific Council 492
7176 SE Eola Hills Rd
Amity, OR 97101


Lds Ammon East Stake
Quail Ridge 1St Ward
Grand Teton Council 107
6283 E Sharptail Rd
Idaho Falls, Id 83401


Lds Ammon East Stake
Quail Ridge 2Nd Ward
Grand Teton Council 107
6131 Pheasant Dr
Ammon, Id 83401


Lds Ammon East Stake
Thunder Ridge 1St Ward
Grand Teton Council 107
4459 John Adams Pkwy
Ammon, Id 83406


Lds Ammon East Stake
Thunder Ridge 2Nd Ward
Grand Teton Council 107
915 N Crimson Dr
Idaho Falls, Id 83401
Lds Ammon East Stake ‐ Cottages Ward
Grand Teton Council 107
2200 Stafford Dr
Ammon, ID 83401


Lds Ammon East Stake ‐ Cottonwood Ward
Grand Teton Council 107
5112 Lindee Ln
Idaho Falls, ID 83401


Lds Ammon East Stake ‐ Stone Arbor Ward
Grand Teton Council 107
4459 John Adams Pkwy
Ammon, ID 83406


Lds Ammon Foothill Stake
Ammon 27Th Ward
Grand Teton Council 107
5884 S Ammon Rd
Idaho Falls, Id 83406


Lds Ammon Foothill Stake
Ammon 28Th Ward
Grand Teton Council 107
5456 Cotton Tree Ln
Ammon, Id 83406


Lds Ammon Foothills Stake
Ammon 24Th Ward
Grand Teton Council 107
3934 E 49 S
Idaho Falls, Id 83406


Lds Ammon Foothills Stake
Ammon 30Th Ward
Grand Teton Council 107
3934 E 49Th St S
Ammon, Id 83406


Lds Ammon Foothills Stake
Ammon 31St Ward
Grand Teton Council 107
4375 E Sunnyside
Ammon, Id 83406


Lds Ammon Foothills Stake
Ammon 733 Ward
Grand Teton Council 107
7118 S Ledgerock Dr
Idaho Falls, Id 83406


Lds Ammon Foothills Stake
Ammon 7Th Ward
Grand Teton Council 107
5282 S Tappan Falls Dr
Idaho Falls, Id 83406


Lds Ammon Foothills Stk ‐Ammon 33Rd Wd
Grand Teton Council 107
7118 S Ledgerock Dr
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 11Th Ward
Grand Teton Council 107
645 Tennis Court Dr
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 14Th Ward
Grand Teton Council 107
4363 E 17th St
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 16Th Ward
Grand Teton Council 107
4363 E 17th St
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 18Th Ward
Grand Teton Council 107
4363 E 17th St
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 23Rd Ward
Grand Teton Council 107
4030 John Adams Pkwy
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 2Nd Ward
Grand Teton Council 107
1100 Tie Breaker Dr
Ammon, ID 83406


Lds Ammon North Stake ‐ Ammon 9Th Ward
Grand Teton Council 107
4030 John Adams Pkwy
Ammon, ID 83406


Lds Ammon North Stk ‐ Ammon 21St Ward
Grand Teton Council 107
4030 John Adams Pkwy
Ammon, ID 83406


Lds Ammon Stake ‐ Ammon 10Th Ward
Grand Teton Council 107
4375 E Sunnyside Rd
Idaho Falls, ID 83406


Lds Ammon Stake ‐ Ammon 1St Ward
Grand Teton Council 107
3000 Central Ave
Ammon, ID 83406


Lds Ammon Stake ‐ Ammon 25Th Ward
Grand Teton Council 107
2205 N Ammon Rd
Ammon, ID 83406


Lds Ammon Stake ‐ Ammon 3Rd Ward
Grand Teton Council 107
2051 Avocet Dr
Ammon, ID 83406


Lds Ammon Stake ‐ Ammon 4Th Ward
Grand Teton Council 107
4375 E Sunnyside
Idaho Falls, ID 83406
Lds Ammon Stake ‐ Ammon 5Th Ward
Grand Teton Council 107
3480 San Carlos St
Ammon, ID 83406


Lds Ammon Stake ‐ Ammon 6Th Ward
Grand Teton Council 107
3100 Carolyn Ln
Ammon, ID 83406


Lds Ammon Stake ‐ Ammon 8Th Ward
Grand Teton Council 107
2055 S Ammon Rd
Ammon, ID 83406


Lds Ammon West Stake ‐ Brookview Ward
Grand Teton Council 107
1925 E 49th S
Idaho Falls, ID 83404


Lds Ammon West Stake ‐ Parley Ward
Grand Teton Council 107
2055 Coronado St
Idaho Falls, ID 83404


Lds Ammon West Stake ‐ Stanfield Ward
Grand Teton Council 107
1925 E 4900 S
Idaho Falls, ID 83404


Lds Ammon West Stake ‐ Stonehaven Ward
Grand Teton Council 107
2055 Coronado St
Idaho Falls, ID 83402


Lds Ammon West Stake ‐ Summerwood Ward
Grand Teton Council 107
1925 E 49th S
Idaho Falls, ID 83404


Lds Ammon West Stake ‐ Woodruff 1St Ward
Grand Teton Council 107
1660 12th St
Idaho Falls, ID 83404


Lds Ammon West Stake ‐ Woodruff 2Nd Ward
Grand Teton Council 107
1660 12th St
Idaho Falls, ID 83404


Lds Ammon West Stake ‐ Woodruff 3Rd Ward
Grand Teton Council 107
2055 Coronado
Idaho Falls, ID 83404


Lds Anaconda Ward, Butte Stake
Montana Council 315
1300 W Park Ave
Anaconda, MT 59711


Lds Anacortes Ward Oak Harbor Stake
Mount Baker Council, Bsa 606
3720 H Ave
Anacortes, WA 98221


Lds Anadarko Branch Lawton Stake
Last Frontier Council 480
902 E Central Blvd
Anadarko, OK 73005


Lds Anatolia Ward Cordova Stake
Golden Empire Council 047
9821 Old Plrville Rd
Sacramento, CA 95827


Lds Anderson Greenville
Blue Ridge Council 551
150 Hart Rd
Anderson, SC 29621


Lds Anderson Mill Ward, Austin Stake
Capitol Area Council 564
11401 Antler Ln
Austin, TX 78726


Lds Anderson Ward
Blue Ridge Council 551
209 Mar Mac Rd
Anderson, SC 29626


Lds Andrews Branch, Odessa, Tx Stake
Buffalo Trail Council 567
560 NE 2000
Andrews, TX 79714


Lds Angel Crossing Ward
Layton South Stake
Trapper Trails 589
628 S Angel St
Layton, Ut 84041


Lds Angola Ward Fort Wayne Stake
Anthony Wayne Area 157
P.O. Box 280
102 E Webster St
Ashley, IN 46705


Lds Ann Arbor Ward 1‐ Ann Arbor Stake
Southern Shores Fsc 783
1385 Green Rd
Ann Arbor, MI 48105


Lds Ann Arbor Ward 2 ‐ Ann Arbor Stake
Southern Shores Fsc 783
525 Woodland Dr
Saline, MI 48176


Lds Annabella First Ward
Utah National Parks 591
P.O. Box 52
Annabella, UT 84711


Lds Annabella Second Ward
Utah National Parks 591
89 N 100 E
Annabella, UT 84711


Lds Annandale Ward Annandale Stake
National Capital Area Council 082
3408 Arnold Ln
Falls Church, VA 22042


Lds Annandale Ward Annandale Stake
National Capital Area Council 082
5344 Ravensworth Rd
Springfield, VA 22151


Lds Anniston Ward, Birmingham Stake
Lds
Greater Alabama Council 001
1217 Lenlock Ln
Anniston, Al 36206


Lds Anoka Stake ‐ Anoka Ward
Northern Star Council 250
2742 Yellowstone Blvd
Anoka, MN 55303


Lds Anoka Stake ‐ Buffalo Ward
Northern Star Council 250
9336 Ehler Ave Se
Delano, MN 55328


Lds Anoka Stake ‐ Elk River Ward
Northern Star Council 250
9474 Naber Ave Ne
Otsego, MN 55330


Lds Anoka Stake ‐ Elm Creek Ward
Northern Star Council 250
4700 Edinbrook Ter
Brooklyn Park, MN 55443


Lds Anoka Stake ‐ Maple Grove Ward
Northern Star Council 250
4700 Edinbrook Ter
Brooklyn Park, MN 55443
Lds Anoka Stake ‐ Medicine Lake Ward
Northern Star Council 250
2801 Douglas Dr N
Crystal, MN 55422


Lds Anoka Stake ‐ Shingle Creek Ward
Northern Star Council 250
4700 Edinbrook Ter
Brooklyn Park, MN 55443


Lds Anoka Stake ‐ Weaver Lake Ward
Northern Star Council 250
2801 Douglas Dr N
Crystal, MN 55422


Lds Antelope 2Nd Ward Antelope Stake
Golden Empire Council 047
3621 Elverta Rd
Antelope, CA 95843


Lds Antelope 4Th Ward Antelope Stake
Golden Empire Council 047
3621 Elverta Rd
Antelope, CA 95843


Lds Antelope Hills Ward
Layton Hills Stake
Trapper Trails 589
590 W Antelope Dr
Layton, Ut 84041


Lds Antelope Ward Anderson Stake
Golden Empire Council 047
545 Berrendos Ave
Red Bluff, CA 96080


Lds Anthem Ward Anthem Hills Stake
Las Vegas Area Council 328
875 Rich Perez Jr. Dr
Henderson, NV 89052
Lds Antietam Ward, Martinsburg Stake
Mason Dixon Council 221
1253 Mount Aetna Rd
Hagerstown, MD 21742


Lds Antimony Ward
Utah National Parks 591
121 S Blood Ln
Antimony, UT 84712


Lds Apopka Leesburg
Central Florida Council 083
610 Martin St
Apopka, FL 32712


Lds Apple Valley Ward
Utah National Parks 591
1427 N Mount Zion Dr
Apple Valley, UT 84737


Lds Appleton 1St Ward
Bay‐Lakes Council 635
425 W Park Ridge Ave
Appleton, WI 54911


Lds Appleton 2Nd Ward
Bay‐Lakes Council 635
425 W Park Ridge Ave
Appleton, WI 54911


Lds Aptos Ward ‐ Santa Cruz Stake
Silicon Valley Monterey Bay 055
255 Holm Rd
Watsonville, CA 95076


Lds Aquia Ward Stafford Virginia Stake
National Capital Area Council 082
1399 Courthouse Rd
Stafford, VA 22554


Lds‐ Arbor Branch   Sp
Sl Liberty Stake
Great Salt Lake Council 590
1515 S 200 E
Salt Lake City, Ut 84101


Lds Arbor View Ward Elkhorn Spgs Stake
Las Vegas Area Council 328
8093 Marin Pointe Ave
Las Vegas, Nv 89131


Lds Arcadia Branch Sarasota Stake
Southwest Florida Council 088
1111 E Gibson St
Arcadia, FL 34266


Lds Arcadia Ward 115 Arcadia Stake
Greater Los Angeles Area 033
614 W Foothill Blvd
Arcadia, CA 91006


Lds Arimo Stake ‐ Arimo Ward
Grand Teton Council 107
286 Henderson Av
Arimo, ID 83214


Lds Arimo Stake ‐ Downey 1St Ward
Grand Teton Council 107
525 E 100 N
Downey, ID 83234


Lds Arimo Stake ‐ Downey 2Nd Ward
Grand Teton Council 107
525 E 1st N
Downey, ID 83234


Lds Arimo Stake ‐ Garden Creek Ward
Grand Teton Council 107
286 Henderson Av
Arimo, ID 83214


Lds Arimo Stake ‐ Lava Ward
Grand Teton Council 107
437 W Spring Rd
Lava Hot Springs, ID 83246


Lds Arimo Stake ‐ Swanlake Ward
Grand Teton Council 107
P.O. Box 47
11617 E Cottonwood R
Swanlake, ID 83281


Lds Arimo Stake ‐ Virginia Ward
Grand Teton Council 107
Rt 1
Virginia, ID 83284


Lds Arlington 2Nd Ward Mclean Stake
National Capital Area Council 082
1600 N Inglewood St
Send All Mail To Exec Officers Address
Arlington, VA 22205


Lds Arlington 2Nd Ward Mclean Stake
National Capital Area Council 082
1600 N Inglewood St
Send Mail To Bishops Home Address
Arlington, VA 22205


Lds Arlington Heights Ward Iii
Pathway To Adventure 456
2035 N Windsor Dr
Arlington Heights, IL 60004


Lds Arlington Ward Arlington Stake
Mount Baker Council, Bsa 606
17414 79th Dr Ne
Arlington, WA 98223


Lds Arlington Ward Cambridge Stake
Mayflower Council 251
15 Ledgewood Pl
Belmont, MA 02478


Lds Arrowhead Ward Eldorado Stake
Las Vegas Area Council 328
801 Arrowhead Trl
Henderson, NV 89002


Lds Arroyo Grande Ward
Santa Maria Stake
Los Padres Council 053
751 S Traffic Way
Arroyo Grande, Ca 93420


Lds Arroyo Grande Ward Carnegie Stake
Las Vegas Area Council 328
2497 Cozy Hill Cir
Henderson, NV 89052


Lds Arroyo Vista Ward
Ventura County Council 057
3645 N Moorpark Rd
Thousand Oaks, CA 91360


Lds Artesia Branch ‐ Roswell Nm Stake
Conquistador Council Bsa 413
2519 W Hermosa Dr
Artesia, NM 88210


Lds Arvada 1St Ward, Arvada Stake
Denver Area Council 061
12995 W 72nd Ave
Arvada, CO 80005


Lds Arvada 2Nd Ward, Arvada Stake
Denver Area Council 061
6490 Quail St
Arvada, CO 80004


Lds Arvada 3Rd Ward, Arvada Stake
Denver Area Council 061
6490 Quail St
Arvada, CO 80004


Lds Arvada 4Th Ward, Arvada Stake
Denver Area Council 061
12995 W 72nd Ave
Arvada, CO 80005


Lds Arvada 5Th Ward, Arvada Stake
Denver Area Council 061
7080 Independence St
Arvada, CO 80004


Lds Arvada 6Th Ward, Arvada Stake
Denver Area Council 061
7080 Independence St
Arvada, CO 80004


Lds Ascutney Ward Concord Stake
Daniel Webster Council, Bsa 330
111 Red Water Brook Rd
Claremont, NH 03743


Lds Ash Flat
Quapaw Area Council 018
1292 Sunrise Rd
Salem, AR 72576


Lds Ash Point Ward
Utah National Parks 591
2977 E Saddle Rock Rd
Eagle Mountain, UT 84005


Lds Ashburn Stake Brambleton Ward
National Capital Area Council 082
21015 Claiborne Pkwy
Ashburn, VA 20147


Lds Ashburn Stake Catoctin Ward
National Capital Area Council 082
15 N Reid St
Hamilton, VA 20158


Lds Ashburn Ward Ashburn Stake
National Capital Area Council 082
21065 Claiborne Pkwy
Ashburn, VA 20147
Lds Ashbury Ward‐Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
6650 N Meridian Rd
Meridian, ID 83646


Lds Ashdown Forest Ward
Utah National Parks 591
2153 N Cliffrose Dr
Cedar City, UT 84721


Lds Asheboro Ward, High Point, NC Stake
Old N State Council 070
1109 Mcdowell Rd
Asheboro, NC 27205


Lds Asheville Ward
Asheville, North Carolina Stake
Daniel Boone Council 414
Asheville Ward
3401 Sweeten Creek Rd
Arden, Nc 28704


Lds Ashland Ward ‐ Medford Stake
Crater Lake Council 491
111 Clay St
Ashland, OR 97520


Lds Ashland Ward Huntington Wv Stake
Simon Kenton Council 441
1001 Kenwood Dr
Russell, KY 41169


Lds Ashley Creek Ward
Utah National Parks 591
4080 S 2500 E
Vernal, UT 84078


Lds Ashley First Ward
Utah National Parks 591
3040 N Vernal Ave
Vernal, UT 84078
Lds Ashley Second Ward
Utah National Parks 591
3040 N Vernal Ave
Vernal, UT 84078


Lds Ashley Third Ward
Utah National Parks 591
235 E 600 S
Vernal, UT 84078


Lds Ashtabula Ward Youngstown Stake
Lake Erie Council 440
571 7 Hills Rd
Ashtabula, OH 44004


Lds Ashton Park Ward Sac East Stake
Golden Empire Council 047
2745 Eern Ave
Sacramento, CA 95821


Lds Ashton Stake ‐ Ashton 1St Ward
Grand Teton Council 107
3528 E 1100 N
Ashton, ID 83420


Lds Ashton Stake ‐ Ashton 2Nd Ward
Grand Teton Council 107
P.O. Box 344
Ashton, ID 83420


Lds Ashton Stake ‐ Ashton 3Rd Ward
Grand Teton Council 107
3793 E 1300 N
P.O. Box 299
Ashton, ID 83420


Lds Ashton Stake ‐ Ashton 4Th Ward
Grand Teton Council 107
3715 Hwy 32
Ashton, ID 83420
Lds Ashton Stake ‐ Chester Ward
Grand Teton Council 107
P.O. Box 206
Chester, ID 83421


Lds Ashton Stake ‐ Island Park Ward
Grand Teton Council 107
P.O. Box 211
Island Park, ID 83429


Lds Ashton Stake ‐ West Yellowstone Ward
Grand Teton Council 107
P.O. Box 907
West Yellowstone, MT 59758


Lds Aspen Branch/Rifle Stake
Denver Area Council 061
P.O. Box 295
Aspen, CO 81612


Lds Aspen Eighth Ward
Utah National Parks 591
1485 N 800 W
Orem, UT 84057


Lds Aspen Eleventh Ward
Utah National Parks 591
965 W 2000 N
Orem, UT 84057


Lds Aspen Fifth Ward
Utah National Parks 591
965 W 2000 N
Orem, UT 84057


Lds Aspen First Ward
Utah National Parks 591
965 W 2000 N
Orem, UT 84057


Lds Aspen Heights Ward
Utah National Parks 591
1911 E 1850 S
Spanish Fork, UT 84660


Lds Aspen Hills Ward
Utah National Parks 591
1631 N Sage Ln
Saratoga Springs, UT 84045


Lds Aspen Meadows Second Ward
Utah National Parks 591
1167 S 1700 E
Spanish Fork, UT 84660


Lds Aspen Meadows Third Ward
Utah National Parks 591
1150 E 1240 S
Spanish Fork, UT 84660


Lds Aspen Meadows Ward
North Logan Utah Stake
Trapper Trails 589
2540 N 400 E
North Logan, Ut 84341


Lds Aspen Meadows Ward
Utah National Parks 591
1731 S 1140 E
Spanish Fork, UT 84660


Lds Aspen Ninth Ward
Utah National Parks 591
944 W 1720 N
Orem, UT 84057


Lds Aspen Park Ward, Riverton Stake
Greater Wyoming Council 638
4th and Elizabeth St
Riverton, WY 82501


Lds Aspen Second Ward
Utah National Parks 591
1485 N 800 W
Orem, UT 84057


Lds Aspen Seventh Ward Spanish
Utah National Parks 591
1782 N 980 W
Orem, UT 84057


Lds Aspen Sixth Ward
Utah National Parks 591
1546 N 1100 W
Orem, UT 84057


Lds Aspen Tenth Ward
Utah National Parks 591
1546 N 1100 W
Orem, UT 84057


Lds Aspen Third Ward
Utah National Parks 591
1546 N 1100 W
Orem, UT 84057


Lds Astoria Ward Rainier Stake
Cascade Pacific Council 492
37804 Eagle Ln
Astoria, OR 97103


Lds Atascadero 1St Ward
San Luis Obispo Stake
Los Padres Council 053
2600 Ramona Rd
Atascadero, Ca 93422


Lds Atascadero 2Nd Ward
San Luis Obispo Stake
Los Padres Council 053
2600 Ramona Rd
Atascadero, Ca 93422


Lds Athens Chattanooga
Great Smoky Mountain Council 557
508 Cedar Springs Rd
Athens, TN 37303


Lds‐ Athens First Ward‐Athens Stake
Northeast Georgia Council 101
1080 Julian Dr
Watkinsville, GA 30677


Lds Athens Ward
East Texas Area Council 585
23000 County Rd 145
Bullard, TX 75757


Lds Athens Ward, Madison Stake
Greater Alabama Council 001
27135 New Bethel Rd
Elkmont, AL 35620


Lds Atherton Ward E Lb Stake
Long Beach Area Council 032
6500 E Atherton St
Long Beach, CA 90815


Lds Atwater 1St Ward Merced Stake
Greater Yosemite Council 059
5554 N Winton Way
Atwater, CA 95301


Lds Aubrey Ward
Frisco Tx Shawnee Trl Stake
Circle Ten Council 571
8801 Martop Rd
Aubrey, Tx 76227


Lds Auburn 2Nd Ward Auburn Stake
Golden Empire Council 047
1255 Bell Rd
Auburn, CA 95603


Lds Auburn 3Rd Ward Auburn Stake
Golden Empire Council 047
287 Poet Smith Dr
Auburn, CA 95603


Lds Auburn Hills Ward, Parker Stake
Denver Area Council 061
11755 Tara Ln
Parker, CO 80134


Lds Auburn Ward Auburn Stake
Chief Seattle Council 609
625 M St Ne
Auburn, WA 98002


Lds Augusta Ward
Georgia‐Carolina 093
2108 Eland Dr
Augusta, GA 30904


Lds Aurora First Ward
Utah National Parks 591
40 W 100 N
Aurora, UT 84620


Lds Aurora Highlands Ward
Aurora S Stake
Denver Area Council 061
3103 S Flanders St
Aurora, Co 80013


Lds Aurora Second Ward
Utah National Parks 591
P.O. Box 1
P.O. Box 155
Aurora, UT 84620


Lds Austin First Ward, Oak Hills Stake
Capitol Area Council 564
2111 Parker Ln
Austin, TX 78741


Lds Autumn Fair Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
2331 N Ayrshire Pl
Meridian, ID 83646


Lds Autumn Ridge Ward
Utah National Parks 591
4588 N Eagle Mountain Blvd
Eagle Mountain, UT 84005


Lds Aviary Park Ward Shadow Mtn Stake
Las Vegas Area Council 328
3807 Ocelot Ct
North Las Vegas, Nv 89084


Lds Avondale Ward ‐ Alliance Stake
Longhorn Council 662
500 E Bonds Ranch Rd
Fort Worth, TX 76131


Lds Axtell Ward
Utah National Parks 591
P.O. Box 21093
Axtell, UT 84621


Lds Azle Ward ‐ Weatherford Stake
Longhorn Council 662
1010 Timberoaks Dr
Azle, TX 76020


Lds Aztec 1St Ward Bloomfield Stake
Great Swest Council 412
P.O. Box 682
505 N Oliver Dr
Aztec, NM 87410


Lds Aztec 2Nd Ward Bloomfield Stake
Great Swest Council 412
505 N Oliver Dr
Aztec, NM 87410


Lds Baggs Branch Wy/Craig Stake
Denver Area Council 061
431 N St
Baggs, WY 82321
Lds Bainbridge Island Ward
Silverdale Stake
Chief Seattle Council 609
8677 Madison Ave Ne
Bainbridge Island, Wa 98110


Lds Bainbridge Ward, Dothan, Al Stake
Suwannee River Area Council 664
1516 Longleaf Dr
Bainbridge, GA 39819


Lds Baldwin Park Ward‐Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
3831 N Bryce Canyon Pl
Meridian, ID 83646


Lds Ballard North Ward
Utah National Parks 591
5895 E 350 N
Ballard, UT 84066


Lds Ballard Ward
Utah National Parks 591
2561 E Hwy 40
Roosevelt, UT 84066


Lds Banbury Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6375 N Royal Park Ave
Boise, ID 83713


Lds Bandelier Ward Abq West Stake
Great Swest Council 412
4500 Seven Bar Loop Rd Nw
Albuquerque, NM 87114


Lds Bangor
Katahdin Area Council 216
639 Grandview Ave
Bangor, ME 04401
Lds‐ Bangor/Brewer
Katahdin Area Council 216
639 Grandview Ave
Bangor, ME 04401


Lds Baraboo Branch
Glaciers Edge Council 620
813 Iroquois Cir
Baraboo, WI 53913


Lds Barber Acres Ward
Syracuse South Stake
Trapper Trails 589
3024 S 1200 W
Syracuse, Ut 84075


Lds Barber Valley Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2290 E Warm Springs Ave
Boise, ID 83712


Lds Barnes Park Ward
Deseret Mill Stake
Trapper Trails 589
200 N 1275 W Flint St
Kaysville, Ut 84037


Lds Barr Lake Ward, Brighton Stake
Denver Area Council 061
1205 S 27th Ave
Brighton, CO 80601


Lds Barton Creek Ward, Oak Hills Stake
Capitol Area Council 564
12001 Bee Caves Rd
Austin, TX 78738


Lds Bass Lake Ward El Dorado Stake
Golden Empire Council 047
3431 Hacienda Rd
Cameron Park, CA 95682
Lds Bastrop Ward, Kyle Stake
Capitol Area Council 564
1635 Tahitian Dr
Bastrop, TX 78602


Lds Battle Creek Eighth Ward
Utah National Parks 591
1250 E 200 S
Pleasant Grove, UT 84062


Lds Battle Creek Fifth Ward
Utah National Parks 591
825 Loader Dr
Pleasant Grove, UT 84062


Lds Battle Creek First Ward
Utah National Parks 591
1250 E 200 S
Pleasant Grove, UT 84062


Lds Battle Creek Fourth Ward
Utah National Parks 591
1107 E 200 S
Pleasant Grove, UT 84062


Lds Battle Creek Ninth Ward
Utah National Parks 591
825 Loader Dr
Pleasant Grove, UT 84062


Lds Battle Creek Second Ward
Utah National Parks 591
1250 E 200 S.
Pleasant Grove, UT 84062


Lds Battle Creek Seventh Ward
Utah National Parks 591
1106 E 200 S
Pleasant Grove, UT 84062


Lds Battle Creek Sixth Ward
Utah National Parks 591
825 Loader Dr
Pleasant Grove, UT 84062


Lds Battle Creek Tenth Ward
Utah National Parks 591
1222 Nathaniel Dr
Pleasant Grove, UT 84062


Lds Battle Creek Third Ward
Utah National Parks 591
1222 Nathaniel Dr
Pleasant Grove, UT 84062


Lds Battle Creek Ward
Kalamazoo Mi Stake
Southern Shores Fsc 783
1312 Capital Ave Sw
Battle Creek, Mi 49015


Lds Battle Creek Ward 1‐ Kalamazoo Stake
Southern Shores Fsc 783
1312 Capital Ave Sw
Battle Creek, MI 49015


Lds Battle Creek Ward Salem Stake
Cascade Pacific Council 492
4550 Lone Oak Rd Se
Salem, OR 97302


Lds Battle Ground 1st Ward
Ridgefield Stake
Cascade Pacific Council 492
11101 Ne 119Th St
Vancouver, Wa 98662


Lds Battle Ground Second Ward
Ridgefield Stake
Cascade Pacific Council 492
11101 Ne 119Th St
Vancouver, Wa 98662
Lds Baumnolder Military Branch
Transatlantic Council, Bsa 802
Fritz‐Wunderlich Stra 16
Kusel, 66879
Germany


Lds Bayfield Ward Durango Stake
Great Swest Council 412
1690 US Hwy 160 B
Bayfield, CO 81122


Lds Bayside Ward Church Of Jesus Christ
Suitland Stake
National Capital Area Council 082
50 Clyde Jones Rd
Sunderland, Md 20689


Lds Baytown 1St Ward
Houston East Stake
Sam Houston Area Council 576
1010 Birdsong Dr
Baytown, Tx 77521


Lds Beacon Hill Ward
Utah National Parks 591
2324 W Meadow St
Cedar City, UT 84720


Lds Beacon Hill Ward ‐ Grants Pass Stake
Crater Lake Council 491
747 NE Savage St
Grants Pass, OR 97526


Lds Beacon Light Ward‐Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
9424 W Hills Gate Dr
Star, ID 83669


Lds Bear Canyon Ward Abq Stake
Great Swest Council 412
11750 San Victorio Ave Ne
Albuquerque, NM 87111
Lds Bear Creek 2Nd Ward
Houston West Sp Stake
Sam Houston Area Council 576
16198 Cairnway Dr
Houston, Tx 77084


Lds‐ Bear Creek Branch/Dallas Stake
Circle Ten Council 571
1019 Big Stone Gap Rd
Duncanville, TX 75137


Lds Bear Creek Stake
Morton Ranch Ward
Sam Houston Area Council 576
16198 Cairnway Dr
Houston, Tx 77084


Lds Bear Creek Ward ‐ Columbia Stake
Great Rivers Council 653
907 Old 63 N
Columbia, MO 65201


Lds Bear Creek Ward ‐ Medford Stake
Crater Lake Council 491
3194 Carriage Dr
Medford, OR 97501


Lds Bear Creek Ward Front Range Stake
Denver Area Council 061
6465 W Jewell Ave
Lakewood, CO 80232


Lds Bear Creek Ward Redmond Stake
Chief Seattle Council 609
10115 172nd Ave Ne
Redmond, WA 98052


Lds Bear River 1St Ward
Brigahm City North Stake
Trapper Trails 589
5870 N 4700 W
Bear River City, Ut 84301
Lds Bear River 2Nd Ward
Brigham North Stake
Trapper Trails 589
5870 N 4700 W
Bear River City, Ut 84301


Lds Bear River 3Rd Ward
Brigham City North Stake
Trapper Trails 589
5870 N 4700 W
Bear River City, Ut 84301


Lds Bear Vly Ward, E Bakersfield Stake
Southern Sierra Council 030
600 Anita Dr
Tehachapi, Ca 93561


Lds Beaufort Ward Savannah Georgia Stake
Coastal Carolina Council 550
6816 Elderberry Dr
Beaufort, SC 29906


Lds Beaufort Ward Savannah Stake
Coastal Carolina Council 550
6816 Elderberry Dr
Beaufort, SC 29906


Lds Beaumont Ward ‐ Reno Stake
Nevada Area Council 329
2027 Thornbury Ct
Reno, NV 89523


Lds Beaver Creek Ward Hillsboro Stake
Cascade Pacific Council 492
5570 SW Golden Rd
Hillsboro, OR 97123


Lds Beaver Dam Branch Madison Wi Stake
Bay‐Lakes Council 635
705 W Burnett St
Beaver Dam, WI 53916
Lds Beaver Fifth Ward
Utah National Parks 591
P.O. Box 1620
Beaver, UT 84713


Lds Beaver First Ward
Utah National Parks 591
P.O. Box H
Beaver, UT 84713


Lds Beaver Fourth Ward
Utah National Parks 591
P.O. Box 1408
Beaver, UT 84713


Lds Beaver Lake Ward Bellevue Stake
Chief Seattle Council 609
25744 SE 32nd Pl
Sammamish, WA 98075


Lds Beaver Second Ward
Utah National Parks 591
P.O. Box 790
Beaver, UT 84713


Lds Beaver Sixth Ward
Utah National Parks 591
2512 E Hwy 153
P.O. Box 1578
Beaver, UT 84713


Lds Beaver Third Ward
Utah National Parks 591
P.O. Box 868
Beaver, UT 84713


Lds Beavercreek Ward
Dayton Ohio East Stake    Does
Tecumseh 439
3072 Shakertown Rd
Beavercreek, Oh 45434
Lds Beaverton Ward Beaverton Stake
Cascade Pacific Council 492
8640 SW Turquoise Loop
Beaverton, OR 97007


Lds Bedford Ward ‐ Hurst Stake
Longhorn Council 662
850 Cannon Dr
Hurst, TX 76054


Lds Bedford Ward Concord Nh Stake
Daniel Webster Council, Bsa 330
34 Juniper Dr
Bedford, NH 03110


Lds Bee Cave Ward, Oak Hill Stake
Capitol Area Council 564
12001 Fm 2244
Bee Cave, TX 78738


Lds Bel Air Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
3555 S Cole Rd
Boise, ID 83709


Lds Belen Ward Los Lunas Stake
Great Swest Council 412
2199 Hwy 304
313 Gorman Ave
Belen, NM 87002


Lds Belgrade 1St Ward, Bozeman Stake
Montana Council 315
297 Bridger View Dr
Belgrade, MT 59714


Lds Belgrade 2Nd Ward, Bozeman Stake
Montana Council 315
297 Bridger View Dr
Belgrade, MT 59714
Lds Bella Vista Ward Mclean Stake
National Capital Area Council 082
1325 Scotts Run Rd
Mclean, VA 22102


Lds Bella Vista Ward Rogers Stake
Westark Area Council 016
1 Lambeth Dr
Bella Vista, AR 72714


Lds Bellano Creek Ward‐Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
2515 W Ustick Rd
Meridian, ID 83646


Lds Belle Isle Br
Bloomfield Hills Stake
Great Lakes Fsc 272
200 Conner St
Detroit, Mi 48215


Lds Bellefontaine Ward
Dayton Ohio East Stake Does
Tecumseh 439
1603 Township Rd 183
Bellefontaine, Oh 43311


Lds Belleville
Greater St Louis Area Council 312
100 S Jefferson St
Mascoutah, IL 62258


Lds Bellevue 1St Ward
Council Bluff Stake
Mid‐America Council 326
2210 Harlan Dr
Bellevue, Ne 68005


Lds Bellevue 2Nd Ward Papillion Stake
Mid‐America Council 326
2210 Harlan Dr
Bellevue, NE 68005
Lds Bellevue Lake Hills Ward
Bellevue Stake
Chief Seattle Council 609
14536 Main St
Bellevue, Wa 98007


Lds Bellevue Overlake Ward
Bellevue Stake
Chief Seattle Council 609
16035 Nup Way
Bellevue, Wa 98008


Lds Bellevue Ward Bellevue Stake
Chief Seattle Council 609
3210675 NE 20th St
Bellevue, WA 98004


Lds Bellflower Ward Cerritos Stake
Long Beach Area Council 032
16115 Studebaker Rd
Cerritos, CA 90703


Lds Bellingham Bay Ward Bellingham Stake
Mount Baker Council, Bsa 606
5800 Nwest Rd
Bellingham, WA 98248


Lds Belmont Ridge Ward Ashburn Stake
National Capital Area Council 082
21015 Claiborne Pkwy
Ashburn, VA 20147


Lds Belmont Ward Cambridge Stake
Mayflower Council 251
123 Winter St
Belmont, MA 02478


Lds Belton Ward ‐ Waco Stake
Longhorn Council 662
3909 Ermine Trail
Temple, TX 76504
Lds Belvedere 2Nd Ward 194 East La Stake
Greater Los Angeles Area 033
2316 Hillview Ave
Monterey Park, CA 91754


Lds Ben Lomond 10Th Ward
Ben Lomond Stake
Trapper Trails 589
3350 N 1050 E
North Ogden, Ut 84414


Lds Ben Lomond 11Th Ward
Ben Lomond Stake
Trapper Trails 589
3610 N 650 E
North Ogden, Ut 84414


Lds Ben Lomond 12Th Ward
Ben Lomond Stake
Trapper Trails 589
3610 N 650 E
North Ogden, Ut 84414


Lds Ben Lomond 1St Ward
Ben Lomond Stake
Trapper Trails 589
575 E 3100 N
North Ogden, Ut 84414


Lds Ben Lomond 4Th Ward
Ben Lomond Stake
Trapper Trails 589
3350 N 1050 E
North Ogden, Ut 84414


Lds Ben Lomond 5Th Ward
Ben Lomond Stake
Trapper Trails 589
3350 N 1050 E
North Ogden, Ut 84414
Lds Ben Lomond 9Th Ward
Ben Lomond Stake
Trapper Trails 589
575 E 3100 N
North Ogden, Ut 84414


Lds Benjamin First Ward
Utah National Parks 591
7094 S 3400 W
Spanish Fork, UT 84660


Lds Benjamin Second Ward
Utah National Parks 591
3238 W 7300 S
Spanish Fork, UT 84660


Lds Bennett Valley Ward
Redwood Empire Council 041
1780 Yulupa Ave
Santa Rosa, CA 95405


Lds Bennington Ward Omaha Stake
Mid‐America Council 326
17606 Spaulding St
Omaha, NE 68116


Lds Benson Hill Ward Renton Stake
Chief Seattle Council 609
19714 106th Ave Se
Renton, WA 98055


Lds Bentonville 1St Ward
Bentonville Stake
Westark Area Council 016
1101 Ne Mccollum Dr
Bentonville, Ar 72712


Lds Bentonville Ward 1 Rogers Stake
Westark Area Council 016
1101 NE Mccollum Dr
Bentonville, AR 72712
Lds Bentonville Ward 2 Rogers Stake
Westark Area Council 016
1101 NE Mccollum Dr
Bentonville, AR 72712


Lds Berkshire Ward S Bakersfield Stake
Southern Sierra Council 030
2801 S Real Rd
Bakersfield, Ca 93309


Lds Bermuda Ward Warm Springs Stake
Las Vegas Area Council 328
9270 S Maryland Pkwy
Las Vegas, NV 89123


Lds Bernal Ward ‐ Morgan Hill Stake
Silicon Valley Monterey Bay 055
150 Bernal Rd
Bernal Ward
San Jose, CA 95119


Lds Bernalillo Ward Abq North Stake
Great Swest Council 412
P.O. Box 1279
Bernalillo, NM 87004


Lds Berryessa Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
3110 Cropley Ave
San Jose, CA 95132


Lds Berryville Ward
Winchester, Va Stake
Shenandoah Area Council 598
399 Apple Pie Ridge Rd
Winchester, Va 22603


Lds Bessemer Ward
Bessemer Alabama Stake
Greater Alabama Council 001
831 Briarwood Dr
Bessemer, Al 35022
Lds Bethany Ward Cedar Mill Stake
Cascade Pacific Council 492
955 NW 173rd Ave
Beaverton, OR 97006


Lds Bethesda Ward Washington Dc Stake
National Capital Area Council 082
11700 Falls Rd
Potomac, MD 20854


Lds Bethlehem Ward Pa Reading Stake
Minsi Trails Council 502
1881 Van Buren Dr
Whitehall, PA 18052


Lds Beverly Park Ward Lynnwood Stake
Mount Baker Council, Bsa 606
11001 Harbour Pointe Blvd
Mukilteo, WA 98275


Lds Bible Park Ward ‐ Denver Stake
Denver Area Council 061
2710 S Monaco Pkwy
Denver, CO 80222


Lds Big Spring Ward
Buffalo Trail Council 567
P.O. Box 3825
Big Spring, TX 79721


Lds Big Timber Bozeman Stake
Montana Council 315
1110 E 2nd Ave
Big Timber, MT 59011


Lds Big Timber, Bozeman Stake
Montana Council 315
P.O. Box 346
Big Timber, MT 59011


Lds Bigfork Ward, Kalispell Stake
Montana Council 315
East Shore 121
Crestview Dr
Big Fork, MT 59911


Lds Billerica Ward Nashua Stake
The Spirit of Adventure 227
70 Concord Rd
Billerica, MA 01821


Lds Binghamton Ward Owego Stake
Baden‐Powell Council 368
305 Murray Hill Rd
Vestal, NY 13850


Lds Birdseye Ward
Utah National Parks 591
8000E 36500N
Indianola, UT 84629


Lds Birmingam Ward Birmingham Stake
Greater Alabama Council 001
1337 Springville Rd
Birmingham, AL 35215


Lds Birmingham Vestavia Hills Ward
Greater Alabama Council 001
2768 Altadena Rd
Vestavia, AL 35243


Lds Bitteroot Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
1111 S Cole Rd
Boise, ID 83709


Lds Black Canyon Ward Eldorado Stake
Las Vegas Area Council 328
916 5th St
Boulder City, NV 89005


Lds Black Canyon Ward/Montrose Stake
Denver Area Council 061
1521 S Hillcrest Dr
Montrose, CO 81401


Lds Black Forest Ward‐High Plains Stake
Pikes Peak Council 060
6950 Shoup Rd
Colorado Springs, CO 80908


Lds Black Hills Ward
Black Hills Area Council 695 695
2822 Canyon Lake Dr
Rapid City, SD 57702


Lds Black Mtn Ward
Hend Nv Black Mtn Stake
Las Vegas Area Council 328
400 S Water St
Henderson, Nv 89015


Lds Blackfoot East Stake
Blkft 11Th Ward
Grand Teton Council 107
520 N Shilling Ave
Blackfoot, Id 83221


Lds Blackfoot East Stake
Blkft 12Th Ward
Grand Teton Council 107
1289 Mount Putnam Dr
Blackfoot, Id 83221


Lds Blackfoot East Stake
Blkft 2Nd Ward
Grand Teton Council 107
660 Teton Rd
Blackfoot, Id 83221


Lds Blackfoot East Stake
Blkft 6Th Ward
Grand Teton Council 107
660 Teton Rd
Blackfoot, Id 83221
Lds Blackfoot East Stake
Blkft 9Th Ward
Grand Teton Council 107
1289 Mount Putnam Dr
Blackfoot, Id 83221


Lds Blackfoot East Stk ‐ Blkft 15Th Ward
Grand Teton Council 107
1650 Highland Dr
Blackfoot, ID 83221


Lds Blackfoot S Stake ‐Pioneer Br
Grand Teton Council 107
845 Grant St
Blackfoot, Id 83221


Lds Blackfoot South Stake
Blkft 10Th Ward
Grand Teton Council 107
900 Riverton Rd
Blackfoot, Id 83221


Lds Blackfoot South Stake
Blkft 14Th Ward
Grand Teton Council 107
900 Riverton Rd
Blackfoot, Id 83221


Lds Blackfoot South Stake
Blkft 3Rd Ward
Grand Teton Council 107
845 Grant St
Blackfoot, Id 83221


Lds Blackfoot South Stake
Groveland 1St Ward
Grand Teton Council 107
155 N 380 W
Blackfoot, Id 83221


Lds Blackfoot South Stake
Groveland 2Nd Ward
Grand Teton Council 107
155 N 380 W
Blackfoot, Id 83221


Lds Blackfoot South Stake
Riverton Ward
Grand Teton Council 107
701 W 300 S
Blackfoot, Id 83221


Lds Blackfoot Stake ‐ Blkft 13Th Ward
Grand Teton Council 107
1650 Highland Dr
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Blkft 1St Ward
Grand Teton Council 107
187 N Ash St
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Blkft 7Th Ward
Grand Teton Council 107
1650 Highland Dr
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Rose 1St Ward
Grand Teton Council 107
403 N 150 W
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Rose 2Nd Ward
Grand Teton Council 107
403 N 150 W
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Rose 3Rd Ward
Grand Teton Council 107
403 N 150 W
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Wapello 1St Ward
Grand Teton Council 107
303 N 200 E
Blackfoot, ID 83221


Lds Blackfoot Stake ‐ Wapello 2Nd Ward
Grand Teton Council 107
337 N 200 E
Blackfoot, ID 83221


Lds Blackfoot West Stake
Moreland 2Nd Ward
Grand Teton Council 107
101 N 900 W
Blackfoot, Id 83221


Lds Blackfoot West Stake
Pingree 1St Ward
Grand Teton Council 107
402 S 1100 W
Pingree, Id 83262


Lds Blackfoot West Stake
Pingree 2Nd Ward
Grand Teton Council 107
1533 W Hwy 39
Pingree, Id 83262


Lds Blackfoot West Stake
Thomas 1St Ward
Grand Teton Council 107
101 N 900 W
Blackfoot, Id 83221


Lds Blackfoot West Stake
Thomas 2Nd Ward
Grand Teton Council 107
101 N 900 W
Blackfoot, Id 83221


Lds Blackfoot West Stake
Thomas 3Rd Ward
Grand Teton Council 107
1059 W 100 S
Blackfoot, Id 83221
Lds Blackfoot West Stake
Thomas 4Th Ward
Grand Teton Council 107
122 S 800 W
Blackfoot, Id 83221


Lds Blackfoot West Stake
Thomas 6Th Ward
Grand Teton Council 107
930 W Hwy 39
Blackfoot, Id 83221


Lds Blaine Ward Bellingham Stake
Mount Baker Council, Bsa 606
9355 Sunrise Rd
Blaine, WA 98230


Lds Blair Branch Omaha Stake
Mid‐America Council 326
2703 Sunrise Dr
Blair, NE 68008


Lds Blanchard Ward Norman Stake
Last Frontier Council 480
117 W Blanchard Dr
Blanchard, OK 73010


Lds Blanding Eighth Ward
Utah National Parks 591
200 S Main St
Blanding, UT 84511


Lds Blanding Fifth Ward
Utah National Parks 591
255 E 200 N
Blanding, UT 84511


Lds Blanding First Ward
Utah National Parks 591
200 N Main St
Blanding, UT 84511
Lds Blanding Second Ward
Utah National Parks 591
100 W 800 N
Blanding, UT 84511


Lds Blanding Seventh Ward
Utah National Parks 591
255 E 200 N
Blanding, UT 84511


Lds Blanding Sixth Ward
Utah National Parks 591
94 N 100 W
Blanding, UT 84511


Lds Blanding Third Ward
Utah National Parks 591
100 W 800 N
Blanding, UT 84511


Lds Blkft Northwest Stake
Moreland 1St Ward
Grand Teton Council 107
740 W 175 N
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Moreland 3Rd Ward
Grand Teton Council 107
95 N 740 W
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Moreland 4Th Ward
Grand Teton Council 107
740 W 175 N
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Moreland 5Th Ward
Grand Teton Council 107
175 N 740 W
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Moreland 6Th Ward
Grand Teton Council 107
75 N 740 W
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Riverside 1St Ward
Grand Teton Council 107
7 N 700 W
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Riverside 2Nd Ward
Grand Teton Council 107
7 N 700 W
Blackfoot, Id 83221


Lds Blkft Northwest Stake
Riverside 3Rd Ward
Grand Teton Council 107
7 N 700 W
Blackfoot, Id 83221


Lds Blodgett Canyon Ward
Stevensville Stake
Montana Council 315
401 S 8Th St
Hamilton, Mt 59840


Lds Bloomfield Hills Ward
Bloomfield Hills Stake
Great Lakes Fsc 272
37425 Woodward Ave
Bloomfield Hills, Mi 48304


Lds Bloomington Eighth Ward
Utah National Parks 591
3381 Mulberry Dr
St George, UT 84790
Lds Bloomington Fifth Ward
Utah National Parks 591
200 W Brigham Rd
St George, UT 84790


Lds Bloomington First Ward
Utah National Parks 591
321 Damascus Dr
St George, UT 84790


Lds Bloomington Fourth Ward
Utah National Parks 591
3381 Mulberry Dr
St George, UT 84790


Lds Bloomington Hills Eighth Ward
Utah National Parks 591
1222 E Brigham Rd
St George, UT 84790


Lds Bloomington Hills Fifth Ward
Utah National Parks 591
1130 E Brigham Rd
St George, UT 84790


Lds Bloomington Hills First Ward
Utah National Parks 591
1130 E Brigham Rd
St. George, UT 84790


Lds Bloomington Hills Fourth Ward
Utah National Parks 591
750 E Fort Pierce Dr N
St George, UT 84790


Lds Bloomington Hills Second Ward
Utah National Parks 591
750 E Fort Pierce Dr N
St George, UT 84790
Lds Bloomington Hills Sixth Ward
Utah National Parks 591
442 Calla Cir
St George, UT 84790


Lds Bloomington Hills Tenth Ward
Utah National Parks 591
1222 E Brigham Rd
St George, UT 84790


Lds Bloomington Hills Third Ward
Utah National Parks 591
1222 E Brigham Rd
St George, UT 84790


Lds Bloomington Second Ward
Utah National Parks 591
200 W Brigham Rd
St. George, UT 84790


Lds Bloomington Seventh Ward
Utah National Parks 591
3519 Manzanita Rd
St George, UT 84790


Lds Bloomington Sixth Ward
Utah National Parks 591
3381 Mulberry Dr
St George, UT 84790


Lds Bloomington Third Ward
Utah National Parks 591
3519 Manzanita Rd
Saint George, UT 84790


Lds Blossom Valley Ward
San Jose South Stake
Silicon Valley Monterey Bay 055
5700 Comanche Dr
San Jose, Ca 95123


Lds Blue Creek Ward, Billings Stake
Montana Council 315
3595 Monad Rd
Billings, MT 59102


Lds‐ Blue Grass Ward‐Lexington Stake
Blue Grass Council 204
1789 Tates Creek Rd
Lexington, KY 40502


Lds Blue Hills Ward
Utah National Parks 591
35 W 200 N
Ferron, UT 84523


Lds Blue Lake Ward Gresham Stake
Cascade Pacific Council 492
P.O. Box 471
Gresham, OR 97030


Lds Blue Meadows Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
5795 S Five Mile Rd
Boise, ID 83709


Lds Blue Mills Ward Warrensburg Stake
Heart of America Council 307
705 W Walnut St
Independence, MO 64050


Lds Blue Springs 1St Ward Kcmo Stake
Heart of America Council 307
1416 SW 19th St
Blue Springs, MO 64015


Lds Blue Springs 2Nd Ward Indep Stake
Heart of America Council 307
1416 SW 19th St
Blue Springs, MO 64015


Lds Blue Water Ward‐Grand Blanc Stake
Water and Woods Council 782
1990 N River Rd
Saint Clair, MI 48079


Lds Bluebell Ward
Utah National Parks 591
P.O. Box 649
Bluebell, UT 84007


Lds Bluff Branch
Utah National Parks 591
1372 N Blue Mountain Rd
Blanding, UT 84511


Lds Bluff Ridge Ward
Syracuse South Stake
Trapper Trails 589
535 W 2700 S
Syracuse, Ut 84075


Lds Blythe Ward Lake Havasu City Stake
California Inland Empire Council 045
700 N Broadway
Blythe, CA 92225


Lds Blythewood Ward
Indian Waters Council 553
1391 Centerville Rd
Ridgeway, SC 29130


Lds Boca Raton Ward Pompano Bch Stake
Gulf Stream Council 085
1530 W Camino Real
Boca Raton, FL 33486


Lds Boeckman Creek Ward
Lake Oswego Stake
Cascade Pacific Council 492
11063 Sw Matzen Dr
Wilsonville, Or 97070


Lds Boise 13Th Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
3229 N Bogus Basin Rd
Boise, ID 83702


Lds Boise 1St Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2290 E Warm Springs Ave
Boise, ID 83712


Lds Boise 6Th Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
1925 S Broadway Ave
Boise, ID 83706


Lds Boise Hillside Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
3701 N Woody Dr
Boise, ID 83703


Lds Bonanza Ward Las Vegas Stake
Las Vegas Area Council 328
4500 W Bonanza Rd
Las Vegas, NV 89107


Lds Bonds Ranch Ward ‐ Alliance Stake
Longhorn Council 662
500 W Bonds Ranch Rd
Fort Worth, TX 76131


Lds Bonita Springs Ward Fort Myers Stake
Southwest Florida Council 088
20601 Three Oaks Pkwy
Estero, FL 33928


Lds Bonners Ferry Ward ‐ Sandpoint Stake
Inland Nwest Council 611
1512 Alderson Ln
Bonners Ferry, ID 83805


Lds Bonneville Eighth Branch     Hospital
Utah National Parks 591
1300 E Center St
Provo, UT 84606
Lds Bonneville Eleventh Ward
Utah National Parks 591
833 E 1090 S
Provo, UT 84606


Lds Bonneville Fifth Ward
Utah National Parks 591
951 E 200 N
Provo, UT 84606


Lds Bonneville First Ward
Utah National Parks 591
85 S 900 E
Provo, UT 84606


Lds Bonneville Fourth Ward
Utah National Parks 591
1289 E 300 S
Provo, UT 84606


Lds Bonneville Second Ward
Utah National Parks 591
1289 E 300 S
Provo, UT 84606


Lds Bonneville Seventh Ward    Spanish
Utah National Parks 591
1086 S 950 E, Apt 215
Provo, UT 84606


Lds Bonneville Sixth Ward
Utah National Parks 591
123 S 600 E
Provo, UT 84606


Lds Bonneville Tenth Ward
Utah National Parks 591
1498 E 800 S
Provo, UT 84606


Lds Bonneville Third Ward
Utah National Parks 591
557 E 400 S
Provo, UT 84606


Lds Bonneville Thirteenth
Utah National Parks 591
1498 E 800 S
Provo, UT 84606


Lds Bonneville Twelfth
Utah National Parks 591
715 S Utah Ave
Provo, UT 84606


Lds Bookcliff Ward/Gj West Stake
Denver Area Council 061
2542 G Rd
Grand Junction, CO 81505


Lds Borger Ward Amarillo Tx Stake
Golden Spread Council 562
1314 Roosevelt St
Borger, TX 79007


Lds Boston 1St Ward Boston Stake
Mayflower Council 251
79 Mount Hope St
Roslindale, MA 02131


Lds Bothell Ward Bothell Stake
Chief Seattle Council 609
19215 88th Ave Ne
Bothell, WA 98011


Lds Boulder Springs Ward Kingman Stake
Las Vegas Area Council 328
610 Eern Ave
Kingman, AZ 86401


Lds Boulder Ward
Utah National Parks 591
P.O. Box 1324
Boulder, UT 84716


Lds Bowie Ward Suitland Stake
National Capital Area Council 082
16621 Sylvan Dr
Bowie, MD 20715


Lds Bowles Grove Ward, Littleton Stake
Denver Area Council 061
910 W Ridge Rd
Littleton, CO 80120


Lds Bozeman 1St Ward, Bozeman Stake
Montana Council 315
2915 Colter Ave
Bozeman, MT 59715


Lds Bozeman 2Nd Ward, Bozeman Stake
Montana Council 315
2915 Colter Ave
Bozeman, MT 59715


Lds Bozeman 3Rd Ward, Bozeman Stake
Montana Council 315
2915 Colter Ave
Bozeman, MT 59715


Lds Braddock Heights Ward
Frederick Stake
National Capital Area Council 082
199 N Pl
Frederick, Md 21701


Lds Bradenton Ward Sarasota Stake
Southwest Florida Council 088
3400 Cortez Rd W
Bradenton, FL 34210


Lds Brambleton Ward Ashburn Stake
National Capital Area Council 082
22425 Belle Terra Dr
Ashburn, VA 20148
Lds Branch Shekou
Far E Council 803
66 Jing Shan Villas
Shekou,
China


Lds Brandenburg Ward
Lincoln Heritage Council 205
1423 Old Ekron Rd
Brandenburg, KY 40108


Lds Branham Ward ‐ South San Jose Stake
Silicon Valley Monterey Bay 055
6625 Camden Ave
San Jose, CA 95120


Lds Bremerton Ward Bremerton Stake
Chief Seattle Council 609
2225 Perry Ave
Bremerton, WA 98310


Lds Brenham Ward
College Station Stake
Sam Houston Area Council 576
1400 Niebuhr St
Brenham, Tx 77833


Lds Briargate Ward‐East Stake
Pikes Peak Council 060
3620 Windjammer Dr
Colorado Springs, CO 80920


Lds Bridgecreek Ward
Layton South Stake
Trapper Trails 589
628 S Angel St
Layton, Ut 84041


Lds Bridgeland Ward
Utah National Parks 591
Hc 64 Box 155‐2
Duchesne, UT 84021


Lds Bridgeport Ward New Haven Stake
Connecticut Yankee Council Bsa 072
30 Bonnie View Dr
Trumbull, CT 06611


Lds ‐Bridger Pass /Laramie Stake
Longs Peak Council 062
1121 High St
Rawlins, WY 82301


Lds Bridgerland Park 1St Ward
Cache Stake
Trapper Trails 589
825 N 200 W
Logan, Ut 84321


Lds Bridgerland Park 3Rd Ward
Cache Stake
Trapper Trails 589
280 W 1200 N
Logan, Ut 84321


Lds Bridgeton Br Cherry Hill Nj Stake
Garden State Council 690
75 N Laurel St
Bridgeton, Nj 08302


Lds Bridgetower Ward
Lds Mcmillan Ward, Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
2515 W Ustick Rd
Meridian, Id 83646


Lds Bridle Gate Ward
Utah National Parks 591
3047 E 2890 S Cir
Saint George, UT 84790


Lds Brigham City 10Th Ward
Brigham City South Stake
Trapper Trails 589
528 S 300 W
Brigham City S
Brigham City, Ut 84302


Lds Brigham City 11Th Ward
Box Elder Stake
Trapper Trails 589
506 S 200 E
Brigham City, Ut 84302


Lds Brigham City 12Th Ward
Brigham City Stake
Trapper Trails 589
139 E 300 N
Brigham City Utah Stake
Brigham City, Ut 84302


Lds Brigham City 13Th Ward
Brigham City Stake
Trapper Trails 589
25 N 300 E
Brigham City, Ut 84302


Lds Brigham City 14Th Ward
Brigham City Stake
Trapper Trails 589
650 Anderson Dr
Brigham City, Ut 84302


Lds Brigham City 15Th Ward
Brigham West Stake
Trapper Trails 589
203 N 200 W
Brigham City, Ut 84302


Lds Brigham City 16Th Ward
Brigham City South Stake
Trapper Trails 589
145 W 500 S
Brigham City, Ut 84302


Lds Brigham City 17Th Ward
Brigham City Stake
Trapper Trails 589
139 E 300 N
Brigham City, Ut 84302


Lds Brigham City 18Th Ward
Brigham City West Stake
Trapper Trails 589
895 N 625 W
Brigham City, Ut 84302


Lds Brigham City 19Th Ward
Brigham City South Stake
Trapper Trails 589
105 Fishburn Dr
Brigham City, Ut 84302


Lds Brigham City 1St Ward
Box Elder Stake
Trapper Trails 589
236 E 100 S
Brigham City, Ut 84302


Lds Brigham City 20Th Ward
Brigham City Stake
Trapper Trails 589
650 Anderson Dr
Brigham City, Ut 84302


Lds Brigham City 21St Ward
Brigham South Stake
Trapper Trails 589
865 S 300 W
Brigham City, Ut 84302


Lds Brigham City 22Nd Ward
Brigham City West Stake
Trapper Trails 589
895 N 625 W
Brigham City, Ut 84302


Lds Brigham City 24Th Ward
Brigham City Stake
Trapper Trails 589
650 Anderson Dr
Brigham City, Ut 84302


Lds Brigham City 25Th Ward
Brigham City South Stake
Trapper Trails 589
865 S 300 W
Brigham City, Ut 84302


Lds Brigham City 26 Ward
Brigham City South Stake
Trapper Trails 589
865 S 300 W
Brigham City, Ut 84302


Lds Brigham City 2Nd Ward
Box Elder Stake
Trapper Trails 589
420 S 800 W
Brigham City, Ut 84302


Lds Brigham City 3Rd Ward
Brigham City West Stake
Trapper Trails 589
203 N 200 W
Brigham City, Ut 84302


Lds Brigham City 4Th Ward
Brigham City Stake
Trapper Trails 589
25 N 300 E
Brigham City, Ut 84302


Lds Brigham City 5Th Ward
Box Elder Stake
Trapper Trails 589
420 S 800 W
Brigham City, Ut 84302


Lds Brigham City 6Th Ward
Brigham City South Stake
Trapper Trails 589
105 Fishburn Dr
Brigham City, Ut 84302


Lds Brigham City 7Th Ward
Brigham City West Stake
Trapper Trails 589
531 N 100 W
Brigham W Stake
Brigham City, Ut 84302


Lds Brigham City 8Th Ward
Brigham City Stake
Trapper Trails 589
139 E 300 N
Brigham City, Ut 84302


Lds Brigham City 9Th Ward
Box Elder Stake
Trapper Trails 589
531 N 100 W
Brigham City, Ut 84302


Lds Brigham City River Ward
Brigham City West Stake
Trapper Trails 589
531 N 100 W
Brigham City, Ut 84302


Lds Brigham Willows
Brigham West Stake
Trapper Trails 589
895 N 625 W
Brigham City, Ut 84302


Lds Brighton Ward ‐ Ann Arbor Stake
Southern Shores Fsc 783
1041 W Grand River Ave
Howell, MI 48843


Lds Brighton Ward Cordova Stake
Golden Empire Council 047
9009 Trujillo Way
Sacramento, CA 95826
Lds Brighton Ward, Brighton Stake
Denver Area Council 061
1454 Myrtle St
Brighton, CO 80601


Lds Brimhall Ward, Bakersfield Stake
Southern Sierra Council 030
601 Deseret Way
Bakersfield, CA 93309


Lds Bristol Heights Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6375 N Royal Park
Boise, ID 83713


Lds Bristol Ward
Sequoyah Council 713
13 Heritage Dr
Bristol, VA 24201


Lds Bristow Ward Woodbridge Stake
National Capital Area Council 082
5750 Websters Way
Manassas, VA 20112


Lds Broadlands Ward, Westminster Stake
Denver Area Council 061
1250 Main St
Broomfield, CO 80020


Lds Broadmoor Ward‐Colorado Spgs Stake
Pikes Peak Council 060
150 Pine Ave
Colorado Springs, Co 80906


Lds Broadway 1St Ward
Houston East Stake
Sam Houston Area Council 576
3000 Broadway St
Houston, Tx 77017
Lds Broadway 2Nd Ward
Houston East Stake
Sam Houston Area Council 576
3000 Broadway St
Houston, Tx 77017


Lds Brookfield Ward‐Milwaukee N Stake
Potawatomi Area Council 651
755 Woelfel Rd
Brookfield, Wi 53045


Lds Brookhaven Ward
Kaysville East Stake
Trapper Trails 589
190 N Country Ln
Fruit Heights, Ut 84037


Lds Brookhaven Ward
Utah National Parks 591
4202 Cloverpatch Way
Eagle Mountain, UT 84005


Lds Brookhollow Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
10700 W Bridgetower Dr
Boise, ID 83709


Lds Brookings Ward Coos Bay Stake
Oregon Trail Council 697
P.O. Box 7196
Brookings, OR 97415


Lds Brooklyn 2Nd Branch/ Brooklyn Stake
Greater New York Councils, Bsa 640
110 Pennsylvania Ave
Brooklyn, NY 11207


Lds Brooklyn 3Rd Ward/ Brooklyn Stake
Greater New York Councils, Bsa 640
490A 7th Ave
Brooklyn, NY 11215
Lds Brookside First Ward
Utah National Parks 591
952 W 1580 S
Payson, UT 84651


Lds Brookside Second Payson
Utah National Parks 591
952 W 1580 S
Payson, UT 84651


Lds Brookside Ward Stockton Stake
Greater Yosemite Council 059
6415 Brook Hollow Cir
Stockton, CA 95219


Lds Brookwood Ward
Utah National Parks 591
7623 N Jimmy Ln
Eagle Mountain, UT 84005


Lds Brookwood Ward Hillsboro Stake
Cascade Pacific Council 492
2220 NE Jackson School Rd
Hillsboro, OR 97124


Lds Brownlee Shreveport Stake
Norwela Council 215
310 Wellington Dr
Bossier City, LA 71111


Lds Brownstown Ward ‐ Westland Stake
Great Lakes Fsc 272
18701 Grange Rd
Riverview, MI 48193


Lds Brownsville Branch Lebanon Stake
Cascade Pacific Council 492
1111 N Main St
Brownsville, OR 97327


Lds Brownsville Ward Silverdale Stake
Chief Seattle Council 609
14910 Central Valley Rd Nw
Silverdale, WA 98383


Lds Brunswick Ward Frederick Stake
National Capital Area Council 082
199 N Pl
Frederick, MD 21701


Lds Brush Hills Ward Monmouth Stake
Cascade Pacific Council 492
4420 Brush College Rd Nw
Salem, OR 97304


Lds Brush Prairie Ward Vancouver N Stake
Cascade Pacific Council 492
11101 Ne 119Th St
Vancouver, Wa 98662


Lds Brushy Creek Ward
Round Rock, Tx Stake
Capitol Area Council 564
6002 Ronchamps Dr
Round Rock, Tx 78681


Lds Bryan 1St Ward
College Station Stake
Sam Houston Area Council 576
2800 Barak Ln
Bryan, Tx 77802


Lds Buckley 1St Ward Enumclaw Stake
Chief Seattle Council 609
9226 225th Ave E
Buckley, WA 98321


Lds Buckley 2Nd Ward Enumclaw Stake
Chief Seattle Council 609
1316 Ryan Rd
Buckley, WA 98321


Lds Buda Ward, Kyle Stake
Capitol Area Council 564
3751 Trail Ridge Pass
San Marcos, TX 78666


Lds Buena Ventura Branch
Riverdale Stake
Trapper Trails 589
2115 Jefferson Ave
Ogden, Ut 84401


Lds Buena Vista Branch
North Logan Stake
Trapper Trails 589
2750 N 800 E
Logan, Ut 84341


Lds Buena Vista Ward
W.L.A.C.C. 051
8525 Glenoaks Blvd
Sun Valley, CA 91352


Lds Buffalo Grove 1St Ward
Buffalo Grove Stake
Northeast Illinois 129
3075 N Buffalo Grove Rd
Buffalo Grove, Il 60089


Lds Buffalo Grove 2Nd Ward
Buffalo Grove Stake
Northeast Illinois 129
3075 N Buffalo Grove Rd
Buffalo Grove, Il 60089


Lds Buffalo Ridge Ward
Legacy Park Stake
Trapper Trails 589
2500 S Bluff Rd
Syracuse, Ut 84075


Lds Buffalo Run Ward, Brighton Stake
Denver Area Council 061
1205 S 27th Ave
Brighton, CO 80601
Lds Buffalo Ward Springfield Stake
Ozark Trails Council 306
1551 E Mt Gilead Rd
Bolivar, MO 65613


Lds Buffalo Ward, Gillette Stake
Greater Wyoming Council 638
470 W Munkers
Buffalo, WY 82834


Lds Buffalo Ward, Gillette Stake
Greater Wyoming Council 638
504 W Fetterman St, Unit 2
Buffalo, WY 82834


Lds Bull Mountain Ward Tualatin Stake
Cascade Pacific Council 492
11944 SW Aspen Ridge Dr
Tigard, OR 97224


Lds Bullard Ward
East Texas Area Council 585
23000 Cr 145
Bullard, TX 75757


Lds Bulverde Ward‐Hill Country Stake
Alamo Area Council 583
26108 Phillips Pl
San Antonio, TX 78260


Lds Bumby Orlando South
Central Florida Council 083
4020 S Bumby Ave
Orlando, FL 32806


Lds Bunkerville 1St Ward Mesquite Stake
Utah National Parks 591
P.O. Box 7210
Bunkerville, NV 89007
Lds Bunkerville 2Nd Ward Mesquite Stake
Utah National Parks 591
P.O. Box 7225
Bunkerville, NV 89007


Lds Bunnell Deland
Central Florida Council 083
5404 County Rd 304
Bunnell, FL 32110


Lds Burbank 1St Ward
Verdugo Hills Council 058
136 N Sunset Canyon Dr
Burbank, CA 91501


Lds Burbank 2Nd Ward‐No Hollywood Stake
Verdugo Hills Council 058
136 N Sunset Canyon Dr
Burbank, CA 91501


Lds Burbank 3Rd Ward
Verdugo Hills Council 058
136 N Sunset Canyon Dr
Burbank, CA 91501


Lds Burch Creek 1St Ward
Burch Creek Stake
Trapper Trails 589
5161 S 1300 E
Ogden, Ut 84403


Lds Burch Creek 2Nd Ward
Burch Creek Stake
Trapper Trails 589
5161 S 1300 E
Ogden, Ut 84403


Lds Burch Creek 3Rd Ward
Burch Creek Stake
Trapper Trails 589
5161 S 1300 E
South Ogden, Ut 84403
Lds Burch Creek 4Th Ward
Burch Creek Stake
Trapper Trails 589
4955 Adams Ave
South Ogden, Ut 84403


Lds Burch Creek 5Th Ward
Burch Creek Stake
Trapper Trails 589
4955 Adams Ave
Ogden, Ut 84403


Lds Burch Creek 6Th Ward
Burch Creek Stake
Trapper Trails 589
3680 Eccles Ave
Ogden, Ut 84403


Lds Burch Creek 7Th Ward
Burch Creek Stake
Trapper Trails 589
3680 Eccles Ave
Ogden, Ut 84403


Lds Burien Ward Seattle Stake
Chief Seattle Council 609
14022 Ambaum Blvd Sw
Burien, WA 98166


Lds Burke Ward Annandale Stake
National Capital Area Council 082
6942 Sydenstricker Rd
Springfield, VA 22152


Lds Burleson Ward ‐ Burleson Stake
Longhorn Council 662
390 Fm 731
Burleson, TX 76082


Lds Burleson Ward ‐ Fort Worth Stake
Longhorn Council 662
5001 Alta Mesa
Fort Worth, TX 76133


Lds Burlington 1St Ward, Cody Stake
Greater Wyoming Council 638
P.O. Box 153
Burlington, WY 82411


Lds Burlington 2Nd Ward, Cody Stake
Greater Wyoming Council 638
P.O. Box 151
Burlington, WY 82411


Lds‐ Burlington Branch
Santa Fe Trail Council 194
1200 N 15th Ave
Burlington, CO 80807


Lds Burlington Ward
Montpelier Vermont Stake
Green Mountain 592
400 Swift St
South Burlington, Vt 05403


Lds Burns Ward‐Bend Stk
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 673
600 N Saginaw Ave
Hines, OR 97738


Lds Burnt Hickory Ward
Atlanta Area Council 092
4680 Hadaway Rd Nw
Kennesaw, GA 30152


Lds Butler Creek Ward
Gresham Oregon Stake
Cascade Pacific Council 492
3600 Se 182Nd
Gresham, Or 97030


Lds Butte 1St Ward, Butte Stake
Montana Council 315
3701 Augusta Ave
Butte, MT 59701


Lds Butte 2Nd Ward, Butte Stake
Montana Council 315
3000 Four Mile Rd
Butte, MT 59701


Lds Butte Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
908 W Central Rd
Emmett, ID 83617


Lds Byrd Spring Ward, Huntsville Stake
Greater Alabama Council 001
2110 Byrd Spring Rd Sw
Huntsville, AL 35802


Lds Byron Ward, Lovell Stake
Greater Wyoming Council 638
220 Main
Byron, WY 82412


Lds Cabezon Ward Alb Rr Stake
Great Swest Council 412
2807 Cabezon Blvd Se
Rio Rancho, NM 87124


Lds Cactus Ward South Stake
Las Vegas Area Council 328
7979 Mountains Edge Pkwy
Las Vegas, NV 89178


Lds Cahill Ward
Utah National Parks 591
463 W Cimarron Ave
Saratoga Springs, UT 84045


Lds Caldwell 10Th Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
3015 S Kimball Ave
Caldwell, ID 83605
Lds Caldwell 11Th Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
15782 Farmway Rd
Caldwell, ID 83607


Lds Caldwell 12Th Ward ‐ Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
16972 Gardner Ave
Caldwell, ID 83607


Lds Caldwell 14Th Ward ‐ Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
11981 Sandpiper Ct
Caldwell, ID 83605


Lds Caldwell 15Th Ward‐Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
19772 Adirondack Way
Caldwell, ID 83605


Lds Caldwell 16Th Ward‐ Caldwell Stake
Ore‐Ida Council 106 ‐ Bsa 106
3015 S Kimball Ave
Caldwell, ID 83605


Lds Caldwell 2Nd Ward‐Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
4509 S Montana Ave
Caldwell, ID 83607


Lds Caldwell 3Rd Ward‐Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
4509 S Montana Ave
Caldwell, ID 83607


Lds Caldwell 4Th Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
3015 S Kimball Ave
Caldwell, ID 83605
Lds Caldwell 5Th Ward‐Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
18486 Middleton Rd
Nampa, ID 83687


Lds Caldwell 6Th Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
3015 S Kimball
Caldwell, ID 83605


Lds Caldwell 8Th Ward‐Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
1510 N Plateau
Caldwell, ID 83605


Lds Caldwell 9Th Ward‐Caldwell E Stk
Ore‐Ida Council 106 ‐ Bsa 106
4509 S Montana Ave
Caldwell, ID 83607


Lds Caldwell Ward Caldwell Stake
Northern New Jersey Council, Bsa 333
209 Mountain Ave
North Caldwell, NJ 07006


Lds Calhan Ward‐High Plains Stake
Pikes Peak Council 060
895 Monument St
Calhan, CO 80808


Lds Calico Ridge Ward
Hend Lake Mead Stake
Las Vegas Area Council 328
152 Rolling Cove Ave
Henderson, Nv 89011


Lds Caliente Ward
Utah National Parks 591
P.O. Box 756
Caliente, NV 89008


Lds Callao Ward
Utah National Parks 591
Hc 61 Box 430
Trout Creek
Wendover, UT 84083


Lds Calvert City Branch
Lincoln Heritage Council 205
10540 US Hwy 62
Calvert City, KY 42029


Lds Calvert Ward Suitland Stake
National Capital Area Council 082
50 Clyde Jones Rd
Sunderland, MD 20754


Lds Camano Island Ward Mt Vernon Stake
Mount Baker Council, Bsa 606
1345 Ell Rd
Camano Island, WA 98282


Lds Cambrian Park Ward
South San Jose Stake
Silicon Valley Monterey Bay 055
1655 Noreen Dr
San Jose, Ca 95124


Lds Cambridge Ward
Utah National Parks 591
275 S 1400 E
Spanish Fork, UT 84660


Lds Cambridge Ward Cambridge Stake
Mayflower Council 251
65 Binney St
Cambridge, MA 02142


Lds Cambridge Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
Rt 1
Cambridge, ID 83610


Lds Cameron Park Ward El Dorado Stake
Golden Empire Council 047
3431 Hacienda
Cameron Park, CA 95682


Lds Camino Ward El Dorado Stake
Golden Empire Council 047
3182 Cedar Ravine Rd
Placerville, CA 95667


Lds Camp Hill Ward, Harrisburg Stake
New Birth of Freedom 544
216 Skyline Dr
Mechanicsburg, PA 17050


Lds Campbell Ward ‐ Saratoga Stake
Silicon Valley Monterey Bay 055
19100 Allendale Ave
Saratoga, CA 95070


Lds Campbellsville Branch
Lincoln Heritage Council 205
801 Meader St
Campbellsville, KY 42718


Lds Campus Canyon Ward
Ventura County Council 057
15351 E Benwood Dr
Moorpark, CA 93021


Lds Canal Winchester
Simon Kenton Council 441
6500 Fox Hill Dr
Canal Winchester, OH 43110


Lds Canandaigua Ward Palmyra Stake
Seneca Waterways 397
365 Parrish St
Canandaigua, NY 14424


Lds Canby First Ward Oregon City Stake
Cascade Pacific Council 492
1285 S Elm St
Canby, OR 97013


Lds Canby Second Ward Oregon City Stake
Cascade Pacific Council 492
1285 S Elm St
Canby, OR 97013


Lds Canby Third Ward Oregon City Stake
Cascade Pacific Council 492
15344 S Henrici Rd
Oregon City, OR 97045


Lds Cannonville Ward
Utah National Parks 591
125 Kodachrome Dr
Cannonville, UT 84718


Lds Canoe Creek Hunters Creek
Central Florida Council 083
2821 Old Canoe Creek Rd
Saint Cloud, FL 34772


Lds ‐Canoga Park Stake
Woodland Hills Ward
W.L.A.C.C. 051
4501 Deseret Dr
Woodland Hills, Ca 91364


Lds ‐Canoga Park Stake‐ Chatsworth Ward
W.L.A.C.C. 051
10123 Oakdale Ave
Chatsworth, CA 91311


Lds ‐Canoga Park Stake‐ Reseda Ward
W.L.A.C.C. 051
18425 Ingomar St
Reseda, CA 91335


Lds ‐Canoga Park Stake‐ Tarzana Ward
W.L.A.C.C. 051
5520 Topeka Dr
Tarzana, CA 91356
Lds ‐Canoga Park Stake‐ West Hills Ward
W.L.A.C.C. 051
7045 Farralone Ave
Canoga Park, CA 91303


Lds Canon City 1St Ward
Colorado Springs Stake
Pikes Peak Council 060
1435 Elm Ave
Canon City, Co 81212


Lds Canon City 2Nd Ward
Colorado Springs Stake
Pikes Peak Council 060
1435 Elm Ave
Canon City, Co 81212


Lds Canterberry Ward, Parker South Stake
Denver Area Council 061
20850 E Main St
Parker, CO 80138


Lds Canterbury Park Ward
Syracuse Bluff Stake
Trapper Trails 589
1285 S 2500 W
Syracuse, Ut 84075


Lds Canterbury Ward Concord Nh Stake
Daniel Webster Council, Bsa 330
90 Clinton St
Concord, NH 03301


Lds Canton Ward ‐ Westland Stake
Great Lakes Fsc 272
7575 N Hix Rd
Westland, MI 48185


Lds Canyon Creek Ward ‐ Reno Stake
Nevada Area Council 329
5130 Idlebury Way
Reno, NV 89523


Lds Canyon Crest Ward
Utah National Parks 591
285 N Matterhorn Dr
Alpine, UT 84004


Lds Canyon Crest Ward Sp Fork
Utah National Parks 591
2981 E 1660 S
Spanish Fork, UT 84660


Lds Canyon Gate Ward Las Vegas Stake
Las Vegas Area Council 328
1801 S Monte Cristo Way
Las Vegas, NV 89117


Lds Canyon Heights Ward Abq East Stake
Great Swest Council 412
14332 Nambe Ave Ne
Albuquerque, NM 87123


Lds Canyon Hills First Ward
Utah National Parks 591
693 W Mountain View Rd
Lehi, UT 84043


Lds Canyon Hills Second Ward
Utah National Parks 591
816 W Valley View Way
Lehi, UT 84043


Lds Canyon Lake Ward
Black Hills Area Council 695 695
2822 Canyon Lake Dr
Rapid City, SD 57702


Lds Canyon Park Ward Bothell Stake
Chief Seattle Council 609
19215 88th Ave Ne
Bothell, WA 98011
Lds Canyon Pointe Ward
Utah National Parks 591
2162 E Canyon Rd
Spanish Fork, UT 84660


Lds Canyon Ridge Ward
Mount Logan Stake
Trapper Trails 589
1380 E 25 N
Logan, Ut 84321


Lds Canyon Ridge Ward
North Logan Stake
Trapper Trails 589
1650 E 2600 N
North Logan, Ut 84341


Lds Canyon Ridge Ward
Utah National Parks 591
2162 E Canyon Rd
Spanish Fork, UT 84660


Lds Canyon Ridge Ward
Utah National Parks 591
75 E Center St
Cedar City, UT 84720


Lds Canyon Ridge Ward, Castle Rock Stake
Denver Area Council 061
701 Oakwood Dr
Castle Rock, CO 80104


Lds Canyon Springs‐Hill Country Stake
Alamo Area Council 583
203 Gate Rd
Boerne, TX 78006


Lds Canyon View Ward/Gj West Stake
Denver Area Council 061
2542 G Rd
Grand Junction, CO 81505
Lds Canyon Ward Amarillo Tx Stake
Golden Spread Council 562
850 Weathey Ln
Canyon, TX 79015


Lds Canyonview Eighth Ward
Utah National Parks 591
575 E 800 N
Orem, UT 84097


Lds Canyonview Fifth Ward
Utah National Parks 591
1090 N 400 E
Orem, UT 84097


Lds Canyonview First Ward
Utah National Parks 591
575 E 800 N
Orem, UT 84097


Lds Canyonview Fourth Ward
Utah National Parks 591
1200 N 800 E
Orem, UT 84097


Lds Canyonview Ninth Ward
Utah National Parks 591
1485 E 920 N
Orem, UT 84097


Lds Canyonview Second Ward
Utah National Parks 591
556 E 1200 N
Orem, UT 84097


Lds Canyonview Seventh Ward
Utah National Parks 591
575 E 800 N
Orem, UT 84097


Lds Canyonview Tenth Ward
Utah National Parks 591
762 E 1200 N
Orem, UT 84097


Lds Canyonview Third Ward
Utah National Parks 591
762 E 1200 N
Orem, UT 84057


Lds Canyonview Ward
Utah National Parks 591
4720 W 10470 N
Highland, UT 84003


Lds Cape Cod Branch Hingham Stake
Mayflower Council 251
1220 County Rd
Cataumet, MA 02534


Lds Cape Coral Ward Fort Myers Stake
Southwest Florida Council 088
1928 Chiquita Blvd S
Cape Coral, FL 33991


Lds Cape Girardeau Ward
Cape Girardeau Stake
Greater St Louis Area Council 312
1048 W Cape Rock Dr
Cape Girardeau, Mo 63701


Lds Capital Ward
Cornhusker Council 324
640 N 56th St
Lincoln, NE 68504


Lds Capitol Hill Ward, Denver Stake
Denver Area Council 061
838 N Grant St
Denver, CO 80203


Lds Capitol Ward
Tukabatchee Area Council 005
770 S Court St
Montgomery, AL 36104


Lds Capitol Ward Suitland Stake
National Capital Area Council 082
5300 Auth Rd
Camp Springs, MD 20746


Lds Capitol Ward Suitland Stake
National Capital Area Council 082
5300 Auth Rd
Suitland, MD 20746


Lds Capitola Ward ‐ Santa Cruz Stake
Silicon Valley Monterey Bay 055
220 Elk St
Santa Cruz, CA 95065


Lds Capshaw Ward
Greater Alabama Council 001
388 Jasmine Dr
Madison, AL 35757


Lds Carbonville Ward
Utah National Parks 591
Rt 1 Box 84A
Helper, UT 84526


Lds Carkeek Park Ward Shoreline Stake
Chief Seattle Council 609
102 N 132nd St
Seattle, WA 98133


Lds Carl Ward Desert Foothill Stake
Las Vegas Area Council 328
5800 Carl Ave
2212 Obispo Cir
Las Vegas, NV 89108


Lds Carlin Ward ‐ Elko West Stake
Nevada Area Council 329
220 Bush St
Carlin, NV 89822


Lds Carlisle Ward Chambersburg Stake
New Birth of Freedom 544
216 Skyline Dr
Mechanicsburg, PA 17055


Lds Carmichael Stake
Golden Empire Council 047
4125 San Juan Ave
Fair Oaks, CA 95628


Lds Carnation Ward Redmond Stake
Chief Seattle Council 609
32751 NE 45th St
Carnation, WA 98014


Lds Carnegie Ward Carniege Stake
Las Vegas Area Council 328
2497 Cozy Hill Cir
Henderson, NV 89052


Lds Carpinteria Ward
Santa Barbara Stake
Los Padres Council 053
1501 Linden Ave
Carpinteria, Ca 93013


Lds Carrollton 1St Ward
Carrollton Stake
Circle Ten Council 571
4000 Nazarene Dr
Carrollton, Tx 75010


Lds Carrollton 2Nd Ward
Carrollton Stake
Circle Ten Council 571
6545 W Plano Pkwy
Plano, Tx 75093


Lds Carrollton 3Rd Ward
Carrollton Stake
Circle Ten Council 571
4000 Nazarene Dr
Carrollton, Tx 75010


Lds Carrollton 4Th Ward
Carrollton Stake
Circle Ten Council 571
6545 W Plano Pkwy
Plano, Tx 75093


Lds Carrollton Ward Silver Spring Stake
National Capital Area Council 082
11525 Prospect Hill Rd
Glenn Dale, MD 20706


Lds Carrollton Ward Silver Spring Stake
National Capital Area Council 082
11525 Prospect Hill Rd
Glenn Dale, MD 20769


Lds Carson River Ward
Carson City Stake
Nevada Area Council 329
411 N Saliman Rd
Carson City, Nv 89701


Lds Carson Ward 1153 Torrance Stake
Greater Los Angeles Area 033
22721 Main St
Carson, CA 90745


Lds Cartersville / Butler Creek
Atlanta Area Council 092
5055 Holt Rd Nw
Acworth, GA 30101


Lds Cartersville Stake / Picketts Mill
Atlanta Area Council 092
4680 Hadaway Rd Nw
Kennesaw, GA 30152


Lds Cartersville Stake / Stilesboro
Atlanta Area Council 092
4680 Hadaway Rd Nw
Kennesaw, GA 30152


Lds Cascade Branch, Great Falls Stake
Montana Council 315
11 Grassland Ln
Cascade, MT 59421


Lds Cascade Branch‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
35 Joshua Dr
Cascade, ID 83611


Lds Cascade Crest Ward ‐ Bend Stake
Crater Lake Council 491
2555 NW Shevlin Park Rd
Bend, OR 97703


Lds Cascade Fifth Ward
Utah National Parks 591
1050 E 200 N
Orem, UT 84097


Lds Cascade First Ward
Utah National Parks 591
481 E Center St
Orem, UT 84097


Lds Cascade Fourth Ward
Utah National Parks 591
200 N 1050 E
Orem, UT 84097


Lds Cascade Park Ward Vancouver Stake
Cascade Pacific Council 492
13600 SE Mcgillivray Blvd
Vancouver, WA 98683


Lds Cascade Second Ward
Utah National Parks 591
14 N 920 E
Orem, UT 84097


Lds Cascade Seventh Ward
Utah National Parks 591
400 N 400 E
Orem, UT 84097


Lds Cascade Sixth Ward
Utah National Parks 591
430 E 400 N
Orem, UT 84097


Lds Cascade Third Ward
Utah National Parks 591
200 N 907 E
Orem, UT 84097


Lds Caserta Ward
Transatlantic Council, Bsa 802
Corse Triste 182
Caserta, 81100
Italy


Lds Casper 1St Ward, Casper Stake
Greater Wyoming Council 638
3931 W 45th St
Casper, WY 82604


Lds Casper 2Nd Ward, Casper Stake
Greater Wyoming Council 638
7th   Missouri
Casper, WY 82609


Lds Casper 3Rd Ward, Casper Stake
Greater Wyoming Council 638
2627 E 7th St
Casper, WY 82609


Lds Casper 4Th Ward, Casper Stake
Greater Wyoming Council 638
3931 W 45th St
Casper, WY 82604
Lds Casper 5Th Ward, Casper Stake
Greater Wyoming Council 638
3931 W 45th St
Casper, WY 82604


Lds Casper 6Th Ward, Casper Stake
Greater Wyoming Council 638
7th   Missouri
Casper, WY 82609


Lds Casper 7Th Ward, Casper Stake
Greater Wyoming Council 638
3931 W 45th St
Casper, WY 82604


Lds Casper 8Th Ward, Casper Stake
Greater Wyoming Council 638
1922 S Poplar St
Casper, WY 82601


Lds Casper 9Th Ward, Casper Stake
Greater Wyoming Council 638
1922 S Poplar St
Casper, WY 82601


Lds Cassia Branch‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
3200 Cassia St
Boise, ID 83705


Lds Castle Dale First Ward
Utah National Parks 591
35 E Main Castle Dale
Castle Dale, UT 84513


Lds Castle Dale Second Ward
Utah National Parks 591
35 E Main Castle Dale
Castle Dale, UT 84513
Lds Castle Dale Third Ward
Utah National Parks 591
P.O. Box 69
Castle Dale, UT 84513


Lds Castle Park Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
5900 W Castle Dr
Boise, ID 83703


Lds Castle Pines Ward, Castle Rock Stake
Denver Area Council 061
7471 Timberline Rd
Lone Tree, CO 80124


Lds Castle Ridge Ward Green Valley Stake
Las Vegas Area Council 328
246 Collindale St
Henderson, NV 89074


Lds Castle Rock Ward
Utah National Parks 591
7746 N Sparrowhawk Way
Eagle Mountain, UT 84005


Lds Castle Rock Ward Longview Stake
Cascade Pacific Council 492
2884 N Pacific Ave
Kelso, WA 98626


Lds Castle Rock Ward, Castle Rock Stake
Denver Area Council 061
701 Oakwood Dr
Castle Rock, CO 80104


Lds Castle Valley Branch
Utah National Parks 591
2640 Desert Rd
Moab, UT 84532


Lds Castlerock Ward/ Wenatchee Stake
Grand Columbia Council 614
1621 Maiden Ln
Wenatchee, WA 98801


Lds Castlerock Ward/Wenatchee Stake
Grand Columbia Council 614
1621 Maiden Ln
Wenatchee, WA 98801


Lds Castlewood Canyon Ward
Parker S Stake
Denver Area Council 061
7160 Bayou Gulch Rd
Parker, Co 80134


Lds Cavalero Ward Marysville Stake
Mount Baker Council, Bsa 606
3 81st Ave Ne
Lake Stevens, WA 98258


Lds Cedar City Eighth Ward
Utah National Parks 591
212 W 200 S
Cedar City, UT 84720


Lds Cedar City Eleventh Ward
Utah National Parks 591
370 N 4050 W
Cedar City, UT 84720


Lds Cedar City Fifteenth Ward
Utah National Parks 591
500 W 400 N
Cedar City, UT 84721


Lds Cedar City Fourteenth Ward
Utah National Parks 591
500 W 400 N
Cedar City, UT 84721


Lds Cedar City Fourth Ward
Utah National Parks 591
500 W 400 N
Cedar City, UT 84720


Lds Cedar City Ninth Ward
Utah National Parks 591
256 S 900 W
Cedar City, UT 84720


Lds Cedar City Second Ward
Utah National Parks 591
331 S 300 W
Cedar City, UT 84720


Lds Cedar City Seventeenth Ward
Utah National Parks 591
256 S 900 W
Cedar City, UT 84720


Lds Cedar City Sixteenth Ward
Utah National Parks 591
1925 W 320 S
Cedar City, UT 84720


Lds Cedar City Thirteenth Ward
Utah National Parks 591
725 S 1100 W
Cedar City, UT 84720


Lds Cedar City Twentieth Ward
Utah National Parks 591
725 S 1100 W
Cedar City, UT 84720


Lds Cedar Creek Ward
Utah National Parks 591
P.O. Box 163
Spring City, UT 84662


Lds Cedar Creek Ward Lenexa Stake
Heart of America Council 307
21515 W 101st St
Lenexa, KS 66220
Lds Cedar Creek Ward Tualatin Stake
Cascade Pacific Council 492
17234 SW Meineke Rd
Sherwood, OR 97140


Lds Cedar Crest Ward
Utah National Parks 591
7858 N Silver Ranch Rd
Eagle Mountain, UT 84005


Lds Cedar Crest Ward Abq East Stake
Great Swest Council 412
1401 Mountain Valley Rd
Sandia Park, NM 87047


Lds Cedar Crest Ward Marysville Stake
Mount Baker Council, Bsa 606
7229 78th Dr Ne
Marysville, WA 98270


Lds Cedar First Ward
Utah National Parks 591
79 E Center St
Cedar City, UT 84720


Lds Cedar Fort Ward
Utah National Parks 591
P.O. Box 263
Cedar Valley, UT 84013


Lds Cedar Hills Eighteenth Ward
Utah National Parks 591
3862 W Sage Vista Ln
Cedar Hills, UT 84062


Lds Cedar Hills Eighth Ward Timp
Utah National Parks 591
4580 W Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills Eleventh Ward Timp
Utah National Parks 591
10455 N Ironwood
Cedar Hills, UT 84062


Lds Cedar Hills Fifteenth Ward
Utah National Parks 591
10351 N Bayhill Dr
Cedar Hills, UT 84062


Lds Cedar Hills Fifth Ward Timp
Utah National Parks 591
4425 Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills First Ward Timp
Utah National Parks 591
4355 Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills Fourteenth Ward
Utah National Parks 591
10455 N Ironwood Dr
Cedar Hills, UT 84062


Lds Cedar Hills Fourth Ward Timp
Utah National Parks 591
4355 Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills Ninth Ward Timp
Utah National Parks 591
4635 W Fieldcrest Rd
Cedar Hills, UT 84062


Lds Cedar Hills Second Ward Timp
Utah National Parks 591
4355 Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills Seventeenth Ward
Utah National Parks 591
4141 W Mesquite Way
Cedar Hills, UT 84062


Lds Cedar Hills Seventh Ward Timp
Utah National Parks 591
9737 Chesterfield Dr
Cedar Hills, UT 84062


Lds Cedar Hills Sixteenth Ward Timp
Utah National Parks 591
10351 Bayhill Dr
Cedar Hills, UT 84062


Lds Cedar Hills Sixth Ward Timp
Utah National Parks 591
4559W9820N
Cedar Hills, UT 84062


Lds Cedar Hills Tenth Ward Timp
Utah National Parks 591
4697 W Harvey Blvd
Cedar Hills, UT 84062


Lds Cedar Hills Third Ward Timp
Utah National Parks 591
3950 Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills Thirteenth Ward
Utah National Parks 591
3950 Cedar Hills Dr
Cedar Hills, UT 84062


Lds Cedar Hills Twelfth Ward Timp
Utah National Parks 591
10352 Bayhill Dr
Cedar Hills, UT 84062


Lds Cedar Hills Ward Cedar City
Utah National Parks 591
95 N 2125 W
Cedar City, UT 84720
Lds Cedar Hollow Eighth Ward
Utah National Parks 591
1545 N Fitzgerald Ln
Lehi, UT 84043


Lds Cedar Hollow Seventh Ward    Lehi
Utah National Parks 591
127 E 3200 N
Lehi, UT 84043


Lds Cedar Lake Ward Morristown
Patriots Path Council 358
283 James St
Morristown, NJ 07960


Lds Cedar Meadows Ward
Utah National Parks 591
370 N 4050 W
Cedar City, UT 84720


Lds Cedar Park Stake
Carriage Hills Ward
Capitol Area Council 564
2101 Bagdad Rd
Cedar Park, Tx 78613


Lds Cedar Park Ward, Cedar Park Stake
Capitol Area Council 564
1004 W Park St
Cedar Park, TX 78613


Lds Cedar Pass First Ward
Utah National Parks 591
2282 E Valley Dr
Eagle Mountain, UT 84005


Lds Cedar Pass Second Ward
Utah National Parks 591
9475 Mustang Way
Eagle Mountain, UT 84005
Lds Cedar River Ward Maple Valley Stake
Chief Seattle Council 609
19909 SE Wax Rd
Maple Valley, WA 98038


Lds Cedar Spgs Ward
Elkhorn Spgs Stake
Las Vegas Area Council 328
7500 Tule Springs Rd
Las Vegas, Nv 89131


Lds Cedar Trails Ward
Utah National Parks 591
1934 Cedar Trails Way
Eagle Mountain, UT 84005


Lds Cedar Valley Ward Spanish
Utah National Parks 591
2092 E Cassidy Way
Eagle Mountain, UT 84005


Lds Cedaredge Ward/Montrose Stake
Denver Area Council 061
910 NW Ash Ave
Cedaredge, CO 81413


Lds Cedarview Ward
Utah National Parks 591
1925 W 320 S
Cedar City, UT 84720


Lds Centennial Park Ward
Legacy Park Stake
Trapper Trails 589
2024 S 1475 W
Syracuse, Ut 84075


Lds Centennial Park Ward ‐ Redmond Stake
Crater Lake Council 491
450 SW Rimrock Way
Redmond, OR 97756
Lds Centennial Park Ward Kingman Stake
Las Vegas Area Council 328
3180 Rutherford St
Kingman, AZ 86401


Lds Centennial Pointe Skye Canyon Stake
Las Vegas Area Council 328
8755 Iron Mountain
Las Vegas, NV 89143


Lds Centennial Ward ‐ Burleson Stake
Longhorn Council 662
390 Fm 731
Burleson, TX 76028


Lds Centennial Ward Meadows Stake
Las Vegas Area Council 328
5750 N Cimmaron Rd
Las Vegas, NV 89149


Lds Centennial Ward, Littleton Stake
Denver Area Council 061
1939 E Eer Ave
Littleton, CO 80122


Lds Centennial Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
5555 N Locust Grove
Meridian, ID 83642


Lds Center Branch, Alamosa Stake
Rocky Mountain Council 063
48920 W Hwy 112
Center, CO 81125


Lds Center Creek Ward
Utah National Parks 591
2359 S Mill Rd
Heber City, UT 84032


Lds Centerfield First Ward
Utah National Parks 591
P.O. Box 220194
210 S Hwy 89
Centerfield, UT 84622


Lds Centerfield Second Ward
Utah National Parks 591
P.O. Box 220481
Centerfield, UT 84622


Lds Centerton Ward Rogers Stake
Westark Area Council 016
950 Seba Rd
Centerton, AR 72719


Lds Centinela Second Ward
Greater Los Angeles Area 033
4850 W 115th St
Hawthorne, CA 90250


Lds Central Davis Special Needs
Holmes Creek Stake
Trapper Trails 589
380 S Fairfield Rd
Layton, Ut 84041


Lds Central Park Ward
Westark Area Council 016
2001 SW Wildwood Ave
Bentonville, AR 72712


Lds Central Point 2Nd Ward
Central Point Stake
Crater Lake Council 491
2305 Taylor Rd
Central Point, Or 97502


Lds Central Point Ward
Central Point Stake
Crater Lake Council 491
1642 Beall Ln
Central Point, Or 97502
Lds Central Valley Second Ward
Utah National Parks 591
796 E 1150 S
Elsinore, UT 84724


Lds Central Ward
Utah National Parks 591
176 E Center St
Veyo, UT 84782


Lds Central Ward Monroe
Utah National Parks 591
363 S Main St
Central Valley, UT 84754


Lds Central Ward, Billings Stake
Montana Council 315
2929 Belvedere Dr
Billings, MT 59102


Lds Central Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
980 W Central Rd
Emmett, ID 83617


Lds Centralia
Greater St Louis Area Council 312
2241 E Calumet St
Centralia, IL 62801


Lds Centreville 1 Ward Centreville Stake
National Capital Area Council 082
14911 Willard Rd
Chantilly, VA 20151


Lds Centreville 2 Ward Centreville Stake
National Capital Area Council 082
14150 Upperridge Dr
Centreville, VA 20121


Lds Century Farm Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
12830 W Mardia St
Boise, ID 83709


Lds Ceres 1St Ward Turlock Stake
Greater Yosemite Council 059
1730 Gene Rd
Ceres, CA 95307


Lds Cerritos 1St Ward Cerritos Stake
Long Beach Area Council 032
17909 Bloomfield Ave
Cerritos, CA 90703


Lds Ch Bison Ridge Ward Windsor Stake
Longs Peak Council 062
500 Hillspire Dr
Windsor, Co 80550


Lds Ch Broomfield 1St Ward Boulder Stake
Longs Peak Council 062
1250 Main St
Broomfield, Co 80020


Lds Ch Broomfield 3Rd Ward Boulder Stake
Longs Peak Council 062
1250 Main St
Broomfield, Co 80020


Lds Ch Buchanan Ward Powder Spgs Stake
Atlanta Area Council 092
36 Five Points Rd
Buchanan, Ga 30113


Lds Ch Buffalo Ridge Ward Cheyenne Stake
Longs Peak Council 062
7721 Badger Rd
Cheyenne, Wy 82009


Lds Ch Capitol Hill Ward Cheyenne Stake
Longs Peak Council 062
300 Hobbs Ave
Cheyenne, Wy 82009
Lds Ch Carlson Farm Ward Windsor Stake
Longs Peak Council 062
3234 Bruner Blvd
Johnstown, Co 80534


Lds Ch Carlson Farm Ward Windsor Stake
Longs Peak Council 062
3435 Brunner Blvd
Johnstown, Co 80534


Lds Ch Carrollton Ward Powder Spgs
Atlanta Area Council 092
601 Stewart St
Carrollton, Ga 30117


Lds Ch Chadron Br Rapid City Stake
Black Hills Area Council 695 695
P.O. Box 949
936 W 10Th St
Chadron, Ne 69337


Lds Ch Cibolo Ward‐Cibolo Vly Stake
Alamo Area Council 583
13201 Forum Rd
Universal City, Tx 78148


Lds Ch College Park Ward
Silver Spg Stake
National Capital Area Council 082
3790 E W Hwy
Hyattsville, Md 20782


Lds Ch Conway 2Nd Ward
N Little Rock Stake
Quapaw Area Council 018
2045 Dave Ward Dr
Conway, Ar 72034


Lds Ch Corner Stone Ward Cheyenne Stake
Longs Peak Council 062
309 Wern Hills Blvd
Cheyenne, Wy 82009


Lds Ch Deep Creek Ward Chesapeake Stake
Tidewater Council 596
1115 Cherokee Rd
Portsmouth, Va 23701


Lds Ch ‐Deer Lake Ward‐ Colville Stake
Inland Nwest Council 611
P.O. Box 957
Deer Park, Wa 99006


Lds Ch Fort Morgan Ward Greeley Stake
Longs Peak Council 062
336 Cherry St
Fort Morgan, Co 80701


Lds Ch Goose Creek Ward Ashburn Stake
National Capital Area Council 082
801 Balls Bluff Rd Ne
Leesburg, Va 20176


Lds Ch Harmony Park Ward Loveland Stake
Longs Peak Council 062
6521 Carmichael St
Fort Collins, Co 80528


Lds Ch Highland Lake Ward Longmont Stake
Longs Peak Council 062
1721 Red Cloud Rd
Longmont, Co 80504


Lds Ch Jesus Christ LDS
Mount Vernon Stake
National Capital Area Council 082
2810 King St
Alexandria, Va 22302


Lds Ch Jesus Christ Portsmouth Ward
Simon Kenton Council 441
1205 Bierly Rd
Portsmouth, Oh 45662
Lds Ch Kaiserslautern Svcmen Ward
Transatlantic Council, Bsa 802
Hoernchenstrasse 27
Kindsbach
Apo Ae, 09012


Lds Ch Ketcher Farm Ward Loveland Stake
Longs Peak Council 062
6521 Carmichael St
Fort Collins, Co 80528


Lds Ch Ketcher Farms Ward Loveland Stake
Longs Peak Council 062
1445 W 28Th St
Loveland, Co 80538


Lds Ch Lakeland 2Nd Ward‐ Hayden Stake
Inland Nwest Council 611
201 Meyer Rd
Rathdrum, Id 83858


Lds Ch Left Hand Creek Ward
Longmont Stake
Longs Peak Council 062
2200 11Th Ave
Longmont, Co 80501


Lds Ch Linden Park Ward Loveland Stake
Longs Peak Council 062
6521 Carmichael St
Fort Collins, Co 80528


Lds Ch Little Rock Ward
Little Rock Stake
Quapaw Area Council 018
13901 Quail Run Dr
Little Rock, Ar 72210


Lds Ch Longs Peak Ward Longmont Stake
Longs Peak Council 062
200 2Nd Ave
Lyons, Co 80540


Lds Ch Manor Ridge Ward Loveland Stake
Longs Peak Council 062
6521 Carmichael St
Fort Collins, Co 80528


Lds Ch Marietta E Stake
Sandy Plains Ward
Atlanta Area Council 092
3147 Trickum Rd Ne
Marietta, Ga 30066


Lds Ch Monterey Heights Ward
Cheyenne Stake
Longs Peak Council 062
7721 Badger Rd
Cheyenne, Wy 82009


Lds Ch Mtn View Ward Longmont Stake
Longs Peak Council 062
2200 11Th Ave
Longmont, Co 80501


Lds Ch Nelson Farm Ward
Fort Collins Stake
Longs Peak Council 062
600 E Swallow Rd
Fort Collins, Co 80525


Lds Ch Overland Trail Ward Laramie Stake
Longs Peak Council 062
3311 Hayford Ave
Laramie, Wy 82072


Lds Ch Parkwood Ward Ft Collins Stake
Longs Peak Council 062
600 E Swallow Rd
Fort Collins, Co 80525


Lds Ch Pinnacle Mtn Ward
Little Rock Stake
Quapaw Area Council 018
600 S Rodney Parham Rd
Little Rock, Ar 72205


Lds Ch‐ Plant City Ward‐Brandon Stake
Greater Tampa Bay Area 089
1805 N Park Rd
Plant City, Fl 33563


Lds Ch‐ Post Falls 5Th Ward‐ Cda Stake
Inland Nwest Council 611
1670 N Mcguire
Post Falls, Id 83854


Lds Ch Prairie Ridge Ward
Fort Collins Stake
Longs Peak Council 062
1320 W Harmony Rd
Fort Collins, Co 80526


Lds Ch Prairie View Br Cheyenne Stake
Longs Peak Council 062
7712 John Dr
Cheyenne, Wy 82009


Lds Ch Rinn Vly Ward Longmont Stake
Longs Peak Council 062
9029 Grand Mesa Ave
Frederick, Co 80504


Lds Ch River S Edge Ward Loveland Stake
Longs Peak Council 062
3800 Mountain Lion Dr
Loveland, Co 80537


Lds Ch Saddleback Ward Longmont Stake
Longs Peak Council 062
9029 Grand Mesa Ave
Frederick, Co 80530


Lds Ch Scottsbluff Ward Cheyenne Stake
Longs Peak Council 062
501 Winter Creek Dr
Scottsbluff, Ne 69361


Lds Ch‐ Sebring Ward‐Vero Beach Stake
Greater Tampa Bay Area 089
2418 Cleveland Rd
Sebring, Fl 33870


Lds Ch Sherman Hills Ward Laramie Stake
Longs Peak Council 062
3311 Hayford Ave
Laramie, Wy 82072


Lds Ch Snowy Range Ward Laramie Stake
Longs Peak Council 062
1065 N 15Th St
Laramie, Wy 82072


Lds Ch Snowy Range Ward Laramie Stake
Longs Peak Council 062
1065 N 15Th
Laramie, Wy 82070


Lds Ch Spg Creek Ward Laramie Stake
Longs Peak Council 062
1065 N 15Th St
Laramie, Wy 82072


Lds Ch Terry Lake Ward
Fort Collins Stake
Longs Peak Council 062
1400 Lynnwood Dr
Fort Collins, Co 80521


Lds Ch Timberline Ward
Fort Collins Stake
Longs Peak Council 062
600 E Swallow Rd
Fort Collins, Co 80525


Lds Ch Timnath Ward Fort Collins Stake
Longs Peak Council 062
600 E Swallow Rd
Fort Collins, Co 80525


Lds Ch Torrington Ward Cheyenne Stake
Longs Peak Council 062
1101 E 22Nd St
Torrington, Wy 82240


Lds Ch‐ Vly View Ward
Spokane Valley Stake
Inland Nwest Council 611
23515 E Boone Ave
Liberty Lake, Wa 99019


Lds Ch Wellington Ward
Fort Collins Stake
Longs Peak Council 062
1400 Lynnwood Dr
Fort Collins, Co 80521


Lds Ch Wern Hills Ward Cheyenne Stake
Longs Peak Council 062
922 W Dale Blvd
Cheyenne, Wy 82009


Lds Chalco Hills Ward Papillion Stake
Mid‐America Council 326
6820 S 164th Ave
Omaha, NE 68136


Lds Chambersburg 1st Ward
Chambersburg Stake
New Birth Of Freedom 544
50 Ragged Edge Rd
Chambersburg, Pa 17202


Lds Chambersburg Second Ward
Chambersburg Stake
New Birth Of Freedom 544
50 Ragged Edge Rd
Chambersburg, Pa 17202
Lds Chamisa Ward Rio Rancho Stake
Great Swest Council 412
310 Loma Colorado Blvd Ne
Rio Rancho, NM 87124


Lds Champaign Ward Champaign Stake
Prairielands 117
604 W Windsor Rd
Champaign, IL 61820


Lds Champion Park Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
3451 N Locust Grove
Meridian, ID 83646


Lds Chancellor Ward Fredericksburg Stake
National Capital Area Council 082
1710 Bragg Rd
Fredericksburg, VA 22407


Lds Channel Islands Ward Camarillo Stake
Ventura County Council 057
1190 Gary Dr
Oxnard, CA 93033


Lds Chantilly Ward Oakton Stake
National Capital Area Council 082
3310 Hill Haven Ct
Herndon, VA 20171


Lds Chapel Creek Ward ‐ Fort Worth Stake
Longhorn Council 662
100 Paint Pony Trl N
Fort Worth, TX 76108


Lds Chapel Heights Ward Sunrise Stake
Las Vegas Area Council 328
1825 N Hollywood Blvd
Las Vegas, NV 89156


Lds Chapel Hill Ward Lenexa Stake
Heart of America Council 307
8616 Haskell Ave
Kansas City, KS 66109


Lds Chapel Hills Ward
Layton Hills Stake
Trapper Trails 589
1290 Church St
Layton, Ut 84041


Lds Chapel Hills Ward‐East Stake
Pikes Peak Council 060
8710 Lexington Dr
Colorado Springs, CO 80920


Lds Chapel Park Ward
Holmes Creek Stake
Trapper Trails 589
125 Chapel St
Layton, Ut 84041


Lds Chapman Hill Ward Monmouth Stake
Cascade Pacific Council 492
1850 Brush College Rd Nw
Salem, OR 97304


Lds Ch‐Apollo Beach Ward‐Brandon Stake
Greater Tampa Bay Area 089
5208 12Th St Ne
Apollo Beach, Fl 33572


Lds Chappel Valley Second Ward
Utah National Parks 591
902 S Chappel Valley Loop
Lehi, UT 84043


Lds Chappel Valley Third Ward
Utah National Parks 591
1174 S 1700 W
Lehi, UT 84043


Lds Chappel Valley Ward
Utah National Parks 591
757 W 300 S
Lehi, UT 84043


Lds Chardon Branch Kirtland Stake
Lake Erie Council 440
12455 Merritt Dr
Chardon, OH 44024


Lds Charleston Boulevard Ward
Central Stake
Las Vegas Area Council 328
4201 Stewart Ave
Las Vegas, Nv 89110


Lds Charleston Park Ward
Blue Diamond Stake
Las Vegas Area Council 328
Star Rt Box 5490
Pahrump, Nv 89041


Lds Charleston Ward
Utah National Parks 591
3423 S 3500 W
Heber City, UT 84032


Lds Charleston Ward Las Vegas Stake
Las Vegas Area Council 328
3400 W Charleston Blvd
Las Vegas, NV 89102


Lds Charlestown Branch
Lincoln Heritage Council 205
8209 County Rd 403
Charlestown, IN 47111


Lds Charter Point Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
10443 W Trestlewood St
Boise, ID 83709


Lds Chas 1St Ward Charleston Stake
Coastal Carolina Council 550
1319 Sam Rittenberg Blvd
Charleston, SC 29407


Lds Chas 1St Ward Charleston Stake
Coastal Carolina Council 550
1519 Sam Rittenberg Blvd
Charleston, SC 29407


Lds Chatfield Ward, Columbine Stake
Denver Area Council 061
6705 S Webster St
Littleton, CO 80128


Lds Ch‐Bella Vista Ward‐Spokane E Stake
Inland Nwest Council 611
13608 E 40Th Ave
Spokane Valley, Wa 99206


Lds Ch‐Brentwood Ward‐N Spokane Stake
Inland Nwest Council 611
411 W Regina Dr
Spokane, Wa 99218


Lds Ch‐Broadneck Ward
Annapolis Maryland Stake
Baltimore Area Council 220
1875 Ritchie Hwy
Annapolis, Md 21401


Lds Ch‐Carrollwood 2Nd Ward‐Tampa Stake
Greater Tampa Bay Area 089
10703 Stallgate Dr
Tampa, Fl 33624


Lds Ch‐Cedar Falls Ward‐Cedar Rapids, Ia
Winnebago Council, Bsa 173
3006 Pleasant Dr
Cedar Falls, Ia 50613


Lds Ch‐Cheney 1St Ward‐Spokane W Stake
Inland Nwest Council 611
2536 N 6Th St
Cheney, Wa 99004


Lds Ch‐Cheney 2Nd Ward‐Spokane W Stake
Inland Nwest Council 611
2536 N 6Th St
Cheney, Wa 99004


Lds Ch‐Citrus Ridge Ward‐Lakeland Stake
Greater Tampa Bay Area 089
1001 Dunson Rd
Davenport, Fl 33896


Lds Ch‐Colville 1St Ward‐Colville Stake
Inland Nwest Council 611
E. 260 Juniper
Colville, Wa 99114


Lds Ch‐Cookeville Stake
Cookeville 1St Ward
Middle Tennessee Council 560
981 S Walnut Ave
Cookeville, Tn 38301


Lds Ch‐Cookeville Stake‐Sparta Br
Middle Tennessee Council 560
325 W Turntable Dr
Sparta, Tn 38583


Lds Ch‐E Vly Ward‐Spokane Vly Stake
Inland Nwest Council 611
5010 N Darin Rd
21022 E Welsely
Otis Orchards, Wa 99027


Lds Chelan Ward/Wenatchee Stake
Grand Columbia Council 614
1139 Dry Lake Rd
Manson, WA 98831


Lds Chelsea Ward ‐ Ann Arbor Stake
Southern Shores Fsc 783
1330 N Freer Rd
Chelsea, MI 48118


Lds Chelsie Park 1St Ward
Layton West Stake
Trapper Trails 589
2800 W Gordon Ave
Layton, Ut 84041


Lds Chelsie Park 2Nd Ward
Layton West Stake
Trapper Trails 589
2150 S 800 E
Clearfield, Ut 84015


Lds Chelsie Park 3Rd Ward
Layton West Stake
Trapper Trails 589
2800 W Gordon Ave
Layton, Ut 84041


Lds Cherokee Ward
Asheville, Nc Stake
Daniel Boone Council 414
P.O. Box 2396
Cherokee, Nc 28719


Lds Cherry Creek Ward Redmond Stake
Chief Seattle Council 609
32751 NE 45th St
Carnation, WA 98014


Lds Cherry Creek Ward, Denver Stake
Denver Area Council 061
4701 S Chambers Rd
Aurora, CO 80015


Lds Cherry Glen Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
1336 Cherry Ave
San Jose, CA 95125


Lds Cherry Grove Ward Cincinnati E Stake
Dan Beard Council, Bsa 438
8579 Sunmont Dr
Cincinnati, Oh 45255


Lds Cherry Hill 1St Ward
Cherry Hill Nj Stake
Garden State Council 690
260 E Evesham Rd
Cherry Hill, Nj 08003


Lds Cherry Hill 2Nd Ward
Cherry Hill Nj Stake
Garden State Council 690
252 W Evesham Rd
Cherry Hill, Nj 08003


Lds Cherry Hill Eighth Ward
Utah National Parks 591
1650 S 200 E
Orem, UT 84058


Lds Cherry Hill Fifth Ward
Utah National Parks 591
1874 S 250 E
Orem, UT 84058


Lds Cherry Hill First Ward
Utah National Parks 591
466 E 1800 S
Orem, UT 84058


Lds Cherry Hill Fourth Ward
Utah National Parks 591
408 E 1800 S
Orem, UT 84058


Lds Cherry Hill Ninth Ward
Utah National Parks 591
125 E 2000 S
168 E 1600 S
Orem, UT 84058
Lds Cherry Hill Second Ward
Utah National Parks 591
1700 S 400 E
Orem, UT 84058


Lds Cherry Hill Seventh Ward
Utah National Parks 591
81 Park Ln N
Orem, UT 84058


Lds Cherry Hill Sixth Ward
Utah National Parks 591
1650 S 200 E
Orem, UT 84058


Lds Cherry Hill Third Ward
Utah National Parks 591
1650 S 200 E
Orem, UT 84058


Lds Cherry Hills Ward Abq Stake
Great Swest Council 412
5709 Haines Ave Ne
Albuquerque, NM 87110


Lds Cherry Lane Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1757 N Tessa Ave
Meridian, ID 83646


Lds Cherry Park Ward Portland Stake
Cascade Pacific Council 492
9901 SE Caruthers St
Portland, OR 97216


Lds Cherry Ridge Ward
Utah National Parks 591
1100 S 250 W
Salem, UT 84653


Lds Cherry Village Ward
Syracuse Bluff Stake
Trapper Trails 589
2339 W 1900 S
Syracuse, Ut 84075


Lds Cherryhill Stake
Utah National Parks 591
1700 S 400 E
Orem, UT 84058


Lds Chester Ward Manteca Stake
Greater Yosemite Council 059
1981 Chester Dr
Tracy, CA 95376


Lds Chevy Chase Ward Washington Dc Stake
National Capital Area Council 082
5460 Wern Ave
Chevy Chase, MD 20815


Lds Cheyenne Meadows Ward
Colorado Springs Stake
Pikes Peak Council 060
150 Pine Ave
Colorado Springs, Co 80906


Lds Cheyenne Ridge Ward Lone Mtn Stake
Las Vegas Area Council 328
8801 W Alexander
Las Vegas, Nv 89129


Lds Cheyenne Ward Meadows Stake
Las Vegas Area Council 328
3200 Mustang St
Las Vegas, NV 89108


Lds Ch‐Five Mile Prairie‐Spokane N Stake
Inland Nwest Council 611
2112 W Francis
Spokane, Wa 99208


Lds Ch‐Franklin Stake‐Fairview Br
Middle Tennessee Council 560
1100 Gray Fox Ln
Franklin, Tn 37069


Lds Ch‐Franklin Stake‐Franklin 2Nd Ward
Middle Tennessee Council 560
1100 Gray Fox Ln
Franklin, Tn 37069


Lds Ch‐Franklin Stake‐Franklin 3Rd Ward
Middle Tennessee Council 560
1100 Gray Fox Lane
Franklin, Tn 37064


Lds Ch‐Franklin Stake‐Lawrenceburg Ward
Middle Tennessee Council 560
201 Springer Rd
Lawrenceburg, Tn 38464


Lds Ch‐Franklin Stake‐Spg Hill Ward
Middle Tennessee Council 560
1608 Hampshire Pike
Columbia, Tn 38401


Lds Ch‐Greenacres Ward‐Spokane Vly Stake
Inland Nwest Council 611
21022 E Wellesley Ave
Otis Orchards, Wa 99027


Lds Ch‐Hopkinsville Stake
Clarksville 1St Ward
Middle Tennessee Council 560
801 Lafayette Rd
Clarksville, Tn 37042


Lds Ch‐Horizon Hills Ward‐ E Stake
Inland Nwest Council 611
13608 E 40Th Ave
Spokane Valley, Wa 99206


Lds Chickasha Ward Norman Stake
Last Frontier Council 480
1111 Ferguson Rd
Chickasha, OK 73018


Lds Chico 1St Ward Chico Stake
Golden Empire Council 047
735 W E Ave
Chico, CA 95926


Lds Chico 2Nd Ward Chico Stake
Golden Empire Council 047
1450 E Lassen Ave
Chico, CA 95973


Lds Chico 3Rd Ward Chico Stake
Golden Empire Council 047
2430 Mariposa Ave
Chico, CA 95926


Lds Chico 4Th Ward Chico Stake
Golden Empire Council 047
2430 Mariposa Ave
Chico, CA 95926


Lds Chico 5Th Ward Chico Stake
Golden Empire Council 047
735 W E Ave
Chico, CA 95926


Lds Childress Branch Amarillo Tx Stake
Golden Spread Council 562
1304 7th St Nw
Childress, TX 79201


Lds Chillicothe
Simon Kenton Council 441
1918 N Bridge St
Chillicothe, OH 45601


Lds Chilton Park Ward
Utah National Parks 591
7944 Smith Ranch Rd
Eagle Mountain, UT 84005
Lds Chimney Rock Ward
Utah National Parks 591
7793 N Windhover Rd
Eagle Mountain, UT 84005


Lds Ch‐Lake Hamilton Ward
Winter Haven Stake
Greater Tampa Bay Area 089
2309 S 9Th St
Haines City, Fl 33844


Lds Ch‐Lake Wales Ward‐Lakeland Stake
Greater Tampa Bay Area 089
1024 Burns Ave
Lake Wales, Fl 33853


Lds Ch‐Liberty Lake Ward
Spokane Valley Stake
Inland Nwest Council 611
23515 E Boone Ave
Liberty Lake, Wa 99019


Lds Ch‐Lincoln Heights Ward
Spokane Stake
Inland Nwest Council 611
2721 E 63Rd Ave
Spokane, Wa 99223


Lds Ch‐Madison Stake‐Goodlettsville Ward
Middle Tennessee Council 560
107 Twin Hills Dr
Madison, Tn 37115


Lds Ch‐Madison Stake‐Hendersonville Ward
Middle Tennessee Council 560
1360 E Main St
Gallatin, Tn 37066


Lds Ch‐Madison Stake‐White House Ward
Middle Tennessee Council 560
107 Twin Hills Dr
Madison, Tn 37115
Lds Ch‐Mcminnville Stake
Burgess Falls Ward
Middle Tennessee Council 560
981 S Walnut Ave
Cookeville, Tn 38501


Lds Ch‐Mcminnville Stake
Fayetteville Ward
Middle Tennessee Council 560
Johnney D Johnson
11 Cloverdale Cir
Fayetteville, Tn 37334


Lds Ch‐Mcminnville Stake
Mcminnville 1St Ward
Middle Tennessee Council 560
183 Underwood Rd
Mc Minnville, Tn 37110


Lds Ch‐Mcminnville Stake‐Tullahoma Ward
Middle Tennessee Council 560
112 Old Shelbyville Hwy
Tullahoma, Tn 37388


Lds Ch‐Moran Prairie Ward‐Spokane Stake
Inland Nwest Council 611
2721 E 63Rd Ave
Spokane, Wa 99223


Lds Ch‐Morgan Acres Ward Mt Spokane Stk
Inland Nwest Council 611
808 E Sitka Ave
Spokane, Wa 99208


Lds Ch‐Murfreesboro Stake
Gregory Mill Ward
Middle Tennessee Council 560
316 Mayfield Dr
Smyrna, Tn 37167


Lds Ch‐Murfreesboro Stake
Mount Juliet 1St Ward
Middle Tennessee Council 560
719 Lance Way
Mount Juliet, Tn 37122


Lds Ch‐Murfreesboro Stake
Murfreesboro Ward
Middle Tennessee Council 560
901 E Clark Blvd
Murfreesboro, Tn 37130


Lds Ch‐Murfreesboro Stake
Shelbyville Ward
Middle Tennessee Council 560
2508 Hwy 231 N
Shelbyville, Tn 37160


Lds Ch‐Murfreesboro Stake
Stones River 1St Ward
Middle Tennessee Council 560
902 E Clark Blvd
Murfreesboro, Tn 37130


Lds Ch‐Murfreesboro Stake‐Buena Vista Br
Middle Tennessee Council 560
1004 Woodridge Pl
Mount Juliet, Tn 37122


Lds Ch‐Murfreesboro Stake‐W Fork Ward
Middle Tennessee Council 560
316 Mayfield Dr
Smyrna, Tn 37167


Lds Ch‐Nashville Stake‐Cumberland Ward
Middle Tennessee Council 560
1240 Mcgavock Pike
Nashville, Tn 37216


Lds Ch‐Nashville Stake‐Old Hickory Ward
Middle Tennessee Council 560
1646 Sunset Rd
Nolensville, Tn 37135
Lds Ch‐Nashville Stake‐Providence Ward
Middle Tennessee Council 560
1646 Sunset Rd
Nolensville, Tn 37135


Lds Ch‐Nashville Stake‐Smith Spgs Ward
Middle Tennessee Council 560
364 Haywood Ln
Nashville, Tn 37211


Lds Ch‐Newman Lake Ward
Spokane Vly Stake
Inland Nwest Council 611
1670 N Mcguire Rd
Post Falls, Id 83854


Lds Ch‐Nine Mile Falls Ward‐N Stake
Inland Nwest Council 611
5001 W Shawnee Ave
Spokane, Wa 99208


Lds Choctaw Ward Nlr Stake
Quapaw Area Council 018
55 Reed Rd
Greenbrier, AR 72058


Lds Choctaw Ward Okc South Stake
Last Frontier Council 480
100 N Indian Meridian
Choctaw, OK 73020


Lds Choctaw Ward Okc South Stake
Last Frontier Council 480
Reno   Indian Meridian
Choctaw, OK 73020


Lds Chowchilla Ward Merced Stake
Greater Yosemite Council 059
277 Howell
Chowchilla, CA 93610
Lds Ch‐Painted Hills Ward‐ E Stake
Inland Nwest Council 611
13608 E 40Th Ave
Spokane Valley, Wa 99206


Lds Ch‐Paradise Ridge Ward‐Moscow Stake
Inland Nwest Council 611
1375 Lundquist Ln
Moscow, Id 83843


Lds Christiansburg Ward
Pembroke Stake
Blue Ridge Mtns Council 599
3338 Ironto Rd
Elliston, Va 24087


Lds Christy Lane Ward Central Stake
Las Vegas Area Council 328
1001 N Christy Ln
Las Vegas, NV 89110


Lds Ch‐River Ridge Ward‐N Spokane Stake
Inland Nwest Council 611
5001 W Shawnee
Spokane, Wa 99208


Lds Ch‐Rolling Hills Ward‐Moscow Stake
Inland Nwest Council 611
1040 S Mountain View Rd
Moscow, Id 83843


Lds Ch‐Shadle Park Ward‐Spokane N Stake
Inland Nwest Council 611
2112 W Francis
Spokane, Wa 99208


Lds Ch‐Silver Lake Ward‐Spokane W Stake
Inland Nwest Council 611
10405 W Melville Rd
Cheney, Wa 99004


Lds Ch‐Sullivan Ward‐Spokane Vly Stake
Inland Nwest Council 611
5322 N Evergreen Rd
Spokane Valley, Wa 99216


Lds Ch‐Temple Terrace Ward‐Brandon Stake
Greater Tampa Bay Area 089
13510 N 42Nd St
Tampa, Fl 33613


Lds Chubbuck Stake ‐ Chubbuck 10Th Ward
Grand Teton Council 107
4773 Independence Ave
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 11Th Ward
Grand Teton Council 107
4773 Independence Ave
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 1St Ward
Grand Teton Council 107
4775 Hawthorne Rd
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 2Nd Ward
Grand Teton Council 107
4775 Hawthorne
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 3Rd Ward
Grand Teton Council 107
4773 Independence Ave
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 4Th Ward
Grand Teton Council 107
450 James
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 5Th Ward
Grand Teton Council 107
13979 W Siphon Rd
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 6Th Ward
Grand Teton Council 107
13979 W Siphon Rd
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 7Th Ward
Grand Teton Council 107
13979 W Siphon Rd
Chubbuck, ID 83202


Lds Chubbuck Stake ‐ Chubbuck 9Th Ward
Grand Teton Council 107
13979 W Siphon Rd
Chubbuck, ID 83202


Lds Chubbuck Stk‐Chubbuck 8Th Wd
Grand Teton Council 107
450 James Ave
Chubbuck, ID 83202


Lds Church
Chewelah Ward‐Colville Stake
Inland Nwest Council 611
2028 Steinmentz Rd
Chewelah, Wa 99109


Lds Church
East Carolina Council 426
1207 Forest Dr
Trent Woods, NC 28562


Lds Church
Grangeville Ward‐ Lewiston Stake
Inland Nwest Council 611
403 N Blvd
Grangeville, Id 83530


Lds Church
Mid Iowa Council 177
2565 Palm Blvd
Fairfield, IA 52556


Lds Church
Moraine Trails Council 500
817 S Pike Rd
Sarver, PA 16055


Lds Church
Muskingum Valley Council, Bsa 467
200 Baker Trl
1503 Glendale Rd
Vincent, OH 45784


Lds Church
Northern New Jersey Council, Bsa 333
30 Youngs Rd
Mahwah, NJ 07430


Lds Church
Santa Fe Trail Council 194
2510 6th Ave
Dodge City, KS 67801


Lds Church
Sunnyside Ward‐ Sandpoint Stake
Inland Nwest Council 611
602 Schweitzer Cutoff Rd
Sandpoint, Id 83864


Lds Church
Tukabatchee Area Council 005
1405 Chapel Rd
Wetumpka, AL 36092


Lds Church
Tukabatchee Area Council 005
3460 Carter Hill Rd
Montgomery, AL 36111


Lds Church ‐ Ames 1St Ward
Mid Iowa Council 177
2524 Hoover Ave
Ames, IA 50010


Lds Church ‐ Ames 2Nd Ward
Mid Iowa Council 177
644 Garnet Dr
Ames, IA 50010


Lds Church ‐ Ankeny Ward
Mid Iowa Council 177
721 E 1st St
Ankeny, IA 50021


Lds Church ‐ Beaver Creek Ward
Mid Iowa Council 177
3301 Ashworth Rd
West Des Moines, IA 50265


Lds Church ‐ Boone
Mid Iowa Council 177
1505 2nd St
Boone, IA 50036


Lds Church ‐ Boone Ward Ames Stake
Mid Iowa Council 177
P.O. Box 221
Ogden, IA 50212


Lds Church ‐ Des Moines Ward
Mid Iowa Council 177
2101 Evergreen Ave
Des Moines, IA 50320


Lds Church ‐ Dobson Branch
Old Hickory Council 427
307 Brookwood Dr
Elkin, NC 28621


Lds Church ‐ Dodge City Ward
Santa Fe Trail Council 194
2508 6Th
Dodge City, KS 67801
Lds Church ‐ Easter Lake Ward
Mid Iowa Council 177
2101 Evergreen Ave
Des Moines, IA 50320


Lds Church ‐ Indianola Branch
Mid Iowa Council 177
807 N 15th St
Indianola, IA 50125


Lds Church ‐ Kettering Ward
Miami Valley Council, Bsa 444
287 Wayside Dr
Beavercreek, OH 45440


Lds Church ‐ Osceola Ward
Mid Iowa Council 177
2519 Hwy 34
Osceola, IA 50213


Lds Church ‐ Perry Branch
Mid Iowa Council 177
2008 8th St
Perry, IA 50220


Lds Church ‐ Ramstein Military Ward
Transatlantic Council, Bsa 802
Lauter Str 1
Kaiserslautern, 67657
Germany


Lds Church ‐ Scott City Ward
Santa Fe Trail Council 194
2510 E Hwy 96
Scott City, KS 67871


Lds Church ‐ Walnut Hills Ward
Mid Iowa Council 177
400 Pleasant View Dr
Waukee, IA 50263
Lds Church ‐ Waukee Ward
Mid Iowa Council 177
400 Pleasant View Dr
Waukee, IA 50263


Lds Church ‐ West Des Moines
Mid Iowa Council 177
3301 Ashworth Rd
West Des Moines, IA 50265


Lds Church 2Nd Ward
W D Boyce 138
1700 Hovey Ave
Normal, IL 61761


Lds Church Allatoona Ward
Atlanta Area Council 092
2205 Bascomb Carmel Rd
Woodstock, GA 30189


Lds Church Ashcroft Ward Greeley Stake
Longs Peak Council 062
2116 23rd St
Greeley, CO 80631


Lds Church Atlanta Brockett Ward
Atlanta Area Council 092
1947 Brockett Rd
Tucker, GA 30084


Lds Church Atlanta Stake Atlanta Ward
Atlanta Area Council 092
1469 Lee St Sw
Atlanta, GA 30310


Lds Church Austin Ward
Twin Valley Council Bsa 283
404 31st St Nw
Austin, MN 55912


Lds Church Beebe Branch Searcy Stake
Quapaw Area Council 018
190 Hwy 321
Beebe, AR 72012


Lds Church Berthoud Ward Loveland Stake
Longs Peak Council 062
550 Spartan Ave
Berthoud, CO 80513


Lds Church Bitburg Ward
Transatlantic Council, Bsa 802
Thilmanystrasse 8
Bitburg,
Germany


Lds Church Bloomington 1St Ward
W D Boyce 138
1628 W Hovey Ave
Normal, IL 61761


Lds Church Bloomington Ward
W D Boyce 138
1700 Hovey Ave
Normal, IL 61761


Lds Church‐ Bonners Ferry 1St Ward
Sandpoint Stake
Inland Nwest Council 611
1860 Highland Flats Rd
Naples, Id 83847


Lds Church Bonners Ferry Ward
Sandpoint Stake
Inland Nwest Council 611
1512 Alderson Lane
Bonners Ferry Idaho, Id 83805


Lds Church Booneville Ward
Yocona Area Council 748
404 W George E Allen Dr
Booneville, MS 38829


Lds Church Boulder Ward Boulder Stake
Longs Peak Council 062
4655 Table Mesa Dr
Boulder, CO 80305


Lds Church Boulder Ward Boulder Stake
Longs Peak Council 062
625 E Wiggins St
Superior, CO 80027


Lds Church Boyd Lake Ward Loveland Stake
Longs Peak Council 062
3800 Mountain Lion Dr
Loveland, CO 80537


Lds Church Brainerd
Cherokee Area Council 556
3067 Ooltewah Ringgold Rd
Ooltewah, TN 37363


Lds Church Cabot Ward Nlr Stake
Quapaw Area Council 018
6110 T P White Rd
Jacksonville, AR 72076


Lds Church Cda 1St Ward ‐ Cda Stake
Inland Nwest Council 611
2801 N 4th St
Coeur D Alene, ID 83815


Lds Church Cda 2Nd Ward ‐ Cda Stake
Inland Nwest Council 611
2801 N 4th St
Coeur D Alene, ID 83815


Lds Church Cda 3Rd Ward ‐ Cda Stake
Inland Nwest Council 611
2801 N 4th St
Coeur D Alene, ID 83815


Lds Church Centennial Ward Greeley Stake
Longs Peak Council 062
501 49th Ave
Greeley, CO 80634


Lds Church Chattanooga Branch
Cherokee Area Council 556
407 E 5th St
Chattanooga, TN 37403


Lds Church Chattanooga Valley
Cherokee Area Council 556
4226 N Hwy 341
Flintstone, GA 30725


Lds Church Cherry Creek Ward
Denver Area Council 061
4701 S Chambers Rd
Aurora, CO 80015


Lds Church Clark Fork Branch
Sandpoint Stake
Inland Nwest Council 611
603 N Stevens St
Clark Fork, Id 83811


Lds Church Clarkston 1St Ward
Lewiston Stake
Inland Nwest Council 611
1123 16Th Ave
Clarkston, Wa 99403


Lds Church Clarkston 2Nd Ward
Lewiston Stake
Inland Nwest Council 611
1123 16Th Ave
Clarkston, Wa 99403


Lds Church Cleveland
Cherokee Area Council 556
4200 Pryor Rd Ne
Cleveland, TN 37312


Lds Church Coal Creek Ward Boulder Stake
Longs Peak Council 062
701 W S Boulder Rd
Louisville, CO 80027


Lds Church Conway 1St Ward Nlr Stake
Quapaw Area Council 018
2405 Dave Ward Dr
Conway, AR 72034


Lds Church Dalton Gardens Ward
Hayden Stake
Inland Nwest Council 611
2293 W Hanley
Coeur D Alene, Id 83815


Lds Church‐ Davenport Branch‐West Stake
Inland Nwest Council 611, 8th   Lincoln
Davenport, WA 99122


Lds Church Dayton
Cherokee Area Council 556
3372 Rhea County Hwy
Dayton, TN 37321


Lds Church Deer Lake Ward
Colville Stake
Inland Nwest Council 611
P.O. Box 957
Deer Park, Wa 99006


Lds Church Eastridge Ward Cheyenne Stake
Longs Peak Council 062
3312 E Lincolnway
Cheyenne, WY 82001


Lds Church Eaton Ward Greeley Stake
Longs Peak Council 062
501 49th Ave
Greeley, CO 80634


Lds Church Eaton Ward Windsor Stake
Longs Peak Council 062
5516 W 2nd St Rd
Greeley, CO 80634


Lds Church Elkhorn Creek Ward
Blue Grass Council 204
215 Wellington Way
Georgetown, KY 40324


Lds Church Etowah Valley Ward
Northwest Georgia Council 100
20 Shagbark Dr Sw
Cartersville, GA 30120


Lds Church Freehold Ward
Monmouth Council, Bsa 347
136 Wemrock Rd
Freehold, NJ 07728


Lds Church Frontier Ward Cheyenne Stake
Longs Peak Council 062
3312 E Lincolnway
Cheyenne, WY 82001


Lds Church Georgetown Ward
Blue Grass Council 204
215 Wellington Way
Georgetown, KY 40324


Lds Church Glenmere Ward Greeley Stake
Longs Peak Council 062
2116 23rd Ave
Greeley, CO 80634


Lds Church Government Springs Ward
Cimarron Council 474
419 N Eisenhower St
Enid, OK 73703


Lds Church Grovetown Ward
Georgia‐Carolina 093
470 N Louisville St
Harlem, GA 30814
Lds Church Harmony Ward Ft Collins Stake
Longs Peak Council 062
1320 W Harmony Rd
Ft Collins, CO 80526


Lds Church Harrison Bay
Cherokee Area Council 556
3067 Ooltewah Ringgold Rd
Ooltewah, TN 37363


Lds Church Havelock Ward
East Carolina Council 426
125 Mccotter Blvd
Havelock, NC 28532


Lds Church Hayden 1St Ward
Hayden Stake
Inland Nwest Council 611
Maple   Honeysuckle
Hayden Lake, Id 83835


Lds Church Hayden 2Nd Ward
Hayden Stake
Inland Nwest Council 611
870 E Loch Maree Dr
Hayden Lake, Id 83835


Lds Church Hayden 3Rd Ward
Hayden Stake
Inland Nwest Council 611
2293 W Hanley Ave
Coeur D Alene, Id 83815


Lds Church Hayden 4Th Ward
Hayden Stake
Inland Nwest Council 611
2293 W Hanley Ave
Coeur D Alene, Id 83815


Lds Church Hilliard Ward
Simon Kenton Council 441
1001 Doherty Rd
Galloway, OH 43119


Lds Church Hixson
Cherokee Area Council 556
3010 Hamill Rd
Hixson, TN 37343


Lds Church‐ Indiana Spanish Branch
Spokane West Stake
Inland Nwest Council 611
732 W Indiana Ave
Spokane, Wa 99205


Lds Church‐ Ione Metaline Falls Branch
Colville Stake
Inland Nwest Council 611
P.O. Box 701
Ione, Wa 99139


Lds Church Johnstown Ward Windsor Stake
Longs Peak Council 062
3435 Brunner Blvd
Johnstown, CO 80534


Lds Church Kellogg Ward ‐ Hayden Stake
Inland Nwest Council 611
902 S Div St
Pinehurst, ID 83850


Lds Church Kent Island Ward
Baltimore Area Council 220
110 Goodhand Creek Rd
Chester, MD 21619


Lds Church Lafayette Ward Boulder Stake
Longs Peak Council 062
701 E S Boulder Rd
Louisville, CO 80027


Lds Church Lakeland 1St Ward
Hayden Stake
Inland Nwest Council 611
15151 N Meyer Rd
Rathdrum, Id 83858


Lds Church Lewis Center Ward
Simon Kenton Council 441
450 N Liberty St
Powell, OH 43065


Lds Church Longs Peak Ward Longmont
Longs Peak Council 062
200 2nd Ave
Lyons, CO 80540


Lds Church Louisville Ward Boulder Stake
Longs Peak Council 062
701 W S Boulder Rd
Louisville, CO 80027


Lds Church Madison 3Rd Ward
Greater Alabama Council 001
1297 Slaughter Rd
Madison, AL 35758


Lds Church Manito Ward‐ Spokane Stake
Inland Nwest Council 611
1620 E 29th Ave
Spokane, WA 99203


Lds Church Mexico Beach Branch
Gulf Coast Council 773
318 Robin Lane
Mexico Beach, FL 32456


Lds Church Milliken Ward Windsor Stake
Longs Peak Council 062
3435 Brunner Blvd
Johnstown, CO 80534


Lds Church Morgantown
Mountaineer Area 615
161 Meadow View Lane
Morgantown, WV 26508
Lds Church Morrilton Branch
Quapaw Area Council 018
Highway 9 S
Morrilton, AR 72110


Lds Church New Albany 1St Ward
Simon Kenton Council 441
5835 Central College Rd
New Albany, OH 43054


Lds Church New Albany 2Nd Ward
Simon Kenton Council 441
5835 Central College Rd
New Albany, OH 43054


Lds Church Newport Ward
Sandpoint Stake
Inland Nwest Council 611
10552 Deer Valley Rd
Newport, Wa 99156


Lds Church‐ Newport Ward
Inland Nwest Council 611
P.O. Box 581
Newport, WA 99156


Lds Church Nlr Ward Nlr Stake
Quapaw Area Council 018
905 Kierre Dr
North Little Rock, AR 72116


Lds Church Normal Ward
W D Boyce 138
1628 W Hovey Ave
Normal, IL 61761


Lds Church Northpoint Ward‐North Stake
Inland Nwest Council 611
Northpointe Ward ‐ Lds
401 W Regina
Spokane, WA 99208
Lds Church Of Jesus Christ
Illowa Council 133
1125 Wwood Dr
De Witt, IA 52742


Lds Church Of Jesus Christ
Simon Kenton Council 441
15 Rock Creek Dr
Delaware, OH 43015


Lds Church Of Jesus Christ Lewis Center
Simon Kenton Council 441
450 N Liberty St
Powell, OH 43065


Lds Church Of Jesus Christ Marysville
Simon Kenton Council 441
535 Wilderness Rd
Marysville, OH 43040


Lds Church Of Jesus Christ Marysville
Simon Kenton Council 441
740 W 3rd St
Marysville, OH 43040


Lds Church Of Jesus Christ Piedmont Ward
Fredricksburg Stake
National Capital Area Council 082
420 Willow Lawn Dr
Culpeper, Va 22701


Lds Church Of LDS
Montana Council 315
2929 Belvedere Dr
Billings, MT 59102


Lds Church Of Tupelo
Yocona Area Council 748
1085 S Thomas St
Tupelo, MS 38801
Lds Church Of Tupelo
Yocona Area Council 748
840 So Thomas St
Tupelo, MS 38801


Lds Church Old Town Ward Mt Vernon Stake
National Capital Area Council 082
6219 Villa St
Alexandria, VA 22310


Lds Church‐ Palouse Ward‐ Spokane Stake
Inland Nwest Council 611
2721 E 63rd Ave
Spokane, WA 99223


Lds Church Patuxent Ward Suitland
National Capital Area Council 082
22747 Old Rolling Rd
California, MD 20619


Lds Church Peak View Ward Longmont Stake
Longs Peak Council 062
9029 Grand Mesa Ave
Longmont, CO 80504


Lds Church Peak View Ward Windsor Stake
Longs Peak Council 062
301 49th Ave
Greeley, CO 80634


Lds Church Petoskey Branch
President Gerald R Ford 781
707 Alcan Dr
Petoskey, MI 49740


Lds Church Picayune Ward
Pine Burr Area Council 304
1720 Read Rd
Picayune, MS 39466


Lds Church Plummer Branch ‐ Cda Stake
Inland Nwest Council 611
P.O. Box 555
Tekoa, WA 99033


Lds Church Post Falls 1St Ward
Cda Stake
Inland Nwest Council 611
1670 N Mcguire Rd
Post Falls, Id 83854


Lds Church Post Falls 2Nd Ward
Cda Stake
Inland Nwest Council 611
1824 E 16Th Ave
Post Falls, Id 83854


Lds Church Post Falls 3Rd Ward
Cda Stake
Inland Nwest Council 611
1670 N Mcguire Rd
Post Falls, Id 83854


Lds Church Post Falls 4Th Ward
Cda Stake
Inland Nwest Council 611
1824 E 16Th Ave
Post Falls, Id 83854


Lds Church Priest River Ward
Sandpoint Stake
Inland Nwest Council 611
W Albeni Rd Hwy 2
Priest River, Id 83856


Lds Church Purvis Ward
Pine Burr Area Council 304
2502 Old Hwy 24
Hattiesburg, MS 39402


Lds Church Ridge View Ward Laramie Stake
Longs Peak Council 062
1651 Nottage Ct
Laramie, WY 82072
Lds Church Ridgeview Ward Laramie Stake
Longs Peak Council 062
3311 Hayford Ave
Laramie, WY 82072


Lds Church Ridgeway Ward
Indian Waters Council 553
1391 Centerville Rd
Ridgeway, SC 29130


Lds Church Roswell Ward
Atlanta Area Council 092
500 Norcross St
Roswell, GA 30075


Lds Church San Benito
Rio Grande Council 775
919 Ballenger St
San Benito, TX 78586


Lds Church Sandpoint Ward
Sandpoint Stake
Inland Nwest Council 611
602 Schweitzer Cutoff Rd
Sandpoint, Id 83864


Lds Church Sauk Rapids
Central Minnesota 296
852 1st St N
Sauk Rapids, MN 56379


Lds Church Searcy Ward Nlr Stake
Quapaw Area Council 018
2212 E Country Club Rd
Searcy, AR 72143


Lds Church Severance Ward Windsor Stake
Longs Peak Council 062
500 Hillspire Dr
Windsor, CO 80550
Lds Church Severance Ward Windsor Stake
Longs Peak Council 062
504 49th Ave
Greeley, CO 80634


Lds Church Sidney Ward Cheyenne Stake
Longs Peak Council 062
486 Toledo St
Sidney, NE 69162


Lds Church Signal Mountain
Cherokee Area Council 556
1160 Ridgeway Ave
Signal Mountain, TN 37377


Lds Church South Pittsburg
Cherokee Area Council 556
2700 Main St
Jasper, TN 37347


Lds Church Southshore Ward
Denver Area Council 061
25137 E Davies Dr
Aurora, CO 80016


Lds Church Sterling Ward Greeley Stake
Longs Peak Council 062
517 N 7th Ave
Sterling, CO 80751


Lds Church Stuttgart
Transatlantic Council, Bsa 802
Deidesheimer Strasse 39
Stuttgart‐Weilimdorf, 70499
Germany


Lds Church Summerville 3Rd Ward
Coastal Carolina Council 550
511 E N St
Summerville, SC 29483
Lds Church Sunnyside Ward
Sandpoint Stake
Inland Nwest Council 611
602 Sweitzer Cutoff Rd
Sandpoint, Id 83864


Lds Church Sunrise Ward Cheyenne Stake
Longs Peak Council 062
3312 E Lincolnway
Cheyenne, WY 82001


Lds Church Sweetgrass Creek Ward
Montana Council 315
4221 Rimrock Rd
Billings, MT 59106


Lds Church Timberlake Ward
Hayden Stake
Inland Nwest Council 611
P.O. Box 560
Rathdrum, Id 83858


Lds Church Ulysses Ward
Santa Fe Trail Council 194
201 Maize
Ulysses, KS 67880


Lds Church Union Ward Longmont Stake
Longs Peak Council 062
1721 Red Cloud Rd
Longmont, CO 80504


Lds Church‐ Upriver Ward‐ Mt Spokane Stk
Inland Nwest Council 611
808 E Sitka Ave
Spokane, WA 99208


Lds Church Ute Creek Ward Longmont Stake
Longs Peak Council 062
1721 Red Cloud Rd
Longmont, CO 80504
Lds Church Wamego Branch
Coronado Area Council 192
4483 Vineyard Rd
Wamego, KS 66547


Lds Church Warwick Ward
Narragansett 546
1000 Narragansett Pkwy
Warwick, RI 02888


Lds Church West Lake Ward Loveland Stake
Longs Peak Council 062
1445 W 28th St
Loveland, CO 80538


Lds Church‐ West Terrace‐ West Stake
Inland Nwest Council 611
10405 W Melville Rd
Cheney, WA 99004


Lds Church Westmond Ward
Sandpoint Stake
Inland Nwest Council 611
300 Missouri Ridge Rd
Sagle, Id 83860


Lds Church Wexford Ward
Laurel Highlands Council 527
2210 Reis Run Rd
Franklin Park, PA 15237


Lds Church Wheatland Ward Cheyenne Stake
Longs Peak Council 062
523 Ferguson Rd
Wheatland, WY 82201


Lds Church Windsor Ward Windsor Stake
Longs Peak Council 062
6521 Carmichael St
Fort Collins, CO 80528


Lds Church Woodmere Ward Loveland Stake
Longs Peak Council 062
1445 W 28th St
Loveland, CO 80538


Lds Church Worthington Branch
Sioux Council 733
1118 W Lake Ave
Worthington, MN 56187


Lds Church, Beijing Branch
Far E Council 803, 410 Golden Tower
Beijing,
China


Lds Church‐1St Ward‐Spokane Stake
Inland Nwest Council 611
1620 E 29th Ave
Spokane, WA 99203


Lds Church‐2Nd Ward‐Colville Stake
c/o Joel Carnline
Inland Nwest Council 611
579 Orin Rice Rd
Colville, WA 99114


Lds Church‐2Nd Ward‐Colville Stake
Inland Nwest Council 611
539A Orin Rice Rd
Christy Johnson
Colville, WA 99114


Lds Church‐6Th Ward‐Spokane Stake
Inland Nwest Council 611
4444 E 43Rd
Spokane, WA 99223


Lds Church‐Adams Ward‐Spokane East Stake
Inland Nwest Council 611
14111 E 16Th
Spokane, WA 99216


Lds Church‐Autumn Crest Ward‐Sp E Stake
Inland Nwest Council 611
16th and Evergreen
Spokane, WA 99216


Lds Church‐Beacon Hill Ward‐Mt Spkn Stk
Inland Nwest Council 611
5302 E Greenbluff Rd
Colbert, WA 99005


Lds Church‐Belvidere Ward
Blackhawk Area 660
324 N University Dr
Rockford, IL 61107


Lds Church‐Bemidji Ward‐Fargo Nd Stake
Voyageurs Area 286
3033 Birchmont Dr Ne
Bemidji, MN 56601


Lds Church‐Brandon Ward‐Brandon Stake
Greater Tampa Bay Area 089
1412 John Moore Rd
Brandon, FL 33511


Lds Church‐Brooksville Ward‐Tampa Stake
Greater Tampa Bay Area 089
21043 Yontz Rd
Brooksville, FL 34601


Lds Church‐Chester Creek Ward‐East Stake
Inland Nwest Council 611
13608 E 40th Ave
Spokane Valley, WA 99206


Lds Church‐Clayton Ward‐Colville Stake
Inland Nwest Council 611
34221 N Newport Hwy
Chattaroy, WA 99003


Lds Church‐Colbert Ward‐North Stake
Inland Nwest Council 611
401 W Regina Dr
Spokane, WA 99218


Lds Church‐Crockett Ward
Middle Tennessee Council 560
1646 Sunset Rd
Brentwood, TN 37027


Lds Church‐Dade City Ward‐Tampa Stake
Greater Tampa Bay Area 089
9016 Fort King Rd
Dade City, FL 33525


Lds Church‐Deer Park Ward‐Colville Stake
Inland Nwest Council 611
34221 Newport Hwy
Chattaroy, WA 99003


Lds Church‐Dishman Hills‐East Stake
Inland Nwest Council 611
40th and Bowdish
Spokane, WA 99206


Lds Church‐Duluth Ward‐Duluth Stake
Voyageurs Area 286
521 Upham Rd
Duluth, MN 55811


Lds Church‐Foothills Ward‐Mt Spkn Stk
Inland Nwest Council 611
5113 N Mcdonald Rd
Spokane Valley, WA 99216


Lds Church‐Franklin Stake
Thompsons Station 1St Ward
Middle Tennessee Council 560
2251 Dewey Dr
Spring Hill, Tn 37174


Lds Church‐Franklin Stake
Thompsons Station 2Nd Ward
Middle Tennessee Council 560
2998 Commonwealth Dr
Thompsons Station First Ward
Spring Hill, Tn 37174


Lds Church‐Franklin Stake‐Dickson Ward
Middle Tennessee Council 560
100 Brown Dr
Dickson, TN 37055


Lds Church‐Franklin Stake‐Linden Ward
Middle Tennessee Council 560
4746 Hwy 128
Linden, TN 37096


Lds Church‐Gibsonia Ward‐Lakeland Stake
Greater Tampa Bay Area 089
1839 Gibsonia Galloway Rd
Lakeland, FL 33810


Lds Church‐Glenrose Ward‐Spo Stake
Inland Nwest Council 611
4444 E 43rd Ave
Spokane, WA 99223


Lds Church‐Greenbluff Ward‐Mt Spkn Stk
Inland Nwest Council 611
5302 E Greenbluff Rd
Colbert, WA 99005


Lds Church‐Highlands Ward‐Lakeland Stake
Greater Tampa Bay Area 089
5850 Lakeland Highlands Rd
Lakeland, FL 33813


Lds Church‐Hopkinsville Stake‐Sango Ward
Middle Tennessee Council 560
3242 Hwy 41A S
Clarksville, TN 37043


Lds Church‐Lecanto Ward‐Leesburg Stake
Greater Tampa Bay Area 089
1670 N Bowman Ter
Hernando, FL 34442
Lds Church‐Lithia Ward‐Brandon Stake
Greater Tampa Bay Area 089
4806 Bell Shoals Rd
Valrico, FL 33596


Lds Church‐Madison Stake‐Gallatin Ward
Middle Tennessee Council 560
1360 E Main St
Gallatin, TN 37066


Lds Church‐Miamisburg Ward
Miami Valley Council, Bsa 444
2516 Hilton Dr
Kettering, OH 45409


Lds Church‐Mica Peak Ward Valley Stake
Inland Nwest Council 611
1428 S Garry Rd
Liberty Lake, WA 99019


Lds Church‐Mora Branch‐St Paul Stake
Voyageurs Area 286
1501 9th St Sw
Pine City, MN 55063


Lds Church‐Murfreesboro Stake‐Salem Ward
Middle Tennessee Council 560
1355 Middlebury Ct
Murfreesboro, TN 37128


Lds Church‐Nashville Stake‐Bellevue Ward
Middle Tennessee Council 560
4304 Hillsboro Pike
Nashville, TN 37215


Lds Church‐Nashville Stake‐Crockett Ward
Middle Tennessee Council 560
1646 Sunset Rd
Brentwood, TN 37027
Lds Church‐Nashville Stake‐Sunset Ward
Middle Tennessee Council 560
1646 Sunset Rd
Nolensville, TN 37135


Lds Church‐Opportunity Ward‐East Stake
Inland Nwest Council 611
4014 S Bowdish Rd
Spokane, WA 99206


Lds Church‐Providence Ward‐Brandon Stake
Greater Tampa Bay Area 089
1412 John Moore Rd
Brandon, FL 33511


Lds Church‐Quail Run Ward‐Moscow Stake
Inland Nwest Council 611
1016 S Mountainview Rd
Moscow, ID 83843


Lds Church‐Raccoon River Ward
Mid Iowa Council 177
400 Pleasant View Dr
Waukee, IA 50263


Lds Church‐Riverside Ward‐Colville Stake
Inland Nwest Council 611
1452 Phay Rd
Elk, WA 99009


Lds Church‐Riverview Ward‐Brandon Stake
Greater Tampa Bay Area 089
4806 Bell Shoals Rd
Valrico, FL 33596


Lds Church‐Saint Maries Ward‐Cda Stake
Inland Nwest Council 611
201 S 23St
St Maries, ID 83861


Lds Church‐Saltese Ward‐Valley Stake
Inland Nwest Council 611
21022 E Wellesley Ave
Otis Orchards, WA 99027


Lds Church‐Shiloh Hills Ward‐Mt Spkn Stk
Inland Nwest Council 611
808 E Sitka Ave
Spokane, WA 99208


Lds Church‐Sunset Ward‐West Stake
Inland Nwest Council 611
10405 W Melville Rd
Cheney, WA 99004


Lds Church‐Tampa 1St Ward‐Tampa Stake
Greater Tampa Bay Area 089
4601 S Macdill Ave
Tampa, FL 33611


Lds Church‐Tampa 2Nd Ward‐Tampa Stake
Greater Tampa Bay Area 089
7851 Lutz Lake Fern Rd
Odessa, FL 33556


Lds Church‐Tampa 4Th Ward‐Tampa Stake
Greater Tampa Bay Area 089
8020 Gunn Hwy
Tampa, FL 33626


Lds Church‐Valrico Ward‐Brandon Stake
Greater Tampa Bay Area 089
4806 Bell Shoals Rd
Valrico, FL 33596


Lds Church‐West Terrace‐West Stake
Inland Nwest Council 611
10405 W Melville Rd
Cheney, WA 99004


Lds Church‐West Valley Ward‐Mt Spkn Stk
Inland Nwest Council 611
5322 N Evergreen Rd
Spokane Valley, WA 99216
Lds Church‐Wiesbaden Servicemen Ward
Transatlantic Council, Bsa 802
Wiesbaden Military Ward Lds
Apo Ae, 09096


Lds Ch‐Winter Haven Ward‐Lakeland Stake
Greater Tampa Bay Area 089
1958 9Th St Se
Winter Haven, Fl 33880


Lds Cibola Ward Abq North Stake
Great Swest Council 412
4500 Seven Bar Loop Rd Nw
Albuquerque, NM 87114


Lds Cimarron Creek Ward Meadows Stake
Las Vegas Area Council 328
8213 Woodland Prairie Ave
Las Vegas, NV 89129


Lds Cimarron Ward Desert Foothill Stake
Las Vegas Area Council 328
7401 Smoke Ranch Rd
Las Vegas, NV 89128


Lds Cimarron Ward/Montrose Stake
Denver Area Council 061
1521 S Hillcrest Dr
Montrose, CO 81401


Lds Circleville First Ward
Utah National Parks 591
250 W 470 S
Circleville, UT 84723


Lds Circleville Second Ward
Utah National Parks 591
General Delivery
P.O. Box 47
Circleville, UT 84723
Lds Citrus Heights 4Th Antelope Stake
Golden Empire Council 047
3621 Elverta Rd
Antelope, CA 95843


Lds Citrus Heights Stake
Golden Empire Council 047
7009 Van Maren Ln
Citrus Heights, CA 95621


Lds Civic Ctr Ward N Las Vegas Stake
Las Vegas Area Council 328
2401 E Tonopah Ave
North Las Vegas, Nv 89030


Lds Clackamas Ward Milwaukie Stake
Cascade Pacific Council 492
13520 SE Ruscliffe Ln
Portland, OR 97222


Lds Clark Lake Ward Kent Stake
Chief Seattle Council 609
24419 94th Ave S
Kent, WA 98030


Lds Clarke Farms Ward, Parker Stake
Denver Area Council 061
11755 Tara Ln
Parker, CO 80134


Lds Clarkston Ward ‐ Grand Blanc Stake
Great Lakes Fsc 272
6566 Cranberry Lake Rd
Clarkston, MI 48348


Lds Clarksville Ward Fort Smith Stake
Westark Area Council 016
776 Cravens Ln
New Blaine, AR 72851


Lds Clayton Ward
Tuscarora Council 424
303 Canterbury Rd
Smithfield, NC 27577


Lds Clear Creek Ward Carson City Stake
Nevada Area Council 329
1421 Kingsley Ln
Carson City, NV 89701


Lds Clear Creek Ward, Golden Stake
Denver Area Council 061
West 32nd Ave    Mcintyre
Golden, CO 80401


Lds Clear Lake 1St Ward
League City Stake
Sam Houston Area Council 576
1802 Gunwale Rd
Houston, Tx 77062


Lds Clear Lake 2Nd Ward
League City Stake
Sam Houston Area Council 576
1802 Gunwale Rd
Houston, Tx 77062


Lds Clear Lake Ward Keizer Stake
Cascade Pacific Council 492
1375 Lockhaven Dr Ne
Keizer, OR 97303


Lds Clearfield 10Th Ward
Clearfield North Stake
Trapper Trails 589
350 Vine St
Clearfield, Ut 84015


Lds Clearfield 11Th Ward
Clearfield Stake
Trapper Trails 589
1245 S 1175 E
Clearfield, Ut 84015
Lds Clearfield 12Th Ward
Clearfield North Stake
Trapper Trails 589
151 N 1000 W
Clearfield, Ut 84015


Lds Clearfield 14Th Ward
Clearfield South Stake
Trapper Trails 589
2186 S 125 E
Clearfield, Ut 84015


Lds Clearfield 16Th Ward
Clearfield South Stake
Trapper Trails 589
1895 S Main St
Clearfield, Ut 84015


Lds Clearfield 18Th Ward
Clearfield North Stake
Trapper Trails 589
151 N 1000 W
Clearfield, Ut 84015


Lds Clearfield 1St Ward
Clearfield Stake
Trapper Trails 589
935 S State St
Clearfield, Ut 84015


Lds Clearfield 20Th Ward
Clearfield South Stake
Trapper Trails 589
2186 S 125 W
Clearfield, Ut 84015


Lds Clearfield 22Nd Ward
Clearfield North Stake
Trapper Trails 589
1469 W 700 S
Syracuse, Ut 84075
Lds Clearfield 23Rd Ward
Clearfield North Stake
Trapper Trails 589
4383 W 300 N
West Point, Ut 84015


Lds Clearfield 2Nd Ward
Clearfield Stake
Trapper Trails 589
1245 S 1175 E
Clearfield, Ut 84015


Lds Clearfield 3Rd Ward
Clearfield North Stake
Trapper Trails 589
350 Vine St
Clearfield, Ut 84015


Lds Clearfield 4Th Ward
Clearfield Stake
Trapper Trails 589
838 E 600 S
Clearfield, Ut 84015


Lds Clearfield 5Th Ward
Clearfield Stake
Trapper Trails 589
935 So State
Clearfield, Ut 84015


Lds Clearfield 8Th Ward
Clearfield North Stake
Trapper Trails 589
338 W 1800 N
Sunset, Ut 84015


Lds Clearfield 9Th Ward
Clearfield Stake
Trapper Trails 589
838 E 600 S
Clearfield, Ut 84015


Lds Clearview Ward Snohomish Stake
Mount Baker Council, Bsa 606
8522 131st Ave Se
Snohomish, WA 98290


Lds Cleburne Ward ‐ Weatherford Stake
Longhorn Council 662
303 S Nolan River Rd
Cleburne, TX 76033


Lds Clement Park Ward, Columbine Stake
Denver Area Council 061
6705 S Webster St
Littleton, CO 80128


Lds Clermont Leesburg
Central Florida Council 083
14600 Green Valley Blvd
Clermont, FL 34711


Lds Cleveland First Ward
Utah National Parks 591
P.O. Box 427
Cleveland, UT 84518


Lds Cleveland Second Ward
Utah National Parks 591
355 W 100 N.
Cleveland, UT 84518


Lds Clifton 1St Ward
Preston North Stake
Trapper Trails 589
170 W 1St N
Clifton, Id 83228


Lds Clifton 2Nd Ward
Preston North Stake
Trapper Trails 589
170 W 1St N
Clifton, Id 83228


Lds Clifton Ward
National Capital Area Council 082
11417 Meath Dr
Fairfax, VA 22030


Lds Clifton Ward
National Capital Area Council 082
14150 Upperridge Dr
Centreville, VA 20121


Lds Cline Falls Ward ‐ Redmond Stake
Crater Lake Council 491
430 SW Rimrock Way
Redmond, OR 97756


Lds Clinton 11Th Ward
Clinton North Stake
Trapper Trails 589
1448 W 1800 N
Clinton, Ut 84015


Lds Clinton 15Th Ward
Clinton West Stake
Trapper Trails 589
2841 W 1300 N
Clinton, Ut 84015


Lds Clinton 17Th Ward
Clinton West Stake
Trapper Trails 589
1828 N 3000 W
Clinton, Ut 84015


Lds Clinton 18Th Ward
Clinton North Stake
Trapper Trails 589
2206 W 2300 N
Clinton, Ut 84015


Lds Clinton 21St Ward
Clinton West Stake
Trapper Trails 589
1828 N 3000 W
Clinton, Ut 84015
Lds Clinton 22Nd Ward
Clinton West Stake
Trapper Trails 589
2141 W 1800 N
Clinton, Ut 84015


Lds Clinton 23Rd Ward
Clinton North Stake
Trapper Trails 589
2206 W 2300 N
Clinton, Ut 84015


Lds Clinton 25Th Ward
Clinton West Stake
Trapper Trails 589
2841 W 1300 N
Clinton, Ut 84015


Lds Clinton 26Th Ward
Clinton West Stake
Trapper Trails 589
1828 N 3000 W
Clinton, Ut 84015


Lds Clinton 29Th Ward
Clinton West Stake
Trapper Trails 589
2841 W 1300 N
Clinton, Ut 84015


Lds Clinton 2Nd Ward
Clinton West Stake
Trapper Trails 589
2141 W 1800 N
Clinton, Ut 84015


Lds Clinton 3Rd Ward
Clinton North Stake
Trapper Trails 589
2223 N 1000 W
Clinton, Ut 84015
Lds Clinton 4Th Ward
Clinton North Stake
Trapper Trails 589
2223 N 1000 W
Clinton, Ut 84015


Lds Clinton 5Th Ward
Clinton North Stake
Trapper Trails 589
2206 W 2300 N
Clinton, Ut 84015


Lds Clinton 6Th Ward
Clinton North Stake
Trapper Trails 589
2223 N 1000 W
Clinton, Ut 84015


Lds Clinton 7Th Ward
Clinton North Stake
Trapper Trails 589
1448 W 1800 N
Clinton, Ut 84015


Lds Clinton 9Th Ward
Clinton West Stake
Trapper Trails 589
2141 W 1800 N
Clinton, Ut 84015


Lds Clinton Branch, Missoula Stake
Montana Council 315
12590 US Hwy 10 E
Clinton, MT 59825


Lds Clinton Ward Iowa Stake
Illowa Council 133
1825 16th St Nw
Clinton, IA 52732


Lds Clinton Ward Morristown Nj Stake
Washington Crossing Council 777
7 Red Schoolhouse Rd
Clinton Township, Nj 08833


Lds Clinton Ward Okc Stake
Last Frontier Council 480
430 S 28th St
Clinton, OK 73601


Lds Clinton Ward Warrensburg Stake
Heart of America Council 307
297 NW 40th Rd
Clinton, MO 64735


Lds Cloverdale Ward
Redwood Empire Council 041
1101 S Cloverdale Blvd
Cloverdale, CA 95425


Lds Cloverdale Ward‐Mer E Stk
Ore‐Ida Council 106 ‐ Bsa 106
11918 Ustick Rd
Boise, ID 83713


Lds Clovis 2Nd Ward
Lubbock Tx Stake North
Conquistador Council Bsa 413
2800 Lore St
Clovis, Nm 88101


Lds Clovis Ward ‐ Lubbock Tx Stake North
Conquistador Council Bsa 413
2800 Lore St
Clovis, NM 88101


Lds Coal Creek Second Ward
Utah National Parks 591
290 W 1045 N
Cedar City, UT 84720


Lds Coal Creek Spanish Branch
Utah National Parks 591
638 E Canyon Center Dr
Cedar City, UT 84721


Lds Coal Creek Third Ward
Utah National Parks 591
438 W 1150 N
Cedar City, UT 84721


Lds Coal Creek Ward, Aurora Stake
Denver Area Council 061
950 Laredo St
Aurora, CO 80011


Lds Coal Mine Ward, Columbine Stake
Denver Area Council 061
10209 W Coal Mine Ave
Littleton, CO 80127


Lds Coal Mountain Ward‐ Sugar Hill Stake
Northeast Georgia Council 101
4833 Suwanee‐Dam Rd
Suwanee, GA 30024


Lds Cobble Creek Ward
Utah National Parks 591
2015 N Wedgewood Ln
Cedar City, UT 84721


Lds Cobblestone 1St Ward
Providence Stake
Trapper Trails 589
420 W 100 N
Providence, Ut 84332


Lds Cobblestone 2Nd Ward
Providence Stake
Trapper Trails 589
420 W 100 N
Providence, Ut 84332


Lds Cobblestone Ward
Utah National Parks 591
1954 Fieldstone Ln
Heber City, UT 84032


Lds Cobblestone Ward
Utah National Parks 591
350 W Granite Dr
Washington, UT 84780


Lds Cochran Ward
Central Georgia Council 096
130 Ann St
Cochran, GA 31014


Lds Cocoa Cocoa
Central Florida Council 083
3000 S St
Titusville, FL 32780


Lds Cody 1St Ward, Cody Stake
Greater Wyoming Council 638
295 Rd 2Ab
Cody, WY 82414


Lds Cody 2Nd Ward, Cody Stake
Greater Wyoming Council 638
1407 Heart Mountain St
Cody, WY 82414


Lds Cody 3Rd Ward, Cody Stake
Greater Wyoming Council 638
1407 Heart Mountain St
Cody, WY 82414


Lds Cody 4Th Ward, Cody Stake
Greater Wyoming Council 638
1719 Wyoming Ave
Cody, WY 82414


Lds Coker Springs Ward, Augusta, Ga
Georgia‐Carolina 093
358 E Pine Log Rd
Aiken, SC 29803
Lds Cokeville 1St Ward
Montpelier South Stake
Trapper Trails 589
725 E Main
Cokeville, Wy 83114


Lds Cokeville 2Nd Ward
Montpelier South Stake
Trapper Trails 589
725 E Main
Cokeville, Wy 83114


Lds Cold Springs Ward ‐ Reno North Stake
Nevada Area Council 329
8080 Lemmon Dr
Reno, NV 89506


Lds Colehaven Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
1111 S Cole Rd
Boise, ID 83709


Lds Colfax Ward Auburn Stake
Golden Empire Council 047
1875 S Auburn St
Colfax, CA 95713


Lds Colfax Ward/Moscow Stake
Inland Nwest Council 611
2652 Almota Rd
Colfax, WA 99111


Lds Colima Ward L701
Greater Los Angeles Area 033
15265 Mulberry Dr
Whittier, CA 90604


Lds College Heights Ward
E Bakersfield Stake
Southern Sierra Council 030
1903 Bernard St
Bakersfield, Ca 93306
Lds College Park Ward
The Woodlands Stake
Sam Houston Area Council 576
2495 Ed Kharbat Dr
Conroe, Tx 77301


Lds College Park Ward Silver Sprng Stake
National Capital Area Council 082
3790 E W Hwy
Hyattsville, MD 20782


Lds College Station 1St Ward
College Station Stake
Sam Houston Area Council 576
2815 Welsh Ave
College Station, Tx 77845


Lds Colleyville 1St Ward
Colleyville Stake
Longhorn Council 662
500 Mcdonwell School Rd
Colleyville, Tx 76034


Lds Collister Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
2680
Hill Rd
Boise, ID 83703


Lds Colonial Springs Ward
Pleasant View South Stake
Trapper Trails 589
2360 N 600 W
Harrisville, Ut 84414


Lds Colony Pointe Ward
Utah National Parks 591
1915 W 1260 N
Lehi, UT 84043


Lds Colstrip Ward, Billings East Stake
Montana Council 315
P.O. Box 55
Colstrip, MT 59323


Lds Columbia 2 Ward Columbia Stake
Baltimore Area Council 220
4100 Saint Johns Ln
Ellicott City, MD 21042


Lds Columbia Clarksville Br
Columbia Stake
Baltimore Area Council 220
6020 10 Oaks Rd
Clarksville, Md 21029


Lds Columbia Falls 1St Wd
Kalispell Stake
Montana Council 315
Talbot Rd
Columbia Falls, Mt 59912


Lds Columbia Heights Ward
Kaysville South Stake
Trapper Trails 589
9 W 550 So
Kaysville, Ut 84037


Lds Columbia Heights Ward
Vancouver Stake
Cascade Pacific Council 492
10509 Se 5Th St
Vancouver, Wa 98664


Lds Columbia Hills Ward/Wenatchee Stake
Grand Columbia Council 614
667 10th St Ne
East Wenatchee, WA 98802


Lds Columbia I Ward Columbia Stake
Baltimore Area Council 220
6020 10 Oaks Rd
Clarksville, MD 21029
Lds Columbia Village Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3800 E Grand Forest Dr
Boise, ID 83716


Lds Columbia Ward
Indian Waters Council 553
4440 Fort Jackson Blvd
Columbia, SC 29209


Lds Columbia Ward ‐ Columbia Stake
Great Rivers Council 653
904 Old 63 S
Columbia, MO 65201


Lds Columbia Ward Gresham Stake
Cascade Pacific Council 492
1515 SW Cherry Park Rd
Troutdale, OR 97060


Lds Columbiana Ward, Bessemer Stake
Greater Alabama Council 001
190 Egg and Butter Rd
Columbiana, AL 35051


Lds Columbine Ward, Columbine Stake
Denver Area Council 061
6705 S Webster St
Littleton, CO 80128


Lds Columbus Branch Lincoln Stake
Mid‐America Council 326
3165 21st Ave
Columbus, NE 68601


Lds Columbus Park Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3020 W Cherry Ln
Boise, ID 83705


Lds Columbus‐2Nd Ward‐Indianapolis
Hoosier Trails Council 145 145
3330 30th St
Columbus, IN 47203


Lds Colusa Branch Yuba City Stake
Golden Empire Council 047
P.O. Box 1322
Colusa, CA 95932


Lds Compton 1St Ward Lb Stake
Long Beach Area Council 032
6979 Orange Ave
Long Beach, CA 90805


Lds Comstock Ward ‐ Carson City Stake
Nevada Area Council 329
217 Grosh Ave, Unit A
Dayton, NV 89403


Lds Concord Ward Concord Nh Stake
Daniel Webster Council, Bsa 330
91 Clinton St
Concord, NH 03301


Lds Concord Ward Concord Stake
Daniel Webster Council, Bsa 330
90 Clinton St
Concord, NH 03301


Lds Concordia Branch Warrensburg Stake
Heart of America Council 307
102 N Bismark St
Concordia, MO 64020


Lds Conejo Canyon Ward
Newbury Park Stake
Ventura County Council 057
35 S Wendy Dr
Newbury Park, Ca 91320


Lds Conejo Creek Ward
Ventura County Council 057
1600 Erbes Rd
Thousand Oaks, CA 91362


Lds Congaree Ward
Indian Waters Council 553
1330 Whippoorwill Dr
West Columbia, SC 29169


Lds Conway Orlando South
Central Florida Council 083
4020 S Bumby Ave
Orlando, FL 32806


Lds Conyers Ward/Conyers Stake
Atlanta Area Council 092
1275 Flat Shoals Rd Se
Conyers, GA 30013


Lds Cook Park Ward Tualatin Stake
Cascade Pacific Council 492
15555 SW 98th Ave
Tigard, OR 97224


Lds Cooper Hollow Ward Monmouth Stake
Cascade Pacific Council 492
1401 SW 13th St
Dallas, OR 97338


Lds Cooper Mtn Ward Bvtn West Stake
Cascade Pacific Council 492
17140 SW Bany Rd
Beaverton, OR 97007


Lds Coos Bay Ward Coos Bay Stake
Oregon Trail Council 697
3355 Virginia Ave
North Bend, OR 97459


Lds Copper Cloud Ward‐Lds
Mcmillan Ward Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
2549 W Astonte Dr
Meridian, Id 83646


Lds Copper Crest Ward Shadow Mtn Stake
Las Vegas Area Council 328
6105 Ridgecarn Ave
Las Vegas, Nv 89130


Lds Copperas Cove 1St Ward
Killeen Stake
Longhorn Council 662
1502 Virginia Ave
Copperas Cove, Tx 76522


Lds Copperas Cove 2Nd Ward
Killeen Stake
Longhorn Council 662
1502 Virginia Ave
Copperas Cove, Tx 76522


Lds Copperbend Ward
Utah National Parks 591
4994 E Broken Arrow Ln
Eagle Mountain, UT 84005


Lds Copperfield Ward
Bear Creek Stake
Sam Houston Area Council 576
16203 Longenbaugh
Houston, Tx 77095


Lds Copperleaf Ward, Arapahoe Stake
Denver Area Council 061
21750 E Dorado Ave
Aurora, CO 80015


Lds Coquille Ward Coos Bay Stake
Oregon Trail Council 697
2405 Shelley Rd
2033 W 12th St
Coquille, OR 97423


Lds Coral Canyon First Ward    Washington
Utah National Parks 591
1950 N Coral Canyon Blvd
Washington, UT 84780


Lds Coral Canyon Fourth Ward
Utah National Parks 591
952 N Mountainside Ave
Washington, UT 84780


Lds Coral Canyon Second Ward
Utah National Parks 591
1125 N Spring Valley Dr
Washington, UT 84780


Lds Coral Canyon Third Ward
Utah National Parks 591
1950 N Coral Canyon Blvd
Washington, UT 84780


Lds Cordera Ward‐North Stake
Pikes Peak Council 060
8610 Scarborough Dr
Colorado Springs, CO 80920


Lds Corinne 1St Ward
Brigham City West Stake
Trapper Trails 589
2335 N 400 W
Corinne, Ut 84307


Lds Corinne 2Nd Ward
Brigham City West Stake
Trapper Trails 589
2335 N 4000 W
Corinne, Ut 84307


Lds Cornell Ward Hillsboro Stake
Cascade Pacific Council 492
1177 NE Birchaire Ln
Hillsboro, OR 97124


Lds Cornerstone Park Ward
Littleton Stake
Denver Area Council 061
999 E Tufts Ave
Cherry Hills, Co 80113


Lds Corning Ward Anderson Stake
Golden Empire Council 047
111 N Marguerite Ave
Corning, CA 96021


Lds Coronado Ward Blue Diamond Stake
Las Vegas Area Council 328
7885 W Robindale Rd
Las Vegas, NV 89113


Lds Cortez 1St Ward Durango Stake
Great Swest Council 412
644 N Harrison St
Cortez, CO 81321


Lds Cortez 2Nd Ward Durango Stake
Great Swest Council 412
1800 E Empire St
Cortez, CO 81321


Lds Cortez 3Rd Ward Durango Stake
Great Swest Council 412
26525 Rd M
Dolores, CO 81323


Lds Cortez 4Th Ward Durango Stake
Great Swest Council 412
25590 Rd N.6 Loop
Cortez, CO 81321


Lds Corvallis 1St Ward Corvallis Stake
Oregon Trail Council 697
4141 NW Harrison Blvd
Corvallis, OR 97330


Lds Corvallis 2Nd Ward Corvallis Stake
Oregon Trail Council 697
4141 NW Harrison Blvd
Corvallis, OR 97330


Lds Corvallis 3Rd Ward Corvallis Stake
Oregon Trail Council 697
1205 NW Walnut Blvd
Corvallis, OR 97330


Lds Corvallis 4Th Ward Corvallis Stake
Oregon Trail Council 697
1205 NW Walnut Blvd
Corvallis, OR 97330


Lds Corvallis Ward, Stevensville Stake
Montana Council 315
957 Eside Hwy
Corvallis, MT 59828


Lds Corydon First Branch
Lincoln Heritage Council 205
215 W Chestnut St
Corydon, IN 47112


Lds Cottage Grove Ward Eugene Stk
Oregon Trail Council 697
531 S 10th St
Cottage Grove, OR 97424


Lds Cottage Lake Ward Bothell Stake
Chief Seattle Council 609
18860 NE Woodinville Duvall Rd
Woodinville, WA 98077


Lds Cottage Park Ward Sac East Stake
Golden Empire Council 047
2730 Hurley Way
Sacramento, CA 95864


Lds Cotton Acres Ward
Utah National Parks 591
2335 E 40 N
St George, UT 84790
Lds Cotton Creek Ward Westminister Stake
Denver Area Council 061
1951 Elmwood Ln
Westminster, CO 80221


Lds Cotton Manor Ward
Utah National Parks 591
2417 E 350 N
Saint George, UT 84790


Lds Cottonwood Canyon Ward/Yakima Stake
Grand Columbia Council 614
1414 S 72nd Ave
Yakima, WA 98908


Lds Cottonwood Creek Ward
Farr West Poplar Stake
Trapper Trails 589
1800 W 1800 N
Farr W, Ut 84404


Lds Cottonwood Heights Ward
Albuquerque West Stake
Great Swest Council 412
6000 Kachina St Nw
Albuquerque, Nm 87120


Lds Cottonwood Park Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
12989 W Paint Dr
Boise, ID 83713


Lds Cottonwood Ward
Utah National Parks 591
2811 E 3580 S
Saint George, UT 84790


Lds Cottonwood Ward
Utah National Parks 591
3600 N Minersville R
Enoch, UT 84720
Lds Cottonwood Ward Papillion Stake
Mid‐America Council 326
12009 S 84th St
Papillion, NE 68046


Lds Cougar Mtn Ward Bellevue S Stake
Chief Seattle Council 609
4915 165Th Pl Se
Bellevue, Wa 98006


Lds Coulee Dam Ward/Ephrata Stake
Grand Columbia Council 614
4635 Geostar Dr
Grand Coulee, WA 99133


Lds Council Bluffs Ward
Council Bluff Stake
Mid‐America Council 326
2226 Ave I
Council Bluffs, Ia 51501


Lds Council Creek Ward
Forest Grove Stake
Cascade Pacific Council 492
2700 Leon Dr
Forest Grove, Or 97116


Lds Council Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
205 N Railroad St
212 S Fairield
Council, ID 83612


Lds Country Brook Ward Lake Mead Stake
Las Vegas Area Council 328
1002 Burkholder Blvd
Henderson, NV 89015


Lds Country Creek Ward
Holmes Creek Stake
Trapper Trails 589
625 S 750 W
Layton, Ut 84041


Lds Country Crossing Ward
Syracuse Bluff Stake
Trapper Trails 589
1285 S 2500 W
Syracuse, Ut 84075


Lds Country Hills Ward
Weber Heights Stake
Trapper Trails 589
1401 Country Hills Dr
Ogden, Ut 84403


Lds Country Hollow Ward
Layton East Stake
Trapper Trails 589
1015 N Emerald Dr
Layton, Ut 84040


Lds Country Lane Ward
Kaysville South Stake
Trapper Trails 589
9 W 550 S
Kaysville, Ut 84037


Lds Country Meadows Ward
West Haven Stake
Trapper Trails 589
3330 S 4700 W
West Haven, Ut 84401


Lds Country Mill Ward
Deseret Mill Stake
Trapper Trails 589
270 W Burton Lane
Kaysville, Ut 84037


Lds Country View Ward
Holmes Creek Stake
Trapper Trails 589
625 S 750 E
Layton, Ut 84041


Lds Cove First Ward
Utah National Parks 591
805 N 1930 W
Roosevelt, UT 84066


Lds Cove Second Ward
Utah National Parks 591
97 Park Ridge Dr 515‐16
Roosevelt, UT 84066


Lds Cove Ward
Utah National Parks 591
80 N Sunnyside Dr
Cedar City, UT 84720


Lds Coventry Park Ward
Clearfield South Stake
Trapper Trails 589
752 N 3700 W
Layton, Ut 84041


Lds Covington Ward / Conyers Stake
Atlanta Area Council 092
10235 Eagle Dr
Covington, GA 30014


Lds Cowley 1St Ward Lovell Stake
Greater Wyoming Council 638
P.O. Box 655
Cowley, WY 82420


Lds Cowley 2Nd Ward, Lovell Stake
Greater Wyoming Council 638
P.O. Box 655
Cowley, WY 82420


Lds Craig 1St Ward/Craig Stake
Denver Area Council 061
1295 W 9th St
Craig, CO 81625
Lds Craig 2Nd Ward/Craig Stake
Denver Area Council 061
1120 Lecuyer Dr
Craig, CO 81625


Lds Cranberry Farms Second Ward
Utah National Parks 591
2390 W 2200 N
Lehi, UT 84043


Lds Cranberry Farms Ward
Utah National Parks 591
2150 Pointe Meadow Loop
Lehi, UT 84043


Lds Crawfordville Ward
Tallahassee, Fl Stake
Suwannee River Area Council 664
4A Guinevere Ln
Crawfordville, Fl 32327


Lds Creekside Ward
Hacienda Heights Stake 741
Greater Los Angeles Area 033
20801 Marcon Dr
Walnut, Ca 91789


Lds Creekside Ward
Kaysville Central Stake
Trapper Trails 589
555 No 100 E
Kaysville, Ut 84037


Lds Creekside Ward
Utah National Parks 591
244 Sunset Dr
Alpine, UT 84004


Lds Creekside Ward Salem Stake
Cascade Pacific Council 492
3645 Cloverdale Dr Se
Turner, OR 97392


Lds Creekview Ward
Kaysville South Stake
Trapper Trails 589
900 So Main St
Kaysville, Ut 84037


Lds Crescent City 1St Ward
Eureka Stake
Crater Lake Council 491
1031 A St
Crescent City, Ca 95531


Lds Crescent City 2Nd Ward
Eureka Stake
Crater Lake Council 491
P.O. Box 489
Crescent City, Ca 95531


Lds Crestmoor Ward, Aurora South Stake
Denver Area Council 061
740 Hudson St
Denver, CO 80220


Lds Crestview 2Nd Ward
Gulf Coast Council 773
2 Del Cerro Camino
Crestview, FL 32539


Lds Crestview First Ward
Gulf Coast Council 773
3 Del Cerro Camino
Crestview, FL 32539


Lds Crestwood 1St Ward
Lincoln Heritage Council 205
7116 W Hwy 22
Crestwood, KY 40014


Lds Crestwood 2Nd Ward
Lincoln Heritage Council 205
6401 Wwind Way
Crestwood, KY 40014


Lds Crestwood Ward Kent Stake
Chief Seattle Council 609
26106 2164th Ave Se
Covington, WA 98042


Lds Creswell Ward Eugene Stake
Oregon Trail Council 697
531 S 10th St
Cottage Grove, OR 97424


Lds Crimson Cliffs Ward
Utah National Parks 591
2573 E 2300 S Cir
St George, UT 84790


Lds Crittenden Ward Lexington Stake
Dan Beard Council, Bsa 438
12288 Percival Rd
Walton, KY 41094


Lds Crooked River Ward Far West Stake
Heart of America Council 307
27800 NE 192nd St
Lawson, MO 64062


Lds Crosby Park Ward‐Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
997 W Cagney St
Meridian, ID 83646


Lds Cross Hollow Ward Cedar City
Utah National Parks 591
2610 W Cody Dr
Cedar City, UT 84720


Lds Crossman Peak Ward
Lake Havasu City Stake
Las Vegas Area Council 328
510 Acoma Blvd N
Lake Havasu City, Az 86403


Lds Crossroads First Ward
Utah National Parks 591
1603 N August Dr
Saratoga Springs, UT 84045


Lds Crossroads Second Ward
Utah National Parks 591
46 W Apache Rd
Saratoga Springs, UT 84045


Lds Crossroads Ward
Frisco Tx Shawnee Trl Stake
Circle Ten Council 571
8801 Martop Rd
Aubrey, Tx 76227


Lds Crosswinds First Ward
Utah National Parks 591
870 E Canyon Rd
Spanish Fork, UT 84660


Lds Crosswinds Second Ward
Utah National Parks 591
1229 S 1100 E
Spanish Fork, UT 84660


Lds Crosswinds Third Ward
Utah National Parks 591
1661 S 1400 E
Spanish Fork, UT 84660


Lds Crown Point Ward Gresham Stake
Cascade Pacific Council 492
1515 SW Cherry Park Rd
Troutdale, OR 97060


Lds Crows Landing Ward Turlock Stake
Greater Yosemite Council 059
18601 Crows Landing Rd
Crows Landing, CA 95313
Lds Crystal Lake 1, Buffalo Grove
Blackhawk Area 660
5209 Walkup Rd
Crystal Lake, IL 60012


Lds Crystal Lake 1, Buffalo Grove Stake
Blackhawk Area 660
480 N Walkup Rd
Crystal Lake, IL 60012


Lds Crystal Lake 2, Buffalo Grove Stake
Blackhawk Area 660
480 N Walkup Rd
Crystal Lake, IL 60014


Lds Crystal Lake 2, Buffalo Grove Stake
Blackhawk Area 660
480 N Walkup Rd
Crystal Lake, IL 60012


Lds Crystal Spgs 1St Ward
San Mateo Stake
Pacific Skyline Council 031
795 Sneath Ln
San Bruno, Ca 94066


Lds Crystal Spgs 2Nd Ward
San Mateo Stake
Pacific Skyline Council 031
1000 Shell Blvd
Foster City, Ca 94404


Lds Crystal Vly Ward, Castle Rock Stake
Denver Area Council 061
950 Plum Creek Blvd
Castle Rock, Co 80104


Lds Cuesta Park Ward, Los Altos Stake
Pacific Skyline Council 031
1300 Grant Rd
Los Altos, CA 94024
Lds Cullman Ward, Huntsville Stake
Greater Alabama Council 001
910 Saint Joseph Dr Nw
Cullman, AL 35055


Lds Culpeper Ward Fredericksburg Stake
National Capital Area Council 082
420 Willow Lawn Dr
Culpeper, VA 22701


Lds Cumberland Gap Cumberland
Great Smoky Mountain Council 557
2063 Hwy 63
Arthur, TN 37707


Lds Currituck Branch Chesapeake Va Stake
Tidewater Council 596
113 Golden Jubilee St
Jarvisburg, NC 27947


Lds Cypress Creek Ward
Houston North Stake
Sam Houston Area Council 576
16331 Hafer Rd
Houston, Tx 77090


Lds Cypress Creek Ward, Cedar Park Stake
Capitol Area Council 564
1004 W Park St
Cedar Park, TX 78613


Lds Cypress Ward Fort Myers Stake
Southwest Florida Council 088
4602 Oak Leaf Dr
Naples, FL 34119


Lds Cypress Ward Fort Myers Stake
Southwest Florida Council 088
695 102nd Ave N
Naples, FL 34108
Lds‐ Dacula Second Ward‐ Lilburn Stake
Northeast Georgia Council 101
3355 Sugarloaf Pkwy
Lawrenceville, GA 30044


Lds Dahlonega Ward ‐ Sugar Hill Stake
Northeast Georgia Council 101
P.O. Box 228
Unit Location
Dawsonville, GA 30534


Lds Dahlonega Ward ‐ Sugar Hill Stake
Northeast Georgia Council 101
P.O. Box 228
Dawsonville, GA 30534


Lds Dairy Creek Ward Forest Grove Stake
Cascade Pacific Council 492
3661 Brooke St
Forest Grove, OR 97116


Lds Dakota Ridge Ward, Columbine Stake
Denver Area Council 061
12654 W Belleview Ave
Littleton, CO 80127


Lds Dale City Ward Woodbridge Stake
National Capital Area Council 082
5750 Websters Way
Manassas, VA 20112


Lds Daleville
Alabama‐Florida Council 003
110 Shellfield Rd
Enterprise, AL 36330


Lds Dalhart Ward Amarillo Tx Stake
Golden Spread Council 562
1300 E 16th St
Dalhart, TX 79022
Lds Dalton Ward
Northwest Georgia Council 100
2002 Kingsridge Dr
Dalton, GA 30720


Lds Damascus Ward Frederick Stake
National Capital Area Council 082
9600 Main St
Mt Airy, MD 21771


Lds Damascus Ward Mt Hood Oregon Stake
Cascade Pacific Council 492
12300 SE 312th Ave
Boring, OR 97009


Lds Dammeron Valley Ward
Utah National Parks 591
696 N High Ground Dr
Dammeron Valley, UT 84783


Lds Damonte Ranch Ward ‐ Mt Rose Stake
Nevada Area Council 329
2665 Brentina Ct
Reno, NV 89521


Lds Danbury Ward Yorktown Stake
Connecticut Yankee Council Bsa 072
16 Saw Mill Rd
Newtown, CT 06470


Lds Daniel First Ward
Utah National Parks 591
1661 E 980 S.
Heber City, UT 84032


Lds Daniel Second Ward
Utah National Parks 591
2981 S Daniels Rd
Heber City, UT 84032


Lds Daniel Third Ward
Utah National Parks 591
2071 S 500 E
Heber City, UT 84032


Lds Daniels Canyon Ward
Utah National Parks 591
3150 S Mill Rd
Heber City, UT 84032


Lds Daniels Park Ward
Highlands Ranch Stake
Denver Area Council 061
4195 E Wildcat Reserve Pkwy
Highlands Ranch, Co 80126


Lds Danville Ward Champaign Stake
Prairielands 117
1949 N Bowman Ave
Danville, IL 61832


Lds Darby Ward, Stevensville Stake
Attn Loyd Rennaker
Montana Council 315
2238 Old Darby Rd
Hamilton, MT 59840


Lds Darien Ward Yorktown Stake
Connecticut Yankee Council Bsa 072
682 S Ave
New Canaan, CT 06840


Lds Davis 1St Ward Woodland Stake
Golden Empire Council 047
615 Elmwood Dr
Davis, CA 95616


Lds Davis First Ward
Utah National Parks 591
3990 S 1500 E
Vernal, UT 84078


Lds Davis Fourth Ward
Utah National Parks 591
3820 S 500 E
Vernal, UT 84078


Lds Davis Second Ward
Utah National Parks 591
4080 S 2500 E
Vernal, UT 84078


Lds Davis Third Ward
Utah National Parks 591
4080 S 2500 E
Vernal, UT 84078


Lds Dawson Hollow Ward
Kays Creek Stake
Trapper Trails 589
2435 E 1500 N
Layton, Ut 84040


Lds Dayton Stake
Miami Valley Council, Bsa 444
901 E Whipp Rd
Centerville, OH 45459


Lds Dayton Ward ‐ Carson City Stake
Nevada Area Council 329
703 Mahogany Dr
Dayton, NV 89403


Lds Dayton Ward Mcminnville Stake
Cascade Pacific Council 492
700 Ash St
Dayton, OR 97114


Lds Daytona Beach Deland
Central Florida Council 083
1125 6th St
Daytona Beach, FL 32117


Lds Dearborn Ward ‐ Westland Stake
Great Lakes Fsc 272
20201 Rotunda Dr
Dearborn, MI 48124


Lds Decatur 1St Ward Springfield Stake
Greater St Louis Area Council 312
3955 Lourdes Dr
Decatur, IL 62526


Lds Decatur Ward ‐ Denton Stake
Longhorn Council 662
202 E Thompson St
Decatur, TX 76234


Lds Decatur Ward, Fort Wayne Stake
Anthony Wayne Area 157
88 W Cardinal Pass
Decatur, IN 46733


Lds Decatur Ward, Madison Stake
Greater Alabama Council 001
2712 Dorchester Dr Se
Decatur, AL 35601


Lds Deer Creek Ward
Utah National Parks 591
1102 Center St
Midway, UT 84049


Lds Deer Lodge Ward, Butte Stake
Montana Council 315
825 Tumbleweed Ln
Deer Lodge, MT 59722


Lds Deer Meadow Ward
Utah National Parks 591
3008 S Fox Pointe Dr
Saratoga Springs, UT 84045


Lds Deer Spgs Ward Shadow Mtn Stake
Las Vegas Area Council 328
6489 Yellow Bells Ct
Las Vegas, Nv 89131
Lds Deerfield Ward
Utah National Parks 591
319 Matisse Ln
Alpine, UT 84004


Lds Defuniak Springs Ward
Gulf Coast Council 773
1072 Mcdaniel Rd
Westville, FL 32464


Lds Defuniak Ward
Gulf Coast Council 773
1072 Mcdaniel Rd
Westville, FL 32464


Lds Del Mar ‐ Rancho Carrillo Ward
San Diego Imperial Council 049
3450 Camino De Los Coches
Carlsbad, CA 92009


Lds Del Mar Stake Carmel Valley Ward
San Diego Imperial Council 049
127 Torrey Bluff Dr
San Diego, CA 92130


Lds Del Rey Park Ward Gilroy
Morgan Hill Stake
Silicon Valley Monterey Bay 055
7999 Miller Ave
Gilroy, Ca 95020


Lds Delano Ward, Bakersfield Stake
Southern Sierra Council 030
2117 9th Ave
Delano, CA 93215


Lds Delaware Ward Columbus Ohio Stake
Simon Kenton Council 441
15 Rock Creek Dr
Delaware, OH 43015
Lds Delta Fifth Ward
Utah National Parks 591
220 N 150 E
Delta, UT 84624


Lds Delta First Ward
Utah National Parks 591
473 W 300 N
Delta, UT 84624


Lds Delta Fourth Ward
Utah National Parks 591
P.O. Box 624
Delta, UT 84624


Lds Delta Seventh Ward
Attn Quinn Christensen
Utah National Parks 591
260 Cottonwood Dr
Delta, UT 84624


Lds Delta Sixth Ward
Utah National Parks 591
365 E 100 S
Delta, UT 84624


Lds Delta Third Ward
Utah National Parks 591
171 W 200 N
Delta, UT 84624


Lds Delta Ward/Montrose Stake
Denver Area Council 061
1778 Roubideau St
Delta, CO 81416


Lds Deltona Deland
Central Florida Council 083
3439 Goldenhills St
Deltona, FL 32738


Lds Demeyer Park Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6032 N Five Mile Rd
Boise, ID 83713


Lds Deming 1St Ward Silver City Stake
Yucca Council 573
1000 W Florida St
Deming, NM 88030


Lds Deming 2Nd Ward Sillver City Stake
Yucca Council 573
1000 W Florida St
Deming, NM 88030


Lds Denham Spgs 1St Ward
Denham Springs Stake
Istrouma Area Council 211
25367 Riverton Ave
Denham Springs, La 70726


Lds Denham Spgs 2Nd Ward
Denham Springs Stake
Istrouma Area Council 211
25367 Riverton Ave
Denham Springs, La 70726


Lds Denton 5Th Ward ‐ Denton Stake
Longhorn Council 662
4501 Teasley Ln
Denton, TX 76210


Lds Denton 6Th Ward ‐ Denton Stake
Longhorn Council 662
3000 Old N Rd
Denton, TX 76209


Lds Denver 3Rd Ward, Aurora Stake
Denver Area Council 061
11100 E Alameda Ave
Aurora, CO 80012


Lds Denver 4Th Ward, Aurora South Stake
Denver Area Council 061
11100 E Alameda Ave
Aurora, CO 80012


Lds Derry Ward Exeter Nh Stake
Daniel Webster Council, Bsa 330
50 Adams Pond Rd
Derry, NH 03038


Lds Derwood Ward Seneca Stake
National Capital Area Council 082
17700 Old Baltimore Rd
Olney, MD 20832


Lds Deschutes Ward ‐ Kennewick Stake
Blue Mountain Council 604
8120 W 4th Ave
Kennedwick, WA 99336


Lds Deseret Oasis Ward
Utah National Parks 591
3940 W 4500 S
Delta, UT 84624


Lds Deseret Ward Carmichael Stake
Golden Empire Council 047
8267 Deseret Ave
Fair Oaks, CA 95628


Lds Desert Bloom Br Warm Spgs Stake
Las Vegas Area Council 328
9271 Eaton Creek Ct
Las Vegas, Nv 89123


Lds Desert Breeze Ward Lakes Stake
Las Vegas Area Council 328
9580 Peace Way
Las Vegas, NV 89147


Lds Desert Hills Ward
Utah National Parks 591
Desert Hills Dr
St George, UT 84790


Lds Desert Hills Ward Blue Diamond Stake
Las Vegas Area Council 328
9945 Cimmaron Blvd
Las Vegas, NV 89178


Lds Desert Hills Ward Las Cruces Stake
Yucca Council 573
4229 Avrig Ct
Las Cruces, NM 88011


Lds Desert Inn Ward East Stake
Las Vegas Area Council 328
6558 Strawberry Cream Ct
Las Vegas, NV 89142


Lds Desert Rose Ward Black Mtn Stake
Las Vegas Area Council 328
101 E Delamar Dr
Henderson, NV 89015


Lds Desert Valley Ward Carnegie Stake
Las Vegas Area Council 328
815 Happy Sparrow Ave
Henderson, NV 89052


Lds Desert View Ward
Rock Springs Stake
Trapper Trails 589
2055 Edgar St
Rock Springs, Wy 82901


Lds Desert View Ward South Stake
Las Vegas Area Council 328
4340 W Warm Springs Rd
Las Vegas, NV 89118


Lds Desert Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
5751 S Five Mile Rd
Boise, ID 83709
Lds Deserts Edge Ward
Utah National Parks 591
1805 Rustic Dr
St. George, UT 84790


Lds Detroit River Branch
Westland Stake
Great Lakes Fsc 272
2600 14Th St
Detroit, Mi 48216


Lds Devonshire Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
5645 S Maple Grove
Boise, ID 83709


Lds Diamond Springs Ward
Utah National Parks 591
7519 N Sandpiper Rd
Eagle Mountain, UT 84005


Lds Diamond Springs Ward El Dorado Stake
Golden Empire Council 047
3275 Cedar Ravine Rd
Placerville, CA 95667


Lds Diamond Valley First Ward
Utah National Parks 591
8028 N Diamond Valley Dr
Saint George, UT 84770


Lds Diamond Valley Second Ward
Utah National Parks 591
Ch of Jesus Christ of Latter Day Saints
1784 N Diamond Valley
St. George, UT 84770


Lds Dillon 1St Ward, Butte Stake
Montana Council 315
93 Mt Hwy 91 S
Dillon, MT 59725
Lds Dillon 2Nd Ward, Butte Stake
Montana Council 315
93 Mt Hwy 91 S
Dillon, MT 59725


Lds Discovery Park Ward
Highland Hills Stake
Las Vegas Area Council 328
5975 Clayton St
North Las Vegas, Nv 89031


Lds Discovery Park Ward Seattle N Stake
Chief Seattle Council 609
2415 31St Ave W
Seattle, Wa 98199


Lds Dixon Ward Woodland Stake
Golden Empire Council 047
305 N Lincoln St
Dixon, CA 95620


Lds Don Ave Ward Stockton Stake
Greater Yosemite Council 059
3441 Oak Grove Cir
Stockton, CA 95209


Lds Dona Ana Ward Las Cruces Stk
Yucca Council 573
3210 Venus St
Las Cruces, NM 88012


Lds Doniphan Ward Liberty Stake
Heart of America Council 307
1130 N Clayview Dr
Liberty, MO 64068


Lds Dos Vientos Ward Newbury Park Stake
Ventura County Council 057
35 S Wendy Dr
Newbury Park, CA 91320
Lds Dothan Ward 1
Alabama‐Florida Council 003
Wanda Ct   Ross Clark Cir
Dothan, AL 36301


Lds Dothan Ward 2
Alabama‐Florida Council 003
Ross Clark Cir W
Dothan, AL 36301


Lds Douglas 1St Ward Tifton Stake
South Georgia Council 098
200 Chester Ave N
Douglas, GA 31533


Lds Douglas 2Nd Ward Douglas Stake
South Georgia Council 098
200 Chester Ave N
Douglas, GA 31533


Lds Douglas Ward, Casper Stake
Greater Wyoming Council 638
1930 Cheyenne St
Douglas, WY 82633


Lds Douglasville Ward Powder Spgs Stake
Atlanta Area Council 092
3027 Chapel Hill Rd
Douglasville, Ga 30135


Lds Dove Canyon Ward
Highland Hills Stake
Las Vegas Area Council 328
3910 W Fisher Ave
North Las Vegas, Nv 89031


Lds Dove Valley Ward, Parker Stake
Denver Area Council 061
15787 E Hasely
Parker, CO 80134
Lds Dover Ward‐Dover Delaware Stake
Del Mar Va 081
76 W Fairfield Dr
Dover Ward
Dover, DE 19901


Lds Downey 1St Ward
406 Huntington Park Stake
Greater Los Angeles Area 033
10511 Paramount Blvd
Downey, Ca 90241


Lds Downey 2Nd Ward
0050 Huntington Park Stake
Greater Los Angeles Area 033
12425 Orizaba Ave
Huntington Park California Stake
Downey, Ca 90242


Lds Downey Stake
Greater Los Angeles Area 033
12425 Orizaba Ave
Downey, CA 90242


Lds Downingtown Ward
Valley Forge Pennsylvania Stake
Chester County Council 539
56 Blakely Rd
Downingtown, Pa 19335


Lds Driggs Stake ‐ Driggs 1St Ward
Grand Teton Council 107
221 N 1st E
Driggs, ID 83422


Lds Driggs Stake ‐ Driggs 2Nd Ward
Grand Teton Council 107
P.O. Box 408
Driggs, ID 83422


Lds Driggs Stake ‐ Driggs 3Rd Ward
Grand Teton Council 107
221 N 1st E
Driggs, ID 83422


Lds Driggs Stake ‐ Jackson 1St Ward
Grand Teton Council 107
P.O. Box 1948
Jackson, WY 83001


Lds Driggs Stake ‐ Jackson 2Nd Ward
Grand Teton Council 107
4261 Chickadee Cir
Jackson, WY 83001


Lds Driggs Stake ‐ Tetonia 1St Ward
Grand Teton Council 107
P.O. Box 187
Tetonia, ID 83452


Lds Driggs Stake ‐ Tetonia 2Nd Ward
Grand Teton Council 107
221 N Main
Tetonia, ID 83452


Lds Driggs Stake ‐ Victor 1St Ward
Grand Teton Council 107
87 E Center
Victor, ID 83455


Lds Driggs Stake ‐ Victor 2Nd Ward
Grand Teton Council 107
87 E Center St
Victor, ID 83455


Lds Driggs Stake ‐ Victor 3Rd Ward
Grand Teton Council 107
10090 S 2000 W
Victor, ID 83455


Lds Dripping Springs Ward Oak Hill Stake
Capitol Area Council 564
5201 Convict Hill Rd
Austin, TX 78749
Lds Drummond Branch, Missoula Stake
c/o Chris Dahl
Montana Council 315
P.O. Box 384
Drummond, MT 59832


Lds Dry Creek First Ward    Springville
Utah National Parks 591
1381 S 1100 W
Springville, UT 84663


Lds Dry Creek Second Ward
Utah National Parks 591
355 E Center St
Springville, UT 84663


Lds Dry Creek Ward
San Jose South Stake
Silicon Valley Monterey Bay 055
1336 Cherry Ave
San Jose, Ca 95125


Lds Dry Creek Ward
Utah National Parks 591
657 S 500 W
Lehi, UT 84043


Lds Duarte Ward L180
Greater Los Angeles Area 033
1452 Royal Oaks Dr
Duarte, CA 91010


Lds Dublin 2Nd Ward
Simon Kenton Council 441
8236 Millhouse Ln
Dublin, OH 43016


Lds Dublin Ward
Central Georgia Council 096
1605 Green St
Dublin, GA 31021
Lds Dublin Ward
Simon Kenton Council 441
7135 Coffman Rd
Dublin, OH 43017


Lds Duchesne First Ward
Utah National Parks 591
P.O. Box 214
Duchesne, UT 84021


Lds Duchesne Fourth Ward
Utah National Parks 591
666 N 500 E
Duchesne, UT 84021


Lds Duchesne Second Ward
Utah National Parks 591
901 N 500 E
Duchesne, UT 84021


Lds Duchesne Third Ward
Utah National Parks 591
P.O. Box 328
130 S 300 E
Duchesne, UT 84021


Lds Duluth Stake ‐ North Branch Ward
Northern Star Council 250
38222 Grand Ave
North Branch, MN 55056


Lds Dumas Branch Amarillo Tx Stake
Golden Spread Council 562
1007 NE 4th St
Dumas, TX 79029


Lds Duncan Ward Lawton Stake
Last Frontier Council 480
4210 W Beech Ave
Duncan, OK 73533
Lds Duneville Ward Spring Mountain Stake
Las Vegas Area Council 328
6601 W Twain Ave
Las Vegas, NV 89103


Lds Dungeness Ward Port Angeles Stake
Chief Seattle Council 609
815 W Washington St
Sequim, WA 98382


Lds Durango 1St Ward Durango Stake
Great Swest Council 412
14 Hilltop Cir
Durango, CO 81301


Lds Durango 2Nd Ward Durango Stake
Great Swest Council 412
1 Hilltop Dr
Durango, CO 81303


Lds Durango Heights Ward South Stake
Las Vegas Area Council 328
9038 Greek Palace Ave
Las Vegas, NV 89178


Lds Durango Ward Lone Mountain Stake
Las Vegas Area Council 328
8801 W Alexander Rd
Las Vegas, NV 89129


Lds Dutch Canyon Ward
Utah National Parks 591
165 N Center St
Midway, UT 84049


Lds Dutch Flat Ward
Utah National Parks 591
555 S 400 W
Ferron, UT 84523


Lds Dutch Fork Ward
Indian Waters Council 553
7449 Broad River Rd
Irmo, SC 29063


Lds Dutch John Ward
Utah National Parks 591
P.O. Box 201
Dutch John, UT 84023


Lds Dutchman Pass Ward
Mccullough Hills Stake
Las Vegas Area Council 328
1130 Spottswoode St
Henderson, Nv 89002


Lds Duthie Hill Ward Bellevue Stake
Chief Seattle Council 609
26529 SE Duthie Hill Rd
Issaquah, WA 98029


Lds Dyker Heights 1St Ward
Brooklyn Stake
Greater New York Councils, Bsa 640
2544 86Th St
Brooklyn, Ny 11214


Lds Dyker Heights 1St Ward
Brooklyn Stake
Greater New York Councils, Bsa 640
2050 83Rd St
Brooklyn, Ny 11214


Lds E Pasadena Ward 388 Pasadena Stake
Greater Los Angeles Area 033
Pasadena Stake
770 Sierra Madre Villa Ave
Pasadena, Ca 91107


Lds Eagle 1St Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
700 W State St
Eagle, ID 83616
Lds Eagle 2Nd Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
837 N Grey Pebble Way
Eagle, ID 83616


Lds Eagle 3Rd Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
217 E Rockingham Dr
Eagle, ID 83616


Lds Eagle 4Th Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
2411 N Biscayne Pl
Eagle, ID 83616


Lds Eagle 5Th Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
700 W State St
Eagle, ID 83616


Lds Eagle 6Th Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
68 S Payette Pl
Eagle, ID 83616


Lds Eagle 7Th Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
2634 E Gladstone Ct
Eagle, ID 83616


Lds Eagle 8Th Ward‐Eagle Stk
Ore‐Ida Council 106 ‐ Bsa 106
414 Park Rd
Eagle, ID 83616


Lds Eagle Canyon Ward
Sparks West Stake
Nevada Area Council 329
935 Mercedes Dr
Sparks, Nv 89441


Lds Eagle Canyon Ward Skye Canyon Stake
Las Vegas Area Council 328
10070 Azure Dr
Las Vegas, NV 89149


Lds Eagle Crest Second Ward     Alpine
Utah National Parks 591
2169 E Eagle Crest Dr
Draper, UT 84020


Lds Eagle Crest Third Ward     Alpine
Utah National Parks 591
14919 S Eagle Crest Dr
Draper, UT 84020


Lds Eagle Crest Ward
Utah National Parks 591
4557 Spring Meadow Way
Eagle Mountain, UT 84005


Lds Eagle Crest Ward Draper
Utah National Parks 591
14919 S Eagle Crest Dr
Draper, UT 84020


Lds Eagle Estates Ward
Syracuse West Stake
Trapper Trails 589
2887 W 2700 S
Syracuse, Ut 84075


Lds Eagle Mountain 14Th Ward
Utah National Parks 591
4105 E Smith Ranch Rd
Eagle Mountain, UT 84005


Lds Eagle Mountain Eleventh Ward
Utah National Parks 591
1330 E Ira Hodges Scenic Pkwy
Eagle Mountain, UT 84005


Lds Eagle Mountain Second Ward
Utah National Parks 591
2065 E Spring St
Eagle Mountain, UT 84005


Lds Eagle Mountain Seventh Ward
Utah National Parks 591
2053 E Blossom St
Eagle Mountain, UT 84005


Lds Eagle Mountain Sixth Ward
Utah National Parks 591
4126 N White Pine Rd
Eagle Mountain, UT 84005


Lds Eagle Mountain Third Ward
Utah National Parks 591
4277 N Majors St
Eagle Mountain, UT 84005


Lds Eagle Mountain Thirteenth Ward
Utah National Parks 591
4105 Smith Ranch Rd
Eagle Mountain, UT 84005


Lds Eagle Park Second Ward
Utah National Parks 591
4586 N Eagle Mountain Blvd
Eagle Mountain, UT 84005


Lds Eagle Park Ward
Utah National Parks 591
4588 N Eagle Mountain Blvd
Eagle Mountain, UT 84005


Lds Eagle Park Ward, Los Altos Stake
Pacific Skyline Council 031
190 Jordan Ave
Los Altos, CA 94022


Lds Eagle Point Ward
Central Point Stake
Crater Lake Council 491
110 W Linn Rd
Eagle Point, Or 97524


Lds Eagle Run Ward Omaha Stake
Mid‐America Council 326
16626 Leavenworth St
Omaha, NE 68118


Lds Eagle Springs Ward
Summerwood Stake
Sam Houston Area Council 576
12521 Will Clayton Pkwy
Humble, Tx 77346


Lds Eagle Valley Ward/Rifle Stake
Denver Area Council 061
P.O. Box 1163
Gypsum, CO 81637


Lds Eaglecrest First Ward     Lehi
Utah National Parks 591
513 W 2600 N
Lehi, UT 84043


Lds Eaglecrest Fourth Ward
Utah National Parks 591
636 W 2600 N
Lehi, UT 84043


Lds Eaglecrest Second Ward     Lehi
Utah National Parks 591
1920 N 500 W
Lehi, UT 84043


Lds Eaglecrest Third Ward     Lehi
Utah National Parks 591
700 W 2600 N
Lehi, UT 84043


Lds Eagles Gate Second Ward
Utah National Parks 591
8439 N Wern Gailes Dr
Eagle Mountain, UT 84005
Lds Eagles Gate Ward
Utah National Parks 591
3793 Rose Hearty Ln
Eagle Mountain, UT 84005


Lds Eagles Landing Ward
Utah National Parks 591
1095 Saint James Ln
St George, UT 84790


Lds East Bay First Ward
Utah National Parks 591
424 W 1200 S
Provo, UT 84601


Lds East Bay Second Ward    Spanish
Utah National Parks 591
748 S 500 W
Provo, UT 84601


Lds East Bench Ward
Utah National Parks 591
155 E 400 S
Cedar City, UT 84720


Lds East Bench Ward Sf
Utah National Parks 591
298 N 1360 E
Spanish Fork, UT 84660


Lds East Broadway 3Rd Ward
Houston Stake
Sam Houston Area Council 576
3000 Broadway St
Houston, Tx 77017


Lds East Brunswick Ward
East Brunswick NJ Stake
Monmouth Council, Bsa 347
303 Dunhams Corner Rd
East Brunswick, Nj 08816
Lds East Carbon Ward
Utah National Parks 591
P.O. Box 617
East Carbon, UT 84520


Lds East Meadows Ward
Utah National Parks 591
1552 E 750 S
Spanish Fork, UT 84660


Lds East Ridge Ward
Utah National Parks 591
912 S 1740 E
St George, UT 84790


Lds East Valley Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
1101 E 2nd St
Emmett, ID 83617


Lds Eastern Ave Ward Sac East Stake
Golden Empire Council 047
2745 Eern Ave
Sacramento, CA 95821


Lds Eastern Shore Ward
Virginia Beach Stake
Tidewater Council 596
26133 Onley Rd
Onley, Va 23418


Lds Eastgate Ward
Hooper Pioneer Trail Stake
Trapper Trails 589
4979 S 5100 W
Hooper, Ut 84315


Lds Eastgate Ward Cincinnati East Stake
Dan Beard Council, Bsa 438
2632 Royalwoods Ct
Cincinnati, OH 45244
Lds Eastgate Ward Cincinnati East Stake
Dan Beard Council, Bsa 438
700 Clough Pike
Cincinnati, OH 45245


Lds Eastland Branch   Monticello
Utah National Parks 591
Hc 63 Box 82
Monticello, UT 84535


Lds Eastmont Ward 262/404 Pasadena Stake
Greater Los Angeles Area 033
7505 Garvalia Ave
Eastmont Ward
Rosemead, CA 91770


Lds Eastmont Ward Everett Stake
Mount Baker Council, Bsa 606
4014 112th St Se
Everett, WA 98208


Lds Eastmont Ward/ Wenatchee Stake
Grand Columbia Council 614
471 N Iowa Ave
East Wenatchee, WA 98802


Lds Easton Ward Pa Reading Stake
Minsi Trails Council 502
138 Rose Inn Ave
Nazareth, PA 18064


Lds Eastridge Ward Abq Stake
Great Swest Council 412
11750 San Victorio Ave Ne
Albuquerque, NM 87111


Lds Eatontown Second Ward
Monmouth Council, Bsa 347
14 Reynolds Dr
Eatontown, NJ 07724
Lds Echo Canyon Ward, Billings Stake
Montana Council 315
5859 Ironwood Dr
Billings, MT 59106


Lds Edgehill Ward
Providence South Stake
Trapper Trails 589
361 Edgehill Dr
Providence, Ut 84332


Lds Edgemont Eighth Ward
Utah National Parks 591
3152 Piute Dr
Provo, UT 84604


Lds Edgemont Eleventh Ward
Utah National Parks 591
3050 Mojave Ln
Provo, UT 84604


Lds Edgemont Fifth Ward
Utah National Parks 591
350 E 2950 N
Provo, UT 84604


Lds Edgemont First Ward
Utah National Parks 591
303 W 3700 N
Provo, UT 84604


Lds Edgemont Fourteenth Ward
Utah National Parks 591
4000 Foothill Dr
Provo, UT 84604


Lds Edgemont Fourth Ward
Utah National Parks 591
4056 Timpview Dr
Provo, UT 84604
Lds Edgemont Ninth Ward
Utah National Parks 591
4321 N Canyon Rd
Provo, UT 84604


Lds Edgemont Second Ward
Utah National Parks 591
555 E 3230 N
Provo, UT 84604


Lds Edgemont Seventh Ward
Utah National Parks 591
555 E 3230 N
Provo, UT 84604


Lds Edgemont Sixth Ward
Utah National Parks 591
290 E 4000 N
Provo, UT 84604


Lds Edgemont Tenth Ward
Utah National Parks 591
345 E Foothill Dr
Provo, UT 84604


Lds Edgemont Third Ward
Utah National Parks 591
2900 N 650 E
Provo, UT 84604


Lds Edgemont Twelfth Ward
Utah National Parks 591
2860 N 220 E
Provo, UT 84604


Lds Edgemont Twenty First Ward
Utah National Parks 591
488 E 3050 N
Provo, UT 84604


Lds Edgewood Ward Abq East Stake
Great Swest Council 412
P.O. Box 3279
Edgewood, NM 87015


Lds Edgewood Ward Edgemont Stake
Utah National Parks 591
3466 N 180 E
Provo, UT 84604


Lds Edinburgh Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
5555 N Locust Grove Rd
Meridian, ID 83646


Lds Edmond 1St Ward Okc Stake
Last Frontier Council 480
1351 E 33rd St
Edmond, OK 73013


Lds Edmond 2Nd Ward Okc Stake
Last Frontier Council 480
1351 E 33rd St
Edmond, OK 73013


Lds Edmond 3Rd Ward Stillwater Stake
Last Frontier Council 480
5326 Ellie Mae Dr
Guthrie, OK 73044


Lds Edmond 4Th Ward
Last Frontier Council 480
1315 E 33rd St
Edmond, OK 73013


Lds Edmonds Ward Shoreline Stake
Mount Baker Council, Bsa 606
7950 228th St Sw
Edmonds, WA 98026


Lds Edwardsville Ward Ofallon Stake
Greater St Louis Area Council 312
544 5th St
Wood River, IL 62095
Lds Edy Ridge Ward Tualatin Stake
Cascade Pacific Council 492
17234 SW Meinecke Rd
Sherwood, OR 97140


Lds Egan Crest Ward Skye Canyon Stake
Las Vegas Area Council 328
10070 Azure Dr
Las Vegas, NV 89149


Lds El Camino Real Ward Camarillo Stake
Ventura County Council 057
3301 W Gonzales Rd
Oxnard, CA 93036


Lds El Camino Ward Las Vegas Stake
Las Vegas Area Council 328
2245 Lindell Rd
Las Vegas, NV 89146


Lds El Dorado Hills Ward Folsom Stake
Golden Empire Council 047
89 Scholar Way
Folsom, CA 95630


Lds El Dorado Ward Stockton Stake
Greater Yosemite Council 059
7505 Oakcreek Dr
Stockton, CA 95207


Lds El Monte Ward
Spanish L713‐Arcadia St
Greater Los Angeles Area 033
3214 Utah Ave
El Monte, Ca 91731


Lds El Paso 11Th Ward El Paso Stake
Yucca Council 573
1212 Sumac Dr
El Paso, TX 79925
Lds El Paso 5Th Ward Mt Franklin Stake
Yucca Council 573
400 Rosemont Dr
El Paso, TX 79922


Lds El Paso Mesa Ward Mt Franklin Stk
Yucca Council 573
7315 Bishop Flores
El Paso, TX 79912


Lds El Paso Stake Montwood Ward
Yucca Council 573
1212 Sumac Dr
El Paso, TX 79925


Lds El Rancho Ward ‐ Sparks West Stake
Nevada Area Council 329
2955 Rock Blvd
Sparks, NV 89431


Lds El Rancho Ward North Las Vegas Stake
Las Vegas Area Council 328
2295 N Walnut Rd
Las Vegas, NV 89115


Lds El Segundo Ward Inglewood Stake 772
Greater Los Angeles Area 033
1215 E Mariposa Ave
El Segundo, CA 90245


Lds Elberta Ward
Utah National Parks 591
P.O. Box 66
Elberta, UT 84626


Lds Eldorado Estates Ward
Highland Hills Stake
Las Vegas Area Council 328
5623 Willowcreek Rd
North Las Vegas, Nv 89031
Lds Eldorado Highlands Ward
Highland Hills Stake
Las Vegas Area Council 328
827 Dover Glen Dr
North Las Vegas, Nv 89031


Lds Eldorado Pass Ward
Mccullough Hills Stake
Las Vegas Area Council 328
485 Mission Dr
Henderson, Nv 89002


Lds Eldorado Valley Ward Eldorado Stake
Las Vegas Area Council 328
1550 Buchanan Blvd
Boulder City, NV 89005


Lds Eldorado Ward Abq East Stake
Great Swest Council 412
10412 Cielito Lindo Ne
Albuquerque, NM 87111


Lds Elizabeth City Ward Chesapeake Stake
Tidewater Council 596
600 W Ehringhaus St
Elizabeth City, NC 27909


Lds Elizabeth Ward, Parker South Stake
Denver Area Council 061
34200 County Rd 17
Elizabeth, CO 80107


Lds Elizabethtown Ward
Lincoln Heritage Council 205
2950 Shepherdsville Rd
Elizabethtown, KY 42701


Lds Elk Grove Park Ward Elk Grove Stake
Golden Empire Council 047
8697 Elk Grove Blvd
Elk Grove, CA 95624
Lds Elk Grove Ward Elk Grove Stake
Golden Empire Council 047
8697 Elk Grove Blvd
Elk Grove, CA 95624


Lds Elk Ridge Eighth Ward
Utah National Parks 591
11031 S 1600 W
Elk Ridge, UT 84651


Lds Elk Ridge Eleventh Ward
Utah National Parks 591
256 E Deer Run Loop
Elk Ridge, UT 84651


Lds Elk Ridge Fifth Ward
Utah National Parks 591
450 Elk Ridge Dr
Elk Ridge, UT 84651


Lds Elk Ridge First Ward
Utah National Parks 591
185 Ridge View Dr
Elk Ridge, UT 84651


Lds Elk Ridge Fourth Ward
Utah National Parks 591
450 W Park Dr
Elk Ridge, UT 84651


Lds Elk Ridge Second Ward
Utah National Parks 591
259 E Alpine Dr
Elk Ridge, UT 84651


Lds Elk Ridge Seventh Ward
Utah National Parks 591
612 N Olympic Ln
Elk Ridge, UT 84651


Lds Elk Ridge Sixth Ward
Utah National Parks 591
395 W Haleys Lookout
Elk Ridge, UT 84651


Lds Elk Ridge Tenth Ward
Utah National Parks 591
185 E Ridgeview Dr
Elk Ridge, UT 84651


Lds Elk Ridge Third Ward
Utah National Parks 591
259 E Alpine Dr
Elk Ridge, UT 84651


Lds Elk Ridge Twelth Ward
Utah National Parks 591
789 Arrowhead Trail
Payson, UT 84651


Lds Elk Ridge Ward Elkhorn Springs Stake
Las Vegas Area Council 328
9807 Red Deer St
Las Vegas, NV 89143


Lds Elk Run Ward Maple Valley Stake
Chief Seattle Council 609
19107 SE Lake Holm Rd
Auburn, WA 98092


Lds Elkhorn Spgs 1St Ward
Elkhorn Springs Stake
Las Vegas Area Council 328
7500 Tule Springs Rd
Las Vegas, Nv 89131


Lds Elkhorn Spgs 2Nd Ward
Elkhorn Springs Stake
Las Vegas Area Council 328
6868 Sky Pointe Dr, Unit 2051
Las Vegas, Nv 89131


Lds Elkhorn Ward Omaha Stake
Mid‐America Council 326
17606 Spaulding St
Omaha, NE 68116


Lds Elko 1St Ward ‐ Elko West Stake
Nevada Area Council 329
3001 N 5th St
Elko, NV 89801


Lds Elko 2Nd Ward ‐ Elko West Stake
Nevada Area Council 329
3001 N 5th St
Elko, NV 89801


Lds Elko 3Rd Ward ‐ Elko West Stake
Nevada Area Council 329
3210 Sage Crest Dr
Elko, NV 89801


Lds Elko 4Th Ward ‐ Elko West Stake
Nevada Area Council 329
3210 Sage Crest Dr
Elko, NV 89801


Lds Elko 5Th Ward ‐ Elko West Stake
Nevada Area Council 329
3001 N 5th St
Elko, NV 89801


Lds Ellensburg 1St Ward/Selah Stake
Grand Columbia Council 614
801 E 2nd Ave
Ellensburg, WA 98926


Lds Ellensburg 2Nd Ward/Selah Stake
Grand Columbia Council 614
P.O. Box 1117
Ellensburg, WA 98926


Lds Ellensburg 3Rd Ward/Selah Stake
Grand Columbia Council 614
808 S Magnolia St
Ellensburg, WA 98926
Lds Ellicott City Ward Columbia Stake
Baltimore Area Council 220
4100 Saint Johns Ln
Ellicott City, MD 21042


Lds Ellison Park Spanish
Layton West Stake
Trapper Trails 589
2160 W Gordon Ave
Layton, Ut 84041


Lds Ellsworth Cocoa
Central Florida Council 083
5535 Osceola Dr
Saint Cloud, FL 34773


Lds Elm Tree Ward
Westark Area Council 016
950 Seba Rd
Centerton, AR 72719


Lds Elmo Ward
Utah National Parks 591
Box 465
Elmo, UT 84521


Lds Elmwood Ward Papillion Stake
Mid‐America Council 326
11027 Martha St
Omaha, NE 68144


Lds Elsinore Ward
Utah National Parks 591
75 N Center
Elsinore, UT 84724


Lds Elwood 1St Ward
Tremonton South Stake
Trapper Trails 589
4865 W 9600 N
Elwood, Ut 84337
Lds Elwood 2Nd Ward
Tremonton South Stake
Trapper Trails 589
4865 W
9600 N
Elwood, Ut 84337


Lds Emerald Vly Ward Green Vly Stake
Las Vegas Area Council 328
1551 Galleria Dr
Henderson, Nv 89014


Lds Emigration Trail Branch
Syracuse Bluff Stake
Trapper Trails 589
700 S 2500 W
Syracuse, Ut 84075


Lds‐ Emporia Ward‐ Topeka Stake
Jayhawk Area Council 197
2313 Graphic Arts Rd
Emporia, KS 66801


Lds Enchanted Hills Ward Abq North Stake
Great Swest Council 412
275 E Avenida
Bernalillo, NM 87004


Lds Englewood Branch Spanish Branch
Selah Stake
Grand Columbia Council 614
4307 Englewood Ave
Yakima, Wa 98908


Lds Englewood Branch/Selah Stake
Grand Columbia Council 614
4307 Englewood Ave
Yakima, WA 98908


Lds Enoch 5Th Ward
Utah National Parks 591
2233 E Village Green Rd
Enoch, UT 84720


Lds Enoch First Ward
Utah National Parks 591
2233 E Village Green Rd
Enoch, UT 84721


Lds Enoch Fourth Ward
Utah National Parks 591
1390 E Midvalley Rd
Enoch, UT 84721


Lds Enoch Second Ward
Utah National Parks 591
555 E Midvalley Rd
Enoch, UT 84721


Lds Enoch Sixth Ward
Utah National Parks 591
2233 E Village Green Rd
Enoch, UT 84721


Lds Enoch Third Ward
Utah National Parks 591
4781 N 1170 E
Enoch, UT 84721


Lds Ensign Ward East Stake
Las Vegas Area Council 328
4040 E Wyoming Ave
Las Vegas, NV 89104


Lds Enterprise Fifth Ward
Utah National Parks 591
620 E Main
Enterprise, UT 84725


Lds Enterprise First Ward
Utah National Parks 591
P.O. Box 271
Enterprise, UT 84725
Lds Enterprise Fourth Ward
Utah National Parks 591
P.O. Box 37
Enterprise, UT 84725


Lds Enterprise Second Ward
Utah National Parks 591
P.O. Box 85
Enterprise, UT 84725


Lds Enterprise Third Ward
Utah National Parks 591
P.O. Box 178
Enterprise, UT 84725


Lds Enumclaw 1St Ward Enumclaw Stake
Chief Seattle Council 609
27607 SE 392nd St
Enumclaw, WA 98022


Lds Enumclaw 2Nd Ward Enumclaw Stake
Chief Seattle Council 609
4515 252nd Se
Enumclaw, WA 98022


Lds Enumclaw 3Rd Ward Enumclaw Stake
Chief Seattle Council 609
45414 252nd St
Enumclaw, WA 98022


Lds Eola Hills Ward Monmouth Stake
Cascade Pacific Council 492
3154 Eola Dr Nw
Salem, OR 97304


Lds Ephraim Eighth Ward
Utah National Parks 591
62 W 200 S
Ephraim, UT 84627
Lds Ephraim Fifth Ward
Utah National Parks 591
765 S 100 E
Ephraim, UT 84627


Lds Ephraim First Ward
Utah National Parks 591
400 N 200 W
Ephraim, UT 84627


Lds Ephraim Fourth Ward
Utah National Parks 591
751 S 100 E
Ephraim, UT 84627


Lds Ephraim Ninth Ward
Utah National Parks 591
765 S 100 E
Ephraim, UT 84627


Lds Ephraim Second Ward
Utah National Parks 591
450 N 200 W
Ephraim, UT 84627


Lds Ephraim Seventh Ward
Utah National Parks 591
400 E Center
Ephraim, UT 84627


Lds Ephraim Sixth Ward
Utah National Parks 591
765 S 100 E
Ephraim, UT 84627


Lds Ephraim Third Ward
Utah National Parks 591
400 E Center St
Ephraim, UT 84627


Lds Equestrian Ward
Kaysville West Stake
Trapper Trails 589
1449 S Thoroughbred Dr
Kaysville, Ut 84037


Lds Eridge Ward, Highlands Ranch Stake
Denver Area Council 061
8150 S Colorado Blvd
Littleton, Co 80122


Lds Erringer Ward Simi Stake
Ventura County Council 057
1276 Erringer Rd
Simi Valley, CA 93065


Lds Escalante First Ward
Utah National Parks 591
P.O. Box 135
Escalante, UT 84726


Lds Escalante Second Ward
Utah National Parks 591
P.O. Box 135
Escalante, UT 84726


Lds Escalante Ward
Utah National Parks 591
445 W 250 S
Spanish Fork, UT 84660


Lds Escondido ‐ El Norte Ward
San Diego Imperial Council 049
1917 E Washington Ave
Escondido, CA 92027


Lds Essex Ward, Montpelier Vermont Stake
Green Mountain 592
73 Essex Way
Essex Junction, VT 05452


Lds Estacada Ward Mt Hood Oregon Stake
Cascade Pacific Council 492
30498 SE Eagle Creek Rd
Estacada, OR 97023


Lds Estancia Valley Abq East Stake
Great Swest Council 412
P.O. Box 341
Mcintosh, NM 87032


Lds Etna Ward ‐ Medford Stake
Crater Lake Council 491
233 N Hwy 3
Etna, CA 96027


Lds Euclid Ward Kirtland Stake
Lake Erie Council 440
32895 Cedar Rd
Mayfield Heights, OH 44124


Lds Eugene 1St Ward Eugene Stake
Oregon Trail Council 697
3500 W 18th Ave
Eugene, OR 97402


Lds Eugene 3Rd Ward Eugene Stake
Oregon Trail Council 697
3500 W 18th Ave
Eugene, OR 97402


Lds Eugene 5Th Ward Eugene Stake
Oregon Trail Council 697
1155 President St
Eugene, OR 97401


Lds Euless 1St Ward ‐ Hurst Stake
Longhorn Council 662
P.O. Box 54190
Hurst, TX 76054


Lds Euless 2Nd Ward ‐ Hurst Stake
Longhorn Council 662
P.O. Box 54190
Hurst, TX 76054
Lds Euless 3Rd Ward ‐ Hurst Stake
Longhorn Council 662
850 Cannon Dr
Hurst, TX 76054


Lds Eureka 1St Ward ‐ Eureka Stake
Crater Lake Council 491
2806 Dolbeer St
Eureka, CA 95501


Lds Eureka 2Nd Ward ‐ Eureka Stake
Crater Lake Council 491
2806 Dolbeer St
Eureka, CA 95501


Lds Eureka Ward
Utah National Parks 591
70 E Main St
Eureka, UT 84628


Lds Eureka Ward, Kalispell Stake
Montana Council 315
1005 Osloski Rd
Eureka, MT 59917


Lds Eustis Leesburg
Central Florida Council 083
3450 Cypress Grove Dr
Eustis, FL 32736


Lds Evans Farm Ward
Utah National Parks 591
2397 W 275 N
Lehi, UT 84043


Lds Evans Meadows Ward
Layton Legacy Stake
Trapper Trails 589
752 N 3700 W
Layton, Ut 84041
Lds Evans Ranch
Utah National Parks 591
7617 N Evans Ranch Dr
Eagle Mountain, UT 84005


Lds Evanston 1St Ward
Evanston South Stake
Trapper Trails 589
201 Sage St
Evanston, Wy 82930


Lds Evanston 4Th Ward
Evanston South Stake
Trapper Trails 589
201 Sage St
Evanston S Stake
Evanston, Wy 82930


Lds Evanston 7Th Ward
Evanston South Stake
Trapper Trails 589
632 Twin Ridge Ave
Evanston, Wy 82930


Lds Evanston 8Th Ward
Evanston South Stake
Trapper Trails 589
632 Twin Ridge Ave
Evanston, Wy 82930


Lds Evansville Evansville In
Buffalo Trace 156
8020 Covert Ave
Evansville, IN 47715


Lds Evergreen Ward Hillsboro Stake
Cascade Pacific Council 492
2220 NE Jackson School Rd
Hillsboro, OR 97124


Lds Evergreen Ward Las Vegas Stake
Las Vegas Area Council 328
6120 Alta Dr
Las Vegas, NV 89107


Lds Evergreen Ward Vancouver Stake
Cascade Pacific Council 492
14219 NE 49th St
Vancouver, WA 98682


Lds Everson Ward Bellingham Stake
Mount Baker Council, Bsa 606
1820 Kelly Rd
Bellingham, WA 98226


Lds Exeter Ward Exeter Nh Stake
Daniel Webster Council, Bsa 330
55 Hampton Falls Rd
Rr 88
Exeter, NH 03833


Lds Explorer Park Ward‐East Stake
Pikes Peak Council 060
8170 Candleflower Cir
Colorado Springs, CO 80920


Lds Fair Oaks Park Ward Carmichael Stake
Golden Empire Council 047
8267 Deseret Ave
Fair Oaks, CA 95628


Lds Fair Oaks Ward Oakton Stake
National Capital Area Council 082
14931 Willard Rd
Chantilly, VA 20151


Lds Fair Oaks Ward Oakton Stake
National Capital Area Council 082
2719 Hunter Mill Rd
Oakton, VA 22124


Lds Fairbanks Stake ‐ Badger Road Ward
Midnight Sun Council 696
331 E 8th Ave
North Pole, AK 99705
Lds Fairborn Ward
Dayton Ohio E Stake   Does
Tecumseh 439
3080 Bell Dr
Fairborn, Oh 45324


Lds Fairfax Ward Annandale Stake
National Capital Area Council 082
11417 Meath Dr
Fairfax, VA 22030


Lds Fairfax Ward‐East Stake
Pikes Peak Council 060
8610 Scarborough Dr
Colorado Springs, CO 80920


Lds Fairfield 2Nd Ward
Layton East Stake
Trapper Trails 589
845 N 1150 E
Layton, Ut 84040


Lds Fairfield Ward Cincinnati N Stake
Dan Beard Council, Bsa 438
4831 Pleasant Ave
Fairfield, Oh 45014


Lds Fairfield Ward, Great Falls Stake
Montana Council 315
P.O. Box 638
Fairfield, MT 59436


Lds Fairgrounds Ward Keizer Stake
Cascade Pacific Council 492
570 Madison St Ne
Salem, OR 97301


Lds Fairmont Ward
Twin Valley Council Bsa 283
425 Johnson St
Fairmont, MN 56031
Lds Fairport Ward Palmyra Stake
Seneca Waterways 397
460 Kreag Rd
Pittsford, NY 14534


Lds Fairview First Ward
Utah National Parks 591
122 S State St
Fairview, UT 84629


Lds Fairview Fourth Ward
Utah National Parks 591
122 S State St
Fairview, UT 84629


Lds Fairview Heights
Greater St Louis Area Council 312
9827 Bunkum Rd
Fairview Hts 1st Ward
Fairview Heights, IL 62208


Lds Fairview Second Ward
Utah National Parks 591
131 E 100 N
P.O. Box 463
Fairview, UT 84629


Lds Fairview Third Ward
Utah National Parks 591
131 E 100 N
Fairview, UT 84629


Lds Fairview Ward
Chambersburg Pennsylvania
Mason Dixon Council 221
11887 Mentzer Gap Rd
Waynesboro, Pa 17268


Lds Fairview Ward
Chambersburg Pennsylvania Stake
Mason Dixon Council 221
11887 Mentzer Gap Rd
Waynesboro, Pa 17268


Lds Fairview Ward Hend Lake Mead Stake
Las Vegas Area Council 328
303 S Cholla St
Henderson, NV 89015


Lds Fairview Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
988 E Chateau Dr
Meridian, ID 83646


Lds Fairway Village Ward
Vancouver E Stake
Cascade Pacific Council 492
13600 Se Mcgillivray Blvd
Vancouver, Wa 98683


Lds Fairway Ward
Utah National Parks 591
860 N Fairway Dr
Washington, UT 84780


Lds Fairwood Ward Renton Stake
Chief Seattle Council 609
19714 106th Ave Se
Renton, WA 98055


Lds Falcon Park Ward
Highlands Ranch Stake
Denver Area Council 061
8150 S Colorado Blvd
Littleton, Co 80122


Lds Falcon Ridge Ward
Layton East Stake
Trapper Trails 589
1325 E Cherry Lane
Layton, Ut 84040


Lds Falcon Ward‐High Plains Stake
Pikes Peak Council 060
13210 Bandanero Dr
Falcon, CO 80831


Lds Fall River Ward Anderson Stake
Golden Empire Council 047
37201 Ontario Ave
Burney, CA 96013


Lds Falls Church Ward Mclean Stake
National Capital Area Council 082
2034 Great Falls St
Falls Church, VA 22043


Lds Farmington Hills Ward
Bloomfields Hill Stake
Great Lakes Fsc 272
33900 W 13 Mile Rd
Farmington Hills, Mi 48331


Lds Farmington Ward Bvtn West Stake
Cascade Pacific Council 492
5175 SW 209th Ave
Aloha, OR 97007


Lds Farr West 1St Ward
Farr West Poplar Stake
Trapper Trails 589
1800 W 1800 N
Farr W, Ut 84404


Lds Farr West 2Nd Ward
Farr West Poplar Stake
Trapper Trails 589
2132 W 2700 N
Farr W, Ut 84404


Lds Farr West 3Rd Ward
Farr West Poplar Stake
Trapper Trails 589
1745 N 2300 W
Farr W, Ut 84404
Lds Farr West 7Th Ward
Farr West Poplar Stake
Trapper Trails 589
1745 N 2300 W
Farr W, Ut 84404


Lds Farr West 8Th Ward
Farr West Poplar Stake
Trapper Trails 589
1800 W 1800 N
Farr W, Ut 84404


Lds Farragut Knoxville
Great Smoky Mountain Council 557
11837 Grigsby Chapel Rd
Knoxville, TN 37934


Lds Fayette Ward
Utah National Parks 591
99 S 100 E
Fayette, UT 84630


Lds Fayetteville
Fayetteville 1St Ward
Occoneechee 421
3200 Scotty Hill Rd
Fayetteville, Nc 28303


Lds Fayetteville
Fayetteville 4Th Ward
Occoneechee 421
3200 Scotty Hill Rd
Fayetteville, Nc 28303


Lds Fayetteville Ward 1 Springdale Stake
Westark Area Council 016
1225 E Zion Rd
Fayetteville, AR 72703


Lds Fayetteville Ward 2 Springdale Stake
Westark Area Council 016
1225 E Zion Rd
Fayetteville, AR 72703


Lds Fayetteville Ward Jonesboro Ga Stake
Flint River Council 095
2021 Redwine Rd
Fayetteville, GA 30215


Lds Fayetteville West
Anderson Creek Park Ward
Occoneechee 421
3204 Keller Andrews Rd
Sanford, Nc 27330


Lds Fayetteville West
Fayetteville 3Rd Ward
Occoneechee 421
6420 Morganton Rd
Fayetteville, Nc 28314


Lds Fayetteville West
Fort Bragg Ward
Occoneechee 421
6420 Morganton Rd
Fayetteville, Nc 28314


Lds Fayetteville West
Southern Pines Ward
Occoneechee 421
174 Porlock Way
Raeford, Nc 28376


Lds Feather River Ward Yuba City Stake
Golden Empire Council 047
520 Clark Ave
Yuba City, CA 95991


Lds Feathering Sands Ward
Layton Legacy Stake
Trapper Trails 589
752 N 3700 W
Layton, Ut 84041
Lds Felida Ward Vancouver West Stake
Cascade Pacific Council 492
13900 NW 52nd Ave
Vancouver, WA 98685


Lds Fern Prairie Ward Vancouver E Stake
Cascade Pacific Council 492
18300 Ne 18Th St
Vancouver, Wa 98684


Lds Ferndale 1St Ward Bellingham Stake
Mount Baker Council, Bsa 606
2550 Thornton Rd
Ferndale, WA 98248


Lds Ferndale 3Rd Ward Bellingham Stake
Mount Baker Council, Bsa 606
7178 Everett Rd
Ferndale, WA 98248


Lds Fernley 1St Ward Fallon North Stake
Nevada Area Council 329
175 E Cedar St
Fernley, NV 89408


Lds Fernley 2Nd Ward Fallon North Stake
Nevada Area Council 329
155 Hwy 95 Alt
Fernley, NV 89408


Lds‐ Ferris Mountain Ward/Laramie Stake
Longs Peak Council 062
1215 Lambda Dr
Rawlins, WY 82301


Lds Ferron Creek Ward
Utah National Parks 591
555 S 400 W
Ferron, UT 84523


Lds Fiddlers Canyon Ward
Utah National Parks 591
638 E Canyon Center Dr
Cedar City, UT 84721


Lds Fiddlers Creek Ward
Holmes Creek Stake
Trapper Trails 589
380 S Fairfield Rd
Layton, Ut 84041


Lds Fieldstone Ward
Utah National Parks 591
2668 E Crimson Ridge Dr
St George, UT 84790


Lds Fijian Ward Sacramento Stake
Golden Empire Council 047
7621 18th St
Sacramento, CA 95832


Lds Fillmore First Ward
Utah National Parks 591
330 E 500 S
Fillmore, UT 84631


Lds Fillmore Fourth Ward
Utah National Parks 591
330 E 500 S
Fillmore, UT 84631


Lds Fillmore Second Ward
Utah National Parks 591
21 S 300 W
Fillmore, UT 84631


Lds Fillmore Third Ward
Utah National Parks 591
21 S 300 W
Fillmore, UT 84631


Lds Findlay Ward Toledo Ohio Stake
Black Swamp Area Council 449
6482 County Rd 18
Findlay, OH 45840


Lds Finn Hill Ward Kirkland Stake
Chief Seattle Council 609
13709 116th Pl Ne
Kirkland, WA 98034


Lds Fire Trail Ward Arlington Stake
Mount Baker Council, Bsa 606
17222 43rd Ave Ne
Arlington, WA 98223


Lds First Ward
Glaciers Edge Council 620
4505 Regent St
Madison, WI 53705


Lds First Ward Cincinnati Stake
Dan Beard Council, Bsa 438
5505 Bosworth Pl
Cincinnati, OH 45212


Lds Firth Stake ‐ Basalt Ward
Grand Teton Council 107
823 N 675 E.
Basalt, ID 83218


Lds Firth Stake ‐ Firth Ward
Grand Teton Council 107
744 N 600 E
Firth, ID 83236


Lds Firth Stake ‐ Goshen Ward
Grand Teton Council 107
909 E 1000 N
Shelley, ID 83274


Lds Firth Stake ‐ Kimball Ward
Grand Teton Council 107
600 E 744 N
Firth, ID 83236
Lds Firth Stake ‐ Presto Ward
Grand Teton Council 107
Rr 2 Box 209
Shelley, ID 83274


Lds Firth Stake ‐ Riverview Ward
Grand Teton Council 107
133 S Main
Basalt, ID 83218


Lds Fishers Landing Ward
Vancouver E Stake
Cascade Pacific Council 492
13600 Se Mcgillivray Blvd
Vancouver, Wa 98684


Lds Fishing River Ward Far West Stake
Heart of America Council 307
202 W 19th St
Kearney, MO 64060


Lds Five Oaks Ward Cedar Mill Stake
Cascade Pacific Council 492
955 NW 173rd Ave
Beaverton, OR 97006


Lds Flamingo Ward Spring Mountain Stake
Las Vegas Area Council 328
6601 W Twain Ave
Las Vegas, NV 89103


Lds Fleming Park Ward Kcmo Stake
Heart of America Council 307
1416 SW 19th St
Blue Springs, MO 64015


Lds Flint Ward ‐ Grand Blanc Stake
Water and Woods Council 782
1225 Robert T Longway Blvd
Flint, MI 48503
Lds Florence Ward Coos Bay Stake
Oregon Trail Council 697
7 Mariners Ln
Florence, OR 97439


Lds Florence Ward Tupelo Stake
Greater Alabama Council 001
1828 Broadway Blvd
Florence, AL 35630


Lds Florida Branch Silver City Stake
Yucca Council 573
1000 W Florida St
Deming, NM 88030


Lds Florin Ward Elk Grove Stake
Golden Empire Council 047
8580 Florin Rd
Sacramento, CA 95828


Lds Flowell Ward
Utah National Parks 591
3785 W 1200 N
Fillmore, UT 84631


Lds Flower Mound 1St Ward
Lewisville Stake
Longhorn Council 662
3882 Quail Run
Flower Mound, Tx 75022


Lds Flower Mound 2Nd Ward
Lewisville Stake
Longhorn Council 662
3882 Quail Run
Flower Mound, Tx 75022


Lds Flower Mound 3Rd Ward
Lewisville Stake
Longhorn Council 662
1100 Stapleton Ln
Flower Mound, Tx 75028
Lds Flower Mound 5Th Ward
Lewisville Stake
Longhorn Council 662
3882 Quail Run
Flower Mound, Tx 75022


Lds‐ Flowery Branch Ward
Sugar Hill Stake
Northeast Georgia Council 101
4735 Cash Rd
Flowery Branch, Ga 30542


Lds Folsom 2Nd Ward Folsom Stake
Golden Empire Council 047
116 Bittercreek Dr
Folsom, CA 95630


Lds Folsom 3Rd Ward Folsom Stake
Golden Empire Council 047
2100 California Cir
Rancho Cordova, CA 95742


Lds Folsom 4Th Ward Folsom Stake
Golden Empire Council 047
89 Scholar Way
Folsom, CA 95630


Lds Folsom 5Th Ward Folsom Stake
Golden Empire Council 047
1918 Swinton Dr
Folsom, CA 95630


Lds Folsom 6Th Ward Folsom Stake
Golden Empire Council 047
2100 California Cir
Rancho Cordova, CA 95742


Lds Fond Du Lac Branch
Bay‐Lakes Council 635
347 Country Ln
Fond Du Lac, WI 54935
Lds Foothill Park Ward
Redwood Empire Council 041
11000 Eside Rd
Healdsburg, CA 95448


Lds Foothill Ward
Utah National Parks 591
2178 E Grenada Ln
Eagle Mountain, UT 84005


Lds Foothill Ward
Utah National Parks 591
4475 Wimbledon Dr
Provo, UT 84604


Lds Foothill Ward ‐ Mt Rose Stake
Nevada Area Council 329
4850 Edmonton Dr
Reno, NV 89511


Lds Foothill Ward Sac North Stake
Golden Empire Council 047
5505 Hackberry Ln
Sacramento, CA 95841


Lds Foothills Park Ward Marysville Stake
Mount Baker Council, Bsa 606
5906 70th Ave Ne
Marysville, WA 98270


Lds Foothills Ward
Utah National Parks 591
1748 E 2410 S
St George, UT 84790


Lds Foothills Ward Salem
Utah National Parks 591
1266 E Davis Dr
Salem, UT 84653


Lds Foothills Ward Red Rock Stake
Las Vegas Area Council 328
7800 W Alta Dr
Las Vegas, NV 89145


Lds Foothills Ward, Castle Rock Stake
Denver Area Council 061
3301 Meadows Blvd
Castle Rock, CO 80109


Lds Foothills Ward, Golden Stake
Denver Area Council 061
610 Coors St
Lakewood, CO 80401


Lds Foremaster Ridge Ward
Utah National Parks 591
620 S Five Sisters Dr
Saint George, UT 84790


Lds Forest Green Ward
Weber Heights Stake
Trapper Trails 589
1401 Country Hills Dr
Ogden, Ut 84403


Lds Forest Grove 1st Ward
Forest Grove Stake
Cascade Pacific Council 492
2700 Leon Dr
Forest Grove, Or 97116


Lds Forest Grove Second Ward
Forest Grove Stake
Cascade Pacific Council 492
3661 Brooke St
Forest Grove, Or 97116


Lds Forest Hills Ward
Brigham City Stake
Trapper Trails 589
25 N 300 E
Brigham City, Ut 84302
Lds Forest Hills Ward
Valley View Stake
Trapper Trails 589
1589 E Gentile St
Layton, Ut 84040


Lds Forest Home Ward Vancouver E Stake
Cascade Pacific Council 492
2356 Nw 17Th Ave
Camas, Wa 98607


Lds Forest Park Ward
Layton North Stake
Trapper Trails 589
2250 E 2200 N
Layton, Ut 84040


Lds Forest Ridge Ward
Layton North Stake
Trapper Trails 589
1954 E Antelope Dr
Layton, Ut 84040


Lds Foresthill Branch Auburn Stake
Golden Empire Council 047
20895 Todd Valley Rd
Foresthill, CA 95631


Lds Forks Ward Port Angeles Stake
Chief Seattle Council 609
853 Robin Hood Loop
P.O. Box 1043
Forks, WA 98331


Lds Forney Ward
Dallas Texas East Stake
Circle Ten Council 571
8200 Fm 741
Forney, Tx 75126


Lds Fort Belvoir Ward Mount Vernon Stake
National Capital Area Council 082
2000 George Washington Pkwy
Alexandria, VA 22308


Lds Fort Benton Br, Great Falls E Stake
Montana Council 315
2201 St Charles St
Fort Benton, Mt 59442


Lds Fort Bragg Ward
Redwood Empire Council 041
355 S Lincoln St
Fort Bragg, CA 95437


Lds Fort Chiswell Ward
Pembroke Stake
Blue Ridge Mtns Council 599
1136 Fort Chiswell Rd
Max Meadows, Va 24360


Lds Fort Dodge Ward Ames Stake
Mid‐America Council 326
1426 N 32nd St
Fort Dodge, IA 50501


Lds Fort Midway Ward
Utah National Parks 591
1102 S Center St
Midway, UT 84049


Lds Fort Myers Ward Fort Myers Stake
Southwest Florida Council 088
3501 Broadway
Fort Myers, FL 33901


Lds Fort Smith Ward, Fort Smith Stake
Westark Area Council 016
8712 Horan Dr
Fort Smith, AR 72903


Lds Fortuna Ward ‐ Eureka Stake
Crater Lake Council 491
1444 Ross Hill Rd
Fortuna, CA 95540


Lds Fossil Ridge Ward
Fort Worth North Stake
Longhorn Council 662
7600 N Beach St
Fort Worth, Tx 76137


Lds Foster Hills First Ward
Utah National Parks 591
259 N Mall Dr
St George, UT 84790


Lds Founders Ward, Castle Rock Stake
Denver Area Council 061
950 Plum Creek Blvd
Castle Rock, CO 80104


Lds Fountain Green First Ward
Utah National Parks 591
P.O. Box 401
Fountain Green, UT 84632


Lds Fountain Green Second Ward
Utah National Parks 591
151 S 200 W
Fountain Green, UT 84632


Lds Fountain Green Third Ward
Utah National Parks 591
P.O. Box 127
Fountain Green, UT 84632


Lds Fountain Valley Ward‐Fountain Stake
Pikes Peak Council 060
325 Putnam Dr
Colorado Springs, CO 80911


Lds Fountains Ward Green Valley Stake
Las Vegas Area Council 328
410 N Valle Verde Dr
Henderson, NV 89014
Lds Four Corners Ward Salem Stake
Cascade Pacific Council 492
2530 Boone Rd Se
Salem, OR 97306


Lds Fourth Ward
Glaciers Edge Council 620
701 Bear Claw Way
Madison, WI 53717


Lds Fox Den Ward
Utah National Parks 591
195 S 80 E
Midway, UT 84049


Lds Fox Hollow Ward
Utah National Parks 591
2858 S Village Court Rd
Saratoga Springs, UT 84045


Lds Fox Hollow Ward, Arapahoe Stake
Denver Area Council 061
21750 E Dorado Ave
Aurora, CO 80015


Lds Fox Pointe Ward
Utah National Parks 591
2967 S Fox Pointe Dr
Saratoga Springs, UT 84045


Lds Fox Run Ward, Denver North Stake
Denver Area Council 061
3501 Summit Grove Pkwy
Thornton, CO 80241


Lds Foxboro 1St Ward
Blackstone Vly Stake
Mayflower Council 251
91 Jordan Rd
Franklin, Ma 02038
Lds Foxboro Ward Blackstone Valley Stake
Mayflower Council 251
91 Jordan Rd
Franklin, MA 02038


Lds‐ Foxcroft Ward‐ Paducah Ky Stake
Greater St Louis Area Council 312
17947 N Route 37
Johnston City, IL 62951


Lds Foxwood Ward
Utah National Parks 591
7288 N Ute Ave
Eagle Mountain, UT 84005


Lds Francis Peak Ward
Deseret Mill Stake
Trapper Trails 589
200 N 1275 W Flint St
Kaysville, Ut 84037


Lds Francisco Park Ward Paradise Stake
Las Vegas Area Council 328
3531 Maricopa Way
Las Vegas, NV 89169


Lds Franconia Ward Mt Vernon Stake
National Capital Area Council 082
6219 Villa St
Alexandria, VA 22310


Lds Franklin 2Nd Br
Blackstone Valley Stake
Mayflower Council 251
91 Jordan Rd
Franklin, Ma 02038


Lds Franklin Second Ward
Native American
Utah National Parks 591
835 S 500 W
Provo, Ut 84601
Lds Franklin Ward
Utah National Parks 591
776 W 200 S
Provo, UT 84601


Lds Franklin Ward Oakton Stake
National Capital Area Council 082
3825 Willow Glen Dr
Oak Hill, VA 20171


Lds Franklin Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
11084 W Sandhurst Dr
Boise, ID 83709


Lds Frederick Ward Frederick Stake
National Capital Area Council 082
1811 Latham Dr
Frederick, MD 21701


Lds Fredericksburg Ward
Fredericksburg Stake
National Capital Area Council 082
1710 Bragg Rd
Fredericksburg, Va 22407


Lds Fredonia First Ward
Utah National Parks 591
P.O. Box 460
Fredonia, AZ 86022


Lds Fredonia Second Ward
Utah National Parks 591
P.O. Box 1166
Fredonia, AZ 86022


Lds Freedom Fifth Ward
Utah National Parks 591
225 E 400 S
Provo, UT 84606
Lds Freedom First Ward
Utah National Parks 591
888 S Freedom Blvd
Provo, UT 84601


Lds Freedom Fourth Ward
Utah National Parks 591
410 W 700 S
Provo, UT 84601


Lds Freedom Park Ward Central Stake
Las Vegas Area Council 328
1101 N Pecos
Las Vegas, NV 89101


Lds Freedom Second Ward
Utah National Parks 591
888 S Freedom Blvd
Provo, UT 84601


Lds Freedom Third Ward Spanish
Utah National Parks 591
424 W 1200 S
Provo, UT 84601


Lds Freemont Springs Ward
Utah National Parks 591
7241 Ute Dr
Eagle Mountain, UT 84005


Lds Freeport Branch
Clearfield South Stake
Trapper Trails 589
1895 S Main St
Clearfield, Ut 84015


Lds Fremont Ward
Utah National Parks 591
24 S 100 W
Fremont, UT 84747
Lds Fremont Ward Omaha Stake
Mid‐America Council 326
1160 N Garden City Rd
Fremont, NE 68025


Lds French Creek Ward, Parker S Stake
Denver Area Council 061
17910 French Creek Ave
Parker, Co 80134


Lds Frenchtown Ward, Missoula Stake
Montana Council 315
P.O. Box 723
Frenchtown, MT 59834


Lds Frisco 2Nd Wrd
Frisco Tx Shawnee Trl Stk
Circle Ten Council 571
10400 Legacy Dr
Frisco, Tx 75033


Lds Frisco Ward/Rifle Stake
Denver Area Council 061
161 Forest Dr
Frisco, CO 80443


Lds Front Range Ward, Golden Stake
Denver Area Council 061
7645 Malamute Dr
Evergreen, CO 80439


Lds Front Royal Ward
Winchester, Va Stake
Shenandoah Area Council 598
7145 Browntown Rd
Front Royal, Va 22630


Lds Frontier Ward‐Meridian E Stk
Ore‐Ida Council 106 ‐ Bsa 106
11918 W Ustick Rd
Boise, ID 83713
Lds Fruit Heights 10Th Ward
Fruit Heights Stake
Trapper Trails 589
901 So Mountain Rd
Fruit Heights, Ut 84037


Lds Fruit Heights 1St Ward
Fruit Heights Stake
Trapper Trails 589
901 S Mountain Rd
Fruit Heights, Ut 84037


Lds Fruit Heights 2Nd Ward
Fruit Heights Stake
Trapper Trails 589
77 S 1325 E
Fruit Heights, Ut 84037


Lds Fruit Heights 3Rd Ward
Fruit Heights Stake
Trapper Trails 589
170 N Mountain Rd
Fruit Heights, Ut 84037


Lds Fruit Heights 4Th Ward
Fruit Heights Stake
Trapper Trails 589
24 So Country Lane
Fruit Heights, Ut 84037


Lds Fruit Heights 5Th Ward
Fruit Heights Stake
Trapper Trails 589
24 So Country Lane
Fruit Heights, Ut 84037


Lds Fruit Heights 6Th Ward
Fruit Heights Stake
Trapper Trails 589
77 So Orchard Dr
Fruit Heights, Ut 84037


Lds Fruit Heights 7Th Ward
Fruit Heights Stake
Trapper Trails 589
24 So Country Lane
Fruit Heights, Ut 84037


Lds Fruit Heights 8Th Ward
Fruit Heights Stake
Trapper Trails 589
170 N Mountain Rd
Fruit Heights, Ut 84037


Lds Fruit Heights 9Th Ward
Fruit Heights Stake
Trapper Trails 589
901 S Mountain Rd
Fruit Heights, Ut 84037


Lds Fruita 1St Ward
Grand Junction West Stake
Denver Area Council 061
343 E Ottley Ave
Fruita, Co 81521


Lds Fruita 2Nd Ward
Grand Junction West Stake
Denver Area Council 061
343 E Ottley Ave
Fruita, Co 81521


Lds Fruita 3Rd Ward
Grand Junction West Stake
Denver Area Council 061
343 E Ottley Ave
Fruita, Co 81521


Lds Fruita 4Th Ward
Grand Junction West Stake
Denver Area Council 061
2235 Kingston Rd
Grand Junction, Co 81507


Lds Fruitland 1St Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
320 N Pennsylvania Ave
Fruitland, ID 83619


Lds Fruitland 2Nd Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
320 N Pennsylvania Ave
Fruitland, ID 83619


Lds Fruitland 3Rd Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
320 N Pennsylvania Ave
Fruitland, ID 83619


Lds Fruitland 4Th Ward ‐ Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
4973 Eagleview Ct
Fruitland, ID 83619


Lds Fruitland Acres Ward
River Heights Stake
Trapper Trails 589
465 N 300 E
Providence, Ut 84332


Lds Fruitland Branch
Utah National Parks 591
Hc 63 Box 270106
Fruitland, UT 84027


Lds Fruitvale Ward/Grand Junction Stake
Denver Area Council 061
543 Melody Ln
Grand Junction, CO 81501


Lds Ft Bliss Military Ward Chamizal Stk
Yucca Council 573
11965 Sgt Mckibben Ct
El Paso, TX 79908


Lds Ft Lupton Ward, Brighton Stake
Denver Area Council 061
1454 Myrtle St
Brighton, CO 80601


Lds Ft Walton Bch 2Nd Ward
Gulf Coast Council 773
339 Lake Dr Nw
Ft Walton Bch, FL 32548


Lds Ft Walton First Ward
Gulf Coast Council 773
339 Lake Dr Nw
Fort Walton Beach, FL 32548


Lds Fulton Ward
Lincoln Heritage Council 205
501 Wells Ave
Fulton, KY 42041


Lds Fulton Ward ‐ Columbia Stake
Great Rivers Council 653
1603 Kingswood Dr
Fulton, MO 65251


Lds Gaarde Ward Tualatin Stake
Cascade Pacific Council 492
13788 SW Fernridge Ter
Tigard, OR 97223


Lds Gahanna Ward Cols South Stake
Simon Kenton Council 441
2135 Baldwin Rd
Reynoldsburg, OH 43068


Lds Gailey Park Ward
Kaysville Central Stake
Trapper Trails 589
331 So 50 W
Kaysville, Ut 84037


Lds Gainesville Ward ‐ Denton Stake
Longhorn Council 662
1703 W California St
Gainesville, TX 76240
Lds Gainesville Ward Gainesville Stake
National Capital Area Council 082
14015 Glenkirk Rd
Gainesville, VA 20155


Lds Gaithersburg 1St Ward Seneca Stake
National Capital Area Council 082
20020 Montgomery Village Ave
Gaithersburg, MD 20886


Lds Gaithersburg 2Nd Ward Seneca Stake
National Capital Area Council 082
20020 Montgomery Village Ave
Montgomery Village Ave, MD 20886


Lds Galena Park Ward
Summerwood Stake
Sam Houston Area Council 576
14404 Kemrock Dr
Houston, Tx 77049


Lds Galena Ward ‐ Mt Rose Stake
Nevada Area Council 329
4850 Edmonton Dr
Reno, NV 89509


Lds Galesburg Ward‐Peoria Stake
Illowa Council 133
1977 E Fremont St
Galesburg, IL 61401


Lds Galt 2Nd Ward Lodi Stake
Greater Yosemite Council 059
972 Vintage Oak Ave
Galt, CA 95632


Lds Galt Ward Lodi Stake
Greater Yosemite Council 059
972 Vintage Oak Ave
Galt, CA 95632
Lds Game Farm Ward Auburn Stake
Chief Seattle Council 609
1820 F St Se
Auburn, WA 98002


Lds‐ Garden Park 5Th Ward
Sj Ut Garden Park Stake
Great Salt Lake Council 590
10580 S 5060 W
South Jordan, Ut 84095


Lds Garden Park Ward
Utah National Parks 591
40 E Midvalley Rd
Enoch, UT 84721


Lds Garden Valley Branch‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
17 Broken Oar Rd
Garden Valley, ID 83622


Lds Garden Valley Ward Roseburg Stake
Oregon Trail Council 697
1864 NW Calkins Ave
Roseburg, OR 97471


Lds Gardena Ward Torrance N Stake 203
Greater Los Angeles Area 033
2000 Artesia Blvd
Torrance, Ca 90504


Lds Gardendale Ward, Birmingham Stake
Greater Alabama Council 001
1925 Mt Olive Blvd
Gardendale, AL 35071


Lds Gardner Ward Olathe Stake
Heart of America Council 307
15915 W 143rd St
Olathe, KS 66062
Lds Garfield Ward Carmichael Stake
Golden Empire Council 047
4125 San Juan Ave
Carmichael, CA 95608


Lds Garrison Creek Ward Renton Stake
Chief Seattle Council 609
19714 106th Ave Se
Renton, WA 98055


Lds Garrisonville Ward
Stafford Virginia Stake
National Capital Area Council 082
163 Eustace Rd
Stafford, Va 22554


Lds Gatesville Branch ‐ Killeen Stake
Longhorn Council 662
8455 S Fm 183
Evant, TX 76525


Lds Gavilan Hills Ward Gilroy
Morgan Hill Stake
Silicon Valley Monterey Bay 055
7399 Miller Ave
Gilroy, Ca 95020


Lds Geneva
Alabama‐Florida Council 003
495 Goose Hollow Rd
Geneva, AL 36340


Lds Geneva Heights Eighth Ward
Utah National Parks 591
546 N 500 W
Orem, UT 84057


Lds Geneva Heights Fifth Ward
Utah National Parks 591
546 N 500 W
Orem, UT 84057
Lds Geneva Heights First Ward     Spanish
Utah National Parks 591
1089 W 465 N
Orem, UT 84057


Lds Geneva Heights Fourth Ward
Utah National Parks 591
512 W 700 N
Orem, UT 84057


Lds Geneva Heights Second Ward
Utah National Parks 591
590 N 900 E
Orem, UT 84097


Lds Geneva Heights Seventh Ward
Utah National Parks 591
372 Foxmoor Dr
Orem, UT 84057


Lds Geneva Heights Sixth Ward
Utah National Parks 591
1119 W 600 N
Orem, UT 84057


Lds Geneva Heights Third Ward
Utah National Parks 591
857 W 800 N
Orem, UT 84057


Lds Genola First Ward
Utah National Parks 591
22 W Center St
Genola, UT 84655


Lds Genola Fourth Ward
Utah National Parks 591
1090 S Anna Ekins Ln
Genola, UT 84655


Lds Genola Second Ward
Utah National Parks 591
10 W Center
Genola, UT 84655


Lds Genola Third Ward
Utah National Parks 591
1037 S 400 W
Genola, UT 84655


Lds Georgetown 1St Ward
Montpelier Stake
Trapper Trails 589
124 Stringtown Lane
Georgetown, Id 83239


Lds Georgetown 2Nd Ward
Montpelier Stake
Trapper Trails 589
124 Stringtown Rd
Montpelier Stake
Georgetown, Id 83239


Lds Georgetown Ward
The Spirit of Adventure 227
Troop 52
9 Jewett St
Georgetown, MA 01833


Lds Georgetown Ward El Dorado Stake
Golden Empire Council 047
P.O. Box 91
7280 Prospect Hill Dr
Pilot Hill, CA 95664


Lds Georgetown Ward, Round Rock E Stake
Capitol Area Council 564
218 Serenada Dr
Georgetown, Tx 78628


Lds Gettysburg Ward,Chambersburg Stake
New Birth of Freedom 544
1170 Kohler Mill Rd
New Oxford, PA 17350
Lds Gettysburg Ward,Chambersburg Stake
New Birth of Freedom 544
34 Herrs Ridge Rd
Gettysburg, PA 17325


Lds Gila Ward Silver City Stk
Yucca Council 573
P.O. Box 163
Gila, NM 88038


Lds Gilcrease Ranch Ward Tule Spgs Stake
Las Vegas Area Council 328
6735 Whispering Sands
Las Vegas, Nv 89131


Lds Gillette 1St Ward, Gillette Stake
Greater Wyoming Council 638
2903 Allen Ave
Gillette, WY 82718


Lds Gillette 2Nd Ward, Gillette Stake
Greater Wyoming Council 638
2903 Allen Ave
Gillette, WY 82718


Lds Gillette 3Rd Ward, Gillette Stake
Greater Wyoming Council 638
1500 Ohara Dr
Gillette, WY 82716


Lds Gillette Stk Moorcroft Branch
Black Hills Area Council 695 695
P.O. Box 122
Moorcroft, WY 82721


Lds Gilmer 4Th Ward
East Texas Area Council 585
1122 Pine St
Gilmer, TX 75644


Lds Ginger Creek Ward‐Mer E Stk
Ore‐Ida Council 106 ‐ Bsa 106
12285 W Ginger Creek Dr
Boise, ID 83713


Lds Gj 1St Ward
Grand Junction West Stake
Denver Area Council 061
2542 G Rd
Grand Junction, Co 81505


Lds Glacier Park Ward Maple Valley Stake
Chief Seattle Council 609
22608 SE 279th St
Maple Valley, WA 98038


Lds Gladstone Ward Milwaukie Stake
Cascade Pacific Council 492
8331 Cason Rd
Gladstone, OR 97027


Lds Glasgow Ward
Lincoln Heritage Council 205
748 W Cherry St
Glasgow, KY 42141


Lds Glasgow Ward, Glendive Stake
Montana Council 315
71 Bonnie St
Glasgow Lds Ward
Glasgow, MT 59230


Lds Gleannloch Farms Ward
Tomball Stake
Sam Houston Area Council 576
19920 Champion Forest Dr
Spring, Tx 77379


Lds Glen Carbon Ward Ofallon Stake
Greater St Louis Area Council 312
2250 Hwy 157 S
Edwardsville, IL 62025
Lds Glen Creek Ward Monmouth Stake
Cascade Pacific Council 492
3154 Eola Dr Nw
Salem, OR 97304


Lds Glen Eagle Ward
Syracuse West Stake
Trapper Trails 589
3426 W Augusta Dr
Syracuse, Ut 84075


Lds Glen Loch Ward
The Woodlands Stake
Sam Houston Area Council 576
27707 Glen Loch Dr
The Woodlands, Tx 77381


Lds Glencoe Ward Hillsboro Stake
Cascade Pacific Council 492
2220 NE Jackson School Rd
Hillsboro, OR 97124


Lds Glendale 1St Ward
Verdugo Hills Council 058
1130 E Wilson Ave
Glendale, CA 91206


Lds Glendale Ward
Utah National Parks 591
P.O. Box 95
Glendale, UT 84729


Lds Glendora Ward 360 Glendora Stake
Greater Los Angeles Area 033
2121 E Route 66
Glendora Stake
Glendora, CA 91740


Lds Gleneagle Ward‐North Stake
Pikes Peak Council 060
8710 Lexington Dr
Colorado Springs, CO 80921
Lds Glenmont Ward‐Silver Spring Stake
National Capital Area Council 082
500 Randolph Rd
Silver Spring, MD 20904


Lds Glenns Ferry Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 636
Glenns Ferry, ID 83623


Lds Glenridge Ward/Atlanta Stake
Atlanta Area Council 092
6449 Glenridge Dr
Atlanta, GA 30328


Lds Glenrock Ward, Casper Stake
Greater Wyoming Council 638
573 Lookout Dr
Glenrock, WY 82637


Lds Glenwood Springs Ward/Rifle Stake
Denver Area Council 061
409 29th St
Glenwood Springs, CO 81601


Lds Glenwood Ward
Utah National Parks 591
225 E Center St
Glenwood, UT 84730


Lds Glenwood Ward Council Bluff Stake
Mid‐America Council 326
21919 Elderberry Rd
Glenwood, IA 51534


Lds Glines Eighth Ward
Utah National Parks 591
2249 S 1500 W
Vernal, UT 84078


Lds Glines Fifth Ward
Utah National Parks 591
2874 W 1800 S
Vernal, UT 84078


Lds Glines First Ward
Utah National Parks 591
1510 W Hwy 40
Vernal, UT 84078


Lds Glines Fourth Ward
Utah National Parks 591
3061 W 500 S
Vernal, UT 84078


Lds Glines Ninth Ward
Utah National Parks 591
2813 S 400 W
Vernal, UT 84078


Lds Glines Second Ward
Utah National Parks 591
1510 W Hwy 40
Vernal, UT 84078


Lds Glines Seventh Ward
Utah National Parks 591
1270 W 1500 S
Vernal, UT 84078


Lds Glines Sixth Ward
Utah National Parks 591
2643 W 1000 S
Vernal, UT 84078


Lds Glines Third Ward
Utah National Parks 591
475 W 100 S
Vernal, UT 84078


Lds Goddard Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
8265 W Valley View Dr
Boise, ID 83704


Lds Goethe Park Ward Cordova Stake
Golden Empire Council 047
2400 Cordova Ln
Rancho Cordova, CA 95670


Lds Gold Hill Ward ‐ Central Point Stake
Crater Lake Council 491
5050 Del Mar Dr
Central Point, OR 97502


Lds Goldcrest Ward Highland Hills Stake
Las Vegas Area Council 328
3209 Wexford Hill Ct
North Las Vegas, NV 89031


Lds Golden Hills Ward
Southern Sierra Council 030
600 Anita Dr
Tehachapi, CA 93561


Lds Golden Valley Branch Kingman Stake
Las Vegas Area Council 328
7582 W Zuni Dr
Golden Valley, AZ 86413


Lds Goldendale Ward The Dalles Stake
Cascade Pacific Council 492
500 Sampson St
Centerville, WA 98613


Lds Goldenrod Orlando
Central Florida Council 083
350 W Artesia St
Oviedo, FL 32765


Lds Goleta Vly Ward, Santa Barbara Stake
Los Padres Council 053
478 Cambridge Dr
Goleta, Ca 93117
Lds Goose Creek Ward Charleston Stake
Coastal Carolina Council 550
8720 Antler Dr
North Charleston, SC 29406


Lds Gordon Creek Ward
Utah National Parks 591
175 N 1280 W
Price, UT 84501


Lds Goshen Second Ward
Utah National Parks 591
75 S Center St
Goshen, UT 84633


Lds Goshen Ward
Utah National Parks 591
P.O. Box 53
Goshen, UT 84633


Lds Grace Stake ‐ Bancroft Ward
Grand Teton Council 107
404 S Main
Bancroft, ID 83217


Lds Grace Stake ‐ Chesterfield Ward
Grand Teton Council 107
2789 Baker Rd
Bancroft, ID 83217


Lds Grace Stake ‐ Grace 1St Ward
Grand Teton Council 107
311 S Main
Grace, ID 83241


Lds Grace Stake ‐ Grace 2Nd Ward
Grand Teton Council 107
311 S Main
Grace, ID 83241


Lds Grace Stake ‐ Grace 3Rd Ward
Grand Teton Council 107
404 N Main St
Grace, ID 83241


Lds Grace Stake ‐ Thatcher Ward
Grand Teton Council 107
13509 N Maple Grove Rd
Thatcher, ID 83283


Lds Grace Stake ‐ Williams Ward
Grand Teton Council 107
2120 Niter Bench Rd
2248 Bench View Dr
Grace, ID 83241


Lds Graham Ward ‐ Weatherford Stake
Longhorn Council 662
2251 Bethel Rd
Graham, TX 76087


Lds ‐Granada Hills Stake
Granada Hills Ward
W.L.A.C.C. 051
11315 White Oak Ave
Granada Hills, Ca 91344


Lds ‐Granada Hills Stake
Sherman Oaks Ward
W.L.A.C.C. 051
14001 Burbank Blvd
Van Nuys, Ca 91401


Lds ‐Granada Hills Stake
Van Nuys 1St Ward
W.L.A.C.C. 051
14001 Burbank Blvd
Van Nuys, Ca 91401


Lds ‐Granada Hills Stake‐ Encino Ward
W.L.A.C.C. 051
5338 White Oak Ave
Encino, CA 91316
Lds ‐Granada Hills Stake‐ Nridge Ward
W.L.A.C.C. 051
17101 Plummer St
Northridge, Ca 91325


Lds Granada Ward Whittier Stake 871
Greater Los Angeles Area 033
15100 Cordova Rd
La Mirada, CA 90638


Lds Granbury Ward ‐ Weatherford Stake
Longhorn Council 662
3000 Ridgecrest Dr
Granbury, TX 76048


Lds Granby Ward/Craig Stake
Denver Area Council 061
P.O. Box 1131
Granby, CO 80446


Lds Grand Blanc Ward ‐ Grand Blanc Stake
Water and Woods Council 782
4285 Mccandlish Rd
Grand Blanc, MI 48439


Lds Grand Canyon Ward Lone Mtn Stake
Las Vegas Area Council 328
3208 Bishop Pine St
Las Vegas, Nv 89129


Lds Grand Mesa Ward/Grand Junction Stake
Denver Area Council 061
3076 E 1/2 Rd
Grand Junction, CO 81504


Lds Grand Prairie 1St Ward
Dallas Stake
Circle Ten Council 571
2010 S Carrier Pkwy
Grand Prairie, Tx 75051
Lds Grand Prairie 2Nd Ward
Irving Stake
Circle Ten Council 571
2010 S Carrier Pkwy
Grand Prairie, Tx 75051


Lds Grand Rapids Ward
Grand Rapids Stake
President Gerald R Ford 781
2780 Leonard St Ne
Grand Rapids, Mi 49525


Lds Grand Teton Ward Skye Canyon Stake
Las Vegas Area Council 328
9830 Elkhorn Rd
Las Vegas, NV 89149


Lds Grand Valley Ward
Grand Rapids Stake
President Gerald R Ford 781
2780 Leonard St Ne
Grand Rapids, Mi 49525


Lds Grand Valley Ward/Rifle Stake
Denver Area Council 061
300 Sipprelle Dr
Battlement Mesa, CO 81635


Lds Grand View Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
30767 Mormon Blvd
Bruneau, ID 83604


Lds Grandview Eighth Ward
Utah National Parks 591
960 W 2150 N
Provo, UT 84604


Lds Grandview Eleventh Ward
Utah National Parks 591
950 W 2150 N
Provo, UT 84604
Lds Grandview Fifth Ward
Utah National Parks 591
1555 N 1350 W
Provo, UT 84604


Lds Grandview First Ward
Utah National Parks 591
1555 N 1350 W
Provo, UT 84604


Lds Grandview Fourth Ward
Utah National Parks 591
1265 Camelot Dr
Provo, UT 84601


Lds Grandview Ninth Ward
Utah National Parks 591
1555 N 1350 W
Provo, UT 84604


Lds Grandview Second Ward
Utah National Parks 591
1060 N 1081 W
Provo, UT 84604


Lds Grandview Seventh Ward
Utah National Parks 591
1120 N 850 W
Provo, UT 84604


Lds Grandview Sixth Ward
Utah National Parks 591
1538 N 1980 W
Provo, UT 84604


Lds Grandview Tenth Ward
Utah National Parks 591
1850 W 1600 N
Provo, UT 84604


Lds Grandview Third Ward
Utah National Parks 591
905 W 2300 N
Provo, UT 84604


Lds Grandview Twenty First Ward
Utah National Parks 591
1850 W 1600 N
Provo, UT 84604


Lds Grandview Ward, Parker Stake
Denver Area Council 061
7405 S Addison Ct
Aurora, CO 80016


Lds Grangeville Ward/Lewiston Stake
Inland Nwest Council 611
403 N Blvd
Grangeville, ID 83530


Lds Granite Bay 1St Ward Rocklin Stake
Golden Empire Council 047
7800 Santa Juanita Ave
Folsom, CA 95630


Lds Granite Bay 2Nd Ward Rocklin Stake
Golden Empire Council 047
6460 Cavitt Stallman Rd
Granite Bay, CA 95746


Lds Granite Falls Ward Arlington Stake
Mount Baker Council, Bsa 606
18218 100th St Ne
Granite Falls, WA 98252


Lds Grapevine Ward ‐ Colleyville Stake
Longhorn Council 662
1143 Butterfield Dr
Grapevine, TX 76051


Lds Grass Vly Ward Vancouver E Stake
Cascade Pacific Council 492
3017 Nw 18Th Ave
Camas, Wa 98607


Lds Grasslands First Ward
Utah National Parks 591
706 W 375 N
Springville, UT 84663


Lds Grasslands Second Ward
Utah National Parks 591
945 W Center St
Springville, UT 84663


Lds Grasslands Third Ward
Utah National Parks 591
1133 W 250 N
Springville, UT 84663


Lds‐ Great Bridge Ward
Chesapeake Stake
Tidewater Council 596
412 Peaceful Rd
Chesapeake, Va 23322


Lds Great Falls 1St Wd
Great Falls E Stake
Montana Council 315
1015 15Th Ave S
Great Falls, Mt 59405


Lds Great Falls Ward Mclean Stake
National Capital Area Council 082
1325 Scotts Run Rd
Mclean, VA 22102


Lds Great Oaks Ward Round Rock Stake
Capitol Area Council 564
8140 Racine Trl
Austin, TX 78717


Lds Great Sky Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
80686 N Halter Way
Boise, ID 83714


Lds Green Bay 1St Ward
Green Bay Wi Stake
Bay‐Lakes Council 635
651 Pinehurst Ave
Green Bay, Wi 54302


Lds Green Bay 2Nd Ward
Green Bay Wi Stake
Bay‐Lakes Council 635
651 Pinehurst Ave
Green Bay, Wi 54302


Lds Green Canyon Ward
North Logan Stake
Trapper Trails 589
2750 N 800 E
North Logan, Ut 84341


Lds Green Mtn 2Nd Ward, Lakewood Stake
Denver Area Council 061
13206 W Green Mountain Dr
Lakewood, Co 80228


Lds Green Mtn Ward, Front Range Stake
Denver Area Council 061
13206 W Green Mountain Dr
Lakewood, Co 80228


Lds Green Park Ward Lehi
Utah National Parks 591
1929 W 1500 N
Lehi, UT 84043


Lds Green River 1St Ward
Green River Stake
Trapper Trails 589
1000 W 4Th N St
Green River, Wy 82935


Lds Green River 3Rd Ward
Green River Stake
Trapper Trails 589
1000 W 4Th N
Green River, Wy 82935


Lds Green River 4Th Ward
Green River Stake
Trapper Trails 589
120 Shoshone Ave
Green River, Wy 82935


Lds Green River 5Th Ward
Green River Stake
Trapper Trails 589
1255 W Teton
Green River, Wy 82935


Lds Green River 6Th Ward
Green River Stake
Trapper Trails 589
120 Shoshone Ave
Green River, Wy 82935


Lds Green River 7Th Ward
Green River Stake
Trapper Trails 589
1255 W Teton
Green River, Wy 82935


Lds Green River First Ward
Utah National Parks 591
101 N Clark
Green River, UT 84525


Lds Green River Ward Auburn Stake
Chief Seattle Council 609
625 M St Ne
Auburn, WA 98002


Lds Green Valley Fifth Ward
Utah National Parks 591
124 N Valley View Dr
St George, UT 84770
Lds Green Valley First Ward
Utah National Parks 591
511 S Valley View Dr
St George, UT 84770


Lds Green Valley Fourth Ward
Utah National Parks 591
26 N Stone Mountain Dr
St George, UT 84770


Lds Green Valley Ninth Ward
Utah National Parks 591
1940 Everest Dr
Saint George, UT 84770


Lds Green Valley Second Ward
Utah National Parks 591
511 S Valley View Dr
St George, UT 84770


Lds Green Valley Seventh Ward
Utah National Parks 591
511 S Valley View Dr
St George, UT 84770


Lds Green Valley Sixth Ward
Utah National Parks 591
124 N Valley View Dr
St George, UT 84770


Lds Green Valley Third Ward
Utah National Parks 591
450 S Indian Hills
St George, UT 84770


Lds Green Valley Ward El Dorado Stake
Golden Empire Council 047
3431 Hacienda Dr
Cameron Park, CA 95628
Lds Green Valley Ward Green Valley Stake
Las Vegas Area Council 328
410 N Valle Verde Dr
Henderson, NV 89014


Lds Green Valley Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
1695 E Amity Rd
Meridian, ID 83642


Lds Greenbriar Ward Paradise Stake
Las Vegas Area Council 328
1725 Palora Ave
Las Vegas, NV 89169


Lds Greeneville Branch
Sequoyah Council 713
1109 Sun Valley Dr
Greeneville, TN 37745


Lds Greenfield Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
1145 Oak Ave
Greenfield, CA 93927


Lds Greenhill Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
Locust Grove and Franklin
Meridian, ID 83642


Lds Greenridge Ward
Utah National Parks 591
711 S 600 E
Payson, UT 84651


Lds Greens Lake Ward
Utah National Parks 591
1458 S 700 W
Cedar City, UT 84720


Lds Greensburg Ward
North Pittsburgh Stake
Westmoreland Fayette 512
152 Twin Run Rd
Greensburg, Pa 15601


Lds Greensburg Ward/Pittsburgh Stake
Westmoreland Fayette 512
Twin Run Rd
Greensburg, PA 15601


Lds Greenville
Lincoln Heritage Council 205
1350 State Route 2533
Greenville, KY 42345


Lds Greenville ‐ Grand Rapids Stake
President Gerald R Ford 781
10700 W Carson City Rd
Greenville, MI 48838


Lds Greenville Ward
Blue Ridge Council 551
400 Farrs Bridge Rd
Greenville, SC 29617


Lds Greenville Ward
Utah National Parks 591
Hc 74 Box 5102
Greenville, UT 84731


Lds Greenwood Village Ward, Denver Stake
Denver Area Council 061
6061 S Havana St
Englewood, CO 80111


Lds Greenwood Ward, Fort Smith Stake
Westark Area Council 016
2977 E State Hwy 10
Booneville, AR 72927


Lds Gresham Ward‐ Wausau Stake
Samoset Council, Bsa 627
1230 Schabow St
County Hwy G
Gresham, WI 54128


Lds Gretna Branch Papillion Stake
Mid‐America Council 326
6820 S 164th Ave
Omaha, NE 68136


Lds Gridley 1St Ward Gridley Stake
Golden Empire Council 047
P.O. Box 1219
Biggs, CA 95917


Lds Gridley 3Rd Ward Gridley Stake
Golden Empire Council 047
400 Spruce St
Gridley, CA 95948


Lds Griffin Ward Fayetteville Ga Stake
Flint River Council 095
605 Maddox Rd
Griffin, GA 30224


Lds Griffith Park Ward Beaverton Stake
Cascade Pacific Council 492
4195 SW 99th Ave
Beaverton, OR 97005


Lds Grove Creek Eighth Ward
Utah National Parks 591
1176 N 730 E
Pleasant Grove, UT 84062


Lds Grove Creek Fifth Ward
Utah National Parks 591
475 N 700 E
Pleasant Grove, UT 84062


Lds Grove Creek First Ward
Utah National Parks 591
1176 N 730 E
Pleasant Grove, UT 84062
Lds Grove Creek Fourth Ward
Utah National Parks 591
942 N 500 E
Pleasant Grove, UT 84062


Lds Grove Creek Second Ward
Utah National Parks 591
475 N 700 E
Pleasant Grove, UT 84062


Lds Grove Creek Seventh Ward
Utah National Parks 591
942 N 500 E
Pleasant Grove, UT 84062


Lds Grove Creek Sixth Ward
Utah National Parks 591
977 E 1000 N
Pleasant Grove, UT 84062


Lds Grove Creek Tenth Ward
Utah National Parks 591
475 N 700 E
Pleasant Grove, UT 84062


Lds Grove Eighth Ward
Utah National Parks 591
289 S 1000 W, Apt 302
Pleasant Grove, UT 84062


Lds Grove First Ward
Utah National Parks 591
1373 W 110 N
Pleasant Grove, UT 84062


Lds Grove First Ward
Utah National Parks 591
1377 W 110 N
Pleasant Grove, UT 84062
Lds Grove Fourth Ward
Utah National Parks 591
1225 W Dallin Dr Q104
Pleasant Grove, UT 84062


Lds Grove Ninth Ward
Utah National Parks 591
38 S 1630 W
Pleasant Grove, UT 84062


Lds Grove Park Cumberland
Great Smoky Mountain Council 557
6024 Grove Dr
Knoxville, TN 37918


Lds Grove Park Fifth Ward
Utah National Parks 591
67 E Zen Rd
Vineyard, UT 84058


Lds Grove Park First Ward
Utah National Parks 591
342 W Serenity Ct
Vineyard, UT 84058


Lds Grove Park Fourth Ward
Utah National Parks 591
318 W Serenity Ct
Vineyard, UT 84058


Lds Grove Park Second Ward
Utah National Parks 591
90 N 600 W
Orem, UT 84058


Lds Grove Park Third Ward
Utah National Parks 591
454 E Rue De Paris
Vineyard, UT 84058


Lds Grove Second Ward
Utah National Parks 591
684 S 2150 W, Apt 101
Pleasant Grove, UT 84062


Lds Grove Sixth Ward
Utah National Parks 591
1136 W 50 N
Y‐102
Pleasant Grove, UT 84062


Lds Grove Tenth Ward
Utah National Parks 591
1526 W 140 N
Pleasant Grove, UT 84062


Lds Grove Third Ward
Utah National Parks 591
656 S 910 W, Unit 25
Pleasant Grove, UT 84062


Lds Grove Ward
Utah National Parks 591
455 E 200 S
Pleasant Grove, UT 84062


Lds Gulf Breeze Ward
Gulf Coast Council 773
1751 Sea Lark Ln
Navarre, FL 32566


Lds Gunlock Ward
Utah National Parks 591
Hc 69 Box 79
Gunlock, UT 84733


Lds Gunnison Bend
Utah National Parks 591
1199 S 1950 W
Delta, UT 84624


Lds Gunnison Branch/Montrose Stake
Denver Area Council 061
810 N 11th St
Gunnison, CO 81230


Lds Gunnison Fifth Ward
Utah National Parks 591
210 S Main
Centerfield, UT 84622


Lds Gunnison First Ward
Utah National Parks 591
80 W Center St
Gunnison, UT 84634


Lds Gunnison Second Ward
Utah National Parks 591
P.O. Box 545
80 W Center St
Gunnison, UT 84634


Lds Gunnison Third Ward
Utah National Parks 591
80 W Center St
Gunnison, UT 84634


Lds Guntersville Ward
Greater Alabama Council 001
4961 Spring Creek Dr
Guntersville, AL 35976


Lds Gurnee 1St Ward, Buffalo Grove Stake
Northeast Illinois 129
411 N Oplaine Rd
Gurnee, IL 60031


Lds Guthrie Ward Stillwater Stake
Last Frontier Council 480
5326 Ellie Mae Dr
Guthrie, OK 73044


Lds Hacienda Heights 1St Ward
Hacienda Heights Stake 718
Greater Los Angeles Area 033
16750 Colima Rd
Hacienda Heights, Ca 91745


Lds Hacienda Heights 2Nd Ward
Hacienda Heights Stake 719
Greater Los Angeles Area 033
1415 Turnbull Canyon Rd
Hacienda Heights, Ca 91745


Lds Hacienda Heights Ward
Spring Mountain Stake
Las Vegas Area Council 328
6325 W Hacienda Ave
Las Vegas, Nv 89113


Lds Hacienda Ward Paradise Stake
Las Vegas Area Council 328
2275 E Tropicana Ave
Las Vegas, NV 89119


Lds Hagerstown Ward Martinsburg Stake
Mason Dixon Council 221
1253 Mount Aetna Rd
Hagerstown, MD 21742


Lds Haight Bench Ward
Haight Creek Stake
Trapper Trails 589
1650 S 500 E
Kaysville, Ut 84037


Lds Haines Ward Abq Stake
Great Swest Council 412
5709 Haines Ave Ne
Albuquerque, NM 87110


Lds Half Moon Bay Ward, San Mateo Stake
Pacific Skyline Council 031
475 California Ave
Moss Beach, CA 94038


Lds Hamilton Fort Ward
Utah National Parks 591
1650 W Center St
Cedar City, UT 84720


Lds Hamilton Ward Ashburn Stake
National Capital Area Council 082
15 N Reid St
Hamilton, VA 20158


Lds Hamilton Ward Cincinnati North Stake
Dan Beard Council, Bsa 438
4831 Pleasant Ave
Fairfield, OH 45014


Lds Hamilton Ward, Stevensville Stake
Montana Council 315
801 Pine St
Hamilton, MT 59840


Lds Hammond Ward Bloomfield Stake
Great Swest Council 412
902 W Blanco Blvd
Bloomfield, NM 87413


Lds Hampden Hill Ward, Aurora S Stake
Denver Area Council 061
5175 S Picadilly St
Aurora, Co 80015


Lds Hampton Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
2323 N Maple Grove Rd
Boise, ID 83704


Lds Hana Branch, Kahului Hi Stake
Aloha Council, Bsa 104
P.O. Box 383
Hana, HI 96713


Lds Hancock Ward, Martinsburg Stake
Mason Dixon Council 221
200 Douglas Ave
Hancock, MD 21750
Lds Hanksville Ward
Utah National Parks 591
P.O. Box 128
Hanksville, UT 84734


Lds Hannibal Ward ‐ Nauvoo Stake
c/o Pres Fred Cruse
Great Rivers Council 653
9 Stillwell Pl
Hannibal, MO 63401


Lds Hanover Ward Concord Stake
Daniel Webster Council, Bsa 330
667 Dartmouth College Hwy
Lebanon, NH 03766


Lds Hanover Ward, Chambersburg Stake
New Birth of Freedom 544
1170 Kohler Mill Rd
New Oxford, PA 17350


Lds Hansen Meadows Ward
Syracuse Bluff Stake
Trapper Trails 589
2500 S Bluff Rd
Syracuse Bluff Stake
Syracuse, Ut 84075


Lds Harber Ward Springdale Stake
Westark Area Council 016
6738 Lynchs Prairie Cove
Springdale, AR 72762


Lds Harbor 4Th Ward 370 Samoan
Greater Los Angeles Area 033
22721 Main St
Carson, CA 90745


Lds Harbor Bay Ward
Utah National Parks 591
92 E Turnbuckle Rd
Saratoga Springs, UT 84045


Lds Harbor First Ward
Utah National Parks 591
600 S 100 W
American Fork, UT 84003


Lds Harbor Second Ward
Utah National Parks 591
600 S 100 W
American Fork, UT 84003


Lds Harbor Third Ward
Utah National Parks 591
600 S 100 W
American Fork, UT 84003


Lds Harbour Pointe Ward Lynnwood Stake
Mount Baker Council, Bsa 606
11001 Harbour Pointe Blvd
Mukilteo, WA 98275


Lds Hardin Valley Knoxvillle
Great Smoky Mountain Council 557
11837 Grigsby Chapel Rd
Knoxville, TN 37919


Lds Harlem 1St Ward/New York Stake
Greater New York Councils, Bsa 640
360 Malcolm X Blvd
New York, NY 10027


Lds Harlem 2Nd Ward/New York Stake
Greater New York Councils, Bsa 640
360‐368 Lenox Ave, 3rd Fl
New York, NY 10027


Lds Harlem Ward
Georgia‐Carolina 093
470 N Louisville St
Harlem, GA 30814
Lds Harmony Bluff Ward
Syracuse South Stake
Trapper Trails 589
3065 S Bluff Rd
Syracuse, Ut 84075


Lds Harmony Hills Ward N Las Vegas Stake
Las Vegas Area Council 328
1416 Patrick Thomas Ct
North Las Vegas, Nv 89086


Lds Harmony Place Ward
Layton Legacy Stake
Trapper Trails 589
752 N 3700 W
Layton, Ut 84041


Lds Harmony Ward Vancouver East Stake
Cascade Pacific Council 492
18300 NE 18th St
Vancouver, WA 98684


Lds Harper Ward
Brigham City North Stake
Trapper Trails 589
620 N 300 E
Brigham City, Ut 84302


Lds Harpers Ferry Ward
Winchester,Va Stake
Shenandoah Area Council 598
343 Carriage Dr
Harpers Ferry, Wv 25425


Lds Harrisburg Ward Harrisburg Stake
New Birth of Freedom 544
4788 Union Deposit Rd
Harrisburg, PA 17111


Lds Harrison Ward
Spgfield, Mo S Stake
Westark Area Council 016
P.O. Box 171
Lead Hill, Ar 72644


Lds Harrisonville Ward Kcmo Stake
Heart of America Council 307
451 SW State Route 150
Lees Summit, MO 64082


Lds Harrisville 10Th Ward
Harrisville Stake
Trapper Trails 589
1560 N 200 W
Harrisville, Ut 84404


Lds Harrisville 1St Ward
Harrisville Stake
Trapper Trails 589
435 W Harrisville Rd
Harrisville, Ut 84404


Lds Harrisville 2Nd Ward
Harrisville Stake
Trapper Trails 589
435 W Harrisville Rd
Harrisville, Ut 84404


Lds Harrisville 3Rd Ward
Harrisville Stake
Trapper Trails 589
1560 N 200 W
Harrisville, Ut 84404


Lds Harrisville 4Th Ward
Pleasant View South Stake
Trapper Trails 589
480 W 2000 N
Harrisville, Ut 84414


Lds Harrisville 5Th Ward
Pleasant View South Stake
Trapper Trails 589
2360 N 600 W
Harrisville, Ut 84414
Lds Harrisville 6Th Ward
Harrisville Stake
Trapper Trails 589
113 Childs Ave
Harrisville, Ut 84404


Lds Harrisville 7Th Ward
Harrisville Stake
Trapper Trails 589
1560 N 200 W
Harrisville, Ut 84404


Lds Harrisville 8Th Ward
Harrisville Stake
Trapper Trails 589
113 Childs Ave
Ogden, Ut 84404


Lds Harrisville 9Th Ward
Harrisville Stake
Trapper Trails 589
435 W Harrisville Rd
Harrisville, Ut 84404


Lds Hart ‐ Grand Rapids Stake
President Gerald R Ford 781
2852 N 72nd Ave
Hart, MI 49420


Lds Hartford Stake Avon Ward
Connecticut Rivers Council, Bsa 066
27 Lawton Rd
Canton, CT 06019


Lds Hartford Stake Bloomfield Ward
Connecticut Rivers Council, Bsa 066
11 Spice Bush Ln
Bloomfield, CT 06002


Lds Hartford Stake Canton Ward
Connecticut Rivers Council, Bsa 066
47 Bart Dr
Collinsville, CT 06019


Lds Hartford Stake Ellington Ward
Connecticut Rivers Council, Bsa 066
2 Maple St
Ellington, CT 06029


Lds Hartford Stake Glastonbury Ward
Connecticut Rivers Council, Bsa 066
60 Carriage Dr
South Windsor, CT 06074


Lds Hartford Stake Glastonbury Ward
Connecticut Rivers Council, Bsa 066
83 Murray Rd
South Windsor, CT 06074


Lds Hartford Stake Goshen Ward
Connecticut Rivers Council, Bsa 066
Route 63
Goshen, CT 06756


Lds Hartford Stake Hartford Ward
Connecticut Rivers Council, Bsa 066
1000 Mountain Rd
Bloomfield, CT 06002


Lds Hartford Stake Manchester Ward
Connecticut Rivers Council, Bsa 066
30 Woodside St
Manchester, CT 06040


Lds Hartley Park Ward Gresham Stake
Cascade Pacific Council 492
3600 SE 182nd Ave
Gresham, OR 97030


Lds Hartman Park Ward Redmond Stake
Chief Seattle Council 609
10115 172nd Ave Ne
Redmond, WA 98052
Lds Hartwood Ward
Stafford Virginia Stake
National Capital Area Council 082
20 Boscobel Rd
Fredericksburg, Va 22405


Lds Harvard Ward Roseburg Stake
Oregon Trail Council 697
2001 W Bertha Ave
Roseburg, OR 97471


Lds Harvest Hills Eighth Ward
Utah National Parks 591
2101 Providence Dr
Saratoga Springs, UT 84045


Lds Harvest Hills Eleventh Ward
Utah National Parks 591
491 W Autumn Sky Dr
Saratoga Springs, UT 84045


Lds Harvest Hills Fifth Ward
Utah National Parks 591
552 W Floribunda Dr
Saratoga Springs, UT 84045


Lds Harvest Hills First Ward
Utah National Parks 591
270 W Harvest Hills Blvd
Saratoga Springs, UT 84045


Lds Harvest Hills Fourth Ward
Utah National Parks 591
1903 N Concord Pl
Saratoga Springs, UT 84045


Lds Harvest Hills Ninth Ward
Utah National Parks 591
346 W Plum Pl
Saratoga Springs, UT 84045
Lds Harvest Hills Second Ward
Utah National Parks 591
2256 N Providence Dr
Saratoga Springs, UT 84045


Lds Harvest Hills Seventh Ward
Utah National Parks 591
2256 N Providence Dr
Saratoga Springs, UT 84045


Lds Harvest Hills Sixth
Utah National Parks 591
2181 N Harvest Moon Dr
Saratoga Springs, UT 84045


Lds Harvest Hills Tenth Ward
Utah National Parks 591
368 W Aspen Hills Blvd
Saratoga Springs, UT 84045


Lds Harvest Hills Third Ward
Utah National Parks 591
1950 N Harvest Moon Dr
Saratoga Springs, UT 84045


Lds Harvest Ridge Ward
Utah National Parks 591
1111 Meadow Sage Cir
Salem, UT 84653


Lds Haslet Ward ‐ Alliance Stake
Longhorn Council 662
500 W Bonds Ranch Rd
Haslet, TX 76052


Lds Hastings‐ Grand Rapids Stake
President Gerald R Ford 781
571 N Airport Rd
Hastings, MI 49058


Lds Hatch Ward
Utah National Parks 591
249 S 1 W
Hatch, UT 84735


Lds Haven Cove Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
2176 N Ten Mile Rd
Meridian, ID 83642


Lds Haven Ward Warm Springs Stake
Las Vegas Area Council 328
7670 S Bruce St
Las Vegas, NV 89123


Lds Havre Ward, Great Falls East Stake
Montana Council 315
1315 Washington Ave
Havre, MT 59501


Lds Hawks Landing First Ward
Utah National Parks 591
213 Caracara St
Saratoga Springs, UT 84045


Lds Hawks Landing Second Ward
Utah National Parks 591
2947 Swainson Ave
Saratoga Springs, UT 84045


Lds Hawthorn Ward
Utah National Parks 591
3149 E Tanoak Dr
Saint George, UT 84790


Lds Hawthorne Ward Fallon South Stake
Nevada Area Council 329
P.O. Box 1296
Hawthorne, NV 89415


Lds Hawthorne Ward, Billings East Stake
Montana Council 315
1000 Wicks Ln
Billings, MT 59105


Lds Haymarket Ward Gainesville Stake
National Capital Area Council 082
14015 Glenkirk Rd
Gainesville, VA 20155


Lds Haymarket Ward Gainesville Stake
National Capital Area Council 082
14105 Glenkirk Rd
Gainesville, VA 20155


Lds Hazeldale Ward Bvtn West Stake
Cascade Pacific Council 492
5175 SW 209th Ave
Beaverton, OR 97007


Lds Heather Glen Ward
Layton North Stake
Trapper Trails 589
1954 E Antelope Dr
Layton, Ut 84040


Lds Heather Ridge First Ward
Utah National Parks 591
150 E 1750 N
Orem, UT 84057


Lds Heather Ridge Fourth Ward
Utah National Parks 591
620 Heather Rd
Orem, UT 84097


Lds Heather Ridge Second Ward
Utah National Parks 591
450 E 2000 N
Orem, UT 84097


Lds Heather Ridge Seventh Ward
Utah National Parks 591
600 Heather Rd
Orem, UT 84097
Lds Heather Ridge Sixth Ward
Utah National Parks 591
1505 N 145 E.
Orem, UT 84097


Lds Heather Ridge Third Ward
Utah National Parks 591
450 E 2000 N
Orem, UT 84057


Lds Heather Ridge Ward, Aurora S Stake
Denver Area Council 061
740 Hudson St
Denver, Co 80220


Lds Heatheridge Fifth Ward
Utah National Parks 591
450 E 2000 N
Orem, UT 84097


Lds Heatherwilde Ward, Austin Stake
Capitol Area Council 564
700 N Heatherwilde Blvd
Pflugerville, TX 78660


Lds Heber Eighth Ward
Utah National Parks 591
600 Sfield Rd
Heber City, UT 84032


Lds Heber Fifteenth Ward
Utah National Parks 591
573 E 550 S
Heber City, UT 84032


Lds Heber Fifth Ward
Utah National Parks 591
150 N 200 W
Heber City, UT 84032
Lds Heber First Ward
Utah National Parks 591
325 E 500 N
Heber City, UT 84032


Lds Heber Fourteenth Ward
Utah National Parks 591
1205 W 650 S
Heber City, UT 84032


Lds Heber Fourth Ward
Utah National Parks 591
715 E 600 S
Heber City, UT 84032


Lds Heber Ninth Ward
Utah National Parks 591
325 E 500 N
Heber City, UT 84032


Lds Heber Seventh Ward
Utah National Parks 591
650 E 250 S
Heber City, UT 84032


Lds Heber Sixth Ward
Utah National Parks 591
1365 E Center St
Heber City, UT 84032


Lds Heber Third Ward
Utah National Parks 591
240 E 400 S
Heber City, UT 84032


Lds Heber Twelfth Ward
Utah National Parks 591
1205 W 650 S.
Heber City, UT 84032


Lds Hebron Ward Cincinnati Stake
Dan Beard Council, Bsa 438
2965 Hebron Park Dr
Hebron, KY 41048


Lds Hedges Creek Ward Tualatin Stake
Cascade Pacific Council 492
22284 SW Grahams Ferry Rd
Tualatin, OR 97062


Lds Hedgesville Ward, Martinsburg,Wv
Shenandoah Area Council 598
93 Langston Blvd
Martinsburg, WV 25404


Lds Helena 1St Ward, Helena Stake
Montana Council 315
1610 E 6th Ave
Helena, MT 59601


Lds Helena 2Nd Ward, Helena Stake
Montana Council 315
1260 Otter Rd
Helena, MT 59602


Lds Helena 3Rd Ward, Helena Stake
Montana Council 315
1610 E 6th Ave
Helena, MT 59601


Lds Helena 4Th Ward, Helena Stake
Montana Council 315
1260 Otter Rd
Helena, MT 59602


Lds Helena 5Th Ward, Helena Stake
Montana Council 315
3655 Meadowlark Dr
East Helena, MT 59635


Lds Helena 6Th Ward
Montana Council 315
1435 Williamsburg Rd
Helena, MT 59602
Lds Helper Ward
Utah National Parks 591
150 Ridgeway St
Helper, UT 84526


Lds Henderson Ward, Brighton Stake
Denver Area Council 061
12005 E 119th Ave
Henderson, CO 80640


Lds Hendersonville 1St Ward
Asheville, NC Stake
Daniel Boone Council 414
2005 Brevard Rd
Hendersonville, Nc 28791


Lds Henrieville Ward
Utah National Parks 591
P.O. Box 246
Henrieville, UT 84736


Lds Henry S Fork Stake
Henry S Fork Ward
Grand Teton Council 107
3914 Spring Creek Dr
Rexburg, Id 83440


Lds Henry S Fork Stake
Hibbard 1St Ward
Grand Teton Council 107
2000 N 3000 W
Rexburg, Id 83440


Lds Henry S Fork Stake
Hibbard 2Nd Ward
Grand Teton Council 107
2437 W 3000 N
Rexburg, Id 83440


Lds Henry S Fork Stake
Hibbard 3Rd Ward
Grand Teton Council 107
1729 N 3000 W
Rexburg, Id 83440


Lds Henry S Fork Stake
Teton River Ward
Grand Teton Council 107
4711 N 495 W
Rexburg, Id 83440


Lds Henry S Fork Stake ‐ Plano Ward
Grand Teton Council 107
5119 W 5000 N
Rexburg, ID 83440


Lds Henry S Fork Stake ‐ Salem 1St Ward
Grand Teton Council 107
North Salem Rd
Rexburg, ID 83440


Lds Henry S Fork Stake ‐ Salem 2Nd Ward
Grand Teton Council 107
3470 N Salem Rd
Rexburg, ID 83440


Lds Henry S Fork Stake ‐ Salem 3Rd Ward
Grand Teton Council 107
3470 N Salem Rd
Rexburg, ID 83440


Lds Heritage Park
Utah National Parks 591
290 W 1045 N
Cedar City, UT 84721


Lds Heritage Park Branch
Utah National Parks 591
260 E 1060 S
Ivins, UT 84738


Lds Heritage Park Ward
Highlands Ranch Stake
Denver Area Council 061
4195 E Wildcat Reserve Pkwy
Highlands Ranch, Co 80126


Lds Heritage Park Ward
Mound Fort Stake
Trapper Trails 589
250 N 1500 W
Ogden, Ut 84404


Lds Heritage Park Ward Olathe Stake
Heart of America Council 307
15915 W 143rd St
Olathe, KS 66062


Lds Heritage Trail Ward, Austin Stake
Capitol Area Council 564
700 N Heatherwilde Blvd
Pflugerville, TX 78660


Lds Heritage Ward
Utah National Parks 591
4561 N Buckboard St
Eagle Mountain, UT 84005


Lds Heritage Ward ‐ Alliance Stake
Longhorn Council 662
2001 Willis Ln
Keller, TX 76248


Lds Heritage Ward Palmyra
Utah National Parks 591
2371 E 1610 S
Spanish Fork, UT 84660


Lds Heritage Ward Hend Lake Mead Stake
Las Vegas Area Council 328
1234 Racetrack
Henderson, NV 89015


Lds Herndon Ward Oakton Stake
National Capital Area Council 082
1625 Winterwood Pl
Herndon, VA 20170


Lds Hershey Ward Harrisburg Stake
New Birth of Freedom 544
4788 Union Deposit Rd
Harrisburg, PA 17111


Lds Hewitt Ward ‐ Waco Stake
Longhorn Council 662
300 Ritchie Rd
Hewitt, TX 76643


Lds Hickories Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6032 N Five Mile Rd
Boise, ID 83713


Lds Hickory Flat Ward
Atlanta Area Council 092
3459 E Cherokee Dr
Canton, GA 30115


Lds Hickory Flat Ward/Marietta Est Sta
Atlanta Area Council 092
3459 E Cherokee Dr
Canton, GA 30115


Lds Hickory Hills Ward Lenexa Stake
Heart of America Council 307
7100 Hadley St
Shawnee Mission, KS 66204


Lds Hidden Canyon Ward
Utah National Parks 591
2858 E Lookout Dr
Eagle Mountain, UT 84005


Lds Hidden Canyon Ward N Las Vegas Stake
Las Vegas Area Council 328
1991 W Washburn Rd
North Las Vegas, Nv 89031
Lds Hidden Hills Ward
Morgan North Stake
Trapper Trails 589
4150 W Old Hwy Rd
Mountain Green, Ut 84050


Lds Hidden Hollow Ward
Layton North Stake
Trapper Trails 589
1954 E Antelope Dr
Layton, Ut 84040


Lds Hidden Lake Ward Manteca Stake
Greater Yosemite Council 059
27150 Wilkinson Way
Tracy, CA 95377


Lds Hidden Lake Ward, Westminster Stake
Denver Area Council 061
1951 Elmwood Ln
Denver, CO 80221


Lds Hidden Meadows Ward
Pleasant View South Stake
Trapper Trails 589
480 W 2000 N
Pleasant View, Ut 84414


Lds Hidden Springs Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
12720 N Humphreys Way
Boise, ID 83714


Lds Hidden Valley Ward
Kaysville South Stake
Trapper Trails 589
900 S Main St
Kaysville, Ut 84037


Lds Hidden Valley Ward
Utah National Parks 591
675 E Desert Hills Dr
St George, UT 84790


Lds High Desert Ward ‐ Bend Stake
Crater Lake Council 491
60800 Tekampe Rd
Bend, OR 97702


Lds High Desert Ward Abq Stake
Great Swest Council 412
11750 San Victorio Ave Ne
Albuquerque, NM 87111


Lds High Forest Ward‐North Stake
Pikes Peak Council 060
950 Co‐ 105
Monument, CO 80132


Lds High Range Ward Rr Stake
Great Swest Council 412
300 Loma Colorado Blvd Ne
Rio Rancho, NM 87124


Lds Highland Eighteenth Ward
Utah National Parks 591
5213 W 11000 N
Highland, UT 84003


Lds Highland Eighth Ward
Utah National Parks 591
10390 Alpine Hwy
Highland, UT 84003


Lds Highland Eleventh Ward
Utah National Parks 591
4669 W Vista Dr
Highland, UT 84003


Lds Highland Fifteenth Ward
Utah National Parks 591
5212 W Country Club Dr
Highland, UT 84003
Lds Highland Fifth Ward
Utah National Parks 591
5825 W 10400 N
Highland, UT 84003


Lds Highland First Ward
Utah National Parks 591
6095 W 9600 N
Highland, UT 84003


Lds Highland Fortieth Ward
Utah National Parks 591
10472 N 6570 W
Highland, UT 84003


Lds Highland Forty First Ward
Utah National Parks 591
12111 N Royal Troon Rd
Highland, UT 84003


Lds Highland Fourteenth Ward
Utah National Parks 591
6050 W Chapel Dr
Highland, UT 84003


Lds Highland Fourth Ward
Utah National Parks 591
5848 W 11000 N
Highland, UT 84003


Lds Highland Heights Ward
Cincinnati Stake
Dan Beard Council, Bsa 438
144 Buttermilk Pike
Lakeside Park, Ky 41017


Lds Highland Hills Ward
Mccullough Hills Stake
Las Vegas Area Council 328
801 Arrowhead Trl
Henderson, Nv 89002
Lds Highland Hills Ward
Utah National Parks 591
1130 E Brigham Rd
St. George, UT 84790


Lds Highland Manor Ward
Bakersfield Stake
Southern Sierra Council 030
2828 Mccray St
Bakersfield, Ca 93308


Lds Highland Nineteenth Ward
Utah National Parks 591
6276 W 10150 N
Highland, UT 84003


Lds Highland Ninth Ward
Utah National Parks 591
5335 W 11200 N
Highland, UT 84003


Lds Highland Second Ward
Utah National Parks 591
4720 W Chapel
Highland, UT 84003


Lds Highland Seventeenth Ward
Utah National Parks 591
5335 W 11200 N
Highland, UT 84003


Lds Highland Seventh Ward
Utah National Parks 591
5212 W Country Club Dr
Highland, UT 84003


Lds Highland Sixteenth Ward
Utah National Parks 591
10962 N 6400 W
Highland, UT 84003
Lds Highland Sixth Ward
Utah National Parks 591
6050 W Chapel Way
Highland, UT 84003


Lds Highland Stake ‐ 11Th Ward
Grand Teton Council 107
2000 S Fairway Dr
Pocatello, ID 83201


Lds Highland Stake ‐ 12Th Ward
Grand Teton Council 107
2140 Satterfield Dr
Pocatello, ID 83201


Lds Highland Stake ‐ 1St Ward
Grand Teton Council 107
2140 Satterfield Dr
Pocatello, ID 83201


Lds Highland Stake ‐ 2Nd Ward
Grand Teton Council 107
2925 Michelle St
Pocatello, ID 83201


Lds Highland Stake ‐ 3Rd Ward
Grand Teton Council 107
2300 Butte St
Pocatello, ID 83201


Lds Highland Stake ‐ 4Th Ward
Grand Teton Council 107
2300 Butte St
Pocatello, ID 83201


Lds Highland Stake ‐ 5Th Ward
Grand Teton Council 107
2300 Butte St
Pocatello, ID 83201


Lds Highland Stake ‐ 6Th Ward
Grand Teton Council 107
2925 Michelle St
Pocatello, ID 83201


Lds Highland Stake ‐ 7Th Ward
Grand Teton Council 107
2000 S Fairway Dr
Pocatello, ID 83201


Lds Highland Stake ‐ 8Th Ward
Grand Teton Council 107
2000 S Fairway
Pocatello, ID 83201


Lds Highland Stake ‐ 9Th Ward
Grand Teton Council 107
2140 Satterfield Dr
Pocatello, ID 83201


Lds Highland Stake‐ 10Th Ward
Grand Teton Council 107
2925 Michelle St
Pocatello, ID 83201


Lds Highland Station Ward
Fort Worth North Stake
Longhorn Council 662
850 Cannon Dr
Hurst, Tx 76054


Lds Highland Tenth Ward
Utah National Parks 591
11000 N 6400 W
Highland, UT 84003


Lds Highland Third Ward
Utah National Parks 591
5335 W 11200 N
Highland, UT 84003


Lds Highland Thirteenth Ward
Utah National Parks 591
10688 N 5720 W
Highland, UT 84003


Lds Highland Thirtieth Ward
Utah National Parks 591
6800 W 9600 N
Highland, UT 84003


Lds Highland Thirty Eighth Ward
Utah National Parks 591
10645 N 5370 W
Highland, UT 84003


Lds Highland Thirty Fifth Ward
Utah National Parks 591
11837 N Wfield Cove Dr
Highland, UT 84003


Lds Highland Thirty First Ward
Utah National Parks 591
11190 N Alpine Hwy
Highland, UT 84003


Lds Highland Thirty Fourth Ward
Utah National Parks 591
11065 N 6000 W
Highland, UT 84003


Lds Highland Thirty Ninth Ward
Utah National Parks 591
12489 N Wildflower Ln
Highland, UT 84003


Lds Highland Thirty Second Ward
Utah National Parks 591
6237 W Apollo Way
Highland, UT 84003


Lds Highland Thirty Seventh Ward
Utah National Parks 591
6749 W 10125 N
Highland, UT 84003
Lds Highland Thirty Sixth Ward
Utah National Parks 591
11487 N Sunset Hills Dr
Highland, UT 84003


Lds Highland Thirty Third Ward
Utah National Parks 591
9600 N 6800 W
Highland, UT 84003


Lds Highland Twelfth Ward
Utah National Parks 591
9671 N 5650 W
Highland, UT 84003


Lds Highland Twentieth Ward
Utah National Parks 591
6109 Ridge Rd
Highland, UT 84003


Lds Highland Twenty Eighth
Utah National Parks 591
5853 W 10400 N
Highland, UT 84003


Lds Highland Twenty Fifth Ward
Utah National Parks 591
10609 N 5400 W
Highland, UT 84003


Lds Highland Twenty First Ward
Utah National Parks 591
6624 W 9680 N
Highland, UT 84003


Lds Highland Twenty Fourth Ward
Utah National Parks 591
5222 W Country Club Dr
Highland, UT 84003
Lds Highland Twenty Ninth Ward
Utah National Parks 591
10400 N 6750 W
Highland, UT 84003


Lds Highland Twenty Second Ward
Utah National Parks 591
9621 N 6050 W
Highland, UT 84003


Lds Highland Twenty Seventh Ward
Alpine
Utah National Parks 591
6411 W 11800 N
Highland, Ut 84003


Lds Highland Twenty Sixth Ward
Utah National Parks 591
9681 N 6900 W
Highland, UT 84003


Lds Highland Twenty Third Ward
Utah National Parks 591
6400 W 11000 N
Highland, UT 84003


Lds Highland Village 1St Ward
Lewisville Stake
Longhorn Council 662
5200 Balmoral Ln
Flower Mound, Tx 75028


Lds Highland Ward ‐ Sparks West Stake
Nevada Area Council 329
4920 Pradera St
Sparks, NV 89436


Lds Highlands First Ward
Utah National Parks 591
3527 E Braxton
Eagle Mountain, UT 84005
Lds Highlands Ranch Ward
Highlands Ranch Stake
Denver Area Council 061
9840 Eliza Ct
Highlands Ranch, Co 80126


Lds Highlands Second Ward
Utah National Parks 591
3734 E Barton Creek Dr
Eagle Mountain, UT 84005


Lds Highlands Third Ward
Utah National Parks 591
9086 N Clubhouse Ln
Eagle Mountain, UT 84005


Lds Highlands Ward
Redwood Empire Council 041
14970 Lakeview Way
Clearlake, CA 95422


Lds Highlands Ward ‐ Columbia Stake
Great Rivers Council 653
4708 Highlands Pkwy
Columbia, MO 65203


Lds Highlands Ward Bellevue Stake
Chief Seattle Council 609
15205 SE 28th St
Bellevue, WA 98007


Lds Highlands Ward Kennewick East Stake
Blue Mountain Council 604
515 S Union St
Kennewick, WA 99336


Lds Highlands Ward Renton Stake
Chief Seattle Council 609
816 Field Ave Ne
Renton, WA 98059


Lds Highline Branch Seattle Stake
Chief Seattle Council 609
14020 Ambaum Blvd Sw
Burien, WA 98166


Lds Highline Ward
Utah National Parks 591
1325 S 100 E
Payson, UT 84651


Lds Highline Ward Salem
Utah National Parks 591
1129 S 250 W
Salem, UT 84653


Lds Highline Ward, Aurora Stake
Denver Area Council 061
19877 E Green Valley Ranch Blvd
Denver, CO 80249


Lds Highpoint Ward, Aurora Stake
Denver Area Council 061
5071 Netherland St
Denver, CO 80249


Lds Hiko Ward
Utah National Parks 591
P.O. Box 311
Alamo, NV 89001


Lds Hill Country Ward Oak Hills Stake
Capitol Area Council 564
5201 Convict Hill Rd
Austin, TX 78749


Lds Hill Park Ward Indep Stake
Heart of America Council 307
705 W Walnut St
Independence, MO 64050


Lds Hillcrest 1St Ward
Logan East Stake
Trapper Trails 589
1450 E 1500 N
Logan E Stake
Logan, Ut 84341


Lds Hillcrest 2Nd Ward
Logan East Stake
Trapper Trails 589
875 N 1500 E
Logan, Ut 84321


Lds Hillcrest Second Ward
Utah National Parks 591
1478 S 680 E
Orem, UT 84097


Lds Hillcrest Ward Cedar City
Utah National Parks 591
1913 W 650 S
Cedar City, UT 84720


Lds Hillcrest Ward Yuba City Stake
Golden Empire Council 047
520 Clark Ave
Yuba City, CA 95991


Lds Hillpointe Ward
Desert Foothill Stake
Las Vegas Area Council 328
2033 Spring Rose St
Las Vegas, Nv 89134


Lds Hillsboro Branch ‐ Waco Stake
Longhorn Council 662
1024 Old Bynum Rd
Hillsboro, TX 76645


Lds Hillsboro Ward Hillsboro Stake
Cascade Pacific Council 492
5580 SW Golden Rd
Hillsboro, OR 97213


Lds Hillsdale Ward
South San Jose Stake
Silicon Valley Monterey Bay 055
1655 Noreen Dr
San Jose, Ca 95124


Lds Hillside Ward
Utah National Parks 591
358 International Way
Alpine, UT 84004


Lds Hilltop Ward Billings East Stake
Montana Council 315
1640 Broadmoor Dr
Billings, MT 59105


Lds Hiltonhead Ward Savannah Stake
Coastal Carolina Council 550
2800 Meeting St
Hilton Head Island, SC 29926


Lds Hinckley
Utah National Parks 591
P.O. Box 6
Hinckley, UT 84635


Lds Hingham Ward Hingham Stake
Mayflower Council 251
379 Gardner St
Hingham, MA 02043


Lds Hiram Ward Kirtland Stake
Lake Erie Council 440
6208 Pioneer Trl
Hiram, OH 44234


Lds Hiram Ward Powder Springs Stake
Atlanta Area Council 092
2595 New Macland Rd
Powder Springs, GA 30127


Lds Hmong Branch Gridley Stake
Golden Empire Council 047
167 Table Mountain Blvd
Oroville, CA 95965


Lds Hmong Branch Sacramento Stake
Golden Empire Council 047
2905 11th Ave
Sacramento, CA 95817


Lds Hobble Creek Eighth Ward
Utah National Parks 591
949 S 2500 E
Springville, UT 84663


Lds Hobble Creek Eleventh Ward
Utah National Parks 591
2379 E River Bottom Rd
Springville, UT 84663


Lds Hobble Creek Fifteenth Ward
Utah National Parks 591
2448 Deer Creek Way
Springville, UT 84663


Lds Hobble Creek Fifth Ward
Utah National Parks 591
1440 E 900 S
Springville, UT 84663


Lds Hobble Creek First Ward
Utah National Parks 591
555 S 600 E
Springville, UT 84663


Lds Hobble Creek Fourteenth Ward
Utah National Parks 591
1827 River Bottom Rd
Springville, UT 84663


Lds Hobble Creek Fourth Ward
Utah National Parks 591
1440 E 900 S
Springville, UT 84663
Lds Hobble Creek Ninth Ward
Utah National Parks 591
1965 Canyon Rd
Springville, UT 84663


Lds Hobble Creek Second Ward
Utah National Parks 591
1440 E 900 S
Springville, UT 84663


Lds Hobble Creek Seventh Ward
Utah National Parks 591
1965 Canyon Rd
Springville, UT 84663


Lds Hobble Creek Sixteenth Ward
Utah National Parks 591
734 S 1800 E
Springville, UT 84663


Lds Hobble Creek Sixth Ward
Utah National Parks 591
1095 S 1700 E.
Springville, UT 84663


Lds Hobble Creek Tenth Ward
Utah National Parks 591
450 S Canyonrd
Springville, UT 84663


Lds Hobble Creek Third Ward
Utah National Parks 591
555 S 600 E Averett Ave
Springville, UT 84663


Lds Hobble Creek Twelfth Ward
Utah National Parks 591
1440 E 900 S
Springville, UT 84663
Lds Hobble Creek Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
13233 W Buttercup Ct
Boise, ID 83713


Lds Hobbs Ward ‐ Lubbock Tx Stake
Conquistador Council Bsa 413
3720 N Grimes St
Hobbs, NM 88240


Lds Hockinson Ward Vancouver North Stake
Cascade Pacific Council 492
7101 NE 166th Ave
Vancouver, WA 98682


Lds Holbrook Farms Ward
Utah National Parks 591
2553 N 3550 W
Lehi, UT 84043


Lds Holden Ward
Utah National Parks 591
P.O. Box 360111
Holden, UT 84636


Lds Holland Ward ‐ Gr Stake
President Gerald R Ford 781
1340 E 8th St
Holland, MI 49423


Lds Hollister 1St Ward
Morgan Hill Stake
Silicon Valley Monterey Bay 055
1670 Cienega Rd
Hollister, Ca 95023


Lds Hollister 2Nd Ward
Morgan Hill Stake
Silicon Valley Monterey Bay 055
1670 Cienega Rd
Hollister, Ca 95023
Lds Hollywood Hill Ward Bothell Stake
Chief Seattle Council 609
17245 NE 144th St
Redmond, WA 98052


Lds Holmes Creek Ward
Gulf Coast Council 773
P.O. Box 583
Bonifay, FL 32425


Lds Holmes Creek Ward
Kaysville West Stake
Trapper Trails 589
1035 S Angel St
Kaysville, Ut 84037


Lds Holt Ward ‐ Lansing Stake
Water and Woods Council 782
5301 Holt Rd
Holt, MI 48842


Lds Homedale 1St Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
16 E Colorado
Homedale, ID 83628


Lds Homedale 2Nd Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
708 W Idaho
Homedale, ID 83628


Lds Homestead First Ward
Utah National Parks 591
1390 E Midvalley Rd
Cedar City, UT 84721


Lds Homestead Second Ward
Utah National Parks 591
1350 E Midvalley Rd
Cedar City, UT 84721


Lds Homestead Ward
Syracuse Bluff Stake
Trapper Trails 589
2339 W 1900 S
Syracuse, Ut 84075


Lds Homestead Ward
Utah National Parks 591
1060 S Center St
Midway, UT 84049


Lds Homestead Ward Blue Diamond Stake
Las Vegas Area Council 328
P.O. Box 5143
Pahrump, NV 89041


Lds Hondo Pass Ward El Paso Chamizal Stk
Yucca Council 573
5510 Hondo Pass Dr
El Paso, TX 79924


Lds Honey Creek Ward/Bloomington Stake
Crossroads of America 160
1845 N 6th 1/2 St
Terre Haute, IN 47804


Lds Honeysuckle Ward
Utah National Parks 591
126 W Honeysuckle Dr
Saratoga Springs, UT 84045


Lds Honeyville 1St Ward
Brigham City North Stake
Trapper Trails 589
2620 W 6980 N
Honeyville, Ut 84314


Lds Honeyville 2Nd Ward
Brigham North Stake
Trapper Trails 589
2620 W 6980 N
Honeyville, Ut 84314
Lds Honeyville 3Rd Ward
Brigham City North Stake
Trapper Trails 589
2620 W 6980 N
Honeyville, Ut 84314


Lds Hood River Ward The Dalles Stake
Cascade Pacific Council 492
18th and May St
Hood River, OR 97031


Lds Hoolehua Ward, Kahului Hi Stake
Aloha Council, Bsa 104
P.O. Box 197
Hoolehua, HI 96729


Lds Hooper Landings Ward
Pioneer Trail Stake
Trapper Trails 589
4979 S 5100 W
Hooper, Ut 84315


Lds Hoover Ward, Bessemer Stake
Greater Alabama Council 001
2720 Cahaba Valley Rd
Pelham, AL 35124


Lds Hopkinsville
Lincoln Heritage Council 205
1118 Pin Oak Dr
Hopkinsville, KY 42240


Lds Horizon Ridge Ward Black Mtn Stake
Las Vegas Area Council 328
1500 Amador Lane
Henderson, Nv 89012


Lds Hot Springs Ward ‐ Carson City Stake
Nevada Area Council 329
411 N Saliman Rd
Carson City, NV 89701
Lds Houston 10Th Ward
Houston West Sp Stake
Sam Houston Area Council 576
2207 Bauer Dr, Unit D
Houston, Tx 77080


Lds Houston 3Rd Ward
Houston North Stake
Sam Houston Area Council 576
65 Melbourne St
Houston, Tx 77022


Lds Houston 6Th Ward
Houston North Stake
Sam Houston Area Council 576
16331 Hafer Rd
Houston, Tx 77090


Lds Houston 7Th Ward
Summerwood Stake
Sam Houston Area Council 576
14404 Kemrock Dr
Houston, Tx 77049


Lds Howell Ward ‐ Ann Arbor Stake
Southern Shores Fsc 783
1041 W Grand River Ave
Howell, MI 48843


Lds Huckleberry Ward
Syracuse Bluff Stake
Trapper Trails 589
1285 S 2500 W
Syracuse, Ut 84075


Lds Hudson Oaks Ward ‐ Weatherford Stake
Longhorn Council 662
2251 Bethel Rd
Weatherford, TX 76087


Lds Hughson Ward Turlock Stake
Greater Yosemite Council 059
1930 7th St
Hughson, CA 95326


Lds Hughson Ward Turlock Stake
Greater Yosemite Council 059
4300 Geer Rd
Turlock, CA 95382


Lds Humphrey
Far E Council 803, Unit 15711 Box 1009
Apo Ap, 96271


Lds Hunstville 1St Ward
College Station Stake
Sam Houston Area Council 576
1803 19Th St
Huntsville, Tx 77340


Lds Hunter Lake Ward ‐ Reno Stake
Nevada Area Council 329
1095 Golconda Dr
Reno, NV 89509


Lds Hunters Creek Hunters Creek
Central Florida Council 083
1900 N John Young Pkwy
Kissimmee, FL 34741


Lds Huntington Cove Ward
Blue Diamond Stake
Las Vegas Area Council 328
9485 S Simarron Rd
Las Vegas, Nv 89178


Lds Huntington First Ward
Utah National Parks 591
P.O. Box 459
115 S 400 E
Huntington, UT 84528


Lds Huntington Second Ward
Utah National Parks 591
P.O. Box 1344
247 E Center St
Huntington, UT 84528


Lds Huntington Third Ward
Utah National Parks 591
P.O. Box 553
Huntington, UT 84528


Lds Huntington Ward 164 Pasadena Stake
Greater Los Angeles Area 033
770 Sierra Madre Villa Ave
Pasadena Stake
Pasadena, CA 91107


Lds Huntington Ward, Fort Wayne Stake
Anthony Wayne Area 157
State Rd 9   US 24 Sw
Huntington, IN 46750


Lds Huntsville 1St Ward
Huntsville Stake
Trapper Trails 589
277 S 7400 E
Huntsville, Ut 84317


Lds Huntsville 2Nd Ward
Huntsville Stake
Trapper Trails 589
277 S 7400 E
Huntsville, Ut 84317


Lds Hurley Ward Sac East Stake
Golden Empire Council 047
2740 Hurley Way
Sacramento, CA 95864


Lds Hurricane Eighth Ward
Utah National Parks 591
155 E 1050 N
Hurricane, UT 84737


Lds Hurricane Eleventh Ward
Utah National Parks 591
450 N 2600 W
Hurricane, UT 84737


Lds Hurricane Fifteenth Ward
Utah National Parks 591
1178 S 700 W
Hurricane, UT 84737


Lds Hurricane Fifth Ward
Utah National Parks 591
619 S 80 W
Hurricane, UT 84737


Lds Hurricane First Ward
Utah National Parks 591
272 S 700 W
Hurricane, UT 84737


Lds Hurricane Fourteenth Ward
Utah National Parks 591
272 S 700 W
Hurricane, UT 84737


Lds Hurricane Fourth Ward
Utah National Parks 591
658 W 1500 S
Hurricane, UT 84737


Lds Hurricane Nineteenth Ward
Utah National Parks 591
280 W 1440 S
Hurricane, UT 84737


Lds Hurricane Ninth Ward
Utah National Parks 591
274 S 100 W
Hurricane, UT 84737


Lds Hurricane Second Ward
Utah National Parks 591
155 E 1050 N
Hurricane, UT 84737


Lds Hurricane Seventeenth Ward
Utah National Parks 591
270 S 700 W
Hurricane, UT 84737


Lds Hurricane Seventh Ward
Utah National Parks 591
782 N 120 E
Hurricane, UT 84737


Lds Hurricane Sixteenth Ward
Utah National Parks 591
677 S 700 W
Hurricane, UT 84737


Lds Hurricane Sixth Ward
Utah National Parks 591
677 S 700 W
Hurricane, UT 84737


Lds Hurricane Tenth Ward
Utah National Parks 591
1178 S 700 W
Hurricane, UT 84737


Lds Hurricane Third Ward
Utah National Parks 591
677 S 700 W
Hurricane, UT 84737


Lds Hurricane Thirteenth Ward
Utah National Parks 591
320 N 3400 W.
Hurricane, UT 84737


Lds Hurricane Twelveth Ward
Utah National Parks 591
270 S 700 W
Hurricane, UT 84737
Lds Hurricane Twentieth Ward
Utah National Parks 591
3290 W Bonita
Hurricane, UT 84737


Lds Hurricane Twenty Second
Utah National Parks 591
320 N 3400 W
Hurricane, UT 84737


Lds Hurricane Twenty‐Fifth Ward
Utah National Parks 591
3449 W 250 N
Washington, UT 84780


Lds Hurricane Twentyfirst Ward
Utah National Parks 591
320 N 3400 W
Hurricane, UT 84737


Lds Hurricane Twenty‐Fourth Ward
Utah National Parks 591
490 W 100 N
Hurricane, UT 84737


Lds Hurricane Twenty‐Third Ward
Utah National Parks 591
3834 W 2700 S
Hurricane, UT 84737


Lds Hurst 1St Ward ‐ Hurst Stake
Longhorn Council 662
4401 E Loop 820 N
North Richland Hills, TX 76180


Lds‐ Hyde Park 10Th Ward/Hyde Park Stake
Trapper Trails 589
42 W 200 S
Hyde Park, UT 84318


Lds Hyde Park 11Th Ward
Hyde Park Stake
Trapper Trails 589
480 N 100 W
Hyde Park, Ut 84318


Lds Idaho City Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
Hwy 21
Idaho City, ID 83631


Lds Idaho Falls Stake ‐ 14Th Ward
Grand Teton Council 107
651 Gladstone St
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ 21St Ward
Grand Teton Council 107
1155 1st St
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ 24Th Ward
Grand Teton Council 107
1155 1st St
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ 9Th Ward
Grand Teton Council 107
395 2nd St
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ If 2Nd Ward
Grand Teton Council 107
885 S Blvd
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ If 32Nd Ward
Grand Teton Council 107
651 Gladstone St
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ Parkwood Ward
Grand Teton Council 107
395 2nd St
Idaho Falls, ID 83401


Lds Idaho Falls Stake ‐ Sandcreek Ward
Grand Teton Council 107
2096 Meadow St
Idaho Falls, ID 83401


Lds If Central Stake ‐ 26Th Ward
Grand Teton Council 107
2025 Jennie Lee Dr
Idaho Falls, ID 83404


Lds If Central Stake ‐ 28Th Ward
Grand Teton Council 107
1165 Azalea Dr
Idaho Falls, ID 83404


Lds If Central Stake ‐ 31St Ward
Grand Teton Council 107
2380 Richards Ave
Idaho Falls, ID 83404


Lds If Central Stake ‐ Boulevard Ward
Grand Teton Council 107
1235 Juniper Dr
Idaho Falls, ID 83401


Lds If Central Stake ‐ If 11Th Ward
Grand Teton Council 107
1232 Juniper Dr
Idaho Falls, ID 83404


Lds If Central Stake ‐ Rosepark Ward
Grand Teton Council 107
1165 Azalea Dr
Idaho Falls, ID 83404


Lds If Eagle Rock Stake
Village Park Ward
Grand Teton Council 107
1345 Clarence Dr
Idaho Falls, Id 83402


Lds If Eagle Rock Stake ‐ 39Th Ward
Grand Teton Council 107
5055 W Canyon Creek Rd
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Millrun Ward
Grand Teton Council 107
1165 Periska Way
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Old Butte Ward
Grand Teton Council 107
3025 Simon St
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Osgood Ward
Grand Teton Council 107
7940 N 35 W
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Pioneer Ward
Grand Teton Council 107
2020 S Charlotte Dr
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Rosewood Ward
Grand Teton Council 107
7940 N 35th W
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Sageview Ward
Grand Teton Council 107
1345 Clarence Dr
Idaho Falls, ID 83402


Lds If Eagle Rock Stake ‐ Westview Ward
Grand Teton Council 107
2020 S Charlotte Dr
Idaho Falls, ID 83402
Lds If East Stake ‐ Caribou Ward
Grand Teton Council 107
1860 Kearney St
Idaho Falls, ID 83401


Lds If East Stake ‐ Coltman Ward
Grand Teton Council 107
Lewisville Hwy
Idaho Falls, ID 83401


Lds If East Stake ‐ Fairview Ward
Grand Teton Council 107
Lewisville Hwy
Idaho Falls, ID 83401


Lds If East Stake ‐ Kearney 2Nd Ward
Grand Teton Council 107
1860 Kearney St
Idaho Falls, ID 83401


Lds If East Stake ‐ Kearney Ward
Grand Teton Council 107
1860 Kearney St
Idaho Falls, ID 83401


Lds If East Stake ‐ Orvin Ward
Grand Teton Council 107
6925 N 15th E
Idaho Falls, ID 83401


Lds If East Stake ‐ Parri Ward
Grand Teton Council 107
6738 N Derek Ln
Idaho Falls, ID 83401


Lds If East Stake ‐ Summit Hills Ward
Grand Teton Council 107
6925 N 15th E
Idaho Falls, ID 83401


Lds If North Stake ‐ 13Th Ward
Grand Teton Council 107
955 Memorial Dr
Idaho Falls, ID 83402


Lds If North Stake ‐ 19Th Ward
Grand Teton Council 107
3370 N 500 W.
Idaho Falls, ID 83401


Lds If North Stake ‐ Highland Park Ward
Grand Teton Council 107
955 Memorial Dr
Idaho Falls, ID 83402


Lds If North Stake ‐ Riverside Ward
Grand Teton Council 107
955 Memorial Dr
Idaho Falls, ID 83402


Lds If North Stake ‐ Sage Creek Ward
Grand Teton Council 107
3370 N 500 W
Idaho Falls, ID 83401


Lds If North Stake ‐ Sage Lake Ward
Grand Teton Council 107
134 W 33rd N
Idaho Falls, ID 83401


Lds If North Stake ‐ Willowbrook Ward
Grand Teton Council 107
1200 Dunbar Dr
Idaho Falls, ID 83402


Lds If South Stake
If 17Th Spanish Ward
Grand Teton Council 107
2051 S Emerson
Idaho Falls, Id 83404


Lds If South Stake
Shadow Mountain Ward
Grand Teton Council 107
3721 Shadow Mountain Trl
Idaho Falls, Id 83404


Lds If South Stake ‐ Cedar Ridge Ward
Grand Teton Council 107
3195 So Holmes
Idaho Falls, ID 83404


Lds If South Stake ‐ Home Ranch Ward
Grand Teton Council 107
2051 S Emerson
Idaho Falls, ID 83404


Lds If South Stake ‐ Parkview Ward
Grand Teton Council 107
2051 S Emerson Ave
Idaho Falls, ID 83404


Lds If South Stake ‐ Shamrock Park Ward
Grand Teton Council 107
3195 S Holmes Ave
Idaho Falls, ID 83404


Lds If South Stake ‐ Summerfield Ward
Grand Teton Council 107
3721 Shadow Mountain Trl
Idaho Falls, ID 83404


Lds If South Stake ‐ Sunnyside 1St Ward
Grand Teton Council 107
3721 Shadow Mountain Trl
Idaho Falls, ID 83404


Lds If Taylor Mountain Stake
Sunterra Ward
Grand Teton Council 107
260 Castle Rock Lane
Idaho Falls, Id 83404


Lds If Taylor Mountain Stake
Victorian Village Ward
Grand Teton Council 107
186 Haven Ln
Idaho Falls, Id 83404


Lds If Taylor Mtn Stake
Bristol Heights Ward
Grand Teton Council 107
247 Georgetown Ct
Todd Harris
Idaho Falls, Id 83404


Lds If Taylor Mtn Stake
Castlerock Ward
Grand Teton Council 107
260 Castlerock Ln
Idaho Falls, Id 83404


Lds If Taylor Mtn Stake
Park Taylor Ward
Grand Teton Council 107
791 W 65Th S
Idaho Falls, Id 83402


Lds If Taylor Mtn Stake
South Point Ward
Grand Teton Council 107
1291 W 6500 S
Idaho Falls, Id 83402


Lds If Taylor Mtn Stake
Taylorview Ward
Grand Teton Council 107
1291 W 65Th S
Idaho Falls, Id 83404


Lds If Taylor Mtn Stake ‐ Waterford Ward
Grand Teton Council 107
5255 S 5th W
Idaho Falls, ID 83404


Lds If Taylor Mtn Stake ‐ Yorkside Ward
Grand Teton Council 107
260 Castlerock Lane
Idaho Falls, ID 83404


Lds If West Stake ‐ Brentwood Ward
Grand Teton Council 107
2040 Brentwood Dr
Idaho Falls, ID 83402


Lds If West Stake ‐ Fox Hollow Ward
Grand Teton Council 107
2345 W 17th S
Idaho Falls, ID 83402


Lds If West Stake ‐ Grandview Ward
Grand Teton Council 107
1450 Mountain View Ln
Idaho Falls, ID 83402


Lds If West Stake ‐ Mountain View Ward
Grand Teton Council 107
2040 Brentwood Dr
Idaho Falls, ID 83402


Lds If West Stake ‐ Skyline Ward
Grand Teton Council 107
2345 W 17th S
Idaho Falls, ID 83402


Lds If West Stake ‐ Taylor Crossing Ward
Grand Teton Council 107
2040 Brentwood Dr
Idaho Falls, ID 83402


Lds If West Stake ‐ Templeview Ward
Grand Teton Council 107
1450 Mountain View Ln
Idaho Falls, ID 83402


Lds If West Stake ‐ Westhill Ward
Grand Teton Council 107
2040 Brentwood Dr
Idaho Falls, ID 83402
Lds Immokalee Ward Fort Myers Stake
Southwest Florida Council 088
1335 N 15th St
Immokalee, FL 34142


Lds Indian Creek Ward Lenexa Stake
Heart of America Council 307
21515 W 101st St
Lenexa, KS 66220


Lds Indian Hills Ward
Utah National Parks 591
530 W Greenslake Dr
1120 W Greenslake Dr
Cedar City, UT 84720


Lds Indian Lakes Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
3555 N Cole Rd
Boise, ID 83704


Lds Indian School Ward Abq East Stake
Great Swest Council 412
P.O. Box 51751
Albuquerque, NM 87181


Lds Indian Spgs Ward Hill Country Stake
Alamo Area Council 583
25606 Wentink Ave
San Antonio, Tx 78261


Lds Indianola Ward
Utah National Parks 591
27165 N 10730 E
11500 E 29650 N Milburn Rd
Fairview, UT 84629


Lds Indigo Ranch Ward‐High Plains Stake
Pikes Peak Council 060
5485 Hopalong Trl
Colorado Springs, CO 80922
Lds Indy N Stk 2Nd Ward
Crossroads of America 160
11220 E 30th St
Indianapolis, IN 46229


Lds Indy N Stk Beech Grove
Crossroads of America 160
940 Wallace Ave
Indianapolis, IN 46201


Lds Indy N Stk Carmel
Crossroads of America 160
11257 Temple Dr
Carmel, IN 46032


Lds Indy N Stk Crossroads
Crossroads of America 160
940 Wallace Ave
Indianapolis, IN 46201


Lds Indy N Stk Fishers
Crossroads of America 160
777 Sunblest Blvd
Fishers, IN 46038


Lds Indy N Stk Fishers 2Nd Ward
Crossroads of America 160
777 Sunblest Blvd
Fishers, IN 46038


Lds Indy N Stk Keystone Ward
Crossroads of America 160
5200 Sue Dr
Carmel, IN 46033


Lds Indy N Stk Noblesville
Crossroads of America 160
777 Sunblest Blvd
Fishers, IN 46038


Lds Indy N Stk Westfield
Crossroads of America 160
11565 Temple Dr
Carmel, IN 46032


Lds Indy N Stk Zionsville
Crossroads of America 160
10710 Shelbourne Rd
Carmel, IN 46032


Lds Indy Stk 1St Ward
Crossroads of America 160
900 E Stop 11 Rd
Indianapolis, IN 46227


Lds Indy Stk Franklin
Crossroads of America 160
201 Eview Dr
Franklin, IN 46131


Lds Indy Stk Greenwood
Crossroads of America 160
900 E Stop 11 Rd
Indianapolis, IN 46227


Lds Indy Stk Greenwood 2Nd
Crossroads of America 160
201 N Eview Dr
Franklin, IN 46131


Lds Indy Stk Shelbyville
Crossroads of America 160
114 W Rampart St
Shelbyville, IN 46176


Lds Indy W Stk 3Rd Ward
Crossroads of America 160
900 E Stop 11 Rd
Indianapolis, IN 46227


Lds Indy W Stk Avon
Crossroads of America 160
2125 Reeves Rd
Plainfield, IN 46168


Lds Indy W Stk Avon 2Nd Ward
Crossroads of America 160
1247 N County Rd 900 E
Avon, IN 46123


Lds Indy W Stk Brownsburg
Crossroads of America 160
9710 W 56th St
Indianapolis, IN 46234


Lds Indy W Stk Eagle Creek
Crossroads of America 160
10710 Shelborne Rd
Carmel, IN 46032


Lds Indy W Stk Greencastle
Crossroads of America 160
280 E Cr 300 S
Greencastle, IN 46135


Lds Indy W Stk Mooresville
Crossroads of America 160
2125 Reeves Rd
Plainfield, IN 46168


Lds Indy W Stk Plainfield
Crossroads of America 160
2125 Reeves Rd
Plainfield, IN 46168


Lds Indy W Stk White River 2Nd
Crossroads of America 160
110 N White River Pkwy W Dr
Indianapolis, IN 46222


Lds Inglemoor Ward Bothell Stake
Chief Seattle Council 609
16500 124th Ave Ne
Woodinville, WA 98072
Lds Inglewood 1St Ward
285 Inglewood Stake
Greater Los Angeles Area 033
400 Centinela Ave
Inglewood, Ca 90302


Lds Inglewood 2Nd Ward
483 Inglewood Stake
Greater Los Angeles Area 033
400 Centinela Ave
Inglewood, Ca 90302


Lds Inglewood Stake
Greater Los Angeles Area 033
7517 Arizona Ave
Los Angeles, CA 90045


Lds Ingram Mill Ward
Springfield Stake
Ozark Trails Council 306
1357 S Ingram Mill Rd
Springfield, Mo 65804


Lds Inspirada Ward Anthem Hills Stake
Las Vegas Area Council 328
2444 Urrard St
Henderson, NV 89044


Lds Inverness Ward
Greater Alabama Council 001
1028 Hastings Cir
Birmingham, AL 35242


Lds Inwood 1St Ward/New York Stake
Greater New York Councils, Bsa 640
1815 Riverside Dr
New York, NY 10034


Lds Inwood 2Nd Ward/ New York Stake
Greater New York Councils, Bsa 640
1815 Riverside Dr
New York, NY 10034
Lds Ioka Ward
Utah National Parks 591
560 S 3000 W
Roosevelt, UT 84066


Lds Iona South Stake
Country Haven Ward
Grand Teton Council 107
5169 Denning Ave
Iona, Id 83426


Lds Iona South Stake ‐ Iona 10Th Ward
Grand Teton Council 107
Virlow
Iona, ID 83427


Lds Iona South Stake ‐ Iona 12Th Ward
Grand Teton Council 107
P.O. Box 493
3075 N Barnes Way
Iona, ID 83427


Lds Iona South Stake ‐ Iona 1St Ward
Grand Teton Council 107
190 E Denning
Iona, ID 83427


Lds Iona South Stake ‐ Iona 3Rd Ward
Grand Teton Council 107
5169 Denning
Iona, ID 83427


Lds Iona South Stake ‐ Iona 6Th Ward
Grand Teton Council 107
1040 N Crimson Dr
Idaho Falls, ID 83401


Lds Iona South Stake ‐ Iona 7Th Ward
Grand Teton Council 107
915 N Crimson Dr
Idaho Falls, ID 83401
Lds Iona South Stake ‐ Iona 9Th Ward
Grand Teton Council 107
2890 N 45th E
Idaho Falls, ID 83401


Lds Iona South Stake ‐ Old Mill Ward
Grand Teton Council 107
1040 N Crimson Dr
Idaho Falls, ID 83401


Lds Iona Stake ‐ Iona 11Th Ward
Grand Teton Council 107
4707 E Iona Rd
Idaho Falls, ID 83401


Lds Iona Stake ‐ Iona 2Nd Ward
Grand Teton Council 107
3560 N Dayton
P.O. Box 247
Iona, ID 83427


Lds Iona Stake ‐ Iona 5Th Ward
Grand Teton Council 107
General Delivery
Iona, ID 83427


Lds Iona Stake ‐ Lincoln 4Th Ward
Grand Teton Council 107
3102 Pinnacle Dr
Idaho Falls, ID 83401


Lds Iona Stake ‐ Lincoln 5Th Ward
Grand Teton Council 107
3840 E Vision Dr
Idaho Falls, ID 83401


Lds Iona Stake ‐ Lincoln 6Th Ward
Grand Teton Council 107
3102 Pinnacle Dr
Idaho Falls, ID 83401
Lds Iona Stake ‐ Lincoln 7Th Ward
Grand Teton Council 107
4707 E Iona Rd
Idaho Falls, ID 83401


Lds Iona Stake ‐ Lincoln 8Th Ward
Grand Teton Council 107
7555 N 55th E
Idaho Falls, ID 83401


Lds Iona Stake ‐ Red Rock Ward
Grand Teton Council 107
7555 N 55th E
Idaho Falls, ID 83401


Lds Ione Ward Lodi Stake
Golden Empire Council 047
P.O. Box 1565
Ione, CA 95640


Lds Iron Mtn Ward Tule Spgs Stake
Las Vegas Area Council 328
8525 Thom Blvd
Las Vegas, Nv 89131


Lds Iron Springs Ward
Utah National Parks 591
139 N 4275 W
Cedar City, UT 84720


Lds Island View Ward
Clearfield South Stake
Trapper Trails 589
315 E 2200 S
Clearfield, Ut 84015


Lds Issaquah 1St Ward Bellevue South
Chief Seattle Council 609
1100 6th Ave Se
Issaquah, WA 98027
Lds Ivins Eighth Ward
Utah National Parks 591
240 E 1060 S
Ivins, UT 84738


Lds Ivins Fifth Ward
Utah National Parks 591
112 E 300 N
Ivins, UT 84738


Lds Ivins First Ward
Utah National Parks 591
290 E 1060 S
Ivins, UT 84738


Lds Ivins Fourth Ward
Utah National Parks 591
348 E 735 S
Ivins, UT 84738


Lds Ivins Ninth Ward
Utah National Parks 591
250 E 1020 S
Ivins, UT 84738


Lds Ivins Second Ward
Utah National Parks 591
15 N Main St
Ivins, UT 84738


Lds Ivins Sixth Ward
Utah National Parks 591
114 S 100 E
Ivins, UT 84738


Lds Ivins Tenth Ward
Utah National Parks 591
137 W 100 N
Ivins, UT 84738


Lds Jackson Branch
Flint River Council 095
909 E 3rd St
Jackson, GA 30233


Lds Jackson Creek Ward ‐ North Stake
Pikes Peak Council 060
950 W Hwy 105
Monument, CO 80132


Lds Jackson Ward Lodi Stake
Golden Empire Council 047
12924 Ridge Rd
Sutter Creek, CA 95685


Lds Jackson Ward, Lansing Stake
Southern Shores Fsc 783
4541 Spinnaker Ln
Pleasant Lake, MI 49272


Lds Jacksonville 2280Th Stake
Abraham Lincoln Council 144
1053 E Vandalia Rd
Jacksonville, IL 62650


Lds Jacksonville Ward
Central Point Stake
Crater Lake Council 491
1225 Wmont Dr
Jacksonville, Or 97530


Lds Jacobs Ranch First
Utah National Parks 591
2287 Maverick Rd
Saratoga Springs, UT 84045


Lds Jacobs Ranch Second Ward
Utah National Parks 591
2338 S Wesson Dr
Saratoga Springs, UT 84045


Lds Jan Ree Ward Keizer Stake
Cascade Pacific Council 492
862 45th Ave Ne
Salem, OR 97301


Lds‐ Janesville Ward
Glaciers Edge Council 620
3001 N Wright Rd
Janesville, WI 53546


Lds Jasper Evansville In
Buffalo Trace 156
614 Crestwood Dr
Jasper, IN 47546


Lds Jefferson City Ward ‐ Columbia Stake
Great Rivers Council 653
4618 Henwick Ln
Jefferson City, MO 65109


Lds Jefferson Ward Lebanon Stake
Cascade Pacific Council 492
681 Jefferson Scio Dr
Jefferson, OR 97352


Lds Jeffersonville Ward
Lincoln Heritage Council 205
1534 Slate Run Rd
New Albany, IN 47150


Lds Jensen Park Ward
Syracuse South Stake
Trapper Trails 589
3024 S 1200 W.
Syracuse, Ut 84075


Lds Jensen Ward
Utah National Parks 591
8775 E 6000 S
Jensen, UT 84035


Lds Jersey City
Northern New Jersey Council, Bsa 333
140 Sip Ave
Jersey City, NJ 07306
Lds Jessie S Brook Ward
Utah National Parks 591
859 Mattea Ln
Springville, UT 84663


Lds Job S Peak Ward ‐ Carson City Stake
Nevada Area Council 329
891 Mahogany Dr
Minden, NV 89423


Lds Johansen Park Ward
Mount Logan Stake
Trapper Trails 589
565 E 100 S
Logan, Ut 84321


Lds Johns Creek Ward Roswell Stake
Atlanta Area Council 092
5995 Spalding Dr
Norcross, GA 30092


Lds Johnson City Ward
Sequoyah Council 713
211 Mayflower Rd
Johnson City, TN 37601


Lds Jonesboro Ward Searcy, Ar Stake
Quapaw Area Council 018
301 E Highland Dr
Jonesboro, AR 72401


Lds Jonesville Branch, Lansing Stake
Southern Shores Fsc 783
P.O. Box 163
Jonesville, MI 49250


Lds Jordan Meadows Ward
Utah National Parks 591
1998 W 900 N
Lehi, UT 84043
Lds Jordan River Ward
Utah National Parks 591
1929 W 1500 N
Lehi, UT 84043


Lds Jordan Willows Eighth Ward
Utah National Parks 591
746 S Olive Spgs
Lehi, UT 84043


Lds Jordan Willows Fifth Ward
Utah National Parks 591
3156 W Willow Bnd
Lehi, UT 84043


Lds Jordan Willows First Ward
Utah National Parks 591
2161 Grays Dr
Lehi, UT 84043


Lds Jordan Willows Fourth Ward
Utah National Parks 591
2161 W Grays Dr S
Lehi, UT 84043


Lds Jordan Willows Ninth Ward
Utah National Parks 591
517 S Willow Xing
Lehi, UT 84043


Lds Jordan Willows Second Ward
Utah National Parks 591
2161 W Gray Dr
Lehi, UT 84043


Lds Jordan Willows Seventh Ward
Utah National Parks 591
1877 W Grays Pl
Lehi, UT 84043


Lds Jordan Willows Sixth Ward
Utah National Parks 591
496 River Way
Lehi, UT 84043


Lds Jordan Willows Third Ward
Utah National Parks 591
476 River Way
Lehi, UT 84043


Lds Joseph Ward
Utah National Parks 591
765 S Sevier Hwy
Joseph, UT 84739


Lds Joshua Ward ‐ Fort Worth Stake
Longhorn Council 662
390 SE John Jones Dr
Burleson, TX 76028


Lds Junction City Ward‐Santa Clara Stake
Oregon Trail Council 697
1145 S 6th St
Harrisburg, OR 97446


Lds Jupiter Hills Ward
Syracuse West Stake
Trapper Trails 589
3267 W 700 S
Syracuse, Ut 84075


Lds Jupiter Ward‐Stuart Stake
Gulf Stream Council 085
6400 Roebuck Rd
Jupiter, FL 33458


Lds Justin Ward ‐ Alliance Stake
Longhorn Council 662
500 W.Bonds Ranch Rd
Ft. Worth, TX 76131


Lds Kahului Ward, Kahului Hi Stake
Aloha Council, Bsa 104
1300 Maui Lani Pkwy
Kahului, HI 96732


Lds Kaibab Ward
Utah National Parks 591
50 W Center
Moccasin, AZ 86022


Lds Kalama Ward Longview Stake
Cascade Pacific Council 492
281 Insel Rd
Woodland, WA 98674


Lds Kalamazoo 1St Ward ‐ Kalamazoo Stake
Southern Shores Fsc 783
1112 N Drake Rd
Kalamazoo, MI 49006


Lds Kalamazoo 2Nd Ward ‐ Kalamazoo Stake
Southern Shores Fsc 783
1112 N Drake Rd
Kalamazoo, MI 49006


Lds Kalispell 1St Ward, Kalispell Stake
Montana Council 315
1380 Whitefish Stage
Kalispell, MT 59901


Lds Kalispell 2Nd Ward, Kalispell Stake
Montana Council 315
1380 Whitefish Stage
Kalispell, MT 59901


Lds Kalispell 3Rd Ward, Kalispell Stake
Montana Council 315
1380 Whitefish Stage
Kalispell, MT 59901


Lds Kalkaska ‐ Traverse City Ward
President Gerald R Ford 781
106 S Cherry St
Kalkaska, MI 49646
Lds Kamiah 1St Ward/Lewiston Stake
Inland Nwest Council 611
Highway 12
Kamiah, ID 83536


Lds Kamiah 2Nd Ward/Lewiston Stake
Inland Nwest Council 611
Highway 12
Kamiah, ID 83536


Lds Kanab Fifth Ward
Utah National Parks 591
151 S Main St
Kanab, UT 84741


Lds Kanab First Ward
Utah National Parks 591
1435 S Mcallister Dr
Kanab, UT 84741


Lds Kanab Fourth Ward
Utah National Parks 591
411 Hillcrest Trl
Kanab, UT 84741


Lds Kanab Second Ward
Utah National Parks 591
604 S 100 E
Kanab, UT 84741


Lds Kanab Seventh Ward
Utah National Parks 591
1273 Country Estates Ln
Kanab, UT 84741


Lds Kanab Sixth Ward
Utah National Parks 591
1435 S Mcallister Dr
Kanab, UT 84741
Lds Kanab Third Ward
Utah National Parks 591
546 N 100 E
Kanab, UT 84741


Lds Kanarraville Ward
Utah National Parks 591
P.O. Box 420074
Kanarraville, UT 84742


Lds Kanesville Ward Council Bluff Stake
Mid‐America Council 326
2303 Butler St
Council Bluffs, IA 51503


Lds Kanosh Ward
Utah National Parks 591
P.O. Box 159
Kanosh, UT 84637


Lds Kansas City North Ward Liberty Stake
Heart of America Council 307
6751 NE 70th St
Kansas City, MO 64119


Lds Kaunakakai Ward, Kahului Hi Stake
Aloha Council, Bsa 104
P.O. Box 605
Kaunakakai, HI 96748


Lds Kaw River Ward Lenexa Stake
Heart of America Council 307
14509 W 115th Ter
Lenexa, KS 66062


Lds Kaysville 10Th Ward
Crestwood Stake
Trapper Trails 589
805 E Mutton Hollow Rd
Kaysville, Ut 84037


Lds Kaysville 11Th Ward
Kaysville South Stake
Trapper Trails 589
500 S Main St
Kaysville, Ut 84037


Lds Kaysville 12Th Ward
Crestwood Stake
Trapper Trails 589
855 E Mutton Hollow Rd
Kaysville, Ut 84037


Lds Kaysville 13Th Ward
Kaysville East Stake
Trapper Trails 589
201 S 600 E
Kaysville, Ut 84037


Lds Kaysville 14Th Ward
Kaysville South Stake
Trapper Trails 589
9 W 550 So
Kaysville, Ut 84037


Lds Kaysville 15Th Ward
Kaysville Central Stake
Trapper Trails 589
555 No 100 E
Kaysville, Ut 84037


Lds Kaysville 17Th Ward
Kaysville East Stake
Trapper Trails 589
201 S 600 E
Kaysville, Ut 84037


Lds Kaysville 18Th Ward
Crestwood Stake
Trapper Trails 589
855 E Mutton Hollow Rd
Kaysville, Ut 84037


Lds Kaysville 1St Ward
Kaysville Central Stake
Trapper Trails 589
198 W Center St
Kaysville, Ut 84037


Lds Kaysville 20Th Ward
Crestwood Stake
Trapper Trails 589
855 E Mutton Hollw Rd
Kaysville, Ut 84037


Lds Kaysville 22Nd Ward
Kaysville East Stake
Trapper Trails 589
201 S 600 E
Kaysville, Ut 84037


Lds Kaysville 2Nd Ward
Kaysville Central Stake
Trapper Trails 589
25 S 200 E
Kaysville, Ut 84037


Lds Kaysville 4Th Ward
Kaysville East Stake
Trapper Trails 589
875 E 200 No
Kaysville, Ut 84037


Lds Kaysville 5Th Ward
Kaysville East Stake
Trapper Trails 589
201 S 600 E
Kaysville, Ut 84037


Lds Kaysville 7Th Ward
Kaysville Central Stake
Trapper Trails 589
331 So 50
Kaysville, Ut 84037


Lds Kaysville 8Th Ward
Kaysville Central Stake
Trapper Trails 589
25 So 200 E
Kaysville, Ut 84037


Lds Kaysville 9Th Ward
Kaysville East Stake
Trapper Trails 589
201 S 600 E
Kaysville, Ut 84037


Lds Kc 1St Ward Kcmo Stake
Heart of America Council 307
8144 Holmes Rd
Kansas City, MO 64131


Lds Kc 3Rd Ward Kcmo Stake
Heart of America Council 307
13025 Wornall Rd
Kansas City, MO 64145


Lds Kearney Ward Far West Stake
Heart of America Council 307
202 W 19th St
Kearney, MO 64060


Lds Keene Ward Nashua Nh Stake
Daniel Webster Council, Bsa 330
130 Summit Rd
Keene, NH 03431


Lds Keizer First Ward Keizer Stake
Cascade Pacific Council 492
1375 Lockhaven Dr Ne
Keizer, OR 97303


Lds Keizer Second Ward Keizer Stake
Cascade Pacific Council 492
3635 Portland Rd Ne
Salem, OR 97301


Lds Keller 1St Ward ‐ Colleyville Stake
Longhorn Council 662
2001 Willis Lane
Keller, TX 76248


Lds Keller 2Nd Ward ‐ Colleyville Stake
Longhorn Council 662
500 W Mcdonwell School Rd
Colleyville, TX 76034


Lds Keller 3Rd Ward ‐ Colleyville Stake
Longhorn Council 662
1303 Lindsey Dr
Keller, TX 76248


Lds Keller Crossing Ward
Trapper Trails 589
935 So State St
Clearfield, UT 84015


Lds Kelly Creek Ward Gresham Stake
Cascade Pacific Council 492
4355 NE Div St
Gresham, OR 97030


Lds Kelseyville Ward
Redwood Empire Council 041
6120 Gold Dust Dr
Kelseyville, CA 95451


Lds Kelso Ward Longview Stake
Cascade Pacific Council 492
2884 Pacific Ave N
Kelso, WA 98626


Lds Kelvin Grove Ward
Utah National Parks 591
1076 W 1000 S
Springville, UT 84663


Lds Kempsville Ward Virginia Beach Stake
Tidewater Council 596
4780 Princess Anne Rd
Virginia Beach, VA 23462
Lds Ken Caryl Ward, Columbine Stake
Denver Area Council 061
10209 W Coal Mine Ave
Littleton, CO 80127


Lds Kendallville Ward, Fort Wayne Stake
Anthony Wayne Area 157
1901 Dowling St
Kendallville, IN 46755


Lds Kendallville Ward, Fwa Stake
Anthony Wayne Area 157
11220 W 450 N
Cromwell, IN 46732


Lds Kenmore Ward Bothell Stake
Chief Seattle Council 609
19215 88th Ave Ne
Bothell, WA 98011


Lds Kennekuk Ward
Utah National Parks 591
8273 N Simpson Springs Rd
Eagle Mountain, UT 84005


Lds Keno Ward ‐ Klamath Falls Stake
Crater Lake Council 491
12411 Overland Dr
Klamath Falls, OR 97603


Lds Kensington Ward Washington Dc Stake
National Capital Area Council 082
10000 Stoneybrook Dr
Kensington, MD 20895


Lds Kentlands Ward Washington Dc Stake
National Capital Area Council 082
16 Kent Gardens Cir
Gaithersburg, MD 20878


Lds Kern Valley Ward East Stake
Southern Sierra Council 030
4309 Fiddleneck St
Lake Isabella, CA 93240


Lds Kern Vly Ward, E Bakersfield Stake
Southern Sierra Council 030
6400 Park Ave
Lake Isabella, Ca 93240


Lds Kerrville Ward‐Hill Country Stake
Alamo Area Council 583
P.O. Box 33001
Kerrville, TX 78029


Lds Keystone Ward ‐ Reno North Stake
Nevada Area Council 329
2505 Kings Row
Reno, NV 89503


Lds Kihei Ward, Kahului Hi Stake
Aloha Council, Bsa 104
169 A Auhana St
Kihei, HI 96753


Lds Kimball Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
2323 N Maple Grove Rd
Boise, ID 83704


Lds King George Ward
Stafford Virginia Stake
National Capital Area Council 082
11107 Waveland Dr
King George, Va 22485


Lds Kings Deer Ward
Pikes Peak Council 060
20415 Hunting Downs Way
Monument, CO 80132


Lds Kingsbridge 1 Ward
Westchester‐Ny Stake
Greater New York Councils, Bsa 640
115 E Kingsbridge Rd


Lds Kingsbridge 1 Ward
Westchester‐Ny Stake
Greater New York Councils, Bsa 640
211 E Kingsbridge Rd


Lds Kingsbridge Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
12040 W Amity Rd
Boise, ID 83709


Lds Kingsland Ward Kingsland Stake
Coastal Georgia Council 099
6632 Laurel Island Pkwy
Kingsland, GA 31548


Lds Kingsley Park Ward
Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
941 W Kingsley Dr
Meridian, Id 83646


Lds Kingsport Ward
Sequoyah Council 713
100 Canongate Rd
Kingsport, TN 37660


Lds Kingston 1St Ward Silverdale Stake
Chief Seattle Council 609
2138 NE Mesford Rd
Poulsbo, WA 98370


Lds Kingston Ward
Rip Van Winkle Council 405
153 Fording Pl Rd
Lake Katrine, NY 12449


Lds Kingstowne Ward Mt Vernon Stake
National Capital Area Council 082
6219 Villa St
Alexandria, VA 22310


Lds Kingsville Ward Corpus Christi Stake
South Texas Council 577
2100 E Gen Cavazos
Kingsville, TX 78363


Lds Kingswood Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
4921 N Mitchell St
Boise, ID 83704


Lds Kinston 1St Ward
East Carolina Council 426
3010 Carey Rd
Kinston, NC 28504


Lds Kiowa Valley Ward
Utah National Parks 591
7241 Ute Dr
Eagle Mountain, UT 84005


Lds Kirksville First Ward ‐ Nauvoo Stake
Great Rivers Council 653
2000 E Normal Ave
Kirksville, MO 63501


Lds Kirksville Second Ward
Nauvoo Stake
Great Rivers Council 653
16839 Stokes Rd
Kirksville, Mo 63501


Lds Kirtland Ward Kirtland Stake
Lake Erie Council 440
8751 Kirtland Rd
Kirtland, OH 44094


Lds Kissimmee Hunters Creek
Central Florida Council 083
2821 Old Canoe Creek Rd
St. Cloud, FL 34772
Lds Kitsap Lake Ward Bremerton Stake
Chief Seattle Council 609
4054 Dyes Inlet Rd Nw
Bremerton, WA 98312


Lds Klahanie Ward Bellevue Stake
Chief Seattle Council 609
15205 SE 28th St
Bellevue, WA 98007


Lds Klamath 1St Ward
Klamath Falls Stake
Crater Lake Council 491
501 Martin St
Klamath Falls, Or 97601


Lds Klamath 3Rd Ward
Klamath Falls Stake
Crater Lake Council 491
6630 Alva Ave
Klamath Falls, Or 97603


Lds Klamath 4Th Ward
Klamath Falls Stake
Crater Lake Council 491
6630 Alva Ave
Klamath Falls, Or 97603


Lds Klamath 5Th Ward
Klamath Falls Stake
Crater Lake Council 491
501 Martin St
Klamath Falls, Or 97601


Lds Klein Oak Ward
Houston North Stake
Sam Houston Area Council 576
16833 T C Jester Blvd
Spring, Tx 77379


Lds Knoll Park Ward   Salem
Utah National Parks 591
160 S 460 W
Salem, UT 84653


Lds Knolls Ward
Utah National Parks 591
2260 E Slate Ridge Dr
St George, UT 84790


Lds Kolob Canyon Ward Cedar City
Utah National Parks 591
714 S 3500 E
New Harmony, UT 84757


Lds Kolob Eighth Ward
Utah National Parks 591
840 S 400 E
Springville, UT 84663


Lds Kolob Eleventh Ward
Utah National Parks 591
1627 W 1200 S
Springville, UT 84663


Lds Kolob Fifth Ward
Utah National Parks 591
2575 S Dalton Dr
Springville, UT 84663


Lds Kolob First Ward
Utah National Parks 591
1230 S 500 E
Springville, UT 84663


Lds Kolob Fourth Ward
Utah National Parks 591
2557 Dalton Dr
Springville, UT 84663


Lds Kolob Ninth Ward
Utah National Parks 591
1602 W 1200 S
Springville, UT 84663


Lds Kolob Second Ward
Utah National Parks 591
840 S 400 E
Springville, UT 84663


Lds Kolob Seventh Ward
Utah National Parks 591
840 S 400 E
Springville, UT 84663


Lds Kolob Sixth Ward
Utah National Parks 591
1230 S 500 E
Springville, UT 84663


Lds Kolob Tenth Ward
Utah National Parks 591
2605 Dalton Dr
Springville, UT 84663


Lds Kolob Twelfth Ward
Utah National Parks 591
1627 W 1200 S
Springville, UT 84663


Lds Koosharem Ward
Utah National Parks 591
P.O. Box 440198
Koosharem, UT 84744


Lds Kotter Canyon Ward
Brigham North Stake
Trapper Trails 589
230 W 1500 N
Brigham City, Ut 84302


Lds Kuna 10Th Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
315 E Deer Flat Rd
Kuna, ID 83634
Lds Kuna 11Th Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
1107 E Fossilstone Ct
Kuna, ID 83634


Lds Kuna 12Th Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
313 W Deerflat Rd
Kuna, ID 83634


Lds Kuna 13Th Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
224 E Avalon
Kuna, ID 83634


Lds Kuna 15Th Ward ‐ Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
230 W Quaking Aspen Ln
Kuna, ID 83634


Lds Kuna 16Th Ward Kuna Stake
Ore‐Ida Council 106 ‐ Bsa 106
3305 W Kuna Rd
Kuna, ID 83634


Lds Kuna 1St Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
Rt 3 ‐ Crew
Kuna, ID 83634


Lds Kuna 2Nd Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
3350 W Kuna Rd
Kuna, ID 83634


Lds Kuna 3Rd Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
Rt 2 Deer Flat Rd
Kuna, ID 83634
Lds Kuna 4Th Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
927 Ruth Lane
Nampa, ID 83686


Lds Kuna 5Th Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
7809 Deer Flat Rd
Nampa, ID 83686


Lds Kuna 6Th Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
224 E Avalon St
Kuna, ID 83634


Lds Kuna 7Th Ward‐Kuna E Stk
Ore‐Ida Council 106 ‐ Bsa 106
8625 S Linder Rd
Kuna, ID 83634


Lds Kuna 8Th Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
3305 W Kuna Rd
Kuna, ID 83634


Lds Kuna Butte Ward
Ore‐Ida Council 106 ‐ Bsa 106
3305 W Kuna Rd
Kuna, ID 83634


Lds Kyle Ward, Kyle Stake
Capitol Area Council 564
3751 Trail Ridge Pass
San Marcos, TX 78666


Lds La Canada 1St Ward
Verdugo Hills Council 058
1830 Foothill Blvd
La Canada, CA 91011


Lds La Canada 1St Ward
Verdugo Hills Council 058
1830 Foothill Blvd
La Canada Flintridge, CA 91011


Lds La Canada 2Nd Ward
Verdugo Hills Council 058
1830 Foothill Blvd
La Canada, CA 91011


Lds La Canada 2Nd Ward
Verdugo Hills Council 058
1830 Foothill Blvd
La Canada Flintridge, CA 91011


Lds La Center Ward Ridgefield Stake
Cascade Pacific Council 492
21718 NE 29th Ave
Ridgefield, WA 98642


Lds La Crescenta Ward
Verdugo Hills Council 058
4550 Raymond Ave
La Crescenta, CA 91214


Lds La Cueva Ward Abq North Stake
Great Swest Council 412
1100 Montano Nw
Albuquerque, NM 87107


Lds La Donna Mesa Ward
Northridge Stake
Trapper Trails 589
2375 E 3225 N
Layton, Ut 84040


Lds La Esperanza Ward L711
Greater Los Angeles Area 033
7906 Pickering Ave
Whittier, CA 90602


Lds La Jara 1St Ward, Manassa Stake
Rocky Mountain Council 063
General Delivery
La Jara, CO 81140


Lds La Jara 2Nd Ward, Alamosa Stake
Rocky Mountain Council 063
223719 Rd 15
La Jara, CO 81140


Lds La Junta Ward, Pueblo Stake
Rocky Mountain Council 063
2305 Raton Ave
La Junta, CO 81050


Lds La Mirada Ward Whittier Stake 749
Greater Los Angeles Area 033
15100 Cordova Rd
La Mirada, CA 90638


Lds La Mirada Ward‐Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
598 E Pasacana St
Meridian, ID 83646


Lds La Sal Branch
Utah National Parks 591
P.O. Box 278
La Sal, UT 84530


Lds La Sierra Ward Carmichael Stake
Golden Empire Council 047
4929 Hillridge Way
Fair Oaks, CA 95628


Lds La Verkin Fifth Ward
Utah National Parks 591
361 W 210 S
La Verkin, UT 84745


Lds La Verkin First Ward
Utah National Parks 591
481 N Main St
La Verkin, UT 84745
Lds La Verkin Fourth Ward
Utah National Parks 591
481 N Main
La Verkin, UT 84745


Lds La Verkin Second Ward
Utah National Parks 591
245 N 80 E
La Verkin, UT 84745


Lds La Verkin Seventh Ward
Utah National Parks 591
252 N 300 W
La Verkin, UT 84745


Lds La Verkin Sixth Ward
Utah National Parks 591
481 N Main St
La Verkin, UT 84745


Lds La Verkin Third Ward
Utah National Parks 591
41 S 300 W
La Verkin, UT 84745


Lds La Verne Ward 123 La Verne Stake
Greater Los Angeles Area 033
2645 Amherst St
La Verne, CA 91750


Lds Lacamas Creek Ward Vancouver N Stake
Cascade Pacific Council 492
18300 Ne 18Th St
Vancouver, Wa 98684


Lds Laconia Ward Concord Nh Stake
Daniel Webster Council, Bsa 330
1250 Old N Main St
Laconia, NH 03246


Lds Laconia Ward Concord Nh Stake
Daniel Webster Council, Bsa 330
Old N Main St
Laconia, NH 03246


Lds Ladera Ward Los Lunas Stake
Great Swest Council 412
8130 Sage Rd Sw
Albuquerque, NM 87121


Lds Lafayette Stk Crawfordsville
Crossroads of America 160
1086 N 125 W
Crawfordsville, IN 47933


Lds Lafayette Stk Crawfordsville
Crossroads of America 160
Oak Hill Rd
Crawfordsville, IN 47933


Lds Lafollette Cumberland
Great Smoky Mountain Council 557
215 Wildwood Cir
La Follette, TN 37766


Lds Lagrange Ward
Lincoln Heritage Council 205
6401 Wwind Way
Crestwood, KY 40014


Lds Laguna Creek 1St Ward
Sacramento Stake
Golden Empire Council 047
9910 Bruceville Rd
Elk Grove, Ca 95757


Lds Laguna Creek 2Nd Ward
Sacramento Stake
Golden Empire Council 047
9910 Bruceville Rd
Elk Grove, Ca 95757


Lds Laguna Creek 3Rd Ward
Sacramento Stake
Golden Empire Council 047
6711 Seasons Dr
Elk Grove, Ca 95758


Lds Laguna Creek 4Th Ward
Sacramento Stake
Golden Empire Council 047
6711 Seasons Dr
Elk Grove, Ca 95758


Lds Laguna Creek 5Th Ward
Sacramento Stake
Golden Empire Council 047
6711 Seasons Dr
Elk Grove, Ca 95758


Lds Laguna Creek 6Th Ward Sac Stake
Golden Empire Council 047
6711 Seasons Dr
Elk Grove, CA 95758


Lds Laguna Ward
Redwood Empire Council 041
1550 Npoint Pkwy
Santa Rosa, CA 95407


Lds Lahaina 1St Ward, Kahului Hi Stake
Aloha Council, Bsa 104
85 Ulupono St
Lahaina, HI 96761


Lds Lahaina 2Nd Ward
Aloha Council, Bsa 104
19 Kaniau Rd
Lahaina, HI 96761


Lds Lahaina 2Nd Ward, Kahului Hi Stake
Aloha Council, Bsa 104
19 Kaniau Rd
Lahaina, HI 96761
Lds Lake Cities 2Nd Ward
Lewisville Stake
Longhorn Council 662
102 Red Bluff Ct
Hickory Creek, Tx 75065


Lds Lake Cities Ward ‐ Denton Stake
Longhorn Council 662
4501 Teasley Ln
Denton, TX 76210


Lds Lake Creek Farms Ward
Utah National Parks 591
4485 Lake Creek Farms Rd
Heber City, UT 84032


Lds Lake Creek First Ward
Utah National Parks 591
3550 Hidden Meadows Ct
Heber City, UT 84032


Lds Lake Creek Second Ward
Utah National Parks 591
1200 So 6250 E
Heber City, UT 84032


Lds Lake Creek Ward The Woodlands Stake
Sam Houston Area Council 576
10303 Branch Crossing Dr
The Woodlands, Tx 77382


Lds Lake Crescent Orlando South
Central Florida Council 083
13749 Reams Rd
Windermere, FL 34786


Lds Lake Forest Park Ward
Shoreline Stake
Chief Seattle Council 609
14901 30Th Ave Ne
Shoreline, Wa 98155
Lds Lake Forest Ward Lake Oswego Stake
Cascade Pacific Council 492
14414 Pfeifer Dr
Lake Oswego, OR 97035


Lds Lake Fork Ward
Utah National Parks 591
Hc 3 Box 510009
Mtn. Home, UT 84051


Lds Lake Highlands Ward
Dallas East Stake
Circle Ten Council 571
10701 E Lake Highlands Dr
Dallas, Tx 75218


Lds Lake Highlandsward
Dallas East Stake
Circle Ten Council 571
10701 E Lake Highlands Dr
Dallas, Tx 75218


Lds Lake Hills Ward, Billings East Stake
Montana Council 315
1604 Broadmoor Dr
Billings, MT 59105


Lds Lake Holm Ward Auburn Stake
Chief Seattle Council 609
19107 SE Lake Holm Rd
Auburn, WA 98092


Lds Lake Lucerne Ward Maple Valley Stake
Chief Seattle Council 609
19909 SE Wax Rd
Maple Valley, WA 98038


Lds Lake Mary Orlando
Central Florida Council 083
2255 Lake Emma Rd
Lake Mary, FL 32746
Lds Lake Meridian Ward Kent Stake
Chief Seattle Council 609
12817 SE 256th St
Kent, WA 98030


Lds Lake Mountain First Ward    Lehi
Utah National Parks 591
88 W Harbor Park Way
Saratoga Springs, UT 84045


Lds Lake Mountain Fourth Ward
Utah National Parks 591
3816 S Starlight Dr
Saratoga Springs, UT 84045


Lds Lake Mountain Second Ward    Lehi
Utah National Parks 591
136 W Summerhill Dr
Saratoga Springs, UT 84045


Lds Lake Mountain Third Ward
Utah National Parks 591
3927 S Lake Vista Dr
Saratoga Springs, UT 84045


Lds Lake Nona Ward
Central Florida Council 083
1900 N John Young Pkwy
Kissimmee, FL 34741


Lds Lake Of The Pines Ward Auburn Stake
Golden Empire Council 047
1255 Bell Rd
Auburn, CA 95603


Lds Lake Orion Ward ‐ Grand Blanc Stake
Great Lakes Fsc 272
1610 Brewster Rd
Rochester Hills, MI 48306


Lds Lake Oswego Ward Lake Oswego Stake
Cascade Pacific Council 492
14903 Wlake Dr
Lake Oswego, OR 97035


Lds Lake Reams Orlando South
Central Florida Council 083
13749 Reams Rd
Windermere, FL 34786


Lds Lake Ridge 1 Ward Woodbridge Stake
National Capital Area Council 082
3718 Old Bridge Rd
Woodbridge, VA 22192


Lds Lake Ridge 2 Ward Woodbridge Stake
National Capital Area Council 082
3718 Old Bridge Rd
Lake Ridge, VA 22192


Lds Lake Ridge 2 Woodbridge Stake
National Capital Area Council 082
1817 Old Bridge Rd
Woodbridge, VA 22192


Lds Lake Ridge Ward Vancouver East Stake
Cascade Pacific Council 492
3735 NW Jasmine St
Camas, WA 98607


Lds Lake Sacajawea Ward Longview Stake
Cascade Pacific Council 492
1721 30th Ave
Longview, WA 98632


Lds‐ Lake Saint Louis Ward
Lake St Louis Stake
Greater St Louis Area Council 312
1401 S Henke Rd
Lake St Louis, Mo 63367


Lds Lake Sawyer Ward Kent Stake
Chief Seattle Council 609
26106 164th Ave Se
Covington, WA 98042


Lds Lake Shore First Ward
Utah National Parks 591
5916 S 3200 W
Spanish Fork, UT 84660


Lds Lake Shore Second Ward
Utah National Parks 591
5916 S 3200 W
Spanish Fork, UT 84660


Lds Lake Shore Third Ward
Utah National Parks 591
575 E 400 N
Spanish Fork, UT 84660


Lds Lake Stevens Ward Marysville Stake
Mount Baker Council, Bsa 606
10120 Chapel Hill Rd
Lake Stevens, WA 98258


Lds Lake Travis Ward, Oak Hill Stake
Capitol Area Council 564
12001 Fm 2244
Bee Cave, TX 78738


Lds Lake Villa 1St Ward
Buffalo Grove Stake
Northeast Illinois 129
315 Mckinley Ave
Lake Villa, Il 60046


Lds Lake Villa 2Nd Ward
Buffalo Grove Stake
Northeast Illinois 129
315 Mckinley Ave
Lake Villa, Il 60046


Lds Lake Whatcom Ward Bellingham Stake
Mount Baker Council, Bsa 606
2925 James St
Bellingham, WA 98225


Lds Lake Wilderness Ward Maple Vly Stake
Chief Seattle Council 609
27728 217Th Ave Se
Maple Valley, Wa 98038


Lds Lakeport Ward
Redwood Empire Council 041
600 16th St
Lakeport, CA 95453


Lds Lakeridge Eighth Ward
Utah National Parks 591
838 S 300 W
Orem, UT 84058


Lds Lakeridge Fifth Ward
Utah National Parks 591
50 E 950 S
Orem, UT 84058


Lds Lakeridge First Ward     Spanish
Utah National Parks 591
888 S 210 W
Orem, UT 84058


Lds Lakeridge Fourth Ward
Utah National Parks 591
158 E 1100 S
Orem, UT 84058


Lds Lakeridge Sixth Ward
Utah National Parks 591
80 W 900 S
Orem, UT 84058


Lds Lakeridge Third Ward
Utah National Parks 591
950 S 50 E
Orem, UT 84058
Lds Lakeridge Ward Folsom Stake
Golden Empire Council 047
1275 Green Valley Rd
El Dorado Hills, CA 95762


Lds Lakeridge Ward Lake Oswego Stake
Cascade Pacific Council 492
1271 Overlook Dr
Lake Oswego, OR 97034


Lds Lakes Ward Lakes Stake
Las Vegas Area Council 328
9825 W Desert Inn Rd
Las Vegas, NV 89117


Lds Lakeside Branch, Kalispell Stake
Montana Council 315
180 Redfield Ln
Lakeside, MT 59922


Lds Lakeside Eighth Ward
Utah National Parks 591
131 S 1600 W
Provo, UT 84601


Lds Lakeside First Ward
Utah National Parks 591
131 S 1600 W
Provo, UT 84601


Lds Lakeside Fourteenth Ward
Utah National Parks 591
262 N 3000 W
Provo, UT 84601


Lds Lakeside Fourth Ward
Utah National Parks 591
230 N 2300 W
Provo, UT 84601


Lds Lakeside Park Ward Cincinnati Stake
Dan Beard Council, Bsa 438
144 Buttermilk Pike
Lakeside Park, KY 41017


Lds Lakeside Second Ward
Utah National Parks 591
173 S 3110 W
Provo, UT 84601


Lds Lakeside Seventh Ward
Utah National Parks 591
777 N 2250 W
Provo, UT 84601


Lds Lakeside Sixth Ward
Utah National Parks 591
2409 W 230 S
Provo, UT 84601


Lds Lakeside Tenth Ward
Utah National Parks 591
620 N 2225 W
Provo, UT 84601


Lds Lakeside Third Ward
Utah National Parks 591
114 N 2560 W
Provo, UT 84601


Lds Lakeside Ward
Utah National Parks 591
181 E Cottage Cv
Saratoga Springs, UT 84045


Lds Lakeside Ward ‐ Mt Rose Stake
Nevada Area Council 329
4751 Neil Rd
Reno, NV 89502


Lds Lakeview Eighth Ward
Utah National Parks 591
155 W 1600 S
Orem, UT 84058


Lds Lakeview Fifth Ward
Utah National Parks 591
400 W 1800 S
Orem, UT 84058


Lds Lakeview First Ward
Utah National Parks 591
2168 S 140 W
Orem, UT 84058


Lds Lakeview Second Ward
Utah National Parks 591
461 W 1680 S
Orem, UT 84058


Lds Lakeview Seventh Ward
Utah National Parks 591
244 W 1455 S
Orem, UT 84058


Lds Lakeview Sixth Ward
Utah National Parks 591
2168 S 140 W
Orem, UT 84058


Lds Lakeview Third Ward
Utah National Parks 591
1445 S 100 W
Orem, UT 84058


Lds Lakeview Ward ‐ Klamath Falls Stake
Crater Lake Council 491
43 S I St
Lakeview, OR 97630


Lds Lakeview Ward Eldorado Stake
Las Vegas Area Council 328
1550 Buchanan Blvd
Boulder City, NV 89005
Lds Lakeview Ward Kirkland Stake
Chief Seattle Council 609
11805 NE 43rd Pl
Kirkland, WA 98033


Lds Lakeview Ward Omaha Stake
Mid‐America Council 326
17144 O Cir
Omaha, NE 68135


Lds Lakeville Stake ‐ Apple Valley Ward
Northern Star Council 250
14459 Flax Way
Apple Valley, MN 55124


Lds Lakeville Stake ‐ Burnsville Ward
Northern Star Council 250
18460 Kachina Ct
Lakeville, MN 55044


Lds Lakeville Stake ‐ Faribault Ward
Northern Star Council 250
902 17th St Sw
Faribault, MN 55021


Lds Lakeville Stake ‐ Lakeville Ward
Northern Star Council 250
18460 Kachina Ct
Lakeville, MN 55044


Lds Lakeville Stake ‐ New Prague Branch
Northern Star Council 250
202 Kennedy Ave Nw
New Prague, MN 56071


Lds Lakeville Stake ‐ Prior Lake Ward
Northern Star Council 250
9700 Nesbitt Ave S
Bloomington, MN 55437


Lds Lakeway Cumberland
Great Smoky Mountain Council 557
6301 Hiawatha Rd
Morristown, TN 37814


Lds Lakewood 3Rd Ward Cerritos Stake
Long Beach Area Council 032
17660 Carpintero Ave
Bellflower, CA 90706


Lds Lakewood 4Th Ward Cerritos Stake
Long Beach Area Council 032
17660 Carpintero Ave
Bellflower, CA 90706


Lds Lakewood Ranch Ward Sarasota Stake
Southwest Florida Council 088
7001 S Beneva Rd
Sarasota, FL 34238


Lds Lakewood Ward
Attn Bishop Klopp
Lake Erie Council 440
25000 Wwood Rd
Westlake, OH 44145


Lds Lakewood Ward Arlington Stake
Mount Baker Council, Bsa 606
17222 43rd Ave Ne
Arlington, WA 98223


Lds Lamoille Vly Ward
Montpelier Vermont Stake
Green Mountain 592, Route 15
Johnson, Vt 05656


Lds Lancaster
Simon Kenton Council 441
1071 Sheridan Dr
Lancaster, OH 43130


Lds ‐Lancaster E Stake
Tierra Bonita Ward
W.L.A.C.C. 051
44330 N 27Th St E
Lancaster, Ca 93535


Lds ‐Lancaster E Stake‐ El Dorado Ward
W.L.A.C.C. 051
44330 N 27th St E
Lancaster, CA 93535


Lds ‐Lancaster E Stake‐ Lake La Ward
W.L.A.C.C. 051
41535 170th St E
Lancaster, CA 93535


Lds ‐Lancaster E Stake‐ Muroc Ward
W.L.A.C.C. 051
16509 Hillcrest St
North Edwards, CA 93523


Lds ‐Lancaster E Stake‐ N Edwards Ward
W.L.A.C.C. 051
16509 Frank St
North Edwards, CA 93523


Lds ‐Lancaster E Stake‐ Rosamond Ward
W.L.A.C.C. 051
3490 Susan Ave
Mojave, CA 93501


Lds ‐Lancaster Stake‐ Juniper Ward
W.L.A.C.C. 051
1701 W Lancaster Blvd
Lancaster, CA 93534


Lds ‐Lancaster Stake‐ Lancaster Ward
W.L.A.C.C. 051, 17th St W
Lancaster Blvd
Lancaster, CA 93534


Lds ‐Lancaster Stake‐ Leona Valley Ward
W.L.A.C.C. 051
9044 Leona Ave
Leona Valley, CA 93551


Lds ‐Lancaster Stake‐ Quartz Hill Ward
W.L.A.C.C. 051
9044 Leona Ave
Leona Valley, CA 93551


Lds ‐Lancaster Stake‐ Sierra Ward
W.L.A.C.C. 051
3140 W Ave K
Lancaster, CA 93536


Lds ‐Lancaster Stake‐ Somerset Ward
W.L.A.C.C. 051
3140 W Ave K
Lancaster, CA 93536


Lds Landing Ward
Utah National Parks 591
4449 N Frontier St
Eagle Mountain, UT 84005


Lds Lands End Ward/Grand Junction Stake
Denver Area Council 061
2872 Bear Canyon Ct
Grand Junction, CO 81503


Lds Lansing Ward ‐ Lansing Stake
Water and Woods Council 782
431 E Saginaw St
East Lansing, MI 48823


Lds Lantana Ward ‐ Lewisville Stake
Longhorn Council 662
902 Chinn Chapel Rd
Lewisville, TX 75077


Lds Lapeer Ward ‐ Grand Blanc Stake
Water and Woods Council 782
1380 Haines Rd
Lapeer, MI 48446
Lds Lapeer Ward ‐ Grand Blanc Stake
Water and Woods Council 782
3080 W Oregon Rd
Lapeer, MI 48446


Lds Lapine Ward ‐ Bend Stake
Crater Lake Council 491
52680 Day Rd
La Pine, OR 97739


Lds Lapoint Ward
Utah National Parks 591
P.O. Box 316
Lapoint, UT 84039


Lds Laredo 1St Ward
South Texas Council 577
1520 E Hillside Rd
Laredo, TX 78041


Lds Laredo 3Rd Ward Spanish Branch
South Texas Council 577
1520 E Hillside Rd
Laredo, TX 78041


Lds Laredo 6Th Ward Spanish Branch
South Texas Council 577
4120 Avenida Los Presidente
Laredo, TX 78046


Lds Las Colinas Ward Las Cruces Stk
Yucca Council 573
3210 Venus St
Las Cruces, NM 88012


Lds Las Palmas Ward Warm Springs Stake
Las Vegas Area Council 328
7670 S Bruce St
Las Vegas, NV 89123


Lds Las Palmas Ward‐Sa Stake
Alamo Area Council 583
655 Castroville Rd
San Antonio, TX 78237


Lds Las Posas Ward Camarillo Stake
Ventura County Council 057
4345 Las Posas Rd
Camarillo, CA 93010


Lds Las Vegas Meadows Stake LDS Church
Las Vegas Area Council 328
3200 Mustang St
Las Vegas, NV 89108


Lds Lathrop Ward Manteca Stake
Greater Yosemite Council 059
1233 Ngate Dr
Manteca, CA 95336


Lds Laurel Canyon Ward N Las Vegas Stake
Las Vegas Area Council 328
100 E Hammer Lane
North Las Vegas, Nv 89115


Lds Laurel Hills Ward
Mccullough Hills Stake
Las Vegas Area Council 328
168 Cobalt Sky Ave
Henderson, Nv 89002


Lds Laurel Ward Bellingham Stake
Mount Baker Council, Bsa 606
395 E Laurel Rd
Bellingham, WA 98226


Lds Laurel Ward Silver Spring Md Stake
National Capital Area Council 082
7200 Contee Rd
Laurel, MD 20707


Lds Laurel Ward, Billings Stake
Montana Council 315
1238 Beartooth Dr
Laurel, MT 59044


Lds Laurelwood Ward Spg Mtn Stake
Las Vegas Area Council 328
6601 W Twain Ave
Las Vegas, Nv 89103


Lds Laverkin Stake Special Needs Troop
Utah National Parks 591
260 N Main St
La Verkin, UT 84745


Lds Lawndale Ward Torrance N Stake 795
Greater Los Angeles Area 033
14801 Osage Ave
Lawndale, Ca 90260


Lds Lawrence 1St Ward Topeka Stake
Heart of America Council 307
3655 W 10th St
Lawrence, KS 66049


Lds Lawrence Sta Ward, Los Altos Stake
Pacific Skyline Council 031
875 Quince Ave
Santa Clara, Ca 95051


Lds Lawton 1St Ward Lawton Stake
Last Frontier Council 480
7002 SW Drakestone Blvd
Lawton, OK 73505


Lds Lawton 2Nd Ward Lawton Stake
Last Frontier Council 480
7002 SW Drakestone Blvd
Lawton, OK 73505


Lds Layton 2Nd Ward
Layton Legacy Stake
Trapper Trails 589
275 Park St
Layton, Ut 84041


Lds Layton 37Th Ward
Layton South Stake
Trapper Trails 589
628 S Angel St
Layton, Ut 84041


Lds Layton Hills Ward
Layton Hills Stake
Trapper Trails 589
3290 N 1050 E
Layton, Ut 84040


Lds Leamington Ward
Utah National Parks 591
P.O. Box 38063
Leamington, UT 84638


Lds Leander Ward, Round Rock Tx Stake
Capitol Area Council 564
2101 Bagdad Rd
Cedar Park, TX 78613


Lds Leavenworth 1St Ward
Platte City Stake
Heart Of America Council 307
1020 Limit St
Leavenworth, Ks 66048


Lds Leavenworth 2 Ward Platte City Stake
Heart of America Council 307
546 Mcdonald Rd
Leavenworth, KS 66048


Lds Leavenworth Ward/ Wenatchee Stake
Grand Columbia Council 614
P.O. Box 273
Leavenworth, WA 98826


Lds Lebanon Branch
Lincoln Heritage Council 205
205 Old Springfield Rd
Lebanon, KY 40033


Lds Lebanon Ward Concord Stake
Daniel Webster Council, Bsa 330
No Mail
Grantham, NH 03753


Lds Ledgewood 1St Ward Morristown
Patriots Path Council 358
156 Mountain Rd
Ledgewood, NJ 07850


Lds Leeds First Ward
Utah National Parks 591
P.O. Box 461072
Leeds, UT 84746


Lds Leeds Second Ward
Utah National Parks 591
75 N Main
Leeds, UT 84746


Lds Leeds Ward Birmingham Alabama Stake
Greater Alabama Council 001
8546 Rockhampton St
Leeds, AL 35094


Lds Lees Summit 1St Ward Kcmo Stake
Heart of America Council 307
850 SE Church Rd
Lees Summit, MO 64063


Lds Lees Summit 2Nd Ward Kcmo Stake
Heart of America Council 307
850 SE Church St
Lees Summit, MO 64082


Lds Lees Summit 3Rd Ward Kcmo Stake
Heart of America Council 307
451 SE State Route 150
Lees Summit, MO 64082
Lds Leesburg Leesburg
Central Florida Council 083
1875 Mount Vernon Rd
Leesburg, FL 34748


Lds Leesburg Ward Ashburn Stake
National Capital Area Council 082
21015 Claiborne Pkwy
Ashburn, VA 20147


Lds Leesburg Ward Ashburn Stake
National Capital Area Council 082
801 Balls Bluff Rd Ne
Leesburg, VA 20176


Lds Legacy Farms 1St Ward
Saratoga Spgs
Utah National Parks 591
74 E Legacy Pkwy
Saratoga Springs, Ut 84045


Lds Legacy Farms First Ward
Utah National Parks 591
381 E 400 N
Spanish Fork, UT 84660


Lds Legacy Farms Second Ward
Saratoga Spgs
Utah National Parks 591
519 S Valkyries Ln
Saratoga Springs, Ut 84045


Lds Legacy Farms Second Ward
Utah National Parks 591
212 N 2470 E
Spanish Fork, UT 84660


Lds Legacy Ward
Utah National Parks 591
678 E 260 S
Heber, UT 84032
Lds Legacy Ward Green Valley Stake
Las Vegas Area Council 328
2091 Wigwam Pkwy
Henderson, NV 89074


Lds Legend Ward, Parker South Stake
Denver Area Council 061
20850 E Main St
Parker, CO 80138


Lds Lehi Cedar Hollow Fifth Ward
Utah National Parks 591
1020 E 1900 N
Lehi, UT 84043


Lds Lehi Cedar Hollow First Ward
Utah National Parks 591
1606 N 600 E
Lehi, UT 84043


Lds Lehi Cedar Hollow Fourth Ward
Utah National Parks 591
1020 E 1900 N.
Lehi, UT 84043


Lds Lehi Cedar Hollow Second Ward
Utah National Parks 591
2274 N 1120 E
Lehi, UT 84043


Lds Lehi Cedar Hollow Sixth Ward
Utah National Parks 591
1941 N 1475 E
Lehi, UT 84043


Lds Lehi Cedar Hollow Third Ward
Utah National Parks 591
2200 N 1200 E
Lehi, UT 84043
Lds Lehi Eighteenth Ward
Utah National Parks 591
1364 W 1870 N
Lehi, UT 84043


Lds Lehi Eighth Ward
Utah National Parks 591
445 E 2760 N
Lehi, UT 84043


Lds Lehi Eleventh Ward
Utah National Parks 591
704 N 625 E
Lehi, UT 84043


Lds Lehi Fifteenth Ward
Utah National Parks 591
416 W 2070 N
Lehi, UT 84043


Lds Lehi Fifth Ward
Utah National Parks 591
465 E 300 N
Lehi, UT 84043


Lds Lehi First Ward
Utah National Parks 591
1011 S 400 E
Lehi, UT 84043


Lds Lehi Forty Eighth Ward
Utah National Parks 591
1339 E 3150 N
Lehi, UT 84043


Lds Lehi Forty Fifth Ward
Utah National Parks 591
225 E Love Ln
Lehi, UT 84043


Lds Lehi Forty First Ward
Utah National Parks 591
220 W 200 S
Lehi, UT 84043


Lds Lehi Forty Fourth Branch
Utah National Parks 591
414 W 370 S
American Fork, UT 84003


Lds Lehi Forty Ninth Ward
Utah National Parks 591
3225 N Clay Ct
Lehi, UT 84043


Lds Lehi Forty Second Samoan Branch
Utah National Parks 591
9952 N Oak Rd W
Cedar Hills, UT 84062


Lds Lehi Forty Seventh Ward
Utah National Parks 591
880 N 700 E
Lehi, UT 84043


Lds Lehi Forty Sixth Ward
Utah National Parks 591
851 N 1200 E
Lehi, UT 84043


Lds Lehi Forty Third Ward
Utah National Parks 591
127 E 3200 N
Lehi, UT 84043


Lds Lehi Fourteenth Ward
Utah National Parks 591
851 N 1200 E
Lehi, UT 84043


Lds Lehi Fourth Ward
Utah National Parks 591
845 N 1200 E
Lehi, UT 84043
Lds Lehi Nineteenth Ward
Utah National Parks 591
230 E Davis Ln
Lehi, UT 84043


Lds Lehi Ninth Ward
Utah National Parks 591
465 E 300 N
Lehi, UT 84043


Lds Lehi Ranches Ward
Utah National Parks 591
255 W 700 S
Lehi, UT 84043


Lds Lehi Second Ward
Utah National Parks 591
300 N 500 E
Lehi, UT 84043


Lds Lehi Seventeenth Ward
Utah National Parks 591
1025 N 1710 E
Lehi, UT 84043


Lds Lehi Seventh Ward
Utah National Parks 591
1149 N 300 W
Lehi, UT 84043


Lds Lehi Sixteenth Ward
Utah National Parks 591
1214 W Meadow Brook Ln
Lehi, UT 84043


Lds Lehi Sixth Ward
Utah National Parks 591
271 W 200 S
Lehi, UT 84043
Lds Lehi Spring Creek First Ward
Utah National Parks 591
1652 S 710 E
Lehi, UT 84043


Lds Lehi Spring Creek Second Ward
Utah National Parks 591
1735 S Spring Creek Ranch Rd
Lehi, UT 84043


Lds Lehi Spring Creek Third Ward
Utah National Parks 591
1250 S 300 E
Lehi, UT 84043


Lds Lehi Sunset First Ward
Utah National Parks 591
2343 N 750 W
Lehi, UT 84043


Lds Lehi Sunset Second Ward
Utah National Parks 591
2120 N 650 W
Lehi, UT 84043


Lds Lehi Tenth Ward
Utah National Parks 591
1125 W 300 N
Lehi, UT 84043


Lds Lehi Third Ward
Utah National Parks 591
1683 N 500 W
Lehi, UT 84043


Lds Lehi Thirteenth Ward
Utah National Parks 591
901 S 2300 W.
Lehi, UT 84043


Lds Lehi Thirtieth Ward
Utah National Parks 591
263 W 2875 N
Lehi, UT 84043


Lds Lehi Thirty Eighth Ward   Spanish
Utah National Parks 591
1530 W Pheasant Pointe Dr
Lehi, UT 84043


Lds Lehi Thirty Fifth Ward
Utah National Parks 591
700 S 1700 W
Lehi, UT 84043


Lds Lehi Thirty Fourth Ward
Utah National Parks 591
1631 E 900 N
Lehi, UT 84043


Lds Lehi Thirty Ninth Ward
Utah National Parks 591
926 W 1425 N
Lehi, UT 84043


Lds Lehi Thirty Sixth Ward
Utah National Parks 591
1631 E 900 N
Lehi, UT 84043


Lds Lehi Thirty Third Ward
Utah National Parks 591
2940 N 1050 E
Lehi, UT 84043


Lds Lehi Twelfth Ward
Utah National Parks 591
490 W 900 N
Lehi, UT 84043


Lds Lehi Twentieth Ward
Utah National Parks 591
150 E 1500 N
Lehi, UT 84043
Lds Lehi Twenty Eighth Ward
Utah National Parks 591
2848 N 750 E
Lehi, UT 84043


Lds Lehi Twenty Fifth Ward
Utah National Parks 591
1216 W 525 S
Lehi, UT 84043


Lds Lehi Twenty First Ward
Utah National Parks 591
1870 N 1400 W
Lehi, UT 84043


Lds Lehi Twenty Ninth Ward
Utah National Parks 591
1447 N 250 W
Lehi, UT 84043


Lds Lehi Twenty Second Ward
Utah National Parks 591
379 W 2325 N
Lehi, UT 84043


Lds Lehi Twenty Sixth Ward
Utah National Parks 591
2790 N Center St
Lehi, UT 84043


Lds Lehi Twenty Third Ward
Utah National Parks 591
3110 N 700 E
Lehi, UT 84043


Lds Lehigh Ward Fort Myers Stake
Southwest Florida Council 088
315 Richmond Ave N
Lehigh Acres, FL 33936
Lds Leland Ward
Utah National Parks 591
1208 W 900 S
Spanish Fork, UT 84660


Lds Lemmon Valley Ward
Reno North Stake
Nevada Area Council 329
8080 Lemmon Dr
Reno, Nv 89506


Lds Lenexa Ward Lenexa Stake
Heart of America Council 307
21515 W 101st St
Lenexa, KS 66220


Lds Leon Spgs Ward‐ Hill Country Stake
Alamo Area Council 583
203 Stonegate Rd
Boerne, Tx 78006


Lds Letha Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 201
Letha, ID 83636


Lds Levan First Ward
Utah National Parks 591
P.O. Box 111
Levan, UT 84639


Lds Levan Second Ward
Utah National Parks 591
P.O. Box 363
Levan, UT 84639


Lds Lewisberry Ward, Harrisburg Stake
New Birth of Freedom 544
800 Pleasant Dr
York Haven, PA 17370


Lds Lewiston 1St Ward/Lewiston Stake
Inland Nwest Council 611
836 Preston Ave
Lewiston, ID 83501


Lds Lewiston 1St Ward/Lewiston Stake
Inland Nwest Council 611, 9th   Preston
Lewiston, ID 83501


Lds Lewiston 2Nd Ward/Lewiston Stake
Inland Nwest Council 611
3810 16th St
Lewiston, ID 83501


Lds Lewiston 3Rd Ward
Inland Nwest Council 611, 9th   Preston
Lewiston, ID 83501


Lds Lewiston 3Rd Ward/Lewiston Stake
Inland Nwest Council 611
836 Preston Ave
Lewiston, ID 83501


Lds Lewistown Ward, Great Falls E Stake
Montana Council 315
920 Casino Creek Rd
Lewistown, Mt 59457


Lds Lewisville 1St Ward
Lewisville Stake
Longhorn Council 662
1100 Stapleton Ln
Flower Mound, Tx 75028


Lds Lewisville 2Nd Ward
Carrollton Stake
Circle Ten Council 571
615 S Macarthur Blvd
Coppell, Tx 75019


Lds Lewisville Ward
Old Hickory Council 427
4260 Clinard Rd
Clemmons, NC 27012


Lds Lexington Park Ward Suitland Stake
National Capital Area Council 082
22747 Old Rolling Rd
California, MD 20619


Lds Liahona Ward Sacramento Stake
Golden Empire Council 047
7401 24th St
Sacramento, CA 95822


Lds Libby Ward, Sandpoint Id Stake
Montana Council 315
659 Airfield Rd
Libby, MT 59923


Lds Liberty 1St Ward Gridley Stake
Golden Empire Council 047
131 W Evans Reimer Rd
Gridley, CA 95948


Lds Liberty 2Nd Ward Indep Stake
Heart of America Council 307
1130 N Clayview Dr
Liberty, MO 64068


Lds Liberty Farms Ward
Utah National Parks 591
7944 N Smith Ranch Rd
Eagle Mountain, UT 84005


Lds Liberty Heights Ward Warm Spgs Stake
Las Vegas Area Council 328
10970 S Bermuda
Las Vegas, Nv 89183


Lds Liberty Hill Ward Round Rock Stake
Capitol Area Council 564
2101 Bagdad Rd
Cedar Park, TX 78613
Lds Liberty Ward Cincinnati North Stake
Dan Beard Council, Bsa 438
7118 Dutchland Pkwy
Liberty Township, OH 45044


Lds Liberty Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
877 E Saratoga Dr
Boise, ID 83706


Lds Lilburn 2Nd Ward
Northeast Georgia Council 101
1150 Cole Dr Sw
Lilburn, GA 30047


Lds Lima Ward Toledo Ohio Stake
Black Swamp Area Council 449
1195 Brower Rd
Lima, OH 45801


Lds Lincoln 1St Ward Lincoln Stake
Golden Empire Council 047
252 O St
Lincoln, CA 95648


Lds Lincoln 2Nd Ward Lincoln Stake
Golden Empire Council 047
2831 Theona
Rocklin, CA 95765


Lds Lincoln 3Rd Ward Lincoln Stake
Golden Empire Council 047
408 Kier Ct
Lincoln, CA 95648


Lds Lincoln 5Th Ward Lincoln Stake
Golden Empire Council 047
1256 Red Leaf Way
Lincoln, CA 95648


Lds Lincoln 6Th Ward Lincoln Stake
Golden Empire Council 047
302 Potenza Pl
Lincoln, CA 95648


Lds Lincoln 7Th Ward Lincoln Stake
Golden Empire Council 047
5091 Wheatland Rd
Wheatland, CA 95692


Lds Lincoln City Ward Monmouth Stake
Cascade Pacific Council 492
3565 NE W Devils Lake Rd
Lincoln City, OR 97367


Lds Lincoln Park Ward Port Angeles Stake
Chief Seattle Council 609
591 Monroe Rd
Port Angeles, WA 98362


Lds Lincoln Stake ‐ Bridgewater Ward
Grand Teton Council 107
3378 Greenwillow Ln
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Eastview Ward
Grand Teton Council 107
2326 Virlow St
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Lincoln 1St Ward
Grand Teton Council 107
3700 E Lincoln Rd
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Lincoln 2Nd Ward
Grand Teton Council 107
2545 Mesa St
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Lincoln 3Rd Ward
Grand Teton Council 107
2545 Mesa St
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Mesa Branch
Grand Teton Council 107
854 Mesa Cir
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Sandcreek 2Nd Ward
Grand Teton Council 107
2545 Mesa St
Idaho Falls, ID 83401


Lds Lincoln Stake ‐ Sandcreek 3Rd Ward
Grand Teton Council 107
2545 Mesa St
Idaho Falls, ID 83401


Lds Linden Park Ward Loveland Stake
Longs Peak Council 062
6521 Carmichael St
Fort Collins, CO 80528


Lds Linder Ward‐Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
1967 N Cairns Way
Meridian, ID 83646


Lds Lindon Eighteenth Ward
Utah National Parks 591
250 W 600 S
Lindon, UT 84042


Lds Lindon Eighth Ward
Utah National Parks 591
245 W 400 S
Lindon, UT 84042


Lds Lindon Eleventh Ward
Utah National Parks 591
1050 E 100 S
Lindon, UT 84042
Lds Lindon Fifteenth Ward
Utah National Parks 591
1050 E 100 S
Lindon, UT 84042


Lds Lindon Fifth Ward
Utah National Parks 591
610 W 100 S
Lindon
Lindon, UT 84042


Lds Lindon First Ward
Utah National Parks 591
56 E 600 N
Lindon, UT 84042


Lds Lindon Fourteenth Ward
Utah National Parks 591
320 W 500 N
Lindon, UT 84042


Lds Lindon Fourth Ward
Utah National Parks 591
739 E 100 N
Lindon, UT 84042


Lds Lindon Nineteenth Ward
Utah National Parks 591
731 E Center St
Lindon, UT 84042


Lds Lindon Ninth Ward
Utah National Parks 591
655 E 500 N
Lindon, UT 84042


Lds Lindon Second Ward
Utah National Parks 591
610 W 100 S
Lindon, UT 84042
Lds Lindon Seventeenth Ward
Utah National Parks 591
1051 E 200 S
Lindon, UT 84042


Lds Lindon Seventh Ward
Utah National Parks 591
731 E Center St
Lindon, UT 84042


Lds Lindon Sixteenth Ward
Utah National Parks 591
610 W 100 S
Lindon, UT 84042


Lds Lindon Sixth Ward
Utah National Parks 591
115 E 600 N
Lindon, UT 84042


Lds Lindon Tenth Ward
Utah National Parks 591
1100 E 200 S
Lindon, UT 84042


Lds Lindon Third Ward
Utah National Parks 591
382 E 400 N
Lindon, UT 84042


Lds Lindon Thirteenth Ward
Utah National Parks 591
1050 E 100 S
Lindon, UT 84042


Lds Lindon Twelfth Ward
Utah National Parks 591
325 Canal Dr
Lindon, UT 84042


Lds Lindon Twentieth Ward
Utah National Parks 591
56 E 600 N
Lindon, UT 84042


Lds Lindon Twenty First Ward
Utah National Parks 591
960 E 180 N
Lindon, UT 84042


Lds Lindon Twenty Third Ward
Utah National Parks 591
1613 W 590 N
Lindon, UT 84042


Lds Litchfield 2280Th Stake
Abraham Lincoln Council 144
12368 Roberson Rd
Litchfield, IL 62056


Lds Little Elm 1St Ward
Frisco Texas Shawnee Trail Stake
Circle Ten Council 571
8801 Martop Rd
Aubrey, Tx 76227


Lds Little Elm 1St Wrd
Frsco Tx Shawnee Trl Stk
Circle Ten Council 571
6800 Anderson Dr
The Colony, Tx 75056


Lds Little Elm 2Nd Wrd
Frsco Tx Shawnee Trl Stk
Circle Ten Council 571
8801 Martop Rd
Aubrey, Tx 76227


Lds Little Elm 3Rd Wrd
Frsco Tx Shawnee Tral Stk
Circle Ten Council 571
8801 Martop Rd
Aubrey, Tx 76227
Lds Little Flock Ward Rogers Stake
Westark Area Council 016
1211 N Quail Ter
Rogers, AR 72756


Lds Little Miami Ward Cincinnati E Stake
Dan Beard Council, Bsa 438
8250 Cornell Rd
Cincinnati, Oh 45249


Lds Little River Ward Annadale Stake
National Capital Area Council 082
3900 Howard St
Annandale, VA 22003


Lds Little Valley Coyote Springs Ward
Utah National Parks 591
2664 S Franklin Dr
St George, UT 84790


Lds Little Valley Jedora Ward
Utah National Parks 591
1905 E Rustic Dr
Saint George, UT 84790


Lds Little Valley Red Butte Ward
Utah National Parks 591
2503 S 2310 E Cir
Saint George, UT 84790


Lds Little Valley Second Ward
Utah National Parks 591
2454 E 3770 S
Saint George, UT 84790


Lds Little Valley Ward
Utah National Parks 591
2454 E 3770 S
Saint George, UT 84790


Lds Littlefield Ward Mesquite Stake
Utah National Parks 591
P.O. Box 488
Littlefield, AZ 86432


Lds Littleton Ward, Littleton Stake
Denver Area Council 061
910 W Ridge Rd
Littleton, CO 80120


Lds Livingston Ward, Bozeman Stake
Montana Council 315
102 W Summit St
Livingston, MT 59047


Lds Livonia Ward ‐ Westland Stake
Great Lakes Fsc 272
31450 6 Mile Rd
Livonia, MI 48152


Lds Loa Ward
Utah National Parks 591
50 S 100 W
Loa, UT 84747


Lds Loafer View Ward
Utah National Parks 591
306 S 810 E
Salem, UT 84653


Lds Loch Lomond Ward
Utah National Parks 591
1174 S 1700 W
Lehi, UT 84043


Lds Lochsa Falls Ward
Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
1450 W Cayuse Creek
Meridian, Id 83646


Lds Lockhart Ward Kyle Stake
Capitol Area Council 564
1008 State Park Rd
Lockhart, TX 78644


Lds Locust Grove Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
1695 E Amity Rd
Meridian, ID 83642


Lds Lodi 1St Ward Lodi Stake
Greater Yosemite Council 059
1510 W Century Blvd
Lodi, CA 95242


Lds Log Cabin Ward Elkhorn Springs Stake
Las Vegas Area Council 328
10312 All Seasons St
Las Vegas, NV 89131


Lds Logan 10Th Ward
Logan Central Stake
Trapper Trails 589
792 N 500 E
Logan, Ut 84321


Lds Logan 19Th Ward
Logan Central Stake
Trapper Trails 589
1255 N 600 E
Logan, Ut 84341


Lds Logan 29Th Ward
Logan Central Stake
Trapper Trails 589
792 N 500 E
Logan, Ut 84321


Lds Logan 43Rd Ward
Logan Central Stake
Trapper Trails 589
1255 N 600 E
Logan, Ut 84341


Lds Logan Canyon Ward
Mount Logan Stake
Trapper Trails 589
565 E 100 S
Logan, Ut 84321


Lds Logan Ward Council Bluffs Stake
Mid‐America Council 326
2629 260th St
Logan, IA 51546


Lds Logandale 1St Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 393
Logandale, NV 89021


Lds Logandale 2Nd Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 843
Logandale, NV 89021


Lds Logandale 3Rd Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 329
Logandale, NV 89021


Lds Logandale 4Th Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 360
Logandale, NV 89021


Lds Logandale 5Th Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 39
Logandale, NV 89021


Lds Logandale 6Th Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 379
Logandale, NV 89021


Lds Lolo Ward, Stevensville Stake
Montana Council 315
Mormon Creek Rd
Lolo, MT 59847


Lds Loma Rica Ward Yuba City Stake
Golden Empire Council 047
11646 Hill Rd
Marysville, CA 95901


Lds Lomita Ward 742
Greater Los Angeles Area 033
22721 Main St
Carson, CA 90745


Lds Lompoc 1St Ward, Lompoc Stake
Los Padres Council 053
2003 San Antonio Ct
Lompoc, CA 93436


Lds Lone Mountain Ward
Carson City Stake
Nevada Area Council 329
1331 Mckay Dr
Carson City, Nv 89703


Lds Lone Mtn Ward Lone Mtn Stake
Las Vegas Area Council 328
3300 N Buffalo Dr
Las Vegas, Nv 89129


Lds Lone Peak Ward Alpine
Utah National Parks 591
30 N Matterhorn Dr
Alpine, UT 84004


Lds Lone Pine Ward Sf
Utah National Parks 591
1396 S 2640 E
Spanish Fork, UT 84660


Lds Lone Tree First Ward
Utah National Parks 591
2023 E Pine Cone Rd
Eagle Mountain, UT 84005


Lds Lone Tree Second Ward
Utah National Parks 591
1953 E Lone Tree Pkwy
Eagle Mountain, UT 84005


Lds Lone Tree Third Ward
Utah National Parks 591
7683 N Bristlecone Rd
Eagle Mountain, UT 84005


Lds Lone Tree Ward, Castle Rock Stake
Denver Area Council 061
61 W Surrey Dr
Castle Rock, CO 80108


Lds Long Beach Branch Rainier Stake
Cascade Pacific Council 492
1305 Washington Ave S
Long Beach, WA 98631


Lds Long Mountain Ward Kingman Stake
Las Vegas Area Council 328
610 Eern
Kingman, AZ 86401


Lds Longview 1St Ward
East Texas Area Council 585
1700 Blueridge Pkwy
Longview, TX 75605


Lds Longview 2Nd Ward
East Texas Area Council 585
1700 Blueridge Pkwy
Longview, TX 75605


Lds Longwood Orlando
Central Florida Council 083
2255 Lake Emma Rd
Lake Mary, FL 32746
Lds Loomis 1St Ward Lincoln Stake
Golden Empire Council 047
5742 Sparas St
Loomis, CA 95650


Lds Loomis 2Nd Ward Lincoln Stake
Golden Empire Council 047
9215 Miners Xing
Loomis, CA 95650


Lds Loomis 3Rd Ward Lincoln Stake
Golden Empire Council 047
3420 Rachel Ct
Loomis, CA 95650


Lds Lorin Farr 1St Ward
Lorin Farr Stake
Trapper Trails 589
480 E 7Th St
Ogden, Ut 84404


Lds Lorin Farr 2Nd Ward
Lorin Farr Stake
Trapper Trails 589
480 E 7Th St
Ogden, Ut 84404


Lds Lorin Farr 3Rd Ward
Lorin Farr Stake
Trapper Trails 589
1570 E 1300 S
Ogden, Ut 84404


Lds Lorin Farr 4Th Ward
Lorin Farr Stake
Trapper Trails 589
770 15Th St
Ogden, Ut 84404


Lds Lorin Farr 5Th Ward
Lorin Farr Stake
Trapper Trails 589
1570 E 1300 S
Ogden, Ut 84404


Lds Lorin Farr 6Th Ward
Lorin Farr Stake
Trapper Trails 589
770 15Th St
Ogden, Ut 84404


Lds Los Alamitos Ward
San Jose South Stake
Silicon Valley Monterey Bay 055
5700 Comanche Dr
San Jose, Ca 95123


Lds Los Alamitos Ward E Lb Stake
Long Beach Area Council 032
4142 Cerritos Ave
Los Alamitos, CA 90720


Lds Los Alamos Ward Santa Fe Stake
Great Swest Council 412
1967 18th St
Los Alamos, NM 87544


Lds Los Altos Ward Abq East Stake
Great Swest Council 412
12701 Indian School Rd Ne
Albuquerque, NM 87112


Lds Los Altos Ward, Los Altos Stake
Pacific Skyline Council 031
190 Jordan Ave
Los Altos, CA 94022


Lds Los Angeles 3Rd Ward
194 Los Angeles Stake
Greater Los Angeles Area 033
1209 S Manhattan Pl
Los Angeles, Ca 90019


Lds Los Angeles 4Th Ward
741 Los Angeles Stake
Greater Los Angeles Area 033
1552 N Normandie Ave
Los Angeles, Ca 90027


Lds Los Angeles 6Th Ward
294 Los Angeles Stake
Greater Los Angeles Area 033
3115 S Vermont Ave
Los Angeles, Ca 90007


Lds Los Banos Ward Merced Stake
Greater Yosemite Council 059
1826 S Center Ave
Los Banos, CA 93635


Lds Los Gatos Ward ‐ Saratoga Stake
Silicon Valley Monterey Bay 055
15985 Rose Ave
Los Gatos, CA 95030


Lds Los Lunas Ward Los Lunas Stake
Great Swest Council 412
160 James Ct
Los Lunas, NM 87031


Lds Los Prados Ward Shadow Mtn Stake
Las Vegas Area Council 328
6051 Dorrell Lane
Las Vegas, Nv 89130


Lds Los Robles Ward Newbury Park Stake
Ventura County Council 057
35 S Wendy Dr
Newbury Park, CA 91320


Lds Loudon Knoxville
Great Smoky Mountain Council 557
1005 Mulberry St
Loudon, TN 37774


Lds Louetta Ward
Houston Sp West Stake
Sam Houston Area Council 576
10555 Mills Rd
Houston, Tx 77070


Lds Louisville 1St Ward
Lincoln Heritage Council 205
1333 Eern Pkwy
Louisville, KY 40204


Lds Louisville 2Nd Ward
Lincoln Heritage Council 205
1000 Hurstbourne Ln
Louisville, KY 40233


Lds Louisville 3Rd Ward
Lincoln Heritage Council 205
1000 S Hurstbourne Pkwy
Louisville, KY 40222


Lds Louisville 4Th Ward
Lincoln Heritage Council 205
7880 Saint Andrews Church Rd
Louisville, KY 40258


Lds Louisville 6Th Ward
Lincoln Heritage Council 205
1000 N Hurstbourne Pkwy
Louisville, KY 40223


Lds Lovell 1St Ward, Lovell Stake
Greater Wyoming Council 638
50 W Main St
Lovell, WY 82431


Lds Lovell 2Nd Ward, Lovell Stake
Greater Wyoming Council 638
50 W Main St
Lovell, WY 82431


Lds Lovell 3Rd Ward, Lovell Stake
Greater Wyoming Council 638
50 W Main St
Lovell, WY 82431


Lds Lovell 4Th Ward, Lovell Stake
Greater Wyoming Council 638
50 W Main St
Lovell, WY 82431


Lds Lovell 5Th Ward, Lovell Stake
Greater Wyoming Council 638
50 W Main St
Lovell, WY 82431


Lds Lovelock Ward ‐ Winnemucca Stake
Nevada Area Council 329
885 Kruse Rd
Lovelock, NV 89419


Lds Lowell Ward Nashua Stake
The Spirit of Adventure 227
421 Princeton Blvd
Lowell, MA 01851


Lds Ludlow Ward
Western Massachusetts Council 234
584 W St
Ludlow, MA 01056


Lds Lukachukai Ward Chinle Stake
Great Swest Council 412
P.O. Box A754
Tsaile, AZ 86556


Lds Lund Ward ‐ Ely Stake
Nevada Area Council 329
88 S Main
Lund, NV 89317


Lds Lundeen Park Ward Marysville Stake
Mount Baker Council, Bsa 606
7702 44th St Ne
Marysville, WA 98270
Lds Lundstrom Park 1St Ward
Logan East Stake
Trapper Trails 589
1260 N 1600 E
Logan, Ut 84341


Lds Lundstrom Park 2Nd Ward
Logan East Stake
Trapper Trails 589
1260 N 1600 E
Logan, Ut 84341


Lds Lundstrom Park 3Rd Ward
Logan East Stake
Trapper Trails 589
1260 N 1600 E
Logan, Ut 84341


Lds Lyman Ward
Utah National Parks 591
General Delivery
P.O. Box 1471
Lyman, UT 84749


Lds Lynbrook Ward Tule Springs Stake
Las Vegas Area Council 328
7912 Morning Gallop Ct
Las Vegas, NV 89131


Lds Lynchburg Ward 1
Buena Vista Stake
Blue Ridge Mtns Council 599
110 Melinda Dr
Lynchburg, Va 24502


Lds Lynchburg Ward 2
Buena Vista Stake
Blue Ridge Mtns Council 599
429 Elmwood Ave
Lynchburg, Va 24503
Lds Lynchburg Ward 3
Buena Vista Stake
Blue Ridge Mtns Council 599
102 Hitching Post Ln
Forest, Va 24551


Lds Lynden Ward Bellingham Stake
Mount Baker Council, Bsa 606
503 Everson Rd
Everson, WA 98247


Lds Lynn Haven Ward
Gulf Coast Council 773
3140 State Ave
Panama City, FL 32405


Lds Lynnfield Ward Cambridge Stake
The Spirit of Adventure 227
400 Essex St
Lynnfield Ward
Lynnfield, MA 01940


Lds Lynwood 2Nd Ward
429 Huntington Park Stake
Greater Los Angeles Area 033
6659 Gundry Ave
Lynwood, Ca 90262


Lds Lyons Ward Palmyra Stake
Seneca Waterways 397
Sohn Alloway Rd
Lyons, NY 14489


Lds Machias Ward Snohomish Stake
Mount Baker Council, Bsa 606
2317 119th Dr Se
Lake Stevens, WA 98258


Lds Macland Ward Powder Springs Stake
Atlanta Area Council 092
2595 New Macland Rd
Powder Springs, GA 30127
Lds Macomb Ward Nauvoo Illinois Stake
Illowa Council 133
2000 W Adams Rd
Macomb, IL 61455


Lds Macon First Ward
Central Georgia Council 096
1624 Williamson Rd
Macon, GA 31206


Lds Madeira Canyon Ward
Anthem Hills Stake
Las Vegas Area Council 328
875 Rich Perez Jr
Henderson, Nv 89052


Lds Madison 1St Ward Madison Stake
Greater Alabama Council 001
1297 Slaughter Rd
Madison, AL 35758


Lds Madison 2Nd Ward, Madison Stake
Greater Alabama Council 001
1297 Slaughter Rd
Madison, AL 35758


Lds Madison Second Ward Wisconsin Stake
Glaciers Edge Council 620
5602 Irongate Dr
Madison, WI 53716


Lds Madison Stake
Lincoln Heritage Council 205
1310 Cave Mill Rd
Bowling Green, KY 42104


Lds Madison Ward
Lincoln Heritage Council 205
1113 Michigan Rd
Madison, IN 47250
Lds Madisonville
Lincoln Heritage Council 205
2355 N Main St
Madisonville, KY 42431


Lds Madisonville Ward
Lincoln Heritage Council 205
2355 N Main St
Madisonville, KY 42431


Lds Madras Ward ‐ Redmond Stake
Crater Lake Council 491
2447 SE Sagebrush Dr
Madras, OR 97741


Lds Maeser Fifth Ward
Utah National Parks 591
3328 W 940 N
Vernal, UT 84078


Lds Maeser First Ward
Utah National Parks 591
850 W 100 N
Vernal, UT 84078


Lds Maeser Fourth Ward
Utah National Parks 591
3462 W 1600 N
Vernal, UT 84078


Lds Maeser Second Ward
Utah National Parks 591
2575 N 1500 W
Vernal, UT 84078


Lds Maeser Seventh Ward
Utah National Parks 591
2755 W 1200 N
Vernal, UT 84078


Lds Maeser Sixth Ward
Utah National Parks 591
916 N 3315 W
Vernal, UT 84078


Lds Maeser Third Ward
Utah National Parks 591
2575 N 1500 W
Vernal, UT 84078


Lds Magnolia 2Nd Ward
The Woodlands Stake
Sam Houston Area Council 576
10303 Branch Crossing Dr
The Woodlands, Tx 77382


Lds Mahomet Ward Champaign Stake
Prairielands 117
604 W Windsor Rd
Champaign, IL 61820


Lds Major Meadows Ward
Clearfield Stake
Trapper Trails 589
2150 S 800 E
Clearfield, Ut 84015


Lds Makawao Ward, Kahului Hi Stake
Aloha Council, Bsa 104
3356 Kihapai Pl
Makawao, HI 96768


Lds Malad Stake ‐ 1St Ward
Grand Teton Council 107
1250 N 1100 W
Malad City, ID 83252


Lds Malad Stake ‐ 2Nd Ward
Grand Teton Council 107
20 S 100 W
Malad City, ID 83252


Lds Malad Stake ‐ 3Rd Ward
Grand Teton Council 107
400 N 200 W
Malad City, ID 83252


Lds Malad Stake ‐ 4Th Ward
Grand Teton Council 107
160 S 300 E
Malad City, ID 83252


Lds Malad Stake ‐ 5Th Ward
Grand Teton Council 107
20 S 100 W
Malad City, ID 83252


Lds Malad Stake ‐ 7Th Ward
Grand Teton Council 107
400 N 200 W
Malad City, ID 83252


Lds Malad Stake ‐ Holbrook Ward
Grand Teton Council 107
100 N 100 W
Holbrook, ID 83243


Lds Malad Stake ‐ Malad 6Th Ward
Grand Teton Council 107
400 N 200 W
Malad City, ID 83252


Lds Malad Stake ‐ Pleasant View Ward
Grand Teton Council 107
1250 N 1100 W
Malad City, ID 83252


Lds Malad Stake ‐ St John Ward
Grand Teton Council 107
1250 N 1100 W
Malad City, ID 83252


Lds Mall Drive Ward
Utah National Parks 591
8 S 2060 E
St George, UT 84790
Lds Maltby Ward Snohomish Stake
Mount Baker Council, Bsa 606
17372 Tester Rd
Monroe, WA 98272


Lds Manassa 1St Ward, Manassa Stake
Rocky Mountain Council 063
P.O. Box 574
Manassa, CO 81141


Lds Manassa 2Nd Ward, Manassa Stake
Rocky Mountain Council 063
P.O. Box 792
Manassa, CO 81141


Lds Manassa 3Rd Ward, Manassa Stake
Rocky Mountain Council 063
P.O. Box 514
Manassa, CO 81141


Lds Manassas 2 Ward Centreville Stake
National Capital Area Council 082
8001 Barrett Dr
Manassas, VA 20109


Lds Manassas Ward Centreville Stake
National Capital Area Council 082
14150 Upperridge Dr
Centreville, VA 20121


Lds Manchester 1St Ward
Concord Nh Stake
Daniel Webster Council, Bsa 330
15 Autumn Run
Hooksett, Nh 03106


Lds Manchester Ward Bremerton Stake
Chief Seattle Council 609
1550 Hoover Ave Se
Port Orchard, WA 98366
Lds Mancos Ward Durango Stake
Great Swest Council 412
12180 Rd 40
Mancos, CO 81328


Lds Manette Ward Bremerton Stake
Chief Seattle Council 609
2225 Perry Ave
Bremerton, WA 98310


Lds Manhattan 1St Ward/New York Stake
Greater New York Councils, Bsa 640
125 Columbus Ave
New York, NY 10023


Lds Manhattan 2Nd Ward/New York Stake
Greater New York Councils, Bsa 640
217 E 87th St
New York, NY 10128


Lds Manhattan Beach Ward
Torrance N Stake 873
Greater Los Angeles Area 033
501 N Rowell Ave
Manhattan Beach, Ca 90266


Lds Manila Eighth Ward
Utah National Parks 591
3785 W Box Elder Dr
Pleasant Grove, UT 84062


Lds Manila Eleventh Ward
Utah National Parks 591
850 N 900 E
American Fork, UT 84003


Lds Manila Fifth Ward Pg
Utah National Parks 591
4262 W Manila Creek Dr
Cedar Hills, UT 84062
Lds Manila First Ward
Utah National Parks 591
3172 Millcreek Rd
Pleasant Grove, UT 84062


Lds Manila Fourth Ward
Utah National Parks 591
1320 W 3540 N
Pleasant Grove, UT 84062


Lds Manila Ninth Ward
Utah National Parks 591
9093 Silver Lake Dr
Cedar Hills, UT 84062


Lds Manila Second Ward
Utah National Parks 591
965 E 1420 N
American Fork, UT 84003


Lds Manila Seventh Ward Pg
Utah National Parks 591
1320 W 3540 N
Pleasant Grove, UT 84062


Lds Manila Sixth Ward
Utah National Parks 591
1528 W 3400 N
Pleasant Grove, UT 84062


Lds Manila Tenth Ward
Utah National Parks 591
3564 Cascade Springs Cv
Cedar Hills, UT 84062


Lds Manila Third Ward
Utah National Parks 591
3396 N 900 W
Pleasant Grove, UT 84062


Lds Manila Twelfth Ward
Utah National Parks 591
1232 N 1150 E
American Fork, UT 84003


Lds Manitowoc Ward
Bay‐Lakes Council 635
1348 N Union Rd
Manitowoc, WI 54220


Lds Manse Spgs Ward Blue Diamond Stake
Las Vegas Area Council 328
3390 Peggy Ave
Pahrump, Nv 89048


Lds Mansfield 3Rd Ward
Longhorn Council 662
4111 Water Park Cir
Mansfield, TX 76063


Lds Manti Eighth Ward
Utah National Parks 591
185 W 500 S
Manti, UT 84642


Lds Manti Fifth Ward
Utah National Parks 591
90 S Main St
Manti, UT 84642


Lds Manti First Ward
Utah National Parks 591
90 S Main St
Manti, UT 84642


Lds Manti Fourth Ward
Utah National Parks 591
90 S Main
Manti, UT 84642


Lds Manti Ninth Ward
Utah National Parks 591
416 S 200 W
Manti, UT 84642
Lds Manti Second Ward
Utah National Parks 591
96 S Main St
Manti, UT 84642


Lds Manti Sixth Ward
Utah National Parks 591
344 E 300 S
555 E Union
Manti, UT 84642


Lds Manti Tenth Ward
Utah National Parks 591
96 S Main St
Manti, UT 84642


Lds Manti Third Ward
Utah National Parks 591
555 E Union
Manti, UT 84642


Lds Many
Norwela Council 215
2084 Natchitoches Hwy
Many, LA 71449


Lds Maple Canyon Ward
Utah National Parks 591
760 S Woodland Hills Dr
Woodland Hills, UT 84653


Lds Maple Dell Ward
Utah National Parks 591
711 S 600 E
Payson, UT 84651


Lds Maple Grove Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
8620 Goddard Rd
Boise, ID 83704
Lds Maple Highlands Ward
Utah National Parks 591
2188 E 100 S
Spanish Fork, UT 84660


Lds Maple Meadows First Ward Sp Fork
Utah National Parks 591
1911 E 1850 S
Spanish Fork, UT 84660


Lds Maple Meadows Second Ward   Sp Fork
Utah National Parks 591
2222 E 1480 S
Spanish Fork, UT 84660


Lds Maple Park Ward
Utah National Parks 591
352 S Spanish Fork Pkwy
Spanish Fork, UT 84660


Lds Maples Ward
Utah National Parks 591
952 W 1580 S
Payson, UT 84651


Lds Mapleton Eighteenth Ward
Utah National Parks 591
1215 N 1000 W
Mapleton, UT 84664


Lds Mapleton Eighth Ward
Utah National Parks 591
1215 N 1000 W
Mapleton, UT 84664


Lds Mapleton Eleventh Ward
Utah National Parks 591
1600 N Main St
Mapleton, UT 84664


Lds Mapleton Fifteenth Ward
Utah National Parks 591
1902 N 800 W
Mapleton, UT 84664


Lds Mapleton Fifth Ward
Utah National Parks 591
970 N 400 E
Mapleton, UT 84664


Lds Mapleton First Ward
Utah National Parks 591
31 W Maple
Mapleton, UT 84664


Lds Mapleton Fourteenth Ward
Utah National Parks 591
1316 S Main St
Mapleton, UT 84664


Lds Mapleton Fourth Ward
Utah National Parks 591
1316 S Main
Mapleton, UT 84664


Lds Mapleton Nineteenth Ward
Utah National Parks 591
31 W Maple St
Mapleton, UT 84664


Lds Mapleton Ninth Ward
Utah National Parks 591
31 W Maple
Mapleton, UT 84664


Lds Mapleton Second Ward
Utah National Parks 591
475 N 1600 W
Mapleton, UT 84664


Lds Mapleton Seventeenth Ward
Utah National Parks 591
1406 W 1600 S
Mapleton, UT 84664


Lds Mapleton Seventh Ward
Utah National Parks 591
1050 N 300 W
Mapleton, UT 84664


Lds Mapleton Sixteenth Ward
Utah National Parks 591
570 E 1600 S
Mapleton, UT 84664


Lds Mapleton Sixth Ward
Utah National Parks 591
1600 N Main St
Mapleton, UT 84664


Lds Mapleton Tenth
Utah National Parks 591
1068 S 1600 W
Mapleton, UT 84664


Lds Mapleton Third Ward
Utah National Parks 591
970 N 400 E
Mapleton, UT 84664


Lds Mapleton Thirteenth Ward
Utah National Parks 591
970 N 400 E
Mapleton, UT 84664


Lds Mapleton Twelfth Ward
Utah National Parks 591
885 N 1140 W
Mapleton, UT 84664


Lds Mapleton Twentieth Ward
Utah National Parks 591
475 N 1600 W US Hwy 89
Mapleton, UT 84664
Lds Mapleton Twenty Fifth Ward
Utah National Parks 591
618 E Perry Hollow Dr
Mapleton, UT 84664


Lds Mapleton Twenty First Ward
Utah National Parks 591
598 N 1000 E
Mapleton, UT 84664


Lds Mapleton Twenty Fourth Ward
Utah National Parks 591
2154 Alaska Ave
Provo, UT 84606


Lds Mapleton Twenty Second Ward
Utah National Parks 591
1972 W 2230 S
Mapleton, UT 84664


Lds Mapleton Twenty Third Ward
Utah National Parks 591
1467 N 700 W
Mapleton, UT 84664


Lds Maplewood Ward Beaverton Stake
Cascade Pacific Council 492
7796 SW 66Th
Portland, OR 97223


Lds Marble Cliff Ward Columbus
Simon Kenton Council 441
3880 Gateway Blvd
Columbus, OH 43228


Lds Marble Falls Ward, Oak Hill Stake
Capitol Area Council 564
920 Via Viejo St
Marble Falls, TX 78654


Lds Marina Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
1024 Noche Buena St
Seaside, CA 93955


Lds Marina Ward ‐ Sparks West Stake
Nevada Area Council 329
1774 Mesa Vista Dr
Sparks, NV 89434


Lds Marlboro Ward Blackstone Vly Stake
Mayflower Council 251
260 Hemenway St
Marlborough, Ma 01752


Lds Marshall Branch ‐ Kalamazoo Stake
Southern Shores Fsc 783
16036 N Old US 27
Marshall, MI 49068


Lds Marsing 1St Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 370
Marsing, ID 83639


Lds Marsing 2Nd Ward‐Caldwell Stk
Ore‐Ida Council 106 ‐ Bsa 106
215 S 3rd Ave W
Marsing, ID 83639


Lds Martinez Ward Augusta Georgia Stake
Georgia‐Carolina 093
835 N Belair Rd
Evans, GA 30809


Lds Martinsburg Ward
Martinsburg, Wv Stake
Shenandoah Area Council 598
93 Langston Blvd
Martinsburg Wv Stake
Martinsburg, Wv 25404


Lds Martinsburg Ward
Martinsburg,Wv Stake
Shenandoah Area Council 598
1050 Lovelace Way
Martinsburg Ward/Martinsburg Wv Stake
Martinsburg, Wv 25401


Lds Martinsville Ward ‐ Bloomington
Hoosier Trails Council 145 145
100 Church St
Martinsville, IN 46151


Lds Marysvale Ward
Utah National Parks 591
385 Bullion Ave
Marysvale, UT 84750


Lds Marysville 1St Ward Yuba City Stake
Golden Empire Council 047
1869 Park Cir
Marysville, CA 95901


Lds Maryville Knoxville
Great Smoky Mountain Council 557
706 Amerine Rd
Maryville, TN 37804


Lds Mason City Ward‐Ames, Ia
Winnebago Council, Bsa 173
1309 S Kentucky Ave
Mason City, IA 50401


Lds Mason Creek Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
1695 E Amity Rd
Meridian, ID 83642


Lds Massaponax Ward Fredericksburg Stake
National Capital Area Council 082
5600 Smith Station Rd
Fredericksburg, VA 22407


Lds Mather Ward Cordova Stake
Golden Empire Council 047
9821 Old Plrville Rd
Sacramento, CA 95827


Lds Mattoon Ward Champaign Stake
Greater St Louis Area Council 312
7426 W Country Club Rd
Mattoon, IL 61938


Lds May Creek Ward Renton Stake
Chief Seattle Council 609
4200 124th Ave Se
Bellevue, WA 98006


Lds May Valley Ward Bellevue South Stake
Chief Seattle Council 609
16028 SE 148th St
Renton, WA 98059


Lds Mayfield Hgts Ward Kirtland Stake
Lake Erie Council 440
3395 Lawton Ln
Pepper Pike, OH 44124


Lds Mayfield Ward
Utah National Parks 591
11 E 100 N
Mayfield, UT 84643


Lds Mays Pond Ward Lynnwood Stake
Mount Baker Council, Bsa 606
16124 35th Ave Se
Mill Creek, WA 98012


Lds Mccall 2Nd Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 2201
Mccall, ID 83638


Lds Mccall Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
912 S Samson Trl
Mccall, ID 83638


Lds Mccammon Stake ‐ Inkom Ward
Grand Teton Council 107
973 N Rapid Creek Rd
Inkom, ID 83245


Lds Mccammon Stake ‐ Jackson Creek Wd
Grand Teton Council 107
150 Snow Peak
Inkom, ID 83245


Lds Mccammon Stake ‐ Marsh Creek Ward
Grand Teton Council 107
804 Logan
Mccammon, ID 83250


Lds Mccammon Stake ‐ Mccammon Ward
Grand Teton Council 107
P.O. Box 51
Mccammon, ID 83250


Lds Mccammon Stake ‐ Mountain View Ward
Grand Teton Council 107
403 W 16Th
Mccammon, ID 83250


Lds Mccammon Stake ‐ Rapid Creek Ward
Grand Teton Council 107
973 N Rapid Creek Rd
Inkom, ID 83245


Lds Mccammon Stake ‐ Skyline Ward
Grand Teton Council 107
P.O. Box 266
Inkom, ID 83245


Lds Mccullough Hills Ward
Mccullough Hills Stake
Las Vegas Area Council 328
567 W Pacific
Henderson, Nv 89002
Lds Mcgill Ward ‐ Ely Stake
Nevada Area Council 329
10 4th St
Mcgill, NV 89318


Lds Mckay Lake Ward, Westminster Stake
Denver Area Council 061
13370 Lowell Blvd
Broomfield, CO 80020


Lds Mckinleyville Ward ‐ Eureka Stake
Crater Lake Council 491
3017 Sandpointe Dr
Mckinleyville, CA 95519


Lds Mckinleyville Ward‐ Eureka Stake
Crater Lake Council 491
1599 Central Ave
Mckinleyville, CA 95519


Lds Mclean 1 Ward Mclean Stake
National Capital Area Council 082
2034 Great Falls St
Falls Church, VA 22043


Lds Mclean 2 Ward Mclean Stake
National Capital Area Council 082
1325 Scotts Run Rd
Mclean, VA 22102


Lds Mclean Stake Tysons Ward
National Capital Area Council 082
2034 Grear Falls St
Falls Church, VA 22043


Lds Mclean Stake Tysons Ward
National Capital Area Council 082
2034 Great Falls St
Falls Church, VA 22043
Lds Mcloughlin Ward Vancouver Stake
Cascade Pacific Council 492
10509 SE 5th St
Vancouver, WA 98664


Lds Mcmillan Ward‐Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
Mcmillan   Ustick Rd
Meridian, ID 83646


Lds Mcminnville 1st Ward
Mcminnville Stake
Cascade Pacific Council 492
1645 Nw Baker Creek Rd
Mcminnville, Or 97128


Lds Mcminnville Second Ward
Mcminnville Stake
Cascade Pacific Council 492
1645 Nw Baker Creek Rd
Mcminnville, Or 97128


Lds Mcneil Ward Round Rock, Tx Stake
Capitol Area Council 564
8140 Racine Trl
Austin, TX 78717


Lds Meadow Creek Ward
Roy Midland Stake
Trapper Trails 589
3649 W 4800 S
Roy, Ut 84067


Lds Meadow Grass Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
3775 E Ustick Rd
Meridian, ID 83646


Lds Meadow Green Ward
Layton Legacy Stake
Trapper Trails 589
752 N 3700 W
Layton, Ut 84041
Lds Meadow Ranch First Ward
Utah National Parks 591
2814 E Autumn Dr
Eagle Mountain, UT 84005


Lds Meadow Ranch Second Ward
Utah National Parks 591
2274 E Hawk Ln
Eagle Mountain, UT 84005


Lds Meadow Ranch Ward
Utah National Parks 591
1650 W Center St
Cedar City, UT 84720


Lds Meadow Run Ward‐North Stake
Pikes Peak Council 060
6950 Shoup Rd
Colorado Springs, CO 80908


Lds Meadow Springs Ward Kennewick Stake
Blue Mountain Council 604
724 N Pittsburg St
Kennewick, WA 99336


Lds Meadow Valley Ward ‐ Elko East Stake
Nevada Area Council 329
1651 College Pkwy
Elko, NV 89801


Lds Meadow Valley Ward Little Valley
Utah National Parks 591
2470 E Portofino Cir
St George, UT 84790


Lds Meadow Ward
Utah National Parks 591
P.O. Box 130
Meadow, UT 84644
Lds Meadowbrook Ward/Yakima Stake
Grand Columbia Council 614
1522 S 68th Ave
Yakima, WA 98908


Lds Meadowdale Ward Lynnwood Stake
Mount Baker Council, Bsa 606
17321 44th Ave W
Lynnwood, WA 98037


Lds Meadowlark First Ward
Utah National Parks 591
1150 E 1240 S
Spanish Fork, UT 84660


Lds Meadowlark Second Ward
Utah National Parks 591
1661 S 1400 E
Spanish Fork, UT 84660


Lds Meadowood Ward
Utah National Parks 591
303 W 3700 N
Provo, UT 84604


Lds Meadowood Ward, Aurora South Stake
Denver Area Council 061
3101 S Flanders St
Aurora, CO 80013


Lds Meadows Ward
Kaysville Central Stake
Trapper Trails 589
555 N 100 E
Kaysville, Ut 84037


Lds Meadows Ward Vancouver North Stake
Cascade Pacific Council 492
14219 Neast 49th St
Vancouver, WA 98682


Lds Meadows Ward, Bakersfield Stake
Southern Sierra Council 030
2828 Mccray St
Bakersfield, CA 93308


Lds Meadows Ward, Castle Rock Stake
Denver Area Council 061
3301 Meadows Blvd
Castle Rock, CO 80109


Lds Medford 1St Ward ‐ Medford Stake
Crater Lake Council 491
2900 Juanipero Way
Medford, OR 97504


Lds Medford 2Nd Ward ‐ Medford Stake
Crater Lake Council 491
2141 Brookhurst St
Medford, OR 97504


Lds Medford 3Rd Ward
Central Point Stake
Crater Lake Council 491
6040 Foothill Rd
Central Point, Or 97502


Lds Medford 4Th Ward
Central Point Stake
Crater Lake Council 491
2475 Griffin Creek Rd
Medford, Or 97501


Lds Medford 6Th Ward ‐ Medford Stake
Crater Lake Council 491
2900 Juanipero Way
Medford, OR 97504


Lds Medford 8Th Ward ‐ Medford Stake
Crater Lake Council 491
2900 Juanipero Way
Medford, OR 97504


Lds Medford Ward/Cherry Hill Nj Stake
Garden State Council 690
609 Tabernacle Rd
Medford, NJ 08055


Lds Meeker Ward/Craig Stake
Denver Area Council 061
P.O. Box 1214
Meeker, CO 81641


Lds Meeteetse Ward, Cody Stake
Greater Wyoming Council 638
P.O. Box 207
Meeteetse, WY 82433


Lds Meeteetse Ward,Cody Stake
Greater Wyoming Council 638
P.O. Box 207
1716 Hays Ave
Meeteetse, WY 82433


Lds Melanie Acres Ward
Clearfield South Stake
Trapper Trails 589
2186 S 125 W
Clearfield, Ut 84015


Lds Melba 1St Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
112 Randolph St
Melba, ID 83641


Lds Melba 2Nd Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
112 Randolph St
Melba, ID 83641


Lds Melba 3Rd Ward‐Kuna Stk
Ore‐Ida Council 106 ‐ Bsa 106
112 S Randolph Ave
Melba, ID 83641


Lds Melbourne Cocoa
Central Florida Council 083
1145 Creel St
Melbourne, FL 32935


Lds Melbourne Ward
Houston North Stake
Sam Houston Area Council 576
65 Melbourne St
Houston, Tx 77022


Lds Melissa Br‐Colorado Spgs Stake
Pikes Peak Council 060
2750 Melissa Dr
Colorado Springs, Co 80907


Lds Melody Lane Ward
Grand Junction Stake
Denver Area Council 061
543 Melody Ln
Grand Junction, Co 81501


Lds Melton Lake Cumberland
Great Smoky Mountain Council 557
140 Jefferson Cir
Oak Ridge, TN 37830


Lds Memorial Hill Ward
Utah National Parks 591
129 S 580 E
Midway, UT 84049


Lds Memorial Park 1St Ward
Houston South Stake
Sam Houston Area Council 576
1101 Bering Dr
Houston, Tx 77057


Lds Memorial Park 2Nd Ward
Houston South Stake
Sam Houston Area Council 576
1101 Bering Dr
Houston, Tx 77057
Lds Memorial Park Ward
South Ogden Stake
Trapper Trails 589
3755 Porter Ave
Ogden, Ut 84403


Lds Memorial Springs Ward
Tomball Stake
Sam Houston Area Council 576
9525 Spring Cypress Rd
Spring, Tx 77379


Lds Menan Stake ‐ Annis Ward
Grand Teton Council 107
690 N 3862 E
Rigby, ID 83442


Lds Menan Stake ‐ Grant 1St Ward
Grand Teton Council 107
3431 E 100 N
Rigby, ID 83442


Lds Menan Stake ‐ Grant 2Nd Ward
Grand Teton Council 107
88 N 3250 E
Rigby, ID 83442


Lds Menan Stake ‐ Lewisville 1St Ward
Grand Teton Council 107
P.O. Box 96
325 N 3251 E
Lewisville, ID 83431


Lds Menan Stake ‐ Lewisville 2Nd Ward
Grand Teton Council 107
445 N 3600 E
Lewisville, ID 83431


Lds Menan Stake ‐ Menan 1St Ward
Grand Teton Council 107
P.O. Box 220
Menan, ID 83434
Lds Menan Stake ‐ Menan 2Nd Ward
Grand Teton Council 107
P.O. Box 190
Menan, ID 83434


Lds Menan Stake ‐ Menan 3Rd Ward
Grand Teton Council 107
1161 E Butte Rd
Menan, ID 83434


Lds‐ Mendon 2Nd Ward/Mendon Stake
Trapper Trails 589
460 S 100 E
Mendon, UT 84325


Lds Menlo Park Ward, Menlo Park Stake
Pacific Skyline Council 031
1105 Valparaiso Ave
Menlo Park, CA 94025


Lds Merced 1St Ward Merced Stake
Greater Yosemite Council 059
2976 Mckee Rd
Merced, CA 95340


Lds Merced 3Rd Ward Merced Stake
Greater Yosemite Council 059
1080 E Yosemite Ave
Merced, CA 95340


Lds Mercey Springs Ward Merced Stake
Greater Yosemite Council 059
1826 S Center Ave
Los Banos, CA 93635


Lds Meridian 11Th Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
5645 S Maple Grove Rd
Boise, ID 83709
Lds Meridian 12Th Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1560 N 10 Mile Rd
Meridian, ID 83642


Lds Meridian 14Th Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
12040 W Amity Rd
Boise, ID 83709


Lds Meridian 16Th Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
6575 S Eagle Rd
Meridian, ID 83642


Lds Meridian 19Th Ward‐Mer E Stk
Ore‐Ida Council 106 ‐ Bsa 106
9846 W Secretariat Ct
Boise, ID 83704


Lds Meridian 1St Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1615 W 2nd St
Meridian, ID 83642


Lds Meridian 2Nd Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
3451 N Locust Grove Rd
Meridian, ID 83646


Lds Meridian 3Rd Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
2484 N Hickory Way
Meridian, ID 83646


Lds Meridian 4Th Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
6575 S Eagle Rd
Meridian, ID 83642


Lds Meridian 5Th Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
2480 W Victory Rd
Meridian, ID 83642


Lds Meridian Greens Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
1920 S Locust Grove Rd
Meridian, ID 83642


Lds Meridian Park Ward Tualatin Stake
Cascade Pacific Council 492
9820 SW Choctaw St
Tualatin, OR 97062


Lds Meridian Ward ‐ Lansing Stake
Water and Woods Council 782
5301 Holt Rd
Holt, MI 48842


Lds Meridian Ward‐High Plains Stake
Pikes Peak Council 060
13210 Bandanero Dr
Falcon, CO 80831


Lds Merlin Ward ‐ Grants Pass Stake
Crater Lake Council 491
339 Jumpoff Joe Creek Rd
Grants Pass, OR 97526


Lds Merrilltown Ward, Austin Stake
Capitol Area Council 564
700 N Heatherwilde Blvd
Pflugerville, TX 78660


Lds Merrimack Ward Nashua Stake
Daniel Webster Council, Bsa 330
110 Concord St
Nashua, NH 03064


Lds Mesa Hills Ward Cc
Utah National Parks 591
1925 W 320 S
Cedar City, UT 84720
Lds Mesa Oaks Ward, Santa Barbara Stake
Los Padres Council 053
212 E Central Ave
Lompoc, CA 93436


Lds Mesa Ridge Ward‐Fountain Stake
Pikes Peak Council 060
325 Putnam Dr
Colorado Springs, CO 80911


Lds Mesa Vista Ward
Los Padres Council 053
478 Cambridge Dr
Goleta, CA 93117


Lds Mesa Ward, Pueblo Stake
Rocky Mountain Council 063
4720 Surfwood Ln
Pueblo, CO 81005


Lds Mesquite 1St Ward Mesquite Stake
Utah National Parks 591
P.O. Box 121
Mesquite, NV 89024


Lds Mesquite 2Nd Ward Mesquite Stake
Utah National Parks 591
474 Bulldog Dr
Mesquite, NV 89027


Lds Mesquite 3Rd Ward Mesquite Stake
Utah National Parks 591
386 Hafen Ln
Mesquite, NV 89027


Lds Mesquite 4Th Ward Mesquite Stake
Utah National Parks 591
General Delivery
180 Grayce Dr
Mesquite, NV 89024
Lds Mesquite 5Th Ward Mesquite Stake
Utah National Parks 591
937 Vista Del Sol Ct
Mesquite, NV 89027


Lds Mesquite 7Th Ward Mesquite Stake
Utah National Parks 591
100 N Arrowhead Ln
Mesquite, NV 89027


Lds Messina Meadows Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
6575 S Eagle Rd
Meridian, ID 83642


Lds Methuen Ward
The Spirit of Adventure 227
39 Hill St
Methuen, MA 01844


Lds Mexico Ward ‐ Columbia Stake
Great Rivers Council 653
635 Ringo St
Mexico, MO 65265


Lds Midbury Br
Montpelier Vermont Stake
Green Mountain 592
133 Valley Vw
Middlebury, Vt 05753


Lds Middleton 10Th Ward
Middleton Stake
Ore‐Ida Council 106 ‐ Bsa 106
23644 Old Hwy 30
Caldwell, Id 83605


Lds Middleton 11Th Ward
Middleton Stake
Ore‐Ida Council 106 ‐ Bsa 106
309 W Main St
Middleton, Id 83644
Lds Middleton 13Th Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
24032 Wanda Way
Middleton, ID 83644


Lds Middleton 1St Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
23644 Old Hwy. 30
Caldwell, ID 83607


Lds Middleton 2Nd Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
2250 Lansing Ln
Middleton, ID 83644


Lds Middleton 3Rd Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
23644 Old Hwy 30
Caldwell, ID 83607


Lds Middleton 4Th Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
22500 Lansing Ln
Middleton, ID 83644


Lds Middleton 5Th Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
1749 Willis Rd
Middleton, ID 83644


Lds Middleton 6Th Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
23644 Old Hwy 30
Caldwell, ID 83607


Lds Middleton 7Th Ward‐Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
309 W Main
Middleton, ID 83644
Lds Middleton 8Th Ward ‐ Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
9708 Golden Willow St
Middleton, ID 83644


Lds Middleton 9Th Ward ‐ Middleton Stk
Ore‐Ida Council 106 ‐ Bsa 106
615 Valley St
Middleton, ID 83644


Lds Middleton Ward
Utah National Parks 591
1634 E 800 N
St George, UT 84770


Lds Middletown Ward
Redwood Empire Council 041
14970 Lakeview Dr
Clearlake, CA 95422


Lds Middletown Ward Dayton Stake
Miami Valley Council, Bsa 444
4930 Central Ave
Middletown, OH 45044


Lds Midland 5Th Ward
Midland, Texas Stake
Buffalo Trail Council 567
4805 Gateway St
Midland, Tx 79707


Lds Midland First Ward Odessa Tx Stake
Buffalo Trail Council 567
4805 Gateway St
Midland, TX 79707


Lds Midland Second Ward Midland Tx Stake
Buffalo Trail Council 567
4805 Gateway St
Midland, TX 79707


Lds Midland Sixth Ward Odessa Tx Stake
Buffalo Trail Council 567
4805 Gateway St
Midland, TX 79707


Lds Midland Third Ward Odessa Tx Stake
Buffalo Trail Council 567
2101 Tarleton St
Midland, TX 79707


Lds‐ Midlothian Ward / Dallas Stake
Circle Ten Council 571
6406 Hill Valley Ct
Midlothian, TX 76065


Lds Midvalley Second Ward
Utah National Parks 591
4827 N 2475 W
Cedar City, UT 84721


Lds Midvalley Ward
Utah National Parks 591
70 E Midvalley Rd
Enoch, UT 84721


Lds Midwest City 1St Ward Okc Stake
Last Frontier Council 480
110 W Morningside Dr
Midwest City, OK 73110


Lds Miles City Ward, Glendive Stake
Montana Council 315
825 S Moorehead Ave
Miles City, MT 59301


Lds Milford First Ward
Utah National Parks 591
748 W 600 S
Milford, UT 84751


Lds Milford Ward Cincinnati East Stake
Dan Beard Council, Bsa 438
8250 Cornell Rd
Cincinnati, OH 45249


Lds Mill Creek Ward Everett Stake
Mount Baker Council, Bsa 606
P.O. Box 12021
Mill Creek, WA 98082


Lds Mill Pond Ward
Utah National Parks 591
388 S 630 E
Lehi, UT 84043


Lds Mill Shadow Ward
Deseret Mill Stake
Trapper Trails 589
200 N 1275 W Flint St
Kaysville, Ut 84037


Lds Millard Ward Papillion Stake
Mid‐America Council 326
6820 S 164th Ave
Omaha, NE 68132


Lds Millbrook Ward
Tukabatchee Area Council 005
2200 Cobbs Ford Rd
Prattville, AL 36066


Lds Millcreek Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
3700 S Maple Grove Rd
Boise, ID 83709


Lds Milledgeville Ward
Central Georgia Council 096
1700 N Jefferson St Ne
Milledgeville, GA 31061


Lds Miller Springs Ward
Syracuse West Stake
Trapper Trails 589
2500 S Bluff Rd
Syracuse, Ut 84075


Lds Millpond Ward Auburn Stake
Chief Seattle Council 609
1820 F St Se
Auburn, WA 98002


Lds Millsite Ward
Utah National Parks 591
P.O. Box 874
35 W 200 N
Ferron, UT 84523


Lds Millville 1St Ward
Providence South Stake
Trapper Trails 589
110 S Main
Millville, Ut 84326


Lds Millville 2Nd Ward
Providence South Stake
Trapper Trails 589
360 E 450 N
Millville, Ut 84326


Lds Millville 3Rd Ward
Providence South Stake
Trapper Trails 589
110 N Main St
Millville, Ut 84326


Lds Millville 4Th Ward
Providence South Stake
Trapper Trails 589
360 E 450 N
Millville, Ut 84326


Lds Millville 5Th Ward
Providence South Stake
Trapper Trails 589
360 E 450 N
Millville, Ut 84326
Lds Milpitas Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
48950 Green Valley Rd
Fremont, CA 94539


Lds Milton Ward
Atlanta Area Council 092
500 Norcross St
Roswell, GA 30075


Lds Milton Ward
Gulf Coast Council 773
5737 Berryhill Rd
Mail 6652 Tidal Bay
Milton, FL 32583


Lds Milwaukie Ward Milwaukie Stake
Cascade Pacific Council 492
13520 SE Ruscliff Ln
Portland, OR 97222


Lds Mineral Wells Ward
Weatherford Stake
Longhorn Council 662
822 S E 22Nd Ave
Mineral Wells, Tx 76067


Lds Minersville First Ward
Utah National Parks 591
130 W Main
Minersville, UT 84752


Lds Minersville Second Ward
Utah National Parks 591
P.O. Box 60
Minersville, UT 84752


Lds Mink Creek Ward
Preston North Stake
Trapper Trails 589
7316 N Capitol Hill Rd
Preston, Id 83263
Lds Minneapolis Stake
Eden Prairie Ward
Northern Star Council 250
9700 Nesbitt Ave S
Bloomington, Mn 55437


Lds Minneapolis Stake
Lake Nokomis Ward
Northern Star Council 250
3921 Nicollet Ave
Minneapolis, Mn 55409


Lds Minneapolis Stake ‐ Bloomington Ward
Northern Star Council 250
9700 Nesbitt Ave S
Bloomington, MN 55437


Lds Minneapolis Stake ‐ Chaska Ward
Northern Star Council 250
1350 Peitz Ave
Waconia, MN 55387


Lds Minneapolis Stake ‐ Hispanic Ward
Northern Star Council 250
3921 Nicollet Ave
Minneapolis, MN 55409


Lds Minneapolis Stake ‐ Minnetonka Ward
Northern Star Council 250
330 Vicksburg Ln N
Plymouth, MN 55447


Lds Minneapolis Stake ‐ Plymouth Ward
Northern Star Council 250
330 Vicksburg Ln N
Plymouth, MN 55447


Lds Minneapolis Stake ‐ Waconia Ward
Northern Star Council 250
1350 Peitz Ave
Waconia, MN 55387
Lds Minneola Branch Leesburg
Central Florida Council 083
14600 Green Valley Blvd
Clermont, FL 34711


Lds Mint Valley Ward Longview Stake
Cascade Pacific Council 492
1721 30th Ave
Longview, WA 98632


Lds Mission Hills Ward Eldorado Stake
Las Vegas Area Council 328
801 Arrowhead Trl
Henderson, NV 89002


Lds Mission Oak Ward Sac East Stake
Golden Empire Council 047
3430 Mission Ave
Carmichael, CA 95608


Lds Mission Ridge Ward/Wenatchee Stake
Grand Columbia Council 614
667 10th St Ne
East Wenatchee, WA 98802


Lds Missoula 1St Wd, Missoula Stake
Montana Council 315
3201 Bancroft St
Missoula, MT 59801


Lds Missoula 2Nd Wd, Missoula Stake
Montana Council 315
3201 Bancroft St
Missoula, MT 59801


Lds Missoula 3Rd Wd, Missoula Stake
Montana Council 315
3026 S Ave W
Missoula, MT 59804
Lds Missoula 4Th Ward, Missoula Stake
Montana Council 315
3201 Bancroft St
Missoula, MT 59801


Lds Misty Meadows Ward
Pleasant View South Stake
Trapper Trails 589
2360 N 600 W
Harrisville, Ut 84414


Lds Mitchell Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
4921 N Mitchell St
Boise, ID 83704


Lds Moab Fifth Ward
Utah National Parks 591
701 Locust Ln
Moab, UT 84532


Lds Moab First Ward
Utah National Parks 591
1301 Knutson Cor
Moab, UT 84532


Lds Moab Fourth Ward
Utah National Parks 591
701 Locust Ln
Moab, UT 84532


Lds Moab Second Ward
Utah National Parks 591
475 W 400 N
Moab, UT 84532


Lds Moab Third Ward
Utah National Parks 591
701 Locust Ln
Moab, UT 84532


Lds Moapa Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 243
Moapa, NV 89025


Lds Moberly Ward ‐ Columbia Stake
Great Rivers Council 653
1049 County Rd 2310
Moberly, MO 65270


Lds Modesto Stake
Greater Yosemite Council 059
1105 W Orangeburg Ave
Modesto, CA 95350


Lds Molalla River Ward Oregon City Stake
Cascade Pacific Council 492
1300 Homestead Pl
Jeff Glenn
Molalla, OR 97038


Lds Molalla Ward Oregon City Stake
Cascade Pacific Council 492
974 W Main St
Molalla, OR 97038


Lds Mona First Ward
Utah National Parks 591
P.O. Box 516
Mona, UT 84645


Lds Mona Fourth Ward
Utah National Parks 591
P.O. Box 487
Mona, UT 84645


Lds Mona Second Ward
Utah National Parks 591
P.O. Box 468
127 W 600 S
Mona, UT 84645


Lds Mona Third Ward
Utah National Parks 591
100 W 800 S
Mona, UT 84648


Lds Monad Ward, Billings Stake
Montana Council 315
2132 Beloit Dr
Billings, MT 59102


Lds Monica Ward, E Bakersfield Stake
Southern Sierra Council 030
5007 Ventana Canyon Dr
Bakersfield, CA 93306


Lds Monmouth Third Ward Monmouth Stake
Cascade Pacific Council 492
783 Church St W
Monmouth, OR 97361


Lds Monmouth Ward Monmouth Stake
Cascade Pacific Council 492
783 Church St W
Monmouth First Ward
Monmouth, OR 97361


Lds Monroe Fifth Ward
Utah National Parks 591
345 W Lizs Way
Monroe, UT 84754


Lds Monroe First Ward
Utah National Parks 591
49 E 200 N
Monroe, UT 84754


Lds Monroe Fourth Ward
Utah National Parks 591
49 E 200 N
Monroe, UT 84754


Lds Monroe Second Ward
Utah National Parks 591
999 W 370 S
Monroe, UT 84754


Lds Monroe Third Ward
Utah National Parks 591
140 N Main St
379 E 600 S
Monroe, UT 84754


Lds Monroe Ward Snohomish Stake
Mount Baker Council, Bsa 606
17372 Tester Rd
Monroe, WA 98272


Lds Monroe Ward, Westland Stake
Southern Shores Fsc 783
3740 W Dunbar Rd
Monroe, MI 48161


Lds Monrovia Ward L143
Greater Los Angeles Area 033
532 W Lemon Ave
Monrovia, CA 91016


Lds Monta Vista Ward‐North Stake
Alamo Area Council 583
407 Happy Trl
Shavano Park, TX 78231


Lds Monte Bello Ward Central Stake
Las Vegas Area Council 328
4201 Stewart Ave
Las Vegas, NV 89110


Lds Monte Cristo Ward Las Vegas Stake
Las Vegas Area Council 328
1801 S Monte Cristo Way
Las Vegas, NV 89117


Lds Monte Sano Ward, Huntsville Stake
Greater Alabama Council 001
2110 Byrd Spring Rd Sw
Huntsville, AL 35802


Lds Monte Vista Ward, Brighton Stake
Denver Area Council 061
100 Malley Dr
Northglenn, CO 80233


Lds Montecito Ward Meadows Stake
Las Vegas Area Council 328
4525 N Rainbow Blvd
Las Vegas, NV 89149


Lds Monterey 1St Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
1 Forest Knoll Rd
Monterey, CA 93940


Lds Monterey 2Nd Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
1 Forest Knoll Rd
Monterey, CA 93940


Lds Montgomery Stake
Tukabatchee Area Council 005
2200 Cobbs Ford Rd
Prattville, AL 36066


Lds Montgomery Village Ward Seneca Stake
National Capital Area Council 082
20020 Montgomery Village Ave
Montgomery Village, MD 20886


Lds Montgomery Ward Cincinnati E Stake
Dan Beard Council, Bsa 438
8250 Cornell Rd
Cincinnati, Oh 45249


Lds Monticello First Ward
Utah National Parks 591
165 S Main St
Monticello, UT 84535
Lds Monticello Fourth Ward
Utah National Parks 591
347 N 200 W
Monticello, UT 84535


Lds Monticello Second Ward
Utah National Parks 591
347 N 200 W
Monticello, UT 84535


Lds Monticello Third Ward
Utah National Parks 591
165 S Main St
Monticello, UT 84535


Lds Montpelier 1St Ward
Montpelier South Stake
Trapper Trails 589
485 S 7Th St
Montpelier, Id 83254


Lds Montpelier 2Nd Ward
Montpelier Stake
Trapper Trails 589
585 N 8Th St
Montpelier, Id 83254


Lds Montpelier 3Rd Ward
Montpelier Stake
Trapper Trails 589
340 N 6Th St
Montpelier, Id 83254


Lds Montpelier 4Th Ward
Montpelier South Stake
Trapper Trails 589
485 S 7Th St
Montpelier, Id 83254


Lds Montpelier 5Th Ward
Montpelier Stake
Trapper Trails 589
840 N 6Th St
Montpelier, Id 83254


Lds Montpelier Ward
Montpelier Vermont Stake
Green Mountain 592
224 Hersey Rd
Berlin, Vt 05602


Lds Monument Ward/Gj West Stake
Denver Area Council 061
2235 Kingston Rd
Grand Junction, CO 81507


Lds Monument Ward‐North Stake
Pikes Peak Council 060
950 W Hwy 105
Monument, CO 80132


Lds Moon Lake Ward
Utah National Parks 591
General Delivery
Mountain Home, UT 84051


Lds Moon Ridge Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
5645 S Maple Grove Rd
Boise, ID 83709


Lds Moore 1St Ward Okc South Stake
Last Frontier Council 480
12915 S Santa Fe Ave
Oklahoma City, OK 73170


Lds Moore Stake ‐ Arco Ward
Grand Teton Council 107
2255 N 2900 W
Arco, ID 83213


Lds Moore Stake ‐ Howe Branch
Grand Teton Council 107
3776 N 1800 W
Howe, ID 83244


Lds Moore Stake ‐ Leslie Ward
Grand Teton Council 107
3962 N 3580 W
Moore, ID 83255


Lds Moore Stake ‐ Lost River Ward
Grand Teton Council 107
3100 N 3350 W
Moore, ID 83255


Lds Moore Stake ‐ Mackay Ward
Grand Teton Council 107
531 Spruce St
Mackay, ID 83251


Lds Moorestown Ward/Cherry Hill Nj Stake
Garden State Council 690
209 Demarest Rd
Moorestown, NJ 08057


Lds Moorpark Ward ‐ Saratoga Stake
Silicon Valley Monterey Bay 055
10270 S Stelling Rd
Cupertino, CA 95014


Lds Moreland Ward Milwaukie Stake
Cascade Pacific Council 492
7880 SE Milwaukie Ave
Portland, OR 97202


Lds Morgan Hill 1St Ward
Morgan Hill Stake
Silicon Valley Monterey Bay 055
1790 E Dunne Ave
Morgan Hill, Ca 95037


Lds Morgan Hill 2Nd Ward
Morgan Hill Stake
Silicon Valley Monterey Bay 055
1790 E Dunne Ave
Morgan Hill, Ca 95037


Lds Mormon Station Ward
Carson City Stake
Nevada Area Council 329
816 Amador Ct
Carson City, Nv 89705


Lds Morning Sun Ward Sunrise Stake
Las Vegas Area Council 328
877 Temple View Dr
Las Vegas, NV 89110


Lds Morningside First Ward
Utah National Parks 591
900 S 700 E
St George, UT 84790


Lds Morningside Fourth Ward
Utah National Parks 591
930 S Morningside Dr
St George, UT 84790


Lds Morningside Heights Ward
New York Stake
Greater New York Councils, Bsa 640
125 Columbus Ave
New York, Ny 10023


Lds Morningside Sixth Ward
Utah National Parks 591
1082 S 620 E
St George, UT 84790


Lds Moroni First Ward
Utah National Parks 591
P.O. Box 229
Moroni, UT 84646


Lds Moroni Second Ward
Utah National Parks 591
50 N Center
Moroni, UT 84646


Lds Moroni Third Ward
Utah National Parks 591
P.O. Box 625
Moroni, UT 84646


Lds Morristown 1St Ward Morristown
Patriots Path Council 358
283 James St
Morristown, NJ 07960


Lds‐ Morrisville Ward
Washington Crossing Council 777
1204 Pine Grove Rd
Yardley, PA 19067


Lds Morro Bay Ward
San Luis Obispo Stake
Los Padres Council 053
3000 Ironwood
Morro Bay, Ca 93442


Lds Morton Ward, Peoria Stake
W D Boyce 138
2530 N Morton Ave
Morton, IL 61550


Lds Mount Airey Ward
Utah National Parks 591
4338 E Inverness Ln
Eagle Mountain, UT 84005


Lds Mount Airy Ward
Old Hickory Council 427
162 Temple Ln
Mount Airy, NC 27030


Lds Mount Lewis 1St Ward
Mount Lewis Stake
Trapper Trails 589
435 N Jackson Ave
Ogden, Ut 84404


Lds Mount Lewis 2Nd Ward
Mount Lewis Stake
Trapper Trails 589
435 N Jackson Ave
Ogden, Ut 84404


Lds Mount Lewis 3Rd Ward
Mount Lewis Stake
Trapper Trails 589
435 N Jackson Ave
Ogden, Ut 84404


Lds Mount Lewis 4Th Ward
Mount Lewis Stake
Trapper Trails 589
550 E 900 N
Ogden, Ut 84404


Lds Mount Lewis 5Th Ward
Mount Lewis Stake
Trapper Trails 589
550 E 900 N
Ogden, Ut 84404


Lds Mount Lewis 6Th Ward
Mount Lewis Stake
Trapper Trails 589
1150 N Monroe Blvd
Ogden, Ut 84404


Lds Mount Lewis 7Th Ward
Mount Lewis Stake
Trapper Trails 589
1150 Monroe Blvd
Ogden, Ut 84404


Lds Mount Lewis 8Th Ward
Mount Lewis Stake
Trapper Trails 589
1150 N Monroe Blvd
Ogden, Ut 84404
Lds Mount Lewis 9Th Ward
Mount Lewis Stake
Trapper Trails 589
550 E 900 N
Ogden, Ut 84404


Lds Mount Mahogany Eighth Ward
Utah National Parks 591
1185 W 2180 N
Pleasant Grove, UT 84062


Lds Mount Mahogany Fifth
Utah National Parks 591
1541 N 1300 W
Pleasant Grove, UT 84062


Lds Mount Mahogany First
Utah National Parks 591
946 W 2200 N
Pleasant Grove, UT 84062


Lds Mount Mahogany Fourth
Utah National Parks 591
1548 N 900 W
Pleasant Grove, UT 84062


Lds Mount Mahogany Second
Utah National Parks 591
1363 N 1070 W
Pleasant Grove, UT 84062


Lds Mount Mahogany Sixth
Utah National Parks 591
1210 N 1300 W
Pleasant Grove, UT 84062


Lds Mount Mahogany Third
Utah National Parks 591
1548 N 900 W
Pleasant Grove, UT 84062
Lds Mount Nebo Ward
Utah National Parks 591
1006 E 200 N
Spanish Fork, UT 84660


Lds Mount Rushmore Ward
Black Hills Area Council 695 695
2250 Moon Meadows Dr
Rapid City, SD 57702


Lds Mount Si Ward Bellevue South Stake
Chief Seattle Council 609
527 SW Mt Si Blvd
North Bend, WA 98045


Lds Mount Sneffels Ward/Montrose Stake
Denver Area Council 061
21004 Uncompahgre Rd
Montrose, CO 81403


Lds Mount Vernon Evansville In
Buffalo Trace 156
736 Smith Rd
Mount Vernon, IN 47620


Lds Mountain Gate Ward Portland Stake
Cascade Pacific Council 492
10300 SE 132nd Ave
Happy Valley, OR 97086


Lds Mountain Green Ward
Morgan North Stake
Trapper Trails 589
5378 W Old Hwy Rd
Morgan, Ut 84050


Lds Mountain House Ward Manteca Stake
Greater Yosemite Council 059
1981 Chester Dr
Tracy, CA 95376
Lds Mountain Shadows Ward
Kaysville Stake
Trapper Trails 589
615 N Flint St
Kaysville, Ut 84037


Lds Mountain Valley Ward ‐ Quincy Stake
Nevada Area Council 329
708‐985 R and S Rd
Standish, CA 96128


Lds Mountain View Eighth Ward
Utah National Parks 591
789 Arrowhead Trail
Payson, UT 84651


Lds Mountain View First Ward
Utah National Parks 591
1138 E 100 S.
Payson, UT 84651


Lds Mountain View Ninth Ward
Utah National Parks 591
75 S 600 E
Payson, UT 84651


Lds Mountain View Second Ward
Utah National Parks 591
75 S 600 E
Payson, UT 84651


Lds Mountain View Seventh Ward
Utah National Parks 591
681 E 500 N
Payson, UT 84651


Lds Mountain View Ward
Brigham City South Stake
Trapper Trails 589
105 W Fishburn Dr
Brigham City, Ut 84302
Lds Mountain View Ward
South Weber Stake
Trapper Trails 589
7989 S 2250 E
South Weber, Ut 84405


Lds Mountain View Ward
Utah National Parks 591
370 N 4050 W
Cedar City, UT 84720


Lds Mountain View Ward Sp Fork
Utah National Parks 591
1557 Mountain View Dr
Spanish Fork, UT 84660


Lds Mountain View Ward Kingman Stake
Las Vegas Area Council 328
3746 Mountain View Rd
Bullhead City, AZ 86442


Lds Mountain View Ward South
Utah National Parks 591
1120 W Greens Lake Dr
Cedar City, UT 84720


Lds Mountain View Ward Vancouver Stake
Cascade Pacific Council 492
220 NE Hearthwood Blvd
Vancouver, WA 98684


Lds Mountain View Ward, Golden Stake
Denver Area Council 061
3480 Ames St
Wheat Ridge, CO 80212


Lds Mountain Vista Ward Paradise Stake
Las Vegas Area Council 328
Viking Chapel
3901 E Viking Rd
Las Vegas, NV 89121
Lds Mountain Vista Ward Sunrise Stake
Las Vegas Area Council 328
1825 N Hollywood Blvd
Las Vegas, NV 89156


Lds Mountain Vistas Ward
Kaysville Stake
Trapper Trails 589
1505 W Whispering Meadow Ln
Kaysville, Ut 84037


Lds Mountains Edge Ward South Stake
Las Vegas Area Council 328
7979 Mountains Edge Pkwy.
Las Vegas, NV 89113


Lds Mountainview Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
8620 Goddard Rd
Boise, ID 83704


Lds Mountainville Fifth Ward
Utah National Parks 591
653 S Pheasant Ridge Cir
Alpine, UT 84004


Lds Mountainville First Ward
Utah National Parks 591
98 E Canyon Crest Rd
Alpine, UT 84004


Lds Mountainville Fourth Ward   Alpine
Utah National Parks 591
370 S Long Dr
Alpine, UT 84004


Lds Mountainville Second Ward
Utah National Parks 591
165 N 100 E
Alpine, UT 84004


Lds Mountainville Third Ward
Utah National Parks 591
901 E Village Way
Alpine, UT 84004


Lds Mountainville Ward Sanpete
Utah National Parks 591
23940 N 11600 E
Fairview, UT 84629


Lds Mountlake Ward Shoreline Stake
Mount Baker Council, Bsa 606
22015 48th Ave W
Mountlake Terrace, WA 98043


Lds Moxee Ward/Selah Stake
Grand Columbia Council 614
105 S Hillcrest Dr
Yakima, WA 98901


Lds Moyle Park Ward
Utah National Parks 591
657 Windsor Ct
Alpine, UT 84004


Lds Mt Airy Ward Frederick Stake
National Capital Area Council 082
3811 Boteler Rd
Mount Airy, MD 21771


Lds Mt Airy Ward Frederick Stake
National Capital Area Council 082
7255 Ridge Rd
Mount Airy, MD 21771


Lds Mt Bachelor Ward ‐ Bend Stake
Crater Lake Council 491
2555 NW Shevlin Park Rd
Bend, OR 97701


Lds Mt Erie Ward Oak Harbor Stake
Mount Baker Council, Bsa 606
3720 H Ave
Anacortes, WA 98221


Lds Mt Loafer Ward Salem
Utah National Parks 591
839 S 350 W
Salem, UT 84653


Lds Mt Loafer Ward Spanish Fork
Utah National Parks 591
275 S 1400 E
Spanish Fork, UT 84660


Lds Mt Loafer Ward Woodland Hills
Utah National Parks 591
305 S Oakridge Cir
Woodland Hills, UT 84653


Lds Mt Norway Ward Vancouver East Stake
Cascade Pacific Council 492
3920 Q St
Washougal, WA 98671


Lds Mt Pleasant Fifth Ward
Utah National Parks 591
49 S State St
Mt Pleasant, UT 84647


Lds Mt Pleasant First Ward
Utah National Parks 591
300 W 500 N
Mt Pleasant, UT 84647


Lds Mt Pleasant Fourth Ward
Utah National Parks 591
49 S State St
Mt Pleasant, UT 84647


Lds Mt Pleasant Second Ward
Utah National Parks 591
295 S State St
Mt Pleasant, UT 84647
Lds Mt Pleasant Sixth Ward
Utah National Parks 591
461 N 300 W
Mt Pleasant, UT 84647


Lds Mt Pleasant Third Ward
Utah National Parks 591
295 S State St
Mt Pleasant, UT 84647


Lds Mt Pleasant Ward
Chesapeake Stake
Tidewater Council 596
412 Scarborough Dr
Chesapeake, Va 23322


Lds Mt Pleasant Ward ‐ Midland Stake
Water and Woods Council 782
1404 S Crawford St
Mount Pleasant, MI 48858


Lds Mt Pleasant Ward Mt Pleasant Stake
Coastal Carolina Council 550
2115 Us‐17
Mount Pleasant, SC 29466


Lds Mt Pleasant Ward Port Angeles Stake
Chief Seattle Council 609
591 Monroe Rd
Port Angeles, WA 98362


Lds Mt Rose Ward ‐ Mt Rose Stake
Nevada Area Council 329
4751 Neil Rd
Reno, NV 89502


Lds Mt Rubidoux Ward Riverside Stake
California Inland Empire Council 045
5900 Grand Ave
Riverside, CA 92504
Lds Mt Taylor Ward Gallup Stake
Great Swest Council 412
1010 Bondad Ave
Grants, NM 87020


Lds Mt Vernon 1St Ward Mt Vernon Stake
Mount Baker Council, Bsa 606
1700 E Hazel St
Mount Vernon, WA 98274


Lds Mt Vernon 2Nd Ward Mt Vernon Stake
Mount Baker Council, Bsa 606
1700 E Hazel St
Mount Vernon, WA 98274


Lds Mt Vernon Ward Mt Vernon Stake
National Capital Area Council 082
2000 George Washington Pkwy
Alexandria, VA 22308


Lds Mt View Ward ‐ Bend Stake
Crater Lake Council 491
1260 NE Thompson Dr
Bend, OR 97701


Lds Mtn Crest Ward Lone Mtn Stake
Las Vegas Area Council 328
10070 Azure Dr
Las Vegas, Nv 89149


Lds Mtn Home 1St Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
1030 N 14th E
Mountain Home, ID 83647


Lds Mtn Home 2Nd Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
North of Airbase
Mountain Home, ID 83647


Lds Mtn Home 3Rd Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
14422 Airbase Rd
Mountain Home, ID 83647


Lds Mtn Home 4Th Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
1150 N 8th E
Mountain Home, ID 83647


Lds Mtn Home 5Th Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
790 S Haskett St
Mountain Home, ID 83647


Lds Mtn Home 7Th Ward‐Mtn Home Stk
Ore‐Ida Council 106 ‐ Bsa 106
790 S Haskett St
Mountain Home, ID 83647


Lds Mtn Home Ward
Springfield,Mosouth Stake
Westark Area Council 016
Western Hills Loop
Mountain Home, Ar 72653


Lds Mtn Shadow Ward N Las Vegas Stake
Las Vegas Area Council 328
100 W Hammer Ln
North Las Vegas, Nv 89031


Lds Mtn Shadows Ward
Colorado Springs Stake
Pikes Peak Council 060
5375 Centennial Blvd
Colorado Springs, Co 80919


Lds Mtn View Eleventh Br     Spanish
Utah National Parks 591
681 E 500 N
Payson, Ut 84651


Lds Mukilteo Ward Everett Stake
Mount Baker Council, Bsa 606
9509 19th Ave Se
Everett, WA 98208


Lds Mulberry Ward
Utah National Parks 591
2668 E Crimson Ridge Dr
St. George, UT 84790


Lds Muncie Stk 1St Ward
Crossroads of America 160
4800 W Robinwood Dr
Muncie, IN 47304


Lds Muncie Stk 2Nd Ward
Crossroads of America 160
4800 W Robinwood Dr
Muncie, IN 47304


Lds Muncie Stk Anderson
Crossroads of America 160
200 W 46th St
Anderson, IN 46013


Lds Muncie Stk Connersville
Crossroads of America 160
2230 N Grand Ave
Connersville, IN 47331


Lds Muncie Stk Elwood
Crossroads of America 160
6025 W State Rd 28
Elwood, IN 46036


Lds Muncie Stk New Castle
Crossroads of America 160
3701 Roberta St
New Castle, IN 47362


Lds Muncie Stk Richmond
Crossroads of America 160
3333 Backmeyer Rd
Richmond, IN 47374
Lds Murphy Creek Ward
Grants Pass Stake
Crater Lake Council 491
1969 Williams Hwy
Grants Pass, Or 97527


Lds Murray Ward
Lincoln Heritage Council 205
602 S 16th St
Murray, KY 42071


Lds Murrayhill Ward Bvtn West Stake
Cascade Pacific Council 492
8640 SW Turquoise Loop
Beaverton, OR 97007


Lds Muscatine Ward Iowa City Stake
Illowa Council 133
2902 Lucas St
Muscatine, IA 52761


Lds Muskrat Springs Ward
Pioneer Trail Stake
Trapper Trails 589
5000 S 5900 W
Hooper, Ut 84315


Lds Mustang 2Nd Ward Okc South Stake
Last Frontier Council 480
925 W Kentuck
Mustang, OK 73064


Lds Mustang Ward Okc Stake
Last Frontier Council 480
925 W Kentuck
Mustang, OK 73064


Lds Myers Way Branch Seattle Stake
Chief Seattle Council 609
9500 Myers Way S
Seattle, WA 98108
Lds Myton First Ward
Utah National Parks 591
447 E Lagoon St
Roosevelt, UT 84066


Lds Myton Second Ward
Utah National Parks 591
P.O. Box 245
Myton, UT 84052


Lds N Augusta Ward Augusta Georgia Stake
Georgia‐Carolina 093
1704 Bunting Dr
North Augusta, Sc 29841


Lds N Hanover Ward E Brunswick Nj Stake
Garden State Council 690
373 Croshaw Rd
Wrightstown, Nj 08562


Lds N Highlands 2Nd Ward Antelope Stake
Golden Empire Council 047
6450 Walerga Rd
North Highlands, Ca 95660


Lds N Holllywood 1St Ward
Verdugo Hills Council 058
11830 Saticoy St
North Hollywood, CA 91605


Lds N Hollywood 1St Ward
Verdugo Hills Council 058
11830 Saticoy St
North Hollywood, CA 91605


Lds Naches Ward/Selah Stake
Grand Columbia Council 614
8321 State Route 410
Naches, WA 98937
Lds Nags Head Ward Chesapeake Stake
Tidewater Council 596
Windjammer Dr
Nags Head, NC 27959


Lds Nampa 10Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
502 Sherry Ln
Nampa, ID 83686


Lds Nampa 11Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1500 Smith Ave Ex
Nampa, ID 83651


Lds Nampa 12Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1500 Smith Ave
Nampa, ID 83651


Lds Nampa 13Th Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
18463 Nside Blvd
Nampa, ID 83687


Lds Nampa 14Th Ward ‐ Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
339 Winther Blvd
Nampa, ID 83651


Lds Nampa 15Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2212 E Amity Ave
Nampa, ID 83686


Lds Nampa 16Th Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
504 11th Ave S
Nampa, ID 83651


Lds Nampa 17Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
7809 Deer Flat Rd
Nampa, ID 83686


Lds Nampa 18Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3904 E Greenhurst Rd
Nampa, ID 83686


Lds Nampa 19Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
227 Sunrise Rim Rd
Nampa, ID 83686


Lds Nampa 1St Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
18486 Middleton Rd
Nampa, ID 83687


Lds Nampa 20Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3166 S Clearwater Ave
Nampa, ID 83686


Lds Nampa 22Nd Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
927 Ruth Ln
Nampa, ID 83686


Lds Nampa 23Rd Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6111 Birch Ln
Nampa, ID 83687


Lds Nampa 24Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
88 S Happy Valley Rd
Nampa, ID 83687


Lds Nampa 25Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
2587 S Skyview Dr
Nampa, ID 83686
Lds Nampa 26Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
13495 Roosevelt Ave
Nampa, ID 83686


Lds Nampa 27Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1500 Smith Ave
Nampa, ID 83651


Lds Nampa 2Nd Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2400 E Amity Ave
Amity Ave   Chicago
Nampa, ID 83686


Lds Nampa 30Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3904 Greenhurst
Nampa, ID 83686


Lds Nampa 33Rd Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6111 Birch Ln
Nampa, ID 83687


Lds Nampa 34Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3904 E Greenhurst Rd
Nampa, ID 83686


Lds Nampa 35Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1500 Smith Ave
Nampa, ID 83651


Lds Nampa 36Th Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
18486 Middleton Rd
Nampa, ID 83687
Lds Nampa 37Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
2226 S Herron Dr
Nampa, ID 83686


Lds Nampa 38Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
11455 Lone Star Rd
Nampa, ID 83651


Lds Nampa 3Rd Ward‐Nampa N Stk
Ore‐Ida Council 106 ‐ Bsa 106
18463 Nside Blvd
Nampa, ID 83687


Lds Nampa 4Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
121 N Canyon St
Nampa, ID 83651


Lds Nampa 5Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
7809 Deerflat Rd
Nampa, ID 83651


Lds Nampa 6Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1500 Smith Ave
Nampa, ID 83651


Lds Nampa 7Th Ward‐Nampa S Stk
Ore‐Ida Council 106 ‐ Bsa 106
3707 Sunnyridge Rd
Nampa, ID 83686


Lds Nampa 8Th Ward‐Nampa W Stk
Ore‐Ida Council 106 ‐ Bsa 106
11288 N Roosevelt Ave
Nampa, ID 83651


Lds Nampa 9Th Ward‐Nampa E Stk
Ore‐Ida Council 106 ‐ Bsa 106
3904 E Greenhurst Rd
Nampa, ID 83686


Lds Naperville 2Nd Ward
Naperville Stake
Three Fires Council 127
1411 95Th St
Lds Naperville 2Nd Ward
Naperville, Il 60564


Lds Naples First Ward
Utah National Parks 591
1966 S 2000 E
Vernal, UT 84078


Lds Naples Second Ward
Utah National Parks 591
2313 S 1500 E
Vernal, UT 84078


Lds Naples Third Ward
Utah National Parks 591
802 Jambee Ct
Naples, UT 84078


Lds Naples Ward Fort Myers Stake
Southwest Florida Council 088
2006 Prince Dr
Naples, FL 34110


Lds Naples Ward Fort Myers Stake
Southwest Florida Council 088
695 102nd Ave N
Naples, FL 34108


Lds Narcoossee Ward
Central Florida Council 083
6221 Oak Shore Dr
Saint Cloud, FL 34771


Lds Narragansett Ward
Narragansett 546
1240 Boston Neck Rd
Narragansett, RI 02882


Lds Nashua 1St Ward Nashua Nh Stake
Daniel Webster Council, Bsa 330
110 Concord St
Nashua, NH 03064


Lds Nashville Ward Albany Stake
South Georgia Council 098
902 Adel Rd
Nashville, GA 31639


Lds Natomas 1St Ward Sac North Stake
Golden Empire Council 047
751 Rio Tierra Ave
Sacramento, CA 95833


Lds Natomas 3Rd Ward Sac North Stake
Golden Empire Council 047
751 Rio Tierra Ave
Sacramento, CA 95833


Lds Nazareth Ward Pa Scranton Stake
Minsi Trails Council 502
138 Rose Inn Ave
Nazareth, PA 18064


Lds Nebraska City Ward
Cornhusker Council 324
168N 56th Rd
Nebraska City, NE 68410


Lds Needles Ward Lake Havasu City Stake
Las Vegas Area Council 328
2001 El Monte Dr
Needles, CA 92363


Lds Neenah Ward Appleton Stake
Bay‐Lakes Council 635
115 Castle Oak Dr
Neenah, WI 54956


Lds Nehalem Ward Vancouver North Stake
Cascade Pacific Council 492
10351 NE 152nd Ave
Vancouver, WA 98682


Lds Nellis Manor Ward N Las Vegas Stake
Las Vegas Area Council 328
4416 Whistling Duck Ave
Las Vegas, Nv 89115


Lds Neola First Ward
Utah National Parks 591
4143 W 6885 N
P.O. Box 71
Neola, UT 84053


Lds Neola Second Ward
Utah National Parks 591
P.O. Box 163
Neola, UT 84053


Lds Nephi Eighth Ward
Utah National Parks 591
562 S 200 E
Nephi, UT 84648


Lds Nephi Fifth Ward
Utah National Parks 591
345 E 500 N
Nephi, UT 84648


Lds Nephi First Ward
Utah National Parks 591
222 S 100 E
Nephi, UT 84648


Lds Nephi Fourth Ward
Utah National Parks 591
345 E 500 N
Nephi, UT 84648
Lds Nephi Ninth Ward
Utah National Parks 591
1125 N 400 E
Nephi, UT 84648


Lds Nephi Second Ward
Utah National Parks 591
1227 S 250 E
Nephi, UT 84648


Lds Nephi Seventh Ward
Utah National Parks 591
337 S 200 W
Nephi, UT 84648


Lds Nephi Sixth Ward
Utah National Parks 591
351 N 100 W
Nephi, UT 84648


Lds Nephi Tenth Ward
Utah National Parks 591
1125 N 400 E
Nephi, UT 84648


Lds Nephi Third Ward
Utah National Parks 591
1125 N 400 E
Nephi, UT 84648


Lds Nevada City Ward Auburn Stake
Golden Empire Council 047
615 Hollow Way
Nevada City, CA 95959


Lds New Albany Ward
Lincoln Heritage Council 205
1524 Slate Run Rd
New Albany, IN 47150
Lds New Bloomfield Ward Harrisburg Stake
New Birth of Freedom 544
Cold Storage Rd
New Bloomfield, PA 17068


Lds New Boston, Tx
Caddo Area Council 584
810 S Mccoy Blvd
New Boston, TX 75570


Lds New Braunfels 1St Ward‐Kyle Stake
Alamo Area Council 583
1390 Hanz Dr
New Braunfels, TX 78130


Lds New Canaan Ward Yorktown Stake
Connecticut Yankee Council Bsa 072
682 S Ave
New Canaan, CT 06840


Lds New Harmony Ward
Utah National Parks 591
12 S Main
New Harmony, UT 84757


Lds New Haven 1 Ward New Haven Stake
Connecticut Yankee Council Bsa 072
84 Trumbull St
New Haven, CT 06511


Lds New Haven Stake Southbury Ward
Connecticut Yankee Council Bsa 072
1021 Roxbury Rd
Southbury, CT 06488


Lds New Haven Stake Waterbury Ward
Connecticut Yankee Council Bsa 072
100 Williamson Dr
Waterbury, CT 06710


Lds New Hope Ward, Cedar Park Stake
Capitol Area Council 564
2101 Bagdad Rd
Cedar Park, TX 78613


Lds New London Stake Cromwell Ward
Connecticut Rivers Council, Bsa 066
130 S St
Cromwell, CT 06416


Lds New London Stake Groton Ward
Connecticut Rivers Council, Bsa 066
1230 Flanders Rd
Mystic, CT 06355


Lds New London Stake Madison Ward
Connecticut Rivers Council, Bsa 066
275 Warpas Rd
Madison, CT 06443


Lds New Plymouth 2Nd Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
521 S Plymouth Ave
New Plymouth, ID 83655


Lds New Plymouth Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
521 S Plymouth Ave
New Plymouth, ID 83655


Lds New Smyrna Deland
Central Florida Council 083
2 Fairgreen Ave
New Smyrna Beach, FL 32168


Lds Newark Ward Granville
Simon Kenton Council 441
6603 Dutch Ln Nw
Johnstown, OH 43031


Lds Newberg First Ward Mcminnville Stake
Cascade Pacific Council 492
1212 Deborah Rd
Newberg, OR 97132
Lds Newberg Second Ward
Mcminnville Stake
Cascade Pacific Council 492
1212 Deborah Rd
Newberg, Or 97132


Lds Newburgh Evansville In
Buffalo Trace 156
8020 Covert Ave
Evansville, IN 47715


Lds Newlin Meadows Ward, Parker Stake
Denver Area Council 061
11755 Tara Ln
Parker, CO 80134


Lds Newmark Ward Liberty Stake
Heart of America Council 307
5550 N Jackson
Kansas City, MO 64119


Lds Newnan Ward Fayetteville Stake
Flint River Council 095
821 Old Atlanta Hwy
Newnan, GA 30263


Lds‐ Newport News
Colonial Virginia Council 595
902 Denbigh Blvd
Newport News, VA 23608


Lds Newport Ward
Henderson Lake Mead Stake
Las Vegas Area Council 328
303 S Cholla St
Henderson, Nv 89015


Lds Newport Ward
Narragansett 546
177 Miantonomi Ave
Middletown, RI 02842
Lds Newport Ward
Palmetto Council 549
1130 E Alexander Love Hwy
York, SC 29745


Lds Newport Ward Bellevue South Stake
Chief Seattle Council 609
4200 124th Ave Se
Bellevue, WA 98006


Lds Newport Ward‐Corvallis Stake
Oregon Trail Council 697
2229 NE Crestview Dr
Newport, OR 97365


Lds Newton ‐ Conover Ward
Piedmont Council 420
1542 Radio Station Rd
Newton, NC 28658


Lds Newtown Ward Virginia Beach Stake
Tidewater Council 596
4873 Bonney Rd
Virginia Beach, VA 23462


Lds Newtown Ward Yorktown Stake
Connecticut Yankee Council Bsa 072
16 Saw Mill Rd
Newtown, CT 06470


Lds Niceville Second Ward
Gulf Coast Council 773
1100 Palm Blvd S
Niceville, FL 32578


Lds Niceville Ward
Gulf Coast Council 773
1100 Palm Blvd S
Niceville, FL 32578
Lds Nicholasville Ward
Blue Grass Council 204
405 Bell Lawn
Nicholasville, KY 40356


Lds Noble Ward Norman Stake
Last Frontier Council 480
4401 E Maguire Rd
Noble, OK 73068


Lds Nong Shala Ward Sac North Stake
Golden Empire Council 047
751 Rio Tierra Ave
Sacramento, CA 95833


Lds Nordic Valley Ward
Huntsville Stake
Trapper Trails 589
2900 N Hwy 162
Eden, Ut 84310


Lds Norfolk Ii Ward Virginia Beach Stake
Tidewater Council 596
2741 Greendale Ave
Norfolk, VA 23518


Lds Norfolk Ward Sioux City Stake
Mid‐America Council 326
100 El Camino Dr
Norfolk, NE 68701


Lds Norfolk Ward Virginia Beach Stake
Tidewater Council 596
2741 Greendale Ave
Norfolk, VA 23518


Lds Norman 1St Ward Norman Stake
Last Frontier Council 480
4401 E Maguire Rd
Noble, OK 73068


Lds Norman 2Nd Ward Norman Stake
Last Frontier Council 480
1506 W Imhoff Rd
Norman, OK 73072


Lds Norman 4Th Ward Norman Stake
Last Frontier Council 480
1506 W Imhoff Rd
Norman, OK 73072


Lds Normandy Park Ward Seattle Stake
Chief Seattle Council 609
21254 14th Ave S
Des Moines, WA 98198


Lds North Bend Ward Bellevue South Stake
Chief Seattle Council 609
527 SW Mt Si Blvd
North Bend, WA 98045


Lds North Bend Ward Coos Bay Stake
Oregon Trail Council 697
3355 Virginia Ave
North Bend, OR 97459


Lds North Creek Ward Bothell Stake
Chief Seattle Council 609
16500 124th Ave Ne
Woodinville, WA 98072


Lds North Lake 4Th Ward
Utah National Parks 591
600 S 500 W
Lehi, UT 84043


Lds North Lake First Ward
Utah National Parks 591
465 W 700 S
Lehi, UT 84043


Lds North Lake Second Ward
Utah National Parks 591
828 S Center St
Lehi, UT 84043


Lds North Lake Third Ward
Utah National Parks 591
939 W 1400 S
Lehi, UT 84043


Lds North Logan 10Th Ward
Green Canyon Stake
Trapper Trails 589
1550 E 1900 N
North Logan, Ut 84341


Lds North Logan 11Th Ward
Green Canyon Stake
Trapper Trails 589
1550 E 1900 N
North Logan, Ut 84341


Lds North Logan 13Th Ward
Green Canyon Stake
Trapper Trails 589
1850 N 400 E
North Logan, Ut 84341


Lds North Logan 16Th Ward
Green Canyon Stake
Trapper Trails 589
1550 E 1900 N
North Logan, Ut 84341


Lds North Logan 1St Ward
Green Canyon Stake
Trapper Trails 589
1105 E 2100 N
North Logan, Ut 84341


Lds North Logan 2Nd Ward
Green Canyon Stake
Trapper Trails 589
1105 E 2100 N
North Logan, Ut 84341
Lds North Logan 3Rd Ward
Green Canyon Stake
Trapper Trails 589
1850 N 400 E
North Logan, Ut 84341


Lds North Logan 7Th Ward
Green Canyon Stake
Trapper Trails 589
1550 E 1900 N
North Logan, Ut 84341


Lds North Marion Ward Keizer Stake
Cascade Pacific Council 492
1000 Country Club Rd
Woodburn, OR 97071


Lds North Muskegon Ward
Grand Rapids Stake
President Gerald R Ford 781
1725 W Giles Rd
Muskegon, Mi 49445


Lds North Ogden 10Th Ward
Coldwater Stake
Trapper Trails 589
787 E 1700 N
North Ogden, Ut 84414


Lds North Ogden 11Th Ward
North Ogden East Stake
Trapper Trails 589
2340 N Fruitland Dr
North Ogden, Ut 84414


Lds North Ogden 12Th Ward
Coldwater Stake
Trapper Trails 589
1791 N 600 E
North Ogden, Ut 84414


Lds North Ogden 13Th Ward
North Ogden East Stake
Trapper Trails 589
900 E 2850 N
North Ogden, Ut 84414


Lds North Ogden 14Th Ward
North Ogden East Stake
Trapper Trails 589
950 E 2850 N
North Ogden, Ut 84414


Lds North Ogden 15Th Ward
Coldwater Stake
Trapper Trails 589
770 E 2100 N
North Ogden, Ut 84414


Lds North Ogden 16Th Ward
North Ogden Stake
Trapper Trails 589
205 E Elberta Dr
North Ogden, Ut 84414


Lds North Ogden 17Th Ward
North Ogden Stake
Trapper Trails 589
386 E Elberta Dr
North Ogden, Ut 84414


Lds North Ogden 19Th Ward
Coldwater Stake
Trapper Trails 589
1791 N 600 E
North Ogden, Ut 84414


Lds North Ogden 1St Ward
North Ogden Stake
Trapper Trails 589
626 E 2600 N
North Ogden, Ut 84414


Lds North Ogden 20Th Ward
North Ogden East Stake
Trapper Trails 589
575 E 3100 N
North Ogden, Ut 84414


Lds North Ogden 21St Ward
North Ogden Stake
Trapper Trails 589
626 E 2600 N
North Ogden, Ut 84414


Lds North Ogden 22Nd Ward
North Ogden East Stake
Trapper Trails 589
950 E 2850 N
North Ogden, Ut 84414


Lds North Ogden 23Rd Ward
Coldwater Stake
Trapper Trails 589
787 E 1700 N
North Ogden, Ut 84414


Lds North Ogden 24Th Ward
North Ogden East Stake
Trapper Trails 589
1150 E 2600 N
North Ogden, Ut 84414


Lds North Ogden 2Nd Ward
Coldwater Stake
Trapper Trails 589
770 E 2100 N
North Ogden, Ut 84414


Lds North Ogden 3Rd Ward
North Ogden Stake
Trapper Trails 589
386 E Elberta Dr
North Ogden, Ut 84414


Lds North Ogden 4Th Ward
Coldwater Stake
Trapper Trails 589
1791 N 600 E
North Ogden, Ut 84414


Lds North Ogden 5Th Ward
North Ogden Stake
Trapper Trails 589
626 E 2600 N
North Ogden, Ut 84414


Lds North Ogden 6Th Ward
Coldwater Stake
Trapper Trails 589
770 E 2100 N
North Ogden, Ut 84414


Lds North Ogden 7Th Ward
North Ogden Stake
Trapper Trails 589
205 E Elberta Dr
North Ogden, Ut 84414


Lds North Ogden 8Th Ward
North Ogden East Stake
Trapper Trails 589
1150 E 2600 N
North Ogden, Ut 84414


Lds North Ogden 9Th Ward
North Ogden Stake
Trapper Trails 589
205 E Elberta Dr
North Ogden, Ut 84414


Lds North Olmsted Ward
Lake Erie Council 440
25000 Wwood Rd
Westlake, OH 44145


Lds North Park Fourth Ward   Spanish
Utah National Parks 591
82 N 800 W
Provo, UT 84601
Lds North Park Second Ward
Utah National Parks 591
1066 W 200 N
Provo, UT 84601


Lds North Park Third Ward
Utah National Parks 591
200 N 1066 W
Provo, UT 84601


Lds North Shore 1St Ward, Wilmette Stake
Northeast Illinois 129
2727 Lake Ave
Wilmette, IL 60091


Lds North Shores Ward
Bloomfield Hills Stake
Great Lakes Fsc 272
16965 E 12 Mile Rd
Roseville, Mi 48066


Lds North Umpqua Ward
Oregon Trail Council 697
1864 NW Calkins Ave
Roseburg, OR 97471


Lds North Valley Ward Abq Stake
Great Swest Council 412
7609 Calle Comodo Ne
Albuquerque, NM 87113


Lds Northbridge Ward
Utah National Parks 591
2479 E 700 N
St George, UT 84790


Lds Northern Ky Ward Cincinnati Stake
Dan Beard Council, Bsa 438
2965 Hebron Park Dr
Hebron, KY 41048
Lds Northfield Fifth Ward
Utah National Parks 591
1624 N 390 W
Pleasant Grove, UT 84062


Lds Northfield First Ward
Utah National Parks 591
105 W 1800 N
Pleasant Grove, UT 84062


Lds Northfield Fourth Ward
Utah National Parks 591
408 W 1300 N
Pleasant Grove, UT 84062


Lds Northfield Second Ward
Utah National Parks 591
2195 Canyon Rd
Pleasant Grove, UT 84062


Lds Northfield Seventh Ward
Utah National Parks 591
105 W 1800 N
Pleasant Grove, UT 84062


Lds Northfield Sixth Ward
Utah National Parks 591
408 W 1300 N
Pleasant Grove, UT 84062


Lds Northfield Third Ward
Utah National Parks 591
2195 N 100 E
Pleasant Grove, UT 84062


Lds Northgate Ward‐North Stake
Pikes Peak Council 060
8910 Lexington Dr
Colorado Springs, CO 80920


Lds Northland Ward Manteca Stake
Greater Yosemite Council 059
1730 Pagola Ave
Manteca, CA 95337


Lds Northmoor Ward
Utah National Parks 591
4338 E Iverness Lane
Eagle Mountain, UT 84005


Lds Northridge Fourteenth Ward
Utah National Parks 591
1875 N 280 W
Orem, UT 84057


Lds Northridge Fourth Ward
Utah National Parks 591
175 E 1750 N
Orem, UT 84057


Lds Northridge Second Ward
Utah National Parks 591
1780 N 165 E.
Orem, UT 84057


Lds Northridge Seventh Ward
Utah National Parks 591
1674 N 200 W
Orem, UT 84057


Lds Northridge Third Ward
Utah National Parks 591
74 W 1780 N
Orem, UT 84057


Lds Northridge Thirteenth Ward
Utah National Parks 591
1674 N 200 W
Orem, UT 84057


Lds Northridge Twelfth Ward
Utah National Parks 591
150 E 1750 N
Orem, UT 84057
Lds Northridge Ward Carmichael Stake
Golden Empire Council 047
4929 Hillridge Way
Fair Oaks, CA 95628


Lds Northview Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6711 Nview St
Boise, ID 83704


Lds Northville Ward ‐ Westland Stake
Great Lakes Fsc 272
31450 6 Mile Rd
Livonia, MI 48152


Lds Norwalk Ward Cerritos Stake
Long Beach Area Council 032
17909 Bloomfield Ave
Cerritos, CA 90703


Lds Nottingham Country Ward
Katy Stake
Sam Houston Area Council 576
1603 Norwalk
Katy, Tx 77450


Lds Nridge Ward, Highlands Ranch Stake
Denver Area Council 061
9800 Foothills Canyon Blvd
Highlands Ranch, Co 80129


Lds Nyssa 1St Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
101 N 5th St
Nyssa, OR 97913


Lds Nyssa 2Nd Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
1309 Park Ave
Nyssa, OR 97913
Lds O Fallon
Greater St Louis Area Council 312
255 Fairwood Hills Rd
O Fallon, IL 62269


Lds Oak City First Ward
Utah National Parks 591
General Delivery
Oak City, UT 84649


Lds Oak City Second Ward
Utah National Parks 591
P.O. Box 326
Oak City, UT 84649


Lds Oak Creek Ward ‐ Meridian W Stk
Ore‐Ida Council 106 ‐ Bsa 106
5080 N Baylor Ln
Meridian, ID 83646


Lds Oak Creek Ward Lebanon Stake
Cascade Pacific Council 492
35670 Ebenger St Sw
Albany, OR 97321


Lds Oak Harbor 1St Ward Oak Harbor Stake
Mount Baker Council, Bsa 606
201 NE Oleary St
Oak Harbor, WA 98277


Lds Oak Harbor 2Nd Ward Oak Harbor Stake
Mount Baker Council, Bsa 606
201 NE Oleary St
Oak Harbor, WA 98277


Lds Oak Harbor Penn Cove Ward
Oak Harbor Stake
Mount Baker Council, Bsa 606
201 Ne Oleary St
Oak Harbor, Wa 98277
Lds Oak Hill Ward Antelope Stake
Golden Empire Council 047
3621 Elverta Rd
Antelope, CA 95843


Lds Oak Hills Fifth Ward
Utah National Parks 591
1900 N 1500 E
Provo, UT 84604


Lds Oak Hills First Ward
Utah National Parks 591
1038 N 1200 E
Provo, UT 84604


Lds Oak Hills Fourth Ward
Utah National Parks 591
1786 Driftwood Dr
Provo, UT 84604


Lds Oak Hills Ninth Ward
Utah National Parks 591
1960 N 1500 E
Provo, UT 84604


Lds Oak Hills Second Ward
Utah National Parks 591
925 E N Temple Dr
Provo, UT 84604


Lds Oak Hills Seventh Ward
Utah National Parks 591
1213 Ash Ave
Provo, UT 84604


Lds Oak Hills Sixth Ward
Utah National Parks 591
1900 N 1500 E
Provo, UT 84604


Lds Oak Hills Ward Cedar Mill Stake
Cascade Pacific Council 492
14885 NW W Union Rd
Portland, OR 97229


Lds Oak Hurst Ward Vancouver Stake
Cascade Pacific Council 492
10509 SE 5th St
Oakhurst Ward
Vancouver, WA 98664


Lds Oak Marr Ward Oakton Stake
National Capital Area Council 082
2719 Hunter Mill Rd
Oakton, VA 22124


Lds Oak Point Ward
Frisco Tx Shawnee Trail Stake
Circle Ten Council 571
8801 Martop Rd
Crossroads, Tx 76227


Lds Oakbrook Ward Charleston Stake
Coastal Carolina Council 550
511 E 5th N St
Summerville, SC 29483


Lds Oakcrest Ward
Houston West Sp Stake
Sam Houston Area Council 576
9525 Spring Cypress Rd
Spring, Tx 77379


Lds Oakdale 1St Ward Modesto North Stake
Greater Yosemite Council 059
1111 E A St
Oakdale, CA 95361


Lds Oakdale 2Nd Ward Modesto North Stake
Greater Yosemite Council 059
1111 E A St
Oakdale, CA 95361


Lds Oakdale Stake ‐ Cottage Grove Ward
Northern Star Council 250
11900 S Manning
Cottage Grove, MN 55016


Lds Oakdale Stake ‐ Eagan Ward
Northern Star Council 250
651 Scross Dr E
Burnsville, MN 55306


Lds Oakdale Stake ‐ Hudson Ward
Northern Star Council 250
545 Stageline Rd
Hudson, WI 54016


Lds Oakdale Stake ‐ Oakdale Ward
Northern Star Council 250
2140 Hadley Ave N
Oakdale, MN 55128


Lds Oakdale Stake ‐ Red Wing Ward
Northern Star Council 250
580 Hi Park Ave
Red Wing, MN 55066


Lds Oakdale Stake ‐ Woodbury Ward
Northern Star Council 250
6450 Kirkwood Ave S
Cottage Grove, MN 55016


Lds Oakdale Ward Monmouth Stake
Cascade Pacific Council 492
17235 Bridgeport Rd
Dallas, OR 97338


Lds Oakridge Branch Springfield Stake
Oregon Trail Council 697
76959 Lee Dr
Oakridge, OR 97463


Lds Oakridge Ward Folsom Stake
Golden Empire Council 047
1275 Green Valley Rd
El Dorado Hills, CA 95762


Lds Oakton Ward Oakton Stake
National Capital Area Council 082
2719 Hunter Mill Rd
Oakton, VA 22124


Lds Oakview Ward
Utah National Parks 591
3474 Fairway Ln
Spanish Fork, UT 84660


Lds Oakwood Ward
Utah National Parks 591
3116 E 3150 S
Saint George, UT 84790


Lds Oakwood Ward‐High Plains Stake
Pikes Peak Council 060
5485 Hopalong Trl
Colorado Springs, CO 80922


Lds Oasis Park Ward Eldorado Stake
Las Vegas Area Council 328
916 5th St
Boulder City, NV 89005


Lds Oatfield Ward Milwaukie Stake
Cascade Pacific Council 492
8331 Cason Rd
Gladstone, OR 97027


Lds Ocean Springs Ward
Pine Burr Area Council 304
14928 Big Ridge Rd
Diberville, MS 39532


Lds Oceana Ward Virginia Beach Stake
Tidewater Council 596
2397 Newstead Dr
Virginia Beach, VA 23454
Lds Ochoco Valley Ward ‐ Redmond Stake
Crater Lake Council 491
1296 NE Loper Ave
Prineville, OR 97754


Lds Ocoee Pine Hills Orlando South
Central Florida Council 083
8450 Silver Star Rd
Orlando, FL 32818


Lds Oconee River Branch
Northeast Georgia Council 101
706 Whitehead Rd
Athens, GA 30606


Lds Odessa Ward Warrensburg Stake
Heart of America Council 307
300 E Crestview
Odessa, MO 64076


Lds Of Ada
Arbuckle Area Council 468
2100 Arlington St
Ada, OK 74820


Lds Ogden Valley Deaf Branch
Pleasant Valley Stake
Trapper Trails 589
5640 S 850 E
Ogden, Ut 84403


Lds Ojai Ward Ventura Stake
Ventura County Council 057
411 San Antonio St
Ojai, CA 93023


Lds Okc 1St Ward Okc Stake
Last Frontier Council 480
5020 NW 63rd St
Oklahoma City, OK 73132
Lds Okc 2Nd Ward Okc South Stake
Last Frontier Council 480
12915 S Santa Fe
Oklahoma City, OK 73170


Lds Okc 3Rd Ward Okc Stake
Last Frontier Council 480
12020 N Mustang Rd
Yukon, OK 73099


Lds Okc 5Th Ward Okc Stake
Last Frontier Council 480
10020 Mustang Rd
Oklahoma City, OK 73132


Lds Okc 7Th Ward Okc Stake
Last Frontier Council 480
12101 N Mustang Rd
Yukon, OK 73099


Lds Oklahoma 5Th Ward Okc Stake
Last Frontier Council 480
12020 N Mustang Rd
Yukon, OK 73099


Lds Old Farm Ward
Utah National Parks 591
3600 No Minersville Hwy
Cedar City, UT 84721


Lds Old Mill First Ward
Utah National Parks 591
2380 Creekside Ct
Heber City, UT 84032


Lds Old Mill Second Ward
Utah National Parks 591
1661 E 980 S
Heber City, UT 84032


Lds Old Mill Ward Omaha Stake
Mid‐America Council 326
708 N 154th Ave
Omaha, NE 68154


Lds Old Settlers Ward
Round Rock E Stake
Capitol Area Council 564
2400 N Aw Grimes Blvd
Round Rock, Tx 78665


Lds Olde Oaks Ward
Houston North Stake
Sam Houston Area Council 576
16833 T C Jester Blvd
Houston, Tx 77379


Lds Olive Knolls Ward, Bakersfield Stake
Southern Sierra Council 030
5500 Fruitvale Ave
Bakersfield, CA 93308


Lds Olmstead 2 Ward
Westchester‐Ny Stake
Greater New York Councils, Bsa 640
1235 Olmstead Ave


Lds Olney Ward 2 Branch Seneca Stake
National Capital Area Council 082
11700 Old Baltimore Rd
Olney, MD 20832


Lds Olney Ward Seneca Stake
National Capital Area Council 082
17700 Old Baltimore Rd
Olney, MD 20832


Lds Olympic Marshallese Br Auburn Stake
Chief Seattle Council 609
1936 J St Ne
Auburn, Wa 98002


Lds Olympic View Ward Lynnwood Stake
Mount Baker Council, Bsa 606
17321 44th Ave W
Lynnwood, WA 98037


Lds Oneida Branch Appleton Wi Stake
Bay‐Lakes Council 635
N6064 County Rd E
De Pere, WI 54115


Lds Ontario 1St Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
661 SW 12th St
Ontario, OR 97914


Lds Ontario 2Nd Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
661 SW 12th St
Ontario, OR 97914


Lds Ontario 3Rd Ward‐Ontario Stk
Ore‐Ida Council 106 ‐ Bsa 106
1705 NW 4th Ave
Ontario, OR 97914


Lds Orangeville First Ward
Utah National Parks 591
285 S 200 E
P.O. Box 294
Orangeville, UT 84537


Lds Orangeville Second Ward
Utah National Parks 591
45 W 100 S
Orangeville, UT 84537


Lds Orangeville Third Ward
Utah National Parks 591
165 W 800 N
Castle Dale, UT 84513


Lds Orchard Fifth Ward
Utah National Parks 591
1120 E 600 N
Orem, UT 84097


Lds Orchard First Ward
Utah National Parks 591
600 N 810 E
Orem, UT 84097


Lds Orchard Fourth Ward
Utah National Parks 591
670 E 800 N
Orem, UT 84097


Lds Orchard Grove Ward
Kays Creek Stake
Trapper Trails 589
2680 E Cherry Lane
Layton, Ut 84040


Lds Orchard Heights Ward Bremerton Stake
Chief Seattle Council 609
P.O. Box 806
Manchester, WA 98353


Lds Orchard Hills
Utah National Parks 591
949 N 540 W
American Fork, UT 84003


Lds Orchard Mesa Ward
Grand Junction Stake
Denver Area Council 061
543 Melody Ln
Grand Junction, Co 81501


Lds Orchard Park Ward
Weber Heights Stake
Trapper Trails 589
3270 Orchard Ave
Ogden, Ut 84403


Lds Orchard Park Ward ‐ Kennewick Stake
Blue Mountain Council 604
8120 W 4th Ave
Kennewick, WA 99336


Lds Orchard Second Ward
Utah National Parks 591
670 E 800 N
Orem, UT 84097


Lds Orchard Seventh Ward
Utah National Parks 591
810 E 600 N
Orem, UT 84097


Lds Orchard Sixth Ward
Utah National Parks 591
1154 E 720 N
Orem, UT 84097


Lds Orchard Third Ward
Utah National Parks 591
863 E 600 N
Orem, UT 84097


Lds Orchard Ward, Littleton Stake
Denver Area Council 061
999 E Tufts Ave
Englewood, CO 80113


Lds Orchard Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
701 S Curtis Rd
Boise, ID 83705


Lds Orchards Ward Vancouver North Stake
Cascade Pacific Council 492
7101 NE 166th Ave
Vancouver, WA 98682


Lds Orderville First Ward
Utah National Parks 591
P.O. Box 75
Orderville, UT 84758
Lds Orderville Second Ward
Utah National Parks 591
2561 S State
P.O. Box 5566
Mount Carmel, UT 84755


Lds Oregon City 1st Ward
Oregon City Stake
Cascade Pacific Council 492
14340 S Donovan Rd
Oregon City, Or 97045


Lds Oregon City Fourth Ward
Oregon City Stake
Cascade Pacific Council 492
15344 Henrici Rd
Oregon City, Or 97045


Lds Oregon City Second Ward
Oregon City Stake
Cascade Pacific Council 492
14340 S Donovan Rd
Oregon City, Or 97045


Lds Oregon City Third Ward
Oregon City Stake
Cascade Pacific Council 492
15344 Henrici Rd
Oregon City, Or 97045


Lds Oregon Trail Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2529 E Mendota Dr
Boise, ID 83716


Lds Orem Eighth Ward
Utah National Parks 591
400 N 400 E.
Orem, UT 84058


Lds Orem Fifth Ward
Utah National Parks 591
756 E Center St
Orem, UT 84097


Lds Orem First Ward
Utah National Parks 591
80 S 280 E
Orem, UT 84058


Lds Orem Fourth Ward
Utah National Parks 591
50 S 800 E
Orem, UT 84097


Lds Orem Hillcrest Eighth Ward
Utah National Parks 591
1035 S 800 E
Orem, UT 84097


Lds Orem Hillcrest First Ward
Utah National Parks 591
1450 S 800 E
Orem, UT 84097


Lds Orem Hillcrest Fourth Ward
Utah National Parks 591
440 E 800 S
Orem, UT 84097


Lds Orem Hillcrest Sixth Ward
Utah National Parks 591
1035 S 800 E
Orem, UT 84097


Lds Orem Hillcrest Third Ward
Utah National Parks 591
1450 S 800 E
Orem, UT 84097


Lds Orem Ninth Samoan Ward
Utah National Parks 591
80 S 280 E
Orem, UT 84058


Lds Orem Park Eighth Ward
Utah National Parks 591
114 S 400 W
Orem, UT 84058


Lds Orem Park Fifth Ward
Utah National Parks 591
146 W 255 S
198 W 300 S
Orem, UT 84058


Lds Orem Park First Ward
Utah National Parks 591
50 N 750 W
Orem, UT 84057


Lds Orem Park Fourth Ward
Utah National Parks 591
1039 W 40 S
Bishop Wiltbank
Orem, UT 84058


Lds Orem Park Second Ward
Utah National Parks 591
114 S 400 W
Orem, UT 84058


Lds Orem Park Seventh Ward
Utah National Parks 591
114 S 400 W
Orem, UT 84058


Lds Orem Park Sixth Ward
Utah National Parks 591
195 W 300 S
Orem, UT 84058


Lds Orem Park Tenth Ward
Utah National Parks 591
50 N 750 W
Orem, UT 84057


Lds Orem Park Third Ward
Utah National Parks 591
195 W 300 S
Orem, UT 84058


Lds Orem Second Ward
Utah National Parks 591
236 S 400 E
Orem, UT 84097


Lds Orem Seventh Ward
Utah National Parks 591
954 E 200 S
Orem, UT 84097


Lds Orem Sixth Ward
Utah National Parks 591
1082 E 50 S
Orem, UT 84097


Lds Orem Tenth Ward Tongan
Utah National Parks 591
780 N 700 W
Provo, UT 84601


Lds Orem Third Ward
Utah National Parks 591
255 S 700 E
Orem, UT 84097


Lds Orem Twelfth Ward
Utah National Parks 591
1811 W 850 S
Orem, UT 84058


Lds Orenco Ward Hillsboro Stake
Cascade Pacific Council 492
6306 NE Laurelee St
Hillsboro, OR 97124
Lds Orland Ward Chico Stake
Golden Empire Council 047
6712 County Rd 20
Orland, CA 95963


Lds Orofino Ward/Lewiston Stake
Inland Nwest Council 611
13610 Freemont Ave
P.O. Box 872
Orofino, ID 83544


Lds Oroville 1St Ward Gridley Stake
Golden Empire Council 047
2390 Monte Vista Ave
Oroville, CA 95966


Lds Oroville 3Rd Ward Gridley Stake
Golden Empire Council 047
2390 Monte Vista Ave
Oroville, CA 95966


Lds Orting Ward Enumclaw Stake
Chief Seattle Council 609
13612 224th St E
Graham, WA 98338


Lds Osage Beach Ward ‐ St Roberts Stake
Great Rivers Council 653
1168 State Hwy Kk
Osage Beach, MO 65065


Lds Oscoda Ward ‐ Midland Stake
Water and Woods Council 782
4685 E Huron Rd
Oscoda, MI 48750


Lds Oshkosh Ward Appleton Wi Stake
Bay‐Lakes Council 635
2828 Scenic Dr
Oshkosh, WI 54904
Lds Ottawa Ward Olathe Stake
Heart of America Council 307
1212 S Willow St
Ottawa, KS 66067


Lds Otto Ward, Cody Stake
Greater Wyoming Council 638
775 Higway 30
Basin, WY 82410


Lds Overland Park 1St Ward Lenexa Stake
Heart of America Council 307
7100 Hadley St
Overland Park, KS 66204


Lds Overland Park 2Nd Ward Lenexa Stake
Heart of America Council 307
7845 Allman Rd
Lenexa, KS 66217


Lds Overland Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
1950 S Locust Grove
Meridian, ID 83642


Lds Overton 1St Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 690
Overton, NV 89040


Lds Overton 2Nd Ward Logandale Stake
Las Vegas Area Council 328
226 W Thomas
P.O. Box 579
Overton, NV 89040


Lds Overton 3Rd Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 309
Overton, NV 89040


Lds Overton 4Th Ward Logandale Stake
Las Vegas Area Council 328
P.O. Box 638
Overton, NV 89040


Lds Oviedo Orlando
Central Florida Council 083
350 W Artesia St
Oviedo, FL 32765


Lds Owensboro Ward
Lincoln Heritage Council 205
3920 E 4th St
Owensboro, KY 42303


Lds Owl Creek Branch, Worland State
Greater Wyoming Council 638
625 S 10th St
Thermopolis, WY 82443


Lds Owosso Ward ‐ Lansing Stake
Water and Woods Council 782
1588 N Hickory Rd
Owosso, MI 48867


Lds Owyhee Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
Box 111 Rt 1
Nyssa, OR 97913


Lds Pace Ward
Gulf Coast Council 773
5737 Berryhill Rd
Milton, FL 32570


Lds Pacific Branch Beaverton Stake
Cascade Pacific Council 492
4195 SW 99th Ave
Beaverton, OR 97005


Lds Pacific Drive Second Ward
Utah National Parks 591
507 W 700 N
American Fork, UT 84003


Lds Pacific Drive Ward
Utah National Parks 591
500 N 700 W
American Fork, UT 84003


Lds Pacific Ridge Ward Omaha Stake
Mid‐America Council 326
17606 Spaulding St
Omaha, NE 68116


Lds Paducah Ward
Lincoln Heritage Council 205
320 Birch St
Paducah, KY 42001


Lds Page Ward
Utah National Parks 591
711 S 600 E
Payson, UT 84651


Lds Pagosa Springs Ward Durango Stake
Great Swest Council 412
418 S 8th St
Pagosa Springs, CO 81147


Lds Painted Desert Ward Meadows Stake
Las Vegas Area Council 328
5241 N Lisa Ln
Las Vegas, NV 89149


Lds Painted Mtn Ward Blue Diamond Stake
Las Vegas Area Council 328
9485 S Cimarron Rd
Las Vegas, Nv 89178


Lds Pajarito Ward Santa Fe Stake
Great Swest Council 412
904 Capulin Rd
Los Alamos, NM 87544
Lds Palm Bay 2Nd Cocoa
Central Florida Council 083
1065 Emerson Dr Ne
Palm Bay, FL 32907


Lds Palm Bay Cocoa
Central Florida Council 083
1065 Emerson Dr Ne
Palm Bay, FL 32907


Lds Palm Beach Ward‐Wpb Stake
Gulf Stream Council 085
1710 Carandis Rd
West Palm Beach, FL 33406


Lds Palm Canyon Ward
Mccullough Hills Stake
Las Vegas Area Council 328
567 W Pacific Ave
Henderson, Nv 89015


Lds Palm Coast Deland
Central Florida Council 083
402 N Palmettio St
Bunnell, FL 32110


Lds Palm Hills Ward Black Mountain Stake
Las Vegas Area Council 328
400 S Water St
Henderson, NV 89002


Lds ‐Palmdale Stake‐ Agua Dulce Ward
W.L.A.C.C. 051
35450 Penman Rd
Agua Dulce, CA 91390


Lds ‐Palmdale Stake‐ Palmdale 1St Ward
W.L.A.C.C. 051
405 E Ave R12
Palmdale, CA 93550
Lds ‐Palmdale Stake‐ Palmdale 4Th Ward
W.L.A.C.C. 051
35266 N 87th St E
Littlerock, CA 93543


Lds ‐Palmdale Stake‐ Palmdale 5Th Ward
W.L.A.C.C. 051
39546 23rd St W
Palmdale, CA 93551


Lds Palmer Park Ward‐Colorado Spgs Stake
Pikes Peak Council 060
2750 Melissa Dr
Colorado Springs, Co 80907


Lds Palmhurst Ward Las Vegas Stake
Las Vegas Area Council 328
221 Lorenzi St
Las Vegas, NV 89107


Lds Palmyra Ward
Utah National Parks 591
1866 W 5000 S
Spanish Fork, UT 84660


Lds Palmyra Ward Lakes Stake
Las Vegas Area Council 328
1801 S Monte Cristo Way
Las Vegas, NV 89117


Lds Palmyra Ward Palmyra Stake
Seneca Waterways 397
2801 Temple Rd
Palmyra, NY 14522


Lds Palo Alto 1St Ward, Menlo Park Stake
Pacific Skyline Council 031
3865 Middlefield Rd
Palo Alto, CA 94303


Lds Palo Alto 2Nd Ward, Menlo Park Stake
Pacific Skyline Council 031
3865 Middlefield Rd
Palo Alto, CA 94303


Lds Palo Cedro Ward Anderson Stake
Golden Empire Council 047
21912 Plaza Dr
Palo Cedro, CA 96073


Lds Palo Duro Ward Amarillo Tx Stake
Golden Spread Council 562
63 Hunsley Rd
Canyon, TX 79015


Lds Palo Verde Ward Hend Lake Mead Stake
Las Vegas Area Council 328
401 Palo Verde Dr
Henderson, NV 89015


Lds Palo Verde Ward Red Rock Stake
Las Vegas Area Council 328
10550 Alta Rd
Las Vegas, NV 89144


Lds Paloma Lake Ward Round Rock E Stake
Capitol Area Council 564
2800 N Dr
Taylor, Tx 76574


Lds Palos Verdes Stake
Greater Los Angeles Area 033
5845 Crestridge Rd
Rancho Palos Verdes, CA 90275


Lds Palos Verdes Stake L0047    L0134
Greater Los Angeles Area 033
5845 Crestridge Rd
Rancho Palos Verdes, CA 90275


Lds Palouse River Ward/Moscow Stake
Inland Nwest Council 611
1217 Kamiaken St
Moscow, ID 83843
Lds Palouse River Ward/Moscow Stake
Inland Nwest Council 611
1657 S Blaine St
Moscow, ID 83843


Lds Palouse Ward ‐ Kennewick East Stake
Blue Mountain Council 604
3004 S Rainier St
Kennewick, WA 99337


Lds Pampa Ward Amarillo Tx Stake
Golden Spread Council 562
411 E 29th Ave
Pampa, TX 79065


Lds Panaca First Ward
Utah National Parks 591
P.O. Box 507
Panaca, NV 89042


Lds Panaca Second Ward
Utah National Parks 591
P.O. Box 628
Panaca, NV 89042


Lds Panguitch First Ward
Utah National Parks 591
550 S 100 W
Panguitch, UT 84759


Lds Panguitch Second Ward
Utah National Parks 591
150 N 400 E
Panguitch, UT 84759


Lds Panguitch Third Ward
Utah National Parks 591
550 S 100 W
Panguitch, UT 84759
Lds Panorama Heights Ward
Rio Rancho Stake
Great Swest Council 412
300 Loma Colorado Blvd Ne
Rio Rancho, Nm 87124


Lds Panorama Ward
Utah National Parks 591
2140 E 620 N
St George, UT 84790


Lds Paola Ward Olathe Stake
Heart of America Council 307
28750 Hospital Dr
Paola, KS 66071


Lds Paonia Ward/Montrose Stake
Denver Area Council 061
P.O. Box 819
Paonia, CO 81428


Lds Paper Mill Ward/Roswell Stake
Atlanta Area Council 092
95 Holt Rd Ne
Marietta, GA 30068


Lds Papillion Ward Papillion Stake
Mid‐America Council 326
12009 S 84th St
Papillion, NE 68046


Lds Paradise 1St Ward Chico Stake
Golden Empire Council 047
1045 Buschmann Rd
Paradise, CA 95969


Lds Paradise 2Nd Ward Chico Stake
Golden Empire Council 047
1275 Bille Rd
Paradise, CA 95969


Lds Paradise Hills Ward
Mccullough Hills Stake
Las Vegas Area Council 328
485 Mission
Henderson, Nv 89002


Lds Paradise Hills Ward Abq West Stake
Great Swest Council 412
4500 Ellison Dr Nw
Albuquerque, NM 87114


Lds Paradise Ridge Ward/Moscow Stake
Inland Nwest Council 611
1657 S Blaine St
Moscow, ID 83843


Lds Paradise Ward Paradise Stake
Las Vegas Area Council 328
5343 Annie Oakley Dr
Las Vegas, NV 89120


Lds Paradise Ward Warm Springs Stake
Las Vegas Area Council 328
7670 S Bruce St
Las Vegas, NV 89123


Lds Paragonah Ward
Utah National Parks 591
79 N Main
Paragonah, UT 84760


Lds Paramount Ward‐Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
Bishop Greg Reinhardt
5501 N Meridian Rd
Meridian, ID 83646


Lds Paris Branch Champaign Stake
Greater St Louis Area Council 312
145 E Steidel Rd
Paris, IL 61944


Lds Park Branch Ward E Lb Stake
Long Beach Area Council 032
6500 Athlerton Ave
Long Beach, CA 90804


Lds Park Center Ward‐Boise E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2938 E Migratory Dr
Boise, ID 83706


Lds Park Glen 1St Ward
Fort Worth North Stake
Longhorn Council 662
P.O. Box 54190
Hurst, Tx 76054


Lds Park Glen 2Nd Ward
Fort Worth North Stake
Longhorn Council 662
850 Cannon Dr
Hurst, Tx 76054


Lds Park Lane Ward‐Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
1133 N Park Lane
Eagle, ID 83616


Lds Park Meadows Ward, Castle Rock Stake
Denver Area Council 061
7471 Timberline Rd
Lone Tree, CO 80124


Lds Park Orchard Ward Kent Stake
Chief Seattle Council 609
24419 94th Ave S
Kent, WA 98030


Lds Park Ward
Utah National Parks 591
110 S 300 W
Payson, UT 84651


Lds Parker Ward Lake Havasu Stake
Las Vegas Area Council 328
301 S Mohave Ave
Parker, AZ 85344


Lds Parker Ward, Parker Stake
Denver Area Council 061
20850 E Main St
Parker, CO 80134


Lds Parkers Landing Ward
Vancouver E Stake
Cascade Pacific Council 492
3907 Q St
Washougal, Wa 98671


Lds Parkside Ward
Utah National Parks 591
8285 N Porters Crossing Pkwy
Eagle Mountain, UT 84005


Lds Parkside Ward Round Rock Stake
Capitol Area Council 564
3613 Laurel Bay Loop
Round Rock, TX 78681


Lds Parkside Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1560 N Ten Mile Rd
Meridian, ID 83642


Lds Parkview Ward, Arapahoe Stake
Denver Area Council 061
5175 S Picadilly St
Centennial, CO 80015


Lds Parkville Ward Platte City Stake
Heart of America Council 307
5827 NW Aspen Ln
Parkville, MO 64152


Lds Parkway Eighth Ward
Utah National Parks 591
1461 Lakeshore Dr
Provo, UT 84601


Lds Parkway Fifth Ward
Utah National Parks 591
3056 W 820 N
Provo, UT 84601


Lds Parkway First Ward
Utah National Parks 591
2801 W 620 N
Provo, UT 84601


Lds Parkway Fourth Ward
Utah National Parks 591
1434 N 2800 W
Provo, UT 84601


Lds Parkway Second Ward
Utah National Parks 591
2801 W 620 N
Provo, UT 84601


Lds Parkway Seventh Ward
Utah National Parks 591
2587 W 1390 N
Provo, UT 84601


Lds Parkway Sixth Branch   Spanish
Utah National Parks 591
1390 N Lakeshore Dr
Provo, UT 84601


Lds Parkway Third Ward
Utah National Parks 591
1249 N 3100 W
Provo, UT 84601


Lds Parkway Ward
Oregon Trail Council 697
2001 W Bertha Ave
Roseburg, OR 97471
Lds Parma 2Nd Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
307 E Andrew Ave
Parma, ID 83660


Lds Parma Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
Fourth   Andrew
Parma, ID 83660


Lds Parowan Fifth Ward
Utah National Parks 591
P.O. Box 1819
Parowan, UT 84761


Lds Parowan First Ward
Utah National Parks 591
P.O. Box 1780
87 W Ctr
Parowan, UT 84761


Lds Parowan Fourth Ward
Utah National Parks 591
90 S Main
Parowan, UT 84761


Lds Parowan Second Ward
Utah National Parks 591
87 W Center
Parowan, UT 84761


Lds Parowan Third Ward
Utah National Parks 591
90 S Main
Parowan, UT 84761


Lds Pasadena 2Nd Ward
Houston East Stake
Sam Houston Area Council 576
4202 Yellowstone Dr
Pasadena, Tx 77504
Lds Pasadena 3Rd Ward
Houston East Stake
Sam Houston Area Council 576
4917 Allen Genoa Rd
Pasadena, Tx 77504


Lds Pasadena Ward 24 Pasadena Stake
Greater Los Angeles Area 033
770 Sierra Madre Villa Ave
Pasadena Stake
Pasadena, CA 91107


Lds Pasadena Ward Annapolis Maryland
Baltimore Area Council 220
409 5th Ave Se
Glen Burnie, MD 21061


Lds Paseo Verde Ward Carnegie Stake
Las Vegas Area Council 328
2497 Cozy Hill Cir
Henderson, NV 89052


Lds Paseos Ward Desert Foothill Stake
Las Vegas Area Council 328
10550 Alta Dr
Las Vegas, NV 89138


Lds Paso Robles 1St Ward
San Luis Obispo Stake
Los Padres Council 053
1020 Creston Rd
Paso Robles, Ca 93446


Lds Paso Robles 2Nd Ward
San Luis Obispo Stake
Los Padres Council 053
1020 Creston Rd
Paso Robles, Ca 93446


Lds Passons Ward L497
Greater Los Angeles Area 033
6203 Passons Blvd
Pico Rivera, CA 90660


Lds Paw Paw Branch ‐ Kalamazoo Stake
Southern Shores Fsc 783
52441 Cr 665
Paw Paw, MI 49079


Lds Payette 1St Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
501 S Iowa Ave
Payette, ID 83661


Lds Payette 2Nd Ward ‐ Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
12224 Hwy 95
Payette, ID 83661


Lds Payette 2Nd Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
501 S Iowa Ave
Payette, ID 83661


Lds Payson Eighteenth Ward
Utah National Parks 591
482 W 1400 S
Payson, UT 84651


Lds Payson Eighth Ward
Utah National Parks 591
780 W 500 S
Payson, UT 84651


Lds Payson Eleventh Ward
Utah National Parks 591
950 W 400 N
Payson, UT 84651


Lds Payson Fifteenth Ward
Utah National Parks 591
779 S 700 W
Payson, UT 84651
Lds Payson Fifth Ward
Utah National Parks 591
711 S 600 E
Payson, UT 84651


Lds Payson First Ward
Utah National Parks 591
225 S 400 E
Payson, UT 84651


Lds Payson Fourteenth Ward
Utah National Parks 591
110 S 300 W
Payson, UT 84651


Lds Payson Nineteenth Ward
Utah National Parks 591
482 W 1400 S
Payson, UT 84651


Lds Payson Ninth Ward
Utah National Parks 591
1080 S 930 W
Payson, UT 84651


Lds Payson Second Ward
Utah National Parks 591
279 S Main St
Payson, UT 84651


Lds Payson Seventeenth Ward
Utah National Parks 591
779 S 700 W
Payson, UT 84651


Lds Payson Seventh Ward
Utah National Parks 591
1128 E 100 S
Payson, UT 84651
Lds Payson Sixteenth Ward
Utah National Parks 591
650 S 800 W
Payson, UT 84651


Lds Payson Sixth Ward
Utah National Parks 591
780 W 500 S
Payson, UT 84651


Lds Payson Spring Creek Ward
Utah National Parks 591
985 S 880 W
Payson, UT 84651


Lds Payson Tenth Ward
Utah National Parks 591
780 W 500 S
Payson, UT 84651


Lds Payson Third Ward
Utah National Parks 591
274 N Main St
Payson, UT 84651


Lds Payson Twentieth Ward
Utah National Parks 591
1237 S 780 W
Payson, UT 84651


Lds Pea Ridge Branch
Westark Area Council 016
13809 Degraff Rd
Rogers, AR 72756


Lds Peachtree City Ward
Fayetteville, Ga Stake
Flint River Council 095
101 N Peachtree Pkwy
Peachtree City, Ga 30269


Lds Peachtree Corners Ward Roswell Sta
Atlanta Area Council 092
5995 Spalding Dr
Norcross, GA 30092


Lds Pear Park Ward/Grand Junction Stake
Denver Area Council 061
543 Melody Ln
Grand Junction, CO 81501


Lds Pearl Creek Ward Eldorado Stake
Las Vegas Area Council 328
801 Arrowhead Trl
Henderson, NV 89002


Lds Pearson Ward Douglas Stake
South Georgia Council 098
P.O. Box 187
Pearson, GA 31642


Lds Peavine Valley Ward ‐ Reno Stake
Nevada Area Council 329
2050 Robb Dr
Reno, NV 89523


Lds Peccole Ranch Ward Lakes Stake
Las Vegas Area Council 328
9825 W Desert Inn Rd
Las Vegas, NV 89117


Lds Pecos River Ward ‐ Roswell Nm Stake
Conquistador Council Bsa 413
1722 N Mesa St
Carlsbad, NM 88220


Lds Pekin Ward, Peoria Stake
W D Boyce 138
2104 S 14th St
Pekin, IL 61554


Lds Pelican Creek Ward N Las Vegas Stake
Las Vegas Area Council 328
1991 W Washburn
North Las Vegas, Nv 89031


Lds Pellissippi Knoxville
Great Smoky Mountain Council 557
11837 Grigsby Chapel Rd
Knoxville, TN 37934


Lds Peninsula 1St Tongan Ward
Sf E Stake
Pacific Skyline Council 031
245 Ludeman Ln
Millbrae, Ca 94030


Lds Peninsula 2Nd Tongan Ward
Sf E Stake
Pacific Skyline Council 031
3601 Alameda De Las Pulgas
San Mateo, Ca 94403


Lds Peninsula 3Rd Tongan Ward
Sf E Stake
Pacific Skyline Council 031
1475 Edgewoood Rd
Redwood City, Ca 94062


Lds Peninsula 5Th Samoan Br, Sf E Stake
Pacific Skyline Council 031
875 Quince Ave
Santa Clara, Ca 95051


Lds Peninsula 5Th Tongan Ward
Sf E Stake
Pacific Skyline Council 031
771 W Fremont Ave
Sunnyvale, Ca 94087


Lds Penn Valley Ward Auburn Stake
Golden Empire Council 047
615 Hollow Way
Penn Valley, CA 95946


Lds Pennypack Ward
Cradle of Liberty Council 525
2072 Red Lion Rd
Philadelphia, PA 19115


Lds Peoria Ward, Aurora Stake
Denver Area Council 061
11100 E Alameda Ave
Aurora, CO 80012


Lds Perche Creek Ward
Great Rivers Council 653
4908 Silver Cliff Dr
Columbia, MO 65203


Lds Perdido Ward
Gulf Coast Council 773
12030 Lillian Hwy
Pensacola, FL 32506


Lds Peregrine Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1905 N Black Cat
Meridian, ID 83642


Lds Perry Park Ward, Castle Rock Stake
Denver Area Council 061
950 Plum Creek Blvd
Castle Rock, CO 80104


Lds Perry Ward
Central Georgia Council 096
1799 Houston Lake Rd
Perry, GA 31069


Lds Perry Ward Kirtland Stake
Lake Erie Council 440
4130 Davids Way
Perry, OH 44081


Lds Perrydale Ward Monmouth Stake
Cascade Pacific Council 492
1401 SW 13th St
Dallas, OR 97338


Lds Perryton Branch Amarillo Tx Stake
Golden Spread Council 562
1302 Michigan St
Perryton, TX 79070


Lds Perth Amboy /Scotch Plains Stake
Patriots Path Council 358
271 Maple St
Perth Amboy, NJ 08861


Lds Petaluma 1St Ward
Redwood Empire Council 041
745 N Webster St
Petaluma, CA 94952


Lds Peterborough Ward Nashua Nh Stake
Daniel Webster Council, Bsa 330
65 Old Bennington Rd
Peterborough, NH 03458


Lds Peterson Lane Ward
Redwood Empire Council 041
1725 Peterson Ln
Santa Rosa, CA 95403


Lds Pflugerville Ward
Round Rock E Stake
Capitol Area Council 564
700 N Heatherwilde Blvd
Pflugerville, Tx 78660


Lds Pg Garden Eleventh Ward   Spanish
Utah National Parks 591
745 N 600 W
Pleasant Grove, UT 84062


Lds Pg Garden Fifth Ward
Utah National Parks 591
745 N 600 W
Pleasant Grove, UT 84062
Lds Pg Garden First Ward
Utah National Parks 591
745 N 600 W
Pleasant Grove, UT 84062


Lds Pg Garden Fourth Ward
Utah National Parks 591
1028 W 1000 N
Pleasant Grove, UT 84062


Lds Pg Garden Second Ward
Utah National Parks 591
905 N 500 E
Pleasant Grove, UT 84062


Lds Pg Garden Seventh Ward
Utah National Parks 591
1028 W 1000 N
Pleasant Grove, UT 84062


Lds Pg Garden Sixth Ward
Utah National Parks 591
905 N 500 W
Pleasant Grove, UT 84062


Lds Pg Garden Third Ward
Utah National Parks 591
1100 W 1000 N
Pleasant Grove, UT 84062


Lds Pheasant Brook Ward
Kaysville Stake
Trapper Trails 589
205 S Angel St
Kaysville, Ut 84037


Lds Pheasant Meadow Ward
Kanesville Stake
Trapper Trails 589
4775 S 4875 W.
West Haven, Ut 84401
Lds Pheasant Place Ward
Layton South Stake
Trapper Trails 589
505 S 1000 W
Layton, Ut 84041


Lds Pheasant Pointe 8Th Ward
Utah National Parks 591
2325 N 700 W
Lehi, UT 84043


Lds Pheasant Pointe Fifth Ward
Utah National Parks 591
3501 N 775 W
Lehi, UT 84043


Lds Pheasant Pointe First Ward
Utah National Parks 591
1051 W 3100 N
Lehi, UT 84043


Lds Pheasant Pointe Fourth Ward
Utah National Parks 591
1628 W 3180 N, Apt D2
Lehi, UT 84043


Lds Pheasant Pointe Second Ward
Utah National Parks 591
3065 N 1300 W
Lehi, UT 84043


Lds Pheasant Pointe Seventh Ward
Utah National Parks 591
3065 N 1300 W
Lehi, UT 84043


Lds Pheasant Pointe Sixth Ward
Utah National Parks 591
3325 N 700 W
Lehi, UT 84043
Lds Pheasant Pointe Third Ward
Utah National Parks 591
3065 N 1300 W
Lehi, UT 84043


Lds Pheasant Valley Ward
Utah National Parks 591
1038 W 950 S
Springville, UT 84663


Lds‐ Phenix City Ward
c/o Christopher Zeh
Chattahoochee Council 091
20 Elm Ct
Smiths Station, AL 36877


Lds Philadelphia 4Th Ward
Cradle of Liberty Council 525
3913 Chestnut St
Philadelphia, PA 19104


Lds Philomath Ward Corvallis Stake
Oregon Trail Council 697
150 James St
Philomath, OR 97370


Lds Phoenix Park Ward Carmichael Stake
Golden Empire Council 047
8267 Deseret Ave
Fair Oaks, CA 95628


Lds Picacho Ward Las Cruces Stk
Yucca Council 573
3210 Venus St
Las Cruces, NM 88012


Lds Pickering Ward Whittier Stake 708
Greater Los Angeles Area 033
7906 Pickering Ave
Whittier, CA 90602
Lds Pickerington 2Nd Ward
Simon Kenton Council 441
345 Flat River St
Pickerington, OH 43147


Lds Pickerington Ward Reynoldsburg
Simon Kenton Council 441
2135 Baldwin Rd
Reynoldsburg, OH 43068


Lds Picturesque Ward
Utah National Parks 591
820 W Valley View
St George, UT 84770


Lds Piilani Ward
Aloha Council, Bsa 104
15 Kulanihakoi St
Kihei, HI 96753


Lds Pilgrim Mill Ward ‐ Sugar Hill Stake
Northeast Georgia Council 101
3185 Dahlonega Hwy
Cumming, GA 30040


Lds Pilgrims Landing First Ward
Utah National Parks 591
3115 W Davencourt Loop
Lehi, UT 84043


Lds Pilgrims Landing Fourth Ward
Utah National Parks 591
3679 N Bluegrass Blvd
Lehi, UT 84043


Lds Pilgrims Landing Second Ward
Utah National Parks 591
3145 W Mayflower Ave
Lehi, UT 84043


Lds Pilgrims Landing Third Ward
Utah National Parks 591
3145 W Mayflower Ave
Lehi, UT 84043


Lds Pilot Butte Ward
Rock Springs Stake
Trapper Trails 589
2055 Edgar St
Rock Springs, Wy 82901


Lds Pine Creek Ward‐North Stake
Pikes Peak Council 060
8710 Lexington Dr
Colorado Springs, CO 80920


Lds Pine Lake Ward Bellevue Stake
Chief Seattle Council 609
26529 SE Duthie Hill Rd
Issaquah, WA 98027


Lds Pine Meadows Ward   Sp Fork
Utah National Parks 591
1167 S 1700 E
Spanish Fork, UT 84660


Lds Pine Trails Ward
Summerwood Stake
Sam Houston Area Council 576
14404 Kemrock Dr
Houston, Tx 77049


Lds Pinery Ward, Parker South Stake
Denver Area Council 061
7160 Bayou Gulch Rd
Parker, CO 80134


Lds Pineview Ward
Utah National Parks 591
595 N 2450 E
St George, UT 84790


Lds Pineview Ward East Stake
Las Vegas Area Council 328
1707 S Sloan Ln
Las Vegas, NV 89142


Lds Piney Creek Ward, Denver Stake
Denver Area Council 061
4701 S Chambers Rd
Aurora, CO 80015


Lds Pinnacle Mtn Ward Little Rock Stake
Quapaw Area Council 018
600 S Rodney Parham Rd
Little Rock, AR 72205


Lds Pinnacle Ward Spring Mountain Stake
Las Vegas Area Council 328
7973 Coronado Coast St
Las Vegas, NV 89139


Lds Pinon Hills Ward ‐ Carson City Stake
Nevada Area Council 329
1045 Spruce St
Minden, NV 89423


Lds Pioche Ward
Utah National Parks 591
P.O. Box 66
Pioche, NV 89043


Lds Pioneer Crossing Ward
Utah National Parks 591
741 S 1430 W
Lehi, UT 84043


Lds Pioneer Fifth Ward Spanish
Utah National Parks 591
450 N 1200 W.
Provo, UT 84601


Lds Pioneer First Ward
Utah National Parks 591
1025 W 450 N
Provo, UT 84601
Lds Pioneer Fourth Ward
Utah National Parks 591
555 N 800 W
Provo, UT 84601


Lds Pioneer Hill Ward/Moscow Stake
Inland Nwest Council 611
1055 NE Orchard Dr
Pullman, WA 99163


Lds Pioneer Park Ward
Kaysville West Stake
Trapper Trails 589
1449 S Thoroughbred Way
Kaysville, Ut 84037


Lds Pioneer Park Ward
Utah National Parks 591
610 W 300 S
Provo, UT 84601


Lds Pioneer Park Ward, Billings Stake
Montana Council 315
902 N 22nd St
Billings, MT 59101


Lds Pioneer Second Ward
Utah National Parks 591
1150 W 450 N
Provo, UT 84601


Lds Pioneer Trail Ward
Pioneer Trail Stake
Trapper Trails 589
4217 S 5800 W
Hooper, Ut 84315


Lds Pioneer Village Ward
Utah National Parks 591
1066 W 200 N
Provo, UT 84601
Lds Pioneer Ward
Blue Grass Council 204
2459 Sir Barton Way
Lexington, KY 40509


Lds Pioneer Ward Lebanon Stake
Cascade Pacific Council 492
1955 S 5th St
Lebanon, OR 97355


Lds Pioneer Ward Meadows Stake
Las Vegas Area Council 328
3300 N Pioneer Way
Las Vegas, NV 89129


Lds Pioneer Ward Ridgefield Wa Stake
Cascade Pacific Council 492
22709 NE 7th Ct
Ridgefield, WA 98642


Lds Pittsfield Ward
Western Massachusetts Council 234
470 E New Lenox Rd
Pittsfield, MA 01201


Lds Pittsford Ward Palmyra Stake
Seneca Waterways 397
460 Kreag Rd
Pittsford, NY 14534


Lds Placerville Ward El Dorado Stake
Golden Empire Council 047
3275 Cedar Ravine Rd
Placerville, CA 95667


Lds Plain City 1St Ward
Plain City Stake
Trapper Trails 589
2280 N 3600 W
Plain City, Ut 84404
Lds Plain City 2Nd Ward
Farr West Stake
Trapper Trails 589
2132 W 2700 N
Farr W, Ut 84404


Lds Plain City 3Rd Ward
Plain City Stake
Trapper Trails 589
4575 W 2125 N
Plain City, Ut 84404


Lds Plain City 4Th Ward
Plain City Stake
Trapper Trails 589
2235 N 4350 W
Plain City, Ut 84404


Lds Plain City 5Th Ward
Plain City Stake
Trapper Trails 589
4575 W 2125 N
Plain City, Ut 84404


Lds Plain City 6Th Ward
Plain City Stake
Trapper Trails 589
2280 N 3600 W
Plain City, Ut 84404


Lds Plain City 7Th Ward
Farr West Stake
Trapper Trails 589
2952 N 4200 W
Farr W, Ut 84404


Lds Plain City 8Th Ward
Farr West Stake
Trapper Trails 589
2952 N 4200 W
Plain City, Ut 84404
Lds Plain City Meadows Ward
Plain City Stake
Trapper Trails 589
2280 N 3600 W
Plain City, Ut 84404


Lds Plains Branch, Kalispell Stake
Montana Council 315
P.O. Box 868
P.O. Box 1742
Plains, MT 59859


Lds Platte City Ward Platte City Stake
Heart of America Council 307
2700 Ensign
Platte City, MO 64079


Lds Platte River Ward, Golden Stake
Denver Area Council 061
7645 Malamute Dr
Evergreen, CO 80439


Lds Platte Woods Ward Liberty Stake
Heart of America Council 307
5550 N Jackson Ave
Kansas City, MO 64119


Lds Plattsmouth Ward Council Bluff Stake
Mid‐America Council 326
2128 Lincoln Ave
Plattsmouth, NE 68048


Lds Pleasant Grove
Westark Area Council 016
1101 NE Mccollum Dr
Bentonville, AR 72712


Lds Pleasant Grove First Ward
Utah National Parks 591
275 E 500 S
Pleasant Grove, UT 84062
Lds Pleasant Grove Ninth Ward
Utah National Parks 591
200 S 400 E
Pleasant Grove, UT 84062


Lds Pleasant Grove Orchard Ward
Utah National Parks 591
828 S Locust Ave
Pleasant Grove, UT 84062


Lds Pleasant Grove Second Ward
Utah National Parks 591
456 E 100 S
Pleasant Grove, UT 84062


Lds Pleasant Grove Seventh Ward
Utah National Parks 591
828 S Locust Ave
Pleasant Grove, UT 84062


Lds Pleasant Grove Tenth Ward
Wasatch Tongan
Utah National Parks 591
1689 Garden Dr
Pleasant Grove, Ut 84062


Lds Pleasant Grove Third Ward     Spanish
Utah National Parks 591
616 W 130 S
Lindon, UT 84042


Lds Pleasant Grove Twelfth Ward
Utah National Parks 591
828 S Locust Ave
Pleasant Grove, UT 84062


Lds Pleasant Hill Hunters Creek
Central Florida Council 083
2016 N John Young Pkwy
Kissimmee, FL 34741


Lds Pleasant Hills Ward
Layton Hills Stake
Trapper Trails 589
2400 N University Park Blvd
Layton, Ut 84041


Lds Pleasant Ridge Cumberland
Great Smoky Mountain Council 557
6024 Grove Dr
Knoxville, TN 37918


Lds Pleasant Valley 3Rd Ward
Pleasant Valley Stake
Trapper Trails 589
5640 S 850 E
South Ogden, Ut 84405


Lds Pleasant Valley 4Th
Pleasant Valley Stake
Trapper Trails 589
5640 S 850 E
South Ogden, Ut 84405


Lds Pleasant Valley 5Th Ward
Pleasant Valley Stake
Trapper Trails 589
5735 Crestwood Dr
Ogden, Ut 84405


Lds Pleasant Valley 6Th Ward
Pleasant Valley Stake
Trapper Trails 589
5735 Crestwood Dr
Ogden, Ut 84405


Lds Pleasant Valley 7Th Ward
Pleasant Valley Stake
Trapper Trails 589
5735 Crestwood Dr
Ogden, Ut 84405


Lds Pleasant Valley Ward Camarillo Stake
Ventura County Council 057
1201 Paseo Camarillo
Camarillo, CA 93010


Lds Pleasant Valley Ward El Dorado Stake
Golden Empire Council 047
4621 Pony Express Trl
Camino, CA 95709


Lds Pleasant View 11Th Ward
Pleasant View South Stake
Trapper Trails 589
3602 N 500 W
Pleasant View, Ut 84414


Lds Pleasant View 12Th Ward
Pleasant View Stake
Trapper Trails 589
900 W Pleasant View Dr
Pleasant View, Ut 84414


Lds Pleasant View 13Th Ward
Pleasant View Stake
Trapper Trails 589
2975 N 1000 W
Pleasant View, Ut 84414


Lds Pleasant View 14Th Ward
Pleasant View Stake
Trapper Trails 589
3035 N 1325 W
Pleasant View, Ut 84414


Lds Pleasant View 16Th Ward
Pleasant View Stake
Trapper Trails 589
2975 N 1000 W
Pleasant View, Ut 84414


Lds Pleasant View 17Th Ward
Pleasant View Stake
Trapper Trails 589
900 W Pleasant View Dr
Pleasant View, Ut 84414
Lds Pleasant View 18Th Ward
Pleasant View Stake
Trapper Trails 589
1650 N 400 W
Pleasant View, Ut 84414


Lds Pleasant View 1St Ward
Pleasant View Stake
Trapper Trails 589
3035 N 1325 W
Pleasant View, Ut 84414


Lds Pleasant View 2Nd Ward
Pleasant View South Stake
Trapper Trails 589
250 W Elberta Dr
Pleasant View, Ut 84414


Lds Pleasant View 3Rd Ward
Pleasant View Stake
Trapper Trails 589
2975 N 1000 W
Pleasant View, Ut 84414


Lds Pleasant View 4Th Ward
Pleasant View Stake
Trapper Trails 589
3035 N 1325 W
Pleasant View, Ut 84414


Lds Pleasant View 5Th Ward
Pleasant View Stake
Trapper Trails 589
900 W Pleasant View Dr
Pleasant View, Ut 84414


Lds Pleasant View 6Th Ward
Pleasant View Stake
Trapper Trails 589
1650 N 400 W
Harrisville, Ut 84404
Lds Pleasant View 7Th Ward
Pleasant View Stake
Trapper Trails 589
1650 N 400 W
Harrisville, Ut 84414


Lds Pleasant View 8Th Ward
Pleasant View South Stake
Trapper Trails 589
250 W Elberta Dr
Pleasant View, Ut 84414


Lds Pleasant View 9Th Ward
Pleasant View South Stake
Trapper Trails 589
250 W Elberta Dr
Pleasant View, Ut 84414


Lds Pleasant View Eighth Ward
Utah National Parks 591
1060 E 2400 N
Provo, UT 84604


Lds Pleasant View Fifth Ward
Utah National Parks 591
1060 E 2384 N
Provo, UT 84604


Lds Pleasant View First Ward
Utah National Parks 591
464 Sumac Ln
Provo, UT 84604


Lds Pleasant View Fourth Ward
Utah National Parks 591
350 E 2950 N
Provo, UT 84604


Lds Pleasant View Ninth Ward
Utah National Parks 591
2445 Timpview Dr
Provo, UT 84604
Lds Pleasant View Second Ward
Utah National Parks 591
650 Stadium Ave
Provo, UT 84604


Lds Pleasant View Seventh Ward
Utah National Parks 591
2276 Rock Canyon Cir
Provo, UT 84604


Lds Pleasant View Sixth Ward
Utah National Parks 591
318 E 2540 N
Provo, UT 84604


Lds Pleasant View Tenth Ward
Utah National Parks 591
2450 N 1060 E
Provo, UT 84604


Lds Pleasant View Third Ward
Utah National Parks 591
650 Stadium Ave
Provo, UT 84604


Lds Pleasant View Ward
Sparks East Stake
Nevada Area Council 329
1854 Camelback Dr
Sparks, Nv 89434


Lds Plum Creek Ward, Castle Rock Stake
Denver Area Council 061
3301 Meadows Blvd
Castle Rock, CO 80109


Lds Plum Creek Ward, Kyle Texas Stake
Capitol Area Council 564
3751 Trail Ridge Pass
San Marcos, TX 78666
Lds Plumas Lake Ward Yuba City Stake
Golden Empire Council 047
1997 N Beale Rd
Marysville, CA 95901


Lds Plymouth Ward ‐ Westland Stake
Great Lakes Fsc 272
7575 N Hix Rd
Westland, MI 48185


Lds Plymouth Ward Concord Nh Stake
Daniel Webster Council, Bsa 330
354 Fairgrounds Rd
Plymouth, NH 03264


Lds Plymouth Ward Hingham Stake
Mayflower Council 251
430 Court St
Plymouth, MA 02360


Lds Pocatello Central Stake
Lewis   Clark Ward
Grand Teton Council 107
550 W Cedar St
Pocatello, Id 83201


Lds Pocatello Central Stake
Riverside Ward
Grand Teton Council 107
225 Oakwood Dr
Pocatello, Id 83204


Lds Pocatello Central Stake ‐ Cedar Ward
Grand Teton Council 107
550 W Cedar St
Pocatello, ID 83201


Lds Pocatello Central Stake ‐ Gwen Ward
Grand Teton Council 107
1433 Gwen Dr
Pocatello, ID 83204
Lds Pocatello Central Stk
Raymond Park Wd
Grand Teton Council 107
225 Oakwood Dr
Pocatello, Id 83204


Lds Pocatello E Stk ‐Mtn View Ward
Grand Teton Council 107
4Th   Fredrigill
Pocatello, Id 83201


Lds Pocatello East Stake
Princeton Ward
Grand Teton Council 107
42 Princeton Ave
Pocatello, Id 83201


Lds Pocatello East Stake
Sagewood Hills Ward
Grand Teton Council 107
42 Princeton Ave
Pocatello, Id 83201


Lds Pocatello East Stake ‐ Century Ward
Grand Teton Council 107
4th   Fredregill Rd
Pocatello, ID 83204


Lds Pocatello East Stake ‐ Fremont Ward
Grand Teton Council 107
135 S 7th Ave
Pocatello, ID 83201


Lds Pocatello East Stk
Caldwell Park Ward
Grand Teton Council 107
135 S 7Th Ave
Pocatello, Id 83201


Lds Pocatello N Stk ‐Mtn Park Wd
Grand Teton Council 107
4600 Victory Ave
Chubbuck, Id 83202
Lds Pocatello North Stake
Canterbury Ward
Grand Teton Council 107
4890 Whitaker Rd
Chubbuck, Id 83202


Lds Pocatello North Stake
El Rancho Ward
Grand Teton Council 107
300 E Chapel Rd
Pocatello, Id 83201


Lds Pocatello North Stake
Meadowbrook Ward
Grand Teton Council 107
300 E Chapel Rd
Pocatello, Id 83201


Lds Pocatello North Stake
Spanish Branch
Grand Teton Council 107
4600 Victory Ave
Chubbuck, Id 83202


Lds Pocatello North Stake
Whitaker 1St Ward
Grand Teton Council 107
4890 Whitaker Rd
Chubbuck, Id 83202


Lds Pocatello North Stake ‐ Holman Ward
Grand Teton Council 107
300 E Chapel Rd
Pocatello, ID 83201


Lds Pocatello North Stake ‐ Victory Ward
Grand Teton Council 107
4600 Victory Ave
Chubbuck, ID 83202


Lds Pocatello Stake ‐ Arbon Branch
Grand Teton Council 107
655 S Grant Ave
Pocatello, ID 83204


Lds Pocatello Stake ‐ Cedar Hills Ward
Grand Teton Council 107
5425 Bannock Hwy
Pocatello, ID 83204


Lds Pocatello Stake ‐ Gibson Jack Ward
Grand Teton Council 107
8200 W Portneuf Rd
Pocatello, ID 83204


Lds Pocatello Stake ‐ Indian Hills Ward
Grand Teton Council 107
5425 Bannock Hwy
Pocatello, ID 83204


Lds Pocatello Stake ‐ Johnny Creek Ward
Grand Teton Council 107
655 S Grant Ave
Pocatello, ID 83204


Lds Pocatello Stake ‐ Juniper Hills Ward
Grand Teton Council 107
8200 W Portneuf Rd
Pocatello, ID 83204


Lds Pocatello Stake ‐ Mink Creek Ward
Grand Teton Council 107
8200 W Portneuf Rd
Pocatello, ID 83204


Lds Pocatello Stake ‐ Pocatello 1St Ward
Grand Teton Council 107
655 S Grant Ave
Pocatello, ID 83204


Lds Pocatello West Stake
Bannock Creek Ward
Grand Teton Council 107
3444 Hawthorne Rd
Pocatello, Id 83201


Lds Pocatello West Stake ‐ Poc 18Th Ward
Grand Teton Council 107
3444 Hawthorne Rd
Pocatello, ID 83201


Lds Pocatello West Stake ‐ Poc 26Th Ward
Grand Teton Council 107
3444 Hawthorne Rd
Pocatello, ID 83201


Lds Pocatello West Stake ‐ Poc 29Th Ward
Grand Teton Council 107
1700 Kinghorn
Pocatello, ID 83201


Lds Pocatello West Stake ‐ Poc 41St Ward
Grand Teton Council 107
1700 Kinghorn
Pocatello, ID 83201


Lds Pocatello West Stake ‐ Poc 52Nd Ward
Grand Teton Council 107
1700 Kinghorn
Pocatello, ID 83201


Lds Pocatello West Stake ‐ Poc 9Th Ward
Grand Teton Council 107
4331 Hawthorne Rd
Pocatello, ID 83202


Lds Pointe Meadows First Ward
Utah National Parks 591
2150 N Pointe Meadow Dr
Lehi, UT 84043


Lds Pointe Meadows Second Ward
Utah National Parks 591
2150 Pointe Meadow Loop
Lehi, UT 84043
Lds Polson Ward, Kalispell Stake
Montana Council 315
1104 4th Ave E
Polson, MT 59860


Lds Pondarosa Ward
Houston North Stake
Sam Houston Area Council 576
16331 Hafer Rd
Houston, Tx 77090


Lds Ponderosa Ward, Parker South Stake
Denver Area Council 061
17910 Frenchcreek Ave
Parker, CO 80134


Lds Ponds Park Ward
Kaysville South Stake
Trapper Trails 589
162 E Burton Lane
Kaysville, Ut 84037


Lds Poplar 1St Ward
Farr West Poplar Stake
Trapper Trails 589
2123 N 2000 W
Farr W, Ut 84404


Lds Poplar 2Nd Ward
Farr West Poplar Stake
Trapper Trails 589
1745 N 2300 W
Farr W, Ut 84404


Lds Poplar Branch, Glendive Stake
Montana Council 315
114 Centennial Dr
Culbertson, MT 59218


Lds Popo Agie Ward, Riverton Stake
Greater Wyoming Council 638
653 Cascade St
Lander, WY 82520


Lds Port Charlotte Ward Bradenton Stake
Southwest Florida Council 088
1303 Forrest Nelson Blvd
Port Charlotte, FL 33952


Lds Port Charlotte Ward Bradenton Stake
Southwest Florida Council 088
6813 Pitomba St
North Port, FL 34286


Lds Port Gardner Ward Everett Stake
Mount Baker Council, Bsa 606
9509 19th Ave Se
Everett, WA 98208


Lds Port Saint Lucie Ward ‐ Stuart Stake
Gulf Stream Council 085
2401 SW Matheson Ave
Palm City, FL 34990


Lds Port Townsend Ward
Port Angeles Stake
Chief Seattle Council 609
10104 Rhody Dr
Chimacum, Wa 98368


Lds Port Washington Br
Milwaukee Wi Stake
Bay‐Lakes Council 635
1248 Marina Dr
Grafton, Wi 53024


Lds Portales Ward
Lubbock Tx Stake North
Conquistador Council Bsa 413
1930 S Ave G
Portales, Nm 88130


Lds Porters Crossing Ward
Utah National Parks 591
4032 E Ofallons Way
Eagle Mountain, UT 84005


Lds Porterville 1St
Porterville Stake
Sequoia Council 027
1164 N Newcomb St
Porterville, Ca 93257


Lds Porterville 1St
Porterville Stake
Sequoia Council 027
837 E Morton Ave
1164 N Newcomb St
Porterville, Ca 93257


Lds Porterville 2Nd
Porterville Stake
Sequoia Council 027
1164 N Newcomb St
Porterville, Ca 93257


Lds Porterville 2Nd
Porterville Stake
Sequoia Council 027
837 E Morton Ave
1164 N Newcomb St
Porterville, Ca 93257


Lds Portland Ward Corpus Christi Stake
South Texas Council 577
600 Marriot Dr
Portland, TX 78374


Lds Portland Ward Portland Oregon Stake
Cascade Pacific Council 492
7115 SE Hazel Ave
Portland, OR 97206


Lds Portsmouth Ward, Exeter Nh Stake
Daniel Webster Council, Bsa 330
Andrew Jarvis Dr
Portsmouth, NH 03801


Lds Potomac River Ward Woodbridge Stake
National Capital Area Council 082
3000 Dale Blvd
Woodbridge, VA 22193


Lds Potomac Ward Washington Dc Stake
c/o Bishop Franklin Richards
National Capital Area Council 082
10840 Pleasant Hill Dr
Potomac, MD 20854


Lds Poulsbo 1St Ward Silverdale Stake
Chief Seattle Council 609
2138 NE Mesford Rd
Poulsbo, WA 98370


Lds Poulsbo 2Nd Ward Silverdale Stake
Chief Seattle Council 609
2138 NE Mesford Rd
Poulsbo, WA 98370


Lds Powder Springs Stake / Kennesaw Mtn
Atlanta Area Council 092
2595 New Macland Rd
Powder Springs, GA 30127


Lds Powell 1St Ward, Cody Stake
Greater Wyoming Council 638
1026 Ave E
Powell, WY 82435


Lds Powell 1St Ward, Cody Stake
Greater Wyoming Council 638
651 Ave B
Powell, WY 82435


Lds Powell 2Nd Ward, Cody Stake
Greater Wyoming Council 638
525 W 7th St
Powell, WY 82435
Lds Powell 3Rd Ward, Cody Stake
Greater Wyoming Council 638
1026 Ave E
Powell, WY 82435


Lds Powell 4Th Ward, Cody Stake
Greater Wyoming Council 638
525 W 7th St
Powell, WY 82435


Lds Powell Butte Ward Gresham Stake
Cascade Pacific Council 492
3333 SE 182Nd
Portland, OR 97236


Lds Powell Vly Ward Mt Hood Oregon Stake
Cascade Pacific Council 492
12300 Se 312Th Ave
Boring, Or 97009


Lds Pr William Ward Woodbridge Stake
National Capital Area Council 082
5750 Websters Way
Manassas, VA 20112


Lds Prairie Crossing Ward
Kanesville Stake
Trapper Trails 589
3939 W 4000 S
West Haven, Ut 84401


Lds Prairie Grove Ward, Springdale Stake
Westark Area Council 016
801 Buchanan St
Prairie Grove, AR 72753


Lds Prattville Ward
Tukabatchee Area Council 005
2200 Cobbs Ford Rd
Prattville, AL 36066
Lds Preston 10Th Ward
Preston North Stake
Trapper Trails 589
155 N 200 W
Preston, Id 83263


Lds Preston 11Th Ward
Preston South Stake
Trapper Trails 589
55 E 1St S
Preston, Id 83263


Lds Preston 2Nd Ward
Preston South Stake
Trapper Trails 589
55 E 1St S
Preston, Id 83263


Lds Preston 3Rd Ward
Preston North Stake
Trapper Trails 589
109 N Bear River Blfs
Preston, Id 83263


Lds Preston 4Th Ward
Preston North Stake
Trapper Trails 589
310 N State St
Preston N Stake
Preston, Id 83263


Lds Preston 6Th Ward
Preston South Stake
Trapper Trails 589
574 W 8Th S
Preston, Id 83263


Lds Preston 9Th Ward
Preston North Stake
Trapper Trails 589
310 N State St
Preston, Id 83263
Lds Price Eighth Ward
Utah National Parks 591
995 E 700 N
Price, UT 84501


Lds Price Eleventh Ward
Utah National Parks 591
300 W 500 S
Price, UT 84501


Lds Price Fifth Ward
Utah National Parks 591
545 E 400 N
Price, UT 84501


Lds Price First Ward
Utah National Parks 591
150 S 500 E
Price, UT 84501


Lds Price Fourth Ward
Utah National Parks 591
340 N 500 E
Price, UT 84501


Lds Price Hills Ward
Utah National Parks 591
675 E Desert Hills Dr
St. George, UT 84790


Lds Price Ninth Ward
Utah National Parks 591
1421 E 150 S
150 S 500 E
Price, UT 84501


Lds Price Second Ward
Utah National Parks 591
450 Woodhill Dr
Price, UT 84501
Lds Price Seventh Ward
Utah National Parks 591
995 E 700 N
Price, UT 84501


Lds Price Sixth Ward
Utah National Parks 591
300 W 500 S
Price, UT 84501


Lds Price Tenth Ward
Utah National Parks 591
928 Wadleigh Ln
Price, UT 84501


Lds Price Third Ward
Utah National Parks 591
303 W 500 S.
Price, UT 84501


Lds Princess Anne Virginia Beach Stake
Tidewater Council 596
2397 Newstead Dr
Virginia Beach, VA 23454


Lds Princeton 1St Ward
E Brunswick Nj Stake
Washington Crossing Council 777
901 Canal Pointe Blvd
Princeton, Nj 08540


Lds Princeton 2Nd Ward
E Brunswick Nj Stake
Washington Crossing Council 777
901 Canal Pointe Blvd
Princeton, Nj 08540


Lds Pringle Ward Salem Stake
Cascade Pacific Council 492
2530 Boone Rd Se
Salem, OR 97306
Lds Prosper 1St Wrd
Frisco Tx Shawnee Trl Stake
Circle Ten Council 571
970 N Coit Rd
Prosper, Tx 75078


Lds Prosper 2Nd Wrd
Frisco Tx Shawnee Trl Stake
Circle Ten Council 571
970 N Coit
Prosper, Tx 75034


Lds Prosper 3Rd Ward
Frisco Texas Shawnee Trail Stake
Circle Ten Council 571
970 S Coit Rd
Prosper, Tx 75078


Lds Prosper 4Th Ward
Frisco Texas Shawnee Trail Stake
Circle Ten Council 571
1313 Palestine Dr
Prosper, Tx 75078


Lds Providence 10Th Ward
Providence South Stake
Trapper Trails 589
262 Canyon Rd
Providence, Ut 84332


Lds Providence 12Th Ward
Providence Stake
Trapper Trails 589
180 S 485 W
Providence, Ut 84332


Lds Providence 1St Ward
Providence Stake
Trapper Trails 589
420 W 100 N
Providence, Ut 84332


Lds Providence 2Nd Ward
Providence Stake
Trapper Trails 589
262 Canyon Rd
Providence, Ut 84332


Lds Providence 3Rd Ward
Providence Stake
Trapper Trails 589
355 Canyon Rd
Providence, Ut 84332


Lds Providence 4Th Ward
River Heights Stake
Trapper Trails 589
155 N 100 E
Providence, Ut 84332


Lds Providence 5Th Ward
Providence South Stake
Trapper Trails 589
355 Canyon Rd
Providence, Ut 84332


Lds Providence 6Th Ward
Providence South Stake
Trapper Trails 589
262 Canyon Rd
Providence, Ut 84332


Lds Providence 8Th Ward
River Heights Stake
Trapper Trails 589
155 N 100 E
Providence, Ut 84332


Lds Providence 9Th Ward
Providence Stake
Trapper Trails 589
180 S 485 W
Providence, Ut 84332


Lds Providence Ward
Mecklenburg County Council 415
5815 Carmel Rd
Charlotte, NC 28226


Lds Providence Ward Skye Canyon Stake
Las Vegas Area Council 328
10070 Azure Dr
Las Vegas, NV 89149


Lds Provo Canyon Ward
Utah National Parks 591
4300 N Canyon Rd
Provo, UT 84604


Lds Provo Eleventh Ward
Utah National Parks 591
700 W 780 N
Provo, UT 84604


Lds Provo First Ward
Utah National Parks 591
195 S 100 E
Provo, UT 84606


Lds Provo Fourth Ward
Utah National Parks 591
101 W 800 N
Provo, UT 84601


Lds Provo Grandview Eighteenth Ward
Utah National Parks 591
1260 W 1150 N
Provo, UT 84604


Lds Provo Grandview Fifteenth Ward
Utah National Parks 591
1267 Wasatch Dr
Provo, UT 84604


Lds Provo Grandview Fourteenth Ward
Utah National Parks 591
1122 Grand Ave
Provo, UT 84604
Lds Provo Grandview Seventeenth Ward
Utah National Parks 591
1122 Grand Ave
Provo, UT 84604


Lds Provo Grandview Sixteenth Ward
Utah National Parks 591
1260 W 1150 N
Provo, UT 84604


Lds Provo Grandview Thirteenth Ward
Utah National Parks 591
1260 W 1150 N
Provo, UT 84604


Lds Provo Grandview Twentieth Ward
Spanish
Utah National Parks 591
1422 N 1400 W
Provo, Ut 84604


Lds Provo Peak Eighth Ward   Spanish
Utah National Parks 591
667 N 600 E
Provo, UT 84606


Lds Provo Peak Fifth Ward
Utah National Parks 591
965 N Locust Ln
Provo, UT 84604


Lds Provo Peak Fourth Ward
Utah National Parks 591
667 N 600 E
Provo, UT 84606


Lds Provo Peak Ninth Ward
Utah National Parks 591
1165 E 700 N
Provo, UT 84606
Lds Provo Peak Second Ward
Utah National Parks 591
1291 E 820 N
Provo, UT 84606


Lds Provo Peak Seventh Ward
Utah National Parks 591
358 E 100 N
Provo, UT 84606


Lds Provo Peak Sixth Ward
Utah National Parks 591
1456 E 300 N
Provo, UT 84606


Lds Provo Peak Tenth Ward
Utah National Parks 591
1456 E 300 N
Provo, UT 84606


Lds Provo Peak Third Ward
Utah National Parks 591
172 S 200 E
Provo, UT 84606


Lds Provo Peak Twelfth Ward
Utah National Parks 591
442 N 1420 E
Provo, UT 84606


Lds Provo River Ward
Utah National Parks 591
4775 N 300 W
Provo, UT 84604


Lds Provo Second Ward
Utah National Parks 591
610 W 300 S
Provo, UT 84601


Lds Provo Sixth Ward
Utah National Parks 591
371 W 200 S
Provo, UT 84601


Lds Provo South Stake 11 Yr Old Troop
Utah National Parks 591
835 S 500 W
Provo, UT 84601


Lds Provo Sunset Second Ward   Spanish
Utah National Parks 591
1097 S 770 W
Provo, UT 84601


Lds Provo Tenth Branch
Utah National Parks 591
1625 S Slate Canyon Dr
Provo, UT 84604


Lds Provo Third Ward
Utah National Parks 591
371 N 400 W
Provo, UT 84601


Lds Prune Hill Ward Vancouver East Stake
Cascade Pacific Council 492
3017 NW 18th Ave
Camas, WA 98607


Lds Prunedale Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
255 E Alvin Dr
Salinas, CA 93906


Lds Pueblo Ward Desert Foothill Stake
Las Vegas Area Council 328
1709 Crystal Creek Cir
Las Vegas, NV 89128


Lds Pueblo Ward Hend Lake Mead Stake
Las Vegas Area Council 328
304 N Naples St
Henderson, NV 89015


Lds Pueblo Ward, Pueblo Stake
Rocky Mountain Council 063
4720 Surfwood Ln
Pueblo, CO 81005


Lds Pueblo West 1St Ward, Pueblo Stake
Rocky Mountain Council 063
144 S Abarr Dr
Pueblo W, Co 81007


Lds Pueblo West 2Nd Ward, Pueblo Stake
Rocky Mountain Council 063
144 S Abarr Dr
Pueblo, CO 81007


Lds Pueblo West 3Rd Ward, Pueblo Stake
Rocky Mountain Council 063
1411 Fortino Blvd
Pueblo, CO 81008


Lds Pukalani Ward, Kahului Hi Stake
Aloha Council, Bsa 104
3356 Kihapai Pl
Pukalani, HI 96768


Lds Pyramid Lake Ward
Sparks East Stake
Nevada Area Council 329
925 Mercedes Dr
Sparks, Nv 89436


Lds Quail Creek Ward Okc Stake
Last Frontier Council 480
5020 NW 63rd St
Oklahoma City, OK 73132


Lds Quail Hollow Ward
Utah National Parks 591
418 River Cross Rd
Spanish Fork, UT 84660
Lds Quail Ridge Ward
Utah National Parks 591
860 N Fairway Dr
Washington, UT 84780


Lds Quail Ridge Ward Green Valley Stake
Las Vegas Area Council 328
410 N Valle Verde Dr
Henderson, NV 89014


Lds Quail Run Ward/Moscow Stake
Inland Nwest Council 611
2600 W A St
Moscow, ID 83843


Lds Quail Valley Ward
Utah National Parks 591
1762 S River Rd
St George, UT 84790


Lds Quantico Ward Woodbridge Stake
National Capital Area Council 082
3000 Dale Blvd
Dale City, VA 22193


Lds Quatama Ward Hillsboro Stake
Cascade Pacific Council 492
848 SW 206th Ave
Aloha, OR 97003


Lds Queens Stake
Greater New York Councils, Bsa 640
8616 60th Rd
Elmhurst, NY 11373


Lds Quilceda Ward Marysville Stake
Mount Baker Council, Bsa 606
5212 7th Ave Ne
Tulalip, WA 98271
Lds Quincy 1St Ward/Ephrata Stake
Grand Columbia Council 614
1101 2nd Ave Se
Quincy, WA 98848


Lds Quincy Ward ‐ Quincy Stake
Nevada Area Council 329
P.O. Box 1887
Quincy, CA 95971


Lds Quitman Ward North Little Rock Stake
Quapaw Area Council 018
296 Rogers Rd
Romance, AR 72136


Lds Quitman Ward North Little Rock Stake
Quapaw Area Council 018
General Delivery
Quitman, AR 72131


Lds Radcliff Ward
Lincoln Heritage Council 205
878 Shelby Ave
Radcliff, KY 40160


Lds Rainbow Vista Ward Red Rock Stake
Las Vegas Area Council 328
7401 Smoke Ranch Rd
Las Vegas, NV 89128


Lds Rainier Ward Rainier Stake
Cascade Pacific Council 492
27410 Parkdale Rd
Rainier, OR 97048


Lds Ralston‐Lavista Ward Papillion Stake
Mid‐America Council 326
11027 Martha St
Omaha, NE 68144


Lds Ramah 1St Ward Gallup Stake
Great Swest Council 412
P.O. Box 367
Ramah, NM 87321


Lds Ranches Parkway First Ward     Spanish
Utah National Parks 591
7746 N Sparrowhawk Way
Eagle Mountain, UT 84005


Lds Ranches Parkway Second   Spanish
Utah National Parks 591
7250 Porters Crossing Pkwy
Eagle Mountain, UT 84005


Lds Ranchester Ward, Gillette Stake
Greater Wyoming Council 638
P.O. Box 994
Ranchester, WY 82839


Lds Rancho Ward Las Vegas Stake
Las Vegas Area Council 328
3400 W Charleston Blvd
Las Vegas, NV 89102


Lds Randall Park Ward/Yakima Stake
Grand Columbia Council 614
1109 S 34th Ave
Yakima, WA 98902


Lds Randlett Branch
Utah National Parks 591
Hc 69 Box 173
Randlett, UT 84063


Lds Rangely 1St Ward/Craig Stake
Denver Area Council 061
220 River Rd
Rangely, CO 81648


Lds Rangely 2Nd Ward/Craig Stake
Denver Area Council 061
125 Eagle Crest St
Rangely, CO 81648
Lds Rapid City Stk Belle Fouche Ward
Black Hills Area Council 695 695
1106 12th Ave
Belle Fourche, SD 57717


Lds Rapid City Ward
Black Hills Area Council 695 695
2822 Canyon Lake Dr
Rapid City, SD 57702


Lds Rapid Valley Ward
Black Hills Area Council 695 695
2250 Moon Meadows Dr
Rapid City, SD 57702


Lds Raton Branch Pueblo Co Stake
Great Swest Council 412
2126 La Mesa Dr
Raton, NM 87740


Lds Raytown Ward Independence Stake
Heart of America Council 307
5609 Norfleet Rd
Kansas City, MO 64133


Lds Red Bluff Ward Anderson Stake
Golden Empire Council 047
545 Berrendos Ave
Red Bluff, CA 96080


Lds Red Bridge Ward Olathe Stake
Heart of America Council 307
9845 Pawnee St
Bishop Daryl Ward
Leawood, KS 66206


Lds Red Cliffs Eighth Ward
Utah National Parks 591
499 Majestic
Ivins, UT 84738
Lds Red Cliffs Fifth Ward
Utah National Parks 591
1285 N Bluff St
St George, UT 84770


Lds Red Cliffs First Ward
Utah National Parks 591
752 Mesa Vista Dr
Ivins, UT 84738


Lds Red Cliffs Fourth Ward
Utah National Parks 591
1155 N 1400 W
St George, UT 84770


Lds Red Cliffs Fourth Ward
Utah National Parks 591
1282 N 1280 W
Saint George, UT 84770


Lds Red Cliffs Ninth Ward
Utah National Parks 591
1731 W Gunsight Dr
Saint George, UT 84770


Lds Red Cliffs Second Ward
Utah National Parks 591
625 E Center St
Ivins, UT 84738


Lds Red Cliffs Ward Gallup Stake
Great Swest Council 412
P.O. Box 1059
Thoreau, NM 87323


Lds Red Hawk Ward ‐ Sparks East Stake
Nevada Area Council 329
3745 Early Dawn Dr
Sparks, NV 89436


Lds Red Leaf Ward, Westminster Stake
Denver Area Council 061
13370 Lowell Blvd
Broomfield, CO 80020


Lds Red Lodge, Billings Stake
Montana Council 315
P.O. Box 293
Red Lodge, MT 59068


Lds Red Mesa Ward Durango Stake
Great Swest Council 412
6848 Hwy 140
Hesperus, CO 81326


Lds Red Pine Ward
Utah National Parks 591
989 S 2550 E
Spanish Fork, UT 84660


Lds Redd Ward El Paso Mt Franklin Stk
Yucca Council 573
7315 Bishop Flores Dr
El Paso, TX 79912


Lds Redding 1St Ward Redding Stake
Golden Empire Council 047
3950 Sunflower Dr
Redding, CA 96001


Lds Redding 2Nd Ward Redding Stake
Golden Empire Council 047
3410 Churn Creek Rd
Redding, CA 96002


Lds Redding 4Th Ward Redding Stake
Golden Empire Council 047
3410 Churn Creek Rd
Redding, CA 96002


Lds Redding 5Th Ward Redding Stake
Golden Empire Council 047
3950 Sunflower Dr
Redding, CA 96001


Lds Redlands Ward/Gj West Stake
Denver Area Council 061
2235 Kingston Rd
Grand Junction, CO 81507


Lds Redmond First Ward
Utah National Parks 591
125 N 300 W
Redmond, UT 84652


Lds Redmond Second Ward
Utah National Parks 591
63 S 300 W
Redmond, UT 84652


Lds Redondo 1St Ward 964
Greater Los Angeles Area 033
22605 Kent Ave
Torrance, CA 90505


Lds Redondo 2Nd Ward
Torrance N Stake 264
Greater Los Angeles Area 033
715 Knob Hill Ave
Redondo Beach, Ca 90277


Lds Redondo 3Rd Ward
Torrance N Stake 880
Greater Los Angeles Area 033
501 N Rowell Ave
Manhattan Beach, Ca 90266


Lds Redwood City 1St Ward
Menlo Park Stake
Pacific Skyline Council 031
1475 Edgewood Rd
Redwood City, Ca 94062


Lds Redwood City 2Nd Ward
Menlo Park Stake
Pacific Skyline Council 031
1105 Valparaiso Ave
Menlo Park, Ca 94025


Lds Redwood Ward ‐ Grants Pass Stake
Crater Lake Council 491
1969 Williams Hwy
Grants Pass, OR 97527


Lds Reedville Ward Bvtn West Stake
Cascade Pacific Council 492
5175 SW 209th Ave
Aloha, OR 97007


Lds Regal Country Ward
Kanesville Stake
Trapper Trails 589
3939 W 4000 S
West Haven, Ut 84401


Lds Relationships Officer
15 W S Temple, Ste 1070
Salt Lake City, UT 84101‐1579


Lds Rescue Ward El Dorado Stake
Golden Empire Council 047
3431 Hacienda Dr
Cameron Park, CA 95682


Lds Resler Ward
El Pasotx Mt Franklin Stk
Yucca Council 573
7315 Bishop Flores Dr
El Paso, Tx 79912


Lds Reston Ward Oakton Stake
National Capital Area Council 082
1515 Poplar Grove Dr
Reston, VA 20194


Lds Reunion Ward, Brighton Stake
Denver Area Council 061
12005 E 119th Ave
Henderson, CO 80640


Lds Revere Ward Cambridge Stake
The Spirit of Adventure 227
455 Washington Ave
Revere, MA 02151


Lds Rexburg Center Stake
Evergreen Ward
Grand Teton Council 107
700 Park St
Rexburg, Id 83440


Lds Rexburg Center Stake
Rexburg 14Th Ward
Grand Teton Council 107
590 Summerwood Dr
Rexburg, Id 83440


Lds Rexburg Center Stake
Summerfield Ward
Grand Teton Council 107
904 Elizabeth St
Rexburg, Id 83440


Lds Rexburg Center Stake
Willowbrook Ward
Grand Teton Council 107
210 S 12Th W
Rexburg, Id 83440


Lds Rexburg Center Stake ‐ Rexburg 11Th
Grand Teton Council 107
General Delivery
Rexburg, ID 83440


Lds Rexburg Center Stake ‐ Rexburg 12Th
Grand Teton Council 107
590 Summerwood Dr
Rexburg, ID 83440
Lds Rexburg Center Stake ‐ Rexburg 13Th
Grand Teton Council 107
210 S 12th W
Rexburg, ID 83440


Lds Rexburg Center Stake ‐ Rexburg 5Th
Grand Teton Council 107
590 Summerwood Dr
Rexburg, ID 83440


Lds Rexburg Center Stake ‐ Westmain
Grand Teton Council 107
700 Park St
Rexburg, ID 83440


Lds Rexburg East ‐ Harvest Hills Ward
Grand Teton Council 107
612 S Hidden Valley
Rexburg, ID 83440


Lds Rexburg East ‐ Valley View Ward
Grand Teton Council 107
1333 Fairview Ave
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Cresthaven Ward
Grand Teton Council 107
935 Wwood Dr
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Rexburg 10Th
Grand Teton Council 107
255 Nez Perce Ave
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Rexburg 15Th
Grand Teton Council 107
166 S 1st E
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Rexburg 16Th
Grand Teton Council 107
612 S Hidden Valley Rd
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Rexburg 4Th
Grand Teton Council 107
166 S 1st E
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Rexburg 6Th
Grand Teton Council 107
316 E 5th S
Rexburg, ID 83440


Lds Rexburg East Stake ‐ Rolling Hills
Grand Teton Council 107
387 S 4th E
Rexburg, ID 83440


Lds Rexburg N Stake ‐20Th Ward ‐Spanish
Grand Teton Council 107
475 E 7Th N
Rexburg, Id 83440


Lds Rexburg North Stake
Hibbard 5Th Ward
Grand Teton Council 107
2029 N 3000 W
Rexburg, Id 83440


Lds Rexburg North Stake
Mill Hollow 1St
Grand Teton Council 107
315 Gary Dr
Rexburg, Id 83440


Lds Rexburg North Stake
Stonebridge Ward
Grand Teton Council 107
475 E 7Th N
Rexburg, Id 83440


Lds Rexburg North Stake ‐ Millhollow 2Nd
Grand Teton Council 107
475 E 7th N
Rexburg, ID 83440


Lds Rexburg North Stake ‐ Rexburg 2Nd
Grand Teton Council 107
314 E 2nd N
Rexburg, ID 83440


Lds Rexburg North Stake ‐ Rexburg 8Th
Grand Teton Council 107
314 E 2nd N
Rexburg, ID 83440


Lds Rexburg North Stk ‐ Rexburg 18Th
Grand Teton Council 107
653 Dell Dr
Rexburg, ID 83440


Lds Rexburg North Stk ‐ Rexburg 1St
Grand Teton Council 107
128 N 3rd E
Rexburg, ID 83440


Lds Rexburg South Stake
Cedar Point Ward
Grand Teton Council 107
2041 W 5200 S
Rexburg, Id 83440


Lds Rexburg South Stake ‐ Archer Ward
Grand Teton Council 107
201 W 8000 S
Rexburg, ID 83440


Lds Rexburg South Stake ‐ Lyman 1St Ward
Grand Teton Council 107
1952 W 6000 S
Rexburg, ID 83440


Lds Rexburg South Stake ‐ Lyman 2Nd Ward
Grand Teton Council 107
1952 W 6000 S
Rexburg, ID 83440


Lds Rexburg South Stake ‐ Lyman 3Rd Ward
Grand Teton Council 107
2041 W 5200 S
Rexburg, ID 83440


Lds Rexburg South Stake ‐ Sunnydell Ward
Grand Teton Council 107
Rt 3
Rexburg, ID 83440


Lds Rexburg Stake ‐ Burton 1St Ward
Grand Teton Council 107
3958 W 2000 S
Rexburg, ID 83440


Lds Rexburg Stake ‐ Burton 2Nd Ward
Grand Teton Council 107
3974 Wagon Trl
Rexburg, ID 83440


Lds Rexburg Stake ‐ Burton 3Rd Ward
Grand Teton Council 107
4268 S 5500 W
Rexburg, ID 83440


Lds Rexburg Stake ‐ Burton 4Th Ward
Grand Teton Council 107
2332 W 2000 S.
Rexburg, ID 83440


Lds Rexburg Stake ‐ Henderson 1St Ward
Grand Teton Council 107
345 S 3rd W
Rexburg, ID 83440


Lds Rexburg Stake ‐ Henderson 2Nd Ward
Grand Teton Council 107
845 W 7th S
Rexburg, ID 83440
Lds Rexburg Stake ‐ Oakbrook Ward
Grand Teton Council 107
358 Oaktrail Dr
Rexburg, ID 83440


Lds Rexburg Stake ‐ Rexburg 17Th Ward
Grand Teton Council 107
420 W Poleline Rd
Rexburg, ID 83440


Lds Rexburg Stake ‐ Rexburg 19Th Ward
Grand Teton Council 107, 19th Ward
Rexburg, ID 83440


Lds Rexburg Stake ‐ Rexburg 3Rd Ward
Grand Teton Council 107
345 S 3rd W
Rexburg, ID 83440


Lds Rexburg Stake ‐ Rexburg 7Th Ward
Grand Teton Council 107
2332 W 2000 S
Rexburg, ID 83440


Lds Rexburg Stake ‐ Rexburg 9Th Ward
Grand Teton Council 107
345 S 3rd W
Rexburg, ID 83440


Lds Reynoldsburg Ward
Simon Kenton Council 441
2135 Baldwin Rd
Reynoldsburg, OH 43068


Lds Richardson 2Nd Ward
Richardson Stake
Circle Ten Council 571
2014 Fairmeadow Dr
Richardson, Tx 75080
Lds Richardson 2Nd Ward
Richardson Stake
Circle Ten Council 571
900 S Bowser Rd
Richardson, Tx 75081


Lds Richfield Eighth Ward
Utah National Parks 591
378 E 850 N
Richfield, UT 84701


Lds Richfield Eleventh Ward
Utah National Parks 591
985 S 400 W
Richfield, UT 84701


Lds Richfield Fifteenth Ward
Utah National Parks 591
688 S 300 W
Richfield, UT 84701


Lds Richfield Fifth Ward
Utah National Parks 591
800 N 500 E
Richfield, UT 84701


Lds Richfield First Ward
Utah National Parks 591
985 S 400 W
Richfield, UT 84701


Lds Richfield Fourth Ward
Utah National Parks 591
159 N 400 W
Richfield, UT 84701


Lds Richfield Ninth Ward
Utah National Parks 591
159 N 400 W
Richfield, UT 84701


Lds Richfield Second Ward
Utah National Parks 591
435 Pahvant Dr
Richfield, UT 84701


Lds Richfield Seventh Ward
Utah National Parks 591
159 N 400 W
Richfield, UT 84701


Lds Richfield Sixteenth Ward
Utah National Parks 591
698 E 1340 N
Richfield, UT 84701


Lds Richfield Sixth Ward
Utah National Parks 591
368 E 500 N
Richfield, UT 84701


Lds Richfield Tenth Ward
Utah National Parks 591
735 W 570 S
Richfield, UT 84701


Lds Richfield Third Ward
Utah National Parks 591
985 S 400 W
Richfield, UT 84701


Lds Ridge View Ward
Utah National Parks 591
750 N 1000 W
St George, UT 84770


Lds Ridgecrest 1St Ward, Ridgecrest Stk
Southern Sierra Council 030
1031 N Norma St
Ridgecrest, CA 93555


Lds Ridgecrest 2Nd Ward, Ridgecrest Stk
Southern Sierra Council 030
501 N Norma St
Ridgecrest, CA 93555


Lds Ridgecrest 3Rd Ward, Ridgecrest Stk
Southern Sierra Council 030
501 N Norma St
Ridgecrest, CA 93555


Lds Ridgecrest 4Th Ward
Ridgecrest Stake
Southern Sierra Council 030
1031 N Norma St
Ridgecrest, Ca 93555


Lds Ridgefield Ward Ridgefield Wa Stake
Cascade Pacific Council 492
21718 NE 29th Ave
Ridgefield, WA 98642


Lds Ridges Ward Lakes Stake
Las Vegas Area Council 328
9580 Peace Way
Las Vegas, NV 89147


Lds Ridgeview Ward‐East Stake
Pikes Peak Council 060
4839 Harvest Ct
Colorado Springs, CO 80917


Lds Rifle 1St Ward/Rifle Stake
Denver Area Council 061
741 E 19Th
Rifle, CO 81650


Lds Rifle 2Nd Ward/Rifle Stake
Denver Area Council 061
5153 County Rd 214
New Castle, CO 81647


Lds Rigby East Stake ‐ Labelle 1St Ward
Grand Teton Council 107
4223 E 528 N
Rigby, ID 83442
Lds Rigby East Stake ‐ Labelle 2Nd Ward
Grand Teton Council 107
4223 E 528 N
Rigby, ID 83442


Lds Rigby East Stake ‐ Labelle 3Rd Ward
Grand Teton Council 107
364 N 4100 E
Rigby, ID 83442


Lds Rigby East Stake ‐ Labelle 4Th Ward
Grand Teton Council 107
4223 E 528 N Spc B
Rigby, ID 83442


Lds Rigby East Stake ‐ Rigby 10Th Ward
Grand Teton Council 107
3955 E 170 N
Rigby, ID 83442


Lds Rigby East Stake ‐ Rigby 16Th Ward
Grand Teton Council 107
4021 E 300 N
Rigby, ID 83442


Lds Rigby East Stake ‐ Rigby 18Th Ward
Grand Teton Council 107
267 N 4100 E
Rigby, ID 83442


Lds Rigby East Stake ‐ Rigby 19Th Ward
Grand Teton Council 107
4021 E 300 N
Rigby, ID 83442


Lds Rigby East Stake ‐ Rigby 2Nd Ward
Grand Teton Council 107
394 N 4050 E
Rigby, ID 83442
Lds Rigby East Stake ‐ Rigby 3Rd Ward
Grand Teton Council 107
364 N 4100 E
Rigby, ID 83442


Lds Rigby East Stake ‐ Rigby 8Th Ward
Grand Teton Council 107
364 N 4100 E
Rigby, ID 83442


Lds Rigby South Stake
Garfield 1St Ward
Grand Teton Council 107
71 N 3700 E
Rigby, Id 83442


Lds Rigby South Stake
Garfield 2Nd Ward
Grand Teton Council 107
106 N 3800 E
Rigby, Id 83442


Lds Rigby South Stake
Garfield 3Rd Ward
Grand Teton Council 107
3900 E County Line Rd
Rigby, Id 83442


Lds Rigby South Stake
Garfield 4Th Ward
Grand Teton Council 107
5 N 3900 E
Rigby, Id 83442


Lds Rigby South Stake
Garfield 5Th Ward
Grand Teton Council 107
5 N 3900 E
Rigby, Id 83442


Lds Rigby South Stake
Garfield 6Th Ward
Grand Teton Council 107
71 N 3700 E
Rigby, Id 83442


Lds Rigby South Stake ‐ Rigby 11Th Ward
Grand Teton Council 107
106 N 3800 E
Rigby, ID 83442


Lds Rigby South Stake ‐ Rigby 1St Ward
Grand Teton Council 107
3824 E 222 N
Rigby, ID 83442


Lds Rigby Stake ‐ Lorenzo Ward
Grand Teton Council 107
401 W 1st S
Rigby, ID 83442


Lds Rigby Stake ‐ Rigby 12Th Ward
Grand Teton Council 107
476 N 3950 E
Rigby, ID 83442


Lds Rigby Stake ‐ Rigby 14Th Ward
Grand Teton Council 107
602 Sundance
Rigby, ID 83442


Lds Rigby Stake ‐ Rigby 15Th Ward
Grand Teton Council 107
317 N 3823 E
Rigby, ID 83442


Lds Rigby Stake ‐ Rigby 4Th Ward
Grand Teton Council 107
401 W 1st S
Rigby, ID 83442


Lds Rigby Stake ‐ Rigby 5Th Ward
Grand Teton Council 107
195 W 4th N
Rigby, ID 83442
Lds Rigby Stake ‐ Rigby 7Th Ward
Grand Teton Council 107
436 N 3800 E
Rigby, ID 83442


Lds Rigby Stake ‐ Rigby 9Th Ward
Grand Teton Council 107
258 W 1st N
Rigby, ID 83442


Lds Rincon Valley Ward
Redwood Empire Council 041
5899 Mountain Hawk Dr
Santa Rosa, CA 95409


Lds Rio Grand Ward Las Cruces Stk
Yucca Council 573
1015 S Telshor Blvd
Las Cruces, NM 88011


Lds Rio Grande Ward
Yucca Council 573
111 Mimosa Ln
Las Cruces, NM 88001


Lds Rio Grande Ward Los Lunas Stake
Great Swest Council 412
8130 Sage Rd Sw
Albuquerque, NM 87121


Lds Rio Grande Ward Mt Franklin Stk
Yucca Council 573
400 Rosemont Dr
El Paso, TX 79922


Lds Rio Grande Ward, Alamosa Stake
Rocky Mountain Council 063
99 W Prospect Ave
Monte Vista, CO 81144
Lds Rio Trinidad Ward
Dallas East Stake
Circle Ten Council 571
2801 Skyline Dr
Mesquite, Tx 75149


Lds Rio Vista Ward Fort Myers Stake
Southwest Florida Council 088
3105 Broadway
Fort Myers, FL 33901


Lds Ripon Ward Manteca Stake
Greater Yosemite Council 059
6060 Nland Rd
Manteca, CA 95336


Lds Ririe Stake ‐ Clark Ward
Grand Teton Council 107
198 N 4300 E
Rigby, ID 83442


Lds Ririe Stake ‐ Palisades Ward
Grand Teton Council 107
348 Hwy 31
Swan Valley, ID 83449


Lds Ririe Stake ‐ Perry Ward
Grand Teton Council 107
285 2nd W
Ririe, ID 83443


Lds Ririe Stake ‐ Ririe 1St Ward
Grand Teton Council 107
158 N 4663 E
Rigby, ID 83442


Lds Ririe Stake ‐ Ririe 2Nd Ward
Grand Teton Council 107
285 2nd W
Ririe, ID 83443


Lds Ririe Stake ‐ Ririe 3Rd Ward
Grand Teton Council 107
4615 E 100 N
Rigby, ID 83442


Lds Ririe Stake ‐ Rudy Ward
Grand Teton Council 107
199 N 4300 E
Rigby, ID 83442


Lds Ririe Stake ‐ Shelton Ward
Grand Teton Council 107
14061 N 130 E
Ririe, ID 83443


Lds Ritzville Ward‐West Spokane Stake
Inland Nwest Council 611
606 W Weber Rd
Ritzville, WA 99169


Lds Riva Ridge Ward‐Boise Amity Stk
Ore‐Ida Council 106 ‐ Bsa 106
10240 W Amity Rd
Boise, ID 83709


Lds River Bend Ward ‐ Reno Stake
Nevada Area Council 329
1095 Golconda Dr
Reno, NV 89509


Lds River Heights 1St Ward
River Heights Stake
Trapper Trails 589
800 S 600 E
River Heights, Ut 84321


Lds River Heights 2Nd Ward
River Heights Stake
Trapper Trails 589
757 River Heights Blvd
River Heights, Ut 84321


Lds River Heights 3Rd Ward
River Heights Stake
Trapper Trails 589
465 N 300 E
River Heights, Ut 84321


Lds River Heights 4Th Ward
River Heights Stake
Trapper Trails 589
800 S 600 E
River Heights, Ut 84321


Lds River Heights Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
3235 S Wbury Pl
Eagle, ID 83616


Lds River Mtn Ward Hend Lake Mead Stake
Las Vegas Area Council 328
401 Palo Verde Dr
Henderson, Nv 89015


Lds River Park Ward Cordova Stake
Golden Empire Council 047
1101 51st St
Sacramento, CA 95819


Lds River Ridge Ward
Utah National Parks 591
2434 E Riverside Dr
St George, UT 84790


Lds River Ridge Ward
Utah National Parks 591
912 S 1740 E.
St George, UT 84790


Lds River Road Ward
Utah National Parks 591
750 N Center St
Midway, UT 84049


Lds River Trail Ward
Utah National Parks 591
452 N 560 W
Spanish Fork, UT 84660


Lds River Trails Ward ‐ Hurst Stake
Longhorn Council 662
4401 E Loop 820 N
North Richland Hills, TX 76180


Lds River View Ward
Utah National Parks 591
452 N 560 W
Spanish Fork, UT 84660


Lds River Walk Ward‐Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
562 S Rivervine Way
Eagle, ID 83616


Lds Riverbank Ward Modesto North Stake
Greater Yosemite Council 059
800 Sylvan Ave
Modesto, CA 95350


Lds Riverbend Ward
Utah National Parks 591
2583 E 350 N
St George, UT 84790


Lds Riverdale 1St Ward
Preston North Stake
Trapper Trails 589
3562 N 1600 E
Preston, Id 83263


Lds Riverdale 2Nd Ward
Preston North Stake
Trapper Trails 589
3562 N 1800 E
Preston, Id 83263


Lds Riverdale Ward, Brighton Stake
Denver Area Council 061
1454 Myrtle St
Brighton, CO 80601


Lds Riverglen Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
5900 W Castle Dr
Boise, ID 83703


Lds Rivergrove First Ward
Utah National Parks 591
729 N 600 W
Provo, UT 84601


Lds Rivergrove Second Ward
Utah National Parks 591
450 N 1220 W
Provo, UT 84601


Lds Rivers Edge
Montana Council 315
1401 9th St Nw
Great Falls, MT 59404


Lds Riverside 2Nd
Utah National Parks 591
612 W Pony Express Pkwy
Saratoga Springs, UT 84045


Lds Riverside Ward
Utah National Parks 591
344 E Seagull Ln
Saratoga Springs, UT 84045


Lds Riverside Ward   Provo
Utah National Parks 591
303 W 3700 N
Provo, UT 84604


Lds Riverside Ward ‐ Grants Pass Stake
Crater Lake Council 491
1969 Williams Hwy
Grants Pass, OR 97527


Lds Riverside Ward Columbus Ohio State
Simon Kenton Council 441
4683 Stonehaven Dr
Upper Arlington, OH 43220


Lds Riverside Ward Milwaukie Stake
Cascade Pacific Council 492
7880 SE Milwaukie Ave
Portland, OR 97202


Lds Riverview Ward ‐ Westland Stake
Great Lakes Fsc 272
18701 Grange
Riverview, MI 48193


Lds Riverview Ward Indep Stake
Heart of America Council 307
2530 Brooklyn Ave
Kansas City, MO 64127


Lds Riverview Ward Lebanon Stake
Cascade Pacific Council 492
1955 S 5th St
Lebanon, OR 97355


Lds Riverview Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
8342 W Idaho Blvd
Letha, ID 83636


Lds Riverwood Ward
Utah National Parks 591
221 W 3540 N
Provo, UT 84604


Lds Riverwoods Ward
Utah National Parks 591
4775 N 300 W
Provo, UT 84604
Lds Roanoke Rapids Ward
East Carolina Council 426
901 Park Ave
Roanoke Rapids, NC 27870


Lds Roanoke Ward ‐ Alliance Stake
Longhorn Council 662
2509 Trophy Club Dr
Trophy Club, TX 76262


Lds Roberts Farms Ward
Layton South Stake
Trapper Trails 589
2120 W Gentile St
Layton, Ut 84041


Lds Robinswood Ward Bellevue Stake
Chief Seattle Council 609
15824 SE 24th St
Bellevue, WA 98008


Lds Rochester 1St Ward Rochester Stake
Seneca Waterways 397
275 Whipple Ln
Rochester, NY 14622


Lds Rochester 2Nd Ward Rochester Stake
Seneca Waterways 397
1250 English Rd
Rochester, NY 14616


Lds Rochester 3Rd Ward Rochester Stake
Seneca Waterways 397
1400 Wfall Rd
Rochester, NY 14618


Lds Rochester 4Th Ward Rochester Stake
Seneca Waterways 397
1400 Wfall Rd
Rochester, NY 14618
Lds Rochester Ward ‐ Grand Blanc Stake
Great Lakes Fsc 272
1610 Brewster Rd
Rochester Hills, MI 48306


Lds Rock Canyon Ward
Utah National Parks 591
3050 Mojave Ln
Provo, UT 84604


Lds Rock Cliff 2Nd Ward
Rock Cliff Stake
Trapper Trails 589
1000 Suncrest Dr
Ogden, Ut 84404


Lds Rock Cliff 5Th Ward
Rock Cliff Stake
Trapper Trails 589
300 Iowa Ave
Ogden, Ut 84404


Lds Rock Cove Ward
Utah National Parks 591
1073 S 2230 E
Spanish Fork, UT 84660


Lds Rock Creek Ward
Syracuse West Stake
Trapper Trails 589
3267 W 700 S
Syracuse, Ut 84075


Lds Rock Creek Ward
Utah National Parks 591
3821 E Rose Hearty Ln
Eagle Mountain, UT 84005


Lds Rock Creek Ward Cedar Mill Stake
Cascade Pacific Council 492
19180 NW W Union Rd
Portland, OR 97229
Lds Rock Creek Ward Maple Valley Stake
Chief Seattle Council 609
P.O. Box 117
Ravensdale, WA 98051


Lds Rock Springs Ward
Rock Springs Stake
Trapper Trails 589
2055 Edgar St
Rock Springs, Wy 82901


Lds Rockaway Ward Rr Stake
Great Swest Council 412
300 Loma Colorado Blvd Ne
Rio Rancho, NM 87124


Lds Rockbrook Ward Papillion Stake
Mid‐America Council 326
11027 Martha St
Omaha, NE 68144


Lds Rockdale Ward, Round Rock East Stake
Capitol Area Council 564
218 Serenada Dr
Georgetown, TX 78628


Lds Rockhill Ward
Stafford Virginia Stake
National Capital Area Council 082
163 Eustace Rd
Stafford, Va 22554


Lds Rockledge Cocoa
Central Florida Council 083
1801 S Fiske Blvd
Rockledge, FL 32955


Lds Rocklin 1St Ward Rocklin Stake
Golden Empire Council 047
2310 Covered Wagon Ct
Rocklin, CA 95765
Lds Rocklin 2Nd Ward Rocklin Stake
Golden Empire Council 047
5654 Montclair Cir
Rocklin, CA 95677


Lds Rocklin 3Rd Ward Rocklin Stake
Golden Empire Council 047
2307 Spanish Trl
Rocklin, CA 95765


Lds Rocklin 4Th Ward Rocklin Stake
Golden Empire Council 047
2610 Sierra Meadows Dr
Rocklin, CA 95677


Lds Rocklin 5Th Ward Rocklin Stake
Golden Empire Council 047
2831 Theona Way
Rocklin, CA 95765


Lds Rocklin 6Th Ward Rocklin Stake
Golden Empire Council 047
2202 Hedrick Ct
Rocklin, CA 95765


Lds Rockville Ward Washington Dc Stake
National Capital Area Council 082
10000 Stoneybrook Dr
Kensington, MD 20895


Lds Rockwell Village Ward
Utah National Parks 591
1953 Lone Tree Pkwy
Eagle Mountain, UT 84005


Lds Rockwood ‐ Knoxville Stake
Great Smoky Mountain Council 557
Patton Ln
Rockwood, TN 37854


Lds Rocky Butte Ward Gresham Stake
Cascade Pacific Council 492
3722 NE Going St
Portland, OR 97211


Lds Rocky Mountain Ward
Kanesville Stake
Trapper Trails 589
4555 W 4000 S
West Haven, Ut 84401


Lds Rocky Reach Ward/Wenatchee Stake
Grand Columbia Council 614
2271 Sunrise Pl
East Wenatchee, WA 98802


Lds Roe River Ward
Montana Council 315
4601 3rd Ave S
Great Falls, MT 59405


Lds Rogers Stake
Westark Area Council 016
2805 N Dixieland
Rogers, AR 72756


Lds Rogers Ward Rogers Stake
Westark Area Council 016
2805 N Dixieland Rd
Rogers, AR 72756


Lds Rohnert Park Ward
Redwood Empire Council 041
4576 Harmony Pl
Rohnert Park, CA 94928


Lds Rolling Hills Branch
Layton Hills Stake
Trapper Trails 589
590 W 2000 N
Layton, Ut 84041


Lds Rolling Hills Ward/Moscow Stake
Inland Nwest Council 611
1016 Mountain View Rd
Moscow, ID 83843


Lds Rolling Valley Ward Annandale Stake
National Capital Area Council 082
9300 Harness Horse Ct
Springfield, VA 22153


Lds Rollins Ranch Ward
Morgan North Stake
Trapper Trails 589
4270 Cottonwood Canyon Rd
Morgan, Ut 84050


Lds Ronan Ward, Missoula Stake
Montana Council 315
Franklin   4th Ave S E
Ronan, MT 59864


Lds Roosevelt Eighth Ward
Utah National Parks 591
150 Skyline Dr
Roosevelt, UT 84066


Lds Roosevelt Eleventh Ward
Utah National Parks 591
250 N 200 W
Roosevelt, UT 84066


Lds Roosevelt Fifteenth Branch
Utah National Parks 591
2605 W 1310 N
Roosevelt, UT 84066


Lds Roosevelt Fifth Ward
Utah National Parks 591
447 E Lagoon St
Roosevelt, UT 84066


Lds Roosevelt First Ward
Utah National Parks 591
32 S State
Roosevelt, UT 84066


Lds Roosevelt Fourth Ward
Utah National Parks 591
32 S State
Roosevelt, UT 84066


Lds Roosevelt Ninth Ward
Utah National Parks 591
150 Sky Line Dr
Roosevelt, UT 84066


Lds Roosevelt Second Ward
Utah National Parks 591
250 W 200 N 67‐14
Roosevelt, UT 84066


Lds Roosevelt Seventh Ward
Utah National Parks 591
2000 W 9000 N
Neola, UT 84053


Lds Roosevelt Sixth Ward
Utah National Parks 591
447 E Lagoon St
Roosevelt, UT 84066


Lds Roosevelt Tenth Ward
Utah National Parks 591
502 N 600 E
Roosevelt, UT 84066


Lds Rose City Ward Gresham Stake
Cascade Pacific Council 492
2215 NE 106th Ave
Portland, OR 97220


Lds Rose Hill Ward‐Boise Central Stk
Ore‐Ida Council 106 ‐ Bsa 106
3200 Cassia St
Boise, ID 83705
Lds Rosecreek Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
10262 W Raleigh St
Boise, ID 83709


Lds Rosedale Ward, Bakersfield Stake
Southern Sierra Council 030
5500 Fruitvale Ave
Bakersfield, CA 93308


Lds Roseville 1St Ward Roseville Stake
Golden Empire Council 047
211 Estates Dr
Roseville, CA 95678


Lds Roseville 2Nd Ward Roseville Stake
Golden Empire Council 047
8583 Watt Ave
Antelope, CA 95843


Lds Roseville 3Rd Ward Roseville Stake
Golden Empire Council 047
211 Estates Dr
Roseville, CA 95678


Lds Roseville 4Th Ward Roseville Stake
Golden Empire Council 047
211 Estates Dr
Roseville, CA 95678


Lds Roseville 5Th Ward Roseville Stake
Golden Empire Council 047
8583 Watt Ave
Elverta, CA 95626


Lds Roseville 6Th Ward Roseville Stake
Golden Empire Council 047
1240 Junction Blvd
Roseville, CA 95678
Lds Roseville 7Th Ward Roseville Stake
Golden Empire Council 047
7180 Marblethorpe Dr
Roseville, CA 95747


Lds Roseville 9Th Ward Roseville Stake
Golden Empire Council 047
1240 Junction Blvd
Roseville, CA 95678


Lds Roseville Ward
Bloomfield Hills Stake
Great Lakes Fsc 272
28053 Edward St
Roseville, Mi 48066


Lds Rossmoor Ward Cordova Stake
Golden Empire Council 047
2400 Cordova Ln
Rancho Cordova, CA 95670


Lds Roswell 1St Ward ‐ Roswell Nm Stake
Conquistador Council Bsa 413
2201 Country Club Rd
Roswell, NM 88201


Lds Roswell Ward/Roswell Stake
Atlanta Area Council 092
500 Norcross St
Roswell, GA 30075


Lds Rotherwood Ward
Sequoyah Council 713
100 Canongate Rd
Kingsport, TN 37660


Lds Round Rock Ward Round Rock E Stake
Capitol Area Council 564
2400 N Aw Grimes Blvd
Round Rock, Tx 78665


Lds Rowe River Ward, Great Falls E Stake
Montana Council 315
4601 3Rd Ave S
Great Falls, Mt 59405


Lds Rowland Heights Ward
Hacienda Heights Stake 104
Greater Los Angeles Area 033
2120 Valencia St
Rowland Heights, Ca 91748


Lds Roxborough Ward
Highlands Ranch Stake
Denver Area Council 061
9800A Foothills Canyon Blvd
Littleton, Co 80129


Lds Roy West Park Ward
Roy Central Stake
Trapper Trails 589
4524 S 2525 W
Roy, Ut 84067


Lds Royal 1St Ward Othello Stake
Grand Columbia Council 614
1876 Rd 13 Se
Othello, WA 99344


Lds Royal 2Nd Ward/Othello Stake
Grand Columbia Council 614
9891 Rd 12 Sw
Royal City, WA 99357


Lds Royal Heights Ward
Sparks West Stake
Nevada Area Council 329
2505 Kings Row
Reno, Nv 89503


Lds Royal Oaks Ward Keizer Stake
Cascade Pacific Council 492
862 45th Ave Ne
Salem, OR 97301
Lds Ruby Valley Branch ‐ Elko East Stake
Nevada Area Council 329
9228 Ruby Valley Rd
Ruby Valley, NV 89833


Lds Running Creek Ward, Parker S Stake
Denver Area Council 061
34200 County Rd 17
Elizabeth, Co 80107


Lds Rush Valley Ward
Utah National Parks 591
7944 Smith Ranch Rd
Eagle Mountain, UT 84005


Lds Russellville Ward
N Little Rock Stake
Westark Area Council 016
200 S Cumberland Ave
Russellville, Ar 72801


Lds Rutland Br, Montpelier Vermont Stake
Green Mountain 592
106 Clarendon Ave
West Rutland, Vt 05777


Lds Rye Ward, Pueblo Stake
Rocky Mountain Council 063
2131 Coolidge Ave
Rye, CO 81069


Lds S Pasadena Ward 516 Pasadena Stake
Greater Los Angeles Area 033
Pasadena Stake
770 Sierra Madre Villa Ave
Pasadena, Ca 91107


Lds S Royalton Ward
Montpelier Vermont Stake
Green Mountain 592
Lds Lane
South Royalton, Vt 05068
Lds S San Francisco Ward
San Francisco Stake
Pacific Skyline Council 031
730 Sharp Park Rd
Pacifica, Ca 94044


Lds S Vly Ranch Ward
Hend Black Mtn Stake
Las Vegas Area Council 328
1551 Galleria Dr
Henderson, Nv 89014


Lds S Whidbey Ward Oak Harbor Stake
Mount Baker Council, Bsa 606
5425 S Maxwelton Rd
Langley, WA 98260


Lds Sable Ward, Aurora Stake
Denver Area Council 061
950 Laredo St
Aurora, CO 80011


Lds Sacramento 2Nd Ward Sacramento Stake
Golden Empire Council 047
6925 Havenhurst Dr
Sacramento, CA 95831


Lds Sacramento 4Th Ward Sacamento Stake
Golden Empire Council 047
7621 18th St
Sacramento, CA 95832


Lds Sacramento 7Th Branch
Golden Empire Council 047
7401 24th St
Sacramento, CA 95822


Lds Sacramento Cordova Stake
Golden Empire Council 047
3001 Wissemann Dr
Sacramento, CA 95826
Lds Sacramento Mtns Ward
Las Cruces Stake
Yucca Council 573
1800 23Rd St
Alamogordo, Nm 88310


Lds Saddle Ranch Ward
Highlands Ranch Stake
Denver Area Council 061
9800 Foothills Canyon Blvd
Highlands Ranch, Co 80129


Lds Saddle Ridge Ward
Utah National Parks 591
1738 S Bridle Path Loop
Lehi, UT 84043


Lds Saddlebrook Ward
Utah National Parks 591
2002 S Clydesdale Cir
Saratoga Springs, UT 84045


Lds Sage Creek Ward
Utah National Parks 591
2261E 700 N
St George, UT 84790


Lds Sage Hills Ward
Utah National Parks 591
2947 Swainson Ave
Saratoga Springs, UT 84045


Lds Sage Hills Ward/Wenatchee Stake
Grand Columbia Council 614
1601 Maiden Ln, Apt A204
Wenatchee, WA 98801


Lds Sage Hollow Ward
Utah National Parks 591
2079 E 2450 S
St George, UT 84790
Lds Sage Valley Ward
Utah National Parks 591
8774 N Cedar Fort Cir
Eagle Mountain, UT 84005


Lds Sage Ward Los Lunas Stake
Great Swest Council 412
8130 Sage Rd Sw
Albuquerque, NM 87121


Lds Saginaw Ward
Fort Worth North Stake
Longhorn Council 662
850 Cannon Dr
Hurst, Tx 76054


Lds Saginaw Ward ‐ Midland Stake
Water and Woods Council 782
1415 N Center Rd
Saginaw, MI 48638


Lds Saint Albans Br
Montpelier Vermont Stake
Green Mountain 592
22 Bushey Rd
Saint Albans, Vt 05478


Lds Salem Eighth Ward
Utah National Parks 591
470 E Salem Canal Rd
Salem, UT 84653


Lds Salem Fifth Ward
Utah National Parks 591
695 S 300 W
Salem, UT 84653


Lds Salem Fifth Ward Salem Stake
Cascade Pacific Council 492
4550 Lone Oak Rd Se
Salem, OR 97302
Lds Salem First Ward
Utah National Parks 591
60 S Main St
Salem, UT 84653


Lds Salem First Ward Keizer Stake
Cascade Pacific Council 492
570 Madison St Ne
Salem, OR 97301


Lds Salem Fourth Ward
Utah National Parks 591
75 W Oak Ln
Salem, UT 84653


Lds Salem Fourth Ward Salem Stake
Cascade Pacific Council 492
4550 Lone Oak Rd Se
Salem, OR 97302


Lds Salem Ninth Ward
Utah National Parks 591
60 S Main St
Salem, UT 84653


Lds Salem Second Ward
Utah National Parks 591
60 S Main St
Salem, UT 84653


Lds Salem Second Ward Salem Stake
Cascade Pacific Council 492
4550 Lone Oak Rd Se
Salem, OR 97302


Lds Salem Seventh Ward
Utah National Parks 591
25 W Apple Blossom Way
Salem, UT 84653
Lds Salem Sixth Ward
Utah National Parks 591
P.O. Box 1185
Salem, UT 84653


Lds Salem Tenth Ward
Utah National Parks 591
695 S 300 W
Salem, UT 84653


Lds Salem Third Ward
Utah National Parks 591
695 S 300 W
Salem, UT 84653


Lds Salem Twelfth Ward
Utah National Parks 591
160 S 460 W
Salem, UT 84653


Lds Salina Creek Ward
Utah National Parks 591
87 S 100 E
Salina, UT 84654


Lds Salina First Ward
Utah National Parks 591
100 W 400 N
Salina, UT 84654


Lds Salina Fourth Ward
Utah National Parks 591
18 W 400 N
Salina, UT 84654


Lds Salinas First Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
255 E Alvin Dr
Salinas, CA 93906


Lds Salinas Second Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
255 E Alvin Dr
Salinas, CA 93906


Lds Saline Ward ‐ Ann Arbor Stake
Southern Shores Fsc 783
525 Woodland Dr
Saline, MI 48176


Lds Salmon Creek Ward Ridgefield Stake
Cascade Pacific Council 492
21718 NE 29th Ave
Ridgefield, WA 98642


Lds Salmon Stake ‐ Challis Ward
Grand Teton Council 107
400 S Daisy St
Salmon, ID 83467


Lds Salmon Stake ‐ Lemhi Ward
Grand Teton Council 107
General Delivery
Salmon, ID 83467


Lds Salmon Stake ‐ Pahsimeroi Ward
Grand Teton Council 107
14 Patterson Rd
May, ID 83253


Lds Salmon Stake ‐ River Ward
Grand Teton Council 107
P.O. Box 225
Salmon, ID 83467


Lds Salmon Stake ‐ Salmon Ward
Grand Teton Council 107
19 Denali Ln
Salmon, ID 83467


Lds Sammamish 1St Ward Redmond Stake
Chief Seattle Council 609
922 216th Ave Ne
Sammamish, WA 98074
Lds Sammamish 2Nd Ward Redmond Stake
Chief Seattle Council 609
21831 NE 18th Way
Sammamish, WA 98074


Lds San Andreas Ward Lodi Stake
Greater Yosemite Council 059
221 Church Hill St
San Andreas, CA 95249


Lds San Destin Ward Highland Hills Stake
Las Vegas Area Council 328
2217 Mistle Thrush Dr
North Las Vegas, NV 89084


Lds San Diego E Stake Tierrasanta Ward
San Diego Imperial Council 049
10985 Camino Playa Carmel
San Diego, Ca 92124


Lds ‐San Fernando Stake
Burbank 5Th Ward
W.L.A.C.C. 051
8525 Glenoaks Blvd
Sun Valley, Ca 91352


Lds ‐San Fernando Stake
N Hollywood 4Th Ward
W.L.A.C.C. 051
2219 N Naomi St
Burbank, Ca 91504


Lds ‐San Fernando Stake
San Fernando 2Nd Ward
W.L.A.C.C. 051
13680 Sayre St
Sylmar, Ca 91342


Lds ‐San Fernando Stake
Van Nuys 5Th Ward
W.L.A.C.C. 051
7458 Mclennan Ave
Van Nuys, Ca 91406


Lds ‐San Fernando Stake
Van Nuys 5Th Ward
W.L.A.C.C. 051
7519 Gloria Ave
Van Nuys, Ca 91406


Lds ‐San Fernando Stake‐ Arleta Ward
W.L.A.C.C. 051
15555 Saticoy St
Van Nuys, CA 91406


Lds ‐San Fernando Stake‐ El Camino Real
W.L.A.C.C. 051
7045 Farralone Ave
Canoga Park, CA 91303


Lds ‐San Fernando Stake‐ Reseda 4Th Ward
W.L.A.C.C. 051
17840 Willard St
Reseda, CA 91335


Lds San Francisco 2Nd Fijian Br
Sf E Stake
Pacific Skyline Council 031
245 Ludeman Ln
Millbrae, Ca 94030


Lds San Francisco 3Rd Tongan Ward
SF E Stake
Pacific Skyline Council 031
245 Ludeman Ln
Millbrae, Ca 94030


Lds San Francisco 4Th Tongan Ward
SF E Stake
Pacific Skyline Council 031
975 Sneath Ln
San Bruno, Ca 94066
Lds San Jacinto Branch
Kingwood Stake
Sam Houston Area Council 576
19618 Atasca Oaks Dr
Humble, Tx 77346


Lds San Jose 1St Ward
San Francisco East Stake
Silicon Valley Monterey Bay 055
20125 Bollinger Rd
Cupertino, Ca 95014


Lds San Juan Ward Carmichael Stake
Golden Empire Council 047
4707 Oakbough Way
Carmichael, CA 95608


Lds San Lorenzo Valley Ward
Santa Cruz Stake
Silicon Valley Monterey Bay 055
9434 Central Ave
Ben Lomond, Ca 95005


Lds San Marcos Ward, Kyle Stake
Capitol Area Council 564
1905 Lancaster St
San Marcos, TX 78666


Lds San Miguel Ward Shadow Mtn Stake
Las Vegas Area Council 328
5645 W Alexander Rd
Las Vegas, Nv 89130


Lds Sand Creek Ward‐Fountain Stake
Pikes Peak Council 060
1705 N Murray Blvd
Colorado Springs, CO 80915


Lds Sand Springs Ward
Layton Legacy Stake
Trapper Trails 589
3161 W 150 N
Layton, Ut 84041
Lds Sandhill Ward East Stake
Las Vegas Area Council 328
4068 E Baltimore Ave
Las Vegas E Stake
Las Vegas, NV 89104


Lds Sandia Ward Abq Stake
Great Swest Council 412
P.O. Box 51751
Albuquerque, NM 87181


Lds Sandridge Ward
Syracuse South Stake
Trapper Trails 589
2679 S 1000 W
Syracuse, Ut 84075


Lds Sandy Plains Ward/Marietta E Stake
Atlanta Area Council 092
3147 Trickum Rd Ne
Marietta, GA 30066


Lds Sandy River Ward
Mt Hood Oregon Stake
Cascade Pacific Council 492
16317 Se Bluff Rd
Sandy, Or 97055


Lds Sandy Valley Branch South Stake
Las Vegas Area Council 328
2700 Jade Ave
Hc 31 Box 350
Sandy Valley, NV 89019


Lds Sanford 1St Ward, Manassa Stake
Rocky Mountain Council 063
P.O. Box 328
Sanford, CO 81151


Lds Sanford 2Nd Ward, Manassa Stake
Rocky Mountain Council 063
20806 Co. Rd W.5
Sanford, CO 81151


Lds Sanford Orlando
Central Florida Council 083
2315 S Park Ave
Sanford, FL 32771


Lds Sanpitch Ward
Utah National Parks 591
80 S 200 W
Wales, UT 84667


Lds Santa Barbara Ward
Santa Barbara Stake
Los Padres Council 053
2107 Santa Barbara St
Santa Barbara, Ca 93105


Lds Santa Clara 1St Ward
Santa Clara Stake
Oregon Trail Council 697
3132 River Rd
Eugene, Or 97404


Lds Santa Clara 2Nd Ward
Santa Clara Stake
Oregon Trail Council 697
550 N Danebo Ave
Eugene, Or 97402


Lds Santa Clara 3Rd Ward
Santa Clara Stake
Oregon Trail Council 697
550 N Danebo Ave
Eugene, Or 97402


Lds Santa Clara 4Th Ward
Santa Clara Stake
Oregon Trail Council 697
550 N Danebo Ave
Eugene, Or 97402
Lds Santa Clara 6Th Ward
Santa Clara Stake
Oregon Trail Council 697
3132 River Rd
Eugene, Or 97404


Lds Santa Clara Eighth Ward
Utah National Parks 591
3680 Pioneer Pkwy
Santa Clara, UT 84765


Lds Santa Clara Eleventh Ward
Utah National Parks 591
3765 Windmill Dr
Santa Clara, UT 84765


Lds Santa Clara Fifteenth Ward
Utah National Parks 591
3680 Pioneer Pkwy
Santa Clara, UT 84765


Lds Santa Clara Fifth Ward
Utah National Parks 591
3040 Santa Clara Dr
Santa Clara, UT 84765


Lds Santa Clara First Ward
Utah National Parks 591
3043 Santa Clara Dr
Santa Clara, UT 84765


Lds Santa Clara Fourteenth Ward
Utah National Parks 591
630 Riesling Ave
Santa Clara, UT 84765


Lds Santa Clara Fourth Ward
Utah National Parks 591
1706 Desert Dawn Dr
Santa Clara, UT 84765
Lds Santa Clara Second Ward
Utah National Parks 591
1750 Desert Dawn Dr
Santa Clara, UT 84765


Lds Santa Clara Seventeenth Ward
Utah National Parks 591
3089 Somerset Ln
Santa Clara, UT 84765


Lds Santa Clara Seventh Ward
Utah National Parks 591
1706 Desert Dawn Dr
Santa Clara, UT 84765


Lds Santa Clara Sixteenth Ward
Utah National Parks 591
3881 Mitchell Dr
Santa Clara, UT 84765


Lds Santa Clara Sixth Ward
Utah National Parks 591
1705 Desert Dawn Dr
Santa Clara, UT 84765


Lds Santa Clara Stake
Oregon Trail Council 697
1860 Cedar Brook Dr
Eugene, OR 97402


Lds Santa Clara Tenth Ward
Utah National Parks 591
630 Riesling Ave
Santa Clara, UT 84765


Lds Santa Clara Third Ward
Utah National Parks 591
3040 Santa Clara Dr
Santa Clara, UT 84765


Lds Santa Clara Twelfth Ward
Utah National Parks 591
630 Riesling Ave
Santa Clara, UT 84765


Lds Santa Clara Ward Camarillo Stake
Ventura County Council 057
3301 W Gonzales Rd
Oxnard, CA 93036


Lds Santa Clara Ward, Los Altos Stake
Pacific Skyline Council 031
875 Quince Ave
Santa Clara, CA 95051


Lds ‐Santa Clarita Stake
Canyon Country 2Nd Ward
W.L.A.C.C. 051
19513 Drycliff St
Santa Clarita, Ca 91351


Lds ‐Santa Clarita Stake
Mint Canyon Ward
W.L.A.C.C. 051
27050 Sand Canyon Rd
Canyon Country, Ca 91387


Lds ‐Santa Clarita Stake
Saugus 2Nd Ward
W.L.A.C.C. 051
27405 Bouquet Canyon Rd
Saugus, Ca 91350


Lds ‐Santa Clarita Stake
Saugus 3Rd Ward
W.L.A.C.C. 051
27405 Bouquet Canyon Rd
Saugus, Ca 91350


Lds ‐Santa Clarita Stake‐ Solemint Ward
W.L.A.C.C. 051
27050 Sand Canyon Rd
Canyon Country, CA 91387
Lds Santa Cruz Ward ‐ Santa Cruz Stake
Silicon Valley Monterey Bay 055
220 Elk St
Santa Cruz, CA 95065


Lds Santa Fe Branch Independence Stake
Heart of America Council 307
5609 Norfleet Rd
Kansas City, MO 64133


Lds Santa Fe Ward Santa Fe Stake
Great Swest Council 412
410 Rodeo Rd
Santa Fe, NM 87505


Lds Santa Gertrudes Ward Whittier Stake
Greater Los Angeles Area 033
15265 Mulberry Dr
Whittier, CA 90604


Lds Santa Maria 1St Ward
Santa Maria Stake
Los Padres Council 053
908 Sierra Madre Ave
Santa Maria, Ca 93454


Lds Santa Maria 2Nd Ward
Santa Maria Stake
Los Padres Council 053
1219 E Oak Knoll Rd
Santa Maria, Ca 93455


Lds Santa Maria 3Rd Ward
Santa Maria Stake
Los Padres Council 053
1219 Oak Knoll Rd
Santa Maria, Ca 93455


Lds Santa Monica Stake
W.L.A.C.C. 051
3400 Sawtelle Blvd
Los Angeles, CA 90066
Lds Santa Paula Ward Ventura Stake
Ventura County Council 057
604 Ojai Rd
Santa Paula, CA 93060


Lds Santa Rosa Ward Camarillo Stake
Ventura County Council 057
4345 Las Posas Rd
Camarillo, CA 93010


Lds Santa Susana 1St Ward Simi Vly Stake
Ventura County Council 057
5028 Cochran St
Simi Valley, Ca 93063


Lds Santa Susana 2Nd Ward Simi Stake
Ventura County Council 057
5028 Cochran St
Simi Valley, CA 93063


Lds Santa Susana 3Rd Ward Simi Stake
Ventura County Council 057
3979 Township Ave
Simi Valley, CA 93063


Lds Santa Susana 5Th Ward Simi Stake
Ventura County Council 057
5028 Cochran St
Simi Valley, CA 93063


Lds Santaquin Eighteenth Ward
Utah National Parks 591
179 W 730 N
Santaquin, UT 84655


Lds Santaquin Eighth Ward
Utah National Parks 591
250 S 580 E
Santaquin, UT 84655


Lds Santaquin Eleventh Branch   Spanish
Utah National Parks 591
345 W 100 N
Santaquin, UT 84655


Lds Santaquin Fifteenth Ward
Utah National Parks 591
45 S 500 W
Santaquin, UT 84655


Lds Santaquin Fifth Ward
Utah National Parks 591
555 N 200 E
Santaquin, UT 84655


Lds Santaquin First Ward
Utah National Parks 591
545 N 200 E
Santaquin, UT 84655


Lds Santaquin Fourteenth Ward
Utah National Parks 591
13168 S 6570 W
Santaquin, UT 84655


Lds Santaquin Fourth Ward
Utah National Parks 591
545 N 200 E
Santaquin, UT 84655


Lds Santaquin Ninteenth Ward
Utah National Parks 591
364 W 650 N
Santaquin, UT 84655


Lds Santaquin Ninth Ward
Utah National Parks 591
545 N 200 E
Santaquin, UT 84655


Lds Santaquin Second Ward
Utah National Parks 591
260 S 580 E
Santaquin, UT 84655


Lds Santaquin Sixteenth Ward
Utah National Parks 591
250 S 580 E
Santaquin, UT 84655


Lds Santaquin Sixth Ward
Utah National Parks 591
545 N 200 E
Santaquin, UT 84655


Lds Santaquin Tenth Ward
Utah National Parks 591
223 N 910 E
Santaquin, UT 84655


Lds Santaquin Third Ward
Utah National Parks 591
45 S 500 W
Santaquin, UT 84655


Lds Santaquin Thirteenth Ward
Utah National Parks 591
90 S 200 E
Santaquin, UT 84655


Lds Santaquin Twelfth Ward
Utah National Parks 591
200 E 100 S
Santaquin, UT 84655


Lds Santaquin Twenty Second
Utah National Parks 591
250 S 580 E
Santaquin, UT 84655


Lds Sarasota Ward Srq Stake
Southwest Florida Council 088
7001 Beneva Rd
Sarasota, FL 34238
Lds Saratoga Hills Fifth Ward
Utah National Parks 591
1466 S Allison Way
Saratoga Springs, UT 84045


Lds Saratoga Hills First Ward
Utah National Parks 591
1178 Ponside Dr
Saratoga Springs, UT 84045


Lds Saratoga Hills Fourth Ward
Utah National Parks 591
722 W Primrose Path
Saratoga Springs, UT 84045


Lds Saratoga Hills Second Ward
Utah National Parks 591
1187 Pondside Rd
Saratoga Springs, UT 84045


Lds Saratoga Hills Seventh Ward
Utah National Parks 591
1479 S Garden View Ct
Saratoga Springs, UT 84045


Lds Saratoga Hills Sixth Ward
Utah National Parks 591
1691 S Landrock Dr
Saratoga Springs, UT 84045


Lds Saratoga Hills Third Ward
Utah National Parks 591
304 W Farmside Dr
Saratoga Springs, UT 84045


Lds Saratoga Spgs Sixth Ward     Spanish
Utah National Parks 591
1284 N Commerce Dr, Apt G101
Saratoga Springs, Ut 84045


Lds Saratoga Springs 12Th Branch
Utah National Parks 591
4194 Bay Cir
Lehi, UT 84043


Lds Saratoga Springs Eighth Ward
Utah National Parks 591
2161 W Grays Dr
Lehi, UT 84043


Lds Saratoga Springs Fifth Ward
Utah National Parks 591
1702 S Range Rd
Saratoga Springs, UT 84045


Lds Saratoga Springs First Ward
Utah National Parks 591
776 S Saratoga Dr
Saratoga Springs, UT 84045


Lds Saratoga Springs Fourth Ward
Utah National Parks 591
49 E Centennial Blvd
Saratoga Springs, UT 84045


Lds Saratoga Springs Second Ward
Utah National Parks 591
865 S Beck Ct
Saratoga Springs, UT 84045


Lds Saratoga Springs Seventh Ward
Utah National Parks 591
650 W 400 N.
Saratoga Springs, UT 84045


Lds Saratoga Springs Tenth Ward
Utah National Parks 591
650 W 400 N
Saratoga Springs, UT 84045


Lds Saratoga Springs Third Ward
Utah National Parks 591
1022 S Waterside Dr
Saratoga Springs, UT 84045


Lds Saratoga Ward ‐ Alliance Stake
Longhorn Council 662
2509 Trophy Club Dr
Trophy Club, TX 76262


Lds Saratoga Ward ‐ Saratoga Stake
Silicon Valley Monterey Bay 055
19100 Allendale Ave
Saratoga, CA 95070


Lds Satellite Hills Ward
Sparks East Stake
Nevada Area Council 329
5195 Orinda Dr
Sparks, Nv 89436


Lds Savage Mill Ward Columbia Stake
Baltimore Area Council 220
6020 10 Oaks Rd
Clarksville, MD 21029


Lds Savory Ponds Ward, Westminster Stake
Denver Area Council 061
13370 Lowell Blvd
Broomfield, CO 80020


Lds Sawtooth Creek Ward
Settlers Park Stake
Ore‐Ida Council 106 ‐ Bsa 106
2023 W Bellagio Dr
Meridian, Id 83646


Lds Scappoose Ward Rainier Stake
Cascade Pacific Council 492
2755 Sykes Rd
Saint Helens, OR 97051


Lds Scenic Ward Kent Stake
Chief Seattle Council 609
12817 SE 256th St
Kent, WA 98030


Lds Schertz Ward‐East Stake
Alamo Area Council 583
1142 Fm 1103
Cibolo, TX 78108


Lds Scioto Ward Columbus
Simon Kenton Council 441
2400 Red Rock Blvd
Grove City, OH 43123


Lds Scipio Ward
Utah National Parks 591
Gen Del
Scipio, UT 84656


Lds Scituate Ward
Narragansett 546
551 Central Pike
Scituate, RI 02857


Lds Scotch Plains 1St Ward Scotch Plains
Patriots Path Council 358
1781 Raritan Rd
Scotch Plains, NJ 07076


Lds Scouters Assoc
Mount Baker Council, Bsa 606
7500 50th Pl Ne
Marysville, WA 98270


Lds Scouters Mtn Ward Portland Stake
Cascade Pacific Council 492
10300 Se 132Nd Ave
Happy Valley, Or 97086


Lds Seabeck Ward Bremerton Stake
Chief Seattle Council 609
11070 Old Frontier Rd Nw
Silverdale, WA 98383
Lds Seaside Ward ‐ Monterey Stake
Silicon Valley Monterey Bay 055
1024 Noche Buena St
Seaside, CA 93955


Lds Seaside Ward Rainier Stake
Cascade Pacific Council 492
91160 Hwy 101
1403 S Wahanna Rd, Seaside
Warrenton, OR 97146


Lds Seattle Hill Ward Everett Stake
Mount Baker Council, Bsa 606
11915 29th Ave Se
Everett, WA 98208


Lds Sebastopol Ward
Redwood Empire Council 041
8100 Valentine Ave
Sebastopol, CA 95472


Lds Sedalia Ward ‐ Warrensburg Stake
Great Rivers Council 653
1201 W Broadway Blvd
Sedalia, MO 65301


Lds Sego Lily Ward
Utah National Parks 591
985 N 400 E
Lehi, UT 84043


Lds Selah 1St Ward/Selah Stake
Grand Columbia Council 614
970 Tibbling Rd
Selah, WA 98942


Lds Selah 2Nd Ward/Selah Stake
Grand Columbia Council 614
980 Lancaster Rd
Selah, WA 98942
Lds Selah‐Cle Elum Ward Selah Stake
Grand Columbia Council 614
P.O. Box 1090
Cle Elum, WA 98922


Lds Seminole
Last Frontier Council 480
35226 Ew 1235
Seminole, OK 74868


Lds Semoran Orlando
Central Florida Council 083
45 E Par St
Orlando, FL 32804


Lds Seneca Ward
Blue Ridge Council 551
5003 Wells Hwy
Seneca, SC 29678


Lds Seneca Ward Seneca Stake
National Capital Area Council 082
18900 Kingsview Rd
Germantown, MD 20874


Lds Seoul English Branch
Far E Council 803
Lds ‐ Yongsan Servicemens Branch
160 Dangsang‐Dong 2Ga
Apo Ap, 96205


Lds Sequim Bay Ward Port Angeles Stake
Chief Seattle Council 609
815 W Washington St
Sequim, WA 98382


Lds Serenada Ward Round Rock East Stake
Capitol Area Council 564
218 Serenada Dr
Georgetown, TX 78628


Lds Serene Ward Warm Springs Stake
Las Vegas Area Council 328
10970 S Bermuda Rd
Henderson, NV 89052


Lds Serenity Hills Ward
Utah National Parks 591
1762 S River Rd
St George, UT 84790


Lds Sern Hills Ward Blue Diamond Stake
Las Vegas Area Council 328
7885 W Robindale Rd
Las Vegas, Nv 89113


Lds Serramonte Ward, San Mateo Stake
Pacific Skyline Council 031
1399 Brunswick St
Daly City, CA 94014


Lds Settlers Bridge Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
3775 E Ustick Rd
Meridian, ID 83646


Lds Seven Hills Ward Anthem Hills Stake
Las Vegas Area Council 328
10970 S Bermuda Rd
Henderson, NV 89052


Lds Seven Hills Ward, Aurora South Stake
Denver Area Council 061
3101 S Flanders St
Aurora, CO 80013


Lds Sevierville Knoxville
Great Smoky Mountain Council 557
401 Hardin Ln
Sevierville, TN 37862


Lds Sewell Ward Cherry Hill Nj Stake
Garden State Council 690
259 Lambs Rd
Sewell, NJ 08080


Lds Sf 5Th Samoan Ward
San Francisco Stake
Pacific Skyline Council 031
730 Sharp Park Rd
Pacifica, Ca 94044


Lds Shadow Canyon Ward Carnegie Stake
Las Vegas Area Council 328
2091 Wigwam Pkwy
Henderson, NV 89074


Lds Shadow Lake Ward Maple Valley Stake
Chief Seattle Council 609
Se 240th St
Maple Valley, WA 98038


Lds Shadow Ranch Ward
Sparks East Stake
Nevada Area Council 329
7625 Shadow Ln
Sparks, Nv 89434


Lds Shadow Ridge Ward
Weber Heights Stake
Trapper Trails 589
1401 Country Hills Dr
Ogden, Ut 84403


Lds Shadow Ridge Ward Tule Springs Stake
Las Vegas Area Council 328
5140 Georgetown Cove Ct
Las Vegas, NV 89131


Lds Shadowbrook Ward
Kaysville South Stake
Trapper Trails 589
162 E Burton
Kaysville, Ut 84037


Lds Shafer View Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
1695 E Amity Rd
Meridian, ID 83642


Lds Shallowford Ward/Marietta East Stake
Atlanta Area Council 092
2605 Chadwick Rd
Marietta, GA 30066


Lds Shamrock Ward‐Mer E Stk
Ore‐Ida Council 106 ‐ Bsa 106
Shamrock   Mcmillian
Boise, ID 83713


Lds Sharon East Stake Eleven Year Olds
Utah National Parks 591
865 E 2390 N
Provo, UT 84604


Lds Sharon Eighth Ward
Utah National Parks 591
630 S 700 E
Orem, UT 84097


Lds Sharon Fifth Ward
Utah National Parks 591
545 S 800 E
Orem, UT 84097


Lds Sharon First Ward
Utah National Parks 591
770 S 590 E
Orem, UT 84097


Lds Sharon Fourth Ward
Utah National Parks 591
583 S 700 E
Orem, UT 84097


Lds Sharon Park Eighth Ward
Utah National Parks 591
600 N 150 E
Orem, UT 84057


Lds Sharon Park Fifth Ward
Utah National Parks 591
238 E 550 N
Orem, UT 84057


Lds Sharon Park First Ward
Utah National Parks 591
270 N 150 E
Orem, UT 84057


Lds Sharon Park Fourth Ward
Utah National Parks 591
300 N 100 E
Orem, UT 84057


Lds Sharon Park Second Ward
Utah National Parks 591
346 N 360 E
Orem, UT 84057


Lds Sharon Park Seventh Ward
Utah National Parks 591
39 W 700 N
Orem, UT 84057


Lds Sharon Park Sixth Ward
Utah National Parks 591
150 E 600 N
Orem, UT 84057


Lds Sharon Park Third Ward
Utah National Parks 591
225 E 200 N
Orem, UT 84057


Lds Sharon Park Thirteenth Ward
Spanish
Utah National Parks 591
85 E 700 N
Orem, Ut 84057
Lds Sharon Second Ward
Utah National Parks 591
446 E 400 S
Orem, UT 84097


Lds Sharon Sixth Ward
Utah National Parks 591
545 S 800 E
Orem, UT 84097


Lds‐ Sharon Springs Ward
Sugar Hill Stake
Northeast Georgia Council 101
510 Brannon Rd
Cumming, Ga 30041


Lds Sharon Third Ward
Utah National Parks 591
361 S 400 E
Orem, UT 84097


Lds Sharpsburg Ward Fayetteville Stake
Flint River Council 095
157 Bob Smith Rd
Sharpsburg, GA 30277


Lds Shasta Lake Ward Redding Stake
Golden Empire Council 047
P.O. Box 839
Shasta Lake, CA 96019


Lds Shawano Branch Green Bay Wi Stake
Bay‐Lakes Council 635
910 E Zingler Ave
Shawano, WI 54166


Lds Shawnee Ward Stillwater Stake
Last Frontier Council 480
1501 E Independence St
Shawnee, OK 74804
Lds Sheboygan Ward Appleton Wi Stake
c/o Carlos Uceda
Bay‐Lakes Council 635
620 S 8th St, Apt 215
Sheboygan, WI 53081


Lds Shelby Branch, Great Falls Stake
Montana Council 315
916 Wwood Ave
Shelby, MT 59474


Lds Shelby Ward, Great Falls Stake
Montana Council 315
915 Wwood Ave
Shelby, MT 59474


Lds Shelbyville Ward
Lincoln Heritage Council 205
1113 Mount Eden Rd
Shelbyville, KY 40065


Lds Shelbyville Ward
Lincoln Heritage Council 205
3117 Hebron Rd
Shelbyville, KY 40065


Lds Sheldon Ward Elk Grove Stake
Golden Empire Council 047
8925 Vintage Park Dr
Sacramento, CA 95829


Lds Shelley South Stake
Mountainview Ward
Grand Teton Council 107
1089 N 1200 E
Shelley, Id 83274


Lds Shelley South Stake
Shelley 3Rd Ward
Grand Teton Council 107
513 S Park Ave
Shelley, Id 83274
Lds Shelley South Stake
Shelley 5Th Ward
Grand Teton Council 107
513 S Park Ave
Shelley, Id 83274


Lds Shelley South Stake
Shelley 7Th Ward
Grand Teton Council 107
675 S Milton Ave
Shelley, Id 83274


Lds Shelley South Stake ‐ Foundry Ward
Grand Teton Council 107
675 S Milton Ave
Shelley, ID 83274


Lds Shelley South Stake ‐ Jameston Ward
Grand Teton Council 107
1250 N 1100 E
Shelley, ID 83274


Lds Shelley South Stake ‐ Sandcreek Ward
Grand Teton Council 107
1101 E 1250 N
Shelley, ID 83274


Lds Shelley South Stake ‐ Taylor Ward
Grand Teton Council 107
1398 N 1100 E
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 10Th Ward
Grand Teton Council 107
1555 N 700 E
325 E Locust St
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 12Th Ward
Grand Teton Council 107
325 E Locust
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 1St Ward
Grand Teton Council 107
184 N Park Ave
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 2Nd Ward
Grand Teton Council 107
325 E Locust St
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 4Th Ward
Grand Teton Council 107
184 N Park Ave
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 6Th Ward
Grand Teton Council 107
325 E Locust St
Shelley, ID 83274


Lds Shelley Stake ‐ Shelley 8Th Ward
Grand Teton Council 107
184 N Park Ave
Shelley, ID 83274


Lds Shelley Stake ‐ Woodville 1St Ward
Grand Teton Council 107
1555 N 700 E
Shelley, ID 83274


Lds Shelley Stk‐Woodville 2Nd Wd
Grand Teton Council 107
7440 S 4500 W
Idaho Falls, ID 83402


Lds Shenandoah Vly Ward
Winchester, Va Stake
Shenandoah Area Council 598
230 Justes Dr
Winchester, Va 22602
Lds Shenandoah Ward Council Bluff Stake
Mid‐America Council 326
507 E Pioneer Ave
Shenandoah, IA 51601


Lds Shenandoah Ward Council Bluffs Stake
Mid‐America Council 326
507 E Pioneer Ave
Shenandoah, IA 51601


Lds Shepherd Ward, Billings East Stake
Montana Council 315
1000 Wicks Lane
Billings, MT 59105


Lds Shepherdsville Branch
Lincoln Heritage Council 205
115 Bradford Pl
Mount Washington, KY 40047


Lds Sherbrook Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
1920 S Locust Grove Rd
Meridian, ID 83642


Lds Sheridan 1St Ward, Gillette Stake
Greater Wyoming Council 638
2051 Colonial Dr
Sheridan, WY 82801


Lds Sheridan 2Nd Ward, Gillette Stake
Greater Wyoming Council 638
2051 Colonial Dr
Sheridan, WY 82801


Lds Sheridan Ward, Butte Stake
Montana Council 315
4413 Hwy 41 N.
Sheridan, MT 59749
Lds Sheridan Ward, Butte Stake
Montana Council 315
4413 Mt Hwy 41 N
Twin Bridges, MT 59754


Lds Sherwood Hills Ward
Utah National Parks 591
4724 Brentwood Cir
Provo, UT 84604


Lds Sherwood Ward Tualatin Stake
Cascade Pacific Council 492
22284 SW Grahams Ferry Rd
Tualatin, OR 97062


Lds Shiloh
Greater St Louis Area Council 312
255 Fairwood Hills Rd
O Fallon, IL 62269


Lds Shiloh Ward, Billings Stake
Montana Council 315
4636 Woodhaven Way
Billings, MT 59106


Lds Shiprock Ward Kirtland Stake
Great Swest Council 412
P.O. Box 3419
Shiprock, NM 87420


Lds Shirlington Ward Mt Vernon Stake
National Capital Area Council 082
4712 30th St S
Arlington, VA 22206


Lds Shoal Creek Vly Ward Liberty Stake
Heart Of America Council 307
6751 Ne 70Th St
Kansas City, Mo 64119


Lds Shoal Creek Ward Liberty Stake
Heart of America Council 307
5600 N Jackson Ave
Kansas City, MO 64119


Lds Shoal Creek Ward, Austin Stake
Capitol Area Council 564
1000 Rutherford Ln
Austin, TX 78753


Lds Shoultes Ward Arlington Stake
Mount Baker Council, Bsa 606
9215 51st Ave Ne
Marysville, WA 98270


Lds Shrewsbury Ward, Lancaster Stake
New Birth of Freedom 544
2100 Hollywood Dr
York, PA 17403


Lds Sidney Ward, Glendive Stake
Montana Council 315
1215 5th St Sw
Sidney, MT 59270


Lds Sienna Hills Ward
Utah National Parks 591
1762 S River Rd
St. George, UT 84790


Lds Sienna Plantation Ward
Houston South Stake
Sam Houston Area Council 576
8333 Scanlan Trce
Missouri City, Tx 77459


Lds Sienna Vista Ward ‐ Reno North Stake
Nevada Area Council 329
2505 Kings Row
Reno, NV 89503


Lds Sierra Ranch Ward N Las Vegas Stake
Las Vegas Area Council 328
50 E Azure Ave
North Las Vegas, Nv 89031


Lds Sierra Vista Ward Blue Diamond Stake
Las Vegas Area Council 328
7885 W Robindale Rd
Las Vegas, NV 89113


Lds Sigurd Ward
Utah National Parks 591
570026
Sigurd, UT 84657


Lds Silkwood Ward
Utah National Parks 591
2843 E Crimson Ridge Dr
Saint George, UT 84790


Lds Siloam Springs Ward Springdale Stake
Westark Area Council 016
2503 S Elm St
Siloam Springs, AR 72761


Lds Silva Valley Ward Folsom Stake
Golden Empire Council 047
1275 Green Valley Rd
El Dorado Hills, CA 95762


Lds Silver City 1St Ward Silver City Stk
Yucca Council 573
3755 N Swan St
Silver City, NM 88061


Lds Silver City 2Nd Ward Silver City Stk
Yucca Council 573
3755 N Swan St
Silver City, NM 88061


Lds Silver City 3Rd Ward Silver City Stk
Yucca Council 573
4313 N Swan St
Silver City, NM 88061
Lds Silver City 3Rd Ward Sliver City Stk
Yucca Council 573
3755 N Swan St
Silver City, NM 88061


Lds Silver Creek Ward
Utah National Parks 591
4506 Pony Express Pkwy
Eagle Mountain, UT 84005


Lds Silver Creek Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
4977 San Felipe Rd
San Jose, CA 95135


Lds Silver Lake Ward
Utah National Parks 591
4506 E Pony Express Pkwy
Eagle Mountain, UT 84005


Lds Silver Lake Ward ‐ Reno North Stake
Nevada Area Council 329
8080 Lemmon Dr
Reno, NV 89506


Lds Silver Lakes Ward
Syracuse South Stake
Trapper Trails 589
3065 S Bluff Rd
Syracuse, Ut 84075


Lds Silver Spg Ward Silver Spg Stake
National Capital Area Council 082
3315 Claridge Ct
Silver Spring, Md 20902


Lds Silver Spgs Ward Fallon N Stake
Nevada Area Council 329
5380 Elm St
Silver Springs, Nv 89429
Lds Silver Spgs Ward Green Vly Stake
Las Vegas Area Council 328
1525 Guilford Dr
Henderson, Nv 89014


Lds Silver Stone Ward Tule Springs Stake
Las Vegas Area Council 328
8755 Iron Mountain Rd
Las Vegas, NV 89143


Lds Silverado Ward Warm Springs Stake
Las Vegas Area Council 328
9011 Galena Crossing
Las Vegas, NV 89123


Lds Silverdale 1St Ward Silverdale Stake
Chief Seattle Council 609
7372 Blackbird Dr Ne
Bremerton, WA 98311


Lds Silverdale 2Nd Ward Silverdale Stake
Chief Seattle Council 609
9256 Nels Nelson Rd Nw
Bremerton, WA 98311


Lds Silverdale 3Rd Ward Silverdale Stake
Chief Seattle Council 609
11070 Old Frontier Rd Nw
Silverdale, WA 98383


Lds Silverdale 6Th Ward Silverdale Stake
c/o Bishop Bryan Tower
Chief Seattle Council 609
P.O. Box 120
Poulsbo, WA 98345


Lds Silverleaf Ward‐Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
2421 W Glade Creek St
Meridian, ID 83646


Lds Silverstone Ward
Utah National Parks 591
1528 N Potomac Ave
Washington, UT 84780


Lds Silverton Ward Keizer Stake
Cascade Pacific Council 492
745 W Main St
Silverton, OR 97381


Lds Simi 3Rd Ward Simi Stake
Ventura County Council 057
3979 Township Ave
Simi Valley, CA 93063


Lds Simi 4Th Ward Simi Stake
Ventura County Council 057
480 Sinaloa Rd
Simi Valley, CA 93065


Lds Simi 5Th Ward Simi Stake
Ventura County Council 057
480 Sinaloa Rd
Simi Valley, CA 93065


Lds Simpsonville
Blue Ridge Council 551
1301 Boiling Springs Rd
Greer, SC 29650


Lds Simpsonville 1St Ward
Blue Ridge Council 551
1301 Boiling Springs Rd
Greer, SC 29650


Lds Sinclair View Ward Bremerton Stake
Chief Seattle Council 609
3877 Mullenix Rd Se
Port Orchard, WA 98366


Lds Sinks Canyon Ward, Riverton Stake
Greater Wyoming Council 638
545 Cliff St
Lander, WY 82520


Lds Sioux City 1St Ward Sioux City Stake
Mid‐America Council 326
1201 W Clifton Ave
Sioux City, IA 51104


Lds Sioux City 2Nd Ward Sioux City Stake
Mid‐America Council 326
1201 W Clifton Ave
Sioux City, IA 51104


Lds Sisters Ward ‐ Redmond Stake
Crater Lake Council 491
Trinity Way
Sisters, OR 97759


Lds Skagit River 1St Ward
Mt Vernon Stake
Mount Baker Council, Bsa 606
1115 Mcgarigle Rd
Sedro Woolley, Wa 98284


Lds Skagit River 2Nd Ward
Mt Vernon Stake
Mount Baker Council, Bsa 606
1122 Mcgarigle
Sedro Woolley, Wa 98284


Lds Skye Canyon Ward Skye Canyon Stake
Las Vegas Area Council 328
9830 Elkhorn Rd
Las Vegas, NV 89149


Lds Skyline Ward ‐ Reno Stake
Nevada Area Council 329
1095 Golconda Dr
Reno, NV 89509


Lds Skyline Ward Cedar Mill Stake
Cascade Pacific Council 492
14885 NW W Union Rd
Portland, OR 97229


Lds Skyview Ward Vancouver West Stake
Cascade Pacific Council 492
14702 NW 26th Ave
Vancouver, WA 98685


Lds Slate Canyon Eighth Ward
Utah National Parks 591
1625 S Slate Canyon Dr
Provo, UT 84606


Lds Slate Canyon Eleventh Ward
Utah National Parks 591
1625 S Slate Canyon Dr
Provo, UT 84606


Lds Slate Canyon Fifteenth Ward
Utah National Parks 591
1357 Cinnamon Ridge Cir
Provo, UT 84606


Lds Slate Canyon Fourteenth    Spanish
Utah National Parks 591
2401 Tennessee Ave
Provo, UT 84606


Lds Slate Canyon Fourth Ward
Utah National Parks 591
715 Utah Ave
Provo, UT 84606


Lds Slate Canyon Sixth Ward
Utah National Parks 591
1315 E 900 S
Provo, UT 84606


Lds Slate Canyon Tenth Ward
Utah National Parks 591
2342 Tennessee Ave
Provo, UT 84606
Lds Slate Canyon Thirteenth Ward
Utah National Parks 591
1394 Alpine Way
Provo, UT 84606


Lds Slick Rock Ward
Utah National Parks 591
2450 E Riverside Dr
St George, UT 84790


Lds Slo 1St Ward San Luis Obispo Stake
Los Padres Council 053
651 E Foothill Blvd
San Luis Obispo, CA 93405


Lds Sloan Canyon Ward Anthem Hills Stake
Las Vegas Area Council 328
10970 S Bermuda Rd
Henderson, NV 89052


Lds Sloughhouse Ward Elk Grove Stake
Golden Empire Council 047
8925 Vintage Park Dr
Sacramento, CA 95829


Lds Smith Lane Ward
Kaysville West Stake
Trapper Trails 589
1449 S Thoroughbred Way
Kaysville, Ut 84037


Lds Smith Rock Ward ‐ Redmond Stake
Crater Lake Council 491
450 SW Rimrock Way
Redmond, OR 97756


Lds Smithfield 10Th Ward
Smithfield South
Trapper Trails 589
365 E 360 S
Smithfield, Ut 84335
Lds Smithfield 11Th Ward
Smithfield Stake
Trapper Trails 589
79 E 200 S
Smithfield, Ut 84335


Lds Smithfield 12Th Ward
Smithfield North
Trapper Trails 589
155 W 400 N
Smithfield, Ut 84335


Lds Smithfield 14Th Ward
Smithfield South
Trapper Trails 589
451 S 250 E
Smithfield, Ut 84335


Lds Smithfield 15Th Ward
Smithfield South
Trapper Trails 589
600 S 625 E
Smithfield, Ut 84335


Lds Smithfield 16Th Ward
Smithfield South
Trapper Trails 589
6521 N 2400 W
Amalga, Ut 84335


Lds Smithfield 18Th Ward
Smithfield South
Trapper Trails 589
600 S 625 E
Smithfield, Ut 84335


Lds Smithfield 19Th Ward
Smithfield North
Trapper Trails 589
155 W 400 N
Smithfield, Ut 84335
Lds Smithfield 22Nd Ward
Smithfield North
Trapper Trails 589
640 N 200 E
Smithfield, Ut 84335


Lds Smithfield 23Rd Ward
Smithfield South
Trapper Trails 589
451 S 250 E
Smithfield, Ut 84335


Lds Smithfield 24Th Ward
Smithfield South
Trapper Trails 589
451 S 250 E
Smithfield, Ut 84335


Lds Smithfield 25Th
Smithfield North Stake
Trapper Trails 589
660 W 200 N
Smithfield, Ut 84335


Lds Smithfield 2Nd Ward
Smithfield South
Trapper Trails 589
6521 N 2400 W
Amalga, Ut 84335


Lds Smithfield 3Rd Ward
Smithfield North
Trapper Trails 589
640 N 200 E
Smithfield, Ut 84335


Lds Smithfield 4Th Ward
Smithfield North
Trapper Trails 589
660 W 200 N
Smithfield, Ut 84335


Lds Smithfield 5Th Ward
Smithfield South
Trapper Trails 589
600 S 625 E
Smithfield, Ut 84335


Lds Smithfield 8Th Ward
Smithfield North
Trapper Trails 589
155 W 400 N
Smithfield, Ut 84335


Lds ‐Smithfield 9Th Ward
Smithfield North
Trapper Trails 589
660 W 200 N
Smithfield, Ut 84335


Lds Smithton Ridge Ward ‐ Columbia Stake
Great Rivers Council 653
4708 Highlands Pkwy
Columbia, MO 65203


Lds Smithville Lake Branch Liberty Stake
Heart of America Council 307
7001 Searcy Creek Pkwy
Kansas City, MO 64119


Lds Smoky Hill Ward, Arapahoe Stake
Denver Area Council 061
5175 S Picadilly St
Centennial, CO 80015


Lds Snohomish Ward Snohomish Stake
Mount Baker Council, Bsa 606
8522 131st Ave Se
Snohomish, WA 98290


Lds Snoqualmie Falls Ward
Bellevue S Stake
Chief Seattle Council 609
1100 6Th Ave Se
Issaquah, Wa 98027
Lds Snoqualmie River Ward Redmond Stake
Chief Seattle Council 609
7115 224th Ave Ne
Redmond, WA 98053


Lds Snow Canyon Eleventh Ward
Utah National Parks 591
1854 N Serenity Dr
St George, UT 84770


Lds Snow Canyon Fifth Ward
Utah National Parks 591
1625 Lava Flow Dr
St George, UT 84770


Lds Snow Canyon First Ward
Utah National Parks 591
1184 N Dixie Downs Rd
St George, UT 84770


Lds Snow Canyon Fourth Ward
Utah National Parks 591
1184 N Dixie Downs Rd
St George, UT 84770


Lds Snow Canyon Second Ward
Utah National Parks 591
1360 N Dixie Downs Rd, Unit 56
1610 N Dixie Downs Rd
Saint George, UT 84770


Lds Snow Canyon Sixth Ward
Utah National Parks 591
2027 W 1860 N
St George, UT 84770


Lds Snow Canyon Thirteenth Ward
Utah National Parks 591
1631 W 1510 N
Saint George, UT 84770
Lds Snow Peak Ward Lebanon Stake
Cascade Pacific Council 492
1955 S 5th St
Lebanon, OR 97355


Lds Snow Springs Ward Lehi
Utah National Parks 591
842 S 1660 W
Lehi, UT 84043


Lds Snow Ward, Bakersfield Stake
Southern Sierra Council 030
5500 Fruitvale Ave
Bakersfield, CA 93308


Lds Socorro Ward El Paso Stake
Yucca Council 573
11300 N Loop Dr
Socorro, TX 79927


Lds Socorro Ward Los Lunas Stake
Great Swest Council 412
1121 El Camino Real St
Socorro, NM 87801


Lds Soda Springs Stake ‐ 1St Ward
Grand Teton Council 107
361 S 3rd E
Soda Springs, ID 83276


Lds Soda Springs Stake ‐ 2Nd Ward
Grand Teton Council 107
311 S 3rd W
Soda Springs, ID 83276


Lds Soda Springs Stake ‐ 3Rd Ward
Grand Teton Council 107
290 S 3rd W
Soda Springs, ID 83276


Lds Soda Springs Stake ‐ 4Th Ward
Grand Teton Council 107
281 E Hooper Ave
Soda Springs, ID 83276


Lds Soda Springs Stake ‐ 5Th Ward
Grand Teton Council 107
361 S 3rd E
Soda Springs, ID 83276


Lds Solon Ward Kirtland Stake
Lake Erie Council 440
5825 Liberty Rd
Solon, OH 44139


Lds Solvang Ward, Santa Barbara Stake
Los Padres Council 053
2627 Janin Way
Solvang, CA 93463


Lds Somerset Branch
Blue Grass Council 204
117 Waycross St
Somerset, KY 42501


Lds Somerset Ward Sp Fork
Utah National Parks 591
2550 E 989 S
Spanish Fork, UT 84660


Lds Somerset Ward Bellevue South
Chief Seattle Council 609
4151 134th Ave Se
Bellevue, WA 98006


Lds Somerset Ward South Stake
Las Vegas Area Council 328
4105 Abernethy Forest Pl
Las Vegas, NV 89141


Lds Somersworth Ward, Exeter Nh Stake
Daniel Webster Council, Bsa 330
35 Tates Brook Rd
Somersworth, NH 03878
Lds Sonoma Ward
Redwood Empire Council 041
16280 La Grama St
Sonoma, CA 95476


Lds Sorrento Leesburg
Central Florida Council 083
30604 Apawamis Dr
Sorrento, FL 32776


Lds South Bench Ward
Haight Creek Stake
Trapper Trails 589
1282 W 1875 N
Farmington, Ut 84025


Lds South Bluff Ward
Syracuse South Stake
Trapper Trails 589
3024 S 1200
Syracuse, Ut 84075


Lds South Cache Spanish Branch
Hyrum Stake
Trapper Trails 589
600 S 200 E
Hyrum, Ut 84319


Lds South Charleston 1St Ward
Buckskin 617
839 Chestnut St
South Charleston, WV 25309


Lds South Coast Ward Hingham Stake
Mayflower Council 251
400 Cross Rd
North Dartmouth, MA 02747


Lds South Haven Ward ‐ Kalamazoo Stake
Southern Shores Fsc 783
05272 73 1/2 St
South Haven, MI 49090


Lds South Houston Branch
Friendswood Stake
Sam Houston Area Council 576
5008 Calhoun Rd
Houston, Tx 77004


Lds South Lake Tahoe Ward
Carson City Stake
Nevada Area Council 329
P.O. Box 13083
So Lake Tahoe, Ca 96151


Lds South Lake Ward Marysville Stake
Mount Baker Council, Bsa 606
11232 31st St Se
Lake Stevens, WA 98258


Lds South Meadows Ward ‐ Mt Rose Stake
Nevada Area Council 329
4850 Edmonton Dr
Reno, NV 89511


Lds South Mountain Ward
Utah National Parks 591
1299 S Cross Hollow Dr
Cedar City, UT 84720


Lds South Ogden 3Rd Ward
South Ogden Stake
Trapper Trails 589
4075 Orchard Ave
Ogden, Ut 84403


Lds South Ogden 4Th Ward
South Ogden Stake
Trapper Trails 589
4075 Orchard Ave
South Ogden, Ut 84403


Lds South Ogden 5Th Ward
South Ogden Stake
Trapper Trails 589
4380 Orchard Ave
South Ogden, Ut 84403


Lds South Ogden 6Th Ward
South Ogden Stake
Trapper Trails 589
4380 Orchard Ave
South Ogden, Ut 84403


Lds South Ogden 7Th Ward
South Ogden Stake
Trapper Trails 589
720 Nancy Dr
South Ogden, Ut 84403


Lds South Ogden 8Th Ward
South Ogden Stake
Trapper Trails 589
720 Nancy Dr
South Ogden, Ut 84403


Lds South Ogden 9Th Ward
South Ogden Stake
Trapper Trails 589
3755 Porter Ave
South Ogden, Ut 84403


Lds South Pass Ward
Utah National Parks 591
6918 N Mohawk St
Eagle Mountain, UT 84005


Lds South Pointe Ward Carnegie Stake
Las Vegas Area Council 328
2901 Wigwam Pkwy
Henderson, NV 89074


Lds South Valley View Ward
Utah National Parks 591
25 W Apple Blossom Way
Salem, UT 84653
Lds South Weber 1St Ward
South Weber Stake
Trapper Trails 589
1401 E S Weber Dr
South Weber, Ut 84405


Lds South Weber 2Nd Ward
South Weber Stake
Trapper Trails 589
1814 E 7775 S
South Weber, Ut 84405


Lds South Weber 3Rd Ward
South Weber Stake
Trapper Trails 589
7989 S 2250 E
South Weber, Ut 84405


Lds South Weber 4Th Ward
South Weber Stake
Trapper Trails 589
2620 E 8200 S
South Weber, Ut 84405


Lds South Weber 5Th Ward
South Weber Stake
Trapper Trails 589
2620 E 8200 S
South Weber, Ut 84405


Lds South Weber 6Th Ward
South Weber Stake
Trapper Trails 589
2620 E 8200 S
South Weber, Ut 84405


Lds South Weber 7Th Ward
South Weber Stake
Trapper Trails 589
1401 E S Weber Dr
South Weber, Ut 84405
Lds South Weber 8Th Ward
South Weber Stake
Trapper Trails 589
1401 E S Weber Dr
South Weber, Ut 84405


Lds Southern Highlands Ward South Stake
Las Vegas Area Council 328
11216 Crosseto Dr
Las Vegas, NV 89141


Lds Southfield Ward
Bloomfield Hills Stake
Great Lakes Fsc 272
23190 W 9 Mile Rd
Southfield, Mi 48033


Lds Southgate Second Ward
Utah National Parks 591
1068 W Chandler Dr
St George, UT 84770


Lds Southgate Third Ward
Utah National Parks 591
1068 W Chandler Dr
St. George, UT 84770


Lds Southgate Ward
Utah National Parks 591
1068 W Chandler Dr
Saint George, UT 84770


Lds Southglenn Ward, Littleton Stake
Denver Area Council 061
1939 E Eer Ave
Littleton, CO 80122


Lds Southington Ward New Haven Stake
Connecticut Yankee Council Bsa 072
750 Meriden Waterbury Tpke
Southington, CT 06489
Lds Southlake 1St Ward
Colleyville Stake
Longhorn Council 662
1143 Butterfield Dr
Grapevine, Tx 76051


Lds Southlake 2Nd Ward
Colleyville Stake
Longhorn Council 662
500 W Mcdonwell School Rd
Colleyville, Tx 76034


Lds Southlands Ward, Arapahoe Stake
Denver Area Council 061
7405 S Addison Ct
Aurora, CO 80015


Lds Southmoor Ward
Utah National Parks 591
4388 E Inverness
Eagle Mountain, UT 84005


Lds Southridge Ward
Denver Area Council 061
4195 E Wildcat Reserve Pkwy
Highlands Ranch, CO 80126


Lds Southslope Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
1101 E 2nd St
Emmett, ID 83617


Lds Southworth Ward Bremerton Stake
Chief Seattle Council 609
3877 SE Mullenix Rd
Port Orchard, WA 98367


Lds Spanish Branch
East Texas Area Council 585
2401 N Broadway Ave
Tyler, TX 75702
Lds Spanish Branch Mcminnville Stake
Cascade Pacific Council 492
700 Ash St
Dayton, OR 97114


Lds Spanish Fields First Ward
Utah National Parks 591
347 S 1230 W
Spanish Fork, UT 84660


Lds Spanish Fields Second Ward
Utah National Parks 591
485 W Center St
Spanish Fork, UT 84660


Lds Spanish Fork Canyon Ward
Utah National Parks 591
3477 E River Bottoms Rd
Spanish Fork, UT 84660


Lds Spanish Fork Eighth Ward
Utah National Parks 591
1006 E 200 N
Spanish Fork, UT 84660


Lds Spanish Fork Eleventh Ward
Utah National Parks 591
505 E 900 N
Spanish Fork, UT 84660


Lds Spanish Fork Fifth Ward
Utah National Parks 591
1006 E 200 N
Spanish Fork, UT 84660


Lds Spanish Fork First Ward
Utah National Parks 591
310 E Center St
Spanish Fork, UT 84660


Lds Spanish Fork Fourteenth Ward
Utah National Parks 591
1750 E 750 S
Spanish Fork, UT 84660


Lds Spanish Fork Fourth Ward
Utah National Parks 591
353 E 400 N
Spanish Fork, UT 84660


Lds Spanish Fork Nineteenth Ward
Utah National Parks 591
662 W 520 N
Spanish Fork, UT 84660


Lds Spanish Fork Ninth Ward
Utah National Parks 591
6300 Del Monte Rd
Spanish Fork, UT 84660


Lds Spanish Fork Second Ward
Utah National Parks 591
541 W Center St
Spanish Fork, UT 84660


Lds Spanish Fork Seventeenth Ward
Utah National Parks 591
681 S 1550 E
Spanish Fork, UT 84660


Lds Spanish Fork Seventh Ward
Utah National Parks 591
761 E 400 N
Spanish Fork, UT 84660


Lds Spanish Fork Sixteenth Ward
Utah National Parks 591
505 E 900 N
Spanish Fork, UT 84660


Lds Spanish Fork Sixth Ward
Utah National Parks 591
291 W 700 N
Spanish Fork, UT 84660


Lds Spanish Fork Tenth Ward
Utah National Parks 591
358 N 400 E
Spanish Fork, UT 84660


Lds Spanish Fork Third Ward
Utah National Parks 591
360 N 650 W
Spanish Fork, UT 84660


Lds Spanish Fork Twelfth Ward
Utah National Parks 591
370 Scenic Dr
Spanish Fork, UT 84660


Lds Spanish Fork Twenty 1st Br
Tongan Ward
Utah National Parks 591
1750 W 5000 S
Palmyra, Ut 84660


Lds Spanish Fork Twenty Fourth Branch
Utah National Parks 591
490 S Main St
Spanish Fork, UT 84660


Lds Spanish Fork Twenty Second Ward
Utah National Parks 591
911 E 300 N
Spanish Fork, UT 84660


Lds Spanish Highlands Second Ward
Utah National Parks 591
281 N 2470 E
Spanish Fork, UT 84660


Lds Spanish Highlands Third Ward
Utah National Parks 591
363 N 2040 E
Spanish Fork, UT 84660
Lds Spanish Highlands Ward
Utah National Parks 591
2188 E 100 S
Spanish Fork, UT 84660


Lds Spanish Hills Ward Spg Mtn Stake
Las Vegas Area Council 328
9580 Peace Way
Las Vegas, Nv 89147


Lds Spanish Oaks Ward
Utah National Parks 591
1671 Stony View Dr
Spanish Fork, UT 84660


Lds Spanish Peak Ward
Utah National Parks 591
1750 E 750 S
Spanish Fork, UT 84660


Lds Spanish Ridge Ward
Utah National Parks 591
989 S 2550 E
Spanish Fork, UT 84660


Lds Spanish Springs Ward
Sparks East Stake
Nevada Area Council 329
570 E 4Th Ave
Sun Valley, Nv 89433


Lds Spanish Trails Ward    Cedar Breaks
Utah National Parks 591
3600 N Minersville Hwy
Enoch, UT 84721


Lds Spanish Trails Ward    Sp F
Utah National Parks 591
452 N 560 W
Spanish Fork, UT 84660
Lds Spanish Vista Ward Sp Fork
Utah National Parks 591
1167 S 1700 E
Spanish Fork, UT 84660


Lds Sparkman Ward, Huntsville Stake
Greater Alabama Council 001
1804 Sparkman Dr Nw
Huntsville, AL 35816


Lds Sparta Sparta Ward Morristown
Patriots Path Council 358
195 Pinkneyville Rd
Sparta, NJ 07871


Lds Special Needs Cache Valley
Logan South Stake
Trapper Trails 589
344 W 700 S
Logan, Ut 84321


Lds Spencer Ward Sioux City Stake
Mid‐America Council 326
1701 11th Ave W
Spencer, IA 51301


Lds Spg Creek Ninteenth Br    Spanish
Utah National Parks 591
55 N Main St
Springville, Ut 84663


Lds Spg Gulch Ward
Highlands Ranch Stake
Denver Area Council 061
9800A Foothills Canyon Blvd
Highlands Ranch, Co 80129


Lds Spgfield 1St Ward Spgfield Stake
Oregon Trail Council 697
1155 President St
Eugene, Or 97401
Lds Spgfield 2Nd Ward Spgfield Stake
Oregon Trail Council 697
1533 Market St
Springfield, Or 97477


Lds Spgfield 3Rd Ward Spgfield Stake
Oregon Trail Council 697
525 66Th St
Springfield, Or 97478


Lds Spgfield 4Th Ward Spgfield Stake
Oregon Trail Council 697
525 66Th St
Springfield, Or 97478


Lds Spgfield 5Th Ward Spgfield Stake
Oregon Trail Council 697
525 66Th St
Springfield, Or 97478


Lds Spgfield Ward
Dayton Ohio East Stake    Does
Tecumseh 439
4400 Derr Rd
Springfield, Oh 45503


Lds Split Mountain Ward
Utah National Parks 591
P.O. Box 790206
Vernal, UT 84079


Lds Spotsylvania Ward
Fredericksburg Stake
National Capital Area Council 082
5600 Smith Station Rd
Fredericksburg, Va 22407


Lds Spring City First Ward
Utah National Parks 591
P.O. Box 306
15000 N Hwy 117
Spring City, UT 84662
Lds Spring City Second Ward
Utah National Parks 591
164 S Main St
Spring City, UT 84662


Lds Spring Creek 1St Ward
Elko East Stake
Nevada Area Council 329
77 Spring Creek Pkwy
Spring Creek, Nv 89815


Lds Spring Creek 2Nd Ward
Elko East Stake
Nevada Area Council 329
234 Boyd Kennedy Rd
Spring Creek, Nv 89815


Lds Spring Creek 3Rd Ward
Elko East Stake
Nevada Area Council 329
77 Spring Creek Pkwy
Spring Creek, Nv 89815


Lds Spring Creek 4Th Ward
Elko East Stake
Nevada Area Council 329
234 Boyd Kennedy Rd
Spring Creek, Nv 89815


Lds Spring Creek 5Th Ward
Elko East Stake
Nevada Area Council 329
234 Boyd Kennedy Rd
Spring Creek, Nv 89815


Lds Spring Creek Eighteenth Ward
Utah National Parks 591
226 E 1075 N
Springville, UT 84663


Lds Spring Creek Eighth Ward
Utah National Parks 591
189 E 1400 N
Springville, UT 84663


Lds Spring Creek Fifteenth Ward
Utah National Parks 591
876 N 500 E
Springville, UT 84663


Lds Spring Creek Fifth Ward
Utah National Parks 591
860 E 200 N
Springville, UT 84663


Lds Spring Creek First Ward
Utah National Parks 591
860 E 200 N
Springville, UT 84663


Lds Spring Creek Fourteenth Ward
Utah National Parks 591
672 W 250 N
Springville, UT 84663


Lds Spring Creek Fourth Ward
Utah National Parks 591
350 E 400 N
Springville, UT 84663


Lds Spring Creek Ninth Ward
Utah National Parks 591
355 E, Center St
Springville, UT 84663


Lds Spring Creek Second Ward
Utah National Parks 591
350 N 400 E
Springville, UT 84664


Lds Spring Creek Seventeenth
Utah National Parks 591
760 N 400 E
Springville, UT 84663


Lds Spring Creek Seventh Ward
Utah National Parks 591
400 N 400 E
Springville, UT 84663


Lds Spring Creek Sixth Ward
Utah National Parks 591
225 N 1170 E
Springville, UT 84663


Lds Spring Creek Tenth Ward
Utah National Parks 591
672 N 250 W
Springville, UT 84663


Lds Spring Creek Third Ward
Utah National Parks 591
55 N Main St
Springville, UT 84663


Lds Spring Creek Thirteenth Ward
Utah National Parks 591
760 N 400 E
Springville, UT 84663


Lds Spring Creek Twelveth Ward
Utah National Parks 591
235 E 550 N
Springville, UT 84663


Lds Spring Creek Twentieth Ward
Utah National Parks 591
1028 W 550 N
Springville, UT 84663


Lds Spring Creek Twenty First
Utah National Parks 591
821 W 225 S
Springville, UT 84663
Lds Spring Creek Ward
Houston North Stake
Sam Houston Area Council 576
25023 Nampton Forest Dr
Spring, Tx 77389


Lds Spring Creek Ward/Montrose Stake
Denver Area Council 061
21004 Uncompahgre Rd
Montrose, CO 81403


Lds Spring Glen Ward
Utah National Parks 591
150 Ridgeway St
Helper, UT 84526


Lds Spring Haven Ward
Syracuse South Stake
Trapper Trails 589
3065 S Bluff Rd
Syracuse, Ut 84075


Lds Spring Haven Ward
Utah National Parks 591
200 N Center St
Lehi, UT 84043


Lds Spring Hill Ward Lebanon Stake
Cascade Pacific Council 492
2850 Grand Prairie Rd Se
Albany, OR 97322


Lds Spring Hollow First Ward
Utah National Parks 591
688 W 500 N
American Fork, UT 84003


Lds Spring Hollow Second Ward
Utah National Parks 591
986 W Sunrise Ln
American Fork, UT 84003
Lds Spring Lake Fifth Ward
Utah National Parks 591
448 W 1500 S
Payson, UT 84651


Lds Spring Lake First Ward
Utah National Parks 591
12625 S Spring Lake Rd
Payson, UT 84651


Lds Spring Lake Fourth Ward
Utah National Parks 591
1655 S 500 W
Payson, UT 84651


Lds Spring Lake Third Ward
Utah National Parks 591
1404 S 500 W
Payson, UT 84651


Lds Spring Lake Ward
Grand Rapids Stake
President Gerald R Ford 781
18975 168Th Ave
Spring Lake, Mi 49456


Lds Spring Lakes Ward Oakton Stake
National Capital Area Council 082
1515 Poplar Grove Dr
Reston, VA 20194


Lds Spring Meadow Ward
Utah National Parks 591
136 W Summerhill Dr
Saratoga Springs, UT 84045


Lds Spring Run Ward
Utah National Parks 591
3318 E Ox Brg
Eagle Mountain, UT 84005
Lds Spring Trails Ward
The Woodlands Stake
C/O Bishop Regan Howell
Sam Houston Area Council 576
3591 Discovery Creek Lane
Spring, Tx 77386


Lds Spring Valley Ward Lakes Stake
Las Vegas Area Council 328
4545 New Forest Dr
Las Vegas, NV 89147


Lds Springdale Ward
Utah National Parks 591
P.O. Box 46
Springdale, UT 84767


Lds Springdale Ward Springdale Stake
Westark Area Council 016
6738 Lynchs Prairie Cv
Springdale, AR 72762


Lds Springfield 1St Ward 2280Th Stake
Abraham Lincoln Council 144
5105 Johanne Ct
Springfield, IL 62711


Lds Springfield 2Nd Ward 2280Th Stake
Abraham Lincoln Council 144
4225 Buckeye Dr
Springfield, IL 62707


Lds Springfield Ward
Western Massachusetts Council 234
376 Maple St
Springfield, MA 01105


Lds Springfield Ward Annandale Stake
National Capital Area Council 082
6942 Sydenstricker Rd
Springfield, VA 22152
Lds Springs Ward
Utah National Parks 591
503 N 1275 W
St George, UT 84770


Lds Springtown Ward
Longhorn Council 662
1010 Timberoaks Dr
Azle, TX 76020


Lds Springville Eighth Ward
Utah National Parks 591
245 S 600 E
Springville, UT 84663


Lds Springville Fifth Ward
Utah National Parks 591
245 S 600 E
Springville, UT 84663


Lds Springville First Ward
Utah National Parks 591
245 S 600 E
Springville, UT 84663


Lds Springville Fourth Ward
Utah National Parks 591
966 W Center St
Springville, UT 84663


Lds Springville Ninth
c/o Bp. Scott Ashcraft
Utah National Parks 591
497 W 200 S
Springville, UT 84663


Lds Springville Second Ward
Utah National Parks 591
1785 E 400 S
Springville, UT 84663


Lds Springville Seventh Ward
Utah National Parks 591
1785 E 400 S
Springville, UT 84663


Lds Springville Sixth Ward
Utah National Parks 591
1785 E 400 S
Springville, UT 84663


Lds Springville Third Ward
Utah National Parks 591
355 E Center St
Springville, UT 84663


Lds Springville Ward Cedar Mill Stake
Cascade Pacific Council 492
19180 NW W Union Rd
Hillsboro, OR 97124


Lds St Anthony Stake
St Anthony 1St Ward
Grand Teton Council 107
230 N 7Th E
Saint Anthony, Id 83445


Lds St Anthony Stake
St Anthony 2Nd Ward
Grand Teton Council 107
330 E 1St N
Saint Anthony, Id 83445


Lds St Anthony Stake
St Anthony 3Rd Ward
Grand Teton Council 107
507 W 2Nd N
Saint Anthony, Id 83445


Lds St Anthony Stake
St Anthony 4Th Ward
Grand Teton Council 107
507 W 2Nd. N.
St Anthony, Id 83445
Lds St Anthony Stake
Twin Groves 2Nd Ward
Grand Teton Council 107
465 N 2700 E
Saint Anthony, Id 83445


Lds St Anthony Stake ‐ Egin Bench Ward
Grand Teton Council 107
1633 E 400 N
Saint Anthony, ID 83445


Lds St Anthony Stake ‐ Parker 1St Ward
Grand Teton Council 107
480 N 2000 E
Saint Anthony, ID 83445


Lds St Anthony Stake ‐ Parker 2Nd Ward
Grand Teton Council 107
132 N Center St
Saint Anthony, ID 83445


Lds St Anthony Stake ‐ Twin Groves Ward
Grand Teton Council 107
247 E 4 N
Saint Anthony, ID 83445


Lds St Anthony Stake ‐ Wilford 1St Ward
Grand Teton Council 107
215 N 2400 E
Saint Anthony, ID 83445


Lds St Anthony Stake ‐ Wilford 2Nd Ward
Grand Teton Council 107
2353 E 200 N
Saint Anthony, ID 83445


Lds St Cloud Hunters Creek
Central Florida Council 083
2821 Old Canoe Creek Rd
Saint Cloud, FL 34772
Lds St Cloud Stake ‐ Hutchinson Branch
Northern Star Council 250
770 School Rd Nw
Hutchinson, MN 55350


Lds St Cloud Stake ‐ Willmar Branch
Northern Star Council 250
300 26th Ave Ne
Willmar, MN 56201


Lds St George Eighth Ward
Utah National Parks 591
166 S Main St
St George, UT 84770


Lds St George Fifth Ward
Utah National Parks 591
85 S 400 E
St George, UT 84770


Lds St George First Ward
Utah National Parks 591
591 W 500 N
St. George, UT 84770


Lds St George Fourth Ward
Utah National Parks 591
449 S 300 E
St George, UT 84770


Lds St George Ninth Ward
Utah National Parks 591
550 E 700 S
St George, UT 84770


Lds St George Second Ward
Utah National Parks 591
166 S Main St
St George, UT 84770


Lds St George Seventeenth Ward
Utah National Parks 591
200 W 500 N
St George, UT 84770


Lds St George Seventh Ward
Utah National Parks 591
449 S 300 E
St George, UT 84770


Lds St George Sixteenth Ward
Utah National Parks 591
550 E 700 S
St George, UT 84770


Lds St George Sixth Ward
Utah National Parks 591
85 S 400 E
St George, UT 84770


Lds St George Sunset Ninth Br   Spanish
Utah National Parks 591
750 N 1000 W
St. George, Ut 84770


Lds St George Tenth Ward
Utah National Parks 591
591 W 500 N
St. George, UT 84770


Lds St George Third Ward
Utah National Parks 591
200 W 500 N
St George, UT 84770


Lds St George Twelfth Ward
Utah National Parks 591
156 E 500 S
St George, UT 84770


Lds St George Twenty Eighth Branch
Utah National Parks 591
2422 S River Rd, Unit 3
St George, UT 84790
Lds St Helens First Ward Rainier Stake
Cascade Pacific Council 492
2755 Sykes Rd
Saint Helens, OR 97051


Lds St Helens Second Ward Rainier Stake
Cascade Pacific Council 492
2755 Sykes Rd
Saint Helens, OR 97051


Lds St James Ward
Utah National Parks 591
1095 Saint James Ln
St George, UT 84790


Lds St Johns Branch ‐ Lansing Stake
Water and Woods Council 782
300 E Townsend Rd
Saint Johns, MI 48879


Lds St Johns Ward Portland Stake
Cascade Pacific Council 492
5620 N Bowdoin St
Portland, OR 97203


Lds St Johns Ward Vancouver West Stake
Cascade Pacific Council 492
9728 NE 50th Ave
Vancouver, WA 98665


Lds St Joseph Ward ‐ Kalamazoo Stake
Southern Shores Fsc 783
3653 Niles Ave
St. Joseph, MI 49085


Lds St Paul Stake ‐ Blaine Ward
Northern Star Council 250
100 Silver Lake Rd Nw
New Brighton, MN 55112
Lds St Paul Stake ‐ New Brighton Ward
Northern Star Council 250
100 Silver Lake Rd Nw
New Brighton, MN 55112


Lds St Paul Stake ‐ North St Paul Ward
Northern Star Council 250
2335 Edgerton St
Little Canada, MN 55117


Lds St Paul Stake ‐ Shoreview Ward
Northern Star Council 250
3143 Brookshire Ln
New Brighton, MN 55112


Lds St Paul Stake ‐ West St Paul Ward
Northern Star Council 250
3645 Bailey Ridge Ct
Woodbury, MN 55125


Lds St Rose Ward Carnegie Stake
Las Vegas Area Council 328
2901 Wigwam
Henderson, NV 89074


Lds Stafford Br Spn
Stafford Virginia Stake
National Capital Area Council 082
1399 Courthouse Rd
Stafford, Va 22554


Lds Stafford Ward Lake Oswego Stake
Cascade Pacific Council 492
4990 SW Saum Way
Tualatin, OR 97062


Lds Stallion Mountain Ward East Stake
Las Vegas Area Council 328
2285 Tree Line Dr
Las Vegas, NV 89142


Lds Stamford 1 Ward Yorktown Stake
Connecticut Yankee Council Bsa 072
834 Stillwater Rd
Stamford, CT 06902


Lds Stanley Ward Olathe Stake
Heart of America Council 307
13025 Wornall Rd
Kansas City, MO 64145


Lds Stanwood Ward Mt Vernon Stake
Mount Baker Council, Bsa 606
745 Ell Rd
Camano Island, WA 98282


Lds Star 2Nd Ward‐Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
9400 W Floating Feather Rd
Star, ID 83669


Lds Star 3Rd Ward‐Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
484 S Main St
Star, ID 83669


Lds Star 4Th Ward ‐ Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
497 N Lyngate Pl
Star, ID 83669


Lds Star 5Th Ward‐Star Stake
Ore‐Ida Council 106 ‐ Bsa 106
1375 N Star Rd
Star, ID 83669


Lds Star Heights Ward Rio Rancho Stake
Great Swest Council 412
2807 Cabezon Blvd Se
Rio Rancho, NM 87124


Lds Star Ward‐Star Stk
Ore‐Ida Council 106 ‐ Bsa 106
484 S Main St
Star, ID 83669


Lds Stayton Ward Salem Stake
Cascade Pacific Council 492
1400 Wern Ave
Stayton, OR 97383


Lds Stead Ward ‐ Reno North Stake
Nevada Area Council 329
8080 Lemmon Dr
Reno, NV 89506


Lds Steeplechase Ward Tule Springs Stake
Las Vegas Area Council 328
8305 Fulton Ranch St
Las Vegas, NV 89131


Lds Stephenville Ward
Weatherford Stake
Longhorn Council 662
145 County Rd 260
Dublin, Tx 76446


Lds Sterling Hts Ward
Bloomfield Hills Stake
Great Lakes Fsc 272
2784 Square Lake Rd
Troy, Mi 48098


Lds Sterling Park Ward Ashburn Stake
National Capital Area Council 082
22066 Cir Dr
Sterling, VA 20164


Lds Sterling Park Ward Oakton Stake
National Capital Area Council 082
22066 Cir Dr
Sterling, VA 20164


Lds Sterling Ridge Ward South Stake
Las Vegas Area Council 328
9485 S Cimarron
Las Vegas, NV 89178


Lds Sterling Ward
Utah National Parks 591
P.O. Box 650066
Sterling, UT 84665


Lds Stetson Hills Ward‐High Plains Stake
Pikes Peak Council 060
5485 Hopalong Trl
Colorado Springs, CO 80922


Lds Stevens Creek Ward
Augusta Georgia Stake
Georgia‐Carolina 093
835 N Belair Rd
Evans, Ga 30809


Lds Stevens Creek Ward ‐ Saratoga Stake
Silicon Valley Monterey Bay 055
10270 S Stelling Rd
Cupertino, CA 95014


Lds Stevens Point Ward‐Wausau Stake
Samoset Council, Bsa 627
5431 Golla Rd
Stevens Point, WI 54482


Lds Stevenson Ward The Dalles Stake
Cascade Pacific Council 492
P.O. Box 71
1201 Loop Rd
Stevenson, WA 98648


Lds Stevensville 1St Wd
Stevensville Stake
Montana Council 315
100 Middle Burnt Fork Rd
Stevensville, Mt 59870


Lds Stevensville 2Nd Wd
Stevensville Stake
Montana Council 315
100 Middle Burnt Fork Rd
Stevensville, Mt 59870


Lds Stewart Place Ward Central Stake
Las Vegas Area Council 328
375 N Hollywood Blvd
Las Vegas, NV 89110


Lds Still Water Ward
Syracuse South Stake
Trapper Trails 589
3824 S 600 W
Syracuse, Ut 84075


Lds Stillaguamish Ward Arlington Stake
Mount Baker Council, Bsa 606
8415 Arlington Heights Rd
Arlington, WA 98223


Lds Stillwater Ward
Utah National Parks 591
341 W Shadow Ridge Dr
Saratoga Springs, UT 84045


Lds Stockbridge Ward Conyers Ga Stake
Flint River Council 095
3355 Georgia 155 N
Stockbridge, GA 30281


Lds Stockdale Ward, Bakersfield Stake
Southern Sierra Council 030
601 Deseret Way
Bakersfield, CA 93309


Lds Stockton Hill Ward Kingman Stake
Las Vegas Area Council 328
2033 Will Rogers Way
Kingman, AZ 86409


Lds Stone Creek Ward
Layton South Stake
Trapper Trails 589
505 S 1000 W
Layton, Ut 84041


Lds Stone Mtn Ward Elkhorn Spgs Stake
Las Vegas Area Council 328
7500 Tule Springs Rd
Las Vegas, Nv 89131


Lds Stonebridge Ward
Utah National Parks 591
82 N Dixie Dr
St. George, UT 84770


Lds Stonebridge Ward
Utah National Parks 591
8512 N Stonebridge Ln
Eagle Mountain, UT 84005


Lds Stonecliff Ward Boulder Ridge
Utah National Parks 591
1762 S River Rd
St. George, UT 84790


Lds Stonegate Ward
Denver Area Council 061
15878 Haseley Dr
Parker, CO 80134


Lds Stonegate Ward Warm Springs Stake
Las Vegas Area Council 328
7670 S Bruce St
Las Vegas, NV 89123


Lds Stonehedge First
Utah National Parks 591
3795 S Camden Dr
Washington, UT 84780


Lds Stonewood First Ward
Utah National Parks 591
575 W 400 S
Orem, UT 84058


Lds Stonewood Fourth
Utah National Parks 591
450 S 100 W
Orem, UT 84058


Lds Stonewood Second Ward
Utah National Parks 591
242 W 700 S
Orem, UT 84058


Lds Stonewood Third
Utah National Parks 591
450 S 100 W
Orem, UT 84058


Lds Stony Point Ward
Redwood Empire Council 041
1550 Npoint Pkwy
Santa Rosa, CA 95407


Lds Stony Point Ward Round Rock E Stake
Capitol Area Council 564
2400 N A. W Grimes Blvd
Round Rock, Tx 78665


Lds Storm Lake Branch Sioux City Stake
Mid‐America Council 326
712 Hwy 110
Stormlake, IA 50588


Lds Strasburg Ward, Aurora Stake
Denver Area Council 061
P.O. Box 869
55726 E Wolf Creek Dr
Strasburg, CO 80136


Lds Stuart Ward Stuart Stake
Gulf Stream Council 085
2401 SW Matheson Ave
Palm City, FL 34990
Lds Stuart Ward Stuart Stake
Gulf Stream Council 085
4426 SW Long Bay Dr
Palm City, FL 34990


Lds Sturgeon Bay Br Green Bay Wi Stake
Bay‐Lakes Council 635
821 Fremont St
Algoma, Wi 54201


Lds Sturgis Ward ‐ Kalamazoo Stake
Southern Shores Fsc 783
1111 N Galyn St
Sturgis, MI 49091


Lds Sugar City Stake
Heritage Park Ward
Grand Teton Council 107
6 N Teton Ave
Sugar City, Id 83448


Lds Sugar City Stake ‐ Newdale Ward
Grand Teton Council 107
350 Church St
Newdale, ID 83436


Lds Sugar City Stake ‐ Ponderosa Ward
Grand Teton Council 107
8 E Peterson Ln
Sugar City, ID 83448


Lds Sugar City Stake ‐ South Fork Ward
Grand Teton Council 107
1204 N 3000 E
Sugar City, ID 83448


Lds Sugar City Stake ‐ Sugar 2Nd Ward
Grand Teton Council 107
P.O. Box 472
6 N Teton Ave
Sugar City, ID 83448
Lds Sugar City Stake ‐ Sugar 4Th Ward
Grand Teton Council 107
6 N Teton Ave
Sugar City, ID 83448


Lds Sugar City Stake ‐ Teton 1St Ward
Grand Teton Council 107
1732 N 5000 E
Sugar City, ID 83448


Lds Sugar City Stake ‐ Teton 2Nd Ward
Grand Teton Council 107
44 W Main
Teton, ID 83451


Lds Sugar City Stake ‐ Teton Island Ward
Grand Teton Council 107
792 S 7th W
Sugar City, ID 83448


Lds Sugar Creek Ward Rogers Stake
Westark Area Council 016
1101 NE Mccollum Dr
Bentonville, AR 72712


Lds‐ Sugar Hill Stake‐ Laurel Spgs Ward
Northeast Georgia Council 101
510 Brannon Rd
Cumming, Ga 30041


Lds Sugar Land 1St Ward
Houston South Stake
Sam Houston Area Council 576
14555 Lexington Blvd
Sugar Land, Tx 77478


Lds Sugar Land 2Nd Ward
Houston South Stake
Sam Houston Area Council 576
14555 Lexington Blvd
Sugar Land, Tx 77478
Lds Sullivan Hollow 1St Ward
Weber Heights Stake
Trapper Trails 589
976 33Rd St
Ogden, Ut 84403


Lds Sullivan Hollow 2Nd Ward
Weber Heights Stake
Trapper Trails 589
976 33Rd St
Ogden, Ut 84403


Lds Sulphur Springs Branch
Gilmer Tx Stake
Circle Ten Council 571
1701 E Loop 301
Sulphur Springs, Tx 75482


Lds Sulphur Springs Branch
Gilmer Tx Stake
Circle Ten Council 571
1701 Loop 301 E
Sulphur Springs, Tx 75482


Lds Sulphur Well Branch
Lincoln Heritage Council 205
411 Cedar Top Rd
Edmonton, KY 42129


Lds Sultan Ward Snohomish Stake
Mount Baker Council, Bsa 606
14415 369th Ave Se
Startup, WA 98293


Lds Summerfield Ward
Old N State Council 070
3719 Pinetop Rd
Greensboro, NC 27410


Lds Summergrove Ward Fayetteville Stake
Flint River Council 095
821 Old Atlanta Hwy
Newnan, GA 30263


Lds Summerhill Ward
Utah National Parks 591
2471 S Honeysuckle Dr
Saratoga Springs, UT 84045


Lds Summerlake Ward Beaverton Stake
Cascade Pacific Council 492
11065 SW N Dakota St
Tigard, OR 97223


Lds Summerlin Ward Red Rock Stake
Las Vegas Area Council 328
9011 Hillpointe Rd
Las Vegas, NV 89134


Lds Summerset Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
2650 S Five Mile Rd
Boise, ID 83709


Lds Summerville Third Ward
Coastal Carolina Council 550
511 E 5th N St
Summerville, SC 29483


Lds Summerville Ward Charleston Stake
Coastal Carolina Council 550
122 Ashley River Dr
Summerville, SC 29485


Lds Summerville Ward Charleston Stake
Coastal Carolina Council 550
2100 Bacons Bridge Rd
Summerville, SC 29485


Lds Summerwind Ward‐Mer E Stk
Ore‐Ida Council 106 ‐ Bsa 106
11443 Mcmillan Rd
Boise, ID 83713
Lds Summit Ridge First Ward
Utah National Parks 591
591 Summit Ridge Pkwy
Santaquin, UT 84655


Lds Summit Ridge Second Ward
Utah National Parks 591
1393 Cedar Pass Dr
Santaquin, UT 84655


Lds Summit Ridge Third Ward
Utah National Parks 591
591 Summit Ridge Pkwy
Santaquin, UT 84655


Lds Summit Ridge Ward ‐ Reno North Stake
Nevada Area Council 329
2505 Kings Row
Reno, NV 89503


Lds Summit Ward
Indian Waters Council 553
2350 White Pine Rd
Columbia, SC 29223


Lds Summit Ward
Utah National Parks 591
4561 Buckboard St
Eagle Mountain, UT 84005


Lds Summit Ward
Utah National Parks 591
4574 Windsor Dr
Provo, UT 84604


Lds Summit Ward
Utah National Parks 591
51 E Main
Summit, UT 84772
Lds Summit Ward Anthem Hills Stake
Las Vegas Area Council 328
875 Rich Perez Jr Dr
Henderson, NV 89052


Lds Summitview Ward/Yakima Stake
Grand Columbia Council 614
705 S 38th Ave
Yakima, WA 98902


Lds Sun Prairie Ward
Glaciers Edge Council 620
6651 Prairie View Dr
Sun Prairie, WI 53590


Lds Sun Prairie Ward
Glaciers Edge Council 620
N6883 Cty Hwy N
Sun Prairie, WI 53590


Lds Sun Rise Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
3020 W Cherry Ln
Boise, ID 83705


Lds Sun River Vly Wd, Great Falls Stake
Montana Council 315
845 Us Hwy 89
Sun River, Mt 59483


Lds Sun Valley Ward ‐ Sparks West Stake
Nevada Area Council 329
5875 Sonora Pass Dr
Sparks, NV 89436


Lds Sun Valley Ward Paradise Stake
Las Vegas Area Council 328
5100 Sun Valley Dr
Las Vegas, NV 89122


Lds Sunbow Ward
Utah National Parks 591
2015 N Wedgewood Ln
Cedar City, UT 84721


Lds Suncrest Eighth Ward    Spanish
Utah National Parks 591
891 W 130 N
Orem, UT 84058


Lds Suncrest Fifth Ward
Utah National Parks 591
140 N 400 W
Orem, UT 84057


Lds Suncrest First Ward
Utah National Parks 591
171 N 920 W
Orem, UT 84057


Lds Suncrest First Ward    Alpine
Utah National Parks 591
1895 E Aspen Leaf Pl
Draper, UT 84020


Lds Suncrest Ninth Ward
Utah National Parks 591
140 N 400 W
Orem, UT 84057


Lds Suncrest Second Alpine
Utah National Parks 591
14977 S Round Tree Lane
Draper, UT 84020


Lds Suncrest Second Ward    Orem
Utah National Parks 591
223 W Garden Park
Orem, UT 84057


Lds Suncrest Sixth Ward
Utah National Parks 591
48 N 970 W
Orem, UT 84057
Lds Suncrest Tenth Ward
Utah National Parks 591
90 N 600 W
Orem, UT 84057


Lds Suncrest Third Ward
Utah National Parks 591
1601 E Amber Crest Ln
Draper, UT 84020


Lds Suncrest Third Ward
Utah National Parks 591
63 N 850 W
Orem, UT 84057


Lds Sundance Ward
Utah National Parks 591
7781 N Sparrowhawk Way
Eagle Mountain, UT 84005


Lds Sundance Ward‐Mer Stk
Ore‐Ida Council 106 ‐ Bsa 106
431 E Moskee St
Meridian, ID 83646


Lds Sunland Ward
Verdugo Hills Council 058
7955 Hillrose St
Sunland, CA 91040


Lds Sunny Ridge First Ward
Utah National Parks 591
1368 E 175 N
Spanish Fork, UT 84660


Lds Sunny Ridge Second Ward
Utah National Parks 591
2200 E 100 S
Spanish Fork, UT 84660
Lds Sunny Ridge Third Ward
Utah National Parks 591
332 N 1430 E
Spanish Fork, UT 84660


Lds Sunnyside Ward/Moscow Stake
Inland Nwest Council 611
2701 Klemgard Rd
Pullman, WA 99163


Lds Sunnyside Ward/Yakima Stake
Grand Columbia Council 614
2020 Scoon Rd
Sunnyside, WA 98944


Lds Sunnyvale Ward, Los Altos Stake
Pacific Skyline Council 031
771 W Fremont Ave
Sunnyvale, CA 94087


Lds Sunrise Meadows First Ward    Lehi
Utah National Parks 591
947 Jack Rabbit Run
Saratoga Springs, UT 84045


Lds Sunrise Meadows Second Ward
Utah National Parks 591
882 N Joshua Dr
Saratoga Springs, UT 84045


Lds Sunrise Meadows Third Ward
Utah National Parks 591
642 N Fox Cir
Saratoga Springs, UT 84045


Lds Sunrise Mountain Ward Sunrise Stake
Las Vegas Area Council 328
1825 N Hollywood Blvd
Hollywood and Kell
Las Vegas, NV 89156


Lds Sunrise Ridge Ward
West Richland Stake
Blue Mountain Council 604
3701 Watkins Way
West Richland, Wa 99353


Lds Sunrise Terrace Ward
N Las Vegas Stake
Las Vegas Area Council 328
2295 N Walnut Rd
Las Vegas, Nv 89115


Lds Sunset Eleventh Ward
Utah National Parks 591
1464 S 810 W
Provo, UT 84601


Lds Sunset Fifth Ward
Utah National Parks 591
1505 S 620 W
Provo, UT 84601


Lds Sunset First Ward St George
Utah National Parks 591
82 N Dixie Dr
St George, UT 84770


Lds Sunset Haven Ward
Utah National Parks 591
663 W 400 N
Saratoga Springs, UT 84045


Lds Sunset Heights Eighth Ward
Utah National Parks 591
500 S 600 W
Orem, UT 84058


Lds Sunset Heights Fifth Ward
Utah National Parks 591
1105 W 600 S
Orem, UT 84058


Lds Sunset Heights Fourth Ward
Utah National Parks 591
451 W 500 S
Orem, UT 84058


Lds Sunset Heights Second Ward
Utah National Parks 591
1260 S 400 W
Orem, UT 84058


Lds Sunset Heights Seventh Ward
Utah National Parks 591
1260 S 400 W
Orem, UT 84058


Lds Sunset Heights Sixth Ward
Utah National Parks 591
500 S 600 W
Orem, UT 84058


Lds Sunset Heights Third Ward
Utah National Parks 591
1105 W 600 S
Orem, UT 84058


Lds Sunset Hills First Ward
Utah National Parks 591
552 W 800 N
American Fork, UT 84003


Lds Sunset Hills Second Ward
Utah National Parks 591
964 N 500 W
American Fork, UT 84003


Lds Sunset Hills Third Ward
Utah National Parks 591
1152 N 420 W
American Fork, UT 84003


Lds Sunset Hills Ward Cedar Mill Stake
Cascade Pacific Council 492
14885 NW W Union Rd
Portland, OR 97229


Lds Sunset Hollow Ward
Utah National Parks 591
2579 N Garden Dr
Lehi, UT 84043


Lds Sunset Ninth Ward
Utah National Parks 591
352 S 1850 W
Provo, UT 84601


Lds Sunset Park Ward
Utah National Parks 591
99 N 920 W
Spanish Fork, UT 84660


Lds Sunset Park Ward, Riverton Stake
Greater Wyoming Council 638
430 Elizabeth Dr
Riverton, WY 82501


Lds Sunset Ridge Ward Blue Diamond Stake
Las Vegas Area Council 328
7885 W Robindale Rd
Las Vegas, NV 89113


Lds Sunset Second Ward St George
Utah National Parks 591
82 N Dixie Dr
St George, UT 84770


Lds Sunset Tenth Ward
Utah National Parks 591
1211 S 560 W
Provo, UT 84601


Lds Sunset Tenth Ward St George
Utah National Parks 591
415 N Wridge Dr
St George, UT 84770
Lds Sunset Third Ward
Utah National Parks 591
1158 W 1150 S
Provo, UT 84601


Lds Sunset Thirteenth Ward
Utah National Parks 591
1090 W 1020 S
Provo, UT 84601


Lds Sunset Twelfth Ward
Utah National Parks 591
1090 W 1020 S
Provo, UT 84601


Lds Sunset Valley Ward, Oak Hills Stake
Capitol Area Council 564
5201 Convict Hill Rd
Austin, TX 78749


Lds Sunset Ward Warm Springs Stake
Las Vegas Area Council 328
259 Domani Dr
Henderson, NV 89074


Lds Sunset Ward, San Francisco Stake
Pacific Skyline Council 031
1601 22nd Ave
San Francisco, CA 94122


Lds Superior Branch, Missoula Stake
Attn Bsa Pack 4950
Montana Council 315
117 Moats Ln
Superior, MT 59872


Lds Susanville 1St Ward ‐ Quincy Stake
Nevada Area Council 329
905 Richmond Rd
Susanville, CA 96130
Lds Susanville 2Nd Ward ‐ Quincy Stake
Nevada Area Council 329
833 Richmond Rd
Susanville, CA 96130


Lds Sutherland First Ward
Utah National Parks 591
2648 N 3100 W
Delta, UT 84624


Lds Sutherland Second Ward
Utah National Parks 591
212 N 4000 W
Delta, UT 84624


Lds Sutherlin Ward Roseburg Stake
Oregon Trail Council 697
1562 Stearns Lane
Oakland, OR 97462


Lds Sutter Buttes Ward Yuba City Stake
Golden Empire Council 047
1470 Butte House Rd
Yuba City, CA 95993


Lds Sweet Home Ward Lebanon Stake
Cascade Pacific Council 492
1155 22nd Ave
Sweet Home, OR 97386


Lds Sweet Ward‐Emmett Stk
Ore‐Ida Council 106 ‐ Bsa 106
11300 Sweet Ola Hwy
Blaine Dahlstrom
Sweet, ID 83670


Lds Swiss Alpine Ward
Utah National Parks 591
165 N Center St
Midway, UT 84049


Lds Sycamore Ward
Utah National Parks 591
2789 E 3630 S
Saint George, UT 84790


Lds Sylmar Ward
Verdugo Hills Council 058
13680 Sayre St
Sylmar, CA 91342


Lds Syracuse 11Th Ward
Legacy Park Stake
Trapper Trails 589
2024 S 1475 W
Syracuse, Ut 84075


Lds Syracuse 12 Samoan Branch
Syracuse Stake
Trapper Trails 589
1625 S 1100 W
Syracuse, Ut 84075


Lds Syracuse 1St Ward
Syracuse Bluff Stake
Trapper Trails 589
700 So 2500 W
Syracuse, Ut 84075


Lds Syracuse 2Nd Ward
Legacy Park Stake
Trapper Trails 589
2228 S 1660 W
Syracuse, Ut 84075


Lds Syracuse 3Rd Ward
Legacy Park Stake
Trapper Trails 589
2679 S 1000 W
Syracuse, Ut 84075


Lds Syracuse 6Th Ward
Syracuse Bluff Stake
Trapper Trails 589
2339 W 1900 S
Syracuse, Ut 84075


Lds Syracuse Meadows Ward
Syracuse Bluff Stake
Trapper Trails 589
2500 W 700 S
Syracuse, Ut 84075


Lds Tabiona Ward
Utah National Parks 591
P.O. Box 319
Tabiona, UT 84072


Lds Table Mountain Ward Gridley Stake
Golden Empire Council 047
167 Table Mountain Blvd
Oroville, CA 95965


Lds Tahoe North Ward ‐ Reno Stake
Nevada Area Council 329
P.O. Box 910
Truckee, CA 96160


Lds Takena Ward Lebanon Stake
Cascade Pacific Council 492
1615 28th Ave Se
Albany, OR 97322


Lds Talaofa Wards Sac North Stake
Golden Empire Council 047
751 Rio Tierra Ave
Sacramento, CA 95833


Lds Talladega Ward
Greater Alabama Council 001
190 Shocco Springs Rd
Talladega, AL 35160


Lds Tallyns Reach Ward, Arapahoe Stake
Denver Area Council 061
7405 S Addison Ct
Aurora, CO 80016
Lds Talus Ridge Second Ward
Utah National Parks 591
641 N Pony Express Pkwy
Saratoga Springs, UT 84045


Lds Talus Ridge Ward
Utah National Parks 591
543 N Slate Ct
Saratoga Springs, UT 84045


Lds Tascosa Ward Amarillo Tx Stake
Golden Spread Council 562
2101 N Coulter St
Amarillo, TX 79124


Lds‐ Tates Creek Ward‐Lexington Stake
Blue Grass Council 204
1789 Tates Creek Rd
Lexington, KY 40502


Lds Taylor Monument Ward
Kaysville West Stake
Trapper Trails 589
1035 S Angel St
Kaysville, Ut 84037


Lds Taylor Ranch Ward Abq West Stake
Great Swest Council 412
6000 Kachina St Nw
Albuquerque, NM 87120


Lds Taylor Ranch Ward Tule Springs Stake
Las Vegas Area Council 328
6221 Newkirk Court
Las Vegas, NV 89130


Lds Taylor Ward Round Rock East Stake
Capitol Area Council 564
2800 N Dr
Taylor, TX 76574
Lds Tehachapi Ward, E Bakersfield Stake
Southern Sierra Council 030
600 Anita Dr
Tehachapi, CA 93561


Lds Temple 2Nd Ward ‐ Waco Stake
Longhorn Council 662
3909 Ermine
Temple, TX 76504


Lds Temple City Ward L176
Greater Los Angeles Area 033
150 W Duarte Rd
Arcadia, CA 91007


Lds Temple Ward ‐ Waco Stake
Longhorn Council 662
3909 Ermine
Temple, TX 76504


Lds Templeton Ward San Luis Obispo Stake
Los Padres Council 053
2600 Ramona Rd
Atascadero, CA 93422


Lds Ten Mile Ward‐Mer W Stk
Ore‐Ida Council 106 ‐ Bsa 106
1985 N Black Cat Rd
Meridian, ID 83646


Lds Ten Sleep Ward, Worland Stake
Greater Wyoming Council 638
2758 E US Hwy 16
Ten Sleep, WY 82442


Lds Terrace Heights Ward/Selah Stake
Grand Columbia Council 614
105 S Hillcrest Dr
Yakima, WA 98901


Lds Terre View Ward/Moscow Stake
Inland Nwest Council 611
1055 NE Orchard Dr
Pullman, WA 99163


Lds Terreton Stake ‐ Beaver Creek Ward
Grand Teton Council 107
P.O. Box 124
Dubois, ID 83423


Lds Terreton Stake ‐ Hamer Ward
Grand Teton Council 107
2612 E 2300 N
Hamer, ID 83425


Lds Terreton Stake ‐ Monteview Ward
Grand Teton Council 107
2995 N 500 E
Monteview, ID 83435


Lds Terreton Stake ‐ Roberts 1St Ward
Grand Teton Council 107
2552 E 400 N
Roberts, ID 83444


Lds Terreton Stake ‐ Roberts 2Nd Ward
Grand Teton Council 107
121 N 3Rd
Roberts, ID 83444


Lds Terreton Stake ‐ Terreton 1St Ward
Grand Teton Council 107
1639 E 1600 N
Terreton, ID 83450


Lds Terreton Stake ‐ Terreton 2Nd Ward
Grand Teton Council 107
1248 E 1500 N
Terreton, ID 83450


Lds Thanksgiving Meadows Second Ward
Utah National Parks 591
3556 N Bear Hollow Way
Lehi, UT 84043


Lds Thanksgiving Meadows Ward
Utah National Parks 591
3778 N Prairie Grass Dr
Lehi, UT 84043


Lds Thanksgiving Village Ward
Utah National Parks 591
2598 N Turnberry Ct
Lehi, UT 84043


Lds Thatcher Penrose 1St Ward
Tremonton West Stake
Trapper Trails 589
11475 W 10400 N
Thatcher, Ut 84337


Lds Thatcher Penrose 2Nd Ward
Tremonton West Stake
Trapper Trails 589
11475 W 10400 N
Thatcher, Ut 84337


Lds Thayne Stake ‐ Auburn Ward
Grand Teton Council 107
182 State Hwy 237
Grover, WY 83122


Lds Thayne Stake ‐ Bedford Ward
Grand Teton Council 107
4447 Thayne Bedford Rd
Bedford, WY 83112


Lds Thayne Stake ‐ Cedar Creek Ward
Grand Teton Council 107
151 Alta Dr
Star Valley Ranch, WY 83127


Lds Thayne Stake ‐ Etna Ward
Grand Teton Council 107
107998 US Hwy 89
Etna, WY 83118


Lds Thayne Stake ‐ Freedom Ward
Grand Teton Council 107
102894 US Hwy 89
Shane Ronald Crook
Freedom, WY 83120


Lds Thayne Stake ‐ Grover Ward
Grand Teton Council 107
229 Rocky Rd Cir
Afton, WY 83110


Lds Thayne Stake ‐ Meadows Ward
Grand Teton Council 107
P.O. Box 31
1455 County Rd 130
Grover, WY 83122


Lds Thayne Stake ‐ Thayne 1St Ward
Grand Teton Council 107
124 Petersen Pkwy
Thayne, WY 83127


Lds Thayne Stake ‐ Thayne 2Nd Ward
Grand Teton Council 107
Vanoy Pkwy
Thayne, WY 83127


Lds The Ch Jesus Christ LDS
Abu Dhabi Stake
Transatlantic Council, Bsa 802
P.O. Box 4490
Houston, Tx 77210


Lds The Church Of Jesus Christ Of LDS
Transatlantic Council, Bsa 802
Lauterstrasse 1
Kaiserslautern, 67657


Lds The Dalles Second Ward
The Dalles Stake
Cascade Pacific Council 492
1815 E 15Th St
The Dalles, Or 97058


Lds The Village Ward
Utah National Parks 591
2436 E Crimson Ridge Dr
St. George, UT 84790


Lds Thermopolis Ward, Worland Stake
Greater Wyoming Council 638
625 S 10th St
Thermopolis, WY 82443


Lds Thetford Ward
Transatlantic Council, Bsa 802
Mayflower,
United Kingdom


Lds Third Ward
Glaciers Edge Council 620
701 Bear Claw Way
Madison, WI 53717


Lds Thomas Lake Ward Everett Stake
Mount Baker Council, Bsa 606
11915 29th Ave Se
Everett, WA 98208


Lds Thornton Creek Ward Seattle N Stake
Chief Seattle Council 609
5701 8Th Ave Ne
Seattle, Wa 98105


Lds Thousand Oaks 2Nd Ward
Thousand Oaks Stake
Ventura County Council 057
3645 N Moorpark Rd
Thousand Oaks, Ca 91360


Lds Thousand Oaks Ward
Ventura County Council 057
819 Paseo Del Robledo
Thousand Oaks, CA 91360


Lds Three Forks Ward, Bozeman Stake
Montana Council 315
601 Grove
Three Forks, MT 59752


Lds Three Lakes Ward Lebanon Stake
Cascade Pacific Council 492
2850 Grand Prairie Rd Se
Albany, OR 97322


Lds Three Peaks Ward
Utah National Parks 591
555 E Midvalley Rd
Enoch, UT 84721


Lds Thurber Ward
Utah National Parks 591
P.O. Box 12
Bicknell, UT 84715


Lds Tickle Creek Ward
Mt Hood Oregon Stake
Cascade Pacific Council 492
16317 Se Bluff Rd
Sandy, Or 97055


Lds Tiffany Park Ward Renton Stake
Chief Seattle Council 609
17030 106th Ave Se
Renton, WA 98055


Lds Tiffanysprings Ward
Platte City Stake
Heart Of America Council 307
2700 Ensign Dr
Platte City, Mo 64079


Lds Tigard Ward Tualatin Stake
Cascade Pacific Council 492
11065 SW N Dakota St
Tigard, OR 97223


Lds Tiger Mtn Ward Bellevue S Stake
Chief Seattle Council 609
23978 Se 160Th St
Issaquah, Wa 98027


Lds Tillamook Ward Forest Grove Stake
Cascade Pacific Council 492
P.O. Box 409
Tillamook, OR 97141


Lds Timber Creek Ward ‐ Alliance Stake
Longhorn Council 662
2509 Trophy Club Dr
Roanoke, TX 76262


Lds Timber Creek Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
5808 N Cape Arago Pl
Boise, ID 83714


Lds Timber Creek Ward‐Boise Stk
Ore‐Ida Council 106 ‐ Bsa 106
9075 W Steve St
Boise, ID 83714


Lds Timp Meadows Ward Heber
Utah National Parks 591
1265 E Center St
Heber City, UT 84032


Lds Timp Park Fifth Ward
Utah National Parks 591
990 N 100 W
Orem, UT 84057


Lds Timp Park First Ward
Utah National Parks 591
1000 N Main St
Orem, UT 84057
Lds Timp Park Fourth Ward
Utah National Parks 591
935 N 300 E
Orem, UT 84057


Lds Timp Park Second Ward
Utah National Parks 591
252 E 1090 N
Orem, UT 84057


Lds Timp Park Third Ward
Utah National Parks 591
1000 N Main St
Orem, UT 84057


Lds Timpanogos Fifth Ward
Utah National Parks 591
800 N 100 W
Pleasant Grove, UT 84062


Lds Timpanogos First Ward
Utah National Parks 591
520 N 400 E
Pleasant Grove, UT 84062


Lds Timpanogos Fourth Ward
Utah National Parks 591
55 N 600 E
Pleasant Grove, UT 84062


Lds Timpanogos Second Ward
Utah National Parks 591
800 N 100 W
Pleasant Grove, UT 84062


Lds Timpanogos Seventh Ward
Utah National Parks 591
500 N 300 E
Pleasant Grove, UT 84062
Lds Timpanogos Sixth Ward
Utah National Parks 591
170 N 850 E
Pleasant Grove, UT 84062


Lds Timpanogos Third Ward
Utah National Parks 591
315 N 400 E
Pleasant Grove, UT 84062


Lds Timpview Fifth Ward
Utah National Parks 591
865 W 1000 N
Orem, UT 84057


Lds Timpview First Ward
Utah National Parks 591
1050 N 600 W
Orem, UT 84057


Lds Timpview Fourth Ward
Utah National Parks 591
1075 W 1100 N
Orem, UT 84057


Lds Timpview Second Ward
Utah National Parks 591
950 W 1200 N
Orem, UT 84057


Lds Timpview Seventh Ward
Utah National Parks 591
1050 N 600 W
Orem, UT 84057


Lds Timpview Sixth Ward
Utah National Parks 591
1240 N 950 W
Orem, UT 84057


Lds Timpview Third Ward
Utah National Parks 591
1075 W 1100 N
Orem, UT 84057


Lds Tipton Ward ‐ Warrensburg Stake
Great Rivers Council 653
30630 Hwy 5
Tipton, MO 65081


Lds Tokyo South Stake
Far E Council 803
Minami Azabu 5‐8‐10
Minato‐Ku,
Japan


Lds Tomball 2Nd Ward
Klein Texas Stake
Sam Houston Area Council 576
23311 Powder Mill Dr
Tomball, Tx 77377


Lds Tompkinsville Ward
Lincoln Heritage Council 205
3000 Radio Station Rd
Tompkinsville, KY 42167


Lds Tonopah Ward Fallon South Stake
Nevada Area Council 329
P.O. Box 1127
Tonopah, NV 89049


Lds Toquerville Second Ward
Utah National Parks 591
P.O. Box 383
79 N Toquer Blvd
Toquerville, UT 84774


Lds Toquerville Third Ward
Utah National Parks 591
1563 S Ashcreek Dr
Toquerville, UT 84774


Lds Toquerville Ward
Utah National Parks 591
79 N Toquer Blvd
Toquerville, UT 84774


Lds Torrance 1St Ward 254
Greater Los Angeles Area 033
22605 Kent Ave
Torrance, CA 90505


Lds Torrey Ward
Utah National Parks 591
P.O. Box 55
Torrey, UT 84775


Lds Totem Lake Ward Kirkland Stake
Chief Seattle Council 609
13320 NE 132nd St
Kirkland, WA 98034


Lds Town Center Ward Red Rock Stake
Las Vegas Area Council 328
10550 W Alta Dr
Las Vegas, NV 89144


Lds Town Hall Ward
Utah National Parks 591
835 S 500 W
Provo, UT 84601


Lds Townsend Ward, Helena Stake
Montana Council 315
916 Broadway St
Townsend, MT 59644


Lds Tracy Ward Manteca Stake
Greater Yosemite Council 059
27150 Wilkinson Way
Tracy, CA 95376


Lds Tradewind Ward Amarillo Tx Stake
Golden Spread Council 562
3715 Langtry Dr
Amarillo, TX 79109


Lds Trappers Loop Ward
Morgan North Stake
Trapper Trails 589
5378 W Old Hwy Rd
Mountain Green, Ut 84050


Lds Traverse City Ward
President Gerald R Ford 781
P.O. Box 6817
3746 Veterans Dr
Traverse City, MI 49696


Lds Traverse Mountain Eighth Ward
Utah National Parks 591
4755 N Sunset Way
Lehi, UT 84043


Lds Traverse Mountain Eleventh Ward
Utah National Parks 591
890 W 3200 N
Lehi, UT 84043


Lds Traverse Mountain Fifth Ward
Utah National Parks 591
5052 N Homestead Dr
Lehi, UT 84043


Lds Traverse Mountain First Ward
Utah National Parks 591
4713 Pheasant Ridge Trail
Lehi, UT 84043


Lds Traverse Mountain Fourth Ward
Utah National Parks 591
2030 W Chapel Ridge Rd
Lehi, UT 84043


Lds Traverse Mountain Ninth Ward
Utah National Parks 591
4810 N Whisper Wood Dr
Lehi, UT 84043


Lds Traverse Mountain Second Ward
Utah National Parks 591
2198 Fox Trail Dr
Lehi, UT 84043


Lds Traverse Mountain Seventh Ward
Utah National Parks 591
5118 N Fox Hollow Way
Lehi, UT 84043


Lds Traverse Mountain Sixth Ward
Utah National Parks 591
5140 N Ravencrest Ln
Lehi, UT 84043


Lds Traverse Mountain Tenth Ward
Utah National Parks 591
5097 N Eagles View Dr
Lehi, UT 84043


Lds Traverse Mountain Third Ward
Utah National Parks 591
2288 W New Harvest Ln
Lehi, UT 84043


Lds Traverse Mountain Thirteenth Ward
Utah National Parks 591
4151 N Traverse Mountain Blvd, Apt 9206
Lehi, UT 84043


Lds Traverse Mountain Twelfth Ward
Utah National Parks 591
4179 N Red Maple Ct
Lehi, UT 84043


Lds Treasure Valley Ward
Utah National Parks 591
1762 S River Rd
St George, UT 84790
Lds Tremonton 10Th Ward
Tremonton South Stake
Trapper Trails 589
1150 S Tremont St
Tremonton, Ut 84337


Lds Tremonton 11Th Ward
Tremonton Stake
Trapper Trails 589
166 N Tremonton St
Tremonton, Ut 84337


Lds Tremonton 12Th Ward
Tremonton South Stake
Trapper Trails 589
1150 S Tremont St
Tremonton, Ut 84337


Lds Tremonton 13Th Ward
Tremonton Stake
Trapper Trails 589
660 N 300 E
Tremonton Stake
Tremonton, Ut 84337


Lds Tremonton 2Nd Ward
Tremonton South Stake
Trapper Trails 589
300 S Tremont St
Tremonton S Stake
Tremonton, Ut 84337


Lds Tremonton 3Rd
Tremonton West Stake
Trapper Trails 589
9590 N 6800 W
Tremonton, Ut 84337


Lds Tremonton 5Th Ward
Tremonton South Stake
Trapper Trails 589
251 S Tremont St
Tremonton, Ut 84337
Lds Tremonton 7Th Ward
Tremonton West Stake
Trapper Trails 589
10350 W 1160 N
Bothwell, Ut 84337


Lds Tremonton 8Th Ward
Tremonton West Stake
Trapper Trails 589
345 S 1000 W
Tremonton, Ut 84337


Lds Tremonton 9Th Ward
Tremonton South Stake
Trapper Trails 589
1150 S Tremont St
Tremonton, Ut 84337


Lds Tridell Ward
Utah National Parks 591
P.O. Box 760062
Tridell, UT 84076


Lds Trillium Creek Ward
Lake Oswego Stake
Cascade Pacific Council 492
775 Marylhurst Cir
West Linn, Or 97068


Lds Trophy Club Ward ‐ Alliance Stake
Longhorn Council 662
236 Oak Hill Dr
Trophy Club, TX 76262


Lds Tropic Ward
Utah National Parks 591
P.O. Box 13
Tropic, UT 84776


Lds Tropical Breeze Ward
N Las Vegas Stake
Las Vegas Area Council 328
3221 Villa Pisani Ct
North Las Vegas, Nv 89031


Lds Tropicana Ward Paradise Stake
Las Vegas Area Council 328
2275 E Tropicana Ave
Las Vegas, NV 89119


Lds Troy Branch/Moscow Stake
Inland Nwest Council 611
715 Scott St
Troy, ID 83871


Lds Troy Ward ‐ Bloomfield Hills Stake
Great Lakes Fsc 272
2784 E Square Lake Rd
Troy, MI 48085


Lds Trumbull 1 Ward New Haven Stake
Connecticut Yankee Council Bsa 072
36 Bonnie View Dr
Trumbull, CT 06611


Lds Trumbull 2Nd Ward New Haven Stake
Connecticut Yankee Council Bsa 072
1450 Barnum Ave
Bridgeport, CT 06610


Lds Truth Or Consequences Br
Las Cruces Stk
Yucca Council 573
200 W 6Th Ave
Truth Or Consequences, Nm 87901


Lds Tualatin Valley Ward Hillsboro Stake
Cascade Pacific Council 492
2220 NE Jackson School Rd
Hillsboro, OR 97124


Lds Tujunga Ward
Verdugo Hills Council 058
7955 Hillrose St
Sunland, CA 91040


Lds Tully Park Ward‐Settlers Park Stk
Ore‐Ida Council 106 ‐ Bsa 106
2026 NW 10th St
Meridian, ID 83646


Lds Turner Ward Salem Stake
Cascade Pacific Council 492
3645 Cloverdale Dr Se
Turner, OR 97392


Lds Tuscany Ward, Arapahoe Stake
Denver Area Council 061
21750 E Dorado Ave
Centennial, CO 80015


Lds Tuscany Ward‐Mer S Stk
Ore‐Ida Council 106 ‐ Bsa 106
3542 S Capulet Way
Meridian, ID 83642


Lds Twin Bridges 1St Ward
Davenport Stake
Illowa Council 133
4929 Wisconsin Ave
Davenport, Ia 52806


Lds Twin Bridges 2Nd Ward
Illowa Council 133
4800 Kennedy Dr
East Moline, IL 61244


Lds Twin Oak Ward/Atlanta Stake
Atlanta Area Council 092
2083 Wesley Chapel Rd
Decatur, GA 30035


Lds Two River Ward, Great Falls Stake
Montana Council 315
1401 9th St Nw
Great Falls, MT 59404


Lds Tyhee Stake ‐ Bringhurst Ward
Grand Teton Council 107
140 Bringhurst St
Chubbuck, ID 83202


Lds Tyhee Stake ‐ Fort Hall Ward
Grand Teton Council 107
Rr 6 Box 33M
Hwy 91
Pocatello, ID 83202


Lds Tyhee Stake ‐ Paradise Ward
Grand Teton Council 107
140 Bringhurst St
Chubbuck, ID 83202


Lds Tyhee Stake ‐ Pocatello 37Th Ward
Grand Teton Council 107
Us Hwy 91
Pocatello, ID 83202


Lds Tyhee Stake ‐ Pocatello 44Th Ward
Grand Teton Council 107
Us Hwy 91
Pocatello, ID 83202


Lds Tyhee Stake ‐ Pocatello 48Th Ward
Grand Teton Council 107
12146 W Tyhee Rd
Chubbuck, ID 83202


Lds Tyhee Stake ‐ Pocatello 7Th Ward
Grand Teton Council 107
12146 W Tyhee Rd
Chubbuck, ID 83202


Lds Ucon Stake ‐ Cottonwood Ward
Grand Teton Council 107
9869 N 26th E
Idaho Falls, ID 83401
Lds Ucon Stake ‐ Homestead Ward
Grand Teton Council 107
2967 E 105 N
Idaho Falls, ID 83401


Lds Ucon Stake ‐ Milo Ward
Grand Teton Council 107
12127 N 75th E
Idaho Falls, ID 83401


Lds Ucon Stake ‐ Monument Ward
Grand Teton Council 107
3807 E 109 N
Idaho Falls, ID 83401


Lds Ucon Stake ‐ Ucon Ward
Grand Teton Council 107
P.O. Box 413
10854 N 41 E
Ucon, ID 83454


Lds Ucon Stake ‐ Yellowstone Ward
Grand Teton Council 107
2967 E 105 N
Idaho Falls, ID 83401


Lds Ucon Stake ‐Foothill Ward
Grand Teton Council 107
12160 N 75th E
Idaho Falls, ID 83401


Lds Uinta View Ward
Evanston South Stake
Trapper Trails 589
201 Sage St
Evanston, Wy 82930


Lds Uintah 1St Ward
Pleasant Valley Stake
Trapper Trails 589
6660 S 1775 E
Uintah, Ut 84405


Lds Uintah 2Nd Ward
Pleasant Valley Stake
Trapper Trails 589
6660 S 1775 E
Uintah, Ut 84405


Lds Uintah River Ward
Utah National Parks 591
5427 E 3000 N
Ballard, UT 84066


Lds Uintah Ward
Utah National Parks 591
873 E 2850 S
Vernal, UT 84078


Lds Ukiah 1St Ward
Redwood Empire Council 041
1337 S Dora St
Ukiah, CA 95482


Lds Ukiah 2Nd Ward
Redwood Empire Council 041
925 Hazel Ave
Ukiah, CA 95482


Lds Uncomphagre Ward/Montrose Stake
Denver Area Council 061
1679 Pioneer Rd
Delta, CO 81416


Lds Union Hill Ward Redmond Stake
Chief Seattle Council 609
7115 224th Ave Ne
Redmond, WA 98053


Lds Union Square 1St Ward
New York Stake
Greater New York Councils, Bsa 640
144 W 15Th St
New York, Ny 10011


Lds Union Ward Manteca Stake
Greater Yosemite Council 059
1233 Ngate Dr
Manteca, CA 95336


Lds University Hills Ward, Denver Stake
Denver Area Council 061
2710 S Monaco Pkwy
Denver, CO 80222


Lds University Park Orlando
Central Florida Council 083
5449 N Dean Rd
Orlando, FL 32817


Lds University Park Ward Sarasota Stake
Southwest Florida Council 088
7001 Beneva Rd
Sarasota, FL 34238


Lds University Ward, Pueblo Stake
Rocky Mountain Council 063
1411 Fortino Blvd
Pueblo, CO 81008


Lds Urbana Ward Champaign Stake
Prairielands 117
604 W Windsor Rd
Champaign, IL 61820


Lds Urbana Ward Frederick Stake
National Capital Area Council 082
1811 Latham Dr
Frederick, MD 21701


Lds Ustick Ward‐Mer E Stk
Ore‐Ida Council 106 ‐ Bsa 106
2840 Wildwood St
Boise, ID 83713
Lds Utah Valley Deaf Ward
Utah National Parks 591
888 S Freedom Blvd
Provo, UT 84601


Lds Vacaville 1St Ward Vacaville Stake
Golden Empire Council 047
311 Alamo Dr
Vacaville, CA 95688


Lds Vacaville 2Nd Ward Vacaville Stake
Golden Empire Council 047
360 Portsmouth Ave
Vacaville, CA 95687


Lds Vacaville 3Rd Ward Vacaville Stake
Golden Empire Council 047
311 Alamo Dr
Vacaville, CA 95688


Lds Vacaville 4Th Ward Vacaville Stake
Golden Empire Council 047
480 Wrentham Dr
Vacaville, CA 95688


Lds Vacaville 5Th Ward Vacaville Stake
Golden Empire Council 047
470 Wrentham Dr
Vacaville, CA 95688


Lds Vail Branch/Rifle Stake
Denver Area Council 061
P.O. Box 883
Vail, CO 81658


Lds Valdosta Ward Albany Stake
South Georgia Council 098
2500 Jerry Jones Dr
Valdosta, GA 31602


Lds Vale 1St Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
135 Yakima St S
Vale, OR 97918


Lds Vale 2Nd Ward‐Nyssa Stk
Ore‐Ida Council 106 ‐ Bsa 106
135 Yakima St S
Vale, OR 97918


Lds Valencia Orlando
Central Florida Council 083
5449 N Dean Rd
Orlando, FL 32817


Lds ‐Valencia Stake
Stevenson Ranch Ward
W.L.A.C.C. 051
24443 Mcbean Pkwy
Valencia, Ca 91355


Lds ‐Valencia Stake‐ Castaic Ward
W.L.A.C.C. 051
24443 Mcbean Pkwy
Valencia, CA 91355


Lds ‐Valencia Stake‐ Copperhill Ward
W.L.A.C.C. 051
27827 Skycrest Cir
Valencia, CA 91354


Lds ‐Valencia Stake‐ Newhall 1St Ward
W.L.A.C.C. 051
24915 Peachland Ave
Newhall, CA 91321


Lds ‐Valencia Stake‐ Newhall 2Nd Ward
W.L.A.C.C. 051
24915 Peachland Ave
Newhall, CA 91321


Lds ‐Valencia Stake‐ Valencia 1St Ward
W.L.A.C.C. 051
24442 Mcbean Pkwy
Valencia, CA 91355


Lds ‐Valencia Stake‐ Valencia 3Rd Ward
W.L.A.C.C. 051
24443 Mcbean Pkwy
Valencia, CA 91355


Lds Valencia Ward Los Lunas Stake
Great Swest Council 412
James St   Hwy 85
Los Lunas, NM 87031


Lds Valle Verde Ward Green Valley Stake
Las Vegas Area Council 328
1525 Guilford Dr
Henderson, NV 89014


Lds Valley Crest Ward Skye Canyon Stake
Las Vegas Area Council 328
9830 Elkhorn Rd
Las Vegas, NV 89149


Lds Valley Forge 1St Ward
Cradle of Liberty Council 525
2530 Stinson Ln
Norristown, PA 19403


Lds Valley Forge 2Nd Ward
Cradle of Liberty Council 525
2530 Stinson Ln
Norristown, PA 19403


Lds Valley Hills First    Heber
Utah National Parks 591
P.O. Box 104
Heber City, UT 84032


Lds Valley Hills Second Ward      Heber
Utah National Parks 591
521 E 500 N
Heber City, UT 84032
Lds Valley View Ward
Utah National Parks 591
1985 N Main
Cedar City, UT 84721


Lds Valley View Ward Eagle Mountain
Utah National Parks 591
9742 N Horizon Dr
Eagle Mountain, UT 84005


Lds Valley Vista Ward Camarillo Stake
Ventura County Council 057
1201 Paseo Camarillo
Camarillo, CA 93010


Lds Valparaiso Ward, Menlo Park Stake
Pacific Skyline Council 031
1105 Valparaiso Ave
Menlo Park, CA 94025


Lds Vancouver 1st Ward Vancouver W Stake
Cascade Pacific Council 492
4312 Ne 101St St
Vancouver, Wa 98686


Lds Vancouver North Stake
Cascade Pacific Council 492
17604 NE Stoney Meadows Dr
Vancouver, WA 98682


Lds Vancouver Seventh Ward
Vancouver W Stake
Cascade Pacific Council 492
2300 Nw 99Th St
Vancouver, Wa 98665


Lds Vancouver Third Ward
Vancouver W Stake
Cascade Pacific Council 492
721 Nw 104Th Loop
Vancouver, Wa 98685
Lds Vashon Island Ward Seattle Stake
Chief Seattle Council 609
9330 SW 204th St
Vashon, WA 98070


Lds Vegas Valley Ward East Stake
Las Vegas Area Council 328
4040 E Wyoming Ave
Las Vegas, NV 89104


Lds Veneta Ward‐Eugene Stake
Oregon Trail Council 697
88068 Houston Rd
Veneta, OR 97487


Lds Venice Ward
Utah National Parks 591
100 S Main St
Venice, UT 84701


Lds Venice Ward Bradenton Stake
Southwest Florida Council 088
3000 E Venice Ave
Venice, FL 34292


Lds Ventana Ward West Stake
Great Swest Council 412
7100 Woodmount Ave Nw
Albuquerque, NM 87114


Lds Ventura 1St Ward Ventura Stake
Ventura County Council 057
3501 Loma Vista Rd
Ventura, CA 93003


Lds Verdugo Hills Ward
Verdugo Hills Council 058
4550 Raymond Ave
La Crescenta, CA 91214
Lds Vernal Eighth Ward
Utah National Parks 591
1510 W Hwy 40
Vernal, UT 84078


Lds Vernal Fifth Ward
Utah National Parks 591
1421 N 1500 W
Vernal, UT 84078


Lds Vernal First Ward
Utah National Parks 591
15 E 100 N
Vernal, UT 84078


Lds Vernal Fourth Ward
Utah National Parks 591
235 E 600 S
Vernal, UT 84078


Lds Vernal Ninth Ward
Utah National Parks 591
220 W 250 N
Vernal, UT 84078


Lds Vernal Seventh Ward
Utah National Parks 591
1343 W 50 S
Vernal, UT 84078


Lds Vernal Sixth Ward
Utah National Parks 591
170 N 1100 W
Vernal, UT 84078


Lds Vernal Third Ward
Utah National Parks 591
475 W 100 S
Vernal, UT 84078


Lds Vernonia Branch Forest Grove Stake
Cascade Pacific Council 492
1350 Knott St
Vernonia, OR 97064


Lds Vero Beach Ward‐Stuart Stake
Gulf Stream Council 085
3960 12th St
Vero Beach, FL 32960


Lds Verona Ward‐Meridian Linder Stk
Ore‐Ida Council 106 ‐ Bsa 106
5764 N Black Sand Ave
Meridian, ID 83646


Lds Veterans Park Ward
Utah National Parks 591
1125 W 300 N
Lehi, UT 84043


Lds Veyo First Ward
Utah National Parks 591
176 E Center St
Veyo, UT 84782


Lds Vicenza Military Ward
Transatlantic Council, Bsa 802
Cmr 427 Box 814
Apo Ae, 09630


Lds Vicksburg Ward
Andrew Jackson Council 303
6300 Indiana Ave
Vicksburg, MS 39180


Lds Victor Falls Ward Enumclaw Stake
Chief Seattle Council 609
11214 214th Ave E
Bonney Lake, WA 98391


Lds Victory View Ward‐Boise W Stk
Ore‐Ida Council 106 ‐ Bsa 106
3700 S Maple Grove Rd
Boise, ID 83709
Lds Victory Ward‐Mer Victory Stk
Ore‐Ida Council 106 ‐ Bsa 106
2555 S Stoddard Rd
Meridian, ID 83642


Lds Vienna Ward Oakton Stake
National Capital Area Council 082
2719 Hunter Mill Rd
Oakton, VA 22124


Lds Vienna Woods Ward‐Mer N Stk
Ore‐Ida Council 106 ‐ Bsa 106
5555 N Locust Grove Rd
Meridian, ID 83646


Lds Viera Cocoa
Central Florida Council 083
5937 Indigo Crossing Dr
Rockledge, FL 32955


Lds View Pointe
Utah National Parks 591
11162 N Alpine Hwy
Highland, UT 84003


Lds View Ridge Ward Everett Stake
Mount Baker Council, Bsa 606
110 50th St Sw
Everett, WA 98203


Lds Villa Bonita Ward Paradise Stake
Las Vegas Area Council 328
3901 E Viking Rd
Las Vegas, NV 89121


Lds Village Stake Okc Ward
Last Frontier Council 480
5020 NW 63rd St
Oklahoma City, OK 73132
Lds Vincennes Evansville In
Buffalo Trace 156
1984 N Old Hwy 41
Vincennes, IN 47591


Lds Vineland Ward Cherry Hill Nj Stake
Garden State Council 690
110 Highland Ave
Vineland, NJ 08361


Lds Vineyard 9Th Ward
Utah National Parks 591
605 S 1810 W
Orem, UT 84058


Lds Vineyard Eighth Ward
Utah National Parks 591
General Delivery
Vineyard, UT 84057


Lds Vineyard Fifth Ward
Utah National Parks 591
1810 W Springwater Dr
Orem, UT 84058


Lds Vineyard First Ward
Utah National Parks 591
323 W Shoreline Ct
Vineyard, UT 84058


Lds Vineyard Fourth Ward
Utah National Parks 591
1206 S 1680 W
Orem, UT 84058


Lds Vineyard Hills Ward‐Livermore Stake
San Francisco Bay Area Council 028
950 Mochos St
Livermore, CA 94550


Lds Vineyard Second Ward
Utah National Parks 591
1496 W 650 S
Orem, UT 84058


Lds Vineyard Seventh Ward
Utah National Parks 591
513 S 1920 W
Orem, UT 84058


Lds Vineyard Sixth Ward
Utah National Parks 591
504 S Lake View Dr
Vineyard, UT 84058


Lds Vineyard Tenth Ward
Utah National Parks 591
1160 W 400 S
Orem, UT 84058


Lds Vineyard Third Ward     Spanish
Utah National Parks 591
1105 W 600 S
Orem, UT 84058


Lds Vineyard Ward Elk Grove Stake
Golden Empire Council 047
8925 Vintage Park Dr
Sacramento, CA 95829


Lds Vint Hill Ward Gainesville Stake
National Capital Area Council 082
14015 Glenkirk Rd
Gainesville, VA 20155


Lds Vintage Hills Ward
Sparks West Stake
Nevada Area Council 329
2955 Rock Blvd
Sparks, Nv 89431


Lds Virgin Ward
Utah National Parks 591
37 N Mill
Virgin, UT 84779


Lds Virginia Ward Lb Stake
Long Beach Area Council 032
3114 E S St
Lakewood, CA 90712


Lds Vista Ridge Ward, Round Rock Stake
Capitol Area Council 564
10128 Palmbrook Dr
Austin, TX 78717


Lds Vly Vista Ward Lone Mtn Stake
Las Vegas Area Council 328
10070 Azure Dr
Las Vegas, Nv 89149


Lds Volcano Cliffs Ward Abq West Stake
Great Swest Council 412
7100 Woodmount Ave Nw
Albuquerque, NM 87114


Lds W Bridgewater 3Rd Ward Hingham Stake
Mayflower Council 251
547 Manley St
West Bridgewater, Ma 02379


Lds W Chester Ward Cincinnati N Stake
Dan Beard Council, Bsa 438
7118 Dutchland Pkwy
Liberty Township, Oh 45044


Lds W Chester Ward, Vly Forge Pa Stake
Chester County Council 539
1443 Telegraph Rd
West Chester, Pa 19380


Lds W Oquendo Ward Spg Mtn Stake
Las Vegas Area Council 328
7885 W Robindale Rd
Las Vegas, Nv 89113
Lds Wabash Ward/Bloomington Stake
Crossroads of America 160
1845 N 6th 1/2 St
Terre Haute, IN 47804


Lds Wagon Trail Ward
Utah National Parks 591
2015 N Wedgewood Ln
Cedar City, UT 84721


Lds Wahluke Ward/Othello Stake
Grand Columbia Council 614
10490 Rd 24 Sw
Mattawa, WA 99349


Lds Waiehu Ward, Kahului Hi Stake
Aloha Council, Bsa 104
125 W Kamehameha Ave
Kahului, HI 96732


Lds Waiehu Ward, Kahului Hi Stake
Aloha Council, Bsa 104
Lono Ave
Kahului, HI 96732


Lds Wailuku Ward, Kahului Hi Stake
Aloha Council, Bsa 104
1300 Maui Lani Pkwy
Kahului, HI 96732


Lds Wakefield Ward Annandale Stake
National Capital Area Council 082
4911 Ox Rd
Fairfax, VA 22030


Lds Waldport Ward‐Corvallis Stake
Oregon Trail Council 697
190 SW Newton Dr
Waldport, OR 97394


Lds Wales Ward ‐ Milwaukee South Stake
Potawatomi Area Council 651
115 N Wales Rd
Wales, WI 53183


Lds Walkersville Ward Frederick Stake
National Capital Area Council 082
1811 Latham Dr
Frederick, MD 21701


Lds Walled Lake Ward
Bloomfield Hills Stake
Great Lakes Fsc 272
33900 W 13 Mile Rd
Farmington Hills, Mi 48331


Lds Wallsburg First Ward
Utah National Parks 591
494 W Main Canyon Rd
Wallsburg, UT 84082


Lds Wallsburg Second Ward
Utah National Parks 591
2045 E Main Canyon Rd
Wallsburg, UT 84082


Lds Walnut Canyon Ward
Ventura County Council 057
15351 Benwood Dr
Moorpark, CA 93021


Lds Walnut Creek Branch Papillion Stake
Mid‐America Council 326
2220 Big Sky Dr
Papillion, NE 68046


Lds Walnut Creek Ward,Austin Stake
Capitol Area Council 564
1000 Rutherford Ln
Austin, TX 78753


Lds Walnut Grove Ward
Syracuse South Stake
Trapper Trails 589
535 W 2700 S
Syracuse, Ut 84075


Lds Walnut Grove Ward Vancouver N Stake
Cascade Pacific Council 492
14219 Ne 49Th St
Vancouver, Wa 98682


Lds Walsenburg Branch, Pueblo Stake
Rocky Mountain Council 063
P.O. Box 346
Walsenburg, CO 81089


Lds Walsh Ranch Ward, Round Rock Stake
Capitol Area Council 564
3813 Sky Ln
Round Rock, TX 78681


Lds Walters Hill Ward
Mt Hood Oregon Stake
Cascade Pacific Council 492
12300 Se 312Th Ave
Boring, Or 97009


Lds Ward 1‐ Rockford Stake
Blackhawk Area 660
620 N Alpine Rd
Rockford, IL 61107


Lds Ward Canyon West
South Plains Council 694
4509 21st St
Lubbock, TX 79407


Lds Ward‐Elgin
Indian Waters Council 553
34 Chestnut Ferry Rd
Camden, SC 29020


Lds Warden 1St Ward/Othello Stake
Grand Columbia Council 614
8151 Rd S Se
Warden, WA 98857


Lds Warm Springs Ward
Utah National Parks 591
971 N Rolling Hills Rd
Washington, UT 84780


Lds Warm Springs Ward Warm Springs Stake
Las Vegas Area Council 328
7670 S Bruce St
Las Vegas, NV 89123


Lds Warner Robins 2Nd Ward
Central Georgia Council 096
200 Draper St
Warner Robins, GA 31088


Lds Warner Robins First Ward
Central Georgia Council 096
200 Draper St
Warner Robins, GA 31088


Lds Warren Ward Youngstown Stake
Great Trail 433
1321 State Rd Nw
Warren, OH 44481


Lds Warrensburg Ward Warrensburg Stake
Heart of America Council 307
1515 Dd Hwy
Warrensburg, MO 64093


Lds Warrenton 1 Ward Gainesville Stake
National Capital Area Council 082
585 Fauquier Rd
Warrenton, VA 20186


Lds Warrenton 2 Ward Gainesville Stake
National Capital Area Council 082
585 Fauquier Rd
Warrenton, VA 20186
Lds Warrenton Ward 1 Gainesville Stake
National Capital Area Council 082
585 Fauquier Rd
Warrenton, VA 20186


Lds Warrenton Ward Rainier Stake
Cascade Pacific Council 492
33061 Douglas Ln
Warrenton, OR 97146


Lds‐ Warrenton Ward‐North County Stake
Greater St Louis Area Council 312
Highway 47 N
Warrenton, MO 63383


Lds Warsaw Ward, South Bend Stake
Anthony Wayne Area 157
2907 Hilltop Cir
Winona Lake, IN 46590


Lds Wasatch Mountain Ward
Utah National Parks 591
165 N Center St
Midway, UT 84049


Lds Wasco Branch, Bakersfield Stake
Southern Sierra Council 030
2309 9th Pl
Wasco, CA 93280


Lds Washburn Ward Lone Mountain Stake
Las Vegas Area Council 328
3300 N Buffalo Dr
Las Vegas, NV 89129


Lds Washington Ave Ward Sunrise Stake
Las Vegas Area Council 328
1001 N Christy Ln
Las Vegas, NV 89110
Lds Washington Dc Asl Br Suitland Stake
National Capital Area Council 082
10329 Tamarack Dr
Vienna, Va 22182


Lds Washington Eighth Ward
Utah National Parks 591
754 Cherry Cir
Washington, UT 84780


Lds Washington Eleventh Ward
Utah National Parks 591
516 N Scenic Dr W
Washington, UT 84780


Lds Washington Fields Eighth
Utah National Parks 591
1295 S 3000 E
St George, UT 84790


Lds Washington Fields Eleventh Ward
Utah National Parks 591
2720 S Washington Fields Rd
Washington, UT 84780


Lds Washington Fields Fifth Ward
Utah National Parks 591
1548 S 535 E
Washington, UT 84780


Lds Washington Fields First Ward
Utah National Parks 591
1867 S Washington Fields Rd
Washington, UT 84780


Lds Washington Fields Fourteenth Ward
Utah National Parks 591
934 E Outlaw Gulch
Washington, UT 84780


Lds Washington Fields Fourth Ward
Utah National Parks 591
2759 E 1400 S
St George, UT 84790


Lds Washington Fields Ninth Ward
Utah National Parks 591
628 S 3000 E
St. George, UT 84780


Lds Washington Fields Second Ward
Utah National Parks 591
1295 S 3000 E.
St. George, UT 84790


Lds Washington Fields Seventh Ward
Utah National Parks 591
1867 S Washington Fields Rd
Washington, UT 84780


Lds Washington Fields Sixteenth Ward
Utah National Parks 591
178 E Sky View Ln
Washington, UT 84780


Lds Washington Fields Sixth Ward
Utah National Parks 591
1867 S Washington Fields Rd
Washington, UT 84780


Lds Washington Fields Tenth Ward
Utah National Parks 591
2375 Coletero Cir
Washington, UT 84780


Lds Washington Fields Third Ward
We Stake
Utah National Parks 591
1835 Washington Fields Rd
Washington, Ut 84780


Lds Washington Fields Thirteenth Ward
Utah National Parks 591
61 W 1785 S
Washington, UT 84780


Lds Washington Fields Twelfth Ward
Utah National Parks 591
489 E Stanley Cir
Washington, UT 84780


Lds Washington Fifth Ward
Utah National Parks 591
446 E Mangum Rd
Washington, UT 84780


Lds Washington First Ward
Utah National Parks 591
82 N Main St
Washington, UT 84780


Lds Washington Fourth Ward
Utah National Parks 591
82 N Main St
Washington, UT 84780


Lds Washington Ninth Ward
Utah National Parks 591
193 E Legends Ln
Washington, UT 84780


Lds Washington Seventh Ward
Utah National Parks 591
245 W 100 S
Washington, UT 84780


Lds Washington Third Ward
Utah National Parks 591
700 E Telegraph St
Washington, UT 84780


Lds Washoe Valley Ward ‐ Mt Rose Stake
Nevada Area Council 329
440 Mcclellan Dr
Carson City, NV 89704
Lds Washougal River Ward
Vancouver E Stake
Cascade Pacific Council 492
3907 Q St
Washougal, Wa 98671


Lds Watauga Ward
Sequoyah Council 713
211 Mayflower Rd
Johnson City, TN 37601


Lds Watauga Ward ‐ Hurst Stake
Longhorn Council 662
2001 Willis Ln
Keller, TX 76248


Lds Waterfall Canyon Ward
Ogden East Stake
Trapper Trails 589
3254 Polk Ave
Ogden, Ut 84403


Lds Waterfall Ward Shadow Mountain Stake
Las Vegas Area Council 328
6051 Dorrell Lane
Las Vegas, NV 89131


Lds Waterford Lakes Hunters Creek
Central Florida Council 083
1375 Woodbury Rd
Orlando, FL 32828


Lds Waterloo
Greater St Louis Area Council 312
900 Park St
Waterloo, IL 62298


Lds Waterman Ward Elk Grove Stake
Golden Empire Council 047
8697 Elk Grove Blvd
Elk Grove, CA 95624
Lds Watertown Ward Utica Ny Stake
Longhouse Council 373
20020 County Route 65
Watertown, NY 13601


Lds Watsonville Ward ‐ Santa Cruz Stake
Silicon Valley Monterey Bay 055
255 Holm Rd
Watsonville, CA 95076


Lds Waukesha Ward Milwaukee North Stake
Potawatomi Area Council 651
115 N Wales Rd
Wales, Wi 53183


Lds Wauseon Ward Toledo Ohio Stake
Black Swamp Area Council 449
858 S Shoop Ave
Wauseon, OH 43567


Lds Waycross 1St Ward Kingsland Stake
Coastal Georgia Council 099
2095 Central Ave
Waycross, GA 31503


Lds Waycross 2Nd Ward Kingsland Stake
Coastal Georgia Council 099
2905 Central Ave
Waycross, GA 31503


Lds Weatherford Ward ‐ Weatherford Stake
Longhorn Council 662
2251 Bethel Rd
Weatherford, TX 76087


Lds Weaver Lane Ward
Layton South Stake
Trapper Trails 589
2120 W Gentile St
Layton, Ut 84041
Lds Webb Lane Ward
Kaysville West Stake
Trapper Trails 589
1035 S Angel St
Kaysville, Ut 84037


Lds Weber Area S Special Needs Scouts
Trapper Trails 589
Burch Creek Stake
Ogden, Ut 84405


Lds Weber East Special Needs
Pleasant View South Stake
Trapper Trails 589
236 Porter
Ogden, Ut 84404


Lds Weber West Special Needs
Pioneer Trails Stake
Trapper Trails 589
4979 S 5100 W
Hooper, Ut 84315


Lds Weber West Special Needs
West Point Stake
Trapper Trails 589
West Point Stake
West Point, Ut 84015


Lds‐ Webster Groves Ward
S St Louis Stake
Greater St Louis Area Council 312
4511 Butler Hill Rd
So Stake
Saint Louis, Mo 63128


Lds Webster Meadows Ward
Kaysville Stake
Trapper Trails 589
205 S Angel St
Kaysville, Ut 84037


Lds Wedgewood Ward
Clearfield North Stake
Trapper Trails 589
151 N 1000 W
Clearfield, Ut 84015


Lds Weiser 1St Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
1775 Cove Rd
Weiser, ID 83672


Lds Weiser 2Nd Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
300 E Main St
Weiser, ID 83672


Lds Weiser 3Rd Ward‐Weiser Stk
Ore‐Ida Council 106 ‐ Bsa 106
1151 Devils Elbow Rd, 3rd St   E Main
Weiser, ID 83672


Lds Wellington First Ward
Utah National Parks 591
50 N 100 E
Wellington, UT 84542


Lds Wellington Fourth Ward
Utah National Parks 591
50 N 100 E
Wellington, UT 84542


Lds Wellington Second Ward
Utah National Parks 591
935 E Main St
Wellington, UT 84542


Lds Wellington Third Ward
Utah National Parks 591
935 E Main
Wellington, UT 84542


Lds Wellington Ward Stuart Stake
Gulf Stream Council 085
990 Big Blue Trce
Wellington, FL 33414


Lds Wells Park Ward Black Mountain Stake
Las Vegas Area Council 328
401 Palo Verde Dr
Henderson, NV 89015


Lds Wells Ward ‐ Elko East Stake
Nevada Area Council 329
951 Lake Ave
Wells, NV 89835


Lds Wellsville 10Th Ward
Wellsville Stake
Trapper Trails 589
660 S 100 W
Wellsville, Ut 84339


Lds Wellsville 11Th Ward
Wellsville Stake
Trapper Trails 589
3547 W 6100 S
Wellsville Stake
Wellsville, Ut 84339


Lds Wellsville 1St Ward
Wellsville Stake
Trapper Trails 589
30 S Center St
Wellsville, Ut 84339


Lds Wellsville 3Rd Ward
Wellsville Stake
Trapper Trails 589
49 W 200 S
Wellsville, Ut 84339


Lds Wellsville 4Th Ward
Wellsville Stake
Trapper Trails 589
49 W 200 S
Wellsville, Ut 84339
Lds Wellsville 5Th Ward
Wellsville Stake
Trapper Trails 589
660 S 100 W
Wellsville, Ut 84339


Lds Wellsville 7Th Ward
Wellsville Stake
Trapper Trails 589
660 S 100 W
Wellsville, Ut 84339


Lds Wellsville 8Th Ward
Wellsville Stake
Trapper Trails 589
49 W 200 S
Wellsville, Ut 84339


Lds Wellsville 9Th Ward
Wellsville Stake
Trapper Trails 589
30 S Center St
Wellsville, Ut 84339


Lds Wenatchee River Ward
Wenatchee Stake
Grand Columbia Council 614
2821 Easy St
Wenatchee, Wa 98801


Lds Wern Hills Ward Cincinnati N Stake
Dan Beard Council, Bsa 438
3670 Hubble Rd
Cincinnati, Oh 45247


Lds West Bend Ward Appleton Wi Stake
Bay‐Lakes Council 635
120 E Paradise Dr
West Bend, WI 53095


Lds West Hills Knoxville
Great Smoky Mountain Council 557
400 Kendall Rd
Knoxville, TN 37919


Lds West Hills Ward Beaverton Stake
Cascade Pacific Council 492
4195 SW 99th Ave
Beaverton, OR 97005


Lds West Lane Ward Stockton Stake
Greater Yosemite Council 059
21121 E Copperopolis Rd
Linden, CA 95236


Lds West Layton Ward
Layton Legacy Stake
Trapper Trails 589
535 W 2700 S
Syracuse, Ut 84075


Lds West Linn Ward Lake Oswego Stake
Cascade Pacific Council 492
1395 Rosemont Rd
West Linn, OR 97068


Lds West Mountain First Ward
Utah National Parks 591
10400 S 5795 W
Payson, UT 84651


Lds West Mountain Fourth Ward
Utah National Parks 591
5237 W 10400 S
Payson, UT 84651


Lds West Mountain Second Ward
Utah National Parks 591
900 W 400 N
Payson, UT 84651


Lds West Mountain Third Ward
Utah National Parks 591
902 W 400 N
Payson, UT 84651


Lds West Park Ward
Clearfield South Stake
Trapper Trails 589
315 E Chelmes Way 2200 So
Clearfield, Ut 84015


Lds West Park Ward, Billings Stake
Montana Council 315
2929 Belvedere Dr
Billings, MT 59102


Lds West Point 10Th Ward
West Point Stake
Trapper Trails 589
2852 W 300 N
West Point, Ut 84015


Lds West Point 11Th Ward
West Point Stake
Trapper Trails 589
550 N 2300 W
West Point, Ut 84015


Lds West Point 12Th Ward
West Point Stake
Trapper Trails 589
2865 W 800 N
West Point, Ut 84015


Lds West Point 13Th Ward
Lakeside Stake
Trapper Trails 589
3290 W 800 N
West Point, Ut 84015


Lds West Point 14Th Ward
West Point Stake
Trapper Trails 589
2852 W 300 N
West Point, Ut 84015
Lds West Point 15Th Ward Spanish
Lakeside Stake
Trapper Trails 589
3488 W 300 N
West Point, Ut 84015


Lds West Point 16Th Ward
Lakeside Stake
Trapper Trails 589
4383 W 300 N
West Point, Ut 84015


Lds West Point 17Th Ward
Lakeside Stake
Trapper Trails 589
855 N 4000 W
West Point, Ut 84015


Lds West Point 18Th Ward
West Point Stake
Trapper Trails 589
2855 W 800 N
West Point, Ut 84015


Lds West Point 19Th Ward
Lakeside Stake
Trapper Trails 589
855 N 4000 W
West Point, Ut 84015


Lds West Point 2Nd Ward
West Point Stake
Trapper Trails 589
550 N 2300 W
West Point, Ut 84015


Lds West Point 4Th Ward
West Point Stake
Trapper Trails 589
2852 W 300 N
West Point, Ut 84015
Lds West Point 7Th Ward
West Point Stake
Trapper Trails 589
550 N 2300 W
West Point, Ut 84015


Lds West Point 8Th Ward
West Point Stake
Trapper Trails 589
2865 W 800 N
West Point, Ut 84015


Lds West Sac Ward Woodland Stake
Golden Empire Council 047
2667 Linden Rd
West Sacramento, CA 95691


Lds West Seattle Ward Seattle Stake
Chief Seattle Council 609
4001 44th Ave Sw
Seattle, WA 98116


Lds West Weber 1St Ward
Weber North Stake
Trapper Trails 589
4100 W 900 S
West Weber, Ut 84404


Lds West Weber 2Nd Ward
Weber North Stake
Trapper Trails 589
4100 W 900 S
West Weber, Ut 84404


Lds West Weber 3Rd Ward
Weber North Stake
Trapper Trails 589
4100 W 900 S
West Weber, Ut 84404


Lds West York Ward, Lancaster Stake
New Birth of Freedom 544
2100 Hollywood Dr
York, PA 17403


Lds Westchester 1St Ward
Greater Los Angeles Area 033
7515 S Sepulveda Blvd
Los Angeles, CA 90045


Lds Westchester Third Ward
Greater Los Angeles Area 033
7515 S Sepulveda Blvd
Los Angeles, CA 90045


Lds Westcliff Ward Las Vegas Stake
Las Vegas Area Council 328
120 Worthen Cir
Las Vegas, NV 89145


Lds Western Hills Ward Rio Rancho Stake
Great Swest Council 412
1931 Wern Hills Dr Se
Rio Rancho, NM 87124


Lds Westerville Ward
Simon Kenton Council 441
307 Huber Village Blvd
Westerville, OH 43081


Lds Westfield Second Ward
Utah National Parks 591
1948 W 550 N
Lehi, UT 84043


Lds Westfield Third Ward
Utah National Parks 591
1251 E 900 N
Lehi, UT 84043


Lds Westfield Ward
Houston North Stake
Sam Houston Area Council 576
16331 Hafer Rd
Houston, Tx 77090


Lds Westfield Ward
Utah National Parks 591
254 N Constitution Dr
Lehi, UT 84043


Lds Westgreen Ward
Houston West Stake
Sam Houston Area Council 576
1928 Drexel Dr
Katy, Tx 77493


Lds Westland Ward Columbus Ohio Stake
Simon Kenton Council 441
1001 Doherty Rd
Galloway, OH 43119


Lds Westminster Ward, Westminster Stake
Denver Area Council 061
1951 Elmwood Ln
Denver, CO 80221


Lds Weston 1St Ward
Preston South Stake
Trapper Trails 589
27 N Center St
Weston, Id 83286


Lds Weston 2Nd Ward
Preston South Stake
Trapper Trails 589
27 N Center St
Weston, Id 83286


Lds Weston Ward Boston Stake
Mayflower Council 251
150 Brown St
Weston, MA 02493


Lds Westridge Ward
Utah National Parks 591
415 Wridge Dr
St George, UT 84770


Lds Westview Ward
Utah National Parks 591
2830 W Cody Dr
Cedar City, UT 84720


Lds Westview Ward Cedar Mill Stake
Cascade Pacific Council 492
4692 NW 173rd Pl
Beaverton, OR 97006


Lds Westwood Ward
Utah National Parks 591
175 N 1280 W
Price, UT 84501


Lds Wheatfield Ward
Layton Legacy Stake
Trapper Trails 589
3161 W 150 N
Layton, Ut 84041


Lds Wheatland Ward Yuba City Stake
Golden Empire Council 047
5091 Wheatland Rd
Wheatland, CA 95692


Lds Wheatstone Ward
Houston Bear Creek Stake
Sam Houston Area Council 576
10555 W Rd
Houston, Tx 77064


Lds Wheeler Park Ward
Utah National Parks 591
2093 S 150 E
Heber City, UT 84032


Lds Whisper Wood Ward
Syracuse South Stake
Trapper Trails 589
2679 S 1000 W
Syracuse, Ut 84075


Lds White City Ward
Central Point Stake
Crater Lake Council 491
668 W Rolling Hills Dr
Eagle Point, Or 97524


Lds White Cliffs Ward Kingman Stake
Las Vegas Area Council 328
610 Eern St
Kingman, AZ 86401


Lds White Hills Ward
Utah National Parks 591
22 E Center St
Cedar Fort, UT 84013


Lds White Mountain Ward
Rock Springs Stake
Trapper Trails 589
3315 White Mountain Blvd
Rock Springs, Wy 82901


Lds White Oak Ward
Stafford Virginia Stake
National Capital Area Council 082
20 Boscobel Rd
Fredericksburg, Va 22405


Lds White Oak Ward Silver Spring Stake
National Capital Area Council 082
500 Randolph Rd
Silver Spring, MD 20904


Lds White Plains 2Nd Ward Suitland Stake
National Capital Area Council 082
4560 Padgett Rd
White Plains, MD 20695
Lds White River Ward Auburn Stake
Chief Seattle Council 609
1820 F St Se
Auburn, WA 98002


Lds White Rock Ward Santa Fe Stake
Great Swest Council 412
366 Grand Canyon Dr
Los Alamos, NM 87544


Lds White Salmon Ward The Dalles Stake
Cascade Pacific Council 492
P.O. Box 337
White Salmon, WA 98672


Lds White Sands Ward Las Cruces Stake
Yucca Council 573
1800 23rd St
Alamogordo, NM 88310


Lds Whitefish Ward, Kalispell Stake
Montana Council 315
6330 US Hwy 93 S
Whitefish, MT 59937


Lds Whitehall Ward Pa Reading Stake
Minsi Trails Council 502
1881 Van Buren Dr
Whitehall, PA 18052


Lds Whitehall Ward, Butte Stake
Montana Council 315
P.O. Box 1098
Whitehall, MT 59759


Lds Whitehouse Ward
East Texas Area Council 585
23000 County Rd 145
Bullard, TX 75757


Lds Whiterocks Branch
Utah National Parks 591
4817 E 11500 N
Whiterocks, UT 84085


Lds Whitestone Ward, Cedar Park Stake
Capitol Area Council 564
507 Rolling Brook Ln
Cedar Park, TX 78613


Lds Whitewater Ward Jonesboro Ga Stake
Flint River Council 095
2021 Redwine Rd
Fayetteville, GA 30215


Lds Whitley Ward, Fort Wayne Stake
Anthony Wayne Area 157
3085 E Lincolnway
Columbia City, IN 46725


Lds Whitmer Ward Far West Stake
Heart of America Council 307
13109 Hwy O
Excelsior Springs, MO 64024


Lds Whitney Ranch Ward Green Vly Stake
Las Vegas Area Council 328
410 N Valle Verde Dr
Henderson, Nv 89014


Lds Wild Horse Springs Ward
Layton Legacy Stake
Trapper Trails 589
3161 W 150 N
Layton, Ut 84041


Lds Wild Mare Ward
Utah National Parks 591
6250 E 1200 S
Heber City, UT 84032


Lds Wildhorse Horse Ward‐West Stake
Alamo Area Council 583
10903 Winecup Fld
Helotes, TX 78023


Lds Willamette Ward Lake Oswego Stake
Cascade Pacific Council 492
1395 Rosemont Rd
West Linn, OR 97068


Lds Willamina Ward Monmouth Stake
Cascade Pacific Council 492
900 NW Willamina Dr
Willamina, OR 97396


Lds Williamston Ward ‐ Lansing Stake
Water and Woods Council 782
431 E Saginaw St
East Lansing, MI 48823


Lds Willow Brook Ward
Pleasant View South Stake
Trapper Trails 589
480 W 2000 N
Harrisville, Ut 84414


Lds Willow Creek Ward
Houston North Stake
Sam Houston Area Council 576
22214 Bridgestone Pine Ct
Spring, Tx 77388


Lds Willow Creek Ward
Morgan North Stake
Trapper Trails 589
4270 Cottonwood Canyon Rd
Morgan, Ut 84050


Lds Willow Creek Ward
Utah National Parks 591
1810 W 900 N
Lehi, UT 84043


Lds Willow Creek Ward, Denver Stake
Denver Area Council 061
6061 S Havana St
Englewood, CO 80111


Lds Willow Glen Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
1336 Cherry Ave
San Jose, CA 95125


Lds Willow Haven Ward
Utah National Parks 591
1998 W 900 N
Lehi, UT 84043


Lds Willow Park Ward
Utah National Parks 591
1680 W 700 S
Lehi, UT 84043


Lds Willow Pines Ward
Kaysville Central Stake
Trapper Trails 589
331 S 50 W
Kaysville, Ut 84037


Lds Willow Springs Ward
Utah National Parks 591
8273 N Simpson Springs Rd
Eagle Mountain, UT 84005


Lds Willow Valley Ward
Cache West Stake
Trapper Trails 589
825 N 200 W
Logan, Ut 84321


Lds Willow Wood Ward
Utah National Parks 591
1985 N Main St
Cedar City, UT 84721


Lds Willows Ward
Utah National Parks 591
505 E 900 N
Spanish Fork, UT 84660


Lds Willows Ward Chico Stake
Golden Empire Council 047
810 N Humboldt Ave
Willows, CA 95988


Lds Willows Ward Kirkland Stake
Chief Seattle Council 609
Rose Hill Chapel
7720 126th Ave Ne
Kirkland, WA 98033


Lds Willows Ward Lakes Stake
Las Vegas Area Council 328
9825 W Desert Inn Rd
Las Vegas, NV 89117


Lds Wilmington Branch
Cincinnati Ohio East Stake     Coes
Tecumseh 439
2415 Wayne Rd
Wilmington, Oh 45177


Lds Wilson Ward
East Carolina Council 426
3110 Wshire Dr N
Wilson, NC 27896


Lds Wilsonville Ward Lake Oswego Stake
Cascade Pacific Council 492
29350 SW Town Center Loop E
Wilsonville, OR 97070


Lds Wilton Ward Elk Grove Stake
Golden Empire Council 047
8925 Vintage Park Dr
Sacramento, CA 95829


Lds Winchester Church Of Jesus Christ
Simon Kenton Council 441
6880 Oakridge Rd
Hillsboro, OH 45133


Lds Winchester Hills First
Utah National Parks 591
5338 N Winchester Dr S
St George, UT 84770


Lds Winchester Hills Second Ward
Utah National Parks 591
5300 N Winchester Dr
St George, UT 84770


Lds Winchester Ward
Blue Grass Council 204
General Delivery
Winchester, KY 40391


Lds Winchester Ward, Winchester,Va Stake
Shenandoah Area Council 598
399 Apple Pie Ridge Rd
Winchester, VA 22603


Lds Wind River Ward, Riverton Stake
Greater Wyoming Council 638
85 Sharp Nose Rd
Riverton, WY 82501


Lds Windermere Orlando South
Central Florida Council 083
3001 S Apopka Vineland Rd
Orlando, FL 32835


Lds Windmill South Stake
Las Vegas Area Council 328
6325 W Hacienda
Las Vegas, NV 89113


Lds Windmill Spgs Ward‐Livermore Stake
San Francisco Bay Area Council 028
1501 Hillcrest Ave
Livermore, Ca 94550
Lds Windsor Eighth Ward    Spanish
Utah National Parks 591
1375 N 90 E
Orem, UT 84057


Lds Windsor Fifth Ward
Utah National Parks 591
60 E 1600 N
Orem, UT 84057


Lds Windsor First Ward
Utah National Parks 591
1362 N 430 E
Orem, UT 84097


Lds Windsor Fourth Ward
Utah National Parks 591
1875 N 280 W
Orem, UT 84057


Lds Windsor Meadows 1St Ward
Layton West Stake
Trapper Trails 589
2800 W Gordon Ave
Layton, Ut 84041


Lds Windsor Meadows 2Nd Ward
Clearfield South Stake
Trapper Trails 589
315 Chelemes Way 2200 S
Layton, Ut 84041


Lds Windsor Second Ward
Utah National Parks 591
60 E 1600 N
Orem, UT 84057


Lds Windsor Seventh Ward
Utah National Parks 591
1405 N Main St
Orem, UT 84057
Lds Windsor Sixth Ward
Utah National Parks 591
60 E 1600 N
Orem, UT 84057


Lds Windsor Third Ward
Utah National Parks 591
1405 N Main St
Orem, UT 84057


Lds Windsor Ward Amarillo Tx Stake
Golden Spread Council 562
5401 Bell St
Amarillo, TX 79109


Lds Wines Park Ward
Utah National Parks 591
200 N Center St
Lehi, UT 84043


Lds Wingfield Hills Ward
Sparks East Stake
Nevada Area Council 329
5547 Vista Terrace Ln
Sparks, Nv 89436


Lds Winstead Ward‐Boise N Stk
Ore‐Ida Council 106 ‐ Bsa 106
6711 Nview St
Boise, ID 83704


Lds Winston Ward Roseburg Stake
Oregon Trail Council 697
340 NW Glenhart
Winston, OR 97496


Lds Winston‐Salem Ward
Old Hickory Council 427
4780 Wchester Rd
Winston Salem, NC 27103
Lds Winter Park Orlando
Central Florida Council 083
45 E Par St
Orlando, FL 32804


Lds Winter Quarters Ward Omaha Stake
Mid‐America Council 326
5217 N 54th St
Omaha, NE 68104


Lds Winters Run Ward
Baltimore Area Council 220
2810 Emmorton Rd
Abingdon, MD 21009


Lds Winters Ward Woodland Stake
Golden Empire Council 047
435 Anderson Ave
Winters, CA 95694


Lds Wintersville Pittsburgh West
Ohio River Valley Council 619
437 Powells Lane
Wintersville, OH 43953


Lds Wlake Village 1St Ward
Newbury Park Stake
Ventura County Council 057
32165 Watergate Rd
Westlake Village, Ca 91361


Lds Wolf Hollow First Ward
Utah National Parks 591
1150 E 1240 S
Spanish Fork, UT 84660


Lds Wolf Hollow Second Ward
Utah National Parks 591
870 E Canyon Rd
Spanish Fork, UT 84660
Lds Wolfeboro Ward, Concord Nh Stake
Daniel Webster Council, Bsa 330
5 Storytelling Rock Rd
Wolfeboro, NH 03894


Lds Woodbridge 1St Ward Woodbridge Stake
National Capital Area Council 082
3000 Dale Blvd
Woodbridge, VA 22193


Lds Woodbridge 2Nd Ward Woodbridge Stake
National Capital Area Council 082
3718 Old Bridge Rd
Woodbridge, VA 22192


Lds Woodbridge Stake Potomac River Ward
National Capital Area Council 082
3000 Dale Blvd
Woodbridge, VA 22193


Lds Woodbridge Ward New Haven Stake
Connecticut Yankee Council Bsa 072
990 Racebrook Rd
Woodbridge, CT 06525


Lds Woodburn Ward Keizer Stake
Cascade Pacific Council 492
1000 Country Club Rd
Woodburn, OR 97071


Lds Woodhaven Ward
Utah National Parks 591
7907 N Red River Dr
Eagle Mountain, UT 84005


Lds Woodhaven Ward Tualatin Stake
Cascade Pacific Council 492
17234 SW Meinecke Rd
Sherwood, OR 97140


Lds Woodington Ward
East Carolina Council 426
6655 Hwy 258 S
Deep Run, NC 28525


Lds Woodinville Ward Bothell Stake
Chief Seattle Council 609
16500 124th Ave Ne
Woodinville, WA 98072


Lds Woodland 1St Ward Woodland Stake
Golden Empire Council 047
805 Pioneer
Woodland, CA 95776


Lds Woodland 2Nd Ward Woodland Stake
Golden Empire Council 047
1405 Cottonwood St
Woodland, CA 95695


Lds Woodland Hills Ward Salem
Utah National Parks 591
1185 S Loafer Dr
Woodland Hills, UT 84653


Lds Woodland Park Ward
Colorado Springs Stake
Pikes Peak Council 060
758 Apache Trl
Woodland Park, Co 80863


Lds Woodland Park Ward
Layton Hills Stake
Trapper Trails 589
2400 N University Park Blvd
Layton, Ut 84041


Lds Woodland Park Ward, Los Altos Stake
Pacific Skyline Council 031
1300 Grant Rd
Los Altos, CA 94024


Lds Woodland Springs 2Nd Ward
Alliance Stake
Longhorn Council 662
2509 Trophy Club Rd
Trophy Club, Tx 76262


Lds Woodland Ward Longview Stake
Cascade Pacific Council 492
281 Insel Rd
Woodland, WA 98674


Lds Woodlands 1St Ward
The Woodlands Stake
Sam Houston Area Council 576
P.O. Box 130051
The Woodlands, Tx 77393


Lds Woodlands 2Nd Ward
The Woodlands Stake
Sam Houston Area Council 576
10303 Branch Crossing
The Woodlands, Tx 77382


Lds Woodlands 3Rd Ward
Houston West Stake
Sam Houston Area Council 576
27707 Glen Loch Dr
The Woodlands, Tx 77381


Lds Woodmen Hills Ward‐High Plains Stake
Pikes Peak Council 060
13210 Bandanero Dr
Peyton, CO 80831


Lds Woodmont Ward Albuquerque West Stake
Great Swest Council 412
7100 Woodmount Ave Nw
Albuquerque, NM 87114


Lds Woodruff Ward E Lb Stake
Long Beach Area Council 032
3824 Woodruff Ave
Long Beach, CA 90808
Lds Woods Creek Ward Snohomish Stake
Mount Baker Council, Bsa 606
17372 Tester Rd
Monroe, WA 98272


Lds Woodside Ward
Hacienda Heights Stake 623
Greater Los Angeles Area 033
1307 S Orange Ave
West Covina, Ca 91790


Lds Woodstock Br, Winchester, Va Stake
Shenandoah Area Council 598
901 Ox Rd
Woodstock, Va 22664


Lds Woodstock Ward
Atlanta Area Council 092
2205 Bascomb Carmel Rd
Woodstock, GA 30189


Lds Woodstock Ward, Buffalo Grove Stake
Blackhawk Area 660
2016 Hartland Rd
Woodstock, IL 60098


Lds Woodstown 1St Ward
Cherry Hill Nj Stake
Garden State Council 690
1194 Kings Hwy
Woodstown, Nj 08098


Lds Worcester 1St Ward
Blackstone Valley Stake
Mayflower Council 251
117 Wachusett St
Holden, Ma 01520


Lds Worcester 2Nd Ward
Blackstone Valley Stake
Mayflower Council 251
67 Chester St
Worcester, Ma 01605
Lds Worland 1St Ward, Worland Stake
Greater Wyoming Council 638
500 Sagebrush Dr
Worland, WY 82401


Lds Worland 2Nd Ward, Worland Stake
Greater Wyoming Council 638
500 Sagebrush Dr
Worland, WY 82401


Lds Worland 3Rd Ward, Worland Stake
Greater Wyoming Council 638
500 Sagebrush Dr
Worland, WY 82401


Lds Worthington Ward Col N Stake
Simon Kenton Council 441
7135 Coffman Rd
Dublin, OH 43017


Lds Wridge Ward, Highlands Ranch Stake
Denver Area Council 061
9800 Foothills Canyon Blvd
Highlands Ranch, Co 80129


Lds Wright Ward, Gillette Stake
Greater Wyoming Council 638
P.O. Box 489
Wright, WY 82732


Lds Wright Ward, Gillette Stake
Greater Wyoming Council 638
P.O. Box 68
Wright, WY 82732


Lds Wyoming Ward ‐ Grand Rapids Stake
President Gerald R Ford 781
2670 56th St Sw
Wyoming, MI 49519
Lds Xenia Ward
Dayton Ohio E Stake Does
Tecumseh 439
3072 Shakertown
Beavercreek, Oh 45434


Lds Ximeno Spanish Branch E Lb Stake
Long Beach Area Council 032
1142 Ximeno Ave
Long Beach, CA 90804


Lds Yakima 3Rd Ward/Selah Stake
Grand Columbia Council 614
4307 Englewood Ave
Yakima, WA 98908


Lds Yamhill Ward Mcminnville Stake
Cascade Pacific Council 492
7200 NW Pike Rd
Yamhill, OR 97148


Lds Yellow Creek Ward
Evanston South Stake
Trapper Trails 589
632 Twin Ridge Ave
Evanston, Wy 82930


Lds Yerba Buena Ward ‐ San Jose Stake
Silicon Valley Monterey Bay 055
3975 Mclaughlin Ave
San Jose, CA 95121


Lds Yerington Ward Fallon North Stake
Nevada Area Council 329
600 N Oregon St
Yerington, NV 89447


Lds Ymmia Short Hills Ward Nj
Northern New Jersey Council, Bsa 333
140 White Oak Ridge Rd
Short Hills, NJ 07078
Lds Yokota Servicemen S Branch
Far E Council 803
Psc 78 Box 3593
Apo Ap, 96326


Lds York Ward
The Ch Of Jesus Christ Of Lds
Palmetto Council 549
1130 E Alexander Love Hwy
York, Sc 29745


Lds York Ward, Lancaster Stake
New Birth of Freedom 544
2100 Hollywood Dr
York, PA 17403


Lds Youngstown Ward Youngstown Stake
Great Trail 433
2205 Tibbets‐Wick Rd
Youngstown, OH 44505


Lds Ypsilanti Ward ‐ Ann Arbor Stake
Southern Shores Fsc 783
941 S Grove St
Ypsilanti, MI 48198


Lds Yreka Ward ‐ Medford Stake
Crater Lake Council 491
1001 W Miner St
Yreka, CA 96097


Lds Yuba City Ward Yuba City Stake
Golden Empire Council 047
1470 Butte House Rd
Yuba City, CA 95993


Lds Zilker Park Ward, Austin Stake
Capitol Area Council 564
2111 Parker Ln
Austin, TX 78741


Lds Zillah Ward/Yakima Stake
Grand Columbia Council 614
171 Valleyview Rd
Zillah, WA 98953


Lds, Bristol Ward, Panama City, Fl Stake
Suwannee River Area Council 664
10587 NW Azalea St
Bristol, FL 32321


Lds, Ch Jesus Christ LDS
Fort Stockton
Buffalo Trail Council 567
1802 N Marshall St


Lds, First Ward, Winston‐Salem Stake
Old Hickory Council 427
2780 Wchester Rd
Winston Salem, NC 27103


Lds, First Ward, Winston‐Salem Stake
Old Hickory Council 427
4780 Wchester Rd
Winston Salem, NC 27103


Lds, Glenville Ward, Albany Stake
Twin Rivers Council 364
52 Blue Barns Rd
Rexford, NY 12148


Lds, Greenwich Ward, Albany Stake
Twin Rivers Council 364
111 Academy St
Greenwich, NY 12834


Lds, Hosford Ward, Panama City, Fl Stake
Suwannee River Area Council 664
Hosford Ward
Bristol, FL 32321


Lds, Loudonville Ward, Albany Stake
Twin Rivers Council 364
411 Loudon Rd
Loudonville, NY 12211


Lds, Madison Ward, Tallahassee, Fl Stake
Suwannee River Area Council 664
195 NE Gloriosa Lane
Lee, FL 32059


Lds, Monahans Br, Ft Stockton Distr
Buffalo Trail Council 567
601 W Interstate 20
Monahans, Tx 79756


Lds, Moultrie Ward, Tifton, Ga Stake
Suwannee River Area Council 664
100 W Blvd
Moultrie, GA 31768


Lds, Mountain View Ward, Riverton Stake
Greater Wyoming Council 638
3435 Riverside Dr
Riverton, WY 82501


Lds, N Br Ward, Morristown Nj Stake
Patriots Path Council 358
35 Lamington Rd
Branchburg, Nj 08876


Lds, Palestine Ward, Tyler Stake
East Texas Area Council 585
4400 N Loop 256
Palestine, TX 75803


Lds, Plainview Stake, Riverhead Branch
Suffolk County Council Inc 404
959 Middle Rd
Riverhead, NY 11901


Lds, Plainview Stake, Terryville Ward
Suffolk County Council Inc 404
372 Terryville Rd
Port Jefferson Station, NY 11776
Lds, Saratoga Ward, Albany Stake
Twin Rivers Council 364
1 Glenmore Ave
Saratoga Springs, NY 12866


Lds, Sturgis Ward, Kalamazoo Mi Stake
Southern Shores Fsc 783
1111 N Galyn St
Sturgis, MI 49091


Lds, The Church Of Jesus Christ ‐ Alpine
Buffalo Trail Council 567
43108 A Fm 1703 Sunny Glen Rd
Alpine, TX 79830


Lds, Thomasville Ward
Tallahassee, Fl Stake
Suwannee River Area Council 664
807 Remington Ave
Thomasville, Ga 31792


Lds‐11Th Ward/S L Central Stk
Great Salt Lake Council 590
1164 E S Temple
Salt Lake City, UT 84102


Lds‐1St Ward‐Fairbanks Stake
Midnight Sun Council 696
P.O. Box 81682
Fairbanks, AK 99708


Lds‐21St Ward/S L Emigration Stk
Great Salt Lake Council 590
589 E 18th Ave
Salt Lake City, UT 84103


Lds‐29Th Ward/S L Riverside Stake
Great Salt Lake Council 590
1148 W 500 N
Salt Lake City, UT 84116
Lds‐2Nd Ward‐Fairbanks Stake
Midnight Sun Council 696
3347 Patton St
Fairbanks, AK 99701


Lds‐33Rd Ward/S L Central Stk
Great Salt Lake Council 590
453 S 1100 E
Salt Lake City, UT 84102


Lds‐3Rd Ward‐Fairbanks Stake
Midnight Sun Council 696
490 Kelsey Park Rd
Fairbanks, AK 99712


Lds‐3Rd Ward‐West Stake
Alamo Area Council 583
7100 Wilder St
San Antonio, TX 78250


Lds‐5Th Ward‐Fairbanks Stake
Midnight Sun Council 696
452 Droz Dr
Fairbanks, AK 99701


Lds‐6Th Ward‐Fairbanks Stake
Midnight Sun Council 696
2155 Dragonfly Ct
Fairbanks, AK 99709


Lds‐9Th Ward‐West Stake
Alamo Area Council 583
7420 Huebner
San Antonio, TX 78240


Lds‐Acacia Park Ward‐Fullerton Stake
Orange County Council 039
801 N Raymond Ave
Fullerton, CA 92831


Lds‐Acacia Ward‐Mesa Az South Stk
Grand Canyon Council 010
2334 E Pueblo Ave
Mesa, AZ 85204


Lds‐Academy Park 1St Ward
Kearns Ut East Stake
Great Salt Lake Council 590
4605 Wpoint Dr
Salt Lake City, Ut 84120


Lds‐Adams Hill Ward‐Sa Stake
Alamo Area Council 583
9626 Adams Hill
San Antonio, TX 78245


Lds‐Adelanto Ward‐Victorville Stake
California Inland Empire Council 045
15330 Jeraldo Dr
Victorville, CA 92394


Lds‐Adobe Villa Ward‐Mesa Az
Red Mountain Stk
Grand Canyon Council 010
5350 E Mclellan Rd
Mesa, Az 85205


Lds‐Adora Trails Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
7361 S Constellation Way
Gilbert, Az 85298


Lds‐Afono Branch‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 3346
Pago Pago, AS 96799


Lds‐Agua Fria Spanish Branch‐Peoria Az
Stk
Grand Canyon Council 010
10877 N 77Th Ave
Peoria, Az 85345
Lds‐Agua Fria Ward‐Phoenix Az Stk
Grand Canyon Council 010
8706 W Campbell Ave
Phoenix, AZ 85037


Lds‐Aguila Ward‐Phoenix Az
South Mountain Stk
Grand Canyon Council 010
4125 W Baseline Rd
Laveen, Az 85339


Lds‐Ahwatukee 2Nd Ward‐Tempe Az West Stk
Grand Canyon Council 010
4525 E Knox Rd
Phoenix, AZ 85044


Lds‐Ahwatukee Groves Ward‐Tempe Az
West Stk
Grand Canyon Council 010
1050 W Grove Pkwy
Tempe, Az 85283


Lds‐Aiea Ward‐Honolulu West Stake
Aloha Council, Bsa 104
99‐641 Pohue St
Aiea, HI 96701


Lds‐Ainaola Ward‐Hilo Stake
Aloha Council, Bsa 104
1373 Kilauea Ave
Hilo, HI 96720


Lds‐Airport Heights Ward
Anchorage N Stake
Great Alaska Council 610
2501 Maplewood St
Anchorage, Ak 99508


Lds‐Ajo Ward‐Maricopa Az Stk
Grand Canyon Council 010
91 W 4th Ave
Ajo, AZ 85321
Lds‐Alameda Ward‐San Leandro Stake
Alameda Council Bsa 022
1201 Grand St
Alameda, CA 94501


Lds‐Alameda Ward‐Tempe Az Stk
Grand Canyon Council 010
1221 W Howe St
Tempe, AZ 85281


Lds‐Alamo Ranch Ward‐Sa Stake
Alamo Area Council 583
3644 Talley Rd
San Antonio, TX 78253


Lds‐Alamo Ward‐Danville Stake
Mt Diablo‐Silverado Council 023
2949 Stone Valley Rd
Alamo, CA 94507


Lds‐Albany Ward‐Denham Springs Stake
Istrouma Area Council 211
2503 Old Baton Rouge Hwy
Hammond, LA 70403


Lds‐Albertson Ward
Tuscarora Council 424
3554 N Nc 111 903 Hwy
Albertson, NC 28508


Lds‐Albertson Ward
Tuscarora Council 424
Nc 903 Hwy
Albertson, NC 28508


Lds‐Albion Ward/Sandy Ut East Stk
Great Salt Lake Council 590
1880 E 9800 S
Sandy, UT 84092


Lds‐Alder Ward‐Fontana Stake
California Inland Empire Council 045
7526 Alder Ave
Fontana, CA 92336


Lds‐Aliamanu Ward‐Honolulu West Stake
Aloha Council, Bsa 104
99‐641 Pohue St
Aiea, HI 96701


Lds‐Alicia Park Ward‐Mission Viejo Stake
Orange County Council 039
23850 Los Alisos Blvd
Mission Viejo, CA 92691


Lds‐Aliso Creek Ward
Santa Margarita Stake
Orange County Council 039
24755 Trabuco Rd
Lake Forest, Ca 92630


Lds‐Aliso Viejo Ward‐Laguna Niguel Stake
Orange County Council 039
22851 Aliso Creek
Aliso Viejo, CA 92656


Lds‐Allen Ranch Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
471 E Vermont Dr
Gilbert, Az 85295


Lds‐Allens Camp Ward‐Winslow Az Stk
Grand Canyon Council 010
P.O. Box 513
Joseph City, AZ 86032


Lds‐Alma Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2300 W Javelina Ave
Mesa, AZ 85202


Lds‐Alpine View Ward
Herriman Utah South Stake
Great Salt Lake Council 590
14550 Juniper Crest Rd
Herriman, Ut 84096


Lds‐Alta Heights Ward
Sandy Ut Canyon View Stk
Great Salt Lake Council 590
1500 E 8600 S
Sandy, Ut 84093


Lds‐Alta Loma 1St Ward‐Upland Stake
California Inland Empire Council 045
6525 Sapphire St
Alta Loma, CA 91701


Lds‐Alta Mesa Ward‐Mesa Az Alta Mesa Stk
Grand Canyon Council 010
5205 E Elmwood Cir
Mesa, AZ 85205


Lds‐Alta Murrieta Ward‐Murrieta Stake
California Inland Empire Council 045
38980 Sky Canyon Dr
Murrieta, CA 92563


Lds‐Alta View Ward
Sandy Ut Alta View Stk
Great Salt Lake Council 590
1950 Viscounti Dr
Sandy, Ut 84093


Lds‐Altisima Ward‐Santa Margarita Stake
Orange County Council 039
29441 Altisima
Rancho Santa Margarita, CA 92688


Lds‐Amberwood Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
1704 W Summit Pl
Chandler, AZ 85224
Lds‐Amity Ward‐Eagar Az Stk
Grand Canyon Council 010
P.O. Box 1620
Eagar, AZ 85925


Lds‐Anaheim 10Th Ward‐Anaheim East Stake
Orange County Council 039
441 S Fairmont Blvd
Anaheim, CA 92808


Lds‐Anaheim 1St Ward‐Anaheim Stake
Orange County Council 039
440 N Loara St
Anaheim, CA 92801


Lds‐Anaheim 2Nd Ward‐Anaheim Stake
Orange County Council 039
535 S Rio Vista St
Anaheim, CA 92806


Lds‐Anaheim 6Th Ward‐Anaheim East Stake
Orange County Council 039
5275 E Nohl Ranch Rd
Anaheim, CA 92807


Lds‐Anaheim 8Th Ward‐Anaheim Stake
Orange County Council 039
12742 Lampson Ave
Garden Grove, CA 92840


Lds‐Anderson Ward‐Rogers Stake
Ozark Trails Council 306
147 Mustang Rd
Anderson, MO 64831


Lds‐Andover Ward‐Derby Stake
Quivira Council, Bsa 198
7011 E 13th St N
Wichita, KS 67206


Lds‐Annapolis Ward
Baltimore Area Council 220
1785 Ritchie Hwy
Annapolis, MD 21409


Lds‐Anthem Ward/Fort Herriman Stake
Great Salt Lake Council 590
5658 Yukon Park Ln
Herriman, UT 84065


Lds‐Anthem Ward‐Phoenix Az
Desert Hills Stk
Grand Canyon Council 010
2503 W Anthem Way
Anthem, Az 85086


Lds‐Anthem Ward‐Stv Az Stk
Grand Canyon Council 010
6913 W Pleasant Oak Ct
Florence, AZ 85132


Lds‐Antioch 1St Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
3015 Rio Grande Dr
Antioch, CA 94509


Lds‐Antioch 2Nd Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
3015 Rio Grande Dr
Antioch, CA 94509


Lds‐Anza Branch‐Hemet Stake
California Inland Empire Council 045
39075 Contreras Rd
Anza, CA 92539


Lds‐Apache Park Ward‐Glendale Az
North Stk
Attn Bishop Craig Ashcroft
Grand Canyon Council 010
20516 N 80Th Ln
Peoria, Az 85382


Lds‐Apple Farms Ward/S L Granger Stk
Great Salt Lake Council 590
3751 S 2200 W
West Valley City, UT 84119


Lds‐Appleby Ward‐Chandler Az South Stk
Grand Canyon Council 010
3770 S Cooper Rd
Chandler, AZ 85249


Lds‐Aqua Fria Ward‐Prescott Valley Az
Stk
Grand Canyon Council 010
9684 E Catalina Dr
Prescott Valley, Az 86314


Lds‐Arbors Park Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
4170 S Ranch House Pkwy
Gilbert, Az 85297


Lds‐Arcadia Ward‐Scottsdale Az
Camelback Stk
Grand Canyon Council 010
2202 N 74Th St
Scottsdale, Az 85257


Lds‐Arctic Valley Ward‐Chugach Stake
Great Alaska Council 610
9128 W Parkview Terrace Loop
Eagle River, AK 99577


Lds‐Arizona City Ward‐Casa Grande Az Stk
Grand Canyon Council 010
1555 N Colorado St
Casa Grande, AZ 85122


Lds‐Arkansas City Ward‐Derby Stake
Quivira Council, Bsa 198
6582 322nd Rd
Arkansas City, KS 67005
Lds‐Arlington 1St Ward‐Riverside Stake
California Inland Empire Council 045
4375 Jackson St
Riverside, CA 92503


Lds‐Arlington Heights Ward
Riverside Stake
California Inland Empire Council 045
4375 Jackson St
Riverside, Ca 92503


Lds‐Arlington Ward‐Memphis North Stake
Chickasaw Council 558
12096 Arlington Trl
Arlington, TN 38002


Lds‐Arrowhead Ranch Ward‐Phoenix Az
Tbird Park Stk
Grand Canyon Council 010
5701 W Union Hills Dr
Glendale, Az 85308


Lds‐Arrowhead Ward‐Hesperia Stake
California Inland Empire Council 045
9533 Hickory Ave
Hesperia, CA 92345


Lds‐Ashcreek Ward‐Qc Az North Stk
Grand Canyon Council 010
22692 E Munoz St
Queen Creek, AZ 85142


Lds‐Ashland Ranch Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
1155 E Ray Rd
Gilbert, Az 85295


Lds‐Ashley Heights Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
1865 S Higley Rd
Gilbert, Az 85295
Lds‐Ashley Park Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
10312 Ashley Park Dr
Sandy, Ut 84092


Lds‐Aspen Hills Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
9855 S 2300 E
Sandy, Ut 84092


Lds‐Aspen Ward‐Mesa Az Kimball East Stk
Grand Canyon Council 010
4241 E Edgewood Ave
1429 S 48th St
Mesa, AZ 85206


Lds‐Aspen Ward‐White Mountain Az Stk
Grand Canyon Council 010
P.O. Box 3188
Pinetop, AZ 85935


Lds‐Athens 1St Ward‐Athens Stake
Northeast Georgia Council 101
706 Whitehead Rd
Athens, GA 30606


Lds‐Athens 2Nd Ward‐Athens Stake
Northeast Georgia Council 101
1080 Julian Dr
Watkinsville, GA 30677


Lds‐Aua 1St Ward‐Pago Samoa Stake
Aloha Council, Bsa 104
Aua
American Samoa
Pago Pago, AS 96799


Lds‐Aua 2Nd Ward‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


Lds‐Aua 3Rd Branch‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 5884
Pago Pago, AS 96799


Lds‐Auburn Hills Ward‐Wichita Stake
Quivira Council, Bsa 198
401 N Wlink Ave
Wichita, KS 67212


Lds‐Auburndale Ward‐Corona Stake
California Inland Empire Council 045
3600 Norconian Dr
Norco, CA 92860


Lds‐Augusta Ranch 1St Ward‐Mesa Az
Eastmark Stk
Grand Canyon Council 010
2339 S Crismon Rd
Mesa, Az 85209


Lds‐Augusta Ranch 2Nd Ward‐Mesa Az
Eastmark Stk
Grand Canyon Council 010
9438 E Natal Ave
Mesa, Az 85209


Lds‐Auke Bay Ward‐Juneau Stake
Great Alaska Council 610
10585 Glacier Hwy
Juneau, AK 99801


Lds‐Aunuu Branch‐Pago Samoa Stake
Aloha Council, Bsa 104
Box 1930
Pago Pago, AS 96799


Lds‐Aurora Vista Ward
Herriman Ut South Stk
Great Salt Lake Council 590
14583 Juniper Crest Rd
Herriman, Ut 84096


Lds‐Aurora Ward‐Cinncinati/Lawrenceburg
Hoosier Trails Council 145 145
6168 Martha Dr N
Aurora, IN 47001


Lds‐Aurora Ward‐Monett Stake
Ozark Trails Council 306
12357 Lawrence 1212
Mount Vernon, MO 65712


Lds‐Auto Ward‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 5016
Pago Pago, AS 96799


Lds‐Autumn Hills Ward/Herriman Ut Stk
Great Salt Lake Council 590
5562 W 13680 S
Riverton, UT 84096


Lds‐Auwaiolimu Ward‐Honolulu Stake
Aloha Council, Bsa 104
1931 Lusitana St
Honolulu, HI 96813


Lds‐Ava Ward‐West Plains Stake
Ozark Trails Council 306
P.O. Box 867
Ava, MO 65608


Lds‐Avalon Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
2222 N Val Vista Dr, Unit 1
Mesa, Az 85213


Lds‐Avendale Ward‐Mission Viejo Stake
Orange County Council 039
26176 Antonio Pkwy
Rancho Santa Margarita, CA 92688


Lds‐Avondale Ward‐Phoenix Az
West Maricopa Stk
Grand Canyon Council 010
10930 W Garden Lakes Pkwy
Avondale, Az 85392


Lds‐Badger Mountain Ward‐Kennewick Stake
Blue Mountain Council 604
895 Gage Blvd
Richland, WA 99352


Lds‐Bagdad Ward‐Prescott Az Stk
Grand Canyon Council 010
2 Community Dr
Bagdad, AZ 86321


Lds‐Baker City 1St Ward‐La Grande Stake
Blue Mountain Council 604
2625 Hughes Lane
Baker City, OR 97814


Lds‐Baker City 2Nd Ward‐La Grande Stake
Blue Mountain Council 604
1235 8th St
Baker City, OR 97814


Lds‐Baker Valley Ward‐La Grande Stake
Blue Mountain Council 604
2625 Hughes Lane
Baker City, OR 97814


Lds‐Baker Ward‐Denham Springs Stake
Istrouma Area Council 211
4901 Harding St
Baker, LA 70714


Lds‐Balcones Heights‐North Stake
Alamo Area Council 583
2103 Saint Cloud Rd
San Antonio, TX 78228


Lds‐Ballard Creek/Logan South Stake
Trapper Trails 589
344 W 700 S
Logan, UT 84321


Lds‐Banning Ward‐Yucaipa Stake
California Inland Empire Council 045
6140 W Wilson St
Banning, CA 92220


Lds‐Barrigada Ward
Aloha Council, Bsa 104
620 W Route 8
Barrigada, GU 96913


Lds‐Barstow 1St Ward‐Victorville Stake
California Inland Empire Council 045
2571 Barstow Rd
Barstow, CA 92311


Lds‐Bartlesville
Cherokee Area Council 469 469
1501 Swan Dr
Bartlesville, OK 74006


Lds‐Bartlesville 1St Ward
Cherokee Area Council 469 469
1501 Swan Dr
Bartlesville, OK 74006


Lds‐Bartlesville 2Nd Ward
Cherokee Area Council 469 469
1501 Swan Dr
Bartlesville, OK 74006


Lds‐Bartlesville 3Rd Ward
Cherokee Area Council 469 469
5723 Woodland Rd
Bartlesville, OK 74006
Lds‐Bartlett 2Nd Ward‐Memphis N Stake
Chickasaw Council 558
4195 Kirby Whitten Pkwy
Memphis, Tn 38135


Lds‐Bartlett Ward‐Memphis North Stake
Chickasaw Council 558
4195 Kirby Whitten Pkwy
Memphis, TN 38135


Lds‐Barton Creek Ward
Bountiful Ut Central Stk
Great Salt Lake Council 590
640 S 750 E
Bountiful, Ut 84010


Lds‐Baseline Ward‐Fontana Stake
California Inland Empire Council 045
7526 Alder Ave
Fontana, CA 92336


Lds‐Basin City 2Nd Ward‐Pasco N Stake
Blue Mountain Council 604
160 Bailie Blvd
Mesa, Wa 99343


Lds‐Basin City Ward‐Pasco North Stake
Blue Mountain Council 604
160 Bailie Blvd
Mesa, WA 99343


Lds‐Batesville Ward/Erda Utah Stake
Great Salt Lake Council 590
57 Porter Way
Stanasbury Park, UT 84074


Lds‐Batesville Ward‐Cincinnati
Hoosier Trails Council 145 145
Batesville Ward
1358 Tekulve Rd
Batesville, IN 47006
Lds‐Baton Rouge 2 Ward‐Baton Rouge Stake
Istrouma Area Council 211
10335 Highland Rd
Baton Rouge, LA 70810


Lds‐Baton Rouge 3 Ward‐Baton Rouge Stake
Istrouma Area Council 211
10335 Highland Rd
Baton Rouge, LA 70810


Lds‐Bayshore Ward/Stansbury Park Ut Stk
Great Salt Lake Council 590
252 Amsterdam Dr
Stansbury Park, UT 84074


Lds‐Bayside Ward‐Fremont Stake
San Francisco Bay Area Council 028
36400 Haley St
Newark, CA 94560


Lds‐Baywood Ward‐Mesa Az Clearview Stk
Grand Canyon Council 010
1007 S 72nd St
Mesa, AZ 85208


Lds‐Beach Lake Ward‐Chugach Stake
Great Alaska Council 610
10012 Chandalar St
Eagle River, AK 99577


Lds‐Beach Ward‐Huntington Beach N Stake
Orange County Council 039
6531 Mcfadden Ave
Huntington Beach, Ca 92647


Lds‐Beachside Ward
Huntington Beach Stake
Orange County Council 039
8702 Atlanta Ave
Huntington Beach, Ca 92646
Lds‐Bear Mountain Ward‐Chugach Stake
Great Alaska Council 610
10012 Chandalar St
Eagle River, AK 99577


Lds‐Bear Valley Ward‐Hesperia Stake
California Inland Empire Council 045
10862 Maple Ave
Hesperia, CA 92345


Lds‐Beaumont Ward‐Beaumont Stake
Three Rivers Council 578
7785 Weaver Dr
Beaumont, TX 77706


Lds‐Beaumont Ward‐North Lexington Stake
Blue Grass Council 204
2459 Sir Barton Way
Lexington, KY 40509


Lds‐Beaumont Ward‐Yucaipa Stake
California Inland Empire Council 045
6124 W Wilson St
Banning, CA 92220


Lds‐Bel Aire Ward‐Derby Stake
Quivira Council, Bsa 198
7011 E 13th St N
Wichita, KS 67206


Lds‐Bell Canyon Ward
Sandy Ut Granite View Stk
Great Salt Lake Council 590
9800 S 3100 E
Sandy, Ut 84092


Lds‐Bella Via Ward‐Mesa Az Eastmark Stk
Grand Canyon Council 010
3440 S Signal Butte Rd
Mesa, AZ 85212


Lds‐Bella Vista Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
1865 S Higley Rd
Gilbert, Az 85295


Lds‐Bella Vista Ward‐Stv Az Stk
Grand Canyon Council 010
1350 E Bella Vista
San Tan Valley, AZ 85143


Lds‐Bellair Ward‐Glendale Az North Stk
Grand Canyon Council 010
4901 W Union Hills Dr
Glendale, AZ 85308


Lds‐Bellview Ward
Sandy Utah Central Stake
Great Salt Lake Council 590
1050 Galena Dr
Sandy, Ut 84094


Lds‐Beloit Ward ‐ Rockford Stake
Glaciers Edge Council 620
2535 Austin Pl
Beloit, WI 53511


Lds‐Belview Ward
Murray Ut Little Cottonwood Stk
Great Salt Lake Council 590
6300 S 300 E
Murray, Ut 84107


Lds‐Benicia Ward‐Napa Stake
Mt Diablo‐Silverado Council 023
2254 Havenhill Dr
Benicia, CA 94510


Lds‐Bennetts Creek Ward
Chesapeake Stake
Colonial Virginia Council 595
Bennetts Pasture Rd
Suffolk, Va 23435
Lds‐Bennion 12Th Ward/Bennion Ut Stk
Great Salt Lake Council 590
6550 S 2700 W
West Jordan, UT 84084


Lds‐Bennion 14Th Ward/Bennion Ut Stk
Great Salt Lake Council 590
6550 S 2700 W
Taylorsville, UT 84129


Lds‐Bennion 19Th Ward/Bennion Ut Stk
Great Salt Lake Council 590
6250 S 2200 W
Taylorsville, UT 84129


Lds‐Bennion 1St Ward
Bennion Utah West Stake
Great Salt Lake Council 590
5468 S Appian Way
Taylorsville, Ut 84129


Lds‐Bennion 2Nd Ward/Bennion Ut Stk
Great Salt Lake Council 590
5927 S Jordan Canal Rd
Taylorsville, UT 84129


Lds‐Bennion 4Th Ward/Bennion Ut Stk
Great Salt Lake Council 590
6250 S 2200 W
Taylorsville, UT 84129


Lds‐Bennion 5Th Ward/Bennion Utah Stake
Great Salt Lake Council 590
6100 So. Kamas Dr
Taylorsville, UT 84129


Lds‐Bennion Heights 6Th Ward
Bennion Utah Stake
Great Salt Lake Council 590
5775 S 2700 W
Salt Lake City, Ut 84118
Lds‐Bennion Heights Ward
Bennion Ut West Stk
Great Salt Lake Council 590
3555 W 5620 S
Taylorsville, Ut 84129


Lds‐Bennion Ward/Bennion Ut East Stk
Great Salt Lake Council 590
5980 S 1300 W
Taylorsville, UT 84123


Lds‐Benson Mill Ward
Stansbury Park Ut Stk
Great Salt Lake Council 590
417 Benson Rd
Stansbury Park, Ut 84074


Lds‐Benton City 1St Ward
W Richland Stake
Blue Mountain Council 604
P.O. Box 614
1101 Fay Ave
Benton City, Wa 99320


Lds‐Berkeley Ward‐Oakland Stake
Mt Diablo‐Silverado Council 023
1501 Walnut St
Berkeley, CA 94709


Lds‐Bermuda Dunes Ward‐Palm Desert Stake
California Inland Empire Council 045
72960 Parkview Dr
Palm Desert, CA 92260


Lds‐Bernina Ward/Bennion Ut West Stk
Great Salt Lake Council 590
3045 W Bernina Dr
Taylorsville, UT 84129


Lds‐Bethany Home Ward‐Phoenix Az
North Stk
Grand Canyon Council 010
313 W Berridge Ln
Phoenix, Az 85013


Lds‐Bethel Branch‐Chugach Stake
Great Alaska Council 610
P.O. Box 1757
Bethel, AK 99559


Lds‐Beverly Ward‐Mesa Az Maricopa Stk
Grand Canyon Council 010
1054 W 2nd Pl
Mesa, AZ 85201


Lds‐Big Bear Ward‐Apple Valley Stake
California Inland Empire Council 045
P.O. Box 2038
400 E N Shore Dr
Big Bear City, CA 92314


Lds‐Big Canyon Ward
Stansbury Park Ut Stk
Great Salt Lake Council 590
1366 Canyon Rd
Lake Point, Ut 84074


Lds‐Big Lake Ward‐Wasilla Stake
Great Alaska Council 610
821 E Dellwood St
Wasilla, AK 99654


Lds‐Biltmore Ward‐Phoenix Az East Stk
Grand Canyon Council 010
1835 E Missouri Ave
Phoenix, AZ 85016


Lds‐Birch Hills Ward‐Placentia Stake
Orange County Council 039
151 S Poplar Ave
Brea, CA 92821


Lds‐Bitner Ranch Ward/Park City Ut Stk
Great Salt Lake Council 590
3010 Saddleback Rd
Park City, UT 84098


Lds‐Black Canyon Ward‐Glendale Az Stk
Grand Canyon Council 010
8602 N 31st Ave
Phoenix, AZ 85051


Lds‐Black Canyon Ward‐Silver Creek Az
Stk
Grand Canyon Council 010
P.O. Box 424
Heber, Az 85928


Lds‐Black Hills Ward‐Cottonwood Az Stk
Grand Canyon Council 010
1377 E Hombre Dr
Cottonwood, AZ 86326


Lds‐Bloomingdale Ward‐Schaumburg Stake
Three Fires Council 127
270 Knollwood Dr
Bloomingdale, IL 60108


Lds‐Blue Lagoon Ward
South Florida Council 084
5291 NW 1st St
Miami, FL 33126


Lds‐Bluffdale 10Th Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
14662 S 3200 W.
Bluffdale, Ut 84065


Lds‐Bluffdale 11Th Ward/Bluffdale Ut Stk
Great Salt Lake Council 590
14200 S Redwood Rd
Bluffdale, UT 84065


Lds‐Bluffdale 12Th Ward
Bluffdake Utah Stake
Great Salt Lake Council 590
14400 S Redwood Rd
Bluffdale, Ut 84065


Lds‐Bluffdale 13Th Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
15429 S Iron Horse Blvd
Bluffdale, Ut 84065


Lds‐Bluffdale 14Th Ward
Bluffdale Utahsouth Stake
Great Salt Lake Council 590
1600 W 15000 S
Bluffdale, Ut 84065


Lds‐Bluffdale 15Th Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
14600 S 3200 W
Bluffdale, Ut 84065


Lds‐Bluffdale 1St Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
15429 S Iron Horse Blvd
Bluffdale, Ut 84065


Lds‐Bluffdale 2Nd Ward/Bluffdale Ut Stk
Great Salt Lake Council 590
13911 S 1950 W
Bluffdale, UT 84065


Lds‐Bluffdale 3Rd Ward/Bluffdale Ut Stk
Great Salt Lake Council 590
2742 W 14400 S
Bluffdale, UT 84065


Lds‐Bluffdale 4Th Ward/Bluffdale Ut Stk
Great Salt Lake Council 590
14400 S Redwood Rd
Bluffdale, UT 84065
Lds‐Bluffdale 5Th Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
15000 S Mountainside Dr
Bluffdale, Ut 84065


Lds‐Bluffdale 6Th Ward/Bluffdale Ut Stk
Great Salt Lake Council 590
2742 W 14400 S
Bluffdale, UT 84065


Lds‐Bluffdale 7Th Ward/Bluffdale Ut Stk
Great Salt Lake Council 590
2742 W 14400 S
Bluffdale, UT 84065


Lds‐Bluffdale 8Th Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
2742 W 14400 S
Bluffdale, Ut 84065


Lds‐Bluffdale 9Th Ward
Bluffdale Utah South Stake
Great Salt Lake Council 590
14650 S 3200 W
Bluffdale, Ut 84065


Lds‐Bntfl East Stake 11 Yr Old Scouts
Bntfl Ut East Stake
Great Salt Lake Council 590
650 E 2150 S
Bountiful, Ut 84010


Lds‐Bntfl Shadows Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
1476 N 300 W
Bountiful, Ut 84010


Lds‐Boardman Ward‐Hermiston Stake
Blue Mountain Council 604
68749 Wilson Ln
Boardman, OR 97818


Lds‐Boerne Ward‐La Cantera Stake
Alamo Area Council 583
130 N Someday Dr
Boerne, TX 78006


Lds‐Boiling Spgs Ward
Greenville, Sc East Stake
Palmetto Council 549
3691 Clark Rd
Boiling Springs, Sc 29316


Lds‐Bolingbrook Ward‐Joliet Stake
Three Fires Council 127
7201 Woodridge Dr
Woodridge, IL 60517


Lds‐Bolivar Ward‐Springfield Stake
Ozark Trails Council 306
1575 Mt Gilead Rd
Bolivar, MO 65613


Lds‐Bonneville 1St Ward
S L Bonneville Stk
Great Salt Lake Council 590
1535 Bonneview Dr
Salt Lake City, Ut 84105


Lds‐Bonneville 2Nd Ward
S L Bonneville Stk
Great Salt Lake Council 590
1535 Bonneview Dr
Salt Lake City, Ut 84105


Lds‐Boulder Creek Ward‐Mesa Az
Boulder Creek Stk
Grand Canyon Council 010
3025 S Hawes Rd
Mesa, Az 85212
Lds‐Boulder Mountain Ward‐Mesa Az
Flat Iron Stk
Grand Canyon Council 010
10036 E Brown Rd
Mesa, Az 85207


Lds‐Bountiful 10Th Ward
Bntfl Ut North Stk
Great Salt Lake Council 590
1145 N 200 E
Bountiful, Ut 84010


Lds‐Bountiful 11Th Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
115 E Wicker Ln
Bountiful, Ut 84010


Lds‐Bountiful 12Th Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
1476 N 300 W
Bountiful, Ut 84010


Lds‐Bountiful 13Th Ward
Bntfl Ut North Stk
Great Salt Lake Council 590
1365 N 650 E
Bountiful, Ut 84010


Lds‐Bountiful 14Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
1500 S 600 E
Bountiful, Ut 84010


Lds‐Bountiful 15Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
1250 S Main St
Bountiful, Ut 84010


Lds‐Bountiful 16Th Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
720 E 550 N
Bountiful, Ut 84010


Lds‐Bountiful 17Th Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
600 E 2150 S
Bountiful, Ut 84010


Lds‐Bountiful 18Th Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
165 S 1000 E
Bountiful, Ut 84010


Lds‐Bountiful 19Th Ward
Bntfl Ut North Stk
Great Salt Lake Council 590
1500 N 400 E
Bountiful, Ut 84010


Lds‐Bountiful 1St Ward/Bountiful Ut Stk
Great Salt Lake Council 590
55 N Main St
Bountiful, UT 84010


Lds‐Bountiful 20Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
102 E 1400 S
Bountiful, Ut 84010


Lds‐Bountiful 21St Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
115 E Wicker Ln
Bountiful, Ut 84010


Lds‐Bountiful 22Nd Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
990 N Chaple Dr
Bountiful, Ut 84010


Lds‐Bountiful 23Rd Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
650 E 2150 S
Bountiful, Ut 84010


Lds‐Bountiful 24Th Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
720 E 550 N
Bountiful, Ut 84010


Lds‐Bountiful 25Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
1500 S 600 E
Bountiful, Ut 84010


Lds‐Bountiful 26Th Ward/Bountiful Ut Stk
Great Salt Lake Council 590
200 N 200 W
Bountiful, UT 84010


Lds‐Bountiful 27Th Ward
Bntfl Ut North Stk
Great Salt Lake Council 590
1145 N 200 E
Bountiful, Ut 84010


Lds‐Bountiful 28Th Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
2029 Penman Ln
Bountiful, Ut 84010


Lds‐Bountiful 2Nd Ward
Bntfl Ut Central Stk
Great Salt Lake Council 590
650 S 200 E
Bountiful, Ut 84010
Lds‐Bountiful 30Th Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
2016 S 700 E
Bountiful, Ut 84010


Lds‐Bountiful 31St Ward/Bountiful Ut Stk
Great Salt Lake Council 590
585 E Center St
Bountiful, UT 84010


Lds‐Bountiful 33Rd Ward/Bountiful Ut Stk
Great Salt Lake Council 590
55 N Main St
Bountiful, UT 84010


Lds‐Bountiful 34Th Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
540 N 1200 E
Bountiful, Ut 84010


Lds‐Bountiful 36Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
102 E 1400 S
Bountiful, Ut 84010


Lds‐Bountiful 37Th Ward
Bntfl Ut North Stk
Great Salt Lake Council 590
1500 N 400 E
Bountiful, Ut 84010


Lds‐Bountiful 39Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
1500 S 600 E
Bountiful, Ut 84010


Lds‐Bountiful 3Rd Ward/Bountiful Ut Stk
Great Salt Lake Council 590
55 N Main St
Bountiful, UT 84010


Lds‐Bountiful 41St Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
33 S Moss Hill Dr
Bountiful, Ut 84010


Lds‐Bountiful 43Rd Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
912 N 275 W
Bountiful, Ut 84010


Lds‐Bountiful 45Th Ward
Bntfl Ut East Stk
Great Salt Lake Council 590
115 E Wicker Lane
Bountiful, Ut 84010


Lds‐Bountiful 4Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
102 E 1400 S
Bountiful, Ut 84010


Lds‐Bountiful 50Th Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
33 S Moss Hill Dr
Bountiful, Ut 84010


Lds‐Bountiful 53Rd Ward
Bntfl Ut North Stk
Great Salt Lake Council 590
1350 N 650 E
Bountiful, Ut 84010


Lds‐Bountiful 54Th Ward
Bntfl Ut Heights Stk
Great Salt Lake Council 590
540 N 1200 E
Bountiful, Ut 84010


Lds‐Bountiful 58Th Ward/Bountiful Ut Stk
Great Salt Lake Council 590
200 N 200 W
Bountiful, UT 84010


Lds‐Bountiful 5Th Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
1000 N 100 W
Bountiful, Ut 84010


Lds‐Bountiful 6Th Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
1335 W 1500 S
Woods Cross, Ut 84087


Lds‐Bountiful 7Th Ward
Bntfl Ut South Stk
Great Salt Lake Council 590
1250 S Main St
Bountiful, Ut 84010


Lds‐Bountiful 9Th Ward/Bountiful Ut Stk
Great Salt Lake Council 590
585 E Center St
Bountiful, UT 84010


Lds‐Bountiful Hills Ward
Bntfl Ut Central Stk
Great Salt Lake Council 590
1190 Bountiful Hills Dr
Bountiful, Ut 84010


Lds‐Bountiful Ut Val Verda Stake
Great Salt Lake Council 590
2651 S 500 W
Bountiful, UT 84010
Lds‐Bourdon Ranch Ward‐Silver Creek Az
Stk
Grand Canyon Council 010
P.O. Box 824
Taylor, Az 85939


Lds‐Bowman Ward
Hawkeye Area Council 172
4150 Blue Jay Dr Ne
Cedar Rapids, IA 52402


Lds‐Bradshaw Ward‐Prescott Az Stk
Grand Canyon Council 010
124 S Arizona Ave
Prescott, AZ 86303


Lds‐Brainerd Ward
Central Minnesota 296
101 Buffalo Hills Ln W
Brainerd, MN 56401


Lds‐Branson W Ward‐Spgfield S Stake
Ozark Trails Council 306
9113 W Hwy 76
Branson W, Mo 65737


Lds‐Branson Ward 1‐Spgfield S Stake
Ozark Trails Council 306
224 Church Rd
Branson, Mo 65616


Lds‐Branson Ward 2‐Spgfield S Stake
Ozark Trails Council 306
224 Church Rd
Branson, Mo 65616


Lds‐Braun Heights Ward‐West Stake
Alamo Area Council 583
7100 Wilder St
San Antonio, TX 78250


Lds‐Brayton Ward‐Anchorage Stake
Great Alaska Council 610
13120 Sues Way
Anchorage, AK 99516


Lds‐Brea Hills Ward‐Placentia Stake
Orange County Council 039
151 S Poplar Ave
Brea, CA 92821


Lds‐Brenner Pass Ward‐Qc Az South Stk
Grand Canyon Council 010
32584 N Gary Rd
Queen Creek, AZ 85142


Lds‐Brentwood 1St Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
1101 Mcclarren Rd
Brentwood, CA 94513


Lds‐Brentwood 2Nd Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
1875 Highland Way
Brentwood, CA 94513


Lds‐Brentwood 3Rd Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
1101 Mcclarren Rd
Brentwood, CA 94513


Lds‐Brentwood Ward‐Victorville Stake
California Inland Empire Council 045
P.O. Box 888
Helendale, CA 92342


Lds‐Briarwood Ward/Centerville Ut Stk
Great Salt Lake Council 590
950 N Main St
Centerville, UT 84014


Lds‐Briarwood Ward/S L Granger Stake
Great Salt Lake Council 590
3751 S 2200 W
Salt Lake City, UT 84119


Lds‐Brickyard Ward/S L Grant Stk
Great Salt Lake Council 590
1111 Charlton Ave
Salt Lake City, UT 84106


Lds‐Bridgeside Ward
Taylorsville Utah Stake
Great Salt Lake Council 590
1023 W Meadow Hollow Cv
Taylorsville, Ut 84123


Lds‐Bridlegate Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3627 E Indigo Bay Ct
Gilbert, Az 85234


Lds‐Bridlewood Ward
Bountiful Ut Orchard Stk
Great Salt Lake Council 590
65 Monarch Dr
Bountiful, Ut 84010


Lds‐Brigham City 23Rd Ward
Brigham City North Stake
Trapper Trails 589
811 N 500 E
Brigham City, Ut 84302


Lds‐Brigham City Ward‐Winslow Az Stk
Grand Canyon Council 010
221 W Hillview St
Winslow, AZ 86047


Lds‐Brighton 1St Ward/S L Brighton Stk
Great Salt Lake Council 590
2925 E Bengal Blvd
Salt Lake City, UT 84121


Lds‐Brighton 2Nd Ward/S L Brighton Stk
Great Salt Lake Council 590
2925 E Bengal Blvd
Cottonwood Heights, UT 84121


Lds‐Brighton 3Rd Ward/S L Brighton Stk
Great Salt Lake Council 590
2301 Bengal Blvd
Salt Lake City, UT 84121


Lds‐Brighton 4Th Ward
Salt Lake Brighton Stake
Great Salt Lake Council 590
2895 E Creek Rd
Cottonwood Heights, Ut 84121


Lds‐Brighton 5Th Ward/S L Brighton Stk
Great Salt Lake Council 590
2301 E Bengal Blvd
Salt Lake City, UT 84121


Lds‐Brighton 6Th Ward/S L Brighton Stk
Great Salt Lake Council 590
2925 E Bengal Blvd
Cottonwood Heights, UT 84121


Lds‐Brighton 7Th Ward/S L Brighton Stk
Great Salt Lake Council 590
2895 E Creek Rd
Sandy, UT 84093


Lds‐Brighton Point Ward/S L Butler Stk
Great Salt Lake Council 590
3455 Bengal Blvd
Salt Lake City, UT 84121


Lds‐Brighton Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3572 E Guadalupe Rd
Gilbert, Az 85234


Lds‐Brimhall Ward‐Mesa Az Clearview Stk
Grand Canyon Council 010
1249 S 48th St
Mesa, AZ 85206


Lds‐Bristol Ward‐Santa Ana So Stake
Orange County Council 039
2500 N Bristol St
Santa Ana, CA 92706


Lds‐Broadway Ward
Tooele Ut Valley View Stk
Great Salt Lake Council 590
310 E 1000 N
Tooele, Ut 84074


Lds‐Brookhaven Ward/S L Hunter East Stk
Great Salt Lake Council 590
4980 W 3285 S
West Valley City, UT 84120


Lds‐Brookhollow Ward‐Tulsa Ok Stake
Indian Nations Council 488
12110 E 7th St
Tulsa, OK 74128


Lds‐Brookhurst Ward
Centerville Ut North Stk
Great Salt Lake Council 590
1100 N 400 W
Centerville, Ut 84014


Lds‐Brooks Farm Ward‐Chandler Az
South Stk
Grand Canyon Council 010
3617 E Kaibab Pl
Chandler, Az 85249


Lds‐Brookshire Ward/Bennion Ut East Stk
Great Salt Lake Council 590
6596 S River Edge Ln
Murray, UT 84123
Lds‐Brookshire Ward/S L Grant Stk
Great Salt Lake Council 590
3487 S 1300 E
Salt Lake City, UT 84106


Lds‐Brookvale Ward‐Hayward Stake
San Francisco Bay Area Council 028
3551 Decoto Rd
Fremont, CA 94555


Lds‐Brookwood Ward/Rvrtn Ut North Stk
Great Salt Lake Council 590
1900 W 11970 S
Riverton, UT 84065


Lds‐Brunswick 1St   2Nd Ward
Kingsland Ga Stake
Coastal Georgia Council 099
3631 Community Rd
Brunswick, Ga 31520


Lds‐Bsa Ward
Stake Sycamores 7Th Ward
Wj Ut Sycamores Stake
Great Salt Lake Council 590
7580 W 7980 S
West Jordan, Ut 84084


Lds‐Bttrfld Cyn 8Th Ward
Herriman Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
6719 W Valynn Dr
Herriman, Ut 84096


Lds‐Buckeye 1St Ward‐Buckeye Az Stk
Grand Canyon Council 010
25800 W Sern Ave
Buckeye, AZ 85326


Lds‐Buckeye 2Nd Ward‐Buckeye Az Stk
Grand Canyon Council 010
25800 W Sern Ave
Buckeye, AZ 85326
Lds‐Buckskin Canyon Ward‐Silver Creek Az
Stk
Grand Canyon Council 010
P.O. Box 58
Heber, Az 85928


Lds‐Buena Park 3Rd Ward‐Santa Ana So Stk
Orange County Council 039
2137 W Fir Ave
Anaheim, CA 92801


Lds‐Buena Park Ward‐Cypress Stake
Orange County Council 039
7600 Crescent Ave
Buena Park, CA 90620


Lds‐Buena Vista Branch Spanish
Sl Pioneer Stk
Great Salt Lake Council 590
Emery St 500 S
Salt Lake City, Ut 84104


Lds‐Buffalo Ridge Ward‐Phoenix Az
Deer Valley Stk
Grand Canyon Council 010
2939 W Rose Garden Ln
Phoenix, Az 85027


Lds‐Buna Ward‐Beaumont Stake
Three Rivers Council 578
P.O. Box 1090
Buna, TX 77612


Lds‐Burke Lane Ward
Farmington Ut West Steak
Great Salt Lake Council 590
2230 S 350 E
Farmington, Ut 84025


Lds‐Burlington Branch‐Topeka Stake
Jayhawk Area Council 197
518 Jason St
Burlington, KS 66839


Lds‐Butler 10Th Ward/S L Butler West Stk
Great Salt Lake Council 590
6600 Greenfield Way
Salt Lake City, UT 84121


Lds‐Butler 11Th Ward/S L Butler West Stk
Great Salt Lake Council 590
1845 E 7200 S
Salt Lake City, UT 84121


Lds‐Butler 18Th Ward/S L Butler West Stk
Great Salt Lake Council 590
6634 Greenfield Way
Salt Lake City, UT 84121


Lds‐Butler 20Th Ward/S L Butler West Stk
Great Salt Lake Council 590
1355 E 7200 S
Cottonwood Heights, UT 84121


Lds‐Butler 27Th Ward/S L Butler West Stk
Great Salt Lake Council 590
1845 E 7200 S
Salt Lake City, UT 84121


Lds‐Butler 33Rd Ward/S L Butler West Stk
Great Salt Lake Council 590
1845 E 7200 S
Salt Lake City, UT 84121


Lds‐Butler 4Th Ward/S L Butler West Stk
Great Salt Lake Council 590
6600 Greenfield Way
Cottonwood Heights, UT 84121


Lds‐Butler 7Th Ward/S L Butler West Stk
Great Salt Lake Council 590
1355 E 7200 S
Salt Lake City, UT 84121
Lds‐Butler Hill Ward/S L Butler Stk
Great Salt Lake Council 590
2695 E 7000 S
Salt Lake City, UT 84121


Lds‐Butler Ward‐Pittsburgh Pa North
Moraine Trails Council 500
365 Sawmill Run Rd
Butler, PA 16001


Lds‐Butte Ward‐Hermiston Stake
Blue Mountain Council 604
850 SW 11th St
Hermiston, OR 97838


Lds‐Buttercup Ward/Sandy Ut East Stk
Great Salt Lake Council 590
1600 Buttercup Dr
Sandy, UT 84092


Lds‐Butterfield Canyon 10Th Ward
Hrrmn Ut Bttrfid Cyn Stk
Great Salt Lake Council 590
13768 So 6400 W
Herriman, Ut 84096


Lds‐Butterfield Canyon 12Th Ward
Herriman Ut Butterfield Cyn Stk
Great Salt Lake Council 590
6719 W Valynn Dr
Herriman, Ut 84096


Lds‐Butterfield Cyn 11Th Ward
Herriman Ut Butterfield Cyn Stk
Great Salt Lake Council 590
6719 W Valynn Dr
Herriman, Ut 84096


Lds‐Butterfield Cyn 1St Ward
Hrrmn Ut Btrfld Cyn Stk
Great Salt Lake Council 590
6719 W Valynn Dr
Herriman, Ut 84096


Lds‐Butterfield Cyn 2Nd Ward
Hrrmn Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
14398 S 6400 W
Herriman, Ut 84096


Lds‐Butterfield Cyn 3Rd Ward
Hrrmn Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
6547 W Cora B Ln
Herriman, Ut 84096


Lds‐Butterfield Cyn 4Th Ward
Hrrmn Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
6986 Mccuiston Ave
Herriman, Ut 84096


Lds‐Butterfield Cyn 5Th Ward
Hrrmn Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
6986 W Mccuiston Ave
Herriman, Ut 84096


Lds‐Butterfield Cyn 6Th Ward
Hrrmn Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
13768 S 6400 W.
Herriman, Ut 84096


Lds‐Butterfield Cyn 7Th Ward
Hrrmn Ut Bttrfld Cyn Stk
Great Salt Lake Council 590
6986 Mccuiston Ave
Herriman, Ut 84096


Lds‐Butterfield Stage Ward
Temecula Stake
California Inland Empire Council 045
32374 Pauba Rd
Temecula, Ca 92592


Lds‐Butterfield Ward‐Maricopa Az Stk
Grand Canyon Council 010
20565 Dr Horton Dr
Maricopa, AZ 85138


Lds‐Cactus Lane Ward‐Surprise Az
West Stk
Grand Canyon Council 010
15880 W Cactus Rd
Surprise, Az 85379


Lds‐Cactus View Ward‐Phoenix Az
Deer Valley Stk
Grand Canyon Council 010
220 W Grovers Ave
Phoenix, Az 85023


Lds‐California Oaks Ward‐Murrieta Stake
California Inland Empire Council 045
24820 Las Brisas Rd
Murrieta, CA 92562


Lds‐Cambria Ward‐Stv Az North Stk
Grand Canyon Council 010
22424 S Meridian Rd
Queen Creek, AZ 85142


Lds‐Camden Ward‐Dover De Stake
Del Mar Va 081
237 Lebanon Rd
Dover, DE 19901


Lds‐Camelot Park Ward/W J Ut East Stk
Great Salt Lake Council 590
7255 S 2200 W
West Jordan, UT 84084


Lds‐Camelview Ward‐Scottsdale Az
Camelback Stk
Grand Canyon Council 010
3940 N 44Th Pl
Phoenix, Az 85018


Lds‐Cameo Park Ward
Sandy Ut Alta View Stk
Great Salt Lake Council 590
8945 S 1700 E
Sandy, Ut 84093


Lds‐Cameron Ranch Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3580 E Houston Ave
Gilbert, Az 85234


Lds‐Campo Verde Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
3307 S Greenfield Rd
Gilbert, Az 85297


Lds‐Campobello Ward‐Phoenix Az
Deer Valley Stk
Grand Canyon Council 010
15016 N 39Th Ave
Phoenix, Az 85053


Lds‐Candy Mtn Ward‐W Richland Stake
Blue Mountain Council 604
3701 Watkins Way
West Richland, Wa 99353


Lds‐Cannon 1St Ward/S L Cannon Stk
Great Salt Lake Council 590
934 W Fremont Ave
Salt Lake City, UT 84104


Lds‐Cannon 2Nd Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
1172 Glendale Dr
Salt Lake City, Ut 84104
Lds‐Cannon 3Rd Ward/S L Cannon Stk
Great Salt Lake Council 590
1301 S 1200 W
Salt Lake City, UT 84104


Lds‐Cannon 5Th Ward/S L Cannon Stk
Great Salt Lake Council 590
1250 W 1400 S
Salt Lake City, UT 84104


Lds‐Cannon 7Th Ward/S L Cannon Stk
Great Salt Lake Council 590
934 W Fremont Ave
Salt Lake City, UT 84104


Lds‐Cannon 9Th Ward/S L Cannon Stk
Great Salt Lake Council 590
1250 W 1400 S
Salt Lake City, UT 84104


Lds‐Canyon Creek Ward
Tooele Ut Valley View Stk
Great Salt Lake Council 590
332 E 1000 N
Tooele, Ut 84074


Lds‐Canyon Creek Ward/S L Butler Stk
Great Salt Lake Council 590
6769 S Walker Mill Dr
Cottonwood Heights, UT 84121


Lds‐Canyon Crest Ward‐Riverside Stake
California Inland Empire Council 045
181 W Blaine St
Riverside, CA 92507


Lds‐Canyon Estates Ward
Bntfl Ut North Canyon Stk
Great Salt Lake Council 590
965 Oakwood Dr
Bountiful, Ut 84010
Lds‐Canyon Hills Ward
Lake Elsinore Stake
California Inland Empire Council 045
34350 Almond
Lake Elsinore, Ca 92530


Lds‐Canyon Lake Br‐Hill Country Stake
Alamo Area Council 583
41301 Fm 3159
Canyon Lake, Tx 78133


Lds‐Canyon Park Ward
Bntfl Ut Central Stk
Great Salt Lake Council 590
Bountiful Hills Dr
Bountiful, Ut 84010


Lds‐Canyon Ridge Ward/S L Butler Stk
Great Salt Lake Council 590
2695 E 7000 S
Salt Lake City, UT 84121


Lds‐Canyon Rim 1St Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
3100 E 3000 S
Salt Lake City, Ut 84109


Lds‐Canyon Rim 2Nd Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
3100 E 3000 S
Salt Lake City, Ut 84109


Lds‐Canyon Rim 3Rd Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
3051 S 2900 E
Salt Lake City, Ut 84109


Lds‐Canyon Rim 4Th Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
3051 S 2900 E
Salt Lake City, Ut 84109


Lds‐Canyon Rim Ward/Sandy Ut Central Stk
Great Salt Lake Council 590
1050 Galena Dr
Sandy, UT 84094


Lds‐Canyon Rock Ward‐Stv Az Stk
Grand Canyon Council 010
1521 E Bella Vista Rd
San Tan Valley, AZ 85143


Lds‐Canyon Springs‐Hill Country Stake
Alamo Area Council 583
31355 Stahl Ln
Bulverde, TX 78163


Lds‐Canyon Trails Ward‐Surprise Az
West Stk
Grand Canyon Council 010
425 N Estrella Pkwy
Goodyear, Az 85338


Lds‐Canyon View Ward
Cntrvll Ut Canyon View Stk
Great Salt Lake Council 590
210 E 1825 N
Centerville, Ut 84014


Lds‐Canyon View Ward
Frmngtn Ut North Stk
Great Salt Lake Council 590
900 Compton Rd
Farmington, Ut 84025


Lds‐Canyon View Ward
Sandy Ut Canyon View Stk
Great Salt Lake Council 590
9119 S 1300 E
Sandy, Ut 84094
Lds‐Capistrano Ward‐San Clemente Stake
Orange County Council 039
27291 Alicia Pkwy
Laguna Niguel, CA 92677


Lds‐Capitol Hill Ward/Salt Lake Stake
Great Salt Lake Council 590
413 W Capitol St
Salt Lake City, UT 84103


Lds‐Captain S Island Ward
Stansbury Park UT So Stk
Great Salt Lake Council 590
5899 Bayshore Dr
Stansbury Park, Ut 84074


Lds‐Carbondale Ward
Cape Girardeau Mo Stake
Greater St Louis Area Council 312
7168 Old Hwy 13
Carbondale, Il 62901


Lds‐Carlsbad ‐ Carlsbad 1St Ward
San Diego Imperial Council 049
1975 Chestnut Ave
Carlsbad, CA 92008


Lds‐Carlsbad ‐ Carlsbad 3Rd Ward
San Diego Imperial Council 049
1975 Chestnut Ave
Carlsbad, CA 92008


Lds‐Carlsbad ‐ Carlsbad 4Th Ward
San Diego Imperial Council 049
1981 Chestnut Ave
Carlsbad, CA 92008


Lds‐Carlsbad ‐ Oceanside 1St Ward
San Diego Imperial Council 049
2080 California St
Oceanside, CA 92054
Lds‐Carlsbad ‐ Oceanside 3Rd Ward
San Diego Imperial Council 049
3990 Mesa Dr
Oceanside, CA 92056


Lds‐Carlsbad ‐ Oceanside 4Th Ward    Nr
San Diego Imperial Council 049
2080 California St
Oceanside, CA 92054


Lds‐Carlsbad ‐ Oceanside 5Th Ward    Sp
San Diego Imperial Council 049
3990 Mesa Dr
Oceanside, CA 92056


Lds‐Carlsbad ‐ Rancho Del Oro Ward
San Diego Imperial Council 049
3990 Mesa Dr
Oceanside, CA 92056


Lds‐Carr Fork Ward/Tooele Ut East Stk
Great Salt Lake Council 590
2032 Churchwood Dr
Tooele, UT 84074


Lds‐Carthage Ward‐Monett Stake
Ozark Trails Council 306
1338 E Fairview Ave
Carthage, MO 64836


Lds‐Casa Grande 1St Ward‐Casa Grande Az
Stk
Grand Canyon Council 010
787 E Kortsen Rd
Casa Grande, Az 85122


Lds‐Casa Grande 2Nd Ward‐Casa Grande Az
Stk
Grand Canyon Council 010
1555 N Colorado St
Casa Grande, Az 85122
Lds‐Casa Grande 3Rd Ward‐Casa Grande Az
Stk
Grand Canyon Council 010
787 E Kortsen Rd
Casa Grande, Az 85122


Lds‐Casa Grande 5Th Ward‐Casa Grande Az
Stk
Grand Canyon Council 010
2841 N Trekell Rd
Casa Grande, Az 85122


Lds‐Cascade Ward‐Kennewick East Stake
Blue Mountain Council 604
5201 S Dayton Pl
Kennewick, WA 99337


Lds‐Cassvilleward‐Monett Stake
Ozark Trails Council 306
9671 Fr 2230
Cassville, MO 65625


Lds‐Castle Hills Ward‐North Stake
Alamo Area Council 583
2103 Saint Cloud Rd
San Antonio, TX 78228


Lds‐Castlegate 1St Ward‐Qc Az
Ocotillo Stk
Grand Canyon Council 010
3555 E Sandwick Dr
San Tan Valley, Az 85140


Lds‐Castlegate 2Nd Ward‐Qc Az
Ocotillo Stk
Grand Canyon Council 010
4148 E Brae Voe Way
San Tan Valley, Az 85140


Lds‐Castlegate 3Rd Ward‐Qc Az
Ocotillo Stk
Grand Canyon Council 010
2717 E Ocotillo Rd
San Tan Valley, Az 85140


Lds‐Castlewood Ward
Riverton Ut Wstrn Sprgs Stk
Great Salt Lake Council 590
12691 S 3600 W
Riverton, Ut 84065


Lds‐Castro Valley Ward‐San Leandro Stake
San Francisco Bay Area Council 028
3900 Seven Hills Rd
Castro Valley, CA 94546


Lds‐Castro Vly 3Rd Ward‐Oakland E Stake
San Francisco Bay Area Council 028
3900 Seven Hills Rd
Castro Valley, Ca 94546


Lds‐Catalina Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
1520 S Catalina
Gilbert, Az 85233


Lds‐Cave Creek Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
38008 N Basin Rd
Cave Creek, Az 85331


Lds‐Cedar Breaks Ward
Bennion Ut East Stk
Great Salt Lake Council 590
5452 S 2200 W
Taylorsville, Ut 84129


Lds‐Cedar Point Ward/Herriman Ut Stk
Great Salt Lake Council 590
5562 W 13680 S
Riverton, UT 84096
Lds‐Cedar Ridge Ward‐Tulsa Ok Stake
Indian Nations Council 488
1701 N Hickory Ave
Broken Arrow, OK 74012


Lds‐Cedar River Ward
Hawkeye Area Council 172
4150 Blue Jay Dr Ne
Cedar Rapids, IA 52402


Lds‐Centennial 1St Ward‐Centennial Az
Stk
Grand Canyon Council 010
P.O. Box 947
Taylor, Az 85939


Lds‐Centennial 2Nd Ward‐Centennial Az
Stk
Grand Canyon Council 010
175 E 9Th St S
Snowflake, Az 85937


Lds‐Centennial 3Rd Ward‐Centennial Az
Stk
Grand Canyon Council 010, 9Th S 2Nd W
Snowflake, Az 85937


Lds‐Centennial 4Th Ward‐Centennial Az
Stk
Grand Canyon Council 010
79 E Austin Dr
Snowflake, Az 85937


Lds‐Centennial 5Th Ward‐Centennial Az
Stk
Grand Canyon Council 010
309 W Willow Ln
Taylor, Az 85939


Lds‐Centennial 6Th Ward‐Centennial Az
Stk
Grand Canyon Council 010
P.O. Box 1010
Taylor, Az 85939


Lds‐Centennial 8Th Ward‐Centennial Az
Stk
Grand Canyon Council 010
P.O. Box 889
Taylor, Az 85939


Lds‐Centennial Park Ward/S L Hunter Stk
Great Salt Lake Council 590
3372 Merry Ln
Salt Lake City, UT 84120


Lds‐Centennial Ward‐Mesa Az North Stk
Grand Canyon Council 010
422 E University Dr
Mesa, AZ 85203


Lds‐Centennial Ward‐Ontario Stake
California Inland Empire Council 045
3450 Creekside Dr
Ontario, CA 91761


Lds‐Centennial Ward‐Peoria Az Stk
Grand Canyon Council 010
15780 N 78th Dr
Peoria, AZ 85382


Lds‐Centennial Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
26023 S Lemon Ave
Queen Creek, Az 85142


Lds‐Center 3Rd Ward/S L Riverside Stake
Great Salt Lake Council 590
1955 W 400 N
Salt Lake City, UT 84116


Lds‐Centerville 11Th Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
270 N 300 E
Centerville, Ut 84014


Lds‐Centerville 19Th Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
900 S 400 E
Centerville, Ut 84014


Lds‐Centerville 1St Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
160 S 300 E
Centerville, Ut 84014


Lds‐Centerville 20Th Ward
Cntrvll Ut Canyon View Stk
Great Salt Lake Council 590
210 E 1825 N
Centerville, Ut 84014


Lds‐Centerville 2Nd Ward
Cntrvll Ut Canyon View Stk
Great Salt Lake Council 590
111 Carrington Ln
Centerville, Ut 84014


Lds‐Centerville 3Rd Ward
Cntrvlle Ut South Stk
Great Salt Lake Council 590
900 S 400 E
Centerville, Ut 84014


Lds‐Centerville 5Th Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
270 N 300 E
Centerville, Ut 84014


Lds‐Centerville 6Th Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
900 S 400 E
Centerville, Ut 84014


Lds‐Centerville 7Th Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
270 N 300 E
Centerville, Ut 84014


Lds‐Centerville 8Th Ward
Cntrvll Ut Canyon View Stk
Great Salt Lake Council 590
2110 N Main St
Centerville, Ut 84014


Lds‐Centerville 9Th Ward
Cntrvll Ut Canyon View Stk
Great Salt Lake Council 590
1475 N 50 E
Centerville, Ut 84014


Lds‐Centerville Canyon Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
160 S 300 E
Centerville, Ut 84014


Lds‐Centerville Ward‐Conyers Stake
Northeast Georgia Council 101
3930 Mink Livsey Rd
Snellville, GA 30039


Lds‐Centerville Ward‐Fremont Stake
San Francisco Bay Area Council 028
38134 Temple Way
Fremont, CA 94536


Lds‐Central 2Nd Ward‐Pima Stake
Grand Canyon Council 010
P.O. Box 1029
Thatcher, AZ 85552


Lds‐Central Park Ward
South Salt Lake Stake
Great Salt Lake Council 590
304 E 2700 S
Salt Lake City, Ut 84115


Lds‐Central Park Ward‐Fremont Stake
San Francisco Bay Area Council 028
810 Walnut Ave
Fremont, CA 94536


Lds‐Central Park/Logan South Stake
Trapper Trails 589
195 S 100 E
Logan, UT 84321


Lds‐Central Ward‐Phoenix Az East Stk
Grand Canyon Council 010
47 E Ashland Ave
Phoenix, AZ 85004


Lds‐Central Ward‐Pima Stake
Grand Canyon Council 010
P.O. Box 198
Central, AZ 85531


Lds‐Centralia Stake‐Centralia
Pacific Harbors Council, Bsa 612
2801 Mount Vista Rd
Centralia, WA 98531


Lds‐Centralia Stake‐Chehalis
Pacific Harbors Council, Bsa 612
2195 Jackson Hwy
Chehalis, WA 98532


Lds‐Centralia Stake‐Cowlitz
Pacific Harbors Council, Bsa 612
102‐30 Crumb Rd
Morton, WA 98356


Lds‐Centralia Stake‐Mountain View
Pacific Harbors Council, Bsa 612
168 Ridgecrest Dr
Toledo, WA 98591


Lds‐Centralia Stake‐Pleasant Valley
Pacific Harbors Council, Bsa 612
2195 Jackson Hwy
Chehalis, WA 98532


Lds‐Centralia Stake‐Scatter Creek
Pacific Harbors Council, Bsa 612
18501 Paulson Rd
Rochester, WA 98579


Lds‐Century Gardens Ward‐Mesa Az
Clearview Stk
Grand Canyon Council 010
633 S Higley Rd
Mesa, Az 85206


Lds‐Chaffey Ward‐Rancho Cucamonga Stake
California Inland Empire Council 045
5474 Have Ave
Rancho Cucamonga, CA 91730


Lds‐Chandler Heights Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
26023 S Lemon Rd
Queen Creek, Az 85142


Lds‐Chaparral Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
2958 S Recker Rd
Gilbert, Az 85295


Lds‐Chaparral Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
6840 E Gold Dust Ave
Paradise Valley, Az 85253
Lds‐Chaparral Ward‐Temecula Stake
California Inland Empire Council 045
29657 N General Kearny Rd
Temecula, CA 92591


Lds‐Charing Cross Ward
Rvrtn Ut South Stk
Great Salt Lake Council 590
2361 W 13400 S
Riverton, Ut 84065


Lds‐Charleston Second Ward
Buckskin 617
Lds Chapel
Charleston, WV 25302


Lds‐Chase Lane Ward/Cntrvll Ut North Stk
Great Salt Lake Council 590
1100 N 400 W
Centerville, UT 84014


Lds‐Chester Vly Ward‐Anchorage N Stake
Great Alaska Council 610
2240 Baxter Rd
Anchorage, Ak 99504


Lds‐Chesterfield Ward‐Spgfield S Stake
Ozark Trails Council 306
4450 S Farm Rd 141
Springfield, Mo 65810


Lds‐Chevy Chase Ward/S L So Ctnwd Stake
Great Salt Lake Council 590
1154 E Castlecreek Cir
Salt Lake City, UT 84117


Lds‐Chino Heritage Ward‐Chino Stake
California Inland Empire Council 045
3332 Eucalyptus St
Chino, CA 91710


Lds‐Chugach Foothills Ward‐Chugach Stake
Great Alaska Council 610
8000 E 36th Ave
Anchorage, AK 99504


Lds‐Chula Vista ‐ Chula Vista 1St Ward
San Diego Imperial Council 049
790 Rancho Del Rey Pkwy
Chula Vista, CA 91910


Lds‐Chula Vista ‐ Chula Vista 2Nd Ward
San Diego Imperial Council 049
790 Rancho Del Rey Pkwy
Chula Vista, CA 91910


Lds‐Chula Vista ‐ Chula Vista 3Rd Ward
San Diego Imperial Council 049
1590 E H St
Chula Vista, CA 91913


Lds‐Chula Vista ‐ Harbor Ward
San Diego Imperial Council 049
1590 E H St
Chula Vista, CA 91913


Lds‐Chula Vista ‐ Imperial Beach Ward
San Diego Imperial Council 049
1515 Elder Ave
San Diego, CA 92154


Lds‐Chula Vista ‐ Loma Verde Ward
San Diego Imperial Council 049
790 Rancho Del Rey Pkwy
Chula Vista, CA 91910


Lds‐Chula Vista ‐ Otay Lakes Ward
San Diego Imperial Council 049
1590 E H St
Chula Vista, CA 91913


Lds‐Cibola Ward‐Yuma Az Stk
Grand Canyon Council 010
4300 W 16th St
Yuma, AZ 85364


Lds‐Cibolo Hills Ward‐Hill Country Ward
Alamo Area Council 583
25479 Bulverde Rd
San Antonio, TX 78261


Lds‐Cielito Ward‐Phoenix Az Stk
Grand Canyon Council 010
3802 N 59th Ave
Phoenix, AZ 85033


Lds‐Circle City Ward‐Corona Stake
California Inland Empire Council 045
1123 S Lincoln Ave
Corona, CA 92882


Lds‐Circle Cross Ward‐Qc Az Stk
Grand Canyon Council 010
1150 W Combs Rd
San Tan Valley, AZ 85140


Lds‐Citrus Cove Ward‐Qc Az Stk
Grand Canyon Council 010
21915 E Cloud Rd
Queen Creek, AZ 85142


Lds‐Citrus Hills Ward‐Corona Stake
California Inland Empire Council 045
1290 W Ontario Ave
Corona, CA 92882


Lds‐City Creek Ward‐Redlands Stake
California Inland Empire Council 045
7000 Central Ave
Highland, CA 92346


Lds‐Claremore Ward‐Bartlesville Ok Stake
Indian Nations Council 488
1701 N Chambers Ter
Claremore, OK 74017
Lds‐Clark Ward/Grantsville Ut Stk
Great Salt Lake Council 590
81 Church St
Grantsville, UT 84029


Lds‐Clay Springs Ward‐Silver Creek Az
Stk
Grand Canyon Council 010
Hwy 260
Clay Springs, Az 85923


Lds‐Clayton Valley 1St Ward‐Walnut Creek
Mt Diablo‐Silverado Council 023
1590 Denkinger Rd
Concord, CA 94521


Lds‐Clayton Valley 2Nd Ward‐Walnut Creek
Mt Diablo‐Silverado Council 023
1360 Alberta Way
Concord, CA 94521


Lds‐Cleveland Ward
Lake Erie Council 440
Lds Church, Cleveland 1st Ward
Rockside Rd
Seven Hills, OH 44134


Lds‐Cleveland Ward‐Kingwood Stake
Three Rivers Council 578
1100 Sline St
Cleveland, TX 77327


Lds‐Clifton Ward‐Duncan Stake
Grand Canyon Council 010
112 Riverside Dr
Clifton, AZ 85533


Lds‐Clinton 30Th/Clinton West Stake
Trapper Trails 589
2622 N 2910 W
Roy, UT 84057
Lds‐Cloud Creek Ward‐Qc Az Stk
Grand Canyon Council 010
21915 E Cloud Rd
Queen Creek, AZ 85142


Lds‐Clover Crest Ward
Murray Ut North Stk
Great Salt Lake Council 590
5200 S 700 W
Salt Lake City, Ut 84123


Lds‐Cntry Xing 2Nd Ward
S J Ut Cntry Xing Stk
Great Salt Lake Council 590
10755 S 3200 W
South Jordan, Ut 84095


Lds‐Cntry Xing 4Th Ward
S J Ut Cntry Xing Stk
Great Salt Lake Council 590
3364 W 11400 S
South Jordan, Ut 84095


Lds‐Cntry Xing 8Th Ward
S J Ut Cntry Xing Stk
Great Salt Lake Council 590
3364 W 11400 S
South Jordan, Ut 84095


Lds‐Cntry Xing Ward/Erda Utah Stake
Great Salt Lake Council 590
5327 Cambridge Way
Stansbury Park, UT 84074


Lds‐Coalville 1St Ward/Coalville Ut Stk
Great Salt Lake Council 590
40 N Main St
Coalville, UT 84017


Lds‐Coalville 2Nd Ward/Coalville Ut Stk
Great Salt Lake Council 590
40 N Main St
Coalville, UT 84017


Lds‐Cobble Creek 11Th Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
8150 S Grizzly Way
West Jordan, Ut 84081


Lds‐Cobble Creek 1St Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
8176 S 5140 W
West Jordan, Ut 84081


Lds‐Cobble Creek 2Nd Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
8150 S Grizzly Way
West Jordan, Ut 84081


Lds‐Cobble Creek 3Rd Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
5156 W Clay Hollow Ave
West Jordan, Ut 84081


Lds‐Cobble Creek 4Th Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
8176 S 5140 W
West Jordan, Ut 84081


Lds‐Cobble Creek 5Th Sp Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
5156 W Clay Hollow Ave
West Jordan, Ut 84081


Lds‐Cobble Creek 6Th Ward
Wj Ut Cobble Creek Stk
Great Salt Lake Council 590
8150 S Grizzly Way
West Jordan, Ut 84081
Lds‐Coconut Creek Ward
South Florida Council 084
3201 Lyons Rd
Coconut Creek, FL 33063


Lds‐Coldwater Ward‐Phoenix Az
West Maricopa Stk
Grand Canyon Council 010
8702 W Campbell Ave
Phoenix, Az 85037


Lds‐College Hill Ward‐Derby Stake
Quivira Council, Bsa 198
7011 E 13th St N
Wichita, KS 67206


Lds‐College Place Ward‐Walla Walla Stake
Blue Mountain Council 604
1821 S 2nd Ave
Walla Walla, WA 99362


Lds‐Collierville 1St Ward‐Memphis Stake
Chickasaw Council 558
580 S Collierville Arlington Rd
Collierville, TN 38017


Lds‐Collierville 2Nd Ward‐Memphis Stake
Chickasaw Council 558
580 Collierville Arlington Rd
Collierville, TN 38017


Lds‐Collins Hill Ward‐Lilburn Stake
Northeast Georgia Council 101
3355 Sugarloaf Pkwy
Lawrenceville, GA 30044


Lds‐Colly Creek Ward‐Topeka Stake
Jayhawk Area Council 197
3615 SW Jewell Ave
Topeka, KS 66611
Lds‐Colonial Hills Ward/S L Hillside Stk
Great Salt Lake Council 590
525 Foothill Blvd
1455 S 1700 W
Salt Lake City, UT 84113


Lds‐Colonial Park Ward/W J Ut East Stk
Great Salt Lake Council 590
6975 S 2200 W
West Jordan, UT 84084


Lds‐Colony Ward‐Palmer Stake
Great Alaska Council 610
1 Colony Way
Palmer, AK 99654


Lds‐Colony West Ward
Sl Hunter South Stake
Great Salt Lake Council 590
4322 S 5400 W
Salt Lake City, Ut 84120


Lds‐Columbia Basin Ward‐Pasco N Stake
Blue Mountain Council 604
7750 Eltopia Rd
Pasco, Wa 99301


Lds‐Columbia Ward‐Richland Stake
Blue Mountain Council 604
1321 Jadwin Ave
Richland, WA 99354


Lds‐Columbus 1St Ward‐Indianapolis
Hoosier Trails Council 145 145
4850 W Goeller Rd
Columbus, IN 47201


Lds‐Columbus Branch Karen
South Salt Lake Stake
Great Salt Lake Council 590
2280 S 300 E
Salt Lake City, Ut 84115
Lds‐Colville 1St Ward‐Colville Stake
Inland Nwest Council 611
260 E Juniper Ave
Colville, WA 99114


Lds‐Commerce Ward‐Athens Stake
Northeast Georgia Council 101
4859 Mt Olive Rd
Commerce, GA 30529


Lds‐Compton Bench Ward
Frmngtn Ut North Stk
Great Salt Lake Council 590
900 Compton Rd
Farmington, Ut 84025


Lds‐Concho Branch‐St Johns Az Stk
Grand Canyon Council 010
34 Cinder Dr
Concho, AZ 85924


Lds‐Concord 1St Ward‐Concord Stake
Mt Diablo‐Silverado Council 023
3700 Concord Blvd
Concord, CA 94519


Lds‐Concord 2Nd Ward‐Walnut Creek Stake
Mt Diablo‐Silverado Council 023
1590 Denkinger Rd
Concord, CA 94521


Lds‐Connell Ward‐Pasco North Stake
Blue Mountain Council 604
P.O. Box 310
Connell, WA 99326


Lds‐Constellation Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
495 S Greenfield Rd
Gilbert, Az 85296
Lds‐Constitution Ward/S L Granger Stk
Great Salt Lake Council 590
2850 W 3835 S
Salt Lake City, UT 84119


Lds‐Converse Ward‐Cibolo Valley Stake
Alamo Area Council 583
8801 Midcrown Dr
Windcrest, TX 78239


Lds‐Cooley Station Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
2958 S Recker Rd
Gilbert, Az 85295


Lds‐Cooley Station Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
1010 S Recker Rd
Gilbert, Az 85234


Lds‐Cooley Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
1100 N Cooper Rd
Gilbert, AZ 85233


Lds‐Coolidge 1St Ward‐Casa Grande Az Stk
Grand Canyon Council 010
580 N 9th St
Coolidge, AZ 85128


Lds‐Coolidge 2Nd Ward‐Casa Grande Az Stk
Grand Canyon Council 010
580 N 9th St
Coolidge, AZ 85128


Lds‐Cooper 1St Ward‐Chandler Az Stk
Grand Canyon Council 010
650 S Cooper Rd
Chandler, AZ 85225
Lds‐Cooper 2Nd Ward‐Chandler Az Stk
Grand Canyon Council 010
650 S Cooper Rd
Chandler, AZ 85225


Lds‐Cooper Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
1150 W Elliot Rd
Gilbert, AZ 85233


Lds‐Cooper Ward‐Mesa Az South Stk
Grand Canyon Council 010
1315 N 24th St
Mesa, AZ 85213


Lds‐Copper Basin Ward‐Prescott Az Stk
Grand Canyon Council 010
1745 Royal Oak Cir
Prescott, AZ 86305


Lds‐Copper Basin Ward‐Stv Az Stk
Grand Canyon Council 010
4400 E Sierrita Rd
San Tan Valley, AZ 85143


Lds‐Copper Canyon Ward‐Surprise Az Stk
Grand Canyon Council 010
14326 W Christy Dr
Surprise, AZ 85379


Lds‐Copper City 2Nd Ward
Kearns Ut West Stk
Great Salt Lake Council 590
6175 Borax Ave
Kearns, Ut 84118


Lds‐Copper Creek 1St Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
12280 S 5600 W
Herriman, Ut 84095
Lds‐Copper Creek 2Nd Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
12280 S 5600 W
Herriman, Ut 84096


Lds‐Copper Creek 3Rd Ward
Fort Herriman Ut Stk
Great Salt Lake Council 590
12280 S 5600 W
Herriman, Ut 84096


Lds‐Copper Crest Ward‐Mesa Az
Alta Mesa Stk
Grand Canyon Council 010
5350 E Mclellan Rd
Mesa, Az 85205


Lds‐Copper Hills 12Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
9227 Wild Clover Ln
West Jordan, Ut 84081


Lds‐Copper Hills 14Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
9227 Wild Clover Ln
West Jordan, Ut 84081


Lds‐Copper Hills 17Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
5349 W 9000 S
West Jordan, Ut 84088


Lds‐Copper Hills 1St Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
5176 Parr Dr
West Jordan, Ut 84081
Lds‐Copper Hills 2Nd Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
5176 Parr Dr
West Jordan, Ut 84081


Lds‐Copper Hills 4Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
5176 Parr Dr
West Jordan, Ut 84081


Lds‐Copper Hills 6Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
5349 W 9000 S
West Jordan, Ut 84081


Lds‐Copper Hills 7Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
9227 Wild Clover Ln
West Jordan, Ut 84081


Lds‐Copper Hills 8Th Ward
W J Ut Copper Hills Stk
Great Salt Lake Council 590
5349 W 9000 S
West Jordan, Ut 84088


Lds‐Copper Oaks Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
14068 S 5600 W
Herriman, Ut 84096


Lds‐Copper Ranch Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
1010 S Recker Rd
Gilbert, Az 85296
Lds‐Coppergate Ward/W J Ut East Stk
Great Salt Lake Council 590
1899 W 7600 S
West Jordan, UT 84084


Lds‐Copperhill 10Th Ward
S L Hunter Copperhill Stk
Great Salt Lake Council 590
6710 W 4145 S
Salt Lake City, Ut 84128


Lds‐Copperhill 3Rd Ward
S L Hunter West Stk
Great Salt Lake Council 590
6755 W 3800 S
Salt Lake City, Ut 84128


Lds‐Copperhill 4Th Ward
S L Hunter Copperhill Stk
Great Salt Lake Council 590
6710 W 4145 S
West Valley City, Ut 84128


Lds‐Copperhill 5Th Ward
S L Hunter Copperhill Stk
Great Salt Lake Council 590
4333 S 6400 W
West Valley City, Ut 84128


Lds‐Copperhill 7Th Ward
S L Hunter Copperhill Stk
Great Salt Lake Council 590
4195 S 6000 W
Salt Lake City, Ut 84128


Lds‐Copperhill 8Th Ward
S L Hunter Copperhill Stk
Great Salt Lake Council 590
4195 S 6000 W
West Valley City, Ut 84128


Lds‐Copperhill 9Th Ward
S L Hunter Copperhill Stk
Great Salt Lake Council 590
6710 W 4145 S
Salt Lake City, Ut 84128


Lds‐Copperton Ward
W J Ut Sycamores Stake
Great Salt Lake Council 590
8633 W Hillcrest St
Bingham Canyon, Ut 84006


Lds‐Copperview 1St Ward
Rvrtn Ut Copperview Stk
Great Salt Lake Council 590
12154 S 3600 W
Riverton, Ut 84065


Lds‐Copperview 2Nd Ward
Rvrtn Ut Copperview Stk
Great Salt Lake Council 590
12210 S 2700 W
Riverton, Ut 84065


Lds‐Copperview 3Rd Ward
Rvrtn Ut Copperview Stk
Great Salt Lake Council 590
12210 S 2700 W
Riverton, Ut 84065


Lds‐Copperview 4Th Ward
Rvrtn Ut Copperview Stk
Great Salt Lake Council 590
12232 S 3200 W
Riverton, Ut 84065


Lds‐Copperview 5Th Ward
Rvrtn Ut Copperview Stk
Great Salt Lake Council 590
12154 S 3600 W
Riverton, Ut 84065


Lds‐Copperview 6Th Ward
Rvrtn Ut Copperview Stake
Great Salt Lake Council 590
12154 S 3600 W
Riverton, Ut 84065


Lds‐Copperview 7Th Ward
Riverton Ut Copperview Stk
Great Salt Lake Council 590
12154 S 3600 W
Riverton, Ut 84065


Lds‐Copperview 8Th Ward
Rvrtn Ut Copperview Stk
Great Salt Lake Council 590
12154 S 3600 W
Riverton, Ut 84065


Lds‐Copperview 9Th Ward
Riverton Ut Copperview Stk
Great Salt Lake Council 590
12154 S 3600 W
Riverton, Ut 84065


Lds‐Copperwood Ward‐Glendale Az Stk
Grand Canyon Council 010
8840 N 61st Ave
Glendale, AZ 85302


Lds‐Coral Reef Ward
South Florida Council 084
10000 SW 107th Ave
Miami, FL 33176


Lds‐Coral Springs Ward
South Florida Council 084
10148 NW 31st St
Coral Springs, FL 33065


Lds‐Corbin Ward
Blue Grass Council 204
Rt 8 Box 187
Corbin, KY 40701


Lds‐Cordata Park Ward
Huntington Beach Stake
Orange County Council 039
17500 Bushard St
Fountain Valley, Ca 92708


Lds‐Cordelia 1St Ward‐Fairfield Stake
Mt Diablo‐Silverado Council 023
101 Oakwood Dr
Fairfield, CA 94534


Lds‐Cordelia Ward‐Fairfield Stake
Mt Diablo‐Silverado Council 023
101 Oakwood Dr
Fairfield, CA 94534


Lds‐Cordova Branch‐Soldotna Stake
Great Alaska Council 610
P.O. Box 1414
Cordova, AK 99574


Lds‐Cornelia Ward‐Athens Stake
Northeast Georgia Council 101
Hwy 197
Mount Airy, GA 30563


Lds‐Corner Canyon 1St Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
13006 S Boulter St 1485 E
Draper, Ut 84020


Lds‐Corner Canyon 2Nd Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
13366 S 1300 E
Draper, Ut 84020


Lds‐Corner Canyon 3Rd Ward
Draper Ut Corner Cnyn Stk
Great Salt Lake Council 590
13350 S 1750 E
Draper, Ut 84020
Lds‐Corner Canyon 4Th Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
13366 S 1300 E
Draper, Ut 84020


Lds‐Corner Canyon 5Th Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
13006 Boulter St
Draper, Ut 84020


Lds‐Corner Canyon 6Th Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
13350 S Aintree Ave
Draper, Ut 84020


Lds‐Corner Canyon 7Th Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
994 E Deerwalk Rd
Draper, Ut 84020


Lds‐Corner Canyon 8Th Ward
Draper Ut Corner Cnyn Stk
Great Salt Lake Council 590
13350 So 1750 E
Draper, Ut 84020


Lds‐Corner Canyon 9Th Ward
Draper Ut Corner Cyn Stk
Great Salt Lake Council 590
16006 So Boulter St
Draper, Ut 84020


Lds‐Cornerstone Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3580 E Houston Ave
Gilbert, Az 85234
Lds‐Cornerstone Ward‐Mesa Az North Stk
Grand Canyon Council 010
422 E University Dr
Mesa, AZ 85203


Lds‐Corona 1St Ward‐Tempe Az South Stk
Grand Canyon Council 010
1111 E Knox Rd
Tempe, AZ 85284


Lds‐Corona 2Nd Ward‐Tempe Az South Stk
Grand Canyon Council 010
1111 E Knox Rd
Tempe, AZ 85284


Lds‐Corona Ward‐Corona Stake
California Inland Empire Council 045
1290 W Ontario Ave
Corona, CA 92882


Lds‐Coronado 1St Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
4170 S Ranch House Pkwy
Gilbert, Az 85297


Lds‐Coronado 2Nd Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
3663 E Ironhorse Rd
Gilbert, Az 85297


Lds‐Coronado 3Rd Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
3453 E Clark Ct
Gilbert, Az 85297


Lds‐Coronado Ward‐Scottsdale Az
Camelback Stk
Grand Canyon Council 010
2202 N 74Th St
Scottsdale, Az 85257
Lds‐Corte Sierra Ward‐Goodyear Az Stk
Grand Canyon Council 010
13277 W Thomas Rd
Goodyear, AZ 85395


Lds‐Cortessa Ward‐Surprise Az West Stk
Grand Canyon Council 010
15880 W Cactus Rd
Surprise, AZ 85379


Lds‐Cortina 1St Ward‐Qc Az West Stk
Grand Canyon Council 010
19730 E Ocotillo Rd
Queen Creek, AZ 85142


Lds‐Cortina 2Nd Ward‐Qc Az West Stk
Grand Canyon Council 010
19413 S Sossaman Rd
Queen Creek, AZ 85142


Lds‐Cortina 3Rd Ward‐Qc Az West Stk
Grand Canyon Council 010
19413 S Sossaman Rd
Queen Creek, AZ 85142


Lds‐Cortina 4Th Ward‐Qc Az West Stk
Grand Canyon Council 010
19267 S Sossaman Rd
Queen Creek, AZ 85142


Lds‐Cortina 5Th Ward‐Qc Az West Stk
Grand Canyon Council 010
18550 E Riggs Rd
Queen Creek, AZ 85142


Lds‐Costa Mesa 1st Ward
Newport Beach Stake
Orange County Council 039
2775 Plntia Ave
Costa Mesa, Ca 92626
Lds‐Cottonwood 10Th Ward
Sl Big Ctnwd Stk
Great Salt Lake Council 590
4930 S Wmoor Rd
Salt Lake City, Ut 84117


Lds‐Cottonwood 11Th Ward
S L Cottonwood Stk
Great Salt Lake Council 590
1830 E 6400 S
Salt Lake City, Ut 84121


Lds‐Cottonwood 12Th Ward
S L Big Ctnwd Stk
Great Salt Lake Council 590
1750 Spring Ln
Holladay, Ut 84117


Lds‐Cottonwood 13Th Ward
S L Cottonwood Stk
Great Salt Lake Council 590
1830 E 6400 S
Salt Lake City, Ut 84121


Lds‐Cottonwood 14Th Ward
S L Big Ctnwd Stk
Great Salt Lake Council 590
2080 Donelson Ln
Salt Lake City, Ut 84117


Lds‐Cottonwood 16Th Ward
S L Big Cttnwd Stk
Great Salt Lake Council 590
1750 Spring Ln
Salt Lake City, Ut 84117


Lds‐Cottonwood 1St Ward
S L Cottonwood Stk
Great Salt Lake Council 590
5913 S Highland Dr
Salt Lake City, Ut 84121
Lds‐Cottonwood 2Nd Ward
S L Big Cottnwood Stk
Great Salt Lake Council 590
2080 Donelson Ln
Salt Lake City, Ut 84117


Lds‐Cottonwood 3Rd Ward
Sl Cottonwood Stake
Great Salt Lake Council 590
6301 S 2300 E
Salt Lake City, Ut 84121


Lds‐Cottonwood 4Th Ward
S L Big Cttnwd Stk
Great Salt Lake Council 590
5565 Neighbor Ln
Salt Lake City, Ut 84117


Lds‐Cottonwood 5Th Ward
S L Cottonwood Stk
Great Salt Lake Council 590
6301 S 2300 E
Holladay, Ut 84121


Lds‐Cottonwood 8Th Ward
Sl Cottonwood Stake
Great Salt Lake Council 590
6301 S 2300 E
Salt Lake City, Ut 84121


Lds‐Cottonwood Creek Ward
S L So Cottonwood Stk
Great Salt Lake Council 590
1250 E 4800 S
Salt Lake City, Ut 84117


Lds‐Cottonwood Hgts 1St Ward
Sl Ctnwd Hgts Stk
Great Salt Lake Council 590
7075 S 2245 E
Salt Lake City, Ut 84121


Lds‐Cottonwood Hgts 2Nd Ward
Sl Ctnwd Hgts Stk
Great Salt Lake Council 590
6890 Whitmore Way
Salt Lake City, Ut 84121


Lds‐Cottonwood Hgts 3Rd Ward
Sl Ctnwd Hgts Stk
Great Salt Lake Council 590
6890 Whitmore Way
Salt Lake City, Ut 84121


Lds‐Cottonwood Hgts 4Th Ward
Sl Ctnwd Hgts Stk
Great Salt Lake Council 590
2522 E 6710 S
Salt Lake City, Ut 84121


Lds‐Cottonwood Hgts 5Th Ward
Sl Ctnwd Hgts Stk
Great Salt Lake Council 590
7075 S 2245 E
Salt Lake City, Ut 84121


Lds‐Cottonwood Hgts 7Th Ward
Sl Ctnwd Hgts Stk
Great Salt Lake Council 590
2522 E 6710 S
Salt Lake City, Ut 84121


Lds‐Cottonwood Spgs Ward‐Kennewick Stake
Blue Mountain Council 604
10376 Ridgeline Dr
Kennewick, Wa 99338


Lds‐Cottonwood Ward‐Palmer Stake
Great Alaska Council 610
1905 N Battery Cir
Palmer, AK 99645


Lds‐Cottonwood Ward‐Richland Stake
Blue Mountain Council 604
4500 Paradise
West Richland, WA 99353
Lds‐Country Club Ward‐Phoenix Az
East Stk
Grand Canyon Council 010
1316 E Cheery Lynn Rd
Phoenix, Az 85014


Lds‐Country Crossing 12Th Ward
Sj Ut Country Crossing Stake
Great Salt Lake Council 590
3760 W Rushton View Dr
South Jordan, Ut 84095


Lds‐Country Crossing 3Rd Ward
Sj Ut Country Crossing Stake
Great Salt Lake Council 590
11173 Copper Point Way
South Jordan, Ut 84095


Lds‐Country Crossing 6Th Ward
Sj Ut Country Crossing Stk
Great Salt Lake Council 590
11173 S Copper Point Wy
South Jordan, Ut 84095


Lds‐Country Crossing 7Th Ward
Sj Ut Country Crossing Stake
Great Salt Lake Council 590
11173 Copper Point Way
South Jordan, Ut 84095


Lds‐Country Gables Ward‐Phoenix Az
North Stk
Grand Canyon Council 010
15006 N 39Th Ave
Phoenix, Az 85053


Lds‐Country Park 1St Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
11250 S 2700 W
South Jordan, Ut 84095
Lds‐Country Park 2Nd Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
2447 W 11400 S
South Jordan, Ut 84095


Lds‐Country Park 3Rd Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
1988 W 11400 S
South Jordan, Ut 84095


Lds‐Country Park 4Th Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
11250 S 2700 W
South Jordan, Ut 84095


Lds‐Country Park 5Th Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
1988 W 11400 S
South Jordan, Ut 84095


Lds‐Country Park 6Th Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
11251 S 2700 W
South Jordan, Ut 84095


Lds‐Country Park 7Th Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
2447 W 11400 S
South Jordan, Ut 84095


Lds‐Country Park 8Th Ward
S J Ut Country Park Stk
Great Salt Lake Council 590
1988 W 11400 S
South Jordan, Ut 84095
Lds‐Country Park 9Th Ward
Sj Utah Country Park Stake
Great Salt Lake Council 590
2447 W 11400 S
South Jordan, Ut 84095


Lds‐Country Shadows Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
7201 S 164Th St
Queen Creek, Az 85298


Lds‐Country Walk Ward
South Florida Council 084
29600 SW 167th Ave
Homestead, FL 33030


Lds‐Covenant Hills Ward
Mission Viejo Stake
Orange County Council 039
27976 Marguerite Pkwy
Mission Viejo, Ca 92692


Lds‐Craig Branch‐Juneau Stake
Great Alaska Council 610
P.O. Box 498
Craig, AK 99921


Lds‐Cranberry Twp Ward‐Pittsburgh Pa N
Moraine Trails Council 500
2771 Rochester Rd
Cranberry Twp, Pa 16066


Lds‐Creek Lane Ward
Farmington Utah No Stake
Great Salt Lake Council 590
77 S Orchard Dr
Fruit Heights, Ut 84037


Lds‐Creekside Ward‐Ontario Stake
California Inland Empire Council 045
3450 Creekside
Ontario, CA 91761
Lds‐Creekside Ward‐Qc Az Central Stk
Grand Canyon Council 010
21915 E Cloud Rd
Queen Creek, AZ 85142


Lds‐Creekside Ward‐Qc Az Ocotillo Stk
Grand Canyon Council 010
40160 N Bexhill Way
San Tan Valley, AZ 85140


Lds‐Crescent 10Th Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
10945 S 1700 E
Sandy, Ut 84092


Lds‐Crescent 11Th Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
89 E 11000 S
Sandy, Ut 84070


Lds‐Crescent 12Th Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
525 Foothill Blvd
Salt Lake City, Ut 84113


Lds‐Crescent 14Th Ward
Sandy Ut Crescent South Stk
Great Salt Lake Council 590
10375 Leilani Dr
Sandy, Ut 84070


Lds‐Crescent 16Th Ward
Sandy Ut Crescent South Stk
Great Salt Lake Council 590
251 E 10600 S
Sandy, Ut 84070


Lds‐Crescent 18Th Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
2195 Pepperwood Dr
Sandy, Ut 84092


Lds‐Crescent 19Th Ward
Sandy Ut Crescent North Stk
Great Salt Lake Council 590
1050 E 10600 S
Sandy, Ut 84094


Lds‐Crescent 21St Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
11570 Wasatch Blvd
Sandy, Ut 84092


Lds‐Crescent 22Nd Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
552 E 11400 S.
Sandy, Ut 84020


Lds‐Crescent 23Rd Ward
Sandy Ut Crescent South Stk
Great Salt Lake Council 590
10375 Leilani Dr
Sandy, Ut 84070


Lds‐Crescent 24Th Ward
Sandy Ut Crescent South Stk
Great Salt Lake Council 590
251 E 10600 S
Sandy, Ut 84070


Lds‐Crescent 25Th Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
11626 S 300 E
Draper, Ut 84020


Lds‐Crescent 28Th Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
11626 S 300 E
Draper, Ut 84020


Lds‐Crescent 29Th Ward
Sandy Ut Crescent North Stk
Great Salt Lake Council 590
1050 E 10600 S
Sandy, Ut 84094


Lds‐Crescent 30Th Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
89 E 11000 S
Sandy, Ut 84070


Lds‐Crescent 3Rd Ward
Sandy Ut Crescent North Stk
Great Salt Lake Council 590
949 E 10600 S
Sandy, Ut 84094


Lds‐Crescent 5Th Ward
Sandy Ut Crescent North Stk
Great Salt Lake Council 590
1050 E 10600 S
Sandy, Ut 84094


Lds‐Crescent 6Th Ward
Draper Ut Crescent View Stk
Great Salt Lake Council 590
11626 S 300 E
Draper, Ut 84020


Lds‐Crescent 7Th Ward
Sandy Ut Crescent North Stk
Great Salt Lake Council 590
949 E 10600 S
Sandy, Ut 84094


Lds‐Crescent 8Th Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
2080 Pinecrest Ln
Sandy, Ut 84092


Lds‐Crescent 9Th Ward
Sandy Ut Crescent South Stk
Great Salt Lake Council 590
10375 Leilani Dr
Sandy, Ut 84070


Lds‐Crescent Park 1St Ward
Sandy Ut Crescent Prk Stk
Great Salt Lake Council 590
11350 S 1000 E
Sandy, Ut 84094


Lds‐Crescent Park 2Nd Ward
Sndy Ut Crscnt Prk Stk
Great Salt Lake Council 590
10885 S Pampas Dr
Sandy, Ut 84094


Lds‐Crescent Park 3Rd Ward
Sandy Ut Crescent Prk Stk
Great Salt Lake Council 590
11350 S 1300 E
Sandy, Ut 84094


Lds‐Crescent Park 4Th Ward
Sandy Ut Crescent Prk Stk
Great Salt Lake Council 590
10885 Pampas Dr
Sandy, Ut 84094


Lds‐Crescent Park 5Th Ward
Sandy Ut Crescent Prk Stk
Great Salt Lake Council 590
11350 S 1300 E
Sandy, Ut 84094


Lds‐Crescent Ridge 2Nd Ward
Sandy Ut Crscnt Rdg Stk
Great Salt Lake Council 590
10975 S Prescott Dr
Sandy, Ut 84092


Lds‐Crescent Ridge 3Rd Ward
Sandy Ut Crescent Ridge Stk
Great Salt Lake Council 590
10975 S Prescott Dr
Sandy, Ut 84092


Lds‐Crescent Ridge 4Th Ward
Sandy Ut Crscnt Rdg Stk
Great Salt Lake Council 590
1265 E 11000 S
Sandy, Ut 84094


Lds‐Crescent Ridge 5Th Ward
Sandy Ut Crscnt Rdg Stk
Great Salt Lake Council 590
11164 Londonderry Dr
Sandy, Ut 84092


Lds‐Crescent Ridge 6Th Ward
Sandy Ut Crscnt Rdg Stk
Great Salt Lake Council 590
11164 Londonderry Dr
Sandy, Ut 84092


Lds‐Crescent Ridge 7Th Ward
Sandy Ut Crscnt Rdg Stk
Great Salt Lake Council 590
1265 E 11000 S
Sandy, Ut 84094


Lds‐Crescent View Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
10945 S 1700 E
Sandy, Ut 84092


Lds‐Crescent Ward‐Cypress Stake
Orange County Council 039
4000 Orange Ave
Anaheim, CA 92804
Lds‐Crescent Ward‐Mesa Az Skyline Stk
Grand Canyon Council 010
618 S Signal Butte Rd
Mesa, AZ 85207


Lds‐Crestline Ward‐San Bernardino Stake
California Inland Empire Council 045
P.O. Box 346
Crestline, CA 92325


Lds‐Crestview Ward/Sl Monument Pk Stk
Great Salt Lake Council 590
2795 Crestview Dr
Salt Lake City, UT 84108


Lds‐Crestview Ward‐Richland Stake
Blue Mountain Council 604
1720 Thayer Dr
Richland, WA 99354


Lds‐Crismon Ward‐Peralta Trail Az Stk
Grand Canyon Council 010
1720 S Ironwood Dr
Apache Jct, AZ 85207


Lds‐Crismon Ward‐Qc Az North Stk
Grand Canyon Council 010
22035 E Ocotillo Rd
Queen Creek, AZ 85142


Lds‐Cristianitos Ward‐San Clemente Stake
Orange County Council 039
310 Avenida Vista Montana
San Clemente, CA 92672


Lds‐Crosspoint Ward‐Mesa Az
Mountain View Stk
Grand Canyon Council 010
745 N Val Vista
Mesa, Az 85205
Lds‐Crosspointe Ward/Bennion Ut East Stk
Great Salt Lake Council 590
1327 W 5550 S
Salt Lake City, UT 84123


Lds‐Crossroads Park Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
2316 E San Tan Dr
Gilbert, Az 85296


Lds‐Crossroads Sq Branch Nepali
So Sl Stake
Great Salt Lake Council 590
2700 S 300 E
Salt Lake City, Ut 84115


Lds‐Crown Rose Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
5424 W Rosecrest Rd
Herriman, Ut 84096


Lds‐Crystal City Ward‐S St Louis Stake
Greater St Louis Area Council 312
1000 Mcnutt School Rd
Herculaneum, Mo 63048


Lds‐Crystal Gardens Ward
Phoenix Az, West Maricopa Stk
Grand Canyon Council 010
10930 W Garden Lakes Pkwy
Avondale, Az 85323


Lds‐Crystal Heights 1St Ward
Salt Lake Highland Stk
Great Salt Lake Council 590
1970 E Stratford Ave
Salt Lake City, Ut 84106


Lds‐Crystal Heights 2Nd Ward
Salt Lake Highland Stk
Great Salt Lake Council 590
1970 E Stratford Ave
Salt Lake City, Ut 84106


Lds‐Crystal Shores Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1005 N Voyager Dr
Gilbert, Az 85234


Lds‐Cs / Belmont Ward
Heart of Virginia Council 602
3541 Cogbill Rd
North Chesterfield, VA 23234


Lds‐Cs / Hopewell Ward
Heart of Virginia Council 602
4181 Prince George Dr
Prince George, VA 23875


Lds‐Cs / Meadowbrook Ward
Heart of Virginia Council 602
3541 Cogbill Rd
North Chesterfield, VA 23234


Lds‐Cs / Swift Creek Ward
Heart of Virginia Council 602
3541 Cogbill Rd
Chesterfield Ward
Richmond, VA 23234


Lds‐Cs/Chesterfield Ward
Heart of Virginia Council 602
3541 Cogbill Rd
North Chesterfield, VA 23234


Lds‐Cucamonga Ward
Rancho Cucamonga Stake
California Inland Empire Council 045
6829 Etiwanda Ave
Rancho Cucamonga, Ca 91739


Lds‐Culebra Creek Ward‐West Stake
Alamo Area Council 583
13153 Ironhorse Way
Helotes, TX 78023


Lds‐Cullumber Ward‐Gilbert Az Stk
Grand Canyon Council 010
220 E Cullumber Ave
Gilbert, AZ 85234


Lds‐Cypress Creek Ward
South Florida Council 084
249 Commercial Blvd
Lauderdale By the Sea, FL 33308


Lds‐Cypress Ward‐Cypress Stake
Orange County Council 039
5151 Orange Ave
Cypress, CA 90630


Lds‐Dacula Ward‐Lilburn Stake
Northeast Georgia Council 101
3323 New Hope Rd
Dacula, GA 30019


Lds‐Dai Ichi Ward Japanese
S L Granite Stk
Great Salt Lake Council 590
2005 S 900 E
Salt Lake City, Ut 84105


Lds‐Daisy Mountain Ward‐Phoenix Az
Desert Hills Stk
Grand Canyon Council 010
109 E Galvin St
Desert Hills, Az 85086


Lds‐Dana Hills Ward‐Laguna Niguel Stake
Orange County Council 039
28291 Alicia Pkwy
Laguna Niguel, CA 92677


Lds‐Dana Ranch Ward‐Mesa Az Kimball Stk
Grand Canyon Council 010
1266 S 32nd St
Mesa, AZ 85204


Lds‐Dana Ward‐Mesa Az South Stk
Grand Canyon Council 010
2334 E Pueblo Ave
Mesa, AZ 85204


Lds‐Danville 1St Ward‐Danville Stake
Mt Diablo‐Silverado Council 023
655 Old Orchard Dr
Danville, CA 94526


Lds‐Danville 2Nd Ward‐Danville Stake
Mt Diablo‐Silverado Council 023
655 Old Orchard Dr
Danville, CA 94526


Lds‐Dardenne Creek Ward‐N Cnty Stake
Greater St Louis Area Council 312
66 Oak Valley Dr
Saint Peters, Mo 63376


Lds‐Davis Creek 1St Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
292 Lucky Star Way
Farmington, Ut 84025


Lds‐Davis Creek 2Nd Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
78 W 1100 S
Farmington, Ut 84025


Lds‐Davis Creek 3Rd Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
825 S 50 E
Farmington, Ut 84025
Lds‐Daybreak 2Nd Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
4137 W Foxview Dr
South Jordan, Ut 84095


Lds‐Daybreak 7Th Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
4137 W Foxview Dr
South Jordan, Ut 84009


Lds‐Dayton Ward‐Walla Walla Stake
Blue Mountain Council 604
1114 S 3rd St
Dayton, WA 99328


Lds‐De Anza Ward‐Jurupa Stake
California Inland Empire Council 045
5840 Mitchell Ave
Riverside, CA 92505


Lds‐Dededo Ward
Aloha Council, Bsa 104
N. Marine Dr Rt 1, Lot 7111
Yigo, GU 96929


Lds‐Deer Mountain Ward
Bluffdale Utah Stake
Great Salt Lake Council 590
2742 W 14400 S
Bluffdale, Ut 84065


Lds‐Deer Valley Ward‐Phoenix Az
Deer Valley Stk
Grand Canyon Council 010
2939 W Rose Garden Ln
Phoenix, Az 85027


Lds‐Deerfield Ward/Sl Hunter South Stake
Great Salt Lake Council 590
4322 S 5400 W
Salt Lake City, UT 84120
Lds‐Deerfield Ward‐North Stake
Alamo Area Council 583
645 Knights Cross Dr
San Antonio, TX 78258


Lds‐Dekalb Ward‐Rockford, Il Stake
Three Fires Council 127
675 Fox Ave
Sycamore, IL 60178


Lds‐Del Mar ‐ Cardiff Ward
San Diego Imperial Council 049
1444 Lake Dr
Cardiff, CA 92007


Lds‐Del Mar ‐ Del Mar Ward
San Diego Imperial Council 049
12701 Torrey Bluff Dr
San Diego, CA 92130


Lds‐Del Mar ‐ Encinitas Ward
San Diego Imperial Council 049
1444 Lake Dr
Cardiff, CA 92007


Lds‐Del Mar ‐ La Costa Ward
San Diego Imperial Council 049
3450 Camino De Los Coches
Carlsbad, CA 92009


Lds‐Del Mar ‐ Olivenhain Ward
San Diego Imperial Council 049
2416 Calle San Clemente
Encinitas, CA 92024


Lds‐Del Mar ‐Carmel Valley Ward
San Diego Imperial Council 049
12701 Torrey Bluff Dr
San Diego, CA 92130
Lds‐Del Rey Ward‐Corona Stake
California Inland Empire Council 045
1123 S Lincoln Ave
Corona, CA 92882


Lds‐Del Rio 1St Ward‐Chandler Az
West Stk
Grand Canyon Council 010
1260 W Del Rio St
Chandler, Az 85224


Lds‐Del Rio 2Nd Ward‐Chandler Az
West Stk
Grand Canyon Council 010
1260 W Del Rio St
Chandler, Az 85224


Lds‐Del Rio Spgs Ward
Prescott Valley Az Stk
Grand Canyon Council 010
P.O. Box 574
Chino Valley, Az 86323


Lds‐Del Rio‐1St Branch
Texas Swest Council 741
210 Fox Dr
Del Rio, TX 78840


Lds‐Delta Junction‐Fairbanks Stake
Midnight Sun Council 696
P.O. Box 1457
Delta Junction, AK 99737


Lds‐Denali Branch‐Fairbanks Stake
Midnight Sun Council 696
P.O. Box 213
Healy, AK 99743


Lds‐Deseret Peak Ward/Grantsvilleut Stk
Great Salt Lake Council 590
550 E Durfee St
Grantsville, UT 84029
Lds‐Desert Hills Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
6840 E Gold Dust Ave
Scottsdale, Az 85253


Lds‐Desert Hills Ward‐Stv Az Stk
Grand Canyon Council 010
29419 N Desert Willow Blvd
San Tan Valley, AZ 85143


Lds‐Desert Hills Ward‐W Richland Stake
Blue Mountain Council 604
4500 Paradise St
West Richland, Wa 99353


Lds‐Desert Knolls Ward‐Apple Vly Stake
California Inland Empire Council 045
15500 Tuscola Rd
Apple Valley, Ca 92307


Lds‐Desert Mountain Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
9565 E Larkspur Dr
Scottsdale, Az 85260


Lds‐Desert Mtn Ward‐Qc Az North Stk
Grand Canyon Council 010
22424 S Meridian Rd
Queen Creek, AZ 85142


Lds‐Desert Oasis Ward‐Surprise Az
North Stk
Grand Canyon Council 010
23391 N 166Th Dr
Surprise, Az 85387


Lds‐Desert Palms Ward‐Glendale Az Stk
Grand Canyon Council 010
8602 N 31st Ave
Phoenix, AZ 85051
Lds‐Desert Ridge Ward‐Mesa Az
Desert Ridge Stk
Grand Canyon Council 010
2647 S Signal Butte Rd
Mesa, Az 85209


Lds‐Desert Ridge Ward‐Paradise Valley Az
Stk
Grand Canyon Council 010
4242 E Waltann Lane
Phoenix, Az 85032


Lds‐Desert Sage Ward
Herriman Utah South Stake
Great Salt Lake Council 590
14550 Juniper Crest
Herriman, Ut 84096


Lds‐Desert Valley Ward‐Mesa Az
Desert Ridge Stk
Grand Canyon Council 010
11121 E Ray Rd
Mesa, Az 85212


Lds‐Desert Vista Ward‐Mesa Az
Clearview Stk
Grand Canyon Council 010
633 S Higley Rd
Mesa, Az 85206


Lds‐Desert Wells Ward‐Qc Az Central Stk
Grand Canyon Council 010
19416 E Silver Creek Ln
Queen Creek, AZ 85142


Lds‐Deuel Creek Ward/Centerville Ut Stk
Great Salt Lake Council 590
555 N 400 W Trlr 3
Centerville, UT 84014


Lds‐Dewey Ward‐Prescott Valley Az Stk
Grand Canyon Council 010
7885 E Long Look Dr
Prescott Valley, AZ 86314


Lds‐Diamond Bar Ward‐Chino Stake
California Inland Empire Council 045
1101 S Diamond Bar Blvd
Diamond Bar, CA 91765


Lds‐Diamond Valley Ward‐Hemet Stake
California Inland Empire Council 045
425 N Kirby St
Hemet, CA 92545


Lds‐Dimond Ward‐Anchorage North Stake
Great Alaska Council 610
700 W 46th Ave
Anchorage, AK 99503


Lds‐Dimple Dell Prk Wrd
Sndy Ut Grnte Vw Stk
Great Salt Lake Council 590
9800 S 3100 E
Sandy, Ut 84092


Lds‐Dimple Dell Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
10945 S 1700 E
Sandy, Ut 84092


Lds‐Dobson Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2657 S Stewart
Mesa, AZ 85202


Lds‐Doney Park Ward‐Flagstaff Az
East Stk
Grand Canyon Council 010
2401 E Linda Vista Dr
Flagstaff, Az 86004
Lds‐Doylestown Philadelphia Stake
Washington Crossing Council 777
Chapman   Ferry Rds
Doylestown, PA 18901


Lds‐Draper 10Th Ward
Sandy Ut Hddn Vlly Stk
Great Salt Lake Council 590
12870 S 1300 E
Draper, Ut 84020


Lds‐Draper 11Th Ward
Sandy Ut Hddn Vlly Stk
Great Salt Lake Council 590
12870 S 1272 E
Draper, Ut 84020


Lds‐Draper 12Th Ward/Draper Ut Stk
Great Salt Lake Council 590
12353 S 600 E
Draper, UT 84020


Lds‐Draper 15Th Ward/Draper Ut Stk
Great Salt Lake Council 590
13112 S 700 E
Draper, UT 84020


Lds‐Draper 16Th Ward/Draper Ut Stk
Great Salt Lake Council 590
13112 S 700 E
Draper, UT 84020


Lds‐Draper 17Th Ward
Sandy Ut Hddn Vlly Stk
Great Salt Lake Council 590
1617 E 12700 S
Draper, Ut 84020


Lds‐Draper 1St Ward/Draper Ut Stk
Great Salt Lake Council 590
12353 S 600 E
Draper, UT 84020
Lds‐Draper 2Nd Ward
Sandy Ut Hddn Vlly Stk
Great Salt Lake Council 590
1617 E 12700 S
Draper, Ut 84020


Lds‐Draper 3Rd Ward/Draper Ut Stk
Great Salt Lake Council 590
13085 S 300 E
Draper, UT 84020


Lds‐Draper 4Th Ward/Draper Ut Stk
Great Salt Lake Council 590
13085 S 300 E
Draper, UT 84020


Lds‐Draper 5Th Ward
Sandy Ut Hidden Valley Stk
Great Salt Lake Council 590
1617 E 12700 S
Draper, Ut 84020


Lds‐Draper 6Th Ward
Sandy Ut Hddn Vlly Stk
Great Salt Lake Council 590
12870 S 1300 E
Draper, Ut 84020


Lds‐Draper 7Th Ward/Draper Ut Stk
Great Salt Lake Council 590
12353 S 600 E
Draper, UT 84020


Lds‐Dreaming Summit Ward‐Goodyear Az Stk
Grand Canyon Council 010
301 W Wigwam Blvd
Litchfield Park, AZ 85340


Lds‐Droubay Ward
Tooele Ut Valley View Stk
Great Salt Lake Council 590
691 E Cedarview St
Tooele, Ut 84074


Lds‐Dry Creek Ward
Bountiful Ut Heights Stake
Great Salt Lake Council 590
720 E 550 N
Bountiful, Ut 84010


Lds‐Dublin Ward‐Pleasanton Stake
San Francisco Bay Area Council 028
8203 Village Pkwy
Dublin, CA 94568


Lds‐Dubuque Ward‐Davenport Stake
Northeast Iowa Council 178
685 Fremont Ave
Dubuque, IA 52003


Lds‐Dugway Ward/Tooele Ut South Stk
Great Salt Lake Council 590
St Hwy 199
Dugway, UT 84022


Lds‐Duncan Ward‐Duncan Stake
Grand Canyon Council 010
105 Fairgrounds Rd
Duncan, AZ 85534


Lds‐Duportail Ward‐Richland Stake
Blue Mountain Council 604
214 Wright Ave
Richland, WA 99352


Lds‐Durango Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3850 E Houston Ave
Gilbert, Az 85234


Lds‐Eagar 1St Ward‐Eagar Az Stk
Grand Canyon Council 010
P.O. Box 517
Eagar, AZ 85925


Lds‐Eagar 2Nd Ward‐Eagar Az Stk
Grand Canyon Council 010
P.O. Box 367
Eagar, AZ 85925


Lds‐Eagar 3Rd Ward‐Eagar Az Stk
Grand Canyon Council 010
150 N Aldrice Burk D
Springerville, AZ 85938


Lds‐Eagar 4Th Ward‐Eagar Az Stk
Grand Canyon Council 010
135 N Main St
Eagar, AZ 85925


Lds‐Eagle Cliff Ward/Sandy Ut East Stk
Great Salt Lake Council 590
1600 E Buttercup Rd
Sandy, UT 84092


Lds‐Eagle Pass‐1St Ward
Texas Swest Council 741
2355 Maria Del Refugio Dr
Eagle Pass, TX 78852


Lds‐Eagle River Vly Ward‐Chugach Stake
Great Alaska Council 610
19701 Driftwood Bay Dr
Eagle River, Ak 99577


Lds‐Eagleridge Ward/N S L Parkway Stk
Great Salt Lake Council 590
351 Lofty Ln
North Salt Lake, UT 84054


Lds‐Eaglewood Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
200 S Eagle Ridge Dr
North Salt Lake, Ut 84054
Lds‐East Mill Creek 11Th Ward
Sl E Millcreek NO Stk
Great Salt Lake Council 590
2702 E Evergreen Ave
Salt Lake City, Ut 84109


Lds‐East Mill Creek 12Th Ward
Sl E Mllcrk NO Stk
Great Salt Lake Council 590
3103 E Craig Dr
Salt Lake City, Ut 84109


Lds‐East Mill Creek 15Th Ward
Sl East Millcreek Stk
Great Salt Lake Council 590
3750 Hillside Ln
Salt Lake City, Ut 84109


Lds‐East Mill Creek 16Th Ward
Sl E Millcreek North Stk
Great Salt Lake Council 590
3408 Celeste Way
Salt Lake City, Ut 84109


Lds‐East Mill Creek 1St Ward
Sl E Millcreek North Stk
Great Salt Lake Council 590
2702 E Evergreen Ave
Salt Lake City, Ut 84109


Lds‐East Mill Creek 2Nd Ward
Sl Eastmill Creek Stk
Great Salt Lake Council 590
3750 Hillside Ln
Salt Lake City, Ut 84109


Lds‐East Mill Creek 4Th Ward
Sl Eastmill Creek Stk
Great Salt Lake Council 590
3103 E Craig Dr
Salt Lake City, Ut 84109
Lds‐East Mill Creek 6Th Ward
Sl East Mill Creek Stk
Great Salt Lake Council 590
3103 E Craig Dr
Salt Lake City, Ut 84109


Lds‐East Mill Creek 7Th Ward
Sl E Millcreek NO Stk
Great Salt Lake Council 590
3408 S Celeste Way
Salt Lake City, Ut 84109


Lds‐East Mill Creek 9Th Ward
Sl East Mill Creek Stk
Great Salt Lake Council 590
3750 Hillside Ln
Salt Lake City, Ut 84109


Lds‐Eastbluff‐Newport Beach Stake
Orange County Council 039
2300 Bonita Canyon Dr
Newport Beach, CA 92660


Lds‐Eastdell Ward
Sandy Ut Granite South Stake
Great Salt Lake Council 590
9855 S 2300 E
Sandy, Ut 84092


Lds‐Eastlake 1St Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
11038 Braidwood Dr
South Jordan, Ut 84095


Lds‐Eastlake 2Nd Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
11038 S Braidwood Dr
South Jordan, Ut 84095


Lds‐Eastlake 3Rd Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
11038 Braidwood Dr
South Jordan, Ut 84009


Lds‐Eastlake 4Th Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
4517 W Mille Lacs Dr
South Jordan, Ut 84095


Lds‐Eastlake 5Th Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
4484 Willoughby Dr
South Jordan, Ut 84095


Lds‐Eastlake 6Th Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
4517 W Mille Lacs Dr
South Jordan, Ut 84095


Lds‐Eastlake 7Th Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
4517 Mille Lacs Dr
South Jordan, Ut 84095


Lds‐Eastlake 8Th Ward
Sj Ut Eastlake Stake
Great Salt Lake Council 590
4517 Mille Lacs Dr
South Jordan, Ut 84095


Lds‐Eastland Ward
Tooele Ut Valley View Stake
Great Salt Lake Council 590
1419 N 380 E
Tooele, Ut 84074


Lds‐Eastridge 1St Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
552 E 11400 S
Draper, Ut 84020


Lds‐Eastridge 2Nd Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
1187 E 12300 S
Sandy, Ut 84070


Lds‐Eastridge 3Rd Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
1187 E 12300 S
Sandy, Ut 84094


Lds‐Eastridge 4Th Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
11777 Willow Wood Dr
Draper, Ut 84020


Lds‐Eastridge 5Th Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
11777 Willow Wood Dr
Draper, Ut 84020


Lds‐Eastridge 6Th Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
11777 Willow Wood Dr
Draper, Ut 84020


Lds‐Eastridge 7Th Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
1020 Sunburn Ln
Sandy, Ut 84094


Lds‐Eastridge 8Th Ward
Draper Ut Eastridge Stk
Great Salt Lake Council 590
1020 E Sunburn Lane
Sandy, Ut 84094


Lds‐Eastridge 9Th Sp Br
Draper Ut Eastridge Stk
Great Salt Lake Council 590
12270 S 1190 E
Draper, Ut 84020


Lds‐Eastridge Ward/S L So Cttnwd Stk
Great Salt Lake Council 590
5235 Wesley Rd
Salt Lake City, UT 84117


Lds‐Eastridge Ward/Tooele Ut East Stk
Great Salt Lake Council 590
752 N 520 E
Tooele, UT 84074


Lds‐Eastridge Ward‐Mesa Az
Boulder Creek Stk
Grand Canyon Council 010
2265 S Hawes Rd
Mesa, Az 85209


Lds‐Eastvale Ward‐Jurupa Stake
California Inland Empire Council 045
5950 Serendipity Rd
Riverside, CA 92509


Lds‐Eaton Ward‐Dayton,Oh
Miami Valley Council, Bsa 444
3707 S Clayton Rd
Farmersville, OH 45325


Lds‐Echo Hills Ward‐Hemet Stake
California Inland Empire Council 045
27020 Meridian St
Hemet, CA 92544


Lds‐Eden Ward‐East Stake
Alamo Area Council 583
15200 Judson Rd
San Antonio, TX 78247


Lds‐Edgehill Ward/S L Hillside Stk
Great Salt Lake Council 590
1750 S 1500 E
Salt Lake City, UT 84105


Lds‐Edgemont Ward/Sandy Ut Central Stk
Great Salt Lake Council 590
9824 Flint Dr
Sandy, UT 84094


Lds‐Edgewood Ward‐Mesa Az
Kimball East Stk
Grand Canyon Council 010
4640 E Holmes Ave
Mesa, Az 85206


Lds‐Edison Ward/S L Pioneer Stk
Great Salt Lake Council 590
1401 W 700 S
Salt Lake City, UT 84104


Lds‐Edison Ward‐Kennewick East Stake
Blue Mountain Council 604
515 S Union St
Kennewick, WA 99336


Lds‐Eielson Ward‐Fairbanks Stake
Midnight Sun Council 696
331 E 8th Ave
North Pole, AK 99705


Lds‐El Cajon ‐ Alpine Ward
San Diego Imperial Council 049
2425 Tavern Rd
Alpine, CA 91901


Lds‐El Cajon ‐ Fuerte Ward
San Diego Imperial Council 049
1270 S Orange Ave
El Cajon, CA 92020


Lds‐El Cajon ‐ Granite Hills Ward
San Diego Imperial Council 049
1701 Granite Hills Dr
El Cajon, CA 92019


Lds‐El Cajon ‐ Hillsdale Ward
San Diego Imperial Council 049
1634 Hillsdale Rd
El Cajon, CA 92019


Lds‐El Cajon ‐ Jamul Ward
San Diego Imperial Council 049
14808 Lyons Valley Rd
Jamul, CA 91935


Lds‐El Camino Ward Spanish
Sl Granger Stk
Great Salt Lake Council 590
3894 S David Pl
West Valley City, Ut 84119


Lds‐El Cariso Branch‐Lake Elsinore Stake
California Inland Empire Council 045
34350 Almond St
Wildomar, CA 92595


Lds‐El Centro ‐ Imperial Valley 1St Ward
San Diego Imperial Council 049
1764 Citrus Ln
El Centro, CA 92243


Lds‐El Centro ‐ Imperial Valley 2Nd Wd
San Diego Imperial Council 049
152 W Mccabe Rd
El Centro, CA 92243


Lds‐El Centro ‐ Imperial Valley 3Rd Ward
San Diego Imperial Council 049
226 E Sherman St
Calexico, CA 92231
Lds‐El Centro ‐ Imperial Valley 4Th Ward
San Diego Imperial Council 049
1033 Ridge Park Dr
Brawley, CA 92227


Lds‐El Cerrito Ward‐Corona Stake
California Inland Empire Council 045
1501 Taber St
Corona, CA 92881


Lds‐El Dorado Ward Spanish
Sl Hunter Central Stake
Great Salt Lake Council 590
3930 S 6000 W
West Valleycity, Ut 84128


Lds‐El Dorado Ward‐Derby Stake
Quivira Council, Bsa 198
120 S Main St
El Dorado, KS 67042


Lds‐El Dorado Ward‐Gilbert Az
Stapley Stk
Grand Canyon Council 010
1451 W Guadalupe
Gilbert, Az 85233


Lds‐El Dorado Ward‐Maricopa Az Stk
Grand Canyon Council 010
20565 Dr Horton Dr
Maricopa, AZ 85138


Lds‐El Mirage Ward‐Surprise Az Stk
Grand Canyon Council 010
15005 N Dysart Rd
El Mirage, AZ 85335


Lds‐El Oso Ward‐Phoenix Az Stk
Grand Canyon Council 010
8702 W Campbell Ave
Phoenix, AZ 85037
Lds‐El Paseo Ward‐Yucca Valley Stake
California Inland Empire Council 045
73002 El Paseo Dr
Twentynine Palms, CA 92277


Lds‐El Portal Ward
South Florida Council 084
8515 Biscayne Blvd
Miami, FL 33138


Lds‐Eldredge Ward/S L Granite Park Stk
Great Salt Lake Council 590
3219 S 300 E
Salt Lake City, UT 84115


Lds‐Elgin First Ward‐Schaumburg Stake
Three Fires Council 127
1250 Parkview Dr
Elgin, IL 60123


Lds‐Elgin Third Ward‐Schaumburg Stake
Three Fires Council 127
1250 Parkview Dr
Elgin, IL 60123


Lds‐Elgin Ward‐La Grande Stake
Blue Mountain Council 604
755 Baltimore St
Elgin, OR 97827


Lds‐Elk Hollow Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
4275 Bountiful Blvd
Bountiful, Ut 84010


Lds‐Elkhart Ward 1‐South Bend Stake
Lasalle Council 165
3415 Pleasant Plain Ave
Elkhart, IN 46517
Lds‐Elkhart Ward 2‐South Bend Stake
Lasalle Council 165
3415 Pleasant Plain Ave
Elkhart, IN 46517


Lds‐Ellijay Branch, Marietta East Stake
Northeast Georgia Council 101
189 Dogwood Dr
Ellijay, GA 30540


Lds‐Elliot Groves Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
4042 E Marlene Dr
Gilbert, Az 85296


Lds‐Elliot Lake Ward‐Kennewick E Stake
Blue Mountain Council 604
4445 S Olympia
Kennewick, Wa 99337


Lds‐Elliot Ward‐Gilbert Az Stk
Grand Canyon Council 010
15818 E Vaughn Ave
Gilbert, AZ 85234


Lds‐Ellsworth Ward‐Mesa Az Clearview Stk
Grand Canyon Council 010
1007 S 72nd St
Mesa, AZ 85208


Lds‐Elm Creek Ward
W J Ut Bingham Creek Stk
Great Salt Lake Council 590
8539 S 2200 W
West Jordan, Ut 84088


Lds‐Elm Creek Ward‐Bartlesville Ok Stake
Indian Nations Council 488
13602 E 89th St N
Owasso, OK 74055
Lds‐Elm Creek Ward‐Bartlesville Ok Stake
Indian Nations Council 488
15909 E 79th St N
Owasso, OK 74055


Lds‐Elma Stake‐Elma 1St
Pacific Harbors Council, Bsa 612
General Delivery
Elma, WA 98541


Lds‐Elma Stake‐Grays Harbor
Pacific Harbors Council, Bsa 612
2735 Riverview Dr
Aberdeen, WA 98520


Lds‐Elma Stake‐Raymond
Pacific Harbors Council, Bsa 612
245 Jackson Ave
Raymond, WA 98577


Lds‐Elma Stake‐Shelton 1St
Pacific Harbors Council, Bsa 612
1200 Connection St
Shelton, WA 98584


Lds‐Elma Stake‐Shelton 2Nd
Pacific Harbors Council, Bsa 612
916 N 12th St
Shelton, WA 98584


Lds‐Elmira Ward
Five Rivers Council, Inc 375
1060 W Broad St
Horseheads, NY 14845


Lds‐Elmwood Ward‐Mesa Az Central Stk
Grand Canyon Council 010
947 N Harris Dr
Mesa, AZ 85203


Lds‐Elwood 3Rd Ward/Tremonton South
Trapper Trails 589
4865 W 9600 N
Elwood, UT 84337


Lds‐Emerald Acres Ward‐Mesa Az South Stk
Grand Canyon Council 010
1415 E Sern Ave
Mesa, AZ 85204


Lds‐Emerald Bay Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1438 N Driftwood Dr
Gilbert, Az 85234


Lds‐Emerson Ward/S L Bonneville Stake
Great Salt Lake Council 590
808 E Roosevelt Ave
Salt Lake City, UT 84105


Lds‐Emigration Canyon Ward
Sl Monument Pk Stk
Great Salt Lake Council 590
2795 Crestview Dr
Salt Lake City, Ut 84108


Lds‐Encanto 1St Ward‐Phoenix Az Stk
Grand Canyon Council 010
4601 W Encanto Blvd
Phoenix, AZ 85035


Lds‐Encinas Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
632 W Stanford Ave
Gilbert, AZ 85233


Lds‐Encino Park Ward‐Hill Country Stake
Alamo Area Council 583
25479 Bulverde Rd
San Antonio, TX 78261


Lds‐Enrose Ward‐Mesa Az Central Stk
Grand Canyon Council 010
925 N Harris Dr
Mesa, AZ 85203


Lds‐Ensign 1St Ward/S L Ensign Stk
Great Salt Lake Council 590
135 A St
Salt Lake City, UT 84103


Lds‐Enterprise Ward‐Dothan Sta
Alabama‐Florida Council 003
110 Shellfield Rd
Enterprise, AL 36330


Lds‐Erda Ward/Erda Utah Stake
Great Salt Lake Council 590
203 E Erda Way
Erda, UT 84074


Lds‐Escondido ‐ Bear Valley Ward
San Diego Imperial Council 049
3250 Bear Valley Pkwy
Escondido, CA 92027


Lds‐Escondido ‐ Discovery Hills Ward
San Diego Imperial Council 049
2255 Felicita Rd
Escondido, CA 92029


Lds‐Escondido ‐ Escondido Hills Ward
San Diego Imperial Council 049
1917 E Washington Ave
Escondido, CA 92027


Lds‐Escondido ‐ San Elijo Hills Ward
San Diego Imperial Council 049
2255 Felicita Rd
Escondido, CA 92029


Lds‐Escondido ‐ Twin Oaks Valley Wd
San Diego Imperial Council 049
1250 Borden Rd
San Marcos, CA 92069


Lds‐Escondido ‐ Valley Center 1St Ward
San Diego Imperial Council 049
14826 Fruitvale Rd
Valley Center, CA 92082


Lds‐Escondido‐Felicita Ward
San Diego Imperial Council 049
2255 Felicita Rd
Escondido, CA 92029


Lds‐Escondido‐San Pasqual Ward
San Diego Imperial Council 049
3250 Bear Valley Pkwy S
Escondido, CA 92025


Lds‐Escondido‐Santa Fe Hills Ward
San Diego Imperial Council 049
1250 Borden Rd
San Marcos, CA 92069


Lds‐Esplanade Ward‐Orange Stake
Orange County Council 039
13672 Yellowstone Dr
Santa Ana, CA 92705


Lds‐Estate Groves Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
4122 E Mclellan Rd, Unit 10
Mesa, Az 85205


Lds‐Estrella Hills Ward‐Buckeye Az Stk
Grand Canyon Council 010
19527 W Ramos Ln
Buckeye, AZ 85326


Lds‐Estrella Ward‐Phoenix Az
West Maricopa Stk
Grand Canyon Council 010
701 N 95Th Ave
Tolleson, Az 85353


Lds‐Eucalyptus Ward‐Chino Stake
California Inland Empire Council 045
3332 Eucalyptus
Chino Hills, CA 91709


Lds‐Euclid Ward‐Fullerton Stake
Orange County Council 039
2225 N Euclid St
Fullerton, CA 92835


Lds‐Eufaula Branch‐Tulsa Ok East Stake
Indian Nations Council 488
600 N 6th St
Eufaula, OK 74432


Lds‐Evans Ranch Ward‐Hill Country Stake
Alamo Area Council 583
31355 Stahl Ln
Bulverde, TX 78163


Lds‐Evergreen Ward, Layton South Stake
Trapper Trails 589
2120 W Gentile St
Layton, UT 84041


Lds‐Evergreen Ward‐Mesa Az Central Stk
Grand Canyon Council 010
1345 E University Dr
Mesa, AZ 85203


Lds‐Evergreen Ward‐Tempe Az Stk
Grand Canyon Council 010
2036 W Devonshire Cir
Mesa, AZ 85201


Lds‐Everton Ward‐Mesa Az Eastmark Stk
Grand Canyon Council 010
10315 E Starion Ave
Mesa, AZ 85212
Lds‐Ewa Beach 1St Ward‐Waipahu Stake
Aloha Council, Bsa 104
91‐1154 N Rd
Ewa Beach, HI 96706


Lds‐Ewa Beach 2Nd Ward‐Waipahu Stake
Aloha Council, Bsa 104
91‐1154 N Rd
Ewa Beach, HI 96706


Lds‐Fagaitua Branch
Aloha Council, Bsa 104
P.O. Box 6223
Pago Pago, AS 96799


Lds‐Fair Oaks Ward‐La Cantera Stake
Alamo Area Council 583
203 Stonegate Rd
Boerne, TX 78006


Lds‐Fair Oaks Ward‐Tulsa Ok East Stake
Indian Nations Council 488
1701 N Hickory Ave
Broken Arrow, OK 74012


Lds‐Fairfield 1St Ward‐Fairfield Stake
Mt Diablo‐Silverado Council 023
806 Travis Blvd
Fairfield, CA 94533


Lds‐Fairfield 2Nd Ward‐Fairfield Stake
Mt Diablo‐Silverado Council 023
2700 Camrose Ave
Fairfield, CA 94533


Lds‐Fairfield 3Rd Ward‐Fairfield Stake
Mt Diablo‐Silverado Council 023
2700 Camrose Ave
Fairfield, CA 94533


Lds‐Fairfield Ward‐Mesa Az North Stk
Grand Canyon Council 010
933 E Brown Rd
Mesa, AZ 85203


Lds‐Fairoaks Ward/Sandy Ut West Stk
Great Salt Lake Council 590
586 E 8400 S
Sandy, UT 84070


Lds‐Fairview Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
3307 S Greenfield Rd
Gilbert, Az 85297


Lds‐Fairway Groves Ward‐Mesa Az
Alta Mesa Stk
Grand Canyon Council 010
5350 E Mclellan Rd
Mesa, Az 85205


Lds‐Fairways Ward
Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
1533 N 1075 W
Farmington, Ut 84025


Lds‐Falcon Hill Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
2130 Gyrfalcon Dr
Sandy, Ut 84092


Lds‐Falcon Hill Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
1627 N Rowen Cir
Mesa, Az 85207


Lds‐Falcon Park Ward
Sandy Ut Canyon View Stk
Great Salt Lake Council 590
9119 S 1300 E
Sandy, Ut 84094


Lds‐Faleniu 1St Ward‐Pago Mapusaga Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


Lds‐Faleniu 2Nd Ward‐Pago Mapusaga Stake
Aloha Council, Bsa 104
P.O. Box 6577
Pago Pago, AS 96799


Lds‐Faleniu 3Rd Ward‐Pago Mapusaga Stake
Aloha Council, Bsa 104
Faleniu Ward
Pago Pago, AS 96799


Lds‐Farm Hill Ward/S L So Cttnwd Stk
Great Salt Lake Council 590
5235 Wesley Rd
Salt Lake City, UT 84117


Lds‐Farmington 11Th Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
695 S 200 E
Farmington, Ut 84025


Lds‐Farmington 12Th Ward
Farmington Utah Stake
Great Salt Lake Council 590
347 S 200 W
Farmington, Ut 84025


Lds‐Farmington 13Th Ward
Farmington Ut Stk
Great Salt Lake Council 590
347 S 200 W
Farmington, Ut 84025


Lds‐Farmington 14Th Ward
Farmington Ut Stk
Great Salt Lake Council 590
347 S 200 W
Farmington, Ut 84025


Lds‐Farmington 15Th Ward
Farmington Ut Stake
Great Salt Lake Council 590
347 S 200 W
Farmington, Ut 84025


Lds‐Farmington 16Th Ward
Farmington Utah Stake
Great Salt Lake Council 590
79 S 1525 W
Farmington, Ut 84025


Lds‐Farmington 18Th Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
1162 S Sunrise Way
Farmington, Ut 84025


Lds‐Farmington 19Th Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
825 S 50 E
Farmington, Ut 84025


Lds‐Farmington 1St Ward
Farmington Ut Stk
Great Salt Lake Council 590
272 N Main St
Farmington, Ut 84025


Lds‐Farmington 23Rd Ward
Farmington Ut South Stake
Great Salt Lake Council 590
1395 S 200 E
Farmington, Ut 84025


Lds‐Farmington 2Nd Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
434 S 500 E
Farmington, Ut 84025


Lds‐Farmington 3Rd Ward
Farmington Ut Stk
Great Salt Lake Council 590
272 N Main St
Farmington, Ut 84025


Lds‐Farmington 4Th Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
2110 N Main St
Centerville, Ut 84014


Lds‐Farmington 5Th Ward
Farmington Ut Stk
Great Salt Lake Council 590
272 N Main St
Farmington, Ut 84025


Lds‐Farmington 6Th Ward
Farmington Ut Stk
Great Salt Lake Council 590
79 S 1525 W
Farmington, Ut 84025


Lds‐Farmington 7Th Ward
Farmington Utah Stake
Great Salt Lake Council 590
79 S 1525 W
Farmington, Ut 84025


Lds‐Farmington 9Th Ward
Frmngtn Ut South Stk
Great Salt Lake Council 590
695 S 200 E
Farmington, Ut 84025


Lds‐Farmington Pointe Ward
Farmington Utah West Stk
Great Salt Lake Council 590
905 Foxhunter Dr
Farmington, Ut 84025


Lds‐Farmington Ranches 1St Ward
Farmington Ut W Stk
Great Salt Lake Council 590
14 Bonanza Rd
Farmington, Ut 84025


Lds‐Farmington Ranches 2Nd Ward
Farmington Ut W Stk
Great Salt Lake Council 590
79 S 1525 W
Farmington, Ut 84025


Lds‐Farmington Ranches 3Rd Ward
Farmington Ut W Stk
Great Salt Lake Council 590
14 Bonanza Rd
Farmington, Ut 84025


Lds‐Farmington Ranches 4Th Ward
Farmington Ut W Stk
Great Salt Lake Council 590
97 Ranch Rd
Farmington, Ut 84025


Lds‐Farmington Ranches 5Th Ward
Farmington Utah West Stake
Great Salt Lake Council 590
14 Bonanza Rd
Farmington, Ut 84025


Lds‐Farmington Ward‐Cape Girardeau Stake
Greater St Louis Area Council 312
709 S Henry St
Farmington, MO 63640


Lds‐Farson Branch
Trapper Trails 589
4065 US Hwy 191
Farson, WY 82932
Lds‐Federal Way Stake‐Dash Point
Pacific Harbors Council, Bsa 612
31816 47th Ave Sw
Federal Way, WA 98023


Lds‐Federal Way Stake‐Hylebos
Pacific Harbors Council, Bsa 612
34815 Weyerhaeuser Way S
Federal Way, WA 98001


Lds‐Federal Way Stake‐Jovita Creek
Pacific Harbors Council, Bsa 612
34815 Weyerhaeuser Way S
Federal Way, WA 98001


Lds‐Federal Way Stake‐Lakota
Pacific Harbors Council, Bsa 612
841 S 308th St
Federal Way, WA 98003


Lds‐Federal Way Stake‐Redondo
Pacific Harbors Council, Bsa 612
841 S 308th St
Federal Way, WA 98003


Lds‐Federal Way Stake‐Star Lake
Pacific Harbors Council, Bsa 612
28616 48th Ave S
Auburn, WA 98001


Lds‐Fenton Ward‐South St Louis Stake
Greater St Louis Area Council 312
1175 Piedras Pkwy
Fenton, MO 63026


Lds‐Field Crescent Ward/Herriman Ut Stk
Great Salt Lake Council 590
5246 Gossamer Way
Riverton, UT 84096


Lds‐First Ward/Sl Central Stake
Great Salt Lake Council 590
760 E 700 S
Salt Lake City, UT 84102


Lds‐First Ward‐Toledo Stake
Erie Shores Council 460
1545 Egate Rd
Toledo, OH 43614


Lds‐Fishhook Ward‐Palmer Stake
Great Alaska Council 610
P.O. Box 3839
Palmer, AK 99645


Lds‐Flagler Ward
South Florida Council 084
9900 W Flagler St
Miami, FL 33174


Lds‐Flintridge Ward‐Mission Viejo Stake
Orange County Council 039
26176 Antonio Pkwy
Rancho Santa Margarita, CA 92688


Lds‐Florence Ward‐Stv Az Stk
Grand Canyon Council 010
85 W Van Harren St
Florence, AZ 85132


Lds‐Foothill 1St Ward/S L Foothill Stk
Great Salt Lake Council 590
1930 S 2100 E
Salt Lake City, UT 84108


Lds‐Foothill 2Nd Ward/S L Foothill Stake
Great Salt Lake Council 590
1930 S 2100 E
Salt Lake City, UT 84108


Lds‐Foothill 3Rd Ward/S L Foothill Stk
Great Salt Lake Council 590
1930 S 2100 E
Salt Lake City, UT 84108
Lds‐Foothill 6Th Ward/S L Foothill Stk
Great Salt Lake Council 590
2215 Roosevelt Ave
Salt Lake City, UT 84108


Lds‐Foothill 7Th Ward/S L Foothill Stk
Great Salt Lake Council 590
2215 Roosevelt
Salt Lake City, UT 84108


Lds‐Foothill Ranch Ward
Santa Margarita Stake
Orange County Council 039
29441 Altisima
Rancho Santa Margarita, Ca 92688


Lds‐Foothill Ward/North Salt Lake Ut Stk
Great Salt Lake Council 590
4275 Bountiful Blvd
Bountiful, UT 84010


Lds‐Foothill Ward‐Jurupa Stake
California Inland Empire Council 045
11150 Collett Ave
Riverside, CA 92505


Lds‐Foothillls Ward‐Yuma Az Stk
Grand Canyon Council 010
8451 E 36th St
Yuma, AZ 85365


Lds‐Foothills Ward/Herriman Ut Stk
Great Salt Lake Council 590
5246 Gossamer Way
Riverton, UT 84096


Lds‐Foothills Ward‐Glendale Az North Stk
Grand Canyon Council 010
5250 W Thunderbird Rd
Glendale, AZ 85306
Lds‐Foothills Ward‐Tempe Az West Stk
Grand Canyon Council 010
2955 E Frye Rd
Phoenix, AZ 85048


Lds‐Forest Bend Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
7784 Highland Dr
Salt Lake City, Ut 84121


Lds‐Forest Dale 1St Ward/S L Granite Stk
Great Salt Lake Council 590
739 E Ashton
Salt Lake City, UT 84106


Lds‐Forest Ridge Ward‐Tulsa Ok E Stake
Indian Nations Council 488
1701 N Hickory Ave
Broken Arrow, Ok 74012


Lds‐Forster Ranch Ward
San Clemente Stake
Orange County Council 039
470 Camino San Clemente
San Clemente, Ca 92672


Lds‐Fort Lauderdale 1St Ward
South Florida Council 084
851 NW 112th Ave
Plantation, FL 33325


Lds‐Fort Mill Ward Charlotte South Stake
Palmetto Council 549
Reservation Rd
Rock Hill, SC 29730


Lds‐Fortuna Ward/Sl Mt Olympus Stk
Great Salt Lake Council 590
4407 Fortuna Way
Salt Lake City, UT 84124
Lds‐Founders Park 1St Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
11750 S Kestrel Rise Rd
South Jordan, Ut 84095


Lds‐Founders Park 4Th Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
11685 Kestrel Rise Rd
South Jordan, Ut 84009


Lds‐Founders Park 5Th Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
11685 Kestrel Rise Rd
South Jordan, Ut 84009


Lds‐Founders Park 7Th Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
11677 Grandville Ave
South Jordan, Ut 84009


Lds‐Founders Park 8Th Ward
Sj Ut Founders Park Stake
Great Salt Lake Council 590
11677 Grandville Ave
South Jordan, Ut 84095


Lds‐Founders Park Ward‐Qc Az Central Stk
Grand Canyon Council 010
21129 E Via Del Oro
Queen Creek, AZ 85142


Lds‐Fountain Hills Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
15507 E Bainbridge Ave
Fountain Hills, Az 85268


Lds‐Fountaine Claire Ward
Wj Ut Bingham Creek Stk
Great Salt Lake Council 590
1465 Bristol Ridge Rd
West Jordan, Ut 84088


Lds‐Fountainebleau Ward
South Florida Council 084
9900 W Flagler St
Miami, FL 33174


Lds‐Fox Hill Ward/North Salt Lake Ut Stk
Great Salt Lake Council 590
200 S Eagle Ridge Dr
North Salt Lake, UT 84054


Lds‐Fox Hills Ward/Kearns Ut South Stk
Great Salt Lake Council 590
3730 W 6200 S
Salt Lake City, UT 84129


Lds‐Fox Pointe Ward
Wj Ut Bingham Creek Stk
Great Salt Lake Council 590
1465 Bristol Ridge Rd
West Jordan, Ut 84088


Lds‐Foxboro 1St Ward
North S L Legacy Stk
Great Salt Lake Council 590
875 Foxboro Dr
North Salt Lake, Ut 84054


Lds‐Foxboro 2Nd Ward
North S L Ut Legacy Stk
Great Salt Lake Council 590
776 Durham Dr
North Salt Lake, Ut 84054


Lds‐Foxboro 3Rd Ward
North S L Legacy Stk
Great Salt Lake Council 590
875 Foxboro Dr
North Salt Lake, Ut 84054
Lds‐Foxboro 4Th Ward
North Sl Utah Legacy Stake
Great Salt Lake Council 590
945 W 1100 N
North Salt Lake, Ut 84054


Lds‐Foxboro 5Th Ward
North S L Ut Legacy Stk
Great Salt Lake Council 590
954 W 1100 N
North Salt Lake, Ut 84054


Lds‐Foxboro 6Th Ward
North S L Ut Legacy Stk
Great Salt Lake Council 590
1847 W 2180 S
Woods Cross, Ut 84087


Lds‐Foxboro 7Th Ward
Nsl Utah Legacy Stake
Great Salt Lake Council 590
954 W 1100 N
North Salt Lake, Ut 84054


Lds‐Foxboro 8Th Ward
North Sl Ut Legacy Stake
Great Salt Lake Council 590
1450 W 2175 S.
Woods Cross, Ut 84087


Lds‐Foxboro 9Th Ward
North Salt Lake Ut Legacy Stake
Great Salt Lake Council 590
1509 W 1500 S
Woods Cross, Ut 84087


Lds‐Francis 1St Ward/Kamas Ut Stk
Great Salt Lake Council 590
387 W Last Frontier Lane
Francis, UT 84036
Lds‐Francis 2Nd Ward/Kamas Ut Stk
Great Salt Lake Council 590
387 W Last Frontier Lane
Francis, UT 84036


Lds‐Fraser Ward‐Mesa Az North Stk
Grand Canyon Council 010
48 N Fraser Dr E
Mesa, AZ 85203


Lds‐Freestone Park Ward‐Gilbert Az Stk
Grand Canyon Council 010
1426 E Park Ave
Gilbert, AZ 85234


Lds‐Fremont Branch
President Gerald R Ford 781
5925 W S River Dr
Grant, MI 49327


Lds‐Fremont Hill Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
6942 E Brown Rd
Mesa, Az 85207


Lds‐French Valley Ward‐Temecula Stake
California Inland Empire Council 045
32374 Pauba Rd
Temecula, CA 92592


Lds‐Frmgtn Crossing Ward
Farmington Ut Oakridge Stk
Great Salt Lake Council 590
2230 S 350 E
Kaysville, Ut 84037


Lds‐Frontenac Ward‐St Louis Stake
Greater St Louis Area Council 312
10445 Clayton Rd
Saint Louis, MO 63131
Lds‐Fruitvale Ward‐Hemet Stake
California Inland Empire Council 045
425 N Kirby St
Hemet, CA 92545


Lds‐Ft Irwin Ward‐Victorville Stake
California Inland Empire Council 045
12860 Amethyst Rd
Victorville, CA 92392


Lds‐Ft Lauderdale 2Nd Ward
South Florida Council 084
1100 SW 15th Ave
Fort Lauderdale, FL 33312


Lds‐Ft Meade Ward 78298
Baltimore Area Council 220
528 Higgins Dr
Odenton, MD 21113


Lds‐Ft Thomas Ward‐Pima Stake
Grand Canyon Council 010
13985 W Hwy 70
Fort Thomas, AZ 85536


Lds‐Ft Walton 2Nd Ward
Gulf Coast Council 773
339 Lake Dr Nw
Ft Walton Bch, FL 32548


Lds‐Futenma Branch
Far E Council 803
Camp Foster Marine Base
Fpo Ap, 96379


Lds‐Futenma Servicemens Branch
Far E Council 803
Camp Foster Marine Corps Base
Okinawa
Fpo Ap, 96379


Lds‐Gaffney Ward Greenville, Sc E Stake
Palmetto Council 549
701 W Buford St
Gaffney, Sc 29341


Lds‐Gainesville Ward‐Sugar Hill Stake
Northeast Georgia Council 101
1234 Riverside Dr Ne
Gainesville, GA 30501


Lds‐Galena Spanish Branch
Sandy Ut Central Stk
Great Salt Lake Council 590
9824 Flint Dr
Sandy, Ut 84094


Lds‐Galveston 2Nd Ward‐Chandler Az
West Stk
Grand Canyon Council 010
1950 W Galveston St
Chandler, Az 85224


Lds‐Galveston 3Rd Ward‐Chandler Az
West Stk
Grand Canyon Council 010
1950 W Galveston
Chandler, Az 85224


Lds‐Garden Cove Ward
W J Ut Bingham Creek Stk
Great Salt Lake Council 590
1945 W 9000 S
West Jordan, Ut 84088


Lds‐Garden Grove 12Th Br
Garden Grove Stake
Orange County Council 039
10332 Bolsa Ave
Westminster, Ca 92683


Lds‐Garden Grove 1St Ward
Garden Grove Stake
Orange County Council 039
10332 Bolsa Ave
Westminster, Ca 92683


Lds‐Garden Heights North Ward
S L Wilford Stk
Great Salt Lake Council 590
2220 Fisher Ln
Salt Lake City, Ut 84109


Lds‐Garden Heights South Ward
S L Wilford Stk
Great Salt Lake Council 590
2220 Fisher Ln
Salt Lake City, Ut 84109


Lds‐Garden Heights Ward/S L Wilford Stk
Great Salt Lake Council 590
2220 Fisher Ln
Salt Lake City, UT 84109


Lds‐Garden Lakes Ward‐Phoenix Az
West Maricopa Stk
Grand Canyon Council 010
10930 W Garden Lakes Pkwy
Avondale, Az 85392


Lds‐Garden Park 1St Ward
Sj Ut Garden Park Stake
Great Salt Lake Council 590
11543 Keystone Dr
South Jordan, Ut 84009


Lds‐Garden Park 2Nd Ward
Sj Ut Garden Park Stake
Great Salt Lake Council 590
11543 Keystone Dr
South Jordan, Ut 84009


Lds‐Garden Park 3Rd Ward
Sj Ut Garden Park Stake
Great Salt Lake Council 590
11543 Keystone Dr
South Jordan, Ut 84009
Lds‐Garden Park 4Th Ward
Sj Ut Garden Park Stake
Great Salt Lake Council 590
11677 Grandville Ave
South Jordan, Ut 84009


Lds‐Garden Park 6Th Ward
Sj Ut Garden Park Stake
Great Salt Lake Council 590
11685 S Kestrel Rise Rd 4510 W
South Jordan, Ut 84095


Lds‐Garden Park Ward/S L Bonneville Stk
Great Salt Lake Council 590
1150 Yale Ave
Salt Lake City, UT 84105


Lds‐Garden Ridge Ward‐Cibolo Vly Stake
Alamo Area Council 583
15200 Judson Rd
San Antonio, Tx 78247


Lds‐Gary Ward‐Qc Az Stk
Grand Canyon Council 010
33794 N Gary Rd
San Tan Valley, AZ 85143


Lds‐Gateway Gardens Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
1865 S Higley Rd
Gilbert, Az 85295


Lds‐Gateway Park Ward‐Surprise Az Stk
Grand Canyon Council 010
15005 N Dysart Rd
El Mirage, AZ 85335


Lds‐Gateway Ward / Rock Springs Stake
Trapper Trails 589
2055 Edgar St
Rock Springs, WY 82901
Lds‐Gateway Ward‐Phoenix Az East Stk
Grand Canyon Council 010
2222 N 40th St
Phoenix, AZ 85008


Lds‐Gavilan Ward‐Phoenix Az
Desert Hills Stk
Grand Canyon Council 010
43621 N 43Rd Dr
Phoenix, Az 85087


Lds‐Georgetown Ward
Kearns Ut Central Stk
Great Salt Lake Council 590
5823 S 4800 W
Salt Lake City, Ut 84118


Lds‐Germania Ward/Murray Ut North Stk
Great Salt Lake Council 590
500 W Germania Ave
Salt Lake City, UT 84123


Lds‐Gig Harbor Stake‐Belfair
Pacific Harbors Council, Bsa 612
P.O. Box 2362
Belfair, WA 98528


Lds‐Gig Harbor Stake‐Crescent Valley
Pacific Harbors Council, Bsa 612
12002 Peacock Hill Ave Nw
Gig Harbor, WA 98332


Lds‐Gig Harbor Stake‐Gig Harbor
Pacific Harbors Council, Bsa 612
5407 64th Ave Nw
Gig Harbor, WA 98335


Lds‐Gig Harbor Stake‐Minter Creek
Pacific Harbors Council, Bsa 612
9905 128th St Nw
Gig Harbor, WA 98329
Lds‐Gig Harbor Stake‐Olalla
Pacific Harbors Council, Bsa 612
P.O. Box 419
Port Orchard, WA 98366


Lds‐Gig Harbor Stake‐Wollochet
Pacific Harbors Council, Bsa 612
8002 Dorotich St
Gig Harbor, WA 98332


Lds‐Gila River Ward‐Phoenix Az
South Mountain Stk
Grand Canyon Council 010
4125 W Baseline Rd
Laveen, Az 85339


Lds‐Gilbert 12Th Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1483 N Driftwood Dr
Gilbert, Az 85234


Lds‐Gilbert 2Nd Ward‐Gilbert Az Stk
Grand Canyon Council 010
777 W Elliot Rd
Gilbert, AZ 85296


Lds‐Gilbert 3Rd Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
1010 S Recker Rd
Gilbert, Az 85296


Lds‐Gilbert 4Th Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1150 N Lindsay Rd
Gilbert, Az 85234


Lds‐Gilbert 6Th Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
2700 E Guadalupe Rd
Gilbert, Az 85234


Lds‐Gilbert 9Th Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1150 E Guadalupe Rd
Gilbert, Az 85234


Lds‐Gilbert Ranch Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
2740 S Lindsay Rd
Gilbert, Az 85295


Lds‐Gilbert Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
1150 W Elliot Rd
Gilbert, AZ 85233


Lds‐Glacial Park Ward
Sandy Ut Granite View Stk
Great Salt Lake Council 590
2675 Mount Jordan Rd
Sandy, Ut 84092


Lds‐Glassford Hill Ward
Prescott Vly Az Stk
Grand Canyon Council 010
7885 E Long Look Dr
Prescott Valley, Az 86314


Lds‐Glen Hills
Quivira Council, Bsa 198
1324 N Briarwood Rd
Derby, KS 67037


Lds‐Glen Lakes Ward‐Glendale Az Stk
Grand Canyon Council 010
8840 N 61st Ave
Glendale, AZ 85302
Lds‐Glenmoor 10Th Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
4881 Cindy Ln
South Jordan, Ut 84009


Lds‐Glenmoor 2Nd Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
9455 S 4800 W
South Jordan, Ut 84095


Lds‐Glenmoor 3Rd Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
9455 S 4800 W
South Jordan, Ut 84009


Lds‐Glenmoor 4Th Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
4881 W Cindy Dr
South Jordan, Ut 84095


Lds‐Glenmoor 5Th Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
4881 W Cindy Dr
South Jordan, Ut 84095


Lds‐Glenmoor 6Th Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
4200 W Skye Dr
South Jordan, Ut 84009


Lds‐Glenmoor 7Th Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
4200 W Skye Dr
South Jordan, Ut 84095
Lds‐Glenmoor 8Th Ward
S J Ut Glenmoor Stk
Great Salt Lake Council 590
4200 W Skye Dr
South Jordan, Ut 84009


Lds‐Glenview Ward‐Mesa Az Kimball Stk
Grand Canyon Council 010
920 N Lindsay Rd
Mesa, AZ 85204


Lds‐Globe 1St Ward‐Globe Az Stk
Grand Canyon Council 010
1701 Ensign St
Globe, AZ 85502


Lds‐Globe 2Nd Ward‐Globe Az Stk
Grand Canyon Council 010
1701 N US Hwy 60
Globe, AZ 85501


Lds‐Gold Canyon Ward‐Peralta Trail Az
Stk
Grand Canyon Council 010
2520 E Old W Hwy
Apache Junction, Az 85119


Lds‐Golden Meadows 1St Ward
Rvrtn Ut South Stk
Great Salt Lake Council 590
2700 W 13400 S
Riverton, Ut 84065


Lds‐Golden Meadows 2Nd Ward
Rvrtn Ut South Stk
Great Salt Lake Council 590
3113 W 13400 S
Riverton, Ut 84065


Lds‐Goldfield Ward‐Peralta Trail Az Stk
Grand Canyon Council 010
2520 E Old W Hwy
Apache Junction, AZ 85119
Lds‐Gonzales Ward 2‐Baton Rouge Stake
Istrouma Area Council 211
502 E Hwy 30
Gonzales, LA 70737


Lds‐Gonzales Ward‐Baton Rouge Stake
Istrouma Area Council 211
502 E Hwy 30
Gonzales, LA 70737


Lds‐Goodyear Ward‐Goodyear Az Stk
Grand Canyon Council 010
13277 W Thomas Rd
Goodyear, AZ 85395


Lds‐Gordon Lane Ward
Stansbury Park Ut South Stk
Great Salt Lake Council 590
390 E Village Blvd
Stansbury Park, Ut 84074


Lds‐Gore Ward‐Fort Smith Ar Stake
Indian Nations Council 488
P.O. Box 92
Warner, OK 74469


Lds‐Graham Stake‐Eatonville
Pacific Harbors Council, Bsa 612
900 Erin Ln W
Eatonville, WA 98328


Lds‐Graham Stake‐Elk Plain
Pacific Harbors Council, Bsa 612
6901 224th St E
Spanaway, WA 98387


Lds‐Graham Stake‐Graham
Pacific Harbors Council, Bsa 612
13612 224th St E
Graham, WA 98338
Lds‐Graham Stake‐Rainier
Pacific Harbors Council, Bsa 612
900 Erin Ln W
Eatonville, WA 98328


Lds‐Graham Stake‐So Spanaway
Pacific Harbors Council, Bsa 612
16820 16th Ave E
Spanaway, WA 98387


Lds‐Graham Stake‐Sunrise
Pacific Harbors Council, Bsa 612
13530 174th St Ct E
Puyallup, WA 98374


Lds‐Granada Hills Stake
Mission Hills Ward
W.L.A.C.C. 051
11315 White Oak Ave
Granada Hills, Ca 91344


Lds‐Granby Ward‐Monett Stake
Ozark Trails Council 306
22897 E Hwy 86
Granby, MO 64844


Lds‐Grandeur Peak Ward
Sl Mt Olympus Stake
Great Salt Lake Council 590
3610 S 3510 E
Salt Lake City, Ut 84109


Lds‐Grandridge Ward‐Kennewick Stake
Blue Mountain Council 604
724 N Pittsburg St
Kennewick, WA 99336


Lds‐Grandview 1St Ward/S L Wilford Stk
Great Salt Lake Council 590
2930 S 2000 E
Salt Lake City, UT 84109
Lds‐Grandview 1St Ward‐Mesa Az
Central Stk
Grand Canyon Council 010
1455 N Harris Dr
Mesa, Az 85203


Lds‐Grandview 2Nd Ward/Sl Wilford Stake
Great Salt Lake Council 590
2930 S 2000 E St
Salt Lake City, UT 84106


Lds‐Grandview 2Nd Ward‐Mesa Az
Central Stk
Grand Canyon Council 010
925 N Harris Dr
Mesa, Az 85203


Lds‐Grandview 3Rd Ward/S L Wilford Stk
Great Salt Lake Council 590
2930 S 2000 E
Salt Lake City, UT 84109


Lds‐Grandview Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
5017 Grand View Peak Dr
Riverton, Ut 84096


Lds‐Granger 11Th Ward Samoan
Sl Grngr N Stk
Great Salt Lake Council 590
3450 W 3100 S
Salt Lake City, Ut 84120


Lds‐Granger 15Th Ward
S L Granger North Stk
Great Salt Lake Council 590
2835 S 2855 W
Salt Lake City, Ut 84119


Lds‐Granger 25Th Ward
S L Granger East Stk
Great Salt Lake Council 590
2102 W 3100 S
Salt Lake City, Ut 84119


Lds‐Granger 5Th Ward Spanish
Sl Granger East Stk
Great Salt Lake Council 590
2101 W 3100 S
West Valley City, Ut 84119


Lds‐Granger 8Th Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
3325 S 4440 W
West Valley, Ut 84120


Lds‐Granger W 5Th Br Marshallese
Sl Granger West Stake
Great Salt Lake Council 590
3385 S Ecrest Rd, Apt 121
West Valley City, Ut 84120


Lds‐Granger Ward/S L Granger Stake
Great Salt Lake Council 590
2850 W 3835 S
West Valley, UT 84119


Lds‐Granger West 3Rd Ward
S L Granger West Stk
Great Salt Lake Council 590
2957 S Laree St
Salt Lake City, Ut 84120


Lds‐Granger West 4Th Ward
S L Granger West Stk
Great Salt Lake Council 590
3305 Scottsdale Dr
West Valley City, Ut 84120


Lds‐Granger West 7Th Ward
S L Granger West Stk
Great Salt Lake Council 590
4460 Cortney Dr
West Valley City, Ut 84120


Lds‐Granger West 9Th Ward
S L Granger West Stk
Great Salt Lake Council 590
4460 W Cortney Dr
West Valley City, Ut 84120


Lds‐Granite Creek Ward
Prescott Vly Az Stk
Grand Canyon Council 010
1880 E Rd 1 S
Chino Valley, Az 86323


Lds‐Granite Dells Ward‐Prescott Az Stk
Grand Canyon Council 010
1101 Sandretto Dr
Prescott, AZ 86301


Lds‐Granite Hills Ward‐Apple Vly Stake
California Inland Empire Council 045
12242 Navajo Rd
Apple Valley, Ca 92308


Lds‐Granite Mountain Ward‐Stv Az Stake
Grand Canyon Council 010
1521 E Bella Vista Rd
Queen Creek, AZ 85242


Lds‐Granite Reef Ward‐Mesa Az
Red Mountain Stk
Grand Canyon Council 010
6025 E Princess Dr
Mesa, Az 85205


Lds‐Granite Reef Ward‐Paradise Valley Az
Stk
Grand Canyon Council 010
3010 E Thunderbird Rd
Phoenix, Az 85032


Lds‐Granite Ridge Ward
Sandy Ut Granite View Stk
Great Salt Lake Council 590
9575 S 3100 E
Sandy, Ut 84092


Lds‐Granite View Ward
Sandy Ut Granite View Stk
Great Salt Lake Council 590
2675 Mount Jordan Rd
Sandy, Ut 84092


Lds‐Granite Ward
Sandy Ut Granite View Stk
Great Salt Lake Council 590
9575 S 3100 E
Sandy, Ut 84092


Lds‐Granite Ward Spanish
S L Granite Park Stk
Great Salt Lake Council 590
3219 S 300 E
Salt Lake City, Ut 84115


Lds‐Granite Ward/Sandy Ut Granite Stk
Great Salt Lake Council 590
9245 S Quail Run Dr
Sandy, UT 84093


Lds‐Grantsville 10Th Ward
Grantsville Ut Stk
Great Salt Lake Council 590
81 Church St
Grantsville, Ut 84029


Lds‐Grantsville 11Th Ward
Grantsville Ut Stk
Great Salt Lake Council 590
410 Shelley Ln
Grantsville, Ut 84029


Lds‐Grantsville 12Th Ward
Grantsville Ut West Stk
Great Salt Lake Council 590
428 S Hale St
Grantsville, Ut 84029


Lds‐Grantsville 13Th Ward
Grantsville Utah Stake
Great Salt Lake Council 590
44 E Box Elder Dr
Grantsville, Ut 84029


Lds‐Grantsville 14Th Ward
Grantsville Utah Stake
Great Salt Lake Council 590
357 Willow St
Grantsville, Ut 84029


Lds‐Grantsville 15Th Ward
Grantsville Utah Stake
Great Salt Lake Council 590
862 Silver Spur Rd
Grantsville, Ut 84029


Lds‐Grantsville 1St Ward
Grntsvlle Ut West Stk
Great Salt Lake Council 590
344 N Wrathall Cir
Grantsville, Ut 84029


Lds‐Grantsville 3Rd Ward
Grntsvlle Ut West Stk
Great Salt Lake Council 590
428 S Hale St
Grantsville, Ut 84029


Lds‐Grantsville 4Th Ward
Grntsvlle Ut West Stk
Great Salt Lake Council 590
428 S Hale St
Grantsville, Ut 84029


Lds‐Grantsville 5Th Ward
Grntsvlle Ut West Stk
Great Salt Lake Council 590
P.O. Box 65
199 E Durfee
Grantsville, Ut 84029


Lds‐Grantsville 6Th Ward
Grantsville Ut Stk
Great Salt Lake Council 590
81 Church St
Grantsville, Ut 84029


Lds‐Grantsville 7Th Ward
Grntsvlle Ut West Stk
Great Salt Lake Council 590
415 W Apple St
Grantsville, Ut 84029


Lds‐Grantsville 8Th Ward
Grantsville Ut Stk
Great Salt Lake Council 590
550 E Durfee St
Grantsville, Ut 84029


Lds‐Grantsville 9Th Ward
Grntsvlle Ut West Stk
Great Salt Lake Council 590
415 W Apple St
Grantsville, Ut 84029


Lds‐Grayson Ward‐Lilburn Stake
Northeast Georgia Council 101
2600 Cammie Wages Rd
Dacula, GA 30019


Lds‐Great Bend Ward‐Salina Stake
Quivira Council, Bsa 198
5851 Eisenhower Ave
Great Bend, KS 67530


Lds‐Green Tree Ward‐Hesperia Stake
California Inland Empire Council 045
13920 Victoria Dr
Victorville, CA 92395
Lds‐Greenfield 1St Ward‐Chandler Az
East Stk
Grand Canyon Council 010
21320 S Greenfield Rd
Gilbert, Az 85298


Lds‐Greenfield 2Nd Ward‐Chandler Az
East Stk
Grand Canyon Council 010
4346 S Val Vista Dr
Gilbert, Az 85297


Lds‐Greenfield 3Rd Ward‐Chandler Az
East Stk
Grand Canyon Council 010
21320 S Greenfield Rd
Gilbert, Az 85298


Lds‐Greenfield 4Th Ward‐Chandler Az
East Stk
Grand Canyon Council 010
2051 E Coconino Ct
Gilbert, Az 85298


Lds‐Greenfield Acres Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
7361 S Constellation Way
Gilbert, Az 85298


Lds‐Greenfield Park Ward‐Mesa Az
Kimball East Stk
Grand Canyon Council 010
1249 S 48Th St
Mesa, Az 85206


Lds‐Greenfield Ward/Cntrvll Ut North Stk
Great Salt Lake Council 590
1298 N 400 W
Centerville, UT 84014


Lds‐Greenfield Ward‐Mesa Az
Alta Mesa Stk
Grand Canyon Council 010
1550 N Val Vista Dr
Mesa, Az 85213


Lds‐Greenville‐2
Blue Ridge Council 551
1301 Boiling Springs Rd
Greer, SC 29650


Lds‐Greenville‐5Th Ward
Blue Ridge Council 551
1301 Boiling Springs Rd
Greer, SC 29650


Lds‐Greenway Ward‐Paradise Valley Az Stk
Grand Canyon Council 010
4242 E Waltann Ln
Phoenix, AZ 85032


Lds‐Gregson Ward/S L Grant Stk
Great Salt Lake Council 590
3153 S 900 E
Salt Lake City, UT 84106


Lds‐Grove 1St Ward‐Chandler Az South Stk
Grand Canyon Council 010
3770 S Cooper Rd
Chandler, AZ 85249


Lds‐Grove 2Nd Ward‐Chandler Az South Stk
Grand Canyon Council 010
3770 S Cooper Rd
Chandler, AZ 85249


Lds‐Grove 3Rd Ward‐Chandler Az South Stk
Grand Canyon Council 010
6345 S Lindsay Rd
Chandler, AZ 85249


Lds‐Grover Hill Ward‐St Johns Az Stk
Grand Canyon Council 010
2000 W Cleveland St
Saint Johns, AZ 85936


Lds‐Groves Ward‐Mesa Az
Mountain View Stk
Grand Canyon Council 010
1550 N Val Vista Dr
Mesa, Az 85213


Lds‐Gushikawa Servicemens Branch
Far E Council 803
Psc 80 Box 20494
Apo Ap, 96367


Lds‐Halawa Ward‐Honolulu West Stake
Aloha Council, Bsa 104
99‐641 Pohue St
Aiea, HI 96701


Lds‐Hallmark Ward‐San Bernardino Stake
California Inland Empire Council 045
1475 Npark Blvd
San Bernardino, CA 92407


Lds‐Hamilton Mill Ward‐Sugar Hill Stake
Northeast Georgia Council 101
4735 Cash Rd
Flowery Branch, GA 30542


Lds‐Hamilton Ridge Ward/Herriman Ut Stk
Great Salt Lake Council 590
5562 W 13680 S
Herriman, UT 84096


Lds‐Hammond Ward‐Denham Springs Stake
Istrouma Area Council 211
701 Rue Saint Michael
Hammond, LA 70403


Lds‐Hampstead Ward/Wilmington Nc Stake
Cape Fear Council 425
102 Deerfield Dr
Hampstead, NC 28443
Lds‐Hampton Ward‐Mesa Az Clearview Stk
Grand Canyon Council 010
1007 S 72nd St
Mesa, AZ 85208


Lds‐Harman Ward/S L Granger South Stk
Great Salt Lake Council 590
4634 W Harman Dr
West Valley City, UT 84120


Lds‐Harmony Park Ward
S L Granite Park Stk
Great Salt Lake Council 590
3805 S Main St
Salt Lake City, Ut 84115


Lds‐Harmony Park Ward‐Mesa Az
Kimball Stk
Grand Canyon Council 010
1266 S 32Nd St
Mesa, Az 85204


Lds‐Harmony Ward‐Mesa Az Stk
Grand Canyon Council 010
1415 E Sern Ave
Mesa, AZ 85204


Lds‐Harper Park Ward
Huntington Beach Stake
Orange County Council 039
19191 17Th St
Huntington Beach, Ca 92648


Lds‐Harrington Ward‐Dover De Stake
Del Mar Va 081
110 E Lucky Estates Dr
Harrington, DE 19952


Lds‐Harris 1St Ward‐Mesa Az Central Stk
Grand Canyon Council 010
1455 N Harris Dr
Mesa, AZ 85203


Lds‐Harris 2Nd Ward‐Mesa Az Central Stk
Grand Canyon Council 010
1445 N Harris Dr
Mesa, AZ 85203


Lds‐Harris Park Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
2220 N Harris Dr
Mesa, AZ 85203


Lds‐Harrison Park Ward‐Derby Stake
Quivira Council, Bsa 198
2300 N Buckner St
Lds Church
Derby, KS 67037


Lds‐Harvest Park 1St Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
12173 S 4000 W
Riverton, Ut 84096


Lds‐Harvest Park 2Nd Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
4501 W 11800 S
Riverton, Ut 84096


Lds‐Harvest Park 3Rd Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
4501 W 11800 S
Riverton, Ut 84096


Lds‐Harvest Park 4Th Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
12135 S 4000 W
Riverton, Ut 84096
Lds‐Harvest Park 5Th Ward
Riverton Ut Harvest Park Stk
Great Salt Lake Council 590
4501 W 11800 S
Riverton, Ut 84096


Lds‐Harvest Park Ward
S L Granger South Stk
Great Salt Lake Council 590
3671 Oldham St
West Valley City, Ut 84120


Lds‐Harvest Valley Ward‐Silver Creek Az
Stk
Grand Canyon Council 010
300 W Willow Ln
Taylor, Az 85939


Lds‐Harvestland Ward
Tville Ut No Central Stk
Great Salt Lake Council 590
3120 W 4700 S
Salt Lake City, Ut 84118


Lds‐Hastings Farms 2Nd Ward‐Qc Az
Central Stk
Grand Canyon Council 010
20953 E Misty Ln
Queen Creek, Az 85142


Lds‐Hastings Farms Ward‐Qc Az
Central Stk
Grand Canyon Council 010
21536 E Mewes Rd
Queen Creek, Az 85142


Lds‐Hauula 1St Ward‐Laie Stake
Aloha Council, Bsa 104
54‐208 Hauula Homestead Rd
Hauula, HI 96717


Lds‐Hauula 2Nd Ward‐Laie Stake
Aloha Council, Bsa 104
P.O. Box 836
Hauula, HI 96717


Lds‐Hauula 3Rd Ward‐Laie Stake
Aloha Council, Bsa 104
Lds‐Hauula 3rd Ward
Laie Stake
Hauula, HI 96717


Lds‐Hauula 4Th Ward‐Laie Stake
Aloha Council, Bsa 104
54‐208 Hauula Homestead Rd
Hauula, HI 96717


Lds‐Hauula 5Th Ward‐Laie Stake
Aloha Council, Bsa 104
P.O. Box 68
Laie, HI 96762


Lds‐Hauula 6Th Ward‐Laie Stake
Aloha Council, Bsa 104
55‐030 Kamehameha Hwy
Hauula, HI 96717


Lds‐Haven Ward/South Salt Lake Stk
Great Salt Lake Council 590
2280 S 300 E
Salt Lake City, UT 84115


Lds‐Hawaii Kai Ward
Honolulu Hawaii Stake
Aloha Council, Bsa 104
219 Lunalilo Home Rd
Honolulu, Hi 96825


Lds‐Hawes Ward‐Mesa Az Boulder Creek Stk
Grand Canyon Council 010
2265 S Hawes Rd
Mesa, AZ 85209


Lds‐Hawes Ward‐Qc Az West Stk
Grand Canyon Council 010
19296 E Rosa Rd
Queen Creek, AZ 85142


Lds‐Hayward 1St Ward‐Hayward Stake
San Francisco Bay Area Council 028
2000 Highland Blvd
Hayward, CA 94542


Lds‐Hayward 2Nd Ward‐Hayward Stake
San Francisco Bay Area Council 028
26101 Gading Rd
Hayward, CA 94544


Lds‐Hayward Ward‐Hayward Stake
San Francisco Bay Area Council 028
3551 Decoto Rd
Fremont, CA 94555


Lds‐Hazelewood Ward‐North County Stake
Greater St Louis Area Council 312
10445 Clayton Rd
Saint Louis, MO 63131


Lds‐Hazelhurst Ward
Bennion Utah West Stake
Great Salt Lake Council 590
3045 Bernina Dr
Taylorsville City, Ut 84129


Lds‐Hazelwood 5Th Ward‐N Cnty Stake
Greater St Louis Area Council 312
6386 Howdershell Rd
Hazelwood, Mo 63042


Lds‐Hazelwood Ward‐North County Stake
Greater St Louis Area Council 312
2245 S Old Hwy 94
Saint Charles, MO 63303


Lds‐Hazelwood Ward‐North County Stake
Greater St Louis Area Council 312
66 Oak Valley Dr
Saint Peters, MO 63376


Lds‐Hebron Ward‐Valparaiso Stake
Lasalle Council 165
P.O. Box 73
657 S 687 W
Hebron, IN 46341


Lds‐Hegessy Ward/Sandy Ut Granite Stk
Great Salt Lake Council 590
2535 Newcastle Dr
Sandy, UT 84093


Lds‐Heights Ward/Bntfl Ut Heights Stk
Great Salt Lake Council 590
33 S Moss Hill Dr
Bountiful, UT 84010


Lds‐Henefer 1St Ward/Coalville Ut Stk
Great Salt Lake Council 590
708 N Main St
Henefer, UT 84033


Lds‐Henefer 2Nd Ward/Coalville Ut Stk
Great Salt Lake Council 590
708 N Main St
Henefer, UT 84033


Lds‐Henryetta Ward‐Tulsa Ok East Stake
Indian Nations Council 488
1501 N 5th St
Henryetta, OK 74437


Lds‐Heritage 10Th Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
7645 S 3200 W
West Jordan, Ut 84084


Lds‐Heritage 11Th Samoan Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
7336 S 3200 W
West Jordan, Ut 84084


Lds‐Heritage 2Nd Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
7645 S 3200 W
West Jordan, Ut 84084


Lds‐Heritage 3Rd Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
7336 S 3200 W
West Jordan, Ut 84084


Lds‐Heritage 4Th Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
7336 S 3200 W
West Jordan, Ut 84084


Lds‐Heritage 5Th Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
6772 S 3420 W
West Jordan, Ut 84084


Lds‐Heritage 6Th Ward
W J Ut Heritage Stk
Great Salt Lake Council 590
6772 S 3420 W
West Jordan, Ut 84084


Lds‐Heritage Park Ward‐Mesa Az Stk
Grand Canyon Council 010
233 E 10th Ave
Mesa, AZ 85210


Lds‐Heritage Ward/Murray West Stake
Great Salt Lake Council 590
67 W Clay Park Dr
Salt Lake City, UT 84107
Lds‐Heritage Ward/S L Granger South Stk
Great Salt Lake Council 590
4634 W Harmon Dr
West Valley City, UT 84120


Lds‐Heritage Ward‐Sa Stake
Alamo Area Council 583
10819 W Military Rd
San Antonio, TX 78251


Lds‐Hermiston Ward‐Hermiston Stake
Blue Mountain Council 604
1553 SW Meadow View Dr
Hermiston, OR 97838


Lds‐Hermosa Groves Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
2549 N 32Nd St
Mesa, Az 85213


Lds‐Hermosa Vista Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2627 N Chestnut Cir
Mesa, Az 85213


Lds‐Herriman 1St Ward
Fort Herriman Ut Stk
Great Salt Lake Council 590
12791 S 6000 W
Herriman, Ut 84096


Lds‐Herriman 2Nd Ward
Fort Herriman Utah Stake
Great Salt Lake Council 590
4080 W 12600 S
Herriman, Ut 84096


Lds‐Herriman 4Th Ward
Ft Herriman Ut Stake
Great Salt Lake Council 590
12737 S 6000 W
Herriman, Ut 84065


Lds‐Herriman Hills Ward/Herriman Ut Stk
Great Salt Lake Council 590
5017 Grand View Peak Dr
Riverton, UT 84096


Lds‐Herriman Rose 1St Ward
Rivrtn Ut Wstrn Sprgs Stk
Great Salt Lake Council 590
13122 S Herriman Rose Blvd
Herriman, Ut 84096


Lds‐Herriman Rose 2Nd Ward
Riverton Ut W Springs Stk
Great Salt Lake Council 590
13122 S Herriman Rose Blvd
Herriman, Ut 84096


Lds‐Herriman Rose 3Rd Ward
Rvrtn Ut Wstrn Springs Stk
Great Salt Lake Council 590
13122 Herriman Rose Blvd
Herriman, Ut 84096


Lds‐Herriman Ut S Stake Special Needs
Great Salt Lake Council 590
14550 S Juniper Crest
Herriman, Ut 84096


Lds‐Heytesbury Ward/Sandy Ut East Stk
Great Salt Lake Council 590
1600 E Buttercup Rd
Sandy, UT 84092


Lds‐Hialeah Ward
South Florida Council 084
4300 W 4th Ave
Hialeah, FL 33012


Lds‐Hickory Hills Ward‐Springfield Stake
Ozark Trails Council 306
1357 S Ingram Mill Rd
Springfield, MO 65804


Lds‐Hidden Creek Ward
Sandy Utah West Stake
Great Salt Lake Council 590
8950 S 400 E
Sandy, Ut 84070


Lds‐Hidden Lake Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
900 Eaglepoint Dr
North Salt Lake, Ut 84054


Lds‐Hidden Oaks Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
11755 S Highland Dr
Sandy, Ut 84092


Lds‐Hidden Spgs Ward‐Moreno Vly Stake
California Inland Empire Council 045
23300 Old Lake Dr
Moreno Valley, Ca 92557


Lds‐Hidden Valley 3Rd Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
11755 Highland Dr
Sandy, Ut 84092


Lds‐Hidden Valley 4Th Ward
Sandy Ut Hddn Vlly Stk
Great Salt Lake Council 590
1450 Raddon Dr
Sandy, Ut 84092


Lds‐Hidden Valley Ward‐Maricopa Az Stk
Grand Canyon Council 010
45235 W Honeycutt Ave
Maricopa, AZ 85139
Lds‐Hidden Village Ward
Murray Ut North Stk
Great Salt Lake Council 590
5425 S Allendale Dr
Salt Lake City, Ut 84123


Lds‐High Country Ward‐East Stake
Alamo Area Council 583
15200 Judson Rd
San Antonio, TX 78247


Lds‐Highbury Ward/Salt Lake Hunter Stake
Great Salt Lake Council 590
3372 S Merry Lane
West Valley City, UT 84120


Lds‐Highland 1St Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10227 S 4000 W
South Jordan, Ut 84009


Lds‐Highland 2Nd Ward
S J Ut Highland Stk
Great Salt Lake Council 590
9800 Dunsinane Dr
South Jordan, Ut 84095


Lds‐Highland 3Rd Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10101 S Autumn Breeze Ln
South Jordan, Ut 84009


Lds‐Highland 4Th Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10227 S 4000 W
South Jordan, Ut 84095


Lds‐Highland 5Th Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10115 Yorkshire Dr
South Jordan, Ut 84095


Lds‐Highland 6Th Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10115 Yorkshire Dr
South Jordan, Ut 84095


Lds‐Highland 7Th Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10115 Yorkshire Dr
South Jordan, Ut 84009


Lds‐Highland 8Th Samoan Ward
Sj Utah Highland Stake
Great Salt Lake Council 590
9800 Dunsinane Dr
South Jordan, Ut 84095


Lds‐Highland 9Th Ward
S J Ut Highland Stk
Great Salt Lake Council 590
10227 S 4000 W
South Jordan, Ut 84095


Lds‐Highland Groves Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
4629 E Guadalupe
Gilbert, Az 85234


Lds‐Highland Park Ward/S L Highland Stk
Great Salt Lake Council 590
2535 Douglas St
Salt Lake City, UT 84106


Lds‐Highland Park Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
1010 S Recker Rd
Gilbert, Az 85296


Lds‐Highland Ranch Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
4629 E Guadalupe Rd
Gilbert, Az 85234


Lds‐Highland Ridge Ward‐Mesa Az
Eastmark Stk
Grand Canyon Council 010
11134 E Rutledge Ave
Mesa, Az 85212


Lds‐Highland View Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
2980 S 2790 E
Salt Lake City, Ut 84109


Lds‐Highland Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
2126 Gyrfalcon Dr
Sandy, Ut 84092


Lds‐Highland Ward/Murray Ut Parkway Stk
Great Salt Lake Council 590
932 Greenoaks Dr
Salt Lake City, UT 84123


Lds‐Highland Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
4201 E Harvard Ave
Russ Thornock
Gilbert, Az 85234


Lds‐Highland Ward‐Mesa Az
Mountain View Stk
Grand Canyon Council 010
2835 E Des Moines St
Mesa, Az 85213


Lds‐Highland Ward‐Rancho Cucamonga Stake
California Inland Empire Council 045
6541 Woodruff Pl
Rancho Cucamonga, CA 91701


Lds‐Highlands Ward‐San Bernardino Stake
California Inland Empire Council 045
7000 Central Ave
Highland, CA 92346


Lds‐Highlands Ward‐West Richland Stake
Blue Mountain Council 604
3701 Watkins Way
West Richland, WA 99353


Lds‐Highlandville Ward‐Spgfield S Stake
Ozark Trails Council 306
1662 Timber Lake Dr
Nixa, Mo 65714


Lds‐Higley Groves Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
10236 S Greenfield Rd
Gilbert, Az 85234


Lds‐Higley Manor Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
3307 S Greenfield Rd
Gilbert, Az 85297


Lds‐Higley Ward‐Gilbert Az Higley Stk
Grand Canyon Council 010
960 S Rutherford Ct
Gilbert, AZ 85296


Lds‐Hillcrest 1St Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
8485 S 1000 E
Sandy, Ut 84094


Lds‐Hillcrest 1St Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
2350 Jeffrey Wy
Brentwood, CA 94513


Lds‐Hillcrest 2Nd Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
8735 S Harvard Park Dr
Sandy, Ut 84094


Lds‐Hillcrest 3Rd Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
1165 E 8600 S
Sandy, Ut 84094


Lds‐Hillcrest 4Th Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
8735 S Harvard Park Dr
Sandy, Ut 84094


Lds‐Hillcrest 5Th Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
915 Peach Blossom Dr
Sandy, Ut 84094


Lds‐Hillcrest 6Th Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
1165 E 8600 S
Sandy, Ut 84094


Lds‐Hillcrest 7Th Ward
Sandy Ut Hillcrest Stk
Great Salt Lake Council 590
8485 S 1000 E
Sandy, Ut 84094
Lds‐Hillcrest 9Th Ward
Sandy Utah Hillcrest Stk
Great Salt Lake Council 590
915 Peach Blossom Dr
Sandy, Ut 84094


Lds‐Hillcrest Ward/Murray Ut South Stk
Great Salt Lake Council 590
495 E 5600 S
Salt Lake City, UT 84107


Lds‐Hillcrest Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2461 E Kael Cir
Mesa, Az 85213


Lds‐Hillcrest Ward‐Springfield Stake
Ozark Trails Council 306
1357 S Ingram Mill Rd
Springfield, MO 65804


Lds‐Hillsdale Park Ward
S L Granger East Stk
Great Salt Lake Council 590
3276 Hillsdale Dr
Salt Lake City, Ut 84119


Lds‐Hillside Ward/Murray Ut South Stk
Great Salt Lake Council 590
495 E 5600 S
Salt Lake City, UT 84107


Lds‐Hillside Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
1430 N Grand
Mesa, AZ 85201


Lds‐Hillside Ward‐Rancho Cucamonga Stake
California Inland Empire Council 045
5474 Haven Ave
Alta Loma, CA 91737


Lds‐Hilltop 1St Ward‐Concord Stake
Mt Diablo‐Silverado Council 023
4351 Hilltop Dr
El Sobrante, CA 94803


Lds‐Hillview Ward‐Richland Stake
Blue Mountain Council 604
1131 Saddle Way
Richland, WA 99352


Lds‐Hispanic Branch‐San Leandro Stake
San Francisco Bay Area Council 028
13901 Bancroft Ave
San Leandro, CA 94578


Lds‐Holladay 10Th Ward/S L Holladay Stk
Great Salt Lake Council 590
4601 Chapel Dr
Salt Lake City, UT 84117


Lds‐Holladay 14Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
4917 S Viewmont St
Salt Lake City, Ut 84117


Lds‐Holladay 18Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
2625 E Milo Way
Holladay, Ut 84117


Lds‐Holladay 1St Ward/S L Holladay Stk
Great Salt Lake Council 590
2065 E 4675 S
Holladay, UT 84117


Lds‐Holladay 24Th Ward
S L Holladay North Stk
Great Salt Lake Council 590
4395 Albright Dr
Salt Lake City, Ut 84124


Lds‐Holladay 25Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
2886 E Naniloa Cir
Salt Lake City, Ut 84117


Lds‐Holladay 26Th Ward/S L Holladay Stk
Great Salt Lake Council 590
4601 Chapel Dr
Salt Lake City, UT 84117


Lds‐Holladay 27Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
5450 S Holladay Blvd
Salt Lake City, Ut 84117


Lds‐Holladay 28Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
2625 E Milo Way
Salt Lake City, Ut 84117


Lds‐Holladay 2Nd Ward/S L Holladay Stk
Great Salt Lake Council 590
4568 S Holladay Blvd
Salt Lake City, UT 84117


Lds‐Holladay 3Rd Ward/S L Holladay Stk
Great Salt Lake Council 590
4568 S Holladay Blvd
Salt Lake City, UT 84117


Lds‐Holladay 4Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
4917 S Viewmont St
Salt Lake City, Ut 84117
Lds‐Holladay 8Th Ward
S L Holladay South Stk
Great Salt Lake Council 590
5450 S Holladay Blvd
Holladay, Ut 84117


Lds‐Holladay Stake Handicapped
Sl Holladay Stk
Great Salt Lake Council 590
4568 S Holladay Blvd
Salt Lake City, Ut 84117


Lds‐Hollyhock/Logan South Stake
Trapper Trails 589
94 W 600 S
Logan S Stake
Logan, UT 84321


Lds‐Hollywood Hills Ward
South Florida Council 084
510 N 35th Ave
Hollywood, FL 33021


Lds‐Hollywood Ward
South Florida Council 084
510 N 35th Ave
Hollywood, FL 33021


Lds‐Homer Ward‐Soldotna Stake
Great Alaska Council 610
P.O. Box 15097
Fritz Creek, AK 99603


Lds‐Homestead Ward
South Florida Council 084
29600 SW 167th Ave
Homestead, FL 33030


Lds‐Homestead Ward/Murray Ut South Stk
Great Salt Lake Council 590
5605 S Vine St
Salt Lake City, UT 84107
Lds‐Hondo Branch‐West Stake
Alamo Area Council 583, 30th St      Ave Q
Hondo, TX 78861


Lds‐Honokaa Ward‐Kona Stake
Aloha Council, Bsa 104
P.O. Box 804
Honokaa, HI 96727


Lds‐Honomu Branch‐Hilo Stake
Aloha Council, Bsa 104
28‐3534 Honomu Lane.
Honomu, HI 96728


Lds‐Honouliuli Ward‐Waipahu Stake
Aloha Council, Bsa 104
91‐1154 N Rd
Ewa Beach, HI 96706


Lds‐Horse Heaven Hills Ward
Kennewick E Stake
Blue Mountain Council 604
820 S Buntin St
Kennewick, Wa 99336


Lds‐Houghton Branch‐Green Bay Stake
Bay‐Lakes Council 635
47691 Meadow St
Houghton, MI 49931


Lds‐Houston Ward‐West Plains Stake
Ozark Trails Council 306
9351 Hwy M
Huggins, MO 65484


Lds‐Hoytsville 1St Ward/Coalville Ut Stk
Great Salt Lake Council 590
30899 Old Lincoln Hwy.
Coalville, UT 84017


Lds‐Hoytsville 2Nd Ward/Coalville Ut Stk
Great Salt Lake Council 590
1095 S Hoytsville Rd
Coalville, UT 84017


Lds‐Huber Heights Ward‐Dayton,Oh
Miami Valley Council, Bsa 444
5750 Shull Rd
Huber Heights, OH 45424


Lds‐Huffman Ward‐Anchorage Stake
Great Alaska Council 610
13111 Brayton Dr
Anchorage, AK 99516


Lds‐Hunter 10Th Ward/S L Hunter East Stk
Great Salt Lake Council 590
5000 W Pavant Ave
West Valley City, UT 84120


Lds‐Hunter 11Th Ward
Salt Lake Hunter East Stake
Great Salt Lake Council 590
5065 Janette Ave
West Valley City, Ut 84120


Lds‐Hunter 12Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
7035 W Lochness Ave
West Valley City, UT 84128


Lds‐Hunter 13Th Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
4440 W 3325 S
Salt Lake City, Ut 84120


Lds‐Hunter 14Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
3450 S 6400 W
Salt Lake City, UT 84128


Lds‐Hunter 16Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
2811 S 6400 W
Salt Lake City, UT 84128


Lds‐Hunter 17Th Ward
S L Hunter Central Stk
Great Salt Lake Council 590
3745 S 6400 W
West Valley City, Ut 84128


Lds‐Hunter 1St Ward
S L Hunter Central Stk
Great Salt Lake Council 590
3665 S 6000 W
Salt Lake City, Ut 84128


Lds‐Hunter 20Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
7035 W Lochness Ave
West Valley City, UT 84128


Lds‐Hunter 23Rd Ward
S L Hunter Central Stk
Great Salt Lake Council 590
3665 S 6000 W
Salt Lake City, Ut 84128


Lds‐Hunter 27Th Ward/S L Hunter East Stk
Great Salt Lake Council 590
4980 W 3285 S
Salt Lake City, UT 84120


Lds‐Hunter 2Nd Ward/S L Hunter Stk
Great Salt Lake Council 590
3970 S 5200 W
Salt Lake City, UT 84120


Lds‐Hunter 35Th Ward
S L Hunter Central Stk
Great Salt Lake Council 590
3745 S 6400 W
Salt Lake City, Ut 84128
Lds‐Hunter 36Th Ward
S L Hunter Central Stk
Great Salt Lake Council 590
3930 S 6000 W
West Valley City, Ut 84128


Lds‐Hunter 37Th Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
4715 S 4300 W
West Valley, Ut 84120


Lds‐Hunter 3Rd Ward/S L Hunter Stk
Great Salt Lake Council 590
3737 S 5600 W
Salt Lake City, UT 84120


Lds‐Hunter 4Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
7035 W Lochness Ave
West Valley City, UT 84128


Lds‐Hunter 5Th Ward/S L Hunter East Stk
Great Salt Lake Council 590
5000 Janette Ave
Salt Lake City, UT 84120


Lds‐Hunter 6Th Ward
S L Hunter Central Stake
Great Salt Lake Council 590
3930 S 6000 W
Salt Lake City, Ut 84128


Lds‐Hunter 8Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
2811 S 6400 W
West Valley City, UT 84128


Lds‐Hunter 9Th Ward/S L Hunter West Stk
Great Salt Lake Council 590
7035 W Lochness Ave
Salt Lake City, UT 84128
Lds‐Hunter Village Ward
S L Hunter West Stk
Great Salt Lake Council 590
3450 S 6400W
West Valley City, Ut 84128


Lds‐Hunters Creek Ward
Farmington Utah West Stk
Great Salt Lake Council 590
905 Foxhunter Dr
Farmington, Ut 84025


Lds‐Huntington Beach 2Nd Ward
Huntington Beach North Stake
Orange County Council 039
5402 Heil Ave
Huntington Beach, Ca 92649


Lds‐Huntington Beach 2Nd Wd
Huntington Beach N Sk
Orange County Council 039
5402 Heil Ave
Huntington Beach, Ca 92649


Lds‐Hyland Lake Ward/S L So Ctnwd Stk
Great Salt Lake Council 590
981 E Revere Cir
Salt Lake City, UT 84121


Lds‐Imperial 1St Ward/S L Highland Stk
Great Salt Lake Council 590
2738 Filmore St
Salt Lake City, UT 84106


Lds‐Imperial 2Nd Ward/S L Highland Stk
Great Salt Lake Council 590
2738 Filmore St
Salt Lake City, UT 84106


Lds‐Independence 1St Ward
Bluffdale Ut Independence Stk
Great Salt Lake Council 590
15040 Mountainside Dr
Bluffdale, Ut 84065


Lds‐Independence 2Nd Ward
Bluffdale Utah Independence Stk
Great Salt Lake Council 590
15100 Heritage Crest Way
Bluffdale, Ut 84064


Lds‐Independence 3Rd Ward
Bluffdale Ut Independence Stk
Great Salt Lake Council 590
15399 S Noell Nelson Dr
Bluffdale, Ut 84065


Lds‐Independence 4Th Ward
Bluffdale Ut Independence Stk
Great Salt Lake Council 590
1011 W Painted Horse Ln
Bluffdale, Ut 84065


Lds‐Independence 5Th Ward
Bluffdale Ut Independence Stk
Great Salt Lake Council 590
15399 Heritage Crest Way
Bluffdale, Ut 84065


Lds‐Independence 6Th Ward
Bluffdale Ut Independence Stk
Great Salt Lake Council 590
15399 S Noell Nelson Dr
Bluffdale, Ut 84065


Lds‐Independence Ward‐Bartlesville Stake
Quivira Council, Bsa 198
507 Mulberry St
Independence, KS 67301


Lds‐Independence Ward‐Tulsa Stake
Quivira Council, Bsa 198
507 Mulberry St
Independence, KS 67301
Lds‐Indian Hills Ward Ward
Sl Monument Pk Stk
Great Salt Lake Council 590
1320 S Wasatch Dr
Salt Lake City, Ut 84108


Lds‐Indian Ridge Ward/Sandy Ut East Stk
Great Salt Lake Council 590
9636 S 1700 E
Sandy, UT 84092


Lds‐Indian Spgs Ward‐Tulsa Ok E Stake
Indian Nations Council 488
1701 N Hickory Ave
Broken Arrow, Ok 74012


Lds‐Indigo Trails Ward‐Qc Az Central Stk
Grand Canyon Council 010
21119 E Duncan St
Queen Creek, AZ 85142


Lds‐Inland Empire Ward‐Rialto Stake
California Inland Empire Council 045
1375 N Willow Ave
Rialto, CA 92376


Lds‐Innovation Park Ward‐Mesa Az
Eastmark Stk
Grand Canyon Council 010
2339 S Crismon Rd
Mesa, Az 85209


Lds‐Iola Ward‐Olathe Kansas Stake
Quivira Council, Bsa 198
1420 E Carpenter St
Iola, KS 66749


Lds‐Ironwood Crossing 1St Ward‐Stv Az
North Stk
Grand Canyon Council 010
663 W Trellis Rd
San Tan Valley, Az 85140


Lds‐Ironwood Crossing 2Nd Ward‐Stv Az
North Stk
Grand Canyon Council 010
41246 N Barnes Pkwy
San Tan Valley, Az 85142


Lds‐Ironwood Crossing 3Rd Ward‐Stv Az
North Stk
Grand Canyon Council 010
1387 W Alder Rd
San Tan Valley, Az 85140


Lds‐Ironwood Ward‐Mesa Az Flat Iron Stk
Grand Canyon Council 010
10036 E Brown Rd
Mesa, AZ 85207


Lds‐Ironwood Ward‐Moreno Valley Stake
California Inland Empire Council 045
24688 Huntley Dr
13281 Lasselle St
Moreno Valley, CA 92557


Lds‐Ironwood Ward‐Stv Az North Stk
Grand Canyon Council 010
41246 N Barnes Pkwy
San Tan Valley, AZ 85142


Lds‐Irvington Ward‐Fremont Stake
San Francisco Bay Area Council 028
42500 Gatewood St
Fremont, CA 94538


Lds‐Islands Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
1150 E Elliot Rd
Gilbert, AZ 85234


Lds‐Ithaca Ward
Baden‐Powell Council 368
114 Burleigh Dr
Ithaca, NY 14850


Lds‐Jacksonville 2 Ward
East Carolina Council 426
300 Brynn Marr Rd
Jacksonville, NC 28546


Lds‐Jacksonville 3 Ward
East Carolina Council 426
300 Brynn Marr Rd
Jacksonville, NC 28546


Lds‐Jamestown Ward‐Newport News Stake
Colonial Virginia Council 595
2017 Newman Rd
Williamsburg, VA 23188


Lds‐Jardines Ward‐Santa Ana So Stake
Orange County Council 039
10212 Stanford Ave
Garden Grove, CA 92683


Lds‐Jefferson Ward/Murray West Stake
Great Salt Lake Council 590
67 W Clay Park Dr
Salt Lake City, UT 84107


Lds‐Jefferson Ward/S L Liberty Stake
Great Salt Lake Council 590
1883 S W Temple
Salt Lake City, UT 84115


Lds‐Jenks Ward‐Tulsa Ok Stake
Indian Nations Council 488
905 Pioneer Rd
Sapulpa, OK 74066


Lds‐Jennings Lane Ward
Cntrvll Ut North Stk
Great Salt Lake Council 590
1298 N 400 W
Centerville, Ut 84014


Lds‐Jeraldo Ward‐Victorville Stake
California Inland Empire Council 045
15330 Jeraldo Dr
Victorville, CA 92394


Lds‐Jeremy Ranch Ward/Park City Ut Stk
Great Salt Lake Council 590
3010 Saddleback Rd
Park City, UT 84098


Lds‐Jewel Lake Ward‐Anchorage Stake
Great Alaska Council 610
3250 Strawberry Rd
Anchorage, AK 99502


Lds‐John Day Ward‐La Grande Stake
Blue Mountain Council 604
26 John Day Hwy
John Day, OR 97845


Lds‐Johnson Ranch Ward‐Stv Az Stk
Grand Canyon Council 010
29900 N Maravilla Dr
San Tan Valley, AZ 85143


Lds‐Jones Falls Ward
Baltimore Area Council 220
1400 Dulaney Valley Rd
Lutherville, MD 21093


Lds‐Joplin Ward 1‐Joplin Stake
Ozark Trails Council 306
2101 Indiana Ave
Joplin, MO 64804


Lds‐Joplin Ward 2‐Joplin Stake
Ozark Trails Council 306
2101 Indiana Ave
Joplin, MO 64804
Lds‐Jordan 1St Ward/S L Jordan Stk
Great Salt Lake Council 590
4145 S 3920 W
Salt Lake City, UT 84120


Lds‐Jordan 3Rd Ward/S L Jordan Stk
Great Salt Lake Council 590
4743 S 3730 W
Taylorsville, UT 84129


Lds‐Jordan 4Th Ward/S L Jordan Stk
Great Salt Lake Council 590
3674 W 4700 S
Salt Lake City, UT 84118


Lds‐Jordan 6Th Ward/S L Jordan Stk
Great Salt Lake Council 590
3650 W 4400 S
West Valley City, UT 84120


Lds‐Jordan Meadows Ward
S L Granger East Stk
Great Salt Lake Council 590
1510 W 3940 S
Salt Lake City, Ut 84123


Lds‐Jordan North 1St Ward
S L Jordan North Stk
Great Salt Lake Council 590
3900 S 4000 W
Salt Lake City, Ut 84120


Lds‐Jordan North 2Nd Ward
S L Jordan North Stk
Great Salt Lake Council 590
4270 Falcon St
Salt Lake City, Ut 84120


Lds‐Jordan North 4Th Ward
S L Jordan North Stk
Great Salt Lake Council 590
4270 Falcon St
Salt Lake City, Ut 84120


Lds‐Jordan North 5Th Ward
S L Jordan North Stk
Great Salt Lake Council 590
3836 W 4100 S
Salt Lake City, Ut 84120


Lds‐Jordan North 6Th Ward
S L Jordan North Stk
Great Salt Lake Council 590
3836 W 4100 S
Salt Lake City, Ut 84120


Lds‐Jordan North 8Th Ward
S L Jordan North Stk
Great Salt Lake Council 590
3900 S 4000 W
Salt Lake City, Ut 84120


Lds‐Jordan Oaks 1St Ward
W J Ut Jordan Oaks Stk
Great Salt Lake Council 590
3907 W 8010 S
West Jordan, Ut 84088


Lds‐Jordan Oaks 2Nd Ward
W J Ut Jordan Oaks Stk
Great Salt Lake Council 590
3930 W 7875 S
West Jordan, Ut 84088


Lds‐Jordan Oaks 3Rd Ward
W J Ut Jordan Oaks Stk
Great Salt Lake Council 590
8117 S Leslie Dr 3905W
West Jordan, Ut 84088


Lds‐Jordan Oaks 4Th Ward
W J Ut Jordan Oaks Stk
Great Salt Lake Council 590
9353 Vistawest Dr
West Jordan, Ut 84088
Lds‐Jordan Oaks 5Th Ward
W J Ut Jordan Oaks Stk
Great Salt Lake Council 590
9353 Vistawest Dr
West Jordan, Ut 84088


Lds‐Jordan Oaks 7Th Ward
W J Ut Jordan Oaks Stk
Great Salt Lake Council 590
7825 S 4000 W.
West Jordan, Ut 84088


Lds‐Jordan Parkway Ward
S L Granger East Stk
Great Salt Lake Council 590
1510 W 3940 S
Salt Lake City, Ut 84123


Lds‐Jordan View Ward
S L Granger North Stk
Great Salt Lake Council 590
1165 W 2320 S
Salt Lake City, Ut 84119


Lds‐Jurupa 1St Ward‐Jurupa Stake
California Inland Empire Council 045
8660 44th St
Jurupa Valley, CA 92509


Lds‐Kadena Servicemens Branch
Far E Council 803
Kadena Air Base
Okinawa Japan
Apo Ap, 96367


Lds‐Kahala Ward‐Honolulu Stake
Aloha Council, Bsa 104
4847 Kilauea Ave
Honolulu, HI 96816


Lds‐Kahaluu Ward‐Kaneohe Stake
Aloha Council, Bsa 104
46‐117 Halaulani St
Kaneohe, HI 96744


Lds‐Kahuku 1St Ward‐Laie North Stake
Aloha Council, Bsa 104
P.O. Box 905
56‐589 Puuluana Pl
Kahuku, HI 96731


Lds‐Kahuku 2Nd Ward‐Laie North Stake
Aloha Council, Bsa 104
P.O. Box 342
Kahuku, HI 96731


Lds‐Kahuku 3Rd Ward‐Tongan Laie N Stake
Aloha Council, Bsa 104
56‐345 Kekauoha St
Kahuku, Hi 96731


Lds‐Kailua Ward‐Kaneohe Stake
Aloha Council, Bsa 104
1461 Kanapuu Dr
Kailua, HI 96734


Lds‐Kaimuki Ward‐Honolulu Stake
Aloha Council, Bsa 104
4847 Kilauea Ave
Honolulu, HI 96816


Lds‐Kalaeloa Ward‐Makakilo Stake
Aloha Council, Bsa 104
2074 Lauwiliwili St
Kapolei, HI 96707


Lds‐Kalaheo Ward‐Kauai Hawaii Stake
Aloha Council, Bsa 104
2‐2354 Kaumualii Hwy
Kalaheo, HI 96741


Lds‐Kalifornsky Beach Ward
Soldotna Stake
Great Alaska Council 610
609 N Forest Dr
Kenai, Ak 99611


Lds‐Kamas 1St Ward/Kamas Ut Stk
Great Salt Lake Council 590
100 Center St
Kamas, UT 84036


Lds‐Kamas 2Nd Ward/Kamas Ut Stk
Great Salt Lake Council 590
100 W Center St
Kamas, UT 84036


Lds‐Kamas 4Th Ward/Kamas Utah Stake
Great Salt Lake Council 590
387 W Last Frontier Lane
Francis, UT 84036


Lds‐Kaneohe 1St Ward‐Kaneohe Stake
Aloha Council, Bsa 104
45‐510 Waikalua Rd
Kaneohe, HI 96744


Lds‐Kaneohe 2Nd Ward‐Kaneohe Stake
Aloha Council, Bsa 104
45‐150 Waikalua Rd
Kaneohe, HI 96744


Lds‐Kaneohe 3Rd Ward‐Kaneohe Stake
Aloha Council, Bsa 104
46‐117 Halaulani St
Kaneohe, HI 96744


Lds‐Kaneohe 4Th Ward‐Kaneohe Stake
Aloha Council, Bsa 104
46‐117 Halaulani St
Kaneohe, HI 96744


Lds‐Kapaa 1St Ward‐Lihue Stake
Aloha Council, Bsa 104
P.O. Box 115
Kapaa, HI 96746


Lds‐Kapaa 2Nd Ward‐Kauai Hawaii Stake
Aloha Council, Bsa 104
P.O. Box 266
Anahola, HI 96703


Lds‐Kapolei Ward‐Makakilo Stake
Aloha Council, Bsa 104
91‐1015 Haulele St
Kapolei, HI 96707


Lds‐Karalee Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
2130 E 10000 S
Sandy, Ut 84092


Lds‐Kaumana Ward‐Hilo Stake
Aloha Council, Bsa 104
522 Ponahawai St
Hilo, HI 96720


Lds‐Kaw Valley Ward‐Topeka Stake
Jayhawk Area Council 197
2401 SW Kingsrow Rd
Topeka, KS 66614


Lds‐Keaau Ward‐Hilo Stake
Aloha Council, Bsa 104
16‐105 Orchidland Dr
Keaau, HI 96749


Lds‐Kealakekua Ward‐Kona Stake
Aloha Council, Bsa 104
P.O. Box 1687
Kailua Kona, HI 96745


Lds‐Kearns 10Th Ward/Kearns Ut Stk
Great Salt Lake Council 590
5025 W 4865 S
Salt Lake City, UT 84118
Lds‐Kearns 13Th Tongan Branch
Sl Ut So Tongan Stk
Great Salt Lake Council 590
4660 W 5015 S
Salt Lake City, Ut 84118


Lds‐Kearns 14Th Ward/Kearns Ut East Stk
Great Salt Lake Council 590
4232 W 5015 S
Salt Lake City, UT 84118


Lds‐Kearns 16Th Ward/Kearns Ut East Stk
Great Salt Lake Council 590
4731 S 4300 W
Kearns, UT 84118


Lds‐Kearns 1St Ward/Kearns Ut South Stk
Great Salt Lake Council 590
4270 W 5700 S
Salt Lake City, UT 84118


Lds‐Kearns 21St Ward/Kearns Ut South Stk
Great Salt Lake Council 590
4270 W 5700 S
Salt Lake City, UT 84118


Lds‐Kearns 2Nd Sp Branch/Kearns Ut Stk
Great Salt Lake Council 590
4715 S 4300 W
Kearns, UT 84118


Lds‐Kearns 34Th Ward/Kearns Ut South Stk
Great Salt Lake Council 590
5905 S 4000 W
Taylorsville, UT 84129


Lds‐Kearns 3Rd Ward/Kearns Ut East Stk
Great Salt Lake Council 590
4731 S 4300 W
Kearns, UT 84118
Lds‐Kearns 4Th Ward/Kearns Ut East Stk
Great Salt Lake Council 590
4232 W 5015 S
Salt Lake City, UT 84118


Lds‐Kearns 5Th Ward/Kearns Ut Stk
Great Salt Lake Council 590
4260 W 5215 S
Salt Lake City, UT 84118


Lds‐Kearns 6Th Ward/Kearns Ut Stk
Great Salt Lake Council 590
4260 W 5215 S
Salt Lake City, UT 84118


Lds‐Kearns 7Th Ward/Kearns Ut South Stk
Great Salt Lake Council 590
4000 W 5900 S
Taylorsville, UT 84129


Lds‐Kearns 8Th Ward/Kearns Ut South Stk
Great Salt Lake Council 590
3730 W 6200 S
Salt Lake City, UT 84118


Lds‐Kearns 9Th Tongan Ward
Sl Ut South Tongan Stk
Great Salt Lake Council 590
4660 W 5015 S
Salt Lake City, Ut 84118


Lds‐Kearny Ward‐Globe Az Stk
Grand Canyon Council 010
200 Hammond Rd
Kearny, AZ 85137


Lds‐Keating Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2244 W Keating Ave
Mesa, AZ 85202
Lds‐Keaukaha Ward‐Hilo Stake
Aloha Council, Bsa 104
1373 Kilauea Ave
Hilo, HI 96720


Lds‐Keei Ward‐Kona Stake
Aloha Council, Bsa 104
P.O. Box 708
Kealakekua, HI 96750


Lds‐Kelly Canyon Ward‐Flagstaff Az
West Stk
Grand Canyon Council 010
3341 S Moore Cir
Flagstaff, Az 86005


Lds‐Kenai Ward‐Soldotna Stake
Great Alaska Council 610
609 N Forest Dr
Kenai, AK 99611


Lds‐Kensington Ward/Frmngtn Ut North Stk
Great Salt Lake Council 590
1885 Summerwood Dr
Farmington, UT 84025


Lds‐Kensington Ward‐Mesa Az
Mountain View Stk
Grand Canyon Council 010
2906 E Hale St
Mesa, Az 85213


Lds‐Kenwood 1St Ward/S L Wilford Stk
Great Salt Lake Council 590
1765 E Gregson Ave
Salt Lake City, UT 84106


Lds‐Kenwood 2Nd Ward/S L Wilford Stk
Great Salt Lake Council 590
3080 Kenwood St
Salt Lake City, UT 84106
Lds‐Kenworthy Ward‐Stv Az North Stk
Grand Canyon Council 010
42447 N Murphy Ave
San Tan Valley, AZ 85140


Lds‐Keolu Ward‐Kaneohe Stake
Aloha Council, Bsa 104
1461 Kanapuu Dr
Kaneohe, HI 96744


Lds‐Kerrville Ward‐La Cantera Stake
Alamo Area Council 583
292 Coronado St
Kerrville, TX 78028


Lds‐Kerrybrook Ward
Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
1955 S 350 E
Kaysville, Ut 84037


Lds‐Ketchikan Ward‐Juneau Stake
Great Alaska Council 610
2900 5th Ave
Ketchikan, AK 99901


Lds‐Key West
South Florida Council 084
3424 Nside Dr
Key W, Fl 33040


Lds‐Kilauea Ward‐Hilo Stake
Aloha Council, Bsa 104
522 Ponahawai St
Hilo, HI 96720


Lds‐Killian Ward
South Florida Council 084
10000 SW 107th Ave
Miami, FL 33176


Lds‐Kimball Branch‐Safford Stake
Grand Canyon Council 010
610 W 8th St
Safford, AZ 85546


Lds‐Kimball Mill Ward
Bntfl Ut Central Stk
Great Salt Lake Council 590
650 S 200 E
Bountiful, Ut 84010


Lds‐Kimball Ward/Park City Ut Stk
Great Salt Lake Council 590
2555 Kilby Rd
Park City, UT 84098


Lds‐Kimball Ward/South Salt Lake Stk
Great Salt Lake Council 590
2280 S 300 E
Salt Lake City, UT 84115


Lds‐Kings Park Ward‐Glendale Az
North Stk
Grand Canyon Council 010
5250 W Thunderbird Rd
Glendale, Az 85306


Lds‐Kingsborough Park Ward‐Mesa Az
South Stk
Grand Canyon Council 010
1315 N 24Th St
Mesa, Az 85213


Lds‐Kingswood Park Ward‐Surprise Az
North Stk
Grand Canyon Council 010
23391 N 166Th Dr
Surprise, Az 85387


Lds‐Klatt Ward‐Anchorage Stake
Great Alaska Council 610
1730 Adams Cir
Anchorage, AK 99515
Lds‐Kleinman Park Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
616 S Extension Rd
Mesa, AZ 85210


Lds‐Knik Fairview Ward‐Wasila Stake
Great Alaska Council 610
P.O. Box 871567
Wasilla, AK 99687


Lds‐Kohala Ward‐Kona Stake
Aloha Council, Bsa 104
P.O. Box 262
Hawi, HI 96719


Lds‐Kokomo Ward‐Lafayette Stake
Sagamore Council 162
332 W 300 S
Kokomo, IN 46902


Lds‐Kona 1St Ward‐Kona Stake
Aloha Council, Bsa 104
75‐230 Kalani St
Kailua Kona, HI 96740


Lds‐Kona 2Nd Ward‐Kona Stake
Aloha Council, Bsa 104
73‐4250 Kauwila St A
Kailua Kona, HI 96740


Lds‐La Crosse Lst Ward
Gateway Area 624
701 Well St
Onalaska, WI 54650


Lds‐La Grande 1St Ward‐La Grande Stake
Blue Mountain Council 604
1802 Gekeler Lane
La Grande, OR 97850


Lds‐La Grande 2Nd Ward‐La Grande Stake
Blue Mountain Council 604
1802 Gekeler Ln
La Grande, OR 97850


Lds‐La Grande 3Rd Ward‐La Grande Stake
Blue Mountain Council 604
1100 Mc Alister Lane
La Grande, OR 97850


Lds‐La Grande 4Th Ward‐La Grande Stake
Blue Mountain Council 604
11206 S Mcalister Rd
La Grande, OR 97850


Lds‐La Habra Ward‐Fullerton Stake
Orange County Council 039
2351 E La Habra Blvd
La Habra, CA 90631


Lds‐La Joya Ward‐Phoenix Az Stk
Grand Canyon Council 010
7138 W Windsor Ave
Phoenix, AZ 85035


Lds‐La Loma Ward‐Goodyear Az Stk
Grand Canyon Council 010
13277 W Thomas Rd
Goodyear, AZ 85395


Lds‐La Meza Ward‐Hesperia Stake
California Inland Empire Council 045
10862 Maple Ave
Hesperia, CA 92345


Lds‐La Palma Ward‐Cypress Stake
Orange County Council 039
5151 Orange Ave
Cypress, CA 90630


Lds‐La Paz Ward‐Victorville Stake
California Inland Empire Council 045
12860 Amethyst Rd
Victorville, CA 92392


Lds‐La Piedra Ward‐Menifee Stake
California Inland Empire Council 045
28150 La Piedra Rd
Menifee, CA 92584


Lds‐La Quinta Ward‐Palm Desert Stake
California Inland Empire Council 045
72960 Parkview Dr
Palm Desert, CA 92260


Lds‐La Sierra Heights Ward‐Jurupa Stake
California Inland Empire Council 045
5840 Mitchell Ave
Riverside, CA 92505


Lds‐Lacey Stake‐Lacey 1St
Pacific Harbors Council, Bsa 612
1602 Ruddell Rd Se
Lacey, WA 98503


Lds‐Lacey Stake‐Lacey 2Nd
Pacific Harbors Council, Bsa 612
1602 Ruddell Rd
Lacey, WA 98503


Lds‐Lacey Stake‐Lacey 3Rd
Pacific Harbors Council, Bsa 612
1500 Ruddell Rd
Lacey, WA 98503


Lds‐Lacey Stake‐Lacey 4Th
Pacific Harbors Council, Bsa 612
9341 4th Ave Ne
Lacey, WA 98516


Lds‐Lacey Stake‐Lacey 5Th
Pacific Harbors Council, Bsa 612
1602 Ruddell Rd Se
Lacey, WA 98513
Lds‐Lacey Stake‐Lacey Sixth
Pacific Harbors Council, Bsa 612
1448 Farina Loop Se
Olympia, WA 98513


Lds‐Lacey Stake‐Mckenna
Pacific Harbors Council, Bsa 612
10423 Clark Rd
Yelm, WA 98597


Lds‐Lacey Stake‐Yelm
Pacific Harbors Council, Bsa 612
14023 Clark Rd Se
Yelm, WA 98597


Lds‐Lafayette First Ward‐Lafayette Stake
Sagamore Council 162
3224 Jasper St
West Lafayette, IN 47906


Lds‐Lafayette Second Ward
Lafayette Stake
Sagamore Council 162
3224 Jasper St
West Lafayette, In 47906


Lds‐Lafayette Stake‐Logansport Ward
Sagamore Council 162
4121 High St
Logansport, IN 46947


Lds‐Lafayette Third Ward‐Lafayette Stake
Sagamore Council 162
3430 E 450 S
Lafayette, IN 47909


Lds‐Laguna Beach 1St Ward
Laguna Niguel Stake
Orange County Council 039
685 Park Ave
Laguna Beach, Ca 92651
Lds‐Laguna Hills 2Nd Ward
Laguna Niguel Stake
Orange County Council 039
22851 Aliso Creek Rd
Aliso Viejo, Ca 92656


Lds‐Laguna Hills 3Rd Ward
Laguna Niguel Stake
Orange County Council 039
22851 Aliso Creek Dr
Aliso Viejo, Ca 92656


Lds‐Laguna Niguel 1St Ward
Laguna Niguel Stake
Orange County Council 039
22851 Aliso Creek Rd
Aliso Viejo, Ca 92656


Lds‐Laie 2Nd Ward‐Laie Stake
Aloha Council, Bsa 104
55‐415 Iosepa St
Laie, HI 96762


Lds‐Laie 3Rd Ward‐Laie Stake
Aloha Council, Bsa 104
55‐415 Iosepa St
Laie, HI 96762


LDS‐Laie 4Th Ward‐Laie North Stake
Aloha Council, Bsa 104
55‐669B Wahinepe E St
Laie, HI 96762


LDS‐Laie 5Th Ward‐Laie Stake
Aloha Council, Bsa 104
55‐415 Iosepa St
Laie, HI 96762


LDS‐Laie 6Th Ward‐Laie North Stake
Aloha Council, Bsa 104
55‐630 Naniloa Loop
Laie, HI 96762
LDS‐Laie 7Th Ward‐Laie North Stake
Aloha Council, Bsa 104
55‐630 Naniloa Loop
Laie, HI 96762


LDS‐Laie 8Th Ward‐Laie North Stake
Aloha Council, Bsa 104
55‐630 Naniloa Loop
Laie, HI 96762


LDS‐Laie 9Th Ward‐Laie North Stake
Aloha Council, Bsa 104
55‐110 Lanihuli St
Laie, HI 96762


LDS‐Lake Arrowhead Ward‐S B Stake
California Inland Empire Council 045
P.O. Box 595
Lake Arrowhead, CA 92352


Lds‐Lake Elsinore Ward
Lake Elsinore Stake
California Inland Empire Council 045
18220 Dexter St
Lake Elsinore, Ca 92530


Lds‐Lake Forest Ward
Santa Margarita Stake
Orange County Council 039
24755 Trabuco Rd
Lake Forest, Ca 92630


LDS‐Lake Herman Ward‐Napa Stake
Mt Diablo‐Silverado Council 023
2254 Havenhill Dr
Benicia, CA 94510


LDS‐Lake Hood Ward‐Anchorage North Stake
Great Alaska Council 610
3340 W 40th Ave
Anchorage, AK 99517
LDS‐Lake Mary Ward‐Flagstaff Az West Stk
Grand Canyon Council 010
4165 Lake Mary Rd
Flagstaff, AZ 86005


LDSLake Michigan Ward Milw Wi N Stake
Three Harbors Council 636
9906 W Calumet Rd
Milwaukee, Wi 53224


Lds‐Lake Mills Ward‐Milwaukee S Stake
Glaciers Edge Council 620
600 E Lake Park Pl
Lake Mills, Wi 53551


Lds‐Lake Pleasant Ward‐Peoria Az
North Stk
Grand Canyon Council 010
22034 N 83Rd Ave
Peoria, Az 85383


Lds‐Lake Point Ward
Stansbury Park Ut Stk
Great Salt Lake Council 590
1366 Canyon Rd
Lake Point, Ut 84074


Lds‐Lake Ridge 10Th Ward
Magna Ut East Stk
Great Salt Lake Council 590
2700 S 8059 W
Magna, Ut 84044


Lds‐Lake Ridge 11Th Ward
Magna Ut East Stk
Great Salt Lake Council 590
7825 Sharon Dr
Magna, Ut 84044


Lds‐Lake Ridge 13Th Ward
Magna Ut South Stk
Great Salt Lake Council 590
3830 S 8000 W
Magna, Ut 84044


Lds‐Lake Ridge 14Th Ward
Magna Ut East Stk
Great Salt Lake Council 590
7960 W Dalesend Dr
Magna, Ut 84044


Lds‐Lake Ridge 15Th Ward
Magna Ut South Stk
Great Salt Lake Council 590
3606 Wing Point Dr
Magna, Ut 84044


Lds‐Lake Ridge 17Th Branch Sp
Magna Utah SO Stake
Great Salt Lake Council 590
3735 S 7525 W
Magna, Ut 84044


Lds‐Lake Ridge 1St Ward
Magna Ut East Stk
Great Salt Lake Council 590
7960 W Dalesend Dr
Magna, Ut 84044


Lds‐Lake Ridge 2Nd Ward
Magna Ut East Stk
Great Salt Lake Council 590
7960 W Dalesend Dr
Magna, Ut 84044


Lds‐Lake Ridge 3Rd Ward
Magna Ut East Stk
Great Salt Lake Council 590
3151 Broadway St
Magna, Ut 84044


Lds‐Lake Ridge 4Th Ward
Magna Ut East Stk
Great Salt Lake Council 590
8059 W 2700 S
Magna, Ut 84044


Lds‐Lake Ridge 6Th Ward
Magna Ut South Stk
Great Salt Lake Council 590
3606 Wing Pointe Dr
Magna, Ut 84044


Lds‐Lake Ridge 7Th Ward
Magna Ut South Stk
Great Salt Lake Council 590
7750 W 3500 S
Magna, Ut 84044


Lds‐Lake Ridge 8Th Ward
Magna Ut South Stk
Great Salt Lake Council 590
3735 Washington Rd
Magna, Ut 84044


Lds‐Lake Ridge 9Th Ward
Magna Ut East Stk
Great Salt Lake Council 590
7825 Sharon Dr
Magna, Ut 84044


LDS‐Lake Shawnee Ward‐Topeka Stake
Jayhawk Area Council 197
3611 SW Jewell Ave
Topeka, KS 66611


LDS‐Lake Skinner Ward‐Temecula Stake
California Inland Empire Council 045
32353 Bandelier Rd
Winchester, CA 92596


LDS‐Lakeland Ward‐Memphis North Stake
Chickasaw Council 558
12096 Arlington Trl
Arlington, TN 38002
LDS‐Lakes Ward‐West Richland Stake
Blue Mountain Council 604
3701 Watkins Way
West Richland, WA 99353


LDS‐Lakeshore Ward‐Tempe Az South Stk
Grand Canyon Council 010
6001 S Lakeshore Dr
Tempe, AZ 85283


Lds‐Lakeside Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1005 N Voyager Dr
Gilbert, Az 85234


LDS‐Lakeside Ward‐White Mountain Az Stk
Grand Canyon Council 010
P.O. Box 2006
Lakeside, AZ 85929


Lds‐Lakeview Trails Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3580 E Houston
Gilbert, Az 85234


Lds‐Lakeview Ward
Bountiful Ut Central Stk
Great Salt Lake Council 590
455 S 1200 E
Bountiful, Ut 84010


LDS‐Lakeview Ward/Cntrvll Ut North Stk
Great Salt Lake Council 590
1461 N Main St
Centerville, UT 84014


LDS‐Lakeview Ward/Tooele Ut East Stk
Great Salt Lake Council 590
2032 Churchwood Dr
Tooele, UT 84074
LDS‐Lakewood Stake‐American Lake
Pacific Harbors Council, Bsa 612
5420 104th St Sw
Lakewood, WA 98499


LDS‐Lakewood Stake‐Brookdale
Pacific Harbors Council, Bsa 612
11212 17th Ave E
Tacoma, WA 98445


LDS‐Lakewood Stake‐Dupont
Pacific Harbors Council, Bsa 612
10018 Farwest Dr Sw
Lakewood, WA 98498


LDS‐Lakewood Stake‐Lakewood
Pacific Harbors Council, Bsa 612
5220 104th St Sw
Lakewood, WA 98499


LDS‐Lakewood Stake‐Parkland
Pacific Harbors Council, Bsa 612
11212 17th Ave E
Tacoma, WA 98445


LDS‐Lakewood Stake‐Steilacoom
Pacific Harbors Council, Bsa 612
10018 Farwest Dr Sw
Lakewood, WA 98498


LDS‐Lakewood Ward‐Tempe Az West Stk
Grand Canyon Council 010
2955 E Frye Rd
Phoenix, AZ 85048


LDS‐Lamar Ward‐Monett Stake
Ozark Trails Council 306
784 NW 70th Ln
Liberal, MO 64762


LDS‐Lanakila Ward‐Honolulu West Stake
Aloha Council, Bsa 104
622 N Judd St
Honolulu, HI 96817


LDS‐Lancer Way Ward/S L Granger Stake
Great Salt Lake Council 590
3963 S Peachwood Dr
West Valley City, UT 84119


LDS‐Langley Gateway Ward‐Qc Az North Stk
Grand Canyon Council 010
22424 S Meridian Rd
Queen Creek, AZ 85142


LDS‐Laporte Ward‐Valparaiso Stake
Lasalle Council 165
606 Fremont St
La Porte, IN 46350


LDS‐Lapradera Park Ward‐Glendale Az Stk
Grand Canyon Council 010
8602 N 31st Ave
Phoenix, AZ 85051


LDS‐Laredo Ranch Ward‐Qc Az Ocotillo Stk
Grand Canyon Council 010
4880 E Austin Ln
San Tan Valley, AZ 85140


Lds‐Larkspur Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
9565 E Larkspur Dr
Scottsdale, Az 85260


LDS‐Larkspur/Logan South Stake
Trapper Trails 589
195 S 100 E
Logan, UT 84321


LDS‐Las Brisas Ward‐Murrieta Stake
California Inland Empire Council 045
24820 Las Brisas Rd
Murrieta, CA 92562


LDS‐Las Flores Ward‐Mission Viejo Stake
Orange County Council 039
26176 Antonio Pkwy
Rancho Santa Margarita, CA 92688


LDS‐Las Lomas Ward‐North Stake
Alamo Area Council 583
645 Knights Cross Dr
San Antonio, TX 78258


Lds‐Las Sendas Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
3941 N Sonoran Hls
Mesa, Az 85207


LDS‐Lasselle Ward‐Moreno Valley Stake
California Inland Empire Council 045
13281 Lasselle St
Moreno Valley, CA 92553


LDS‐Lauderhill Ward
South Florida Council 084
10143 NW 31st St
Coral Springs, FL 33065


Lds‐Laveen Ward‐Phoenix Az
South Mountain Stk
Grand Canyon Council 010
4125 W Baseline
Laveen, Az 85339


LDS‐Lawrenceville Ward‐Lilburn Stake
Northeast Georgia Council 101
3355 Sugarloaf Pkw
Lawrenceville, GA 30044


LDS‐Lazona Ward‐Mesa Az Central Stk
Grand Canyon Council 010
1345 E University Dr
Mesa, AZ 85203


LDS‐Lazona Ward‐Mesa Az South Stk
Grand Canyon Council 010
1500 E 6th Ave
Mesa, AZ 85204


LDS‐Lazy Mountain Ward‐Palmer Stake
Great Alaska Council 610
560 W Bogard Rd
Palmer, AK 99645


LDS‐Lebanon Ward‐St Robert Stake
Ozark Trails Council 306
240 Hwy Yy
Lebanon, MO 65536


LDS‐Lee Ward/S L Granite Park Stk
Great Salt Lake Council 590
3805 S Main St
Salt Lake City, UT 84115


Lds‐Legacy Creek Ward
Fort Herriman Ut Stk
Great Salt Lake Council 590
4080 W 12600 S
Riverton, Ut 84096


Lds‐Legacy Park Ward
Sandy Ut Granite Stk
Great Salt Lake Council 590
2535 Newcastle Dr
Sandy, Ut 84093


Lds‐Legacy Ranch Ward
Fort Herriman Ut Stk
Great Salt Lake Council 590
4080 W 12600 S
Riverton, Ut 84096


LDS‐Lehi 1St Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
810 E Lehi Rd
Mesa, AZ 85203


LDS‐Lehi 2Nd Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
1430 N Grand
Mesa, AZ 85201


Lds‐Lehi Crossing Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2701 E Lehi Rd
Mesa, Az 85213


LDS‐Leland Ward/Wilmington Nc Stake
Cape Fear Council 425
1361 Old Fayetteville Rd
Leland, NC 28451


LDS‐Leon Valley Ward‐West Stake
Alamo Area Council 583
7420 Huebner
San Antonio, TX 78240


LDS‐Leone 1St Ward‐Pago West Stake
Aloha Council, Bsa 104
P.O. Box 2123
Pago Pago, AS 96799


LDS‐Leone 2Nd Ward‐Pago West Stake
Aloha Council, Bsa 104
Leone
Pago Pago, AS 96799


LDS‐Level Creek Ward‐ Sugar Hill Stake
Northeast Georgia Council 101
4833 Suwanee Dam Rd
Suwanee, GA 30024


LDS‐Liahona 1St Ward‐Mesa Az South Stk
Grand Canyon Council 010
1500 E 6th Ave
Mesa, AZ 85204


Lds‐Liahona 2Nd Ward‐Mesa Az
Maricopa Stk
Grand Canyon Council 010
611 N Stewart
Mesa, Az 85201


LDS‐Liahona 4Th Ward‐Mesa Az North Stk
Grand Canyon Council 010
1852 N Stapley Dr
Mesa, AZ 85203


LDS‐Liahona 5Th Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
616 S Extension Rd
Mesa, AZ 85210


Lds‐Liberty 3Rd Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
2465 S 800 E
Salt Lake City, Ut 84106


LDS‐Liberty Park Ward‐San Clemente Stake
Orange County Council 039
310 Avenida Vista Montana
San Clemente, CA 92672


LDS‐Liberty Ward/Murray Utah West Stake
Great Salt Lake Council 590
67 W Clay Park Dr
Salt Lake City, UT 84107


LDS‐Liberty Ward/S L Liberty Stk
Great Salt Lake Council 590
445 E Harvard Ave
Salt Lake City, UT 84111


LDS‐Liberty Ward‐Buckeye Az Stk
Grand Canyon Council 010
1002 E Eason Ave
Buckeye, AZ 85326


LDS‐Liberty Ward‐Peoria Az North Stk
Grand Canyon Council 010
9570 W Harmony Ln
Peoria, AZ 85382


Lds‐Lighthouse Ward
Stansbury Park Ut South Stk
Great Salt Lake Council 590
102 Interlochen Ln
Stansbury Park, Ut 84074


LDS‐Lihue Ward‐Kauai Hawaii Stake
Aloha Council, Bsa 104
4598 Ehiku St
Lihue, HI 96766


LDS‐Lilburn Ward
Northeast Georgia Council 101
1150 Cole Rd
Lilburn, GA 30047


LDS‐Lilburn Ward‐Lilburn Stake
Northeast Georgia Council 101
1150 Cole Rd
Lilburn, GA 30047


Lds‐Lincoln Heights Ward
S L Granite Park Stk
Great Salt Lake Council 590
601 E Mansfield Ave
Salt Lake City, Ut 84106


Lds‐Linda Vista Ward‐Flagstaff Az
East Stk
Grand Canyon Council 010
2401 E Linda Vista Dr
Flagstaff, Az 86004


LDS‐Lindell Ward‐South St Louis Stake
Greater St Louis Area Council 312
4211 Flora Pl
Saint Louis, MO 63110


Lds‐Linden Valley Ward‐White Mountain Az
Stk
Grand Canyon Council 010
971 Timberland Rd
Linden, Az 85901


LDS‐Linden Ward‐Show Low Az Stk
Grand Canyon Council 010
P.O. Box 3094
Show Low, AZ 85902


Lds‐Lindsay 1St Ward‐Chandler Az
South Stk
Grand Canyon Council 010
6345 S Lindsay Rd
Chandler, Az 85249


Lds‐Lindsay 2Nd Ward‐Chandler Az
East Stk
Grand Canyon Council 010
4647E County Down Dr
Chandler, Az 85249


Lds‐Lindsay 3Rd Ward‐Chandler Az
East Stk
Grand Canyon Council 010
21320 S Greenfield Rd
Gilbert, Az 85298


Lds‐Lindsay Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1150 N Lindsay Rd
Gilbert, Az 85234


Lds‐Lindsay Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2618 N Lindsay Rd
Mesa, Az 85213


LDS‐Litchfield Ward‐Goodyear Az Stk
Grand Canyon Council 010
301 W Wigwam Blvd
Litchfield Park, AZ 85340


LDS‐Little Colorado Ward‐Holbrook Az Stk
Grand Canyon Council 010
1127 Helen Ave
Holbrook, AZ 86025


LDS‐Little Colorado Ward‐St Johns Az Stk
Grand Canyon Council 010
35 W Cleveland St
Saint Johns, AZ 85936


Lds‐Little Cottonwood 14Th Ward
Sl Little Cottonwood Stake
Great Salt Lake Council 590
1160 E Vine St
Salt Lake City, Ut 84121


Lds‐Little Cottonwood 9Th Ward
Sl Little Cottonwood Stake
Great Salt Lake Council 590
1160 E Vine St
Salt Lake City, Ut 84121


Lds‐Little Cttnwd 12Th Ward
Murray Ut Little Cttnwd Stk
Great Salt Lake Council 590
6110 S 520 E
Murray, Ut 84107


LDS‐Little Lake Ward‐Hemet Stake
California Inland Empire Council 045
27020 Meridian St
Hemet, CA 92544


LDS‐Little Mountain Ward/Tooele Ut Stk
Great Salt Lake Council 590
1100 E Skyline Dr
Tooele, UT 84074


Lds‐Live Oak Canyon Ward
Santa Margarita Stake
Orange County Council 039
30522 Via Con Dios
Rancho Santa Margarita, Ca 92688


LDS‐Live Oak Ward‐Cibolo Valley Stake
Alamo Area Council 583
13201 Forum Rd
Universal City, TX 78148


LDS‐Livermore 3Rd Ward‐Livermore Stake
San Francisco Bay Area Council 028
950 Mocho St
Livermore, CA 94550


Lds‐Livermore Vly View Ward
Livermore Stake
San Francisco Bay Area Council 028
945 Waverly Cmn
Livermore, Ca 94551


Lds‐Livingston Ward‐Kingwood Stake
Three Rivers Council 578
2023 N Houston
Livingston, TX 77351


LDS‐Logan River Trails/Logan Stake
Trapper Trails 589
645 Trail Cir
Logan, UT 84321


Lds‐Lone Hollow Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
2135 Pepperwood Dr
Sandy, Ut 84092


Lds‐Lookout Ridge Ward
Herriman Utah South Stake
Great Salt Lake Council 590
14550 So Juniper Crest
Herriman, Ut 84096


LDS‐Los Alisos Ward‐Mission Viejo Stake
Orange County Council 039
23859 Los Alisos Blvd
Mission Viejo, CA 92691


LDS‐Los Altos Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2300 W Javelina
Mesa, AZ 85202


LDS‐Los Serranos Ward‐Chino Stake
California Inland Empire Council 045
3354 Eucalyptus Steet
Chino Hills, CA 91709


LDS‐Love Lake Ward‐Silver Creek Az Stk
Grand Canyon Council 010
P.O. Box 948
Taylor, AZ 85939


Lds‐Ltl Cottonwood 16Th Ward
S L Ltl Ctnwd Stk
Great Salt Lake Council 590
6350 Rodeo Ln
Salt Lake City, Ut 84121


Lds‐Ltl Cottonwood 18Th Ward
Mrry Ut Ltl Ctnwd Stk
Great Salt Lake Council 590
6410 S 725 E
Salt Lake City, Ut 84107


Lds‐Ltl Cottonwood 1St Ward
Sl Ltl Ctnwood Stake
Great Salt Lake Council 590
6350 Rodeo Lane
Salt Lake City, Ut 84121
Lds‐Ltl Cottonwood 20Th
S L Ltl Ctnwd Stk
Great Salt Lake Council 590
1160 E Vine St
Salt Lake City, Ut 84121


Lds‐Ltl Cottonwood 5Th Ward
Sl Ltlcottonwood Stk
Great Salt Lake Council 590
6350 Rodeo Lane
Murray, Ut 84121


Lds‐Ltl Cottonwood 6Th
Murray Ut Ltl Ctnwd Stk
Great Salt Lake Council 590
6410 S 725 E
Salt Lake City, Ut 84107


Lds‐Ltl Cottonwood 8Th
Murray Ut Ltl Ctnwd Stk
Great Salt Lake Council 590
6180 Glen Oaks St
Salt Lake City, Ut 84107


Lds‐Ltl Cottonwood Ward
Sandy Ut Granite View Stk
Great Salt Lake Council 590
9880 S 3100 E
Sandy, Ut 84092


Lds‐Lucerne Vly Ward‐Apple Vly Stake
California Inland Empire Council 045
P.O. Box 918
Lucerne Valley, Ca 92356


Lds‐Lucero Branch Spanish
Sl Central Stk
Great Salt Lake Council 590
855 Garfield Ave
Salt Lake City, Ut 84105


LDS‐Luna Ward‐Eagar Az Stk
Grand Canyon Council 010
13 Luna Valley Dr
Luna, NM 87824


LDS‐Lyman Ward‐St Johns Az Stk
Grand Canyon Council 010
2000 W Cleveland St
Saint Johns, AZ 85936


LDS‐Lyn Rae Ward‐Mesa Az Kimball Stk
Grand Canyon Council 010
1266 S 32nd St
Mesa, AZ 85204


Lds‐Lyons Gate Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
1865 S Higley Rd
Gilbert, Az 85295


Lds‐Mackay Meadows Ward
Tville Ut No Central Stk
Great Salt Lake Council 590
2976 Winchester Dr
Salt Lake City, Ut 84119


LDS‐Madero Ward‐Mesa Az Desert Ridge Stk
Grand Canyon Council 010
2647 S Signal Butte Rd
Mesa, AZ 85209


LDS‐Madison Branch‐Athens Stake
Northeast Georgia Council 101
1091 Ward Rd
Madison, GA 30650


LDS‐Magma Ranch Ward‐Stv Az Stk
Grand Canyon Council 010
1521 E Bella Vista Rd
Florence, AZ 85143


Lds‐Magna 2Nd Branch   Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
7574 W Patriot Dr
Magna, Ut 84044


LDS‐Magna Ward/Magna Ut Stk
Great Salt Lake Council 590
3100 S 8400 W
Magna, UT 84044


LDS‐Maguire Canyon/Willard Stake
Trapper Trails 589
840 W 8300 S
South Willard, UT 84340


LDS‐Mahogany Ridge/North Logan Stake
Trapper Trails 589
2750 N 800 E
North Logan, UT 84341


LDS‐Maili Kai Ward‐Makakilo Stake
Aloha Council, Bsa 104
2074 Lauwiliwili St
Kapolei, HI 96707


LDS‐Maize Second Ward‐Wichita Stake
Quivira Council, Bsa 198
7834 W 29th St N
Wichita, KS 67205


LDS‐Maize Ward‐Wichita Stake
Quivira Council, Bsa 198
7834 W 29th St N
Wichita, KS 67205


LDS‐Makaha Ward‐Makakilo Stake
Aloha Council, Bsa 104
85‐574 Plantation Rd
Waianae, HI 96792


LDS‐Makakilo 1St Ward‐Makakilo Stake
Aloha Council, Bsa 104
92‐200 Makakilo Dr
Kapolei, HI 96707


LDS‐Makeke 1St Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


LDS‐Makeke 2Nd Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 6798
Pago Pago, AS 96799


LDS‐Makiki Ward‐Honolulu Stake
Aloha Council, Bsa 104
1560 S Beretania St
Honolulu, HI 96826


Lds‐Malaeimi 1St Ward
Pago Malaeimi Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, As 96799


Lds‐Malaeimi 2Nd Ward
Pago Malaeimi Stake
Aloha Council, Bsa 104
P.O. Box 5073
Pago Pago, As 96799


LDS‐Manhattan 1St Ward‐Salina Kansas
Coronado Area Council 192
Stake
2812 Marlatt Ave
Manhattan, KS 66502


LDS‐Manoa Ward‐Honolulu Stake
Aloha Council, Bsa 104
1560 S Beretania St
Honolulu, HI 96826


LDS‐Manzanita Ward‐Payson Az Stk
Grand Canyon Council 010
913 S Ponderosa St
Payson, AZ 85541


LDS‐Mapasaga Ward Samoan /Sl Hunter Stk
Great Salt Lake Council 590
3909 S Village Wood Dr
Salt Lake City, UT 84120


Lds‐Maple Hills Ward
Tooele Ut Valley View Stk
Great Salt Lake Council 590
691 E Cedarview St
Tooele, Ut 84074


LDS‐Maple Ward‐Hesperia Stake
California Inland Empire Council 045
10862 Maple Ave
Hesperia, CA 92345


LDS‐Mapleton Ward‐Menifee Stake
California Inland Empire Council 045
29725 Bradley Rd
Menifee, CA 92586


Lds‐Maplewood Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
18305 S Greenfield Rd
Gilbert, Az 85297


Lds‐Mapusaga 3Rd Ward
Pago Mapusaga Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, As 96799


Lds‐Mapusaga Fou 1St Ward
Pago Mapusaga Stake
Aloha Council, Bsa 104
Mapusaga Stake
Pago Pago Samoa, As 96799
Lds‐Mapusaga Fou 2Nd Ward
Pago Mapusaga Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, As 96799


LDS‐Mapusaga Fou 4Th Ward
Aloha Council, Bsa 104
Puna Valley St
Pago Pago, AS 96799


Lds‐Marbella Ward‐Mesa Az
Boulder Creek Stk
Grand Canyon Council 010
8553 E Desert Ln
Mesa, Az 85209


LDS‐Marblehead Ward‐San Clemente Stake
Orange County Council 039
310 Avenida Vista Montana
San Clemente, CA 92672


Lds‐Marcrest 1St Ward
S L Hunter Central Stk
Great Salt Lake Council 590
6170 W Marcrest Dr
West Valley City, Ut 84128


Lds‐Marcrest 2Nd Ward
S L Hunter Central Stk
Great Salt Lake Council 590
6170 Marcrest Dr
Salt Lake City, Ut 84128


LDS‐Maricopa Branch‐Maricopa Az Stk
Grand Canyon Council 010
43755 W Rio Grande Dr
Maricopa, AZ 85138


LDS‐Maricopa Wells Ward‐Maricopa Az Stk
Grand Canyon Council 010
Lds‐Marina Hills Ward
Laguna Niguel Stake
Orange County Council 039
22851 Aliso Creek Rd
Aliso Viejo, Ca 92656


LDS‐Marion Ward‐Muncie, In Stake
Crossroads of America 160
1465 E Bradford St
Marion, IN 46952


LDS‐Marquette Ward‐Green Bay Stake
Bay‐Lakes Council 635
350 Cherry Creek Rd
Marquette, MI 49855


LDS‐Marsh Creek Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
1875 Highland Way
Brentwood, CA 94513


LDS‐Marshall Ward
East Texas Area Council 585
4840 Fm 31
Marshall, TX 75672


LDS‐Marshfield Ward‐Springfield Stake
Ozark Trails Council 306
1105 State Hwy CC
Marshfield, MO 65706


LDS‐Marshfield Ward‐Wausau Stake
Samoset Council, Bsa 627
2207 W 5th St
Marshfield, WI 54449


LDS‐Martinez Ward‐Concord Stake
Mt Diablo‐Silverado Council 023
555 Boyd Rd
Pleasant Hill, CA 94523
LDS‐Maryvale Ward‐Phoenix Az Stk
Grand Canyon Council 010
3208 N 59th Ave
Phoenix, AZ 85033


LDS‐Mason City Ward
Winnebago Council, Bsa 173
1309 S Kentucky Ave
Mason City, IA 50401


LDS‐Matanuska Ward‐Palmer Stake
Great Alaska Council 610
P.O. Box 2034
Palmer, AK 99645


LDS‐Mcalester Ward‐Tulsa Ok East Stake
Indian Nations Council 488
405 W Electric Ave
Mcalester, OK 74501


LDS‐Mccully Ward‐Honolulu Stake
Aloha Council, Bsa 104
1560 S Beretania St
Honolulu, HI 96826


Lds‐Mcdowell Mountain Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
9565 E Larkspur Dr
Scottsdale, Az 85260


Lds‐Mcdowell Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
3344 E Mcdowell Rd
Mesa, Az 85213


Lds‐Mcfadden Ward
Huntington Beach N Stake
Orange County Council 039
6531 Mcfadden Ave
Huntington Beach, Ca 92647
LDS‐Mckay Creek Ward‐Walla Walla Stake
Blue Mountain Council 604
66741 E Birch Creek Rd
Pilot Rock, OR 97868


LDS‐Mcqueen 1St Ward‐Chandler Az Stk
Grand Canyon Council 010
17817 S Mcqueen Rd
Chandler, AZ 85286


LDS‐Mcqueen 2Nd Ward‐Chandler Az Stk
Grand Canyon Council 010
17817 S Mcqueen Rd
Chandler, AZ 85286


LDS‐Mcqueen Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
1451 W Guadalupe Rd
Gilbert, AZ 85233


Lds‐Mdwbrk 3Rd Spanish Brch
Tville Ut North Stk
Great Salt Lake Council 590
1250 W Atherton Dr
Taylorsville, Ut 84123


LDS‐Meadow Creek Ward‐Chugach Stake
Great Alaska Council 610
Meadow Creek Ward
10012
Eagle River, AK 99577


Lds‐Meadow Rose Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
4912 W Chilly Peak Dr
Riverton, Ut 84096


Lds‐Meadow View 1St Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
2958 S Recker
Gilbert, Az 85297


Lds‐Meadow View 2Nd Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
3544 S Atherton Blvd
Gilbert, Az 85297


Lds‐Meadow View Ward
Farmington Ut West Stake
Great Salt Lake Council 590
336 Wrangler Rd
Farmington, Ut 84025


LDS‐Meadow View Ward‐Temecula Stake
California Inland Empire Council 045
41861 Deepwood Cir
Temecula, CA 92591


LDS‐Meadow Ward/S L Riverside Stake
Great Salt Lake Council 590
1955 W 400 N
Salt Lake City, UT 84116


Lds‐Meadowbrook 2Nd Ward
Tville Ut North Stk
Great Salt Lake Council 590
1250 W Atherton Dr
Taylorsville, Ut 84123


LDS‐Meadowgreen Ward‐Mesa Az Kimball Stk
Grand Canyon Council 010
825 S 32nd St
Mesa, AZ 85204


LDS‐Meadowland Ward/W J Ut East Stk
Great Salt Lake Council 590
6695 S 2200 W
West Jordan, UT 84084


LDS‐Meadowlark Ward/Sandy Ut Granite Stk
Great Salt Lake Council 590
2180 Meadow Lark Way
Sandy, UT 84093


Lds‐Meadows 1St Ward
Draper Utah Meadows Stk
Great Salt Lake Council 590
13085 S 300 E
Draper, Ut 84020


Lds‐Meadows 2Nd Ward
Draper Utah Meadows Stk
Great Salt Lake Council 590
13006 Boulter St
Draper, Ut 84020


Lds‐Meadows 3Rd Ward
Draper Utah Meadows Stk
Great Salt Lake Council 590
420 Stokes Ave
Draper, Ut 84020


Lds‐Meadows 4Th Ward
Draper Utah Meadows Stk
Great Salt Lake Council 590
13112 S 700 E
Draper, Ut 84020


Lds‐Meadows 5Th Ward
Draper Utah Meadows Stake
Great Salt Lake Council 590
420 E Stokes
Draper, Ut 84020


Lds‐Meadows 6Th Ward
Draper Utah Meadows Stake
Great Salt Lake Council 590
420 E 13540 S
Draper, Ut 84020


Lds‐Meadows 7Th Ward
Draper Utah Meadows Stk
Great Salt Lake Council 590
573 E 13800 S
Draper, Ut 84020


Lds‐Meadows Ward
Farmington Utah West Stake
Great Salt Lake Council 590
549 S 1524 W
Farmington, Ut 84025


LDS‐Meadows Ward/Murray Ut South Stk
Great Salt Lake Council 590
5735 S Fashion Blvd
Salt Lake City, UT 84107


LDS‐Meadows Ward/Rvrtn Ut North Stk
Great Salt Lake Council 590
12391 S Dansie Way
Riverton, UT 84065


Lds‐Meadows Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
7145 E Monterey Ave
Mesa, Az 85209


LDS‐Meadows Ward‐Hermiston Stake
Blue Mountain Council 604
850 SW 11th St
Hermiston, OR 97838


LDS‐Meadows Ward‐St Johns Az Stk
Grand Canyon Council 010
2000 W Cleveland
St Johns, AZ 85936


LDS‐Medina Ward‐Akron Stake
Great Trail 433
4411 Windfall Rd
Medina, OH 44256


LDS‐Memorial Ward/S L Granger South Stk
Great Salt Lake Council 590
4207 S Charles Dr
West Valley City, UT 84120


LDS‐Memphis 2Nd Ward‐Memphis Stake
Chickasaw Council 558
4520 Winchester Rd
Memphis, TN 38118


LDS‐Memphis Tn Stake‐Oxford Ward
Yocona Area Council 748
3501 S Lamar Blvd
Oxford, MS 38655


LDS‐Menifee Lakes‐Menifee Stake
California Inland Empire Council 045
29725 Bradley Rd
Sun City, CA 92586


Lds‐Menlo Park Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2618 N Lindsay Rd
Mesa, Az 85213


Lds‐Meridian Pointe Ward‐Mesa Az
Desert Ridge Stk
Grand Canyon Council 010
2647 S Signal Butte Rd
Mesa, Az 85209


LDS‐Meridian Ward‐Peralta Trail Az Stk
Grand Canyon Council 010
1720 S Ironwood Dr
Apache Junction, AZ 85120


LDS‐Meridian Ward‐Qc Az North Stk
Grand Canyon Council 010
22692 E Munoz St
Queen Creek, AZ 85142


Lds‐Merrill Creek Ward‐Peralta Trail Az
Stk
Grand Canyon Council 010
1720 S Ironwood Dr
Apache Junction, Az 85120


LDS‐Mesa 12Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
2152 E Adobe St
Mesa, AZ 85213


LDS‐Mesa 18Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
2228 E Brown Rd
Mesa, AZ 85213


Lds‐Mesa 20Th Ward‐Mesa Az
Maricopa North Stk
Grand Canyon Council 010
848 N Wwood
Mesa, Az 85201


Lds‐Mesa 25Th Ward‐Mesa Az
Maricopa North Stk
Grand Canyon Council 010
848 N Wwood
Mesa, Az 85201


LDS‐Mesa 30Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
2228 E Brown Rd
Mesa, AZ 85213


LDS‐Mesa 34Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
2152 E Adobe St
Mesa, AZ 85213


LDS‐Mesa 46Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
1911 N 24th St
Mesa, AZ 85213


Lds‐Mesa 5Th Ward‐Mesa Az
Maricopa North Stk
Grand Canyon Council 010
1716 N Date
Mesa, Az 85201


LDS‐Mesa 60Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
2152 E Adobe St
Mesa, AZ 85213


LDS‐Mesa 61St Ward‐Mesa Az East Stk
Grand Canyon Council 010
2228 E Brown Rd
Mesa, AZ 85213


LDS‐Mesa 76Th Ward‐Mesa Az East Stk
Grand Canyon Council 010
1911 N 24th St
Mesa, AZ 85213


LDS‐Mesa Del Sol Ward‐Yuma Az Stk
Grand Canyon Council 010
8451 E 36th St
Yuma, AZ 85365


Lds‐Mesa Grande Branch‐Mesa Az
Maricopa North Stk
Grand Canyon Council 010
848 N Wwood
Mesa, Az 85201


LDS‐Mesa Linda Ward‐Victorville Stake
California Inland Empire Council 045
12860 Amethyst Rd
Victorville, CA 92392


Lds‐Mesa Park Ward
Sandy Ut Alta View Stk
Great Salt Lake Council 590
8909 S 1700 E
Sandy, Ut 84093


LDS‐Mesa Vista Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
1430 N Grand
Mesa, AZ 85201


LDS‐Mesa Ward‐Mesa Az Maricopa North Stk
Grand Canyon Council 010
848 N Wwood
Mesa, AZ 85201


LDS‐Mesepa 1St Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


LDS‐Mesepa 3Rd Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 4390
Pago Pago, AS 96799


Lds‐Mesquite Canyon Ward‐Mesa Az
Eastmark Stk
Grand Canyon Council 010
9710 E Plana Ave
Mesa, Az 85212


LDS‐Mesquite Ward‐Gilbert Az Stk
Grand Canyon Council 010
777 W Elliot Rd
Gilbert, AZ 85233


LDS‐Mesquite Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2252 W Mesquite
Chandler, AZ 85224


LDS‐Mezona Ward‐Mesa Az Maricopa Stk
Grand Canyon Council 010
1054 W 2nd Pl
Mesa, AZ 85201


LDS‐Miami Beach 2Nd Ward
South Florida Council 084
6950 Indian Cir Dr
Miami Beach, FL 33141


LDS‐Miami Beach Ward
South Florida Council 084
6950 Indian Creek Dr
Miami Beach, FL 33141


LDS‐Miami Lakes Ward
South Florida Council 084
8201 NW 186th St
Hialeah, FL 33015


LDS‐Miami Shores Ward
South Florida Council 084
2601 NE 163rd St
Miami, FL 33160


LDS‐Miami Ward‐Globe Az Stk
Grand Canyon Council 010
4247 E Broadway
Claypool, AZ 85539


Lds‐Midas Creek 1St Ward
S J Ut Cntry Xing Stk
Great Salt Lake Council 590
11173 Copper Peak Way
South Jordan, Ut 84095


Lds‐Midas Creek 2Nd Ward
Sj Ut Midas Creek Stake
Great Salt Lake Council 590
2812 W 11800 S
South Jordan, Ut 84095


Lds‐Midas Creek 3Rd Ward
Sj Ut Cntry Xing Stk
Great Salt Lake Council 590
3364 W 11400 S
South Jordan, Ut 84095


Lds‐Midas Creek 4Th Ward
Sj Ut Cntry Xing Stk
Great Salt Lake Council 590
2812 W 11800 S
So. Jordan, Ut 84095


Lds‐Midas Creek 5Th Ward
S J Ut Cntry Xing Stk
Great Salt Lake Council 590
10775 S 3200 W
South Jordan, Ut 84095


Lds‐Midas Creek 6Th Ward
S J Ut Cntry Xing Stk
Great Salt Lake Council 590
10860 S 3200 W
South Jordan, Ut 84095


Lds‐Midas Creek 7Th Ward
Sj Ut Midas Creek Stake
Great Salt Lake Council 590
10860 S 3200 W
South Jordan, Ut 84095


LDS‐Middle Canyon Ward/Tooele Ut Stk
Great Salt Lake Council 590
777 Skyline Dr
Tooele, UT 84074


LDS‐Midvale 10Th Ward/Midvale Ut Stk
Great Salt Lake Council 590
8825 S Monroe St
Sandy, UT 84070


Lds‐Midvale 11Th Ward
Midvale Ut North Stk
Great Salt Lake Council 590
97 W 7500 S
Midvale, Ut 84047


Lds‐Midvale 12Th Korean Branch
Midvale Ut Stk
Great Salt Lake Council 590
8350 Jackson St
Midvale, Ut 84047


LDS‐Midvale 13Th Ward/Midvale Ut Stk
Great Salt Lake Council 590
8825 Monroe St
Sandy, UT 84070


Lds‐Midvale 14Th Tongan     Branch
Sl Ut So Tongan Stake
Great Salt Lake Council 590
87 E 7100 S
Midvale, Ut 84047


Lds‐Midvale 15Th Branch
Midvale Utah North Stake
Great Salt Lake Council 590
97 W 7500 S
Midvale, Ut 84047


Lds‐Midvale 1St Ward
Midvale Ut North Stk
Great Salt Lake Council 590
308 W 6Th Ave
Midvale, Ut 84047


Lds‐Midvale 2Nd Ward
Midvale Ut North Stk
Great Salt Lake Council 590
97 W 7500 S
Midvale, Ut 84047


Lds‐Midvale 3Rd Ward
Midvale Ut North Stk
Great Salt Lake Council 590
7825 Olympus St
Midvale, Ut 84047


Lds‐Midvale 4Th Ward
Midvale Ut North Stk
Great Salt Lake Council 590
7825 Olympus St
Midvale, Ut 84047
LDS‐Midvale 5Th Ward/Midvale Ut Stk
Great Salt Lake Council 590
8171 Jackson St
Midvale, UT 84047


LDS‐Midvale 6Th Ward/Midvale Ut Stk
Great Salt Lake Council 590
8171 Jackson St
Midvale, UT 84047


LDS‐Midvale 7Th Ward/Midvale Ut Stk
Great Salt Lake Council 590
8350 Jackson St
Midvale, UT 84047


LDS‐Midvale 8Th Ward/Midvale Ut Stk
Great Salt Lake Council 590
8350 Jackson St
Midvale, UT 84047


Lds‐Midvale East 1St Ward
Midvale Ut East Stk
Great Salt Lake Council 590
240 E 7570 S
Midvale, Ut 84047


Lds‐Midvale East 2Nd Ward
Midvale Ut East Stk
Great Salt Lake Council 590
7250 S Halelani Dr
Midvale, Ut 84047


Lds‐Midvale East 4Th Ward
Midvale Ut East Stk
Great Salt Lake Council 590
87 E 7100 S
Midvale, Ut 84047


Lds‐Midvale East 5Th Ward
Midvale Ut East Stk
Great Salt Lake Council 590
240 Greenwood Ave
Midvale, Ut 84047


Lds‐Midvale East 6Th Ward
Midvale Ut East Stk
Great Salt Lake Council 590
7250 S Halelani Dr
Midvale, Ut 84047


Lds‐Midvalley 1St Ward
Sandy Ut Midvalley Stk
Great Salt Lake Council 590
1050 E Chapel Hill Rd
Midvale, Ut 84047


Lds‐Midvalley 2Nd Samoan Ward
Sandy Ut Mdvlly Stk
Great Salt Lake Council 590
1106 E 8055 S
Sandy, Ut 84094


Lds‐Midvalley 4Th Ward
Sandy Ut Midvalley Stk
Great Salt Lake Council 590
1106 E 8050 S
Sandy, Ut 84094


Lds‐Midvalley 5Th Ward
Sandy Ut Midvalley Stk
Great Salt Lake Council 590
1175 E 7800 S
Sandy, Ut 84094


Lds‐Midvalley 6Th Ward
Sandy Ut Midvalley Stk
Great Salt Lake Council 590
1106 E 8050 S
Sandy, Ut 84094


Lds‐Midvalley 7Th Ward
Sandy Ut Midvalley Stk
Great Salt Lake Council 590
1175 E 7800 S
Sandy, Ut 84094
LDS‐Midway Ward‐Winslow Az Stk
Grand Canyon Council 010
8181 Wover St
Joseph City, AZ 86032


Lds‐Mile Square Park Ward
Huntington Beach Stake
Orange County Council 039
17500 Bushard St
Fountain Valley, Ca 92708


LDS‐Mililani 1St Ward‐Mililani Stake
Aloha Council, Bsa 104
95‐1039 Meheula Pkwy
Mililani, HI 96789


LDS‐Mililani 2Nd Ward‐Mililani Stake
Aloha Council, Bsa 104
95‐1039 Meheula Pkwy
Mililani, HI 96789


LDS‐Mililani 4Th Ward‐Mililani Stake
Aloha Council, Bsa 104
95‐1039 Meheula Pkwy
Mililani, HI 96789


Lds‐Mill Canyon Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
5424 W Rosecrest Rd
Herriman, Ut 84096


LDS‐Mill Creek Ward‐Redlands Stake
California Inland Empire Council 045
350 N Wabash Ave
Redlands, CA 92374


LDS‐Mill Pond Ward/Stansbury Park Ut Stk
Great Salt Lake Council 590
417 Benson Rd
Stansbury Park, UT 84074
LDS‐MiLLCreek 2Nd Ward/S L MiLLCreek Stk
Great Salt Lake Council 590
4220 Jeannine Dr
Salt Lake City, UT 84107


LDS‐MiLLCreek 5Th Ward/S L MiLLCreek Stk
Great Salt Lake Council 590
3805 S Main St
Salt Lake City, UT 84115


LDS‐MiLLCreek 6Th Ward/S L MiLLCreek Stk
Great Salt Lake Council 590
4558 S 600 E
Salt Lake City, UT 84107


LDS‐MiLLCreek 8Th Ward/S L MiLLCreek Stk
Great Salt Lake Council 590
4558 S 600 E
Salt Lake City, UT 84107


LDS‐MiLLCreek 9Th Ward/S L MiLLCreek Stk
Great Salt Lake Council 590
213 E Gordon Ln, Apt 21
Salt Lake City, UT 84107


Lds‐Millcreek Canyon Ward
Sl Mt Olympus Stake
Great Salt Lake Council 590
3495 S 3610 E
Salt Lake City, Ut 84109


LDS‐Miller Ward‐Mesa Az North Stk
Grand Canyon Council 010
933 E Brown Rd
Mesa, AZ 85203


LDS‐Milligan Valley Ward‐Eagar Az Stk
Grand Canyon Council 010
135 N Main St
Eagar, AZ 85925
LDS‐Millington Ward‐Memphis North Stake
Chickasaw Council 558
9604 US Hwy 51 N
Millington, TN 38053


LDS‐Millstream Ward/S L Grant Stk
Great Salt Lake Council 590
3400 S 1100 E
Salt Lake City, UT 84106


Lds‐Milton‐Freewater Ward
Walla Walla Stake
Blue Mountain Council 604
52794 Appleton Rd
Milton Freewater, Or 97862


Lds‐Mindi Meadows Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
2361W 13400 S
Riverton, Ut 84065


LDS‐Mingo Valley Ward‐Tulsa Ok Stake
Indian Nations Council 488
12110 E 7th St
Tulsa, OK 74128


Lds‐Mingus Foothills Ward
Prescott Vly Az Stk
Grand Canyon Council 010
7073 E Pronghorn Ranch Pkwy
Prescott Valley, Az 86315


LDS‐Mingus Ward‐Cottonwood Az Stk
Grand Canyon Council 010
1377 E Hombre Dr
Cottonwood, AZ 86326


LDS‐Miramar Ward
South Florida Council 084
8201 NW 186th St
Hialeah, FL 33015
Lds‐Miramar Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
3345 E Mclellan Rd
Mesa, Az 85213


LDS‐Misawa Servicemen S Branch
Far E Council 803
Psc 76 Box 5032
Apo Ap, 96319


LDS‐Misawa Servicemens Branch
Far E Council 803
Psc 76 Box 2974
Apo Ap, 96319


LDS‐Mishawaka Ward‐South Bend Stake
Lasalle Council 165
930 Park Pl
Mishawaka, IN 46545


LDS‐Mission Creek Ward‐East Stake
Alamo Area Council 583
311 Galway St
San Antonio, TX 78223


Lds‐Mission Lake Ward
Santa Margarita Stake
Orange County Council 039
29441 Altisima
Rancho Santa Margarita, Ca 92688


LDS‐Mission Peak Ward‐Fremont Stake
San Francisco Bay Area Council 028
48950 Green Valley Rd
Fremont, CA 94539


Lds‐Mission Viejo 1St Ward
Mission Viejo Stake
Orange County Council 039
27976 Marguerite Pkwy
Mission Viejo, Ca 92692


Lds‐Mission Viejo 2Nd Ward
Mission Viejo Stake
Orange County Council 039
27976 Marguerite Pkwy
Mission Viejo, Ca 92692


Lds‐Mission Viejo 5Th Ward
Mission Viejo Stake
Orange County Council 039
23850 Los Alisos Blvd
Mission Viejo, Ca 92691


LDS‐Mission Ward‐Riverside Stake
California Inland Empire Council 045
5900 Grand Ave
Riverside, CA 92504


LDS‐Mississippi Ward‐Memphis Stake
Chickasaw Council 558
1255 Goodman Rd E
Southaven, MS 38671


Lds‐Missouri River Ward
Lake St Louis Stake
Greater St Louis Area Council 312
Nm ‐ 1401 S Henke Rd
Lake St Louis, Mo 63367


LDS‐Miw Ward‐Pago West Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


Lds‐Moanalua 2Nd Ward‐Honolulu W Stake
Aloha Council, Bsa 104
642 N Vineyard Blvd, Apt G
Honolulu, Hi 96817


LDS‐Moanalua Ward‐Honolulu West Stake
Aloha Council, Bsa 104
1723 Beckley St
Honolulu, HI 96819


Lds‐Mogollon Rim Ward‐Silver Creek Az
Stk
Grand Canyon Council 010
P.O. Box 625
Heber, Az 85928


LDS‐Mogollon Ward‐Payson Az Stk
Grand Canyon Council 010
170 W Midway St
Payson, AZ 85541


LDS‐Mojave Branch‐Victorville Stake
California Inland Empire Council 045
15330 Jeraldo Dr
Victorville, CA 92394


Lds‐Mojave Narrows Ward‐Apple Vly Stake
California Inland Empire Council 045
15500 Tuscola Rd
Apple Valley, Ca 92307


LDS‐Mojave River Ward‐Hesperia Stake
California Inland Empire Council 045
9533 Hickory Ave
Hesperia, CA 92345


LDS‐Monarch Meadows Ward/Herriman Ut Stk
Great Salt Lake Council 590
5246 Gossamer Way
Riverton, UT 84096


LDS‐Monett Ward‐Monett Stake
Ozark Trails Council 306
Hwy 37 and Cir Dr
Monett, MO 65708


LDS‐Monroe Ward‐Athens Georgia Stake
Northeast Georgia Council 101
Youth Monroe Rd
Loganville, GA 30052


LDS‐Monroe Ward‐Athens Stake
Northeast Georgia Council 101
Youth Monroe Rd
Loganville, GA 30052


LDS‐Monte Vista Branch/Logan Stake
Trapper Trails 589
380 S 1250 W
Logan, UT 84321


Lds‐Monte Vista Branch‐Phoenix Az
North Stk
Grand Canyon Council 010
325 E Coral Gables Dr
Phoenix, Az 85022


LDS‐Montecito Ward‐Mesa Az Alta Mesa Stk
Grand Canyon Council 010
4034 E Ellis St
Mesa, AZ 85205


LDS‐Montelena Ward‐Qc Az Central Stk
Grand Canyon Council 010
20415 E Chandler Heights Rd
Queen Creek, AZ 85142


Lds‐Monterey Park Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
2939 S Power Rd
Mesa, Az 85212


Lds‐Monterey Ward‐Mesa Az
Boulder Creek Stk
Grand Canyon Council 010
7145 E Monterey Ave
Mesa, Az 85209


LDS‐Montezuma Ward‐Cottonwood Az Stk
Grand Canyon Council 010
360 S 5th St
Camp Verde, AZ 86322


Lds‐Monument Park Ward
Sl Monument Pk Stk
Great Salt Lake Council 590
1005 S 2000 E
Salt Lake City, Ut 84108


Lds‐Monument Ridge Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2701 E Lehi Rd
Mesa, Az 85213


LDS‐Monument Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
810 E Lehi Rd
Mesa, AZ 85203


Lds‐Moon Mountain Ward‐Phoenix Az
North Stk
Grand Canyon Council 010
325 E Coral Gables Dr
Phoenix, Az 85022


Lds‐Moon Valley Ward‐Phoenix Az
North Stk
Grand Canyon Council 010
11650 N 35Th Ave
Phoenix, Az 85029


LDS‐Moraga Ward‐Oakland Stake
Mt Diablo‐Silverado Council 023
3776 Via Granada
Moraga, CA 94556


LDS‐Morehead City Ward
East Carolina Council 426
3606 Country Club Rd
Morehead City, NC 28557
Lds‐Moreno Vly Ward‐Moreno Vly Stake
California Inland Empire Council 045
11790 Perris Blvd
Moreno Valley, Ca 92557


LDS‐Morgan Hill Ward‐Temecula Stake
California Inland Empire Council 045
43940 Pacific Sunset Dr
Temecula, CA 92592


LDS‐Morning Sun Ward‐Qc Az South Stk
Grand Canyon Council 010
33794 Gary Rd
San Tan Valley, AZ 85142


Lds‐Morning View Ward
Stnsbry Park Ut So Stk
Great Salt Lake Council 590
5705 Mast Ln
Stansbury Park, Ut 84074


LDS‐Morningside Ward/Taylorsville Ut Stk
Great Salt Lake Council 590
1555 Lovely Rd
Salt Lake City, UT 84123


LDS‐Morningside Ward‐Qc Az Ocotillo Stk
Grand Canyon Council 010
2559 E Combs Rd
San Tan Valley, AZ 85140


Lds‐Morrison Ranch Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
2865 E Robin Ct
Gilbert, Az 85296


LDS‐Moss Hill Ward/Bntfl Ut Central Stk
Great Salt Lake Council 590
455 S 1200 E
Bountiful, UT 84010
Lds‐Mount Jordan 1St Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
8950 S 400 E
Sandy, Ut 84070


Lds‐Mount Jordan 2Nd Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
9331 S 300 E
Sandy, Ut 84070


Lds‐Mount Jordan 3Rd Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
8950 S 400 E
Sandy, Ut 84070


Lds‐Mount Jordan 4Th Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
235 E Sego Lily Dr
Sandy, Ut 84070


Lds‐Mount Jordan 5Th Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
9331 S 300 E
Sandy, Ut 84070


Lds‐Mount Jordan 6Th Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
9331 S 300 E
Sandy, Ut 84070


Lds‐Mount Jordan 7Th Ward
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590
235 E Sego Lily Dr
Sandy, Ut 84070


Lds‐Mount Olympus Ward
Sl Mt Olympus Stake
Great Salt Lake Council 590
4625 Lanark Rd
Salt Lake City, Ut 84124


LDS‐Mount Vernon Ward‐Columbus Ohio
Muskingum Valley Council, Bsa 467
1010 Beech St
Mount Vernon, OH 43050


Lds‐Mountain Oaks Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
11570 Wasatch Blvd
Sandy, Ut 84092


LDS‐Mountain Park Ward‐Tempe Az West Stk
Grand Canyon Council 010
4525 E Knox Rd
Phoenix, AZ 85044


Lds‐Mountain Point 12Th Ward
Draper Ut Mtn Point Stk
Great Salt Lake Council 590
607 E Rocky Mouth Lane
Draper, Ut 84026


Lds‐Mountain Ranch Ward‐Mesa Az
Desert Ridge Stk
Grand Canyon Council 010
3440 S Signal Butte
Mesa, Az 85212


Lds‐Mountain Ridge Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
6942 E Brown Rd
Mesa, Az 85207


Lds‐Mountain Ridge Ward‐Phoenix Az
Tbird Park Stk
Grand Canyon Council 010
23121 N 67Th Ave
Glendale, Az 85310


Lds‐Mountain Shadows Ward
Scottsdale Az, Camelback Stk
Grand Canyon Council 010
6265 N 82Nd St
Scottsdale, Az 85250


Lds‐Mountain View 1St Ward
S L Hillside Stk
Great Salt Lake Council 590
1400 S 1900 E
Salt Lake City, Ut 84108


Lds‐Mountain View 1St Ward
W J Ut Mtn View Stk
Great Salt Lake Council 590
8825 S 3200 W
West Jordan, Ut 84088


Lds‐Mountain View 2Nd Ward
W J Ut Mtn View Stk
Great Salt Lake Council 590
2901 W 9000 S
West Jordan, Ut 84088


Lds‐Mountain View 3Rd Ward
S L Hillside Stk
Great Salt Lake Council 590
1889 S 1700 E
Salt Lake City, Ut 84108


Lds‐Mountain View 3Rd Ward
W J Ut Mtn View Stk
Great Salt Lake Council 590
2901 W 9000 S
West Jordan, Ut 84088


LDS‐Mountain View 4Th / Lyman Stake
Trapper Trails 589
116 4th St
Mountain View, WY 82939
Lds‐Mountain View 6Th Ward
W J Ut Mtn View Stk
Great Salt Lake Council 590
8455 S 2700 W
West Jordan, Ut 84088


Lds‐Mountain View 7Th Branch
Wj Ut Mountain View Stake
Great Salt Lake Council 590
8825 S 3200 W
West Jordan, Ut 84088


Lds‐Mountain View 8Th Ward
W J Ut Mtn View Stk
Great Salt Lake Council 590
2901 W 9000 S
West Jordan, Ut 84088


Lds‐Mountain View Ward
Centerville Ut Stk
Great Salt Lake Council 590
950 N Main St
Centerville, Ut 84014


LDS‐Mountain View Ward‐Hemet Stake
California Inland Empire Council 045
1120 De Anza Dr
San Jacinto, CA 92582


LDS‐Mountain View Ward‐Ontario Stake
California Inland Empire Council 045
701 E Rosewood Ct
Ontario, CA 91764


LDS‐Mountain View Ward‐Redlands Stake
California Inland Empire Council 045
640 S Center St
Redlands, CA 92373


Lds‐Mountain Vista Ward‐Mesa Az
Red Mountain Stk
Grand Canyon Council 010
6439 E Inglewood St
Mesa, Az 85205


Lds‐Mountain Vista Ward‐Mesa Az
Skyline Stk
Grand Canyon Council 010
10305 E Sern Ave
Mesa, Az 85208


LDS‐Mountainview Ward‐Cottonwood Az Stk
Grand Canyon Council 010
1377 E Hombre Dr
Cottonwood, AZ 86326


LDS‐Mountian Vista Ward‐Qc Az South Stk
Grand Canyon Council 010
3132 W Santa Cruz Ave
Queen Creek, AZ 85142


LDS‐Ms / Bon Air Ward
Heart of Virginia Council 602
10660 Duryea Dr
Richmond, VA 23235


LDS‐Ms / Burkeville Branch
Heart of Virginia Council 602
400 6th St NW Plum St
Burkeville, VA 23922


LDS‐Ms / Manchester Ward
Heart of Virginia Council 602
4601 N Bailey Bridge Rd
Midlothian, VA 23112


LDS‐Ms / Midlothian Ward
Heart of Virginia Council 602
10660 Duryea Dr
Richmond, VA 23235


LDS‐Ms/Manchester Ward
Heart of Virginia Council 602
12440 Spring Run Rd
Chesterfield, VA 23832


LDS‐Mt Baldy Ward‐Chugach Stake
Great Alaska Council 610
19701 Driftwood Bay Dr
Eagle River, AK 99577


LDS‐Mt Elden Ward‐Flagstaff Az East Stk
Grand Canyon Council 010
2401 E Linda Vista Dr
Flagstaff, AZ 86004


Lds‐Mt Ensign 1St Ward Spanish
West Bountiful UT Stk
Great Salt Lake Council 590
1930 N 600 W
West Bountiful, Ut 84087


Lds‐Mt Ensign 2Nd Ward Spanish
Sl Rose Park Stk
Great Salt Lake Council 590
760N 1200 W
Salt Lake City, Ut 84116


LDS‐Mt Juneau Ward‐Juneau Alaska Stake
Great Alaska Council 610
P.O. Box 32599
Juneau, AK 99803


LDS‐Mt Zion Branch/Wilmington Nc Stake
Cape Fear Council 425
5132 S Nc Hwy 50
Wallace, NC 28466


Lds‐Mtn Grove Ward‐W Plains Stake
Ozark Trails Council 306
3145 N Hwy 95
Mountain Grove, Mo 65711


Lds‐Mtn Point 10Th Ward
Draper Ut Mtn Point Stk
Great Salt Lake Council 590
498 E 14088 S
Draper, Ut 84020


Lds‐Mtn Point 1St Ward
Draper Ut Mountain Point Stk
Great Salt Lake Council 590
498 E Hollow Creek Rd
Draper, Ut 84020


Lds‐Mtn Point 3Rd Ward
Draper Ut Mountain Point Stk
Great Salt Lake Council 590
498 E 14085 S
Draper, Ut 84020


Lds‐Mtn Point 4Th Ward
Draper Ut Mtn Point Stk
Great Salt Lake Council 590
573 E 13800 S
Draper, Ut 84020


Lds‐Mtn Point 6Th Ward
Draper Ut Mtn Point Stk
Great Salt Lake Council 590
498 E 14088 S
Draper, Ut 84020


Lds‐Mtn Point 8Th Ward
Draper Ut Mtn Point Stk
Great Salt Lake Council 590
268 E Summer Leaf Dr
Draper, Ut 84020


Lds‐Mtn Shadows 2Nd Ward
Wj Ut Mtn Shadows Stk
Great Salt Lake Council 590
7825 S 2700 W
West Jordan, Ut 84088


Lds‐Mtn Shadows 3Rd Ward
W J Ut Mtn Shadows Stk
Great Salt Lake Council 590
8136 Old Bingham Hwy
West Jordan, Ut 84088


Lds‐Mtn Shadows 4Th Ward
W J Ut Mtn Shadows Stk
Great Salt Lake Council 590
8136 Old Bingham Hwy
West Jordan, Ut 84088


Lds‐Mtn Shadows 5Th Ward
W J Ut Mtn Shadows Stk
Great Salt Lake Council 590
7925 S 2700 W
West Jordan, Ut 84088


Lds‐Mtn Shadows 6Th Ward
W J Ut Mtn Shadows Stk
Great Salt Lake Council 590
8173 S 3200 W
West Jordan, Ut 84088


Lds‐Mtn Shadows 7Th Ward
W J Ut Mtn Shadows Stk
Great Salt Lake Council 590
7925 S 2700 W
West Jordan, Ut 84088


Lds‐Mtn Shadows 8Th Ward
W J Ut Mtn Shadows Stk
Great Salt Lake Council 590
8173 S 3200 W
West Jordan, Ut 84088


Lds‐Mtn Shdws 1St Ward Portu.   Ward
Wj Ut Mtn Shdws Stk
Great Salt Lake Council 590
8173 S 3200 W
West Jordan, Ut 84088


Lds‐Mtn View 4Th Spn Branch
Wj Utah Mtn View Stk
Great Salt Lake Council 590
8825 S 3200 W
West Jordan, Ut 84088
Lds‐Mtn View Ward‐Paradise Vly Az
Stk
Grand Canyon Council 010
3601 E Shea Blvd
Phoenix, Az 85028


Lds‐Mueller Park 10Th Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1800 Mueller Park Rd
Bountiful, Ut 84010


Lds‐Mueller Park 1St Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1825 S 800 E
Bountiful, Ut 84010


Lds‐Mueller Park 2Nd Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1825 S 800 E
Bountiful, Ut 84010


Lds‐Mueller Park 3Rd Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1825 S 800 E
Bountiful, Ut 84010


Lds‐Mueller Park 4Th Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1320 E 1975 S
Bountiful, Ut 84010


Lds‐Mueller Park 5Th Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1320 E 1975 S
Bountiful, Ut 84010
Lds‐Mueller Park 7Th Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1800 Mueller Park Rd
Bountiful, Ut 84010


Lds‐Mueller Park 8Th Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1320 E 1975 S
Bountiful, Ut 84010


Lds‐Mueller Park 9Th Ward
Bntfl Ut Mueller PK Stk
Great Salt Lake Council 590
1800 Mueller Park Rd
Bountiful, Ut 84010


LDS‐Murray 10Th Ward/Murray West Stake
Great Salt Lake Council 590
5605 S Vine St
Murray, UT 84107


LDS‐Murray 11Th Ward/Murray West Stake
Great Salt Lake Council 590
5750 Nena Way
Salt Lake City, UT 84107


LDS‐Murray 12Th Ward/Murray Ut Stk
Great Salt Lake Council 590
363 E Vine St
Salt Lake City, UT 84107


LDS‐Murray 13Th Ward/Murray West Stake
Great Salt Lake Council 590
6300 S 700 W
Salt Lake City, UT 84123


Lds‐Murray 15Th Ward
Murray Ut Parkway Stk
Great Salt Lake Council 590
5555 S 700 W
Salt Lake City, Ut 84123


Lds‐Murray 16Th Ward
Murray Ut Parkway Stk
Great Salt Lake Council 590
619 W 5750 S
Salt Lake City, Ut 84123


LDS‐Murray 1St Ward/Murray Ut Stk
Great Salt Lake Council 590
363 E Vine St
Salt Lake City, UT 84107


Lds‐Murray 22Nd Ward
Murray Ut Parkway Stk
Great Salt Lake Council 590
619 W 5750 S
Murray, Ut 84123


LDS‐Murray 23Rd Ward/Murray Ut Stk
Great Salt Lake Council 590
755 Three Fountains Cir
Salt Lake City, UT 84107


LDS‐Murray 25Th Ward/Murray Ut Stk
Great Salt Lake Council 590
363 E Vine St
Salt Lake City, UT 84107


Lds‐Murray 28Th Ward
Murray Ut Parkway Stk
Great Salt Lake Council 590
932 Greenoaks Dr
Murray, Ut 84123


LDS‐Murray 29Th Ward/Murray West Stake
Great Salt Lake Council 590
6300 S 700 W
Salt Lake City, UT 84123


Lds‐Murray 2Nd   Spanish   Ward
Murray Ut Stk
Great Salt Lake Council 590
755 Three Fountains Cir
Salt Lake City, Ut 84107


Lds‐Murray 32Nd Ward
Murray Ut Parkway Stk
Great Salt Lake Council 590
5555 S 700 W
Salt Lake City, Ut 84123


Lds‐Murray 33Rd Ward
Murray Ut Parkway Stk
Great Salt Lake Council 590
932 Greenoaks Dr
Salt Lake City, Ut 84123


LDS‐Murray 3Rd Ward/Murray Ut Stk
Great Salt Lake Council 590
160 E 4600 S
Murray, UT 84107


LDS‐Murrieta Stake Troop‐Murrieta Stake
California Inland Empire Council 045
24820 Las Brisas Rd
Murrieta, CA 92562


LDS‐Murrieta Ward‐Murrieta Stake
California Inland Empire Council 045
32800 Washington St
Murrieta, CA 92562


LDSMuskego Lakes Ward Milw Wi S Stake
Three Harbors Council 636
9600 W Grange Ave
Hales Corners, Wi 53130


LDS‐Muskogee Ward‐Tulsa Ok East Stake
Indian Nations Council 488
3008 E Hancock St
Muskogee, OK 74403


LDS‐Nanakuli Ward‐Makakilo Stake
Aloha Council, Bsa 104
85‐574 Plantation Rd
Waianae, HI 96792


LDS‐Napa 1St Ward‐Napa Stake
Mt Diablo‐Silverado Council 023
15 Chapel Hill Dr
Napa, CA 94558


LDS‐Napa 2Nd Ward‐Napa Stake
Mt Diablo‐Silverado Council 023
2590 Trower Ave
Napa, CA 94558


LDS‐Naperville 1St Ward‐Naperville Stake
Three Fires Council 127
25W341 Ridgeland Rd
Naperville, IL 60563


LDS‐Naperville 4Th Ward‐Naperville Stake
Three Fires Council 127
1411 95th St
Naperville, IL 60564


LDS‐Naperville 6Th Ward‐Naperville Stake
Three Fires Council 127
25W341 Ridgeland Rd
Naperville, IL 60563


LDS‐Naperville Third Ward‐Joliet Stake
Three Fires Council 127
1411 95th St
Naperville, IL 60564


LDS‐Neely Ward‐Gilbert Az Stapley Stk
Grand Canyon Council 010
1100 N Cooper Rd
Gilbert, AZ 85233


Lds‐Neff S Canyon Ward
Sl Mt Olympus Stake
Great Salt Lake Council 590
4176 Adonis Dr
Salt Lake City, Ut 84124


LDS‐Nelson Peak Ward/Erda Utah Stake
Great Salt Lake Council 590
323 E Erda Way
Erda, UT 84074


LDS‐Neosho Ward‐Joplin Stake
Ozark Trails Council 306
1227 Ridgewood Dr
Neosho, MO 64850


LDS‐New Braunfels 2Nd Ward‐Kyle Stake
Alamo Area Council 583
230 Hamburg Ave
New Braunfels, TX 78132


LDS‐New Haven Ward‐Tulsa Ok Stake
Indian Nations Council 488
3640 S New Haven Ave
Tulsa, OK 74135


LDS‐Newark 3Rd Ward
Del Mar Va 081
500 W Chestnut Hill Rd
Newark, DE 19713


LDS‐Newcastle Ward/Sandy Ut Granite Stk
Great Salt Lake Council 590
2180 Meadow Lark Way
Sandy, UT 84093


Lds‐Newport Beach 1St Ward
Newport Beach Stake
Orange County Council 039
801 Dover Dr
Newport Beach, Ca 92663


Lds‐Newport Beach 2Nd Ward
Newport Beach Stake
Orange County Council 039
801 Dover Dr
Newport Beach, Ca 92663


LDS‐Newport Hills Ward‐Newport Beach Stk
Orange County Council 039
2300 Bonita Canyon Dr
Newport Beach, CA 92660


LDS‐Newport News Ward‐Newport News Stake
Colonial Virginia Council 595
902 Denbigh Blvd
Newport News, VA 23608


LDS‐Newton Ward‐Wichita Stake
Quivira Council, Bsa 198
1201 Grandview Ave
Newton, KS 67114


LDS‐Newtown 1St Ward‐Waipahu Stake
Aloha Council, Bsa 104
98‐530 Kaahele St
Aiea, HI 96701


LDS‐Newtown 2Nd Ward‐Waipahu Stake
Aloha Council, Bsa 104
94‐311 Pupuole St, Apt 403
Waipahu, HI 96797


Lds‐Ngate 2Nd Ward‐Walnut Creek Stake
Mt Diablo‐Silverado Council 023
100 N Gate Rd
Walnut Creek, Ca 94598


LDS‐Nibley Park Ward/S L Granite Stk
Great Salt Lake Council 590
2450 S 600 E
Salt Lake City, UT 84106


LDS‐Niles Ward‐South Bend Stake
Lasalle Council 165
1409 Niles Buchanan Rd
Niles, MI 49120
LDS‐Nixa Ward‐Springfield South Stake
Ozark Trails Council 306
1309 N 20th St
Ozark, MO 65721


LDS‐Nns / Kilmarnock Branch
Heart of Virginia Council 602
268 Morattico Rd
Lancaster, VA 22503


LDS‐Noble Ward‐Mesa Az Skyline Stk
Grand Canyon Council 010
10305 E Sern Ave
Mesa, AZ 85208


Lds‐North Canyon 2Nd Ward
Bntfl Ut North Canyon Stk
Great Salt Lake Council 590
3350 S 100 E
Bountiful, Ut 84010


Lds‐North Canyon 4Th Ward
Bntfl Ut North Canyon Stk
Great Salt Lake Council 590
965 Oakwood Dr
Bountiful, Ut 84010


Lds‐North Canyon 5Th Ward
Bntfl Ut No Canyon Stk
Great Salt Lake Council 590
2505 S Davis Blvd
Bountiful, Ut 84010


Lds‐North Canyon 6Th Ward
Bntfl Ut North Canyon Stk
Great Salt Lake Council 590
965 Oakwood Dr
Bountiful, Ut 84010


Lds‐North Canyon 7Th Ward
Bntfl Ut No Cnyn Stk
Great Salt Lake Council 590
3350 S 100 E
Bountiful, Ut 84010


Lds‐North Canyon Ward‐Phoenix Az
Deer Valley Stk
Grand Canyon Council 010
3527 W Happy Valley Rd
Glendale, Az 85310


LDS‐North Hills Ward‐Fullerton Stake
Orange County Council 039
2351 E La Habra Blvd
La Habra, CA 90631


LDS‐North Miami Beach Ward
South Florida Council 084
2601 NE 163rd St
N Miami Beach, FL 33160


Lds‐North Mountain Ward‐Phoenix Az
North Stk
Grand Canyon Council 010
8710 N 3Rd Ave
Phoenix, Az 85021


LDS‐North Pole Ward‐Fairbanks Stake
Midnight Sun Council 696
331 E 8th Ave
North Pole, AK 99705


Lds‐North Shore 1St Ward
Sj Ut North Shore Stake
Great Salt Lake Council 590
4484 W Willoughby Dr
South Jordan, Ut 84009


Lds‐North Shore 2Nd Ward
Sj Ut North Shore Stake
Great Salt Lake Council 590
4842 W Vermillion Dr
South Jordan, Ut 84095
Lds‐North Shore 3Rd Ward
Sj Ut North Shore Stake
Great Salt Lake Council 590
4842 W Vermillion Dr
South Jordan, Ut 84009


Lds‐North Shore 4Th Ward
Sj Ut North Shore Stake
Great Salt Lake Council 590
4842 Vermillion Dr
South Jordan, Ut 84009


Lds‐North Shore 5Th Ward
Sj Ut North Shore Stake
Great Salt Lake Council 590
5072 W Roaring Rd
South Jordan, Ut 84009


Lds‐North Shore 6Th Ward
Sj Ut North Shore Stake
Great Salt Lake Council 590
4842 W Vermillion Dr
South Jordan, Ut 84095


Lds‐North Shore 7Th Ward
Sl Utah North Shore Stake
Great Salt Lake Council 590
5228 W Dock St
South Jordan, Ut 84009


Lds‐North Shore 8Th Ward
South Jordan Utah North Shore Stake
Great Salt Lake Council 590
5443 W Copper Needle Way
South Jordan, Ut 84009


Lds‐North Valley Ward‐Phoenix Az
Desert Hills Stk
Grand Canyon Council 010
44611 N New River Rd
New River, Az 85087
LDS‐North Vernon Ward ‐ Indianapolis
Hoosier Trails Council 145 145
430 Hayden Pike
North Vernon, IN 47265


LDS‐Northgate 1St Ward‐Walnut Creek Stk
Mt Diablo‐Silverado Council 023
100 N Gate Rd
Walnut Creek, CA 94598


Lds‐Northpoint 1St Ward
S L Rose Park North Stk
Great Salt Lake Council 590
1460 Morton Dr
Salt Lake City, Ut 84116


Lds‐Northpoint 3Rd Ward
S L Rose Park North Stk
Great Salt Lake Council 590
1460 Morton Dr
Salt Lake City, Ut 84116


Lds‐Northridge Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
11196 S Wasatch Blvd
Sandy, Ut 84092


LDS‐Northridge Ward/Frmngtn Ut North Stk
Great Salt Lake Council 590
1885 Summerwood Dr
Farmington, UT 84025


Lds‐Northridge Ward‐Mesa Az
Hermosa Vista Stk
Grand Canyon Council 010
2701 E Lehi Rd
Mesa, Az 85213


LDS‐Northwood Ward‐Irvine Stake
Orange County Council 039
5353 Bryan Ave
Irvine, CA 92620
LDS‐Nuevo Ward‐Moreno Valley Stake
California Inland Empire Council 045
13281 Lasselle St
Moreno Valley, CA 92553


LDS‐Nugget Falls Ward‐Juneau Stake
Great Alaska Council 610
3521 Forest Grove Dr
Juneau, AK 99801


LDS‐Nuuanu Ward‐Honolulu West Stake
Aloha Council, Bsa 104
3830 Old Pali Rd
Honolulu, HI 96817


LDS‐Nuuuli 1St Ward‐Pago Malaeimi Stakel
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


LDS‐Nuuuli 2Nd Ward‐Pago Malaeimi Stake
c/o Nuuuli Ward
Aloha Council, Bsa 104
Pago Pago, AS 96799


LDS‐O Fallon Ward‐Lake St Louis Stake
Greater St Louis Area Council 312
Nm ‐ 1401 S Henke
Lake Saint Louis, MO 63367


LDS‐O Malley Ward‐Anchorage Stake
Great Alaska Council 610
11701 Puma St
Anchorage, AK 99507


LDS‐Oak Creek Ward‐Irvine Stake
Orange County Council 039
5353 Bryan Ave
Irvine, CA 92620
LDS‐Oak Grove 3Rd Ward‐Oakland East St
Mt Diablo‐Silverado Council 023
3700 Concord Blvd
Concord, CA 94519


Lds‐Oak Grove Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
11570 Wasatch Blvd
Sandy, Ut 84092


LDS‐Oak Hill Ward/Taylorsville Ut Stk
Great Salt Lake Council 590
895 W 4800 S
Salt Lake City, UT 84123


LDS‐Oak Hills Ward/Bntfl Ut Central Stk
Great Salt Lake Council 590
455 S 1200 E
Bountiful, UT 84010


LDS‐Oak Hills Ward‐Hesperia Stake
California Inland Empire Council 045
8889 Sheep Creek Rd
Phelan, CA 92371


LDS‐Oak Valley Ward‐Yucaipa Stake
California Inland Empire Council 045
306 E Ave L
Calimesa, CA 92320


LDS‐Oakland 12Th Ward‐Oakland East Stake
San Francisco Bay Area Council 028
4780 Lincoln Ave
Oakland, CA 94602


LDS‐Oakland 1St Ward‐Oakland Stake
San Francisco Bay Area Council 028
4780 Lincoln Ave
Oakland, CA 94602


LDS‐Oakland 3Rd Ward‐Oakland East Stake
San Francisco Bay Area Council 028
4705 Virginia Ave
Oakland, CA 94619


LDS‐Oakland 4Th Ward‐Oakland East Stake
San Francisco Bay Area Council 028
4705 Virginia Ave
Oakland, CA 94619


LDS‐Oakland 6Th Ward‐Oakland Stake
Mt Diablo‐Silverado Council 023
4780 Lincoln Ave
Oakland, CA 94602


LDS‐Oakland 8Th Ward‐San Leandro Stake
San Francisco Bay Area Council 028
859 Grant Ave
San Lorenzo, CA 94580


LDS‐Oakland 9Th Ward‐Oakland Stake
San Francisco Bay Area Council 028
4780 Lincoln Ave
Oakland, CA 94602


LDS‐Oakley 1St Ward/Kamas Ut Stk
Great Salt Lake Council 590
1224 W State Rd 32
Oakley, UT 84055


LDS‐Oakley 2Nd Ward/Kamas Ut Stk
Great Salt Lake Council 590
3038 N State Rd 32
Oakley, UT 84055


LDS‐Oakley Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
1432 Laurel Rd
Oakley, CA 94561


Lds‐Oakridge Farms Ward
Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
1955 S 350 E
Kaysville, Ut 84037


Lds‐Oakridge Ward
Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
1173 Tee Time Dr
Farmington, Ut 84025


LDS‐Oakville Ward‐South St Louis Stake
Greater St Louis Area Council 312
4511 Butler Hill Rd
Saint Louis, MO 63128


LDS‐Oakwood Ward‐Peoria Az Stk
Grand Canyon Council 010
7871 W Acoma Dr
Peoria, AZ 85381


Lds‐Oasis Verde Ward‐Peralta Trail Az
Stk
Grand Canyon Council 010
1720 S Ironwood Dr
Apache Junction, Az 85120


LDS‐Obed Ward‐Winslow Az Stk
Grand Canyon Council 010
P.O. Box 430
Joseph City, AZ 86032


Lds‐Oceanview Ward
Huntington Beach N Stake
Orange County Council 039
5402 Heil Ave
Huntington Beach, Ca 92649


LDS‐Oceanview Ward‐Anchorage Stake
Great Alaska Council 610
11701 Puma St
Anchorage, AK 99515


LDS‐Ocotillo Ward‐Mesa Az Flat Iron Stk
Grand Canyon Council 010
454 N Crismon Rd
Mesa, AZ 85207


LDS‐Ocotillo Ward‐Qc Az West Stk
Grand Canyon Council 010
19730 E Ocotillo Rd
Queen Creek, AZ 85142


Lds‐Odenton Ward
Ft Meade Annapolis Maryland
Baltimore Area Council 220
528 Higgins Dr
Odenton, Md 21113


LDS‐Okinawa Servicemens Branch
Far E Council 803
Kadena Branch
7‐11 Matsumoto, Okinawa Shi
Apo Ap, 96367


Lds‐Old Mission Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1433 Old Mission Rd
Sandy, Ut 84093


LDS‐Oleander Ward‐Fontana Stake
California Inland Empire Council 045
10654 Juniper Ave
Fontana, CA 92337


LDS‐Olive Bluff Ward/West Haven Stake
Trapper Trails 589
3330 S 4700 W
West Haven, UT 84401


LDS‐Olive Ward‐Mesa Az Stk
Grand Canyon Council 010
525 E 2nd Ave
Mesa, AZ 85204
LDS‐Olomana Ward‐Kaneohe Stake
Aloha Council, Bsa 104
41‐972 Oluolu St
Waimanalo, HI 96795


LDS‐Olympia Stake‐Olympia 1St
Pacific Harbors Council, Bsa 612
1116 Yew Ave Ne
Olympia, WA 98506


LDS‐Olympia Stake‐Olympia 2Nd
Pacific Harbors Council, Bsa 612
600 Overhulse Rd Nw
Olympia, WA 98502


LDS‐Olympia Stake‐Olympia 3Rd
Pacific Harbors Council, Bsa 612
3800 Henderson Blvd Se
Olympia, WA 98501


LDS‐Olympia Stake‐Olympia 4Th
Pacific Harbors Council, Bsa 612
3800 Henderson Blvd Se
Olympia, WA 98501


LDS‐Olympia Stake‐Tumwater
Pacific Harbors Council, Bsa 612
600 Overhulse Rd Nw
Olympia, WA 98502


LDS‐Olympia Stake‐Tumwater 2Nd
Pacific Harbors Council, Bsa 612
6842 Prosik Ln Sw
Tumwater, WA 98512


Lds‐Olympic Park 3Rd Ward Spanish
Kearns Ut Cntrl Stk
Great Salt Lake Council 590
4575 W 5415 S
Salt Lake City, Ut 84118


Lds‐Olympic Park Ward
Kearns Ut Central Stk
Great Salt Lake Council 590
4575 W 5415 S.
Kearns, Ut 84118


LDS‐Olympic Park Ward/Park City Ut Stake
Great Salt Lake Council 590
2420 Country Ln
Park City, UT 84060


LDS‐Olympus 1St Ward/S L Olympus Stk
Great Salt Lake Council 590
4100 S 2480 E
Holladay, UT 84124


LDS‐Olympus 2Nd Ward/S L Olympus Stk
Great Salt Lake Council 590
3070 Nila Way
Salt Lake City, UT 84124


LDS‐Olympus 3Rd Ward/S L Olympus Stk
Great Salt Lake Council 590
4100 S 2480 E
Salt Lake City, UT 84124


LDS‐Olympus 4Th Ward/S L Olympus Stk
Great Salt Lake Council 590
2675 E 4430 S
Salt Lake City, UT 84124


LDS‐Olympus 5Th Ward/S L Olympus Stk
Great Salt Lake Council 590
3862 E 4275 S
Salt Lake City, UT 84124


LDS‐Olympus 7Th Ward/S L Olympus Stk
Great Salt Lake Council 590
2675 E 4430 S
Salt Lake City, UT 84124


LDS‐Olympus 8Th Ward/S L Olympus Stk
Great Salt Lake Council 590
2675 E 4430 S
Salt Lake City, UT 84124


Lds‐Olympus Cove Ward
Salt Lake Mount Olympus Stake
Great Salt Lake Council 590
3862 E Oakview Dr
Salt Lake City, Ut 84124


Lds‐Olympus Hills Ward
Sl Mt Olympus Stake
Great Salt Lake Council 590
4176 Adonis Dr
Salt Lake City, Ut 84124


LDS‐Onaga Trail Ward‐Yucca Valley Stake
California Inland Empire Council 045
P.O. Box 1209
Yucca Valley, CA 92286


LDS‐Oneonta Ward Utica Ny Stake
Leatherstocking 400
107 Balmoral Dr
West Oneonta, NY 13861


LDS‐Ontario 7Th Ward‐Ontario Stake
California Inland Empire Council 045
522 W Francis St
Ontario, CA 91762


Lds‐Oquirrh 11Th Ward Tongan
Sl Utah South Stake Tongan
Great Salt Lake Council 590
5938 W 6200 S
Kearns, Ut 84118


Lds‐Oquirrh 1St Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12830 S 2700 W
Riverton, Ut 84065
LDS‐Oquirrh 1St Ward/W J Ut Oquirrh Stk
Great Salt Lake Council 590
5208 W Cyclamen Way
West Jordan, UT 84081


Lds‐Oquirrh 2Nd Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12830 S 2700 W
Riverton, Ut 84065


LDS‐Oquirrh 3Rd Ward/W J Ut Oquirrh Stk
Great Salt Lake Council 590
6673 Clernates Dr
West Jordan, UT 84081


LDS‐Oquirrh 4Th Ward/W J Ut Oquirrh Stk
Great Salt Lake Council 590
5208 W Cyclamen Way
West Jordan, UT 84081


LDS‐Oquirrh 5Th Ward/W J Ut Oquirrh Stk
Great Salt Lake Council 590
6673 Clernates Dr
West Jordan, UT 84081


LDS‐Oquirrh 6Th Ward/W J Ut Oquirrh Stk
Great Salt Lake Council 590
6673 Clernates Dr
West Jordan, UT 84081


LDS‐Oquirrh 7Th Ward/W J Ut Oquirrh Stk
Great Salt Lake Council 590
5154 W 7000 S.
West Jordan, UT 84081


Lds‐Oquirrh Point 1St Ward
W J Ut Oquirrh Point Stk
Great Salt Lake Council 590
6253 W 6200 S
West Valley City, Ut 84118
Lds‐Oquirrh Point 2Nd Ward
W J Ut Oquirrh Point Stk
Great Salt Lake Council 590
6270 W 7000 S
West Jordan, Ut 84081


Lds‐Oquirrh Point 3Rd Ward
W J Ut Oquirrh Point Stk
Great Salt Lake Council 590
6567 S Wakefield Way
West Valley City, Ut 84118


Lds‐Oquirrh Point 4Th Ward
W J Ut Oquirrh Point Stk
Great Salt Lake Council 590
6270 W 7000 S
West Jordan, Ut 84084


Lds‐Oquirrh Point 5Th Sp Ward
Wj Ut Oquirrh PT Stk
Great Salt Lake Council 590
6567 S Wakefield Way
West Jordan, Ut 84084


Lds‐Oquirrh Point 6Th
Wj Utah Oquirrh Point Stake
Great Salt Lake Council 590
6270 W 7000 S
West Jordan, Ut 84081


Lds‐Oquirrh Point 7Th Ward
Wj Ut Oquirrh Point Stake
Great Salt Lake Council 590
6567 So Wakefield Way
West Jordan, Ut 84081


LDS‐Orange Crest Ward‐Riverside Stake
California Inland Empire Council 045
8901 Burlington Cir
Riverside, CA 92508


LDS‐Orchard 10Th Ward/N S L Parkway Stk
Great Salt Lake Council 590
3376 So. 800 W
Bountiful, UT 84010


Lds‐Orchard 11Th Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
155 Coventry Ln
North Salt Lake, Ut 84054


LDS‐Orchard 13Th Ward/N S L Parkway Stk
Great Salt Lake Council 590
261 E Center St
North Salt Lake, UT 84054


Lds‐Orchard 1St Ward
Bntfl Ut Orchard Stk
Great Salt Lake Council 590
3707 S 800 W
Bountiful, Ut 84010


Lds‐Orchard 2Nd Ward
Bntfl Ut Orchard Stk
Great Salt Lake Council 590
3707 S 800 W
Bountiful, Ut 84010


LDS‐Orchard 3Rd Ward/N S L Parkway Stk
Great Salt Lake Council 590
261 E Center St
North Salt Lake, UT 84054


LDS‐Orchard 4Th Ward/N S L Parkway Stk
Great Salt Lake Council 590
55 E 350 N
North Salt Lake, UT 84054


Lds‐Orchard 5Th Ward
Bntfl Ut Orchard Stk
Great Salt Lake Council 590
3599 Orchard Dr
Bountiful, Ut 84010
Lds‐Orchard 6Th Ward
Bntfl Ut Orchard Stk
Great Salt Lake Council 590
3599 Orchard Dr
Bountiful, Ut 84010


Lds‐Orchard 7Th Ward
Bntfl Ut Orchard Stk
Great Salt Lake Council 590
3599 Orchard Dr
Bountiful, Ut 84010


LDS‐Orchard 8Th Ward/N S L Parkway Stk
Great Salt Lake Council 590
55 E 300 N
North Salt Lake, UT 84054


Lds‐Orchard 9Th Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
155 Coventry Ln
North Salt Lake, Ut 84054


LDS‐Orchard Hills‐Springfield Stake
Ozark Trails Council 306
2933 N Farm Rd 101
Springfield, MO 65803


LDS‐Orchard Park Ward/S L Butler Stk
Great Salt Lake Council 590
7035 S Nutree Dr
Salt Lake City, UT 84121


LDS‐Orchard Ward/Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
525 Foothill Blvd
Salt Lake City, UT 84113


LDS‐Orchards Ward/Frmngtn Ut North Stk
Great Salt Lake Council 590
729 W 1275 N
Farmington, UT 84025
LDS‐Orofino Ward‐Lewiston Stake
Inland Nwest Council 611
13610 Fremont Ave
Orofino, ID 83544


LDS‐Ortega Ward‐Lake Elsinore Stake
California Inland Empire Council 045
18220 Dexter Ave
Lake Elsinore, CA 92530


LDS‐Osborn Ward‐Phoenix Az East Stk
Grand Canyon Council 010
3102 N 18th Ave
Phoenix, AZ 85015


LDS‐Oso Oro Ward‐Murrieta Stake
California Inland Empire Council 045
23800 Washington Ave
Murrieta, CA 92562


LDS‐Oswego Ward‐Joliet Stake
Three Fires Council 127
367 Andover Dr
Oswego, IL 60543


Lds‐Overlake 1St Ward
Tooele Utah West Stake
Great Salt Lake Council 590
220 W 2200 N
Tooele, Ut 84074


Lds‐Overlake 2Nd Ward
Tooele Ut North Stk
Great Salt Lake Council 590
1717 Berra Blvd
Tooele, Ut 84074


Lds‐Overlake 3Rd Ward
Tooele Ut North Stk
Great Salt Lake Council 590
1717 Berra Blvd
Tooele, Ut 84074
Lds‐Overlake 4Th Ward
Tooele Utah West Stake
Great Salt Lake Council 590
2200 N 220 W
Tooele, Ut 84074


Lds‐Overlake 5Th Ward
Tooele Utah West Stake
Great Salt Lake Council 590
220 W 2200 N
Tooele, Ut 84074


Lds‐Overlake 6Th Ward
Tooele Utah West Stake
Great Salt Lake Council 590
2200 N 220 W
Tooele, Ut 84074


LDS‐Owasso Ward‐Bartlesville Ok Stake
Indian Nations Council 488
9300 N 129th E Ave
Owasso, OK 74055


LDS‐Oxford Ward/S L Granger South Stk
Great Salt Lake Council 590
3671 S Oldham St
West Valley City, UT 84120


LDS‐Ozark Ward‐Dothan Alabama Stake
Alabama‐Florida Council 003
Mixon School Rd
Ozark, AL 36360


LDS‐Ozark Ward‐Springfield South Stake
Ozark Trails Council 306
4450 S Farm Rd 141
Springfield, MO 65810


LDS‐Pacana Park Ward‐Maricopa Az Stk
Grand Canyon Council 010
37280 W Bowlin Rd
Maricopa, AZ 85138


Lds‐Pacific Shores Ward
Huntington Beach Stake
Orange County Council 039
8702 Atlanta Ave
Huntington Beach, Ca 92646


LDS‐Page 1St Ward‐Page Az Stk
Grand Canyon Council 010
1301 N Navajo Dr
Page, AZ 86040


LDS‐Page 2Nd Ward‐Page Az Stk
Grand Canyon Council 010
1301 N Navajo Dr
Page, AZ 86040


LDS‐Page 3Rd Ward‐Page Az Stk
Grand Canyon Council 010
1301 N Navajo Dr
Page, AZ 86040


Lds‐Page Ward‐Gilbert Az
Highland East Stk
Grand Canyon Council 010
3310 E Campbell Rd
Gilbert, Az 85234


LDS‐Pago 1St Ward‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


LDS‐Pago 2Nd Ward‐Pago Malaeimi Stake
Aloha Council, Bsa 104
American Samoa
Pago Pago Samoa, AS 96799


LDS‐Pago 3Rd Ward‐Pago Malaeimi Stake
Aloha Council, Bsa 104
P.O. Box 4946
Pago Pago, AS 96799


LDS‐Pahoa Ward‐Hilo Stake
Aloha Council, Bsa 104
16‐381 Ainaloa Blvd
Pahoa, HI 96778


LDS‐Painted Desert Ward‐Holbrook Az Stk
Grand Canyon Council 010
1127 Helen Ave
Holbrook, AZ 86025


LDS‐Palehua Ward‐Makakilo Stake
Aloha Council, Bsa 104
92‐900 Makakilo Dr
Kapolei, HI 96707


LDS‐Palm Springs Ward
South Florida Council 084
8201 NW 186th St
Hialeah, FL 33015


LDS‐Palm Springs Ward‐Yucca Valley Stake
California Inland Empire Council 045
1400 N Avenida Caballeros
Palm Springs, CA 92262


LDS‐Palm Valley Ward‐Goodyear Az Stk
Grand Canyon Council 010
425 S Estrella Pkwy
Goodyear, AZ 85338


LDS‐Palmer Alaska Stake
Great Alaska Council 610
560 W Bogard Ave
Palmer, AK 99645


LDS‐Palmer Ward‐Palmer Alaska Stake
Great Alaska Council 610
560 W Arctic Ave
Palmer, AK 99645
LDS‐Palmyra Ward‐Orange Stake
Orange County Council 039
674 S Yorba St
Orange, CA 92869


LDS‐Palo Verde Ward‐Buckeye Az Stk
Grand Canyon Council 010
1002 E Eason Ave
Buckeye, AZ 85326


LDS‐Palo Verde Ward‐Gilbert Az Stk
Grand Canyon Council 010
10236 S Greenfield Rd
Gilbert, AZ 85234


Lds‐Palo Verde Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
6840 E Gold Dust Ave
Scottsdale, Az 85253


LDS‐Paloma Valley Ward‐Menifee Stake
California Inland Empire Council 045
28150 La Piedra Rd
Menifee, CA 92584


LDS‐Paloma Ward‐Show Low Az Stk
Grand Canyon Council 010
1401 E Deuce of Clubs
Show Low, AZ 85901


Lds‐Papago Ward‐Mesa Az
Maricopa North Stk
Grand Canyon Council 010
1816 N Extension
Scottsdale, Az 85256


LDS‐Paradise Spanish Ward‐Ontario Stake
California Inland Empire Council 045
701 E Rosewood Ct
Ontario, CA 91764
Lds‐Paradise Vly Ward
Paradise Valley Az Stk
Grand Canyon Council 010
3601 E Shea Blvd
Phoenix, Az 85028


LDS‐Paradise Ward/Taylorsville Ut Stk
Great Salt Lake Council 590
1555 Lovely Rd
Salt Lake City, UT 84123


LDS‐Paradise Ward‐West Richland Stake
Blue Mountain Council 604
4500 Paradise St
West Richland, WA 99353


LDS‐Paris Ward‐Ky Stake
Blue Grass Council 204
436 Bell St
Paris, KY 40361


LDS‐Park 1St Ward/W J Ut Park Stk
Great Salt Lake Council 590
4825 W 7000 S
West Jordan, UT 84084


LDS‐Park 2Nd Ward/W J Ut Park Stk
Great Salt Lake Council 590
4825 W 7000 S
West Jordan, UT 84081


LDS‐Park 3Rd Ward/W J Ut Park Stk
Great Salt Lake Council 590
4825 W 7000 S
West Jordan, UT 84081


LDS‐Park 4Th Ward/W J Ut Park Stk
Great Salt Lake Council 590
7411 S 4800 W
West Jordan, UT 84081
LDS‐Park 5Th Ward/W J Ut Park Stk
Great Salt Lake Council 590
7411 S 4800 W
West Jordan, UT 84084


LDS‐Park 6Th Ward/W J Ut Park Stk
Great Salt Lake Council 590
7411 S 4800 W
West Jordan, UT 84084


Lds‐Park 7Th Ward
West Jordan Utah Park Stake
Great Salt Lake Council 590
7041 S Gold Finch Cir
West Jordan, Ut 84081


Lds‐Park 8Th Ward
West Jordan Utah Park Stake
Great Salt Lake Council 590
7411 S 4800 W
West Jordan, Ut 84081


LDS‐Park City Ward/Park City Ut Stk
Great Salt Lake Council 590
2300 Monitor Dr
Park City, UT 84060


LDS‐Park Hill Ward‐Derby Stake
Quivira Council, Bsa 198
1409 S Rock Rd
Derby, KS 67037


LDS‐Park Hill Ward‐Hemet Stake
California Inland Empire Council 045
1151 Park Ave
San Jacinto, CA 92583


LDS‐Park Hills Ward‐Kennewick East Stake
Blue Mountain Council 604
4445 S Olympia
Kennewick, WA 99337
Lds‐Park House Ward
Herriman Ut Mtn View Stake
Great Salt Lake Council 590
14068 S 5600 W
Herriman, Ut 84096


LDS‐Park Meadow Ward/Centerville Ut Stk
Great Salt Lake Council 590
950 N Main
Centerville, UT 84014


LDS‐Park Place Ward‐Show Low Az Stk
Grand Canyon Council 010
3601 W Fairway Ct
Show Low, AZ 85901


Lds‐Park Pointe Ward
W J Ut Bingham Creek Stk
Great Salt Lake Council 590
8539 S 2200 W
West Jordan, Ut 84088


LDS‐Park Ridge Sp Br/Kearns Ut West Stk
Great Salt Lake Council 590
5422 Sarah Jane Dr
Kearns, UT 84118


Lds‐Park View Ward
Stansbury Park Ut South Stk
Great Salt Lake Council 590
57 E Porter Way
Stansbury Park, Ut 84074


LDS‐Park Ward/Cntrvll Ut North Stk
Great Salt Lake Council 590
1100 N 400 W
Centerville, UT 84014


LDS‐Park Ward/Murray Ut South Stk
Great Salt Lake Council 590
495 E 5600 S
Salt Lake City, UT 84107
LDS‐Park Ward/Sandy Ut Central Stk
Great Salt Lake Council 590
1050 Galena Dr
Sandy, UT 84094


LDS‐Parkcrest Ward‐Mesa Az Alta Mesa Stk
Grand Canyon Council 010
3920 E Brown Rd
Mesa, AZ 85205


LDS‐Parks Ward‐Qc Az East Stk
Grand Canyon Council 010
1727 E Hesperus Way
San Tan Valley, AZ 85140


LDS‐Parkside Ward/Magna Ut Stk
Great Salt Lake Council 590
3610 S 8400 W
Magna, UT 84044


Lds‐Parkside Ward‐Phoenix Az
Desert Hills Stk
Grand Canyon Council 010
2503 W Anthem Way
Anthem, Az 85086


Lds‐Parkview Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
9855 S 2300 E
Sandy, Ut 84092


Lds‐Parkview Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
1172 Glendale Rd
Salt Lake City, Ut 84104


LDS‐Parkview Ward/Murray Ut Parkway Stk
Great Salt Lake Council 590
619 W 5750 S
Murray, UT 84123
LDS‐Parkview Ward‐Palm Desert Stake
California Inland Empire Council 045
72960 Parkview Dr
Palm Desert, CA 92260


Lds‐Parkway 1St Ward Sp
North S L Parkway Stk
Great Salt Lake Council 590
261 E Center St
North Salt Lake, Ut 84054


LDS‐Parkway 1St Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
9894 S 2700 W
South Jordan, UT 84095


Lds‐Parkway 2Nd Ward
North Sl Utah Parkway Stk
Great Salt Lake Council 590
351 Lofty Lane
North Salt Lake, Ut 84054


LDS‐Parkway 2Nd Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
3407 W 9625 S
South Jordan, UT 84095


LDS‐Parkway 2Nd Ward‐St Louis Stake
Greater St Louis Area Council 312
15081 Clayton Rd
Ballwin, MO 63011


LDS‐Parkway 3Rd Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
10206 S 3200 W
South Jordan, UT 84095


LDS‐Parkway 4Th Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
3407 W 9625 S
South Jordan, UT 84095
LDS‐Parkway 5Th Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
3200 W 10206 S
South Jordan, UT 84095


LDS‐Parkway 6Th Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
3407 W 9625 So
South Jordan, UT 84095


LDS‐Parkway 7Th Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
9894 S 2700 W
South Jordan, UT 84095


LDS‐Parkway 8Th Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
9894 S 2700 W
South Jordan, UT 84095


LDS‐Parkway 9Th Ward/S J Ut Parkway Stk
Great Salt Lake Council 590
3200 W 10206 S
South Jordan, UT 84095


LDS‐Parkway Ward/Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
12110 S 1300 W
Riverton, UT 84065


LDS‐Parkway Ward‐St Louis Stake
Greater St Louis Area Council 312
15081 Clayton Rd
Chesterfield, MO 63017


LDS‐Parkwood Ward/Kearns Ut Central Stk
Great Salt Lake Council 590
5927 Park Wood Dr
Salt Lake City, UT 84118
LDS‐Parkwood Ward‐Mesa Az Skyline Stk
Grand Canyon Council 010
618 S Signal Butte Rd
Mesa, AZ 85207


LDS‐Parkwood Ward‐West Stake
Alamo Area Council 583
6240 Utsa Blvd
San Antonio, TX 78249


LDS‐Parleys 1St Ward/S L Parleys Stk
Great Salt Lake Council 590
2350 S 2100 E
Salt Lake City, UT 84109


LDS‐Parleys 3Rd Ward/S L Parleys Stk
Great Salt Lake Council 590
2615 Stringham Ave
Salt Lake City, UT 84109


LDS‐Parleys 4Th Ward/S L Parleys Stk
Great Salt Lake Council 590
1870 Parleys Canyon Blvd
Salt Lake City, UT 84106


LDS‐Parleys 5Th Ward/S L Parleys Stk
Great Salt Lake Council 590
2615 Stringham Ave
Salt Lake City, UT 84109


LDS‐Parleys 6Th Ward/S L Parleys Stk
Great Salt Lake Council 590
2350 S 2100 E
Salt Lake City, UT 84109


Lds‐Parleys Creek Branch Swahilli
Sl E Millcreek NO Stk
Great Salt Lake Council 590
1700 S 1100 E
Salt Lake City, Ut 84105


Lds‐Parrish Canyon Ward
Centerville Ut Stk
Great Salt Lake Council 590
610 N 100 E
Centerville, Ut 84014


Lds‐Parrish Heights Ward
Centerville Ut Stk
Great Salt Lake Council 590
610 N 100 E
Centerville, Ut 84014


LDS‐Parsons Ward‐Joplin Stake
Quivira Council, Bsa 198
3529 Gabriel Ave
Parsons, KS 67357


LDS‐Partridge Ward‐Chandler Az East Stk
Grand Canyon Council 010
4316 S Val Vista
Gilbert, AZ 85297


LDS‐Pasco 10Th Ward‐Pasco North Stake
Blue Mountain Council 604
4618 Porto Ln
Pasco, WA 99301


LDS‐Pasco 11Th Ward‐Pasco North Stake
Blue Mountain Council 604
4618 Porto Ln
Pasco, WA 99301


LDS‐Pasco 1St Ward‐Pasco North Stake
Blue Mountain Council 604
4618 Porto Lane
Pasco, WA 99301


LDS‐Pasco 2Nd Ward‐Pasco Stake
Blue Mountain Council 604
2004 Rd 24
Pasco, WA 99301


LDS‐Pasco 3Rd Ward‐Pasco Stake
Blue Mountain Council 604
4305 Crescent Rd
Pasco, WA 99301


LDS‐Pasco 4Th Ward‐Pasco Stake
Blue Mountain Council 604
2004 N Rd 24
Pasco, WA 99301


LDS‐Pasco 6Th Ward‐Pasco Stake
Blue Mountain Council 604
4305 Crescent Rd
Pasco, WA 99301


LDS‐Pasco 8Th Ward‐Pasco Stake
Blue Mountain Council 604
4305 Crescent Rd Bldg 108
Pasco, WA 99301


LDS‐Pasco 9Th Ward‐Pasco North Stake
Blue Mountain Council 604
4618 Porto Ln
Pasco, WA 99301


Lds‐Paseo Crossing Ward‐Chandler Az
South Stk
Grand Canyon Council 010
17817 S Mcqueen Rd
Chandler, Az 85286


Lds‐Patriot Ridge Ward
Herriman Ut So Stake
Great Salt Lake Council 590
4617 W Patriot Ridge Dr
Herriman, Ut 84096


LDS‐Patterson Ward‐Mesa Az Skyline Stk
Grand Canyon Council 010
10721 E Balmoral Ave
Mesa, AZ 85208


LDS‐Pauba Ward‐Temecula Stake
California Inland Empire Council 045
33359 Nicholas Cmn
Temecula, CA 92592


LDS‐Pauls Valley Branch
Arbuckle Area Council 468
11000 S Meridan Rd
Pauls Valley, OK 73075


LDS‐Pavaiai 1St Ward‐Pago West Stake
Aloha Council, Bsa 104
American Samoa
Pago Pago Samoa, AS 96799


LDS‐Pavaiai 2Nd Ward‐Pago West Stake
Aloha Council, Bsa 104
P.O. Box 3698
Pago Pago, AS 96799


LDS‐Pawhuska
Cherokee Area Council 469 469
P.O. Box 932
Pawhuska, OK 74056


LDS‐Peachwood Ward/S L Granger Stake
Great Salt Lake Council 590
3963 Peachwood Dr
West Valley, UT 84119


LDS‐Peak View Ward‐Flagstaff Az West Stk
Grand Canyon Council 010
625 E Cherry Ave
Flagstaff, AZ 86001


LDS‐Pearl City 2Nd Ward‐Waipahu Stake
Aloha Council, Bsa 104
1716 Noelani St
Pearl City, HI 96782


Lds‐Pearl Harbor
Hickam Ward‐Honolulu West Stake
Aloha Council, Bsa 104
99‐641 Pohue St
Aiea, Hi 96701


LDS‐Pecan Creek 1St Ward‐Qc Az East Stk
Grand Canyon Council 010
2559 E Combs Rd
Queen Creek, AZ 85140


LDS‐Pecan Creek 2Nd Ward‐Qc Az East Stk
Grand Canyon Council 010
39097 N Zampino St
San Tan Valley, AZ 85140


LDS‐Pecan Creek 3Rd Ward‐Qc Az East Stk
Grand Canyon Council 010
784 E Harold Dr
San Tan Valley, AZ 85140


LDS‐Pecan Grove Ward‐Qc Az East Stk
Grand Canyon Council 010
2559 E Combs Rd
San Tan Valley, AZ 85140


LDS‐Pecan Ranch Ward‐Qc Az East Stk
Grand Canyon Council 010
1150 W Combs Rd
Queen Creek, AZ 85140


Lds‐Pecos Park Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
2958 S Recker Rd
Gilbert, Az 85295


Lds‐Pembroke Ward
Fayetteville Nc West Stake
Cape Fear Council 425
1009 Old Main Rd
Pembroke, Nc 28372


LDS‐Penasquitos ‐ Mira Mesa 2Nd Ward
San Diego Imperial Council 049
11023 Pegasus Ave
San Diego, CA 92126


LDS‐Penasquitos ‐ Penasquitos 1St Ward
San Diego Imperial Council 049
14191 Camino Del Sur
San Diego, CA 92129


LDS‐Penasquitos ‐ Penasquitos 2Nd Ward
San Diego Imperial Council 049
12835 Black Mountain Rd
San Diego, CA 92129


LDS‐Penasquitos ‐ Penasquitos 3Rd Ward
San Diego Imperial Council 049
14191 Camino Del Sur
San Diego, CA 92129


LDS‐Penasquitos ‐ Rancho Bernardo Ward
San Diego Imperial Council 049
15705 Pomerado Rd
San Diego, CA 92064


LDS‐Penasquitos ‐ Scripps Ranch 1St Ward
San Diego Imperial Council 049
11023 Pegasus Ave
San Diego, CA 92126


LDS‐Penasquitos ‐ Scripps Ranch 2Nd Ward
San Diego Imperial Council 049
12835 Black Mountain Rd
San Diego, CA 92129


LDS‐Pendleton 1St Ward‐Walla Walla Stake
Blue Mountain Council 604
601 NW 12th St
Pendleton, OR 97801


LDS‐Pendleton 2Nd Ward‐Walla Walla Stake
Blue Mountain Council 604
601 NW 12th St
Pendleton, OR 97801
LDS‐Peoa Ward/Kamas Ut Stk
Great Salt Lake Council 590
1224 W State Rd 32
Oakley, UT 84055


LDS‐Peoria Ward‐Peoria Az Stk
Grand Canyon Council 010
10877 N 77th Ave
Peoria, AZ 85345


LDS‐Peralta Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2252 W Mesquite St
Chandler, AZ 85224


Lds‐Perkensville Ward‐Prescott Valley Az
Stk
Grand Canyon Council 010
P.O. Box 3432
Chino Valley, Az 86323


LDS‐Perris Ward‐Menifee Stake
California Inland Empire Council 045
225 Mildred St
Perris, CA 92571


LDS‐Perry 10Th Ward/Perry Stake
Trapper Trails 589
335 W 2000 S
Perry, UT 84302


LDS‐Perrysburg Ward‐Toledo Stake
Erie Shores Council 460
11050 Ave Rd
Perrysburg, OH 43551


Lds‐Peruvian Park Ward
Sandy Ut Canyon View Stk
Great Salt Lake Council 590
1475 E 8600 S
Sandy, Ut 84093
Lds‐Pesega Samoan Ward
Kearns Ut East Stk
Great Salt Lake Council 590
4605 Wpoint Dr
West Valley, Ut 84120


LDS‐Peters Canyon Ward‐Orange Stake
Orange County Council 039
12162 Skyway Dr
Santa Ana, CA 92705


LDS‐Petersburg Branch‐Juneau Stake
Great Alaska Council 610
P.O. Box 1421
Petersburg, AK 99833


Lds‐Petrified Forest Ward‐Holbrook Az
Stk
Grand Canyon Council 010
1127 Helen Ave
Holbrook, Az 86025


LDS‐Pheasant Brooke Ward/S L Hunter Stk
Great Salt Lake Council 590
3737 S 5600 W.
West Valley City, UT 84120


Lds‐Pheasant Point Ward
Riverton Utah South Stake
Great Salt Lake Council 590
3113 W 13400 S
Riverton, Ut 84065


LDS‐Pheasant Ward/Centerville Ut Stk
Great Salt Lake Council 590
610 No. Rowland Way
Centerville, UT 84014


LDS‐Phelan Ward‐Victorville Stake
California Inland Empire Council 045
P.O. Box 720936
8889 Sheep Creek Rd
Pinon Hills, CA 92372


Lds‐Picket Lane Ward
Stansbury Park Ut South Stk
Great Salt Lake Council 590
240 Interlochen Ln
Stansbury Park, Ut 84074


LDS‐Pima 1St Ward‐Pima Stake
Grand Canyon Council 010
P.O. Box 3
Pima, AZ 85543


LDS‐Pima 2Nd Ward‐Pima Stake
Grand Canyon Council 010
6656 W Central Rd
Central, AZ 85531


LDS‐Pima 3Rd Ward‐Pima Stake
Grand Canyon Council 010
341 W 450 S
Pima, AZ 85543


LDS‐Pima 4Th Ward‐Pima Stake
Grand Canyon Council 010
490 W 200 N
Pima, AZ 85543


LDS‐Pine Valley Branch‐La Grande Stake
Blue Mountain Council 604
46568 Cornucopia Hwy
Halfway, OR 97834


Lds‐Pineae Gardens Ward
Centerville Utah Stake
Great Salt Lake Council 590
690 N 400 W
Centerville, Ut 84014


Lds‐Pinecrest Ward
Sandy Ut Lone Peak Stk
Great Salt Lake Council 590
2080 Pinecrest Ln
Sandy, Ut 84092


LDS‐Pinedale Ward‐Silver Creek Az Stk
Grand Canyon Council 010
1220 E Deuce of Clubs
Show Low, AZ 85901


LDS‐Pinehurst Ward/Sandy Ut East Stk
Great Salt Lake Council 590
9636 S 1700 E
Sandy, UT 84092


LDS‐Pines Ward
South Florida Council 084
18550 Johnson St
Pembroke Pines, FL 33029


Lds‐Pinnacle Peak Ward‐Peoria Az
North Stk
Grand Canyon Council 010
7935 W Emory Ln
Peoria, Az 85383


Lds‐Pinnacle Peak Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
38008 N Basin Rd
Cave Creek, Az 85331


Lds‐Pinnacle Vista Ward‐Phoenix Az
Desert Hills Stk
Grand Canyon Council 010
3527 W Happy Valley Rd
Glendale, Az 85310


Lds‐Pioneer 1St Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
13400 S 6000 W
Herriman, Ut 84096
Lds‐Pioneer 2Nd Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
12682 S Starlite Hill
Herriman, Ut 84096


Lds‐Pioneer 3Rd Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
12682 Starlite Hill Lane
Herriman, Ut 84096


Lds‐Pioneer 4Th Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
12682 S Starlite Hills Lane
Herriman, Ut 84096


Lds‐Pioneer 5Th Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
13375 S 6000 W
Herriman, Ut 84096


Lds‐Pioneer 6Th Ward
Herriman Ut Pioneer Stk
Great Salt Lake Council 590
14172 S Emmeline Dr
Herriman, Ut 84096


Lds‐Pioneer 7Th Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
14172 Emmeline Dr
Herriman, Ut 84096


Lds‐Pioneer 8Th Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
14172 S Emmeline Dr
Herriman, Ut 84096
Lds‐Pioneer 9Th Ward
Herriman Utah Pioneer Stake
Great Salt Lake Council 590
6449 W Muzzle Loader Dr
Herriman, Ut 84096


LDS‐Pioneer Hill Ward‐Moscow Idaho Stake
Inland Nwest Council 611
1055 NE Orchard Dr
Pullman, WA 99163


LDS‐Pioneer Peak Ward‐Palmer Stake
Great Alaska Council 610
14955 E Peppertree Ln
Palmer, AK 99645


Lds‐Pioneer Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
660 N Redwood Rd
Salt Lake City, Ut 84116


LDS‐Pioneer Ward/Sandy Ut West Stk
Great Salt Lake Council 590
8650 S 220 E
Sandy, UT 84070


Lds‐Pioneer Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
2700 E Guadalupe Rd
Gilbert, Az 85234


LDS‐Pioneer Ward‐Mesa Az Stk
Grand Canyon Council 010
1050 S Hobson
Mesa, AZ 85204


LDS‐Pioneer Ward‐Redlands Stake
California Inland Empire Council 045
1021 E Pioneer Ave
Redlands, CA 92374
LDS‐Piqua Ward‐Dayton, Oh
Miami Valley Council, Bsa 444
475 W Loy Rd
Piqua, OH 45356


LDS‐Pittsburg 2Nd Ward‐Antioch Stake
Mt Diablo‐Silverado Council 023
2201 Golf Club Rd
Pittsburg, CA 94565


LDS‐Pittsburg 3Rd Ward‐Oakland East St
Mt Diablo‐Silverado Council 023
27 San Carlos Pl
Pittsburg, CA 94565


LDS‐Pittsburg Ward‐Joplin Stake
Ozark Trails Council 306
1507 S Rouse St
Pittsburg, KS 66762


LDS‐Placentia Ward‐Placentia Stake
Orange County Council 039
210 Livingston Ave
Placentia, CA 92870


Lds‐Placid Rose Ward
Herriman Utah South Stake
Great Salt Lake Council 590
14868 Juniper Crest Rd
Herriman, Ut 84096


LDS‐Plantation Ward
South Florida Council 084
851 NW 112th Ave
Plantation, FL 33325


Lds‐Pleasant 1St Ward‐Chandler Az
West Stk
Grand Canyon Council 010
1950 W Galveston
Chandler, Az 85224
Lds‐Pleasant 2Nd Ward‐Chandler Az
West Stk
Grand Canyon Council 010
1352 W Cardinal Way
Chandler, Az 85286


Lds‐Pleasant 3Rd Ward‐Chandler Az
West Stk
Grand Canyon Council 010
2981 S Iowa St
Chandler, Az 85286


LDS‐Pleasant Green 1St Ward/Magna Ut Stk
Great Salt Lake Council 590
8739 W 3000 S
Magna, UT 84044


LDS‐Pleasant Green 3Rd Ward/Magna Ut Stk
Great Salt Lake Council 590
8739 W 3000 S
Magna, UT 84044


LDS‐Pleasant Green 4Th Ward/Magna Ut Stk
Great Salt Lake Council 590
3610 S 8400 W
Magna, UT 84044


LDS‐Pleasant Hill 1St Ward‐Oakland Stake
Mt Diablo‐Silverado Council 023
555 Boyd Rd
Pleasant Hill, CA 94523


LDS‐Pleasant Hill 2Nd Ward‐Concord Stake
Mt Diablo‐Silverado Council 023
555 Boyd Rd
Pleasant Hill, CA 94523


Lds‐Pleasant Valley Ward‐Peoria Az
North Stk
Grand Canyon Council 010
9543 W Jomax Rd
Peoria, Az 85383
Lds‐Pleasant View Ward
Huntington Beach Stake
Orange County Council 039
19191 17Th St
Huntington Beach, Ca 92648


LDS‐Pleasanton 1St Ward‐Pleasanton Stake
San Francisco Bay Area Council 028
6100 Paseo Santa Cruz
Pleasanton, CA 94566


LDS‐Pleasanton 2Nd Ward‐Pleasanton Stake
San Francisco Bay Area Council 028
3574 Vineyard Ave
Pleasanton, CA 94566


LDS‐Pleasanton 3Rd Ward‐Pleasanton Stake
San Francisco Bay Area Council 028
3574 Vineyard Ave
Pleasanton, CA 94566


LDS‐Pleasanton 4Th Ward‐Pleasanton Stake
San Francisco Bay Area Council 028
6101 Valley Ave
Pleasanton, CA 94566


LDS‐Pleasanton Ward‐East Stake
Alamo Area Council 583
636 Oakhaven Rd
Pleasanton, TX 78064


Lds‐Plum Creek Ward
W J Ut Bingham Creek Stk
Great Salt Lake Council 590
1465 Bristol Ridge Rd
West Jordan, Ut 84088


LDS‐Plymouth Ward/Fielding Stake
Trapper Trails 589
20023 N 5100 W
P.O. Box 176
Plymouth, UT 84330


LDS‐Plymouth Ward‐South Bend Stake
Lasalle Council 165
9645 Deer Trl
Plymouth, IN 46563


LDS‐Poinsettia Ward‐Mesa Az Stk
Grand Canyon Council 010
1050 S Hobson
Mesa, AZ 85204


Lds‐Point 22 Ward‐Mesa Az
Eastmark Stk‐Agave
Grand Canyon Council 010
10725 E Point Twenty Two Blvd
Mesa, Az 85209


LDS‐Pole Canyon Ward/Erda Utah Stake
Great Salt Lake Council 590
4306 Elk Ln
Erda, UT 84074


LDS‐Ponderosa Ward/Erda Utah Stake
Great Salt Lake Council 590
240 Interlochen Ln
Stansbury Park, UT 84074


LDS‐Ponderosa Ward‐Payson Az Stk
Grand Canyon Council 010
277 W Round Valley Rd
Payson, AZ 85541


Lds‐Poplar Bluff Ward
Cape Girardeau Stake
Greater St Louis Area Council 312
2414 Katy Ln
Poplar Bluff, Mo 63901


LDS‐Poplar Bluff Ward‐Poplar Bluff Stake
Greater St Louis Area Council 312
2401 Katy Lane
Poplar Bluff, MO 63901


LDS‐Poplar Grove Ward/S L Pioneer Stk
Great Salt Lake Council 590
1401 W 700 S
Salt Lake City, UT 84104


LDS‐Port Saint Lucie Ward
Gulf Stream Council 085
1683 SW Realty St
Port Saint Lucie, FL 34987


Lds‐Porter Lane 1St Ward
Cntrvll Ut South Stk
Great Salt Lake Council 590
436 W Porter Ln
Centerville, Ut 84014


Lds‐Porter Lane 2Nd Ward
Centerville Ut South Stk
Great Salt Lake Council 590
436 W Porter Ln
Centerville, Ut 84014


Lds‐Porter Lane 3Rd Ward
Centerville Ut South Stake
Great Salt Lake Council 590
436 W Porter Ln
Centerville, Ut 84014


LDS‐Porter Park Ward‐Mesa Az North Stk
Grand Canyon Council 010
1852 N Stapley Dr
Mesa, AZ 85203


Lds‐Porter Way Ward
Stansbury Park Ut Stake
Great Salt Lake Council 590
6563 Sky Heights Dr
Stansbury Park, Ut 84074


LDS‐Portsmouth Ward, Chesapeake Stake
Tidewater Council 596
1115 Cherokee Rd
Portsmouth, VA 23701


LDS‐Potomac Crossing Ashburn Stake
National Capital Area Council 082
801 Balls Bluff Rd Ne
Leesburg, VA 20176


LDS‐Poway ‐ Del Norte Ward
San Diego Imperial Council 049
15750 Bernardo Hts Pkwy
San Diego, CA 92128


LDS‐Poway ‐ Del Sur Ward
San Diego Imperial Council 049
14191 Camino Del Sur
San Diego, CA 92129


LDS‐Poway ‐ Green Valley Ward
San Diego Imperial Council 049
15705 Pomerado Rd
Poway, CA 92064


LDS‐Poway ‐ Highland Valley Ward
San Diego Imperial Council 049
527 9th St
Ramona, CA 92065


LDS‐Poway ‐ Ramona Oaks Ward
San Diego Imperial Council 049
527 9th St
Ramona, CA 92065


LDS‐Poway ‐ Ramona Ward
San Diego Imperial Council 049
527 9th St
Ramona, CA 92065


LDS‐Poway ‐ Sabre Springs Ward
San Diego Imperial Council 049
15705 Pomerado Rd
Poway, CA 92064


LDS‐Poway ‐ Twin Peaks Ward
San Diego Imperial Council 049
14211 Twin Peaks Rd
Poway, CA 92064


LDS‐Poway‐ Lake Poway Ward
San Diego Imperial Council 049
14211 Twin Peaks Rd
Poway, CA 92064


LDS‐Poway Stake‐Lake Hodges
San Diego Imperial Council 049
15750 Bernardo Heights Pkwy
San Diego, CA 92128


LDS‐Poway‐Lake Hodges Ward
San Diego Imperial Council 049
15705 Pomerado Rd
Poway, CA 92064


Lds‐Power Ranch 1St Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
4170 S Ranch House Pkwy
Gilbert, Az 85297


Lds‐Power Ranch 2Nd Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
4170 S Ranch House Pkwy
Gilbert, Az 85297


Lds‐Power Ranch 3Rd Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
4741 E Timberline Rd
Gilbert, Az 85297


LDS‐Prado View Ward‐Corona Stake
California Inland Empire Council 045
1290 W Ontario Ave
Corona, CA 92882


Lds‐Prairie 10Th Ward
W J Ut Prairie Stake
Great Salt Lake Council 590
4986 W 7770 S
West Jordan, Ut 84081


LDS‐Prairie 13Th Ward/W J Ut Prairie Stk
Great Salt Lake Council 590
7337 S Grizzley Way
West Jordan, UT 84081


LDS‐Prairie 1St Ward/W J Ut Prairie Stk
Great Salt Lake Council 590
5360 W 7000 S
West Jordan, UT 84081


LDS‐Prairie 4Th Ward/W J Ut Prairie Stk
Great Salt Lake Council 590
6824 S Cyclamen Dr
West Jordan, UT 84081


LDS‐Prairie 7Th Ward/W J Ut Prairie Stk
Great Salt Lake Council 590
5154 W 7000 S
West Jordan, UT 84081


LDS‐Prairie 8Th Ward/W J Ut Prairie Stk
Great Salt Lake Council 590
7337 S 5150 W
West Jordan, UT 84081


LDS‐Pratt Branch‐Wichita Kansas Stake
Quivira Council, Bsa 198
1108 Stout St
Pratt, KS 67124


Lds‐Prescott Heights Ward‐Prescott Az
Stk
Grand Canyon Council 010
1001 Ruth St
Prescott, Az 86301


LDS‐Prestbury Ward‐Naperville Stake
Three Fires Council 127
100 Hankes Rd
Sugar Grove, IL 60554


Lds‐Preston Ward‐Mesa Az
Red Mountain Stk
Grand Canyon Council 010
3015 N Ravine
Mesa, Az 85215


LDS‐Pride Ward‐Denham Springs Stake
Istrouma Area Council 211
16135 Milldale Rd
Zachary, LA 70791


LDS‐Princeton Ward
Central Minnesota 296
1107 Maplewood Ave Sw
Isanti, MN 55040


LDS‐Princeton Ward/Sl Monument Pk Stk
Great Salt Lake Council 590
1005 S 2000 E
Salt Lake City, UT 84108


LDS‐Prospect Ward‐Redlands Stake
California Inland Empire Council 045
350 S Wabash Ave
Redlands, CA 92374


LDS‐Prosser Ward‐West Richland Stake
Blue Mountain Council 604
1835 Highland Dr
Prosser, WA 99350


Lds‐Providence Point Ward
Herriman Ut South Stk
Great Salt Lake Council 590
14550 S Juniper Crest
Herriman, Ut 84096


LDS‐Pryor Ward‐Tulsa Ok East Stake
Indian Nations Council 488
1212 NE 3Rd
Pryor, OK 74361


LDS‐Pueblo Ward‐Mesa Az Skyline Stk
Grand Canyon Council 010
10305 E Sern Ave
Mesa, AZ 85208


Lds‐Puyallup S Hill Stake‐Bradley Lake
Pacific Harbors Council, Bsa 612
12407 Military Rd E
Puyallup, Wa 98374


Lds‐Puyallup S Hill Stake‐Gem Heights
Pacific Harbors Council, Bsa 612
13420 94Th Ave E
Puyallup, Wa 98373


Lds‐Puyallup S Hill Stake‐Pioneer Vly
Pacific Harbors Council, Bsa 612
8615 176Th St E
Puyallup, Wa 98373


Lds‐Puyallup S Hill Stake‐Silver Creek
Pacific Harbors Council, Bsa 612
8615 176Th St E
Puyallup, Wa 98375


LDS‐Puyallup South Hill Stake‐Manorwood
Pacific Harbors Council, Bsa 612
12047 Military Rd E
Puyallup, WA 98374


LDS‐Puyallup South Hill Stake‐South Hill
Pacific Harbors Council, Bsa 612
13420 94th Ave E
Puyallup, WA 98373
LDS‐Puyallup South Hill Stake‐Woodland
Pacific Harbors Council, Bsa 612
13420 94th Ave E
Puyallup, WA 98373


LDS‐Puyallup Stake‐Bonney Lake
Pacific Harbors Council, Bsa 612
11214 214th Ave E
Bonney Lake, WA 98391


LDS‐Puyallup Stake‐Clarks Creek
Pacific Harbors Council, Bsa 612
1015 13th St Ct Nw
Puyallup, WA 98371


LDS‐Puyallup Stake‐Lake Tapps
Pacific Harbors Council, Bsa 612
11214 214th Ave E
Bonney Lake, WA 98390


LDS‐Puyallup Stake‐North Tapps Ward
Pacific Harbors Council, Bsa 612
512 Valley Ave E
Sumner, WA 98390


LDS‐Puyallup Stake‐Puyallup
Pacific Harbors Council, Bsa 612
512 Valley Ave E
Sumner, WA 98390


LDS‐Puyallup Stake‐Sumner
Pacific Harbors Council, Bsa 612
512 Valley Ave E
Sumner, WA 98390


LDS‐Puyallup Stake‐Surprise Lake
Pacific Harbors Council, Bsa 612
1013 13th St Ct Nw
Puyallup, WA 98371
LDS‐Quail Creek Ward‐Qc Az North Stk
Grand Canyon Council 010
19685 E Thornton Rd
Queen Creek, AZ 85142


Lds‐Quail Crossing Ward
Frmngtn Utah West Stk
Great Salt Lake Council 590
905 Foxhunter Dr
Farmington, Ut 84025


Lds‐Quail Flight Ward
Farmington Ut. North Stake
Great Salt Lake Council 590
850 N Compton Rd
Farmington, Ut 84025


Lds‐Quail Hollow Ward
Sandy Ut Granite Stk
Great Salt Lake Council 590
9245 S Quail Run Dr
Sandy, Ut 84093


Lds‐Quail Ridge Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
12120 S 1300 W
Riverton, Ut 84065


LDS‐Queen Creek Ward‐Qc Az Stk
Grand Canyon Council 010
21915 E Cloud Rd
Queen Creek, AZ 85142


LDS‐Queens Park Ward‐Qc Az North Stk
Grand Canyon Council 010
8757 E Woodland Ave
Mesa, AZ 85212


LDS‐Rabbit Creek Ward‐Anchorage Stake
Great Alaska Council 610
13111 Brayton Dr
Anchorage, AK 99516
Lds‐Rainbow Lake Ward‐White Mountain Az
Stk
Grand Canyon Council 010
1520 Church Ln
Lakeside, Az 85929


LDS‐Ramona Branch‐Hemet Stake
California Inland Empire Council 045
198 Caldera Ln
Hemet, CA 92545


LDS‐Ramsey Park Ward‐Eagar Az Stk
Grand Canyon Council 010
P.O. Box 1873
Eagar, AZ 85925


Lds‐Ranch Creek Ward
Bartlesville Ok Stake
Indian Nations Council 488
9300 N 129Th E Ave
Owasso, Ok 74055


LDS‐Ranch Ward‐Qc Az North Stk
Grand Canyon Council 010
22035 E Ocotillo Rd
Queen Creek, AZ 85142


LDS‐Ranchero Ward‐Hesperia Stake
California Inland Empire Council 045
10862 Maple Ave
Hesperia, CA 92345


Lds‐Rancho CA Ward‐Temecula Stake
California Inland Empire Council 045
32374 Pauba Rd
Temecula, Ca 92592


LDS‐Rancho Park Ward‐Ontario Stake
California Inland Empire Council 045
522 W Francis St
Ontario, CA 91762
LDS‐Rancho Reata Ward‐Kennewick Stake
Blue Mountain Council 604
10376 Ridgeline Dr
Kennewick, WA 99338


LDS‐Rancho Sereno Ward‐Yuma Az Stk
Grand Canyon Council 010
4300 W 16th St
Yuma, AZ 85364


LDS‐Rancho Ward‐S B Stake
California Inland Empire Council 045
1244 Pacific Ave
San Bernardino, CA 92404


LDS‐Ranchos Ward‐Apple Valley Stake
California Inland Empire Council 045
12242 Navajo Rd
Apple Valley, CA 92308


LDS‐Randall Ward‐Fontana Stake
California Inland Empire Council 045
10654 Juniper Ave
Fontana, CA 92337


LDS‐Randolph Ward‐Cibolo Valley Stake
Alamo Area Council 583
13201 Forum Rd
Universal City, TX 78148


Lds‐Rattlesnake Mtn Ward
W Richland Stake
Blue Mountain Council 604
230 Krough Rd
Prosser, Wa 99350


LDS‐Ray 1St Ward‐Chandler Az Stk
Grand Canyon Council 010
1155 W Ray Rd
Chandler, AZ 85224
LDS‐Ray 2Nd Ward‐Chandler Az Stk
Grand Canyon Council 010
1155 W Ray Rd
Chandler, AZ 85225


LDS‐Ray 3Rd Ward‐Chandler Az Stk
Grand Canyon Council 010
1115 W Ray Rd
Chandler, AZ 85224


LDS‐Ray Ward‐Gilbert Az Greenfield Stk
Grand Canyon Council 010
1520 S Catalina
Gilbert, AZ 85234


LDS‐Raymond Ward‐Santa Ana So Stake
Orange County Council 039
801 N Raymond Ave
Fullerton, CA 92831


LDS‐Reading Ward/Cntrvll Ut North Stk
Great Salt Lake Council 590
1461 N Main St
Centerville, UT 84014


LDS‐Red Hill Ward‐Orange Stake
Orange County Council 039
1800 San Juan St
Tustin, CA 92780


Lds‐Red Mountain Ward‐Mesa Az
Red Mountain Stk
Grand Canyon Council 010
6655 E Preston Rd
Mesa, Az 85215


Lds‐Redfield Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
4629 E Guadalupe Rd
Gilbert, Az 85234
LDS‐Redhawk Ward‐Temecula Stake
California Inland Empire Council 045
44650 Lapaz Rd
Temecula, CA 92592


LDS‐Redhill Ward‐Rancho Cucamonga Stake
California Inland Empire Council 045
9075 Baseline Rd
Rancho Cucamonga, CA 91730


LDS‐Redwood Ward/Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
12070 Laurel Chase Dr
Riverton, UT 84065


Lds‐Remington Heights Ward‐Qc Az
North Stk
Grand Canyon Council 010
19857 E Raven Dr
Queen Creek, Az 85142


Lds‐Republic Ward‐Spgfield S Stake
Ozark Trails Council 306
1405 S Appomattox Ave
Republic, Mo 65738


LDS‐Rhodes Valley Ward/Kamas Ut Stk
Great Salt Lake Council 590
3038 N State Rd 32
Kamas, UT 84036


LDS‐Rialto 1St Ward‐Rialto Stake
California Inland Empire Council 045
2151 W Rialto Ave
San Bernardino, CA 92410


LDS‐Rialto 2Nd Ward‐Rialto Stake
California Inland Empire Council 045
1420 W Randall Ave
Bloomington, CA 92316
LDS‐Richards Ward/S L Granite Stake
Great Salt Lake Council 590
860 Downington Ave
Salt Lake City, UT 84105


LDS‐Richmond 1St Ward‐Concord Stake
Mt Diablo‐Silverado Council 023
330 Carlston St
Richmond, CA 94805


LDS‐Richmond 2Nd Ward‐Concord Stake
Mt Diablo‐Silverado Council 023
4351 Hilltop Dr
El Sobrante, CA 94803


LDS‐Richmond Ward‐Lexington Stake
Blue Grass Council 204
201 S Keenland Dr
Richmond, KY 40475


Lds‐Ricks Creek Ward
Cntrvll Ut North Stk
Great Salt Lake Council 590
1451 N Main St
Centerville, Ut 84014


Lds‐Ridge Top Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
820 Eaglepointe Dr
North Salt Lake, Ut 84054


LDS‐Ridge Ward‐Mesa Az Lehi Stk
Grand Canyon Council 010
2220 N Harris Dr
Mesa, AZ 85203


Lds‐Ridgecreek Ward
Murray Utah South Stk
Great Salt Lake Council 590
5735 S Fashion Blvd
Murray, Ut 84107
LDS‐Ridgecrest Ward/Bennion Ut West Stk
Great Salt Lake Council 590
3555 W 5620 S
Taylorsville, UT 84129


LDS‐Ridgedale Ward/S L Grant Stk
Great Salt Lake Council 590
3400 S 1100 E
Salt Lake City, UT 84106


Lds‐Ridgeland Acres Ward
S L Granger North Stk
Great Salt Lake Council 590
3175 S 3450 W
West Valley City, Ut 84119


LDS‐Ridgeland Ward/S L Granger South Stk
Great Salt Lake Council 590
4251 S 4800 W
Salt Lake City, UT 84120


LDS‐Ridgeline Ward‐Kennewick Stake
Blue Mountain Council 604
8120 W 4th Ave
Kennewick, WA 99336


LDS‐Ridgepoint Ward‐Derby Stake
Quivira Council, Bsa 198
2300 N Buckner St
Derby, KS 67037


LDS‐Ridgeview Ward‐Kennewick Stake
Blue Mountain Council 604
8120 W 4th Ave
Kennewick, WA 99336


LDS‐Riggs Ward‐Qc Az Stk
Grand Canyon Council 010
21915 E Cloud Rd
Queen Creek, AZ 85142
LDS‐Rio Vista Branch‐Fairfield Stake
Mt Diablo‐Silverado Council 023
P.O. Box 568
Rio Vista, CA 94571


LDS‐Rising Sun Ward‐Wilmington De Stake
Del Mar Va 081
196 Quail Dr
Lincoln University, PA 19352


LDS‐Rittenhouse Ward‐Qc Az North Stk
Grand Canyon Council 010
22035 E Ocotillo Rd
Queen Creek, AZ 85142


LDS‐River 10Th Ward/S J Ut River Stk
Great Salt Lake Council 590
1570 W 11400 S
South Jordan, UT 84095


Lds‐River 11Th Ward
South Jordan Utah River Stake
Great Salt Lake Council 590
1570 W 11400 S
South Jordan, Ut 84095


LDS‐River 1St Ward/S J Ut River Stk
Great Salt Lake Council 590
1229 W 10775 S
South Jordan, UT 84095


LDS‐River 1St Ward/W J Ut River Stk
Great Salt Lake Council 590
7150 Callie Dr
West Jordan, UT 84084


LDS‐River 2Nd Ward/S J Ut River Stk
Great Salt Lake Council 590
1540 W S Jordan Pkwy
South Jordan, UT 84095


LDS‐River 2Nd Ward/W J Ut River Stk
Great Salt Lake Council 590
1380 W 6785 S
West Jordan, UT 84084


LDS‐River 3Rd Ward/S J Ut River Stk
Great Salt Lake Council 590
1540 W S Jordan Pkwy
South Jordan, UT 84095


LDS‐River 3Rd Ward/W J Ut River Stk
Great Salt Lake Council 590
7642 S Kings Bridge Dr
West Jordan, UT 84084


LDS‐River 4Th Ward/S J Ut River Stk
Great Salt Lake Council 590
1239 Country Creek Dr
South Jordan, UT 84095


LDS‐River 4Th Ward/W J Ut River Stk
Great Salt Lake Council 590
1380 W 6785 S
West Jordan, UT 84084


LDS‐River 5Th Ward/S J Ut River Stk
Great Salt Lake Council 590
1570 W 11400 S
South Jordan, UT 84095


LDS‐River 5Th Ward/W J Ut River Stk
Great Salt Lake Council 590
1380 W 6785 S
West Jordan, UT 84084


LDS‐River 6Th Ward/S J Ut River Stk
Great Salt Lake Council 590
1570 W 11400 S
South Jordan, UT 84095


LDS‐River 6Th Ward/W J Ut River Stk
Great Salt Lake Council 590
7400 S 1300 W
West Jordan, UT 84084


LDS‐River 7Th Ward/S J Ut River Stk
Great Salt Lake Council 590
1570 W 11400 S
South Jordan, UT 84095


LDS‐River 7Th Ward/W J Ut River Stk
Great Salt Lake Council 590
7400 S 1300 W
West Jordan, UT 84084


LDS‐River 8Th Ward/S J Ut River Stk
Great Salt Lake Council 590
1239 Country Creek Dr
South Jordan, UT 84095


LDS‐River 8Th Ward/W J Ut River Stk
Great Salt Lake Council 590
7400 S 1300 W
West Jordan, UT 84084


Lds‐River 9Th Branch Sp
Wj Ut East Stake
Great Salt Lake Council 590
7600 S 1899 W
West Jordan, Ut 84084


LDS‐River 9Th Ward/S J Ut River Stk
Great Salt Lake Council 590
11473 Chapel View Dr
South Jordan, UT 84095


LDS‐River Heights Ward‐Jurupa Stake
California Inland Empire Council 045
5950 Serendipity Rd
Riverside, CA 92509


Lds‐River Oaks 1St Ward
W J Ut River Oaks Stk
Great Salt Lake Council 590
8825 S 1095 W
West Jordan, Ut 84088


Lds‐River Oaks 2Nd Ward
W J Ut River Oaks Stk
Great Salt Lake Council 590
8825 S 1095 W
West Jordan, Ut 84088


Lds‐River Oaks 3Rd Ward
W J Ut River Oaks Stk
Great Salt Lake Council 590
8825 S 1095 W
West Jordan, Ut 84088


Lds‐River Oaks 4Th Ward
W J Ut River Oaks Stk
Great Salt Lake Council 590
8950 S 1300 W
West Jordan, Ut 84088


Lds‐River Oaks 5Th Ward
W J Ut River Oaks Stk
Great Salt Lake Council 590
8950 S 1300 W
West Jordan, Ut 84088


Lds‐River Oaks 6Th Ward
W J Ut River Oaks Stk
Great Salt Lake Council 590
8950 S 1300 W
West Jordan, Ut 84088


Lds‐River Ridge 10Th Watrd
Sj Utah River Ridge Stake
Great Salt Lake Council 590
1409 W Shields Lane
South Jordan, Ut 84095


Lds‐River Ridge 11Th Ward
Sj Utah River Ridge Stake
Great Salt Lake Council 590
10168 S 1000 W
South Jordan, Ut 84095
Lds‐River Ridge 1St Ward
S J Ut River Ridge Stk
Great Salt Lake Council 590
10124 S 1300 W
South Jordan, Ut 84095


Lds‐River Ridge 2Nd Ward
S J Ut River Ridge Stk
Great Salt Lake Council 590
10194 S 1050 W
South Jordan, Ut 84095


Lds‐River Ridge 3Rd Ward
S J Ut River Ridge Stk
Great Salt Lake Council 590
1244 Chavez Dr
South Jordan, Ut 84095


Lds‐River Ridge 4Th Ward
S J Ut River Ridge Stk
Great Salt Lake Council 590
1244 Chavez Dr
South Jordan, Ut 84095


Lds‐River Ridge 5Th Ward
S J Ut River Ridge Stk
Great Salt Lake Council 590
10168 S 1100 W
South Jordan, Ut 84095


Lds‐River Ridge 6Th Ward
S J Ut River Ridge Stk
Great Salt Lake Council 590
10200 S Temple Dr
South Jordan, Ut 84095


Lds‐River Ridge 7Th Ward
Sj Ut River Ridge Stk
Great Salt Lake Council 590
525 Foothill Blvd
Salt Lake City, Ut 84113
Lds‐River Ridge 9Th Ward
Sj Ut River Ridge Stk
Great Salt Lake Council 590
1597 W Palmer Park Ln
South Jordan, Ut 84095


LDS‐River Rose Ward/Herriman Stake
Great Salt Lake Council 590
13375 S 6000 W
Herriman, UT 84096


Lds‐River View 10Th Ward
Draper Utah River View Stake
Great Salt Lake Council 590
12101 So 700 W
Draper, Ut 84020


Lds‐River View 1St Ward
Draper Ut River View Stk
Great Salt Lake Council 590
288 W River Chapel Rd
Draper, Ut 84020


Lds‐River View 3Rd Ward
Draper Ut River View Stk
Great Salt Lake Council 590
11400 S 700 W
Draper, Ut 84020


Lds‐River View 4Th Ward
Draper Ut River View Stk
Great Salt Lake Council 590
12101 S 700 W
Draper, Ut 84020


Lds‐River View 5Th Ward
Draper Ut River View Stk
Great Salt Lake Council 590
12101 S 700 W
Draper, Ut 84020


Lds‐River View 6Th Ward
Draper Ut River View Stk
Great Salt Lake Council 590
288 River Chapel Rd
Draper, Ut 84020


Lds‐River View 7Th Ward
Draper Ut River View Stake
Great Salt Lake Council 590
11420 S 700 W
Draper, Ut 84020


Lds‐River View 8Th Ward
Draper Ut River View Stk
Great Salt Lake Council 590
287 W River Chapel Rd
Draper, Ut 84020


Lds‐River View 9Th Ward
Draper Utah River View Stake
Great Salt Lake Council 590
11420 So 700 W
Draper, Ut 84020


LDS‐River View Ward/Taylorsville Ut Stk
Great Salt Lake Council 590
4800 Woodhaven Dr
Salt Lake City, UT 84123


LDS‐Riverbend Ward/Sandy Ut West Stk
Great Salt Lake Council 590
8825 S 150 W
Sandy, UT 84070


LDS‐Riverbend Ward/Taylorsville Ut Stk
Great Salt Lake Council 590
680 W 4800 S
Salt Lake City, UT 84123


Lds‐Riverside 1St Ward
S L Riverside Stake
Great Salt Lake Council 590
1148 W 500 N
Salt Lake City, Ut 84116
Lds‐Riverside 2Nd Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
660 N Redwood Rd
Salt Lake City, Ut 84116


LDS‐Riverside Park Ward
South Florida Council 084
1100 SW 15th Ave
Fort Lauderdale, FL 33312


LDS‐Riverside Ward
South Florida Council 084
616 SW 12th Ave
Miami, FL 33130


LDS‐Riverside Ward/Murray Ut North Stk
Great Salt Lake Council 590
500 W Germania Ave
Murray, UT 84123


LDS‐Riverside Ward‐Tulsa Ok Stake
Indian Nations Council 488
3640 S New Haven Ave
Tulsa, OK 74135


Lds‐Riverton 10Th Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12830 S 2700 W
Riverton, Ut 84065


LDS‐Riverton 11Th Ward/Riverton Ut Stk
Great Salt Lake Council 590
1855 W 13400 S
Riverton, UT 84065


Lds‐Riverton 12Th Ward
Rvrtn Ut North Stk
Great Salt Lake Council 590
12459 Dansie Way
Riverton, Ut 84065


Lds‐Riverton 13Th Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12852 S 3200 W
Riverton, Ut 84065


LDS‐Riverton 14Th Ward/Riverton Ut Stk
Great Salt Lake Council 590
1454 W 13200 S
Riverton, UT 84065


Lds‐Riverton 15Th Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
12120 S 1300 W
Riverton, Ut 84065


Lds‐Riverton 16Th Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
1208 W 12400 S
Riverton, Ut 84065


Lds‐Riverton 17Th Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12852 S 3200 W
Riverton, Ut 84065


Lds‐Riverton 18Th Ward
Rvrtn Ut South Stk
Great Salt Lake Council 590
2361 W 13400 S
Riverton, Ut 84065


Lds‐Riverton 19Th Ward
Riverton Ut Wstrn Sprgs Stk
Great Salt Lake Council 590
12691 S 3600 W
Riverton, Ut 84065
LDS‐Riverton 1St Ward/Riverton Ut Stk
Great Salt Lake Council 590
1454 W 13200 S
Riverton, UT 84065


LDS‐Riverton 20Th Ward/Riverton Ut Stk
Great Salt Lake Council 590
1855 W 13400 S
Riverton, UT 84065


Lds‐Riverton 22Nd Sp Branch
Riverton Utah North Stk
Great Salt Lake Council 590
12345 So 2700 W
Riverton, Ut 84096


Lds‐Riverton 23Rd Branch Samoan
Riverton Utah Stake
Great Salt Lake Council 590
12998 S 1300 W
Riverton, Ut 84095


Lds‐Riverton 24Th Tongan Brnch
S L Ut South Tongan Stk
Great Salt Lake Council 590
4538 W 11800 S
South Jordan, Ut 84009


Lds‐Riverton 2Nd Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
1208 W 12400 S.
Riverton, Ut 84065


Lds‐Riverton 3Rd Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12852 S 3200 W
Riverton, Ut 84065


LDS‐Riverton 4Th Ward/Rvrtn Ut North Stk
Great Salt Lake Council 590
1900 W 11970 S
Riverton, UT 84065


LDS‐Riverton 5Th Ward/Riverton Ut Stk
Great Salt Lake Council 590
1855 W 13400 S
Riverton, UT 84065


LDS‐Riverton 6Th Ward/Rvrtn Ut North Stk
Great Salt Lake Council 590
12345 S 2700 W
Riverton, UT 84065


LDS‐Riverton 7Th Ward/Rvrtn Ut North Stk
Great Salt Lake Council 590
12459 Dansie Way
Riverton, UT 84065


LDS‐Riverton 8Th Ward/Rvrtn Ut North Stk
Great Salt Lake Council 590
12345 S 2700 W
Riverton, UT 84065


LDS‐Riverton 9Th Ward/Rvrtn Ut South Stk
Great Salt Lake Council 590
3113 W 13400 S
Riverton, UT 84065


Lds‐Riverton Farms Ward
Rvrtn Ut Central Stk
Great Salt Lake Council 590
12852 S 3200 W
Riverton, Ut 84065


LDS‐Riverton Park Ward/Riverton Ut Stk
Great Salt Lake Council 590
12998 S 1300 W
Riverton, UT 84065


LDS‐Riverton Ranch Ward/Riverton Ut Stk
Great Salt Lake Council 590
1500 W 13200 S
Riverton, UT 84065


LDS‐Riverview Ward/Bennion Ut East Stk
Great Salt Lake Council 590
1327 W 5550 S
Salt Lake City, UT 84123


Lds‐Riverview Ward‐Mesa Az
Maricopa North Stk
Grand Canyon Council 010
1718 N Date
Mesa, Az 85201


LDS‐Riverview Ward‐Richland Stake
Blue Mountain Council 604
1321 Jadwin Ave
Richland, WA 99354


LDS‐Riviera Ward/S L Granite Park Stk
Great Salt Lake Council 590
601 E Mansfield Ave
Salt Lake City, UT 84106


LDS‐Rock Hill Ward Charlotte South Stake
Palmetto Council 549
1883 Saluda Rd
Rock Hill, SC 29730


LDS‐Rockwood 1St Ward‐St Louis Stake
Greater St Louis Area Council 312
17132 Manchester Rd
Grover, MO 63040


LDS‐Rockwood 2Nd Ward‐St Louis Stake
Greater St Louis Area Council 312
17132 Manchester Rd
Grover, MO 63040


Lds‐Rockwood Ward
Stansbury Park Utah Stake
Great Salt Lake Council 590
417 Benson Rd
Stansbury Peak, Ut 84074


LDS‐Rocky Mount Ward
East Carolina Council 426
3224 Woodlawn Rd
Rocky Mount, NC 27804


LDS‐Rolla Ward‐St Robert Stake
Ozark Trails Council 306
693 Forum Dr
Rolla, MO 65401


Lds‐Rolling Hills Ward
Cntrvll Ut Canyon View Stk
Great Salt Lake Council 590
2110 N Main St
Centerville, Ut 84014


LDS‐Rolling Hills Ward‐Wichita Stake
Quivira Council, Bsa 198
401 N Wlink Ave
Wichita, KS 67212


LDS‐Rootstown Ward‐Youngstown Stake
Great Trail 433
2776 Hartville Rd
Rootstown, OH 44272


Lds‐Rose Canyon 10Th Ward
Herriman Ut Rose Stk
Great Salt Lake Council 590
14398 So 6400 W
Herriman, Ut 84096


Lds‐Rose Canyon 11Th Ward
Herriman Ut Rose Canyon Stk
Great Salt Lake Council 590
6869 Vista Springs Dr
Herriman, Ut 84096


Lds‐Rose Canyon 1St Ward
Herriman Ut Rose Cyn Stk
Great Salt Lake Council 590
7079 Rose Canyon Rd
Herriman, Ut 84096


Lds‐Rose Canyon 2Nd Ward
Herriman Ut Rose Cyn Stk
Great Salt Lake Council 590
13768 S 6400 W
Herriman, Ut 84096


Lds‐Rose Canyon 3Rd Ward
Herriman Ut Rose Canyon Stk
Great Salt Lake Council 590
6869 W Vista Springs Dr
Herriman, Ut 84096


Lds‐Rose Canyon 4Th Ward
Herriman Ut Rose Cyn Stk
Great Salt Lake Council 590
7079 W Rose Canyon
Herriman, Ut 84096


Lds‐Rose Canyon 5Th Ward
Herriman Ut Rose Cyn Stk
Great Salt Lake Council 590
7079 W Rose Canyon
Herriman, Ut 84096


Lds‐Rose Canyon 6Th Ward
Herriman Ut Rose Canyon Stk
Great Salt Lake Council 590
6869 W Vista Springs Dr
Herriman, Ut 84096


Lds‐Rose Canyon 7Th Ward
Herriman Ut Rose Cyn Stk
Great Salt Lake Council 590
5953 W Potterstone Cir
Herriman, Ut 84096


Lds‐Rose Canyon 8Th Ward
Herriman Ut Rose Cyn Stk
Great Salt Lake Council 590
14398 S 6400 W
Herriman, Ut 84096


Lds‐Rose Canyon 9Th Ward
Herriman Utah Rose Cyn Stk
Great Salt Lake Council 590
6869 W Vista Springs Dr
Herriman, Ut 84096


Lds‐Rose Creek Crossing Ward
Riverton Ut South Stake
Great Salt Lake Council 590
3113 W 13400 S.
Riverton, Ut 84065


Lds‐Rose Garden Ward‐Phoenix Az
Deer Valley Stk
Grand Canyon Council 010
2939 W Rose Garden Ln
Phoenix, Az 85027


LDS‐Rose Lane Ward‐Phoenix Az Stk
Grand Canyon Council 010
5038 N 38th Ave
Phoenix, AZ 85019


LDS‐Rose Park 2Nd Ward/S L Rose Park Stk
Great Salt Lake Council 590
760 N 1200 W
Salt Lake City, UT 84116


Lds‐Rose Park 5Th Ward Tongan
Salt Lake Utah Tongan Stake
Great Salt Lake Council 590
660 N Redwood Rd
Salt Lake City, Ut 84116


Lds‐Rose Park 7Th Ward
S L Rose Park North Stk
Great Salt Lake Council 590
1155 N 1200 W
Salt Lake City, Ut 84116
Lds‐Rose Park 8Th Ward
S L Rose Park North Stk
Great Salt Lake Council 590
1279 N Sonata St
Salt Lake City, Ut 84116


LDS‐Rose Park 9Th Ward/S L Rose Park Stk
Great Salt Lake Council 590
760 N 1200 W
Salt Lake City, UT 84116


Lds‐Rose Park Center Ward
S L Rose Park Stk
Great Salt Lake Council 590
874 Starcrest Dr
Salt Lake City, Ut 84116


Lds‐Rose Point Ward
Herriman Utah South Stake
Great Salt Lake Council 590
14858 Juniper Crest Rd
Herriman, Ut 84096


LDS‐Rose Springs Ward/Erda Utah Stake
Great Salt Lake Council 590
134 E Erda Way
Tooele, UT 84074


Lds‐Rose Summit Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
5524 W Rose Crest Rd
Herriman, Ut 84096


LDS‐Rose Valley Ward‐Peoria Az North Stk
Grand Canyon Council 010
22034 N 83rd Ave
Peoria, AZ 85383


Lds‐Rosecrest 1St Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
3101 S 2300 E
Salt Lake City, Ut 84109


Lds‐Rosecrest 2Nd Ward
S L Canyon Rim Stk
Great Salt Lake Council 590
3101 S 2300 E
Salt Lake City, Ut 84109


LDS‐Rosedale Ward/S L Riverside Stake
Great Salt Lake Council 590
1475 W 500 N, Apt 1
Salt Lake City, UT 84116


Lds‐Roxborough Park Ward
Tvlle Ut No Central Stk
Great Salt Lake Council 590
2976 Winchester Dr
Salt Lake City, Ut 84119


Lds‐Royal Ann Branch Sp
Salt Lake Hunter South Stk
Great Salt Lake Council 590
4322 S 5400 W
West Valley City, Ut 84120


LDS‐Royal Palm Ward‐Phoenix Az North Stk
Grand Canyon Council 010
8710 N 3rd Ave
Phoenix, AZ 85021


LDS‐Rs / Gayton Ward
Heart of Virginia Council 602
2500 Pump Rd
Gayton Ward
Richmond, VA 23233


LDS‐Rs / Glen Allen Ward
Heart of Virginia Council 602
5600 Monument Ave
Richmond, VA 23226
LDS‐Rs / Innsbrook Ward
Heart of Virginia Council 602
2500 Pump Rd
Richmond, VA 23233


LDS‐Rs / Mechanicsville Ward
Heart of Virginia Council 602
8005 Atlee Rd
Mechanicsville, VA 23111


LDS‐Rs / Mechanicsville Ward
Heart of Virginia Council 602
P.O. Box 274
Mechanicsville, VA 23111


LDS‐Rs / Scotchtown Ward
Heart of Virginia Council 602
14573 Scotchtown Rd
Montpelier, VA 23192


LDS‐Rs / Tappahannock Branch
Heart of Virginia Council 602
995 Winston Rd
Tappahannock, VA 22560


LDS‐Rs/Tappahannock
Heart of Virginia Council 602
995 Winston Rd
Tappahannock, VA 22560


LDS‐Running Springs Branch‐S B Stake
California Inland Empire Council 045
P.O. Box 845
Running Springs, CA 92382


LDS‐Rural Ward‐Tempe Az West Stk
Grand Canyon Council 010
1050 W Grove Pkwy
Tempe, AZ 85283


LDS‐Rush Valley Ward/Tooele Ut South Stk
Great Salt Lake Council 590
985 N Church St
General Delivery
Rush Valley, UT 84069


Lds‐Rushton View 1St Ward
Sj Ut Rushton View Stk
Great Salt Lake Council 590
3760 Rushton Veiw Dr
South Jordan, Ut 84095


Lds‐Rushton View 2Nd Ward
Sj Ut Rushton View Stk
Great Salt Lake Council 590
10436 S Shady Plum Way
South Jordan, Ut 84009


Lds‐Rushton View 3Rd Ward
S J Ut Rushton View Stk
Great Salt Lake Council 590
4021 W Shinnerock
South Jordan, Ut 84009


Lds‐Rushton View 4Th Ward
Sj Ut Rushton View Stk
Great Salt Lake Council 590
4021 Shinnerock Dr
South Jordan, Ut 84095


Lds‐Rushton View 5Th Ward Sp
Sj Ut Rushton View Stk
Great Salt Lake Council 590
4137 W Foxview Dr
South Jordan, Ut 84095


Lds‐Rushton View 6Th Ward
Sj Ut Rushton View Stk
Great Salt Lake Council 590
4021 W Shinnerock
South Jordan, Ut 84009


Lds‐Rushton View 7Th Ward
Sj Ut Rshtn Vw Stk
Great Salt Lake Council 590
10634 S Poppy Meadow Ln
South Jordan, Ut 84009


Lds‐Russian Jack Ward‐Anchorage N Stake
Great Alaska Council 610
2240 Baxter Rd
Anchorage, Ak 99504


Lds‐S L Valley 1St Ward Sign Lang
S L Central Stake
Great Salt Lake Council 590
6153 W Davis View Ln
West Valley City, Ut 84128


Lds‐S L Valley 2Nd Deaf Ward
Bennion Ut Stk
Great Salt Lake Council 590
6250 S 2200 W
Taylorsville, Ut 84129


LDS‐Safford 1St Ward‐Safford Stake
Grand Canyon Council 010
2249 S Stevens Ave
Solomon, AZ 85551


LDS‐Safford 2Nd Ward‐Safford Stake
Grand Canyon Council 010
303 W 20th St
Safford, AZ 85546


LDS‐Safford 3Rd Ward‐Safford Stake
Grand Canyon Council 010
501 W Catalina Dr
Safford, AZ 85546


LDS‐Safford 4Th Ward‐Safford Stake
Grand Canyon Council 010
501 W Catalina Dr
Safford, AZ 85546


LDS‐Safford 5Th Ward‐Safford Stake
Grand Canyon Council 010
501 W Catalina Dr
Safford, AZ 85546


LDS‐Safford 6Th Ward‐Safford Stake
Grand Canyon Council 010
303 W 20th St
Safford, AZ 85546


LDS‐Safford 7Th Ward‐Safford Stake
Grand Canyon Council 010
3722 S US Hwy 191
Safford, AZ 85546


LDS‐Safford 8Th Ward‐Safford Stake
Grand Canyon Council 010
3722 S US Hwy 191
Safford, AZ 85546


LDS‐Safford 9Th Ward‐Safford Stake
Grand Canyon Council 010
3722 S Hwy 191
Safford, AZ 85546


LDS‐Sage Ward/Bluffdale Utah Stake
Great Salt Lake Council 590
14296 S Black Wulff Dr
Bluffdale, UT 84065


LDS‐Sagecrest Ward/Sandy Ut Central Stk
Great Salt Lake Council 590
1280 Turquoise Way
Sandy, UT 84094


LDS‐Sahuaro Ranch Ward‐Peoria Az Stk
Grand Canyon Council 010
10877 N 77th Ave
Peoria, AZ 85345


LDS‐Saint Helena Branch‐Napa Stake
Mt Diablo‐Silverado Council 023
2222 Spring St
Saint Helena, CA 94574
LDS‐Salem Branch‐St Robert Stake
Ozark Trails Council 306
1701 W Franklin St
Salem, MO 65560


LDS‐Salem Ward‐St Johns Az Stk
Grand Canyon Council 010
35 W Cleveland St
P.O. Box 248
Saint Johns, AZ 85936


LDS‐Salisbury Ward‐Dover De Stake
Del Mar Va 081
106 Greenlawn Ln
Salisbury, MD 21804


LDS‐Sallisaw Ward‐Fort Smith Ar Stake
Indian Nations Council 488
805 S Cedar St
Sallisaw, OK 74955


Lds‐Salt Lake 1St Stake
Sl Married Student Stk
Great Salt Lake Council 590
470 S Mario Cappechi Way
Salt Lake City, Ut 84112


Lds‐Salt Lake Bonneville Stake
Sl Bonneville Stk
Great Salt Lake Council 590
1535 Bonneview Dr
Salt Lake City, Ut 84105


LDS‐Salt Lake Stake/Salt Lake Stake
Great Salt Lake Council 590
142 W 200 N
Salt Lake City, UT 84103


Lds‐Salt Lake Valley 2Nd Deaf Ward
Bennion Utah Stake
Great Salt Lake Council 590
6250 S 2200 W
Taylorsville, Ut 84129


Lds‐Salt Lake Wilford Stake
Salt Lake Wilford Stake
Great Salt Lake Council 590
1765 E 3080 S
Salt Lake City, Ut 84106


Lds‐Salt River Ward‐Mesa Az
Alta Mesa Stk
Grand Canyon Council 010
3345 E Mclellan Rd
Mesa, Az 85213


LDS‐San Angelo 1St Ward‐Abilene Stake
Texas Swest Council 741
4475 Swest Blvd
San Angelo, TX 76904


LDS‐San Angelo 2Nd Ward‐Abilene Stake
Texas Swest Council 741
4601 Oak Knoll St
Abilene, TX 79606


LDS‐San Antonio 10Th Ward‐Sa Stake
Alamo Area Council 583
655 Castroville Rd
San Antonio, TX 78237


LDS‐San Antonio 1St Ward‐East Stake
Alamo Area Council 583
311 Galway St
San Antonio, TX 78223


LDS‐San Antonio 6Th Ward‐Sa Stake
Alamo Area Council 583
3644 Talley Rd
San Antonio, TX 78253


LDS‐San Antonio Ward‐Chino Stake
California Inland Empire Council 045
6726 Chino Ave
Chino, CA 91710


LDS‐San Clemente Ward‐San Clemente Stake
Orange County Council 039
470 Camino San Clemente
San Clemente, CA 92672


Lds‐San Diego
Logan Heights 20Th Sp Ward
San Diego Imperial Council 049
5299 Trojan Ave
San Diego, Ca 92115


LDS‐San Diego ‐ La Mesa 8Th Ward
San Diego Imperial Council 049
4195 Camino Del Rio S
San Diego, CA 92108


LDS‐San Diego ‐ Sweetwater 1St Ward
San Diego Imperial Council 049
7044 Lemonwood Ln
Lemon Grove, CA 91945


LDS‐San Diego ‐ Sweetwater 1St Ward
San Diego Imperial Council 049
8472 Blossom Ln
Lemon Grove, CA 91945


LDS‐San Diego‐ Downtown 1St Ward
San Diego Imperial Council 049
4195 Camino Del Rio S
San Diego, CA 92108


LDS‐San Diego East ‐ Del Cerro Ward
San Diego Imperial Council 049
6767 51st St
San Diego, CA 92120


LDS‐San Diego East ‐ La Mesa 1St Ward
San Diego Imperial Council 049
5555 Aztec Dr
La Mesa, CA 91942


LDS‐San Diego East ‐ La Mesa 2Nd Ward
San Diego Imperial Council 049
8466 Abilene Ter
La Mesa, CA 91942


LDS‐San Diego‐ Mid City 20Th Sp   Ward
San Diego Imperial Council 049
5299 Trojan Ave
San Diego, CA 92115


Lds‐San Diego North
University City 1St Ward
San Diego Imperial Council 049
2880 Governor Dr
San Diego, Ca 92122


Lds‐San Diego North
University City 2Nd Ward
San Diego Imperial Council 049
2880 Governor Dr
San Diego, Ca 92122


LDS‐San Diego North ‐ 12Th Ward
San Diego Imperial Council 049
4741 Mount Abernathy Ave
San Diego, CA 92117


LDS‐San Diego North‐ 7Th Ward
San Diego Imperial Council 049
5151 Fanuel St
San Diego, CA 92109


LDS‐San Diego North‐Linda Vista 1St Ward
San Diego Imperial Council 049
4741 Mount Abernathy Ave
San Diego, CA 92117


LDS‐San Diego‐ Pt Loma 6Th Ward
San Diego Imperial Council 049
3705 Tennyson St
San Diego, CA 92107


LDS‐San Diego Stake ‐ Bonita 3Rd Ward
San Diego Imperial Council 049
3737 Valley Vista Rd
Bonita, CA 91902


LDS‐San Jacinto Ward‐Hemet Stake
California Inland Empire Council 045
425 N Kirby St
Hemet, CA 92545


LDS‐San Juan Ward‐San Clemente Stake
Orange County Council 039
470 Camino San Clemente
San Clemente, CA 92672


LDS‐San Juan Ward‐Santa Ana So Stake
Orange County Council 039
1800 San Juan St
Tustin, CA 92780


Lds‐San Leandro 1St Ward
San Leandro Stake
San Francisco Bay Area Council 028
13901 Bancroft Ave
San Leandro, Ca 94578


LDS‐San Lorenzo Ward‐San Leandro Stake
San Francisco Bay Area Council 028
859 Grant Ave
San Lorenzo, CA 94580


Lds‐San Marcos Ward Spanish
S L Granger NO Stk
Great Salt Lake Council 590
2835 S 2855 W
Salt Lake City, Ut 84119


LDS‐San Pedro Ward‐North Stake
Alamo Area Council 583
17151 Jones Maltsberger Rd
San Antonio, TX 78247


LDS‐San Ramon 1St Ward‐Danville Stake
Mt Diablo‐Silverado Council 023
5025 Crow Canyon Rd
San Ramon, CA 94582


LDS‐San Ramon 2Nd Ward‐Danville Stake
Mt Diablo‐Silverado Council 023
5025 Crow Canyon Rd
San Ramon, CA 94582


Lds‐San Sevaine Ward
Rancho Cucamonga Stake
California Inland Empire Council 045
6829 Etiwanda Ave
Rancho Cucamonga, Ca 91739


Lds‐San Tan 1St Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
3544 S Atherton Blvd
Gilbert, Az 85297


Lds‐San Tan 2Nd Ward‐Gilbert Az
Gateway Stk
Grand Canyon Council 010
3544 S Atherton Blvd
Gilbert, Az 85297


LDS‐San Tan Branch‐Chandler Az South Stk
Grand Canyon Council 010
2100 Stotonic Rd
Sacaton, AZ 85147


LDS‐San Tan Heights Ward‐Qc Az South Stk
Grand Canyon Council 010
32584 N Gary Rd
Queen Creek, AZ 85142


Lds‐San Tan Park Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
18550 E Riggs Rd
Queen Creek, Az 85142


LDS‐Sand Lake Ward‐Anchorage Stake
Great Alaska Council 610
3250 Strawberry Rd
Anchorage, AK 99502


LDS‐Sandstone Ward‐Hermiston Stake
Blue Mountain Council 604
1259 NE Gladys Dr
Hermiston, OR 97838


LDS‐Sandy 19Th Ward/Sandy Ut West Stk
Great Salt Lake Council 590
8680 S 220 E
Sandy, UT 84070


LDS‐Sandy 1St Ward/Sandy Ut West Stk
Great Salt Lake Council 590
8680 S 220 E
Sandy, UT 84070


LDS‐Sandy 2Nd Ward/Sandy Ut West Stk
Great Salt Lake Council 590
586 E 8400 S
Sandy, UT 84070


Lds‐Sandy 4Th Tngn Ward
Sl Ut South Tngn Stk
Great Salt Lake Council 590
1280 Turquoise Wy
Sandy, Ut 84070


Lds‐Sandy Creek Ward‐S St Louis Stake
Greater St Louis Area Council 312
10851 Business 21
Hillsboro, Mo 63050


Lds‐Sandy Ut Cttnwd Crk Stk
Sandy Ut Cttnwd Crk Stk
Great Salt Lake Council 590
1535 Creek Rd
Sandy, Ut 84093


Lds‐Sandy Ut Mt Jordan Stk
Sandy Ut Mt Jordan Stk
Great Salt Lake Council 590


LDS‐Santa Ana Ward‐Santa Ana So Stake
Orange County Council 039
3401 S Greenville St
Santa Ana, CA 92704


LDS‐Santa Cruz Ward‐Maricopa Az Stk
Grand Canyon Council 010
37280 W Bowlin Rd
Maricopa, AZ 85138


LDS‐Santa Fe Ward‐Peoria Az Stk
Grand Canyon Council 010
12931 N 83rd Ave
Peoria, AZ 85381


Lds‐Santa Margarita Ward
Santa Margarita Stake
Orange County Council 039
30522 Via Con Dios
Rancho Santa Margarita, Ca 92688


Lds‐Santa Monica Stake
Pacific Palisades Ward
W.L.A.C.C. 051
575 Los Liones Dr
Pacific Palisades, Ca 90272


Lds‐Santa Monica Stake
Santa Monica 1St Ward
W.L.A.C.C. 051
3400 Sawtelle Blvd
Santa Monica, Ca 90401


Lds‐Santa Rita Ward‐Mesa Az
Desert Ridge Stk
Grand Canyon Council 010
2647 S Signal Butte Rd
Mesa, Az 85209


LDS‐Santa Rosa Ward‐Palm Desert Stake
California Inland Empire Council 045
40840 Washington St
Bermuda Dunes, CA 92203


LDS‐Sante Fe Ward‐Hesperia Stake
California Inland Empire Council 045
9533 Maple Ave
Hesperia, CA 92345


LDS‐Santee ‐ Bostonia Ward
San Diego Imperial Council 049
1330 El Rey Ave
El Cajon, CA 92021


LDS‐Santee ‐ El Norte Ward
San Diego Imperial Council 049
10954 Valle Vista Rd
Lds‐Santee‐El Norte Ward
Lakeside, CA 92040


LDS‐Santee ‐ El Rey Ward
San Diego Imperial Council 049
9334 W Heaney Cir
Santee, CA 92071


LDS‐Santee ‐ Grossmont Ward
San Diego Imperial Council 049
7007 Renkrib Ave
San Diego, CA 92119


LDS‐Santee ‐ Lakeside 1St Ward
San Diego Imperial Council 049
13817 Deanly Way
Lakeside, CA 92040


LDS‐Santee ‐ West Hills Ward
San Diego Imperial Council 049
9209 Galston Dr
Santee, CA 92071


LDS‐Santiago Creek Ward‐Orange Stake
Orange County Council 039
674 S Yorba St
Orange, CA 92869


LDS‐Sapulpa Ward‐Tulsa Ok Stake
Indian Nations Council 488
950 Pioneer Rd
Sapulpa, OK 74066


LDS‐Sarival Ward‐Goodyear Az Stk
Grand Canyon Council 010
425 S Estrella Pkwy
Goodyear, AZ 85338


Lds‐Sauniatu Samoan Ward
Taylorsville Ut Central Stk
Great Salt Lake Council 590
4950 S 1950 W
Taylorsville, Ut 84118


LDS‐Savannah Ward‐Surprise Az West Stk
Grand Canyon Council 010
19270 W Indian School Rd
Litchfield Park, AZ 85340


LDS‐Schoens Ward‐Silver Creek Az Stk
Grand Canyon Council 010
300 W Willow Ln
Taylor, AZ 85939


LDS‐Seabrook‐League City
Bay Area Council 574
4655 S Shore Blvd
League City, TX 77573


LDS‐Seaford Ward‐Dover De Stake
Del Mar Va 081
800 Fleetwood Dr
Seaford, DE 19973


LDS‐Seapoint Ward‐Huntington Beach Stake
Orange County Council 039
19191 17th St
Huntington Beach, CA 92648


Lds‐Second Ward
Sl Liberty Stake Lds Chruch
Great Salt Lake Council 590
655 E 900 S
Salt Lake City, Ut 84105


LDS‐Sedona Ward‐Cottonwood Az Stk
Grand Canyon Council 010
160 Mormon Hill Rd
Sedona, AZ 86336


Lds‐Sego Lily Ward
Sandy Ut Granite South Stk
Great Salt Lake Council 590
10312 Ashley Park Dr
Sandy, Ut 84092


LDS‐Sego Lily Ward/Sandy Ut Central Stk
Great Salt Lake Council 590
9824 Flint Dr
Sandy, UT 84094


LDS‐Seguin Ward‐Kyle Stake
Alamo Area Council 583
1111 E College St
Seguin, TX 78155


LDS‐Senatobia Ward‐Memphis Stake
Chickasaw Council 558
Hwy 4 W
Senatobia, MS 38668


LDS‐Seneca Ward
Blue Ridge Council 551
5003 Wells Hwy
Seneca, SC 29678


Lds‐Sern Hills‐Spgfield S Stake
Ozark Trails Council 306
4450 S Farm Rd 141
Springfield, Mo 65810


LDS‐Settlers Bay Ward‐Wasilla Stake
Great Alaska Council 610
108685 W Horizon Dr
Wasilla, AK 99687


Lds‐Settlers Meadow Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
302 S Catalina St
Gilbert, Az 85233


Lds‐Seville Groves Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
3444 E Vallejo Ct
Gilbert, Az 85298


Lds‐Seville Park Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
18550 E Riggs Rd
Queen Creek, Az 85142


Lds‐Seville Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
7201 S 164Th St
Queen Creek, Az 85298


LDS‐Shadow Hills Ward‐Palm Desert Stake
California Inland Empire Council 045
40840 Washington St
Bermuda Dunes, CA 92203
Lds‐Shadow Mtn Ward
Paradise Valley Az Stk
Grand Canyon Council 010
3010 E Thunderbird Rd
Phoenix, Az 85032


Lds‐Shadow Run Ward
Herriman Ut Mountain View Stake
Great Salt Lake Council 590
14068 S 5600 W
Herriman, Ut 84096


LDS‐Shallotte Ward/Wilmington Nc Stake
Cape Fear Council 425
4669 Mintz St
Shallotte, NC 28459


Lds‐Shamrock Farms Ward‐Qc Az
Chandler Heights Stk
Grand Canyon Council 010
6014 S Mack Ave
Gilbert, Az 85298


LDS‐Shaw Butte Ward‐Phoenix Az North Stk
Grand Canyon Council 010
325 E Coral Gables Dr
Phoenix, AZ 85022


Lds‐Shepard Creek Ward
Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
1533 N 1075 W
Farmington, Ut 84025


Lds‐Shepard Park Ward
Frmngtn Ut North Stk
Great Salt Lake Council 590
729 Shepard Ln
Farmington, Ut 84025


Lds‐Shepard View Ward
Frmngtn Ut North Stk
Great Salt Lake Council 590
729 W 1275 N
Farmington, Ut 84025


LDS‐Shepard Ward/Frmngtn Ut Oakridge Stk
Great Salt Lake Council 590
1955 S 350 E
Kaysville, UT 84037


LDS‐Sherwood Park Ward‐Mesa Az Stk
Grand Canyon Council 010
940 E Sern Ave
Mesa, AZ 85204


LDS‐Sherwood Ward‐Topeka Stake
Jayhawk Area Council 197
2401 SW Kingsrow Rd
Topeka, KS 66614


LDS‐Shoreline Ward‐Richland Stake
Blue Mountain Council 604
1321 Jadwin Ave
Richland, WA 99354


Lds‐Show Low Creek Ward‐White Mtn Az
Stk
Grand Canyon Council 010
300 S 11Th St
Show Low, Az 85901


LDS‐Show Low Ward‐Show Low Az Stk
Grand Canyon Council 010
300 S 11th St
Show Low, AZ 85901


LDS‐Sidney Ward‐Dayton,Oh
Miami Valley Council, Bsa 444
475 W Loy Rd
Piqua, OH 45356


Lds‐Sierra Madre Ward‐Gilbert Az
Highland West Stk
Grand Canyon Council 010
2676 E Palo Verde St
Gilbert, Az 85296


Lds‐Sierra Montana Ward‐Surprise Az
North Stk
Grand Canyon Council 010
14878 N Verde Vista Dr
Surprise, Az 85388


LDS‐Sierra Pines Ward‐Show Low Az Stk
Grand Canyon Council 010
480 W Deuce of Clubs
Show Low, AZ 85901


Lds‐Sierra Verde Ward‐Phoenix Az
Tbird Park Stk
Grand Canyon Council 010
21722 N 61St Dr
Glendale, Az 85308


LDS‐Sierra Vista Ward‐Qc Az South Stk
Grand Canyon Council 010
32584 N Gary Rd
San Tan Valley, AZ 85142


LDS‐Sierra Ward‐Fontana Stake
California Inland Empire Council 045
17535 Randall Ave
Fontana, CA 92335


Lds‐Signal Butte Ward‐Mesa Az
Eastmark Stk
Grand Canyon Council 010
11143 E Sorpresa Ave
Mesa, Az 85212


Lds‐Signal Butte Ward‐Mesa Az
Flat Iron Stk
Grand Canyon Council 010
10036 E Brown Rd
Mesa, Az 85207
Lds‐Sikeston Ward
Cape Girardeau Mo Stake
Greater St Louis Area Council 312
827 Euclid Ave
Sikeston, Mo 63801


Lds‐Silsbee Ward‐Beaumont Stake
Three Rivers Council 578
205 Turtle Creek Dr
Silsbee, TX 77656


Lds‐Silsbee Ward‐Beaumont Stake
Three Rivers Council 578
7653 Clearview Ln
Lumberton, TX 77657


LDS‐Silver Creek Ward/Park City Ut Stk
Great Salt Lake Council 590
510 E Silver Summit Pkwy
Park City, UT 84098


LDS‐Silver Creek Ward‐Gilbert Az Stk
Grand Canyon Council 010
220 E Cullumber Ave
Gilbert, AZ 85234


Lds‐Silver Mesa Ward
Sandy Ut Alta View Stk
Great Salt Lake Council 590
8945 S 1700 E
Sandy, Ut 84093


Lds‐Silvercrest Ward
Sandy Ut Canyon View Stk
Great Salt Lake Council 590
9119 S 1300 E
Sandy, Ut 84094


Lds‐Silvergate Park Ward‐Mesa Az
South Stk
Grand Canyon Council 010
2334 E Pueblo Ave
Mesa, Az 85204
LDS‐Simpsonville‐Second
Blue Ridge Council 551
200 Hayworth Dr
Simpsonville, SC 29680


LDS‐Skagway Branch‐Juneau Alaska Stake
Great Alaska Council 610
P.O. Box 605
Skagway, AK 99840


Lds‐Skiatook Br‐Bartlesville Ok Stake
Indian Nations Council 488
4200 W 6Th St
Skiatook, Ok 74070


LDS‐Skyline Ward/Tooele Ut Stk
Great Salt Lake Council 590
777 E Skyline Dr
Tooele, UT 84074


LDS‐Skyline Ward‐Mesa Az Skyline Stk
Grand Canyon Council 010
10356 E El Moro Cir
Mesa, AZ 85208


LDS‐Skyline Ward‐Qc Az East Stk
Grand Canyon Council 010
33794 N Gary Rd
Queen Creek, AZ 85143


Lds‐Sl 6Th Ward Chinese
Sl Monmnt Park Stk
Great Salt Lake Council 590
470 S Wasatch Dr
Salt Lake City, Ut 84102


LDS‐Smiley Ward‐Redlands Stake
California Inland Empire Council 045
640 S Center St
Redlands, CA 92373
LDS‐Smith County 1St Ward
East Texas Area Council 585
1617 Shiloh Rd
Tyler, TX 75703


LDS‐Smith County 2Nd Ward
East Texas Area Council 585
2401 N Broadway Ave
Tyler, TX 75702


LDS‐Smith County Wills Point Ward
East Texas Area Council 585
22580 State Hwy 64
Canton, TX 75103


LDS‐Smithfield 26Th/Smithfield North
Trapper Trails 589
640 N 200 E
Smithfield, UT 84335


LDS‐Smithfield 27Th Ward/Smithfield
Trapper Trails 589
568 E 260 S
Smithfield, UT 84335


LDS‐Smithfield Stake Special Needs
Trapper Trails 589
600 E 120 S
Smithfield, UT 84335


LDS‐Smithfield Ward‐Chesapeake Stake
Colonial Virginia Council 595
4759 Bennetts Pasture Rd
Suffolk, VA 23435


Lds‐Smithson Vly Ward‐Hill Country Stake
Alamo Area Council 583
31355 Stahl Ln
Bulverde, Tx 78163


LDS‐Smyrna Ward‐Dover De Stake
Del Mar Va 081
310 Clark Farm Rd
Smyrna, DE 19977


LDS‐Snake River Ward‐Pasco Stake
Blue Mountain Council 604
245 S Lake Rd
Burbank, WA 99323


LDS‐Snellville Ward‐ Conyers Stake
Northeast Georgia Council 101
3956 Mink Livsey Rd
Snellville, GA 30039


LDS‐Snowflake 10Th Ward‐Snowflake Az Stk
Grand Canyon Council 010
175 S Cedar Dr
Snowflake, AZ 85937


LDS‐Snowflake 11Th Ward‐Snowflake Az Stk
Grand Canyon Council 010
48 S Main St
Snowflake, AZ 85937


LDS‐Snowflake 1St Ward‐Snowflake Az Stk
Grand Canyon Council 010
P.O. Box 1
48 N Main St
Snowflake, AZ 85937


LDS‐Snowflake 5Th Ward‐Snowflake Az Stk
Grand Canyon Council 010
P.O. Box 1453
421 N Main St
Snowflake, AZ 85937


LDS‐Snowflake 6Th Ward‐Snowflake Az Stk
Grand Canyon Council 010
48 N Main St
Snowflake, AZ 85937


LDS‐Snowflake 8Th Ward‐Snowflake Az Stk
Grand Canyon Council 010
P.O. Box 8
421 N Main St
Snowflake, AZ 85937


LDS‐Snowflake 9Th Ward‐Snowflake Az Stk
Grand Canyon Council 010
P.O. Box 935
2885 W Hwy 277
Snowflake, AZ 85937


LDS‐Snyderville Ward/Park City Ut Stk
Great Salt Lake Council 590
510 E Silver Summit Pkwy
Park City, UT 84098


Lds‐So Jordan 12Th Ward Tongan
Sl Ut So Stake Tongan
Great Salt Lake Council 590
9587 S Wood Park Ln
South Jordan, Ut 84009


LDS‐Soldotna Ward‐Soldotna Stake
Great Alaska Council 610
159 W Marydale Ave
Soldotna, AK 99669


LDS‐Solomon Ward‐Mesa Az South Stk
Grand Canyon Council 010
997 E Broadway Rd
Mesa, AZ 85204


LDS‐Solomonville Ward‐Safford Stake
Grand Canyon Council 010
2701 S Montierth Pl
Safford, AZ 85546


LDS‐Somerset Ward/Frmngtn Ut North Stk
Great Salt Lake Council 590
1885 Summerwood Dr
Farmington, UT 84025
LDS‐Sonoma Ranch Ward‐West Stake
Alamo Area Council 583
13153 Iron Horse Way
Helotes, TX 78023


Lds‐Sonoran Mountain Ward‐Phoenix Az
Tbird Park Stk
Grand Canyon Council 010
23121 N 67Th Ave
Glendale, Az 85310


Lds‐Sonoran Springs Ward‐Mesa Az
Boulder Creek Stk
Grand Canyon Council 010
3025 S Hawes Rd
Mesa, Az 85212


Lds‐Sonoran Trails Ward‐Scottsdale Az
North Stk
Grand Canyon Council 010
38008 N Basin Rd
Cave Creek, Az 85331


LDS‐Sonterra Ward‐North Stake
Alamo Area Council 583
17151 Jones‐Maltsberger Rd
San Antonio, TX 78247


LDS‐Sossaman Estates Ward‐Qc Az West Stk
Grand Canyon Council 010
19730 E Ocotillo Rd
Queen Creek, AZ 85142


Lds‐Sossaman Ward‐Mesa Az
Boulder Creek Stk
Grand Canyon Council 010
7145 E Monterey Ave
Mesa, Az 85209


LDS‐South Bend Ward‐South Bend Stake
Lasalle Council 165
930 Park Pl
Mishawaka, IN 46545
LDS‐South Coast Ward‐Newport Beach Stake
Orange County Council 039
3401 S Greenville St
Santa Ana, CA 92704


Lds‐South Cottonwood Ward
Murray Ut South Stk
Great Salt Lake Council 590
5605 E Vine St
Murray, Ut 84107


Lds‐South Jordan 10Th Tongan   Ward
Sl Ut So Tngn St
Great Salt Lake Council 590
1945 W 9000 S
West Jordan, Ut 84088


Lds‐South Jordan 1St Ward
South Jordan Ut Stk
Great Salt Lake Council 590
2450 W S Jordan Pkwy
South Jordan, Ut 84095


Lds‐South Jordan 2Nd Ward
South Jordan Ut Stk
Great Salt Lake Council 590
2450 W S Jordan Pkwy
South Jordan, Ut 84095


Lds‐South Jordan 3Rd Ward
South Jordan Ut Stk
Great Salt Lake Council 590
9750 S 2200 W
South Jordan, Ut 84095


Lds‐South Jordan 4Th Ward
South Jordan Ut Stk
Great Salt Lake Council 590
2550 W 9800 S
South Jordan, Ut 84095
Lds‐South Jordan 5Th Ward
South Jordan Ut Stk
Great Salt Lake Council 590
2556 W 9800 S
South Jordan, Ut 84095


Lds‐South Jordan 6Th Ward
South Jordan Ut Stk
Great Salt Lake Council 590
2550 W 9800 S
South Jordan, Ut 84095


Lds‐South Jordan 7Th Ward
South Jordan Ut Stk
Great Salt Lake Council 590
9750 S 2200 W
South Jordan, Ut 84095


Lds‐South Jordan 8Th Ward
South Jordan Ut Stk
Great Salt Lake Council 590
2450 W S Jordan Pkwy
South Jordan, Ut 84095


Lds‐South Jordan 9Th Ward
South Jordan Ut Stk
Great Salt Lake Council 590
9750 S 2200 W
South Jordan, Ut 84095


Lds‐South Mountain 1St Ward
Draper Ut So Mtn Stk
Great Salt Lake Council 590
607 E Rocky Mouth Lane
Draper, Ut 84020


Lds‐South Mountain 2Nd Ward
Draper Ut So Mtn Stk
Great Salt Lake Council 590
272 Traverse Pointe Dr
Draper, Ut 84020


Lds‐South Mountain 3Rd Ward
Draper Ut So Mtn Stk
Great Salt Lake Council 590
272 E Traverse Point Dr
Draper, Ut 84020


Lds‐South Mountain 4Th Ward
Draper Ut South Mountian Stk
Great Salt Lake Council 590
1911 E Gray Fox Dr
Draper, Ut 84020


Lds‐South Mountain 5Th Ward
Draper Ut So Mtn Stk
Great Salt Lake Council 590
607 E 14450 S
Draper, Ut 84020


Lds‐South Mountain 6Th Ward
Draper Ut South Mtn Stk
Great Salt Lake Council 590
1911 E Gray Fox Dr
Draper, Ut 84020


Lds‐South Mountain 7Th Ward
Draper Ut So Mtn Stk
Great Salt Lake Council 590
272 E 14700 S
Draper, Ut 84020


Lds‐South Mountain 8Th Ward
Draper Ut So Mtn Stk
Great Salt Lake Council 590
1911 E Gray Fox Dr
Draper, Ut 84020


Lds‐South Mountain Ward
Phoenix Az, South Mountain Stk
Grand Canyon Council 010
650 W Sern Ave
Phoenix, Az 85041


Lds‐Southern Estates Ward‐Mesa Az
Kimball Stk
Grand Canyon Council 010
920 S Lindsay Rd
Mesa, Az 85204


LDS‐Southgate Ward/South Salt Lake Stk
Great Salt Lake Council 590
2702 S Main St
Salt Lake City, UT 84115


LDS‐Southgate Ward‐Kennewick East Stake
Blue Mountain Council 604
515 S Union St
Kennewick, WA 99336


LDS‐Southport Branch/Wilmington Nc Stake
Cape Fear Council 425
8264 River Rd
Southport, NC 28461


LDS‐Spanish Branch‐Chino Stake
California Inland Empire Council 045
6726 Chino Ave
Chino, CA 91710


LDS‐Spanish Branch‐Redlands Stake
California Inland Empire Council 045
1021 E Pioneer Ave
Redlands, CA 92374


Lds‐Spartanburg 1St Ward
Greenville, Sc East Stake
Palmetto Council 549
121 Hamilton Ave
Spartanburg, Sc 29302


Lds‐Spartanburg 2Nd Ward
Greenville, Sc East Stake
Palmetto Council 549
121 Quail Dr
Spartanburg, Sc 29302


Lds‐Special Needs Troop
Tooele Ut East Stake
Great Salt Lake Council 590
751 N 520 E
Tooele, Ut 84074


Lds‐Spectrum Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
1155 E Ray Rd
Gilbert, Az 85295


LDS‐Spencer 1St Ward/Magna Ut Stk
Great Salt Lake Council 590
3084 S 8400 W
Magna, UT 84044


LDS‐Spencer 3Rd Ward/Magna Ut South Stk
Great Salt Lake Council 590
8181 Breeze Dr
Magna, UT 84044


LDS‐Spencer 4Th Ward/Magna Ut South Stk
Great Salt Lake Council 590
8181 Breeze Dr
Magna, UT 84044


LDS‐Spencer 5Th Ward/Magna Ut South Stk
Great Salt Lake Council 590
3830 S 8000 W
Magna, UT 84044


LDS‐Spencer 6Th Ward/Magna Ut South Stk
Great Salt Lake Council 590
8181 Breeze Dr
Magna, UT 84044


Lds‐Spg Vly Lake Ward
Apple Valley Stake
California Inland Empire Council 045
12100 Ridgecrest Rd
Victorville, Ca 92395
Lds‐Spring Creek Ward
Farmington Utah West Stake
Great Salt Lake Council 590
905 Fox Hunter Dr
Farmington, Ut 84025


Lds‐Spring Hill Ward
North S L Parkway Stk
Great Salt Lake Council 590
351 Lofty Ln
North Salt Lake, Ut 84054


Lds‐Spring Meadows Ward
Tooele Ut East Stk
Great Salt Lake Council 590
132 N 570 E
Tooele, Ut 84074


LDS‐Spring Valley Ward‐Cottonwood Az Stk
Grand Canyon Council 010
17330 E Mule Deer Dr
Mayer, AZ 86333


LDS‐Springerville Ward‐Eagar Az Stk
Grand Canyon Council 010
150 N Aldrice Burk Dr
Springerville, AZ 85938


LDS‐Springs Hollow/ Fielding Stake
Trapper Trails 589
4375 W 15600 N
Fielding, UT 84311


LDS‐Springtown Ward‐Livermore Stake
San Francisco Bay Area Council 028
5447 Wildflower Dr
Livermore, CA 94551


LDS‐Springview Ward/S L Grant Stk
Great Salt Lake Council 590
3153 S 900 E
Salt Lake City, UT 84106
Lds‐Springwood Ward
Bountiful Ut Orchard Stk
Great Salt Lake Council 590
167 W Monarch Dr
Bountiful, Ut 84010


LDS‐St Charles Ward‐Hazelwood Stake
Greater St Louis Area Council 312
2245 S Old Hwy 94
Saint Charles, MO 63303


Lds‐St Louis Hills Ward‐S St Louis Stake
Greater St Louis Area Council 312
6740 Loughborough Ave
Saint Louis, Mo 63123


Lds‐St Mary S Ward Ward
Sl Monument Pk Stk
Great Salt Lake Council 590
1320 S Wasatch Dr
Salt Lake City, Ut 84108


LDS‐St Peters Ward‐North County Stake
Greater St Louis Area Council 312
2245 S Old Hwy 94
Saint Charles, MO 63303


LDS‐St Robert Ward 1‐St Robert Stake
Ozark Trails Council 306
123 Bosa Dr
Saint Robert, MO 65584


LDS‐St Robert Ward 2‐St Robert Stake
Ozark Trails Council 306
123 Bosa Dr
Saint Robert, MO 65584


LDS‐Stanford Ward‐Garden Grove Stake
Orange County Council 039
10212 Stanford Ave
Garden Grove, CA 92840
Lds‐Stansbury Lake Ward
Stansbury Park UT So Stk
Great Salt Lake Council 590
5899 Bayshore Dr
Stansbury Park, Ut 84074


Lds‐Stansbury Village Ward
Stansbury Park Ut South Stk
Great Salt Lake Council 590
390 E Village Blvd
Stansbury Park, Ut 84074


LDS‐Stansbury Ward/Stansbury Park Ut Stk
Great Salt Lake Council 590
417 Benson Rd
Stansbury Park, UT 84074


LDS‐Starcrest Ward/S L Rose Park Stk
Great Salt Lake Council 590
874 Starcrest Dr
Salt Lake City, UT 84116


Lds‐Sterling Heights Ward
Bountiful Ut Orchard Stk
Great Salt Lake Council 590
191 W Monarch Dr
Bountiful, Ut 84010


LDS‐Sterling Ward‐Soldotna Stake
Great Alaska Council 610
36691 Edgington Rd
Soldotna, AK 99669


Lds‐Stetson Valley Ward‐Phoenix Az
Tbird Park Stk
Grand Canyon Council 010
5104 W Pinnacle Peak Rd
Glendale, Az 85310


LDS‐Stewart Ward‐Mesa Az Maricopa Stk
Grand Canyon Council 010
611 N Stewart
Mesa, AZ 85201


LDS‐Stockton 2Nd Ward/Tooele Utah Stake
Great Salt Lake Council 590
405 N Conner Ave
Stockton, UT 84071


LDS‐Stockton Ward/Tooele Ut Stk
Great Salt Lake Council 590
P.O. Box 236
405 N Connor
Stockton, UT 84071


LDS‐Stockton Ward‐Springfield Stake
Ozark Trails Council 306
18875 E 1200 Rd
Stockton, MO 65785


Lds‐Stone Bridge Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
7752 E Mcdowell Rd
Mesa, Az 85207


Lds‐Stone Creek Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
1476 N 300 W
Bountiful, Ut 84010


LDS‐Stone Creek Ward‐Qc Az South Stk
Grand Canyon Council 010
471 E Mayfield Dr
Queen Creek, AZ 85143


LDS‐Stone Crest Ward‐Qc Az Central Stk
Grand Canyon Council 010
20415 E Chandler Hts Rd
Queen Creek, AZ 85142


LDS‐Stone Oak Ward‐North Stake
Alamo Area Council 583
945 Knights Cross
San Antonio, TX 78258


Lds‐Stone Ridge Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
12070 Laurel Chase Dr
Riverton, Ut 84065


Lds‐Stoneridge Ward‐Prescott Valley Az
Stk
Grand Canyon Council 010
7885 E Long Look Dr
Prescott Valley, Az 86314


LDS‐Stonewood Ward/Bennion Ut West Stk
Great Salt Lake Council 590
6030 Prairie View Dr
Salt Lake City, UT 84118


LDS‐Stratford East Ward/S L Highland Stk
Great Salt Lake Council 590
2635 S 1500 E
Salt Lake City, UT 84106


Lds‐Stratford Estates Ward‐Mesa Az
Desert Ridge Stk
Grand Canyon Council 010
2647 S Signal Butte Rd
Mesa, Az 85209


LDS‐Stratford Ward/S L Highland Stk
Great Salt Lake Council 590
2635 S 1500 E
Salt Lake City, UT 84106


Lds‐Stratland Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
3307 S Greenfield Rd
Gilbert, Az 85297
LDS‐Strongsville Ward
Lake Erie Council 440
501 Rockside Rd
Seven Hills, OH 44131


LDS‐Sugar Hill Ward‐Sugar Hill Stake
Northeast Georgia Council 101
4833 Suwanee Dam Rd
Suwanee, GA 30024


LDS‐Sugar House Ward/Sl Granite Stake
Great Salt Lake Council 590
1621 S 1100 E
Salt Lake City, UT 84105


LDS‐Suisun Asian Branch
Mt Diablo‐Silverado Council 023
806 Travis Blvd
Fairfield, CA 94533


LDS‐Sullivan Ward‐St Roberts Stake
Greater St Louis Area Council 312
611 Deer Path
Sullivan, MO 63080


Lds‐Summerfield Ward
Riverton Ut South Stk
Great Salt Lake Council 590
2750 W 13400 S
Riverton, Ut 84065


Lds‐Summerfield Ward‐Gilbert Az
Higley Stk
Grand Canyon Council 010
2700 E Galveston
Gilbert, Az 85295


Lds‐Summerhill Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
12070 S 1515 W.
Riverton, Ut 84065
Lds‐Summit Ridge Ward
Herriman Ut South Stk
Great Salt Lake Council 590
14550 Juniper Crest Rd
Herriman, Ut 84096


LDS‐Summit Ward‐Fontana Stake
California Inland Empire Council 045
7526 Alder Ave
Fontana, CA 92336


LDS‐Sun City Ward‐Menifee Stake
California Inland Empire Council 045
29725 Bradley Rd
Sun City, CA 92586


LDS‐Sun Ridge Ward/Kearns Ut West Stk
Great Salt Lake Council 590
5475 W 5500 S
Salt Lake City, UT 84118


LDS‐Sun Valley Ward‐Peoria Az Stk
Grand Canyon Council 010
12951 N 83rd Ave
Peoria, AZ 85345


Lds‐Sun Valley Ward‐Surprise Az
North Stk
Grand Canyon Council 010
15049 N 176Th Ln
Surprise, Az 85388


LDS‐Sunburst Ward‐Glendale Az North Stk
Grand Canyon Council 010
5320 W Thunderbird
Thunderbird Building
Glendale, AZ 85306


LDS‐Suncrest Ward/Kearns Ut West Stk
Great Salt Lake Council 590
5938 W 6200 S
Salt Lake City, UT 84118
LDS‐Sundance 2Nd Ward‐Buckeye Az Stk
Grand Canyon Council 010
22487 W Sundance Pkwy
Buckeye, AZ 85326


LDS‐Sundance Ward‐Buckeye Az Stk
Grand Canyon Council 010
22487 W Sundance Pkwy
Buckeye, AZ 85326


LDS‐Sunny Hills Ward‐Fullerton Stake
Orange County Council 039
2225 N Euclid St
Fullerton, CA 92835


Lds‐Sunny Mesa Ward‐Mesa Az
Kimball East Stk
Grand Canyon Council 010
4640 E Holmes Ave
Mesa, Az 85206


Lds‐Sunnybrook Ward
Tville Ut No Central Stk
Great Salt Lake Council 590
4310 S 3200 W
Salt Lake City, Ut 84119


LDS‐Sunridge Ward/Sandy Ut Alta View Stk
Great Salt Lake Council 590
1850 E 8600 S
Sandy, UT 84093


Lds‐Sunrise Mountain Ward‐Peoria Az
North Stk
Grand Canyon Council 010
22034 N 83Rd Ave
Peoria, Az 85383


LDS‐Sunset Branch‐Laie North Stake
Aloha Council, Bsa 104
56‐589 Puuluana St
Kahuku, HI 96731


LDS‐Sunset Hills Ward‐Apple Valley Stake
California Inland Empire Council 045
15500 Tuscola Rd
Apple Valley, CA 92307


Lds‐Sunset Ridge 10Th Ward
W J Ut Sunset Ridge Stk
Great Salt Lake Council 590
8137 So Echo View Dr
West Jordan, Ut 84081


Lds‐Sunset Ridge 1St Ward
W J Ut Sunset Ridge Stk
Great Salt Lake Council 590
8107 S 6700 W
West Jordan, Ut 84081


Lds‐Sunset Ridge 2Nd Ward
W J Ut Sunset Ridge Stk
Great Salt Lake Council 590
8137 S Echo View Dr
West Jordan, Ut 84081


Lds‐Sunset Ridge 3Rd Ward
W J Ut Sunset Ridge Stk
Great Salt Lake Council 590
8107 S 6700 W
West Jordan, Ut 84081


Lds‐Sunset Ridge 4Th Ward
Wj Utah Sunset Ridge Stk
Great Salt Lake Council 590
8834 Duck Ridge Way
West Jordan, Ut 84081


Lds‐Sunset Ridge 5Th Ward
W J Ut Sunset Ridge Stk
Great Salt Lake Council 590
8834 S Duck Ridge Way
West Jordan, Ut 84081
Lds‐Sunset Ridge 6Th Ward
West Jordan Utah Stake
Great Salt Lake Council 590
8107 S 6700 W
West Jordan, Ut 84081


Lds‐Sunset Ridge 7Th Ward
Wj Ut Sunset Ridge Stake
Great Salt Lake Council 590
8834 Duck Ridge Way
West Jordan, Ut 84081


Lds‐Sunset Ridge 9Th Ward
W J Ut Sunset Ridge Stk
Great Salt Lake Council 590
6250 W 8200 S
West Jordan, Ut 84081


LDS‐Sunset Ward
South Florida Council 084
15400 Sunset Dr
Miami, FL 33193


LDS‐Sunset Ward‐Qc Az Stk
Grand Canyon Council 010
1150 W Combs Rd
Queen Creek, AZ 85140


LDS‐Sunset Ward‐Richland Stake
Blue Mountain Council 604
1720 Thayer Dr
Richland, WA 99354


LDS‐Sunset Ward‐Winslow Az Stk
Grand Canyon Council 010
1748 Oak Rd
Winslow, AZ 86047


Lds‐Superstition Springs Ward‐Mesa Az
Kimball East Stk
Grand Canyon Council 010
4640 E Holmes Ave
Mesa, Az 85206


LDS‐Surprise 2Nd Ward‐Surprise Az Stk
Grand Canyon Council 010
14916 N Sarival Ave
Surprise, AZ 85388


LDS‐Surprise Ward‐Surprise Az Stk
Grand Canyon Council 010
14916 N Sarival Ave
Surprise, AZ 85388


LDS‐Susquehanna Ward
Baltimore Area Council 220
2554 Flora Meadows Dr
Forest Hill, MD 21050


LDS‐Susquehanna Ward
Baltimore Area Council 220
3826 Level Rd
Havre De Grace, MD 21078


LDS‐Suwanee Ward‐Sugar Hill Stake
Northeast Georgia Council 101
4833 Suwanee Dam Rd
Suwanee, GA 30024


LDS‐Sweetwater ‐ Spring Valley 1St Ward
San Diego Imperial Council 049
3348 Sweetwater Springs Blvd
Spring Valley, CA 91977


LDS‐Sweetwater‐ Sweetwater 3Rd   Sp    Ward
San Diego Imperial Council 049
8472 Blossom Ln
Lemon Grove, CA 91945


LDS‐Sweetwater‐Sweetwater 3Rd Sp      Ward
San Diego Imperial Council 049
8472 Blossom Ln
Lemon Grove, CA 91945
Lds‐Switzer Canyon Ward‐Flagstaff Az
East Stk
Grand Canyon Council 010
625 E Cherry Ave
Flagstaff, Az 86001


LDS‐Sycamore Grove Ward‐Livermore Stake
San Francisco Bay Area Council 028
1501 Hillcrest Ave
Livermore, CA 94550


LDS‐Sycamore Ward‐Rockford, Il Stake
Three Fires Council 127
675 Fox Ave
Sycamore, IL 60178


Lds‐Sycamores 1St Ward
Wj Utah Sycamores Stake
Great Salt Lake Council 590
Haven Maple Dr
West Jordan, Ut 84081


Lds‐Sycamores 2Nd Ward
Wj Utah Sycamores Stake
Great Salt Lake Council 590
6592 Haven Maple Dr
West Jordan, Ut 84081


Lds‐Sycamores 3Rd Ward
Wj Utah Sycamores Stake
Great Salt Lake Council 590
6592 Haven Maple Dr
West Jordan, Ut 84081


Lds‐Sycamores 4Th Ward
Wj Utah Sycamores Stake
Great Salt Lake Council 590
7580 W 7980 S
West Jordan, Ut 84081


Lds‐Sycamores 5Th Ward
Wj Utah Sycamores Stake
Great Salt Lake Council 590
7580 W 7980 S
West Jordan, Ut 84081


Lds‐Sycamores 6Th Ward
Wj Utah Sycamores Stke
Great Salt Lake Council 590
6592 W Maple Haven Dr
West Jordan, Ut 84081


Lds‐Sycamores 7Th Ward
Wj Ut Sycamores Stake
Great Salt Lake Council 590
7580 W 7980 S
West Jordan, Ut 84084


Lds‐Sycamores 8Th Ward
Wj Utah Sycamores Stk
Great Salt Lake Council 590
6592 W Haven Maple Dr
West Jordan, Ut 84081


LDS‐Tacoma North Stake‐Allenmore
Pacific Harbors Council, Bsa 612
2455 S 78th St
Tacoma, WA 98409


LDS‐Tacoma North Stake‐Highland Hills
Pacific Harbors Council, Bsa 612
1102 S Pearl St
Tacoma, WA 98465


LDS‐Tacoma North Stake‐Skyline
Pacific Harbors Council, Bsa 612
1102 S Pearl St
Tacoma, WA 98465


LDS‐Tacoma North Stake‐Soundview
Pacific Harbors Council, Bsa 612
1102 S Pearl St
Tacoma, WA 98465
LDS‐Tacoma South Stake‐Buena Vista
Pacific Harbors Council, Bsa 612
2455 S 78th St
Tacoma, WA 98409


LDS‐Tacoma South Stake‐Chambers Creek
Pacific Harbors Council, Bsa 612
2455 S 78th St
Tacoma, WA 98409


LDS‐Tacoma South Stake‐Lincoln
Pacific Harbors Council, Bsa 612
7520 25th Ave E
Tacoma, WA 98404


LDS‐Tacoma South Stake‐Mountain View
Pacific Harbors Council, Bsa 612
7520 25th Ave E
Tacoma, WA 98404


LDS‐Tacoma South Stake‐Sunset
Pacific Harbors Council, Bsa 612
4219 Beckonridge Dr W
University Pl, WA 98466


LDS‐Tacoma South Stake‐Wapato Park
Pacific Harbors Council, Bsa 612
7520 25th Ave E
Tacoma, WA 98404


LDS‐Tafuna 1St Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


LDS‐Tafuna 2Nd Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 1419
Pago Pago, AS 96799


LDS‐Tafuna 3Rd Ward‐Pago Central Stake
Aloha Council, Bsa 104
P.O. Box 998369
Pago Pago, AS 96799


LDS‐Tahlequah Ward‐Tulsa Ok East Stake
Indian Nations Council 488
32532 S Skyline Dr
Cookson, OK 74427


LDS‐Talisay Ward
Aloha Council, Bsa 104
117 Sabana Lane
Yona, GU 96915


LDS‐Talley Ward‐San Antonio Stake
Alamo Area Council 583
3644 Talley Rd
San Antonio, TX 78253


LDS‐Tallmadge Ward‐Akron Stake
Great Trail 433
106 E Howe Rd
Tallmadge, OH 44278


LDS‐Tamarac Ward
South Florida Council 084
10148 NW 31st St
Coral Springs, FL 33065


LDS‐Tamarack Branch‐Fairbanks Stake
Midnight Sun Council 696
P.O. Box 81863
Fairbanks, AK 99708


LDS‐Tassajara Ward‐Danville Stake
Mt Diablo‐Silverado Council 023
655 Old Orchard Dr
Danville, CA 94526


LDS‐Taylor Park Ward‐Mesa Az Kimball Stk
Grand Canyon Council 010
300 S Val Vista Dr, Lot 277
Mesa, AZ 85204
Lds‐Taylors Grove Ward
Taylorsville Ut Stk
Great Salt Lake Council 590
4845 Woodhaven Dr
Salt Lake City, Ut 84123


Lds‐Taylorsville 10Th Ward
Tville Ut Central Stk
Great Salt Lake Council 590
4950 S 1950 W
Salt Lake City, Ut 84118


Lds‐Taylorsville 12Th Ward
Taylorsville Utah South Stk
Great Salt Lake Council 590
4437 S Hawarden Dr
West Valley City, Ut 84119


Lds‐Taylorsville 13Th Ward
Tville Ut North Stk
Great Salt Lake Council 590
1495 Tamarack Rd
Salt Lake City, Ut 84123


Lds‐Taylorsville 14Th Ward
Tville Ut North Stk
Great Salt Lake Council 590
1250 W Atherton Dr
Salt Lake City, Ut 84123


Lds‐Taylorsville 16Th Ward
Tville Ut South Stk
Great Salt Lake Council 590
3495 W 4850 S
Taylorsville, Ut 84129


Lds‐Taylorsville 19Th Ward
Tville Ut Central Stk
Great Salt Lake Council 590
2030 Chateau Ave
Salt Lake City, Ut 84129
LDS‐Taylorsville 1St Ward/Tville Ut Stk
Great Salt Lake Council 590
4845 Woodhaven Dr
Salt Lake City, UT 84123


Lds‐Taylorsville 23Rd Ward
Tville Ut South Stk
Great Salt Lake Council 590
4932 S 3200 W
Taylorsville, Ut 84129


Lds‐Taylorsville 25Th Ward
Taylorsville Utah South Stk
Great Salt Lake Council 590
4505 S 3420 W
West Valley City, Ut 84119


Lds‐Taylorsville 26Th Ward
Tville Ut South Stk
Great Salt Lake Council 590
3495 W 4850 S
Salt Lake City, Ut 84129


Lds‐Taylorsville 30Th Ward
Tville Ut Central Stk
Great Salt Lake Council 590
4950 S 1950 W
Salt Lake City, Ut 84118


Lds‐Taylorsville 39Th Ward
Tville Ut South Stk
Great Salt Lake Council 590
4932 S 3200 W
Salt Lake City, Ut 84129


Lds‐Taylorsville 3Rd Ward
Tville Ut North Stk
Great Salt Lake Council 590
1460 W 4180 S
Taylorsville, Ut 84123


Lds‐Taylorsville 5Th Ward     Tongan
Slutah So Stake Tongan
Great Salt Lake Council 590
4660 W 5015 S
Salt Lake City, Ut 84118


Lds‐Taylorsville 6Th Tongan     Ward
Sl Ut So Tngn Stk
Great Salt Lake Council 590
1955 W Bowling Ave
Taylorsville, Ut 84129


Lds‐Taylorsville 8Th Ward
Tville Ut North Stk
Great Salt Lake Council 590
1495 Tamarack Rd
Salt Lake City, Ut 84123


Lds‐Taylorsville 9Th Ward
Tville Ut Central Stk
Great Salt Lake Council 590
2030 Chateau Ave
Salt Lake City, Ut 84129


Lds‐Taylorsville Utah Stake
Taylorsville UT Stake
Great Salt Lake Council 590
1555 Lovely Rd
Taylorsville, Ut 84123


Lds‐Telford Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1834 Creek Rd
Sandy, Ut 84093


LDS‐Temecula Creek Ward‐Temecula Stake
California Inland Empire Council 045
44650 La Paz Rd
Temecula, CA 92592


LDS‐Temecula Ward‐Temecula Stake
California Inland Empire Council 045
44650 La Paz Rd
Temecula, CA 92592


LDS‐Temescal Valley Ward‐Corona Stake
California Inland Empire Council 045
1510 Taber St
Corona, CA 92881


LDS‐Temple Meadow Ward ‐ Kennewick Stake
Blue Mountain Council 604
895 Gage Blvd
Richland, WA 99352


LDS‐Temple Peak Ward
Trapper Trails 589
221 E N St
Pinedale, WY 82941


LDS‐Tenth Ward/Sl Central Stake
Great Salt Lake Council 590
420 S 800 E
Salt Lake City, UT 84102


Lds‐Terra Vista Ward
Rancho Cucamonga Stake
California Inland Empire Council 045
9075 Baseline Rd
Rancho Cucamonga, Ca 91730


LDS‐Terre View Ward‐Moscow Idaho Stake
Inland Nwest Council 611
1055 NE Orchard Dr
Pullman, WA 99163


LDS‐Thatcher 1St Ward‐Thatcher Stake
Grand Canyon Council 010
3610 W Church St
Thatcher, AZ 85552


LDS‐Thatcher 2Nd Ward‐Thatcher Stake
Grand Canyon Council 010
260 N Stadium Ave
Thatcher, AZ 85552
LDS‐Thatcher 3Rd Ward‐Thatcher Stake
Grand Canyon Council 010
P.O. Box 1214
Thatcher, AZ 85552


LDS‐Thatcher 4Th Ward‐Thatcher Stake
Grand Canyon Council 010
P.O. Box 441
Thatcher, AZ 85552


LDS‐Thatcher 5Th Ward‐Thatcher Stake
Grand Canyon Council 010
5291 W Hwy 70
Central, AZ 85531


LDS‐Thatcher 6Th Ward‐Thatcher Stake
Grand Canyon Council 010
3610 W Church St
Thatcher, AZ 85552


LDS‐Thatcher 7Th Ward‐Thatcher Stake
Grand Canyon Council 010
1121 S 1st Ave
Thatcher, AZ 85552


LDS‐Thatcher 8Th Ward
Grand Canyon Council 010
3610 W Church St
Thatcher, AZ 85552


LDS‐Thatcher 8Th Ward‐Thatcher Stake
Grand Canyon Council 010
3610 W Church St
Graham, AZ 85552


Lds‐Thayer Park Ward‐Mesa Az
Mountain View Stk
Grand Canyon Council 010
646 N Miramar
Mesa, Az 85213
Lds‐The Bridges Ward‐Gilbert Az
San Tan Stk
Grand Canyon Council 010
4170 S Ranch House Pkwy
Gilbert, Az 85297


Lds‐The Ch Jesus Christ Ardmore
Arbuckle Area Council 468
4115 Prairie Valley Rd
Ardmore, Ok 73401


LDS‐Thirty Second Ward/S L Pioneer Stk
Great Salt Lake Council 590
1401 W 700 S
Salt Lake City, UT 84104


Lds‐Three Fountains Ward‐Mesa Az
North Stk
Grand Canyon Council 010
1852 N Stapley Dr
Mesa, Az 85203


Lds‐Thunder Mountain Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
7752 E Mcdowell Rd
Mesa, Az 85207


Lds‐Thunderbird Hills Ward
Phoenix Az, Tbird Park Stk
Grand Canyon Council 010
5104 W Pinnacle Peak Rd
Glendale, Az 85310


Lds‐Tijeras Canyon Ward
Santa Margarita Stake
Orange County Council 039
30522 Via Con Dios
Rancho Santa Margarita, Ca 92688


Lds‐Tikishla Park Ward‐Anchorage N Stake
Great Alaska Council 610
2501 Maplewood St
Anchorage, Ak 99508


LDS‐Timber Ridge Ward‐West Stake
Alamo Area Council 583
7100 Wilder St
San Antonio, TX 78250


Lds‐Tithing Hill Ward
Rvrtn Ut Summerhill Stk
Great Salt Lake Council 590
1208 W 12400 S
Riverton, Ut 84065


LDS‐Tokyo South Stake
Far E Council 803
Minami‐Azabu
Tokyo, Minato‐Ku 106
Japan


LDS‐Toll Canyon Ward/Park City Ut Stk
Great Salt Lake Council 590
2555 Kilby Rd
Park City, UT 84098


Lds‐Tolleson Ward‐Phoenix Az
West Maricopa Stk
Grand Canyon Council 010
701 N 95Th Ave
Tolleson, Az 85353


Lds‐Tooele 10Th Ward
Tooele Ut Valley View Stk
Great Salt Lake Council 590
132 N 570 E
Tooele, Ut 84074


LDS‐Tooele 11Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
180 S Coleman St
Tooele, UT 84074
Lds‐Tooele 12Th Branch Tongan
Sl Utah Stk Tongan
Great Salt Lake Council 590
196 Pinehurst Ave
Tooele, Ut 84074


LDS‐Tooele 13Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
1025 Swest Dr
Tooele, UT 84074


LDS‐Tooele 14Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
192 W 200 S
Tooele, UT 84074


LDS‐Tooele 15Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
1030 S 900 W
Tooele, UT 84074


LDS‐Tooele 17Th Ward/Tooele Ut East Stk
Great Salt Lake Council 590
132 N 570 E
Tooele, UT 84074


Lds‐Tooele 18Th Ward
Tooele Utah West Stake
Great Salt Lake Council 590
1000 W Utah Ave
Tooele, Ut 84074


LDS‐Tooele 19Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
1030 S 900 W
Tooele, UT 84074


LDS‐Tooele 1St Ward/Tooele Ut Stk
Great Salt Lake Council 590
156 W Heritage Hill Dr
Tooele, UT 84074
Lds‐Tooele 26Th Ward
Tooele Utah West Stake
Great Salt Lake Council 590
1025 W Utah Ave
Tooele, Ut 84074


LDS‐Tooele 28Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
1025 Swest Dr
Tooele, UT 84074


LDS‐Tooele 29Th Ward/Tooele Ut North Stk
Great Salt Lake Council 590
583 N 270 E
Tooele, UT 84074


LDS‐Tooele 2Nd Ward/Tooele Ut North Stk
Great Salt Lake Council 590
583 N 270 E
Tooele, UT 84074


LDS‐Tooele 3Rd Ward/Tooele Ut North Stk
Great Salt Lake Council 590
141 W Utah Ave
Tooele, UT 84074


LDS‐Tooele 4Th Ward/Tooele Ut South Stk
Great Salt Lake Council 590
192 W 200 S
Tooele, UT 84074


LDS‐Tooele 5Th Ward/Tooele Ut North Stk
Great Salt Lake Council 590
583 N 270 E
Tooele, UT 84074


LDS‐Tooele 6Th Ward/Tooele Ut Stk
Great Salt Lake Council 590
253 S 200 E
Tooele, UT 84074


Lds‐Tooele 7Th Ward
Tooele Utah West Stake
Great Salt Lake Council 590
1025 W Utah Ave
Tooele, Ut 84074


Lds‐Tooele 8Th Ward
Tooele Ut Valley View Stk
Great Salt Lake Council 590
196 N Pinehurst Ave
Tooele, Ut 84074


Lds‐Towne Meadows Ward‐Gilbert Az
Superstition Springs Stk
Grand Canyon Council 010
938 N Owl Cir
Gilbert, Az 85234


LDS‐Trailridge Ward
Hawkeye Area Council 172
4300 Trailridge Rd Se
Cedar Rapids, IA 52403


Lds‐Trailside Ward‐Phoenix Az
South Mountain Stk
Grand Canyon Council 010
7133 S 68Th Gln
Laveen, Az 85339


LDS‐Tres Lagos Ward‐Menifee Stake
California Inland Empire Council 045
225 Mildred St
Perris, CA 92571


LDS‐Tri City Ward‐Placentia Stake
Orange County Council 039
210 Livingston Ave
Placentia, CA 92870


LDS‐Tuba City 2Nd Ward‐Tuba City Az Stk
Grand Canyon Council 010
21 W Moenavi
Tuba City, AZ 86045
LDS‐Tudor Ward‐Anchorage North Stake
Great Alaska Council 610
4001 Macinnes St
Anchorage, AK 99508


LDS‐Tulao 2Nd Ward‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 4786
Pago Pago, AS 96799


LDS‐Tulao Ward‐Pago Samoa Stake
Aloha Council, Bsa 104
P.O. Box 910
Pago Pago, AS 96799


LDS‐Tuscany Ward/Fort Herriman Ut Stk
Great Salt Lake Council 590
12809 S Palermo St
Herriman, UT 84096


LDS‐Tustin Meadows Ward‐Orange Stake
Orange County Council 039
1800 San Juan St
Tustin, CA 92780


Lds‐Tville Gardens 1St Ward
Tville Ut Central Stk
Great Salt Lake Council 590
4252 Bennion Rd
Taylorsville, Ut 84129


Lds‐Tville Gardens 2Nd Ward
Tville Ut Central Stk
Great Salt Lake Council 590
4252 Bennion Rd
Salt Lake City, Ut 84129


Lds‐Twelve Oaks 1St Ward‐Tempe Az
South Stk
Grand Canyon Council 010
1528 E Knox Rd
Tempe, Az 85284
Lds‐Twelve Oaks 2Nd Ward‐Tempe Az
South Stk
Grand Canyon Council 010
10 S Twelve Oaks Blvd
Chandler, Az 85226


LDS‐Twentieth Ward/Salt Lake Ensign Stk
Great Salt Lake Council 590
107 G St
Salt Lake City, UT 84103


LDS‐Twenty Fifth Ward/S L Pioneer Stk
Great Salt Lake Council 590
1145 W 500 S
Salt Lake City, UT 84104


LDS‐Twenty Sixth Ward/S L Pioneer Stk
Great Salt Lake Council 590
1145 W 500 S
Salt Lake City, UT 84104


Lds‐Twin City Ward‐Beaumont Stake
Three Rivers Council 578
3939 Turtle Creek Dr
Port Arthur, TX 77642


Lds‐Twin Knolls Ward‐Mesa Az
Flat Iron Stk
Grand Canyon Council 010
6942 E Brown Rd
Mesa, Az 85207


LDS‐Udall Ward‐Mesa Az Stk
Grand Canyon Council 010
15 W 1st Ave
Mesa, AZ 85210


LDS‐Umatilla Ward‐Hermiston Stake
Blue Mountain Council 604
103 Cowlitz St
Umatilla, OR 97882
Lds‐Uni Heights Ward‐Riverside Stake
California Inland Empire Council 045
181 W Blaine St
Riverside, Ca 92507


Lds‐Uni Park Ward‐Newport Beach Stake
Orange County Council 039
2150 Bonita Canyon Dr
Newport Beach, Ca 92660


Lds‐Union 1St Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1535 Creek Rd
Sandy, Ut 84093


Lds‐Union 2Nd Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1535 Creek Rd
Sandy, Ut 84093


Lds‐Union 3Rd Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1535 Creek Rd
Cottonwood Heights, Ut 84093


Lds‐Union 4Th Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1834 Creek Rd
Sandy, Ut 84093


Lds‐Union 5Th Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
7784 Highland Dr
Salt Lake City, Ut 84121


Lds‐Union 6Th Ward
Sandy Ut Cottonwood Creek Stk
Great Salt Lake Council 590
1433 Old Mission Rd
Sandy, Ut 84093


LDS‐Union City Ward‐Hayward Stake
San Francisco Bay Area Council 028
34601 Alvarado Niles Rd
Union City, CA 94587


Lds‐Union Fort 2Nd Ward
Midvale Ut Union Fort Stk
Great Salt Lake Council 590
7155 S 540 E
Midvale, Ut 84047


Lds‐Union Fort 3Rd Ward
Midvale Ut Union Fort Stk
Great Salt Lake Council 590
6710 S 1300 E
Cottonwood Heights, Ut 84121


Lds‐Union Fort 5Th Ward
Midvale Ut Union Fort Stk
Great Salt Lake Council 590
6770 S 500 E
Midvale, Ut 84047


LDS‐Union Fort 6Th Ward/Union Fort Stake
Great Salt Lake Council 590
7155 S 549 E
Midvale, UT 84047


Lds‐Union Fort 7Th Ward
Midvale Ut Union Fort Stk
Great Salt Lake Council 590
6770 S 500 E
Midvale, Ut 84047


Lds‐Union Park 1St Ward
Midvale Ut Union Park Stk
Great Salt Lake Council 590
7699 Chad St
Midvale, Ut 84047


Lds‐Union Park 2Nd Ward
Midvale Ut Union Park Stk
Great Salt Lake Council 590
700 E 7500 S
Midvale, Ut 84047


Lds‐Union Park 3Rd Ward
Midvale Ut Union Park Stk
Great Salt Lake Council 590
8060 S 615 E
Sandy, Ut 84070


Lds‐Union Park 4Th Ward
Midvale Ut Union Park Stk
Great Salt Lake Council 590
700 E 7500 S
Midvale, Ut 84047


Lds‐Union Park 5Th Ward
Midvale Ut Union Park Stk
Great Salt Lake Council 590
7699 Chad St
Midvale, Ut 84047


Lds‐Union Park 6Th Ward
Midvale Ut Union Park Stk
Great Salt Lake Council 590
8060 S 615 E
Sandy, Ut 84070


Lds‐Union Park 9Th Br Span
Mdvl Ut Union Park Stk
Great Salt Lake Council 590
7699 Chad St
Midvale, Ut 84047


LDS‐Union Ward‐Kennewick East Stake
Blue Mountain Council 604
505 S Union St
Kennewick, WA 99336
LDS‐Union Ward‐La Grande Stake
Blue Mountain Council 604
P.O. Box 464
Union, OR 97883


LDS‐Unit 47015
Choctaw Area Council 302
5805 N Hills St
Meridian, MS 39307


LDS‐Universal City Ward‐East Stake
Alamo Area Council 583
13201 Forum Rd
Universal City, TX 78148


LDS‐University Ward/S L Central Stk
Great Salt Lake Council 590
160 S University St
Salt Lake City, UT 84102


LDS‐Upland 1St Ward‐Upland Stake
California Inland Empire Council 045
785 N San Antonio Ave
Upland, CA 91786


LDS‐Upland 2Nd Ward‐Upland Stake
California Inland Empire Council 045
785 N San Antonio Ave
Upland, CA 91786


LDS‐Upland 3Rd Ward‐Upland Stake
California Inland Empire Council 045
1130 W 21st St
Upland, CA 91784


LDS‐Upland 5Th Ward‐Upland Stake
California Inland Empire Council 045
6525 Sapphire St
Alta Loma, CA 91701


LDS‐Upton Ward/Coalville Ut Stk
Great Salt Lake Council 590
2455 E Chalk Creek Rd
Coalville, UT 84017


LDS‐Utica Ward‐Utica Stake
Leatherstocking 400
8439 Clark Mills Rd
Whitesboro, NY 13492


LDS‐Uvalde
Texas Swest Council 741
420 Ham Ln
Uvalde, TX 78801


LDS‐Vail Ranch Ward‐Temecula Stake
California Inland Empire Council 045
45458 Camino Monzon
Temecula, CA 92592


Lds‐Vaiola Ward Samoan
N S L Parkway Stk
Great Salt Lake Council 590
55 E 350 N
North Salt Lake, Ut 84054


Lds‐Val Verda 1St Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
2633 S 50 W
Bountiful, Ut 84010


Lds‐Val Verda 2Nd Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
3317 S 800 W
Bountiful, Ut 84010


Lds‐Val Verda 3Rd Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
2651 S 500 W
Bountiful, Ut 84010
Lds‐Val Verda 4Th Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
132 W 2700 S
Bountiful, Ut 84010


Lds‐Val Verda 5Th Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
2633 S 50 W
Bountiful, Ut 84010


Lds‐Val Verda 6Th Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
2651 S 500 W
Bountiful, Ut 84010


Lds‐Val Verda 8Th Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
2651 S 500 W
Bountiful, Ut 84010


Lds‐Val Verda 9Th Ward
Bntfl Ut Val Verda Stk
Great Salt Lake Council 590
3317 S 800 W
Bountiful, Ut 84010


LDS‐Val Vista Ward‐Gilbert Az Stk
Grand Canyon Council 010
230 N Val Vista Dr
Gilbert, AZ 85234


LDS‐Val Vista Ward‐Hemet Stake
California Inland Empire Council 045
1151 Park Ave
San Jacinto, CA 92583


Lds‐Val Vista Ward‐Mesa Az
Mountain View Stk
Grand Canyon Council 010
1550 N Val Vista Dr
Mesa, Az 85213


LDS‐Valdez Branch‐Palmer Stake
Great Alaska Council 610
P.O. Box 7
Valdez, AK 99686


Lds‐Valencia Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
3344 E Mcdowell Rd
Mesa, Az 85213


LDS‐Vallejo 1St Ward‐Napa Stake
Mt Diablo‐Silverado Council 023
110 Los Santos Ct
Vallejo, CA 94590


LDS‐Vallejo 2Nd Ward‐Napa Stake
Mt Diablo‐Silverado Council 023
110 Los Santos Ct
Vallejo, CA 94590


LDS‐Valley Center Ward‐Wichita Stake
Quivira Council, Bsa 198
528 W 5th St
Valley Center, KS 67147


LDS‐Valley Hi‐Sa Stake
Alamo Area Council 583
9626 Adams Hills
San Antonio, TX 78245


Lds‐Valley Park 1St Ward
Tville Ut Valley Park Stk
Great Salt Lake Council 590
4986 Valois Dr
Salt Lake City, Ut 84129


Lds‐Valley Park 2Nd Ward
Tville Ut Valley Park Stk
Great Salt Lake Council 590
5233 S 3200 W
Salt Lake City, Ut 84129


Lds‐Valley Park 3Rd Ward
Tville Ut Valley Park Stk
Great Salt Lake Council 590
2603 W 4700 S
Taylorsville, Ut 84129


Lds‐Valley Park 5Th Ward
Tville Ut Valley Park Stk
Great Salt Lake Council 590
2603 W 4700 S
Taylorsville, Ut 84129


Lds‐Valley Park 6Th Ward
Tville Ut Valley Park Stk
Great Salt Lake Council 590
5233 S 3200 W
Taylorsville, Ut 84129


Lds‐Valley Ridge Ward
Kearns Ut Central Stk
Great Salt Lake Council 590
5823 S 4800 W
Kearns, Ut 84118


Lds‐Valley View 10Th Ward
S L Valley View Stk
Great Salt Lake Council 590
1747 E Orchard Dr
Salt Lake City, Ut 84106


Lds‐Valley View 11Th Ward
S L Holladay North Stk
Great Salt Lake Council 590
1925 E Gunderson Ln
Salt Lake City, Ut 84124


Lds‐Valley View 12Th Ward
S L Valley View Stk
Great Salt Lake Council 590
2125 Evergreen Ave
Salt Lake City, Ut 84109


Lds‐Valley View 1St Ward
S L Valley View Stk
Great Salt Lake Council 590
3820 S 2000 E
Salt Lake City, Ut 84109


Lds‐Valley View 2Nd Ward
S L Holladay North Stk
Great Salt Lake Council 590
4395 Albright Dr
Salt Lake City, Ut 84124


Lds‐Valley View 3Rd Ward
S L Holladay North Stk
Great Salt Lake Council 590
1925 E Gunderson Ln
Salt Lake City, Ut 84124


Lds‐Valley View 4Th Ward
S L Valley View Stk
Great Salt Lake Council 590
2125 Evergreen Ave
Salt Lake City, Ut 84109


Lds‐Valley View 5Th Ward
S L Valley View Stk
Great Salt Lake Council 590
2245 E 3900 S
Salt Lake City, Ut 84109


Lds‐Valley View 6Th Ward
S L Valley View Stk
Great Salt Lake Council 590
2245 E 3900 S
Salt Lake City, Ut 84124


Lds‐Valley View 7Th Ward
S L Valley View Stk
Great Salt Lake Council 590
2245 E 3900 S
Salt Lake City, Ut 84109


Lds‐Valley View 8Th Ward
S L Holladay North Stk
Great Salt Lake Council 590
4395 Albright Dr
Holladay, Ut 84124


Lds‐Valley View 9Th Ward
S L Holladay North Stk
Great Salt Lake Council 590
1925 E Gunderson Ln
Salt Lake City, Ut 84124


Lds‐Valley View Ward
Kearns Ut Central Stk
Great Salt Lake Council 590
5927 Park Wood Dr
Kearns, Ut 84118


Lds‐Valley View Ward
S L Hunter South Stk
Great Salt Lake Council 590
5180 W 4700 S
Salt Lake City, Ut 84120


LDS‐Valley View Ward‐Cypress Stake
Orange County Council 039
4000 Orange Ave
Cypress, CA 90630


Lds‐Valley View Ward‐Mesa Az
Citrus Heights Stk
Grand Canyon Council 010
3344 E Mcdowell Rd
Mesa, Az 85213


LDS‐Valley View Ward‐Moreno Valley Stake
California Inland Empire Council 045
11557 Redlands Blvd
Moreno Valley, CA 92555
LDS‐Valparaiso Ward‐Valparaiso Stake
Lasalle Council 165
503 Burlington Beach Rd
Valparaiso, IN 46383


LDS‐Vernon Ward/Tooele Ut Stk
Great Salt Lake Council 590
P.O. Box 114
Vernon, UT 84080


LDS‐Verrado Ward‐Surprise Az West Stk
Grand Canyon Council 010
19322 W Indian School Rd
Litchfield Park, AZ 85340


Lds‐Via Verde Ward‐Paradise Valley Az
Stk
Grand Canyon Council 010
3010 E Thunderbird Rd
Phoenix, Az 85032


LDS‐Victoria Ward‐Bay City Stake
South Texas Council 577
3408 N Ben Wilson St
Victoria, TX 77901


LDS‐Victoria Ward‐Rancho Cucamonga Stake
California Inland Empire Council 045
6829 Etiwanda Ave
Rancho Cucamonga, CA 91739


Lds‐Viewpoint Ward‐Mesa Az
Salt River Stk
Grand Canyon Council 010
5620 E Adobe Rd
Mesa, Az 85205


Lds‐Villa De Paz Ward‐Phoenix Az
West Maricopa Stk
Grand Canyon Council 010
10930 W Garden Lakes Pkwy
Avondale, Az 85392
LDS‐Village Ward‐Apple Valley Stake
California Inland Empire Council 045
12242 Navajo Rd
Apple Valley, CA 92308


Lds‐Vincenz Ward‐Gilbert Az
Williams Field Stk
Grand Canyon Council 010
2700 E Galveston St
Gilbert, Az 85529


LDS‐Vineyard Ward‐Mesa Az Maricopa Stk
Grand Canyon Council 010
1054 W 2nd Pl
Mesa, AZ 85201


Lds‐Vineyard Ward‐Phoenix Az
South Mountain Stk
Grand Canyon Council 010
650 W Sern
Phoenix, Az 85041


LDS‐Vineyard Ward‐Stv Az North Stk
Grand Canyon Council 010
1150 W Combs Rd
San Tan Valley, AZ 85140


Lds‐Vintage Ranch Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
2740 S Lindsay Rd
Gilbert, Az 85295


LDS‐Virden Ward‐Duncan Stake
Grand Canyon Council 010
P.O. Box 955
Duncan, AZ 85534


LDS‐Vista ‐ Fallbrook 1St Ward
San Diego Imperial Council 049
621 S Stage Coach Ln
Fallbrook, CA 92028


LDS‐Vista ‐ Fallbrook 2Nd Ward
San Diego Imperial Council 049
621 S Stage Coach Ln
Fallbrook, CA 92028


LDS‐Vista ‐ Fallbrook 5Th Ward
San Diego Imperial Council 049
451 W Bobier Dr
Vista, CA 92083


LDS‐Vista ‐ Vista 10Th Ward
San Diego Imperial Council 049
1545 S Melrose Dr
Vista, CA 92081


LDS‐Vista ‐ Vista 1St Ward
San Diego Imperial Council 049
451 W Bobier Dr
Vista, CA 92083


LDS‐Vista ‐ Vista 3Rd Ward
San Diego Imperial Council 049
1393 Sunset Dr
Vista, CA 92081


LDS‐Vista ‐ Vista 4Th Sp Ward
San Diego Imperial Council 049
1310 Foothill Dr
Vista, CA 92084


LDS‐Vista ‐ Vista 5Th Ward
San Diego Imperial Council 049
1545 S Melrose Dr
Vista, CA 92081


LDS‐Vista ‐ Vista 8Th Ward
San Diego Imperial Council 049
451 W Bobier Dr
Vista, CA 92083
LDS‐Vista ‐ Vista 9Th Ward
San Diego Imperial Council 049
451 E Bobier Dr
Vista, CA 92084


Lds‐Vista Peaks Ward‐Mesa Az
Red Mountain Stk
Grand Canyon Council 010
5350 E Mclellan Rd
Mesa, Az 85205


Lds‐Vista View Ward
North Salt Lake Utah Stake
Great Salt Lake Council 590
900 Eagle Pointe Dr
North Salt Lake, Ut 84054


Lds‐Vly Ranch Ward‐San Antonio W Stake
Alamo Area Council 583
13130 Waterlily Way
San Antonio, Tx 78254


Lds‐Volta Ward Samoan
Sl Granger South Stk
Great Salt Lake Council 590
4006 S 3600 W
West Valley, Ut 84120


Lds‐Voyager Ward‐Gilbert Az
Val Vista Stk
Grand Canyon Council 010
1005 N Voyager Dr
Gilbert, Az 85234


LDSW Allis Ward Milw Wi S Stake
Three Harbors Council 636
9600 W Grange Ave
Hales Corners, Wi 53130


Lds‐W J 8Th Tongan Ward
Sl Ut So Tongan Stk
Great Salt Lake Council 590
8435 S 2700 W
West Jordan, Ut 84084


LDS‐Waddell Ward‐Surprise Az West Stk
Grand Canyon Council 010
14111 W Wigwam Blvd
Litchfield, AZ 85340


LDS‐Wadsworth Ward‐Akron Stake
Great Trail 433
7176 Harps Mill Dr
Wadsworth, OH 44281


Lds‐Wagon Wheel Ward‐White Mountain Az
Stk
Grand Canyon Council 010
2613 Ellsworth Ave
Show Low, Az 85901


LDS‐Wahiawa 2Nd Ward‐Mililani Stake
Aloha Council, Bsa 104
44 Leilehua Rd
Wahiawa, HI 96786


LDS‐Wahiawa 3Rd Ward‐ Mililani Stake
Aloha Council, Bsa 104
44 Leilehua Rd
Wahiawa, HI 96786


LDS‐Waialua Ward‐Mililani Stake
Aloha Council, Bsa 104
66‐847 Kaukonahua Rd
Waialua, HI 96791


LDS‐Waianae Ward‐Makakilo Stake
Aloha Council, Bsa 104
85‐574 Plantation Rd
Waianae, HI 96792


LDS‐Waikahe Ward‐Hilo Hawaii Stake
Aloha Council, Bsa 104
P.O. Box 1837
Keaau, HI 96749


LDS‐Waikoloa Ward‐Kona Coast Stake
Aloha Council, Bsa 104
P.O. Box 385278
Waikoloa, HI 96738


LDS‐Waimanalo Ward‐Kaneohe Stake
Aloha Council, Bsa 104
41‐972 Oluolu St
Waimanalo, HI 96795


LDS‐Waimea 1St Ward‐Kona Stake
Aloha Council, Bsa 104
P.O. Box 2988
Kamuela, HI 96743


LDS‐Waimea 2Nd Ward‐Kona Stake
Aloha Council, Bsa 104
65‐1168 Kapi Olani Rd
P.O. Box 2781
Kamuela, HI 96743


LDS‐Waipahu 1St Ward‐Waipahu Stake
Aloha Council, Bsa 104
94‐494 Farrington Hwy 301
Waipahu, HI 96797


LDS‐Waipahu 2Nd Ward‐Waipahu Stake
Aloha Council, Bsa 104
94‐210 Kahualii St
Waipahu, HI 96797


LDS‐Waipahu 3Rd Ward‐Waipahu Stake
Aloha Council, Bsa 104
94‐210 Kahualii St
Waipahu, HI 96797


LDS‐Waipiolani Ward‐Mililani Stake
Aloha Council, Bsa 104
95‐1039 Meheula Pkwy
Mililani, HI 96789
Lds‐Walla Walla 1St Ward
Walla Walla Stake
Blue Mountain Council 604
1821 S 2Nd Ave
Walla Walla, Wa 99362


Lds‐Walla Walla 2Nd Ward
Walla Walla Stake
Blue Mountain Council 604
1821 S 2Nd Ave
Walla Walla, Wa 99362


Lds‐Walla Walla 3Rd Ward
Walla Walla Stake
Blue Mountain Council 604
1821 S 2Nd Ave
Walla Walla, Wa 99362


Lds‐Walnut Canyon Ward‐Flagstaff Az
East Stk
Grand Canyon Council 010
625 E Cherry Ave
Flagstaff, Az 86001


LDS‐Walnut Creek 2Nd Ward Oakland St
Mt Diablo‐Silverado Council 023
2369 Overlook Dr
Walnut Creek, CA 94597


LDS‐Walnut Grove Ward‐Memphis Stake
Chickasaw Council 558
8150 Walnut Grove Rd
Cordova, TN 38018


Lds‐Walnut Hills 2Nd Ward
Kearns Ut West Stk
Great Salt Lake Council 590
5938 W 6200 S
Salt Lake City, Ut 84118


LDS‐Walnut Park Ward‐Chino Stake
California Inland Empire Council 045
4321 Philadelphia St
Chino, CA 91710


LDS‐Wandamere Ward/South Salt Lake Stk
Great Salt Lake Council 590
304 E 2700 S
Salt Lake City, UT 84115


Lds‐Wanderwood Ward
Sandy Ut Crescent Stk
Great Salt Lake Council 590
2135 Pepperwood Dr
Sandy, Ut 84092


LDS‐Wanship Ward/Coalville Ut Stk
Great Salt Lake Council 590
31000 Old Lincoln Hwy
Wanship, UT 84017


LDS‐Ward
Tuscarora Council 424
130 Mormon Church Rd
Mount Olive, NC 28365


LDS‐Ward 044059 Goldsboro, Nc Stake
Tuscarora Council 424
Goldsboro I Ward
Goldsboro, NC 27530


LDS‐Ward 045497
Tuscarora Council 424
4224 Nc 111 S
Seven Springs, NC 28578


LDS‐Ward 1, Iowa City, Ia Stake
Hawkeye Area Council 172
570 Dublin Dr
Iowa City, IA 52246


LDS‐Ward 1‐Rockford Stake
Blackhawk Area 660
620 N Alpine Rd
Rockford, IL 61107


LDS‐Ward 2, Iowa City, Ia Stake
Hawkeye Area Council 172
570 Dublin Dr
Iowa City, IA 52246


LDS‐Ward 4, Iowa City, Ia Stake
Hawkeye Area Council 172
2730 Bradford Dr
Iowa City, IA 52240


Lds‐Ward Canyon Ward
Bntfl Ut Heights Stake
Great Salt Lake Council 590
540 N 1200 E
Bountiful, Ut 84010


LDS‐Warrenton Ward‐North County Stake
Greater St Louis Area Council 312
Highway 47 N
Warrenton, MO 63383


Lds‐Wasatch 2Nd Ward
Salt Lake Wasatch Stake
Great Salt Lake Council 590
2895 E Creek Rd
Cottonwood Heights, Ut 84093


LDS‐Wasatch 3Rd Ward/S L Wasatch Stk
Great Salt Lake Council 590
8170 S Shorthills Dr
Cottonwood Heights, UT 84121


LDS‐Wasatch 4Th Ward/S L Wasatch Stk
Great Salt Lake Council 590
8170 S Shorthills Dr
Salt Lake City, UT 84121


LDS‐Wasatch 5Th Ward/S L Wasatch Stk
Great Salt Lake Council 590
8100 S Top of the World Dr
Salt Lake City, UT 84121


LDS‐Wasatch 6Th Ward/S L Wasatch Stk
Great Salt Lake Council 590
3625 Doverhill Dr
Salt Lake City, UT 84121


Lds‐Wasatch Hills Ward
Sl Monument Pk Stk
Great Salt Lake Council 590
2255 Wasatch Dr
Salt Lake City, Ut 84109


LDS‐Wasatch Ward/S L Hillside Stk
Great Salt Lake Council 590
1750 S 1500 E
Salt Lake City, UT 84105


LDS‐Washington Branch, Iowa City,Ia Stk
Hawkeye Area Council 172
1202 N Iowa Ave
Washington, IA 52353


LDS‐Washington Ward‐St Louis Stake
Greater St Louis Area Council 312
110 E 14th St
Washington, MO 63090


LDS‐Wasilla Alaska Stake
Great Alaska Council 610
868 W Moose Park Dr
Wasilla, AK 99654


LDS‐Wasilla Ward‐Wasilla Stake
Great Alaska Council 610
P.O. Box 871607
Wasilla, AK 99687


Lds‐Waterloo Ward
Salt Lake Liberty Stake
Great Salt Lake Council 590
1623 S 500 E
Salt Lake City, Ut 84105


LDS‐Waterloo Ward‐Cedar Rapids, Ia
Winnebago Council, Bsa 173
3006 Pleasant Dr
Cedar Falls, IA 50613


LDS‐Waterloo Ward‐Cedar Rapids, Ia
Winnebago Council, Bsa 173
729 Hammond Ave
Bishop Morgan Lasley
Waterloo, IA 50702


LDS‐Waterman Ward‐S B Stake
California Inland Empire Council 045
3860 N Waterman Ave
San Bernardino, CA 92404


Lds‐Wchester Ward‐Anchorage N Stake
Great Alaska Council 610
3310 W 40Th Ave
Anchorage, Ak 99517


LDS‐Webb City Ward‐Joplin Stake
Ozark Trails Council 306
1338 E Fairview Ave
Carthage, MO 64836


Lds‐Webster Groves Ward‐S St Louis Stake
Greater St Louis Area Council 312
4511 Butler Hill Rd
Saint Louis, Mo 63128


LDS‐Welby 1St Ward/W J Ut Welby Stk
Great Salt Lake Council 590
9376 S 4000 W
West Jordan, UT 84088


LDS‐Welby 3Rd Ward/W J Ut Welby Stk
Great Salt Lake Council 590
8385 S 4800 W
West Jordan, UT 84088


LDS‐Welby 4Th Ward/W J Ut Welby Stk
Great Salt Lake Council 590
4213 Cache Creek Cir
West Jordan, UT 84088


LDS‐Welby 5Th Ward/W J Ut Welby Stk
Great Salt Lake Council 590
8841 S 4800 W
West Jordan, UT 84088


LDS‐Welby 6Th Ward/W J Ut Welby Stk
Great Salt Lake Council 590
8841 S 4800 W
West Jordan, UT 84088


LDS‐Welby 7Th Ward/W J Ut Welby Stk
Great Salt Lake Council 590
8385 S 4800 W
West Jordan, UT 84088


LDS‐Welby 8Th Ward/W J Ut Welby Stk
Great Salt Lake Council 590
8385 S 4800 W
West Jordan, UT 84088


LDS‐Welby 9Th Ward/W J Ut Welby Stk
Great Salt Lake Council 590
8841 S 4800 W
West Jordan, UT 84088


LDS‐Wellington Ward‐Wichita Stake
Quivira Council, Bsa 198
1003 W 22nd St
Wellington, KS 67152


LDS‐Wells Ward/S L Granite Stake
Great Salt Lake Council 590
607 Downington Ave
Salt Lake City, UT 84105
LDS‐Wellton Ward‐Yuma Az Stk
Grand Canyon Council 010
199775 E Country St
Wellton, AZ 85365


LDS‐Wendover Branch/Wendover Ut District
Great Salt Lake Council 590
P.O. Box 1500
269 2nd St
Wendover, UT 84083


LDS‐Wentzville Ward‐North County Stake
Greater St Louis Area Council 312
3619 N Hwy 47
Warrenton, MO 63383


Lds‐West Bountful 7Th Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
311 N 800 W
West Bountiful, Ut 84087


Lds‐West Bountiful 10Th Ward
West Bountiful UT Stk
Great Salt Lake Council 590
1930 N 600 W
West Bountiful, Ut 84087


Lds‐West Bountiful 1St Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
311 N 800 W
West Bountiful, Ut 84087


Lds‐West Bountiful 2Nd Ward
West Bountiful UT Stk
Great Salt Lake Council 590
840 N 800 W
West Bountiful, Ut 84087


Lds‐West Bountiful 3Rd Ward
West Bountiful UT Stk
Great Salt Lake Council 590
840 N 800 W
West Bountiful, Ut 84087


Lds‐West Bountiful 4Th Ward
West Bountiful UT Stk
Great Salt Lake Council 590
1930 N 600 W
West Bountiful, Ut 84087


Lds‐West Bountiful 5Th Ward
West Bountiful UT Stk
Great Salt Lake Council 590
840 N 800 W
West Bountiful, Ut 84087


Lds‐West Bountiful 6Th Ward
West Bountiful UT Stk
Great Salt Lake Council 590
1750 N 900 W
West Bountiful, Ut 84087


Lds‐West Bountiful 8Th Ward
Bntfl Ut Stone Creek Stk
Great Salt Lake Council 590
311 N 800 W
West Bountiful, Ut 84087


Lds‐West Bountiful 9Th Ward
West Bountiful UT Stk
Great Salt Lake Council 590
1930 N 600 W
West Bountiful, Ut 84087


LDS‐West Grove Ward‐Cypress Stake
Orange County Council 039
12160 Valley View St
Garden Grove, CA 92845


Lds‐West Jordan 19Th Ward
West Jordan Ut Stk
Great Salt Lake Council 590
2666 W 7000 S
West Jordan, Ut 84084


Lds‐West Jordan 21St Ward
West Jordan Ut Stk
Great Salt Lake Council 590
7525 S 2700 W
West Jordan, Ut 84084


Lds‐West Jordan 27Th Ward
West Jordan Ut Stk
Great Salt Lake Council 590
2666 W 7000 S
West Jordan, Ut 84084


Lds‐West Jordan 28Th Ward
West Jordan Ut Stk
Great Salt Lake Council 590
2666 W 7000 S
West Jordan, Ut 84084


Lds‐West Jordan 57Th Ward
West Jordan Ut Stk
Great Salt Lake Council 590
7525 S 2700 W
West Jordan, Ut 84084


Lds‐West Jordan 66Th Ward
West Jordan Ut Stk
Great Salt Lake Council 590
7525 S 2700 W
West Jordan, Ut 84084


Lds‐West Jordan Ut Stake
West Jordan Ut Stake
Great Salt Lake Council 590
2666 W 7000 S
West Jordan, Ut 84084


LDS‐West Mountain Ward/Magna Ut Stk
Great Salt Lake Council 590
3610 S 8400 W
Magna, UT 84044
LDS‐West Plains Ward‐West Plains Stake
Ozark Trails Council 306
2800 Christie Dr
West Plains, MO 65775


LDS‐West Point Ward/S L Hunter South Stk
Great Salt Lake Council 590
5180 W 4700 S
Salt Lake City, UT 84118


Lds‐West Valley 9Th Ward Tongan
Sl Ut Stk Tongan
Great Salt Lake Council 590
3985 S 3200 W
Salt Lake City, Ut 84119


LDS‐West Wing Ward‐Peoria Az North Stk
Grand Canyon Council 010
9543 W Jomax Rd
Peoria, AZ 85383


Lds‐Westbrook 1St Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
6500 S Dixie Dr
West Jordan, Ut 84084


Lds‐Westbrook 2Nd Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
6500 S Dixie Dr
West Jordan, Ut 84084


Lds‐Westbrook 3Rd Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
6500 S Dixie Dr
West Jordan, Ut 84084


Lds‐Westbrook 4Th Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
6364 S 3200 W
Taylorsville, Ut 84129


Lds‐Westbrook 5Th Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
4113 W 6200 S
West Jordan, Ut 84084


Lds‐Westbrook 6Th Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
6340 S 3200 W
West Jordan, Ut 84084


Lds‐Westbrook 7Th Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
6364 S 3200 W
West Jordan, Ut 84084


Lds‐Westbrook 8Th Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
4113 W 6200 S
West Jordan, Ut 84084


Lds‐Westbrook 9Th Ward
W J Ut Westbrook Stk
Great Salt Lake Council 590
4113 W 6200 S
West Jordan, Ut 84084


Lds‐Western Hills 1St Ward
Kearns Ut Western Hills Stk
Great Salt Lake Council 590
4993 W 5360 S
Kearns, Ut 84118


Lds‐Western Hills 2Nd Ward
Kearns Ut Wstrn Hlls Stk
Great Salt Lake Council 590
5380 W 5400 S
Salt Lake City, Ut 84118


Lds‐Western Hills 3Rd Ward
Kearns Ut Wstrn Hlls Stk
Great Salt Lake Council 590
5380 W 5400 S
Salt Lake City, Ut 84118


Lds‐Western Hills 4Th Ward
Kearns Ut Wstrn Hlls Stk
Great Salt Lake Council 590
5107 S 5600 W
Kearns, Ut 84118


Lds‐Western Skies Ward‐Gilbert Az
Greenfield Stk
Grand Canyon Council 010
1155 E Ray Rd
Gilbert, Az 85296


LDS‐Westgate Ward‐Phoenix Az Stk
Grand Canyon Council 010
8702 W Campbell Ave
Phoenix, AZ 85037


LDS‐Westlake Ward/S L Granger North Stk
Great Salt Lake Council 590
3175 S 3450 W
Salt Lake City, UT 84119


Lds‐Westland 1St Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7645 S 3200 W
West Jordan, Ut 84084


Lds‐Westland 2Nd Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7171 S 2700 W
West Jordan, Ut 84084
Lds‐Westland 3Rd Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7265 S 2700 W
West Jordan, Ut 84084


Lds‐Westland 4Th Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7171 S 2700 W
West Jordan, Ut 84084


Lds‐Westland 5Th Spanish Ward
W J Ut Westland Stake
Great Salt Lake Council 590
7171 S 2700 W
West Jordan, Ut 84084


Lds‐Westland 6Th Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7265 S 2700 W
West Jordan, Ut 84084


Lds‐Westland 7Th Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7115 S 3200 W
West Jordan, Ut 84084


Lds‐Westland 8Th Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7115 S 3200 W
West Jordan, Ut 84084


Lds‐Westland 9Th Ward
W J Ut Westland Stk
Great Salt Lake Council 590
7115 S 3200 W
West Jordan, Ut 84084


LDS‐Westland Ward/Tooele Ut South Stk
Great Salt Lake Council 590
1030 S 900 W
Tooele, UT 84074


LDS‐Westpark Ward‐Buckeye Az Stk
Grand Canyon Council 010
25800 W Sern Ave
Buckeye, AZ 85326


LDS‐Westpark Ward‐Irvine Stake
Orange County Council 039
23 Lake Rd
Irvine, CA 92604


LDS‐Westpoint Ward‐Surprise Az Stk
Grand Canyon Council 010
15005 N Dysart Rd
El Mirage, AZ 85335


Lds‐Westridge 1St Br Yth Cntr
Sandy Ut Granite View Stk
Great Salt Lake Council 590
5500 W Bagley Park Rd
West Jordan, Ut 84081


Lds‐Westwood Heights 1St Ward
Kearns Ut Stk
Great Salt Lake Council 590
3976 Dimrall Dr
Taylorsville, Ut 84129


Lds‐Westwood Heights 2Nd Ward
Kearns Ut Stk
Great Salt Lake Council 590
3976 W Dimrall Dr
Taylorsville, Ut 84129


LDS‐Westwood Ward‐Mesa Az Maricopa Stk
Grand Canyon Council 010
613 N Stewart
Mesa, AZ 85201
LDS‐Wheaton Ward‐Naperville Stake
Three Fires Council 127
25W341 Ridgeland Rd
Naperville, IL 60563


LDS‐Whitaker Ward/Tooele Ut East Stk
Great Salt Lake Council 590
752 N 520 E
Tooele, UT 84074


LDS‐White Pine Ward/Tooele Ut East Stk
Great Salt Lake Council 590
752 N 520 E
Tooele, UT 84074


Lds‐White Tanks Mtn Ward‐Surprise Az
West Stk
Grand Canyon Council 010
15880 W Cactus Rd
Surprise, Az 85379


LDS‐Whittier Ward/S L Liberty Stake
Great Salt Lake Council 590
1480 S Edison St
1515 S 200 E
Salt Lake City, UT 84115


Lds‐Wickenburg Ward‐Surprise Az
North Stk
Grand Canyon Council 010
1350 W Wickenburg Way
Wickenburg, Az 85390


Lds‐Wilcox Meadows Ward
Syracuse Bluff Stake
Trapper Trails 589
700 S 2500 W
Syracuse, Ut 84075


LDS‐Wildflower Ward/Sandy Ut East Stk
Great Salt Lake Council 590
1880 E 9800 S
Sandy, UT 84092
LDS‐Wildomar Ward‐Lake Elsinore Stake
California Inland Empire Council 045
34350 Almond St
Wildomar, CA 92595


LDS‐Wilford 1St Ward/S L Wilford Stk
Great Salt Lake Council 590
3179 Highland Dr
Salt Lake City, UT 84106


LDS‐Willard Ward 1‐Springfield Stake
Ozark Trails Council 306
P.O. Box 25
Willard, MO 65781


LDS‐Williams Ward‐Flagstaff Az West Stk
Grand Canyon Council 010
1111 Stockman Rd
Williams, AZ 86046


LDS‐Williamsburg Ward‐Newport News Stake
Colonial Virginia Council 595
2017 Newman Rd
Williamsburg, VA 23188


Lds‐Williamson 4Th Ward‐Orange Stake
Three Rivers Council 578
6108 Hazelwood
Orange, TX 77632


Lds‐Williamson Valley Ward‐Prescott Az
Stk
Grand Canyon Council 010
2285 W Twinoaks Dr
Prescott, Az 86305


Lds‐Williamson Ward Iii‐Orange Stake
Three Rivers Council 578
285 Lakewood Dr
Vidor, TX 77662
Lds‐Williamson Ward Ii‐Orange Stake
Three Rivers Council 578
154 Aunt Sadie Rd
Vidor, TX 77662


Lds‐Williamson Ward Ii‐Orange Stake
Three Rivers Council 578
5925 Portie Rd
Vidor, TX 77662


Lds‐Willow Bend Ward
Farmington Ut Oakridge Stake
Great Salt Lake Council 590
2230 S 350 E
Kaysville, Ut 84037


Lds‐Willow Canyon Ward‐Surprise Az
North Stk
Grand Canyon Council 010
14878 N Verde Vista Dr
Surprise, Az 85388


Lds‐Willow Creek 1St Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2115 Sublette Pl
Sandy, Ut 84093


Lds‐Willow Creek 2Nd Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2400 Alta Canyon Cir
Sandy, Ut 84093


Lds‐Willow Creek 3Rd Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2400 Alta Canyon Dr
Sandy, Ut 84093


Lds‐Willow Creek 4Th Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2350 Creek Rd
Sandy, Ut 84093


Lds‐Willow Creek 6Th Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2115 Sublette Pl
Sandy, Ut 84093


Lds‐Willow Creek 7Th Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2115 Creek Rd
Sandy, Ut 84093


Lds‐Willow Creek 9Th Ward
Sandy Ut Willow Creek Stk
Great Salt Lake Council 590
2350 Creek Rd
Sandy, Ut 84093


LDS‐Willow Creek Branch‐Hermiston Stake
Blue Mountain Council 604
Hwy 74
Lexington, OR 97839


LDS‐Willow Creek Ward/Grantsville Ut Stk
Great Salt Lake Council 590
410 Shelley Ln
Grantsville, UT 84029


LDS‐Willow Creek Ward‐Prescott Az Stk
Grand Canyon Council 010
1101 Sandretto Dr
Prescott, AZ 86301


Lds‐Willow Crest Ward
Bennion Ut East Stk
Great Salt Lake Council 590
5980 S 1300 W
Salt Lake City, Ut 84123
Lds‐Willow Hills Ward
Sandy Ut Granite Stk
Great Salt Lake Council 590
2535 Newcastle Dr
Sandy, Ut 84093


LDS‐Willow Park/Logan South Stake
Trapper Trails 589
340 W 700 S
Logan S Stake
Logan, UT 84321


LDS‐Willow Ward‐Wasilla Stake
Great Alaska Council 610
7362 W Parks Hwy 776
Willow, AK 99688


Lds‐Willow Wood Ward
Centerville Ut North Stk
Great Salt Lake Council 590
1298 N 400 W
Centerville, Ut 84014


LDS‐Willowbrook Ward‐Kennewick Stake
Blue Mountain Council 604
10376 Ridgeline Dr
Kennewick, WA 99338


LDS‐Willows Ward‐Gilbert Az Gateway Stk
Grand Canyon Council 010
3290 E Tyson St
Gilbert, AZ 85295


Lds‐Wilmington 1St Ward
Wilmington Nc Stake
Cape Fear Council 425
514 S College Rd
Wilmington, Nc 28403


Lds‐Wilmington 2Nd Ward
Wilmington De Stake
Del Mar Va 081
143 Dickinson Ln
Wilmington, De 19807


Lds‐Wilmington 2Nd Ward
Wilmington Nc Stake
Cape Fear Council 425
514 S College Rd
Wilmington, Nc 28403


LDS‐Wilmington Ward‐Wilmington De Stake
Del Mar Va 081
143 Dickinson Ln
Wilmington, DE 19807


LDS‐Winchester Ward/Murray West Stake
Great Salt Lake Council 590
6300 S 700 W
Murray, UT 84123


LDS‐Winchester Ward‐Murrieta Stake
California Inland Empire Council 045
38980 Sky Canyon Dr
Murrieta, CA 92563


LDS‐Windcrest Ward‐East Stake
Alamo Area Council 583
8801 Midcrown Dr
Windcrest, TX 78239


LDS‐Winder 10Th Ward/S L Winder Stk
Great Salt Lake Council 590
4366 S 1500 E
Salt Lake City, UT 84124


LDS‐Winder 11Th Ward/S L Winder West Stk
Great Salt Lake Council 590
951 E 3825 S
Salt Lake City, UT 84106


LDS‐Winder 12Th Ward/S L Winder West Stk
Great Salt Lake Council 590
4350 S 1100 E
Salt Lake City, UT 84124


Lds‐Winder 18Th Branch Spanish
Sl Winder Stake
Great Salt Lake Council 590
4366 S 1500 E
Salt Lake City, Ut 84124


LDS‐Winder 2Nd Ward/S L Winder Stk
Great Salt Lake Council 590
1361 E 4000 S
Salt Lake City, UT 84124


LDS‐Winder 3Rd Ward/S L Winder West Stk
Great Salt Lake Council 590
4551 S 1200 E
Salt Lake City, UT 84117


LDS‐Winder 4Th Ward/S L Winder West Stk
Great Salt Lake Council 590
951 E 3825 S
Salt Lake City, UT 84106


LDS‐Winder 5Th Ward/S L Winder Stk
Great Salt Lake Council 590
1361 E 4000 S
Salt Lake City, UT 84124


LDS‐Winder 6Th Ward/S L Winder Stk
Great Salt Lake Council 590
4366 S 1500 E
Salt Lake City, UT 84124


LDS‐Winder 7Th Ward/S L Winder West Stk
Great Salt Lake Council 590
4350 S 1100 E
Salt Lake City, UT 84124


LDS‐Winder 9Th Ward/S L Winder Stk
Great Salt Lake Council 590
1475 E 4705 S
Salt Lake City, UT 84117
LDS‐Winder Ward‐Athens Stake
Northeast Georgia Council 101
36 Sims Rd
Winder, GA 30680


LDS‐Windrift Ward‐Gilbert Az Stk
Grand Canyon Council 010
365 N Lindsay Rd
Gilbert, AZ 85234


LDS‐Windrose Park Ward‐Peoria Az Stk
Grand Canyon Council 010
12951 N 83rd Ln
Peoria, AZ 85381


Lds‐Windsor Ward‐Mesa Az
Kimball East Stk
Grand Canyon Council 010
532 S Greenfield Rd
Mesa, Az 85206


LDS‐Wisconsin Rapids Ward‐Wausau Stake
Samoset Council, Bsa 627
2640 14th St S
Wisconsin Rapids, WI 54494


LDS‐Wiseman Ward‐Sa Stake
Alamo Area Council 583
10819 Military Dr W
San Antonio, TX 78251


Lds‐Wminster Ward
Huntington Beach N Stake
Orange County Council 039
14271 Locust St
Westminster, Ca 92683


LDS‐Wood Canyon Ward‐Laguna Niguel Stake
Orange County Council 039
22851 Aliso Creek Rd
Aliso Viejo, CA 92656
Lds‐Woodbriar Ward
North Salt Lake Ut Stk
Great Salt Lake Council 590
900 S Eaglepointe Dr
North Salt Lake, Ut 84054


LDS‐Woodbridge 2Nd Ward Irvine Stake
Orange County Council 039
23 Lake Rd
Irvine, CA 92604


LDS‐Woodbridge Ward‐Irvine Stake
Orange County Council 039
23 Lake Rd
Irvine, CA 92604


LDS‐Woodcrest Ward‐Riverside Stake
California Inland Empire Council 045
16930 Via Los Caballeros
Riverside, CA 92504


LDS‐Woodglen Park Ward‐Mesa Az Alma Stk
Grand Canyon Council 010
2520 N Hartford St
Chandler, AZ 85224


LDS‐Woodlake Ward‐Cibolo Valley Stake
Alamo Area Council 583
8801 Midcrown Dr
Windcrest, TX 78239


Lds‐Woodland Hills Ward
Bntfl Ut Central Stk
Great Salt Lake Council 590
640 S 750 E
Bountiful, Ut 84010


LDS‐Woodland Ward/Kamas Ut Stk
Great Salt Lake Council 590
2620 E State Rd 35
Kamas, UT 84036
LDS‐Woodlands Ward‐Flagstaff Az West Stk
Grand Canyon Council 010
4165 Lake Mary Rd
Flagstaff, AZ 86005


LDS‐Woodledge Ward/S L Hunter South Stk
Great Salt Lake Council 590
4444 S 5080 W
Salt Lake City, UT 84120


LDS‐Woodridge 1St Ward‐Naperville Stake
Three Fires Council 127
7201 Woodridge Dr
Woodridge, IL 60517


LDS‐Woodruff Ward‐Holbrook Az Stk
Grand Canyon Council 010
P.O. Box 85
Woodruff, AZ 85942


Lds‐Woods Cross 10Th Ward
Woods Cross Ut Stk
Great Salt Lake Council 590
1335 W 1500 S
Woods Cross, Ut 84087


Lds‐Woods Cross 11Th Ward
Woods Cross Ut Stk
Great Salt Lake Council 590
1335 W 1500 S
Woods Cross, Ut 84087


Lds‐Woods Cross 12Th Ward
W X Ut North Stk
Great Salt Lake Council 590
1509 W 1500 S
Woods Cross, Ut 84087


Lds‐Woods Cross 13Th Ward
W X Ut North Stk
Great Salt Lake Council 590
1509 W 1500 S
Woods Cross, Ut 84087


Lds‐Woods Cross 14Th Ward
North S L Ut Legacy Stk
Great Salt Lake Council 590
1847 W 2150 S
Woods Cross, Ut 84087


Lds‐Woods Cross 15Th Ward
Woods Cross Utah Stake
Great Salt Lake Council 590
2175 S 1500 W
Woods Cross, Ut 84087


Lds‐Woods Cross 17Th Ward
Nsl Ut Legacy Stake
Great Salt Lake Council 590
1847 W 2150 S
Woods Cross, Ut 84087


Lds‐Woods Cross 18Th Ward
North Sl Ut Legacy Stake
Great Salt Lake Council 590
2304 S 2125 W
Woods Cross, Ut 84087


Lds‐Woods Cross 1St Ward
Woods Cross Ut Stk
Great Salt Lake Council 590
2064 S 800 W
Woods Cross, Ut 84087


Lds‐Woods Cross 2Nd Ward
W X Ut North Stk
Great Salt Lake Council 590
790 W 1500 S
Woods Cross, Ut 84087


Lds‐Woods Cross 3Rd Ward
W X Ut North Stk
Great Salt Lake Council 590
1450 S 350 W
Bountiful, Ut 84010


Lds‐Woods Cross 4Th Ward
Woods Cross Ut Stk
Great Salt Lake Council 590
2175 S 1500 W
Woods Cross, Ut 84087


Lds‐Woods Cross 5Th Ward
Woods Cross Ut Stk
Great Salt Lake Council 590
2064 S 800 W
Woods Cross, Ut 84087


Lds‐Woods Cross 6Th Ward
W X Ut North Stk
Great Salt Lake Council 590
790 W 1500 S
Woods Cross, Ut 84087


Lds‐Woods Cross 7Th Ward
Woods Cross Ut Stk
Great Salt Lake Council 590
2064 S 800 W
Woods Cross, Ut 84087


Lds‐Woods Cross 8Th Branch
W X Ut North Stk
Great Salt Lake Council 590
1450 S 350 W
Bountiful, Ut 84010


Lds‐Woods Cross 9Th Ward
W X Ut North Stk
Great Salt Lake Council 590
790 W 1500 S
Woods Cross, Ut 84087


LDS‐Woodview Ward/Kearns Ut West Stk
Great Salt Lake Council 590
6175 Borax Ave
Salt Lake City, UT 84118
LDS‐Wrd Blue Grass
Blue Grass Council 204
General Delivery
Lexington, KY 40507


LDS‐Wrightwood Ward‐Victorville Stake
California Inland Empire Council 045
888 Hwy 2
Wrightwood, CA 92397


Lds‐Wstrn Sprgs 1St Ward
Riverton Ut Westrn Sprgs Stk
Great Salt Lake Council 590
4582 W Zuni Dr
Riverton, Ut 84096


Lds‐Wstrn Sprgs 2Nd Ward
Riverton Ut Wstrn Spgs Stk
Great Salt Lake Council 590
12830 S 4570 W
Riverton, Ut 84096


Lds‐Wstrn Sprgs 3Rd Ward
Riverton Ut Wstrn Sprgs Stk
Great Salt Lake Council 590
4874 W Spirit Lake Cir
Riverton, Ut 84096


Lds‐Wstrn Sprgs 4Th Ward
Riverton Ut Wstrn Sprgs Stk
Great Salt Lake Council 590
12830 So 4570 W
Riverton, Ut 84065


LDS‐Yale Ward/S L Bonneville Stk
Great Salt Lake Council 590
1431 Gilmer Dr
Salt Lake City, UT 84105


Lds‐Yalecrest 1St Ward
S L Bonneville Stk
Great Salt Lake Council 590
1035 S 1800 E
Salt Lake City, Ut 84108


Lds‐Yalecrest 2Nd Ward
S L Bonneville Stk
Great Salt Lake Council 590
1035 S 1800 E
Salt Lake City, Ut 84108


Lds‐Yellow Sage Ward
Herriman Ut Mtn View Stk
Great Salt Lake Council 590
14068 S 5600 W
Herriman, Ut 84096


LDS‐Yigo Ward
Aloha Council, Bsa 104
136 Chalan Dokdok
Yigo, GU 96929


LDS‐Ymmia
Northern New Jersey Council, Bsa 333
140 White Oak Ridge Rd
Short Hills, NJ 07078


LDS‐Yongsan Servicemans Branch
Far E Council 803, Unit 15549 Box 48
Apo Ap, 96205


Lds‐Yorba Linda 3Rd Ward‐Anaheim E Stake
Orange County Council 039
5550 Ohio St
Yorba Linda, Ca 92886


Lds‐Yorba Linda 4Th Ward‐Anaheim E Stake
Orange County Council 039
5265 Avenida De Despacio
Yorba Linda, Ca 92887


Lds‐Yorba Linda 5Th Ward‐Anaheim E Stake
Orange County Council 039
5550 Ohio St
Yorba Linda, Ca 92886


LDS‐Yorba Linda Ward‐Placentia Stake
Orange County Council 039
17130 Bastanchury Rd
Yorba Linda, CA 92886


LDS‐Yucaipa 1St Ward‐Yucaipa Stake
California Inland Empire Council 045
306 E Ave L
Calimesa, CA 92320


LDS‐Yucaipa 2Nd Ward‐Yucaipa Stake
California Inland Empire Council 045
12776 6th St
Yucaipa, CA 92399


LDS‐Yucaipa 3Rd Ward‐Yucaipa Stake
California Inland Empire Council 045
12776 6th St
Yucaipa, CA 92399


LDS‐Yucaipa 4Th Ward‐Yucaipa Stake
California Inland Empire Council 045
306 E Ave L
Calimesa, CA 92320


LDS‐Yucaipa 5Th Ward‐Yucaipa Stake
California Inland Empire Council 045
12776 6th St
Yucaipa, CA 92399


LDS‐Yucca Mesa Ward‐Yucca Valley Stake
California Inland Empire Council 045
Sage   Onaga
Yucca Valley, CA 92284


LDS‐Yuma Valley Ward‐Yuma Az Stk
Grand Canyon Council 010
4200 W 18th St
Yuma, AZ 85364
LDS‐Yuma Ward ‐Yuma Az Stk
Grand Canyon Council 010
2895 S 8th Ave
Yuma, AZ 85364


LDS‐Zama Military Branch
Far E Council 803
Usag‐J, Unit 45013, Box 2637
Apo Ap, 96338


Lds‐Zanesville Ward
Columbus Ohio E Stake
Muskingum Valley Council, Bsa 467
3300 Kearns Dr
Zanesville, Oh 43701


Lds‐Zintel Canyon Ward‐Kennewick E Stake
Blue Mountain Council 604
820 S Buntin St
Kennewick, Wa 99336


Le Donne True Value Store
Three Fires Council 127
1750 N Taft Ave
Berkeley, IL 60163


Le Sueur Lions Club
Northern Star Council 250
123 Outer Dr
Le Sueur, MN 56058


Le Tourneau Univerity
Attn Financial Aid Office
P.O. Box 7001
Longview, TX 75607‐7001


Lea County Sheriff
Conquistador Council Bsa 413
1417 S Commercial St
Lovington, NM 88260
Lea Joyner Utd Methodist Church
Louisiana Purchase Council 213
4390 Old Sterlington Rd
Monroe, LA 71203


Lead First Foundation
South Texas Council 577
500 N Shoreline Blvd, Ste 807
Corpus Christi, TX 78401


Leader Store The
410 Lake St
Fulton, KY 42041


Leadership Directories Inc
1407 Broadway, Ste 318
New York, NY 10018


Leadership Institute, Inc
dba Dale Carnegie Training
1150 Glenlivet Dr, Ste C‐35
Allentown, PA 18106


Leadership Martin Cnty Alumni Assoc Inc
Gulf Stream Council 085
P.O. Box 794
Stuart, Fl 34995


Leadership Service And Values Group
Orange County Council 039
P.O. Box 3894
Costa Mesa, CA 92628


Leading Authorities Inc
1220 L St Nw, Ste 850
Washington, DC 20005‐4070


Leading Enrichment Afterschool, DelValle
Capitol Area Council 564
4900 Mckinney Falls Pkwy
Austin, Tx 78744
Leaf
P.O. Box 644006
Cincinnati, OH 45264‐4006


League City Utd Methodist Church
Bay Area Council 574
1601 W League City Pkwy
League City, TX 77573


Leah Adams
Address Redacted


Leah Eisert
Address Redacted


Leah M Cheney
Address Redacted


Leah Miner
Address Redacted


Leah Myers
Address Redacted


Leah Overson
Address Redacted


Leah Saul
Address Redacted


Leah Tharp
Address Redacted


Leah Wainscott
Address Redacted


Leaksville U Methodist Church Men
Old N State Council 070
612 Business Park Dr, Ste B
Eden, NC 27288


Leander Police Dept
Capitol Area Council 564
705 Leander Dr
Leander, TX 78641


Leander Utd Methodist Church
Capitol Area Council 564
P.O. Box 281
107 S W Dr


Leann Lewis
Address Redacted


Leanne Vasold
Address Redacted


Learn Build Fly
Samoset Council, Bsa 627
917 N 6th Ave
Wausau, WI 54401


Learn Charter School Network
Northeast Illinois 129
1200 W Glen Flora Ave
Waukegan, IL 60085


Learning Communications LLC
Accounting Offices
5520 Trabuco Rd
Irvine, CA 92620


Learning Detectives LLC
Grand Canyon Council 010
22424 S Ellsworth Loop Rd, Unit 556
Queen Creek, AZ 85142


Learning Excellence Fndn S Pb Inc
Gulf Stream Council 085
3333 High Ridge Rd
Boynton Beach, Fl 33426


Learning For Life
1325 W Walnut Hill Lane
Irving, TX 75038


Learning For Life Foundation
1325 W Walnut Hill Lane
Irving, TX 75038


Learning Gate Community School
Greater Tampa Bay Area 089
16215 Hanna Rd
Lutz, FL 33549


Learning Tree International
Dept At 952907
Atlanta, GA 31192‐2907


Leatham Family, LLC
dba Symbolarts, LLC
6083 S 1550 E
Ogden, UT 84405


Leather Cord Usa
509 Hickory Ridge Trl, Ste 110
Woodstock, GA 30188


Leatherman Tool Group, Inc
P.O. Box 20595
Portland, OR 97294‐0595


Leatherman Tool Group, Inc
Po Boc 20595
Portland, OR 97294‐0595


Leatherstocking
1401 Genesee St
Utica, NY 13501‐4399
Leatherstocking Council 400
1401 Genessee St
Utica, NY 13501‐4399


Leave No Trace Center For Outdoor Ethics
P.O. Box 997
Boulder, CO 80306


Leavenworth 1st Utd Methodist Ch
Heart Of America Council 307
422 Chestnut St
Leavenworth, Ks 66048


Leawood Elementary School
Denver Area Council 061
6685 S Pearl St
Centennial, CO 80121


Leawood Family Care Pa
P.O. Box 412554
Kansas City, MO 64141‐2554


Leawood Presbyterian Church
Heart of America Council 307
2715 W 83rd St
Shawnee Mission, KS 66206


Leawood Utd Methodist Church
Heart of America Council 307
2915 W 95th St
Leawood, KS 66206


Leawood Utd Methodist Men
Heart of America Council 307
2915 W 95th St
Leawood, KS 66206


Lebanese Scout Federation
P.O. Box 116‐5416
Beirut
Lebanon
Lebanon Elks Lodge 1663
Cascade Pacific Council 492
41 W Maple St
Lebanon, OR 97355


Lebanon Elks Lodge 2557
Ozark Trails Council 306
P.O. Box 864
Lebanon, MO 65536


Lebanon Evangelical Lutheran Church
President Gerald R Ford 781
1101 S Mears Ave
Whitehall, MI 49461


Lebanon Lions Club
Greater St Louis Area Council 312
210 N Pearl St
Lebanon, IL 62254


Lebanon Lodge No 346 Af Am
Northern Star Council 250
4821 W 124th St
Savage, MN 55378


Lebanon Lutheran Church
President Gerald R Ford 781
1101 S Mears Ave
Whitehall, MI 49461


Lebanon Optimist Club
Dan Beard Council, Bsa 438
P.O. Box 778
Lebanon, OH 45036


Lebanon Police Dept
Crossroads of America 160
201 E Main St
Lebanon, IN 46052
Lebanon Presbyterian Church
Dan Beard Council, Bsa 438
123 N E St
Lebanon, OH 45036


Lebanon Presbyterian Church
Laurel Highlands Council 527
2702 Old Elizabeth Rd
West Mifflin, PA 15122


Lebanon Presbyterian Church
Laurel Highlands Council 527
2800 Old Elizabeth Rd
West Mifflin, PA 15122


Lebanon Stem Foundation
Crossroads of America 160
223 W N St
Lebanon, IN 46052


Lebanon Utd Methodist Church
Dan Beard Council, Bsa 438
122 E Silver St
Lebanon, OH 45036


Lebanon Utd Methodist Church
Lincoln Heritage Council 205
236 N Spalding Ave
Lebanon, KY 40033


Lebanon Utd Methodist Church
Sequoyah Council 713
24 Tate St
Lebanon, VA 24266


Lebanon Valley Sertoma Club
Pennsylvania Dutch Council 524
P.O. Box 444
Lebanon, PA 17042


LebanonTownship Elem ParentTeacher Assoc
Washington Crossing Council 777
400 County Rd 513
Califon, Nj 07830


Leberta Joyner
Address Redacted


Leblanc S Hardware, Inc
621 Hayward St
Manchester, NH 03103‐4400


Lebo Lions Club
Jayhawk Area Council 197
214 W 4th St
Lebo, KS 66856


Lecenter Sportman Club
Northern Star Council 250
25 E Derrynane St
Le Center, MN 56057


Leckie PTA
National Capital Area Council 082
4201 Martin Luther King Jr Ave Sw
Washington, DC 20032


Ledell Watson
Address Redacted


Ledgeview Elementary School PTO
Greater Niagara Frontier Council 380
5150 Old Goodrich Rd
Clarence, NY 14031


Ledgewood Christian Church‐Protestant
Lake Erie Council 440
8261 Kinsman Rd
Novelty, OH 44072


Ledyard Utd Methodist Church
Longhouse Council 373
P.O. Box 40
King Ferry, NY 13081


Lee Bass
Address Redacted


Lee Booksellers
P.O. Box 5575
Lincoln, NE 68505


Lee Charter Academy
3637 Dr Martin Luther King Jr Blvd
Ft Myers, FL 33916


Lee Church Congregational
Daniel Webster Council, Bsa 330
17 Mast Rd
Lee, NH 03861


Lee County Fire
Pee Dee Area Council 552
P.O. Box 87
Bishopville, SC 29010


Lee County Sheriff Dept
Mississippi Valley Council 141 141
2530 255th St
Montrose, IA 52639


Lee County Sheriffs Dept
Southwest Florida Council 088
14750 Ben C Pratt/6 Mile Cypress Pkwy
Fort Myers, FL 33912


Lee Crosswait
Address Redacted


Lee Davis
Address Redacted


Lee Fisher Intl Inc
3922 W Osborne Ave
Tampa, FL 33614


Lee Frisendahl
Address Redacted


Lee Gordon Hughes
Address Redacted


Lee Harrison
Address Redacted


Lee Hartman    Sons Inc
P.O. Box 13365
Roanoke, VA 24033‐3365


Lee Junior High School
Louisiana Purchase Council 213
1600 N 19th St
Monroe, LA 71201


Lee Kadinger
Address Redacted


Lee Lighting
5501 Colleyville Blvd
Colleyville, TX 76034‐5836


Lee M Mccann
Address Redacted


Lee Price
Address Redacted


Lee S Marketplace
Trapper Trails 589
850 S Main St
Smithfield, UT 84335
Lee Sanders
Address Redacted


Lee Serio
Address Redacted


Lee Shaw Jr
Address Redacted


Lee Smathers
Address Redacted


Lee Sorrell
Address Redacted


Lee Spence
Address Redacted


Lee Supply Co Inc
P.O. Box 640335
Pittsburgh, PA 15264‐0335


Lee Sykes
Address Redacted


Lee Tripp
Address Redacted


Lee Utd Methodist Church
Suwannee River Area Council 664
246 State Hwy 255
Lee, FL 32059


Lee Walker
Address Redacted


Lee Walter Bass
Address Redacted
Lee Wayne Corp
5140 Paysphere Cir
Chicago, IL 60674


Leeanne Nguyen
Address Redacted


Leechburg Area High School
Moraine Trails Council 500
215 1st St
Leechburg, PA 15656


Leechburg Area Middle School
Moraine Trails Council 500
215 1st St
Leechburg, PA 15656


Leeds Fire    Rescue
Greater Alabama Council 001
1640 Maxey Dr
Leeds, AL 35094


Leeds Utd Methodist Church
Del Mar Va 081
1579 Blue Ball Rd
Elkton, MD 21921


Leedy Grange 339
Cascade Pacific Council 492
P.O. Box 91152
Portland, OR 97291


Leeland Station Community Assoc
National Capital Area Council 082
115 Riggs Rd
Fredericksburg, VA 22405


Leelen Park
Address Redacted
Leerone Benjamin Sr
Address Redacted


Lees Corner Elementary PTA
National Capital Area Council 082
13500 Hollinger Ave
Fairfax, VA 22033


Lees Summit Christian Church
Heart of America Council 307
800 NE Tudor Rd
Lees Summit, MO 64086


Lees Summit Community Of Christ Church
Heart of America Council 307
1101 NE Independence Ave
Lees Summit, MO 64086


Lees Summit First Presbyterian Church
Heart of America Council 307
1625 NW Obrien Rd
Lees Summit, MO 64081


Lees Summit Police Dept
Heart of America Council 307
10 NE Tudor Rd
Lees Summit, MO 64086


Lees Summit Utd Methodist Church
Heart of America Council 307
3381 NW Chipman Rd
Lees Summit, MO 64081


Lees, Inc
311 W Kilgore
Portage, MI 49002


Leesburg Community Church
National Capital Area Council 082
835 Lee Ave Sw
Leesburg, VA 20175
Leesburg Firemans Assoc Inc
Simon Kenton Council 441
200 S St
Leesburg, OH 45135


Leesburg Lions Club
Anthony Wayne Area 157
114 E School St
Leesburg, IN 46538


Leesburg Lions Club
Anthony Wayne Area 157
4360 N 100 E
Warsaw, IN 46582


Leesburg Police Dept
National Capital Area Council 082
65 Plaza St Ne
Leesburg, VA 20176


Leesburg Police Dept
South Georgia Council 098
107 Walnut Ave N
Leesburg, GA 31763


Leesburg Presbyterian Church
French Creek Council 532
1831 Perry Hwy
Volant, PA 16156


Leesburg Utd Methodist Church
National Capital Area Council 082
107 W Market St
Leesburg, VA 20176


Leesville Utd Methodist
Indian Waters Council 553
510 E Columbia Ave
Leesville, SC 29070


Leetown Utd Methodist Church
Shenandoah Area Council 598
11133 Leetown Rd
Kearneysville, WV 25430


Leeward Oahu Lions Club
Aloha Council, Bsa 104
P.O. Box 970729
Waipahu, HI 96797


Left Hand Grange 9
Longs Peak Council 062
P.O. Box 301
Niwot, CO 80544


Legacy Academy Of Excellence
Blackhawk Area 660
4029 Prairie Rd
Rockford, IL 61102


Legacy Center
Crossroads of America 160
727 N Oriental St
Indianapolis, IN 46202


Legacy Christian Fellowship
Denver Area Council 061
9200 Hoffman Way
Thornton, CO 80229


Legacy Church Of Christ
Longhorn Council 662
8801 Mid Cities Blvd
North Richland Hills, TX 76182


Legacy Dental Partners, LLC
Great Swest Council 412
5343 Wyoming Blvd, Ne
Albuquerque, NM 87111


Legacy Park Home Owners Assoc
Atlanta Area Council 092
4201 Legacy Park Cir Nw
Kennesaw, GA 30144


Legacy Point Ptib
Denver Area Council 061
12736 Red Rosa Cir
Parker, CO 80134


Legacy Trucking Enterprises Incorporated
Utah National Parks 591
P.O. Box 361
Annabella, UT 84711


Legal Legs
P.O. Box 2472
Brentwood, TN 37024


Legal Resolution Center
7907 Zenobia St
Westminster, CO 80030


Legalis ‐ Braddy S British Motors
Occoneechee 421
1315 Oakwood Ave
Raleigh, NC 27610


Legare Clement
Address Redacted


Legato Management Solutions, Inc
7550 Ih 10, Ste 940
San Antonio, TX 78229


Legends Hospitality, LLC
1 AT T Way
Arlington, TX 76011


Legends Sporting Goods
8390 Amboy Rd
Staten Island, NY 10309
Legion American PTO 60 Israel Vargas Inc
Puerto Rico Council 661
Hc 1 Box 6110
Juana Diaz, Pr 00795


Legion Americana
Puerto Rico Council 661
124 Ave Del Veterano
San German, PR 00683


Legion Americana Puesto 51
Puerto Rico Council 661
P.O. Box 546
San Sebastian, PR 00685


Lego System A/S
Nordmarksvej 9, 7190 Billund
Denmark


Lego Systems, Inc
555 Taylor Rd, P.O. Box 1600
Enfield, CT 06083‐1600


Lego Systems, Inc
P.O. Box 415898
Boston, MA 02241‐5898


Legrand Volunteer Assoc
Mid Iowa Council 177
707 W Main St
Le Grand, IA 50142


Lehigh Acres Church Of The Nazarene
Southwest Florida Council 088
210 Lee Blvd
Lehigh Acres, FL 33936


Lehigh Acres Middle School
Southwest Florida Council 088
104 Arthur Ave
Lehigh Acres, FL 33936
Lehigh Lodge Free   Accepted Masons 326
Minsi Trails Council 502
2120 Route 100
Macungie, PA 18062


Lehigh Senior High School
Southwest Florida Council 088
901 Gunnery Rd N
Lehigh Acres, FL 33971


Lehigh University
Bursar Office
27 Memorial Dr W
Bethlehem, PA 18015


Lehigh Vly Dual Language Charter Sch
Minsi Trails Council 502
675 E Broad St
Bethlehem, Pa 18018


Lehman Hardware    Appliances Inc
289 Kurzen Rd N
Dalton, OH 44618


Lehman Holder Jr
Address Redacted


Lehman Idetown Utd Methodist Church
Northeastern Pennsylvania Council 501
P.O. Box 1
1011 Mountain View Dr


Lehman Memorial Utd Methodist Church
Cradle of Liberty Council 525
S York Rd Lehman Ave
Hatboro, PA 19040


Lehmans Hardware      Appliances
289 Kurzen Rd N
Dalton, OH 44618
Lehmantownship Scouting Supporters
Minsi Trails Council 502
193 Municipal Dr
Bushkill, PA 18324


Leiandra M Lucero
Address Redacted


Leicester ‐ First Congregational Church
Heart of New England Council 230
P.O. Box 122
1 Wasburn Sq
Leicester, MA 01524


Leicester ‐ Mcauley Nazarath Home
Heart of New England Council 230
77 Mulberry St
Leicester, MA 01524


Leicester ‐ Saint Pius X Catholic Parish
Heart of New England Council 230
759 Main St
Leicester, MA 01524


Leicester ‐ St Aloysius/ St. Jude
Heart of New England Council 230
491 Pleasant St
Leicester, MA 01524


Leigh Novog
Address Redacted


Leigh Service   Repair Inc
242 Lignumvitae Dr
Key Largo, FL 33037


Leigh Wyatt
Address Redacted


Leigha Taylor
Address Redacted


Leighton Stewart
Address Redacted


Leila Farnum
Address Redacted


Leilani Bueltmann
Address Redacted


Leisa O Brien
Address Redacted


Leisawitz Heller Abramowitch Phillips
Attn Kenneth Millman, Paul F Troisi
re Plaintiff
2755 Century Blvd
Wyomissing, PA 19610


Leisl Webster
Address Redacted


Leisure Services Dept
Northeast Iowa Council 178
2200 Bunker Hill Rd
Dubuque, IA 52001


Leitersburg Ruritan Club
Mason Dixon Council 221
21628 Leiter St
Hagerstown, MD 21742


Leith Wilson
Address Redacted


Lela Krieger
Address Redacted
Lela P Puckett
Address Redacted


Lela Shields
Address Redacted


Leland G Jones
Address Redacted


Leland Harrison
Address Redacted


Leland Johnsen
Address Redacted


Leland Mullin
Address Redacted


Lelen Jarman
Address Redacted


Lelia Suydam
Address Redacted


Lely Presbyterian Church
Southwest Florida Council 088
450 Saint Andrews Blvd
Naples, FL 34113


Lemar Longhurst
Address Redacted


Lemco Electric Inc
9 Municipal Rd
Klingerstown, PA 17941


Lemm Elementary School PTO
Sam Houston Area Council 576
19034 Joanleigh Dr
Spring, TX 77388


Lemme Out Productions Inc
c/o Kragen   Co
14039 Aubrey Rd
Beverly Hills, CA 90210


Lemon Bay Sunrise Rotary
Southwest Florida Council 088
P.O. Box 897
2490 11th St
Englewood, FL 34295


Lemon Grove Utd Methodist Church
San Diego Imperial Council 049
3205 Washington St
Lemon Grove, CA 91945


Lemont Police Dept
Pathway To Adventure 456
14600 E 127th St
Lemont, IL 60439


Lemont Utd Methodist Church
Pathway To Adventure 456
25 W Custer St
Lemont, IL 60439


Lemoore Police Dept
Sequoia Council 027
657 Fox St
Lemoore, CA 93245


Lemoria Astorga
Address Redacted


Lemuel K Fish
Address Redacted


Lena A Mock
Address Redacted
Lena Clay
Address Redacted


Lena Hargis
Address Redacted


Lena Kluth
Address Redacted


Lena Lions Club
Blackhawk Area 660
497 Lions Dr
Lena Community Center
Lena, IL 61048


Lena Lundy
Address Redacted


Lenann Mcgookey Gardner Management Consu
11024 Montgomery NE, 308
Albuquerque, NM 87111


Lenape Valley Presbyterian Church
Washington Crossing Council 777
Ute Rd and Route 202
New Britain, PA 18901


Lenawee County Sheriff Office
Southern Shores Fsc 783
405 N Winter St
Adrian, MI 49221


Lencore Acoustics Corp
1 Crossways Park Dr W
Woodbury, NY 11797


Lenexa Friends Of Scouting
Heart of America Council 307
15910 W 75th Ter
Shawnee, KS 66217


Lenexa Utd Methodist Church
Heart of America Council 307
9138 Caenen Lake Rd
Lenexa, KS 66215


Lennart P Droege
Address Redacted


Lennie A Wieleba‐Lehotzky
Address Redacted


Lenoir Police Dept
Piedmont Council 420
1035 W Ave Nw
Lenoir, NC 28645


Lenora Stepp
Address Redacted


Lenora Straham
Address Redacted


Lenore Bonno
Address Redacted


Lenore Kirk Hall
Circle Ten Council 571
2120 Keats Dr
Dallas, TX 75211


Lenore Tanger
Address Redacted


Lenovo Inc
P.O. Box 643055
Pittsburgh, PA 15264‐3055
Lenox Hill Hospital
Greater New York Councils, Bsa 640
100 E 77th St
New York, NY 10075


Lens Art‐Allied Images
Mid‐America Council 326
3705 N 108th St
Omaha, NE 68164


Lenta Campbell
Address Redacted


Leo A Daly Co
Mid‐America Council 326
8600 Indian Hills Dr
Omaha, NE 68114


Leo Anthony Marconi
Address Redacted


Leo B Hart Parent Club
Southern Sierra Council 030
9501 Ridge Oak Dr
Bakersfield, CA 93311


Leo Brinda Post 190
Overland Trails 322
520 N Valentine St
Valentine, NE 69201


Leo Brizzi
Address Redacted


Leo Hospitality LLC
dba Holiday Inn Las Colinas
110 W John Carpenter Frwy
Irving, TX 75039


Leo Lee
Address Redacted
Leo Marconi
Address Redacted


Leo Miller
Address Redacted


Leo Monsen
Address Redacted


Leo R Martinez Jr
Address Redacted


Leo Savoie Elementary School
Narragansett 546
990 Mendon Rd
Woonsocket, RI 02895


Leo Smith
Address Redacted


Leo Trippett
Address Redacted


Leo Utd Methodist Church
Anthony Wayne Area 157
13527 Leo Rd
Leo, IN 46765


Leodis Turner
Address Redacted


Leola Kennedy
Address Redacted


Leominster‐Amercan Legion Post 151
Heart of New England Council 230
100 W St
Leominster, MA 01453
Leominster‐Our Lady Of The Lake Church
Heart of New England Council 230
1400 Main St
Leominster, MA 01453


Leominster‐Sportsmens Assoc
Heart of New England Council 230
1455 Elm St
Leominster, MA 01453


Leominster‐St Anna S Parish
Heart of New England Council 230
199 Lancaster St
Leominster, MA 01453


Leominster‐St Leos Parish
Heart of New England Council 230
108 Main St
Leominster, MA 01453


Leominster‐United Methodist Church
Heart of New England Council 230
77 Hall St
Leominster, MA 01453


Leon Bell
Address Redacted


Leon County Sheriffs Dept
Suwannee River Area Council 664
P.O. Box 727
Tallahassee, FL 32302


Leon Foreman
Address Redacted


Leon Kraut
Address Redacted
Leon Methodist Church
Mid Iowa Council 177
201 W 1st St
Leon, IA 50144


Leon Obryan American Legion Post 428
Five Rivers Council, Inc 375
P.O. Box 42
Elkland, PA 16920


Leon Springs Presbyterian Church
Alamo Area Council 583
23943 W Interstate 10
San Antonio, TX 78257


Leon Springs Volunteer Fire Dept
Alamo Area Council 583
24810 Ima Ruth Pkwy
San Antonio, TX 78257


Leon Valley Grange 1581
Alamo Area Council 583
P.O. Box 681926
San Antonio, TX 78268


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Address Redacted


Leonard Fehrle Sr
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Leonard Garcia
Address Redacted
Leonard Law
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Leonard Long
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Leonard Montoya
Address Redacted


Leonard Norwillo
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Leonard School PTO
Great Lakes Fsc 272
4401 Tallman Dr
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Leonard Thatcher
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Leonard W Kidd Memorial Post 2001
National Capital Area Council 082
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Leonel Gonzalez
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Leonor Valencia‐Cowan
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Leopoldo Casados
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Leora Weare American Legion Post 173
Hoosier Trails Council 145 145
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Leothia Turks
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Leprechaun Design    Animation
dba Limerick Studios
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Leroux   Webber, LLC
c/o Stacey Lee Webber
4500 Worth St, A101
Philadelphia, PA 19124


Leroy A Fernandez
Address Redacted


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Twin Valley Council Bsa 283
P.O. Box 161
Le Roy, MN 55951
Leroy Fire Dept
Twin Valley Council Bsa 283
121 E Main St
Le Roy, MN 55951


Leroy Hill Post No 19
Heart of America Council 307
315 Meadowbrook Cir
Gardner, KS 66030


Leroy Jossell
Address Redacted


Leroy Krauter
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Leroy Mayne
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Leroy Muldrow
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Leroy Pearson
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Leroy Springs   Co, Inc
Palmetto Council 549
P.O. Box 1209
Fort Mill, SC 29716


Leroy Utd Methodist Church
Great Trail 433
P.O. Box 295
6777 Park Cir
Les Cheneaux Lions Club
Bay‐Lakes Council 635
P.O. Box 172
Cedarville, MI 49719


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Address Redacted


Les Marquart
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Les Scouts Asbl
21 Rue De Dublin
1050 Bruxelles
Belgique
Belgium


Les Snipes Horse Co
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Los Lunas, NM 87031


Les Stroud Productions Inc
692 Muskoka Rd 3 N
Huntsville, ON P1H 1C9
Canada


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Lesley Heinemann
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Lesley Longfellow
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Lesleys Custom Canvas LLC
200 Morada Way, Unit 5
P.O. Box 1763
Islamorada, FL 33036


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Leslie Benson
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Leslie Bentley
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Leslie C Peterson
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Leslie Equipment Co
P.O. Box 1220
Beaver, WV 25813


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Leslie Foster
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Leslie Gashimov
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Leslie Hall
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Leslie Hope Ryan
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Leslie Milton
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Leslie Moore
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Abraham Lincoln Council 144
607 Ricks St
Morrisonville, IL 62546


Leslie Rohrer
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Leslie Zimmerman
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30150 Campbell Rd
Madison Heights, MI 48071


Lessie Bates Davis Neighnborhood House
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1200 N 13th St
East Saint Louis, IL 62205


Lester E Cox Medical Centers
Ozark Trails Council 306
1423 N Jefferson Ave
Springfield, MO 65802


Lester J Sitts Vfw Post 5065
President Gerald R Ford 781
209 W Washington St
Sheridan, MI 48884


Lester J Sitts Vfw Post 5065
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209 W Washington
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Lester Mccullough
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Lester Memorial Umc
Greater Alabama Council 001
P.O. Box 626
Oneonta, AL 35121


Lester Riley
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Leticia Salazar
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Letitia Dudley
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Letittia G Kinard
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Letter‐It Inc
1060 E Enterprise Dr
Midlothian, TX 76065


Letts Utd Methodist Church
Mississippi Valley Council 141 141
P.O. Box A
Letts, IA 52754


Letts Utd Methodist Church‐Mens Club
Mississippi Valley Council 141 141
P.O. Box A
Letts, IA 52754


Leu Civic Center
Greater St Louis Area Council 312
213 N Market St
Mascoutah, IL 62258


Levalley Utd Methodist Church
President Gerald R Ford 781
4018 Kelsey Hwy
Ionia, MI 48846


Levant Fire Dept
Katahdin Area Council 216
P.O. Box 220
Levant, ME 04456


Levant Vol Fire Dept
Katahdin Area Council 216
3477 Union St
Levant, ME 04456


Level 3 Communications LLC
1025 Eldorado Blvd
Broomfield, CO 80021


Level 3 Communications LLC
P.O. Box 910182
Denver, CO 80291‐0182


Level Club Of South River
Monmouth Council, Bsa 347
120 Old Bridge Tpke
South River, NJ 08882


Level Creek Elementary
Northeast Georgia Council 101
4488 Tench Rd
Suwanee, GA 30024


Level Cross Community Center
Old N State Council 070
112 Branson Mill Rd
Randleman, NC 27317


Level Cross Utd Methodist Men
Old Hickory Council 427
4201 Siloam Rd
Dobson, NC 27017


Level Grove Baptist Church
Northeast Georgia Council 101
P.O. Box 416
Cornelia, GA 30531


Level Vol Fire Co
Webster Congregational Church
Baltimore Area Council 220
4100 Webster Rd
Havre De Grace, Md 21078


Levelland Noon Rotary Club
South Plains Council 694
P.O. Box 1255
Levelland, TX 79336
Levenger
420 South Congress Ave
Delray Beach, FL 33445‐4696


Leverette Elementary
Erie Shores Council 460
1111 E Manhattan Blvd
Toledo, OH 43608


Leverington Presbyterian Church
Cradle of Liberty Council 525
6301 Ridge Ave
Philadelphia, PA 19128


Levi A Mauk
Address Redacted


Levi B Morrill
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Levi Knight
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Levi W Lynn
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Levine Cancer Institute
Mecklenburg County Council 415
1021 Morehead Medical Dr
Charlotte, NC 28204


Levine Jewish Community Center
Mecklenburg County Council 415
5007 Providence Rd
Charlotte, NC 28226


Levittown American Legion Post 1711
Theodore Roosevelt Council 386
3123 N Jerusalem Rd
Levittown, NY 11756


Levittown Fairless Hills Rescue Squad
Washington Crossing Council 777
7405 New Falls Rd
Levittown, PA 19055


Levittown Fire Co 1
Washington Crossing Council 777
P.O. Box 39
Fairless Hills, PA 19030


Levittown Fire Dept
Theodore Roosevelt Council 386
120 Gardiners Ave
Levittown, NY 11756


Levy Creative Management LLC
425 E 58th St, Ste 37F
New York, NY 10022


Levy Restaurants At Speedway Sonoma LLC
Highways 37   121
Sonoma, CA 95476


Levy Restaurants At Toyota Park
7000 S Harlem
Bridgeview, IL 60455


Lewis   Clark Elementary PTA
Indian Nations Council 488
737 S Garnett Rd
Tulsa, OK 74128


Lewis   Clark Friends Of Scouting
Northern Lights Council 429
1729 16th St S
Fargo, ND 58103


Lewis   Clark Ptc
Greater St Louis Area Council 312
460 Mcmenamy Rd
Saint Peters, MO 63376


Lewis Bagnall
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Lewis Cameron
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Lewis Caruthers
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Lewis Center Utd Methodist
Simon Kenton Council 441
1081 Lewis Center Rd
Lewis Center, OH 43035


Lewis Center Utd Methodist Church
Simon Kenton Council 441
1019 Lewis Center Rd
Lewis Center, OH 43035


Lewis Center Ward
Simon Kenton Council 441
450 N Liberty St
Powell, OH 43065


Lewis Central Elementary PTA
Mid‐America Council 326
4125 Harry Langdon Blvd
Council Bluffs, IA 51503


Lewis Chapel Baptist Church
Occoneechee 421
5422 Raeford Rd
Fayetteville, NC 28304


Lewis Chapel Bc Layman League
Occoneechee 421
5422 Raeford Rd
Fayetteville, NC 28304
Lewis Elkin Elementary School
Cradle of Liberty Council 525
3199 D St
Philadelphia, PA 19134


Lewis Ginter Botanical Garden
1800 Lakeside Ave
Richmond, VA 23228


Lewis Lemon School PTO
Blackhawk Area 660
1993 Mulberry St
Rockford, IL 61101


Lewis Marine Supply Inc
P.O. Box 21107
Ft Lauderdale, FL 33335


Lewis Memorial Utd Methodist Church
Georgia‐Carolina 093
5555 Hereford Farm Rd
Evans, GA 30809


Lewis Mitchell Iii
Address Redacted


Lewis R Key Surveying   Mapping
P.O. Box 207
Bowling Green, VA 22427


Lewis University
1 University Pkwy
Romeoville, IL 60446


Lewis Utd Methodist Mens Breakfast
Quivira Council, Bsa 198
P.O. Box 295
Lewis, KS 67552
Lewis, Longman   Walker
1001 3rd Ave W, Ste 670
Bradenton, FL 34205


Lewisburg Police Dept
Middle Tennessee Council 560
101 Water St
Lewisburg, TN 37091


Lewisburg Utd Methodist Church
Buckskin 617
P.O. Box 69
Lewisburg, WV 24901


Lewiston Elks Lodge 896
Inland Nwest Council 611
3444 Country Club Dr
Lewiston, ID 83501


Lewiston Housing Authority
Pine Tree Council 218
77 Rideout Ave
1 College St
Lewiston, ME 04240


Lewiston Police Dept
Greater Niagara Frontier Council 380
4059 Creek Rd
Youngstown, NY 14174


Lewisville Civic Club
Old Hickory Council 427
P.O. Box 293
Lewisville, NC 27023


Lewisville Civic Club   Utd Methodist Ch
Old Hickory Council 427
6290 Shallowford Rd
Lewisville, Nc 27023


Lewisville Police Dept
Longhorn Council 662
1187 W Main St
Lewisville, TX 75067


Lewisville Utd Methodist Ch Mens Grp
Old Hickory Council 427
P.O. Box 305
6290 Shallowford Rd
Lewisville, Nc 27023


Lexie Repair
Middle Tennessee Council 560
760 Coles Rd
Belvidere, TN 37306


Lexington
dba Domore Seating
2503 Banks Court
Elkhart, IN 46514


Lexington County Ems
Indian Waters Council 553
407 Ball Park Rd
Lexington, SC 29072


Lexington County Sheriffs Dept
Indian Waters Council 553
P.O. Box 639
521 Gibson Rd


Lexington Fire Dept
Old N State Council 070
200 E Center St
Lexington, NC 27292


Lexington Kiwanis Club
Buckeye Council 436
P.O. Box 3124
Mansfield, OH 44904


Lexington LDS
Indian Waters Council 553
2224 Augusta Hwy
Lexington, SC 29072


Lexington Moose Lodge
Heart of America Council 307
P.O. Box 186
Lexington, MO 64067


Lexington Police Dept
Blue Grass Council 204
150 E Main St
Lexington, KY 40507


Lexington Police Dept
Heart of America Council 307
203 N 25th St
Lexington, MO 64067


Lexington Police Dept
The Spirit of Adventure 227
1575 Massachusetts Ave
Lexington, MA 02420


Lexington Presbyterian Church
Stonewall Jackson Council 763
120 S Main St
Lexington Presbyterian Church
Lexington, VA 24450


Lexington Technology
18021 Sky Park Cir E, Bldg 68
Irvine, CA 92614


Lexington Utd Methodist Church
Capitol Area Council 564
508 Rockdale St
Lexington, TX 78947


Lexington Utd Methodist Church
Heart of America Council 307
S Hwy 13
Lexington, MO 64067
Lexington Utd Methodist Mens Club
Indian Waters Council 553
309 E Main St
Lexington, SC 29072


Lexington‐Bell Community Center
Lake Erie Council 440
7724 Lexington Ave
Cleveland, OH 44103


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P.O. Box 105186
Atlanta, GA 30348


Lexis Nexis Screening Solutions
P.O. Box 7247‐7780
Philadelphia, PA 19170‐7780


Lexisnexis
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Lexisnexis Matthew Bender
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Lexisnexis State Net
2101 K St
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Lgm Enterprises
Far E Council 803
45 Peace St Multinational Village
Paranaque City, 1708
Philippines


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Liam A Sullivan
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Liam G Lane
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Liam H Confroy
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Liam H Inbody
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Liam H Weyer
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Liam P Myers
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Liam S Stark
Address Redacted


Libbie Homolka
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Libby Booth Team Up
Nevada Area Council 329
535 E Plumb Ln
Reno, NV 89502


Libby LDS Sandpoint Idaho Stake
Montana Council 315
2056 US Hwy 2
Libby, MT 59923


Libertas School Of Memphis
Chickasaw Council 558
3777 Edenburg Dr
Memphis, TN 38127


Liberty 5 6
Transatlantic Council, Bsa 802
48 Fss Fsr, Unit 5187
Apo Ae, 09461


Liberty Army   Navy
1439 Post Rd E
West Port, CT 06880


Liberty Assignment Corp
175 Berkeley St
Boston, MA 02116


Liberty Baptist Church
Circle Ten Council 571
850 Blackland Rd
Fate, TX 75189


Liberty Baptist Church
Greater Alabama Council 001
1990 Self Creek Rd
Kimberly, AL 35091


Liberty Baptist Church
Indian Nations Council 488
P.O. Box 1207
Stilwell, OK 74960


Liberty Bottleworks
2900 Sutherland Dr
Union Gap, WA 98903


Liberty Center Baptist Church
Anthony Wayne Area 157
3071 W Cherry St
Liberty Center, IN 46766


Liberty Christian Church
Heart of America Council 307
427 E Kansas St
Liberty, MO 64068
Liberty Church Of Christ
West Tennessee Area Council 559
591 N Liberty Rd
Michie, TN 38357


Liberty Church Of Cosby
Great Smoky Mountain Council 557
3541 Cosby Hwy
Cosby, TN 37722


Liberty Clothing
7370 Bramalea Rd, Ste 25
Mississauga, ON L5S 1N6
Canada


Liberty Community Church
Northeast Illinois 129
1640 W Gelden Rd
Lindenhurst, IL 60046


Liberty Corner Presbyterian Church
Patriots Path Council 358
45 Church St
Liberty Corner, NJ 07938


Liberty Crossings Utd Methodist Ch
Attn Wade Griffith
Greater Alabama Council 001
5125 Sicard Hollow Rd
Vestavia Hls, Al 35242


Liberty Distribution, LLC
P.O. Box 1358
Randallstown, MD 21133


Liberty Elementary Collective For Youth
Mid‐America Council 326
2021 Saint Marys Ave
Omaha, NE 68102


Liberty Eylau Elementary
Caddo Area Council 584
2300 Buchanan Rd
Texarkana, TX 75501


Liberty Eylau Middle School
Caddo Area Council 584
555 Leopard Dr
Texarkana, TX 75501


Liberty Fire Co 1
W D Boyce 138
816 W St
Peru, IL 61354


Liberty Grove Utd Methodist Church
National Capital Area Council 082
15225 Old Columbia Pike
Burtonsville, MD 20866


Liberty Hall Club Of Marstons Mills
Cape Cod and Islands Cncl 224
2150 Main St
Marstons Mills, MA 02648


Liberty High School
West Tennessee Area Council 559
310 N Pkwy
Jackson, TN 38305


Liberty Hill Baptist Church
Flint River Council 095
2957 Mount Carmel Rd
Hampton, GA 30228


Liberty Hill Utd Methodist Church
Capitol Area Council 564
101 Church St
Liberty Hill, TX 78642


Liberty International D O O
Dunajska Cesta 109
1000 Ljubljana,
Slovenia
Liberty It
7500 San Felipe, Ste 950
Houston, TX 77063


Liberty Lions Club
Mississippi Valley Council 141 141
2042 N 1200th Ave
Liberty, IL 62347


Liberty Lions Club
Three Rivers Council 578
P.O. Box 1078
Liberty, TX 77575


Liberty Lodge 111
Katahdin Area Council 216
22 Highland Dr
Liberty, ME 04949


Liberty Lodge 111 Af   Am
Katahdin Area Council 216
215 Stevens Pond Rd
Liberty, ME 04949


Liberty Lutheran Church
Five Rivers Council, Inc 375
P.O. Box 52
Liberty, PA 16930


Liberty Maritime
Golden Empire Council 047
1272 Grand River Dr
Sacramento, CA 95831


Liberty Mesa
Address Redacted


Liberty Mills Church Of The Nazarene
Anthony Wayne Area 157
10616 Liberty Mills Rd
Fort Wayne, IN 46804


Liberty Mills Church Of The Nazarene
Anthony Wayne Area 157
10621 Liberty Mills Rd
Fort Wayne, IN 46804


Liberty Missionary Baptist Church
Mobile Area Council‐Bsa 004
1761 Dr Martin L King Jr Ave
Mobile, AL 36617


Liberty Mountain
4375 W 1980 S, Ste 100
Salt Lake City, UT 84104


Liberty Mountain
P.O. Box 708938
Sandy, UT 84070‐8938


Liberty Mountain Sports LLC
P.O. Box 708938
Sandy, UT 84070‐8938


Liberty Mutual
Attn Deb Peterson
13 Riverside Rd
Weston, MA 02493


Liberty Mutual
P.O. Box 91012
Chicago, IL 60680‐1110


Liberty Mutual Insurance Co
Attn S.J. Whalen ‐ Securities Analyst
H.O. Financial ‐ Credit
175 Berkeley St


Liberty Mutual Insurance Companies
175 Berkeley St
Boston, MA 02116
Liberty Mutual Insurance Group
Remittance Processing Ctr
P.O. Box 8500
Dover, NH 03821‐8500


Liberty Parent Teacher Org
Mayflower Council 251
49 Proctor Rd
Braintree, MA 02184


Liberty Park Elementary School
Crossroads of America 160
8425 E Raymond St
Indianapolis, IN 46239


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San Clemente, CA 92673


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Simon Kenton Council 441
7080 Olentangy River Rd
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Northern Lights Council 429
5400 Onyx Dr
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San Clemente, CA 92673


Liberty Twp Volunteer Fire Dept
Buckeye Council 436
P.O. Box
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Liberty Union Vfw Post 3761
Simon Kenton Council 441
2155 Reynoldsburg Baltimore Rd Nw
Baltimore, OH 43105


Liberty University
Attn Student Accounts
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Liberty Utd Methodist Church
Heart of America Council 307
1001 Sunset Ave
Liberty, MO 64068


Liberty Ward LDS
Blue Grass Council 204
176 Bull Run Rd
Liberty, KY 42539


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La Cygne, KS 66040


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P.O. Box 327
Licking, MO 65542


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Dallas, TX 75211


Lidia Contreras Campbell
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Lido Isle Womans Club
Orange County Council 039
701 Via Lido Soud
Newport Beach, CA 92663


Lidya Shulyak
Address Redacted


Lieder Elementary School ‐ PTO
Sam Houston Area Council 576
17300 Keith Harrow Bvd
Houston, TX 77084


Lien Doan Bac Dau
Silicon Valley Monterey Bay 055
1734 Jones Ave
Santa Clara, CA 95051


Lien Doan Bach Dang Giang
Orange County Council 039
16436 Vernon St
Fountain Valley, CA 92708


Lien Doan Chi Lang Assoc
Orange County Council 039
9386 Lily Ave
Fountain Valley, CA 92708


Lien Doan Chi Lang Foundation
Orange County Council 039
9168 Mcbride River Ave
Fountain Valley, CA 92708


Lien Doan Chi Linh
Orange County Council 039
4760 Lincoln Ave
Cypress, CA 90630


Lien Doan Hd Tran Hung Dao
Orange County Council 039
18150 Devonwood Cir
Fountain Valley, CA 92708


Lien Doan Hoa Binh
Silicon Valley Monterey Bay 055
5173 Sunny Creek Dr
San Jose, CA 95135


Lien Doan Hoa Lu 1
Orange County Council 039
30062 Topsail
Laguna Niguel, CA 92677


Lien Doan Hoa Lu 2
Orange County Council 039
30062 Topsail
Laguna Niguel, CA 92677


Lien Doan Hoa Lu 3
Orange County Council 039
30062 Topsail
Laguna Niguel, CA 92677


Lien Doan Hoa Lu 4
Orange County Council 039
30062 Topsail
Laguna Niguel, CA 92677


Lien Doan Hoa Lu 5
Orange County Council 039
30062 Topsail
Laguna Niguel, CA 92677


Lien Doan Hoa Lu Parent Assoc
Silicon Valley Monterey Bay 055
2117 Ashwood Ln
San Jose, CA 95132


Lien Doan Hoang Sa
Orange County Council 039
2812 W Whaven Dr
Anaheim, CA 92821


Lien Doan Hung Vuong
Orange County Council 039
13502 Paysen Dr
Westminster, CA 92683


Lien Doan Hung Vuong Foundation
Orange County Council 039
7777 Wminster Blvd
Westminster, CA 92683


Lien Doan Huong Dao Trung Duong
Orange County Council 039
2081 S Della Ln
Anaheim, CA 92802


Lien Doan Huong Dao Truong Son Corp
Orange County Council 039
939 W 20th St
Santa Ana, CA 92706


Lien Doan Huong Dao Van Lang
Orange County Council 039
18150 Devonwood Cir
Fountain Valley, CA 92708


Lien Doan Huong Dao Van Lang A
Orange County Council 039
18150 Devonwood Cir
Fountain Valley, CA 92708
Lien Doan Huong Viet
Orange County Council 039
3521 Almond St
Irvine, CA 92606


Lien Doan Lam Son, Inc
Orange County Council 039
2114 Cotter St
Santa Ana, CA 92706


Lien Doan Phu Dong
Silicon Valley Monterey Bay 055
17355 Walnut Grove Dr
Morgan Hill, CA 95037


Lien Doan Potomac Crew 1794
National Capital Area Council 082
21304 Autumn Rose Way
Germantown, MD 20876


Lien Doan Potomac, Inc
National Capital Area Council 082
12700 Lincolnshire Dr
Potomac, MD 20854


Lien Doan Sai Gon Inc
National Capital Area Council 082
610 Deerhead Ct
Silver Spring, MD 20904


Lien Doan Truong Son
Orange County Council 039
939 W 20th St
Santa Ana, CA 92706


Life As We Know It Lawki
Pony Express Council 311
P.O. Box 542
Wathena, KS 66090


Life Christian Church
Las Vegas Area Council 328
3085 Raven Ave
Las Vegas, NV 89139


Life Church
Texas Trails Council 561
2442 Old Anson Rd
Abilene, TX 79603


Life Church Huntington
Anthony Wayne Area 157
900 E State St
Huntington, IN 46750


Life Church Indianapolis
Crossroads of America 160
612 N High School Rd
Indianapolis, IN 46214


Life Church Of La Vernia
Alamo Area Council 583
P.O. Box 1440
La Vernia, TX 78121


Life Church Smyrna Assembly Of God
Atlanta Area Council 092
4100 King Springs Rd Se
Smyrna, GA 30082


Life Church‐Kings Vly Christian Sch
Mt Diablo‐Silverado Council 023
4255 Clayton Rd
Concord, CA 94521


Life Enrichment Center
Warren Willis Um Camp
4990 Picciola Rd
Fruitland Park, FL 34731


Life Is Good Wholesale, Inc
15 Hudson Park Dr
Hudson, NH 03051
Life Point Methodist Church
Longhorn Council 662
P.O. Box 205
12501 Hwy 287
Haslet, TX 76052


Life Pointe Church
South Florida Council 084


Life Springs Utd Methodist Church
Flint River Council 095
P.O. Box 392
Zebulon, GA 30295


Life360 Westgate
Ozark Trails Council 306
3581 S Kansas Ave
Springfield, MO 65807


Lifeformations
2029 Woodbridge Blvd
Bowling Green, OH 43402


Lifegate Utd Methodist Church
Jersey Shore Council 341
P.O. Box 355
Somers Point, NJ 08244


Lifeline Community Church
Blue Ridge Council 551
6979 W Oak Hwy
Westminster, SC 29693


Lifelock Medical Supply LLC
dba Aed Market
3011 Harrah Dr, Ste R
Spring Hill, TN 37174


Lifepoint Church
Greater Alabama Council 001
433 11th St Sw
Arab, AL 35016


Lifesaver Club 1st Presbyterian Ch
Mid‐America Council 326
301 Church St
Audubon, Ia 50025


Lifesong Church
Central Florida Council 083
2800 S Alafaya Trl
Orlando, FL 32828


Lifesong Utd Methodist Church
Ozark Trails Council 306
360 Emerson Rd
Reeds Spring, MO 65737


Lifespan
Narragansett 546
167 Point St
Providence, RI 02903


Lifestream Church
President Gerald R Ford 781
P.O. Box 93
6561 Lake Michigan Dr
Allendale, MI 49401


Lifestream Church Of The Nazarene
National Capital Area Council 082
5105 Leonardtown Rd
Waldorf, MD 20601


Lifetime Dock   Lumber Inc
24536 Overseas Hwy
Summerland Key, FL 33042


Lifetime Dock   Lumber Inc
P.O. Box 420794
Summerland Key, FL 33042‐0794
Lifetime Products Inc
P.O. Box 271102
Salt Lake City, UT 84127‐1102


Lifetime Products, Inc
Freeport Center Bldg D‐11
Clearfield, UT 84016‐0010


Lifetime Products, Inc
P.O. Box 160010
Freeport Center Bldg D‐11
Clearfield, UT 84016‐0010


Lifetree Community Church
President Gerald R Ford 781
10933 Lake Michigan Dr
West Olive, MI 49460


Lifeway Ridgecrest Conference Center
P.O. Box 128
Ridgecrest, NC 28770


Lifeworks Services Inc
Northern Star Council 250
2965 Lone Oak Dr, Ste 160
Eagan, MN 55121


Lift
Great Lakes Fsc 272
1400 Rosa Parks Blvd
Detroit, MI 48216


Liga Futbol Chicago
Pathway To Adventure 456
875 Auroa Ave
Aurora, IL 60506


Liga Sol F. C.
Pathway To Adventure 456
1270 Glen Ellyn
Glendale Heights, IL 60139
Light Bulb Depot Of Tampa LLC
P.O. Box 410
Aurora, MO 65605‐0410


Light My Fire
999 18th St, Ste S1500
Denver, CO 80202


Light Of Christ Lutheran Church
Blackhawk Area 660
1100 Huntington Dr
Algonquin, IL 60102


Light Of Christ Lutheran Church
Orange County Council 039
18182 Culver Dr
Irvine, CA 92612


Light Tec Rental Inc
1311 Chemical
Dallas, TX 75207


Lightfield Llr Corp
P.O. Box 162
Adelphia, NJ 07710


Lightfoot Franklin   White LLC
400 20th St N
Birmingham, AL 35203‐3200


Lighthouse Academy At Newburg
Lincoln Heritage Council 205
5312 Shepherdsville Rd
Louisville, KY 40228


Lighthouse Baptist Church
Blue Ridge Mtns Council 599
P.O. Box 809
Madison Heights, VA 24572
Lighthouse Community Church
Greater St Louis Area Council 312
464 Fox Trail Dr
Lake St Louis, MO 63367


Lighthouse Document Technologies
dba Lighthouse
Dept La 24291
Pasadena, CA 91185‐4291


Lighthouse Elementary School PTO
Gulf Stream Council 085
4750 Dakota Dr
Jupiter, FL 33458


Lighthouse Fellowship
Longhorn Council 662
7200 Robertson Rd
Fort Worth, TX 76135


Lighthouse For The Blind
dba Lhb Industries
P.O. Box 870507
Kansas City, MO 64187‐0507


Lighthouse For The Blind
dba Lhb Industries
10440 Trenton Ave
St Louis, MO 63132


Lighthouse Freewill Baptist Church
Buckskin 617
P.O. Box 1418
Louisa, KY 41230


Lighthouse Homeschoolers Inc
Greater Tampa Bay Area 089
218 Holborn Loop
Davenport, FL 33897


Lighthouse Ministries‐Hornes Temple
Garden State Council 690
P.O. Box 242
Woodbine, NJ 08270


Lighthouse Nation
Cape Fear Council 425
14681 Rea Magnet Rd
Laurinburg, NC 28352


Lighthouse Ranch For Boys
Istrouma Area Council 211
51453 La 443
Loranger, LA 70446


Lighthouse Research     Development Inc
1292 W 12700 S
Riverton, UT 84065


Lighting Disc
1402 Corto Dr
Dallas, TX 75218


Lighting Electrical Contractor Co Inc
P.O. Box 7026
Newburgh, NY 12550


Lightning Source Inc
P.O. Box 503531
St Louis, MO 63150‐3531


Lights Chapel Baptist Church
Middle Tennessee Council 560
P.O. Box 278
Greenbrier, TN 37073


Lightstreet Fire Co
Columbia‐Montour 504
1630 Monroe Ave
Bloomsburg, PA 17815


Lightstreet Utd Methodist Church
Columbia‐Montour 504
1640 Main St
Bloomsburg, PA 17815


Ligonier Valley Ymca
Westmoreland Fayette 512
110 W Church St
Ligonier, PA 15658


Lihikai Elementary Ptsa
Aloha Council, Bsa 104
335 S Papa Ave
Kahului, HI 96732


Lihue Christian Church Of Christ
Aloha Council, Bsa 104
2943 Kress St
Lihue, HI 96766


Lihue Hongwanji Mission
Aloha Council, Bsa 104
P.O. Box 1248
Lihue, HI 96766


Lil Benny S Locksmith      Service Center
500 S Second
Raton, NM 87740


Lil Darling Shoppe
1177 Route 9
Wappinger Falls, NY 12590


Lil Drug Store Products, Inc
P.O. Box 1883
Cedar Rapids, IA 52406


Lila Kohl
Address Redacted


Lila Palmer
Address Redacted
Lilah Shernit
Address Redacted


Lilburn Christian Church
Northeast Georgia Council 101
314 Arcado Rd
Lilburn, GA 30047


Lilburn Elementary Stem
Northeast Georgia Council 101
531 Lilburn School Rd Nw
Lilburn, GA 30047


Lilia B Armas
Address Redacted


Lilia I Alcendra
Address Redacted


Liliana G Cassan
Address Redacted


Liliana Martinez
Address Redacted


Lilieth Garrison
Address Redacted


Lilliam Enriquez
Address Redacted


Lilliam Nieves
Address Redacted


Lillian Bowden
Address Redacted
Lillian Bruno
Address Redacted


Lillian Cross
Address Redacted


Lillian Crouch
Address Redacted


Lillian Griffin
Address Redacted


Lillian Jones Rec Center
Baltimore Area Council 220
1310 N Stricker St
Baltimore, MD 21217


Lillian Kallas
Address Redacted


Lillian Loretta Watson
Address Redacted


Lillian Moletz
Address Redacted


Lillian Rodriguez
Address Redacted


Lillian Rodriguez‐Soto
Address Redacted


Lillian Szabo
Address Redacted


Lillian W Dickens
Address Redacted
Lillian Watson
Address Redacted


Lillian Wright
Address Redacted


Lillie Wilson
Address Redacted


Lillington Presbyterian Church
Occoneechee 421
1101 S 8th St
Lillington, NC 27546


Lilly Baraka
Address Redacted


Lilly Grove Missionary Baptist Church
Sam Houston Area Council 576
7034 Tierwester St
Houston, TX 77021


Lillybeth Lugo
Address Redacted


Lily Driscoll
Address Redacted


Lily Lake School Ptc
Three Fires Council 127
5N720 Il Route 47
Maple Park, IL 60151


Lily Of The Valley Church
South Florida Council 084
4080 NW 165th St
Opa Locka, FL 33054


Lima
350 5th Ave, Ste 4019
New York, NY 10118


Lima City School
Black Swamp Area Council 449
755 Saint Johns Ave
Lima, OH 45804


Lima Memorial Hospital
Black Swamp Area Council 449
Belllefontaine Rd
Lima, OH 45805


Lima Parks Recreation
Black Swamp Area Council 449
900 S Collett St
Lima, OH 45804


Lima Rotary Club
Iroquois Trail Council 376
P.O. Box 255
Honeoye Falls, NY 14472


Lima Utd Methodist Church
Cradle of Liberty Council 525
P.O. Box 158
Lima, PA 19037


Lime Ridge Utd Methodist Church
Columbia‐Montour 504
6405 4th St
Bloomsburg, PA 17815


Lime Tree Bay Resort
68500 Overseas Hwy
Long Key, FL 33001


Limestone County Fire Assoc
Greater Alabama Council 001
100 Clinton St S
Athens, AL 35611
Limestone County Tech Center
Greater Alabama Council 001
505 Sanders St
Athens, AL 35611


Limestone Lions Club
Cherokee Area Council 469 469
P.O. Box 3234
Bartlesville, OK 74006


Limestone Masonic Lodge 214
Katahdin Area Council 216
222 Main St
Limestone, ME 04750


Limestone Presby Church
Del Mar Va 081
3201 Limestone Rd
Wilmington, DE 19808


Limon Rotary Club
Pikes Peak Council 060
P.O. Box 697
Limon, CO 80828


Limona Village Ch Utd Methodist Ch
Greater Tampa Bay Area 089
408 Limona Rd
Brandon, Fl 33510


Limpus Cabinet Sales
8606 E Washington St
Indianapolis, IN 46219


Linc At Indian Creek Elementary
Heart of America Council 307
9801 Grand Ave
Kansas City, MO 64114


Linc At Primitivo Garcia
Heart of America Council 307
1000 W 17th St
Kansas City, MO 64108


Lincoln Avenue Methodist Church
Ohio River Valley Council 619
3838 Lincoln Ave
Shadyside, OH 43947


Lincoln Aw Ackerson
Address Redacted


Lincoln Chamber Of Commerce
Great Rivers Council 653
P.O. Box 246
Lincoln, MO 65338


Lincoln Clc Boys And Girls Clubs
Three Harbors Council 636
1817 W Lincoln Ave
Milwaukee, WI 53215


Lincoln Cnty Fire Prot Distr 1
Greater St Louis Area Council 312
700 E Cherry St
Troy, Mo 63379


Lincoln Co Memorial Vfw Post 8828
Greater St Louis Area Council 312
P.O. Box 101
Troy, MO 63379


Lincoln Commty
United Methodist Church
Southern Shores Fsc 783
9074 Whittaker Rd
Ypsilanti, Mi 48197


Lincoln Community Education
Southern Shores Fsc 783
7425 Willis Rd
Ypsilanti, MI 48197
Lincoln County Ambulance District
Greater St Louis Area Council 312
P.O. Box 157
Troy, MO 63379


Lincoln County Emergency Medical Svcs
Piedmont Council 420
720 John Howel Memorial Dr
Lincolnton, Nc 28092


Lincoln County Regional Airport
Piedmont Council 420
714 Jack Dellinger Dr
Iron Station, NC 28080


Lincoln County Sheriff S Office
Piedmont Council 420
P.O. Box 506
Lincolnton, NC 28093


Lincoln County Sheriffs Office
Hal Kluttz Post 700
700 John Howell Memorial Dr
Lincolnton, NC 28092


Lincoln County Volunteer Fire Rescue
Middle Tennessee Council 560
312 Market St W
Fayetteville, TN 37334


Lincoln Derr PLLC
6000 Fairview Rd, Ste 655
Charlotte, NC 28210


Lincoln El School ‐ PTO
Three Harbors Council 636
1741 N Wauwatosa Ave
Milwaukee, WI 53213


Lincoln Elem After School Program
Samoset Council, Bsa 627
1621 S Felker Ave
Marshfield, WI 54449


Lincoln Elementary PTO
Northern Lights Council 429
3320 Mccully Way
Bismarck, ND 58504


Lincoln Elementary PTO
Silicon Valley Monterey Bay 055
705 California St
Salinas, CA 93901


Lincoln Elementary School
Buffalo Trace 156
635 Lincoln Ave
Evansville, IN 47713


Lincoln Elementary School P T A
Three Harbors Council 636
4416 S Packard Ave
Cudahy, WI 53110


Lincoln Elementary School PTO
Pathway To Adventure 456
3551 Block Ave
East Chicago, IN 46312


Lincoln Fire Dept‐Station 8
Cornhusker Council 324, 17th      Van Dorn
Lincoln, NE 68502


Lincoln Heights Elementary School
Longs Peak Council 062
2214 Ave C
Scottsbluff, NE 69361


Lincoln Heights Elementary School
President Gerald R Ford 781
12420 Lincoln Lake Rd Ne
Greenville, MI 48838
Lincoln Heights Outreach Enrichmt Prog
Dan Beard Council, Bsa 438
9913 Wayne Ave
Cincinnati, Oh 45215


Lincoln Heritage
12001 Sycamore Station Pl
Louisville, KY 40299‐4898


Lincoln Heritage Cncl 205
12001 Sycamore Station Pl
Louisville, KY 40299


Lincoln Heritage Council Sarah Flowers
12001 Sycamore Station Pl
Louisville, KY 40299


Lincoln Hgts Missionary Baptist Church
Dan Beard Council, Bsa 438
9991 Wayne Ave
Cincinnati, OH 45215


Lincoln High School
Denver Area Council 061
2285 S Federal Blvd
Denver, CO 80219


Lincoln Hills Christian Church
Lincoln Heritage Council 205
P.O. Box 267
Corydon, IN 47112


Lincoln Hills Utd Methodist Church
Lincoln Heritage Council 205
1598 W State Rd 64
English, IN 47118


Lincoln Kiwanis
Golden Empire Council 047
P.O. Box 1094
Lincoln, CA 95648
Lincoln Land Commty College
Springfield Airport Auth
Abraham Lincoln Council 144
815 S Airport Dr
Springfield, Il 62707


Lincoln Lions Club
Coronado Area Council 192
400 N 4th St
Lincoln, KS 67455


Lincoln Magnet Elementary
West Tennessee Area Council 559
425 Berry St
Jackson, TN 38301


Lincoln Memorial University
6965 Cumberland Gap Pkwy
Harrogate, TN 37752


Lincoln Methodist Mens Club‐Lincoln Umc
Greater Alabama Council 001
16 2nd Ave
Lincoln, AL 35096


Lincoln Middle School
Crossroads of America 160
5353 W 71st St
Indianapolis, IN 46268


Lincoln National Life Insurance Co
P.O. Box 7247‐0477
Philadelphia, PA 19170‐0477


Lincoln Northeast Kiwanis Club
Cornhusker Council 324
3940 N 27th St
Lincoln, NE 68502


Lincoln Northeast Sertoma Club
Cornhusker Council 324
8648 Ridge Hollow Dr
Lincoln, NE 68526


Lincoln Parent Staff Group
Cascade Pacific Council 492
4200 NW Daniels St
Vancouver, WA 98660


Lincoln Parents
Blue Mountain Council 604
4901 W 21st Ave
Kennewick, WA 99338


Lincoln Parish
Attn Sales     Use Tax Commission
P.O. Box 863
Ruston, LA 71273‐0863


Lincoln Park PTO
President Gerald R Ford 781
2951 Leon St
Norton Shores, MI 49441


Lincoln Parks And Rec
Cornhusker Council 324
3140 N St
Lincoln, NE 68510


Lincoln Parks And Recreation
Cornhusker Council 324
820 Goodhue Blvd
Lincoln, NE 68508


Lincoln Police Dept
Cornhusker Council 324
575 S 10th St
Lincoln, NE 68508


Lincoln School
Far E Council 803
P.O. Box 2673 Rabi Bhahan
Kathmandu,
Nepal


Lincoln School
Grand Canyon Council 010
201 Park Ave
Prescott, AZ 86303


Lincoln School Afterschool Program
Overland Trails 322
2808 O Flannagan St
Grand Island, NE 68803


Lincoln School Parent Teacher
Westchester Putnam 388
170 E Lincoln Ave
Mount Vernon, NY 10552


Lincoln School PTA
Bay‐Lakes Council 635
810 E 5th Ave
Sault S Marie, MI 49783


Lincoln School PTA
Twin Rivers Council 364
Albermarle Rd
Scotia, NY 12302


Lincoln School PTO
Great Lakes Fsc 272
22500 Federal Ave
Warren, MI 48089


Lincoln School PTO
Laurel Highlands Council 527
328 Lincoln Ave
Pittsburgh, PA 15206


Lincoln School PTO
Northeast Illinois 129
910 Forest Ave
Evanston, IL 60202
Lincoln School PTO
Sioux Council 733
1100 13th St Ne
Watertown, SD 57201


Lincoln School PTO
Three Fires Council 127
211 S 6th Ave
Saint Charles, IL 60174


Lincoln Square Recreation Center
San Francisco Bay Area Council 028
250 10th St
Oakland, CA 94607


Lincoln Trail Christian Church
Lincoln Heritage Council 205
508 Valley View Dr
P.O. Box 157
Irvington, KY 40146


Lincoln Trls Cncl 121
262 W Prairie Ave
Decatur, IL 62523


Lincoln Vfw Post 3010
Golden Empire Council 047
541 5th St
Lincoln, CA 95648


Lincoln Volunteer Fire Dept
Seneca Waterways 397
719 Plank Rd
Ontario, NY 14519


Lincoln W Loeffler
Address Redacted


Lincoln Youth Sports Assoc
Cornhusker Council 324
2033 Wilderness Ridge Dr
Lincoln, NE 68512


Lincoln/Washington Schools PTA
Patriots Path Council 358
507 Morris Ave
Summit, NJ 07901


Lincolnshire Police Dept
Northeast Illinois 129
1 Olde Half Day Rd
Lincolnshire, IL 60069


Lincroft Presbyterian Church
Monmouth Council, Bsa 347
P.O. Box 328
Lincroft, NJ 07738


Lincroft PTA
Monmouth Council, Bsa 347
729 Newman Springs Rd
Lincroft, NJ 07738


Lincroft‐Everett PTA
Monmouth Council, Bsa 347
729 Newman Springs Rd
Lincroft, NJ 07738


Linda Llewellyn     Wenz
Address Redacted


Linda Ansell
Address Redacted


Linda Badali
Address Redacted


Linda Baker
Address Redacted


Linda Barnwell
Address Redacted


Linda Baylor
Address Redacted


Linda Beagle
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Linda Bellhorn
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Linda Biggs
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Linda Bowman
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Linda Boyce
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Linda Bradford
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Linda Bradshaw
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Linda Branson
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Linda Brant
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Linda Bucci
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Linda C Sandmann
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Linda Cianci
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Linda Cipolla
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Linda Cole
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Linda Cornell
Address Redacted


Linda Cornwell
Address Redacted


Linda Davis
Address Redacted


Linda De Moreta Represents
1511 Union St
Alameda, CA 94501


Linda Dent
Address Redacted


Linda Dieguez
Address Redacted


Linda Doherty
Address Redacted


Linda Droese
Address Redacted


Linda Dunning
Address Redacted
Linda Dziedzic
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Linda Echelmeyer
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Linda Falvey
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Linda Flannery
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Linda Flood
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Linda Grady
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Linda Groves
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Linda Gurrola
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Linda Hammond
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Linda Hanson
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Linda Harris
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Linda Hartman
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Linda Hill
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Linda Hughes
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Linda Hustak
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Linda Jensen
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Linda Johnson
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Linda Kendall
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Linda Keyes
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Linda Koehler
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Linda Korff
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Linda Kozlowicz
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Linda Krog
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Linda L Gentile
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Linda Lawrence
Address Redacted


Linda Lombardi
Address Redacted


Linda Macia
Address Redacted


Linda Manely
Address Redacted


Linda Mason
Address Redacted
Linda Mawhorter
Address Redacted


Linda Mcalister Agency
100 Oak Ln
Waxahachie, TX 75167


Linda Mcnamee
Address Redacted


Linda Meehan
Address Redacted


Linda Mickel
Address Redacted


Linda Mills Rea
Address Redacted


Linda Mitchell
Address Redacted


Linda Morris
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Linda Murray
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Linda Neie
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Linda Newton
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Linda O Toole
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Linda Palmer
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Linda Pastor
Address Redacted


Linda Peoples
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Linda Petras
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Linda Presley
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Linda Purdy
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Linda Ray
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Linda Rea
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Linda Reiber
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Linda Ringley
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Linda Roark
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Linda Robertson
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Linda Robinson
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Linda Rogers
Address Redacted


Linda Runyan
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Linda Russell
Address Redacted


Linda S Green
Address Redacted


Linda Schmoldt
Address Redacted


Linda Seeley
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Linda Self
Address Redacted


Linda Smith
Address Redacted


Linda St Onge
Address Redacted


Linda Steinke
Address Redacted


Linda Thompson
Address Redacted


Linda Tu
Address Redacted
Linda Udischas
Address Redacted


Linda Vennik
Address Redacted


Linda Wagner
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Linda Weathersby‐Thompson
Address Redacted


Linda Whitaker
Address Redacted


Linda Wiegel
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Linda Wieland
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Linda Williamson
Address Redacted


Linda Willis
Address Redacted


Linda Willrich
Address Redacted


Linda Wilson
Address Redacted


Linda Wismer
Address Redacted


Linda Young
Address Redacted


Linda Zabik
Address Redacted


Linda Zais
Address Redacted


Lindbergh School PTA
Great Lakes Fsc 272
501 N Waverly St
Dearborn, MI 48128


Lindbergh School PTA
Northern New Jersey Council, Bsa 333
270 1st St
Palisades Park, NJ 07650


Linden High School Njrotc
Patriots Path Council 358
128 W Saint Georges Ave
Linden, NJ 07036


Linden Presbyterian Church
Water and Woods Council 782
119 W Broad St
Linden, MI 48451


Linden School PTA
Great Smoky Mountain Council 557
700 Robertsville Rd
Oak Ridge, TN 37830


Linden Stem Elementary School
Simon Kenton Council 441
2626 Cleveland Ave
Columbus, OH 43211


Linden Street School P T O
Connecticut Rivers Council, Bsa 066
69 Linden St
Plainville, CT 06062


Linden Utd Methodist Church
Black Warrior Council 006
401 N Main St
Linden, AL 36748


Linden Utd Methodist Church
Crossroads of America 160
609 S Main St
Linden, IN 47955


Linden Utd Methodist Church
Crossroads of America 160
P.O. Box 38
Linden, IN 47955


Lindenhurst Explorer Post 2008
2300 E Grand Ave
Officer Eric Gugel
Lindenhurst, IL 60046


Lindenwald Utd Methodist Church
Dan Beard Council, Bsa 438
3501 Pleasant Ave
Hamilton, OH 45015


Lindenwold Home   School Council
Garden State Council 690
317 Lake Blvd
Lindenwold, NJ 08021


Lindenwood University
Department of Financial Aid
209 S Kingshighway
St Charles, MO 63301


Lindenwood University Alpha Phi Omega
Greater St Louis Area Council 312
209 S Kingshighway St
Saint Charles, MO 63301
Lindholm Construction Inc
88005 Overseas Hwy 10‐157
Islamorada, FL 33036


Lindley Middle School
Atlanta Area Council 092
50 Veterans Memorial Hwy Se
Mableton, GA 30126


Lindley Sixth Grade Academy
Atlanta Area Council 092
1550 Pebblebrook Cir Se
Mableton, GA 30126


Lindsay Gerlach
Address Redacted


Lindsay Hart, LLP
Attn James L Dumas
1300 SW 5th Ave, Ste 3400
Portland, OR 97201


Lindsay Janke
Address Redacted


Lindsay Sawyer C/O Kim Dawson Agency
1645 Stemmons Frwy, Ste B
Dallas, TX 75207


Lindsay Sparks
Address Redacted


Lindsay Street Baptist Church
Atlanta Area Council 092
551 N Ave
Atlanta, GA 30314


Lindsay Windows LLC
1995 Commerce Dr
North Mankato, MN 56003
Lindsey Anna Conry
Address Redacted


Lindsey Conboy
Address Redacted


Lindsey Conry
Address Redacted


Lindsey Dionne
Address Redacted


Lindsey Garrett American Legion Post 64
Northeast Georgia Council 101
318 Alcovy St
Monroe, GA 30655


Lindsey M Wayland
Address Redacted


Lindsey Rae Lawhorn
Address Redacted


Lindsey Shoemaker
Address Redacted


Lindsey Short
Address Redacted


Lindsey Smith
Address Redacted


Lineage
1629 Cross Beam Dr
Charlotte, NC 28217


Line‐A‐Lot
P.O. Box 56223
Charlotte, NC 28256


Linebarger Goggan Blair   Sampson, Llp
Attn Elizabeth Weller
2777 N. Stemmons Fwy, Ste 1000
Dallas, TX 75207


Linebarger Goggan Blair    Sampson, Llp
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064


Lineberger Veterinary Hospital
Piedmont Council 420
3735 S New Hope Rd
Gastonia, NC 28056


Lines School PTO
Pathway To Adventure 456
217 Eern Ave
Barrington, IL 60010


Linglestown Fire Co
New Birth of Freedom 544
4801 Linglestown Blvd
Harrisburg, PA 17112


Linglestown Life Utd Methodist Church
New Birth of Freedom 544
1430 N Mountain Rd
Harrisburg, PA 17112


Lingston County Sheriff Dept
Southern Shores Fsc 783
150 S Highlander Way
Howell, MI 48843


Linhphi S Buipham
Address Redacted
Link Snacks, Inc
Department 7115
Carol Stream, IL 60122‐7115


Link Snacks, Inc
P.O. Box 397
Minong, WI 54859


Linked Retail
2557 Whollow Dr
Houston, TX 77082


Linkedin
1000 W Maude Ave
Sunnyvale, CA 94085


Linkedin Corp
62228 Collections Center Dr
Chicago, IL 60693‐0622


Linker Masonry Co
P.O. Box 1565
Harrisburg, NC 28075


Linn Grove Utd Methodist Church
Mid Iowa Council 177
P.O. Box 46
Prole, IA 50229


Linneus Sno Sports Inc
Katahdin Area Council 216
P.O. Box 529
Houlton, ME 04730


Lino Lakes Police Dept
Northern Star Council 250
640 Town Center Pkwy
Lino Lakes, MN 55014


Linode, LLC
329 E Jimmie Leeds Rd, Ste A
Galloway, NJ 08205


Linotype Gmbh
Werner‐Reimers‐Strasse2‐4
Bad Homburg, 61352
Germany


Linroki Service Inc
dba Valley Forge Security Center
117 Town Center Rd
King of Prussia, PA 19406


Linthicum Elem Sch
Parent Teacher Assoc
Baltimore Area Council 220
101 School Ln
Linthicum Hts, Md 21090


Linthicum Elem Sch Parent Teacher Assoc
Baltimore Area Council 220
School Lane
Linthicum Heights, Md 21090


Linton Elementary School PTO
Longs Peak Council 062
4100 Caribou Dr
Fort Collins, CO 80525


Linton Hall School
National Capital Area Council 082
9535 Linton Hall Rd
Bristow, VA 20136


Linwood Golden Club
Northern Star Council 250
22847 Typo Creek Dr
Wyoming, MN 55092


Linwood Heights Utd Methodist Church
Cradle of Liberty Council 525
1627 Chichester Ave
Linwood, PA 19061
Linwood Jordan
Address Redacted


Linwood Public Charter School
Norwela Council 215
401 W 70th St
Shreveport, LA 71106


Linwood Wiley Jr
Address Redacted


Linz Photography
20 Greenways Ln
Lakewood, NJ 08701


Lion Brothers Co Inc
300 Red Brook Blvd, Ste 410
Owings Mills, MD 21117‐5147


Lion Brothers Co Inc
Attn Susan Ganz, CEO
10246 Reisterstown Rd
Owings Mills, MD 21117


Lion S Club
Northern New Jersey Council, Bsa 333
86 Park Row
Wallington, NJ 07057


Lion S Club
Simon Kenton Council 441
2400 State Route 131
Hillsboro, OH 45133


Lions
Coronado Area Council 192
General Delivery
Belleville, KS 66935
Lions   Optimists
Quivira Council, Bsa 198
115 Pembroke Pl
Ellinwood, KS 67526


Lions ‐ Hartville
Buckeye Council 436
P.O. Box 273
Hartville, OH 44632


Lions ‐ Jeromesville
Buckeye Council 436
180 County Rd 30A
Jeromesville, OH 44840


Lions ‐ Loudonville
Buckeye Council 436
643 Wooster Rd
Loudonville, OH 44842


Lions ‐ Magnolia 5355
Buckeye Council 436
830 Canal St
Magnolia, OH 44643


Lions ‐ Sugarcreek Garaway
Buckeye Council 436
P.O. Box 577
1018 Mcdonald Dr Ne
Sugarcreek, OH 44681


Lions Club
Bay‐Lakes Council 635
6768 Oak Bluff 23.7 Dr
Gladstone, MI 49837


Lions Club
Black Warrior Council 006
P.O. Box 338
Livingston, AL 35470


Lions Club
c/o Ken Mannes
Winnebago Council, Bsa 173
707 Milton Ave
Lake Mills, IA 50450


Lions Club
c/o E Jay Deines
Coronado Area Council 192
P.O. Box 398
Wa Keeney, KS 67672


Lions Club
Carlisle United Methodist Church
Mid Iowa Council 177
13866 Delaware St
Carlisle, Ia 50047


Lions Club
Cornhusker Council 324
P.O. Box 222
Hebron, NE 68370


Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 91
Center Harbor, NH 03226


Lions Club
De Soto Area Council 013
W 8th Ave
Crossett, AR 71635


Lions Club
Hoosier Trails Council 145 145
P.O. Box 627
Milan, IN 47031


Lions Club
Katahdin Area Council 216
P.O. Box 405
Mapleton, ME 04757
Lions Club
Longhorn Council 662
P.O. Box 906
Decatur, TX 76234


Lions Club
Longhouse Council 373
1 Harpers Ter
Carthage, NY 13619


Lions Club
Mayflower Council 251
70 Roosevelt Ave
West Bridgewater, MA 02379


Lions Club
Mississippi Valley Council 141 141
P.O. Box 319
La Harpe, IL 61450


Lions Club
Mountaineer Area 615
Rr 1 Box 207
Belington, WV 26250


Lions Club
Overland Trails 322
P.O. Box 142
Oneill, NE 68763


Lions Club
Sequoyah Council 713
P.O. Box 213
Lebanon, VA 24266


Lions Club
Shenandoah Area Council 598
325 Long Ave
Shenandoah, VA 22849


Lions Club
Simon Kenton Council 441
20 S Trine St
Canal Winchester, OH 43110


Lions Club
W D Boyce 138
101 E Locust St
Fairbury, IL 61739


Lions Club
Winnebago Council, Bsa 173
2696 Nolen Ave
Independence, IA 50644


Lions Club
Winnebago Council, Bsa 173
703 Evergreen St
New Hampton, IA 50659


Lions Club
Winnebago Council, Bsa 173
P.O. Box 67
Wanda Orric
Nashua, IA 50658


Lions Club ‐ Adel
c/o Tom Harbison
Mid Iowa Council 177
30652 River Bye Rd
Adel, IA 50003


Lions Club ‐ Belgium
Bay‐Lakes Council 635
P.O. Box 222
Belgium, WI 53004


Lions Club ‐ Breckenridge
Northern Lights Council 429
P.O. Box 171
Breckenridge, MN 56520


Lions Club ‐ Brussels
Bay‐Lakes Council 635
1580 County Rd C
Brussels, WI 54204


Lions Club ‐ De Pere
Bay‐Lakes Council 635
P.O. Box 5011
De Pere, WI 54115


Lions Club ‐ Denmark
c/o Kurt Vandenplas
Bay‐Lakes Council 635
5132 County Rd R
Denmark, WI 54208


Lions Club ‐ Denver
Sagamore Council 162
164 N Yorick
Denver, IN 46926


Lions Club ‐ Eagle River
Great Alaska Council 610
P.O. Box 771046
Eagle River, AK 99577


Lions Club ‐ Eden
Bay‐Lakes Council 635
318 Fond Du Lac Ave
Eden, WI 53019


Lions Club ‐ Elkhart Lake
Bay‐Lakes Council 635
P.O. Box 475
Elkhart Lake, WI 53020


Lions Club ‐ Fredonia
Bay‐Lakes Council 635
7595 Hickory Dr
Fredonia, WI 53021


Lions Club ‐ Garwin
Mid Iowa Council 177
403 3rd St
Garwin, IA 50632


Lions Club ‐ Grafton
Bay‐Lakes Council 635
217 Prairie Run
Grafton, WI 53024


Lions Club ‐ Greentown
Sagamore Council 162
P.O. Box 18
Greentown, IN 46936


Lions Club ‐ Greenville
Bay‐Lakes Council 635
Hwy 76
Greenville, WI 54942


Lions Club ‐ Grimes
Mid Iowa Council 177
807 NE Park St
Grimes, IA 50111


Lions Club ‐ Hilbert
Bay‐Lakes Council 635
713 Greve Ct
Hilbert, WI 54129


Lions Club ‐ Iola
Bay‐Lakes Council 635
P.O. Box 477
Iola, WI 54945


Lions Club ‐ Kiel
Bay‐Lakes Council 635
423 N St
Kiel, WI 53042


Lions Club ‐ Madrid
Mid Iowa Council 177
2103 330th St
Madrid, IA 50156
Lions Club ‐ New Virginia
Mid Iowa Council 177
6113 Virginia St
New Virginia, IA 50210


Lions Club ‐ Oconto Falls
c/o Shane Senn
Bay‐Lakes Council 635
5144 S Maple St
Oconto Falls, WI 54154


Lions Club ‐ Ogden
c/o John Emerson
Mid Iowa Council 177
619 W Div St
Ogden, IA 50212


Lions Club ‐ Peshtigo
Bay‐Lakes Council 635
P.O. Box 4
Peshtigo, WI 54157


Lions Club ‐ Pickerington
Simon Kenton Council 441
195 Parkwood Ave
Pickerington, OH 43147


Lions Club ‐ Random Lake
c/o Dan Uelmen
Bay‐Lakes Council 635
P.O. Box 321
Random Lake, WI 53075


Lions Club ‐ Rosendale
Bay‐Lakes Council 635
P.O. Box 202
Rosendale, WI 54974


Lions Club ‐ Saukville
Bay‐Lakes Council 635
175 N Dries St
Saukville, WI 53080
Lions Club ‐ Sigourney
Mid Iowa Council 177
20678 232nd St
Sigourney, IA 52591


Lions Club ‐ Sister Bay
Bay‐Lakes Council 635
P.O. Box 81
Sister Bay, WI 54234


Lions Club ‐ State Center
Mid Iowa Council 177
P.O. Box 460
State Center, IA 50247


Lions Club ‐ State Center 1
Mid Iowa Council 177
P.O. Box 460
127 Main St W


Lions Club ‐ Stephenson
Bay‐Lakes Council 635
N7311 Hendrickson Rd K 4
Stephenson, MI 49887


Lions Club ‐ Stockbridge
Bay‐Lakes Council 635
W3180 State Rd
Chilton, WI 53014


Lions Club ‐ Sweetser
Sagamore Council 162
110 N Main
Sweetser, IN 46987


Lions Club ‐ Valders
Bay‐Lakes Council 635
P.O. Box 1
Valders, WI 54245
Lions Club / Optimist Club ‐ Algoma
c/o Laurie Jorgensen
Bay‐Lakes Council 635
P.O. Box 125
Algoma, WI 54201


Lions Club 12247 Of Rainsville
Greater Alabama Council 001
298 Rodeo Lane
Rainsville, AL 35986


Lions Club Adams
Twin Valley Council Bsa 283
65296 220th St
Dexter, MN 55926


Lions Club Adrian
Heart of America Council 307
P.O. Box 81
General Delivery
Adrian, MO 64720


Lions Club Arlington
Twin Valley Council Bsa 283
P.O. Box 695
Arlington, MN 55307


Lions Club Carrollton
Heart of America Council 307
709 N Folger St
Carrollton, MO 64633


Lions Club Cedarburg
Bay‐Lakes Council 635
P.O. Box 754
Cedarburg, WI 53012


Lions Club Concordia
Heart of America Council 307
1401 S Main St
Concordia, MO 64020
Lions Club Denver
Winnebago Council, Bsa 173
621 Sunrise St
100 Washington St
Denver, IA 50622


Lions Club Dysart
Winnebago Council, Bsa 173
200 Adams St
La Porte City, IA 50651


Lions Club Elgin
Winnebago Council, Bsa 173
306 Mill Ave
Elgin, IA 52141


Lions Club Emerado‐Arvilla
Northern Lights Council 429
P.O. Box 67
Arvilla, ND 58214


Lions Club Goose Lake
Illowa Council 133
508 Public St
Goose Lake, IA 52750


Lions Club International
Arbuckle Area Council 468
406 E Prairie Ave
Coalgate, OK 74538


Lions Club International
Greater Yosemite Council 059
P.O. Box 101
Standard, CA 95373


Lions Club International
Montana Council 315
131 Box Car Rd
Nashua, MT 59248


Lions Club International
Santa Fe Trail Council 194
102 N Logan St
P.O. Box 189
Hanston, KS 67849


Lions Club International Assoc
California Inland Empire Council 045
157 S Ramona Blvd
San Jacinto, CA 92583


Lions Club Iota Egan
Evangeline Area 212
1625 Connie Rd
Iota, LA 70543


Lions Club Jesup
Winnebago Council, Bsa 173
P.O. Box 602
641 Young St
Jesup, IA 50648


Lions Club Kearney
Heart of America Council 307
P.O. Box 655
Kearney, MO 64060


Lions Club Lake Crystal
Twin Valley Council Bsa 283
211 E Lake St
Lake Crystal, MN 56055


Lions Club Lake Tanglewood
Golden Spread Council 562
161 S Shore Dr
Amarillo, TX 79118


Lions Club Lansing
Heart of America Council 307
P.O. Box 275
Lansing, KS 66043


Lions Club Leavenworth
Grand Columbia Council 614
P.O. Box 113
Leavenworth, WA 98826


Lions Club Leawood Ks
Heart of America Council 307
7504 Lamar Ave, Apt 47
Prairie Village, KS 66208


Lions Club Lexington
c/o Jay Gott
Heart of America Council 307
754 Pool View Dr
Lexington, MO 64067


Lions Club Memphis
Golden Spread Council 562
P.O. Box 126
Memphis, TX 79245


Lions Club Moses Lake
Grand Columbia Council 614
P.O. Box 275
Moses Lake, WA 98837


Lions Club Of Akron
Longs Peak Council 062
601 Main Ave
Akron, CO 80720


Lions Club Of Almont
Water and Woods Council 782
P.O. Box 183
Almont, MI 48003


Lions Club Of Barrington
Pathway To Adventure 456
200 N Signal Hill Rd
North Barrington, IL 60010


Lions Club Of Bath
Minsi Trails Council 502
32 Yeats Run
Northampton, PA 18067


Lions Club Of Bath Township
Water and Woods Council 782
P.O. Box 75
13403 Allen St
Bath, MI 48808


Lions Club Of Beaverton
Water and Woods Council 782
142 Saginaw St
Beaverton, MI 48612


Lions Club Of Bellingham
Narragansett 546
3 Squire Ln
Bellingham, MA 02019


Lions Club Of Berlin
Connecticut Rivers Council, Bsa 066
255 Cole Ln
Berlin, CT 06037


Lions Club Of Bloomingdale
Three Fires Council 127
P.O. Box 318
Bloomingdale, IL 60108


Lions Club Of Burgettstown
Laurel Highlands Council 527
Scout Hut Hindman Ave
Burgettstown, PA 15021


Lions Club Of Burlington
Connecticut Rivers Council, Bsa 066
292 Spielman Hwy
Burlington, CT 06013


Lions Club Of Calhan
Pikes Peak Council 060
12561 N Ellicott Hwy
Calhan, CO 80808


Lions Club Of Cambridge
Glaciers Edge Council 620
P.O. Box 504
Cambridge, WI 53523


Lions Club Of Canton
Connecticut Rivers Council, Bsa 066
Po 363
126 Morgan Rd
Canton, CT 06019


Lions Club Of Capac
Water and Woods Council 782
315 W Meier Ave
Capac, MI 48014


Lions Club Of Carmel
Crossroads of America 160
141 E Main St
Carmel, IN 46032


Lions Club Of Chatfield
Gamehaven 299
626 Cliff St Ne
Chatfield, MN 55923


Lions Club Of Cheshire
Connecticut Rivers Council, Bsa 066
P.O. Box 175
Cheshire, CT 06410


Lions Club Of Chestertown
Del Mar Va 081
105 S Mill St
P.O. Box 155
Chestertown, MD 21620


Lions Club Of Cheyenne
Longs Peak Council 062
P.O. Box 4001
Cheyenne, WY 82003


Lions Club Of Claypool
Anthony Wayne Area 157
205 W Calhoun St
Claypool, IN 46510


Lions Club Of Clayton De
Del Mar Va 081
P.O. Box 846
Clayton, DE 19938


Lions Club Of Coleman
Water and Woods Council 782
P.O. Box 163
Coleman, MI 48618


Lions Club Of Columbia
Connecticut Rivers Council, Bsa 066
P.O. Box 1
Columbia, CT 06237


Lions Club Of Columbia Falls
Montana Council 315
1230 9th Ave W
Columbia Falls, MT 59912


Lions Club Of Coon Rapids
Northern Star Council 250
P.O. Box 48176
Coon Rapids, MN 55448


Lions Club Of Cooperstown
Leatherstocking 400
P.O. Box 219
Fly Creek, NY 13337


Lions Club Of Cortland, Ohio
Great Trail 433
197 W Main St
Cortland, OH 44410
Lions Club Of Cotati
Redwood Empire Council 041
86 La Plz
Cotati, CA 94931


Lions Club Of Culbertson
Northern Lights Council 429
P.O. Box 263
Culbertson, MT 59218


Lions Club Of Damascus
c/o Marcia Holpuch
National Capital Area Council 082
P.O. Box 267
Damascus, MD 20872


Lions Club Of Danville
Mt Diablo‐Silverado Council 023
3160 Crow Canyon Rd, Ste 120
San Ramon, CA 94583


Lions Club Of Darien
Pathway To Adventure 456
P.O. Box 2006
Darien, IL 60561


Lions Club Of Davidson
Mecklenburg County Council 415
230 Crescent Dr
Davidson, NC 28036


Lions Club Of Deer Park
Suffolk County Council Inc 404
28 Winnecomac Ave
Deer Park, NY 11729


Lions Club Of Dell Rapids
Sioux Council 733
802 E 10th St
Dell Rapids, SD 57022
Lions Club Of Dodge Center
Gamehaven 299
305 4th Ave Nw
Dodge Center, MN 55927


Lions Club Of Douglas County
Denver Area Council 061
875 S Lindsey St
Castle Rock, CO 80104


Lions Club Of East Dubuque
Northeast Iowa Council 178
East Dubuque, IL 61025


Lions Club Of East Dubuque Il
Northeast Iowa Council 178
East Dubuque, IL 61025


Lions Club Of East Granby
Connecticut Rivers Council, Bsa 066
P.O. Box 288
East Granby, CT 06026


Lions Club Of East Windsor
Connecticut Rivers Council, Bsa 066
P.O. Box 692
Broad Brook, CT 06016


Lions Club Of Emmett
Water and Woods Council 782
10830 Mary St
Emmett, MI 48022


Lions Club Of Ephraim
Utah National Parks 591
804 E 1020 S
Ephraim, UT 84627


Lions Club Of Essex Junction
Green Mountain 592
P.O. Box 237
Essex Junction, VT 05453
Lions Club Of Estes Park
Longs Peak Council 062
2031 Monida Ct
Estes Park, CO 80517


Lions Club Of Fairgrove
Water and Woods Council 782
5150 Shreeves Rd
Fairgrove, MI 48733


Lions Club Of Farmingville‐Holtsville
Suffolk County Council Inc 404
P.O. Box 1
Farmingville, NY 11738


Lions Club Of Federalsburg
Del Mar Va 081
2640 Meadowbrook Rd
Federalsburg, MD 21632


Lions Club Of Flushing
Water and Woods Council 782
552 N Mckinley Rd
Flushing, MI 48433


Lions Club Of Flushing
Water and Woods Council 782
P.O. Box 191
Flushing, MI 48433


Lions Club Of Foster City
Pacific Skyline Council 031
P.O. Box 4005
Foster City, CA 94404


Lions Club Of Gaston
Crossroads of America 160
P.O. Box 518
Gaston, IN 47342
Lions Club Of Greenlawn
Suffolk County Council Inc 404
48 Broadway
Greenlawn, NY 11740


Lions Club Of Gurley
Longs Peak Council 062
4651 Rd 117
Gurley, NE 69141


Lions Club Of Harvester
Greater St Louis Area Council 312
4835 Central School Rd
Saint Charles, MO 63304


Lions Club Of Harwinton
Connecticut Rivers Council, Bsa 066
P.O. Box 313
Harwinton, CT 06791


Lions Club Of Hauppauge/Smithtown
Suffolk County Council Inc 404
.
Smithtown, NY 11787


Lions Club Of Hebron
Connecticut Rivers Council, Bsa 066
347 Gilead St
Hebron, CT 06248


Lions Club Of Hebron
Del Mar Va 081
P.O. Box 514
Hebron, MD 21830


Lions Club Of Jurupa Valley
California Inland Empire Council 045
5981 Limonite Ave
Jurupa Valley, CA 92509


Lions Club Of Kent
Chief Seattle Council 609
P.O. Box 5094
William Wcott
Kent, WA 98064


Lions Club Of Kent
Connecticut Rivers Council, Bsa 066
85 Kent Cornwall Rd
P.O. Box 76
Kent, CT 06757


Lions Club Of Kimball
Northern Star Council 250
P.O. Box 15
Kimball, MN 55353


Lions Club Of Lagrange Highlands
Pathway To Adventure 456
1720 W 54th St
La Grange Highlands, IL 60525


Lions Club Of Lake Grove
Suffolk County Council Inc 404
P.O. Box 100
Lake Grove, NY 11755


Lions Club Of Lakeview
Crater Lake Council 491
Box 500
Lakeview, OR 97630


Lions Club Of Lakeview
Crater Lake Council 491
P.O. Box 228
Lakeview, OR 97630


Lions Club Of Lebanon
Connecticut Rivers Council, Bsa 066
Rt 207
Lebanon, CT 06249


Lions Club Of Lennox
Sioux Council 733
46681 276th St
Lennox, SD 57039


Lions Club Of Level Green
Westmoreland Fayette 512
123 Murrysville Rd
Trafford, PA 15085


Lions Club Of Lewisboro
Westchester Putnam 388
58 Main St
South Salem, NY 10590


Lions Club Of Lewiston
Gamehaven 299
Debra Dr
Lewiston, MN 55952


Lions Club Of Lewiston
President Gerald R Ford 781
P.O. Box 864
Lewiston, MI 49756


Lions Club Of Lexington
Water and Woods Council 782
P.O. Box 247
7285 Huron Ave
Lexington, MI 48450


Lions Club Of Lombard
Three Fires Council 127
P.O. Box 413
Lombard, IL 60148


Lions Club Of Long Grove
Northeast Illinois 129
18376 W Checker Rd
Long Grove, IL 60047


Lions Club Of Lord Baltimore
Del Mar Va 081
31822 Hole In the Woods Rd
Ocean View, DE 19970


Lions Club Of Lord Baltimore
Del Mar Va 081
P.O. Box 1099
Ocean View, DE 19970


Lions Club Of Los Gatos
Silicon Valley Monterey Bay 055
50 Los Gatos Saratoga Rd
Los Gatos Lodge
Los Gatos, CA 95032


Lions Club Of Lower Swatara
New Birth of Freedom 544
2 Theodore Ave
Middletown, PA 17057


Lions Club Of Mabel
Gamehaven 299
P.O. Box 51
Mabel, MN 55954


Lions Club Of Mabel
Gamehaven 299
P.O. Box 54
Mabel, MN 55954


Lions Club Of Mansfield
Connecticut Rivers Council, Bsa 066
P.O. Box 62
Mansfield Center, CT 06250


Lions Club Of Maple Grove
Northern Star Council 250
P.O. Box 1352
Maple Grove, MN 55311


Lions Club Of Marysville
Water and Woods Council 782
1234 New Jersey Ave
Marysville, MI 48040
Lions Club Of Mattituck
Suffolk County Council Inc 404
P.O. Box 595
Mattituck, NY 11952


Lions Club Of Mckinleyville
Crater Lake Council 491
P.O. Box 2352
Mckinleyville, CA 95519


Lions Club Of Medford Lakes
Garden State Council 690
P.O. Box 2105
Medford Lakes, NJ 08055


Lions Club Of Medford‐North Patchogue
Suffolk County Council Inc 404
P.O. Box 291
Patchogue, NY 11772


Lions Club Of Medicine Lodge
Quivira Council, Bsa 198


Lions Club Of Memphis
Water and Woods Council 782
81079 Church St
Robert Birkett
Memphis, MI 48041


Lions Club Of Mesick
President Gerald R Ford 781
P.O. Box 456
5377 W 16 Rd
Mesick, MI 49668


Lions Club Of Millbrae
Pacific Skyline Council 031
P.O. Box 328
Millbrae, CA 94030
Lions Club Of Miller
Sioux Council 733
402 W Park View Dr
Miller, SD 57362


Lions Club Of Millersburg
New Birth of Freedom 544
P.O. Box 201
Millersburg, PA 17061


Lions Club Of Millsboro
Del Mar Va 081
Millsboro De
Millsboro, DE 19966


Lions Club Of Montebello
Greater Los Angeles Area 033
213 N Vail Ave
Montebello, CA 90640


Lions Club Of Montebello
Greater Los Angeles Area 033
P.O. Box 87
Montebello, CA 90640


Lions Club Of Munising
Bay‐Lakes Council 635
7410N Federal Forest Hwy 13
Wetmore, MI 49895


Lions Club Of New Hope
Northern Star Council 250
8710 45th Ave N
New Hope, MN 55428


Lions Club Of New Milford
Connecticut Rivers Council, Bsa 066
16 Crossmon Rd
New Milford, CT 06776


Lions Club Of Nogales
Catalina Council 011
P.O. Box 1148
Nogales, AZ 85628


Lions Club Of North Babylon
Suffolk County Council Inc 404
P.O. Box 2043
North Babylon, NY 11703


Lions Club Of North East
Del Mar Va 081
P.O. Box 47
North E, MD 21901


Lions Club Of North Franklin
Connecticut Rivers Council, Bsa 066
19 Meeting House Hill Rd
North Franklin, CT 06254


Lions Club Of North Stonington
Connecticut Rivers Council, Bsa 066
P.O. Box 100
North Stonington, CT 06359


Lions Club Of Northport   Centerport
Suffolk County Council Inc 404
P.O. Box 222
Northport, NY 11768


Lions Club Of Ortonville
Great Lakes Fsc 272
P.O. Box 212
Ortonville, MI 48462


Lions Club Of Ovid
Water and Woods Council 782
218 S Main St
Ovid, MI 48866


Lions Club Of Oxford
Chester County Council 539
749 Market St
Oxford, PA 19363
Lions Club Of Paradise Township
Pennsylvania Dutch Council 524
P.O. Box 342
Paradise, PA 17562


Lions Club Of Petaluma 7‐11
Redwood Empire Council 041
33 Caulfield Ct
Petaluma, CA 94954


Lions Club Of Pine Island
Gamehaven 299
P.O. Box 561
Pine Island, MN 55963


Lions Club Of Pitsburg
Miami Valley Council, Bsa 444
P.O. Box 11
Lions Club ‐Cub Scouts
Pitsburg, OH 45358


Lions Club Of Plainview
Gamehaven 299
P.O. Box 504
Plainview, MN 55964


Lions Club Of Platteville
Longs Peak Council 062
P.O. Box 254
Platteville, CO 80651


Lions Club Of Pleasanton
San Francisco Bay Area Council 028
5402 Black Ave
Pleasanton, CA 94566


Lions Club Of Plymouth
Northern Star Council 250
P.O. Box 47351
Plymouth, MN 55447
Lions Club Of Pomfret
Connecticut Rivers Council, Bsa 066
P.O. Box 91
Pomfret Center, CT 06259


Lions Club Of Port Austin
Water and Woods Council 782
3160 Pointe Aux Barques Rd
Port Austin, MI 48467


Lions Club Of Preston
Del Mar Va 081
P.O. Box 182
Preston, MD 21655


Lions Club Of Queenstown
Del Mar Va 081
P.O. Box 212
Queenstown, MD 21658


Lions Club Of Ramsey
Northern Star Council 250
P.O. Box 771
Ramsey, MN 55303


Lions Club Of Redwood Shores
Pacific Skyline Council 031
265 Monaco Dr
Redwood City, CA 94065


Lions Club Of Rio Vista
Golden Empire Council 047
175 Edgewater Dr
Rio Vista, CA 94571


Lions Club Of Rose City
Water and Woods Council 782
587 E Main St
Rose City, MI 48654


Lions Club Of Roselle
Three Fires Council 127
P.O. Box 72092
Roselle, IL 60172


Lions Club Of Rosemount Minnesota
Northern Star Council 250
13911 Duluth Dr
Apple Valley, MN 55124


Lions Club Of Ruby
Water and Woods Council 782
P.O. Box 282
Avoca, MI 48006


Lions Club Of Rushford
Gamehaven 299
211 N Burr Oak St
Rushford, MN 55971


Lions Club Of San Carlos
Pacific Skyline Council 031
P.O. Box 94
San Carlos, CA 94070


Lions Club Of San Marcos
San Diego Imperial Council 049
500 Rancheros Dr, Spc 156
San Marcos, CA 92069


Lions Club Of San Pedro
Greater Los Angeles Area 033
350 W 5th St, Ste 205
San Pedro, CA 90731


Lions Club Of Sandusky
Water and Woods Council 782
440 W Sanilac Rd
Sandusky, MI 48471


Lions Club Of Shelter Island
Suffolk County Council Inc 404
P.O. Box 760
Shelter Island, NY 11964


Lions Club Of Sheridan
Attn Paul Grove
Quapaw Area Council 018
102 N Oak St
Sheridan, AR 72150


Lions Club Of Somers
Attn Jeff Moser
Connecticut Rivers Council, Bsa 066
19 Piper Ln
Somers, CT 06071


Lions Club Of Southington
Connecticut Yankee Council Bsa 072
P.O. Box 457
104 Meriden Ave
Southington, CT 06489


Lions Club Of Ste Genevieve
Greater St Louis Area Council 312
P.O. Box 9
Sainte Genevieve, MO 63670


Lions Club Of Sterling Heights
Great Lakes Fsc 272
12828 Canal Rd
Sterling Heights, MI 48313


Lions Club Of Taos
Great Swest Council 412
P.O. Box 199
Taos, NM 87571


Lions Club Of Valhalla Inc
Westchester Putnam 388
P.O. Box 24
Valhalla, NY 10595


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Three Harbors Council 636
7336 Saint James St
Wauwatosa, WI 53213


Lions Club Of Waxahachie Texas
Circle Ten Council 571
P.O. Box 581
Waxahachie, TX 75168


Lions Club Of West Babylon
Suffolk County Council Inc 404
399 Little E Neck Rd
West Babylon, NY 11704


Lions Club Of Windsor
Longs Peak Council 062
212 Main St
Windsor, CO 80550


Lions Club Of Winfield
Three Fires Council 127
P.O. Box 98
Winfield, IL 60190


Lions Club Of Wray
Longs Peak Council 062
741 W 7th St
Wray, CO 80758


Lions Club Of Yale
Water and Woods Council 782
101 N St
Yale, MI 48097


Lions Club Of Youngstown
Greater Niagara Frontier Council 380
P.O. Box 405
Youngstown, NY 14174


Lions Club Raymore
Heart of America Council 307
305 N Huntsman Blvd
Raymore, MO 64083
Lions Club Rochester
Great Lakes Fsc 272
P.O. Box 80393
Rochester, MI 48308


Lions Club Rockford
Winnebago Council, Bsa 173
1740 230th St
Rockford, IA 50468


Lions Club Shawnee
Heart of America Council 307
11202 W 69th St
Overland Park, KS 66203


Lions Club Swink
Rocky Mountain Council 063
P.O. Box 703
Swink, CO 81077


Lions Club Terrace Heights
Grand Columbia Council 614
718 Cascadia Park Dr
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Lions Club Warrensburg
Heart of America Council 307
705 E Gay St
Warrensburg, MO 64093


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Twin Valley Council Bsa 283
600 7th St Ne
Waseca, MN 56093


Lions Club‐Deer River
Voyageurs Area 286
P.O. Box 391
Deer River, MN 56636
Lions Club‐Highland Park/Highwood
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P.O. Box 696
Highland Park, IL 60035


Lions Club‐Magnolia Center Of Riverside
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4377 Maplewood Pl
Riverside, CA 92506


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Middle Tennessee Council 560
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Nashville, TN 37204


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Office of Acct Servs/ Financial Aid
1 University Park Dr
Nashville, TN 37204‐3951
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Attn Office of Financial Aid
One University Park Dr
Nashville, TN 37204‐3951


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Attn Richard Weisbeck, Jr
42 Delaware Ave, Ste 120
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Dallas, TX 75207


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P.O. Box 228
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Newent Rd
Lisbon, CT 06351


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1800 Main St
Mechanicsburg, PA 17055


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Charlottesville, VA 22901


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Rd 1
Lisle, NY 13797


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141 Union Ave, Ste 5
Middlesex, NJ 08846


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Daniel Webster Council, Bsa 330
Charles Bancroft Hwy
Litchfield, NH 03052


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Abraham Lincoln Council 144
1285 Franciscan Dr
Litchfield, IL 62056


Litchfield Fire Dept
Abraham Lincoln Council 144
201 E Edwards St
Litchfield, IL 62056


Litchfield High School Sailing Team
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18022 Neff Rd
Cleveland, OH 44119


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Lemont, IL 60439


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99 Derby St, Ste 102
Hingham, MA 02043


Litigation Insights Inc
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9393 W 110 St, Ste 400
Overland Park, KS 66210


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Pennsylvania Dutch Council 524
P.O. Box 248
300 W Orange St
Lititz, PA 17543


Little America Hotel
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Salt Lake City, UT 84101
Little Bear Gallery      Frameworks
834 S 2Nd
Raton, NM 87740


Little Chapel On The Boardwalk
Cape Fear Council 425
2 Fayetteville St W
Wrightsville Beach, NC 28480


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Pathway To Adventure 456
1760 W Algonquin Rd
Palatine, IL 60067


Little Cypress Lions Club
Three Rivers Council 578
General Delivery
Orange, TX 77631


Little Diversified
Mecklenburg County Council 415
615 S College St, Suite 1600
Charlotte, NC 28202


Little Diversified Architectural Consltg
Mecklenburg County Council 415
5815 Wpark Dr
Charlotte, Nc 28217


Little Dragons After School Program
Mid‐America Council 326
405 E 8th St
Madison, NE 68748


Little Egg Harbor Township Police Dept
Jersey Shore Council 341
665 Radio Rd
Little Egg Harbor, Nj 08087


Little Elm Police Dept
Circle Ten Council 571
100 W Eldorado Pkwy
Little Elm, TX 75068


Little Falls Pba 346
Northern New Jersey Council, Bsa 333
P.O. Box 142
Little Falls, NJ 07424


Little Falls Utd Presbyterian
National Capital Area Council 082
6025 Little Falls Rd
Arlington, VA 22207


Little Flower Catholic Church
Buckeye Council 436
2040 Diamond St Ne
Canton, OH 44721


Little Flower Catholic Church
Crossroads of America 160
4720 E 13th St
Indianapolis, IN 46201


Little Flower Catholic Church
Erie Shores Council 460
5522 Dorr St
Toledo, OH 43615


Little Flower Children   Family Svcs Ny
Suffolk County Council Inc 404
2450 N Wading River Rd
Wading River, Ny 11792


Little Flower Men S Club
Erie Shores Council 460
1620 Olimphia Rd
Toledo, OH 43615


Little Flower Mens Club
Abraham Lincoln Council 144
800 Adlai Stevenson Dr
Springfield, IL 62703
Little Flower Parish
National Capital Area Council 082
5607 Massachusetts Ave
Bethesda, MD 20816


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dba Subway 33654‐0
P.O. Box 968
Beckley, WV 25802


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Charlotte, NC 28203


Little Hocking Community Club
Buckskin 617
1632 Twin Bridge Rd
Little Hocking, OH 45742


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Buckskin 617
1632 Twin Bridge Rd
Little Hocking, Oh 45742


Little Keswick School
Stonewall Jackson Council 763
P.O. Box 24
Keswick, VA 22947


Little Kingdom Childcare
Central N Carolina Council 416
920 S Long Dr
Rockingham, NC 28379


Little Mountain Ruitan Club
Blue Ridge Council 551
4121 US Hwy 76
Little Mountain, SC 29075


Little Mountain Ruritan Club
Blue Ridge Council 551
Lindler Field Rd
Little Mountain, SC 29075


Little Neck Douglaston Commty
Ambulance Corps
Greater New York Councils, Bsa 640
4218 Marathon Pkwy
Little Neck, Ny 11363


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Southeast Louisiana Council 214
59241 Rebel Dr
Slidell, LA 70461


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Little River Inn Inc
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Little River, CA 95456


Little River Methodist Church
Atlanta Area Council 092
12455 Hwy 92
Woodstock, GA 30188


Little River Utd Church Of Christ
National Capital Area Council 082
8410 Little River Tpke
Annandale, VA 22003


Little River Utd Methodist Church
Atlanta Area Council 092
P.O. Box 637
Woodstock, GA 30188


Little River Utd Methodist Church
Pee Dee Area Council 552
P.O. Box 160
1629 US 17
Little Rock Catholic School For Boys
Quapaw Area Council 018
6300 Father Tribou St
Little Rock, AR 72205


Little Rock Run Homeowners Assoc
National Capital Area Council 082
6201 Sandstone Way
Clifton, VA 20124


Little Rocky Run Homeowners Assoc
National Capital Area Council 082
6201 Sandstone Way
Clifton, VA 20124


Little Sandy Church Of The Nazarene
Mountaineer Area 615
3767 Little Sandy Rd
Bruceton Mills, WV 26525


Little Stony Point Citizen S Assoc
Westchester Putnam 388
3011 Route 9D
Cold Spring, NY 10516


Little Swatara Church Of The Brethren
Hawk Mountain Council 528
P.O. Box 437
31 Rehrersburg Rd
Bethel, PA 19507


Little Zion Lutheran Church
Cradle of Liberty Council 525
267 Morwood Rd
Telford, PA 18969


Little‐Nippers Club
Allegheny Highlands Council 382
546 Sartwell Rd
Eldred, PA 16731
Littleton‐ Electric Light And Water Dept
Heart Of New England Council 230
P.O. Box 2406
39 Ayer Rd
Littleton, Ma 01460


Littleton Preparatory Charter School
Denver Area Council 061
5301 S Bannock St
Littleton, CO 80120


Littleton Utd Methodist Church
Denver Area Council 061
5894 S Datura St
Littleton, CO 80120


Littleton‐Congregational Church
Heart of New England Council 230
330 King St
Littleton, MA 01460


Littleton‐Lds Church Ward 2
Heart of New England Council 230
Littleton Ward
616 Great Rd


Littleton‐Professional Firefighter Assoc
Heart Of New England Council 230
20 Foster St
Littleton, Ma 01460


Littleton‐St Anne Parish
Heart of New England Council 230
75 King St
Littleton, MA 01460


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Columbus, GA 31907


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Alamo Area Council 583
11560 Toepperwein Rd
Live Oak, TX 78233


Live Oak Lions Club
Golden Empire Council 047
1139 Hooper Rd
Yuba City, CA 95993


Live Oak Manor Elementary
Southeast Louisiana Council 214
220 Acadia Dr
Westwego, LA 70094


Live Oak Utd Methodist Church
Istrouma Area Council 211
P.O. Box 138
Watson, LA 70786


Livermore Lodge I.O.O.F.
San Francisco Bay Area Council 028
2160 1st St
Livermore, CA 94550


Livermore Pleasanton Fire Dept
San Francisco Bay Area Council 028
3560 Nevada St
Pleasanton, CA 94566


Livermore Police Dept
San Francisco Bay Area Council 028
1110 S Livermore Ave
Livermore, CA 94550


Livermore/Pleasanton Elks Lodge
San Francisco Bay Area Council 028
940 Larkspur Dr
Livermore, CA 94551


Livermore‐Pleasanton Elks Lodge No.2117
San Francisco Bay Area Council 028
940 Larkspur Dr
Livermore, CA 94551
Liverpool Lions Club
New Birth of Freedom 544
808 N Front St
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Liverpool, PA 17045


Liverpool Lodge 2348 Bpoe
Longhouse Council 373
3730 Cold Springs Rd
Baldwinsville, NY 13027


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P.O. Box 3306
San Angelo, TX 76902


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Grand Canyon Council 010
1945 E Guadalupe Rd
Tempe, AZ 85283


Living Faith Church
Northern Lights Council 429
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Fergus Falls, MN 56537


Living Faith Utd Methodist Church
Connecticut Rivers Council, Bsa 066
51 Grove St 53
Putnam, CT 06260


Living Faith Utd Methodist Church
Connecticut Rivers Council, Bsa 066
53 Grove St
Putnam, CT 06260


Living Faith Utd Methodist Church
Mid‐America Council 326
5310 S 182nd Ave
Omaha, NE 68135
Living Faith Utd Methodist Church
Mississippi Valley Council 141 141
P.O. Box 127
1st   Worrell


Living Faith Utd Methodist Church
The Spirit of Adventure 227
31 N Main St
Ipswich, MA 01938


Living Faith Utd Methodist Parish
Northeast Iowa Council 178
P.O. Box 280
702 S Main St


Living Grace Community Church
Cape Fear Council 425
50 Porters Lane
Rocky Point, NC 28457


Living Grace Utd Methodist Church
Chattahoochee Council 091
3969 Edgewood Cir
Columbus, GA 31907


Living Hope Church
Three Fires Council 127
405 W State St
North Aurora, IL 60542


Living Hope Church
Ventura County Council 057
755 Bard Rd
Port Hueneme, CA 93041


Living Hope Church Of Old Greenwich
Greenwich 067
38 W End Ave
Old Greenwich, CT 06870


Living Hope Covenant Church
Pikes Peak Council 060
6750 N Union Blvd
Colorado Springs, CO 80918


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Greater St Louis Area Council 312
500 Cedar Cir Dr
Lake St Louis, MO 63367


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500 Cedar Cir Dr
Lake Saint Louis, MO 63367


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Gulf Stream Council 085
2725 58th Ave
Vero Beach, FL 32966


Living Lord Lutheran Church
Southwest Florida Council 088
11120 E State Rd 70
Lakewood Ranch, FL 34202


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1044 Congress Dr
Bartlett, IL 60103


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Bay Shore, NY 11706


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6817 Carmel Rd
Charlotte, NC 28226


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4224 Hard Scrabble Rd
Columbia, SC 29223


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26910 Aldine Wfield Rd
Spring, TX 77373


Living Water Utd Methodist Church
Indian Nations Council 488
519 E 141st St, Ste C
Glenpool, OK 74033


Living Waters Christian Canoe Camp
Heart of America Council 307
10955 Lowell Ave, Ste 900
Overland Park, KS 66210


Living Waters Lutheran Church
Blackhawk Area 660
1808 Miller Rd
Crystal Lake, IL 60014


Living Waters Lutheran Church
Northern Star Council 250
865 Birch St
Lino Lakes, MN 55014


Living Waters Presbyterian Church
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Wendell, ID 83355


Living Word
Greater St Louis Area Council 312
17315 Manchester Rd
Glencoe, MO 63038


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Lincoln Heritage Council 205
5705 Nortonville Rd
Nortonville, KY 42442


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Sam Houston Area Council 576
16607 Clay Rd
Houston, TX 77084


Living Word Lutheran Church
Bay‐Lakes Council 635
2240 Living Word Ln
Jackson, WI 53037


Living Word Lutheran Church
Sam Houston Area Council 576
3700 S Mason Rd
Katy, TX 77450


Living Word Ministries
Blue Ridge Mtns Council 599
825 Taylor St
Lynchburg, VA 24504


Living Word Open Bible Church
South Florida Council 084
8900 Stirling Rd
Hollywood, FL 33024


Livingston First Christian Church
Middle Tennessee Council 560
320 Oakley St
Livingston, TN 38570


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Lincoln Heritage Council 205
131 Hospital Dr
Salem, Ky 42078


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Istrouma Area Council 211
30105 N Range Rd
Livingston, LA 70754


Livingston Parish School Board
P.O. Box 1030
Livingston, LA 70754‐1030


Livingston Parish Sheriffs Office
Istrouma Area Council 211
P.O. Box 1515
Livingston, LA 70754


Livingston Police Dept
Greater Yosemite Council 059
P.O. Box 308
1446 C St


Livingword Harvest Of Dallas
Circle Ten Council 571
828 4th Ave
Dallas, TX 75226


Livonia Fire Dept
Iroquois Trail Council 376
P.O. Box 151
Livonia, NY 14487


Livonia Hoover Ptsa
Great Lakes Fsc 272
15900 Levan Rd
Livonia, MI 48154


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Liz Hernandez
Address Redacted
Liza Hunte‐Dennis
Address Redacted


Liza Weiser
Address Redacted


Lizabeth Ludewig
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Buckskin 617
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Lizemore, WV 25125


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Havertown, PA 19083


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Nashville, TN 37230‐6101


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401 Lloyd Rd
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700 ‐ 10240 124 St Nw
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Canada


Lmha Port Lawrence
Erie Shores Council 460
131 Indiana Ave
Toledo, OH 43604


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Financial Aid Office
1 Lmu Dr ‐ Von Der Ahe Bldg, 270
Los Angeles, CA 90045
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1508 Military Cutoff Rd, Ste 104
Wilmington, NC 28403


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6404 Seven Corners Pl, Ste J
Falls Church, VA 22044


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1325 W Walnut Hill Lane
Irving, TX 75038


Local Enterprises
dba Local Awards   Engraving
3201 Flager Ave, Ste 501
Keywest, FL 33040


Local Outreach Task Grp ‐ First Un Meth
Prairielands 117
210 W Church St
Champaign, IL 61820


Local Services LLC
P.O. Box 530
King George, VA 22485


Local Union 948 Ibew
Water and Woods Council 782
1251 W Hill Rd
Flint, MI 48507


Lochcarron Of Scotland    Canada
570 Bryne Dr
Barrie, ON L4N 9Ps
Canada
Lock Haven Area Ymca
Susquehanna Council 533
145 E Water St
Lock Haven, PA 17745


Locke Lord LLP
2200 Ross Ave, Ste 2800
Dallas, TX 75201


Lockhart Evening Lions Club
Capitol Area Council 564
220 Bufkin Ln
Lockhart, TX 78644


Lockhart First Utd Methodist Church
Capitol Area Council 564
P.O. Box 897
313 W San Antonio St


Lockheed Martin
Denver Area Council 061
P.O. Box 179
Denver, CO 80201


Lockheed Martin
Longhouse Council 373
Electronics Pkwy
Liverpool, NY 13221


Lockheed Martin
Longhouse Council 373
P.O. Box 4840
Syracuse, NY 13221


Lockheed Martin ‐ Exploring
Longhorn Council 662
P.O. Box 748
Fort Worth, TX 76101


Lockheed Martin Space Systems Co
Silicon Valley Monterey Bay 055
1111 Lockheed Martin Way
Sunnyvale, CA 94089


Lockheed PTA
Atlanta Area Council 092
1205 Merritt Rd
Marietta, GA 30062


Lockley Pettrson, LLC
2296 Kalmia Ave
Boulder, CO 80304


Lock‐Nest LLC
81 Halifax Dr
Vandalia, OH 45377‐2906


Lockney Rotary Club
South Plains Council 694
P.O. Box 577
Lockney, TX 79241


Lockport First Presbyterian Church
Iroquois Trail Council 376
21 Church St
Lockport, NY 14094


Lockport Volunteer Fire Dept
Southeast Louisiana Council 214
806 Crescent Ave
Lockport, LA 70374


Locks   Keys Inc
P.O. Box 222
Woburn, MA 01801


Lockwood Rual Fire Dept 8
Montana Council 315
501 Johnson Ln
Billings, MT 59101


Lockwood Rural Fire District
Montana Council 315
501 Johnson Ln
Billings, MT 59101


Lockwood Rural Fire District 8
Montana Council 315
943 Wgate Dr
Billings, MT 59101


Locomote Express LLC
P.O. Box 2693
Huntington, WV 25726


Locust Corner Methodist Church
Dan Beard Council, Bsa 438
917 Locust Corner Rd
Cincinnati, OH 45245


Locust Grove Baptist Church
Greater Alabama Council 001
171 County Lake Rd
New Market, AL 35761


Locust Grove Free Will Baptist Church
Indian Nations Council 488
P.O. Box 183
Locust Grove, OK 74352


Locust Grove Utd Methodist Church
Blue Ridge Mtns Council 599
3415 Locust Grove Ln
Salem, VA 24153


Locust Grove Utd Methodist Church
Flint River Council 095
211 Peeksville Rd
Locust Grove, GA 30248


Loder Ragland Ministries Inc
Greater Alabama Council 001
2220 Ragland St
Birmingham, AL 35210
Lodestone Digital
5605 Seventy‐Seven Ctr Dr, Ste 285
Charlotte, NC 28217


Lodge Elementary School
Buffalo Trace 156
2000 Lodge Ave
Evansville, IN 47714


Lodge Manufacturing
Cherokee Area Council 556
P.O. Box 380
South Pittsburg, TN 37380


Lodge Mfg Co
P.O. Box 380
South Pittsburg, TN 37380


Lodge Of Four Seasons LLC
315 Four Seasons Dr
Lake Ozark, MO 65049


Lodging Access Systems LLC
dba Rfid Hotel
55 Skyline Dr, Ste 2850
Lake Mary, FL 32746


Lodi American Legion Post 523
Great Trail 433
120 Bank St
Lodi, OH 44254


Lodi Optimist Club
Glaciers Edge Council 620
P.O. Box 214
Lodi, WI 53555


Loews Coronado Bay Resort
51st St   8th Ave Corp
4000 Coronado Bay Rd
San Diego, CA 92118
Loews Hotels Co
Greater New York Councils, Bsa 640
655 Madison Ave
New York, NY 10068


Loews Regency Ny Hotel LLC
Loews Regency Hotel
540 Park Ave
New York, NY 10065


Loftin   Co Inc
P.O. Box 669407
Charlotte, NC 28266‐9407


Log Cabin Community Sunday School
Atlanta Area Council 092
4699 Log Cabin Dr Se
Atlanta, GA 30339


Log Cabin Taxidermy
Water and Woods Council 782
3502 W Garrison Rd
Owosso, MI 48867


Log Net Inc
230 Half Mile Rd 3rd Fl
Red Banks, NJ 07701


Logan A Hardin
Address Redacted


Logan C Jara
Address Redacted


Logan D Gaerlan
Address Redacted


Logan Handwork
Address Redacted
Logan Hoy
Address Redacted


Logan J Kuhn
Address Redacted


Logan J Shetlar
Address Redacted


Logan Judge
Address Redacted


Logan L Hunt
Address Redacted


Logan Lions Club
Coronado Area Council 192
P.O. Box 337
502 W Walnut St
Logan, KS 67646


Logan Lions Club
Trapper Trails 589
101 N Main
Logan, UT 84321


Logan M Brabson
Address Redacted


Logan Mccoy
Address Redacted


Logan Priestley
Address Redacted


Logan Rockwell Tonra
Address Redacted
Logan S Parker
Address Redacted


Logan Scott Harrison Miller
Address Redacted


Logan Screen Printing
Attn A/P
119 W Main St
Logan, OH 43138


Logan Swearengin
Address Redacted


Logansport Main Street Utd Methodist Ch
Sagamore Council 162
19 E Main St
Logansport, In 46947


Loganville Utd Methodist Church
Northeast Georgia Council 101
221 Main
Loganville, GA 30052


Loge Elementary School Parent Group
Buffalo Trace 156
915 N 4th St
Boonville, IN 47601


Logia Fiat Lux
Puerto Rico Council 661
P.O. Box 2245
Coamo, PR 00769


Logicworks
P.O. Box 29978
New York, NY 10087‐9978


Logisource
P.O. Box 10200
Matthews, NC 28105


Logisource Dba Source Transport
P.O. Box 10200
Matthews, NC 28106


Logistic Management LP
P.O. Box 2326
Grapevine, TX 76099‐2326


Logmein And Goto Services
Legal Dept
320 Summer St
Boston, MA 02210


Logmein, Inc
320 Summer St
Boston, MA 02210‐1701


Logo Chair, Inc
117 Seast Pkwy
Franklin, TN 37064


Logo Works Inc
P.O. Box 4617
Rock Hill, SC 29730


Logo Zoo LLC, Dba Pinsville
3116 Macaroon Way
North Las Vegas, NV 89031


Logo Zoo LLC, Dba Pinsville
P.O. Box 751375
Las Vegas, NV 89136


Logosurfing.Com
2518 Oak Valley Ln
Dacula, GA 30019


Lois Albertus
Address Redacted


Lois Andress
Address Redacted


Lois Bach
Address Redacted


Lois Boettcher
Address Redacted


Lois Bundy
Address Redacted


Lois Cain
Address Redacted


Lois Chadek
Address Redacted


Lois Coleman
Address Redacted


Lois Eberhard
Address Redacted


Lois Evans
Address Redacted


Lois Fraley
Address Redacted


Lois Gruber
Address Redacted


Lois Harnage
Address Redacted
Lois High
Address Redacted


Lois Jolley
Address Redacted


Lois Koch
Address Redacted


Lois Lenski Elementary PTO
Denver Area Council 061
6350 S Fairfax Way
Centennial, CO 80121


Lois Lloyd
Address Redacted


Lois Newton
Address Redacted


Lois Pitsenbarger
Address Redacted


Lois Roethel
Address Redacted


Lois Rue
Address Redacted


Lois Watford
Address Redacted


Lois Wolfersberger
Address Redacted


Lola Craig
Address Redacted
Lolita Manis
Address Redacted


Lolita Utd Methodist Church
South Texas Council 577
P.O. Box 103
Lolita, TX 77971


Lolita Volunteer Fire Dept
South Texas Council 577
P.O. Box 332
Vanderbilt, TX 77991


Lombard Public Facilities Corp
Westin Lombard
70 Yorktown Center
Lombard, IL 60148


Lomita Park Elementary School
Pacific Skyline Council 031
200 Santa Helena Ave
San Bruno, CA 94066


Lomita Police Explorers Post 1003
26123 Narbonne Ave
Lomita, CA 90717


Lompoc Elks Lodge 2274
Los Padres Council 053
905 E Ocean Ave
Lompoc, CA 93436


Lompoc Police Dept
Los Padres Council 053
107 Civic Center Plz
Lompoc, CA 93436


Lona Hofstad
Address Redacted
Lona King
Address Redacted


Lonce Scott
Address Redacted


London First Utd Methodist Church
Simon Kenton Council 441
52 N Main St
London, OH 43140


London Martin
Address Redacted


Londonderry Fire Co 1
New Birth of Freedom 544
P.O. Box 324
Middletown, PA 17057


Londonderry Fish And Game
Daniel Webster Council, Bsa 330
P.O. Box 229
Londonderry, NH 03053


Londonderry Grange 44
Daniel Webster Council, Bsa 330
Londonderry Grange 44
453 Mammoth Rd


Londonderry Police Dept
Daniel Webster Council, Bsa 330
268 Mammoth Rd
Londonderry, NH 03053


Londonderry Presbyterian Church
Daniel Webster Council, Bsa 330
126 Pillsbury Rd
Londonderry, NH 03053


Londonderry Utd Methodist Church
Daniel Webster Council, Bsa 330
258 Mammoth Rd
Londonderry, NH 03053


Londontowne Property Owners Assn
Baltimore Area Council 220
P.O. Box 1031
Edgewater, MD 21037


Londontowne Property Owners Assoc
Baltimore Area Council 220
P.O. Box 1031
Edgewater, MD 21037


Lone Dell Parents Club
Greater St Louis Area Council 312
2500 Tomahawk Dr
Arnold, MO 63010


Lone Grove Schools
Arbuckle Area Council 468
P.O. Box 1330
Lone Grove, OK 73443


Lone Oak Area Public Library
Circle Ten Council 571
P.O. Box 501
Lone Oak, TX 75453


Lone Oak Church Of Christ
Lincoln Heritage Council 205
2960 Lone Oak Rd
Paducah, KY 42003


Lone Oak Retreat LLC
8484 S Fm 372
Gainesville, TX 76240


Lone Oak Utd Methodist Church
Circle Ten Council 571
P.O. Box 271
Lone Oak, TX 75453
Lone Oak Utd Methodist Church Paducah
Lincoln Heritage Council 205
3835 Old US Hwy 45 S
Paducah, KY 42003


Lone Star Banners   Flags
Abc Flag Acquisition Corp
5206 Airport Frwy, Ste A
Haltom City, TX 76117


Lone Star Cowboy Church
Circle Ten Council 571
123 Cowboy Way
Nevada, TX 75173


Lone Star Flight Museum
Sam Houston Area Council 576
11551 Aerospace Ave
Houston, TX 77034


Lone Star Post 2150 Vfw
Circle Ten Council 571
1710 N Church St
Mckinney, TX 75069


Lone Tree Enterprises LLC
Cimarron Candle Co
P.O. Box 357
Cimarron, NM 87714


Lone Tree Remote Camps
P.O. Box 1644
West Jordan, UT 84088


Lone Tree Spirit Foundation Inc
The Spirit of Adventure 227
12 W Shore Park Rd
Kingston, NH 03848


Lonette Estrada Brest
Address Redacted
Long Beach Area
401 E 37th St
Long Beach, CA 90807‐0338


Long Beach Area Cncl 32
401 E 37th St
Long Beach, CA 90807


Long Beach Auxiliary Police
Theodore Roosevelt Council 386
859 E Park Ave
Long Beach, NY 11561


Long Beach Council
P.O. Box 7338
Long Beach, CA 90807‐0338


Long Beach Police Dept
Long Beach Area Council 032
400 W Broadway
Long Beach, CA 90802


Long Beach Sailing Foundation
Long Beach Area Council 032
P.O. Box 3116
Long Beach, CA 90803


Long Beach Volunteer Fire Dept
Lasalle Council 165
2208 Oriole Trl
Long Beach, IN 46360


Long Branch Baptist Church
Blue Ridge Council 551
28 Bolt St
Greenville, SC 29605


Long Branch Elks 742
Monmouth Council, Bsa 347
P.O. Box 3147
150 Garfield Ave


Long Creek Church Of Christ
Indian Waters Council 553
720 Longtown Rd
Columbia, SC 29229


Long Creek Presbyterian Church
Piedmont Council 420
907 Long Creek Rd
Bessemer City, NC 28016


Long Elementary School PTO
Greater St Louis Area Council 312
9021 Sappington Rd
Saint Louis, MO 63126


Long Grove Civic League
Illowa Council 133
420 S Cody Rd
Eldridge, IA 52748


Long Hill Utd Methodist Church
Connecticut Yankee Council Bsa 072
21 Elizabeth St
Trumbull, CT 06611


Long Horn Ranch
Middle Tennessee Council 560
6532 Edinburgh Dr
Nashville, TN 37221


Long Lake Church
President Gerald R Ford 781
4172 Church Rd
Traverse City, MI 49685


Long Lake Volunteer Fire Dept
Greater St Louis Area Council 312
4113 Pontoon Rd
Granite City, IL 62040
Long Life Food Depot
P.O. Box 8081
Richmond, IN 47374


Long Meadow P T O
Connecticut Rivers Council, Bsa 066
North Benson Rd
Middlebury, CT 06762


Long Memorial Umc
Old N State Council 070
226 N Main St
Roxboro, NC 27573


Long Neck Business Assoc
Del Mar Va 081
32369 Long Neck Rd, Unit 2
Long Neck, DE 19966


Long PTO
Greater St Louis Area Council 312
9721 Sappington Rd
St. Louis, MO 63126


Long Range Systems
P.O. Box 202056
Dallas, TX 75320‐2056


Long Valley Presbyterian Church
Patriots Path Council 358
39 Bartley Rd
Long Valley, NJ 07853


Long Van Tran
2984 Fallwood Ln
San Jose, CA 95132


Long Vans Inc
N 3760 State Hwy 55
Freedom, WI 54130
Long Vue
Address Redacted


Longfellow C L C
Three Harbors Council 636
1021 S 21st St
Milwaukee, WI 53204


Longfellow Independent PTO
Pathway To Adventure 456
501 S Arlington Heights Rd
Buffalo Grove, IL 60089


Longfellow New Tech Elementary PTA
Pathway To Adventure 456
4500 Calhoun St
Gary, IN 46408


Longhorn
P.O. Box 54190
Hurst, TX 76054‐0190


Longhorn Council 662
P.O. Box 54190
Hurst, TX 76054‐4190


Longhorn Council, Bsa
2305 S Hwy 121, Ste 180
Lewisville, TX 75067


Longhorn Council, Bsa
300 Lake Air Dr
Waco, TX 76710


Longhorn Council, Bsa
5344 Trail Lake Dr
Fort Worth, TX 76133


Longhorn Council, Bsa
850 Cannon Dr, Ste 101
Hurst, TX 76054‐0190


Longhorn Scout Shop ‐ Opc
P.O. Box 54898
Hurst, TX 76054‐9998


Longhouse
2803 Brewerton Rd
Syracuse, NY 13211‐1003


Longhouse Council 373
2803 Brewerton Rd
Syracuse, NY 13211


Longhouse Council, Bsa
2803 Brewerton Rd
Syracuse , NY 13211


Longleaf Middle School PTA
Indian Waters Council 553
1160 Longreen Pkwy
Columbia, SC 29229


Longleaf Services, Inc
116 S Boundary St
Chapel Hill, NC 27514


Longley Way Elementary
Greater Los Angeles Area 033
2601 Longley Way
Arcadia, CA 91007


Long‐Lost Friends Inc
Sam Houston Area Council 576
4806 Whispering Falls Dr
Houston, TX 77084


Longmeadow Congregational Church
Daniel Webster Council, Bsa 330
Wilson Crossing Rd
Auburn, NH 03032
Longmont Youth Center
Longs Peak Council 062
1051 Lashley St
Longmont, CO 80504


Longs Chapel Utd Methodist Church
Daniel Boone Council 414
P.O. Box 458
Lake Junaluska, NC 28745


Longs Chapel Utd Methodist Men
Daniel Boone Council 414
P.O. Box 459
Lake Junaluska, NC 28745


Longs Peak
2215 23rd Ave
Greeley, CO 80632‐1166


Longs Peak Cncl 62
2215 23rd Ave
P.O. Box 1166
Greeley, CO 80632‐1166


Longs Peak Council, Bsa
5604 Mcwhinney Blvd
Loveland, CO 80538


Longs Peak Utd Methodist Church
Longs Peak Council 062
1421 Elmhurst
Longmont, CO 80503


Longs Run Trinity Presbyterian Church
Buckeye Council 436
15851 Longs Church Rd
East Liverpool, OH 43920


Longstock Ii LLC
dba Stock Island Marina Village
7009 Shrimp Rd, Ste 4
Key W, Fl 33040


Longswamp Utd Church Of Christ
St Paul S Lutheran Church
Hawk Mountain Council 528
200 Clay Rd


Longview Fire Dept
East Texas Area Council 585
100 E Cotton St
Longview, TX 75601


Longview Highlands Neighborhood Assoc
Cascade Pacific Council 492
292 21st Ave
Longview, WA 98632


Longview Lions Club
East Texas Area Council 585
1404 Creekwood Ln
Longview, TX 75602


Longview Pioneer Lions Club
Cascade Pacific Council 492
P.O. Box 1102
Longview, WA 98632


Longview Police Dept
East Texas Area Council 585
302 W Cotton St
Longview, TX 75601


Longview Utd Methodist Church
Lincoln Heritage Council 205
4320 S Wilson Rd
Elizabethtown, KY 42701


Longwood Gardens Inc
P.O. Box 501
Kennett Square, PA 19348
Longwood Police Explorer Post 212
Central Florida Council 083
235 W Church Ave
Longwood, FL 32750


Longwood Rotary
Chester County Council 539
P.O. Box 781
Kennett Sq, PA 19348


Longwood Rotary
Chester County Council 539
P.O. Box 781
Kennett Square, PA 19348


Longworth Industries Inc
P.O. Box 968
5417 Hwy 211
West End, NC 27376


Lonnah Curry
Address Redacted


Lonnie B Nelson PTO
Indian Waters Council 553
N Brickyard Rd
Columbia, SC 29223


Lonnie Clark
Address Redacted


Lonnie King
Address Redacted


Lonnie Martin
Address Redacted


Lonnie Tadlock
Address Redacted
Lonsdale Lions Club
Northern Star Council 250
P.O. Box 314
Lonsdale, MN 55046


Lookout Mountain School PTO
Grand Canyon Council 010
15 W Coral Gables Dr
Phoenix, AZ 85023


Loomis Armored Us LLC
2500 Citywest Blvd, Ste 2300
Houston, TX 77042‐3031


Loomis Armored Us LLC
dba Loomis
Dept Ch 10500
Palatine, IL 60055‐0500


Loomis Fargo   Co Inc
Dept 0757 P.O. Box 120001
Dallas, TX 75312‐0757


Loomis Lions Club
Golden Empire Council 047
3739 Taylor Rd
Loomis, CA 95650


Loose Creek Willing Workers
Great Rivers Council 653
797 County Rd 602
Loose Creek, MO 65054


Loose‐Leaf Lectionary
P.O. Box 37774
Boone, IA 50037‐0774


Loper School PTO
Crossroads of America 160
901 Loper Dr
Shelbyville, IN 46176
Lopez Tile Installation   Repair Inc
P.O. Box 501821
Marathon, FL 33050


Lora Bingen
Address Redacted


Lora Humphreys
Address Redacted


Lora Hunter
Address Redacted


Lora Reid
Address Redacted


Lorain Boating Education Foundation
Lake Erie Council 440
1108 Alabama Ave
Lorain, OH 44052


Lorain County Sheriffs Office
Lake Erie Council 440
9896 Murray Ridge Rd
Elyria, OH 44035


Lorain Police Dept
Lake Erie Council 440
100 W Erie Ave
Lorain, OH 44052


Lorain Sailing   Yacht Club
Lake Erie Council 440
P.O. Box 697
Lorain, OH 44052


Loraine Parker
Address Redacted
Lorane Assoc Of Parent/Teacher
Hawk Mountain Council 528
699 Rittenhouse Dr
Reading, PA 19606


Lorane Rebekah Lodge 252
Oregon Trail Council 697
P.O. Box 11008
Lorane, OR 97451


Loranger Utd Methodist Church
Istrouma Area Council 211
P.O. Box 631
Loranger, LA 70446


Loras College
Northeast Iowa Council 178
1450 Alta Vista
Dubuque, IA 52001


Loras College Computer Science
Northeast Iowa Council 178
1450 Alta Vista St
Dubuque, IA 52001


Loray Baptist Church
Piedmont Council 420
1128 W Franklin Blvd
Gastonia, NC 28052


Lord Of Glory Lutheran Church
Northeast Illinois 129
607 W Belvidere Rd
Grayslake, IL 60030


Lord Of Grace Lutheran Church
Catalina Council 011
7250 N Cortaro Rd
Tucson, AZ 85743


Lord Of Life Church
Capitol Area Council 564
9700 Neenah Ave
Austin, TX 78717


Lord Of Life Lutheran
Sam Houston Area Council 576
3801 S Panther Creek Dr
The Woodlands, TX 77381


Lord Of Life Lutheran Church
Alamo Area Council 583
5955 Fm 78
San Antonio, TX 78244


Lord Of Life Lutheran Church
Atlanta Area Council 092
3250 Mount Zion Rd
Stockbridge, GA 30281


Lord Of Life Lutheran Church
Blue Mountain Council 604
640 N Columbia Center Blvd
Kennewick, WA 99336


Lord Of Life Lutheran Church
Coastal Carolina Council 550
351 Buckwalter Pkwy
Bluffton, SC 29910


Lord Of Life Lutheran Church
Dan Beard Council, Bsa 438
6329 Tylersville Rd
West Chester, OH 45069


Lord Of Life Lutheran Church
Lake Erie Council 440
17989 Chillicothe Rd
Chagrin Falls, OH 44023


Lord Of Life Lutheran Church
Mid‐America Council 326
20844 Bonanza Blvd
Elkhorn, NE 68022


Lord Of Life Lutheran Church
Northern Lights Council 429
1143 N 26th St
Bismarck, ND 58501


Lord Of Life Lutheran Church
Northern Star Council 250
7401 County Rd 101 N
Maple Grove, MN 55311


Lord Of Life Lutheran Church
Sam Houston Area Council 576
3801 S Panther Creek Dr
The Woodlands, TX 77381


Lord Of Love
Heart of America Council 307
8306 E 171st St
Belton, MO 64012


Lord Of Love Lutheran Church
Mid‐America Council 326
10405 Fort St
Omaha, NE 68134


Lord Of The Hills Lutheran Church
Denver Area Council 061
21755 E Smoky Hill Rd
Aurora, CO 80015


Lord Of The Lakes Church
Bay‐Lakes Council 635
6090 Harbour S Dr
Winneconne, WI 54986


Lord S, Inc
2869 Kennedy Blvd
Jersey City, NJ 07306
Lords House Of Praise Church
Georgia‐Carolina 093
162 Day Break Rd
Waynesboro, GA 30830


Lordship Community Church
Connecticut Yankee Council Bsa 072
179 Prospect Dr
Stratford, CT 06615


Lordstown Lions/Lutheran Church
Great Trail 433
5615 Palmyra Rd Sw
Warren, OH 44481


Lorel Brockway
Address Redacted


Lorelea Holford
Address Redacted


Loren A Olander
Address Redacted


Loren Akin
Address Redacted


Loren Doug Hagen Ameican Legion
Post 308
Northern Lights Council 429
P.O. Box 614
West Fargo, Nd 58078


Loren Gifford
Address Redacted


Loren Newberry
Address Redacted


Loren Stach
Address Redacted


Loren Winfrey Jr
Address Redacted


Lorena Bernal Mendoza
Address Redacted


Lorena Oblander
Address Redacted


Lorena Sanchez
Address Redacted


Lorena Utd Methodist Church
Longhorn Council 662
205 S Bordon St
Lorena, TX 76655


Lorene Corbett
Address Redacted


Lorenzo Jackson
Address Redacted


Lorenzo Manuel
Address Redacted


Loretta Ash
Address Redacted


Loretta Baldwin
Address Redacted


Loretta Cannon
Address Redacted


Loretta Carr
Address Redacted


Loretta Decker
Address Redacted


Loretta Fehr
Address Redacted


Loretta Ferenc
Address Redacted


Loretta Goode
Address Redacted


Loretta Julian
Address Redacted


Loretta Lucille Brazil
Address Redacted


Loretta Sheets
Address Redacted


Loretta Stonner
Address Redacted


Loretta Wisniewski
Address Redacted


Lori Anderton
Address Redacted


Lori Ballew
Address Redacted


Lori Boldt
Address Redacted
Lori Botkin
Address Redacted


Lori Brown
Address Redacted


Lori Chitwood
Address Redacted


Lori Curry
Address Redacted


Lori Dondero
Address Redacted


Lori F Weber
Address Redacted


Lori Geller
Address Redacted


Lori Gooding
Address Redacted


Lori Hartley
Address Redacted


Lori Hollenbach
Address Redacted


Lori Hurley
Address Redacted


Lori Jones C/O Kim Dawson Agency
1645 N Stemmons Frwy, Ste B
Dallas, TX 75207
Lori Kahn
Address Redacted


Lori Kendrick
Address Redacted


Lori Krzykowski
Address Redacted


Lori Laumeyer
Address Redacted


Lori Manietta
Address Redacted


Lori Mcgaughey
Address Redacted


Lori Miller
Address Redacted


Lori Moran
Address Redacted


Lori Myers
Address Redacted


Lori Owens
Address Redacted


Lori Prescott
Address Redacted


Lori Reichart
Address Redacted


Lori Tarbutton
Address Redacted
Lori Waseleski
Address Redacted


Lori Watson
Address Redacted


Lori Wehr
Address Redacted


Lori Wilkes
Address Redacted


Lori Wilson
Address Redacted


Loriane Lemire
Address Redacted


Lorilynn Benepe
Address Redacted


Lorinda Diana Gordon
Address Redacted


Lorinda Gordon
Address Redacted


Lorine Scroggins
Address Redacted


Lorman Education Services
P.O. Box 509
Eau Claire, WI 54702‐0509


Lorna Miller
Address Redacted
Lorna Pomelow
Address Redacted


Lorna Thompson
Address Redacted


Lorraine Anderson
Address Redacted


Lorraine Cohen
Address Redacted


Lorraine Davis
Address Redacted


Lorraine Eschert
Address Redacted


Lorraine Fasci
Address Redacted


Lorraine Mckay
Address Redacted


Lorraine Mckinney
Address Redacted


Lorraine Naum
Address Redacted


Lorraine Pistey
Address Redacted


Lorraine Remy
Address Redacted


Lorraine Rylko
Address Redacted


Lorri Howard
Address Redacted


Lorrie Berends
Address Redacted


Lorrin R Deblieck
Address Redacted


Los Alamitos American Legion Post 716
Orange County Council 039
3252 Florista St
Los Alamitos, CA 90720


Los Alamos Lions Club
Great Swest Council 412
P.O. Box 6
Los Alamos, NM 87544


Los Altos Christian Church
Great Swest Council 412
11900 Haines Ave Ne
Albuquerque, NM 87112


Los Altos Lutheran Church
Pacific Skyline Council 031
460 S El Monte Ave
Los Altos, CA 94022


Los Altos Utd Church Of Christ
Long Beach Area Council 032
5550 E Atherton St
Long Beach, CA 90815


Los Altos Utd Methodist
Long Beach Area Council 032
5950 E Willow St
Long Beach, CA 90815
Los Angeles City Fire Dept‐ Station 106
Greater Los Angeles Area 033
23004 Roscoe Blvd
West Hills, Ca 91304


Los Angeles City Fire Dept‐ Station 11
Greater Los Angeles Area 033
1819 W 7Th St
Los Angeles, Ca 90057


Los Angeles City Fire Dept‐ Station 13
Greater Los Angeles Area 033
2401 W Pico Blvd
Los Angeles, Ca 90006


Los Angeles City Fire Dept‐ Station 2
Greater Los Angeles Area 033
1962 E Cesar Chavez Ave
Los Angeles, Ca 90033


Los Angeles City Fire Dept Station 33
Greater Los Angeles Area 033
6406 S Main St
Los Angeles, Ca 90003


Los Angeles City Fire Dept‐ Station 38
Greater Los Angeles Area 033
124 E I St
Los Angeles, Ca 91744


Los Angeles City Fire Dept‐ Station 63
Greater Los Angeles Area 033
1930 Shell Ave
Venice, Ca 90291


Los Angeles City Fire Dept‐ Station 64
Greater Los Angeles Area 033
10811 S Main St
Los Angeles, Ca 90061


Los Angeles City Fire Dept‐ Station 81
Greater Los Angeles Area 033
14355 Arminta St
Panorama City, Ca 91402


Los Angeles City Fire Dept‐ Station 85
Greater Los Angeles Area 033
1331 253Rd St
Harbor City, Ca 90710


Los Angeles City Fire Dept‐ Station 87
Greater Los Angeles Area 033
10124 Balboa Blvd
Granada Hills, Ca 91344


Los Angeles City Fire Dept‐ Station 89
Greater Los Angeles Area 033
7063 Laurel Canyon Blvd
North Hollywood, Ca 91605


Los Angeles City Fire Dept‐ Station 94
Greater Los Angeles Area 033
4470 Coliseum St
Los Angeles, Ca 90016


Los Angeles Cnty Sheriff Dept
Pico Rivera
Greater Los Angeles Area 033
6631 Passons Blvd
Pico Rivera, Ca 90660


Los Angeles Cnty Sheriff Dept
Temple City
Greater Los Angeles Area 033
8838 Las Tunas Dr
Temple City, Ca 91780


Los Angeles Cnty Sheriff Sta Carson
Greater Los Angeles Area 033
21356 Avalon Blvd
Carson, Ca 90745


Los Angeles Co Fire Dept Palmdale St 37
Greater Los Angeles Area 033
38318 9th St E
Palmdale, CA 93550


Los Angeles Co Sheriff Dep
Altadena Post 7
Greater Los Angeles Area 033
780 E Altadena Dr
Altadena, Ca 91001


Los Angeles Co Sheriff Dep La Crescenta
Greater Los Angeles Area 033
4554 Briggs Ave
La Crescenta, CA 91214


Los Angeles Co Sheriff Dep‐City Industry
Greater Los Angeles Area 033
150 N Hudson Ave
City Of Industry, Ca 91744


Los Angeles Co Sheriff Dept‐East L A
Greater Los Angeles Area 033
5019 E 3rd St
Los Angeles, CA 90022


Los Angeles County Clerk
P.O. Box 53592
Los Angeles, CA 90053‐0592


Los Angeles County Fire Dep
Battalion 3
Greater Los Angeles Area 033
6031 Rickenbacker Rd
Commerce, Ca 90040


Los Angeles County Fire Dept
Battalion 13
Greater Los Angeles Area 033
4867 Sern Ave
South Gate, Ca 90280


Los Angeles County Fire Dept
Battalion 18
Greater Los Angeles Area 033
4475 W El Segundo Blvd
Hawthorne, Ca 90250


Los Angeles County Fire Dept‐ San Dimas
Greater Los Angeles Area 033
164 S Walnut Ave
San Dimas, Ca 91773


Los Angeles County Fire Dept Station 28
Greater Los Angeles Area 033
7733 Greenleaf Ave
Whittier, CA 90602


Los Angeles County Fire Dept Station 32
Greater Los Angeles Area 033
605 N Angeleno Ave
Station 32
Azusa, Ca 91702


Los Angeles County Fire Dept Station 33
Greater Los Angeles Area 033
44947 Date Ave
Lancaster, Ca 93534


Los Angeles County Fire Dept Station 82
Greater Los Angeles Area 033
352 Foothill Blvd
La Canada Flintridge, Ca 91011


Los Angeles County Fire Dept‐Pomona 186
Greater Los Angeles Area 033
280 E Bonita Ave
Pomona, CA 91767


Los Angeles County Sheriff
Mission College
Greater Los Angeles Area 033
13356 Eldridge Ave
Sylmar, Ca 91342
Los Angeles County Sheriff Dep
San Dimas
Greater Los Angeles Area 033
270 S Walnut Ave
San Dimas, Ca 91773


Los Angeles County Sheriff Dep ‐ Century
Greater Los Angeles Area 033
11703 Alameda St
Lynwood, CA 90262


Los Angeles County Sheriff Dep ‐ Walnut
Greater Los Angeles Area 033
21695 Valley Blvd
Walnut, CA 91789


Los Angeles County Sheriff Dep Lomita
Greater Los Angeles Area 033
26123 Narbonne Ave
Lomita, CA 90717


Los Angeles County Sheriff Dept
Cerritos
Greater Los Angeles Area 033
18135 Bloomfield Ave
Cerritos, Ca 90703


Los Angeles County Sheriff Dept
South Los Angeles
Greater Los Angeles Area 033
11911 S Vermont Ave
Los Angeles, Ca 90044


Los Angeles County Sheriff Dept Compton
Greater Los Angeles Area 033
301 S Willowbrook Ave
Compton, CA 90220


Los Angeles County Sheriff Dept Norwalk
Greater Los Angeles Area 033
12335 Civic Center Dr D
Norwalk, Ca 90650
Los Angeles County Sheriff Stars Academy
Greater Los Angeles Area 033
11515 Colima Rd F‐112
Whittier, CA 90604


Los Angeles County Sheriffs
Marina Del Rey
Greater Los Angeles Area 033
13851 Fiji Way
Marina Del Rey, Ca 90292


Los Angeles County Sheriffs Dept
Greater Los Angeles Area 033
501 W Lancaster Blvd
Lancaster, CA 93534


Los Angeles County Sheriffs Dept
Greater Los Angeles Area 033
750 E Ave Q
Palmdale, CA 93550


Los Angeles County Sheriffs Dept Malibu
Lost Hills Station
Greater Los Angeles Area 033
27050 Agoura Rd
Agoura, Ca 91301


Los Angeles County Tax Collector
P.O. Box 54027
Los Angeles, CA 90054‐0027


Los Angeles Downtown Lions Club
Greater Los Angeles Area 033
3606 W Pico Blvd
Los Angeles, CA 90019


Los Angeles Host Lions Club
Greater Los Angeles Area 033
1613 Chelsea Rd, Unit 184
San Marino, CA 91108
Los Angeles Maritime Institute
Greater Los Angeles Area 033
Berth 73, Ste 2
Topsail Youth Program
San Pedro, CA 90731


Los Angeles School Police Dept
Greater Los Angeles Area 033
125 N Beaudry Ave
Los Angeles, CA 90012


Los Angeles Ss Bpc Closed
Parker Irey
2333 Scout Way
Los Angeles, CA 90026‐4995


Los Banos Elks Lodge 2510
Greater Yosemite Council 059
P.O. Box 807
565 E St


Los Banos Rotary Club
Greater Yosemite Council 059
P.O. Box 19
Los Banos, CA 93635


Los Cerritos Lodge F Am 674
Orange County Council 039
3132 Druid Ln
Los Alamitos, CA 90720


Los Cerritos Wetlands Stewards
Long Beach Area Council 032
6289 E Pacific Coast Hwy
Long Beach, CA 90803


Los Fresnos Church Of Christ
Rio Grande Council 775
111 W 5th St
Los Fresnos, TX 78566


Los Gatos Lions Club
Silicon Valley Monterey Bay 055
P.O. Box 522
Los Gatos, CA 95031


Los Gatos/Monte Sereno Police
Silicon Valley Monterey Bay 055
110 E Main St
Los Gatos, CA 95030


Los Lunas Stake
117 Avenida Del Fuego
Belen, NM 87002


Los Padres
4000 Modoc Rd
Santa Barbara, CA 93110‐1807


Los Padres Cncl 53
4000 Modoc Rd
Santa Barbara, CA 93110‐1807


Los Padres Council Bsa
Rancho Alegre Program Office
2680 Hwy 154
Santa Barbara, CA 93105


Los Pinos/Black Guard
2820 Richmond Dr N.E.
Albuquerque, NM 87107


Los Rancheros Kiwanis
San Diego Imperial Council 049
P.O. Box 28035
San Diego, CA 92198


Los Robles Health System
Ventura County Council 057
215 W Janss Rd
Thousand Oaks, CA 91360


Lossings Cat Shack
30 N Dr
Babbitt, MN 55706


Lost Creek Utd Methodist Church
Cimarron Council 474
8002 S Washington St
Stillwater, OK 74074


Lothrop Clc
Mid‐America Council 326
3300 N 22nd St
Omaha, NE 68110


Lotissa Mccullough
Address Redacted


Lottice H Taylor
Address Redacted


Lottie Chapman
Address Redacted


Lou Haverstock
Address Redacted


Lou S Sporting Goods
P.O. Box 509
Fremont, NE 68026‐0509


Louann Stevens
Address Redacted


Louanne Webb
Address Redacted


Loudon Ave Christian Church
Blue Ridge Mtns Council 599
730 Loudon Ave Nw
Roanoke, VA 24016
Loudon Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 342
Loudon, TN 37774


Loudoun County Vfw Post 1177
National Capital Area Council 082
401 Old Waterford Rd Nw
Leesburg, VA 20176


Loudounsteam Inc
National Capital Area Council 082
21550 Wild Timber Ct
Broadlands, VA 20148


Louetta Automotive
Sam Houston Area Council 576
13615 Kluge Rd, Ste 100
Cypress, TX 77429


Louis Agassiz School
Lake Erie Council 440
3595 Bosworth Rd
Cleveland, OH 44111


Louis B Vargas
Address Redacted


Louis Cabana
Address Redacted


Louis Corbin
Address Redacted


Louis Devaughn
Address Redacted


Louis Farragher
Address Redacted
Louis Gruessing
Address Redacted


Louis Le Blanc
Address Redacted


Louis Mallicone
Address Redacted


Louis Neibauer Co Inc
dba Neibauer Press
20 Industrial Dr
Warminster, PA 18974


Louis Pitts Iv
Address Redacted


Louis Salute
Address Redacted


Louis Sutton Jr
Address Redacted


Louis Urbina
Address Redacted


Louisa County Rotary Club
c/o Kathy Swarthout
Stonewall Jackson Council 763
Louisa, VA 23093


Louisa County Vfw Post 8947
Stonewall Jackson Council 763
P.O. Box 537
Mineral, VA 23117


Louisa Ruritan Club
Stonewall Jackson Council 763
3241 Elk Creek Rd
Mineral, VA 23117


Louisa Utd Methodist Church
Buckskin 617
816 Pine Hill Rd
Louisa, KY 41230


Louisburg Utd Methodist Church
Heart of America Council 307
249 N Metcalf Rd
Louisburg, KS 66053


Louisburg Utd Methodist Church
Occoneechee 421
P.O. Box 667
Louisburg, NC 27549


Louisburg Utd Methodist Men
Occoneechee 421
101 E Noble St
Louisburg, NC 27549


Louise Duffy School P T O
Connecticut Rivers Council, Bsa 066
95 Wminster Dr
West Hartford, CT 06107


Louise Dumaine
Address Redacted


Louise Guthrie
Address Redacted


Louise Hill
Address Redacted


Louise Johnson
Address Redacted


Louise Kelly
Address Redacted


Louise Malvitz
Address Redacted


Louise Scott
Address Redacted


Louise Vadeboncoeur
Address Redacted


Louisiana Dept Of Justice
1885 N 3rd St, 4th Fl
Baton Rouge, LA 70802‐5146


Louisiana Dept Of Revenue      Taxation
Unclaimed Property Section
P.O. Box 91010
Baton Rouge, La 70821‐9010


Louisiana Dept Of Revenue And Taxation
P.O. Box 91017
Baton Rouge, LA 70821‐9017


Louisiana Office Of Attorney General
Consumer Protection Div
200 Saint Paul Pl
Baltimore, MD 21202‐2021


Louisiana Purchase
P.O. Box 2405
Monroe, LA 71207‐2405


Louisiana Purchase Council 213
P.O. Box 2405
Monroe, LA 71201


Louisiana Secretary Of State
Commercial Div
8585 Archives Ave
Baton Rouge, LA 70809


Louisiana Secretary Of State
Commercial Div
P.O. Box 94125
Baton Rouge, LA 70804‐9125


Louisiana State Attorneys General
Dept. of Justice
P.O. Box 94095
Baton Rouge, LA 70804‐9095


Louisiana State University
Attn Laurie Meyer
125 Thomas Boyd Hall
Baton Rouge, LA 70803


Louisiana Swamp Base Inc
Evangeline Area 212


Louisvill Marcus
Address Redacted


Louisville Businessmen S Club
Pushmataha Area Council 691
P.O. Box 389
Louisville, MS 39339


Louisville Lions S Club
Pushmataha Area Council 691
P.O. Box 425
Louisville, MS 39339


Louisville Metro Pd
810 Barret Ave
Louisville, KY 40204


Louisville Metro Police Dept
City Of Louisville, Jefferson County
Louisville Consolidated Government
633 W Jefferson St
Louisville, KY 40202


Louisville Utd Methodist Church
Greater St Louis Area Council 312
P.O. Box 287
435 Chestnut St


Louisville/Jefferson County
Revenue Commission
P.O. Box 35410
Louisville, KY 40232‐5410


Loundounsteam,Inc.
National Capital Area Council 082
21550 Wild Timber Ct
Broadlands, VA 20148


Lourdes Academy Elementary PTA
Bay‐Lakes Council 635
1207 Oregon St
Oshkosh, WI 54902


Lourdes Achademy
Central Florida Council 083
1014 N Halifax Ave
Daytona Beach, FL 32118


Lourdes Columbian Society
Verdugo Hills Council 058
7344 Apperson St
Tujunga, CA 91042


Lourdes Monroig
Address Redacted


Lourie   Cutler PC
60 State St
Boston, MA 02109


Lov N Kare Carpet Center
62 Main St
South Amboy, NJ 08879


Lovan Industries
dba Cantrell Supply Inc
4910 Sharp St
Dallas, TX 75247


Lovan Industries
dba Cantrell Supply Inc
P.O. Box 35931
Dallas, TX 75235


Lovdi Babineaux
Address Redacted


Love Chapel Utd Methodist Church
Norwela Council 215
2001 Forest Hills Blvd
Haughton, LA 71037


Love Court Reporting Inc
2002 Sproul Rd, Ste 100
Broomall, PA 19008


Love In Motion Dallas
2610 Allen St
Dallas, TX 75204


Love Of Christ Lutheran Church
Grand Canyon Council 010
1525 N Power Rd
Mesa, AZ 85205


Lovejoy Baptist Church
Northwest Georgia Council 100
436 Branham Ave Sw
Rome, GA 30161


Lovejoy School
Greater St Louis Area Council 312
800 Madison St
Brooklyn, IL 62059


Lovejoy Utd Presbyterian Church
Greater St Louis Area Council 312
2550 Rock Hill Rd
Wood River, IL 62095


Loveland Presbyterian Church
Dan Beard Council, Bsa 438
360 Robin Ave
Loveland, OH 45140


Lovell Anderson
Address Redacted


Lovely Lane Utd Methodist Church
Hawkeye Area Council 172
2424 42nd St Ne
Cedar Rapids, IA 52402


Lovers Lane Utd Methodist Church
Circle Ten Council 571
9200 Inwood Rd
Dallas, TX 75220


Lovers Ln Utd Methodist Church
9200 Inwood Rd
Dallas, TX 75220


Loves Park Police Assoc
St Bridget Catholic Church
Blackhawk Area 660
540 Loves Park Dr
Loves Park, Il 61111


Lovetta Ash‐Simpson
Address Redacted


Lovettsville Lions Club
National Capital Area Council 082
P.O. Box 331
Lovettsville, VA 20180


Lovettsville Ruritan Club
National Capital Area Council 082
P.O. Box 244
Lovettsville, VA 20180


Lovettsville‐Waterford Ruritans
National Capital Area Council 082
P.O. Box 137
Lovettsville, VA 20180


Loving Savior Lutheran School
California Inland Empire Council 045
14816 Peyton Dr
Chino Hills, CA 91709


Low Country Cert
Coastal Carolina Council 550
180 Lockwood Blvd
Charleston, SC 29403


Low Impact Excavators Inc
P.O. Box 600
Ely, MN 55731


Low Key Fisheries LLC
22500 Overseas Hwy
Cudjoe Key, FL 33042


Lowcountry Catering
dba Lowcountry Barbecue Inc
2000 S Pioneer Dr
Smyrna, GA 30082


Lowcountry Leadership Charter Sch Ptso
Coastal Carolina Council 550
5139 Gibson Rd
Hollywood, Sc 29449


Lowcountry Teen Cert Exploring Club
Coastal Carolina Council 550
2060 Sam Rittenberg Blvd
Charleston, SC 29407


Lowe And Behold LLC
4498 36th St
Orlando, FL 32811


Lowe S Business Acct
P.O. Box 530970
Atlanta, GA 30353‐0970


Lowe S Companies, Inc
P.O. Box 530954
Atlanta, GA 30353‐0954


Lowe S Home Centers Inc
46 Fayette Town Center Rd
Fayetteville, WV 25840


Lowell Community Charter School PTO
The Spirit of Adventure 227
206 Jackson St
Lowell, MA 01852


Lowell Lodge 436
Muskingum Valley Council, Bsa 467
P.O. Box 143
236 1/2 Main St


Lowell Moose Lodge 2437
Pathway To Adventure 456
155 Mill St
Lowell, IN 46356


Lowell White
Address Redacted


Lower Bermudian Lutheran Church
New Birth of Freedom 544
P.O. Box 205
2904 Lake Meade Rd
East Berlin, PA 17316


Lower Keys Chamber Of Commerce
P.O. Box 430511
Big Pine Key, FL 33043


Lower Keys Electric Inc
P.O. Box 420854
Summerland Key, FL 33042


Lower Makefield Citizens For Scouting
Washington Crossing Council 777
1255 Fountain Rd
Newtown, PA 18940


Lower Makefield Twp Police Dept
Washington Crossing Council 777
1100 Edgewood Rd
Yardley, PA 19067


Lower Merion Historical Society
Cradle of Liberty Council 525
506 Bryn Mawr Ave
Bala Cynwyd, PA 19004


Lower Naugatuck Boys   Girls Club
Smilow Club House
Housatonic Council, Bsa 069
28 Howard Ave
Ansonia, Ct 06401


Lower Providence Presbyterian Church
Cradle of Liberty Council 525
3050 W Main St
Norristown, PA 19403


Lower Utd Methodist Church
Heart of Virginia Council 602
P.O. Box 98
Hartfield, VA 23071
Lower Valley Presbyterian Church
Washington Crossing Council 777
443 County Rd 513
Califon, NJ 07830


Lowery Elementary PTO
Sam Houston Area Council 576
15950 Ridge Park Dr
Houston, TX 77095


Lowes
P.O. Box 530954
Atlanta, GA 30353‐0954


Lowes Business Account
P.O. Box 530970
Atlanta, GA 30353‐0970


LoweS Companies, Inc
1000 Lowes Blvd
Mooresville, NC 28117


Lowes Home Centers LLC
1850 NE 8th St
Homestead, FL 33033


LoweS Home Ctrs, LLC
1605 Curtis Bridge Rd
Wilkesboro, NC 28697


Lowes On 280
Greater Alabama Council 001
5291 Hwy 280
Birmingham, AL 35242


Lowes‐Hibbing
12025 Hwy 169
Hibbing, MN 55746


Lowey Dannenberg, P.C, And
Bleakley Platt   Schmidt, LLP
re Plaintiff
44 S Broadway, Ste 1100
White Plains, NY 10601‐2301


Lowey Dannenberg, P.C, And
Bleakley Platt   Schmidt, LLP
re Plaintiff
One N Lexington Ave
White Plains, NY 10601


Lowey Dannenberg, PC
Attn Barbara J. Hart
44 S Broadway, Ste 1100
White Plains, NY 10601


Lowry City Utd Methodist Church
Heart of America Council 307
106 E 1st St
Lowry City, MO 64763


Lowry Dental
Ore‐Ida Council 106 ‐ Bsa 106
9460 Franklin Rd
Boise, ID 83709


Lowville AL Memorial Post 162
Longhouse Council 373
5383 Dayan St
Lowville, Ny 13367


Lowville Elks Lodge 1605
Longhouse Council 373
Shady Ave
Lowville, NY 13367


Loyal Order Moose 2350
Three Fires Council 127
328 W Roosevelt Rd
Lombard, IL 60148


Loyal Order Moose 312
Black Swamp Area Council 449
115 N Airport Rd
Montpelier, OH 43543


Loyal Order Moose 765
Knights Of Columbus
Hoosier Trails Council 145 145
1340 Michigan Rd


Loyal Order Moose Lodge
1958‐Carpentersville
Three Fires Council 127
309 Lake Marian Rd
Carpentersville, Il 60110


Loyal Order Of Moose
Allegheny Highlands Council 382
19 Clinton St
Westfield, NY 14787


Loyal Order Of Moose
Chief Seattle Council 609
P.O. Box 1416
North Bend, WA 98045


Loyal Order Of Moose
Del Mar Va 081
P.O. Box 339
Harrington, DE 19952


Loyal Order Of Moose
Five Rivers Council, Inc 375
41 Sullivan St
Canton, PA 17724


Loyal Order Of Moose
Glaciers Edge Council 620
2701 W Rockport Rd
Janesville, WI 53548


Loyal Order Of Moose
Minsi Trails Council 502
705 Stokes Mill Rd
East Stroudsburg, PA 18301


Loyal Order Of Moose
Mt Diablo‐Silverado Council 023
3275 Browns Valley Rd
Napa, CA 94558


Loyal Order Of Moose
Rainbow Council 702
118 E 10th St
Lockport, IL 60441


Loyal Order Of Moose 525
Northeast Illinois 129
26020 W Il Route 173
Antioch, IL 60002


Loyal Order Of Moose ‐ Lodge 913
Patriots Path Council 358
43 Luttgen Pl 101
Linden, NJ 07036


Loyal Order Of Moose 1081
Hoosier Trails Council 145 145
840 S Cory Ln
Bloomington, IN 47403


Loyal Order Of Moose 1122
Green Mountain 592
78 Center St
Rutland, VT 05701


Loyal Order Of Moose 1329
Blackhawk Area 660
406 Clay St
Woodstock, IL 60098


Loyal Order Of Moose 1549
Jersey Shore Council 341
706 River Ave
Point Pleasant Boro, NJ 08742
Loyal Order Of Moose 1823
Muskingum Valley Council, Bsa 467
169‐171 Front St
Marietta, OH 45750


Loyal Order Of Moose 1835
Central Florida Council 083
2334 S Ridgewood Ave
Edgewater, FL 32141


Loyal Order Of Moose 1959
Pee Dee Area Council 552
479 Burcale Rd
Myrtle Beach, SC 29578


Loyal Order Of Moose 197
Glaciers Edge Council 620
P.O. Box 209
2701 W Rockport Rd


Loyal Order Of Moose 2350
Three Fires Council 127
328 W Roosevelt Rd
Lombard, IL 60148


Loyal Order Of Moose 532
Montana Council 315
401 21st St
Black Eagle, MT 59414


Loyal Order Of Moose Fredericksburg
National Capital Area Council 082
P.O. Box 1880
Fredericksburg, VA 22402


Loyal Order Of Moose Lodge 1016
Three Fires Council 127
1002 E Church St
Sandwich, IL 60548
Loyal Order Of Moose Lodge 1206
Great Alaska Council 610
P.O. Box 113
Craig, AK 99921


Loyal Order Of Moose Lodge 1420
Seneca Waterways 397
3808 State Route 31
Palmyra, NY 14522


Loyal Order Of Moose Lodge 1421
Suffolk County Council Inc 404
P.O. Box 535
Lindenhurst, NY 11757


Loyal Order Of Moose Lodge 1548
Longmont
Longs Peak Council 062
2200 Pratt St


Loyal Order Of Moose Lodge 1575
Jersey Shore Council 341
120 Route 72 E
Manahawkin, NJ 08050


Loyal Order Of Moose Lodge 1632
Nevada Area Council 329


Loyal Order Of Moose Lodge 1655
National Capital Area Council 082
P.O. Box 1880
11917 Cherry Rd
Spotsylvania, VA 22553


Loyal Order Of Moose Lodge 1742
Suffolk County Council Inc 404
P.O. Box 505
Riverhead, NY 11901


Loyal Order Of Moose Lodge 1901
Golden Empire Council 047
605 5th St
Orland, CA 95963


Loyal Order Of Moose Lodge 1969
Northeast Illinois 129
P.O. Box 462
200 S Maple Ave


Loyal Order Of Moose Lodge 2081
Yucca Council 573
514 S Main St
Las Cruces, NM 88001


Loyal Order Of Moose Lodge 2166
Denver Area Council 061
11449 York St
Northglenn, CO 80233


Loyal Order Of Moose Lodge 318
Suffolk County Council Inc 404
631 Pulaski Rd
Greenlawn, NY 11740


Loyal Order Of Moose Lodge 356
Lincoln Heritage Council 205
736 Lain Ave
Bowling Green, KY 42101


Loyal Order Of Moose Lodge 912
Greater Tampa Bay Area 089
3008 W Gandy Blvd
Loyal Order of Moose 912
Tampa, FL 33611


Loyal Order Of Moose West Dade 1825
South Florida Council 084
9900 SW 77th Ave
Miami, FL 33156


Loyal Order Of Moose West New York
Northern New Jersey Council, Bsa 333
6014 Hudson Ave
West New York, NJ 07093
Loyal Order Of Moose Yorkville
Three Fires Council 127
P.O. Box 233
Yorkville, IL 60560


Loyal Order Of Moose‐Lodge 700
Great Alaska Council 610
P.O. Box 34426
Juneau, AK 99803


Loyal Order Of The Moose 1076
National Capital Area Council 082
P.O. Box 10377
Alexandria, VA 22310


Loyal Order Of The Moose 1185
Twin Rivers Council 364
109 S Comrie Ave
Johnstown, NY 12095


Loyal Order Of The Moose 1725
Middle Tennessee Council 560
P.O. Box 747
Mcminnville, TN 37111


Loyal Order Of The Moose 1967
Golden Empire Council 047
6585 Gibson Canyon Rd
Vacaville, CA 95688


Loyal Order Of The Moose Lodge 2352
North Florida Council 087
850682 US Hwy 17 S
Yulee, FL 32097


Loyal Order Of The Moose Stayton Lodge
Cascade Pacific Council 492
P.O. Box 28
Stayton, OR 97383
Loyalton Volunteer Fire Dept
Nevada Area Council 329
P.O. Box 128
Loyalton, CA 96118


Loyalty 360 Inc
4120 Dumont St
Cincinnati, OH 45226


Loyd Presbyterian Church
Chattahoochee Council 091
550 Upper Glass Bridge Rd
Lagrange, GA 30240


Loyd Warf
Address Redacted


Loyola University Chicago
Attn Office of the Bursar
1032 W Sheridan Rd
Chicago, IL 60660


Loyola University Maryland
Attn Office of the Bursar
Student Administrative Services
4501 N Charles St
Baltimore, MD 21210‐2699


Loyola University Medical Center
P.O. Box 3021
Milwaukee, WI 53201‐3021


Loyola University Medical Center
P.O. Box 83262
Chicago, IL 60691‐0263


Lozier Store Fixtures
P.O. Box 3577
Omaha, NE 68103‐0577


Lps Utilities Inc
P.O. Box 1052
Woodstock, IL 60098


Lrp Conferences, LLC
P.O. Box 24668
West Palm Beach, FL 33416‐4668


Lrp Magazine Group
dba Human Resources Exec Mag
360 Hiatt Dr, Dept 150F
Palm Beach Gardens, FL 33418


Lrs Operating Co, LLC
dba Lajitas Golf Resort
21701 Fm 170
Lajitas, TX 79852


Lrt Graphics
Attn Accounts Receivable
1401 Mangrove Ave
Chico, CA 95926


Lsco Mann Elementary
Great Lakes Fsc 272
19625 Elmira St
Detroit, MI 48228


Lsd‐Page 4Th Ward‐Page Az Stk
Grand Canyon Council 010
P.O. Box 661
313 S Lake Powell Blvd
Page, AZ 86040


Lsref4 Skyline Tenant Tx   LLC
Dfw Airport Marriott S
4151 Centreport Blvd
Fort Worth, TX 76155


Lss Digital
4501 S Pinemont, Ste 100
Houston, TX 77041
Lt Charles A Meyer AL Post 86
Patriots Path Council 358
P.O. Box 31
Newton, Nj 07860


Lt Col Matt Urban Svc Ctr Wny
Greater Niagara Frontier Council 380
129 Lewis St
Buffalo, Ny 14206


Ltac Global
Utah National Parks 591
350 E Center St
Provo, UT 84604


Ltm Water Treatment, Inc
Blackhawk Area 660
8418 N 2nd St
Machesney Park, IL 61115


Ltufd ‐ Kittanning Trail
Laurel Highlands Council 527
611 Grandview Rd
Altoona, PA 16601


Lu Prater
Address Redacted


Luana Petersen
Address Redacted


Luba Kreidler
Address Redacted


Lubbock Lions Club
South Plains Council 694
4 Briercroft Office Park, Ste 101A
Lubbock, TX 79412


Lubbock Optimist Club
South Plains Council 694
P.O. Box 765
Lubbock, TX 79408


Lubbock Police Dept
South Plains Council 694
916 Texas Ave
Lubbock, TX 79401


Lubeck Utd Methodist Church
Buckskin 617
1771 Harris Hwy
Washington, WV 26181


Lubrication Engineers Inc
P.O. Box 16025
Wichita, KS 67216


Lucas A Brown
Address Redacted


Lucas C Richards
Address Redacted


Lucas County Sheriff S Office
Erie Shores Council 460
1622 Spielbusch Ave
Toledo, OH 43604


Lucas Gilman Photography
2449 Glenarm Pl
Denver, CO 80205


Lucas Group
P.O. Box 406672
Atlanta, GA 30384‐6672


Lucas Johnson
Address Redacted
Lucas Johnston
Address Redacted


Lucas Knuttel
Address Redacted


Lucas Metro Housing Family Invest Ctr
Erie Shores Council 460
435 Nebraska Ave
Toledo, Oh 43602


Lucas Polley
Address Redacted


Lucas R Proffitt
Address Redacted


Lucency Technologies, Inc
Utah National Parks 591
2961 W Maple Loop Dr 200
Lehi, UT 84043


Lucerne Baptist Church
Northeast Georgia Council 101
4805 Hwy 78
Lilburn, GA 30047


Lucia Bernal
Address Redacted


Lucia Valdez
Address Redacted


Lucien J Conti
Address Redacted


Lucien M Hairston
Address Redacted
Lucien Rice
Address Redacted


Lucile Gregg Elementary PTO
Sam Houston Area Council 576
6701 Roxbury Rd
Houston, TX 77087


Lucille Proia
Address Redacted


Lucille Wiggins
Address Redacted


Lucinda Moore
Address Redacted


Lucius Hopkins
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Luck Lions
Northern Star Council 250
P.O. Box 358
Luck, WI 54853


Lucketts Ruritan Club
National Capital Area Council 082
P.O. Box 1291
Leesburg, VA 20177


Lucky Shot Films Inc
2921 Harlanwood Dr
Ft Worth, TX 76109


Luckyshot Films Inc
2450 Oak Hill Cir, 1316
Fort Worth, TX 76109


Lucrative Gaming, LLC
310 Wilshire Blvd 2nd Fl
Santa Monica, CA 90401


Lucretia Dee Simmons
Address Redacted


Lucuma Designs, LLC
1144 Tallevast Rd, Ste 107
Sarasota, FL 34243


Lucy Ciccarelli
Address Redacted


Lucy Grist
Address Redacted


Lucy M Ellis
Address Redacted


Lucy Mondragon
Address Redacted


Lucy Sattoriva
Address Redacted


Lucy Tucker
Address Redacted


Ludlow Fish And Game Club
Western Massachusetts Council 234
857 Sportsmens Rd
Ludlow, MA 01056


Luella Merritt Elementary ‐ Gfwar
Longhorn Council 662
7325 Kermit Ave
Fort Worth, TX 76116


Lufkin Evening Lions Club
East Texas Area Council 585
P.O. Box 150312
Lufkin, TX 75915


Lufkin Printing Co, Inc
P.O. Box 589
Lufkin, TX 75902‐0589


Lugoff Fire Dept
Indian Waters Council 553
892 Hwy 1 S
Lugoff, SC 29078


Luhr Elementary School
Lincoln Heritage Council 205
6900 Fegenbush Ln
Louisville, KY 40228


Luis D Sanchez
Address Redacted


Luis Garcia
Address Redacted


Luis Jimenez
Address Redacted


Luis Matnog
Address Redacted


Luis Rodriguez
Address Redacted


Luis Sepulveda
Address Redacted


Luisa Balmilero
Address Redacted


Luisa Donfried
Address Redacted


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Lukas A Dalton
Address Redacted


Luke 10 27 A Community Of Faith
Istrouma Area Council 211
536 Centerville St Ne
Denham Springs, LA 70726


Luke D Kicklighter
Address Redacted


Luke E Boone
Address Redacted


Luke E Demers
Address Redacted


Luke E Volpenhein
Address Redacted
Luke F Lonigro
Address Redacted


Luke H Lefler
Address Redacted


Luke Jarman
Address Redacted


Luke M Weglarz
Address Redacted


Luke Martinez
Address Redacted


Luke Mcneese
Address Redacted


Lukens Enterprises Inc
P.O. Box 110509
Carrollton, TX 75011


Lula Assembly Of Praise
Northeast Georgia Council 101
6158 Carter St
Lula, GA 30554


Luling Elementary School P.T.O.
Southeast Louisiana Council 214
904 Sugarhouse Rd
Luling, LA 70070


Luling Utd Methodist Church
Southeast Louisiana Council 214
134 Lakewood Dr
Luling, LA 70070


Lumberland Fire Dept
Hudson Valley Council 374
1088 County Route 31
Glen Spey, NY 12737


Lumberton Church Of Christ
Three Rivers Council 578
90 W Chance Rd
Lumberton, TX 77657


Lumberton Utd Methodist Church
Garden State Council 690
5A Municipal Dr
Lumberton, NJ 08048


Lumen Christi Catholic Church
Bay‐Lakes Council 635
2750 W Mequon Rd
Mequon, WI 53092


Lumenbrite
A Div of Pulse Media Inc
11505 Arroyo Blanco Dr
Austin, TX 78748


Lumina Center
Juniata Valley Council 497
P.O. Box 1243
18 E 3rd St
Lewistown, PA 17044


Lumos Network
P.O. Box 1068
Waynesboro, VA 22980


Lumos Network, Inc
1 Lumos Plaza
Waynesboro, VA 22980


Lumos Networks
dba Segra
P.O. Box 580062
Charlotte, NC 28258‐0062
Lumos Networks
One Lumos Plaza, P.O. Box 1068
Waynesboro, VA 22980


Lumos Networks
P.O. Box 1068
Waynesboro, VA 22980


Lumos Networks Dba Segra
1 Lumos Plaza
Waynesboro, VA 22980


Lumos Networks Of West Virginia, Inc
1 Lumos Plaza
Waynesboro, VA 22980


Luna Community College
Financial Assistance Dept
366 Luna Dr
Las Vegas, NM 87710


Lundgren Motors Inc
Hwy 53
Eveleth, MN 55734


Lundy Services Inc
C2 Construction Inc
4050 Black Gold Dr
Dallas, TX 75247


Lunenburg‐Lions Club
Heart of New England Council 230
947 Massachusetts Ave
Lunenburg, MA 01462


Lunenburg‐United Parish
Heart of New England Council 230
39 Main St
Lunenburg, MA 01462
Lunn‐Hunnewell Amvets Post 6
Pine Tree Council 218
P.O. Box 344
New Gloucester, ME 04260


Luntz Global Partners LLC
9165 Key Commons Ct
Manassas, VA 20110


Lupe Alvarado
Address Redacted


Luray Lions Club
c/o Grayson Markowitz
Shenandoah Area Council 598
208 Cir View Rd
Luray, VA 22835


Luray Rotary Club
Shenandoah Area Council 598
401 W Main St
Mimslyn Inn
Luray, VA 22835


Lusher Charter School
Southeast Louisiana Council 214
7315 Willow St
New Orleans, LA 70118


Luther Jones Elementary P T A
South Texas Council 577
7533 Lipes Blvd
Corpus Christi, TX 78413


Luther Memorial Church
Chief Seattle Council 609
13047 Greenwood Ave N
Seattle, WA 98133


Luther Memorial Church
Mississippi Valley Council 141 141
1200 Jersey St
Quincy, IL 62301


Luther Memorial Church Tinton Falls
Monmouth Council, Bsa 347
818 Tinton Ave
Tinton Falls, NJ 07724


Luther Memorial Lutheran Church
Blue Ridge Mtns Council 599
600 Prices Fork Rd
Blacksburg, VA 24060


Luther Utd Methodist Church
Last Frontier Council 480
P.O. Box 369
Luther, OK 73054


Lutheran ‐ Amer Falls St Johns Luthern
Grand Teton Council 107
656 Tyhee Ave
American Falls, ID 83211


Lutheran ‐ Grace Lutheran Church
Grand Teton Council 107
1350 Baldy Ave
Pocatello, ID 83201


Lutheran Brotherhood Of American
Stanley
Northern Lights Council 429
402 1St St Sw
Stanley, Nd 58784


Lutheran Brotherhood Of The Trinity
Northern Lights Council 429
P.O. Box 271
Lisbon, ND 58054


Lutheran Central Sch Assoc Peoria Il
W D Boyce 138
2000 W Glen Ave
Peoria, Il 61614
Lutheran Central Shool Assoc Peoria Il
W D Boyce 138
2000 W Glen Ave
Peoria, Il 61614


Lutheran Ch, Master W Campus
Mid‐America Council 326
1200 N 181St Ct
Elkhorn, Ne 68022


Lutheran Church Men Of Harrold Zion
Westmoreland Fayette 512
671 Baltzer Meyer Pike
Greensburg, PA 15601


Lutheran Church Of All Saints
Northeast Illinois 129
5800 State Park Rd
Fox Lake, IL 60020


Lutheran Church Of Atonement
Greater St Louis Area Council 312
1285 N New Florissant Rd
Florissant, MO 63031


Lutheran Church Of Canton
Sioux Council 733
124 E 2nd St
Canton, SD 57013


Lutheran Church Of Gods Love
Washington Crossing Council 777
791 Newtown Yardley Rd
Newtown, PA 18940


Lutheran Church Of Hope
Denver Area Council 061
1305 W 10th Ave
Broomfield, CO 80020
Lutheran Church Of Hope
Mid Iowa Council 177
1335 NE Beaverbrooke Blvd
Grimes, IA 50111


Lutheran Church Of Hope
Mid Iowa Council 177
925 Jordan Creek Pkwy
West Des Moines, IA 50266


Lutheran Church Of Hope‐North Branch
Mid Iowa Council 177
520 NW 36th St
Ankeny, IA 50023


Lutheran Church Of Mifflinburg
Susquehanna Council 533
404 Market St
Mifflinburg, PA 17844


Lutheran Church Of Our Redeemer
Sagamore Council 162
705 E Sway Blvd
Kokomo, IN 46902


Lutheran Church Of Our Savior
California Inland Empire Council 045
5050 N Sierra Way
San Bernardino, CA 92404


Lutheran Church Of Our Savior
Miami Valley Council, Bsa 444
155 Thruston Blvd E
Oakwood, OH 45419


Lutheran Church Of Our Savior
Suffolk County Council Inc 404
231 Jayne Ave
Patchogue, NY 11772


Lutheran Church Of Our Saviour
Greater Tampa Bay Area 089
8401 W Hillsborough Ave
Tampa, FL 33615


Lutheran Church Of Our Saviour
Theodore Roosevelt Council 386
12 Franklin Ave
Port Washington, NY 11050


Lutheran Church Of Peace
Northern Star Council 250
47 Century Ave S
Maplewood, MN 55119


Lutheran Church Of Reconciliation
Cape Fear Council 425
7500 Market St
Wilmington, NC 28411


Lutheran Church Of St Andrew
Contemporary Music Ministry
15300 New Hampshire Ave
Silver Spring, MD 20905


Lutheran Church Of The Ascension
Coastal Georgia Council 099
6 E State St
Savannah, GA 31401


Lutheran Church Of The Cross
Mid Iowa Council 177
1701 8th St Sw
Altoona, IA 50009


Lutheran Church Of The Cross
Northern Lights Council 429
1402 16th St E
West Fargo, ND 58078


Lutheran Church Of The Galilean
Southeast Louisiana Council 214
3404 New Hwy 51
La Pl, LA 70068
Lutheran Church Of The Good Shepherd
Atlanta Area Council 092
3099 Chapel Hill Rd
Douglasville, GA 30135


Lutheran Church Of The Good Shepherd
Baltimore Area Council 220
1515 Emmorton Rd
Bel Air, MD 21014


Lutheran Church Of The Good Shepherd
Chester County Council 539
107 S 17th Ave
Coatesville, PA 19320


Lutheran Church Of The Good Shepherd
Chippewa Valley Council 637
1120 Cedar St
Eau Claire, WI 54703


Lutheran Church Of The Good Shepherd
Grand Teton Council 107
215 N 18th Ave
Pocatello, ID 83201


Lutheran Church Of The Good Shepherd
Nevada Area Council 329
357 Clay St
Reno, NV 89501


Lutheran Church Of The Good Shepherd
Northern Star Council 250
4801 France Ave S
Minneapolis, MN 55410


Lutheran Church Of The Good Shepherd
Pacific Harbors Council, Bsa 612
1601 N St Se
Olympia, WA 98501
Lutheran Church Of The Good Shepherd
Pathway To Adventure 456
7800 W Mccarthy Rd
Palos Heights, IL 60463


Lutheran Church Of The Good Shepherd
Southwest Florida Council 088
4770 Orange Grove Blvd
North Fort Myers, FL 33903


Lutheran Church Of The Good Shepherd
Westmoreland Fayette 512
501 Fairfield Dr
Greensburg, PA 15601


Lutheran Church Of The Holy Trinity
Hawk Mountain Council 528
P.O. Box 221
102 Apple St
Leesport, PA 19533


Lutheran Church Of The Incarnation
Indian Waters Council 553
3005 Devine St
Columbia, SC 29205


Lutheran Church Of The Master
Denver Area Council 061
14099 W Jewell Ave
Lakewood, CO 80228


Lutheran Church Of The Master
Mid‐America Council 326
2617 S 114th St
Omaha, NE 68144


Lutheran Church Of The Master
W.L.A.C.C. 051
725 E Ave J
Lancaster, CA 93535


Lutheran Church Of The Nativity
Daniel Boone Council 414
2425 Hendersonville Rd
Arden, NC 28704


Lutheran Church Of The Redeemer
Chief Seattle Council 609
P.O. Box 70
Chimacum, WA 98325


Lutheran Church Of The Redeemer
National Capital Area Council 082
1545 Chain Bridge Rd
Mc Lean, VA 22101


Lutheran Church Of The Redeemer
The Spirit of Adventure 227
60 Forest Park Rd
Woburn, MA 01801


Lutheran Church Of The Redeemer
Three Harbors Council 636
2417 Drexel Ave
Racine, WI 53403


Lutheran Church Of The Resurrection
Alamo Area Council 583
6011 Grissom Rd
San Antonio, TX 78238


Lutheran Church Of The Resurrection
Atlanta Area Council 092
4814 Paper Mill Rd Se
Marietta, GA 30067


Lutheran Church Of The Resurrection
Golden Empire Council 047
6365 Douglas Blvd
Granite Bay, CA 95746


Lutheran Church Of The Resurrection
Greater Tampa Bay Area 089
1555 Windmill Pointe Rd
Palm Harbor, FL 34685


Lutheran Church Of The Resurrection
Hawkeye Area Council 172
3500 29th Ave
Marion, IA 52302


Lutheran Church Of The Resurrection
Heart of America Council 307
9100 Mission Rd
Prairie Village, KS 66206


Lutheran Church Of The Resurrection
Pathway To Adventure 456
15050 Central Ave
Oak Forest, IL 60452


Lutheran Church Of The Resurrection
Washington Crossing Council 777
1700 Makefield Rd
Yardley, PA 19067


Lutheran Church Of Webster Gardens
Greater St Louis Area Council 312
8749 Watson Rd
Saint Louis, MO 63119


Lutheran Church Of Webster Groves
Greater St Louis Area Council 312
8749 Watson Rd
Saint Louis, MO 63119


Lutheran High School
Alamo Area Council 583
18104 Babcock Rd
San Antonio, TX 78255


Lutheran High School
Denver Area Council 061
11249 Newlin Gulch Blvd
Parker, CO 80134
Lutheran Saints In Ministry
Tecumseh 439
100 E Main St
Fairborn, OH 45324


Lutheran Social Services
Mid Iowa Council 177
3232 Nwestern Ave
Ames, IA 50010


Lutheran Social Services ‐ East Side
Sioux Council 733
620 W 18th St
Sioux Falls, SD 57104


Lutheran Social Services‐Beloit
Mid Iowa Council 177
1323 Nwestern Ave
Ames, IA 50010


Lutheran Social Servies ‐ Hilltop
Sioux Council 733
3400 E 49th St
Sioux Falls, SD 57103


Lutheran Social Svcs
Southern Hills
Sioux Council 733
3400 E 49Th St
Sioux Falls, Sd 57103


Lutie Watkins Utd Methodist Church
Capitol Area Council 564
P.O. Box 397
800 Wright St


Lutron Electronics Inc
Minsi Trails Council 502
7200 Suter Rd
Coopersburg, PA 18036
Luverne Utd Methodist Church
Sioux Council 733
109 N Freeman Ave
Luverne, MN 56156


Luverne Utd Methodist Church
Tukabatchee Area Council 005
P.O. Box 716
Luverne, AL 36049


Luxemburg Sportsmans Club
Bay‐Lakes Council 635
P.O. Box 160
E2066 State Hwy 54
Luxemburg, WI 54217


Luz Guidry
Address Redacted


Luzerne County Courthouse
Northeastern Pennsylvania Council 501
200 N River St
Wilkes Barre, PA 18711


Lv Tossed Greens LLC
Las Vegas Area Council 328
6418 Towerstone St
North Las Vegas, NV 89084


Lw Distributors
P.O. Box 690
Scott Depot, WV 25560


Lwana Elder
Address Redacted


Lydia Blake
Address Redacted


Lydia Cabassa
Address Redacted
Lydia D Armiento
Address Redacted


Lydia G Thompson
Address Redacted


Lydia Hutson
Address Redacted


Lydia L Martinez
Address Redacted


Lydia N Waner
Address Redacted


Lydia Sanchez‐Roat
Address Redacted


Lygonia Lodge 40
Katahdin Area Council 216
140 Bucksport Rd
Ellsworth, ME 04605


Lyla Larson
Address Redacted


Lyle Antonides
Address Redacted


Lyle Elmore
Address Redacted


Lyle Knight
Address Redacted


Lyle Strahota
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Lyles Baptist Church
Stonewall Jackson Council 763
P.O. Box 475
Palmyra, VA 22963


Lyles Mcdaniels Post 6968 Vfw
Caddo Area Council 584
P.O. Box 1486
Linden, TX 75563


Lyman Gifford
Address Redacted


Lyman Products Corp
475 Smith St
Middletown, CT 06457


Lyman Utd Methodist Church
Palmetto Council 549
P.O. Box 190
106 Groce Rd


Lyme Congregational Church
Daniel Webster Council, Bsa 330
P.O. Box 27
Lyme, NH 03768


Lyme Fire Co Inc
Connecticut Rivers Council, Bsa 066
213 Hamburg Rd
Lyme, CT 06371


Lyme Grange
Connecticut Rivers Council, Bsa 066
2 Sterling City Rd
Lyme, CT 06371


Lynch Constr Co Inc
Hc 70 Box 187
White Sulpher Springs, WV 24986
Lynchburg Elementary PTO
Middle Tennessee Council 560
276 Mechanic St N
Lynchburg, TN 37352


Lynchburg Lions Club
Simon Kenton Council 441
2630 Sharpsville Rd
Lynchburg, OH 45142


Lynchwood Church Of God
Cascade Pacific Council 492
3818 SE 174th Ave
Portland, OR 97236


Lynda Berger
Address Redacted


Lynda Bergman
Address Redacted


Lynda Higgins
Address Redacted


Lynda Leathers
Address Redacted


Lynda Monroe
Address Redacted


Lynda Papallo
Address Redacted


Lynda Sanders
Address Redacted


LyndaCom Inc
Dept 8527
Los Angeles, CA 90084‐8527


Lynde Masonic Lodge
Katahdin Area Council 216
2500 Route 2
Hermon, ME 04401


Lynden International
P.O. Box 84167
Seattle, WA 98124


Lyndhurst Lodge No 1505 B.P.O. Elks
Northern New Jersey Council, Bsa 333
251 Park Ave
Lyndhurst, NJ 07071


Lyndon Lions
Jayhawk Area Council 197
General Delivery
Lyndon, KS 66451


Lyndonville Rotary Club
Green Mountain 592
P.O. Box 416
Lyndonville, VT 05851


Lyndsay Seibel
Address Redacted


Lynette Dukes
Address Redacted


Lynette Hayde
Address Redacted


Lynette Kelly
Address Redacted


Lynette Sarther
Address Redacted
Lynhurst Baptist Church
Crossroads of America 160
750 S Lynhurst Dr
Indianapolis, IN 46241


Lynn A Hicks
Address Redacted


Lynn Balvanz
Address Redacted


Lynn Braun
Address Redacted


Lynn Briggs
Address Redacted


Lynn Coulter
Address Redacted


Lynn Gunter
Address Redacted


Lynn H Matsuzaki
Address Redacted


Lynn Hansen
Address Redacted


Lynn Hartwell‐Mcclain
Address Redacted


Lynn Haven Utd Methodist Church
Gulf Coast Council 773
4501 Transmitter Rd
Panama City, FL 32404
Lynn K Richardson
Address Redacted


Lynn Lytle
Address Redacted


Lynn Mcnair
Address Redacted


Lynn Olson
Address Redacted


Lynn Parker
Address Redacted


Lynn Sammon
Address Redacted


Lynn Seldon Inc
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Oak Island, NC 28465


Lynne Bertrand
Address Redacted


Lynne Kavanagh
Address Redacted


Lynne Moore
Address Redacted


Lynne Rudy
Address Redacted


Lynne Taylor
Address Redacted


Lynnhaven Utd Methodist Church
Tidewater Council 596
1033 Little Neck Rd
Virginia Beach, VA 23452


Lynnhurst Utd Church Of Christ
Lincoln Heritage Council 205
4401 Taylor Blvd
Louisville, KY 40215


Lynnville Utd Methodist Church
Buffalo Trace 156
200 E 3rd St
P.O. Box 38


Lynsey Davis
Address Redacted


Lynwood Ward ‐ Twin Falls Stake
Snake River Council 111
421 Maurice St N
Twin Falls, ID 83301


Lyon College
P.O. Box 21317
Cub Scout Pack 220
Batesville, AR 72503


Lyon Elementary School PTO
Sam Houston Area Council 576
P.O. Box 907
Magnolia, TX 77353


Lyon Magnet PTO
Northeast Illinois 129
800 S Elmwood Ave
Waukegan, IL 60085


Lyon Workspace Products
P.O. Box 57033
Newark, NJ 07101‐7033
Lyons   Jordan, Inc
dba Riders Hobby Shop
21800 Towncenter Plaza, Ste 236
Sterling, VA 20164


Lyons Elks Lodge 869
Seneca Waterways 397
32 Church St
P.O. Box 366
Lyons, NY 14489


Lyons First Utd Methodist Church
Coastal Georgia Council 099
126 E Wesley Ave
Lyons, GA 30436


Lyons Muir Lions Club
President Gerald R Ford 781
228 Superior St
Muir, MI 48860


Lyons Rod    Gun Club Inc
Seneca Waterways 397
P.O. Box 184
Lyons, NY 14489


Lyons Utd Methodist Church
Seneca Waterways 397
93 William St
Lyons, NY 14489


Lytle Utd Methodist Church
Alamo Area Council 583
19341 S Somerset St
Lytle, TX 78052


Lyttleton Street Methodist Church
Indian Waters Council 553
1206 Lyttleton St
Camden, SC 29020


Lyubov Volfson
Address Redacted


M   C Enterprise Inc
Chariots For Hire
21915 Shaw Rd
Sterling, VA 20164


M   C Motors 2005 Ltd
401 Main St
P.O. Box 369
Atikokan, On P0T 1C0
Canada


M   M The Special Events Co
493 Mission St
Carol Stream, IL 60188


M   N International
P.O. Box 64784
St Paul, MN 55164‐0784


M   Q Plastics Products
P.O. Box 828466
Philadelphia, PA 19182‐8466


M   S Stone Quarries Inc
P.O. Box 357
7181 National Pike
Gransville, MD 21536


M   T Bank
Greater New York Councils, Bsa 640
350 Park Ave, Fl 5
New York, NY 10022


M A Evans Academy
Central Georgia Council 096
345 Edward Ave
Macon, GA 31204


M A M Mechanical LLC
38‐11 Ditmars Blvd
Astoria, NY 11105


M Aaron Smith
Address Redacted


M Agnes Jones Elementary
Atlanta Area Council 092
1040 Fair St Sw
Atlanta, GA 30314


M Allen
Address Redacted


M Atkins
Address Redacted


M B Henderson School ‐ PTA
Circle Ten Council 571
2200 S Edgefield Ave
Dallas, TX 75224


M Block   Sons, Inc
1079 Paysphere Cir
Chicago, IL 60674‐1079


M Block   Sons, Inc
5020 W 73rd St
Bedford Park, IL 60638


M Diane Estes
Address Redacted


M Diann Ellis
Address Redacted


M Esther Scoggins
Address Redacted
M G Waldbaum Egg Co
Mid‐America Council 326
P.O. Box 573
105 Main St
Wakefield, NE 68784


M Glenda Mortensen
Address Redacted


M H Moore Elementary ‐ Gfwar
Longhorn Council 662
1809 NE 36th St
Fort Worth, TX 76106


M J Wilmington Hotel Assoc LP
Hilton Wilmington/Christiana
100 Continental Dr
Newark, DE 19713


M Joseph Bayly Jr
Address Redacted


M Keith Kelsey
Address Redacted


M L Stronach Project Consulting Inc
1295 Wharf St
Pickering, Unit 20
Pickering, ON L1W 1A2
Canada


M Lee Smith Publishers
P.O. Box 5094
Brentwood, TN 37024‐5094


M Lee Smith Publishers LLC
5201 Virginia Way
P.O. Box 5094
Brentwood, TN 37024‐5094


M M Grinnan Co
12443 San Jose Blvd, Ste 901
Jacksonville, FL 32223


M M Motors
31133 Ave A
Big Pine Key, FL 33043


M M R Hose Co
Narragansett 546
26 County Rd
Mattapoisett, MA 02739


M Murray
Address Redacted


M O D Jewelry Inc
3176 Pullman St, Ste 104
Costa Mesa, CA 92626


M Potvin
Address Redacted


M Stovall
Address Redacted


M Sue Willis
Address Redacted


M Welles   Assoc Inc
1115 Broadway, Ste 105
Denver, CO 80203


M Yvonne Branch
Address Redacted


M3 Plumbing LLC
C2 Construction Inc
1601 Woodoak Dr
Richardson, TX 75082
Ma Custom Home Builders     Remodeling
2230 Hot Springs Blvd
Las Vegas, NM 87701


Ma Div Of Unemployment Assistance
P.O. Box 419815
Boston, MA 02241‐9815


MA Office Of The Attorney General
Consumer Protection Div
P.O. Box 22947
Jackson, MS 39225‐2947


Mabel Cheetham
Address Redacted


Mabel Massey
Address Redacted


Mabel Rush Pie
Cascade Pacific Council 492
1441 Deborah Rd
Newberg, OR 97132


Mabel Stoltz
Address Redacted


Mabelvale Utd Methodist Church
Quapaw Area Council 018
10500 Woodman St
Mabelvale, AR 72103


Mabscott Supply Co
P.O. Box 1560
Beckley, WV 25802


Mac   Ernies Painting Inc
163 Oakland Mills Rd
Manalapan, NJ 07726
Mac Arthur School PTO
Bay‐Lakes Council 635
1331 Hobart Dr
Green Bay, WI 54304


Mac Productions Inc
242 Pike St
Covington, KY 41011


Mac Source Comm Inc
P.O. Box 71426
Chicago, IL 60694‐2436


Mac Thrift Office Furniture
Lock Box Address
P.O. Box 100735
Atlanta, GA 30384‐0735


Macalester‐Plymouth Utd Church
Northern Star Council 250
1658 Lincoln Ave
Saint Paul, MN 55105


Macallister Machinery Co Inc
6300 Seastern Ave
Indianapolis, IN 46203


Macallister Machinery Co Inc
Dept 78731
P.O. Box 78000
Detroit, MI 48278‐0731


Macarthur Business Alliance
Suffolk County Council Inc 404
P.O. Box 472
Bohemia, NY 11716


Macdonald   Assoc, LLC, Trustee
111 S W 5th Ave, T‐16
Portland, OR 55116
Macdonald Devin PC
1201 Elm St
3800 Renaissance Tower
Dallas, TX 75270


Macedonia Ame Church
Atlanta Area Council 092
6235 Stagecoach Rd
Rex, GA 30273


Macedonia Baptist Church
Daniel Boone Council 414
1468 Jenkins Valley Rd
Alexander, NC 28701


Macedonia Baptist Church
Great Swest Council 412
1509 Edith Blvd Se
Albuquerque, NM 87102


Macedonia Baptist Church
Greater Niagara Frontier Council 380
237 E N St
Buffalo, NY 14204


Macedonia Baptist Church
Occoneechee 421
7100 Holly Springs Rd
Raleigh, NC 27606


Macedonia Christian Church
Blue Grass Council 204
4551 Winchester Rd
Lexington, KY 40509


Macedonia Cme Church
Black Warrior Council 006
7885 County Rd 131
Boligee, AL 35443


Macedonia Fire Dept
Lake Erie Council 440
9691 Valley View
Macedonia, OH 44056


Macedonia Lutheran Church
Old N State Council 070
421 W Front St
Burlington, NC 27215


Macedonia Missionary Baptist Church
Central Florida Council 083
412 E Kennedy Blvd
Eatonville, FL 32751


Macedonia Missionary Baptist Church
Central Florida Council 083
412 E Kennedy Blvd
Maitland, FL 32751


Macedonia Utd Methodist Church
Black Warrior Council 006
14837 Hwy 69 N
Northport, AL 35475


Macedonia Utd Methodist Church
Lake Erie Council 440
1280 E Aurora Rd
Macedonia, OH 44056


Macedonia Utd Methodist Church
Pee Dee Area Council 552
402 N Main St
Mullins, SC 29574


Macedonia Utd Methodist Church
Shenandoah Area Council 598
1941 Macedonia Church Rd
White Post, VA 22663


Macey J Kunkle
Address Redacted
Machias Rotary Club
Katahdin Area Council 216
P.O. Box 315
Machias, ME 04654


Machias Utd Methodist Church
Allegheny Highlands Council 382
P.O. Box 303
9741 Route 16


Machiko O Sullivan
Address Redacted


Mack Industrial Supply
1608 Drinnen Rd
Knoxville, TN 37914


Mack S Drilling
P.O. Box 1061
1815 Armstrong Ln
Raton, NM 87740


Macke Water Systems
P.O. Box 545
Wheeling, IL 60090‐0545


Mackenzie Griffith
Address Redacted


Mackenzie Joseph Burke
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Mackinder‐Glenn American Legion Post 510
Southern Shores Fsc 783
830 S Clinton St
Stockbridge, MI 49285


Macland Presbyterian Church
Atlanta Area Council 092
3615 Macland Rd
Powder Springs, GA 30127


Macnabs Mens Wear
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Ukiah, CA 95482


Maco Light Seekers
Cape Fear Council 425
4648 White St
Shallotte, NC 28470


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Great Lakes Fsc 272
43565 Elizabeth St
Mount Clemens, MI 48043


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Illowa Council 133
120 S Mcarthur St
Macomb, IL 61455


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Macon, NC 28734


Macon Utd Methodist Church
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Macon, MO 63552


Macon‐Bibb County
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Macon, GA 31201


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3525 Cliffdale Rd
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Colfax, NC 27235‐0939


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Irvine, CA 92618


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Marshfield, WI 54449


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Chicago, IL 60693‐0076


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Charlotte, NC 28206


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Cincinnati, OH 45202


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Mason, OH 45040


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Minneapolis, MN 55408


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111 W Ocean Blvd, Ste 1300
Long Beach, CA 90802


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Central Georgia Council 096
133 Old River Bridge Rd Se
Milledgeville, GA 31061


Madec Tours Eirl
Urb Larapa H‐7‐1 Dpto 103
San Jeronimo, Cusco,
Peru


Madehalli Padmanabhan
Address Redacted


Madeira Silverwood Presbyterian Church
Dan Beard Council, Bsa 438
8000 Miami Ave
Cincinnati, OH 45243
Madeira Usa Ltd
P.O. Box 6068
30 Bayside Court
Laconia, NH 03246


Madeleine English
Address Redacted


Madeleine Hanley
Address Redacted


Madeleine Marie Fiquett
Address Redacted


Madeleine Pastoral Council
Cascade Pacific Council 492
3123 NE 24th Ave
Portland, OR 97212


Madeleine Reed
Address Redacted


Madeline Boudreau
Address Redacted


Madeline Friberg
Address Redacted


Madeline Helen Monroe
Address Redacted


Madeline Monroe
Address Redacted


Madeline R Oetting
Address Redacted


Madeline Speranza
Address Redacted


Madelyne C Houk
Address Redacted


Madelynn Woodard
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Madera County Fire Station 9
Sequoia Council 027
41016 Ave 11
Madera, CA 93636


Madera Odd Fellows Lodge 327
Sequoia Council 027
P.O. Box 33
Madera, CA 93639


Madera Utd Methodist Church
Sequoia Council 027
500 Sunset Ave
Madera, CA 93637


Madera Ward ‐ LDS Sahuarita Stake
Catalina Council 011
17699 S Camino De Las Quintas
Sahuarita, AZ 85629


Madge Youtz Elementary PTA
Buckeye Council 436
1901 Midway Ave Ne
Canton, OH 44705


Madill Church Of Christ
Arbuckle Area Council 468
P.O. Box 88
Madill, OK 73446


Madisan Linsenbardt
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Erie Shores Council 460
1511 Madison Ave
Toledo, OH 43604


Madison Baptist Church
Buckskin 617
426 2nd St
Madison, WV 25130


Madison Baptist Church
Daniel Webster Council, Bsa 330
P.O. Box 119
Madison, NH 03849


Madison Church Of Christ
Middle Tennessee Council 560
106 Gallatin Pike N
Madison, TN 37115


Madison Community House
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Madison Community House
Madison, NJ 07940


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Madison County Housing Authority
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Collinsville, IL 62234


Madison County Lions Club
Stonewall Jackson Council 763
872 Ridgeview Rd
Brightwood, VA 22715
Madison County Office Sheriffs Assoc
Simon Kenton Council 441
P.O. Box 558
London, OH 43140


Madison County Sales Tax Dept
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100 Nside Square
Huntsville, AL 35801‐4820


Madison County Service Coordination Inc
Greater St Louis Area Council 312
140 S Main St
Fredericktown, MO 63645


Madison E Russell
Address Redacted


Madison Electric Inc
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Madison, AL 35758


Madison Elementary
Greater St Louis Area Council 312


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Three Harbors Council 636
9925 W Glendale Ave
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296 S Main St
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c/o Stephen Worton
50393 Bower
Chesterfield, MI 48047


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280 W 13 Mile Rd
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243 Hoy Rd
Madison Lds Church


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4937 Spring Rd
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Madison Order Of The Elks 524
Hoosier Trails Council 145 145
P.O. Box 404
Madison, IN 47250


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Sales Tax Dept
P.O. Box 1620
Tallulah, LA 71284‐1620


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510 Cumberland Ave
Madison, TN 37115


Madison Place Elementary School PTO
Heart of America Council 307
16651 Warwick St
Olathe, KS 66062


Madison Riley
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Madison School PTA
Hawkeye Area Council 172
1341 Woodside Dr Nw
Madison School


Madison South Sports
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175 Bellmeade Dr
Jackson, TN 38301


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Baltimore, MD 21213


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Southern Shores Fsc 783
4008 S Adrian Hwy
Adrian, MI 49221


Madison Utd Methodist Church
Greater Alabama Council 001
127 Church St
Madison, AL 35758


Madison Utd Methodist Church
Old N State Council 070
110 W Academy St
Madison, NC 27025


Madison Vineyard Holdings LLC
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1 Kirkland Ranch Rd
American Canyon, CA 94503


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Glaciers Edge Council 620
5321 Fairway Dr
Madison, WI 53711


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Northeast Georgia Council 101
P.O. Box 767
Madison, Ga 30650


Madison‐Morgan County Boys    Girls Club
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Pathway To Adventure 456
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Address Redacted


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Magic Valley Amatuer Radio Club
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Magnolia, AR 71753


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Suffolk, VA 23434


Magnolia Utd Methodist Church
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Magnolia Utd Methodist Church
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Northern Star Council 250
812 Pleasantview Dr Se
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Maharishi Sch, Age Enlightenment
Mid Iowa Council 177
804 Dr Robert Keith Wallace Dr
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Mahdi Alston
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124 E Madison Ave
Mahnomen, MN 56557


Mahomet American Legion
Prairielands 117
412 E Main St
Mahomet, IL 61853


Mahomet Utd Methodist Church
Prairielands 117
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Mahomet, IL 61853


Mahomet‐Seymour K‐5 PTO
Prairielands 117
P.O. Box 806
Mahomet, IL 61853


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371 High St Ne
Warren, OH 44481


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Westchester Putnam 388
154 E Lake Blvd
Mahopac, NY 10541


Mahopac Volunteer Fire Dept
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Mahopac, NY 10541


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Blandon, PA 19510


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Abbeville, SC 29620
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Buffalo Trace 156
222 E Main St
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Suffolk, VA 23434


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Kernersville, NC 27284


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306 S Main St
Winston Salem, NC 27284


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Consumer Information and Mediation Svc
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Augusta, ME 04333


Maine Dept Of Labor
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P.O. Box 356
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Maine, NY 13802


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Samoset Council, Bsa 627
14700 Rainbow Dr
Merrill, WI 54452


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6520 County Rd A
Wausau, WI 54401


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Castine, ME 04420


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243 Washington St
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Searsport, ME 04974


Maine Revenue Services
Attn Sales    Use Tax Div
P.O. Box 9112
Augusta, ME 04332‐9112


Maine Secretary Of State
101 State House Station
Augusta, ME 04333‐0101


Maine Sport, Inc
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Rockport, ME 04856
Maine State Attorneys General
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Augusta, ME 04333‐0039


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Toronto, ON M6R 2J5
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6777 Main St
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W6500 Spring Lake Rd
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Makala A Stamboni
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Aloha Council, Bsa 104
3542 Baldwin Ave
Makawao, HI 96768


Makawao Hongwanji Mission‐Buddhist
Aloha Council, Bsa 104
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Makawao, HI 96768


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448 Old Pinson Rd
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Malissie Bailey
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531 S Main St
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Mecklenburg County Council 415
3825 Johnston Oehler Rd
Charlotte, NC 28269


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1600 W Mallard Creek Church Rd
Charlotte, NC 28262


Mallinckrodt Academy PTO
Greater St Louis Area Council 312
6020 Pernod Ave
Saint Louis, MO 63139


Mallori Morris Winters
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Malolo Youth Sailing Assoc
Attn Albert Guerra
3553‐A Atlantic Ave, 1617
Long Beach, CA 90807


Malone Meat   Poultry, Inc
102 W 29th St
Tucson, AZ 85713


Malone Paddle Gear, LLC
Malone Auto Racks
81 County Rd
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Maloree Anderson
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Malta Br, Ch Jesus Christ
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Montana Council 315
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Malta, Mt 59538


Malta Utd Methodist Church
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Main St
Malta, OH 43758


Malta Utd Methodist Church
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P.O. Box 158
Malta, IL 60150


Malta Volunteer Fire Dept
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P.O. Box 883
Malta, MT 59538
Malta Ward ‐ Declo Stake
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Malta, ID 83342


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8711 206th St Se
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546 E Boston Post Rd
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Rockland Key, FL 33040


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Whitehall, PA 18052


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Manasquan, NJ 08736


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Monmouth Council, Bsa 347
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Manasquan, NJ 08736


Manassas Volunteer Fire Co
National Capital Area Council 082
9322 Centreville Rd
Manassas, VA 20110


Manatee County Sheriffs Dept
Southwest Florida Council 088
600 US 301 Blvd W
Bradenton, FL 34208


Manatee Elementary PTA
Gulf Stream Council 085
7001 Charleston Shores Blvd
Lake Worth, FL 33467


Manatee Elementary School
Southwest Florida Council 088
5301 Tice St
Fort Myers, FL 33905


Manatee Riverside Rotary Club
Southwest Florida Council 088
3407 28th St E
Bradenton, FL 34208


Manatua Naioti
Address Redacted


Manchaca Utd Methodist Church
Capitol Area Council 564
1011 F.M. 1626
Manchaca, TX 78748


Manchester Community Church
Pine Tree Council 218
P.O. Box 23
Manchester, ME 04351


Manchester Elementary School PTO
Mid‐America Council 326
2750 N Hws Cleveland Blvd
Omaha, NE 68116


Manchester Fire Dept
Northeast Iowa Council 178
400 E Main St
Manchester, IA 52057


Manchester Grand Hyatt
1 Market Pl
San Diego, CA 92101


Manchester Grand Resorts LP
dba Manchester Grand Hyatt San Diego
P.O. Box 94054
Seattle, WA 98124


Manchester Lions Club
Pine Tree Council 218
P.O. Box 1
Manchester, ME 04351


Manchester Moose Family Center Lodge 699
Heart of Virginia Council 602
11110 Trade Rd
North Chesterfield, VA 23236


Manchester Police Dept
Connecticut Rivers Council, Bsa 066
P.O. Box 191
239 Middle Tpke E


Manchester Police Explorers
L39 E Middle Tnpk
Manchester, CT 06040


Manchester PTO
The Spirit of Adventure 227
Manchester Memorial School
Lincoln St


Manchester Township Volunteer Fire Co
Jersey Shore Council 341
545 Commonwealth Blvd
Toms River, NJ 08757


Manchester Utd Methodist Church
Great Trail 433
5625 Manchester Rd
New Franklin, OH 44319


Manchester Utd Methodist Church
Greater St Louis Area Council 312
129 Woods Mill Rd
Manchester, MO 63011


Manchester Utd Methodist Church
Northeast Iowa Council 178
722 E Butler St
Manchester, IA 52057
Mancos Scouting Families
Great Swest Council 412
11595 Rd 38 1/2
Mancos, CO 81328


Mandalay Bay Convention Center
Attn Exhibitor Services Dept
3970 Las Vegas Blvd S
Las Vegas, NV 89119


Mandalay Corp
P.O. Box Services
Bank of America File 50519
Los Angeles, CA 90074


Mandan Moose Lodge 425
Northern Lights Council 429
111 11th Ave Ne
Mandan, ND 58554


Mandan Police Dept
Northern Lights Council 429
205 1st Ave Nw
Mandan, ND 58554


Mandarin Immersion Magnet School PTO
Sam Houston Area Council 576
5445 W Alabama St
Houston, TX 77056


Mandarin Lutheran Church
North Florida Council 087
11900 San Jose Blvd
Jacksonville, FL 32223


Mandarin Presbyterian Church
North Florida Council 087
11844 Mandarin Rd
Jacksonville, FL 32223


Mandarin Utd Methodist Church
North Florida Council 087
11270 San Jose Blvd
Jacksonville, FL 32223


Mandated Ministries
Circle Ten Council 571
2504 Crow Creek Dr
Dallas, TX 75233


Mandell Menkes, LLC
One N Franklin, Ste 3600
Chicago, IL 60606


Manderson Lehr American Legion Post 162
Mid‐America Council 326
305 W Church St
Albion, NE 68620


Mandrill Clinton
Address Redacted


Mandy Gerdes
Address Redacted


Manford Wise
Address Redacted


Mango House
dba Troop 1532
12702 W Virginia Ave
Lakewood, CO 80228


Mango House
Denver Area Council 061
1532 Galena St, Ste 300
Aurora, CO 80010


Mango House
Denver Area Council 061
1532 Galena St
Aurora, CO 80010
Mangohick Volunteer Fire Dept
Heart of Virginia Council 602
3493 King William Rd
Manquin, VA 23106


Mangrove Enterprises Inc
P.O. Box 1459
Islamorada, FL 33036


Mangum Memorial Utd Methodist Church
Norwela Council 215
3939 Pines Rd
Shreveport, LA 71119


Manhattan Beach Police Dept
Greater Los Angeles Area 033
420 15th St
Manhattan Beach, CA 90266


Manhattan Christian College
Attn Financial Aid Counselor
1415 Anderson Ave
Manhattan, KS 66502‐4801


Manhattan First Baptist Church
Rainbow Council 702
P.O. Box 381
Manhattan, IL 60442


Manhattan Parents For Scouting
Greater Los Angeles Area 033
129 18th St
Manhattan Beach, CA 90266


Manhattan Township Historical Society
Rainbow Council 702
P.O. Box 269
Manhattan, IL 60442


Manheim Lions Club
Pennsylvania Dutch Council 524
190 N Charlotte St
Aaron Henderson
Manheim, PA 17545


Manheim Sertoma
Pennsylvania Dutch Council 524
P.O. Box 214
Scout Alley
Manheim, PA 17545


Manistee Elks Club
President Gerald R Ford 781
432 River St
Manistee, MI 49660


Manito Utd Methodist Church
Inland Nwest Council 611
3220 S Grand Blvd
Spokane, WA 99203


Manitoba Hydro
P.O. Box 7900 Stn Main
Winnipeg, Mb R3C 5R1
Canada


Manitou Kiwanis Club
Pikes Peak Council 060
103 Pawnee Ave
Community Congregational Ch
Manitou Springs, CO 80829


Manitou Moose Lodge 1107
Sagamore Council 162
1911 Wside Rd
Rochester, IN 46975


Manitowoc Police Dept
Bay‐Lakes Council 635
910 Jay St
Manitowoc, WI 54220
Mankato Dept Of Public Safety
Twin Valley Council Bsa 283
710 S Front St
Mankato, MN 56001


Mankato Eagles Aerie 269
Twin Valley Council Bsa 283
708 N Riverfront Dr
Mankato, MN 56001


Mankato Masonic Lodge 12
Twin Valley Council Bsa 283
309 S 2nd St
Mankato, MN 56001


Mankato Ymca
Twin Valley Council Bsa 283
1401 S Riverfront Dr
Mankato, MN 56001


Manlius Fire Dept
Longhouse Council 373
8200 Cazenovia Rd
Manlius, NY 13104


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A Professional Corp
19100 Von Karman Ave, Ste 800
Irvine, CA 92612


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For Kamal Aly
1071 Worcester Rd, Ste 42
Framingham, MA 01701


Manning Vfw
Mid‐America Council 326
806 2nd St
Manning, IA 51455


Mannsville Public Schools
Arbuckle Area Council 468
P.O. Box 68
Mannsville, OK 73447


Mannsville Utd Methodist Church
Arbuckle Area Council 468
P.O. Box 441
Mannsville, OK 73447


Mannys   Son Landscaping Inc
P.O. Box 522781
Marathon Shores, FL 33050


Manoa Elementary School Apt
Aloha Council, Bsa 104
3155 Manoa Rd
Honolulu, HI 96822


Manorville Fire Dept
Suffolk County Council Inc 404
16 Silas Carter Rd
Manorville, NY 11949


Man‐Pack
98 Royal Oak Rd
Front Royal, VA 22630


Manpower
1550 Kenneth Rd
York, PA 17408


Manpower
21271 Network Pl
Chicago, IL 60673‐1212


Manpower
70 Ctr St
Portland, ME 04101‐3949


Mansfield Church Of Christ
Longhorn Council 662
580 Pleasant Ridge Dr
Mansfield, TX 76063


Mansfield Lodge 543
Ozark Trails Council 306
3221 Oetting Rd
Mansfield, MO 65704


Mansfield Police Dept
Buckeye Council 436
30 N Diamond St
Mansfield, OH 44902


Mansfield Police Dept
Longhorn Council 662
1601 Heritage Pkwy
Mansfield, TX 76063


Mansfield Utd Methodist Church
Westark Area Council 016
111 S Div Ave
Mansfield, AR 72944


Manson Lions Club
Mid‐America Council 326
2604 180th St
Manson, IA 50563


Manta Ventures LLC
2102 Whispering Sands Ln
Virginia Beach, VA 23455


Manteno Sportsmans Club
Rainbow Council 702
851 N Main St
Manteno, IL 60950


Manteo Lions Club
Tidewater Council 596
P.O. Box 636
Manteo, NC 27954
Mantorville Fire Dept
Gamehaven 299
412 County Rd 15
Mantorville, MN 55955


Mantua Elementary School PTA Inc
National Capital Area Council 082
Mantua
Fairfax, VA 22030


Mantua Lions Club
Garden State Council 690
35 High St
Mantua, NJ 08051


Mantua Lodge 95 F Am
Garden State Council 690
45 Mantua Blvd
Mantua, NJ 08051


Mantua Parent Teacher Inc
National Capital Area Council 082
9107 Horner Ct
Fairfax, VA 22031


Mantua Township Police Dept
Garden State Council 690
405 Main St
Mantua, NJ 08051


Manual Woodworkers   Weavers, Inc
3737 Howard Gap Rd
Hendersonville, NC 28792


Manual Woodworkers   Weavers, Inc
P.O. Box 63204
Charlotte, NC 28263‐3204


Manuel Fonseca
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Manuel High School Jrotc
Denver Area Council 061
1700 E 28th Ave
Denver, CO 80205


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Manuel Quintana
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Manuel Ramos
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Manufacturers Bank   Trust Co
Winnebago Council, Bsa 173
106 W Main St
Lake Mills, IA 50450


Manufacturers Supplies Co
4220 Rider Trl N
Earth City, MO 63045


Manvel Volunteer Fire Dept
Bay Area Council 574
6212 Masters Rd
Manvel, TX 77578


Manvel‐Iowa Colony Lions
Bay Area Council 574
P.O. Box 678
Manvel, TX 77578


Manzanita Elementary School Parents
San Francisco Bay Area Council 028
2409 E 27th St
Oakland, CA 94601


Manzano Day School
Great Swest Council 412
1801 Central Ave Nw
Albuquerque, NM 87104


Manzanola Ems
Rocky Mountain Council 063
200 W S Railroad
Manzanola, CO 81058


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25132 Oakhurst Dr, Ste 201
Spring, TX 77386


Map Dallas / Fort Worth
P.O. Box 681135
Franklin, TN 37068


Map It
Black Swamp Area Council 449
539 S Main St, Rm 270‐M
Findlay, OH 45840


Map Your Show
6915 Valley Ave
Cincinnati, OH 45244‐3029


Mapformation LLC
220 S Burns Ave
Springfield, MN 56087‐1205


Maple Avenue Utd Methodist Church
Atlanta Area Council 092
63 Maple Ave Nw
Marietta, GA 30064


Maple Bluff Citizens For Scouting
Glaciers Edge Council 620
18 Oxford Pl
Madison, WI 53704


Maple East Elementary School PTA
Greater Niagara Frontier Council 380
1500 Maple Rd
Williamsville, NY 14221


Maple Grove Elementary School
Crossroads of America 160


Maple Grove Fire Dept
Northern Star Council 250
P.O. Box 1180
12800 Arbor Lakes Pkwy N
Maple Grove, MN 55311


Maple Grove Lutheran Church
Northern Star Council 250
9251 Elm Creek Blvd N
Maple Grove, MN 55369


Maple Grove Police Dept
Northern Star Council 250
P.O. Box 1180
12800 Arbor Lakes Pkwy N


Maple Grove Utd Methodist Church
Blue Ridge Mtns Council 599
452 Henry Rd
Ferrum, VA 24088


Maple Heights
Chester County Council 539
301 W Maple Heights Ct
Rising Sun, MD 21911


Maple Lake Utd Methodist Church
Northeastern Pennsylvania Council 501
632 State Route 690
Spring Brook Township, PA 18444


Maple Lawn Elementary
Circle Ten Council 571
3120 Inwood Rd
Dallas, TX 75235
Maple Lodge 127 A F   A M
Oregon Trail Council 697
P.O. Box 613
143 W 5th Ave


Maple Road School Parent Teacher Assoc
Northern New Jersey Council, Bsa 333
36 Maple Rd
West Milford, NJ 07480


Maple Street Congregational Church
The Spirit of Adventure 227
90 Maple St
Danvers, MA 01923


Maple Street Utd Methodist Church
Simon Kenton Council 441
438 E Wheeling St
Lancaster, OH 43130


Maple Tree Boys   Girls Club
Three Harbors Council 636
6644 N 107th St
Milwaukee, WI 53224


Maple Valley Fire
Chief Seattle Council 609
16928 234th Way Se
Maple Valley, WA 98038


Maplebrook Home   School Assoc
Three Fires Council 127
1630 Warbler Dr
Naperville, IL 60565


Mapledale Assoc
Dan Beard Council, Bsa 438
6100 Hagewa Dr
Blue Ash, OH 45242


Maplegrove Grange
Denver Area Council 061
3130 Youngfield St
Wheat Ridge, CO 80215


Maplemere Elementary School
Greater Niagara Frontier Council 380
236 E Maplemere Rd
Buffalo, NY 14221


Maples Memorial Utd Methodist Church
Chickasaw Council 558
P.O. Box 213
8745 Goodman Rd


Mapleton Lions Club
Katahdin Area Council 216
P.O. Box 405
Mapleton, ME 04757


Mapleton Rotary Club
Mid‐America Council 326
P.O. Box 67
Maier Family Pharmacy
Mapleton, IA 51034


Maplewest Elementary School ,Pta
Greater Niagara Frontier Council 380
851 Maple Rd
Williamsville, NY 14221


Maplewood Christian Church
Great Trail 433
7300 State Route 88
Ravenna, OH 44266


Maplewood Elementary
Greater St Louis Area Council 312
1700 Jerome Ln
Cahokia, IL 62206


Maplewood Elementary School
Erie Shores Council 460
6769 Maplewood Ave
Sylvania, OH 43560


Maplewood Lions Club
Calcasieu Area Council 209
Maplewood Dr
Sulphur, LA 70663


Maplewood Reformed Church
President Gerald R Ford 781
133 E 34th St
Holland, MI 49423


Maplewood Richmond Heights Elem PTO
Greater St Louis Area Council 312
1800 Princeton Pl
Richmond Heights, Mo 63117


Maplewood Rotary Club
Northern New Jersey Council, Bsa 333
P.O. Box 1099
Maplewood, NJ 07040


Maplewood Utd Methodist Church
Mid‐America Council 326
3535 Maplewood Blvd
Omaha, NE 68134


Maplewood Ward LDS Church
Northern New Jersey Council, Bsa 333
1600 Springfield Ave
Maplewood, NJ 07040


Maps Air Museum
Great Trail 433
2260 International Pkwy
North Canton, OH 44720


Mar A Lago Club LLC
1100 S Ocean Blvd
Palm Beach, FL 33480
Mar Graphics
Greater St Louis Area Council 312
P.O. Box 254
Valmeyer, IL 62295


Mara J Potochny
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Marais Des Cygnes Society
Heart of America Council 307
312 N Havanah St
Butler, MO 64730


Maralea Chapin
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Marana Middle School PTO
Catalina Council 011
11285 W Grier Rd
Marana, AZ 85653


Marana Police Dept
Catalina Council 011
11555 W Civic Center Dr
Marana, AZ 85653


Maranatha Assembly Interdenominational
Pine Tree Council 218
P.O. Box 114
Anson, ME 04911


Marantha Baptist Church
Cherokee Area Council 556
453 Blue Springs Ln Se
Cleveland, TN 37311


Mararishi Sch, Age Enlightenment
Mid Iowa Council 177
804 Dr Robert Keith Wallace Dr
Fairfield, Ia 52556
Marathon Bicycle Co, LLC
104 E Maple Ave
Fayetteville, WV 25840


Marathon Boat Group Inc
One Grumman Way
P.O. Box 549
Marathon, NY 13803


Marathon Boat Group, Inc
P.O. Box 549
Marathon, NY 13803


Marathon Boat Yard Diesel
230 20th St
Marathon, FL 33050


Marathon Church
Blue Ridge Council 551
315 Roe Rd
Greenville, SC 29611


Marathon Electric Sign      Light Inc
10690 Aviation Blvd
Marathon, FL 33050


Marathon Petroleum Co LLC
Black Swamp Area Council 449
539 S Main St
Findlay, OH 45840


Marathon Petroleum Corp
Great Lakes Fsc 272
1001 S Oakwood
Detroit, MI 48217


Marathon Rotary Club Inc
P.O. Box 522666
Marathon Shores, FL 33052


Marble Elementary School PTO
Water and Woods Council 782
729 N Hagadorn Rd
East Lansing, MI 48823


Marble Falls First Baptist Church
Capitol Area Council 564
901 La Ventana
Marble Falls, TX 78654


Marblehead Peninsula Chamber Of Commerce
Erie Shores Council 460
5681 E Harbor Rd
Marblehead, OH 43440


Marblehead Recreation Parks
The Spirit of Adventure 227
10 Humphrey St
Marblehead, MA 01945


Marbles Kids Talent Inc
240 Josephine St, Ste 205
Denver, CO 80206


Marbletown Reformed Church
Rip Van Winkle Council 405
P.O. Box 63
Stone Ridge, NY 12484


Marbridge Foundation
Capitol Area Council 564
2310 Bliss Spillar Rd
Manchaca, TX 78652


Marc Verrier
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Marc Andreo
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Marc Bloom Communications, Inc
3303 Schindler Dr N
Monmouth Junction, NJ 08852


Marc Bonner
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Marc Cook
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Marc Hall O Donnellclark Crew Trustacct
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Marc Kogan
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Marc Littlecott
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Marc Maratea
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Marc Posner
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Marc Richardson
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Marc Ryan
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Marceia Ragland
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Marceline Fire Dept
Great Rivers Council 653
218 W Santa Fe Ave
Marceline, MO 64658


Marcell Vargas
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Marcella Antirien
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Marcella Byxbe
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Marcella Community Center
Patriots Path Council 358
831 Green Pond Rd
Rockaway, NJ 07866


Marcella O Schubbe
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Marcella Saunders
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Marcelle Grant
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Marcelle Mansbach
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Marcellus Utd Methodist Church
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Marcellus, NY 13108


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5 Anthony Ave
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Marcie Smith
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Harrisburg, PA 17110


Marco A Hernandez
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Marco Gonzalez
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Marco Lopez
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Marcola Elementary Parent Org
Oregon Trail Council 697
38300 Wendling Rd
Marcola, OR 97454


Marcom Awards
2320 Superior Dr, Ste A
Arlington, TX 76013


Marcos A Nava
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Marcos Pizza
Great Smoky Mountain Council 557
7121 Maynardville Pike
Knoxville, TN 37918


Marcus A Gonzales
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Marcus Alexander Roup
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Marcus B Baker
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Marcus Jackson
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Marcus Mack
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Marcus Ragland
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Marcy PTA
Potawatomi Area Council 651
W180N4851 Marcy Rd
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Mardi Long
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Mardia Dennis
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Marengo First Baptist Church
Blackhawk Area 660
320 E Washington St
Marengo, IL 60152


Marengo High School
Black Warrior Council 006
Rt 1 Box 154
Dixon Mills, AL 36736


Marenic Food Srvc Consulting Inc
5811 Old Well House Rd
Charlotte, NC 28226


Mares Diving Div Of Head Usa
P.O. Box 40000
Hartford, CT 06151‐0294


Marfield Inc
P.O. Box 814210
Dallas, TX 75381‐4210


Margaret Ann Mcculloch
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Margaret Ashwell
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Margaret Cecile Denton
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Margaret Compton
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Margaret Daniel Primary
Caddo Area Council 584
1323 Foster Dr
Ashdown, AR 71822


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101 Hemphill School Rd Nw
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Margaret Jiras
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Margaret K Pearson
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Margaret K Roberts School PTO
Bay‐Lakes Council 635
270 Candy Ln
Fond Du Lac, WI 54935
Margaret Knupp
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Margaret Lewis
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Margaret Lovejoy
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Margaret Majane
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Margaret Marx
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Margaret Murphy
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Margaret N Eaton
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Margaret Neuenschwander
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Margaret Odonnell
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Margaret Ornelas
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Margaret Phelps
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Margaret Pompeo
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Margaret Renn
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Margaret Ridley
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Margaret Riedinger
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Margaret Schweinsberg
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Margaret Seroky
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Margaret Snyder
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Margaret Sokolsky
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Margaret Spicer
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Margaret Sprock
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Margaret Standridge
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Margaret Tallman
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Margaret Templeman
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Margaret Trast
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Margaret Vozzo
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Margaret Williams
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Margaret Wilson‐Hirsch
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Margarete Stumme
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Margarita Sierra
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Margate Public Safety
South Florida Council 084
5790 Margate Blvd
Margate, FL 33063


Marge Stormo
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Margie Martinez
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Margie Moore
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Margie Swoyer
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Margit Publications
463 7th Ave, 3rd Fl
New York, NY 10018


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Marguerite Hart
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Marguerite Horton
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Maria A Ward
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Maria Anna Roque
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Maria Barrera
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Maria Betancourt
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Maria Carolina Sanguino
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Maria Clements
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Maria Dahl
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Maria Del Dahl
Address Redacted


Maria Dumani
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Maria G Ortega
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Maria Garcia
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Maria Huerta
Address Redacted


Maria Kelly
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Maria Lazo
Address Redacted


Maria Manzella
Address Redacted


Maria Martinez
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Maria Mascarenhas
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Maria Meneses
Address Redacted


Maria Milligan
Address Redacted


Maria Osuna
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Maria Petry
Address Redacted


Maria Rapier
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Maria Schmitt
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Maria Ward
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Maria Zarr
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Maria‐Beatriz Skelly
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Maria‐Cristina Santiago Gonzalez
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Mariaelena Kascher
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Marian Bratton
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Marian Brown
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Marian Charitable Foundation
South Florida Council 084
12100 W Dixie Hwy
North Miami, FL 33161


Marian D Argento
Address Redacted


Marian Hoffman
Address Redacted


Marian Hull
Address Redacted


Marian Joyce
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Marian Marion
Address Redacted


Marian Mcquaid
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Marian Post
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Marian Smith
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Marian Sutherland Kirby Library
35 Kirby Ave
Mountain Top, PA 18707‐1214


Marian University
Financial Aid Office
3200 Cold Spring Rd
Indianapolis, IN 46222


Mariann Impagliazzo
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Mariann Leopold
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Marianna Optimist Club
Alabama‐Florida Council 003
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Marianne Watkins
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Maribeth Mccann
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Maricela Gonzalez
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Maricopa County Treasurer
P.O. Box 52133
Phoenix, AZ 85072‐2133


Maricopa Live Steamers
Grand Canyon Council 010
22822 N 43rd Ave
Glendale, AZ 85310


Maricopa Live Steamers Railroad Heritage
Preservation Society
Grand Canyon Council 010
22822 N 23Rd Ave
Glendale, Az 85310


Maricopa Veteran Center
Grand Canyon Council 010
P.O. Box 152
Maricopa, AZ 85139


Maricopa Veterans Center
Grand Canyon Council 010
P.O. Box 152
Maricopa, AZ 85139


Maricopa Youth Mariners
Grand Canyon Council 010
8708 W Harbor Blvd
Peoria, AZ 85383


Marie Baker
Address Redacted


Marie Bernadette Gordon
Address Redacted


Marie Brow
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Marie Brown
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Marie Burghard
Address Redacted


Marie Crafts
Address Redacted


Marie Cuskelly
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Marie Dalesio
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Marie Dixon
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Marie Ellis
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Marie G Resman
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Marie Gladden
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Marie Gordon
Address Redacted


Marie Hanson
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Marie Hardin
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Marie Knutson
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Marie L Rice
Address Redacted


Marie Nelson
Address Redacted


Marie Sparks
Address Redacted


Marie Street
Address Redacted
Marie Thomas
Address Redacted


Marie Whiteway
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Marie Willdigg
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Marie Willhite
Address Redacted


Mariela Rojas
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Mariemont Community Church
Dan Beard Council, Bsa 438
3908 Plainville Rd
Cincinnati, OH 45227


Marienville Area Civic Assoc
French Creek Council 532
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138 Lamonaville Rd
Marienville, PA 16239


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Marietta Cunningham
Address Redacted


Marietta Lions Club
Arbuckle Area Council 468
P.O. Box 334
Marietta, OK 73448


Marietta Lions Club
Arbuckle Area Council 468
P.O. Box 355
Marietta, OK 73448


Marietta Police Explorers Post 2
Atlanta Area Council 092
240 Lemon St Ne
Marietta, GA 30060


Marietta Sixth Grade Academy
Atlanta Area Council 092
340 Aviation Rd Se
Marietta, GA 30060


Marietta White
Address Redacted


Marilyn Allen
Address Redacted


Marilyn Allison
Address Redacted


Marilyn Anderson
Address Redacted


Marilyn Basso
Address Redacted


Marilyn Behrensmeyer
Address Redacted


Marilyn Brown
Address Redacted


Marilyn C Darby
Address Redacted


Marilyn Christopoulos
Address Redacted
Marilyn Copeland
Address Redacted


Marilyn Costigan
Address Redacted


Marilyn Dunaway
Address Redacted


Marilyn Ehret
Address Redacted


Marilyn Fowler
Address Redacted


Marilyn Hamilton
Address Redacted


Marilyn Hendricks
Address Redacted


Marilyn Holland
Address Redacted


Marilyn Jaworski
Address Redacted


Marilyn K Miller
Address Redacted


Marilyn Kelly
Address Redacted


Marilyn L Vargas
Address Redacted
Marilyn Lopez
Address Redacted


Marilyn Montney
Address Redacted


Marilyn Moore
Address Redacted


Marilyn Munroe
Address Redacted


Marilyn Muscatello
Address Redacted


Marilyn Oakley
Address Redacted


Marilyn Oloff
Address Redacted


Marilyn Ormonde
Address Redacted


Marilyn Perrin
Address Redacted


Marilyn R Wright
Address Redacted


Marilyn Roen
Address Redacted


Marilyn Rotino
Address Redacted


Marilyn Ruppel
Address Redacted
Marilyn Sallis
Address Redacted


Marilyn Slitzky
Address Redacted


Marilyn Slocum
Address Redacted


Marilyn Snyder
Address Redacted


Marilyn Strain
Address Redacted


Marilyn Taylor
Address Redacted


Marilyn Taylor Woodward
Address Redacted


Marilyn Travis
Address Redacted


Marilyn Ventimigla
Address Redacted


Marilyn Z Hoffman
Address Redacted


Marilyn Zellmer
Address Redacted


Marin
225 W End Ave
San Rafael, CA 94901‐2645
Marin Cncl 35
225 W End Ave
San Rafael, CA 94901‐2645


Marin Council Camping Committee
Marin Council 035
225 W End Ave
San Rafael, CA 94901


Marin County Fire Dept
Marin Council 035
P.O. Box 518
Woodacre, CA 94973


Marin County Office Of Education
Walker Creek Ranch
1700Marshall‐Petaluma Rd
Pelaluma, CA 94952


Marin County Search   Rescue
Marin Council 035
1600 Los Gamos Dr, Ste 200
San Rafael, CA 94903


Marin Masonic Lodge No. 191
Marin Council 035
1010 Lootens Pl
San Rafael, CA 94901


Marin Mountain Bikes Inc
1450 Technology Ln, Ste 100
Petaluma, CA 94954


Marin Rod    Gun Club
Marin Council 035
P.O. Box 463
San Quentin, CA 94964


Marina Police Cadet Program
Silicon Valley Monterey Bay 055
211 Hillcrest Ave
Marina, CA 93933


Marine Cadets Of Washington
Cascade Pacific Council 492
9208 NE Hwy 99, Unit 107‐432
Vancouver, WA 98665


Marine Corp League Detachment 299
New Birth of Freedom 544
304 Sarhelm Rd
Harrisburg, PA 17112


Marine Corp League Detachment 57
Greater Tampa Bay Area 089
P.O. Box 15503
Saint Petersburg, FL 33733


Marine Corps Assoc And Foundation
East Carolina Council 426
243 River Bend Rd
Jacksonville, NC 28540


Marine Corps Assoc And Foundation
National Capital Area Council 082
715 Broadway St
Quantico, VA 22134


Marine Corps Junior Rotc
Gulf Coast Council 773
501 Mosley Dr
Lynn Haven, FL 32444


Marine Corps League Det 1155
Mt Diablo‐Silverado Council 023
4090 Courtland Dr
Oakley, CA 94561


Marine Corps League Det 1272
Black Warrior Council 006
1655 Mcfarland Blvd N PMB 152
Tuscaloosa, AL 35406
Marine Corps League Detachment 1199
Las Vegas Area Council 328
2371 Carson St
Pahrump, NV 89048


Marine Corps League Roan Creek 992
Golden Spread Council 562
P.O. Box 1452
Amarillo, TX 79105


Marine Diesel Of The Florida Keys Inc
7281 Shrimp Rd
Key W, Fl 33040


Marine Lodge Af    Am
Cape Cod and Islands Cncl 224
160 Main St
Falmouth, MA 02540


Marine Memorial Chapel
San Diego Imperial Council 049
Bldg 1344 A St
Camp Pendleton, CA 92055


Marine Military Academy
Rio Grande Council 775
320 Iwo Jima Blvd
Harlingen, TX 78550


Marine Rescue Products Inc
P.O. Box 3484
Newport, RI 02840


Marine Sports Mfg, Inc
1514 Sydney Rd
Plant City, FL 33566


Marine View Presbyterian Church
Pacific Harbors Council, Bsa 612
8469 E Side Dr Ne
Tacoma, WA 98422
Marine Visions Inc
14212 Hwy 3, Ste F
Webster, TX 77598


Mariner Utd Methodist Church
Greater Tampa Bay Area 089
7079 Mariner Blvd
Spring Hill, FL 34609


Mariners Christian School
Orange County Council 039
300 Fischer Ave
Costa Mesa, CA 92626


Mario Antonio Velazquez Fernandez
Address Redacted


Mario C Ruiz
Address Redacted


Mario Calderon
Address Redacted


Mario Gonzalez
Address Redacted


Mario Guerrero
Address Redacted


Mario Perez
Address Redacted


Marion Cares
Hawkeye Area Council 172
1050 Mcgowan Blvd
Marion, IA 52302


Marion Christian Church
Hawkeye Area Council 172
1050 Mcgowan Blvd
Marion, IA 52302


Marion County Lodge 2684
Black Warrior Council 006
P.O. Box 614
Hamilton, AL 35570


Marion County Sheriffs Office
Buckeye Council 436
889 Marion Williamsport Rd E
Marion, OH 43302


Marion East Cedar Rapids Rotary Club
Hawkeye Area Council 172
3100 Oakland Rd Ne
Cedar Rapids, IA 52402


Marion Erickson
Address Redacted


Marion First Utd Methodist Church
Piedmont Council 420
176 Robert St
Marion, NC 28752


Marion Joshua Perry‐Reed
Address Redacted


Marion Lee Miller Legion Post 931
W D Boyce 138
207 W Hely St
Towanda, IL 61776


Marion Metro Kiwanis
Hawkeye Area Council 172
7471 Commune Ct
Cedar Rapids, IA 52411


Marion Moose Family Center 1705
Piedmont Council 420
P.O. Box 1359
Marion, NC 28752


Marion Myers
Address Redacted


Marion Police Dept
Piedmont Council 420
270 S Main St
Marion, NC 28752


Marion Rotary Club
Chickasaw Council 558
724 Carter Dr
Marion, AR 72364


Marion Sage
Address Redacted


Marion Seltzer School
Lake Erie Council 440
1468 W 98th St
Cleveland, OH 44102


Marion Sterling School
Lake Erie Council 440
3033 Central Ave
Cleveland, OH 44115


Marion Tollison
Address Redacted


Marion Utd Methodist Church
Chickasaw Council 558
P.O. Box 389
Marion, AR 72364


Marion Utd Methodist Church
Lincoln Heritage Council 205
112 S College St
Marion, KY 42064


Mariposa Academy Team Up
Nevada Area Council 329
3875 Glen St
Reno, NV 89502


Mariposa Parent Teacher Org
Grand Canyon Council 010
50 E Knox Rd
Tempe, AZ 85284


Marisa K Meiners
Address Redacted


Marisa Wessel
Address Redacted


Marisol Gonzalez
Address Redacted


Marissa Fire Dept
Greater St Louis Area Council 312
200 W N Railroad St
Marissa, IL 62257


Marissa Lions Club
Greater St Louis Area Council 312
815 N Borders Ave
Marissa, IL 62257


Marissa Recreational Area Assoc
Greater St Louis Area Council 312
815 N Borders Ave
Marissa, IL 62257


Marita Heffernan
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Maritsa Herrera
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Maritz Travel Co
1375 N Hwy Dr
Fenton, MO 63099


Maritz Travel Co
5757 Collections Ctr Dr
Chicago, IL 60693


Marius Tiberiu Mordasan
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Marjorie Ann Johnson
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Marjorie Armstrong
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Marjorie Barish
Address Redacted


Marjorie Croft
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Marjorie Dedrick
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Marjorie Douglas
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Marjorie Drummond
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Marjorie Ferguson
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Marjorie Hamilton
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Marjorie Jennings
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Marjorie Johnson
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Marjorie Morris
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Marjorie Mortland
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Marjorie Peden
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Marjorie Ramirez
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Marjorie Rater
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Marjorie Rollins
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Marjorie Singletary
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Marjorie Williams
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Mark A Rash
Address Redacted


Mark A Salle‐Tabor
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Mark A Zdan
Address Redacted


Mark And Carole Lukenbach
149 Exeter Ave
San Carlos, CA 94070


Mark And Ruth Davis Real Estate
Utah National Parks 591
332 W 400 S
Genola, UT 84655


Mark Anderson
Address Redacted


Mark Armstrong
Address Redacted


Mark Arnold
Address Redacted


Mark Aymer
Address Redacted


Mark Barbernitz
Address Redacted


Mark Becker
Address Redacted


Mark Bennett Pottle
Address Redacted


Mark Berkery
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Mark Bodensteiner
Address Redacted
Mark Brannan
Address Redacted


Mark Bray
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Mark Brayer
Address Redacted


Mark Bric Display Inc
P.O. Box 791026
Baltimore, MD 21279‐1026


Mark Bric, Inc
P.O. Box 791013
Baltimore, MD 21279‐1013


Mark Cahill
Address Redacted


Mark Callahan
Address Redacted


Mark Calvert, Trustee For
Northwest Territorial Mint LLC
Fox Rothschild, 1001 4th Ave, S4500
Seattle, WA 98154‐1192


Mark Catlin
Address Redacted


Mark Clifton
Address Redacted


Mark Collard
Address Redacted
Mark Compton
Address Redacted


Mark Conley
Address Redacted


Mark Conners
Address Redacted


Mark Conrad
Address Redacted


Mark Copple
Address Redacted


Mark D Coleson
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Mark Dama
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Mark Davis
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Mark Dorvinen
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Mark Drews
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Mark Dunlap
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Mark Ewing
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Mark Fairclough
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Mark Fegley
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Mark Frankart
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Mark Gilles
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Mark Goodwin
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Mark Gormley
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Mark H Wood
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Mark Harrell
Address Redacted


Mark Haws
Address Redacted


Mark Hays
Address Redacted


Mark Hazlett
Address Redacted


Mark Hellman
Address Redacted


Mark Helminski
Address Redacted
Mark Holtz
Address Redacted


Mark Hopco
Address Redacted


Mark Hopkins PTO
Denver Area Council 061
7171 S Pennsylvania St
Centennial, CO 80122


Mark Hopwood
Address Redacted


Mark Humphries Photographer, Inc
2039 Farrington
Dallas, TX 75207


Mark Humphries Photographer, Inc
231 Oakleaf
San Antonio, TX 78209


Mark Hunter
Address Redacted


Mark J Levis
Address Redacted


Mark J Nelson
Address Redacted


Mark Jacobsen
Address Redacted


Mark James Morrissey
Address Redacted


Mark Janeway
Address Redacted
Mark Janofsky
Address Redacted


Mark Jansen
Address Redacted


Mark Johnson
Address Redacted


Mark Johnston
Address Redacted


Mark Jorns
Address Redacted


Mark Kraus
Address Redacted


Mark Kresser Dba Km Auto Repair
30360 Overseas Hwy
Big Pine Key, FL 33043


Mark Leonard Dama
Address Redacted


Mark Logemann
Address Redacted


Mark Low Photography
Three Rivers Council 578
1465 Calder St
Beaumont, TX 77701


Mark Lytle
Address Redacted


Mark Manchester
Address Redacted


Mark Mcaninch
Address Redacted


Mark Mccabe
Address Redacted


Mark Mccraw
Address Redacted


Mark Mcdaniel
Address Redacted


Mark Mcfadden
Address Redacted


Mark Mchaddon
Address Redacted


Mark Merchant
Address Redacted


Mark Merriam
Address Redacted


Mark Messersmith
Address Redacted


Mark Metil
Address Redacted


Mark Michaels Inc
P.O. Box 315
Greenville, SC 29602


Mark Milby
Address Redacted
Mark Milosky Dba Sign Creations
89 Arbor Dr
Southport, CT 06890


Mark Mitchell
Address Redacted


Mark Monitor Inc
P.O. Box 71398
Chicago, IL 60694‐1398


Mark Montgomery
Address Redacted


Mark Morley
Address Redacted


Mark Moshier
Address Redacted


Mark Mullen
Address Redacted


Mark Myers
Address Redacted


Mark N Davie
Address Redacted


Mark Nelson
Address Redacted


Mark Ollari
Address Redacted


Mark Orlovsky
Address Redacted
Mark Osnaya
Address Redacted


Mark P Samples
Address Redacted


Mark Parsons
Address Redacted


Mark Pendergast
Address Redacted


Mark Pennington
Address Redacted


Mark Phair Ii
Address Redacted


Mark Potts
Address Redacted


Mark Prescott
Address Redacted


Mark R Dennis Dvmpc
Utah National Parks 591
520 W US Hwy 40
Roosevelt, UT 84066


Mark R Francis
Address Redacted


Mark R Oglesby
Address Redacted


Mark R Thomas‐Patterson
Address Redacted
Mark Rabson
Address Redacted


Mark Ray
Address Redacted


Mark Richard
Address Redacted


Mark Richardson
Address Redacted


Mark S Cordeiro
Address Redacted


Mark S Plumbing Parts
P.O. Box 121554
Ft Worth, TX 76121‐1554


Mark Sause
Address Redacted


Mark Saxon
Address Redacted


Mark Scurti The Estate
Of John R Gimbel
901 Dulaney Valley Rd, Ste 400
Towson, MD 21204‐2695


Mark Serratt
Address Redacted


Mark Sharkey
Address Redacted


Mark Shelley
Address Redacted


Mark Skipper
Address Redacted


Mark Smith
Address Redacted


Mark Snell
Address Redacted


Mark Snyder
Address Redacted


Mark Spaldo
Address Redacted


Mark Spencer
Address Redacted


Mark Steelquist
Address Redacted


Mark Stephens
Address Redacted


Mark Stewart
Address Redacted


Mark Switzer
Address Redacted


Mark Thomas
Address Redacted


Mark Thomas Magnussen
Address Redacted
Mark Thompson
Address Redacted


Mark Turner
Address Redacted


Mark Twain Elementary PTA
Simon Kenton Council 441
799 E Walnut St
Westerville, OH 43081


Mark Twain Elementary PTO
Denver Area Council 061
6901 S Franklin St
Littleton, CO 80122


Mark Twain Parents Club
Great Lakes Fsc 272
30601 Calahan Rd
Roseville, MI 48066


Mark Tyson
Address Redacted


Mark Veteto
Address Redacted


Mark Vitello
Address Redacted


Mark W Winkelman
Address Redacted


Mark Wappel
Address Redacted


Mark Warsinski
Address Redacted
Mark Wayment State Farm Insurance
Trapper Trails 589
670 E 700 S
Clearfield, UT 84015


Mark Wilson
Address Redacted


Mark Woodman
Address Redacted


Market St Baptist Church
The Spirit of Adventure 227
37 Market St
Amesbury, MA 01913


Market St Utd Methodist Church Men
Del Mar Va 081
75 Market St
Onancock, VA 23417


Market Street Utd Methodist Church
Shenandoah Area Council 598
131 S Cameron St
Winchester, VA 22601


Marketing Evaluations Inc
P.O. Box 358
Manhasset, NY 11030‐0358


Marketing Research Assoc
110 National Dr 2nd Fl
Glastonbury, CT 06033


Marketjs Limited
25th Fl Workington Tower
78 Bonham Strand
Sheung Wan,
Hong Kong
Marketpay Assoc, LLC
2401 15th St, Ste 300
Denver, CO 80202


Marketsmart LLC
6404 Ivy Ln, Ste 110
Greenbelt, MD 20770


Markettools, Inc
150 Spear St, Ste 600
San Francisco, CA 94105


Markey S Audio‐Visual Inc
2365 Enterprise Park Pl
Indianapolis, IN 43218‐4290


Markham Elementary
San Francisco Bay Area Council 028
7220 Krause Ave
Oakland, CA 94605


Markham Wds Presbyterian Church Inc
Central Florida Council 083
5210 Markham Woods Rd
Lake Mary, FL 32746


Markle Fish   Game Club Park Inc
Anthony Wayne Area 157
P.O. Box 306
Markle, IN 46770


Markle Investigations Inc
P.O. Box 502
North Haven, CT 06473


Markleville East Christian Church
Crossroads of America 160
124 E Main St
Markleville, IN 46056


Markmonitor, Inc
45 Fremont St, Ste 1400
San Francisco, CA 94105


Markowitz Herbold Glade And Mehlhaf PC
1211 SW 5th Ave, Ste 3000
Portland, OR 97204


Markus Olvet
Address Redacted


Marla Baker
Address Redacted


Marla Mc Gee
Address Redacted


Marlboro Moose Family Center 129
Mayflower Council 251
67 Fitchburg St
Marlborough, MA 01752


Marlboro Township
1979 Township Dr
Marlboro, NJ 07746‐2299


Marlboro Twp Police Dept
Monmouth Council, Bsa 347
1979 Township Dr
Marlboro, NJ 07746


Marlborough Volunteer Fire Co
Connecticut Rivers Council, Bsa 066
P.O. Box 237
Marlborough, CT 06447


Marlena Agency
322 Ewing St
Princeton, NJ 08540


Marlene Bonner
Address Redacted


Marlene Fink
Address Redacted


Marlene Frances Gerdts
Address Redacted


Marlene Gerdts
Address Redacted


Marlene Meinershagen
Address Redacted


Marlene Schaefer
Address Redacted


Marlene Walker
Address Redacted


Marlin Elementary PTO
Hoosier Trails Council 145 145
1655 E Bethel Ln
Bloomington, IN 47408


Marlin Fuel   Transp Inc
P.O. Box 663
Tavernier, FL 33070


Marlin Hughey
Address Redacted


Marlin Moore American Legion Post 133
South Florida Council 084
16401 SW 90th Ave
Palmetto Bay, FL 33157


Marlinton Rotary Club
Buckskin 617
P.O. Box 24
Marlinton, WV 24954


Marlisa Garrett
Address Redacted


Marlo Reed
Address Redacted


Marlon Allen
Address Redacted


Marlon King
Address Redacted


Marlow Volunteer Fire Dept
Great Smoky Mountain Council 557
1019 Oliver Springs Hwy
Clinton, TN 37716


Marlowe Ruritan Club Inc
Shenandoah Area Council 598
2133 Broad Lane
Falling Waters, WV 25419


Marlton Utd Methodist Church
Garden State Council 690
P.O. Box 1160
Marlton, NJ 08053


Marly C Bolton
Address Redacted


Marmon Milita
Address Redacted


Marne Conservation Club
President Gerald R Ford 781
P.O. Box 158
Marne, MI 49435
Marne Utd Methodist Church
Simon Kenton Council 441
12335 Marne Rd
Newark, OH 43055


Marnell Hansen
Address Redacted


Marnetta Harris
Address Redacted


Marnie Harris
Address Redacted


Marnie Lynn Harris
Address Redacted


Marple Presbyterian Church
Cradle of Liberty Council 525
105 N Sproul Rd
Broomall, PA 19008


Marquam Utd Methodist Church
Cascade Pacific Council 492
36975 S Hwy 213
Mount Angel, OR 97362


Marquand Development Corp
Greater St Louis Area Council 312
115 N Martha St
Marquand, MO 63655


Marquee Cinemas Inc
552 Ragland Rd
Beckley, WV 25801


Marquette Elementary School PTO
Pathway To Adventure 456
6401 Hemlock Ave
Gary, IN 46403


Marquette Heights Mens Club
W D Boyce 138
Marquette Hts Il
Marquette Heights, IL 61554


Marquette Recreation Center
Greater St Louis Area Council 312
4025 Minnesota Ave
Saint Louis, MO 63118


Marrama Elementary School
Denver Area Council 061
19100 E 40th Ave
Denver, CO 80249


Marrington Elememtary School PTA
Coastal Carolina Council 550
101 Gearing St
Goose Creek, SC 29445


Marriott Anaheim
700 W Convention Way
Anaheim, CA 92802


Marriott Business Services
P.O. Box 402642
Atlanta, GA 30384‐2642


Marriott Business Services
P.O. Box 403003
Atlanta, GA 30384‐3003


Marriott Business Services
P.O. Box 403370
Atlanta, GA 30384


Marriott Business Services
P.O. Box 403717
Atlanta, GA 30384‐3717
Marriott Hilton Head Beach   Golf Resort
One Hotel Cir
Hilton Head Island, SC 29928


Marriott Hotel International
P.O. Box 403655
Atlanta, GA 30384‐3655


Marriott Hotel Services Inc
dba Gaylord Wildhorse Saloon
120 2nd Ave N
Nashville, TN 37201


Marriott Hotels   Resorts
777 Aten Rd
Coraopolis, PA 15108


Marriott Hotels   Resorts
Attn Accounting Dept
2625 Thousand Oaks Blvd
Memphis, TN 38118‐2410


Marriott Indianapolis Marriott Downtown
62960 Collection Dr
Chicago, IL 60693


Marriott International
Gaylord Rockies Res   Conv Ctr
6700 N Gaylord Rockies Blvd
Aurora, CO 80019


Marriott International
P.O. Box 402642
Atlanta, GA 30384‐2642


Marriott International
P.O. Box 403003
Atlanta, GA 30384‐3003
Marriott International, Inc
National Capital Area Council 082
10400 Fernwood Rd
Bethesda, MD 20817


Marriott Intl‐Orlando World Center
8701 World Ctr Dr
Orlando, FL 32821


Marriott Intl‐Orlando World Center
c/o Marriott Business Services
P.O. Box 402751
Atlanta, GA 30384‐2751


Marriott Newark Airport
Newark Liberty International Airport
Newark, NJ 07114


Marriott Rivercenter
Ap Aim Rivercenter Landmark LLC
10 W Rivercenter Blvd
Covington, KY 41011


Marriott Springfield
2 Boland Way
Springfield, MA 01115


Marriott Westchester Tarrytown
Attn Domenica Kensicki
670 White Plains Rd
Tarrytown, NY 10591


Marriott/Dallas Solana
1301 Solana Blvd, Bldg 3
Westlake, TX 76262


Marrs Memorial Baptist Church
Lincoln Heritage Council 205
1310 Cecil Ave
Louisville, KY 40211
Marrs Middle School‐Collective For Youth
Mid‐America Council 326
5619 S 19th St
Omaha, NE 68107


Mars Area Boy Scouting Assoc
Moraine Trails Council 500
305 Arch Stree
P.O. Box 64
Mars, PA 16046


Mars Hill Baptist Church
Daniel Boone Council 414
105 N Main St
Mars Hill, NC 28754


Mars Hill Baptist Church
Northeast Georgia Council 101
2661 Mars Hill Rd
Watkinsville, GA 30677


Mars Hill Bible School
Greater Alabama Council 001
698 Cox Creek Pkwy
Florence, AL 35630


Mars Hill Masonic Lodge 1440
Circle Ten Council 571
P.O. Box 403
Emory, TX 75440


Mars Hill Utd Methodist Church
Daniel Boone Council 414
P.O. Box 427
Mars Hill, NC 28754


Mars Stores Of Sparta
37 Theatre Ctr
Sparta, NJ 07871


Mars Utd Presbyterian Church
Moraine Trails Council 500
P.O. Box 805
Crowe Ave


Marsch Kellogg American Legion Post 139
Hudson Valley Council 374
P.O. Box 144
Milford, PA 18337


Marseilles Utd Methodist Church
W D Boyce 138
462 Church St
Marseilles, IL 61341


Marsh   Mclennan Agency LLC
8144 Walnut Hill Ln, 16th Fl
Dallas, TX 75231


Marsh Law Firm
Attn James Marsh
151 E Post Rd, Ste 102
White Plains, NY 10601


Marsh Law Firm, PLLC, And
Pfau Cochran Vertetis Amala, PLLC
re Plaintiff
31 Hudson Yards, 11th Fl, Ste 36
New York, NY 10001


Marsh Law Firm, PLLC, And
Pfau Cochran Vertetis Amala, PLLC
re Plaintiff
356 Golfview Rd, Ste 1207
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Marsh Law Firm, PLLC, And
Pfau Cochran Vertetis Amala, PLLC
re Plaintiff
403 Columbia St, Ste 500
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Pfau Cochran Vertetis Amala, PLLC
re Plaintiff
151 E Post Rd, Ste 102
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Marsh Rickard   Bryan PC
800 Shades Creek Pkwy, Ste 600D
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Marsh Usa Inc
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Dallas, TX 75284‐6015


Marsha Bufkin
Address Redacted


Marsha Craven Carver
Address Redacted


Marsha Hopton
Address Redacted


Marsha Howlett
Address Redacted


Marsha Johnson
Address Redacted


Marsha Minelli
Address Redacted


Marsha Needy
Address Redacted


Marsha Simao
Address Redacted


Marshall C Boone
Address Redacted
Marshall Elementary PTA
Indian Nations Council 488
1142 E 56th St
Tulsa, OK 74105


Marshall Elementary PTO
National Capital Area Council 082
12505 Kahns Rd
Manassas, VA 20112


Marshall Elementary School
Indian Nations Council 488
1142 E 56th St
Tulsa, OK 74105


Marshall Elementary School PTO
Chickasaw Council 558
P.O. Box 130
Carrollton, MS 38917


Marshall Errickson School PTO
Monmouth Council, Bsa 347
271 Elton Adelphia Rd
Freehold, NJ 07728


Marshall Fenstermaker
Address Redacted


Marshall Fine
Address Redacted


Marshall Howard   Assoc Inc
42 Saddlebow Rd
Bell Canyon, CA 91307‐1136


Marshall Long
Address Redacted


Marshall Miller    Assoc Inc
P.O. Box 848
Rt 720 Industrial Park
Bluefield, VA 24605


Marshall O Delouche
Address Redacted


Marshall Presbyterian Church
Daniel Boone Council 414
165 S Main St
Marshall, NC 28753


Marshall Rotary Club
Southern Shores Fsc 783
140 W Michigan Ave
Marshall, MI 49068


Marshall Ruritans
National Capital Area Council 082
8400 Salem Ave
P.O. Box 295
Marshall, VA 20116


Marshall School
Erie Shores Council 460
415 Colburn St
Toledo, OH 43609


Marshall Steinmann
Address Redacted


Marshall Umc Mens Club
Great Rivers Council 653
225 E Arrow St
Marshall, MO 65340


Marshall University
Attn Jennifer Jimison
One John Marshall Dr
Huntington, WV 25755


Marshall Utd Methodist
Marshall Rotary
Southern Shores Fsc 783
721 Us Hwy 27 N


Marshall Waybright
Address Redacted


Marshalls Creek Volunteer Fire Dept
Minsi Trails Council 502
Routes 402   209
Marshalls Creek, PA 18335


Marshallton Utd Methodist Church
Chester County Council 539
1282 W Strasburg Rd
West Chester, PA 19382


Marshalltown Police Dept
Mid Iowa Council 177
22 N Center St
Marshalltown, IA 50158


Marshfield Clinic Health System Youthnet
Samoset Council, Bsa 627
1000 N Oak Ave
Marshfield, WI 54449


Marshfield Clinic Research Foundation
Samoset Council, Bsa 627
1000 N Oak Ave
Marshfield, WI 54449


Marshfield Rod And Gun Club
Mayflower Council 251
P.O. Box 831
300 School St
Marshfield, MA 02050


Marshfield Rotary
Ozark Trails Council 306
P.O. Box 273
Marshfield, MO 65706
Marshfield Utd Methodist Church
Mayflower Council 251
185 Plain St
Marshfield, MA 02050


Marshfield Utd Methodist Church
Ozark Trails Council 306
148 State Hwy Dd
Marshfield, MO 65706


Marshmallow Fun Co
2544 Elm St
Dallas, TX 75226


Marta Brown
Address Redacted


Marta Chicas
Address Redacted


Marta O Neill
Address Redacted


Martell Elementary School PTO
Great Lakes Fsc 272
5666 Livernois Rd
Troy, MI 48098


Martez Delacorte     Moore
Address Redacted


Martez Moore
Address Redacted


Martha A Hendrix
Address Redacted


Martha Anders
Address Redacted


Martha Ann Dameron
Address Redacted


Martha Booth
Address Redacted


Martha Bowman Utd Methodist Church
Central Georgia Council 096
500 Bass Rd
Macon, GA 31210


Martha Buchanan
Address Redacted


Martha Catten
Address Redacted


Martha Contreras
Address Redacted


Martha Dantowitz
Address Redacted


Martha Dudley
Address Redacted


Martha Enold‐Lebrun
Address Redacted


Martha Fiamma
Address Redacted


Martha Freudenberg
Address Redacted


Martha Gaskins Elementary PTO
Greater Alabama Council 001
200 Dalton Dr
Birmingham, AL 35215


Martha Gollaher
Address Redacted


Martha Goodballet
Address Redacted


Martha H Boucher
Address Redacted


Martha Irish
Address Redacted


Martha Jaber
Address Redacted


Martha Jones
Address Redacted


Martha K Llewellyn
Address Redacted


Martha L Collins High School
Lincoln Heritage Council 205
801 Discovery Blvd
Shelbyville, KY 40065


Martha Meister
Address Redacted


Martha Montgomery Teare
Address Redacted


Martha Naylor
Address Redacted
Martha Newby
Address Redacted


Martha Prestin
Address Redacted


Martha Preston
Address Redacted


Martha Robinson
Address Redacted


Martha Simpson
Address Redacted


Martha Speed
Address Redacted


Martha Starkweather
Address Redacted


Martha Teare
Address Redacted


Martha Tichauer
Address Redacted


Martha Wahington Freewill Baptist Church
Great Smoky Mountain Council 557
155 Stepp Rd
Clarkrange, TN 38553


Marthas Quilting, LLC
Circle Ten Council 571
1310 Cedar Branch Dr
Wylie, TX 75098


Martin Baldwin
Address Redacted


Martin Banning
Address Redacted


Martin Barbie
Address Redacted


Martin Bongers
Address Redacted


Martin C Zender
Address Redacted


Martin County Fire Rescue
Gulf Stream Council 085
800 SE Monterey Rd
Stuart, FL 34994


Martin County Sheriff S Office
East Carolina Council 426
305 E Main St
Williamston, NC 27892


Martin County Sheriffs Office
Gulf Stream Council 085
800 SE Monterey Rd
Stuart, FL 34994


Martin D Ambrose
Address Redacted


Martin Engineering PLLC
P.O. Box 589
Hurricane, WV 25526


Martin F Vutrick Auxiliary‐American
Prairielands 117
115 S State St
Legion Post 51
Westville, IL 61883


Martin Fox
Address Redacted


Martin Haley
Address Redacted


Martin Kadel
Address Redacted


Martin Koca
Address Redacted


Martin Latimer
Address Redacted


Martin Law, Llc
On Behalf of Doe Claimant 2001
171 West Wing St, Ste 201
Arlington Heights, IL 60005


Martin Luther King Academy
Erie Shores Council 460
1300 Forest Ave
Toledo, OH 43607


Martin Luther King Elem/Middle
Baltimore Area Council 220
3750 Greenspring Ave
Baltimore, MD 21211


Martin Luther King Jr Elemtary
Last Frontier Council 480
1201 NE 48th St
Oklahoma City, OK 73111


Martin Luther King Jr Middle School
Louisiana Purchase Council 213
3716 Nutland Rd
Monroe, LA 71202


Martin Luther King Jr P.S. 11
Northern New Jersey Council, Bsa 333
886 Bergen Ave
Jersey City, NJ 07306


Martin Luther King Jr. Elementary School
San Francisco Bay Area Council 028
960 10th St
Oakland, CA 94607


Martin Luther Lutheran Church
Coastal Carolina Council 550
1605 Harbor View Rd
Charleston, SC 29412


Martin M Kulstad
Address Redacted


Martin Mau
Address Redacted


Martin Mills
Address Redacted


Martin P Walsh
Address Redacted


Martin Payne
Address Redacted


Martin Richards
Address Redacted


Martin Rowland
Address Redacted


Martin Rueter
Address Redacted


Martin S Flag Co
135 5th St
West Des Moines, IA 50265


Martin School Assoc
Narragansett 546
37 Landry Ave
North Attleboro, MA 02760


Martin Sepulveda
Address Redacted


Martin Sports
P.O. Box 150424
Ogden, UT 84415‐0290


Martin Street Baptist Church
Occoneechee 421
1001 E Martin St
Raleigh, NC 27601


Martin Trujillo
Address Redacted


Martin Utd Methodist Church
Longhorn Council 662
2621 Bedford Rd
Bedford, TX 76021


Martin Walsh
Address Redacted


Martin, Harding  Mazzotti, LLP
Attn Thomas Mortati
P.O. Box 15414
Albany, NY 12212


Martina Alvarado
Address Redacted


Martina Dulaney
Address Redacted


Martindale‐Hubbell
P.O. Box 7247‐0258
Philadelphia, PA 19170‐0258


Martinez Police Dept
Mt Diablo‐Silverado Council 023
525 Henrietta St
Martinez, CA 94553


Martinez Utd Methodist Church
Georgia‐Carolina 093
3614 Washington Rd
Martinez, GA 30907


Martinez Yacht Club
Mt Diablo‐Silverado Council 023
111 Tarantino Dr
Martinez, CA 94553


Martins Wholesale Greenhouse
29970 Mcmeekan Rd
Pueblo, CO 81006‐9058


Martinsburg Fire Dept
Shenandoah Area Council 598
200 N Raleigh St
Martinsburg, WV 25401


Martinsburg Police Dept
Shenandoah Area Council 598
232 N Queen St
Martinsburg, WV 25401


Martinsville Ace Hardware
P.O. Box 1031
Martinsville, IN 46151
Marty Cutrone
Address Redacted


Marty Feeds Inc
P.O. Box 871
Trinidad, CO 81082


Marty Indian School
Sioux Council 733
P.O. Box 187
Marty, SD 57361


Marty Martine
Address Redacted


Marty Stuber
Address Redacted


Marvin Dorgan
Address Redacted


Marvin Duane Smith
Address Redacted


Marvin French
Address Redacted


Marvin Huffman
Address Redacted


Marvin Mcfadden
Address Redacted


Marvin Preslar
Address Redacted


Marvin Pritchard
Address Redacted


Marvin Smith
Address Redacted


Marvin Wilson
Address Redacted


Marvine Family Center
Minsi Trails Council 502
1425 Livingston St
Bethlehem, PA 18017


Marvins Chapel Utd Methodist Church
Sequoyah Council 713
1882 Old Boones Creek Rd
Johnson City, TN 37615


Marvis Lanham
Address Redacted


Mary A Godwin
Address Redacted


Mary Adams
Address Redacted


Mary Alice Haynes
Address Redacted


Mary Allen
Address Redacted


Mary Ann Cortese
Address Redacted


Mary Ann Martinez
Address Redacted
Mary Ann Schill Virginia Dest Image Fund
Stonewall Jackson Council 763
5791 Sugar Hollow Rd
Crozet, Va 22932


Mary Ann Thornton
Address Redacted


Mary Ann Winterliving
Baltimore Area Council 220
220 N Bentalou St
Baltimore, MD 21223


Mary Anne Montesano
Address Redacted


Mary Anne S Reeves
Address Redacted


Mary April
Address Redacted


Mary Armenta
Address Redacted


Mary Baldwin
Address Redacted


Mary Barrows
Address Redacted


Mary Barry
Address Redacted


Mary Bartels
Address Redacted


Mary Beck After School Child Care
Lasalle Council 165
818 Mcdonald St
Elkhart, IN 46516


Mary Bernal
Address Redacted


Mary Bertholf
Address Redacted


Mary Best
Address Redacted


Mary Beth Voss
Address Redacted


Mary Biggs
Address Redacted


Mary Blair
Address Redacted


Mary Bobo
Address Redacted


Mary Bopp
Address Redacted


Mary Bosworth
Address Redacted


Mary Bowers
Address Redacted


Mary Brantley
Address Redacted


Mary Brown
Address Redacted


Mary Bryan Elementary School PTA
Crossroads of America 160
7800 Shelby St
Indianapolis, IN 46227


Mary Bryant Elementary School PTA
Greater Tampa Bay Area 089
13910 Nine Eagles Dr
Tampa, FL 33626


Mary Buck
Address Redacted


Mary Buckingham
Address Redacted


Mary Burke
Address Redacted


Mary Campbell Center
Del Mar Va 081
4641 Weldin Rd
Wilmington, DE 19803


Mary Capen
Address Redacted


Mary Carey
Address Redacted


Mary Carrico
Address Redacted


Mary Catherine Degner
Address Redacted


Mary Chappell
Address Redacted


Mary Chidester
Address Redacted


Mary Colby
Address Redacted


Mary Coleman
Address Redacted


Mary Collins Agency, Inc
2909 Cole Ave, Ste 250
Dallas, TX 75204‐1307


Mary Compton
Address Redacted


Mary Conwell
Address Redacted


Mary Corby
Address Redacted


Mary Corwin
Address Redacted


Mary Couturier
Address Redacted


Mary Cowley
Address Redacted


Mary Dailey
Address Redacted


Mary Daly
Address Redacted
Mary Davis
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Mary Deffner
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Mary Degel
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Mary Degner
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Mary Demski
Address Redacted


Mary Dibler
Address Redacted


Mary Donahue
Address Redacted


Mary Duncan
Address Redacted


Mary Dupont
Address Redacted


Mary Durso Smith
Address Redacted


Mary E Griswold School Parents Club
Connecticut Rivers Council, Bsa 066
133 Heather Ln
Kensington, CT 06037


Mary E Mendoza
Address Redacted
Mary E Wilson Memorial Church
Patriots Path Council 358
7 Valley Rd
Watchung, NJ 07069


Mary Edwards
Address Redacted


Mary Effler
Address Redacted


Mary Ellen Seifert
Address Redacted


Mary Ellen Welker
Address Redacted


Mary Engelman
Address Redacted


Mary Ervin
Address Redacted


Mary Esther Utd Methodist Church
Gulf Coast Council 773
703 E Miracle Strip Pkwy
Mary Esther, FL 32569


Mary Esther Utd Methodist Church
Gulf Coast Council 773
703 E Miracle Strip Pkwy
Pkwy


Mary Fellows Penfield Chapter Ns Dar
Seneca Waterways 397
501 Plank Rd
Webster, NY 14580
Mary Fitzpatrick
Address Redacted


Mary Flack
Address Redacted


Mary Fleischhauer
Address Redacted


Mary Foerster
Address Redacted


Mary Fowler
Address Redacted


Mary Frances Romero
Address Redacted


Mary Freybler
Address Redacted


Mary Fromenthal
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Mary Fruehan
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Mary Garcia
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Mary Garrett
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Mary Geraghty
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Mary Gibson
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Mary Golec
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Mary Goodwin
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Mary Gudim
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Mary H Swain
Address Redacted


Mary Hagan
Address Redacted


Mary Hager
Address Redacted


Mary Hanafin
Address Redacted


Mary Haugland
Address Redacted


Mary Heeney
Address Redacted


Mary Help Of Christians
South Texas Council 577
10 E Del Mar Blvd
Laredo, TX 78041


Mary Help Of Christians School
South Texas Council 577
10 E Del Mar Blvd
Laredo, TX 78041
Mary Henning
Address Redacted


Mary Henry
Address Redacted


Mary Herlick
Address Redacted


Mary Hines
Address Redacted


Mary Hogan
Address Redacted


Mary Holt
Address Redacted


Mary Hopp
Address Redacted


Mary Hord
Address Redacted


Mary Houtz
Address Redacted


Mary Howard
Address Redacted


Mary Hughes
Address Redacted


Mary Hunter
Address Redacted


Mary Immaculate Catholic Church
Great Rivers Council 653
716 E Washington St
Kirksville, MO 63501


Mary Institute St Louis Country School
Greater St Louis Area Council 312
101 N Warson Rd
Saint Louis, MO 63124


Mary J Matthies
Address Redacted


Mary Jared‐May
Address Redacted


Mary Jarvis
Address Redacted


Mary Jeffcoats
Address Redacted


Mary Jernigan
Address Redacted


Mary Jo S Cloth Store
401 Cox Rd
Gastonia, NC 28054


Mary Jo St Louis
Address Redacted


Mary Johnson
Address Redacted


Mary Jones
Address Redacted


Mary Joyner
Address Redacted
Mary K Brady
Address Redacted


Mary Katherine R Skirzenski
Address Redacted


Mary Keith Dba MK Designs
6179 Radford Dr
Riverdale, GA 30296


Mary Kelly
Address Redacted


Mary Kersman
Address Redacted


Mary Killingsworth
Address Redacted


Mary Kishbaugh
Address Redacted


Mary Kokotovich
Address Redacted


Mary Kriskey
Address Redacted


Mary Krohmer
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Mary Kunze
Address Redacted


Mary L Ishoy
Address Redacted
Mary L Labenne
Address Redacted


Mary Liotto
Address Redacted


Mary Lopez
Address Redacted


Mary Lou Tillison
Address Redacted


Mary Lyon Church
Western Massachusetts Council 234
17 Upper St
Buckland, MA 01338


Mary M Merdinger
Address Redacted


Mary M Miller
Address Redacted


Mary Malpass
Address Redacted


Mary Marek PTO
Bay Area Council 574
1947 Kirby St
Pearland, TX 77584


Mary Martinez
Address Redacted


Mary Massingill
Address Redacted


Mary Mazza‐Andersen
Address Redacted
Mary Mccoy‐Williams
Address Redacted


Mary Mcleod Bethune Elementary School
Southeast Louisiana Council 214
2401 Humanity St
New Orleans, LA 70122


Mary Mcleod Bethune PTA
Circle Ten Council 571
1665 Duncanville Rd
Dallas, TX 75211


Mary Menten
Address Redacted


Mary Mikaelian
Address Redacted


Mary Milliron
Address Redacted


Mary Mitilier
Address Redacted


Mary Mother Of God Catholic Church
Patriots Path Council 358
157 S Triangle Rd
Hillsborough, NJ 08844


Mary Mother Of God Catholic Church
Westark Area Council 016
P.O. Box 2150
Harrison, AR 72602


Mary Mother Of God Parish
Northeastern Pennsylvania Council 501
316 William St
Scranton, PA 18508
Mary Mother, Redeemer Catholic Ch
Cradle Of Liberty Council 525
1325 Upper State Rd
North Wales, Pa 19454


Mary Mulbury
Address Redacted


Mary Munoz
Address Redacted


Mary Musick
Address Redacted


Mary Nagel
Address Redacted


Mary Niosi
Address Redacted


Mary Noel‐Owens
Address Redacted


Mary Nordmann
Address Redacted


Mary O Geary
Address Redacted


Mary Of Nazareth School
National Capital Area Council 082
14131 Seneca Rd
Darnestown, MD 20874


Mary Our Queen Catholic Church
Atlanta Area Council 092
6260 the Corners Pkwy
Norcross, GA 30092
Mary Page
Address Redacted


Mary Payne
Address Redacted


Mary Pearce
Address Redacted


Mary Petty
Address Redacted


Mary Pierstorff
Address Redacted


Mary Pomeroy
Address Redacted


Mary Pomie
Address Redacted


Mary Poppen
Address Redacted


Mary Porreca‐Zambalis
Address Redacted


Mary Potteiger
Address Redacted


Mary Pyeatt
Address Redacted


Mary Queen Catholic Church
Bay Area Council 574
606 Cedarwood Dr
Friendswood, TX 77546
Mary Queen Heaven RC Ch
Greater New York Councils, Bsa 640
1395 E 56Th St
Brooklyn, Ny 11234


Mary Queen Of Heaven School
Dan Beard Council, Bsa 438
1130 Donaldson Hwy
Erlanger, KY 41018


Mary Queen Of Peace
Greater St Louis Area Council 312
676 W Lockwood Ave
Saint Louis, MO 63119


Mary Queen Of Peace
Lake Erie Council 440
4423 Pearl Rd
Cleveland, OH 44109


Mary Queen Of Peace Catholic Church
Chief Seattle Council 609
1121 228th Ave Se
Sammamish, WA 98075


Mary Queen Of Peace Catholic Church
Istrouma Area Council 211
1501 W Causeway Approach
Mandeville, LA 70471


Mary Queen Of Peace Catholic Church
Norwela Council 215
7738 Barksdale Blvd
Bossier City, LA 71112


Mary Queen Of Peace Catholic Community
New Birth of Freedom 544
451 Marra Cir
Carlisle, PA 17015
Mary Queen Of The Holy Rosary
Blue Grass Council 204
601 Hill N Dale Rd
Lexington, KY 40503


Mary Quiroz
Address Redacted


Mary Rausch
Address Redacted


Mary Read
Address Redacted


Mary Reed‐Martin
Address Redacted


Mary Rigg Neighborhood Center
Crossroads of America 160
1920 W Morris St
Indianapolis, IN 46221


Mary Roark
Address Redacted


Mary Robinson
Address Redacted


Mary Rogers
Address Redacted


Mary Romero
Address Redacted


Mary Rosser
Address Redacted


Mary Russell
Address Redacted
Mary Ryan
Address Redacted


Mary S Barrett
Address Redacted


Mary S Nativity St Ann Rcc
Greater New York Councils, Bsa 640
4602 Parsons Blvd
Flushing, NY 11355


Mary Sainsbury
Address Redacted


Mary Schwarzer
Address Redacted


Mary Setzer
Address Redacted


Mary Shawn Curtis
Address Redacted


Mary Smith
Address Redacted


Mary Soderberg
Address Redacted


Mary Sprague
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Mary Staler
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Mary Staten
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Mary Stek
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Mary Streeter
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Mary Suchopar
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Mary Tidball
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Mary Todd
Address Redacted


Mary Tofte‐Archibald
Address Redacted


Mary Tolley
Address Redacted


Mary Tucker
Address Redacted


Mary Turinsky
Address Redacted


Mary Underwood
Address Redacted


Mary Wade
Address Redacted


Mary Walker
Address Redacted
Mary Warr
Address Redacted


Mary Washington Hospital
2300 Fall Hill Ave, Ste 418
Fredericksburg, VA 22401


Mary Washington Hospital
Pharmacy Dept
1001 Sam Perry Blvd
Fredericksburg, VA 22401


Mary Webb
Address Redacted


Mary Whidden
Address Redacted


Mary Wilfong
Address Redacted


Mary Williams
Address Redacted


Mary Wisdom
Address Redacted


Mary Wollersheim
Address Redacted


Mary Woodland
Address Redacted


Mary Woodward Parent Support Org
Cascade Pacific Council 492
12325 SW Katherine St
Portland, OR 97223


Mary Zaccardo
Address Redacted


Mary Zajaczkowski
Address Redacted


Maryann Edgington
Address Redacted


Maryann Petrocelli
Address Redacted


Maryann Purcell‐Lauer
Address Redacted


Maryanne Hilker
Address Redacted


Marybret Paulk Thompson
Address Redacted


Maryellen Galinski
Address Redacted


Maryhelen Travis
Address Redacted


Maryhurst
Lincoln Heritage Council 205
1015 Dorsey Ln
Louisville, KY 40223


Maryland Child Support Account,
Case No. 870062234
P.O. Box 17396
Baltimore, MD 21297‐1396


Maryland Dept Of Assessments      Taxation
Charter Div
301 W Preston Rd, Rm 801
Baltimore, MD 21201


Maryland Digital Copier
9590 Lynn Buff Ct, Ste 12
Laurel, MD 20723


Maryland Digital Copier
dba Short Term Copier
Po B Ox 102
Highland, MD 20777


Maryland Game Fish Protection Assoc
Baltimore Area Council 220
P.O. Box 43035
Baltimore, MD 21236


Maryland Heights Church Of Christ
Greater St Louis Area Council 312
107 Midland Ave
Maryland Heights, MO 63043


Maryland Office Of Attorney General
Consumer Services Div
1400 Bremer Tower
445 Minnesota St
St. Paul, MN 55101


Maryland State Attorneys General
200 St Paul Pl
Baltimore, MD 21202‐2202


Maryland State Police
Del Mar Va 081
7053 Ocean Gtwy
Easton, MD 21601


Maryland Unemployment Insurance Fund
Division of Unemployment Insurance
P.O. Box 84
Baltimore, MD 21203‐0084
Marylee Chapman
Address Redacted


Marylin Morris
Address Redacted


Marylou Feiger
Address Redacted


Marylou Malphus
Address Redacted


Marylou Santin
Address Redacted


Marymount University
Attn Student Accounts
2807 N Glebe Rd
Arlington, VA 22207


Marysville Church Of Christ
Simon Kenton Council 441
18077 State Route 31
Marysville, OH 43040


Marysville Police Explorers
Water and Woods Council 782
1355 Delaware Ave
Marysville, MI 48040


Marysville Utd Methodist Church
Water and Woods Council 782
721 Huron Blvd
Marysville, MI 48040


Marysville Wesley Utd Methodist Ch
New Birth Of Freedom 544
450 Sylvan St
Marysville, Pa 17053
Maryville Public Safety Fire Div
Pony Express Council 311
222 E 3rd St
Maryville, MO 64468


Mas Islamic Center
Sam Houston Area Council 576
19402 Briarsedge Ct
Katy, TX 77449


Mas Islamic Center Of Dallas
Circle Ten Council 571
1515 Blake Dr
Richardson, TX 75081


Mascoutah Sportsmens Club
Greater St Louis Area Council 312
1535 N County Rd
Mascoutah, IL 62258


Masiel Valcarcel
Address Redacted


Masjid Al Salam At Champions
Sam Houston Area Council 576
16700 Old Louetta Rd
Spring, TX 77379


Masjid Alsahabah
Sam Houston Area Council 576
11333 Whispering Oaks Dr
Conroe, TX 77385


Masjid Dar Al Dawah
Greater New York Councils, Bsa 640
3513 23rd Ave
Astoria, NY 11105


Masjid Malcolm Shabazz
Greater New York Councils, Bsa 640
102 W 116th St
New York, NY 10026
Masjid Noor‐Ul‐Huda
Indian Waters Council 553
517 Winmet Dr
Columbia, SC 29203


Mason City Fire Dept
Winnebago Council, Bsa 173
350 5th St Sw
Mason City, IA 50401


Mason Collins
Address Redacted


Mason Dixon Lions Club
Baltimore Area Council 220
2534 Bryansville Rd
Delta, PA 17314


Mason Dixon Parent Assoc
Mountaineer Area 615
7041 Mason Dixon Hwy
Blacksville, WV 26521


Mason Edward Kernell
Address Redacted


Mason G Danielson
Address Redacted


Mason Harris Jr
Address Redacted


Mason Henry Kuhr
Address Redacted


Mason Jones
Address Redacted
Mason M Cherrix
Address Redacted


Mason Parents Group
Dan Beard Council, Bsa 438
5814 Maxfli Ln
Mason, OH 45040


Mason Preparatory School
Coastal Carolina Council 550
56 Halsey Blvd
Charleston, SC 29401


Mason PTO
Greater St Louis Area Council 312
6031 Swest Ave
Saint Louis, MO 63139


Mason Ridge Elementary
Greater St Louis Area Council 312
715 S Mason Rd
Saint Louis, MO 63141


Mason Riebe
Address Redacted


Mason Utd Methodist Church
Dan Beard Council, Bsa 438
6315 S Mason Montgomery Rd
Mason, OH 45040


Mason Utd Methodist Church
Pacific Harbors Council, Bsa 612
2710 N Madison St
Tacoma, WA 98407


Mason‐Dixon
18600 Crestwood Dr
Hagerstown, MD 21742‐2799


Mason‐Dixon Cncl 221
18600 Crestwood Dr
Hagerstown, MD 21742


Masonic Home For Children
Occoneechee 421
600 College St
Oxford, NC 27565


Masonic Lodge
Gamehaven 299
P.O. Box 174
Red Wing, MN 55066


Masonic Lodge
Greater St Louis Area Council 312
100 S N St
Argenta, IL 62501


Masonic Lodge
Mid‐America Council 326
532 W Prairie St
Albion, NE 68620


Masonic Lodge
Transatlantic Council, Bsa 802
Scout Hut
Rota,
Spain


Masonic Lodge ‐ Marion 70    F Am
Buckeye Council 436
P.O. Box 432
Marion, OH 43301


Masonic Lodge ‐ Shiloh 544 F Am
Buckeye Council 436
9 1/2 W Main St
Shiloh, OH 44878


Masonic Lodge 187‐Richmond
Great Lakes Fsc 272
69307 N Main St
Richmond, MI 48062


Masonic Lodge 220
Prairielands 117
414 E Main St
Mahomet, IL 61853


Masonic Lodge 246
Great Trail 433
8120 Main St
Garrettsville, OH 44231


Masonic Lodge 281 Of Fenton
Greater St Louis Area Council 312
401 Hays Hill Dr
Fenton, MO 63026


Masonic Lodge 347
French Creek Council 532
8 Penn Ave
Girard, PA 16417


Masonic Lodge 357
Cimarron Council 474
P.O. Box 687
Okeene, OK 73763


Masonic Lodge 535
Water and Woods Council 782
810 N St
Mt Morris, MI 48458


Masonic Lodge 55
c/o Jeremy Prawl
Pony Express Council 311
1562 Castleton Rd
Severance, KS 66087


Masonic Lodge 564
Longhouse Council 373
Box 8052
Pulaski, NY 13142
Masonic Lodge 571
Water and Woods Council 782
522 E Grand Blanc Rd
Grand Blanc, MI 48439


Masonic Lodge 60/69
Transatlantic Council, Bsa 802
Psc 819
Fpo Ae, 09645


Masonic Lodge Of Normal 673
W D Boyce 138
614 E Lincoln St
Normal, IL 61761


Masonic Lodge Of Sandford 443
Pine Burr Area Council 304
669 Old Hwy 49
Sanford, MS 39479


Masonic Lodge Of Winner 166
Sioux Council 733
201 E 3rd St
Winner, SD 57580


Masonic Lodge‐Sinton Lodge 1012
South Texas Council 577
P.O. Box 120
Sinton, TX 78387


Masonic Pathways
Attn Maintenance Dept.
Water and Woods Council 782
1200 Wright Ave
Alma, MI 48801


Masonic Temple 796
Leatherstocking 400
P.O. Box 145
36 S Main St
Masonic Temple Bee Hive Lodge 393
Heart of America Council 307
404 N Pennsylvania Ave
Lawson, MO 64062


Masonic Temple Corp Of Puyallup
Pacific Harbors Council, Bsa 612
1005 W Pioneer
Puyallup, WA 98371


Masons Lodge 339
Great Lakes Fsc 272
21 S St
Ortonville, MI 48462


Masons Of Evanston Lodge Club
Trapper Trails 589
P.O. Box 24
Evanston, WY 82931


Masontown Volunteer Fire Dept
Westmoreland Fayette 512
P.O. Box 512
Masontown, PA 15461


Masouda Ibrahimi
Address Redacted


Mass Dor Dept Of Revenue
P.O. Box 7038
Boston, MA 02204‐7038


Mass Mutual Carolinas
Mecklenburg County Council 415
4350 Congress St, Ste 300
South Park Towers
Charlotte, NC 28209


Mass Mutual Center
1277 Main St
Springfield, MA 01103
Mass Mutual Financial Group
P.O. Box 371368
Pittsburgh, PA 15250‐7368


Mass Vietnamese Scouts Assoc
22 Treadway Rd
Dorchester, MA 02021


Mass. Vietnamese Scouts Assn.
The Spirit of Adventure 227
P.O. Box 2
42 Charles St
Dorchester, MA 02121


Massabesic Lions Club
Pine Tree Council 218
Rr 202
Waterboro, ME 04087


Massachusetts Dept Of Revenue
P.O. Box 7067
Boston, MA 02204


Massachusetts Maritime Academy
Attn Student Accounts Office
101 Academy Dr
Buzzards Bay, MA 02532


Massachusetts Rifle Assoc
The Spirit of Adventure 227
290 Rear Salem St
Woburn, MA 01801


Massachusetts State Attorneys General
1 Ashburton Pl
Boston, MA 02108‐1698


Massanutten Presbyterian Church
Stonewall Jackson Council 763
50 Indian Trail Rd
Penn Laird, VA 22846


Massapequa American Legion Post 1066
Theodore Roosevelt Council 386
66 Veterans Blvd
Massapequa, NY 11758


Massapequa Fire Dept
Theodore Roosevelt Council 386
1 Brooklyn Ave
Massapequa, NY 11758


Masseys Wholesale Sporting Goods
508 S Shelby St
Carthage, TX 45633


Massie Reclamation Inc
P.O. Box 70
Ghent, WV 25843‐0070


Master Duplicators Ii
Orange County Council 039
10931 Patricia Dr
Garden Grove, CA 92840


Master Medical Equipment LLC
2345 Dr F E Wright Dr
Jackson, TX 38305


Master Medical Equipment LLC
P.O. Box 11476
Jackson, TN 38308


Mastercraft
2150 Century Cir
Irving, TX 75062


Masterfit Enterprises, Inc
11 Magnolia Rd
Briarcliff Manor, NY 10510
Masterpiece International Ltd LLC
39 Broadway 14th Fl, Rm 1410
New York, NY 10006


Mastertent
P.O. Box 633723
Cincinnati, OH 45263‐3723


Mastery Charter Smedley Campus
Cradle of Liberty Council 525
1790 Bridge St
Philadelphia, PA 19124


Mastic Beach Fire Dept
Suffolk County Council Inc 404
265 Neighborhood Rd
Mastic Beach, NY 11951


Mastic Beach Property Owners Assoc
Suffolk County Council Inc 404
P.O. Box 212
31 Neighborhood Rd
Mastic Beach, NY 11951


Mastic Fire Dept
Suffolk County Council Inc 404
1080 Mastic Rd
Mastic, NY 11950


Matanuska Masonic Lodge
Great Alaska Council 610
P.O. Box 297
Palmer, AK 99645


Matawan Utd Methodist Church
Monmouth Council, Bsa 347
478 Atlantic Ave
Matawan, NJ 07747


Matchless Limosine Inc
P.O. Box 100229
Nashville, TN 37224


Mater Academy Bonanza
Las Vegas Area Council 328
4760 E Bonanza Rd
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Mater Christi Holy Name Society
Pathway To Adventure 456
2431 S 10th Ave
North Riverside, IL 60546


Mater Dei Parish
Jayhawk Area Council 197
1114 SW 10th Ave
Topeka, KS 66604


Material Flow    Conveyor System, Inc
P.O. Box 550
21150 Butterville Rd Ne
Donald, OR 97020


Maternal And Child Health Consortium
Chester County Council 539
637 Miller Rd
Kennett Square, PA 19348


Maternity Bvm Roman Catholic Church
Cradle of Liberty Council 525
9220 Bustleton Ave
Philadelphia, PA 19115


Maternity Of Mary ‐ St Andrew School
Northern Star Council 250
592 Arlington Ave W
Saint Paul, MN 55117


Mather School PTO
The Spirit of Adventure 227
1 Parish St
Dorchester, MA 02122
Mather‐Perkins Rotary Club
Golden Empire Council 047
98 Lido Cir
Sacramento, CA 95826


Matheson Tri‐Gas Inc
Dept 3028 P.O. Box 123028
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Mathews Elementary School PTA
Capitol Area Council 564
906 W Lynn St
Austin, TX 78703


Mathews Hometown Market Inc
Twin Rivers Council 364
9 S Melcher St
Johnstown, NY 12095


Mathews Maritime Foundations
Colonial Virginia Council 595
482 Main St
Mathews, VA 23109


Mathews PTA
Capitol Area Council 564
906 W Lynn St
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South Texas Council 577
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581 W Fallbrook Ave, Ste 100
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Matson Motors Inc
2068 Hwy 169
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Mattamuskeet Elementary School PTO
East Carolina Council 426
60 Juniper Bay Rd
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Mattapoisett Utd Congregational
Narragansett 546
P.O. Box 284
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Mattawan Lions Club
Southern Shores Fsc 783
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Matthew A Becker
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Matthew A Bruton
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Greater Tampa Bay Area 089
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Pittsburgh, PA 15253‐5908


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Matthews Presbyterian Church
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Suffolk County Council Inc 404
P.O. Box 136
1000 Pike St


Matunuck Volunteer Fire Dept
Narragansett 546
49 Matunuck School House Rd
Wakefield, RI 02879


Matzke PTO
Sam Houston Area Council 576
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Maud, TX 75567


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Longhorn Council 662
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Mason Dixon Council 221
P.O. Box 44
Maugansville, MD 21767


Maugansville Ruritan Club Inc
Mason Dixon Council 221
18707 Maugans Ave
Maugansville, MD 21767


Maui Chemical   Paper Products, Inc
dba Tjs Warehouse Outlet
875 Alua St
Wailuku, HI 96793


Maui Clay Target Assoc
Aloha Council, Bsa 104
133 Luluka Pl
Kihei, HI 96753


Maui County Cncl 102
200 Liholiho St
Wailuku Maui, HI 96793‐2508


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200 Liholiho St
Wailuku, HI 96793‐2508


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Blue Ridge Council 551
P.O. Box 249
Mauldin, SC 29662


Mauldin High School
Blue Ridge Council 551
701 E Butler Rd
Mauldin, SC 29662


Mauldin Police Dept
Blue Ridge Council 551
P.O. Box 249
Mauldin, SC 29662


Mauldin Utd Methodist Church
Blue Ridge Council 551
100 E Butler Rd
Mauldin, SC 29662


Maumee Scout Reservation
Hoosier Trails Council 145 145
12975 W County Rd 925 N
Norman, IN 47264


Maumee Utd Methodist Church
Erie Shores Council 460
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Lincoln Heritage Council 205
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Maurice Trombly
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Maurice Wilde PTO
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Mauricio Dunker
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National Capital Area Council 082
600 Russell Rd
Alexandria, VA 22301


Maury PTA
National Capital Area Council 082
600 Russell Rd
Maury School


Mauston Fire Dept
Gateway Area 624
303 Mansion St
Mauston, WI 53948


Mautinos Locker Room
123 E Paul St
Spring Valley, IL 61362
Mautone   Horan Pa
500 Prospect Ave
West Orange, NJ 07052


Mavenecommerce
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New York, NY 10036


Maverick Building Services, Inc
22 Chestnut St
Rutherford, NJ 07070


Maverick Club
Boys   Girls Club Of Amarillo      Canyon
Golden Spread Council 562
1923 S Lincoln St
Amarillo, Tx 79109


Maverick Club
P.O. Box 81
Cimarron, NM 87714


Maverick Glass
518 E Main St
Trinidad, CO 81082


Maverik
1005 S US Hwy 89
Jackson, WY 83001


Mavis Lum Ho
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Max   Julie Mance
dba Max Mance
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Max A Saurwein
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Max Andrew Kippenbrock
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Max C Heiche
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Max Clayton
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Max Curtis Thielemier
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Max Cutrone
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Max E Klein
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Max Elliott
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Max M Miller
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Max Skillen
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Maxfield Hose Volunteer Fire Dept
Seneca Waterways 397
Vine St
Naples, NY 14512


Maxim
P.O. Box 420704
Palm Coast, FL 32142‐8709
Maxim C Geronime
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Maxim Staffing Solutions
12558 Collections Ctr Dr
Chicago, IL 60693


Maximilian Damai Mallory
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Maximum Talent Agency Inc
1873 S Bellaire St, Ste 915
Denver, CO 80222


Maxine Brezenski
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Maxine Lynne Guynes
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Maxine Rice
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Maxine Smith
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Maxinkuckee Yacht Club
Lasalle Council 165
P.O. Box 53
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Maxson And Assoc Inc
P.O. Box 240257
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Maxwell Construction, Inc
22147 Sparta Rd
Milford, VA 22514
Maxwell E Cool
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Maxwell E Leahy
Address Redacted


Maxwell Elementary P T O
Westmoreland Fayette 512
1101 Old Salem Rd
Greensburg, PA 15601


Maxwell Municipal School
P.O. Box 275
Maxwell, NM 87728


Maxwell P Garrison
Address Redacted


Maxwell Reese Chandler
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Maxwell T Henschel
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May Contracting Inc
12354 Virginia Blvd
Ashland, KY 41102


May Torina
Address Redacted


Maya E Prewitt
Address Redacted


Maya Properties
Rio Grande Council 775
215 S Oscar Williams Rd
San Benito, TX 78586
Maya Properties
Rio Grande Council 775
250 S Williams Rd
San Benito, TX 78586


Maybrook Vfw Post 2064
Hudson Valley Council 374
P.O. Box 518
209 Main St
Maybrook, NY 12543


Mayfair Elementary School
Lake Erie Council 440
13916 Mayfair Ave
East Cleveland, OH 44112


Mayfield Jr School
Greater Los Angeles Area 033
405 S Euclid Ave
Pasadena, CA 91101


Mayfield Memorial Missionary Baptist Ch
Mecklenburg County Council 415
700 W Sugar Creek Rd
Charlotte, Nc 28213


Mayfield School Ptc
Water and Woods Council 782
302 Plum Creek Rd
Lapeer, MI 48446


Mayfield Servicemens Club
Twin Rivers Council 364
P.O. Box 514
School St
Mayfield, NY 12117


Mayfield Utd Methodist Church
Lake Erie Council 440
11900 Chillicothe Rd
Chesterland, OH 44026
Mayflower
2 Mount Royal Ave, Ste 100
Marlborough, MA 01752


Mayflower Cncl 251
2 Mount Royal Ave, Ste 100
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Mayflower Congregal Utd Ch Christ
Mid‐America Council 326
1407 W 18Th St
Sioux City, Ia 51103


Mayflower Congregational Church
Northern Star Council 250
106 E Diamond Lake Rd
Minneapolis, MN 55419


Mayflower Congregational Church
President Gerald R Ford 781
2345 Robinson Rd Se
Grand Rapids, MI 49506


Mayflower Congregational Ucc
Mid‐America Council 326
1407 W 18th St
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Mayflower Lions Club
Quapaw Area Council 018
58 Moody Rd
North Little Rock, AR 72120


Mayflower Lt Gamble Vfw Post 6695
Great Lakes Fsc 272
1426 S Mill St
Plymouth, MI 48170


Mayflower Mill PTO
Sagamore Council 162
200 E 500 S
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Maynard Rod And Gun Club Inc
Mayflower Council 251
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Maynard Volunteer Fire Dept
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Mayo Clinic Health System ‐ Eau Claire
Chippewa Valley Council 637
1400 Bellinger St
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Mayo Demonstration School
Indian Nations Council 488
1127 S Columbia Ave
Tulsa, OK 74104


Mayo Utd Methodist Church
Baltimore Area Council 220
1005 Old Turkey Point Rd
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Mays Chapel Utd Methodist Church
Piedmont Council 420
1707 Mays Chapel Church Rd
Maiden, NC 28650


Mays Chapel Utd Methodist Church Inc
Baltimore Area Council 220
11911 Jenifer Rd
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Mays Chapel Utd Methodist Church Men
Piedmont Council 420
1701 Mays Chapel Church Rd
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Maysville Rotary Club
Blue Grass Council 204
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807 Dover Park Trl
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Mayville Lutheran Church
Northern Lights Council 429
24 3rd Ave Se
Mayville, ND 58257


Maywood Baptist Church
Heart of America Council 307
10505 E Winner Rd
Independence, MO 64052
Maywood Community Church
Heart of America Council 307
11201 Parallel Pkwy
Kansas City, KS 66109


Mazmania, Inc
314 N 12th St, Rear Bldg
Allentown, PA 18102


Mazomanie Lions Club
c/o Sharron Royston
Glaciers Edge Council 620
318 State St
Mazomanie, WI 53560


Mb Artists Inc
775 6th Ave, 6
New York, NY 10001


Mb Financial Bank, N.A.
6111 N River Rd
Rosemont, IL 60018


Mba Inc
7006 NW 40th St
Coral Springs, FL 33065‐2207


Mbo America
4 E Stow Rd, Ste 12
Marlton, NJ 08053


Mbs
P.O. Box 2489
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Mbs Mountainboards
212 Sutton Ln
Colorado Springs, CO 80907


Mbs Mountainboards
5939 Delmonica Dr
Colorado Springs, CO 80919


Mc Auliffe School PTO
Bay‐Lakes Council 635
2071 Emerald Dr
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Mc Lane Parents
Bay‐Lakes Council 635
833 Chestnut St
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W D Boyce 138
6301 N University St
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Mcarthur Utd Methodist Church
Simon Kenton Council 441
P.O. Box 216
200 S Market St


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Far E Council 803
Psc 561 Box 1879
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Mcb
438 Queens Rd
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Ozark Trails Council 306
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Mccleary Utd Methodist Church
Pacific Harbors Council, Bsa 612
426 S 3rd St
Mccleary, WA 98557


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Mecklenburg County Council 415
4519 Providence Rd
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Mccluer High School
Greater St Louis Area Council 312
1896 S Florissant Rd
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Greater St Louis Area Council 312
1896 S New Florissant Rd
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Mcclure Elementary School PTO
Jayhawk Area Council 197
2529 SW Chelsea Dr
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4635 Township Rd 235
Mc Comb, OH 45858


Mccombs Middle School
Mid Iowa Council 177
201 County Line Rd
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Mcconnellsburg Utd Presbyterian
Mason Dixon Council 221
116 S 2nd St
Mc Connellsburg, PA 17233
Mccook Izaak Walton League
Mid‐America Council 326
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North Sioux City, SD 57049


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Overland Trails 322
P.O. Box 37
Mccook, NE 69001


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Erie Shores Council 460
2105 N Mccord Rd
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Crossroads of America 160
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751 Loveland Miamiville Rd
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Pikes Peak Council 060
30887 US Hwy 24
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Salt Rock, WV 25559‐9701


Mccoy S Flooring And Cabinets
Utah National Parks 591
775 N 400 E
Lehi, UT 84043


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Blue Grass Council 204
120 Raider Way
Stearns, KY 42647


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Middle Tennessee Council 560
102 W End Ave
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Laurel Highlands Council 527
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Montana Council 315
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Buckeye Council 436
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Flint River Council 095
Mcdonough Ga
Mcdonough, GA 30253


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245 Rhoads Ave
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Middle Tennessee Council 560
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Mcdowell High Sch Njrotc
Parents Assoc
Piedmont Council 420
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Wausau, WI 54403


Mceachern Memorial Utd Methodist
Atlanta Area Council 092
4075 Macland Rd
Powder Springs, GA 30127


Mceachern Utd Methodist Church
Atlanta Area Council 092
4030 Macland Rd
Powder Springs, GA 30127


Mcelwain Elementary School
Denver Area Council 061
1020 Dawson Dr
Thornton, CO 80229


Mcewen Utd Methodist Church
Middle Tennessee Council 560
146 Church St
Mc Ewen, TN 37101


Mcfarland Lutheran Church
Glaciers Edge Council 620
5529 Marsh Rd
Mc Farland, WI 53558


Mcfarland Police Dept
Glaciers Edge Council 620
P.O. Box 110
5915 Milwauke St
Mc Farland, WI 53558


Mcfarland Volunteer Fire Dept
Glaciers Edge Council 620
5915 Milwaukee St
Mc Farland, WI 53558


Mcfarlin Utd Methodist Church
Last Frontier Council 480
419 S University Blvd
Norman, OK 73069


Mcferrin Community Center
Middle Tennessee Council 560
311 Berry St
Nashville, TN 37207


Mcgaheysville Utd Methodist Church
Stonewall Jackson Council 763
10106 Mcgaheysville Rd
Mcgaheysville, VA 22840


Mcgee Chapel Baptist Church
Sam Houston Area Council 576
2025 Hwy 6 S
Houston, TX 77077


Mcgee Co
1140 S Jason St
Denver, CO 80223


Mcgill Baptist Church
Central N Carolina Council 416
5300 Poplar Tent Rd
Concord, NC 28027


Mcgovern   Co
1750 W Ogden Ave
P.O. Box 6083
Naperville, IL 60563


Mcgovern And Co
1474 Inverrary Dr
Naperville, IL 60563


Mcgowen Family Care Chiropractic
1800 Hospital Dr
Raton, NM 87740


Mcgrath School PTO
Greater St Louis Area Council 312
2350 Saint Clair Ave
Saint Louis, MO 63144


Mcgraw Hill Companies
P.O. Box 2258
Carol Stream, IL 60132‐2258


Mcgraw Hill Construction‐Sweets
P.O. Box 5734
Harlan, IA 51593‐5234


Mcgraw Ib World School Ptso
Longs Peak Council 062
4800 Hinsdale Dr
Fort Collins, CO 80526


Mcgraw Utd Methodist
Baden‐Powell Council 368
22 W Main St
Mc Graw, NY 13101


Mcgregor Elementary PTA
Buckeye Council 436
2339 17th St Sw
Canton, OH 44706


Mcguire Utd Methodist Men
Louisiana Purchase Council 213
1200 Arkansas Rd
West Monroe, LA 71291


Mcguire Woods LLP
Accounts Receivable
800 E Canal St
Richmond, VA 23219‐3916


Mcguire Woods LLP
Heart of Virginia Council 602
800 E Canal St
Richmond, VA 23219


Mcguire, Craddock   Strother PC
2501 N Harwood St, Ste 1800
Dallas, TX 75201


Mchc Kennett Square Family Center
Chester County Council 539
637 Millers Hl
Kennett Square, PA 19348


Mchenry County Clerk
2200 N Seminary Ave
Woodstock, IL 60098


Mchenry County Sheriff S Office
Blackhawk Area 660
2200 N Seminary Ave
Woodstock, IL 60098


Mchenry Moose Lodge
Blackhawk Area 660
3535 N Richmond Rd
Johnsburg, IL 60051


Mci Hotel Partners LLC
88014 NW 112th St
Kansas City, MO 64153


Mcilhenny Co
Evangeline Area 212
2266 S College Rd
Lafayette, LA 70508


Mcintosh Community Bettermans Assoc
Mobile Area Council‐Bsa 004
P.O. Box 128
Mc Intosh, AL 36553


Mcintosh County Schools
Coastal Georgia Council 099
4975 Hwy 17
Darien, GA 31305


Mcintosh School PTO
Blackhawk Area 660
525 N Pierpont Ave
Rockford, IL 61101
Mcintyre Elementary School
Laurel Highlands Council 527
200 Mcintyre Rd
Pittsburgh, PA 15237


Mcintyre Parent Teacher Org
Great Lakes Fsc 272
19600 Saratoga Blvd
Southfield, MI 48076


Mckay Allen
Address Redacted


Mckay Eastham
Address Redacted


Mckay Parent Teacher Club
Cascade Pacific Council 492
7485 SW Scholls Ferry Rd
Beaverton, OR 97008


Mckee Elementary
Westmoreland Fayette 512


Mckee Foods Corp
P.O. Box 2118
Collegedale, TN 37315


Mckellar‐Sipes Regional Airport
West Tennessee Area Council 559
308 Grady Montgomery Dr
Jackson, TN 38301


Mckendree Chapel Utd Methodist Church
Piedmont Council 420
P.O. Box 1719
Mooresville, NC 28117


Mckendree Memorial Utd Methodist Ch
Middle Tennessee Council 560
208 Wheeler St
Portland, Tn 37148


Mckendree Utd Methodist Church
Middle Tennessee Council 560
523 Church St
Nashville, TN 37219


Mckendree Utd Methodist Church
Northeast Georgia Council 101
1570 Lawrenceville Suwanee Rd
Lawrenceville, GA 30043


Mckenna B Petree
Address Redacted


Mckenna K Anderson
Address Redacted


Mckenna L Vierstra
Address Redacted


Mckenna,Long    Aldridge
P.O. Box 116573
Atlanta, GA 30368


Mckenzie Church Of Christ
Oregon Trail Council 697
250 51st St
Springfield, OR 97478


Mckenzie Drone
Oregon Trail Council 697
8455 Mckenzie Hwy
Springfield, OR 97478


Mckenzie F Boswell
Address Redacted


Mckenzie Memorial Methodist
Circle Ten Council 571
1809 S Donoho St
Clarksville, TX 75426


Mckenzie Musgrave
Address Redacted


Mckenzie Scheffler
Address Redacted


Mckerchie Enterprises Inc
dba Power Source Electric
P.O. Box 148
Clio, MI 48420


Mckesson
P.O. Box 634404
Cincinnati, OH 45274‐4404


Mckesson Medical Surgical
9954 Maryland Dr, Ste 4000
Henrico, VA 23233


Mckesson Medical Surgical
P.O. Box 660266
Dallas, TX 75266‐0266


Mckesson Medical Surgical
P.O. Box 933027
Atlanta, GA 31193‐3027


Mckie Recreation Center
Dan Beard Council, Bsa 438
1655 Chase Ave
Cincinnati, OH 45223


Mckinley Elementary
Indian Nations Council 488
6703 E King St
Tulsa, OK 74115
Mckinley Elementary PTA
Northern Lights Council 429
5 5th Ave Ne
Minot, ND 58703


Mckinley Elementary PTA
Pacific Skyline Council 031
818 Acacia Dr
Burlingame, CA 94010


Mckinley Elementary PTO
Pathway To Adventure 456
4825 Magoun Ave
East Chicago, IN 46312


Mckinley Elementary‐Owatonna
Gamehaven 299
423 14th St Ne
Owatonna, MN 55060


Mckinley K Douglas
Address Redacted


Mckinley Leather Of Hickory, Inc
P.O. Box 1030
3131 W Main St
Claremont, NC 28610


Mckinley School PTO
Illowa Council 133
621 Kindler Ave
Muscatine, IA 52761


Mckinley School PTO
Patriots Path Council 358
500 1st St
Westfield, NJ 07090


Mckinlock American Legion Post 264
Northeast Illinois 129
801 N Mckinley Rd
Lake Forest, IL 60045


Mckinney High School
Circle Ten Council 571
4700 S Ridge Rd, Apt 1037
Mckinney, TX 75070


Mckinney High School ‐ Boyd
Circle Ten Council 571
600 N Lake Forest Dr
Mckinney, TX 75071


Mckinney North Hs
Circle Ten Council 571
2550 Wilmeth Rd
Mckinney, TX 75071


Mckinney Police Dept
Circle Ten Council 571
Taylor Burk Dr
Mckinney, TX 75071


Mckinsey   Co Inc
P.O. Box 7247‐7255
Philadelphia, PA 19170‐7255


Mckinsey Steel   Supply Of Fl Inc
P.O. Box 14724
Ft Lauderdale, FL 33302


Mclabe Park Community Center
Middle Tennessee Council 560
101 46th Ave N
Nashville, TN 37209


Mclain High School
Denver Area Council 061
13600 W 2nd Pl
Lakewood, CO 80228


Mclane Middleton Prof Assoc
900 Elm St
P.O. Box 326
Manchester, NH 03105‐0326


Mclaurin Heights Utd Methodist Church
Andrew Jackson Council 303
325 Mary Ann Dr
Pearl, MS 39208


Mclean Islamic Center
National Capital Area Council 082
8800 Tarrett Valley Dr
Vienna, VA 22182


Mclean Utd Methodist Church
Golden Spread Council 562
P.O. Box 125
Mclean, TX 79057


Mcleod Electric Inc
P.O. Box 144
Spotsylvania, VA 22553


Mclouth Utd Methodist Church
Jayhawk Area Council 197
P.O. Box 159
Mc Louth, KS 66054


Mcm
405 S Pioneer Blvd
Springboro, OH 45066‐3002


Mcmaster Carr Supply Co
P.O. Box 7690
Chicago, IL 60680‐7690


Mcmechen First Church Of God
Ohio River Valley Council 619
1003 Logan St
Mcmechen, WV 26040
Mcmichael Afterschool Program
Cradle of Liberty Council 525
3543 Fairmount Ave
Philadelphia, PA 19104


Mcmicken Heights Parent Teacher Org
Chief Seattle Council 609
3708 S 168th St
Seatac, WA 98188


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Bay‐Lakes Council 635
103 W John St
Newberry, MI 49868


Mcmillen Engineering
Westmoreland Fayette 512
115 Wayland Smith Dr
Uniontown, PA 15401


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Cascade Pacific Council 492
544 NE 2nd St
Mcminnville, OR 97128


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91220 Overseas Hwy, 1007
Tavernier, FL 33070


Mcmullen Sailing LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


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Attn Copyediting Workshop
1010 E Missouri Ave
Phoenix, AZ 85014


Mcmurry Campus Center
1010 E Missouri Ave
Phoenix, AZ 85014
Mcmurry Utd Methodist Church
Heart of America Council 307
25 N Eugene Field Rd
Kansas City, MO 64119


Mcnair Elementary PTA
Greater St Louis Area Council 312
585 Coachway Ln
Hazelwood, MO 63042


Mcnamara Elementary
Sam Houston Area Council 576
8714 Mcavoy Dr
Houston, TX 77074


Mcnamara‐Moore American Legion Post 61
Mid‐America Council 326
354 Lajune Ave
P.O. Box 49
Ida Grove, IA 51445


Mcnaughton‐Mckay Electric Co
P.O. Box 890976
Charlotte, NC 28289‐0976


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Glaciers Edge Council 620
1524 Frederick St
Beloit, WI 53511


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P.O. Box 1166
Harrisburg, PA 17108‐1166


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1411 Meador Ave
Billingham, WA 98229‐5845


Mconnellsburg Utd Presbyterian Church
Mason Dixon Council 221
S. 2Nd. and Maple St
Mcconnellsburg, PA 17233


Mcpherson College
Attn Lisa Eer
1600 E Euclid
Mcpherson, KS 67460


Mcphs University
Student Financial Services
179 Longwood Ave
Boston, MA 02115


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4519 Providence Rd
Charlotte, NC 28226


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Big Sandy, TN 38221


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Dallas, TX 75218‐0430


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Shawnee, OK 74801


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7451 Pan Am Freeway
Albuquerque, NM 87109


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1710 N Cir Dr
Colorado Springs, CO 80909


Mctigue Middle School PTO
Erie Shores Council 460
5555 Nebraska Ave
Toledo, OH 43615


Mctmt Processing Center
P.O. Box 4139
Binghamton, NY 13902


Mcveytown Presbyterian Church
Juniata Valley Council 497
P.O. Box 323
5 N Queen St
Mc Veytown, PA 17051


Mcveytown Utd Methodist Church
Juniata Valley Council 497
3 S Queen St
Mcveytown, PA 17051


Mcwhorter Driscoll LLC
197 Mcwhorter Dr
Fitzgerald, GA 31750


Mcyc
Golden Empire Council 047
9412 Big Horn Blvd, Ste 2
Elk Grove, CA 95758


Md Machine
P.O. Box 1502
Bastrop, TX 78602


MD Secretary Of State
State House
Annapolis, MD 21401


Mdx Payment Processing Center
P.O. Box 628282
Orlando, FL 32862‐8282


Me   My Big Ideas
17777 Newhope St
Fountain Valley, CA 92708


Me Productions
2000 SW 30th Ave
Pembroke Park, FL 33009


Mead   Hunt Inc
Accounts Receivable
2440 Deming Way
Middleton, WI 53562‐1562


Mead   Hunt, Inc
400 Tracy Way, Ste 200
Charleston , WV 25311


Mead Elementary Charterschool Ptc
Samoset Council, Bsa 627
241 17th Ave S
Wisconsin Rapids, WI 54495


Meadow Community Assoc
Denver Area Council 061
3033 E 1st Ave, Ste 840
Denver, CO 80206


Meadow Creek Coal Corp
1325 W Walnut Hill Ln
Irving, TX 75015‐2079


Meadow Fire Dept
Tuscarora Council 424
7041 Nc Hwy 50 S
Benson, NC 27504


Meadow Glens Home    School Assoc
Three Fires Council 127
1150 Muirhead Ave
Naperville, IL 60565


Meadow Gold Dairies Inc
Dept 962
Denver, CO 80271‐0962


Meadow Gold Dairy
1301 W Bannock
Boise, ID 83702


Meadow Heights Baptist Church
Greater St Louis Area Council 312
1498 Vandalia St
Collinsville, IL 62234


Meadow Park School PTO
Southwest Florida Council 088
750 Essex Ave
Port Charlotte, FL 33948


Meadow View Elementary School
Lincoln Heritage Council 205
1255 W Vine St
Radcliff, KY 40160


Meadow Vista Area Lions Club
Golden Empire Council 047
P.O. Box 1177
Meadow Vista, CA 95722


Meadow Wood School PTA
Sam Houston Area Council 576
14230 Memorial Dr
Houston, TX 77079


Meadowbrook Congregational Church
Great Lakes Fsc 272
21355 Meadowbrook Rd
Novi, MI 48375


Meadowbrook Elementary ‐ Gfwar
Longhorn Council 662
3218 E Belknap St
Fort Worth, TX 76111


Meadowbrook Elementary School PTA
Potawatomi Area Council 651
3130 Rolling Ridge Dr
Waukesha, WI 53188


Meadowbrook Methodist Church
Longhorn Council 662
3900 Meadowbrook Dr
Fort Worth, TX 76103


Meadowbrook Parent Teacher Org
Northeast Illinois 129
1600 Walters Ave
Northbrook, IL 60062


Meadowbrook Psa
Bay‐Lakes Council 635
720 Hillcrest Hts
Green Bay, WI 54313


Meadowcreek High School
Northeast Georgia Council 101
4455 Steve Reynolds Blvd
Norcross, GA 30093


Meadowcreek Utd Methodist Church
Indian Nations Council 488
1420 SE 146th St N
Collinsville, OK 74021


Meadowcreek Utd Methodist Church
Indian Nations Council 488
14205 E 146th St N
Collinsville, OK 74021


Meadowdale H   H Ch Utd Methodist Ch
Mountaineer Area 615
141 Mount Harmony Rd
Fairmont, Wv 26554


Meadowlark Church Of Christ
Longs Peak Council 062
2810 Meadowlark Ave
Fort Collins, CO 80526


Meadowlark Community Church
San Diego Imperial Council 049
1918 Redwing St
San Marcos, CA 92078


Meadowlark Concerned Parents
Montana Council 315
2200 Fox Farm Rd
Great Falls, MT 59404


Meadowlark Parent Advisory Council
Overland Trails 322
101 E 53Rd
Kearney, NE 68847


Meadowood Church
Denver Area Council 061
16051 E Dartmouth Ave
Aurora, CO 80013


Meadows Neighborhood Co Hoa
Denver Area Council 061
3692 Meadows Blvd
Castle Rock, CO 80109


Meadows Oil Co Inc
dba Aftermarket Specialties
P.O. Box 631
Beckley, WV 25802
Meadows Parent Teacher Org
Mid‐America Council 326
9225 Berry St
Omaha, NE 68127


Meadows Park Community Center
Pikes Peak Council 060
1943 S El Paso Ave
Colorado Springs, CO 80905


Meadowthorpe Presbyterian Church
Blue Grass Council 204
356 Hillsboro Ave
Lexington, KY 40511


Meadowview Elementary School PTO
Norwela Council 215
4315 Shed Rd
Bossier City, LA 71111


Meadowview Utd Methodist Church
Sequoyah Council 713
P.O. Box 255
Meadowview, VA 24361


Meagan M Murphy
Address Redacted


Means Memorial Methodist Memorial Church
Buffalo Trail Council 567
201 NE Ave B
Andrews, TX 79714


Mears Transportation Group Inc
c/o Adalisa Jackson‐King Bldg M‐1
324 W Gore St
Orlando, FL 32806


Mebane Presbyterian Church
Old N State Council 070
402 S 5th St
Mebane, NC 27302


Mebane Utd Methodist Church
Old N State Council 070
200 S 4th St
Mebane, NC 27302


Mebane Volunteer Fire Dept
Old N State Council 070
1469 Mebane Oaks Rd
Mebane, NC 27302


Mechanical Air Systems Inc
6995 20th Ave S
Centerville, MN 55038


Mechanicial Contractors Assoc Det.
Great Lakes Fsc 272
14801 W 8 Mile Rd
Detroit, MI 48235


Mechanicsburg Fire Dept
Tecumseh 439
18 N Main St
Mechanicsburg, OH 43044


Mechanicsburg Presbyterian Church
New Birth of Freedom 544
300 E Simpson St
Mechanicsburg, PA 17055


Mechanicsburg Utd Methodist Church
Tecumseh 439
42 N Main St
Mechanicsburg, OH 43044


Mechanicsville Fire Dept
National Capital Area Council 082
28165 Hills Club Rd
Mechanicsville, MD 20659
Mechanicsville Optimist Club
National Capital Area Council 082
27030 Queentree Rd
Mechanicsville, MD 20659


Mechanicsville Recreation Assoc.
Heart of Virginia Council 602
P.O. Box 222
Mechanicsville, VA 23111


Mechanicsville Utd Methodist Church
Heart of Virginia Council 602
7356 Atlee Rd
Mechanicsville, VA 23111


Mecklenburg Cnty Distr Attorney S Office
Mecklenburg County Council 415
700 E Trade St
Charlotte, Nc 28202


Mecklenburg County
1410 E 7th St
Charlotte, NC 28204‐2408


Mecklenburg County
Attn John Loos Plan Review Facilitator
2145 Suttle Ave
Charlotte, NC 28208


Mecklenburg County Bar
c/o Membership Coordinator
438 Queens Rd
Charlotte, NC 28207


Mecklenburg County Cncl 415
1410 E 7th St
Charlotte, NC 28204‐2488


Mecklenburg Ems Agency
Mecklenburg County Council 415
4425 Wilkinson Blvd
Charlotte, NC 28208
Mecosta Co Red Arrow Amvets Post 1941
President Gerald R Ford 781
320 S 4th Ave
Big Rapids, MI 49307


Med1 Online, LLC
4403 Table Mountain Dr, Ste B
Golden, CO 80403


Med‐Alert International Corp
P.O. Box 60453
Houston, TX 77205‐0453


Medesigns Inc
2895 Timbercreek Cir
Boca Raton, FL 33431


Medexpress Urgent Care
P.O. Box 7959
Belfast, ME 04915‐7900


Medfield Lions
Mayflower Council 251
P.O. Box 79
Medfield, MA 02052


Medfield Rec Center
Baltimore Area Council 220
1501 Woodheights Ave
Baltimore, MD 21211


Medford Friends Church
Crater Lake Council 491
525 De Barr Ave
Medford, OR 97501


Medford Police Dept
Crater Lake Council 491
411 W 8th St
Medford, OR 97501
Medford Ski Education Foundation
Crater Lake Council 491
450 Orchard St
Ashland, OR 97520


Medford Utd Methodist Church
Garden State Council 690
2 Hartford Rd
Medford, NJ 08055


Media 2‐Way Radio Inc
P.O. Box 352
Grapevine, TX 76099


Media Advantage, Inc
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Huntingdon Valley, PA 19006


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11400 SE 8th St, 210
Bellevue, WA 98004


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New York, NY 10011


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New York, NY 10001


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412 Main St
Mediapolis, IA 52637
Mediapolis Fire Dept
Mississippi Valley Council 141 141
412 Main St
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Subscription Service Ctr
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P.O. Box 851
Medical Lake, WA 99022


Medical Monks Inc
2400 Ansys Dr, Ste 102
Canonsburg, PA 15317


Medical Waste Services LLC
P.O. Box 2558
Ashland, KY 41105


Medicine Lodge Lions Club
Quivira Council, Bsa 198
200 E Kansas Ave
Medicine Lodge, KS 67104
Medicine Mountain Camp
Black Hills Area Council 695 695
24201 Bobcat Rd
Custer, SD 57730


Medicine Rock Inc
Arbuckle Area Council 468
9119 E 12675 Cr
Dustin, OK 74839


Medicine Shoppe 1387
1275 A S 2nd St
Raton, NM 87740


Medieval Times
Attn Andrea Georgi/Group Sales
2021 N Stemmons Frwy
Dallas, TX 75207


Medina Academy
Chief Seattle Council 609
16242 Nup Way
Bellevue, WA 98008


Medina Childrens Home
21300 State Hwy 16N
Medina, TX 78055


Medina Church Of The Nazarene
Great Trail 433
6901 Wooster Pike
Medina, OH 44256


Medina City Fire Dept
Great Trail 433
300 W Reagan Pkwy
Medina, OH 44256


Medina County Sheriffs Dept
Great Trail 433
555 Independence Dr
Medina, OH 44256
Medina Dale Readfield Lions Club
Bay‐Lakes Council 635
P.O. Box 71
Readfield, WI 54969


Medina First Utd Methodist Church
West Tennessee Area Council 559
500 W Church Ave
Medina, TN 38355


Medina Presbyterian Church
Great Trail 433
5020 Burgundy Bay Blvd
Medina, OH 44256


Medina Ranch Inc
Alamo Area Council 583
215 Zambrano Rd
San Antonio, TX 78209


Medina Sunrise Rotary Club
Great Trail 433
Barbara Cumming
P.O. Box 1726
Medina, OH 44258


Medina Utd Methodist Church
Great Trail 433
4747 Foote Rd
Medina, OH 44256


Medina Valley Utd Methodist Church
Alamo Area Council 583
1108 Country Ln
Castroville, TX 78009


Medina Vfw Post 5137
Great Trail 433
3916 Pearl Rd
Medina, OH 44256
Medinah Park District
Three Fires Council 127
22W130 Thorndale Ave
Medinah, IL 60157


Medivest Benefit Advisors Inc
2100 Alafaya Trl, Ste 201
Oviedo, FL 32765


Medivest Benefit Advisors Inc
P.O. Box 23910
Santa Barbara, CA 93121


Medley Police Dept
South Florida Council 084
7777 NW 72nd Ave
Medley, FL 33166


Medoncus LLC
P.O. Box 350004
Jacksonville, FL 32235


Medora Environmental Inc
dba Medora Corp
3225 Hwy 22
Dickinson, ND 58601


Medpro Waste Disposal LLC
1548 Bond St, Ste 106
Naperville, IL 60563


Medpro Waste Disposal LLC
P.O. Box 5683
Carol Stream, IL 60197


Medshore Ambulance Service
Blue Ridge Council 551
1009 N Fant St
Anderson, SC 29621
Medshore Ambulance Services
Blue Ridge Council 551
902 Anderson Dr
Williamston, SC 29697


Medtronic Inc
Northern Star Council 250
Rce185
7000 Central Ave Ne
Fridley, MN 55432


Meeple Madness
Northeast Georgia Council 101
7400 Spout Springs Rd, Ste 205
Flowery Branch, GA 30542


Meeting Professionals International
3030 Lbj Frwy, Ste 1700
Dallas, TX 75234‐2759


Meeting Professionals International
c/o Laser Regis Mpi 2008 Pec‐Na
1200 G St NW, Ste 800
Washington, DC 20005‐3967


Meetingone
501 S Cherry St, Ste 500
Denver, CO 80246


Meetings By Design Inc
330 Sabre Lily Ln
Columbus, NC 28722


Mega, LLC
dba Magnum Car Wash      Quick Lube
1404 N Eisenhower
Beckley, WV 25801


Megachess
2100 E Union Bower Rd
Irving, TX 75061
Megan Armstrong
Address Redacted


Megan Boots
Address Redacted


Megan Hickey
Address Redacted


Megan Houghton
Address Redacted


Megan Jones
Address Redacted


Megan King
Address Redacted


Megan Maddock
Address Redacted


Megan Murden
Address Redacted


Megan N Descheneaux
Address Redacted


Megan N Shepherd
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Megan Puet
Address Redacted


Megan R Riley
Address Redacted


Megan Savona
Address Redacted


Megan Schneider
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Megan Thill
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Megan Wheeler
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Meghan J Ciupak
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Meghan L Mcneil
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Meghan N Roy
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Meghan Polk
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Mehaffy Weber PC
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Mehoopany Utd Methodist Church
Northeastern Pennsylvania Council 501
4635 Sr 87
Mehoopany, PA 18629


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691 Route 130
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Buckskin 617
1516 Powell St
Middleport, OH 45760


Meinders‐Oklahoma City Scout Shop
Judith Adams
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Oklahoma City, OK 73116


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Louisville, KY 40202


Meinhart, Smith   Manning, PLLC
Attn H. B O Donnell IV, C. Meinhart,
Brett H Oppenheimer
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222 E Witherspoon, Ste 401
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re Plaintiff
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Louisville, KY 40218‐1937


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Valley Stream, NY 11580


Melanea Rico Perez
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Mecklenburg County Council 415
145 Scaleybark Rd, Ste B
Charlotte, NC 28209


Melanie Balderas
Address Redacted


Melanie Behrends
Address Redacted


Melanie Branch
Address Redacted


Melanie E Raney
Address Redacted


Melanie G Whitmore
Address Redacted


Melanie Hopkins
Address Redacted


Melanie Jacobson
Address Redacted
Melanie Le Blanc
Address Redacted


Melanie Luyet
Address Redacted


Melanie Marie Allen
Address Redacted


Melanie Patterson
Address Redacted


Melanie Smith
Address Redacted


Melanie Timmerman
Address Redacted


Melanie Williams
Address Redacted


Melanie Young
Address Redacted


Melba Holt
Address Redacted


Melbourne Church Of Christ
Central Florida Council 083
810 Hollywood Blvd
Melbourne, FL 32904


Meld Inc
Ben Franklin Crafts
115 W Maple Ave
Fayetteville, WV 25840
Melena Letrece Sparkman
Address Redacted


Melena Marie Purvis
Address Redacted


Melena Sparkman
Address Redacted


Melick Aquafeed Inc
75 Orchard Dr
Catawissa, PA 17820


Melick Porter LLP
1 Liberty Square 7th Fl
Boston, MA 02109


Melinda Enterante
Address Redacted


Melinda Hotchkiss
Address Redacted


Melinda Inman
Address Redacted


Melinda Johnson
Address Redacted


Melinda Northup
Address Redacted


Melinda Van Lone
Address Redacted


Melinda Vinco
Address Redacted
Melinda Young
Address Redacted


Melissa Baker
Address Redacted


Melissa Bramlett
Address Redacted


Melissa Bueno
Address Redacted


Melissa Cardona
Address Redacted


Melissa Carver
Address Redacted


Melissa Castillo
Address Redacted


Melissa Christian Church
Circle Ten Council 571
P.O. Box 606
Melissa, TX 75454


Melissa Cox
Address Redacted


Melissa Cuddie
Address Redacted


Melissa Darnall
Address Redacted


Melissa Data Corp
22382 Avenida Empresa
Rancho Santa Margarita, CA 92688‐2112
Melissa Davisson
Address Redacted


Melissa Ellinger
Address Redacted


Melissa Ford
Address Redacted


Melissa Garcia
Address Redacted


Melissa Grubbs
Address Redacted


Melissa Head
Address Redacted


Melissa Hoag
Address Redacted


Melissa Immel
Address Redacted


Melissa Kelley
Address Redacted


Melissa Kemenczky
Address Redacted


Melissa Kemmerer
Address Redacted


Melissa Knapp
Address Redacted


Melissa Lardie
Address Redacted


Melissa Lawton
Address Redacted


Melissa Linhart
Address Redacted


Melissa M Stanfill
Address Redacted


Melissa Martinez
Address Redacted


Melissa Mcdaniel
Address Redacted


Melissa Miller
Address Redacted


Melissa Moore
Address Redacted


Melissa Neuhaus
Address Redacted


Melissa Oronoz
Address Redacted


Melissa Pinion
Address Redacted


Melissa Ranken
Address Redacted


Melissa Reinbold
Address Redacted
Melissa Reinfeld
Address Redacted


Melissa Renee Jones
Address Redacted


Melissa Richards
Address Redacted


Melissa Riley
Address Redacted


Melissa Rozecki
Address Redacted


Melissa S Country Kitchen
1550 E Main St
Oakhill, WV 25901


Melissa Silverberg
Address Redacted


Melissa Spears
Address Redacted


Melissa Stotts
Address Redacted


Melissa Stricherz
Address Redacted


Melissa Wilkins
Address Redacted


Mellichamp Elem ‐ Ai
Indian Waters Council 553
396 St Paul St
Orangeburg, SC 29115
Mellingers Evangelical Lutheran Church
Pennsylvania Dutch Council 524
80 Gockley Rd
Stevens, PA 17578


Mellingers Lutheran Church
Pennsylvania Dutch Council 524
80 Gockley Rd
Stevens, PA 17578


Mellow Ventures LLC
dba Akacrm
6510‐A S Academy Blvd 258
Colorado Springs, CO 80906


Melody J Halbert
Address Redacted


Melody Mckee
Address Redacted


Melody Platt
Address Redacted


Melody Wiseman
Address Redacted


Melody Wyatt
Address Redacted


Melrose Chapel
Mississippi Valley Council 141 141
3600 Payson Rd
Quincy, IL 62305


Melrose Elementary PTAN
Oregon Trail Council 697
2960 Melrose Rd
Roseburg, OR 97471
Melrose Fire Co Inc
Twin Rivers Council 364, Route 40
Melrose, NY 12121


Melrose Highlands Congregational Church
The Spirit of Adventure 227
355 Franklin St
Melrose, MA 02176


Melrose Park Public Safety
Pathway To Adventure 456
2309 Main St
Melrose Park, IL 60160


Melrose Volunteer Fire Dept Inc
North Florida Council 087
301 Cypress St
Melrose, FL 32666


Meltwater News Us Inc
Dept 3408
P.O. Box 123408
Dallas, TX 75312‐3408


Melvin Antigua
Address Redacted


Melvin Binam
Address Redacted


Melvin Booher
Address Redacted


Melvin Hellem
Address Redacted


Melvin J Berman Hebrew Academy
National Capital Area Council 082
13300 Arctic Ave
Rockville, MD 20853


Melvin Kane
Address Redacted


Melvin Moore
Address Redacted


Melvin Thurston
Address Redacted


Melvin Wilson Jr
Address Redacted


Melvins Mens Wear
6320 N Navarro
Victoria, TX 77903‐2698


Melvyn Wenner
Address Redacted


Melynda Ann Bailey
Address Redacted


Melynda Bailey
Address Redacted


Member S Building Maintenance LLC
11363 Denton Dr, Ste 127
Dallas, TX 75229


Members Of Valley Creek Fire Dept
Lincoln Heritage Council 205
P.O. Box 27
Elizabethtown, KY 42702


Memco Inc
1789 Ec 48
Bushnell, FL 33513
Memco Inc
P.O. Box 519
Center Hill, FL 33514


Memorial   Honor Program
St Judes Childrens Research Hospital
501 St Jude Pl
Memphis, TN 38105


Memorial Ame Zion Church
Seneca Waterways 397
549 Clarissa St
Rochester, NY 14608


Memorial Baptist Church
Great Rivers Council 653
1634 Paris Rd
Columbia, MO 65201


Memorial Congregational Church
Mayflower Council 251
26 Concord Rd
Sudbury, MA 01776


Memorial Drive Presbyterian Church
Sam Houston Area Council 576
11612 Memorial Dr
Houston, TX 77024


Memorial Drive Utd Methodist Church
Sam Houston Area Council 576
12955 Memorial Dr
Houston, TX 77079


Memorial Elem ‐ Kc
Sam Houston Area Council 576
6401 Arnot St
Houston, TX 77007


Memorial Evangelical Lutheran Church
Northern Star Council 250
15730 Afton Blvd S
Afton, MN 55001


Memorial Health Uni Med Ctr
Coastal Georgia Council 099
4731 Waters Ave
Savannah, Ga 31404


Memorial Hermann Bapt Bmt
P.O. Box 974599
Dallas, TX 75397‐4599


Memorial Hermann Hospital Katy
Sam Houston Area Council 576
23900 Katy Fwy
Katy, TX 77494


Memorial Hermann Katy Hospital
Sam Houston Area Council 576
23900 Katy Fwy
Katy, TX 77494


Memorial Hospital
Greater St Louis Area Council 312
P.O. Box 609
Chester, IL 62233


Memorial Hospital
North Florida Council 087
3625 University Blvd S
Jacksonville, FL 32216


Memorial Lutheran Church
Attn Dennis Islet C.O.R
Sam Houston Area Council 576
5810 3rd St
Katy, TX 77493


Memorial Lutheran Church
New Birth of Freedom 544
34 E Orange St
Shippensburg, PA 17257


Memorial Lutheran Church
North Florida Council 087
3375 US Hwy 1 S
St Augustine, FL 32086


Memorial Methodist Mens Club
Greater St Louis Area Council 312
425 N St A
Farmington, MO 63640


Memorial Park Presbyterian Church
Laurel Highlands Council 527
8800 Peebles Rd
Allison Park, PA 15101


Memorial Park Utd Presbyterian Church
Laurel Highlands Council 527
8800 Peebles Rd
Allison Park, PA 15101


Memorial Presbyterian Church
Garden State Council 690
208 E Pine St
Wenonah, NJ 08090


Memorial Presbyterian Church
Gulf Stream Council 085
1300 S Olive Ave
West Palm Beach, FL 33401


Memorial Presbyterian Church
Last Frontier Council 480
601 24th Ave Sw
Norman, OK 73069


Memorial Presbyterian Church
North Florida Council 087
32 Sevilla St
St Augustine, FL 32084
Memorial Presbyterian Church
Sagamore Council 162
731 Walnut Dr
Dayton, IN 47941


Memorial Presbyterian Church
Water and Woods Council 782
1310 Ashman St
Midland, MI 48640


Memorial Presbyterian Church
Westark Area Council 016
307 N Church St
Atkins, AR 72823


Memorial PTA
Circle Ten Council 571
2200 Laurel Ln
Plano, TX 75074


Memorial Regional Health Services
Greater St Louis Area Council 312
4500 Memorial Dr
Belleville, IL 62226


Memorial Road Church Of Christ
Last Frontier Council 480
2221 E Memorial Rd
Edmond, OK 73013


Memorial Utd Methodist
Blue Ridge Council 551
201 N Main St
Greer, SC 29650


Memorial Utd Methodist
Northeast Illinois 129
2935 Sheridan Rd
Zion, IL 60099


Memorial Utd Methodist Church
Buckeye Council 436
P.O. Box 248
Caledonia, OH 43314


Memorial Utd Methodist Church
Central N Carolina Council 416
1100 W C St
Kannapolis, NC 28081


Memorial Utd Methodist Church
Great Smoky Mountain Council 557
323 N Main St
Clinton, TN 37716


Memorial Utd Methodist Church
Heart of Virginia Council 602
11000 Courthouse Rd
Charles City, VA 23030


Memorial Utd Methodist Church
Lincoln Heritage Council 205
631 N Miles St
Elizabethtown, KY 42701


Memorial Utd Methodist Church
Rip Van Winkle Council 405
P.O. Box 577
Modena, NY 12548


Memphis Fire Dept
Chickasaw Council 558
65 S Front St
Memphis, TN 38103


Memphis Fire Dept
Water and Woods Council 782
35095 Potter St
Memphis, MI 48041


Memphis Islamic Center
Chickasaw Council 558
10225 Humphrey Rd
Cordova, TN 38018


Memphis Scout Shop ‐ Opc
171 S Hollywood St
Memphis, TN 38112‐4802


Men Of Church‐Bethesda Presbyterian
Palmetto Council 549
4858 Mcconnells Hwy
Bethesda Presbyterian Church
York, SC 29745


Men Of First Lutheran
Northern Lights Council 429
First Lutheran Church
300 E 2nd St
Morris, MN 56267


Men Of Presbyterian Church
Great Smoky Mountain Council 557
601 Church St
Sweetwater, TN 37874


Men Of St Pauls Utd Methodist Church
Catalina Council 011
8051 E Broadway Blvd
Tucson, AZ 85710


Men Of Valor Academy
Last Frontier Council 480
1215 NE 34th St
Oklahoma City, OK 73111


Men S Club
Longhouse Council 373
First United Methodist Church
Baldwinsville, NY 13027


Men S Club 1St Utd Methodist Ch
Gulf Coast Council 773
599 8Th Ave
Crestview, Fl 32536
Men S Club Of St Paul S Church
Hudson Valley Council 374
60 W Main St
Middletown, NY 10940


Men S Club, Ch, Holy Spirit
Northern Star Council 250
515 Albert St S
Saint Paul, Mn 55116


Men S Health Network
236 Massachusetts Avnue Ne, Suite 301
Washington, DC 20002‐4980


Men S Journal
P.O. Box 37138
Boone, IA 50037‐0138


Menallen Grange 1091
Westmoreland Fayette 512
60 Brownfield Ln
Uniontown, PA 15401


Menards
c/o Capital One Commercial
P.O. Box 60506
City of Industry, CA 91716‐0506


Mendenhall River Community School Parent
Great Alaska Council 610
10014 Crazy Horse Dr
Juneau, AK 99801


Mendokers Bakery
34 W Railroad Ave
Jamesburg, NJ 08831


Mendon Fire Dept
Seneca Waterways 397
101 Mendon Ionia Rd
Mendon, NY 14506


Mendon Firefighters Assoc
Mayflower Council 251
24 Main St
Mendon, MA 01756


Mendon Police Assoc
Mayflower Council 251
22 Main St
Mendon, MA 01756


Mendon Presbyterian Chuch
Seneca Waterways 397
936 Cheese Factory Rd
Mendon, NY 14506


Mendota Police Dept
Sequoia Council 027
1000 Airport Blvd, Ste A
Mendota, CA 93640


Mendoza Sch Grp Concerned Citizens
Grand Canyon Council 010
5831 E Mclellan Rd
Mesa, Az 85205


Menges Law Office
6400 W Main St, Ste 1G
Belleville, IL 62223‐3806


Menifee Police Dept
California Inland Empire Council 045
29714 Haun Rd
Sun City, CA 92586


Menifee Valley Youth Foundation
California Inland Empire Council 045
33150 Nancy Ln
Menifee, CA 92584
Menlo Church Saratoga
Silicon Valley Monterey Bay 055
20455 Herriman Ave
Saratoga, CA 95070


Menlo Park Academy
Lake Erie Council 440
2149 W 53rd St
Cleveland, OH 44102


Menlo Park Fire Protection District
Pacific Skyline Council 031
300 Middlefield Rd
Menlo Park, CA 94025


Menlo Park Police Assoc
Pacific Skyline Council 031
750 Menlo Ave, Ste 200
Menlo Park, CA 94025


Menlo Park Police Dept
Pacific Skyline Council 031
701 Laurel St
Menlo Park, CA 94025


Menlo Park Presbyterian Church
Pacific Skyline Council 031
950 Santa Cruz Ave
Menlo Park, CA 94025


Menomonee Club For Boys    Girls
Pathway To Adventure 456
1535 N Dayton St
Chicago, IL 60642


Menomonee Falls Fire Dept
Potawatomi Area Council 651
W140N7501 Lilly Rd
Menomonee Falls, WI 53051


Menomonee Falls Kiwanis Club
Potawatomi Area Council 651
P.O. Box 585
Menomonee Falls, WI 53052


Menomonee Falls Optimist Club
Potawatomi Area Council 651
Street
Menomonee Falls, WI 53051


Menomonie High School Ffa
Chippewa Valley Council 637
1715 5th St W
Menomonie, WI 54751


Menomonie Police Dept
Chippewa Valley Council 637
615 Stokke Pkwy, Ste G200
Menomonie, WI 54751


Mens Assoc Of Sts Philip   James
Chester County Council 539
721 E Lincoln Hwy
Exton, PA 19341


Mens Bible Class First Utd Methodist
Andrew Jackson Council 303
427 Crider Dr
Brookhaven, MS 39601


Mens Bible Class Utd Presbyterian Ch
Juniata Valley Council 497
Shirley   Div Sts
Mount Union, Pa 17066


Mens Bible Class‐Emanuel Lutheran Church
Alamo Area Council 583
206 N Travis St
Seguin, TX 78155


Mens Club Fairfield Grace Utd
Connecticut Yankee Council Bsa 072
1089 Fairfield Woods Rd
Fairfield, CT 06825
Mens Club Friendship Presbyterian Church
Northeast Georgia Council 101
8531 Macon Hwy
Watkinsville, GA 30677


Mens Club Hinton Ave. Utd Methodist
Stonewall Jackson Council 763
750 Hinton Ave
Charlottesville, VA 22902


Mens Club Mary Our Queen Catholic Church
Mid‐America Council 326
3405 S 118th St
Omaha, NE 68144


Mens Club Of First Congregational Church
Daniel Webster Council, Bsa 330
Main St
Rindge, NH 03461


Mens Club Of Guardian Angels Church
Northern Star Council 250
8260 4th St N
Oakdale, MN 55128


Mens Club Of Seminole Utd Methodist
Greater Tampa Bay Area 089
5400 Seminole Blvd
Seminole, FL 33772


Mens Club Of St Mary Of Vernon Church
Northeast Illinois 129
236 US Hwy 45
Bob Reinhart
Indian Creek, IL 60061


Mens Club St Martin Episcopal
Atlanta Area Council 092
3110 Ashford Dunwoody Rd Ne
Atlanta, GA 30319
Mens Club Temple Oheb Shalom
Baltimore Area Council 220
7310 Park Heights Ave
Baltimore, MD 21208


Mens Club‐Our Lady Of Sorrows R C Church
Westchester Putnam 388
920 Mamaroneck Ave
White Plains, NY 10605


Mens Community Club‐Mill Plain Church
Connecticut Rivers Council, Bsa 066
242 Smayd Rd
Waterbury, CT 06705


Mens Fellowship
Neelsville Presbyterian Ch
National Capital Area Council 082
20701 Frederick Rd
Germantown, Md 20876


Mens Fellowship 1St Methodist Toccoa
Northeast Georgia Council 101
333 E Tugalo St
Toccoa, GA 30577


Mens Fellowship Bethlehem Presbyterian
Hudson Valley Council 374
Route 94 Jackson Ave
Cornwall, NY 12518


Mens Fellowship Ist Methodist Toccoa
Northeast Georgia Council 101
407 E Tugalo St
Toccoa, GA 30577


Mens Fellowship‐Neelsville Presbyterian
National Capital Area Council 082
20701 Frederick Rd
Neelsville Presbyterian
Germantown, MD 20876
Mens Methodist Club
South Georgia Council 098
117 Starksville Ave N
Leesburg, GA 31763


Menta Academy
Greater St Louis Area Council 312
6400 W Main St, Ste 03
Belleville, IL 62223


Mental Health Assoc Of Beaver Cty
Laurel Highlands Council 527
105 Brighton Ave
Rochester, PA 15074


Mentone Green Foundation Inc
Greater Alabama Council 001
17185 County Rd 89
Mentone, AL 35984


Mentor 2 Youth
Southern Shores Fsc 783
111 S Wallace Blvd
Ypsilanti, MI 48197


Mentor Utd Methodist Church
Lake Erie Council 440
8600 Mentor Ave
Mentor, OH 44060


Mequon‐Thiensville Sunrise Rotary Club
Bay‐Lakes Council 635
11126 N Cedarburg Rd
Mequon, WI 53092


Meramec Arnold Elks Lodge
Greater St Louis Area Council 312
1515 Miller Rd
Imperial, MO 63052


Meramec Elementary PTO
Greater St Louis Area Council 312
2745 Meramec St
Saint Louis, MO 63118


Meramec Heights Warrior Supporters
Greater St Louis Area Council 312
1340 W Outer 21 Rd
Arnold, MO 63010


Meramec Hills Chapter Of
Missouri Master Naturalists
Ozark Trails Council 306
1106 Highland Dr
Rolla, Mo 65401


Meramec School PTO
Greater St Louis Area Council 312
400 S Meramec Ave
Saint Louis, MO 63105


Meramec Valley Eagles Sullivan
Greater St Louis Area Council 312
1000 Acid Mine Rd
Sullivan, MO 63080


Mercado
5000 Hopyard Rd 480
Pleasanton, CA 94588


Mercado Esn, Inc
Omniture Inc
550 E Timpanogos Cir
Orem, UT 84097


Merced County Office Of Education
Greater Yosemite Council 059
632 W 13th St
Merced, CA 95341


Merced County Sheriff S Dept.‐Winton
Greater Yosemite Council 059
2222 M St
Merced, CA 95340


Merced Elks Lodge 1240
Greater Yosemite Council 059
1910 M St
Merced, CA 95340


Merced Police Dept
Greater Yosemite Council 059
611 W 22nd St
Merced, CA 95340


Mercedes Louise Horn
Address Redacted


Mercedes Ward Ch LDS
Rio Grande Council 775
210 S Wgate Dr
Weslaco, Tx 78596


Mercedita Mangana
Address Redacted


Mercer
462 S 4th St, Ste 1100
Louisville, KY 40202


Mercer
Investors Way
Norwood, MA 02062


Mercer
P.O. Box 730182
Dallas, TX 75373‐0182


Mercer Us Inc
P.O. Box 730212
Dallas, TX 75373‐0212


Mercer   Us , Inc
111 Huntington Ave, 25th Fl
Boston, MA 02199


Mercer Co Elem PTO
Blue Grass Council 204
741 Tapp Rd
Harrodsburg, KY 40330


Mercer County Sheriff Dept
Black Swamp Area Council 449
4835 State Route 29
Celina, OH 45822


Mercer Health   Benefits Admin LLC
111 Huntington Ave, 25Th Fl
Boston , Ma 02199


Mercer Health    Benefits LLC
111 Huntington Ave, 25th Fl
Boston, MA 02199


Mercer Health   Benefits, LLC
Attn Global Chief Counsel ‐ Mercer Svcs
Investors Way
Norwood, MA 02062


Mercer Hr Services, LLC
111 Huntington Ave, 25th Fl
Boston, MA 02199


Mercer Hr Services, LLC
7324 Swest Freeway, Ste 1400
Houston, TX 77074


Mercer Island Presbyterian Church
Chief Seattle Council 609
3605 84th Ave Se
Mercer Island, WA 98040


Mercer Raiders
Buckskin 617
105 Old Bluefield Rd
Princeton, WV 24740


Mercer University
Office of Admissions
1400 Coleman St
Macon, GA 31207


Mercersburg Sportsmen Assoc, Inc
Mason Dixon Council 221
Dickeys Rd
Mercersburg, PA 17236


Merchant    Gould PC
Andrew S Ehard, Esquire
3200 Ids Center
80 S 8th St


Merchants Export LLC
dba Merchants Market St Croix
200 Dr Martin Luther King Jr Blvd
Riviera Beach, FL 33404


Merchants Export LLC
dba Merchants Market St Croix
4000 Estate Diamond Christianssted
St Croix, VI 00820


Mercides A Ruchti
Address Redacted


Mercury Supply Co Sutler
101 Lee St
Livingston, TX 77351


Mercy Anderson Hospital
Dan Beard Council, Bsa 438
7500 State Rd
Cincinnati, OH 45255


Mercy Baptist Church
Ohio River Valley Council 619
3474 Pennsylvania Ave
Weirton, WV 26062


Mercy Baptist Church
Pee Dee Area Council 552
2805 4th Ave
Conway, SC 29527


Mercy College Of Health Sciences
Attn Wayne Dille
928 6th Ave
Des Moines, IA 50309‐1239


Mercy Community Church
Great Trail 433
201 Beachwood Dr
Youngstown, OH 44505


Mercy Conference And Retreat Center
2039 N Geyer Rd
St Louis, MO 63131‐3399


Mercy Fairfield Hospital
Dan Beard Council, Bsa 438
3000 Mack Rd
Fairfield, OH 45014


Mercy Flights Inc Air   Ground Ambulance
Crater Lake Council 491
2020 Milligan Way
Medford, OR 97504


Mercy Haang
Denver Area Council 061


Mercy Health ‐ Tiffin Hospital
Black Swamp Area Council 449
45 St Lawrence Dr
Tiffin, OH 44883
Mercy Health Clermont Hospital
Dan Beard Council, Bsa 438
3000 Hospital Dr
Batavia, OH 45103


Mercy Health Partners
Erie Shores Council 460
2213 Cherry St
Toledo, OH 43608


Mercy Health System
Glaciers Edge Council 620
1000 Mineral Point Ave
Janesville, WI 53548


Mercy Hospital
Ozark Trails Council 306
1235 E Cherokee St
Springfield, MO 65804


Mercy Hospital Washington
Greater St Louis Area Council 312
951 E 5th St
Washington, MO 63090


Mercy House
Suffolk County Council Inc 404
436 W Main St
Patchogue, NY 11772


Mercy Medical Center
Northeast Iowa Council 178
250 Mercy Dr
Dubuque, IA 52001


Mercy Pacheco
Address Redacted


Mercyhurst College
Attn Student Financial Services
501 E 38th St
Erie, PA 16546
Meredian Lodge 125 Am
Pine Tree Council 218
P.O. Box 365
Pittsfield, ME 04967


Meredith Corp
Marie Ln Ln‐302
1716 Locust St
Des Moines, IA 50309


Meredith Drive Reformed Church
Mid Iowa Council 177
5128 Meredith Dr
Des Moines, IA 50310


Meredith Isenberg
Address Redacted


Meredith Kiwanis Club
Daniel Webster Council, Bsa 330
P.O. Box 598
Meredith, NH 03253


Meredith Lacey Spratt
Address Redacted


Meredith Olski
Address Redacted


Merge‐Purge Items Do Not Use
2109 Winghouse Blvd
Charlotte, NC 28241


Merhar S Ace Hardware
48 E Chapman St
Ely, MN 55731


Meridian Display    Merchandising
162 York Ave E
St Paul, MN 55117


Meridian Kiwanis Club
Chief Seattle Council 609
P.O. Box 443
Kent, WA 98035


Meridian Sun 20
Green Mountain 592
South Craftsbury Rd
Craftsbury, VT 05826


Meridian Utd Methodist Ch‐Mens Grp
Ore‐Ida Council 106 ‐ Bsa 106
235 E Pine Ave
Meridian, Id 83642


Meridian Utd Presbyterian Church
Moraine Trails Council 500
4150 Highland Ave
Butler, PA 16001


Meridian Vol Fire Co   Relief Assoc
Moraine Trails Council 500
Meridian Station
Butler, PA 16001


Merigold Ylitalo
Address Redacted


Merilyn Peabody
Address Redacted


Merinder Reeder
Address Redacted


Meriwether Camp Committee
Cascade Pacific Council 492
2145 SW Naito Pkwy
Portland, OR 97201
Meriwether Godsey Inc
1800 Lakeside Ave
Richmond, VA 23228


Merkel Lions Club
Texas Trails Council 561
201 Edwards
Merkel, TX 79536


Merkley Es PTA
Pathway To Adventure 456
9340 5th St
Highland, IN 46322


Merle Truckenmiller
Address Redacted


Merlene Ivie
Address Redacted


Merlin Kirk
Address Redacted


Mer‐Pel Lock, Inc
17 Quintree Ln
Melville, NY 11747


Merral Jackson
Address Redacted


Merriam Christian Church
Heart of America Council 307
9401 Johnson Dr
Merriam, KS 66203


Merrick Utd Methodist Ch.
1425 Merrick Ave
Laura Cody
Merrick, NY 11566
Merrick Utd Methodist Church
Theodore Roosevelt Council 386
1425 Merrick Ave
Merrick, NY 11566


Merrill Lynch, Pierce Fenner     Smith Inc
Attn Tracy Shelton
One Cowboys Way, Ste 400
Frisco, Tx 75034


Merrill Oaks
Troop 0317
635 Wednesbury Rd
Atlanta, GA 30022


Merrill Optimist Club
Samoset Council, Bsa 627
P.O. Box 881
Merrill, WI 54452


Merrill Rosander
Address Redacted


Merritt Island Presbyterian Church
Central Florida Council 083
600 S Tropical Trl
Merritt Island, FL 32952


Merritt Isld Public Library
1195 N Cortenay Pkwy
Merritt Island, FL 32953‐4596


Merriwether Community Center
Georgia‐Carolina 093
1879 W Martintown Rd
North Augusta, SC 29860


Merrow Sewing Machine Co
502 Bedford St, Ste 7
Fall River, MA 02720
Merry Holmes
Address Redacted


Merryck   Co Americas LLC
P.O. Box 9187
Portland, OR 97207


Merryhill School
Golden Empire Council 047
2600 V St
Sacramento, CA 95818


Mershon Farms
Westark Area Council 016
P.O. Box 1
Alix, AR 72820


Merson Law
Attn Jordan Merson
150 E 58th St, 34th Fl
New York, NY 10155


Merson Law, PLLC
Attn Jordan K Merson
re Plaintiff
150 E 58th St, 34th Fl
New York, NY 10155


Merton Community Fire Dept
Potawatomi Area Council 651
P.O. Box 911
Merton, WI 53056


Merton Community Fire Dept
Potawatomi Area Council 651
P.O. Box 911
N67W28343 Sussex Rd


Mervin R Cook
Address Redacted
Mervyn Berrin
Address Redacted


Merz Tate Explorers
Southern Shores Fsc 783
3609 S Cir Dr, Apt 13
Kalamazoo, MI 49004


Mes PTO
Westark Area Council 016
129 Hwy 71 Sw
Mountainburg, AR 72946


Mesa Buckhorn Elks Lodge 2656
Grand Canyon Council 010
2824 N Power Rd, Ste 113‐278
Mesa, AZ 85215


Mesa County Sheriffs Office
Denver Area Council 061
215 Rice St
Grand Junction, CO 81501


Mesa Equipment   Supply Co
P.O. Box 91568
Albuquerque, NM 87199‐1568


Mesa Group, LLC/Mesa Pharmacy
1279 S 2Nd
Raton, NM 87740


Mesa Mundi Inc
Mayflower Council 251
47 Pont St, Ste 1
Sharon, MA 02067


Mesa Police Explorer Post 2055
North Robson St
Mesa, AZ 85201
Mesa Taxidermy
P.O. Box 758
Springer, NM 87747


Mesa View Utd Methodist Church
Great Swest Council 412
4701 Montano Rd Nw
Albuquerque, NM 87120


Mesa Vista Veterinary Hospital LLC
P.O. Box 237
Raton, NM 87740


Mesilla Fire Dept
Yucca Council 573
P.O. Box 10
Mesilla, NM 88046


Mesilla Valley Christian Schools
Yucca Council 573
3850 Stern Dr
Las Cruces, NM 88001


Mesquite Elks Lodge 2811
Utah National Parks 591
545 Riverside Rd
Mesquite, NV 89027


Mesquite Fire
Utah National Parks 591
10 E Mesquite Blvd
Mesquite, NV 89027


Mesquite Police Dept
Circle Ten Council 571
777 N Galloway Ave
Mesquite, TX 75149


Mesquite Police Dept
Las Vegas Area Council 328
695 Mayan Cir
Mesquite, NV 89027
Messiah Episcopal Church
Northern Star Council 250
1631 Ford Pkwy
Saint Paul, MN 55116


Messiah Evangelical Lutheran Church
Great Smoky Mountain Council 557
6900 Kingston Pike
Knoxville, TN 37919


Messiah Evangelical Lutheran Church
Northeast Illinois 129
25225 W Ivanhoe Rd
Wauconda, IL 60084


Messiah Evangelical Lutheran Church
Susquehanna Council 533
324 S Howard St
South Williamsport, PA 17702


Messiah Evangelical Lutheran Church
Tecumseh 439
1013 E Lawn Ave
Urbana, OH 43078


Messiah Lutheran
Blue Ridge Council 551
110 Log Shoals Rd
Mauldin, SC 29662


Messiah Lutheran
Lake Erie Council 440
21485 Lorain Rd
Fairview Park, OH 44126


Messiah Lutheran Church
Alamo Area Council 583
9401 Dietz Elkhorn Rd
Fair Oaks Ranch, TX 78015
Messiah Lutheran Church
Baltimore Area Council 220
5600 Old Washington Rd
Sykesville, MD 21784


Messiah Lutheran Church
Bay‐Lakes Council 635
305 W Magnetic St
Marquette, MI 49855


Messiah Lutheran Church
Blue Ridge Council 551
1100 Log Shoals Rd
Mauldin, SC 29662


Messiah Lutheran Church
Central Minnesota 296
320 4th Ave N
Sartell, MN 56377


Messiah Lutheran Church
Circle Ten Council 571
1801 W Plano Pkwy
Plano, TX 75075


Messiah Lutheran Church
Crossroads of America 160
6100 N Raceway Rd
Indianapolis, IN 46234


Messiah Lutheran Church
Crossroads of America 160
801 S Green St
Brownsburg, IN 46112


Messiah Lutheran Church
Erie Shores Council 460
4703 N Summit St
Toledo, OH 43611


Messiah Lutheran Church
Glaciers Edge Council 620
5202 Cottage Grove Rd
Madison, WI 53716


Messiah Lutheran Church
Great Trail 433
4700 S Main St
Akron, OH 44319


Messiah Lutheran Church
Greater Alabama Council 001
7740 Hwy 72 W
Madison, AL 35758


Messiah Lutheran Church
Greater New York Councils, Bsa 640
174 Jefferson Blvd
Staten Island, NY 10312


Messiah Lutheran Church
Greater New York Councils, Bsa 640
672 Drumgoole Rd E
Staten Island, NY 10312


Messiah Lutheran Church
Greater Tampa Bay Area 089
14920 Hutchison Rd
Tampa, FL 33625


Messiah Lutheran Church
Las Vegas Area Council 328
P.O. Box 1576
Parker, AZ 85344


Messiah Lutheran Church
New Birth of Freedom 544
3 Church St
Halifax, PA 17032


Messiah Lutheran Church
Ozark Trails Council 306
925 E Seminole St
Springfield, MO 65807
Messiah Lutheran Church
Pathway To Adventure 456
1605 Vernon Ave
Park Ridge, IL 60068


Messiah Lutheran Church
Sam Houston Area Council 576
11522 Telge Rd
Cypress, TX 77429


Messiah Lutheran Church
Simon Kenton Council 441
1200 Waggoner Rd
Reynoldsburg, OH 43068


Messiah Lutheran Church
Southwest Florida Council 088
2691 NE Pine Island Rd
Cape Coral, FL 33909


Messiah Lutheran Church
Suffolk County Council Inc 404
465 Pond Path
Setauket, NY 11733


Messiah Lutheran Church
Three Harbors Council 636
3015 Pritchard Dr
Racine, WI 53406


Messiah Lutheran Church
Twin Valley Council Bsa 283
1706 Lee Blvd
North Mankato, MN 56003


Messiah Lutheran Church
Voyageurs Area 286
231 W 5th St
Washburn, WI 54891
Messiah Lutheran Church
Water and Woods Council 782
8497 Miller Rd
Swartz Creek, MI 48473


Messiah Lutheran Church Of Hayward
San Francisco Bay Area Council 028
25400 Hesperian Blvd
Hayward, CA 94545


Messiah Lutheran Church‐Elca
Glaciers Edge Council 620
5202 Cottage Grove Rd
Madison, WI 53716


Messiah Luthern Church
Circle Ten Council 571
1801 W Plano Pkwy
Plano, TX 75075


Messiah Mens Club
Northern Lights Council 429
2010 Elm St N
Messiah Lutheran Church
Fargo, ND 58102


Messiah Trinity Church
Lincoln Heritage Council 205
8701 Shepherdsville Rd
Louisville, KY 40219


Messiah Utd Methodist Church
Attn Chris Mccreary
National Capital Area Council 082
9097 Blarney Stone Dr


Messiah Utd Methodist Church
New Birth of Freedom 544
30 S Penn St
Shippensburg, PA 17257


Messiah Utd Methodist Church
Northern Star Council 250
17805 County Rd 6
Plymouth, MN 55447


Messial Lutheran Church Elca
Mid‐America Council 326
5015 S 80th St
Ralston, NE 68127


Meta Whittingslow
Address Redacted


Metairie Park Country Day School
Southeast Louisiana Council 214
300 Park Rd
Metairie, LA 70005


Metal Building Supply Co Inc
Harnesslandcom
2146 Bingle Rd
Houston, TX 77055


Metal Castings Of Colorado Inc
dba Art Castings of Colorado
511 8th St Se
Loveland, CO 80537


Metalogix International Gmbh
P.O. Box 83304
Woburn, MA 01813‐3304


Metamora Amboy Volunteer Fire Dept
Black Swamp Area Council 449
251 Mill St
Metamora, OH 43540


Metamora Utd Methodist Church
Black Swamp Area Council 449
3248 State Route 120
Metamora, OH 43540
Metasoft Systems Inc
300‐353 Water St
Vancouver, Bc V6B 1B8
Canada


Metco‐Ti Inc
San Francisco Bay Area Council 028
7060 Koll Center Pkwy
Pleasanton, CA 94566


Meteorlogix
P.O. Box 3546
Omaha, NE 68103‐0546


Metheny Commercial
Lawn Maintenance Inc
P.O. Box 181027
Dallas, TX 75218


Methodist ‐ St Pauls Utd Methodist
Grand Teton Council 107
1730 Saint Clair Rd
Idaho Falls, ID 83404


Methodist ‐ Trinity Methodist Church
Grand Teton Council 107
237 N Water Ave
Idaho Falls, ID 83402


Methodist Church
Montana Council 315
24 N 11th St 1N
Miles City, MT 59301


Methodist Church
Overland Trails 322
1302 M St
Franklin, NE 68939


Methodist Church
Pine Burr Area Council 304
629 Sullivan Dr
Hattiesburg, MS 39401


Methodist Church    Wheatland Lions Club
Longs Peak Council 062
909 9th St
Wheatland, WY 82201


Methodist Church Janesville
Winnebago Council, Bsa 173
P.O. Box 358
Janesville, IA 50647


Methodist Church Of Charleston
Greater St Louis Area Council 312
1700 E Marshall St
K of C of Charleston
Charleston, MO 63834


Methodist Church Of Dexter
Southern Shores Fsc 783
7643 Huron River Dr
Dexter, MI 48130


Methodist Church Of Poughquag
Hudson Valley Council 374
21 Church St
Poughquag, NY 12570


Methodist Church Of Westborough
Mayflower Council 251
120 W Main St
Westborough, MA 01581


Methodist Church Wheeler
Golden Spread Council 562
P.O. Box 89
Wheeler, TX 79096


Methodist Men ‐ First Utd Methodist
Three Rivers Council 578
670 N 5th St
Silsbee, TX 77656
Methodist Men Avenue Utd Methodist Ch
Del Mar Va 081
20 N Church Ave
Milford, De 19963


Methodist Men Belin Methodist Church
Coastal Carolina Council 550
4183 Hwy 17 Business
P.O. Box 2855
Murrells Inlet, SC 29576


Methodist Men Club Great Falls Methodist
National Capital Area Council 082
10100 Georgetown Pike
Great Falls, VA 22066


Methodist Men First Utd Methodist
Buckskin 617
905 Glendale Ave
Church of S Charlest


Methodist Men Lonsdale Utd Methodist Ch
Great Smoky Mountain Council 557
3002 Galbraith St
Knoxville, Tn 37921


Methodist Men Mulvane
Quivira Council, Bsa 198
107 S Central Ave
Mulvane, KS 67110


Methodist Men Of Brookings
Sioux Council 733
625 5th St
Brookings, SD 57006


Methodist Men Of Central Utd Meth Ch
Old Hickory Council 427
1909 N Main St
Mount Airy, NC 27030
Methodist Men Of First Utd Methodist
Buckskin 617
Church
Princeton, WV 24740


Methodist Men Of First Utd Methodist
Great Swest Council 412
715 Diamond Dr
Los Alamos, NM 87544


Methodist Men Of Garner
Occoneechee 421
201 Methodist Dr
Garner, NC 27529


Methodist Men Of Mitchell
Sioux Council 733
310 N Rowley St
Mitchell, SD 57301


Methodist Men Of Morgantown
Lincoln Heritage Council 205
301 N Main St
Morgantown, KY 42261


Methodist Men Of Mt Olivet Methodist
Central N Carolina Council 416
301 Mount Olivet Rd
Concord, NC 28025


Methodist Men Of Nixon Utd Methodist
Moraine Trails Council 500
334 Airport Rd
Butler, PA 16002


Methodist Men Of The Hazardville Church
Connecticut Rivers Council, Bsa 066
330 Hazard Ave
Enfield, CT 06082


Methodist Men S Club Of Butler
Choctaw Area Council 302
South Mulberry
Butler, AL 36904


Methodist Men S Group/Community Umc
Occoneechee 421
507 W E St
Butner, NC 27509


Methodist Men Springfield
National Capital Area Council 082
7047 Old Keene Mill Rd
Springfield, VA 22150


Methodist Men Trinity U M C
Stonewall Jackson Council 763
147 S Main St
Lexington, VA 24450


Methodist Men‐Calvary Methodist Church
Baltimore Area Council 220
403 S Main St
Mount Airy, MD 21771


Methodist Men‐First Utd Methodist Ch
Old Hickory Council 427
340 Hawthorne Rd
Elkin, NC 28621


Methodist Men‐Los Banos Methodist Church
Greater Yosemite Council 059
1031 Iowa Ave
Los Banos, CA 93635


Methodist Men‐Pine Forest Utd
Tuscarora Council 424
867 Nc 581 Hwy S
Goldsboro, NC 27530


Methodist Mens Club
Black Warrior Council 006
P.O. Box 355
Demopolis, AL 36732


Methodist Mens Club
Central Georgia Council 096
Sandersville
Methodist Church
Sandersville, GA 31082


Methodist Mens Club
East Carolina Council 426
900 Arendell St
Morehead City, NC 28557


Methodist Mens Club
Greater Los Angeles Area 033
540 Main St
El Segundo, CA 90245


Methodist Mens Club
Northeast Georgia Council 101
Box 296
Social Cir, GA 30025


Methodist Mens Club
Northern Lights Council 429
75 3rd St W
Dickinson, ND 58601


Methodist Mens Club
South Georgia Council 098
117 Starksville Ave N
Leesburg United Methodist Church
Leesburg, GA 31763


Methodist Mens Club 1st Methodist Ch
New Birth Of Freedom 544
200 Frederick St
Hanover, Pa 17331


Methodist Mens Club East Cobb Utd
Atlanta Area Council 092
2325 Roswell Rd
Marietta, GA 30062


Methodist Mens Club Of 1St Meth Church
East Carolina Council 426
900 Arendell St
Morehead City, NC 28557


Methodist Mens Club Of Main Street
Blue Ridge Mtns Council 599
701 N Main St
Main St United Methodist Church
South Boston, VA 24592


Methodist Mens Club Of St James
c/o Leslie Hudson
East Carolina Council 426
P.O. Box 1662
Newport, NC 28570


Methodist Mens Club Pleasant Grove Umc
Occoneechee 421
4415 Pleasant Grove Church Rd
Raleigh, NC 27613


Methodist Mens Club‐1st Utd Methodist
Colonial Virginia Council 595
F U M Church Foxhill
1 Salt Pond Rd
Hampton, Va 23664


Methodist Mens Club‐First Methodist
Colonial Virginia Council 595
1 Salt Pond Rd
Hampton, VA 23664


Methodist Mens Club‐St James Methodist
East Carolina Council 426
Church
Newport, NC 28570


Methodist Mens Club‐St Mark Methodist
Sam Houston Area Council 576
600 Pecore St
Houston, TX 77009


Methodist Mens Org Of Lewisburg Umc
Buckskin 617
Lewisburg United Methodist Church
P.O. Box 69
Lewisburg, WV 24901


Methodist Upward Bound
Mid‐America Council 326
720 N 87th St
Omaha, NE 68114


Methodist Women Society Of Christian Ser
Pony Express Council 311
306 E Clay St
Albany, MO 64402


Methodist‐Commty
United Methodist Church
Grand Teton Council 107
190 S Holmes Ave
Shelley, Id 83274


Methuen Police Dept
The Spirit of Adventure 227
90 Hampshire St
Methuen, MA 01844


Methuen Youth Soccer Assoc Inc
The Spirit of Adventure 227
272 Broadway, Unit 1034
Methuen, MA 01844


Metlife
c/o Chris Davenport
5400 Lbj Freeway, Ste 1100
Dallas, TX 75240


Metlife
Dept 10579
Palatine, IL 60055‐0579


Metlife
Dept La 21296
Pasadena, CA 91185‐1296


Metlife Assignment Co Inc
Fbo Andrew Aston 220497
101 N Independence Mall E, Lb 780117
Philadelphia, PA 19106


Metolius Climbing
63189 Nells Anderson Rd
Bend, OR 97701


Metro Atlanta Kiwanis Club
Atlanta Area Council 092
309 Harris Manor Dr Sw
Atlanta, GA 30311


Metro Christian Academy
Indian Nations Council 488
6363 S Trenton Ave
Tulsa, OK 74136


Metro Community Development Corp
Greater Niagara Frontier Council 380
877 E Delavan Ave
Buffalo, NY 14215


Metro Law Enforcement Post
South Georgia Council 098
120 Prison Farm Rd
Valdosta, GA 31601


Metro Loading Services Inc
526 Orchard Ct
Des Plaines, IL 60016


Metro Management Inc
Offices At Ebenezer
500 Ebenezer Rd
Knoxville, TN 37923


Metro Material Handling Systems Inc
P.O. Box 14317
Fort Worth, TX 76117


Metro Research Services Inc
9990 Fairfax Blvd/ Lee Hwy, Ste 110
Fairfax, VA 22030


Metro Roofing Inc
P.O. Box 920631
Norcross, GA 30010


Metro Sales Inc
Attn Accounts Receivable
1620 E 78th St
Minneapolis, MN 55423‐4637


Metro Special Police      Security Serv Inc
P.O. Box 221207
Charlotte, NC 28222


Metro West Housing Maplewood
Denver Area Council 061
856 S Van Gordon Ct
Lakewood, CO 80228


Metro‐East Cadets Of Policing
Greater St Louis Area Council 312
10027 Bunkum Rd
Fairview Heights, IL 62208


Metroparks
Erie Shores Council 460
Central Ave
Toledo, OH 43606


Metroplex Control Systems, Inc
4582 Paysphere Cir
Chicago, IL 60674


Metroplex Office Systems Inc
2425 Mciver Ln, Ste 140
Carrollton, TX 75006‐6517


Metroplex Service Group Inc
144 W 37th St, 3rd Fl
New York, NY 10018


Metroplex Service Group Inc
P.O. Box 1415
New York, NY 10018


Metropolis
P.O. Box 608
Mount Morris, IL 61054‐8403


Metropolitan Baptist Church
East Carolina Council 426
1712 Maple Creek Dr
Rocky Mount, NC 27803


Metropolitan Baptist Church
East Carolina Council 426
P.O. Box 1952
1213 Leggett Rd
Rocky Mount, NC 27802


Metropolitan Commty College
Broadcasting
Mid‐America Council 326
P.O. Box 3777
Omaha, Ne 68103


Metropolitan Community College
Mid‐America Council 326
P.O. Box 3777
Omaha, NE 68103


Metropolitan Dance Alliance
Northern Star Council 250
1159 Shakopee Town Sq
Shakopee, MN 55379


Metropolitan Jr Baseball Leaque
Heart of Virginia Council 602
P.O. Box 9841
Henrico, VA 23228


Metropolitan Life Insurance Co
177 S Commons Dr
Aurora, IL 60504


Metropolitan Life Insurance Co
One Madison Ave
New York, NY 10010


Metropolitan Memorial Utd Methodist
National Capital Area Council 082
3401 Nebraska Ave Nw
Washington, DC 20016


Metropolitan Memorial Utd Methodist Ch
National Capital Area Council 082
3401 Nebraska Ave Nw
Washington, Dc 20016


Metropolitan Missionary Baptist Church
Heart of America Council 307
2310 E Linwood Blvd
Kansas City, MO 64109


Metropolitan Pier   Exposition Authority
301 E Cermak Rd
Chicago, IL 60616


Metropolitan Police Dept
Middle Tennessee Council 560
200 James Robertson Pkwy
Nashville, TN 37201
Metropolitan Printing Services
720 S Morton St
Bloomington, IN 47403


Metropolitan Tower Life Ins Co
200 Park Ave
New York, NY 10166‐0188


Mettler Toledo, Inc
21865 Network Pl
Chicago, IL 60673‐1218


Mettrys Dept Store Inc
101 S D A Mcgee
Wynnewood, OK 73098


Metzgar Elementary
Westmoreland Fayette 512
140 CC Hall Dr
New Alexandria, PA 15670


Metzger Elementary Pso
Cascade Pacific Council 492
10350 SW Lincoln St
Tigard, OR 97223


Metzger‐Crook V F W Post
Greater St Louis Area Council 312
406 Veterans Dr
Waterloo, IL 62298


Metzler Elementary PTO
Sam Houston Area Council 576
8500 W Rayford Rd
Spring, TX 77389


Mexia Lions Club
Longhorn Council 662
P.O. Box 94
Mexia, TX 76667
Mexico Police Dept
Pine Tree Council 218
P.O. Box 251
Mexico, ME 04257


Meyer D Jeffers
Address Redacted


Meyer Vogelpohl Inc
10311 Julian Dr
Cincinnati, OH 45215


Meyers Electric
570 Aj Allen Cir
P.O. Box 7
Wales, WI 53183


Meyersdale Utd Methodist Church
Laurel Highlands Council 527
336 Main St
Meyersdale, PA 15552


Mfa Oil Co
302 W Poplar St
Stanberry, MO 64489


Mfasco Health   Safety
P.O. Box 386
Roseville, MI 48066


Mfasco Health And Safety
P.O. Box 386
Roseville, MI 48066


Mfunds Global Payment Solutions Inc
9121 W Russell Rd, Ste 208
Las Vegas, NV 89148


Mgm ‐ Mike Gibson
17891 Karcher Rd
Caldwell, ID 83607
Mgm Resorts International
Bank of America‐Nevada
P.O. Box 748137
Los Angeles, CA 90074‐8137


Mhbt Inc
8144 Walnut Hill Ln, 16th Fl
Dallas, TX 75231


Mhc After 3 ‐ Phcc
Blue Ridge Mtns Council 599
645 Patriot Ave
Martinsville, VA 24112


Mhf Logan Operating V LLC
230 Lee Burbank Hwy
Revere, MA 02151


Mhf Logan Operating V LLC
300 Centerville Rd, Ste 300 E
Warwick, RI 02886


Mhi Hospitality Trs LLC
dba Hilton Philadelphia Airport
4509 Island Ave
Philadelphia, PA 19153


Mi Logan Elementary ‐ Gifw
Longhorn Council 662
4005 Campus Dr
P.O. Box 15520
Fort Worth, TX 76119


Mi Tierra Restaurant
Silicon Valley Monterey Bay 055
129 Main St
Salinas, CA 93901


Mi9 Retail Na Corp
Raymark Ulc
12000 Biscayne Blvd, Ste 600
Miami, FL 33181


Mia Carr
Address Redacted


Miami Beach Police Athletic League
South Florida Council 084
999 11th St
Miami Beach, FL 33139


Miami Beach Police Pal Explorers
South Florida Council 084
999 11th St
Miami Beach, FL 33139


Miami Central Senior High
South Florida Council 084
1781 NW 95th St
Miami, FL 33147


Miami County Ymca
Sagamore Council 162
34 E 6th St
Peru, IN 46970


Miami Dade Police Explorers Airport
South Florida Council 084
Building 3033
P.O. Box 25504
Miami, FL 33102


Miami Dade Police‐Station 5
South Florida Council 084
7707 SW 117th Ave
Miami, FL 33183


Miami Elks Lodge 948 Bpoe
South Florida Council 084
10301 SW 72nd St
Miami, FL 33173
Miami First Utd Methodist Church
Cherokee Area Council 469 469
200 B St Nw
Miami, OK 74354


Miami Heights Civic Assoc
Dan Beard Council, Bsa 438
3780 Shady Ln
North Bend, OH 45052


Miami Lakes Utd Methodist Church
South Florida Council 084
14800 NW 67th Ave
Miami Lakes, FL 33014


Miami Masonic Lodge 140
Cherokee Area Council 469 469
425 H St Nw
Miami, OK 74354


Miami Metro Weed   Seed Explorer Post
South Florida Council 084
1000 NW 62nd St
Miami, FL 33150


Miami Police Dept
South Florida Council 084
400 N W 2 Ave
Miami, FL 33128


Miami Pool Tech Inc
8493 NW 54th St
Doral, FL 33166


Miami Shores Police Dept
South Florida Council 084
9990 NE 2nd Ave
Miami Shores, FL 33138


Miami Township Fire‐Rescue
Tecumseh 439
225 Corry St
Yellow Springs, OH 45387


Miami Township Police Dept
Dan Beard Council, Bsa 438
5900 Mcpicken Dr
Milford, OH 45150


Miami University Of Ohio
Attn Office of the Bursar
301 S Campus Ave, Rm 107
Oxford, OH 45056


Miami Valley
7285 Poe Ave
Dayton, OH 45414


Miami Valley Christian Academy
Dan Beard Council, Bsa 438
6830 School St
Cincinnati, OH 45244


Miami Valley Cncl 444
7285 Poe Ave
Dayton, OH 45414


Miami Valley Council 444
7285 Poe Ave
Dayton, OH 45414


Miami Valley Council, Bsa
7285 Poe Ave
Dayton, OH 45414


Miami Valley Council, Bsa
839 Twin Oaks Dr
Riverside, OH 45431


Miami‐Dade Police Dept
South Florida Council 084
27555 SW 140 Ave
Homestead, FL 33032


Miami‐Dade Police Dept Post 526
South Florida Council 084
5975 Miami Lakes Dr E
Miami Lakes, FL 33014


Miami‐Dade Police Intracoastal Station
South Florida Council 084
15665 Biscayne Blvd
Miami, FL 33160


Miami‐Dade Police Midwest District
South Florida Council 084
9101 NW 25th St
Doral, FL 33172


Miami‐Dade Police Nside Explorer Post 63
South Florida Council 084
2950 N W 83 St
Miami, Fl 33147


Miami‐Dade Police Station 8 ‐ Hammocks
South Florida Council 084
10000 S W 142 Ave
Miami, FL 33186


Miamisburg Sportsmens Club
Miami Valley Council, Bsa 444
6300 S Union Rd
Miamisburg, OH 45342


Micah Donaldson
Address Redacted


Micah Huffman
Address Redacted


Micah J Bingaman
Address Redacted
Micah J Fansler
Address Redacted


Micah T Caruso
Address Redacted


Micci J Trolio
Address Redacted


Michael A Brignola
Address Redacted


Michael A Fredricks
Address Redacted


Michael A Gehrt
Address Redacted


Michael A Perry
Address Redacted


Michael A Pondel
Address Redacted


Michael A Santangelo
Address Redacted


Michael Adam
Address Redacted


Michael Adkins
Address Redacted


Michael Agee
Address Redacted


Michael Alberts
Address Redacted


Michael Aldridge
Address Redacted


Michael Allen
Address Redacted


Michael Allen Aulger   Odonnell Clark
Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Michael Anastasio
Address Redacted


Michael Ancheta
Address Redacted


Michael Anderson
Address Redacted


Michael Anderson PTO
Inland Nwest Council 611
400 W Fairchild Hwy
Fairchild Afb, WA 99011


Michael Andrew Browning
Address Redacted


Michael Andrews
Address Redacted


Michael Anthony Wilson
Address Redacted


Michael Arndt
Address Redacted
Michael Ashline
Address Redacted


Michael B Martinez
Address Redacted


Michael Baker
Address Redacted


Michael Baldwin
Address Redacted


Michael Ballew
Address Redacted


Michael Barry Goldman
Address Redacted


Michael Bartlett
Address Redacted


Michael Basilicato
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Michael Bassett
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Michael Beaumont
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Michael Beer
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Michael Bell
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Michael Bennett
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Michael Benson
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Michael Beratta
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Michael Bernhard
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Michael Biancucci
Address Redacted


Michael Biggers Jr
Address Redacted


Michael Blake
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Michael Bohannon
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Michael Boness
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Michael Bowdoin
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Michael Braham
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Michael Brandt
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Michael Broadston
Address Redacted
Michael Bruce
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Michael Buckner
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Michael Bulin
Address Redacted


Michael Burt
Address Redacted


Michael Buxrude
Address Redacted


Michael Byerley
Address Redacted


Michael C Brown
Address Redacted


Michael C Carley
Address Redacted


Michael C Fina Corporate Sales Inc
P.O. Box 36208
Newark, NJ 07188‐6208


Michael C Richards
Address Redacted


Michael C Sakalis
Address Redacted


Michael C Stinnett
Address Redacted
Michael Calvin Kent Motter
Address Redacted


Michael Carney
Address Redacted


Michael Catalano
Address Redacted


Michael Cathey
Address Redacted


Michael Chaffee
Address Redacted


Michael Chang
Address Redacted


Michael Charlesworth
Address Redacted


Michael Childers
Address Redacted


Michael Church
Address Redacted


Michael Churchman
Address Redacted


Michael Cidor
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Michael Clark
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Michael Cliff
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Michael Cofrancesco
Address Redacted


Michael Collins
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Michael Conner
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Michael Connor
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Michael Conrow
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Michael Cook
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Michael Cooney
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Michael Cowan
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Michael Cowles
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Michael Culpepper
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Michael Cuskelly
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Michael D Dratler
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Michael Daling
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Michael Dames
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Michael Daniher
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Michael David Murphy Iv
Address Redacted


Michael David Peeler
Address Redacted


Michael David Ramsey
Address Redacted


Michael Davies
Address Redacted


Michael De Los Santos
Address Redacted


Michael Deaton
Address Redacted


Michael Deering
Address Redacted


Michael Deming
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Michael Dennis
Address Redacted


Michael Denoy
Address Redacted
Michael Depollo Jr
Address Redacted


Michael Dimond
Address Redacted


Michael Dineen
Address Redacted


Michael Divis
Address Redacted


Michael Donaghue
Address Redacted


Michael Donnell
Address Redacted


Michael Donovan
Address Redacted


Michael Dow
Address Redacted


Michael Doyle
Address Redacted


Michael Dunnell
Address Redacted


Michael Dybeck
Address Redacted


Michael Dyer
Address Redacted
Michael E Gaik
Address Redacted


Michael E Mejia
Address Redacted


Michael E Sears
Address Redacted


Michael Eble Sr
Address Redacted


Michael Egan
Address Redacted


Michael Eldred
Address Redacted


Michael Elkins
Address Redacted


Michael Eschbach
Address Redacted


Michael Evano
Address Redacted


Michael Evans
Address Redacted


Michael Everett
Address Redacted


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137 Marketplace Blvd
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Corporate Div
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Michigan Dept Of Treasury
Attn Unclaimed Property Div
P.O. Box 30756
Lansing, MI 48909


Michigan Dept Of Treasury
Department 77802
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426 Auditorium Rd, Rm 140
East Lansing, MI 48824


Michigan State University
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Student Services Bldg
556 E Cir Dr, Rm 252
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Michigan Technological Universisty
Attn Cashiers Office
1400 Townsend Dr
Houghton, MI 49931


Michigan Youth In Government
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Crossroads of America 160
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1001 S Eisenhower Dr
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Mid America Sports Advantage
1413 S Meridian Rd
Jasper, IN 47546‐3831


Mid America Teen Cert
Greater St Louis Area Council 312
1725 Thoele Rd
Saint Peters, MO 63376


Mid America Teen Cert
Greater St Louis Area Council 312
907 Jungermann Rd
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Mid Atlantic Community Church
Baltimore Area Council 220
2485 Davidsonville Rd
Gambrills, MD 21054


Mid Coast Presbyterian Church
Pine Tree Council 218
P.O. Box 211
84 Main St
Topsham, ME 04086


Mid Columbia Senior Center
Cascade Pacific Council 492
1112 W 9th St
The Dalles, OR 97058


Mid Iowa Cncl 177
6123 Scout Trl
Des Moines, IA 50321


Mid Keys Sand   Rock Inc
815 100th St
Marathon, FL 33050


Mid Lane Cares
Oregon Trail Council 697
P.O. Box 344
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Mid Peninsula Housing Svcs Corp
Moonridge Facility
Pacific Skyline Council 031
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12401 W Maple Rd
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Suffolk County Council Inc 404
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31 Arnold Dr
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Middle Island Fire Dept
Suffolk County Council Inc 404
P.O. Box 203
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Middle Island Presbyterian Church
Suffolk County Council Inc 404
19 Longwood Rd
Ridge, NY 11961


Middle Island Presbyterian Church
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P.O. Box 187
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1199 Valley Rd
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Black Swamp Area Council 449
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Nashville, TN 37215‐0409


Middle Tennessee Cncl 560
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Garden State Council 690
112B Hand Ave
Cape May Court House, NJ 08210


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Ohio River Valley Council 619
308 E St
Middlebourne, WV 26149


Middlebrook Pike Utd Methodist Church
Great Smoky Mountain Council 557
7234 Middlebrook Pike
Knoxville, TN 37909


Middleburg Utd Methodist Church
North Florida Council 087
3925 Main St
Middleburg, FL 32068


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Leatherstocking 400
P.O. Box 1100
Middleburgh, NY 12122


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Great Trail 433
88 Kent St
Akron, OH 44305


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Attn Student Financial Services
84 S Service Rd
Middlebury, VT 05753
Middlebury Fire Dept
Five Rivers Council, Inc 375
P.O. Box 63
Middlebury Center, PA 16935


Middlebury Police Social Club
Connecticut Rivers Council, Bsa 066
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Patriots Path Council 358
P.O. Box 6687
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Middlefield Lions
Connecticut Rivers Council, Bsa 066
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405 Main St, Ste 7
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Sam Houston Area Council 576
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National Capital Area Council 082
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Middleport Volunteer Fire Co
Iroquois Trail Council 376
P.O. Box 94
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Seneca Waterways 397
6087 S Hill Rd
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Patriots Path Council 358
701 Livingston Ave
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545 Route 28
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Green Mountain 592
3 Church St
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West Tennessee Area Council 559
707 S Main St
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Daniel Webster Council, Bsa 330
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Lincoln Heritage Council 205
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Middletown, CA 95461


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Connecticut Rivers Council, Bsa 066
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Middletown, CT 06457


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Cradle of Liberty Council 525
273 S Old Middletown Rd
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Dan Beard Council, Bsa 438
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Monmouth Council, Bsa 347
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Middletown, NJ 07748


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Port Monmouth, NJ 07758


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6123 Scout Trail
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6123 Scout Trail
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11716 110 Spur Rd
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Midland Boys And Girls Club
Buffalo Trail Council 567
110 E New Jersey Ave
Midland, TX 79701


Midland Christian School
Buffalo Trail Council 567
2001 Culver Dr
Midland, TX 79705


Midland Fire Dept
Buffalo Trail Council 567
1500 W Wall St
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Midland Fire Protection District
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200 Springfield St
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Buffalo Trail Council 567
2705 W Michigan Ave
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Midland Park Utd Methodist Church
Northern New Jersey Council, Bsa 333
269 Godwin Ave
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Buffalo Trail Council 567
601 N Loraine St
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101 Buchanan Rd, Rm 4002
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4329 Tokay Blvd
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Midvale Ward ‐ LDS South Stake
Catalina Council 011
105 N Norton Ave
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Mid‐Valley Scouting Assoc
Great Salt Lake Council 590
4671 S Sunstone Rd
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4579 Old 8th St Rd N
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P.O. Box 679
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Norwela Council 215
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Twin Rivers Council 364
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Midway Methodist Church Mens Club
Great Rivers Council 653
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Midway Parent Teacher Org
Inland Nwest Council 611
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Midway Safe Harbor
Central Florida Council 083
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Last Frontier Council 480
320 N Midwest Blvd
Midwest City, OK 73110


Midwest Blvd Christian Church
Last Frontier Council 480
320 N Midwest Blvd
Midwest City, OK 73110


Midwest City Police Dept
Last Frontier Council 480
100 N Midwest Blvd
Midwest City, OK 73110


Midwest Consulting Group Inc
11880 College Blvd, Ste 400
Overland Park, KS 66210


Midwest Islamic Scouting Council
Blackhawk Area 660
4104 Champion Rd
Naperville, IL 60564


Midwest Islamic Scouting Council
Pathway To Adventure 456
P.O. Box 9617
Naperville, IL 60567


Midwest Islamic Scouting Council
Three Fires Council 127
4104 Champion Rd
Naperville, IL 60564


Midwest Lists   Media
c/o the Bradford Exchange
9333 N Milwaukee Ave
Niles, IL 60714


Midwest Mountaineering
Northern Star Council 250
309 Cedar Ave S
Minneapolis, MN 55454


Midwest Old Threshers
Mississippi Valley Council 141 141
405 E Thresher Rd
Mount Pleasant, IA 52641


Midwest Products Co Inc
P.O. Box 564
Hobart, IN 46342


Midwest Telecom   Vending
8575 County Line Rd
Odessa, MO 64076


Midwest Veterinary Hospital
Last Frontier Council 480
720 S Air Depot Blvd
Friend of Scouting
Midwest City, OK 73110


Midwife Las Vegas
Las Vegas Area Council 328
480 Manderley Ct
Las Vegas, NV 89123


Mie Oliphant
Address Redacted


Mifflin/Juniata Special Needs Center
Juniata Valley Council 497
31 S Dorcas St
Lewistown, PA 17044


Mifflinville Umc   St Johns Evan Luth Ch
Columbia‐Montour 504
P.O. Box U
Mifflinville, Pa 18631
Mighty Haul Inc
885 Crystal St
New Orleans, LA 70124‐3609


Migrant Education Project
Seneca Waterways 397
350 New Campus Dr
Cooper Center Suny
Brockport, NY 14420


Miguel Amaro Franco
Address Redacted


Miguel Huerta
Address Redacted


Miguel Lamadrid
Address Redacted


Miguel Medina
Address Redacted


Miguel Mireles
Address Redacted


Mikala Bland
Address Redacted


Mikanakawa Lodge 101
c/o Cir Ten Council
P.O. Box 35726
Dallas, TX 75235‐0726


Mike Careatti
Address Redacted


Mike Hughes Architechts
6945 S 69th E Ave
Tulsa, OK 74133
Mike Jackson
Address Redacted


Mike Kamprath
Address Redacted


Mike Motors Inc
908 E Sheridan
Ely, MN 55731


Mike Nielsen Logging Inc
1979 Sotlich Rd
Ely, MN 55731


Mike Pettey
Address Redacted


Mike Rowe Works Foundation
Attn Tina White
429 Santa Monica Blvd, Ste 710
Santa Monica, CA 90401


Mike Sluder Metalworks, LLC
111 Rubicon Rd
Peachtree City, GA 30269


Mike Spetko
400 17th St, Ste 2320
Atlanta, GA 30363


Mike Wolanin Photography
21576 Anchor Bay Dr
Noblesville, IN 46062


Mikeal Jolly
Address Redacted


Mikel S Photography   Design
Las Vegas Area Council 328
155 S Water St
Henderson, NV 89015


Mikels Fine Art Photography
155 S Water St 100
Henderson, NV 89015


Mikes Auto Body Inc
91795 Overseas Hwy
Tavernier, FL 33070


Mikey B S Perfect Image LLC
2129 Lattice Ct
Plano, TX 75075


Mikey B S Perfect Image LLC
dba Wow Vip Events
2129 Lattice Ct
Plano, TX 75075


Milagros Morales
Address Redacted


Milam Elementary PTA
Rio Grande Council 775
3800 N Main St
Mcallen, TX 78501


Milan Methodist Men S Group
West Tennessee Area Council 559
2000 Jones Blvd
Milan, TN 38358


Milan Presbyterian Church
Lake Erie Council 440
17 E Church St
Milan, OH 44846


Milan Utd Methodist Church
Hoosier Trails Council 145 145
P.O. Box 305
Milan, IN 47031


Mildred Bajorek
Address Redacted


Mildred Caterino
Address Redacted


Mildred Giesecke
Address Redacted


Mildred Linda Swan
Address Redacted


Mildred Moran
Address Redacted


Mildred Texas
Address Redacted


Mildred Weber
Address Redacted


Mile High Rotary Club
Denver Area Council 061
1673 N Sherman St
Denver, CO 80203


Mile Marker Party Rentals
7601 Overseas Hwy
Marathon, FL 33050


Miles Media Group Lllp
6751 Professional Pkwy W, Ste 200
Sarasota, FL 34240


Miles Media Group Lllp
c/o Miles Partnership
P.O. Box 54133
New Orleans, LA 70154


Miles P Mckinney
Address Redacted


Miles Parkway
Lake Erie Council 440
4090 E 93rd St
Cleveland, OH 44105


Miles School
Lake Erie Council 440
11918 Miles Ave
Cleveland, OH 44105


Milesburg American Legion Post 893
Juniata Valley Council 497
P.O. Box 318
Milesburg, PA 16853


Milestone
Blackhawk Area 660
4060 Mcfarland Rd
Loves Park, IL 61111


Milestone Centers Inc Ntac
Laurel Highlands Council 527
510 Seco Rd
Monroeville, PA 15146


Milestone Centers Inc‐Lawrenceville
Laurel Highlands Council 527
4126 Butler St
Pittsburgh, PA 15201


Milestone Centers,Inc‐ New Horizons
Laurel Highlands Council 527
10147 Frankstown Rd
Pittsburgh, PA 15235


Milestone Electric Inc
P.O. Box 1054
Rowlett, TX 75030


Milestone Garden City
Laurel Highlands Council 527
502 Laurel Dr
Monroeville, PA 15146


Milestone Inc
Blackhawk Area 660
315 N Church St
Rockford, IL 61101


Milestone Yough
Laurel Highlands Council 527
601 Davidson Rd
Pittsburgh, PA 15239


Milford American Legion 1566
Leatherstocking 400
Po 208
Milford, NY 13807


Milford Center Utd Methodist Church
Simon Kenton Council 441
55 E State St
Milford Center, OH 43045


Milford Congregational Church
Coronado Area Council 192
P.O. Box 308
101 Barry St
Milford, KS 66514


Milford Elks Lodge 1589
Connecticut Yankee Council Bsa 072
124 New Haven Ave
Milford, CT 06460


Milford Elks Lodge 2401
Del Mar Va 081
P.O. Box 63
Milford, DE 19963


Milford Fire Dept
Great Lakes Fsc 272
325 W Huron St
Milford, MI 48381


Milford Kiwanis Club
Mid‐America Council 326
1401 14th St
Milford, IA 51351


Milford Lions Club
Anthony Wayne Area 157
2080 E 1100 N
Milford, IN 46542


Milford Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 274
Milford, NH 03055


Milford Mill Utd Methodist Church
Baltimore Area Council 220
915 Milford Mill Rd
Baltimore, MD 21208


Milford Presbyterian Church
Great Lakes Fsc 272
238 N Main St
Milford, MI 48381


Milford Regional Medical
14 Prospect St
P.O. Box 190
Milford, MA 01757


Milford Utd Methodist Church
Dan Beard Council, Bsa 438
541 Main St
Milford, OH 45150
Milford Utd Methodist Church
Great Lakes Fsc 272
1200 Atlantic St
Milford, MI 48381


Mililani Ike PTO
Aloha Council, Bsa 104
95‐1330 Lehiwa Dr
Mililani, HI 96789


Mililani Mauka PTO
Aloha Council, Bsa 104
95‐1111 Makaikai St
Mililani, HI 96789


Mililani Town Assoc
Aloha Council, Bsa 104
95‐035 Kaloapau St
Mililani Town, HI 96789


Military Kids
6861 Elm St, Ste 2A
Mclean, VA 22101


Military Magnet Academy
Coastal Carolina Council 550
2650 Carner Ave
North Charleston, SC 29405


Military Preservation Society
Buckeye Council 436
2260 International Pkwy
North Canton, OH 44720


Military Service Co
5724 Hwy 280 E
Birmingham, AL 35242


Militrary Veterans Of Georgia
Northeast Georgia Council 101
P.O. Box 957
Auburn, GA 30011


Mill Creek Antiques
109 Newbbury Ave
Paxico, KS 66526


Mill Creek Elementary
Lincoln Heritage Council 205
3816 Dixie Hwy
Louisville, KY 40216


Mill Creek Elementary P.T.O.
North Florida Council 087
3750 International Golf Pkwy
Saint Augustine, FL 32092


Mill Creek Home And School Assoc
Washington Crossing Council 777
638 Bellflower Blvd
Warrington, PA 18976


Mill Creek Lions Club
Mount Baker Council, Bsa 606
P.O. Box 12022
Mill Creek, WA 98082


Mill Creek Parents For Scouting
Great Rivers Council 653
2200 W Nifong Blvd
Columbia, MO 65203


Mill Creek Parish Umc
National Capital Area Council 082
7101 Horizon Ter
Derwood, MD 20855


Mill Creek Trailblazers Assoc
Mount Baker Council, Bsa 606
3512 157th Pl Se
Bothell, WA 98012
Mill Creek U P Church Of Hookstown
Laurel Highlands Council 527
5005 Route 151
Hookstown, PA 15050


Mill Creek Utd Presbyterian Church
Laurel Highlands Council 527
5005 Route 151
Mill Creek United Presbyterian Church


Mill Grove Utd Methodist Church
Central N Carolina Council 416
7311 Mill Grove Rd
Indian Trail, NC 28079


Mill Plain Union Church
Connecticut Rivers Council, Bsa 066
242 Smayd Rd
Waterbury, CT 06705


Mill Street Home   School Assoc
Three Fires Council 127
1300 N Mill St
Naperville, IL 60563


Mill Valley PTO
Potawatomi Area Council 651
W191S6445 Hillendale Dr
Muskego, WI 53150


Millard Rotary/St Paul S Lutheran Church
Mid‐America Council 326
P.O. Box 391024
Omaha, NE 68139


Millbrook First Utd Methodist Church
Tukabatchee Area Council 005
3350 Edgewood Rd
Millbrook, AL 36054


Millbrook Utd Methodist Church
Occoneechee 421
1712 E Millbrook Rd
Raleigh, NC 27609


Millbrook Utd Methodist Church
Patriots Path Council 358
246 Millbrook Ave
Randolph, NJ 07869


Millbrook Vfw Post 9008
Hudson Valley Council 374
P.O. Box 905
Millbrook, NY 12545


Millbrooke PTO
Heart of America Council 307
11751 S Sunnybrook Blvd
Olathe, KS 66061


Millburn Congregal Utd Ch Christ
Northeast Illinois 129
19073 W Grass Lake Rd
Lake Villa, Il 60046


Millbury ‐ Baptist Church
Heart of New England Council 230
P.O. Box 222
Millbury, MA 01527


Millbury ‐ Federated Church
Heart of New England Council 230
20 Main St
Millbury, MA 01527


Millbury ‐ Saint Brigids Catholic Church
Heart of New England Council 230
59 Main St
Millbury, MA 01527


Millbury Fireman S Assoc
Erie Shores Council 460
111 N Main St
Millbury, OH 43447
Mille Lacs Benton Pheasants Forever
Central Minnesota 296
354 Maple Dr
Foley, MN 56329


Milledgeville Kiwanis Club AL Post 6
Central Georgia Council 096
P.O. Box 117
Milledgeville, Ga 31059


Milledgeville Police Dept Post 139
Central Georgia Council 096
125 Mcintosh
Milledgeville, GA 31061


Milledgeville Utd Methodist Church
Blackhawk Area 660
P.O. Box 847
Milledgeville, IL 61051


Millenia Elementary PTA
Central Florida Council 083
5301 Cypress Creek Dr
Orlando, FL 32811


Millennia Gardens Elementary PTA
Central Florida Council 083
3515 Gardens Ridge Way
Orlando, FL 32839


Millennium Es PTO
Pathway To Adventure 456
17830 84th Ave
Tinley Park, IL 60487


Miller   Martin PLLC
832 Georgia Ave, Ste 1200
Chattanooga, TN 37402‐2289


Miller Advertising Agency Inc
220 W 42Nd St, 12th Fl
New York, NY 10036


Miller Elementary PTA
South Plains Council 694
6901 Nashville Dr
Lubbock, TX 79413


Miller Hill Sand Lake PTA
Twin Rivers Council 364
8439 Miller Hill Rd
Averill Park, NY 12018


Miller Johnson Snell   Cummiskey Plc
45 Ottawa Ave Sw, Ste 1100
Grand Rapids, MI 49503


Miller Johnson Snell   Cummiskey Plc
P.O. Box 306
Grand Rapids, MI 49501‐0306


Miller Marine Inc
144 Coral Ave
Tavernier, FL 33070


Miller Monson Peshel
Polacek   Hoshaw Applc
501 W Broadway, Ste 700
San Diego, CA 92101‐3563


Miller Park Community Learning Center
Mid‐America Council 326
5625 N 28th Ave
Omaha, NE 68111


Miller Pembleton, LLC
dba Answers In Motion, LLC
204 S Lippincott Ave
Maple Shade, NJ 08052


Miller Place Civic Assoc Inc
Suffolk County Council Inc 404
P.O. Box 1231
Miller Pl, NY 11764


Miller Place Fire Dept
Suffolk County Council Inc 404
P.O. Box 5590
12 Miller Pl Rd


Miller Transportation
111 Outer Loop
Louisville, KY 40214


Miller Transportation
4045 Park 65 Dr
Indianapolis, IN 46254


Miller, Walsh, Kutz    Laster PLLC
Colonial Virginia Council 595
12610 Patrick Henry Dr
Newport News, VA 23602


Millers Creek Methodist Church
Old Hickory Council 427
4705 Boone Trl
Millers Creek, NC 28651


Millers Pharmacy
101 S Broad St
P.O. Box 590
Kalida, OH 45853


Millersburg American Legion 484
Lasalle Council 165
106 W Washington St
P.O. Box 111


Millersburg Rotary Club
New Birth of Freedom 544
203 Nelson Ter
Millersburg, PA 17061
Millersburg Utd Methodist Church
Buckeye Council 436
5395 Township Rd 336
Millersburg, OH 44654


Millersville Community Umc
Pennsylvania Dutch Council 524
163 W Frederick St
Millersville, PA 17551


Millersville Lions Club
Pennsylvania Dutch Council 524
P.O. Box 25
Millersville, PA 17551


Millersville University Of Pennsylvania
Attn Bursars Office
P.O. Box 1002
Millersville, PA 17551‐0302


Milliman Inc
1120 S 101st St, Ste 400
Omaha, NE 68124‐1088


Milliman Usa Inc
101 W Renner Rd, Ste 325
Richardson, TX 75082


Milliman, Inc
101 W Renner Rd, Ste 325
Richardson, TX 75082


Millington Church Of God
Water and Woods Council 782
4855 Barnes Rd
Millington, MI 48746


Millington Rotary Club
Water and Woods Council 782
4922 Barnes Rd
Millington, MI 48746
Millinocket Elks Lodge 1521
Katahdin Area Council 216
213 Aroostook Ave
Millinocket, ME 04462


Million Air Dallas
4300 Wgrove Dr
Addison, TX 75001


Mills Automotive Group Inc
dba Crossroads Chevrolet
191 Crossroads Dr
Mount Hope, WV 25880


Mills Elementary School P.T.A.
Capitol Area Council 564
6201 Davis Ln
Austin, TX 78749


Mills River Presbyterian Church
Daniel Boone Council 414
26 Presbyterian Church Rd
Mills River, NC 28759


Mills River Utd Methodist Church
Daniel Boone Council 414
137 Old Turnpike Rd
Mills River, NC 28759


Millstadt Police Dept
Greater St Louis Area Council 312
108 W White St
Millstadt, IL 62260


Millstone Township Fire Co
Monmouth Council, Bsa 347
P.O. Box 213
Perrineville, NJ 08535


Milltown Sailing
Mount Baker Council, Bsa 606
410 14th St
Everett, WA 98201


Millville Christian Church     Doc
Columbia‐Montour 504
245 E Main St
Millville, PA 17846


Millville Police Dept
Garden State Council 690
18 S High St
Millville, NJ 08332


Millwood Fire Co 1
Westchester Putnam 388
100 Millwood Rd
Millwood, NY 10546


Millwood Fire House
Westchester Putnam 388, Route 120
Millwood, NY 10546


Millwood Presbyterian Church
Inland Nwest Council 611
3223 N Marguerite Rd
Spokane, WA 99212


Milne Elem ‐ Kc 3910
Sam Houston Area Council 576
7800 Portal Dr
Houston, TX 77071


Milo American Legion Post 263
Mid Iowa Council 177
P.O. Box 181
210 Main St
Milo, IA 50166


Milo Blakely
Address Redacted
Milpitas Christian School
Silicon Valley Monterey Bay 055
3435 Birchwood Ln
San Jose, CA 95132


Milpitas Fire Explorer Program
Silicon Valley Monterey Bay 055
777 S Main St
Milpitas, CA 95035


Milpitas Police Dept
Silicon Valley Monterey Bay 055
1275 N Milpitas Blvd
Milpitas, CA 95035


Milpitas Police Officers Assoc
Silicon Valley Monterey Bay 055
1275 N Milpitas Blvd
Milpitas, CA 95035


Milpitas Rotary Club
Silicon Valley Monterey Bay 055
835 Kizer St
Milpitas, CA 95035


Milroy Utd Methodist Church
Crossroads of America 160
Pleasant   Church
114 N Pleasant St


Milton American Legion Post 367
Glaciers Edge Council 620
410 Elm St
Milton, WI 53563


Milton Baptist Church
Buckskin 617
1123 Church St
Milton, WV 25541


Milton Bothun
Address Redacted


Milton Carwile
Address Redacted


Milton Civic Org
Evangeline Area 212
101 Camelot Hill Dr
Youngsville, LA 70592


Milton Engine Co No 1
Rip Van Winkle Council 405
P.O. Box 282
Milton, NY 12547


Milton Fire Dept Inc
Susquehanna Council 533
121 Ridge Ave
Milton, PA 17847


Milton Hershey School
New Birth of Freedom 544
P.O. Box 830
Hershey, PA 17033


Milton Police Dept
Atlanta Area Council 092
13000 Deerfield Pkwy 107F
Milton, GA 30004


Milton Presbyterian Church
Great Trail 433
P.O. Box 306
250 N St
Rittman, OH 44270


Milton Seventh Day Baptist Church
Glaciers Edge Council 620
720 E Madison Ave
Milton, WI 53563
Milton Utd Methodist Church
Glaciers Edge Council 620
P.O. Box 158
Milton, WI 53563


Milton Utd Methodist Church
Lincoln Heritage Council 205
11100 Hwy 421 N
Milton, KY 40045


Milton Utd Methodist Church
Patriots Path Council 358
316 Dover Milton Rd
Oak Ridge, NJ 07438


Milton Williams Sr
Address Redacted


Milw Brain Inj Soc   Plymouth Church
Three Harbors Council 636
2717 E Hampshire Ave
Milwaukee, WI 53211


Milwaukee Building   Construction Trades
Three Harbors Council 636
5941 W Bluemound Rd
Milwaukee, Wi 53213


Milwaukee Christian Center
Three Harbors Council 636
807 S 14th St
Milwaukee, WI 53204


Milwaukee Christian Ctr‐Kagel Safe Place
Three Harbors Council 636
807 S 14Th St
Milwaukee, Wi 53204


Milwaukee County Sheriffs Office
Three Harbors Council 636
821 W State St
Milwaukee, WI 53233
Milwaukee German Immersion PTA
Three Harbors Council 636
3778 N 82nd St
Milwaukee, WI 53222


Milwaukee Glove Co
1630 Industrial Pkwy
Marinette, WI 54143‐0107


Milwaukee Police Dept ‐ Dist 3
Three Harbors Council 636
2333 N 49th St
Milwaukee, WI 53210


Milwaukee Police Dept District 2
Three Harbors Council 636
245 W Lincoln Ave
Milwaukee, WI 53207


Milwaukee Police Dept District 4
Three Harbors Council 636
6929 W Silver Spring Dr
Milwaukee, WI 53218


Milwaukee School Of Engineering
Attn Financial Aid
1025 N Broadway
Milwaukee, WI 53202‐3109


Milwaukee Yacht Club   Friends Ship 5069
Bay‐Lakes Council 635
1700 N Lincoln Memorial Dr
Milwaukee, Wi 53202


Milwaukie Inc
dba Day Wireless Systems
P.O. Box 22169
Milwaukie, OR 97269


Milwaukie Lutheran Church
Cascade Pacific Council 492
3810 SE Lake Rd
Milwaukie, OR 97222


Milwaukie Presbyterian Church
Cascade Pacific Council 492
2416 SE Lake Rd
Milwaukie, OR 97222


Mimeo.Com Inc
P.O. Box 654018
Dallas, TX 75265


Mimeocom
16 W 22nd St, 10th Fl
New York, NY 10010


Mims Elementary School
Central Florida Council 083
3252 US Highay 1
Mims, FL 32754


Mina Robbins
Address Redacted


Minadeo Elementary School PTO
Laurel Highlands Council 527
6502 Lilac St
Pittsburgh, PA 15217


Mind Cave
Circle Ten Council 571
632 Inglenook Ct
Coppell, TX 75019


Mindbreak LLC
523 Madison St
St Charles, MO 63301


Minden Pictures Inc
9565 Sequel Dr, Ste 202
Aptos, CA 95003


Minden Utd Church Of Christ
Mid‐America Council 326
106 Lincoln St
Minden, IA 51553


Mindseeker, Inc
20130 Lakeview Center Plz, Ste 320
Ashburn, VA 20147


Mindseeker, Inc
P.O. Box 743672
Atlanta, GA 30384‐3672


Mindshift Technologies Inc
Invision Managed Hosting
47 Mall Dr
Commack, NY 11725


Mindsprouts Personal Growth
Therapy LLC
P.O. Box 5407
Frisco, TX 75035


Mindstorm Communications Group Inc
1415 S Church St, Ste D
Charlotte, NC 28203


Mindy Ellen Levine Behavioral Health Ctr
Mecklenburg County Council 415
16740 Davidson Concord Rd
Davidson, Nc 28036


Mindy Lawrence
Address Redacted


Mindy Sanders
Address Redacted
Mine Hill Eductional Foundation
Patriots Path Council 358
42 Canfield Ave
Mine Hill, NJ 07803


Miner Ltd
dba Overhead Door Co of Dallas
2617 Andjon
Dallas, TX 75220


Miner North Texas
11827 Tech Com, Ste 115
San Antonio, TX 78233


Miner School PTO
Pathway To Adventure 456
1101 E Miner St
Arlington Heights, IL 60004


Mineral Ridge Church Of Christ
Great Trail 433
3911 Main St
Mineral Ridge, OH 44440


Mineral Springs Utd Methodist Church
Central N Carolina Council 416
P.O. Box 67
Mineral Springs, NC 28108


Mineral Springs Utd Methodist Church
Central N Carolina Council 416
P.O. Box 67
5915 Old Waxhaw Monroe Rd


Mineral Technology Corp
4721 Paso Del Puma Ne
Albuquerque, NM 87111‐3076


Mineral Utd Methodist Church
Stonewall Jackson Council 763
301 W 3rd St
Mineral, VA 23117
Mineral Wells Utd Methodist Church
Chickasaw Council 558
5400 Center Hill Rd
Olive Branch, MS 38654


Miners Colfax Medical Center
200 Hospital Dr
Raton, NM 87740


Miners Colfax Medical Center
203 Hospital Dr
Raton, NM 87740


Minerva Sportsmans Club
Buckeye Council 436
9247 Arrow Rd Nw
Minerva, OH 44657


Minetto Utd Methodist Church
Longhouse Council 373
P.O. Box 217
Minetto, NY 13115


Minford Volunteer Fire Dept
Simon Kenton Council 441
8484 Ohio‐335
Minford, OH 45653


Mingo Creek Presbyterian Church
Laurel Highlands Council 527
561 Mingo Church Rd
Finleyville, PA 15332


Mingo Junction Fire Dept
Ohio River Valley Council 619
501 Commercial St
Mingo Jct, OH 43938


Mingus Flooring
2078 E Manhattan
Tempe, AZ 85282


Minier Christian Church
W D Boyce 138
P.O. Box 770
Minier, IL 61759


Minimus
218 N Castilian Ave
Thousand Oaks, CA 91320


Minister Of Finance
101‐401 York Ave
Winnipeg, Mb R3C 0P8
Canada


Minister Of Finance ‐ Manitoba
101‐401 York Ave
Winipeg, MB R3C OP8
Canada


Minister Of Finance ‐ Manitoba
101‐401 York Avenue
Winipeg, MB R3C 0P8
Canada


Ministerio Internacional Nueva Vida
Mecklenburg County Council 415
10328 the Plaza Rd Extension
Charlotte, NC 28215


Ministry Of Revenue
33 King St W
P.O. Box 620
Oshawa, ON L1H 8E9
Canada


Ministry Of Transportation
Thunder Bay Area Office
615 James St S ‐ Corridor Mgmt Ofc
Thunder Bay, On P7E 6P6
Canada
Minneapolis Clinic Of Neurology, Ltd
P.O. Box 860230
Minneapolis, MN 55486‐0230


Minneapolis Fire Dept
Northern Star Council 250
350 S 5th St, Ste 231
Minneapolis, MN 55415


Minneapolis Police Explorers
Northern Star Council 250
4119 Dupont Ave N
Minneapolis, MN 55412


Minneapolis Public Sch Grand Lodge Mason
Northern Star Council 250
11501 Masonic Home Dr
Bloomington, Mn 55437


Minnehaha County Sheriffs Office
Sioux Council 733
320 W 4th St
Sioux Falls, SD 57104


Minnehaha Utd Methodist Church
Northern Star Council 250
3701 E 50th St
Minneapolis, MN 55417


Minnesota Assoc Of Deaf Citizens
Northern Star Council 250
1824 Marshall Ave
Saint Paul, MN 55104


Minnesota Child Support Payment Center
P.O. Box 64306
St Paul, MN 55164‐0306


Minnesota Coaches   Voyager Bus Co
3941 E Calvary Rd
Duluth, MN 55803


Minnesota Commerce Dept
Unclaimed Property Section
133 E 7th St
St Paul, MN 55101


Minnesota Dept Of Commerce
85 7th Pl E ‐, Ste 500
St Paul, MN 55101


Minnesota Dept Of Commerce
Unclaimed Property Program
85 7th Pl E, Ste 280
St Paul, MN 55101‐2198


Minnesota Dept Of Health
625 Robert St N
P.O. Box 64495
St Paul, MN 55164‐0495


Minnesota Dept Of Revenue
P.O. Box 64622
St Paul, MN 55164‐0622


Minnesota Fire Exploring Assoc
Northern Star Council 250
4101 Reservoir Blvd
Minneapolis, MN 55421


Minnesota Lake Lions Club
Twin Valley Council Bsa 283
200 Higbie Ave E
Minnesota Lake, MN 56068


Minnesota Law Enforcement Explorer Assoc
Northern Star Council 250
5115 Excelsior Blvd 310
St Louis Park, MN 55416


Minnesota Office Of The Attorney General
Consumer Protection Div
9001 Mail Service Center
Raleigh, NC 27699‐9001


Minnesota Pilots Assoc
Northern Star Council 250
3209 Galleria, Unit 1602
Edina, MN 55435


Minnesota Revenue
Mail Station 3331
St Paul, MN 55146‐3331


Minnesota Secretary Of State
Retirement Systems of Minnesota Building
60 Empire Dr, Ste 100
St Paul, MN 55103


Minnesota State
dba Minnesota State Univ Moorhead
1104 7th Ave S
Moorhead, MN 56563


Minnesota State Attorneys General
State Capitol, Ste 102
St. Paul, MN 55155


Minnesota State College And University
30 7th St E, Ste 350
St Paul, MN 55101


Minnesota State College And University
dba Metropolitan State University
700 E 7th St
St Paul, MN 55106


Minnesota State Patrol
Northern Star Council 250
445 Minnesota St 130
Saint Paul, MN 55101
Minnesota State University Mankato
Attn Office of the Registrar
132 Wigley Admin Center
Mankato, MN 56001


Minnesota Surplus Stores, Inc
Store 2
1910 W Superior St
Duluth, MN 55806


Minnesota Transportation Museum
Northern Star Council 250
193 Pennsylvania Ave E
Saint Paul, MN 55130


Minnesota Ui Fund
P.O. Box 64621
St Paul, MN 55164‐0621


Minnetonka Police Dept
Northern Star Council 250
14600 Minnetonka Blvd
Minnetonka, MN 55345


Minnie R Gillett
Address Redacted


Minooka Lions Club
Rainbow Council 702
121 E Mcevilly Rd
Minooka, IL 60447


Minooka Police Dept
Rainbow Council 702
121 E Mcevilly Rd
Minooka, IL 60447


Minor Construction Inc
P.O. Box 292
Cimarron, NM 87714
Minor Elementary School
Greater Alabama Council 001
2425 Ave S Ensley
Birmingham, AL 35218


Minor Memorial Utd Methodist Church
Chickasaw Council 558
6120 Goodman Rd
Walls, MS 38680


Minors Lane Elementary School
Lincoln Heritage Council 205
8510 Minors Ln
Louisville, KY 40219


Minors Lane Sch Based
Decision Making Council
Lincoln Heritage Council 205
8510 Minor Ln
Louisville, Ky 40219


Minot 1St Ward, Minot Nd Stake
Northern Lights Council 429
2025 9th St Nw
Minot, ND 58703


Minot 2Nd Ward, Minot Nd Stake
Northern Lights Council 429
3740 Crossing St Sw
Minot, ND 58701


Minot 3Rd Ward Minot Nd Stake
Northern Lights Council 429
2025 9th St Nw
Minot, ND 58703


Minot 4Th Ward Minot Nd Stake
Northern Lights Council 429
2025 9th St Nw
Minot, ND 58703


Minot Police Dept
Northern Lights Council 429
515 2nd Ave Sw
Minot, ND 58701


Minsi Trails
P.O. Box 20624
Lehigh Valley, PA 18002‐0624


Minsi Trails Council
Minsi Trails Council 502
P.O. Box 20624
Lehigh Valley, PA 18002


Minsi Trails Council, Bsa
991 Postal Rd
Allentown, PA 18109


Minsi Trls Cncl 502
P.O. Box 20624
Lehigh Valley, PA 18002‐0624


Minster Civic Assoc
Black Swamp Area Council 449
P.O. Box 128
Minster, OH 45865


Mint Hill Catering LLC
dba Corporate Caterers
13335 SW 124th St, Ste 201
Miami, FL 33186


Mint Hill Police Dept
Mecklenburg County Council 415
7200 Matthews Mint Hill Rd
Mint Hill, NC 28227


Mint Valley Elementary PTO
Cascade Pacific Council 492
2745 38th Ave
Longview, WA 98632
Mintonye Elementary PTO
Sagamore Council 162
2000 W 800 S
Lafayette, IN 47909


Minu Kragler
Address Redacted


Minuteman Marketing
10300 Woffice, Ste 100
Houston, TX 77042


Minuteman Press Of Hanover
955 Carlisle St
Hanover, PA 17331


Minyard Box Fine Arts Services LLC
9522 Tarleton St
Dallas, TX 75218


Mio Utd Methodist Church
Water and Woods Council 782
1101 W 8th St
Mio, MI 48647


Mira Bay
Greater Tampa Bay Area 089
107 Manns Harbor Dr
Apollo Beach, FL 33572


Mira Mesa Community Foundation
San Diego Imperial Council 049
8917 Caminito Nera
San Diego, CA 92196


Mira Mesa Community Foundation
San Diego Imperial Council 049
P.O. Box 261592
San Diego, CA 92196


Mira Mesa Moose Lodge 2108
San Diego Imperial Council 049
8670 Miramar Rd, Ste T
San Diego, CA 92126


Miracle Baptist Church
Georgia‐Carolina 093
1308 Hephzibah Mcbean Rd
Hephzibah, GA 30815


Miracle Hot Springs
Snake River Council 111
P.O. Box 588
Buhl, ID 83316


Miraculous Medal Catholic Church
Greater Los Angeles Area 033
820 N Garfield Ave
Montebello, CA 90640


Miramar Police Dept Explorers
South Florida Council 084
11765 City Hall Promenade
Miramar, FL 33025


Miramonte Parents Club
Sequoia Council 027
1590 Bellaire Ave
Clovis, CA 93611


Miranda Miller
Address Redacted


Miranda Otjen
Address Redacted


Miranda Stroupe
Address Redacted


Mire Volunteer Fire Dept
Evangeline Area 212
5248 Mire Hwy
Rayne, LA 70578


Miriam Altshuler Literary Agency
53 Old Post Rd N
Red Hook, NY 12571


Miriam Cinfel
Address Redacted


Miriam Henry Hussey
Address Redacted


Miriam K Jackson
Address Redacted


Miriam Quiros
Address Redacted


Mirick, O connell, Demallie   Lougee Llp
Attn Kate P Foley
1800 W Park Dr, Ste 400
Westborough, MA 01581


Mirick, O connell, Demallie   Lougee Llp
Attn Paul W Carey
100 Front St
Worcester, MA 01608


Mirinda Hattervig Dba Stitch Sew Nice
108 N Main Box 339
Howard, SD 57349


Miro Industries
Utah National Parks 591
844 S 430 W
Heber City, UT 84032


Mirth Pack
Address Redacted
Mirvat Lutfi
Address Redacted


Misael Franqui
Address Redacted


Misawa Logistic Officer Assoc
Far E Council 803, Unit 5012
Apo Ap, 96319


Misd Community Education
Attn Ed2Go
405 E Davis St
Mesquite, TX 75149


Miske Capital LLC
1308 Riverview Tower
1920 S 1st St
Minneapolis, MN 55454


Misko Sports, Inc Of Kearney
2014 Central Ave
Kearney, NE 68847


Miss Selma S School
Quapaw Area Council 018
7814 T St
Little Rock, AR 72227


Missaukee Conservation Club
President Gerald R Ford 781
1431 N Morey Rd
Lake City, MI 49651


Missiah College
Business Office
Box 3011 ‐ One College Ave
Grantham, PA 17027


Mission Baptist Church
Central N Carolina Council 416
12444 Mission Church Rd
Locust, NC 28097


Mission Church Of The Nazarene
San Diego Imperial Council 049
4750 Mission Gorge Pl
San Diego, CA 92120


Mission Covenant Church
Bay‐Lakes Council 635
1001 N 2nd St
Ishpeming, MI 49849


Mission Covenant Church
Voyageurs Area 286
5161 S County Rd P
Poplar, WI 54864


Mission Hills Christian School
Orange County Council 039
29582 Aventura
Rancho Santa Margarita, CA 92688


Mission Hills Church
Denver Area Council 061
620 Spark Dr
Littleton, CO 80120


Mission Hills Methodist Church
San Diego Imperial Council 049
4044 Lark St
San Diego, CA 92103


Mission Inn
Attn Linda Morgan
3649 Mission Inn Ave
Riverside, CA 92501


Mission Lions Club
Rio Grande Council 775
P.O. Box 268
Mission, TX 78573


Mission Lutheran Church
Orange County Council 039
24360 Yosemite Rd
Laguna Niguel, CA 92677


Mission Outreach Bd Our Saviors Lutheran
Mt Diablo‐Silverado Council 023
1035 Carol Ln
Lafayette, CA 94549


Mission Peak Lodge 114 I.O.O.F.
San Francisco Bay Area Council 028
40955 Fremont Blvd
Fremont, CA 94538


Mission Police Dept
Rio Grande Council 775
1200 E 8th St
Mission, TX 78572


Mission Springs Community Church
San Francisco Bay Area Council 028
48989 Milmont Dr
Fremont, CA 94538


Mission Trail PTO
Heart of America Council 307
13200 Mission Rd
Leawood, KS 66209


Mission Valley Elementary PTO
South Texas Council 577
12063 Fm 236
Victoria, TX 77905


Mission Valley Free Methodist Church
Greater Los Angeles Area 033
1201 S San Gabriel Blvd
San Gabriel, CA 91776
Mission Viejo Elks Lodge 2444
Orange County Council 039
25092 Marguerite Pkwy
Mission Viejo, CA 92692


Mission Woods Community Of Christ Church
Heart of America Council 307
2800 NW Duncan Rd
Blue Springs, MO 64015


Mississippi Attorney General S Office
Consumer Protection and Antitrust Div
4205 State St
P.O. Box 1054
Bismarck, ND 58502‐1054


Mississippi Blvd Christian Church
Chickasaw Council 558
70 N Bellevue Blvd
Memphis, TN 38104


Mississippi College
Attn Enrollment Services
Box 4035
Clinton, MS 39058


Mississippi County Caring Communities
Greater St Louis Area Council 312
603 N Garfield St
East Prairie, MO 63845


Mississippi Sos
125 S Congress St
Jackson, MS 39201


Mississippi State Attorneys General
Dept. of Justice
P.O. Box 220
Jackson, MS 39205‐0220


Mississippi State University
Attn Sponsored Student Office
P.O. Box 5328
Miss State, MS 39762


Mississippi Valley
2522 Locust St
Quincy, IL 62301


Mississippi Valley Cncl 141
2336 Oak St
Quincy, IL 62301‐3240


Mississippi Valley Cncl/Dist
3007 Flint Hill Dr
Burlington, IA 52601‐1754


Missoula County Sheriffs Office
Montana Council 315
200 W Broadway St
Missoula, MT 59802


Missoula Downtown Lions Club
Montana Council 315
16995 Mullan Rd
Frenchtown, MT 59834


Missoula Exchange Club
Montana Council 315
P.O. Box 8926
Missoula, MT 59807


Missouri Attorney General
P.O. Box 899
Jefferson City, MO 65102‐0899


Missouri Boot    Shoe Co
951 Burr Crossing Rd
Neosho, MO 64850


Missouri City Police Dept
Sam Houston Area Council 576
3849 Cartwright Rd
Missouri City, TX 77459


Missouri Dept of Revenue
Bankruptcy Unit
Attn Steven A Ginther
P.O. Box 475
Jefferson City, MO 65105‐0475


Missouri Div Of Employment Security
Missouri Dept of Labor   Ind Relations
P.O. Box 59
Jefferson City, MO 65104‐0059


Missouri Military Academy
Great Rivers Council 653
204 N Grand St
Mexico, MO 65265


Missouri Secretary Of State
600 W Main St, Rm 322
Jefferson City, MO 65101‐1592


Missouri State Highway Patrol
Greater St Louis Area Council 312
4947 Hwy 67 N
Poplar Bluff, MO 63901


Missouri State Hwy Patrol
Custodian of Records
P.O. Box 9500
Jefferson City, MO 65102‐9500


Missouri State Treasurer
Unclaimed Property Section
P.O. Box 1272
Jefferson City, MO 65102‐1272


Missouri Valley Family Ymca
Northern Lights Council 429
1608 N Washington St
Bismarck, ND 58501
Missty Eva Owens
Address Redacted


Mister Clay Co
103‐305 Kuembitmaeul
Bonggang Jiphyeon
Jinju City Gyeonganm, 660794
Korea, Republic Of


Mister Snacks Inc
500 Creekside Dr, P.O. Box 988
Amherst, NY 14226‐0988


Mister Sweeper Inc
P.O. Box 560048
Dallas, TX 75356‐0048


Misty Hale
Address Redacted


Misty Schalk
Address Redacted


Mit ‐ Lincoln Laboratories
The Spirit of Adventure 227
244 Wood St
Lexington, MA 02421


Mitch D Hanna
Address Redacted


Mitchell A Afflick
Address Redacted


Mitchell A Harvey
Address Redacted


Mitchell Blvd. Elementary ‐ Gifw
Longhorn Council 662
3601 Mitchell Blvd
Fort Worth, TX 76105


Mitchell Brooks
Address Redacted


Mitchell Brumleve
Address Redacted


Mitchell Chatman
Address Redacted


Mitchell County Vfw Post 6242
Coronado Area Council 192
702 E S St
Beloit, KS 67420


Mitchell D Mcneill
Address Redacted


Mitchell D Vose
Address Redacted


Mitchell Elementary Team Up
Nevada Area Council 329
1216 Prater Way
Sparks, NV 89431


Mitchell Feragen
Address Redacted


Mitchell Garabedian Attorney
100 State St, 6th Fl
Boston, MA 02109


Mitchell Garabedian Attorney
Obo Albert Cochrane
100 State St, 6th Fl
Boston, MA 02109
Mitchell Gatlin
Address Redacted


Mitchell H Bunch
Address Redacted


Mitchell Johnson
Address Redacted


Mitchell Lang   Smith
101 SW Main St 2000 One Main Pl
Portland, OR 97204‐3230


Mitchell Middle Lighted Schoolhouse
Three Harbors Council 636
3109 Mount Pleasant St
Racine, WI 53404


Mitchell Presbyterian Church
Hoosier Trails Council 145 145
P.O. Box 245
Mitchell, IN 47446


Mitchell Preus
Address Redacted


Mitchell Raeck
Address Redacted


Mitchell S Nursery
Old Hickory Council 427
1088 W Dalton Rd
King, NC 27021


Mitchell Septic Tank LLC
P.O. Box 370286
Key Largo, FL 33037‐0286
Mitchell Silberberg   Knupp, LLP
11377 W Olympic Blvd
Los Angeles, CA 90064


Mitchell T Babej
Address Redacted


Mitchell Technical Institute
Attn Grant Uecker
821 N Capital St
Mitchell, SD 57301


Mitchell Thompson
Address Redacted


Mitchell Utd Methodist Church
Longs Peak Council 062
1845 Broadway St
Mitchell, NE 69357


Mitchell, Williams, Selig, Gates
Woodyard Pllc
425 W Capitol Ave, Ste 1800
Little Rock, AR 72201


Mitchell,Frank   Linda
248 Emerick Rd
Schellsburg, PA 15559‐8322


Mitchelle Kennedy
Address Redacted


Mitchells, Inc
2303 Concord Pike
Wilmington, DE 19803


Mitchellville Christian Church
Mid Iowa Council 177
214 3rd St Nw
Mitchellville, IA 50169
Mi‐T‐Fine Car Wash, Inc
P.O. Box 153684
Irving, TX 75015


Mithun Inc
Pier 56 1201 Alaskan Way 200
Seattle, WA 98101


Mittera Group
1312 Locust St, Ste 202
Des Moines, IA 50309


Mittera Group
dba J B Kenehan
P.O. Box 310471
Des Moines, IA 50331‐0471


Mittineague Congregational Church
Western Massachusetts Council 234
1840 Wfield St
West Springfield, MA 01089


Mitzi Cain
Address Redacted


Mitzi Perry
Address Redacted


Mitzi Smith
Address Redacted


Mitzvah Circle Foundation
Cradle of Liberty Council 525
1561 Gehman Rd
Harleysville, PA 19438


Mix Printing Co
2441 Midway Rd
Carrollton, TX 75006
Mixit Recording
Sagamore Council 162
P.O. Box 164
420 E N St
Galveston, IN 46932


Mizpah Masonic Lodge 191 So St Paul
Northern Star Council 250
P.O. Box 2598
Inver Grove Heights, MN 55076


Mj Clark Creative Design Svcs Inc
714 W Alfred St
Tampa, FL 33603‐5515


Mj Mayrosh Architecture LLC
514 S Hoffert St
Bethlehem, PA 18015


Mj Widdes Inc
dba Widdes Trlr Sales
P.O. Box 246
Esko, MN 55733


Mks Software Inc
Box 347006
Pittsburgh, PA 15251‐4006


Mktg Inc
200 Carleton Ave
East Islip, NY 11730


Mlink Tech
550 Edmonds, Ste 204
Lewisville, TX 75067


Mlk Memorial Project Foundation, Inc
Attn Kerr‐Ann T Powell
401 F St NW, Ste 334
Washington, DC 20001
Mm Julz Christmas      Gift Shop
76 Main St
Belfast, ME 04915


Mm Soccer
Mecklenburg County Council 415
1810 Oaklawn Ave
Charlotte, NC 28216


Mmd Holdings, LLC
1115 Crowley Dr
Carrollton, TX 75006


Mmm Housing
Sam Houston Area Council 576
21059 Blair Rd
Conroe, TX 77385


Mn Dept Of Labor And Industry
Financial Services/Code
443 Lafayette Rd
St Paul, MN 55155‐4304


Mndnr
Enforcement Education
15011 Hwy 115
Little Falls, MN 56345


Mnp LLP
2500‐201 Portage Ave
Winnipeg, Mb R3B 3K6
Canada


Mnps Extended Learning Programs
Middle Tennessee Council 560
2601 Bransford Ave
Nashville, TN 37204


Moanalua Gardens Community Assoc
Aloha Council, Bsa 104
1876 Ala Mahamoe St
Honolulu, HI 96819


Moanalua Valley Community Assoc
Aloha Council, Bsa 104
1745 Ala Aolani Pl
Honolulu, HI 96819


Mo‐Ark District Of Kiwanis
Greater St Louis Area Council 312
P.O. Box 2146
Washington, MO 63090


Moberly College
Student Services/Financial Aid
101 College Ave
Mobertly, MO 65270


Mobile Area
2587 Government Blvd
Mobile, AL 36606‐1697


Mobile Area Cncl 4
2587 Government Blvd
Mobile, AL 36606‐1697


Mobile Attic Of Dfw
P.O. Box 462
Elba, AL 36323


Mobile City Federation Of Womens Clubs
Mobile Area Council‐Bsa 004
400 N Catherine St
Mobile, AL 36603


Mobile County
P.O. Box 2207
Mobile, AL 36652‐2207


Mobile County Sheriffs Dept
Mobile Area Council‐Bsa 004
510 S Royal St
Sheriff Sam Cochran


Mobile Laboratory Coalition, Inc
1900 9th Ave
M/S C9S‐5
Seattle, WA 98101


Mobile Media Usa LLC
8200 Wilshire Blvd, Ste 200
Beverly Hills, CA 90211


Mobile Messaging Solutions Inc
175 Portland St 3rd Fl
Boston, MA 02114


Mobile Messenger
P.O. Box 841032
Dallas, TX 75284‐1032


Mobile Mini Inc
4646 E Van Buren 400
Phoenix, AZ 85008


Mobile Mini Inc
P.O. Box 79149
Phoenix, AZ 85062‐9149


Mobile Police Benevolent Assoc
Mobile Area Council‐Bsa 004
P.O. Box 180591
Mobile, AL 36618


Mobile Veterinary Practice
11045 Trinidad St
Amarillo, TX 79118


Mockingbird ‐ PTO
Circle Ten Council 571
300 Mockingbird Ln
Coppell, TX 75019
Mockingbird Ln Florist Inc
5606 E Mockingbird Ln
Dallas, TX 75206


Mocksville First U Methodist Church
Old N State Council 070
310 N Main St
Mocksville, NC 27028


Model Elementary Group Of Parents
Lasalle Council 165
412 Greene Rd
Goshen, IN 46526


Modern Archives Institute
Room 301 National Archives Building
700 Pennsylvania Ave Nw
Washington, DC 20408


Modern China Co Inc
P.O. Box 309
Sebring, OH 44672


Modern China Co, Inc
550 E Ohio Ave
Sebring, OH 44672


Modern Imaging Solutions, Inc
22122 Sherman Way, Ste 209
Canoga Park, CA 91303


Modern Postcard
1675 Faraday Ave
Carlsbad, CA 92008


Modesto Elks 1282
Greater Yosemite Council 059
645 Charity Way
Modesto, CA 95356
Modesto Kiwanis Club
Greater Yosemite Council 059
328 Birchwood Ct
Modesto, CA 95350


Modesto Police Dept
Greater Yosemite Council 059
600 10th St
Modesto, CA 95354


Modley S Plumbing      Heating Inc
P.O. Box 1757
Beckley, WV 25802


Modoc Services Inc
11030 Hwy 39
Klamath Falls, OR 97603


Modula4, Inc
720 A St 3rd Fl
San Rafael, CA 94901


Modular Bldg Consultants Of Wv Inc
1800 Lorain Blvd
Elyria, OH 44035


Modular Building Consultants, Inc
P.O. Box 608
Poca, WV 25159


Modular Homes Of The Florida Keys
11400 Overseas Hwy, Ste 123
Marathon, FL 33050


Modular Space Corp
12603 Collections Ctr Dr
Chicago, IL 60693‐0126


Moeller Home Co
Dan Beard Council, Bsa 438
2651 Bartels Rd
Cincinnati, OH 45244


Moffatt, Thomas, Barrett, Rock   Fields
P.O. Box 829
Boise, ID 83701‐0829


Mogadore Utd Methodist Church
Great Trail 433
3828 Mogadore Rd
Mogadore, OH 44260


Mogar Farms Funding LLC
Holiday Inn Express
2855 Spring Hill Pkwy Se
Smyrna, GA 30080


Mogo Media
8615 Park Ave
St Bonifacius, MN 55375


Mohamed Dabo
Address Redacted


Mohammad Rashid Siddiqui
Address Redacted


Mohave Valley Utd Methodist Church
Las Vegas Area Council 328
1593 E Lipan Blvd
Fort Mohave, AZ 86426


Mohawk Elementary PTO
Great Lakes Fsc 272
48101 Romeo Plank Rd
Macomb, MI 48044


Mohegan Cncl 254
19 Harvard St
Worcester, MA 01609‐2870
Mohegan Lake 134 Parent S Assoc
Westchester Putnam 388
3634 Lexington Ave
Mohegan Lake, NY 10547


Mohegan School PTO
Housatonic Council, Bsa 069
47 Mohegan Rd
Shelton, CT 06484


Mohegan Volunteer Fire Assoc, Inc
Westchester Putnam 388
P.O. Box 162
Mohegan Lake, NY 10547


Mohith Mothukuri
Address Redacted


Moisture Loc, Inc
1425 Cressida Dr
Charlotte, NC 28210


Mokane Lions Club
Great Rivers Council 653
P.O. Box 55
Mokane, MO 65059


Mokelumne River Ward
Greater Yosemite Council 059
1510 W Century Blvd
Lodi, CA 95242


Molalla Fire District
Cascade Pacific Council 492
P.O. Box 655
320 N Molalla Ave
Molalla, OR 97038


Mold Monster Products, LLC
121 Hwy 36, Ste 180
West Long Beach, NJ 07764
Moler Elementary School PTO
Simon Kenton Council 441
1201 Moler Rd
Columbus, OH 43207


Moli Chiang
Address Redacted


Moline Utd Methodist Church
Erie Shores Council 460
28022 E Broadway St Rt
Walbridge, OH 43465


Mollie B Gruver
Address Redacted


Mollie Keyser
Address Redacted


Mollie Marie Boyd
Address Redacted


Mollie S Sharp
Address Redacted


Mollieann Gray
Address Redacted


Molly Ann Wong
Address Redacted


Molly E Hickman
Address Redacted


Molly M Flatt
Address Redacted


Molly M Harrop
Address Redacted


Momentous Institute
Circle Ten Council 571
106 E 10th St
Dallas, TX 75203


Momentum Cc Eagles Landing Campus
Flint River Council 095
1120 Village Business Pkwy
Stockbridge, GA 30281


Momentum Telecom
P.O. Box 2257
Decatur, AL 35609


Mon Valley School
Laurel Highlands Council 527
555 N Lewis Run Rd
Jefferson Hills, PA 15025


Mona B, LLC
25701 Richmond Rd
Bedford Hts, OH 44146


Mona Race
Address Redacted


Monac Parents Club
Erie Shores Council 460
3845 Clawson Ave
Toledo, OH 43623


Monadnock Christian Conference Center
Daniel Webster Council, Bsa 330
257 Dublin Rd
Jaffrey, NH 03452


Monadnock Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 341
Marlborough, NH 03455


Monaghan Presbyterian Church
New Birth of Freedom 544
1185 Gettysburg Pike
Dillsburg, PA 17019


Moncks Corner LDS
Coastal Carolina Council 550
617 Resinwood Rd
Moncks Corner, SC 29461


Moncks Corner Police Dept
Coastal Carolina Council 550
118 Carolina Ave
Moncks Corner, SC 29461


Monclova Historical Foundation
Erie Shores Council 460
8115 Monclova Rd
Monclova, OH 43542


Mondolithic Studios Inc
Bank of Montreal
2601 Granville St
Vancouver, Bc V6H 1S2
Canada


Money
Dept K P.O. Box 61918
Tampa, FL 33661‐1918


Monfort Heights Utd Methodist Church
Dan Beard Council, Bsa 438
3682 W Fork Rd
Cincinnati, OH 45247


Monfort Heights Utd Methodist Church
Dan Beard Council, Bsa 438
3684 W Fork Rd
Cincinnati, OH 45247
Monforton School
Montana Council 315
6001 Monforton School Rd
Bozeman, MT 59718


Monguagon Chapter Nsdar
Great Lakes Fsc 272
19226 Champaign Rd
Allen Park, MI 48101


Moni Thomas
Address Redacted


Monica Aguilera Pacheco
Address Redacted


Monica Carnell
Address Redacted


Monica Carroll
Address Redacted


Monica Herman
Address Redacted


Monica J Dunn
Address Redacted


Monica Jaissle
Address Redacted


Monica Jones
Address Redacted


Monica Kennedy
Address Redacted


Monica Lynnette Turney
Address Redacted


Monica Mcclurkin
Address Redacted


Monica Mitchell
Address Redacted


Monica Mossey
Address Redacted


Monica Roe
Address Redacted


Monica Valencia Mcclurkin
Address Redacted


Monica Vogel
Address Redacted


Monique A Mckiernan
Address Redacted


Monique Gaskin
Address Redacted


Monique Taylor
Address Redacted


Monitor Volunteer Firefighters Assoc
Cascade Pacific Council 492
15240 Woodburn Monitor Rd Ne
Woodburn, OR 97071


Monitronics Funding LP
dba Brinks Home Security
Dept Ch 8628
Palatine, IL 60055‐8628
Monitronics Funding LP
P.O. Box 814530
Dallas, TX 75381‐4530


Monkton Parent Teacher Club
Green Mountain 592
P.O. Box 40
1036 Monkton Rd
Monkton, VT 05469


Monmouth
705 Ginesi Dr
Morganville, NJ 07751‐1235


Monmouth Cncl No 347
705 Ginesi Dr
Morganville, NJ 07751


Monmouth Council Camping Committee
Monmouth Council, Bsa 347
705 Ginesi Dr
Morganville, NJ 07751


Monmouth Council, Bsa
705 Ginesi Dr
Morganville, NJ 07751


Monmouth County Sheriff Dept
Monmouth Council, Bsa 347
50 E Main St
Freehold, NJ 07728


Monmouth County Sheriffs Office Oem
Monmouth Council, Bsa 347
2500 Kozloski Rd
Freehold, NJ 07728


Monmouth Fish And Game
Pine Tree Council 218
P.O. Box 502
Monmouth, ME 04259
Monmouth Medical Center
Monmouth Council, Bsa 347
Volunteer Services
300 2nd Ave
Long Branch, NJ 07740


Monmouth University
Wilson Hall Annex, Rm 110
400 Cedar Ave
West Long Branch, NJ 07764‐1828


Monna Clayton
Address Redacted


Monnett Rd Baptist Church
6033 Monnett Rd
Julian, NC 27283‐9111


Monoprice Inc
P.O. Box 740417
Los Angeles, CA 90074‐0417


Monro Muffler Brake Inc
Seneca Waterways 397
35 Howard Rd
Rochester, NY 14606


Monroe Academy
Gulf Coast Council 773
Monroeville Al
Monroeville, AL 36460


Monroe Carell Jr Children S Hospital
2301 Vanderbilt Pl
Nashville, TN 37240


Monroe Charter Township Vol Fire Dept
Southern Shores Fsc 783
15331 S Dixie Hwy
Monroe, Mi 48161
Monroe Church Of The Nazarene
Dan Beard Council, Bsa 438
400 Macready Ave
Monroe, OH 45050


Monroe Columbian Welfare Assoc, Inc
Hudson Valley Council 374
P.O. Box 2079
Monroe, NY 10949


Monroe Community Church
Tecumseh 439
6458 County Rd 29
West Liberty, OH 43357


Monroe Community Mens Club
Simon Kenton Council 441
12531 State Route 56 W
Mt Sterling, OH 43143


Monroe Concrete Products, Inc
P.O. Box 1149
Key W, Fl 33041


Monroe Congregational Church‐United
Connecticut Yankee Council Bsa 072
34 Church St
Monroe, CT 06468


Monroe County Bar Assoc
Seneca Waterways 397
1300 Clinton Sq
Rochester, NY 14604


Monroe County Bar Assoc Yls
Seneca Waterways 397
1 W Main St
Rochester, NY 14614


Monroe County Fair Assoc
Southern Shores Fsc 783
3775 S Custer Rd
Monroe, MI 48161


Monroe County Intermediate School PTO
Southern Shores Fsc 783
1101 S Raisinville Rd
Monroe, MI 48161


Monroe County Recorder
P.O. Box 1634
Bloomington, IN 47402


Monroe County Rod   Gun Club
Southern Shores Fsc 783
6280 Lighthouse Rd
Monroe, MI 48161


Monroe County Sheriff S Office
Seneca Waterways 397
130 Plymouth Ave S
Rochester, NY 14614


Monroe County Sheriffs Office
Central Georgia Council 096
145 L Cary Bittick Dr
Forsyth, GA 31029


Monroe County Solid Waste Mgmt
Board of Co Commissioners
1100 Simonton St, Rm 2‐231
Key W, Fl 33040


Monroe County Solid Waste Mgmt
Monroe County Board of County Commis.
500 Whitehead St
Key W, Fl 33040


Monroe Elementary Leap Program
Northeast Georgia Council 101
140 Dillard Dr
Monroe, GA 30656
Monroe Lakeside Fire   Rescue Co
Hudson Valley Council 374
West Mombasha Rd
P.O. Box 779
Monroe, NY 10949


Monroe Lions Club
Blackhawk Area 660
N2244 Asmus Rd
Monroe, WI 53566


Monroe Police Dept
Blackhawk Area 660
1811 12th St
Monroe, WI 53566


Monroe Preparatory Academy
Lake Erie Council 440
328 E Monroe St
Sandusky, OH 44870


Monroe Rhodes Jr
Address Redacted


Monroe St Neighborhood Adventure Camp
Erie Shores Council 460
3613 Monroe St
Toledo, OH 43606


Monroe Street Neighborhood Center
Erie Shores Council 460
3613 Monroe St
Toledo, OH 43606


Monroe Tire And Auto Service Center Inc
77 Industrial Rd, Ste A
Big Pine Key, FL 33043


Monroe Township Police Dept
Garden State Council 690
125 Virginia Ave
Williamstown, NJ 08094


Monroe Twp Parent Teachers Assoc
New Birth of Freedom 544
1240 Boiling Springs Rd
Boiling Springs, PA 17007


Monroe Utd Brethren Church
Anthony Wayne Area 157
205 S Adams St
Monroe, IN 46772


Monroe Utd Methodist Church
Mid Iowa Council 177
402 N Monroe St
Monroe, IA 50170


Monroe Utd Methodist Church
Mount Baker Council, Bsa 606
342 S Lewis St
Monroe, WA 98272


Monroe Ward LDS
Louisiana Purchase Council 213
909 N 33rd St
Monroe, LA 71201


Monroe Ward LDS Church
Louisiana Purchase Council 213
909 N 33rd St
Monroe, LA 71201


Monroeville Volunteer Fire Co 4
Laurel Highlands Council 527
4370 Nern Pike
Monroeville, PA 15146


Monrovia Police Dept
Greater Los Angeles Area 033
140 E Lime Ave
Monrovia, CA 91016
Monsignor Donovan Catholic High School
Northeast Georgia Council 101
590 Lavender Rd
Athens, GA 30606


Monsma Marketing
President Gerald R Ford 781
1409 Buchanan Ave Sw
Grand Rapids, MI 49507


Monson‐Glendale Utd Methodist Church
Western Massachusetts Council 234
P.O. Box 315
162 Main St


Monster Design
8525 Ferndale Rd, Ste 204
Dallas, TX 75238


Monster Inc
P.O. Box 90364
Chicago, IL 60696‐0364


Montague Lodge 2521 B.P.O.E.
Western Massachusetts Council 234
P.O. Box 231
1 Elk Ave
Turners Falls, MA 01376


Montague Volunteer Fire Dept
Patriots Path Council 358
274 Clove Rd
Montague, NJ 07827


Montana
820 17th Ave S
Great Falls, MT 59405‐5999


Montana Canvas, Inc
110 Pipkin Wan
Belgrade, MT 59714


Montana Cncl 315
820 17th Ave S
Great Falls, MT 59405‐5939


Montana D Tomsett
Address Redacted


Montana F Ludlow
Address Redacted


Montana Secretary Of State
P.O. Box 202801
Helena, MT 59620‐2801


Montana State University
Attn Msu Admissions
201 Strand Union Bldg P.O. Box 172190
Bozeman, MT 59717‐2190


Montana State University
Internship   Student Empl Srvcs
177 Strand Union Bldg
Bozeman, MT 59717‐4180


Montana Utd Methodist Church
Minsi Trails Council 502
539 Montana Rd
Phillipsburg, NJ 08865


Montanyana LLC
dba Hoffman Haus
608 E Creek St
Fredericksburg, TX 78624


Montauk Fire Dept
Suffolk County Council Inc 404
12 Flamingo Ave
Montauk, NY 11954
Montbello High School Jrotc
Denver Area Council 061
5000 Crown Blvd
Denver, CO 80239


Montclair Lions Club
San Francisco Bay Area Council 028
5942 Balboa Dr
Oakland, CA 94611


Montclair Police Departmetnt
Northern New Jersey Council, Bsa 333
647 Bloomfield Ave
Montclair, NJ 07042


Montclair Police Dept
California Inland Empire Council 045
4870 Arrow Hwy
Montclair, CA 91763


Montclair PTA
Atlanta Area Council 092
1680 Clairmont Pl Ne
Brookhaven, GA 30329


Montclair State University
c/o Rosa Cordova, Grant Accounting
1 Normal Ave
Montclair, NJ 07043


Montdale Utd Methodist Church
Northeastern Pennsylvania Council 501
961 Lakeland Dr
Scott Township, PA 18447


Monte Cassino Elementary School
Indian Nations Council 488
2206 S Lewis Ave
Tulsa, OK 74114


Monte Job
Address Redacted


Monte Vista Fuel   Feed
P.O. Box 4246
Santa Fe, NM 87502


Monteagle Elem Teachers   Parents
Cherokee Area Council 556


Montebello Fire Dept
Greater Los Angeles Area 033
600 N Montebello Blvd
Montebello, CA 90640


Montebello Police Dept
Greater Los Angeles Area 033
1600 W Beverly Blvd
Montebello, CA 90640


Montello Rotary Club
Bay‐Lakes Council 635
P.O. Box 206
Montello, WI 53949


Monterey Church Of Christ
Louisiana Purchase Council 213
P.O. Box 400
Monterey, LA 71354


Monterey County Fire District
Silicon Valley Monterey Bay 055
19900 Portola Dr
Salinas, CA 93908


Monterey County Sheriff S Office
Silicon Valley Monterey Bay 055
1414 Natividad Rd
Salinas, CA 93906


Monterey County Tax Collector
P.O. Box 891
Salinas, CA 93902‐0891


Monterey Elks Lodge 1285
Silicon Valley Monterey Bay 055
150 Mar Vista Dr
Monterey, CA 93940


Monterey Park Fire Dept
Greater Los Angeles Area 033
320 W Newmark Ave
Monterey Park, CA 91754


Monterey Park Parents Of Troop 329
Greater Los Angeles Area 033
1701 Brightwood St
Monterey Park, CA 91754


Monterey Park Police Dept
Greater Los Angeles Area 033
320 W Newmark Ave
Monterey Park, CA 91754


Monterey Plaza Hotel     Spa
400 Cannery Row
Monterey, CA 93940


Monterey Police Dept
Silicon Valley Monterey Bay 055
351 Madison St
Monterey, CA 93940


Montessori Academy Of Harlingen
Rio Grande Council 775
3943 Bourbon St
Harlingen, TX 78550


Montessori At Vickery
Northeast Georgia Council 101
6285 Post Rd
Cumming, GA 30040
Montessori Educational Center
Louisiana Purchase Council 213
4209 N Bolton Ave
Alexandria, LA 71303


Montessori School Of Anderson
Blue Ridge Council 551
280 Sam Mcgee Rd
Anderson, SC 29621


Montessori School Of Pensacola
Gulf Coast Council 773
4100 Montessori Dr
Pensacola, FL 32504


Montessori School Of Waukesha
Potawatomi Area Council 651
2600 Summit Ave
Waukesha, WI 53188


Montevallo Police Explorers
Greater Alabama Council 001
541 Main St
Montevallo, AL 35115


Montevallo Rotary Club
Greater Alabama Council 001
277 Park Dr
Montevallo, AL 35115


Montevallo Secondary Fire   Rescue Dept
Greater Alabama Council 001
1140 Ashville Rd
Montevallo, AL 35115


Montevideo Parents
Mt Diablo‐Silverado Council 023
330 Winterwind Cir
San Ramon, CA 94583


Montgomery Bell State Park
Middle Tennessee Council 560
1020 Jackson Hill Rd
Burns, TN 37029


Montgomery Cloud
1417‐A Harold
Houston, TX 77006


Montgomery County
255 Rockvile Pike, Suite L‐15
Rockville, MD 20850


Montgomery County
C/O Linebarger Goggan Blair     Sampson
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064


Montgomery County Clerk
210 W Davis
Conroe, TX 77301


Montgomery County Commission
Tax and Audit Dept
P.O. Box 4779
Montgomery, AL 36103‐4779


Montgomery County Community College
Financial Aid Office
340 Dekalb Pike
Blue Bell, PA 19422


Montgomery County District Attorney
Cradle of Liberty Council 525
P.O. Box 311
Montgomery County Courthouse
Norristown, PA 19404


Montgomery County Maryland
P.O. Box 83399
Gaithersburg, MD 20883‐3399
Montgomery County Police Dept
National Capital Area Council 082
9125 Gaither Rd
Gaithersburg, MD 20877


Montgomery County Sheriffs Office
Middle Tennessee Council 560
120 Commerce St
Clarksville, TN 37040


Montgomery Elementary PTO
Sam Houston Area Council 576
4000 Simsbrook Dr
Houston, TX 77045


Montgomery Fire Dept
Hudson Valley Council 374
136 Ward St
Montgomery, NY 12549


Montgomery Frames
1704 E Curry No 104
Tempe, AZ 85281


Montgomery Job Corps
Tukabatchee Area Council 005
1145 Air Base Blvd
Montgomery, AL 36108


Montgomery Lions Club, Inc
Susquehanna Council 533
63 S Main St
P.O. Box 199


Montgomery Lodge Af   Am
Mayflower Council 251
155 Main St
Milford, MA 01757


Montgomery Mccracken Walker    Rhoads LLP
Attn Joel B Rosen, Esquire
457 Haddonfield Rd, Ste 600
Cherry Hill, Nj 08002


Montgomery Police Dept
Tukabatchee Area Council 005
320 N Ripley St
Montgomery, AL 36104


Montgomery Presbyterian Church
Dan Beard Council, Bsa 438
9994 Zig Zag Rd
Montgomery, OH 45242


Montgomery Sheriff Office
Tukabatchee Area Council 005
115 S Perry St
Montgomery, AL 36104


Montgomery Utd Methodist Church
National Capital Area Council 082
28325 Kemptown Rd
Damascus, MD 20872


Montgomery Utd Methodist Church
Washington Crossing Council 777
117 Sunset Rd
Belle Mead, NJ 08502


Montgomery Village Lions Club
Redwood Empire Council 041
P.O. Box 1074
Santa Rosa, CA 95402


Montgomery W Cobb LLC
1050 SW 6th Ave, Ste 1100
Portland, OR 97204


Monticello Covenant Church
Northern Star Council 250
8585 State Hwy 25 Ne
Monticello, MN 55362
Monticello Elks Lodge 1544
Hudson Valley Council 374
46 N St
Monticello, NY 12701


Monticello First Utd Methodist Church
651 College St
Monticello, GA 31064


Monticello First Utd Methodist Church
Central Georgia Council 096
651 College St
Monticello, GA 31064


Monticello Kiwanis Club
Suwannee River Area Council 664
264 N Cherry St
Monticello, FL 32344


Monticello Lions Club
Northern Star Council 250
P.O. Box 673
Monticello, MN 55362


Monticello Lions Club
Prairielands 117
P.O. Box 85
Monticello, IL 61856


Monticello Lions/Vfw
Blackhawk Area 660
126 N Main St
Monticello, WI 53570


Monticello Montessori Charter School
Grand Teton Council 107
4707 Sweetwater
Ammon, ID 83406


Monticello Rotary Club
Prairielands 117
P.O. Box 202
Monticello, IL 61856


Monticello Utd Methodist Church
Andrew Jackson Council 303
P.O. Box 87
Monticello, MS 39654


Monticello Utd Methodist Church
Heart of America Council 307
23860 W 75th St
Shawnee, KS 66227


Montina Alston
Address Redacted


Montmorenci Utd Methodist Church
Daniel Boone Council 414
P.O. Box 610
89 Old Candler Town Rd


Montrail
Dept 33162 P.O. Box 39000
San Francisco, CA 94139‐3162


Montreal Marriott Chateau Champlain
1050 De La Gauchetiere W
Montreal, QC H3B 4C9
Canada


Montrose Baptist Church
Pathway To Adventure 456
4411 N Melvina Ave
Chicago, IL 60630


Montrose Family Worship Center
Water and Woods Council 782
9453 Vienna Rd
Montrose, MI 48457


Montrose Hellfighters
Denver Area Council 061
Montrose River Front Inc
Mississippi Valley Council 141 141
P.O. Box 358
Montrose, IA 52639


Montrose Volunteer Fire Relief Assn
Northern Star Council 250
P.O. Box 25
Montrose, MN 55363


Montrose Zion Utd Methodist Church
Great Trail 433
565 N Cleveland Massillon Rd
Akron, OH 44333


Montura Volunteer Fire Dept
Southwest Florida Council 088
P.O. Box 1481
Clewiston, FL 33440


Montvale PTO
Northern New Jersey Council, Bsa 333
Memorial School
Grand Ave


Montverde Utd Methodist Church
Central Florida Council 083
17015 Porter Ave
P.O. Box 560608


Montview Blvd Presbyterian Church
Denver Area Council 061
1980 Dahlia St
Denver, CO 80220


Montville Fire Dept
Patriots Path Council 358
P.O. Box 152
Montville, NJ 07045
Montville Pba 140
Patriots Path Council 358
360 Route 202
Montville, NJ 07045


Montville Reformed Church
Patriots Path Council 358
9 Church Ln
Montville, NJ 07045


Montville Twp Police Dept
Patriots Path Council 358
360 Route 202
Montville, NJ 07045


Montwood Church Of Christ
Yucca Council 573
11995 Montwood Dr
El Paso, TX 79936


Monty Hudgins
Address Redacted


Monty Jesser
Address Redacted


Monument Community Presbyterian Church
Pikes Peak Council 060
238 3rd St
Monument, CO 80132


Monument Crisis Center
Mt Diablo‐Silverado Council 023
1990 Market St
Concord, CA 94520


Monument Faith Ch God In Christ
Sam Houston Area Council 576
2233 Aldine Mail Rd
Houston, Tx 77039
Monument Police Dept
Pikes Peak Council 060
645 Beacon Lite Rd
Monument, CO 80132


Monzack Mersky Mclaughlin      Browder, Pa
Attn Brian Mclaughlin
Attn Rachel Mersky
1201 N Orange St, Ste 400
Wilmington, DE 19801


Moodus Sportsman S Club
Connecticut Rivers Council, Bsa 066
299 E Haddam Colchester Tnpk
P.O. Box 11
Moodus, CT 06469


Moody Memorial 1st Utd Methodist Ch
Bay Area Council 574
2803 53Rd St
Galveston, Tx 77551


Moodys Investors Service Inc
7 World Trade Center
250 Greenwich St
New York, NY 10007


Moodys Investors Service Inc
P.O. Box 102597
Atlanta, GA 30368‐0597


Moon Dog Publishing, LLC
9400 Holly Ave Nw, Ste 202
Albbquerque, NM 87122


Moon Lake Baptist Church
Greater Alabama Council 001
4671 Hwy 117
Mentone, AL 35984


Moonboots Productions
44 Slocum Ave
Tappan, NY 10983


Moonlight Yacht Services LLC
520 SW 7th St
Ft Lauderdale, FL 33315


Moonlight Yacht Services LLC
c/o Stephen H Lawrence
P.O. Box 1906
Islamorada, FL 33036


Moore Co Dumas Pd Cactus Pd
Golden Spread Council 562
700 S Bliss Ave
Dumas, TX 79029


Moore County Agricultural Fair Inc
Occoneechee 421
P.O. Box 596
Carthage, NC 28327


Moore County Airport Ksop
Occoneechee 421
7825 Aviation Dr
Carthage, NC 28327


Moore Elementary PTO
Sam Houston Area Council 576
13734 Lakewood Forest Dr
Houston, TX 77070


Moore Henderson Thomas   Dalton Inc
111 SW Columbia, Ste 820
Portland, OR 97201


Moore Medical LLC
P.O. Box 4066
Farmington, CT 06034‐4066


Moore Medical, LLC
1690 New Britain Ave
Farmington, CT 06032


Moore Medical, LLC
P.O. Box 99718
Chicago, IL 60696


Moore Mentor Service
President Gerald R Ford 781
2652 Brooklane Ave Se
Grand Rapids, MI 49507


Moore Montessori Community School
Occoneechee 421
387 W Pennsylvania Ave
Southern Pines, NC 28387


Moore Street Baptist Church
Heart of Virginia Council 602
1408 W Leigh St
Richmond, VA 23220


Moorefield Presbyterian Church
Laurel Highlands Council 527
P.O. Box 653
Moorefield, WV 26836


Mooreland Utd Methodist Church
Cimarron Council 474
302 S Elm St
Mooreland, OK 73852


Mooresburg Presbyterian Church
Columbia‐Montour 504
9 Church Dr
Danville, PA 17821


Mooresburg Utd Methodist
Columbia‐Montour 504
7 Sholes Rd
Danville, PA 17821
Mooresville Arts Council
Piedmont Council 420
103 W Center Ave
Mooresville, NC 28115


Mooresville Fire Dept
Piedmont Council 420
1023 Shearers Rd
Mooresville, NC 28115


Mooresville Police Dept
Piedmont Council 420
413 N Main St
Mooresville, NC 28115


Mooretown Collegiate Academy
Norwela Council 215
3913 Powell St
Shreveport, LA 71109


Mooreville Utd Methodist Church
Yocona Area Council 748
725 Hwy 371
Mooreville, MS 38857


Moorhead Police Explorers
Northern Lights Council 429
P.O. Box 817
Moorhead, MN 56561


Moorhead Utd Methodist Church
Bucktail Council 509
P.O. Box 233
Brockway, PA 15824


Moorings Presbyterian Church
Southwest Florida Council 088
791 Harbour Dr
Naples, FL 34103


Moorpark Presbyterian Church
Ventura County Council 057
13950 Peach Hill Rd
Moorpark, CA 93021


Moorsbridge Elementary PTO
Southern Shores Fsc 783
7361 Moorsbridge Rd
Portage, MI 49024


Moose 1012
Great Trail 433
6400 State Route 46
Cortland, OH 44410


Moose Family Center 1210 ‐ Montesano
Pacific Harbors Council, Bsa 612
3 Monte Elma Rd
Montesano, WA 98563


Moose Family Center 1572
Samoset Council, Bsa 627
P.O. Box 284
Stevens Point, WI 54481


Moose Home
Illowa Council 133
1936 Lincoln Way
Clinton, IA 52732


Moose Intl, Inc Rockville Ch
National Capital Area Council 082
Moose Intl Inc ‐ Rockville Chapter
13755 Travilah Rd
Rockville, Md 20850


Moose Lodge
San Diego Imperial Council 049
2310 Myrtle Rd
Imperial, CA 92251


Moose Lodge 42
North Florida Council 087
4450 Losco Rd
Jacksonville, FL 32257


Moose Lodge 654 Salisbury Md
Del Mar Va 081
833 Snow Hill Rd
Salisbury, MD 21804


Moose Lodge 1329
Blackhawk Area 660
406 Clay St
Woodstock, IL 60098


Moose Lodge 1398 ‐ West Bend
Bay‐Lakes Council 635
1721 Chestnut St
West Bend, WI 53095


Moose Lodge 1944 ‐ Pacifica
Pacific Skyline Council 031
776 Bradford Way
Pacifica, CA 94044


Moose Lodge 2080
Yucca Council 573
300‐2 Mccombs Rd Pmb9
Chaparral, NM 88081


Moose Lodge 236
Westmoreland Fayette 512
P.O. Box 390
Irwin, PA 15642


Moose Lodge 300
Rainbow Council 702
25 Springfield Ave
Joliet, IL 60435


Moose Lodge 306
Midnight Sun Council 696
300 S Santa Claus Ln
North Pole, AK 99705
Moose Lodge 371
National Capital Area Council 082
828 E Patrick St
Frederick, MD 21701


Moose Lodge 452   1St Christian Church
Cimarron Council 474
3702 1st St
P.O. Box 1684


Moose Lodge 460
Allegheny Highlands Council 382
35 Pearl St
Port Allegany, PA 16743


Moose Lodge 576
Hoosier Trails Council 145 145
2765 N State Hwy 3
North Vernon, IN 47665


Moose Lodge 822
Northern Lights Council 429
P.O. Box 1864
400 9th St Sw


Moose Lodge 872
Black Swamp Area Council 449
13 E Tiffin St
New Riegel, OH 44853


Moose Lodge Club 356
Lincoln Heritage Council 205
736 Lain Ave
Bowling Green, KY 42101


Moose Lodge Spring Hill 521
Greater Tampa Bay Area 089
15214 Mariner Blvd
Spring Hill, FL 34609


Moose River Congregational Church
Pine Tree Council 218
P.O. Box 135
Jackman, ME 04945


Mooseheart Child City   School, Inc
Three Fires Council 127
255 W James J Davis Dr
Mooseheart, IL 60539


Moraga Lions Club
Mt Diablo‐Silverado Council 023
3920 Paseo Grande
Moraga, CA 94556


Moraga Rotary
Mt Diablo‐Silverado Council 023
P.O. Box 122
Moraga, CA 94556


Moraga Valley Presbyterian Church
Mt Diablo‐Silverado Council 023
10 Moraga Valley Ln
Moraga, CA 94556


Moraine Trails
830 Morton Ave Extension
Butler, PA 16001‐3398


Moraine Trls Cncl 500
830 Morton Ave Extension
Butler, PA 16001‐3398


Morale And Welfare
Transatlantic Council, Bsa 802
Rimburgerweg 30
Brunssum, 6445 Pa
Netherlands


Morale Welfare And Recreation
Naval Station Great Lakes
2601E Paul Jones St Code N9
Great Lakes, IL 60088‐2845
Moran Prairie Ptg
Inland Nwest Council 611
4224 E 57th Ave
Spokane, WA 99223


Moran Utd Methodist Church
Inland Nwest Council 611
3601 E 65th Ave
Spokane, WA 99223


Moravia Park Elementary School
Baltimore Area Council 220
6201 Frankford Ave
Baltimore, MD 21206


Moravian Academy Lower School
Minsi Trails Council 502
422 Heckewelder Pl
Bethlehem, PA 18018


Moravian Church ‐ Sturgeon Bay
Bay‐Lakes Council 635
323 S 5th Ave
Sturgeon Bay, WI 54235


More Than Hot Air Inc
24 Lynnwood Dr
Texarkana, TX 75503


More Than Stitches
Evangeline Area 212
350 Switzerland Rd
Youngsville, LA 70592


More Than Words LLC
77 Migeon Ave
Torrington, CT 06790


Moreau Heights School PTO
Great Rivers Council 653
1410 Hough Park St
Jefferson City, MO 65101


Morehead Utd Methodist Church
Blue Grass Council 204
227 W Main St
Morehead, KY 40351


Morehead Utd Methodist Church
Old N State Council 070
3214 Horse Pen Creek Rd
Greensboro, NC 27410


Morehouse Sales   Use Tax Commission
P.O. Box 672
Bastrop, LA 71221‐0672


Moreland Presbyterian Church
Cascade Pacific Council 492
1814 SE Bybee Blvd
Portland, OR 97202


Moreland Utd Methodist Church
Flint River Council 095
2761 Hwy 54
Moreland, GA 30259


Morell Studios, LLC
420 Sunset Rd
West Palm Beach, FL 33401


Morell Studios, LLC
515 N Flagler Dr, Ste 802
West Palm Beach, FL 33401


Morello Hills Christian Chrch
Mt Diablo‐Silverado Council 023
1000 Morello Hills Dr
Martinez, CA 94553


Morenci Utd Methodist Church
Southern Shores Fsc 783
111 E Main St
Morenci, MI 49256


Moreno Valley Firefighters
California Inland Empire Council 045
28040 Eucalyptus Ave
Moreno Valley, CA 92555


Moreno Valley Writers Guild
P.O. Box 416
Angel Fire, NM 87710


More‐Skinny Used Cars
Rocky Mountain Council 063
2601 Kachina Dr
Pueblo, CO 81008


Morgan
1501 Whittier St
Raton, NM 87740


Morgan   Morgan, P.A.
Attn Paul L. Sangiovanni
20 N Orange Ave, Ste 1600
Orlando, FL 32801


Morgan   Morgan, PA
Attn Paul L Sangiovanni
re Plaintiff
20 N Orange Ave, Ste 1600
P.O. Box 4979 32802‐4979
Orlando, FL 32801


Morgan   Morgan, PA
Attn Paul L Sangiovanni, Cari Whitmire
re Plaintiff
20 N Orange Ave, Ste 1600
P.O. Box 4979 32802‐4979
Orlando, FL 32801


Morgan Baxter
Address Redacted


Morgan Boyd
Address Redacted


Morgan Buildings    Spas, Inc
1501 Whittier
Raton, NM 87740


Morgan County
Sales Tax Office
P.O. Box 1848
Decatur, AL 35602


Morgan County Sheriff S Dept
Northeast Georgia Council 101
2380 Athens Hwy
Madison, GA 30650


Morgan D Danker
Address Redacted


Morgan E North
Address Redacted


Morgan Hawkins
Address Redacted


Morgan Hill Fire Dept
Silicon Valley Monterey Bay 055
15670 Monterey St
Morgan Hill, CA 95037


Morgan Hill Police Dept
Silicon Valley Monterey Bay 055
16200 Vineyard Blvd
Morgan Hill, CA 95037


Morgan J Berryman‐Maciel
Address Redacted
Morgan Kiser Maxwell
Address Redacted


Morgan Maxwell
Address Redacted


Morgan P Hale
Address Redacted


Morgan Park Baptist Church
Pathway To Adventure 456
11024 S Bell Ave
Chicago, IL 60643


Morgan R Deters
Address Redacted


Morgan Scott Project
Great Smoky Mountain Council 557
1022 Old Deer Lodge Pike
Deer Lodge, TN 37726


Morgan Stanley Smith Barney
55 Broad St
Red Bank, NJ 07701


Morgan Township PTO
Lasalle Council 165
299 S State Rd 49
Valparaiso, IN 46383


Morgan Utd Methodist Church
Greater Alabama Council 001
2701 Morgan Rd
Bessemer, AL 35022


Morganfield Utd Methodist Church
Lincoln Heritage Council 205
P.O. Box 308
Morganfield, KY 42437


Morganton Dept Of Public Safety
Piedmont Council 420
304 College St
Morganton, NC 28655


Morgantown History Museum
175 Kirk St
Morgantown, WV 26505


Morgantown Utd Methodist Church
Hoosier Trails Council 145 145
P.O. Box 226
20 E Washington St


Morganville Utd Methodist Church
Monmouth Council, Bsa 347
215 Conover Rd
Morganville, NJ 07751


Morgen K Collins
Address Redacted


Morio Snelling
Address Redacted


Moritz Embroidery Work, Inc
21 N Ctland St
East Stroudsburg, PA 18301


Moritz Embroidery Works Inc
21 N Courtland St
East Stroudsburg, PA 18301


Moriyah Ann Cox
Address Redacted


Morley American Legion Knox‐Helms
President Gerald R Ford 781
2560 Nland Dr
Morley, MI 49336


Morley And Assoc Inc
Buffalo Trace 156
4800 Rosebud Ln
Newburgh, IN 47630


Morley Moss Electrical Inc
430 S Aston Dr
Sunnyvale, TX 75182


Morley Stanwood High School Morley Stanw
4700 Nland Dr
Josh Bull/Physics Inst.
Morley, MI 49336


Morneau Shepell Limited
115 Preimeter Center Pl
Atlanta, GA 30346


Morneau Shepell Limited
Lbx 1663, P.O. Box 95000
Phiiladelphia, PA 19195‐0001


Morning Star
The Spirit of Adventure 227
59 Nichols St
Chelsea, MA 02150


Morning Star Baptist Church
Heart of America Council 307
2411 E 27th St
Kansas City, MO 64127


Morning Star Baptist Church
Heart of Virginia Council 602
3509 Midlothian Tpke
Richmond, VA 23224


Morning Star Community Center
Heart of America Council 307
2525 E 27th St
Kansas City, MO 64127


Morning Star Cowboy Church
Sam Houston Area Council 576
1566 Loop 497
Kenny, TX 77452


Morning Star Lutheran Church
Mecklenburg County Council 415
12509 Idlewild Rd
Matthews, NC 28105


Morning Star Missionary Baptist Church
Norwela Council 215
5340 Jewella Ave
Shreveport, LA 71109


Morning Star Utd Methodist Church
Greater St Louis Area Council 312
1600 Feise Rd
O Fallon, MO 63368


Morningside Baptist Church
Palmetto Council 549
897 S Pine St
Spartanburg, SC 29302


Morningside College
Attn Business Office
1501 Morningside Ave
Sioux City, IA 51106


Morningside Elementary School ‐ Gifw
Longhorn Council 662
2601 Evans Ave
Fort Worth, TX 76104


Morningside Parents And Teachers
Montana Council 315
4119 7th Ave N
Great Falls, MT 59405


Morningside Presbyterian Church
Atlanta Area Council 092
1411 N Morningside Dr Ne
Atlanta, GA 30306


Morningside Presbyterian Church
Orange County Council 039
1201 Dorothy Ln
Fullerton, CA 92831


Morningside Translations Inc
450 7th Ave, Ste 1001
New York, NY 10123


Morningside Vfw Post 3945
Laurel Highlands Council 527
1820 Morningside Ave
Pittsburgh, PA 15206


Morningstar Lodge 159
Mid Iowa Council 177
120 N Wilson Ave
Jefferson, IA 50129


Morningstar Utd Methodist Church
W D Boyce 138
3714 Fort Jesse Rd
Normal, IL 61761


Morrell Club
Sioux Council 733
1400 N Weber Ave
John Morrell   Co
Sioux Falls, SD 57103


Morrell Manufacturing
1721 Hwy 71 N
Alma, AR 72921
Morrill Public Schools
Longs Peak Council 062
411 E Hamilton St
Morrill, NE 69358


Morris    Player PLLC
Obo James    Susan Rose
1211 Herr Ln, Ste 205
Louisville, KY 40222


Morris Baylor Harrell
Address Redacted


Morris Chapel Methodist Men
Old Hickory Council 427
P.O. Box 57
2715 Darrow Rd
Walkertown, NC 27051


Morris Congregational Church
Connecticut Rivers Council, Bsa 066
P.O. Box 67
Morris, CT 06763


Morris County Sheriffs Office
Patriots Path Council 358
P.O. Box 900
Morris County Sheriffs Office
Morristown, NJ 07963


Morris Fire Co
Connecticut Rivers Council, Bsa 066
15 S St
Morris, CT 06763


Morris Gaffin
Address Redacted


Morris Huffman
Address Redacted
Morris James Llp
Attn Brett D. Fallon/ J. Waxman
Attn Brya M. Keilson
500 Delaware Ave, Ste 1500
P.O. Box 2306
Wilmington, DE 19899‐2306


Morris Memorial Umc
c/o Rev Gregory A Godwin
4615 Maccorkle Ave Se
Charleston, WV 25304


Morris Memorial Utd Methodist Church
Buckskin 617
4615 Maccorkle Ave Se
Charleston, WV 25304


Morris Nichols Arsht   Tunnell
1201 N Market St, 16th Fl
Wilmington, DE 19801


Morris Quilting
Utah National Parks 591
559 W 100 N
Payson, UT 84651


Morris Rotary Club
Leatherstocking 400
P.O. Box 16
Morris, NY 13808


Morris Rotary Club
Leatherstocking 400
P.O. Box 414
Morris, NY 13808


Morris Upchurch Middle
Caddo Area Council 584
P.O. Box 128
Queen City, TX 75572


Morris Upchurch Middle School
Caddo Area Council 584
P.O. Box 128
Queen City, TX 75572


Morris Visitor Publications, LLC
P.O. Box 1584
Augusta, GA 30903


Morrisette Paper Co Inc
P.O. Box 890982
Charlotte, NC 28289‐0982


Morrison Co Inc
301 N 5th St
Alpine, TX 79830


Morrison Co Inc
c/o Morrisons True Value
301 N 5th St
Alpine, TX 79830‐4605


Morrison Elementary School PTO
Simon Kenton Council 441
793 W Union St
Athens, OH 45701


Morrison Hill Christian Church
Great Smoky Mountain Council 557
106 Morrison Hill Cir
Kingston, TN 37763


Morrison Utd Methodist Church
Central Florida Council 083
1005 W Main St
Leesburg, FL 34748


Morristown Lions Club
Crossroads of America 160
P.O. Box 177
Morristown, IN 46161
Morristown Neighborhood House
Patriots Path Council 358
12 Flagler St
Morristown, NJ 07960


Morristown Police Dept
Great Smoky Mountain Council 557
P.O. Box 1283
100 W 1st N St


Morrisville Presbyterian Church
Washington Crossing Council 777
771 N Pennsylvania Ave
Morrisville, PA 19067


Morrisville Utd Methodist Church
National Capital Area Council 082
4432 Morrisville Rd
Bealeton, VA 22712


Morro Bay Police Dept
Los Padres Council 053
850 Morro Bay Blvd
Morro Bay, CA 93442


Morrow First Utd Methodist Church
Atlanta Area Council 092
5985 Jonesboro Rd
Morrow, GA 30260


Morrow Memorial Methodist Church
Northern New Jersey Council, Bsa 333
600 Ridgewood Rd
Maplewood, NJ 07040


Morrow Presbyterian Church
Atlanta Area Council 092
6171 Huie Dr
Morrow, GA 30260


Morrow Utd Methodist Church
Dan Beard Council, Bsa 438
510 Welch Rd
Morrow, OH 45152


Morse Hill Outdoor Education Center Inc
Western Massachusetts Council 234
65 Wentworth Manor Dr
Amherst, MA 01002


Mortlake Fire Co Inc
Connecticut Rivers Council, Bsa 066
P.O. Box 301
12 Canterbury Rd
Brooklyn, CT 06234


Morton Grove Police Dept
Pathway To Adventure 456
6101 Capulina Ave
Morton Grove, IL 60053


Morton Utd Methodist Church‐Mens Club
W D Boyce 138
420 N Tennessee Ave
Morton, IL 61550


Morven Elementary School
Central N Carolina Council 416
6715 US Hwy 52 S
Morven, NC 28119


Morven Elementary School PTA
Central N Carolina Council 416
6715 US Hwy 52 S
Morven, NC 28119


Mosaic
Mid Iowa Council 177
245 E Grace Ave
Chariton, IA 50049


Mosaic
Mid Iowa Council 177
730 S Main St
Osceola, IA 50213


Mosaic
Overland Trails 322
2846 Old Fair Rd
Grand Island, NE 68803


Mosaic Church
Georgia‐Carolina 093
P.O. Box 2402
478 Columbia Industrial Blvd
Evans, GA 30809


Mosaic Elementary School PTO
Greater St Louis Area Council 312
3701 Will Ave
Saint Louis, MO 63125


Mosaic Press LLC
3543 Indian Creek Rd, Ste A
P.O. Box 436
Happy Camp, CA 96039


Mosaic Utd Methodist Church
Lincoln Heritage Council 205
8008 Saint Andrews Church Rd
Louisville, KY 40258


Mosark LLC
35257 Hwy 87
Raton, NM 87740


Moscow Church Of The Nazarene
Inland Nwest Council 611
1400 E 7th St
Moscow, ID 83843


Moses Lake Alliance Church
Grand Columbia Council 614
1100 N Grape Dr
Moses Lake, WA 98837
Mosher Jewelers, Inc
Water and Woods Council 782
336 Huron Ave
Port Huron, MI 48060


Moss Bluff Church Of Christ
North Florida Council 087
17310 SE 95th St Rd
Ocklawaha, FL 32179


Moss Bluff Church Of Christ
North Florida Council 087
17515 SE 95th St Rd
Ocklawaha, FL 32179


Moss Bluff First Utd Methodist Church
Calcasieu Area Council 209
735 Sam Houston Jones Pkwy
Lake Charles, LA 70611


Moss Bluff Utd Methodist Church
Calcasieu Area Council 209
735 Sam Houston Jones Pkwy
Lake Charles, LA 70611


Moss Point Rotary Club
Pine Burr Area Council 304
3806 Bellview Ave
Moss Point, MS 39563


Moss Point Rotary Club
Pine Burr Area Council 304
P.O. Box 487
Escatawpa, MS 39552


Mossville Utd Methodist Church
W D Boyce 138
1015 E Mossville Rd
Peoria, IL 61615


Most Blessed Sacrament Catholic Church
Istrouma Area Council 211
15615 Jefferson Hwy
Baton Rouge, LA 70817


Most Blessed Sacrament Catholic Church
Longhorn Council 662
2100 N Davis Dr
Arlington, TX 76012


Most Blessed Sacrament RC Ch
Hawk Mountain Council 528
610 Pine St
Bally, Pa 19503


Most Holy Rosary Church
National Capital Area Council 082
11704 Duley Station Rd
Upper Marlboro, MD 20772


Most Holy Trinity Catholic Church
Yucca Council 573
10000 Pheasant Rd
El Paso, TX 79924


Most Holy Trinity Church
Suffolk County Council Inc 404
79 Buell Ln
East Hampton, NY 11937


Most Precious Blood Catholic Church
Central Florida Council 083
113 Lockwood Blvd
Oviedo, FL 32765


Most Precious Blood Catholic Church
Denver Area Council 061
2250 S Harrison St
Denver, CO 80210


Most Precious Blood Catholic School
South Texas Council 577
3502 Saratoga Blvd
Corpus Christi, TX 78415


Most Precious Blood School
Hudson Valley Council 374
180 Ulster Ave
Walden, NY 12586


Most Pure Heart Of Mary Catholic Church
Jayhawk Area Council 197
1800 SW Stone Ave
Topeka, KS 66604


Most Rev Daniel Conlon
Diocese of Joliet
16555 Weber Rd
Crest Hill, IL 60403


Most Sacred Heart Catholic Church
Greater St Louis Area Council 312
350 E 4th St
Eureka, MO 63025


Mother Goose Christian School
Andrew Jackson Council 303
6543 Watkins Dr
Jackson, MS 39213


Mother Lode Gun Club
Greater Yosemite Council 059
P.O. Box 1759
Jamestown, CA 95327


Mother Of Christ Catholic Church
South Florida Council 084
14141 SW 26th St
Miami, FL 33175


Mother Of Divine Providence Church
Cradle of Liberty Council 525
333 Allendale Rd
King of Prussia, PA 19406
Mother Of God School
National Capital Area Council 082
20501 Goshen Rd
Gaithersburg, MD 20879


Mother Of Good Counsel ‐ H N S
Three Harbors Council 636
6924 W Lisbon Ave
Milwaukee, WI 53210


Mother Of Good Counsel Church
31 Pennswood Rd
Bryn Mawr, PA 19010


Mother Of Mercy
Central Minnesota 296
P.O. Box 676
Albany, MN 56307


Mother Of Our Redeemer Catholic Church
South Florida Council 084
8445 NW 186th St
Hialeah, FL 33015


Mother Of Our Redeemer Catholic School
South Florida Council 084
8445 NW 186th St
Hialeah, FL 33015


Mother Of Sorrows Roman Catholic Church
Westmoreland Fayette 512
4202 Old William Penn Hwy
Murrysville, PA 15668


Mother Teresa Catholic Elementary
Dan Beard Council, Bsa 438
7197 Mother Teresa Ln
Liberty Township, OH 45044


Motion Industries, Inc
P.O. Box 849737
Dallas, TX 75284‐9737


Motion Marine   Car Audio
P.O. Box 821
363 S Coconut Palm Blvd
Tavernier, FL 33070


Motion Picture Licensing Corp
5455 Centilena Ave
Los Angeles, CA 90066


Motion Picture Licensing Corp
5455 Centinela Avenua
Los Angeles, CA 90066‐6970


Motion Picture Licensing Corp
P.O. Box 80144
City of Industry, CA 91716


Motivate Our Minds
Crossroads of America 160
2023 E Highland Ave
Muncie, IN 47303


Motivating Youth Foundation
Central Georgia Council 096
905 Main St
Macon, GA 31217


Motivators, Inc
Attn Rebecca
123 Frost St, Ste 201
Westbury, NY 11590


Motor Vehicle Div
1239 S Second
Raton, NM 87740


Motor Vehicle Div
501 3rd St
Springer, NM 87747
Motorbooks International
729 Prospect Ave
P.O. Box 1
Osceola, WI 54020


Moultonboro Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 215
Moultonboro, NH 03254


Mound Chapel Church Of God
Greater St Louis Area Council 312
109 W Manchester Dr
Decatur, IL 62526


Mound City Christian Church
Heart of America Council 307
430 Spruce St
Mound City, KS 66056


Mound Elementary School
Lake Erie Council 440
5935 Ackley Rd
Cleveland, OH 44105


Mound Park Elementary School PTO
Great Lakes Fsc 272
5336 Toepfer Rd
Warren, MI 48091


Mounds View Lions Club
Abiding Savior Lutheran
Northern Star Council 250
5086 Ewood Rd
Mounds View, Mn 55112


Moundsview Business Properties LLC
1680‐A 99th Ln N E
Blaine, MN 55449
Moundville Methodist Church
Black Warrior Council 006
P.O. Box 35
Moundville, AL 35474


Mount Airy Police Dept
Old Hickory Council 427
150 Rockford St
Mount Airy, NC 27030


Mount Allamuchy Scout Reservation
Patriots Path Council 358
750 Waterloo Rd
Stanhope, NJ 07874


Mount Ararat Activity Center
Laurel Highlands Council 527
271 Paulson Ave
Pittsburgh, PA 15206


Mount Baker
1715‐100th Pl Se
Everett, WA 98208‐3827


Mount Baker Cncl 606
1715 100th Pl Se, Ste B
Everett, WA 98223


Mount Calvary American Legion
Bay‐Lakes Council 635
107 Fond Du Lac St
Mount Calvary, WI 53057


Mount Calvary Lutheran Church
French Creek Council 532
1603 W 32nd St
Erie, PA 16508


Mount Calvary Lutheran Church
Mid‐America Council 326
5529 Leavenworth St
Omaha, NE 68106
Mount Calvary Lutheran Church
Northern Star Council 250
301 County Rd 19
Excelsior, MN 55331


Mount Calvery Baptist Church
Mobile Area Council‐Bsa 004
505 Mount Calvary Ave
Prichard, AL 36610


Mount Carmel Baptist Church
Old Hickory Council 427
123 Mount Carmel Church Rd
Mount Airy, NC 27030


Mount Carmel Christian Church
Dan Beard Council, Bsa 438
4110 Bach Buxton Rd
Batavia, OH 45103


Mount Carmel Church Of The Nazarene
San Diego Imperial Council 049
10060 Carmel Mountain Rd
San Diego, CA 92129


Mount Carmel Elks Lodge 356
Susquehanna Council 533
128 N Oak St
Mount Carmel, PA 17851


Mount Carmel Utd Methodist Church
Erie Shores Council 460
5480 County Rd 177
Bellevue, OH 44811


Mount Carmel Utd Methodist Church
Ozark Trails Council 306
1001 N National Ave
Springfield, MO 65802
Mount Carmel Utd Methodist Church
Tuscarora Council 424
P.O. Box 10
Pikeville, NC 27863


Mount Carroll Lions Club
Blackhawk Area 660
8044 Oakville Rd
Mount Carroll, IL 61053


Mount Charmel Church
Puerto Rico Council 661
P.O. Box 695
Arroyo, PR 00714


Mount Clemens Elks 2124
Great Lakes Fsc 272
179 S Main St
Mount Clemens, MI 48043


Mount Clemens Rotary
Great Lakes Fsc 272
P.O. Box 621
Mount Clemens, MI 48046


Mount Crawford Ruritan Club
Stonewall Jackson Council 763
P.O. Box 241
Mount Crawford, VA 22841


Mount Cross Evangelical Lutheran Church
Pacific Harbors Council, Bsa 612
8902 40th St W
University Pl, WA 98466


Mount Desert Fire Dept
Katahdin Area Council 216
P.O. Box 248
Northeast Harbor, ME 04662


Mount Diablo Silverado
800 Ellinwood Way
Pleasant Hill, CA 94523


Mount Diablo Silverado Council
800 Ellinwood Way
Pleasant Hill, CA 94523


Mount Diablo‐Silverado Cncl 23
800 Ellinwood Way
Pleasant Hill, CA 94523


Mount Ephraim Utd Methodist Church
Muskingum Valley Council, Bsa 467
51037 Mud Run Rd
Sarahsville, OH 43779


Mount Fagan Ward ‐ LDS South Stake
Catalina Council 011
101 N Wview Dr
Vail, AZ 85641


Mount Gerizim Mbc Missionary Baptist Ch
Mobile Area Council‐Bsa 004
1705 E Dog River Dr
Mobile, Al 36605


Mount Gilead Baptist Church
Occoneechee 421
6248 Cliffdale Rd
Fayetteville, NC 28314


Mount Greenwood Evangelical Lutheran Ch
Pathway To Adventure 456
10911 S Trumbull Ave
Chicago, Il 60655


Mount Hollis Lodge Of Free Masons
Mayflower Council 251
657 Washington St
Holliston, MA 01746


Mount Holly Utd Methodist Church
Palmetto Council 549
1996 Mount Holly Rd
Rock Hill, SC 29730


Mount Hope Emergency Medical Service Inc
428 Main St
Mt Hope, WV 25880


Mount Hope Presbyterian Church
Water and Woods Council 782
517 W Jolly Rd
Lansing, MI 48910


Mount Hope Presbyterian Gardner
Water and Woods Council 782
301 Jolly Rd
Lansing, MI 48910


Mount Hope Utd Methodist Church
Cradle of Liberty Council 525
4020 Concord Rd
Aston, PA 19014


Mount Hope Volunteer Fire Dept
428 Main St
Mount Hope, WV 25880


Mount Horeb Lions Club
Glaciers Edge Council 620
113 Lauryn Ct
Todd Vieau
Mount Horeb, WI 53572


Mount Jewett Rotary Club
Allegheny Highlands Council 382
P.O. Box 385
Mount Jewett, PA 16740


Mount Joy Rotary Club
Pennsylvania Dutch Council 524
P.O. Box 275
Mount Joy, PA 17552
Mount Laurel Fraternal Order Of Police
Garden State Council 690
P.O. Box 132
Mount Laurel, NJ 08054


Mount Lebanon Fire Dept
Laurel Highlands Council 527
555 Washington Rd
Mt Lebanon, PA 15228


Mount Mercy University
Student Financial Services Center
1330 Elmhurst Dr Ne
Cedar Rapids, IA 52402


Mount Moriah Baptist Church
Chickasaw Council 558
2634 Carnes Ave
Memphis, TN 38114


Mount Moriah Baptist Church
Coastal Carolina Council 550
7396 Rivers Ave
North Charleston, SC 29406


Mount Moriah Baptist Church
Palmetto Council 549
P.O. Box 6241
445 S Church St
Spartanburg, SC 29304


Mount Moriah Missionary Baptist Church
Coastal Carolina Council 550
7396 Rivers Ave
North Charleston, SC 29406


Mount Nebo Presbyterian Church
Laurel Highlands Council 527
1828 Roosevelt Rd
Sewickley, PA 15143
Mount Nebo Utd Presby Church
Laurel Highlands Council 527
1828 Roosevelt Rd
Sewickley, PA 15143


Mount Norris Scout Res Alumni Assoc
Green Mountain 592
113 Center Rd
Essex Junction, Vt 05452


Mount Oak Utd Methodist Church
National Capital Area Council 082
14110 Mount Oak Rd
Mitchellville, MD 20721


Mount Of Olives Lutheran Church
Orange County Council 039
24772 Chrisanta Dr
Mission Viejo, CA 92691


Mount Olive Baptist Church
Great Smoky Mountain Council 557
1601 Dandridge Ave
Knoxville, TN 37915


Mount Olive Baptist Church
Heart of Virginia Council 602
8775 Mount Olive Ave
Glen Allen, VA 23060


Mount Olive Baptist Church
National Capital Area Council 082
1601 13th Rd S
Arlington, VA 22204


Mount Olive Lutheran Church
Gamehaven 299
2830 18th Ave Nw
Rochester, MN 55901


Mount Olive Lutheran Church
Las Vegas Area Council 328
2170 Havasupai Blvd
Lake Havasu City, AZ 86403


Mount Olive Lutheran Church
Verdugo Hills Council 058
3561 Foothill Blvd
La Crescenta, CA 91214


Mount Olive Lutheran Church
Voyageurs Area 286
2012 E Superior St
Duluth, MN 55812


Mount Olive Ministries
Silicon Valley Monterey Bay 055
1989 E Calaveras Blvd
Milpitas, CA 95035


Mount Olive Missionary Baptist
Occoneechee 421
118 Johnson St
Fayetteville, NC 28303


Mount Olive Missionary Baptist Church
Longhorn Council 662
2951 Evans Ave
Fort Worth, TX 76104


Mount Olive Scouts
Pine Burr Area Council 304
1313 Country Club Rd
Hattiesburg, MS 39401


Mount Olivet Lutheran Church
Northern Star Council 250
4320 Colfax Ave S
Minneapolis, MN 55409


Mount Olivet Lutheran Church
Northern Star Council 250
5025 Knox Ave S
Minneapolis, MN 55419


Mount Olivet Lutheran Church
Northern Star Council 250
7150 Rolling Acres Rd
Victoria, MN 55386


Mount Olivet Utd Church Of Christ
Great Trail 433
410 W S Range Rd
North Lima, OH 44452


Mount Olivet Utd Methodist Church
Del Mar Va 081
315 High St
Seaford, DE 19973


Mount Paran Christian School
Atlanta Area Council 092
1275 Stanley Rd Nw
Kennesaw, GA 30152


Mount Paran Missionary Baptist Church
Norwela Council 215
1855 Russell Rd
Shreveport, LA 71107


Mount Pisgah Baptist Church
Greater Alabama Council 001
2585 Rolling Hills Ln
Ider, AL 35981


Mount Pisgah Utd Methodist Church
Atlanta Area Council 092
2850 Old Alabama Rd
Johns Creek, GA 30022


Mount Pisgah Utd Methodist Church
Old N State Council 070
2600 Pisgah Church Rd
Greensboro, NC 27455
Mount Pleasant Baptist Church
Central Georgia Council 096
5455 Mount Pleasant Church Rd
Macon, GA 31216


Mount Pleasant Church
Laurel Highlands Council 527
846 State Route 18
Aliquippa, PA 15001


Mount Pleasant Methodist Church
Old Hickory Council 427
4700 Old Walkertown Rd
Winston Salem, NC 27105


Mount Pleasant Presbyterian Church
Coastal Carolina Council 550
302 Hibben St
Mt Pleasant, SC 29464


Mount Pleasant Ruritan Club
National Capital Area Council 082
8101 Crum Rd
Mt Pleasant, MD 21701


Mount Pleasant Township Lions Club
Westmoreland Fayette 512
P.O. Box 176
Norvelt, PA 15674


Mount Pleasant Utd Brethren
New Birth of Freedom 544
2509 Black Gap Rd
Chambersburg, PA 17202


Mount Pleasant Utd Methodist Chruch
Occoneechee 421
269 Manns Chapel Rd
Pittsboro, NC 27312


Mount Pleasant Utd Methodist Church
Crossroads of America 160
3092 E Davis Dr
Terre Haute, IN 47802


Mount Pleasant Utd Methodist Church
Old N State Council 070
4400 Alamance Church Rd
Liberty, NC 27298


Mount Pocono Utd Methodist Church
Minsi Trails Council 502
12 Church Ave
Mount Pocono, PA 18344


Mount Rainier Police Dept
National Capital Area Council 082
3249 Rhode Island Ave
Mount Rainier, MD 20712


Mount Sinai Junior Fire Dept
Suffolk County Council Inc 404
746 Mt Sinai‐Coram R
Mount Sinai, NY 11766


Mount Sinai Missionary Baptist Church
Central Florida Council 083
5200 W S St
Orlando, FL 32811


Mount Sinai Queens
Greater New York Councils, Bsa 640
2510 30th Ave
Astoria, NY 11102


Mount Sinai Shriners
Green Mountain 592
273 Old Stage Rd
Essex Jct, VT 05452


Mount Sterling Police
Mississippi Valley Council 141 141
145 W Main St
Mount Sterling, IL 62353


Mount Tabor Utd Methodist Church
Buckeye Council 436
108 Walnut St E
East Canton, OH 44730


Mount Vernon Baptist Church
Atlanta Area Council 092
815 Lynhurst Dr Sw
Atlanta, GA 30311


Mount Vernon Baptist Church
Heart of Virginia Council 602
11220 Nuckols Rd
Glen Allen, VA 23059


Mount Vernon Commty
Presbyterian Church
Laurel Highlands Council 527
2200 Buena Vista Rd
Mckeesport, Pa 15135


Mount Vernon Elks Lodge 1604
Mount Baker Council, Bsa 606
2120 Market St
Mount Vernon, WA 98273


Mount Vernon Lodge 8 F     Am
Green Mountain 592
65 Portland St
Morrisville, VT 05661


Mount Vernon Nazarene Univ
Attn Student Financial Aid
800 Martinsburg Rd
Mount Vernon, OH 43050


Mount Vernon Presbyterian Church
Laurel Highlands Council 527
2200 Buena Vista Rd
Mckeesport, PA 15135
Mount Vernon Residents Assoc
Laurel Highlands Council 527
313 Argonne Dr
New Kensington, PA 15068


Mount Vernon Utd Methodist Church
Blue Ridge Mtns Council 599
107 W Main St
Danville, VA 24541


Mount Vernon Utd Methodist Church
Hawkeye Area Council 172
304 1st St Sw
Mount Vernon, IA 52314


Mount Washington Elementary School
Lincoln Heritage Council 205
9234 Hwy 44 E
Mount Washington, KY 40047


Mount Zion Ame Church
Cradle of Liberty Council 525
1312 Willow St
Norristown, PA 19401


Mount Zion Ame Zion Church
Tukabatchee Area Council 005
455 W Jeff Davis Ave
Montgomery, AL 36104


Mount Zion Baptist Church
Daniel Boone Council 414
5521 Nc Hwy 141
Marble, NC 28905


Mount Zion Baptist Church
Great Smoky Mountain Council 557
2714 Brooks Ave
Knoxville, TN 37914
Mount Zion Evangelical Lutheran Church
Pathway To Adventure 456
10400 S Kostner Ave
Oak Lawn, IL 60453


Mount Zion Lutheran Church
Piedmont Council 420
4420 County Home Rd
Conover, NC 28613


Mount Zion Missionary Baptist Church
Pine Burr Area Council 304
P.O. Box 928
Prentiss, MS 39474


Mount Zion Utd Methodist Church
Tuscarora Council 424
15772 Nc Hwy 50 N
Garner, NC 27529


Mountain Brook Presbyterian Church
Greater Alabama Council 001
3450 Brookwood Rd
Mountain Brook, AL 35223


Mountain City Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 305
Mountain City, GA 30562


Mountain Foothills Rotary
Denver Area Council 061
1524 Belford Court
Evergreen, CO 80439


Mountain Hardwear
Dept 33162
P.O. Box 39000
San Francisco, CA 94139‐3162


Mountain High Christian Center
Denver Area Council 061
8444 US Hwy 285
Morrison, CO 80465


Mountain House Muslim Assoc
Greater Yosemite Council 059
795 Adam St
Mountain House, CA 95391


Mountain Laurel Montessori School
Shenandoah Area Council 598


Mountain Laurel Vfw Post 8612
Hudson Valley Council 374
P.O. Box 718
Milford, PA 18337


Mountain Park Utd Methodist Church
Northeast Georgia Council 101
1405 Rockbridge Rd
Stone Mountain, GA 30087


Mountain Plains Museum Assoc
7755 S 23rd St
Lincoln, NE 68512


Mountain Pleasant Community Center
Blue Ridge Council 551
Rd
71 S Fairfield Rd
Greenville, SC 29605


Mountain Production Inc
P.O. Box 454
Wilkes‐Barre, PA 18703‐0454


Mountain Road Church
Trapper Trails 589
796 S Mountain Rd
Fruit Heights, UT 84037


Mountain Shades Inc
11931 I‐70 Frontage Rd N
Wheat Ridge, CO 80033


Mountain Shades/Optic Nerve
11931 I‐70 Frontage Rd N
Wheat Ridge, CO 80033


Mountain Smith, LLC
579 W High St
Aurora, MO 65605


Mountain Sole Shoes, LLC
331 Douglas Dr
Damascus, VA 24236


Mountain State Equipment
508 N Eisenhower Dr
Beckley, WV 25801


Mountain State Honey Co, LLC
334 Pennsylvania Ave
Parsons, WV 26287


Mountain Top American Legion Post 781
Northeastern Pennsylvania Council 501
Church Rd
Mountain Top, PA 18707


Mountain Vending, Inc
549 Industrial Dr
Oak Hill, WV 25901


Mountain View
115 S 2Nd
Raton, NM 87740


Mountain View Baptist Church
Trapper Trails 589
P.O. Box 9
2585 E 3000 N
Layton, UT 84041
Mountain View Buddhist Temple
Pacific Skyline Council 031
575 N Shoreline Blvd
Mountain View, CA 94043


Mountain View College
Circle Ten Council 571
4849 W Illinois Ave
Dallas, TX 75211


Mountain View Community Church
Mount Baker Council, Bsa 606
12033 Seattle Hill Rd
Snohomish, WA 98296


Mountain View Elementary PTO Inc
National Capital Area Council 082
5600 Mcleod Way
Haymarket, VA 20169


Mountain View Elementary School
Westmoreland Fayette 512
1010 Mountain View Dr
Greensburg, PA 15601


Mountain View Lutheran Church
Grand Canyon Council 010
11002 S 48th St
Phoenix, AZ 85044


Mountain View Lutheran Church
Pacific Harbors Council, Bsa 612
3505 122nd Ave E
Edgewood, WA 98372


Mountain View Police Dept
Pacific Skyline Council 031
1000 Villa St
Mountain View, CA 94041
Mountain View Presbyterian Church
Mount Baker Council, Bsa 606
5115 100th St Ne
Marysville, WA 98270


Mountain View School
Aloha Council, Bsa 104
P.O. Box 734
Mountain View, HI 96771


Mountain View Utd Church
Denver Area Council 061
10700 E Evans Ave
Aurora, CO 80014


Mountain View Utd Methodist
Blue Ridge Council 551
6525 Mountain View Rd
Taylors, SC 29687


Mountain View Utd Methodist
Blue Ridge Mtns Council 599
P.O. Box 543
Forest, VA 24551


Mountain View Utd Methodist Church
Hudson Valley Council 374
89 Maple Ave
Pine Bush, NY 12566


Mountain View Utd Methodist Church
Longs Peak Council 062
355 Ponca Pl
Boulder, CO 80303


Mountain View Ward
Lds Tucson West Stake
Catalina Council 011
3656 W Butterfly Ln
Tucson, Az 85742


Mountain Vista PTO
Denver Area Council 061
22200 E Radcliff Pkwy
Aurora, CO 80015


Mountain Vista Utd Methodist Church
Great Salt Lake Council 590
8931 S 3200 W
West Jordan, UT 84088


Mountain West Fire Systems LLC
Utah National Parks 591
P.O. Box 461015
Leeds, UT 84746


Mountaineer Area
1831 Speedway
Fairmont, WV 26554


Mountaineer Automotive LLC
615 N Eisenhower Dr
Beckley, WV 25801


Mountaineer Boat Sales Inc
P.O. Box 38
Beaver, WV 25813


Mountaineer Cncl 615
1831 Speedway Ave
Fairmont, WV 26554


Mountaineer Coach Inc
260 Industrial Park Rd
Beaver, WV 25813


Mountaineer Gas Co
2401 Sissonville Dr
Charleston, WV 25387


Mountaineer Gas Co
501 56th St Se
Charleston, WV 25361‐0201
Mountaineer Gas Co
P.O. Box 580211
Charlotte, NC 28258‐0211


Mountain‐Plains Museums Assoc
7110 W David Dr
Littleton, CO 80128


Mountaintop Services LLC
P.O. Box 730
18 Prairie Wind Trl
Edgewood, NM 87015


Mountainville Recreation, LLC
Utah National Parks 591
3333 N Digital Dr, Ste 460
Lehi, UT 84043


Mountlake Terrace Police Dept
Mount Baker Council, Bsa 606
5906 232nd St Sw
Mountlake Terrace, WA 98043


Mountville Lions Club
Pennsylvania Dutch Council 524
39 Madge Dr
Lancaster, PA 17603


Mouvement Scout De Suisse
c/o Sarah Brunner
Hofackerstrasse 3
Amriswill, 8580
Switzerland


Movement Church
Daniel Webster Council, Bsa 330
27 Depot St
Merrimack, NH 03054


Moville Utd Methodist Church
Mid‐America Council 326
450 S 1st St
Moville, IA 51039


Movimiento Scout Del Uruguay
Andres Martinez Trueba 1187
Montevideo
Uruguay


Moving Ahead Program
Great Rivers Council 653
301 N Providence Rd
Columbia, MO 65203


Moving Picture
748 N Victoria Park Rd
Ft Lauderdale, FL 33304


Mowatt Utd Methodist Church
National Capital Area Council 082
40 Ridge Rd
Greenbelt, MD 20770


Moweaqua Ministerial Alliance
Greater St Louis Area Council 312
P.O. Box 181
Moweaqua, IL 62550


Moy Mo Da Yo Recreational Oversight Ctte
Pine Tree Council 218
P.O. Box 240
Limington, Me 04049


Moyers Corners Vol Fire Dept
Longhouse Council 373
Morgan Rd
Liverpool, NY 13090


Mp Direct, Inc
4800 126th Ave N
Clearwater, FL 33762
Mp E
17819 Davenport Rd, 125
Dallas, TX 75252


Mpact Solutions
1451 S Elm Eugene St, Box 39
Greensboro, NC 27406‐2284


Mpc Computers, LLC
P.O. Box 774339
4339 Solutions Ctr
Chicago, IL 60677‐4003


MPCA
Attn Minnesota Pollution Control Agency
P.O. Box 64893
St Paul, MN 55164‐0893


MPLC
P.O. Box 6067
Wallingford, CT 06492


Mplc
P.O. Box 66970
Los Angeles, CA 90066‐6970


Mpowerd, Inc
c/o P2B Investor, Inc
P.O. Box 173939
Denver, CO 80217


Mps
P.O. Box 930668
Atlanta, GA 31193‐0668


Mps Grand Lodge Of Masons
Northern Star Council 250
11501 Masonic Home Dr
Bloomington, MN 55437
Mps Holding Corp
8500 Governors Hill Dr
Symmes Township, OH 45249


Mps Holding Corp
Vantiv Intergrated Payment LLC
150 Mercury Village Dr
Durango, CO 81301


Mps Inc
141 Regal Row
Dallas, TX 75247‐5304


Mpug
1143 Nern Bldg 315
Clarks Summit, PA 18411


Mr   Mrs E Chmielewski Jr
75 Beckwith Hill Dr
Salem, CT 06420


Mr   Mrs Gangel
28 Edgar Dr
Smithtown, NY 11787


Mr   Mrs Gerald Robinson
1217 Shirley Way
Bedford, TX 76022‐6731


Mr   Mrs M Ball
7 George O Littlefield Cir
Marlboro, MA 02346‐1115


Mr Rooter
4250 Spring Valley Rd
Farmers Branch, TX 75244


Mr Spirits Inc
dba Bellacinos Pizza      Grinders
1240 N Eisenhower Dr
Beckley, WV 25801
Mr Spirits Inc
P.O. Box 70
Beaver, WV 25813


Mr Tom Copeland
6118 Church St
Greensboro, NC 27455


Mr. Edward H. Mckay
500 Shentel Way
Edinburg, VA 22824


Mr. Ray Ostroski
500 Shentel Way
Edinburg, VA 22824


Mrh Ecc Elementary PTO Inc
Greater St Louis Area Council 312
1800 Princeton Pl
Richmond Heights, MO 63117


Mrr Soft, Inc
10437 W Innovation Dr, Ste 516
Wauwatosa, WI 53226


Mrr Soft, Inc
Dba Artifi Labs, Znode, LLC
1225 Discovery Pkwy
Wauwatosa, WI 53226


Mrytle Grove Utd Methodist Church
Gulf Coast Council 773
1030 N 57th Ave
Pensacola, FL 32506


Ms Billies Flower Shop
Lincoln Heritage Council 205
2201 Werfield Dr
Providence, KY 42050
M‐S Cash Drawer Corp
2085 E Foothill Blvd
Pasadena, CA 91107


Ms Dept Of Employment Security
P.O. Box 22781
Jackson, MS 39225‐2781


Ms Methodist Rehabilitation Center
Andrew Jackson Council 303
1350 E Woodrow Wilson Ave
Jackson, MS 39216


Ms Secretary Of State
125 S Congress St
Jackson, MS 39201


Msc Industrial Supply Co
Dept Ch 0075
Palantine, IL 60055‐0075


Msh
4429 E Village Rd
Long Beach, CA 90808


Msr Resort Lodging Tenant LLC
File 51108
Los Angeles, CA 90074‐1108


Msu Extension
P.O. Box 172040
115 Culbertson Hall
Bozeman, MT 59717


Mt Airy Baptist Church
National Capital Area Council 082
1100 N Capitol St Nw
Washington, DC 20002


Mt Allamuchy Scout Camp
Patriots Path Council 358
1 Saddle Rd
Cedar Knolls, NJ 07927


Mt Ararat Baptist Church
National Capital Area Council 082
1112 Garrisonville Rd
Stafford, VA 22556


Mt Ararat Lodge Af   Am
Baltimore Area Council 220
136 E Gordon St
Bel Air, MD 21014


Mt Arlington Fire And Rescue
Patriots Path Council 358
407 Howard Blvd
Mount Arlington, NJ 07856


Mt Auburn Utd Methodist Church
Crossroads of America 160
3100 W Stones Crossing Rd
Greenwood, IN 46143


Mt Bethel Social Club Of Oxford
Minsi Trails Council 502
342 Janes Chapel Rd
Oxford, NJ 07863


Mt Bethel Umc Mens Fellowship
Flint River Council 095
992 Mount Bethel Rd
Mcdonough, GA 30252


Mt Bethel Utd Methodist Church
Atlanta Area Council 092
4385 Lower Roswell Rd
Marietta, GA 30068


Mt Bethel Utd Methodist Church
Flint River Council 095
992 Mount Bethel Rd
Mcdonough, GA 30252


Mt Bethel Utd Methodist Church
Piedmont Council 420
9042 Nc Hwy 127
Hickory, NC 28601


Mt Blanchard Utd Methodist Church
Black Swamp Area Council 449
204 S Main St
P.O. Box 311


Mt Calvary Baptist Church
Mobile Area Council‐Bsa 004
505 N Prince Ave
Prichard, AL 36610


Mt Calvary Lutheran Church
California Inland Empire Council 045
P.O. Box 250
Lake Arrowhead, CA 92352


Mt Calvary Lutheran Church
Greater Yosemite Council 059
P.O. Box 280
Mi Wuk Village, CA 95346


Mt Calvary Lutheran Church
Orange County Council 039
5895 Ball Rd
Cypress, CA 90630


Mt Calvary Outreach Center
Palmetto Council 549
P.O. Box 483
Kershaw, SC 29067


Mt Calvary Utd Methodist Church
New Birth of Freedom 544
175 N Fairville Ave
Harrisburg, PA 17112
Mt Calvery Lutheran Church
Mid‐America Council 326
5529 Leavenworth St
Omaha, NE 68106


Mt Carmel Baptist Church
Atlanta Area Council 092
2755 Campbellton Rd Sw
Atlanta, GA 30311


Mt Carmel Baptist Church
Middle Tennessee Council 560
7665 Hwy 25 E
Cross Plains, TN 37049


Mt Carmel Baptist Mens Fellow
Mountaineer Area 615
American Legion
Post 29
Beverly, WV 26253


Mt Carmel Baptist Mens Fellows
Mountaineer Area 615
Rt. 1 Box 11
Beverly, WV 26253


Mt Carmel Lutheran Church
Northern Star Council 250
1701 Saint Anthony Pkwy
Minneapolis, MN 55418


Mt Carmel Methodist Church
Baltimore Area Council 220
4760 Mountain Rd
Pasadena, MD 21122


Mt Carmel Umc Mens Club
Atlanta Area Council 092
5100 S Old Peachtree Rd
Norcross, GA 30092
Mt Carmel Utd Methodist Church
Baltimore Area Council 220
17036 Pretty Boy Dam Rd
Parkton, MD 21120


Mt Carmel Utd Methodist Church
Flint River Council 095
1951 Mount Carmel Rd
Hampton, GA 30228


Mt Carmel Utd Methodist Church
Middle Tennessee Council 560
250 Mt Carmel Church Rd
Sparta, TN 38583


Mt Carmel Utd Methodist Church
Old Hickory Council 427
4265 Ebert Rd
Winston Salem, NC 27127


Mt Carmel Utd Methodist Church
Old N State Council 070
361 Mount Carmel Chu Rd
Reidsville, NC 27320


Mt Clemens Montessori School
Great Lakes Fsc 272
1070 Hampton Rd
Mount Clemens, MI 48043


Mt Comfort Utd Methodist Church
Crossroads of America 160
3179 N 600 W
Greenfield, IN 46140


Mt Ennon Baptist Church
National Capital Area Council 082
P.O. Box 539
9832 Piscataway Rd
Clinton, MD 20735


Mt Ephraim Baptist Church
Atlanta Area Council 092
1202 W Marietta St Nw
Atlanta, GA 30318


Mt Eva M.B. Church
Andrew Jackson Council 303
3805 Wynndale Rd
Terry, MS 39170


Mt Generator Pty Ltd
195‐199 Botany Rd
Waterloo, Sa 2017
Australia


Mt Healthy Utd Methodist Church
Dan Beard Council, Bsa 438
7612 Perry St
Cincinnati, OH 45231


Mt Hebron Lutheran Church
Piedmont Council 420
103 Main Ave E
Hildebran, NC 28637


Mt Hebron Utd Methodist Church
Indian Waters Council 553
3050 Leaphart Rd
West Columbia, SC 29169


Mt Hebron Utd Methodist Church‐Mens
Indian Waters Council 553
Club
3050 Leaphart Rd


Mt Holly Springs Utd Methodist Church
New Birth of Freedom 544
202 W Butler St
Mount Holly Springs, PA 17065


Mt Hood Lions Club
Cascade Pacific Council 492
P.O. Box 74
24730 E Woodsey Way
Welches, OR 97067


Mt Hope Children S Health
1325 W Walnut Hill
Irving, TX 75038


Mt Hope Lutheran Board Of Youth
Three Harbors Council 636
8633 W Becher St
Milwaukee, WI 53227


Mt Horeb Utd Methodist Church
Indian Waters Council 553
1205 Old Cherokee Rd
Lexington, SC 29072


Mt Horeb Utd Methodist Church
Patriots Path Council 358
42 Liberty Corner Rd
Warren, NJ 07059


Mt Jackson Lions Club
Shenandoah Area Council 598
P.O. Box 21
Mount Jackson, VA 22842


Mt Juliet Elementary By Pace National
Middle Tennessee Council 560
2521 W Div St
Mt Juliet, TN 37122


Mt Juliet Elementary Pace National
Middle Tennessee Council 560
2521 W Div St
Mt Juliet, TN 37122


Mt Juliet Mid Sch At Pace Analytical
Middle Tennessee Council 560


Mt Juliet Mid Sch At Pace Analytical
Middle Tennessee Council 560
12065 Lebanon Rd
Mt Juliet, Tn 37122


Mt Juliet Police Dept
Middle Tennessee Council 560
P.O. Box 322
Mount Juliet, TN 37121


Mt Kineo Masonic Lodge 109
Katahdin Area Council 216
P.O. Box 555
Guilford, ME 04443


Mt Kisco Utd Methodist Church
Westchester Putnam 388
300 E Main St
Mount Kisco, NY 10549


Mt Lassen Motor Transit
22503 Sunbright Ave
Red Bluff, CA 96080


Mt Logan Elementary
Simon Kenton Council 441
841 E Main St
Chillicothe, OH 45601


Mt Moriah Baptist Church
Central Georgia Council 096
2789 Millerfield Rd
Macon, GA 31217


Mt Moriah Baptist Church
Daniel Boone Council 414
P.O. Box 29
Edneyville, NC 28727


Mt Moriah Lutheran Church
Greater St Louis Area Council 312
100 S Main St
Anna, IL 62906
Mt Nittany Um Church
Juniata Valley Council 497
1500 E Branch Rd
State College, PA 16801


Mt Olive Ame Church
Greater Tampa Bay Area 089
600 Jones St
Clearwater, FL 33755


Mt Olive Lutheran Church
Capitol Area Council 564
10408 Hwy 290 W
Austin, TX 78736


Mt Olive Missionary Baptist Church
Louisiana Purchase Council 213
316 N Walnut St
Tallulah, LA 71282


Mt Olive Presbyterian Church
Tuscarora Council 424
P.O. Box 86
Mount Olive, NC 28365


Mt Olive Rotary Club
Tuscarora Council 424
105 E College St
Mount Olive, NC 28365


Mt Olive Turner Hall
Greater St Louis Area Council 312
880 E 2nd S St
Mount Olive, IL 62069


Mt Olive Twp Board Of Education
Patriots Path Council 358
227 US Hwy 206, Ste 10
Flanders, NJ 07836
Mt Olivet Lutheran Church
Northern Star Council 250
P.O. Box 153
7150 Rolling Acres Rd
Victoria, MN 55386


Mt Olivet Methodist Church
New Birth of Freedom 544
5000 Simpson Ferry Rd
Mechanicsburg, PA 17050


Mt Olivet Presbyterian Church
Dan Beard Council, Bsa 438
509 W State St
Trenton, OH 45067


Mt Olivet Utd Methodist Church
National Capital Area Council 082
1500 N Glebe Rd
Arlington, VA 22207


Mt Paran Missionary Baptist Church
Norwela Council 215
1855 Russell Rd
Shreveport, LA 71107


Mt Park Utd Methodist Church
Northeast Georgia Council 101
1405 Rockbridge Rd
Stone Mountain, GA 30087


Mt Pilgrim Baptist Church
Sam Houston Area Council 576
908 E 32nd 1/2 St
Houston, TX 77022


Mt Pisgah Utd Methodist Church
Heart of Virginia Council 602
1100 Mount Pisgah Dr
Midlothian, VA 23113


Mt Pisgah Utd Methodist Church
Old N State Council 070
2600 Pisgah Church Rd
Greensboro, NC 27455


Mt Pleasant Community Center
Blue Ridge Council 551
71 S Fairfield Rd
Greenville, SC 29605


Mt Pleasant Kiwanis Club
c/o David H Carrick
Mississippi Valley Council 141 141
800 S Alter Ct
Mount Pleasant, IA 52641


Mt Pleasant Lutheran Church
Indian Waters Council 553
101 N Calhoun St
Saluda, SC 29138


Mt Pleasant Presbyterian Church
Coastal Carolina Council 550
302 Hibben St
Mt Pleasant, SC 29464


Mt Pleasant Ruritan Club
Old Hickory Council 427
P.O. Box 1232
Millers Creek, NC 28651


Mt Pleasant Untied Methodist Church
Blue Ridge Mtns Council 599
3035 Mount Pleasant Blvd
Roanoke, VA 24014


Mt Pleasant Utd Methodist Church
Buckskin 617
P.O. Box 37
Mineral Wells, WV 26150


Mt Pleasant Utd Methodist Church
Chester County Council 539
1713 Liberty Grove Rd
Colora, MD 21917


Mt Pleasant Utd Methodist Church
Old N State Council 070
5120 Burlington Rd
Greensboro, NC 27405


Mt Pleasant Utd Methodist Church
Piedmont Council 420
4136 Mount Pleasant Rd
Sherrills Ford, NC 28673


Mt Royal Elementary Middle School
Baltimore Area Council 220
121 Mcmechen St
Baltimore, MD 21217


Mt Shasta Elks Lodge 2333
Crater Lake Council 491
326 N Mount Shasta Blvd
Mount Shasta, CA 96067


Mt Shasta Ski Park
104 Siskiyon Ave
Mt Shasta, CA 96067


Mt Si Lutheran Church
Chief Seattle Council 609
411 NE 8th St
North Bend, WA 98045


Mt Sidney Ruritan Club
Stonewall Jackson Council 763
P.O. Box 254
675 Buttermilk Rd
Mount Sidney, VA 24467


Mt Sinai Baptist Church
North Florida Council 087
2036 Silver St
Jacksonville, FL 32206
Mt Sterling American Legion Post 374
Mississippi Valley Council 141 141
1111 750 N Ave
Mt Sterling, IL 62353


Mt Tabor Utd Methodist Church
Old Hickory Council 427
3543 Robinhood Rd
Winston Salem, NC 27106


Mt Tabor Utd Methodist Church
Patriots Path Council 358
P.O. Box 29
5 Simpson Ave


Mt Vernon Baptist Church
Old Hickory Council 427
3505 Bamboo Rd
Boone, NC 28607


Mt Vernon Optimist
Crossroads of America 160
P.O. Box 302
Fortville, IN 46040


Mt Vernon Presbyterian
Westark Area Council 016
1300 N Davis St
Pea Ridge, AR 72751


Mt Vernon Utd Methodist Church
National Capital Area Council 082
2006 Belle View Blvd
Alexandria, VA 22307


Mt Vernon Utd Methodist Church
Quivira Council, Bsa 198
5701 E Mount Vernon St
Wichita, KS 67218
Mt Vernon Youth Development Group
Pee Dee Area Council 552
3181 Hwy 348
Loris, SC 29569


Mt Victory Utd Methodist Church
Black Swamp Area Council 449
115 N Main St
Mount Victory, OH 43340


Mt View Methodist Church
Sequoyah Council 713
4405 Orebank Rd
Kingsport, TN 37664


Mt View Parent Teachers Org
Westmoreland Fayette 512
1010 Mountain View Dr
Greensburg, PA 15601


Mt View Utd Methodist Church
Atlanta Area Council 092
2300 Jamerson Rd
Marietta, GA 30066


Mt View Utd Methodist Men
Blue Ridge Council 551
6525 Mountain View Rd
Taylors, SC 29687


Mt Washington American Legion Post 484
Dan Beard Council, Bsa 438
1837 Sutton Ave
Cincinnati, OH 45230


Mt Washington Presbyterian Church
Dan Beard Council, Bsa 438
6474 Beechmont Ave
Cincinnati, OH 45230


Mt Washington Utd Methodist Church
Lincoln Heritage Council 205
253 Flatlick Rd
Mount Washington, KY 40047


Mt Welcome Baptist Church
Atlanta Area Council 092
581 Parker Ave
Decatur, GA 30032


Mt Zion
Central N Carolina Council 416
P.O. Box 477
China Grove, NC 28023


Mt Zion Ame
Greater Alabama Council 001
1955 Bainbridge Rd
Muscle Shoals, AL 35660


Mt Zion Baptist Church
Attn Rev. Odell Cleveland
Old N State Council 070
1301 Alamance Church Rd
Greensboro, NC 27406


Mt Zion Baptist Church
Cradle of Liberty Council 525
1413 S 50th St
Philadelphia, PA 19143


Mt Zion Baptist Church
Great Smoky Mountain Council 557
2714 Brooks Ave
Knoxville, TN 37914


Mt Zion Baptist Church
Northeast Georgia Council 101
Whitman St
Toccoa, GA 30577


Mt Zion Baptist Church
Old Hickory Council 427
950 File St
Winston Salem, NC 27101


Mt Zion Baptist Church
South Georgia Council 098
1905 Martin Luther King Jr Dr
Albany, GA 31701


Mt Zion Lutheran Church
Catalina Council 011
4520 W Ajo Hwy
Tucson, AZ 85746


Mt Zion Lutheran Church
Piedmont Council 420
4420 County Home Rd
Conover, NC 28613


Mt Zion Lutheran Church
Southeast Louisiana Council 214
1401 Simon Bolivar Ave
New Orleans, LA 70113


Mt Zion Utd Methodist Church
Atlanta Area Council 092
1770 Johnson Ferry Rd
Rd


Mt Zion Utd Methodist Church
Baltimore Area Council 220
12430 Scaggsville Rd
Highland, MD 20777


Mt Zion Utd Methodist Church
Baltimore Area Council 220
P.O. Box 755
3006 Old Wminster Pike


Mt Zion Utd Methodist Church
Bucktail Council 509
16 Denton Ave
Du Bois, PA 15801
Mt Zion Utd Methodist Church
Chattahoochee Council 091
2616 Lee Rd 243
Smiths Station, AL 36877


Mt Zion Utd Methodist Church
Glaciers Edge Council 620
2130 Mount Zion Ave
Janesville, WI 53545


Mt Zion Utd Methodist Church
Louisiana Purchase Council 213
1010 Hwy 80
P.O. Box 34


Mt Zion Utd Methodist Church
National Capital Area Council 082
P.O. Box 1060
Mechanicsville, MD 20659


Mt Zion Utd Methodist Church
New Birth of Freedom 544
4685 Mount Zion Dr
Enola, PA 17025


Mt Zion Utd Methodist Church
Tuscarora Council 424
15772 Nc 50
Garner, NC 27529


Mt. Carmel Church Of The Brethren
Old Hickory Council 427
9618 Hwy 221
Scottville, NC 28672


Mt. Carmel Congregational Church
Connecticut Yankee Council Bsa 072
3284 Whitney Ave
Hamden, CT 06518


Mt. Carmel Methodist Church
Middle Tennessee Council 560
230 Mt. Carmel Church Rd
Sparta, TN 38583


Mt. Corinth Missionary Baptist Church
Sam Houston Area Council 576
4901 Providence St
Houston, TX 77020


Mt. Crawford Utd Methodist Church
Stonewall Jackson Council 763
360 N Main St
Mount Crawford, VA 22841


Mt. Enon Missionary Baptist Church
Miami Valley Council, Bsa 444
1501 W 3rd St
Dayton, OH 45407


Mt. Lebanon Utd Methodist Church
Laurel Highlands Council 527
3319 W Liberty Ave
Pittsburgh, PA 15216


Mt. Morris First Utd Methodist Church
Water and Woods Council 782
808 E Mount Morris St
Mount Morris, MI 48458


Mt. Olive Missionary Baptist Church
Occoneechee 421
118 Johnson St
Fayetteville, NC 28303


Mt. Olive Presbyterian Church
Mecklenburg County Council 415
5125 Mount Olive Church Rd
Charlotte, NC 28278


Mt. Olive Umc
Old Hickory Council 427
3521 Wyo Rd
Yadkinville, NC 27055


Mt. Pleasant Optimist Club
Circle Ten Council 571
506 Rosewood St
Mount Pleasant, TX 75455


Mt. Pleasant Twp. Lions Club
Westmoreland Fayette 512
P.O. Box 156
Norvelt, PA 15674


Mt. Summit Christian Church
Crossroads of America 160
P.O. Box 253
Mount Summit, IN 47361


Mt. Vernon Baptist Church
West Tennessee Area Council 559
2728 Unionville Rd
Halls, TN 38040


Mt. Vernon Outland Airport
Greater St Louis Area Council 312
100 Aviation Dr
Mt. Vernon, IL 62686


Mt. Vernon Utd Methodist Church
Northwest Georgia Council 100
597 Lafayette Rd
Rocky Face, GA 30740


Mt. Washington Utd Bretheren
New Birth of Freedom 544
710 Copenhaffer Rd
York, PA 17404


Mt. Zion Lutheran Church
Hawk Mountain Council 528
1343 Long Lane Rd
Kutztown, PA 19530
Mt. Zion Utd Methodist Church
Mecklenburg County Council 415
19600 Zion Ave
Cornelius, NC 28031


Mt.Whitney Baptist Church
Southern Sierra Council 030
P.O. Box 129
Lone Pine, CA 93545


Mta Police
Greater New York Councils, Bsa 640
420 Lexington Ave, Ste 425
New York, NY 10170


Mta Police Dept
Greater New York Councils, Bsa 640
420 Lexington Ave, Apt 425
New York, NY 10170


Mta Police Northern Region
Greater New York Councils, Bsa 640
420 Lexington Ave, Suite 425
New York, NY 10170


Mtd Cnc Solutions Inc
7061 61st St
Pinellas Park, FL 33781


Mtd Usa LLC
1720 Wilwat Dr Nw
Norcross, GA 30093


Mti Inc
10 Cordage Park Cir, Ste 125
Plymouth, MA 02360


Mtm Midwest Trophy Inc
P.O. Box 15659
Oklahoma City, OK 73115‐5659
Mtm Reco Gloitism
8112 Lakeview Dr
Wilmington, NC 28412‐3310


Mtm Recognition Corp
P.O. Box 15659
Oklahoma City, OK 73115‐5659


Mtm Technologies
P.O. Box 27986
New York, NY 10087‐7986


Mtn Light Unitarian Universalist Ch
Northeast Georgia Council 101
P.O. Box 442
Ellijay, Ga 30540


Mtn Park Utd Methodist Church
Northeast Georgia Council 101
1405 Rockbridge Rd
Stone Mountain, GA 30087


Mtn View Elem Parent Faculty Club
Mt Diablo‐Silverado Council 023
1705 Thornwood Dr
Concord, Ca 94521


Mu College Of Ag Food     Natural Resources
Career Srvcs Ofc
2‐64 Ag Bldg
Columbia, MO 65211


Mud Pie, LLC
4893 Lewis Rd A, B, C
Stone Mountain, GA 30083


Mueller Elementary PTO
Sam Houston Area Council 576
7074 Fm 2920 Rd
Spring, TX 77379
Mueller Graphics Supply Inc
P.O. Box 1170
Milwaukee, WI 53201‐1170


Muenster Vfw Post 6205
Longhorn Council 662
P.O. Box 661
Muenster, TX 76252


Muhlenberg Lions Club
Hawk Mountain Council 528
835 E Bellevue Ave
Laureldale, PA 19605


Muirs Chapel Methodist Church
Old N State Council 070
314 Muirs Chapel Rd
Greensboro, NC 27410


Mukikim, LLC
6812 Calumet Rd
Milwaukee, WI 53223


Mukilteo Presbyterian Church
Mount Baker Council, Bsa 606
4514 84th St Sw
Mukilteo, WA 98275


Mulberry ‐ Fairplains Ruritan Club
Old Hickory Council 427
3925 Sparta Rd
North Wilkesboro, NC 28659


Mulberry Community Club
Crossroads of America 160
P.O. Box 611
Mulberry, IN 46058


Mulberry Grove Utd Methodist Church
Greater St Louis Area Council 312
P.O. Box 5
116 N Church St


Mulberry High School Jrotc
Greater Tampa Bay Area 089
1 Panther Pl
Mulberry, FL 33860


Mulberry St Boys And Girls Club
Hawk Mountain Council 528
722 Mulberry St
Reading, PA 19604


Mulberry Street Utd Methodist Church
Muskingum Valley Council, Bsa 467
205 N Mulberry St
Mount Vernon, OH 43050


Mulberry Utd Methodist Church
Greater Tampa Bay Area 089
306 N Church Ave
Mulberry, FL 33860


Mulberry Utd Methodist Church
Westark Area Council 016
325 Church Ave
P.O. Box 251


Mulesoft Inc
Attn Accts Receivable
77 Geary St, Ste 400
San Francisco, CA 94108


Mullen Memorial Baptist Church
Buckskin 617
1520 Putnam Howe Dr
Belpre, OH 45714


Mullen Road Ptg
Inland Nwest Council 611
2616 E 63rd Ave
Spokane, WA 99223
Mullennix Mechanical Inc
2030 Pinecrest Pl
Cumming, GA 30041


Muller Entertainment
6301 Riverside Dr Bldg One
Irving, TX 75039


Mullett Hoover Inc
184 W Ctr
Provo, UT 84601


Mullins Utd Methodist Church
Chickasaw Council 558
4 N Mendenhall Rd
Memphis, TN 38117


Multi Lakes Conservation Club
Great Lakes Fsc 272
3860 Newton Rd
Commerce Township, MI 48382


Multi Service Corp
dba Best Buy Business Advantage Account
P.O. Box 843343
Kansas City, MO 64184‐3343


Multicultural Community Center
Prairielands 117
1126 Country Club Ln
Rantoul, IL 61866


Multicultural Marketing In America
Adweek Diries
770 Broadway Fl 7
New York, NY 10003


Multifamily Mission Ministries
Sam Houston Area Council 576
29327 S Plum Creek Dr
Spring, TX 77386
Multilakes Conservation Assn
Great Lakes Fsc 272
3860 Newton Rd
Commerce Township, MI 48382


Multilink Communications
2420 W Carson St, 110
Torrance, CA 90501


Multiplex Systems, LLC/ Evan Moyer
8401 73rd Ave N, Ste 76
Brooklyn Park, MN 55428


Mulvane Utd Methodist Church
Quivira Council, Bsa 198
107 S Central Ave
Mulvane, KS 67110


Muncie Parks And Recreation
Crossroads of America 160
1800 S Grant St
Muncie, IN 47302


Muncy Baptist Church
Susquehanna Council 533
9 W Penn St
Muncy, PA 17756


Mundelein Police Dept
Northeast Illinois 129
221 N Lake St
Mundelein, IL 60060


Mundelein Vernon Hills Rotery Club
Northeast Illinois 129
P.O. Box 957
Mundelein, IL 60060


Munford Utd Methodist Ch Mens Club
West Tennessee Area Council 559
57 Tipton St S
Munford, Tn 38058


Munger Volunteer Firemen Assoc
Water and Woods Council 782
48 E Munger Rd
576 Cass Ave Rd
Munger, MI 48747


Munhall School PTO
Three Fires Council 127
1400 S 13th Ave
Saint Charles, IL 60174


Municipal Service Bureau
P.O. Box 16755
Austin, TX 78761‐6755


Municipal Treatment Equipment Inc
17301 W Colfax Ave 105
Golden, CO 80401


Municipality Of Alabaster
10052 Hwy 119
Alabaster, AL 35007


Municipality Of Jasper
P.O. Box 2131
Birmingham, AL 35502‐2131


Municipality Of Millbrook
Tax Dept
P.O. Box 630
Millbrook, AL 36054


Municipality Of Skagway
700 Spring St
Skagway, AK 99840


Munro Campagna Ltd
630 N State St, Apt 2109
Chicago, IL 60654


Munroe Falls/Tallmadge Police Dept
Great Trail 433
43 Munroe Falls Ave
Munroe Falls, OH 44262


Munsey Memorial Utd Methodist Church
Sequoyah Council 713
P.O. Box 1336
Johnson City, TN 37605


Munson Fire Dept
Lake Erie Council 440
12200 Auburn Rd
Chardon, OH 44024


Munster Lions Club
Pathway To Adventure 456
P.O. Box 3273
Munster, IN 46321


Munster Police Dept
Pathway To Adventure 456
1001 Ridge Rd
Munster, IN 46321


Munters Moisture Control Services
1709 Solutions Ctr
Chicago, IL 60677‐1007


Murbach Seifert Post 479 American Legion
Erie Shores Council 460
200 S Hallett Ave
Swanton, OH 43558


Murdock Elementary School PTA
Atlanta Area Council 092
2320 Murdock Rd
Marietta, GA 30062
Murfreesboro Rd Civitan Club Wheel Chair
2603 Sandy Dr
Nashville, TN 37216


Murfreesboro Rotary Club Hertford
East Carolina Council 426
1 University Pl
Murfreesboro, NC 27855


Muriel Costello
Address Redacted


Muriel Penix
Address Redacted


Murlene Jennings
Address Redacted


Muroc Systems, Inc
100 Highland Park Village, Ste 200
Dallas, TX 75205


Murphy Booster Club
Greater St Louis Area Council 312
2101 Valley Dr
High Ridge, MO 63049


Murphy Chamber Of Commerce
Circle Ten Council 571
120 E Fm 544 PMB 157, Ste 72
Murphy, TX 75094


Murphy L Galligan
Address Redacted


Murphy Police Dept
Circle Ten Council 571
206 N Murphy Rd
Murphy, TX 75094
Murphy Police Dept
Jim Hermes Post 2005
206 N Murphy Rd
Murphy, TX 75094


Murphys Law Pizza LLC
dba Dominos Pizza
19228 Pelico Rd
Sugarloaf, FL 33042


Murphys Law Pizza LLC
dba Dominos Pizza
2704 N Roosevelt Blvd
Key W, Fl 33040


Murrah High School
Andrew Jackson Council 303
1400 Murrah Dr
Jackson, MS 39202


Murray Avenue Sch
Parent Teacher Assoc
Westchester Putnam 388
250 Murray Ave
Larchmont, Ny 10538


Murray Christian Church
Mid‐America Council 326
305 N Church Ave
Murray, NE 68409


Murray Kiwanis Club
Lincoln Heritage Council 205
6889 State Route 94 W
Murray, KY 42071


Murray Lake Family Links
President Gerald R Ford 781
3275 Alden Nash Ave Ne
Lowell, MI 49331


Murray Ridge Friends
Lake Erie Council 440
9750 Murray Ridge Rd
Elyria, OH 44035


Murray School Parent‐Faculty Assoc
San Francisco Bay Area Council 028
8416 Briarwood Ln
Dublin, CA 94568


Murray State University
Accounts Receivable
200 Sparks Hall
Murray, KY 42071‐3312


Murray Utd Methodist Church
Mid Iowa Council 177
701 Maple St
Murray, IA 50174


Murray‐Stuart Legion Post 566
Cradle of Liberty Council 525
35 S Glen Ave
Glenolden, PA 19036


Murrieta Fire
California Inland Empire Council 045
41825 Juniper St
Murrieta, CA 92562


Murrieta Lions
California Inland Empire Council 045
26821 Adams Ave
Murrieta, CA 92562


Murrieta Police Dept
California Inland Empire Council 045
2 Town Sq
Murrieta, CA 92562


Murrieta Rotary
California Inland Empire Council 045
40485D Murrieta Hot Springs Rd, Ste 334
Murrieta, CA 92563


Murrieta Utd Methodist Men
California Inland Empire Council 045
P.O. Box 602
Murrieta, CA 92564


Murrysville Volunteer Fire Co Station 20
Westmoreland Fayette 512
3235 Sardis Rd
P.O. Box 93
Murrysville, PA 15668


Murtaugh Ward ‐ Kimberly Stake
Snake River Council 111
23709 Hwy 30
Murtaugh, ID 83344


Muscatine Fire Dept
Illowa Council 133
312 E 5th St
Muscatine, IA 52761


Muscatine Salvation Army
Illowa Council 133
1000 Oregon St
Muscatine, IA 52761


Muscogee Creek Nation Lighthorse Police
Indian Nations Council 488
2200 Alligator
Okmulgee, OK 74447


Musconetcong American Legion Post 278
Patriots Path Council 358
Rt 183
Stanhope, NJ 07874


Muscular Dystrophy Assoc
P.O. Box 97075
Washington, DC 20090‐7075
Museum Arts , Inc
2639 Freewood
Dallas, TX 75220


Museum Development Assoc
PMB 170
7 Ave Vista Grande, Ste B7
Santa Fe, NM 87508


Museum Masterworks, Inc
8417 Glazebrook Ave
Richmond, VA 23228


Museum Of Nature   Science
Attn Reservations
P.O. Box 151469
Dallas, TX 75315‐1469


Museum Of The American Railroad
Circle Ten Council 571
6455 Page Rd
Frisco, TX 75034


Museum Of The Fur Trade
6321 Hwy 20
Chadron, NE 69337‐5325


Museum Of The Kansas National Guard
Jayhawk Area Council 197
125 SE Airport Dr
Topeka, KS 66619


Museum Services Corp
385 Bridgepoint Dr
South St Paul, MN 55075‐2466


Museum Store Assoc
P.O. Box 975628
Dallas, TX 75397
Museum Store Products, Inc
430 Sandshore Rd, Units 3‐5
Hackettstown, NJ 07840


Museum Store Products, Inc
430 Sandshore Rd, Units 4‐5
Hackettstown, NJ 07840


Museumscapes
P.O. Box 832795
Richardson, TX 75083


Music Outfitters
134 N 1st Ave E
Ely, MN 55731‐1203


Musician S Friend
c/o Woodwind Brasswind
P.O. Box 7479
Westlake Village, CA 91359


Musician S Friend
P.O. Box 4520
Medford, OR 97501


Musicians Fellowship International
Longhorn Council 662
10400 Jacksboro Hwy
Fort Worth, TX 76135


Musicians Friend, Inc
P.O. Box 7479
Westlake Village, CA 91359


Muska Electric
1985 Oakcrest Ave
Roseville, MN 55113


Muskego Kiwanis Club
Potawatomi Area Council 651
P.O. Box 1414
Muskego, WI 53150


Muskego Lions Club
Potawatomi Area Council 651
P.O. Box 43
Muskego, WI 53150


Muskegon 21St Century Program
President Gerald R Ford 781
349 W Webster Ave
Muskegon, MI 49440


Muskegon Northside Lions
President Gerald R Ford 781
2948 Ridgeview St
Muskegon, MI 49445


Muskingum University
Muskingum Valley Council, Bsa 467
Stormont Ave
New Concord, OH 45762


Muskingum Valley
734 Moorehead Ave
Zanesville, OH 43701‐3349


Muskingum Valley Cncl 467
734 Moorehead
Zanesville, OH 43701‐3349


Muskingum Valley Council, Bsa
Muskingum Valley Council, Bsa 467
734 Moorehead Ave
Zanesville, OH 43701


Muslim Academy
Southeast Louisiana Council 214
440 Realty Dr
Gretna, LA 70056


Muslim American Society
Atlanta Area Council 092
345 Market Pl
Roswell, GA 30075


Muslim American Society
Circle Ten Council 571
1515 Blake Dr
Richardson, TX 75081


Muslim American Society
Houston Chapter
Sam Houston Area Council 576
1800 Baker Rd
Houston, Tx 77094


Muslim American Society
National Capital Area Council 082
20500 Boland Farm Rd
Germantown, MD 20876


Muslim American Society
National Capital Area Council 082
6408 Edsall Rd, Ste 2
Alexandria, VA 22312


Muslim American Society
Occoneechee 421
2220 Jones Franklin Rd
Raleigh, NC 27606


Muslim American Society
Sam Houston Area Council 576
12502 Heath Park Trl
Houston, TX 77089


Muslim American Society Mas
Grand Canyon Council 010
1071 N Alma School Rd
Chandler, AZ 85224


Muslim American Society Of Washington
National Capital Area Council 082
6408 Edsall Rd
Alexandria, VA 22312


Muslim Assoc Cleveland East
Lake Erie Council 440
26901 Chardon Rd
Richmond Heights, OH 44143


Muslim Assoc Of The Triad
Old Hickory Council 427
1435 Lake Cottage Rd
Clemmons, NC 27012


Muslim Assoc Of Virginia Inc
National Capital Area Council 082
5404 Hoadly Rd
Manassas, VA 20112


Muslim Center Of Middlesex County ‐ Mcmc
Patriots Path Council 358
1000 Hoes Ln E
Piscataway, NJ 08854


Muslim Commty
Center Of Greater San Diego
San Diego Imperial Council 049
14698 Via Fiesta
San Diego, Ca 92127


Muslim Community Center
Great Salt Lake Council 590
1888 E Fort Union Blvd
Cottonwood Heights, UT 84121


Muslim Community Center
San Diego Imperial Council 049
14698 Via Fiesta
San Diego, CA 92127


Muslim Community Center Of Charlotte
Mecklenburg County Council 415
3020 Prosperity Church Rd, Ste I
Charlotte, NC 28269


Muslim Community Center Of Charlotte
Mecklenburg County Council 415
3116 Johnston Oehler Rd
Charlotte, NC 28269


Muslim Community Center Of Charlotte
Mecklenburg County Council 415
4301 Shamrock Dr
Charlotte, NC 28215


Muslim Community Of New Jersey, Masjid
Patriots Path Council 358
15 S 2nd St
Fords, NJ 08863


Mustang Utd Methodist Church
Last Frontier Council 480
211 W State Hwy 152
Mustang, OK 73064


Mutual Of America
320 Park Ave
New York, NY 10023‐6839


Mutual Of Omaha Structured
Settlement Co
3300 Mutual of Omaha Plz
Omaha, NE 68175


Mutual Of Omaha Structured Settlement Co
c/o Eps Settlements Group
8307 University Exec Park Dr, Ste 292
Charlotte, NC 28262


Muwekma Village ‐ Order Of The Arrow
Pacific Skyline Council 031
1150 Chess Dr
Foster City, CA 94404
Muzzle‐LoadersCom
2618 Bearco Loop
La Grande, OR 97850


Mv Sport
88 Spence St
P.O. Box 9171
Bay Shore, NY 11706‐9171


Mvpa Musalla
Pacific Skyline Council 031
849 Independence Ave, Ste C
Mountain View, CA 94043


Mwb Shape
Transatlantic Council, Bsa 802
Cmr 450 Box 7500
Apo Ae, 09705


Mwb Support Group
Transatlantic Council, Bsa 802
Cmr 450 Box 7500
Apo Ae, 09705


Mwh Painting Inc
3201 Military Pkwy C300A
Mesquite, TX 75149


Mwr Recreational Lodging
14135 Montague Rd
Fort A P Hill, VA 22427


Mxd Group, Inc
7795 Walton Pkwy
New Albany, OH 43054


My Binding
1800 NE 25th Ave, Ste 15
Hillsboro, OR 97124


My Capture Inc
317 N 11th St, Ste 302
St. Louis, MO 63101


My Jewish Learning Inc
377 5th Ave 2nd Fl
New York, NY 10016


My Kid S Club Serving Johnston County
Tuscarora Council 424
P.O. Box 784
Selma, NC 27576


My Mattress
Trapper Trails 589
981 Main St
Logan, UT 84321


My Own Meals Inc
P.O. Box 334
Deerfield, IL 60015


My Tire Guys, Inc
Utah National Parks 591
9999 N 5320 W
Highland, UT 84003


Myakka Family Worship Center
Southwest Florida Council 088
33420 Singletary Rd
Myakka City, FL 34251


Mycapa, LLC
Tidewater Council 596
P.O. Box 7578
Portsmouth, VA 23707


Myers And Chapman
Mecklenburg County Council 415
1101 Woodrdg Ctr Dr, Ste 160
Charlotte, NC 28217
Myers Civic Group
Water and Woods Council 782
5524 Chalfonte Pass Dr
Grand Blanc, MI 48439


Myers Elementary
Buffalo Trace 156
3660 Cannelton Hts
Cannelton, IN 47520


Myers Lawn Care Services
c/o Douglas A Bicksler Cpa
Hc 40 Box 69
Lewisburg, WV 24901


Myers Lawn Care Svcs
Hc 40 Box 69
Lewisburg, WV 24901


Myers Memorial Methodist Church
Piedmont Council 420
301 S New Hope Rd
Gastonia, NC 28054


Myers Memorial Utd Methodist Church
Piedmont Council 420
301 New Hope Rd
Gastonia, NC 28054


Myers Park Presbyterian Church
Mecklenburg County Council 415
2501 Oxford Pl
Charlotte, NC 28207


Myers Park Utd Methodist Church
Mecklenburg County Council 415
1020 Providence Rd
Charlotte, NC 28207


Myers Prescott Olson Post 50 Amer.Legion
Daniel Webster Council, Bsa 330
Post 50 Amer.Legion
West St
Antrim, NH 03440


Myers PTO
Great Lakes Fsc 272
16201 Lauren St
Taylor, MI 48180


Myerstown Utd Church Of Christ
Pennsylvania Dutch Council 524
310 W Main Ave
Myerstown, PA 17067


Mykel Hawke Inc
815‐A Brazos St, Ste 209
Austin, TX 78701


Myla J Epley
Address Redacted


Myles Newberry
Address Redacted


Myles Siegel
Address Redacted


Myocia P Spencer
Address Redacted


Myoffice ProductsCom
P.O. Box 306003
Nashville, TN 37230‐6003


Mypov LLC
7308 Plantation Forest Dr
Spotsylvania, VA 22553


Myra Reide
Address Redacted
Myra Riggs
Address Redacted


Myriam Gilhuly
Address Redacted


Myricks Methodist Church
Narragansett 546
93 Myricks St
Berkley, MA 02779


Myrna Collins
Address Redacted


Myrna Pedrayes
Address Redacted


Myrna Schmitt
Address Redacted


Myron Barnes
Address Redacted


Myron Corp
P.O. Box 660888
Dallas, TX 75266‐0888


Myron Lofton
Address Redacted


Myron Rust
Address Redacted


Myrtis Eason
Address Redacted


Myrtle Clark
Address Redacted
Myrtle Grove Methodist Church
Gulf Coast Council 773
1030 N 57th Ave
Pensacola, FL 32506


Myrtle Grove Presbyterian Church
Cape Fear Council 425
800 Piner Rd
Wilmington, NC 28409


Myrtle Point Lions Club
Oregon Trail Council 697
P.O. Box 306
Myrtle Point, OR 97458


Myrtle Rustay
Address Redacted


N A P P
Photoshop World
P.O. Box 1974
Oldsmar, FL 34677


N Baltimore Rotary Club
Erie Shores Council 460
114 S Main St
North Baltimore, OH 45872


N Brewer Eddington Utd Methodist Ch
Katahdin Area Council 216
31 Main Rd
Eddington, Me 04428


N Brookfield
Lds Branch Springfield Stake
Heart Of New England Council 230
108 New Braintree Rd
North Brookfield, Ma 01535


N Brookfield
Prouty Post 3439 And St. Josephs Church
Heart Of New England Council 230
28 Mount Pleasant St
Maple St
North Brookfield, Ma 01535


N Brookfield ‐ St Josephs Church
Heart of New England Council 230
28 Mount Pleasant St
North Brookfield, MA 01535


N C Dept Of Revenue
P.O. Box 25000
Raleigh, NC 27640‐0150


N C W E
410 Oak St Alu 113
Big Rapids, MI 49307


N Chemung Utd Methodist Church
Five Rivers Council, Inc 375
677 Breesport N Chemung Rd
Lowman, NY 14861


N Collier Fire Control   Rescue Distr
Southwest Florida Council 088
1885 Veterans Park Dr
Naples, Fl 34109


N E W Lions
Northern Star Council 250
245 Park St
Elko New Market, MN 55054


N Glendale Elementary PTA
Greater St Louis Area Council 312
765 N Sappington Rd
Saint Louis, MO 63122


N Harris Computer Corp
62133 Collections Center Dr
Chicago, IL 60693
N Harris Computer Corp
dba Resourcemate
P.O. Box 74007259
Chicago, IL 60674‐7259


N Hixson
Address Redacted


N Kingstown High Sch Project Adventure
Narragansett 546
150 Fairway Dr
North Kingstown, Ri 02852


N L A S
5819 Jane Way
Alexandria, VA 22310‐1202


N Myrtle Beach Dept
Public Safety Law Enforcement
Pee Dee Area Council 552
1015 2Nd Ave S
North Myrtle Beach, Sc 29582


N Palmer Sanders
Address Redacted


N W Harllee E C
Circle Ten Council 571
1216 E 8th St
Dallas, TX 75203


N.C. Dhhs/Office Of Controller
1000 S Sterling St
Morganton, NC 28655


NA Of State Charity Officials
Nasco/Naag
1850 M St NW, 12th Fl
Washington, DC 20036
Na Ohana O Ke Awawa Polynesian Troupe
Greater Yosemite Council 059
P.O. Box 577441
Modesto, CA 95357


NA Utd Methodist Scouters
West Tennessee Area Council 559
P.O. Box 25
Paris, Tn 38242


Naacp
P.O. Box 25314
Little Rock, AR 72221


Naacp‐ Ft Worth
1063 Evans Ave
Ft Worth, TX 76104


Naacp‐ Houston
2002 Wheeler Ave
Houston, TX 77004


Naacp Mid‐Manhattan Branch
270 W 96th St
New York, NY 10025


Naacp/Shiloh Missionary Baptist Church
Longhorn Council 662
2823 N Houston St
Fort Worth, TX 76106


Naba Inc
Department 0610
Washington, DC 20073‐0610


Nabco Entrances Inc
S81W18475 Gemini Dr
Muskego, WI 53150


Nacm Credit Congress
8840 Columbia 100 Pkwy
Columbia, MD 21045‐2158


Nacm Southwest
751 Plaza Blvd
Coppell, TX 75019


Nacm‐Cfdd Dallas/Ft Worth Chapter
Nacm‐Cfdd
P.O. Box 165413
Irving, TX 75016‐5413


Nacogdoches County Sheriff S Office
East Texas Area Council 585
2306 Douglass Rd
Nacogdoches, TX 75964


Nacogdoches LDS First Ward
East Texas Area Council 585
902 Scarlet Oak St
Nacogdoches, TX 75964


Nada
Easton Newberry Sports Complex
24880 NW 16th Ave
Newberry, FL 32669


Nada
National Alliance For Dev Archery
25145 NW 8th Pl, Ste 60
Newberry, FL 32669


Nadine Donnell
Address Redacted


Nadine M Richardson
Address Redacted


Nadine Manghelli
Address Redacted
Naesp
P.O. Box 485
La Grange, IL 60525‐0485


Nagel Rice LLP
103 Elsenhower Pkwy
Roseland, NJ 07068


Nagel Rice LLP
Attn Bruce Nagel
103 Eisenhower Pkwy, Ste 103
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Nagel Rice, LLP
Attn Bruce H Nagel, Bradley L Rice
re Plaintiff
103 Eisenhower Pkwy, Ste 103
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Nahabit   Assoc Inc
9415 Burnet Rd, Ste 201
Austin, TX 78758‐5264


Nahan Printing Inc
Nw 7973
P.O. Box 1450
Minneapolis, MN 55485‐7973


Nahunta Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 126
Nahunta, GA 31553


Nai Hiffman‐Brokerage
1 Oakbrook Ter, Ste 600
Oakbrook Terrace, IL 60181


Nailixa Alexandra Lambert
Address Redacted
Nakuma Tarawally
Address Redacted


Nall Hill Homeowners Assoc
Heart of America Council 307
6009 W 99th St
Overland Park, KS 66207


Namaqua Parent Committee For Education
Longs Peak Council 062
209 N Namaqua Ave
Loveland, CO 80537


Namas
Transatlantic Council, Bsa 802
504 Woodshire Ln
Herndon, VA 20170


Nambe Mills Inc
P.O. Box 633416
Cincinnati, OH 45263‐3416


Namemedia, Inc
230 3rd Ave
Waltham, MA 02451


Nameoki Utd Methodist Church
Greater St Louis Area Council 312
1900 Pontoon Rd
Granite City, IL 62040


Nami Northwoods
Samoset Council, Bsa 627
P.O. Box 262
Wausau, WI 54402


Nampa Elks Lodge 1389
Ore‐Ida Council 106 ‐ Bsa 106
1116 1st St S
Nampa, ID 83651
Nanaks Lip Smoothees
P.O. Box 1095
Taos, NM 87571


Nanakuli Elementary School Supporters
Aloha Council, Bsa 104
89‐778 Haleakala Ave
Waianae, HI 96792


Nance   Underwood Rigging Sails
262 SW 33rd St
Ft Lauderdale, FL 33315


Nance Elementary
Greater St Louis Area Council 312
8959 Riverview Blvd
Saint Louis, MO 63147


Nancy A Vasquez
Address Redacted


Nancy Adelman
Address Redacted


Nancy Albert
Address Redacted


Nancy Allen
Address Redacted


Nancy Amidon
Address Redacted


Nancy Ann Wells
Address Redacted


Nancy Anne Klein
Address Redacted
Nancy Arellano
Address Redacted


Nancy Bates
Address Redacted


Nancy Bennefield
Address Redacted


Nancy Bokesch
Address Redacted


Nancy Boyd
Address Redacted


Nancy Brushaber
Address Redacted


Nancy Burkman
Address Redacted


Nancy Cannon
Address Redacted


Nancy Cash
Address Redacted


Nancy Champion
Address Redacted


Nancy Chandler
Address Redacted


Nancy Cochran Elem Concerned Citizens
Circle Ten Council 571
6000 Keeneland Pkwy
Dallas, TX 75211
Nancy Cooper
Address Redacted


Nancy D Pianka
Address Redacted


Nancy Danner
Address Redacted


Nancy Demaria
Address Redacted


Nancy E Ipock
Address Redacted


Nancy E Moeller‐Federico
Address Redacted


Nancy Elder
Address Redacted


Nancy Frantz
Address Redacted


Nancy Gardner
Address Redacted


Nancy Gettys
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Nancy Greene, Esq
The Greene Law Firm PLLC
3977 Chain Bridge Rd, Ste 201
Fairfax, VA 22030


Nancy Gulley
Address Redacted
Nancy Gully
Address Redacted


Nancy Harrison
Address Redacted


Nancy Hartstein
Address Redacted


Nancy Hausserman
Address Redacted


Nancy Helland
Address Redacted


Nancy Hibnick
Address Redacted


Nancy Hickman
Address Redacted


Nancy Higgins
Address Redacted


Nancy Hilal
Address Redacted


Nancy Hill
Address Redacted


Nancy Hillger
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Nancy Hilty
Address Redacted


Nancy Hogan‐Baur
Address Redacted
Nancy Holzhey
Address Redacted


Nancy Houghtaling
Address Redacted


Nancy Hrivnak
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Nancy Ithier
Address Redacted


Nancy Klein
Address Redacted


Nancy Kreisher
Address Redacted


Nancy Lance
Address Redacted


Nancy Landstreet
Address Redacted


Nancy Lansing
Address Redacted


Nancy Leege‐Woolley
Address Redacted


Nancy Lewis
Address Redacted


Nancy Lollar
Address Redacted
Nancy Matson
Address Redacted


Nancy Maxwell
Address Redacted


Nancy Mckinney
Address Redacted


Nancy Mele
Address Redacted


Nancy Mertzenich
Address Redacted


Nancy Milner
Address Redacted


Nancy Mireles
Address Redacted


Nancy Moore
Address Redacted


Nancy Moreno
Address Redacted


Nancy Muroff
Address Redacted


Nancy Neff
Address Redacted


Nancy Nikolaus
Address Redacted


Nancy Pescatello
Address Redacted
Nancy Proper
Address Redacted


Nancy Rice Holmes
Address Redacted


Nancy Rogers
Address Redacted


Nancy Rozell
Address Redacted


Nancy Russon
Address Redacted


Nancy Ryles Nrco
Cascade Pacific Council 492
10250 SW Cormorant Dr
Beaverton, OR 97007


Nancy Scriven
Address Redacted


Nancy Shepherdson, Inc
24444 Middlefork Rd
Barrington, IL 60010


Nancy Shoemaker
Address Redacted


Nancy Siders
Address Redacted


Nancy Sparks
Address Redacted


Nancy St Germain
Address Redacted


Nancy Stahley
Address Redacted


Nancy Sweet
Address Redacted


Nancy Thompson
Address Redacted


Nancy Townley
Address Redacted


Nancy Turner
Address Redacted


Nancy Urquhart
Address Redacted


Nancy Vega
Address Redacted


Nancy Walker
Address Redacted


Nancy Wallace
Address Redacted


Nancy Watts
Address Redacted


Nancy Weaver
Address Redacted


Nancy Wells
Address Redacted
Nancy Woods
Address Redacted


Nancy Wooldridge
Address Redacted


Nancy Yvonne Chandler
Address Redacted


Nancy Zermani
Address Redacted


Nanette Christensen
Address Redacted


Nanette Fowler
Address Redacted


Nanette Watson
Address Redacted


Nanette Woodsome
Address Redacted


Nang Magazine
Silicon Valley Monterey Bay 055
P.O. Box 111604
Campbell, CA 95011


Nannette Johnson
Address Redacted


Nanticoke High Adventure
Del Mar Va 081
5700 Nanticoke Rd
Seaford, DE 19973


Nanuet Family Resource Center
Hudson Valley Council 374
50 Blauvelt Rd
Nanuet, NY 10954


Naomi Armstrong
Address Redacted


Naomi Burkett
Address Redacted


Naomi Day
Address Redacted


Naomi Hay
Address Redacted


Napa Auto Parts
P.O. Box 409043
Atlanta, GA 30384‐9043


Napa Auto Parts/Professional Auto
231 Mills Ave
Las Vegas, NM 87701


Napa County Firefighters Assoc
Mt Diablo‐Silverado Council 023
5890 Pope Valley Rd
Pope Valley, CA 94567


Napa County Tax Collector
1195 3rd St, Ste 108
Napa, CA 94559‐3050


Napa Fire Dept   Napa City Firefighters
Mt Diablo‐Silverado Council 023
930 Seminary St
Napa, CA 94559


Napa Parts Center Inc
45 E Chapman St
Ely, MN 55731


Napco
Attn Reg. Desk
Publishing Business Conf
1500 Spring Garden St, 12th Fl
Philadelphia, PA 19130


Naper Home    School Assoc
Three Fires Council 127
39 S Eagle St
Naperville, IL 60540


Naperville Fire Dept
Three Fires Council 127
1380 Aurora Ave
Naperville, IL 60540


Naperville Police Dept
Three Fires Council 127
1350 Aurora Ave
Naperville, IL 60540


Naperville Presbyterian Church
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Psc 808 Box 5
Fpo Ae, 09618


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Natl Baptist Convention Of America
c/o Rev F D Sampson
P.O. Box 21219
Houston, TX 77226‐1219


Natl Boy Scouts America Fndn
1325 W Walnut Hill Lane
Irving, Tx 75038


Natl Shooting Sports Foundation Inc
11 Mile Hill Rd
Newtown, CT 06470‐2359


Natomas Parents Assoc
Golden Empire Council 047
21 Sage Grouse Ct
Sacramento, CA 95834


Natomas Youth Assoc
Golden Empire Council 047
2341 Cashaw Way
Sacramento, CA 95834


Natrona Heights Presbyterian Church
Laurel Highlands Council 527
1428 Broadview Blvd
Natrona Heights, PA 15065


Natural History Magazine
P.O. Box 3030
Harlan, IA 51593


Natural History Magazine
P.O. Box 3090
Harlan, IA 51593‐0154


Natural History Museum Ofthe Adirondacks
45 Museum Dr
Tupper Lake, NY 12986


Natural History Society Of Baltimore
Baltimore Area Council 220
P.O. Box 18750
Baltimore, MD 21206


Natural Life Collections, Inc
P.O. Box 116817
Atlanta, GA 30368


Natural Systems International
3600 Cerrillos Rd, Ste 1102
Santa Fe, NM 87507


Nature Coast Emergency Med Fndn, Inc
Greater Tampa Bay Area 089
3876 W Country Hill Dr
Lecanto, Fl 34461


Nature Picture Library Ltd
5A Great George St
Bristol, Bs1 5Rr
United Kingdom


Nature S Bakery, LLC
9460 Double R Blvd, Ste 200
Reno, NV 89521
Nature S Bakery, LLC
P.O. Box 671657
Dallas, TX 75267‐1657


Nature S Creations, Inc
6822 Tilden Ln
Rockville, MD 20852‐4501


Nature Scapes, Inc
P.O. Box 354
Cimarron, NM 87714


Nature Watch
5312 Derry Ave, Ste R
Agora Hills, CA 91301


Naturegraph Publishers Inc
P.O. Box 1047
Happy Camp, CA 96039


Naudain Radcliff
Address Redacted


Naugatuck Utd Methodist Church
Connecticut Rivers Council, Bsa 066
208 Meadow St
Naugatuck, CT 06770


Nauset Rotary Club
Cape Cod and Islands Cncl 224
P.O. Box 1846
Orleans, MA 02653


Nautical Outfitters Corp
dba Plastic‐Mart
685 John B Sias Memorial Pkwy, Ste 330
Edgecliff Village, TX 76134


Navac
Longhouse Council 373
603 N Main St
N Syracuse, NY 13212


Navajo Preparatory School, Inc
Great Swest Council 412
1220 W Apache St
Farmington, NM 87401


Naval Academy Catering
United States Naval Academy
2 Truxtun Rd
Annapolis, MD 21402


Naval Lodge 184
Pine Tree Council 218
11 Shapleigh Rd
Kittery, ME 03904


Naval Support Activity Bahrain
Transatlantic Council, Bsa 802
Psc 901 Box 10000
Fpo Ae, 09805


Navarre P T O
Erie Shores Council 460
410 Navarre Ave
Toledo, OH 43605


Navarro Castillo   Assoc
1563 Ponce De Leon
San Juan, PR 00926


Navarro County Medical Society
Circle Ten Council 571
801 Hospital Dr Co.
Corsicana, TX 75110


Navasota Kiwanis Club
Sam Houston Area Council 576
220 E Washington Ave
Navasota, TX 77868
Navesink Maritime Heritage Assoc
Monmouth Council, Bsa 347
930 W Front St
Red Bank, NJ 07701


Navesink Masonic Lodge 9F Am
Monmouth Council, Bsa 347
14 E Garfield Ave
Atlantic Highlands, NJ 07716


Navex Global Inc
5500 Meadows Rd, Ste 500
Lake Oswego, OR 97035‐3626


Navicent Health Baldwin Inc
Central Georgia Council 096
821 N Cobb St
Milledgeville, GA 31061


Navigation Advertising LLC
416‐B Medical Ctr Pkwy
Murfressboro, TN 37129


Navitor
Attn Rhoda Seabolt
727 Clayton Ave
Waynesboro, PA 17268


Navy Lakehurst Memorial Aid Foundation
Jersey Shore Council 341
32 Jordan Dr
Toms River, NJ 08755


Navy League Of Usa Guam Council
Aloha Council, Bsa 104
P.O. Box 11166
Tamuning, GU 96931


Nawb
P.O. Box 501199
St Louis, MO 63150‐1199


Naylor Pentecostal Church
Greater St Louis Area Council 312
Rr 62 Box 270
Naylor, MO 63953


Nazarene Baptist Church      Joshua Academy
Buffalo Trace 156
867 E Walnut St
Evansville, IN 47713


Nazarene Church
Juniata Valley Council 497
5851 Newtown Ave
Huntingdon, PA 16652


Nazareth Academy
South Texas Council 577
206 W Convent St
Victoria, TX 77901


Nazareth Knights Of Columbus
South Plains Council 694
P.O. Box 203
Nazareth, TX 79063


Nazareth Lutheran Chuch
Winnebago Council, Bsa 173
7401 University Ave
Cedar Falls, IA 50613


Nazareth Lutheran Church
Winnebago Council, Bsa 173
7401 University Ave
Cedar Falls, IA 50613


Nazareth Prep
Laurel Highlands Council 527
8235 Ohio River Blvd
Emsworth, PA 15202
Nazareth Presbyterian Church
Palmetto Council 549
680 Nazareth Church Rd
Moore, SC 29369


Nazareth School
San Diego Imperial Council 049
10728 San Diego Mission Rd
San Diego, CA 92108


Nbc 7 San Diego Telemundo 20
San Diego Imperial Council 049
9680 Granite Ridge Dr
San Diego, CA 92123


Nc Assoc Of Fire Chiefs
Daniel Boone Council 414
20 Canoe Ln
Woodfin, NC 28804


Nc Dept Of Revenue
P.O. Box 25000
Raleigh, NC 27640‐0150


Nc Dept Of State Treasurer
Escheat   Unlcaimed Property Section
3200 Atlantic Ave
Raleigh, NC 27604‐1668


Nc Div Of Motor Vehicles
P.O. Box 29620
Raleigh, NC 27626‐0620


NC Office Of The Attorney General
Bureau of Consumer Frauds and Protection
State Capitol
Albany, NY 12224‐0341


Nc Tile   Carpet Of Marathon Inc
10899 Overseas Hwy
Marathon, FL 33050
Ncba
P.O. Box 3469
Englewood, CO 80155


Ncc Ps Enterprises LLC
dba the National Conference Center
18980 Upper Belmont Pl
Leesburg, VA 20176


Nccep
Attn Susan Shimko Assoc Dir Ctp
1400 20th St NW, Ste G 1
Washington, DC 20036


Ncdvd
440 W Neck Rd
Huntington, NY 11743


Ncentral Technical College Fndn
Samoset Council, Bsa 627
1000 W Campus Dr
Wausau, Wi 54401


Ncl Corp Ltd
P.O. Box 025403
Miami, FL 33102


Nclr Annual Conference
Attn Sales and Sponsorships
1126 16th St Nw
Washington, DC 20036


Ncmec
699 Prince St
Alexandria, VA 22314‐3175


Ncoa Chapter 1169 Frontier
Longs Peak Council 062
P.O. Box 1864
Cheyenne, WY 82003
Ncompliance Services Inc
19 NW 101st Pl
Kansas City, MO 64155


Ncptc
Attn Hugh Nguyen
2324 University Ave W, Ste 105
Saint Paul, MN 55114


Ncs Pearson Inc
32651 Collection Ctr Dr
Chicago, IL 60693


NCS Pearson, Inc
Attn Bjarne Tellmann, Gen Counsel   CLO
200 Old Tappen Rd
Old Tappan, NJ 07675


Ncsc Usps
6060 Primacy Park, Ste 201
Memphis, TN 38118‐0001


Ncsc‐Usps
Accounts Receivable
225 N Humphreys Blvd, Ste 501
Memphis, TN 38188‐1099


ND Office Of The Attorney General
Consumer Protection Section
30 E Broad St, 14H Fl
Columbus, OH 43215‐3400


Ndc
P.O. Box 7143
Charlotte, NC 28241


Ndc Opc C/O Dorene Kutrubs
National Distribution Ctr
P.O. Box 7143
Charlotte, NC 28241‐7143
Ne Region Jewish Committee On Scouting
c/o Jeffrey H Goldsmith
114 Kenneth Terrace
South Orange, NJ 07079


Neal Avenue Utd Methodist Church
Simon Kenton Council 441
12 Neal Ave
Newark, OH 43055


Neal Drown
Address Redacted


Neal E Fonger Post 179 American Legion
President Gerald R Ford 781
2327 Wilson Ave Sw
Grand Rapids, MI 49534


Neal Fonger Post 179
President Gerald R Ford 781
2327 Wilson Ave Sw
Grand Rapids, MI 49534


Neal Gerber And Eisenberg, LLC
Two N La Salle St
Chicago, IL 60602‐3801


Neal Thomas, Jr. Centennial Post 209
Pikes Peak Council 060
3613 Jeannine Dr
Colorado Springs, CO 80917


Neast Ambulance   Fire Prot Dist
Greater St Louis Area Council 312
7100 Natural Bridge Rd
Saint Louis, Mo 63121


Nebraska City Public
Cornhusker Council 324
1700 14th Ave
Nebraska City, NE 68410


Nebraska Dept Of Revenue
P.O. Box 94818
Lincoln, NE 68509‐4818


Nebraska Dept Of Revenue
P.O. Box 98915
Lincoln, NE 68509‐8915


Nebraska Dept Of Revenue
P.O. Box 98923
Lincoln, NE 68509‐8923


Nebraska Family Services
Cornhusker Council 324
300 Capitol Beach Blvd
Lincoln, NE 68528


Nebraska Family Services
Cornhusker Council 324
501 S 7th St
Lincoln, NE 68508


Nebraska Lodge 1
Mid‐America Council 326
2424 S 135th Ave
Omaha, NE 68144


Nebraska Scientific
3823 Leavenworth St
Omaha, NE 68105


Nebraska Secretary Of State
P.O. Box 94608
Lincoln, NE 68509


Nebraska State Treasurer S Office
Unclaimed Property Div
809 P St
Lincoln, NE 68508
Nebraska Sunbridge Academy
Erie Shores Council 460
3319 Nebraska Ave
Toledo, OH 43607


Nebraska Wesleyan University
Financial Aid
5000 Saint Paul Ave
Lincoln, NE 68504


Nebraskans For Civic Reform
Cornhusker Council 324
1111 Lincoln Mall, Ste 350
Lincoln, NE 68502


Nebs
P.O. Box 88042
Chicago, IL 60680‐1042


Nedco, Inc
2485‐B Lithonia Ind. Blvd
Lithonia, GA 30058


Nedra Mu Min
Address Redacted


Nedra Price
Address Redacted


Nedrose PTO
Northern Lights Council 429
5215 Hwy 2 E
Minot, ND 58701


Neeca Root
Address Redacted


Needfire
4301 Bobtown Rd 206
Garland, TX 75243


Needmore Community Center
Mason Dixon Council 221
613 Wertzville Rd
Needmore, PA 17238


Needmore Community Center
Mason Dixon Council 221
631 Wertzville Rd
Needmore, PA 17238


Needmore Elementary
Hoosier Trails Council 145 145


Needmore Elementary School PTO
Hoosier Trails Council 145 145
278 Trogdon Ln
Bedford, IN 47421


Needmore Ruritan Club
Occoneechee 421
6601 Bentwinds Ln
Fuquay Varina, NC 27526


Neelsville Presbyterian Church
National Capital Area Council 082
20701 Frederick Rd
Germantown, MD 20876


Neelys Creek Arpc ‐ Men S Bible Class
Palmetto Council 549
974 Neelys Creek Rd
Rock Hill, SC 29730


Neenah Grove
Address Redacted


Neenah Menasha Elks 676
Bay‐Lakes Council 635
328 Nicolet Blvd
Menasha, WI 54952


Negaunee Lions Club
Bay‐Lakes Council 635
P.O. Box 111
Negaunee, MI 49866


Nehalem Bay Utd Methodist Church
Cascade Pacific Council 492
P.O. Box 156
Nehalem, OR 97131


Nehemiah Mission Utd Methodist Church
Lake Erie Council 440
6515 Bridge Ave
Cleveland, OH 44102


Neighborhood Centers Of Johnson County
Hawkeye Area Council 172
P.O. Box 2491
Iowa City, IA 52244


Neighborhood Church Neighbors Club
Greater Los Angeles Area 033
415 Paseo Del Mar
Palos Verdes Estates, CA 90274


Neighborhood Church Of The Brethren
Three Fires Council 127
155 Boulder Hill Pass
Montgomery, IL 60538


Neighborhood House
Water and Woods Council 782
3145 Russell St
Saginaw, MI 48601


Neighborhood Parent Committee
W.L.A.C.C. 051
12215 Charnock Rd
Los Angeles, CA 90066
Neighborhood Resource Center
Heart of Virginia Council 602
1519 Williamsburg Rd
Richmond, VA 23231


Neighbors Gun Club
Hudson Valley Council 374
Burger Rd
Rhinebeck, NY 12572


Neil Armstrong Elementary PTA
Greater St Louis Area Council 312
6255 Howdershell Rd
Hazelwood, MO 63042


Neil Armstrong Elementary School PTA
National Capital Area Council 082
11900 Lake Newport Rd
Reston, VA 20194


Neil Baum
Address Redacted


Neil Butterfield
Address Redacted


Neil G Linkmeyer
Address Redacted


Neil Gunn
Address Redacted


Neil Johnson
Address Redacted


Neil R Meyer
Address Redacted


Neil Rasmussen
Address Redacted


Neil S Lewison Post 439
Gateway Area 624
292 N Washington
P.O. Box 171
Melrose, WI 54642


Neillsville Kiwanis
Chippewa Valley Council 637
W6540 County Rd B
Neillsville, WI 54456


Neiman Marcus Allen Iv
Address Redacted


Neisha Joseph
Address Redacted


Neita Tuller
Address Redacted


Neithercut PTA
Water and Woods Council 782
2010 Crestbrook Lane
Flint, MI 48507


Nekeisha Johnson
Address Redacted


Nekoosa Lions Club
Samoset Council, Bsa 627
9239 Camilla Court
Nekoosa, WI 55457


Nelco Products Inc
22 Riverside Dr
Pembroke, MA 02359


Nelda Van Baalen
Address Redacted


Nelida Barreto
Address Redacted


Nell Human
Address Redacted


Nell Jean Enterprises Inc
P.O. Box 1837
Beckley, WV 25802‐1837


Nell Sanders
Address Redacted


Nellie Birdsong
Address Redacted


Nellie Black
Address Redacted


Nellie Cobos
Address Redacted


Nellie Kitamura
Address Redacted


Nellis Afb Scouting 99Ces/Eod
Las Vegas Area Council 328
4302 N Washington Blvd
Nellis Afb, NV 89191


Nelly Mendoza
Address Redacted


Nelson Blanco Inc
P.O. Box 500061
Marathon, FL 33050
Nelson Byrd Woltz LLC
310 E Market St
Charlottesville, VA 22902


Nelson Carter
Address Redacted


Nelson Clements
Address Redacted


Nelson Congregational Church
Daniel Webster Council, Bsa 330
830 Nelson Rd
Nelson, NH 03457


Nelson Gallery Foundation
4525 Oak St
Kansas City, MO 64111


Nelson Lions Club
Great Rivers Council 653
Rr 1
Nelson, MO 65347


Nelson Mullins Riley   Scarborough, LLP
P.O. Box 11009
Columbia, SC 29211


Nelson Pruett
Address Redacted


Nelson Utd Methodist Church
Great Trail 433
9367 State Route 305
P.O. Box 210


Nelson Westerberg Of Tx Inc
75 Remittance Dr, Ste 1200
Chicago, IL 60675‐1200
Nelson Whitfield
Address Redacted


Nemacolin Woodlands Resort   Spa
Credit   Collections Dept
1001 Lafayette Dr
Farmington, PA 15437


Nena Oman
Address Redacted


Nene Narh‐Mensah
Address Redacted


Neo Builders, Inc
11112 S Tyron St, Unit G
Charlotte, NC 28273‐4569


Neopost Usa Inc
25880 Network Pl
Chicago, IL 60673‐1258


Neopost Usa, Inc
478 Wheelers Farms Rd
Millford, CT 06461


Nepal Scouts Nat L Headquarters
P.O. Box 1037
Kathmandu
Nepal


Neptune Fishing Supply
P.O. Box 8985
6100 Red Hook Qtrs
St Thomas, VI 00802


Ner Retirement Fund
c/o Neast Region Bsa
P.O. Box 268
Jamesburg, NJ 08831‐0268
Ner Tamid Greenspring Valley Synagogue
Baltimore Area Council 220
6214 Pimlico Rd
Baltimore, MD 21209


Neri North America Inc
1547 Nw 79th Ave
Miami, FL 33126


Neriah Community Development Center
Indian Waters Council 553
1908 Wilkinson St
Cayce, SC 29033


Nerissa Kania
Address Redacted


Nerjcos
Attn Elliot Klugman
19 Barstow Rd Cottage G
Great Neck, NY 11021


Nerwin   Martin
6515‐A Smithfield Rd
Fort Worth, TX 76182


Nesbit Elementary
Northeast Georgia Council 101
6575 Cherokee Dr
Tucker, GA 30084


Nesco Resource LLC
P.O. Box 901372
Cleveland, OH 44190‐1372


Nescopeck Volunteer Fire Co 1
Columbia‐Montour 504
325 Warren St
Nescopeck, PA 18635
Neshaminy Creek Foundation
Cradle of Liberty Council 525
612 Hazelwood Rd
Ardmore, PA 19003


Neshaminy Warwick Presbyterian Church
Washington Crossing Council 777
1401 Meetinghouse Rd
Warminster, PA 18974


Neshanic Reformed Church
Patriots Path Council 358
P.O. Box 657
Neshanic Station, NJ 08853


Nesia Harris
Address Redacted


Ness City Rotary Club
Santa Fe Trail Council 194
804 Crescent Dr
Ness City, KS 67560


Nester Hoisery, Inc
P.O. Box 162064
Atlanta, GA 30321


Nestle Pizza Co
Samoset Council, Bsa 627
940 S Whelen Ave
Medford, WI 54451


Nestle Pure Life Direct
P.O. Box 856680
Louisville, KY 40285‐6680


Nestle Usa, Inc
P.O. Box 841933
Dallas, TX 75284‐1933
Nestor Chevalier
Address Redacted


Nestra Solutions Sro
Spitalska 53
Bratislava, 81101
Slovakia


Nestucca Valley Lions Club
Cascade Pacific Council 492
P.O. Box 177
Cloverdale, OR 97112


Net Community Church
Greater St Louis Area Council 312
415 E Main St
Staunton, IL 62088


Net Con Inc
815 W Padonia Rd
Cockeysville, MD 21030


Net Ministries Inc
110 Crusader Ave
West St Paul, MN 55118


Net Retailers Inc
dba Patiocontract Inc
980 N Michigan Ave, Ste 1310
Chicago, IL 60611


Net World Sports
Bryn Ln
Wrexham Industrial Estate
Wrexham, Ll13 9Ut
United Kingdom


Netbrands Media Corp
14550 Beechnut St
Houston, TX 77083
Netcom, Inc
815 W Padonia Rd
Cockeysville, MD 21030


Netseo Trails Council Bsa
3787 NW Loop 286
Paris, TX 75460‐3503


Netseo Trls Cncl 580
3787 NW Loop 286
Paris, TX 75460‐3503


Netstream Live
5341 Montrose Dr, Ste 101
Dallas, TX 75209


Netvious
7557 Rambler Rd, Ste 700
Dallas, TX 75231


Network Closing Services, Inc
Dba Poineer Title    Escrow Services
7651‐A Ashley Park Ct, 401
Orlando, FL 32835


Netzahualcoyot Rubalcava
Address Redacted


Neuman S Kitchen
Greater New York Councils, Bsa 640
3502 48th Ave
Long Island City, NY 11101


Neustrom   Assoc Pa
Trust Account
118 S 7th St
Salina, KS 67401


Neva Lingar
Address Redacted
Neva Maudine Lingar
Address Redacted


Neva Rynearson
Address Redacted


Nevada Area
500 Double Eagle Ct
Reno, NV 89521


Nevada Area Cncl 329
500 Double Eagle Ct
Reno, NV 89521


Nevada Area Council 329
General Delivery
Chester, CA 96020


Nevada City Lions Club
Golden Empire Council 047
P.O. Box 395
Nevada City, CA 95959


Nevada Dept Of Business    Industry
Unclaimed Property Div
2501 E Sahara Ave, Ste 304
Las Vegas, NV 89104


Nevada Dept Of Taxation
1550 College Pkwy, Ste 115
Carson City, NV 89706


Nevada Kent
Address Redacted


Nevada Legal Press
3301 S Malibou Ave
Pahrump, NV 89048‐6489
Nevada Office Of The Attorney General
Consumer Protection and Antitrust Bureau
33 Capitol St
Concord, NH 03301


Nevada Scouters
Nevada Area Council 329
2741 Cheshire Ct
Reno, NV 89523


Nevada Secretary Of State
202 N Carson St
Carson City, NV 89701‐4201


Nevada Southern Railway
Las Vegas Area Council 328
600 Yucca St
Boulder City, NV 89005


Nevada State Attorneys General
100 N Carson St
Old Supreme Ct Bldg
Carson City, NV 89701


Nevada Yacht Club
Las Vegas Area Council 328
2680 S Torrey Pines Dr
Las Vegas, NV 89146


Nevaeh Jean Bullie
Address Redacted


Nevelynn Melendy
Address Redacted


Neversink Fire Dept
Hudson Valley Council 374
P.O. Box 627
Neversink, NY 12765


Nevill Business Machines
1305 W Beltline, Ste 320
Carrollton, TX 75006


Nevils Utd Methodist Church
Coastal Georgia Council 099
8351 Nevils Groveland Rd
Statesboro, GA 30458


Nevis Civic And Commerce
Central Minnesota 296
P.O. Box 268
Nevis, MN 56467


New Albany Utd Methodist Church
Simon Kenton Council 441
20 3rd St
New Albany, OH 43054


New Alsace American Legion Post 452
Hoosier Trails Council 145 145
P.O. Box 30
Sunman, IN 47041


New America School At Lakewood
Denver Area Council 061
5806 W Alameda Ave
Lakewood, CO 80226


New American Dimensions
6955 La Tijera Blvd, Ste B
Los Angeles, CA 90045


New Athens Commercial Club
Greater St Louis Area Council 312
600 S Van Buren St
New Athens, IL 62264


New Augusta Public Academy South PTO
Crossroads of America 160
6250 Rodebaugh Rd
Indianapolis, IN 46268
New Ball Ground Utd Methodist
Atlanta Area Council 092
P.O. Box 376
Ball Ground, GA 30107


New Ball Ground Utd Methodist Church
Atlanta Area Council 092
P.O. Box 376
Ball Ground, GA 30107


New Baltimore Civic Club
Great Lakes Fsc 272
36551 Main St
New Baltimore, MI 48047


New Baltimore Volunteer
National Capital Area Council 082
6550 Riley Rd
New Baltimore, VA 20187


New Bedford Housing Authority
Narragansett 546
134 S 2nd St
New Bedford, MA 02740


New Bedford Lions Club
Moraine Trails Council 500
P.O. Box 1
New Bedford, PA 16140


New Beginning Church Of Christ
Central Georgia Council 096
325 Ga Hwy 49 W
Milledgeville, GA 31061


New Beginnings Baptist Church
Cherokee Area Council 556
841 W Main St
Monteagle, TN 37356


New Beginnings Ministries
California Inland Empire Council 045
4720 Chino Ave
Chino, CA 91710


New Beginnings Utd Methodist Church
Atlanta Area Council 092
2925 Mack Dobbs Rd Nw
Kennesaw, GA 30152


New Beginnings Utd Methodist Church
Palmetto Council 549
210 Rainbow Lake Rd
Boiling Springs, SC 29316


New Beginnings Utd Methodist Church
Simon Kenton Council 441
385 E William St
Delaware, OH 43015


New Berlin Road Church
North Florida Council 087
2351 New Berlin Rd
Jacksonville, FL 32218


New Berlin Township
Abraham Lincoln Council 144
12625 Old Route 54
New Berlin, IL 62670


New Bern Boys And Girls Club
East Carolina Council 426
P.O. Box 1514
Morehead City, NC 28557


New Bethel African Methodist Episc Ch
Atlanta Area Council 092
8350 Rockbridge Rd
Lithonia, Ga 30058


New Bethel Baptist Church
Occoneechee 421
605 E Young St
Rolesville, NC 27571


New Bethel Christian Methodist Church
Seneca Waterways 397
270 Scio St
Rochester, NY 14605


New Bethel Missionary Baptist Church
Crossroads of America 160
1535 Dr Andrew J Brown Ave
Indianapolis, IN 46202


New Bethlehem Presbyterian Church
French Creek Council 532
403 Penn St
New Bethlehem, PA 16242


New Birth Of Freedom
One Baden‐Powell Lane
Mechanicsburg, PA 17050


New Birth Of Freedom C/O Clyde Keller
1 Baden‐Powell Ln
Mechanicsburg, PA 17050


New Birth Of Freedom Council, Bsa
1 Baden Powell Ln
Mechanisburg, PA 17050


New Bloomfield Lions Club
New Birth of Freedom 544
P.O. Box 21
New Bloomfield, PA 17068


New Boston Community Church
Daniel Webster Council, Bsa 330
2 Meetinghouse Hill Rd
New Boston, NH 03070


New Boston Noon Lions Club
Caddo Area Council 584
903 S Elm St
New Boston, TX 75570


New Boston Utd Methodist Church
Illowa Council 133
510 Main St
New Boston, IL 61272


New Braunfels Elks Lodge 2279
Alamo Area Council 583
353 S Seguin Ave
New Braunfels, TX 78130


New Braunfels Optimist      Utilities
Alamo Area Council 583
1335 Carnation Ln
New Braunfels, TX 78130


New Braunfels Optimists
c/o Richard H. Smith
Alamo Area Council 583
1229 Industrial Dr
New Braunfels, TX 78130


New Braunfels Police Dept
Alamo Area Council 583
1488 S Seguin Ave
New Braunfels, TX 78130


New Bremen American Legion Post 241
Black Swamp Area Council 449
P.O. Box 94
6458 State Route 66
New Bremen, OH 45869


New Bridge Academy
Simon Kenton Council 441
3850 Sullivant Ave
Columbus, OH 43228


New Bridges Presbyterian Church
San Francisco Bay Area Council 028
26236 Adrian Ave
Hayward, CA 94545


New Bright Industrial Co Ltd
9/F New Bright Building
11 Sheung Yuet Rd, Kowloon Bay
Kowloon
Hong Kong


New Brighton Police
Northern Star Council 250
785 Old Hwy 8 Nw
New Brighton, MN 55112


New Britton Elementary PTO
Crossroads of America 160
8660 E 131st St
Fishers, IN 46038


New Carrollton Police Dept
National Capital Area Council 082
6016 Princess Garden Pkwy
New Carrollton, MD 20784


New Castle Bible Church
W D Boyce 138
17931 Dee Mac Rd
Mackinaw, IL 61755


New Castle First Baptist Church
Lincoln Heritage Council 205
P.O. Box 126
New Castle, KY 40050


New Castle Lions Club
Denver Area Council 061
P.O. Box 916
Glenwood Springs, CO 81602


New Castle Utd Methodist Church
Lincoln Heritage Council 205
P.O. Box 194
New Castle, KY 40050


New Chapel Fire Co
Lincoln Heritage Council 205
5203 Charlestown Rd
New Albany, IN 47150


New Chapel Utd Methodist Church
Lincoln Heritage Council 205
5616 New Chapel Rd
Jeffersonville, IN 47130


New Charms
c/o Stuart Kapicka
1609 41st St
Sacramento, CA 95819


New Cingular Wireless PCs, LLC
12555 Cingular Way, Ste 1300
Alpharetta, GA 30004


New City Church
Heart of America Council 307
517 W Morgan St
Edgerton, KS 66021


New Community Church
Chattahoochee Council 091
1200 S Davis Rd
Lagrange, GA 30241


New Concord Utd Methodist Church
Muskingum Valley Council, Bsa 467
20 E High St
New Concord, OH 43762


New Convenant Church
Sam Houston Area Council 576
901 Wilson Rd
Humble, TX 77338
New Convenant Methodist Church
Circle Ten Council 571
3032 N Belt Line Rd
Sunnyvale, TX 75182


New Covenant Apostolic Church
Heart of Virginia Council 602
2129 Ford Ave
Richmond, VA 23223


New Covenant Assembly Of God
Central Florida Council 083
1991 E Lake Dr
Casselberry, FL 32707


New Covenant Baptist Church
Central N Carolina Council 416
5114 Rogers Rd
Monroe, NC 28110


New Covenant Christian Church
Last Frontier Council 480
12000 N Rockwell Ave
Oklahoma City, OK 73162


New Covenant Church
Denver Area Council 061
P.O. Box 247
Larkspur, CO 80118


New Covenant Church
Sam Houston Area Council 576
901 Wilson Rd
Humble, TX 77338


New Covenant Church
Twin Rivers Council 364
27 N Market St
Johnstown, NY 12095


New Covenant Church Of Christ
Greater New York Councils, Bsa 640
20614 100th Ave
Queens Village, NY 11429


New Covenant Church Of The Brethren
Central Florida Council 083
P.O. Box 83
Gotha, FL 34734


New Covenant Community Church
Sequoia Council 027
1744 E Nees Ave
Fresno, CA 93720


New Covenant Fellowship
Greater St Louis Area Council 312
3396 Kanell Blvd
Poplar Bluff, MO 63901


New Covenant Fellowship Church
Occoneechee 421
1305 Hulsey Rd
Carthage, NC 28327


New Covenant Free Methodist Ministries
Water and Woods Council 782
13176 N Linden Rd
Clio, MI 48420


New Covenant Methodist
Last Frontier Council 480
2700 S Blvd
Edmond, OK 73013


New Covenant Presbyterian Church
Garden State Council 690
240 Creek Rd
Mount Laurel, NJ 08054


New Covenant Pure Holiness Church
Atlanta Area Council 092
8396 Hwy 85
Riverdale, GA 30274
New Covenant Utd Methodist Church
Atlanta Area Council 092
5960 Hwy 5
Douglasville, GA 30135


New Covenant Utd Methodist Church
Circle Ten Council 571
3032 N Belt Line Rd
Sunnyvale, TX 75182


New Covenant Utd Methodist Church
Greater Tampa Bay Area 089
3740 Woodridge Dr
The Villages, FL 32162


New Covenant Utd Methodist Church
Last Frontier Council 480
2700 S Blvd
Edmond, OK 73013


New Creation Fellowhip
Inland Nwest Council 611
1515 E Farwell Rd
Spokane, WA 99208


New Creation Of God
Black Swamp Area Council 449
125 S Main St
Rawson, OH 45881


New Cumberland Christian Church
Ohio River Valley Council 619
100 S Court St
New Cumberland, WV 26047


New Deliverance Missionary Baptist
Longhorn Council 662
1400 N 5th St
Waco, TX 76707
New Dimensions School
Piedmont Council 420
550 Lenoir Rd
Morganton, NC 28655


New Direction Youth Academy Inc
Dan Beard Council, Bsa 438
125 S Cooper Ave
Cincinnati, OH 45215


New Dover Utd Methodist Church
Patriots Path Council 358
687 New Dover Rd
Edison, NJ 08820


New Eagle Elementary School PTO
Chester County Council 539
409 Churchill Dr
Berwyn, PA 19312


New Egypt Church Of Christ
Jersey Shore Council 341
97 Lakewood Rd
New Egypt, NJ 08533


New Elizabeth Missionary Baptist Church
Norwela Council 215
2332 Jewella Ave
Shreveport, LA 71109


New Enchantment LLC
Enchantment Resort
525 Boynton Canyon Rd
Sedona, AZ 86336


New England Congregational Church
Three Fires Council 127
406 W Galena Blvd
Aurora, IL 60506


New England Footwear
200 International Dr, Suite 250
Portsmouth, NH 03801


New England Military Cadet Corp
Daniel Webster Council, Bsa 330
10 Cromwell St
Kittery, ME 03904


New England Ss ‐ Opc
23 Turnpike Rd
Southborough, MA 01772


New Era Class First Utd Methodist
Tukabatchee Area Council 005
Prattville
Prattville, AL 36067


New Fairfield Lions Club Inc
Connecticut Yankee Council Bsa 072
P.O. Box 8106
New Fairfield, CT 06812


New Faith Baptist Church
Pathway To Adventure 456
25 Central Ave
Matteson, IL 60443


New Faith Free Methodist Church
Greater Tampa Bay Area 089
2427 Irving Ave S
Saint Petersburg, FL 33712


New Faith Missionary Baptist Church
Sam Houston Area Council 576
4315 W Fuqua St
Houston, TX 77045


New Fellowship Church
Pine Burr Area Council 304
1309 N 31st Ave
Hattiesburg, MS 39401
New Fellowship Church
Pine Burr Area Council 304
Rev. Robert Herron
1309 N 31st Ave
Hattiesburg, MS 39401


New Florence Utd Methodist Church
Laurel Highlands Council 527
P.O. Box 267
200 9th St


New Freedom Lions Club
New Birth of Freedom 544
P.O. Box 235
New Freedom, PA 17349


New Genesis Inc
Southern Shores Fsc 783
1225 W Paterson St
Kalamazoo, MI 49007


New Gilead Utd Church Of Christ
Central N Carolina Council 416
2400 Old Salisbury Concord Rd
Concord, NC 28025


New Glarus Vfw Post 10549
c/o William Hustad
Blackhawk Area 660
W4489 Exeter Crossing Rd


New Goshenhoppen Utd Church Of Christ
Cradle of Liberty Council 525
1070 Church Rd
East Greenville, PA 18041


New Ground Alliance
Inland Nwest Council 611
601 3rd St 316
Clarkston, WA 99403


New Hackensack Reformed Church
Hudson Valley Council 374
1580 Route 376
Wappingers Falls, NY 12590


New Hampshire Aerospace LLC
Daniel Webster Council, Bsa 330
109 Ponemah Rd, Ste 7
Amherst, NH 03031


New Hampshire Clocks
31 Sterling Dr
Franklin, NH 03235


New Hampshire State Attorneys General
33 Capitol St
State House Annex
Concord, NH 03301‐6397


New Hampshire‐Portsmouth Rotary Club
Pine Tree Council 218
73 Main St Huddleston Hall
Durham, NH 03824


New Hanover Cnty Law Enft Officers Assoc
Cape Fear Council 425
5301 Holly Shelter Rd
Castle Hayne, Nc 28429


New Hanover County Fire Rescue
Cape Fear Council 425
230 Government Center Dr, Ste 130
Wilmington, NC 28403


New Hanover County Sheriff S Office
Cape Fear Council 425
3950 Juvenile Center Dr
Castle Hayne, NC 28429


New Hanover County Tax Office
P.O. Box 18000
Wilmington, NC 28406
New Hanover Lutheran Church
Cradle of Liberty Council 525
2941 Lutheran Rd
Gilbertsville, PA 19525


New Hanover Presbyterian Church
Heart of Virginia Council 602
10058 Chamberlayne Rd
Mechanicsville, VA 23116


New Hanover Regional Medical Center
Cape Fear Council 425
2131 S 17th St
Wilmington, NC 28401


New Harmony Kiwanis Club
Buffalo Trace 156
P.O. Box 515
New Harmony, IN 47631


New Haven Elementary PTO
Great Lakes Fsc 272
57701 River Oaks Dr
P.O. Box 482000


New Haven Firefighters Assoc
Great Lakes Fsc 272
57775 Main St
New Haven, MI 48048


New Haven High Sch Football Booster Club
Anthony Wayne Area 157
1300 Green Rd
New Haven, In 46774


New Haven Methodist Church
Indian Nations Council 488
5603 S New Haven Ave
Tulsa, OK 74135


New Haven Post 366 American Legion
Greater St Louis Area Council 312
9494 Missouri 100
New Haven, MO 63068


New Heights Baptist Church
Rocky Mountain Council 063
3304 Baltimore Ave
Pueblo, CO 81008


New Heights Christian Church
Greater Alabama Council 001
1452 US Hwy 11
Trussville, AL 35173


New Highland Baptist Church
Heart of Virginia Council 602
9200 New Ashcake Rd
Mechanicsville, VA 23116


New Highland Elementary School
Lincoln Heritage Council 205
110 W A Jenkins Rd
Elizabethtown, KY 42701


New Holland Group Of Citizens
Pennsylvania Dutch Council 524
20 S Roberts Ave
New Holland, PA 17557


New Home Baptist Church
Occoneechee 421
1000 Lobelia Rd
Vass, NC 28394


New Hope Academy
National Capital Area Council 082
7009 Varnum St
Landover Hills, MD 20784


New Hope Baptist Church
Andrew Jackson Council 303
5202 Watkins Dr
Jackson, MS 39206


New Hope Baptist Church
Central Florida Council 083
1675 Taylor Rd
Port Orange, FL 32128


New Hope Baptist Church
Flint River Council 095
551 New Hope Rd
Fayetteville, GA 30214


New Hope Christian Center
Anthony Wayne Area 157
P.O. Box 700
900 S Wayne St
Waterloo, IN 46793


New Hope Christian Church
Northeast Georgia Council 101
1982 Old Norcross Rd
Lawrenceville, GA 30044


New Hope Church ‐ Utd Methodist
Last Frontier Council 480
11600 N Council Rd
Oklahoma City, OK 73162


New Hope Church Inc
National Capital Area Council 082
8905 Ox Rd
Lorton, VA 22079


New Hope Church Of Christ
Last Frontier Council 480
700 W 2nd St
Edmond, OK 73003


New Hope Community Center
Jersey Shore Council 341
301 Woodland Ave
Pleasantville, NJ 08232
New Hope Community Church
Grand Canyon Council 010
1380 E Guadalupe Rd
Gilbert, AZ 85234


New Hope Community Church
Leatherstocking 400
45 Stockton Ave
Walton, NY 13856


New Hope Community Club
Piedmont Council 420
353 Taylor Springs Rd
Union Grove, NC 28689


New Hope Community Fellowship Church
Baltimore Area Council 220
952 Annapolis Rd
Gambrills, MD 21054


New Hope Evangelical Free Church
Oregon Trail Council 697
5995 Old Hwy 99 S
Roseburg, OR 97471


New Hope Fellowship
Las Vegas Area Council 328
781 W St
Pahrump, NV 89048


New Hope Foundation
2610 Park Ave
Muscatine, IA 52761


New Hope Housing At Reed
Sam Houston Area Council 576
2605 Reed Rd
Houston, TX 77051


New Hope Lions Club
Greater Alabama Council 001
P.O. Box 403
New Hope, AL 35760


New Hope Lutheran Church
Baltimore Area Council 220
8575 Guilford Rd
Columbia, MD 21046


New Hope Lutheran Church
Central N Carolina Council 416
1615 Brantley Rd
Kannapolis, NC 28083


New Hope Lutheran Church
Longhorn Council 662
2105 Willis Ln
Keller, TX 76248


New Hope Lutheran Church
Theodore Roosevelt Council 386
60 Oliver Ave
Valley Stream, NY 11580


New Hope Lutheran Church Elca
Sam Houston Area Council 576
1424 Fm 1092 Rd
Missouri City, TX 77459


New Hope Methodist Church
Blue Ridge Council 551
233 New Hope Rd
Anderson, SC 29626


New Hope Methodist Church
Greater Alabama Council 001
5351 Main Dr
New Hope, AL 35760


New Hope Police Dept
Northern Star Council 250
4401 Xylon Ave N
New Hope, MN 55428


New Hope Presbyterian Church
Central Florida Council 083
19535 Airport Rd
Eustis, FL 32736


New Hope Presbyterian Church
Denver Area Council 061
3737 New Hope Way
Castle Rock, CO 80109


New Hope Presbyterian Church
Greater St Louis Area Council 312
1580 Kisker Rd
Saint Charles, MO 63304


New Hope Presbyterian Church
Occoneechee 421
4701 Nc Hwy 86
Chapel Hill, NC 27514


New Hope Presbyterian Church
Piedmont Council 420
4357 S New Hope Rd
Gastonia, NC 28056


New Hope Presbyterian Church
Piedmont Council 420
S New Hope Rd
Gastonia, NC 28054


New Hope Presbyterian Church
Sam Houston Area Council 576
1350 N Mason Rd
Katy, TX 77449


New Hope Presbyterian Church Epc
Southwest Florida Council 088
10051 Plantation Rd
Fort Myers, FL 33966
New Hope Ruritan Club
Stonewall Jackson Council 763
P.O. Box 24
New Hope, VA 24469


New Hope Umc
National Capital Area Council 082
75 Maryland Ave
Brunswick, MD 21716


New Hope Umc
Northeast Georgia Council 101
1806 New Hope Rd
Lawrenceville, GA 30045


New Hope Utd Methodist Church
Buckskin 617
P.O. Box 405
Proctorville, OH 45669


New Hope Utd Methodist Church
Cornhusker Council 324
1205 N 45th St
Lincoln, NE 68503


New Hope Utd Methodist Church
East Carolina Council 426
P.O. Box 2117
Roanoke Rapids, NC 27870


New Hope Utd Methodist Church
Greater St Louis Area Council 312
1407 Appleton Ct
Arnold, MO 63010


New Hope Utd Methodist Church
Green Mountain 592
P.O. Box 33
West Topsham, VT 05086


New Hope Utd Methodist Church
Mid Iowa Council 177
203 NW Center St
P.O. Box 697


New Hope Utd Methodist Church
Northeast Georgia Council 101
4815 Dawsonville Hwy
Gainesville, GA 30506


New Hope Utd Methodist Church
Old Hickory Council 427
5125 Shattalon Dr
Winston Salem, NC 27106


New Hope Utd Methodist Church
Simon Kenton Council 441
9825 Gore Church Rd
Logan, OH 43138


New Hope Utd Methodist Men
Old Hickory Council 427
5125 Shattalon Dr
Winston Salem, NC 27106


New Hope Utd Methodist Mens
Tuscarora Council 424
200 E New Hope Rd
Organization


New Hope Utd Methodist Mens Club
Tuscarora Council 424
213 E New Hope Rd
Goldsboro, NC 27534


New Horizon Adventures Inc
250 16th Ave Ne
St Petersburg, FL 33704


New Horizon Adventures Inc
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036
New Horizon Christian Church
W D Boyce 138
P.O. Box 147
14038 E 350 N Rd
Heyworth, IL 61745


New Horizons Christian Church
Great Trail 433
290 Darrow Rd
Akron, OH 44305


New Horizons Computer Learning Centers
Attn Utah York
5151 Beltline Rd, Ste 550
Dallas, TX 75254‐7026


New Horizons Maritime Center
Utah National Parks 591
24 N 460 W
Orem, UT 84057


New Horizons Umc Men S Assoc
Great Rivers Council 653
1020 S El Chaparral Ave
Columbia, MO 65201


New Hudson Utd Methodist Church
Great Lakes Fsc 272
56730 Grand River Ave
New Hudson, MI 48165


New Ipswich Congregational Church
Daniel Webster Council, Bsa 330
150 Main St
New Ipswich, NH 03071


New Jersey Business Industry Assoc
c/o Njm Bank
P.O. Box 1728
West Trenton, NJ 08628‐0925
New Jersey Dept Of
Law and Public Safety
Bureau of Consumer Protection
100 N Carson St


New Jersey Dept Of Labor    Workforce
Division of Employer Acct
P.O. Box 059
Trenton, NJ 08625‐0059


New Jersey Div Of Consumer Affairs
Charities Registration Section
P.O. Box 45021
Newark, NJ 07101‐8002


New Jersey Family Support Payment Ctr
P.O. Box 4880
Trenton, NJ 08650‐4880


New Jersey Institute Of Technology
Attn Bursar Office
University Heights
Newark, NJ 07102‐1982


New Jersey State Attorneys General
Richard J. Hughes Justice Complex
25 Market St P.O. Box 080
Trenton, NJ 8625


New Jersey State Police
Washington Crossing Council 777
P.O. Box 7068
West Trenton, NJ 08628


New Jerusalem Evangelical Lutheran Ch
Hawk Mountain Council 528
27 Lyons Rd
Fleetwood, Pa 19522


New Jerusalem Lutheran Church
Hawk Mountain Council 528
27 Lyons Rd
Fleetwood, PA 19522


New Kirk Presbyterian Church PCusa
Indian Waters Council 553
491 Langford Rd
Blythewood, SC 29016


New Kirk Presbyterian Church PCusa
Indian Waters Council 553
401 Langford Rd
Blythewood, SC 29016


New Lakewood Scout Sponsors Inc
National Capital Area Council 082
13700 Valley Dr
Rockville, MD 20850


New Lebanon Utd Methodist Church
Miami Valley Council, Bsa 444
2040 W Main St
New Lebanon, OH 45345


New Liberty Utd Methodist Church
Northeast Georgia Council 101
26 Charlie Smith Rd
Braselton, GA 30517


New Life Assembly Of God
Last Frontier Council 480
501 B Ave
Cache, OK 73527


New Life Assembly Of God
W.L.A.C.C. 051
27053 Honby Ave
Canyon Country, CA 91351


New Life Assembly Of God
Yocona Area Council 748
New Life Bible Fellowship, Inc
Occoneechee 421
1420 Hoke Loop Rd
Fayetteville, NC 28314


New Life Christian Church
Yocona Area Council 748
1712 N Gun Club Rd
Tupelo, MS 38801


New Life Christian Fellowship Church
Coastal Carolina Council 550
358 Liberty Hall Rd
Goose Creek, SC 29445


New Life Church
Rainbow Council 702
500 Gougar Rd
New Lenox, IL 60451


New Life Church And Academy
Northern Star Council 250
6758 Bailey Rd
Woodbury, MN 55129


New Life Community Church
Grand Canyon Council 010
8155 W Thunderbird Rd
Peoria, AZ 85381


New Life Community Church
Greater St Louis Area Council 312
1919 State St
East Saint Louis, IL 62205


New Life Community Church
Northwest Georgia Council 100
4160 New Hope Church Rd
Acworth, GA 30102


New Life Community Church Umc
Southeast Louisiana Council 214
134 Lakewood Dr
Luling, LA 70070


New Life Direction
Patriots Path Council 358
688 Maple Ave
Elizabeth, NJ 07202


New Life Fellowship
Heart of America Council 307
400 S Main St
Holden, MO 64040


New Life Fellowship Church
Greater New York Councils, Bsa 640
8210 Queens Blvd
Elmhurst, NY 11373


New Life Fwb Church
East Carolina Council 426
2911 Old Cherry Point Rd
New Bern, NC 28560


New Life Lutheran Church
Rainbow Council 702
249 N Bolingbrook Dr
Bolingbrook, IL 60440


New Life Presbyterian Church
Great Lakes Fsc 272
11300 19 Mile Rd
Sterling Heights, MI 48314


New Life Temple
Greater St Louis Area Council 312
325 S Main
Ellington, MO 63638


New Life Utd Methodist Church
Crossroads of America 160
6145 N 400 W
Fairland, IN 46126
New Life Utd Methodist Church
Heart of Virginia Council 602
900 Old Hundred Rd
Midlothian, VA 23114


New Light Lutheran Church
Baltimore Area Council 220
2120 Dundalk Ave
Dundalk, MD 21222


New Light Utd Methodist Church
Indian Waters Council 553
3100 Neeses Hwy
Orangeburg, SC 29115


New Lisbon Lions Club
Gateway Area 624
557 S Divion St
New Lisbon, WI 53950


New London Alliance Church
Lake Erie Council 440
4625 State Route 162 E
New London, OH 44851


New London American Legion Post 537
Northern Star Council 250
21 Ash St Ne
New London, MN 56273


New London Lions Club
Mississippi Valley Council 141 141
204 W Polk St
New London, IA 52645


New London Police Dept
Bay‐Lakes Council 635
700 Shiocton St
New London, WI 54961
New London Rotary Club
Lake Erie Council 440
P.O. Box 43
New London, OH 44851


New London Utd Methodist Church
Lake Erie Council 440
58 E Main St
New London, OH 44851


New Lothrop Lions
Water and Woods Council 782
17770 Lincoln Rd
New Lothrop, MI 48460


New Manchester Vfd
Ohio River Valley Council 619
P.O. Box 503
New Manchester, WV 26056


New Market District Lions Club
National Capital Area Council 082
6532 N Shore Way
New Market, MD 21774


New Market Fire Co
Patriots Path Council 358
801 S Washington Ave
Piscataway, NJ 08854


New Market Lions Club
National Capital Area Council 082
6233 Sawyer Rd
New Market, MD 21774


New Market Utd Methodist Church
Greater Alabama Council 001
310 Hurricane Rd
New Market, AL 35761


New Market Utd Methodist Church
National Capital Area Council 082
P.O. Box 111
New Market, MD 21774


New Market Volunteer Fire Dept
Crossroads of America 160
201 W Main St
New Market, IN 47365


New Martinsville Utd Methodist Church
Ohio River Valley Council 619
10 Howard Jeffers Dr
New Martinsville, WV 26155


New Media Learning LLC
dba Workplace Answers
Dept 2268 P.O. Box 122268
Dallas, TX 75312‐2268


New Melle Sports And Recreation
Greater St Louis Area Council 312
P.O. Box 55
New Melle, MO 63365


New Mexico Assoc Of Museums
1208 San Pedro
Albuquerque, NM 87110


New Mexico Board Of Pharmacy
5500 San Antionio Dr Ne, Ste C
Albuquerque, NM 87109


New Mexico Cattle Growers Assoc
2231 Rio Grande Blvd Nw
Albuquerque, NM 87104


New Mexico Clay/Ceramic King
3300 Girard Ne
Albuquerque, NM 87107


New Mexico Cowbelles
Hc 75 Box 22
Mountainair, NM 87036


New Mexico Dept Of Labor
Attn Norman Vigil
P.O. Box 2281
Albuquerque, NM 87103


New Mexico Drinking Water Bureau
525 Camino De Los Marquez, Ste 4
Santa Fe, NM 87505


New Mexico Emergency Services Council
P.O. Box 3396
Albuquerque, NM 87190


New Mexico Environment Dept
Las Vegas Field Office
2538 Ridge Runner Rd
Las Vegas, NM 87701


New Mexico Floodplain Managers Assoc
P.O. Box 3924
Roswell, NM 88202


New Mexico Forestry Div
P.O. Box 1948
Santa Fe, NM 87504‐1948


New Mexico Hereford Assoc
183 King Rd
Stanely, NM 87056


New Mexico Highlands University
P.O. Box 9000
Las Vegas, NM 87701


New Mexico Livestock Board
300 San Mateo Blvd, NE, Ste 1000
Albuquerque, NM 87108‐1500
New Mexico Livestock Board
P.O. Box 242
Springer, NM 87747


New Mexico Magazine
P.O. Box 433148
Palm Coast, FL 32143‐9881


New Mexico Military Institute
Conquistador Council Bsa 413
101 W College Blvd
Roswell, NM 88201


New Mexico Motor Transportation
P.O. Box 1028
Santa Fe, NM 87504‐1028


New Mexico Motor Vehicle Div
1100 S St Francis Dr
Santa Fe, NM 87504


New Mexico Motor Vehicle Div
P.O. Box 1028
1100 S St Francis Dr
Santa Fe, NM 87504‐1028


New Mexico One Call, Inc
1021 Eubank Blvd Ne
Albuquerque, NM 87112


New Mexico River Adventures Inc
2217 Hwy 68
P.O. Box 86
Embudo, NM 87531‐0086


New Mexico River Adventures Inc
P.O. Box 86
Embudo, NM 87531‐0086


New Mexico Rural Water Assoc
8336 Washington Pl Ne
Albuquerque, NM 87113


New Mexico Search   Rescue Council
P.O. Box 3396
Albuquerque, NM 87190


New Mexico Secretary Of State
325 Don Gaspar, Suite 300
Santa Fe, NM 87501


New Mexico Secretary Of State
Corporations Bureau
325 Don Gaspar Ave, Ste 300
Santa Fe, NM 87501‐4401


New Mexico State University
Attn Financial Aid    Scholarship Svcs
Msc 5100 Nmsu, P.O. Box 30001
Las Cruces, NM 88003


New Mexico State University
P.O. Box 30003, Msc 3 Hrtm
Las Cruces, NM 88003‐8003


New Mexico Stockman
P.O. Box 7127
Albuquerque, NM 87194


New Mexico Taxation   Revenue Dept
Attn Corporate Income    Franchise Tax
P.O. Box 25127
Santa Fe, NM 87504‐5127


New Mexico Taxation   Revenue Dept.
Corporate, Income   Franchise Tax
P.O. Box 25127
Santa Fe, NM 87504‐5127


New Mexico Tech
Attn Financial Aid Office
801 Leroy Pl
Socorro, NM 87801


New Mexico Water   Wastewater Assoc
P.O. Box 819
Espanola, NM 87532


New Mexico Water   Ww Assoc
Caroline Martinez
P.O. Box 819
Espanola, NM 87532


New Mexico Wilderness Alliance
P.O. Box 25464
Albuquerque, NM 87125


New Milford Community Men S Club
Baden‐Powell Council 368
P.O. Box 431
New Milford, PA 18834


New Milford Fire Dept
Northern New Jersey Council, Bsa 333
249 Center St
New Milford, NJ 07646


New Milford Presbyterian Church
Northern New Jersey Council, Bsa 333
737 River Rd
New Milford, NJ 07646


New Milford Utd Methodist Church
Connecticut Rivers Council, Bsa 066
68 Danbury Rd
New Milford, CT 06776


New Milford/Froberg School PTO
Blackhawk Area 660
2421 E Gate Pkwy
Rockford, IL 61108


New Mobility Solutions /Nms Rental Vans
2618 Wildwood Ave
Jackson, MI 49202


New Monmouth School PTA
Monmouth Council, Bsa 347
121 New Monmouth Rd
New Monmouth School


New Morning Light Baptist Church
Atlanta Area Council 092
1392 Conley Rd
Conley, GA 30288


New Mt Vernon Utd Methodist Church
Old N State Council 070
6408 Friendship Ledford Rd
Winston Salem, NC 27107


New Nonconnah Missionary Baptist Church
Chickasaw Council 558
4207 Tulane Rd
Memphis, TN 38109


New Oregon Utd Methodist Church
Attn Holly Burt
Greater Alabama Council 001
1204 New Oregon Dr Ne


New Outlook Inc
9701 Whitethorn Dr
Charlotte, NC 28277‐9027


New Oxford Social    Athletic Club
New Birth of Freedom 544
200 W Golden Ln
New Oxford, PA 17350


New Palestine Lions Club
Crossroads of America 160
5242 W US Hwy 52
New Palestine, IN 46163
New Palestine Utd Methodist Church
Crossroads of America 160
3565 S 500 W
New Palestine, IN 46163


New Paltz Reformed Church
Rip Van Winkle Council 405
92 Huguenot St
New Paltz, NY 12561


New Paris Chamber Of Commerce
Lasalle Council 165
P.O. Box 402
New Paris, IN 46553


New Philadelphia Moravian Church
Old Hickory Council 427
4400 Country Club Rd
Winston Salem, NC 27104


New Pig Corp
One Pork Ave
Tipton, PA 16684


New Plymouth Kiwanis
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 282
New Plymouth, ID 83655


New Port Richey Elks Lodge 2284
Greater Tampa Bay Area 089
7201 Congress St
New Port Richey, FL 34653


New Prague Rotary Club
Northern Star Council 250
211 County Rd 37
New Prague, MN 56071


New Prospect Baptist Church
Blue Ridge Council 551
2503 Whitehall Rd
Anderson, SC 29625


New Prospect Baptist Church
Dan Beard Council, Bsa 438
1580 Summit Rd
Cincinnati, OH 45237


New Prospect Baptist Church
Louisiana Purchase Council 213
111 Prospect Church Rd
Dry Prong, LA 71423


New Prospect Missionary Baptist Church
Great Lakes Fsc 272
6330 Pembroke Ave
Detroit, MI 48221


New Prospect Parent/Teacher Assoc
Atlanta Area Council 092
3055 Kimball Bridge Rd
Alpharetta, GA 30022


New Prospect Utd Methodist Church
Northeast Georgia Council 101
2018 Buford Dam Rd
Buford, GA 30518


New Providence Civitan Club
Middle Tennessee Council 560
P.O. Box 2083
Clarksville, TN 37042


New Providence Presbyterian Church
Great Smoky Mountain Council 557
703 W Broadway Ave
Maryville, TN 37801


New Relic, Inc
188 Spear St, Ste 1200
San Francisco, CA 94105
New Relic, Inc
P.O. Box 101812
Pasadena, CA 91189‐1812


New Republic
P.O. Box 421357
Palm Coast, FL 32142‐8837


New Richmond Fire Dept
Northern Star Council 250
106 N Arch Ave
New Richmond, WI 54017


New Richmond Kiwanis Club
Northern Star Council 250
P.O. Box 416
New Richmond, WI 54017


New River Bikes
221 N Court St
Fayetteville, WV 25840


New River Comm    Tech College
Office of Career Services
280 University Dr
Beaver, WV 25813


New River Gorge Cvb
310 Oyler Ave
Oak Hill, WV 25901


New River Gorge Regional Development
116 N Heber St, Ste 13
Beckley, WV 25801


New River Kiwanis
Grand Canyon Council 010
P.O. Box 75204
New River, AZ 85087
New River Mountain Guides
101 E Wiseman Ave
Fayetteville, WV 25840


New River Remodeling
c/o William Reilley
P.O. Box 37
Lansing, WV 25862


New River Sportswear Inc
118 Main St W
Oak Hill, WV 25901


New Roads Lions Club
Istrouma Area Council 211
P.O. Box 34
New Rds, LA 70760


New Rye Congregational Church
American Legion Post 112
Daniel Webster Council, Bsa 330
Epsom Nh
Epsom, Nh 03234


New Rye Congregational Church
American Legion Post 112
Daniel Webster Council, Bsa 330
P.O. Box 452
Epsom, Nh 03234


New Salem Improvement Club
Cherokee Area Council 556
12477 Hwy 136
Rising Fawn, GA 30738


New Salem Lions Club
Northern Lights Council 429
P.O. Box 181
New Salem, ND 58563


New Salem Methodist Church
Piedmont Council 420
155 New Salem Rd
Statesville, NC 28625


New Salem Utd Methodist Church
Piedmont Council 420
155 New Salem Rd
Statesville, NC 28625


New Scotland Kiwanis
Twin Rivers Council 364
P.O. Box 8
Voorheesville, NY 12186


New Sewickley Presbyterian Churh
Laurel Highlands Council 527
101 Big Knob Rd
Rochester, PA 15074


New Sharon Utd Methodist Church
c/o Roger Smith
Occoneechee 421
1601 New Sharon Church Rd


New Shiloh Missionary Baptist Church
Mobile Area Council‐Bsa 004
2756 Old Shell Rd
Mobile, AL 36607


New Site Methodist Church
Tukabatchee Area Council 005
108 Church Rd
New Site, AL 36256


New Site Utd Methodist Church
Tukabatchee Area Council 005
Rr 4 Box 347C
Alexander City, AL 35010


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Central Florida Council 083
300 N Riverside Dr
New Smyrna Beach, FL 32168
New Song Christian Fellowship
Middle Tennessee Council 560
2949 Nolensville Pike
Nashville, TN 37211


New Song Community Church
San Diego Imperial Council 049
3985 Mission Ave
Oceanside, CA 92058


New Song Community Church
Three Fires Council 127
2858 Hafenrichter Rd
Aurora, IL 60503


New Song Lutheran Church
Las Vegas Area Council 328
1291 Cornet St
Henderson, NV 89052


New Song Utd Methodist Church
Grand Canyon Council 010
16303 W Bell Rd
Surprise, AZ 85374


New Song Utd Methodist Church
Heart of Virginia Council 602
7450 Colts Neck Rd
Mechanicsville, VA 23111


New Springfield Church Of God
Great Trail 433
4207 E Pine Lake Rd
New Springfield, OH 44443


New St Andrews College
Attn Brenda Schlect
P.O. Box 9025
Moscow, ID 83843
New Start Church Of The Nazarene
Circle Ten Council 571
10141 N County Rd
Frisco, TX 75033


New Story School
Laurel Highlands Council 527
715 Bilberry Rd
Monroeville, PA 15146


New Street Utd Methodist Church
Shenandoah Area Council 598
202 W New St
Shepherdstown, WV 25443


New Tazewell Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 36
New Tazewell, TN 37824


New Territory Residential Comm Assoc
Sam Houston Area Council 576
6101 Homeward Way
Sugar Land, TX 77479


New Town Branch Minot Nd Stake
Northern Lights Council 429
422 Eagle Dr
New Town, ND 58763


New Tribe Church
Middle Tennessee Council 560
1315 N Mount Juliet Rd
Mt Juliet, TN 37122


New Vision Promotions
1519 Eden Isle Blvd, Ste 105
St Petersburg, FL 33704


New Vista School
Orange County Council 039
23092 Mill Creek Dr
Laguna Hills, CA 92653


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Chipley, FL 32428


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Buckeye Council 436
46925 State Route 46
New Waterford, OH 44445


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Charlotte, NC 28216


New Wave Rafting Co
P.O. Box 70
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New Way Fellowship Praise     Worship
South Florida Council 084
16800 NW 22nd Ave
Miami Gardens, FL 33056


New Wilmington Kiwanis Club
Moraine Trails Council 500
189 State Route 18
New Wilmington, PA 16142


New Windsor Fire Dept
Hudson Valley Council 374
275 Walsh Ave
New Windsor, NY 12553


New Windsor Utd Presbyterian Church
Illowa Council 133
412 Walnut St
New Windsor, IL 61465


New Wine Church
Orange County Council 039
1425 S Brookhurst Rd
Fullerton, CA 92833


New World Marketing LLC
636 S River Rd, Ste 204
Des Plaines, IL 60016


New World Utd Methodist Church
Longhorn Council 662
2201 N Davis Dr
Arlington, TX 76012


New World19, LLC
1325 W Walnut Hill Ln
Irving, TX 75038


New York City Bar
Gpo Box 30487
New York, NY 10087‐0487


New York Community Bank
P.O. Box 742579
Cincinnati, OH 45274‐2579


New York Estonian Educational Society
Greater New York Councils, Bsa 640
243 E 34th St
New York, NY 10016


New York Gill Inc
950 Ontario Mills Dr
Ontario, CA 91764


New York Grill
California Inland Empire Council 045
950 Ontario Mills Dr
Ontario, CA 91764


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47‐01 111th St
Queens, NY 11368
New York Hat   Cap Co, Inc
999 S Oyster Bay Rd, Ste 420
Bethpage, NY 11714


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1855 Broadway
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Northern Lights Council 429
52442 County Hwys 52
New York Mills, MN 56567


New York Office Of The Attorney General
Consumer Information Div
1625 N Market Blvd, Ste N 112
Sacramento, CA 95834


New York Public Radio
160 Varick St
New York, NY 10013


New York Sales Tax Bureau
Attn Cen Returns Proc Unit
P.O. Box 894
New York, NY 10005


New York Sales Tax Bureau
Cen Returns Proc Unit
P.O. Box 894
Wall St Station
New York, NY 10005


New York State Attorneys General
Dept. of Law ‐ the Capitol, 2nd Fl
Albany, NY 12224


New York State Camp Directors Assoc
NyscdaAttn     Donna Ippolito
37 Mineola Ave
Roslyn, NY 11576


New York State Comptroller
Office of Unclaimed Funds
110 State St
Albany, NY 12236


New York State Corp Tax
Attn Corp Tax Processing
W A Harriman Campus
Albany, NY 12227


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Corporation Tax Processing
W A Harriman Campus
Albany, NY 12227


New York State Dept Of Law
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Registration Section
120 Broadway
New York, NY 10271


New York State Dept Of State
Div of Corps State Records
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One Commerce Plz 99 Washington Ave
Albany, NY 12231


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P.O. Box 4301
Binghamton, NY 13902‐4301


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Pittsburgh, PA 15250‐7456


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Boone, IA 50037‐0682


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3790 Las Vegas Blvd
Las Vegas, NV 89109


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Three Fires Council 127
P.O. Box 479
101 E Main St
Newark, IL 60541


Newark Police Dept Clinton Avenue
Northern New Jersey Council, Bsa 333
480 Clinton Ave
Newark, NJ 07108


Newark Utd Methodist Church
Del Mar Va 081
69 E Main St
Newark, DE 19711


Newark Valley Utd Methodist Church
Baden‐Powell Council 368
70 S Main St
Newark Valley, NY 13811


Newaygo Utd Methodist Church
President Gerald R Ford 781
101 State Rd
Newaygo, MI 49337


Newberry City Rescue Squad
Blue Ridge Council 551
2327 Adelaide St
Newberry, SC 29108


Newberry Fire And Emergency Services
Blue Ridge Council 551
P.O. Box 538
Newberry, SC 29108


Newberry Rotary Club
Blue Ridge Council 551
1315 Ebenezer Rd
Newberry, SC 29108


Newberry Springs Volunteer Fire Dept
California Inland Empire Council 045
P.O. Box 206
Newberry Springs, CA 92365


Newbold Cleaners
4211 Arden Way
Sacramento, CA 95864


Newburg Boy Scout Club
Lincoln Heritage Council 205
4901 Exeter Ave
Louisville, KY 40218


Newburg Community Center
Lincoln Heritage Council 205
4810 Exeter Ave
Louisville, KY 40218
Newburg Middle School
Lincoln Heritage Council 205
5008 E Indian Trl
Louisville, KY 40218


Newburgh Kiwanis Club
Buffalo Trace 156
P.O. Box 447
Newburgh, IN 47629


Newburgh Parent Support Group
Buffalo Trace 156
306 State St
Newburgh, IN 47630


Newburgh Utd Methodist Church
Buffalo Trace 156
4178 State Route 261
Newburgh, IN 47630


Newbury Park First Christian Church
Ventura County Council 057
801 Knollwood Dr
Newbury Park, CA 91320


Newbury Taleo Group Inc
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Byfield, MA 01922


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Lake Erie Council 440
P.O. Box 308
Newbury, OH 44065


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Golden Empire Council 047
690 Taylor Rd
Newcastle, CA 95658


Newcastle Methodist Church
Last Frontier Council 480
121 E Fox Lane
Newcastle, OK 73065


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Black Hills Area Council 695 695
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Newcastle, WY 82701


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Dallas, TX 75240


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Whittier, CA 90601


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2700 W 13th St
Grand Island, NE 68803


Newent Congregational Church
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12 S Burnham Hwy
Lisbon, CT 06351


Newfane Utd Methodist Church
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2699 Main St
Newfane, NY 14108


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P.O. Box 32
Newfoundland, PA 18445


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Tidewater Council 596
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Westmoreland Fayette 512
4600 Old William Penn Hwy
Murrysville, PA 15668


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Great Lakes Fsc 272
233 Bagley St
Pontiac, Mi 48341


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2445 19th St Sw
Mason City, IA 50401


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Office of Financial Aid
3100 Mccormick
Wichita, KS 67213


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Eugene, OR 97402


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Orange County Council 039
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Newport Beach, CA 92663


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Orange County Council 039
870 Santa Barbara Dr
Newport Beach, CA 92660


Newport City Police Dept
Green Mountain 592
222 Main St
Newport, VT 05855


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Oregon Trail Council 697
45 SE John Moore Rd
Newport, OR 97365


Newport Fire Fighters Assoc
Southern Shores Fsc 783
8473 Swan Creek Rd
Newport, MI 48166


Newport Fire House
New Birth of Freedom 544
301 Mulberry St
Newport, PA 17074
Newport Firearms LLC
Great Lakes Fsc 272
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Newport, MI 48166


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Orange County Council 039
2900 Bristol St C‐107
Costa Mesa, Ca 92626


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Narragansett 546
120 Broadway
Newport, RI 02840


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Inland Nwest Council 611
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Newport, WA 99156


Newport Priest River Rotary Club
Inland Nwest Council 611
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Old Town, ID 83822


Newport Telephone Co
Leatherstocking 400
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Newport, NY 13416


Newport Volunteer Fire Dept
Muskingum Valley Council, Bsa 467
Sr 7
Newport, OH 45768


Newport Yacht Club
Seneca Waterways 397
694 Seneca Rd
Rochester, NY 14622


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Orange County Council 039
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Newton, NC 28658


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3690 W 159th St
Cleveland, OH 44111


Newton D Baker School Of Arts
Lake Erie Council 440
3690 W 159th St
Cleveland, OH 44111


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Mid Iowa Council 177
314 E 2nd St N
Newton, IA 50208


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Daniel Webster Council, Bsa 330
6 Church St
Newton, NH 03848


Newton Miller
Address Redacted


Newton PTO
Simon Kenton Council 441
6645 Mount Vernon Rd
Newark, OH 43055


Newton Utd Methodist Church
Choctaw Area Council 302
600 Decatur St
Newton, MS 39345


Newtown Congregational Church Ucc
Connecticut Yankee Council Bsa 072
14 W St
Newtown, CT 06470


Newtown Estates Community Assoc
Aloha Council, Bsa 104
98‐456 Kaahele St
Aiea, HI 96701
Newtown Exchange Club
Washington Crossing Council 777
P.O. Box 673
Newtown, PA 18940


Newtown Hook   Ladder Co 1
Connecticut Yankee Council Bsa 072
2 Church Hill Rd
Newtown, CT 06470


Newtown Lions Club
Connecticut Yankee Council Bsa 072
P.O. Box 218
Newtown, CT 06470


Newtown Presbyterian Church
Washington Crossing Council 777
P.O. Box 287
25 N Chancellor St
Newtown, PA 18940


Newtown Utd Methodist Church
Connecticut Yankee Council Bsa 072
92 Church Hill Rd
Sandy Hook, CT 06482


Newville Lions Club
New Birth of Freedom 544
P.O. Box 176
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1325 W Walnut Hill Lane
Irving, TX 75038


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Jordan, MN 55352


Next Generation Technology Inc
6060 N Central Expwy, Ste 560
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18170 W Dixie Hwy
Miami, FL 33160


Next Up Boushall Middle School
Heart of Virginia Council 602
3400 Hopkins Rd
Richmond, VA 23234


Next Up Henderson Middle School
Heart of Virginia Council 602
4319 Old Brook Rd
Richmond, VA 23227


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City of Industry, CA 91716‐9573


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P.O. Box 843833
Los Angeles, CA 90084‐3833


Nextgen Development Corp
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P.O. Box 73302
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260 King St E, Ste A200
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Canada


Nexus Utd Church Of Christ
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Hamilton, OH 45011


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Hanover, MD 21076


Nfpa
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Nfpa International
P.O. Box 9689
Manchester, NH 03108‐9689


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San Francisco, CA 94107


Nginx Software, Inc
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Newark, NJ 07101


Nhc Register Of Deeds
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Nhi Tran
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Nhu Nguyen
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Niagara County Sheriffs Office
Iroquois Trail Council 376
5526 Niagara St Ext
Lockport, NY 14094


Niagara Falls Boys And Girls Club
Greater Niagara Frontier Council 380
725 177th St
Niagara Falls, NY 14301


Niagara Falls City School District
Greater Niagara Frontier Council 380
630 66th St
Niagara Falls, NY 14304


Niagara Falls Ward LDS Buffalo Stake
Greater Niagara Frontier Council 380
754 Scovell Dr
Lewiston, NY 14092


Niagara Frontier Veterinary Society
Greater Niagara Frontier Council 380
P.O. Box 1252
Buffalo, NY 14209


Niagara Utd Methodist Church
Lincoln Heritage Council 205
12041 State Route 136 E
15866 Hwy 136 E Henderson Ky 42420


Niantic Community Church
Connecticut Rivers Council, Bsa 066
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55 Mclaughlin Dr
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P.O. Box 2
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104 S 2nd St
Nicholasville, KY 40356


Nicholasville Utd Methodist Church
Blue Grass Council 204
303 W Maple St
Nicholasville, KY 40356


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Nichole Mcbride
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Nichole Waters
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Nicholle Dunkle
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1239 Murray Rd
Odenton, MD 21113


Nichols Kaster Pllp
80th S 8th St, Ste 4600
Minneapolis, MN 55402


Nichols Utd Methodist Church
Connecticut Yankee Council Bsa 072
35 Shelton Rd
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Nicholson Sellgren Post 2962‐Vfw
Voyageurs Area 286
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Nicholtown Community Center
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Homer City, PA 15748


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Last Frontier Council 480
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Carol Stream, IL 60197‐5407


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10991 Route 287
Wellsboro, PA 16901


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2814 S 44th St
Kansas, KS 66106‐3717


Nils Linfors
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Houston, TX 77073
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2200 Princess Anne Rd
Virginia Beach, VA 23456


Nimmonsburg Rotary
Baden‐Powell Council 368
22 Maplewood Dr
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Nina Hunt
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264 Glenville Rd
Greenwich, Ct 06831
Ninthdecimal
Greater New York Councils, Bsa 640
16 E 40th St 4th Fl
New York, NY 10016


Niome Lopez
Address Redacted


Nip Inc / The Winner S Cir
1451 W Cypress Creed Rd, Ste 300
Fort Lauderdale, FL 33309


Nipomo Area Recreation Assoc
Los Padres Council 053
P.O. Box 346
Nipomo, CA 93444


Ni‐Sanak‐Tani
Gateway Area 624
2600 Quarry Rd
La Crosse, WI 54601


Nischa Achowalogen Lodge 486
c/o Golden Spread Council
401 Tascosa Rd
Amarillo, TX 79124‐1515


Niskayuna Reformed Church
Twin Rivers Council 364
3041 Troy Schenectady Rd
Niskayuna, NY 12309


Nisqually Valley Moose Lodge 1905
Pacific Harbors Council, Bsa 612
1117 Yelm Ave Sw
Yelm, WA 98597


Nita Cutting
Address Redacted
Nita Scarff
Address Redacted


Nite Ize
P.O. Box 913144
Denver, CO 80291‐3144


Nitidalina Ruiz
Address Redacted


Nitram Lodge 188 F Am
Greater Tampa Bay Area 089
4275 78th St N
Saint Petersburg, FL 33709


Nitro Church Of God
Buckskin 617
1517 15th St
P.O. Box 277
Nitro, WV 25143


Nittany Line Hobby Shop
341 Colonnade Blvd
State College, PA 16803


Nittany Post 245
Juniata Valley Council 497
150 Pine Hall Rd
State College, PA 16801


Niverville‐ Chatham Ctr Utd Methodist Ch
Twin Rivers Council 364
P.O. Box 64
Niverville, Ny 12130


Nixa American Legion
Ozark Trails Council 306
591 Mccroskey
Nixa, MO 65714
Nixa Christian Church
Ozark Trails Council 306
400 Nview Rd
Nixa, MO 65714


Nixon, Vogelman, Slawsky     Simoneau, PA
Attn Kirk C Simoneau
re Plaintiff
77 Central St
Manchester, NH 03101


Nixon, Vogelman, Slawsky     Simoneau, PA
Attn Kirk C. Simoneau
77 Central St
Manchester, NH 03101


Nj Army National Guard 3Rd Battallion
Patriots Path Council 358
430 Wern Ave
Morristown, NJ 07960


NJ Div Of Consumer Affairs
P.O. Box 45021
Newark, NJ 07101‐8002


Nj Div Of Revenue   Enterprise Svcs
P.O. Box 252
Trenton, NJ 08625‐0252


Njrotc Booster Club
Baltimore Area Council 220
2700 Riva Rd
Annapolis, MD 21401


Nm Dept Of Agriculture
3190 S Espina
Las Cruces, NM 88003


Nm Dept Of Game    Fish
P.O. Box 25112
Santa Fe, NM 87503
Nm Ems Bureau
1301 Siler Rd Bldg F
Santa Fe, NM 87507


Nm Facilities Operation Section
P.O. Box 26110
Santa Fe, NM 87502


Nm Library Assoc
P.O. Box 26074
Albuquerque, NM 87125


Nm Office Of State Engineer
P.O. Box 481
Cimarron, NM 87714


Nm Press Service
P.O. Box 3015
Albuquerque, NM 87190


NM Taxation    Revenue Dept
P.O. Box 25123
Santa Fe, NM 87504‐5123


Nm Utility Operator Certification Progrm
P.O. Box 5469
Santa Fe, NM 87502


Nm Water Conservation Alliance
369 Montezuma 149
Santa Fe, NM 87501


Nmda Bureau Of Pesticide Mgmt
Attn Msc 3Aq
P.O. Box 30005
Las Cruces, NM 88003‐8005


Nmed ‐ Raton
1243 S 2nd St
Raton, NM 87740
Nmed‐Petroleum Strg Tank Bur
Attn Prevention Inspection Prog
2905 Rodeo Park E, Bldg 1
Santa Fe, NM 87505


Nmesc
P.O. Box 3396
Albuquerque, NM 97190


Nminster Presbyterian Ch Diamond Bar
Greater Los Angeles Area 033
400 Rancheria Rd
Diamond Bar, Ca 91765


Nmlra
Membership Dept Us‐4
P.O. Box 67
Friendship, IN 47021‐0067


Nmose
P.O. Box 25102
Santa Fe, NM 87504


Nmsu Police Dept
Yucca Council 573
725 College Dr
Las Cruces, NM 88003


Nmwdoc
c/o Jornada Rc D
2101 S Broadway St
Truth Or Consequence, NM 87901


No Box Tools LLC
6100 S Hwy 66
Morgan, UT 84050


No Conway Community Center
Daniel Webster Council, Bsa 330
2628 White Mountain Hwy
North Conway, NH 03860


No Mianus School PTA
Greenwich 067
309 Palmer Hill Rd
Riverside, CT 06878


Noah A Clemens
Address Redacted


Noah A Sallen
Address Redacted


Noah Andrew Moger Kolodji
Address Redacted


Noah Blitz
Address Redacted


Noah Community Center
Middle Tennessee Council 560
165 Noah Rd
102 N Fork Rd
Manchester, TN 37355


Noah D Esters
Address Redacted


Noah F Bowser
Address Redacted


Noah G Davis
Address Redacted


Noah G Miller
Address Redacted


Noah J Berkebile
Address Redacted
Noah J Christians
Address Redacted


Noah Lt Mcdonald
Address Redacted


Noah Ludlow
Address Redacted


Noah M Monahan
Address Redacted


Noah Palframan
Address Redacted


Noah Pelton
Address Redacted


Noah R Mackenzie
Address Redacted


Noah S Franks
Address Redacted


Noah Sj Miller
Address Redacted


Noah Thomas Clay
Address Redacted


Noaker Law Firm LLC
333 Washington Ave N, 329
Minneapolis, MN 55401


Noaker Law Firm, LLC
Attn Patrick Noaker
1600 Utica Ave S, 9th Fl
St. Louis Park, MN 55416


Noaker Law Firm, LLC,
Tolmage, Peskin, Harris   Falick, And
James, Vernon   Weeks, PA
re Plaintiff
1600 Utica Ave S, 9th Fl
St. Louis Park, MN 55416


Noaker Law Firm, LLC,
Tolmage, Peskin, Harris   Falick, And
James, Vernon   Weeks, PA
re Plaintiff
20 Vesey St, 7th Fl
New York, NY 10007


Noaker Law Firm, LLC,
Tolmage, Peskin, Harris    Falick, And
James, Vernon    Weeks, PA
re Plaintiff
1626 Lincoln Way
Coeur D Alene, ID 83815


Noble 1‐Hy Boston Op Co Manager Inc
dba Hyatt Summerfield, Ste S
Boston Waltham/Noble
I‐Hy Boston Op Co LLC
3424 Peachtree Rd Ne, Ste 1100
Atlanta, GA 30326


Noble Elementary School PTA
Lake Erie Council 440
1293 Ardoon St
Cleveland Heights, OH 44121


Noble Gilstrap
Address Redacted


Noble House
21220 Devonshire 102
Chatsworth, CA 91311
Nobles Chapel Baptist Church
East Carolina Council 426
7330 Old Raleigh Rd
Sims, NC 27880


Noblesville Police Dept
Crossroads of America 160
135 S 9th St
Noblesville, IN 46060


No‐Burn Se Inc
dba Seast Fire Solutions
1502 Max Hooks Rd, Ste E
Groveland, FL 34736


Nocatee Elementary Parents And Teachers
Southwest Florida Council 088
4846 SW Shores Ave
Arcadia, FL 34266


Nocatee Group Of Concerned Citizens
North Florida Council 087
23 Willow Falls Trl
Ponte Vedra, FL 32081


Noccalula Civitan Club
Greater Alabama Council 001
1028 Valley Dr
Attalla, AL 35954


Noe S Chapel Utd Methodist Church
Great Smoky Mountain Council 557
1040 Noes Chapel Rd
Morristown, TN 37814


Noe Vly Merchants   Professional Assoc
San Francisco Bay Area Council 028
P.O. Box 460754
San Francisco, Ca 94146


Noel Allan
Address Redacted
Noel Hancock
Address Redacted


Noel Mcdonald
Address Redacted


Noel Memorial Utd Methodist Church
Norwela Council 215
520 Herndon St
Shreveport, LA 71101


Noel Nelson
Address Redacted


Noel Olmedo
Address Redacted


Noelani Elementary School PTA
Aloha Council, Bsa 104
2655 Woodlawn Dr
Honolulu, HI 96822


Noes Chapel Methodist Church
Great Smoky Mountain Council 557
707 Noes Chapel Rd
Morristown, TN 37814


Nogales Ward ‐ LDS Sahuarita Stake
Catalina Council 011
17699 S Camino De Las Quintas
Sahuarita, AZ 85629


Nohvcc
427 Central Ave W
Great Falls, MT 59404


Nohvcc
P.O. Box 229
Great Falls, MT 59403‐2229
Nokesville Elementary PTA
National Capital Area Council 082
12375 Aden Rd
Nokesville, VA 20181


Nola Cooper
Address Redacted


Nolachuckey Ruritan Club
Sequoyah Council 713
565 Nolichuckey Rd
Greeneville, TN 37743


Nolan C Brugler
Address Redacted


Nolan Flachs
Address Redacted


Nolan P Buland
Address Redacted


Nolan Rehm
Address Redacted


Nolan Reynerson
Address Redacted


Nolcam Enterprises LLC
10100 Park Cedar Dr, Ste 178
Charlotte, NC 28210


Nolcam Enterprises LLC
dba Alphagraphics ‐ Pineville
P.O. Box 470097
Charlotte, NC 28247‐0097


Nolen F Wine
Address Redacted


Nolen Qualls
Address Redacted


Nolensville 1st Utd Methodist Ch
Middle Tennessee Council 560
7316 Nolensville Rd
Nolensville, Tn 37135


Nolley Memorial Utd Methodist Church
Louisiana Purchase Council 213
P.O. Box 127
Jena, LA 71342


Nols ‐ Wrmc
284 Lincoln St
Lander, WY 82520‐2848


Nomad Adventure Journals
P.O. Box 235590
Encinitas, CA 92023


Nome Rotary Club
Great Alaska Council 610
P.O. Box 1716
Nome, AK 99762


Non Profit Risk Management Center
204 S King St
Leesburg, VA 20176


Non Profit Times
P.O. Box 1145
Bellmawr, NJ 08099‐5145


Nonprofit Hr Solutions, LLC
1712 1 St Nw, Suite 306
Washington, DC 20006
Nonprofit Information Network Assoc
112 Water St, Ste 400
Boston, MA 02109‐9868


Nonprofit Leadership Alliance
1801 Main St, Ste 200
Kansas City , MO 64108


Nonprofit Leadership Alliance
P.O. Box 875083
Kansas City, MO 64187‐5083


Nonprofit Risk Management Ctr
204 S King St
Leesburg, VA 20175


Noon   Assoc Apc
501 W Broadway, Ste 1260
San Diego, CA 92101


Noon Kiwanis ‐ Worthington
Sioux Council 733
P.O. Box 9
1206 Oxford St
Worthington, MN 56187


Noon Kiwanis Club Of Corvallis
Oregon Trail Council 697
P.O. Box 1602
Youth Services Committee
Corvallis, OR 97339


Noon Lions Club Friona
Golden Spread Council 562
1715 W 10th St
Friona, TX 79035


Noon Rotary Club Of Allen
Circle Ten Council 571
P.O. Box 369
Allen, TX 75013
Nopfmi Inc
900 Convention Center Blvd
New Orleans, LA 70130


Nor West Scout Shop ‐ Opc
2145 SW Front St
Portland, OR 97201


Nora Grace Marie Huberty
Address Redacted


Nora Kay Crist
Address Redacted


Nora Springs Impact Group
Winnebago Council, Bsa 173
112 N Seminary Ave
P.O. Box 37
Nora Springs, IA 50458


Norbert Maria Harasimiuk
Address Redacted


Norbert Olson
Address Redacted


Norborne Utd Methodist Church
Heart of America Council 307
2nd and Walnut
Norborne, MO 64668


Norco American Legion Post 328
California Inland Empire Council 045
3888 Old Hamner Rd
Norco, CA 92860


Norco Area Chamber Of Commerce
California Inland Empire Council 045
P.O. Box 235
Norco, CA 92860
Norco Booster Club
California Inland Empire Council 045
2065 Temescal Ave
Norco, CA 92860


Norco Lions Club
California Inland Empire Council 045
1245 6th St
Norco, CA 92860


Norcross Presbyterian
Atlanta Area Council 092
3324 Medlock Bridge Rd
Norcross, GA 30092


Norcross Utd Methodist Church
Atlanta Area Council 092
2500 Beaver Ruin Rd
Norcross, GA 30071


Noreen Davis
Address Redacted


Noreen Ebaugh
Address Redacted


Noreen Halvorson
Address Redacted


Noreen Hansen
Address Redacted


Noreen Zurell
Address Redacted


Norex Photo Inc
423 E Sheridan St, Ste 100
Ely, MN 55731
Norfield Congregational Church
Connecticut Yankee Council Bsa 072
64 Norfield Rd
Weston, CT 06883


Norfleet Acquisition Co Inc
dba Norfleet Products
P.O. Box 743
Fredericksburg, VA 22404


Norfolk Lions Club
Mid‐America Council 326
P.O. Box 392
Norfolk, NE 68702


Norfolk Noon Kiwanis
Mid‐America Council 326
P.O. Box 345
Norfolk, NE 68702


Norfolk State University
Registration Office
700 Park Ave
Norfolk, VA 23504‐8026


Norine D Amico
Address Redacted


Norkirk Presbyterian Church
Circle Ten Council 571
3915 N Josey Ln
Carrollton, TX 75007


Norlina Police Dept
Occoneechee 421
P.O. Box 149
Norlina, NC 27563


Norma Clark
Address Redacted
Norma Doud
Address Redacted


Norma Elmore
Address Redacted


Norma F Cethoute
Address Redacted


Norma Fry
Address Redacted


Norma Hinkle
Address Redacted


Norma Jean Marcum
Address Redacted


Norma Krapac
Address Redacted


Norma Loquvam
Address Redacted


Norma Nessler
Address Redacted


Norma Nordenstrom
Address Redacted


Norma Snyder
Address Redacted


Norma Tucker
Address Redacted


Norman 2Nd Ward
3908 Green Hills Ct
Norman, OK 73072


Norman Bailey
Address Redacted


Norman Burkhalter Jr
Address Redacted


Norman County East PTO
Northern Lights Council 429
P.O. Box 100
Gary, MN 56545


Norman Dean Home For Services Inc
Patriots Path Council 358
16 Righter Ave
Denville, NJ 07834


Norman Doby
Address Redacted


Norman Fuqua
Address Redacted


Norman J Sklar, Inc
7462 Old Hickory Dr
P.O. Box 367
Mechanicsville, VA 23111‐0367


Norman Ladewig
Address Redacted


Norman Mcleod American Legion Post 26
Greater Tampa Bay Area 089
P.O. Box 26
2207 W Baker St
Plant City, FL 33564


Norman Police Dept
Last Frontier Council 480
201 W Gray St, Ste B
Norman, OK 73069


Norman Price American Legion Post 68
National Capital Area Council 082
P.O. Box 348
Brookeville, MD 20833


Norman Price American Legion Post 68
National Capital Area Council 082
P.O. Box 426
Olney, MD 20830


Norman Rockwell Museum Mail Order
P.O. Box 308
Stockbridge, MA 01292


Norman S Grove Baptist Church
Piedmont Council 420
206 Carpenters Grove Church Rd
Lawndale, NC 28090


Norman Schaefer
Address Redacted


Norman Stone
Address Redacted


Norman Swails
Address Redacted


Norman Wells Sr
Address Redacted


Norman Yeagle
Address Redacted


Normandale Hylands Utd Methodist
Northern Star Council 250
9920 Normandale Blvd
Bloomington, MN 55437


Normandale Lutheran Church
Northern Star Council 250
6100 Normandale Rd
Edina, MN 55436


Normandy Center 7   8 Grade
Greater St Louis Area Council 312
7855 Natural Bridge
St Louis, MO 63121


Normandy Elementary PTO
Denver Area Council 061
6750 S Kendall Blvd
Littleton, CO 80128


Normandy High School
Greater St Louis Area Council 312
6701 Saint Charles Rock Rd
Saint Louis, MO 63133


Normandy Park Community Club
Chief Seattle Council 609
17418 12th Pl Sw
Normandy Park, WA 98166


Normandy Park Congregational Church
Chief Seattle Council 609
19247 1st Ave S
Normandy Park, WA 98148


Normandy Police Dept
Greater St Louis Area Council 312
7700 Natural Bridge Rd
Saint Louis, MO 63121


Normandy Utd Methodist Church
Miami Valley Council, Bsa 444
450 W Alex Bell Rd
Dayton, OH 45459
Normed
P.O. Box 3644
Seattle, WA 98124


Nor‐Pak Services Inc
347 Shelleybrooke Dr
Pilot Mountain, NC 27041


Norrene Hatch
Address Redacted


Norris City Lions Club
Buffalo Trace 156
P.O. Box 377
Norris City, IL 62869


Norris G. Schexnider Sr Mem Home Assn
Sam Houston Area Council 576
6315B Fm 1488 Rd 251
Magnolia, TX 77354


Norris Religious Fellowship
Great Smoky Mountain Council 557
P.O. Box 267
Norris, TN 37828


Norriton Presbyterian Church
Cradle of Liberty Council 525
P.O. Box 220
608 N Trooper Rd
Norriton, PA 19401


Norstan Communications Inc
Black Box Network Services
P.O. Box 775140
Chicago, IL 60677‐5140


Nortex Vfd
Circle Ten Council 571
P.O. Box 2044
Mt Pleasant, TX 75456


North   Southampton Reformed Church
Washington Crossing Council 777
1380 Bristol Rd
Southampton, PA 18966


North American Bear Center
P.O. Box 161
Ely, MN 55731


North American Communication Resourceinc
Nw 5806
P.O. Box 1450
Minneapolis, MN 55485‐5806


North American Hindu Assoc
847 E Angela St
Pleasanton, CA 94566‐7568


North American Martyrs Catholic Church
Cornhusker Council 324
1101 Isaac Dr
Lincoln, NE 68521


North American Publishing, Co
Book Business Regis Desk
1500 Spring Garden St‐12th Fl
Philadelphia, PA 19130‐4094


North American Safety Inc
326 S Ash St
Belle Plaine, MN 56011


North Andrew Parent Teacher Org
Pony Express Council 311
9120 Hwy 48
Rosendale, MO 64483


North Arvada Middle School
Denver Area Council 061
7285 Pierce St
Arvada, CO 80003


North Atlanta Church Of Christ
Atlanta Area Council 092
5676 Roberts Dr
Dunwoody, GA 30338


North Aurelius PTO
Water and Woods Council 782
115 N Aurelius Rd
Mason, MI 48854


North Aurora Firemen S Assoc
Three Fires Council 127
2 Monroe St
North Aurora, IL 60542


North Aurora Lions Club
Three Fires Council 127
405 Oak St
North Aurora, IL 60542


North Avenue Baptist Church
Los Padres Council 053
1523 W N Ave
Lompoc, CA 93436


North Avenue Church Of God
Southern Shores Fsc 783
1079 N Ave
Battle Creek, MI 49017


North Barrington PTO
Pathway To Adventure 456
310 N Il Route 59
Barrington, IL 60010


North Beaver Civic Club
Moraine Trails Council 500
1203 Mount Jackson Rd
Barbara Rossi
New Castle, PA 16102


North Bend Vfw
Mid‐America Council 326
P.O. Box 553
742 N Main St
North Bend, NE 68649


North Berwick Food Pantry
Pine Tree Council 218
P.O. Box 571
North Berwick, ME 03906


North Billerica Baptist Church
The Spirit of Adventure 227
Old Elm St
N. Billerica, MA 01862


North Boone Fire District 3
Blackhawk Area 660
305 W Grove St
Poplar Grove, IL 61065


North Boulevard Homes
Greater Tampa Bay Area 089
1800 N Rome Ave
Tampa, FL 33607


North Branch American Legion Post 457
Water and Woods Council 782
P.O. Box 59
North Branch, MI 48461


North Branch Reformed Church
Patriots Path Council 358
203 State Route 28
Bridgewater, NJ 08807


North Branch Volunteer Fire Co
Patriots Path Council 358
1169 State Route 28
Branchburg, NJ 08876
North Branch Volunteer Fire Dept
Northern Star Council 250
37917 Forest Blvd
North Branch, MN 55056


North Branford Congregational Church
Connecticut Yankee Council Bsa 072
1680 Foxon Rd
North Branford, CT 06471


North Bridge Elementary PTO
Rio Grande Council 775
1111 W Sugar Cane Dr
Weslaco, TX 78599


North Broadway Utd Methodist Church
Simon Kenton Council 441
48 E N Broadway St
Columbus, OH 43214


North Buffalo Utd Presbyterian Church
Laurel Highlands Council 527
711 Rural Valley Rd
Washington, PA 15301


North Buttes Lodge 230
Golden Empire Council 047
1200 Sycamore St
Gridley, CA 95948


North Cape Lutheran
Three Harbors Council 636
2644 Raynor Ave
Franksville, WI 53126


North Carolina Dept Of Commerce
Division of Employment Security
P.O. Box 26504
Raleigh, NC 27611‐6504
North Carolina Dept Of State Treasurer
Escheat   Unclaimed Property
325 N Salisbury St
Raleigh, Nc 27603‐1385


North Carolina Grange 1066
Tuscarora Council 424
4836 Taylors Bridge Hwy
Clinton, NC 28328


North Carolina Secretary Of State
Attn Charitable Solicitation Licensing
P.O. Box 29622
Raleigh, NC 27626‐0622


North Carolina Secretary Of State
Charitable Solicitation Licensing Div
2 S Salisbury St
Raleigh, NC 27601‐2903


North Carolina State Attorneys General
Dept. of Justice
P.O. Box 629
Raleigh, NC 27699‐0629


North Carolina State Bar
Membership Dept
P.O. Box 26088
Raleigh, NC 27611


North Carolina State University
Scholarships    Financial Aid Office
Campus Box 7302
Raleigh, NC 27695‐7302


North Carroll Cooperative Parish
Baltimore Area Council 220
1205 N Main St
Hampstead, MD 21074


North Centerville Fire Co
Monmouth Council, Bsa 347
P.O. Box 207
Hazlet, NJ 07730


North Central Ahec
Dan Beard Council, Bsa 438
500 Technology Way
Florence, KY 41042


North Central Baptist Church
Sam Houston Area Council 576
2102 Tidwell Rd
Houston, TX 77093


North Central College
Attn Office of Financial Aid
30 N Brainard St
Naperville, IL 60540


North Chapel Hill Baptist Church
Occoneechee 421
7707 Airport Rd
Chapel Hill, NC 27514


North Charleston Fire Dept
Coastal Carolina Council 550
2500 City Hall Ln
North Charleston, SC 29406


North Charleston Police Dept
Coastal Carolina Council 550
2500 City Hall Ln
North Charleston, SC 29406


North Chilton Parents For Scouting
Tukabatchee Area Council 005
455 County Rd 922
Jemison, AL 35085


North Chilton Parents Of Scouting
Tukabatchee Area Council 005
P.O. Box 1263
Calera, AL 35040
North Christian Church
Hoosier Trails Council 145 145
850 Tipton Ln
Columbus, IN 47201


North City Church Of Christ
Greater St Louis Area Council 312
5036 Thekla Ave
Saint Louis, MO 63115


North Clark Lions Club 7906
Cascade Pacific Council 492
P.O. Box 67
Amboy, WA 98601


North Columbus Preparatory Academy
Simon Kenton Council 441
1695 Gladstone Ave
Columbus, OH 43211


North Congregational Church
Connecticut Rivers Council, Bsa 066
11 Main St N
Woodbury, CT 06798


North Congregational Church
Connecticut Rivers Council, Bsa 066
P.O. Box 307
17 Church St
New Hartford, CT 06057


North Congregational Church
Daniel Webster Council, Bsa 330
355 Spinney Rd
Portsmouth, NH 03801


North Conway Fire Dept
Daniel Webster Council, Bsa 330
P.O. Box 218
70 Norcross Cir
North County Christian School
Greater St Louis Area Council 312
845 Dunn Rd
Florissant, MO 63031


North County Fire Dept
San Diego Imperial Council 049
315 E Ivy St
Fallbrook, CA 92028


North Creek Presbyterian Church
Mount Baker Council, Bsa 606
621 164th St Se
Mill Creek, WA 98012


North Creek Volunteer Fire Co, Inc
Twin Rivers Council 364
P.O. Box 112
North Creek, NY 12853


North Cross School
Blue Ridge Mtns Council 599
4254 Colonial Ave
Roanoke, VA 24018


North Cross Utd Methodist Church
Heart of America Council 307
1321 NE Vivion Rd
Kansas City, MO 64118


North Dakota Secretary Of State
600 E Blvd Ave
Dept 108
Bismarck, ND 58505‐0500


North Dakota Secretary Of State
600 E Blvd Ave, Dept 108
Bismarck, ND 58505‐0500


North Dakota State Attorneys General
State Capitol
600 E Blvd Ave
Bismarck, ND 58505‐0040


North Dakota State Land Dept
Unclaimed Property Div
P.O. Box 5523
Bismarck, ND 58506‐5523


North Dakota State University
Ndsu Onestop Dept 2836
P.O. Box 6050
Fargo, ND 58108‐6050


North Decatur Utd Methodist Church
Atlanta Area Council 092
1523 Church St
Decatur, GA 30030


North Deering Congregational Church
Pine Tree Council 218
1364 Washington Ave
Portland, ME 04103


North East Ohio Youth Leadership Council
Lake Erie Council 440
17740 Lost Trl
Chagrin Falls, OH 44023


North East Utd Methodist Church
Del Mar Va 081
306 S Main St
North E, MD 21901


North Eaton Christian Church Disciples
Lake Erie Council 440
35895 Royalton Rd
Grafton, OH 44044


North Elementary PTO
Crossroads of America 160
440 N 10th St
Noblesville, IN 46060
North End Hose Co
Connecticut Yankee Council Bsa 072
215 Spring St
West Haven, CT 06516


North English Christian Church
Hawkeye Area Council 172
131 N Howard St
P.O. Box 52
North English, IA 52316


North Essex Post 146 Jewish War Veterans
Northern New Jersey Council, Bsa 333
96 Franklin St
Verona, NJ 07044


North Fairhaven Improvement Assoc
Narragansett 546
267 Adams St
Fairhaven, MA 02719


North Florida
521 S Edgewood Ave
Jacksonville, FL 32205‐5359


North Florida Cncl 87
521 S Edgewood Ave
Jacksonville, FL 32205‐5359


North Florida Council ‐ Shands
North Florida Council 087
521 Edgewood Ave S
Jacksonville, FL 32205


North Florida School Of Special Ed
North Florida Council 087
4600 Beach Blvd
Jacksonville, FL 32207


North Fond Du Lac Optimist Club
Bay‐Lakes Council 635
P.O. Box 45
Fond Du Lac, WI 54936


North Fork Lions Club
Sequoia Council 027
P.O. Box 251
North Fork, CA 93643


North Fort Myers Academy For The Arts
Southwest Florida Council 088
1856 Arts Way
North Fort Myers, FL 33917


North Fort Myers High School
Southwest Florida Council 088
5000 Orange Grove Blvd
North Fort Myers, FL 33903


North Fulton Jewish Community
Atlanta Area Council 092
5342 Tilly Mill Rd
Dunwoody, GA 30338


North Georgia College  State University
Attn Office of Student Financial Aid
82 College Cir
Dahlonega, GA 30597


North Georgia Workplace Innovation Space
Northeast Georgia Council 101
142 River Ter
Ellijay, GA 30540


North Glade Elementary School
South Florida Council 084
5000 NW 177th St
Miami Gardens, FL 33055


North Glendale School PTO
Greater St Louis Area Council 312
765 N Sappington Rd
Saint Louis, MO 63122


North Greenville University
Attn Development Office
P.O. Box 1892
Tigerville, SC 29688


North Gwinnett Church
Northeast Georgia Council 101
4963 W Price Rd
Suwanee, GA 30024


North Gwinnett Church
Northeast Georgia Council 101
4973 W Price Rd
Suwanee, GA 30024


North Gwinnett High School Jrotc
Northeast Georgia Council 101
20 Level Creek Rd
Suwanee, GA 30024


North Haledon PTO
Northern New Jersey Council, Bsa 333
515 High Mountain Rd
North Haledon, NJ 07508


North Haven Congregational Church
Connecticut Yankee Council Bsa 072
28 Church St
North Haven, CT 06473


North Haven Fair Assoc, Inc
Connecticut Yankee Council Bsa 072
290 Washington Ave
P.O. Box 14


North Haven Fire Dept
Connecticut Yankee Council Bsa 072
11 Broadway
North Haven, CT 06473
North High School Jrotc
Denver Area Council 061
2960 N Speer Blvd
Denver, CO 80211


North Highlands Fire Dept
Westchester Putnam 388
504 Fishkill Rd
Cold Spring, NY 10516


North Hill School PTA
Mississippi Valley Council 141 141
8365 139th St
Burlington, IA 52601


North Hills Alliance Church
Laurel Highlands Council 527
2280 Rochester Rd
Pittsburgh, PA 15237


North Hills Alliance Church
Laurel Highlands Council 527
2298 Rochester Rd
Pittsburgh, PA 15237


North Hills Christian
Central N Carolina Council 416
2970 W Innes St
Salisbury, NC 28144


North Hills Electric Co Inc
6929 Jfk Blvd 20‐245
North Little Rock, AR 72116


North Hills Law Enforcement
Laurel Highlands Council 527
109 E Union Rd
Cheswick, PA 15024


North Hollywood Optimist Club
W.L.A.C.C. 051
P.O. Box 16943
North Hollywood, CA 91615


North Houston Frontier Club, Inc
15814 Champion Forest Dr, Ste 116
Spring, TX 77379


North Huntingdon Township Police Dept
Westmoreland Fayette 512
11279 Center Hwy
North Huntingdon, PA 15642


North Jefferson Elementary School PTO
Shenandoah Area Council 598
6996 Charles Town Rd
Kearneysville, WV 25430


North Junior High Parent Support Group
Buffalo Trace 156
15325 Hwy 41 N
Evansville, IN 47725


North Kent Presbyterian Church
President Gerald R Ford 781
6175 Kuttshill Dr Ne
Rockford, MI 49341


North Kingstown Rotary Club
Narragansett 546
P.O. Box 807
North Kingstown, RI 02852


North Kingstown Utd Methodist Church
Narragansett 546
450 Boston Neck Rd
North Kingstown, RI 02852


North Lake College Career Services
Attn Crystal Lathridge
5001 N Macarthur Blvd
Irving, TX 75038‐3899
North Lake School Pbc
Potawatomi Area Council 651
N75 W31283 Hwy Vv
North Lake, WI 53064


North Lake School Pbc
Potawatomi Area Council 651
P.O. Box 1014
Oconomowoc, WI 53066


North Las Vegas Elks
Las Vegas Area Council 328
2939 Van Der Meer St
North Las Vegas, NV 89030


North Las Vegas Fire Dept
Las Vegas Area Council 328
4040 Losee Rd
North Las Vegas, NV 89030


North Las Vegas Police Dept
Las Vegas Area Council 328
2235 Las Vegas Blvd
North Las Vegas, NV 89030


North Lauderdale Fire Rescue Dept.
South Florida Council 084
6151 Bailey Rd
North Lauderdale, FL 33068


North Lawrence Fish   Game Club Inc
Buckeye Council 436
15325 Lawmont St
North Lawrence, OH 44666


North Lewisburg Utd Methodist Church
Tecumseh 439
Box 66
146 W Maple St


North Liberty Optimist Club
Hawkeye Area Council 172
P.O. Box 106
North Liberty, IA 52317


North Liberty Utd Methodist Church
Lasalle Council 165
P.O. Box 904
107 S Main St


North Linn Fish And Game Club
Hawkeye Area Council 172
P.O. Box 449
Central City, IA 52214


North Little Rock Fire Dept
Quapaw Area Council 018
723 Maple St
North Little Rock, AR 72114


North Lyon County Youth Assoc.   Nlcya
Jayhawk Area Council 197
P.O. Box 404
Allen, KS 66833


North Macomb Sportsman Club
Great Lakes Fsc 272
3231 Inwood Rd
Washington, MI 48095


North Madison Congregational Church
Connecticut Yankee Council Bsa 072
1271 Durham Rd
Madison, CT 06443


North Madison Volunteer Fire Co
Connecticut Yankee Council Bsa 072
840 Opening Hill Rd
Madison, CT 06443


North Mecklenburg High School
Mecklenburg County Council 415
11201 Old Statesville Rd
Huntersville, NC 28078


North Metro Church
Atlanta Area Council 092
2305 Ernest W Barrett Pkwy Nw
Marietta, GA 30064


North Metro Home Educators
Denver Area Council 061
6441 W 108th Ave
Westminster, CO 80020


North Miami Schools Parents For Scouting
Sagamore Council 162
632 E 900 N
Denver, IN 46926


North Middle School
Lincoln Heritage Council 205
100 Trojan Way
Radcliff, KY 40160


North Middle School
Shenandoah Area Council 598
250 E Rd
Martinsburg, WV 25404


North Mississippi Medical Center
Yocona Area Council 748
830 S Gloster St
Tupelo, MS 38801


North Naples Utd Methodist Church
Southwest Florida Council 088
6000 Goodlette Rd N
Naples, FL 34109


North Oak Christian Church
Heart of America Council 307
9900 N Oak Trfy
Kansas City, MO 64155
North Oaks Homeowners Assoc
Northern Star Council 250
100 Village Center Dr, Ste 240
North Oaks, MN 55127


North Oldham High School
Lincoln Heritage Council 205
1801 S Hwy 1793
Goshen, KY 40026


North Olmsted Knights Of Columbus 4731
Lake Erie Council 440
20525 Center Ridge Rd, Ste 503
Rocky River, OH 44116


North Palm Baptist Church
South Florida Council 084
7801 NW 178th St
Hialeah, FL 33015


North Parish Congregational Church
Pine Tree Council 218
207 Main St
Sanford, ME 04073


North Park Community Church
San Diego Imperial Council 049
3702 29th St
San Diego, CA 92104


North Park Covenant Church
Pathway To Adventure 456
5250 N Christiana Ave
Chicago, IL 60625


North Park Fire Protection Dist
Blackhawk Area 660
605 Ramona Terr
Machesney Park, IL 61115


North Park PTA
President Gerald R Ford 781
3375 Cheney Ave Ne
Grand Rapids, MI 49525


North Park Umc   Block Unit 385
Greater St Louis Area Council 312
1525 Orchid Ave
Saint Louis, MO 63147


North Parkway School
West Tennessee Area Council 559
1341 N Pkwy
Jackson, TN 38301


North Patchogue Fire Dept
Suffolk County Council Inc 404
32 Davidson Ave
Patchogue, NY 11772


North Penn Volunteer Fire Co
Cradle of Liberty Council 525
141 S Main St
North Wales, PA 19454


North Plainfield Music Parents Assoc
Patriots Path Council 358
225 Mountain Ave
North Plainfield, NJ 07060


North Plainfiled Board Of Ed.
34 Wilson Ave
Susan Feibush
North Plainfield, NJ 07060


North Plains Christian Church
Cascade Pacific Council 492
31231 NW Commercial St
North Plains, OR 97133


North Platte Police Dept
Overland Trails 322
701 S Jeffers St
North Platte, NE 69101


North Point Utd Methodist Church
Norwela Council 215
675 Hwy 1
Shreveport, LA 71107


North Point Ward‐Twin Falls West Stake
Snake River Council 111
1134 N College Rd W.
Twin Falls, ID 83301


North Pointe Church Of Christ
Circle Ten Council 571
4405 Williford Rd
Sachse, TX 75048


North Pole Afjrotc
Midnight Sun Council 696
601 Nphs Blvd
North Pole, AK 99705


North Pole Christian School
Midnight Sun Council 696
2936 Badger Rd
North Pole, AK 99705


North Pole Community Charter
Midnight Sun Council 696
954 Baskerville St
North Pole, AK 99705


North Port Police Dept
Southwest Florida Council 088
5650 N Port Blvd
North Port, FL 34287


North Presbyterian Church
Northern Star Council 250
2675 Hwy 36 E
North Saint Paul, MN 55109
North Providence Friends Of Scouting
Narragansett 546
29 Atwood Ave
North Providence, RI 02904


North Pulaski Utd Methodist Church
Quapaw Area Council 018
10 Kelso Rd
Gravel Ridge, AR 72076


North Raleigh Utd Methodist Church
Occoneechee 421
8501 Honeycutt Rd
Raleigh, NC 27615


North Reformed Church
Northern New Jersey Council, Bsa 333
120 Washington Ave
Washington   Madison
Dumont, NJ 07628


North Reformed Church
Northern New Jersey Council, Bsa 333
Washington   Madison
Avenues
Dumont, NJ 07628


North River Avenue Christian Church
Ohio River Valley Council 619
207 N River Ave
Toronto, OH 43964


North River Baptist Church
Atlanta Area Council 092
12090 Hardscrabble Rd
Roswell, GA 30075


North River Ruritan Club
Stonewall Jackson Council 763
87 Old Quarry Rd
Mount Solon, VA 22843
North Rock Creek PTO
Last Frontier Council 480
42400 Garretts Lake Rd
Shawnee, OK 74804


North Rosedale Park Civic Assoc
Great Lakes Fsc 272
18445 Scarsdale St
Detroit, MI 48223


North Rowan Middle School
Central N Carolina Council 416
512 Charles St
Spencer, NC 28159


North Saginaw Charter Academy
Water and Woods Council 782
2332 Trautner Dr
Saginaw, MI 48604


North Salem Lions Club
Westchester Putnam 388
P.O. Box 307
North Salem, NY 10560


North Sandy Presbyterian Church
French Creek Council 532
2139 Raymilton Rd
Utica, PA 16362


North Scott Fire Service
Illowa Council 133
201 N Main St
Donahue, IA 52746


North Scottsdale Utd Methodist Church
Grand Canyon Council 010
11735 N Scottsdale Rd
Scottsdale, AZ 85254


North Sewickley Township
Laurel Highlands Council 527
893 Mercer Rd
Beaver Falls, PA 15010


North Shore 7Th Ward
South Jordan Ut North Shore Stk
Great Salt Lake Council 590
5072 Roaring Rd
South Jordan, Ut 84009


North Shore Fire Dept
Three Harbors Council 636
4401 W River Ln
Milwaukee, WI 53223


North Shore Presbyterian Church
Three Harbors Council 636
4048 N Bartlett Ave
Milwaukee, WI 53211


North Shore Utd Methodist Church
Alamo Area Council 583
23880 N Cranes Mill Rd
Canyon Lake, TX 78133


North Shore Utd Methodist Church
Northeast Illinois 129
213 Hazel Ave
Glencoe, IL 60022


North Slope Borough
Midnight Sun Council 696
P.O. Box 69
Barrow, AK 99723


North Slope Branch ‐ LDS
Midnight Sun Council 696
P.O. Box 889
Barrow, AK 99723


North Smithfield Police Dept
Narragansett 546
575 Smithfield Rd 1
North Smithfield, RI 02896


North Spartanburg Volunteer Fire Dept
Palmetto Council 549
8767 Asheville Hwy
Spartanburg, Sc 29316


North Stafford Commty
Improvement League
National Capital Area Council 082
11 Francis Ct
Stafford, Va 22554


North Stafford Commty
Improvement League
National Capital Area Council 082
3130 Jefferson Davis Hwy
Stafford, Va 22554


North Star Opinion Research Inc
112 N Alfred St
Alexandria, VA 22314


North Star Volunteer Fire Dept
Midnight Sun Council 696
2358 Bradway Rd
North Pole, AK 99705


North State Environmental Inc
2889 Lowery St
Winston Salem, NC 27101


North Stonington Volunteer Fire Co
Connecticut Rivers Council, Bsa 066
P.O. Box 279
North Stonington, CT 06359


North Suburban Kiwanis Club
Northern Star Council 250
P.O. Box 130761
Roseville, MN 55113
North Tapps Middle School Ptsa
Pacific Harbors Council, Bsa 612
20029 12th St E
Lake Tapps, WA 98391


North Ter Church Of Christ
1420 Brandywine Blvd
Zanesville, OH 43701


North Texas Christian Home School Assoc.
Circle Ten Council 571
2241 Micarta Dr
Plano, TX 75025


North Texas Compensation Assoc
14070 Proton Rd, Ste 100, Lb9
Dallas, TX 75244


North Texas Horizon LLC
300 E Highland Mall Blvd, Ste 340
Austin, TX 78752


North Texas Horizons LLC
3000 E Highland Mall Blvd, Ste 345
Austin, TX 78752


North Texas Horizons LLC
dba New Horizons Clc Dallas
P.O. Box 951879
Dallas, TX 75395‐1879


North Texas Horizons LLC
dba New Horizons Clc of Ft Worth
P.O. Box 679083
Dallas, TX 75267‐9083


North Texas Regional Airport
Circle Ten Council 571
4700 Airport Dr
Denison, TX 75020
North Texas Relocation Professionals
5600 W Lovers Ln, Ste 116‐392
Dallas, TX 75209


North Texas Scouting Alliance
Longhorn Council 662
106 N Main St
Euless, TX 76040


North Texas Scouting Alliance
Longhorn Council 662
118 Timberline Dr
Colleyville, TX 76034


North Texas Scouting Alliance
Longhorn Council 662
P.O. Box 463
Hurst, TX 76053


North Trail Elementary Parent Council
Northern Star Council 250
5580 170th St W
Farmington, MN 55024


North Union Elementary PTO
Simon Kenton Council 441
420 Grove St
Richwood, OH 43344


North Utd Methodist Church
Buckskin 617
Ravenswood, WV 26164


North Utd Methodist Church
Buckskin 617
North Umc
Ravenswood, WV 26164


North Valley Service Area
Adult   Career Education
11450 Sharp Ave
Mission Hills, CA 91345


North Valley Youth Leadership Devt
Grand Canyon Council 010
19017 N 21St Ave
Phoenix, Az 85027


North View Elementary School PTO
Crossroads of America 160
807 W Yale Ave
Muncie, IN 47304


North Walpole Fire   Rescue
Daniel Webster Council, Bsa 330
70 Church St
North Walpole, NH 03609


North Warren Chamber Of Commerce
Twin Rivers Council 364
P.O. Box 490
Chestertown, NY 12817


North Warren Presbyterian Church
Chief Cornplanter Council, Bsa 538
200 S State St
Warren, PA 16365


North Warren Volunteer Fire Dept
Chief Cornplanter Council, Bsa 538
16 S State St
Warren, PA 16365


North Water Holdings Ltd
110‐2331 Alberta St
Vancouver, Bc V5Y 4A7
Canada


North Webster Lions Club
Anthony Wayne Area 157
P.O. Box 11
North Webster, IN 46555
North Webster Utd Methodist Church
Anthony Wayne Area 157
P.O. Box 282
North Webster, IN 46555


North Webster Utd Methodist Church
Anthony Wayne Area 157
P.O. Box 282
7822 Epworth Forest Rd


North West Community Of Christ
Mid Iowa Council 177
3003 62nd St
Des Moines, IA 50322


North Whidbey Sportsmens Assoc
Mount Baker Council, Bsa 606
P.O. Box 267
Oak Harbor, WA 98277


North Wilkesboro Presbyterian Church
Old Hickory Council 427
804 E St
North Wilkesboro, NC 28659


North Zion Luthern Church
Laurel Highlands Council 527
5100 Brownsville Rd
Pittsburgh, PA 15236


Northampton Presbyterian Church
Washington Crossing Council 777
539 Buck Rd
Holland, PA 18966


Northborough Patrolmans Assoc
Mayflower Council 251
211 Main St
Northborough, MA 01532
Northborough Rotary
Mayflower Council 251
P.O. Box 651
Northborough, MA 01532


Northbrook Rotary
Northeast Illinois 129
P.O. Box 283
Northbrook, IL 60065


Northbrook Sports Club
Northeast Illinois 129
160 Sports Club Dr
Hainesville, IL 60030


Northbrook Utd Methodist Church
Atlanta Area Council 092
11225 Crabapple Rd
Roswell, GA 30075


Northbrook Utd Methodist Church
Northeast Illinois 129
1190 Wern Ave
Northbrook, IL 60062


Northcentral Technical College
Samoset Council, Bsa 627
1000 W Campus Dr
Wausau, WI 54401


Northeast Academy Parent Teacher Org
Connecticut Rivers Council, Bsa 066
115 Oslo St
Mystic, CT 06355


Northeast Center For Beekeeping LLC
dba Betterbee
8 Meader Rd
Greenwich, NY 12834


Northeast Contemporary Services Inc
Northern Star Council 250
2770 Cleveland Ave N
Roseville, MN 55113


Northeast Elementary Mco
East Carolina Council 426
1002 E Highland Ave
Kinston, NC 28501


Northeast Georgia
P.O. Box 399
Jefferson, GA 30549‐0399


Northeast Georgia Cncl 101
P.O. Box 399
Jefferson, GA 30549‐0399


Northeast Illinois
850 Forest Edge Dr
Vernon Hills, IL 60061‐3105


Northeast Illinois Cncl 129
850 Forest Edge Dr
Vernon Hills, IL 60061‐3105


Northeast Illinois Council
2745 Skokie Valley Rd
Highland Park, IL 60035‐1042


Northeast Illinois Council 129
850 Forest Edge Dr
Vernon Hills, IL 60061‐3105


Northeast Iowa
10601 Military Rd
P.O. Box 732
Dubuque, IA 52004‐0732


Northeast Iowa Cncl 178
10601 Military Rd
Dubuque, IA 52003
Northeast Iowa Council, Bsa
10601 Military Rd
P.O. Box 732
Dubuque, IA 52004‐0732


Northeast Iowa Stem Committee
Northeast Iowa Council 178
P.O. Box 732
Dubuque, IA 52004


Northeast Joco Law Enforcement
Heart of America Council 307
9010 W 62nd St
Merriam, KS 66202


Northeast Kiwanas Club
Capitol Area Council 564
9815 Copper Creek Dr, Apt 120
Austin, TX 78729


Northeast Neighbors
Three Fires Council 127
1710 Violet St
Aurora, IL 60505


Northeast Region
P.O. Box 268
Jamesburg, NJ 08831‐0268


Northeast Region Opc
c/o Ner Bsa
P.O. Box 268
Jamesburg, NJ 08831‐0268


Northeast Stage
620 Park Ave Hwy 33
Freehold, NJ 07728‐2352


Northeast Technical Services Inc
315 Chestnut St
P.O. Box 1142
Virginia, MN 55792


Northeast Utd Methodist Church
Indian Waters Council 553
4400 Hard Scrabble Rd
Columbia, SC 29223


Northeast Ymca
Cornhusker Council 324
6402 Judson St
Lincoln, NE 68507


Northeastern Alamance Fire Dept.
Old N State Council 070
3847 N Nc Hwy 49
Burlington, NC 27217


Northeastern Pennsylvania
72 Montage Mountain Rd
Moosic, PA 18507‐1776


Northeastern Pennsylvania Council
72 Montage Mountain Rd
Moosic, PA 18507‐1776


Northeastern University
Attn Gen Scholarships
354 Richards Hall
360 Huntington Ave
Boston, MA 02115‐5000


Northern Arizona University
Attn Scholarship Dept
P.O. Box 4108
Flagstaff, AZ 86011‐4108


Northern Business Products Inc
P.O. Box 16127
Duluth, MN 55816‐0127


Northern Dutchess Rod     Gun Club Inc
Hudson Valley Council 374
140 Enterprise Rd
Rhinebeck, NY 12572


Northern Gifts
PMB 882, 250 H St
Blaine, WA 98230


Northern Hills Academy
Patriots Path Council 358
10 Gail Ct
Sparta, NJ 07871


Northern Hills PTO
Gateway Area 624
511 Spruce St
Onalaska, WI 54650


Northern Hills Utd Methodist Church
Alamo Area Council 583
3703 N Loop 1604 E
San Antonio, TX 78247


Northern Illinois University
Attn Financial Aid
1425 W Lincoln Hwy
Dekalb, IL 60115


Northern Kawasaki
379 Hwy 33 N
Cloquet, MN 55720


Northern Kentucky University
Student Account Services
Lucas Admin Center 235
Highland Heights, KY 41099


Northern Key   Lock Inc
4702 E Terra Cotta Ave
Crystal Lake, IL 60014
Northern Lights
4200 19th Ave S
Fargo, ND 58103


Northern Lights Cncl 429
4200 19th Ave S
Fargo, ND 58103


Northern Lights District Committee
Las Vegas Area Council 328
7220 Paradise Rd
Las Vegas, NV 89119


Northern Lights Surveying   Mapping Inc
1518 8th St S, Ste 2
Virginia, MN 55792


Northern Marine   Powersports Inc
dba 77 Marine   Recreation
1736 County Rd 77
Tower, MN 55790


Northern Michigan Antique Flywheelers
President Gerald R Ford 781
P.O. Box 494
Walloon Lake, MI 49796


Northern Michigan Univ
Attn Financial Aid
1401 Presque Isle Ave
Marquette, MI 49855


Northern Nevada Chapter Of Sci
Nevada Area Council 329
4790 Caughlin Pkwy PMB 227
Reno, NV 89519


Northern New Jersey
25 Ramapo Valley Rd
Oakland, NJ 07436‐1709
Northern New Jersey Cncl 333
25 Ramax Valley Rd
Oakland, NJ 07436


Northern New Mexico Gas
19 Agua Rd
Angel Fire, NM 87710


Northern New Mexico Gas
P.O. Box 144
Angel Fire, NM 87710


Northern Palms Chs
Southwest Florida Council 088
13251 N Cleveland Ave
North Fort Myers, FL 33903


Northern Parklife Inc
5201 W Kennedy Blvd 930
Tampa, FL 33609


Northern Safety Co Inc
P.O. Box 4250
Utica, NY 13504‐4250


Northern Star
6202 Bloomington Rd
Ft. Snelling, MN 55111


Northern Star Council 250
393 Marshall Ave
St Paul, MN 55102


Northern Star Council 250
6202 Bloomington Rd
Ft Snelling, MN 55111


Northern Star Council Bsa
5300 Glenwood Ave
Golden Valley, MN 55422
Northern Star Lodge
Pine Tree Council 218
173 Main St
Anson, ME 04911


Northern Tier Bpc
P.O. Box 509
Ely, MN 55731


Northern Tier Canadian Bank Acct
P.O. Box 509
Ely, MN 55731


Northern Tier High Adventure, Bsa
Nat L High Adventure Committee Mtg
P.O. Box 509
Ely, MN 55731‐0509


Northern Tier Opc
c/o Keith Nelson
P.O. Box 509
Ely, MN 55731


Northern Tier Opc
c/o Matthew Rendahl
P.O. Box 509
Ely, MN 55731


Northern Tier Opc C/O Ryan Smith
P.O. Box 509
Ely, MN 55731


Northern Tool   Equipment Co
2800 Scross Dr
P.O. Box 1219
Burnsville, MN 55337‐0219


Northern Trust
50 S La Salle St
Chicago, IL 60603
Northern Trust Co
50 S Lasalle St, B‐7
Chicago, IL 60603


Northern Virginia Community College
1000 Harry Flood Bryd Hwy
Sterling, VA 20164‐8699


Northern York County Regional Police
New Birth of Freedom 544
1445 E Canal Rd
Dover, PA 17315


Northerncheyenne Tribal School
Montana Council 315
P.O. Box 150
Busby, MT 59016


Northfield Community Church
Northeast Illinois 129
400 Wagner Rd
Northfield, IL 60093


Northfield Presbyterian Church
Lake Erie Council 440
7755 S Boyden Rd
Northfield, OH 44067


Northfield Public Safety
Northern Star Council 250
2000 N Ave
Northfield, MN 55057


Northfield Rotary Club
Green Mountain 592
Northfield Vt
Northfield, VT 05663


Northfield Vfw Post 6768
Lake Erie Council 440
8584 Olde 8 Rd
Northfield, OH 44067


Northfield Volunteer Fire Co
Connecticut Rivers Council, Bsa 066
12 Knife Shop Rd
Northfield, CT 06778


Northgate Bible Church
Water and Woods Council 782
4311 Pine Grove Rd
Port Huron, MI 48060


Northgate Christian Church
Yucca Council 573
5430 Yvette Ave
El Paso, TX 79924


Northgate Community Church
California Inland Empire Council 045
P.O. Box 1898
Cathedral City, CA 92235


Northgate Jrsr High School
Laurel Highlands Council 527
589 Union Ave
Pittsburgh, PA 15202


Northglenn Christian Church
Denver Area Council 061
10675 Washington St
Northglenn, CO 80233


Northglenn Elks Lodge 2438
Denver Area Council 061
10969 Irma Dr
Northglenn, CO 80233


Northglenn Utd Methodist Church
Denver Area Council 061
1605 W 106th Ave
Northglenn, CO 80234
Northlake Park Elementary School
9055 Nlake Pkwy
Orlando, FL 32827‐5706


Northland Chapter Of The
American Red Cross
2524 Maple Grove Rd
Duluth, MN 58811


Northland College
Attn Financial Aid Office / Scholarship
1411 Ellis Ave
Ashland, WI 54806


Northland Fire   Safety, Inc
P.O. Box 16779
Duluth, MN 55816


Northland Nautical Foundation
Mt Diablo‐Silverado Council 023
6529 Arlington Blvd
Richmond, CA 94805


Northland Scuba Inc
Northern Star Council 250
7038 37th St N
Oakdale, MN 55128


Northland Tractor Repair
10115 Whiteside Rd
P.O. Box 747
Buhl, MN 55713


Northminister Presbyterian Church
Indian Waters Council 553
6717 David St
Columbia, SC 29203


Northminister Presbyterian Church
National Capital Area Council 082
7720 Alaska Ave Nw
Washington, DC 20012


Northminster Presbyterian Ch
Friends Of T 155
Great Trail 433
104 Portage Trail Ext W
Cuyahoga Falls, Oh 44223


Northminster Presbyterian Church
Atlanta Area Council 092
2400 Old Alabama Rd
Roswell, GA 30076


Northminster Presbyterian Church
Baden‐Powell Council 368
711 Farm To Market Rd
Endwell, NY 13760


Northminster Presbyterian Church
Dan Beard Council, Bsa 438
703 Compton Rd
Cincinnati, OH 45231


Northminster Presbyterian Church
Grand Canyon Council 010
13001 N 35th Ave
Phoenix, AZ 85029


Northminster Presbyterian Church
Great Trail 433
104 Portage Trail Ext W
Cuyahoga Falls, OH 44223


Northminster Presbyterian Church
Heart of America Council 307
1441 NE Englewood Rd
Kansas City, MO 64118


Northminster Presbyterian Church
National Capital Area Council 082
7720 Alaska Ave Nw
Washington, DC 20012
Northminster Presbyterian Church
Northeast Illinois 129
2515 Central Park Ave
Evanston, IL 60201


Northminster Presbyterian Church
San Diego Imperial Council 049
4324 Clairemont Mesa Blvd
San Diego, CA 92117


Northminster Presbyterian Church
Southwest Florida Council 088
3131 61st St
Sarasota, FL 34243


Northminster Presbyterian Church
W D Boyce 138
10720 N Knoxville Ave
Peoria, IL 61615


Northmont Utd Presbyterian Church
Laurel Highlands Council 527
8169 Perry Hwy
Pittsburgh, PA 15237


Northmoreland Volunteer Fire Co
Northeastern Pennsylvania Council 501
305 Schoolhouse Rd
Tunkhannock, PA 18657


Northpark Community Church
W.L.A.C.C. 051
28310 Kelly Johnson Pkwy
Valencia, CA 91355


Northpoint Church
Northwest Georgia Council 100
30 Orchard Rd
Adairsville, GA 30103
Northpoint Hospitality Group
Coastal Georgia Council 099
321 W Bay St
Savannah, GA 31401


Northpoint PTO
W D Boyce 138
2602 E College Ave
Bloomington, IL 61704


Northpoint Utd Methodist Church
Norwela Council 215
6675 La Hwy 1 N
Shreveport, LA 71107


Northport Public Library Northport Publi
151 Laurel Ave, James Olney
Northport, NY 11768


Northridge Fellowship Church
Northern Star Council 250
12522 Main St
Rogers, MN 55374


Northridge Presbyterian Church
Circle Ten Council 571
6920 Bob O Link Dr
Dallas, TX 75214


Northridge PTO
Northern Lights Council 429
1727 N 3rd St
Bismarck, ND 58501


Northridge Utd Methodist Church
Tecumseh 439
4610 Derr Rd
Springfield, OH 45503


Northshore Christian Academy
Mount Baker Council, Bsa 606
5700 23rd Dr W
Everett, WA 98203


Northshore Fire Prot Dist
Mt Diablo‐Silverado Council 023
P.O. Box 1199
Lucerne, CA 95458


Northside Baptist Church
Andrew Jackson Council 303
1475 E Nside Dr
Clinton, MS 39056


Northside Baptist Church
Cape Fear Council 425
2501 N College Rd
Wilmington, NC 28405


Northside Boys And Girls Club
Palmetto Council 549
900 Annafrel St
Rock Hill, SC 29730


Northside Chrysler Jeep Dodge LLC
812 Nside Dr
Summersville, WV 26651


Northside Church Of Christ
Prairielands 117


Northside Community Church
Occoneechee 421
621 N 1st Ave
Knightdale, NC 27545


Northside Communtiy Umc
Crossroads of America 160
1075 N Fruitridge Ave
Terre Haute, IN 47804


Northside Elementary   Franklin
Gateway Area 624
1611 Kane St
Parent Teacher Organization
La Crosse, WI 54603


Northside Elementary School PTO Inc
Inland Nwest Council 611
7881 Colburn Culver Rd
Sandpoint, ID 83864


Northside Fellowship Presbyterian Church
Simon Kenton Council 441
6481 Freeman Rd
Westerville, OH 43082


Northside Free Will Baptist Church
Indian Nations Council 488
706 N Cedar Ave
Broken Arrow, OK 74012


Northside High School
West Tennessee Area Council 559
3020 Humboldt Hwy
Jackson, TN 38305


Northside Hospital Forsyth
Northeast Georgia Council 101
1200 Nside Forsyth Dr
Cumming, GA 30041


Northside Lodge 283 F   Am
Greater Tampa Bay Area 089
3325 1st St Ne
Saint Petersburg, FL 33704


Northside Neighborhood Assoc Inc
Anthony Wayne Area 157
1916 Crescent Ave
Fort Wayne, IN 46805


Northside Presbyterian Church
Blue Ridge Mtns Council 599
1017 Progress St Nw
Blacksburg, VA 24060


Northside Utd Methodist Church
Atlanta Area Council 092
2799 Nside Dr Nw
Atlanta, GA 30305


Northside Utd Methodist Church
Blue Ridge Council 551
435 Summit Dr
Greenville, SC 29609


Northside Utd Methodist Church
Cape Cod and Islands Cncl 224
701 Airline Rd
Brewster, MA 02631


Northside Utd Methodist Church
West Tennessee Area Council 559
2571 N Highland Ave
Jackson, TN 38305


Northstar Academy Pac
Voyageurs Area 286
3301 Technology Dr
Duluth, MN 55811


Northstar Flags
1025 S Church St
Rocky Mount, NC 27803


Northvale Baptist Church
Westark Area Council 016
310 Adams St
Harrison, AR 72601


Northview Church Of Christ
Anthony Wayne Area 157
2900 N Jefferson St
Huntington, IN 46750
Northview Elementary PTA
Greater St Louis Area Council 312
8920 Cozens Ave
Jennings, MO 63136


Northview Optimist Club
Great Smoky Mountain Council 557
P.O. Box 461
Kodak, TN 37764


Northview Utd Methodist Church
Blue Ridge Mtns Council 599
521 Ridgecrest Dr
Roanoke, VA 24019


Northville Fire Dept
Great Lakes Fsc 272
215 W Main St
Northville, MI 48167


Northwell Health Center For Ems
Greater New York Councils, Bsa 640
113 E 77th St
New York, NY 10075


Northwest Acute Care Spec PC
P.O. Box 11810
Westminster, CA 92685‐1810


Northwest Area Health Education Center
Lincoln Heritage Council 205
2215 Portland Ave
Louisville, KY 40212


Northwest Austin Rotary Club
Capitol Area Council 564
P.O. Box 200307
Austin, TX 78720


Northwest Ave Church Of Christ
Great Trail 433
737 Nwest Ave
Tallmadge, OH 44278


Northwest Boys And Girls Club
Northwest Texas Council 587
1402 N Beverly Dr
Wichita Falls, TX 76305


Northwest Christian Church
Southern Shores Fsc 783
1590 W Temperance Rd
Temperance, MI 48182


Northwest Church Of Christ
Grand Canyon Council 010
5110 W Union Hills Dr
Glendale, AZ 85308


Northwest Community Center
Blackhawk Area 660
1325 N Johnston Ave
Rockford, IL 61101


Northwest Community Center
Central Florida Council 083
3955 Wd Judge Dr
Orlando, FL 32808


Northwest Community Church
Dan Beard Council, Bsa 438
8735 Cheviot Rd
Cincinnati, OH 45251


Northwest Connecticut Ymca
Connecticut Rivers Council, Bsa 066
259 Prospect St
Torrington, CT 06790


Northwest Elementary Mco
East Carolina Council 426
1710 Old Well Rd
Kinston, NC 28501
Northwest Elementary School PTO, LLC
Simon Kenton Council 441
4738 Henley Deemer Rd
Mc Dermott, OH 45652


Northwest Free Methodist Church
Quivira Council, Bsa 198
3224 N Tyler Rd
Wichita, KS 67205


Northwest Georgia
P.O. Box 1422
Rome, GA 30162‐1422


Northwest Georgia Cncl 100
P.O. Box 1422
Rome, GA 30162‐1422


Northwest Hill Utd Methodist Church
Alamo Area Council 583
7575 Tezel Rd
San Antonio, TX 78250


Northwest Hills Christian Church
Alamo Area Council 583
9560 Potranco Rd
San Antonio, TX 78251


Northwest Hills Utd Church Of Christ
Mid‐America Council 326
9334 Fort St
Omaha, NE 68134


Northwest Hills Utd Methodist Church
Alamo Area Council 583
7575 Tezel Rd
San Antonio, TX 78250


Northwest Hills Utd Methodist Church
Capitol Area Council 564
7050 Village Center Dr
Austin, TX 78731


Northwest Management, Inc
Inland Nwest Council 611
233 E Palouse River Dr
Moscow, ID 83843


Northwest Parkway, LLC
3701 Nwest Pkwy
Broomfield, CO 80023


Northwest Presbyterian Church
Atlanta Area Council 092
4300 Nside Dr Nw
Atlanta, GA 30327


Northwest River Supplies
2009 S Main St
Moscow, ID 83843


Northwest State Community College
Black Swamp Area Council 449
22600 Oh 34
Archbold, OH 43502


Northwest Suburban Ss ‐ Opc
600 N Wheeling Rd
Mount Prospect, IL 60056‐2165


Northwest Territorial Mint LLC
P.O. Box 2148
Auburn, WA 98071‐2148


Northwest Texas
3604 Maplewood Ave
Wichita Falls, TX 76308‐2121


Northwest Texas Cncl 587
3604 Maplewood
Wichita Falls, TX 76308
Northwest Utd Methodist Church
Lasalle Council 165
21855 Brick Rd
South Bend, IN 46628


Northwestern University
Outside Scholarship Coordinator
1801 Hinman Ave
Evanston, IL 60208


Northwind Lodge On Jasper Lake
P.O. Box 690
2267 Fernberg Rd
Ely, MN 55731


Northwood Christian Church
Oregon Trail Council 697
2425 Harvest Ln
Springfield, OR 97477


Northwood Church
Longhorn Council 662
1870 Rufe Snow Dr
Keller, TX 76248


Northwood Elementary
Seneca Waterways 397
433 N Greece Rd
Hilton, NY 14468


Northwood Elementary PTA
Greater Niagara Frontier Council 380
250 Nwood Ave
Buffalo, NY 14224


Northwood Fire Rescue
Daniel Webster Council, Bsa 330
67 Catamount Rd
Northwood, NH 03261


Northwood Lions Club
Winnebago Council, Bsa 173
1000 1st Ave N
Northwood, IA 50459


Northwood Parent Faculty Club
Mt Diablo‐Silverado Council 023
2214 Berks St
Napa, CA 94558


Northwood Presbyterian Church
Alamo Area Council 583
518 Pike Rd
San Antonio, TX 78209


Northwood Presbyterian Church
Greater Tampa Bay Area 089
2875 State Rd 580
Clearwater, FL 33761


Northwood Presbyterian Church
Sam Houston Area Council 576
3320 Cypress Creek Pkwy
Houston, TX 77068


Northwood PTA
Greater Niagara Frontier Council 380
250 Nwood Ave
Buffalo, NY 14224


Northwood Utd Methodist Church
Voyageurs Area 286
62 W County Rd 62
Esko, MN 55737


Northwoods Collision Center Inc
1140 E Main St
Ely, MN 55731


Northwoods Promotions West
140 W 98th St, Ste 105
Bloomington, MN 55420
Northwoods Utd Methodist Church
East Carolina Council 426
1528 Gum Branch Rd
Jacksonville, NC 28540


Norton Fire Dept
Sequoyah Council 713
P.O. Box 618
Norton, VA 24273


Norton Rainey Jr
Address Redacted


Norton Rose Fulbright Hong Kong
38/F Jardine House
1 Connaught Pl
Central Hong Kong,
China


Norton Rose Fulbright Us LLP
Attn Louis Strubeck/ Kristian Gluck
Attn Ryan Manns/Shivani Shah
2200 Ross Ave, Suite 3600
Dallas, TX 75201‐7932


Norton Rose Fulbright Us, LLP
Dept 2613
P.O. Box 122613
Dallas, TX 75312‐2613


Norton Rose Fulbright, LLP
19/F China World Tower
No 1 Jianguomenwai Ave
Beiging, 100004
China


Norton School P T A
Connecticut Rivers Council, Bsa 066
414 N Brooksvale Rd
Cheshire, CT 06410
Norton Supply Co
65 Bath St
Providence, RI 02908


Nortonville Christian Church
Jayhawk Area Council 197
19861 Osage St
Nortonville, KS 66060


Norven Baskerville
Address Redacted


Norwalk Elks 2142
Greater Los Angeles Area 033
13418 Clarkdale Ave
Norwalk, CA 90650


Norwalk Power Squadron
c/o P.O. Box 148
Connecticut Yankee Council Bsa 072
Attention Anthony Mobilia
Norwalk, CT 06856


Norwalk Public Safey
Greater Los Angeles Area 033
12700 Norwalk Blvd
Norwalk, CA 90650


Norwalk Utd Methodist Church
Greater Los Angeles Area 033
13000 San Antonio Dr
Norwalk, CA 90650


Norwalk Utd Methodist Church
Mid Iowa Council 177
1801 Sunset Dr
Norwalk, IA 50211


Norway Grove Memorial Lutheran Church
Glaciers Edge Council 620
820 River Rd
Deforest, WI 53532
Norwela
P.O. Box 4341
Shreveport, LA 71134‐0341


Norwela Area Cncl 215
3508 Beverly Pl
Shreveport, LA 71112


Norwela Council 215
3508 Beverly Pl
P.O. Box 4341
Shreveport, LA 71134‐0341


Norwell Fire Dept Local 2700
Mayflower Council 251
300 Washington St
Norwell, MA 02061


Norwell Middle School
Anthony Wayne Area 157
1100 E US Hwy 224
Ossian, IN 46777


Norwich Elementary School PTO
Simon Kenton Council 441
4454 Davidson Rd
Hilliard, OH 43026


Norwich Lions Club
Green Mountain 592
195 Douglas Rd
Norwich, VT 05055


Norwich University
Attn Bursars Office
158 Harmon Dr
Northfield, VT 05663‐1035


Norwin High School
Westmoreland Fayette 512
251 Mcmahon Dr
North Huntingdon, PA 15642


Norwin Middle School
Westmoreland Fayette 512
10870 Mockingbird Dr
North Huntingdon, PA 15642


Norwood Elementary School PTA
Greater Alabama Council 001
3136 Norwood Blvd
Birmingham, AL 35234


Norwood Elementary School PTO
Great Smoky Mountain Council 557
809 E Tri County Blvd
Oliver Springs, TN 37840


Norwood Fire Protection District
Denver Area Council 061
1605 Summit St
Norwood, CO 81423


Norwood Moose Lodge 301
Dan Beard Council, Bsa 438
2006 Mills Ave
Cincinnati, OH 45212


Norwood Park ‐ Clc
Cornhusker Council 324
2032 U St
Lincoln, NE 68503


Norwood PTA
Northern New Jersey Council, Bsa 333
177 Summit St
Norwood Public School


Norwood School Assoc
Suffolk County Council Inc 404
290 Norwood Ave
Port Jefferson Station, NY 11776
Norwood Utd Methodist Church
Muskingum Valley Council, Bsa 467
Colegate   Oakwood
Marietta, OH 45750


Norwood/Young America Lions Club
Northern Star Council 250
P.O. Box 252
Norwood, MN 55368


Norwoods Commercial Appliances Inc
P.O. Box 494
Banner Elk, NC 28604


Notary Assoc Of Texas Inc
1108 Lavaca St, Ste 110‐902
Austin, TX 78701


Notary Public Underwriters Agency
P.O. Box 140106
Austin, TX 78714‐0106


Noth Metro Home Educators
Denver Area Council 061
6441 W 108th Ave
Westminster, CO 80020


Nothing But Net Foundation
Mid‐America Council 326
3223 N 45th St
Omaha, NE 68104


Nothinz Comfort Footwear
18812 Lake Dr E
Chanhassen, MN 55317


Notions Marketing Corp
1500 Buchanan Sw
Grand Rapids, MI 49507
Notre Dame Catholic Church
Alamo Area Council 583
909 Main St
Kerrville, TX 78028


Notre Dame Catholic Church
Chippewa Valley Council 637
117 Allen St
Chippewa Falls, WI 54729


Notre Dame Catholic Church
Sam Houston Area Council 576
7720 Boone Rd
Houston, TX 77072


Notre Dame Catholic School
Circle Ten Council 571
2750 Bachman Dr
Dallas, TX 75220


Notre Dame Church
Northern New Jersey Council, Bsa 333
359 Central Ave
North Caldwell, NJ 07006


Notre Dame Club Of Mchenry County
Blackhawk Area 660
3321 Hidden Lake Dr
Woodstock, IL 60098


Notre Dame Du Mont Carmel
Katahdin Area Council 216
337 Saint Thomas St
Madawaska, ME 04756


Notre Dame Elementary School
Lasalle Council 165
1000 Moore Rd
Michigan City, IN 46360


Notre Dame High School
Puerto Rico Council 661
P.O. Box 937
Caguas, PR 00726


Notre Dame Of Bethlehem R C C
Minsi Trails Council 502
1861 Catasauqua Rd
Bethlehem, PA 18018


Notre Dame Of Mt Carmel
Patriots Path Council 358
75 Ridgedale Ave
Cedar Knolls, NJ 07927


Notre Dame Rc Church
Theodore Roosevelt Council 386
25 Mayfair Rd
New Hyde Park, NY 11040


Nottamme Trust   Saint Gabriel
Greater St Louis Area Council 312
6303 Nottingham Ave
Saint Louis, MO 63109


Nottamme Trust   St Gabriel
Attn Don Torretti
Greater St Louis Area Council 312
6303 Nottingham Ave
Saint Louis, MO 63109


Nottamme Trust   St Gabriel
Greater St Louis Area Council 312
6303 Nottingham Ave
Saint Louis, MO 63109


Nottingham Fire Rescue
Daniel Webster Council, Bsa 330
P.O. Box 114
Rt 152
Nottingham, NH 03290


Nottingham Presbyterian Church
Chester County Council 539
499 W Christine Rd
Nottingham, PA 19362


Nottingham West PTO
Daniel Webster Council, Bsa 330
10 Pelham Rd
Hudson, NH 03051


Nour Maatouk Yabra
Address Redacted


Nouvel Catholic Central Elem
Athletic Assoc
Water And Woods Council 782
2136 Berberovich Dr
Saginaw, Mi 48603


Nova Academy ‐ Cedar Hill
Circle Ten Council 571
8301 Bruton Rd
Dallas, TX 75217


Nova Academy ‐ Scyene
Circle Ten Council 571
6459 Scyene Rd
Dallas, TX 75227


Nova Academy Prichard
Circle Ten Council 571
2800 Prichard Ln
Dallas, TX 75227


Nova Carter
Address Redacted


Nova International School
Transatlantic Council, Bsa 802
Prashka 27
Jkofje,
Macedonia
Nova Management Inc
660 Camino Aguajito, 3rd Fl
Monterey, CA 93940


Novacopy, Inc
P.O. Box 372, Dept 200
Memphis, TN 38101


Novak‐Milleren Vfw Post 4258
Voyageurs Area 286
601 1st St Se
Pine City, MN 55063


Novant Health
Old Hickory Council 427
2085 Frontis Plaza Blvd
Winston Salem, NC 27103


Novant Health Huntersville Med Ctr
Mecklenburg County Council 415
10030 Gilead Rd
Huntersville, Nc 28078


Novant Health Matthews
Mecklenburg County Council 415
1500 Matthews Pkwy
Matthews, NC 28105


Novant Health Mint Hill Medical Center
Mecklenburg County Council 415
8201 Healthcare Loop
Charlotte, NC 28215


Novatech Inc
4106 Charlotte Ave
Nashville, TN 37209


Novatech Inc
P.O. Box 740865
Atlanta, GA 30374‐0865
Novato Fire Protection District
Marin Council 035
95 Rowland Way
Novato, CA 94945


Novato Police Dept
Marin Council 035
909 Machin Ave
Novato, CA 94945


Novato Utd Methodist Church
Marin Council 035
1473 S Novato Blvd
Novato, CA 94947


Novel Electronic Designs, Inc
143 N 3rd St
Chillicothe, IL 61523‐2156


Novel Geo‐Environmental LLC
171 Montour Run Rd
Moon Twp, PA 15108


Novi Methodist Mens Club
Great Lakes Fsc 272
41671 W 10 Mile Rd
Novi, MI 48375


Novie Bowden
Address Redacted


Nowchiro LLC
Trapper Trails 589
3535 S 5600 N
Roy, UT 84067


Nowthen Alliance Church
Central Minnesota 296
19653 Nowthen Blvd Nw
Nowthen, MN 55303
Npi Security
P.O. Box 13375
Des Moines, IA 50310


Nra Program Materials
P.O. Box 5000
Kearneysville, WV 25430


Nra Whittington Center
P.O. Box 700
Raton, NM 87740


Nrc Promotions
13700 Alton Pkwy, Ste 154
Irvine, CA 92618


Nrf Foundation
Attention Evelyn Rose
325 7th St NW, Ste 1100
Washington, DC 20004


Nrf/ShopOrg
P.O. Box 8500‐1081
Philadelphia, PA 19178‐1081


Nri Data   Business Products
1313 S Pennsylvania Ave
Morrisville, PA 19067


Nrs
2009 S Main St
Moscow, ID 83843


Ns412 LLC
dba Naturally Slim Inc
6500 Naaman Forest Blvd, Ste 100
Garland, TX 75044


Ns412 LLC
Naturally Slim Inc
12712 Park Centrail Dr, Ste 100
Dallas, TX 75251


Ns412, LLC
6500 Naaman Forest Blvd, Ste 100
Garland, TX 75044


Ns412, LLC
Attn Marcia Upson
6500 Naaman Forest Blvd, Ste 100
Garland, TX 75044


Nsa Industries LLC
dba Carts Vermont
210 Pierce Rd
St Johnsbury, VT 05819


Nsc Bs Camp Staff
Northern Star Council 250
6202 Bloomington Rd
Fort Snelling, MN 55111


Nsc Cs Camp Staff
Northern Star Council 250
393 Marshall Ave
Saint Paul, MN 55102


Nsc Juvenile Diversion
Northern Star Council 250
6202 Bloomington Rd
Fort Snelling, MN 55111


Nsf International
Dept P.O. Box 771380
P.O. Box 77000
Detroit, MI 42877‐1380


Nsf Intl Strategic Registrations Ltd
Dept P.O. Box 771380
P.O. Box 77000
Detroit, MI 48277‐1380
Nsi International Inc
30 W 22nd St, Fl 3
New York, NY 10010‐5896


Nside Business    Professional Assoc
Three Harbors Council 636
845 Wisconsin Ave
Racine, Wi 53403


Nsight
1 Van De Graaff Dr, Ste 202
Burlington, MA 01803


Ntelos
P.O. Box 580062
Charlotte, NC 28258‐0062


Nthen
P.O. Box 1071
Allen, TX 75013


Nts
526 Chestnut St
P.O. Box 1142
Virginia, MN 55792


Nts Aiha
6911 Echo Bluff Dr
Dallas, TX 75248


Ntshrm
P.O. Box 2704
Denton, TX 76202


Ntt Com Security
204 W Newberry Rd, Ste 101
Bloomfield, CT 06002


Ntt Com Security
301 W Newberry Rd
Bloomfield, CT 06002


Ntt Com Security Us , Inc
310 W Newberry Rd
Bloomfield, CT 06002


Ntt Security Us Inc
204 W Newberry Rd
Bloomfield, CT 06002


Ntt Security Us Inc
9420 Underwood Ave
Omaha, NE 68114


Ntt Security Us Inc
P.O. Box 30213
Omaha, NE 68103‐1313


Ntta
North Texas Tollway Authority
P.O. Box 660244
Dallas, TX 75266‐0244


Nucor‐Yamato Steel Co
P.O. Box 101418
Atlanta, GA 30392


Nueol Point Of Sale
1531 Marietta Blvd
Atlanta, GA 30318


Nugent Hardware, Inc
5 W St
Waterloo, NY 13165


Nugent Utd Methodist Church
Pine Burr Area Council 304
13183 John Clark Rd
Gulfport, MS 39503
Nuline Manufacturing Inc
Denver Area Council 061
11333 E 55th Ave, Unit C
Denver, CO 80239


Numara Software, Inc
P.O. Box 933754
Atlanta, GA 31193


Number 14 Jackson School
Iroquois Trail Council 376
411 S Jackson St
Batavia, NY 14020


Nunamiut School
Midnight Sun Council 696
P.O. Box 21029
Anaktuvuk Pass, AK 99721


Nunda Rotary Club
Iroquois Trail Council 376
P.O. Box 334
Nunda, NY 14517


Nunzio Marc Desantis Architects
Circle Ten Council 571
1617 Hi Line Dr, Ste 190
Dallas, TX 75207


Nupy Enterprises
Utah National Parks 591
607 W 500 N
Orem, UT 84057


Nuscan
Puerto Rico Council 661
P.O. Box 6960
Caguas, PR 00726


Nut Swamp School Parent Teachers
Monmouth Council, Bsa 347
925 Nutswamp Rd
Association
Middletown, NJ 07748


Nutley Masonic Lodge 25
Free   Accepted Masons
Northern New Jersey Council, Bsa 333
175 Chestnut St
Nutley, Nj 07110


Nutrition Plus
P.O. Box 29
Canyon, TX 79015


Nutron‐Osm
P.O. Box 487
N Olmsted, OH 44070‐0487


Nuuanu Congregational Church
Aloha Council, Bsa 104
2651 Pali Hwy
Honolulu, HI 96817


Nuun   Co
915 E Pine St, Suite 401
Seattle, WA 98122


Nuun   Co Inc
P.O. Box 675276
Detroit, MI 48267‐5276


NV Stmt Of Business Publication
Attn Nevada Legal Press
101 N Carson St, Ste 3
Carson City, NV 89701


Nviroplast, Inc
1109 1st Ave 300
Seattle, WA 98101


Nw Utd Methodist Church
Simon Kenton Council 441
5200 Riverside Dr
Columbus, OH 43220


Nwest Orange Cnty Impr Assoc
Central Florida Council 083
P.O. Box 786
4253 Ponkan Rd
Zellwood, Fl 32798


Ny Kitchen
Seneca Waterways 397
800 S Main St
Canandaigua, NY 14424


Nybergs Ace Hardware, Inc
330 W 41st St
Sioux Falls, SD 57105


Nyc Dept Of Correction
Greater New York Councils, Bsa 640
7520 Astoria Blvd
East Elmhurst, NY 11370


Nycir Keen
Address Redacted


Nye County Sheriffs Office
Las Vegas Area Council 328
1520 E Basin
Pahrump, NV 89060


Nye, Peabody, Stirling, Hale   Miller
Attn Timothy C Hale
re Plaintiff
33 W Mission St, Ste 201
Santa Barbara, CA 93101


Nylo Dallas/ Las Colinas
1001 W Royal Ln
Irving, TX 75039
Nylt Assoc
c/o John Campbell
Pony Express Council 311
P.O. Box 71
Burlington Junction, MO 64428


Nyp Ssd Bn
Greater New York Councils, Bsa 640
850 Grand St
Brooklyn, NY 11211


Nypd ‐ 66Th Precinct
Greater New York Councils, Bsa 640
5822 16th Ave
Brooklyn, NY 11204


Nypd ‐ Community Affairs Bureau/ Yss
Greater New York Councils, Bsa 640
151 Lawrence St
Brooklyn, NY 11201


Nypd 100Th Precinct
Greater New York Councils, Bsa 640
9224 Rockaway Beach Blvd
Far Rockaway, NY 11693


Nypd 101 Precinct
Greater New York Councils, Bsa 640
1612 Mott Ave
Far Rockaway, NY 11691


Nypd 102Nd Precinct
Greater New York Councils, Bsa 640
8734 118th St
Richmond Hill, NY 11418


Nypd 103Rd Precinct
Greater New York Councils, Bsa 640
16802 91st Ave
Jamaica, NY 11432


Nypd 104Th Precinct
Greater New York Councils, Bsa 640
6402 Catalpa Ave
Ridgewood, NY 11385


Nypd 105Th Precinct
Greater New York Councils, Bsa 640
9208 222nd St
Queens Village, NY 11428


Nypd 106Th Precinct
Greater New York Councils, Bsa 640
10353 101st St
Ozone Park, NY 11417


Nypd 107Th Precinct
Greater New York Councils, Bsa 640
7101 Parsons Blvd
Fresh Meadows, NY 11365


Nypd 108Th Precinct
Greater New York Councils, Bsa 640
547 50th Ave
Youth Office
Long Island City, NY 11101


Nypd 109Th Precinct
Greater New York Councils, Bsa 640
3705 Union St
Flushing, NY 11354


Nypd 10Th Precinct
Greater New York Councils, Bsa 640
230 W 20th St
New York, NY 10011


Nypd 110Th Precinct
Greater New York Councils, Bsa 640
9441 43rd Ave
Elmhurst, NY 11373


Nypd 111Th Precinct
Greater New York Councils, Bsa 640
4506 215th St
Bayside, NY 11361


Nypd 112Th Precinct
Greater New York Councils, Bsa 640
6840 Austin St
Forest Hills, NY 11375


Nypd 113Th Precinct
Greater New York Councils, Bsa 640
16702 Baisley Blvd
Jamaica, NY 11434


Nypd 114Th Precinct
Greater New York Councils, Bsa 640
3416 Astoria Blvd
Astoria, NY 11103


Nypd 115 Precinct
Greater New York Councils, Bsa 640
9215 Nern Blvd
Jackson Heights, NY 11372


Nypd 120Th Precinct
Greater New York Councils, Bsa 640
78 Richmond Ter
Staten Island, NY 10301


Nypd 121St Precinct
Greater New York Councils, Bsa 640
970 Richmond Ave
Staten Island, NY 10314


Nypd 122Nd Precinct
Greater New York Councils, Bsa 640
2320 Hylan Blvd
Staten Island, NY 10306


Nypd 123Rd Precinct
Greater New York Councils, Bsa 640
116 Main St
Staten Island, NY 10307
Nypd 13Th Precinct
Greater New York Councils, Bsa 640
230 E 21st St
New York, NY 10010


Nypd 17Th Precinct
Greater New York Councils, Bsa 640
167 E 51st St
New York, NY 10022


Nypd 19Th Precinct
Greater New York Councils, Bsa 640
153 E 67th St
New York, NY 10021


Nypd 1St Precinct
Greater New York Councils, Bsa 640
16 Ericsson Pl
New York, NY 10013


Nypd 20Th Precinct
Greater New York Councils, Bsa 640
120 W 82nd St
New York, NY 10024


Nypd 23Rd Precinct
Greater New York Councils, Bsa 640
164 E 102nd St
New York, NY 10029


Nypd 24Th Precinct
Greater New York Councils, Bsa 640
151 W 100th St
New York, NY 10025


Nypd 25Th Precinct
Greater New York Councils, Bsa 640
120 E 119th St
New York, NY 10035
Nypd 26Th Precinct
Greater New York Councils, Bsa 640
520 W 126th St
New York, NY 10027


Nypd 28Th Precinct
Greater New York Councils, Bsa 640
2271 Frederick Douglass Blvd
New York, NY 10027


Nypd 30Th Precinct
Greater New York Councils, Bsa 640
451 W 151st St
New York, NY 10031


Nypd 32Nd Precinct
Greater New York Councils, Bsa 640
250 W 135th St
New York, NY 10030


Nypd 33Rd Precinct
Greater New York Councils, Bsa 640
2207 Amsterdam Ave
New York, NY 10032


Nypd 34 Precinct
Greater New York Councils, Bsa 640
4295 Broadway
New York, NY 10033


Nypd 40Th Precinct
Greater New York Councils, Bsa 640
257 Alexander Ave
Bronx, NY 10454


Nypd 41St Precinct
Greater New York Councils, Bsa 640
1035 Longwood Ave
Bronx, NY 10459


Nypd 42Nd Precinct
Greater New York Councils, Bsa 640
830 Washington Ave
Bronx, NY 10451


Nypd 43Rd Precinct
Greater New York Councils, Bsa 640
Nypd 43rd Precinct, Rm 218
900 Fteley Ave
Bronx, NY 10473


Nypd 44Th Precinct
Greater New York Councils, Bsa 640
2 E 169th St
Bronx, NY 10452


Nypd 45Th Precinct
Greater New York Councils, Bsa 640
2877 Barkley Ave
Bronx, NY 10465


Nypd 46Th Precinct
Greater New York Councils, Bsa 640
2120 Ryer Ave
Bronx, NY 10457


Nypd 47Th Precinct
Greater New York Councils, Bsa 640
4111 Laconia Ave
Bronx, NY 10466


Nypd 48Th Precinct
Greater New York Councils, Bsa 640
450 Cross Bronx Expy
Bronx, NY 10457


Nypd 49Th Precinct
Greater New York Councils, Bsa 640
2121 Echester Rd
Bronx, NY 10461


Nypd 50Th Precinct
Greater New York Councils, Bsa 640
3450 Kingsbridge Ave
Bronx, NY 10463


Nypd 50Th Precint
Greater New York Councils, Bsa 640
3054 Kingsbridge Ave
Bronx, NY 10463


Nypd 52Nd Precinct
Greater New York Councils, Bsa 640
3016 Webster Ave
Bronx, NY 10467


Nypd 5Th Precinct
Greater New York Councils, Bsa 640
19 Elizabeth St
New York, NY 10013


Nypd 60Th Precinct
Greater New York Councils, Bsa 640
2951 W 8th St
Brooklyn, NY 11224


Nypd 61St Precinct
Greater New York Councils, Bsa 640
2575 Coney Island Ave
Brooklyn, NY 11223


Nypd 62Nd Precinct
Greater New York Councils, Bsa 640
1925 Bath Ave
Brooklyn, NY 11214


Nypd 63Rd Precinct
Greater New York Councils, Bsa 640
1844 Brooklyn Ave
Brooklyn, NY 11210


Nypd 67Th Precinct
Greater New York Councils, Bsa 640
2820 Snyder Ave
Brooklyn, NY 11226
Nypd 68Th Precinct
Greater New York Councils, Bsa 640
333 65th St
Brooklyn, NY 11220


Nypd 69Th Precinct
Greater New York Councils, Bsa 640
9720 Foster Ave
Brooklyn, NY 11236


Nypd 6Th Precinct
Greater New York Councils, Bsa 640
233 W 10th St
New York, NY 10014


Nypd 70Th Precinct
Greater New York Councils, Bsa 640
70 Police Precinct
154 Lawrence Ave
Brooklyn, NY 11230


Nypd 71St Precinct
Greater New York Councils, Bsa 640
421 Empire Blvd
Brooklyn, NY 11225


Nypd 72 Precinct
Greater New York Councils, Bsa 640
830 4th Ave
Brooklyn, NY 11232


Nypd 72Nd Precinct
Greater New York Councils, Bsa 640
830 4th Ave
Brooklyn, NY 11232


Nypd 73 Precinct
Greater New York Councils, Bsa 640
1470 E New York Ave
Brooklyn, NY 11212
Nypd 73Rd Precinct
Greater New York Councils, Bsa 640
1470 E New York Ave
Brooklyn, NY 11212


Nypd 75Th Precinct
Greater New York Councils, Bsa 640
1000 Sutter Ave
Brooklyn, NY 11208


Nypd 76Th Precinct
Greater New York Councils, Bsa 640
191 Union St
Brooklyn, NY 11231


Nypd 77Th Precinct
Greater New York Councils, Bsa 640
127 Utica Ave
Brooklyn, NY 11213


Nypd 78Th Precinct
Greater New York Councils, Bsa 640
65 6th Ave
Brooklyn, NY 11217


Nypd 79Th Precinct
Greater New York Councils, Bsa 640
263 Tompkins Ave
Brooklyn, NY 11216


Nypd 7Th Precinct
Greater New York Councils, Bsa 640
19 1/2 Pitt St
New York, NY 10002


Nypd 81St Precinct
Greater New York Councils, Bsa 640
30 Ralph Ave
Brooklyn, NY 11221


Nypd 83Rd Precinct
Greater New York Councils, Bsa 640
480 Knickerbocker Ave
Brooklyn, NY 11237


Nypd 84Th Precinct
Greater New York Councils, Bsa 640
301 Gold St
Brooklyn, NY 11201


Nypd 88Th Precinct
Greater New York Councils, Bsa 640
298 Classon Ave
Brooklyn, NY 11205


Nypd 90 Precinct
Greater New York Councils, Bsa 640
211 Union Ave
Brooklyn, NY 11211


Nypd 90Th Precinct
Greater New York Councils, Bsa 640
211 Union Ave
Brooklyn, NY 11211


Nypd 94Th Precinct
Greater New York Councils, Bsa 640
100 Meserole Ave
Brooklyn, NY 11222


Nypd 9Th Precinct
Greater New York Councils, Bsa 640
321 E 5th St
New York, NY 10003


Nypd Cobble Hill High School
Greater New York Councils, Bsa 640
347 Baltic St
Brooklyn, NY 11201


Nypd Housing Bureau
Greater New York Councils, Bsa 640
884 Washington Ave
Bronx, NY 10454
Nypd Housing Bureau ‐ Psa 6
Greater New York Councils, Bsa 640
2770 Frederick Douglass Blvd
New York, NY 10039


Nypd Midtown North Precinct
Greater New York Councils, Bsa 640
306 W 54th St
New York, NY 10019


Nypd Midtown South Precinct
Greater New York Councils, Bsa 640
357 W 35th St
New York, NY 10001


Nypd Psa 2
Greater New York Councils, Bsa 640
560 Sutter Ave
Brooklyn, NY 11207


Nypd Psa 5
Greater New York Councils, Bsa 640
221 E 123rd St
New York, NY 10035


Nypd Psa‐04
Greater New York Councils, Bsa 640
130 Ave C
New York, NY 10009


Nypd Psa‐1
Greater New York Councils, Bsa 640
2860 W 23rd St
Brooklyn, NY 11224


Nypd Psa‐3
Greater New York Councils, Bsa 640
25 Central Ave
Brooklyn, NY 11206
Nypd Psa‐4
Greater New York Councils, Bsa 640
130 Ave C
New York, NY 10009


Nypd Psa‐7
Greater New York Councils, Bsa 640
737 Melrose Ave
Bronx, NY 10455


Nypd Psa‐8
Greater New York Councils, Bsa 640
2794 Randall Ave
Bronx, NY 10465


Nypd Psa‐9
Greater New York Councils, Bsa 640
15509 Jewel Ave
Flushing, NY 11367


Nypd School Safety ‐ Brooklyn North
Greater New York Councils, Bsa 640
850 Grand St
Brooklyn, NY 11211


Nypd School Safety Bronx East
Greater New York Councils, Bsa 640
1980 Lafayette Ave
Bronx, NY 10473


Nypd School Safety Bronx West
Greater New York Councils, Bsa 640
244 E 163rd St
Bronx, NY 10451


Nypd School Safety Div Central
Greater New York Councils, Bsa 640
600 E 6th St
New York, NY 10009


Nypd School Safety Div Qs
Greater New York Councils, Bsa 640
14310 Springfield Blvd
Springfield Gardens, NY 11413


Nypd School Safety Div‐Queens South
Greater New York Councils, Bsa 640
14310 Springfield Blvd
Springfield Gardens, NY 11413


Nypd School Safety Staten Island
Greater New York Councils, Bsa 640
715 Ocean Ter
Staten Island, NY 10301


Nypd Ssd
Greater New York Councils, Bsa 640


Nypd Ssd Bx North
Greater New York Councils, Bsa 640
5050 Iselin Ave
Bronx, NY 10471


Nypd Ssd Bx West
Greater New York Councils, Bsa 640
500 E Fordham Rd
Bronx, NY 10458


Nypd Ssd John Jay Campus
Greater New York Councils, Bsa 640
237 7th Ave
Brooklyn, NY 11215


Nypd Ssd Manhattan South
Greater New York Councils, Bsa 640
444 W 56th St
New York, NY 10019


Nypd Ssd Qns‐ Lic Hs
Greater New York Councils, Bsa 640
1430 Broadway
Long Island City, NY 11106
Nypd Ssd Qns‐Benjamin Cardozo Hs
Greater New York Councils, Bsa 640
5700 223rd St
Oakland Gardens, NY 11364


Nypd Ssd Queens North Aviation Hs
Greater New York Councils, Bsa 640
4530 36th St
Long Island City, NY 11101


Nypd Ssd Queens South
Greater New York Councils, Bsa 640
16005 Highland Ave
Jamaica, NY 11432


Nypd Ssd‐Arts    Bus High School
Greater New York Councils, Bsa 640
10525 Horace Harding Expy
Corona, NY 11368


Nypd Ssd‐Bs Tilden Campus
Greater New York Councils, Bsa 640
5800 Tilden Ave
Brooklyn, NY 11203


Nypd Ssd‐Soundview Hs
Greater New York Councils, Bsa 640
1440 Story Ave
Bronx, NY 10473


Nypd Td‐02
Greater New York Councils, Bsa 640
370 Jay St
Brooklyn, NY 11201


Nypd Td‐03
Greater New York Councils, Bsa 640
370 Jay St
Brooklyn, NY 11201


Nypd Td‐04
Greater New York Councils, Bsa 640
370 Jay St
Brooklyn, NY 11201


Nypd Td‐12
Greater New York Councils, Bsa 640
460 Morris Ave
Bronx, NY 10451


Nypd Td‐20
Greater New York Councils, Bsa 640
370 Jay St
Brooklyn, NY 11201


Nypd Td‐23
Greater New York Councils, Bsa 640
11505 Beach Channel Dr
Rockaway Park, NY 11694


Nypd Td‐30
Greater New York Councils, Bsa 640
130 Livingston St
Brooklyn, NY 11201


Nypd Td‐32
Greater New York Councils, Bsa 640
960 Carroll St
Brooklyn, NY 11225


Nypd Td‐33
Greater New York Councils, Bsa 640
2399 Fulton St
Brooklyn, NY 11233


Nypd Td‐34
Greater New York Councils, Bsa 640
130 Livingston St
Brooklyn, NY 11201


Nypd Transit Div‐11
Greater New York Councils, Bsa 640
Dist. 11 Transit Pol
370 Jay St
Nypd‐Td01
Greater New York Councils, Bsa 640
59 Columbus Ave
Columbus Cir Subway Station
New York, NY 10023


NY‐Presbyterian Brooklyn Methodist Hosp
Greater New York Councils, Bsa 640
506 6Th St
Brooklyn, Ny 11215


Nys Office Of Court Administration
Attn Registration Unit
General Post 0Ffice
P.O. Box 29327
New York, NY 10087‐9327


Nyshesc
99 Washington Ave, Dept 736
Albany, NY 12255


Nysmith School For The Gifted
National Capital Area Council 082
13625 Eds Dr
Herndon, VA 20171


Nyu Langone Hospitals
Greater New York Councils, Bsa 640
550 1st Ave
New York, NY 10016


O C Tanner
P.O. Box 410023
Salt Lake City, UT 84141‐0023


O Connell Fire Protection Inc
261 Brooks St
Worcester, MA 01606


O Connor Doyle American Legion Post 633
Hudson Valley Council 374
P.O. Box 15
Highland Falls, NY 10928


O D Smith Masonic Lodge 33
Yocona Area Council 748
618 Mclarty Rd
Oxford, MS 38655


O Donnell Clark    Crew And
George Douglas Mowry
1650 N W Naito Pkwy, Ste 302
Portland, OR 97209


O Donnell Clark    Crew In Trust
For George Periera
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


O Donnell Clark    Crew In Trust
For Jonathan Butzke
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


O Donnell Clark    Crew LLP
Fbo Benjamin Cupp
1650 N W Naito Pkwy, Ste 302
Portland, OR 97209


O Donnell Clark   Crew LLP
Fbo Thomas Abner
1650 NW Naito Pkwy, Ste 302
Los Angeles, CA 90069‐4109


O Donnell Heights Boys And Girl S Club
Baltimore Area Council 220
1200 Gusryan St
Baltimore, MD 21224


O Fallon Fire Dept
Greater St Louis Area Council 312
P.O. Box 332
O Fallon, IL 62269


O Fallon Police Dept
Greater St Louis Area Council 312
100 N Main St
O Fallon, MO 63366


O Fallon Police Dept
Greater St Louis Area Council 312
285 N 7 Hills Rd
O Fallon, IL 62269


O Fallon Rotary Club
Greater St Louis Area Council 312
P.O. Box 976
O Fallon, IL 62269


O Fallon Rotary Club
Greater St Louis Area Council 312
P.O. Box 174
O Fallon, IL 62269


O K Logistics Inc
18725 E Gale Ave, Ste 226
City of Industry, CA 91748


O Neal Robinson
Address Redacted


O Positive Design, Inc
3029 Ravine Trl
Carrollton, TX 75007


O Reilly Auto Enterprises LLC
O Reilly Auto Parts
P.O. Box 9464
Springfield, MO 65801‐9464


O Sportswear, LLC
1201 W Mansfield Ave
Englewood, CO 80110‐3453
O Sportswear, LLC
dba Ouray Sportswear, LLC
P.O. Box 7400‐7599
Chicago, IL 60674‐7599


O. M. Roberts Elementary School
Bay Area Council 574
110 Cedar St
Lake Jackson, TX 77566


O.H.M.H American Legion Post 84
Katahdin Area Council 216
P.O. Box 256
Orono, ME 04473


O2Cool, LLC
300 S Riverside Plz, Ste 2300
Chicago, IL 60606


O48 Realty Of Salt Lake County PC
Utah National Parks 591
428 N 835 E
Lindon, UT 84042


Oak City Baptist Church
Great Smoky Mountain Council 557
211 Main St
Seymour, TN 37865


Oak Creek Charter
Southwest Florida Council 088
28011 Performance Ln
Bonita Springs, FL 34135


Oak Creek Charter Sch Bonita Spgs
Southwest Florida Council 088
28011 Performance Ln
Bonita Springs, Fl 34135


Oak Creek Fire Dept
Three Harbors Council 636
7000 S 6th St
Oak Creek, WI 53154


Oak Creek Lions Club
Three Harbors Council 636
P.O. Box 211
9327 S Shepard Ave
Oak Creek, WI 53154


Oak Creek Parent Teacher Assoc
Cascade Pacific Council 492
55 Kingsgate Rd
Lake Oswego, OR 97035


Oak Creek Plumbing
Three Harbors Council 636
640 E Ryan Rd
Oak Creek, WI 53154


Oak Dale Elementary PTA
Golden Spread Council 562
2711 S Hill St
Amarillo, TX 79103


Oak Express Of Pueblo Colorado
3200 N Freeway
Pueblo, CO 81008


Oak Forest Police Dept
Pathway To Adventure 456
15440 Central Ave
Oak Forest, IL 60452


Oak Glen Ministries
Circle Ten Council 571
P.O. Box 222173
Dallas, TX 75222


Oak Grove
Northern Lights Council 429
2720 32nd Ave S
Fargo, ND 58103


Oak Grove Baptist Church
Daniel Boone Council 414
39 Robinson Rd
Clyde, NC 28721


Oak Grove Baptist Church
Indian Waters Council 553
1063 Old Two Notch Rd
Elgin, SC 29045


Oak Grove Baptist Church
Northeast Georgia Council 101
5640 Oak Grove Cir
Cumming, GA 30028


Oak Grove Church Of Christ
Buckskin 617
1525 Damron Br
Grayson, KY 41143


Oak Grove Community Of Christ Church
Heart of America Council 307
1803 S Broadway
Oak Grove, MO 64075


Oak Grove Independent Methodist Church
Yocona Area Council 748
P.O. Box 73
Pocahontas, TN 38061


Oak Grove Lutheran Church
Northern Star Council 250
7045 Lyndale Ave S
Richfield, MN 55423


Oak Grove Missionary Baptist Church
Tukabatchee Area Council 005
Hc 1
Alberta, AL 36720
Oak Grove Parent Teacher Org
Northeast Illinois 129
1700 Oplaine Rd
Libertyville, IL 60048


Oak Grove PTO
Cascade Pacific Council 492
2150 SE Torbank Rd
Milwaukie, OR 97222


Oak Grove Utd Methodist Church
Greater Tampa Bay Area 089
2707 W Waters Ave
Tampa, FL 33614


Oak Grove Utd Methodist Church
Heart of America Council 307
P.O. Box 169
1501 S Harding St


Oak Grove Utd Methodist Church
Longhorn Council 662
4725 Fm 720
Aubrey, TX 76227


Oak Grove Utd Methodist Church
Mens Club
Atlanta Area Council 092
1722 Oak Grove Rd


Oak Grove Utd Methodist Church
Northwest Georgia Council 100
1689 Euharlee Rd
Kingston, GA 30145


Oak Grove Utd Methodist Church
Pine Burr Area Council 304
4915 Old Hwy 11
Hattiesburg, MS 39402


Oak Grove Utd Methodist Church
Tidewater Council 596
472 Battlefield Blvd N
Chesapeake, VA 23320


Oak Hall Episcopal School
Arbuckle Area Council 468
2815 Mount Washington Rd
Ardmore, OK 73401


Oak Harbor Elks Lodge 2362
Mount Baker Council, Bsa 606
155 NE Ernst St
Oak Harbor, WA 98277


Oak Harbor First Utd Methodist Church
Mount Baker Council, Bsa 606
1050 SE Ireland St
Oak Harbor, WA 98277


Oak Harbor Lutheran Church
Mount Baker Council, Bsa 606
1253 NW 2nd Ave
Oak Harbor, WA 98277


Oak Harbor Police Dept
Mount Baker Council, Bsa 606
860 SE Barrington Dr
Oak Harbor, WA 98277


Oak Hill Academy
Blue Ridge Mtns Council 599
2635 Oak Hill Rd
Mouth of Wilson, VA 24363


Oak Hill Baptist Church
Flint River Council 095
100 Lakeside Dr
Williamson, GA 30292


Oak Hill Church Of The Nazarene
North Florida Council 087
4151 Old Middleburg Rd N
7876 Gregory Dr Mailing
Jacksonville, FL 32210


Oak Hill Elementary PTA
Central Florida Council 083
11 S Hiawassee Rd
Orlando, FL 32835


Oak Hill Elementary/Slps
Greater St Louis Area Council 312
4300 Morganford Rd
Saint Louis, MO 63116


Oak Hill Emerg Phys LLC
P.O. Box 731589
Dallas, TX 75373‐1589


Oak Hill Garbage Disposal Inc
1479 Stanaford Rd
Beckley, WV 25801


Oak Hill Garbage Disposal Inc
1479 Stanford Rd
Beckley, WV 25801


Oak Hill Publishing Co
Box 6473
Naperville, IL 60567


Oak Hill Ruritan Club
Piedmont Council 420
2516 Nc 181
Morganton, NC 28655


Oak Hill Utd Methodist Church
Capitol Area Council 564
7815 Hwy 290 W
Austin, TX 78736


Oak Hill Utd Methodist Church
Daniel Boone Council 414
277 Oak Hill Rd
Candler, NC 28715


Oak Hill Utd Presbyterian Church
Simon Kenton Council 441
205 E Cross St
Oak Hill, OH 45656


Oak Hills Church Of Christ
Alamo Area Council 583
19595 W Interstate 10
San Antonio, TX 78257


Oak Hills Church‐Christian Reformed
Cascade Pacific Council 492
2800 NW 153rd Ave
Beaverton, OR 97006


Oak Hills Property Owners Assoc
California Inland Empire Council 045
13312 Ranchero Rd PMB 378, Ste 18
Oak Hills, CA 92344


Oak Hollow Marina
Old N State Council 070
3431 N Centennial St
High Point, NC 27265


Oak Lane Presbyterian Church
Cradle of Liberty Council 525
11th St At Oak Ln
Philadelphia, PA 19126


Oak Level Presbyterian Church
Blue Ridge Mtns Council 599
P.O. Box 5
Vernon Hill, VA 24597


Oak Meadow Utd Methodist Church
Alamo Area Council 583
2740 Hunters Green St
San Antonio, TX 78231
Oak Mountain Presbyterian Church
Greater Alabama Council 001
5080 Cahaba Valley Trce
Birmingham, AL 35242


Oak Mountian Presbyterian Church
Greater Alabama Council 001
5080 Cahaba Valley Trce
Birmingham, AL 35242


Oak Park Elementary School
Central Florida Council 083
3395 Dairy Rd
Titusville, FL 32796


Oak Park Scouts And Venturing
Pathway To Adventure 456
806 N E Ave
Oak Park, IL 60302


Oak Park Utd Methodist Church
Longhorn Council 662
5505 S 31st St
Temple, TX 76502


Oak Ridge Heights Sch Parent Teacher Org
Patriots Path Council 358
Pto, School 21, Oak Ridge Hts.
Inman Ave
Colonia, Nj 07067


Oak Ridge Presbyterian Church
Northern New Jersey Council, Bsa 333
321 Oak Ridge Rd
Oak Ridge, NJ 07438


Oak Ridge Presbyterian Church
Old N State Council 070
2614 Oak Ridge Rd
Oak Ridge, NC 27310
Oak Ridge Utd Methodist Church
Old N State Council 070
2424 Oak Ridge Rd
Oak Ridge, NC 27310


Oak Trace Elementary PTO
Crossroads of America 160
16504 Oak Ridge Rd
Westfield, IN 46074


Oakbrook Elementary School PTO
Greater St Louis Area Council 312
510 Big Bend Rd
Ballwin, MO 63021


Oakcliff Elementary PTA
Atlanta Area Council 092
3151 Willow Oak Way
Doraville, GA 30340


Oakcoins
P.O. Box 972
Morgan, UT 84050


Oakdale Baptist Church
Andrew Jackson Council 303
1872 Hwy 471
Brandon, MS 39047


Oakdale Community Center
Laurel Highlands Council 527
104 Seminary Ave
Oakdale, PA 15071


Oakdale Community Center   American
Laurel Highlands Council 527
6115 Noblestown Rd
Oakdale Boro Office
Oakdale, PA 15071


Oakdale Elementary School
Coronado Area Council 192
811 E Iron Ave
Salina, KS 67401


Oakdale Elementary School Parent Group
Black Warrior Council 006
5001 25th St
Tuscaloosa, AL 35401


Oakdale Emory Methodist Church
National Capital Area Council 082
3425 Emory Church Rd
Olney, MD 20832


Oakdale Emory Utd Methodist Church
National Capital Area Council 082
3425 Emory Church Rd
Olney, MD 20832


Oakdale Lions Club
Greater Yosemite Council 059
P.O. Box 550
Oakdale, CA 95361


Oakdale Lions Club
Louisiana Purchase Council 213
607 E 7th Ave
Oakdale, LA 71463


Oakdale Public School
Last Frontier Council 480
10901 N Sooner Rd
Edmond, OK 73013


Oakdale School Parent Teachers Assoc
Dan Beard Council, Bsa 438
3850 Virginia Ct
Cincinnati, OH 45248


Oakdale Volunteer Fire Co, Inc
Connecticut Rivers Council, Bsa 066
444 Chapel Hill Rd
Oakdale, CT 06370


Oakdale‐Bohemia Junior High School
Suffolk County Council Inc 404
60 Oakdale Bohemia Rd
Oakdale, NY 11769


Oakes American Legion
Northern Lights Council 429
P.O. Box 412
Oakes, ND 58474


Oakes Smart Office Products LLC
P.O. Box 8/ 820 Buck Creek Rd
Simpsonville, KY 40067


Oakey Grove Baptist Church
Georgia‐Carolina 093
911 N Belair Rd
Evans, GA 30809


Oakfield Alabama Lions Club
Iroquois Trail Council 376
P.O. Box 52
Oakfield, NY 14125


Oakfield Parent Teacher Org
Bay‐Lakes Council 635
200 White St
Oakfield, WI 53065


Oakham ‐ Congregational Church
Heart of New England Council 230
6 Coldbrook Rd
P.O. Box 186
Oakham, MA 01068


Oakhill Elementary School
Blue Grass Council 204
1755 Wtlo Rd
Somerset, KY 42503
Oakhurst Community Associaton
Three Fires Council 127
460 Inverness Dr
Aurora, IL 60504


Oakhurst Elementary ‐ Gfwar
Longhorn Council 662
2700 Yucca Ave
Fort Worth, TX 76111


Oakhurst Presbyterian Church Dekalb
Atlanta Area Council 092
118 2nd Ave
Decatur, GA 30030


Oakhurst Utd Methodist Church
Greater Tampa Bay Area 089
13400 Park Blvd
Seminole, FL 33776


Oakland Baptist Church
Palmetto Council 549
1067 Oakland Ave
Rock Hill, SC 29732


Oakland City Lions Club
Buffalo Trace 156
7228 S Div St
Oakland City, IN 47660


Oakland City Lions Club
Buffalo Trace 156
P.O. Box 113
Oakland City, IN 47660


Oakland Elementary School
Denver Area Council 061
4580 Dearborn St
Denver, CO 80239


Oakland Fire Dept
San Francisco Bay Area Council 028
250 Victory Ct
Oakland, CA 94607


Oakland First Baptist Church
West Tennessee Area Council 559
8695 Hwy 64
P.O. Box 268
Oakland, TN 38060


Oakland Heights PTO
Westark Area Council 016
1501 S Detroit Ave
Russellville, AR 72801


Oakland Housing Authority Police Dept
San Francisco Bay Area Council 028
1180 25Th Ave
Oakland, Ca 94601


Oakland Lions Club
Pine Tree Council 218
69 Church St
Oakland, ME 04963


Oakland Living Center
704 Poors Ford Rd
Rutherfordton, NC 28139


Oakland Machine Works
Alameda Council Bsa 022
2047 San Jose Ave
Alameda, CA 94501


Oakland Mt Lake Park Lions
Laurel Highlands Council 527
P.O. Box 92
Oakland, MD 21550


Oakland Park Elks Lodge 2407
South Florida Council 084
240 W Prospect Rd
Oakland Park, FL 33309


Oakland Presbyterian Church
Central Florida Council 083
P.O. Box 38
Oakland, FL 34760


Oakland Presbyterian Church
Tuscarora Council 424
8927 Cleveland Rd
Clayton, NC 27520


Oakland Sol Middle School
San Francisco Bay Area Council 028
1180 70th Ave
Oakland, CA 94621


Oakland University
Attn Office of Student Financial Svcs
120 N Foundation Hall
Rochester, MI 48309


Oakland Utd Methodist Church
Great Smoky Mountain Council 557
234 Trigonia Rd
Greenback, TN 37742


Oakland Utd Methodist Church
Jayhawk Area Council 197
801 NE Chester Ave
Topeka, KS 66616


Oakland Vol Fire   Rescue Dept
Mid‐America Council 326
500 N Oakland Ave
Oakland, NE 68045


Oakland/Mt Lake Park Lions Club
Laurel Highlands Council 527
P.O. Box 92
Oakland, MD 21550
Oaklands Utd Presbyterian
National Capital Area Council 082
14301 Laurel Bowie Rd
Rd


Oaklawn Elementary ‐ Gifw
Longhorn Council 662
1608 Quails Nest Dr
Fort Worth, TX 76177


Oaklawn Language Academy
Mecklenburg County Council 415
1810 Oaklawn Academy
Charlotte, NC 28216


Oaklawn Utd Methodist Church
Quapaw Area Council 018
216 Higdon Ferry Rd
Hot Springs, AR 71913


Oakleaf Baptist Church
North Florida Council 087
800 Oakleaf Plantation Pkwy
Orange Park, FL 32065


Oakleaf Plantation Civic Assoc
North Florida Council 087
1797 Royal Fern Ln
Fleming Island, FL 32003


Oakley 1St Ward ‐ Oakley Stake
Snake River Council 111
301 N Center St
Oakley, ID 83346


Oakley 2Nd Ward ‐ Oakley Stake
Snake River Council 111
301 N Center St
Oakley, ID 83346


Oakley 3Rd Ward ‐ Oakley Stake
Snake River Council 111
301 N Center St
Oakley, ID 83346


Oakley Stake ‐ Grouse Creek Ward
Snake River Council 111
P.O. Box 13
Grouse Creek, UT 84313


Oakman Ffa
Black Warrior Council 006
P.O. Box 286
Oakman, AL 35579


Oakman Fire And Rescue
Black Warrior Council 006
P.O. Box 113
Oakman, AL 35579


Oakmont Chapel Presbyterian Church
Greater Alabama Council 001
1817 Patton Chapel Rd
Hoover, AL 35226


Oakmont Presbyterian Church
Laurel Highlands Council 527
415 Pennsylvania Ave
Oakmont, PA 15139


Oakridge Elementary School PTO
Northern Star Council 250
4350 Johnny Cake Ridge Rd
Eagan, MN 55122


Oakridge Presbyterian
Northern New Jersey Council, Bsa 333
3 Scenic Dr
Oak Ridge, NJ 07438


Oaks Christian Church
Sam Houston Area Council 576
1216 Bethlehem St
Houston, TX 77018


Oaks Presbyterian Church
Sam Houston Area Council 576
1576 Chantilly Ln
Houston, TX 77018


Oakside Scholars Charter Academy
Great Lakes Fsc 272


Oakville Elementary PTO
Greater St Louis Area Council 312
2911 Yaeger Rd
Saint Louis, MO 63129


Oakville Middle School
Greater St Louis Area Council 312
5950 Telegraph Rd
Saint Louis, MO 63129


Oakwood Heights Commty
Congregational Church
Greater New York Councils, Bsa 640
345 Guyon Ave
Community Church
Staten Island, Ny 10306


Oakwood Heights Community Church
Greater New York Councils, Bsa 640
345 Guyon Ave
Staten Island, NY 10306


Oakwood PTO
Bay‐Lakes Council 635
1225 N Oakwood Rd
Oshkosh, WI 54904


Oakwood Utd Methodist Church
Miami Valley Council, Bsa 444
206 Hadley Ave
Oakwood, OH 45419
Oakwood Utd Methodist Church
Prairielands 117
Oakwood Rd   Collett
Oakwood, IL 61858


Oars West Inc
P.O. Box 67
Angels Camp, CA 95222


Oasis Charter Elementary School
Southwest Florida Council 088
3507 Oasis Blvd
Cape Coral, FL 33914


Oasis Charter Middle School
Southwest Florida Council 088
3507 Oasis Blvd
Cape Coral, FL 33914


Oasis Homebuilders, LLC
807 Pin Oak Pl
Chesapeake, VA 23322


Oates Flag Co Inc
10951 Electron Dr
Louisville, KY 40299


Obama Academy
Circle Ten Council 571
4430 S Lancaster Rd
Dallas, TX 75216


Oberlin College   Conservatory
Attn Office of Student Accounts
52 W Lorain St, Rm 122
Oberlin, OH 44074


Oberlin Fire Dept
Lake Erie Council 440
430 S Main St
Oberlin, OH 44074
Oberlin Police Dept
Lake Erie Council 440
85 S Main St
Oberlin, OH 44074


Oberlin Vfw Post 6273
Lake Erie Council 440
42369 Oberlin Elyria Rd
Elyria, OH 44035


Oboz Footware, LLC
P.O. Box 11365
Bozeman, MT 59719


Obscure Origins Music
Jane Voss   Hoyle Osborne
122 N Mesa Verde Ave
Aztec, NM 87410


Obsidian Inc
Occoneechee 421
8404 Six Forks Rd, Ste 101
Raleigh, NC 27615


Oc Cluss Lumber/Building Supplies
Dept L‐2731
Columbus, OH 43260


Ocala Community Of Christ
North Florida Council 087
2402 NE 28th St
Ocala, FL 34470


Ocala Group Of Concerned Citizens
North Florida Council 087
3391 SE 38th St
Ocala, FL 34480


Ocala Police Dept
North Florida Council 087
402 S Pine Ave
Ocala, FL 34471


Ocala Scottish Rite
North Florida Council 087
3632 NE 7th St
Ocala, FL 34470


Occasional Creations LLC
138 Olive St
Keller, TX 76248


Occasions Caterers Inc
5458 3rd St Ne
Washington, DC 20011


Occidental College
Attn Financial Aid Office
1600 Campus Rd
Los Angeles, CA 90041‐3314


Occoneechee
3231 Atlantic Ave
Raleigh, NC 27604


Occoneechee Cncl 421
3231 Atlantic Ave
Raleigh, NC 27604


Occoneechee Scout Shop ‐ Opc
3231 Atlantic Ave
Raleigh, NC 27604


Occupational Health Centers
Of N Carolina Pc
P.O. Box 82730
Hapeville, GA 30354‐0730


Occupational Health Centers
Of the Swest Pa
P.O. Box 9005
Addison, TX 75001‐9005


Occupational Health Centers Of Nc, PC
P.O. Box 82730
Hapeville, GA 30354‐0730


Occupational Health Centers Of The
Southwest Pc
P.O. Box 369
Lombard, IL 60148‐0369


Occupational Health Consult Tech Svcs
c/o Barbara Maestro Reg Coordinator
12301 Beechnut Court
Lake Ridge, VA 22192


Occupational Safety And Health
Administration Osha
200 Constitution Ave, Nw, Rm N3626
Washington, DC 20210


Oce Imagistics Inc
P.O. Box 856193
Louisville, KY 40285‐6193


Oce Imagistics Inc
P.O. Box 856210
Louisville, KY 40285‐6210


Ocean Academy Charter School
Jersey Shore Council 341
678 5th St
Lakewood, NJ 08701


Ocean County Y M C A
Jersey Shore Council 341
1088 Whitty Rd
Toms River, NJ 08755


Ocean Drive Presbyterian Church
Pee Dee Area Council 552
410 6th Ave S
North Myrtle Beach, SC 29582


Ocean Exploration Trust
Attn Laurie Bradt
P.O. Box 42
Old Lyme, CT 06371


Ocean Group
700‐5 Union Pkwy
Ronkonkoma, NY 11779


Ocean Imaging Inc
844 Ellen Dr
Key Largo, FL 33037


Ocean Printing Co
700‐5 Union Pkwy
Ronkonkoma, NY 11779


Ocean Shores Lions Club
Pacific Harbors Council, Bsa 612
832 Ocean Shores Blvd
Ocean Shores, WA 98569


Ocean Spray Cranberries, Inc
Samoset Council, Bsa 627
3130 Industrial St
Wisconsin Rapids, WI 54495


Ocean Township Police
Monmouth Council, Bsa 347
399 Monmouth Rd
Oakhurst, NJ 07755


Oceanport Hook And Ladder Fire Co
Monmouth Council, Bsa 347
21 Main St
Oceanport, NJ 07757


Oceanport PTO
c/o Maple Pl School
Monmouth Council, Bsa 347
24 Maple Pl


Oceans R Fun LLC
101425 Overseas Hwy 87
Key Largo, FL 33037


Oceans R Fun LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Oceanside Elks Lodge 1561
San Diego Imperial Council 049
444 Country Club Ln
Oceanside, CA 92054


Oceanside Police Dept
San Diego Imperial Council 049
3855 Mission Ave
Oceanside, CA 92054


Ocilla Utd Methodist Church
South Georgia Council 098
P.O. Box 166
Ocilla, GA 31774


Ockanickon Scout Reservation
Washington Crossing Council 777
5787 State Park Rd
Pipersville, PA 18947


Ocmulgee Baptist Church
Central Georgia Council 096
117 Ocmulgee Church Rd
Eastman, GA 31023


Ocoee Lions Club
Central Florida Council 083
P.O. Box 538
Ocoee, FL 34761
Ocoee Oaks Utd Methodist Church
Central Florida Council 083
201 S Clarke Rd
Ocoee, FL 34761


Oconto Falls Lioness Club
Bay‐Lakes Council 635
P.O. Box 94
Oconto Falls, WI 54154


Ocotillo Ridge PTA
Catalina Council 011
10170 S White Lightning Ln
Vail, AZ 85641


Ocp
Oregon Catholic Press
P.O. Box 18030
Portland, OR 97218‐0030


Octava Jones
Address Redacted


Octavio A Hinajosa Mier
9326 Strong Box Way
San Antonio, TX 78254


Octavio Leiva
Address Redacted


Odd Fellows
Northern Lights Council 429
1609 Lewis Blvd
Grand Forks, ND 58203


Odd Fellows I.O.O.F.    48
Greater St Louis Area Council 312
P.O. Box 21
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Odd Fellows ‐ Salem Lodge 36
Old Hickory Council 427
315 N Spruce St, Suite 250
Winston‐Salem, NC 27101


Odd Fellows Lodge 191
Dan Beard Council, Bsa 438
202 Main St
Milford, OH 45150


Odd Fellows Lodge 71
Mayflower Council 251
330 W Central St
Franklin, MA 02038


Odd Fellows Queen City Lodge 12
Ozark Trails Council 306
2842 W Chestnut Expy
Springfield, MO 65802


Odd Fellows Tri‐County Lodge 40
Glaciers Edge Council 620
131 W James St
Columbus, WI 53925


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P.O. Box 550488
Dallas, TX 75355‐0488


Odenton Masonic Lodge 209 Af Am
Baltimore Area Council 220
1206 Stehlik Dr
Odenton, MD 21113


Odenwalder Dental Inc
San Diego Imperial Council 049
3935 Mission Ave, Ste 9
Oceanside, CA 92058


Odessa Downtown Lions Club
Buffalo Trail Council 567
7121 Sleepy Hollow St
Odessa, TX 79762


Odessa Fire Dept
Five Rivers Council, Inc 375
300 E Main St
Odessa, NY 14869


Odessa First Utd Methodist Church
Heart of America Council 307
303 S 1st St
Odessa, MO 64076


Odile Miranda
Address Redacted


Odon Lions Club
Hoosier Trails Council 145 145
103 Lake Dr
Odon, IN 47562


Odonnell Clark    Crew In Trust
For Scott Learned
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Odyssey Elementary School PTA
Pikes Peak Council 060
6275 Bridle Spur Ave
Colorado Springs, CO 80922


Odyssey Enterprises, Inc
P.O. Box 529
Old Lyme, CT 06371


Odyssey Marketing Corp
P.O. Box 1036
Charlotte, NC 28201‐1036


Odyssey Preparatory Academy
Grand Canyon Council 010
1495 S Verrado Way
Buckeye, AZ 85326


Odyssey Preparatory Academy
Grand Canyon Council 010
6500 S Apache Rd
Buckeye, AZ 85326


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P.O. Box 429
Uniontown, OH 44685


Ofallon Sportsmens Club
Greater St Louis Area Council 312
1024 Scott Troy Rd
Lebanon, IL 62254


Ofallon Utd Church Of Christ
Greater St Louis Area Council 312
206 W Adams St
O Fallon, IL 62269


Ofd Foods, LLC
Odf Foods
15913 Collections Center Dr
Chicago, IL 60693


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Cincinnati, OH 45263‐3211


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Chicago, IL 60680‐1040


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St Thomas, VI 00802


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Cincinnati, OH 45263‐3204


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P.O. Box 633301
Cincinnati, OH 45263‐3301


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P.O. Box 660113
Dallas, TX 75266‐0113


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Los Angeles, CA 90074‐0025


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P.O. Box 6716
The Lakes, NV 88901‐6716


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Dept 56‐8402241756
P.O. Box 689020
Des Moines, IA 50368‐9020


Office Depot Credit Plan 4205793523
Dept 56‐4205793523
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P.O. Box 88040
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Office Depot Inc Credit Plan
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P.O. Box 689202
Des Moines, IA 50368‐9020
Office Depot Inc Credit Plan
Dept 56‐4204106461
P.O. Box 689020
Des Moines, IA 50368‐9020


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Grapevine, TX 76051


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6600 N Military Trail
Boca Raton , FL 33496


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Cincinnati, OH 45263‐3211


Office Enterprises Inc
6002 Municipal St
Weston, WI 54476


Office Essentials
1834 Walton Rd
St Louis, MO 63114


Office Furniture Firm Inc
P.O. Box 3508
Fort Mill, SC 29708


Office Images Inc
Trainers Warehouse, Office Oxygen
89 K Washington Ave
Natick, MA 01760‐3441


Office Max ‐ Om Workspace
Office Max Contract Inc
P.O. Box 101705
Atlanta, GA 30392‐1705


Office Nameplates.Com
61 N Plains Industrial Rd
Wallingford, CT 06492


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1275 K St Nw, Ste 500‐B
Washington, DC 20005


Office Of Finance    Treasury
Unclaimed Property Unit
1101 4th St Sw, Ste 800W
Washington, DC 20024


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5000 Capitol Blvd
Tumwater, WA 98501


Office Of Kansas Attorney
Consumer Complaints and Information
1 Ashburton Pl
Boston, MA 02108


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Division of Banking   Insurance
5049 Kongens Gade
St Thomas, VI 00802


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P.O. Box 44265
Baton Rouge, LA 70804


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600 E Blvd Ave, Dept 127
Bismark, ND 58505‐0553


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Carson City, NV 89701‐4717


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323 Center St, Ste 200
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Concord, NH 03301


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St Paul, MN 55101‐2131


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Springfield, IL 62701


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525 W Ottawa St
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55 Elm St
Hartford, CT 06106


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6 State House Station
Augusta, ME 04333


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Bismarck, ND 58505


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601 S University Ave
Carbondale, IL 62901


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700 Capitol Ave, Ste 118
Frankfort, KY 40601


Office Of The Attorney General
800 5th Ave, Ste 2000
Seattle, WA 98104
Office Of The Attorney General
9001 Mail Service Ctr
Raleigh, NC 27699‐9001


Office Of The Attorney General
Attn Registry of Charitable Trusts
P.O. Box 903447
Sacramento, CA 94203‐4470


Office Of The Attorney General
California Dept of Justice
P.O. Box 944255
Sacramento, CA 94244‐2550


Office Of The Attorney General
Charities Bureau
State of New York
Albany, NY 12224


Office Of The Attorney General
Consumer Law Section
Attn Bankruptcy Notices
455 Golden Gate Ave, Ste 11000
San Francisco, CA 94102‐7004


Office Of The Attorney General
Delaware Dept of Justice
Carvel State Bldg
820 N French St
Wilmington, DE 19801


Office Of The Attorney General
Hoover State Office Bldg
1305 E Walnut St
Des Moines, IA 50319


Office Of The Attorney General
Indiana Government Ctr S
302 W Washington St, 5th Fl
Indianapolis, IN 46204
Office Of The Attorney General
Justice Bldg, 3rd Fl
215 N Sanders
P.O. Box 201401
Helena, MT 59620‐1401


Office Of The Attorney General
Kendrick Bldg
2320 Capitol Ave
Cheyenne, WY 82002


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Oregon Dept of Justice
1162 Court St NE
Salem, OR 97301‐4096


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Columbia, SC 29211


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Austin, TX 78711‐2548


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Salt Lake City, UT 84114‐2320


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P.O. Box 20207
Nashville, TN 37202‐0207


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Madison, WI 53707‐7857


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P.O. Box 94005
Baton Rouge, LA 70804


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P.O. Drawer 1508
Santa Fe, NM 87504‐1508


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Ralph L Carr Colorado Judicial Ctr
1300 Broadway, 10th Fl
Denver, CO 80203


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RJ Hughes Justice Complex
25 Market St, Box 080
Trenton, NJ 08625‐0080


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State Capitol Complex, Bldg 1, Rm E‐26
Charleston, WV 25305


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State of Alabama
501 Washington Ave
Montgomery, AL 36104


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State of Florida
PL‐01 The Capitol
Tallahassee, FL 32399‐1050


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State of Idaho
700 W Jefferson St, Ste 210
P.O. Box 83720
Boise, ID 83720‐0010


Office Of The Attorney General
Supreme Court Bldg
207 W High St
P.O. Box 899
Jefferson City, MO 65102


Office Of The Attorney General
The Capitol
Albany, NY 12224‐0341
Office Of The Attorney General
Walter Sillers Bldg
550 High St, Ste 1200
Jackson, MS 39201


Office of the United States Trustee
Attn David L. Buchbinder
Attn Hannah Mufson McCollum
844 King St, Suite 2207
Lockbox 35
Wilmington, DE 19801


Office Of The Utd States Trustee
844 King St, Ste 2207
P.O. Box 35
Wilmington, DE 19801


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P.O. Box 1000
Richmond, VA 23218‐1000


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12021 Centron Pl
Cincinnati, OH 45246‐1702


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Office View Software, Inc
915 Plante Dr
Ottawa, ON K1V 9E3
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Office, Special Narcotics Prosecutor
Greater New York Councils, Bsa 640
80 Centre St
New York, Ny 10013


Officenorth Inc
1734 E 40th St
East Hwy 37
Hibbing, MN 55746


Officeteam
12400 Collections Ctr Dr
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Offset Atlanta
P.O. Box 201082
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Oficina Scout Mundial
Avenida Ricardo Lyon 1085
Santiago, 6650426
Chile


Og Moorehouse Post 61 American Legion
Daniel Webster Council, Bsa 330
8 Steeple St
Milton, NH 03851


Og Moorehouse Post 61‐American Legion
Daniel Webster Council, Bsa 330
Milton Nh
Milton, NH 03851


Ogallala Optimist
Overland Trails 322
619 W C St
Ogallala, NE 69153


Ogden Copes Course
Trapper Trails 589
1200 E 5400 S
Ogden, UT 84403


Ogden Engine Co
Westchester Putnam 388
203 Ashford Ave
Dobbs Ferry, NY 10522
Ogden Lions Club
c/o John Emerson
Mid Iowa Council 177
619 W Div St
Ogden, IA 50212


Ogden Memorial Presbyterian Church
Patriots Path Council 358
286 Main St
Chatham, NJ 07928


Ogden Memorial Utd Methodist Church
Lincoln Heritage Council 205
305 W Main St
Princeton, KY 42445


Ogden Presbyterian Church
Christian Education Committee
Seneca Waterways 397
2400 S Union St
Spencerport, Ny 14559


Ogden Scout Shop ‐ Opc
1200 E 5400 S
Ogden, UT 84403


Ogden Utd Church Of Christ
Trapper Trails 589
3350 Harrison Blvd
Ogden, UT 84403


Ogdensburg First Utd Methodist Church
Longhouse Council 373
627 Caroline St
Ogdensburg, NY 13669


Oglesby Volunteer Fire Dept
Longhorn Council 662
2090 County Rd 303
Oglesby, TX 76561
Oglethorpe County Rotary Club
Northeast Georgia Council 101
P.O. Box 403
Lexington, GA 30648


Oglethorpe County Rotary Club
Northeast Georgia Council 101
P.O. Box 406
Lexington, GA 30648


Ogletree Deakins Nash Smoak Stewart PC
P.O. Box 89
Columbia, SC 29202


Ogs Technologies Inc
dba Waterbury
P.O. Box 2074
New Haven, CT 06521


Ohana
San Francisco Bay Area Council 028
2443 Fillmore St 458
San Francisco, CA 94115


Ohara Catholic School
Oregon Trail Council 697
715 W 18th Ave
Eugene, OR 97402


Ohev Shalom ‐ The National Synagogue
National Capital Area Council 082
1600 Jonquil St Nw
Washington, DC 20012


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30 E Broad St, 14th Fl
Columbus, OH 43215


Ohio Attorney General S Office
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Ohio Avenue Elementary School PTO
Simon Kenton Council 441
505 S Ohio Ave
Columbus, OH 43205


Ohio Bureau Of Employment Serv
P.O. Box 923
145 S Front St
Columbus, OH 43216


Ohio Child Support Payment Central
P.O. Box 182394
Columbus, OH 43218


Ohio City Inc
Lake Erie Council 440
2525 Market Ave, Ste A
Cleveland, OH 44113


Ohio Construction Academy
Simon Kenton Council 441
1725 Jetway Blvd
Columbus, OH 43219


Ohio Dept Of Job   Family Services
P.O. Box 182404
Columbus, OH 43218‐2404


Ohio Gratings Inc
5299 Sway St Sw
Canton, OH 44706


Ohio River Valley
P.O. Box 6186
Wheeling, WV 26003‐0716


Ohio River Valley Cncl 619
P.O. Box 6186
Rd 1‐Gc   P Rd
Wheeling, WV 26003‐0716
Ohio River Valley Co
c/o Stephen Klump
dba Mason Co Auto Sales
4694 Aa Hwy
Dover, KY 41034


Ohio River Valley Co
dba Mason County Auto Sales
4694 Aa Hwy
Dover, KY 41034


Ohio River Valley Council
Ohio River Valley Council 619
P.O. Box 6186
Wheeling, WV 26003


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P.O. Box 788
Columbus, OH 43216‐0788


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30 E Broad St
Columbus, OH 43266‐0410


Ohio State School For The Blind
Simon Kenton Council 441
5220 N High St
Columbus, OH 43214


Ohio State University
Attn Office of the University Bursar
281 W Ln Ave
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Ohio Treasurer Of State
P.O. Box 16560
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Office of the Bursar
P.O. Box 960
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Ohio Utd Presbyterian Church
Laurel Highlands Council 527
1236 Longvue Ave
Aliquippa, PA 15001


Ohio Wesleyan University
Office of Career Services
Hwcc 324
Delaware, OH 43015


Ohmer Park Utd Methodist Church
Miami Valley Council, Bsa 444
1357 Arbor Ave
Dayton, OH 45420


Ohrys Indian Restaurant
7750 N Mcarthur Blvd, Ste 195
Irving, TX 75063


Oil Tech Energy Co
Transatlantic Council, Bsa 802
P.O. Box 26772
Safat, 13128
Kuwait


Okaloosa County Sheriff S Office
Gulf Coast Council 773
Courthouse Annex
Shalimar, FL 32579


Okaloosa Stemm Academy PTO
Gulf Coast Council 773
379 Edge Ave
Valparaiso, FL 32580
Okauchee Lions Club
Potawatomi Area Council 651
412 Wisconsin Ave
Okauchee, WI 53069


Okc River Sports
Last Frontier Council 480
725 S Lincoln Blvd
Oklahoma City, OK 73129


Okeana Utd Methodist Church
Dan Beard Council, Bsa 438
6479 Okeana Drewersburg Rd
Okeana, OH 45053


Okeechobee AL Memorial Post 64
Gulf Stream Council 085
501 Se 2Nd St
Okeechobee, Fl 34974


Okeechobee Memorial AL Post 64
Gulf Stream Council 085
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Okeechobee, Fl 34974


Okemos Community Church
Water and Woods Council 782
4734 Okemos Rd
Okemos, MI 48864


Okemos Kiwanis Club
Water and Woods Council 782
2222 Riverwood Dr
Okemos, MI 48864


Okemos Masonic Lodge
Water and Woods Council 782
2175 Hamilton Rd
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Oklahoma Attorney General
Consumer Protection Section
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P.O. Box 268809
Oklahoma City, OK 73126


Oklahoma Centralized Support Registry
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Oklahoma Christian University
Attn Financial Servs
P.O. Box 11000
Oklahoma City, OK 73136‐1100


Oklahoma City Fire Dept
Last Frontier Council 480
820 NW 5th St
Oklahoma City, OK 73106


Oklahoma City Golf   Country Club Inc
7000 NW Grand Blvd
Nichols Hills, OK 73116‐4122


Oklahoma County Sheriff
Last Frontier Council 480
201 N Shartel Ave
Sheriff John Whetsel
Oklahoma City, OK 73102


Oklahoma Employment Security Commission
P.O. Box 52004
Oklahoma City, OK 73152‐2004


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1400 Classen Dr
Oklahoma City, OK 73106
Oklahoma Secretary Of State
2300 N Lincoln 101
Oklahoma City, OK 73105‐4897


Oklahoma Society Of Cpa S
1900 N W Expressway ‐, Ste 910
Oklahoma City, OK 73118‐1898


Oklahoma St. Dept Of Education
Attn Sandy Garrett
St. Sup. of Public Instruction
2500 N Lincoln Blvd
Oklahoma City, OK 73105‐4599


Oklahoma State Attorneys General
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Oklahoma City, OK 73105


Oklahoma State Dept Of Health
1000 NE 10Th
Oklahoma City, OK 73117‐1299


Oklahoma State Treasurer
Unclaimed Property Div
2300 N Lincoln Blvd, Rm 217
Oklahoma City, OK 73105


Oklahoma State Univ
Attn Joanne Kindschi
113 Student Union
Stillwater, OK 74078


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Franchise Tax
P.O. Box 26920
Oklahoma City, OK 73126‐0920


Oklahoma Tax Commission
P.O. Box 26860
Oklahoma City, OK 73126‐0860
Oklahoma Tax Commission
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Oklahoma City, OK 73126‐0930


Oklahoma Tax Commission
Unclaimed Property Section
2501 Lincoln Blvd
Oklahoma City, OK 73194‐0010


Okolona Elementary School
Lincoln Heritage Council 205
7606 Preston Hwy
Louisville, KY 40219


Okun, Oddo   Babat, P.C.
Attn David Oddo
8 W 38th St, Ste 1002
New York, NY 10018


Okun, Oddo   Babat, PC
Attn David M Oddo
re Plaintiff
8 W 38th St, Ste 1002
New York, NY 10018


Olalla Bible Church
Chief Seattle Council 609
13053 Olalla Valley Rd Se
Olalla, WA 98359


Olalla Grange 1125
Chief Seattle Council 609
7554 SE Fragaria Rd
Olalla, WA 98359


Olathe Christian Church
Heart of America Council 307
1115 S Ridgeview Rd
Olathe, KS 66062


Olathe Fire Explorer Post
Heart of America Council 307
1225 S Hamilton Cir
Olathe, KS 66061


Olathe Police Dept
Heart of America Council 307
501 E Hwy 56
Olathe, KS 66061


Old Bethel Utd Methodist Church
Crossroads of America 160
7995 E 21st St
Indianapolis, IN 46219


Old Brick Reformed Church
Monmouth Council, Bsa 347
490 County Rd 520
Marlboro, NJ 07746


Old Bridge Columbian Club
Monmouth Council, Bsa 347
P.O. Box 183
Old Bridge, NJ 08857


Old Bridge Utd Methodist Church
National Capital Area Council 082
3966 Old Bridge Rd
Woodbridge, VA 22192


Old Bridge Veterinary Hospital
2400 Route 516
Old Bridge, NJ 08857


Old Cabin Shop
155 N Blackpowder Ln
Carthage, MO 64836


Old Colony Cncl 249
2438 Washington St
Canton, MA 02021‐1148
Old Colony Council Bsa
2438 Washington St
Canton, MA 02021


Old Cowtown Museum
Quivira Council, Bsa 198
1865 W Museum Blvd
Wichita, KS 67203


Old Dominion University
Office of Finance
Alfred B Rollins Jr Hall
Norfolk, VA 23529‐0046


Old Donation Episcopal Church
Tidewater Council 596
4449 N Witchduck Rd
Virginia Beach, VA 23455


Old First Methodist Church
Monmouth Council, Bsa 347
207 Locust Ave
West Long Branch, NJ 07764


Old Friend Footwear
P.O. Box 2736
Renton, WA 98056


Old Goshenhopen Utd Church Of Christ
Cradle of Liberty Council 525
P.O. Box 44
2092 Church Rd


Old Greenwich Presbyterian Church
Minsi Trails Council 502
17 Greenwich Church Rd
Stewartsville, NJ 08886


Old Hickory
6600 Silas Creek Pkwy
Winston‐Salem, NC 27106‐5058
Old Hickory Cncl 427
6600 Silas Creek Pkwy
Winston‐Salem, NC 27106‐5058


Old Hickory Community Center
Middle Tennessee Council 560
1050 Donelson Ave
Old Hickory, TN 37138


Old Hickory Utd Methodist Church
Middle Tennessee Council 560
1216 Hadley Ave
Old Hickory, TN 37138


Old Island Marina Inc
7009 Shrimp Rd, Ste 2
Stock Island
Key W, Fl 33040


Old Mill Home    School Assoc.
Monmouth Council, Bsa 347
2119 Old Mill Rd
Sea Girt, NJ 08750


Old Mission Utd Methodist Church
Heart of America Council 307
5519 State Park Rd
Fairway, KS 66205


Old National Bank Rockville
Crossroads of America 160
P.O. Box 167
128 W Ohio St
Rockville, IN 47872


Old North Confluence
Greater St Louis Area Council 312
3017 N 13th St
Saint Louis, MO 63107


Old North State
P.O. Box 29046
Greensboro, NC 27429‐9046


Old North State Cncl 70
1405 Wover Ter
Greensboro, NC 27408


Old North Utd Methodist Church
Buffalo Trace 156
4201 Stringtown Rd
Evansville, IN 47711


Old Paramus Reform Church
Northern New Jersey Council, Bsa 333
660 E Len Ave
Ridgewood, NJ 07450


Old Pine Street Presbyterian Church
Cradle of Liberty Council 525
412 Pine St
Philadelphia, PA 19106


Old Plank Road Baptist Church
North Florida Council 087
8964 Old Plank Rd
Jacksonville, FL 32220


Old Point Comfort Yacht Club
Colonial Virginia Council 595
P.O. Box 3369
Hampton, VA 23663


Old Red Museum
Old Red Courthouse Inc
100 S Houston St
Dallas, TX 75202


Old Redford Academy Middle School PTA
Great Lakes Fsc 272
22122 W Mcnichols Rd
Detroit, MI 48219
Old Republic Insurance Co
c/o   Old Republic Risk Management
Attn Chief Financial Officer
445 S Moorland Rd, Ste 300


Old Republic Insurance Co
c/o Old Republic Risk Mgmt Premium
P.O. Box 2939
Milwaukee, WI 53201‐2939


Old Republic Insurance Group
307 N Michigan Ave
Chicago, IL 60601


Old River Youth Foundation
Greater Los Angeles Area 033
P.O. Box 2168
Downey, CA 90242


Old Saratoga Post 278 American Legion
Twin Rivers Council 364
6 Clancy St
Schuylerville, NY 12871


Old School Troop 3510
Middle Tennessee Council 560
P.O. Box 666
1220 School St
Spring Hill, TN 37174


Old Schoolhouse Magazine
P.O. Box 8426
Gray, TN 37615


Old Scout Outdoor Products
5608 Harriet Ave
Minneapolis, MN 55419‐1832


Old South Presbyterian Church
The Spirit of Adventure 227
29 Federal St
Newburyport, MA 01950


Old South Union Church Ucc
Mayflower Council 251
25 Columbian St
Weymouth, MA 02190


Old South Utd Church Of Christ
Lake Erie Council 440
9802 Chillicothe Rd
Kirtland, OH 44094


Old South Utd Methodist Church
The Spirit of Adventure 227
6 Salem St
Reading, MA 01867


Old St. Andrew S Parish Church
Coastal Carolina Council 550
2604 Ashley River Rd
Charleston, SC 29414


Old Stone Church, Congregational
Connecticut Yankee Council Bsa 072
251 Main St
East Haven, CT 06512


Old Tappan First Aid Corps
Northern New Jersey Council, Bsa 333
4 Russell Ave
Old Tappan, NJ 07675


Old Tennent Presbyterian Church
Monmouth Council, Bsa 347
P.O. Box 6
Tennent, NJ 07763


Old Time Wooden Nickel Co
345 Old Austin Rd
San Antonio, TX 78209
Old Timers Club‐ Ship 121
Greater Los Angeles Area 033
502 Wickliffe Dr
Pasadena, CA 91104


Old Timers Club Troop 121
Greater Los Angeles Area 033
1321 Cortez St
Los Angeles, CA 90026


Old Town Catering Co
4000 Saint Josephs Pl Nw
Albuquerque, NM 87120


Old Town Lodge 908
Of Free    Accepted Masons
Suffolk County Council Inc 404
40 Main St
Southampton, Ny 11968


Old Town Triangle Assoc
Pathway To Adventure 456
335 W Menomonee St
Chicago, IL 60614


Old Washington Presbyterian Church
Muskingum Valley Council, Bsa 467
227 Old National Rd
Old Washington, OH 43768


Old Zionsville Utd Church Of Christ
Minsi Trails Council 502
P.O. Box 215
Old Zionsville, PA 18068


Olde Creek Elementary School PTA
National Capital Area Council 082
9524 Old Creek Dr
Fairfax, VA 22032


Olde Port Tours LLC
Portsmouth Harbor Cruises
64 Ceres St
Portsmouth, NH 03801


Olde Sawmill Elementary PTO
Simon Kenton Council 441
2485 Olde Sawmill Blvd
Dublin, OH 43016


Oldenkamp Inc
801 Black Forest Rd
Hull, IA 51239


Ole 97 Alumni Assoc
Chickasaw Council 558
7125 Getwell Rd, Ste 201
Southaven, MS 38672


Olean American Legion Post 530
Allegheny Highlands Council 382
307 E State St
Olean, NY 14760


Olga Fedorova
Address Redacted


Olga Larimer
Address Redacted


Olga Zavala
Address Redacted


Olin College Of Engineering
Student Affairs
1000 Olin Way
Needham, MA 02492


Oliris Ramos
Address Redacted


Olive Baptist Church
Buckskin 617
P.O. Box 152
Julian, WV 25529


Olive Bethel Missonary Baptisit Church
Three Rivers Council 578
5830 Fm 1011
Liberty, TX 77575


Olive Branch Community Church
California Inland Empire Council 045
7702 El Cerrito Rd
Corona, CA 92881


Olive Chapel Baptist Church
Occoneechee 421
600 New Hill Olive Chapel Rd
Apex, NC 27502


Olive Crest Utd Methodist Mens Club
Mid‐America Council 326
7180 N 60th St
Omaha, NE 68152


Olive Fire Dept 1 Inc
Rip Van Winkle Council 405
P.O. Box 1309
Olivebridge, NY 12461


Olive J. Dodge PTA
Mobile Area Council‐Bsa 004
2615 Longleaf Dr
Mobile, AL 36693


Oliver Elementary School PTA
Greater Alabama Council 001
6871 6th Ct S
Birmingham, AL 35212


Oliver G Chandler
Address Redacted
Oliver H Perry Elementary School
Lake Erie Council 440
18400 Schenely Ave
Cleveland, OH 44119


Oliver Haskell
Address Redacted


Oliver Henry Cole
Address Redacted


Oliver King
Address Redacted


Oliver Nguyen
Address Redacted


Oliver Partnership School PTA
The Spirit of Adventure 227
183 Haverhill St
Lawrence, MA 01840


Oliver Springs Fire Dept
Great Smoky Mountain Council 557
701 Main St
Oliver Springs, TN 37840


Oliver Stratton Fisher
Address Redacted


Olivero Ward ‐ LDS Sahuarita Stake
Catalina Council 011
P.O. Box 426
Sahuarita, AZ 85629


Olivet Baptist Church
Indian Nations Council 488
155 N 65th W Ave
Tulsa, OK 74127
Olivet Boys And Girls Club
Hawk Mountain Council 528
1161 Pershing Blvd
Reading, PA 19611


Olivet Boys And Girls Club
Hawk Mountain Council 528
677 Clinton St
Reading, PA 19601


Olivet Lutheran Church
Erie Shores Council 460
5840 Monroe
Sylvania, OH 43560


Olivet Lutheran Church
Northern Lights Council 429
1330 University Dr S
Fargo, ND 58103


Olivet Moravian   Brookstown Methodist
Old Hickory Council 427
2205 Olivet Church Rd
Winston Salem, NC 27106


Olivet Nazarene University
Office of Financial Aid
Miller Business Center
1 University Ave
Bourbonnais, IL 60914‐2345


Olivet Presbyterian Church
Stonewall Jackson Council 763
2575 Garth Rd
Charlottesville, VA 22901


Olivet Utd Methodist Church
Del Mar Va 081
115 S Main St
Galena, MD 21635
Olivets Boys And Girls Club
Hawk Mountain Council 528
1161 Pershing Blvd
Reading, PA 19611


Olivette Landers
Address Redacted


Olivia A Braun
Address Redacted


Olivia A Dratler
Address Redacted


Olivia A Starich
Address Redacted


Olivia K Gehring
Address Redacted


Olivia K Hogenkamp
Address Redacted


Olivia Lions Club
Northern Star Council 250
305 N 7th St
Olivia, MN 56277


Olivia M Allen
Address Redacted


Olivia Ogren‐Hrejsa
Address Redacted


Olivia R Holt
Address Redacted


Oljato Camp Staff
Pacific Skyline Council 031
1305 Middlefield Rd
Palo Alto, CA 94301


Ollie Burks
Address Redacted


Ollie Carter
Address Redacted


Ollie Kendrick Jr
Address Redacted


Ollie Turner
Address Redacted


Ollliver Meneses
Address Redacted


Olmsted Signs   Graphics
P.O. Box 306
Grand Haven, MI 49417‐0306


Olmsted‐Kirk Paper Co
2420 Butler
P O Drawer 970093
Dallas, TX 75397‐0093


Olney Mill Community Assoc
National Capital Area Council 082
4421 Thornhurst Dr
Olney, MD 20832


Olney School E. P. O.
Erie Shores Council 460
512 Lemoyne Rd
Northwood, OH 43619


Olomana
Aloha Council, Bsa 104
42‐137 Old Kalanianaole Rd
Kailua, HI 96734


Olph Catholic Church
Cherokee Area Council 556
501 S Moore Rd
Chattanooga, TN 37412


Olsen Park PTA
Golden Spread Council 562
2409 Anna St
Amarillo, TX 79106


Olson S Modern Drug
Attn Harold Olson
762 Washington St
Montpelier, ID 83254‐1422


Olympia Elks Lodge 186
Pacific Harbors Council, Bsa 612
1818 4th Ave E
Olympia, WA 98506


Olympia Fields Utd Methodist Church
Pathway To Adventure 456
20301 Wern Ave
Olympia Fields, IL 60461


Olympia Police Dept
Pacific Harbors Council, Bsa 612
601 4th Ave E
Olympia, WA 98501


Olympic Granola Inc
39724 Grand Ave N
North Branch, MN 55056


Olympic High School Exp. 2 Lab 1
Mecklenburg County Council 415
4301 Sandy Porter Rd
Charlotte, NC 28273
Olympic High School Exp.1 Lab Ll
Mecklenburg County Council 415
4301 Sandy Porter Rd
Charlotte, NC 28273


Olympic High School Exp.3 Lab 3
Mecklenburg County Council 415
4301 Sandy Porter Rd
Charlotte, NC 28273


Olympus Brands Inc
P.O. Box 772483
Miami, FL 33177


Oma Tracy
Address Redacted


Omaha Animal Medical Group
Mid‐America Council 326
3316 N 120th St
Omaha, NE 68164


Omaha Elks 39
Mid‐America Council 326
6410 S 96th St
Omaha, NE 68127


Omaha Police Dept
Mid‐America Council 326
Box 55006
505 S 15th St


Omaha Storm Chasers
Mid‐America Council 326
12356 Ballpark Way
Werner Park
Papillion, NE 68046


Omaha World Herald
1314 Douglas St, Ste 600
World Herald Bldg
Omaha, NE 68102
Omaha World Herald
Mid‐America Council 326
1314 Douglas St, Ste 1500
Omaha, NE 68102


Omar Buval
Address Redacted


Omar D Gonzalez‐Roman
Address Redacted


Omar Esteban Mauras
Address Redacted


Omega Broadcast Group
817 W Howard Ln
Austin, TX 78753


Omega Community Development Corp
Miami Valley Council, Bsa 444
1800 Harvard Blvd
Dayton, OH 45406


Omega Pacific, Inc
11427 W 21st Ave
Airway Heights, WA 99001


Omega Printing Inc
201 Williams St
Bensenville, IL 60106


Omega Psi Phi Fraternity Eta Iota Iota
National Capital Area Council 082
P.O. Box 5273
Kingshill, VI 00851


Omega Psi Phi Fraternity Inc
Denver Area Council 061
P.O. Box 8448
Denver, CO 80201


Omnemail
6345 Barberry Hill Dr
Gainesville, GA 30506


Omni Dallas Hotel Park West
1590 Lbj Freeway
Dallas, TX 75234


Omni Ft Worth Gp Corp
dba Omni Ft Worth Hotel
1300 Houston St
Ft Worth, TX 76102‐6556


Omni Hotel At Cnn Center
100 Cnn Ctr
Atlanta, GA 30303


Omni Hotels Management Corp
100 Cnn Ctr
Atlanta, GA 30303


Omni Hotels Management Corp
112 College St
San Antonio, TX 78205


Omni La Mansion Del Rio Hotel
Omni Hotels Management Corp
112 College St
San Antonio, TX 78205


Omni Management Group Inc
5955 Desoto Ave, Ste 100
Woodland Hills, CA 91367


Omni Mandalay Hotel
221 E Las Colinas Blvd
Irving, TX 75039
Omni Parker House
Omni Boston Corp
60 School St
Boston, MA 02108


Omni Richmond Hotel
100 S 12th St
Richmond, VA 21219


Omni Shoreham Hotel
2500 Calvert St Nw
Washington, DC 20008


Omni Sportsplex Ii LLC
1247 Belgrove Rd
St Louis, MO 63137


Omni Visions, Tnc.
Middle Tennessee Council 560


Omni Youth Services
Pathway To Adventure 456
668B N Milwaukee Ave
Prospect Heights, IL 60070


Omnicard, LLC
Attn Blackhawk Legal Dept
6220 Stoneridge Mall Rd
Pleasonton, CA 94588


Omnimed LLC
dba Arrowood / Riverview Medical Ctr
1393 Celanese Rd
Rock Hill, SC 29732


Omniture
55 E Timpanogos Cir
Orem, UT 84097


Omniture Inc
Dept Ch 17426
Palatine, IL 60055‐7426


On Call Catering‐Picnic Depot
P.O. Box 148
Flanders, NJ 07836


On Location Productions
210 Tomahawk Tr
Sparta, NJ 07871


On My Honor Coalition Of Prairieville
Istrouma Area Council 211
17394 Deerpath Ct
Prairieville, LA 70769


On Site Storage
P.O. Box 718
Washington, UT 84780


On Star Center
P.O. Box 430627
Pontiac, MI 48343


On Star, LLC
Dept 77246 Onstar Membership Center
P.O. Box 77000
Detroit, MI 48277‐0246


On Target
Blackhawk Area 660
560 Beechcraft Ln
Crystal Lake, IL 60012


Onalaska Lions Club
Gateway Area 624
1005 Oak Ave N
Onalaska, WI 54650


Onawa Utd Methodist Church
Mid‐America Council 326
1103 13th St
Onawa, IA 51040


Onawa Utd Methodist Mens Club
Mid‐America Council 326
1103 13th St
Onawa, IA 51040


Onaway Community Org
Lake Erie Council 440
3107 Warrington Rd
Shaker Hts, OH 44120


One Church
Indian Nations Council 488
1600 E 141st St
Glenpool, OK 74033


One Communications
P.O. Box 415721
Boston, MA 02241‐5721


One Communications
P.O. Box 711879
Cincinnati, OH 45271‐1879


One Diversified LLC
37 Market St
Kenilworth, NJ 07033


One Hope Utd
Northeast Illinois 129
P.O. Box 1128
Lake Villa, IL 60046


One Map Place Inc
700 Hill Trail Dr, 1303
Euless, TX 76039


One Spirit Utd Methodist Church
Heart of America Council 307
7900 Blue Ridge Blvd
Raytown, MO 64138


One Step Inc
806 W 4th St
Davenport, IA 52802


One Stop Scouting Limited
Beehive Business Centre
Beehive Ln, Unit 1
Chelmsford
Essex, CM2 9TE
United Kingdom


One Way Ministries
Sequoyah Council 713
1004 S Shady Ave
Damascus, VA 24236


One Way Solutions, LLC
400 Central Ave, Ste 320
Northfield, IL 60093


One World Direct
P.O. Box 6
10 1st Ave E
Mobridge, SD 57601


One World Distribution, Inc
P.O. Box 6
Mobridge, SD 57601‐0006


Oneal Isaac
Address Redacted


Oneill Volunteer Fire Dept
Overland Trails 322
P.O. Box 772
Oneill, NE 68763


Onelove Church
Oregon Trail Council 697
2895 Chad Dr
Eugene, OR 97408


Oneonta Police Dept
Leatherstocking 400
79 Main St
Oneonta, NY 13820


Oneonta Sportsmen S Club
Leatherstocking 400
P.O. Box 345
Oneonta, NY 13820


Online Community Services, LLC
413 Oak Hill Dr
Altamonte Springs, FL 32701


Online Community Services, LLC
5113 Filmore Pl
Sanford, FL 32773


Online Consulting Inc
505 Carr Rd, Ste 100
Wilmington, DE 19809


Online LabelsCom
925 Florida Central Pkwy
Longwood, FL 32750


Online LabelsCom
975 Bennett Dr
Longwood, FL 32750


Online Stores, Inc
1000 Winghouse Dr, Suite 1
New Stanton, PA 15672


Only Way Water LLC
P.O. Box 791
Alderson, WV 24910
Onondaga Communications
436 Brattle Rd
Syracuse, NY 13203


Onondaga Hill Presbyterian Church
Longhouse Council 373
4797 Makyes Rd
Syracuse, NY 13215


Onondaga Yacht Club
Longhouse Council 373
P.O. Box 186
Liverpool, NY 13088


Onset Technology Inc
460 Totten Pond Rd
Waltham, MA 02451


On‐Site Information Destruction
Services of Iowa, LLC
P.O. Box 3485
Quincy, IL 62305‐3485


Onslow County Sheriff Dept
East Carolina Council 426
701 Mill Ave
Jacksonville, NC 28540


Onsted Kiwanis   American Legion Clubs
Southern Shores Fsc 783
333 Connor St
Onsted Mi
Onsted, MI 49265


Onsted Kiwanis Club
Southern Shores Fsc 783
P.O. Box 45
Onsted, MI 49265


Ontario County Sherrif S Office
Seneca Waterways 397
3045 County Complex Dr
Canandaigua, NY 14424


Ontario Utd Methodist Church
Buckeye Council 436
3540 Park Ave W
Ontario, OH 44906


Ontario Volunteer Fire Co
Seneca Waterways 397
6160 Walter Cone Dr
Ontario, NY 14519


Ontario‐Walworth Rotary Club
Seneca Waterways 397
P.O. Box 4
Ontario, NY 14519


Ontelaunee Rod   Gun Club
Minsi Trails Council 502
7974 Gun Club Rd
New Tripoli, PA 18066


Onyx Fine Native Jewelry And Art
209 W San Francisco St
Santa Fe, NM 87502


Onyx Waste Services Se4
P.O. Box 6484
Carol Stream, IL 60197‐6484


Onzell Washington
Address Redacted


Ookla LLC
P.O. Box 419102
Boston, MA 02241‐9102


Oologah Utd Methodist Church
Indian Nations Council 488
5834 E 410 Rd
Oologah, OK 74053


Oologah Utd Methodist Church
Indian Nations Council 488
P.O. Box 857
P.O. Box 986


Ooltewah Utd Methodist Church
Cherokee Area Council 556
6131 Relocation Way
Ooltewah, TN 37363


Opa Orange School
Winnebago Council, Bsa 173
5805 Kimball Ave
Waterloo, IA 50701


Ope Dti Inc
2 Ravinia Dr, Ste 850
Atlanta, GA 30346


Ope Dti Inc
P.O. Box 936158
Atlanta, GA 31193‐6158


Opelousas Catholic
Evangeline Area 212
428 E Prudhomme St
Opelousas, LA 70570


Opelousas Catholic School
Evangeline Area 212
428 E Prudhomme St
Opelousas, LA 70570


Open Arms Community Of Christ
Heart of America Council 307
1021 W College St
Independence, MO 64050


Open Arms Fellowship
Coastal Carolina Council 550
185 Cemetery Rd
Varnville, SC 29944


Open Doors Academy
Chippewa Valley Council 637
136 E 3rd Ave
Stanley, WI 54768


Open Gate Community Church
Yucca Council 573
9821 Mccombs St
El Paso, TX 79924


Open Heart Utd Methodist Church
Black Hills Area Council 695 695
202 E Indiana St
Rapid City, SD 57701


Open Lab Idaho Inc
Ore‐Ida Council 106 ‐ Bsa 106
110 W 33rd St
Garden City, ID 83714


Open Sesame Lincoln
Blackhawk Area 660
501 S Lincoln Ave
Dixon, IL 61021


Open Text, Inc
2950 S Delaware St Bay Meadows
Station 3 Bldg, 3rd   4th Fls
San Mateo, CA 94403


Openhearted Campaign
Hoosier Trails Council 145 145
2234 E Cape Cod Dr
Bloomington, IN 47401


Opequon Presbyterian Church
Shenandoah Area Council 598
217 Opequon Church Ln
Winchester, VA 22602


Operation Pathways
Southeast Louisiana Council 214
3708 Garden Oaks Dr
New Orleans, LA 70114


Operation Soldier At Ease
Atlanta Area Council 092
P.O. Box 723243
Atlanta, GA 31139


Operation Warrriors Foundation Inc
Pacific Harbors Council, Bsa 612
P.O. Box 956
Yelm, WA 98597


Opex Corp
305 Commerce Dr
Moorestown, NJ 08057‐4234


Ophelia Phillips
Address Redacted


Opportunity House Inc
Three Fires Council 127
202 Lucas St
Sycamore, IL 60178


Opportunity, Inc
Caddo Area Council 584
6101 N State Line Ave
Texarkana, TX 75503


Opryland Hotel Florida LP
dba Gaylord Palms Resort
6000 W Osceola Pkwy
Kissimmee, FL 34746


Opsgenie Inc
239 Causeway St, Ste 300
Boston, MA 02114


Optima Properties Wv LLC
2200 Ballard Ridge Dr
Charlottesville, VA 22901


Optimax Systems Inc
Seneca Waterways 397
6367 Dean Pkwy
Ontario, NY 14519


Optimist Club
c/o Al Bilse
Glaciers Edge Council 620
N2734 Demynck Rd
Lodi, WI 53555


Optimist Club
Miami Valley Council, Bsa 444
5555 Chambersburg Rd
Huber Heights, OH 45424


Optimist Club ‐ Ashland
Great Rivers Council 653
P.O. Box 201
Ashland, MO 65010


Optimist Club ‐ De Pere
c/o Dave Servais
Bay‐Lakes Council 635
251 Highland Pk Av
Green Bay, WI 54302


Optimist Club ‐ Midway
Great Rivers Council 653
3750 N Frederick Ct
Columbia, MO 65202


Optimist Club Bazetta Cortland
Great Trail 433
2619 Bazetta Rd Ne
Warren, OH 44481
Optimist Club Midton Wisconsin, Inc
C/O Ron Berman
Glaciers Edge Council 620
3906 Rolling Hill Dr
Middleton, Wi 53562


Optimist Club Of Apple Valley
California Inland Empire Council 045
P.O. Box 1115
Apple Valley, CA 92307


Optimist Club Of Azle
Longhorn Council 662
150 Industrial Ave
Azle, TX 76020


Optimist Club Of Beaverton
Cascade Pacific Council 492
P.O. Box 424
Beaverton, OR 97075


Optimist Club Of Breese
Greater St Louis Area Council 312
P.O. Box 381
Breese, IL 62230


Optimist Club Of Central Fairfax
National Capital Area Council 082
P.O. Box 2171
Fairfax, VA 22031


Optimist Club Of Coronado, Inc
San Diego Imperial Council 049
1517 Ynez Pl
Coronado, CA 92118


Optimist Club Of Del Mar Solana Beach
San Diego Imperial Council 049
P.O. Box 321
Del Mar, CA 92014
Optimist Club Of Delphos
Black Swamp Area Council 449
P.O. Box 192
Delphos, OH 45833


Optimist Club Of Elk Grove
Golden Empire Council 047
P.O. Box 672
Elk Grove, CA 95759


Optimist Club Of Freeburg
Greater St Louis Area Council 312
101 S W St
Freeburg, IL 62243


Optimist Club Of Gardena
Greater Los Angeles Area 033
P.O. Box 2132
Gardena, CA 90247


Optimist Club Of Gresham
Cascade Pacific Council 492
3439 NE Sandy Blvd 276
Portland, OR 97232


Optimist Club Of Howell
Monmouth Council, Bsa 347
P.O. Box 232
Adelphia, NJ 07710


Optimist Club Of Jackson
Greater St Louis Area Council 312
P.O. Box 253
Jackson, MO 63755


Optimist Club Of Keego Harbor
Great Lakes Fsc 272
P.O. Box 535
Keego Harbor, MI 48320


Optimist Club Of Las Cruces
Yucca Council 573
P.O. Box 16406
Las Cruces, NM 88004


Optimist Club Of Madison
Greater Alabama Council 001
P.O. Box 150
Madison, AL 35758


Optimist Club Of Malibu
W.L.A.C.C. 051
P.O. Box 501
Malibu, CA 90265


Optimist Club Of Monaco South
Denver Area Council 061
3983 S Olive St
Denver, CO 80237


Optimist Club Of No Hollywood
W.L.A.C.C. 051
P.O. Box 16943
North Hollywood, CA 91615


Optimist Club Of North Hollywood
W.L.A.C.C. 051
P.O. Box 16943
North Hollywood, CA 91615


Optimist Club Of North Pensacola
Gulf Coast Council 773
P.O. Box 10001
Pensacola, FL 32524


Optimist Club Of Northwest Denver
Denver Area Council 061
7225 S Platte Canyon Dr
Littleton, CO 80128


Optimist Club Of Omaha
Mid‐America Council 326
P.O. Box 390793
Omaha, NE 68139


Optimist Club Of Paso Robles
Los Padres Council 053
P.O. Box 644
Paso Robles, CA 93447


Optimist Club Of Porterville
Sequoia Council 027
P.O. Box 142
Porterville, CA 93258


Optimist Club Of Princeton
W D Boyce 138
824 W Central Ave
Princeton, IL 61356


Optimist Club Of Prior Lake
Northern Star Council 250
P.O. Box 130
Prior Lake, MN 55372


Optimist Club Of Redwood City
Pacific Skyline Council 031
511 Hillside Rd
Redwood City, CA 94062


Optimist Club Of Reno
Nevada Area Council 329
P.O. Box 148
Reno, NV 89504


Optimist Club Of Reno
Nevada Area Council 329
P.O. Box 17125
Reno, NV 89511


Optimist Club Of Saint Maries Inc
National Capital Area Council 082
P.O. Box 833
California, MD 20619
Optimist Club Of Searcy
Quapaw Area Council 018
Harding Cafeteria
Searcy, AR 72143


Optimist Club Of South Shreveport
Norwela Council 215
2315 Dove Hollow Dr
Shreveport, LA 71118


Optimist Club Of St. Maries
National Capital Area Council 082
P.O. Box 833
California, MD 20619


Optimist Club Of Sugar Land Tx
Sam Houston Area Council 576
2914 Lakefield Way
Sugar Land, TX 77479


Optimist Club Of Sun Prairie
Glaciers Edge Council 620
P.O. Box 411
Sun Prairie, WI 53590


Optimist Club Of The Beaches
Gulf Coast Council 773
P.O. Box 9259
Panama City Beach, FL 32417


Optimist Club Of Vancouver
Cascade Pacific Council 492
6907 NW Anderson Ave
Vancouver, WA 98665


Optimist Club Of Verona
Glaciers Edge Council 620
1018 Kettle Ct
Verona, WI 53593


Optimist Club Of Vista
San Diego Imperial Council 049
600 Optimist Way
Vista, CA 92081


Optimist Club Of Wis Rapids
Samoset Council, Bsa 627
P.O. Box 1171
Wisconsin Rapids, WI 54495


Optimist I Club
Crossroads of America 160
P.O. Box 137
Hagerstown, IN 47346


Optimist International
Twin Valley Council Bsa 283
P.O. Box 301
New Ulm, MN 56073


Optimists Shawnee Mission
Heart of America Council 307
6014 W Richards Dr
51‐0145262 501C3
Shawnee, KS 66216


Optimist‐Sheriff Ofc
Black Swamp Area Council 449
200 W Crawford St
Findlay, OH 45840


Optix Media LLC
620 Pheasant Ridge Dr
Chubbuck, ID 83202


Opto International Inc
Attn Accounts Payable
220 Messner Dr
Wheeling, IL 60090


Optomist Boys   Girls Club
South Plains Council 694
3301 Cornell St
Lubbock, TX 79415


Optum Health Bank
2525 Lake Park Blvd
Salt Lake City, UT 84120


Optum Health Bank, Inc
2525 Lake Park Blvd
West Valley City, UT 84120


Oquawka Utd Methodist Church
Mississippi Valley Council 141 141
P.O. Box 853
Oquawka, IL 61469


Ora Malone
Address Redacted


Oracle America Inc
P.O. Box 203448
Dallas, TX 75320‐3448


Oracle America Inc
P.O. Box 44000 Dept 44860
San Francisco, CA 94144‐4860


Oracle America, Inc
500 Oracle Pkwy
Redwood City, CA 94065


Oracle America, Inc
500 Oracle Pkwy
Redwood Shores , CA 94065


Oracle America, Inc
500 Oracle Pkwy
Redwood Shores, CA 94015


Oracle America, Inc
500 Oracle Pkwy
Redwood Shores, CA 94066


Oracle Elevator
2315 Stirling Rd
Ft Lauderdale, FL 33312


Oracle Elevator Co
P.O. Box 636843
Cincinnati, OH 45263‐6843


Oracle Usa, Inc
P.O. Box 44471
San Francisco, CA 94144‐4471


Oral Roberts University
Attn Don Houy ‐ Oru Student Accounts
P.O. Box 700895
Tulsa, OK 74170


Orange Beach Utd Methodist Church
Mobile Area Council‐Bsa 004
28751 Canal Rd
Orange Beach, AL 36561


Orange Center Elementary School PTA
Central Florida Council 083
621 S Texas Ave
Orlando, FL 32805


Orange City Lions Club International
Mid‐America Council 326
General Delivery
Orange City, IA 51041


Orange City Police Dept
Central Florida Council 083
207 N Holly Ave
Orange City, FL 32763


Orange City Utd Methodist Church
Central Florida Council 083
396 E University Ave
Orange City, FL 32763


Orange Coast College
2701 Fairview Rd
Costa Mesa, CA 92626


Orange Coast Optimist Club
Orange County Council 039
11661 Rabaul Dr
Cypress, CA 90630


Orange County
1211 E Dyer Rd
Santa Ana, CA 92705


Orange County
C/O Linebarger Goggan Blair     Sampson
Attn John P. Dillman
P.O. Box 3064
Houston, TX 77253‐3064


Orange County Bar Assoc Foundation
Central Florida Council 083
880 N Orange Ave
Orlando, FL 32801


Orange County Buddhist Church
Orange County Council 039
909 S Dale Ave
Anaheim, CA 92804


Orange County Cncl 39
1211 E Dyer Rd
Santa Ana, CA 92705


Orange County Convention Center
Attn Exhibitor Services
9860 Universal Blvd
Orlando, FL 32819‐8199
Orange County Fire And Rescue
Central Florida Council 083
P.O. Box 5879
Winter Park, FL 32793


Orange County Fire Authority
Orange County Council 039
1 Fire Authority Rd
Irvine, CA 92602


Orange County Sheriff Dept
Orange County Council 039
15991 Armstrong Ave
Tustin, CA 92782


Orange County Sheriff S Office
Hudson Valley Council 374
110 Wells Farm Rd
Goshen, NY 10924


Orange County Tax Collector
P.O. Box 1438
Santa Ana, CA 92702


Orange Cove Police Dept
Sequoia Council 027
550 Center St
Orange Cove, CA 93646


Orange Crescent School
Orange County Council 039
1 Al Rahman Plz
Garden Grove, CA 92844


Orange Fire Dept
Orange County Council 039
176 S Grand St
Orange, CA 92866


Orange Frazer Press Inc
P.O. Box 214
Wilmington, OH 45177
Orange Grove Vfd
South Texas Council 577
P.O. Box 1228
Orange Grove, TX 78372


Orange Hill Baptist Church
Atlanta Area Council 092
4293 Austell Rd
Austell, GA 30106


Orange Parent Assoc, Orange School
Winnebago Council, Bsa 173
5805 Kimball Ave
Waterloo, IA 50701


Orange Park Fire Dept
North Florida Council 087
2025 Smith St
Orange Park, FL 32073


Orange Park Medical Center
North Florida Council 087
2001 Kingsley Ave
Orange Park, FL 32073


Orange Park Presbyterian Church
North Florida Council 087
1905 Park Ave
Orange Park, FL 32073


Orange Park Utd Methodist Church
North Florida Council 087
2063 Park Ave
Orange Park, FL 32073


Orange Realty Group
Las Vegas Area Council 328
6230 Mcleod Dr, Ste 100
Las Vegas, NV 89120
Orange Soda Inc
732 E Utah Valley Dr
American Fork, UT 84003


Orange Utd Methodist Church
Atlanta Area Council 092
220 Orange Church Cir
Canton, GA 30115


Orange Utd Methodist Church
Occoneechee 421
1220 Martin Luther King Jr Blvd
Chapel Hill, NC 27514


Orange Volunteer Fire Dept
Connecticut Yankee Council Bsa 072
625 Orange Center Rd
Orange, CT 06477


Orangeburg Rotary Club
Indian Waters Council 553
P.O. Box 2325
Orangeburg, SC 29116


Orange‐St Marys Roman Catholic Church
Heart of New England Council 230
92 New Athol Rd
Orange, MA 01364


Orangethorpe Utd Methodist Church
Orange County Council 039
2351 W Orangethorpe Ave
Fullerton, CA 92833


Orangeville City
Utah National Parks 591
P.O. Box 677
25 N Main St
Orangeville, UT 84537


Orbisonia Utd Methodist Church
Juniata Valley Council 497
P.O. Box 66
101 S Winchester St


Orchard Gardens Utd
The Spirit of Adventure 227
906 Albany St
Roxbury, MA 02119


Orchard Grove Community Church
Great Lakes Fsc 272
850 Ladd Rd
Walled Lake, MI 48390


Orchard Hill Reformed Church
Winnebago Council, Bsa 173
1203 Elmridge Dr
Cedar Falls, IA 50613


Orchard Hills School PTO
Great Lakes Fsc 272
41900 Quince Dr
Novi, MI 48375


Orchard Knob Elementary
Cherokee Area Council 556
400 N Orchard Ave
Chattanooga, TN 37404


Orchard Lake Commty
Presbyterian Church
Great Lakes Fsc 272
5171 Commerce Rd
Orchard Lake, Mi 48324


Orchard Park Academy
Lake Erie Council 440
14440 Triskett Rd
Cleveland, OH 44111


Orchard Park Fire District
Greater Niagara Frontier Council 380
30 School St
Orchard Park, NY 14127


Orchard Park Presbyterian Church
Crossroads of America 160
1605 E 106th St
Indianapolis, IN 46280


Orchard Park Ward LDS Buffalo Stake
Greater Niagara Frontier Council 380
4005 Baker Rd
Orchard Park, NY 14127


Order Of The Arrow ‐ Talako Lodge
Marin Council 035
225 W End Ave
San Rafael, CA 94901


Order Of The Arrow Lodge
c/o Grand Canyon Council
2969 N Greenfield Rd
Phoenix, AZ 85016


Order Of The Arrow Na Tsi Hi
Monmouth Council, Bsa 347
705 Ginesi Dr
Morganville, NJ 07751


Order Of The Eastern Star No 25
c/o Mccs Exec Branch
Far E Council 803
Mcb Camp Sd Butler, Unit 35023
Fpo Ap, 96379


Oregon Coast Light Adventure Craft
Oregon Trail Council 697
P.O. Box 445
Toledo, OR 97391


Oregon Community Bank
Glaciers Edge Council 620
733 N Main St
Oregon, WI 53575
Oregon Convention Center
777 NE Mlk Jr Blvd
Portland, OR 97232


Oregon Dept Of Justice
100 SW Market St
Portland, OR 97201‐5702


Oregon Dept Of Justice
Bureau of Consumer Protection
16th Fl, Strawberry Square
Harrisburg, PA 17120


Oregon Dept Of Justice
Charitable Activities Section
100 SW Market St
Portland, OR 97201‐5702


Oregon Dept Of Revenue
Box 14800
Salem, OR 97309‐0920


Oregon Freeze Dry, Inc
15913 Collections Center Dr
Chicago, IL 60693


Oregon Scientific Store
P.O. Box 1190
Cannon Beach, OR 97110


Oregon Secretary Of State
Attn Corps Div
P.O. Box 4353
Portland, OR 97208‐4353


Oregon Secretary Of State
Corporations Div
P.O. Box 4353
Portland, OR 97208‐4353
Oregon State Attorneys General
Justice Bldg.
1162 Court St Ne
Salem, OR 97301‐4096


Oregon State Firefighters
1880 Greenwood Rd
Independence, OR 97351


Oregon State University
Office of Financial Aid
Kerr Admin Bldg 218
1500 SW Jefferson St
Corvallis, OR 97331


Oregon Trail
2525 Martin Luther King Jr Blvd
Eugene, OR 97401‐5806


Oregon Trl Cncl 697
2525 Martin Luther King Jr Blvd
Eugene, OR 97401‐5806


Oregon Utd Methodist Church
Blackhawk Area 660
200 S 4th St
Oregon, IL 61061


Oregon Veterans Home Lebanon
Cascade Pacific Council 492
37906 Middle Ridge Rd
Lebanon, OR 97355


Ore‐Ida
8901 W Franklin Rd
Boise, ID 83709‐0638


Ore‐Ida Cncl 106
8901 W Franklin Rd
Bosie, ID 83709‐0638
Orems Utd Methodist Church Inc
Baltimore Area Council 220
1020 Orems Rd
Baltimore, MD 21220


Orenco Systems Inc
814 Airway Ave
Sutherlin, OR 97479


Org Of Special Needs Families
Silicon Valley Monterey Bay 055
10823 Willowbrook Way
Cupertino, CA 95014


Organic Climbing LLC
256 Enterprise Dr
Philipsburg, PA 16866


Organizational Performance Consulting
7750 N Macarthur Blvd, Suite 120‐324
Irving, TX 75063


Organized Executive
P.O. Box 847
Williamsport, PA 17703‐9960


Oriental Trading Co
P.O. Box 790403
St Louis, MO 63179‐0403


Oriental Trading Co Inc
4206 S 108th St
Omaha, NE 68137


Orienteering Unlimited, Inc
3 Jan Ridge Rd
Somers, NY 10589‐3007


Orinda Community Church
Mt Diablo‐Silverado Council 023
10 Irwin Way
Orinda, CA 94563


Orion Fire Protection District
Illowa Council 133
501 11th Ave
Orion, IL 61273


Orion Mobility
100 N Lasalle St, Ste 350
Chicago, IL 60602


Orion Utd Methodist Church
Illowa Council 133
407 12th Ave
Orion, IL 61273


Orion Vfw
Illowa Council 133
P.O. Box 666
409 11th Ave
Orion, IL 61273


Oristela Aguinaga
Address Redacted


Orkin
185 Blue Angel Ln
Beaver, WV 25813‐9338


Orkin Commercial Services
235 E Roselawn Ave
Maplewood, MN 55117


Orkin Exterminating
1209 W N Carrier Pkwy, Ste 300
Grand Prairie, TX 75050‐1249


Orkin Exterminating Co, Inc
1820 SW 30th Ave
Hallandale, FL 33009
Orkin Inc
2260 Cornell Ave
Aurora, IL 60506


Orkin LLC
3330 Keller Springs Rd, Ste 250
Carrollton, TX 75006‐5058


Orkin Pest Control
7725 NW 62nd St
Miami, FL 33166


Orkin Pest Control Inc
6349 Browning Ct
North Richland Hills, TX 76180


Orkin‐Fort Worth
3601 NE Loop 820, Ste 100
Fort Worth, TX 76137


Orland American Legion Post 423
Anthony Wayne Area 157
P.O. Box 448
Orland, IN 46776


Orland Methodist Church
Katahdin Area Council 216
P.O. Box 81
Orland Village
Orland, ME 04472


Orland Utd Methodist Church
Katahdin Area Council 216
P.O. Box 81
Orland, ME 04472


Orlando Airport Marriott
7499 Augusta National Dr
Orlando, FL 32822
Orlando Bpoe Elks Lodge 1079
Central Florida Council 083
1012 Girard Dr
Orlando, FL 32824


Orlando Fire Dept
Central Florida Council 083
P.O. Box 2846
Orlando, FL 32802


Orlando Police Dept
Central Florida Council 083
100 S Hughey Ave
Orlando, FL 32801


Orlando Suarez
Address Redacted


Orlando World Center Marriott R C
8701 World Ctr Dr
Orlando, FL 32821


Orleans Christian Church
Hoosier Trails Council 145 145
P.O. Box 183
Orleans, IN 47452


Orloski Law Firm
111 N Cedar Crest Blvd
Allentown, PA 18104


Ormandy S Toy    Trains
10 Public Square
Medina, OH 44256


Ormond Beach Police Dept.
Central Florida Council 083
170 W Granada Blvd
Ormond Beach, FL 32174
Ornithoper Zone
582 Laurelton Rd
Rochester, NY 14609


Oro Grande Scouting Committee
California Inland Empire Council 045
P.O. Box 412
Oro Grande, CA 92368


Oro Valley Police Dept
Catalina Council 011
11000 N La Canada Dr
Oro Valley, AZ 85737


Orono Police Dept
Northern Star Council 250
2730 Kelley Pkwy
Orono, MN 55356


Orono‐Old Town Kiwanis Club
Katahdin Area Council 216
P.O. Box 515
Orono, ME 04473


Oroville Ca Post 95 American Legion
Golden Empire Council 047
P.O. Box 1506
Oroville, CA 95965


Oroville Christian Church
Golden Empire Council 047
1154 Plumas Ave
Oroville, CA 95965


Orpheus Arts, LLC
dba Hot Sake
1510 Camden Rd
Charlotte, NC 28203


Ortega Utd Methodist Church
North Florida Council 087
4807 Roosevelt Blvd
Jacksonville, FL 32210


Ortho Clinical Diagnostics
Seneca Waterways 397
100 Indigo Creek Dr
Rochester, NY 14626


Orthocarolina Pa
P.O. Box 602179
Charlotte, NC 28260‐2179


Orthodox Congregational Church
Narragansett 546
17 W St
Mansfield, MA 02048


Orting Utd Methodist Church
Pacific Harbors Council, Bsa 612
109 Train St Se
P.O. Box 761


Orton Keyes Development
Blackhawk Area 660
633 Ranger St
Rockford, IL 61109


Orville Collins
Address Redacted


Orville Turner
Address Redacted


Oryx Digital Ltd
Oryx House
10 Sandringham Rd
Swindon, Wilts, Sn3 1Hp
United Kingdom


Osage Community Elks Lodge 2705
Great Rivers Council 653
174 Elks Ln
Gravois Mills, MO 65037


Osakis Lions Club
Northern Lights Council 429
P.O. Box 357
Osakis, MN 56360


Osama Hussein
Address Redacted


Osborne Coinage Co
2851 Massachusetts Ave
Cincinnati, OH 45225


Osborne Elementary
Knights Of Columbus Ass.
Sam Houston Area Council 576
800 Ringold St
Houston, Tx 77088


Osborne Memorial Vfw Post 7743
Coronado Area Council 192
123 W Main St
Osborne, KS 67473


Oscar Andrade
Address Redacted


Oscar E Manjerovic
Address Redacted


Oscar Guzman
Address Redacted


Oscar Loeffler
Address Redacted


Oscar Londono
Address Redacted
Oscar Santoyo
Address Redacted


Osceola Utd Methodist Church
Lasalle Council 165
431 N Beech Rd
Osceola, IN 46561


Osceola Vfw Post 3227
Central Florida Council 083
801 Maryland Ave
Saint Cloud, FL 34769


Osceolas Chekee Craftsman
P.O. Box 651935
Miami, FL 33265‐1935


Oscoda Utd Methodist Church
Water and Woods Council 782
120 W Dwight St
Oscoda, MI 48750


Oseola Mccarty Youth Development Center
Pine Burr Area Council 304
607 Mcswain St
Hattiesburg, MS 39401


Osgood American Legion Post 267
Hoosier Trails Council 145 145
120 S Elm St
Osgood, IN 47037


Osgood Center For Internt L Studies
1629 K St Nw, Ste 300
Washington, DC 20006


Oshkosh Lodge 27 Free   Accepted Masons
Bay‐Lakes Council 635
204 Washington Ave
Oshkosh, WI 54901
Oshkosh Police
Attn Officer Harris 359
Bay‐Lakes Council 635
P.O. Box 1130
Oshkosh, WI 54903


Oshtemo Rotary
Southern Shores Fsc 783
P.O. Box 241
Oshtemo, MI 49077


Osis Building Supplies
Box 310
Pinefalls, Mb R0E 1M0
Canada


Oskar A Andrews Vfw Post 1794
Great Lakes Fsc 272
28836 Armanda Dr
Warren, MI 48088


Osmara Vielma‐Brdt
Address Redacted


Osprey Nautical Foundation
South Florida Council 084
4794 Brighton Lakes Blvd
Boynton Beach, FL 33436


Osprey Packs, Inc
115 Progress Cir
Cortez, CO 81321


Osprey Packs, Inc
P.O. Box 913157
Denver, CO 80291‐3157


Osseo Commercial Club
Gateway Area 624
14443 5th St
Osseo, WI 54758
Osseo Senior High School
Northern Star Council 250
317 2nd Ave Nw
Osseo, MN 55369


Ossian Conservation Club
Anthony Wayne Area 157
9950 N 100 E
Ossian, IN 46777


Ossining Volunteer Fire Deparment
Westchester Putnam 388
21 State St
Ossining, NY 10562


Ostmann Elementary PTO
Greater St Louis Area Council 312
200 Meriwether Lewis Dr
O Fallon, MO 63368


Ostmann Elementary School PTO
Greater St Louis Area Council 312
200 Meriwether Lewis Dr
Dardenne Prairie, MO 63368


Osu
Attn Joanne Kindschi ‐ Bursars Office
113 Student Union
Stillwater, OK 74078


Osu Career Services/Summer Camp Fair
360 Student Union
Stillwater, OK 74078‐7056


Osu Extension Seneca County
Black Swamp Area Council 449
3140 S State Route 100, Ste E
Tiffin, OH 44883


Osu Veterinary Medicine
Simon Kenton Council 441
1900 Coffey Rd
Columbus, OH 43210


Osvaldo Rodriguez Aybar
Address Redacted


Oswald Roam   Rew LLC
601 NW Jefferson St, Ste 1
Blue Springs, MO 64014


Oswego First Utd Methodist Church
Longhouse Council 373
7111 State Route 104
Oswego, NY 13126


Oswego Police Dept Explorers
Three Fires Council 127
3525 US Hwy 34
Oswego, IL 60543


Oswego Presbyterian Church
Three Fires Council 127
1976 State Route 25
Oswego, IL 60543


Oswego State
408 Culkin Hall Suny Oswego
Oswego, NY 13126


Oswego State University
Attn Financial Aid
206 Culkin Hall
Oswego, NY 13126


Oswego Town Vol Fire Dept
Longhouse Council 373
640 County Route 20
Oswego, NY 13126


Otha Council
Address Redacted


Othal Smith
Address Redacted


Othello Police Dept
Grand Columbia Council 614
500 E Main St
Othello, WA 99344


Othello Sporting Goods
Attn Accounts Payable
P.O. Box 2891
Othello, WA 99344


Otis Davis
Address Redacted


Otis Elevator Co
4768 Chimney Dr
Charleston, WV 25302


Otis Elevator Co
P.O. Box 73579
Chicago, IL 60673‐7579


Otis Spunkmeyer, Inc
7090 Collection Dr
Chicago, IL 60693


Otisville Church Of Christ
Water and Woods Council 782
13471 N State Rd
Otisville, MI 48463


Otisville Lions Club
Hudson Valley Council 374
2 Highland Ave
Otisville, NY 10963
Otisville‐Mt. Hope Presbyterian Church
Hudson Valley Council 374
P.O. Box 628
Otisville, NY 10963


Otrrop 957
4007 N Dawn Cypress Ct
Houston, TX 77059


Otsego Utd Methodist Church
President Gerald R Ford 781
223 E Allegan St
Otsego, MI 49078


Ottawa County Boys And Girls Club Miami
Cherokee Area Council 469 469
114 1st Ave Se
Miami, OK 74354


Ottawa Hills Scouting
Erie Shores Council 460
2151 Hawthorne Rd
Ottawa Hills, OH 43606


Ottawa Kiwanis Club
Black Swamp Area Council 449
P.O. Box 102
Ottawa, OH 45875


Ottawa‐Ward Church Of Jesus Christ LDS
W D Boyce 138
1377 Adams St
Ottawa, IL 61350


Otter Creek Church Of Christ
Middle Tennessee Council 560
409 Franklin Rd
Brentwood, TN 37027


Otter Products, LLC
Bldg 1 Old Town Square, Ste 303
Ft Collins, CO 80524
Otterbein Utd Methodist Ch Spry
New Birth Of Freedom 544
50 School St
York, Pa 17402


Otterbein Utd Methodist Church
Buckeye Council 436
6025 Shepler Church Ave Sw
Navarre, OH 44662


Otterbein Utd Methodist Church
Mason Dixon Council 221
108 E Franklin St
Hagerstown, MD 21740


Otterbein Utd Methodist Church
New Birth of Freedom 544
327 Newport Rd
Duncannon, PA 17020


Otterbein Utd Methodist Church
New Birth of Freedom 544
647 Forge Rd
Carlisle, PA 17015


Otterbein Utd Methodist Church
Sagamore Council 162
405 E Oxford St
Otterbein, IN 47970


Otterbein Utd Methodist Church
Susquehanna Council 533, 4th   Vine Sts
Sunbury, PA 17801


Otterbein Utd Methodist Church
Westmoreland Fayette 512
201 Lincoln Ave
Connellsville, PA 15425


Otto Township Lions Club
Allegheny Highlands Council 382
P.O. Box 328
Duke Center, PA 16729


Ottoville Immaculate Conception Church
Black Swamp Area Council 449
P.O. Box 296
Ottoville, OH 45876


Ouachita Christian School
Louisiana Purchase Council 213
7065 Hwy 165 N
Monroe, LA 71203


Ouachita Parish High School
Louisiana Purchase Council 213
681 Hwy 594
Monroe, LA 71203


Our Fathers Lutheran Church
Northern Star Council 250
3903 Gilbert Ave Se
Rockford, MN 55373


Our Heritage Studio
8918 S Tryon St
Charlotte, NC 28273


Our Holy Redeemer
Theodore Roosevelt Council 386
37 S Ocean Ave
18 Hansome Pl
Freeport, NY 11520


Our Lady Consolation Parish
Northern New Jersey Council, Bsa 333
1799 Hamburg Turnpike
Wayne, NJ 07470


Our Lady Help Of Christians
Greater Niagara Frontier Council 380
4125 Union Rd
Cheektowaga, NY 14225


Our Lady Help Of Christians Church
Mayflower Council 251
573 Washington St
Newton, MA 02458


Our Lady Help Of Christians Church
New Birth of Freedom 544
732 Main St
Lykens, PA 17048


Our Lady Help Of Christians Rcc
Greater New York Councils, Bsa 640
1315 E 28th St
Brooklyn, NY 11210


Our Lady Holy Souls Catholic Ch
Little Rock
Quapaw Area Council 018
1003 N Tyler St
Little Rock, Ar 72205


Our Lady Holy Souls Catholic Ch
Little Rock
Quapaw Area Council 018
914 N Harrison St
Little Rock, Ar 72205


Our Lady Immaculate Church
Pathway To Adventure 456
410 Washington Blvd
Oak Park, IL 60302


Our Lady Lourdes Catholic Sch     Rft
Crossroads Of America 160
30 S Downey Ave
Indianapolis, In 46219


Our Lady Lourdes RC Ch
Narragansett 546
130 Main St
Carver Square
Carver, Ma 02330


Our Lady Mercy Regional Catholic Sch
Cradle Of Liberty Council 525
29 Conwell Dr
Maple Glen, Pa 19002


Our Lady Mother Of The Church
Pathway To Adventure 456
8747 W Lawrence Ave
Chicago, IL 60656


Our Lady Mount Carmel Catholic Parish Ch
Grand Canyon Council 010
2121 S Rural Rd
Tempe, Az 85282


Our Lady Mount Carmel Church
Colonial Virginia Council 595
100 Harpersville Rd
Newport News, VA 23601


Our Lady Of Angels Catholic Church
Circle Ten Council 571
1914 Ridgeview Dr
Allen, TX 75013


Our Lady Of Angels Catholic Church
Lake Erie Council 440
3644 Rocky River Dr
Cleveland, OH 44111


Our Lady Of Angels Catholic Church
National Capital Area Council 082
13752 Marys Way
Woodbridge, VA 22191


Our Lady Of Angels Parish
Pacific Skyline Council 031
1721 Hillside Dr
Burlingame, CA 94010
Our Lady Of Angels Roman Catholic Church
Greater New York Councils, Bsa 640
7320 4th Ave
Brooklyn, NY 11209


Our Lady Of Assump Cath Home/Schl Organ
Glaciers Edge Council 620
2222 Shopiere Rd
Beloit, WI 53511


Our Lady Of Assumption Church
Greater Los Angeles Area 033
435 Berkeley Ave
Claremont, CA 91711


Our Lady Of Assumption Ptg
Golden Empire Council 047
2141 Walnut Ave
Carmichael, CA 95608


Our Lady Of Assumption Ptg
Golden Empire Council 047
5057 Cottage Way
Carmichael, CA 95608


Our Lady Of Assumption R.C. Church
Connecticut Yankee Council Bsa 072
81 Center Rd
Woodbridge, CT 06525


Our Lady Of Assumption Rc Church
Greater New York Councils, Bsa 640
1634 Mahan Ave
Bronx, NY 10461


Our Lady Of Calvary R.C. Church
Cradle of Liberty Council 525
11024 Knights Rd
Philadelphia, PA 19154
Our Lady Of Calvary Roman Catholic
Cradle of Liberty Council 525
11024 Knights Rd
Philadelphia, PA 19154


Our Lady Of Charity
Pathway To Adventure 456
3620 S 57th Ct
Cicero, IL 60804


Our Lady Of Charity Rc Church
Greater Niagara Frontier Council 380
65 Ridgewood Rd
Buffalo, NY 14220


Our Lady Of Consolation Catholic Church
Mecklenburg County Council 415
1235 Badger Ct
Charlotte, NC 28206


Our Lady Of Consolation Church
Buckeye Council 436
315 Clay St
Carey, OH 43316


Our Lady Of Divine Providence Catholic
Southeast Louisiana Council 214
1000 N Starrett Rd
Metairie, LA 70003


Our Lady Of Fatima Catholic Church
Del Mar Va 081
801 Dupont Hwy
New Castle, DE 19720


Our Lady Of Fatima Catholic Church
Denver Area Council 061
1985 Miller St
Lakewood, CO 80215


Our Lady Of Fatima Catholic Church
Greater Wyoming Council 638
1145 W 20th St
Casper, WY 82604


Our Lady Of Fatima Catholic Church
Orange County Council 039
105 N La Esperanza
San Clemente, CA 92672


Our Lady Of Fatima Church
Attn Father Paul Yuenger
Buckskin 617
545 Norway Ave
Huntington, WV 25705


Our Lady Of Fatima Church
Del Mar Va 081
801 N Dupont Hwy
New Castle, DE 19720


Our Lady Of Fatima Church
Greater Yosemite Council 059
505 W Granger Ave
Modesto, CA 95350


Our Lady Of Fatima Church
Laurel Highlands Council 527
2270 Brodhead Rd
Aliquippa, PA 15001


Our Lady Of Fatima Church
Northern New Jersey Council, Bsa 333
82 Congress St
Newark, NJ 07105


Our Lady Of Fatima Parish
Evangeline Area 212
2319 Johnston St
Lafayette, LA 70503


Our Lady Of Fatima Parish
Great Swest Council 412
Hwy 191 Rt 7
Chinle, AZ 86503


Our Lady Of Fatima R.C. Church
Connecticut Yankee Council Bsa 072
382 Hope Hill Rd
Yalesville, CT 06492


Our Lady Of Fatima Roman Catholic Church
Patriots Path Council 358
403 Spring St
Elizabeth, NJ 07201


Our Lady Of Fatima Roman Catholic Church
Patriots Path Council 358
501 New Market Rd
Piscataway, NJ 08854


Our Lady Of Good Counsel
Garden State Council 690
42 W Main St
Moorestown, NJ 08057


Our Lady Of Good Counsel Catholic Church
Great Lakes Fsc 272
1062 Church St
Plymouth, MI 48170


Our Lady Of Good Counsel Catholic Church
National Capital Area Council 082
8601 Wolftrap Rd
Vienna, VA 22182


Our Lady Of Good Counsel Catholic Church
Three Fires Council 127
620 5th St
Aurora, IL 60505


Our Lady Of Good Counsel Church
Aloha Council, Bsa 104
1525 Waimano Home Rd
Pearl City, HI 96782
Our Lady Of Good Counsel Church
Washington Crossing Council 777
611 Knowles Ave
Southampton, PA 18966


Our Lady Of Good Counsel Parish
Greater New York Councils, Bsa 640
10 Austin Pl
Staten Island, NY 10304


Our Lady Of Good Counsel Parish
The Spirit of Adventure 227
22 Plymouth St
Methuen, MA 01844


Our Lady Of Good Help Catholic Church
Narragansett 546
Old Victory Hwy
Mapleville, RI 02839


Our Lady Of Good Hope Church
Miami Valley Council, Bsa 444
6 S 3rd St
Miamisburg, OH 45342


Our Lady Of Grace
Golden Empire Council 047
1990 Linden Rd
West Sacramento, CA 95691


Our Lady Of Grace
Northern Star Council 250
5071 Eden Ave
Edina, MN 55436


Our Lady Of Grace Catholic Church
Northern Star Council 250
5051 Eden Ave
Edina, MN 55436


Our Lady Of Grace Catholic Church
Old N State Council 070
2201 W Market St
Greensboro, NC 27403


Our Lady Of Grace Catholic Church
San Diego Imperial Council 049
2766 Navajo Rd
El Cajon, CA 92020


Our Lady Of Grace Catholic Church School
W.L.A.C.C. 051
5011 White Oak Ave
Encino, CA 91316


Our Lady Of Grace Church
Baltimore Area Council 220
P.O. Box 360
18310 Middletown Rd
Parkton, MD 21120


Our Lady Of Grace Church
Connecticut Yankee Council Bsa 072
497 2nd Hill Ln
Stratford, CT 06614


Our Lady Of Grace Church
Crossroads of America 160
9900 E 191st St
Noblesville, IN 46060


Our Lady Of Grace Church
Great Trail 433
1088 Ridge Rd
Hinckley, OH 44233


Our Lady Of Grace R C C
Narragansett 546
569 Sanford Rd
Westport, MA 02790


Our Lady Of Grace Rc Church
Greater New York Councils, Bsa 640
430 Ave W
Brooklyn, NY 11223


Our Lady Of Grace Roman Catholic Church
Greater New York Councils, Bsa 640
430 Ave W
Brooklyn, NY 11223


Our Lady Of Grace Roman Catholic Church
Laurel Highlands Council 527
310 Kane Blvd
Pittsburgh, PA 15243


Our Lady Of Grace Roman Catholic Church
Northern New Jersey Council, Bsa 333
395 Delano Pl
Fairview, NJ 07022


Our Lady Of Grace Roman Catholic Church
Washington Crossing Council 777
225 Bellevue Ave
Penndel, PA 19047


Our Lady Of Guadalupe
California Inland Empire Council 045
5048 D St
Chino, CA 91710


Our Lady Of Guadalupe
Chief Seattle Council 609
7000 35th Ave Sw
Seattle, WA 98126


Our Lady Of Guadalupe
Garden State Council 690
135 N White Horse Pike
Laurel Springs, NJ 08021


Our Lady Of Guadalupe Catholic Church
East Texas Area Council 585
922 Old Omen Rd
Tyler, TX 75701
Our Lady Of Guadalupe Catholic Church
Northern Star Council 250
401 Concord St
Saint Paul, MN 55107


Our Lady Of Guadalupe Catholic Church
Orange County Council 039
900 W La Habra Blvd
La Habra, CA 90631


Our Lady Of Guadalupe Catholic Church
Rio Grande Council 775
620 N Dunlap Ave
Mission, TX 78572


Our Lady Of Guadalupe Catholic Church
San Diego Imperial Council 049
153 E Brighton Ave
El Centro, CA 92243


Our Lady Of Guadalupe Catholic Church
San Francisco Bay Area Council 028
41933 Blacow Rd
Fremont, CA 94538


Our Lady Of Guadalupe Catholic Church
South Florida Council 084
3900 NW 79th Ave, Ste 731
Doral, FL 33166


Our Lady Of Guadalupe Church Rosehills
Greater Los Angeles Area 033
4509 Mercury Ave
Los Angeles, CA 90032


Our Lady Of Guadalupe Rc Church
Washington Crossing Council 777
5194 Cold Spring Creamery Rd
Doylestown, PA 18902
Our Lady Of Guadalupe/Helotes
Alamo Area Council 583
13715 Riggs Rd
Helotes, TX 78023


Our Lady Of Hope
Lake Erie Council 440
400 Center Rd
Bedford, OH 44146


Our Lady Of Hope Catholic Church
Central Florida Council 083
4675 Clyde Morris Blvd
Port Orange, FL 32129


Our Lady Of Hope Catholic Church
National Capital Area Council 082
46639 Algonkian Pkwy
Sterling, VA 20165


Our Lady Of Hope Parish
Garden State Council 690
701 Little Gloucester Rd
Blackwood, NJ 08012


Our Lady Of Hope Parish
Twin Rivers Council 364
115 Reid St
Fort Plain, NY 13339


Our Lady Of Hope Roman Catholic Church
Baltimore Area Council 220
1727 Lynch Rd
Dundalk, MD 21222


Our Lady Of Humility Catholic Church
Northeast Illinois 129
10655 W Wadsworth Rd
Beach Park, IL 60099


Our Lady Of Lakes/Oak Co Sportsman Club
Great Lakes Fsc 272
4770 Waterford Rd
Clarkston, MI 48346


Our Lady Of Las Vegas Catholic Church
Las Vegas Area Council 328
3050 Alta Dr
Las Vegas, NV 89107


Our Lady Of Lavang Catholic Church
Sam Houston Area Council 576
12320 Old Foltin Rd
Houston, TX 77086


Our Lady Of Lavang Parish
Cascade Pacific Council 492
5404 NE Alameda St
Portland, OR 97213


Our Lady Of Loreto Catholic Church
Denver Area Council 061
18000 E Arapahoe Rd
Foxfield, CO 80016


Our Lady Of Loretto Church
Pathway To Adventure 456
8925 S Kostner Ave
Hometown, IL 60456


Our Lady Of Lourdes
Bay‐Lakes Council 635
1305 Lourdes Ave
De Pere, WI 54115


Our Lady Of Lourdes
Occoneechee 421
2710 Overbrook Dr
Raleigh, NC 27608


Our Lady Of Lourdes
Seneca Waterways 397
150 Varinna Dr
Rochester, NY 14618
Our Lady Of Lourdes
Southeast Louisiana Council 214
345 Wchester Pl
Slidell, LA 70458


Our Lady Of Lourdes
Three Harbors Council 636
3722 S 58th St
Milwaukee, WI 53220


Our Lady Of Lourdes ‐ Washington
Greater St Louis Area Council 312
1014 Madison Ave
Washington, MO 63090


Our Lady Of Lourdes Catholic Church
Dan Beard Council, Bsa 438
2832 Rosebud Dr
Cincinnati, OH 45238


Our Lady Of Lourdes Catholic Church
Great Rivers Council 653
903 Bemadotle Dr
Columbia, MO 65203


Our Lady Of Lourdes Catholic Church
Great Rivers Council 653
903 Bernadette Dr
Columbia, MO 65203


Our Lady Of Lourdes Catholic Church
Great Salt Lake Council 590
1085 E 700 S
Salt Lake City, UT 84102


Our Lady Of Lourdes Catholic Church
Greater St Louis Area Council 312
3850 Lourdes Dr
Decatur, IL 62526
Our Lady Of Lourdes Catholic Church
Greater St Louis Area Council 312
7148 Forsyth Blvd
Saint Louis, MO 63105


Our Lady Of Lourdes Catholic Church
Greater Tampa Bay Area 089
750 San Salvador Dr
Dunedin, FL 34698


Our Lady Of Lourdes Catholic Church
Heart of Virginia Council 602
8200 Woodman Rd
Richmond, VA 23228


Our Lady Of Lourdes Catholic Church
Illowa Council 133
1506 Brown St
Bettendorf, IA 52722


Our Lady Of Lourdes Catholic Church
Laurel Highlands Council 527
2716 Broad Ave
Altoona, PA 16601


Our Lady Of Lourdes Catholic Church
Lincoln Heritage Council 205
508 Breckenridge Ln
Louisville, KY 40207


Our Lady Of Lourdes Catholic Church
Mid‐America Council 326
2110 S 32nd Ave
Omaha, NE 68105


Our Lady Of Lourdes Catholic Church
National Capital Area Council 082
830 23rd St S
Arlington, VA 22202


Our Lady Of Lourdes Catholic Church
Ozark Trails Council 306
109 E 9th St
P.O. Box 214
Pittsburg, KS 66762


Our Lady Of Lourdes Catholic Church
Sam Houston Area Council 576
6550 Fairbanks N Houston Rd
Houston, TX 77040


Our Lady Of Lourdes Catholic Church
Simon Kenton Council 441
1033 W 5th St
Marysville, OH 43040


Our Lady Of Lourdes Catholic Parish
Crossroads of America 160
5333 E Washington St
Indianapolis, IN 46219


Our Lady Of Lourdes Catholic School
468 W 143Rd St
New York, NY 10031


Our Lady Of Lourdes Church
Central Minnesota 296
208 W Broadway
Little Falls, MN 56345


Our Lady Of Lourdes Church
New Birth of Freedom 544
225 Salt Rd
Enola, PA 17025


Our Lady Of Lourdes Mens Club
W.L.A.C.C. 051
18405 Superior St
Northridge, CA 91325


Our Lady Of Lourdes Parish
Cascade Pacific Council 492
4723 NW Franklin St
Vancouver, WA 98663
Our Lady Of Lourdes Parish And School
South Florida Council 084
11291 SW 142nd Ave
Miami, FL 33186


Our Lady Of Lourdes R C Church
Connecticut Rivers Council, Bsa 066
1650 Route 12
Gales Ferry, CT 06335


Our Lady Of Lourdes R C Church
Leatherstocking 400
10 Barton Ave
Utica, NY 13502


Our Lady Of Lourdes R C Church
Leatherstocking 400
2 Barton Ave
Utica, NY 13502


Our Lady Of Lourdes Rc Church
American Legion Post 44
Theodore Roosevelt Council 386
65 Wright Ave
Malverne, Ny 11565


Our Lady Of Lourdes Rc Church
Suffolk County Council Inc 404
455 Hunter Ave
West Islip, NY 11795


Our Lady Of Lourdes School
Montana Council 315
1305 5th Ave S
Great Falls, MT 59405


Our Lady Of Mercy
Iroquois Trail Council 376
44 Lake St
Le Roy, NY 14482
Our Lady Of Mercy Catholic Church
Attn Father Domingo Orimaco
San Francisco Bay Area Council 028
1 Elmwood Dr
Daly City, CA 94015


Our Lady Of Mercy Catholic Church
French Creek Council 532
837 Bartlett Rd
Harborcreek, PA 16421


Our Lady Of Mercy Catholic Church
Three Fires Council 127
701 S Eola Rd
Aurora, IL 60504


Our Lady Of Mercy Church
Old Hickory Council 427
1730 Link Rd
Winston Salem, NC 27103


Our Lady Of Mercy Church
Pathway To Adventure 456
4432 N Troy St
Chicago, IL 60625


Our Lady Of Mercy Parish
National Capital Area Council 082
9200 Kentsdale Dr
Potomac, MD 20854


Our Lady Of Mercy Roman Catholic Church
Greater New York Councils, Bsa 640
7001 Kessel St
Forest Hills, NY 11375


Our Lady Of Mercy Roman Catholic Church
Istrouma Area Council 211
445 Marquette Ave
Baton Rouge, LA 70806
Our Lady Of Mercy Roman Catholic Church
Northern New Jersey Council, Bsa 333
2 Fremont Ave
Park Ridge, NJ 07656


Our Lady Of Mount Carmel
Lincoln Heritage Council 205
5505 New Cut Rd
Louisville, KY 40214


Our Lady Of Mount Carmel
Pathway To Adventure 456
1101 N 23rd Ave
Melrose Park, IL 60160


Our Lady Of Mount Carmel Academy
Pathway To Adventure 456
720 W Belmont Ave
Chicago, IL 60657


Our Lady Of Mount Carmel Church
Colonial Virginia Council 595
Catholic Diocese Of
Richmond Bsa, Inc
Newport News, VA 23601


Our Lady Of Mount Carmel Church
Patriots Path Council 358
910 Birch St
Boonton, NJ 07005


Our Lady Of Mount Carmel R.C. Church
Connecticut Yankee Council Bsa 072
2819 Whitney Ave
Hamden, CT 06518


Our Lady Of Mount Carmel Rc Church
Washington Crossing Council 777
235 State St
Doylestown, PA 18901


Our Lady Of Mount Carmel School
Westchester Putnam 388
59 E Main St
Elmsford, NY 10523


Our Lady Of Mt Carmel
Los Padres Council 053
1300 E Valley Rd
Santa Barbara, CA 93108


Our Lady Of Mt Carmel Catholic Church
Crossroads of America 160
14598 Oak Ridge Rd
Carmel, IN 46032


Our Lady Of Mt Carmel Catholic Church
Greater St Louis Area Council 312
316 W Monroe St
Herrin, IL 62948


Our Lady Of Mt Carmel Catholic Church
Minsi Trails Council 502
560 N 6th St
Roseto, PA 18013


Our Lady Of Mt Carmel Catholic Church
San Diego Imperial Council 049
13541 Stoney Creek Rd
San Diego, CA 92129


Our Lady Of Mt Carmel Catholic Church
South Texas Council 577
1008 Austin St
Portland, TX 78374


Our Lady Of Mt Carmel Church
Allegheny Highlands Council 382
13 Main St
Silver Creek, NY 14136


Our Lady Of Mt Carmel Church
Suffolk County Council Inc 404
495 N Ocean Ave
Patchogue, NY 11772


Our Lady Of Mt Carmel Holy Name Society
Greater St Louis Area Council 312
8747 Annetta Ave
Saint Louis, MO 63147


Our Lady Of Mt Carmel Roman Catholic
Northern New Jersey Council, Bsa 333
39 E 22nd St
Bayonne, NJ 07002


Our Lady Of Mt Carmel, Tenafly Nj
Northern New Jersey Council, Bsa 333
10 County Rd
Tenafly, NJ 07670


Our Lady Of Mt. Carmel Church
Rainbow Council 702
407 Irving St
Joliet, IL 60432


Our Lady Of Nazareth Catholic Church
Blue Ridge Mtns Council 599
2505 Electric Rd
Roanoke, VA 24018


Our Lady Of Peace
Northern Star Council 250
5426 12th Ave S
Minneapolis, MN 55417


Our Lady Of Peace
Theodore Roosevelt Council 386
25 Fowler Ave
Lynbrook, NY 11563


Our Lady Of Peace Catholic Church
Pathway To Adventure 456
701 Plainfield Rd
Darien, IL 60561
Our Lady Of Peace Catholic Church
Simon Kenton Council 441
20 E Dominion Blvd
Columbus, OH 43214


Our Lady Of Peace Church
French Creek Council 532
2401 W 38th St
Erie, PA 16506


Our Lady Of Peace Church
Voyageurs Area 286
108 S Marquette St
Ironwood, MI 49938


Our Lady Of Peace Parish
Garden State Council 690
32 Carroll Ave
Williamstown, NJ 08094


Our Lady Of Peace R C Church
French Creek Council 532
2401 W 38th St
Erie, PA 16506


Our Lady Of Peace R.C. Church
Connecticut Yankee Council Bsa 072
651 Stratford Rd
Stratford, CT 06615


Our Lady Of Peace Roman Catholic Church
Monmouth Council, Bsa 347
1740 US Hwy 130
North Brunswick, NJ 08902


Our Lady Of Peace Roman Catholic Church
Monmouth Council, Bsa 347
277 Washington Pl
North Brunswick, NJ 08902


Our Lady Of Peace Roman Catholic Church
Patriots Path Council 358
111 S St
New Providence, NJ 07974


Our Lady Of Perpetual Help
Minsi Trails Council 502
3219 Santee Rd
Bethlehem, PA 18020


Our Lady Of Perpetual Help
Simon Kenton Council 441
3730 Broadway
Grove City, OH 43123


Our Lady Of Perpetual Help
South Texas Council 577
5830 Williams Dr
Corpus Christi, TX 78412


Our Lady Of Perpetual Help
W.L.A.C.C. 051
23233 Lyons Ave
Newhall, CA 91321


Our Lady Of Perpetual Help Church
Alamo Area Council 583
16075 N Evans Rd
Selma, TX 78154


Our Lady Of Perpetual Help Church
Great Trail 433
342 S Chillicothe Rd
Aurora, OH 44202


Our Lady Of Perpetual Help Church
Southeast Louisiana Council 214
8968 Hwy 23
Belle Chasse, LA 70037


Our Lady Of Perpetual Help Church
Southern Sierra Council 030
124 Columbus St
Bakersfield, CA 93305


Our Lady Of Perpetual Help Parish
Grand Canyon Council 010
7655 E Main St
Scottsdale, AZ 85251


Our Lady Of Perpetual Help Parish
Jersey Shore Council 341
146 S Pitney Rd Bldg 1
Galloway, NJ 08205


Our Lady Of Perpetual Help Parish Selma
Alamo Area Council 583
16075 N Evans Rd
Selma, TX 78154


Our Lady Of Perpetual Help R C Church
Baltimore Area Council 220
4795 Ilchester Rd
Ellicott City, MD 21043


Our Lady Of Pompeii Rc Church
Greater Niagara Frontier Council 380
158 Laverack Ave
Lancaster, NY 14086


Our Lady Of Prompt Succor
Louisiana Purchase Council 213
401 21st St
Alexandria, LA 71301


Our Lady Of Prompt Succor
Southeast Louisiana Council 214
2320 Paris Rd
Chalmette, LA 70043


Our Lady Of Prompt Succor Church
Southeast Louisiana Council 214
146 4th St
Bridge City, LA 70094
Our Lady Of Prompt Succor School
Southeast Louisiana Council 214
2305 Fenelon St
Chalmette, LA 70043


Our Lady Of Providence Youth Act Asso
Greater St Louis Area Council 312
8866 Pardee Rd
Saint Louis, MO 63123


Our Lady Of Queen Of Heaven Cath Church
Calcasieu Area Council 209
612 W Claude
Lake Charles, LA 70606


Our Lady Of Refuge Catholic School
Long Beach Area Council 032
5210 E Los Coyotes Diagonal
Long Beach, CA 90815


Our Lady Of Sorrows
Rio Grande Council 775
1108 Hackberry
Mcallen, TX 78501


Our Lady Of Sorrows Catholic Church
Greater Alabama Council 001
3295 Parkridge Dr
Birmingham, AL 35209


Our Lady Of Sorrows Catholic Church
Rio Grande Council 775
1108 Hackberry Ave
Mcallen, TX 78501


Our Lady Of Sorrows Catholic School
Greater Alabama Council 001
1720 Oxmoor Rd
Birmingham, AL 35209


Our Lady Of Sorrows Church
Greater St Louis Area Council 312
5020 Rhodes Ave
Saint Louis, MO 63109


Our Lady Of Sorrows Parish
Great Lakes Fsc 272
23615 Power Rd
Farmington, MI 48336


Our Lady Of Sorrows Parish
Mayflower Council 251
59 Cottage St
Sharon, MA 02067


Our Lady Of Sorrows St Anthony
Roman Catholic Church
Washington Crossing Council 777
3816 E State St Ext
Hamilton, Nj 08619


Our Lady Of Tepeyac Elementary School
Pathway To Adventure 456
2235 S Albany Ave
Chicago, IL 60623


Our Lady Of The Assumption Church
California Inland Empire Council 045
796 W 48th St
San Bernardino, CA 92407


Our Lady Of The Assumption Church
Ventura County Council 057
3175 Telegraph Rd
Ventura, CA 93003


Our Lady Of The Assumption Rc Church
Greater New York Councils, Bsa 640
1634 Mahan Ave
Bronx, NY 10461


Our Lady Of The Black Hills
Black Hills Area Council 695 695
12365 Sturgis Rd
Piedmont, SD 57769


Our Lady Of The Blessed Sacrament Parish
Western Massachusetts Council 234
6 Union St
Westfield, MA 01085


Our Lady Of The Desert Catholic Church
California Inland Empire Council 045
18386 Corwin Rd
Apple Valley, CA 92307


Our Lady Of The Gulf
Pine Burr Area Council 304
228 S Beach Blvd
Bay Saint Louis, MS 39520


Our Lady Of The Gulf Catholic Church
Mobile Area Council‐Bsa 004
308 E 22nd Ave
Gulf Shores, AL 36542


Our Lady Of The Gulf Church
Pine Burr Area Council 304
228 S Beach Blvd
Bay Saint Louis, MS 39520


Our Lady Of The Hills Catholic Church
Indian Waters Council 553
120 Marydale Ln
Columbia, SC 29210


Our Lady Of The Holy Rosary Church
Green Mountain 592
P.O. Box 243
Richmond, VT 05477


Our Lady Of The Lake
Lake Erie Council 440
19951 Lake Shore Blvd
Euclid, OH 44119
Our Lady Of The Lake
Mayflower Council 251
P.O. Box 35
580 Monponsett St
Halifax, MA 02338


Our Lady Of The Lake
Voyageurs Area 286
201 Lake Shore Dr E
Ashland, WI 54806


Our Lady Of The Lake Catholic Church
Cascade Pacific Council 492
650 A Ave
Lake Oswego, OR 97034


Our Lady Of The Lake Catholic Church
Indian Waters Council 553
P.O. Box 549
195 Amicks Ferry Rd
Chapin, SC 29036


Our Lady Of The Lake Catholic Church
Istrouma Area Council 211
312 Lafitte St
Mandeville, LA 70448


Our Lady Of The Lake Church
c/o Cub Scout Pack 80
Patriots Path Council 358
294 Sparta Ave
Sparta, NJ 07871


Our Lady Of The Lake Church
French Creek Council 532
128 Sunset Dr
Edinboro, PA 16412


Our Lady Of The Lake Church
Lasalle Council 165
24832 US Hwy 12
Edwardsburg, MI 49112


Our Lady Of The Lake Church
Northern Star Council 250
2385 Commerce Blvd
Mound, MN 55364


Our Lady Of The Lake Parish
Chief Seattle Council 609
8900 35th Ave Ne
Seattle, WA 98115


Our Lady Of The Lakes Catholic Church
South Florida Council 084
6600 Miami Lakeway N
Miami Lakes, FL 33014


Our Lady Of The Lakes Church
Connecticut Rivers Council, Bsa 066
752 Norwich Salem Tpke
Oakdale, CT 06370


Our Lady Of The Lakes Parish
Great Lakes Fsc 272
5481 Dixie Hwy
Waterford, MI 48329


Our Lady Of The Miraculous Medal Church
Daniel Webster Council, Bsa 330
289 Lafayette Rd
Hampton, NH 03842


Our Lady Of The Most Blessed Sacrament
Laurel Highlands Council 527
1526 Union Ave
Natrona Heights, PA 15065


Our Lady Of The Most Holy Rosary
Evangeline Area 212
603 N Hebert Ave
Kaplan, LA 70548
Our Lady Of The Mountain Catholic Church
Catalina Council 011
1425 E Yaqui St
Sierra Vista, AZ 85650


Our Lady Of The Presentation Church
Heart of America Council 307
130 NW Murray Rd
Lees Summit, MO 64081


Our Lady Of The Rosary Catholic Church
Greater Tampa Bay Area 089
2348 Collier Pkwy
Land O Lakes, FL 34639


Our Lady Of The Rosary Church
Dan Beard Council, Bsa 438
17 Farragut Rd
Cincinnati, OH 45218


Our Lady Of The Rosary Church
Longhouse Council 373
923 Cayuga St
Hannibal, NY 13074


Our Lady Of The Snows
Pathway To Adventure 456
4810 S Leamington
Chicago, IL 60638


Our Lady Of The Springs Catholic Church
North Florida Council 087
4047 NE 21st St
Ocala, FL 34470


Our Lady Of The Valley
Five Rivers Council, Inc 375
343 Canisteo St
Hornell, NY 14843


Our Lady Of The Valley
Northern New Jersey Council, Bsa 333
614 Valley Rd
Wayne, NJ 07470


Our Lady Of The Valley Catholic Church
Greater Alabama Council 001
5514 Double Oak Ln
Birmingham, AL 35242


Our Lady Of The Valley Catholic Church
Montana Council 315
P.O. Box 4097
Helena, MT 59604


Our Lady Of The Valley Catholic Church
Ore‐Ida Council 106 ‐ Bsa 106
1122 W Linden St
Caldwell, ID 83605


Our Lady Of The Valley Catholic Church
Ore‐Ida Council 106 ‐ Bsa 106
4007 Brian Ave
Caldwell, ID 83605


Our Lady Of The Valley Parish
Blue Mountain Council 604
1002 L Ave
La Grande, OR 97850


Our Lady Of The Valley Parish
Catalina Council 011
505 N La Canada Dr
Green Valley, AZ 85614


Our Lady Of The Valley Parish
Western Massachusetts Council 234
33 Adams St
Easthampton, MA 01027


Our Lady Of The Valley Roman Catholic
Northern New Jersey Council, Bsa 333
630 Valley Rd
Wayne, NJ 07470


Our Lady Of The Wayside Catholic Church
Pathway To Adventure 456
434 W Park St
Arlington Heights, IL 60005


Our Lady Of The Wayside Home
School Assoc
Pathway To Adventure 456
432 S Mitchell Ave
Arlington Heights, Il 60005


Our Lady Of The Woods
Pathway To Adventure 456
10731 W 131st St
Orland Park, IL 60462


Our Lady Of Victory Catholic Church
Dan Beard Council, Bsa 438
810 Neeb Rd
Cincinnati, OH 45233


Our Lady Of Victory Catholic Church
Illowa Council 133
4105 N Div St
Davenport, IA 52806


Our Lady Of Victory Catholic Church
South Texas Council 577
1309 E Mesquite Ln
Victoria, TX 77901


Our Lady Of Victory Church
Cape Cod and Islands Cncl 224
230 S Main St
Centerville, MA 02632


Our Lady Of Victory Dad S Club
Great Lakes Fsc 272
132 Orchard Dr
Northville, MI 48167
Our Lady Of Victory R.C. Church
Connecticut Yankee Council Bsa 072
600 Jones Hill Rd
West Haven, CT 06516


Our Lady Of Victory School
Juniata Valley Council 497
820 Werly Pkwy
State College, PA 16801


Our Lady Of Visitation Catholic Church
Dan Beard Council, Bsa 438
3172 S Rd
Cincinnati, OH 45248


Our Lady Perpetual Help Catholic Ch
Northern New Jersey Council, Bsa 333
25 Purdue Ave
Oakland, Nj 07436


Our Lady Perpetual Help Catholic Ch
San Diego Imperial Council 049
13208 Lakeshore Dr
Lakeside, Ca 92040


Our Lady Perpetual Help Catholic Ch
Sequoia Council 027
929 Harvard Ave
Clovis, Ca 93612


Our Lady Perpetual Help Church
Chickasaw Council 558
8151 Poplar Ave
Germantown, TN 38138


Our Lady Perpetual Help RC Ch
Greater New York Councils, Bsa 640
526 59Th St
Brooklyn, Ny 11220
Our Lady Perpetual Help RC Ch
Northeast Illinois 129
1775 Grove St
Glenview, Il 60025


Our Lady Perpetual Help Youth Ministry
Lincoln Heritage Council 205
1752 Scheller Ln
New Albany, In 47150


Our Lady Queen Of Angels
Laurel Highlands Council 527
738 Sunshine Ave
Central City, PA 15926


Our Lady Queen Of Angels School
Orange County Council 039
2046 Mar Vista Dr
Newport Beach, CA 92660


Our Lady Queen Of Heaven Catholic Parish
Pacific Harbors Council, Bsa 612
14601 A St S
Tacoma, WA 98444


Our Lady Queen Of Heaven Catholic School
Calcasieu Area Council 209
3908 Creole St
Lake Charles, LA 70605


Our Lady Queen Of Martyrs Church
Great Lakes Fsc 272
32340 Pierce St
Beverly Hills, MI 48025


Our Lady Queen Of Peace
Lake Erie Council 440
708 Erie St
Grafton, OH 44044


Our Lady Queen Of Peace Catholic Church
Glaciers Edge Council 620
401 S Owen Dr
Madison, WI 53711


Our Lady Queen Of Peace Catholic Church
Green Mountain 592
240 US Route 2E
Danville, VT 05828


Our Lady Queen Of Peace R C C
Minsi Trails Council 502
1402 Route 209
Gilbert, PA 18331


Our Lady Queen Of Peace School
Bay Area Council 574
1600 Hwy 2004
Richwood, TX 77531


Our Lady Queen Of Peace School
Northern New Jersey Council, Bsa 333
1911 Union Valley Rd
Hewitt, NJ 07421


Our Lady Queen Of Peace Youth Ministry
Greater St Louis Area Council 312
4696 Notre Dame Dr
House Springs, MO 63051


Our Lady Refuge RC Sch Sr
Greater New York Councils, Bsa 640
2708 Briggs Ave
Bronx, Ny 10458


Our Lady S Academy
The Spirit of Adventure 227
920 Trapelo Rd
Waltham, MA 02452


Our Lady S Catholic Academy
Greater New York Councils, Bsa 640
10955 128th St
South Ozone Park, NY 11420
Our Lady Star Of The Sea
Greater New York Councils, Bsa 640
5411 Amboy Rd
Staten Island, NY 10312


Our Lady Star Of The Sea
National Capital Area Council 082
P.O. Box 560
Solomons, MD 20688


Our Lady Star Of The Sea Catholic Church
National Capital Area Council 082
P.O. Box 560
Solomons, MD 20688


Our Lady Star Of The Sea Catholic Church
Pee Dee Area Council 552
1100 8th Ave N
North Myrtle Beach, SC 29582


Our Lady Star Of The Sea Catholic Church
Rio Grande Council 775
P.O. Box 6504
706 S Longoria St
Port Isabel, TX 78578


Our Lady Star Of The Sea Rc
Greater New York Councils, Bsa 640
5371 Amboy Rd
Staten Island, NY 10312


Our Lady Victory Catholic Ch Sch
Illowa Council 133
1627 W 42Nd St
Davenport, Ia 52806


Our Lady Victory RC Ch
Pathway To Adventure 456
5212 W Agatite Ave
Chicago, Il 60630
Our Lady, Assumption Catholic Ch
Atlanta Area Council 092
1350 Hearst Dr Ne
Brookhaven, Ga 30319


Our Lady, Greenwood Catholic Ch
Crossroads Of America 160
335 S Meridian St
Greenwood, In 46143


Our Lady, Most Blessed Sacrament Ch
Laurel Highlands Council 527
1526 Union Ave
Natrona Heights, Pa 15065


Our Ladys Immaculate Heart Catholic Ch
Mid Iowa Council 177
510 E 1St St
Ankeny, Ia 50021


Our Lday Of Guadalupe
Sioux Council 733
1220 E 8th St
Sioux Falls, SD 57103


Our Legacy Inc
Baltimore Area Council 220
10 E N Ave
Baltimore, MD 21202


Our Mother Consolation Catholic Ch
Cradle Of Liberty Council 525
9 E Chestnut Hill Ave
Philadelphia, Pa 19118


Our Mother Of Good Counsel Parish
Greater Los Angeles Area 033
2060 N Vermont Ave
Los Angeles, CA 90027


Our Mother Of Pertpetual Help Church
Pennsylvania Dutch Council 524
320 Church Ave
Ephrata, PA 17522


Our Mother Sorrows RC Ch
Seneca Waterways 397
5000 Mount Read Blvd
Rochester, Ny 14612


Our Redeemer Lutheran Church
North Florida Council 087
5401 Dunn Ave
Jacksonville, FL 32218


Our Redeemer Lutheran Church
Orange County Council 039
12301 Magnolia St
Garden Grove, CA 92841


Our Redeemer Lutheran Church
Three Harbors Council 636
10025 W N Ave
Milwaukee, WI 53226


Our Redeemer Lutheran Church
W D Boyce 138
1822 E Lincoln St
Bloomington, IL 61701


Our Redeemer Lutheran Mens Club
Greater St Louis Area Council 312
9153 E Milton Ave
Overland, MO 63114


Our Redeemer S Lutheran Church
Chief Seattle Council 609
2400 NW 85th St
Seattle, WA 98117


Our Redeemers Lutheran Church‐Helena
Montana Council 315
3580 N Benton Ave
Helena, MT 59602


Our Redeemers Utd Methodist Church
Pathway To Adventure 456
1600 W Schaumburg Rd
Schaumburg, IL 60194


Our Savior Catholic Church
Mobile Area Council‐Bsa 004
1801 Cody Rd S
Mobile, AL 36695


Our Savior Lutheran Church
1400 New York 52
Fishkill, NY 12524


Our Savior Lutheran Church
Capitol Area Council 564
1513 E Yager Ln
Austin, TX 78753


Our Savior Lutheran Church
Chief Seattle Council 609
745 Front St S
Issaquah, WA 98027


Our Savior Lutheran Church
Circle Ten Council 571
3003 Horizon Rd
Rockwall, TX 75032


Our Savior Lutheran Church
Circle Ten Council 571
411 N Town E Blvd
Mesquite, TX 75150


Our Savior Lutheran Church
Circle Ten Council 571
411 Town E Blvd
Mesquite, TX 75182
Our Savior Lutheran Church
Greater Los Angeles Area 033
512 W Duarte Rd
Arcadia, CA 91007


Our Savior Lutheran Church
Greater St Louis Area Council 312
2800 Elm St
Saint Charles, MO 63301


Our Savior Lutheran Church
Gulf Stream Council 085
1850 6th Ave
Vero Beach, FL 32960


Our Savior Lutheran Church
Hudson Valley Council 374
1400 Route 52
Fishkill, NY 12524


Our Savior Lutheran Church
Mid‐America Council 326
500 N 24th St
Denison, IA 51442


Our Savior Lutheran Church
National Capital Area Council 082
6194 Dumfries Rd
Warrenton, VA 20187


Our Savior Lutheran Church
National Capital Area Council 082
6324 Dumfries Rd
Warrenton, VA 20187


Our Savior Lutheran Church
North Florida Council 087
260 Marion Oaks Ln
Ocala, FL 34473


Our Savior Lutheran Church
Pacific Harbors Council, Bsa 612
4519 112th St E
Tacoma, WA 98446


Our Savior Lutheran Church
Piedmont Council 420
2160 35th Ave Dr Ne
Hickory, NC 28601


Our Savior Lutheran Church
Three Fires Council 127
1244 W Army Trail Rd
Carol Stream, IL 60188


Our Savior Lutheran Church And School
National Capital Area Council 082
825 S Taylor St
Arlington, VA 22204


Our Savior Lutheran Church Of Huron
Sioux Council 733
2040 Ohio Ave Sw
Huron, SD 57350


Our Savior S Lutheran Church
Blackhawk Area 660
P.O. Box 300
South Wayne, WI 53587


Our Savior S Lutheran Church
Central Minnesota 296
840 Lake Ave
Albany, MN 56307


Our Savior S Lutheran Church
Chippewa Valley Council 637
1300 Mansfield St
Chippewa Falls, WI 54729


Our Savior S Lutheran Church
Grand Columbia Council 614
1106 Taylor St
Sunnyside, WA 98944
Our Savior S Lutheran Church
Longs Peak Council 062
1800 21st Ave
Greeley, CO 80631


Our Savior S Lutheran Church
Voyageurs Area 286
501 E 23rd St
Hibbing, MN 55746


Our Savior S Lutheran Church
Voyageurs Area 286
615 12th St
Cloquet, MN 55720


Our Savior S Utd Methodist Church
Pathway To Adventure 456
701 E Schaumburg Rd
Schaumburg, IL 60194


Our Saviors Corner Of Hope
Denver Area Council 061
1975 S Garrison St
Lakewood, CO 80227


Our Saviors First Lutheran Church
W.L.A.C.C. 051
16603 San Fernando Mission Blvd B
Granada Hills, CA 91344


Our Saviors Lutheran Brotherhood
Gateway Area 624
P.O. Box 455
Whitehall, WI 54773


Our Saviors Lutheran Church
Blackhawk Area 660
3300 Rural St
Rockford, IL 61107
Our Saviors Lutheran Church
Cascade Pacific Council 492
1770 Baxter Rd Se
Salem, OR 97306


Our Saviors Lutheran Church
Chippewa Valley Council 637
147 E 4th Ave
Stanley, WI 54768


Our Saviors Lutheran Church
Chippewa Valley Council 637
910 9th St E
Menomonie, WI 54751


Our Saviors Lutheran Church
Gamehaven 299
2124 Viola Rd Ne
Rochester, MN 55906


Our Saviors Lutheran Church
Gateway Area 624
612 Div St
La Crosse, WI 54601


Our Saviors Lutheran Church
Gateway Area 624
P.O. Box 455
Whitehall, WI 54773


Our Saviors Lutheran Church
Glaciers Edge Council 620
749 Bluff St
Beloit, WI 53511


Our Saviors Lutheran Church
Las Vegas Area Council 328
59 Lynn Ln
Henderson, NV 89015


Our Saviors Lutheran Church
Mid‐America Council 326
600 Bluff St
Council Bluffs, IA 51503


Our Saviors Lutheran Church
Montana Council 315
10 E Madison Ave
Chester, MT 59522


Our Saviors Lutheran Church
Mount Baker Council, Bsa 606
215 W Mukilteo Blvd
Everett, WA 98203


Our Saviors Lutheran Church
Northern Lights Council 429
300 Blaine St S
Colfax, ND 58018


Our Saviors Lutheran Church
Northern Star Council 250
1207 Prairie Ave Sw
Faribault, MN 55021


Our Saviors Lutheran Church
Northern Star Council 250
1616 Olive St W
Stillwater, MN 55082


Our Saviors Lutheran Church
Northern Star Council 250
9185 Lexington Ave N
Circle Pines, MN 55014


Our Saviors Lutheran Church
Theodore Roosevelt Council 386
16 Glenwood Rd
Glen Head, NY 11545


Our Saviors Lutheran Church
Trapper Trails 589
560 S 2300 W
Roy, UT 84067
Our Saviors Lutheran Church
Twin Valley Council Bsa 283
1400 S State St
New Ulm, MN 56073


Our Saviors Lutheran Church
Voyageurs Area 286
1111 8th St S
Virginia, MN 55792


Our Saviors Lutheran Church ‐ Egf
Northern Lights Council 429
1515 5th Ave Nw
East Grand Forks, MN 56721


Our Saviors Lutheran Church‐American
Glaciers Edge Council 620
550 Lincoln Dr
Our Saviors Lutheran Church
Sun Prairie, WI 53590


Our Saviors Way Lutheran Church
National Capital Area Council 082
43115 Waxpool Rd
Broadlands, VA 20148


Our Saviour Evangelical Lutheran Church
Pathway To Adventure 456
3457 N Neva Ave
Chicago, IL 60634


Our Saviour S Church
Denver Area Council 061
1975 S Garrison St
Lakewood, CO 80227


Our Saviour S Lutheran Ch Fort Collins
Longs Peak Council 062
2000 S Lemay Ave
Fort Collins, Co 80525
Our Saviour S Lutheran Church
Colonial Virginia Council 595
7479 Richmond Rd
Williamsburg, VA 23188


Our Saviour S Lutheran Church
Great Salt Lake Council 590
2500 E 3900 S
Holladay, UT 84124


Our Saviour S Lutheran Church
Sam Houston Area Council 576
1001 Woodcreek Dr
College Station, TX 77845


Our Saviour S Lutheran Men
Mid‐America Council 326
1212 Sumner Ave Sw
Humboldt, IA 50548


Our Saviour Utd Church Of Christ
Bay‐Lakes Council 635
343 Scott St
Ripon, WI 54971


Our Saviours Evangelical Lutheran Church
Three Fires Council 127
815 S Washington St
Naperville, IL 60540


Our Saviours Lutheran Church
Colonial Virginia Council 595
7479 Richmond Rd
Williamsburg, VA 23188


Our Saviours Lutheran Church
Northern Lights Council 429
P.O. Box L
129 Harris Ave S
Park River, ND 58270
Our Saviours Lutheran Church
Northern Star Council 250
400 9th St W
Hastings, MN 55033


Our Saviours Lutheran Church
Northern Star Council 250
674 Johnson Pkwy
Saint Paul, MN 55106


Our Saviours Lutheran Church
Trapper Trails 589
5560 S 2300 W
Roy, UT 84067


Our Second Home
Pacific Skyline Council 031
251 Whittier St
Daly City, CA 94014


Our Second Home ‐ Westlake
Pacific Skyline Council 031
111 Lake Merced Blvd
Daly City, CA 94015


Our Second Home ‐ Woodrow Wilson
Pacific Skyline Council 031
111 Lake Merced Blvd
Daly City, CA 94015


Our Shepherd Lutheran Church
Baltimore Area Council 220
400 Benfield Rd
Severna Park, MD 21146


Our Shepherd Lutheran Church
Great Lakes Fsc 272
2225 E 14 Mile Rd
Birmingham, MI 48009


Our Shepherd Utd Church Of Christ
Bay‐Lakes Council 635
710 Ethan Allen Dr
Howards Grove, WI 53083


Out Island Sailing Adventures LLC
10166 Edelweiss Cr
Merriam, KS 66203


Out Island Sailing Adventures LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Outdoor Adventure Foundation
Utah National Parks 591
334 Millcreek Rd
Pleasant Grove, UT 84062


Outdoor Custom Sportswear LLC
7007 College Blvd, Ste 200
Overland Park, KS 66211


Outdoor Custom Sportswear LLC
P.O. Box 413245
Kansas City, MO 64141


Outdoor Education Center
2 Irvine Park Rd
Orange, CA 92705


Outdoor Element
P.O. Box 3392
Englewood, CO 80115


Outdoor Industry Assoc
2580 55th St, Ste 101
Boulder, CO 80301


Outdoor Industry Assoc
4909 Pearl E Cir, Ste 200
Boulder, CO 80301
Outdoor Life
P.O. Box 422062
Palm Coast, FL 32142‐9965


Outdoor Photographer
P.O. Box 37856
Boone, IA 50037‐4856


Outdoor Recreation Inc
Blackhawk Area 660
1480 S Ewood Dr
Woodstock, IL 60098


Outdoor Research
2203 1st Ave S, Suite 700
Seattle, WA 98134


Outdoor Retailer
Jp Morgan Chase
P.O. Box 88940
Chicago, IL 60695‐1940


Outdoor School
Los Padres Council 053
2680 Hwy 154
Santa Barbara, CA 93105


Outdoor Sports Marketing Of Sc Inc
123 Welborn St, Ste 203
Greenville, SC 29601


Outdoor Tactical Enterprises, Inc
114 Willis Pkwy
Jacksonville, NC 28546


Outdoor World Outfitters LLC
P.O. Box 4457
Yalesville, CT 06492


Outdoor Writers Assoc Of America Inc
615 Oak St, Ste 201
Missoula, MT 59801


Outdoor Youth Assoc
Chief Seattle Council 609
43510 SE 76th St
Snoqualmie, WA 98065


Outdoors   More, Inc
Attn Acounts Payable
455 W Parks Hwy
Wasilla, AK 99654


Outer Banks Presbyterian Church
Tidewater Council 596
907 S Croatan Hwy
Kill Devil Hills, NC 27948


Outrageous Learning Foundation
1416 112th Ave Ne
Bellevue, WA 98004


Outreach Ability Services LLC
Simon Kenton Council 441
28075 Logan Hornsmill Rd
Sugar Grove, OH 43155


Outside Magazine
P.O. Box 6227
Harlan, IA 51593‐5727


Outta The Blue Marina
50 Coco Plum Dr
Marathon, FL 33050


Outta The Box Design LLC
dba Vital Signs
103400 Overseas Hwy, Ste 103
Key Largo, FL 33037


Outwater Plastics Industries Inc
P.O. Box 500
Bogota, NJ 07603


Oval Utd Methodist Church
Susquehanna Council 533
6796 S Route 44 Hwy
Jersey Shore, PA 17740


Ovation Graphics LLC
P.O. Box 41047
Batin Rouge, LA 70835


Ovations Food Services LLP
Csu
8037 Campus Delivery
Ft Collins, CO 80523


Over The Edge Usa Inc
121 Hubley Mill Lake Rd
Upper Tantallon, NS B3Z 1E8
Canada


Overall Creek PTO
Middle Tennessee Council 560
429 Otter Trl
Murfreesboro, TN 37128


Overbrook Presbyterian Church
Simon Kenton Council 441
4131 N High St
Columbus, OH 43214


Overbrook School
Middle Tennessee Council 560
4210 Harding Pike
Nashville, TN 37205


Overbrook Utd Methodist Church
Jayhawk Area Council 197


Overbrook Utd Methodist Church
Jayhawk Area Council 197
P.O. Box 129
Overbrook, KS 66524


Overdale Utd Methodist Church
Lincoln Heritage Council 205
495 Overdale Dr
Louisville, KY 40229


Overhead Door Co Of Duluth
P.O. Box 16031
Duluth, MN 55816‐0031


Overhead Door Services, Inc
Dba Garage Doors    More of the Piedmont
18637 Nling Dr, Ste H
Cornelius, NC 28031


Overlake Park Utd Presbyterian Church
Chief Seattle Council 609
1836 156th Ave Ne
Bellevue, WA 98007


Overland Park Christian Church
Heart of America Council 307
7600 W 75th St
Shawnee Mission, KS 66204


Overland Park Fire Dept
Heart of America Council 307
12401 Hemlock St
Overland Park, KS 66213


Overland Park Lutheran Church
Heart of America Council 307
7810 W 79th St
Shawnee Mission, KS 66204


Overland Park Police Dept
Heart of America Council 307
12400 Foster St
Shawnee Mission, KS 66213
Overland Police Dept
Greater St Louis Area Council 312
2410 Goodale Ave
Saint Louis, MO 63114


Overland Police Dept
Kevin Norton Post 9346
2410 Goodale
Overland, MO 63114


Overland Trail Elementary School PTO
Heart of America Council 307
5409 W 132nd Ter
Overland Park, KS 66209


Overland Trails
2808 O Flannagan
P.O. Box 1361
Grand Island, NE 68802‐1361


Overland Trls Cncl 322
2808 O Flannagan
P.O. Box 1361
Grand Island, NE 68802‐1361


Overlook Scouts
Pine Burr Area Council 304
3610 Campbell Rd
Hattiesburg, MS 39401


Overmountain Venture Crew Sullivan East
Sequoyah Council 713
4180 Weaver Pike
Bluff City, TN 37618


Overnight Prints
7582 Las Vegas Blvd S, Ste 487
Las Vegas, NV 89123


Overton Rotary Club
East Texas Area Council 585
607 N Motley Dr
Overton, TX 75684


Ovidio Diaz
Address Redacted


Oviedo Fire Dept
Central Florida Council 083
400 Alexandria Blvd
Oviedo, FL 32765


Oviedo Police Dept
Central Florida Council 083
400 Alexandria Blvd
Oviedo, FL 32765


Ovilla Utd Methodist Church
Circle Ten Council 571
1403 Red Oak Creek Dr
Ovilla, TX 75154


Owasco Volunteer Fire Dept
Longhouse Council 373
7174 Owasco Rd
Auburn, NY 13021


Owasso First Assembly Of God Church
Indian Nations Council 488
9341 N 129th E Ave
Owasso, OK 74055


Owasso Utd Methodist Church
Indian Nations Council 488
13800 E 106th St N
Owasso, OK 74055


Owatonna Police Dept
Gamehaven 299
204 E Pearl St
Owatonna, MN 55060
Owatonna Utd Methodist Church
Gamehaven 299
815 E University St
Owatonna, MN 55060


Owen Elementary Parent Club
Great Lakes Fsc 272
1700 Baldwin Ave
Pontiac, MI 48340


Owen Elementary School
Indian Nations Council 488
1132 N Vandalia Ave
Tulsa, OK 74115


Owen Glen Mcculloch
Address Redacted


Owen Mcculloch
Address Redacted


Owen PTA
Indian Nations Council 488
1132 N Vandalia Ave
Tulsa, OK 74115


Owen Stribling
Address Redacted


Owen T Parks
Address Redacted


Owens Elementary PTO
Sam Houston Area Council 576
7939 Jackrabbit Rd
Houston, TX 77095


Owens Farm
Arbuckle Area Council 468
11471 County Rd 3570
Ada, OK 74820


Owensboro Police Dept
Lincoln Heritage Council 205
222 E 9th St
Owensboro, KY 42303


Owensville Lions Club
Great Rivers Council 653
P.O. Box 113
1816 Krausetown Rd
Owensville, MO 65066


Owen‐Withee Lions Club
Chippewa Valley Council 637
P.O. Box 121
Withee, WI 54498


Owen‐Withee‐Curtiss Fire District
Chippewa Valley Council 637
P.O. Box 36
Owen, WI 54460


Owingsville Baptist Church
Blue Grass Council 204
P.O. Box 662
Owingsville, KY 40360


Owingsville Christian Church
Blue Grass Council 204
439 Slate Ave
Owingsville, KY 40360


Owl Labs Inc
33‐1/2 Union Square
Somerville, MA 02143


Owren Walter Gorman
Address Redacted


Oxen Hill Middle School PTA
National Capital Area Council 082
9570 Fort Foote Rd
Ft Washington, MD 20744


Oxford ‐ Fire Dept
Heart of New England Council 230
181 Main St
Oxford, MA 01540


Oxford ‐ Utd Methodist Church
Heart of New England Council 230
465 Main St
Oxford, MA 01540


Oxford ‐ Ward Church Of Jesus Christ LDS
Heart of New England Council 230
49 Old Webster Rd
Oxford, MA 01540


Oxford Ambulance Assoc
Housatonic Council, Bsa 069
484 Oxford Rd P.O. Box 515
Oxford, CT 06478


Oxford Animal Hospital
Heart of America Council 307
13433 Switzer Rd
Overland Park, KS 66213


Oxford Christian Church
Blue Grass Council 204
2785 Oxford Village Ln
Georgetown, KY 40324


Oxford Fire Dept
Yocona Area Council 748
399 Mcelroy Dr
Oxford, MS 38655


Oxford Kiwanas
Greater Alabama Council 001
706 W 9th St
Oxford, AL 36203


Oxford Kiwanis Club
Dan Beard Council, Bsa 438
P.O. Box 7
Oxford, OH 45056


Oxford Kiwanis Club
Greater Alabama Council 001
P.O. Box 3384
Oxford, AL 36203


Oxford Lions Club
Atlanta Area Council 092
500 King Bostick Rd
Covington, GA 30016


Oxford Lions Club
Atlanta Area Council 092
500 King Bostick Rd
Mac Cranford
Covington, GA 30016


Oxford Lions Club
Atlanta Area Council 092
P.O. Box 1417
Oxford, GA 30054


Oxford Lions Club
Sagamore Council 162
P.O. Box 462
Oxford, IN 47971


Oxford Police Dept
Yocona Area Council 748
715 Molly Barr Rd
Oxford, MS 38655


Oxford Presbyterian Church
Chester County Council 539
6 Pine St
Oxford, PA 19363
Oxford Rotary Club
Chester County Council 539
P.O. Box 27
Oxford, PA 19363


Oxford University Press
2001 Evans Rd
Cary, NC 27513


Oxford University Utd Methodist
Yocona Area Council 748
424 S 10th St
Oxford, MS 38655


Oxford Utd Methodist
Occoneechee 421
105 W Mcclanahan St
Oxford, NC 27565


Oxford Utd Methodist Church
Alamo Area Council 583
9739 Huebner Rd
San Antonio, TX 78240


Oxford Utd Methodist Church
Great Lakes Fsc 272
21 E Burdick St
Oxford, MI 48371


Oxford Utd Methodist Church
Occoneechee 421
105 W Mcclanahan St
Oxford, NC 27565


Oxmoor Valley Elementary School PTA
Greater Alabama Council 001
3600 Sydney Dr
Birmingham, AL 35211


Oxnard Elks Lodge 1443
Ventura County Council 057
801 S A St
Oxnard, CA 93030


Oxnard Police Dept
Ventura County Council 057
251 S C St
Oxnard, CA 93030


Oxon Hill Utd Methodist Church
National Capital Area Council 082
6400 Livingston Rd
Oxon Hill, MD 20745


Oyler Celc Schiff
Dan Beard Council, Bsa 438
2121 Hatmaker St
Cincinnati, OH 45204


Oyunchimeg Gantumur
Address Redacted


Oz Glaze Senior Center
Yucca Council 573
13969 Venny Webb
Horizon City, TX 79928


Oz Glaze Senior Center
Yucca Council 573
13969 Veny Webb St
Horizon City, TX 79928


Ozark Campfire Co
1505 N Scott
Belton, MO 64012


Ozark Electric Coop
Indian Nations Council 488
P.O. Box 28
Stilwell, OK 74960
Ozark Empire Fleet Reserve Assoc
Ozark Trails Council 306
4028 S Kentwood Ave
Springfield, MO 65804


Ozark Trails
1616 S Egate Ave
Springfield, MO 65809‐2116


Ozark Trls Cncl 306
1616 S Egate Ave
Springfield, MO 65809‐2116


Ozark Utd Methodist Church
Ozark Trails Council 306
2850 State Hwy 14 E
Ozark, MO 65721


Ozie Rideaux
Address Redacted


Ozona Methodist Church
Texas Swest Council 741
P.O. Box 988
Ozona, TX 76943


Ozwest, Inc
4614 SW Kelly Ave
Portland, OR 97239


P M Locksmith Services Inc
463 Main St
Woburn, MA 01801


P C World
Subscription Dept
P.O. Box 37562
Boone, IA 50037‐4562


P I Group, Inc
2151 Haskell Ave
Lawrence, KS 66046


P Lynn Mills
Address Redacted


P M Construction
4916 N Walnut Dr
Sapulpa, OK 74066


P Rowley
Address Redacted


P S Greetings, Inc
5730 N Tripp Ave
Chicago, IL 60646


P T C Whiteside School
Greater St Louis Area Council 312
2028 Lebanon Ave
Belleville, IL 62221


P22 Type Foundry
P.O. Box 770
Buffalo, NY 14213


Pa Adult Services
Chester County Council 539
139 Leopard Rd
Berwyn, PA 19312


Pa Dept Of Labor    Industry
Attn Bedding and Upholstery Section
651 Boas ‐, Rm 1623
Harrisburg, PA 17121


Pa Dept Of Labor   Industry‐U
Bedding and Upholstery Section, Rm 1623
651 Boas
Harrisburg, PA 17121
Pa Masonic Youth Foundation
1244 Bainbridge Rd
Elizabethtown, PA 17022


Pacat, Inc
Middle Tennessee Council 560
705 N 2nd St, Ste C
Pacat, Inc
Clarksville, TN 37040


Pace Academy
Atlanta Area Council 092
966 W Paces Ferry Rd Nw
Atlanta, GA 30327


Pace Analytical Services Inc
P.O. Box 684056
Chicago, IL 60695‐4056


Pace Audelia Creek
Circle Ten Council 571
701 W Belt Line Rd
D105
Richardson, TX 75080


Pace Dover
Circle Ten Council 571
701 W Belt Line Rd
Richardson, TX 75080


Pace Skyview
Circle Ten Council 571
701 W Belt Line Rd
D105
Richardson, TX 75080


Pacesetter Awards Sports Awards
5544 W Armstrong Ave
Chicago, IL 60646


Pacheco Union School   Home
Golden Empire Council 047
20981 Dersch Rd
Anderson, CA 96007


Pachulski Stang Ziehl   Jones
10100 Santa Monica Blvd, Ste 1300
Los Angeles, CA 90067


Pachulski Stang Ziehl   Jones
Attn James I. Stang
10100 Santa Monica Blvd, 13th Fl
Los Angeles, CA 90067‐4003


Paciencia Santiago
Address Redacted


Pacific Beach Presbyterian Church
San Diego Imperial Council 049
1675 Garnet Ave
San Diego, CA 92109


Pacific Bulletproof Co, Inc
4985 E Landon Dr
Anaheim, CA 92807


Pacific Centrex Datavo LLC
114 E Haley St, Suite A
Santa Barbara, CA 93101‐2347


Pacific Centrex Datavo LLC
P.O. Box 4967
Whittier, CA 90607


Pacific Corinthian Youth Foundation
Ventura County Council 057
129 Simi Ave
Oxnard, CA 93035


Pacific Counseling Assoc
1341 W Robingood Dr, Ste B10
Stockton, CA 95207
Pacific Harbors
4802 S 19th St
Tacoma, WA 98405


Pacific Harbors Cncl 612
4802 S 19th St
Tacoma, WA 98405


Pacific Life   Annunity Services Inc
700 Newport Ctr Dr
Newport Beach, CA 92660


Pacific Lions Club
Greater St Louis Area Council 312
319 W Meramec St
Pacific, MO 63069


Pacific Lutheran University
Attn Wendy Alexander
12180 Park Ave S
Tacoma, WA 98447


Pacific Market International, LLC
2401 Elliott Ave, 4th Fl
Seattle, WA 98121


Pacific Market International, LLC
P.O. Box 74008450
Chicago, IL 60674‐8450


Pacific Office Automation Inc
14747 NW Greenbrier Pkwy
Beaverton, OR 97006


Pacific Office Automation Inc
P.O. Box 41602
Philadelphia, PA 19101‐1602


Pacific Office Automation, Inc
1325 W 2200 S, Ste B
Salt Lake City, UT 84119


Pacific Pictures
16527 Silktree St
Fountain Valley, CA 92708


Pacific Point Christian Schools
Silicon Valley Monterey Bay 055
1575A Mantelli Dr
Gilroy, CA 95020


Pacific Skyline
1150 Chess Dr
Foster City, CA 94404


Pacific Skyline Cncl 31
1150 Chess Dr
Foster City, CA 94404


Pacific Studio Inc
5311 Shilshole Ave Nw
Seattle, WA 98107


Pacific University
Attn Financial Aid Office
2043 College Way
Forest Grove, OR 97116


Pacific World Thailand Ltd
Bankok Hqtrs
Unit 1‐6 17th Fl Charterd Square Bldg
152 N Sathorn Rd, Silom,Bangrak
Bankok, 10500
Thailand


Pacific Youth Boating Assoc
Long Beach Area Council 032
2005 Palo Verde Ave 123
Long Beach, CA 90815


Pacifica Companies LP
Boxer Property
Attn Treasury
720 N Post Oak Rd, Ste 500
Houston, TX 77024


Pacifica Police Dept Officers Assoc
Pacific Skyline Council 031
2075 Coast Hwy
Pacifica, CA 94044


Pacifica Texas, LP
720 N Post Oak Rd, Ste 500
Houston, TX 77024


Pack 110 Parents
San Francisco Bay Area Council 028
32369 Lake Temescal Ln
Fremont, CA 94555


Pack 16 Parents Assoc
California Inland Empire Council 045
1554 Chardonnay Pl
San Jacinto, CA 92582


Pack 179 Parents Of Org
Circle Ten Council 571
3316 Wclarke Dr
Plano, TX 75093


Pack 320 Alliance, Inc
South Florida Council 084
1155 93rd St
Bay Harbor Islands, FL 33154


Pack 351 Parents Club
Mt Diablo‐Silverado Council 023
3818 Campolindo Dr
Moraga, CA 94556


Pack 556 Charter Org
c/o Owen Jacobsen
Chief Seattle Council 609
23729 NE 61st St
Redmond, WA 98053


Pack 580 Leadership Committee
Chief Seattle Council 609
13327 121st Ave Ne
Kirkland, WA 98034


Pack 696 Parent Committee
Denver Area Council 061
10168 Silver Maple Cir
Highlands Ranch, CO 80129


Pack 77 St Johns Catholic Ch
Black Swamp Area Council 449
510 Jackson Ave
Defiance, OH 43512


Pack And Paddle
Evangeline Area 212
601 E Pinhook Rd
Lafayette, LA 70501


Packaging Credit Co LLC
P.O. Box 532058
Atlanta, GA 30353‐2058


Packaging Unlimited, LLC
P.O. Box 856300, Dept 105
Louisville, KY 40285


Packanack Lake Country Club   Community
Northern New Jersey Council, Bsa 333
52 Lake Dr W
Wayne, NJ 07470


Packanack Lake Yacht Club
Northern New Jersey Council, Bsa 333
63 Spruce Ter
Wayne, NJ 07470
Packard Business Systems
3619 7th Ave
Charleston, WV 25387


Packard Motor Car Foundation
Great Lakes Fsc 272
49965 Van Dyke Ave
Shelby Township, MI 48317


Pac‐Van Inc
75 Remittance Dr, Ste 3300
Chicago, IL 60675‐3300


Padberg, Corrigan   Appelbaum
Attn Matthew J. Padberg
1926 Chouteau Ave
St. Louis, MO 63103


Padberg, Corrigan   Applebaum
Attn Knepper, Padberg, Corrigan
re Plaintiff
1926 Chouteau Ave, St Louis, Mo 63103
1926 Chouteau Ave
St. Louis, MO 63103


Paddlesports Press
P.O. Box 797
Saranac Lake, NY 12983


Paddlesports Warehouse Inc
467 W Hwy 10 31
Scottville, MI 49454


Paddock Road Community Club Inc
Mid‐America Council 326
3535 Paddock Rd
Omaha, NE 68124


Padi Americas Inc
30151 Tomas St
Rancho Santa Margarita, CA 92688‐2125
Padraic French
Address Redacted


Padre Island Baptist Church
South Texas Council 577
14253 S Padre Island Dr
Corpus Christi, TX 78418


Padre Serra Catholic Church
Ventura County Council 057
5205 Upland Rd
Camarillo, CA 93012


Padres Latinos Hanover Park
Pathway To Adventure 456
2100 Elm Ave
Hanover Park, IL 60133


Padrinos Ristorante Italino
135 Beckley Crossing Shopping Center
Beckley, WV 25801


Padua Center
Erie Shores Council 460
1416 Nebraska Ave
Toledo, OH 43607


Paducah Police Dept
Lincoln Heritage Council 205
1400 Broadway St
Paducah, KY 42001


Page Community Utd Methodist Church
Grand Canyon Council 010
P.O. Box 1345
291 S Lake Powell Blvd


Page High School
Old N State Council 070
201 Alma Pinnix Dr
Greensboro, NC 27405
Page Litho Inc
6445 E Vernor Hwy
Detroit, MI 48207


Page Memorial Methodist
Occoneechee 421
P.O. Box 695
Aberdeen, NC 28315


Page Memorial Methodist
Occoneechee 421
P.O. Box 696
Aberdeen, NC 28315


Pagerduty Inc
600 Townsend St 200
San Francisco, CA 94103


Pahranagat Valley Fire District
Utah National Parks 591
P.O. Box 540
Alamo, NV 89001


Paideia Academy Of South Phoenix
Grand Canyon Council 010
7777 S 15th Ter
Phoenix, AZ 85042


Paige Draffin
Address Redacted


Paige Keatts
Address Redacted


Paige M Harwell
Address Redacted


Paige Personnel Services
Subscriber Sevices Ctr
P.O. Box 2088
Danbury, CT 06813‐2088


Painesville Utd Methodist Church
Lake Erie Council 440
71 N Park Pl
Painesville, OH 44077


Paint Creek PTO
Great Lakes Fsc 272
2800 Indianwood Rd
Lake Orion, MI 48362


Painted Post Fire Dept
Five Rivers Council, Inc 375
130 W Water St
Painted Post, NY 14870


Painted Stone Elementary
Lincoln Heritage Council 205
150 Warriors Way
Shelbyville, KY 40065


Painted Words Inc
310 W 97th St, Ste 24
New York, NY 10025


Paintsville First Church Of God
Blue Grass Council 204
205 8th St
Paintsville, KY 41240


Paisley Ib Magnet High School
Old Hickory Council 427
1400 Grant Ave
Winston Salem, NC 27105


Pajarito Lodge 66 Af    Am
Great Swest Council 412
P.O. Box 866
Los Alamos, NM 87544
Pajaro Valley Rod   Gun Club
Silicon Valley Monterey Bay 055
557 1/2 Lakeview Rd
Watsonville, CA 95076


Pak 2000 Inc
P.O. Box 83218
Woburn, MA 01813‐3218


Pakistan Boy Scouts Assoc
Islamabad
Pakistan


Pal Humane Society
Las Vegas Area Council 328
4155 N Rancho Dr, Ste 150
Las Vegas, NV 89130


Palace City Lions Club
Sioux Council 733
P.O. Box 841
Mitchell, SD 57301


Palace Florists Inc
1305 19th St Nw
Washington, DC 20036


Paladin Community Services
Texas Trails Council 561
P.O. Box 396
Winters, TX 79567


Palatine Kiwanis Foundation Inc
Pathway To Adventure 456
P.O. Box 781
Palatine, IL 60078


Palatka Housing Authority
North Florida Council 087
400 N 15th St
Palatka, FL 32177
Palay Display Industries Inc
10901 Louisiana Ave S
Bloomington, MN 55438


Palemon Padilla
Address Redacted


Palermo Utd Methodist Church
Longhouse Council 373
4 County Route 35
Fulton, NY 13069


Palestine Utd Methodist Church
Yocona Area Council 748
1185 Algoma Rd
Pontotoc, MS 38863


Palisades Episcopal School
Mecklenburg County Council 415
13120 Grand Palisades Pkwy
Charlotte, NC 28278


Palisades Lutheran Church
W.L.A.C.C. 051
15905 W Sunset Blvd
Pacific Palisades, CA 90272


Palisades Mtb
Northern New Jersey Council, Bsa 333
5 Colgate St
Closter, NJ 07624


Palisades Park/Ft. Lee Elks Lodge 2475
Northern New Jersey Council, Bsa 333
536 10th St
Palisades Park, NJ 07650


Palm Acres Charter High
Southwest Florida Council 088
507 Sunshine Blvd
Lehigh Acres, FL 33971


Palm Ave Exceptional Sn
North Florida Council 087
1301 W Palm Ave
Jacksonville, FL 32254


Palm Bay Elementary School
Central Florida Council 083
1200 Alamanda Rd Ne
Palm Bay, FL 32905


Palm Bay Police Dept / Explorers
Central Florida Council 083
130 Malabar Rd Se
Palm Bay, FL 32907


Palm Beach Cnty Sch Distr Police Dept
Gulf Stream Council 085
3330 Forest Hill Blvd, Ste B127
West Palm Beach, Fl 33406


Palm Beach County Sheriffs Office
Gulf Stream Council 085
3228 Gun Club Rd
West Palm Beach, FL 33406


Palm Beach Gardens Elementary School PTA
Gulf Stream Council 085
10060 Riverside Dr
Palm Beach Gardens, FL 33410


Palm Beach Gardens Fire Rescue
Gulf Stream Council 085
10500 N Military Trl
West Palm Beach, FL 33410


Palm Beach Gardens Police Dept
c/o Chief Stepp
Gulf Stream Council 085
10500 N Military Trl
West Palm Beach, FL 33410
Palm Beach Sheriffs Office
Gulf Stream Council 085
38840 St Rd 80
Belle Glade, FL 33430


Palm City Presbyterian Church Usa Inc
Gulf Stream Council 085
2700 SW Martin Hwy
Palm City, FL 34990


Palm Coast Elks Lodge 2709
Central Florida Council 083
P.O. Box 352765
Palm Coast, FL 32135


Palm Coast Utd Methodist Church
Central Florida Council 083
5200 Belle Terre Pkwy
Palm Coast, FL 32137


Palm Harbor Utd Methodist Church
Greater Tampa Bay Area 089
1551 Belcher Rd
Palm Harbor, FL 34683


Palm Lake Christian Church
Greater Tampa Bay Area 089
5401 22nd Ave N
Saint Petersburg, FL 33710


Palm Schwenkfelder Church
Cradle of Liberty Council 525
833 Gravel Pike
Palm, PA 18070


Palm Springs Police Dept
California Inland Empire Council 045
200 S Civic Dr
Palm Springs, CA 92262
Palm Springs Police Dept
Gulf Stream Council 085
230 Cypress Ln
Palm Springs, FL 33461


Palm Springs Utd Methodist Church
South Florida Council 084
5700 W 12th Ave
Hialeah, FL 33012


Palm Valley Lutheran Church
Capitol Area Council 564
2500 E Palm Valley Blvd
Round Rock, TX 78665


Palm Valley School
California Inland Empire Council 045
35525 Da Vall Dr
Rancho Mirage, CA 92270


Palma Ceia Presbyterian Church
Greater Tampa Bay Area 089
3501 W San Jose St
Tampa, FL 33629


Palma Ceia Utd Methodist Church
Greater Tampa Bay Area 089
3723 W Bay To Bay Blvd
Tampa, FL 33629


Palma Soccer Club
Mecklenburg County Council 415
7819 Rabbits Foot Ln
Charlotte, NC 28217


Palma Sola Presbyterian Church
Southwest Florida Council 088
6510 3rd Ave W
Bradenton, FL 34209


Palmer American Legion Post 120
Overland Trails 322
.905 Commercial
Palmer, NE 68864


Palmer Dodge Car Dealership
Atlanta Area Council 092
11460 Alpharetta Hwy
Roswell, GA 30076


Palmer Fire   Rescue
Great Alaska Council 610
645 Cope Industrial Way
Palmer, AK 99645


Palmer Firefighters Assoc
Western Massachusetts Council 234
12 Walnut St
Palmer, MA 01069


Palmer Memorial Episcopal Church
Sam Houston Area Council 576
6221 Main St
Houston, TX 77030


Palmer Moose Lodge 793
Great Alaska Council 610
P.O. Box 772
Palmer, AK 99645


Palmer Moravian Church
Minsi Trails Council 502
2901 John St
Easton, PA 18045


Palmer Park Prepatory Academy PTO
Great Lakes Fsc 272
3901 Margaretia Ave
Detroit, MI 48221


Palmer School
Mt Diablo‐Silverado Council 023
2740 Jones Rd
Walnut Creek, CA 94597
Palmer Utd Methodist Men
Overland Trails 322
212 Commercial St
Palmer, NE 68864


Palmerdale Utd Methodist Church
Greater Alabama Council 001
7776 Hwy 75
Pinson, AL 35126


Palmers Direct To You Market
Seneca Waterways 397
900 Jefferson Rd
Rochester, NY 14623


Palmerton Rod And Gun Club
Minsi Trails Council 502
P.O. Box 11
Palmerton, PA 18071


Palmetto
420 S Church St
Spartanburg, SC 29306‐5232


Palmetto Area Cncl 549
420 S Church St
Spartanburg, SC 29306‐5232


Palmetto Elementary School PTA
Central Florida Council 083
2015 Duskin Ave
Orlando, FL 32839


Palmetto Packaging Corp
1131 Edwards Cir
P.O. Box 4740
Florence, SC 29502


Palmetto Place Childrens Shelter
Indian Waters Council 553
5507 Colonial Dr
Columbia, SC 29203


Palmetto Pointe Church
Pee Dee Area Council 552
3690 Palmetto Pointe Blvd
Myrtle Beach, SC 29588


Palmview Police Dept
Rio Grande Council 775
400 W Veterans Blvd
Palmview, TX 78572


Palmyra Church Of The Brethren
Pennsylvania Dutch Council 524
45 N Chestnut St
Palmyra, PA 17078


Palmyra Lions Club
Potawatomi Area Council 651
P.O. Box 397
Palmyra, WI 53156


Palmyra Macedon Kiwanis Club
Seneca Waterways 397
1462 Wayneport Rd
Macedon, NY 14502


Palmyra Methodist Church
Old Hickory Council 427
5076 Nc Hwy 8 S
Germanton, NC 27019


Palmyra Utd Methodist Church
Great Rivers Council 653
P.O. Box 646
Palmyra, MO 63461


Palo Alto Police Dept
Pacific Skyline Council 031
275 Forest Ave
Palo Alto, CA 94301
Palo Cedro Fire Dept Inc
Golden Empire Council 047
9418 Deschutes Rd
Palo Cedro, CA 96073


Palo Cedro Lions Club
Golden Empire Council 047
P.O. Box 170
Palo Cedro, CA 96073


Palo Verde Ward ‐ LDS Tucson East Stake
Catalina Council 011
6901 E Kenyon Dr
Tucson, AZ 85710


Palomita Productions/Action Arts, Inc
Box 1988 Old Town Post Office
Las Vegas, NM 87701


Palos Heights P.D
7607 W College Dr
Palos Heights, IL 60463


Palouse Lions Club
Inland Nwest Council 611
P.O. Box 261
Palouse, WA 99161


Pamala K Jones
Address Redacted


Pamela Ann Pottorf
Address Redacted


Pamela B Fernandez
Address Redacted


Pamela Ballard
Address Redacted
Pamela Barnes
Address Redacted


Pamela Boller
Address Redacted


Pamela Boren
Address Redacted


Pamela Bradley
Address Redacted


Pamela Bumgardner
Address Redacted


Pamela Carroll
Address Redacted


Pamela Cone
Address Redacted


Pamela Craft
Address Redacted


Pamela Crone
Address Redacted


Pamela Dickson
Address Redacted


Pamela Ehle
Address Redacted


Pamela Ellington
Address Redacted
Pamela Falconer
Address Redacted


Pamela Frisbee
Address Redacted


Pamela Gaddis
Address Redacted


Pamela Guter
Address Redacted


Pamela Hamrick
Address Redacted


Pamela Harbaugh
Address Redacted


Pamela Hunter‐Bowens
Address Redacted


Pamela J Pyle
Address Redacted


Pamela Jenkinson
Address Redacted


Pamela Kay Youngs
Address Redacted


Pamela Kirby
Address Redacted


Pamela Klein
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Pamela Leach
Address Redacted
Pamela Legried
Address Redacted


Pamela Meyers
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Pamela Miller
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Pamela Morningstar
Address Redacted


Pamela Morris
Address Redacted


Pamela Neche Stubbs
Address Redacted


Pamela Peters
Address Redacted


Pamela Petterchak
Address Redacted


Pamela Phillips
Address Redacted


Pamela Piper
Address Redacted


Pamela Popovich
Address Redacted


Pamela Pottorf
Address Redacted
Pamela Proctor
Address Redacted


Pamela Reeves
Address Redacted


Pamela Richard
Address Redacted


Pamela Rideout
Address Redacted


Pamela Ripperger
Address Redacted


Pamela Roark
Address Redacted


Pamela Rogers‐Elwood
Address Redacted


Pamela Salisbury
Address Redacted


Pamela Scafati
Address Redacted


Pamela Schumacher
Address Redacted


Pamela Smith
Address Redacted


Pamela Startzel
Address Redacted


Pamela Sue Wood
Address Redacted
Pamela Sugrue
Address Redacted


Pamela Sweezey
Address Redacted


Pamela Tamayo‐Erazo
Address Redacted


Pamela Thomas
Address Redacted


Pamela Underwood
Address Redacted


Pamela Urquizo
Address Redacted


Pamela Vickrey
Address Redacted


Pamela Walls
Address Redacted


Pamela Willmott
Address Redacted


Pamela Youngs
Address Redacted


Pamela Zorko‐Messner
Address Redacted


Pamela Zurawik
Address Redacted
Pamida Stores LLC
1500 E Sheridan St
Ely, MN 55731‐1229


Pamlico Sea Base
East Carolina Council 426
419 Boy Scout Rd
Blounts Creek, NC 27814


Pamoja Preparatory Academy
Greater St Louis Area Council 312
8744 Granada Pl
Saint Louis, MO 63136


Pamoja‐Cole School PTO Chama
Greater St Louis Area Council 312
3935 Enright Ave
Saint Louis, MO 63108


Pampa First Christian Church
Golden Spread Council 562
1633 N Nelson St
Pampa, TX 79065


Pampa First Presbyterian Church
Golden Spread Council 562
525 N Gray St
Pampa, TX 79065


Pampa Police Dept
Golden Spread Council 562
201 W Kingsmill
Pampa, TX 79065


Pampa St Paul Utd Methodist Chruch
Golden Spread Council 562
511 N Hobart St
Pampa, TX 79065


Pana Elks Lodge 1261
Greater St Louis Area Council 312
107 E 2nd St
Pana, IL 62557


Pana Fire Dept
Greater St Louis Area Council 312
400 1st St
Pana, IL 62557


Panama City Police Dept
Gulf Coast Council 773
1209 E 15th St
Panama City, FL 32405


Pancho S
1280 Oceanview Ave
Marathon, FL 33050


Panda Inc
2695 Mill St
Reno, NV 89502‐2102


Pandora Utd Methodist Church
Black Swamp Area Council 449
108 W Washington St
P.O. Box 151


Panera Bread Co
3630 S Geyer Rd, Ste 100
Saint Louis, MO 63127


Panhandle Centenary Utd Methodist Ch
Golden Spread Council 562
P.O. Box 98
Goodwell, Ok 73939


Panhandle Lions Club
Golden Spread Council 562
P.O. Box 1181
Panhandle, TX 79068


Panish Shea  Boyle, LLP
Attn Spencer R Lucas
re Plaintiff
11111 Santa Monica Blvd, Ste 700
Los Angeles, CA 90025


Pannell   Sons Inc
3324 Court St
Fayetteville, WV 25840


Panora Lions Club
Mid Iowa Council 177
310 SE 4th St
Panora, IA 50216


Panouchi Fu
Address Redacted


Pantano Christian Church
Catalina Council 011
1755 S Houghton Rd
Tucson, AZ 85748


Pantano Ward ‐ LDS Tucson East Stake
Catalina Council 011
700 N Bonanza Ave
Tucson, AZ 85748


Pantego Vol Fire Dept Men
East Carolina Council 426
P.O. Box 67
Pantego, NC 27860


Panther Primitives
8610 US Hwy 33 W
Normantown, WV 25267


Panther Primitives
P.O. Box 32 St Rt 33
Normantown, WV 25267


Panther Springs Utd Methodist Church
Great Smoky Mountain Council 557
4555 W Andrew Johnson Hwy
Morristown, TN 37814


Panther Trace Civic Assoc
Greater Tampa Bay Area 089
12447 Adventure Dr
Riverview, FL 33579


Panther Vision LLC
Waters Industries, Inc
213 W Main St
West Dundee, IL 60118


Panthers F C
Pathway To Adventure 456
1352 Ports O Call
Palatine, IL 60074


Pantone LLC / X‐Rite Inc
590 Commerce Blvd
Carlstadt, NJ 07072‐3098


Pantone LLC / X‐Rite Inc
P.O. Box 62750
62750 Collection Ctr Dr
Chicago, IL 60693‐0627


Paola Alejandra Valentin Hernandez
Address Redacted


Paola Rosas ‐ Weed
Address Redacted


Paoli Meridian Lions Club
Hoosier Trails Council 145 145
1326 W Leonard Cir
Paoli, IN 47454


Paoli Presbyterian Church
Chester County Council 539
225 S Valley Rd
Paoli, PA 19301


Pape‐Dawson Engineers
316 Bailey Ave, Ste 106
Ft Worth, TX 76107


Paper Direct Inc
P.O. Box 2933
Colorado Springs, CO 80901‐2933


Pappas Restaurants
10428 Lombardy
Dallas, TX 75220


Paracord Planet
1320 5th Ave N
Fargo, ND 28102


Paradies Gifts, Inc
2325 W Airport Blvd
Sanford, FL 32771


Paradise Baptist Church
Norwela Council 215
1706 Hollywood Ave
Shreveport, LA 71108


Paradise Elks Lodge 2026
Golden Empire Council 047
6038 Clark Rd PMB 120, Ste A
Paradise, CA 95969


Paradise Fire Protection
2 San Francisco Ave
Los Lunas, NM 87031


Paradise Hills Utd Methodist Men
Great Swest Council 412
4700 Paradise Blvd Nw
Albuquerque, NM 87114
Paradise Islands Pizza Inc
dba Papa Johns Pizza
538 Truman Ave
Key W, Fl 33040


Paradise Rotary Club
Pennsylvania Dutch Council 524
1509 Mentzer Rd
Warren Martin
Lancaster, PA 17602


Paradise Utd Church Of Christ
Buckeye Council 436
619 E Main St
Louisville, OH 44641


Paradise Valley Police Dept
Grand Canyon Council 010
6433 E Lincoln Dr
Paradise Valley, AZ 85253


Paramount Builders LLC
P.O. Box 1370, 501 6th Ave
St Albans, WV 25177


Paramount Distribution, LLC
P.O. Box 436
Shrewsbury, PA 17361


Paramount Elks Lodge 1804
Greater Los Angeles Area 033
8108 Alondra Blvd
Paramount, CA 90723


Paramount Headwear Inc
P.O. Box 775341
Chicago, IL 60677‐5341


Paramount Headwear Inc
P.O. Box 790051
St. Louis, MO 63179‐0051
Paramount School
Crossroads of America 160
3020 Nowland Ave
Indianapolis, IN 46201


Parchment Methodist Church
Southern Shores Fsc 783
225 Glendale Blvd
Parchment, MI 49004


Parchment Utd Methodist Church
Southern Shores Fsc 783
225 Glendale Blvd
Parchment, MI 49004


Parent   Teachers Sside Elem
Southwest Florida Council 088
1901 Webber St
Sarasota, Fl 34239


Parent Advisory Board Expo School
Northern Star Council 250
540 Warwick St
Saint Paul, MN 55116


Parent Ambassadors Detroit Merit Academy
Great Lakes Fsc 272
1091 Alter Rd
Detroit, Mi 48215


Parent Faculty Club
Mt Diablo‐Silverado Council 023
3261 Vichy Ave
Napa, CA 94558


Parent Faculty Council Of Orchard Lane
Potawatomi Area Council 651
2015 S Sunnyslope Rd
New Berlin, WI 53151
Parent Leaders Of Kinzie Elementary
Pathway To Adventure 456
5625 S Mobile Ave
Chicago, IL 60638


Parent Liasion Regan School
Connecticut Rivers Council, Bsa 066
2780 N Main St
Waterbury, CT 06704


Parent Of Pack 18
Greater Los Angeles Area 033
3637 Tweedy Blvd
South Gate, CA 90280


Parent Of Pack 261
Circle Ten Council 571
813 Rushmore Ln
Plano, TX 75023


Parent S Scouters Guild
Aloha Council, Bsa 104
3640 Crater Rd
Honolulu, HI 96816


Parent Scouting Assoc
Mt Diablo‐Silverado Council 023
P.O. Box 1275
Travis Afb, CA 94535


Parent Teacher Assc Of Willamette School
Cascade Pacific Council 492
1403 12th St
West Linn, OR 97068


Parent Teacher Assoc
Circle Ten Council 571
5801 Worth St
Dallas, TX 75214


Parent Teacher Group Of Glenwood Elem Sc
Cradle of Liberty Council 525
122 S Pennell Rd
Media, PA 19063


Parent Teacher Org
Inland Nwest Council 611
1351 W Kathleen Ave
Coeur D Alene, ID 83815


Parent Teacher Org
Three Harbors Council 636
5900 S 51st St
Greendale, WI 53129


Parent Teacher Organizaton Lincoln Sch
Pathway To Adventure 456
3551 Block Ave
East Chicago, In 46312


Parent Teacher Org‐District 103
Northeast Illinois 129
1370 N Riverwoods Rd
Lincolnshire, IL 60069


Parent Teachers Assoc Of Owasco
Longhouse Council 373
66 Letchworth St
Owasco Elementary School
Auburn, NY 13021


Parent Teachers Assoc.
Gulf Stream Council 085
2051 Clint Moore Rd
Boca Raton, FL 33496


Parent Teachers Guild Of Santa Sophia
San Diego Imperial Council 049
9800 San Juan St
Spring Valley, CA 91977


Parent Teachers Org
East Carolina Council 426
250 Summersill School Rd
Jacksonville, NC 28540


Parent Teachers Org Eastside Ele
Cherokee Area Council 556
1603 S Lyerly St
Chattanooga, TN 37404


Parent,Teacher At Meadows
c/o Kennedy
Grand Canyon Council 010
801 E Myrtle Ave
Phoenix, AZ 85020


Parent/Teacher Orchard Knob Mid Sch
Cherokee Area Council 556
500 N Highland Park Ave
Chattanooga, Tn 37404


Parenting Of Scouting
Buckskin 617
4951 Main Hewett Creek Rd
Hewett, WV 25108


Parents   Friends Of Pack 224
Pikes Peak Council 060
2825 Pony Tracks Dr
Colorado Springs, CO 80922


Parents   Friends Of Pack 3202
Heart of America Council 307
15800 Indian Creek Pkwy
Olathe, KS 66062


Parents   Friends Of Scouting
Transatlantic Council, Bsa 802
International School of Geneva
La Chataigneraie, Founex 1297
Switzerland


Parents   Friends Of Troop 167
Potawatomi Area Council 651
1780 State Rd 164
Richfield, WI 53076


Parents   Friends Of Unit 218
Silicon Valley Monterey Bay 055
77 Sport Ct
San Jose, CA 95138


Parents   Friends Spgs Ranch Elem
Pikes Peak Council 060
4350 Centerville Dr
Colorado Springs, Co 80922


Parents   Washington Students       Staff
Overland Trails 322
600 W 3Rd St
North Platte, Ne 69101


Parents And Community For Fremont School
Verdugo Hills Council 058
3320 Las Palmas Ave
Glendale, CA 91208


Parents And Friends Of 107
Golden Empire Council 047
2245 Q St
Rio Linda, CA 95673


Parents And Lincoln School   Pals
Winnebago Council, Bsa 173
321 W 8th St
Cedar Falls, IA 50613


Parents And Youth Group Of Galilee
Transatlantic Council, Bsa 802
Arazin St 19
Tiberius, 14283
Israel


Parents As Partners
Mid‐America Council 326
33980 310th St
Neola, IA 51559
Parents Assoc 193 Of Nepa
Northeastern Pennsylvania Council 501
P.O. Box 95
Luzerne, PA 18709


Parents Assoc Jakarta Intl School
Far E Council 803
Box 79/Krt
Indonesia


Parents Assoc Of Crew 707
Greater Los Angeles Area 033
2701 S Woodgate Dr
West Covina, CA 91792


Parents Assoc Of Electchester Scouting
Greater New York Councils, Bsa 640
Marvin Siegel
15921 71st Ave
Fresh Meadows, NY 11365


Parents Assoc Of Pack 228
Greater Los Angeles Area 033
1290 Pebbledon St
Monterey Park, CA 91754


Parents Assoc Of Pack 707
Greater Los Angeles Area 033
720 W Silver Tree St
Claremont, CA 91711


Parents Assoc Of Troop 228
Greater Los Angeles Area 033
201 N San Gabriel Blvd
San Gabriel, CA 91775


Parents Assoc Of Troop 707
Greater Los Angeles Area 033
2701 S Woodgate Dr
West Covina, CA 91792
Parents Assoc Of Troop 715
Greater Los Angeles Area 033
23425 Sunset Crossing Rd
Diamond Bar, CA 91765


Parents Club ‐ Boy Scout Troop 764
W.L.A.C.C. 051
12448 Braddock Dr
Los Angeles, CA 90066


Parents Club Of Pack 333
W.L.A.C.C. 051
P.O. Box 9342
Calabasas, CA 91372


Parents Club Of S S S Odyssey
Mt Diablo‐Silverado Council 023
7351 Donal Ave
El Cerrito, CA 94530


Parents Club Of Scouts 44
Northeastern Pennsylvania Council 501
1104 Water St
Moosic, PA 18507


Parents Committee
Mayflower Council 251
46 Wolbach Rd
Sudbury, MA 01776


Parents Committee Overland Ave
W.L.A.C.C. 051
10650 Ashby Ave
Los Angeles, CA 90064


Parents For Cubscout Pack 606
Circle Ten Council 571
7052 Lomal Dr
Irving, TX 75039


Parents For Orting Scouts
Pacific Harbors Council, Bsa 612
112 Ames St Ne
Orting, WA 98360


Parents For Pack 426
Buckskin 617
P.O. Box 205
Matewan, WV 25678


Parents For Scouting
Buckskin 617
449 Boom Hollow Rd
Alderson, WV 24910


Parents For Scouting
Buckskin 617
P.O. Box 145
Brenton, WV 24818


Parents For Scouting
Buckskin 617
P.O. Box 955
Pineville, WV 24874


Parents For Scouting ‐ Pack 217
Buckskin 617
P.O. Box 945
Holden, WV 25625


Parents For Scouting Inc
Crossroads of America 160
6910 Karyn Dr
Avon, IN 46123


Parents For Scouting Inc
Crossroads of America 160
P.O. Box 426
Plainfield, IN 46168


Parents For Scouting Pack 2664
c/o Jessica Lynn Cline
Buckskin 617
P.O. Box 113
Baisden, WV 25608


Parents For Scouting Pack 2752
Buckskin 617
18 Wildcat Way
Logan, WV 25601


Parents For Scouting Pack 45
Buckskin 617
4944 Main Hewett Creek Rd
Hewett, WV 25108


Parents For Scouting Pack 65
Attn Fred O Hartman
Buckskin 617
65 Monitor Park Dr
Logan, WV 25601


Parents For Scouting Wealthy School
President Gerald R Ford 781
925 Rosewood Ave Se
East Grand Rapids, MI 49506


Parents For Troop 465
Great Swest Council 412
13 El Cielo Azul Cir
Edgewood, NM 87015


Parents Forum Of Cub Pack 529
Greater Los Angeles Area 033
11436 177th St
Artesia, CA 90701


Parents Forum Of Lawndale
Greater Los Angeles Area 033
16603 Prairie Ave
Lawndale, CA 90260


Parents Gallego Primary Fine Arts
Magnet School
Catalina Council 011
6200 S Hemisphere Pl
Tucson, Az 85706


Parents In Education Pto
Glaciers Edge Council 620
4838 N County Rd F
Janesville, WI 53545


Parents In Support Of Scouting
Golden Empire Council 047
P.O. Box 634
Elk Grove, CA 95759


Parents N Texas Maritime Explorers
Longhorn Council 662
2059 E Peters Colony Rd
Carrollton, Tx 75007


Parents Of 1277
Greater Los Angeles Area 033
1127 Pine St
South Pasadena, CA 91030


Parents Of 1776
Mt Diablo‐Silverado Council 023
409 Honeysuckle Ln
San Ramon, CA 94582


Parents Of 380
Grand Canyon Council 010
P.O. Box 50872
Mesa, AZ 85208


Parents Of Adam Schultz
979 W Stewart Rd
Midland, MI 48640


Parents Of Andrew A Richardson
2645 County Rd 29
Kennard, NE 68034
Parents Of Andy Camacho
4886 Mitchell Ave 2
Riverside, CA 92505


Parents Of Arthur Lucas Jr
108 Berry Creek Dr
Folsom, CA 95630


Parents Of Aurora Frontier K‐8
Denver Area Council 061
2965 S Killarney Way
Aurora, CO 80013


Parents Of Banyan Elementary
California Inland Empire Council 045
12163 Canyon Meadows Dr
Rancho Cucamonga, CA 91739


Parents Of Beverly Cub Scouts
Circle Ten Council 571
715 Duchess Dr
Allen, TX 75013


Parents Of Boy Scout Troop 438
Greater Los Angeles Area 033
P.O. Box 4369
Whittier, CA 90607


Parents Of Briggs Fundamental
California Inland Empire Council 045
11880 Roswell Ave
Chino, CA 91710


Parents Of Brinker Cub Pack 283
Circle Ten Council 571
3800 Clark Pkwy
Plano, TX 75093


Parents Of Bsa Crew 0114
Mount Baker Council, Bsa 606
3230 Lake Dr
Lake Stevens, WA 98258
Parents Of Bsa Troop 0114
Mount Baker Council, Bsa 606
3230 Lake Dr
Lake Stevens, WA 98258


Parents Of Burley
Snake River Council 111
230 Palmer Rd
Burley, ID 83318


Parents Of Canyon View Elementary School
Catalina Council 011
8340 E Surrey Trl
Tucson, AZ 85750


Parents Of Carus Community
Cascade Pacific Council 492
23421 S Hwy 213, Unit 12
Oregon City, OR 97045


Parents Of Carver School
Greater Los Angeles Area 033
3100 Huntington Dr
San Marino, CA 91108


Parents Of Casa View
Circle Ten Council 571
601 Kingston Pl
Garland, TX 75043


Parents Of Chandler
Greater Los Angeles Area 033
1005 Armada Dr
Pasadena, CA 91103


Parents Of Chino Scouts
California Inland Empire Council 045
12075 Humboldt Ave
Chino, CA 91710
Parents Of College Grove
Middle Tennessee Council 560
4059 Kings Camp Pass
Arrington, TN 37014


Parents Of College Grove
Middle Tennessee Council 560
795 French River Rd
Nolensville, TN 37135


Parents Of Corona
California Inland Empire Council 045
871 Clover Ln
Corona, CA 92880


Parents Of Crenshaw High School
Greater Los Angeles Area 033
501 W 46th St
Los Angeles, CA 90037


Parents Of Crew 131
President Gerald R Ford 781
2677 N Setterbo Rd
Suttons Bay, MI 49682


Parents Of Crew 296
Silicon Valley Monterey Bay 055
1698 Lucca Pl
San Jose, CA 95138


Parents Of Crew 323
W.L.A.C.C. 051
11777 San Vicente Blvd, Ste 750
Los Angeles, CA 90049


Parents Of Crew 380
Golden Empire Council 047
9054 Tokay Ln
Sacramento, CA 95829


Parents Of Crew 43
Pacific Skyline Council 031
1150 Chess Dr
Foster City, CA 94404


Parents Of Crosstimbers Elementary
Last Frontier Council 480
4800 N Kelly Ave
Edmond, OK 73025


Parents Of Crow Agency
Montana Council 315
101 Makata 3rd St
Crow Agency, MT 59022


Parents Of Cub Scout Pack 220
Circle Ten Council 571
1540 Baffin Bay Dr
Plano, TX 75075


Parents Of Cub Scout Pack 618
Grand Canyon Council 010
3935 E Renee Dr
Phoenix Az. 85050
Scottsdale, AZ 85254


Parents Of Cub Scout Pack 841
Mt Diablo‐Silverado Council 023
2850 Pine Valley Rd
San Ramon, CA 94583


Parents Of Dapplegrey
Greater Los Angeles Area 033
3011 Palos Verdes Dr N
Palos Verdes Estates, CA 90274


Parents Of Dolores
Greater Los Angeles Area 033
16321 1/2 Estrella Ave
Gardena, CA 90247


Parents Of Dr Rodriguez Elementary
Rio Grande Council 775
8402 Wilson Rd
Harlingen, TX 78552


Parents Of Edison School, Glendale, Ca
Verdugo Hills Council 058
435 S Pacific Ave
Glendale, CA 91204


Parents Of El Camino Creek Elementary
San Diego Imperial Council 049
7904 Calle Oliva
Carlsbad, CA 92009


Parents Of Fairview School
Three Harbors Council 636
6502 W Oklahoma Ave
Milwaukee, WI 53219


Parents Of Girl Troop 1624
Grand Canyon Council 010
47522 N 42nd Ave
New River, AZ 85087


Parents Of Grass Lake Cub Scouts
Chief Seattle Council 609
29405 170th Ave Se
Kent, WA 98042


Parents Of Harvey Rice
Lake Erie Council 440
2730 E 116th St
Cleveland, OH 44120


Parents Of Hollen Crest Middle School
Verdugo Hills Council 058
2101 E Merced Ave
West Covina, CA 91791


Parents Of Homeschool Units 227
Dan Beard Council, Bsa 438
1082 Glenhurst Ct
Hebron, KY 41048
Parents Of Image Foundation
National Capital Area Council 082
14111 Oak Grove Rd
Upper Marlboro, MD 20774


Parents Of International Girls
Great Salt Lake Council 590
929 E Emerald Dr
Sandy, UT 84094


Parents Of Jack   Nathan Mitchell
5950 Clear Creek Dr
Lincoln, NE 68516‐5984


Parents Of Jc Ellis
Southeast Louisiana Council 214
801 Brockenbraugh Ct
Metairie, LA 70005


Parents Of Jf Smith Elem School
Silicon Valley Monterey Bay 055
2220 Woodbury Ln
San Jose, CA 95121


Parents Of Julia Green School
Middle Tennessee Council 560
3500 Hobbs Rd
Nashville, TN 37215


Parents Of Lab 3115
Circle Ten Council 571
4577 Ohio Dr
Frisco, TX 75035


Parents Of Lakeview School
Middle Tennessee Council 560
6211 Saundersville Rd
Mount Juliet, TN 37122


Parents Of Lasara Elementary
Rio Grande Council 775
Parents Of Lavaca Boy Scouts
Westark Area Council 016
1000 S Div St
Lavaca, AR 72941


Parents Of Lavaca Elementary
Westark Area Council 016
1000 S Div St
Lavaca, AR 72941


Parents Of Lodge Grass High School
Montana Council 315
P.O. Box 810
Lodge Grass, MT 59050


Parents Of Mckinley
Erie Shores Council 460
3344 Wland Ave
Toledo, OH 43613


Parents Of Monterey Hills
Greater Los Angeles Area 033
1624 Via Del Rey
South Pasadena, CA 91030


Parents Of Montlake
Chief Seattle Council 609
2247 E Blaine St
Seattle, WA 98112


Parents Of Mt Juliet Elementary
Middle Tennessee Council 560
401 Woodlawn Dr
Mount Juliet, TN 37122


Parents Of Northridge Elementary
South Plains Council 694
406 Ironton Ave
Lubbock, TX 79416
Parents Of Oak School
Pacific Skyline Council 031
1501 Oak Ave
Los Altos, CA 94024


Parents Of Occoneechee Perimeter
Occoneechee 421
121 Draymore Way
Cary, NC 27519


Parents Of Pack 0030
Mount Baker Council, Bsa 606
9910 27th Dr Se
Everett, WA 98208


Parents Of Pack 0091
W.L.A.C.C. 051
3344 S Canfield Ave, Apt 202
Los Angeles, CA 90034


Parents Of Pack 0110
Mount Baker Council, Bsa 606
5321 156th St Se
Bothell, WA 98012


Parents Of Pack 0122
Mount Baker Council, Bsa 606
12829 30th Ave Se
Everett, WA 98208


Parents Of Pack 0193
Mount Baker Council, Bsa 606
12726 68th Ave Se
Snohomish, WA 98296


Parents Of Pack 0421
Circle Ten Council 571
P.O. Box 250067
Plano, TX 75025


Parents Of Pack 057 R
Pacific Skyline Council 031
1645 Marco Polo Way
Burlingame, CA 94010


Parents Of Pack 057 S
Pacific Skyline Council 031
1021 Parkinson Ave
Palo Alto, CA 94301


Parents Of Pack 083
c/o Arlene Yang
Pacific Skyline Council 031
816 Holly Rd
Belmont, CA 94002


Parents Of Pack 102
Silicon Valley Monterey Bay 055
360 E Saint James St
San Jose, CA 95112


Parents Of Pack 103 Mill Creek
President Gerald R Ford 781
4248 Ruby Dr Nw
Williamsburg, MI 49690


Parents Of Pack 105
The Spirit of Adventure 227
57 Donald Rd
Burlington, MA 01803


Parents Of Pack 106
Greater Los Angeles Area 033
422 W Lemon Ave
Baldwin Stocker Elementary School
Arcadia, CA 91007


Parents Of Pack 110
South Plains Council 694
1903 74th St
Lubbock, TX 79423


Parents Of Pack 1118
California Inland Empire Council 045
1032 Nicholas St
Upland, CA 91784


Parents Of Pack 12
W.L.A.C.C. 051
2265 27th St
Santa Monica, CA 90405


Parents Of Pack 1203
Greater Los Angeles Area 033
901 W Bloomwood Rd
San Pedro, CA 90731


Parents Of Pack 1220
Circle Ten Council 571
4568 Saint James Dr
Plano, TX 75024


Parents Of Pack 1259
Circle Ten Council 571
3328 Singletree Trl
Plano, TX 75023


Parents Of Pack 143
Golden Empire Council 047
2880 Gateway
Sacramento, CA 95833


Parents Of Pack 144
Greater Los Angeles Area 033
555 S Flower St 29th Fl
Los Angeles, CA 90071


Parents Of Pack 163
W.L.A.C.C. 051
13517 Kittridge St
Valley Glen, CA 91401


Parents Of Pack 1640
Great Lakes Fsc 272
14647 Hubbard St
Livonia, MI 48154
Parents Of Pack 1854
Buffalo Trail Council 567
P.O. Box 573
Fort Davis, TX 79734


Parents Of Pack 202
Mt Diablo‐Silverado Council 023
233 Corte De La Reina
Walnut Creek, CA 94598


Parents Of Pack 203
Mt Diablo‐Silverado Council 023
222 Lakeridge Way
San Ramon, CA 94582


Parents Of Pack 212
Montana Council 315
P.O. Box 1551
East Helena, MT 59635


Parents Of Pack 213
Silicon Valley Monterey Bay 055
1515 Audubon Dr
San Jose, CA 95112


Parents Of Pack 216
Pacific Skyline Council 031
601 Crespi Dr
Pacifica, CA 94044


Parents Of Pack 218
Las Vegas Area Council 328
4785 Deer Forest Ave
Las Vegas, NV 89139


Parents Of Pack 218
South Plains Council 694
1686 I‐27
Hale Center, TX 79041
Parents Of Pack 224
Silicon Valley Monterey Bay 055
1545 Hallcrest Dr
San Jose, CA 95118


Parents Of Pack 256
Greater Los Angeles Area 033
339 Milton Dr
San Gabriel, CA 91775


Parents Of Pack 264
Silicon Valley Monterey Bay 055
3434 Meadowlands Ln
San Jose, CA 95135


Parents Of Pack 265
Silicon Valley Monterey Bay 055
3439 Pinotin Ct
San Jose, CA 95148


Parents Of Pack 274
Silicon Valley Monterey Bay 055
21506 Almaden Rd
San Jose, CA 95120


Parents Of Pack 287
Circle Ten Council 571
1112 Highedge Dr
Plano, TX 75075


Parents Of Pack 290
Pacific Skyline Council 031
2471 Princeton Dr
San Bruno, CA 94066


Parents Of Pack 296
Potawatomi Area Council 651
362 Sunshine Dr
Hartland, WI 53029


Parents Of Pack 30
c/o Kandy Addington
Pony Express Council 311
3122 Cambridge St
Saint Joseph, MO 64506


Parents Of Pack 310
Las Vegas Area Council 328
3053 W Craig Rd, Ste E
237
North Las Vegas, NV 89032


Parents Of Pack 333
Redwood Empire Council 041
536 Leafhaven Ln
Windsor, CA 95492


Parents Of Pack 341
Great Lakes Fsc 272
5465 Greenview Dr
Clarkston, MI 48348


Parents Of Pack 346
Silicon Valley Monterey Bay 055
1415 Lexington Dr, Apt 1
San Jose, CA 95117


Parents Of Pack 349
Silicon Valley Monterey Bay 055
218 Curtner Ave
Campbell, CA 95008


Parents Of Pack 360
Silicon Valley Monterey Bay 055
3750 Gleason Ave
San Jose, CA 95130


Parents Of Pack 385
Golden Empire Council 047
10212 Sorenstam Dr
Sacramento, CA 95829


Parents Of Pack 40
Middle Tennessee Council 560
102 Collinwood Close
Franklin, TN 37069


Parents Of Pack 400
Southern Sierra Council 030
800 Verdugo Ln
Bakersfield, CA 93312


Parents Of Pack 415
Silicon Valley Monterey Bay 055
22373 Ramona Ct
Cupertino, CA 95014


Parents Of Pack 418
Circle Ten Council 571
907 Glen Lakes Ct
Wylie, TX 75098


Parents Of Pack 419
Silicon Valley Monterey Bay 055
1013 Rosa Ave
Sunnyvale, CA 94086


Parents Of Pack 462
Silicon Valley Monterey Bay 055
1117 W Knickerbocker Dr
Sunnyvale, CA 94087


Parents Of Pack 464
Mt Diablo‐Silverado Council 023
3362 Sugarberry Ln
Walnut Creek, CA 94598


Parents Of Pack 47
San Francisco Bay Area Council 028
650 Delancey St, Apt 223
San Francisco, CA 94107


Parents Of Pack 473
Greater Los Angeles Area 033
1320 Clela Ave
Los Angeles, CA 90022
Parents Of Pack 475
Denver Area Council 061
7243 Braun Ct
Arvada, CO 80005


Parents Of Pack 48
W.L.A.C.C. 051
26000 Springbrook Ave, Ste 102
Santa Clarita, CA 91350


Parents Of Pack 480
Circle Ten Council 571
5805 Smoke Glass Trl
Dallas, TX 75252


Parents Of Pack 511
Greater Los Angeles Area 033
3130 Bartlett Ave
Rosemead, CA 91770


Parents Of Pack 545
Chief Seattle Council 609
2217 235th Ct Ne
Sammamish, WA 98074


Parents Of Pack 558
Greater Los Angeles Area 033
14042 High St
Whittier, CA 90605


Parents Of Pack 560
Las Vegas Area Council 328
3409 W Deer Springs Way
North Las Vegas, NV 89084


Parents Of Pack 587
Grand Canyon Council 010
2763 E Luann Pl
Chandler, AZ 85225
Parents Of Pack 594
Greater Los Angeles Area 033
4428 Earle Ave
Rosemead, CA 91770


Parents Of Pack 6
Grand Canyon Council 010
3635 E Turney Ave, Apt 16
Phoenix, AZ 85018


Parents Of Pack 612
Orange County Council 039
16 Meryton
Irvine, CA 92603


Parents Of Pack 638
Chief Seattle Council 609
468 Nile Pl Ne
Renton, WA 98059


Parents Of Pack 641
Buffalo Trail Council 567
10301 W County Rd 154
Midland, TX 79706


Parents Of Pack 642
California Inland Empire Council 045
6548 Halstead Ave
Rancho Cucamonga, CA 91737


Parents Of Pack 643
Orange County Council 039
15416 Toulouse Cir
Irvine, CA 92604


Parents Of Pack 665
Greater Los Angeles Area 033
26 Orbit Ln
San Pedro, CA 90732


Parents Of Pack 680
California Inland Empire Council 045
6602 Orchid Ct
Rancho Cucamonga, CA 91739


Parents Of Pack 7
San Francisco Bay Area Council 028
2295 Washington St
San Francisco, CA 94115


Parents Of Pack 72
Greater Los Angeles Area 033
13731 Damian St
Cerritos, CA 90703


Parents Of Pack 748
W.L.A.C.C. 051
8180 Manitoba St, Apt 302
Playa Del Rey, CA 90293


Parents Of Pack 759
Greater Los Angeles Area 033
438 S Meadows Ave
Manhattan Beach, CA 90266


Parents Of Pack 79
Circle Ten Council 571
7809 Morningdew Dr
Plano, TX 75025


Parents Of Pack 809
Mt Diablo‐Silverado Council 023
151 Golden Hills Ct
Danville, CA 94526


Parents Of Pack 815
c/o Shawn Mckenna
Mt Diablo‐Silverado Council 023
1630 Harlan Dr
Danville, CA 94526


Parents Of Pack 828
c/o Eric Cohen
Mt Diablo‐Silverado Council 023
311 Norris Ct
San Ramon, CA 94583


Parents Of Pack 860
Greater Los Angeles Area 033
731 8th St
Hermosa Beach, CA 90254


Parents Of Pack 88
Long Beach Area Council 032
2173 Tulane Ave
Long Beach, CA 90815


Parents Of Pack 97
W.L.A.C.C. 051
534 15th St
Santa Monica, CA 90402


Parents Of Pack 990
Grand Canyon Council 010
16521 W Lilac St
Goodyear, AZ 85338


Parents Of Pack And Troop 415
Garden State Council 690
50 Early St
Pemberton, NJ 08068


Parents Of Paramount Terrace Elementary
Golden Spread Council 562
3906 Cougar Dr
Amarillo, TX 79109


Parents Of Percy Priest Elementary
Middle Tennessee Council 560
1700 Otter Creek Rd
Nashville, TN 37215


Parents Of Peter‐Howell Elementary
Catalina Council 011
Parents Of Post 224
W.L.A.C.C. 051
414 S Kanan Dume Rd
Malibu, CA 90265


Parents Of Princeton Scouts
Circle Ten Council 571
3000 Poppy Ln
Princeton, TX 75407


Parents Of Ramblewood Elemantry
Silicon Valley Monterey Bay 055
1351 Lightland Rd
San Jose, CA 95121


Parents Of Randall Walter
37 Bircher Ave, Lot 24
Poughkeepsie, NY 12601


Parents Of Rosedale Students
Southern Sierra Council 030
5404 Broad Acres Ave
Bakersfield, CA 93312


Parents Of Rutland Elementary
Middle Tennessee Council 560
1995 S Rutland Rd
Mount Juliet, TN 37122


Parents Of Sandy
Great Salt Lake Council 590
1360 E 9400 S
Sandy, UT 84093


Parents Of Scout Troop 339
Cradle of Liberty Council 525
339 Evergreen Av
Folsom, PA 19033


Parents Of Scouting
Cornhusker Council 324
2515 Shaunte Ct
Lincoln, NE 68507


Parents Of Scouting At Burns Park School
Southern Shores Fsc 783
1414 Wells St
Ann Arbor, MI 48104


Parents Of Scouting, Big Otter W Va
Buckskin 617
2231 Hansford Fork Rd
Jeanetta Gail Keen
Maysel, WV 25133


Parents Of Serenity Hills
Utah National Parks 591
1869 S 2740 E
St. George, UT 84790


Parents Of Sherman Oaks
Silicon Valley Monterey Bay 055
1536 Keesling Ave
San Jose, CA 95125


Parents Of South Haven
Lasalle Council 165
2819 Charlotte St
Portage, IN 46368


Parents Of Southwest Chilton County
Tukabatchee Area Council 005
9499 Al Hwy 22
Maplesville, AL 36750


Parents Of Spring Valley Lake
California Inland Empire Council 045
16343 Ridge View Dr
Apple Valley, CA 92307


Parents Of Thelma Parks Elementary
Last Frontier Council 480
1501 NE 30th St
Oklahoma City, OK 73111
Parents Of Troop 057
Pacific Skyline Council 031
150 Churchill Ave
Palo Alto, CA 94301


Parents Of Troop 075
c/o Jim Maertens
Pacific Skyline Council 031
22420 Creston Dr
Los Altos, CA 94024


Parents Of Troop 0817 At Pilgrim
Bay‐Lakes Council 635
1621 2nd Ave
Grafton, WI 53024


Parents Of Troop 1005
Greater Los Angeles Area 033
12945 Berkhamsted St
Cerritos, CA 90703


Parents Of Troop 139
Greater Los Angeles Area 033
699 Monterey Rd
South Pasadena, CA 91030


Parents Of Troop 141
c/o Dean Bisterfeldt
Greater Los Angeles Area 033
238 Heather Heights Ct
Monrovia, CA 91016


Parents Of Troop 144
Greater Los Angeles Area 033
555 S Flower St 29th Fl
Los Angeles, CA 90071


Parents Of Troop 150
Cascade Pacific Council 492
6327 SW Capitol Hwy PMB 223, Ste C
Portland, OR 97239
Parents Of Troop 150
Mt Diablo‐Silverado Council 023
P.O. Box 1603
Travis Afb, CA 94535


Parents Of Troop 168
Nevada Area Council 329
4796 Crestside Dr
Sparks, NV 89436


Parents Of Troop 1700
Pony Express Council 311
13720 SE State Route Dd
Gower, MO 64454


Parents Of Troop 198
Cascade Pacific Council 492
12385 NW Marshall St
Portland, OR 97229


Parents Of Troop 20
Great Salt Lake Council 590
372 E Brambleberry Ln
Draper, UT 84020


Parents Of Troop 20
President Gerald R Ford 781
10246 Samson Woods Dr
Buckley, MI 49620


Parents Of Troop 200
Silicon Valley Monterey Bay 055
6601 Camden Ave
San Jose, CA 95120


Parents Of Troop 204
Southern Shores Fsc 783
5154 Shane St
Kalamazoo, MI 49009
Parents Of Troop 206
Greater Los Angeles Area 033
2510 S Fremont Ave
Alhambra, CA 91803


Parents Of Troop 225
Great Lakes Fsc 272
20385 Dunham Rd
Clinton Township, MI 48038


Parents Of Troop 232
Silicon Valley Monterey Bay 055
5799 Ribchester Ct
San Jose, CA 95123


Parents Of Troop 2343
San Francisco Bay Area Council 028
631 15th Ave
San Francisco, CA 94118


Parents Of Troop 250
Silicon Valley Monterey Bay 055
2275 Mount Pleasant Rd
San Jose, CA 95148


Parents Of Troop 27
President Gerald R Ford 781
7100 Open Meadow Ln
Traverse City, MI 49685


Parents Of Troop 278
Greater Los Angeles Area 033
2908 Wellesley Ct
Fullerton, CA 92831


Parents Of Troop 287
Silicon Valley Monterey Bay 055
479 Blossom Hill Rd
San Jose, CA 95123


Parents Of Troop 296
Silicon Valley Monterey Bay 055
3520 San Felipe Rd
San Jose, CA 95135


Parents Of Troop 3
Southern Sierra Council 030
630 Maple St
Tehachapi, CA 93561


Parents Of Troop 316
Chief Seattle Council 609
18511 SE 58th St
Issaquah, WA 98027


Parents Of Troop 318
Silicon Valley Monterey Bay 055
1754 Valpico Dr
San Jose, CA 95124


Parents Of Troop 325
Silicon Valley Monterey Bay 055
1860 Palo Santo Dr
Campbell, CA 95008


Parents Of Troop 330
Utah National Parks 591
518 Cedarwood Ter
Cedar City, UT 84720


Parents Of Troop 399
Silicon Valley Monterey Bay 055
2352 Arlene Dr
Santa Clara, CA 95050


Parents Of Troop 408
Greater Los Angeles Area 033
1410 Niagara Ave
Claremont, CA 91711


Parents Of Troop 42 Bsa
Istrouma Area Council 211
10759 Sherrie Ln
Denham Springs, LA 70726
Parents Of Troop 444
Great Swest Council 412
632 Cougar Loop Ne
Albuquerque, NM 87122


Parents Of Troop 468
Greater Los Angeles Area 033
3637 Tweedy Blvd
South Gate, CA 90280


Parents Of Troop 474
Greater Los Angeles Area 033
1320 Clela Ave
Los Angeles, CA 90022


Parents Of Troop 5
Middle Tennessee Council 560
346 Elysian Fields Rd
Nashville, TN 37211


Parents Of Troop 50
Greater Yosemite Council 059
3953 Chatsworth Cir
Stockton, CA 95209


Parents Of Troop 511
Greater Los Angeles Area 033
3130 Bartlett Ave
Rosemead, CA 91770


Parents Of Troop 553
Greater Los Angeles Area 033
10431 Harvest Ave
Santa Fe Springs, CA 90670


Parents Of Troop 607
Grand Canyon Council 010
4512 E Juniper Ave
Phoenix, AZ 85032
Parents Of Troop 626
Chief Seattle Council 609
1076 149th Pl Se
Bellevue, WA 98007


Parents Of Troop 628
Denver Area Council 061
7311 Village Square Dr
Castle Pines, CO 80108


Parents Of Troop 661
Greater Los Angeles Area 033
P.O. Box 1113
West Covina, CA 91793


Parents Of Troop 693
Greater Los Angeles Area 033
19326 Bechard Ave
Cerritos, CA 90703


Parents Of Troop 707
Redwood Empire Council 041
4675 Lambert Ct
Santa Rosa, CA 95403


Parents Of Troop 720
California Inland Empire Council 045
6821 Charloma St
Alta Loma, CA 91701


Parents Of Troop 77
Las Vegas Area Council 328
4138 Brookview Way
Las Vegas, NV 89121


Parents Of Troop 788
Greater Los Angeles Area 033
3462 Del Amo Blvd
Torrance, CA 90503


Parents Of Troop 803
Mt Diablo‐Silverado Council 023
490 Starmont Ct
Danville, CA 94526


Parents Of Troop 810 Scouts
Mt Diablo‐Silverado Council 023
635 Pine Creek Rd
Walnut Creek, CA 94598


Parents Of Troop 828
Blue Grass Council 204
110 Lagoon Trl
London, KY 40744


Parents Of Troop 834
Mt Diablo‐Silverado Council 023
15 Cherokee Ct
San Ramon, CA 94583


Parents Of Troop 851
Greater Los Angeles Area 033
4703 Merrill St
Torrance, CA 90503


Parents Of Troop 888
Pacific Skyline Council 031
1872 Granger Ave
Los Altos, CA 94024


Parents Of Troop 9
Denver Area Council 061
11927 E Lake Cir
Greenwood Village, CO 80111


Parents Of Union Avenue School
Greater Los Angeles Area 033
6250 Cahuenga Blvd
North Hollywood, CA 91606


Parents Of Venture Crew 1919
California Inland Empire Council 045
53155 Idyllbrook Dr
Idyllwild, CA 92549
Parents Of Venture Crew 2559
Greater St Louis Area Council 312
33 Spring Brook Dr
Glen Carbon, IL 62034


Parents Of Venture Crew 591
Greater Los Angeles Area 033
9517 Ralph St
Rosemead, CA 91770


Parents Of W. L. Abney Elementary
Southeast Louisiana Council 214
825 Kostmayer Ave
Slidell, LA 70458


Parents Of Wade Park
Lake Erie Council 440
7600 Wade Park Ave
Cleveland, OH 44103


Parents Of White Point Elememtary
Greater Los Angeles Area 033
1410 Silvius Ave
San Pedro, CA 90731


Parents Sierra Vista Boys      Girls Club
Catalina Council 011
1746 Paseo San Luis
Sierra Vista, Az 85635


Parents Troop 780   Vasquez Industries
Greater Los Angeles Area 033
119 W 49Th St
Los Angeles, Ca 90037


Parentsof Spring Valley
Coronado Area Council 192
1417 Spring Hill Dr
Junction City, KS 66441
Parian Lodge Af   Am No 160
Katahdin Area Council 216
P.O. Box 192
Corinna, ME 04928


Paris Fire Dept
Three Harbors Council 636
16607 Burlington Rd
Union Grove, WI 53182


Paris Henderson
Address Redacted


Paris Kiwanis Club
Westark Area Council 016
P.O. Box 472
Paris, AR 72855


Paris Pitts
Address Redacted


Parish Community Of St Bridget
Northern Star Council 250
3811 Emerson Ave N
Minneapolis, MN 55412


Parish Council Of St Vincent Martyr
Patriots Path Council 358
26 Green Village Rd
Madison, NJ 07940


Parish Council St Teresas Catholic
South Georgia Council 098
417 Edgewood Ln
Albany, GA 31707


Parish Councils Of Andrew
National Capital Area Council 082
1345 Perimeter Rd
Joint Base Andrews, MD 20762
Parish Episcopal School
Circle Ten Council 571
4101 Sigma Rd
Dallas, TX 75244


Parish Life Group/ St Simon
Pacific Skyline Council 031
1860 Grant Rd
Los Altos, CA 94024


Parish Of Christ The King
Indian Nations Council 488
1520 S Rockford Ave
Tulsa, OK 74120


Parish Of East Baton Rouge
Attn Sales Tax Dept
P.O. Box 2590
Baton Rouge, LA 70821‐2590


Parish Of Iberville
P.O. Box 355
Plaquemine, LA 70765‐0355


Parish Of Notre Dame   Saint Thomas
Western Massachusetts Council 234
21 Maple St
Blessed John Paul II Church
Adams, MA 01220


Parish Of St Bernard
P.O. Box 168
Chalmette, LA 70044


Parish Of Sts. Patrick   Raphael
Western Massachusetts Council 234
54 Sworth St
Williamstown, MA 01267


Parish Of Terrebonne
Attn Sales Tax Fund
P.O. Box 670
Houma, LA 70361‐0670


Parish Of The Assumption
Daniel Webster Council, Bsa 330
150 Central Ave
Dover, NH 03820


Parish Of The Holy Eucharist
Pine Tree Council 218
266 Foreside Rd
Falmouth, ME 04105


Parish Of The Holy Spirit
Blue Mountain Council 604
7409 W Clearwater Ave
Kennewick, WA 99336


Parish Of The Holy Spirit
Daniel Webster Council, Bsa 330
161 Main St
Keene, NH 03431


Pariveda Solutions Inc
P.O. Box 671060
Dallas, TX 75267‐1060


Park At Vistancia
Grand Canyon Council 010
29701 N Sunrise Pt
Peoria, AZ 85383


Park Ave Presbyterian Church
Mid Iowa Council 177
3120 SW 9th St
Des Moines, IA 50315


Park Avenue Baptist Church
Quivira Council, Bsa 198
1101 S Arthur St
El Dorado, KS 67042
Park Avenue Redevelopment Corp
Central N Carolina Council 416
632 Park Ave
Salisbury, NC 28144


Park Avenue Utd Methodist Church
South Georgia Council 098
100 E Park Ave
Valdosta, GA 31602


Park Boulevard Presbyterian Church
San Francisco Bay Area Council 028
4101 Park Blvd
Oakland, CA 94602


Park Cities Armstrong Parents
Circle Ten Council 571
3504 Princeton Ave
Dallas, TX 75205


Park Cities Baptist Church
Circle Ten Council 571
3933 Nwest Pkwy
Dallas, TX 75225


Park City Police Dept Explorers
Great Salt Lake Council 590
2060 Park Ave
Park City, UT 84060


Park City Rotary Club
Great Salt Lake Council 590
P.O. Box 982364
Park City, UT 84098


Park Dietz   Assoc Inc
2906 Lafayette
Newport Beach, CA 92663


Park Enterprises LLC
P.O. Box 451
Stockertown, PA 18083
Park Heights Boys And Girls Clubs
Baltimore Area Council 220
4910 Park Heights Ave
Baltimore, MD 21215


Park Hill Christian Church
Heart of America Council 307
6601 NW 72nd St
Kansas City, MO 64151


Park Hill Masonic Building Assoc Inc
Denver Area Council 061
14819 Montview Blvd
Denver, CO 80207


Park Hill Masonic Building Assoc, Inc
Denver Area Council 061
4819 Montview Blvd
Denver, CO 80207


Park Hill Utd Methodist Church
Denver Area Council 061
5209 Montview Blvd
Denver, CO 80207


Park Lake Presbyterian Church
Central Florida Council 083
309 E Colonial Dr
Orlando, FL 32801


Park Maitland School
Central Florida Council 083
P.O. Box 941095
Maitland, FL 32794


Park Place Christian Church
Quivira Council, Bsa 198
2600 N Adams St
Hutchinson, KS 67502
Park Place Church Of God
Crossroads of America 160
501 College Dr
Anderson, IN 46012


Park Place Of Naperville
c/o Suburban Real Est Serv Inc
4300 Commerce Ct, Ste 200
Lisle, IL 60532


Park Place Of Naperville Assoc
1700 Park St, Ste 202
Naperville, IL 60563


Park Presbyterian Church
Seneca Waterways 397
110 Maple Ct
Newark, NY 14513


Park Presbyterian Church
W D Boyce 138
201 N Vermillion St
Streator, IL 61364


Park Ridge Elementary PTO
National Capital Area Council 082
2000 Pkwy Blvd
Stafford, VA 22554


Park Ridge Fraternal Order
Police Lodge 16
Pathway To Adventure 456
200 S Vine Ave
Park Ridge, Il 60068


Park Ridge Presbyterian Church
Pathway To Adventure 456
1300 W Crescent Ave
Park Ridge, IL 60068


Park Street Elementary School
Atlanta Area Council 092
105 Park St Se
Marietta, GA 30060


Park Street Methodist Church
Piedmont Council 420
120 Park St
Belmont, NC 28012


Park Terrace Commty
United Methodist Church
Baden‐Powell Council 368
Glann Rd
Apalachin, Ny 13732


Park Terrace Elementary PTO
Northern Star Council 250
8301 Terrace Rd Ne
Spring Lake Park, MN 55432


Park Us Lessee Holdings Inc
dba Doubletree ‐ Las Vegas Airport
7250 Pollock Dr
Las Vegas, NV 89119


Park Utd Methodist Church
Allegheny Highlands Council 382
15 E 3rd St
Coudersport, PA 16915


Park Utd Methodist Church
French Creek Council 532
30 N Lake St
North E, Pa 16428


Park Utd Methodist Church
Great Rivers Council 653
2335 Palmyra Rd
Hannibal, MO 63401


Park Utd Methodist Church
Great Trail 433
2308 24th St Sw
Akron, OH 44314


Park View Lions
Illowa Council 133
3 Manor Ct
Eldridge, IA 52748


Park View Parent/Teacher Org
Pathway To Adventure 456
6200 Lake St
Morton Grove, IL 60053


Park View School Parent Teachers Club
Three Fires Council 127
250 S Park Blvd
Glen Ellyn, IL 60137


Park West Lions Club
National Capital Area Council 082
8620 Sunnygate Dr
Manassas, VA 20109


Parke Memorial Utd Methodist Church
Baltimore Area Council 220
18910 York Rd
Parkton, MD 21120


Parker B Ripley
Address Redacted


Parker Boats   Motors, Inc
5909 Canyon Dr
Amarillo, TX 79110


Parker Cantelou
Address Redacted


Parker Evangelical Presbyterian Church
Denver Area Council 061
9030 Miller Rd
Parker, CO 80138
Parker First Baptist Church
Gulf Coast Council 773
4630 E Hwy 98
Panama City, FL 32404


Parker Irey
Address Redacted


Parker Lauer
Address Redacted


Parker Loring Dewitt
Address Redacted


Parker Photographic Productions Inc
1981 Johnston Ave
San Jose, CA 95124


Parker Police Dept
Denver Area Council 061
18600 Lincoln Meadows Pkwy
Parker, CO 80134


Parker Police Dept
Las Vegas Area Council 328
1314 W 11th St
Parker, AZ 85344


Parker PTA
Buffalo Trail Council 567
4203 Merrill Dr
Midland, TX 79707


Parker Ranch
Aloha Council, Bsa 104
67‐1435 Mamalahoa Hwy
Kamuela, HI 96743


Parker S Frye
Address Redacted


Parker Sunrise Lions Club
Denver Area Council 061
7828 N Sunrise Trl
Parker, CO 80134


Parker T Schubert
Address Redacted


Parker Utd Methodist Church
Aloha Council, Bsa 104
45‐211 Waikalua Rd
Kaneohe, HI 96744


Parker Utd Methodist Church
Denver Area Council 061
11805 Pine Dr
Parker, CO 80134


Parker Utd Methodist Church
Gulf Coast Council 773
908 S Tyndall Pkwy
Panama City, FL 32404


Parker, Poe, Adams   Bernstein, LLP
401 S Tryon St ‐, Ste 3000
Charlotte, NC 28202


Parker, Poe, Adams    Bernstein, LLP
Three Wachovia Center
401 S Tryon St ‐, Ste 3000
Charlotte, NC 28202‐1935


Parkers Prairie Lions Club
Northern Lights Council 429
55673 118th St
Parkers Prairie, MN 56361


Parkertown Volunteer Fire Co
Jersey Shore Council 341
830 Railroad Dr
Little Egg Harbor Twp, NJ 08087


Parking Access LLC
220 Old Boston Post Rd
Old Saybrook, CT 06475


Parking Access LLC
92 Parker Hill Rd
Killingworth, CT 06419


Parkinson American Legion Post 250
Mid‐America Council 326
106 W Ohio St
Lenox, IA 50851


Parkinson S Disease Foundation
1359 Broadway, Ste 1509
New York, NY 10018


Parkland Spanaway Kiwanis Club
Pacific Harbors Council, Bsa 612
1902 138th St E
Tacoma, WA 98445


Parkland Spanaway Rotary Club
Pacific Harbors Council, Bsa 612
P.O. Box 44572
Tacoma, WA 98448


Parkman Congregational Church
Great Trail 433
18255 Main St
Parkman, OH 44080


Parkmoor Urban Academy Elementary
Simon Kenton Council 441
1711 Penworth Dr
Columbus, OH 43229


Park‐N‐Pool
40 Park Pl
Lexington, VA 24450


Parkrose Community Church Of Christ
Cascade Pacific Council 492
12505 NE Halsey St
Portland, OR 97230


Parks Baptist Church
Evangeline Area 212
5140 Main Hwy
Saint Martinville, LA 70582


Parks Printing / A Divisi0N Of Ajp Inc
8295 Henry Harris Rd
Indian Land, SC 29707


Parkside Elementary
Lake Erie Council 440
12428 Concord Hambden Rd
Concord Twp, OH 44077


Parkside Lutheran Church
Greater Niagara Frontier Council 380
2 Wallace Ave
Buffalo, NY 14214


Parkside Parents Club
Pacific Skyline Council 031
1685 Eisenhower St
Parkside Cub Scout Pack 458
San Mateo, CA 94403


Parksley Volunteer Fire Dept
Del Mar Va 081
Rr 1
Parksley, VA 23421


Parkview Baptist Church
Istrouma Area Council 211
Parkview Church Lane
Baton Rouge, LA 70816
Parkview Camp Bobcat
Three Harbors Council 636
10825 W Villard Ave
Milwaukee, WI 53225


Parkview Church
Northeast Georgia Council 101
4875 Lilburn Stone Mountain Rd Sw
Lilburn, GA 30047


Parkview Church Of Christ
Circle Ten Council 571
815 S Dewey Ave
Sherman, TX 75090


Parkview Community Of Christ Church
Heart of America Council 307
801 SW 19th St
Blue Springs, MO 64015


Parkview Manor Community Center
Southern Shores Fsc 783
380 Truth Dr
Battle Creek, MI 49037


Parkview Mcjrotc Assoc, Inc
Northeast Georgia Council 101
998 Cole Dr Sw
Lilburn, GA 30047


Parkview Presbyterian Church
Simon Kenton Council 441
6969 E Livingston Ave
Reynoldsburg, OH 43068


Parkview Utd Methodist Church
Miami Valley Council, Bsa 444
3713 Benner Rd
Miamisburg, OH 45342
Parkview Utd Methodist Church
Quapaw Area Council 018
P.O. Box 1022
514 N Border


Parkview Utd Methodist Church
Simon Kenton Council 441
344 S Algonquin Ave
Columbus, OH 43204


Parkville Presbyterian Church
Heart of America Council 307
819 Main St
Parkville, MO 64152


Parkway Center
South Plains Council 694
405 N Martin Luther King Blvd
Lubbock, TX 79403


Parkway Christian Church
South Florida Council 084
1200 S Flamingo Rd
Davie, FL 33325


Parkway Elementary P T O
Three Harbors Council 636
5910 N Milwaukee River Pkwy
Milwaukee, WI 53209


Parkway Heights Utd Methodist Church
Pine Burr Area Council 304
2420 Hardy St
Hattiesburg, MS 39401


Parkway Hill Utd Methodist Church
Andrew Jackson Council 303
P.O. Box 1721
Madison, MS 39130


Parkway Hills Umc
Andrew Jackson Council 303
1468 Highland Colony Pkwy
Madison, MS 39110


Parkway Hills Utd Methodist
Andrew Jackson Council 303
1468 Highland Colony Pkwy
Madison, MS 39110


Parkway Lodging Assoc Lc
1600 N Freedom Blvd
Courtyard By Marriott‐Provo
Provo, UT 84604


Parkway Manor Community Services
Southern Shores Fsc 783
380 Truth Dr
Battle Creek, MI 49037


Parkway Presbyterian Church
Northeast Georgia Council 101
5830 Bethelview Rd
Cumming, GA 30040


Parkway Utd Methodist Church
Sam Houston Area Council 576
5801 New Territory Blvd
Sugar Land, TX 77479


Parkwood Baptist Church
National Capital Area Council 082
8726 Braddock Rd
Annandale, VA 22003


Parkwood Community Center
Middle Tennessee Council 560
3220 Vailview Dr
Nashville, TN 37207


Parkwood Institutional Cme Church
Mecklenburg County Council 415
802 Tom Hunter Rd
Charlotte, NC 28213
Parkwood PTA
Greater St Louis Area Council 312
3199 Parkwood Ln
Maryland Heights, MO 63043


Parkwood Utd Methodist Church
Occoneechee 421
5123 Revere Rd
Durham, NC 27713


Parkwood Utd Presbyterian Church
Laurel Highlands Council 527
4289 Mount Royal Blvd
Allison Park, PA 15101


Parkwood‐Upjohn Parent Teacher Org
Southern Shores Fsc 783
2321 S Park St
Kalamazoo, MI 49001


Parma Christian Fellowship Church
Seneca Waterways 397
P.O. Box 284
Hilton, NY 14468


Parma Elks Lodge No 1938 Bpoe
Lake Erie Council 440
P.O. Box 29003
Parma, OH 44129


Parma Police Dept
Lake Erie Council 440
5555 Powers Blvd
Parma, OH 44129


Parma Sandstone Firemens Club
Southern Shores Fsc 783
297 N Union St
Parma, MI 49269
Parma South Presbyterian Church
Lake Erie Council 440
6155 Pearl Rd
Parma Heights, OH 44130


Parr Elementary Parent Teacher Assoc
Denver Area Council 061
5800 W 84th Ave
Arvada, CO 80003


Parr Insurance Agency Inc ‐ Crestline
Buckeye Council 436
224 N Seltzer St
Crestline, OH 44827


Parrish B Mcwhorter
Address Redacted


Parrish Outdoor Adventures
Southwest Florida Council 088
15896 County Rd 675
Parrish, FL 34219


Parrish Utd Methodist Church
Southwest Florida Council 088
12180 US Hwy 301 N
Parrish, FL 34219


Parroquia
Colegio Nuestra Sra De La Guadalupe
Puerto Rico Council 661
P.O. Box 4125
San Juan, Pr 00936


Parroquia De San Jose‐Cap Caridad Cobre
Puerto Rico Council 661
15 Calle Soledad
P.O. Box 333
Luquillo, PR 00773


Parroquia La Merced
Puerto Rico Council 661
113 Calle Violeta
Comunidad Olivares
Lajas, PR 00667


Parroquia La Milagrosa
Puerto Rico Council 661
Ext Villa Marbella
379 Calle 1
Aguadilla, PR 00605


Parroquia La Resurreccion Del Senor
Puerto Rico Council 661
285 Calle Balboa
Mayaguez, PR 00680


Parroquia La Resurrecion Del Senor
Puerto Rico Council 661
285 Calle Balboa
Mayaguez, PR 00680


Parroquia Nuestra Senora Del Rosario
Puerto Rico Council 661
P.O. Box 26
Ciales, PR 00638


Parroquia Sagrada Familia
Puerto Rico Council 661
C Valparaiso Esq Caracas
Ext Forest Hills
Bayamon, PR 00960


Parroquia San Agustin
Puerto Rico Council 661
P.O. Box 4263
Bayamon, PR 00958


Parroquia San Isidro Labrador
Puerto Rico Council 661
42 Calle Munoz Rivera
Sabana Grande, PR 00637


Parroquia San Miguel Arcangel
Puerto Rico Council 661
P.O. Box 625
Cabo Rojo, PR 00623


Parroquia San Pedro Martir De Verona
Puerto Rico Council 661
P.O. Box 32
Guaynabo, PR 00970


Parroquia Santa Catalina De Sienna
Puerto Rico Council 661
Q3 Calle 10
Urb Hermanas Davila
Bayamon, PR 00959


Parroquia Santa Maria De Los Angeles
Puerto Rico Council 661
930 Ave De Diego
San Juan, PR 00921


Parroquia Santa Rosa De Lima
Puerto Rico Council 661
28‐9 Calle 12
Urb Santa Rosa
Bayamon, PR 00959


Parroquia Y Academia Espiritu Santo
Puerto Rico Council 661
1453 Paseo Damisela
Toa Baja, PR 00949


Parroquia Y Academia Espiritu Santo
Puerto Rico Council 661
P.O. Box 50272
Toa Baja, PR 00950


Parrottsville Ruritan Club
Great Smoky Mountain Council 557
249 N Hwy 340
Parrottsville, TN 37843


Parsons Avenue Elementary School
Simon Kenton Council 441
3231 Lee Ellen Pl
Columbus, OH 43207


Parsons Lions Club
West Tennessee Area Council 559
51 Forrest Dr
Parsons, TN 38363


Parti Line International LLC
9219 113rd Ave N, Unit 1E
Largo, FL 33773


Particle Communications
Texas Swest Council 741
2325 Old Eola Rd
San Angelo, TX 76905


Partner Steel Co Inc
3187 Pole Line Rd
Pocatello, ID 83201


Partners In Community Living
Tecumseh 439
1651 Needmore Rd
Dayton, OH 45414


Partners In Education
Samoset Council, Bsa 627
1336 Elm St
Almond, WI 54909


Partners In Education Of The Foxborough
Regional Charter School
Mayflower Council 251
131 Central St
Foxboro, Ma 02035


Partnership Community Church
Great Smoky Mountain Council 557
323 Partnership Pkwy
Maryville, TN 37801
Partnership Employment
6565 N Macarthur Blvd, Ste 130
Irving, TX 75039


Partnership Employment Dallas, LLC
P.O. Box 75343
Chicago, IL 60675‐5343


Partnership For A Healthier America
Attn Brenda Barnett
2001 L St, Ste 750
Washington, DC 20036


Partsips
1 Radisson Plaza, Ste 800
New Rochelle, NY 10801


Party City Corporate Office
25 Green Pond Rd, Ste 1
Rockaway, NJ 07866


Party King
313 N Eisenhower Dr
Beckley, WV 25801


Party Professional    Abc Jumps
358 Greenwich Sw
Albuquerque, NM 87105


Party Reflections
3412 Monroe Rd P.O. Box 5527
Charlotte, NC 28205


Pasadena Fire Dept Station 33
Greater Los Angeles Area 033
515 N Lake Ave
Pasadena, CA 91101


Pasadena First Church Of The Nazarene
Greater Los Angeles Area 033
3700 E Sierra Madre Blvd
Pasadena, CA 91107


Pasadena First Church Of The Nazarene
Sam Houston Area Council 576
3610 Watters Rd
Pasadena, TX 77504


Pasadena Police Dept
Greater Los Angeles Area 033
207 N Garfield Ave
Pasadena, CA 91101


Pasadena Presbyterian Church
Greater Tampa Bay Area 089
100 Pasadena Ave N
St Petersburg, FL 33710


Pasadena Receivables, Inc
Steven G Peroutka 1114
8028 Ritchie Hwy, Ste 300
Pasadena, MD 21122


Pasadena Utd Methodist Church
Baltimore Area Council 220
61 Ritchie Hwy
Pasadena, MD 21122


Pascal Carter Park Assoc
Great Smoky Mountain Council 557
9032 Asheville Hwy
Knoxville, TN 37924


Pascals Catering
1924 E 38 1/2 St
Austin, TX 78723


Pasco Brokerage Inc
P.O. Box 260399
Plano, TX 75026‐0399
Pasco County Sheriffs Office
Greater Tampa Bay Area 089
8700 Citizens Dr
New Port Richey, FL 34654


Pasco Police Dept
Blue Mountain Council 604
525 N 3rd Ave
Pasco, WA 99301


Pasco Sheriff Explorer Club 915
Greater Tampa Bay Area 089
8700 Citizens Dr
New Port Richey, FL 34654


Pascua Yaqui Police Dept
c/o Alfred Woods
7474 S Camino De Oeste
Tucson, AZ 85757


Paseo Del Rey Church
San Diego Imperial Council 049
900 Paseo Del Rey
Chula Vista, CA 91910


Pashamn Stein Walker Hayden
Wiley Malehorn Sirota   Raynes
re Plaintiff
Court Plaza S
21 Main St, Ste 200
Hackensack, NJ 07601


Pashamn Stein Walker Hayden
Wiley Malehorn Sirota   Raynes
re Plaintiff
250 Madison Ave
Morristown, NJ 07960


Pashley Elementary School PTA
Twin Rivers Council 364
30 Pashley Rd
Glenville, NY 12302
Pashman Stein Walder Hayden, P.C.
Attn Justin P. Walder
21 Main St, Ste 200
Hackensack, NJ 07601


Paso Robles Elks Lodge     2364
Los Padres Council 053
P.O. Box 68
1420 Park St


Pasqua Productions Inc
63 John Dyer Way
Doylestown, PA 18902‐9607


Pasquale Mira Restaurant
224 Harper Park Dr
Beckley, WV 25801


Pasquotank Ruritan Club
Tidewater Council 596
2213 Main St Ext
Elizabeth City, NC 27909


Pass At Barron Elementary
Circle Ten Council 571
3300 P Ave
Plano, TX 75074


Pass Christian Police Deparment
Pine Burr Area Council 304
525 Espy Ave
Pass Christian, MS 39571


Pass Christian Rotary Club
Pine Burr Area Council 304
P.O. Box 88
Pass Christian, MS 39571


Pass The Torch Inc
Central Florida Council 083
7290 Waelti Dr
Melbourne, FL 32940


Passaic PTA School 1
Northern New Jersey Council, Bsa 333
390 Van Houten Ave
Passaic, NJ 07055


Passmore Elementray
Bay Area Council 574
600 Kost Rd
Alvin, TX 77511


Past Perfect Software Co Inc
300 N Pottstown Pike, Ste 200
Exton, PA 19341


Past Perfect Software Inc
300 N Pottstown Pike, Ste 200
Exton, PA 19341


Pasta Plus Inc
dba Pasquale Mira Restaurant
224 Harper Park Dr
Beckley, WV 25801


Pasteurs Sports
1835 SW College Rd
Ocala, FL 34471


Pastoral Ministries Inc
Black Swamp Area Council 449
10 W Main St
Leipsic, OH 45856


Pat Curd
Address Redacted


Pat Currie
Address Redacted
Pat Haverfield Studios
2514 Converse
Dallas, TX 75207


Patapsco Masonic Lodge 183
Baltimore Area Council 220
2 Trading Pl
Dundalk, MD 21222


Pataskala Utd Methodist Church
Simon Kenton Council 441
458 S Main St
Pataskala, OH 43062


Patchogue Fire Dept
Suffolk County Council Inc 404
15 Jennings Ave
Patchogue, NY 11772


Patchogue Medford High School
Suffolk County Council Inc 404
Buffalo Ave
Medford, NY 11763


Patchogue Medford Youth   Commty
Svcs
Suffolk County Council Inc 404
390 Bay Ave
Patchogue, Ny 11772


Paterson Police Dept
Northern New Jersey Council, Bsa 333
111 Broadway
Paterson, NJ 07501


Path Of Grace Utd Methodist Church
Northern Star Council 250
759 County Rd B E
Maplewood, MN 55117


Path To Independence
Yocona Area Council 748
92 Carol Ln
Byhalia, MS 38611


Pathable Inc
4065 4th Ave Ne
Seattle, WA 98105


Pathfinder School
Laurel Highlands Council 527
50 Donati Rd
Pittsburgh, PA 15102


Pathway Bank
Overland Trails 322
P.O. Box 428
306 S High St
Cairo, NE 68824


Pathway Christian Fellowship
W.L.A.C.C. 051
9950 Balboa Blvd
Northridge, CA 91325


Pathway Church
Longhorn Council 662
325 NW Renfro St
Burleson, TX 76028


Pathway Community Church
San Francisco Bay Area Council 028
6533 Sierra Ln
Dublin, CA 94568


Pathway To Adventure
1218 W Adams St
Chicago, IL 60607‐2802


Pathway To Adventure Council
811 W Hillgrove Ave
Lagrange, IL 60525‐5822
Pathway To Adventure Council 456
1218 W Adams St
Chicago, IL 60607‐2802


Pathways Baptist Church
National Capital Area Council 082
200 W Diamond Ave
Gaithersburg, MD 20877


Pathways Church
Longhorn Council 662
481 W Harwood Rd
Hurst, TX 76054


Pathways Inc
Five Rivers Council, Inc 375
33 Denison Pkwy W
Corning, NY 14830


Pathways Utd Methodist Church
Ozark Trails Council 306
1232 E Dale St
Springfield, MO 65803


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Address Redacted


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Patricia Andrews
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Patricia Ann Smith
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Patricia Esselborn
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Patricia Michele Mcbyers
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Patton High School Model Un
Piedmont Council 420
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Paula Iacoboni Richard
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Paula Jean Waldron
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Paulding County Sheriffs Office
Black Swamp Area Council 449
500 E Perry St
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Northeastern Pennsylvania Council 501
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Pavco Flight Center
Pacific Harbors Council, Bsa 612
1110 26th Ave Nw
Gig Harbor, WA 98335


Pavilion Fire Dept
Iroquois Trail Council 376
11302 S Lake Rd
Pavilion, NY 14525


Paw Creek Presbyterian Church
Mecklenburg County Council 415
7400 Mount Holly Rd
Charlotte, NC 28214


Paw Paw Lions Club
1St Presbyterian Church
Southern Shores Fsc 783
N Kalamazoo St
35009 32Nd St
Paw Paw, Mi 49079


Paw S Canine Collectibles
Sequoyah Council 713
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Twin Rivers Council 364
520 Pawling Ave
Troy, NY 12180


Pawling Utd Methodist Church
Hudson Valley Council 374
21 Dutcher Ave
Pawling, NY 12564


Pawnee First Utd Methodist Church
Cimarron Council 474
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Narragansett 546
121 Roosevelt Ave
Pawtucket, RI 02860


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Northern Star Council 250
12100 Pioneer Trl
Eden Prairie, MN 55347


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Paxton ‐ First Congregational Church
Heart of New England Council 230
1 Church St
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Paxton Church Of Christ
Prairielands 117
400 W Ottawa Rd
Paxton, IL 60957


Paxton Service Club
Prairielands 117
646 S S Park St
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dba Lowes Super Save
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Department 7101
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Paychex, Inc
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Paychex, Inc
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Central Minnesota 296
16097 Lake Koronis Rd
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Paypal, Inc
4100 Solutions Ctr, 774100
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Payscale Inc
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Chicago, IL 60675‐1343


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Grand Canyon Council 010
213 S Colcord Rd
Payson, AZ 85541


Payson Lions Club
Utah National Parks 591
580 S 400 E
Payson, UT 84651


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dba Mark Payton Glass Center
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Louisville, KY 40202


Payton Nicole Kale
Address Redacted


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Pba Local 313
Northern New Jersey Council, Bsa 333
85 Humboldt St
Wood Ridge, NJ 07075


Pba‐Mahwah Police Dept
Northern New Jersey Council, Bsa 333
221 Franklin Tpke
Mahwah, NJ 07430


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Pbm Graphics Inc
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Pc Connection Sales Corp
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Pittsburgh, MA 15250‐8808


Pc Connection Sales Corp
P.O. Box 536472
Pittsburgh, PA 15253‐5906


Pc Nametag Inc
124 Horizon Dr
Verona, WI 53593


Pc Nametag Inc
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Chicago, IL 60674‐8370


Pc Serv LLC/ Share Point Solutions
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Pc Solutions Of South Florida Inc
4980 NW 165th St, Unit A‐3
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Pc Usa
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Pcma
38407 Eagle Way
Chicago, IL 60678‐1384


Pcma/Experient
Experient/Pcma 53rd Annual Meeting
568 Atrium Dr
Vernon Hills, IL 60061‐1731


Pcm‐Pc Mall Inc
File 55327
Los Angeles, CA 90074‐5327


Pcon   Haywood Elementary
Middle Tennessee Council 560
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Nashville, TN 37215


Pcon   Smithson Craighead Academy
Middle Tennessee Council 560
730 Neelys Bend Rd
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Pea Ridge Utd Methodist Church
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Peace Christian Church
Suffolk County Council Inc 404
680 Ocean Ave
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Peace Community Church
Sam Houston Area Council 576
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Peace Lutheran Church
Bay‐Lakes Council 635
1954 County Rd U
Green Bay, WI 54313


Peace Lutheran Church
Capitol Area Council 564
10625 N Fm 620 Rd
Austin, TX 78726


Peace Lutheran Church
Cascade Pacific Council 492
1525 Glen Creek Rd Nw
Salem, OR 97304


Peace Lutheran Church
Chief Seattle Council 609
1234 NE Riddell Rd
Bremerton, WA 98310


Peace Lutheran Church
Chief Seattle Council 609
18615 SE 272nd St
Covington, WA 98042


Peace Lutheran Church
Crossroads of America 160
701 W 3rd St
Connersville, IN 47331


Peace Lutheran Church
Denver Area Council 061
5675 Field St
Arvada, CO 80002


Peace Lutheran Church
Glaciers Edge Council 620
701 S Century Ave
Waunakee, WI 53597


Peace Lutheran Church
Inland Nwest Council 611
4124 N Harvard Rd
Otis Orchards, WA 99027
Peace Lutheran Church
Last Frontier Council 480
2600 E Danforth Rd
Edmond, OK 73034


Peace Lutheran Church
Longhorn Council 662
941 W Bedford Euless Rd
Hurst, TX 76053


Peace Lutheran Church
Mid Iowa Council 177
1000 E Vermeer Rd
Pella, IA 50219


Peace Lutheran Church
Mid‐America Council 326
2720 28th St
Columbus, NE 68601


Peace Lutheran Church
Montana Council 315
203 Jackrabbit Ln
Belgrade, MT 59714


Peace Lutheran Church
National Capital Area Council 082
401 Smallwood Dr
Waldorf, MD 20602


Peace Lutheran Church
Northern Star Council 250
20 Ndale Blvd Nw
Coon Rapids, MN 55448


Peace Lutheran Church
Overland Trails 322
1710 N N Rd
Grand Island, NE 68803
Peace Lutheran Church
Pacific Harbors Council, Bsa 612
10746 Rampart Dr E
214 E Pioneer
Puyallup, WA 98374


Peace Lutheran Church
President Gerald R Ford 781
3703 Old US Hwy 27 S
Gaylord, MI 49735


Peace Lutheran Church
San Diego Imperial Council 049
7335 Wheatley St
6749 Tait St
San Diego, CA 92111


Peace Lutheran Church
Simon Kenton Council 441
455 Clark State Rd
Gahanna, OH 43230


Peace Lutheran Church
Sioux Council 733
5509 W 41st St
Sioux Falls, SD 57106


Peace Lutheran Church
Southwest Florida Council 088
9850 Immokalee Rd
Naples, FL 34120


Peace Lutheran Church
Tecumseh 439
3530 Dayton Xenia Rd
Beavercreek, OH 45432


Peace Lutheran Church
Ventura County Council 057
71 Loma Dr
Camarillo, CA 93010
Peace Lutheran Church
Voyageurs Area 286
P.O. Box 345
Poplar, WI 54864


Peace Lutheran Church
Water and Woods Council 782
3427 Adams Ave
Saginaw, MI 48602


Peace Lutheran Church Elca
Sam Houston Area Council 576
2201 Rio Grande Blvd
College Station, TX 77845


Peace Mennonite Church Inc
Southwest Florida Council 088
3010 S Sumter Blvd
North Port, FL 34287


Peace Of Christ
Seneca Waterways 397
150 Floverton St
Rochester, NY 14610


Peace Of Christ Parish
Seneca Waterways 397
25 Empire Blvd
Rochester, NY 14609


Peace Presbyterian Church
Mid‐America Council 326
333 S 204th St
Elkhorn, NE 68022


Peace Presbyterian Church
Occoneechee 421
1777 W Chatham St
Cary, NC 27513


Peace Reformed Church
Northern Star Council 250
2180 Glory Dr
Eagan, MN 55122


Peace River Elementary PTO
Southwest Florida Council 088
22400 Hancock Ave
Port Charlotte, FL 33980


Peace Utd Church Of Christ
Mid Iowa Council 177
P.O. Box 356
Gladbrook, IA 50635


Peace Utd Church Of Christ
Northeast Iowa Council 178
301 N Main St
Elkader, IA 52043


Peace Utd Church Of Christ
Pennsylvania Dutch Council 524
37 E Swartzville Rd
Denver, PA 17517


Peace Utd Meth. Church Of Pipestone
Sioux Council 733
P.O. Box 26
Pipestone, MN 56164


Peace Utd Methodist Church
Central Florida Council 083
13502 Town Loop Blvd
Orlando, FL 32837


Peace Utd Methodist Church
National Capital Area Council 082
801 Maple Grove Dr
Fredericksburg, VA 22407


Peace Utd Methodist Church
Northern Star Council 250
5050 Hodgson Rd
Shoreview, MN 55126
Peace Utd Methodist Church
Simon Kenton Council 441
235 Diley Rd
Pickerington, OH 43147


Peacebunny Island Inc
Northern Star Council 250
P.O. Box 202
Newport, MN 55055


Peaceful Pathways Montessori
Three Fires Council 127
8250 State Route 71
Yorkville, IL 60560


Peach Appraisal Co Inc
3451 Winterwood Ct
Marietta, GA 30062


Peach Bowl Lions Club
Golden Empire Council 047
P.O. Box 1086
Yuba City, CA 95992


Peach County Fire Dept
Central Georgia Council 096
1770 US Hwy 341
Fort Valley, GA 31030


Peaches Davis
Address Redacted


Peachland Utd Methodist Church
Central N Carolina Council 416
P.O. Box 330
Peachland, NC 28133


Peachtree Academy Private School
Atlanta Area Council 092
14101 Hwy 278 E
Covington, GA 30014


Peachtree Business Products
P.O. Box 670088
Marietta, GA 30066


Peachtree Christian Church
Atlanta Area Council 092
1580 Peachtree St Nw
Atlanta, GA 30309


Peachtree City Fire And Rescue
Flint River Council 095
105 N Peachtree Pkwy
Peachtree City, GA 30269


Peachtree City Utd Methodist Church
Flint River Council 095
225 Robinson Rd
Peachtree City, GA 30269


Peachtree Laser Inc
2214 Peachtree N Court
Dunwoody, GA 30338


Peachtree Pest Control Co
1394 Indian Trail Rd Bldg 100
Norcross, GA 30093


Peachtree Road Utd Methodist Church
Atlanta Area Council 092
3180 Peachtree Rd Ne
Atlanta, GA 30305


Peak Academy
Circle Ten Council 571
1474 Annex Ave
Dallas, TX 75204


Peak City Gospel Baptist Church
Occoneechee 421
1701 Center St
Apex, NC 27502


Peak Industries Inc
dba Conestoga Log Cabins   Homes
246 N Lincoln Ave
Lebanon, PA 17406


Peak Trading Corp
1 Tomsons Rd, 100
Saugerties, NY 12477


Peak Trading Corp
43 Basin Rd, Ste 1
West Hurley, NY 12491


Peak Trading Corp
dba Nern Slings   Supply
1 Tomsons Rd, 100
Saugerties, NY 12477


Peakland Utd Methodist Church
Blue Ridge Mtns Council 599
4434 Boonsboro Rd
Lynchburg, VA 24503


Peakview Parents   Friends Of Pack 252
Denver Area Council 061
5137 S Ceylon Ct
Centennial, CO 80015


Pearblossom Elementary School
W.L.A.C.C. 051
12828 E Ave W
Pearblossom, CA 93553


Pearce   Assoc Inc
dba Metrolina Crating
P.O. Box 550787
Gastonia, NC 28055
Pearl City American Legion Post 1014
Blackhawk Area 660
100 N Main St
Pearl City, IL 61062


Pearl City Elks Lodge 2669
Aloha Council, Bsa 104
98‐761 Oihana Pl, Ste D1
Aiea, HI 96701


Pearl City Fire Protection Dist
Blackhawk Area 660
200 S Main St
Pearl City, IL 61062


Pearl City Utd Methodist Chuch
Blackhawk Area 660
411 S Main St
Pearl City, IL 61062


Pearl Clark
Address Redacted


Pearl Effinger
Address Redacted


Pearl Fern
Address Redacted


Pearl Gatling
Address Redacted


Pearl Griffin Memorial Latch Key
Texas Trails Council 561
2411 Coggin Ave
Brownwood, TX 76801


Pearl Lean P T O
Great Lakes Fsc 272
2825 Girard Dr
Warren, MI 48092
Pearl Outlaw
Address Redacted


Pearl River Methodist Church
Hudson Valley Council 374
130 Franklin Ave
Pearl River, NY 10965


Pearl Robinson
Address Redacted


Pearl St Methodist Church
Mayflower Council 251
415 Pearl St
Brockton, MA 02301


Pearl Street A.M.E. Church
Andrew Jackson Council 303
2519 Robinson St
Jackson, MS 39209


Pearland Area Citizens Corps
Bay Area Council 574
P.O. Box 2534
Pearland, TX 77588


Pearland Citizens Police Academy
Alumni Assoc
Bay Area Council 574
2555 Cullen Blvd
Pearland, Tx 77581


Pearland Isd
Bay Area Council 574
1928 N Main St
Pearland, TX 77581


Pearland Memorial Post 7109
Bay Area Council 574
P.O. Box 849
Pearland, TX 77588


Pearland Pediatrics Pa
Bay Area Council 574
2017 Broadway St, Ste A
Pearland, TX 77581


Pearland Police Onesimo Lopez
Explorer Post 411
2555 Cullen Pkwy
Perland, TX 77581


Pearlie Grove Mb Church Scouts
Andrew Jackson Council 303
1110 Grand Ave
Jackson, MS 39203


Pearlie Thompson
Address Redacted


Pearlie Ward
Address Redacted


Pearlseta Rose
Address Redacted


Pearson Education Inc
Attn Patricia Lacour
200 Old Tappan Rd
Old Tappan, NJ 07675


Pearson Education, Inc
200 Old Tappan Rd
Old Tappan, NJ 07675


Pearson Education, Inc
2154 E Commons Ave
Centennial, CO 80122


Pearson Education, Inc
221 River St
Hoboken, NJ 07030


Pearson Education, Inc
501 Boylston St
Boston , MA 02116


Pearsons, Inc
P.O. Box 268
Thedford, NE 69116


Pease Elementary P.T.A.
Capitol Area Council 564
1106 Rio Grande St
Austin, TX 78701


Pecan Creek South Bsa
Grand Canyon Council 010
692 E Daniella Dr
Queen Creek, AZ 85140


Pecan Grove Volunteer Fire Dept
Sam Houston Area Council 576
727 Pitts Rd
Richmond, TX 77406


Pecan Grove Ward ‐ LDS Sahuarita Stake
Catalina Council 011
16275 S Starlight View Lane
Sahuarita, AZ 85629


Pecatonica Utd Methodist Church
Blackhawk Area 660
P.O. Box 607
Pecatonica, IL 61063


Peck Elem ‐ Kc
Sam Houston Area Council 576
5001 Martin Luther King Blvd
Houston, TX 77021
Peck School Booster Club
Water and Woods Council 782
222 E Lapeer St
Peck, MI 48466


Peckham Guyton Albers    Viets Inc
Saint Louis Pl
200 N Broadway, Ste 1000
St Louis, MO 63102


Pecks Memorial Utd Methodist Church
Great Smoky Mountain Council 557
2438 Wilkinson Pike
Maryville, TN 37803


Peco An Exelon Co
Cradle of Liberty Council 525
2301 Market St
Philadelphia, PA 19103


Peculiar Utd Methodist Church
Heart of America Council 307
P.O. Box 426
20521 S School Rd


Pedersen‐Maunula Post 379 AL
Voyageurs Area 286
P.O. Box 867
Moose Lake, Mn 55767


Pediatric Dentist Of Katy
Sam Houston Area Council 576
24022 Cinco Village Center Blvd, Ste 210
Katy, TX 77494


Pedro Sandoval
Address Redacted


Pee Dee Area
P.O. Box 268
Florence, SC 29503‐0268
Pee Dee Area Cncl 552
P.O. Box 268
Florence, SC 29503‐0268


Peekskill Yacht Club
Westchester Putnam 388
1 Travis Pt
Peekskill, NY 10566


Peetz Lions Club
Longs Peak Council 062
P.O. Box 159
Peetz, CO 80747


Pegasus School
Capitol Area Council 564
896 Robin Ranch Rd
Lockhart, TX 78644


Pegasus School
Orange County Council 039
19692 Lexington Ln
Huntington Beach, CA 92646


Peggy A Blalock
Address Redacted


Peggy A Gentry
Address Redacted


Peggy Barger
Address Redacted


Peggy Besecker
Address Redacted


Peggy Bloss
Address Redacted
Peggy Chestnutt
Address Redacted


Peggy Coleman
Address Redacted


Peggy Durbin
Address Redacted


Peggy Frans
Address Redacted


Peggy Graham
Address Redacted


Peggy Grandle
Address Redacted


Peggy Griffeth
Address Redacted


Peggy Jackson
Address Redacted


Peggy King
Address Redacted


Peggy Mcgartland
Address Redacted


Peggy Merz
Address Redacted


Peggy Murphy
Address Redacted


Peggy Paskiet
Address Redacted
Peggy Russell
Address Redacted


Peggy Sainz
Address Redacted


Peggy Snyder
Address Redacted


Peggy Stein
Address Redacted


Peggy Talarico
Address Redacted


Peggy Thompson
Address Redacted


Peggy Witters
Address Redacted


Pegram Church Of Christ
Middle Tennessee Council 560
P.O. Box 439
Pegram, TN 37143


Peiyork Intl Co Inc
9530 Padgett St, Ste 104
San Diego, CA 92126


Pelagic Corp
dba Reeftopia
110 Shore Ln
Sugarloaf Key, FL 33042


Pelham Fish   Game Club
Daniel Webster Council, Bsa 330
P.O. Box 917
Pelham, NH 03076


Pelham Police Dept
Daniel Webster Council, Bsa 330
14 Village Grn
Pelham, NH 03076


Pelham Police Dept
Greater Alabama Council 001
32 Philip Davis St
Pelham, AL 35124


Pelican Beach Villas
P.O. Box 495
Darien, GA 31305


Pelican Elementary School
Southwest Florida Council 088
3525 SW 3rd Ave
Cape Coral, FL 33914


Pelican Enterprises LLC
1033 Vale Orchard Ln
Jacksonville, FL 32207


Pelican Enterprises LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Pelican International, Inc
1000 Pl Paul‐Kane
Laval, Qc H7C 2T2
Canada


Pelican Products Inc
23215 Early Ave
Torrance, CA 90505


Pelican Yacht Club
Gulf Stream Council 085
1120 Seaway Dr
Fort Pierce, FL 34949


Pelicans Pouch
P.O. Box 510137
Key Colony Beach, FL 33051


Pell City
1905 1st Ave N
Pell City, AL 35125


Pella 1St Ward ‐ Oakley Stake
Snake River Council 111
160 W 400 S
Burley, ID 83318


Pella 2Nd Ward ‐ Oakley Stake
Snake River Council 111
152 W 400 S
Burley, ID 83318


Pella Lutheran
Montana Council 315
418 W Main St
Sidney, MT 59270


Pella Lutheran Church
Montana Council 315
418 W Main St
Sidney, MT 59270


Pelzer Rescue Squad
Blue Ridge Council 551
125 Hwy 20 N
Pelzer, SC 29669


Pemberton Township Volunteer Fire Dept.
Garden State Council 690
15 Trenton Rd
Browns Mills, NJ 08015
Pembroke Christian Church
Buckskin 617
513 Snidow St
Pembroke, VA 24136


Pembroke Christian Church
Coastal Georgia Council 099
P.O. Box 479
Pembroke, GA 31321


Pembroke Community Church
Iroquois Trail Council 376
692 Main Rd
Corfu, NY 14036


Pembroke Congregational Church
Daniel Webster Council, Bsa 330
301 Pembroke St
Pembroke, NH 03275


Pembroke First Utd Methodist Church
Buckskin 617
5908 Virginia Ave
Pembroke, VA 24136


Pembroke Lion S Club
Cape Fear Council 425
120 N Odum St
Pembroke, NC 28372


Pembroke Pines Police Dept
South Florida Council 084
9500 Pines Blvd
Pembroke Pines, FL 33024


Pembroke School PTO
Connecticut Yankee Council Bsa 072
34 1/2 Pembroke Rd
Danbury, CT 06811


Pemigewasset Fish   Game Club
Daniel Webster Council, Bsa 330
P.O. Box 38
Holderness, NH 03245


Penasquitos Lutheran Church
San Diego Imperial Council 049
14484 Penasquitos Dr
San Diego, CA 92129


Pencil Pushers
John M Kostelnik
113 W Pillsbury, Ste E
Lancaster, CA 93534


Pendennis Club
218 W Muhammed Ali Blvd
Louisville, KY 48202


Pender Ems   Fire, Inc
Cape Fear Council 425
805 Bridgewood Ave
Burgaw, NC 28425


Pender Utd Methodist Church
National Capital Area Council 082
12401 Alder Woods Dr
Fairfax, VA 22033


Pender Utd Methodist Church
National Capital Area Council 082
12500 Lee Jackson Memorial Hw
Hwy


Pendergrass Baptist Church
Northeast Georgia Council 101
105 Church Ave
Pendergrass, GA 30567


Pendleton Community Bank
Stonewall Jackson Council 763
P.O. Box 487
Main St
Franklin, WV 26807
Pendleton Ctr Utd Methodist Church
Iroquois Trail Council 376
6864 Campbell Blvd
North Tonawanda, NY 14120


Pendleton Lions Club
Crossroads of America 160
P.O. Box 322
Pendleton, IN 46064


Pendleton Oil   Gas Co
P.O. Box 126
Raton, NM 87740


Pendleton Utd Methodist Men
Blue Ridge Council 551
P.O. Box 646
Pendleton, SC 29670


Pendragon Assoc
18350 Fenske Rd
Cypress, TX 77433


Penelope Griffin
Address Redacted


Penelope Mentlik
Address Redacted


Penfield Fire Co
Seneca Waterways 397
1838 Penfield Rd
Penfield, NY 14526


Penfield Presbyterian Church
Seneca Waterways 397
1881 Jackson Rd
Penfield, NY 14526
Penfield Rotary Club
Seneca Waterways 397
P.O. Box 28
Penfield, NY 14526


Penfield Utd Methodist Church
Seneca Waterways 397
1795 Baird Rd
Penfield, NY 14526


Penfield Volunteer Emergency Ambulance
Seneca Waterways 397
1585 Jackson Rd
Penfield, NY 14526


Pengal S Basswood Trading Co
137 E Sheridan St
Ely, MN 55731‐1214


Penguin Group Usa      Inc
P.O. Box 4920
Chicago, IL 60693


Penguin Group Usa Inc
4920 Collections Ctr Dr
Chicago, IL 60693


Penguin Random House, LLC
Dept 0919
P.O. Box 120001
Dallas, TX 75312‐0919


Peninsula Chamber Of Commerce
Erie Shores Council 460
5681 E Harbor Rd
Marblehead, OH 43440


Peninsula Utd Methodist Church
Great Trail 433
P.O. Box 186
Peninsula, OH 44264
Peninsular Christian Church
Greater Tampa Bay Area 089
3600 W Ballast Point Blvd
Tampa, FL 33611


Penn Credit Corp
P.O. Box 69703
Harrisburg, PA 17106‐9703


Penn Elementary Cub Scouts
National Capital Area Council 082
15589 Canvasback Ct
Woodbridge, VA 22191


Penn Forest Wesleyan Church
Blue Ridge Mtns Council 599
3735 Chaparral Dr
Roanoke, VA 24018


Penn Foster, Inc
Penn Foster Career School
925 Oak St
Scranton, PA 18515


Penn Glade Lions Club
Moraine Trails Council 500
450 Church Rd
Butler, PA 16002


Penn Hills Sport Shop
12234 Frankstown Rd
Pittsburgh, PA 15235


Penn Keystone Coal Co
124 Penndale Ave
Claysburg, PA 16625


Penn Law Group
Attn Darren Penn
4200 Northside Pkwy, NW
Building One, Ste 100
Atlanta, GA 30327


Penn Law Group
Attn Darren Penn
4200 Nside Pkwy, NW, Bldg One, Ste 100
Atlanta, GA 30327


Penn Law, And Paul Mones, PC
Attn D. Penn, A. Cole, P. Mones
re Plaintiff
4200 Nside Pkwy, Nw
Building One, Ste 100
Atlanta, GA 30327


Penn Law, And Paul Mones, PC
Attn D. Penn, A. Cole, P. Mones
re Plaintiff
13101 Washington Blvd
Los Angeles, CA 90066


Penn Medicine
Cradle of Liberty Council 525
1500 Market St 9th Fl
Philadelphia, PA 19102


Penn State Erie, The Behrend College
Metzgar Admissions   Alumni Center
4851 College Dr
Erie, PA 16563


Penn State University
90 Hope Dr, Ste A10
Hershey, PA 17033‐0852


Penn State University
Attn Bursars Office
76 University Dr
Hazleton, PA 18202


Penn State University ‐ Fayette
Eberly Campus ‐ Fin Aid Office
2201 University Dr
Lemont Furnace, PA 15456


Penn Township Volunteer Fire Co No 50
New Birth of Freedom 544
1740 Pine Rd
Newville, PA 17241


Penn Trails LLC
9 Dogwood Dr
Newville, PA 17241


Penn Wood Home And School Assoc
Chester County Council 539
1470 Johnnys Way
West Chester, PA 19382


Pennie Keathley
Address Redacted


Penniman Elementary
Greater St Louis Area Council 312
1700 Jerome Ln
Cahokia, IL 62206


Pennington Court Recreation Center
Northern New Jersey Council, Bsa 333
214 S St
Newark, NJ 07114


Pennington Facility Boy S   Girl S Club
Nevada Area Council 329
1300 Foster Dr
Reno, Nv 89509


Pennington Presbyterian Church
Washington Crossing Council 777
13 S Main St
Pennington, NJ 08534


Penningtonville Presbyterian Church
Chester County Council 539
P.O. Box 282
Atglen, PA 19310


Pennsburg Group Of Citizens
Cradle of Liberty Council 525
1013 Lake Ln
Pennsburg, PA 18073


Pennsville Baptist Church
Westmoreland Fayette 512
3298 Richey Rd
Mount Pleasant, PA 15666


Pennsylvania Ave Utd Methodist Church
Five Rivers Council, Inc 375
1238 Pennsylvania Ave
Pine City, NY 14871


Pennsylvania Dutch
630 Janet Ave, Suite B‐114
Lancaster, PA 17601‐4541


Pennsylvania Dutch Cncl 524
630 Janet Ave, Ste B‐114
Lancaster, PA 17601‐4582


Pennsylvania Dutch Council 524
630 Janet Ave, Ste B114
Lancaster, PA 17601


Pennsylvania Office Of Attorney General
Consumer Protection Unit
150 S Main St
Providence, RI 02903


Pennsylvania State Attorneys General
1600 Strawberry Square
Harrisburg, PA 17120


Pennsylvania State Treasury
Office of Unclaimed Property
P.O. Box 1837
Harrisburg, PA 17105‐1837


Pennsylvania State University
Attn Office of the Bursar
University Park, PA 16802‐1228


Pennsylvania State University
Office of the Bursar
103 Shields Bldg
University Park, PA 16802


Pennsylvania Yacht Club
Washington Crossing Council 777
2189 State Rd
Bensalem, PA 19020


Pennville Community Center
Anthony Wayne Area 157
P.O. Box 54
Pennville, IN 47369


Penny Blanton
Address Redacted


Penny Decker
Address Redacted


Penny Glasscock
Address Redacted


Penny Grubb
Address Redacted


Penny Potts
Address Redacted


Penny Rohrer
Address Redacted
Penny Swonger
Address Redacted


Penny White
Address Redacted


Penny Yerke
Address Redacted


Pennypack Ecological Restoration Trust
Cradle of Liberty Council 525
2955 Edge Hill Rd
Huntingdon Valley, PA 19006


Penobscot County Conservation Assoc
Katahdin Area Council 216
P.O. Box 605
Brewer, ME 04412


Pension 9 Omnibus Pf02
1325 W Walnut Hill Ln
Irving, TX 75038


Pension Benefit Guaranty Corp
Attn Patricia Kelly, CFO
Attn C. Burton/ C. Fessenden
1200 K St NW
Washington, DC 20005


Pension Benefit Guaranty Corp
P.O. Box 151750
Alexandria, VA 22315‐1750


Penske Truck Leasing
Attn Subrogation Unit
P.O. Box 563
Reading, PA 19603


Penske Truck Leasing Co LP
P.O. Box 7429
Pasadena, CA 91109‐7429


Penske Truck Leasing Co LP
P.O. Box 827380
Philadelphia, PA 19182‐7380


Pentagon Publishing Inc
2437 Millers Pond Ln
Snellville, GA 30039


Pentair
Pentair Aquatic Eco‐Systems
File 403587
Atlanta, GA 30384‐3587


Pentecostal Holiness Church
Northeast Georgia Council 101
P.O. Box 269
Franklin Springs, GA 30639


Pentecostal House Of Faith Inc
Buffalo Trace 156
3818 Claremont Ave
Evansville, IN 47712


Pentree Inc
P.O. Box 1309
Princeton, WV 24740


Pentwater Service Club
President Gerald R Ford 781
P.O. Box 778
Pentwater, MI 49449


People
P.O. Box 62120
Tampa, FL 33663‐1203


People 20 Global Inc
P.O. Box 536853
Atlanta, GA 30353‐6853
People Of Hope Elca
Gamehaven 299
3703 Country Club Rd Sw
Rochester, MN 55902


People Of Praise
Lasalle Council 165
53666 Ironwood Rd
South Bend, IN 46635


People Of Praise Inc
Crossroads of America 160
3300 W Moore Rd
Muncie, IN 47304


People S Clinic
Middle Tennessee Council 560
305 Dover Rd
Clarksville, TN 37042


People S Utd Methodist Church
Pikes Peak Council 060
5110 Tamlin Rd
Colorado Springs, CO 80938


People S Utd Methodist Church
Pine Tree Council 218
21 Depot St
Union, ME 04862


Peopleclick Inc
P.O. Box 822205
Philadelphia, PA 19182‐2205


Peoplefluent Inc
Attn Accounting
434 Fayetteville St, 9th Fl
Raleigh, NC 27601


Peoples Congregational Utd Church
National Capital Area Council 082
4704 13th St Nw
Washington, DC 20011


Peoples Utd Methodist Church
Daniel Webster Council, Bsa 330
P.O. Box 150
Fremont, NH 03044


Peopleservice Inc
Attn Accounts Receivable
209 S 19th St, Ste 555
Omaha, NE 68102‐1758


Peopleware Inc
11061 NE 2Nd, Ste 107
Bellevue, WA 98004


Peoria Academy
W D Boyce 138
2711 W Willow Knolls Dr
Peoria, IL 61614


Peoria Christian School
W D Boyce 138
3506 N California Ave
Peoria, IL 61603


Peoria Fire Dept
W D Boyce 138
505 NE Monroe St
Peoria, IL 61603


Peoria Friendship House Christian Svc
W D Boyce 138
800 Ne Madison Ave
Peoria, Il 61603


Peoria Heights Kiwanis Club
W D Boyce 138
920 E Glen
Peoria Heights, IL 61616
Peoria Park District
W D Boyce 138
1125 W Lake Ave
Peoria, IL 61614


Peoria Police Dept
W D Boyce 138
600 SW Adams St
Peoria, IL 61602


Peosta Community Centre
Northeast Iowa Council 178
7896 Burds Rd
Peosta, IA 52068


Pepin County Sheriff S Office
Chippewa Valley Council 637
740 7th Ave W
Durand, WI 54736


Pepin Lions Club
Chippewa Valley Council 637
300 8th St
Pepin, WI 54759


Pepper Hamilton Llp
Attn David M. Fournier
Attn Marcy J. Mclaughlin Smith
1313 Market St, Ste 5100
P.O. Box 1709
Wilmington, DE 19899‐1709


Pepper Tackle Distributors
12502 Dixie Hwy
Louisville, KY 40272


Pepperdine University
Seaver Financial Aid Office
24255 Pacific Coast Hwy
Malibu, CA 90263
Pepperell Braiding Co, Inc
22 Lowell St
Pepperell, MA 01463


Pepperell‐Fire Firefighters Assoc
Heart of New England Council 230
59 Main St
Pepperell, MA 01463


Pepperell‐Lions Club
Heart of New England Council 230
P.O. Box 1353
Pepperell, MA 01463


Pepperell‐Vets Fgn Wars Post 3291 Inc
Heart Of New England Council 230
2 Leighton St
Pepperell, Ma 01463


Peppermill Hotel Casino Reno
2707 S Virginia St
Reno, NV 89502


Peppermint Ridge
California Inland Empire Council 045
825 Magnolia Ave
Corona, CA 92879


Peppers Performance Eyewear
3001 Pulawski Way
Pittsburgh, PA 15219


Pepsi Beverages Co
3605 N Stone Ave
Colorado Springs, CO 80907


Pepsi Beverages Co
One Pepsi Way
Somers, NY 10589
Pepsi Cola Co
75 Remittance Dr, Ste 1884
Chicago, IL 60675


Pepsi Cola Co
P.O. Box 841828
Dallas, TX 75284‐1828


Pepsi‐Cola Bottling Co Of Mt Shasta
3388 W 19875
Salt Lake City, UT 84104


Per Mar Security Services
P.O. Box 1101
Davenport, IA 52805‐1101


Peralta Memorial Utd Methodist Church
Great Swest Council 412
25 Wesley Rd
Peralta, NM 87042


Perch Point Conservation Club
Water and Woods Council 782
7930 Meisner Rd
Casco, MI 48064


Percival Samuel Lyons
Address Redacted


Perdido Beach Vol Fire Dept Auxiliary
Mobile Area Council‐Bsa 004
8450 Escambia Ave
Perdido Beach, Al 36530


Perea S Electric
5041 Coyote Ct Ne
Rio Rancho, NM 87144


Peregrine Outfitters
P.O. Box 1475
Brattleboro, VT 05302‐1475
Perez Ace 21St Cent
Capitol Area Council 564
7500 Pleasant Valley Dr
Austin, TX 78744


Perez Cattle Co
901 Quay Rd 96
Nara Visa, NM 88430


Perfection Paving
P.O. Box 26486
Phoenix, AZ 85068


Perficient Inc
555 Maryville University Dr, Ste 500
St Louis, MO 63141


Perficient Inc
Box 200026
Pittsburgh, PA 15251‐0026


Perficient Inc
P.O. Box 207094
Dallas, TX 75320‐7094


Perficient, Inc
555 Maryville Niversity Dr, Ste 600
St. Louis, MO 63141


Performance Packaging, Inc
7120 Augusta Rd
Piedmont, SC 29673


Performance Rehab Clinic
P.O. Box 18277
Salt Lake City, UT 84118


Performance Staffing Inc
P.O. Box 7064
San Francisco, CA 94120‐7064


Performance Staffing Solutions, Inc
11709 Fruehauf Dr
Charlotte, NC 28273


Perham Lions Club
Northern Lights Council 429
554 4th St Sw
Perham, MN 56573


Perham Rotary Club
Northern Lights Council 429
47851 450th Ave
Perham, MN 56573


Perimeter Global Logistics
2800 Story Rd W, Ste 100
Irving, TX 75038


Perimeter International
2700 Story Rd, Ste 150
Irving, TX 75038


Perimeter International
P.O. Box 975649
Dallas, TX 75373


Perinton Chamber Of Commerce Park
Seneca Waterways 397
P.O. Box 1144
Fairport, NY 14450


Perinton Presbyterian Church
Seneca Waterways 397
6511 Pittsford Palmyra Rd
Fairport, NY 14450


Perinton Volunteer Ambulance Corp Inc
Seneca Waterways 397
1400 Turk Hill Rd
Fairport, NY 14450


Perkins And Will
Circle Ten Council 571
10100 N Central Expy, Ste 300
Dallas, TX 75231


Perkins Coie
1201 3rd Ave, Ste 4900
Seattle, WA 98101


Perkins Coie
Client Accounting
P.O. Box 24643
Seatle, WA 98124‐0643


Perkins First Utd Methodist Church
Cimarron Council 474
P.O. Box 280
1005 E Kirk


Perkinsville Fire Dept
Five Rivers Council, Inc 375
Main St
Perkinsville, NY 14529


Perlman, Inc
Dba Action Graphics
720 Tuckaseegee Rd
Charlotte, NC 28208


Perma Guard Security Systems
P.O. Box 3545
Chatsworth, CA 91313‐3545


Permatile Concrete
P.O. Box 2049
Bristol, VA 24203


Perot Systems Corp
dba Dell Perot Systems
7489 Collection Center Rd
Chicago, IL 60693


Perovich Properties, Inc/
dba Taos Gravel Product
P.O. Box 1620
El Prado, NM 87529


Perrett S Allied Army Surplus
2514 Williams Blvd
Kenner, LA 70062


Perrin Promise
Tecumseh 439
431 W John St
Springfield, OH 45505


Perrin, Inc
5320 Rusche Dr
Comstock Park, MI 49321‐9551


Perrine Elementary PTA
South Florida Council 084
8851 SW 168th St
Palmetto Bay, FL 33157


Perrine Moose Lodge 380
South Florida Council 084
9854 E Evergreen St
Cutler Bay, FL 33157


Perritte Memorial Umc
East Texas Area Council 585
638A N University Dr 255
Nacogdoches, TX 75961


Perry Branch Of LDS Church     Ames
Mid Iowa Council 177
2008 8th St
Perry, IA 50220
Perry Central Community
Buffalo Trace 156
18677 Old State Rd 37
Leopold, IN 47551


Perry Chiropractic
Alamo Area Council 583
624 S Seguin Ave
New Braunfels, TX 78130


Perry Cochell
Address Redacted


Perry Elks Lodge
Suwannee River Area Council 664
305 Puckett Rd
Perry, FL 32348


Perry Fire Dept
Iroquois Trail Council 376
P.O. Box 243
Perry, NY 14530


Perry Fire Dept
Lake Erie Council 440
P.O. Box 439
3742 Center Rd


Perry Hall Presbyterian Church
Baltimore Area Council 220
8848 Belair Rd
Baltimore, MD 21236


Perry Highway Lutheran Church
Laurel Highlands Council 527
11403 Perry Hwy
Wexford, PA 15090


Perry J Mehrhoff
Address Redacted
Perry J Sakelaris
Address Redacted


Perry Johnson
Address Redacted


Perry Lawrence Powell
Address Redacted


Perry Memorial Utd Methodist Church
Buckskin 617
P.O. Box 1264
Shady Spring, WV 25918


Perry Meridian Middle School
Crossroads of America 160
5391 Shelby St
Indianapolis, IN 46227


Perry Township Fire Dept
Simon Kenton Council 441
4633 State Route 243
Ironton, OH 45638


Perry Township Fire Dept      Coal Grove
Simon Kenton Council 441
56 Township Rd 316
Ironton, OH 45638


Perry Utd Methodist Church
Central Georgia Council 096
1002 Carroll St
Perry, GA 31069


Perry Utd Methodist Church
Cimarron Council 474
P.O. Box 206
501 N 7th St


Perry Utd Methodist Church
Jayhawk Area Council 197
220 Oak St
Perry, KS 66073


Perry Utd Methodist Church
Lake Erie Council 440
3875 Main St
Perry, OH 44081


Perry Varner Education Treatment
Tukabatchee Area Council 005
1002 Selfield Rd
Selma, AL 36703


Perryopolis Lions Club
Westmoreland Fayette 512
Incorrect Address
Perryopolis, PA 15473


Perryton First Christian Church
Golden Spread Council 562
901 S Jefferson St
Perryton, TX 79070


Perryton First Utd Methodist Church
Golden Spread Council 562
P.O. Box 987
1901 W Loop 143


Perryville Utd Methodist Church
Quapaw Area Council 018
P.O. Box 645
Perryville, AR 72126


Perryville Utd Methodist Church House
Del Mar Va 081
301 Susquehanna Ave
Perryville, MD 21903


Persekutuan Pengakap Malaysia
Rumah B‐P
Jalan Hang Jebat
Kuala Lumpur, 50150
Malaysia


Persimmon Ridge LLC
1409 S Main
Tulsa, OK 74119


Persimmon Ridge LLC
dba Post Oak Lodge
5323 W 31st St N
Tulsa, OK 74127


Persits Software, Inc
246 W 38th St 10th Fl
New York, NY 10018


Person Lodge 113
Old N State Council 070
219 Leasburg Rd
P.O. Box 865


Personal Best Publications
P.O. Box 263
Chelsea, AL 35043‐0263


Personal Injury Creditor 116880
Address Redacted


Personal Injury Creditor 116907
Address Redacted


Personal Injury Creditor 116908
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Personal Injury Creditor 116914
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Personal Injury Creditor 117125
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Personal Injury Creditor 122890
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Personnel Concepts
P.O. Box 3353
San Dimas, CA 91773


Personnel Concepts
P.O. Box 5750
Carol Stream, IL 60197‐5750


Personnel Specialist Corporate
Resource Dev Inc
P.O. Box 912388
Denver, CO 80291‐2388


Personnel Strategies Inc
1809 So Plymouth Rd, Ste 350
Minnetonka, MN 55305‐1977


Persource LLC
6408 Baltimore Dr
Marlton, NJ 08053


Persource LLC
P.O. Box 16141
Austin, TX 78761


Perth Amboy High School
Patriots Path Council 358
300 Eagle Ave
Perth Amboy, NJ 08861


Peru LDS Ward
Sagamore Council 162
2355 S Business 31
Peru, IN 46970


Peru Lions Club
Twin Rivers Council 364
16 Helene Way
Peru, NY 12972


Peru Volunteer Ems
W D Boyce 138
111 5th St
Peru, IL 61354


Pervi Precision Co Inc
Suffolk County Council Inc 404
220 Knickerbocker Ave
Bohemia, NY 11716


Pesi Law   Accounting
P.O. Box 900
Eau Claire, WI 54702‐0900


Peskin Harris   Falick
Attn Stephen Peskin
20 Vesey St
New York, NY 10007
Pesotum Utd Methodist Men Church
Prairielands 117
P.O. Box 203
Pesotum, IL 61863


Pet Solutions
802 N Orchard Ln
Beavercreek, OH 45434


Petal Citizens For Scouting
Pine Burr Area Council 304
154 Dove Holw
Petal, MS 39465


Petal Peddler Florist   Gifts
410 E 3rd St
Lampasas, TX 76550


Petal Ward Church Of Jesus Christ LDS
Pine Burr Area Council 304
1618 Broadway Dr
Hattiesburg, MS 39402


Petaluma Church Of Christ
Redwood Empire Council 041
370 Sonoma Mountain Pkwy
Petaluma, CA 94954


Petaluma Elks Lodge 901
Redwood Empire Council 041
2105 S Mcdowell Blvd Ext
Petaluma, CA 94954


Petaluma Police Dept
Redwood Empire Council 041
969 Petaluma Blvd N
Petaluma, CA 94952


Petaluma Sea Scouts, Inc
Redwood Empire Council 041
3305 Eman Ln
Petaluma, CA 94952
Pete Alexander
Address Redacted


Pete Cortez
Address Redacted


Pete Nance Boys   Girls Club
Northeast Georgia Council 101
P.O. Box 767
Madison, GA 30650


Pete Nance Boys And Girls Club
Northeast Georgia Council 101
P.O. Box 474
Greensboro, GA 30642


Pete S Outdoor Store
626 E Cypress
Kennett Square, PA 19348


Peter Albert Homce
Address Redacted


Peter Ashworth
Address Redacted


Peter B Dreifuss
Address Redacted


Peter Beccaccio, The Kentucky Dept
Of Workers Claims   Eric Deters
7230 Turfway Rd
Florence, KY 41042


Peter Bilotta
Address Redacted


Peter Biltz
Address Redacted


Peter Brown
Address Redacted


Peter Cartwright Utd Methodist Church
Abraham Lincoln Council 144
205 W Church St
Pleasant Plains, IL 62677


Peter D Millsap
Address Redacted


Peter D Scifres
Address Redacted


Peter Downey
Address Redacted


Peter Fazio
Address Redacted


Peter Forbes
Address Redacted


Peter G Bergene
Address Redacted


Peter G Clark
Address Redacted


Peter G Linden
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Peter George
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Peter Hausman
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Peter Ho
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Peter J Crump
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Peter J Manipella
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Peter Johnson
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Peter Jones
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Peter Joseph Gilmartin
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Peter Keck
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Peter Keyser
Address Redacted


Peter Kirk
Address Redacted


Peter L Smith
Address Redacted


Peter Langan
Address Redacted


Peter Langston
Address Redacted
Peter Li Education Group
2621 Dryden Rd
Dayton, OH 45439


Peter Lutovsky
Address Redacted


Peter Maskovich
Address Redacted


Peter Mckinley
Address Redacted


Peter Miller
Address Redacted


Peter Nystrom
Address Redacted


Peter Okema
Address Redacted


Peter Pan Bus Lines Inc
1776 Main St
P.O. Box 1776
Springfield, MA 01102‐1776


Peter Perrault
Address Redacted


Peter Reeder
Address Redacted


Peter Self
Address Redacted


Peter Shannon
Address Redacted
Peter Steiner
Address Redacted


Peter Sterrett
Address Redacted


Peter Stikovich
Address Redacted


Peter T Simon
Address Redacted


Peter Thomas
Address Redacted


Peter Timothy Anderson
Address Redacted


Peter Turgeon
Address Redacted


Peter Vindigni
Address Redacted


Peter Zornow
Address Redacted


Peterborough Fire   Rescue
Daniel Webster Council, Bsa 330
16 Summer St
Peterborough, NH 03458


Peterborough Recreation Dept
Daniel Webster Council, Bsa 330
64 Union St
Peterborough, NH 03458
Petersburg Bureau Of Police
Heart of Virginia Council 602
135 N Union St
Petersburg, VA 23803


Petersburg Presbyterian Church
Great Trail 433
P.O. Box 219
Petersburg, OH 44454


Petersburg Redevt And Housing Authority
Heart Of Virginia Council 602
37 Slagle Ave
Petersburg, Va 23803


Petersburg Utd Methodist Church
Southern Shores Fsc 783
152 Saline St
Petersburg, MI 49270


Petersen Drilling Inc
P.O. Box 1045
Virginia, MN 55792


Petersen Inc
Trapper Trails 589
1527 N 2000 W
Farr W, Ut 84404


Petersen S Hardware Inc
Attn Accounts Payable
150 SE Pioneer Way
Oak Harbor, WA 98277


Peterson Automotive Museum
6060 Wilshire Blvd
Los Angeles, CA 90036


Peterson S Landscaping    Maintenance Ser
4209 Old Denton Rd
Haltom City, TX 76117
Petersons Portrait Gallery
P.O. Box 278
Nocona, TX 76255


Petes Electric LLC
P.O. Box 1871
Appleton, WI 54912


Petoskey High School
President Gerald R Ford 781
1500 Hill St
Petoskey, MI 49770


Petrie Memorial Utd Methodist Church
Lincoln Heritage Council 205
202 Main St
Cadiz, KY 42211


Petroleum Club Of Oklahoma City
100 N Broadway
Oklahoma City, OK 73102


Petroleum Products LLC
P.O. Box 644274
Pittsburgh, PA 15264‐4274


Petrolia Utd Methodist Church
Northwest Texas Council 587
106 E Reed St
Petrolia, TX 76377


Pettaquamscutt Lake Shores Impr Assoc
Narragansett 546
P.O. Box 21
Saunderstown, Ri 02874


Pettigrew And Assoc Pa
Conquistador Council Bsa 413
100 E Navajo Dr, Ste 100
Hobbs, NM 88240
Pettit   Pettit Plbg    Htg Inc
194 Maple Ave
Oak Hill, WV 25901‐3430


Petty S Irrigation   Landscape, Ltd
P.O. Box 6464
Tyler, TX 75711‐6464


Petzl America
P.O. Box 413039
Salt Lake City, UT 84141‐3039


Peumansend Creek Industries
P.O. Box 1460
Bowling Green, VA 22427


Pewabic Pottery
10125 E Jefferson
Detroit, MI 48214


Pewaukee Vfw ‐ Post 9537
Potawatomi Area Council 651
202 Clark St
Pewaukee, WI 53072


Peyton Adams
Address Redacted


Peyton Elementary School ‐ Pats
Pikes Peak Council 060
13550 Bradshaw Rd
Peyton, CO 80831


Peyton P Wood
Address Redacted


Peyton Wheeler
Address Redacted
Pf Dist Cmte For Glenns Vly Elem Sch
Crossroads Of America 160
8239 Morgantown Rd
Indianapolis, In 46217


Pf District Cmte For Westwood Elementary
Crossroads of America 160
1900 N Meridian St
Indianapolis, IN 46202


Pf Pettibone    Co
4521 Prime Pkwy
Mchenry, IL 60050


Pfadfinder Und Pfadfinderinnen
Osterreichs
Brauhausgasse 3‐5/4
Wein, 1050
Austria


Pfafftown Christian Church
Old Hickory Council 427
P.O. Box 130
Pfafftown, NC 27040


Pfau Cochran Vertetis Amala PLLC
911 Pacific Ave, Ste 200
Tacoma, WA 98402


Pfau Cochran Vertetis Amala PLLC
Trust Account Fbo William Hasz
911 Pacific Ave, Ste 200
Tacoma, WA 98402


Pfau Cochran Vertetis Amala, PLLC
Attn Michael T Pfau, Jason P Amala
Vincent T Nappo
re Plaintiff
403 Columbia St, Ste 500
Seattle, WA 98104


Pfau, Cochran, Vertetis, Amala PLLC
Attn Michael Pfau
403 Columbia St, Ste 500
Seattle, WA 98104


Pfeiffer S Alternator      Starter
428 N 2nd St
Raton, NM 87740‐3701


Pflugerville Community Church
Capitol Area Council 564
1214 E Pfennig Ln
Pflugerville, TX 78660


Pflugerville Fire Dept
Tcesd 2
203 E Pecan
Pflugerville, TX 78660


Pflugerville Utd Methodist Church
Capitol Area Council 564
500 E Pecan St
Pflugerville, TX 78660


Pfohls, Inc
335 W 1st St
Dubuque, IA 52001


Pfr1 Pinecrest LLC
8804 E Pear Tree Village Ct
Alexandria, VA 22309‐4221


Pfr1 Pinecrest LLC
Firehouse Subs
4852 Eisenhower Ave, Ste 234
Alexandria, VA 22304‐7333


Phalen Leadership Academy 103
Crossroads of America 160


Pham Huy Khue
Silicon Valley Monterey Bay 055
4483 Park Sommers Way
San Jose, CA 95136


Phamily Recordings Inc
13445 Bender Rd
Evansville, IN 47720


Phap Luan Buddhist Cultural Center
Sam Houston Area Council 576
13913 S Post Oak Rd
Houston, TX 77045


Phap Vu Buddhist Cultural Centre Fla Inc
Central Florida Council 083
716 N Dean Rd
Orlando, Fl 32825


Phase 3 Media, LLC
Dept 7052
P.O. Box 2153
Birmingham, AL 35287‐7052


Phd Academy
Chippewa Valley Council 637
3408 Mall Dr
Eau Claire, WI 54701


Phd Productions, LLC
3616 Cowboy Ln
Charlotte, NC 28216


Phd Productions, LLC
Magnolia Financials
P.O. Box 16807
Atlanta, GA 30321


Phea Branch Boys And Girls Club
South Plains Council 694
1801 E 24th St
Lubbock, TX 79404
Pheaa
P.O. Box 1463
Harrisburg, PA 17105


Pheasant Point Elementary Ptc
Greater St Louis Area Council 312
3450 Pheasant Meadow Dr
O Fallon, MO 63368


Pheasant Ridge School PTO
Three Fires Council 127
43 E Stevenson Dr
Glendale Heights, IL 60139


Phelan Petty, Plc
Attn Jonathan M. Petty, Esq.
6641 W Broad St, Ste 406
Richmond, VA 23230


Phelan Petty, Plc, And
Andreozzi   Associates, PC
re Plaintiff
6641 W Broad St, Ste 406
Richmond, VA 23230


Phelan Petty, Plc, And
Andreozzi   Associates, PC
re Plaintiff
111 N Front St
Harrisburg, PA 17101


Phelps Hospital Northwell Health
Westchester Putnam 388
701 N Broadway
Sleepy Hollow, NY 10591


Phelps Lions Club
Seneca Waterways 397
P.O. Box 245
Phelps, NY 14532


Phelps Vol Fire Dept
Seneca Waterways 397
77 Ontario St
Phelps, NY 14532


Phi Beta Sigma Fraternity / Sigma Beta
Circle Ten Council 571
703 E Pentagon Pkwy
Dallas, TX 75216


Phi Beta Sigma Fraternity Inc
145 Kennedy St
Washington, DC 20011


Phi Beta Sigma Fraternity Inc
Alpha Theta Sigma Chapter
P.O. Box 364
Ft Worth, TX 76102


Phi Beta Sigma Fraternity Inc
Gamma Delta Sigma Chapter
P.O. Box 551126
Orlando, FL 32855‐1126


Phi Beta Sigma Fraternity.Inc
Gammazetasigma Chapter
Gulf Stream Council 085
P.O. Box 11383
Riviera Beach, Fl 33419


Phi Beta Signa/Sigma Beta Club
Gulf Stream Council 085
P.O. Box 11383
West Palm Beach, FL 33419


Phi Delta Fraternity
Puerto Rico Council 661
Calle Escute Final
P.O. Box 2900
Juncos, PR 00777


Phi Eta Mu Fraternity
Puerto Rico Council 661
Carr 831 Km0.6 Sector Hernandez
Barrio Santa Rosa II
Guaynabo, PR 00969


Phiillips Healthcare
P.O. Box 100355
Atlanta, GA 30384‐0355


Phil Bird Inc Dba Mcdonald S Restaurant
Black Warrior Council 006
P.O. Box 1927
Hamilton, AL 35570


Phil Blomquist
Address Redacted


Phil Long Ford Of Raton, LLC
301 S 2nd St
Raton, NM 87740


Phil Smith Graphics
221‐A Ingram Dr
King, NC 27021


Phil W Kelly
Address Redacted


Phil Walz Plumbing, Inc
1340 W Ogden Ave
Naperville, IL 60563‐3950


Phila College Of Osteopathic Medicine
Cradle of Liberty Council 525
4170 City Ave
Philadelphia, PA 19131


Philadelphia 1St Ward LDS
Cradle of Liberty Council 525
3913 Chestnut St
Philadelphia, PA 19104
Philadelphia Academies, Inc
Cradle of Liberty Council 525
1401 Walnut St
Philadelphia, PA 19102


Philadelphia Fire Dept
Cradle of Liberty Council 525
240 Spring Garden St
Philadelphia, PA 19123


Philadelphia Lutheran Church
Piedmont Council 420
P.O. Box 278
Granite Falls, NC 28630


Philadelphia Police Dept
Cradle of Liberty Council 525
8501 State Rd
Philadelphia, PA 19136


Philadelphia Presbyterian Church
Mecklenburg County Council 415
11501 Bain School Rd
Mint Hill, NC 28227


Philadelphia Utd Methodist Church
Atlanta Area Council 092
2194 W Hightower Trl
Conyers, GA 30012


Philadelphia Utd Methodist Church
Georgia‐Carolina 093
780 Old Louisville Rd
Harlem, GA 30814


Philadelphia Utd Methodist Church
Palmetto Council 549
1691 Hwy 160 W
Fort Mill, SC 29708


Philanthropic Ventures Fdn
1222 Preservation Park Way
Oakland, CA 94612‐1201


Philbrick‐Clement Post
Daniel Webster Council, Bsa 330
John Stark Hwy
Weare, NH 03281


Philbrook Museum Of Art
P.O. Box 52510
Tulsa, OK 74152


Philip Augsburger
Address Redacted


Philip Barbash
Address Redacted


Philip Bevins
Address Redacted


Philip Bloyd
Address Redacted


Philip Bush
Address Redacted


Philip C Wendt
Address Redacted


Philip Chase Iii
Address Redacted


Philip Drake
Address Redacted


Philip E Hampson
Address Redacted
Philip Eborn
Address Redacted


Philip Eidam
Address Redacted


Philip Galbreath
Address Redacted


Philip Gruenhagen
Address Redacted


Philip H Sheridan Elementary School
Cradle of Liberty Council 525
800 E Ontario St
Philadelphia, PA 19134


Philip J Mckeon Iii
Address Redacted


Philip Jeffrey
Address Redacted


Philip Johnson
Address Redacted


Philip Kaehler
Address Redacted


Philip Kuestner
Address Redacted


Philip Larsen Waidner
Address Redacted


Philip M Condit
Address Redacted
Philip Marley
Address Redacted


Philip Martell
Address Redacted


Philip Mcanelly
Address Redacted


Philip Mccrery
Address Redacted


Philip Melberg
Address Redacted


Philip Mummert
Address Redacted


Philip Pegues
Address Redacted


Philip R Smith School P T O
Connecticut Rivers Council, Bsa 066
949 Avery St
South Windsor, CT 06074


Philip S Bryant Memorial Post 111
Pine Tree Council 218
P.O. Box 611
98 Matthews Way
Turner, ME 04282


Philip Stewart
Address Redacted


Philip T Daly
Address Redacted
Philip Territo
Address Redacted


Philip Tracy
Address Redacted


Philip Velez
Address Redacted


Philip Warner
Address Redacted


Philip Wendt
Address Redacted


Philip Williams
Address Redacted


Philip Wright
Address Redacted


Philippine Airlines
5959 W Century Blvd
Los Angeles, CA 90045


Philips Healthcare
P.O. Box 100355
Atlanta, GA 30384‐0355


Philips Medical Systems
P.O. Box 406538
Atlanta, GA 30384‐6538


Phillip A Gonzalez
Address Redacted


Phillip Berry
Address Redacted
Phillip Breedlove
Address Redacted


Phillip Brockland
Address Redacted


Phillip Bryant
Address Redacted


Phillip Clore
Address Redacted


Phillip Colla Photography
8021 Paseo Arrayan
Carlsbad, CA 92009


Phillip Cranford
Address Redacted


Phillip E Shipley
Address Redacted


Phillip Ferrier
Address Redacted


Phillip Garrett
Address Redacted


Phillip Gittelman Productions, Inc
9032 Puesta Del Sol
Desert Hot Springs, CA 92240


Phillip Glenn
Address Redacted


Phillip Harris
Address Redacted
Phillip Hearne
Address Redacted


Phillip Heikkinen
Address Redacted


Phillip Hill
Address Redacted


Phillip Hohensee
Address Redacted


Phillip Kahler
Address Redacted


Phillip Keel
Address Redacted


Phillip Lamborn
Address Redacted


Phillip Mceuen
Address Redacted


Phillip Mitchell
Address Redacted


Phillip Moore
Address Redacted


Phillip Mumford
Address Redacted


Phillip Nichols
Address Redacted


Phillip Nixon
Address Redacted


Phillip O Berry Academy Of Technology
Mecklenburg County Council 415
1430 Alleghany St
Charlotte, NC 28208


Phillip Rayland Cranford
Address Redacted


Phillip Robinson
Address Redacted


Phillip S Flowers
524 N Cass Ave
Westmont, IL 60559‐1503


Phillip Sharp
Address Redacted


Phillip Smith
Address Redacted


Phillip Thompson
Address Redacted


Phillips , PAolicelli, LLP, And
Fanizzi   Barr, PC
re Plaintiff
747 3rd Ave, Sixth Fl
New York, NY 10017


Phillips , PAolicelli, LLP, And
Fanizzi   Barr, PC
re Plaintiff
2303 Pine Ave
Niagara Falls, NY 14301


Phillips Animal Medical Hospital
Piedmont Council 420
2730 W Franklin Blvd
Gastonia, NC 28052


Phillips Broadcasting, Inc
Dba Kcrt/Kbkz Radio
100 Fisher Dr
Trinidad, CO 81082


Phillips Cme Church
Greater Alabama Council 001
200 Davis Cir Sw
Huntsville, AL 35801


Phillips Cruises    Tours LLC
519 W 4th Ave
Anchorage, AK 99501


Phillips Interior Plants/Dsplay
4108 Paysphere Cir
Chicago, IL 60674


Phillips Lytle Llp
Attn Angela Z Miller
One Canalside
125 Main St
Buffalo, NY 14203


Phillips Medical Systems
P.O. Box 406538
Atlanta, GA 30384‐6538


Phillips Presbyterian Church
Samoset Council, Bsa 627
144 N Avon Ave
Phillips, WI 54555


Phillips Sign   Lighting Inc
40920 Exec Dr
Harrison Twp, MI 48045


Phillips Temple Church
Miami Valley Council, Bsa 444
P.O. Box 26489
Trotwood, OH 45426


Phillipston‐Congregational Church
Heart of New England Council 230
1 the Common
Phillipston, MA 01331


Phillis Lopez
Address Redacted


Phillis Wheatley Center
Blue Ridge Council 551
220 Bent Oak Way
Spartanburg, SC 29301


Phillis Wheatley Elem Family Resource
Lincoln Heritage Council 205
1107 S 17Th St
Louisville, Ky 40210


Philmont Fire Dept
Rt 1, Box 35
Cimarron, NM 87714


Philmont Petty Cash
Philmont Scout Ranch
17 Deer Run Rd
Cimarron, NM 87714


Philmont Scout   Cimarron Methodist
Great Swest Council 412
17 Deer Run Rd
Philmont Scout Ranch
Cimarron, NM 87714


Philmont Scout Ranch
17 Deer Run Rd
Cimarron, NM 87714
Philmont Staff Assoc
c/o Philmont Scout Ranch
17 Deer Run Rd
Cimarron, NM 87714


Philmont Staff Assoc
Philmont Scout Ranch
17 Deer Run Rd
Cimarron, NM 87714‐9638


Philmont Training Center
17 Deer Run Rd
Cimarron, NM 87714


Philmore Glover
Address Redacted


Philomena Ehlers
Address Redacted


Phoebe Parks
Address Redacted


Phoebe Roberts
Address Redacted


Phoenix Academy
Pacific Skyline Council 031
1039 Garden St
East Palo Alto, CA 94303


Phoenix Club Glenview Boys   Girls Club
Middle Tennessee Council 560
1020 Patricia Dr
Nashville, Tn 37217


Phoenix Club Of Nashville
Middle Tennessee Council 560
1118 12th Ave S
Nashville, TN 37203
Phoenix Club Of Nashville
Middle Tennessee Council 560
73 White Bridge Rd, Ste 126
Nashville, TN 37205


Phoenix Decorating Co, Inc
835 S Raymond Ave
Pasadena, CA 91105


Phoenix Friends Church
Grand Canyon Council 010
8055 N 39th Ave
Phoenix, AZ 85051


Phoenix Home Life Mutual Insurance
c/o Baker / Landon Assoc
Mh Staiman Policy 05413802
P.O. Box 98
Montoursville, PA 17754


Phoenix Products
Attn Tom Harper
1136 E 9th St
Muscatine, IA 52761


Phoenix Rangers
Grand Canyon Council 010
7127 E Medina Ave
Mesa, AZ 85209


Phoenix School Of Discovery
Lincoln Heritage Council 205
3741 Pulliam Dr
Louisville, KY 40218


Phoenix Scout Shop ‐ Opc
2969 N Greenfield Rd
Phoenix, AZ 85016


Phoenix Vfw Post 5540 Ladies Auxillary
Longhouse Council 373
70 Culvert St
Ladies Auxiliary
Phoenix, NY 13135


Phoenixville Educational Group
Chester County Council 539
114 Pennsylvania Ave
Phoenixville, PA 19460


Photo Researchers
307 5th Ave
New York, NY 10016


Photography By Laura, Inc
Farm Shopping Center
5111 So Sheridan
Tulsa, OK 74145


Photography By Stanley
5804 W Addison
Chicago, IL 60634


Photolibrary Group Inc
75 Varick St 5th Fl
New York, NY 10013


Photoshop World
P.O. Box 1974
Oldsmar, FL 34677


Photoshot Holdings Limited
29‐31 Saffron Hill
London, EC1N 8SW
United Kingdom


Phs Parents Club
Piedmont Council 042
401 Highland Ave
Piedmont, CA 94611


Phsi Pure Water Finance
P.O. Box 404582
Atlanta, GA 30384‐4582


Phu Tran
Address Redacted


Phyllis Brewer
Address Redacted


Phyllis Calzada
Address Redacted


Phyllis Chaney
Address Redacted


Phyllis Cole
Address Redacted


Phyllis Kubale
Address Redacted


Phyllis Lundholm
Address Redacted


Phyllis Maynard
Address Redacted


Phyllis Moore Greenway
Address Redacted


Phyllis Moring
Address Redacted


Phyllis Ouellet
Address Redacted


Phyllis Powell
Address Redacted
Phyllis Ruth Griffiths
Address Redacted


Phyllis Sanders
Address Redacted


Phyllis Smith
Address Redacted


Phyllis Walker
Address Redacted


Phyllis Wheatley Assoc
Blue Ridge Council 551
P.O. Box 17126
Greenville, SC 29606


Phyllis Woolard
Address Redacted


Physician Sales   Service ‐ 2070
P.O. Box 846260
Dallas, TX 75284‐6260


Pia‐Midamerica
1349 Empire Central, Ste 220
Dallas, TX 75247


Picaboo Yearbooks Corp
255 Shoreline Dr, Ste 100
Redwood City, CA 94065


Picc, LLC
1701 Stoneyridge Dr
Charlotte, NC 28214


Piche S Ski   Sports Shops, Inc
318 Gilford Ave, Route 11‐A
Gilford, NH 03249


Pick Up Outfitters
333 Wyoming Ne
Albuquerque, NM 87123


Pickens County Sheriff S Office
Blue Ridge Council 551
216 C David Stone Rd
Pickens, SC 29671


Pickens Lions Club
Blue Ridge Council 551
‐Glassy Mountain Rd
Pickens, SC 29671


Pickerington Lions Club
Simon Kenton Council 441
8090 Busey Rd
Pickerington, OH 43147


Pickford Lions Club
Bay‐Lakes Council 635
P.O. Box 308
Pickford, MI 49774


Pickwick Fire And Rescue
Gamehaven 299
24616 County Rd 7
Winona, MN 55987


Picnic Time
5131 Maureen Ln
Moorpark, CA 93021


Pico Blanco Alumni Assoc
Silicon Valley Monterey Bay 055
511 Niguel
Watsonville, CA 95076


Picotte PTA
Mid‐America Council 326
14506 Ohio St
Omaha, NE 68116


Picture Parts Frame Warehouse
4626 S Blvd
Charlotte, NC 28209


Picture Rocks Ward ‐ LDS Marana Stake
Catalina Council 011
10190 W Rudasill Rd
Tucson, AZ 85743


Picturell Promotions Inc
270 Carpenter Dr, Ste 100
Atlanta, GA 30328


Piedmont
10 Highland Way
Piedmont, CA 94611‐4095


Piedmont
P.O. Box 1059
Gastonia, NC 28053‐1059


Piedmont Airlines
San Diego Imperial Council 049
2192 Palomar Airport Rd
Carlsbad, CA 92011


Piedmont Cncl 42
10 Highland Way
Piedmont, CA 94611‐4095


Piedmont Cncl 420
P.O. Box 1059
Gastonia, NC 28053‐1059


Piedmont Community Church
Piedmont Council 042
400 Highland Ave
Piedmont, CA 94611


Piedmont Episcopal Church
Stonewall Jackson Council 763
P.O. Box 797
Madison, VA 22727


Piedmont Fire Protection, Inc
8130 Larkhaven Rd
Charlotte, NC 28216


Piedmont Graphics Inc
P.O. Box 4509
Greensboro, NC 27405


Piedmont Industrial Trucks LLC
1900 Leesburg Dr
Clover, SC 29710


Piedmont Language School
Piedmont Council 042
P.O. Box 11092
Oakland, CA 94611


Piedmont Leadership Assoc For Youth
National Capital Area Council 082
P.O. Box 3649
Warrenton, VA 20188


Piedmont Medical Center
Palmetto Council 549
222 S Herlong Ave
Rock Hill, SC 29732


Piedmont Middle School Parent Club
Piedmont Council 042
740 Magnolia Ave
Piedmont, CA 94611


Piedmont National Corp
P.O. Box 890938
Charlotte, NC 28289‐0938


Piedmont Natural Gas Co
4720 Piedmont Row Dr
Charlotte, NC 28210


Piedmont Natural Gas Co
P.O. Box 1246
Charlotte, NC 28201‐1246


Piedmont Pines Assoc
San Francisco Bay Area Council 028
9301 Skyline Blvd
Stan Weisner
Oakland, CA 94611


Piedmont Plastics
5050 Commerce Rd
Richmond, VA 23234


Piedmont Plastics Inc
P.O. Box 890216
Charlotte, NC 28289‐0216


Piedmont Police Dept
Piedmont Council 042
403 Highland Ave
Piedmont, CA 94611


Piedmont Presbyterian Church
Blue Ridge Council 551
P.O. Box 422
Piedmont, SC 29673


Piedmont Utd Methodist
Last Frontier Council 480
P.O. Box 237
Piedmont, OK 73078


Piedmont Utd Presbyterian Church
Cascade Pacific Council 492
5760 NE Cleveland Ave
Portland, OR 97211


Piedmont Valley Lutheran Church
Black Hills Area Council 695 695
16155 Spring Valley Ct
Piedmont, SD 57769


Piedmont‐Wycliffe Neighborhood Assoc
Mid‐America Council 326
P.O. Box 540015
Omaha, NE 68154


Pier School PTO
Bay‐Lakes Council 635
259 Old Pioneer Rd
Fond Du Lac, WI 54935


Pierce Chapel Utd Methodist Church
Chattahoochee Council 091
5122 Pierce Chapel Rd
Midland, GA 31820


Pierce Chapel Utd Methodist Church
Chattahoochee Council 091
8685 Al Hwy 51
Opelika, AL 36804


Pierce College
9401 Farwest Dr Sw
Lakewood, WA 98498‐1999


Pierce County Medical Reserve Corps
Pacific Harbors Council, Bsa 612
3629 S D St
Tacoma, WA 98418


Pierce County Sheriff S Dept
Pacific Harbors Council, Bsa 612
271 John Bananola Way E
South Hill Precinct
Pierce Elementary School PTA
Hawkeye Area Council 172
4343 Marilyn Dr Ne
Cedar Rapids, IA 52402


Pierce Flanagan
Address Redacted


Pierce Hammock PTO
Gulf Stream Council 085
14255 Hamlin Blvd
Loxahatchee, FL 33470


Pierce Promotions   Event Management
One Monument Square 4th Fl
Portland, ME 04101


Pierce‐Mcdonald Vfw Post 1422
Illowa Council 133
181 E Hail St
Bushnell, IL 61422


Pierceton Utd Methodist Church
Anthony Wayne Area 157
502 N 1st St
Pierceton, IN 46562


Pierpont Township Board Of Trustees
Lake Erie Council 440
1109 Rt 7
Pierpont, OH 44082


Pierre A Capdau Charter School
Southeast Louisiana Council 214
4621 Canal St
New Orleans, LA 70119


Pierre‐Louis Delbarre
Address Redacted
Pierremont School PTO
Greater St Louis Area Council 312
1215 Dauphine Ln
Manchester, MO 63011


Piers Bramham
Address Redacted


Pierz Lions Club
Central Minnesota 296
P.O. Box 461
Pierz, MN 56364


Pies   Pints
219 W Maple Ave
Fayetteville, WV 25840


Pike Township Fire Dept
Crossroads of America 160
4881 W 71st St
Indianapolis, IN 46268


Pikes Peak
985 W Fillmore St
Colorado Springs, CO 80907‐5809


Pikes Peak Christian School
Pikes Peak Council 060
5905 Flintridge Dr
Colorado Springs, CO 80918


Pikes Peak Cncl 60
985 W Fillmore
Colorado Springs, CO 80907


Pikes Peak Lodge 5 Pha F.A.M.
Pikes Peak Council 060
513 N Prospect St
Colorado Springs, CO 80903


Pikeside Utd Methodist Church
Shenandoah Area Council 598
25 Paynes Ford Rd
Martinsburg, WV 25405


Piketon Seal Township Fire Dept
Simon Kenton Council 441
2552 Jasper Rd
Piketon, OH 45661


Piketon Seal Twp Fire Dept
Simon Kenton Council 441
2552 Jasper Rd
Piketon, OH 45661


Pikeville Rotary Club
Blue Grass Council 204
222 Hambley Blvd
Pikeville, KY 41501


Pikeville Utd Methodist Church
Blue Grass Council 204
P.O. Box 311
Pikeville, KY 41502


Pikeville Utd Methodist Church
Cherokee Area Council 556
P.O. Box 223
Pikeville, TN 37367


Pikeville Utd Methodist Church
Cherokee Area Council 556
P.O. Box 233
Pikeville, TN 37367


Pilar Colon‐Martin
Address Redacted


Pilgram Lutheran Church
Mid‐America Council 326
2311 Fairview Rd
Bellevue, NE 68123
Pilgrim Baptist Church
Crossroads of America 160
1060 W 30th St
Indianapolis, IN 46208


Pilgrim Baptist Church
Northern Star Council 250
732 Central Ave W
Saint Paul, MN 55104


Pilgrim Christian Church
Lake Erie Council 440
202 S Hambden St
Chardon, OH 44024


Pilgrim Church
Mayflower Council 251
15 Common St
Southborough, MA 01772


Pilgrim Church
Mayflower Council 251
25 S Main St
Sherborn, MA 01770


Pilgrim Congregational Church
Daniel Webster Council, Bsa 330
4 Watson St
Nashua, NH 03064


Pilgrim Congregational Church
Montana Council 315
409 S 36th St
Billings, MT 59101


Pilgrim Faith Church
Pathway To Adventure 456
9411 S 51st Ave
Oak Lawn, IL 60453


Pilgrim Home Baptist Church
Alabama‐Florida Council 003
13534 W US 84
Newton, AL 36352


Pilgrim Lutheran Church
Cascade Pacific Council 492
5650 SW Hall Blvd
Beaverton, OR 97005


Pilgrim Lutheran Church
Northern Star Council 250
1935 Saint Clair Ave
Saint Paul, MN 55105


Pilgrim Lutheran Church
Pacific Harbors Council, Bsa 612
10510 136th St E
Puyallup, WA 98374


Pilgrim Lutheran Church
Sam Houston Area Council 576
8601 Chimney Rock Rd
Houston, TX 77096


Pilgrim Lutheran Church
Water and Woods Council 782
1705 Nebobish Ave
Essexville, MI 48732


Pilgrim Missionary Baptist Church
Prairielands 117
1310 N 6th St
Champaign, IL 61820


Pilgrim Park Middle School PTO
Potawatomi Area Council 651
1500 Pilgrim Pkwy
Elm Grove, WI 53122


Pilgrim Presbyterian Church
Minsi Trails Council 502
750 Belvidere Rd
Phillipsburg, NJ 08865


Pilgrim Rest Baptist Church
Chickasaw Council 558
1484 Pillow St
Memphis, TN 38106


Pilgrim Utd Church Of Christ
Dan Beard Council, Bsa 438
4418 Bridgetown Rd
Cincinnati, OH 45211


Pilgrim Utd Church Of Christ
Great Trail 433
130 Broad Blvd
Cuyahoga Falls, OH 44221


Pilgrim Utd Church Of Christ
Southwest Florida Council 088
24515 Rampart Blvd
Port Charlotte, FL 33980


Pilgrim Utd Methodist Church
Northern Star Council 250
4325 Zachary Ln N
Plymouth, MN 55442


Pillager Lions
Central Minnesota 296
P.O. Box 236
Pillager, MN 56473


Pilmoor Memorial Utd Methodist Church
Tidewater Council 596
P.O. Box 65
Currituck, NC 27929


Pilot Mountain Scouters
Old Hickory Council 427
P.O. Box 1714
Pilot Mountain, NC 27041
Pilot Point Fire Dept
Longhorn Council 662
110 W Div St
Pilot Point, TX 76258


Pilot, Inc
1 Design Center Pl, Ste 719
Boston, MA 02210


Pilsudski Society Of Greenwich
Greenwich 067
65 Arch St
Greenwich, CT 06830


Pima Medical Institue
Sam Houston Area Council 576
10201 Katy Freeway
Houston, TX 77429


Pima Ward ‐ LDS Tucson East Stake
Catalina Council 011
6150 E Fairmount St
Tucson, AZ 85712


Pimlico Elementary School
Baltimore Area Council 220
4849 Pimlico Rd
Baltimore, MD 21215


Pin Oaks Christian Fellowship
Circle Ten Council 571
2620 County Rd 1106
Anna, TX 75409


Pin Peddlers Inc
P.O. Box 312
Etowah, NC 28729‐0312


Pinckney American Legion Post 419
Southern Shores Fsc 783
P.O. Box 468
Pinckney, MI 48169


Pinckneyville Lions Club
Greater St Louis Area Council 312
605 S Douglas St
Pinckneyville, IL 62274


Pinconning Methodist Church
Water and Woods Council 782
314 Whyte St
Pinconning, MI 48650


Pinconning Utd Methodist Church
Water and Woods Council 782
314 Whyte St
Pinconning, MI 48650


Pine Burr Area
1318 Hardy St
Hattiesburg, MS 39401‐4982


Pine Burr Area Cncl 304
1318 Hardy St
Hattiesburg, MS 39401‐4982


Pine Bush Hook   Ladder Co
Hudson Valley Council 374
P.O. Box 1
Pine Bush, NY 12566


Pine City Lions Club
Voyageurs Area 286
General Delivery
Pine City, MN 55063


Pine Cove Inc
P.O. Box 9055
Tyler, TX 75711


Pine Forest Utd Methodist Church
Central Georgia Council 096
400 Woods Ave
Dublin, GA 31021


Pine Forest Utd Methodist Men
Tuscarora Council 424
867 Nc 581 Hwy S
Goldsboro, NC 27530


Pine Forest Utd Methodist Mens Club
Gulf Coast Council 773
2800 Wilde Lake Blvd
Pensacola, FL 32526


Pine Forge Elem Parent Teacher Assoc
C/O Pine Forge Elem
Hawk Mountain Council 528
Pine Forge, Pa 19548


Pine Forge Parent Teacher Assoc
Hawk Mountain Council 528
Pine Forge   Glendale Rd
Pine Forge, PA 19548


Pine Grove Methodist Church
Old Hickory Council 427
1130 Jonestown Rd
Winston Salem, NC 27103


Pine Grove Methodist Mens Club
Twin Rivers Council 364
1580 Central Ave
Albany, NY 12205


Pine Grove Mills Presbyterian Church
Juniata Valley Council 497
P.O. Box 241
Pine Grove Mills, PA 16868


Pine Grove Utd Methodist Church
Old Hickory Council 427
1018 Piney Grove Rd
Kernersville, NC 27284
Pine Grove Utd Methodist Church
Old Hickory Council 427
1130 Jonestown Rd
Winston Salem, NC 27103


Pine Grove Utd Methodist Church
Piedmont Council 420
110 Pine Grove Church Rd
Shelby, NC 28152


Pine Grove Volunteer Fire Dept
Ohio River Valley Council 619
P.O. Box 111
24 Joliff St
Pine Grove, WV 26419


Pine Hall Ruritan Club
Old Hickory Council 427
3196 US 311 Hwy N
Pine Hall, NC 27042


Pine Hills PTA
Central Florida Council 083
1006 Ferndell Rd
Orlando, FL 32808


Pine Island Elementary School
Southwest Florida Council 088
5360 Ridgewood Dr
Bokeelia, FL 33922


Pine Island Utd Methodist
Southwest Florida Council 088
5701 Pine Island Rd Nw
Bokeelia, FL 33922


Pine Lake Park Taxpayers Impr Assoc
Jersey Shore Council 341
201 Hannibal St
Toms River, Nj 08757
Pine Level American Legion
Tuscarora Council 424, Route 2
Pine Level, NC 27568


Pine Log Utd Methodist Church
Northwest Georgia Council 100
3497 Pine Log Rd Ne
Rydal, GA 30171


Pine Mountain Search And Rescue
Blue Grass Council 204
156 Main St, Ste 107
Whitesburg, KY 41858


Pine Mountain Sports Inc
255 SW Century Dr
Bend, OR 97702


Pine Plains Hose Co 1
Hudson Valley Council 374
P.O. Box 668
Pine Plains, NY 12567


Pine Ridge Fellowship
Central Florida Council 083
935 Howland Blvd
Deltona, FL 32738


Pine Ridge Presbyterian Church
Heart of America Council 307
7600 NW Barry Rd
Kansas City, MO 64153


Pine River Sales Inc
3717 Hwy 33 N
Cloquet, MN 55720


Pine Run Methodist Church
Laurel Highlands Council 527
901 N 6th St
Clairton, PA 15025
Pine Shores Presbyterian Church
Southwest Florida Council 088
6135 Beechwood Ave
Sarasota, FL 34231


Pine Tree
146 Plains Rd
Raymond, ME 04071‐6234


Pine Tree Cncl 218
146 Plains Rd
Raymond, ME 04071‐6234


Pine Tree Isd Parkway Elementary
East Texas Area Council 585
P.O. Box 5878
Longview, TX 75608


Pine Tree Rifle Club
Twin Rivers Council 364
P.O. Box 45
Johnstown, NY 12095


Pine Valley Utd Methodist Church
Cape Fear Council 425
3788 Shipyard Blvd
Wilmington, NC 28403


Pine View Buildings LLC
P.O. Box 120
Turnersburg, NC 28688


Pine Village Christian Church
Sagamore Council 162
207 S Jefferson
Pine Village, IN 47975


Pine Wind Music, Inc
127 Winter E
Williamsburg, VA 23188‐1655
Pinecastle Utd Methodist Church
Central Florida Council 083
731 Fairlane Ave
Orlando, FL 32809


Pinecrest Academy ‐ St Rose
Las Vegas Area Council 328
1385 E Cactus Ave
Las Vegas, NV 89183


Pinecrest Academy Horizon PTO
Las Vegas Area Council 328
1360 S Boulder Hwy
Henderson, NV 89015


Pinecrest Academy Inspirada
Las Vegas Area Council 328
2840 Via Contessa
Henderson, NV 89044


Pinecrest Baptist Church
Tidewater Council 596
209 Felton Rd
Portsmouth, VA 23701


Pinecrest Cadence
Las Vegas Area Council 328
225 Grand Cadence Dr
Henderson, NV 89015


Pinecrest Community Church
Denver Area Council 061
7165 N Delbert Rd
Parker, CO 80138


Pinecrest Elementary School PTO
Water and Woods Council 782
1811 Pinecrest Dr
East Lansing, MI 48823
Pinecrest Police Explorers
South Florida Council 084
12645 S Dixie Hwy
Miami, FL 33156


Pineda Presbyterian Church
Central Florida Council 083
5650 N Wickham Rd
Melbourne, FL 32940


Pinehurst‐Kingston Lions Club
Inland Nwest Council 611
P.O. Box 93
Kellogg, ID 83837


Pinellas County Sheriffs Office
Greater Tampa Bay Area 089
10750 Ulmerton Rd
Largo, FL 33778


Pinellas Park Police Dept
Greater Tampa Bay Area 089
7700 59th St
Pinellas Park, FL 33781


Pines Salomon Injury Lawyers
4660 La Jolla Village Dr, Ste 575
San Diego, CA 92122


Pinesdale Fire Dept
Montana Council 315
1621 Main St
Pinesdale, MT 59841


Pinetops Presbyterian Church
East Carolina Council 426
307 W Hamlet St
Pinetops, NC 27864


Pinetops Utd Methodist Church
East Carolina Council 426
P.O. Box 13
Pinetops, NC 27864


Pineview Baptist Church
Mobile Area Council‐Bsa 004
182 Moore St
Thomasville, AL 36784


Pineville Utd Methodist Church
Mecklenburg County Council 415
110 S Polk St
Pineville, NC 28134


Pinewood Presbyterian Church
North Florida Council 087
198 Knight Boxx Rd
Middleburg, FL 32068


Pinewood Ptc
Great Lakes Fsc 272
14411 Bade Dr
Warren, MI 48088


Piney Branch Elementary School
National Capital Area Council 082
8301 Linton Hall Rd
Bristow, VA 20136


Piney Flats Ruritan Club
Sequoyah Council 713
381 Bowman Ford Rd
Piney Flats, TN 37686


Piney Grove Utd Methodist Church
Quapaw Area Council 018
2963 Airport Rd
Hot Springs, AR 71913


Piney Woods School
5096 Hwy 49 S
P.O. Box 100
Piney Woods, MS 39148
Pink Hill Methodist Church
East Carolina Council 426
General Delivery
Pink Hill, NC 28572


Pink Hill/United Methodist Church
East Carolina Council 426
P.O. Box 25
Pink Hill, NC 28572


Pink Jeep Tours Inc
P.O. Box 1447
Sedona, AZ 86339


Pinnacle Designs
615 8th St
San Fernando, CA 91340


Pinnacle Lutheran Church
Seneca Waterways 397
250 Pinnacle Rd
Rochester, NY 14623


Pinnacle Methodist Church
Old Hickory Council 427
P.O. Box 155
Pinnacle, NC 27043


Pinnacle Presbyterian Church
Grand Canyon Council 010
25150 N Pima Rd
Scottsdale, AZ 85255


Pinnacle Promotions Inc
6649 Peachtree Ind Bld, Ste N
Norcross, GA 30092


Pinopolis U Methodist Church Mens Club
Coastal Carolina Council 550
P.O. Box 883
Moncks Corner, SC 29461
Pinopolis Utd Methodist Church
Coastal Carolina Council 550
P.O. Box 521
Pinopolis, SC 29469


Pinot Brasserie
1150 S Olive St, Ste Tg25
Los Angeles, CA 90015


Pinot Brasserie
3355 Las Vegas Blvd S
Las Vegas, NV 89109


Pinsource
380 Hurricane Ln, Ste 201
Williston, VT 05495


Pinterest
P.O. Box 74008066
Chicago, IL 60674‐8066


Pioneer Arizona Foundation Inc
Grand Canyon Council 010
3901 W Pioneer Rd
Phoenix, AZ 85086


Pioneer Battalion ‐ Twhs
Sequoyah Council 713
P.O. Box 39
Ewing, VA 24248


Pioneer Credit Recovery Inc
Attn Wage Garnishment Dept Ref 842092
P.O. Box 158
Arcade, NY 14009


Pioneer Elementary PTA
Ore‐Ida Council 106 ‐ Bsa 106
13255 W Mcmillan Rd
Boise, ID 83713
Pioneer Faith Evangelical Church
Sagamore Council 162
3805 S 500 E
Marion, IN 46953


Pioneer Fire Dept
Northeast Iowa Council 178
11 Ave Sw
Waukon, IA 52172


Pioneer Home Butcher Supplies
2327 W 8th St 3
Loveland, CO 80537


Pioneer Memorial Presbyterian Church
Lake Erie Council 440
35100 Solon Rd
Solon, OH 44139


Pioneer Methodist Church
Oregon Trail Council 697
180 N Baxter St
Coquille, OR 97423


Pioneer Mfg Co
2327 W 8th St 3
Loveland, CO 80537


Pioneer Peak PTA
Great Alaska Council 610
1959 N Trunk Rd
Palmer, AK 99645


Pioneer PTO
Last Frontier Council 480
3686 State Hwy 92
Chickasha, OK 73018


Pioneer School PTO
Northern Lights Council 429
1714 Braman Ave
Bismarck, ND 58501


Pioneer Scout Reservation
Erie Shores Council 460
07 371 Rd S
Pioneer, OH 43554


Pioneer Trail PTO
Great Rivers Council 653
301 Pioneer Trail Dr
Jefferson City, MO 65109


Pioneer Utd Methodist Church
Black Swamp Area Council 449
710 E Baubice St
Pioneer, OH 43554


Pioneer Utd Methodist Church
Mid‐America Council 326
1030 18th Ave
Rock Valley, IA 51247


Pioneer Water Tanks
7910 Burleson Rd Bldg 2
Austin, TX 78744


Piotr Tymbel
Address Redacted


Pipe Creek Presbyterian Church
Alamo Area Council 583
P.O. Box 63377
Pipe Creek, TX 78063


Piper S Meadow Commty
Improvement. Assn
Sam Houston Area Council 576
15920 Pipers View Dr
Webster, Tx 77598
Piperton Utd Methodist Church
West Tennessee Area Council 559
785 Hwy 57
Collierville, TN 38017


Pipeyard
32852 Hwy 71
Rocky Ford, CO 81067


Pipkin Construction
Grand Columbia Council 614
4801 Contractors Dr
East Wenatchee, WA 98802


Piragis Northwoods Co
105 N Central Ave
Ely, MN 55731


Pisces Connections LLC
88005 Overseas Hwy 10‐251
Islamorada, FL 33036


Pisgah Presbyterian Church
Blue Grass Council 204
710 Pisgah Pike
Versailles, KY 40383


Pisgah Utd Methodist Church
Old Hickory Council 427
2165 Pisgah Church Rd
Kernersville, NC 27284


Pisgah Utd Methodist Church
Pee Dee Area Council 552
621 N Ebenezer Rd
Florence, SC 29501


Pisgah Utd Methodist Men
Old Hickory Council 427
2215 Pisgah Church Rd
Kernersville, NC 27284
Pisgah Youth Org
Dan Beard Council, Bsa 438
9124 Cincinnati Columbus Rd
West Chester, OH 45069


Pitcher Hill Community Church
Longhouse Council 373
605 Bailey Rd
Syracuse, NY 13212


Pitcher Linc Caring Communities
Heart of America Council 307
9915 E 38th Ter
Kansas City, MO 64133


Pitman Utd Methodist Church
Garden State Council 690
758 N Broadway
Pitman, NJ 08071


Pitney Bowes Credit Corp 5151
Attn Asset Recovery
P.O. Box 5151
Shelton, CT 06484‐7151


Pitney Bowes Credit Corp 856460
P.O. Box 856460
Louisville, KY 40285‐6460


Pitney Bowes Global Financial Services
P.O. Box 371887
Pittsburgh, PA 15250‐7887


Pitney Bowes Global Financial Svcs LLC
P.O. Box 371887
Pittsburgh, PA 15250‐7887


Pitney Bowes Inc
P.O. Box 371896
Pittsburgh, PA 15250‐7896
Pitney Bowes Inc 856390
P.O. Box 856390
Louisville, KY 40285‐6390


Pitney Bowes Management Services
P.O. Box 845801
Dallas, TX 75284‐5801


Pitney Bowes Purchase Power
P.O. Box 371874
Pittsburgh, PA 15250‐7874


Pitney Bowes, Inc
One Elmcroft Rd
Stamford, CT 06926


Pitt County Law Enforcement Assoc
East Carolina Council 426
930 Port Terminal Rd
Greenville, NC 27858


Pitt County Shrine Club
East Carolina Council 426
P.O. Box 1195
Greenville, NC 27835


Pittman Park Utd Methodist Church
Coastal Georgia Council 099
1102 Fair Rd
Statesboro, GA 30458


Pitts Chapel Utd Methodist Church
Central Georgia Council 096
132 Pitts Chapel Rd
Macon, GA 31217


Pittsboro Christian Church
Crossroads of America 160
P.O. Box 215
Pittsboro, IN 46167
Pittsboro Methodist Church
Occoneechee 421
147 Acorn Ln
Pittsboro, NC 27312


Pittsburg Airport Marriott
777 Aten Rd
Coraopolis, PA 15108


Pittsburgh 3Rd Ward Lds
Laurel Highlands Council 527
113 Earlwood Rd
Penn Hills, PA 15235


Pittsburgh Legal Journal
P.O. Box 643806
Pittsburgh, PA 15264‐3806


Pittsburgh Pioneer
Laurel Highlands Council 527
775 Dunster St
Pittsburgh, PA 15226


Pittsburgh Post‐Gazette
34 Blvd of Allies
Pittsburgh, PA 15222


Pittsburgh School Ward LDS
Laurel Highlands Council 527
210 Old Clairton Rd
Pleasant Hills, PA 15236


Pittsburgh Scout Shop ‐ Opc
1275 Bedford Ave Flag Plaza
Pittsburgh, PA 15219


Pittsburgh State University
Attn Mary E Rinehart
1701 S Broadway
Pittsburgh, KS 66762
Pittsfield Charter Township
6201 W Michigan Ave
Ann Arbor, MI 48108


Pittsfield Police Dept
Western Massachusetts Council 234
39 Allen St
Pittsfield, MA 01201


Pittsfield Rotary Club
Daniel Webster Council, Bsa 330
23 Siel Rd
Pittsfield, NH 03263


Pittsfield Utd Methodist Church
Mississippi Valley Council 141 141
222 N Monroe St
Pittsfield, IL 62363


Pittsford Lions Club
Green Mountain 592
157 Furnace Rd
Pittsford, VT 05763


Pittsford Volunteer Ambulance Inc
Seneca Waterways 397
P.O. Box 122
Pittsford, NY 14534


Pittsford Volunteer Fire Dept
Seneca Waterways 397
8 Monroe Ave
Pittsford, NY 14534


Pitzer College
Attn Office of Financial Aid
Mcconnell 320, 1050 N Mills Ave
Claremont, CA 91711‐6101


Pixeljam Inc
165 Clinton Ave
Asheville, NC 28806


Pj S Sandwich Shop
Southwest Florida Council 088
12342 US Hwy 301 N
Parrish, FL 34219


Pjt Partners Lp
280 Park Ave
New York, NY 10017


Placentia Police Dept
Orange County Council 039
401 E Chapman Ave
Placentia, CA 92870


Placentia Utd Methodist Church
Orange County Council 039
2050 Valencia Ave
Placentia, CA 92870


Placer County Fire
Golden Empire Council 047
1112 Wise Rd
Lincoln, CA 95648


Placer County Sheriffs Dept
Golden Empire Council 047
2929 Richardson Dr, Ste A
Auburn, CA 95603


Placida A Cruz
Address Redacted


Plackens Heating And Contracting
P.O. Box 130
Atikokan, On P0T 1C0
Canada


Plain City Lions Club
Trapper Trails 589
1950 N 4425 W
Plain City, UT 84404


Plain City Presbyterian Church
Simon Kenton Council 441
231 E Main St
Plain City, OH 43064


Plain Language Media, Lllp
P.O. Box 509
New London, CT 06320


Plainedge Public Library
Attn Kathleen Cunningham
1060 Hicksville Rd
Massapequa, NY 11758


Plainfield Fire Dept
Rainbow Council 702
23748 W 135th St
Plainfield, IL 60544


Plainfield Friends Meeting
Crossroads of America 160
105 S E St
Plainfield, IN 46168


Plainfield Historical Society
Rainbow Council 702
23836 W Main St
Plainfield, IL 60544


Plainfield Moose Lodge 2491
Rainbow Council 702
16310 S Lincoln Hwy, Ste 100/102
Plainfield, IL 60586


Plainfield Police Exploring Program
Rainbow Council 702
14300 Coil Plus Dr
Plainfield, IL 60544
Plainfield Utd Methodist Church
Crossroads of America 160
600 Simmons St
Plainfield, IN 46168


Plainfield Utd Methodist Church
Rainbow Council 702
15114 S Illinois St
Plainfield, IL 60544


Plainsboro Volunteer Fire Dept
Washington Crossing Council 777
407 Plainsboro Rd
Plainsboro, NJ 08536


Plainsmen Search And Rescue
Montana Council 315
P.O. Box 171
Plevna, MT 59344


Plaintiff
Address Redacted


Plainview Rotary Club
South Plains Council 694
P.O. Box 964
Plainview, TX 79073


Plainview Ward, LDS
Suffolk County Council Inc 404
160 Washington Ave
Plainview, NY 11803


Plainville Lions Club
Coronado Area Council 192
407 S Jefferson St
Plainville, KS 67663


Plainville Lions Club
Mississippi Valley Council 141 141
P.O. Box 144
Payson, IL 62360


Plainville Utd Methodist Church
Connecticut Rivers Council, Bsa 066
56 Red Stone Hl
Plainville, CT 06062


Plainville Utd Methodist Church
Mayflower Council 251
16 E Bacon St
Plainville, MA 02762


Plainville Utd Methodist Church
Northwest Georgia Council 100
P.O. Box 611
Plainville, GA 30733


Plaistow Fish   Game Club
Daniel Webster Council, Bsa 330
18 May Ray Ave
Plaistow, NH 03865


Plaistow Lions Club
Daniel Webster Council, Bsa 330
Dauntess Lane
Plaistow, NH 03865


Plan B Contracting Inc
Hc 1 Box 261 A
Lewisburg, WV 24901


Plan B Networks, Inc
1120 Industrial Park Rd, Ste 101
Espanola, NM 87532


Plandome Village Assoc
Theodore Roosevelt Council 386
65 S Dr
Plandome Village Hall
Plandome, NY 11030
Planet Hollywood
1506 E Buena Vista Dr
Lake Buena Vista, FL 32830


Planeta Azul Para Los Ninos
Pathway To Adventure 456
449 Perrie Dr
Elk Grove Village, IL 60007


Plank Road North Elementary School Ptsa
Seneca Waterways 397
705 Plank Rd
Webster, NY 14580


Plank Road South Elementary School Ptsa
Seneca Waterways 397
715 Plank Rd
Webster, NY 14580


Plano Fire Dept
Circle Ten Council 571
P.O. Box 860358
1901 K Ave
Plano, TX 75074


Plano Molding Co
P.O. Box 71675
Chicago, IL 60694‐1675


Plano Molding, LLC
431 E S St
Plano, IL 60545


Plano Police Dept
Circle Ten Council 571
909 14th St
Plano, TX 75074


Plano Rotary Club
Circle Ten Council 571
5204 Edgewater Ct
Parker, TX 75094
Plano Rotary Foundation
Circle Ten Council 571
P.O. Box 864316
Plano, TX 75086


Plano West Rotary Club
Circle Ten Council 571
3309 N Central Expy, Ste 370
Plano, TX 75023


Plant Connection Inc
5873 Sound Ave
Riverhead, NY 11901


Plant Interscapes Inc
dba Natura
6436 Babcock Rd
San Antonio, TX 78249


Plant Interscapes, Inc
10744 N Stemmons Freeway
Dallas, TX 75220


Plant World
250 El Pueblo Rd Ne
Albuquerque, NM 87113


Plantation Bait Inc
2505 SW 31st Ave
Pembroke Park, FL 33009


Plantation Elementary School PTO
Evangeline Area 212
1801 Kaliste Saloom Rd
Lafayette, LA 70508


Plantation Key Elementary
100 Lake Rd
Taverneuer, FL 33070
Plantation Police Dept
South Florida Council 084
451 NW 70th Ter
Plantation, FL 33317


Plantation Utd Methodist Church
South Florida Council 084
1001 NW 70th Ave
Plantation, FL 33313


Plantersville Volunteer Fire Dept
Tukabatchee Area Council 005
P.O. Box 22
Plantersville, AL 36758


Plantronics Inc
Silicon Valley Monterey Bay 055
345 Encinal St
Santa Cruz, CA 95060


Plants Of The Southwest
3095 Aqua Fria Rd
Santa Fe, NM 87507


Plaquemine Lions Club
Istrouma Area Council 211
P.O. Box 591
Plaquemine, LA 70765


Plaquemines Parish
Attn Sales Tax Div
7163 Hwy 39, Ste 105
Braithwaite, LA 70040‐2262


Plasco Id Holding, LLC
Idwholesaler, LLC Idw
1501 NW 163rd St
Miami, FL 33169


Plastic Graphic Co
255 Industrial Dr
Wauconda, IL 60084


Plastic Promotions Inc
1286 Trapp Rd
Eagan, MN 55121


Plasticade
P.O. Box 7692
Carol Stream, IL 60197‐7692


Plasticard Locktech Int L
605 Sweeten Creek Industrial Park
Asheville, NC 28803


Plastics Shop Inc
90800 Overseas Hwy
Tavernier, FL 33070


Plastilam Inc
14 Proctor St
P.O. Box 2057
Salem, MA 01970


Plateau Printing   Office Supplies Inc
112 Main St E
Oak Hill, WV 25901


Plateau Wireless Nm Rsa2
P.O. Box 9000
Clovis, NM 88102‐9090


Platepass, LLC
25274 Network Pl
Chicago, IL 60673‐1252


Platinum Minds Inc
Patriots Path Council 358
95 W Main St, Ste 5‐166
Chester, NJ 07930
Platnick Steel   Eng Inc
269 St Clairs Crossing
P.O. Box 627
Bluefield, VA 24605


Platte Canyon Community Church
Denver Area Council 061
P.O. Box 911
4954 County Rd 64
Bailey, CO 80421


Platte City Utd Methodist Church
Heart of America Council 307
14040 N Hwy
Platte City, MO 64079


Platte Woods Utd Methodist Church
Heart of America Council 307
7310 NW Prairie View Rd
Kansas City, MO 64151


Platteville Fire Dept
Blackhawk Area 660
275 E Main St
Platteville, WI 53818


Platteville Police Dept
Blackhawk Area 660
P.O. Box 780
165 N 4th St


Plattsburgh Police Dept
Twin Rivers Council 364
79 Margaret St
Plattsburgh, NY 12901


Plays Conference
1 Olympic Plaza
Colorado Springs, CO 80909


Playscience LLC
50 Broadway, 28th Fl
New York, NY 10004


Playthings
P.O. Box 5668
Harlan, IA 51593‐1168


Playville Inc
1505 N Hwy 190
Covington, LA 70433


Plaza Extra Tutu
4605 Tutu Park Mall, Ste 200
St Thomas, VI 00802


Plaza Research ‐ Dallas
14160 Dallas Pkwy, Ste 602
Dallas, TX 75254


Plaza Research‐Chicago
8725 W Higgins Rd, Ste 150
Chicago, IL 60631


Plcca
Pathway To Adventure 456
411 Madison St
Maywood, IL 60153


Plea School
Laurel Highlands Council 527
733 S Ave
Pittsburgh, PA 15221


Pleasant Gap Rotary Club
Juniata Valley Council 497
253 E College Ave
Pleasant Gap, PA 16823


Pleasant Gap Utd Methodist Church
Juniata Valley Council 497
187 S Main St
Pleasant Gap, PA 16823
Pleasant Grove Baptist Church
Great Lakes Fsc 272
13651 Dequindre St
Detroit, MI 48212


Pleasant Grove Chamber Of Commerce
Utah National Parks 591
242 W 200 S
Pleasant Grove, UT 84062


Pleasant Grove High School
Caddo Area Council 584
5406 Mcknight Rd
Texarkana, TX 75503


Pleasant Grove Isd
Caddo Area Council 584
6500 Pleasant Grove Rd
Texarkana, TX 75503


Pleasant Grove Methodist Church
Chattahoochee Council 091
180 Pleasant Grove Church Rd
Lagrange, GA 30241


Pleasant Grove Middle
Caddo Area Council 584
5605 Cooks Ln
Texarkana, TX 75503


Pleasant Grove Middle School
Caddo Area Council 584
5605 Cooks Ln
Texarkana, TX 75503


Pleasant Grove Umc
Northeast Georgia Council 101
3140 Pleasant Grove Rd
Cumming, GA 30040
Pleasant Grove Utd Methodist
Greater Alabama Council 001
452 9th Ave
Pleasant Grove, AL 35127


Pleasant Grove Utd Methodist Church
Circle Ten Council 571
P.O. Box 404
Corsicana, TX 75151


Pleasant Grove Utd Methodist Church
Crossroads of America 160
445 E 111th St
Indianapolis, IN 46280


Pleasant Grove Utd Methodist Church
Greater Alabama Council 001
144 Concord Highland Dr
Hueytown, AL 35023


Pleasant Grove Utd Methodist Church
Lincoln Heritage Council 205
4730 Pleasant Grove Rd
Owensboro, KY 42303


Pleasant Grove Utd Methodist Church
Northwest Georgia Council 100
2701 Cleveland Hwy
Dalton, GA 30721


Pleasant Grove Volunteer Fire Dept
Old N State Council 070
3847 Nc 49
Burlington, NC 27217


Pleasant Hill American Legion
Mississippi Valley Council 141 141
P.O. Box 51
602 Brant St
Pleasant Hill, IL 62366


Pleasant Hill Area Cit Scouting Assoc
Great Smoky Mountain Council 557
P.O. Box 153
Pleasant Hill, TN 38578


Pleasant Hill Baptist Church
Quapaw Area Council 018
136 Standpipe Rd
Hot Springs, AR 71913


Pleasant Hill Christian Church
Colonial Virginia Council 595
175 Ankum Rd
Pox 550
Gasburg, VA 23857


Pleasant Hill Farm, Inc
Dba Pleasant Hill Grain
P.O. Box 7 210 S 1st St
Hampton, NE 68843


Pleasant Hill Fire Co
New Birth of Freedom 544
2941 Baltimore Pike
Hanover, PA 17331


Pleasant Hill Lions Club
Mt Diablo‐Silverado Council 023
541 Maureen Ln
Pleasant Hill, CA 94523


Pleasant Hill Presbyterian Church
Mecklenburg County Council 415
15000 York Rd
Charlotte, NC 28278


Pleasant Hill Presbyterian Church   Usa
Northeast Georgia Council 101
P.O. Box 25
Statham, GA 30666


Pleasant Hill Recreation
Parks District
147 Gregory Ln
Pleasant Hill, CA 94523


Pleasant Hill Utd Methodist Church
Attn Alan Head
Greater Alabama Council 001
4809 Bell Hill Rd


Pleasant Hill Utd Methodist Church
Central N Carolina Council 416
P.O. Box 18
Mc Farlan, NC 28102


Pleasant Hill Utd Methodist Church
Choctaw Area Council 302
5025 Zero Rd
Meridian, MS 39301


Pleasant Hill Utd Methodist Church
Heart of America Council 307
1300 Lexington Rd
Pleasant Hill, MO 64080


Pleasant Hill Utd Methodist Church
Jayhawk Area Council 197
4525 NW Button Rd
Topeka, KS 66618


Pleasant Hill/ HiLLCrest PTO
Potawatomi Area Council 651
2200 Davidson Rd
Waukesha, WI 53186


Pleasant Hills Montessori School
Northeast Georgia Council 101
2228 Pleasant Gap Cir
Ellijay, GA 30540


Pleasant Hills Presbyterian Church
Laurel Highlands Council 527
199 Old Clairton Rd
Pleasant Hills, PA 15236
Pleasant Hills Utd Methodist Church
Lake Erie Council 440
13200 Bagley Rd
Middleburg Heights, OH 44130


Pleasant Hope Utd Methodist Church
Ozark Trails Council 306
301 W Cowden St
Pleasant Hope, MO 65725


Pleasant Lake Utd Methodist Church
Anthony Wayne Area 157
1160 W Main St
Pleasant Lake, IN 46779


Pleasant Mount Community Center
Northeastern Pennsylvania Council 501
377 Great Bend Tpke
P.O. Box 9
Pleasant Mount, PA 18453


Pleasant Plains First Aid Squad
Jersey Shore Council 341
44 Clayton Ave
Toms River, NJ 08755


Pleasant Plains Volunteer Fire Dept.
Jersey Shore Council 341
40 Clayton Ave
Toms River, NJ 08755


Pleasant Prairie Fire   Rescue Assoc
Three Harbors Council 636
9915 39Th Ave
Pleasant Prairie, Wi 53158


Pleasant Prairie Fire   Rescue Station
Three Harbors Council 636
8044 88th Ave
Pleasant Prairie, WI 53158
Pleasant Prairie School Assoc
Three Harbors Council 636
9208 Wilmot Rd
Pleasant Prairie, WI 53158


Pleasant Ridge Church Of Christ
Longhorn Council 662
6102 W Pleasant Ridge Rd
Arlington, TX 76016


Pleasant Ridge Elementary School PTA
Heart of America Council 307
12235 Rosehill St
Overland Park, KS 66213


Pleasant Ridge Montessori PTO
Dan Beard Council, Bsa 438
5945 Montgomery Rd
Cincinnati, OH 45213


Pleasant Ridge Presbyterian Church
Dan Beard Council, Bsa 438
5950 Montgomery Rd
Cincinnati, OH 45213


Pleasant Run Presbyterian Church
Dan Beard Council, Bsa 438
11565 Pippin Rd
Cincinnati, OH 45231


Pleasant Street Utd Methodist Church
Daniel Webster Council, Bsa 330
8 Pleasant St
Salem, NH 03079


Pleasant Street Utd Methodist Church
Pine Tree Council 218
61 Pleasant St
Waterville, ME 04901


Pleasant Valley Civic Org
Heart of America Council 307
6805 Sobbie Rd
Pleasant Valley, MO 64068


Pleasant Valley Community Guild
Golden Empire Council 047
4765 Pleasant Valley Grange Rd
Placerville, CA 95667


Pleasant Valley Connection
Blue Ridge Council 551
510 Old Augusta Rd
Greenville, SC 29605


Pleasant Valley Grange 348
Cascade Pacific Council 492
858 SE 156th Pl
Portland, OR 97233


Pleasant Valley Lions Club
Quivira Council, Bsa 198
2901 W Cornelison St
Wichita, KS 67203


Pleasant Valley Lions Club
Quivira Council, Bsa 198
3002 N Meridian Ave
Wichita, KS 67204


Pleasant Valley Trout   Game Club Inc
Hudson Valley Council 374
1208 Salt Point Tpke
Pleasant Vly, NY 12569


Pleasant Valley Utd Methodist Church
Hudson Valley Council 374
92 Martin Rd
Pleasant Valley, NY 12569


Pleasant Valley Utd Methodist Church
National Capital Area Council 082
43987 John Mosby Hwy
Chantilly, VA 20152


Pleasant View Baptist Church
Crossroads of America 160
12442 Seastern Ave
Indianapolis, IN 46259


Pleasant View Community Center
Shenandoah Area Council 598
1401 Baxter Rd
Hedgesville, WV 25427


Pleasant View Elementary School PTO
Crossroads of America 160
2105 N Wbrook Dr
Muncie, IN 47304


Pleasant View Methodist Church
Sequoyah Council 713
18416 Lee Hwy
Abingdon, VA 24210


Pleasant View School
Shenandoah Area Council 598
Cherry Run
Berkeley Springs, WV 25411


Pleasant View Utd Methodist Church
Middle Tennessee Council 560
2621 Church St
Pleasant View, TN 37146


Pleasant View Vol Fire Dept
Middle Tennessee Council 560
2425 Hwy 49 E
Pleasant View, TN 37146


Pleasant View Volunteer Fire Dept
Middle Tennessee Council 560
2425 Hwy 49 E
Pleasant View, TN 37146
Pleasant View Wesleyan Church
Susquehanna Council 533
994 E Penn St
Muncy, PA 17756


Pleasanton Isd Police Dept
Alamo Area Council 583
801 Stadium Dr
Pleasanton, TX 78064


Pleasanton Noon Lions Club
Alamo Area Council 583
191 N Trl
Pleasanton, TX 78064


Pleasanton Noon Lions Club
Alamo Area Council 583
2107 Timberhill Dr
Pleasanton, TX 78064


Pleasanton Police Dept
San Francisco Bay Area Council 028
4833 Bernal Ave
Pleasanton, CA 94566


Pleasanton Utd Methodist Church
Heart of America Council 307
751 Main St
Pleasanton, KS 66075


Pleasantview Utd Methodist Church
Buckskin 617
3338 Fisher Ridge Rd
Kenna, WV 25248


Pleasantville Elementary School PTO
Simon Kenton Council 441
300 W Columbus St
Pleasantville, OH 43148


Pleasantville Police Dept
Jersey Shore Council 341
18 N 1st St
Pleasantville, NJ 08232


Pleasantville Presbyterian Church
Westchester Putnam 388
400 Bedford Rd
Pleasantville, NY 10570


Pleasure Ridge Park High School
Lincoln Heritage Council 205
5901 Greenwood Rd
Louisville, KY 40258


Plentywood Elks
Northern Lights Council 429
General Delivery
Lester Severson
Plentywood, MT 59254


Plimus, Inc
1735 Technology Dr, Ste 720
San Jose, CA 95110


Plover‐Whiting PTO
Samoset Council, Bsa 627
R1 Hoover Rd
Plover, WI 54467


Pltw
21 Corporate Dr, Ste 105
Clifton Park, NY 12065‐8643


Pluckemin Presbyterian Church
Patriots Path Council 358
Route 202‐206 N
Pluckemin, NJ 07978


Plum Creek Presbyterian Church
Laurel Highlands Council 527
550 Center New Texas Rd
Pittsburgh, PA 15239
Plum Grove String Academy
Pathway To Adventure 456
1114 E 181st Ave
Lowell, IN 46356


Plum Pudding Ltd
Chapel House, St Lawrences Way
Reigate, Surrey, Rh2 7Af
United Kingdom


Plumbers And Pipefitters Jatc Local 219
Great Trail 433
1655 Brittain Rd
Akron, OH 44310


Plumbmaster
P.O. Box 890845
Charlotte, NC 28289‐0845


Plumstead Township Police Dept
Washington Crossing Council 777
P.O. Box 283
Plumsteadville, PA 18949


Plumtree Schoolhouse Assoc
Connecticut Yankee Council Bsa 072
P.O. Box 711
Bethel, CT 06801


Plus 39 Events Srl
Via Raffaello Sanzio 36
Milano, Mi 20149
Italy


Plyler Paper Stock Co Inc
800 Gesco St
Charlotte, NC 28208


Plymouth Church Ucc Of Shaker Heights
Lake Erie Council 440
2860 Coventry Rd
Shaker Heights, OH 44120


Plymouth Columbian Hau
Great Lakes Fsc 272
150 Fair St
Plymouth, MI 48170


Plymouth Congregal Utd Ch Christ
Three Rivers Council 578
P.O. Box 20122
Beaumont, Tx 77720


Plymouth Congregational Church
Greater Los Angeles Area 033
12058 Beverly Blvd
Whittier, CA 90601


Plymouth Congregational Church
Mayflower Council 251
Box 2322
87 Edgell Rd
Framingham, MA 01701


Plymouth Congregational Church
Mid Iowa Council 177
4126 Ingersoll Ave
Des Moines, IA 50312


Plymouth Congregational Church
Montana Council 315
400 S Oakes St
Helena, MT 59601


Plymouth County Conservation
Mid‐America Council 326
P.O. Box 1033
Hinton, IA 51024


Plymouth Elks 1476 Bpoe
Mayflower Council 251
52 W Long Pond Rd
Plymouth, MA 02360


Plymouth Lodge 2485 Loyal Order Of Moose
Mayflower Council 251
601 State Rd
Plymouth, MA 02360


Plymouth Mens Club Of Utd Church Of
Christ Congregational
Connecticut Yankee Council Bsa 072
34 W Main St


Plymouth Park Baptist Church
1714 N Story Rd
Irving, TX 75061


Plymouth Park Utd Methodist Church
Circle Ten Council 571
1615 W Airport Fwy
Irving, TX 75062


Plymouth Police Dept
Northern Star Council 250
3400 Plymouth Blvd
Plymouth, MN 55447


Plymouth School Parent Teacher
Water and Woods Council 782
1105 W Sugnet Rd
Organization
Midland, MI 48640


Plymouth Utd Church Of Christ
Sam Houston Area Council 576
5927 Louetta Rd
Spring, TX 77379


Plymouth Volunteer Ambulance Corp
Connecticut Rivers Council, Bsa 066
191 Main St
Terryville, CT 06786
Pma Dispute Resolution
20 Corporate Park, Ste 300
Irvine, CA 92606


Pmo Ii, LP
Intercontinental Kansas City
401 Ward Pkwy
Kansas City, MO 64112


Pmsi
200 Benton St
Stratford, CT 06615


Pmtv
681 Moore Rd, Ste 100
King of Prussia, PA 19406


Pnc Bank
c/o Neast Region Bsa
P.O. Box 268
Jamesburg, NJ 08831‐0268


Pnc Bank
P.O. Box 609
Pittsburgh, PA 15230‐9738


Po Box Fee
34 S 2nd Ave E
Ely, MN 55731


Poage Elementary
Buckskin 617
3215 S 29th St
Ashland, KY 41102


Poarch Creek Indian Tribal Police
Gulf Coast Council 773
6217 Jack Springs Rd
Atmore, AL 36502
Poasttown PTO
Dan Beard Council, Bsa 438
1380 Middletown Eaton Rd
Middletown, OH 45042


Poca Baptist Church
Buckskin 617
130 Main St
Poca, WV 25159


Poca Utd Methodist Church
Buckskin 617
112 Silver St
Poca, WV 25159


Pocahontas 1St Utd Methodist Church
Quapaw Area Council 018
400 N Thomasville Ave
Pocahontas, AR 72455


Pocahontas Utd Methodist Church
Greater St Louis Area Council 312
P.O. Box 276
Pocahontas, IL 62275


Pocasset Community Building
Cape Cod and Islands Cncl 224
314 Barlows Landing Rd
Pocasset, MA 02559


Pocatello Community Charter School
Grand Teton Council 107
995 S Arthur Ave
Pocatello, ID 83204


Pocatello/Chubbuck
School Dist Number Twenty‐Five
3115 Pole Line Rd
Pocatello, ID 83201‐6119


Pocomoke Elks 1624
Del Mar Va 081
1929 Cedar Hall Rd
Pocomoke City, MD 21851


Pocono Lake Utd Methodist Church
Minsi Trails Council 502
1188 Pa 940
Pocono Lake, PA 18347


Pocono Township Volunteer Fire Co
Minsi Trails Council 502
114 Municipal Ln
Tannersville, PA 18372


Pocopson School PTO
Chester County Council 539
1105 Pocopson Rd
West Chester, PA 19382


Pods Enterprises Inc
5585 Rio Vista Dr
Clearwater, FL 33760


Poetry Community Christian School
Circle Ten Council 571
18688 Fm 986
Terrell, TX 75160


Pohlow Enterprises LLC
dba Kleanerkitchens
405 W Kimball St
Mansfield, TX 76063


Poiema Technologies Inc
876 Sylvan Creek Dr
Weatherford, TX 76087


Poinciana Elementary School PTA
Gulf Stream Council 085
1203 N Seacrest Blvd
Boynton Beach, FL 33435
Point 6
P.O. Box 882223
Steamboat Springs, CO 80488


Point Bible Church
Baden‐Powell Council 368
2938 US Hwy 11
Whitney Point, NY 13862


Point Coupee Parish Sales Tax
P.O. Box 290
New Rds, LA 70760‐0290


Point Hope Utd Methodist Church
Coastal Carolina Council 550
3404 Turgot Ln
Mount Pleasant, SC 29466


Point Loma Community Presbyterian Church
San Diego Imperial Council 049
2128 Chatsworth Blvd
San Diego, CA 92107


Point Loma Rotary Club
San Diego Imperial Council 049
President
655 San Elijo St
San Diego, CA 92106


Point Lookout Lido Fire Dept
Theodore Roosevelt Council 386
P.O. Box 44
Point Lookout, NY 11569


Point Of Rocks Ruritan
National Capital Area Council 082
P.O. Box 135
Point of Rocks, MD 21777


Point Of Truth Church
Longhorn Council 662
512 Celeste Dr
Robinson, TX 76706


Point Pleasant Boro Fire Co Station 75
Jersey Shore Council 341
1 Memorial Dr
P.O. Box 532
Point Pleasant Boro, NJ 08742


Point Pleasant Borough Police Dept
Jersey Shore Council 341
2233 Bridge Ave
Point Pleasant, NJ 08742


Point Pleasant Firemans Assoc
Seneca Waterways 397


Point Pleasant Presbyterian Church
Jersey Shore Council 341
704 Forman Ave
Pt Pleasant, NJ 08742


Point School PTO
Greater St Louis Area Council 312
6790 Telegraph Rd
Saint Louis, MO 63129


Point Weber Assoc, Inc
Greater Yosemite Council 059
3060 Canal Dr
Stockton, CA 95204


Pointe Of Grace Lutheran Church
Mount Baker Council, Bsa 606
5425 Harbour Pointe Blvd
Mukilteo, WA 98275


Pointer Ridge PTA
National Capital Area Council 082
1110 Parkington Ln
Bowie, MD 20716
Points Of Light
P.O. Box 934938Attn    Erika Council
3585 Atlanta Ave
Hapeville, GA 30354


Pojoaque Boys And Girls Club
Great Swest Council 412
101 Lighting Loop A
Santa Fe, NM 87506


Polach Appraisal Group Inc
1761 S Naperville Rd, Ste 103
Wheaton, IL 60189


Poland Presbyterian Church
Great Trail 433
2 Poland Mnr
Poland, OH 44514


Poland Spring
Division of Nestle Waters N Am Inc
P.O. Box 856192
Louisville, KY 40285‐6192


Poland Utd Methodist Church
Great Trail 433
1940 Boardman Poland Rd
Poland, OH 44514


Polar Bottle/Product Architect Inc
4601 Nautilus Court S
Boulder, CO 80301


Polar Equipment, Inc
12881 Foothill Ln
Saratoga, CA 95070


Polar Glass LLC
dba Polar Glass   Mirror LLC
5358 E St
White Bear Lake, MN 55110
Polar Leasing
4410 New Haven Ave
Ft. Wayne, IN 46803


Polaris Industries, Inc
Polaris Acceptance
P.O. Box 205446
Dallas, TX 75320‐5446


Polaris Sales, Inc
P.O. Box 205446
Dallas, TX 75320‐5446


Polaris Sales, Inc
Polaris Acceptance
P.O. Box 205446
Dallas, TX 75320‐5446


Police Athletic League Northside
North Florida Council 087
2165 W 33rd St
Jacksonville, FL 32209


Police Athletic League W Palm Beach
Gulf Stream Council 085
720 N Tamarind Ave
West Palm Beach, Fl 33401


Police Athletic League Westside
North Florida Council 087
441 Day Ave
Jacksonville, FL 32254


Police Explorer Post 244
Galesburg Pd
150 S Broad St
Galesburg, IL 61401


Police Motor Patrol   Fire
Long Beach Area Council 032
2245 Argonne Ave
530 E Wardlow Rd 3
Long Beach, CA 90815


Police Neighborhood Resrce Ctr   Clinic
Pathway To Adventure 456
2272 Algonquin Pkwy
Rolling Meadows, Il 60008


Policemans Benevolent Assoc Local 154
Patriots Path Council 358
P.O. Box 154
Somerset, NJ 08875


Policemans Benevolent Assoc Local 66
Washington Crossing Council 777
77 Route 156
Hamilton, NJ 08620


Polish National Alliance Lodge 1365
Western Massachusetts Council 234
13 Victory St
Adams, MA 01220


Polish Scouting Assoc
M Konopnickiej 6
Warszawa, 00‐0491
Poland


Polk 1 Firefighters Assoc
Cascade Pacific Council 492
1800 Monmouth St
Independence, OR 97351


Polk City Utd Methodist Church
Mid Iowa Council 177
1421 W Broadway St
Polk City, IA 50226


Polk Cnty Emergency Mgt Admin
Cherokee Area Council 556
P.O. Box 708
Benton, Tn 37307
Polk County Sheriffs Office
Greater Tampa Bay Area 089
1891 Jim Keene Blvd
Winter Haven, FL 33880


Polk County Sheriffs Office
Mid Iowa Council 177
6023 NE 14th St
Des Moines, IA 50313


Polk Street Utd Methodist Church
Golden Spread Council 562
1401 S Polk St
Amarillo, TX 79101


Polkville Utd Methodist Church
Piedmont Council 420
P.O. Box 9
Polkville, NC 28136


Pollans   Cohen PC
Three Rivers Council 578
470 Orleans St, Ste 810
Beaumont, TX 77701


Pollard Memorial Utd Methodist Church
East Texas Area Council 585
3030 New Copeland Rd
Tyler, TX 75701


Pollard Utd Methodist Church
East Texas Area Council 585
3030 New Copeland Rd
Tyler, TX 75701


Pollock Utd Methodist Church
Louisiana Purchase Council 213
168 Airbase Rd
Pollock, LA 71467
Polly Fugate
Address Redacted


Polo Church Of The Brethren
Blackhawk Area 660
302 W Webster St
205 S Maple
Polo, IL 61064


Polo Lions Club
Blackhawk Area 660
6149 S Oakwood Ln
Polo, IL 61064


Polsinelli PC
P.O. Box 878681
Kansas City, MO 64187‐8681


Polson American Legion/Vfw
Montana Council 315
423 Main St
Polson, MT 59860


Polygon
1709 Solutions Ctr
Chicago, IL 60677‐1007


Polygon Toys
Tekniikankatu 10 A 5
Tampere, 33720
Finland


Polynesian Adventure Tours, LLC
2880 Kilihau St
Honolulu, HI 96819


Polytechnic School
Greater Los Angeles Area 033
1030 E California Blvd
Pasadena, CA 91106
Pomaikai Elementary Ptsa
Aloha Council, Bsa 104
4650 S Kamehameha Ave
Kahului, HI 96732


Pomaria Ruritan Club
Blue Ridge Council 551
‐
Pomaria, SC 29126


Pomerene Ward ‐ LDS St David Stake
Catalina Council 011
1350 N Pomerene Rd
Benson, AZ 85602


Pomeroy It Solutions Sales Co Inc
dba Getronics
1020 Petersburg Rd
Hebron, KY 41048


Pomeroy It Solutions Sales Co Inc
dba Getronics
P.O. Box 631049
Cincinnati, OH 45263‐1049


Pomeroy It Solutions Sales Co, Inc
1020 Petersburg Rd
Hebron, KY 41048‐8222


Pomona College
Attn Financial Aid
550 N College Ave
Claremont, CA 91711


Pomona High School
Denver Area Council 061
8101 W Pomona Dr
Arvada, CO 80005


Pomona Police Dept
Greater Los Angeles Area 033
1702 E 1st St
Pomona, CA 91766


Pomona Unified Schools ‐ Jrotc
Greater Los Angeles Area 033
475 Bangor St
Pomona, CA 91767


Pompano Beach Elks Lodge 1898
South Florida Council 084
710 N E 10th St
Pompano Beach, FL 33060


Pompey Lions Club
Longhouse Council 373
P.O. Box 268
Pompey, NY 13138


Pompton Lakes Elk S Lodge 1895
Northern New Jersey Council, Bsa 333
15 Perrin Ave
Pompton Lakes, NJ 07442


Pompton Lakes Elks 1895
Northern New Jersey Council, Bsa 333
1 Perrin Ave
Pompton Llakes, NJ 07442


Ponca City First Lutheran Church
Cimarron Council 474
1101 N 4th St
Ponca City, OK 74601


Ponca City Ward
Church Of Jesus Christ Latter‐Day Saints
Cimarron Council 474
2408 E Hartford Ave
Ponca City, Ok 74604


Ponchatoula Rotary Club
Istrouma Area Council 211
P.O. Box 763
Ponchatoula, LA 70454
Ponciano Duran Jr
Address Redacted


Pond Plain Improvement Assoc
Mayflower Council 251
330 Pond St
Weymouth, MA 02190


Pond Springs Church Of Christ
Capitol Area Council 564
13300 Pond Springs Rd
Austin, TX 78729


Ponderosa Elementary School Ptco
Denver Area Council 061
1885 S Lima St
Aurora, CO 80012


Ponderosa Retreat Conference Center
15235 Furrow Rd
Larkspur, CO 80118‐5703


Ponderosa Volunteer Fire Assoc Inc
Sam Houston Area Council 576
4362 Louetta Rd
Spring, TX 77388


Poneto Community Club
Anthony Wayne Area 157
P.O. Box 63
Poneto, IN 46781


Pontchartrain Sailing Foundation
Istrouma Area Council 211
1545 Lakeshore Dr
Mandeville, LA 70448


Ponte Vedra Utd Methodist Church
North Florida Council 087
76 S Roscoe Blvd
Ponte Vedra Beach, FL 32082


Pontifical College Josephinum
7625 N High St
Columbus, OH 43235‐1498


Pontificia Uni Catolica De Puerto Rico
Puerto Rico Council 661
2250 Blvd Luis A Ferre, Ste 564
Ponce, Pr 00717


Pontificia Universidad Catolica
Puerto Rico Council 661
Ave Las Americas Pr‐163
Ponce, PR 00717


Pony Express
1704 Buckingham St
St. Joseph, MO 64508‐8157


Pony Express Cncl 311
1704 Buckingham
P.O. Box 8157
St Joseph, MO 64508‐8157


Poof‐Alex Holdings LLC
P.O. Box 74008423
Chicago, IL 60674‐8423


Pool Operation Management Inc
68 Edwards Rd
Brick, NJ 08723


Pool Supply World
3725 Cincinnati Ave, Ste 200
Rocklin, CA 95765‐1220


Poole Chemical Co, Inc
P.O. Box 10
Texline, TX 79087
Popcorn Papa
7632 Campbell Rd, Ste 317
Dallas, TX 75248


Pope   Young Club
273 Mill Creek Rd
P.O. Box 548
Chatfield, MN 55923


Pope County Law Enforcement Explorers
Westark Area Council 016
716 N El Paso Ave
Russellville, AR 72801


Pope Elementary School
West Tennessee Area Council 559
1071 Old Humboldt Rd
Jackson, TN 38305


Pope John Paul Ii Catholic Elem Sch
Chester County Council 539
2875 Manor Rd
Coatesville, Pa 19320


Popham Elementary Lead
Capitol Area Council 564
7014 Elroy Rd
Del Valle, TX 78617


Poplar Creek Community Christian Church
Three Fires Council 127
300 Schick Rd
Bartlett, IL 60103


Poplar Creek PTO
Potawatomi Area Council 651
17401 W Cleveland Ave
New Berlin, WI 53146


Poplar Grove Airport
Wings   Wheel Museum
Blackhawk Area 660
5151 Orth Rd
Poplar Grove, Il 61065


Poplar Grove Utd Methodist Church
Blackhawk Area 660
105 E Grove St
Poplar Grove, IL 61065


Poplar Ridge Friends Meeting
Old N State Council 070
3673 Hoover Hill Rd
Trinity, NC 27370


Poplar Spgs Drive Utd Methodist Ch
Choctaw Area Council 302
3937 Poplar Springs Dr
Meridian, Ms 39305


Poplar Tent Presbyterian Church
Central N Carolina Council 416
6841 Poplar Tent Rd
Concord, NC 28027


Poplar Tree PTA
National Capital Area Council 082
13440 Melville Ln
Chantilly, VA 20151


Poplarhead Utd Methodist Mens Group
Pine Burr Area Council 304
23558 Old Still Rd
Saucier, MS 39574


Poplarville Rotary Club
Pine Burr Area Council 304
P.O. Box 329
Poplarville, MS 39470


Popular Photography
P.O. Box 422521
Palm Coast, FL 32142‐8727
Popular Science
P.O. Box 422051
Palm Coast, FL 32142‐9868


Popular Science
P.O. Box 422052
Palm Coast, FL 32142‐9892


Poquoson Ward‐Nn Stake‐Lds
Colonial Virginia Council 595
113 Sinclair Ln
Yorktown, VA 23693


Porsche Dione Nickerson
Address Redacted


Port Angeles Lions Club
Chief Seattle Council 609
P.O. Box 2194
Port Angeles, WA 98362


Port Angeles Police Dept
Chief Seattle Council 609
321 E 5th St
Port Angeles, WA 98362


Port Angeles Rotary Club
Chief Seattle Council 609
P.O. Box 730
Port Angeles, WA 98362


Port Angeles Yacht Club
Chief Seattle Council 609
P.O. Box 692
Port Angeles, WA 98362


Port Arthur Police Dept
Three Rivers Council 578
645 4th St
Port Arthur, TX 77640
Port Authority Of New York    New Jersey
Greater New York Councils, Bsa 640
La Guardia Airport ‐ Hanger 7
Flushing, NY 11371


Port Authority Of Ny   Nj
Greater New York Councils, Bsa 640
80 Pine St
New York, NY 10005


Port Carbon Firefighters Auxiliary
Hawk Mountain Council 528
88 Washington St
Port Carbon, PA 17965


Port Charlotte Utd Methodist Church
Southwest Florida Council 088
21075 Quesada Ave
Port Charlotte, FL 33952


Port Dept
Marsh Harbour
Abaco
Bahamas


Port Engineers, Inc
P.O. Box 2768
Key Largo, FL 33037


Port Hueneme Police Dept
Ventura County Council 057
250 N Ventura Rd
Port Hueneme, CA 93041


Port Huron Host Lions Club
Water and Woods Council 782
2571 Robbins Ct
Port Huron, MI 48060


Port Huron Masonic Lodge 58
Water and Woods Council 782
927 6th St
Port Huron, MI 48060


Port Huron Police Explorers
Water and Woods Council 782
100 Mcmorran Blvd
Port Huron, MI 48060


Port Jefferson Ems
Suffolk County Council Inc 404
25 Crystal Brook Hollow Rd
Mount Sinai, NY 11766


Port Jefferson Fire Dept
Suffolk County Council Inc 404
115 Maple Pl
Port Jefferson, NY 11777


Port Monmouth Fire Co
Monmouth Council, Bsa 347
125 Main St
Port Monmouth, NJ 07758


Port Of Beaumont Navigation District
Three Rivers Council 578
P.O. Box 2297
Beaumont, TX 77704


Port Of Edmonds
Mount Baker Council, Bsa 606
336 Admiral Way
Edmonds, WA 98020


Port Orchard Yacht Club
Chief Seattle Council 609
P.O. Box 3
Port Orchard, WA 98366


Port Republic City Council
Jersey Shore Council 341
143 Main St
Port Republic, NJ 08241


Port Royal Utd Presbyterian Church
Juniata Valley Council 497
404 Main St
Port Royal, PA 17082


Port Royal Yacht Club
Greater Los Angeles Area 033
555 N Harbor Dr
Redondo Beach, CA 90277


Port St Lucie Elks Lodge 2658
Gulf Stream Council 085
2290 SE Lennard Rd
Port St Lucie, FL 34952


Port St Lucie Moose
Gulf Stream Council 085
101 NW Marion Ave
Port St Lucie, FL 34983


Port St Lucie Police Dept
Gulf Stream Council 085
121 SW Port St Lucie Blvd
Port St Lucie, FL 34984


Port Washington Childrens Center
Theodore Roosevelt Council 386
232 Main St
Port Washington, NY 11050


Port Washington Volunteer Fire Dept
Bay‐Lakes Council 635
104 W Washington St
Port Washington, WI 53074


Porta Jon
6965 El Camino Real, Ste 105‐687
Carlsbad, CA 92009‐4100
Portable Restroom Trailers LLC
6428 W Wilkinson Blvd, Ste 141
Belmont, NC 28012


Portage County Boys And Girls Club
Samoset Council, Bsa 627
941 Michigan Ave
Stevens Point, WI 54481


Portage First Utd Methodist Church
Southern Shores Fsc 783
8740 S Wnedge Ave
Portage, MI 49002


Portage Utd Methodist Church
Glaciers Edge Council 620
1804 New Pinery Rd
Portage, WI 53901


Porta‐Jon Inc
212 Bulb Ave
Gastonia, NC 28052


Portal PTO
Mid‐America Council 326
9920 Brentwood Dr
La Vista, NE 68128


Porter Presentations
Owner Veronica Porter
325 W Benton Ave
Naperville, IL 60540


Porter Utd Methodist Church
Lasalle Council 165
100 E Beam St
Porter, IN 46304


Porter Wright Morris    Arthur, LLP
41 S High St, Ste S 2800‐3200
Columbus, OH 43215‐6194
Porter‐Gaud School
Coastal Carolina Council 550
300 Albemarle Rd
Charleston, SC 29407


Porters Chapel Utd Methodist
Andrew Jackson Council 303
200 Porters Chapel Rd
Vicksburg, MS 39180


Porterville Elks B.P.O.E
Sequoia Council 027
386 N Main St
Porterville, CA 93257


Porterville Elks Lodge B.P.O.E.
Sequoia Council 027
386 N Main St
Porterville, CA 93257


Portland Community Center
Lincoln Heritage Council 205
640 N 27th St
Louisville, KY 40212


Portland Elementary School
Lincoln Heritage Council 205
3410 N Wern Pkwy
Louisville, KY 40212


Portland Kollel
Cascade Pacific Council 492
6688 SW Capitol Hwy
Portland, OR 97219


Portland Memorial Missionary Baptist Ch
Lincoln Heritage Council 205
3802 W Market St
Louisville, Ky 40212


Portland Police Alarm Administration
P.O. Box 1867
Portland, OR 97207


Portland Police Dept
South Texas Council 577
1902 Billy G Webb
Portland, TX 78374


Portland State University
Student Fin Aid   Scholarships
P.O. Box 851
Portland, OR 97207‐0851


Portland Volunteer Fire Dept
Connecticut Rivers Council, Bsa 066
P.O. Box 71
33 E Main St


Portsmouth Moose Lodge 898
Tidewater Council 596
1400 George Washington Hwy N
Chesapeake, VA 23323


Portsmouth Multi‐Purpose Senior Center
Narragansett 546
110 Bristol Ferry Rd
Portsmouth, RI 02871


Portsmouth Police Dept
Daniel Webster Council, Bsa 330
3 Junkins Ave
Portsmouth, NH 03801


Portsmouth Police Dept
Tidewater Council 596
711 Crawford St
Portsmouth, VA 23704


Portsmouth Trinity Lutheran Church
Cascade Pacific Council 492
7119 N Portsmouth Ave
Portland, OR 97203
PortTownsend Police
Jefferson Cnty Sheriff
Chief Seattle Council 609
1925 Blaine St, Ste 100
Port Townsend, Wa 98368


Positive Attitude Youth Center, Inc
Old N State Council 070
229 N Graham Hopedale Rd
Burlington, NC 27217


Positive Every Day Cancer Fndn, Inc
Bay‐Lakes Council 635
601 Stone Gate Dr
Kimberly, Wi 54136


Positive Id
P.O. Box 857
Willmar, MN 56201


Positive Promotions Inc
15 Gilpin Ave
Hauppauge, NY 11788


Positive Tomorrows
Last Frontier Council 480
P.O. Box 61190
Ms. Kathi Goebel
Oklahoma City, OK 73146


Positively 3Rd St Bakery
1202 E 3rd St
Duluth, MN 55805


Positronix Technology, Inc
Cherokee Area Council 469 469
120 S Wilson St, Ste B
Vinita, OK 74301


Post 10038 Vfw
Green Mountain 592
156 Hill St
Lyndonville, VT 05851


Post 1274 Vfw
Mayflower Council 251
1 Appletree Ln
Natick, MA 01760


Post 216 American Legion
Leatherstocking 400
903 Main St
Margaretville, NY 12455


Post 274 American Legion
Water and Woods Council 782
849 S State St
Oscoda, MI 48750


Post 4067 Vfw
Montana Council 315
P.O. Box 767
Malta, MT 59538


Post 880
Pennsylvania Dutch Council 524
American Legion
Richland, PA 17087


Post Asylum
5642 Dyer St
Dallas, TX 75206


Post Elementary PTO
Sam Houston Area Council 576
7600 Equador St
Jersey Village, TX 77040


Post Rotary Club
South Plains Council 694
704
Chantilly
Post, TX 79356


Post Willow Parents Club
Sam Houston Area Council 576
5623 Bankside Dr
Houston, TX 77096


Postage By Phone Reserve Account
P.O. Box 856056
Louisville, KY 40285‐6065


Postmaster
152 W King St
Strasburg, VA 22657


Postmaster
Attn Business Reply Section
P.O. Box 152091
Irving, TX 75015‐2091


Postmaster
Business Mail Entry Unit
2901 Scott Futrell Dr
Charlotte, NC 28228‐9979


Postmaster
c/o Jimmy Teal / Quad Graphics
100 Duplainville Rd
The Rock, GA 30285


Postmaster
Lydia Kaap / Quad Graphics
6801 S Sunnylane Rd
Oklahoma City, OK 73135


Postmaster
Steele Creek Station, Unit 78
10926 Quality Dr
Charlotte, NC 28278‐8737


Postmaster   Box Fee
P.O. Box Fee Payment
13 E Railroad Ave
Jamesburg, NJ 08831‐9998


Postmaster Box Fee
P.O. Box Fee Payment
Naperville, IL 60540‐9998


Postmaster ‐ Islamorada
82801 Overseas Hwy
Islamorada, FL 33036


Postmaster General
1501 Hall Johnson Rd
Colleyville, TX 76034‐9998


Postmaster General
Ft Worth Jack Watson Post Office
4600 Mark IV Pkwy
Ft Worth, TX 76161‐9621


Postmaster General Bolingbrook Bmeu
105 Canterbury Ln
Bolingbrook, IL 60440‐9998


Postmaster Irving
Business Mail Entry
2701 W Irving Blvd
Irving, TX 75061‐9998


Postmaster Kennesaw
2001 Duncan Dr
Kennesaw, GA 30144‐9998


Postmaster Of Charlotte
c/o Ndc, P.O. Box 7143
Attn Sin Tercias
Charlotte, NC 28241‐7143


Postmaster Reno, Nv
2000 Vassar St
Reno, NV 89510‐9996


Postmaster‐Irving
P.O. Box 152091
Window Section
Irving, TX 75015‐2091


Poston Road School Booster Club
Hoosier Trails Council 145 145
139 E Poston Rd
Martinsville, IN 46151


Postville Lions Club
Northeast Iowa Council 178
P.O. Box 854
Postville, IA 52162


Potawatomi Area
804 Bluemound Rd
Waukesha, WI 53188‐1698


Potawatomi Area Cncl 651
804 Bluemound Rd
Waukesha, WI 53188‐1698


Potbelly Sandwich Works
7717 N Macarthur Blvd 150
Irving, TX 75063


Potion Inc
1650 Broadway, Ste 1106
New York, NY 10019


Potomac Utd Methodist Church
National Capital Area Council 082
9908 S Glen Rd
Potomac, MD 20854


Potosi Fire Dept
Blackhawk Area 660
210 N Main St
Potosi, WI 53820


Potosi Tennyson Lions Club
Blackhawk Area 660
P.O. Box 51
Potosi, WI 53820


Potrero Hill Neighborhood House
San Francisco Bay Area Council 028
953 De Haro St
San Francisco, CA 94107


Potter County 4H
Golden Spread Council 562
3301 SE 10th Ave
Amarillo, TX 79104


Potter Lions Club
Longs Peak Council 062
P.O. Box 67
Potter, NE 69156


Potter PTO
Water and Woods Council 782
2500 N Averill Ave
Flint, MI 48506


Potter Twp Volunteer Fire Dept
Laurel Highlands Council 527
205 Frankfort Rd
Monaca, PA 15061


Potter Valley Volunteer Firefighters
Redwood Empire Council 041
P.O. Box 174
Potter Valley, CA 95469


Potter Valley Youth   Community Center
Redwood Empire Council 041
P.O. Box 270
Potter Valley, CA 95469
Potter‐Thomas Advisory Group
Cradle of Liberty Council 525
3001 N 6th St
Philadelphia, PA 19133


Potterville Utd Methodist Church
Water and Woods Council 782
105 N Church St
Potterville, MI 48876


Pottsboro Library Protons
Circle Ten Council 571
104 N Main St
Pottsboro, TX 75076


Poudre Valley Health Care Inc
P.O. Box 2103
Fort Collins, CO 80522‐2103


Pound Ridge Fire District
Westchester Putnam 388
P.O. Box 468
Pound Ridge, NY 10576


Poway Elks Lodge 2543
San Diego Imperial Council 049
13219 Poway Rd
Poway, CA 92064


Powder Springs Police Explorers
Atlanta Area Council 092
1114 Richard D Sailors Pkwy
Powder Springs, GA 30127


Powder Springs Post 294
Atlanta Area Council 092
3282 Florence Rd
Powder Springs, GA 30127


Powell County Lions Club
Blue Grass Council 204
P.O. Box 145
Stanton, KY 40380


Powell Hurst Community Scouts
Cascade Pacific Council 492
4353 Imperial Dr
West Linn, OR 97068


Powell Presbyterian Church
Great Smoky Mountain Council 557
2910 W Emory Rd
Powell, TN 37849


Powell Utd Methodist Church
Five Rivers Council, Inc 375
Rr 1
Monroeton, PA 18832


Powell Utd Methodist Church
Simon Kenton Council 441
825 E Olentangy St
Powell, OH 43065


Powell Valley Ptia
Great Smoky Mountain Council 557
255 Powell Valley
Speedwell, TN 37870


Power   Tel
P.O. Box 1000 Dept 839
Memphis, TN 38148‐0839


Power 88.1 Kcep
Las Vegas Area Council 328
330 W Washington Ave
Las Vegas, NV 89106


Power Cleaning Systems
dba Hotsy Equipment Co
2211 Candelaria Rd Ne
Albuquerque, NM 87107
Power Decal
7101 N Ridgeway
Lincolnwood, IL 60712


Power Film, Inc
2337 230th St
Ames, IA 50014


Power Graphics Digital Imaging
9645 S 600 W
Sandy, UT 84070


Power Graphics Digital Imaging Inc
7097 S State St
Midvale, UT 84047


Power House Manufacturing Inc
1490 Whitestown Rd Ext
Prospect, PA 16052


Power Management LLC
121 Colt Industrial Dr
Mount Hope, WV 25880


Power Pipe   Tank, LLC
P.O. Box 31240
Amarillo, TX 79120


Power Reviews Inc
22 4th St 6th Fl
San Francisco, CA 94103


Power Washing Services Inc
P.O. Box 4494
Key W, Fl 33041


Powerice, Inc
P.O. Box 774527
Steamboat Springs, CO 80477
Powering Up Women, LLC
3128 Walton Blvd, 107
Rochester Hill, MI 48309


Powerline Designz
P.O. Box 883069
Steamboat, CO 80488


Powers Ferry Utd Methodist Church
Atlanta Area Council 092
245 Powers Ferry Rd Se
Marietta, GA 30067


Powers Lake Sportsmens Club
Three Harbors Council 636
38700 87th St
Burlington, WI 53105


Powers Lions Club
Oregon Trail Council 697
General Delivery
Powers, OR 97466


Powerschool LLC
Minsi Trails Council 502
3 W Broad St
Bethlehem, PA 18018


Power‐Tek Performance Gear LLC
20 Exec Ave
Edison, NJ 08817


Powhatan Community Church
Heart of Virginia Council 602
4480 Anderson Hwy
Powhatan, VA 23139


Powhatan Utd Methodist Ch Mens Grp
Heart Of Virginia Council 602
2253 Rosson Rd
Powhatan, Va 23139
Powhatan Utd Methodist Church
Heart of Virginia Council 602
2253 Rosson Rd
Powhatan, VA 23139


Pow‐Mia‐Oree, Corp
Gulf Stream Council 085
7534 Sally Lyn Ln
Lake Worth, FL 33467


Powr Flite
3101 Wichita Court
Ft Worth, TX 76140


Poynette/Dekorra Vol Fire Dept Soc Org
Glaciers Edge Council 620
200 Water Tower Rd
Poynette, WI 53955


Ppl Electric Utilities Corp
Attn Claims P.O. Box 25222
Lehigh Valley, PA 18002‐5222


Ppl Utilities
Minsi Trails Council 502
2 N 9th St
Allentown, PA 18101


Pragmatic Works Inc
400 College Dr, Ste 216
Middleburg, FL 32068


Prairie Center Elementary Ptc
Heart of America Council 307
629 N Persimmon Dr
Olathe, KS 66061


Prairie Chapel Utd Methodist Church
Ozark Trails Council 306
Rr 1 Box 839
Urbana, MO 65767


Prairie City Scouting Friends
Mid Iowa Council 177
7245 S 60th Ave W
Colfax, IA 50054


Prairie Elem Ptc
Evangeline Area 212
2910 Ambassador Caffery Pkwy Ofc
Lafayette, LA 70506


Prairie Grove Lions Club
Westark Area Council 016
285 Collins Dr
Prairie Grove, AR 72753


Prairie Grove PTO
Blackhawk Area 660
3223 Il Route 176
Crystal Lake, IL 60014


Prairie Heights PTO
Hawkeye Area Council 172
401 76th Ave Sw
Cedar Rapids, IA 52404


Prairie Hill Consolidated P.S.A. 133
Glaciers Edge Council 620
14714 Willowbrook Rd
South Beloit, IL 61080


Prairie Lane Community Club
Mid‐America Council 326
11444 Hascall St
Prairie Lane Community Club
Omaha, NE 68144


Prairie Lutheran Church
Northern Star Council 250
11000 Blossom Rd
Eden Prairie, MN 55347
Prairie Pacheco Parent Teacher Group
Golden Empire Council 047
P.O. Box 32
Anderson, CA 96007


Prairie Ridge PTO
Hawkeye Area Council 172
401 76th Ave Sw
Cedar Rapids, IA 52404


Prairie Rose School Parents/Teacher Club
Northern Lights Council 429
2200 Oahe Bnd
Bismarck, ND 58504


Prairie School Home   School Assoc
Three Fires Council 127
500 S Charles Ave
Naperville, IL 60540


Prairie School PTA
Potawatomi Area Council 651
1801 Center Rd
Waukesha, WI 53189


Prairie Star Elemtary School PTO
Heart of America Council 307
3800 W 143rd St
Leawood, KS 66224


Prairie View Elementary PTO
Greater St Louis Area Council 312
1550 Feise Rd
O Fallon, MO 63368


Prairie View PTO
Inland Nwest Council 611
2602 W Johannsen Rd
Spokane, WA 99208
Prairie View Vol Fire Fighting Assoc
Sam Houston Area Council 576
50 Ellen Powell St
Prairie View, Tx 77446


Prairielands
3301 Farber Dr
P.O. Box 6267
Champaign, IL 61826‐6267


Prairielands Cncl 117
3301 Farber Dr
P.O. Box 6267
Champaign, IL 61826‐6267


Prairieton Methodist Church
Crossroads of America 160
P.O. Box 67
Prairieton, IN 47870


Prairieview School PTO
Three Fires Council 127
285 Mayflower Ln
Bartlett, IL 60103


Praise Temple Full Gospel Baptist Church
Norwela Council 215
4725 Greenwood Rd
Shreveport, LA 71109


Pramodh Kumar Vajrapu
Address Redacted


Prater Peak, Inc
Grand Teton Council 107
P.O. Box 725
46 W 3rd Ave


Pratt Presbyterian Church
Quivira Council, Bsa 198
50046 NE 10th Ave
Iuka, KS 67066
Pratt S Mobile Service
P.O. Box 525
Islamorada, FL 33036


Prattsburgh Protective Vol Fire Dept
Five Rivers Council, Inc 375
P.O. Box 356
Prattsburgh, Ny 14873


Prattville Baptist Hospital
Tukabatchee Area Council 005
P.O. Box 681630
Prattville, AL 36068


Prattville Fire Dept
Tukabatchee Area Council 005
201 Gin Shop Hill Rd
Prattville, AL 36067


Prattville High School Jrotc
Tukabatchee Area Council 005
1315 Upper Kingston Rd
Prattville, AL 36067


Praxair Distribution Inc
Dept Ch 10660
Palatine, IL 60055‐0660


Pray Vender 311916
11123 S Towne Square, Ste B
St. Louis, MO 63123


Pray Publishing
11123 S Towne Square, Ste B
St Louis, MO 63123


Prayer Tower C.O.G.I.C.
San Francisco Bay Area Council 028
2135 47th Ave
Oakland, CA 94601
Prbrigade Inc
P.O. Box 71‐4792
Gahanna, OH 43271‐4792


Precious Blood Church
Buffalo Trace 156
1385 W 6th St
Jasper, IN 47546


Precious Blood Parish
Connecticut Yankee Council Bsa 072
70 Gulf St
Milford, CT 06460


Precise Medical
3140 Cloverly Dr
Furlong, PA 18925


Precise Resource Group Inc
3016 Skyway Cir S
Irving, TX 75038


Precision Door Service
925 22nd St, Ste 106
Plano, TX 75074


Precision Graphics
1715 W 4th St
Tempe, AZ 85281


Precision Locksmith Servcies Inc
10345 SW Canyon Rd
Beaverton, OR 97005


Precision Sets And Service Inc
1307 Molls Backbone Rd
Catawba, NC 28609


Precision Shooting Equipment
P.O. Box 5487
Tucson, AZ 85703


Precision Waste Solutions LLC
P.O. Box 18856
Shreveport, LA 71138


Predators Archery
Silicon Valley Monterey Bay 055
7350 Monterey St
Gilroy, CA 95020


Preferred Business Solutions
1701 W Walnut Hill Ln
Irving, TX 75038


Preferred Community Services
Heart of America Council 307
10101 James A Reed Rd
Kansas City, MO 64134


Preferred Readers Serv
PMB 994
603 W 13th St, Ste 1A
Austin, TX 78701‐1796


Preferred Wholesale, Inc
307 N 8th St
Albia, IA 52531


Pregnancy Parenthood And Beyond
Great Lakes Fsc 272
20459 Woodcrest St
Harper Woods, MI 48225


Preit Assoc LP
dba Pr Crossroads I LLC
P.O. Box 347882
Pittsburgh, PA 15251‐4882


Premier Graphics
103 Trade Zone Dr
West Columbia, SC 29170‐3902


Premier Immediate Medical Care
43 W Ridge Pike
Limerick, PA 19468‐1711


Premier Martial Arts Magnolia
Sam Houston Area Council 576
7395 Fm 1488 Rd
Magnolia, TX 77354


Premier Printing
Steve Williamson
117 Pennsylvania Ave
Bristol, TN 37620


Premier Subscription Service
1920 Abrams Pkwy, 86
Dallas, TX 75214‐6218


Premier Technology Group LLC
P.O. Box 242014
Charlotte, NC 28224


Premier Transportation Services
4525 Production Dr
Dallas, TX 75235


Premier Uniform Supply
Las Vegas Area Council 328
10112 Aspen Rose St, Unit 101
Las Vegas, NV 89183


Premium Distributors, Inc
P.O. Box 6274
Marietta, GA 30065


Premium Horseback Riding Helmets
1212 Stockton Rd
Kinston, NC 28504
Premium Protection
44648 Mond Rd, Ste 814
Sterling Heights, MI 48314


Premium Quality Lighting, Inc
2285 Ward Ave
Simi Valley, CA 93065


Premont Early College Academy
South Texas Council 577


Prentice Lions Club
Samoset Council, Bsa 627
933 Maple St
Prentice, WI 54556


Presbyterian Childerens Homes   Svc
Greater St Louis Area Council 312
608 Pine St
Farmington, Mo 63640


Presbyterian Christian School
Pine Burr Area Council 304
103 Wsf Tatum Dr
Hattiesburg, MS 39401


Presbyterian Church
Abraham Lincoln Council 144
116 E Franklin St
Taylorville, IL 62568


Presbyterian Church
Coronado Area Council 192
2900 Hall St
Hays, KS 67601


Presbyterian Church
Great Rivers Council 653
400 Lakeview Rd
Mexico, MO 65265
Presbyterian Church
Jersey Shore Council 341
101 Orchard St
Lakehurst, NJ 08733


Presbyterian Church
Lasalle Council 165
P.O. Box 4
68961 Lake St
Edwardsburg, MI 49112


Presbyterian Church
Simon Kenton Council 441
506 E Main St
Oak Hill, OH 45656


Presbyterian Church
Twin Rivers Council 364
22 W High St
Ballston Spa, NY 12020


Presbyterian Church Norwood, Nj
Northern New Jersey Council, Bsa 333
701 Broadway
Norwood, NJ 07648


Presbyterian Church At New Providence
Patriots Path Council 358
1307 Springfield Ave
New Providence, NJ 07974


Presbyterian Church At Shrewsbury
Monmouth Council, Bsa 347
352 Sycamore Ave
Shrewsbury, NJ 07702


Presbyterian Church At Woodbury
Garden State Council 690
67 S Broad St
Woodbury, NJ 08096
Presbyterian Church Of Alexandria
Juniata Valley Council 497
311 Shelton Ave
Alexandria, PA 16611


Presbyterian Church Of Barrington
Pathway To Adventure 456
6 Brinker Rd
Barrington, IL 60010


Presbyterian Church Of Bloomingdale
Greater Tampa Bay Area 089
710 E Bloomingdale Ave
Brandon, FL 33511


Presbyterian Church Of Buffalo
Northern Lights Council 429
204 Bush Ave N
Buffalo, ND 58011


Presbyterian Church Of Cadiz
Ohio River Valley Council 619
154 W Market St
Cadiz, OH 43907


Presbyterian Church Of Chatham Twshp
Patriots Path Council 358
240 Sern Blvd
Chatham, NJ 07928


Presbyterian Church Of Chestnut Hill
Cradle of Liberty Council 525
8855 Germantown Ave
Philadelphia, PA 19118


Presbyterian Church Of Deep Run
Washington Crossing Council 777
16 Irish Meetinghouse Rd
Perkasie, PA 18944


Presbyterian Church Of Dunmore
Northeastern Pennsylvania Council 501
137 Chestnut St
Dunmore, PA 18512


Presbyterian Church Of Lawrenceville
Washington Crossing Council 777
2688 Main St
Lawrenceville, NJ 08648


Presbyterian Church Of Lewistown
Juniata Valley Council 497
17 E 3rd St
Lewistown, PA 17044


Presbyterian Church Of Los Gatos
Silicon Valley Monterey Bay 055
16575 Shannon Rd
Los Gatos, CA 95032


Presbyterian Church Of Madison
Patriots Path Council 358
19 Green Ave
Madison, NJ 07940


Presbyterian Church Of Marion Center
Laurel Highlands Council 527
112 High St
P.O. Box 178
Marion Center, PA 15759


Presbyterian Church Of Milford
Washington Crossing Council 777
70 Bridge St
Milford, NJ 08848


Presbyterian Church Of Morris Plains
Patriots Path Council 358
400 Speedwell Ave
Morris Plains, NJ 07950


Presbyterian Church Of Muskogee
Indian Nations Council 488
2000 Haskell Blvd
Muskogee, OK 74403


Presbyterian Church Of Novato
Marin Council 035
710 Wilson Ave
Novato, CA 94947


Presbyterian Church Of Palatine
Pathway To Adventure 456
800 E Palatine Rd
Palatine, IL 60074


Presbyterian Church Of Palm Harbor
Greater Tampa Bay Area 089
2021 Nebraska Ave
Palm Harbor, FL 34683


Presbyterian Church Of Plum Creek
Laurel Highlands Council 527
550 Center New Texas Rd
Pittsburgh, PA 15239


Presbyterian Church Of The Convenant
Del Mar Va 081
503 Duncan Rd
Wilmington, DE 19809


Presbyterian Church Of The Covenant
Del Mar Va 081
503 Duncan Rd
Wilmington, DE 19809


Presbyterian Church Of The Covenant
Orange County Council 039
2850 Fairview Rd
Costa Mesa, CA 92626


Presbyterian Church Of The Cross
Mid‐America Council 326
1517 S 114th St
Omaha, NE 68144
Presbyterian Church Of The Redeemer
Northeast Georgia Council 101
3750 Zoar Church Rd
Snellville, GA 30039


Presbyterian Church Of The Roses
Redwood Empire Council 041
2500 Patio Ct
Santa Rosa, CA 95405


Presbyterian Church Of Washington
Greater St Louis Area Council 312
4834 S Point Rd
Washington, MO 63090


Presbyterian Church Of West Middlesex
French Creek Council 532
3082 Main St
West Middlesex, PA 16159


Presbyterian Church Of Willingboro
Garden State Council 690
494 Beverly Rancocas Rd
Willingboro, NJ 08046


Presbyterian Church Of Wyoming
Dan Beard Council, Bsa 438
225 Wyoming Ave
Cincinnati, OH 45215


Presbyterian Church St Albans
Greater New York Councils, Bsa 640
19004 119th Ave
Saint Albans, NY 11412


Presbyterian Church Usa
Offiice of General Assembly
P.O. Box 643721
Pittsburgh, PA 15264‐3721
Presbyterian Church Usa
Pikes Peak Council 060
P.O. Box 159
Elbert, CO 80106


Presbyterian Church‐Hebron
Cornhusker Council 324
140 N 5th St
Hebron, NE 68370


Presbyterian College
503 S Broad St
Office of Financial Aid
Clinton, SC 29325


Presbyterian Community Church
Theodore Roosevelt Council 386
150 Pittsburgh Ave
Massapequa, NY 11758


Presbyterian Congregational Church
Voyageurs Area 286
214 Vaughn Ave
Ashland, WI 54806


Presbyterian Int Hospital
P.O. Box 511205
Los Angeles, CA 90051‐2997


Presbyterian Men 1st Presbyterian Ch
Great Smoky Mountain Council 557
601 Church St
Sweetwater, Tn 37874


Presbyterian Men Usa
California Inland Empire Council 045
20700 Standing Rock Ave
Apple Valley, CA 92307


Prescott Elks 330
Grand Canyon Council 010
6245 E State Route 69
Prescott Valley, AZ 86314


Prescott Evangelical Free Church
Greater Yosemite Council 059
3000 Prescott Rd
Modesto, CA 95350


Prescott Fire Dept
Grand Canyon Council 010
1700 W Iron Springs Rd
Prescott, AZ 86305


Prescott Utd Methodist Church
Grand Canyon Council 010
505 W Gurley St
Prescott, AZ 86301


Presentation Arts Inc
2524 Converse
Dallas, TX 75207‐5904


Presentation Media Services Inc
101 Cheek‐Sparger Rd, Ste 2
Colleyville, TX 76034


Presentation Of Bvm Mens Club
Northern Star Council 250
1735 Kennard St
Maplewood, MN 55109


Presha Mayberry
Address Redacted


President Ford Fsc
3213 Walker Ave, Nw
Grand Rapids, MI 49544‐9775


President Gerald R Ford Fsc 781
3213 Walker Ave Nw
Grand Rapids, MI 49544‐9775
Presidents Volunteer Service Award
600 Means St NW, Ste 210
Atlanta, GA 30318


Pressin Katz Law Pa
901 Dulaney Valley Rd, Ste 400
Towson, MD 21204


Pressley Ridge School For The Deaf
Laurel Highlands Council 527
530 Marshall Ave
Pittsburgh, PA 15214


Presstek Inc
dba Ab Dick
P.O. Box 712517
Cincinnati, OH 45271


Prestige Construction Group
Orange County Council 039
1580 N Batavia St, Ste 3
Orange, CA 92867


Prestige Flag
591 Camino De La Reina 917
San Diego, CA 92108


Preston Anderson
Address Redacted


Preston City Volunteer Fire Dept 1
Connecticut Rivers Council, Bsa 066
318 Route 164
Preston, CT 06365


Preston Fire Dept
Illowa Council 133
14 N Mitchell St
Preston, IA 52069
Preston Irving
Address Redacted


Preston J Henning
Address Redacted


Preston K Hausser
Address Redacted


Preston Meadow Lutheran Church
Circle Ten Council 571
6801 Coit Rd
Plano, TX 75024


Preston Taylor Ministries
Middle Tennessee Council 560
4014 Indiana Ave
Nashville, TN 37209


Preston Yates
Address Redacted


Preti Flaherty Beliveau    Pachios LLP
P.O. Box 9546
Portland, ME 04112‐9546


Pretzel   Stouffer Chartered
One S Wacker Dr, Ste 2500
Chicago, IL 60606


Prevention Genetics, LLC
Attn Renee Binder
Samoset Council, Bsa 627
3800 S Business Park Ave


Previsor
P.O. Box 535039
Atlanta, GA 30353‐5039


Prg Michigan Inc
360 N Main St, Ste 480
Royal Oak, MI 48067


Prg Michigan Inc
dba Prg Services
539 Temple Hill Rd
New Windsor, NY 12553


Prg Washington, Dc, Inc
c/o Production Resource Group LLC
P.O. Box 5116
New York, NY 10087‐5116


Pri / Smmpp , LLC
10860 N Mavinee Dr
Oro Valley, AZ 85737


Price Chopper Inc
6325 Mccoy Rd
Orlando, FL 32822


Price Family Orthodontics
Circle Ten Council 571
5810 Bradley Ct
Frisco, TX 75035


Price S Home Furnishings
607 Douglas Ave
Las Vegas, NM 87701


Price Smart
26‐2A Estate Charlotte Estate
St Thomas, VI 00802


Price Tower Arts Center
Cherokee Area Council 469 469
510 Dewey Ave
Bartlesville, OK 74003


Priceville Church Of Christ
Greater Alabama Council 001
143 Robinson St
Decatur, AL 35603


Pricewaterhouse Coopers LLP
P.O. Box 952282
Dallas, TX 75395‐2282


Pricewaterhouse Coopers LLP
P.O. Box 952282
Dallas, TX 75396‐2282


Pricewaterhousecoopers LLP
2001 Ross Ave, Ste 1800
Dallas, TX 75201


Pricewaterhousecoopers LLP
2121 N Pearl St, Ste 2000
Dallas , TX 75201


Pride Academy
Crossroads of America 160
5615 W 22nd St
Indianapolis, IN 46224


Pride Elementary School PTA
Greater Tampa Bay Area 089
10310 Lions Den Dr
Tampa, FL 33647


Pride Of Laguna Creek Lions Club
Golden Empire Council 047
P.O. Box 693
Elk Grove, CA 95759


Pride Of Laguna Lions Club
Golden Empire Council 047
2301 Galen Dr
Elk Grove, CA 95758


Prides Corner Congregational Church
Pine Tree Council 218
235 Pride St
Westbrook, ME 04092


Prien Lake Elementary School PTA
Calcasieu Area Council 209
3741 Nelson Rd
Lake Charles, LA 70605


Priest River Senior Center
Inland Nwest Council 611
339 Jackson St
Priest River, ID 83856


Primary Care Assoc
P.O. Box 2549
Wichita, KS 67201


Primary Health, Inc
dba Carenow
601 Canyon Dr 100
Coppell, TX 75019


Prime Inc
P.O. Box 25
Charleston, WV 25321‐0025


Prime Sign
13347 Bavarian Dr
Frisco, TX 75034


Primepay LLC
P.O. Box 2808
Elkhart, IN 46515


Primera Iglesia Bautista De Caguas
Puerto Rico Council 661
P.O. Box 6445
Caguas, PR 00726


Primera Iglesia Bautista De Puerto Nuevo
Puerto Rico Council 661
1136 Ave Jesus T Pinero
Puerto Nuevo
San Juan, PR 00921


Primo Gourmet Inc
1725 Duke St
Alexandria, VA 22314


Primos Automatic Transmission
Rio Grande Council 775
872 S Expressway
Brownsville, TX 78521


Prince George County Police Dept
Heart of Virginia Council 602
6600 Courthouse Rd
Prince George, VA 23875


Prince George Men S Group
Coastal Carolina Council 550
P.O. Box 674
Georgetown, SC 29442


Prince George S Cnty Police Distr Iii
National Capital Area Council 082
7600 Barlowe Rd
Palmer Park, Md 20785


Prince George S County District V
National Capital Area Council 082
6707 Groveton Dr
Clinton, MD 20735


Prince George S County Police District 1
National Capital Area Council 082
5000 Rhode Island Ave
Hyattsville, MD 20781


Prince George S County Sheriff
c/o Cpl Yakeisha Hines
2130 Brooks Dr 623
Forestville, MD 20747
Prince George S Police District 6
National Capital Area Council 082
4321 Sellman Rd
Beltsville, MD 20705


Prince Georges County 1778 Elks
National Capital Area Council 082
6700 Kenilworth Ave
Riverdale, MD 20737


Prince Georges County Police Dept
National Capital Area Council 082
601 SW Crain Hwy
Upper Marlboro, MD 20772


Prince Georges County Police Dept
Rodney Gause Post 555
805 Brightseat Rd, Ste 231
Landover, MD 20785


Prince Hall Home And School Assoc
Cradle of Liberty Council 525
6101 N Gratz St
Philadelphia, PA 19141


Prince Hall Masons Masonic Distr 15‐B
Bay Area Council 574


Prince Of Life Lutheran Church
Cascade Pacific Council 492
13896 Meyers Rd
Oregon City, OR 97045


Prince Of Peace
Mayflower Council 251
906 N Main St
Brockton, MA 02301


Prince Of Peace
Northeastern Pennsylvania Council 501
123 Grace St
Old Forge, PA 18518


Prince Of Peace Catholic Church
Blue Grass Council 204
163 Pine Acres Lane
West Liberty, KY 41472


Prince Of Peace Catholic Church
Blue Ridge Council 551
1209 Brushy Creek Rd
Taylors, SC 29687


Prince Of Peace Catholic Church
Great Swest Council 412
12500 Carmel Ave Ne
Albuquerque, NM 87122


Prince Of Peace Catholic Church
Heart of America Council 307
16000 W 143rd St
Olathe, KS 66062


Prince Of Peace Catholic Church
Northeast Georgia Council 101
6439 Spout Springs Rd
Flowery Branch, GA 30542


Prince Of Peace Catholic Church
Northeast Illinois 129
135 S Milwaukee Ave
Lake Villa, IL 60046


Prince Of Peace Catholic Church
Sam Houston Area Council 576
19222 Sh 249
Houston, TX 77070


Prince Of Peace Catholic Church
Tidewater Council 596
621 Cedar Rd
Chesapeake, VA 23322
Prince Of Peace Catholic Community
Circle Ten Council 571
5100 W Plano Pkwy
Plano, TX 75093


Prince Of Peace Church
Bay‐Lakes Council 635
555 Riverside Rd
Marquette, MI 49855


Prince Of Peace Church
Golden Empire Council 047
7501 Franklin Blvd
Sacramento, CA 95823


Prince Of Peace Church
Illowa Council 133
P.O. Box 578
1105 Lametta Wynn Dr
Clinton, IA 52733


Prince Of Peace Church
Patriots Path Council 358
3320 Nj 94 N
Hamburg, NJ 07419


Prince Of Peace Episcopal Church
W.L.A.C.C. 051
5700 Rudnick Ave
Woodland Hills, CA 91367


Prince Of Peace Lutheran Church
Bay‐Lakes Council 635
2330 E Calumet St
Appleton, WI 54915


Prince Of Peace Lutheran Church
Connecticut Yankee Council Bsa 072
119 Junction Rd
Brookfield, CT 06804
Prince Of Peace Lutheran Church
Flint River Council 095
257 Hwy 314
Fayetteville, GA 30214


Prince Of Peace Lutheran Church
Gateway Area 624
1411 Cedar Dr
Hill   Main
La Crescent, MN 55947


Prince Of Peace Lutheran Church
Grand Canyon Council 010
3641 N 56th St
Phoenix, AZ 85018


Prince Of Peace Lutheran Church
Great Swest Council 412
P.O. Box 1130
Cedar Crest, NM 87008


Prince Of Peace Lutheran Church
Greater Wyoming Council 638
203 W Flying Cir Dr
Gillette, WY 82716


Prince Of Peace Lutheran Church
Jayhawk Area Council 197
3625 SW Wanamaker Rd
Topeka, KS 66614


Prince Of Peace Lutheran Church
Minsi Trails Council 502
2445 Lake Minsi Dr
Bangor, PA 18013


Prince Of Peace Lutheran Church
Monmouth Council, Bsa 347
434 Aldrich Rd
Howell, NJ 07731
Prince Of Peace Lutheran Church
Mount Baker Council, Bsa 606
9320 Meadow Way
Everett, WA 98208


Prince Of Peace Lutheran Church
National Capital Area Council 082
8304 Old Keene Mill Rd
Springfield, VA 22152


Prince Of Peace Lutheran Church
Northern Star Council 250
13801 Fairview Dr
Burnsville, MN 55337


Prince Of Peace Lutheran Church
Northern Star Council 250
13901 Fairview Dr
Burnsville, MN 55337


Prince Of Peace Lutheran Church
Northern Star Council 250
2561 Victoria St N
Roseville, MN 55113


Prince Of Peace Lutheran Church
Northern Star Council 250
7217 W Broadway Ave
Brooklyn Park, MN 55428


Prince Of Peace Lutheran Church
Orange County Council 039
1421 W Ball Rd
Anaheim, CA 92802


Prince Of Peace Lutheran Church
Pathway To Adventure 456
930 W Higgins Rd
Schaumburg, IL 60195


Prince Of Peace Lutheran Church
Potawatomi Area Council 651
W156N7149 Pilgrim Rd
Menomonee Falls, WI 53051


Prince Of Peace Lutheran Church
San Francisco Bay Area Council 028
38451 Fremont Blvd
Fremont, CA 94536


Prince Of Peace Lutheran Church
Simon Kenton Council 441
530 Mcnaughten Rd
Columbus, OH 43213


Prince Of Peace Lutheran Church
Southern Shores Fsc 783
3829 Douglas Rd
Ida, MI 48140


Prince Of Peace Lutheran Church
Three Fires Council 127
2600 75th St
Woodridge, IL 60517


Prince Of Peace Lutheran Church
Washington Crossing Council 777
177 Princeton Hightstown Rd
Princeton Junction, NJ 08550


Prince Of Peace Parish
Water and Woods Council 782
315 W Center St
Linwood, MI 48634


Prince Of Peace Presbyterian Church
Baltimore Area Council 220
1657 Crofton Pkwy
Crofton, MD 21114


Prince Of Peace Umc
Pathway To Adventure 456
1400 S Arlington Heights Rd
Elk Grove Village, IL 60007
Prince Of Peace Utd Methodist Church
National Capital Area Council 082
6299 Token Forest Dr
Manassas, VA 20112


Prince Peace Evangelical Lutheran Ch
Great Trail 433
3355 Medina Rd
Medina, Oh 44256


Prince William County Police Dept
National Capital Area Council 082
1 County Complex Ct
Woodbridge, VA 22192


Princeton Alliance Church
Washington Crossing Council 777
20 Schalks Crossing Rd
Plainsboro, NJ 08536


Princeton Community Hospital
c/o Donna Richardson‐ Finance
P.O. Box 1369
Princeton, WV 24740‐1369


Princeton Elementary PTA
Greater Alabama Council 001
1425 2nd Ave W
Birmingham, AL 35208


Princeton Lions Club
Tuscarora Council 424
145 Worley Rd
Princeton, NC 27569


Princeton Lions Club
Tuscarora Council 424
P.O. Box 906
Princeton, NC 27569
Princeton Lions Club/Masonic Lodge
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22558 1100 N Ave
Princeton, IL 61356


Princeton Tec
P.O. Box 8057
Trenton, NJ 08650


Princeton University
Attn Robin A Moscato
P.O. Box 7780‐4716
Philadelphia, PA 19182‐4716


Princeton University
Undergraduate Financial Aid Office
Box 591
Princeton, NJ 08542‐0591


Princeton Utd Methodist Church
Central Minnesota 296
112 7th Ave N
Princeton, MN 55371


Princeton Utd Methodist Church
Northeast Georgia Council 101
2390 S Lumpkin
Athens, GA 30606


Princeton‐1st Congregal Ch Princeton
Heart Of New England Council 230
14 Mountain Rd
Princeton, Ma 01541


Princeton‐Prince Of Peace Church
Heart of New England Council 230
P.O. Box 305
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Princeton, MA 01541


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Princeville, IL 61559


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Prior Lake Vfw Post 6208
Northern Star Council 250
P.O. Box 116
Prior Lake, MN 55372


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Dallas, TX 75397‐8510


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Bursars Office
Providence, RI 02918


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2320 Schillinger Rd S
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Ps 97‐Q The Forest Park School Sr
Greater New York Councils, Bsa 640
8552 85th St
Woodhaven, NY 11421


Ps/Is 109
Greater New York Councils, Bsa 640
1001 E 45th St
Brooklyn, NY 11203


Ps/Ms 57 Sr
Greater New York Councils, Bsa 640
176 E 115th St
New York, NY 10029


Psav Presentation Services
23918 Network Pl
Chicago, IL 60673


Pse G Co
P.O. Box 14444
New Brunswick, NJ 08906‐4444


Psi
6161 Atlantic Blvd
Norcross, GA 30071


Psoe Community
Crossroads of America 160
1525 N Ritter Ave
Indianapolis, IN 46219


Pssi Stadium Corp
900 Art Rooney Ave
Pittsburgh, PA 15212


Psu LLC
A Monique Burns
851 NW 45th St, Ste 100
Kansas City, MO 64116


Psychological   Academic Success Svcs
C/0 Susan M Swearer Phd
6921 Pine Lake Ct
Lincoln, NE 68516


Psychological Healthcare PLLC
3300 James St, Ste 100
Syracuse, NY 13206


Pta Childrens School Of Rochester
Seneca Waterways 397
494 Averill Ave
Rochester, NY 14607


Pta Oak Forest
Andrew Jackson Council 303
1831 Smallwood St
Jackson, MS 39212


Pta Of Caln School
Chester County Council 539
3609 Lincoln Hwy
Thorndale, PA 19372


Pta Of Cleveland School
Last Frontier Council 480
500 N Sherry Ave
Norman, OK 73069


Pta Of East Side Elementary School
Atlanta Area Council 092
3850 Roswell Rd
Marietta, GA 30062


Pta Of Hinman Elementary School
Las Vegas Area Council 328
450 E Merlayne Dr
Henderson, NV 89011


Pta Of Manning School
East Carolina Council 426
1002 Barrett St
Roanoke Rapids, NC 27870


Pta Of Ps 270‐Q
Greater New York Councils, Bsa 640
23315 Merrick Blvd
Rosedale, NY 11422


Pta Washington School
Twin Valley Council Bsa 283
1100 Anderson Dr
Mankato, MN 56001
Ptba ‐ Professional Trailbuilders Assn
P.O. Box 28514
Bellingham, WA 98228


Pte Productions
6503 Pine Castle Blvd
Orlando, FL 32806


Ptisd Birch Es
East Texas Area Council 585
P.O. Box 5878
Longview, TX 75608


Ptl Enterprises
P.O. Box 865161
Orlando, FL 32886‐5161


Pto   School 2
Seneca Waterways 397
180 Ridgeway Ave
Rochester, NY 14615


Pto ‐ East Bradford Elem. School
Chester County Council 539
820 Frank Rd
West Chester, PA 19380


Pto At Buckland Mills Elementary School
National Capital Area Council 082
10511 Wharfdale Pl
Gainesville, VA 20155


Pto At School 16
Seneca Waterways 397
500 E Ave
Rochester, NY 14607


Pto At School 17
Seneca Waterways 397
158 Orchard St
Rochester, NY 14611
Pto At School 22
Seneca Waterways 397
950 Norton St
Rochester, NY 14621


Pto At School 28
Seneca Waterways 397
450 Humboldt St
Rochester, NY 14610


Pto At School 3
Seneca Waterways 397
85 Adams St
Rochester, NY 14608


Pto At School 35
Seneca Waterways 397
194 Field St
Rochester, NY 14620


Pto At School 39
Seneca Waterways 397
145 Midland Ave
Rochester, NY 14621


Pto At School 5
Seneca Waterways 397
555 Plymouth Ave N
Rochester, NY 14608


Pto At School 57
Seneca Waterways 397
15 Costar St
Rochester, NY 14608


Pto At School 9
Seneca Waterways 397
485 Clinton Ave N
Rochester, NY 14605
Pto Chapman School
Simon Kenton Council 441
8450 Sawmill Rd
Powell, OH 43065


Pto Edgerton
Water and Woods Council 782
11218 N Linden Rd
Clio, MI 48420


Pto Friends Of Aj Kellogg
Southern Shores Fsc 783
306 Champion St
Battle Creek, MI 49037


Pto Jefferson
Winnebago Council, Bsa 173
1421 4th St Se
Mason City, IA 50401


Pto Of Bloomsdale Elementary
Greater St Louis Area Council 312
6279 Hwy 61
Bloomsdale, MO 63627


Pto Of Kings Highway Elementary School
Chester County Council 539
841 W Kings Hwy
Coatesville, PA 19320


Pto Of Mellette School ‐ Watertown
Sioux Council 733
619 2nd St Nw
Watertown, SD 57201


Pto Of Nell Holcomb School
Greater St Louis Area Council 312
6547 State Hwy 177
Cape Girardeau, MO 63701


Pto Of Roosevelt Elementary School
Sioux Council 733
729 E Kemp
Watertown, SD 57201


Pto Spanish Springs Elementary School
Nevada Area Council 329
100 Marilyn Mae Dr
Sparks, NV 89441


Pto Valverde Elementary School
Denver Area Council 061
2030 W Alameda Ave
Denver, CO 80223


Pto‐Christ The King Catholic School
Last Frontier Council 480
1912 Guilford Ln
Sch
Oklahoma City, OK 73120


Pto‐Oakcrest Elementary School
North Florida Council 087
1112 NE 28th St
Ocala, FL 34470


Ptsa Roland Park Magnet School
Greater Tampa Bay Area 089
1510 N Manhattan Ave
Tampa, FL 33607


Ptu Cedar Heights School
Winnebago Council, Bsa 173
2417 Rainbow Dr
Cedar Falls, IA 50613


Public Affairs Assoc LLC
120 N Washington Sq, Ste 1050
Lansing, MI 48933


Public Health Accreditation Board
1600 Duke St, Ste 440
Alexandria, VA 22314
Public Health Pest Management
1631 Mail Service Center
Raleigh, NC 27699‐1631


Public School 173 Sr
Greater New York Councils, Bsa 640
306 Fort Washington Ave
New York, NY 10033


Public School 181 Sr
Greater New York Councils, Bsa 640
1023 New York Ave
Brooklyn, NY 11203


Public Storage
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9400 S Tryon St
Charlotte, NC 28273‐6500


Public Treasury
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Reno, NV 89506


Publishers Center Serv
PMB 111
439 Wwood Shopping Ctr
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Golden Spread Council 562
6700 Oakhurst Dr
Amarillo, TX 79109


Puckety Presbyterian Church
Laurel Highlands Council 527
1009 Puckety Church Rd
Lower Burrell, PA 15068


Pueblo Colorado Stake
564 W Golfwood Dr
Pueblo W, CO 81007


Pueblo Community Resources
Rocky Mountain Council 063
1217 N Greenwood St
Pueblo, CO 81003


Pueblo County Sheriff Office
Rocky Mountain Council 063
909 Court St
Pueblo, CO 81003


Pueblo Of Isleta Rec Center
Great Swest Council 412
P.O. Box 808
Isleta, NM 87022


Pueblo Tent And Awning Co
1650 W Hwy 50
Pueblo, CO 81008


Puerto Rico
405 Esmeralda Ave, Ste 102, PMB 661
Boy Scouts Building
Guaynabo, PR 00969‐4466


Puerto Rico Army National Cadet Corp
Puerto Rico Council 661
Carr 108 Km 13.8
Leguisamo
Mayaguez, PR 00680


Puerto Rico Caribe Lesee LLC
1 San Geronimo St
San Juan, PR 00901


Puerto Rico Caribe Lesee LLC
Los Rosales St San Geronimo Grounds
P.O. Box 9021872
San Juan, PR 00902‐1872


Puerto Rico Council 661
Ave Esmeralda 405, Ste 102 PMB 661
Guaynabo, PR 00969‐3486


Puerto Rico Dept Of State
P.O. Box 9023271
San Juan, PR 00902‐3271


Puerto Rico Dept Of The Treasury
P.O. Box 9022501
San Juan, PR 00902‐2501


Puerto Rico Telephone
Claro
P.O. Box 70366
San Juan, PR 00936‐8366


Puget Sound Fire Explorer Post 24
Chief Seattle Council 609
P.O. Box 824
Kent, WA 98035


Puget Sound Scout Shop ‐ Opc
3120 Rainer Ave S
Seattle, WA 98144‐5609


Pulaski County High School PTO
Blue Ridge Mtns Council 599
5414 Cougar Trail Rd
Dublin, VA 24084


Pulaski Heights Christian Church
Quapaw Area Council 018
4724 Hillcrest Ave
Little Rock, AR 72205


Pulaski Heights Methodist Ch Little Rock
Quapaw Area Council 018
4823 Woodlawn Dr
Little Rock, Ar 72205


Pulaski Lions Club
Middle Tennessee Council 560
P.O. Box 273
Pulaski, TN 38478


Pulaski Presbyterian Church
Moraine Trails Council 500
Liberty St
Pulaski, PA 16143


Pulitzer Center On Crisis Reporting
1779 Massachusetts Ave Nw, Ste 615
Washington, DC 20036
Pulitzer Promotions Asi/302465
2746 Bristlecone Way
Lafayette, CO 80026


Pullman Lions Club
Inland Nwest Council 611
P.O. Box 3
Pullman, WA 99163


Pullman Lions Club B
Inland Nwest Council 611
1220 NW State St, Apt 41
Pullman, WA 99163


Pullman Rotary Club
Inland Nwest Council 611
140 NW Webb St
Pullman, WA 99163


Pulse Network Inc
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Canton, MA 02021


Pumpkintown Fire Dept
Blue Ridge Council 551
4205 Pumpkintown Hwy
Pickens, SC 29671


Puna Hongwanji Mission
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P.O. Box 100
Keaau, HI 96749


Punch Bowl Social Atlanta
875 Battery Ave Se, Ste 720
Atlanta, GA 30339


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Bucktail Council 509
301 W Mahoning St
Punxsutawney, Pa 15767


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Purcellville Rescue Squad
National Capital Area Council 082
500 N Maple Ave
Purcellville, VA 20132


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Westchester Putnam 388
3095 Purchase St
Purchase, NY 10577


Purchase Control Inc
550 Cochituate Rd 25
Framingham, MA 01701


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Laurel Highlands Council 527
17109 Route 286 Hwy E
Commodore, PA 15729


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136 S Main St
Spanish Fork, UT 84660‐2033


Purdue University
Bursars Office
610 Purdue Mall
West Lafayette, IN 47907


Purdue University
c/o Mary Beth Wood
128 Memorial Mall
194 Stewart Ctr
West Lafayette, IN 47907


Purdy Fire Protection District
Ozark Trails Council 306
102 W Washington Ave
Purdy, MO 65734


Purdys Utd Methodist Church
Westchester Putnam 388
106 Titicus Rd
Purdys, NY 10578


Pure Fishing
1489 Paysphere Cir
Chicago, IL 60674


Pure Fishing
1900 18th St
Spirit Lake, IA 51360‐1099


Pure Fishing Global Hq
Attn Roxanne Coleman
7 Science Court
Columbia, SC 29203


Pure Health Solutions Inc
dba Pure Water Technology
P.O. Box 5066
Hartford, CT 06115‐5066


Pure Health Solutions Inc
dba Spectrum Coffee    Water
950 Corporate Woods Pkwy
Vernon Hills, IL 60061


Pure Health Solutions, Inc Dba Redcanoe
950 Corporate Woods Pkwy
Vernon Hills, IL 60061


Pure Pools Inc
dba Api
880 Jupiter Park Dr, Ste 14
Jupiter, FL 33458
Purebuttons
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Medina, OH 44256


Pureland Supply
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132 Corral Cir
St Augustine, FL 32092


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Hyannis, MA 02601‐3904


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Cimarron Council 474
419 W Misouri
Drummond, Ok 73735


Purity Presbyterian Church
Palmetto Council 549
135 Wylie St
Chester, SC 29706


Puroclean Disaster Rocovery Services
1425 Century Dr 100
Carrollton, TX 75006


Purple Key
122 E Ridge Rd
Islamorada, FL 33036


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West Tennessee Area Council 559
114 W Chestnut St
Puryear, TN 38251


Pusch Ridge Christian Academy
Catalina Council 011
9500 N Oracle Rd
Tucson, AZ 85704


Pusch Ridge Ward
Lds Tucson North Stake
Catalina Council 011
939 W Chapala Dr
Tucson, Az 85704


Pushmataha Area
420 31st Ave N
Columbus, MS 39705‐1806


Pushmataha Area Cncl 691
420 31st Ave N
Columbus, MS 39701‐1806


Putnam City Utd Methodist
Last Frontier Council 480
41st   Macarthur
Oklahoma, OK 73122


Putnam City Utd Methodist Church
Last Frontier Council 480
5819 NW 41st St
Warr Acres, OK 73122


Putnam County Sheriff Dept
Black Swamp Area Council 449
1035 Heritage Trl
Ottawa, OH 45875


Putnam County Sheriff S Dept.
Westchester Putnam 388
3 County Center
Carmel, NY 10512
Putnam County Sheriffs Office
North Florida Council 087
130 Orie Griffin Blvd
Palatka, FL 32177


Putnam County Shrine Club
North Florida Council 087
P.O. Box 291
Palatka, FL 32178


Putnam Elementary School PTO
Muskingum Valley Council, Bsa 467
598 Masonic Park Rd
Marietta, OH 45750


Putnam Heights PTO
Chippewa Valley Council 637
633 W Macarthur Ave
Eau Claire, WI 54701


Puyallup Police Explorer Post
Pacific Harbors Council, Bsa 612
311 W Pioneer
Puyallup, WA 98371


Puyallup Sunrisers Kiwanis
Pacific Harbors Council, Bsa 612
11828 120th Ave E
Puyallup, WA 98374


Puyallup Valley Vfw Post 2224
Pacific Harbors Council, Bsa 612
120 E Meeker
Puyallup, WA 98372


Pv Food   Beverage Services LLC
95 Armsby Rd
Sutton, MA 01590


Pvca Trust Account F/B/A Kevin Michael
Mcclinton
911 Pacific Ave, Ste 200
Tacoma, WA 98402


Pvca Trust Account F/B/A Sayed Mohammad
Rahim Mostafavinassab
911 Pacific Ave, Ste 200
Tacoma, WA 98402


Pvt Joseph Francis Vfw Post 486
Narragansett 546
486 Bedford St
Fall River, MA 02720


Pws Inc
12020 Garfield Ave
South Gate, CA 90280


Pyrotecnico Fireworks Inc
299 Wilson Rd
New Castle, PA 16101


Pyrotecnico Fireworks Inc
P.O. Box 645844
Pittsburgh, PA 15264‐5844


Pyrotecnico Fx, LLC
P.O. Box 310
New Castle, PA 16103


Pyrotecnico Fx, LLC
P.O. Box 645830
Pittsburgh, PA 15264‐5830


Q A Reporting Services Inc
2165 Fairhaven Cir Ne
Atlanta, GA 30305‐4314


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Attn Accounts Receivable
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Santa Ana, CA 92704
Qe Enterprises, Inc
dba Lore Postman
20405 Church St
Cornelius, NC 28031‐8476


Qe Enterprises, Inc
dba Patrick Schneider Photography
20405 Church St
Cornelius, NC 28031‐8476


Qima Limited
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99‐105 Des Voeux Rd Central
999077
Hong Kong


Qingyi Ye
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Qrc Scout Group, C/O Robert Berkeley
60 Gloster Lodge Rd
Belmont Pos, Trinidad,
Trinidad   Tobago


Qsi International School Of Papa
Transatlantic Council, Bsa 802
Komaromi Utca 12
Papa, 8500
Hungary


Qsp Canada
695 Riddell Rd
Orangeville, On L9W 4Z5
Canada


Qsp Inc
P.O. Box 10203
Des Moines, IA 50336‐0203


Qtech Business Products
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Jewett, NY 12444


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2621 4th Ave
Rock Island, IL 61201


Quad City Golf Cars
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Quad Graphics
N61 W23044 Harrys Way
Sussex , WI 53089


Quad/Graphics
P.O. Box 842858
Boston, MA 02284‐2858


Quad/Graphics Inc
Attn A/R
6700 Denton Dr
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Quad/Graphics Inc
P.O. Box 930505
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Quad/Graphics, Inc
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N61W23044 Harrys Way
Sussex, WI 53089‐2827


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South Texas Council 577
513 Chukar Dr
Victoria, TX 77905


Quail Hollow Country Club
dba Quail Hollow Club
3700 Gleneagles Rd
Charlotte, NC 28210


Quail Hollow Presbyterian Church
Mecklenburg County Council 415
8801 Park Rd
Charlotte, NC 28210


Quail Run PTO
Heart of America Council 307
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Lawrence, KS 66049


Quail Springs Utd Methodist Church
Last Frontier Council 480
14617 N Pennsylvania Ave
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Quail Valley Family Dental
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Missouri City, TX 77459
Quail Valley Moose Lodge
California Inland Empire Council 045
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Quail Valley, CA 92587


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Denver Area Council 061
3501 Summit Grove Pkwy
Denver, CO 80241


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Muskingum Valley Council, Bsa 467
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Quaker City, OH 43773


Quaker Hill P T A
Connecticut Rivers Council, Bsa 066
285 Bloomingdale Rd
Quaker Hill, CT 06375


Quakertown Borough First Responders
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35 N 3rd St
Quakertown, PA 18951


Quakertown Utd Methodist Church
Washington Crossing Council 777
Croton Rd
Quakertown, NJ 08868


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Carlsbad, CA 92009
Quality Aluminum   Vinyl Inc
111 Franklin Heights
Fayetteville, WV 25840


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6400 W 105th St
Bloomington, MN 55438


Quality Floors Contract Inc
C2 Construction Inc
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Carrollton, TX 75006‐6911


Quality Flow Systems Inc
800 6th St Nw
New Prague, MN 56071


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Quality Logo Products
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Montana Council 315
P.O. Box 645
Colstrip, MT 59323


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Charlotte, NC 28207


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Slovenia


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10301 Old Concord Rd
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Bahamas


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Nakina, NC 28455


Quality Water Products
E J Prescott Inc
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Qualtrics LLC
P.O. Box 29650, Dept 880102
Phoenix, AZ 85038‐9650


Quan Do Dba Golden Valley Tailoring
697 Winnetka Ave N
Golden Valley, MN 55427


Quantico Yacht Club
National Capital Area Council 082
P.O. Box 21
Quantico, VA 22134


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419 58th St Se
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P.O. Box 22108
Tulsa, OK 74121


Quapaw Area
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Quapaw Area Cncl 18
3220 Cantrell Rd
Little Rock, AR 72202‐1847


Quapaw Area Council Bsa
3220 Cantrell Rd
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Cherokee Area Council 469 469
1290 S 604 Rd
Quapaw, OK 74363


Quark, Inc
1800 Grant St
Denver , CO 80203


Quarles Charitable Trust
Cherokee Area Council 556
488 Alexian Way, Apt 606
Signal Mountain, TN 37377


Quartzsite Police Dept
California Inland Empire Council 045
305 N Plymouth Ave
Quartzsite, AZ 85346


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Chief Seattle Council 609
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Seattle, WA 98119


Queen City High School
Caddo Area Council 584
P.O. Box 128
Queen City, TX 75572


Queen City Lodge 12
Ozark Trails Council 306
P.O. Box 2015
Springfield, MO 65801


Queen City Masonic Lodge 380
Great Rivers Council 653
P.O. Box 32
Queen City, MO 63561


Queen Creek Kiwanis
Grand Canyon Council 010
P.O. Box 356
Queen Creek, AZ 85142


Queen Creek Utd Methodist Church
East Carolina Council 426
P.O. Box 398
Hubert, NC 28539


Queen Martyrs Knights Columbus 4567
Greater Los Angeles Area 033
531 Main St 421
El Segundo, Ca 90245


Queen Of All Saints Act Assoc/Koc 10136
Greater St Louis Area Council 312
6603 Christopher Dr
Saint Louis, MO 63129


Queen Of All Saints Basilica
Pathway To Adventure 456
6280 N Sauganash Ave
Chicago, IL 60646
Queen Of All Saints Parish
Lasalle Council 165
606 S Woodland Ave
Michigan City, IN 46360


Queen Of Angels Catholic School
Atlanta Area Council 092
11340 Woodstock Rd
Roswell, GA 30075


Queen Of Angels Parish
Northeastern Pennsylvania Council 501
605 Church St
Jessup, PA 18434


Queen Of Angels Roman Catholic Church
Anthony Wayne Area 157
1600 W State Blvd
Fort Wayne, IN 46808


Queen Of Angels Roman Catholic Church
Pathway To Adventure 456
2330 W Sunnyside Ave
Chicago, IL 60625


Queen Of Apostles School
Silicon Valley Monterey Bay 055
4950 Mitty Way
San Jose, CA 95129


Queen Of Heaven Church
Great Trail 433
1800 Steese Rd
Uniontown, OH 44685


Queen Of Heaven Church
Greater Niagara Frontier Council 380
4220 Seneca St
West Seneca, NY 14224


Queen Of Martyrs Holy Name Society
Pathway To Adventure 456
10233 S Central Park Ave
Evergreen Park, IL 60805


Queen Of Martyrs Roman Catholic Church
Greater Niagara Frontier Council 380
180 George Urban Blvd
Buffalo, NY 14225


Queen Of Peace Catholic Church
Dan Beard Council, Bsa 438
2550 Millville Ave
Hamilton, OH 45013


Queen Of Peace Catholic Church
Lasalle Council 165
4508 Vistula Rd
Mishawaka, IN 46544


Queen Of Peace Catholic Church
Yucca Council 573
1551 Belvidere St
El Paso, TX 79912


Queen Of Peace Catholic Community
North Florida Council 087
10900 SW 24th Ave
Gainesville, FL 32607


Queen Of Peace Church
Laurel Highlands Council 527
907 6th Ave
Patton, PA 16668


Queen Of Peace Parish
Greater St Louis Area Council 312
5923 N Belt W
Belleville, IL 62223


Queen Of Peace Rc Church
Northern New Jersey Council, Bsa 333
Church Pl
North Arlington, NJ 07031


Queen Of Peace Roman Catholic Church
Cradle of Liberty Council 525
820 N Hills Ave
Glenside, PA 19038


Queen Of Peace Roman Catholic Church
Northern New Jersey Council, Bsa 333
10 Franklin Pl
North Arlington, NJ 07031


Queen Of The Apostles Catholic Church
Piedmont Council 420
503 N Main St
Belmont, NC 28012


Queen Of The Apostles Parish
Northeastern Pennsylvania Council 501
715 Hawthorne St
Avoca, PA 18641


Queen Of The Holy Rosary Church
Heart of America Council 307
7023 W 71st St
Overland Park, KS 66204


Queen Of The Miraculous Medal Parish
Southern Shores Fsc 783
811 S Wisner St
Jackson, MI 49203


Queen Of The Rosary Catholic Church
Pathway To Adventure 456
750 W Elk Grove Blvd
Elk Grove Village, IL 60007


Queen Of The World Church
Bucktail Council 509
134 Queens Rd
Saint Marys, PA 15857
Queens Creek Utd Methodist Church
East Carolina Council 426
324 Hubert Blvd
Hubert, NC 28539


Queens District Attorney S Office
Greater New York Councils, Bsa 640
12501 Queens Blvd
Kew Gardens, NY 11415


Queensboro Shirt Co
1400 Marstellar St
Wilmington, NC 28401


Queenship Of Mary Roman Catholic Church
Minsi Trails Council 502
1324 Newport Ave
Northampton, PA 18067


Queenship Of Mary Roman Catholic Church
Washington Crossing Council 777
16 Dey Rd
Plainsboro, NJ 08536


Quench Usa Inc
P.O. Box 781393
Philadelphia, PA 19178‐1393


Quentin Alexander
Address Redacted


Quentin J Pilcher
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Quentin Karlstrand
Address Redacted


Quentin Marshall Rench
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Quentin Mckinniss
Address Redacted


Quentina Jordan
Address Redacted


Quenton Markel Ii
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Quest
Admin Offices
P.O. Box 790358
St Louis, MO 63179‐0358


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Westerville, OH 43081


Quest Leadership Academy
Blue Ridge Council 551
29 Ridgeway Dr
Greenville, SC 29605


Quest Software Inc
P.O. Box 731381
Dallas, TX 75373‐1381


Questar, Inc
307 N Michigan Ave, Ste 500
Chicago, IL 60601‐5305


Questers Bible Class Of
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Patriots Path Council 358
140 Mountain Ave
Westfield, Nj 07090


Questex Media Group     Info 360
Conexsys
100 Cummings Ctr, Ste 341D
Beverly, MA 01915


Questionmark Corp
35 Nutmeg Dr, Ste 330
Trumbull, CT 06611


Quests Camp Thunderbird
Central Florida Council 083
909 E Welch Rd
Apopka, FL 32712


Quick Collect
P.O. Box 55457
Portland, OR 97238


Quick Medical
P.O. Box 1052
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Quick Services, LLC
121 W Carlson St, Ste 3
Cheyenne, WY 82009


Quick Source Learning
P.O. Box 247
Harrisonburg, VA 22803


Quicklearn
16150 NE 85th St, Ste 220
Redmond, WA 98052


Quicksilver Productions Inc
211 E Bellefonte Ave
Alexandria, VA 22301


Quiescence Diving Services Inc
Quiescence Inc
103680 Overseas Hwy
Key Largo, FL 33037
Quiktrip
2326 Sandy Porter
Charlotte, NC 28273‐4302


Quilcene Lions Club
Chief Seattle Council 609
P.O. Box 493
Quilcene, WA 98376


Quill Corp
P.O. Box 37600
Philadelphia, PA 19101‐0600


Quill Productions
12218 Ridgecove Dr
Dallas, TX 75234‐7954


Quincy Area Vocational Technical Center
Mississippi Valley Council 141 141
219 Baldwin Dr
Quincy, IL 62301


Quincy Fire Dept
Mississippi Valley Council 141 141
906 Vermont St
Quincy, IL 62301


Quincy Friends Of Scouting
The Spirit of Adventure 227
21 Puritan Dr
Quincy, MA 02169


Quincy Lion S Club
Nevada Area Council 329
P.O. Box 63
Quincy, CA 95971


Quincy M Dahlberg
Address Redacted
Quincy Noon Kiwanis
Mississippi Valley Council 141 141
P.O. Box 57
Quincy, IL 62306


Quincy Police Dept
Mississippi Valley Council 141 141
110 S 8th St
Quincy, IL 62301


Quincy Rotary Club
Southern Shores Fsc 783
8 Fulton St
Quincy, MI 49082


Quinlan Volunteer Fire Dept
Circle Ten Council 571
P.O. Box 2616
Quinlan, TX 75474


Quinn Chapel Ame Church
Cub Scout Pack 570
P.O. Box 3311
Frederick, MD 21705


Quinn Emanuel Urquhart   Sullivan, LLP
865 S Figueroa St, 10th Fl
Los Angeles, CA 90017


Quinn Flag, LLC
640 Boundry Ave
Hanover, PA 17331


Quinn M Calendine
Address Redacted


Quinn Ryan
Address Redacted


Quinn Schick
Address Redacted
Quinn T Manion
Address Redacted


Quinnipiac Stem School
Connecticut Yankee Council Bsa 072
460 Lexington Ave
New Haven, CT 06513


Quint   Quint
594 Broadway
New York, NY 10012


Quintas Del Valle Sa
Calle Treinta Y Tres 1329 P2
Montevideo, 11000
Uruguay


Quintin Alexander Johannesmeyer
Address Redacted


Quitman Utd Methodist Church
South Georgia Council 098
P.O. Box 857
Quitman, GA 31643


Quito Utd Methodist Church
West Tennessee Area Council 559
4551 Quito Drummonds Rd
Millington, TN 38053


Quivira
3247 N Oliver
Wichita, KS 75220‐2106


Quivira Cncl 198
3247 N Oliver
Wichita, KS 67220


Quivira Coalition
1413 2nd St, Ste 1
Santa Fe, NM 87505‐3435


Quixote Studios LLC
7261 Delta Cir
Austell, GA 30168


Qwest
P.O. Box 17360
Denver, CO 80217‐0360


Qwest
P.O. Box 173638
Denver, CO 80217‐3638


Qwest
P.O. Box 29039
Phoenix, AZ 85038‐9039


Qwest
P.O. Box 29040
Phoenix, AZ 85038‐9040


Qwest
P.O. Box 856137
Louisville, KY 40285‐6137


Qwest 29039
P.O. Box 29039
Phoenix, AZ 85038‐9039


Qwest 91154
P.O. Box 91154
Seattle, WA 98111‐9254


Qwest 91155
P.O. Box 91155
Seattle, WA 98111‐9255


Qwest Business
P.O. Box 856169
Louisville, KY 40285‐6169


Qwest Communication Asset Acctg‐Bart
700 W Mineral Ave, Rm N Dakota
Littleton, CO 80120


Qwest Learning   Conference Center
3898 S Teller St
Lakewood, CO 80235


Qwest Wholesale Services
P.O. Box 856184
Louisville, KY 40285‐6184


R   B Packaging, Inc
210 Beulah Ave, Ste A
Tylertown, MS 39667


R   J Construction
Circle Ten Council 571
3221 Fm 636
Kerens, TX 75144


R   L Thrift Shop
Las Vegas Area Council 328
4843 Patterson Ave
Las Vegas, NV 89104


R   R Diesel Inc
5176 US Hwy 1
Key W, Fl 33040


R   R Newkirk
8695 S Archer 10
Willow Springs, IL 60480


R   R Newkirk Co
8695 S Archer 10
Willow Springs, IL 60480
R   R Surveying LLC
Conquistador Council Bsa 413
423 W Greene St
Carlsbad, NM 88220


R   R Transfer Co
420 N 15th Ave E
Ely, MN 55731


R   R Transfer Co
420 N Ave E
Ely, MN 55731


R   R Trim Supply, Inc
1110 1st St Nw
Albuquerque, NM 87102


R   S Sales Co
8452 Fredericksburg 274
San Antonio, TX 78229


R A Adams Enterprises Inc
2600 W Route 120
Mchenry, IL 60051‐4563


R A S, Inc
1038 N Eisenhower Dr
Beckley, WV 25801


R B Powers Co
118 W High St
Ashley, OH 43003


R Baldwin
Address Redacted


R C Hathaway Lodge 387
President Gerald R Ford 781
116 W Main St Se
Caledonia, MI 49316
R Critchell Judd Jr
Address Redacted


R D Martin Electric Shop Inc
890 Gulf St
Beaumont, TX 77701‐1636


R D Tippett Truckline
Middle Tennessee Council 560
6292 Sparta Pike
Watertown, TN 37184


R David Miller
Address Redacted


R G Barry Corp
Dept L‐3059
Columbus, OH 43260‐3059


R H F, Inc
16202 Keats Cr
Westminster, CA 92683


R H Jamison School
Lake Erie Council 440
4092 E 146th St
Cleveland, OH 44128


R H Rheny, Inc
731 Route 1
Newcastle, ME 04553


R Hall
Address Redacted


R Hugh Andrew
Address Redacted
R J Thomas Mfg Co, Inc
P.O. Box 946
5648 Hwy 59
Cherokee, IA 51012‐0946


R L Carriers Inc
P.O. Box 10020
Port William, OH 45164‐2000


R L Schreiber Inc
1741 NW 33rd St
Pompano Beach, FL 33064‐1391


R Legacy Entertainment LLC
dba Huge Sound
352 S 500 E
Salt Lake City, UT 84102‐4022


R Mcnitt
Address Redacted


R N Creative Limited
50 Payne Ave, Hove
Sussex, Bn3 5Hd
United Kingdom


R O Hara Lanier Middle School
Bay Area Council 574
522 N Ave B
Freeport, TX 77541


R Ray Boyd
Address Redacted


R S Big Horse Sanctuary
Central Florida Council 083
4062 Jason St
New Smyrna Beach, FL 32168


R S Means Co Inc
P.O. Box 7247‐6961
Philadelphia, PA 19170‐6961


R S Owens Co
Dept Ch 19579
Palatine, IL 60055‐9579


R Solutions
3105 Highlawn Ter
Ft Worth, TX 76133


R V Pruitt   Co
115 Springwood Ln
Stanley, NC 28164‐2086


R W Rogers Co Inc
610 Kirk Rd
St Charles, IL 60174


R Watson   Assoc
Crater Lake Council 491
P.O. Box 1047
Talent, OR 97540


R.C.S. Assoc Of Churches
Twin Rivers Council 364
175 Main St
Ravena, NY 12143


R2 Graphics, Inc
172‐A‐Oakwood Dr
Glastonbury, CT 06033


R2Ei
2801 W Willetta St
Phoenix, AZ 85009


Rabbit Creek Church
Great Alaska Council 610
3401 Rabbit Creek Rd
Anchorage, AK 99516
Rabner Allcorn Baumgart   Ben‐Asher
52 Upper Montclair Plz
Upper Montclair, NJ 07043


Rabridge Electric Co
17303 Queen Elizabeth Ln
Tinley Park, IL 60477‐7876


Rabun Chapter Trout Unlimited 522
Northeast Georgia Council 101
P.O. Box 371
Clayton, GA 30525


Rabun County Fire Services
Northeast Georgia Council 101
25 Courthouse Sq, Ste 201
Clayton, GA 30525


Rabun County Sheriffs Office
Northeast Georgia Council 101
25 Courthouse Sq, Ste 301
Clayton, GA 30525


Rabun Youth Educational Services, Inc
Northeast Georgia Council 101
185 Long Laurel Ridge Dr
Lakemont, GA 30552


Rabun Youth Educational Support Inc
Northeast Georgia Council 101
185 Long Laurel Ridge Dr
Lakemont, GA 30552


Rac Transport Co, Inc
P.O. Box 17459
Denver, CO 80217


Race Trac 600
1716 W Frankford Rd
Carrollton, TX 75007
Racebrook School PTA
Connecticut Yankee Council Bsa 072
107 Grannis Rd
Orange, CT 06477


Rachal Carson
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Rachel A Collins
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Rachel A Little
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Rachel Bagwell
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Rachel Blacker
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Rachel C Savidge
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Rachel C Schmidt
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Rachel Cole
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Rachel Cooke
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Rachel Cruse
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Rachel Cueva
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Rachel E Mcmurphy
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Rachel Friend
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Rachel Green
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Rachel Joslyn
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Rachel K Cordeiro
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Rachel Leann Jenkins
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Rachel M Bjerkaas
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Rachel M House
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Rachel Mello
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Rachel Nieder
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Rachel O Sanders
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Rachel P Kingston
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Rachel Pearson Cooke
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Rachel Pooley
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Rachel Poppe
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Rachel R Stankiewicz
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Rachel Ramos
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Rachel Ricklefs
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Rachel Scholan
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Rachel Sovereign‐Zinke
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Rachel Sowersby
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Rachel Yenko‐Martinka
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Rachelle Hardage
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Rachelle Litzenberg
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Racine County Sheriffs Office
Three Harbors Council 636
717 Wisconsin Ave
Racine, WI 53403


Racine Founders Rotary Club
Three Harbors Council 636
2149 N Green Bay Rd
Mount Pleasant, WI 53405


Radadvantage, LLC
P.O. Box 9452 P.O. Box 8500
Philadelphia, PA 19178‐9452


Radcliff Presbyterian Church
Lincoln Heritage Council 205
1751 S Logsdon Pkwy
Radcliff, KY 40160


Radcliff Utd Methodist Church
Lincoln Heritage Council 205
275 S Woodland Dr
Radcliff, KY 40160


Radcliffe Presbyterian Church Mens Club
Atlanta Area Council 092
286 Hamilton E Holmes Dr Nw
Atlanta, Ga 30318‐7413
Atlanta, GA 30318


Rader Awning   Upholstering, Inc
4100 S Paseo Del Norte Frtg Rd Ne
Albuquerque, NM 87113


Radford University
Attn Student Accounts
P.O. Box 6922
Radford, VA 24142


Radha T Nagireddy
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Radha Thanabal
Address Redacted


Radians Inc
P.O. Box 752310
Memphis, TN 38175


Radiant Life Church
Southern Shores Fsc 783
907 N Nottaloa
Sturgis, MI 49091


Radiant Travel
Northeast Georgia Council 101
6975 W Mountain Xing
Cumming, GA 30041


Radical Artists Agency Inc
One Broadway, Ste 300
Denver, CO 80203


Radine Alpha Woodall
Address Redacted


Radio Disney Kmki
11300 4th St N, Ste 143
St Petersburg, FL 33716


Radio Shack 01‐8178
3623 Irving Mall
Irving, TX 75062


Radiology Assoc Of Albq R
P.O. Box 91150
Albuquerque, NM 87199


Radisson Fire Dept
Chippewa Valley Council 637
General Delivery
Radisson, WI 54867


Radisson Hotel Madison
517 Grand Canyon Dr
Madison, WI 53719


Radisson Hotel Manchester
The Ctr of New Hampshire
700 Elm St
Manchester, NH 03101


Radisson Hotel Opryland
2401 Music Valley Dr
Nashville, TN 37214


Radisson Recreation Com
Longhouse Council 373
8650 Carpenter Rd
Baldwinsville, NY 13027


Radloff Middle School Stem
Northeast Georgia Council 101
3939 Shackleford Rd
Duluth, GA 30096


Raeford Utd Methodist Chruch
Cape Fear Council 425
308 N Main St
Raeford, NC 28376


Raeford Utd Methodist Church
Cape Fear Council 425
N Main St
Raeford, NC 28376


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Transatlantic Council, Bsa 802
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Apo Ae, 09461


Rafael Blanco
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Rafael Davila Rodriguez
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Rafael Fernandez
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Rafael Goedhart
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Rafael J Arrom
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Raffel S Catering Inc
10160 Reading Rd
Cincinnati, OH 45241


Raft River Ward ‐ Rupert Stake
Snake River Council 111
2150 E 352 S
Declo, ID 83323


Rafter A Ltd
Lake Erie Council 440
10980 Lagrange Rd
Elyria, OH 44035


Rafter Tc, LLC
P.O. Box 102
Cimarron, NM 87714


Ragan Communications Inc
P.O. Box 1182
Williamsport, PA 17703‐9913
Ragged Mountain Equipment Inc
P.O. Box 130
Intervale, NH 03845


Ragina Anne Wegner
Address Redacted


Ragina Wegner
Address Redacted


Ragsdale   Assoc
Training Specialists LLC
804 Omaha St Ne
Albuquerque, NM 87123


Raha International School
Transatlantic Council, Bsa 802
P.O. Box 34150
Abu Dhabi, Khalifa City A


Rah‐Rah, Inc
P.O. Box 2287
Mt Pleasant, SC 29465


Rahway Elks Lodge 1075
Patriots Path Council 358
122 W Milton Ave
Rahway, NJ 07065


Rahway Yacht Club
Patriots Path Council 358
1706 Paterson St
Rahway, NJ 07065


Railriders Loa Ltd
70 Trapelo Rd
Belmont, MA 02472


Railsback Pump   Contrl Svcs Inc
20230 SW 50th Pl
Ft Lauderdale, FL 33332
Raimond Smale
Address Redacted


Rainbow
921 S State St
Lockport, IL 60441


Rainbow Bag Co
20110 State Route 327
Ray, OH 45672


Rainbow Christian Academy
South Florida Council 084
22940 Old Dixie Hwy
Miami, FL 33170


Rainbow City Lions Club
Greater Alabama Council 001
3283 Steele Station Rd
Rainbow City, AL 35906


Rainbow Club
Five Rivers Council, Inc 375
P.O. Box 324
Wyalusing, PA 18853


Rainbow Cncl 702
921 S State St
Lockport, IL 60441


Rainbow Colors LLC
206 Ewood Cir
Windsor, CT 06095


Rainbow Connection Of Grand Rapids, Inc
P.O. Box 1906
Islamorada, FL 33036


Rainbow Head Farms LLC
Michael F Nardella
309 John St
Clarksburg, WV 26301


Rainbow Housing Assistance Corp
Grand Canyon Council 010
3120 W Carefree Hwy, Ste 1‐246
Phoenix, AZ 85086


Rainbow Of California Inc
P.O. Box 2090
Oceanside, CA 92054


Rainbow Party Rentals
318 E 4th St
Dover, OH 44622


Rainbow Village Apartments
Greater Tampa Bay Area 089
12301 134th Ave
Largo, FL 33774


Rainelle Motors LLC
dba Tri County Trailers Sales
103 Tulip Dr
Beaver, WV 25813


Rainelle Utd Methodist Church
Buckskin 617
P.O. Box 646
Rainelle, WV 25962


Rainer F Kosnik
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Rainer J Neis
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Rainey, Ross, Rice   Binns
735 First National Ctr W
Oklahoma City, OK 73102
Rainier Beach Community Center
Chief Seattle Council 609
8825 Rainier Ave S
Seattle, WA 98118


Rainier Industries, Ltd
18735 Olympic Ave S
Tukwila, WA 98188‐4724


Rainier Lions Club
Pacific Harbors Council, Bsa 612
P.O. Box 1033
Rainier, WA 98576


Rainier Utd Methodist Church
Cascade Pacific Council 492
P.O. Box 188
Rainier, OR 97048


Rainier Vista Boys    Girls Club
Chief Seattle Council 609
4520 Ml King Jr Way S
Seattle, WA 98108


Rainmakers
Irrigation   Maintenance Co Inc
12024 S Aero Dr
Plainfield, IL 60544


Rainsaver Gutter Systems
23 Royal Palm Way, Unit 6
Boca Raton, FL 33432


Rainsboro Utd Methodist Church
Simon Kenton Council 441
7633 State Route 753 S
Greenfield, OH 45123


Raintree Montessori School
Heart of America Council 307
4601 Clinton Pkwy
Lawrence, KS 66047


Rainy City Web Design
Chief Seattle Council 609
4994 NE Gunderson Rd
Poulsbo, WA 98370


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Rajcoomarie Adcock
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Rajcoomarie Nalini Adcock
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Raks Building Supply
501 Otero Ne
Socorro, NM 87801


Raleigh Avenue Baptist
Greater Alabama Council 001
309 Raleigh Ave
Birmingham, AL 35209


Raleigh County Emergency Services
162 Industrial Park Rd
Beaver, WV 25813


Raleigh County Memorial Airport
176 Airport Cir
Beaver, WV 25813


Raleigh County Sheriff
215 Main St
Beckley, WV 25801‐4612


Raleigh County Solid Waste
200 Fernandez Dr
Beckley, WV 25801


Raleigh Court Presbyterian Church
Blue Ridge Mtns Council 599
1837 Grandin Rd Sw
Roanoke, VA 24015


Raleigh Court Utd Methodist Church
Blue Ridge Mtns Council 599
1706 Grandin Rd Sw
Roanoke, VA 24015


Raleigh Elks Lodge    735
Occoneechee 421
5538 Lead Mine Rd
Raleigh, NC 27612


Raleigh General Hospital
P.O. Box 402818
Atlanta, GA 30384‐2818


Raleigh General Hospital
P.O. Box 630938
Cincinnati, OH 45263‐0938


Raleigh Hills PTO
Cascade Pacific Council 492
5225 SW Scholls Ferry Rd
Portland, OR 97225


Raleigh Moravian Church
Occoneechee 421
1816 Ridge Rd
Raleigh, NC 27607


Raleigh Police Dept
Occoneechee 421
218 W Cabarrus St
Raleigh, NC 27601


Raleigh Radiology Inc
P.O. Box 791119
Baltimore, MD 21279‐1119


Raliegh Area Chamber Of Commerece
Pine Burr Area Council 304
P.O. Box 506
Raleigh, MS 39153


Ralisha Mercer
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Ralls Lions Club
South Plains Council 694
1307 Ave L
Ralls, TX 79357


Ralls Lions Club
South Plains Council 694
P.O. Box 812
Ralls, TX 79357


Ralph A Pandure Vfw Post 10
Cape Fear Council 425
145 Hanger Ln
Raeford, NC 28376


Ralph A Woodard
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Ralph Abraham
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Ralph De La Vega
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Ralph Evans Jr
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Ralph Friend
Address Redacted
Ralph Gracie American Legion Post 14
Voyageurs Area 286
6735 Fairgrounds Rd Nw
P.O. Box 1049
Bemidji, MN 56601


Ralph Hockenberry
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Ralph Johnson
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Ralph Kroehler
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Ralph Miller
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Ralph Snyder
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Ralph Spaulding
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Ralph Stults
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Ralph Swanson Co
1370 Hidden Valley Rd
P.O. Box 57
Ely, MN 55731


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Blackhawk Area 660
710 Ralston Rd
Machesney Park, IL 61115


Ralston Volunteer Fire Dept Inc
Mid‐America Council 326
7629 Park Dr
Omaha, NE 68127


Ram Pride Booster Club
165 N Collison Ave
Cimarron, NM 87714


Ramah Presbyterian Church
Mecklenburg County Council 415
14401 Ramah Church Rd
Huntersville, NC 28078


Ramapo College Of New Jersey
Attn Bursars Office
505 Ramapo Valley Rd
Mahwah, NJ 07430


Rambam Day School
Coastal Georgia Council 099
111 Atlas St
Savannah, GA 31405


Ramer Ruritan
West Tennessee Area Council 559
5404 Hwy 45 S
Selmer, TN 38375


Ramey Automotive Group, Inc
615 N Eisenhower Dr
Beckley, WV 25801


Ramey Ford Lincoln Princeton LLC
498 Courthouse Rd
Princeton, WV 24740


Ramey Motors Inc
127 Frazier Dr
Princeton, WV 24740


Ramey Motors Inc
P.O. Box 1755
Princeton, WV 24740


Ramon Guzman
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Ramon Montalvo
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Ramon Montgomery
Address Redacted


Ramona Fryer
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Ramona Grass
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Ramona Hurst
Address Redacted


Ramona Langton
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Ramona Larner
Address Redacted


Ramona Ranstrom
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Ramona Stephenson
Address Redacted


Ramona Utd Methodist Church
San Diego Imperial Council 049
3394 Chapel Ln
Ramona, CA 92065


Ramona Winkler
Address Redacted


Ramoth Nazarene Church
Garden State Council 690
2725 N Delsea Dr
Vineland, NJ 08360


Ramsay Memorial Methodist Church
Pine Burr Area Council 304
12472 Dedeaux Rd
Gulfport, MS 39503


Ramsden   Lyons LLP
P.O. Box 1336
Coeur D Alene, ID 83816‐5818


Ramsey County Sheriff S Office
Northern Star Council 250
425 Grove St
Saint Paul, MN 55101


Ramsey Lions Club
Northern Star Council 250
P.O. Box 771
Ramsey, MN 55303


Ramsey Methodist Church
Pine Burr Area Council 304
12472 Dedeaux Rd
Gulfport, MS 39503


Ramsey Police Dept
Northern Star Council 250
7550 Sunwood Dr Nw
Ramsey, MN 55303


Ramsey Popcorn, Inc
P.O. Box 44719
Madison, WI 53744‐4719


Ramsey Rescue Org
Northern New Jersey Council, Bsa 333
P.O. Box 193
Ramsey, NJ 07446


Ran Chen
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Rana Prathap Mercy Pathrose
19 Crabapple Ct
St Louis, MO 63132


Ranald Graham
Address Redacted


Ranch Ward ‐ LDS Sahuarita Stake
Catalina Council 011
17699 S Camino De Las Quintas
Sahuarita, AZ 85629
Rancho Bernardo Commty
Presbyterian Church
San Diego Imperial Council 049
17010 Pomerado Rd
San Diego, Ca 92128


Rancho Bernardo Sunrise Rotary
San Diego Imperial Council 049
P.O. Box 270243
San Diego, CA 92198


Rancho Cielo Inc
P.O. Box 6948
Salinas, CA 93912


Rancho Community Church
California Inland Empire Council 045
31300 Rancho Community Way
Temecula, CA 92592


Rancho Cordova Elks Lodge 2484
Golden Empire Council 047
11440 Elks Cir
Rancho Cordova, CA 95742


Rancho Cordova Kiwanis
Golden Empire Council 047
10837 Ambassador Dr
Rancho Cordova, CA 95670


Rancho Cordova Moose Lodge 2357
Golden Empire Council 047
10124 Coloma Rd
Rancho Cordova, CA 95670


Rancho Cordova Utd Methodist Church
Golden Empire Council 047
2101 Zinfandel Dr
Rancho Cordova, CA 95670


Rancho Cucamonga Fire District
California Inland Empire Council 045
P.O. Box 807
10500 Civic Center Dr
Rancho Cucamonga, CA 91729


Rancho Cucamonga Rotary Club
California Inland Empire Council 045
11169 Starview Ct
Rancho Cucamonga, CA 91737


Rancho Del Chino Rotary
California Inland Empire Council 045
P.O. Box 2431
Chino, CA 91708


Rancho Santa Anita Assoc
Greater Los Angeles Area 033
515 N Old Ranch Rd
Arcadia, CA 91007


Rancho Vistoso Ward
Lds Tucson North Stake
Catalina Council 011
55 W Arrowsmith Dr
Oro Valley, Az 85755


Ranchos Kiwanis
Sequoia Council 027
37167 Ave 12, Ste Sc
Madera, CA 93636


Rancho‐Temecula New Covenant Fellowship
California Inland Empire Council 045
38801 Calistoga Dr
Murrieta, CA 92563


Rand Corp
W.L.A.C.C. 051
1700 Main St
P.O. Box 2138


Rand Mcnally     Co
P.O. Box 98904
Chicago, IL 60693


Rand Worldwide Subsidiary Inc
28127 Network Pl
Chicago, IL 60673‐1281


Randal Craig
Address Redacted


Randal Dfw Hospitality LLC
dba Hyatt Pl Dallas/Las Colinas
5455 Green Park Dr
Irving, TX 75038


Randal Merten
Address Redacted


Randall Andreasen
Address Redacted


Randall Barnett
Address Redacted


Randall Bauman
Address Redacted


Randall Beaver
Address Redacted


Randall Blades
Address Redacted


Randall Call
Address Redacted


Randall County Sheriff Dept
Golden Spread Council 562
9100 S Georgia St
Amarillo, TX 79118


Randall Dahle
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Randall Elementary School PTO
Baden‐Powell Council 368
31 Randall St
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Randall Jackson
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Randall L Stephenson
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Randall Lumber   Hardware Inc
315 Paseo Del Pueblo Sur
Taos, NM 87571


Randall M Greiner
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Randall M Macdonald
Address Redacted


Randall Mayfield
Address Redacted
Randall Rockwell
Address Redacted


Randall Saunders
Address Redacted


Randall Toland
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Randall Vargas
Address Redacted


Randall Wenz
Address Redacted


Randall Wilson
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Randel J Riha
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Randell Keys
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Randi Richins
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Randles Sand   Gravel Inc
Pacific Harbors Council, Bsa 612
19209 Canyon Rd E
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Randolph Chemical Engine Co 2
Patriots Path Council 358
340 State Route 10
Randolph, NJ 07869
Randolph Civic Foundation
National Capital Area Council 082
4718 Topping Rd
Rockville, MD 20852


Randolph Civic Foundation
National Capital Area Council 082
P.O. Box 2202
Rockville, MD 20847


Randolph Civic Foundation Inc
National Capital Area Council 082
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Randolph Cox
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Randolph Elementary School PTA
Heart of Virginia Council 602
1552 Sheppard Town Rd
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Randolph Fuerst
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Randolph Macon Academy
Shenandoah Area Council 598
201 Academy Dr
Front Royal, VA 22630


Randolph Restaurant Group Inc
dba Bojangles
160 S Point Dr
Fayetteville, WV 25840


Randolph Township Fire Dept
W D Boyce 138
103 S Buchanan St
Heyworth, IL 61745
Randolph Utd Methodist Church
Glaciers Edge Council 620
227 N High St
Randolph, WI 53956


Randolph Utd Methodist Church
Great Trail 433
4078 Waterloo Rd
Randolph, OH 44265


Randolph Webb
Address Redacted


Randolph‐Macon College
Attn Treasurers Office
P.O. Box 5005
Ashland, VA 23005


Random House Inc
P.O. Box 223384
Pittsburgh, PA 15251‐2384


Random Lake District Explorers
Bay‐Lakes Council 635
W6566 Hwy 144
Random Lake, WI 53075


Randstad North America, Inc
P.O. Box 847872
Dallas, TX 75284‐7872


Randy Balausky
Address Redacted


Randy Brown
Address Redacted


Randy Colburn
Address Redacted
Randy Fassold
Address Redacted


Randy Foreman
Address Redacted


Randy Huffman
Address Redacted


Randy Kidder
Address Redacted


Randy Larson
Address Redacted


Randy Mosteller
Address Redacted


Randy Patterson
Address Redacted


Randy Peters
Address Redacted


Randy Roach
Address Redacted


Randy S Ace Hardware
P.O. Box 249
Socorro, NM 87801


Randy Scott
Address Redacted


Randy Steil
Address Redacted


Randy Vonderhaar
Address Redacted


Randy Williams
Address Redacted


Range 54 LLC
Quivira Council, Bsa 198
5728 E Kellogg Dr
Wichita, KS 67218


Range Magazine
P.O. Box 639
Carson City, NV 89702‐0639


Range Paging
10238 Humboldt Ave S
Bloomington, MN 55431‐3115


Range Texas Production, LLC,
100 Throckmorton St, Ste 1200
Fort Worth , TX 76102


Rangeley Ruritan Club
Blue Ridge Mtns Council 599
1 Calloway Dr
Fieldale, VA 24089


Ranger Elementary
Buckskin 617
59 Vanatters Crk
Ranger, WV 25557


Ranger Joe S God And Country Ministry
Chattahoochee Council 091
2 Stoneshoal Ct
Columbus, GA 31904


Rankin Christian Center
Laurel Highlands Council 527
230 3rd St
Braddock, PA 15104
Ranny W Keys
Address Redacted


Ransburg Scout Reservation
7599 E Waldrip Creek Rd
Bloomington, IN 47401


Ransburg Scout Reservation
Crossroads of America 160
7599 E Waldrip Creek Rd
Bloomington, IN 47401


Ransom Boynton
Address Redacted


Ransom Mayfield Jr
Address Redacted


Rantoul Boys   Girls Club
Prairielands 117
400 E Wabash Ave
Rantoul, IL 61866


Rantoul Rotary    AL Post 287
Prairielands 117
1332 Harmon Dr
Rantoul, Il 61866


Rantoul Rotary    Rantoul
First United Methodist Church
Prairielands 117
1421 Youman Dr
Rantoul, Il 61866


Rantoul School District 137
Prairielands 117


Rantoul School District 137
Prairielands 117
400 E Wabash Ave
Rantoul, IL 61866


Rantoul Youth Center
Prairielands 117
1306 Country Club Lane
Rantoul, IL 61866


Rapid Concrete Solutions, Inc
13500 Pearl Rd
Cleveland, OH 44136


Rapid Rescue LLC
c/o Michael E Sharp
103 Blevins Cir
Oak Hill, WV 25901‐3235


Rapidan Ward LDS
Stonewall Jackson Council 763
1275 Timberwood Blvd
Charlottesville, VA 22911


Rapides Parish
Attn Sales     Use Tax Dept
P.O. Box 671
Alexandria, LA 71309‐0671


Rapides Parish Sheriff Dept
Louisiana Purchase Council 213
P.O. Box 1510
Alexandria, LA 71309


Rapidforms
P.O. Box 88042
Chicago, IL 60680‐1042


Rapids Volunteer Fire Co
Iroquois Trail Council 376
7195 Plank Rd
Lockport, NY 14094
Rappahannock Electric Cooperative
P.O. Box 34849
Alexandria, VA 22334‐0849


Rappahannock Goodwill Ind Inc
1414 Caroline St
Fredericksburg, VA 22401


Raptor Enterprises, Inc
Rinehart Targets
1809 Beloit Ave
Janesville, WI 53546


Rare Names, Inc
Prospect Pl
230 3rd Ave
Waltham, MA 02451


Raritan Bay Medical Center
Monmouth Council, Bsa 347
530 New Brunswick Ave
Perth Amboy, NJ 08861


Raritan River Boat Club
Patriots Path Council 358
P.O. Box 1288
Edison, NJ 08818


Ras Tanura Scouting Development
Transatlantic Council, Bsa 802
P.O. Box 4129
Ras Tanura, 31311
Saudi Arabia


Rasberry Utd Methodist Men S Group
Chickasaw Council 558
P.O. Box 532
Indianola, MS 38751


Raschaud Jackson
Address Redacted
Rashaun M Waters
Address Redacted


Rasheema Cabrera
Address Redacted


Rasmussen College
Greater Tampa Bay Area 089
18600 Fernview St
Land O Lakes, FL 34638


Rathdrum Citizens
Inland Nwest Council 611
P.O. Box 426
Rathdrum, ID 83858


Ratio Architects
107 S Pennsylvania St, Ste 100
Indianapolis, IN 46204‐3684


Rational Pr LLC
Rational 360
1828 L St NW, Ste 640
Washington, DC 20036


Raton American Parts, Inc
326 S 2nd St
Raton, NM 87740


Raton Business     Professional Women
P.O. Box 1234
Raton, NM 87740


Raton Business Professional Women
166 Hospital Dr
Raton, NM 87740


Raton Chamber Of Commerce
100 Clayton Rd
Raton, NM 87740
Raton Humane Society
P.O. Box 1321
Raton, NM 87740


Raton Middle School Fccla
528 Mora Ave
Raton, NM 87740


Raton Range
P.O. Box 1068
Raton, NM 87740


Raton Rotary Club
P.O. Box 295
Raton, NM 87740


Raton Sign Co
P.O. Box 458
Raton, NM 87740


Raton Veterinary Hospital LLC
1101 Frontage Rd
Raton, NM 87740


Raton Water Works
P.O. Box 99
Raton, NM 87740


Raucci   Sullivan Strategies LLC
3000 N Sheridan Rd, Ste 18C
Chicago, IL 60657‐5580


Raul Unpingco
Address Redacted


Raven   Assoc Inc
319 N Central Ave
Duluth, MN 55807
Raven Masonic Lodge 303 Af     Am
Three Fires Council 127
71 Main St
Oswego, IL 60543


Ravenden Masonic Lodge 451
Quapaw Area Council 018
131 Hwy 90 N
Ravenden, AR 72459


Ravenna Conservation Club
President Gerald R Ford 781
P.O. Box 394
Ravenna, MI 49451


Ravenna First Utd Methodist Church
Great Trail 433
263 S Prospect St
Ravenna, OH 44266


Ravenna Lions Club
Overland Trails 322
401 Kufus Ave
Ravenna, NE 68869


Ravenna Lions Club
Overland Trails 322
524 W Syracuse St
Ravenna, NE 68869


Ravensway Homeowners Assoc
Sam Houston Area Council 576
13419 Tall Forest Dr
Cypress, TX 77429


Ravensworth Elementary School
National Capital Area Council 082
5411 Nutting Dr
Springfield, VA 22151


Ravensworth School PTA
National Capital Area Council 082
5411 Nutting Dr
Springfield, VA 22151


Ravenwood Elementary PTO
Heart of America Council 307
12211 S Clinton St
Olathe, KS 66061


Ravenwood High School Jrotc
Middle Tennessee Council 560
1724 Wilson Pike
Brentwood, TN 37027


Rawlette Kraut
Address Redacted


Rawlins Elks Lodge 609
Longs Peak Council 062
P.O. Box 609
Rawlins, WY 82301


Rawson Elementary PTO
Three Harbors Council 636
1410 Rawson Ave
South Milwaukee, WI 53172


Rawvoice Inc
17525 Egan Dr
Coopersville, MI 49404


Ray Burgess
Address Redacted


Ray C Fortner
Address Redacted


Ray C Wright
Address Redacted
Ray Capp
Address Redacted


Ray Graham Assoc
Three Fires Council 127
420 W Madison St
Elmhurst, IL 60126


Ray H Riddle
Address Redacted


Ray Hagler
Address Redacted


Ray Kohler
Address Redacted


Ray Martinez
Address Redacted


Ray S Field Service, Inc
204 Coal St
Raton, NM 87740


Ray S Graphic Equipment Repair
211 Lake Hollow
Weatherford, TX 76087


Ray Styles Jr
Address Redacted


Ray Swift
Address Redacted


Ray Wright
Address Redacted


Rayburn Elementary PTA
Rio Grande Council 775
7000 N Main St
Mcallen, TX 78504


Rayma C Page Elementary
Southwest Florida Council 088
17000 S Tamiami Trl
Fort Myers, FL 33908


Raymark Xpert Business Systems, Inc
5460 Cote De Liesse
Montreal, QC
Canada


Raymark Xpert Business Systems, Inc
5460 Cote‐De‐Liesse
Montreal, QC H4P 1A5
Canada


Raymer Bookbindery Inc
885 Nfork Cir
Lewisville, TX 75057


Raymon Bukoveckas
Address Redacted


Raymond Academy PTO
Sam Houston Area Council 576
1605 Connorvale Rd
Houston, TX 77039


Raymond Anderson
Address Redacted


Raymond Arthur Shelley   Odonnell
Clark   Crew Trust
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Raymond B Strang
Address Redacted
Raymond Baker
Address Redacted


Raymond Ballenger
Address Redacted


Raymond Bendici
Address Redacted


Raymond Blackwell
Address Redacted


Raymond Brauer
Address Redacted


Raymond Braun
Address Redacted


Raymond Brown
Address Redacted


Raymond Chase
Address Redacted


Raymond Commty
Fire Protection District
Abraham Lincoln Council 144
P.O. Box 134
Raymond, Il 62560


Raymond E Walton Post 70
Daniel Webster Council, Bsa 330
169 Walton Rd
Raymond E Walton Post 70 American Legion
Seabrook, NH 03874


Raymond Eschenbach
Address Redacted
Raymond Estrella
Address Redacted


Raymond F Jarris Jr Mdpc
dba MD Solutions
P.O. Box 1935
Auburn, WA 98071‐1935


Raymond Fire   Resuce Dept
Three Harbors Council 636
2255 76th St
Franksville, WI 53126


Raymond Firefighters Assoc
Daniel Webster Council, Bsa 330
1 Scribner Rd
Raymond, NH 03077


Raymond Garrison
Address Redacted


Raymond Gollaher
Address Redacted


Raymond Gonzo
Address Redacted


Raymond Heck Jr
Address Redacted


Raymond J Barry
Address Redacted


Raymond J Hayden
Address Redacted


Raymond J Kreienkamp
Address Redacted
Raymond Je Boos
Address Redacted


Raymond Johns
Address Redacted


Raymond Jones
8025 Dollarway Rd
White Hall, AR 71602


Raymond Leasing Corp
22 S Canal St
Greene, NY 13778


Raymond Leasing Corp
Attn Accounts Receivable
P.O. Box 301590
Dallas, TX 75303‐1590


Raymond Leasing Corp
Corporate Headquarters
P.O. Box 130
Greene, NY 13778


Raymond Morrell
Address Redacted


Raymond Moyer
Address Redacted


Raymond P French
Address Redacted


Raymond P Macaluso
Address Redacted


Raymond Park Intermediate School
Crossroads of America 160
8575 E Raymond St
Indianapolis, IN 46239


Raymond Paul Smith
Address Redacted


Raymond Peoples
Address Redacted


Raymond Police Dept
Daniel Webster Council, Bsa 330
1 Scribner Rd
Raymond, NH 03077


Raymond Posluszny
Address Redacted


Raymond Sander
Address Redacted


Raymond Sleater
Address Redacted


Raymond Smith
Address Redacted


Raymond Spiller
Address Redacted


Raymond Stevens
Address Redacted


Raymond Storage Concepts, Inc
4333 Dirs Blvd
Groveport , OH 43125


Raymond Storage Concepts, Inc
5480 Creek Rd
Cincinnati, OH 45242
Raymond Sutliff
Address Redacted


Raymond Tennent Iv
Address Redacted


Raymond Utd Methodist Ch
Andrew Jackson Council 303
P.O. Box 64
Raymond, MS 39154


Raymond Utd Methodist Church
Andrew Jackson Council 303
P.O. Box 64
Raymond, MS 39154


Raymond Utd Methodist Church
Calcasieu Area Council 209
5532 Pine Island Hwy
Jennings, LA 70546


Raymond Utd Methodist Church
Simon Kenton Council 441
21535 State Route 347
Raymond, OH 43067


Raymond Vail
Address Redacted


Raymond Village Community Church
Pine Tree Council 218
P.O. Box 285
Raymond, ME 04071


Raymond W Ritch Psych Services
Nevada Area Council 329
965 Aster Ln
Fernley, NV 89408


Raymond Westbrook
Address Redacted


Raymond Williams
Address Redacted


Raymond Woodall
Address Redacted


Raymond Youngs
Address Redacted


Raymore Christian Church
Heart of America Council 307
500 Peace Dr
Raymore, MO 64083


Raymore Presbyterian Church
Heart of America Council 307
204 S Jefferson St
Raymore, MO 64083


Rayna B Duncan
Address Redacted


Rayna Voigt
Address Redacted


Rayne Volunteer Fire Dept
Evangeline Area 212
P.O. Box 373
Rayne, LA 70578


Raynor Park Christian Church
Silicon Valley Monterey Bay 055
1515 Partridge Ave
Sunnyvale, CA 94087


Rayson‐Miller American Legion Post 899
Seneca Waterways 397
21 N Main St
Pittsford, NY 14534


Raytheon Middle East Systems
Transatlantic Council, Bsa 802
P.O. Box 1348
Jeddah, 21431
Saudi Arabia


Raytown Christian Church
Heart of America Council 307
6108 Blue Ridge Blvd
Raytown, MO 64133


Razor Edge Systems Inc
303 N 17th Ave E
Ely, MN 55731


Razorback Moose Legion 181
Westark Area Council 016
P.O. Box 3
Lowell, AR 72745


Rb Sun Enterprises
8011 Apple Six Dr
Port Richey, FL 34668


Rb40 LLC
Autogenix System Solutions
137 Cross Ctr Dr 218
Denver, NC 28037


Rba, Inc
1104 Park Ave Sw
Albuquerque, NM 87102


RBC Bank
Attn Ramiro Matias
P.O. Box Bag Service 2650
Calgary, AB T2P 2M7
Canada
Rbd Hotel Palm Springs LLC
Hyatt Regency, Ste S Palm Springs
285 N Palm Canyon Dr
Palm Springs, CA 92262


Rbd St. Louis LLC
Renaissance St Louis Airport
9801 Natural Bridge
St. Louis, MO 63134


Rbmm Svc
7007 Twin Hills, Ste 200
Dallas, TX 75231‐5184


Rbs Inc
P.O. Box 490
White Sulphur Springs, WV 24986


Rc Plumbing   Heating
P.O. Box 799
Magdalena, NM 87825


Rc Taylor Advertising
5416 88th St
Lubbock, TX 79424


Rcg Global Services Inc
P.O. Box 829989
Philadelphia, PA 19182‐9989


Rcg Global Services, Inc
379 Thronall St
14th Fl
Edison, NJ 08837


Rcn
P.O. Box 11816
Newark, NJ 07101‐8116


Rcn
P.O. Box 747089
Pittsburgh, PA 15274‐7089


Rd Select Preferred Subscriber
P.O. Box 7825
Red Oak, IA 51591‐0825


Rd Wing
11809 NE 116th St
Kirkland, WA 98034


Rdc Forsgate Partners LLC
Forsgate Country Club
Monroe Twp, NJ 08831


Re Flooring And Services
Pikes Peak Council 060
8610 Brockhill Dr
Colorado Springs, CO 80920


Re Transportation
855 Ridge Lake Blvd, Ste 500
Memphis, TN 38120


Re/Max Clarity
San Diego Imperial Council 049
884 Elake Pkwy, Ste 1629
Chula Vista, CA 91914


Rea Avenue Reformed Church
Northern New Jersey Council, Bsa 333
89 3rd Ave
Hawthorne, NJ 07506


Reach Academy
Erie Shores Council 460
2014 Consaul St
Toledo, OH 43605


Reach Charter Academy Parent Assoc
Great Lakes Fsc 272
25275 Chippendale St
Roseville, MI 48066


Reach High School ‐ Isothermal College
Piedmont Council 420
P.O. Box 804
Spindale, NC 28160


Reach Regional Enterprises
For Adults And Children, Inc.
Chippewa Valley Council 637
2205 Heimstead Rd
Eau Claire, Wi 54703


Reactor Art   Design Limited
51 Camden St
Toronto, ON M5V 1V2
Canada


Readers Digest
Payment Processing Ctr
P.O. Box 6143
Harlan, IA 51593‐1643


Readfield Utd Methodist Church
Pine Tree Council 218
P.O. Box 286
Kents Hill, ME 04349


Reading Hospital   Medical Center
Hawk Mountain Council 528
6th   Spruce St
West Reading, PA 19611


Reading Utd Methodist Church
Southern Shores Fsc 783
312 Michigan St
Reading, MI 49274


Readington Reformed Church
Washington Crossing Council 777
P.O. Box 1
124 Readington Rd
Readington, NJ 08870


Readlyn Volunteer Fire Dept
Winnebago Council, Bsa 173
119 Main St
Readlyn, IA 50668


Ready Refresh By Nestle
P.O. Box 856680
Louisville, KY 40285‐6680


Readymade
P.O. Box 37236
Boone, IA 50037‐4236


Reagan Martin
Address Redacted


Reagent Chemical    Research Inc
115 Rt 202/31 S
Ringoes, NJ 08551


Reagent Chemical   Research Inc
dba White Flyer
Lb 1543, P.O. Box 95000
Philadelphia, PA 19195‐0001


Reagent Chemical    Research, Inc
White Flyer Targets
Lb 1543, P.O. Box Box 95000
Philadelphia, PA 19195‐0001


Real Estate Economics
Orange County Council 039
905 Calle Amanecer
San Clemente, CA 92673


Real Estate Investment Advisors Inc
Three Fires Council 127
1S534 Taylor Rd
Glen Ellyn, IL 60137
Real Property Management     Maintenance
Crater Lake Council 491
539 G St, Ste 109
Eureka, CA 95501


Real Vnc Ltd
Betjeman House
104 Hills Rd
Cambridge, Cambs, Cb2 1Lq
United Kingdom


Realestate Masters, LLC
Las Vegas Area Council 328
1058 W Owens Ave
Las Vegas, NV 89106


Realife Media Inc
dba the Warehouse
1527 S Rogers St
Bloomington, IN 47403‐3573


Really Right Stuff
1146 Farmhouse Ln
San Luis Obispo, CA 93401


Reba Mabry
Address Redacted


Rebecca A Fisher
Address Redacted


Rebecca Alfred
Address Redacted


Rebecca Anne Rhule
Address Redacted


Rebecca Appollonia
Address Redacted
Rebecca Bashaw
Address Redacted


Rebecca Bieze
Address Redacted


Rebecca Claire Wallace
Address Redacted


Rebecca Clark
Address Redacted


Rebecca Clear
Address Redacted


Rebecca Curtis
Address Redacted


Rebecca Dawn Ramsey
Address Redacted


Rebecca Duffy
Address Redacted


Rebecca Ehrlich
Address Redacted


Rebecca Fields
Address Redacted


Rebecca French
Address Redacted


Rebecca Haley
Address Redacted
Rebecca Harvey
Address Redacted


Rebecca Hess
Address Redacted


Rebecca Hume
Address Redacted


Rebecca Hustead
Address Redacted


Rebecca J Atherton
Address Redacted


Rebecca K O Grady
Address Redacted


Rebecca Kawai
Address Redacted


Rebecca Kuykendall
Address Redacted


Rebecca L Ferguson
Address Redacted


Rebecca L Goughnour
Address Redacted


Rebecca L Morrison
Address Redacted


Rebecca L Ortega
Address Redacted


Rebecca Lewis
Address Redacted
Rebecca Long
Address Redacted


Rebecca M Creighton
Address Redacted


Rebecca M Estrella
Address Redacted


Rebecca Martinez
Address Redacted


Rebecca Morris
Address Redacted


Rebecca Mozeleski
Address Redacted


Rebecca Ornelas
Address Redacted


Rebecca Owensby
Address Redacted


Rebecca Painter Kuykendall
Address Redacted


Rebecca Palmer
Address Redacted


Rebecca Phillips
Address Redacted


Rebecca Rall
Address Redacted
Rebecca Ramsey
Address Redacted


Rebecca Rhule
Address Redacted


Rebecca S
P.O. Box 1778
Hurst, TX 76053


Rebecca Staley
Address Redacted


Rebecca Stout
Address Redacted


Rebecca Thomson
Address Redacted


Rebecca Treadway
Address Redacted


Rebecca Waid
Address Redacted


Rebecca White
Address Redacted


Rebecca Williams
Address Redacted


Rebecca Wimsatt
Address Redacted


Rebekah A Shorb
Address Redacted


Rebekah Florence
Address Redacted


Rebekah Havard
Address Redacted


Rebekah Lee Graham
Address Redacted


Rebekah Mefford
Address Redacted


Rebekah Snyder
Address Redacted


Rebenack, Aronow   Mascolo, LLP
Attn J Silvio Mascolo
re Plaintiff
111 Livingston Ave
New Brunswick, NJ 08901


Rebenack, Aronow, Mascolo, LLP
Attn Jay Silvio Mascolo
111 Livingston Ave
New Brunswick, NJ 08901


Rebl Enterprises LLC
550 S Mesa Hills Dr, Ste E4
El Paso, TX 79912


Rebl Enterprises LLC
dba Global Training Ctr
P.O. Box 221977
El Paso, TX 79913‐4977


Receiver General For Canada
66 Stapon Rd
Winnipeg, Mb R3C 3M2
Canada


Recinto Universitario De Mayaguez
Puerto Rico Council 661
Rectoria Rum
Mayaguez, PR 00680


Recognition Products International
8709 Brooks Dr, Unit 1A
Easton, MD 21601


Record Storage Systems
P.O. Box 7123
Charlotte, NC 28241‐7123


Records Hardware Inc
Records Ace Hardware
1124 S 2nd St
Raton, NM 87740


Recover Sports
dba Recover Brands
1518 Bryant St
Charlotte, NC 28208


Recreation Ctrs Grand Lodge Masons Mn
Northern Star Council 250
11501 Masonic Home Dr
Bloomington, Mn 55437


Recycle Equipment Rental, LLC
4330 W Green Tree Rd
Milwaukee, WI 53223


Red 7 Media
Division of Access Intelligence
10 Norden Park
Norwalk, CT 06855


Red Apple Charter Schools Usa
Gulf Stream Council 085
12031 Sern Blvd
Loxahatchee, FL 33470
Red Apple Charter Schs Usa
Palms W Charter
Gulf Stream Council 085
12031 Sern Blvd
Loxahatchee, Fl 33470


Red Bank Elementary Parents Club
Sequoia Council 027
1454 Locan Ave
Clovis, CA 93619


Red Bank Utd Methodist Church
Cherokee Area Council 556
3800 Dayton Blvd
Chattanooga, TN 37415


Red Bank Utd Methodist Church
Indian Waters Council 553
2909 Old Barnwell Rd
Lexington, SC 29073


Red Barn Bar‐B‐Que
4913 Colleyville Blvd
Colleyville, TX 76034


Red Bluff Chp
Golden Empire Council 047
2550 Main St
Red Bluff, CA 96080


Red Bluff Elks Lodge 1250
Golden Empire Council 047
P.O. Box 417
355 Gilmore Rd
Red Bluff, CA 96080


Red Bluff Rotary Club
Golden Empire Council 047
22500 Saron Fruit Colony Rd
Red Bluff, CA 96080


Red Books LLC
P.O. Box 1514
Summit, NJ 07902


Red Bridge School PTA
Heart of America Council 307
10781 Oak St
Kansas City, MO 64114


Red Budd Holy Church
East Carolina Council 426
637 Cleveland St
Rocky Mount, NC 27803


Red Clay Creek Presbyterian Church
Del Mar Va 081
500 Mckennans Church Rd
Wilmington, DE 19808


Red Cross Store
P.O. Box 791225
Baltimore, MD 21279‐1225


Red Dog Productions
48 Centennial Way
San Ramos, CA 94583


Red Eye Designs, Inc
305 Pit Rd
Mooresville, NC 28115


Red Gold Inc
Crossroads of America 160
120 E Oak St
Orestes, IN 46063


Red Hawk Fire   Security LLC
8601 President Pl Ne
Albuquerque, NM 87113


Red Hawk Fire   Security LLC
P.O. Box 650394
Dallas, TX 75265‐0394


Red Hill Lutheran Church
Orange County Council 039
13200 Red Hill Ave
Tustin, CA 92780


Red Honor Ventures Ltd
6636 Briar Cove Dr
Dallas, TX 75254


Red Honor Ventures Ltd
P.O. Box 166677
Irving, TX 75016


Red Hook Mail Store
6501 Red Hook Plz, Ste 201
St Thomas, VI 00802‐1373


Red Hook Rhinebeck Elks 2022
Hudson Valley Council 374
7711 Albany Post Rd
P.O. Box 337


Red Hot   Blue
1801 Royal Ln, Ste 915
Dallas, TX 75229


Red Ledge
685 Route 10 E
Randolph, NJ 07869


Red Lick Middle School
Caddo Area Council 584
3511 N Fm 2148
Texarkana, TX 75503


Red Medical Corp
320 Weber Dr, Unit 2
Geneseo, IL 61254
Red Medical Corp
dba Med Tech Sweden Inc
P.O. Box 7
Geneseo, IL 61254


Red Mountain Appraisal Services, LLC
116 S 2Nd
Raton, NM 87740


Red Oak Police Dept
Circle Ten Council 571
547 Methodist St
Red Oak, TX 75154


Red Oak Presbyterian Church
Mid‐America Council 326
511 W Coolbaugh St
Red Oak, IA 51566


Red Oak Utd Methodist Church
East Carolina Council 426
P.O. Box 66
Red Oak, NC 27868


Red Pants Alliance
Tukabatchee Area Council 005
125 Chennault Cir
Montgomery, AL 36112


Red River Anglers
P.O. Box 1038
Red River, NM 87558


Red River Ford Durant Boys     Girls Club
Circle Ten Council 571
415 N 5th Ave
Durant, OK 74701


Red River Paper Inc
8400 Dirs Row
Dallas, TX 75247
Red River Reformed Church
Northern Lights Council 429
607 9th St E
West Fargo, ND 58078


Red River Ski Area, Inc
P.O. Box 900
Red River, NM 87558‐0900


Red River Superintendents
Association Reg 5
P.O. Box 373
Burkburnett, TX 76354


Red River Tax Agency
P.O. Box 570
Coushatta, LA 71019‐0570


Red Rock Bees, LLC
Capitol Area Council 564
144 Spring Creek Dr
Cedar Creek, TX 78612


Red Rock Office Furniture
Denver Area Council 061
831 Timbervale Trl
Highlands Ranch, CO 80129


Red Rock Research Inc
14284 Elsbrook Cir
Draper, UT 84020


Red Rock Utd Methodist Church
Great Rivers Council 653
4760 W Squire Court Rd
Harrisburg, MO 65256


Red Rock Volunteer Fire
Nevada Area Council 329
16180 N Red Rock Rd
Reno, NV 89508


Red Rock Ward ‐ LDS Marana Stake
Catalina Council 011
13450 N Lon Adams Rd
Marana, AZ 85653


Red Rocks Ward
Denver Area Council 061
9227 W Dartmouth Pl
Lakewood, CO 80227


Red Rocks, Front Range
Denver Area Council 061
13206 W Green Mountain Dr
Lakewood, CO 80228


Red Smith School PTO
Bay‐Lakes Council 635
2765 Sussex Rd
Green Bay, WI 54311


Red Tail Surveying Inc
301 A Hinde St
Taos, NM 87571‐6654


Red Valley Utd Methodist Church
Blue Ridge Mtns Council 599
30 Red Valley Rd
Boones Mill, VA 24065


Red Wine Utd Methodist Church
Northeast Georgia Council 101
3285 Poplar Springs
Rd


Red Wing Brands Of America Inc
24062 Network Pl
Chicago, IL 60673‐1240


Red Wing Police Dept
Gamehaven 299
430 W 6th St
Red Wing, MN 55066


Red Wing Shoes
2542 N Beltline
Irving, TX 75062


Redbone Utd Methodist Church
Andrew Jackson Council 303
43 Burnt House Rd
Vicksburg, MS 39180


Redbook
Gift Order Processing
P.O. Box 6092
Harlan, IA 51593‐5592


Redding Elks Lodge 1073
Golden Empire Council 047
P.O. Box 994266
250 Elk Dr
Redding, CA 96099


Redding Host Lions Club
Golden Empire Council 047
2632 Brooch Ct
Redding, CA 96001


Redding Police Dept
Golden Empire Council 047
1313 California St
Redding, CA 96001


Reddy Mcclellanvfw Post 8789 ‐Bowie
Northwest Texas Council 587
707 E Nelson St
Bowie, TX 76230


Redeemer Church
Bay Area Council 574
18218 Hwy 6
Manvel, TX 77578


Redeemer Church
California Inland Empire Council 045
22434 Nisqually Rd
Apple Valley, CA 92308


Redeemer Church
Dan Beard Council, Bsa 438
3431 Hamilton Middletown Rd
Hamilton, OH 45011


Redeemer Community Church
Sam Houston Area Council 576
24201 Cinco Ranch Blvd
Katy, TX 77494


Redeemer Covenant Church
Indian Nations Council 488
5415 E 101st St
Tulsa, OK 74137


Redeemer Lutheran Church
Blackhawk Area 660
1320 Dean St
Woodstock, IL 60098


Redeemer Lutheran Church
Buckskin 617
1 Deerwalk Ln
Charleston, WV 25314


Redeemer Lutheran Church
Buckskin 617
116 Hickory Rd
Charleston, WV 25314


Redeemer Lutheran Church
Buffalo Trail Council 567
824 E 18th St
Odessa, TX 79761
Redeemer Lutheran Church
Capitol Area Council 564
1500 Anderson Ln
Austin, TX 78758


Redeemer Lutheran Church
Cherokee Area Council 469 469
3700 Woodland Rd
Bartlesville, OK 74006


Redeemer Lutheran Church
Chief Seattle Council 609
6001 Island Crest Way
Mercer Island, WA 98040


Redeemer Lutheran Church
Coronado Area Council 192
743 E Magnolia Rd
Salina, KS 67401


Redeemer Lutheran Church
Greater St Louis Area Council 312
1620 Boyd St
De Soto, MO 63020


Redeemer Lutheran Church
Gulf Stream Council 085
2450 SE Ocean Blvd
Stuart, FL 34996


Redeemer Lutheran Church
Heart of Virginia Council 602
9400 Redbridge Rd
North Chesterfield, VA 23236


Redeemer Lutheran Church
Illowa Council 133
1107 Tanglefoot Ln
Bettendorf, IA 52722


Redeemer Lutheran Church
Inland Nwest Council 611
3606 S Schafer Rd
Spokane Valley, WA 99206


Redeemer Lutheran Church
Longs Peak Council 062
7755 Greenstone Trl
Fort Collins, CO 80525


Redeemer Lutheran Church
National Capital Area Council 082
5120 Harrison Rd
Fredericksburg, VA 22408


Redeemer Lutheran Church
Northern Star Council 250
3770 Bellaire Ave
White Bear Lake, MN 55110


Redeemer Lutheran Church
Ozark Trails Council 306
1703 E State Route 72
Rolla, MO 65401


Redeemer Lutheran Church
Patriots Path Council 358
203 Eyland Ave
Succasunna, NJ 07876


Redeemer Lutheran Church
President Gerald R Ford 781
P.O. Box 184
Us 31 At Rogers Rd
Interlochen, MI 49643


Redeemer Lutheran Church
Tidewater Council 596
1901 Airline Blvd
Portsmouth, VA 23701


Redeemer Lutheran Church
Twin Valley Council Bsa 283
191 Water St
Alden, MN 56009


Redeemer Lutheran Church ‐ Elca
Bay‐Lakes Council 635
1808 Eern Ave
Plymouth, WI 53073


Redeemer Lutheran Church And School
Pacific Skyline Council 031
468 Grand St
Redwood City, CA 94062


Redeemer Lutheran Church/School
Great Trail 433
2141 5th St
Cuyahoga Falls, OH 44221


Redeemer S Utd Church Of Christ
New Birth of Freedom 544
107 E King St
Littlestown, PA 17340


Redeemer Utd Methodist Church
Water and Woods Council 782
13980 Schavey Rd
Dewitt, MI 48820


Redeemers Utd Church Of Christ
New Birth of Freedom 544
107 E King St
Littlestown, PA 17340


Redeeming Grace Church
National Capital Area Council 082
5200 Ox Rd
Fairfax, VA 22030


Redeeming Love Baptist Church
Occoneechee 421
3425 Rock Quarry Rd
Raleigh, NC 27610
Redemption Church
Grand Canyon Council 010
1820 W Elliot Rd
Gilbert, AZ 85233


Redemption Guard
Sam Houston Area Council 576
8126 Stoneyway Dr
Houston, TX 77040


Redemption Rock
Cape Cod and Islands Cncl 224
195 Meetinghouse Rd
South Chatham, MA 02659


Redemptorist Friends Of Scouting
Heart of America Council 307
3329 Charlotte St
Kansas City, MO 64109


Redemptorist Friends Of Scouting
Heart of America Council 307
3333 Broadway Blvd
Kansas City, MO 64111


Redesigning Minds
Baltimore Area Council 220
23 W Susquehanna Ave
Baltimore, MD 21204


Redfield American Legion Post 261
Mid Iowa Council 177
P.O. Box 304
Redfield, IA 50233


Redford Service Learning Academy
Great Lakes Fsc 272
21605 W 7 Mile Rd
Detroit, MI 48219
Redford Township Command Officers Assoc
Great Lakes Fsc 272
25833 Elsinore
Detroit, MI 48239


Redgate Films Inc
107 Seal Cove Ter
San Francisco, CA 94134


Red‐Gate Software Ltd
Newnham House, Cambridge Business Park
Cambridge, Cb4 0Wz
United Kingdom


Redis Labs Inc
Dept La 24728
Pasadena, CA 91185‐4728


Redis Labs, Inc,
700 E El Camino Real, Ste 250
Mountain View, CA 94040


Redland Utd Methodist Church
Shenandoah Area Council 598
6540 N Frederick Pike
Cross Junction, VA 22625


Redland Utd Methodist Church
Shenandoah Area Council 598
P.O. Box 605
Cross Junction, VA 22625


Redlands Fire Dept
California Inland Empire Council 045
35 Cajon St
Redlands, CA 92373


Redlands First Utd Methodist Church
California Inland Empire Council 045
1 E Olive Ave
Redlands, CA 92373
Redlands Police Dept
California Inland Empire Council 045
30 Cajon St
Redlands, CA 92373


Redlands Utd Methodist Church
Denver Area Council 061
527 Village Way
Grand Junction, CO 81507


Redlee/Scs Inc
10425 Olympic Dr
Dallas, TX 75220


Redmond Fire Dept
Chief Seattle Council 609
8450 161st Ave Ne
Redmond, WA 98052


Redmond Lions Club
Chief Seattle Council 609
16504 NE 80th St
P.O. Box 44
Redmond, WA 98073


Redmond Methodist Church
Chief Seattle Council 609
16540 NE 80th St
Redmond, WA 98052


Redmond Police Dept
Chief Seattle Council 609
8701 160th Ave Ne
Redmond, WA 98052


Redmond Presbyterian Church
Chief Seattle Council 609
10020 166th Ave Ne
Redmond, WA 98052


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160 Avenida Cabrillo
San Clemente, CA 92672


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1100 E Campbell Rd, Ste 210
Richardson , TX 75081


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Las Vegas Area Council 328
4970 W Charleston Blvd
Las Vegas, NV 89146


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Grand Canyon Council 010
P.O. Box 40518
Mesa, AZ 85274


Redstone Elementary PTO
Denver Area Council 061
9970 Glenstone Cir
Highlands Ranch, CO 80130


Redstone Foods
1434 Patton Pl, Ste 106
Carrollton, TX 75007


Redwater Jr High
Caddo Area Council 584
P.O. Box 347
Redwater, TX 75573


Redwater Utd Methodist Church
Caddo Area Council 584
P.O. Box 190
Redwater, TX 75573


Redwine Utd Methodist Church
Northeast Georgia Council 101
Poplar Springs Rd
Gainesville, GA 30501
Redwing Co Inc
419 Main St
Mount Hope, WV 25880


Redwood City Police Officers Assoc
Pacific Skyline Council 031
1301 Maple St
Redwood City, CA 94063


Redwood Empire
1000 Apollo Way
Santa Rosa, CA 95407


Redwood Empire Cncl 41
1000 Apollo Way, Ste 106
Santa Rosa, CA 95407‐5442


Redwood Empire Lions Club
Redwood Empire Council 041
2293 Rancheria Rd
Redwood Valley, CA 95470


Redwood Mutual Water Co
Silicon Valley Monterey Bay 055
P.O. Box 591
Redwood Estates, CA 95044


Redwood Outdoor Committee
Pacific Skyline Council 031
1150 Chess Dr
Foster City, CA 94404


Redwood Safety Assoc
Crater Lake Council 491
P.O. Box 36
Grants Pass, OR 97528


Redwood Utd Methodist Church
Blue Ridge Mtns Council 599
3001 Old Franklin Tpke
Rocky Mount, VA 24151
Redwood Valley Calpella Fire District
Redwood Empire Council 041
8481 E Rd
Redwood Valley, CA 95470


Redwoods Presbyterian Church
Marin Council 035
110 Magnolia Ave
Larkspur, CA 94939


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3731 SW 47th Ave, Ste 403
Davie, FL 33314


Reece Pump Service
4547 Green Valley Rd
Peterstown, WV 24963


Reece Supply Co Of Dallas
P.O. Box 565545
Dallas, TX 75356‐5545


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Reed Bordeaux
Address Redacted


Reed City Scout Center Board Inc
President Gerald R Ford 781
225 E 5th Ave
Reed City, MI 49677


Reed Exhibitious
383 Main Ave
Norwalk, CT 06851


Reed H Jones
Address Redacted
Reed School Assoc
Greater St Louis Area Council 312
9060 Ladue Rd
Saint Louis, MO 63124


Reed Wallace
Address Redacted


Reedley Elks Lodge 2699
Sequoia Council 027
756 F St
Reedley, CA 93654


Reedley Elks Lodge 2699
Sequoia Council 027
P.O. Box 757
Reedley, CA 93654


Reedley Fire Dept
Sequoia Council 027
1060 D St
Reedley, CA 93654


Reedley Lions Club
Sequoia Council 027
P.O. Box 41
Reedley, CA 93654


Reedley Police Dept
Sequoia Council 027
843 G St
Reedley, CA 93654


Reeds Of Columbus
2013 Hwy 45 N
Columbus, MS 39701


Reedsport Rotary Club
Oregon Trail Council 697
P.O. Box 91
Reedsport, OR 97467
Reedsville Utd Methodist Church
Juniata Valley Council 497
S Logan St
Reedsville, PA 17084


Reedsville Utd Methodist Church
Mountaineer Area 615
106 S Robert Stone Way
Reedsville, WV 26547


Reedsville Utd Methodist Church
Mountaineer Area 615
P.O. Box 403
Reedsville, WV 26547


Reedurban Presbyterian Church
Buckeye Council 436
1145 Perry Dr Nw
Canton, OH 44708


Reedville Presbyterian Church
Cascade Pacific Council 492
2785 SW 209th Ave
Beaverton, OR 97003


Reedy Fork Baptist Church
Blue Ridge Council 551
3115 Fork Shoals Rd
Simpsonville, SC 29680


Reedy Fork Baptist Church
Blue Ridge Council 551
3115 Fork Shoals Rd
Pack   Troop 701
Simpsonville, SC 29680


Reef Environmental Edu Foundtn
98300 Overseas Hwy
Key Largo, FL 33037
Reef Environmental Edu Foundtn
P.O. Box 370246
Key Largo, FL 33037


Reef Waterworks Co
3900 Overseas Hwy
Marathon, FL 33050


Reef Waterworks Co
3901 Overseas Hwy
Marathon, FL 33050


Reelsville Volunteer Fire Dept
Crossroads of America 160
7748 S County Rd 550 W
Reelsville, IN 46171


Reem Okar
Address Redacted


Rees Falkner
Address Redacted


Reese Borowiak
Address Redacted


Reese Gregory
Address Redacted


Reeths Puffer Elementary PTO
President Gerald R Ford 781
874 E Giles Rd
Muskegon, MI 49445


Reeve Store Equipment Co
9131 Bermudez St
Pico Rivera, CA 90660


Reeves Co Inc
P.O. Box 509
Attleboro, MA 02703‐0009


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211 US Hwy 175
Eustace, TX 75124


Reflections Of Christ Kingdom
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7401 Gulf Fwy
Houston, TX 77017


Reformation Evangelical Lutheran
Church Reiffton
3670 Perkiomen Ave
Reading, PA 19606


Reformation Evangelical Lutheran Church
Cradle of Liberty Council 525
102 W Rose Tree Rd
Media, PA 19063


Reformation Lutheran Church
Greater Tampa Bay Area 089
460 Old Polk City Rd
Lakeland, FL 33809


Reformation Lutheran Church
Hawk Mountain Council 528
3670 Perkiomen Ave
Reading, PA 19606


Reformed Church In Brielle
Monmouth Council, Bsa 347
821 Riverview Dr
Brielle, NJ 08730


Reformed Church Of Bronxville
Westchester Putnam 388
180 Pondfield Rd
Bronxville, NY 10708
Reformed Church Of Huguenot Park
Greater New York Councils, Bsa 640
5501 Amboy Rd
Staten Island, NY 10312


Reformed Church Of Kinnelon
Patriots Path Council 358
155 Kinnelon Rd
Kinnelon, NJ 07405


Reformed Church Of Oradell
Northern New Jersey Council, Bsa 333
641 Church St
Oradell, NJ 07649


Reformed Church Of Port Ewen
Rip Van Winkle Council 405
P.O. Box 580
Port Ewen, NY 12466


Reformed Church Of South Bound Brook
Patriots Path Council 358
Main and Clinton St
South Bound Brook, NJ 08880


Reformed Church Of The Ascension, Ucc
Cradle of Liberty Council 525
1700 W Main St
Jeffersonville, PA 19403


Reformed Presbyterian Church
Hudson Valley Council 374
469 Coldenham Rd
Walden, NY 12586


Refreshment Services Inc
3400 Solar Ave
Springfield, IL 62707


Refreshment Svcs Pepsi
3400 Solar Ave
Springfield, IL 62707


Regalia Manufacturing
2018 4th Ave
P.O. Box 4448
Rock Island, IL 61204‐4448


Regan Jorgensen
Address Redacted


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9261 Jordan Ave
Chatsworth, CA 91311


Regency Enterprises Inc
dba Regency Lighting
P.O. Box 102193
Pasadena, CA 91189‐2193


Regency Park Apartments
Chester County Council 539
403 Victoria Dr
Coatesville, PA 19320


Regency Place PTO
Heart of America Council 307
13250 S Greenwood St
Olathe, KS 66062


Regenerating Solutions Inc
Housatonic Council, Bsa 069
338 Commerce Dr
Fairfield, CT 06825


Regent Management S R L
Via Gesu 6/8
Milan, 20121
Italy


Regents Of The University Of
Michigan Exec Education
Um Ross‐Ee 710 E University 4th Fl
Ann Arbor, MI 48109‐1234


Regents School Of Austin
Capitol Area Council 564
3230 Travis Country Cir
Austin, TX 78735


Regester Chapel Utd Methodist Men
National Capital Area Council 082
P.O. Box 697
85 Bells Hill Rd


Reggie Cahoon
Address Redacted


Reggie Hatch Foxon Community Center
Connecticut Yankee Council Bsa 072
1380 N High St
New Haven, CT 06512


Regina Davis
Address Redacted


Regina Education Center
Hawkeye Area Council 172
2140 Rochester Ave
Iowa City, IA 52245


Regina Elementary School
Hawkeye Area Council 172
2140 Rochester Ave
Iowa City, IA 52245


Regina Fischietto
Address Redacted


Regina Gervin
Address Redacted
Regina Haynes
Address Redacted


Regina Hernandez
Address Redacted


Regina Jeffries
Address Redacted


Regina Loomis
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Regina M Walker
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Regina Marich
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Regina Mckinney
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Regina Mcteague
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Regina Rainey
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Regina Rankin
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Regina Reid
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Regina Rigdon
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Regina Welling
Address Redacted
Reginal Nelson
Address Redacted


Reginald Chong
Address Redacted


Reginald Graham
Address Redacted


Reginald Grant
Address Redacted


Reginald Hawkins
Address Redacted


Reginald Knight
Address Redacted


Reginald Thompson
Address Redacted


Region 5 Education Service Center
350 Pine St, Ste 500
Beaumont, TX 77701


Region Iii Education Service Center
Accounts Receivable
1905 Leary Ln
Victoria, TX 77901‐2899


Region One Education Service Center
1900 W Schunior
Edinburg, TX 78541


Regions Bank
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Dallas, TX 75247
Regis Catholic Schools
Chippewa Valley Council 637
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Eau Claire, WI 54701


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Registration Service
Boy Scouts of America
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Irving, TX 75015‐2079


Rehoboth Baptist Church
National Capital Area Council 082
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Washington, DC 20032


Rehoboth Congregational Church
Narragansett 546
139 Bay State Rd
Rehoboth, MA 02769


Rehoboth Evangelical Lutheran Church
Laurel Highlands Council 527
2800 Conway Wallrose Rd
Baden, PA 15005


Rehoboth Presbyterian Church
Laurel Highlands Council 527
442 Rehoboth Rd
Belle Vernon, PA 15012


Rehoboth Utd Church
Indian Waters Council 553
3420 N Beltline Blvd
Columbia, SC 29204


Rehoboth Utd Methodist Church
Middle Tennessee Council 560
2601 Cages Bend Rd
Gallatin, TN 37066


Rehrersburg Lions Club
Hawk Mountain Council 528
Teen Challenge Rd
Rehrersburg, PA 19550


Rei
1700 45th St E
Sumner, WA 98352


Rei Corporate    Group Sales
1700 45th St E
Sumner, WA 98390


Reichard   Escalera
P.O. Box 364148
San Juan, PR 00936‐4148


Reichert House
North Florida Council 087
P.O. Box 1250
1704 SE 2nd Ave
Gainesville, FL 32641


Reid Chapel Ame Church
Indian Waters Council 553
704 Gabriel St
Columbia, SC 29203


Reid Cranmer
Address Redacted


Reid Hall
Address Redacted


Reid Health
Crossroads of America 160
1100 Reid Pkwy
Richmond, IN 47374


Reid Lemons
Address Redacted


Reid Park Academy
Mecklenburg County Council 415
4108 W Tyvola Rd
Charlotte, NC 28208


Reid Temple Ame Church
National Capital Area Council 082
11400 Glenn Dale Blvd
Glenn Dale, MD 20769


Reid Wersal
Address Redacted


Reidland Utd Methodist Church
Lincoln Heritage Council 205
5515 Reidland Rd
Paducah, KY 42003


Reidsville Fire And Rescue Services
Old N State Council 070
402 S Scales St
Reidsville, NC 27320


Reina J Arguello
Address Redacted


Reina L Owecke
Address Redacted


Reinald Lloyd
Address Redacted


Reinaldo Esteban Usher   His Attorneys
O Donnell Clark   Crew LLP
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Reinhart Boerner Van Deuren Sc
P.O. Box 2965
Milwaukee, WI 53201‐2965


Reinhart Retail Group
Attn Mary Ann Duncan
P.O. Box 2228
Lacrosse, WI 54602‐2228


Rejoice In The Lord Ministry
Central Florida Council 083
8053 Gilliam Rd
Apopka, FL 32703


Rejoice Lutheran Church
Circle Ten Council 571
12000 Independence Pkwy
Frisco, TX 75035


Rejoice Lutheran Church
Circle Ten Council 571
532 E Sandy Lake Rd
Coppell, TX 75019


Relational Technology Services
28214 Network Pl
Chicago, IL 60673‐1282


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Pittsburgh, PA 15251‐4989


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Atlanta, GA 30348‐5529


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Mesa, AZ 85204‐6622


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Wichita, KS 67215


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Charlotte, NC 28211


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dba Avis Rent A Car
1557 S University Dr
Fargo, ND 58103


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P.O. Box 66512
Chicago, IL 60666‐0512


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10817 W County Rd 60
Midland, TX 79707‐9017


Religion Newswriters Assoc
University of Missouri
30 Neff Annex
Columbia, MO 65211


Religious Ministries Directorate
California Inland Empire Council 045
P.O. Box 788100
Twentynine Palms, CA 92278


Relish Studio, LLC
516 S Beaver Creek Rd
Black Hawk, CO 80422


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P.O. Box 733106
Dallas, TX 75373‐3106


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121 Broadway
Dover, NH 03820


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6255 210th St No
Forest Lake, MN 55025


Remember The Miners.Org
P.O. Box 330
Morgantown, WV 26507


Remembrance Ranch
President Gerald R Ford 781
P.O. Box 113
Allendale, MI 49401


Remington Arms Co LLC
P.O. Box 503810
Saint Louis, MO 63150‐3810


Remington Arms Co, Inc
P.O. Box 503810
St Louis, MO 63150‐3810


Remington Outdoor Co Inc
dba Remington Arms Co LLC
P.O. Box 700, 870 Remington Dr
Madison, NC 27025
Remington School PTO
Greater St Louis Area Council 312
102 Fee Fee Rd
Maryland Heights, MO 63043


Remington Volunteer Fire Dept
National Capital Area Council 082
200 E Marshall St
Remington, VA 22734


Remsen Elementary
Leatherstocking 400
P.O. Box 406
Remsen, NY 13438


Rena Moore
Address Redacted


Rena Stinner
Address Redacted


Renaissance Academy Charter Sch, Arts
Seneca Waterways 397
299 Kirk Rd
Rochester, Ny 14612


Renaissance Charlotte Suites Hotel
2800 Coliseum Centre Dr
Charlotte, NC 28217


Renaissance Chicago North Shore
Us Las Colinas Ltd Partnership
933 Skokie Blvd
Northbrook, IL 60062‐4004


Renaissance Elementary PTA
Atlanta Area Council 092
7250 Hall Rd
Fairburn, GA 30213
Renaissance Paris Vendome Hotel
4 Rue Du Mont Thabor
Paris, 75001
France


Renaissance Realty Svcs
Dba Renaissance Prop
Istrouma Area Council 211
7181 Edgewater Dr
Mandeville, La 70471


Renaissance Suites
500 Flatiron Blvd
Broomfield, CO 80021


Renaissance Tampa International Plaza
Renaissance Hotel Management Co LLC
4200 Jim Walter Blvd
Tampa, FL 33607‐5778


Renaissance Washington Dc
999 9th St Nw
Washington, DC 20001‐4427


Renaissance West Community Initiative
Mecklenburg County Council 415
3610 Noles Ave
Charlotte, NC 28208


Rendon Fire Dept
Longhorn Council 662
12330 Rendon Rd
Burleson, TX 76028


Rene Hanson
Address Redacted


Rene Maes Jr
Address Redacted


Rene Monarez
Address Redacted


Renee Evans
Address Redacted


Renee Brooks‐Fairrer
Address Redacted


Renee Cordes
Address Redacted


Renee Cosme
Address Redacted


Renee Daniels
Address Redacted


Renee E Cleghorn
Address Redacted


Renee Forrest
Address Redacted


Renee Gillespie
Address Redacted


Renee Karas
Address Redacted


Renee Mcmanus
Address Redacted


Renee Parker
Address Redacted


Renee Sweet
Address Redacted
Renee Wagner
Address Redacted


Renegade Productions Inc
10950 Gilroy Rd, Ste J
Hunt Valley, MD 21031


Renekers Sports Shop Inc
618 N Detroit
Warsaw, IN 46580


Renetta Moses
Address Redacted


Renewable World Energies
Bay‐Lakes Council 635
100 N State St
Neshkoro, WI 54960


Renfrew Baptist Church
Blue Ridge Council 551
951 Geer Hwy
Travelers Rest, SC 29690


Renick PTO
Great Rivers Council 653
101 Middle St
Renick, MO 65278


Renick PTO
Great Rivers Council 653
P.O. Box 37
Renick, MO 65278


Rennell Elementary PTO
Sam Houston Area Council 576
17411 Prospect Meadows Dr
Houston, TX 77095


Rennerdale Up Church
Laurel Highlands Council 527
151 Noblestown Rd
Carnegie, PA 15106


Reno Airport Lodging Inc
dba Hyatt Pl Reno Tahoe Airport
1790 E Plumb Ln
Reno, NV 89502


Reno Elks Lodge 597
Nevada Area Council 329
597 Kumle Ln
Reno, NV 89509


Reno Plumb Lane Lion S Club
Nevada Area Council 329
1165 Crown Dr
Reno, NV 89503


Reno Sunrise Rotary Club
Nevada Area Council 329
P.O. Box 11456
Reno, NV 89510


Rensselaer Polytechnic Institute
Attn Student Payment Processing Center
P.O. Box 33317
Hartford, CT 06150‐3317


Rensselaer Polytechnic Institute
Office of Financial Aid
110 8th St, Academy Hall
Troy, NY 12180‐3590


Rent My Wedding LLC
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Miami Gardens, FL 33169


Rental Solutions   Events Lcc
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Eldersburg, MD 21784
Rent‐A‐Pc Inc
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Audio Visual Rentals
265 Oser Ave
Hauppauge, NY 11788


Rentokil North America Inc
1125 E Berkshire Blvd, Ste 150
Reading, PA 19610


Rentokil North America Inc
dba Presto X
P.O. Box 13848
Reading, PA 19612‐3848


Renton 1St Utd Methodist Church
Chief Seattle Council 609
P.O. Box 2455
Renton, WA 98056


Renton Fire   Emergency Services
Chief Seattle Council 609
1055 S Grady Way
Renton, WA 98057


Renville Lions Club
Northern Star Council 250
P.O. Box 520
Renville, MN 56284


Renzo Martorella
Address Redacted


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Carrollton, TX 75006


Republic Business Credit, LLC
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Dallas, TX 75320‐3152
Republic Police Dept
Ozark Trails Council 306
540 Civic Blvd
Republic, MO 65738


Republic Services 694
12820 Cumminsville Rd
Pimento, IN 47866


Republic Services 742
P.O. Box 9001099
Louisville, KY 40290‐1099


Republic Services Inc 394
P.O. Box 9001099
Louisville, KY 40290‐1099


Republic Services Of Colorado
P.O. Box 1186
Commerce City, CO 80022


Republic Services, Inc
3358 Hwy 51 N.
Fort Mill, SC 29715


Republic Services, Inc 794
P.O. Box 78829
Phoenix, AZ 85062‐8829


Republic Utd Church Of Christ
Black Swamp Area Council 449
312 S Madison St
Republic, OH 44867


Republic Waste Services
P.O. Box 9001813
Louisville, KY 40290‐1813


Republic Waste Services, Inc
P.O. Box 9001831
Louisville, KY 40290‐1831


Resa ‐ 1
Attn Public Service Tng
400 Neville St
Beckley, WV 25801


Rescue A Golden
P.O. Box 71987
Phoenix, AZ 85050


Rescue Source
P.O. Box 1050
Wilton, CA 95693


Rescue Volunteer Fire Assoc
Golden Empire Council 047
3093 Royce Dr
Larry Smith 677‐4627 Home
Rescue, CA 95672


Rescue, Inc
Green Mountain 592
541 Canal St
Brattleboro, VT 05301


Research In Motion Corp
12432 Collections Ctr Dr
Chicago, IL 60693


Reserection Lutheran Church
Laurel Highlands Council 527
7600 Steubenville Pike
Oakdale, PA 15071


Reserva Nacl De Investigacion Estuarina
Puerto Rico Council 661
P.O. Box 159
Aguirre, Pr 00704
Reserve Account
P.O. Box 223648
500 Ross St, Ste 154‐0460
Pittsburgh, PA 15262‐0001


Reserve Account
P.O. Box 856056
Louisville, KY 40285‐6056


Reserve Enlisted Training Corps
Long Beach Area Council 032
3342 Druid Ln
Rossmoor, CA 90720


Reserve Hose Fire Co
Greater Niagara Frontier Council 380
2400 Berg Rd
West Seneca, NY 14218


Reservoir Park
Great Trail 433
1735 Hillside Ter
Akron, OH 44305


Residence Inn By Marriott
60 Towne Centre Blvd
Fredericksburg, VA 22407


Residence Inn Uptown Charlotte
404 S Mint St
Charlotte, NC 28202


Residents Of Rio Rico
Catalina Council 011
1332 Avenida Gutierrez
Rio Rico, AZ 85648


Resource Accounting
P.O. Box 934367
Atlanta, GA 31193‐4367
Resource Center
Allegheny Highlands Council 382
200 Dunham Ave
Jamestown, NY 14701


Resource Mfg
P.O. Box 951859
Dallas, TX 75395‐1859


Respetable Logia Sol De Oriente 40
Puerto Rico Council 661
P.O. Box 126
Utuado, PR 00641


Ressurection Lutheran Church
President Gerald R Ford 781
180 Nland Dr
Sand Lake, MI 49343


Restaurant Assoc
Longwood Gardens
P.O. Box 501
Kennett Square, PA 19348


Restaurant Assoc LLC
2400 Yorkmont Rd
Charlotte, NC 28217


Restaurant Assoc LLC
P.O. Box 23277
Washington, DC 20026


Restaurant Assoc LLC
P.O. Box 417632
Boston, MA 02241‐7632


Restaurant Depot
2151 Irving Blvd
Dallas, TX 75207‐6503


Reston Lions Charities Inc
National Capital Area Council 082
13355 Misty Dawn Dr
Herndon, VA 20171


Restoration Church
Andrew Jackson Council 303
2136 Hwy 49S
Florence, MS 39073


Restoration Church
Pikes Peak Council 060
9355 Peaceful Valley Rd
Colorado Springs, CO 80925


Restore Church
Mid Iowa Council 177
134 E Main St, Ste 2
Marshalltown, IA 50158


Resurrection Catholic Church
Bay‐Lakes Council 635
333 Hilltop Dr
Green Bay, WI 54301


Resurrection Catholic Church
Buffalo Trace 156
5301 New Harmony Rd
Evansville, IN 47720


Resurrection Catholic Church
North Florida Council 087
3383 University Blvd N
Jacksonville, FL 32277


Resurrection Catholic Church
Northeast Iowa Council 178
4300 Asbury Rd
Dubuque, IA 52002


Resurrection Catholic Church
Three Fires Council 127
30W350 Army Trail Rd
Wayne, IL 60184


Resurrection Catholic Parish
Cascade Pacific Council 492
21060 SW Stafford Rd
Tualatin, OR 97062


Resurrection Catholic School
Sam Houston Area Council 576
916 Majestic St
Houston, TX 77020


Resurrection Catholic School PTO
Pine Burr Area Council 304
3704 Quinn Dr
Pascagoula, MS 39581


Resurrection Church
Grand Columbia Council 614
704 Schooley Rd
Zillah, WA 98953


Resurrection Episcopal Church
Alamo Area Council 583
5909 Walzem Rd
Windcrest, TX 78218


Resurrection Episcopal Church
North Florida Council 087
12355 Fort Caroline Rd
Jacksonville, FL 32225


Resurrection Episcopal Church
Northeast Georgia Council 101
1755 Duncan Bridge Rd
Sautee Nacoochee, GA 30571


Resurrection Evangelical Lutheran Church
National Capital Area Council 082
6201 Washington Blvd
Arlington, VA 22205
Resurrection Evangelical Lutheran Church
Simon Kenton Council 441
3500 Main St
Hilliard, OH 43026


Resurrection Life Ministries
Pine Burr Area Council 304
P.O. Box 1939
Picayune, MS 39466


Resurrection Life Of Midland
Water and Woods Council 782
1849 S Poseyville Rd
Midland, MI 48640


Resurrection Lutheran
Circle Ten Council 571
1919 Independence Pkwy
Plano, TX 75075


Resurrection Lutheran Ch
Cameron Commty Club
Indian Waters Council 553
224 Winding Brook Dr
Cameron, Sc 29030


Resurrection Lutheran Chruch
Last Frontier Council 480
675 W Vandament Ave
Yukon, OK 73099


Resurrection Lutheran Church
Catalina Council 011
11575 N 1st Ave
Oro Valley, AZ 85737


Resurrection Lutheran Church
Circle Ten Council 571
1919 Independence Pkwy
Plano, TX 75075
Resurrection Lutheran Church
Crossroads of America 160
445 E Stop 11 Rd
Indianapolis, IN 46227


Resurrection Lutheran Church
Flint River Council 095
1250 Lora Smith Rd
Newnan, GA 30265


Resurrection Lutheran Church
Great Alaska Council 610
740 W 10th St
Juneau, AK 99801


Resurrection Lutheran Church
Greater St Louis Area Council 312
1211 Homer Adams Pkwy
Godfrey, IL 62035


Resurrection Lutheran Church
President Gerald R Ford 781
180 S 3rd St
Sand Lake, MI 49343


Resurrection Lutheran Church
Simon Kenton Council 441
3500 Main St
Hilliard, OH 43026


Resurrection Ministries
Mt Diablo‐Silverado Council 023
1275 Fairview Ave
Brentwood, CA 94513


Resurrection Of Our Lord Catholic Church
Southeast Louisiana Council 214
9701 Hammond St
New Orleans, LA 70127


Resurrection Of Our Lord Rom Cath Church
Cradle of Liberty Council 525
2000 Shelmire Ave
Philadelphia, PA 19152


Resurrection Orthodox Church
San Francisco Bay Area Council 028
20104 Center St
Castro Valley, CA 94546


Resurrection Parish
Buckeye Council 436
2600 Lexington Ave
Mansfield, OH 44904


Resurrection Parish
Mayflower Council 251
1057 Main St
Hingham, MA 02043


Resurrection Roman Catholic Church
Greater New York Councils, Bsa 640
2305 Gerritsen Ave
Brooklyn, NY 11229


Resurrection Roman Catholic Church
Greater New York Councils, Bsa 640
2331 Gerritsen Ave
Brooklyn, NY 11229


Resurrection Utd Methodist Church
Tidewater Council 596
1322 Centerville Tpke N
Chesapeake, VA 23320


Resurrection‐St Paul School
Baltimore Area Council 220
3155 Paulskirk Dr
Ellicott City, MD 21042


Retail Dimensions Inc
4905 Sw Griffith Dr
Beaverton, OR 97005
Retail Fixture Solutions Inc
1535 W Hwy 287 Bypass, Ste D
Waxahachie, TX 75165


Retail Industry Leaders Assoc
P.O. Box 418421
Boston, MA 02241‐8421


Retail Information Systems
2555 Whollow DR
Houston , TX 77082


Retail Information Systems
dba Linked Retail
2555 Whollow Dr
Houston, TX 77082


Retail Service Co Inc
2108 W Broadway, Unit A
South Portland, ME 04106


Retail Technologies Corp
975 Cobb Pl Blvd, Ste 213
Kennesaw, GA 30144


Rethink Workflow, Inc
3431 Mayhill Ct
Arlington , TX 76014


Reuben Self Bible Class First Methodist
Greater Alabama Council 001
109 Gayle Ave Sw
Jacksonville, AL 36265


Rev James Rogan Council
1816 Knights Of Columbus
Suffolk County Council Inc 404
62 Carleton Ave
Central Islip, Ny 11722
Reva P Willms
Address Redacted


Reva Willms
Address Redacted


Reveille Lions
Golden Empire Council 047
P.O. Box 489
Woodland, CA 95776


Reveille Utd Methodist Church
Heart of Virginia Council 602
4200 Cary St Rd
Richmond, VA 23221


Revell, Inc
P.O. Box 9021
Champion, IL 61826‐9021


Revels Turf And Tractor, LLC
2217 N Main St
Fuquay‐Varina, NC 27526


Revolution Booksellers
60 Winter St
Exeter, NH 03833


Revolution Church Of Kentucky Umc
Lincoln Heritage Council 205
10100 Bluegrass Pkwy
Louisville, KY 40299


Rex Air
P.O. Box 239
Tavernier, FL 33070


Rex Direct Net, Inc
100 Springdale Rd A3 253
Cherry Hill, NJ 08003
Rex Starr
Address Redacted


Rex Three
15431 SW 14th St
Sunrise, FL 33326


Rex W Tillerson
Address Redacted


Rexa Moffett
Address Redacted


Rex‐Bac‐T Technologies
P.O. Box 661
Cumming, GA 30028


Reyna Jeannet Michaels
Address Redacted


Reyna M Myers
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Reyna Michaels
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Reynaldo Barrientes
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Reynaldo Galindo Ii
Address Redacted


Reynaldo Mirano
Address Redacted


Reynolds Advanced Materials
3406 Green Park Cir
Charlotte, NC 28217
Reynolds Memorial Baptist Church
Shenandoah Area Council 598
P.O. Box 208
Sperryville, VA 22740


Reynolds Vfw Post 7599
French Creek Council 532
115 Edgewood Dr Ext
Transfer, PA 16154


Reynoldsburg Vfw Post 9473
Simon Kenton Council 441
1420 Waggoner Rd
Reynoldsburg, OH 43068


Rezan S At Wood Mountain
Eznh LLC c/o Rezan Nese
511 Pea Ridge Rd
Oak Hill, WV 25901‐9422


Rezstream
3801 E Florida Ave, Ste 800
Denver, CO 80210


Rezstream
3801 E FLorida Ave, Ste 800
Denver, NM 80210


Rf School Bus Parts Inc
510 W 37th St
Hialeah, FL 33012


Rg Barry Corp
Dept L 3059
Columus, OH 43260‐3059


Rg Berry Corp
P.O. Box 129
Columbus, OH 43216
Rg Mechanical Services Corp
P.O. Box 1575
Tavernier, FL 33070


Rgv Stx Management Group LLC
Rio Grande Council 775
P.O. Box 532620
Harlingen, TX 78553


Rgv Youth Preparedness
Rio Grande Council 775
1729 W Adelita St
Weslaco, TX 78599


Rha Rockingham Housing Authority
Central N Carolina Council 416
P.O. Box 160
Rockingham, NC 28380


Rhawnhurst Presbyterian Church
Cradle of Liberty Council 525
Loretto Ave And
Lansing St
Philadelphia, PA 19111


Rhe Hatco Inc
Dept 10375, P.O. Box 87618
Chicago, IL 60680‐0618


Rhea Central Elementary School
Cherokee Area Council 556
1005 Delaware Ave
Dayton, TN 37321


Rhea Kerkera
Address Redacted


Rhema Christian Center
Simon Kenton Council 441
2100 Agler Rd
Columbus, OH 43224
Rhett B Williams
Address Redacted


Rhett Stevens
Address Redacted


Rhianna Mack C/O Mary Collins Agency
2909 Cole Ave, Ste 250
Dallas, TX 75204


Rhiannon K Nelson
Address Redacted


Rhinelander Partners In Education
Samoset Council, Bsa 627
665 Coolidge Ave
Rhinelander, WI 54501


Rhoda Clayton
Address Redacted


Rhode Island Dept Of Attorney General
3600 Forest Dr, 3rd Fl
P.O. Box 5757
Columbia, SC 29250‐5757


Rhode Island Dept Of Bus Regulation
Securities Div
1511 Pontiac Ave
Cranston, RI 02020


Rhode Island Dept Of State
Business Services
148 W River St
Providence, RI 02904


Rhode Island State Attorneys General
150 S Main St
Providence, RI 02903
Rhode Island Textile Co
P.O. Box 999
Pawtucket, RI 02862‐0999


Rhodes Retail Services Inc
9631 Elk Grove Florin Rd
Elk Grove, CA 95624


Rhodes State College
Black Swamp Area Council 449
4240 Campus Dr
Lima, OH 45804


Rhonda Brncic
Address Redacted


Rhonda Campbell
Address Redacted


Rhonda Clingman Elementary
Old Hickory Council 427
316 Ronda Clingman School Rd
Ronda, NC 28670


Rhonda E Kilburn
Address Redacted


Rhonda Foupht
Address Redacted


Rhonda Leavy
Address Redacted


Rhonda Longfellow
Address Redacted


Rhonda Schwartz
Address Redacted
Rhonda Shaw
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Rhonda Snider
Address Redacted


Rhonda Sue Williams
Address Redacted


Rhonda Switzer
Address Redacted


Rhonda Taylor
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Rhonda Walts
Address Redacted


Rhonda Williams
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Rhonda Y Devaney
Address Redacted


Rhs Robotics Booster Club
1250 W Belt Line Rd
Richardson, TX 75080


Rhyan Preyer
Address Redacted


Rhyne Heights Methodist Church
Piedmont Council 420
520 Madison St
Lincolnton, NC 28092


Rhyne Heights Utd Methodist Church
Piedmont Council 420
520 Madison St
Lincolnton, NC 28092


Rhys Alexander Davis
Address Redacted


Ri Appraisals
Utah National Parks 591
70 E Stoney Hill Rd
Washington, UT 84780


Ria Group
P.O. Box 6159
Carol Stream, IL 60197‐6159


Rialto Academy LLC
10005 Michael Dale
Austin, TX 78736


Rialto Fire Dept
California Inland Empire Council 045
131 S Willow Ave
Rialto, CA 92376


Rialto Police Dept
California Inland Empire Council 045
128 N Willow Ave
Rialto, CA 92376


Rialto Utd Methodist Church
California Inland Empire Council 045
1230 N Lilac Ave
Rialto, CA 92376


Rib Mountain PTO
Samoset Council, Bsa 627
2701 Robin Ln
Wausau, WI 54401


Rib Mountian Lions Club
Samoset Council, Bsa 627
P.O. Box 5114
Wausau, WI 54402


Ribbon Warehouse Inc
44 S 1st St
New Hyde Park, NY 11040


Ric Spiegel C/O Mary Collins Agency
2909 Cole Ave, Ste 250
Dallas, TX 75204


Ricardo Martinez
Address Redacted


Ricardo Ortiz
Address Redacted


Ricardo Vargas
Address Redacted


Rice Lake Area Schools
700 Augusta St
Rice Lake, WI 54868


Rice Lake Harley‐Davidson
Chippewa Valley Council 637
2801 S Wisconsin Ave
Rice Lake, WI 54868


Rice University
Attn Office of Financial Aid ‐ Ms12
P.O. Box 1892
Houston, TX 77251‐1892


Rice University
School of Continuing Studies
Ms 550‐6100 Main St
Houston, TX 77005
Rices Landing Vol Fire Dept
Laurel Highlands Council 527
P.O. Box 6
66 Bayard Ave
Rices Landing, PA 15357


Rich Charfauros
Address Redacted


Rich Hill Utd Methodist Church
Heart of America Council 307
221 E Park Ave
Rich Hill, MO 64779


Rich Hill Youth Development Center
Heart of America Council 307
501 N 14th St
Rich Hill, MO 64779


Rich Real Estate Inc
Pathway To Adventure 456
14340 S La Grange Rd
Orland Park, IL 60462


Richard A Behrendsen
Address Redacted


Richard Adams
Address Redacted


Richard Aiken
Address Redacted


Richard Aiken Sr
Address Redacted


Richard Albrecht
Address Redacted


Richard Allen Academy
Dan Beard Council, Bsa 438
1206 Shuler Ave
Hamilton, OH 45011


Richard Anthony M White
Address Redacted


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Richard B   Christeen M Good
dba Goodwoodbrg LLC
12 Windvale Dr
Pittsburgh, PA 15236


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Richard Becker
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Richard Beliveau
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Richard Belton
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Richard Benner
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Richard Benz
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Richard Bergman
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Richard Bianchi
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Richard Bielefield
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Richard Birchall
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Richard Bogan
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Richard Bowerman
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Richard Braessler
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Richard Brewer
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Richard Britt
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Richard Burr
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Richard Byrd
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Richard Callahan
Address Redacted


Richard Campbell
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Richard Carlson
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Richard Carroll Elementary ‐ Ai
Indian Waters Council 553
142 Mcmillan St
Bamberg, SC 29003


Richard Cassolino
Address Redacted


Richard Cecil
Address Redacted


Richard Chadwell Jr
Address Redacted


Richard Chapman
Address Redacted


Richard Charrette
Address Redacted


Richard Christ
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Richard Christian
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Richard Christie
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Richard Christopher
Address Redacted


Richard Churn
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Richard Clark
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Richard Cloud
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Richard Cole
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Richard Corcoran Jr
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Richard Council
5686 Cr 3300
Independence, KS 67301‐7977


Richard Crawford
Address Redacted


Richard Crewdson
Address Redacted


Richard Crise
Address Redacted


Richard Cummins Iii
Address Redacted


Richard Curth
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Richard D Wahl
Address Redacted
Richard Dahman
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Richard Daughtrey
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Richard Dawson
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Richard Decker
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Richard Denison
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Richard Dennis
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Richard Deso
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Richard Dreist Jr
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Richard Duggins
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Richard Duplisea
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Richard Duran
Address Redacted


Richard Dye
Address Redacted
Richard Eugene Reynolds
Address Redacted


Richard Fallon
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Richard Fanning
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Richard Fisher
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Richard Floyd
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Richard Fowler
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Richard Fox
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Richard Frederick Krause
Baltimore Area Council 220
39 N Hickory Ave
Bel Air, MD 21014


Richard Fujimoto
Address Redacted


Richard Fulton
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Richard G Ness Md
100 Ucla Medical Plaza, Ste 725
Los Angeles, CA 90095
Richard Garipoli
Address Redacted


Richard Garland
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Richard Goforth
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Richard Good
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Richard Grant
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Richard Gregory
Address Redacted


Richard Grunz
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Richard H Schmidt
Address Redacted


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Richard Hall
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Richard Hanaburgh
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Richard Hansen
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Richard Harper
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Richard Hayes
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Richard Hedke PTO
Great Lakes Fsc 272
3201 Marian Dr
Trenton, MI 48183


Richard Heilman
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Richard Holder
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Richard Horn
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Richard Huggins Jr
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Richard Hunter Iii
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Richard I Van Arsdel
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Richard Insalaco
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Richard J Avery Jr
Address Redacted


Richard J Fontenot
Address Redacted


Richard J Lee Elementary PTO
Circle Ten Council 571
8808 Chaparral Waters Way
Coppell, TX 75019


Richard Jackson
Address Redacted


Richard Jahn
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Richard Jensen
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Richard Johnson
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Richard Johnston
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Richard Joseph Biggio‐Gottschlich
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Richard K Langford
Address Redacted


Richard Kane Elementary School
Cherokee Area Council 469 469
801 E 13th St
Bartlesville, OK 74003


Richard Keith Christopher
Address Redacted


Richard Kellogg
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Richard Kirkendall
Address Redacted


Richard Klein
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Richard Knop
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Richard Koehler
Address Redacted


Richard Krzyiewski
Address Redacted


Richard Kuras Jr
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Richard L Diles
Address Redacted


Richard L Wampler
Address Redacted


Richard L Witt
Address Redacted


Richard Lagow Elementary
Circle Ten Council 571
637 Edgeworth Dr
Dallas, TX 75217


Richard Lake
Address Redacted


Richard Ledgerwood
Address Redacted


Richard Lee
Address Redacted


Richard Lehr
Address Redacted


Richard Lien Jr
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Richard Longstaff
Address Redacted


Richard Mahalik
Address Redacted


Richard Martin
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Richard Martinides
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Richard Mathews
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Richard Mays
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Richard Mazyck
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Richard Mccartney
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Richard Mcfadden
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Richard Mcmahon
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Richard Mcneely
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Richard Mercer Jr
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Richard Mette
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Richard Meyer
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Richard Miller
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Richard Moore
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Richard Morse
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Richard Munger
Address Redacted
Richard Myers
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Richard Naaktgeboren
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Richard Nay
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Richard Nixon American Legion Post 679
Orange County Council 039
18001 Yorba Linda Blvd
Yorba Linda, CA 92886


Richard Noble French
Address Redacted


Richard Oliveira
Address Redacted


Richard Otto And O Donnell Clark
Crew LLP Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Richard Panosh
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Richard Parish
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Richard Parkins
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Richard Pelkey
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Richard Perry
Address Redacted


Richard Peterson
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Richard Plouch
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Richard Poirier
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Richard Porto
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Richard Potts
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Richard R Ahlgrim
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Richard R Bourlon
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Richard R Yates
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Richard Reeve
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Richard Rhyner
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Richard Richmond
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Richard Riopelle
Address Redacted
Richard Rodriguez
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Richard Ross
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Richard Ruffino
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Richard S Goldman
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Richard Satterlee
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Richard Scott Hogan
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Richard Shaw
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Richard Shepherd
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Richard Showalter
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Richard Siemens
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Richard Sisson
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Richard Smithson Jr
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Richard Sorrell
Address Redacted


Richard Sotto
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Richard Sousa
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Richard Stahmer
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Richard Standish
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Richard Starr
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Richard Stewart
Address Redacted


Richard Stockton
Address Redacted


Richard Stockton College Of New Jersey
Attn Bursars Office Marylee
P.O. Box 195 Jim Leeds Rd
Pomona, NJ 08420


Richard Stritzinger
Address Redacted


Richard Szymanski
Address Redacted


Richard Telefoni
Address Redacted


Richard Thomas Beliveau
Address Redacted


Richard Tolman
Address Redacted


Richard Trevino Jr
Address Redacted


Richard Trier
Address Redacted


Richard Turpin
Address Redacted


Richard Vancil
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Richard W Smith
Address Redacted


Richard Walk
Address Redacted


Richard Weakley
Address Redacted


Richard Weidman
Address Redacted


Richard White
Address Redacted


Richard Wieners
Address Redacted


Richard Willhite
Address Redacted
Richard Williams
Address Redacted


Richard Wilson
Address Redacted


Richard Wilson Elementary ‐ Gfwar
Longhorn Council 662
2801 Miller Ave
Fort Worth, TX 76105


Richard Winsor
Address Redacted


Richard Winstead
Address Redacted


Richard Wise
Address Redacted


Richard Wride
Address Redacted


Richard Young
Address Redacted


Richards Tractors   Implements Inc
1995 NE 8th St
Homestead, FL 33033


Richards, Layton   Finger, Pa
Attn Michael Merchant/Brett Haywood
One Rodney Square
920 N King St
Wilmington, DE 19801


Richardson Duck Creek Homeowners Assoc
Circle Ten Council 571
P.O. Box 851691
Richardson, TX 75085


Richardson East Church Of Christ
Circle Ten Council 571
1504 E Campbell Rd
Richardson, TX 75081


Richardson Elementary School
Catalina Council 011
6901 N Camino De La Tierra
Tucson, AZ 85741


Richardson Park Utd Methodist Church
Del Mar Va 081
11 N Maryland Ave
Wilmington, DE 19804


Richardson Plano Alumni Chapter
Kappa Alpha Psi Fraternity Inc
P.O. Box 831834
Richardson, TX 75080


Richardson Plano Guide Right Foundation
P.O. Box 701831
Dallas, TX 75287


Richardson Police Dept
Circle Ten Council 571
140 N Greenville Ave
Richardson, TX 75081


Richardson‐Plano Alumni Chapter Of
P.O. Box 831834
Richardson, TX 75080


Richelle Payne
Address Redacted


Richelle Treat
Address Redacted
Richer   Overholt
901 W Baxter Dr
South Jordan, UT 84095


Richer Elememtary School PTO
Mayflower Council 251
80 Foley Rd
Marlborough, MA 01752


Richfield Fire Dept
Great Trail 433
4410 W Stsboro Rd
Richfield, OH 44286


Richfield Lions Club
c/o Ray Tweedale
Potawatomi Area Council 651
1757 Kettering Rdg
Richfield, WI 53076


Richfield Public Safety
Northern Star Council 250
6700 Portland Ave
Richfield, MN 55423


Richfield Springs Rotary Club
Leatherstocking 400
P.O. Box 1535
Richfield Springs, NY 13439


Richfield Utd Church Of Christ
Great Trail 433
4340 W Stsboro Rd
Richfield, OH 44286


Richfield Ward ‐ Carey Stake
Snake River Council 111
1220N 1309E
Richfield, ID 83349


Richfield Womens Club
Juniata Valley Council 497
1076 Seven Stars Rd
Jennie Seigler
Richfield, PA 17086


Richford Lions Club
Green Mountain 592
1068 S Richford Rd
Richford, VT 05476


Richie‐Bowers‐Kohout Vfw 9298
Glaciers Edge Council 620
180 Cherwill St
Livingston, WI 53554


Richie‐Bowers‐Kohout Vfw 9298
Glaciers Edge Council 620
P.O. Box 249
Montfort, WI 53569


Richland Baptist Church
National Capital Area Council 082
2482 Warrenton Rd
Fredericksburg, VA 22406


Richland Center Fire Dept
Glaciers Edge Council 620
205 E Mill St
Richland Center, WI 53581


Richland Center Kiwanis Club
c/o Thomas H Hougan
Glaciers Edge Council 620
28898 Rustic Village Ln
Richland Center, WI 53581


Richland Cnty Fish    Game Prot Assoc Inc
Buckeye Council 436
P.O. Box 272
Mansfield, Oh 44901


Richland County Sheriff S Dept
Indian Waters Council 553
P.O. Box 143
Columbia, SC 29202


Richland County Sheriffs Dept
Buckeye Council 436
597 Park Ave E
Mansfield, OH 44905


Richland Lutheran Church
Northern Lights Council 429
6165 172nd Ave Se
Walcott, ND 58077


Richland Lutheran Church Men
Blue Mountain Council 604
901 Van Giesen St
Richland, WA 99354


Richland Newhope Center
Buckeye Council 436
314 Cleveland Ave
Mansfield, OH 44902


Richland Parish
Tax Commission
P.O. Box 688
Rayville, LA 71269‐0688


Richland Presbyterian Church
Southern Shores Fsc 783
8047 Church St
Richland, MI 49083


Richland Rural Life Center
Buckeye Council 436
969 Crall Rd
Mansfield, OH 44903


Richland Twp Vol Fireman S Assoc
Laurel Highlands Council 527
1321 Scalp Ave
Johnstown, PA 15904


Richland Twp Volunteer Fire Dept
Laurel Highlands Council 527
1321 Scalp Ave
Johnstown, PA 15904


Richlands Boys And Girls Club
East Carolina Council 426
110 E Foy St
Richlands, NC 28574


Richlandtown Volunteer Fire Co No 1
Washington Crossing Council 777
P.O. Box 640
Richlandtown, PA 18955


Richmond   Quinn
360 K St, Ste 200
Anchorage, AK 99501


Richmond Congregational Church
Western Massachusetts Council 234
P.O. Box 2
Richmond, MA 01254


Richmond County District Attorney
Greater New York Councils, Bsa 640
130 Stuyvesant Pl
Staten Island, NY 10301


Richmond County Schools Ecd
Central N Carolina Council 416
118 Vance St
Hamlet, NC 28345


Richmond County Sheriffs Dept
Georgia‐Carolina 093
401 Walton Way
Augusta, GA 30901
Richmond Elks Lodge 1251
Mt Diablo‐Silverado Council 023
3931 San Pablo Dam Rd
El Sobrante, CA 94803


Richmond Elks Lodge 45 Bpoe
Heart of Virginia Council 602
P.O. Box 9456
10022 Elks Pass Ln


Richmond Hill High School Sailing Club
Coastal Georgia Council 099
1 Wildcat Dr
Richmond Hill, GA 31324


Richmond Hill Presbyterian Church
Coastal Georgia Council 099
12965 Ga Hwy 144
Richmond Hill, GA 31324


Richmond Hill Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 1480
Richmond Hill, GA 31324


Richmond Kidz Academy
Central N Carolina Council 416
106 Murray Manor Ln
Rockingham, NC 28379


Richmond P.A.L.
Attn Sgt. Michael Talley
1365 Overbrook Rd
Richmond, VA 23220


Richmond Police Athletic League
Mt Diablo‐Silverado Council 023
2200 Macdonald Ave
Richmond, CA 94801


Richmond Police Dept
Crossroads of America 160
50 N 5th St
Richmond, IN 47374


Richmond Police Dept
Mt Diablo‐Silverado Council 023
1701 Regatta Blvd
Richmond, CA 94804


Richmond PTO
Cimarron Council 474
201 W Richmond Rd
Stillwater, OK 74075


Richmond School PTO/Bc
Potawatomi Area Council 651
N56W26530 Richmond Rd
Sussex, WI 53089


Richmond Sportsmans Club
Great Lakes Fsc 272
9134 Big Hand Rd
Columbus, MI 48063


Richmond Times Dispatch
P.O. Box 27775
Richmond, VA 23261‐7775


Richmond Twp Fire Protection Dist
Blackhawk Area 660
5601 Hunter Dr
Richmond, IL 60071


Richmond Utd Methodist Church
Heart of America Council 307
P.O. Box 406
Richmond, MO 64085


Richmond Utd Methodist Church
Minsi Trails Council 502
8538 Delaware Dr
Bangor, PA 18013
Richmond Utd Methodist Church
Ohio River Valley Council 619
212 S Sugar St
P.O. Box 332


Richmond Volunteer Fire Dept
Seneca Waterways 397
P.O. Box 469
Honeoye, NY 14471


Richmond Wilkins
Address Redacted


Richmont Graduate University
Henegar Counseling Center
1815 Mccallie Ave
Chattanooga, TN 37404‐3026


Richmoor Coporation
P.O. Box 1850
Loomis, CA 95650


Richmoor Corp
P.O. Box 1850
Loomis, CA 95650


Richmoor/Moorhead Corp
P.O. Box 1850
Loomis, CA 95650


Richton Utd Methodist Church
Pine Burr Area Council 304
P.O. Box 515
Richton, MS 39476


Richwood High School
Louisiana Purchase Council 213
5901 Hwy 165 Byp
Monroe, LA 71202
Richwoods Fire Protection District
Greater St Louis Area Council 312
10015 Turtle Rd
Richwoods, MO 63071


Rick Archuleta
Address Redacted


Rick Bassett
Address Redacted


Rick Bennett Architects
1104 Park Ave Sw
Albuquerque, NM 87102


Rick Cronk
Address Redacted


Rick Looby Homes
Golden Spread Council 562
P.O. Box 52290
Amarillo, TX 79159


Rick Mcqueen
Address Redacted


Rick S Garage Doors, LLC
479 Pirates Rd
Little Torch Key, FL 33042


Rickard School PTO
Northern Lights Council 429
1224 1st Ave E
Williston, ND 58801


Rickie King
Address Redacted


Ricks Bbq And Catering Co
2625 Old Denton Rd, Ste 700
Carrollton, TX 75007


Ricky Butts
Address Redacted


Ricky Colton
Address Redacted


Ricky Gibson
Address Redacted


Ricky Hummel
Address Redacted


Ricky Lee Bailey
Address Redacted


Ricky Loudin
Address Redacted


Rico Industries, Inc
7000 N Austin Ave
Niles, IL 60714


Rico J Fernandez
Address Redacted


Ricoh
1700 W 10th Pl
Tempe, AZ 85281


Ricoh Americas Corp
P.O. Box 4245
Carol Stream, IL 60197‐4245


Ricoh Business Systems
P.O. Box 824018
Philadelphia, PA 19182‐4018
Ricoh Usa Inc
Legal Doc Svc Chicago District ‐ Min
1600 Solutions Ctr
Chicago, IL 60677‐1005


Riddle   Brantley, LLP
Attn Adam Smith
P.O. Box 11050
Goldsboro, NC 27532


Ridge Baptist Church
Coastal Carolina Council 550
2168 Ridge Church Rd
Summerville, SC 29486


Ridge Culver Volunteer Firemans Assoc
Seneca Waterways 397
4900 Culver Rd
Rochester, NY 14622


Ridge Ranch PTA
Northern New Jersey Council, Bsa 333
345 Lockwood Dr
Paramus, NJ 07652


Ridge Spring Baptist Church
Indian Waters Council 553
108 Church Rd
Ridge Spring, SC 29129


Ridge Volunteer Fire Dept
Suffolk County Council Inc 404
P.O. Box 515
Ridge, NY 11961


Ridge Wood Park Utd Methodist Church
Circle Ten Council 571
6445 E Lovers Ln
Dallas, TX 75214


Ridgecrest School PTA
Golden Spread Council 562
5306 SW 37th Ave
Amarillo, TX 79109


Ridgecrest Utd Methodist Church
Southern Sierra Council 030
639 N Norma St
Ridgecrest, CA 93555


Ridge‐Culver Fire District
Seneca Waterways 397
2960 Culver Rd
Rochester, NY 14622


Ridgefield Lions Club
Cascade Pacific Council 492
P.O. Box 416
Ridgefield, WA 98642


Ridgeley Vfw Gold Star Post 6452
Laurel Highlands Council 527
P.O. Box 616
Ridgeley, WV 26753


Ridgeline Academy
Grand Canyon Council 010
33625 N N Valley Pkwy
Phoenix, AZ 85085


Ridgeline Academy
Grand Canyon Council 010
33625 N Valley Pkwy
Phoenix, AZ 85085


Ridgeline Community Church
Denver Area Council 061
555 Heritage Ave
Castle Rock, CO 80104


Ridgerunner Sportsmans Club, Inc
Bay‐Lakes Council 635
N3163 Tipperary Rd
Cascade, WI 53011


Ridgeview Classical School
Longs Peak Council 062
1800 S Lemay Ave
Fort Collins, CO 80525


Ridgeview Elementary School   Sn
North Florida Council 087
421 Jefferson Ave
Orange Park, FL 32065


Ridgeview Elementary School PTA
Pikes Peak Council 060
6753 Shimmering Creek Dr
Colorado Springs, CO 80923


Ridgeview Elementary School PTO
W D Boyce 138
3903 W Ridgeview Dr
Peoria, IL 61615


Ridgeview High School Sn
North Florida Council 087
466 Madison Ave
Orange Park, FL 32065


Ridgeville Calvary Utd Methodist Ch
Crossroads Of America 160
200 S Portland St
Ridgeville, In 47380


Ridgeway Ptsa
Great Rivers Council 653
107 E Sexton Rd
Columbia, MO 65203


Ridgeway Ruritan Club
Blue Ridge Mtns Council 599
P.O. Box 843
Ridgeway, VA 24148
Ridgeway Utd Methodist Church
Blue Ridge Mtns Council 599
P.O. Box 78
Ridgeway, VA 24148


Ridgeway Volunteer Fire Co 1
Jersey Shore Council 341
2848 Ridgeway Rd
Manchester, NJ 08759


Ridgewood Church
Northern Star Council 250
4420 County Rd 101
Minnetonka, MN 55345


Ridgewood Elementary PTA
Great Lakes Fsc 272
49775 6 Mile Rd
Northville, MI 48168


Ridgewood Park Elementary School PTA
Central Florida Council 083
3401 Pioneer Rd
Orlando, FL 32808


Ridgewood Park Methodist Church
Circle Ten Council 571
6445 E Lovers Ln
Dallas, TX 75214


Ridgewood Rotary Foundation
c/o Neast Region Bsa
P.O. Box 268
Jamesburg, NJ 08831


Ridgewood Utd Methodist Church
Lake Erie Council 440
6330 Ridge Rd
Parma, OH 44129


Ridglea Presbyterian Church
Longhorn Council 662
6201 Camp Bowie Blvd
Fort Worth, TX 76116


Ridley   Co LLC
Texas Trails Council 561
175 Hedges Rd
Abilene, TX 79605


Riekes Equipment
Mid‐America Council 326
P.O. Box 3392
Omaha, NE 68103


Ries A Klein
Address Redacted


Rifle Elks Lodge 2195 Bpoe
Denver Area Council 061
P.O. Box 1229
Rifle, CO 81650


Riflemen Of Wynnes Falls
Blue Ridge Mtns Council 599
214 Bailey Pl
Danville, VA 24540


Rig To Flip Inc
dba Down River Equipment Co
11937 W 1‐70 Frontage Rd N
Wheat Ridge, CO 80033


Riggs Ambulance Service
Greater Yosemite Council 059
100 Riggs Ave
Merced, CA 95340


Riggs Ward Design Lc
2315 W Main St
Richmond, VA 23220
Rightstaff Inc
4919 Mckinney Ave
Dallas, TX 75205


Rightstar Systems, Inc
1951 Kidwell Dr, Ste 110
Vienna, VA 22182


Riley ‐ Clc
Three Harbors Council 636
2424 S 4th St
Milwaukee, WI 53207


Riley B Dullum
Address Redacted


Riley Budd
Address Redacted


Riley Children S Health
Crossroads of America 160
705 Riley Hospital Dr
Indianapolis, IN 46202


Riley G Mcbrearty
Address Redacted


Riley Hendrix
Address Redacted


Riley Home And School Assoc
Longhouse Council 373
E 8th   Bunner St
Oswego, NY 13126


Riley I Taylor
Address Redacted


Riley L Osgood
Address Redacted
Riley M Williams
Address Redacted


Riley N Reif
Address Redacted


Riley R Knight
Address Redacted


Rim Tours Inc
1233 S Hwy 191
Moab, UT 84532


Rimora Foundation
Stonewall Jackson Council 763
2410 Old Ivy Rd
Charlottesville, VA 22903


Rimrock Trails Adolescent Treatment
Crater Lake Council 491
1333 NW 9th St
Prineville, OR 97754


Rims
P.O. Box 95000‐2345
Philadelphia, PA 19195‐2345


Rincon Utd Methodist Church
Coastal Georgia Council 099
107 Savannah Ave
Rincon, GA 31326


Rineyville Elementary
Lincoln Heritage Council 205
275 Rineyville School Rd
Rineyville, KY 40162


Rineyville Parent Teacher Assoc
Lincoln Heritage Council 205
275 Rineyville School Rd
Rineyville, KY 40162


Ring Of German Scout
Scout Assoc
Chaussestr 128/129
Berlin, 10115
Germany


Ringcentral Inc
For Secured Card Only
Dept Ch 19585
Palatine, IL 60055‐9585


Ringgold Baptist Church
Blue Ridge Mtns Council 599
4594 Ringgold Church Rd
Ringgold, VA 24586


Ringgold Utd Methodist Church
Cherokee Area Council 556
P.O. Box 99
Ringgold, GA 30736


Rinn Utd Methodist Church
Longs Peak Council 062
3783 Bella Rosa Pkwy
Frederick, CO 80504


Rio Del Fire Hall
50 W Center St
Rio Dell, CA 95562


Rio Grande
P.O. Box 2424
Harlingen, TX 78551‐2424


Rio Grande Ace Hardware
1381 Paseo Del Pueblo Sur
Taos, NM 87571
Rio Grande Cncl 775
6912 W Expressway 83
P.O. Box 2424
Harlingen, TX 78551‐2424


Rio Grande Yacht Club
Great Swest Council 412
P.O. Box 220
Elephant Butte, NM 87935


Rio Rancho Presbyterian Church
Great Swest Council 412
1004 24th St Se
Rio Rancho, NM 87124


Rio Rancho Rotary Club
Great Swest Council 412
P.O. Box 15842
Rio Rancho, NM 87174


Rio Rancho Utd Methodist Church
Great Swest Council 412
1652 Abrazo Rd Ne
Rio Rancho, NM 87124


Rio Vista Lions Club
Golden Empire Council 047
P.O. Box 362
Rio Vista, CA 94571


Rip Van Winkle
1300 Ulster Ave, Suite 107
Kingston, NY 12401‐1571


Rip Van Winkle Cncl 405
1300 Ulster Ave, Ste 107
Kingston, NY 12401


Rip Van Winkle Council BSA
Rip Van Winkle Council 405
1300 Ulster Ave, Ste 107
Kingston, NY 12401
Ripley First Utd Methodist Church
West Tennessee Area Council 559
145 S Main St
Ripley, TN 38063


Ripley Rotary Club
Yocona Area Council 748
P.O. Box 498
Ripley, MS 38663


Ripleys Believe It Or Not
140 N Cache
Jackson Hole, WY 83001


Ripon Consolidated Fire District
Greater Yosemite Council 059
142 S Stockton Ave
Ripon, CA 95366


Ripon Free Methodist Church
Greater Yosemite Council 059
218 W Main St
Ripon, CA 95366


Ripon Lions Club
Greater Yosemite Council 059
P.O. Box 545
Ripon, CA 95366


Rippavilla Plantation
Middle Tennessee Council 560
5700 Main St
Spring Hill, TN 37174


Rippling River Resort
Bay‐Lakes Council 635
1520 Commerce Dr
Marquette, MI 49855


Rireeka Bernard Gardner
Address Redacted


Rireeka Gardner
Address Redacted


Ris Colorado, LLC
Dba Retail Info Systems
8100 Spark Way, Unit A‐10
Littleton, Co 80120


Risbecker Internationalc/o First Utd
Engelbreksgatan 9‐11
Po Bix 3112
Stockholm, S‐10362


Rise Against Hunger Inc
3733 National Dr, Ste 200
Raleigh, NC 27612


Rise And Shine Academy
Erie Shores Council 460
3248 Warsaw St
Toledo, OH 43608


Rise Learning Center
Crossroads of America 160
5391 Shelby St
Indianapolis, IN 46227


Rise Up For Youth
Quivira Council, Bsa 198
P.O. Box 1256
Wichita, KS 67201


Risen Christ Lutheran Church
Tecumseh 439
41 E Possum Rd
Springfield, OH 45502


Risen Savior Lutheran Church
Quivira Council, Bsa 198
6770 E 34th St N
Wichita, KS 67226


Risi
P.O. Box 288
Bedford, MA 01730‐0288


Rising Mt Zion Baptist Church
Heart of Virginia Council 602
2705 Hartman St
Richmond, VA 23223


Rising Star Isd Education Foundation
Texas Trails Council 561
P.O. Box 164
Rising Star, TX 76471


Rising Star Lodge 4 Af    Am
Katahdin Area Council 216
P.O. Box 158
Penobscot, ME 04476


Rising Sun Lions Club
Hoosier Trails Council 145 145
118B Main St
Rising Sun, IN 47040


Risk   Insurance Mgmt Society
P.O. Box 95000‐2345
Philadelphia, PA 19195‐2345


Risk And Insurance Management
P.O. Box 95000‐2345
Philadelphia, PA 19195‐2345


Risk Laboratories
Aon Risk Labs
P.O. Box 7247‐7389
Philadelphia, PA 19170


Risk Laboratories, LLC
531 Roselane St Nw, Ste 800
Marletta, GA 30060


Risk Solutions   Investigations Inc
811 Wilshire Blvd, Ste 1860
Los Angeles, CA 90017


Riskonnect Inc
Dept 3563
P.O. Box 123563
Dallas, TX 75312‐3563


Riskonnect, Inc
1701 Barrett Lakes Blvd, Ste 500
Kennesaw, GA 30144


Rita Anastasio
Address Redacted


Rita Barnes
Address Redacted


Rita Bingham
Address Redacted


Rita Bowman
Address Redacted


Rita D Cortez
Address Redacted


Rita Freitas
Address Redacted


Rita Johnson
Address Redacted


Rita Kinney
Address Redacted
Rita Lara
Address Redacted


Rita Meinholtz
Address Redacted


Rita Murphy PTO
Northern Lights Council 429
611 N 31st St
Bismarck, ND 58501


Rita Petroff
Address Redacted


Rita Ranch Ward ‐ LDS Rincon Stake
Catalina Council 011
10220 E Rees Loop
Tucson, AZ 85747


Rita Suwinski
Address Redacted


Rita Welty
Address Redacted


Ritchie Trent America Legion Post 148
Lincoln Heritage Council 205
1129 Riverview Dr
P.O. Box 148
West Point, KY 40177


Rite Brothers Aviation
Chief Seattle Council 609
1402 Fairchild Airport Rd
Port Angeles, WA 98363


Rite In The Rain
2614 Pacific Hwy E
Tacoma, WA 98424
Rite Of Passage ‐ Mt Evans Q House
Denver Area Council 061
8810 Chicago Creek Rd
Idaho Springs, CO 80452


Ritesh Dhaya
Address Redacted


Ritesmile Dental
Sam Houston Area Council 576
15200 Swest Fwy, Ste 250
Sugar Land, TX 77478


Ritzville Vfw Post 11446
Grand Columbia Council 614
106 W Broadway Ave
Ritzville, WA 99169


Riva South Motorsports
102550 Overseas Hwy
Key Largo, FL 33037


Riva Trace Baptist Church
Baltimore Area Council 220
475 W Central Ave
Davidsonville, MD 21035


Riva‐Bella Hotel
Avenue Du Commandant Kieffer
14150 Ouistreham
France


River   Trail Outfitters
604 Valley Rd
Knoxville, MD 21758


River Bend Academy
Gulf Stream Council 085
11301 SE Tequesta Ter
Tequesta, FL 33469
River Bend School PTO
Greater St Louis Area Council 312
224 River Valley Dr
Chesterfield, MO 63017


River Cities Rotary
Illowa Council 133
P.O. Box 244
Rapids City, IL 61278


River City Media LLC
813 SW Alder, Ste 610
Portland, OR 97205


River City Scholars
President Gerald R Ford 781
944 Evergreen St Se
Grand Rapids, MI 49507


River City Scout Shop, Ste 0530
251 Commerce Cir
Sacramento, CA 95815‐4292


River Crossing Ward
Lds Tucson West Stake
Catalina Council 011
2002 N Greasewood Rd
Tucson, Az 85745


River Expeditions
P.O. Box 9
Lansing, WV 25862


River Falls Community Club
National Capital Area Council 082
10537 Macarthur Blvd
Potomac, MD 20854


River Falls Moose Lodge 594
Northern Star Council 250
620 Clark St
River Falls, WI 54022


River Forest Service Club
Pathway To Adventure 456
535 Thatcher Ave
River Forest, IL 60305


River Glen Presbyterian Church
Three Fires Council 127
1140 Raymond Dr
Naperville, IL 60563


River Grove Lions Club
Pathway To Adventure 456
P.O. Box 15
River Grove, IL 60171


River Grove Moose Lodge
Pathway To Adventure 456
8601 Fullerton Ave
River Grove, IL 60171


River Hall Elementary
Southwest Florida Council 088
2800 River Hall Pkwy
Alva, FL 33920


River Hill Community Assoc Inc
Baltimore Area Council 220
6020 Daybreak Cir
Clarksville, MD 21029


River Hills Christian Church
Dan Beard Council, Bsa 438
6300 Price Rd
Loveland, OH 45140


River Hills Community Church
Palmetto Council 549
104 Hamiltons Ferry Rd
Lake Wylie, SC 29710
River Keepers
Northern Lights Council 429
1120 28th Ave N, Ste B
Fargo, ND 58102


River Oaks Elementary School
Louisiana Purchase Council 213
600 Finks Hideaway Rd
Monroe, LA 71203


River Of Grace Elca
National Capital Area Council 082
15012 Dumfries Rd
Manassas, VA 20112


River Of Life Christian Academy
Silicon Valley Monterey Bay 055
10883A S Blaney Ave
Cupertino, CA 95014


River Of Life Church
Mississippi Valley Council 141 141
P.O. Box 335
Dallas City, IL 62330


River Of Life Methodist Church
North Florida Council 087
100 River of Life Dr
Saint Johns, FL 32259


River Park Moose Lodge 2578
Pathway To Adventure 456
8601 Fullerton Ave
River Grove, IL 60171


River Plaza Pfa
Monmouth Council, Bsa 347
155 Hubbard Ave
Red Bank, NJ 07701
River Point Ministries Campus
Erie Shores Council 460
2862 131st St
Toledo, OH 43611


River Road Presbyterian Church
Heart of Virginia Council 602
8960 River Rd
Richmond, VA 23229


River Vale Community Church
Northern New Jersey Council, Bsa 333
600 New St
River Vale, NJ 07675


River Vale Fire Dept Assoc
Northern New Jersey Council, Bsa 333
330 Rivervale Rd
River Vale Fire Dept Assoc
River Vale, NJ 07675


River Vale Police Officers Assoc
Northern New Jersey Council, Bsa 333
P.O. Box 2011
River Vale, NJ 07675


River View PTO
Rainbow Council 702
2097 S Bronk Rd
Plainfield, IL 60586


Riverbend Church
Capitol Area Council 564
4214 N Capital of Texas Hwy
Austin, TX 78746


Riverbend Friends Church
Southern Shores Fsc 783
9500 Tecumseh Clinton Hwy
Tecumseh, MI 49286


Riverbend Trout Farm, LLC
2479 US Hwy 285 N
Monte Vista, CO 81144


Riverchase Utd Methodist Church
Greater Alabama Council 001
1953 Old Montgomery Hwy
Hoover, AL 35244


Rivercrest/ Deport PTO
Circle Ten Council 571
3935 Fm 1487
Bogota, TX 75417


Riverdahl School PTO
Blackhawk Area 660
3520 Kishwaukee St
Rockford, IL 61109


Riverdale First Utd Methodist Church
Atlanta Area Council 092
6390 Church St
Riverdale, GA 30274


Riverdale Lions Club
Trapper Trails 589
4360 Parker Dr
Riverdale, UT 84405


Riverdale P T A
Illowa Council 133
2125 Devils Glen Rd
Bettendorf, IA 52722


Riverdale Presbyterian Church
Greater New York Councils, Bsa 640
4765 Henry Hudson Pkwy W
Bronx, NY 10471


Riverdale Presbyterian Church
Laurel Highlands Council 527
1555 Brodhead Rd
Moon Township, PA 15108
Riverdale Ptc
Cascade Pacific Council 492
9727 SW Terwilliger Blvd
Portland, OR 97219


Riverdale Utd Methodist Church
East Carolina Council 426
5195 US Hwy 70 E
New Bern, NC 28562


Riverdale Utd Presbyterian Church
Laurel Highlands Council 527
1555 Brodhead Rd
Moon Twp, PA 15108


Riverfield Country Day School
Indian Nations Council 488
2433 W 61st St
Tulsa, OK 74132


Riverfront Cycle
507 E Shiawassee St
Lansing, MI 48912


Rivermill Hoa
Gulf Stream Council 085
6750 Rivermill Club Dr
Lake Worth, FL 33463


Riverpoint Ministries U M C
Erie Shores Council 460
2862 131st St
Toledo, OH 43611


Riverside Area Community Club
Hawkeye Area Council 172
Rriverside
Riverside, IA 52327


Riverside Church Of Christ
Circle Ten Council 571
150 E Belt Line Rd
Coppell, TX 75019


Riverside Cnty Fire Dept Little Lake 26
California Inland Empire Council 045
25954 Stanford St
Hemet, Ca 92544


Riverside Cnty Sheriff Explorer Post 507
California Inland Empire Council 045
73705 Gerald Ford Dr
Palm Desert, Ca 92211


Riverside Community Assoc
Baltimore Area Council 220
P.O. Box 767
Belcamp, MD 21017


Riverside Community Care, Inc
270 Bridge St, Ste 301
Dedham, MA 02026


Riverside Community Church
Blackhawk Area 660
6816 N 2nd St
Machesney Park, IL 61115


Riverside County Fire Dept
California Inland Empire Council 045
1377 6th St
Coachella, CA 92236


Riverside County Fire Dept
California Inland Empire Council 045
22250 Eucalyptus Ave
Moreno Valley, CA 92553


Riverside County Fire Dept
California Inland Empire Council 045
30650 Pauba Rd
Temecula, CA 92592
Riverside County Fire Dept
California Inland Empire Council 045
628 Maple Ave
Beaumont, CA 92223


Riverside County Fire Dept
California Inland Empire Council 045
9270 Limonite Ave
Riverside, CA 92509


Riverside County Fire Dept Station 76
California Inland Empire Council 045
29950 Menifee Rd
Menifee, CA 92584


Riverside County Sheriff Dept
California Inland Empire Council 045
137 N Perris Blvd
Perris, CA 92570


Riverside County Sheriff Dept
California Inland Empire Council 045
86625 Airport Blvd
Thermal, CA 92274


Riverside County Sheriff‐Hemet
California Inland Empire Council 045
43950 Acacia Ave
Hemet, CA 92544


Riverside County Sheriffs Dept
California Inland Empire Council 045
22850 Calle San Juan De Los Lagos
Moreno Valley, CA 92553


Riverside County Sheriffs Dept
California Inland Empire Council 045
333 W Ltd Ave
Lake Elsinore, CA 92530
Riverside County Sheriffs Dept
California Inland Empire Council 045
7477 Mission Blvd
Riverside, CA 92509


Riverside County Sheriffs Dept
California Inland Empire Council 045
P.O. Box 892050
Temecula, CA 92589


Riverside Elementary
Lincoln Heritage Council 205
17 Laurel Dr
Jeffersonville, IN 47130


Riverside Elementary PTO
Simon Kenton Council 441
3260 Riverside Green Dr
Dublin, OH 43017


Riverside Elementary School
Lake Erie Council 440
14601 Montrose Ave
Cleveland, OH 44111


Riverside Fire Dept
California Inland Empire Council 045
3401 University Ave
Riverside, CA 92501


Riverside Foundation
Northeast Illinois 129
14588 W Half Day Rd
Riverside Foundation
Lincolnshire, IL 60069


Riverside Grange
Green Mountain 592
30 Batten Rd
West Topsham, VT 05076


Riverside Gun Club Inc
Mayflower Council 251
P.O. Box 152
16 Wilkins St
Hudson, MA 01749


Riverside High School Booster Club
Occoneechee 421
3218 Rose of Sharon Rd
Durham, NC 27712


Riverside Intermediate
Atlanta Area Council 092
285 S Gordon Rd Sw
Mableton, GA 30126


Riverside Machine And Engineering
Chippewa Valley Council 637
2445 Alpine Rd
Eau Claire, WI 54703


Riverside Police Dept
California Inland Empire Council 045
10540 Magnolia Ave, Ste B
Riverside, CA 92505


Riverside Police Dept
Garden State Council 690
1 W Scott St
Riverside, NJ 08075


Riverside Presbyterian Church
National Capital Area Council 082
46040 Center Oak Plaza
Sterling, VA 20165


Riverside Presbyterian Church
Pathway To Adventure 456
116 Barrypoint Rd
Riverside, IL 60546


Riverside Primary School
Atlanta Area Council 092
461 S Gordon Rd Sw
Mableton, GA 30126


Riverside Printing
1375 Monroe Ave Nw
Grand Rapids, MI 49505


Riverside School Parents
Ore‐Ida Council 106 ‐ Bsa 106
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Riverside Sunrise Rotary Club
California Inland Empire Council 045
P.O. Box 21155
Riverside, CA 92516


Riverside Utd Methodist Church
Central Georgia Council 096
735 Pierce Ave
Macon, GA 31204


Riverside Utd Methodist Church
Crossroads of America 160
1201 N Wheeling Ave
Muncie, IN 47303


Riverside Utd Methodist Church
Simon Kenton Council 441
2701 Zollinger Rd
Columbus, OH 43221


Riverton Methodist Church
Abraham Lincoln Council 144
P.O. Box 440
Riverton, IL 62561


Riverview East Academy
Dan Beard Council, Bsa 438
3555 Kellogg Ave
Cincinnati, OH 45226
Riverview Elementary School PTO
Lasalle Council 165
2509 Wood St
Elkhart, IN 46516


Riverview Evangelical Free Church
San Diego Imperial Council 049
4980 Sweetgrass Ln
Bonsall, CA 92003


Riverview Health
Crossroads of America 160
395 Wfield Rd
Noblesville, IN 46060


Riverview Middle School
Chippewa Valley Council 637
135 W River Ave
Barron, WI 54812


Riverview Park Reformed Church ‐ Yankton
Sioux Council 733
1700 Burleigh St
Yankton, SD 57078


Riverview PTA
Great Trail 433
240 N River Rd
Munroe Falls, OH 44262


Riverview Utd Methodist Church
Blue Mountain Council 604
P.O. Box 2306
Pasco, WA 99302


Riverview Utd Methodist Church
Georgia‐Carolina 093
1244 Furys Ferry Rd
Evans, GA 30809


Riverview Utd Methodist Church
Great Lakes Fsc 272
13199 Colvin St
Riverview, MI 48193


Riverview Utd Methodist Church
Greater Tampa Bay Area 089
8002 US Hwy 301 S
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Riverview/Bayshore Medical Center
Monmouth Council, Bsa 347
1 Riverview Plz
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Georgia‐Carolina 093
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Evans, GA 30809


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Gulf Stream Council 085
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Central Florida Council 083
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Riviera Utd Methodist Church
Greater Los Angeles Area 033
375 Palos Verdes Blvd
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Riviera Utd Methodist Church
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Sam Houston Area Council 576
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La Porte, TX 77571


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Rjh LLC
12232 Distribution Pl
Beltsville, MD 20705


Rjs Lock   Safe
3674 Laurel Creek
Fayetteville, WV 25840


Rk S Construction Of The Fl Keys LLC
dba Rudy Krause Construction
26351 Old State Rd 4‐A
Ramrod Key, FL 33042


Rkm Fireworks Co
27383 May St
Edwardsburg, MI 49112


Rkmb Inc
dba Wow Factor Events and Decor
5151 Norwood Rd, Ste 100
Dallas, TX 75247


Rl Thompson Elementary Pipes PTO
Sam Houston Area Council 576
6121 Tierwester St
Houston, TX 77021


Rl White Development Corp
P.O. Box 4
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Rlcl Acquisition LLC
Gray Line of Tennessee
186 N 1st St
Nashville, TN 37213


Rlj Ii Mh Louisville Dt Lessee LLC
dba Louisville Marriott Downtown
Acct 2561‐501170
62960 Collection Dr


Rlj Iii Rh Pittsburgh Lessee LP
Renaissance Pittsburgh Hotel
107 6th St
Pittsburge, PA 15222


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Rm Wolfram LLC
115 N Airport Rd
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Rmc Project Management
10953 Bren Rd E
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Rnr Plastics
20 Bellows Rd
Raynham, MA 02767


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6897 Hwy 63
Clinton, LA 70722


Road Runner Car Show
217 Collison Ave
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8972 Trinity Blvd
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Roadrunner Pest Control
P.O. Box 30634
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Roadrunner Public Health
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East Carolina Council 426
1002 Cleveland St
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Old Hickory Council 427
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Salem, OH 44460


Rochdale Village Social Services Inc
Greater New York Councils, Bsa 640
16824 127th Ave, Apt 10A
Jamaica, NY 11434


Rochelle Johnson
Address Redacted


Rochelle Lee
Address Redacted


Rochelle Moose Lodge
Blackhawk Area 660
311 N Main St
Rochelle, IL 61068


Rochelle Perkins
Address Redacted


Rochelle Randles
Address Redacted


Rochester Arc   Flame Center
Seneca Waterways 397
125 Fedex Way
Rochester, NY 14624


Rochester Black Bar Assoc
Seneca Waterways 397
P.O. Box 14569
Rochester, NY 14614


Rochester Christian Church
Abraham Lincoln Council 144
325 S Walnut St
Rochester, IL 62563


Rochester Community House
Great Lakes Fsc 272
816 Ludlow Ave
Rochester, MI 48307


Rochester Elks Lodge 1091
Gamehaven 299
1652 Hwy 52 N
Rochester, MN 55901


Rochester Engineering Society
Seneca Waterways 397
657 E Ave
Rochester, NY 14607


Rochester Firemans Assoc
Narragansett 546
265 Walnut Plain Rd
Rochester, MA 02770


Rochester Hills Public Library
500 Olde Towne Rd
Rochester, MI 48307


Rochester Hope For Pets
Seneca Waterways 397
2816 Monroe Ave
Rochester, NY 14618


Rochester Institute Of Technology
Attn Office of Student Financial Svcs
56 Lomb Memorial Dr
Rochester, NY 14623‐5603


Rochester Kiwanis Club
Sagamore Council 162
P.O. Box 413
Rochester, IN 46975
Rochester Midland Corp
P.O. Box 64462
Rochester, NY 14624‐6862


Rochester Police Athletic League
Gamehaven 299
101 4th St Se
Rochester, MN 55904


Rochester Police Dept
Daniel Webster Council, Bsa 330
23 Wakefield St
Rochester, NH 03867


Rochester Police Dept
Seneca Waterways 397
185 Exchange Blvd
Rochester, NY 14614


Rochester Police Locust Club Inc
Seneca Waterways 397
1425 Lexington Ave
Rochester, NY 14606


Rochester Regional Health
Seneca Waterways 397
1630 Portland Ave
Rochester, NY 14621


Rochester Utd Methodist Church
Abraham Lincoln Council 144
555 S Walnut St
Rochester, IL 62563


Rock N Sports
58249 Juarez Dr
Yucca Valley, CA 92284


Rock Bridge Parents For Scouting
Great Rivers Council 653
5151 S Hwy 163
Columbia, MO 65203


Rock County Deputy Sheriff S Assoc
Glaciers Edge Council 620
200 E US Hwy 14
Janesville, WI 53545


Rock County Rifle And Pistol Club
Glaciers Edge Council 620
P.O. Box 640
Janesville, WI 53547


Rock Creek Baptist Church
Greater Alabama Council 001
985 Glaze Dr
Bessemer, AL 35023


Rock Creek Baptist Church
Old Hickory Council 427
1980 Rock Creek Church Rd
N Wilkesboro, NC 28659


Rock Creek Church Of Christ
Buckskin 617
2020 Foster Rd
Foster, WV 25081


Rock Creek Church Of God
Greater Alabama Council 001
1001 Park Rd
Bessemer, AL 35023


Rock Creek Ward ‐ Filer Stake
Snake River Council 111
841 W Midway St
Filer, ID 83328


Rock Family Church
Pikes Peak Council 060
4005 Lee Vance Vw
Colorado Springs, CO 80918
Rock Grove Utd Methodist Church
Central N Carolina Council 416
1050 Rock Grove Ch Rd
Salisbury, NC 28146


Rock Hill Baptist Church
National Capital Area Council 082
12 Van Horn Ln
Stafford, VA 22556


Rock Hill PTO
Connecticut Yankee Council Bsa 072
911 Durham Rd
Wallingford, CT 06492


Rock Hill Volunteer Fire Dept
Hudson Valley Council 374
P.O. Box 116
Rock Hill, NY 12775


Rock House
Texas Trails Council 561
P.O. Box 953
Stephenville, TX 76401


Rock House Of Midland
Buffalo Trail Council 567
2300 Rocky Lane Rd
Odessa, TX 79762


Rock Island Conservation Club
Illowa Council 133
2407 Big Island Pkwy
Milan, IL 61264


Rock Lake Community Center
Central Florida Council 083
440 N Tampa Ave
Orlando, FL 32805
Rock Of Ages Clothing Ministry
Tukabatchee Area Council 005
188 Renwick Ln
Calera, AL 35040


Rock Of Gibralter Vfw Post 4230
Southern Shores Fsc 783
35427 W Jefferson Ave
Rockwood, MI 48173


Rock Presbyterian Church Eco
Blue Ridge Council 551
122 Rock Church Rd Nw
Greenwood, SC 29649


Rock Rapids Kiwanis Club
Sioux Council 733
106 N Boone St
Rock Rapids, IA 51246


Rock River Disposal Services Inc
P.O. Box 673045
Milwaukee, WI 53267‐3045


Rock Spring Congregational Church
National Capital Area Council 082
5010 Little Falls Rd
Arlington, VA 22207


Rock Spring Congregational Ucc
National Capital Area Council 082
5010 Little Falls Rd
Arlington, VA 22207


Rock Spring Produce
Cherokee Area Council 556
P.O. Box 501
Rock Spring, GA 30739


Rock Spring Utd Methodist Church
Cherokee Area Council 556
3477 Peavine Rd
Rock Spring, GA 30739


Rock Springs Enterprises LLC
31328 Ave I
Big Pine Key, FL 33043


Rock Springs Enterprises LLC
Box 430775
Big Pine Key, FL 33043


Rock Springs Umc Men S Club
Northeast Georgia Council 101
1100 Rock Springs Rd
Lawrenceville, GA 30043


Rock Springs Utd Methodist Church
Northeast Georgia Council 101
1105 Rock Springs Rd
Lawrenceville, GA 30043


Rockabema Snow Rangers
Katahdin Area Council 216
P.O. Box 898
Patten, ME 04765


Rock‐About Inc
8201 Edgemoor Pl
Austin, TX 78749


Rockaway Artist Alliance
Greater New York Councils, Bsa 640
260 Beach 116th St
Rockaway Park, NY 11694


Rockaway Artists Alliance
Greater New York Councils, Bsa 640
260 Beach 116th St
Rockaway Park, NY 11694


Rockaway Point Volunteer Emergency Svcs
Greater New York Councils, Bsa 640
204 26 Rockaway Point Blvd
Brezzy Point, Ny 11697


Rockaway Valley Utd Methodist Church
Patriots Path Council 358
38 Valley Rd
Boonton Township, NJ 07005


Rockbridge County Schools Transp Dept
612 Waddell St
Lexington, VA 24450


Rockbrook Utd Methodist Church
Mid‐America Council 326
9855 W Center Rd
Omaha, NE 68124


Rockdale Baptist Church
Dan Beard Council, Bsa 438
539 Forest Ave
Cincinnati, OH 45229


Rockdale Chamber Of Commerce
Longhorn Council 662
1203 W Cameron Ave
Rockdale, TX 76567


Rockdale County Club
Atlanta Area Council 092
911 Chambers Dr Nw
Conyers, GA 30012


Rockdale County Sheriff Office
Atlanta Area Council 092
911 Chambers Dr Nw
Conyers, GA 30012


Rockele Hommes
Address Redacted


Rocket Science Marketing Labs Inc
P.O. Box 8857
South Charleston, WV 25303


Rocket Town Church
Central Florida Council 083
4525 Apollo Rd
Titusville, FL 32780


Rockfield Utd Methodist Men
Lincoln Heritage Council 205
682 Richpond Rockfield Rd
Rockfield, KY 42274


Rockford American Legion Post 102
President Gerald R Ford 781
330 Rockford Park Dr Ne
Rockford, MI 49341


Rockford Lions Club
President Gerald R Ford 781
6036 Arroyo Vista Dr Ne
Rockford, MI 49341


Rockford Methodist Church
Tukabatchee Area Council 005
P.O. Box 295
Rockford, AL 35136


Rockford Public Schools 205
Blackhawk Area 660


Rockford Utd Methodist Church
Black Swamp Area Council 449
P.O. Box 305
Rockford, OH 45882


Rockhill Church Of The Brethren
Juniata Valley Council 497
P.O. Box 66
Orbisonia, PA 17243
Rockhurst Univ Continuing Edu Center
6901 W 63rd St
Shawnee Mission, KS 66202‐4007


Rockhurst University
1100 Rockhurst Rd
Financial Aid Office
Kansas City, MO 64110


Rockin K Farms
South Texas Council 577
4803 Fm 624
Robstown, TX 78380


Rockingham Co Historical Society
Elks Lodge
Old N State Council 070
Elks Lodge 1723
Wentworth   Reids.
Wentworth, Nc 27375


Rockland After School Programs
Hudson Valley Council 374
465 Viola Rd
Spring Valley, NY 10977


Rockland Community Church
175 Mount Vernon Country Club Rd
Golden, CO 80401


Rockland Community Church
Denver Area Council 061
175 S Mt Vernon Country Club Rd
Golden, CO 80401


Rockland Omega Commty
Devt Foundation, Inc
Hudson Valley Council 374
208 New Hempstead Rd
New City, Ny 10956


Rockland Utd Methodist Church
Buckskin 617
2300 Washington Blvd
Belpre, OH 45714


Rockledge Elementary PTA
National Capital Area Council 082
7701 Laurel Bowie Rd
Bowie, MD 20715


Rockledge Presbyterian Church
Central Florida Council 083
921 Rockledge Dr
Rockledge, FL 32955


Rockledge Utd Methodist Church
Central Florida Council 083
1935 S Fiske Blvd
Rockledge, FL 32955


Rockler Companies, Inc/Rockler Woodworki
P.O. Box 500
Medina, MN 55340‐0500


Rocklin Lions Club
Golden Empire Council 047
3965 Rawhide Rd
Rocklin, CA 95677


Rockmart First Umc
Northwest Georgia Council 100
135 Church St
Rockmart, GA 30153


Rockport Parents Club
Greater St Louis Area Council 312
3871 Jeffco Blvd
Arnold, MO 63010


Rockport Presbyterian Church
Minsi Trails Council 502
195 Rockport Rd
Port Murray, NJ 07865
Rockport Rotary Club
The Spirit of Adventure 227
37 Squam Hill Rd
Rockport, MA 01966


Rockton Lions Club
Glaciers Edge Council 620
1240 Sheppard Rd
Rockton, IL 61072


Rockton School District 140 PTO
Glaciers Edge Council 620
400 E Chapel St
Rockton, IL 61072


Rockvale Lodge 413 F Am
Middle Tennessee Council 560
9007 Rockvale Rd
Rockvale, TN 37153


Rockvale Ruritan Club
Middle Tennessee Council 560
Rockvale Community Center
9972 Rockvale Rd
Rockvale, TN 37153


Rockville Elks Lodge 1359
Connecticut Rivers Council, Bsa 066
9 N Park St
Vernon Rockville, CT 06066


Rockville Fish And Game Club Inc
Connecticut Rivers Council, Bsa 066
P.O. Box 211
Vernon, CT 06066


Rockville Presbyterian Fellowship
Mt Diablo‐Silverado Council 023
4177 Rockville Rd
Fairfield, CA 94534
Rockville Science Center
National Capital Area Council 082
9601 Medical Center Dr
Rockville, MD 20850


Rockville Utd Methodist Church
National Capital Area Council 082
112 W Montgomery Ave
Rockville, MD 20850


Rockwall Controls Co
P.O. Box 836
Rockwall, TX 75087


Rockwall Noon Rotary Club
Circle Ten Council 571
P.O. Box 1221
Rockwall, TX 75087


Rockwall Outdoor Club
Circle Ten Council 571
4 Nridge Ln
Rockwall, TX 75087


Rockwall Police Dept
Circle Ten Council 571
205 W Rusk St
Rockwall, TX 75087


Rockwell   Barrie Schools
Glaciers Edge Council 620
1000 Harriette St
Fort Atkinson, WI 53538


Rockwell Civitan Club
Central N Carolina Council 416
140 W Main
P.O. Box 1201
Rockwell, NC 28138


Rockwell Civitan Club
Central N Carolina Council 416
2070 Emanuel Church Rd
Rockwell, NC 28138


Rockwell Lions Club
Winnebago Council, Bsa 173
P.O. Box 57
Rockwell, IA 50469


Rockwood South Parents Asscociation
Greater St Louis Area Council 312
1628 Hawkins Rd
Fenton, MO 63026


Rocky Grove Presbyterian Church
French Creek Council 532
321 Rocky Grove Ave
Franklin, PA 16323


Rocky Hill Fire Dept
Connecticut Rivers Council, Bsa 066
3050 Main St
Rocky Hill, CT 06067


Rocky Mount Police Dept
East Carolina Council 426
P.O. Box 1180
Rocky Mount, NC 27801


Rocky Mount Umc
Piedmont Council 420
1739 Perth Church Rd
Mooresville, NC 28117


Rocky Mount Utd Methodist Church
Blue Ridge Mtns Council 599
35 N Main St
Rocky Mount, VA 24151


Rocky Mount Utd Methodist Church
Piedmont Council 420
1739 Perth Rd
Mooresville, NC 28117


Rocky Mountain
411 S Pueblo Blvd
Pueblo, CO 81005‐1204


Rocky Mountain Cncl 63
411 S Pueblo Blvd
Pueblo, CO 81005‐1204


Rocky Mountain Communities
Denver Area Council 061
225 E 16th Ave, Ste 1060
Denver, CO 80203


Rocky Mountain Concepts
P.O. Box 620670
Littleton, CO 80162


Rocky Mountain Deaf School Fsso
Denver Area Council 061
10300 W Nassau Ave
Denver, CO 80235


Rocky Mountain Elk Foundation
P.O. Box 31794
Billings, MT 59107‐9931


Rocky Mountain Elk Foundation
P.O. Box 8249
Missoula, MT 59807‐8249


Rocky Mountain Eye Center Inc
27 Montebello Rd
Pueblo, CO 81001‐1236


Rocky Mountain Metal, Inc
P.O. Box 1101
Raton, NM 87740‐1101
Rocky Mountain Natural Meats
9757 Alton Way
Henderson, CO 80640


Rocky Mountain Natural Meats, LLC
Brush Meat Processors, LLC
1300 S Railway St
Brush, CO 80723


Rocky Mountain Pest Control, LLC
dba Rocky Mountain Pest Control
P.O. Box 751
Springer, NM 87747


Rocky Mountain Radio League
Denver Area Council 061
P.O. Box 3821
Littleton, CO 80161


Rocky Mountain Rafts
13771 N Founain Hills Blvd, Ste 114‐126
N Fountain Hills, AZ 85268


Rocky Mountain Rafts, LLC
13771 N Fountain Hills, Ste 114‐126
Fountain Hills, AZ 85268


Rocky Mountain School PTA
Atlanta Area Council 092
2400 Rocky Mountain Rd Ne
Marietta, GA 30066


Rocky Mountain Stone Co, Inc
4741 Pan American Freeway Rd
Albuquerque, NM 87109


Rocky Mountain Student Media
Csu Lory Student Center, Box 13
Fort Collins, CO 80523‐8033


Rocky Mountain Sunscreen
14700 W 66th Pl, Ste 2
Arvada, CO 80004


Rocky Mountain Transportation
1410 E Edgewood Dr
Whitefish, MT 59937


Rocky Mountain Water Technologies
1350 Amstel Dr
Colorado Springs, CO 80907


Rocky Mtn Lodgepole Furniture
I‐25 Exit 18
Trinidad, CO 81082


Rocky Mtn Museum Military History
Montana Council 315
Fort Missoula Rd Bldg 30
Missoula, Mt 59804


Rocky Point Middle School
Suffolk County Council Inc 404
76 Rocky Point Landing Rd
Rocky Point, NY 11778


Rocky Point Volunteer Fire Dept
Cape Fear Council 425
P.O. Box 27
Rocky Point, NC 28457


Rocky River Church
Central N Carolina Council 416
887 Pitts School Rd Sw
Concord, NC 28027


Rocky River Municipal Court
21012 Hilliard
Rocky River, OH 44116


Rocky River Presbyterian Church
Central N Carolina Council 416
7940 Rocky River Rd
Concord, NC 28025


Rocky River Utd Methodist Church
Lake Erie Council 440
19414 Detroit Rd
Rocky River, OH 44116


Rocky Run Elementary School PTO
National Capital Area Council 082
95 Reservoir Rd
Fredericksburg, VA 22406


Rocky S Screen Printing
4540 W 41st St
Tulsa, OK 74107


Rocky Top Log Furniture
P.O. Box 150
Bryantsville, KY 40410


Rodarte Center
Longs Peak Council 062
920 A St
Greeley, CO 80631


Rodeheaver Boys Ranch
North Florida Council 087
380 Boys Ranch Rd
Palatka, FL 32177


Roderick Crone
Address Redacted


Roderick Rush
Address Redacted


Rodger Day Dba Battery Shack
1096 Overseas Hwy
Marathon, FL 33050
Rodger Salzman
Address Redacted


Rodger Skirvin
Address Redacted


Rodger Williamson
Address Redacted


Rodgers Forge Community Inc
Baltimore Area Council 220
P.O. Box 571
Baltimore, MD 21203


Rodney Almond
Address Redacted


Rodney Anderson
Address Redacted


Rodney Brundidge
Address Redacted


Rodney Carpenter
Address Redacted


Rodney Cook
Address Redacted


Rodney Cousin
Address Redacted


Rodney Dean Carpenter
Address Redacted


Rodney Dopps
Address Redacted
Rodney Forbis
Address Redacted


Rodney Grabowski
Address Redacted


Rodney Hartzler
Address Redacted


Rodney Henk
Address Redacted


Rodney Hopper
Address Redacted


Rodney Lambeth
Address Redacted


Rodney Lee Niven
Address Redacted


Rodney Leslie
Address Redacted


Rodney Scout Reservation
Del Mar Va 081
400 Rodney Scout Rd
North E, MD 21901


Rodney Silva
Address Redacted


Rodney Stithem
Address Redacted


Rodney Taylor
Address Redacted
Rodney Townley
Address Redacted


Rodney W Hood
Address Redacted


Rodrick Paige Elementary
Sam Houston Area Council 576
7501 Curry Rd
Houston, TX 77093


Rodrick Stipe
Address Redacted


Rodrico Epps
Address Redacted


Rogelio Perez
Address Redacted


Roger A Lopez
Address Redacted


Roger B Hoyt
Address Redacted


Roger B Morgan
Address Redacted


Roger Bernard
Address Redacted


Roger Bond
Address Redacted


Roger Brimmerman
Address Redacted
Roger Chatell
Address Redacted


Roger Derrick
Address Redacted


Roger Druin
Address Redacted


Roger E Cardin Jr Post 114
Daniel Webster Council, Bsa 330
P.O. Box 534
Barrington, NH 03825


Roger Findahl Iii
Address Redacted


Roger Findahl Jr
Address Redacted


Roger Germany
Address Redacted


Roger Givens
Address Redacted


Roger Gulley
Address Redacted


Roger Kapp
Address Redacted


Roger Mosby
Address Redacted


Roger Ohmstede
Address Redacted
Roger Pelz
Address Redacted


Roger Penny
Address Redacted


Roger Poggio
Address Redacted


Roger Rauch
Address Redacted


Roger Schlung
Address Redacted


Roger Shepherd
Address Redacted


Roger Stewart
Address Redacted


Roger Stoltenberg
Address Redacted


Roger Vitaich
Address Redacted


Roger Williams
Address Redacted


Roger Worthington
Address Redacted


Roger Wynn
Address Redacted


Rogers Bentonville Elks Lodge 2144
Westark Area Council 016
2800 N 2nd St
Rogers, AR 72756


Rogers City Masonic Lodge 493
President Gerald R Ford 781
564 S 1st St
Rogers City, MI 49779


Rogers Elementary Parent Club
Great Lakes Fsc 272
2600 Dexter Rd
Auburn Hills, MI 48326


Rogers Elementary Rpo
Greater St Louis Area Council 312
7700 Fine Rd
Saint Louis, MO 63129


Rogers Hazel
Address Redacted


Rogers School Parent Teachers Assoc
Great Lakes Fsc 272
2265 Hamilton Ave
Berkley, MI 48072


Rogers State University
Attn Bursars Office
401 S Dewey Ave
Bartlesville, OK 74003


Rogers Vfw Post 3031
Westark Area Council 016
11160 N Old Wire Rd
Rogers, AR 72756


Rogersville Utd Methodist
Greater Alabama Council 001
51 Turner Lindsey Rd
Rogersville, AL 35652
Roland Cloutier
Address Redacted


Roland Lejeune
Address Redacted


Roland Lewis
Address Redacted


Roland Salanto C/O Tomas Agency
1017 Elm St 105
Carrollton, TX 75006


Rolfe   Lobello P A
P.O. Box 4400
Jacksonville, FL 38201‐4400


Rolla Kiwanis
Northern Lights Council 429
P.O. Box 344
Rolla, ND 58367


Rolla Lions Club
Ozark Trails Council 306
P.O. Box 244
Rolla, MO 65402


Rolla Lions Club
Santa Fe Trail Council 194
P.O. Box 111
Rolla, KS 67954


Rolla Police Post
Ozark Trails Council 306
1007 N Elm St
Rolla, MO 65401


Rolla Rural Fire Protection District
Ozark Trails Council 306
P.O. Box 1254
Rolla, MO 65402


Rolland Miner
Address Redacted


Roll‐A‐Shade Inc
12101 Madera Way
Riverside, CA 92503


Rollin Baker
Address Redacted


Rolling Bay Presbyterian Church
Chief Seattle Council 609
5734 NE Battle Point Dr
Bainbridge Island, WA 98110


Rolling Green PTO
Blackhawk Area 660
3615 W Gate Pkwy
Rockford, IL 61108


Rolling Hills Community Church
Capitol Area Council 564
6201 Lohmans Ford Rd
Lago Vista, TX 78645


Rolling Hills Elementary School PTO
Potawatomi Area Council 651
W322S9230 Beulah Rd
Mukwonago, WI 53149


Rolling Hills Presbyterian Church
Heart of America Council 307
9300 Nall Ave
Overland Park, KS 66207


Rolling Hills PTA
Golden Spread Council 562
2800 W Cherry Ave
Amarillo, TX 79108
Rolling Hills Site
Boys   Girls Cubs Amarillo
Golden Spread Council 562
1923 S Lincoln St
Amarillo, Tx 79109


Rolling Hills Utd Methodist Church
Greater Los Angeles Area 033
26438 Crenshaw Blvd
Palos Verdes Peninsula, CA 90274


Rolling Hills Ward, Denver North Stake
Denver Area Council 061
100 Malley Dr
Northglenn, CO 80233


Rolling Plains Utd Methodist Church
Muskingum Valley Council, Bsa 467
3350 Moxahala Park Rd
Zanesville, OH 43701


Rolling Prairie Lions Club
Lasalle Council 165
P.O. Box 576
Rolling Prairie, IN 46371


Rolling Ridge P T O
French Creek Council 532
3700 Ridge Pkwy
Erie, PA 16510


Rolling Valley PTA
National Capital Area Council 082
6703 Barnack Dr
Springfield, VA 22152


Rollins College
Attn Bursars Office
1000 Holt Ave
Winter Park, FL 32789
Rollins Inc
2170 Piedmont Rd Ne
Atlanta, GA 30324


Rollins Inc
dba Orkin LLC
P.O. Box 740473
Cincinnati, OH 45274‐0473


Romain Leake
Address Redacted


Roman Catholic Bishop Of Manchester
153 Ash St
Manchester, NH 03104


Roman Catholic Bishop Of Orange
13280 Chapman Ave
Garden Grove, CA 92840


Roman Catholic Church Of Maria Regina
Theodore Roosevelt Council 386
3945 Jerusalem Ave
Seaford, NY 11783


Roman Catholic Church Of The Holy Family
Theodore Roosevelt Council 386
5 Fordham Ave
Hicksville, NY 11801


Roman Forest Police Dept
Sam Houston Area Council 576
2430 Roman Forest Blvd
Roman Forest, TX 77357


Roman Lee
Address Redacted


Rome Fire Dept
Lake Erie Council 440
3162 US Hwy 6
Rome, OH 44085


Romell Mitchell
Address Redacted


Romesa Taherani
Address Redacted


Romney 1St Utd Methodist Church
Laurel Highlands Council 527
49 N High St
Romney, WV 26757


Romney First Utd Methodist
Laurel Highlands Council 527
North High St
Romney, WV 26757


Romtec Inc
18240 N Bank Rd
Roseburg, OR 97470


Romy Longwell
Address Redacted


Ron Burgess
Address Redacted


Ron Dilulio Productions
Attn Accounts Receivable
904 Keller St
Benbrook, TX 76126


Ron Henry Assoc
5435 Claybourne St, Ste 606
Pittsburgh, PA 15232


Ron Kirk
Address Redacted
Ron Oats
Address Redacted


Ron Peterson Firearms
4418 Central Ave Se
Albuquerque, NM 87108


Ron Rosner Family Ymca
National Capital Area Council 082
5700 Smith Station Rd
Fredericksburg, VA 22407


Ronald Barbour
Address Redacted


Ronald Barisano
Address Redacted


Ronald Barker
Address Redacted


Ronald Barlow
Address Redacted


Ronald Barnes
Address Redacted


Ronald Boysen
Address Redacted


Ronald Brown
Address Redacted


Ronald Brunt
Address Redacted


Ronald Cameron
Address Redacted


Ronald Chang
Address Redacted


Ronald Courtemanche
Address Redacted


Ronald Derry
Address Redacted


Ronald E Timmons
Address Redacted


Ronald Foronda
Address Redacted


Ronald Fox
Address Redacted


Ronald Frederich
Address Redacted


Ronald Gardner Jr
Address Redacted


Ronald Garland
Address Redacted


Ronald George
Address Redacted


Ronald Gibson Jr
Address Redacted


Ronald Green
Address Redacted
Ronald Hatfield
Address Redacted


Ronald Hegwood
Address Redacted


Ronald Heinlein
Address Redacted


Ronald Hixon
Address Redacted


Ronald Holmes
Address Redacted


Ronald James Nolan
Address Redacted


Ronald Jennings
Address Redacted


Ronald Kesner
Address Redacted


Ronald Klock
Address Redacted


Ronald Lee
Address Redacted


Ronald Lunsford
Address Redacted


Ronald Marler
Address Redacted


Ronald Mcdonald House Charities
1613 Morehead St
Charlotte, NC 28207


Ronald Moore
Address Redacted


Ronald Moranville
Address Redacted


Ronald Neff
Address Redacted


Ronald Neill
Address Redacted


Ronald Newton
Address Redacted


Ronald Nolan
Address Redacted


Ronald Norman
Address Redacted


Ronald Nyman
Address Redacted


Ronald O Coleman
Address Redacted


Ronald Oakes
Address Redacted


Ronald Odum
Address Redacted


Ronald Palmer
Address Redacted
Ronald Parsons
Address Redacted


Ronald Pierson
Address Redacted


Ronald Pinson
Address Redacted


Ronald Piwnica
Address Redacted


Ronald Pollard
Address Redacted


Ronald Porras
Address Redacted


Ronald Pruitt   O Donell Clark
And Crew Trust Account
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Ronald Reagan Home And School
Potawatomi Area Council 651
4225 S Calhoun Rd
New Berlin, WI 53151


Ronald Reagan Parent Club
Southern Sierra Council 030
10800 Rosslyn Ln
Bakersfield, CA 93311


Ronald Richards
Address Redacted


Ronald Richardson
Address Redacted
Ronald Rogers
Address Redacted


Ronald Rowcliffe
Address Redacted


Ronald Roybal Dba Ronald Roybal Music
23 Cerrado Loop
Santa Fe, NM 87508


Ronald Saline
Address Redacted


Ronald Savilla
Address Redacted


Ronald Schell
Address Redacted


Ronald Schoenmehl
Address Redacted


Ronald Schroeder
Address Redacted


Ronald Settele
Address Redacted


Ronald Singer
Address Redacted


Ronald Stayton
Address Redacted


Ronald Tucker
Address Redacted
Ronald Walsh
Address Redacted


Ronald Weider
Address Redacted


Ronald Wentzell
Address Redacted


Ronald Whiting
Address Redacted


Ronald Willett
Address Redacted


Ronald Williams
Address Redacted


Ronald Worden
Address Redacted


Ronald Young
Address Redacted


Roncalli Catholic School
Sioux Council 733
1400 N Dakota St
Aberdeen, SD 57401


Roncalli School System
Sioux Council 733
1400 N Dakota St
Aberdeen, SD 57401


Ronda Motl
Address Redacted


Ronda Smith
Address Redacted


Rondee Morris
Address Redacted


Ronkonkoma Fire Dept
Suffolk County Council Inc 404
177 Portion Rd
Lk Ronkonkoma, NY 11779


Ronkonkoma Jr High School
Suffolk County Council Inc 404
501 Peconic St
Ronkonkoma, NY 11779


Ronnie Daniel
Address Redacted


Ronnie Henighan
Address Redacted


Ronnie Mckinney
Address Redacted


Ronnie Scofield
Address Redacted


Ronnie Turpin
Address Redacted


Roosevelt Dads Club
San Francisco Bay Area Council 028
951 Dowling Blvd
San Leandro, CA 94577


Roosevelt Elementary PTA
Great Lakes Fsc 272
30200 Lyndon St
Livonia, MI 48154
Roosevelt Elementary PTA
Last Frontier Council 480
4250 W Tecumseh Rd
Norman, OK 73072


Roosevelt Elementary PTA
Three Harbors Council 636
2535 N 73rd St
Wauwatosa, WI 53213


Roosevelt Elementary School PTO
Southern Shores Fsc 783
2000 El Dorado Dr
Stevensville, MI 49127


Roosevelt Fire Dept
Theodore Roosevelt Council 386
56 W Centennial Ave
Roosevelt, NY 11575


Roosevelt Gardens Park
South Florida Council 084
2841 NW 11th St
Fort Lauderdale, FL 33311


Roosevelt High School Rotc
Greater St Louis Area Council 312
3230 Hartford St
Saint Louis, MO 63118


Roosevelt School PTO
Pathway To Adventure 456
1001 S Fairview Ave
Park Ridge, IL 60068


Roosevelt‐Wilson Tcisd
Bay Area Council 574
1401 9th Ave N
Texas City, TX 77590


Root Agricultural Advisory
Ore‐Ida Council 106 ‐ Bsa 106
9949 W Bienapfl Dr
Boise, ID 83709


Rootstown Utd Methodist Church
Great Trail 433
4065 State Route 44
Rootstown, OH 44272


Rope For Youth
Buffalo Trail Council 567
6 Desta Dr, Ste 2780
Midland, TX 79705


Rope Works, Inc
31560 Ranch Rd 12, Ste 209
Dripping Springs, TX 78620


Roper Mountain Baptist Church
300 Roper Mountain Rd
Greenville, SC 29615


Ropes   Gray, LLP
P.O. Box 414265
Boston, MA 02241‐4265


Ropes Park Equipment
1700 Post Rd, Ste C‐16
Fairfield, CT 06824


Ropes Park Equipment
31560 Ranch Rd, Ste 209
Dripping Springs, TX 78620


Ropes That Rescue
1400 Shangri La Dr
Oak Creek Canyon
Sedona, AZ 86336


Rory Alexander
Address Redacted
Rory O Donnell
Address Redacted


Rosa Calhoun
Address Redacted


Rosa Donaldson‐Moss
Address Redacted


Rosa Harris
Address Redacted


Rosa Madrigal
Address Redacted


Rosa Munoz
Address Redacted


Rosa Parks Elementary
Crossroads of America 160
7525 Wellingshire Blvd
Indianapolis, IN 46217


Rosa Sauceda
Address Redacted


Rosa Urena
Address Redacted


Rosalia Utd Methodist Church
Inland Nwest Council 611
P.O. Box 202
Rosalia, WA 99170


Rosalie Fields
Address Redacted
Rosalie Pyrih
Address Redacted


Rosalind Kephart
Address Redacted


Rosalind Thompson
Address Redacted


Rosalyn Dodson
Address Redacted


Rosanna Beach
Address Redacted


Rosanna Laduke
Address Redacted


Rosanna Voss
Address Redacted


Rosanne Juarez
Address Redacted


Rosanne Marshall
Address Redacted


Rosarian Academy
Gulf Stream Council 085
807 N Flagler Dr
West Palm Beach, FL 33401


Rosario Oppus
Address Redacted


Rosary Cathedral Catholic Church
Erie Shores Council 460
2544 Parkwood Ave
Toledo, OH 43610
Roscoe Lions Club
Glaciers Edge Council 620
7488 Timber Ridge Rd
Roscoe, IL 61073


Roscoe Utd Methodist Church
Glaciers Edge Council 620
10816 Main St
Roscoe, IL 61073


Roscoe Utd Methodist Men S Club
Glaciers Edge Council 620
10816 Main St
Roscoe, IL 61073


Rose Acres PTA
Greater St Louis Area Council 312
2905 Rose Acres Ln
Maryland Heights, MO 63043


Rose Berry
Address Redacted


Rose Brand Wipers
P.O. Box 1536
Secaucus, NJ 07096


Rose Browning
Address Redacted


Rose Buchanan
Address Redacted


Rose CityPark Utd Methodist Ch Mens Club
Cascade Pacific Council 492
5830 Ne Alameda St
Portland, Or 97213


Rose Costumes Inc
5800 I‐35N, Ste 508
Denton, TX 76207


Rose Evans
Address Redacted


Rose Everhart
Address Redacted


Rose Glen School PTO
Potawatomi Area Council 651
W273S3845 Brookhill Dr
Rose Glen School


Rose Glen School PTO
Potawatomi Area Council 651
W273S3845 Brookhill Dr
Waukesha, WI 53189


Rose Grange 1051
Seneca Waterways 397
State Route 414
North Rose, NY 14516


Rose Greenberg
Address Redacted


Rose Griffin
Address Redacted


Rose Hill Church
Chief Seattle Council 609
12202 NE 90th St
Kirkland, WA 98033


Rose Hill Conf Ctr
P.O. Box 1908
Rock Mount, NC 27802‐1908


Rose Hill Middle School
West Tennessee Area Council 559
2233 Beech Bluff Rd
Jackson, TN 38301


Rose Hill Utd Methodist Church
Quivira Council, Bsa 198
19551 SW Butler Rd
Rose Hill, KS 67133


Rose Hill Utd Methodist Church
Tuscarora Council 424
P.O. Box 177
Rose Hill, NC 28458


Rose Jablonski
Address Redacted


Rose Knorr
Address Redacted


Rose Marinaro
Address Redacted


Rose Restoration International Inc
2711, Unit L Dorr Ave
Fairfax, VA 22031


Rose Rohrbacher
Address Redacted


Rose Tabor
Address Redacted


Rose Teter
Address Redacted


Rose Tree Fire Co 1
Cradle of Liberty Council 525
Evergreen Ave
Upper Providence
Rose Uniforms, Inc
555 Olivia Way
Lafayette Hill, PA 19444


Rose Union Baptist Church
Blue Ridge Mtns Council 599
P.O. Box 45
Piney River, VA 22964


Rose Valley Folk
Cradle of Liberty Council 525
Old Mill Ln
Rose Valley, PA 19063


Roseann Yezzi
Address Redacted


Roseau Lions Club
Northern Lights Council 429
908 6th St Sw
Roseau, MN 56751


Rosebud Elementary
Northeast Georgia Council 101
4151 Rosebud Rd
Loganville, GA 30052


Roseburg Optimist Club
Oregon Trail Council 697
2015 SE Douglas Ave
Roseburg, OR 97470


Rosedale Gardens Presbyterian Church
Great Lakes Fsc 272
9601 Hubbard St
Livonia, MI 48150


Rosedale Highway Lions
Southern Sierra Council 030
P.O. Box 3037
Bakersfield, CA 93385


Rosedale Highway Lions Club
Southern Sierra Council 030
Rr 4 Box 3628
Bakersfield, CA 93314


Rosedale Hills Utd Methodist Church
Crossroads of America 160
4450 S Keystone Ave
Indianapolis, IN 46227


Rosedale Vfd
Laurel Highlands Council 527
5806 Verona Rd
Rosedale Vfd Is 2
Verona, PA 15147


Rosedale Volunteer Fire Dept Inc
Crossroads of America 160
P.O. Box 304
Rosedale, IN 47874


Rosehill Utd Methodist Church
Sam Houston Area Council 576
27619 Shannon Cir
Magnolia, TX 77355


Roseline Vazquez Diaz
Address Redacted


Rosella Shipley
Address Redacted


Roselle Fire Dept
Three Fires Council 127
100 E Maple Ave
Roselle, IL 60172


Roselle Police Dept ‐ Explorers
Three Fires Council 127
103 S Prospect St
Roselle, IL 60172


Roselle Utd Methodist Church
Three Fires Council 127
206 Rush St
Roselle, IL 60172


Rosemarie Clontz
Address Redacted


Rosemarie Mcgowan
Address Redacted


Rosemarie O Grady
Address Redacted


Rosemary Bernardo
Address Redacted


Rosemary Forbes
Address Redacted


Rosemary Galltin
Address Redacted


Rosemary Halcomb
Address Redacted


Rosemary Masanz
Address Redacted


Rosemary Masullo
Address Redacted


Rosemary Milutinovic
Address Redacted
Rosemary Morrison
Address Redacted


Rosemary Smith
Address Redacted


Rosemary Stuber
Address Redacted


Rosemary Tedesco
Address Redacted


Rosemary Therese Masanz
Address Redacted


Rosemont Baptist Church
Blue Grass Council 204
556 Rosemont Gdn
Lexington, KY 40503


Rosemont Elementary ‐ Gifw
Longhorn Council 662
1401 W Seminary Dr
Fort Worth, TX 76115


Rosemont Elementary PTA
Circle Ten Council 571
719 Montclair
Dallas, TX 75208


Rosemont Elementary School PTA
Central Florida Council 083
4650 Point Look Out Rd
Orlando, FL 32808


Rosemont Lutheran Church
Minsi Trails Council 502
1705 W Broad St
Bethlehem, PA 18018
Rosemont Middle School
Verdugo Hills Council 058
4725 Rosemont Ave
La Crescenta, CA 91214


Rosemont O Hare Hotel Ownership, LLC
dba Holiday Inn Express , Ste S O Hare
6600 N Mannheim Rd
Rosemont, IL 60018


Rosemount Fire Dept
Northern Star Council 250
2875 145th St W
Rosemount, MN 55068


Rosemount Utd Methodist Church
Northern Star Council 250
14770 Canada Ave W
Rosemount, MN 55068


Rosenauer Elementary School
Jersey Shore Council 341
60 Citadel Dr
Jackson, NJ 08527


Rosenberg Fire Dept
Sam Houston Area Council 576
4336 Hwy 36 S
Rosenberg, TX 77471


Rosenberg Police Dept
Sam Houston Area Council 576
2120 4th St
Rosenberg, TX 77471


Rosenberg Rotary Club
Sam Houston Area Council 576
9910 Fm 359 Rd
Richmond, TX 77406


Rosenblum Goldsmith Silverstein Zafft PC
7733 Forsyth Blvd 4th Fl
Clayton, MO 63105


Rosendale Tillson AL Post 1219
Rip Van Winkle Council 405
P.O. Box 103
Tillson, Ny 12486


Rosendo Robledo
Address Redacted


Rosenow School PTO
Bay‐Lakes Council 635
290 Weis Ave
Fond Du Lac, WI 54935


Rosenthal   Rosenthal, Inc
Jgr Copa, LLC
P.O. Box 88926
Chicago, IL 60695‐1926


Rosetown Memorial AL Post 542
Northern Star Council 250
700 County Rd C W
Roseville, Mn 55113


Rosetta Smith
Address Redacted


Roseville City School District
1050 Main St
Roseville, CA 95678


Roseville Elks Bpoe Lodge 2248
Golden Empire Council 047
P.O. Box 247
Roseville, CA 95678


Roseville Fire Dept
Northern Star Council 250
2701 Lexington Ave N
Roseville, MN 55113
Roseville Host Lions
Golden Empire Council 047
107 Sutter Ave
Roseville, CA 95678


Roseville Lions Club
Illowa Council 133
742 90th Ave
Roseville, IL 61473


Roseville Lutheran Church
Northern Star Council 250
1215 Roselawn Ave W
Roseville, MN 55113


Roseville Masonic Lodge 522
Great Lakes Fsc 272


Roseville Police Dept
Golden Empire Council 047
1051 Junction Blvd
Roseville, CA 95678


Roseville Police Dept
Northern Star Council 250
2260 Civic Center Dr
Roseville, MN 55113


Roseville Rotary Club
Golden Empire Council 047
107 Sutter Ave
Roseville, CA 95678


Roseville Utd Methodist Church
Illowa Council 133
201 W Union St
Roseville, IL 61473


Rosewell Butterworth
Address Redacted
Rosewood Heights Volunteer Fire Dept
Greater St Louis Area Council 312
45 E Airline Dr
East Alton, IL 62024


Rosewood Mansion On Turtle Creek
2821 Turtle Creek Blvd
Dallas, TX 75219


Rosewood Products, Inc
P.O. Box 1297
132 Nm Hwy 72
Raton, NM 87740


Rosholt Lions Club
Samoset Council, Bsa 627
P.O. Box 72
Rosholt, WI 54473


Rosie Zapien
Address Redacted


Roslyn Davidson
Address Redacted


Roslyn Rakosky
Address Redacted


Rosman Middle    High School
2770 Old Rosman Hwy
Rosman, NC 28772


Rosman Utd Methodist Church
Daniel Boone Council 414
95 Church St
Rosman, NC 28772


Rosol Dul Legion 359
Northern New Jersey Council, Bsa 333
1 Wall St
Passaic, NJ 07055


Ross A Munt
Address Redacted


Ross B Martin
Address Redacted


Ross B Robinson
Address Redacted


Ross Community Utd Methodist Church
Dan Beard Council, Bsa 438
2943 Hamilton Cleves Rd
Hamilton, OH 45013


Ross Hanneman Hawkeye Area Cncl 172
2725 29th St Sw
Cedar Rapids, IA 52404


Ross Harrop
Address Redacted


Ross L Colston/Cimarron Smokehouse
P.O. Box 285
301 E 9th St, Ste C
Cimarron, NM 87714


Ross Lucarell
Address Redacted


Ross Mccutcheon
Address Redacted


Ross Mcp Inc
101 NW 5th Ave
Fort Lauderdale, FL 33311
Ross Mcp Inc
Dept Ch 19693
Palantine, IL 60055‐9693


Ross Medical Education
Great Smoky Mountain Council 557
206 N Seven Oaks Dr
Knoxville, TN 37922


Ross Park Elementary PTO
President Gerald R Ford 781
121 Randall Rd
Muskegon, MI 49441


Ross Pfannenstiel
Address Redacted


Ross School PTA
Greater St Louis Area Council 312
1150 Ross Ave
Saint Louis, MO 63146


Ross School PTO
Greater St Louis Area Council 312
1150 Ross Ave
Saint Louis, MO 63146


Ross Tingle Jr
Address Redacted


Ross Utd Methodist Church
West Tennessee Area Council 559
101 Calcutt Ave
Dyersburg, TN 38024


Ross Valley Fire Dept
Marin Council 035
777 San Anselmo Ave
San Anselmo, CA 94960


Rossford Fire Dept
Erie Shores Council 460
133 Osborne St
Rossford, OH 43460


Rossford Utd Methodist Church
Erie Shores Council 460
270 Dixie Hwy
Rossford, OH 43460


Rossman School
Greater St Louis Area Council 312
12660 Conway Rd
Saint Louis, MO 63141


Rossville Presbyterian Church
Crossroads of America 160
5434 W State Rd 26
Rossville, IN 46065


Rossville Utd Methodist Church
Jayhawk Area Council 197
411 Spruce St
Rossville, KS 66533


Rossville Volunteer Firefighters
Crossroads of America 160
23 W Main St
Rossville, IN 46065


Roswell Bookbinding
2614 N 29th Ave
Phoenix, AZ 85009


Roswell Livestock Auction
P.O. Box 2041
Roswell, NM 88202


Roswell Police Dept
Conquistador Council Bsa 413
128 W 2nd St
Roswell, NM 88201
Roswell Presbyterian Church
Atlanta Area Council 092
755 Mimosa Blvd
Roswell, GA 30075


Roswell Utd Methodist Church
Atlanta Area Council 092
814 Mimosa Blvd
Roswell, GA 30075


Rotary   Kiwanis Clubs ‐ Ripon
Bay‐Lakes Council 635
617 Hillside Ter
Ripon, WI 54971


Rotary ‐ Blackfoot Rotary Club
Grand Teton Council 107
P.O. Box 502
Blackfoot, ID 83221


Rotary ‐ Clovis
Sequoia Council 027
P.O. Box 496
Clovis, CA 93613


Rotary ‐ Visalia
Sequoia Council 027
P.O. Box 1216
Visalia, CA 93279


Rotary Club
Andrew Jackson Council 303
105 Wall St
Lexington, MS 39095


Rotary Club
Central Minnesota 296
309 Main Ave S
P.O. Box
Park Rapids, MN 56470
Rotary Club
Circle Ten Council 571
501 Mckinney St
Farmersville, TX 75442


Rotary Club
Circle Ten Council 571
714 Ferris Ave
Waxahachie, TX 75165


Rotary Club
Cornhusker Council 324
71282 638 Ave
Humboldt, NE 68376


Rotary Club
Daniel Boone Council 414
53 Conley St
Waynesville, NC 28786


Rotary Club
East Carolina Council 426
P.O. Box 173
Farmville, NC 27828


Rotary Club
Great Trail 433
344 W Stsboro St
Hudson, OH 44236


Rotary Club
Pine Burr Area Council 304
P.O. Box 58
Pass Christian, MS 39571


Rotary Club
Puerto Rico Council 661
P.O. Box 394
Manati, PR 00674


Rotary Club
Pushmataha Area Council 691
P.O. Box 80002
Starkville, MS 39759


Rotary Club
Sagamore Council 162
405 W Moody Rd
Rensselaer, IN 47978


Rotary Club
Shenandoah Area Council 598
P.O. Box 85
Front Royal, VA 22630


Rotary Club
Westark Area Council 016
38 Martin St
Paris Rotary Club
Paris, AR 72855


Rotary Club   San Bruno Police
Pacific Skyline Council 031
1177 Huntington Ave E
San Bruno, CA 94066


Rotary Club ‐ Adel
Mid Iowa Council 177
735 S 14th St
Adel, IA 50003


Rotary Club ‐ Baudette
Voyageurs Area 286
P.O. Box 411
Baudette, MN 56623


Rotary Club ‐ Berlin
Bay‐Lakes Council 635
308 N Capron St
Berlin, WI 54923


Rotary Club ‐ Bloomfield
Mid Iowa Council 177
108 W Poplar St
Bloomfield, IA 52537


Rotary Club ‐ Dallas Center
Mid Iowa Council 177
P.O. Box 368
Dallas Center, IA 50063


Rotary Club ‐ Dickinson
Northern Lights Council 429
P.O. Box 809
Dickinson, ND 58602


Rotary Club ‐ Hornell
Five Rivers Council, Inc 375
P.O. Box 415
Hornell, NY 14843


Rotary Club ‐ Kewaunee
Bay‐Lakes Council 635
P.O. Box 215
1217 Ellis St
Kewaunee, WI 54216


Rotary Club ‐ Mayville
Bay‐Lakes Council 635
P.O. Box 134
Mayville, WI 53050


Rotary Club ‐ Rensselaer
Sagamore Council 162
2715 S College Ave
Rensselaer, IN 47978


Rotary Club ‐ Thiensville/Mequon
Bay‐Lakes Council 635
P.O. Box 104
Thiensville, WI 53092


Rotary Club ‐ Walker
Voyageurs Area 286
5811 White Spruce Ln Nw
Hackensack, MN 56452
Rotary Club ‐ Wautoma
Bay‐Lakes Council 635
P.O. Box 1045
200 W Main St
Wautoma, WI 54982


Rotary Club Baldwin City
Heart of America Council 307
4833 Nevada Rd
Baldwin City, KS 66006


Rotary Club Bridgeville‐S Fayette 5176
Laurel Highlands Council 527
P.O. Box 38
Bridgeville, Pa 15017


Rotary Club Carson City
Nevada Area Council 329
P.O. Box 504
Carson City, NV 89702


Rotary Club Chicago Ohare
Pathway To Adventure 456
2117 Irving Park Rd
Schiller Park, IL 60176


Rotary Club Clinton
Heart of America Council 307
P.O. Box 204
Clinton, MO 64735


Rotary Club E Greenbush/Rensselaer Elks
Twin Rivers Council 364
683 Columbia Tpke
Rensselaer Elks 2073
East Greenbush, Ny 12061


Rotary Club Fremont Warm Spgs Sunrise
San Francisco Bay Area Council 028
P.O. Box 14665
Fremont, Ca 94539
Rotary Club Gaylord
Twin Valley Council Bsa 283
209 Main Ave
Gaylord, MN 55334


Rotary Club Gaylord
Twin Valley Council Bsa 283
P.O. Box 295
209 Main Ave
Gaylord, MN 55334


Rotary Club Higginsville
Heart of America Council 307
2021 Main St
Higginsville, MO 64037


Rotary Club Lindale/1St Umc Lindale
East Texas Area Council 585
1113 S Main St
Lindale, TX 75771


Rotary Club Loyalton
Nevada Area Council 329
P.O. Box 218
Loyalton, CA 96118


Rotary Club Madelia
Twin Valley Council Bsa 283
83661 300th St
Madelia, MN 56062


Rotary Club Novato Sunrise
Marin Council 035
P.O. Box 356
Novato, CA 94948


Rotary Club Of Aberdeen 5852
Baltimore Area Council 220
P.O. Box 422
Aberdeen, MD 21001
Rotary Club Of Alameda
Alameda Council Bsa 022
P.O. Box 2403
Alameda, CA 94501


Rotary Club Of Alamo Meridian
Mt Diablo‐Silverado Council 023
P.O. Box 393
Alamo, CA 94507


Rotary Club Of Albany
Attn Danny Marsh
Pony Express Council 311
P.O. Box 39
Albany, MO 64402


Rotary Club Of Algiers
Southeast Louisiana Council 214
813 Heritage Ave
Terrytown, LA 70056


Rotary Club Of Allen Park
c/o Allen Park Presbyterian Church
Great Lakes Fsc 272
7101 Park Ave
Allen Park, MI 48101


Rotary Club Of Alturas
Crater Lake Council 491
P.O. Box 1095
Alturas, CA 96101


Rotary Club Of Anaheim Hills
Orange County Council 039
P.O. Box 27661
Anaheim, CA 92809


Rotary Club Of Apopka
Central Florida Council 083
P.O. Box 7
Apopka, FL 32704
Rotary Club Of Apple Valley
Northern Star Council 250
P.O. Box 240551
Apple Valley, MN 55124


Rotary Club Of Arcadia
Greater Los Angeles Area 033
501 S 1st Ave
Arcadia, CA 91006


Rotary Club Of Arlington
Mount Baker Council, Bsa 606
P.O. Box 3592
Arlington, WA 98223


Rotary Club Of Arlington Heights
Pathway To Adventure 456
P.O. Box 402
Arlington Heights, IL 60006


Rotary Club Of Arnold
Greater St Louis Area Council 312
No Mail
Arnold, MO 63010


Rotary Club Of Auburn
Golden Empire Council 047
410 Gold St
Auburn, CA 95603


Rotary Club Of Auburn Al
Chattahoochee Council 091
P.O. Box 852
Auburn, AL 36831


Rotary Club Of Auburndale
Greater Tampa Bay Area 089
P.O. Box 711
Auburndale, FL 33823


Rotary Club Of Austin Northeast
Capitol Area Council 564
3301 Nland Dr, Ste 315
Austin, TX 78731


Rotary Club Of Avalon
Long Beach Area Council 032
P.O. Box 444
Avalon, CA 90704


Rotary Club Of Barberton
Great Trail 433
500 W Hopocan Ave
P.O. Box 572
Barberton, OH 44203


Rotary Club Of Bellevue
Chief Seattle Council 609
P.O. Box 523
Bellevue, WA 98009


Rotary Club Of Bennettsville
Pee Dee Area Council 552
P.O. Box 494
Bennettsville, SC 29512


Rotary Club Of Big Sky
Montana Council 315
P.O. Box 161115
Big Sky, MT 59716


Rotary Club Of Bishop Sunrise
Southern Sierra Council 030
P.O. Box 212
Bishop, CA 93515


Rotary Club Of Boise City
Golden Spread Council 562
P.O. Box 501
Boise City, OK 73933


Rotary Club Of Brockport
Seneca Waterways 397
20 Tudor Rd
Brockport, NY 14420


Rotary Club Of Broken Arrow
Indian Nations Council 488
P.O. Box 893
Broken Arrow, OK 74013


Rotary Club Of Broomfield Colorado, Usa
Denver Area Council 061
P.O. Box 332
Broomfield, CO 80038


Rotary Club Of Burlington
Garden State Council 690
P.O. Box 494
Burlington, NJ 08016


Rotary Club Of Calistoga
Mt Diablo‐Silverado Council 023
P.O. Box 754
Calistoga, CA 94515


Rotary Club Of Campbell
Silicon Valley Monterey Bay 055
1101 S Winchester Blvd, Ste G173
San Jose, CA 95128


Rotary Club Of Canisteo
Five Rivers Council, Inc 375
P.O. Box 86
Canisteo, NY 14823


Rotary Club Of Carol Stream
Three Fires Council 127
195 Hiawatha Dr
Carol Stream, IL 60188


Rotary Club Of Castle Rock
Denver Area Council 061
P.O. Box 1045
Castle Rock, CO 80104
Rotary Club Of Castro Valley
San Francisco Bay Area Council 028
2490 Grove Way
Castro Valley, CA 94546


Rotary Club Of Cedar Park Leander
Capitol Area Council 564
P.O. Box 1446
Cedar Park, TX 78630


Rotary Club Of Chester
Connecticut Rivers Council, Bsa 066
P.O. Box 111
Chester, CT 06412


Rotary Club Of Claremont
Greater Los Angeles Area 033
P.O. Box 357
Claremont, CA 91711


Rotary Club Of Cleveland
Lake Erie Council 440
1122 Prospect Ave E
Cleveland, OH 44115


Rotary Club Of Cloquet
Voyageurs Area 286
P.O. Box 292
Cloquet, MN 55720


Rotary Club Of Cobleskill
Leatherstocking 400
P.O. Box 39
Cobleskill, NY 12043


Rotary Club Of Columbia Co
Cascade Pacific Council 492
P.O. Box 168
Saint Helens, OR 97051
Rotary Club Of Columbia County
Georgia‐Carolina 093
P.O. Box 211301
Augusta, GA 30917


Rotary Club Of Columbiaville
Water and Woods Council 782
4422 1st St
Columbiaville, MI 48421


Rotary Club Of Columbus
Glaciers Edge Council 620
Firemans Park
Scout Cabin
Columbus, WI 53925


Rotary Club Of Commack ‐ Kings Park
Suffolk County Council Inc 404
P.O. Box 96
Commack, NY 11725


Rotary Club Of Conifer
Denver Area Council 061
P.O. Box 1430
Conifer, CO 80433


Rotary Club Of Coon Rapids
Northern Star Council 250
9701 Avocet St Nw
Coon Rapids, MN 55433


Rotary Club Of Copperas Cove
Longhorn Council 662
Charter Rep Eric Armstrong
Copperas Cove, TX 76522


Rotary Club Of Coral Springs Parkland
South Florida Council 084
7401 Wiles Rd
Coral Springs, FL 33076


Rotary Club Of Cordelia
Mt Diablo‐Silverado Council 023
P.O. Box 771
Fairfield, CA 94533


Rotary Club Of Coto De Caza
Rancho Santa Margarita
Orange County Council 039
P.O. Box 81072
Rancho Santa Margarita, Ca 92688


Rotary Club Of Crete
Cornhusker Council 324
General Delivery
Crete, NE 68333


Rotary Club Of Culver City
W.L.A.C.C. 051
5426 Diller Ave
Culver City, CA 90230


Rotary Club Of Cupertino
Silicon Valley Monterey Bay 055
P.O. Box 637
Cupertino, CA 95015


Rotary Club Of Cypress‐Fairbanks
Sam Houston Area Council 576
P.O. Box 2937
Cypress, TX 77410


Rotary Club Of Dallas      Robert T Hill
Circle Ten Council 571
5430 Glen Lakes Dr
Dallas, TX 75231


Rotary Club Of Dallas Ga
Atlanta Area Council 092
P.O. Box 370
Dallas, GA 30132


Rotary Club Of Davis
Golden Empire Council 047
P.O. Box 185
Davis, CA 95617


Rotary Club Of Davisburg
Great Lakes Fsc 272
P.O. Box 96
Davisburg, MI 48350


Rotary Club Of Del Amo
Greater Los Angeles Area 033
30032 Via Rivera
Rancho Palos Verdes, CA 90275


Rotary Club Of Del Mar
San Diego Imperial Council 049
P.O. Box 552
Del Mar, CA 92014


Rotary Club Of Demopolis
Black Warrior Council 006
P.O. Box 1243
Demopolis, AL 36732


Rotary Club Of Denton   293
Del Mar Va 081
P.O. Box 293
Denton, MD 21629


Rotary Club Of District 7730 Passport
East Carolina Council 426


Rotary Club Of Dormont
Mtlebanon‐Castle Shannon 5182
C/O Mt. Lebanon United Methodist Church
Laurel Highlands Council 527
3319 W Liberty Ave
Pittsburgh, Pa 15216


Rotary Club Of East Fishkill
Hudson Valley Council 374
P.O. Box 1030
Hopewell Junction, NY 12533
Rotary Club Of East Lansing
Water and Woods Council 782
P.O. Box 4205
East Lansing, MI 48826


Rotary Club Of Ebensburg
Laurel Highlands Council 527
P.O. Box 231
Ebensburg, PA 15931


Rotary Club Of Eden Prairie
Northern Star Council 250
17200 W 67th C
Eden Prairie, MN 55346


Rotary Club Of Eden Prairie
Northern Star Council 250
17200 W 67th Cir
Eden Prairie, MN 55346


Rotary Club Of El Campo
Sam Houston Area Council 576
P.O. Box 66
El Campo, TX 77437


Rotary Club Of El Dorado Hills
Golden Empire Council 047
P.O. Box 5282
El Dorado Hills, CA 95762


Rotary Club Of El Segundo
Greater Los Angeles Area 033
P.O. Box 85
El Segundo, CA 90245


Rotary Club Of Elko Desert Sunrise
Nevada Area Council 329
P.O. Box 1241
Elko, NV 89803
Rotary Club Of Emporia
Jayhawk Area Council 197
P.O. Box 53
Emporia, KS 66801


Rotary Club Of Escondido
San Diego Imperial Council 049
P.O. Box 1822
Escondido, CA 92033


Rotary Club Of Essex
Connecticut Rivers Council, Bsa 066
P.O. Box 484
Essex, CT 06426


Rotary Club Of Fairbanks
Midnight Sun Council 696
P.O. Box 72114
Fairbanks, AK 99707


Rotary Club Of Fairfield
Northern New Jersey Council, Bsa 333
153 Big Piece Rd
Fairfield, NJ 07004


Rotary Club Of Fairfield‐Suisun
Mt Diablo‐Silverado Council 023
P.O. Box 477
Fairfield, CA 94533


Rotary Club Of Fall River
Narragansett 546
P.O. Box 1802
Fall River, MA 02722


Rotary Club Of Fallon Churchill Co
Nevada Area Council 329
1601 Tamara Ln
Fallon, NV 89406


Rotary Club Of Fillmore Sunrisers
Ventura County Council 057
P.O. Box 175
Fillmore, CA 93016


Rotary Club Of Folsom
Golden Empire Council 047
P.O. Box 756
Folsom, CA 95763


Rotary Club Of Fosston
Northern Lights Council 429
403 8th St Nw
Fosston, MN 56542


Rotary Club Of Foster City
Pacific Skyline Council 031
704 Ranger Cir
Foster City, CA 94404


Rotary Club Of Fox Lake Round Lake Area
Northeast Illinois 129
P.O. Box 763
Fox Lake, IL 60020


Rotary Club Of Franklin ‐ Daybreak
Daniel Boone Council 414
P.O. Box 967
Franklin, NC 28744


Rotary Club Of Fredericktowne
National Capital Area Council 082
P.O. Box 1720
Frederick, MD 21702


Rotary Club Of Frisco
Circle Ten Council 571
P.O. Box 130
Frisco, TX 75034


Rotary Club Of Gates Chili
Seneca Waterways 397
6854 Wgate Stn
Rochester, NY 14624
Rotary Club Of Gatlinburg
Great Smoky Mountain Council 557
P.O. Box 1144
Gatlinburg, TN 37738


Rotary Club Of Gaylord
President Gerald R Ford 781
P.O. Box 1084
Gaylord, MI 49734


Rotary Club Of Gig Harbor
Pacific Harbors Council, Bsa 612
2909 14th Ave Nw
Gig Harbor, WA 98335


Rotary Club Of Glendora
Greater Los Angeles Area 033
1822 E Route 66 206, Ste A
Glendora, CA 91740


Rotary Club Of Gonzales
Silicon Valley Monterey Bay 055
P.O. Box 277
Gonzales, CA 93926


Rotary Club Of Gorham
Seneca Waterways 397
4754 S St
Gorham, NY 14461


Rotary Club Of Great Barrington
Western Massachusetts Council 234
P.O. Box 565
Great Barrington, MA 01230


Rotary Club Of Greater Bend
Crater Lake Council 491
P.O. Box 6561
Bend, OR 97708
Rotary Club Of Greater Van Nuys
W.L.A.C.C. 051
12911 Jolette Ave
Granada Hills, CA 91344


Rotary Club Of Greeley ‐ Centennial
Longs Peak Council 062
P.O. Box 1472
Greeley, CO 80632


Rotary Club Of Hailey
Snake River Council 111
P.O. Box 2190
Hailey, ID 83333


Rotary Club Of Hallettsville
Capitol Area Council 564
367 Pvr Rd 1010
Hallettsville, TX 77964


Rotary Club Of Harker Heights
Longhorn Council 662
2412 Stillhouse Lake Rd
Harker Heights, TX 76548


Rotary Club Of Harrison
Westark Area Council 016
P.O. Box 835
Harrison, AR 72602


Rotary Club Of Hermosa Beach
Greater Los Angeles Area 033
2521 Valley Dr
Hermosa Beach, CA 90254


Rotary Club Of Hickam Pearl Harbor
Aloha Council, Bsa 104
98‐1943 Piki St
Aiea, HI 96701


Rotary Club Of High Springs
North Florida Council 087
P.O. Box 1462
High Springs, FL 32655


Rotary Club Of Highlands Harris
Sam Houston Area Council 576
P.O. Box 892
Highlands, TX 77562


Rotary Club Of Hollister
Silicon Valley Monterey Bay 055
P.O. Box 86
Hollister, CA 95024


Rotary Club Of Honeoye Falls Mendon
Seneca Waterways 397
P.O. Box 415
Honeoye Falls, NY 14472


Rotary Club Of Hudson
Great Trail 433
P.O. Box 323
Hudson, OH 44236


Rotary Club Of Huntington Beach
Orange County Council 039
P.O. Box 632
Huntington Beach, CA 92648


Rotary Club Of Hurricane
Utah National Parks 591
980 W State St
Hurricane, UT 84737


Rotary Club Of Indian Wells
California Inland Empire Council 045
P.O. Box 138
Indian Wells, CA 92201


Rotary Club Of Inverness Inc
Greater Tampa Bay Area 089
P.O. Box 1317
Inverness, FL 34451
Rotary Club Of Issaquah
Chief Seattle Council 609
P.O. Box 553
Issaquah, WA 98027


Rotary Club Of Jackson
Golden Empire Council 047
P.O. Box 1117
Jackson, CA 95642


Rotary Club Of Jackson
Greater St Louis Area Council 312
P.O. Box 414
Jackson, MO 63755


Rotary Club Of Jackson Hole
Grand Teton Council 107
P.O. Box 1584
Jackson, WY 83001


Rotary Club Of Johns Creek
Northeast Georgia Council 101
3651 Peachtree Pkwy, Ste E
Suwanee, GA 30024


Rotary Club Of Kennett Square
Chester County Council 539
P.O. Box 291
Kennett Square, PA 19348


Rotary Club Of Killeen
Longhorn Council 662
P.O. Box 1032
Killeen, TX 76540


Rotary Club Of King City
Silicon Valley Monterey Bay 055
39467 Metz Rd
King City, CA 93930
Rotary Club Of Lake Mahopac
Westchester Putnam 388
P.O. Box 157
Mahopac, NY 10541


Rotary Club Of Lake Placid
Greater Tampa Bay Area 089
P.O. Box 312
Lake Placid, FL 33862


Rotary Club Of Lake Stevens
Mount Baker Council, Bsa 606
P.O. Box 908
Lake Stevens, WA 98258


Rotary Club Of Lathrop
Pony Express Council 311
615 Oak St
Lathrop, MO 64465


Rotary Club Of Lebanon
c/o Conrad Steinhoff
Greater St Louis Area Council 312
513 W Main St
Lebanon, IL 62254


Rotary Club Of Leesburg
National Capital Area Council 082
P.O. Box 771
Leesburg, VA 20178


Rotary Club Of Lehi
Utah National Parks 591
401 W 2730 N
Lehi, UT 84043


Rotary Club Of Lewis River
Cascade Pacific Council 492
P.O. Box 1498
Battle Ground, WA 98604


Rotary Club Of Lexington
Overland Trails 322
P.O. Box 781
Lexington, NE 68850


Rotary Club Of Liberty
Old N State Council 070
128 S Fayetteville St
Liberty, NC 27298


Rotary Club Of Lillington Nc
Occoneechee 421
P.O. Box 382
Lillington, NC 27546


Rotary Club Of Livermore
San Francisco Bay Area Council 028
P.O. Box 694
Livermore, CA 94551


Rotary Club Of Livermore Valley
San Francisco Bay Area Council 028
P.O. Box 3266
Livermore, CA 94551


Rotary Club Of Long Meadows
Mason Dixon Council 221
P.O. Box 2121
Hagerstown, MD 21742


Rotary Club Of Los Alamitos / Seal Beach
Orange County Council 039
P.O. Box 83
Los Alamitos, CA 90720


Rotary Club Of Los Altos
Pacific Skyline Council 031
P.O. Box 794
Los Altos, CA 94023


Rotary Club Of Los Altos Sunset
Pacific Skyline Council 031
P.O. Box 465
Los Altos, CA 94023


Rotary Club Of Los Gatos
Silicon Valley Monterey Bay 055
P.O. Box 1018
Los Gatos, CA 95031


Rotary Club Of Los Lunas
Great Swest Council 412
P.O. Box 300
Peralta, NM 87042


Rotary Club Of Lynden ‐ Mt Baker
Mount Baker Council, Bsa 606
P.O. Box 52
Lynden, WA 98264


Rotary Club Of Lynnwood
Mount Baker Council, Bsa 606
P.O. Box 5856
Lynnwood, WA 98046


Rotary Club Of Manhattan Beach
Greater Los Angeles Area 033
P.O. Box 691
Manhattan Beach, CA 90266


Rotary Club Of Marathon Inc
P.O. Box 522666
Marathon Shores, FL 33052


Rotary Club Of Mascoutah
Greater St Louis Area Council 312
1248 W Main St
Mascoutah, IL 62258


Rotary Club Of Mcminnville
Middle Tennessee Council 560
P.O. Box 7001
Mc Minnville, TN 37111
Rotary Club Of Melville
Suffolk County Council Inc 404
P.O. Box 731
Melville, NY 11747


Rotary Club Of Mercer Island
Chief Seattle Council 609
P.O. Box 1
Mercer Island, WA 98040


Rotary Club Of Middleport
Iroquois Trail Council 376
P.O. Box 188
Middleport, NY 14105


Rotary Club Of Mill Valley
Marin Council 035
P.O. Box 506
Mill Valley, CA 94942


Rotary Club Of Mill Valley
Marin Council 035
P.O. Box 547
Mill Valley, CA 94942


Rotary Club Of Millen
Georgia‐Carolina 093
P.O. Box 1112
Millen, GA 30442


Rotary Club Of Milwaukee‐North Shore
Three Harbors Council 636
8377 N Port Washington Rd
Milwaukee, WI 53217


Rotary Club Of Mobridge
Sioux Council 733
519 W Grand Xing
Mobridge, SD 57601


Rotary Club Of Molalla
Cascade Pacific Council 492
P.O. Box 313
Molalla, OR 97038


Rotary Club Of Montgomery Village
National Capital Area Council 082
P.O. Box 2920
Montgomery Village, MD 20886


Rotary Club Of Moorhead Mn
Northern Lights Council 429
P.O. Box 72
Moorhead, MN 56561


Rotary Club Of Moreno Valley
California Inland Empire Council 045
P.O. Box 297
Moreno Valley, CA 92556


Rotary Club Of Morrill
Longs Peak Council 062
523 2nd St
Morrill, NE 69358


Rotary Club Of Mount Laurel
c/o Mr. Jarry Jones
Garden State Council 690
4515 Church Rd
Mount Laurel, NJ 08054


Rotary Club Of Mountain‐Foothills
Denver Area Council 061
P.O. Box 1918
Evergreen, CO 80437


Rotary Club Of Mt Laurel
Garden State Council 690
Hilton Inn
Mount Laurel, NJ 08054


Rotary Club Of Newberg Noon
Cascade Pacific Council 492
P.O. Box 30
Newberg, OR 97132


Rotary Club Of Newberry
Blue Ridge Council 551
P.O. Box 422
Newberry, SC 29108


Rotary Club Of Newton
Greater St Louis Area Council 312
603 W Marion St
Newton, IL 62448


Rotary Club Of North Branch
Northern Star Council 250
P.O. Box 123
North Branch, MN 55056


Rotary Club Of North Chicago
Northeast Illinois 129
P.O. Box 315
North Chicago, IL 60064


Rotary Club Of O Fallon
Greater St Louis Area Council 312
P.O. Box 174
O Fallon, IL 62269


Rotary Club Of Oak Harbor
Mount Baker Council, Bsa 606
P.O. Box 442
Oak Harbor, WA 98277


Rotary Club Of Oconee County
Northeast Georgia Council 101
P.O. Box 76
Watkinsville, GA 30677


Rotary Club Of Oconomowoc
Potawatomi Area Council 651
P.O. Box 112
Oconomowoc, WI 53066
Rotary Club Of Ojai
Ventura County Council 057
P.O. Box 511
Ojai, CA 93024


Rotary Club Of Ontario‐Montclair
California Inland Empire Council 045
P.O. Box 4791
Ontario, CA 91761


Rotary Club Of Orange
Stonewall Jackson Council 763
11287 Liberty Mills Rd
Orange, VA 22960


Rotary Club Of Orange
Stonewall Jackson Council 763
139 N Almond St
Orange, VA 22960


Rotary Club Of Orange/Orange Pd
Orange County Council 039
P.O. Box 5882
300 S Flower St
Orange, CA 92868


Rotary Club Of Oregon City
Cascade Pacific Council 492
P.O. Box 1552
Oregon City, OR 97045


Rotary Club Of Orinda
Mt Diablo‐Silverado Council 023
P.O. Box 44
Orinda, CA 94563


Rotary Club Of Oswego Il
Three Fires Council 127
P.O. Box 982
Oswego, IL 60543
Rotary Club Of Pacific Grove
Silicon Valley Monterey Bay 055
P.O. Box 51
Pacific Grove, CA 93950


Rotary Club Of Pacific Palisades
W.L.A.C.C. 051
P.O. Box 114
Pacific Palisades, CA 90272


Rotary Club Of Palacios 2000
Sam Houston Area Council 576
P.O. Box 196
Palacios, TX 77465


Rotary Club Of Palestine
Fumc Of Palestine
East Texas Area Council 585
P.O. Box 521
Palestine, Tx 75802


Rotary Club Of Palo Alto
Pacific Skyline Council 031
P.O. Box 592
Palo Alto, CA 94302


Rotary Club Of Palos Verdes Peninsula
Greater Los Angeles Area 033
P.O. Box 296
Palos Verdes Estates, CA 90274


Rotary Club Of Paso Robles
Los Padres Council 053
P.O. Box 3641
Paso Robles, CA 93447


Rotary Club Of Petaluma
Redwood Empire Council 041
P.O. Box 5655
Petaluma, CA 94955


Rotary Club Of Piedmont
Greater St Louis Area Council 312
P.O. Box 412
Piedmont, MO 63957


Rotary Club Of Pittsford Ny
Seneca Waterways 397
P.O. Box 368
Pittsford, NY 14534


Rotary Club Of Pleasant Hill
Mt Diablo‐Silverado Council 023
P.O. Box 2332
Pleasant Hill, CA 94523


Rotary Club Of Pleasanton
San Francisco Bay Area Council 028
5260 Ridgevale Way
Pleasanton, CA 94566


Rotary Club Of Pleasanton North
San Francisco Bay Area Council 028
P.O. Box 1142
Pleasanton, CA 94566


Rotary Club Of Plymouth, Inc
Mayflower Council 251
P.O. Box 927
Plymouth, MA 02362


Rotary Club Of Portland Pearl
Cascade Pacific Council 492
1006 SE Grand Ave, Ste 300
Portland, OR 97214


Rotary Club Of Poteet
Alamo Area Council 583
P.O. Box 257
Poteet, TX 78065


Rotary Club Of Poway
San Diego Imperial Council 049
P.O. Box 184
Poway, CA 92074


Rotary Club Of Red Bluff
Golden Empire Council 047
22500 Saron Fruit Colony Rd
Red Bluff, CA 96080


Rotary Club Of Redding
Golden Empire Council 047
1890 Park Marina Dr, Ste 217
Redding, CA 96001


Rotary Club Of Rhinebeck 4994
Hudson Valley Council 374
P.O. Box 607
Rhinebeck, NY 12572


Rotary Club Of Ridgefield
Connecticut Yankee Council Bsa 072
170 Neds Mountain Rd
Ridgefield, CT 06877


Rotary Club Of Rock Island
Illowa Council 133
P.O. Box 4514
Rock Island, IL 61204


Rotary Club Of Rockport
South Texas Council 577
P.O. Box 2094
Rockport, TX 78381


Rotary Club Of Rockville
National Capital Area Council 082
P.O. Box 4100
Rockville, MD 20849


Rotary Club Of Romeo
Great Lakes Fsc 272
P.O. Box 571
Romeo, MI 48065
Rotary Club Of Roosevelt
Utah National Parks 591
565 Areva Rd
Roosevelt, UT 84066


Rotary Club Of Roselle‐Roselle Park
Patriots Path Council 358
P.O. Box 6
Roselle Park, NJ 07204


Rotary Club Of Roseville
Golden Empire Council 047
P.O. Box 57
Roseville, CA 95678


Rotary Club Of Saint Cloud
Central Florida Council 083
P.O. Box 702483
Saint Cloud, FL 34770


Rotary Club Of Saint Helena
Mt Diablo‐Silverado Council 023
1150 Valley View St
Saint Helena, CA 94574


Rotary Club Of Salisbury
Del Mar Va 081
P.O. Box 735
Salisbury, MD 21803


Rotary Club Of San Clemente
Orange County Council 039
P.O. Box 4
San Clemente, CA 92674


Rotary Club Of San Jose
Silicon Valley Monterey Bay 055
1690 Senter Rd
San Jose, CA 95112


Rotary Club Of San Marino
Greater Los Angeles Area 033
P.O. Box 80301
San Marino, CA 91118


Rotary Club Of Santa Clara
Silicon Valley Monterey Bay 055
P.O. Box 111
Santa Clara, CA 95052


Rotary Club Of Santa Rosa West
Redwood Empire Council 041
P.O. Box 6792
Santa Rosa, CA 95406


Rotary Club Of Saratoga
Silicon Valley Monterey Bay 055
P.O. Box 96
Saratoga, CA 95071


Rotary Club Of Sayville
Suffolk County Council Inc 404
107 Manton St
Sayville, NY 11782


Rotary Club Of Scotts Valley
Silicon Valley Monterey Bay 055
P.O. Box 66781
Scotts Valley, CA 95067


Rotary Club Of Seattle Northeast
Chief Seattle Council 609
P.O. Box 25688
Seattle, WA 98165


Rotary Club Of Sheridan
Cascade Pacific Council 492
General Delivery
Sheridan, OR 97378


Rotary Club Of Sherwood
Cascade Pacific Council 492
P.O. Box 683
Sherwood, OR 97140


Rotary Club Of Simi Sunrise
Ventura County Council 057
P.O. Box 11
Simi Valley, CA 93062


Rotary Club Of Simi Sunset
Ventura County Council 057
P.O. Box 941198
Simi Valley, CA 93094


Rotary Club Of Simsbury And Granby
Connecticut Rivers Council, Bsa 066
P.O. Box 251
Simsbury, CT 06070


Rotary Club Of Skaneateles
Longhouse Council 373
103 E Genesee St
Skaneateles, NY 13152


Rotary Club Of Smithtown
Suffolk County Council Inc 404
P.O. Box 501
Smithtown, NY 11787


Rotary Club Of Smyrna/Clayton
Del Mar Va 081
272 E Mount Vernon St
Smyrna, DE 19977


Rotary Club Of Somers
Connecticut Rivers Council, Bsa 066
P.O. Box 2
Somers, CT 06071


Rotary Club Of Sonoma Valley
Redwood Empire Council 041
P.O. Box 910
Sonoma, CA 95476
Rotary Club Of Southampton
Suffolk County Council Inc 404
P.O. Box 1230
Water Mill, NY 11976


Rotary Club Of Southeast San Diego
San Diego Imperial Council 049
P.O. Box 740589
San Diego, CA 92174


Rotary Club Of Southern Frederick Co
National Capital Area Council 082
P.O. Box 466
New Market, MD 21774


Rotary Club Of Southold
Suffolk County Council Inc 404
P.O. Box 67
Peconic, NY 11958


Rotary Club Of Southside Corpus Christi
South Texas Council 577
P.O. Box 8902
Corpus Christi, TX 78468


Rotary Club Of Sparks Centennial Sunrise
Nevada Area Council 329
P.O. Box 51390
Sparks, NV 89435


Rotary Club Of Sparta
Middle Tennessee Council 560
P.O. Box 57
Sparta, TN 38583


Rotary Club Of Springfield South
Abraham Lincoln Council 144
1700 S Spring St
Springfield, IL 62704


Rotary Club Of St George Utah
Utah National Parks 591
P.O. Box 1423
Saint George, UT 84771


Rotary Club Of Stamford
Connecticut Yankee Council Bsa 072
P.O. Box 8026
Stamford, CT 06905


Rotary Club Of Stony Brook
c/o Tim Kelly
Suffolk County Council Inc 404
P.O. Box 1091
Stony Brook, NY 11790


Rotary Club Of Strongsville
Lake Erie Council 440
P.O. Box 360401
Strongsville, OH 44136


Rotary Club Of Sylva
Daniel Boone Council 414
P.O. Box 465
Sylva, NC 28779


Rotary Club Of Tahoe ‐ Incline
Nevada Area Council 329
P.O. Box 4990
Incline Village, NV 89450


Rotary Club Of Taylor
Great Lakes Fsc 272
21000 N Ere Rd
Taylor, MI 48180


Rotary Club Of Temecula
California Inland Empire Council 045
P.O. Box 64
Temecula, CA 92593


Rotary Club Of The Abingtons
Northeastern Pennsylvania Council 501
Raddison Hotel
820 Nern Blvd
Clarks Summit, PA 18411


Rotary Club Of The Delta‐Antioch
Mt Diablo‐Silverado Council 023
4747 Copper Hill Ct
Antioch, CA 94531


Rotary Club Of The High Desert
California Inland Empire Council 045
P.O. Box 376
Victorville, CA 92393


Rotary Club Of The Pocono Mountains
Minsi Trails Council 502
108 Ladderback Ln
Annelizabeth Messina
Cresco, PA 18326


Rotary Club Of The Ronkonkomas
Suffolk County Council Inc 404
P.O. Box 2717
Ronkonkoma, NY 11779


Rotary Club Of The Upper Keys Inc
P.O. Box 1514
Tavernier, FL 33070


Rotary Club Of Thousand Oaks
Ventura County Council 057
P.O. Box 1225
Thousand Oaks, CA 91358


Rotary Club Of Tigard
Cascade Pacific Council 492
P.O. Box 23491
Portland, OR 97281


Rotary Club Of Tigard Breakfast
Cascade Pacific Council 492
P.O. Box 23214
Portland, OR 97281


Rotary Club Of Tucson Inc
Catalina Council 011
3454 E Calle Del Prado
Tucson, AZ 85716


Rotary Club Of Tucson Inc
Catalina Council 011
3900 E Timrod St, Ste 4
Tucson, AZ 85711


Rotary Club Of Union
Patriots Path Council 358
730 Morris Ave
Union, NJ 07083


Rotary Club Of Union Missouri
Greater St Louis Area Council 312
P.O. Box 37
Union, MO 63084


Rotary Club Of Valparaiso 3391
Lasalle Council 165
P.O. Box 522
Valparaiso, IN 46384


Rotary Club Of Vandalia Corp Pinewood
Miami Valley Council, Bsa 444
P.O. Box 344
Vandalia, OH 45377


Rotary Club Of Vienna
National Capital Area Council 082
P.O. Box 545
Vienna, VA 22183


Rotary Club Of Villa Park
Orange County Council 039
17853 Santiago Blvd, Ste 107
Villa Park, CA 92861
Rotary Club Of Wabasha
c/o Bradd Busch
Gamehaven 299
1219 River Dr S
Wabasha, MN 55981


Rotary Club Of Walnut Creek
Mt Diablo‐Silverado Council 023
P.O. Box 4191
Walnut Creek, CA 94596


Rotary Club Of Watsonville
Silicon Valley Monterey Bay 055
P.O. Box 282
Watsonville, CA 95077


Rotary Club Of Waukegan
Northeast Illinois 129
P.O. Box 8728
Waukegan, IL 60079


Rotary Club Of Weaverville
Golden Empire Council 047
P.O. Box 1268
Weaverville, CA 96093


Rotary Club Of Wesley Chapel
Greater Tampa Bay Area 089
27221 State Rd 56 PMB 206
Wesley Chapel, FL 33544


Rotary Club Of Wesley Chapel, Inc
Greater Tampa Bay Area 089
P.O. Box 7459
Wesley Chapel, FL 33545


Rotary Club Of West Anne Arundel County
Baltimore Area Council 220
1121 Annapolis Rd PMB 175
Odenton, MD 21113
Rotary Club Of West El Paso
Yucca Council 573
P.O. Box 13164
El Paso, TX 79913


Rotary Club Of West Lancaster
W.L.A.C.C. 051
P.O. Box 1865
Lancaster, CA 93539


Rotary Club Of West Nyack
Hudson Valley Council 374
P.O. Box 35
West Nyack, NY 10994


Rotary Club Of West Springfield
National Capital Area Council 082
P.O. Box 2097
Springfield, VA 22152


Rotary Club Of West St Louis County
Greater St Louis Area Council 312
P.O. Box 1431
Ballwin, MO 63022


Rotary Club Of Westerville Sunrise
Simon Kenton Council 441
P.O. Box 1200
Westerville, OH 43086


Rotary Club Of Westfield
Crossroads of America 160
1072 Pawtucket Dr
Westfield, IN 46074


Rotary Club Of Westhampton
Suffolk County Council Inc 404
P.O. Box 324
Westhampton, NY 11977


Rotary Club Of Whidbey ‐ Westside
Mount Baker Council, Bsa 606
P.O. Box 1351
Langley, WA 98260


Rotary Club Of Wilsonville
Cascade Pacific Council 492
P.O. Box 44
Aurora, OR 97002


Rotary Club Of Winnsboro
Indian Waters Council 553
163 Pineneedle Ln
Winnsboro, SC 29180


Rotary Club Of Wis Rapids
Samoset Council, Bsa 627
1920 90th St N
Wisconsin Rapids, WI 54494


Rotary Club Of Wynne
Quapaw Area Council 018
P.O. Box 9
Wynne, AR 72396


Rotary Club Of Yuba City
Golden Empire Council 047
950 Tharp Rd Bldg 100, Ste 101
Yuba City, CA 95993


Rotary Club Of Zephyrhills
Greater Tampa Bay Area 089
P.O. Box 278
Crystal Springs, FL 33524


Rotary Club Overland Park
Heart of America Council 307
P.O. Box 7558
Overland Park, KS 66207


Rotary Club Overland Park South
Heart of America Council 307
P.O. Box 27075
Overland Park, KS 66225
Rotary Club Purcellville
National Capital Area Council 082
P.O. Box 1311
Purcellville, VA 20134


Rotary Club San Diego North
San Diego Imperial Council 049
11630 Carmel Mountain Rd
San Diego, CA 92128


Rotary Club Schaumburg‐Hoffman Estates
Pathway To Adventure 456
955 Knightsbridge Ln
Hoffman Estates, Il 60195


Rotary Club Shawnee Mission
Heart of America Council 307
P.O. Box 1009
Mission, KS 66222


Rotary Club Weatherford
Last Frontier Council 480
P.O. Box 93
Weatherford, OK 73096


Rotary Club Weston
Heart of America Council 307
P.O. Box 8
Weston, MO 64098


Rotary Club/Kiwanis Of Cheboygan
President Gerald R Ford 781
P.O. Box 630
Cheboygan, MI 49721


Rotary Club‐Green Lake
c/o Orlo Bierman
Bay‐Lakes Council 635
W760 Pond Ln
Green Lake, WI 54941
Rotary Foundation Of Battle Ground
Cascade Pacific Council 492
P.O. Box 131
Battle Ground, WA 98604


Rotary International
Northern Lights Council 429
P.O. Box 519
Valley City, ND 58072


Rotary International ‐ Big Sandy
Montana Council 315
P.O. Box 224
Big Sandy, MT 59520


Rotary International District 7550
dba Beckley Rotary Club
P.O. Box 5151
Beckley, WV 25801


Rotary International Mount Shasta
Crater Lake Council 491
P.O. Box 158
Mount Shasta, CA 96067


Rotary Novi Utd Methodist Ch Mens Club
Great Lakes Fsc 272
41671 W 10 Mile Rd
Novi, Mi 48375


Rotary Of Canton
Buckeye Council 436
203 Cleveland Ave Nw
Canton, OH 44702


Rotary Of Southern Ulster
Rip Van Winkle Council 405
P.O. Box 839
Plattekill, NY 12568


Rotary Scout Reservation
Twin Rivers Council 364
279 Davitt Lake Rd
Averill Park, NY 12018


Rotary‐Lions Scout Committee
Quivira Council, Bsa 198
P.O. Box 232
115 Pembroke Pl
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Roto‐Rooter
3817 Conflans
Irving, TX 75061


Rotterdam Elks 2157
Twin Rivers Council 364
1152 Curry Rd
Rotterdam, NY 12306


Rotterdam Utd Methodist Church
Twin Rivers Council 364
1915 Helderberg Ave
Schenectady, NY 12306
Rough Creek Operating LP
Rough Creek Lodge
P.O. Box 2400
Glen Rose, TX 76043


Round Grove Utd Church
Longhorn Council 662
249 E Round Grove Rd
Lewisville, TX 75067


Round Hill Community Church
Greenwich 067
395 Round Hill Rd
Greenwich, CT 06831


Round Hill Utd Methodist Church
National Capital Area Council 082
P.O. Box 51
11 W Loudoun St


Round Hill Utd Methodist Church
National Capital Area Council 082
P.O. Box 51
Round Hill, VA 20142


Round Lake Fire Dept
Twin Rivers Council 364
13 Curry Ave
Round Lake, NY 12151


Round Lake Senior High School
Northeast Illinois 129
800 High School Dr
Round Lake, IL 60073


Round Rock Fire Dept
Capitol Area Council 564
203 Commerce Blvd
Round Rock, TX 78664


Round Rock Gifted   Adv Academies PTA
Capitol Area Council 564
1311 Round Rock Ave
Round Rock, Tx 78681


Round Rock Isd
Capitol Area Council 564
2920 Round Rock Ranch Blvd
Round Rock, TX 78664


Round Rock Kiwanis Club
Capitol Area Council 564
P.O. Box 1203
Round Rock, TX 78680


Round Rock Police Dept
Capitol Area Council 564
2701 N Mays St
Round Rock, TX 78665


Round Rock Presbyterian Church   Pcusa
Capitol Area Council 564
4010 Sam Bass Rd
Round Rock, TX 78681


Round Rock Rotary Club
Capitol Area Council 564
216 E Main St
Round Rock, TX 78664


Roundup Sportsman S Assoc
Montana Council 315
P.O. Box 525
Roundup, MT 59072


Rountree PTA
Ozark Trails Council 306
1333 E Grand St
Springfield, MO 65804


Rouse Fountain
Address Redacted
Route 46 Management Assoc Corp
dba Hyatt Pl
5500 W Bradbury Ave
Indianapolis, IN 46241


Route 46 Management Assoc Corp
dba Hyatt Pl
71 S Wacker Dr
Chicago, IL 60606


Routh Roach PTA
Circle Ten Council 571
1811 Mayfield Ave
Garland, TX 75041


Rover School PTA
Grand Canyon Council 010
1300 E Watson Dr
Tempe, AZ 85283


Rovin Inc
dba Babes Chicken Dinner House‐Roanoke
107 Hillside Dr, Ste 101
Lewisville, TX 75057


Rowan County Sheriff S Office
Central N Carolina Council 416
232 N Main St
Salisbury, NC 28144


Rowan University
Attn Bursars Office
201 Mullica Hill Rd, Savitz Hall
Glassboro, NJ 08028


Rowena Gran
Address Redacted


Rowlett Citizen Corps Council
Circle Ten Council 571
4701 Rowlett Rd
Fire Admin Bldg.
Rowlett, TX 75088


Roxann H Oberholtzer
Address Redacted


Roxanne Schrier
Address Redacted


Roxborough Baptist Church
Cradle of Liberty Council 525
6035 Ridge Ave
Philadelphia, PA 19128


Roxbury St Paul S
United Methodist Church
Laurel Highlands Council 527
160 Derby St
Johnstown, Pa 15905


Roxbury Volunteer Fire Dept
Leatherstocking 400
53613 State Hwy 30
P.O. Box 514
Roxbury, NY 12474


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Address Redacted


Roy And Dora Whitman Academy
Transatlantic Council, Bsa 802
624 Cosgrove Ave
Chapel Hill, NC 27514


Roy Cassel Jr
Address Redacted


Roy Cole
Address Redacted


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Ozark Trails Council 306
P.O. Box 139
Lockwood, MO 65682


Roy Harris
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Roy Johnson
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Roy L Williams
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Roy Landsberger
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Roy Mcginnis
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Roy Ramsey
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Roy S Roberts
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Roy Smith Jr
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Roy Snyder
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Roy V Moore
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Roy Williams
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Royal Battery Distributors Inc
11411 NW 107th St, Ste 13
Miami, FL 33178


Royal Cavaliers Performing Arts
Verdugo Hills Council 058
1440 N Kenwood St
Burbank, CA 91505


Royal Center Umc
Sagamore Council 162
P.O. Box 397
Royal Center, IN 46978


Royal Chapel Church Of God
Piedmont Council 420
7190 George Hildebran Rd
Rd
Hickory, NC 28602


Royal Chopstick Restaurant
1600 Marketplace Blvd
Irving, TX 75063


Royal Fitness LLC
Theodore Roosevelt Council 386
148 Gardiners Ave
Levittown, NY 11756


Royal Furniture
1757 Overseas Hwy
Marathon, FL 33050


Royal Furniture‐Key Largo
P.O. Box 3175
Key Largo, FL 33037
Royal Geographical Society Wth Ibg
1 Kensington Gore
London, Sw7 2Ar
United Kingdom


Royal Haven Baptist Church
Circle Ten Council 571
3700 Valley View Ln
Farmers Branch, TX 75244


Royal Missionary Baptist Church
Coastal Carolina Council 550
4761 Luella Ave
North Charleston, SC 29405


Royal Oak Detroit Elks Lodge 34
Great Lakes Fsc 272
2401 E 4th St
Royal Oak, MI 48067


Royal Oak Foundation Inc
20 W 44th St, Ste 606
New York, NY 10036


Royal Oak Nature Society
c/o Royal Oak Nature Society
Great Lakes Fsc 272
1600 N Campbell Rd
Royal Oak, MI 48067


Royal Oak Nature Society
Great Lakes Fsc 272
211 S Williams St
Royal Oak, MI 48067


Royal Oaks School Community Org
Glaciers Edge Council 620
2215 Pennsylvania Ave
Sun Prairie, WI 53590
Royal Office Products
P.O. Box 2403
Bedford Park, IL 60499‐2043


Royal Orleans Hotel Partners LLC
Omni Royal Orleans Hotel
621 St Louis St
New Orleans, LA 70140


Royal Palm Beach High School Student Co
Gulf Stream Council 085
10600 Okeechobee Blvd
West Palm Beach, FL 33411


Royal Palm Beach Rotary
Gulf Stream Council 085
11471 Sage Meadow Ter
Royal Palm Beach, FL 33411


Royal Palm Beach Rotary Club
Gulf Stream Council 085
11471 Sage Meadow Ter
Royal Palm Beach, FL 33411


Royal Palm Exceptional School
Southwest Florida Council 088
3050 Indian St
Fort Myers, FL 33916


Royal Praise Ministries
Piedmont Council 420
2055 Shelby Rd
Kings Mountain, NC 28086


Royal Publishing
7620 N Harker Dr
Peoria, IL 61615‐1849


Royal Redeemer Lutheran Church
Dan Beard Council, Bsa 438
7127 Dutchland Pkwy
Liberty Township, OH 45044
Royal Redeemer Lutheran Church
Lake Erie Council 440
11680 Royalton Rd
North Royalton, OH 44133


Royal Robbins, LLC
1900 Taylor Ave
Louisville, CO 80027


Royal Tire Inc
Nw 7828
P.O. Box 1450
Minneapolis, MN 55485‐7828


Royall B Frazier
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Royalton Lions Club
Central Minnesota 296
18605 Ideal Rd
Royalton, MN 56373


Royce Copeland
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Royce Fox
Address Redacted


Royce L Allen
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Roychester Community House Committee
c/o James Alekna
Cradle of Liberty Council 525
Abington, PA 19001


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Royle Printing Co
P.O. Box 750
Sun Prairie, WI 53590


Royston 1St Utd Methodist Church
Northeast Georgia Council 101
137 Franklin Springs St
Royston, GA 30662


Royston Police Dept
Northeast Georgia Council 101
830 Church St
Royston, GA 30662


Rpe Outsourcing, LLC
10150 Highland Manor Dr, Ste 330
Tampa, FL 33610


Rpe Outsourcing, LLC
20537 Amberfield Dr
Land O Lakes, FL 34638


Rps
5445 Main St No 201
Stephens City, VA 22655‐2800


Rps Reliable Property Services
2155 Chenalt Dr, Ste 500
Carrollton, TX 75006


Rr Donnelley    Sons Co
P.O. Box 932721
Cleveland, OH 44193


Rr Donnelley Logistics Serv Worldwide
P.O. Box 932721
Cleveland, OH 44193


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875 N Michigan Ave 41st Fl
Chicago, IL 60611‐1901


Rs Water Holdings LLC
3201 Premier Dr, Ste 300
Irving, TX 75063


Rsc Equipment Rental
P.O. Box 840514
Dallas, TX 75284‐0514


Rsm Cares Bell Tower Foundation
Orange County Council 039
22232 El Paseo
Rancho Santa Margarita, CA 92688


Rt Rogers Oil Co Inc
153 Grace St
P.O. Box 160
Hinton, WV 25951


R‐T Specialty LLC
dba R‐T Specialty Insurance Svcs
180 N Stetson Ave, Ste 4600
Chicago, IL 60601


R‐T Specialty LLC
dba R‐T Specialty Insurance Svcs
26289 Network Pl
Chicago, IL 60673‐1262


Rtc Group, Inc
7606 Presidents DR
Orlando, FL 32809


Ruaidhri Tb Crofton
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Rubber City Theatre
Great Trail 433
2207 Romig Rd
Akron, OH 44320
Ruben Escobar
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P.O. Box 1794
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113 S 2nd St
Raton, NM 87740


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Ruby Houston
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Ruby Jacobs
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Ruby Jewel
Cascade Pacific Council 492
12431 NE Marx St, Ste 10
Portland, OR 97230
Ruby L Brice
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Ruby Mathews
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Ruby Richey
Address Redacted


Ruby Thomas Elementary PTO
Las Vegas Area Council 328
1560 Cherokee Ln
Las Vegas, NV 89169


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New York, NY 10018


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6846 Meadowview Ln
Rudolph, WI 54475


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Rudolph Russell Hummel
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Rudolph Thomas
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Rudoph Priebe American Legion Post 172
Northern Star Council 250
260 4th Ave Se
Osseo, MN 55369


Rudy J Garcia
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Bay‐Lakes Council 635
P.O. Box 173
Rudyard, MI 49780


Ruel T Holt
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Huntsville Marriott
5 Tranquility Base
Huntsville, AL 35805


Ruffin Utd Methodist Church
Old N State Council 070
9640 US Hwy Business 29
Ruffin, NC 27326


Rufino Mendoza Elementary ‐ Gfwra
Longhorn Council 662
1412 Denver Ave
Fort Worth, TX 76164


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Rufus Burleson
Circle Ten Council 571
6300 Elam Rd
Dallas, TX 75217


Rufus Fance Jr
Address Redacted


Ruhter   Reynolds Inc
3625 N Hall St, Ste 750
Dallas, TX 75219


Rumsey Station PTO
Mid‐America Council 326
110 Eagle Ridge Dr
Papillion, NE 68133


Runnells Elementary PTA
Mid Iowa Council 177
6575 SE 116th St
Runnells, IA 50237


Runnemede Scouting Committee
Garden State Council 690
575 Sheppard Ave
Runnemede, NJ 08078


Runner S World
P.O. Box 6002
Emmaus, PA 18098‐6002


Running Buffalo
703 Barr Ave
Canon City, CO 81212


Running S Fleet    Farm
911 Michigan Rd
Marshall, MN 56258


Runyon Elementary PTO
Denver Area Council 061
7455 S Elati St
Littleton, CO 80120


Rupert 1St Ward ‐ Rupert Stake
Snake River Council 111, 8th   G St
Rupert, ID 83350
Rupert 2Nd Ward ‐ Rupert West Stake
Snake River Council 111
26 S 100 W
Rupert, ID 83350


Rupert 3Rd Ward ‐ Rupert West Stake
Snake River Council 111
526 S F St
Rupert, ID 83350


Rupert 4Th Ward ‐ Rupert West Stake
Snake River Council 111
917 I St
Rupert, ID 83350


Rupert 5Th Ward ‐ Rupert Stake
Snake River Council 111
324 E 18th St
Rupert, ID 83350


Rupert 7Th Ward ‐ Rupert Stake
Snake River Council 111
324 E 18th St
Rupert, ID 83350


Ruppenthal Middle School
Coronado Area Council 192
400 N Elm St
Russell, KS 67665


Rural Chapel Utd Methodist Church
Simon Kenton Council 441
5860 Cheshire Rd
Galena, OH 43021


Rural Fire Protection District 1 Of
Sequoyah County, Inc
Indian Nations Council 488
P.O. Box 486
Gore, Ok 74435
Rural Hall Fire   Rescue
Old Hickory Council 427
177 Rural Hall‐Germanton Rd
Rural Hall, NC 27045


Rural Metro Fire
Great Smoky Mountain Council 557
160 N Campbell Station Rd
Knoxville, TN 37934


Rural Radiology Assoc
12687 W Cedar Dr, Ste 200
Lakewood, CO 80228


Rural Retreat Pentecostal Holiness Ch
Blue Ridge Mtns Council 599
P.O. Box 598
Rural Retreat, Va 24368


Rural Riley Book Club
Water and Woods Council 782
2901 W Pratt Rd
Dewitt, MI 48820


Rural Route 1, Inc
105 E Tama St
Livingston, WI 53554


Rural Valley Lions Club
Laurel Highlands Council 527
P.O. Box 156
Barn St
Nu Mine, PA 16244


Ruritan ‐ Guilford Lake
Buckeye Council 436
36406 Teegarden Rd
Salem, OH 44460


Ruritan ‐ Knox
Buckeye Council 436
P.O. Box 114
Homeworth, OH 44634


Ruritan ‐ Smithville
Buckeye Council 436
P.O. Box 98
Smithville, OH 44677


Ruritan ‐ Washington
Buckeye Council 436
400 W Beech St
Alliance, OH 44601


Ruritan Club
National Capital Area Council 082
183 Ruritan Rd
Sterling, VA 20164


Ruritan Club Rockawalkin
Del Mar Va 081
P.O. Box 765
Salisbury, MD 21803


Ruritan Club Sudlersville
Del Mar Va 081
P.O. Box 129
Church Hill, MD 21623


Ruritan National
P.O. Box 487
Dublin, VA 24084


Rusch Entertainment
3550 N Thomas Rd
Freeland, MI 48623‐8810


Rusco Plumbing    Heating Inc
2788 S Echo Trail
Ely, MN 55731


Rusell B Gartner
Address Redacted


Rush City Lions Club
Northern Star Council 250
480 W 5th St
Rush City, MN 55069


Rush City Snobugs
Northern Star Council 250
50574 Shorewood Cir
Rush City, MN 55069


Rush Computer Rentals Inc
Dept Ch 10997
Palatine, IL 60055‐0997


Rush Creek Christian Church
Longhorn Council 662
2401 SW Green Oaks Blvd
Arlington, TX 76017


Rush Creek Yacht Club
Circle Ten Council 571
320 Rush Creek Dr
Heath, TX 75032


Rush Fire Dept Inc
Seneca Waterways 397
1971 Rush Mendon Rd
Rush, NY 14543


Rush Henrietta Rotary Club
Seneca Waterways 397
P.O. Box 197
Henrietta, NY 14467


Rush Springs Utd Methodist Church
Last Frontier Council 480
P.O. Box 578
209 N 5th St
Rush Utd Methodist Church
Seneca Waterways 397
6200 Rush Lima Rd
Rush, NY 14543


Rush Volunteer Fire Dept Co Inc
Seneca Waterways 397
1971 Rush Mendon Rd
Rush, NY 14543


Rushsylvania Church Of Christ
Tecumseh 439
170 Mill St E
P.O. Box 386
Rushsylvania, OH 43347


Rushville Christian Church
Pony Express Council 311, 3rd St
Rushville, MO 64484


Rusler Implement Co, Inc
29050 Hwy 96 E.
Pueblo, CO 81001


Russ   Fran Anderson
11716 S 53rd Ave
Papillion, NE 68133‐2796


Russ Neubauer   Chester Cty Council 539
504 S Concord
West Chester, PA 19382


Russel Alden
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Russel Nelson
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Russell Beisel
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Russell Black
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Russell Blair
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Russell C Mcnamer
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Russell Campbell
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Russell Cawthorne
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Russell City Fire Departement
Coronado Area Council 192
815 N Maple St
Russell, KS 67665


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Russell D Gregory
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Russell Davis
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Russell Doyle
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Russell Etzenhouser Iv
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Russell Food Equipment Limited
1255 Venables St
Vancouver, BC V6A 3X6
Canada


Russell Fruits
Address Redacted


Russell J Clarke
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Russell Johnson
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Russell Juengel
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Russell K Sobota
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Coronado Area Council 192
861 S Windsor St
Russell, KS 67665


Russell Kiwanis
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Russell Memorial Utd Methodist Church
Circle Ten Council 571
201 S 4th St
Wills Point, TX 75169


Russell Moore
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Russell Mulert
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Russell Patterson
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Russell Prater Volunteer Fire Dept
Sequoyah Council 713
1036 Airport Rd
Vansant, VA 24656


Russell Raburn
Address Redacted


Russell Reynolds Assoc Inc
Church St Station
P.O. Box 6427
New York, NY 10249‐6427


Russell Roe
Address Redacted


Russell S One Stop Supermarket
P.O. Box 447
Cimarron, NM 87714


Russell S Sundries
P.O. Box 447
Cimarron, NM 87714


Russell Salzman
Address Redacted


Russell School PTO
Greater St Louis Area Council 312
7350 Howdershell Rd
Hazelwood, MO 63042


Russell Sigler, Inc
Dba Sigler Wholesale Distributors
P.O. Box 920
Tolleson, AZ 85353


Russell Sondker
Address Redacted


Russell Street Baptist Church
Great Lakes Fsc 272
8700 Chrysler Dr
Detroit, MI 48211


Russell Utd Methodist Church
Chief Cornplanter Council, Bsa 538
17 N Main St
Russell, PA 16345


Russell Vanderbelt Md Ps
11201 SE 8th St, Ste 105
Bellevue, WA 98004


Russell Vick
Address Redacted


Russell Volunteer Fire Dept
Chief Cornplanter Council, Bsa 538
Perrigo Lane
Russell, PA 16345


Russell Weadon
Address Redacted


Russell Wicklund
Address Redacted


Russell Woodling
Address Redacted


Russells Telecom Solutions Inc
606 S Clark Rd, Ste C
Duncanville, TX 75137
Russells Truck   Travel Center
dba Russells Wash/Lube
P.O. Box 447
Cimarron, NM 87714


Russellville Lions Club
Great Rivers Council 653
P.O. Box 374
Russellville, MO 65074


Russellville Ward LDS Church
Greater Alabama Council 001
151 Carney Ln
Russellville, AL 35653


Russiaville Lions Club
Sagamore Council 162
555 N Liberty St
Russiaville, IN 46979


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7504 Avenger Way, Ste A
Santa Fe, NM 87507


Rusty Mesa, LLC
P.O. Box 28940
Santa Fe, NM 87592‐8940


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220 W Broadway
Madison, WI 53716


Rutgers Presbyterian Church
Greater New York Councils, Bsa 640
236 W 73rd St
New York, NY 10023


Rutgers State Univ   Ryan M Richstein
Office of Univ Undergraduate Admissions
65 Davidson Rd, Rm 202
Piscataway, NJ 08854‐8097
Rutgers University
Student Accounting Services
P.O. Box 2021
New Brunswick, NJ 08903‐2021


Rutgers University Accounting Office
Office of Financial Aid
620 George St
New Brunswick, NJ 08901


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Ruth Ann Mcgoldrick
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Ruth Bibler
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Ruth Galambos
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Ruth Kubic
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Ruth Lacoss
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Ruth Madden
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Ruth Martindell
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Ruth Mulholland
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Ruth Odell
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Ruth Ogren
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Ruth Preece
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Ruth Raup
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Ruth Rodgers
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Ruth Stinnett
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Ruth Yomen
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Ruthe Holmbers
8511 Glaser Ln
Louisville, KY 40291


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Piedmont Council 420
198 N Washington St
Rutherfordton, NC 28139
Rutherford Memorial Methodist Church
Great Smoky Mountain Council 557
7815 Corryton Rd
Corryton, TN 37721


Rutherfordton Fire And Rescue
Piedmont Council 420
144 N Mitchell St
Rutherfordton, NC 28139


Ruthsburg Community Club
Del Mar Va 081
105 Damsontown Rd
Queen Anne, MD 21657


Rutland ‐ Congregational Church
Heart of New England Council 230
264 Main St
P.O. Box 484
Rutland, MA 01543


Rutland ‐ Fire Brigade
Heart of New England Council 230
286 Main St
Rutland, MA 01543


Rutland ‐ Friends Of Treasure Valley
Heart of New England Council 230
19 Harvard St
Worcester, MA 01609


Rutland ‐ St Patrick Parish
Heart of New England Council 230
258 Main St
Rutland, MA 01543


Rutland Lions Club
Central Georgia Council 096
5987 Houston Rd
Macon, GA 31216
Rutland Middle School Jlc
Central Georgia Council 096
6260 Skipper Rd
Macon, GA 31216


Rutledge Co Inc
dba the Phoenix Group
6705 Keaton Corporate Pkwy
O Fallon, MO 63368


Rutledge Middle School
Greater Alabama Council 001
1221 8th St
Birmingham, AL 35228


Rw Vaught Technical Services
Westark Area Council 016
3681 Marion County 5036
Yellville, AR 72687


Rwj Barnaba Health Jersey City Med Ctr
Northern New Jersey Council, Bsa 333
355 Grand St
Jersey City, Nj 07302


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Ryan B Williams
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Ryan Bauman
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Ryan Bertram
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Ryan Bieler
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Ryan C Lindsey
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Ryan C Pantalone
Address Redacted


Ryan C Wilhelm
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Ryan D Trice
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Ryan Dibernardo
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Ryan Douglas Mackey
Address Redacted


Ryan Dula
Address Redacted
Ryan E Glock
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Ryan E Soldanels
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Ryan Earle
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Ryan Francis Alcorn
Address Redacted


Ryan G Bailey
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Ryan G Perry
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Ryan Hatch
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Ryan Hecker
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Ryan Heikes
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Ryan Hill
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Ryan House
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110 W Muhammad Ali Way
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Ryan Ivey
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Ryan J Bellinger
Address Redacted


Ryan J Magrath
Address Redacted


Ryan James Rothenberg
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Ryan Keys
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Ryan King
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Ryan Kriesch
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Ryan Kurtz
Address Redacted


Ryan L Faircloth
Address Redacted


Ryan L Hilgert
Address Redacted


Ryan L Peacocke
Address Redacted


Ryan Larson
Address Redacted
Ryan Lee
Address Redacted


Ryan Lemons
Address Redacted


Ryan M Cole
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Ryan M Mcdowell
Address Redacted


Ryan Martin
Address Redacted


Ryan Martin Mcclure
Address Redacted


Ryan Mcdonald
Address Redacted


Ryan Michael King
Address Redacted


Ryan Michelsen
Address Redacted


Ryan Moon
Address Redacted


Ryan Moore
Address Redacted


Ryan Murray
Address Redacted


Ryan N Stage
Address Redacted
Ryan O Kelley
Address Redacted


Ryan O Toole
Address Redacted


Ryan O Vermette
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Ryan P Daly
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Ryan Peterson
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Ryan Pickett
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Ryan R Fisher
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Ryan Reddy
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Western Massachusetts Council 234
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Ryan Simpson
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Ryan Stange
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Ryan T Medina
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Ryan Thompson
Address Redacted


Ryan Toomer
Address Redacted


Ryan Tyson
Address Redacted


Ryan Walker
Address Redacted


Ryan Wallace
Address Redacted


Ryan Weisbrod
Address Redacted
Ryan Wilson
Address Redacted


Ryan Windom
Address Redacted


Ryan Zimmerman
Address Redacted


Ryder Last Mile Inc
7795 Walton Pkwy, 4th Fl
Chicago, IL 60675‐6030


Ryder Last Mile Inc
7795 Walton Pkwy, Ste 100
New Albany, OH 43054‐0001


Ryder Law Firm
Attn Jesse P Ryder
re Plaintiff
6739 Myers Rd
East Syracuse, NY 13057


Ryder Law Firm
Attn Jesse Ryder
6739 Myers Rd
East Syracuse, NY 13057


Ryder S Black
Address Redacted


Ryder Transportation Services
P.O. Box 402366
Atlanta, GA 30384‐2366


Ryder Transportation Services
P.O. Box 96723
Chicago, IL 60693
Ryder Truck Rental Inc
14 Stone Castle Rd
Rock Tavern, NY 12575


Rye Congregational Church
Daniel Webster Council, Bsa 330
P.O. Box 862
580 Washington Rd
Rye, NH 03870


Rye Presbyterian Church
Westchester Putnam 388
882 Boston Post Rd
Rye, NY 10580


Ryerson
6600 Hwy 85
Commerce City, CO 80022


Ryland Qualls
Address Redacted


Ryleigh M Clover
Address Redacted


Ryndon Volunteer Fire Dept
Nevada Area Council 329
507 Scott Rd
Elko, NV 89801


Rynos Whistle Stop LLC
82685 Overseas Hwy
Islamorada, FL 33036


Ryves Hall Youth Center Etling Hall
Crossroads of America 160
1356 Locust St
Terre Haute, IN 47807


S   J Capitol LLC
Steptoe   Johnson Pllc
400 White Oaks Blvd
Bridgeport, WV 26330


S   Me Inc
P.O. Box 277523
Atlanta, GA 30384‐7523


S   S Cleaners Inc
dba Tri City Cleaners
700 13th St
Phenix City, AL 36867


S   S Enterprise LLC
dba Appalachian Heating
P.O. Box 770
Bradley, WV 25818


S   S Worldwide
Accounts Receivable
P.O. Box 210
Hartford, CT 06141‐0210


S   S Worldwide, Inc
Accts Receivable
P.O. Box 210
Hartford, CT 06141‐0210


S A Event Services
415 Main St
Bedminster, NJ 07921


S Alexander Jervis Jr
Address Redacted


S Ambler Brown Jr
Address Redacted


S C Swiderski, LLC
Samoset Council, Bsa 627
401 Ranger St
Mosinee, WI 54455
S Carolina Office, State Treasurer
Unclaimed Property Div
P.O. Box 11778
Columbia, Sc 29211‐1778


S D Coffee Inc
P.O. Box 1628
Concord, NC 28026‐1628


S Dallas Outreach Initiative
At Charles Rice
Circle Ten Council 571
6002 S Central Expwy
Dallas, Tx 75214


S Dallas Outreach Initiative
At Cornerstone
Circle Ten Council 571
6002 S Central Expy
Dallas, Tx 75215


S Dallas Outreach Initiative
At I Have A Dream
Circle Ten Council 571
6002 S Central Expwy
Dalllas, Tx 75214


S Dallas Outreach Initiative
At Maple Lawn Elem
Circle Ten Council 571
6002 S Central Exwpy
Dallas, Tx 75214


S Dallas Outreach Initiative
At Obdiah Knight
Circle Ten Council 571
6002 S Central Expwy
Dallas, Tx 75214


S Dallas Outreach Initiative   Rankin
Circle Ten Council 571
6002 S Lcentral Expwy
Dallas, Tx 75214


S Eugene High Sch Ultimate Frisbee
Oregon Trail Council 697
400 E 19Th Ave
Eugene, Or 97401


S F Council Of Japanese Christian Church
San Francisco Bay Area Council 028
426 33rd Ave
San Francisco, CA 94121


S F M Co, Inc
P.O. Box 5504
Midland, TX 79704‐5504


S Florida Engineering   Consulting LLC
Gulf Stream Council 085
30 S M St
Lake Worth, Fl 33460


S Glens Falls Utd Methodist Ch
Twin Rivers Council 364
15 Maplewood Pkwy
South Glens Falls, Ny 12803


S J Neathawk Lumber Inc
P.O. Box 427
Lewisburg, WV 24901


S Me, Inc
2550 Jack Furst Dr
Glen Jean, WV 25846


S Me, Inc
9751 Sern Pine Blvd
Charlotte , NC 28273


S Minster Utd Methodist
Cornhusker Council 324
2915 S 16th St
Lincoln, NE 68502


S P I N
10501 Drummond Rd
Philadelphia, PA 19154


S Parkersburg Utd Methodist Ch
Buckskin 617
1813 Rayon Dr
Parkersburg, Wv 26101


S Poplar Bluff General Baptist Ch
Greater St Louis Area Council 312
817 Arthur St
Poplar Bluff, Mo 63901


S Reed Lindholm
Address Redacted


S S Alterations
Changsu Rhee
11112 S Tryon St, Unit G
Charlotte, NC 28273‐4569


S S Conner Elementary
Circle Ten Council 571
3037 Green Meadow Dr
Dallas, TX 75228


S S Industrial Maintenance
357 Country Club Dr
Beaver, WV 25813


S S Worldwide
75 Mill St
Colchester, CT 06415


S Weir Mitchell Elementary School
Cradle of Liberty Council 525
5500 Kingsessing Ave
Philadelphia, PA 19143


S Y Lee Assoc
Verdugo Hills Council 058
216 S Jackson St
Glendale, CA 91205


S Y Lee Assoc
W.L.A.C.C. 051
10946 Belmar Ave
Porter Ranch, CA 91326


S Y Lee Assoc
W.L.A.C.C. 051
215 S Jackson St
Glendale, CA 91205


S3 Cases Inc
4014 S Lemay Ave, 2
Fort Collins, CO 80525


Sa West Rotary Club
Alamo Area Council 583
9603 Mico St
San Antonio, TX 78251


Saabirah Nia Muhammad
Address Redacted


Saatchi   Saatchi La
3501 Sepulveda Blvd
Torrance, CA 90505


Sabal Elementary Afterscool Program
Central Florida Council 083
1401 N Wickham Rd
Melbourne, FL 32935


Sabattis High Adventure Scout Camp
Patriots Path Council 358
1745 Sabattis Rd
Long Lake, NY 12847


Sabattis Scout Reservation
Longhouse Council 373
1 Sabattis Cir Rd
Long Lake, NY 12847


Sabes Jewish Community Center Of Mpls
Northern Star Council 250
4330 Cedar Lake Rd S
Minneapolis, MN 55416


Sabetha Kiwanis
Jayhawk Area Council 197
P.O. Box 125
Sabetha, KS 66534


Sabina Church Of Christ
Tecumseh 439
115 W Washington St
Sabina, OH 45169


Sabine Jones
Address Redacted


Sabine Parish
Attn Sales    Use Tax Commission
P.O. Box 249
Many, LA 71449‐0249


Sabrina Kirkpatrick
Address Redacted


Sac
Twin Valley Council Bsa 283
1405 S 7th St
Saint Peter, MN 56082


Sac Council Of Sawgrass Bay
Central Florida Council 083
16325 Superior Blvd
Clermont, FL 34714


Sacandaga School PTA
Twin Rivers Council 364
300 Wren St
Scotia, NY 12302


Sachem East Enl
Suffolk County Council Inc 404
177 Granny Rd
Farmingville, NY 11738


Sachem East High School
Suffolk County Council Inc 404
51 School St
Lake Ronkonkoma, NY 11779


Saco Fire Dept Call Div Assoc
Pine Tree Council 218
271 N St
Saco, ME 04072


Saco Pathfinders
Pine Tree Council 218
P.O. Box 27
Saco, ME 04072


Sacramento City College
Attn Business Services Office
3835 Freeport Blvd
Sacramento, CA 95822


Sacramento Community Fire Co Auxiliary
Hawk Mountain Council 528
2206 E Main St
P.O. Box 54
Sacramento, PA 17968


Sacramento County
Attn Unsecured Tax Unit
P.O. Box 508
Sacramento, CA 95812‐0508
Sacramento County Sheriff Dept
Golden Empire Council 047
711 G St
Sacramento, CA 95814


Sacramento Police Dept
False Alarm Reduction Unit
5770 Freeport Blvd 100
Sacramento, CA 95822


Sacramento Suburban Kiwanis Club
Golden Empire Council 047
P.O. Box 601715
Sacramento, CA 95860


Sacramento Zoological Society
Golden Empire Council 047
3930 W Land Park Dr
Sacramento, CA 95822


Sacred Heart
Erie Shores Council 460
550 Smith Rd
Fremont, OH 43420


Sacred Heart
Mayflower Council 251
55 Commercial St
Weymouth, MA 02188


Sacred Heart Cathedral
Seneca Waterways 397
296 Flower City Park
Rochester, NY 14615


Sacred Heart Catholic Church
Anthony Wayne Area 157
125 N Harrison St
Warsaw, IN 46580
Sacred Heart Catholic Church
Bay Area Council 574
6502 County Rd 48
Manvel, TX 77578


Sacred Heart Catholic Church
Blue Grass Council 204
P.O. Box 455
Corbin, KY 40702


Sacred Heart Catholic Church
Buckskin 617
1114 Virginia St E
Charleston, WV 25301


Sacred Heart Catholic Church
Bucktail Council 509
325 Center St
Saint Marys, PA 15857


Sacred Heart Catholic Church
Caddo Area Council 584
4505 Elizabeth St
Texarkana, TX 75503


Sacred Heart Catholic Church
Capitol Area Council 564
5909 Reicher Dr
Austin, TX 78723


Sacred Heart Catholic Church
Central N Carolina Council 416
375 Lumen Christie Ln
Salisbury, NC 28147


Sacred Heart Catholic Church
Cradle of Liberty Council 525
105 Wilson Ave
Havertown, PA 19083


Sacred Heart Catholic Church
Dan Beard Council, Bsa 438
400 Nilles Rd
Fairfield, OH 45014


Sacred Heart Catholic Church
Golden Empire Council 047
2355 Monroe Ave
Red Bluff, CA 96080


Sacred Heart Catholic Church
Great Alaska Council 610
1201 E Bogard Rd
Wasilla, AK 99654


Sacred Heart Catholic Church
Great Trail 433
260 Broad St
Wadsworth, OH 44281


Sacred Heart Catholic Church
Greater Los Angeles Area 033
344 W Workman St
Covina, CA 91723


Sacred Heart Catholic Church
Illowa Council 133
1608 13th St
Moline, IL 61265


Sacred Heart Catholic Church
Jayhawk Area Council 197
27 Cottonwood St
Emporia, KS 66801


Sacred Heart Catholic Church
Lasalle Council 165
130 Bach St
La Porte, IN 46350


Sacred Heart Catholic Church
Leatherstocking 400
15 Liberty St
Sidney, NY 13838
Sacred Heart Catholic Church
Lincoln Heritage Council 205
1840 E 8th St
Jeffersonville, IN 47130


Sacred Heart Catholic Church
Mid Iowa Council 177
1627 Grand Ave
West Des Moines, IA 50265


Sacred Heart Catholic Church
National Capital Area Council 082
12975 Purcell Rd
Manassas, VA 20112


Sacred Heart Catholic Church
North Florida Council 087
5752 Blanding Blvd
Jacksonville, FL 32244


Sacred Heart Catholic Church
North Florida Council 087
7190 US 17
Fleming Island, FL 32003


Sacred Heart Catholic Church
Northern Star Council 250
4087 W Broadway Ave
Robbinsdale, MN 55422


Sacred Heart Catholic Church
Northwest Texas Council 587
1504 10th St
Wichita Falls, TX 76301


Sacred Heart Catholic Church
Ozark Trails Council 306
100 S Cherokee St
Frontenac, KS 66763
Sacred Heart Catholic Church
Quivira Council, Bsa 198
P.O. Box 578
Colwich, KS 67030


Sacred Heart Catholic Church
Rio Grande Council 775
501 E Kuhn St
Edinburg, TX 78541


Sacred Heart Catholic Church
The Spirit of Adventure 227
169 Cummins Hwy
Roslindale, MA 02131


Sacred Heart Catholic Church
The Spirit of Adventure 227
571 Boston St
Lynn, MA 01905


Sacred Heart Catholic Church
Ventura County Council 057
10800 Henderson Rd
Ventura, CA 93004


Sacred Heart Catholic School
Last Frontier Council 480
2700 S Shartel Ave
Oklahoma City, OK 73109


Sacred Heart Catholic School
Louisiana Purchase Council 213
P.O. Box 179
Moreauville, LA 71355


Sacred Heart Catholic School
Silicon Valley Monterey Bay 055
123 W Market St
Salinas, CA 93901


Sacred Heart Center
Heart of Virginia Council 602
1400 Perry St
Sacred Heart Center
Richmond, VA 23224


Sacred Heart Church
Aloha Council, Bsa 104
1701 Wilder Ave
Honolulu, HI 96822


Sacred Heart Church
Central Georgia Council 096
250 S Davis Dr
Warner Robins, GA 31088


Sacred Heart Church
Central Minnesota 296
2875 10th Ave Ne
Sauk Rapids, MN 56379


Sacred Heart Church
Garden State Council 690
260 High St
Mount Holly, NJ 08060


Sacred Heart Church
Laurel Highlands Council 527
310 Shady Ave
Pittsburgh, PA 15206


Sacred Heart Church
Mayflower Council 251
1321 Centre St
Newton, MA 02459


Sacred Heart Church
Mayflower Council 251
187 Hopedale St
Church
Hopedale, MA 01747


Sacred Heart Church
Mid‐America Council 326
204 S 5th St
Norfolk, NE 68701


Sacred Heart Church
Narragansett 546
58 Church St
North Attleboro, MA 02760


Sacred Heart Church
Ozark Trails Council 306
1609 N Summit Ave
Springfield, MO 65803


Sacred Heart Church
Westchester Putnam 388
40 Convent Ave
Yonkers, NY 10703


Sacred Heart Church Knights Of Columbus
Muskingum Valley Council, Bsa 467
250 S 11th St
Coshocton, OH 43812


Sacred Heart Co‐Cathedral
Buckskin 617
1114 Virginia St E
Charleston, WV 25301


Sacred Heart Dccs
14595 Vidalia Rd
Pass Christian, MS 39571


Sacred Heart Guild/Sacred Heart School
Connecticut Rivers Council, Bsa 066
50 Sacred Heart Dr
Groton, CT 06340


Sacred Heart Holy Name Society
Sacred Heart Ch
Pacific Harbors Council, Bsa 612
P.O. Box 3805
Lacey, Wa 98509
Sacred Heart Model School
Lincoln Heritage Council 205
3107 Lexington Rd
Louisville, KY 40206


Sacred Heart Of Jesus
Evangeline Area 212
200 W Main St
Broussard, LA 70518


Sacred Heart Of Jesus Catholic Church
Crater Lake Council 491
517 W 10th St
Medford, OR 97501


Sacred Heart Of Jesus Catholic Church
Evangeline Area 212
200 W Main St
Broussard, LA 70518


Sacred Heart Of Jesus Catholic Church
Longs Peak Council 062
1316 Mapleton Ave
Boulder, CO 80304


Sacred Heart Of Jesus Catholic Church
Longs Peak Council 062
2312 14th St
Boulder, CO 80304


Sacred Heart Of Jesus Catholic Church
Shenandoah Area Council 598
130 Keating Dr
Winchester, VA 22601


Sacred Heart Of Jesus Catholic Church
Shenandoah Area Council 598
519 S Cameron St
Winchester, VA 22601
Sacred Heart Of Jesus Church
Mayflower Council 251
5 E Main St
Milford, MA 01757


Sacred Heart Of Jesus Parish
Daniel Webster Council, Bsa 330
15 High St
Greenville, NH 03048


Sacred Heart Of Jesus Parish
Evangeline Area 212
2514 Old Jeanerette Rd
New Iberia, LA 70563


Sacred Heart Of Jesus Parish
Mayflower Council 251
5 E Main St
Milford, MA 01757


Sacred Heart Of Jesus Parish
Minsi Trails Council 502
210 E Nampton St
Bath, PA 18014


Sacred Heart Of Mary Catholic Church
Buckeye Council 436
Nickle Plate
Louisville, OH 44641


Sacred Heart Of Mary Catholic Church
Longs Peak Council 062
6739 S Boulder Rd
Boulder, CO 80303


Sacred Heart Of Mary Roman Catholic
Baltimore Area Council 220
6736 Youngstown Ave
Baltimore, MD 21222


Sacred Heart Parish
Greater St Louis Area Council 312
100 Thompson Dr
Troy, MO 63379


Sacred Heart Parish
Laurel Highlands Council 527
310 Shady Ave
Pittsburgh, PA 15206


Sacred Heart Parish
Sioux Council 733
509 Capitol St
Yankton, SD 57078


Sacred Heart Parish
The Spirit of Adventure 227
21 Follen Rd
Lexington, MA 02421


Sacred Heart RC Ch Lyndhurst
Northern New Jersey Council, Bsa 333
324 Ridge Rd
Lyndhurst, Nj 07071


Sacred Heart Rc Church
Greater New York Councils, Bsa 640
981 Castleton Ave
Staten Island, NY 10310


Sacred Heart Rc Church
Theodore Roosevelt Council 386
730 Merrick Ave
North Merrick, NY 11566


Sacred Heart Roman Catholic Church
Baltimore Area Council 220
65 Sacred Heart Ln
Glyndon, MD 21071


Sacred Heart Roman Catholic Church
Cradle of Liberty Council 525
838 Walnut St
Royersford, PA 19468
Sacred Heart Roman Catholic Church
Daniel Webster Council, Bsa 330
265 S Main St
Manchester, NH 03102


Sacred Heart Roman Catholic Church
Greater New York Councils, Bsa 640
11558 222nd St
Cambria Heights, NY 11411


Sacred Heart Roman Catholic Church
Greater New York Councils, Bsa 640
21535 38th Ave
Bayside, NY 11361


Sacred Heart Roman Catholic Church
Greater New York Councils, Bsa 640
8317 78th Ave
Glendale, NY 11385


Sacred Heart Roman Catholic Church
Greater New York Councils, Bsa 640
981 Castleton Ave
Staten Island, NY 10310


Sacred Heart Roman Catholic Church
Iroquois Trail Council 376
1230 Clinton St Rd
Attica, NY 14011


Sacred Heart Roman Catholic Church
Monmouth Council, Bsa 347
531 Washington Ave
South Amboy, NJ 08879


Sacred Heart Roman Catholic Church
Narragansett 546
53 Oak St
Middleboro, MA 02346
Sacred Heart Roman Catholic Church
Theodore Roosevelt Council 386
282 Long Beach Rd
Island Park, NY 11558


Sacred Heart Roman Catholic Church
Western Massachusetts Council 234
191 Elm St
Pittsfield, MA 01201


Sacred Heart School
Blue Ridge Mtns Council 599
540 Central Blvd
Danville, VA 24541


Sacred Heart School
Chickasaw Council 558
5150 Tchulahoma Rd
Southaven, MS 38671


Sacred Heart School
Glaciers Edge Council 620
219 Columbus St
Sun Prairie, WI 53590


Sacred Heart School
Greater St Louis Area Council 312
17 Ann Ave
Valley Park, MO 63088


Sacred Heart School
National Capital Area Council 082
1625 Park Rd Nw
Washington, DC 20010


Sacred Heart School
Ore‐Ida Council 106 ‐ Bsa 106
3901 W Cassia St
Boise, ID 83705


Sacred Heart School
Pathway To Adventure 456
815 N 16th Ave
Melrose Park, IL 60160


Sacred Heart Youth Ministry
Istrouma Area Council 211
2250 Main St
Baton Rouge, LA 70802


Sacred Heart/St George Mission Church
Susquehanna Council 533
P.O. Box 47
Mifflinburg, PA 17844


Sacred Hearts Church
The Spirit of Adventure 227
48 S Chestnut St
Haverhill, MA 01835


Sacucca
c/o Ollu Career Services
411 SW 24 St Uwac 106
San Antonio, TX 78207


Saddie River Range
Sam Houston Area Council 576
4280 Fm 1488 Rd
Conroe, TX 77384


Saddleback Mountain Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 103
Northwood, NH 03261


Saddleback Valley Community Church
Orange County Council 039
1 Saddleback Pkwy
Lake Forest, CA 92630


Saddlegun LLC
Firepower
504 Rolling Hills Dr
Midlothian, TX 76065‐2025
Sadie Wells
Address Redacted


Sadler Baptist Church
Circle Ten Council 571
419 S Main St
Sadler, TX 76264


Sadler Elementary PTA
Central Florida Council 083
5301 Cypress Creek Dr
Orlando, FL 32811


Sae
400 Commonwealth Dr
Warrendale, PA 15096‐0001


Saegertown Utd Methodist Church
French Creek Council 532
620 Euclid Ave
P.O. Box 689


Saepio Technologies Inc
600 Broadway 4th Fl
Kansas City, MO 64105


Safari Club International
4800 W Gates Pass Rd
Tucson, AZ 85745‐9490


Safari Club International
4800 W Gates Pass Rd
Tuson, AZ 85745


Safari Programs, Inc
P.O. Box 201650
Dallas, TX 75320


Safco Products Co
9300 W Research Center Rd
Minneapolis, MN 55428


Safco Products Co
dba Mayline
P.O. Box 856548
Minneapolis, MN 55485‐6548


Safe Harbor Presbyterian Church
Del Mar Va 081
931 Love Point Rd
Stevensville, MD 21666


Safe Way Traction
2 Wchester Ct
Bolingbrook, IL 60440


Safeguard Business Systems
P.O. Box 645624
Cincinnati, OH 45264‐5624


Safemasters Co, Inc
Dept Ch 14202
Palatine, IL 60055‐4202


Safety Equipment Co/Essential Safety
Products
5750 N Pecos St
Denver, CO 80221


Safety Flare Inc
2803 Richmond Ne
Albuquerque, NM 87107


Safety Sam Inc
dba Safety Service Co
P.O. Box 6408
Yuma, AZ 85366‐6408


Safety Solutions On‐Site
2201 Long Prairie Rd, Ste 107‐808
Flower Mound, TX 75022‐4964


SafetysignCom
64 Outwater Ln
Garfield, NJ 07026


Safeway
P.O. Box 840210
Dallas, TX 75284‐0210


Sag Harbor Fire Dept
Suffolk County Council Inc 404
1357 Brick Kiln Rd
Sag Harbor, NY 11963


Sag Harbor Fire District
Suffolk County Council Inc 404
P.O. Box 209
1357 Brick Kiln Rd
Sag Harbor, NY 11963


Sag Pension    Health Plan
P.O. Box 54867
Los Angeles, CA 90054‐0867


Sagamore
518 N Main St
P.O. Box 865
Kokomo, IN 46903‐0865


Sagamore Cncl 162
P.O. Box 865
Kokomo, IN 46903‐0865


Sagamore Hill Elementary ‐ Gifw
Longhorn Council 662
701 S Hughes Ave
Fort Worth, TX 76103


Sagamore Hills Police Dept
Lake Erie Council 440
11551 Valley View Rd
Sagamore Hills, OH 44067


Sagamore Yacht Club
Theodore Roosevelt Council 386
Head of Bay Ave
Oyster Bay, NY 11771


Sagbolt LLC
The Sagamore
P.O. Box 1351
Williston, VT 05495


Sage Granada Park Umc
Greater Los Angeles Area 033
1850 W Hellman Ave
Alhambra, CA 91803


Sage Publications Inc
P.O. Box 19200
Washington, DC 20036


Sage Security Solutions
1425 N Richmond St
Appelton, WI 54911


Sage Software Inc
14855 Collections Ctr Dr
Chicago, IL 60693


Sage Software Inc
P.O. Box 404927
Atlanta, GA 30384‐4927


Sagebrush Scouting, Inc
Grand Teton Council 107
724 E 1000 N
Shelley, ID 83274


Sageville School P‐T Club
Northeast Iowa Council 178
11969 Sherrill Rd
Dubuque, IA 52002


Sagewood At Daybreak
Great Salt Lake Council 590
11289 S Oakmond Rd
South Jordan, UT 84009


Saginaw Field And Stream Club
Water and Woods Council 782
1296 N Gleaner Rd
Saginaw, MI 48609


Saginaw Fire Dept
Water and Woods Council 782
801 Federal Ave
Saginaw, MI 48607


Saginaw Rotary Club
Water and Woods Council 782
P.O. Box 1441
Saginaw, MI 48605


Saginaw Township Police Dept
Water and Woods Council 782
4930 Shattuck Rd
Saginaw, MI 48603


Saginaw Utd Methodist Church
Longhorn Council 662
209 Blue Bonnet St
Saginaw, TX 76179


Sagle Elementary PTA
Inland Nwest Council 611
550 Sagle Rd
Sagle, ID 83860


Sagle PTA
Inland Nwest Council 611
550 Sagle Rd
Sagle, ID 83860
Sagrada Familia Catholic Church
Puerto Rico Council 661
P.O. Box 8478
Bayamon, PR 00960


Sagrado Corazon De Jesus
Northern Star Council 250
3800 Pleasant Ave
Minneapolis, MN 55409


Saguaro Park Ward ‐ LDS Rincon Stake
Catalina Council 011
1655 S Melpomene Way
Tucson, AZ 85748


Sahra Michelle, LLC
8119 Glenbrook Pl Nw
Albuquerque, NM 87120


Sahuarita Arizona Stake
99 W Via Costilla
Sahuarita, AZ 85629


Sahuarita Police Dept
Catalina Council 011
315 W Sahuarita Center Way
Sahuarita, AZ 85629


Sahuarita Ward ‐ LDS Sahuarita Stake
Catalina Council 011
17699 S Camino Del As Quintas
Sahuarita, AZ 85629


Sai Interactive Inc
Thinking Media
340 Frazier Ave
Chattanooga, TN 37405


Saiint Anne Catholic Church
Las Vegas Area Council 328
1901 S Maryland Pkwy
Las Vegas, NV 89104


Sail Escape LLC
1809 Grey Duck Ct
Midlothian, TX 76065


Sail Escape LLC
73800 Overseas Hwy
Islamorada, FL 33036


Sail Gitana Charters LLC
201 Camino Real
Marathon, FL 33050


Sail Gitana Charters LLC
c/o Jim Edwards
73800 Overseas Hwy
Islamorada, FL 33036


Sailing Adventures Florida Keys
36850 Overseas Hwy
Big Pine Key, FL 33043


Sailing Adventures Florida Keys
c/o Daryl Obenour
73800 Overseas Hwy
Islamorada, FL 33036


Sailing Services Inc
80 NW 73rd St
Miami, FL 33150‐3504


Sailing Vessel Argo Navis Charters LLC
6810 Front St
Key W, Fl 33040


Sailor Plastic Inc
P.O. Box 309
Adrian, MN 56110
Saint Abanoub Saint Antowios Coptic Ch
Northern New Jersey Council, Bsa 333
1325 Kennedy Blvd
Bayonne, Nj 07002


Saint Aidan S Episcopal Church
Sam Houston Area Council 576
13131 Fry Rd
Cypress, TX 77433


Saint Aidans Episcopal Church
Tidewater Council 596
3201 Edinburgh Dr
Virginia Beach, VA 23452


Saint Albans Episcopal Church
Louisiana Purchase Council 213
2816 Deborah Dr
Monroe, LA 71201


Saint Albert The Great Parish
Mayflower Council 251
1130 Washington St
Weymouth, MA 02189


Saint Alexander Parish
Three Fires Council 127
300 S Cornell Ave
Villa Park, IL 60181


Saint Aloysius Catholic Church
Erie Shores Council 460
148 S Enterprise St
Bowling Green, OH 43402


Saint Aloysius Church
Jersey Shore Council 341
935 Bennetts Mills Rd
Jackson, NJ 08527


Saint Alphonsus
Mississippi Valley Council 141 141
607 S Jackson St
Mount Pleasant, IA 52641


Saint Alphonsus Catholic Church
Pine Burr Area Council 304
502 Jackson Ave
Ocean Springs, MS 39564


Saint Ambrose Of Woodbury
Northern Star Council 250
4125 Woodbury Dr
Woodbury, MN 55129


Saint Ambrose Roman Catholic Church
Lincoln Heritage Council 205
609 E Main St
Cecilia, KY 42724


Saint Anastasia Catholic School
Gulf Stream Council 085
401 S 33rd St
Fort Pierce, FL 34947


Saint Andrew By The Sea
Jersey Shore Council 341
936 Baltic Ave
Atlantic City, NJ 08401


Saint Andrew Greek Orthodox Church
Patriots Path Council 358
1447 Sussex Tpke
Randolph, NJ 07869


Saint Andrew Lutheran Church
National Capital Area Council 082
14640 Soucy Pl
Centreville, VA 20120


Saint Andrew Lutheran Church
Samoset Council, Bsa 627
3200 N Mountain Rd
Wausau, WI 54401


Saint Andrew Presbyterian
Blue Ridge Mtns Council 599
21206 Timberlake Rd
Lynchburg, VA 24502


Saint Andrew Presbyterian Church
National Capital Area Council 082
711 W Main St
Purcellville, VA 20132


Saint Andrew S Episcopal Church
Silicon Valley Monterey Bay 055
13601 Saratoga Ave
Saratoga, CA 95070


Saint Andrews Church
Last Frontier Council 480
800 NW 5th St
Moore, OK 73160


Saint Andrews Episc Missionary Ch
Longs Peak Council 062
3325 Mccann Ave
Cheyenne, Wy 82001


Saint Andrews Episcopal Church
Pacific Skyline Council 031
1600 Santa Lucia Ave
San Bruno, CA 94066


Saint Andrews Evangelical Lutheran
Westchester Putnam 388
2405 Crompond Rd
Yorktown Heights, NY 10598


Saint Andrews Lutheran Ch San Mateo
Pacific Skyline Council 031
1501 S El Camino Real
San Mateo, Ca 94402
Saint Andrews Lutheran Church
Mt Diablo‐Silverado Council 023
2507 San Jose Dr
Antioch, CA 94509


Saint Andrews Lutheran Church
Northeast Illinois 129
10 S Lake St
Mundelein, IL 60060


Saint Andrews Presbyterian Church
Circle Ten Council 571
3204 Skillman St
Dallas, TX 75206


Saint Andrews Presbyterian Church
Mt Diablo‐Silverado Council 023
1601 Mary Dr
Pleasant Hill, CA 94523


Saint Andrews Presbyterian Church
Pacific Skyline Council 031
1283 Terra Nova Blvd
Pacifica, CA 94044


Saint Andrews Presbyterian Church
Three Rivers Council 578
1350 N 23rd St
Beaumont, TX 77706


Saint Angela Merici
Laurel Highlands Council 527
1640 Fawcett Ave
White Oak, PA 15131


Saint Angela Merici Catholic Church
Lake Erie Council 440
20970 Lorain Rd
Fairview Park, OH 44126


Saint Ann Catholic Church
Circle Ten Council 571
807 N Washington St
Kaufman, TX 75142


Saint Ann Parish
The Spirit of Adventure 227
757 Hancock St
Quincy, MA 02170


Saint Anne Catholic Church
Coastal Georgia Council 099
P.O. Box 648
Richmond Hill, GA 31324


Saint Anne Catholic Church
Evangeline Area 212
111 Thorn Dr
Youngsville, LA 70592


Saint Anne Catholic Church
Sam Houston Area Council 576
1111 S Cherry St
Tomball, TX 77375


Saint Anne Catholic Church
San Francisco Bay Area Council 028
850 Judah St
San Francisco, CA 94122


Saint Anne S Catholic Church
Sequoyah Council 713
300 Euclid Ave
Bristol, VA 24201


Saint Annes Catholic Church
Quivira Council, Bsa 198
1101 W Regal St
Wichita, KS 67217


Saint Annes Church
Northern New Jersey Council, Bsa 333
15‐05 Saint Anne St
Fair Lawn, NJ 07410


Saint Anthony Catholic Church
Great Rivers Council 653
1874 N Business Route 5
Camdenton, MO 65020


Saint Anthony Catholic Church
Miami Valley Council, Bsa 444
820 Bowen St
Dayton, OH 45410


Saint Anthony Church
Aloha Council, Bsa 104
1627 Mill St, Ste B
Wailuku, HI 96793


Saint Anthony Of Padua
Westchester Putnam 388
85 Harrison St
West Harrison, NY 10604


Saint Anthony Of Padua School
Garden State Council 690
2824 River Rd
Camden, NJ 08105


Saint Anthony S Church
Hudson Valley Council 374
34 W Nyack Rd
Nanuet, NY 10954


Saint Anthonys Catholic Church
Mt Diablo‐Silverado Council 023
971 Ohara Ave
Oakley, CA 94561


Saint Anthonys Catholic Church
National Capital Area Council 082
1029 Monroe St Ne
Washington, DC 20017
Saint Anthonys Church
Connecticut Rivers Council, Bsa 066
4 Union City Rd
Prospect, CT 06712


Saint Antonius Coptic Orthodox Church
San Francisco Bay Area Council 028
2500 Hansen Rd
Hayward, CA 94541


Saint Athanasius Catholic Church
Lincoln Heritage Council 205
1915 Outer Loop
Louisville, KY 40219


Saint Augustine Catholic Church
San Francisco Bay Area Council 028
400 Alcatraz Ave
Oakland, CA 94609


Saint Augustine Catholic High School
Catalina Council 011
8800 E 22nd St
Tucson, AZ 85710


Saint Augustine School
Southern Shores Fsc 783
600 W Michigan Ave
Kalamazoo, MI 49007


Saint Barbara Church
Dan Beard Council, Bsa 438
4042 Turkeyfoot Rd
Erlanger, KY 41018


Saint Barnabas Catholic Church
Lake Erie Council 440
9451 Brandywine Rd
Northfield, OH 44067


Saint Barnabas Episcopal Church
Cape Cod and Islands Cncl 224
97 Main St
Falmouth, MA 02540


Saint Barnabas Methodist Church
Longhorn Council 662
5011 W Pleasant Ridge Rd
Arlington, TX 76016


Saint Barnabas Roman Catholic Church
Daniel Boone Council 414
109 Crescent Hill Rd
Arden, NC 28704


Saint Bartholomew Catholic Parish
Hoosier Trails Council 145 145
1306 27th St
Columbus, IN 47201


Saint Bartholomew Episcopal Church
Lake Erie Council 440
435 Som Center Rd
Mayfield Village, OH 44143


Saint Bartholomew S Church
Pacific Skyline Council 031
600 Alameda De Las Pulgas
San Mateo, CA 94402


Saint Bede Catholic Church
Colonial Virginia Council 595
3686 Ironbound Rd
Williamsburg, VA 23188


Saint Bede School
Greater Los Angeles Area 033
4524 Crown Ave
La Canada, CA 91011


Saint Benedict Catholic Church
Coastal Carolina Council 550
950 Darrell Creek Trl
Mount Pleasant, SC 29466


Saint Bernadette Catholic Church
Lake Erie Council 440
2256 Clague Rd
Westlake, OH 44145


Saint Bernadette Church
Greater Niagara Frontier Council 380
5930 S Abbott Rd
Orchard Park, NY 14127


Saint Bernadette Parish
Baltimore Area Council 220
801 Stevenson Rd
Severn, MD 21144


Saint Bernadettes Catholic Church
National Capital Area Council 082
70 University Blvd E
Silver Spring, MD 20901


Saint Bonaventures Catholic Church
Mt Diablo‐Silverado Council 023
5562 Clayton Rd
Concord, CA 94521


Saint Boniface Catholic Church
Buffalo Trace 156
418 N Wabash Ave
Evansville, IN 47712


Saint Brendan Catholic Church
Northeast Georgia Council 101
4633 Shiloh Rd
Cumming, GA 30040


Saint Brendan Catholic Church
San Francisco Bay Area Council 028
29 Rockaway Ave
San Francisco, CA 94127
Saint Brendan Catholic Church
Simon Kenton Council 441
4475 Dublin Rd
Hilliard, OH 43026


Saint Brendan Church
Greater Los Angeles Area 033
310 S Van Ness Ave
Los Angeles, CA 90020


Saint Casimir
Baltimore Area Council 220
2736 Odonnell St
Baltimore, MD 21224


Saint Casimir Catholic Church
Baltimore Area Council 220
2736 Odonnell St
Baltimore, MD 21224


Saint Cassian Rc Church
Northern New Jersey Council, Bsa 333
187 Bellevue Ave
Montclair, NJ 07043


Saint Cassian Roman Catholic Church
Northern New Jersey Council, Bsa 333
187 Bellevue Ave
Saint Cassian Roman Catholic Church
Montclair, NJ 07043


Saint Catherine Church Of Alexandria
National Capital Area Council 082
P.O. Box 278
Port Tobacco, MD 20677


Saint Catherine Laboure Church
New Birth of Freedom 544
4000 Derry St
Harrisburg, PA 17111
Saint Catherine Laboure School
Greater Los Angeles Area 033
3846 Redondo Beach Blvd
Torrance, CA 90504


Saint Catherine Of Siena
Simon Kenton Council 441
500 S Gould Rd
Columbus, OH 43209


Saint Cecilia Catholic Parish
Mid Iowa Council 177
2900 Hoover Ave
Ames, IA 50010


Saint Cecilia Church
Monmouth Council, Bsa 347
10 Kingston Ln
Monmouth Jct, NJ 08852


Saint Cecilia Parish
San Francisco Bay Area Council 028
2555 17th Ave
San Francisco, CA 94116


Saint Charles Borromeo Catholic Church
Greater Los Angeles Area 033
10850 Moorpark St
North Hollywood, CA 91602


Saint Charles Christian Church
Greater St Louis Area Council 312
3337 Rue Royale
Saint Charles, MO 63301


Saint Charles Church
Greater New York Councils, Bsa 640
644 Clawson St
Staten Island, NY 10306


Saint Clare Episcopal Church
San Francisco Bay Area Council 028
3350 Hopyard Rd
Pleasanton, CA 94588


Saint Columba Catholic
Columbia‐Montour 504
342 Iron St
Bloomsburg, PA 17815


Saint Columban Catholic Church
Pony Express Council 311
1111 Trenton St
Chillicothe, MO 64601


Saint Demetrius Catholic Church
Laurel Highlands Council 527
811 Church St
Gallitzin, PA 16641


Saint Dominic Catholic Church
Pikes Peak Council 060
5354 US 85
Colorado Springs, CO 80911


Saint Dominic Catholic School
Mobile Area Council‐Bsa 004
4160 Burma Rd
Mobile, AL 36693


Saint Duty Cme Church
Norwela Council 215
2832 6th St
Arcadia, LA 71001


Saint Edith Stein
Mayflower Council 251
71 E Main St
Brockton, MA 02301


Saint Edith Stein Catholic Church
Sam Houston Area Council 576
3311 Fry Rd
Katy, TX 77449
Saint Edmunds Episcopal Church
Greater Los Angeles Area 033
1175 S San Gabriel Blvd
Pasadena, CA 91108


Saint Edwards Catholic Church
Quapaw Area Council 018
801 Sherman St
Little Rock, AR 72202


Saint Edwards Catholic Church
Sam Houston Area Council 576
2601 Spring Stuebner Rd
Spring, TX 77389


Saint Edwards Parish
Westmoreland Fayette 512
120 St Edwards Ln
Herminie, PA 15637


Saint Elizabeth Ann Seton
Catalina Council 011
8650 N Shannon Rd
Tucson, AZ 85742


Saint Elizabeth Ann Seton Catholic Ch
Quivira Council, Bsa 198
645 N 119Th St W
Wichita, Ks 67235


Saint Elizabeth Ann Seton Church
Blue Grass Council 204
1730 Summerhill Dr
Lexington, KY 40515


Saint Elizabeth Ann Seton Parish
Westchester Putnam 388
1377 E Main St
Shrub Oak, NY 10588
Saint Elizabeth Ann Seton Parish
Western Massachusetts Council 234
99 King St
Northampton, MA 01060


Saint Elizabeth Parish
Western Massachusetts Council 234
181 Hubbard St
Ludlow, MA 01056


Saint Elizabeth S Episcopal Church
Great Smoky Mountain Council 557
110 Sugarwood Dr
Knoxville, TN 37934


Saint Elizabeth Seton Catholic Church
Redwood Empire Council 041
4595 Snyder Ln
Rohnert Park, CA 94928


Saint Elizabeth Seton Church
Pacific Skyline Council 031
1095 Channing Ave
Palo Alto, CA 94301


Saint Faustina Catholic Church
Sam Houston Area Council 576
P.O. Box 1099
Fulshear, TX 77441


Saint Finbar Parish School
Verdugo Hills Council 058
2120 W Olive Ave
Burbank, CA 91506


Saint Frances Academy
Baltimore Area Council 220
501 E Chase St
Baltimore, MD 21202


Saint Frances Cabrini Church
Louisiana Purchase Council 213
2207 Texas Ave
Alexandria, LA 71301


Saint Francis Assisi RC Ch
Connecticut Rivers Council, Bsa 066
1755 Stanley St
New Britain, Ct 06053


Saint Francis Church
Northern New Jersey Council, Bsa 333
114 Mt Vernon St
Ridgefield Park, NJ 07660


Saint Francis Dad S Club
Pacific Skyline Council 031
1425 Bay Rd
East Palo Alto, CA 94303


Saint Francis De Sales
Patriots Path Council 358
P.O. Box 785
Mc Afee, NJ 07428


Saint Francis De Sales Catholic Church
Buckskin 617
622 S Oakwood Ave
Beckley, WV 25801


Saint Francis De Sales Parish
W.L.A.C.C. 051
13370 Valleyheart Dr
Sherman Oaks, CA 91423


Saint Francis Episcopal Church
Dan Beard Council, Bsa 438
225 N Main St
Springboro, OH 45066


Saint Francis Episcopal Church
National Capital Area Council 082
9220 Georgetown Pike
Great Falls, VA 22066
Saint Francis In‐The‐Field Episc Ch
North Florida Council 087
895 Palm Valley Rd
Ponte Vedra, Fl 32081


Saint Francis Of Assisi
Denver Area Council 061
2746 5th St
Castle Rock, CO 80104


Saint Francis Of Assisi Catholic Church
Alamo Area Council 583
4201 De Zavala Rd
San Antonio, TX 78249


Saint Francis Of Assisi Catholic Church
President Gerald R Ford 781
1025 S Union St
Traverse City, MI 49684


Saint Francis Of Assisi Catholic Church
Quivira Council, Bsa 198
861 N Socora St
Wichita, KS 67212


Saint Francis Of Assisi Catholic Parish
Silicon Valley Monterey Bay 055
5111 San Felipe Rd
San Jose, CA 95135


Saint Francis Of The Islands Church
Coastal Georgia Council 099
590 Walthour Rd
Savannah, GA 31410


Saint Francis School
Puerto Rico Council 661
P.O. Box 3270
Carolina, PR 00984
Saint Francis University
P.O. Box 600
Loretto, PA 15940‐0600


Saint Francis Xavier Catholic Church
Jayhawk Area Council 197
301 E Jones St
P.O. Box 97
Mayetta, KS 66509


Saint Francis Xavier Church
President Gerald R Ford 781
513 Howard St
Petoskey, MI 49770


Saint Francis Xavier RC Ch
Connecticut Rivers Council, Bsa 066
1 Elm St
New Milford, Ct 06776


Saint Francis Xavier Rcc
Greater New York Councils, Bsa 640
225 6th Ave
Brooklyn, NY 11215


Saint Francois Rotary
Greater St Louis Area Council 312
9847 Silver Springs Rd
Bonne Terre, MO 63628


Saint Gabriel Catholic Church
Pikes Peak Council 060
8755 Scarborough Dr
Colorado Springs, CO 80920


Saint Gabriel S Episcopal Church
Narragansett 546
P.O. Box 545
124 Front St
Marion, MA 02738


Saint Gabriels Roman Catholic Church
Laurel Highlands Council 527
5200 Greenridge Dr
Pittsburgh, PA 15236


Saint Genevieve Catholic Church
Southeast Louisiana Council 214
815 Barbier Ave
Thibodaux, LA 70301


Saint George Catholic Church
Mayflower Council 251
74 School St
Framingham, MA 01701


Saint George Episcopal Church
Greater St Louis Area Council 312
105 E D St
Belleville, IL 62220


Saint George Greek Orthodox Church
Daniel Webster Council, Bsa 330
70 W St
Keene, NH 03431


Saint George S Episcopal Church
Coastal Carolina Council 550
9110 Dorchester Rd
Summerville, SC 29485


Saint George Youth    Scouting Council
Pine Tree Council 218
P.O. Box 332
Tenants Harbor, ME 04860


Saint Geralds Church
Mid‐America Council 326
7859 Lakeview St
Omaha, NE 68127


Saint Gerard Majella
Greater St Louis Area Council 312
1969 Dougherty Ferry Rd
Saint Louis, MO 63122


Saint Gregory Church
Pacific Skyline Council 031
2715 Hacienda St
San Mateo, CA 94403


Saint Gregory The Great Catholic Church
Cimarron Council 474
1924 W Willow Rd
Enid, OK 73703


Saint Gregory The Great Catholic Church
Coastal Carolina Council 550
31 Saint Gregory Dr
Okatie, SC 29909


Saint Helens Booster Club
Miami Valley Council, Bsa 444
605 Granville Pl
Dayton, OH 45431


Saint Henry Catholic Church
Indian Nations Council 488
P.O. Box 181
Owasso, OK 74055


Saint Hilary Parish School
Greater Los Angeles Area 033
5401 Citronell Ave
Pico Rivera, CA 90660


Saint Ignatius Of Loyola
National Capital Area Council 082
4103 Prices Distillery Rd
Ijamsville, MD 21754


Saint Ignatius Parish
Cascade Pacific Council 492
3400 SE 43rd Ave
Portland, OR 97206
Saint Ignatius Rc Church
Washington Crossing Council 777
999 Reading Ave
Yardley, PA 19067


Saint Jacob Lutheran Church
Miami Valley Council, Bsa 444
213 E Central Ave
Miamisburg, OH 45342


Saint James AME Church
Laurel Highlands Council 527
444 Lincoln Ave
East Liberty, PA 15206


Saint James Anglican Church
Coastal Carolina Council 550
1872 Camp Rd
Charleston, SC 29412


Saint James Catholic Parish
Potawatomi Area Council 651
830 E Veterans Way
Mukwonago, WI 53149


Saint James Christian Academy
Gulf Stream Council 085
5200 Oleander Ave
Fort Pierce, FL 34982


Saint James Episcopal Church
Baltimore Area Council 220
3100 Monkton Rd
Monkton, MD 21111


Saint James Episcopal Church
Caddo Area Council 584
417 Olive St
Texarkana, TX 75501


Saint James Episcopal Church
Northwest Georgia Council 100
P.O. Box 85
Cedartown, GA 30125


Saint James Lutheran Church
Central N Carolina Council 416
P.O. Box 684
104 Union St Sw
Concord, NC 28026


Saint James Lutheran Church
Georgia‐Carolina 093
200 Laurel Dr
Graniteville, SC 29829


Saint James Lutheran Church
Sequoyah Council 713
3285 Saint James Rd
Greeneville, TN 37743


Saint James Roman Catholic Church
French Creek Council 532
2602 Buffalo Rd
Erie, PA 16510


Saint James Roman Catholic Church
Northern New Jersey Council, Bsa 333
32 Saint James Pl
Totowa, NJ 07512


Saint James Utd Methodist Ch Little Rock
Quapaw Area Council 018
321 Pleasant Valley Dr
Little Rock, Ar 72212


Saint James Utd Methodist Church
Baltimore Area Council 220
12470 Old Frederick Rd
Marriottsville, MD 21104


Saint James Utd Methodist Church
East Carolina Council 426
2000 E 6th St
Greenville, NC 27858


Saint Januarius Church
Laurel Highlands Council 527
1450 Renton Rd
Pittsburgh, PA 15239


Saint Jeanne De Lestonnac
Orange County Council 039
16791 E Main St
Tustin, CA 92780


Saint Jeanne Jugan Parish
Connecticut Rivers Council, Bsa 066
23 Simon Rd
Enfield, CT 06082


Saint Jerome Catholic Church
Sam Houston Area Council 576
8825 Kempwood Dr
Houston, TX 77080


Saint Joachim Catholic Church
Orange County Council 039
1964 Orange Ave
Costa Mesa, CA 92627


Saint Joachim School
San Francisco Bay Area Council 028
21250 Hesperian Blvd
Hayward, CA 94541


Saint Joan Of Arc Catholic Church
Southeast Louisiana Council 214
529 W 5th St
P.O. Box 490
La Pl, LA 70068


Saint Joan Of Arc Catholic Church
Southeast Louisiana Council 214
529 W 5th St
La Pl, LA 70068


Saint John Baptist Catholic Church
National Capital Area Council 082
12319 New Hampshire Ave
Silver Spring, MD 20904


Saint John Evangelical Ucc
Greater St Louis Area Council 312
307 W Clay St
Collinsville, IL 62234


Saint John Evangelist Catholic Parish
Hoosier Trails Council 145 145
408 Church St
Loogootee, In 47553


Saint John Lutheran Church
Tidewater Council 596
8918 Tidewater Dr
Norfolk, VA 23503


Saint John Lutheran Church Windfall
Buckeye Council 436
5070 Newmans Cardington Rd E
Cardington, OH 43315


Saint John Neumann Catholic Church
Los Padres Council 053
966 W Orchard St
Santa Maria, CA 93458


Saint John Paul Ii
Greater Niagara Frontier Council 380
2052 Lakeview Rd
Lake View, NY 14085


Saint John Paul Ii Parish
Lincoln Heritage Council 205
3042 Hikes Ln
Louisville, KY 40220
Saint John Paul Ii Parish
Narragansett 546
697 Central Ave
Pawtucket, RI 02861


Saint John Paul Ii Rc Church
Greater Niagara Frontier Council 380
2052 Lakeview Rd
Lake View, NY 14085


Saint John S Episcopal Church
Cimarron Council 474
917 Texas St
Woodward, OK 73801


Saint John S Evangelical Lutheran Church
Pennsylvania Dutch Council 524
23 S 6th St
Columbia, PA 17512


Saint John S University
Sandra Dirkes
2850 Abbey Plaza
Collegeville, MN 56321


Saint John The Baptist Catholic Church
300 E 11800 S
Draper, UT 84020


Saint John The Baptist Catholic Church
Longs Peak Council 062
323 Collyer St
Longmont, CO 80501


Saint John Utd Methodist Church
Buckskin 617
4536 Teays Valley Rd
Scott Depot, WV 25560


Saint John Vianney Catholic Church
Sam Houston Area Council 576
625 Nottingham Oaks Trl
Houston, TX 77079


Saint Johns Episcopal Church
Greater Los Angeles Area 033
4745 Wheeler Ave
La Verne, CA 91750


Saint Johns Episcopal Church
The Spirit of Adventure 227
8 Prospect St
Saugus, MA 01906


Saint Johns Lutheran Church
Black Hills Area Council 695 695
13275 Fall River Rd
Hot Springs, SD 57747


Saint Johns Lutheran Church
Juniata Valley Council 497
120 N Main St
Lewistown, PA 17044


Saint Johns Lutheran Church
Miami Valley Council, Bsa 444
122 W National Rd
Vandalia, OH 45377


Saint Johns Lutheran Church
Miami Valley Council, Bsa 444
248 Wood St
Piqua, OH 45356


Saint Johns Lutheran Church
Mid‐America Council 326
322 N Molley St
Bennington, NE 68007


Saint Johns Lutheran Church
Mt Diablo‐Silverado Council 023
3521 Linda Vista Ave
Napa, CA 94558
Saint Johns Lutheran Church
Twin Valley Council Bsa 283
1200 13th Ave Nw
Austin, MN 55912


Saint Johns Newberry Utd Methodist Ch
Susquehanna Council 533
2101 Newberry St
Williamsport, Pa 17701


Saint Johns Parish Church
Coastal Carolina Council 550
3673 Maybank Hwy
Johns Island, SC 29455


Saint Johns Presbyterian Church
Mt Diablo‐Silverado Council 023
2727 College Ave
Berkeley, CA 94705


Saint Johns Roman Catholic Church
Chief Seattle Council 609
121 N 80th St
Seattle, WA 98103


Saint Johns Utd Church Of Christ
Water and Woods Council 782
P.O. Box 313
Marine City, MI 48039


Saint Joseph Catholic Church
Arbuckle Area Council 468
1300 E Beverly St
Ada, OK 74820


Saint Joseph Catholic Church
Cascade Pacific Council 492
6600 Highland Dr
Vancouver, WA 98661
Saint Joseph Catholic Church
Inland Nwest Council 611
4521 N Arden Rd
Otis Orchards, WA 99027


Saint Joseph Catholic Church
Mason Dixon Council 221
17630 Virginia Ave
Hagerstown, MD 21740


Saint Joseph Catholic Church
Mt Diablo‐Silverado Council 023
2100 Pear St
Pinole, CA 94564


Saint Joseph Catholic Church
Southeast Louisiana Council 214
403 Plater Dr
Thibodaux, LA 70301


Saint Joseph Catholic Church
Southern Shores Fsc 783
211 Church St
Saint Joseph, MI 49085


Saint Joseph Catholic Parish
Potawatomi Area Council 651
S89W22650 Milwaukee Ave
Big Bend, WI 53103


Saint Joseph Catholic School
Sam Houston Area Council 576
1811 Carolina St
Baytown, TX 77520


Saint Joseph Catholic School PTO
Greater Alabama Council 001
1111 E College St
Florence, AL 35630


Saint Joseph Church
Jersey Shore Council 341
685 Hooper Ave
Toms River, NJ 08753


Saint Joseph Church
Mayflower Council 251
153 S Franklin St
Holbrook, MA 02343


Saint Joseph Grade School
Buckskin 617
1326 6th Ave
Huntington, WV 25701


Saint Joseph Roman Catholic Church
Chief Cornplanter Council, Bsa 538
600 Pennsylvania Ave W
Warren, PA 16365


Saint Joseph S Catholic Church
Northwest Georgia Council 100
968 Haig Mill Lake Rd
Dalton, GA 30720


Saint Joseph School Catholic School
Lincoln Heritage Council 205
416 Church Ave
Bowling Green, KY 42101


Saint Josephs Catholic Church
East Texas Area Council 585
410 N Alamo Blvd
Marshall, TX 75670


Saint Josephs Catholic Church
Gulf Stream Council 085
1200 SE 10th St
Stuart, FL 34996


Saint Josephs Catholic Church Of Upland
California Inland Empire Council 045
877 N Campus Ave
Upland, CA 91786
Saint Josephs Church
Mayflower Council 251
2 Barber St
Medway, MA 02053


Saint Josephs Church
Westchester Putnam 388
95 Plumbrook Rd
Somers, NY 10589


Saint Josephs Roman Catholic Church
Catalina Council 011
215 S Craycroft Rd
Tucson, AZ 85711


Saint Josephs Roman Catholic Church
Northern New Jersey Council, Bsa 333
454 Germantown Rd
West Milford, NJ 07480


Saint Josephs Roman Catholic Church
Northern New Jersey Council, Bsa 333
Germantown Rd
West Milford, NJ 07480


Saint Junipero Serra Parish
Connecticut Rivers Council, Bsa 066
80 Hayes Rd
South Windsor, CT 06074


Saint Junipero Serra Parish
W.L.A.C.C. 051
42121 60th St W
Lancaster, CA 93536


Saint Justin The Martyr
Greater St Louis Area Council 312
11914 Eddie and Park Rd
Saint Louis, MO 63126
Saint Kateri Catholic Parish
W.L.A.C.C. 051
22508 Copper Hill Dr
Santa Clarita, CA 91350


Saint Kateri Tekakwitha Parish
Twin Rivers Council 364
1803 Union St
Schenectady, NY 12309


Saint Kateri Tekakwitha RC Parish
Patriots Path Council 358
427 Stanhope Rd
Sparta, Nj 07871


Saint Kateri Tekawitha Parish
Seneca Waterways 397
445 Kings Hwy S
Rochester, NY 14617


Saint Katharine Drexel Catholic Church
National Capital Area Council 082
8428 Opossumtown Pike
Frederick, MD 21702


Saint Katharine Drexel Church
New Birth of Freedom 544
1 Peters Dr
Mechanicsburg, PA 17050


Saint Katharine Drexel School    Skds
Bay‐Lakes Council 635
503 S Spring St
Beaver Dam, WI 53916


Saint Katherine Drexel Parish
Laurel Highlands Council 527
126 Church St
Bentleyville, PA 15314


Saint Kevins Rc Church
Greater New York Councils, Bsa 640
4521 194th St
Flushing, NY 11358


Saint Ladislas Church
Lake Erie Council 440
2345 Bassett Rd
Westlake, OH 44145


Saint Lawrence Martyr Church
Greater Los Angeles Area 033
1940 S Prospect Ave
Redondo Beach, CA 90277


Saint Leo Catholic Church
Sam Houston Area Council 576
2131 Lauder Rd
Houston, TX 77039


Saint Louis Church
W D Boyce 138
616 S Gosse Blvd
Princeton, IL 61356


Saint Louis Roman Catholic Church
Baltimore Area Council 220
12500 State Route 108
Clarksville, MD 21029


Saint Luke Catholic Church
Lincoln Heritage Council 205
4211 Jim Hawkins Dr
Louisville, KY 40229


Saint Luke Evangelical Lutheran Church
Redwood Empire Council 041
905 Mendocino Ave
Santa Rosa, CA 95401


Saint Luke Parish
Patriots Path Council 358
P.O. Box 416
265 W Mill Rd
Long Valley, NJ 07853


Saint Luke S Methodist Church Men
Greater St Louis Area Council 312
6325 W Main St
Maryville, IL 62062


Saint Lukes Lutheran Church
Juniata Valley Council 497
301 N Penna Ave
P.O. Box 331
Centre Hall, PA 16828


Saint Margaret Mary
Blackhawk Area 660
111 S Hubbard St
Algonquin, IL 60102


Saint Margaret Mary Catholic Church
Southeast Louisiana Council 214
1050 Robert Blvd
Slidell, LA 70458


Saint Margaret Mary Parish
Blackhawk Area 660
111 S Hubbard St
Algonquin, IL 60102


Saint Margarets Church
Rio Grande Council 775
122 W Hawk Ave
Pharr, TX 78577


Saint Maria Goretti Church
Crossroads of America 160
17102 Spring Mill Rd
Westfield, IN 46074


Saint Mark Baptist Church Little Rock
Quapaw Area Council 018
5722 W 12th St
Little Rock, AR 72204
Saint Mark Catholic Church
Crossroads of America 160
541 E Edgewood Ave
Indianapolis, IN 46227


Saint Mark Coptic Orthodox Church
Pacific Harbors Council, Bsa 612
12407 214th Ave E
Bonney Lake, WA 98391


Saint Mark Lutheran Church
Northeast Illinois 129
1822 E Grand Ave
Lindenhurst, IL 60046


Saint Mark Lutheran Church
President Gerald R Ford 781
1934 52nd St Se
Grand Rapids, MI 49508


Saint Mark S Episcopal Church
Laurel Highlands Council 527
335 Locust St
Johnstown, PA 15901


Saint Mark S Utd Methodist Church
Piedmont Council 420
3149 Hwy 70 W
Marion, NC 28752


Saint Mark S Utd Methodist Woman
Colonial Virginia Council 595
99 E Mercury Blvd
Hampton, VA 23669


Saint Mark Utd Methodist Church
Black Warrior Council 006
1421 Mcfarland Blvd
Northport, AL 35476
Saint Marks Parish
W D Boyce 138
1113 W Bradley Ave
Peoria, IL 61606


Saint Marks Utd Methodist Church
Andrew Jackson Council 303
400 Grants Ferry Rd
Brandon, MS 39047


Saint Marks Utd Methodist Church
Colonial Virginia Council 595
99 E Mercury Blvd
Hampton, VA 23669


Saint Martin De Porres Academy
Connecticut Yankee Council Bsa 072
8 Columbus Ave
New Haven, CT 06519


Saint Martins Episcopal Church
Mecklenburg County Council 415
1510 E 7th St
Charlotte, NC 28204


Saint Mary   Saint Mercurius Church
Northern New Jersey Council, Bsa 333
125 Academy St
Belleville, NJ 07109


Saint Mary And Saint Antonios
Greater New York Councils, Bsa 640
606 Woodward Ave
Ridgewood, NY 11385


Saint Mary Catholic Church
Simon Kenton Council 441
82 E William St
Delaware, OH 43015


Saint Mary Catholic Church
Three Rivers Council 578
912 W Cherry Ave
Orange, TX 77630


Saint Mary Gate Of Heaven Rc Church
Greater New York Councils, Bsa 640
10312 101st Ave
Ozone Park, NY 11416


Saint Mary Immaculate Conception Church
Laurel Highlands Council 527
1405 5th Ave
Altoona, PA 16602


Saint Mary Magdalen Parish
Mt Diablo‐Silverado Council 023
2005 Berryman St
Berkeley, CA 94709


Saint Mary Of Sorrows Catholic Church
National Capital Area Council 082
5222 Sideburn Rd
Fairfax, VA 22032


Saint Mary Of The Assumption
Mayflower Council 251
27 Pearl St
Milford, MA 01757


Saint Mary Of The Assumption
National Capital Area Council 082
14908 Main St
Upper Marlboro, MD 20772


Saint Mary Of The Sacred Heart
Mayflower Council 251
392 Hanover St
Hanover, MA 02339


Saint Mary S Catholic Church
Crossroads of America 160
2300 W Jackson St
Muncie, IN 47303
Saint Mary S Catholic Church
National Capital Area Council 082
520 Veirs Mill Rd
Rockville, MD 20852


Saint Mary S Catholic Church
National Capital Area Council 082
600 Veirs Mill Rd
Rockville, MD 20852


Saint Mary S Catholic Church
North Florida Council 087
1143 W Macclenny Ave
Macclenny, FL 32063


Saint Mary S Church
Leatherstocking 400
39 Walnut St
Oneonta, NY 13820


Saint Mary S Church
New Birth of Freedom 544
309 S George St
York, PA 17401


Saint Mary S Episcopal Church
Indian Waters Council 553
170 Saint Andrews Rd
Columbia, SC 29210


Saint Mary S In The Hills Episc Ch
Great Lakes Fsc 272
2512 Joslyn Ct
Lake Orion, Mi 48360


Saint Mary S Parish Council
Gamehaven 299
1303 W Broadway St
Winona, MN 55987
Saint Mary S‐By‐The‐Sea Episcopal Church
Silicon Valley Monterey Bay 055
146 12th St
Pacific Grove, CA 93950


Saint Marys Catholic Church
Coronado Area Council 192
230 E Cloud St
Salina, KS 67401


Saint Marys Catholic Church
Crossroads of America 160
2300 W Jackson St
Muncie, IN 47303


Saint Marys Catholic Church
Erie Shores Council 460
609 Vine St
Clyde, OH 43410


Saint Marys Catholic Church
Mid‐America Council 326
2302 Crawford St
Bellevue, NE 68005


Saint Marys Catholic Church
Narragansett 546
1 Power St
Norton, MA 02766


Saint Marys Catholic Church
Quivira Council, Bsa 198
106 E 8th St
Newton, KS 67114


Saint Marys Parish
Montana Council 315
405 Main St
Chester, MT 59522


Saint Marys Roman Catholic Church
Black Swamp Area Council 449
707 Jefferson Ave
Defiance, OH 43512


Saint Matthew Apostle Catholic Church
Simon Kenton Council 441
807 Havens Corners Rd
Gahanna, OH 43230


Saint Matthew Catholic Church
Flint River Council 095
215 Kirkley Rd
Tyrone, GA 30290


Saint Matthew Lutheran Church
Garden State Council 690
318 Chester Ave
Moorestown, NJ 08057


Saint Matthew S Episcopal Church
Grand Canyon Council 010
P.O. Box 1959
901 W Erie St
Chandler, AZ 85244


Saint Matthews Catholic Church
Hawkeye Area Council 172
2310 1st Ave Ne
Cedar Rapids, IA 52402


Saint Maur International School
Far E Council 803
83 Yamate‐Cho Naka‐Ku
Yokohama,
Japan


Saint Maximillian Kolbe R C C
Connecticut Rivers Council, Bsa 066
19 Electric Ave
Thomaston, CT 06787


Saint Micael Lutheran Church
Great Lakes Fsc 272
7000 N Sheldon Rd
Canton, MI 48187


Saint Michael Catholic Church
Lincoln Heritage Council 205
11400 Farmers Ln Ne
Greenville, IN 47124


Saint Michael Catholic Church
San Francisco Bay Area Council 028
458 Maple St
Livermore, CA 94550


Saint Michael Parish
Pine Tree Council 218
P.O. Box 555
Augusta, ME 04332


Saint Michaels Catholic Church
Pee Dee Area Council 552
542 Cypress Ave
Murrells Inlet, SC 29576


Saint Michaels Church
Catalina Council 011
602 N Wilmot Rd
Tucson, AZ 85711


Saint Michaels Episcopal Church
Capitol Area Council 564
1500 N Capital of Texas Hwy
Austin, TX 78746


Saint Mina Coptic Orthodox Church
Monmouth Council, Bsa 347
132 State Route 34
Holmdel, NJ 07733


Saint Monica Catholic Church
Crossroads of America 160
6131 Michigan Rd
Indianapolis, IN 46228
Saint Nicholas Byzantine Catholic Church
Lake Erie Council 440
2711 W 40th St
Lorain, OH 44053


Saint Nicholas Catholic Church
Black Swamp Area Council 449
P.O. Box 36
Miller City, OH 45864


Saint Nicholas Episcopal Church
Longhorn Council 662
4800 Wichita Trl
Flower Mound, TX 75022


Saint Nicholas Lutheran Church
National Capital Area Council 082
1450 Plum Point Rd
Huntingtown, MD 20639


Saint Odilia Catholic Church
Catalina Council 011
7570 N Paseo Del Norte
Tucson, AZ 85704


Saint Olaf Roman Catholic Parish
Chief Seattle Council 609
18943 Caldart Ave Ne
Poulsbo, WA 98370


Saint Olafs Catholic Church      School
Chippewa Valley Council 637
P.O. Box 1203
Eau Claire, WI 54702


Saint Padre Pio Catholic Church
Alamo Area Council 583
20770 US Hwy 281 N, Ste 108
PMB 611
San Antonio, TX 78258
Saint Patrick Catholic Church
Mecklenburg County Council 415
1621 Dilworth Rd E
Charlotte, NC 28203


Saint Patrick Catholic Church
Mid‐America Council 326
422 E 4th St
Fremont, NE 68025


Saint Patrick Catholic Church
Rainbow Council 702
428 S Indiana Ave
Kankakee, IL 60901


Saint Patrick Catholic Church
Tecumseh 439
328 E Patterson Ave
Bellefontaine, OH 43311


Saint Patrick Catholic Parish Pasco
Blue Mountain Council 604
1320 W Henry St
Pasco, WA 99301


Saint Patrick Church
Connecticut Rivers Council, Bsa 066
32 E Main St
Mystic, CT 06355


Saint Patrick S Episcopal Church
Great Swest Council 412
225 S Pagosa Blvd
Pagosa Springs, CO 81147


Saint Patrick School
Laurel Highlands Council 527
200 Murdock St
Canonsburg, PA 15317


Saint Patricks Catholic Church
Choctaw Area Council 302
2614 Davis St
Meridian, MS 39301


Saint Patricks Catholic Church
Crossroads of America 160
1807 Poplar St
Terre Haute, IN 47803


Saint Patricks Catholic Church
Gateway Area 624
1031 Main St
Onalaska, WI 54650


Saint Patricks Catholic Church
Longs Peak Council 062
340 Cedar St
Chadron, NE 69337


Saint Patricks Catholic Church
Pikes Peak Council 060
6455 Brook Park Dr
Colorado Springs, CO 80918


Saint Paul ‐ Castlewood Kiwanis
Sequoyah Council 713
3820 Bull Hill Rd
Saint Paul, VA 24283


Saint Paul African Methodist Episcopal
Simon Kenton Council 441
639 E Long St
Columbus, OH 43215


Saint Paul Catholic Church
Pikes Peak Council 060
9 El Pomar Rd
Colorado Springs, CO 80906


Saint Paul Episcopal Church
Westark Area Council 016
224 N E Ave
Fayetteville, AR 72701


Saint Paul Lutheran Church
Cascade Pacific Council 492
312 1st Ave Sw
Castle Rock, WA 98611


Saint Paul Lutheran Church
Trapper Trails 589
3329 Harrison Blvd
Ogden, UT 84403


Saint Paul Methodist Church
Ozark Trails Council 306
2423 W 26th St
Joplin, MO 64804


Saint Paul Of The Cross
Anthony Wayne Area 157
315 S Line St
Columbia City, IN 46725


Saint Paul Parish
Greater St Louis Area Council 312
1412 9th St
Highland, IL 62249


Saint Paul S ‐ Summerville
Coastal Carolina Council 550
111 Waring St
Summerville, SC 29483


Saint Paul S Utd Methodist Ch Ponca City
Cimarron Council 474
1904 N Pecan Rd
Ponca City, Ok 74604


Saint Paul The Apostle School
Illowa Council 133
1007 E Rusholme St
Davenport, IA 52803
Saint Paul Utd Methodist Church
Buckeye Council 436
746 Cherry St
Galion, OH 44833


Saint Paul Utd Methodist Church
Cornhusker Council 324
1144 M St
Lincoln, NE 68508


Saint Paul Utd Methodist Church
Miami Valley Council, Bsa 444
120 N Maple St
Eaton, OH 45320


Saint Pauls Catholic Church
Gulf Coast Council 773
1700 Conway Dr
Pensacola, FL 32503


Saint Pauls Episcopal Church
Mt Diablo‐Silverado Council 023
1924 Trinity Ave
Walnut Creek, CA 94596


Saint Pauls Episcopal Church
Pacific Skyline Council 031
415 El Camino Real
Burlingame, CA 94010


Saint Pauls Lutheran Church
New Birth of Freedom 544
25 W Springettsbury Ave
Ave
York, PA 17403


Saint Pauls Utd Church Of Christ
Miami Valley Council, Bsa 444
820 Dingman St
Sidney, OH 45365
Saint Pauls Utd Methodist Church
Buckskin 617, 20th St
Nitro, WV 25143


Saint Pauls Utd Methodist Church
Indian Nations Council 488
P.O. Box 368
Okemah, OK 74859


Saint Pauls Utd Methodist Church
Jersey Shore Council 341
714 Herbertsville Rd
Brick, NJ 08724


Saint Pauls Utd Methodist Church
Pennsylvania Dutch Council 524
398 N Locust St
North Spruce    Oak Sts


Saint Pauls Utd Methodist Church
Yucca Council 573
225 W Griggs Ave
Las Cruces, NM 88005


Saint Pauls Utd Methodist Men
Suwannee River Area Council 664
1700 N Meridian Rd
Tallahassee, FL 32303


Saint Peter   Paul Catholic Church
Southeast Louisiana Council 214
66192 Saint Mary Dr
Pearl River, LA 70452


Saint Peter Catholic Church
Pikes Peak Council 060
55 Jefferson St
Monument, CO 80132


Saint Peter S Utd Methodist Church
Sam Houston Area Council 576
20775 Kingsland Blvd
Katy, TX 77450


Saint Peters Catholic Church
Coastal Carolina Council 550
70 Ladys Island Dr
Beaufort, SC 29907


Saint Peters Episcopal Church
Garden State Council 690
1 Hartford Rd
Medford, NJ 08055


Saint Peters Episcopal Church
Heart of Virginia Council 602
2961 Kings Hwy
Oak Grove, VA 22443


Saint Peters Lutheran Church
Baltimore Area Council 220
4300 Church Rd
Hampstead, MD 21074


Saint Peters Lutheran Church Men
Indian Waters Council 553
1130 Saint Peters Rd
Lexington, SC 29072


Saint Peters Police Dept
Greater St Louis Area Council 312
1020 Grand Teton Dr
Saint Peters, MO 63376


Saint Peters Utd Methodist Church
Jersey Shore Council 341
501 E 8th St
Ocean City, NJ 08226


Saint Philip Catholic Church
Southern Shores Fsc 783
126 Capital Ave Ne
Battle Creek, MI 49017
Saint Philip Neri
Saint Albert Catholic Church
Alameda Council Bsa 022
3108 Van Buren St
Alameda, Ca 94501


Saint Pius Men S Club
Pacific Skyline Council 031
1100 Woodside Rd
Redwood City, CA 94061


Saint Pius X Catholic Church
Heart of America Council 307
5601 Woodson Rd
Mission, KS 66202


Saint Pius X Catholic Church
Rocky Mountain Council 063
3130 Morris Ave
Pueblo, CO 81008


Saint Pius X Church
Crossroads of America 160
7200 Sarto Dr
Indianapolis, IN 46240


Saint Pius X Roman Catholic Church
Westmoreland Fayette 512
216 Spruce St
Mount Pleasant, PA 15666


Saint Rafka Maronite Catholic Church
Great Lakes Fsc 272
32765 Lyndon St
Livonia, MI 48154


Saint Raphael Church
Laurel Highlands Council 527
1118 Chislett St
Pittsburgh, PA 15206
Saint Raphael Roman Catholic Church
Greater Niagara Frontier Council 380
3840 Macklem Ave
Niagara Falls, NY 14305


Saint Raymond Of Penafort
Connecticut Rivers Council, Bsa 066
64 Pearl St
Enfield, CT 06082


Saint Rita Parish Roman Catholic Church
The Spirit of Adventure 227
158 Mammoth Rd
Lowell, MA 01854


Saint Robert Bellarmine Parish
Mid‐America Council 326
11802 Pacific St
Omaha, NE 68154


Saint Rosalies Church
Suffolk County Council Inc 404
31 E Montauk Hwy
Hampton Bays, NY 11946


Saint Rose Of Lima
Longhouse Council 373
409 S Main St
North Syracuse, NY 13212


Saint Rose Of Lima
Mayflower Council 251
244 W Main St
Northborough, MA 01532


Saint Rose Of Lima Catholic Church
Redwood Empire Council 041
398 10th St
Santa Rosa, CA 95401


Saint Rose Of Lima Catholic Parish
Grand Canyon Council 010
311 S Central Ave
Safford, AZ 85546


Saint Rose Parish
Cascade Pacific Council 492
701 26th Ave
Longview, WA 98632


Saint Savior Catholic Church
Dan Beard Council, Bsa 438
4118 Myrtle Ave
Cincinnati, OH 45236


Saint Saviour RC Church
Greater New York Councils, Bsa 640
611 8th Ave
Brooklyn, NY 11215


Saint Simon Parish
Pacific Skyline Council 031
1840 Grant Rd
Los Altos, CA 94024


Saint Simons Utd Methodist Church
Coastal Georgia Council 099
624 Ocean Blvd
Saint Simons Island, GA 31522


Saint Stanislaus Catholic Church
Great Rivers Council 653
6418 Route W
Wardsville, MO 65101


Saint Stephen 1st Martyr Catholic Ch
Coastal Georgia Council 099
399 Woodland Dr
Hinesville, Ga 31313


Saint Stephen Lutheran Church
Northeast Illinois 129
P.O. Box 362
1155 Hillside Ave
Antioch, IL 60002


Saint Stephen Roman Catholic Church
Northern New Jersey Council, Bsa 333
141 Washington Ave
Kearny, NJ 07032


Saint Stephen Roman Catholic Church
Northern New Jersey Council, Bsa 333
Washington Ave
Kearny, NJ 07032


Saint Stephen S Episcopal School
Southwest Florida Council 088
315 41st St W
Bradenton, FL 34209


Saint Stephens Lutheran Church Men
Juniata Valley Council 497
8489 Licking Creek Rd
Mifflintown, PA 17059


Saint Stephens School Rome
Transatlantic Council, Bsa 802
Via Aventina 3
Rome, 00100
Italy


Saint Sylvester Catholic Church
Gulf Coast Council 773
6464 Gulf Breeze Pkwy
Gulf Breeze, FL 32563


Saint Sylvester Church
Ohio River Valley Council 619
334 S Main St
Woodsfield, OH 43793


Saint Teresa Del Ninos Jesus
Tuscarora Council 424
206 Cavenaugh St
Beulaville, NC 27518
Saint Teresa S Roman Catholic Church
Greater New York Councils, Bsa 640
1634 Victory Blvd
Staten Island, NY 10314


Saint Theresa Catholic Church
San Francisco Bay Area Council 028
30 Mandalay Rd
Oakland, CA 94618


Saint Theresa Of The Child Jesus Church
Narragansett 546
18 Baltic St
Attleboro, MA 02703


Saint Theresa Of The Child Jesus Parish
Minsi Trails Council 502
1408 Eon Rd
Hellertown, PA 18055


Saint Therese De Lisieux Catholic Church
Gulf Stream Council 085
11800 Lake Worth Rd
Wellington, FL 33449


Saint Thomas Aquinas Church
Hudson Valley Council 374
1 Forestburgh Rd
Forestburgh, NY 12777


Saint Thomas Aquinas Holy Name Society
Erie Shores Council 460
729 White St
Toledo, OH 43605


Saint Thomas Episcopal Church
Tidewater Council 596
233 Mann Dr
Chesapeake, VA 23322
Saint Thomas Lutheran Church
Mid‐America Council 326
17007 Q St
Omaha, NE 68135


Saint Thomas More Catholic Church
Atlanta Area Council 092
630 W Ponce De Leon Ave
Decatur, GA 30030


Saint Thomas More Catholic Church
Lincoln Heritage Council 205
5645 Blandville Rd
Paducah, KY 42001


Saint Thomas More Elementary School
Sf Elks Lodge 3
San Francisco Bay Area Council 028
50 Thomas More Way
San Francisco, Ca 94132


Saint Thomas The Apostle Catholic Church
Catalina Council 011
5150 N Valley View Rd
Tucson, AZ 85718


Saint Thomas The Apostle Church
The Spirit of Adventure 227
3 Margin St
Peabody, MA 01960


Saint Timothy S In The Valley Episcopal
Buckskin 617
P.O. Box 424
Hurricane, WV 25526


Saint Timothy Utd Methodist
Men Spiritual Grp
Atlanta Area Council 092
5365 Memorial Dr
Stone Mountain, Ga 30083
Saint Timothys Episcopal Church
Mt Diablo‐Silverado Council 023
1550 Diablo Rd
Danville, CA 94526


Saint Veronica S Catholic Church
Pacific Skyline Council 031
434 Alida Way
South San Francisco, CA 94080


Saint Vincent
French Creek Council 532
232 W 25th St
Erie, PA 16544


Saint Vincent Basilica Parish
Westmoreland Fayette 512
St Vincent Archabbey
Latrobe, PA 15650


Saint Vincent De Paul Catholic Church
Mobile Area Council‐Bsa 004
6625 Three Notch Rd
Mobile, AL 36619


Saint Wenceslaus Catholic Church
Mid‐America Council 326
15353 Pacific St
Omaha, NE 68154


Saint Wendelin Church
Moraine Trails Council 500
210 Saint Wendelin Rd
Butler, PA 16002


Saint Wilfrid Of York Episcopal Church
Orange County Council 039
18631 Chapel Ln
Huntington Beach, CA 92646


Saint William Catholic Church
Capitol Area Council 564
620 Round Rock W Dr
Round Rock, TX 78681


Saint Williams Catholic Church
Coastal Georgia Council 099
2300 Frederica Rd
Saint Simons Island, GA 31522


Saints For Charity, LLC
Ore‐Ida Council 106 ‐ Bsa 106
4288 Dye Ln
Kuna, ID 83634


Saints Peter   Paul Catholic Church
Blue Grass Council 204
117 W Main St
Danville, KY 40422


Saints Peter   Paul RC Ch
Greater Niagara Frontier Council 380
66 E Main St
Hamburg, Ny 14075


Saints Peter And Paul Catholic Church
Catalina Council 011
1946 E Lee St
Tucson, AZ 85719


Saints Peter And Paul Catholic Church
Evangeline Area 212
P.O. Box 610
Scott, LA 70583


Saints Peter And Paul Catholic Church
Stonewall Jackson Council 763
4309 Thomas Jefferson Pkwy
Palmyra, VA 22963


Saints Peter And Paul Parish
Three Fires Council 127
36 N Ellsworth St
Naperville, IL 60540
Saints Peter And Paul Rc Church
Suffolk County Council Inc 404
781 Wading River Rd
Manorville, NY 11949


Saints Peter And Paul School
Mid‐America Council 326
3619 X St
Omaha, NE 68107


Saints Peter/Paul Ukrainian Orthodox Ch
Del Mar Va 081
1406 Philadelphia Pike
Wilmington, De 19809


Saints Philip   James Episcopal Church
Grand Canyon Council 010
P.O. Box Ee
Morenci, AZ 85540


Saints Philip   James Rc Church
Greater New York Councils, Bsa 640
1160 E 213th St
Bronx, NY 10469


Saints Philip   James Rc Church
Suffolk County Council Inc 404
1 Carow Pl
Saint James, NY 11780


Saints Utd Lutheran Church
Cradle of Liberty Council 525
3200 Ryan Ave
Philadelphia, PA 19136


Sakar International Inc
195 Carter Dr
Edison, NJ 08817


Sakostyle Inc
4187 E Crescent Way
Frisco, TX 75034


Salado Umc
Longhorn Council 662
P.O. Box 771
Salado, TX 76571


Salazar Elementary School ‐ PTA
Circle Ten Council 571
1120 S Revina
Dallas, TX 75211


Sale Street Baptist Church
Calcasieu Area Council 209
1611 W Sale Rd
Lake Charles, LA 70605


Saleeby‐Fisher Ymca
Central N Carolina Council 416
790 Crescent Rd
Rockwell, NC 28138


Salem Baptist Church
National Capital Area Council 082
4044 Plank Rd
Fredericksburg, VA 22407


Salem Church
Hawk Mountain Council 528
11 Church Rd
Klingerstown, PA 17941


Salem Covenant Church
Northern Star Council 250
2655 5th St Nw
New Brighton, MN 55112


Salem Elementary PTO
Tukabatchee Area Council 005
3486 County Rd 3
Orrville, AL 36767
Salem Evangelical Lutheran Church
American Legion 97
Mid‐America Council 326
1753 G Ave
Dakota City, Ne 68731


Salem Evangelical Lutheran Church
Baltimore Area Council 220
905 Frederick Rd
Baltimore, MD 21228


Salem Evangelical Lutheran Church
Greater Niagara Frontier Council 380
91 W Main St
Springville, NY 14141


Salem Evangelical Utd Ch Christ
Mississippi Valley Council 141 141
435 S 9Th St
Quincy, Il 62301


Salem First Baptist Church
Cascade Pacific Council 492
395 Marion St Ne
Salem, OR 97301


Salem First Utd Presbyterian Church
Twin Rivers Council 364
P.O. Box 606
West Broadway


Salem In Ballwin Utd Methodist
Greater St Louis Area Council 312
14825 Manchester Rd
Ballwin, MO 63011


Salem Institutional Baptist Church
Circle Ten Council 571
3909 Crozier St
Dallas, TX 75215
Salem Kiwanis Club
Cascade Pacific Council 492
P.O. Box 13271
Salem, OR 97309


Salem Lutheran Church
Connecticut Yankee Council Bsa 072
3160 Park Ave
Bridgeport, CT 06604


Salem Lutheran Church
Heart of America Council 307
9143 Haskins St
Lenexa, KS 66215


Salem Lutheran Church
Mid‐America Council 326
401 E Military Ave
Fremont, NE 68025


Salem Lutheran Church
Mount Baker Council, Bsa 606
2529 N Laventure Rd
Mount Vernon, WA 98273


Salem Lutheran Church
New Birth of Freedom 544
99 York Rd
Jacobus, PA 17407


Salem Lutheran Church
Orange County Council 039
6500 E Santiago Canyon Rd
Orange, CA 92869


Salem Lutheran Church
Pennsylvania Dutch Council 524
119 N 8th St
Lebanon, PA 17046


Salem Lutheran Church
Sam Houston Area Council 576
22601 Lutheran Church Rd
Tomball, TX 77377


Salem Lutheran Church
Three Fires Council 127
1145 Dekalb Ave
Sycamore, IL 60178


Salem Lutheran Church
Verdugo Hills Council 058
1211 N Brand Blvd
Glendale, CA 91202


Salem Lutheran Mens Club
Greater St Louis Area Council 312
3224 Keokuk St
Saint Louis, MO 63118


Salem Lutheran Mens Club
Greater St Louis Area Council 312
5025 Lakewood Ave
Saint Louis, MO 63123


Salem Memorial Vfw Post 8546
Daniel Webster Council, Bsa 330
42 N Broadway
Salem, NH 03079


Salem Methodist Church
Central N Carolina Council 416
21007 Nc 73 Hwy
Albemarle, NC 28001


Salem Methodist Church
Greater St Louis Area Council 312
1200 S Lindbergh Blvd
Saint Louis, MO 63131


Salem Methodist Church
Quapaw Area Council 018
1647 Salem Rd
Benton, AR 72019


Salem Missionary Baptist Church
Pee Dee Area Council 552
320 W Fulton St
Sumter, SC 29150


Salem Of Ballwin Utd Methodist Church
Greater St Louis Area Council 312
14825 Manchester Rd
Ballwin, MO 63011


Salem Township Fire Dept
Crossroads of America 160
14010 W Daleville Rd
Daleville, IN 47334


Salem Ucc
New Birth of Freedom 544
3377 Fox Run Rd
Dover, PA 17315


Salem Ucc Rohrerstown
Pennsylvania Dutch Council 524
2312 Marietta Ave
Rohrerstown, PA 17603


Salem Utd Church Of Christ
Denver Area Council 061
5300 E Florida Ave
Denver, CO 80222


Salem Utd Church Of Christ
Glaciers Edge Council 620
502 Mark Dr
Verona, WI 53593


Salem Utd Church Of Christ
Greater Niagara Frontier Council 380
114 Morgan St
Tonawanda, NY 14150
Salem Utd Church Of Christ
Greater St Louis Area Council 312
1117 W N St
Alhambra, IL 62001


Salem Utd Church Of Christ
Minsi Trails Council 502
107 Corner Rd
Gilbert, PA 18331


Salem Utd Church Of Christ
Minsi Trails Council 502
2218 Community Dr
Bath, PA 18014


Salem Utd Methodist
Blue Ridge Council 551
P.O. Box 42
Salem, SC 29676


Salem Utd Methodist
Greater Alabama Council 001
14165 Al Hwy 9 N
Cedar Bluff, AL 35959


Salem Utd Methodist Ch Keedysville
Mason Dixon Council 221
P.O. Box 25
Keedysville, Md 21756


Salem Utd Methodist Church
Blue Ridge Council 551
P.O. Box 42
Salem, SC 29676


Salem Utd Methodist Church
Buffalo Trace 156
6301 Kratzville Rd
Evansville, IN 47710


Salem Utd Methodist Church
Del Mar Va 081
469 Salem Church Rd
Newark, DE 19702


Salem Utd Methodist Church
East Carolina Council 426
P.O. Box 218
Simpson, NC 27879


Salem Utd Methodist Church
Greater Alabama Council 001
26301 Salem Minor Hill Rd
Lester, AL 35647


Salem Utd Methodist Church
Greater New York Councils, Bsa 640
2190 Adam Clayton Powell Jr Blvd
New York, NY 10027


Salem Utd Methodist Church
Greater St Louis Area Council 312
14825 Manchester Rd
Ballwin, MO 63011


Salem Utd Methodist Church
Laurel Highlands Council 527
350 Manor Rd
Wexford, PA 15090


Salem Utd Methodist Church
Mid‐America Council 326
14955 Somerset Ave
Council Bluffs, IA 51503


Salem Utd Methodist Church
Old Hickory Council 427
2591 Wards Gap Rd
Mount Airy, NC 27030


Salem Utd Methodist Church
Old N State Council 070
933 Salem Church Rd
Hurdle Mills, NC 27541


Salem Utd Methodist Church
Pathway To Adventure 456
115 W Lincoln Ave
Barrington, IL 60010


Salem Utd Methodist Church
Piedmont Council 420
184 Salem Church Rd
Bostic, NC 28018


Salem Utd Methodist Church
Quapaw Area Council 018
1018 Salem Rd
Conway, AR 72034


Salem Utd Methodist Church
Tidewater Council 596
2057 Salem Rd
Virginia Beach, VA 23456


Salem Utd Methodist Church
Tuscarora Council 424
2706 Salem Church Rd
Goldsboro, NC 27530


Salem Utd Methodist Church
Twin Rivers Council 364
349 Shaver Rd
P.O. Box 475


Salem Utd Methodist Church Mens Club
Occoneechee 421
2165 Middle Rd
Eastover, NC 28312


Salem Volunteer Firemans Assoc
Three Harbors Council 636
8339 Antioch Rd
Salem, WI 53168
Salemburg Baptist Church
Tuscarora Council 424
304 Jackson St
Salemburg, NC 28385


Salemburg Baptist Church
Tuscarora Council 424
P.O. Box 537
Salemburg, NC 28385


Salem‐Crestview Utd Methodist Church
Longhorn Council 662
929 Texas St
Graham, TX 76450


Sales And Use Tax Office
Attn St John the Baptist Parish
P.O. Box 432
Reserve, LA 70084


Sales And Use Tax Office
St John the Baptist Parish
P.O. Box 432
Reserve, LA 70084


Sales Service/America Inc
P.O. Box 34747
Alexandria, VA 22334‐0747


Salesforce.Com Foundation
Department 34293
P.O. Box 39000
San Francisco, CA 94139


Salesforcecom, Inc,
The Landmark   One Market, Ste 300
San Fransico, CA 94105


Salina Regional Health Center
Coronado Area Council 192
400 S Santa Fe Ave
Salina, KS 67401


Salinas Elks Lodge 614
Silicon Valley Monterey Bay 055
466 Airport Rd
Salinas, CA 93905


Salinas Firefighters Assoc L1270
Silicon Valley Monterey Bay 055
P.O. Box 2326
Salinas, CA 93902


Salinas Police Dept Pal
Silicon Valley Monterey Bay 055
222 Lincoln Ave
Salinas, CA 93901


Salinas Valley Memorial Hospital
Silicon Valley Monterey Bay 055
450 E Romie Ln
Salinas, CA 93901


Saline American Legion Wm B Lutz 322
Southern Shores Fsc 783
P.O. Box 226
Saline, MI 48176


Saline First Utd Methodist Church
Southern Shores Fsc 783
1200 N Ann Arbor St
Saline, MI 48176


Saline Police Dept
Southern Shores Fsc 783
100 N Harris St
Saline, MI 48176


Saline Rotary Club
Southern Shores Fsc 783
P.O. Box 121
Saline, MI 48176
Salisbury Christian School Inc
Del Mar Va 081
807 Parker Rd
Salisbury, MD 21804


Salisbury Lions Club
Great Rivers Council 653
P.O. Box 94
Salisbury, MO 65281


Salisbury Police Dept
Del Mar Va 081
699 W Salisbury Pkwy
Salisbury, MD 21801


Salisbury Presbyterian Church
Heart of Virginia Council 602
13621 W Salisbury Rd
Midlothian, VA 23113


Salisbury University
Attn Financial Aid Office
1101 Camden Ave
Salisbury, MD 21801


Salisbury Volunteer Fire Dept
Daniel Webster Council, Bsa 330
193 Center Rd
Salisbury, NH 03268


Salish Rescue
Chief Seattle Council 609
3723 San Juan Ave
Port Townsend, WA 98368


Salish Sea Scouting
Pacific Harbors Council, Bsa 612
1440 Grindstone Dr Se
Olympia, WA 98513


Salk Lake College
Attn Scholarship Dept
4600 S Redwood Rd
Salt Lake City, UT 84123


Sally A Brozzo
Address Redacted


Sally Bigham
Address Redacted


Sally Champine
Address Redacted


Sally Clement
Address Redacted


Sally Hertz
Address Redacted


Sally Isaacson
Address Redacted


Sally Lane
Address Redacted


Sally Lawrence
Address Redacted


Sally Mcswain
Address Redacted


Sally Richardson
Address Redacted


Sally Trump
Address Redacted


Salmon Creek Utd Methodist Church
Cascade Pacific Council 492
12217 NE Hwy 99
Vancouver, WA 98686


Salmons Consulting Inc
220 N Green St
Chicago, IL 60607


Salt Lake City Police Dept
Civilian Explorers
Great Salt Lake Council 590
4775 S 300 E
Salt Lake City, Ut 84114


Salt Lake Cnty Firefighters Iaff
Local 1696
Great Salt Lake Council 590
P.O. Box 97
West Jordan, Ut 84084


Salt Lake Marriott Downtown At City Cree
75 S W Temple
Salt Lake City, UT 84101


Salt River Fire Dept
10005 E Osborn Rd
Scottsdale, AZ 85256


Salt River Pima‐Maricopa Indian Communit
Economic Development Dept
10005 E Osborn Rd
Scottsdale, AZ 85256‐8722


Salt River Police Dept
Grand Canyon Council 010
10005 E Osborn Rd
Scottsdale, AZ 85256


Salt River Project
P.O. Box 2950
Phoenix, AZ 85062‐2950
Salt Service Inc
2992 Overseas Hwy
Marathon, FL 33050


Salty Paws Sailing LLC
1905 SE 8th Ter
Cape Coral, FL 33990


Salty Paws Sailing LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Saluda County Emergency Medical Services
Indian Waters Council 553
154 Medical Park Dr
Saluda, SC 29138


Saluda County Sheriff S Office
Indian Waters Council 553
100 Law Enforcement Dr
Saluda, SC 29138


Saluda Outfitters
Piedmont Council 420
435 Main St
Saluda, NC 28773


Salvador Diaz Falcon
Address Redacted


Salvation Army
Allegheny Highlands Council 382
111 Jackson Ave
Bradford, PA 16701


Salvation Army
Central Minnesota 296
208 S 5th St
Brainerd, MN 56401
Salvation Army
Gulf Stream Council 085
P.O. Box 2864
2655 5th St Sw
Vero Beach, FL 32961


Salvation Army
Hawk Mountain Council 528
301 S 5th St
Reading, PA 19602


Salvation Army
Minsi Trails Council 502
285 Washington St
East Stroudsburg, PA 18301


Salvation Army
Montana Council 315
P.O. Box 1307
Bozeman, MT 59771


Salvation Army
President Gerald R Ford 781
P.O. Box 1116
Muskegon, MI 49443


Salvation Army
Simon Kenton Council 441
760 Worthington Woods Blvd
Worthington, OH 43085


Salvation Army
Tukabatchee Area Council 005
2104 Franklin St
Selma, AL 36703


Salvation Army Boy And Girls Club
East Carolina Council 426
112 Hines St W
Wilson, NC 27893
Salvation Army Boys    Girls Club
Blue Ridge Council 551
1030 Salem Church Rd 11
Anderson, SC 29625


Salvation Army Boys   Girls Club
Flint River Council 095
725 Meriwether St
Griffin, GA 30224


Salvation Army Boys    Girls Club
St Albans
Buckskin 617
812 S Carroll St
Saint Albans, Wv 25177


Salvation Army Kroc Center
Alamo Area Council 583
201 Holdsworth Dr
Kerrville, TX 78028


Salvation Army Newburyport
The Spirit of Adventure 227
40 Water St
Newburyport, MA 01950


Salvation Army Of Ventura
Attn Lt Fabio Samoes
Ventura County Council 057
650 Petit Ave
Ventura, CA 93004


Salvatore F Spada
Address Redacted


Salvatore Lafata
Address Redacted


Salvatore Poidomani
Address Redacted
Salvatore Siniscalchi
Address Redacted


Salve Regina Catholic Academy
Greater New York Councils, Bsa 640
237 Jerome St
Brooklyn, NY 11207


Sam Academy
Sequoia Council 027
750 N St
Sanger, CA 93657


Sam Alapati
Address Redacted


Sam Davey Concerned Parents Of Pack 127
Chippewa Valley Council 637
3000 Starr Ave
Eau Claire, WI 54703


Sam E Keal
Address Redacted


Sam G Beckwith
Address Redacted


Sam H Byers
Address Redacted


Sam Houston Area
2225 N Loop W
Houston, TX 77008‐1311


Sam Houston Area Cncl 576
2225 N Loop W
Houston, TX 77008


Sam Houston Area Council
2225 N Loop W
Houston, TX 77008


Sam Houston Area Council
c/o Steve Leland, Dircamping
Campership Fund
P.O. Box 924528
Houston, TX 77292‐4528


Sam Houston Elementary PTA
Rio Grande Council 775
301 E Taft Ave
Harlingen, TX 78550


Sam Houston Elementary PTO
Sam Houston Area Council 576
4501 Canterbury Dr
Bryan, TX 77802


Sam Houston High School
Sam Houston Area Council 576
9400 Irvington Blvd
Houston, TX 77076


Sam Houston School PTO
Middle Tennessee Council 560
207 Oakdale Dr
Lebanon, TN 37087


Sam Houston State University
Attn Bursars Office
P.O. Box 2183
Huntsville, TX 77341‐2183


Sam Hughes PTA
Catalina Council 011
700 N Wilson Ave
Tucson, AZ 85719


Sam J Valdez Iii
Address Redacted
Sam Pievac Co Inc
dba Spc Retail Display Group
P.O. Box 970
San Jose, CA 95108


Sam Reyna
Address Redacted


Sam Rosen Elementary ‐ Gfwar
Longhorn Council 662
2613 Roosevelt Ave
Fort Worth, TX 76164


Sam S Club
9440 W Broad
Richmond, VA 23294


Sam S Club
P.O. Box 530981
Atlanta, GA 30353‐0981


Sam S Club
P.O. Box 9001907
Louisville, KY 40290‐1907


Sam S Club Direct
P.O. Box 530930
Atlanta, GA 30353‐0930


Samantha Acker
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Samantha Beck
Address Redacted


Samantha Cruz
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Samantha Hinson
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Samantha J Burdine
Address Redacted


Samantha J Pentecost
Address Redacted


Samantha Lynn Moloney
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Samantha N Babiez
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Samantha Rain Love
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Samantha Sawyer
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Samanthia Jones‐Shilo
Address Redacted


Samara G Langsam
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Samara Whitaker
Address Redacted


Samaritan Healthcare    Hospice
5 Eves Dr, Ste 300
Marlton, NJ 08053


Sami Gougasian
Address Redacted


Sammamish Police Dept
Chief Seattle Council 609
801 228th Ave Se
Sammamish, WA 98075


Sammamish Trails Youth
Chief Seattle Council 609
12506 172nd Ave Ne
Redmond, WA 98052


Sammie Edwards
Address Redacted


Sammy J Williams
Address Redacted


Sammy Yokley
Address Redacted


Samoset
3511 Camp Phillips Rd
Weston, WI 54476


Samoset Cncl 627
3511 Camp Phillips Rd
Weston, WI 54476


Samoset Stem Committee
Samoset Council, Bsa 627
3511 Camp Phillips Rd
Weston, WI 54476


Sampiero Ocean Services LLC
1048 Cheyenne Dr
St Augustine, FL 32086


Sampiero Ocean Services LLC
c/o Daniel David Sampiero
73800 Overseas Hwy
Islamorada, FL 33036


Sampson County Champions
Tuscarora Council 424
1189 Kader Merritt Rd
Rose Hill, NC 28458


Sams Club
P.O. Box 530942
Atlanta, GA 30353‐0942


Sams Club Direct
P.O. Box 530930
Atlanta, GA 30353‐0930


Samual P May‐Rodda
Address Redacted


Samuel B Hay
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Samuel Berklich
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Samuel Bert
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Samuel Blincow
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Samuel Brewer
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Samuel Brown
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Samuel Byther
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Samuel C Schoolfield
Address Redacted
Samuel Coleridge Taylor
Baltimore Area Council 220
507 W Preston St
Baltimore, MD 21201


Samuel D James
Address Redacted


Samuel D Meyer
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Samuel D Ray
Address Redacted


Samuel Dunn
Address Redacted


Samuel Edgar Steinhoff
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Samuel Fitzgerald
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Samuel Foust
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Samuel Graddy
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Samuel Griga
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Samuel H Frandsen
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Samuel Hawk
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Samuel Herb
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Samuel Holt
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Samuel Humphreys
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Samuel Jackson
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Samuel James Schafer
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Samuel Jenkins
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Samuel Johnson
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Samuel Kelly
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Samuel King
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Samuel Kowalski
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Samuel L Ekstrom
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Samuel L Harbaugh
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Samuel L Senseman
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Samuel Landsman
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Samuel Latimer
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Samuel Lato
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Samuel Lee Rogers
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Samuel Lucas Oates
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Samuel M Adam
Address Redacted


Samuel M Beach
Address Redacted


Samuel M Stone
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Samuel Mccord
Address Redacted


Samuel Miller
Address Redacted


Samuel Mills Sprole Ps 32 ‐ Sr
Greater New York Councils, Bsa 640
317 Hoyt St
Brooklyn, NY 11231


Samuel Mosquera
Address Redacted
Samuel P Bennett
Address Redacted


Samuel R Defrees
Address Redacted


Samuel R Hartman
Address Redacted


Samuel Richmond
Address Redacted


Samuel Ross
Address Redacted


Samuel Rossi
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Samuel Sloane
Address Redacted


Samuel Steven Hawk
Address Redacted


Samuel T Anderson
Address Redacted


Samuel Taylor
Address Redacted


Samuel Taylor Jr
Address Redacted


Samuel Thompson
Address Redacted
Samuel Utd Church Of Christ
Greater St Louis Area Council 312
320 N Forsyth Blvd
Saint Louis, MO 63105


Samuel Valeriy Perley
Address Redacted


Samuel W Fortener
Address Redacted


Samuel W Mcelroy
Address Redacted


Samuel W Nickol
Address Redacted


Samuel Webb
Address Redacted


Samuel William Brown
Address Redacted


Samuel Williams
Address Redacted


Samuel Z Pippen
Address Redacted


San Andreas Chp Explorer Group
Greater Yosemite Council 059
749 Mountain Ranch Rd
San Andreas, CA 95249


San Antonio Adventures LLC
dba Adventures In San Antonio
1606 N Alamo St
San Antonio, TX 78215
San Antonio College
1300 San Pedro Ave
San Antonio, TX 78212


San Antonio Fire Dept
Alamo Area Council 583
300 Callaghan Rd
San Antonio, TX 78228


San Antonio Professional Firefighters
Alamo Area Council 583
8925 Frontage Rd
San Antonio, TX 78230


San Antonio West Rotary
Alamo Area Council 583
5100 John D Ryan Blvd
San Antonio, TX 78245


San Benito County Sheriff S Dept
Silicon Valley Monterey Bay 055
451 4th St
Hollister, CA 95023


San Bernardino County Clerk
222 W Hospitality Ln, 1st Fl
San Bernardino, CA 92415‐0022


San Bernardino Police Dept
California Inland Empire Council 045
710 N D St
San Bernardino, CA 92401


San Carlos Borromeo Catholic Church
Silicon Valley Monterey Bay 055
500 Church St
Monterey, CA 93940


San Carlos Utd Methodist Church
San Diego Imperial Council 049
6554 Cowles Mountain Blvd
San Diego, CA 92119
San Diego Co Sheriffs Explorer
San Diego Imperial Council 049
9621 Ridgehaven Ct
San Diego, CA 92123


San Diego Country Estates Assoc
San Diego Imperial Council 049
24157 San Vicente Rd
Ramona, CA 92065


San Diego Elks Lodge 168
San Diego Imperial Council 049
7430 Jackson Dr
San Diego, CA 92119


San Diego Imperial Council
P.O. Box 33366
1207 Upas St
San Diego, CA 92163


San Diego Imperial Council Bsa
1207 Upas St
P.O. Box 33366
San Diego, CA 92163‐9781


San Diego Police Dept
202 C. St
San Diego, CA 92101


San Diego Rotary Club
San Diego Imperial Council 049
2247 San Diego Ave
San Diego, CA 92110


San Diego Sail   Power Squadron
San Diego Imperial Council 049
12626 Cijon St
San Diego, CA 92129


San Diego State University
5500 Campanile Dr
San Diego, CA 92182‐7727


San Diego Yacht Club
San Diego Imperial Council 049
1011 Anchorage Ln
San Diego, CA 92106


San Diego‐Imperial
1207 Upas St
San Diego, CA 92103


San Diego‐Imperial Cncl 49
1207 Upas St
San Diego, CA 92103


San Dieguito Utd Methodist Church
San Diego Imperial Council 049
170 Calle Magdalena
Encinitas, CA 92024


San Dimas Masonic Lodge No 428
Greater Los Angeles Area 033
220 N Monte Vista Ave
San Dimas, CA 91773


San Felipe De Neri School
Great Swest Council 412
2000 Lomas Blvd Nw
Albuquerque, NM 87104


San Fernando City Chamber Of Commerce
W.L.A.C.C. 051
16535 Rinaldi St
Granada Hills, CA 91344


San Fernando Police Dept
W.L.A.C.C. 051
910 1st St
San Fernando, CA 91340
San Francisco Bay Area
1001 Davis St
San Leandro, CA 94577‐1514


San Francisco Bay Area Cncl 28
1001 Davis St
San Leandro, CA 94577‐1514


San Francisco De Asis Parish
Grand Canyon Council 010
1600 E Route 66
Flagstaff, AZ 86001


San Francisco Lodge 3 BPOE
San Francisco Bay Area Council 028
450 Post St
San Francisco, CA 94102


San Francisco Peaks Vfw Post 1709
Grand Canyon Council 010
409 W Santa Fe Ave
Flagstaff, AZ 86001


San Francisco Sailing Whaleboat Assoc
San Francisco Bay Area Council 028
220 Sansome St, Ste 900
San Francisco, CA 94104


San Gabriel Mission Catholic Church
Greater Los Angeles Area 033
428 S Mission Dr
San Gabriel, CA 91776


San Gabriel Police Dept
Greater Los Angeles Area 033
625 S Del Mar Ave
San Gabriel, CA 91776


San Gabriel Presbyterian Church
Capitol Area Council 564
5404 Williams Dr
Georgetown, TX 78633
San Gabriel Valley Council Bsa
3450 E Sierra Madre Blvd
Pasadena, CA 91107


San Jacinto Police Dept
California Inland Empire Council 045
160 W 6th St
San Jacinto, CA 92583


San Joaquin Chamber Of Commerce
Sequoia Council 027
P.O. Box 756
San Joaquin, CA 93660


San Joaquin County Sheriffs Office
Greater Yosemite Council 059
7000 Michael Canlis Way
French Camp, CA 95231


San Joaquin Delta College
5151 Pacific Ave
Stockton, CA 95207


San Jose Buddhist Church Betsuin
Silicon Valley Monterey Bay 055
640 N 5th St
San Jose, CA 95112


San Jose Catholic Church
Golden Spread Council 562
735 Brevard St
Hereford, TX 79045


San Jose Chinese Catholic Mission
Silicon Valley Monterey Bay 055
725 Washington St
Santa Clara, CA 95050


San Jose Dance Sport Ctr
Dba Dance Boulevard
Silicon Valley Monterey Bay 055
1824 Hillsdale Ave
San Jose, Ca 95124


San Jose East Valley Lions Club
Silicon Valley Monterey Bay 055
4848 San Felipe Rd
150 121
San Jose, CA 95135


San Jose Elks No 522
Silicon Valley Monterey Bay 055
444 W Alma Ave
San Jose, CA 95110


San Jose Fire Dept
Silicon Valley Monterey Bay 055
170 W San Carlos St
San Jose, CA 95113


San Jose Mission
Greater Tampa Bay Area 089
3238 San Jose Mission Dr
Dover, FL 33527


San Jose Moose Lodge 401
Silicon Valley Monterey Bay 055
1825 Mount Pleasant Rd
San Jose, CA 95148


San Jose Pal Cadet Program Sjpd
Silicon Valley Monterey Bay 055
680 S 34th St
San Jose, CA 95116


San Juan Bautista Service Club
Silicon Valley Monterey Bay 055
P.O. Box 1027
San Juan Bautista, CA 95045


San Juan College
4601 College Blvd
Farmington, NM 87402‐4699


San Juan Del Rio Catholic Church
North Florida Council 087
1718 State Rd 13
Saint Johns, FL 32259


San Juan Diego
Circle Ten Council 571
10919 Royal Haven Ln
Dallas, TX 75229


San Juan Diego Catholic Church
Circle Ten Council 571
10919 Royal Haven Ln
Dallas, TX 75229


San Juan Diego Catholic High School
Capitol Area Council 564
800 Herndon Ln
Austin, TX 78704


San Juan Rotary Club
Orange County Council 039
P.O. Box 684
San Juan Capistrano, CA 92693


San Leandro Optimist Club
San Francisco Bay Area Council 028
15211 Hardin St
San Leandro, CA 94579


San Leandro Police Dept
San Francisco Bay Area Council 028
901 E 14th St
San Leandro, CA 94577


San Lorenzo Community Church
San Francisco Bay Area Council 028
945 Paseo Grande
San Lorenzo, CA 94580
San Lorenzo Spiritual Center
Tidewater Council 596
4556 Indian River Rd
Virginia Beach, VA 23456


San Luis Ambulance
Los Padres Council 053
3546 S Higuera St
San Luis Obispo, CA 93401


San Luis Obispo Bpoe 322
Los Padres Council 053
222 Elks Ln
San Luis Obispo, CA 93401


San Luis Obispo Elks Lodge 322
Los Padres Council 053
322 Elks Ln
San Luis Obispo, CA 93401


San Luis Obispo Highway Patrol
Los Padres Council 053
675 California Blvd
San Luis Obispo, CA 93401


San Luis Obispo Post 66 Inc
Los Padres Council 053
1661 Mill St
San Luis Obispo, CA 93401


San Luis Obispo Sheriffs Dept
Los Padres Council 053
1585 Kansas Ave
San Luis Obispo, CA 93405


San Luis Rey Methodist Mens Club
San Diego Imperial Council 049
5570 Old Ranch Rd
Oceanside, CA 92057


San Luis Taqueria Inc
1816 S Lamar Blvd
Austin, TX 78704


San Manuel Band Of Mission Indians
California Inland Empire Council 045
26569 Community Center Dr
Highland, CA 92346


San Marcos Feed Store
3877 State Rd 14
Santa Fe, NM 87508‐1500


San Marcos Hays County Ems
Capitol Area Council 564
2061 Clovis Barker, Unit 10B
San Marcos, TX 78666


San Marcos Noon Lions Club
Capitol Area Council 564
P.O. Box 994
San Marcos, TX 78667


San Marino Chamber Of Commerce
Greater Los Angeles Area 033
2304 Huntington Dr, Ste 202
San Marino, CA 91108


San Marino City Club
Greater Los Angeles Area 033
P.O. Box 80122
501 C 4 Non‐Profit
San Marino, CA 91118


San Marino Community Church
Greater Los Angeles Area 033
1425 Hampton Rd
San Marino, CA 91108


San Martin De Porres Catholic Church
Rio Grande Council 775
901 N Texas Blvd
Weslaco, TX 78596
San Martin De Porres Catholic Church
South Texas Council 577
P.O. Box 266
Laredo, TX 78042


San Martin Lions Club
Silicon Valley Monterey Bay 055
12415 Murphy Ave
San Martin, CA 95046


San Mateo Buddhist Temple
Pacific Skyline Council 031
2 S Claremont St
San Mateo, CA 94401


San Mateo County Sheriff
400 County Center
Foster City, CA 99404


San Mateo County Sheriff S Office
Pacific Skyline Council 031
400 County Ctr
Redwood City, CA 94063


San Mateo Police Dept
Pacific Skyline Council 031
200 Franklin Pkwy
San Mateo, CA 94403


San Miguel Emergency Group, LLC
Affiliate of the Schumacher Group
P.O. Box 400
San Antonio, TX 78292‐0400


San Miguel Fire Dept
San Diego Imperial Council 049
2850 Via Orange Way
Spring Valley, CA 91978


San Pablo Catholic Church
South Florida Council 084
550 122nd St Ocean
Marathon, FL 33050


San Pablo Police Dept
Mt Diablo‐Silverado Council 023
13880 San Pablo Ave
San Pablo, CA 94806


San Pedro Catholic Church
South Florida Council 084
89500 Overseas Hwy
Tavernier, FL 33070


San Pedro Presbyterian Church
Alamo Area Council 583
14900 San Pedro Ave
San Antonio, TX 78232


San Pedro Ward ‐ LDS St David Stake
Catalina Council 011
39 W Patton St
Saint David, AZ 85630


San Rafael Elks Lodge 1108
Marin Council 035
P.O. Box 808
San Rafael, CA 94915


San Rafael Police Assoc
Marin Council 035
P.O. Box 151557
San Rafael, CA 94915


San Ramon Valley Parent Support Network
Mt Diablo‐Silverado Council 023
4033 Hawkmount Way
San Ramon, CA 94582


San Ysidro Catholic Church
Great Swest Council 412
5015 Corrales Rd
Corrales, NM 87048


Sanatech Printing
45‐14 51st St
Woodside, NY 11377


Sanborn Fire Co Inc
Greater Niagara Frontier Council 380
5811 Buffalo St
Sanborn, NY 14132


Sanchez Auto Body LLC
307 Bibb Industrial Dr 1
Las Vegas, NM 87701


Sanchez Auto Repair
P.O. Box 455
Cimarron, NM 87714


Sanctuary On Camelback Inc
Sanctuary On Camelback Mountain
5700 E Mcdonald Dr
Paradise Valley, AZ 85253


Sand Blast Entertainment, Inc
1511 Goldenrod Rd
Cantonment, FL 32533


Sand Hill Utd Methodist
Muskingum Valley Council, Bsa 467
725 Sandhill Rd
Marietta, OH 45750


Sand Run Baptist Church
Dan Beard Council, Bsa 438
P.O. Box 88
1327 N Bend Rd
Hebron, KY 41048


Sand Springs Utd Methodist Church
Indian Nations Council 488
319 N Main St
Sand Springs, OK 74063


Sandborn Lions Club
Buffalo Trace 156
P.O. Box 52
Sandborn, IN 47578


Sandburg Elementary PTO
Denver Area Council 061
6900 S Elizabeth St
Centennial, CO 80122


Sanden International Usa     Inc
Circle Ten Council 571
601 Sanden Blvd
Wylie, TX 75098


Sanders Glass
Trapper Trails 589
86 E 200 N
Kaysville, UT 84037


Sanders Warren Russell   Scheer, LLP
Attn S Jacob Sappington
1855 S Ingram Mill, Ste 207
Springfield, MO 65804


Sandestin Ward LDS
Gulf Coast Council 773
149 Dominica Ct
Miramar Beach, FL 32550


Sandhill Branch Church Of
Jesus Christ Of Latter‐Day Saints
Overland Trails 322
44281 Whwy 2
Whitman, Ne 69366


Sandia Presbyterian Church
Great Swest Council 412
10704 Paseo Del Norte Ne
Albuquerque, NM 87122


Sandia Soap Co
P.O. Box 67426
Albuquerque, NM 87193


Sandia Turfgrass, LLC
dba Evergreen Turf, Inc
P.O. Box 209
Mcintosh, NM 87032


Sandler Systems, Inc
300 Red Brook Blvd, Ste 400
Owings Mills, MD 21117


Sandown Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 46
Sandown, NH 03873


Sandown Police Assoc
Daniel Webster Council, Bsa 330
314 Main St
Sandown, NH 03873


Sandown Police Dept
Daniel Webster Council, Bsa 330
P.O. Box 309
Sandown, NH 03873


Sandown Police Explorers
314 Main St
Sandown, NH 03873


Sandpiper Apartment Homes
1492 Spring Ln
Holladay, UT 84117


Sandpiper Of California
687 Anita St
Chula Vista, CA 91911
Sandpoint Lions Club
Inland Nwest Council 611
P.O. Box 414
Sandpoint, ID 83864


Sandra Ackeret
Address Redacted


Sandra Alger
Address Redacted


Sandra Blakeney
Address Redacted


Sandra Bomely
Address Redacted


Sandra Boone
Address Redacted


Sandra Borrego
Address Redacted


Sandra Braden
Address Redacted


Sandra Brashear
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Sandra Brunton
Address Redacted


Sandra Caron
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Sandra Coller
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Sandra Conover
Address Redacted


Sandra Crum
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Sandra Dempsey
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Sandra Eidam
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Sandra Enright
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Sandra Escoto
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Sandra Evett
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Sandra Fink
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Sandra Friedrich
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Sandra Fritz
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Sandra Gromala
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Sandra Hamilton
Address Redacted
Sandra Huddleston
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Sandra I White
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Sandra Jackson
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Sandra K Wahl
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Sandra Kennedy
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Sandra Kiley
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Sandra Kuehner
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Sandra Lamb
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Sandra Lopez
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Sandra Magers
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Sandra Malone
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Sandra Martin
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Sandra Minick
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Sandra Moffitt
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Sandra Nohemi Lopez
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Sandra Olszewski
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Sandra Parkinson
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Sandra Pierce
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Sandra Pingel
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Sandra Powell
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Sandra Randolph
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Sandra Reti
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Sandra Rosado
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Sandra Rosenthal
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Sandra Sanders
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Sandra Santucci
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Sandra Scarcelli
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Sandra Scott
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Sandra Smith
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Sandra Storey
Address Redacted


Sandra Streb
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Sandra Strohmeier
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Sandra Trevino
Address Redacted


Sandra Van Wyk
Address Redacted


Sandra Woods
Address Redacted


Sandra Wright
Address Redacted


Sands Of The Keys Inc
P.O. Box 345
Islamorada, FL 33036


Sandston Memorial Recreation Center
Heart of Virginia Council 602
P.O. Box 102
Sandston, VA 23150


Sandusky Community Fire Dept
Water and Woods Council 782
161 S Elk St
Sandusky, MI 48471


Sandwich Police Dept
Three Fires Council 127
308 E College St
Sandwich, IL 60548


Sandwich Vfw Post 1486
Three Fires Council 127
713 S Main St
Sandwich, IL 60548


Sandy City Police Post
Great Salt Lake Council 590
10000 Centennial Pkwy
Sandy, UT 84070


Sandy Creek Utd Methodist Church
Longhouse Council 373
P.O. Box 158
Sandy Creek, NY 13145


Sandy Elkins
Address Redacted


Sandy Fire District 72
Cascade Pacific Council 492
P.O. Box 518
Sandy, OR 97055


Sandy Green
Address Redacted


Sandy Holmes
Address Redacted


Sandy Lake Presbyterian Church
French Creek Council 532
3461 Sandy Lake New Lebanon Rd
Sandy Lake, PA 16145


Sandy Lewis
Address Redacted


Sandy Mount Utd Methodist Church
Baltimore Area Council 220
2101 Old Wminster Pike
Finksburg, MD 21048


Sandy Ridge PTA
Central N Carolina Council 416
10101 Waxhaw Manor Dr
Waxhaw, NC 28173


Sandy Ridge Ruritan Club
Old Hickory Council 427
P.O. Box 73
Sandy Ridge, NC 27046


Sandy Run Missionary Baptist Church
East Carolina Council 426
1503 Hargett St
Jacksonville, NC 28540


Sandy S DaycareInc
Westark Area Council 016
P.O. Box 125
Huntington, AR 72940


Sandy Schexnayder
Address Redacted


Sandy Springs Police Dept
Atlanta Area Council 092
7840 Roswell Rd, Ste 300
Sandy Springs, GA 30350


Sandy Springs Utd Methodist Church
Atlanta Area Council 092
86 Mount Vernon Hwy Nw
Atlanta, GA 30328


Sandy, Inc
10850 Lakeview Ave
Lenexa, KS 66219


Sandycreek Vfd
French Creek Council 532
624 Congress Hill Rd
Franklin, PA 16323


Sanford
3415 Brightmoore Ct
Dacula, GA 30019


Sanford Center
Mid‐America Council 326
1700 Geneva St
Sioux City, IA 51103


Sanford Health
Voyageurs Area 286
1300 Anne St Nw
Bemidji, MN 56601


Sanford Utd Methodist Church
Water and Woods Council 782
2560 N W River Rd
Sanford, MI 48657


Sanger Amvets Post 98
Sequoia Council 027
P.O. Box 333
Sanger, CA 93657


Sanger Fire Dept
Sequoia Council 027
1700 7th St
Sanger, CA 93657


Sanger Police Dept
Sequoia Council 027
1700 7th St
Sanger, CA 93657


Sango Utd Methodist Church
Middle Tennessee Council 560
3301 Sango Rd
Clarksville, TN 37043


Sangre Ridge Elementary School PTA
Cimarron Council 474
2500 S Sangre Rd
Stillwater, OK 74074


Sanibel Community Church
Southwest Florida Council 088
P.O. Box 1257
1740 Periwinkle Way
Sanibel, FL 33957


Sani‐Clean Systems LLC
1325 W Walnut Hill Ln
Irving, TX 75038


Sanjeevi Sundaresan
Address Redacted


Sanlando Utd Methodist Church
Central Florida Council 083
1890 W State Rd 434
Longwood, FL 32750


Sanmar
P.O. Box 643693
Cincinnati, OH 45264‐3693
Sanram Transport, Inc
396 Maple Crest Dr
Haines City, FL 33844


Sans Institute
8120 Woodmont Ave, Ste 205
Bethesda, MD 20814


Santa Ana Police Dept
Orange County Council 039
P.O. Box 1981
Santa Ana, CA 92702


Santa Ana Unified School Police Dept
Orange County Council 039
1601 E Chestnut Ave
Santa Ana, CA 92701


Santa Anita Village Homeowners Assoc
Greater Los Angeles Area 033
319 S Altura Rd
Arcadia, CA 91007


Santa Barbara County Sheriffs Dept
Los Padres Council 053
4434 Calle Real
Santa Barbara, CA 93110


Santa Barbara Elks Lodge 613
Los Padres Council 053
150 N Kellogg Ave
Santa Barbara, CA 93111


Santa Barbara Police Dept
Los Padres Council 053
215 E Figueroa St
Santa Barbara, CA 93101


Santa Barbara Youth Sailing Foundation
Los Padres Council 053
130 Harbor Way
Santa Barbara, CA 93109
Santa Catalina School
Silicon Valley Monterey Bay 055
1500 Mark Thomas Dr
Monterey, CA 93940


Santa Clara Catholic Church
Ventura County Council 057
323 S E St
Oxnard, CA 93030


Santa Clara Church Of Christ
Oregon Trail Council 697
175 Santa Clara Ave
Eugene, OR 97404


Santa Clara County DA S Office
Silicon Valley Monterey Bay 055
70 W Hedding St
San Jose, CA 95110


Santa Clara De Asis Catholic Church
Orange County Council 039
22005 Avenida De La Paz Pl
Yorba Linda, CA 92887


Santa Clara Police Dept
Silicon Valley Monterey Bay 055
601 El Camino Real
Santa Clara, CA 95050


Santa Clara Sheriff S Office
Silicon Valley Monterey Bay 055
55 W Younger Ave
San Jose, CA 95110


Santa Clara University
Bursars Office
500 El Camino Real
Santa Clara, CA 95053‐0615
Santa Clara Valley Medical Center
Silicon Valley Monterey Bay 055
751 S Bascom Ave
San Jose, CA 95128


Santa Clarita Elks Lodge 2379
W.L.A.C.C. 051
17766 Sierra Hwy
Canyon Country, CA 91351


Santa Clarita Kiwanis Club
W.L.A.C.C. 051
27803 Ron Ridge Dr
Santa Clarita, CA 91350


Santa Clarita Sunrise Rotary Club
W.L.A.C.C. 051
19100 Sierra Estates Dr
Newhall, CA 91321


Santa Clarita Utd Methodist Church
W.L.A.C.C. 051
26640 Bouquet Canyon Rd
Santa Clarita, CA 91350


Santa Cruz Catholic Church
Capitol Area Council 564
P.O. Box 1304
Loop 4
Buda, TX 78610


Santa Cruz Elks Lodge 824
Silicon Valley Monterey Bay 055
150 Jewell St
Santa Cruz, CA 95060


Santa Cruz Host Lions Club
Silicon Valley Monterey Bay 055
P.O. Box 477
Santa Cruz, CA 95061


Santa Cruz Moose Lodge 545
Silicon Valley Monterey Bay 055
2470 El Rancho Dr
Santa Cruz, CA 95060


Santa Cruz Vly Utd Methodist Ch
Catalina Council 011
70 W Sahuarita Rd
Sahuarita, Az 85629


Santa Fe Business Products, Inc
906 S St Francis Dr, Ste D
Santa Fe, NM 87505


Santa Fe Cir Magazine
c/o Havens Group Holdings, Inc
P.O. Box 2
Trinidad, CO 81082


Santa Fe Community College
6401 Richards Ave
Santa Fe, NM 87508


Santa Fe Greenhouses
2904 Rufina St
Santa Fe, NM 87507


Santa Fe Isd Police Dept
Bay Area Council 574
P.O. Box 370
Santa Fe, TX 77510


Santa Fe Oral Surgery LLC
2100 Calle De La Vuelta, Ste B103
Santa Fe, NM 87505


Santa Fe Power Equipment Sales, Inc
P.O. Box 4545
1364 Jorgensen Ln
Santa Fe, NM 87502


Santa Fe Presbyterian Church
Last Frontier Council 480
1603 N Santa Fe Ave
Edmond, OK 73003


Santa Fe South Hills Elem
Last Frontier Council 480
301 SE 38th St
Oklahoma City, OK 73129


Santa Fe South Spero
Last Frontier Council 480
4906 S Santa Fe Ave
Oklahoma City, OK 73109


Santa Fe Springs Dept Of Fire     Rescue
Greater Los Angeles Area 033
11300 Greenstone Ave
Santa Fe Springs, CA 90670


Santa Fe Springs Firemens Assoc
Greater Los Angeles Area 033
11300 Greenstone Ave
Santa Fe Springs, CA 90670


Santa Fe Trail
402 E Fulton St, Ste 4
Garden City, KS 67846


Santa Fe Trail Assoc
1349 K‐156 Hwy
Larned, KS 67500


Santa Fe Trail Assoc
Ruth Olson‐Peters, Sec‐Treas
Santa Fe Trail Cntr, Rr 3, Box 137
Larned, KS 67550


Santa Fe Trail Cncl 194
402 E Fulton, Ste 4
Garden City, KS 67846‐5677
Santa Fe Trl Cncl 194
402 E Fulton, Ste 4
Garden City, KS 67846‐5677


Santa Fe Waldorf School
Great Swest Council 412


Santa Margarita Fire Dept
Los Padres Council 053
P.O. Box 67
Santa Margarita, CA 93453


Santa Margarita Lions Club
Los Padres Council 053
P.O. Box 87
Santa Margarita, CA 93453


Santa Margarita Yacht Club
San Diego Imperial Council 049
304 Cadillac Cir
Oceanside, CA 92054


Santa Maria Community Services Carson
Dan Beard Council, Bsa 438
4323 Glenway Ave
Cincinnati, OH 45205


Santa Maria De La Paz Catholic Community
Great Swest Council 412
11 College Dr
Santa Fe, NM 87508


Santa Maria De La Paz Catholic Community
Great Swest Council 412
3368 Governor Miles Rd
Santa Fe, NM 87507


Santa Maria Del Popolo Catholic Church
Northeast Illinois 129
116 N Lake St
Mundelein, IL 60060
Santa Maria Police Dept
Los Padres Council 053
1111 W Betteravia Rd
Santa Maria, CA 93455


Santa Monica Police Dept
W.L.A.C.C. 051
333 Olympic Dr
Santa Monica, CA 90401


Santa Monica Wind Jammers Yacht Club
W.L.A.C.C. 051
13589 Mindanao Way
Marina Del Rey, CA 90292


Santa Paula Police Dept
Ventura County Council 057
214 S 10th St
Santa Paula, CA 93060


Santa Paula Rotary Club
Ventura County Council 057
P.O. Box 809
Santa Paula, CA 93061


Santa Rosa Police Dept
965 Somoma Ave
Santa Rosa, CA 95404


Santa Rosa Police Officers Assoc
Redwood Empire Council 041
P.O. Box 40
Santa Rosa, CA 95402


Santa Rosa Rancheria Tachi Yokut
Dept Of Public Safety
Sequoia Council 027
16385 Alkali Dr, Apt C
Lemoore, Ca 93245


Santa Teresa School      Home Club
Silicon Valley Monterey Bay 055
6200 Encinal Dr
San Jose, CA 95119


Santa Ynez Valley Presbyterian Church
Los Padres Council 053
1825 Alamo Pintado Rd
Solvang, CA 93463


Sante Fe Water Gardens
2791 Agua Fria
Santa Fe, NM 87507


Santee Chamber Of Commerce
San Diego Imperial Council 049
10315 Mission Gorge Rd
Santee, CA 92071


Santee Firefighters Assoc
San Diego Imperial Council 049
8950 Cottonwood Ave
Santee, CA 92071


Santee‐Lakeside Elks Lodge 2698
San Diego Imperial Council 049
11633 Woodside Ave
Lakeside, CA 92040


Santiago De Compostela Catholic Church
Orange County Council 039
21682 Lake Forest Dr
Lake Forest, CA 92630


Santiago Lions Club, Inc
Central Minnesota 296
12967 82nd St Se
Clear Lake, MN 55319


Santos Garcia
Address Redacted
Sap Public Services Inc
P.O. Box 828795
Philadelphia, PA 19182‐8795


Saperstein Enterprises, Inc
41 Main St
Millerton, NY 12546


Sapphire Beach Resort   Marina Coa LLC
6720 Estate Smith Bay
St Thomas, VI 00802


Sappington School PTO
Greater St Louis Area Council 312
11011 Gravois Rd
Saint Louis, MO 63126


Sappony Baptist Church
Colonial Virginia Council 595
17352 Concord Sappony Rd
Stony Creek, VA 23882


Sara Amberg
Address Redacted


Sara Baires
Address Redacted


Sara Crosby
Address Redacted


Sara E Cimowsky
Address Redacted


Sara E Hunter
Address Redacted


Sara Fredrickson
Address Redacted
Sara Gilbert
Address Redacted


Sara Lou Wilkerson
Address Redacted


Sara Moore
Address Redacted


Sara Needs
Address Redacted


Sara Odell
Address Redacted


Sara Parry
Address Redacted


Sara Rogers
Address Redacted


Sara Weatherhead
Address Redacted


Sarah A Freeman
Address Redacted


Sarah A Holtz
Address Redacted


Sarah A Rucker
Address Redacted


Sarah A Sellers
Address Redacted


Sarah Adams PTO
Pathway To Adventure 456
555 Old Mill Grove Rd
Lake Zurich, IL 60047


Sarah Anderson Parent Teacher Assoc
Cascade Pacific Council 492
2215 NE 104th St
Vancouver, WA 98686


Sarah Arceneaux
Address Redacted


Sarah Archer
Address Redacted


Sarah Barnett
Address Redacted


Sarah Berger
Address Redacted


Sarah Biltz
Address Redacted


Sarah Burton
Address Redacted


Sarah C Evans
Address Redacted


Sarah Cretin
Address Redacted


Sarah Daft Home
Great Salt Lake Council 590
737 S 1300 E
Salt Lake City, UT 84102


Sarah Dawson
Address Redacted


Sarah Dods
Address Redacted


Sarah Dolbeare
Address Redacted


Sarah E Nichols
Address Redacted


Sarah E Suiter
Address Redacted


Sarah E Ulberg
Address Redacted


Sarah E Young
Address Redacted


Sarah Elizabeth Bavoux
Address Redacted


Sarah Elizabeth Christensen
Address Redacted


Sarah F Crossman
Address Redacted


Sarah F Williams
Address Redacted


Sarah Fernandez
Address Redacted


Sarah Flowers
Address Redacted
Sarah G Bolden
Address Redacted


Sarah Graper
Address Redacted


Sarah Griffey
Address Redacted


Sarah Hargett
Address Redacted


Sarah Heinz House ‐ Boys And Girls Club
Laurel Highlands Council 527
1 Heinz St
Pittsburgh, PA 15212


Sarah Herrmann
Address Redacted


Sarah Hewitt
Address Redacted


Sarah Hockensmith
Address Redacted


Sarah Hotchkiss
Address Redacted


Sarah Hulett
Address Redacted


Sarah J Huey
Address Redacted


Sarah J Szostak
Address Redacted
Sarah J Webber Parent Assoc
Great Lakes Fsc 272
48980 Woodward Ave
Pontiac, MI 48342


Sarah Jane Johnson Church
Baden‐Powell Council 368
308 Main St
Johnson City, NY 13790


Sarah Jean Bentley
Address Redacted


Sarah Johnson
Address Redacted


Sarah K Wettemann
Address Redacted


Sarah Kalhorn‐Wisecup
Address Redacted


Sarah Lemmons
Address Redacted


Sarah M Roach Elementary School
Baltimore Area Council 220
3434 Old Frederick Rd
Baltimore, MD 21229


Sarah Marino
Address Redacted


Sarah Mervin
Address Redacted


Sarah Moore
Address Redacted
Sarah Morrison
Address Redacted


Sarah Murray
Address Redacted


Sarah Neibrook
Address Redacted


Sarah Nichole Paikos
Address Redacted


Sarah Nosky
Address Redacted


Sarah Pelter
Address Redacted


Sarah S Roberts
Address Redacted


Sarah S Roytek
Address Redacted


Sarah Scott
Address Redacted


Sarah Stankevitz
Address Redacted


Sarah Testa
Address Redacted


Sarah Todd
Address Redacted


Sarah Verdugo
Address Redacted


Sarah Walter
Address Redacted


Sarah Weller
Address Redacted


Sarah Wilson
Address Redacted


Sarah Witgen
Address Redacted


Sarahcare
Northeast Georgia Council 101
1567 Janmar Rd, Ste 200
Snellville, GA 30078


Saraland Utd Methodist Church
Mobile Area Council‐Bsa 004
412 Mckeough Ave
Saraland, AL 36571


Saranac Community Church
President Gerald R Ford 781
125 S Bridge St
Saranac, MI 48881


Saranac Lions Club
President Gerald R Ford 781
69 N Bridge St
Saranac, MI 48881


Sarasota 500 LLC
dba Sarasota Ford
707 S Washington Blvd
Sarasota, FL 34236


Sarasota Suncoast Academy
Southwest Florida Council 088
8084 Hawkins Rd
Sarasota, FL 34241


Sarasota Yacht Repair
1111 Euclid Ave N
Sarasota, FL 34237


Saratoga Community Assoc
National Capital Area Council 082
P.O. Box 479
Springfield, VA 22150


Saratoga Lions Club
Longs Peak Council 062
P.O. Box 844
Saratoga, WY 82331


Saratoga Sheriffs Dept
Twin Rivers Council 364
6010 County Farm Rd
Ballston Spa, NY 12020


Saratoga Springs 12Th Branch
Utah National Parks 591
4191 N Bay Cir
Lehi, UT 84043


Saratoga Wilton Elks Lodge 161
Twin Rivers Council 364
1 Elks Ln
Saratoga Springs, NY 12866


Saratoga‐Wilton BPOE Lodge 161
Twin Rivers Council 364
P.O. Box 3111
1 Elks Ln


Sardi S Enterprises Ltd
234 W 44th St
New York, NY 10036
Sardis Presbyterian Church
Mecklenburg County Council 415
6100 Sardis Rd
Charlotte, NC 28270


Sargent Baptist Church
Flint River Council 095
467 N Main St
Sargent, GA 30275


Sargent John Rice Vfw
Northern Star Council 250
1374 109th Ave Ne
Blaine, MN 55434


Sargent Memorial Presbyterian Church
National Capital Area Council 082
5109 Nannie Helen Burroughs Ave Ne
Washington, DC 20019


Sarina Kuhn
Address Redacted


Saris Cycling Group
5253 Verana Rd
Madison, WI 53711


Sarl Liberty Incentives     Congresses Frc
26 Rue De I Industrie
92400 Courbevoie
La Defense
France


Saron Lutheran Church
Central Minnesota 296
311 Lake St S
Big Lake, MN 55309


Saron Utd Church Of Christ
Hoosier Trails Council 145 145
440 1st St Ne
Linton, IN 47441


Saron Utd Church Of Christ
Hoosier Trails Council 145 145


Sartain Chiropractic
Middle Tennessee Council 560
1028 W Main St E
Lebanon, TN 37087


Sas Acctg Brigham Young University
110 Sasb
Provo, UT 84602


Sasha Jean Niesche
Address Redacted


Sasha L Arteaga
Address Redacted


Sasm   F LLP
P.O. Box 1764
White Plains, NY 10602


Sa‐So/ Timewise
525 N Great Swest Pkwy
Arlington, TX 76011


Sasseen Realty Group Inc
dba Event Producers
1701 NW Cache Rd
Lawton, OK 73507


Satellite Rotary Club Of Franklin
Daniel Boone Council 414
P.O. Box 375
Franklin, NC 28744


Sathara Sweet
Address Redacted
Satmetrix Systems, Inc
1100 Park Pl, Ste 210
San Mateo, CA 94403


Satsuma Jrotc Group Of Citizens
Mobile Area Council‐Bsa 004
P.O. Box 1327
Mobile, AL 36633


Satsuma Methodist Church
Mobile Area Council‐Bsa 004
58 W Bayou Ave
Satsuma, AL 36572


Satsuma Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 879
Satsuma, AL 36572


Saturn Christian Ch    St Catherine Cath
Anthony Wayne Area 157
6731 E 800 S
St. Rt. 9 S
Columbia City, IN 46725


Saturn Elementary School
Central Florida Council 083
880 Range Rd
Cocoa, FL 32926


Saucier Utd Methodist Church
Pine Burr Area Council 304
24135 Church Ave
Saucier, MS 39574


Saucier Utd Methodist Church
Pine Burr Area Council 304
P.O. Box 99
Saucier, MS 39574
Saudi Arabian Airlines
5718 Wheimer, Ste 1090
Houston, TX 77057


Saudi Aramco Dhahran Recreation Services
Transatlantic Council, Bsa 802
Dhahran Boy Scouts
Box 13463
Saudi Arabia


Saugatuck Congregational Church
Connecticut Yankee Council Bsa 072
P.O. Box 5186
245 Post Rd E
Westport, CT 06881


Sauk‐Prairie Bow Hunters Inc
c/o Jerry Volbrecht
Glaciers Edge Council 620
S9367 Old Bluff Trl
Prairie Du Sac, WI 53578


Saul Ewing LLP
Centre Square W
1500 Market St 38th Fl
Philadelphia, PA 19102‐2186


Saul Pessin
Address Redacted


Saulston Umc
Tuscarora Council 424
5014 Wayne Memorial Dr
Goldsboro, NC 27534


Saulston Utd Methodist Church
Tuscarora Council 424
4620 Wayne Memorial Dr
Goldsboro, NC 27534


Saunders Archery Co
P.O. Box 1707
1874‐ 14th Ave
Columbus, NE 68601


Saunders Midwest, LLC
29 E Madison St, Ste 900
Chicago, IL 60602


Saunders Staffing Inc
P.O. Box 211
Bluefield, WV 24701


Saundra Hobbs
6102 Boy Scout Rd
Indianapolis, IN 46226


Saundra Hobbs
Address Redacted


Sauquoit Valley Optimists Club
Leatherstocking 400
2074 Greens Crossing Rd
Cassville, NY 13318


Sauquoit Valley Utd Methodist Church
Leatherstocking 400
2548 Mohawk St
Sauquoit, NY 13456


Savage Volunteer Fire Co Inc
Baltimore Area Council 220
8521 Corridor Rd
Savage, MD 20763


Savanna Lions Club
Blackhawk Area 660
Main St
Savanna, IL 61074


Savannah C Bayens
Address Redacted
Savannah Christian Preparatory School
Coastal Georgia Council 099
P.O. Box 2848
1599 Chatham Pkwy
Savannah, GA 31402


Savannah College Of Art  Design
Attn Career and Alumni Success
P.O. Box 3146
Savannah, GA 31402


Savannah F Roddy
Address Redacted


Savannah Lee Koth
Address Redacted


Savannah Movie Tours Inc
P.O. Box 9581
Savannah, GA 31402


Savannah Police Dept
Coastal Georgia Council 099
201 Habersham St
Savannah, GA 31401


Savannah Toastmasters Club 705
Coastal Georgia Council 099
P.O. Box 22781
Savannah, GA 31403


Savannah Troop Support Group
Attn Dave Thompson
3509 Emerald Ln
St. Joseph, MO 64506‐1012


Savannah Utd Methodist Church
Moraine Trails Council 500
94 Savannah Rd
New Castle, PA 16101
Savannah Volunteer Fire Co
Buckeye Council 436
6 Haney St
Savannah, OH 44874


Save Energy Maine, LLC
P.O. Box 17737
Portland, ME 04112


Save Rite Medical
168th 10th St
Brooklyn, NY 11215


Savina Butler
Address Redacted


Savor Society LLC
450 E 96th St, Ste 500
Indianapolis, IN 46240


Savoy Utd Methodist Church
Prairielands 117
3002 W Old Church Rd
Champaign, IL 61822


Savren M Nelson
Address Redacted


Savvy Foundation
Northeast Georgia Council 101
267 Ashland Park Ct
Lawrenceville, GA 30045


Savvy Inc
81 Hooker Rd
Sequim, WA 98382


Sawgrass Hotel Partners
45 Pga Tour Blvd
Pointe Verda Beach, FL 32082
Sawkill Volunteer Fire Co Inc
Rip Van Winkle Council 405
P.O. Box 2053
Kingston, NY 12402


Sawyer
P.O. Box 188
Safety Harbour, FL 34695


Sawyer Creek, LLC Dba Los Pinos Fly Shop
2820 Richmond Dr Ne
Albuquerque, NM 87107


Sawyer F Bock
Address Redacted


Sawyer Products
P.O. Box 188
Donna Dancel/John Smith
Safety Harbor, FL 34695


Sawyer Road Elementary School PTA
Atlanta Area Council 092
840 Sawyer Rd
Marietta, GA 30062


Sax Arts   Crafts
Mb, Unit 67‐3106
Milwaukee, WI 53268‐3106


Saxapahaw Utd Methodist Church
Old N State Council 070
5624 Church Rd
Saxapahaw, NC 27340


Saxe Gotha Presbyterian Church
Indian Waters Council 553
5503 Sunset Blvd
Lexington, SC 29072
Saxton Fire Co Inc
Rip Van Winkle Council 405
124 Valk Rd
Saugerties, NY 12477


Saxx Underwear Co
68 W 5th Ave
Vancouver, BC V5Y 1H6
Canada


Saybrook Utd Methodist Church
Lake Erie Council 440
7900 Depot Rd
Ashtabula, OH 44004


Sayre Christian Church
Five Rivers Council, Inc 375
427 S Keystone Ave
Sayre, PA 18840


Sayre Rotary
Last Frontier Council 480
129 E Main St
Sayre, OK 73662


Sayville Chamber Of Commerce
Suffolk County Council Inc 404
P.O. Box 235
Sayville, NY 11782


Sayville Fire Dept
Suffolk County Council Inc 404
107 N Main St
Sayville, NY 11782


Sayville High School
Suffolk County Council Inc 404
20 Brook St
West Sayville, NY 11796


Sayville Middle School
Suffolk County Council Inc 404
291 Johnson Ave
Sayville, NY 11782


Sb Conroe   Woods Architects
1222 Luisa St, Ste A
Santa Fe, NM 87505


SBC Tax Collector
172 W 3rd St, 1st Fl
San Bernardino, CA 92415‐0360


Sbcusd‐Police Dept
California Inland Empire Council 045
536 W Base Line St
San Bernardino, CA 92410


Sbr Staff Assoc
2550 Jack Furst Dr
Glen Jean, WV 25846


Sc Dept Of Revenue
Dept 00/L/10
P.O. Box 125
Columbia, SC 29214‐0213


Sc Dept Of Revenue
Registration Unit
Columbia, SC 29214‐0140


Sc Secretary Of State
Attn Corps
1205 Pendleton St, Ste 525
Columbia, SC 29201


Scales Of Justice Lions
Silicon Valley Monterey Bay 055
P.O. Box 602
San Jose, CA 95102


Scalp Level Trinity Utd Methodist Ch
Laurel Highlands Council 527
751 Horn Rd
Windber, Pa 15963


Scan Tastik Inc
1590 N Roberts Rd, Ste 204
Kennesaw, GA 30144


Scan‐R‐Store
7600 John W Carpenter Frwy, PMB 2
Dallas, TX 75247


Scantron Corp
P.O. Box 93038
Chicago, IL 60673


Scarborough Elementary School PTO
Heart of America Council 307
2000 S Lindenwood Dr
Olathe, KS 66062


Scarborough Fire Dept
Pine Tree Council 218
246 US Route 1
Scarborough, ME 04074


Scarborough Fish And Game Assoc
Pine Tree Council 218
70 Holmes Rd
Scarborough, ME 04074


Scarborough Lions Club
Pine Tree Council 218
P.O. Box 644
273 Gorham Rd
Scarborough, ME 04070


Scarborough Lions Club
Pine Tree Council 218
P.O. Box 644
Scarborough, ME 04070
Scarborough Police Dept
Pine Tree Council 218
246 US Route 1
Scarborough, ME 04074


Scarpa North America, Inc
3550 Frontier Ave, Unit E
Boulder, CO 80301


Scarsdale Congregational Church
c/o Maria Somma
1 Heathcote Rd
Scarsdale, NY 10583


Sccc Camping Committee
Silicon Valley Monterey Bay 055
970 W Julian St
San Jose, CA 95126


Scce
6500 Barrie Rd, Ste 250
Minneapolis, MN 55435


Scenic Heights PTA
Northern Star Council 250
5650 Scenic Heights Dr
Minnetonka, MN 55345


Scentair Technologies Inc
P.O. Box 534448
75 Remittance Dr, Ste 6542
Chicago, IL 60675‐6542


Sch Pharmacy    Health Professions
Mid‐America Council 326
2500 California Plz
Creighton University
Omaha, Ne 68178


Schadegg Mechanical Inc
225 Bridgepoint Dr
South St Paul, MN 55075


Schaefer Systems International, Inc
10021 Wlake Dr
Charlotte, NC 28273


Schaefer Systems International, Inc
P.O. Box 603063
Charlotte, NC 28260‐3063


Schanstella Bouquet
Address Redacted


Schaumburg Am Rotary Club
Pathway To Adventure 456
P.O. Box 68651
Schaumburg, IL 60168


Schaumburg Fire Dept
Pathway To Adventure 456
1601 N Roselle Rd
Schaumburg, IL 60195


Schaumburg Jaycees
Pathway To Adventure 456
P.O. Box 68997
Schaumburg, IL 60168


Schaumburg‐Hoffman Lions Club
Pathway To Adventure 456
25 E Illinois Ave
Hoffman Estates, IL 60067


Scheels All Sports
2400 10th St Swest
dba Dakota Square Scheels
Minot, ND 58701


Scheels Sporting Goods
Bay‐Lakes Council 635
4301 W Wisconsin Ave, Ste 8
Appleton, WI 54913


Schell‐Vista Fire Protection District
Redwood Empire Council 041
22950 Broadway
Sonoma, CA 95476


Schenectady County Sheriff Dept
Twin Rivers Council 364
130 Princetown Plaza
Princetown, NY 12056


Schenevus Memorial Post 2752 Amvets
Leatherstocking 400
Main St
Schenevus, NY 12155


Schenevus Valley Lodge 592
Leatherstocking 400
47 Main St
Schenevus, NY 12155


Scheper Kim   Harris LLP
601 W 5th St, 12th Fl
Los Angeles, CA 90071


Schererville Fire Dept
Pathway To Adventure 456
1650 Cline Ave
Schererville, IN 46375


Schertz Utd Methodist Church
Alamo Area Council 583
3460 Fm 3009
Schertz, TX 78154


Schiller Elementary PTO
Greater St Louis Area Council 312
400 S Elm St
Centralia, IL 62801
Schilling‐Burns‐Young Vfw Post 9591
Leatherstocking 400
P.O. Box 362
Clinton, NY 13323


Schlaich Bergemann And Partner LP
555 8th Ave, Ste 2402
New York, NY 10018


Schlarman Academy
Prairielands 117
1307 N Walnut St
Danville, IL 61832


Schley County Methodist Men S Club
South Georgia Council 098
P.O. Box 74
Ellaville, GA 31806


Schlotzskys Deli
4407 Little Rd, Ste 600
Arlington, TX 76016


Schmidt‐Meinke‐Donner Vfw Post 1638
Samoset Council, Bsa 627
205 N Cleveland St
Merrill, WI 54452


Schneider National Inc
Dept At 952114
Atlanta, GA 31192‐2114


Schneider Publishing Co Inc
11835 W Olympic Blvd, Ste 1265
Los Angeles, CA 90064


Schnell Elementary School PTO
Miami Valley Council, Bsa 444
5995 Student St
West Carrollton, OH 45449
Schoeneck Moravian Church
Minsi Trails Council 502
316 N Broad St Ext
Nazareth, PA 18064


Schoharie County Sheriffs Office
Leatherstocking 400
157 Depot Lane
Schoharie, NY 12157


Schoharie Valley Lodge   491
Leatherstocking 400
281 Main St
Schoharie, NY 12157


Scholarmade Achievement Place Arkansas
Quapaw Area Council 018
2410 S Battery St
Little Rock, Ar 72206


Scholastic Inc
2931 E Mccarty St
P.O. Box 3725
Jefferson City, MO 65102‐3725


Scholls Grange 338
Cascade Pacific Council 492
16917 SW Hillsboro Hwy
Sherwood, OR 97140


Scholls Heights PTO
c/o Scholls Heights Elementary
Cascade Pacific Council 492
16400 SW Loon Dr


School   Main Institute Inc
225 Friend St 11
Boston, MA 02114


School Based Decision Making Council
Lincoln Heritage Council 205
4530 Bellevue Ave
Louisville, KY 40215


School District 23E PTO
Pathway To Adventure 456
700 N Schoenbeck Rd
Prospect Heights, IL 60070


School District Tax
Ohio Dept of Taxation
P.O. Box 182388
Columbus, OH 43218‐2388


School For Commty
Learning Afterschool
Crossroads Of America 160
612 W 42Nd St
Indianapolis, In 46208


School For The Deaf
Laurel Highlands Council 527
300 E Swissvale Ave
Pittsburgh, PA 15218


School Health Corp
6764 Eagle Way
Chicago, IL 60678‐1067


School Of Innovation
Tecumseh 439
601 Selma Rd
Springfield, OH 45505


School Of St Mary
Northeast Illinois 129
185 E Illinois Rd
Lake Forest, IL 60045


School Of Visual Arts
212 Lee Court
Belford, NJ 07718
School Of Visual Arts
Attn Winnie Kwan
209 E 23rd St
New York, NY 10010


School Safety Advocacy Council Inc
P.O. Box 384
Venice, FL 34284


School Safety Club 2242
Greater New York Councils, Bsa 640
14310 Springfield Blvd
Springfield Gardens, NY 11413


Schoolcraft Lions Club
Southern Shores Fsc 783
353 E Lyons St
Schoolcraft, MI 49087


Schoolcraft PTA
Great Lakes Fsc 272
6400 Maceday Dr
Waterford, MI 48329


School‐Tech, Inc
745 State Cir
Ann Arbor, MI 48108


Schooner Daniel Webster Clements, Inc
P.O. Box 282
Destin, FL 32541


Schooner Heritage Of Miami, Inc
P.O. Box 1906
Islamorada, FL 33036


Schow S Software Support
Utah National Parks 591
1140 N 5300 W
Highland, UT 84003
Schrader Lane Church Of Christ
Middle Tennessee Council 560
1234 Schrader Ln
Nashville, TN 37208


Schroeder Elementary PTO
Great Lakes Fsc 272
3541 Jack Dr
Troy, MI 48084


Schroon Lake Fish   Game Club
Twin Rivers Council 364
Box 725
Schroon Lake, NY 12870


Schulman Assoc Irb Inc
4445 Lake Forest Dr, Ste 300
Cincinnati, OH 45242


Schulman Wiegmann    Assoc
New Market Crossing
216 Stelton Rd, Ste C‐1
Piscataway, NJ 08854


Schultz Elementary PTO
Sam Houston Area Council 576
7920 Willow Forest Dr
Tomball, TX 77375


Schulze PTA
Great Lakes Fsc 272
10700 Santa Maria St
Detroit, MI 48221


Schuyler Sertoma Club
Mid‐America Council 326
P.O. Box 254
Schuyler, NE 68661


Schuylkill School   Home Assoc
Chester County Council 539
290 S Whitehorse Rd
Phoenixville, PA 19460


Schuylkill Ymca
Hawk Mountain Council 528
520 N Centre St
Pottsville, PA 17901


Schwabe Williamson   Wyatt PC
1211 SW 5th Ave, Ste 1900
Portland, OR 97204‐3795


Schwans
120 Tech Dr
Sanford, FL 32771


Schwans
One Schwan Plaza
Marshall, MN 56258


Schwarts Semerdjian Cauley      Moot LLP
101 W Broadway, Ste 810
San Diego, CA 92101‐9229


Schwebel Goetz   Sieben Pa
5120 Ids Center
Minneapolis, MN 55402


Schweitzer Utd Methodist Church
Ozark Trails Council 306
2747 E Sunshine St
Springfield, MO 65804


Schweppe
Equip Design Supplies
376 W N Ave
Lombard, IL 60148‐1268


Schyler Vuyk
Address Redacted
Schylling, Inc
P.O. Box 842358
Boston, MA 02284


Science And Arts Academy
Pathway To Adventure 456
1825 Miner St
Des Plaines, IL 60016


Science Bob Store
15 Main St, Ste 213
Watertown, MA 02472


Science Hill Friends Church
Old N State Council 070
2421 Lassiter Mill Rd
Road
Asheboro, NC 27205


Science News
P.O. Box 1206
Williamsport, PA 17703‐9944


Science Photo Library Ltd
327‐329 Harrow Rd
London, W9 3Rb
United Kingdom


Science Spark
Usa Science   Engineering Festival
3663 Lone Dove Ln
Olivenhain, CA 92024


Scientific Laboratory Div
1101 Camino De Salud Ne
Albuquerque, NM 87102


Scimitar Shrine Spring River Club
Quapaw Area Council 018
86 Hualapi Dr
Cherokee Village, AR 72529
Scio Utd Methodist Church
Ohio River Valley Council 619
117 Maple St
Scio, OH 43988


Scio, Crabtree, Bilyeu‐Den Assoc
Cascade Pacific Council 492
38975 SW 6th Ave
Scio, OR 97374


Scioto Ridge Utd Methodist Church
Simon Kenton Council 441
4343 Dublin Rd
Hilliard, OH 43026


Scioto Valley District BSA
Simon Kenton Council 441
807 Kinnear Rd
Columbus, OH 43212


Scipio Elementary PTO
Hoosier Trails Council 145 145
6320 N State Hwy 7
Scipio, IN 47273


Scissortail Creative
5013 NW 62nd St
Oklahoma City, OK 73122


Scituate Post 19 American Legion
Narragansett 546
P.O. Box 481
546 W Greenville Rd
North Scituate, RI 02857


Scobey Lions Club
Northern Lights Council 429
P.O. Box 485
Scobey, MT 59263


Scope East
Inland Nwest Council 611
12710 E Sprague Ave
Spokane Valley, WA 99216


Scot Fuller
Address Redacted


Scot Neu
Address Redacted


Scot R Granlund
Address Redacted


Scotch Plains
Fanwood Police Athletic League
Patriots Path Council 358
430 Park Ave
Scotch Plains, Nj 07076


Scotchtown Presbyterian Church
Hudson Valley Council 374
227 Blumel Rd
Middletown, NY 10941


Scotiabank
Attn Ruth Martelly
Bns Charlotte Amalie Br0
P.O. Box 420
Charlotte Amalie, VI 00802


Scotiabank
Attn Ruth Martelly
Bns Charlotte Amalie Bro
P.O. Box 420
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Scotland Health Care System
Cape Fear Council 425
500 Lauchwood Dr
Laurinburg, NC 28352
Scott   Nix, Inc
150 W 28th St
New York, NY 10001


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Clark   Crew LLP
1650 NW Naito Pkwy
Portland, OR 97209


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Scott Appalachian Industries
Great Smoky Mountain Council 557
P.O. Box 150
Huntsville, TN 37756


Scott Arnold
Address Redacted


Scott B Johnson
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Scott Banner
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Scott Bartholomew
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Scott Brady
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Scott C Baxter
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Scott Caldwell
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Scott Christensen
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Scott Christie
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Scott City Lions Club
Santa Fe Trail Council 194
501 Main St
P.O. Box 290
Scott City, KS 67871


Scott Clabaugh
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Scott Copeland
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Scott Home   School Assoc
Three Fires Council 127
500 Warwick Dr
Naperville, IL 60565


Scott Jensen
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Scott Kleinhesselink
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Scott Kramer
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Scott L Hoffman
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Scott L Sanders
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Scott L Trowell And Co Inc
Coastal Georgia Council 099
110 S Effingham Plntn Dr
Guyton, GA 31312


Scott Lambert
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Scott M Toomer
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Scott Martin
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Scott Memorial Utd Methodist Church
Tidewater Council 596
409 First Colonial Rd
Virginia Beach, VA 23454
Scott Meredith
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Scott Nickell
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Scott Oldenburg
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Scott Oliver
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Scott P Sullivan
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Scott Paddack
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Scott Parent Support Group Special Needs
Buffalo Trace 156
14940 Old State Rd
Evansville, IN 47725


Scott Peck
Address Redacted


Scott R Mccrary
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Scott Redman
Address Redacted


Scott Robertson Green
Address Redacted


Scott Rosengren
Address Redacted


Scott Rumley
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Scott S Strings
Winnebago Council, Bsa 173
516 3rd St
Gundy, IA 50673


Scott Seibert
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Scott Sign Systems Inc
P.O. Box 911979
Dallas, TX 75391‐1979


Scott Sisler
Address Redacted


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Scott Stapleton
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Scott Thiessen
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Scott Wolterink
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Scott Workman
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Scott Wyatt
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Scottish Corners Elementary PTO
Simon Kenton Council 441
5950 Sells Mill Dr
Dublin, OH 43017


Scottish Rite ‐ Old Bonhomme
Greater St Louis Area Council 312
3633 Lindell Blvd
Saint Louis, MO 63108


Scottish Rite ‐ Ritenour High School
Greater St Louis Area Council 312
9100 Saint Charles Rock Rd
Saint Louis, MO 63114


Scottish Rite Of Free Masons
Far E Council 803
Tokyo Bodies
4‐1‐3 Shibakoen
Minato‐Ku Tokyo, 105
Japan


Scottish Rite‐Jefferson
Greater St Louis Area Council 312
3633 Lindell Blvd
Saint Louis, MO 63108


Scotts Branch Pal Center
Baltimore Area Council 220
8220 Tawnmoore Rd
Baltimore, MD 21244


Scotts Chapel Utd Methodist Church
Great Rivers Council 653
1815 Hope St
Hannibal, MO 63401


Scotts Valley Host Lions Club
Silicon Valley Monterey Bay 055
101 Scotts Valley Dr
Scotts Valley, CA 95066


Scotts Valley Police Dept
Silicon Valley Monterey Bay 055
1 Civic Center Dr
Scotts Valley, CA 95066


Scottsbluff Public Schs Choices Program
Longs Peak Council 062
2601 Broadway
Scottsbluff, Ne 69361


Scottsburg Utd Methodist Church
Lincoln Heritage Council 205
615 S Honeyrun Pkwy
Scottsburg, IN 47170


Scottsdale Cottonwoods Resort
6160 N Scottsdale Rd
Scottsdale, AZ 85253


Scottsdale Utd Methodist Church
Grand Canyon Council 010
4140 N Miller Rd
Scottsdale, AZ 85251


Scottsville Elementary PTO
Stonewall Jackson Council 763
7868 Scottsville Rd
Scottsville, VA 24590


Scotty Parker
Address Redacted


Scotty S Drive In ‐ LLC
Grand Teton Council 107
560 Ngate Mile
Idaho Falls, ID 83401


Scout Assoc Of Centerville
Great Salt Lake Council 590
1025 Oakridge Dr
Centerville, UT 84014
Scout Assoc Of Hong Kong
10F Hong Kong Scout Centre
Scout Path, Austin Rd
Kowloon


Scout Assoc Of Jamaica
2D Camp Rd
Kingston 5
Jamaica


Scout Assoc Of Japan
3‐26‐12 Shimorenjaku
Mitaka‐Shi, 13, 181‐0013
Japan


Scout Assoc Of Macedonia
Kukushka 4A
Skpoje, 1000
Macedonia


Scout BoricuaCom
Puerto Rico Council 661
P.O. Box 8283
Bayamon, PR 00960


Scout Executive Alliance
P.O. Box 152079
Irving, TX 75015‐2079


Scout Executives Alliance
1325 W Walnut Hill Lane
Irving, TX 75038


Scout Family 1171
Longhorn Council 662
524 Summit Dr
Copper Canyon, TX 75077


Scout Leadership Development Council
Greater Tampa Bay Area 089
5021 Belmont Rd
Tampa, FL 33647
Scout Parent S Inc
Greater Los Angeles Area 033
27106 Mesaba Dr
Rancho Palos Verdes, CA 90275


Scout Parents Inc
Greater Los Angeles Area 033
31145 Palos Verdes Dr E
Rancho Palos Verdes, CA 90275


Scout Parents Inc
Lincoln Heritage Council 205
P.O. Box 1253
Shepherdsville, KY 40165


Scout Parents, Inc
Greater Los Angeles Area 033
26537 Academy Dr
Palos Verdes Peninsula, CA 90274


Scout Printing
Attn Accounts Receivable
P.O. Box 5011
Orangeburg, SC 29116


Scout Resources International
Les Longeray
Metz Tessy, 74370
France


Scout Youth Programs
Gulf Stream Council 085
3845 Barkis Ave
Boynton Beach, FL 33436


Scout, Crew, Troops   Packs Colorado
Denver Area Council 061
5625 S Newport St
Greenwood Village, Co 80111
Scouters Of Bear Valley
Southern Sierra Council 030
24240 Jacaranda Dr
Tehachapi, CA 93561


Scouters Of Future Leaders
Capitol Area Council 564
1326 Tumbling River Dr
Leander, TX 78641


Scouters Of Hamilton Cty ‐ Prairie Trace
Crossroads of America 160
14200 River Rd
Carmel, IN 46033


Scouters Of Holmes County ‐ Millersburg
Buckeye Council 436
132 Quinn Cir
Millersburg, OH 44654


Scouting 141 Inc
Gulf Stream Council 085
521 38th St
West Palm Beach, FL 33407


Scouting 141 Inc
Gulf Stream Council 085
515 N Flagler Dr, Ste 400
West Palm Beach, FL 33401


Scouting Adventures Kc
Heart of America Council 307
8502 N Green Hills Rd
Kansas City, MO 64154


Scouting Antiano
Kaya Wladimir Coco
Balentin 41
Curacao


Scouting Area Committee
Pacific Harbors Council, Bsa 612
Bldg 8094
Fort Lewis, WA 98433


Scouting Arlington Inc
Longhorn Council 662
218 E Abram St
Arlington, TX 76010


Scouting Aruba
Pavia Park 113
Paradera
Aruba


Scouting Bronzes
21 3rd St N, Ste 411
Great Falls, MT 59401


Scouting Families Of West Lindon
Utah National Parks 591
740 W 100 S
Lindon, UT 84042


Scouting For All
Suffolk County Council Inc 404
191 Ballad Cir
Holbrook, NY 11741


Scouting For Boys At Breck School
Northern Star Council 250
4440 Tyrol Crst
Minneapolis, MN 55416


Scouting For Jesus Christ Ministry
Coastal Georgia Council 099
1740 Calvin Rd
Waycross, GA 31503


Scouting For The Valley
Chief Seattle Council 609
28006 NE 151st Pl
Duvall, WA 98019
Scouting Friends Of Troop 256
Heart of America Council 307
25904 S Rodier Rd
Freeman, MO 64746


Scouting Fun Foundation
Orange County Council 039
26931 Highwood Cir
Laguna Hills, CA 92653


Scouting Ireland
Larch Hill
Tibradden, Dublin, D16Po23
Ireland


Scouting Leadership Academy
315 Glen Rd
Landenberg, PA 19350‐9137


Scouting Of Amherst
Daniel Webster Council, Bsa 330
62 Lyndeborough Rd
Amherst, NH 03031


Scouting Parents Assoc
National Capital Area Council 082
14709 Cobblestone Dr
Silver Spring, MD 20905


Scouting Parents For Paxton Keeley
Great Rivers Council 653
808 Windermere Dr
Columbia, MO 65203


Scouting Parents Metro Charter      Romulus
Great Lakes Fsc 272
34800 Ecorse Rd
Romulus, Mi 48174


Scouting Parents Of Sweetwater
San Diego Imperial Council 049
1153 Thistlewood Ave
Chula Vista, CA 91913


Scouting Patrons Of Christ The King
Heart of America Council 307
10808 Wornall Rd
Kansas City, MO 64114


Scouting Supporters Inc
Southern Shores Fsc 783
2309 N 37th St
Galesburg, MI 49053


Scouting Unlimited Sunrise
Heart of America Council 307
205 S 7Th
Clinton, MO 64735


ScoutingFriends HalesCorners Lutheran Ch
Three Harbors Council 636
12300 W Janesville Rd
Hales Corners, Wi 53130


Scoutland Camp
Northeast Georgia Council 101
3672 Looper Lake Rd
Gainesville, GA 30506


Scoutreach Cmte ‐ Pendleton Juvenile
Crossroads of America 160
9310 S State Rd 67
Pendleton, IN 46064


Scouts 1305, Inc
South Florida Council 084
9480 NE 2nd Ave 27
Miami Shores, FL 33138


Scouts BSA
Transatlantic Council, Bsa 802
Huettenweg 46
Berlin, 14195
Germany


Scouts Canada
1345 Baseline Rd
Ottawa, On K2C 0A7
Canada


Scouts Canada COAC
Yorkland Blvd 2nd Fl
Toronto, On M2J 5C7
Canada


Scouts Canton Inc
Atlanta Area Council 092
650 Longview Dr
Canton, GA 30114


Scouts De Argentia
Libertad 1282
C1012Aaz Capital Federal
Argentina


Scouts In Motion
P.O. Box 171059
Austin, TX 78717


Scouts Of 119
Southern Sierra Council 030
3411 Rawhide Rd
Bakersfield, CA 93313


Scouts Of Beaver County
Utah National Parks 591
P.O. Box 1090
Beaver, UT 84713


Scouts On Stamps Society International
Lawrence E Clay
P.O. Box 6228
Kennewick, WA 99336
Scr Spikes, LLC
Birmingham Rail    Locomotive Co, Inc
5205 5th Ave N
Lipscomb, AL 35020


Scr Spikes, LLC
dba Birmingham Rail   Locomotive Co, Inc
P.O. Box 6108‐5119
Hermitage, PA 16148‐0922


Scranton Elementary School
Lake Erie Council 440
Scranton Elementray School
1991 Barber Ave
Cleveland, OH 44113


Screen Graphics
1327 Banks Ave
Superior, WI 54880


Scronce Incorporated
P.O. Box 244
Frankford, WV 24938


Scst
Orange County Council 039
32862 Staysail Dr
Dana Point, CA 92629


Scuba Fusion
Pacific Skyline Council 031
1210 S El Camino Real
San Mateo, CA 94402


Scuba Schools Of America
California Inland Empire Council 045
4420 Holt Blvd
Montclair, CA 91763


Scuba Tour
3750 Convoy St, Ste 310
San Diego, CA 92111
Scully Sportswear, Inc
1701 Pacific Ave
Oxnard, CA 93033


Scurlock Publishing Co, Inc
Route 5, Box 347M
Texarkana, TX 75503


Scurry County Youth Center
Buffalo Trail Council 567
1500 28th St
Snyder, TX 79549


Scv Pvt Samual A Hughey Camp 1452
Chickasaw Council 558
5205 Horn Lake Rd
Horn Lake, MS 38637


Scv Quail Upland Wildlife Foundation
W.L.A.C.C. 051
P.O. Box 802738
Santa Clarita, CA 91380


Sd Consulting Group LLC Inc
4707 Hwy 61 N, PMB 249
White Bear Lake, MN 55110


Sd Hotel Circle LLC
dba Homewood, Ste S Hotel Cir
2201 Hotel Cir S
San Diego, CA 92108


SD Secretary Of State
Capitol Building
500 E Capitol Ave , Ste 204
Pierre, SD 57501‐5070


Sd Webb Electric Inc
8182 Lake San Carlos Cir Se
Fort Myers, FL 33967
Sdds San Diego Digital Solutions
12340 Stowe Dr
Poway, CA 92064‐5342


Sdl Inc
201 Edgewater Dr, Ste 225
Wakefield, MA 01880


Sds Design Assoc Inc
c/o Darryl Shellhamer
2534 Beryl Ave
Whitehall, PA 18052‐3710


Se Guilford High Sch
Rotc Booster Club
Old N State Council 070
4530 Se School Rd
Greensboro, Nc 27406


Se Louisiana Contingent
c/o Sarah Coker
4200 S 1‐10 Service Rd W
Metairie, LA 70001


Sea Air Land Technologies, Inc
2992 Overseas Hwy
Marathon, FL 33050


Sea Breeze Volunteer Fire Dept
Seneca Waterways 397
4657 Culver Rd
Rochester, NY 14622


Sea Cats Naval Junior Reserve
Office Trng Corps
Lincoln Heritage Council 205
4255 New Hartford Rd
Owensboro, Ky 42303


Sea Center LLC
29740 Overseas Hwy
Big Pine Key, FL 33043


Sea Coast Fire Inc
2669 NW 33rd St
Miami, FL 33142


Sea Grass Marketers, Inc
3422 Old Capital Trl
Wilmington, DE 19808


Sea Grass Marketers, Inc
Wells Fargo Bank
260 N Charles Lindbergh Dr
P.O. Box Services‐U1240‐02C, Box 413040
Salt Lake City, UT 84116


Sea Pearls
4609 85th Ave N
Minneapolis, MN 55443‐1918


Sea Quest
Trapper Trails 589
1201 N Hill Field
Layton, UT 84041


Sea School
2107 S Andrews Ave
Ft Lauderdale, FL 33316


Sea Scout Ship 1836
c/o Shane Blair
290 Main St
Salem, NH 03079


Sea Scout Ship 5026 Inc
Central Florida Council 083
208 Ada Ave
Orange City, FL 32763


Sea Scout Ship 550
c/o Albert Guerra
5875 E Appian Way
Long Beach, CA 90803


Sea Scout Ship 609 Inc
Gulf Coast Council 773
4028 Landfall Dr
Pensacola, FL 32507


Sea Scout Ship Holding Co Inc
Central Florida Council 083
10109 Stanton Ct
Orlando, FL 32836


Sea Scout Ship Odyssey
Attn Nic Marshall
P.O. Box 1433
Tacoma, WA 98401


Sea Scouts Ship 11 Committee Inc
W.L.A.C.C. 051
3907 Cocina Ln
Palmdale, CA 93551


Sea Star Base Galveston
Bay Area Council 574
7509 Broadway St
Galveston, TX 77554


Sea World Of Florida LLC
dba Sea World Orlando Inc
7007 Sea World Dr
Orlando, FL 32821


Seabreeze Utd Methodist Church
Central Florida Council 083
501 N Wild Olive Ave
Daytona Beach, FL 32118


Seabrook Utd Methodist Church
Sam Houston Area Council 576
3300 Lakeside Dr
Seabrook, TX 77586


Seacoast Lock   Safe Co Inc
919 Rt 1 US Bypass
Portsmouth, NH 03801


Seafarers Foundation
Baltimore Area Council 220
301 Chester Ave
Annapolis, MD 21403


Seaford American Legion Post 1132
Theodore Roosevelt Council 386
2301 Penatiquit Ave
Edwin Welch Jr Post
Seaford, NY 11783


Seaford Lions Club
Theodore Roosevelt Council 386
P.O. Box 1722
Seaford, NY 11783


Seagrass Recovery
1511 Gulf Blvd, Ste A
Indian Rocks Beach, FL 33785


Seal Beach Police Dept
Orange County Council 039
911 Seal Beach Blvd
Seal Beach, CA 90740


Sealco LLC
1751 International Pkwy, Ste 115
Richardson, TX 75081


Seamark Construction Co Inc
P.O. Box 501426
Marathon, FL 33050


Seamark Electronics Inc
2994 Overseas Hwy
Marathon, FL 33050


Seamus Murray
Address Redacted


Sean Brynda
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Sean Campbell
Address Redacted


Sean Christopher Ritchie
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Sean Davis
Address Redacted


Sean Denoyer
Address Redacted


Sean Ehlert
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Sean Ferrier
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Sean Fogle
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Sean Kyzer
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Sean M Reyes
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Sean Martin
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Sean Mcallister
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Sean Mccauley
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Sean Mccormick Photography, Inc
6120 Beard Pl
Edina, MN 55410
Sean Mccormick Photography, Inc
dba Sean Mccormick Photography
336 Quackenbos St Ne
Washington, DC 20011


Sean Mcfarland
Address Redacted


Sean Michael Kauder
Address Redacted


Sean P Ellis
Address Redacted


Sean P Hollowell
Address Redacted


Sean P Murphy
Address Redacted


Sean P Riley
Address Redacted


Sean Patrick Coleman
Address Redacted


Sean Patrick Mayfield
Address Redacted


Sean R Dube
Address Redacted


Sean R Kaiser
Address Redacted


Sean Reeves
Address Redacted
Sean Richard Mcgregor
Address Redacted


Sean Robert Mccarthy
Address Redacted


Sean Roy
Address Redacted


Sean S Sluyter
Address Redacted


Sean Teague
Address Redacted


Sean Yates
Address Redacted


Seann Larson
Address Redacted


SeapicsCom Inc
77‐6425 Kuakini Hwy, Ste C2‐200
Kailua Kona, HI 96740


Search Gear, Inc
7163 Construction Ct A
San Diego, CA 92121


Search Institute
Attn Jan Dewall
615 1st Ave Ne, Ste 125
Minneapolis, MN 55413


Sears Commercial One
P.O. Box 78037
Dept 53‐4011452701
Phoenix, AZ 85062‐8037
Sears Holding Corp
333 Beverly Rd
Hoffman Estates, IL 60179


Sears Recreation Center
Blue Ridge Council 551
100 E Park Ave
Greenville, SC 29601


Sears Youth Center
Greater St Louis Area Council 312
9400 Sears Ln
Poplar Bluff, MO 63901


Searsmont Methodist Church
Katahdin Area Council 216
P.O. Box 33
Searsmont, ME 04973


Searsmont Methodist Church
Katahdin Area Council 216
Rt 131
Searsmont, ME 04973


Seaside Christian Church
Cascade Pacific Council 492
P.O. Box 280
88786 Dellmoor Loop
Warrenton, OR 97146


Seaside Community Charter School
North Florida Council 087
2630 State Rd A1A
Atlantic Beach, FL 32233


Seaside Utd Methodist Church
Cape Fear Council 425
1300 Seaside Rd Sw
Sunset Beach, NC 28468


Seast Elem Sch Multicultral Program
East Carolina Council 426
201 Mcdaniels St
Kinston, Nc 28501


Seastern Ohio Regional Med Ctr
Muskingum Valley Council, Bsa 467
1341 Clark St
Cambridge, Oh 43725


Seatac Police Explorers
Chief Seattle Council 609
4800 S 188th St
Seatac, WA 98188


Seattle Buddhist Church
Chief Seattle Council 609
1427 S Main St
Seattle, WA 98144


Seattle Deposition Reporters LLC
600 University St 320
Seattle, WA 98101


Seattle Lutheran High School
Chief Seattle Council 609
4100 SW Genesee St
Seattle, WA 98116


Seattle Marine   Fishing Supply Co
P.O. Box 99098
Seattle, WA 98139‐0098


Seattle Police Dept
Chief Seattle Council 609
610 5th Ave
Seattle, WA 98104


Seattle Post‐Intelligencer
P.O. Box 1909
Seattle, WA 98111‐1909


Seattle Security Inc
2949 4th Ave S, Ste A
Seattle, WA 98134


Seattle University
Student Financial Services
P.O. Box 222000
Seattle, WA 98122


Seaview PTA
Mount Baker Council, Bsa 606
8426 188th St Sw
Edmonds, WA 98026


Seaville Utd Methodist Church
Garden State Council 690
3100 N Route 9
Ocean View, NJ 08230


Seawillow Sailing LLC
30549 16th Ln
Big Pine Key, FL 33043


Seawillow Sailing LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Sebastian A Taylor
Address Redacted


Sebastian Inlet Sail And Power Squadron
Gulf Stream Council 085
P.O. Box 781044
Sebastian, FL 32978


Sebastian Orion Guldi
Address Redacted


Sebastian Schoneich
Address Redacted
Sebastopol Volunteer Firefighters
Redwood Empire Council 041
7425 Bodega Ave
Sebastopol, CA 95472


Sebree Utd Methodist Church
Lincoln Heritage Council 205
P.O. Box 393
Sebree, KY 42455


Seca Wilcox
Address Redacted


Sechrist School PTO
Grand Canyon Council 010
2230 N Fort Valley Rd
Flagstaff, AZ 86001


Second Allen A M E Church
Pine Burr Area Council 304
1110 Anderson St
Laurel, MS 39440


Second Baptist Church
Chickasaw Council 558
4680 Walnut Grove Rd
Memphis, TN 38117


Second Baptist Church
Connecticut Rivers Council, Bsa 066
100 N Main St
Suffield, CT 06078


Second Baptist Church
Heart of Virginia Council 602
3300 Broad Rock Blvd
Richmond, VA 23224


Second Baptist Church
Las Vegas Area Council 328
500 Madison Ave
Las Vegas, NV 89106


Second Baptist Church
Laurel Highlands Council 527
1 Grand Ave
Cumberland, MD 21502


Second Baptist Church
Quapaw Area Council 018
815 S 12th St
Arkadelphia, AR 71923


Second Baptist Church
South Texas Council 577
6701 S Staples St
Corpus Christi, TX 78413


Second Baptist Church Of Asbury Park
Monmouth Council, Bsa 347
124 Atkins Ave
Asbury Park, NJ 07712


Second Baptist Church Of Sidney
Pine Tree Council 218
3022 W River Rd
Sidney, ME 04330


Second Baptist Church Sidney
Pine Tree Council 218
3091 W River Rd
Sidney, ME 04330


Second Baptist School
Sam Houston Area Council 576
6410 Woodway Dr
Houston, TX 77057


Second Chance
Longhorn Council 662
1101 W Commerce St
Buffalo, TX 75831
Second Chance Fellowship
Indian Waters Council 553
1824 Jefferson Davis Hwy
Camden, SC 29020


Second Co Governors Foot Guard Assoc
Connecticut Yankee Council Bsa 072
572 Still Hill Rd
Hamden, CT 06518


Second Congregational Church
Greenwich 067
139 E Putnam Ave
Greenwich, CT 06830


Second Congregational Church
Narragansett 546
50 Park St
Attleboro, MA 02703


Second Congregational Church
The Spirit of Adventure 227
35 Conant St
Beverly, MA 01915


Second Congregational Church Of Palmer
Western Massachusetts Council 234
1080 Pleasant St
Palmer, MA 01069


Second Congregational Church Of Warren
Pine Tree Council 218
252 Main St
Warren, ME 04864


Second Congregational Church Of Warren
Pine Tree Council 218
P.O. Box 206
252 Main St
Warren, ME 04864
Second Congregational Church Of Warren
Pine Tree Council 218
P.O. Box 27
Union, ME 04862


Second Congregational Protestant Church
Daniel Webster Council, Bsa 330
Dale   Gregg Sts
Wilton, NH 03086


Second Presbyterian Chruch
W D Boyce 138
404 N Prairie St
Bloomington, IL 61701


Second Presbyterian Church
Baltimore Area Council 220
4200 Saint Paul St
Baltimore, MD 21218


Second Presbyterian Church
Blue Ridge Mtns Council 599
214 Mountain Ave Sw
Roanoke, VA 24016


Second Presbyterian Church
Chickasaw Council 558
4055 Poplar Ave
Memphis, TN 38111


Second Presbyterian Church
Crossroads of America 160
7700 N Meridian St
Indianapolis, IN 46260


Second Presbyterian Church
Great Smoky Mountain Council 557
2829 Kingston Pike
Knoxville, TN 37919


Second Presbyterian Church
Heart of Virginia Council 602
419 W Washington St
Petersburg, VA 23803


Second Presbyterian Church
Jayhawk Area Council 197
210 NW Menninger Rd
Topeka, KS 66617


Second Presbyterian Church
Quapaw Area Council 018
600 Pleasant Valley Dr
Little Rock, AR 72227


Second Presbyterian Church
Water and Woods Council 782
2665 Midland Rd
Saginaw, MI 48603


Second Reformed Church
Blackhawk Area 660
703 14th Ave
Fulton, IL 61252


Second Reformed Church
President Gerald R Ford 781
225 E Central Ave
Zeeland, MI 49464


Second St Media Inc
1017 Olive St
St Louis, MO 63101


Second Street Church Of Christ
Middle Tennessee Council 560
300 N 2nd St
Pulaski, TN 38478


Second Street Church Of Christ
Middle Tennessee Council 560
320 W Flower St
Pulaski, TN 38478
Second Timothy
Las Vegas Area Council 328
4717 Compass Bow Ln
Las Vegas, NV 89130


Second Utd Presbyterian Allegheny
Laurel Highlands Council 527
300 Hay St
Pittsburgh, PA 15221


Second Ward Community Initiative
Simon Kenton Council 441
50 Ross St A
Delaware, OH 43015


Secor Fire Protection District
W D Boyce 138
300 E Van Alstine
Secor, IL 61771


Secretaria Recreacion Y Deportes
Puerto Rico Council 661
Paseo Lineal Rio Bayamon
Sector Cambija
Bayamon, PR 00960


Secretary Of State
325 Don Gaspar, Ste 300
Santa Fe, NM 87503


Secretary Of State
Business Entities Filing Unit
P.O. Box 944260
Sacramento, CA 94244‐2260


Secretary Of State
P.O. Box 13697
Austin, TX 78711‐3697


Secretary Of State
P.O. Box 9529
Manchester, NH 03108‐9529


Secretary Of State ‐ Nd
600 E Blvd Ave, Dept 108
Bismarck, ND 58505‐0500


Secretary Of State ‐ Nd
600 E Boulevard Ave, Dept 108
Bismark, ND 58505‐0500


Secretary Of State Of Rhode Island
Attn Corps Div
100 N Main St
Providence, RI 02903‐1335


Securitas Sec Svcs Usa Inc
P.O. Box 403412
Atlanta, GA 30384‐3412


Security Alarm Corp
1511 E Main
P.O. Box 665
Salem, IL 62881


Security Alarms Of America
1428 N Kingshighway
Cape Girardeau, MO 63701


Security Awareness Inc
3837 Ndale Blvd, Ste 320
Tampa, FL 33624


Security Equipment Supply
P.O. Box 66971
Department S
St Louis, MO 63166‐6971


Security Solutions Plus LLC
P.O. Box 720055
Byram, MS 39272‐0055
Security Source Inc
7910 Lorraine Court
Albuquerque, NM 87113


Security Systems Of America
475 Ardmore Blvd
Pittsburgh, PA 15221


Security Systems Of America
500 Ardmore Blvd
Pittsburgh, PA 15221


Sedalia Church
Coronado Area Council 192
115 N Lake St
Riley, KS 66531


Sedalia Community Church
Coronado Area Council 192
6040 N 52nd St
Manhattan, KS 66503


Sedge Garden Utd Methodist Church
Old Hickory Council 427
794 Sedge Garden Rd
Kernersville, NC 27284


Sedgefield Civic Assoc
Patriots Path Council 358
Sedgefield Dr
Parsippany, NJ 07054


Sedgefield Presbyterian Church
Old N State Council 070
4216 Wayne Rd
Greensboro, NC 27407


Sedgwick County Ems
Quivira Council, Bsa 198
P.O. Box 607
Wichita, KS 67201
Sedgwick LLP
135 Main St, 14th Fl
San Francisco, CA 94105


Sedgwick LLP
2301 Mcgee St Sute 500
Kansas City, MO 64108‐2662


Sedgwick Utd Methodist Church
Quivira Council, Bsa 198
P.O. Box 38
600 N Commercial Ave


SedoCom LLC
1753 Pinnacle Dr
Mclean, VA 22102


Sedona Police Dept
Grand Canyon Council 010
100 Rdrunner Dr
Sedona, AZ 86336


Sedrick Markey Robinson
Address Redacted


Sedrick Robinson
Address Redacted


See S Candy Shops, Inc
P.O. Box 93024
Long Beach, CA 90809‐3024


See Vendor 818940
453 Fdr Dr C406
New York, NY 10002


Seelyville Utd Methodist Church
Crossroads of America 160
P.O. Box 196
Us Hwy 40 At 2nd St


Seguin Police Dept
Alamo Area Council 583
410 N Camp St
Seguin, TX 78155


Seibert Farms And Services
Pine Burr Area Council 304
1116 Howell Tanner Chapel Rd
Lucedale, MS 39452


Seiler Hotels Zermatt Ag
Bahnhofstrasse 31
3920 Zermatt,
Switzerland


Seko Worldwide
P.O. Box 71141
Chicago, IL 60694‐1141


Selam David Arnold
Address Redacted


Selby Lions Club
Sioux Council 733
P.O. Box 352
Selby, SD 57472


Seldom Seen Expeditions, Inc
P.O. Box 474
Placitas, NM 87004


Select Citizens Offer Ultimate Troop Svc
Greater Tampa Bay Area 089
723 Green St
Wauchula, Fl 33873


Select Citizens Offer Ultimate Trp Serv
Greater Tampa Bay Area 089
627 Green St
Wauchula, FL 33873


Select Staff Inc
12700 Hillcrest Rd, Ste 218
Dallas, TX 75230


Selena Romero
Address Redacted


Selina Trejo
Address Redacted


Selkirk Fire Co
Twin Rivers Council 364
480 Bridge St
South Bethlehem, NY 12161


Selkirk Volunteer Fire Co No 2
Twin Rivers Council 364
301 Glenmont Rd
Glenmont, NY 12077


Sell   Assoc Inc 2
4625 S Lakeshore Dr
Tempe, AZ 85282‐7127


Sellersburg Utd Methodist Church
Lincoln Heritage Council 205
226 N New Albany St
Sellersburg, IN 47172


Sellersville Fire Dept
Washington Crossing Council 777
2 N Main St
Sellersville, PA 18960


Sellmark Corp
2201 Heritage Pkwy
Mansfield, TX 76063
Selma Lions Club
Crossroads of America 160
P.O. Box 273
9901 E Miller St
Selma, IN 47383


Selma Police Dept
Sequoia Council 027
1935 E Front St
Selma, CA 93662


Seltice Elementary
Inland Nwest Council 611
1101 N Chase Rd
Post Falls, ID 83854


Selwyn Avenue Presbyterian Church
Mecklenburg County Council 415
2929 Selwyn Ave
Charlotte, NC 28209


Sem S Jones
Address Redacted


Sembach Elementary School PTO
Transatlantic Council, Bsa 802
Unit 6797 Bldg 206
Apo Ae, 09142


Sembach Middle School
Transatlantic Council, Bsa 802
Unit 4240 Box 320
Apo Ae, 09136


Seminary Hills Park Elementary ‐ Gfwar
Longhorn Council 662
5037 Townsend Dr
Fort Worth, TX 76115


Seminary Scouts
Pine Burr Area Council 304
P.O. Box 621
Seminary, MS 39479


Seminole Boosters Inc
P.O. Box 1353
Tallahasse, FL 32302


Seminole County Police Athletic League
Central Florida Council 083
100 Bush Blvd
Sanford, FL 32773


Seminole Elks Lodge 2519
Greater Tampa Bay Area 089
10717 Seminole Blvd
Seminole, FL 33778


Seminole Heights Utd Methodist Church
Greater Tampa Bay Area 089
6111 N Central Ave
Tampa, FL 33604


Seminole Lions Club
South Plains Council 694
119 SE Ave B
Seminole, TX 79360


Semper International, LLC
205 Portland St, Suite 300
Boston, MA 02114


Senatobia Rotary Club
Chickasaw Council 558
400 Nwest Plz
Senatobia, MS 38668


Seneca Falls Utd Methodist Church
Seneca Waterways 397
2 Chapel St
Seneca Falls, NY 13148


Seneca Fire Dept
Blue Ridge Council 551
321 W S 4th St
Seneca, SC 29678


Seneca High School Marine Corps
Junior Reserve Officer Training Corps
Lincoln Heritage Council 205
3510 Goldsmith Ln
Louisville, Ky 40220


Seneca Lions Club
Gateway Area 624
P.O. Box 8
Seneca, WI 54654


Seneca Rotary Club
Blue Ridge Council 551
P.O. Box 296
Seneca, SC 29679


Seneca Utd Methodist Church PTA
Seneca Waterways 397
121 Scholfield Rd
Rochester, NY 14617


Seneca Waterways
2320 Brighton‐Henrietta Town Line Rd
Rochester, NY 14623


Seneca Waterways Council 397
2320 Brighton Henrietta Town Line Rd
Rochester, NY 14623


Seneca Waterways Council BSA
Seneca Waterways 397
2320 Brighton Henrietta Town Line Rd
Rochester, NY 14623


Sense Charter School
Crossroads of America 160
1601 Barth Ave
Indianapolis, IN 46203
Sent Church
Circle Ten Council 571
3701 W Spring Creek Pkwy
Plano, TX 75023


Senter Park Advisory Council
Circle Ten Council 571
905 Senter Rd
Irving, TX 75060


Sentinel Security Systems Inc
2648 Grace Rd
Fort Gratiot, MI 48059


Sentry
132 Hawthorne St
San Francisco, CA 94107


Seomoz Inc
dba Moz Inc
1100 2nd Ave, Ste 500
Seattle, WA 98101


Sepi Marketing
dba Seast Publications
2150 SW 10th St, Ste A
Deerfield Beach, FL 33442


Septic Savior Usa
600 Fairway Dr, Suite 106‐107
Deerfield Beach, FL 33441


Sequim Elks Lodge 2642
Chief Seattle Council 609
143 Port Williams Rd
Sequim, WA 98382


Sequioa Counsel of Boy Scouts, Inc.
Attn Michael Marchese
6005 N Tamera Ave
Fresno, CA 93711


Sequiota PTA
Ozark Trails Council 306
3414 S Mentor Ave
Springfield, MO 65804


Sequoia
6005 N Tamera Ave
Fresno, CA 93711‐3911


Sequoia Cncl 27
6005 N Tamera
Fresno, CA 93711‐3911


Sequoia Heights Baptist Church
Greater Yosemite Council 059
1050 S Union Rd
Manteca, CA 95337


Sequoia Lions Club
Sequoia Council 027
P.O. Box 41
Visalia, CA 93279


Sequoia Pawan Madan
Dba Sequoia Santa Fe, LLC
201 Galisteo St
Santa Fe, NM 87501


Sequoia Presidential Yacht Group LLC
1001 Connecticut Ave Nw, Ste 405
Washington, DC 20036


Sequoia Yacht Club
Pacific Skyline Council 031
441 Seaport Ct
Redwood City, CA 94063


Sequoyah
P.O. Box 3010 Crs
Johnson City, TN 37602‐3010


Sequoyah Area Cncl 713
129 Boone Ridge Dr
P.O. Box 3010 Crs
Johnson City, TN 37602‐3010


Sequoyah Elementary
Indian Nations Council 488
724 N Birmingham Ave
Tulsa, OK 74110


Sequoyah Friends   Family
Indian Nations Council 488
724 N Birmingham Ave
Tulsa, OK 74110


Sequoyah Hills Presbyterian Church
Great Smoky Mountain Council 557
3700 Keowee Ave
Knoxville, TN 37919


Sequoyah Utd Methodist Church
Westark Area Council 016
1910 N Old Wire Rd
Fayetteville, AR 72703


Serena Long
Address Redacted


Serena Software, Inc
P.O. Box 201448
Dallas, TX 75320‐1448


Serendipity Learning Center
Central Florida Council 083
410 Ridge Rd
Fern Park, FL 32730


Serendipity Visuals LLC
1928 E La Vieve Ln
Tempa, AZ 85284


Serenity Education   Day Treatment
Denver Area Council 061
3400 S Fairplay Way
Aurora, CO 80014


Serenity L Beard
Address Redacted


Serg Assoc 341St Missile Wings
Airmans Cncl
Montana Council 315
111 S Perimeter Rd
Malmstrom Afb, Mt 59402


Sergeants Major Assoc
Longhouse Council 373
P.O. Box 1206
Fort Drum, NY 13602


Sergio Meyer
Address Redacted


Serigraphic Screen Print Inc
P.O. Box 1985
2505 Larson St
La Crosse, WI 54602‐1985


Sern Lancaster Cty
Farmers Sportsmen S Assoc
Pennsylvania Dutch Council 524
P.O. Box 182
New Providence, Pa 17560


Serpro Logistics
225 Millwell Dr
Maryland Heights, MO 63043


Serra Catholic School
Orange County Council 039
23652 Antonio Pkwy
Rancho Santa Margarita, CA 92688


Serson Enterprises Inc
402 E Sheridan
Ely, MN 55731


Sertoma Club
Baden‐Powell Council 368
P.O. Box 414
Afton, NY 13730


Sertoma Club Midtown      Of Sioux Falls
Sioux Council 733
530 S Prairie Ave
Sioux Falls, SD 57104


Sertoma Club Of Sioux Falls
Sioux Council 733
312 W 30th St
Sioux Falls, SD 57105


Servant Of Christ Lutheran Church
Northern Star Council 250
740 Hayden Lake Rd E
Champlin, MN 55316


Service Caster Corp
Riverfront Business Center
9 S 1st Ave
West Reading, PA 19611


Service Source Catering
Fbi Academy
Building 9
Quantico, VA 22134


Service Transfer Inc
4101 Wilcox St
Chesapeake, VA 23324
Servicemaster Clean Inc
2400 Wisconsin Ave
Downers Grove, IL 60515


Servicemaster Downtown Comm
2256 Nwest Pkwy, Ste C
Marietta, GA 30067


Serving Children   Adults In Need
South Texas Council 577
1605 Saldana Ave
Laredo, TX 78041


Sessions Edu Inc
P.O. Box 810
Smithtown, NY 11787


Setauket Fire Dept
Suffolk County Council Inc 404
26 Hulse Rd
Setauket, NY 11733


Setdepo, LLC
P.O. Box 934157
Atlanta, GA 31193‐4157


Seth A Mangini
Address Redacted


Seth Adam Parnell
Address Redacted


Seth Asbill
Address Redacted


Seth Bartosik
Address Redacted


Seth Casey
Address Redacted
Seth Elder
Address Redacted


Seth Lewelling PTO
Cascade Pacific Council 492
5325 SE Logus Rd
Portland, OR 97222


Seth M Martin
Address Redacted


Seth Mcfarland
Address Redacted


Seth Michael Castro
Address Redacted


Seth R Eddington
Address Redacted


Seth R Warnick
Address Redacted


Seth W Fry
Address Redacted


Seth W Krolnik
Address Redacted


Seton Catholic School
Illowa Council 133
1320 16th Ave
Moline, IL 61265


Seton Identification Products
P.O. Box 95904
Chicago, IL 60694‐5904
Seton School
National Capital Area Council 082
9314 Maple St
Manassas, VA 20110


Settlers Park Scouting Assoc
Ore‐Ida Council 106 ‐ Bsa 106
988 W Crescent St
Meridian, ID 83646


Seven Holy Founders
Greater St Louis Area Council 312
6820 Aliceton Ave
Saint Louis, MO 63123


Seven Locks Baptist Church
National Capital Area Council 082
11845 Seven Locks Rd
Rockville, MD 20854


Seven Mile Chapter Izaak Walton Club
Dan Beard Council, Bsa 438
3380 Cotton Run Rd
Hamilton, OH 45011


Seven Mile Fire Dept
Dan Beard Council, Bsa 438
201 High St
Seven Mile, OH 45062


Seven Mountains Scout Camp
Juniata Valley Council 497
227 Sand Mountain Rd
Spring Mills, PA 16875


Seven Oaks Presbyterian Church
Indian Waters Council 553
530 Saint Andrews Rd
Columbia, SC 29210


Seven Sorrows Of Bvm
New Birth of Freedom 544
280 N Race St
Middletown, PA 17057


Seven Star Inc
dba Young Chows Restaurant
219 Pikeview Dr
Beckley, WV 25801


Seventeen
P.O. Box 8466
Red Oak, IA 51591‐5466


Seventh Day Adventist Church Of Auburn
Northeast Georgia Council 101
14 Country Living Ln
Auburn, GA 30011


Seventh Street Utd Methodist Church
Buckskin 617
1801 7th St
Parkersburg, WV 26101


Severn Cross Roads Foundation Inc
Baltimore Area Council 220
P.O. Box 223
Crownsville, MD 21032


Severn River Lions Club
Baltimore Area Council 220
P.O. Box 118
Severna Park, MD 21146


Severn Utd Methodist Church
Baltimore Area Council 220
1215 Old Camp Meade Rd
Severn, MD 21144


Severna Park Elks
Baltimore Area Council 220
160 Truck House Rd
Severna Park, MD 21146
Severna Park Utd Methodist Church
Baltimore Area Council 220
731 Benfield Rd
Severna Park, MD 21146


Severson‐Cairns Post 501
Glaciers Edge Council 620
P.O. Box 14255
105 Dempsey Rd
Madison, WI 53708


Sevier County Rescue Squad
Great Smoky Mountain Council 557
1171 Dolly Parton Pkwy
Sevierville, TN 37864


Sevier County Volunteer Rescue Squad
Great Smoky Mountain Council 557
P.O. Box 4277
1171 Dolly Port
Sevierville, TN 37864


Seville Presbyterian Church
Lions Club OF Seville
Great Trail 433
101 Center St
Seville, Oh 44273


Sevone Mcginnis
Address Redacted


Sew Many Parts, Inc
933 Shroyer Rd
Dayton, OH 45419


Sew Unique Embrodrey
Sam Houston Area Council 576
10648 Fm 1097 Rd W, Ste C
Willis, TX 77318
Sewanee Civic Assoc
Middle Tennessee Council 560
P.O. Box 222
Sewanee, TN 37375


Sewanee The University Of The South
Attn Office of Financial Aid
735 University Ave
Sewanee, TN 37383‐1000


Seward Utd Methodist Church
Cornhusker Council 324
1400 N 5th St
Seward, NE 68434


Sewell Tech Inc
1325 Conant St
Dallas, TX 75207


Sewickley Presbyterian Church
Laurel Highlands Council 527
414 Grant St
Sewickley, PA 15143


Sexton Mountain Ptc
Cascade Pacific Council 492
15645 SW Sexton Mountain Rd
Beaverton, OR 97007


Seymour Elementary School
Ozark Trails Council 306
425 E Center Ave
Seymour, MO 65746


Seymour Fire Dept
Bay‐Lakes Council 635
328 N Main St
Seymour, WI 54165


Seymour Lake Utd Methodist Church
Great Lakes Fsc 272
3050 S Sashabaw Rd
Oxford, MI 48371


Seymour Manufacturing Co
P.O. Box 248
Seymour, IN 47274


Seymour Midwest, LLC
P.O. Box 1674
Warsaw, IN 46581‐1674


Seymour Utd Methodist Church
Great Smoky Mountain Council 557
107 Simmons Rd
Seymour, TN 37865


Sfm Co, Inc
P.O. Box 5504
Midland, TX 79704‐5504


Sfp East Shore Assoc Inc
dba Best Wern Premier
800 E Park Dr
Harrisburg, PA 17111


Sfs Assoc Inc
5450 Highland Park Dr
St Louis, MO 63110


Sfs Assoc Inc
P.O. Box 2589
Boca Raton, FL 33427


Sg Trading Post
P.O. Box 8895
Ft Wayne, IN 46898‐8895


Sg Ventures Group, LLC
dba American Water Surveyors
P.O. Box 164163
Ft Worth, TX 76161‐4163
Sgs Hong Kong Ltd
5F‐8/F,28F, 29F Metropole Square,
2 On Yiu St, Siu Lek Yuen
Shatin, Nt
Hong Kong


Sgs North America, Inc
P.O. Box 2502
Carol Stream, IL 60132‐2502


Sgv Charitable Foundation Inc
Greater Los Angeles Area 033
300 Lemon Creek Dr, Ste B
Walnut, CA 91789


Sh 3 Ltd
dba Faro Blanco Resort   Maribna
506 Fleming St
Key W, Fl 33040


Shaare Torah Synagogue
Laurel Highlands Council 527
5808 Beacon St
Pittsburgh, PA 15217


Shaarey Zedek Congregation
W.L.A.C.C. 051
12800 Chandler Blvd
Valley Village, CA 91607


Shaarey Zedek Congregation
Water and Woods Council 782
1924 Coolidge Rd
East Lansing, MI 48823


Shackle Island Fire And Rescue
Middle Tennessee Council 560
3199 Long Hollow Pike
Hendersonville, TN 37075


Shacklette Elementary
Lincoln Heritage Council 205
5310 Mercury Dr
Louisville, KY 40258


Shade Shack Inc
3545‐49 SW 10th St
Pompano Beach, FL 33069


Shades Valley Lutheran Church
Greater Alabama Council 001
720 Shades Creek Pkwy
Birmingham, AL 35209


Shadow Hills Elementary PTA
Ore‐Ida Council 106 ‐ Bsa 106
8301 W Sloan St
Boise, ID 83714


Shadow Hills Home Owners Assoc
Mt Diablo‐Silverado Council 023
485 Hartz Ave, Ste 100
Danville, CA 94526


Shadow Me It Inct
1844 N Nob Hill Rd, 250
Plantation, FL 33322


Shadow Rock Ucc
Grand Canyon Council 010
12861 N 8th Ave
Phoenix, AZ 85029


Shadowbrook Baptist Church
Northeast Georgia Council 101
4187 Suwanee Dam Rd
Suwanee, GA 30024


Shadowlawn Elementary
South Florida Council 084
149 NW 49th St
Miami, FL 33127
Shadowwood Mobile Home
Prairielands 117
1600 N Market St
Champaign, IL 61820


Shady Grove Ruritan
c/o Jerome Harness Treasurer
Mason Dixon Council 221
2372 Buchanan Trl W
Greencastle, PA 17225


Shady Grove Ruritan Club
Mason Dixon Council 221
12055 Community Center Lane
Shady Grove, PA 17256


Shady Grove Ruritan Club
Mason Dixon Council 221
2100 Buchanan Trail E
Greencastle, PA 17256


Shady Grove Utd Methodist Church
Heart of Virginia Council 602
4825 Pouncey Tract Rd
Glen Allen, VA 23059


Shady Grove Utd Methodist Church
Heart of Virginia Council 602
8029 Shady Grove Rd
Mechanicsville, VA 23111


Shady Grove Utd Methodist Church
Indian Waters Council 553
1918 Shady Grove Rd
Irmo, SC 29063


Shady Grove Utd Methodist Church
Old N State Council 070
167 Shady Grove Church Rd
Winston Salem, NC 27107
Shady Hollow Homeowners Assoc Inc
Capitol Area Council 564
3303 Doe Run
Austin, TX 78748


Shady Shores Baptist Church
Longhorn Council 662
401 W Shady Shores Rd
Denton, TX 76208


Shadydale Elementary Kc
Sam Houston Area Council 576
5905 Tidwell Rd
Houston, TX 77016


Shadyside Presbyterian Church
Ohio River Valley Council 619
4100 Central Ave
Shadyside, OH 43947


Shaeffer Design Group Inc
2725 13th St Nw
Washington, DC 20009


Shaffer Elementary School PTA
Denver Area Council 061
7961 Sangre De Cristo Rd
Littleton, CO 80127


Shaftsbury Utd Methodist Church
Green Mountain 592
127 Church St
Shaftsbury, VT 05262


Shak Makerspace
Sagamore Council 162
210 W Monroe St
Kokomo, IN 46901


Shaker Road Loudonville Fire Dept
Twin Rivers Council 364
550 Albany Shaker Rd
Loudonville, NY 12211


Shakopee Knights Of Columbus
Northern Star Council 250
1760 4th Ave E
Shakopee, MN 55379


Shalimar Utd Methodist Church
Gulf Coast Council 773
1 Old Ferry Rd
Shalimar, FL 32579


Shallotte Presbyterian Church
Cape Fear Council 425
5070 Main St
Shallotte, NC 28470


Shallow Well Church
Occoneechee 421
1220 Broadway Rd
Sanford, NC 27332


Shallowater 1St Utd Methodist Church
South Plains Council 694
809 Texas Ave
Shallowater, TX 79363


Shallowford Presbyterian Church
Atlanta Area Council 092
2375 Shallowford Rd Ne
Atlanta, GA 30345


Shalom International
8 Nicholas Ct, Ste B
Dayton, NJ 08810


Shalom Utd Church Of Christ
Blue Mountain Council 604
505 Mcmurray St
Richland, WA 99354
Shalom Utd Methodist Church
Simon Kenton Council 441
4926 Plum Rd
Carroll, OH 43112


Shameka Freeman
Address Redacted


Shamona Creek Hsa
Chester County Council 539
501 Dorlan Mill Rd
Downingtown, PA 19335


Shamp Jordan Woodward, LLC
Attn Natalie Woodward
1718 Peachtree St Nw, Ste 660
Atlanta, GA 30309


Shamrock Foods Co
P.O. Box 52409
Phoenix, AZ 85072‐2409


Shamrock Swim Club
The Spirit of Adventure 227
411 Unquity Rd
Milton, MA 02186


Shana Scott
Address Redacted


Shandon Methodist Church
Indian Waters Council 553
3407 Devine St
Columbia, SC 29205


Shandon Presbyterian Church
Indian Waters Council 553
607 Woodrow St
Columbia, SC 29205


Shandon Utd Methodist Church
Indian Waters Council 553
3407 Devine St
Columbia, SC 29205


Shane A Sommers
Address Redacted


Shane Amoroson
Address Redacted


Shane Arrowood
Address Redacted


Shane Burks
Address Redacted


Shane Cooley
Address Redacted


Shane Coursey
Address Redacted


Shane Hughes
Address Redacted


Shane J Mrozek
Address Redacted


Shane Johnson
Address Redacted


Shane M Calendine
Address Redacted


Shane Mitchell
Address Redacted


Shane S Rinde
Address Redacted


Shane Wheeler
Address Redacted


Shane William Wheeler
Address Redacted


Shane Zerbe
Address Redacted


Shanee Berry
Address Redacted


Shanghai Community International School
Far E Council 803
1161 Hongqiac Rd
Shanghai City Sh, 20051
China


Shanika Bonner
Address Redacted


Shanksville Utd Methodist Church
Laurel Highlands Council 527
P.O. Box 129
701 Main St


Shanksville‐Stonycreek Ptsa
c/o Shanksville‐Stonycreek School
Laurel Highlands Council 527
325 Corner Stone Rd
Shanksville, PA 15560


Shanna Gray
Address Redacted


Shanna Richardson
Address Redacted
Shannon Ash
Address Redacted


Shannon Assoc LLC
333 W 57th St, Ste 809
New York, NY 10019


Shannon Brott
Address Redacted


Shannon Broussard
Address Redacted


Shannon Davis
Address Redacted


Shannon Ford Werntz
Address Redacted


Shannon Furqueron
Address Redacted


Shannon Harlan
Address Redacted


Shannon Kay Roberts
Address Redacted


Shannon Kelemen
Address Redacted


Shannon Milton
Address Redacted


Shannon Ott
Address Redacted
Shannon Paradzick
Address Redacted


Shannon Pitner
Address Redacted


Shannon Roberts
Address Redacted


Shannon Rodriguez
Address Redacted


Shannon Sinex
Address Redacted


Shannon Sportsman Club
Northwest Georgia Council 100
2270 Turkey Mountain Rd Ne
Rome, GA 30161


Shannon‐Shattuck Post 182
Connecticut Rivers Council, Bsa 066
244 N Granby Rd
Granby, CT 06035


Shari Austero
Address Redacted


Shari Godo
Address Redacted


Shark River Hills Fire Co
Monmouth Council, Bsa 347
200 Brighton Ave
Neptune, NJ 07753


Sharlene Adams
Address Redacted
Sharlene Riess
Address Redacted


Sharman Brisson
Address Redacted


Sharman Russ
Address Redacted


Sharnelia Jones
Address Redacted


Sharnise Adams
Address Redacted


Sharon Andrews
Address Redacted


Sharon Aycock
Address Redacted


Sharon Baptist Chruch
Last Frontier Council 480
19002 Gordon Cooper Dr
Shawnee, OK 74801


Sharon Baptist Church
Baltimore Area Council 220
P.O. Box 3785
1373 N Stricker St
Baltimore, MD 21217


Sharon Baptist Church
Last Frontier Council 480
19002 S Gordon Cooper Dr
Shawnee, OK 74801


Sharon Barnes
Address Redacted
Sharon Bartholomew
Address Redacted


Sharon Beverly
Address Redacted


Sharon Bishop
Address Redacted


Sharon Blevins
Address Redacted


Sharon Bretches
Address Redacted


Sharon Center Utd Methodist Church
Great Trail 433
P.O. Box 239
Sharon Center, OH 44274


Sharon Clairmont
Address Redacted


Sharon Clay
Address Redacted


Sharon Community Presbyterian Church
Laurel Highlands Council 527
522 Carnot Rd
Moon Township, PA 15108


Sharon Cone
Address Redacted


Sharon Congregational Church
Green Mountain 592
55 Vermont Route 132
P.O. Box 42
Sharon, VT 05065
Sharon Corder
Address Redacted


Sharon Crafton
Address Redacted


Sharon Curry
Address Redacted


Sharon Deman
Address Redacted


Sharon Denhart
Address Redacted


Sharon Doege
Address Redacted


Sharon Dotson
Address Redacted


Sharon Douglas
Address Redacted


Sharon Drake
Address Redacted


Sharon Elaine Beverly
Address Redacted


Sharon Elementary School
Buffalo Trace 156
7300 Sharon Rd
Newburgh, IN 47630


Sharon Fisher
Address Redacted
Sharon Fortenberry
Address Redacted


Sharon Fragale
Address Redacted


Sharon Gatenby
Address Redacted


Sharon Gates
Address Redacted


Sharon Graham
Address Redacted


Sharon Grant
Address Redacted


Sharon Grayned
Address Redacted


Sharon Hoffrogge
Address Redacted


Sharon Hughes
Address Redacted


Sharon Jackson
Address Redacted


Sharon Jimenez
Address Redacted


Sharon Jones
Address Redacted
Sharon Judd
Address Redacted


Sharon Kirby
Address Redacted


Sharon Kirk
Address Redacted


Sharon Kuroda
Address Redacted


Sharon Lander‐Defibaugh
Address Redacted


Sharon Larson
Address Redacted


Sharon Lohan
Address Redacted


Sharon Lutheran Church
Northern Lights Council 429
1720 S 20th St
Grand Forks, ND 58201


Sharon Lutheran Church
Susquehanna Council 533
120 S Market St
Selinsgrove, PA 17870


Sharon Martinez
Address Redacted


Sharon Mazariegos
Address Redacted


Sharon Mckee
Address Redacted
Sharon Merrill
Address Redacted


Sharon Moulds
Address Redacted


Sharon Muzzall
Address Redacted


Sharon Nail
Address Redacted


Sharon Nichols
Address Redacted


Sharon Partiss
Address Redacted


Sharon Peterson
Address Redacted


Sharon Presbyterian Church
Mecklenburg County Council 415
5201 Sharon Rd
Charlotte, NC 28210


Sharon Pyles
Address Redacted


Sharon R Latimer
Address Redacted


Sharon Roberts
Address Redacted


Sharon Rodgers
Address Redacted
Sharon Rolain
Address Redacted


Sharon Romano
Address Redacted


Sharon Rudolph
Address Redacted


Sharon Scarpino
Address Redacted


Sharon Schultz
Address Redacted


Sharon Sickels
Address Redacted


Sharon Siebels
Address Redacted


Sharon Smith
Address Redacted


Sharon Springs Rotary Club
Coronado Area Council 192
P.O. Box 400
Sharon Springs, KS 67758


Sharon Sutton
Address Redacted


Sharon Utd Methodist Church
Cape Fear Council 425
2030 Holden Beach Rd Sw
Supply, NC 28462
Sharon Utd Methodist Church
East Carolina Council 426
4061 Sharon Church Rd
Kinston, NC 28501


Sharon Utd Methodist Church
Greater St Louis Area Council 312
4363 W Center St
Decatur, IL 62522


Sharon Utd Methodist Church
Hawkeye Area Council 172
1809 9th St Sw
Cedar Rapids, IA 52404


Sharon Utd Methodist Church‐Mens
Old Hickory Council 427
5300 Shallowford Rd
Fellowship


Sharon Van Swol
Address Redacted


Sharon Villalobos
Address Redacted


Sharon Vincent
Address Redacted


Sharon Wampler
Address Redacted


Sharp Electronics Corp
Dept Ch 14180
Palatine, IL 60055‐4180


Sharp Park Academy PTO
Southern Shores Fsc 783
766 Park Rd
Jackson, MI 49203
Sharp Rees‐Steary Medical Group
P.O. Box 939088
San Diego, CA 92193


Sharper Brand, LLC
25 E 4th St
Frederick, MD 21701


Sharps Chapel Vol Fire Dept
Great Smoky Mountain Council 557
P.O. Box 83
Sharps Chapel, TN 37866


Sharptown Utd Methodist Church
Garden State Council 690
3 Chapel St
Pilesgrove, NJ 08098


Sharrod Mccree
Address Redacted


Shary Elementary PTO
Rio Grande Council 775
2300 N Glasscock Rd
Mission, TX 78574


Sharyl Emery
Address Redacted


Sharyn Dietmeier
Address Redacted


Shasta Co Sheriff S Explorers
Golden Empire Council 047
300 Park Marina Cir
Redding, CA 96001


Shasta Elementary School Boosters
Crater Lake Council 491
1951 Madison St
Klamath Falls, OR 97603


Shasta Scouting Supporters
Golden Empire Council 047
3619 Alma Ave
Redding, CA 96002


Shaun Bawden
Address Redacted


Shaun Caruana
Address Redacted


Shaun Donovan
Address Redacted


Shaun L Maxwell
Address Redacted


Shaun Nitschke
Address Redacted


Shaun Olynick
Address Redacted


Shauna Mullally
Address Redacted


Shaundra Bowen
Address Redacted


Shavertown Utd Methodist Church
Northeastern Pennsylvania Council 501
163 N Pioneer Ave
Shavertown, PA 18708


Shaw Temple Ame Zion Church
Atlanta Area Council 092
775 Hurt Rd Sw
Smyrna, GA 30082


Shaw Vpa Elementary School
Greater St Louis Area Council 312
5329 Columbia Ave
Saint Louis, MO 63139


Shawn Alan Mccauley
Address Redacted


Shawn Chamblee
Address Redacted


Shawn Clarke Bakken
Address Redacted


Shawn Connelly
Address Redacted


Shawn Costlow
Address Redacted


Shawn D Frehner Dvm
Las Vegas Area Council 328
7245 N Tenaya Way
Las Vegas, NV 89131


Shawn F Carroll
Address Redacted


Shawn Johnson
Address Redacted


Shawn Lee
Address Redacted


Shawn Long
Address Redacted
Shawn Loveless
Address Redacted


Shawn M Buchanan
Address Redacted


Shawn M Vanslooter
Address Redacted


Shawn Mcfarland
Address Redacted


Shawn Michael Pattison
Address Redacted


Shawn P Tunink
Address Redacted


Shawn Pelon
Address Redacted


Shawn Phillips
Address Redacted


Shawn Pierce
Address Redacted


Shawn Thornton
Address Redacted


Shawn Tiede
Address Redacted


Shawna Conklin
Address Redacted


Shawnee Alliance Church
Black Swamp Area Council 449
4455 Shawnee Rd
Lima, OH 45806


Shawnee Canning Co, Inc
P.O. Box 657
Cross Junction, VA 22625


Shawnee Community Christian Church
Heart of America Council 307
5340 Martindale Rd
Shawnee, KS 66218


Shawnee Farris
Address Redacted


Shawnee Heights Elementary PTO
Jayhawk Area Council 197
2410 SE Burton St
Topeka, KS 66605


Shawnee Heights Utd Methodist Church
Jayhawk Area Council 197
6020 SE 44th St
Tecumseh, KS 66542


Shawnee Mission UnitarianUniversalist Ch
Heart Of America Council 307
9400 Pflumm Rd
Lenexa, Ks 66215


Shawnee Police Dept
Last Frontier Council 480
16 W 9th St
Shawnee, OK 74801


Shawnee Presbyterian Church
Heart of America Council 307
6837 Nieman Rd
Shawnee, KS 66203
Shawnee Scouting Parents
Great Lakes Fsc 272
21555 Vesper Dr
Macomb, MI 48044


Shawnee Utd Methodist Church
Black Swamp Area Council 449
2600 Zurmehly Rd
Lima, OH 45806


Shawnee Utd Methodist Church
Heart of America Council 307
10700 Johnson Dr
Shawnee, KS 66203


Shawnee Volunteer Fire Co
Greater Niagara Frontier Council 380
3747 Lockport Rd
Sanborn, NY 14132


Shawquon Ruritan Club
Shenandoah Area Council 598
722 Minebank Rd
Middletown, VA 22645


ShawRuritan Club/Burnt Factory UMC
Shenandoah Area Council 598
1943 Jordan Springs Rd
Stephenson, VA 22656


Shawsville Ruritan Club
Blue Ridge Mtns Council 599
P.O. Box 310
Shawsville, VA 24162


Shay Realtors
San Diego Imperial Council 049
10550 Craftsman Way
San Diego, CA 92127


Shayla C Mcelyea
Address Redacted
Shayna Lohse
Address Redacted


Shear Ego Intl Sch Hair Design
Seneca Waterways 397
525 Titus Ave
Rochester, Ny 14617


Shear Water Book, Ltd
2525 NE 35th Ave
Portland, OR 97212‐5232


Shearith Israel Congregation
Baltimore Area Council 220
5835 Park Heights Ave
Baltimore, MD 21215


Sheas Youth Basketball Assoc
Cape Cod and Islands Cncl 224
141 Bassett Ln
Hyannis, MA 02601


Sheboygan County Sheriffs Office
Bay‐Lakes Council 635
Law Enforcement Center
526 N 6th St
Sheboygan, WI 53081


Sheboygan Yacht Club
Bay‐Lakes Council 635
214 Pennsylvania Ave
Sheboygan, WI 53081


Sheehan Buick Gmc Inc
2800 N Federal Hwy
Lighthouse Point, FL 33064


Sheehy Ware   Pappas PC
909 Fannin St, Ste 2500
Houston, TX 77010‐1008
Sheepscot Fish    Game
Katahdin Area Council 216
1392 Route 3
Palermo, ME 04354


Sheepscot Fish    Game Assoc   Malcolm
Katahdin Area Council 216
1392 Route 3
Palermo, ME 04354


Sheet Metal Wrkrs Local 36
Greater St Louis Area Council 312
301 S Ewing Ave
Saint Louis, MO 63103


Sheffield Lions Club
Chief Cornplanter Council, Bsa 538
Hc 1
4 S Main St
Sheffield, PA 16347


Sheffield Lions Club
Winnebago Council, Bsa 173
P.O. Box 556
Sheffield, IA 50475


Sheffield Utd Methodist Church
Chief Cornplanter Council, Bsa 538
P.O. Box 794
Sheffield, PA 16347


Sheila Debroux
Address Redacted


Sheila Floro
Address Redacted


Sheila Himes
Address Redacted
Sheila Lathrop
Address Redacted


Sheila M Wortman‐Kalhorn
Address Redacted


Sheila Martinez
Address Redacted


Sheila Remboldt
Address Redacted


Sheila Rushing
Address Redacted


Sheila Seale
Address Redacted


Sheila Senecal
Address Redacted


Sheila Skinner
Address Redacted


Sheila Von Koehe
Address Redacted


Sheila Whitehead
Address Redacted


Sheila Wortman‐Kalhorn
Address Redacted


Shelburne Grange 68
c/o Roland Giguere
Western Massachusetts Council 234
40 Little Mohawk Rd
Shelburne Leaders
Green Mountain 592
143 Summit Cir
Shelburne, VT 05482


Shelburne Middle School
Stonewall Jackson Council 763
300 Grubert Ave
Staunton, VA 24401


Shelburne‐Charlotte Rotary Club
Green Mountain 592
P.O. Box 156
Shelburne, VT 05482


Shelby Baptist Medical Center
Greater Alabama Council 001
1000 1st St N
Alabaster, AL 35007


Shelby C Perry
Address Redacted


Shelby Conder
Address Redacted


Shelby County Business Revenue Office
P.O. Box 800
Columbiana, AL 35051


Shelby County Clerks Office
Business Tax Div
150 Washington Ave, Ste 200
Memphis, TN 38103


Shelby County High School
Lincoln Heritage Council 205
1701 Frankfort Rd
Shelbyville, KY 40065
Shelby County Sheriff S Dept
Chickasaw Council 558
201 Poplar Ave
Memphis, TN 38103


Shelby County Trustee
P.O. Box 2751
Memphis, TN 38101‐2751


Shelby County Trustee‐ David Lenor
P.O. Box 2751
Memphis, TN 38101‐2751


Shelby D Avara
Address Redacted


Shelby Davis
Address Redacted


Shelby L Anderson
Address Redacted


Shelby N Knight
Address Redacted


Shelby Optimist Club
President Gerald R Ford 781
788 Industrial Park Dr
Shelby, MI 49455


Shelby Patch Co
3825 Hunt Club Court
Shelby Twp, MI 48316


Shelby Presbyterian Church
Piedmont Council 420
Dekalb   E Graham St
Shelby, NC 28150


Shelby Smith
Address Redacted


Shelbyville Boys   Girls Club
Crossroads of America 160
P.O. Box 57
Shelbyville, IN 46176


Shelbyville Central High School
Middle Tennessee Council 560
401 Eagle Blvd
Shelbyville, TN 37160


Shelbyville Optimist Club
Middle Tennessee Council 560
422 Dow Dr
Shelbyville, TN 37160


Shelbyville Rotary Club
Greater St Louis Area Council 312
200 S Cedar St
Shelbyville, IL 62565


Sheldon Johnson
Address Redacted


Sheldon Noon Kiwanis
Mid‐America Council 326
P.O. Box 277
Sheldon, IA 51201


Shelf Tag Supply
611 3rd Ave Sw
Carmel, IN 46032


Shelia Chisholm
Address Redacted


Shelia Eldredge
Address Redacted
Shelia Mcnutt
Address Redacted


Shelia Walters
Address Redacted


Shell
P.O. Box 6406
Sioux Falls, SD 57117‐6406


Shell
P.O. Box 78012
Phoenix, AZ 85062‐8012


Shell Fleet Mgmt
Processing Ctr
P.O. Box 689010
Des Moines, IA 50368‐9010


Shell Fleet Processing Center
P.O. Box 183019
Columbus, OH 43218‐3019


Shell Lake Lions Club
Chippewa Valley Council 637
823 Burgs Park Dr
Shell Lake, WI 54871


Shell Lake Masonic Lodge 221
Chippewa Valley Council 637
General Delivery
Shell Lake, WI 54871


Shell Of Summerland
24838 Overseas Hwy
Summerland Key, FL 33042


Shell Point Baptist Church
Coastal Carolina Council 550
871 Parris Island Gtwy
Beaufort, SC 29906
Shell Rock Utd Methodist Church
Winnebago Council, Bsa 173
204 W S St
Shell Rock, IA 50670


Shelley Ancira
Address Redacted


Shelley Caldwell
Address Redacted


Shelley Corry
Address Redacted


Shelley Elaine Miklas
Address Redacted


Shelley Hill
Address Redacted


Shelley Lewis
Address Redacted


Shelley Lynn O Neill
Address Redacted


Shelley Miklas
Address Redacted


Shelley O Hern
Address Redacted


Shelley O Neill
Address Redacted


Shelley Staudinger
Address Redacted
Shellsburg Vol Fire Dept
Hawkeye Area Council 172
P.O. Box 162
Shellsburg, IA 52332


Shelly Hunsanger
Address Redacted


Shelly Long
Address Redacted


Shelly Rucks
Address Redacted


Shelly Webb
Address Redacted


Shelocta Community Utd Presbyterian
Laurel Highlands Council 527
P.O. Box 177
Shelocta, PA 15774


Shelter Bay Marine Inc
77 Coco Plum Dr
Marathon, FL 33050


Shelter Of Flint
Water and Woods Council 782
924 Cedar St
Flint, MI 48503


Shelter Rock Church
Theodore Roosevelt Council 386
178 Cold Spring Rd
Syosset, NY 11791


Sheltered Wings Inc
dba Vortex Optics
1 Vortex Dr
Barneveld, WI 53507


Shelton Kiwanis Club
Pacific Harbors Council, Bsa 612
P.O. Box 477
Shelton, WA 98584


Shelton Signs
P.O. Box 273
Bradley, WV 25818


Shemekia M Dunlap
Address Redacted


Shenandoah Area
107 Youth Development Ct
Winchester, VA 22602‐2430


Shenandoah Area Cncl 598
107 Youth Development Ct
Winchester, VA 22602‐2425


Shenandoah Area Council
107 Youth Development Ct
Winchester, VA 22602‐2425


Shenandoah University
Attn   Business Office
1460 University Dr
Winchester, VA 22601


Shenandoah Valley School PTO
Greater St Louis Area Council 312
15399 Appalachian Trl
Chesterfield, MO 63017


Shenderovich, Shenderovich
Fisherman Pc
429 4th Ave, Ste 1100
Pittsburgh, PA 15219
Shenendehowa Utd Methodist Church
Twin Rivers Council 364
971 Route 146
Clifton Park, NY 12065


Sheniece Lashay Chappell
Address Redacted


Shentel
500 Shentel Way
Edinburg, VA 22824


Shentel
P.O. Box 37014
Baltimore, MD 21297‐3014


Shentel Communications, LLC
500 Shentel Way
P.O. Box 459
Edinburg, VA 22824


Shepard Blvd Parent Teacher Student Assn
Great Rivers Council 653
2616 Shepard Blvd
Columbia, MO 65201


Shepard Exposition Services Inc
1424 Hills Pl Nw
Atlanta, GA 30318


Shepaul Enterprises Inc
P.O. Box 1638
Beckley, WV 25802


Shepherd Community Center
Crossroads of America 160
4107 E Washington St
Indianapolis, IN 46201


Shepherd Of The Desert Lutheran Church
California Inland Empire Council 045
1301 E Mountain View St
Barstow, CA 92311


Shepherd Of The Desert Lutheran Church
Grand Canyon Council 010
9590 E Shea Blvd
Scottsdale, AZ 85260


Shepherd Of The Hill Organ Fund
925 E 9th St
Lockport, IL 60441‐3237


Shepherd Of The Hill Presbyterian Church
Northern Star Council 250
145 Engler Blvd
Chaska, MN 55318


Shepherd Of The Hill Presbyterian Church
Pacific Harbors Council, Bsa 612
8401 112th St E
Puyallup, WA 98373


Shepherd Of The Hills
Northeast Georgia Council 101
823 Forge Mill Rd
Morganton, GA 30560


Shepherd Of The Hills Church
Cradle of Liberty Council 525
527 Hoffmansville Rd
Bechtelsville, PA 19505


Shepherd Of The Hills Lutheran Church
Buffalo Trace 156
3600 Oak Hill Rd
Evansville, IN 47711


Shepherd Of The Hills Lutheran Church
California Inland Empire Council 045
6080 Haven Ave
Rancho Cucamonga, CA 91737
Shepherd Of The Hills Lutheran Church
Capitol Area Council 564
3525 Bee Caves Rd
West Lake Hills, TX 78746


Shepherd Of The Hills Lutheran Church
Longs Peak Council 062
1200 S Taft Hill Rd
Fort Collins, CO 80521


Shepherd Of The Hills Lutheran Church
Longs Peak Council 062
7077 Harvest Rd
Boulder, CO 80301


Shepherd Of The Hills Lutheran Church
Minsi Trails Council 502
4331 Main St
Whitehall, PA 18052


Shepherd Of The Hills Lutheran Church
National Capital Area Council 082
4090 Sudley Rd
Haymarket, VA 20169


Shepherd Of The Hills Lutheran Church
Northern Star Council 250
3920 Victoria St N
Shoreview, MN 55126


Shepherd Of The Hills Lutheran Church
Northern Star Council 250
500 Blake Rd S
Hopkins, MN 55343


Shepherd Of The Hills Utd Methodist
Greater Los Angeles Area 033
333 S Garfield Ave
Monterey Park, CA 91754
Shepherd Of The Lakes Lutheran Church
Great Lakes Fsc 272
2905 S Commerce Rd
Wolverine Lake, MI 48390


Shepherd Of The Lakes Lutheran Church
Northeast Illinois 129
285 E Washington St
Grayslake, IL 60030


Shepherd Of The Pines Lutheran Church
Grand Canyon Council 010
507 W Wade Ln
Payson, AZ 85541


Shepherd Of The Pines Utd Methodist
Grand Canyon Council 010
P.O. Box 1402
Overgaard, AZ 85933


Shepherd Of The Prairie
Northern Lights Council 429
6151 25th St S
Fargo, ND 58104


Shepherd Of The Prairie Lutheran Church
Blackhawk Area 660
10805 Main St
Huntley, IL 60142


Shepherd Of The Valley Lutheran
W.L.A.C.C. 051
23838 Kittridge St
West Hills, CA 91307


Shepherd Of The Valley Lutheran Church
California Inland Empire Council 045
11650 Perris Blvd
Moreno Valley, CA 92557


Shepherd Of The Valley Lutheran Church
Chief Seattle Council 609
23855 SE 216th St
Maple Valley, WA 98038


Shepherd Of The Valley Lutheran Church
Northern Star Council 250
12650 Johnny Cake Ridge Rd
Apple Valley, MN 55124


Shepherd Of The Woods Lutheran Church
North Florida Council 087
7860 Sside Blvd
Jacksonville, FL 32256


Shepherd Road Presbyterian Church
Greater Tampa Bay Area 089
1217 Shepherd Rd
Lakeland, FL 33811


Shepherd Rotary Club
Water and Woods Council 782
107 W Wright Ave
Shepherd, MI 48883


Shepherd S Table
Northern Lights Council 429
2517 9th Ave W
Williston, ND 58801


Shepherd, Heart Utd Methodist Ch
Bay Area Council 574
12005 County Rd 59
Pearland, Tx 77584


Shepherd, Hills Presbyterian Ch
Denver Area Council 061
11500 W 20Th Ave
Lakewood, Co 80215


Shepherd, Hills Presbyterian Ch     Pcusa
Capitol Area Council 564
5226 W William Cannon Dr
Austin, Tx 78749
Shepherd, Hills Utd Methodist Ch
Orange County Council 039
26001 Muirlands Blvd
Mission Viejo, Ca 92691


Shepherd, Vly Utd Methodist Ch
Narragansett 546
604 Seven Mile Rd
Hope, Ri 02831


Shepherdstown Elementary School PTA‐Sea
Shenandoah Area Council 598
662 S Church St
Shepherdstown, WV 25443


Sheppard Home And School Assoc
Cradle of Liberty Council 525
120 W Cambria St
Philadelphia, PA 19133


Sher Corwin Winters LLC
190 Carondelet Plaza, Ste 1100
St Louis, MO 63105


Sheraton Annapolis Hotel
173 Jennifer Rd
Annapolis, MD 21401


Sheraton Birmingham Hotel
2101 Richard Arrington Jr. Blvd
Birmingham, AL 35203


Sheraton Brookhollow Hotels      Resorts
3000 N Loop W
Houston, TX 77092


Sheraton Colonial Hotel
One Audubon Rd
Wakefield, MA 01880
Sheraton Dallas Hotel
W2007 Mvp Dallas LLC
400 N Olive St
Dallas, TX 75201


Sheraton Dfw Airport Hotel Inc
4440 John Carpenter Fwy
Irving, TX 75063‐2927


Sheraton Grand Hotel Dfw
4440 W John Carpenter Frwy
Irving, TX 75063


Sheraton Gunter Hotel
205 E Houston St
San Antonio, TX 78205


Sheraton Miami Airport Hotel And
Executive Meeting Ctr Corp
3900 NW 21st St
Miami, FL 33142


Sheraton Ontario Airport
429 N Vineyard Ave
Ontario, CA 91764


Sheraton Panama Hotel   Convention Cntr
Isreal Ave   77th St
Panama City, 0819‐05896
Panama


Sheraton Read House Hotel Chattanooga
827 Broad St
Chattanooga, TN 37402


Sheraton Sand Key Resort
1160 Gulf Blvd
Clearwater Beach, FL 33767


Sheraton Seattle Hotel     Towers
Dept 320, P.O. Box 34935
Seattle, WA 98124


Sheraton Tucson Hotel      Stes
Michele Hatch
5151 E Grant Rd
Tucson, AZ 85712


Sheraton Westport Hotel
P.O. Box 790379
St Louis, MO 63179


Sheratondallas
400 S Olive St
Dallas, TX 75201


Sherborn Fire Rescue Assoc
Mayflower Council 251
22 N Main St
Sherborn, MA 01770


Sherburn American Legion Post 356
Twin Valley Council Bsa 283
18 N Osborne St
Sherburn, MN 56171


Sherburne Fire Dept   Emergency Squad
Baden‐Powell Council 368
15 W State St
Sherburne, NY 13460


Sherburne Rotary Club
Baden‐Powell Council 368
P.O. Box 449
Earlville, NY 13332


Sheri Dirkse
Address Redacted


Sheri Foster‐Theurer
Address Redacted
Sheri Gohmann
Address Redacted


Sheri Greenlee
Address Redacted


Sheri Hooper
Address Redacted


Sheri Reading
Address Redacted


Sheri Rodgers
Address Redacted


Sheridan Books Inc
P.O. Box 419823
Boston, MA 02241‐9823


Sheridan College
Attn Student Accounts
P.O. Box 1500
Sheridan, WY 82801


Sheridan Electric
Greater Wyoming Council 638
603 Huntington St
Sheridan, WY 82801


Sheridan Hill Elementary School PTO
Greater Niagara Frontier Council 380
4560 Boncrest Dr E
Williamsville, NY 14221


Sheridan Lutheran Church
Cornhusker Council 324
6955 Old Cheney Rd
Lincoln, NE 68516
Sheridan P Davis
Address Redacted


Sheridan Rotary Club
Quapaw Area Council 018
P.O. Box 459
Sheridan, AR 72150


Sheridan Terrace Elementary
Westmoreland Fayette 512
1219 Morris St
North Huntingdon, PA 15642


Sheriff   Treasurer Of Fayette County
P.O. Box 509
Fayetteville, WV 25840


Sheriff ‐ Bonneville Cty Sheriff Dept
Grand Teton Council 107
605 N Capital Ave
Idaho Falls, ID 83402


Sheriff Of Fayette County
P.O. Box 509
Fayetteville, WV 25840


Sheriff S Reserve
Shenandoah Area Council 598
102 Industrial Blvd, Ste 100
Kearneysville, WV 25430


Sherly Clarke
Address Redacted


Sherman   Howard, LLC
633 Seventeenth St, Ste 3000
Denver, CO 80202


Sherman Ave Utd Methodist Church
Glaciers Edge Council 620
3705 N Sherman Ave
Madison, WI 53704


Sherman Clc
Three Harbors Council 636
5110 W Locust St
Milwaukee, WI 53210


Sherman Community Church
Allegheny Highlands Council 382
107 Church St
Sherman, NY 14781


Sherman Oaks Utd Methodist Church
W.L.A.C.C. 051
14401 Dickens St
Sherman Oaks, CA 91423


Sherman Steering Committee
Chippewa Valley Council 637
3110 Vine St
Eau Claire, WI 54703


Sherman Utd Methodist Church
Abraham Lincoln Council 144
2336 E Andrew Rd
Sherman, IL 62684


Sherman Volunteer Fire Dept
Connecticut Yankee Council Bsa 072
1 Route 39 N
Sherman, CT 06784


Shermans Dale Lions Club
New Birth of Freedom 544
P.O. Box 76
429 Dark Hollow Rd
Shermans Dale, PA 17090


Shermeta, Adams   Von Allmen, PC
P.O. Box 5016
Rochester, MI 48308
Sheron Harder
Address Redacted


Sherpa Holdings LLC
dba Sherpa Adventure Gear
4335 N Star Way, Bldg D
Modesto, CA 95356


Sherpers, Inc
5750 S 108th St
Hales Corner, WI 53130


Sherrard Fire Dept
Illowa Council 133
101 E 1st St
Sherrard, IL 61281


Sherri Diels
Address Redacted


Sherri Duyka
Address Redacted


Sherri Huff
Address Redacted


Sherri Kelley
Address Redacted


Sherri Moore
Address Redacted


Sherri Talbot
Address Redacted


Sherrie Hardesty
Address Redacted
Sherrie Houghtaling
Address Redacted


Sherrill Inc
496 Gallimore Dairy Rd, Ste D
Greensboro, NC 27409


Sherrill, Inc
200 Seneca Rd
Greensboro, NC 27406


Sherrills Ford Lions Club
Piedmont Council 420
8089 Sherrills Ford Rd
Sherrills Ford, NC 28673


Sherrilynn Wood
Address Redacted


Sherrisa Kelsey
Address Redacted


Sherron Whitesell
Address Redacted


Sherry A Johnson
Address Redacted


Sherry A Mcfall
Address Redacted


Sherry Baldwin
Address Redacted


Sherry Beck
Address Redacted


Sherry Bowden
Address Redacted


Sherry Burns
Address Redacted


Sherry Burton
Address Redacted


Sherry Cole
Address Redacted


Sherry Dolline Glenn
Address Redacted


Sherry Fritz
Address Redacted


Sherry Garcia
Address Redacted


Sherry Glenn
Address Redacted


Sherry Hamilton
Address Redacted


Sherry Lee
Address Redacted


Sherry Leggett
Address Redacted


Sherry Lovett
Address Redacted


Sherry Marshall
Address Redacted
Sherry Matthews, Inc
200 S Congress Ave
Austin, TX 78704


Sherry Miller‐Martinez
Address Redacted


Sherry Oden
Address Redacted


Sherry Pace
Address Redacted


Sherry Rakes
Address Redacted


Sherry Savidge
Address Redacted


Sherry Webb
Address Redacted


Sherryl Johnson
Address Redacted


Sherwin Williams Co
25 By Pass Plaza Shpg Ctr
Beckley, WV 25801‐2209


Sherwood Elementary School
Central Florida Council 083
2541 Post Rd
Melbourne, FL 32935


Sherwood Elks Lodge 2342
Cascade Pacific Council 492
P.O. Box 71
Sherwood, OR 97140
Sherwood Oaks Christian Church
Hoosier Trails Council 145 145
2700 E Rogers Rd
Bloomington, IN 47401


Sherwood Obermeyer Jr
Address Redacted


Sherwood Police Dept
Quapaw Area Council 018
2201 E Kiehl Ave
Sherwood, AR 72120


Sheryl Brady
Address Redacted


Sheryl Decker
Address Redacted


Sheryl Edwards
Address Redacted


Sheryl Hood
Address Redacted


Sheryl L Kostelnik
Address Redacted


Sheryl Mcbride
Address Redacted


Sheryl Nissen
Address Redacted


Sheryl Unruh
Address Redacted


Shetek Lutheran Ministries
Sioux Council 733
14 Keeley Island Dr
Slayton, MN 56172


Shettler School Ptc
President Gerald R Ford 781
2187 Shettler Rd
Muskegon, MI 49444


Shevells
30 E 3rd S
Snowflake, AZ 85937


Shi International Corp
P.O. Box 952121
Dallas, TX 75395‐2121


Shia Imami Ismaili
Circle Ten Council 571
1400 Ismaili Center Cir
Carrollton, TX 75006


Shia Imami Ismaili
Longhorn Council 662
700 E Harwood Rd
Euless, TX 76039


Shia Imami Ismaili Boy Scout Group
Pathway To Adventure 456
1124 W Rosemont Ave
Chicago, IL 60660


Shia Imami Ismaili Council ‐ Southwest
Capitol Area Council 564
3912 Tranquil Ln
Austin, TX 78728


Shia Imami Ismailia
Circle Ten Council 571
1400 Ismaili Center Cir
Carrollton, TX 75006
Shianna Brandt
Address Redacted


Shidoni Foundry, Inc
P.O. Box 250
Tesuque, NM 87574


Shields Lions Club
Water and Woods Council 782
1132 Sue St
Saginaw, MI 48609


Shields Survey Ltd Co
P.O. Box 639
Raton, NM 87740


Shift 4 Corp
1491 Ctr Crossing Rd
Las Vegas, NV 89144


Shiloah Baptist Church
Pathway To Adventure 456
9211 S Justine St
Chicago, IL 60620


Shiloh Ame Church
Greater St Louis Area Council 312
815 S 19th St
East Saint Louis, IL 62207


Shiloh Baptist Church
Calcasieu Area Council 209
1253 Mitchell Harper Rd
Deridder, LA 70634


Shiloh Baptist Church
Central Florida Council 083
580 W Jackson St
Orlando, FL 32805
Shiloh Baptist Church
Central N Carolina Council 416
2301 N Rocky River Rd
Monroe, NC 28110


Shiloh Baptist Church
Istrouma Area Council 211
185 Eddie Robinson Sr Dr
Baton Rouge, LA 70802


Shiloh Baptist Church
National Capital Area Council 082
1500 9th St Nw
Washington, DC 20001


Shiloh Baptist Church
National Capital Area Council 082
801 Sophia St
Fredericksburg, VA 22401


Shiloh Baptist Church
Tidewater Council 596
952 Nc Hwy 343 S
Shiloh, NC 27974


Shiloh Chapel
Pine Tree Council 218
38 Beulah Ln
Durham, ME 04222


Shiloh Christian School
Northern Lights Council 429
1915 Shiloh Dr
Bismarck, ND 58503


Shiloh Church Of God Of Prophecy
Middle Tennessee Council 560
8997 Old Kentucky Rd
Sparta, TN 38583


Shiloh Cumberland Presbyterian Church
Sequoyah Council 713
1121 Shiloh Rd
Greeneville, TN 37745


Shiloh Fire Co
New Birth of Freedom 544
2190 Carlisle Rd
York, PA 17408


Shiloh High School
Northeast Georgia Council 101
4210 Shiloh Rd
Lithonia, GA 30058


Shiloh Home Inc
Denver Area Council 061
6350 W Coal Mine Ave
Littleton, CO 80123


Shiloh House Inc
Denver Area Council 061
6588 W Ottawa Ave
Littleton, CO 80128


Shiloh Lions Club
New Birth of Freedom 544
2190 Carlisle Rd
York, PA 17408


Shiloh Memorial Baptist Church
Caddo Area Council 584
125 Private Rd 1169
Texarkana, AR 71854


Shiloh Memorial Baptist Church
Caddo Area Council 584
9143 Hwy 82
Texarkana, AR 71854


Shiloh Methodist Church
Old N State Council 070
943 N Nc Hwy 150
Lexington, NC 27295
Shiloh Old Site Baptist Church
National Capital Area Council 082
801 Sophia St
Fredericksburg, VA 22401


Shiloh Presbyterian Church
Old N State Council 070
2638 Grand Oaks Blvd
Burlington, NC 27215


Shiloh Tire   Lube
91825 Overseas Hwy
Tavernier, FL 33070


Shiloh Umc
Greater St Louis Area Council 312
210 S Main St
Shiloh, IL 62269


Shiloh Umc
Montana Council 315
1810 Shiloh Rd
Billings, MT 59106


Shiloh Untied Methodist Church
Central N Carolina Council 416
P.O. Box 315
Granite Quarry, NC 28072


Shiloh Utd Methodist
Yocona Area Council 748
1704 Shiloh Rd
Mantachie, MS 38855


Shiloh Utd Methodist Church
Atlanta Area Council 092
1874 Burwell Rd
Carrollton, GA 30117


Shiloh Utd Methodist Church
Central N Carolina Council 416
234 S Main St
Granite Quarry, NC 28072


Shiloh Utd Methodist Church
Central N Carolina Council 416
4149 Odell School Rd
Concord, NC 28027


Shiloh Utd Methodist Church
Dan Beard Council, Bsa 438
5261 Foley Rd
Cincinnati, OH 45238


Shiloh Utd Methodist Church
Lincoln Heritage Council 205
9611 W Hwy 42
Goshen, KY 40026


Shiloh Utd Methodist Church
Old N State Council 070
4718 N Nc Hwy 87
Gibsonville, NC 27249


Shiner Businessmen S Club
Capitol Area Council 564
771 County Rd 281
Shiner, TX 77984


Shiner Law Group Pa
951 Yamato Rd, Ste 210
Boca Raton, FL 33431


Shinglehouse Vol Fire Co
Allegheny Highlands Council 382
P.O. Box 475
121 S Puritan St
Shinglehouse, PA 16748


Shingletown Parents Of Scouts
Golden Empire Council 047
7752 Ponderson Way
Shingletown, CA 96088


Shinnston First Baptist Church
Mountaineer Area 615
70 Rebecca St
Shinnston, WV 26431


Ship 228 Bsa
927 Madison Ave
Elizabeth, NJ 07201


Ship 87 Inc
W.L.A.C.C. 051
5430 W 141st St
Hawthorne, CA 90250


Ship Operations Cooperative Program Corp
23112 NE 144th St
Woodinville, WA 98077


Shipman   Goodwin Llp
Attn Abigail W. Williams
Attn Joshua D. Weinberg
1875 K St Nw, Ste 600
Washington, DC 20006‐1251


Shipman   Goodwin Llp
Attn Eric S. Goldstein
1 Constitution Plz
Hartford, CT 06103‐1919


Shippensburg Lions Club
New Birth of Freedom 544
420 Baltimore Rd
Shippensburg, PA 17257


Shippensburg University Of Pennsylvania
1871 Old Main Dr
Shippensburg, PA 17257


Ships Store
2100 W Hwy 12
Lodi, CA 95242


Shipwreck Beads, Inc
8560 Commerce Pl Dr Ne
Lacey, WA 98516‐1327


Shipyard Center LLC 900 Bldg
234 N James St
Newport, DE 19804


Shirlee Coffman
Address Redacted


Shirley Ann Thomas
Address Redacted


Shirley B Carter Vfw Post 4298
Katahdin Area Council 216
Cedar St
Dexter, ME 04930


Shirley B Culvern
Address Redacted


Shirley Balfour
Address Redacted


Shirley Barnett
Address Redacted


Shirley Blackman
Address Redacted


Shirley Blakeman‐Katz
Address Redacted


Shirley Briggs
Address Redacted
Shirley Burrows
Address Redacted


Shirley Cartwright
Address Redacted


Shirley Dembowski
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Shirley Drummonds
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Shirley Drury
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Shirley Eisenhauer
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Shirley Fowler
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Shirley Freeman
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Shirley Giger
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Shirley Giles
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Shirley Halbig
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Shirley Hermann
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Shirley Jackson
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Shirley Jeanne Cartwright
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Shirley Jefferson
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Shirley Keyser
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Shirley Knepp
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Shirley Kurtz
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Shirley Levitt
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Shirley Linn
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Shirley M Brandt
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Shirley M Espinoza
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Shirley Marino
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Shirley Mclauthlin
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Shirley Meyer
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Shirley Moore
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Shirley Neiderhiser
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Shirley Persinger
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Shirley Piatt
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Shirley Rhone
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Shirley Sanders
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Shirley Seguin
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Shirley Sessoms
Address Redacted


Shirley Simmons‐Council
Address Redacted


Shirley Sullivan
Address Redacted


Shirley Surrell
Address Redacted


Shirley Thorp
Address Redacted
Shirley Vella
Address Redacted


Shirley Warehime
Address Redacted


Shirley Winn
Address Redacted


Shirley Winter
Address Redacted


Shirley‐Fuel   Gas Co Inc
Heart of New England Council 230
P.O. Box 1
Shirley, MA 01464


Shirley‐Rod   Gun Club Inc
Heart of New England Council 230
P.O. Box 327
Shirley, MA 01464


Shirley‐United Church Of Shirley
Heart of New England Council 230
Lancaster Rd
Shirley, MA 01464


Shirlon Carroll‐Martin
Address Redacted


Shirts   Caps
38530 5th Ave
Zephyrhills, FL 33542


Shirts T Go
3005 Howell St, Ste 115
Arlington, TX 76010


Shirts T Go
3407 Dalworth St
Arlington, TX 76011


Shirts To Go
3407 Dalworth St
Arlington, TX 76011


Shl Us Inc
P.O. Box 512641
Philadelphia, PA 19175‐2641


Shoal Creek Assoc
Heart of America Council 307
7000 NE Barry Rd
Kansas City, MO 64156


Shoal Creek Baptist Church
Atlanta Area Council 092
4967 Fincher Rd
Canton, GA 30114


Shoal Creek Community Church
Heart of America Council 307
6816 N Church Rd
Pleasant Valley, MO 64068


Shoco Inc
2056 E Dixon Blvd
P.O. Box 1825
Shelby, NC 28152


Shoe Box
319 W Main St
Covington, VA 24426


Shoffner Kalthoff Mes
Great Smoky Mountain Council 557


Shon Ostler
Address Redacted
Shongum Mt Volunteer Fire Assoc
Patriots Path Council 358
1 Arrow Pl
Randolph, NJ 07869


Shoot Right
Grand Canyon Council 010
2303 N 44th St, Ste 14‐1514
Phoenix, AZ 85008


Shooting Academy LLC
11349 N 117th Way
Scottsdale, AZ 85259


Shopify Usa Inc
33 New Montgomery St, Ste 750
San Francisco, CA 94105


Shore Hills Citizens Committee
Patriots Path Council 358
64 Vail Rd
Landing, NJ 07850


Shore Memorial Health System
Jersey Shore Council 341
100 Medical Center Way
Somers Point, NJ 08244


Shorecrest Preparatory School
Greater Tampa Bay Area 089
5101 1st St Ne
Saint Petersburg, FL 33703


Shoreham Fire Co
Suffolk County Council Inc 404
5 Tesla St, Route 25A
Shoreham, NY 11786


Shorewood Senior Campus
Gamehaven 299
2115 2nd St Sw
Rochester, MN 55902
Shorter College
Quapaw Area Council 018
604 N Locust St
North Little Rock, AR 72114


Shortlidge Elementary
Del Mar Va 081
100 W 18th St
Wilmington, DE 19802


Shortridge High School
Crossroads of America 160


Shoshone Paiute Tribes Fire Dept
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 220
Owyhee, NV 89832


Shoshone Ward ‐ Carey Stake
Snake River Council 111
904 S Greenwood St
Shoshone, ID 83352


Shot By Somi Studios
Coastal Georgia Council 099
14045 Abercorn St, Ste 1610
Savannah, GA 31419


Show Imaging Inc
2438 Cades Way
Vista, CA 92081


Show Your Logo
420 Treasure Dr
Oswego, IL 60543


Showcare Event Solutions Corp
1200 G St Nm, Ste 800
Washington, DC 20005‐6705
Showcare Event Solutions Corp
550‐5524 St Patrick St
Montreal, QC H4E 1A8
Canada


Showcase Productions Inc
140 Parkhouse
Dallas, TX 75207


Showtech Productions Inc
1209 E Ave J
Grand Prairie, TX 75050


Showtime Golf
1574 Piedmont St
Chula Vista, CA 91913


Showtrends
P.O. Box 622
Ansted, WV 25812


Shradhanand S Rajnalkar
Address Redacted


Shred‐It Usa LLC
28161 N Keith Dr
Lake Forest, IL 60045


Shred‐It Usa LLC
28883 Network Pl
Chicago, IL 60673‐1288


Shreemay Community Services
Silicon Valley Monterey Bay 055
25 Corning Ave
Milpitas, CA 95035


Shreve Utd Methodist Church
Buckeye Council 436
430 N Main St
Shreve, OH 44676


Shrevewood PTA
National Capital Area Council 082
7525 Shreve Rd
Falls Church, VA 22043


Shrewd Arts
914 Mohawk
Columbus, OH 43206


Shrewsbury
American Legion Ray Stone Post 238
Heart Of New England Council 230
2 School St
Shrewsbury, Ma 01545


Shrewsbury
St Marys Roman Catholic Church
Heart Of New England Council 230
18 Summer St
Shrewsbury, Ma 01545


Shrewsbury ‐ First Congregational Church
Heart of New England Council 230
19 Church Rd
Shrewsbury, MA 01545


Shrewsbury ‐ Ray Stone Post 238 Al
Heart of New England Council 230
2 School St
Shrewsbury, MA 01545


Shrewsbury ‐ St Anne Roman Catholic
Heart of New England Council 230
130 Boston Tpke
Shrewsbury, MA 01545


Shrine Church Of St Gerard Majella
Greater New York Councils, Bsa 640
188 16 91st Ave
Hollis, NY 11423
Shrine Of St Anne S Mens Club
Denver Area Council 061
7555 Grant Pl
Arvada, CO 80002


Shrine Of The Little Flower Parish
Great Lakes Fsc 272
2100 W 12 Mile Rd
Royal Oak, MI 48073


Shrine Of The Most Blessed Sacrament
National Capital Area Council 082
3630 Quesada St Nw
Washington, DC 20015


Shriners Hospitals For Children
Office of Development
2900 Rocky Point Dr
Tampa, FL 33607


Shriver Bros Electric
1151 Wild Rose Dr
Mustang, OK 73064


Shrm
1800 Duke St
Alexandria, MD 22314‐3499


Shrm
P.O. Box 79482
Baltimore, MD 21279‐0482


Shrm ‐ 005
P.O. Box 79428
Baltimore, MD 21279‐4082


Shrm Distribution Center
2975 Lone Oak Dr, Ste 180
Eagan, MN 55121‐1553
Shs Hanley Lodging LLC
dba Springhill, Ste S St Louis Brentwood
1231 Strassner Dr
Brentwood, MO 63144


Shueyville Utd Methodist Church
Hawkeye Area Council 172
1195 Steeple Ln Ne
Swisher, IA 52338


Shuler Elementary PTO
Mid Iowa Council 177
16400 Douglas Pkwy
Clive, IA 50325


Shullsburg Fire Dept
Blackhawk Area 660
330 W Water St
Shullsburg, WI 53586


Shultz Engineering Group PC
212 N Mcdowell St, Ste 204
Charlotte, NC 28204


Shuman Elementary School
Coastal Georgia Council 099
415 Goebel Ave
Savannah, GA 31404


Shupe Ventura Lindlow     Olson PLLC
9406 Biscayne Blvd
Dallas, TX 75218


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Palm Coast, FL 32142‐1191


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New York, NY 10004
Shutterstock Images, LLC
60 Broad St, 30th FL
New York, NY 10004


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350 5th Ave, 21st Fl
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Shutterstock Inc
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Dept Ch 19763
Palatine, IL 60055‐9763


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Palatine, IL 60055‐7445


Shwaiko, Inc
Dba Indigo Gallery
2584‐D Hwy 14
Madrid, NM 87010


Sibley Loop
President Gerald R Ford 781
943 Sibley St Nw
Grand Rapids, MI 49504


Sick Sounds
Southern Shores Fsc 783
2445 Curtis Rd
Adrian, MI 49221


Sicklerville Utd Methodist Church
Garden State Council 690
406 Church Rd
Sicklerville, NJ 08081


Sid Baker
Address Redacted
Sid Dillon Chevrolet
Mid‐America Council 326
South Hwy 30
Blair, NE 68008


Side Creek Student Council
Denver Area Council 061
19191 E Iliff Ave
Aurora, CO 80013


Sidelines, Incorporated
6180 S Ivy St
Centennial, CO 80111


Sidley Austin Llp
Attn Matthew E Linder
1 S Dearborn
Chicago, IL 60603


Sidley Austin LLP
One S Dearborn
Chicago, IL 60603


Sidney Baptist Church
Texas Trails Council 561
151 County Rd 165
Sidney, TX 76474


Sidney Castillo
Address Redacted


Sidney Cecil Moore Jr
Address Redacted


Sidney Davis
Address Redacted


Sidney Health Center
Montana Council 315
216 14th Ave Sw
Sidney, MT 59270
Sidney Home Co
Miami Valley Council, Bsa 444
1300 4th Ave
Sidney, OH 45365


Sidney Larson
Address Redacted


Sidney Lee Welding Supply Inc
Flint River Council 095
P.O. Box 429
Hampton, GA 30228


Sidney Monroe Jr
Address Redacted


Sidney Stewart
Address Redacted


Sidney Utd Methodist Church
Leatherstocking 400
12 Liberty St
Sidney, NY 13838


Siebert S Inc
P.O. Box 417
Jasper, IN 47547‐0417


Siefert Boys   Girls Club
Three Harbors Council 636
1547 N 14th St
Milwaukee, WI 53205


Siefert Clc
Three Harbors Council 636
1547 N 14th St
Milwaukee, WI 53205


Siegel Display Products Inc
300 6th Ave N, Ste 200
Minneapolis, MN 55401


Sienna Plantation Foundation
Sam Houston Area Council 576
9600 Scanlan Trce
Missouri City, TX 77459


Sierra Communications
193 Board St
Bangor, ME 04401


Sierra Communications, Inc
P.O. Box 67
Des Moines, NM 88418‐0067


Sierra D Reynolds
Address Redacted


Sierra Designs
P.O. Box 1992
P.O. Box 8500‐1992
Philadelphia, PA 19178‐1992


Sierra Elementary PTO
Grand Canyon Council 010
1122 E Liberty Ln
Phoenix, AZ 85048


Sierra Fisher
Address Redacted


Sierra Grace Fellowship
Golden Empire Council 047
1260 Wesley Ln
Auburn, CA 95603


Sierra Mint LLC
P.O. Box 1133
Woodinville, WA 98072‐1133
Sierra Osage Treatment Center
Greater St Louis Area Council 312
9200 Sierra Osage Cir
Poplar Bluff, MO 63901


Sierra Pines Utd Methodist Church
Golden Empire Council 047
22559 W Hacienda Dr
Grass Valley, CA 95949


Sierra Trading Post
5025 Campstool Rd
Cheyenne, WY 82007


Sierra Vista Presbyterian Church
Grand Canyon Council 010
150 W 28th St
Yuma, AZ 85364


Sierra Vista Presbyterian Church
Sequoia Council 027
P.O. Box 2403
39696 Hwy 41
Oakhurst, CA 93644


Sierra Vista PTA
Great Swest Council 412
10220 Paseo Del Norte Nw
Albuquerque, NM 87114


Sierra Vista Utd Methodist Church
Catalina Council 011
3225 Saint Andrews Dr
Sierra Vista, AZ 85650


Sierra Vista Utd Methodist Church
Texas Swest Council 741
4522 College Hills Blvd
San Angelo, TX 76904


Sierra Wholesale Supply
P.O. Box 526272
Salt Lake City, UT 84152


Siersma Elementary
Great Lakes Fsc 272
3100 Donna Ave
Warren, MI 48091


Sieunga Truong
Address Redacted


Siffron
8181 Darrow Rd
Twinsburg, OH 44087


Siffron
P.O. Box 932397
Cleveland, OH 44193


Sigel Elementary PTO
Greater St Louis Area Council 312
2050 Allen Ave
Saint Louis, MO 63104


Sight   Sound
1111 W Ave
Crossville, TN 38555


Sightline Search Inc
100 Decker Ct, Ste 190
Irving, TX 75062


Sightworks LLC
525 Chamiso Ln Nw
Los Ranchos, NM 87107


Sigma Phi Gamma
Anthony Wayne Area 157
4228 S 300 E
Warren, IN 46792
Sigma Phi Gamma
Anthony Wayne Area 157
P.O. Box 204
Warren, IN 46792


Sigma Theta Tau
Southern Sierra Council 030
9001 Stockdale Hwy
Bakersfield, CA 93311


Sign Factory
1706 B Mileground Rd
Morgantown, WV 26505


Sign Productions Inc
500 Walford Rd Sw
Cedar Rapids, IA 52404


Signal Crest Utd Methodist Church
Cherokee Area Council 556
1005 Ridgeway Ave
Signal Mountain, TN 37377


Signal Graphics Printing
4835 N O Connor Rd
Irving, TX 75062


Signal Hill Police Dept
Long Beach Area Council 032
2745 Walnut Ave
Signal Hill, CA 90755


Signal Hill Utd Methodist Church
Greater St Louis Area Council 312
47 Signal Hill Pl
Belleville, IL 62223


Signal Mountain Presbyterian
Cherokee Area Council 556
612 James Blvd
Signal Mountain, TN 37377
Signal Systems Inc
2210 4th Ave S
Minneapolis, MN 55404


Signart Of New Mexcio Inc
117 Verda Rd Nw
Albuquerque, NM 87107


Signature Commercial Solutions, LLC
200 W Cypress Creek Rd, Ste 400
Ft Lauderdale, FL 33309


Signature Commercial Solutions, LLC
P.O. Box 534733
Atlanta, GA 30353‐4733


Signature Offset, LLC
P.O. Box 909
Tupelo, MS 38802


Signcaster Corp.
Dba Johnson Plastics
P.O. Box 74576
Cleveland, OH 44194‐4576


Signcraft Charlotte
658 Griffith Rd, Ste 106
Charlotte, NC 28217


Signet Research Inc
613 Anderson Ave
Cliffside Park, NJ 07010


Signs By Renee Inc
72 Coco Plum Dr
Marathon, FL 33050


Signs By Tomorrow
3595 Airway Dr, Ste 403
Reno, NV 89511


Signs By Tomorrow ‐ Middle River
11605 Crossroads Cir, Ste G
Middle River, MD 21220


Signs By Tomorrow‐Dundalk
2819 N Point Blvd, Ste A
Dundalk, MD 21222


Signs Etc
434 Brookstown Ave
Winston Salem, NC 27101


Signs Now
1310 S Church St
Charlotte, NC 28203


Signs Unlimited
P.O. Box 7364
Charlotte, NC 28241


Sigrid Paul
Address Redacted


Sikes Sporting Goods, Inc
P.O. Box 278
Sikeston, MO 63801


Silbaughs
P.O. Box 48
Pine River, MN 56474


Silent Hunter Boat Yard LLC
dba Marathon Boat Yard
2059 Overseas Hwy
Marathon, FL 33050


Siler Presbyterian Church
Central N Carolina Council 416
6301 Weddington Monroe Rd
Matthews, NC 28104


Siler Presbyterian Church
Central N Carolina Council 416
6301 Weddington Rd
Matthews, NC 28104


Silicon Valley Monterey Bay
970 W Julian St
San Jose, CA 95126


Silicon Valley Monterey Bay Cncl 55
970 W Julian St
San Jose, CA 95126


Silicon Valley Monterey Bay Council
Silicon Valley Monterey Bay 055
970 W Julian St
San Jose, CA 95126


Silicon Valley Staffing Group Inc
2200 Powell St, Ste 510
Emeryville, CA 94608


Silipint Inc
1375 SW Commerce Ave, Ste 190
Bend, OR 97702


Silipint Inc
P.O. Box 997
Bend, OR 97709


Silk Hope Ruritan Club
Occoneechee 421
4221 Silk Hope Rd
Siler City, NC 27344


Silling Architects   Planners Inc
P.O. Box 3442
Charleston, WV 25334
Siloa Lutheran Church
Bay‐Lakes Council 635
218 E River St
Ontonagon, MI 49953


Siloam Post 29 American Legion
Westark Area Council 016
P.O. Box 35
Siloam Springs, AR 72761


Siloam Utd Methodist Church
Cradle of Liberty Council 525
3720 Foulk Rd
Garnet Valley, PA 19060


Silva International, Inc
38788 Eagle Way
Chicago, IL 60678‐1387


Silver   Kelmachter, LLP
Attn Sameer Nath, Esq
re Plaintiff
11 Park Pl, Ste 1503
New York, NY 10007


Silver Bay Parent‐Teacher Org
Jersey Shore Council 341
100 Silver Bay Rd
Toms River, NJ 08753


Silver Creek Industries, Inc
P.O. Box 1988
Manitowoc, WI 54221‐1988


Silver Creek Leather Co
5035 Keystone Blvd
Jefferson, IN 47130


Silver Creek Presbyterian Church
Northwest Georgia Council 100
6 Old Rockmart Rd Se
Silver Creek, GA 30173


Silver Creek Volnteer Fire Dept
Allegheny Highlands Council 382
172 Central Ave
Silver Creek, NY 14136


Silver Dollar City
399 Indian Point Rd
Branson, MO 65616


Silver Dollars Racing    Shavings
Rr 1 Box 18B
Maxwell, NM 87728


Silver Golub    Teitell LP
184 Atlantic St
Stamford, CT 06901


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Silver Golub    Teitell, LLP
Attn Paul Slager, Jennifer Goldstein
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184 Atlantic St
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Silver Lake Rod And Gun Club
Baden‐Powell Council 368
8017 Laurel Lake Rd
Brackney, PA 18812


Silver Lake Utd Methodist Church
Jayhawk Area Council 197
P.O. Box 188
204 Madore St
Silver Nugget Inc
416 Juan Tabo Ne
Albuquerque, NM 87123


Silver Palm Utd Methodist Church
South Florida Council 084
15855 SW 248th St
Homestead, FL 33031


Silver Spring Community Fire Co
New Birth of Freedom 544
6471 Carlisle Pike
Mechanicsburg, PA 17050


Silver Spring Utd Methodist Church
National Capital Area Council 082
8900 Georgia Ave
Silver Spring, MD 20910


Silver Springs P T A
Great Lakes Fsc 272
19801 Silver Spring Dr
Northville, MI 48167


Silver Springs Shores Presbyterian
North Florida Council 087
674 Silver Rd
Ocala, FL 34472


Silver Springs Shores Presbyterian Ch
674 Silver Rd
Ocala, FL 34472


Silver Streak Ind LLC
1604 S Edward Dr
Tempe, AZ 85281


Silver Street Utd Methodist Church
Lincoln Heritage Council 205
413 Silver St
New Albany, IN 47150
Silverado District Committee
Las Vegas Area Council 328
7220 Paradise Rd
Las Vegas, NV 89119


Silverado Resort   Spa
1600 Atlas Peak Rd
Napa, CA 94558


Silverbell Ward ‐ LDS Marana Stake
Catalina Council 011
13450 N Lon Adams Rd
Marana, AZ 85653


Silvercup Studios
Greater New York Councils, Bsa 640
4225 22nd St
Long Island City, NY 11101


Silverdale Lutheran Church
Chief Seattle Council 609
11710 Ridgepoint Dr Nw
Silverdale, WA 98383


Silverene Hughes
Address Redacted


Silverhill Covenant Church
Mobile Area Council‐Bsa 004
P.O. Box 125
Silverhill, AL 36576


Silvertalon Consulting
Utah National Parks 591
348 S 1575 W
Lehi, UT 84043


Silverton Fire District
Cascade Pacific Council 492
819 Railway St
Silverton, OR 97381
Silverton Grange 506
Buckskin 617
3054 Greenhills Rd
Ravenswood, WV 26164


Silverton Lions Club
Cascade Pacific Council 492
216 Phelps St
Silverton, OR 97381


Silverton Paideia PTO
Dan Beard Council, Bsa 438
7451 Montgomery Rd
Cincinnati, OH 45236


Silverton Volunteer Fire Co
Jersey Shore Council 341
15 Kettle Creek Rd
Toms River, NJ 08753


Silviaterra LLC
2443 Filmore St, 380‐1418
San Francisco, CA 94115


Sim Dallas/Fort Worth Chapter
P.O. Box 208
Frisco, TX 75034


Simba Industries
P.O. Box 3141
Grapevine, TX 76099


Simeon L Nickerson
Post 64 America Legion
Narragansett 546
8 Thatcher Row
Middleboro, Ma 02346


Simeona Brasher
Address Redacted
Simform LLC
111 N Orange Ave, Ste 800
Orlando, FL 32801


Simi Evangelical Covenant Church
Ventura County Council 057
4680 Alamo St
Simi Valley, CA 93063


Simi Valley Elks Lodge
Ventura County Council 057
1561 Kuehner Dr
Simi Valley, CA 93063


Simi Valley Police Dept
Ventura County Council 057
3901 Alamo St
Simi Valley, CA 93063


Simile
Msc 125
P.O. Box 2956
San Antonio, TX 78299‐2956


Simley Oec Igh Community School
Northern Star Council 250
2920 80th St E
Inver Grove Heights, MN 55076


Simmons Hanly Conroy LLC
Attn Paul Hanly, Jr
112 Madison Ave, 7th Fl
New York, NY 10016


Simmons Hanly Conroy, LLC, And
Law Offices Of Mitchell Garabedian
re Plaintiff
112 Madison Ave
New York, NY 10016
Simmons Hanly Conroy, LLC, And
Law Offices Of Mitchell Garabedian
re Plaintiff
100 State St, 6th Fl
Boston, MA 02109


Simon   Schuster Inc
1230 Ave of the Americas
New York, NY 10020


Simon Anderson Uhrig
Address Redacted


Simon Kenton
807 Kinnear Rd
Columbus, OH 43212


Simon Kenton Cncl 441
807 Kinnear Rd
Columbus, OH 43212


Simon Kenton Council
Simon Kenton Council 441
991 E Main St
Chillicothe, OH 45601


Simon Kenton Scout Shop ‐ Opc
807 Kinnear Rd
Columbus, OH 43212


Simon R Grisinger
Address Redacted


Simone Lobdell
Address Redacted


Simone Salsa Dance School LLC
Simone Amaral
614 Lemonwood Dr
Oldsmar, FL 24677
Simonton Lake Sportsmen Club
Lasalle Council 165
25940 N Shore Dr
Elkhart, IN 46514


Simple Simon S Pizza
253 E 9Th
Cimarron, NM 87714


Simple Simons Pizza
253 E 9th St
P.O. Box 508
Cimarron, NM 87714


Simple Truths LLC
c/o Sourcebooks
P.O. Box 4410
Naperville, IL 60567


Simpletexting
3250 NE 1st Ave, Ste 305
Miami, FL 33137


Simplexgrinnell LP
Dept Ch 10320
Palatine, IL 60055‐0320


Simply Mox LLC
1500 Dragon St, Ste C
Dallas, TX 75207


Simposium
5565 Paysphere Cir
Chicago, IL 60674


Simpson Ace Hardware
40 W Wesmark Blvd
Sumter, SC 29150


Simpson College
701 N C St
Financial Aid Office
Indianola, IA 50125


Simpson Creek Baptist Church
Mountaineer Area 615
231 W Philadelphia Ave
Bridgeport, WV 26330


Simpson Elementary Parent S Club
Greater St Louis Area Council 312
3585 Vogel Rd
Arnold, MO 63010


Simpson Elementary School Parents Club
Greater St Louis Area Council 312
3585 Vogel Rd
Arnold, MO 63010


Simpson Memorial Utd Methodist Church
Cherokee Area Council 556
601 Mcfarland Ave
Rossville, GA 30741


Simpson Utd Methodist Church
Buckeye Council 436
4900 Middlebranch Ave Ne
Canton, OH 44705


Simpson Utd Methodist Church
Inland Nwest Council 611
325 NE Maple St
Pullman, WA 99163


Simpson Utd Methodist Church
Mid Iowa Council 177
2600 Capitol Ave
Des Moines, IA 50317


Simpson Utd Methodist Church
Monmouth Council, Bsa 347
2095 Hwy 516
Old Bridge, NJ 08857


Simpson Utd Methodist Church
Ohio River Valley Council 619
800 7th St
Moundsville, WV 26041


Simpson Utd Methodist Church
Suffolk County Council Inc 404
30 Locust Ave
Amityville, NY 11701


Simpsonville Christian Church
Lincoln Heritage Council 205
7002 Shelbyville Rd
Simpsonville, KY 40067


Simpsonville UMC Mens Club
Blue Ridge Council 551
P.O. Box 1357
Simpsonville, SC 29681


Simpsonville Utd Methodist Church
Blue Ridge Council 551
215 SE Main St
Simpsonville, SC 29681


Simpsonwood Utd Methodist Church
Atlanta Area Council 092
4500 Jones Bridge Cir
Peachtree Corners, GA 30092


Sims Bostic
Address Redacted


Simsbury Utd Methodist Church
Connecticut Rivers Council, Bsa 066
799 Hopmeadow St
Simsbury, CT 06070


Simulaids, Inc
P.O. Box 1289
Saugerties, NY 12477


Sina Mitchell
Address Redacted


Sinclaire Alexandra Vandervoort
Address Redacted


Sinforosa Tercias
Address Redacted


Singing Hills Ministries
dba Camp Oro Quay
1441 State Hwy 344
Sandia Park, NM 87047


Singing Oaks Church Of Christ
Longhorn Council 662
101 Cardinal Dr
Denton, TX 76209


Single Action Shooting Society
215 Cowboy Way
Edgewood, NM 87015


Singleton Equipment LLC
18624 Mclin Rd
Livingston, LA 70754


Singley Academy
Circle Ten Council 571
4601 N Macarthur Blvd
Irving, TX 75038


Singley Academy Criminal Justice
Circle Ten Council 571
4601 N Macarthur Blvd
Irving, TX 75038
Singley Academy Fire
Circle Ten Council 571
4601 N Macarthur Blvd
Irving, TX 75038


Sinton Rotary Club
South Texas Council 577
P.O. Box 1395
Sinton, TX 78387


Sioux
800 N W Ave
Sioux Falls, SD 57104


Sioux City Elks Lodge 112
Mid‐America Council 326
1001 Tri View Ave
Sioux City, IA 51103


Sioux Cncl 733
800 N W Ave
Sioux Falls, SD 57104


Sioux Council
800 N W Ave
Sioux Falls, SD 57104


Sioux Falls Police Dept
Sioux Council 733
320 W 4th St
Sioux Falls, SD 57104


Sioux Falls Soccer Academy
Sioux Council 733
1401 N Woodridge Ave
Sioux Falls, SD 57107


Siren Lions Club
Northern Star Council 250
P.O. Box 464
Siren, WI 54872
Sirene Riccobona
Address Redacted


Sisco
P.O. Box 6933
Albuquerque, NM 87109


Sista Luv‐Srec 1
Three Harbors Council 636
4061 N 54th St
Milwaukee, WI 53216


Sista Luv‐Srec 2
Three Harbors Council 636
P.O. Box 80443
Milwaukee, WI 53208


Sistema Educativo
Puerto Rico Council 661
P.O. Box 1970179
San Juan, PR 00936


Sisters Kiwanis Club
Crater Lake Council 491
P.O. Box 1296
Sisters, OR 97759


Sisu Devices LLC
1520 Royston Ln
Round Rock, TX 78664‐9553


Sita Rajamanickam
Address Redacted


Site Council Of Dobbs Caring Communities
Heart of America Council 307
9400 Eern Ave
Kansas City, MO 64138


Site Systems
5855 Green Valley Cir, Ste 108
Culver City, CA 90230


Sitecore
591 Redwood Hwy 4000
Mill Valley, CA 94941


Sitecore Usa Inc
Dept 34670
P.O. Box 39000
San Francisco, CA 94139


Siteguard LLC
P.O. Box 15132
Pittsburgh, PA 15237


Siteimprove Inc
7807 Creekridge Cir
Minneapolis, MN 55439


Siteimprove, Inc
Attn Legal Dept
7808 Creekridge Cir
Bloomington, MN 55439


Siteone Landscape Supply Holding LLC
24110 Network Pl
Chicago, IL 60673‐1241


Siteone Landscape Supply Holding LLC
300 Colonial Ctr Pkwy
Roswell, GA 30076


Sitesquad LLC
P.O. Box 15132
Pittsburgh, PA 15237


Sitka Rotary Club
Great Alaska Council 610
P.O. Box 1967
Sitka, AK 99835
Sitlinger   Theiler
320 Whittington Pkwy, Ste 304
Louisville, KY 40222


Siue East Saint Louis Charter School
Greater St Louis Area Council 312
601 James R Thompson Blvd
East Saint Louis, IL 62201


Siue Upward Bound
Greater St Louis Area Council 312
601 James R Thompson
East Saint Louis, IL 62201


Siul Jesus Munoz Serrano
Address Redacted


Siwanoy School Parent Teacher Assoc
Westchester Putnam 388
489 Siwanoy Pl
Pelham Manor, NY 10803


Six Flags Over Texas / Hurricane Harbor
P.O. Box 911974
Dallas, TX 75391‐1974


Six Star Post
Iroquois Trail Council 376
Main St
Strykersville, NY 14145


Sixes Elementary PTA
Atlanta Area Council 092
20 Ridge Rd
Canton, GA 30114


Sixes Utd Methodist Church
Atlanta Area Council 092
8385 Bells Ferry Rd
Canton, GA 30114
Sixth Avenue Baptist Church
Greater Alabama Council 001
1101 Martin Luther King Jr Dr
Birmingham, AL 35211


Sk3 Construction LLC
Utah National Parks 591
367 W 500 N
Orem, UT 84057


Skagit Shooting Range
Mount Baker Council, Bsa 606
1340 Bouslog Rd 102
Burlington, WA 98233


Skamania Co Law Enf Assc Explorers
Cascade Pacific Council 492
P.O. Box 790
Stevenson, Wa 98648


Skaneateles Rotary Club
Longhouse Council 373
P.O. Box 871
Skaneateles, NY 13152


Skanska Usa Building Inc
700 King Farm Blvd, Ste 200
Rockville, MD 20850


Skelly Elementary PTA
Indian Nations Council 488
2940 S 90th E Ave
Tulsa, OK 74129


Ski Team Parents Corvallis H S Ski Team
Oregon Trail Council 697
1400 NW Buchanan Ave
Corvallis, OR 97330


Skiatook Church Of Christ
Indian Nations Council 488
1900 W Rogers Blvd
Skiatook, OK 74070


Skiatook Community Of Christ Church
Indian Nations Council 488
401 S A St
Skiatook, OK 74070


Skidaway Island Presbyterian Church
Coastal Georgia Council 099
50 Diamond Cswy
Savannah, GA 31411


Skidmore College
Attn the Bursars Office
815 N Broadway P.O. Box 374
Saratoga Springs, NY 12866


Skillpath Seminars
P.O. Box 804441
Kansas City, MO 64180‐4441


Skillsoft Corp
Bank of America
P.O. Box 405527
Atlanta, GA 30384‐5527


Skinner Bbq
704 Ellis Rd
Tarboro, NC 27886


Skip A Long Rock Island Campus
Illowa Council 133
1609 4th St
Rock Island, IL 61201


Skip Oppenheimer
Address Redacted


Skips Sports
147 Brighton Ave
West End, NJ 07740


Skokie Police Dept
Pathway To Adventure 456
7300 Niles Center Rd
Skokie, IL 60077


Skokie Valley Rotary Club
Northeast Illinois 129
P.O. Box 424
Skokie, IL 60076


Skoopers Unlimited
10321 N Main St
Richmond, IL 60071


Skratch Labs, Inc
2885 Wilderness Pl, Unit B
Boulder, CO 80301


Sku Global Inc
dba Glade Graphics
2108 Palomar Trl
Southlake, TX 76092


Skullduggery
5433 E La Palma Ave
Anaheim, CA 92807


Sky Family Ymca
Southwest Florida Council 088
701 Medical Blvd
Englewood, FL 34223


Skye Erickson
Address Redacted


Skylake Ward, Denver North Stake
Denver Area Council 061
100 Malley Dr
Northglenn, CO 80233


Skyland Utd Methodist Church
Daniel Boone Council 414
1984 Hendersonville Rd
Asheville, NC 28803


Skylar Hans Peppler
Address Redacted


Skylar L Henderson
Address Redacted


Skyler Malmstrom
Address Redacted


Skyler Matthew Hanks Jacob
Address Redacted


Skyline Building Services Inc
905 Oakwood Ave
Hurst, TX 76053


Skyline Middle School
Stonewall Jackson Council 763
470 Linda Ln
Harrisonburg, VA 22802


Skyline Supply LLC
P.O. Box 1188
Oak Hill, WV 25901


Skyshed
3404 Perth Rd 180, Rr 2 Staffa
Toronto, On N0K 1Y0
Canada


Skytel
P.O. Box 70849
Charlotte, NC 28272‐0849
Skytop, Inc
1720 E Deer Valley Rd
Phoenix, AZ 85024


Skyward
Samoset Council, Bsa 627
2601 Skyward Dr
Stevens Point, WI 54482


Skyway Supply
13191 56th Court N, Ste 102
Clearwater, FL 33760


Sl Acquisition Co LLC
dba Superior Landscapes
P.O. Box 678139
Dallas, TX 75267‐8139


Slaco
Greater St Louis Area Council 312
5888 Plymouth Ave
Saint Louis, MO 63112


Slappy S Playhouse LLC
2801 Wingren Rd
Irving, TX 75062


Slate Lick Utd Presbyterian Church
Moraine Trails Council 500
106 Brown Rd
Freeport, PA 16229


Slate Ridge Presbyterian Church Session
Baltimore Area Council 220
1630 Chestnut St
Cardiff, MD 21160


Slatelick Presbyterian Church
Moraine Trails Council 500
106 Brown Rd
Freeport, PA 16229


Slater Elementary Purpose Built Schools
Atlanta Area Council 092
1320 Pryor Rd Sw
Atlanta, GA 30315


Slater Hall Community Center
Blue Ridge Council 551
P.O. Box 862
Marietta, SC 29661


Slatington Lions Club
c/o Claude Fenstermacher
Minsi Trails Council 502
P.O. Box 196
Slatington, PA 18080


Slaughter Elementary School
Lincoln Heritage Council 205
3805 Fern Valley Rd
Louisville, KY 40219


Slc Hotel Partners
dba Double Tree
By Hilton Salt Lake City Airport
5151 Wiley Post Way
Salt Lake City, UT 84116‐2891


Sleep Products Section, Ncda Cs
1090 Mail Service Ctr
Raleigh, NC 27699‐1090


Sleepy Eye Lions Club
Twin Valley Council Bsa 283
309 Burnside St Sw
Sleepy Eye, MN 56085


Sleepy Hollow Homes Assoc
Marin Council 035
1317 Butterfield Rd
San Anselmo, CA 94960
Sleepy Hollow Utd Methodist Ch MenS Club
National Capital Area Council 082
3435 Sleepy Hollow Rd
Falls Church, Va 22044


Sleepy Hollow Utd Methodist Men
National Capital Area Council 082
3435 Sleepy Hollow Rd
Falls Church, VA 22044


Sleuth Mystery Dinner Shows
8267 International Dr
Orlando, FL 32819


Slidell Army Surplus      Outdoor
778 E I‐10 Service Rd
Slidell, LA 70461


Slidell Police Dept
Southeast Louisiana Council 214
2112 Sgt Alfred Dr
Slidell, LA 70458


Slingerlands PTO
Twin Rivers Council 364
63 N Helderberg Pkwy
Slingerlands, NY 12159


Slining/Caulkins Post 267
Chippewa Valley Council 637
P.O. Box 96
New Auburn, WI 54757


Slip Resistant Solutions, Inc
P.O. Box 3843
Seminole, FL 33775


Slippery Rock University
Moraine Trails Council 500
Dr. Robert Smith
300 Old Main
Slippery Rock, PA 16057


Sloan Brands
26725 Fm 1602
Hico, TX 76457


Sloan Machinery Co
110 Havenhill Rd, Ste 250
Amesbury, MA 01913


Slt Parent Org
Great Lakes Fsc 272
48484 N Territorial Rd
Plymouth, MI 48170


Slumberjack
P.O. Box 1992
P.O. Box 8500‐1992
Philadelphia, PA 19178‐1992


Slv Building Components
P.O. Box 3405
Taos, NM 87571


Small Business Plus
2308 Spenrock Ct
Lewisville, TX 75077


Small Business Tax Strategies
Attn Customer Service Ctr
P.O. Box 9070
Mclean, VA 22102‐9660


Smart City Electric Inc
5795 W Badura Ave, Ste 110
Las Vegas, NV 89118


Smart Erp Solutions, Inc
4683 Chabot Dr, Ste 380
Pleasanton, CA 94588
Smart Step
3918 Rochester Rd
Troy, MI 48083


Smart Wool
1123 Welborn St, Ste 203
Greenville, SC 29601


Smartdoc Technologies LLC
33 Wood Ave S, Ste 600
Iselin, NJ 08830


SmartdrawCom
9909 Mira Mesa Blvd, Ste 300
San Diego, CA 92131


Smartsheet Inc
P.O. Box 123421 Dept 3421
Dallas, TX 75312‐3421


Smartsheet, Inc
Attn Legal Affairs
10500 NE 8th St, Ste 1300
Bellevue, WA 98004


Smartshoot Inc
121 2nd St Fl 2
San Francisco, CA 94105


Smartsville Fire District
Golden Empire Council 047
P.O. Box 354
Smartsville, CA 95977


Smarty Pants Findlay
Black Swamp Area Council 449
618 S Main St
Findlay, OH 45840
Smdc Health System
P.O. Box 64618
St Paul, MN 55164‐0618


Sme Digital, LLC
4230 Harness Dr
Hampstead, MD 21074


Smethport Rotary Club
Allegheny Highlands Council 382
109 E St
Smethport, PA 16749


Smile Quest Dental
Golden Empire Council 047
6500 Lonetree Blvd
Rocklin, CA 95765


Smith   Carson
Attn Accts Receivable
400 Nridge Rd, Ste 500
Atlanta, GA 30350


Smith   Myers LLP
333 S Hope St, 35th Fl
Los Angeles, CA 90071


Smith Abrasives
747 Mid‐America Blvd
Hot Springs, AR 71913


Smith Consumer Products
747 Mid America Blvd
Hot Springs, AR 71913‐8414


Smith Field Air Services
Attn Mr Joel Pierce
426 W Ludwig Rd
Ft Wayne, IN 46825


Smith Grounds Management, LLC
P.O. Box 2134
Matthews, NC 28106


Smith Grounds Managements, LLC
P.O. Box 2134
Matthews, NC 28106


Smith Janitorial
4707 Shriver Rd
North Canton, OH 44720


Smith Mcdonald Co
1270 Niagara St
Buffalo, NY 14213


Smith Memorial Umc Board Of Trustees
Blue Ridge Mtns Council 599
119 Ridge Rd
Collinsville, VA 24078


Smith Memorial Utd Methodist Church
Buckskin 617
P.O. Box 103
307 Prichard Rd


Smith Mills Christian Cong Church
Narragansett 546
11 Anderson Way
North Dartmouth, MA 02747


Smith Sales   Service
Illowa Council 133
301 W Mississippi Dr
Muscatine, IA 52761


Smith School PTO
Simon Kenton Council 441
355 N Liberty St
Delaware, OH 43015


Smith Turf   Irrigation LLC
P.O. Box 669388
Charlotte, NC 28266‐9388


Smith Valley Utd Methodist Church
Crossroads of America 160
5293 Old Smith Valley Rd
Greenwood, IN 46143


Smith Warren Post 367 American Legion
Seneca Waterways 397
61 Main St
Scottsville, NY 14546


Smith‐Bryant American Legion Post 572
Texas Swest Council 741
P.O. Box 704
San Angelo, TX 76902


Smithco Inc
2501 13th Ave Sw
Fargo, ND 58103


Smithfield Lions Club
Trapper Trails 589
102 N 380 E
Smithfield, UT 84335


Smithfield Lodge Of Elks 2359
Narragansett 546
326 Farnum Pike
Smithfield, RI 02917


Smithfield Police Dept
Narragansett 546
215 Pleasant View Ave
Smithfield, RI 02917


Smithfield Rotary Club
Colonial Virginia Council 595
P.O. Box 1004
Smithfield, VA 23431
Smithfield Township Volunteer Fire
Five Rivers Council, Inc 375
24 Village Green Way
East Smithfield, PA 18817


Smithfield Utd Methodist Church
Longhorn Council 662
6701 Smithfield Rd
North Richland Hills, TX 76182


Smithfield Volunteer Fire Dept
Westmoreland Fayette 512
P.O. Box 261
Smithfield, PA 15478


Smiths Grove Lions Club
Lincoln Heritage Council 205
P.O. Box 25
Oakland, KY 42159


Smithsburg Lions Club
Mason Dixon Council 221
P.O. Box 745
21 W Water St
Smithsburg, MD 21783


Smithsonian Institution
Membership Data Ctr
P.O. Box 420235
Palm Coast, FL 32142‐0235


Smithsonian Institution
Mrc 507
P.O. Box 37012
Washington, DC 20013


Smithsonian Magazine
P.O. Box 62170
Tampa, FL 33662


Smithtown Fire Dept
Suffolk County Council Inc 404
100 Elm Ave
Smithtown, NY 11787


Smithtown Utd Methodist Church
Suffolk County Council Inc 404
230 E Main St
Smithtown, NY 11787


Smithville Kiwanis Club
Heart of America Council 307
106 2nd St
Smithville, MO 64089


Smithville Rotaryclub
First United Methodist Church
Middle Tennessee Council 560
P.O. Box 548
Smithville, Tn 37166


Smithville Utd Methodist Church
Buckeye Council 436
3060 Eby Rd
Smithville, OH 44677


Smithville Utd Methodist Church
Capitol Area Council 564
400 Olive St
Smithville, TX 78957


Smithville Utd Methodist Church
National Capital Area Council 082
10602 Sern Maryland Blvd
Dunkirk, MD 20754


Smitty S On Snowbank
14564 Snow Lodge Rd
Ely, MN 55731


Smk Tri Cities Inc
Blue Mountain Council 604
P.O. Box 2548
Pasco, WA 99302


Smokin Buns Bbq
Quapaw Area Council 018
25401 Hwy 107
Jacksonville, AR 72076


Smoky Hill Rotary
Denver Area Council 061
6100 S Genoa St
Aurora, CO 80016


Smoky Hill Utd Methodist Church
Denver Area Council 061
19491 E Smoky Hill Rd
Centennial, CO 80015


Smothers Academy Preparatory School
Southeast Louisiana Council 214
2012 Jefferson Hwy
Jefferson, LA 70121


Sms Catering Services Inc
1764 Norland Rd
Charlotte, NC 28205‐5706


Sms Marketing, Inc
Uniforms   More
1400 Mason Ave
Daytona Beach, FL 32117


Smu Law Review Assoc
P.O. Box 750116
Dallas, TX 75275‐0116


Smug Mug Inc
P.O. Box 390123
Mountain View, CA 94039


Smugglers Cove Marina Inc
85920 Overseas Hwy
Islamorada, FL 33036


Smyrna First Utd Methodist Church
Middle Tennessee Council 560
301 Sam Davis Rd
Smyrna, TN 37167


Smyrna Lions Club
Middle Tennessee Council 560
P.O. Box 12
Smyrna, TN 37167


Smyrna Police Dept
Del Mar Va 081
325 W Glenwood Ave
Smyrna, DE 19977


Smyrna Utd Methodist
Atlanta Area Council 092
9199 Buchanan Hwy
Dallas, GA 30157


Smythson Of Bond St
Unit 2‐3, Oak Tree Business Ctr
Spitfire Way, S Marston
Swindon, Sn3 4Tx
United Kingdom


Snacks Crossing Elementary School
Crossroads of America 160
5455 W 56th St
Indianapolis, IN 46254


Snacktyme Vending
c/o Steve Orlando
339 E Windsor Ave
Phoenix, AZ 85004


Snake River
2988 Falls Ave E
Twin Falls, ID 83301‐8423
Snake River Area Council 111
2988 Falls Ave E
Twin Falls, ID 83301‐8423


Snake River Elks Lodge 2807
Snake River Council 111
412 E 200 S
Jerome, ID 83338


Snap
8405 Greensboro Dr, Ste 800
Mclean, VA 22102‐5104


Snap
P.O. Box 826129
Philadelphia, PA 19182‐6129


Snapfinger Creek Animal Hospital
Atlanta Area Council 092
5548 Flat Shoals Pkwy
Decatur, GA 30034


Snapfinger Elementary School
Atlanta Area Council 092
1365 Snapfinger Rd
Decatur, GA 30032


Snapperhead Inventions, LLC
dba Marquette Back Country
100 N Front St
Marquette, MI 49855


Snappy Popcorn
P.O. Box 160
Brenda, IA 51436


Snapretail, LLC
100 S Commons, Ste 102
Pittsburgh, PA 15212
Snapretail, LLC
Snaprx Alloy 26
100 S Commons, Ste 102
Pittsburgh, PA 15212


Snapretail/Snaprx, LLC
2840 Liberty Ave, Ste 100
Pittsburgh, PA 15222


Snelling Employment LLC
4055 Valley View Ln, 700
Dallas, TX 75244


Snelling Employment LLC
P.O. Box 650765
Dallas, TX 75265‐0765


Snellville Christian Church
Northeast Georgia Council 101
2485 Scenic Hwy S
Snellville, GA 30078


Snellville Lodge 99
Northeast Georgia Council 101
1844 Skyland Glen Dr
Snellville, GA 30078


Snellville Utd Methodist Church
Northeast Georgia Council 101
Highway 78
Snellville, GA 30078


Snellville Utd Methodist Church
Northeast Georgia Council 101
P.O. Box 437
Snellville, GA 30078


Sni Kona Truth Of Life Center
Aloha Council, Bsa 104
79‐7517 Mamalahoa Hwy
P.O. Box 786
Kealakekua, HI 96750
Snn Trainers
Pee Dee Area Council 552
100 Coastal Dr
Sumter, SC 29150


Snohomish County Fire District 7
Mount Baker Council, Bsa 606
163 Village Ct
Monroe, WA 98272


Snohomish County Sheriffs Office
Mount Baker Council, Bsa 606
3000 Rockefeller Ave M 606
Everett, WA 98201


Snohomish Fire   Rescue Explorers
Mount Baker Council, Bsa 606
1525 Ave D
Snohomish, WA 98290


Snohomish Utd Methodist Church
Mount Baker Council, Bsa 606
2400 Lake Ave
Snohomish, WA 98290


Snoqualmie Valley Eagles
Chief Seattle Council 609
8200 Railroad Ave Se
P.O. Box 528
Snoqualmie, WA 98065


Snoqualmie Valley Kiwanis
Chief Seattle Council 609
P.O. Box 852
North Bend, WA 98045


Snoqualmie Valley Scouting
Chief Seattle Council 609
6628 E Crest View Loop Se
Snoqualmie, WA 98065
Snow Hill Elementary PTA
Del Mar Va 081
515 Coulbourne Ln
Snow Hill, MD 21863


Snow Hill Fwb Church
Tuscarora Council 424
485 Albert Grady Rd
Mount Olive, NC 28365


Snow King Resort
P.O. Box Ski
Jackson, WY 83001


Snow S Florist
120 S Main St
Irving, TX 75060


Snow School PTA
Great Lakes Fsc 272
3165 Dallas St
Dearborn, MI 48124


Snow Sports Industries America Inc
P.O. Box 680850
Park City, UT 84068‐0850


Snowbird Youth Center
Daniel Boone Council 414
208 Snowbird Youth Center Rd
Robbinsville, NC 28771


Snowdon Elementary PTO
Inland Nwest Council 611
6323 S Holly Rd
Cheney, WA 99004


Snowville Ruritan Club
Blue Ridge Mtns Council 599
Rr 1
Hiwassee, VA 24347
Snr Denton Us, LLC
Dept 894579
Los Angeles, CA 90189‐4579


Snyder First Utd Methodist Church
Last Frontier Council 480
918 E St
Snyder, OK 73566


Snyders Drug Stores, Inc
14617 59th St N
Stillwater, MN 55082


So Cal Academy Of Science
c/o Ann Dalkey, Corresponding Sec
Greater Los Angeles Area 033
900 Exposition Blvd
Los Angeles, CA 90007


So Ctrl Colfax Cty Special Hospital Dist
P.O. Box 133
Angel Fire, NM 87710‐0133


Soapstone Utd Methodist Church
Occoneechee 421
12837 Norwood Rd
Raleigh, NC 27613


Soar   Safe Haven
Patriots Path Council 358
50 Winfield Scott Plz
Elizabeth, NJ 07201


Soaring Eagle Consulting LLC
Cimarron Council 474
P.O. Box 1303
Enid, OK 73702


Socal Aviation Assoc
San Diego Imperial Council 049
P.O. Box 2801
Carlsbad, CA 92018


Socastee Utd Methodist Church
Pee Dee Area Council 552
5575 Dick Pond Rd
Myrtle Beach, SC 29588


Soccer Scouting Club
Greater Los Angeles Area 033
1046 W Gladstone St
Azusa, CA 91702


Social Annex Inc
dba Annex Cloud
12408 Sanford St
Los Angeles, CA 90066


Social Circle Fire Dept
Northeast Georgia Council 101
165 E Hightower
Social Cir, GA 30025


Social Circle Jrotc
Northeast Georgia Council 101
154 Alcova Dr
Social Cir, GA 30025


Social Enterprises Inc
618 NW Glisan St, Ste 101
Portland, OR 97209


Society For Food Service Management
15000 Commerce Pkwy, Ste C
Mount Laurel, NJ 08054


Society For Human Resource Management
P.O. Box 79482
Baltimore, MD 21298‐8614


Society For Human Resource Management
P.O. Box 79482
Baltimore, MD 21279‐0482


Society For Human Resource Mgmt
P.O. Box 791139
Baltimore, MD 21279‐1139


Society For Information Management
401 N Michigan Ave, Ste 2200
Chicago, IL 60611


Society For Mining Metallury/Exploration
Denver Area Council 061
12999 E Adam Aircraft Cir
Englewood, Co 80112


Society For Nonprofit Organizations
P.O. Box 510354
Livonia, MI 48151


Society Hispanic Professional Engineers
United States Patent   Trademark Office
National Capital Area Council 082
600 Dulany St
Alexandria, Va 22314


Society Of American Archivists
17 N State St 1425
Chicago, IL 60602‐3315


Society Of American Foresters
10100 Laureate Way
Bethesda, MD 20814‐2198


Society Of American Military Engineers
Central Georgia Council 096
P.O. Box 2627
Warner Robins, GA 31099


Society Of American Military Engineers
Denver Area Council 061
P.O. Box 13224
Denver, CO 80201


Society Of Health And Physical Educators
1900 Assoc Dr
Reston, VA 20191‐1598


Society Of Professional Journalists
3909 N Meridian St
Indianapolis, IN 46208‐4045


Society Of Publication Designers
27 Union Sq W, Ste 207
New York, NY 10003


Society Of The First Infantry Div
Coronado Area Council 192
510 Huebner Rd
Ft. Riley, KS 66442


Society Of Women Engineers
Seneca Waterways 397
657 E Ave
Rochester, NY 14607


Society‐Mining, Metallurgy   Exploration
12999 E Adam Aircraft Cir
Englewood, CO 80112‐4167


Sock It To Me Inc
Accounts Receivable
9592 SE Main St
Milwaukie, OR 97222


Sockler Realty Services
299 Ward St, Ste C
Hightstown, NJ 08520


Socorro General Hospital
P.O. Box 1580
Denver, CO 80291‐1580
Socorro Pumping Service
P.O. Box 136
Lemitar, NM 87823


Socp, Inc
c/o Fsii, Inc
12021 Open Run Rd
Ellicott City, MD 21042


Sodexho
101 W College Ave
Roswell, NM 88201


Sodexho Inc   Affiliates
1365 N Orhcard, Ste 373
Boise, ID 83706


Sodexho Inc   Affiliates
150 Tremont
Boston, MA 02108


Sodexho, Inc   Affiliates
Dept 43283
Los Angeles, CA 90088‐3283


Sodexo Inc   Affiliates
1800 Lincoln Ave
Evansville, IN 47722


Sodexo Services Of Indiana, LLP
Sodexo Inc   Affiliates
1800 Lincoln Ave
Evansville, IN 47722


Sodus Rotary Club
Seneca Waterways 397
5024 State Route 88
Sodus, NY 14551
Sofar Ocean Technologies
Pier 50, Shed B
San Francisco, CA 94158


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Sofia Shnitser
Address Redacted


Sofie K Schwink
Address Redacted


Soft Landings Parrot Rescue Inc
Indian Nations Council 488
P.O. Box 2115
Owasso, OK 74055


Softchoice Corp
16609 Collections Ctr Dr
Chicago, IL 60693


Software Republic LLP
18023 Golden Ridge
Houston, TX 77084


Softworld, Inc
Attn Accounts Receivable
281 Winter St, Ste 301
Waltham, MA 02451


Sofya Atkinson
Address Redacted


Sol Middle School
San Francisco Bay Area Council 028
1180 70th Ave
Oakland, CA 94621


Sol Sunguard Corp
6525 15th Ave, NW 125
Seattle, WA 98117‐5587


Solana Property Maintenance Assoc
c/o Kocal Properties Inc
P.O. Box 13461
Sacramento, CA 95813


Solar Prep Boys PTA
Circle Ten Council 571
1802 Moser Ave
Dallas, TX 75206


Solarwinds
P.O. Box 730720
Dallas, TX 75373‐0720


Solarwinds Net, Inc
P.O. Box 730720
Dallas, TX 75373


SolarwindsNet Inc
P.O. Box 730720
Dallas, TX 75373‐0720


Soldotna Police Dept
Great Alaska Council 610
44510 Sterling Hwy
Soldotna, AK 99669


Soldotna Utd Methodist Church
Great Alaska Council 610
158 S Binkley St
Soldotna, AK 99669


Soledad Police Dept
Silicon Valley Monterey Bay 055
236 Main St
Soledad, CA 93960


Solera Tec LLC
2430 Auto Park Way, Ste 205
Escondido, CA 92029‐1226


Solheim PTO
Northern Lights Council 429
325 Munich Dr
Bismarck, ND 58504


Solid Ground
Chief Seattle Council 609
6940 62nd Ave Ne
Seattle, WA 98115


Solid Rock Church Of God
Central Florida Council 083
1904 Michigan Ave
Kissimmee, FL 34744


Solid Rock Missionary Baptist Church
Sam Houston Area Council 576
14341 Lee Rd
Houston, TX 77032


Solid Rock Utd Methodist Church
Occoneechee 421
P.O. Box 100
Olivia, NC 28368


Soloff   Zervanos, P.C.
Attn Jeffrey P. Fritz
1525 Locust St, Eight Fl
Philadelphia, PA 19102


Solomon Corp
Coronado Area Council 192
P.O. Box 245
103 W Main St


Solomon Quick
Address Redacted
Solomons Key Lodge 580
Great Lakes Fsc 272
17212 Ecorse Rd
Allen Park, MI 48101


Solomons Utd Church Of Christ
Minsi Trails Council 502
82 S Church St
Macungie, PA 18062


Solon Optimist Club
Hawkeye Area Council 172
44 2nd St
Solon, IA 52333


Solon/Orange Police Explorer Post
Lake Erie Council 440
33000 Solon Rd
Solon, OH 44139


Solsberry American Legion Post 450
Hoosier Trails Council 145 145
10743 E Sparks Rd
Solsberry, IN 47459


Solskyn Personal Care, LLC
Dept Ch 14106
Palatine, IL 60055‐1406


Soma Citizens
Northern New Jersey Council, Bsa 333
267 Richmond Ave
South Orange, NJ 07079


Someone S In The Kitchen
5 Star Kosher Catering
5973 Reseda Blvd
Tarzana, CA 91356


Somerby At St Vincents One Nineteen
Attn Tim Hicks
Greater Alabama Council 001
200 One Nineteen Blvd
Birmingham, AL 35242


Somers American Legion Post 552
Three Harbors Council 636
P.O. Box 31
Somers, WI 53171


Somers Fire And Rescue
Three Harbors Council 636
P.O. Box 197
Somers, WI 53171


Somers Lions Club
Westchester Putnam 388
P.O. Box 95
Somers, NY 10589


Somers Volunteer Fire Dept, Inc
Westchester Putnam 388
P.O. Box 272
Somers, NY 10589


Somerset Academy
Cradle of Liberty Council 525
719 W Girard Ave
Philadelphia, PA 19123


Somerset Academy
Gulf Stream Council 085
4696 Davis Rd
Lake Worth, FL 33461


Somerset Academy North Las Vegas
Las Vegas Area Council 328
385 W Centennial Pkwy
North Las Vegas, NV 89084


Somerset Area Junior High School
Laurel Highlands Council 527
645 S Columbia Ave
Somerset, PA 15501
Somerset Community Assoc
Chief Seattle Council 609
P.O. Box 5733
Bellevue, WA 98006


Somerset County Sheriff
Patriots Path Council 358
20 Grove St
Somerville, NJ 08876


Somerset Hills Lutheran Church
Patriots Path Council 358
350 Lake Rd
Basking Ridge, NJ 07920


Somerset Lions Club
Laurel Highlands Council 527
P.O. Box 214
Somerset, PA 15501


Somerset Lions Club
Narragansett 546
P.O. Box 303
Somerset, MA 02726


Somerset Police Dept
Narragansett 546
465 County St
Somerset, MA 02726


Somerset Police Explorers
Blue Grass Council 204
400 E Mount Vernon St
Somerset, KY 42501


Somerset Prep Academy North Lauderdale
South Florida Council 084
7101 Kimberly Blvd
North Lauderdale, FL 33068
Somerset Presbyterian Church
Patriots Path Council 358
100 John F Kennedy Blvd
Somerset, NJ 08873


Somerset Utd Methodist Church
Alamo Area Council 583
8175 W 7th St
Somerset, TX 78069


Somerset Utd Methodist Church
Muskingum Valley Council, Bsa 467
139 E Main St
P.O. Box 237


Sommers Alumni Assoc
P.O. Box 428
Ely, MN 55731‐0428


Somonauk Education Foundation
Three Fires Council 127
501 W Market St
Somonauk, IL 60552


Somonauk Lions Club
Three Fires Council 127
P.O. Box 272
Somonauk, IL 60552


Son S Of American Legion
Cape Fear Council 425
10277 Beach Dr Sw
Calabash, NC 28467


Sondra M Booth
Address Redacted


Sondra Schlecter
Address Redacted


Song Of Life Utd Methodist Church
Grand Canyon Council 010
20164 S Sossaman Rd
Queen Creek, AZ 85142


Songs Elite Martial Arts Academy
Denver Area Council 061
2424 E Bridge St
Brighton, CO 80601


Sonia Alarcon
Address Redacted


Sonia B Stein
Address Redacted


Sonia Castillo
Address Redacted


Sonia Guerrero
Address Redacted


Sonia Guerrero Kagan
Address Redacted


Sonia Lira
Address Redacted


Sonia Patton
Address Redacted


Sonia Stein
Address Redacted


Sonia Vidal Arrambidez
Address Redacted


Sonitrol Of Harrisburg
P.O. Box 660777
Dallas, TX 75266‐0777
Sonitrol Security Services Inc
815 Wood Ridge Ctr Dr
Charlotte, NC 28217


Sonitrol Security Systems Of The
Midlands Inc
4455 Tile Dr
Charleston, SC 29405


Sonja   Bayer
Address Redacted


Sonja Emziah
Address Redacted


Sonja Schlosser
Address Redacted


Sonja Wilkins
Address Redacted


Sonnet Technologies Inc
8 Autry
Irvine, CA 92618‐2808


Sonny Bryans Smokehouse
Corporate Office
2625 Seelcco St
Dallas, TX 75235


Sonoco Corrflex
P.O. Box 402714
Atlanta, GA 30384‐2714


Sonoco Recycling, LLC
1 N 2nd St
Hartsville, SC 29550
Sonoco Recycling, LLC
Sonoco Products Co
91218 Collection Center Dr
Chicago, IL 60693


Sonoma County Clerk
2300 County Center Dr, Ste B177
Santa Rosa, CA 95403


Sonoma County Fire District
Redwood Empire Council 041
8200 Old Redwood Hwy
Windsor, CA 95492


Sonoma County Sheriffs Dept
Redwood Empire Council 041
2796 Ventura Ave
Santa Rosa, CA 95403


Sonoma Design Apparel
3510 Airway Dr
Santa Rosa, CA 95403


Sonoma Police Dept
Redwood Empire Council 041
175 1st St W
Sonoma, CA 95476


Sonoma Raceway
c/o Brad Lawrence
29355 Arnold Dr
Sonoma, CA 95476


Sonoma State University
1801 E Cotati Ave
Rohnert Park, CA 94928


Sonora Downtown Lions Club
Texas Swest Council 741
P.O. Box 822
Sonora, TX 76950
Sonora High Jrotc
Orange County Council 039
401 S Palm St
La Habra, CA 90631


Sonora Police Dept
Greater Yosemite Council 059
100 S Green St
Sonora, CA 95370


Sonora Utd Methodist Men
Greater Yosemite Council 059
90 Yaney Ave
Sonora, CA 95370


Sonrise   Pembroke Manor Church
Tidewater Council 596
600 Independence Blvd
Virginia Beach, VA 23462


Sonrise Baptist Church
Mobile Area Council‐Bsa 004
140 Snow Rd N
Mobile, AL 36608


Sonrise Christian School
Greater Los Angeles Area 033
1220 E Ruddock St
Covina, CA 91724


Sons Of American Legion 181
Allegheny Highlands Council 382
11431 Archer Hill Rd
Randolph, NY 14772


Sons Of American Legion Post 26
Green Mountain 592
129 S Main St
White River Junction, VT 05001


Sons Of American Legion Post 42
Green Mountain 592
P.O. Box 572
Enosburg Falls, VT 05450


Sons Of American Legions Quadron Ten
Longs Peak Council 062
4760 28th St
Boulder, CO 80301


Sons Of Amvets
Hawkeye Area Council 172
P.O. Box 583
Kalona, IA 52247


Sons Of Italy
Lake County Lodge 2537
P.O. Box 327
Nice, CA 95456


Sons Of Norway Lodge 106
Mount Baker Council, Bsa 606
P.O. Box 492
Bothell, WA 98041


Sons Of The American Legion
Central Minnesota 296
525 Railroad Dr Nw
Elk River, MN 55330


Sons Of The American Legion
Chippewa Valley Council 637
27 State St
Neillsville, WI 54456


Sons Of The American Legion
Greater St Louis Area Council 312
205 N Washington Ave
Union, MO 63084


Sons Of The American Legion
Iroquois Trail Council 376
83 Market St
Attica, NY 14011


Sons Of The American Legion
Jayhawk Area Council 197
310 Veterans Memorial Dr N
Marysville, KS 66508


Sons Of The American Legion
Pacific Harbors Council, Bsa 612
113 W Cota St
Shelton, WA 98584


Sons Of The American Legion
Squadron 35
Great Alaska Council 610
P.O. Box 870370
Wasilla, Ak 99687


Sons Of The American Legion 254
Mid‐America Council 326
1316 10th St
Hawarden, IA 51023


Sons Of The American Legion 294
Potawatomi Area Council 651
231 Goodwin Ave
Hartland, WI 53029


Sons Of The American Legion Honeoye
Hemlock Post 1278
Seneca Waterways 397
P.O. Box 40
Honeoye, Ny 14471


Sons Of The American Legion Post 1146
Suffolk County Council Inc 404
826 Hubal St
Bohemia, NY 11716


Sons Of The American Legion Post 217
Great Lakes Fsc 272
2817 Van Alstyne St
Wyandotte, MI 48192


Sons Of The American Legion Post 25
Cornhusker Council 324
815 W D St
Wymore, NE 68466


Sons Of The American Legion Post 252
Winnebago Council, Bsa 173
639 Main St
Ackley, IA 50601


Sons Of The American Legion Post 282
National Capital Area Council 082
101 W Elizabeth St
Woodsboro, MD 21798


Sons Of The American Legion Post 419
Suffolk County Council Inc 404
P.O. Box 269
Amagansett, NY 11930


Sons Of The American Legion Sq 616
Leatherstocking 400
P.O. Box 686
Richfield Springs, NY 13439


Sons Of The American Legion Squad 145
Bay‐Lakes Council 635
621 Main St
Norway, MI 49870


Sons Of The American Legion Squade 386
Abraham Lincoln Council 144
118 S Dye St
Virden, IL 62690


Sons Of The American Legion Squadron 38
Pikes Peak Council 060
6685 Smoor Dr
Fountain, CO 80817
Sons Of The American Legion Squadron 62
Grand Canyon Council 010
9847 W Desert Cove Ave
Peoria, AZ 85345


Sons, AL Squadron 1738
Suffolk County Council Inc 404
340 Union Blvd
West Islip, Ny 11795


Sonstegard Foods Co
Nw‐9400 Box 1450
Minneapolis, MN 55485


Sony Electronics Inc
Attn Depot Service
2706 Media Ctr Dr, Ste 130
Los Angeles, CA 90065


Sonya Collier
Address Redacted


Sonya E Melton‐Miles
Address Redacted


Sonya Elliott
Address Redacted


Sonya Greene
Address Redacted


Sonya Harvey
Address Redacted


Sonya Lynn Elliott
Address Redacted


Sonya Manibusan
Address Redacted
Sonya Mitchell
Address Redacted


Sonya Schiffman
Address Redacted


Sophia Hagen
Address Redacted


Sophrosyne
Great Swest Council 412
429 Schulte Rd Nw
Los Ranchos, NM 87107


Soren David Faulkner
Address Redacted


Sorensen Magnet School PTA
Inland Nwest Council 611
311 N 10th St
Coeur D Alene, ID 83814


Sorrento Springs School PTO
Greater St Louis Area Council 312
390 Tumulty Dr
Ballwin, MO 63021


SOS
P.O. Box 2372
Denton, TX 76202


Sos Security LLC
1915 Route 46 E
Parsippany, NJ 07054


Sos Security LLC
P.O. Box 21577
New York, NY 10087‐1577
Sos Survival Products
15705 Strathern St, 11
Van Nuys, CA 91406


Soto Elementary School PTA
Circle Ten Council 571
4510 W Jefferson Blvd
Dallas, TX 75211


Souhegan Emergency Services
Daniel Webster Council, Bsa 330
39 School St
Milford, NH 03055


Soul Adventurer LLC
18830 SW 294The Ter
Homestead, FL 33030


Soul Adventurer LLC
c/o Hans Bockelman
P.O. Box 1906
Islamorada, FL 33036


Soul Ruiz
Address Redacted


Soule Road PTO
Longhouse Council 373
8338 Soule Rd
Liverpool, NY 13090


Sound Beach Fire District
Suffolk County Council Inc 404
152 Sound Beach Blvd
Sound Beach, NY 11789


Sound Beach Volunteer Fire Deptment
Greenwich 067
207 Sound Beach Ave
Old Greenwich, CT 06870
Sound Marketing, Inc
10317 Quarai Ave Ne
Albuquerque, NM 87111


Sound School, The
Connecticut Yankee Council Bsa 072
60 S Water St
New Haven, CT 06519


Soundings
P.O. Box 37303
Boone, IA 50037‐4303


Soundra Willingham
Address Redacted


Source Brands
11116 Grader St
Dallas, TX 75238


Source Direct
15301 Dallas Pkwy, Ste 700
Addison, TX 75001


Source Distributors Inc
Bibby Financial Services     Midwest   Inc
14906 Collections Ctr Dr
Chicago, IL 60693


Source Group LLC
6979 E Broadway Blvd, Ste 109
Tucson, AZ 85710


Source Hov
P.O. Box 142589, Drawer 9092
Irving, TX 75014‐2589


Source Inc
P.O. Box 202414
Dallas, TX 75320‐2414
Source Interlink Companies
c/o Debbie Brent
27500 Riverview Ctr Blvd
Bonita Springs, FL 34134


Source One Events
102 Cassia Way
Henderson, NV 89014


South Aiken Presbyterian Church
Georgia‐Carolina 093
1711 Whiskey Rd
Aiken, SC 29803


South Arbor Academy
Southern Shores Fsc 783
8200 Carpenter Rd
Ypsilanti, MI 48197


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Buckskin 617
2203 29th St
Ashland, KY 41101


South Ave Community Center
Seneca Waterways 397
999 S Ave
Rochester, NY 14620


South Bay Islamic Assoc
Silicon Valley Monterey Bay 055
2345 Harris Way
San Jose, CA 95131


South Bay Rod And Gun Club
San Diego Imperial Council 049
10731 Treena St, Ste 109
San Diego, CA 92131


South Bay Volunteer Fire Dept
Longhouse Council 373
8817 Cicero Center Rd
Cicero, NY 13039


South Bay Yacht Club
Silicon Valley Monterey Bay 055
1491 Hope St
Alviso, CA 95002


South Bellevue Bellevue B Gc
Chief Seattle Council 609
14509 SE Newport Way
South Bellevue
Bellevue, WA 98006


South Bend Elks Lodge Bpoe 235
Lasalle Council 165
3535 Mckinley Ave
South Bend, IN 46615


South Berwick Memorial Post Vfw 5744
Pine Tree Council 218
64 Old S Rd
South Berwick, ME 03908


South Berwick Rod And Gun Assoc
Pine Tree Council 218
P.O. Box 184
South Berwick, ME 03908


South Boardman American Legion Post
President Gerald R Ford 781
P.O. Box 1
South Boardman, MI 49680


South Boston True Value, Inc
307 Broad St
South Boston, VA 24592


South Branch Reformed Church
Patriots Path Council 358
870 River Rd
Hillsborough, NJ 08844


South Britain Congregational Church
Connecticut Rivers Council, Bsa 066
P.O. Box 64
South Britain, CT 06487


South Burlington Rotary Club
Green Mountain 592
P.O. Box 9376
South Burlington, VT 05407


South Caldwell Booster Club Njrotc
Piedmont Council 420
7035 Spartan Dr
Hudson, NC 28638


South Cape Marine LLC
dba Rooster Tailz
74540 Overseas Hwy
Islamorada, FL 33036


South Carolina Dept Of Consumer Affairs
Division of Consumer Affairs
500 James Robertson Pkwy, 5th Fl
Nashville, TN 37243‐0600


South Carolina Dept Of Revenue
Attn Sales Tax Return
Columbia, SC 29214‐0101


South Carolina Lutheran Retreat Centers
6053 Two Notch Rd
Batesburg‐Leeville, SC 29070


South Carolina Secretary Of State
Atnn Sc Secretary of States Office
1205 Pendleton St, Ste 525
Columbia, SC 29201


South Carolina State Attorneys General
Rembert C. Dennis Office Bldg.
P.O. Box 11549
Columbia, SC 29211‐1549


South Carolina State Treasurer
Unclaimed Property ‐ Wade Hampton Bldg
1200 Senate St, Ste 214
Columbia, SC 29201


South Carroll County Special School PTA
West Tennessee Area Council 559
P.O. Box 189
145 Clarksburg Rd
Clarksburg, TN 38324


South Central Civic League
Circle Ten Council 571
7916 Ivory Ln
Dallas, TX 75216


South Central Human Relations Center
610 Florence Ave
Owatonna, MN 55060


South Charleston Electric
1011 F St
P.O. Box 8494
S Charleston, WV 25303


South Church Of God
Santa Fe Trail Council 194
635 S Washington Ave
Liberal, KS 67901


South Church Utd Church Of Christ
The Spirit of Adventure 227
41 Central St
Andover, MA 01810


South Coast Chinese Cultural Assoc
Orange County Council 039
9 Truman St
Irvine, CA 92620


South Cobb Recreation Center
Atlanta Area Council 092
875 Riverside Pkwy
Austell, GA 30168


South Congregational Church
Cape Cod and Islands Cncl 224
565 Main St
Centerville, MA 02632


South Congregational Church
Connecticut Rivers Council, Bsa 066
1301 Forbes St
East Hartford, CT 06118


South Congregational Church
Western Massachusetts Council 234
1066 S E St
Amherst, MA 01002


South Dakota Dept Of Revenue
P.O. Box 5055
Sioux Falls, SD 57117‐5055


South Dakota School Of Mines    Technology
501 E Saint Joseph St
Rapid City, SD 57701


South Dakota Secretary Of State
State Capitol
500 E Capitol Ave
Pierre, SD 57501


South Dakota State Treasurer
Unclaimed Property Div
500 E Capitol Ave
Pierre, SD 57501‐5070


South Dallas Outreach Initiative
Circle Ten Council 571
6002 S Central Expwy
Dallas, TX 75214


South Dallas Outreach Initiative Rhoads
Circle Ten Council 571
914 Thistle Green Ln
Duncanville, TX 75137


South Dayton Free Methodist Church
Allegheny Highlands Council 382
327 Pine St
South Dayton, NY 14138


South Daytona Christian Church
Central Florida Council 083
2121 Kenilworth Ave
South Daytona, FL 32119


South Denver 93 Temple Assoc
Denver Area Council 061
350 S Broadway
Denver, CO 80209


South Doyle High School Army Jrotc
Great Smoky Mountain Council 557
2020 Tipton Station Rd
Knoxville, TN 37920


South Doyle Youth Sports
Great Smoky Mountain Council 557
7701 Martin Mill Pike
Knoxville, TN 37920


South Elkhorn Baptist Church
Blue Grass Council 204
4867 Versailles Rd
Lexington, KY 40510


South Elkhorn Christian Church
Blue Grass Council 204
4343 Harrodsburg Rd
Lexington, KY 40513


South End Utd Methodist Church
Middle Tennessee Council 560
5042 Edmondson Pike
Nashville, TN 37211


South Euclid Fire Dept
Lake Erie Council 440
1349 S Green Rd
South Euclid, OH 44121


South Eugene Girls Ultimate
Oregon Trail Council 697
557 W 27th Pl
Eugene, OR 97405


South Eugene Hs Nordic Ski Team
Oregon Trail Council 697
400 E 19th Ave
Eugene, OR 97401


South Eugene Ski Racing Team
Oregon Trail Council 697
400 E 19th Ave
Eugene, OR 97401


South Florida
15255 NW 82nd Ave
Miami Lakes, FL 33016‐1476


South Florida Cncl 84
15255 N W 82nd Ave
Miami Lakes, FL 33016


South Florida Cncl 84
15255 NW 82nd Ave
Miami Lakes, FL 33016


South Franklin Fire Dept
Laurel Highlands Council 527
101 Jolly School Rd
Washington, PA 15301


South Gate Police Dept
Greater Los Angeles Area 033
8620 California Ave
South Gate, CA 90280


South Gate Utd Methodist
Cornhusker Council 324
3500 Pioneers Blvd
Lincoln, NE 68506


South Georgia
1841 Norman Dr
Valdosta, GA 31601‐3502


South Georgia Baptist
Golden Spread Council 562
5209 S Georgia St
Amarillo, TX 79110


South Georgia Council 98
1841 Norman Dr
Valdosta, GA 31601


South Georgia PTO
Golden Spread Council 562
5018 Susan Dr
Amarillo, TX 79110


South Greensburg Utd Methodist Church
Westmoreland Fayette 512
411 Sheridan Ave
Greensburg, PA 15601


South Greenville Moose Lodge 749
Blue Ridge Council 551
114 Harris Rd
Piedmont, SC 29673
South Gwinnett High School
Northeast Georgia Council 101
2288 Main St E
Snellville, GA 30078


South Gwinnett Jrotc
Northeast Georgia Council 101
2288 Main St E
Snellville, GA 30078


South Hampton PTA
Greater Alabama Council 001
565 Sheridan Rd
Birmingham, AL 35214


South High School
Denver Area Council 061
1700 E Louisiana Ave
Denver, CO 80210


South High School Jrotc
Denver Area Council 061
1700 E Louisiana Ave
Denver, CO 80210


South Highlands Elementary PTA
Norwela Council 215
831 Erie St
Shreveport, LA 71106


South Hill Presbyterian Church
Heart of Virginia Council 602
914 N Mecklenburg Ave
South Hill, VA 23970


South Inglewood
Middle Tennessee Council 560
1625 Rebecca Ave
Nashville, TN 37211


South Jacksonville PTO
Abraham Lincoln Council 144
1204 Grandview Ave
Jacksonville, IL 62650


South Jefferson PTA
Shenandoah Area Council 598
4599 Summit Point Rd
Charles Town, WV 25414


South Joplin Christian Church
Ozark Trails Council 306
190 S Pearl Ave
Joplin, MO 64804


South Jordan Scouting Org
Great Salt Lake Council 590
9573 S Kirkside Dr
South Jordan, UT 84009


South Kalamazoo County Fire Authority
Southern Shores Fsc 783
125 S Main St
Vicksburg, MI 49097


South Kensington Fire Dept
Connecticut Rivers Council, Bsa 066
737 Worthington Rdg
Berlin, CT 06037


South Kingstown Elks Lodge 1899
Narragansett 546
60 Belmont Ave
Wakefield, RI 02879


South Knox Elementary PTO
Buffalo Trace 156
6078 E State Rd 61
Vincennes, IN 47591


South Lake Elementary School
Central Florida Council 083
3755 Garden St
Titusville, FL 32796
South Lake Minnetonka Scouting Assn
Northern Star Council 250
7915 Stone Creek Dr, Ste 130
Chanhassen, MN 55317


South Lakewood Elementary PTA
Denver Area Council 061
8425 W 1st Ave
Lakewood, CO 80226


South Line Volunteer Fire Co
Greater Niagara Frontier Council 380
1049 French Rd
Cheektowaga, NY 14227


South Main Baptist Church
Sam Houston Area Council 576
4300 E Sam Houston Pkwy S
Pasadena, TX 77505


South Main Church Of Christ
East Texas Area Council 585
402 S Main St
Henderson, TX 75654


South Main Creative LLC
c/o Valerie Cay Wincert
1600 Main St
Little Rock, AR 72206


South Maui Learning Center
Aloha Council, Bsa 104
300 Ohukai Rd
Kihei, HI 96753


South Mecklenburg Presbyterian Church
Mecklenburg County Council 415
8601 Bryant Farms Rd
Charlotte, NC 28277
South Mesa Chapel
San Diego Imperial Council 049
202863 San Jacinto Rd
Oceanside, CA 92058


South Metro Fire Rescue Authority
Denver Area Council 061
9195 E Mineral Ave
Englewood, CO 80112


South Miami
Coral Gables Elks Lodge 1676
South Florida Council 084
6304 Sw 78Th St
South Miami, Fl 33143


South Miami Police Explorers
South Florida Council 084
6130 Sunset Dr
South Miami, FL 33143


South Mountain Community Center
Grand Canyon Council 010
7807 S 1st Dr
Phoenix, AZ 85041


South Norwalk Community Center
Connecticut Yankee Council Bsa 072
98 S Main St
Norwalk, CT 06854


South Ogden City
3950 Adams Ave, Ste 1
South Ogden, UT 84403


South Oldham Rotary
Lincoln Heritage Council 205
P.O. Box 391
Crestwood, KY 40014


South Orange Bpoe Elks Lodge 1154
Northern New Jersey Council, Bsa 333
220 Prospect St
South Orange, NJ 07079


South Orlando Baptist Church
Central Florida Council 083
11513 S Orange Blossom Trl
Orlando, FL 32837


South Park Community Church
Denver Area Council 061
600 Hathaway St
P.O. Box 488
Fairplay, CO 80440


South Park Lighthouse Temple
Northern New Jersey Council, Bsa 333
505 W Market St
Light House Temple
Newark, NJ 07107


South Parkersburg Utd Methodist
Buckskin 617
1810 Rayon Dr
Church


South Pasadena Rotary Foundation Inc
Greater Los Angeles Area 033
P.O. Box 362
South Pasadena, CA 91031


South Pasadena Utd Methodist Church
Greater Los Angeles Area 033
699 Monterey Rd
South Pasadena, CA 91030


South Pittsburg First Baptist Church
Cherokee Area Council 556
306 5th St
South Pittsburg, TN 37380


South Plains
30 Briercroft Office Park
Lubbock, TX 79412‐3099


South Plains Area Cncl 694
30 Briercroft Office Park
Lubbock, TX 79412‐3099


South Plains Church Of Christ
South Plains Council 694
6802 Elkhart Ave
Lubbock, TX 79424


South Platte Vfw Post 7356
Heart of America Council 307
10125 NW Hwy 45
Parkville, MO 64152


South Point High School Njrotc
Piedmont Council 420
906 Spoint Rd
Belmont, NC 28012


South Point Pet Hospital
Piedmont Council 420
3 N Main St
Belmont, NC 28012


South Pointe Scholars Academy
Southern Shores Fsc 783
10550 Geddes Rd
Ypsilanti, MI 48198


South Polk Elementary
Cherokee Area Council 556
964 Old Federal Rd
Oldfort, TN 37362


South Prairie Elementary School P T O
Three Fires Council 127
820 Borden Ave
Sycamore, IL 60178
South Presbyterian Church
Northern New Jersey Council, Bsa 333
150 Church St
Bergenfield, NJ 07621


South Reno Utd Methodist Church
Nevada Area Council 329
200 De Spain Ln
Reno, NV 89511


South Roanoke Utd Methodist Church
Blue Ridge Mtns Council 599
2330 Jefferson St Se
Roanoke, VA 24014


South Salem Volunteer Fire Dept
Westchester Putnam 388
P.O. Box 191
South Salem, NY 10590


South Sales Communication Inc
446 Crompton St
Charlotte, NC 28273


South San Francisco Police Dept
Pacific Skyline Council 031
33 Arroyo Dr
South San Francisco, CA 94080


South San Jose Kiwanis Club
Silicon Valley Monterey Bay 055
373 Curie Dr
San Jose, CA 95119


South School
Mayflower Council 251
831 Main St
Hingham, MA 02043


South Seas Rigging Inc
3800 Overseas Hwy
Marathon, FL 33050
South Seminole Vfw Post 8207
Central Florida Council 083
1520 N Ronald Reagan Blvd
Longwood, FL 32750


South Shore Rod   Gun Club
Longhouse Council 373
P.O. Box 1875
6690 S Bay Rd
Cicero, NY 13039


South Shore Trinity Lutheran Church
Northern Star Council 250
2480 S Shore Blvd
White Bear Lake, MN 55110


South Shore Utd Methodist Church
Greater Tampa Bay Area 089
11525 Big Bend Rd
Riverview, FL 33579


South Side High School
West Tennessee Area Council 559
84 Harts Bridge Rd
Jackson, TN 38301


South Snohomish Scout Alumni Assn
Mount Baker Council, Bsa 606
9218 34th Dr Se
Everett, WA 98208


South St Paul Police Dept
Northern Star Council 250
125 3rd Ave N
South St Paul, MN 55075


South State Contractors Inc
Sequoyah Council 713
2325 Fairview Rd
Afton, TN 37616
South Suburban Christian Church
Denver Area Council 061
7275 S Broadway
Littleton, CO 80122


South Technical High School
Greater St Louis Area Council 312


South Texas
700 Everhart Terrace, Bldg A
Corpus Christi, TX 78411‐1939


South Texas Cncl 577
700 Everhart Ter Bldg A
Corpus Christi, TX 78411‐1939


South Texas Council 577
700 Everhart Terrace, Bldg A
Corpus Christi, TX 78411‐1939


South Texas Neon Sign Co, Inc
South Texas Council 577
317 Masterson Rd
Laredo, TX 78046


South Union PTA
Mid Iowa Council 177
4201 S Union St
Des Moines, IA 50315


South Utd Methodist Church
Connecticut Rivers Council, Bsa 066
1226 Main St
Manchester, CT 06040


South Valley Fire Dept
Nevada Area Council 329
P.O. Box 19564
Reno, NV 89511
South Valley Lodge 187
Silicon Valley Monterey Bay 055
P.O. Box 463
Morgan Hill, CA 95038


South Valley Regional Explorers
Great Salt Lake Council 590
7365 S 4450 W
West Jordan, UT 84088


South Valley Volunteer Fire Dept
Nevada Area Council 329
P.O. Box 18073
Reno, NV 89511


South Vineland Utd Methodist Church
Garden State Council 690
2724 S Main Rd
Vineland, NJ 08360


South Wall Fire Co
Monmouth Council, Bsa 347
P.O. Box 69
2605 Atlantic Ave
Allenwood, NJ 08720


South Webster Community Church
Simon Kenton Council 441
P.O. Box 156
37 Carmichael St
South Webster, OH 45682


South West Church Of Christ
Mid‐America Council 326
2600 S 124th St
Omaha, NE 68144


South West Connection
P.O. Box 838
Capitan, NM 88316


South Whidbey Lions Club
Mount Baker Council, Bsa 606
P.O. Box 45
Langley, WA 98260


South Whitehall Police Dept
Attn John Christmam
Minsi Trails Council 502
4444 Walbert Ave
Allentown, PA 18104


South Windsor Board Of Education
Facility Oper‐Community Use of Buidlings
1737 Main St
South Windsor, CT 06074


South Windsor Volunteer Fire Dept
Connecticut Rivers Council, Bsa 066
1175 Ellington Rd
South Windsor, CT 06074


South Yuba Co Sunrise Rotary
Golden Empire Council 047
P.O. Box 5664
Marysville, CA 95901


Southampton Road School Ptg
Western Massachusetts Council 234
330 Sampton Rd
Westfield, MA 01085


Southampton Town Police Dept
Suffolk County Council Inc 404
110 Old Riverhead Rd
Hampton Bays, NY 11946


Southampton Youth Bureau
Suffolk County Council Inc 404
655 Flanders Rd
Flanders, NY 11901


Southaven First Utd Methodist Church
Chickasaw Council 558
723 Star Landing Rd
Nesbit, MS 38651


Southaven Police Dept
Chickasaw Council 558
8791 Nwest Dr
Southaven, MS 38671


Southbay Rod   Gun Club
San Diego Imperial Council 049
P.O. Box 26027
San Diego, CA 92196


Southbounder Day Camp
Blue Ridge Council 551
904 Townes St
Greenville, SC 29609


Southbridge ‐ Saint John Paul Ii Parish
Heart of New England Council 230
279 Hamilton St
Southbridge, MA 01550


Southbury Volunteer Firemen S Assoc
Connecticut Rivers Council, Bsa 066
P.O. Box 911
Southbury, CT 06488


Southeast Christian Church
Great Salt Lake Council 590
1881 E Vine St
Salt Lake City, UT 84121


Southeast Church Of Christ
Denver Area Council 061
14601 E Yale Ave
Aurora, CO 80014


Southeast Church Of Christ
Sam Houston Area Council 576
2400 W Bay Area Blvd
Friendswood, TX 77546
Southeast Community Center
Middle Tennessee Council 560
5260 Hickory Hollow Pkwy
Antioch, TN 37013


Southeast Community College
Student Accounts
4771 W Scott Rd
Beatrice, NE 68310


Southeast Elementary School PTO
Three Fires Council 127
718 S Locust St
Sycamore, IL 60178


Southeast Georgia Health System
Coastal Georgia Council 099
2415 Parkwood Dr
Brunswick, GA 31520


Southeast Industrial Equipment, Inc
12200 Steele Creek Rd
Charlotte, NC 28273


Southeast Industrial Equipment, Inc
P.O. Box 63230
Charlotte, NC 28263‐3230


Southeast Laser Inc
1635 Lakes Pkwy, Ste D
Lawrenceville, GA 30043


Southeast Louisiana
P.O. Box 1146
Metairie, LA 70004‐1146


Southeast Louisiana Cncl 214
4200 S I‐10 Service Rd W, Ste 101
P.O. Box 1146
Metairie, LA 70001
Southeast Louisiana Scout Shop ‐ Opc
4200 S I‐10 Service Rd W, Ste 117
Metairie, LA 70001‐1237


Southeast Scout Program
Greater Los Angeles Area 033
3380 E 50th St
Vernon, CA 90058


Southeastern Chemical Co Inc
320 City Ave
Beckley, WV 25801


Southeastern Education   Leadership
Foundation Corp
105 Wood Dr
Simpsonville, SC 26981


Southeastern Freight Lines Inc
P.O. Box 100104
Columbia, SC 29202‐3104


Southeastern Paper Group, Inc
P.O. Box 890671
Charlotte, NC 28289‐0671


Souther Air, Inc
6434 Peters Creek Rd
Roanoke, VA 24019


Southern Air, Inc
P.O. Box 4205
Lynchburg, VA 24502


Southern Alameda County Buddhist Church
San Francisco Bay Area Council 028
32975 Alvarado Niles Rd
Union City, CA 94587
Southern Archery, Inc
Attn Acct Payable
305‐11th St Se
Spencer, IA 51301


Southern Baptist Convention ‐Exec Com
Sbc Exhibit Reg
901 Commerce St
Nashville, TN 37203


Southern Beautification Inc
dba Sern Lawn   Equipment Sle
3533 Murfreesboro Pike
Antioch, TN 37013


Southern Carpet Services Inc
P.O. Box 593506
Orlando, FL 32859‐3506


Southern Caswell Ruritan
Old N State Council 070
9614 Nc‐62
Burlington, NC 27217


Southern Christian Leadership Conference
P.O. Box 92544
Atlanta, GA 30314


Southern Communications Corp
306 S Kanawha St
Beckley, WV 25801


Southern Concessions
4821 N Church Ln Se
Smyrna, GA 30080‐7207


Southern Concessions/Slush Puppie
2451 Cumberland Pkwy, Ste 3801
Atlanta, GA 30339‐6157


Southern Flame Propane
Indian Waters Council 553
215 Oak Dr
Lexington, SC 29073


Southern Greenery Inc
P.O. Box 814037
Dallas, TX 75381‐4037


Southern Heights Presbyterian Church
Cornhusker Council 324
5750 S 40th St
Lincoln, NE 68516


Southern Hills Christian Church
Last Frontier Council 480
3207 S Blvd
Edmond, OK 73013


Southern Hills Christian Church Ltd
Atlanta Area Council 092
1103 N Hwy 113
Carrollton, GA 30117


Southern Hills Utd Methodist Church
Blue Grass Council 204
2356 Harrodsburg Rd
Lexington, KY 40503


Southern Hills Utd Methodist Church
Last Frontier Council 480
8200 S Pennsylvania Ave
Oklahoma City, OK 73159


Southern Illinois University Carbondale
Financial Aid Office
0211‐Mail Code 4702
Carbondale, IL 62901‐4702


Southern Imperial Inc
23584 Network Pl
Chicago, IL 60673‐1235
Southern Living
P.O. Box 62120
Tampa, FL 33662‐2120


Southern Mechanical Solutions
1207 Branch St
Gastonia, NC 28054


Southern Michigan National Bank
Southern Shores Fsc 783
225 N Broadway St
Union City, MI 49094


Southern Mission Church
Greater St Louis Area Council 312
2801 State St
East Saint Louis, IL 62205


Southern Nv Law Enforcement
Leadership Explorer Program
Las Vegas Area Council 328
1530 Sandra Dr
Boulder City, Nv 89005


Southern Ohio College Bbc Inc
P.O. Box 442
Athens, OH 45764


Southern Pines
Crossroads of America 160
4110 S Pinewood Dr
Muncie, IN 47302


Southern Polytechnic State University
Attn Office of Scholarships
Financial Aid
1100 S Marietta Pkwy
Marietta, GA 30060


Southern Region Bsa
P.O. Box 440728
Kennesaw, GA 30160


Southern Region Retirees
Attn Mc Bartlett
4160 Spring Hill Ln
Kennesaw, GA 30144


Southern Region Retirees
c/o Paula Roberts
140 Valley Rd
Waynesboro, VA 22980


Southern Shores Fsc
3914 Bestech Rd
Ypsilanti, MI 48197


Southern Shores Fsc 783
3914 Bestech Rd
Ypsilanti, MI 48197


Southern Shores Fsc 783
4290 Bristlecone Dr
Portage, MI 49024


Southern Sierra
2417 M St
Bakersfield, CA 93301‐2341


Southern Sierra Cncl 30
2417 M St
Bakersfield, CA 93301‐2341


Southern Sierra Council, Bsa
2417 M St
Bakersfield, CA 93301


Southern Specialties
1224 5th St
Bristol, TN 37620
Southern States Oak Hill Cooperative Inc
Attn Kyle Wilson, Manager
133 Virginia St
Oak Hill, WV 25901


Southern Thunder Trucking
Westark Area Council 016
2308 Witcherville Rd
Greenwood, AR 72936


Southern Utah University
Attn Financial Aid Office
351 W University Blvd
Cedar City, UT 84720


Southern Virginia University
Attn John Brandt, Financial Aid
1 University Hill Dr
Buena Vista, VA 24416


Southern West Virginia Asphalt Inc
P.O. Box 277561
Atlanta, GA 30384‐7561


Southern West Virginia Paving
P.O. Box 277519
Atlanta, GA 30384‐7533


Southern York County Rotary Club
New Birth of Freedom 544
18158 Amanda Ln
New Freedom, PA 17349


Southern York County Rotary Club
New Birth of Freedom 544
P.O. Box 36
Shrewsbury, PA 17361


Southfield School
Norwela Council 215
1100 Sfield Rd
Shreveport, LA 71106
Southgate American Legion Post 478
Great Lakes Fsc 272
16200 Dix Toledo Rd
Southgate, MI 48195


Southgate Church Of Christ
Simon Kenton Council 441
1075 S 30th St
Heath, OH 43056


Southgate Rotory
Great Lakes Fsc 272
15032 Fort St
Southgate, MI 48195


Southlake Chamber Of Commerce
Attn Jill Johnson
1501 Corporate Cir, Ste 100
Southlake, TX 76092


Southlake Creative Design Inc
dba Out of the Garden
P.O. Box 92904
Southlake, TX 76092


Southlake Kiwanis Club
Longhorn Council 662
P.O. Box 93524
Southlake, TX 76092


Southland Baptist Church
Texas Swest Council 741
4300 Meadow Creek Trl
San Angelo, TX 76904


Southland Electric Inc
1495 S Blackridge Dr, Bldg B
St George, UT 84770


Southmayd Elementary
Sam Houston Area Council 576
1800 Coral St
Houston, TX 77012


Southminster Presbyterian Church
Greater Alabama Council 001
1124 Montgomery Hwy
Vestavia, AL 35216


Southminster Presbyterian Church
Heart of Virginia Council 602
7500 Hull St Rd
Richmond, VA 23235


Southminster Presbyterian Church
Indian Nations Council 488
3500 S Peoria Ave
Tulsa, OK 74105


Southminster Presbyterian Church
Last Frontier Council 480
3415 S Wern Ave
Oklahoma City, OK 73109


Southminster Presbyterian Church
Laurel Highlands Council 527
799 Washington Rd
Pittsburgh, PA 15228


Southminster Presbyterian Church
Miami Valley Council, Bsa 444
7001 Far Hills Ave
Centerville, OH 45459


Southminster Presbyterian Church
Middle Tennessee Council 560
643 Harding Pl
Nashville, TN 37211


Southminster Presbyterian Church
Pathway To Adventure 456
916 E Central Rd
Arlington Heights, IL 60005


Southminster Presbyterian Church
Sam Houston Area Council 576
4200 Cartwright Rd
Missouri City, TX 77459


Southmoreland Elementary School
Westmoreland Fayette 512
100 Scottie Way
Scottdale, PA 15683


Southmoreland High School
Westmoreland Fayette 512
2351 Route 981
P.O. Box A
Alverton, PA 15683


Southmoreland Middle School
Westmoreland Fayette 512
200 Scottie Way
Scottdale, PA 15683


Southmoreland Primary Center
Westmoreland Fayette 512
105 Equity Dr
Greensburg, PA 15601


Southpak Inc
P.O. Box 42930
Charlotte, NC 28215


Southport Police Dept
Crossroads of America 160
137 Worman St
Southport, IN 46227


Southport Presbyterian Church
Cape Fear Council 425
1025 E Moore St
Southport, NC 28461
Southport Utd Methodist Church
Crossroads of America 160
1947 E Sport Rd
Indianapolis, IN 46227


Southridge Presbyterian Church
Heart of America Council 307
5015 Buena Vista St
Roeland Park, KS 66205


Southridge Senior High
South Florida Council 084
19355 SW 114th Ave
Miami, FL 33157


Southside Baptist Church
Cape Fear Council 425
3320 S College Rd
Wilmington, NC 28412


Southside Baptist Church
Last Frontier Council 480
718 S Post Rd
Midwest City, OK 73130


Southside Church Of God In Christ
North Florida Council 087
2179 Emerson St
Jacksonville, FL 32207


Southside Elementary
Lincoln Heritage Council 205
728 Ginkgo Dr
Shelbyville, KY 40065


Southside Elementary Charter School
Narragansett 546
135 Prairie Ave
Providence, RI 02905


Southside Elementary School PTO
Middle Tennessee Council 560
1224 Murfreesboro Rd
Lebanon, TN 37090


Southside Health Education Foundation
Heart of Virginia Council 602
P.O. Box 867
Colonial Heights, VA 23834


Southside PTO
Hoosier Trails Council 145 145
1320 W 200 S
Columbus, IN 47201


Southside Utd Methodist Church
Greater Alabama Council 001
2438 Cedar Bend Rd N
Southside, AL 35907


Southside Utd Methodist Church
North Florida Council 087
3120 Hendricks Ave
Jacksonville, FL 32207


Southview Christian Church
Cornhusker Council 324
2040 S 22nd St
Lincoln, NE 68502


Southview Elementary School PTO
Crossroads of America 160
2100 S Franklin St
Muncie, IN 47302


Southview School PTO
Greater St Louis Area Council 312
2482 Marshall Rd
Wm O Hayes Amvets Post 1
Saint Louis, MO 63122


Southview Utd Methodist Church
Blue Ridge Mtns Council 599
3539 Peters Creek Rd Nw
Roanoke, VA 24019


Southwest Area Neighborhood Assoc
Seneca Waterways 397
275 Dr Samuel Mccree Way
Rochester, NY 14611


Southwest Art
P.O. Box 420235
Palm Coast, FL 32142‐0235


Southwest Benefits Assoc
11520 N Central Expy, Ste 201
Dallas, TX 75243


Southwest Binding   Laminating
109 Millwell Dr
P.O. Box 150
Maryland Heights, MO 63043


Southwest Bsa Retirees Reunion
c/o Leroy Jossell
4202 Ewood Dr
Carrollton, TX 75010


Southwest Christian School
Longhorn Council 662
6801 Dan Danciger Rd
Fort Worth, TX 76133


Southwest Church
Dan Beard Council, Bsa 438
150 Remick Blvd
Springboro, OH 45066


Southwest Conference Planners
8767 E Via De Commercio, Ste 101
Scottsdale, AZ 85258


Southwest Cuyahoga Recreation Center
Great Trail 433
716 W 130th St
Brunswick, OH 44212


Southwest Direct Inc
2502 Charles Page Blvd
Tulsa, OK 74127


Southwest Direct, Inc
150 Tannehill Dr
Abilene, TX 79602


Southwest Elementary
Crossroads of America 160
619 W Smith Valley Rd
Greenwood, IN 46142


Southwest Fargo Optimist
Northern Lights Council 429
P.O. Box 9124
Rilie Ray Morgan III
Fargo, ND 58106


Southwest Fargo Optimist Club
c/o Ray Morgan
Northern Lights Council 429
P.O. Box 9124
Fargo, ND 58106


Southwest Fire Dept
Hoosier Trails Council 145 145
8500 S State Rd 58
Columbus, IN 47201


Southwest Florida
1801 Boy Scout Dr
Fort Myers, FL 33907‐2114


Southwest Florida Cncl 88
1801 Boy Scout Dr
Fort Myers, FL 33907‐2114
Southwest General Hospital
Lake Erie Council 440
18697 Bagley Rd
Middleburg Heights, OH 44130


Southwest Glass Inc
C2 Construction Inc
2333 Glenda Ln
Dallas, TX 75229


Southwest Incentives Inc
1121 Hampshire Ln 200
Richardson, TX 75080


Southwest Index Tab Co
223 Danieldale
Dallas, TX 75232


Southwest Ismaili Boy Scout
Sam Houston Area Council 576
1700 First Colony Blvd
Sugar Land, TX 77479


South‐West Kiwanis Club
W D Boyce 138
P.O. Box 9335
Peoria, IL 61612


Southwest Networks Inc
1111 W Carrier Pkwy, Ste 400
Grand Prairie, TX 75050


Southwest Orlando Jewish Congregation
Central Florida Council 083
11200 S Apopka Vineland Rd
Orlando, FL 32836


Southwest Selective Search Inc
P.O. Box 823044
North Richland Hills, TX 76182
Southwest Solutions Group Inc
P.O. Box 671784
Dallas, TX 75267‐1784


Southwest Virginia Foundation
Sequoyah Council 713
27353 Fairhaven Rd
Abingdon, VA 24211


Southwest Vocational Services
715 Esperanza Dr
Bosque Farm, NM 87068


Southwestern Color Graphics
P.O. Box 677
202 N Fairview
Keene, TX 76059


Southwestern Elementary PTO
Crossroads of America 160
3406 W 600 S
Shelbyville, IN 46176


Southwestern Equipment Co
P O Drawer 219
Justin, TX 76247


Southwestern Oklahoma State Univ
Attn Jerome Wichert,
Office of Student Fin
100 Campus Dr
Weatherford, OK 73096


Southwestern Soapworks
P.O. Box 319
Angel Fire, NM 87710


Southwick Congregational Church
Western Massachusetts Council 234
P.O. Box 260
488 College Hwy
Southwick, MA 01077


Southwind Villas Housing Complex
North Florida Council 087
8711 Newton Rd
Jacksonville, FL 32216


Southwinds 100 Inc
Atlanta Area Council 092
1034 Atherton Ln
Woodstock, GA 30189


Southwood Apartments
Heart of Virginia Council 602
4602 Swood Pkwy, Apt B
Richmond, VA 23224


Southwood Elementary PTA
Simon Kenton Council 441
1500 S 4th St
Columbus, OH 43207


Southwood Lutheran Church
Cornhusker Council 324
9300 S 40th St
Lincoln, NE 68516


Southwood School PTO
Sagamore Council 162
840 E State Rd 124
Wabash, IN 46992


Souvenir Factory Inc
886B Lebanon St
P.O. Box 626
Monroe, OH 45050


Sovereign Military Order
Temple Jerusalem, Smotj
Middle Tennessee Council 560
113 Suffolk Cres
Brentwood, Tn 37027
SovereignMilitary Order Temple Jerusalem
Middle Tennessee Council 560
113 Suffolk Cres
Brentwood, Tn 37027


Sovos Compliance LLC
200 Ballardvale St, Bldg 1, 4th Fl
Wilmington, MA 01887


Sovos Compliance LLC
P.O. Box 347977
Pittsburgh, PA 15251‐4977


Sp Surgical Products Inc
Puerto Rico Council 661
P.O. Box 6567
Caguas, PR 00726


Spa Equip, Inc
211 Wappo Ave
Calistoga, CA 94515


Space Coast Water Ski Club
Central Florida Council 083
2535 Stillwater Lakes Dr Sw
Palm Bay, FL 32908


Space Scooter, Inc
1954 N 30th Rd
Hollywood, FL 33021


Spalding Laboratories
P.O. Box 10000
Reno, NV 89510


Spanaway Lutheran Church
Pacific Harbors Council, Bsa 612
16001 A St S
Spanaway, WA 98387
Spanaway Utd Methodist Church
Pacific Harbors Council, Bsa 612
P.O. Box 178
Spanaway, WA 98387


Spangdahlem Fire Fighters Assoc
Transatlantic Council, Bsa 802
Psc 9 Box 1745
Apo Ae, 09123


Spanish Fork
Salem Area Chamber Of Commerce
Utah National Parks 591
40 S Main St
Spanish Fork, Ut 84660


Spanish Fort Fire Rescue Inc
Mobile Area Council‐Bsa 004
7580 Spanish Fort Blvd
Spanish Fort, AL 36527


Spanish Fort Presbyterian
United Methodist Church S
Mobile Area Council‐Bsa 004
6620 Spanish Fort Blvd
Spanish Fort, Al 36527


Spanish Fort Presbyterian Church
Mobile Area Council‐Bsa 004
6620 Spanish Fort Blvd
Spanish Fort, AL 36527


Spanish River Church
Gulf Stream Council 085
2400 NW 51st St
Boca Raton, FL 33431


Spanks Handyman   Lawn Service
Central Florida Council 083
301 Bolander Ave
Deltona, FL 32725
Spark Power Parents
Circle Ten Council 571
13273 Sellaronda Way
Frisco, TX 75035


Sparkfun Electronics, Inc
6333 Dry Creek Pkwy
Niwot, CO 80503


Sparkol
68 3rd St
Brooklyn, NY 11231


Sparks Greenbrae Lions Club
Nevada Area Council 329
2147 Valencia Way
Sparks, NV 89434


Sparks Middle School Team Up
Nevada Area Council 329
535 E Plumb Ln
Reno, NV 89502


Sparks Police Dept
Nevada Area Council 329
1701 E Prater Way
Sparks, NV 89434


Sparks Utd Methodist Church
Nevada Area Council 329
1231 Pyramid Way
Sparks, NV 89431


Sparks/Spanish Springs Lion S Club
Nevada Area Council 329
49 Marilyn Mae Dr
Sparks, NV 89441


Sparr Utd Methodist Church
North Florida Council 087
P.O. Box 777
Sparr, FL 32192


Sparrow Lodge 400
Simon Kenton Council 441
85 S Morning St
Sunbury, OH 43074


Sparrow Lodge No 400 F Am
Simon Kenton Council 441
4422 Columbus Pike
Sunbury, OH 43074


Sparrows Nest Inc
Old N State Council 070
122 N Elm St, Ste 503
Greensboro, NC 27401


Sparta Fire Dept
Greater St Louis Area Council 312
107 E Jackson St
Sparta, IL 62286


Sparta First Utd Methodist Church
Middle Tennessee Council 560
23 N Church St
Sparta, TN 38583


Sparta Moose Lodge
President Gerald R Ford 781
P.O. Box 45
Sparta, MI 49345


Sparta Moose Lodge 50
President Gerald R Ford 781
11510 N Div Ave
Sparta, MI 49345


Sparta Utd Methodist Church
Patriots Path Council 358
71 Sparta Ave
Sparta, NJ 07871
Sparta Vfw Post 2112
Gateway Area 624
121 S Rusk Ave
Sparta, WI 54656


Spartan Race, Inc
Attn General Counsel
234 Congress St, 5th Fl
Boston, MA 02110


Spartan Sauna Heaters Inc
7484 Malta Rd
Eveleth, MN 55734


Spartanburg American Legion Post 28
Palmetto Council 549
94 W Park Dr
Spartanburg, SC 29306


Spartanburg Methodist College
Attn Financial Aid ‐ Angela Helms
1000 Power Mill Rd
Spartanburg, SC 29301


Spatial Point LLC
Attn Nancy Quaiver
2720 S River Rd 128
Des Plaines, IL 60018


Spc Leasing Inc
322 N Main, Box 333
Guymon, OK 73942


Spc Office Products
221 Denver
Dalhart, TX 79022


Spd
27 Union Square W, Ste 207
New York, NY 10003
Speakeasy
P.O. Box 34654
Seattle, WA 98124‐1654


Speakeasy Prompters Inc
P.O. Box 294816
Lewisville, TX 75029


Spearfish American Legion Post 164
Black Hills Area Council 695 695
P.O. Box 583
Spearfish, SD 57783


Spearfish Fire Dept
Black Hills Area Council 695 695
625 N 5th St
Spearfish, SD 57783


Spearman Lions Club
Golden Spread Council 562
P.O. Box 342
Spearman, TX 79081


Speccomm International
5808 Faringdon Pl, Ste 200
Raleigh, NC 27609‐1029


Special D Events Inc
1212 S Washington Ave
Royal Oak, MI 48067


Special Delivery
5470 Lbj Freeway
Dallas, TX 75240


Special Electronics Systems
P.O. Box 5157
Peoria, AZ 85385


Special Events Inc
4445 N 56th St
Phoenix, AZ 85018


Special Events Rental LLC
dba Doucettes Special Events Rental LLC
3931 E Calvary Rd
Duluth, MN 55803


Special Forces Assoc Chapter 9
Yucca Council 573
10636 Park View Cir
El Paso, TX 79935


Special Olympics Gaston County
1600 Burning Willow Ct
Gastonia, NC 28054


Speciality Publications Of Ft Lauderdale
Ultimate Corporate Advertising
8211 W Broward Blvd, Ste 350
Plantation, FL 33324


Specialized Transportation Inc
P.O. Box 71279
Chicago, IL 60694‐1279


Specialty Composites Group Limited
302 S 27th St
P.O. Box 20008
Waco, TX 76702‐0008


Specialty Composites Group Limited
dba Waco Composites
P.O. Box 20008
Waco, TX 76702‐0008


Specialty Hardware Supply Inc
10730 Overseas Hwy
Marathon, FL 33050


Specialty Papers    Supplies LLC
dba Lippmann Printing
2385 Grissom Dr
St Louis, MO 63146


Specialty Papers   Supplies LLC
dba Lippmann Printing
2391 Grissom Dr
St Louis, MO 63146


Specialty Retail Shops Holding Corp
Shopko Stores Operating Co LLC
P.O. Box 8461
Carol Stream, IL 60197‐8461


Specialty Vehicle Institute Of America
2 Jenner, Ste 150
Irvine, CA 92618‐3806


Spectra
12‐15 Hanger Green
London, W5 3El
United Kingdom


Spectrum Business
Attn General Counsel
400 Atlantic St
Stamford, CT 06901


Spectrum Industries Inc
1600 Johnson St
P.O. Box 400
Chippewa Falls, WI 54729


Spectrum Marketing Co
95 Eddy Rd
Manchester, NH 03102


Spectrum Marketing Co
95 Eddy Rd, Ste 101
Manchester, NH 03102
Spectrum Printing    Promotions
2305 E Belt Line Rd, Ste 130
Carrollton, TX 75006


Speedwell Presbyterian And Fairview
Old N State Council 070
2531 Flat Rock Rd
Reidsville, NC 27320


Speedy Products/Dba Total Mosaic
225 Cash St
Jacksonville, TX 75766


Speegle Hoffman Holman   Holifield
5 Dauphin St, Ste 301
Mobile, AL 36602


Spencer ‐ Mary, Queen Of The Rosary
Heart of New England Council 230
60 Maple St
Spencer, MA 01562


Spencer A Boos
Address Redacted


Spencer Chandler
Address Redacted


Spencer D Higdon
Address Redacted


Spencer E Kull
Address Redacted


Spencer Finley
Address Redacted


Spencer G Haywood
Address Redacted
Spencer Gaudette Kirk Post 138
American Legion
Heart Of New England Council 230
175 Main St
Spencer, Ma 01562


Spencer Harrison Horn
Address Redacted


Spencer I Cheney
Address Redacted


Spencer Kids Group
Samoset Council, Bsa 627
P.O. Box 15
Spencer, WI 54479


Spencer L Bowman
Address Redacted


Spencer L Dusso
Address Redacted


Spencer Laiben
Address Redacted


Spencer Lions Club
Hoosier Trails Council 145 145
59 N Main St
Spencer, IN 47460


Spencer Lions Club
Samoset Council, Bsa 627
408 W Clark St
Spencer, WI 54479


Spencer Lodge 290 F   Am
Baden‐Powell Council 368
P.O. Box 333
Spencer, NY 14883
Spencer M Mercado
Address Redacted


Spencer M Tacherra
Address Redacted


Spencer Miller School
Northern New Jersey Council, Bsa 333
66 Muhammad Ali Ave
Newark, NJ 07108


Spencer N Harsh
Address Redacted


Spencer Page
Address Redacted


Spencer T Hespenheide
Address Redacted


Spencer Utd Methodist Church
Last Frontier Council 480
8600 NE 47th St
Spencer, OK 73084


Spencer Ward
Address Redacted


Spencerport Fire Dept
Seneca Waterways 397
175 Lyell Ave
Spencerport, NY 14559


Spenco Medical Corp
P.O. Box 841777
Dallas, TX 75284


Spenser L Davis
Address Redacted


Spg Gift Cards
Southpark Management Office
4400 Sharon Rd, Ste 173
Charlotte, NC 28211


Spg Lake Park High Sch Oec Dist 16
Northern Star Council 250
1100 81St Ave Ne
Spring Lake Park, Mn 55432


Sphero, Inc
4772 Walnut St, Ste 206
Boulder, CO 80301


Spi Health   Safety Inc
23 Duke St
Dryden, On P8N 1E6
Canada


Spiceland Friends Church
Crossroads of America 160
P.O. Box 409
Spiceland, IN 47385


Spicewood Baptist Church
Capitol Area Council 564
7903 County Rd 404
Spicewood, TX 78669


Spielberger Law Group
202 S Hoover Blvd
Tampa, FL 33609


Spindale Utd Methodist Church Men
Piedmont Council 420
P.O. Box 241
Spindale, NC 28160


Spinnaker Pediatric Dentistry PC
Cascade Pacific Council 492
1105 12th St Se
Salem, OR 97302


Spirit And Truth Worship Center
Coastal Georgia Council 099
63 E Main St
Statesboro, GA 30458


Spirit Areosystems
Quivira Council, Bsa 198
3801 S Oliver St
Wichita, KS 67210


Spirit Lake Kiwanis Club
Mid‐America Council 326
1003 26th St
Spirit Lake, IA 51360


Spirit Of Adventure
600 W Cummings Park Dr, Ste 2750
Woburn, MA 01801‐6457


Spirit Of America Foundation‐Gaie
P.O. Box 5007
Mentor, OH 44061


Spirit Of Christ Catholic Community
Denver Area Council 061
7400 W 80th Ave
Arvada, CO 80003


Spirit Of Hope Church
Cornhusker Council 324
5801 NW 1st St
Lincoln, NE 68521


Spirit Of Hope Utd Methodist Church
Northern Star Council 250
7600 Harold Ave
Golden Valley, MN 55427
Spirit Of Joy Church
Central Florida Council 083
1801 Rouse Rd
Orlando, FL 32817


Spirit Of Joy Lutheran Church
Sioux Council 733
2208 W Laquinta St
Sioux Falls, SD 57108


Spirit Of Life Lutheran Church
North Florida Council 087
2636 New Berlin Rd
Jacksonville, FL 32226


Spirit Of Life Presbyterian Church
Northern Star Council 250
14401 Pilot Knob Rd
Apple Valley, MN 55124


Spirit Of Peace
Sioux Council 733
6509 S Cliff Ave
Sioux Falls, SD 57108


Spirit Recognition, Inc
639 Central Ave
P.O. Box 3006
Pawtucket, RI 02861


Spiritus Sanctus Academy
Southern Shores Fsc 783
4101 E Joy Rd
Ann Arbor, MI 48105


Spiritwood Manor Bellevue B Gc
Chief Seattle Council 609
Spiritwood Manor
1424 148th Ave Se
Bellevue, WA 98007
Spitfire Government Services LLC
dba S Sales CommunicationAttn    A/R
446 Crompton St
Charlotte, NC 28273


Splash Medical Devices, LLC
225 Sheridan Point Ln
Atlanta, GA 30342


Splash Superpools
3912 E Progress
North Little Rock, AR 72114


Splendora Countryside Utd Methodist
Sam Houston Area Council 576
26117 Fm 2090 E
Splendora, TX 77372


Splice
135 Delaware Ave, 1st Fl, Ste 2
Buffalo, NY 14202


Split Rock PTO
Longhouse Council 373
Split Rock School
Syracuse, NY 13215


Splitshot Creative Inc
9901 Duane Court
Huntersville, NC 28078


Spofford Fire Dept
Daniel Webster Council, Bsa 330
120 Tuttle Rd
Spofford, NH 03462


Spohn Ranch, Inc
6824 S Centinela Ave
Los Angeles, CA 90230


Spok Inc
P.O. Box 204155
Dallas, TX 75320‐4155


Spokane American Youth Hockey Assoc
Inland Nwest Council 611
6321 N Addison St
Spokane, WA 99208


Spokane Sheriff S Dept Management Assoc
Inland Nwest Council 611
1100 W Mallon Ave
Spokane, WA 99260


Spokane Valley Utd Methodist Church
Inland Nwest Council 611
115 N Raymond Rd
Spokane Valley, WA 99206


Sponholtz‐Deignan Amer Legion Post 183
Glaciers Edge Council 620
114 Freeman St
Genoa City, WI 53128


Spoo Inc
225 New York Ave
Jersey City, NJ 07307


Sport Divers Mfg
Gulfstream Commercial Ctr
1225 SW 4th Ave
Delray Beach, FL 33444


Sport Divers Mfg
P.O. Box 430517
Big Pine Key, FL 33043


Sport Divers Mfg Inc
Keys Dive   Tackle Supply
P.O. Box 500372
Marathon, FL 33050
Sport Fishing Magazine
P.O. Box 420750
Palm Coast, FL 32142‐8593


Sport Hansa, Inc
79 Dogwood Rd
Asheville, NC 28806


Sport Supply Group Inc
P.O. Box 660176
Dallas, TX 75266‐0176


Sportident
Markt 14
Arnstadt, Th, 99310
Germany


Sporting Hill Elementary School PTO
New Birth of Freedom 544
210 S Sporting Hill Rd
Mechanicsburg, PA 17050


Sporting News Magazine
P.O. Box 51573
Boulder, CO 80321‐1573


Sports   Leisure Unlimited
P.O. Box 807
1250 S White Iron Rd
Ely, MN 55731


Sports   Leisure Unlimited
P.O. Box 807
Ely, MN 55731‐0807


Sports Arena
116 N 2nd St
Raton, NM 87740


Sports Business Journal
P.O. Box 36637
Charlotte, NC 28236‐6637


Sports Chassis LLC
Last Frontier Council 480
2300 S 13th St
Clinton, OK 73601


Sports Mint, Inc
dba Commercial Maintenance Specialist
P.O. Box 306
Denver, NC 28037


Sports Stop
789 Main St
Sanford, ME 04073


Sports Stuff, Inc
1904 Lakeshore Dr E
Ashland, WI 54806


Sportsman Research   Cultural Arts Fndn
Great Rivers Council 653
8285 State Rd J
New Bloomfield, Mo 65063


Sportsman S Warehouse
1450 Renaissance Blvd Ne
Albuquerque, NM 87107


Sportsman S Warehouse
Great Salt Lake Council 590
7035 High Tech Dr
Midvale, UT 84047


Sportsmans Assoc For Firearms Education
Suffolk County Council Inc 404
P.O. Box 343
Commack, NY 11725


Sportsmans Collection Inc
Attn Lynn Kaatz
114 San Rafael Rd
St Augustine, FL 32080


Sportsmans Research   Cultural Arts Fndn
Great Rivers Council 653
2415 Cedar Lake Dr
New Bloomfield, Mo 65063


Sportsmans Supply Co
Moraine Trails Council 500
245 Freeport Rd
Butler, PA 16002


Sportsmens Club
Northeast Iowa Council 178
20262 Hwy 136
Cascade, IA 52033


Sportsmens Coonhunters Assoc
Iroquois Trail Council 376
8776 Hopkins Rd
Batavia, NY 14020


Sportys Aviation
Dan Beard Council, Bsa 438
2001 Sportys Dr
Batavia, OH 45103


Spot Coolers
P.O. Box 905322
Charlotte, NC 28290‐5322


Spotsmith
P.O. Box 1563
Plainville, MA 02762


Spotsylvania Sheriffs Office
National Capital Area Council 082
9119 Dean Ridings Ln
Spotsylvania, VA 22553
Spout Springs Church
Occoneechee 421
346 H M Cagle Dr
Cameron, NC 28326


Sprague‐Inman Post 577‐American Legion
Blackhawk Area 660
316 W Main St
P.O. Box 500


Spreckels Volunteer Fire Co
Silicon Valley Monterey Bay 055
P.O. Box 7247
Spreckels, CA 93962


Spring Arbor Volunteer Fire Assoc
Southern Shores Fsc 783
100 E Main St
Spring Arbor, MI 49283


Spring Avenue School PTO
Pathway To Adventure 456
1001 S Spring Ave
La Grange, IL 60525


Spring Branch Isd Police Dept
Sam Houston Area Council 576
9009 Ruland Rd
Houston, TX 77055


Spring Branch Presbyterian Church
Sam Houston Area Council 576
1215 Campbell Rd
Houston, TX 77055


Spring Creek
P.O. Box 246
Mt. Iron, MN 55768


Spring Creek Baptist Church
Nevada Area Council 329
368 Spring Creek Pkwy
Spring Creek, NV 89815


Spring Creek Baptist Church
Quapaw Area Council 018
19200 Interstate 30 N
Benton, AR 72019


Spring Creek Baptist Church
Sam Houston Area Council 576
1431 Rayford Rd
Spring, TX 77386


Spring Creek Barbeque, Inc
315 W State Hwy 114
Grapevine, TX 76051


Spring Creek Bbq
3514 W Airport Fwy
Irving, TX 75062


Spring Creek Charter School
Central Florida Council 083
44440 Spring Creek Rd
Paisley, FL 32767


Spring Creek Civic Org
Circle Ten Council 571
305 Spring Creek Vlg 445
Scco, Ste 445
Dallas, TX 75248


Spring Creek Civic Org
Circle Ten Council 571
7306 Tophill Ln
Dallas, TX 75248


Spring Creek Congregational
Blackhawk Area 660
4500 Spring Creek Rd
Rockford, IL 61114
Spring Creek Utd Methodist Church
Alamo Area Council 583
28970 Old Fredericksburg Rd
Boerne, TX 78015


Spring Garden Parent Teachers Assn
Baltimore Area Council 220
700 Boxwood Dr
Hampstead, MD 21074


Spring Glen Church, Congregational
Connecticut Yankee Council Bsa 072
1825 Whitney Ave
Hamden, CT 06517


Spring Grove Fire Protection Dist
Blackhawk Area 660
8214 Richardson Rd
Spring Grove, IL 60081


Spring Grove Firefighters Assoc
Blackhawk Area 660
8214 Richardson Rd
Spring Grove, IL 60081


Spring Hill Elementary School
Lincoln Heritage Council 205
201 E 15th St
Jeffersonville, IN 47130


Spring Hill Rod   Gun Inc
4901 Maccorkle Ave Sw
South Charleston, WV 25309


Spring Hill Ruritans
Heart of America Council 307
22603 S Washington Ave
Spring Hill, KS 66083


Spring Hill Suites
5800 Highpoint Dr
Irving, TX 75038
Spring Hill Utd Methodist Church
Middle Tennessee Council 560
5286 Main St
Spring Hill, TN 37174


Spring Hope Fire Dept
East Carolina Council 426
P.O. Box 806
Spring Hope, NC 27882


Spring Lake /Collective For Youth
Mid‐America Council 326
4215 S 20th St
Omaha, NE 68107


Spring Lake Assoc
Circle Ten Council 571
2280 Springlake Rd, Ste 100
Dallas, TX 75234


Spring Lake Lions Club
President Gerald R Ford 781
519 River St
Spring Lake, MI 49456


Spring Lake Park Fire Dept
Northern Star Council 250
1710 County Hwy 10
Spring Lake Park, MN 55432


Spring Lake Police Dept
Monmouth Council, Bsa 347
311 Washington Ave
Spring Lake, NJ 07762


Spring Of Life Utd Methodist Church
Central Florida Council 083
11101 Moss Park Rd
Orlando, FL 32832
Spring Rd Church Of Christ
Simon Kenton Council 441
74 S Spring Rd
Westerville, OH 43081


Spring Ridge Elementary PTO
Mid‐America Council 326
17830 Shadow Ridge Dr
Omaha, NE 68130


Spring Road School PTO
Bay‐Lakes Council 635
1191 County Rd II
Neenah, WI 54956


Spring Run Utd Methodist Church
New Birth of Freedom 544
16667 Main St
Spring Run, PA 17262


Spring Street Missionary Baptist Church
Occoneechee 421
511 Orange St
Henderson, NC 27536


Spring Valley Lions Club
Northern Star Council 250
P.O. Box 103
Spring Valley, WI 54767


Spring Valley Presbyterian
Indian Waters Council 553
125 Sparkleberry Ln
Columbia, SC 29229


Spring Valley Presbyterian Church
Indian Waters Council 553
125 Sparkleberry Ln
Columbia, SC 29229


Springboro Utd Church Of Christ
Dan Beard Council, Bsa 438
5 W Mill St
Springboro, OH 45066


Springboro Utd Methodist Church
Dan Beard Council, Bsa 438
60 E N St
Springboro, OH 45066


Springcreek School PTO
Blackhawk Area 660
5222 Spring Creek Rd
Rockford, IL 61114


Springdale 1St Ward ‐ Declo Stake
Snake River Council 111
519 E 200 S
Burley, ID 83318


Springdale 2Nd Ward ‐ Declo Stake
Snake River Council 111
515 E 200 S
Burley, ID 83318


Springdale Elementary ‐ Gfwar
Longhorn Council 662
3207 Hollis St
Fort Worth, TX 76111


Springdale Elementary School PTA
Indian Nations Council 488
2510 E Pine St
Tulsa, OK 74110


Springdale Elementary School PTA
Middle Tennessee Council 560
5675 Central Pike
Mount Juliet, TN 37122


Springdale Presbyterian Church
Lincoln Heritage Council 205
7812 Brownsboro Rd
Louisville, KY 40241
Springdale Rec Center
Dan Beard Council, Bsa 438
11999 Lawnview Ave
Cincinnati, OH 45246


Springdale Utd Presbyterian Church
Laurel Highlands Council 527
859 Pittsburgh St
Springdale, PA 15144


Springer Auto Co, Inc
P.O. Box 147
Springer, NM 87747


Springer Chamber Of Commerce
P.O. Box 323
Springer, NM 87747


Springer Drug
Box 427
Springer, NM 87747


Springer Electric Coop
P.O. Box 698
Springer, NM 87747


Springer Electric Cooperative, Inc
408 Maxwell Ave
Springer, NM 87747


Springer Enterprises Inc
2575 Hough Rd
Florence, AL 35630


Springer Little League
P.O. Box 164
Springer, NM 87747


Springer Motor Vehicle Div
501 3rd St
Springer, NM 87747


Springer Municipal Schools
P.O. Box 308
Springer, NM 87747


Springfield Estates Elementary School
National Capital Area Council 082
6200 Charles Goff Dr
Springfield, VA 22150


Springfield Faith Center
Oregon Trail Council 697
600 Hayden Bridge Way
Springfield, OR 97477


Springfield Fire Dept
Abraham Lincoln Council 144
825 E Capitol Ave
Springfield, IL 62701


Springfield Fire Dept
Daniel Webster Council, Bsa 330
P.O. Box 22
Springfield, NH 03284


Springfield Gardens High School
Greater New York Councils, Bsa 640
14310 Springfield Blvd
Springfield Gardens, NY 11413


Springfield Lions Club
Washington Crossing Council 777
P.O. Box 333
Springtown, PA 18081


Springfield School Volunteers
Western Massachusetts Council 234
1550 Main St
Springfield, MA 01103
Springfield Township Police Dept
Dan Beard Council, Bsa 438
1130 Compton Rd
Cincinnati, OH 45231


Springfield Twp Police
Great Trail 433
2465 Canfield Rd
Akron, OH 44312


Springfield Twp Police Explore
1130 Compton Rd
Cincinnati, OH 45231


Springfield Utd Methodist Church
Coastal Georgia Council 099
P.O. Box 237
Springfield, GA 31329


Springfield Utd Methodist Church
Lincoln Heritage Council 205
307 E Main St
Springfield, KY 40069


Springhill Avenue Utd Methodist
Mobile Area Council‐Bsa 004
2519 Spring Hill Ave
Mobile, AL 36607


Springhill Baptist Church
Andrew Jackson Council 303
P.O. Box 1014
Port Gibson, MS 39150


Springhill Outfitters
773 Seafood House Rd
Selma, NC 27576


Springhill Presbyterian Church
Mobile Area Council‐Bsa 004
10 Wminster Way
Mobile, AL 36608


Springhill Suites Denver Airport
18350 E 68th Ave
Denver, CO 80249


Springhill Suites‐Grapevine
2240 W Grapevine Mill Cir
Grapevine, TX 76051


Springing Up Child Development Center
Heart of America Council 307
501 Johnston Pkwy
Raymore, MO 64083


Springlake Church Of The Nazarene
Quapaw Area Council 018
21607 N Springlake Rd
Hensley, AR 72065


Springmyer Memorial School PTA
Dan Beard Council, Bsa 438
4179 Ebenezer Rd
Cincinnati, OH 45248


Springridge Utd Methodist Church
Andrew Jackson Council 303
1083 Davis Rd
Terry, MS 39170


Springridge Utd Methodist Church
Andrew Jackson Council 303
9534 Springridge Rd
Terry, MS 39170


Springs Elk Lodge 607
Denver Area Council 061
P.O. Box 607
Idaho Springs, CO 80452


Springtown First Utd Methodist Church
Longhorn Council 662
109 W 3rd St
Springtown, TX 76082


Springtown Police Dept
Longhorn Council 662
Springtown
Springtown, TX 76082


Springville Elementary School PTO
Hoosier Trails Council 145 145
P.O. Box 61
Springville, IN 47462


Springville First Utd Methodist
Greater Alabama Council 001
6471 US Hwy 11
Springville, AL 35146


Springville Mountain Lions Club
Sequoia Council 027
35944 Hwy 190
Springville, CA 93265


Springville PTO
Cascade Pacific Council 492
6655 NW Joss Ave
Portland, OR 97229


Springville Vol Fire Co
Baden‐Powell Council 368
Rr 1
Springville, PA 18844


Springwoods Elementary PTO
National Capital Area Council 082
3815 Marquis Pl
Woodbridge, VA 22192


Sprinkler Irrigation Supply Co
4610 Mcleod Rd Ne
Albuquerque, NM 87109
Sprint
P.O. Box 4181
Carol Stream, IL 60197‐4181


Sprint Mail Data Tech LP
P.O. Box 470366
Fort Worth, TX 76147


Sprint Press Inc
P.O. Box 9068
Fort Worth, TX 76147


Spruce Hill Community Assoc
Cradle of Liberty Council 525
257 S 45th St
Philadelphia, PA 19104


Spruce River Volunteer Fire Dept
Buckskin 617
P.O. Box 99
Jeffrey, WV 25114


Spry Church
New Birth of Freedom 544
50 School St
York, PA 17402


Sps Chemical Toilets
P.O. Box 136
Lemitar, NM 87823


Spss
1213 Paysphere Cir
Chicago, IL 60674


Sql Analytics LLC
dba 5280 Sql
P.O. Box 271376
Littleton, CO 80127
Squadron Line School P T O
Connecticut Rivers Council, Bsa 066
44 Squadron Line Rd
Simsbury, CT 06070


Square Deal Clothing House
1607 Walnut St
Murphysboro, IL 62966


Square One Education Network
Attn Barb Land Program Dir
670 Hillcliff Dr
Waterford, MI 48328


Squaxin Island Gaming Enterprise
dba Little Creek Casino Resort
5737 Linderson Way Sw
Olympia, WA 98501


Squeaky Door Productions Inc
304 Roosevelt Ave, Ste 1
Oakhurst, NJ 07755


Squyres Utd Methodist Men
Calcasieu Area Council 209
P.O. Box 46
Ragley, LA 70657


Srac Camp Staff
Suwannee River Area Council 664
23 Wallwood Bsa Dr
Quincy, FL 32351


Srb And Sons
1407 Sackett Cir
Orlando, FL 32818‐9066


Sri Lanka Scout Assoc
Attn Chandrasena Batuwangala
65/9 Sir C A Gardiner Mw
Colombo, 02
Ss Cyril   Methodius Catholic Church
South Texas Council 577
3210 S Padre Island Dr
Corpus Christi, TX 78415


Ss Cyril   Methodius Church
South Texas Council 577
3210 S Padre Island Dr
Corpus Christi, TX 78415


Ss Felicitas    Perpetua
Greater Los Angeles Area 033
1190 Palomar Rd
San Marino, CA 91108


Ss Mary   Mathias Parish
Illowa Council 133
215 W 8th St
Muscatine, IA 52761


Ss Peter   Paul Catholic Church
Blackhawk Area 660
410 1st St
Cary, IL 60013


Ss Peter   Paul Catholic Church
Greater St Louis Area Council 312
207 Vandalia St
Collinsville, IL 62234


Ss Peter   Paul Catholic Church
Greater St Louis Area Council 312
717 State St
Alton, IL 62002


Ss Peter   Paul Rc Church
Greater Niagara Frontier Council 380
5480 Main St
Williamsville, NY 14221
Ss Peter And Paul Parrish
Anthony Wayne Area 157
860 Cherry St
Huntington, IN 46750


Ss Robert   William Catholic Parish
Lake Erie Council 440
367 E 260th St
Euclid, OH 44132


Ssi Inc
4 Tucker Dr
Poughkeepsie, NY 12603


Ssi Technologies
1027 Waterwood Pkwy
Edmond, OK 73034


Ssi Technologies
c/o Spirit Bank
P.O. Box 4779
Tulsa, OK 74159


Ssnc Silver Spring Neighborhood Center
Three Harbors Council 636
5460 N 64th St
Milwaukee, WI 53218


Sss Triton
Skipper Phil Mcnamee
5231 Marian Ave
Cypress, CA 90630


St Abanoub Coptic Orthodox Church
National Capital Area Council 082
9207 Deer Xing
Lorton, VA 22079


St Adalbert Catholic Academy
Greater New York Councils, Bsa 640
5217 83rd St
Elmhurst, NY 11373
St Adalbert Catholic Church
Lake Erie Council 440
66 Adelbert St
Berea, OH 44017


St Adalbert Church
Ohio River Valley Council 619
39 Smithfield St
Dillonvale, OH 43917


St Adalbert‐St Roch Parish
Greater New York Councils, Bsa 640
602 Port Richmond Ave
Staten Island, NY 10302


St Adelaides Catholic Church
California Inland Empire Council 045
27457 Baseline St
Highland, CA 92346


St Agatha Roman Catholic Church
Simon Kenton Council 441
1860 Nam Rd
Upper Arlington, OH 43221


St Agatha Roman Catholic Church
The Spirit of Adventure 227
432 Adams St
Milton, MA 02186


St Agathas Roman Catholic Church
Greater New York Councils, Bsa 640
702 48th St
Brooklyn, NY 11220


St Agnes Cathedral
29 Quealy Pl
Rockville Centre, NY 11570


St Agnes Cathedral
St Joseph Catholic Church
Ozark Trails Council 306
533 S Jefferson Ave
Springfield, Mo 65806


St Agnes Cathedral
Theodore Roosevelt Council 386
29 Quealy Pl
Rockville Centre, NY 11570


St Agnes Catholic Church
Bay‐Lakes Council 635
1484 9th St
Green Bay, WI 54304


St Agnes Catholic Church
Southwest Florida Council 088
7775 Vanderbilt Beach Rd
Naples, FL 34120


St Agnes Catholic Church
The Spirit of Adventure 227
186 Woburn St
Reading, MA 01867


St Agnes Catholic Church
Water and Woods Council 782
300 Johnson St
Freeland, MI 48623


St Agnes Catholic Parish
Greater Los Angeles Area 033
2625 S Vermont Ave
Los Angeles, CA 90007


St Agnes Church
Abraham Lincoln Council 144
245 Amos
Springfield, IL 62704


St Agnes Holy Name Society
Bay‐Lakes Council 635
702 N 4th Ave
Iron River, MI 49935


St Agnes Parish Home‐School Assoc
Potawatomi Area Council 651
12801 W Fairmount Ave
Butler, WI 53007


St Agnes Roman Catholic Church
Chester County Council 539
233 W Gay St
West Chester, PA 19380


St Agnes Roman Catholic Church
Dan Beard Council, Bsa 438
1680 Dixie Hwy
Ft Wright, KY 41011


St Agnes Roman Catholic Church
Lincoln Heritage Council 205
1920 Newburg Rd
Louisville, KY 40205


St Agnes Roman Catholic Church
National Capital Area Council 082
1910 N Randolph St
Arlington, VA 22207


St Agnes Roman Catholic Church
Pathway To Adventure 456
2651 S Central Park Ave
Chicago, IL 60623


St Agnes Roman Catholic Church
San Diego Imperial Council 049
1140 Evergreen St
San Diego, CA 92106


St Agnes Roman Catholic Church
Westmoreland Fayette 512
11400 Saint Agnes Ln
N Huntingdon, PA 15642
St Agnes Sacred Heart Cyo
Washington Crossing Council 777
100 Broad St
Hilltown, PA 18927


St Aidan S Episcopal Church
Atlanta Area Council 092
13560 Cogburn Rd
Milton, GA 30004


St Aidans Episcopal Church
National Capital Area Council 082
8531 Riverside Rd
Alexandria, VA 22308


St Aidans Rc Church
Theodore Roosevelt Council 386
505 Willis Ave
Williston Park, NY 11596


St Ailbes Church
Pathway To Adventure 456
9037 S Harper Ave
Chicago, IL 60619


St Alban Roe Catholic Church
Greater St Louis Area Council 312
2001 Shepard Rd
Wildwood, MO 63038


St Alban S Episcopal Church
Northeast Georgia Council 101
210 N Broad St
Monroe, GA 30655


St Alban S Episcopal Church
San Diego Imperial Council 049
490 Farragut Cir
El Cajon, CA 92020
St Albans Episcopal Church
Longhorn Council 662
911 S Davis Dr
Arlington, TX 76013


St Albans Episcopal Church
Mount Baker Council, Bsa 606
21405 82nd Pl W
Edmonds, WA 98026


St Albert The Great Catholic Church
Great Smoky Mountain Council 557
7200 Brickey Ln
Knoxville, TN 37918


St Albert The Great Catholic Church
Lake Erie Council 440
St. Albert the Great Catholic Church
6667 Wallings Rd
North Royalton, OH 44133


St Albert The Great Catholic Church
Miami Valley Council, Bsa 444
3033 Far Hills Ave
Kettering, OH 45429


St Albert The Great Catholic Church
Nevada Area Council 329
1259 Saint Alberts Dr
Reno, NV 89503


St Albert The Great Catholic Church
Pathway To Adventure 456
8000 Linder Ave
Burbank, IL 60459


St Albert The Great Parish And School
Cradle of Liberty Council 525
212 Welsh Rd
Huntingdon Valley, PA 19006


St Albert The Great RC Ch
Lincoln Heritage Council 205
1395 Girard Dr
Louisville, Ky 40222


St Alberts School
Mid‐America Council 326
400 Gleason Ave
Council Bluffs, IA 51503


St Alexander Church
Pathway To Adventure 456
7025 W 126th St
Palos Heights, IL 60463


St Alfred Parish
Great Lakes Fsc 272
9500 Banner St
Taylor, MI 48180


St Alfreds Episcopal Church
Greater Tampa Bay Area 089
1601 Curlew Rd
Palm Harbor, FL 34683


St Aloysius Catholic Church
2025 Stuart Ave, Bldg B
Baton Rouge, LA 70808‐3979


St Aloysius Catholic Church
Abraham Lincoln Council 144
2119 N 20th St
Springfield, IL 62702


St Aloysius Catholic Church
Dan Beard Council, Bsa 438
3350 Chapel Rd
Shandon, OH 45063


St Aloysius Catholic Church
Erie Shores Council 460
P.O. Box 485
150 S Enterprise St
Bowling Green, OH 43402


St Aloysius Catholic Church
Istrouma Area Council 211
2025 Stuart Ave
Baton Rouge, LA 70808


St Aloysius Catholic Church
Lincoln Heritage Council 205
202 Mount Mercy Dr
Pewee Valley, KY 40056


St Aloysius Church
Connecticut Yankee Council Bsa 072
40 Maple St
New Canaan, CT 06840


St Aloysius Gonzaga Catholic Church
Dan Beard Council, Bsa 438
4366 Bridgetown Rd 12
Cincinnati, OH 45211


St Aloysius Gonzaga Rc Church
Greater Niagara Frontier Council 380
157 Cleveland Dr
Cheektowaga, NY 14215


St Aloysius Of Gonzaga
Daniel Webster Council, Bsa 330
48 W Hollis St
Nashua, NH 03060


St Aloysius Parish
Cradle of Liberty Council 525
223 Beech St
Pottstown, PA 19464


St Aloysius Parish
Great Lakes Fsc 272
11280 Ozga St
Romulus, MI 48174
St Aloysius Roman Catholic Church
Northern New Jersey Council, Bsa 333
219 Bloomfield Ave
Caldwell, NJ 07006


St Aloysius School
Great Lakes Fsc 272
11280 Ozga St
Romulus, MI 48174


St Alphonsus Catholic Church
Istrouma Area Council 211
14040 Greenwell Springs Rd
Greenwell Springs, LA 70739


St Alphonsus Catholic Church
Northern Star Council 250
7025 Halifax Ave N
Brooklyn Center, MN 55429


St Alphonsus Catholic Church
Pathway To Adventure 456
1429 W Wellington Ave
Chicago, IL 60657


St Alphonsus Church
Pine Burr Area Council 304
504 Jackson Ave
Ocean Springs, MS 39564


St Alphonsus Liguori Catholic Church
Crossroads of America 160
1870 W Oak St
Zionsville, IN 46077


St Alphonsus Parish
Green Mountain 592
2918 US Route 7
Pittsford, VT 05763


St Alphonsus Parish
Three Harbors Council 636
5960 W Loomis Rd
Greendale, WI 53129


St Alphonsus Rodriguez Church
Baltimore Area Council 220
10800 Old Court Rd
Woodstock, MD 21163


St Alphonsus Roman Catholic Church
Laurel Highlands Council 527
750 Pittsburgh St
Springdale, PA 15144


St Amant Fire Dept
Istrouma Area Council 211
44465 Stringer Bridge Rd
St Amant, LA 70774


St Ambrose Catholic Church
Greater St Louis Area Council 312
5130 Wilson Ave
Saint Louis, MO 63110


St Ambrose Catholic Church
Hoosier Trails Council 145 145
325 S Chestnut St
Seymour, IN 47274


St Ambrose Catholic Church
Sam Houston Area Council 576
4213 Mangum Rd
Houston, TX 77092


St Ambrose Catholic School
Greater St Louis Area Council 312
820 W Homer M Adams Pkwy
Godfrey, IL 62035


St Ambrose Church
Great Trail 433
929 Pearl Rd
Brunswick, OH 44212


St Ambrose Holy Name Society
Greater St Louis Area Council 312
5130 Wilson Ave
Saint Louis, MO 63110


St Ambrose Parish
Crossroads of America 160
2801 Lincoln St
Anderson, IN 46016


St Ambrose Parish Catholic Church
Great Salt Lake Council 590
2335 E Redondo Ave
Salt Lake City, UT 84108


St Ambrose Peni Corp
Connecticut Yankee Council Bsa 072
30 Caputo Rd
North Branford, CT 06471


St Ambrose Roman Catholic Church
Monmouth Council, Bsa 347
96 Throckmorton Ln
Old Bridge, NJ 08857


St Ambrose Roman Catholic Church
Narragansett 546
191 School St
Albion, RI 02802


St Ambrose University
Student Account Servs Office
518 W Locust
Davenport, IA 52803


St Amelia Rc Church
Greater Niagara Frontier Council 380
2999 Eggert Rd
Tonawanda, NY 14150
St Anastasia Catholic School
Gulf Stream Council 085
401 S 33rd St
Fort Pierce, FL 34947


St Anastasia Catholic Youth Org
Cradle of Liberty Council 525
3301 W Chester Pike
Newtown Square, PA 19073


St Anastasia Catholic Youth Org
Cradle of Liberty Council 525
3315 W Chester Pike
Newtown Square, PA 19073


St Anastasia Parish
Northeast Illinois 129
624 Douglas Ave
Waukegan, IL 60085


St Andre Bessette Parish
Twin Rivers Council 364
11 Church Pl
Malone, NY 12953


St Andrew By The Bay Church
Baltimore Area Council 220
701 College Pkwy
Annapolis, MD 21409


St Andrew Catholic Church
Great Alaska Council 610
16300 Domain Ln
Eagle River, AK 99577


St Andrew Catholic Church
Pathway To Adventure 456
3546 N Paulina St
Chicago, IL 60657


St Andrew Catholic Church
Sam Houston Area Council 576
827 Sheldon Rd
Channelview, TX 77530


St Andrew Catholic School
Greater Los Angeles Area 033
42 Chestnut St
Pasadena, CA 91103


St Andrew Catholic School
South Florida Council 084
9990 NW 29th St
Coral Springs, FL 33065


St Andrew Christian Church
Simon Kenton Council 441
1985 Swansford Dr
Dublin, OH 43016


St Andrew Episcopal Church
Glaciers Edge Council 620
1833 Regent St
Madison, WI 53726


St Andrew Episcopal Church
Lake Erie Council 440
7989 Little Mountain Rd
Mentor, OH 44060


St Andrew Evan Lutheran Church
Grand Canyon Council 010
3101 W Cholla St
Phoenix, AZ 85029


St Andrew Lutheran Church
Alamo Area Council 583
7420 Fm 2673
Canyon Lake, TX 78133


St Andrew Lutheran Church
Gulf Stream Council 085
295 NW Prima Vista Blvd
Port St Lucie, FL 34983


St Andrew Lutheran Church
Laurel Highlands Council 527
987 Beaver Grade Rd
Moon Township, PA 15108


St Andrew Lutheran Church
National Capital Area Council 082
14640 Soucy Pl
Centreville, VA 20120


St Andrew Lutheran Church
Three Fires Council 127
155 N Prince Crossing Rd
West Chicago, IL 60185


St Andrew Lutheran Church
Tidewater Council 596
4811 High St W
Portsmouth, VA 23703


St Andrew Lutheran Church Beaverton
Cascade Pacific Council 492
12405 SW Butner Rd
Beaverton, OR 97005


St Andrew Lutheran Church Of Cape Gir
Greater St Louis Area Council 312
804 N Cape Rock Dr
Cape Girardeau, MO 63701


St Andrew Lutheran Church Vancouver
Cascade Pacific Council 492
5607 NE Gher Rd
Vancouver, WA 98662


St Andrew Mens Society
Occoneechee 421
3008 Old Raleigh Rd
Apex, NC 27502
St Andrew Methodist Church
Los Padres Council 053
3945 S Bradley Rd
Santa Maria, CA 93455


St Andrew Parish   School
Great Salt Lake Council 590
11835 S 3600 W
Riverton, UT 84065


St Andrew Presbyterian Church
Buckskin 617
246 S Pinch Rd
Elkview, WV 25071


St Andrew Presbyterian Church
Buckskin 617
P.O. Box 868
Pinch, WV 25156


St Andrew Presbyterian Church
Chief Seattle Council 609
3604 NE 10th Ct
Renton, WA 98056


St Andrew Presbyterian Church
Crossroads of America 160
3535 Kessler Blvd N Dr
Indianapolis, IN 46222


St Andrew Presbyterian Church
Hawkeye Area Council 172
140 Gathering Pl Ln
Iowa City, IA 52246


St Andrew Presbyterian Church
Longhorn Council 662
300 W Oak St
Denton, TX 76201


St Andrew Presbyterian Church
Yucca Council 573
2115 Wedgewood Dr
El Paso, TX 79925


St Andrew Presbyterian Church
Yucca Council 573
2155 Wedgewood Dr
El Paso, TX 79925


St Andrew Presbyterian Church ‐ Boulder
Longs Peak Council 062
3700 Baseline Rd
Boulder, CO 80303


St Andrew S Anglican Church
Longs Peak Council 062
3325 Mccann Ave
Cheyenne, WY 82001


St Andrew S Church
Greater Niagara Frontier Council 380
1525 Sheridan Dr
Kenmore, NY 14217


St Andrew S Episcopal Church
Attn Rev. James Liberatore
Bay Area Council 574
2535 Broadway St
Pearland, TX 77581


St Andrew S Episcopal Church
Orange County Council 039
4400 Barranca Pkwy
Irvine, CA 92604


St Andrew S Episcopal Church
Southeast Louisiana Council 214
1031 S Carrollton Ave
New Orleans, LA 70118


St Andrew S Lodge 39, Freemasons Of Ri
Narragansett 546
18 Turner Ave
Riverside, RI 02915


St Andrew S Lutheran Church
W.L.A.C.C. 051
11555 National Blvd
Los Angeles, CA 90064


St Andrew S Presbyterian Church
Connecticut Rivers Council, Bsa 066
310 Fort Hill Rd
Groton, CT 06340


St Andrew S Presbyterian Church
Three Rivers Council 578
1350 N 23rd St
Beaumont, TX 77706


St Andrew S Roman Catholic Church
Central Florida Council 083
801 N Hastings St
Orlando, FL 32808


St Andrew The Apostle
National Capital Area Council 082
11600 Kemp Mill Rd
Silver Spring, MD 20902


St Andrew The Apostle Catholic Church
Catalina Council 011
800 Taylor Dr
Sierra Vista, AZ 85635


St Andrew The Apostle Catholic Church
Grand Canyon Council 010
3450 W Ray Rd
Chandler, AZ 85226


St Andrew The Apostle Catholic Church
National Capital Area Council 082
6720 Union Mill Rd
Clifton, VA 20124
St Andrew The Apostle Catholic Church
Rainbow Council 702
530 Glen Ave
Romeoville, IL 60446


St Andrew The Apostle Catholic Church
Southeast Louisiana Council 214
813 Heritage Ave
Terrytown, LA 70056


St Andrew The Apostle Church
National Capital Area Council 082
11600 Kemp Mill Rd
Silver Spring, MD 20902


St Andrew The Apostle R C Church
Northern New Jersey Council, Bsa 333
400 Mount Prospect Ave
Clifton, NJ 07012


St Andrew Utd Church Of Christ
Lincoln Heritage Council 205
2608 Browns Ln
Louisville, KY 40220


St Andrew Utd Methodist Church
Atlanta Area Council 092
3455 Canton Rd
Marietta, GA 30066


St Andrew Utd Methodist Church
Buckskin 617
815 Kanawha Ter
Saint Albans, WV 25177


St Andrew Utd Methodist Church
Circle Ten Council 571
5801 W Plano Pkwy
Plano, TX 75093
St Andrew Utd Methodist Church
Denver Area Council 061
9203 S University Blvd
Highlands Ranch, CO 80126


St Andrew Utd Methodist Church
Hawk Mountain Council 528
P.O. Box 434
Swamp Creek Rd


St Andrew Utd Methodist Church
Los Padres Council 053
3945 S Bradley Rd
Santa Maria, CA 93455


St Andrew Utd Methodist Church
Pathway To Adventure 456
18850 Riegel Rd
Homewood, IL 60430


St Andrew Utd Methodist Church
Sagamore Council 162
4703 N 50 W
West Lafayette, IN 47906


St Andrew Utd Methodist Church
Tecumseh 439
350 N Fairfield Rd
Beavercreek, OH 45430


St Andrew Utd Methodist Mens Club
Greater St Louis Area Council 312
3975 N Hwy 67
Florissant, MO 63034


St Andrew Utd Presbyterian
Crossroads of America 160
2401 W Moore Rd
Muncie, IN 47304


St Andrews Anglican Church
Longs Peak Council 062
3325 Mccann Ave
Cheyenne, WY 82001


St Andrews Anglican Church
Simon Kenton Council 441
7521 S Old State Rd
Lewis Center, OH 43035


St Andrews Cathedral And St James
Andrew Jackson Council 303
3921 Oakridge Dr
Episcopal Church
Jackson, MS 39216


St Andrews Catholic Church
Longhorn Council 662
3312 Dryden Rd
Fort Worth, TX 76109


St Andrews Catholic Church
Longhorn Council 662
3314 Dryden Rd
Fort Worth, TX 76109


St Andrews Catholic Church
Simon Kenton Council 441
1899 Mccoy Rd
Upper Arlington, OH 43220


St Andrews Catholic Church
Southern Shores Fsc 783
910 Austin Dr
Saline, MI 48176


St Andrews Catholic Church
Southwest Florida Council 088
2628 Del Prado Blvd S
Cape Coral, FL 33904


St Andrews Church
Connecticut Rivers Council, Bsa 066
331 Orchard St
Rocky Hill, CT 06067


St Andrews Church ‐ Mt Pleasant
Coastal Carolina Council 550
440 Whilden St
Mount Pleasant, SC 29464


St Andrews Covenant Presbyterian Church
Cape Fear Council 425
1416 Market St
Wilmington, NC 28401


St Andrews Elca Church
W.L.A.C.C. 051
11555 National Blvd
Los Angeles, CA 90064


St Andrews Episc Ch For Burks Elem
Circle Ten Council 571
6400 Mckinney Ranch Pkwy
Mckinney, Tx 75070


St Andrews Episcopal Church
Alamo Area Council 583
6110 NW Loop 410
San Antonio, TX 78238


St Andrews Episcopal Church
Baden‐Powell Council 368
40 S Main St
New Berlin, NY 13411


St Andrews Episcopal Church
Baltimore Area Council 220
2892 Route 97
Glenwood, MD 21738


St Andrews Episcopal Church
Baltimore Area Council 220
7859 Tick Neck Rd
Pasadena, MD 21122
St Andrews Episcopal Church
Bay Area Council 574
2535 Broadway St
Pearland, TX 77581


St Andrews Episcopal Church
Colonial Virginia Council 595
45 Main St
Newport News, VA 23601


St Andrews Episcopal Church
Connecticut Yankee Council Bsa 072
232 Durham Rd
Madison, CT 06443


St Andrews Episcopal Church
Greater Tampa Bay Area 089
2301 Deltona Blvd
Spring Hill, FL 34606


St Andrews Episcopal Church
Heart of America Council 307
6401 Wornall Ter
Kansas City, MO 64113


St Andrews Episcopal Church
Lake Erie Council 440
300 3rd St
Elyria, OH 44035


St Andrews Episcopal Church
Narragansett 546
169 Belleville Rd
New Bedford, MA 02745


St Andrews Episcopal Church
National Capital Area Council 082
6509 Sydenstricker Rd
Burke, VA 22015


St Andrews Episcopal Church
National Capital Area Council 082
6509 Sydenstricker Rd
Springfield, VA 22015


St Andrews Episcopal Church
Patriots Path Council 358
419 S St
New Providence, NJ 07974


St Andrews Episcopal Church
Quivira Council, Bsa 198
1062 E Chet Smith Ave
Derby, KS 67037


St Andrews Episcopal Church
Sagamore Council 162
602 W Superior St
Kokomo, IN 46901


St Andrews Episcopal Church
South Florida Council 084
14260 Old Cutler Rd
Palmetto Bay, FL 33158


St Andrews Episcopal Church
Twin Rivers Council 364
10 N Main Ave
Albany, NY 12203


St Andrews Episcopal Church La Mesa
San Diego Imperial Council 049
4816 Glen St
La Mesa, CA 91941


St Andrews Episcopal School
Andrew Jackson Council 303
305 E Capitol St
Jackson, MS 39201


St Andrews Episcopal School
Capitol Area Council 564
1112 W 31st St
Austin, TX 78705


St Andrews Episcopal School
Golden Spread Council 562
1515 S Georgia St
Amarillo, TX 79102


St Andrews Episcopal School
Scholarship Endowment Fund
1515 S Georgia St
Amarillo, TX 79102


St Andrews Lutheran Church
Chief Seattle Council 609
2650 148th Ave Se
Bellevue, WA 98007


St Andrews Lutheran Church
Cornhusker Council 324
1015 Lancaster Ln
Lincoln, NE 68505


St Andrews Lutheran Church
Great Rivers Council 653
914 W Blvd S
Columbia, MO 65203


St Andrews Lutheran Church
Northern Star Council 250
900 Stillwater Rd
Mahtomedi, MN 55115


St Andrews Lutheran Church
Suffolk County Council Inc 404
30 Brooksite Dr
Smithtown, NY 11787


St Andrews Lutheran Church
Voyageurs Area 286
501 NW 16th St
Grand Rapids, MN 55744
St Andrews Mens Society
Occoneechee 421
3008 Old Raleigh Rd
Apex, NC 27502


St Andrews Methodist Church
Indian Waters Council 553
1980 Columbia Rd
Orangeburg, SC 29115


St Andrews Methodist Church
Jersey Shore Council 341
1528 Church Rd
Toms River, NJ 08755


St Andrews Parish
Great Lakes Fsc 272
1240 Inglewood Ave
Rochester, MI 48307


St Andrews Presbyterian Charch
Mt Diablo‐Silverado Council 023
1601 Mary Dr
Pleasant Hill, CA 94523


St Andrews Presbyterian Church
Catalina Council 011
7650 N Paseo Del Norte
Tucson, AZ 85704


St Andrews Presbyterian Church
Circle Ten Council 571
3204 Skillman St
Dallas, TX 75206


St Andrews Presbyterian Church
Coastal Carolina Council 550
712 Wappoo Rd
Charleston, SC 29407


St Andrews Presbyterian Church
Greater Los Angeles Area 033
301 Ave D
Redondo Beach, CA 90277


St Andrews Presbyterian Church
Occoneechee 421
7506 Falls of Neuse Rd
Raleigh, NC 27615


St Andrews Presbyterian Church
Sam Houston Area Council 576
5308 Buffalo Speedway
Houston, TX 77005


St Andrews Roman Catholic Church
Connecticut Rivers Council, Bsa 066
128 Norwich Ave
Colchester, CT 06415


St Andrews Roman Catholic Church
Washington Crossing Council 777
81 Swamp Rd
Newtown, PA 18940


St Andrews The Apostle R C Church
Northern New Jersey Council, Bsa 333
400 Mount Prospect Ave
Clifton, NJ 07012


St Andrews Umc
Yocona Area Council 748
431 N 16th St
Oxford, MS 38655


St Andrews Umc    Most Blessed Sacrament
Istrouma Area Council 211
17150 Monitor Ave
Baton Rouge, La 70817


St Andrews Utd Methodist
Yocona Area Council 748
431 N 16th St
Oxford, MS 38655


St Andrews Utd Methodist
Yocona Area Council 748
P.O. Box 6
Oxford, MS 38655


St Andrews Utd Methodist Church
Alamo Area Council 583
722 Robinhood Pl
San Antonio, TX 78209


St Andrews Utd Methodist Church
Anthony Wayne Area 157
1413 N Long Dr
Syracuse, IN 46567


St Andrews Utd Methodist Church
Black Swamp Area Council 449
120 W Sandusky St
Findlay, OH 45840


St Andrews Utd Methodist Church
Buckskin 617
1210 20th St
Parkersburg, WV 26101


St Andrews Utd Methodist Church
Greater Alabama Council 001
615 Main Ave Sw
Cullman, AL 35055


St Andrews Utd Methodist Church
Greater Tampa Bay Area 089
3315 Bryan Rd
Brandon, FL 33511


St Andrews Utd Methodist Church
Hawk Mountain Council 528
P.O. Box 434
611 Swamp Creek Rd
St Andrews Utd Methodist Church
Istrouma Area Council 211
17510 Monitor Ave
Baton Rouge, LA 70817


St Andrews Utd Methodist Church
Last Frontier Council 480
2727 SW 119th St
Oklahoma City, OK 73170


St Andrews Utd Methodist Church
Longhorn Council 662
2045 SE Green Oaks Blvd
Arlington, TX 76018


St Andrews Utd Methodist Church
Louisiana Purchase Council 213
143 Church St
Sterlington, LA 71280


St Andrews Utd Methodist Church
Louisiana Purchase Council 213
164 Church St
Sterlington, LA 71280


St Andrews Utd Methodist Church
Mid‐America Council 326
15050 W Maple Rd
Omaha, NE 68116


St Andrews Utd Methodist Church
National Capital Area Council 082
845 N Howard St
Alexandria, VA 22304


St Andrews Utd Methodist Church
Occoneechee 421
121 Lofton Dr
Fayetteville, NC 28311


St Andrews Utd Methodist Church
Pushmataha Area Council 691
1115 Veterans Legion Dr
P.O. Box 535


St Andrews Utd Methodist Church
Washington Crossing Council 777
999 York Rd
Warminster, PA 18974


St Andrews Utd Methodist Men
Tidewater Council 596
717 Tucson Rd
Virginia Beach, VA 23462


St Andrews Utd Methodist Mens Club
Garden State Council 690
327 Marlton Pike W
Cherry Hill, NJ 08002


St Andrews Utd Presbyterian Church
Cascade Pacific Council 492
3228 SW Sunset Blvd
Portland, OR 97201


St Andrews‐Sewanee School
Middle Tennessee Council 560
290 Quintard Rd
Sewanee, TN 37375


St Angela Merici Catholic Church
Lake Erie Council 440
20970 Lorain Rd
Fairview Park, OH 44126


St Angela Merici Catholic School
Southeast Louisiana Council 214
901 Beverly Garden Dr
Metairie, LA 70002


St Angela Merici Church
Orange County Council 039
575 S Walnut Ave
Brea, CA 92821


St Angelas Catholic Church
Orange County Council 039
585 S Walnut Ave
Brea, CA 92821


St Ann Catholic Church
Circle Ten Council 571
180 Samuel Blvd
Coppell, TX 75019


St Ann Catholic Church
Circle Ten Council 571
806 N Washington St
Kaufman, TX 75142


St Ann Catholic Church
Dan Beard Council, Bsa 438
2900 W Galbraith Rd
Cincinnati, OH 45239


St Ann Catholic Church
Dan Beard Council, Bsa 438
2900 W Galbraith Rd
Groesbeck, OH 45239


St Ann Catholic Church
Greater St Louis Area Council 312
7530 Natural Bridge Rd
Saint Louis, MO 63121


St Ann Catholic Church
Gulf Coast Council 773
100 Daniel St
P.O. Box 1057
Gulf Breeze, FL 32561


St Ann Catholic Church
Last Frontier Council 480
P.O. Box 10
Elgin, OK 73538
St Ann Catholic Church
Montana Council 315
9015 Hwy 200 E
Bonner, MT 59802


St Ann Catholic Church
National Capital Area Council 082
4001 Yuma St Nw
Washington, DC 20016


St Ann Catholic Church
Occoneechee 421
357 N Cool Spring St
Fayetteville, NC 28301


St Ann Catholic Church
Rainbow Council 702
24500 S Navajo Dr
Channahon, IL 60410


St Ann Catholic School
Southeast Louisiana Council 214
4940 Meadowdale St
Metairie, LA 70006


St Ann Chapel
Norwela Council 215
305 Jefferson St
Mansfield, LA 71052


St Ann Parish
Glaciers Edge Council 620
320 N Harrison St
Stoughton, WI 53589


St Ann Roman Catholic Church
Lake Erie Council 440
2175 Coventry Rd
Cleveland Heights, OH 44118
St Ann Roman Catholic Church
Mason Dixon Council 221
1525 Oak Hill Ave
Hagerstown, MD 21742


St Ann S Catholic ‐ Bartlett
Chickasaw Council 558
6529 Stage Rd
Bartlett, TN 38134


St Ann S Catholic Church
Patriots Path Council 358
45 Anderson St
Raritan, NJ 08869


St Ann S Church
Hudson Valley Council 374
125 Richardson Ave
Shohola, PA 18458


St Ann S Church
Twin Rivers Council 364
37 Div St
Amsterdam, NY 12010


St Ann S Church   Enders Rd Home/Sch Asn
Longhouse Council 373
104 Academy St
Manlius, NY 13104


St Ann S Episcopal Church
Pine Tree Council 218
P.O. Box 911
Windham, ME 04062


St Ann S Roman Catholic Church
National Capital Area Council 082
5300 10th St N
Arlington, VA 22205


St Anne Catholic Church
Chickasaw Council 558
706 S Highland St
Memphis, TN 38111


St Anne Catholic Church
Indian Nations Council 488
301 S 9th St
Broken Arrow, OK 74012


St Anne Catholic Church
Three Fires Council 127
P.O. Box 670
Oswego, IL 60543


St Anne Catholic Church
Three Harbors Council 636
9091 Prairie Ridge Blvd
Pleasant Prairie, WI 53158


St Anne Catholic Church ‐ Ushers Club
Great Lakes Fsc 272
32000 Mound Rd
Warren, MI 48092


St Anne Catholic Community
Pathway To Adventure 456
120 S Ela Rd
Barrington, IL 60010


St Anne Catholic Community
Sam Houston Area Council 576
2140 Wheimer Rd
Houston, TX 77098


St Anne Church
Mayflower Council 251
20 Boston Rd
Southborough, MA 01772


St Anne Church
San Francisco Bay Area Council 028
32223 Cabello St
Union City, CA 94587
St Anne Church Ushers Club
Great Lakes Fsc 272
32000 Mound Rd
Warren, MI 48092


St Anne Episcopal Church
Dan Beard Council, Bsa 438
6461 Tylersville Rd
West Chester, OH 45069


St Anne Parish
Samoset Council, Bsa 627
700 W Bridge St
Wausau, WI 54401


St Anne S Catholic Church
Cradle of Liberty Council 525
2328 E Lehigh Ave
Philadelphia, PA 19125


St Anne S Episcopal Church
Longhorn Council 662
6055 Azle Ave
Fort Worth, TX 76135


St Anne S Episcopal Church
National Capital Area Council 082
25100 Ridge Rd
Damascus, MD 20872


St Anne S Episcopal Church
South Georgia Council 098
P.O. Box 889
Tifton, GA 31793


St Anne S Home   School Assoc
Three Rivers Council 578
450 N 11th St
Beaumont, TX 77702
St Anne School
Orange County Council 039
32451 Bear Brand Rd
Laguna Niguel, CA 92677


St Anne School
Three Rivers Council 578
375 N 11th St
Beaumont, TX 77702


St Annes Catholic Church
Northern Star Council 250
140 Church Hill Rd
Somerset, WI 54025


St Annes Catholic Church
Palmetto Council 549
1698 Bird St
Rock Hill, SC 29730


St Annes Catholic School
Chattahoochee Council 091
2000 Kay Cir
Columbus, GA 31907


St Annes Episcopal Church
East Carolina Council 426
711 Henderson Dr
Jacksonville, NC 28540


St Annes Parish
Sequoia Council 027
378 N F St
Porterville, CA 93257


St Annes Parish Activities Group
Minsi Trails Council 502
450 E Washington Ave
Bethlehem, PA 18017


St Annes Roman Catholic Church
Laurel Highlands Council 527
400 Hoodridge Dr
Pittsburgh, PA 15234


St Annes Roman Catholic Church
The Spirit of Adventure 227
290 Jefferson Ave
Salem, MA 01970


St Anns Basilica Roman Catholic Church
Northeastern Pennsylvania Council 501
1239 Saint Ann St
Scranton, PA 18504


St Anns Catholic Church
Aloha Council, Bsa 104
46‐129 Haiku Rd
Kaneohe, HI 96744


St Anns Catholic Church
Buffalo Trail Council 567
1906 W Texas Ave
Midland, TX 79701


St Anns Catholic Church
Erie Shores Council 460
1021 W State St
Fremont, OH 43420


St Anns Catholic Church
Heart of America Council 307
7231 Mission Rd
Prairie Village, KS 66208


St Anns Catholic Church
Heart of Virginia Council 602
105 S Snead St
Ashland, VA 23005


St Anns Catholic Church
Longhouse Council 373
104 Academy St
Manlius, NY 13104
St Anns Catholic Church
Mecklenburg County Council 415
3635 Park Rd
Charlotte, NC 28209


St Anns Catholic Church
Pathway To Adventure 456
3010 Ridge Rd
Lansing, IL 60438


St Anns Catholic Church
Tuscarora Council 424
4057 US 70 Bus Hwy W
Clayton, NC 27520


St Anns Catholic Church Morganfield
Lincoln Heritage Council 205
304 S Church St
Morganfield, KY 42437


St Anns Church
Mayflower Council 251
103 N Main St
West Bridgewater, MA 02379


St Anns Church
Narragansett 546
N Main St
Raynham, MA 02767


St Anns Holy Redeemer Parish
The Spirit of Adventure 227
42 Green St
Newburyport, MA 01950


St Anns Roman Catholic Church
Minsi Trails Council 502
415 S 6th St
Emmaus, PA 18049
St Anns Roman Catholic Church
Susquehanna Council 533
1220 Nway Rd
Williamsport, PA 17701


St Anselm Roman Catholic Church
Cradle of Liberty Council 525
12669 Dunks Ferry Rd
Philadelphia, PA 19154


St Anselms Roman Catholic Church
Greater New York Councils, Bsa 640
356 82nd St
St. Anselms Youth Activities Troop 13
Brooklyn, NY 11209


St Ansgar S Lutheran Church
Gamehaven 299
7459 Hwy 19 Blvd
Cannon Falls, MN 55009


St Anthony Catholic Church
Greater Niagara Frontier Council 380
306 Ingham Ave
Buffalo, NY 14218


St Anthony Catholic School
Mid Iowa Council 177
16 Columbus Ave
Des Moines, IA 50315


St Anthony Church
Greater Niagara Frontier Council 380
306 Ingham Ave
Lackawanna, NY 14218


St Anthony Church
Mississippi Valley Council 141 141
2223 Saint Anthony Rd
Quincy, IL 62305


St Anthony Community Center
Buffalo Trace 156
4665 S Cross St
Saint Anthony, IN 47575


St Anthony Community Center
Buffalo Trace 156
P.O. Box 34
Saint Anthony, IN 47575


St Anthony Community School
Circle Ten Council 571
3732 Myrtle St
Dallas, TX 75215


St Anthony Hospital Systems
Denver Area Council 061
11600 W 2nd Pl
Lakewood, CO 80228


St Anthony Marie De Claret Catholic Ch
Capitol Area Council 564
P.O. Box 268
Kyle, Tx 78640


St Anthony Mary Claret
Alamo Area Council 583
6150 Roft Rd
San Antonio, TX 78253


St Anthony Of Padua
Greater St Louis Area Council 312
3009 High Ridge Blvd
High Ridge, MO 63049


St Anthony Of Padua
Sequoia Council 027
5770 N Maroa Ave
Fresno, CA 93704


St Anthony Of Padua Catholic Church
Greater Tampa Bay Area 089
32832 San Antonio Way
San Antonio, FL 33576


St Anthony Of Padua Catholic Church
Las Vegas Area Council 328
6350 N Fort Apache Rd
Las Vegas, NV 89149


St Anthony Of Padua Catholic Church
Lincoln Heritage Council 205
316 N Sherwood Ave
Clarksville, IN 47129


St Anthony Of Padua Catholic Church
Occoneechee 421
160 E Vermont Ave
Southern Pines, NC 28387


St Anthony Of Padua Catholic Church
President Gerald R Ford 781
2510 Richmond St Nw
Grand Rapids, MI 49504


St Anthony Of Padua Catholic Church
Sam Houston Area Council 576
7801 Bay Branch Dr
The Woodlands, TX 77382


St Anthony Of Padua Catholic Church
Southeast Louisiana Council 214
234 Angus Dr
Luling, LA 70070


St Anthony Of Padua Catholic Parish
Sequoia Council 027
5770 N Maroa Ave
Fresno, CA 93704


St Anthony Of Padua Parish
Del Mar Va 081
901 N Dupont St
Wilmington, DE 19805
St Anthony Of Padua Parish
Patriots Path Council 358
65 Bartholdi Ave
Butler, NJ 07405


St Anthony Of Padua Parish
Pine Tree Council 218
295 Brown St
Westbrook, ME 04092


St Anthony Of Padua Rc Church
Suffolk County Council Inc 404
20 Cheshire Pl
East Nport, NY 11731


St Anthony Parish
Golden Empire Council 047
660 Florin Rd
Sacramento, CA 95831


St Anthony Parish
Montana Council 315
217 Tremont St
Missoula, MT 59801


St Anthony Park Utd Church Of Christ
Northern Star Council 250
2129 Commonwealth Ave
Saint Paul, MN 55108


St Anthony S Catholic Church
Lasalle Council 165
2310 E Jefferson Blvd
South Bend, IN 46615


St Anthony S Catholic Church
National Capital Area Council 082
1029 Monroe St Ne
Washington, DC 20017


St Anthony S Catholic Church
Northeast Iowa Council 178
1870 Saint Ambrose St
Dubuque, IA 52001


St Anthony S RC Ch Hawthorne
Northern New Jersey Council, Bsa 333
276 Diamond Bridge Ave
Hawthorne, Nj 07506


St Anthony S Roman Catholic Church
Northern New Jersey Council, Bsa 333
199 Walnut St
Northvale, NJ 07647


St Anthony S School
Three Rivers Council 578
850 Forsythe St
Beaumont, TX 77701


St Anthony School
Aloha Council, Bsa 104
148 Makawao St
Kailua, HI 96734


St Anthony School
Cascade Pacific Council 492
12645 SW Pacific Hwy
Portland, OR 97223


St Anthony School
Greater Los Angeles Area 033
1905 S San Gabriel Blvd
San Gabriel, CA 91776


St Anthony School‐5Th Street Campus
Three Harbors Council 636
1669 S 5th St
Milwaukee, WI 53204


St Anthony Summit Medical Center
Denver Area Council 061
P.O. Box 738
340 Peak One Dr
Frisco, CO 80443


St Anthonys Catholic Church
Black Swamp Area Council 449
512 W Sycamore St
Columbus Grove, OH 45830


St Anthonys Catholic Church
Great Lakes Fsc 272
409 W Columbia Ave
Belleville, MI 48111


St Anthonys Catholic Church
Northeast Iowa Council 178
1870 Saint Ambrose St 8384
Dubuque, IA 52001


St Anthonys Church
Aloha Council, Bsa 104
148 Makawao St, Ste A
Kailua, HI 96734


St Anthonys Church
Cape Cod and Islands Cncl 224
167 E Falmouth Hwy
East Falmouth, MA 02536


St Anthonys Medical Center
Greater St Louis Area Council 312
10010 Kennerly Rd
Saint Louis, MO 63128


St Anthonys Padua RC Ch
Cradle Of Liberty Council 525
259 Forest Ave
Ambler, Pa 19002


St Anthonys Rc Church
Greater Niagara Frontier Council 380
421 Commercial St
Farnham, NY 14061
St Anthonys Roman Catholic Church
Hudson Valley Council 374
34 W Nyack Rd
Nanuet, NY 10954


St Anthonys Roman Catholic Church
Theodore Roosevelt Council 386
110 Anchor Ave
Oceanside, NY 11572


St Antoninus Roman Catholic Church
Dan Beard Council, Bsa 438
1500 Linneman Rd
Cincinnati, OH 45238


St Asaph Episcopal Church
Cradle of Liberty Council 525
27 Conshohocken State Rd
Bala Cynwyd, PA 19004


St Athanasius Booster Club
Lincoln Heritage Council 205
5915 Outer Loop
Louisville, KY 40219


St Athanasius Church
The Spirit of Adventure 227
300 Haverhill St
Reading, MA 01867


St Athanasius Church School
Northeast Illinois 129
1615 Lincoln St
Evanston, IL 60201


St Athanasius Roman Catholic Church
Greater New York Councils, Bsa 640
2154 61st St
Brooklyn, NY 11204
St Athanasius Roman Catholic Church
Laurel Highlands Council 527
6 Wentworth Ave
Pittsburgh, PA 15229


St Augusta Lions Club
Central Minnesota 296
3750 210th St
Saint Augusta, MN 55382


St Augustine
Southern Shores Fsc 783
6481 Faussett Rd
Howell, MI 48855


St Augustine Catholic Church
Cherokee Area Council 556
1716 Anderson Pike
Signal Mountain, TN 37377


St Augustine Elks Lodge 829
North Florida Council 087
1420 A1A S
Saint Augustine, FL 32080


St Augustine Episcopal Church
Aloha Council, Bsa 104
P.O. Box 220
Kapaau, HI 96755


St Augustine Episcopal Church
Greater New York Councils, Bsa 640
4301 Ave D
Brooklyn, NY 11203


St Augustine Episcopal Church
Last Frontier Council 480
14700 N May Ave
Oklahoma City, OK 73134


St Augustine High School
South Texas Council 577
1300 Galveston St
Laredo, TX 78040


St Augustine Of Canterbury Parish
Greater St Louis Area Council 312
1910 W Belle St
Belleville, IL 62226


St Augustine Rcc
Narragansett 546
17 Lincoln St
P.O. Box 710
Millville, MA 01529


St Augustine Roman Catholic Church
Hudson Valley Council 374
140 Maple Ave
New City, NY 10956


St Augustine Roman Catholic Church
Narragansett 546
20 Old Rd
Providence, RI 02908


St Augustine Roman Catholic Church
Twin Rivers Council 364
P.O. Box 327
2472 State Route 11
North Bangor, NY 12966


St Augustine S Council 7273 K Of C
Twin Rivers Council 364
3035 Main St
Peru, NY 12972


St Augustines Church
Baltimore Area Council 220
5976 Old Washington Rd
Elkridge, MD 21075


St Augustines Roman Catholic Church
Westchester Putnam 388
18 Cherry Ave
Larchmont, NY 10538


St Augustines Roman Catholic Church
Westchester Putnam 388
Eagle Park, Route 9
Ossining, NY 10562


St Augustins Catholic Church
Mid Iowa Council 177
545 42nd St
Des Moines, IA 50312


St Austin Catholic Church
Capitol Area Council 564
2026 Guadalupe St
Austin, TX 78705


St Barbara Greek Orthodox Church
Connecticut Yankee Council Bsa 072
480 Racebrook Rd
Orange, CT 06477


St Barbara Roman Catholic Church
Westmoreland Fayette 512
111 Raymaley Rd
Harrison City, PA 15636


St Barnabas Catholic Church
Long Beach Area Council 032
3955 Orange Ave
Long Beach, CA 90807


St Barnabas Catholic Church
Narragansett 546
1697 E Main Rd
Portsmouth, RI 02871


St Barnabas Church
Jersey Shore Council 341
P.O. Box 1
33 Woodland Rd
Bayville, NJ 08721


St Barnabas Church
Narragansett 546
3257 Post Rd
Warwick, RI 02886


St Barnabas Episcopal Church
Capitol Area Council 564
601 W Creek St
Fredericksburg, TX 78624


St Barnabas Episcopal Church
Cascade Pacific Council 492
2201 SW Vermont St
Portland, OR 97219


St Barnabas Episcopal Church
Circle Ten Council 571
1200 N Shiloh Rd
Garland, TX 75042


St Barnabas Episcopal Church
Del Mar Va 081
2800 Duncan Rd
Wilmington, DE 19808


St Barnabas Episcopal Church
Longhorn Council 662
8425 Parkwood Hill Blvd
Fort Worth, TX 76137


St Barnabas Lutheran Church
Blackhawk Area 660
8901 Cary Algonquin Rd
Cary, IL 60013


St Barnabas Lutheran Church
Greater New York Councils, Bsa 640
15919 98th St
Howard Beach, NY 11414
St Barnabas Lutheran Church
Northern Star Council 250
15600 Old Rockford Rd
Plymouth, MN 55446


St Barnabas On The Desert
Grand Canyon Council 010
6715 N Mockingbird Ln
Scottsdale, AZ 85253


St Barnabas R C Church
Greater New York Councils, Bsa 640
409 E 241st St
Bronx, NY 10470


St Barnabas Rcc
Crossroads of America 160
8300 Rahke Rd
Indianapolis, IN 46217


St Barnabas Roman Catholic Church
Greater New York Councils, Bsa 640
409 E 241st St
Bronx, NY 10470


St Barnabas Roman Catholic Church
Theodore Roosevelt Council 386
2320 Bedford Ave
Bellmore, NY 11710


St Bartholomew Catholic Church
Dan Beard Council, Bsa 438
9375 Winton Rd
Cincinnati, OH 45231


St Bartholomew Catholic Church
South Florida Council 084
8005 Miramar Pkwy
Miramar, FL 33025


St Bartholomew Episcopal Church
Garden State Council 690
1989 Marlton Pike E
Cherry Hill, NJ 08003


St Bartholomew Episcopal Church
Lake Erie Council 440
435 Som Center Rd
Mayfield Village, OH 44143


St Bartholomew Rc Church
Patriots Path Council 358
2032 Wfield Ave
Scotch Plains, NJ 07076


St Bartholomew Roman Catholic Church
Monmouth Council, Bsa 347
460 Ryders Ln
East Brunswick, NJ 08816


St Bartholomew S Episcopal Church
San Diego Imperial Council 049
16275 Pomerado Rd
Poway, CA 92064


St Bartholomew The Apostle Catholic Ch
Sam Houston Area Council 576
5356 11Th St
Katy, Tx 77493


St Bartholomews Catholic Church
Baltimore Area Council 220
3071 Park Ave
Manchester, MD 21102


St Bartholomews Episcopal Church
Atlanta Area Council 092
1790 Lavista Rd Ne
Atlanta, GA 30329


St Bartholomews Episcopal Church
San Diego Imperial Council 049
16275 Pomerado Rd
Poway, CA 92064


St Bartholomews Episcopal Church
South Texas Council 577
622 Airline Rd
Corpus Christi, TX 78412


St Basil Catholic Church
Evangeline Area 212
1803 Duhon Rd
Duson, LA 70529


St Basil The Great Roman Catholic Church
Lake Erie Council 440
8700 Brecksville Rd
Brecksville, OH 44141


St Bede School
Northeast Illinois 129
36399 N Wilson Rd
Ingleside, IL 60041


St Bede The Venerable
Greater Los Angeles Area 033
215 Foothill Blvd
La Canada Flintridge, CA 91011


St Bede The Venerable Church
Lake Erie Council 440
9114 Lake Shore Blvd
Mentor, OH 44060


St Bedes Catholic Church
Washington Crossing Council 777
1071 Holland Rd
Holland, PA 18966


St Bedes Roman Catholic Church
Laurel Highlands Council 527
509 S Dallas Ave
Pittsburgh, PA 15208
St Benedict Cathedral
Buffalo Trace 156
1312 Lincoln Ave
Evansville, IN 47714


St Benedict Catholic Church
Atlanta Area Council 092
11045 Parsons Rd
Johns Creek, GA 30097


St Benedict Catholic Church
Glaciers Edge Council 620
P.O. Box 110
Fontana, WI 53125


St Benedict Catholic Church
Heart of Virginia Council 602
300 N Sheppard St
Richmond, VA 23221


St Benedict Church
Greater Los Angeles Area 033
1022 W Cleveland Ave
Montebello, CA 90640


St Benedict Parish
Bay‐Lakes Council 635
P.O. Box 66
3370 Deerfield W
Suamico, WI 54173


St Benedict Parish
Westmoreland Fayette 512
260 Bruno Rd
Greensburg, PA 15601


St Benedict Parish Council
Pathway To Adventure 456
2215 W Irving Park Rd
Chicago, IL 60618
St Benedict RC Parish Phoenix
Grand Canyon Council 010
16223 S 48Th St
Phoenix, Az 85048


St Benedict The Abbot Church
Laurel Highlands Council 527
120 Abington Dr
Mcmurray, PA 15317


St Benedicts Catholic Church
Last Frontier Council 480
632 N Kickapoo Ave
Shawnee, OK 74801


St Benedicts Catholic Church
Pony Express Council 311
1001 N 2nd St
Atchison, KS 66002


St Benedicts Catholic Church Youth Group
Indian Nations Council 488
2200 W Ithica St
Broken Arrow, OK 74012


St Benedicts Episcopal Day School
Atlanta Area Council 092
2160 Cooper Lake Rd Se
Smyrna, GA 30080


St Benedicts School
Monmouth Council, Bsa 347
165 Bethany Rd
Holmdel, NJ 07733


St Benilde Catholic Church
Southeast Louisiana Council 214
1901 Div St
Metairie, LA 70001


St Benjamin S Lutheran Church
Baltimore Area Council 220
700 Kriders Cemetary Rd
Westminster, MD 21158


St Bernadette Catholic Church
Bay‐Lakes Council 635
2331 E Lourdes Dr
Appleton, WI 54915


St Bernadette Catholic Church
Evangeline Area 212
1112 Saturn Rd
Morgan City, LA 70380


St Bernadette Catholic Church
Great Swest Council 412
1800 Martha St Ne
Albuquerque, NM 87112


St Bernadette Catholic Church
Lake Erie Council 440
2256 Clague Rd
Westlake, OH 44145


St Bernadette Catholic Church
Lincoln Heritage Council 205
6500 Saint Bernadette Ave
Prospect, KY 40059


St Bernadette Catholic Church
National Capital Area Council 082
7600 Old Keene Mill Rd
Springfield, VA 22152


St Bernadette Catholic Church
Occoneechee 421
1005 Wilbon Rd
Fuquay Varina, NC 27526


St Bernadette Catholic Church
Ozark Trails Council 306
P.O. Box 167
Hermitage, MO 65668
St Bernadette Catholic Church
Sam Houston Area Council 576
15500 El Camino Real
Houston, TX 77062


St Bernadette Church
Dan Beard Council, Bsa 438
1475 Locust Lake Rd
Amelia, OH 45102


St Bernadette Church
Monmouth Council, Bsa 347
20 Villanova Rd
Parlin, NJ 08859


St Bernadette Church
Southeast Louisiana Council 214
215 J Patrick Dr
Houma, LA 70364


St Bernadette S Catholic Church
Grand Canyon Council 010
16245 N 60th St
Scottsdale, AZ 85254


St Bernadette S Roman Catholic Church
Baltimore Area Council 220
801 Stevenson Rd
Severn, MD 21144


St Bernadettes Church
Laurel Highlands Council 527
Azalea Dr
Monroeville, PA 15146


St Bernadettes R C Church
Laurel Highlands Council 527
245 Azalea Dr
Monroeville, PA 15146
St Bernadettes Roman Catholic Church
National Capital Area Council 082
70 University Blvd E
Silver Spring, MD 20901


St Bernard Academy
Middle Tennessee Council 560
2020 24th Ave S
Nashville, TN 37212


St Bernard Catholic Church
Bay‐Lakes Council 635
2040 Hillside Ln
Green Bay, WI 54302


St Bernard Catholic Church
Evangeline Area 212
304 N Main St
Breaux Bridge, LA 70517


St Bernard Catholic Church
Evangeline Area 212
219 E Bridge St
Breaux Bridge, LA 70517


St Bernard Church
Dan Beard Council, Bsa 438
7130 Harrison Ave
Cincinnati, OH 45247


St Bernard Roman Catholic Church
Laurel Highlands Council 527
311 Washington Rd
Pittsburgh, PA 15216


St Bernard S Catholic Church
Rainbow Council 702
14135 S Parker Rd
Homer Glen, IL 60491


St Bernardines Parish
W.L.A.C.C. 051
24410 Calvert St
Woodland Hills, CA 91367


St Bernardines Parish
W.L.A.C.C. 051
6061 Valley Cir Blvd
Woodland Hills, CA 91367


St Bernards Catholic Church
Crossroads of America 160
1306 E Main St
Crawfordsville, IN 47933


St Bernards Catholic Church
Glaciers Edge Council 620
2450 Atwood Ave
Madison, WI 53704


St Bernards Catholic Church
Indian Nations Council 488
4001 E 101st St
Tulsa, OK 74137


St Bernards Catholic Church
Narragansett 546
275 Tower Hill Rd
North Kingstown, RI 02852


St Bernards Catholic Church
South Florida Council 084
8279 Sunset Strip
Sunrise, FL 33322


St Bernards Catholic Church
Theodore Roosevelt Council 386
3100 Hempstead Tpke
Levittown, NY 11756


St Bernards Mens Club
Northern Star Council 250
1160 Woodbridge St
Saint Paul, MN 55117
St Bernards Parish
Montana Council 315
226 Wicks Ln
Billings, MT 59105


St Bernards Parish Council
Three Harbors Council 636
7440 Harwood Ave
Milwaukee, WI 53213


St Bernards R C C
Narragansett 546
P.O. Box 370
Assonet, MA 02702


St Bernards Roman Catholic Church
Laurel Highlands Council 527
311 Washington Rd
Pittsburgh, PA 15216


St Bernards Roman Catholic Church
President Gerald R Ford 781
5734 W 10 1/2 Mile Rd
Irons, MI 49644


St Bethlehem Utd Methodist Church
Middle Tennessee Council 560
2201 Old Russellville Pike
Clarksville, TN 37040


St Blaise Roman Catholic Church
Mayflower Council 251
1158 S Main St
Bellingham, MA 02019


St Bonaventure Catholic Church
Mid‐America Council 326
1565 18th Ave
Columbus, NE 68601
St Bonaventure Catholic Church
South Florida Council 084
1301 SW 136th Ave
Davie, FL 33325


St Bonaventure Church
Orange County Council 039
16400 Springdale St
Huntington Beach, CA 92649


St Bonaventure Roman Catholic Church
Laurel Highlands Council 527
2001 Mount Royal Blvd
Glenshaw, PA 15116


St Bonaventure S Knights Of Columbus
Mayflower Council 251
P.O. Box 600
Manomet, MA 02345


St Bonaventure University
Office of Financial Aid
3261 W State Rd
St Bonaventure, NY 14778


St Boniface Catholic Church
Attn Pack 20 Cub Scouts
Westark Area Council 016
1820 N B St
Fort Smith, AR 72901


St Boniface Catholic Church
Sagamore Council 162
318 N 9th St
Lafayette, IN 47904


St Boniface Church
French Creek Council 532
9367 Wattsburg Rd
Erie, PA 16509


St Boniface Parish
Buffalo Trace 156
1626 Glendale Ave
Evansville, IN 47712


St Boniface Roman Catholic Church
French Creek Council 532
9367 Wattsburg Rd
Erie, PA 16509


St Boniface School
Potawatomi Area Council 651
W204N11968 Goldendale Rd
Germantown, WI 53022


St Brendan Catholic Church
Simon Kenton Council 441
4475 Dublin Rd
Hilliard, OH 43026


St Brendan Roman Catholic Church
Narragansett 546
60 Turner Ave
Riverside, RI 02915


St Brendans Anglican Parish
Katahdin Area Council 216
14 Mckinley Ln
Bass Harbor, ME 04653


St Brendans Catholic Church
Lake Erie Council 440
4242 Brendan Ln
North Olmsted, OH 44070


St Brendans Roman Catholic Church
Greater New York Councils, Bsa 640
1525 E 12th St
Brooklyn, NY 11230


St Bridget Catholic Church
Blackhawk Area 660
600 Clifford Ave
Loves Park, IL 61111


St Bridget Catholic Church
Mayflower Council 251
15 Wheeler Ave
Framingham, MA 01702


St Bridget Catholic Church
Pathway To Adventure 456
568 E 2nd St
Hobart, IN 46342


St Bridget Catholic School
Pathway To Adventure 456
107 Main St
Hobart, IN 46342


St Bridget Of Kildare Church
Connecticut Rivers Council, Bsa 066
75 Moodus Leesville Rd
Moodus, CT 06469


St Bridget Of Sweden Parish
W.L.A.C.C. 051
16711 Gault St
Van Nuys, CA 91406


St Bridget Of Sweden Parish
W.L.A.C.C. 051
7120 Whitaker Ave
Van Nuys, CA 91406


St Bridgets
Mayflower Council 251
1 Percival St
Maynard, MA 01754


St Bridgets Chinese Catholic Center
Greater Los Angeles Area 033
510 Cottage Home St
Los Angeles, CA 90012
St Bridgets Church
Heart of Virginia Council 602
6006 Three Chopt Rd
St Bridgets Church
Richmond, VA 23226


St Bridgets Home   School Assoc
Blackhawk Area 660
604 Clifford Ave
Loves Park, IL 61111


St Brigid Catholic Church
Atlanta Area Council 092
3400 Old Alabama Rd
Johns Creek, GA 30022


St Brigid Catholic Church
Chickasaw Council 558
7801 Lowrance Rd
Memphis, TN 38125


St Brigid Catholic Church
San Diego Imperial Council 049
4735 Cass St
San Diego, CA 92109


St Brigid Catholic Church
Water and Woods Council 782
130 W Larkin St
Midland, MI 48640


St Brigid Catholic School
Water and Woods Council 782
130 W Larkin St
Midland, MI 48640


St Brigid Of Kildare Catholic Church
Simon Kenton Council 441
7179 Avery Rd
Dublin, OH 43017
St Brigid Roman Catholic Church
Tecumseh 439
258 Purcell Dr
Xenia, OH 45385


St Brigid Roman Catholic Church
The Spirit of Adventure 227
2001 Massachusetts Ave
Lexington, MA 02421


St Brigids Roman Catholic Church
Theodore Roosevelt Council 386
75 Post Ave
Westbury, NY 11590


St Bronislava Catholic Church
Samoset Council, Bsa 627
P.O. Box 158
Plover, WI 54467


St Bruno Parish    School Community
Pathway To Adventure 456
4751 S Harding Ave
Chicago, IL 60632


St Callistus Roman Catholic Church
Allegheny Highlands Council 382
342 Chase St
Kane, PA 16735


St Camillus Parish
The Spirit of Adventure 227
1175 Concord Tpke
Arlington, MA 02476


St Camillus Roman Catholic Church
National Capital Area Council 082
1600 Saint Camillus Dr
Silver Spring, MD 20903


St Casimir Roman Catholic Church
Water and Woods Council 782
815 Sparrow Ave
Lansing, MI 48910


St Catharine Catholic Church
Dan Beard Council, Bsa 438
2848 Fischer Pl
Cincinnati, OH 45211


St Catharine Of Siena
Simon Kenton Council 441
500 S Gould Rd
Columbus, OH 43209


St Catharine Siena RC Ch
Hawk Mountain Council 528
2427 Perkiomen Ave
Reading, Pa 19606


St Catherine Catholic Church
Dan Beard Council, Bsa 438
2848 Fischer Pl
Cincinnati, OH 45211


St Catherine Laboure
Greater St Louis Area Council 312
9740 Sappington Rd
Saint Louis, MO 63128


St Catherine Laboure Holy Name Society
Greater Los Angeles Area 033
3846 Redondo Beach Blvd
Torrance, CA 90504


St Catherine Laboure School
Northeast Illinois 129
3425 Thornwood Ave
Glenview, IL 60026


St Catherine Of Alexandria Episcopal
Greater Tampa Bay Area 089
502 Druid Hills Rd
Temple Terrace, FL 33617
St Catherine Of Alexandria Parish
Silicon Valley Monterey Bay 055
17400 Peak Ave
Morgan Hill, CA 95037


St Catherine Of Siena
Capitol Area Council 564
4800 Convict Hill Rd
Austin, TX 78749


St Catherine Of Siena
Cradle of Liberty Council 525
321 Witmer Rd
Horsham, PA 19044


St Catherine Of Siena
Occoneechee 421
520 W Holding Ave
Wake Forest, NC 27587


St Catherine Of Siena
Western Massachusetts Council 234
1023 Parker St
Springfield, MA 01129


St Catherine Of Siena Catholic Church
Central Florida Council 083
2750 E Osceola Pkwy
Kissimmee, FL 34743


St Catherine Of Siena Catholic Church
Greater Tampa Bay Area 089
1955 S Belcher Rd
Clearwater, FL 33764


St Catherine Of Siena Catholic Church
Mayflower Council 251
547 Washington St
Norwood, MA 02062
St Catherine Of Siena Catholic Church
Occoneechee 421
520 W Holding Ave
Wake Forest, NC 27587


St Catherine Of Siena Catholic Church
Southeast Louisiana Council 214
105 Bonnabel Blvd
Metairie, LA 70005


St Catherine Of Siena Catholic Church
Southern Shores Fsc 783
1150 W Centre Ave
Portage, MI 49024


St Catherine Of Siena Church
Bucktail Council 509
116 S State St
Du Bois, PA 15801


St Catherine Of Siena Church
Pathway To Adventure 456
7132 Arizona Ave
Hammond, IN 46323


St Catherine Of Siena Parish
Mt Diablo‐Silverado Council 023
1125 Ferry St
Martinez, CA 94553


St Catherine Of Siena Parish
Water and Woods Council 782
2956 E N Union Rd
Bay City, MI 48706


St Catherine Of Sienna
Erie Shores Council 460
1155 Corbin Rd
Toledo, OH 43612


St Catherine Of Sienna Catholic Church
California Inland Empire Council 045
339 N Sycamore Ave
Rialto, CA 92376


St Catherine Of Sienna Catholic Church
Inland Nwest Council 611
206 Summit Blvd
Priest River, ID 83856


St Catherine Of Sienna Episcopal Church
Sam Houston Area Council 576
4747 Sienna Pkwy
Missouri City, TX 77459


St Catherine Of Sweden Parish
Laurel Highlands Council 527
2554 Wildwood Rd
Allison Park, PA 15101


St Catherine Of Sweden Parish
Laurel Highlands Council 527
2554 Wildwood Rd At Vitullo
Wildwood, PA 15091


St Catherine Parish
Northern New Jersey Council, Bsa 333
112 Erskine Rd
Ringwood, NJ 07456


St Catherine S Catholic Church
Atlanta Area Council 092
1618 Ben King Rd Nw
Kennesaw, GA 30144


St Catherine S Center For Children
Twin Rivers Council 364
30 N Main St
Albany, NY 12203


St Catherine Siena RC Ch
Hawk Mountain Council 528
2427 Perkiomen Ave
Reading, Pa 19606
St Catherine Siena RC Ch
Washington Crossing Council 777
2 White Bridge Rd
Pittstown, Nj 08867


St Catherines Catholic Church
North Florida Council 087
1649 Kingsley Ave
Orange Park, FL 32073


St Catherines Center For Children
c/o Joanne Richmond
30 N Main Ave
Albany, NY 13202


St Catherines Episcopal Church
Atlanta Area Council 092
681 Holt Rd Ne
Marietta, GA 30068


St Catherines Holy Name Society
Erie Shores Council 460
4555 N Haven Ave
Toledo, OH 43612


St Catherines Roman Catholic Church
The Spirit of Adventure 227
107 N Main St
Westford, MA 01886


St Cecilia Catholic Church
Chief Seattle Council 609
1310 Madison Ave N
Bainbridge Island, WA 98110


St Cecilia Catholic Church
Greater St Louis Area Council 312
155 N Main St
Glen Carbon, IL 62034
St Cecilia Catholic Church
Orange County Council 039
1301 Sycamore Ave
Tustin, CA 92780


St Cecilia Catholic Church
Sam Houston Area Council 576
11720 Joan of Arc Dr
Houston, TX 77024


St Cecilia Catholic Community
Southwest Florida Council 088
5632 Sunrise Dr
Fort Myers, FL 33919


St Cecilia Parish
Bay‐Lakes Council 635
510 Brady Ave
Caspian, MI 49915


St Cecilia Parish
Overland Trails 322
301 W 7th St
Hastings, NE 68901


St Cecilias Catholic Church
Mid‐America Council 326
701 N 40th St
Omaha, NE 68131


St Cecilias Catholic Church
Quivira Council, Bsa 198
1912 W Grand Ave
Haysville, KS 67060


St Cecilias Roman Catholic Church
Cradle of Liberty Council 525
535 Rhawn St
Philadelphia, PA 19111


St Cecilias Roman Catholic Church
Western Massachusetts Council 234
42 Main St
Wilbraham, MA 01095


St Celestine School Parents Club
Pathway To Adventure 456
3017 N 77th Ave
Elmwood Park, IL 60707


St Chad S Episcopal Church
Great Swest Council 412
7171 Tennyson St Ne
Albuquerque, NM 87122


St Charles American Legion Post 342
Three Fires Council 127
311 N 2nd St
St Charles, IL 60174


St Charles Avenue Presbyterian Church
Southeast Louisiana Council 214
1545 State St
New Orleans, LA 70118


St Charles Borromeo
Piedmont Council 420
714 W Union St
Morganton, NC 28655


St Charles Borromeo Catholic Church
Anthony Wayne Area 157
4670 Trier Rd
Fort Wayne, IN 46815


St Charles Borromeo Catholic Church
Hoosier Trails Council 145 145
2222 E 3rd St
Bloomington, IN 47401


St Charles Borromeo Catholic Church
Lake Erie Council 440
5891 Ridge Rd
Parma, OH 44129
St Charles Borromeo Catholic Church
Northern Star Council 250
2739 Stinson Blvd
Saint Anthony, MN 55418


St Charles Borromeo Catholic Church
Pacific Harbors Council, Bsa 612
7112 S 12th St
Tacoma, WA 98465


St Charles Borromeo Catholic Church
Three Rivers Council 578
211 Hardy Ave
Nederland, TX 77627


St Charles Borromeo Church
Erie Shores Council 460
1842 S Ave
Toledo, OH 43609


St Charles Borromeo Church
Greater St Louis Area Council 312
601 N 4th St
Saint Charles, MO 63301


St Charles Borromeo Church
Greater St Louis Area Council 312
921 Madison Ave
Charleston, IL 61920


St Charles Borromeo Church
Seneca Waterways 397
3003 Dewey Ave
Rochester, NY 14616


St Charles Borromeo Home School
Greater St Louis Area Council 312
601 N 4th St
Saint Charles, MO 63301
St Charles Borromeo Parish
Greater St Louis Area Council 312
20 Wbury Dr
Saint Charles, MO 63301


St Charles Borromeo Parish
San Francisco Bay Area Council 028
1315 Lomitas Ave
Livermore, CA 94550


St Charles Borromeo Rc Church
Washington Crossing Council 777
1731 Hulmeville Rd
Bensalem, PA 19020


St Charles Catholic Church
Miami Valley Council, Bsa 444
4500 Ackerman Blvd
Kettering, OH 45429


St Charles Catholic Church
Piedmont Council 420
728 W Union St
Morganton, NC 28655


St Charles Catholic Church
Potawatomi Area Council 651
526 Renson Rd
Hartland, WI 53029


St Charles Catholic Church
Three Rivers Council 578
103 Hardy Ave
Nederland, TX 77627


St Charles Episcopal Church
Three Fires Council 127
994 N 5th Ave
Saint Charles, IL 60174


St Charles Fraternal Order Of Police
Southeast Louisiana Council 214
220 Judge Edward Dufresne Pkwy
Luling, LA 70070


St Charles Fraternal Order Of Police 15
Southeast Louisiana Council 214
12628 River Rd
Destrehan, LA 70047


St Charles Loyal Order Of
The Moose Lodge 1368
Three Fires Council 127
2250 W Lincoln Hwy
P.O. Box 309
St Charles, Il 60174


St Charles Parents For Scouting
Heart of America Council 307
900 NE Shady Lane Dr
Kansas City, MO 64118


St Charles Parish
Black Swamp Area Council 449
2200 W Elm St
Lima, OH 45805


St Charles Parish
Potawatomi Area Council 651
313 Cir Dr
Hartland, WI 53029


St Charles Parish
The Spirit of Adventure 227
280 Main St
Woburn, MA 01801


St Charles Parish School Board
Attn Sales and Use Tax Dept
P.O. Box 46
Luling, LA 70070


St Charles Police Explorers
Greater St Louis Area Council 312
1781 Zumbehl Rd
Saint Charles, MO 63303


St Charles PTO
Hoosier Trails Council 145 145
2224 E 3rd St
Bloomington, IN 47401


St Charles River Church
Greater St Louis Area Council 312
810 Wwood Industrial Park Dr
Weldon Spring, MO 63304


St Charles Roman Catholic Church
Great Trail 433
7345 Wview Dr
Boardman, OH 44512


St Charles Utd Methodist Church
Southeast Louisiana Council 214
P.O. Box 693
Destrehan, LA 70047


St Christina Roman Catholic Church
Pathway To Adventure 456
11005 S Homan Ave
Chicago, IL 60655


St Christine Roman Catholic Church
Great Trail 433
3165 S Schenley Ave
Youngstown, OH 44511


St Christopher By‐The‐River Episc Ch
Lake Erie Council 440
7601 Old Mill Rd
Gates Mills, Oh 44040


St Christopher Catholic Church
Crossroads of America 160
5301 W 16th St
Indianapolis, IN 46224
St Christopher Catholic Church
Lake Erie Council 440
20141 Detroit Rd
Rocky River, OH 44116


St Christopher Catholic Church
Simon Kenton Council 441
1420 Grandview Ave
Columbus, OH 43212


St Christopher Church
Miami Valley Council, Bsa 444
435 E National Rd
Vandalia, OH 45377


St Christopher Church And School
Silicon Valley Monterey Bay 055
2278 Booksin Ave
San Jose, CA 95125


St Christopher Episcopal Church
Bay Area Council 574
P.O. Box 852
League City, TX 77574


St Christopher Holy Name Mens Club
Pathway To Adventure 456
14641 Keeler Ave
Midlothian, IL 60445


St Christopher Parish
Daniel Webster Council, Bsa 330
62 Manchester St
Nashua, NH 03064


St Christopher Parish Activities Comm
Miami Valley Council, Bsa 444
435 E National Rd
Vandalia, OH 45377
St Christopher Roman Catholic Church
Cradle of Liberty Council 525
13301 Proctor Rd
Philadelphia, PA 19116


St Christopher Roman Catholic Church
Greater New York Councils, Bsa 640
130 Midland Ave
Staten Island, NY 10306


St Christopher S Episcopal Church
Palmetto Council 549
400 Dupre Dr
Spartanburg, SC 29307


St Christopher S The Martyr Catholic Ch
Southeast Louisiana Council 214
309 Manson Ave
Metairie, La 70001


St Christopher The Martyr Catholic
Southeast Louisiana Council 214
309 Manson Ave
Metairie, LA 70001


St Christophers Catholic Church
Westchester Putnam 388
3094 Albany Post Rd
Buchanan, NY 10511


St Christophers Church
Greater Niagara Frontier Council 380
2660 Niagara Falls Blvd
Tonawanda, NY 14150


St Christophers Episcopal Church
Cradle of Liberty Council 525
226 Righters Mill Rd
Gladwyne, PA 19035


St Christophers Parish
Theodore Roosevelt Council 386
11 Gale Ave
Baldwin, NY 11510


St Christophers R C C
Narragansett 546
1554 Main Rd
Tiverton, RI 02878


St Christophers Roman Catholic Church
Cradle of Liberty Council 525
13301 Proctor Rd
Philadelphia, PA 19116


St Clair County
P.O. Box 876
Ashville, AL 35953


St Clair County East Rotary
Greater St Louis Area Council 312
26 Carlyle Plaza Dr PMB 145
Belleville, IL 62221


St Clair County Sheriffs Office
Water and Woods Council 782


St Clair Kiwanis Club
Greater St Louis Area Council 312
850 E Gravois Ave
Saint Clair, MO 63077


St Clair Lions Club
Water and Woods Council 782
4900 St Clair Hwy
St Clair, MI 48079


St Clair Lions Clubs
Greater St Louis Area Council 312
P.O. Box 42
Saint Clair, MO 63077


St Clair Shores Goodfellows
Great Lakes Fsc 272
26700 Harper Ave
Saint Clair Shores, MI 48081


St Clair‐Madison Cnty Med Societies
Greater St Louis Area Council 312
6400 W Main St, Ste 3L
Belleville, Il 62223


St Clare Catholic Church
Blue Grass Council 204
622 Chestnut St
Berea, KY 40403


St Clare Catholic Church
W.L.A.C.C. 051
27341 Camp Plenty Rd
Santa Clarita, CA 91351


St Clare Health Care Foundation
707 Fourteenth St
Baraboo, WI 53913


St Clare Of Assisi
Greater St Louis Area Council 312
1411 Cross St
O Fallon, IL 62269


St Clare Of Assisi
Greater St Louis Area Council 312
205 W 3rd St
O Fallon, IL 62269


St Clare Of Assisi Catholic Church
Sam Houston Area Council 576
3131 El Dorado Blvd
Houston, TX 77059


St Clare Of Assisi Catholic Parish
Grand Canyon Council 010
17111 W Bell Rd
Surprise, AZ 85374
St Clare Of Assisi Parish
Greater St Louis Area Council 312
15642 Clayton Rd
Ballwin, MO 63011


St Clare Of Assisi Parish
Greater St Louis Area Council 312
15642 Clayton Rd
Ellisville, MO 63011


St Clare Rc Church
Greater New York Councils, Bsa 640
110 Nelson Ave
Staten Island, NY 10308


St Clare Roman Catholic Church
Baltimore Area Council 220
714 Myrth Ave
Baltimore, MD 21221


St Clares Of Assisi Roman Catholic
Greater New York Councils, Bsa 640
1918 Paulding Ave
Bronx, NY 10462


St Clement   Holy Name Parishes
Bay‐Lakes Council 635
522 New York Ave
Sheboygan, WI 53081


St Clement Catholic Church
Greater St Louis Area Council 312
1510 Bopp Rd
Saint Louis, MO 63131


St Clement Catholic Parish
Lake Erie Council 440
2022 Lincoln Ave
Lakewood, OH 44107
St Clement Mary Hofbauer RC Ch
Baltimore Area Council 220
1220 Chesaco Ave
Rosedale, Md 21237


St Clement Of Rome
Greater St Louis Area Council 312
1510 Bopp Rd
Saint Louis, MO 63131


St Clement Of Rome Catholic Church
Southeast Louisiana Council 214
4317 Richland Ave
Metairie, LA 70002


St Clement Roman Catholic Church
Dan Beard Council, Bsa 438
4536 Vine St
Cincinnati, OH 45217


St Clement Roman Catholic Church
Dan Beard Council, Bsa 438
4536 Vine St
Saint Bernard, OH 45217


St Clement S Roman Catholic Church
Patriots Path Council 358
154 Mount Pleasant Ave
Dover, NJ 07801


St Clements Catholic Church
Erie Shores Council 460
3030 Tremainsville Rd
Toledo, OH 43613


St Clements Church
Great Lakes Fsc 272
4300 Harrison St
Inkster, MI 48141


St Clements Daly School
Great Lakes Fsc 272
4300 Harrison Rd
Inkster, MI 48141


St Clements Episcopal
Great Lakes Fsc 272
4300 Marrison Rd
Inkster, MI 48141


St Cletus Catholic Church
Southeast Louisiana Council 214
3600 Claire Ave
Gretna, LA 70053


St Cletus Family School Assoc
Pathway To Adventure 456
600 W 55th St
La Grange, IL 60525


St Cloud Fire Dept
Central Minnesota 296
101 10th Ave N
Saint Cloud, MN 56303


St Cloud Masonic Lodge 221
Central Florida Council 083
901 Oregon Ave
Saint Cloud, FL 34769


St Cloud Metro Lions
Central Minnesota 296
P.O. Box 852
Saint Cloud, MN 56302


St Cloud Metro Lions
Central Minnesota 296
P.O. Box 852
St Cloud, MN 56302


St Columba Episcopal Church
Northeast Georgia Council 101
939 James Burgess Rd
Suwanee, GA 30024
St Columba Episcopal Church
South Florida Council 084
451 W 52 St
Marathon, FL 33050


St Columba Lodge 150 Af Am
National Capital Area Council 082
P.O. Box 952
White Plains, MD 20695


St Columba Parish
San Diego Imperial Council 049
3327 Glencolum Dr
San Diego, CA 92123


St Columba Roman Catholic Church
Columbia‐Montour 504
342 Iron St
Bloomsburg, PA 17815


St Columba Roman Catholic Church
Hudson Valley Council 374
P.O. Box 428
835 Route 82
Hopewell Junction, NY 12533


St Columban Catholic School
Dan Beard Council, Bsa 438
896 Oakland Rd
Loveland, OH 45140


St Columban Church
Dan Beard Council, Bsa 438
894 Oakland Rd
Loveland, OH 45140


St Columbas Episcopal Church
Ventura County Council 057
1251 Las Posas Rd
Camarillo, CA 93010
St Columbkill Roman Catholic Church
Hawk Mountain Council 528
200 Indian Spring Rd
Boyertown, PA 19512


St Columbkille Catholic Church
Mid‐America Council 326
200 E 6th St
Papillion, NE 68046


St Columbkille Catholic Church
Northeast Iowa Council 178
1240 Rush St
Dubuque, IA 52003


St Columbkille Catholic Church
Tecumseh 439
73 N Mulberry St
Wilmington, OH 45177


St Columbkille Church
Lake Erie Council 440
6740 Broadview Rd
Parma, OH 44134


St Columbs Episcopal Church
Andrew Jackson Council 303
550 Sunnybrook Rd
Ridgeland, MS 39157


St Cornelius Catholic Church
Cradle of Liberty Council 525
110 Ridge Rd
Chadds Ford, PA 19317


St Cornelius Catholic Church
Long Beach Area Council 032
5500 E Wardlow Rd
Long Beach, CA 90808


St Cornelius Holy Name Society
Pathway To Adventure 456
4646 N Austin Ave
Chicago, IL 60630


St Croix Petty Cash ‐ Flsb
P.O. Box 1906
Isalmorada, FL 33036


St Croix Ultimate Bluewater Advent
1104 Strand St, Ste 109
Christiansted, VI 00820


St Croix Ultimate Bluewater Advent
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


St Cuthbert Episcopal Church
Sam Houston Area Council 576
17020 W Rd
Houston, TX 77095


St Cyprian Catholic Ch Knights Columbus
Long Beach Area Council 032
4714 Clark Ave
Long Beach, Ca 90808


St Cyril Alexandria RC Ch
Laurel Highlands Council 527
3854 Brighton Rd
Pittsburgh, Pa 15212


St Cyril Of Alexandria Parish
Catalina Council 011
4725 E Pima St
Tucson, AZ 85712


St Cyril Of Jerusalem Rc Church
Washington Crossing Council 777
1410 Almshouse Rd
Jamison, PA 18929
St Cyrils   Methodius Rc Church
Baden‐Powell Council 368
148 Clinton St
Binghamton, NY 13905


St Damian Mens Club
Pathway To Adventure 456
5300 155th St
Oak Forest, IL 60452


St Damien Of Molokai
Laurel Highlands Council 527
722 W Main St
Monongahela, PA 15063


St Daniel Catholic Community
Great Lakes Fsc 272
7010 Valley Park Dr
Clarkston, MI 48346


St Daniel The Prophet Holy Name Society
Pathway To Adventure 456
5300 S Natoma Ave
Chicago, IL 60638


St Daniels Catholic Church
Denver Area Council 061
P.O. Box 565
Ouray, CO 81427


St David Catholic Church
South Florida Council 084
3900 S University Dr
Davie, FL 33328


St David Lutheran Church Men
Indian Waters Council 553
132 Saint Davids Church Rd
West Columbia, SC 29170


St David S Episcopal Church
Heart of Virginia Council 602
1801 Camborne Rd
North Chesterfield, VA 23236


St David S Episcopal Church
Last Frontier Council 480
3333 N Meridian Ave
Oklahoma City, OK 73112


St David Ward ‐ LDS St David Stake
Catalina Council 011
39 W Patton St
Saint David, AZ 85630


St Davids By The Sea
Central Florida Council 083
600 S 4th St
Cocoa Beach, FL 32931


St Davids Church
Chester County Council 539
763 Valley Forge Rd
Wayne, PA 19087


St Davids Episcopal Church
Atlanta Area Council 092
1015 Old Roswell Rd
Roswell, GA 30076


St Davids Episcopal Church
Heart of Virginia Council 602
P.O. Box 125
Aylett, VA 23009


St Davids Episcopal Church
Northeast Illinois 129
2410 Glenview Rd
Glenview, IL 60025


St Davids Episcopal Church   School
National Capital Area Council 082
43600 Russell Branch Pkwy
Ashburn, VA 20147


St Davids Evangelical Lutheran Church
Theodore Roosevelt Council 386
20 Clark Blvd
Massapequa Park, NY 11762


St Davids On The Hill Episcopal Church
Narragansett 546
200 Meshanticut Valley Pkwy
Cranston, RI 02920


St Demetrios Greek Orthodox Ch
Mt Diablo‐Silverado Council 023
1955 Kirker Pass Rd
Concord, CA 94521


St Demetrios Greek Orthodox Church
Ventura County Council 057
5575 Santa Rosa Rd
Camarillo, CA 93012


St Denis Roman Catholic Church
Cradle of Liberty Council 525
300 E Eagle Rd
Havertown, PA 19083


St Dennis Catholic Church
Glaciers Edge Council 620
400 Dempsey Rd
Madison, WI 53714


St Didacus Catholic Parish
San Diego Imperial Council 049
4772 Felton St
San Diego, CA 92116


St Dominic Catholic Church
Alamo Area Council 583
5919 Ingram Rd
San Antonio, TX 78228
St Dominic Catholic Church
Dan Beard Council, Bsa 438
4551 Delhi Ave
Cincinnati, OH 45238


St Dominic Catholic Church
Mobile Area Council‐Bsa 004
4156 Burma Rd
Mobile, AL 36693


St Dominic Catholic Church
Southeast Louisiana Council 214
775 Harrison Ave
New Orleans, LA 70124


St Dominic Catholic Congregation
Potawatomi Area Council 651
18255 W Capitol Dr
Brookfield, WI 53045


St Dominic Church
Lake Erie Council 440
3450 Norwood Rd
Shaker Heights, OH 44122


St Dominic Congregation
Potawatomi Area Council 651
18255 W Capitol Dr
Brookfield, WI 53045


St Dominic Savio Catholic Church
Greater St Louis Area Council 312
7748 Mackenzie Rd
Saint Louis, MO 63123


St Dominic Savio Church
Long Beach Area Council 032
13400 Bellflower Blvd
Bellflower, CA 90706


St Dominics Catholic Church
Verdugo Hills Council 058
2002 Merton Ave
Los Angeles, CA 90041


St Dominics Parish
Bay‐Lakes Council 635
2133 N 22nd St
Sheboygan, WI 53081


St Dominics Roman Catholic Church
Theodore Roosevelt Council 386
93 Anstice St
Oyster Bay, NY 11771


St Dorothy Church
Greater Los Angeles Area 033
241 S Valley Center Ave
Glendora, CA 91741


St Dorothy Church
The Spirit of Adventure 227
11 Harnden St
St Dorothy Church
Wilmington, MA 01887


St Dorothy Roman Catholic Church
Pathway To Adventure 456
450 E 78th St
Chicago, IL 60619


St Dunstan S Episcopal Church
Indian Nations Council 488
5635 E 71st St
Tulsa, OK 74136


St Dunstans Episcopal Church
National Capital Area Council 082
1830 Kirby Rd
Mc Lean, VA 22101


St Dunstans Episcopal Church
Patriots Path Council 358
179 S Hillside Ave
Succasunna, NJ 07876


St Dunstans Episcopal Church
Sam Houston Area Council 576
14301 Stuebner Airline Rd
Houston, TX 77069


St Edith Stein Catholic Church
Sam Houston Area Council 576
3311 Fry Rd
Katy, TX 77449


St Ediths
Great Lakes Fsc 272
15089 Newburgh Rd
Livonia, MI 48154


St Edmond Parish Executive Committee
Evangeline Area 212
4131 W Congress St
Lafayette, LA 70506


St Edmonds Home For Children
Cradle of Liberty Council 525
320 S Roberts Rd
Bryn Mawr, PA 19010


St Edmund Episcopal Church
Greater Los Angeles Area 033
2975 Huntington Dr, Ste 200
San Marino, CA 91108


St Edmund Roman Catholic Church
Greater New York Councils, Bsa 640
1902 Ave T
Brooklyn, NY 11229


St Edmunds Elem Sch
Evangeline Area 212
331 N 3rd St
Eunice, LA 70535
St Edward Booster Club
Blackhawk Area 660
3020 11th St
Rockford, IL 61109


St Edward Catholic Church
Lincoln Heritage Council 205
9608 Sue Helen Dr
Louisville, KY 40299


St Edward Catholic Church
Middle Tennessee Council 560
188 Thompson Ln
Nashville, TN 37211


St Edward Catholic Church
Sam Houston Area Council 576
2601 Spring Stuebner Rd
Spring, TX 77389


St Edward Catholic Church
South Florida Council 084
19000 Pines Blvd
Pembroke Pines, FL 33029


St Edward Church
c/o Fr Troy Overton
9608 Sue Helen Dr
Louisville, KY 40299


St Edward On The Lake
Water and Woods Council 782
6945 Lakeshore Rd
Lakeport, MI 48059


St Edward On The Lake
Water and Woods Council 782
1645 Lakeshore Rd
Lakeport, MI 48059
St Edward Rc Church Youth Community
Theodore Roosevelt Council 386
205 Jackson Ave
Syosset, NY 11791


St Edward Roman Catholic Church
Pathway To Adventure 456
4350 W Sunnyside Ave
Chicago, IL 60630


St Edward The Confessor
Theodore Roosevelt Council 386
203 Jackson Ave
Syosset, NY 11791


St Edward The Confessor Catholic Church
Mississippi Valley Council 141 141
214 S State Rd
Mendon, IL 62351


St Edward The Confessor Catholic Church
Southeast Louisiana Council 214
4921 W Metairie Ave
Metairie, LA 70001


St Edward The Confessor RC Ch
Theodore Roosevelt Council 386
205 Jackson Ave
Syosset, Ny 11791


St Edward The Confessor RC Ch
Twin Rivers Council 364
569 Clifton Park Ctr Rd
Clifton Park, Ny 12065


St Edwards Booster Club
Blackhawk Area 660
3020 11th St
St Edwards Church
Rockford, IL 61109


St Edwards Catholic Church
Buckeye Council 436
501 Cottage St
Ashland, OH 44805


St Edwards Catholic Church
Cascade Pacific Council 492
5303 River Rd N
Keizer, OR 97303


St Edwards Catholic Church
Chief Seattle Council 609
4212 S Mead St
Seattle, WA 98118


St Edwards Catholic Church
Connecticut Rivers Council, Bsa 066
55 High St
Stafford Springs, CT 06076


St Edwards Catholic Church
Heart of Virginia Council 602
2700 Dolfield Dr
St Edwards Catholic Church
North Chesterfield, VA 23235


St Edwards Catholic Church
Orange County Council 039
33926 Calle La Primavera
Dana Point, CA 92629


St Edwards Catholic Church
San Francisco Bay Area Council 028
5788 Thornton Ave
Newark, CA 94560


St Edwards Catholic Church
Three Harbors Council 636
1401 Grove Ave
Racine, WI 53405


St Edwards Catholic Parish
Snake River Council 111
212 7th Ave E
Twin Falls, ID 83301


St Edwards Episcopal
Northeast Georgia Council 101
737 Moon Rd
Lawrenceville, GA 30045


St Edwards Roman Catholic Church
Mayflower Council 251
133 Spring St
Medfield, MA 02052


St Edwards University
Attn Financial Services
3001 S Congress Ave
Austin, TX 78704


St Eleanor Roman Catholic Church
Cradle of Liberty Council 525
647 Locust St
Collegeville, PA 19426


St Elisabeths Episcopal Church
Northeast Illinois 129
556 Vernon Ave
Glencoe, IL 60022


St Elizabeth Ann Seton
Ozark Trails Council 306
2200 W Republic Rd
Springfield, MO 65807


St Elizabeth Ann Seton Catholic Church
Anthony Wayne Area 157
10700 Aboite Center Rd
Fort Wayne, IN 46804


St Elizabeth Ann Seton Catholic Church
Circle Ten Council 571
2700 W Spring Creek Pkwy
Plano, TX 75023
St Elizabeth Ann Seton Catholic Church
Dan Beard Council, Bsa 438
5900 Buckwheat Rd
Milford, OH 45150


St Elizabeth Ann Seton Catholic Church
Las Vegas Area Council 328
1811 Pueblo Vista Dr
Las Vegas, NV 89128


St Elizabeth Ann Seton Catholic Church
Lincoln Heritage Council 205
11501 Maple Way
Louisville, KY 40229


St Elizabeth Ann Seton Catholic Church
Norwela Council 215
P.O. Box 52073
522 E Flournoy Lucas Rd
Shreveport, LA 71135


St Elizabeth Ann Seton Catholic Church
Occoneechee 421
1000 Andrews Rd
Fayetteville, NC 28311


St Elizabeth Ann Seton Catholic Church
Sam Houston Area Council 576
6646 Addicks Satsuma Rd
Houston, TX 77084


St Elizabeth Ann Seton Catholic Parish
Longs Peak Council 062
5450 S Lemay Ave
Fort Collins, CO 80525


St Elizabeth Ann Seton Catholic School
Dan Beard Council, Bsa 438
5890 Buckwheat Rd
Milford, OH 45150
St Elizabeth Ann Seton Catholic School
Northern Star Council 250
600 Tyler St
Hastings, MN 55033


St Elizabeth Ann Seton Catholic School
Southeast Louisiana Council 214
4119 Saint Elizabeth Dr
Kenner, LA 70065


St Elizabeth Ann Seton Parish
Baltimore Area Council 220
1800 Seton Dr
Crofton, MD 21114


St Elizabeth Ann Seton Parish
Great Alaska Council 610
2901 Huffman Rd
Anchorage, AK 99516


St Elizabeth Ann Seton Parish
Patriots Path Council 358
61 Main St
Flanders, NJ 07836


St Elizabeth Ann Seton Parish
Simon Kenton Council 441
600 Hill Rd N
Pickerington, OH 43147


St Elizabeth Ann Seton Parish
Westchester Putnam 388
1377 E Main St
Shrub Oak, NY 10588


St Elizabeth Ann Seton RC Ch
Del Mar Va 081
345 Bear Christiana Rd
Bear, De 19701


St Elizabeth Ann Seton School
Ozark Trails Council 306
2200 W Republic Rd
Springfield, MO 65807


St Elizabeth Ann Seton/St Joseph
Anthony Wayne Area 157
10700 Aboite Center Rd
Fort Wayne, IN 46804


St Elizabeth Catholic Church
Monmouth Council, Bsa 347
424 Lincoln Ave
Avon By the Sea, NJ 07717


St Elizabeth Catholic Parish
Water and Woods Council 782
P.O. Box 392
Reese, MI 48757


St Elizabeth Catholic School
National Capital Area Council 082
917 Montrose Rd
Rockville, MD 20852


St Elizabeth Church
Southern Shores Fsc 783
506 N Union St
Tecumseh, MI 49286


St Elizabeth Community Center
Blackhawk Area 660
1536 S Main St
Rockford, IL 61102


St Elizabeth Episcopal Church
Coastal Georgia Council 099
P.O. Box 945
Richmond Hill, GA 31324


St Elizabeth Huberters
Gateway Area 624
515 N Main St
Holmen, WI 54636


St Elizabeth Of Humgary Catholic Church
Circle Ten Council 571
4015 S Hampton Rd
Dallas, TX 75224


St Elizabeth Of The Trinity Rc Church
Connecticut Yankee Council Bsa 072
555 Middletown Ave
North Haven, CT 06473


St Elizabeth Parish
Chester County Council 539
P.O. Box 695
120 St Elizabeth Dr
Uwchland, PA 19480


St Elizabeth Parish Men S Club
Greater St Louis Area Council 312
2300 Pontoon Rd
Granite City, IL 62040


St Elizabeth Roman Catholic Church
Del Mar Va 081
809 S Broom St
Wilmington, DE 19805


St Elizabeth Roman Catholic Church
Lincoln Heritage Council 205
1020 E Burnett Ave
Louisville, KY 40217


St Elizabeth S Catholic Church
Capitol Area Council 564
1520 N Railroad Ave
Pflugerville, TX 78660


St Elizabeth S Church
Mayflower Council 251
1 Morse Rd
Sudbury, MA 01776
St Elizabeth S Church
Northern New Jersey Council, Bsa 333
700 Wyckoff Ave
Wyckoff, NJ 07481


St Elizabeth S Episcopal Church
Capitol Area Council 564
725 Ranch Rd 967
Buda, TX 78610


St Elizabeth S Episcopal Church
Great Smoky Mountain Council 557
110 Sugarwood Dr
Knoxville, TN 37934


St Elizabeth S Interparochial School
Northern New Jersey Council, Bsa 333
700 Wyckoff Ave
Wyckoff, NJ 07481


St Elizabeth Seton Catholic Church
San Diego Imperial Council 049
6628 Santa Isabel St
Carlsbad, CA 92009


St Elizabeth Seton Catholic Church
Three Fires Council 127
2220 Lisson Rd
Naperville, IL 60565


St Elizabeth Seton Church
Cape Cod and Islands Cncl 224
P.O. Box 861
North Falmouth, MA 02556


St Elizabeth Seton Church
Pathway To Adventure 456
9300 167th St
Orland Hills, IL 60487
St Elizabeth Seton Parish
Crossroads of America 160
10655 Haverstick Rd
Carmel, IN 46033


St Elizabeth Seton Parish
Daniel Webster Council, Bsa 330
190 Meetinghouse Rd
Bedford, NH 03110


St Elizabeth Seton Parish
National Capital Area Council 082
12805 Valleywood Dr
Woodbridge, VA 22192


St Elizabeth Seton School
Black Hills Area Council 695 695
2101 City Springs Rd, Ste 200
Rapid City, SD 57702


St Elizabeths Church
Suffolk County Council Inc 404
175 Wolf Hill Rd
Melville, NY 11747


St Elizabeths Episcopal Church
Gulf Stream Council 085
901 Clearmont St
Sebastian, FL 32958


St Elizabeths Episcopal Church
Narragansett 546
63 Canonchet Rd
Hope Valley, RI 02832


St Elmo Presbyterian Church
Cherokee Area Council 556
4400 Saint Elmo Ave
Chattanooga, TN 37409


St Emily S Church
Pathway To Adventure 456
1400 E Central Rd
Mt Prospect, IL 60056


St Ephrem Catholic
Great Lakes Fsc 272
38900 Dodge Park Rd
Sterling Heights, MI 48312


St Ephrem Church
Washington Crossing Council 777
5400 Hulmeville Rd
Bensalem, PA 19020


St Eugene Catholic Church
Occoneechee 421
P.O. Box 188
Wendell, NC 27591


St Eugene S Roman Catholic Church
Westchester Putnam 388
707 Tuckahoe Rd
Yonkers, NY 10710


St Eugenes Parish
Three Harbors Council 636
7600 N Port Washington Rd
Fox Point, WI 53217


St Euphrasia Catholic Church
W.L.A.C.C. 051
11766 Shoshone Ave
Granada Hills, CA 91344


St Faiths Episcopal Church
South Florida Council 084
10600 Caribbean Blvd
Cutler Bay, FL 33189


St Faustina Catholic Church
Sam Houston Area Council 576
P.O. Box 1099
Fulshear, TX 77441
St Faustina Kowalska Parish
Northeastern Pennsylvania Council 501
520 S Hanover St
Nanticoke, PA 18634


St Ferdinand Catholic Church
Buffalo Trace 156
P.O. Box 156
Ferdinand, IN 47532


St Ferdinand Catholic Church
Greater St Louis Area Council 312
1765 Charbonier Rd
Florissant, MO 63031


St Ferdinand Roman Catholic Church
Pathway To Adventure 456
5900 W Barry Ave
Chicago, IL 60634


St Frances Cabrini Catholic Church
Bay‐Lakes Council 635
1025 S 7th Ave
West Bend, WI 53095


St Frances Cabrini Catholic Church
Greater Tampa Bay Area 089
5030 Mariner Blvd
Spring Hill, FL 34609


St Frances Cabrini Parish
Laurel Highlands Council 527
115 Trinity Dr
Aliquippa, PA 15001


St Frances Cabrini Parish ‐ Catholic
Great Lakes Fsc 272
9000 Laurence Ave
Allen Park, MI 48101
St Frances Cabrini Rc Church
Suffolk County Council Inc 404
134 Middle Country Rd
Coram, NY 11727


St Frances Cabrini Roman Catholic Church
Patriots Path Council 358
208 Bound Brook Ave
Piscataway, NJ 08854


St Frances Cabrini School
Silicon Valley Monterey Bay 055
15325 Woodard Rd
San Jose, CA 95124


St Frances De Chantal
Theodore Roosevelt Council 386
1309 Wantagh Ave
Wantagh, NY 11793


St Frances Of Rome Roman Catholic Church
Pathway To Adventure 456
1428 S 59th Ct
Cicero, IL 60804


St Francis
Chattahoochee Council 091
2122 Manchester Expy
Columbus, GA 31904


St Francis   Anne Catholic Church
Louisiana Purchase Council 213
143 Booner Miller Rd
Deville, LA 71328


St Francis   Clare Catholic Church
Crossroads of America 160
5901 Olive Branch Rd
Greenwood, IN 46143


St Francis Assisi Elem   Mid Sch
National Capital Area Council 082
18825 Fuller Heights Rd
Triangle, Va 22172


St Francis Assisi RC Ch
Bucktail Council 509
212 S Front St
Clearfield, Pa 16830


St Francis Assisi RC Ch
Lincoln Heritage Council 205
1960 Bardstown Rd
Louisville, Ky 40205


St Francis Assisi School
Chickasaw Council 558
P.O. Box 938
Greenwood, MS 38935


St Francis Borgia Catholic Church
Bay‐Lakes Council 635
1375 Covered Bridge Rd
Cedarburg, WI 53012


St Francis Borgia Church
Greater St Louis Area Council 312
115 Cedar St
Washington, MO 63090


St Francis Borgia Church
Greater St Louis Area Council 312
310 E Main St
Washington, MO 63090


St Francis Cabrini
Yucca Council 573
1000 8th St
Alamogordo, NM 88310


St Francis Catholic Church
Cascade Pacific Council 492
15651 SW Oregon St
Sherwood, OR 97140
St Francis Catholic Church
Circle Ten Council 571
8000 Eldorado Pkwy
Frisco, TX 75033


St Francis Catholic Church
Longhorn Council 662
861 Wildwood Ln
Grapevine, TX 76051


St Francis Catholic Community
Circle Ten Council 571
8000 Eldorado Pkwy
Frisco, TX 75033


St Francis Catholic Parents For Scouting
Attn Shannon Clark
Pony Express Council 311
2701 Fairleigh Ter
Saint Joseph, MO 64506


St Francis Days Committee
Three Harbors Council 636
3400 E Howard Ave
Saint Francis, WI 53235


St Francis De Sales Catholic Church
Baltimore Area Council 220
1450 Abingdon Rd
Abingdon, MD 21009


St Francis De Sales Catholic Church
Narragansett 546
381 School St
North Kingstown, RI 02852


St Francis De Sales Catholic Church
Northern Lights Council 429
601 15th Ave N
Moorhead, MN 56560
St Francis De Sales Catholic Church
Sam Houston Area Council 576
8200 Roos Rd
Houston, TX 77036


St Francis De Sales Catholic School
Great Trail 433
4019 Manchester Rd
Akron, OH 44319


St Francis De Sales Church
Northeast Illinois 129
135 S Buesching Rd
Lake Zurich, IL 60047


St Francis De Sales Church
Suffolk County Council Inc 404
7 Amity St
Patchogue, NY 11772


St Francis De Sales Congregation
Chippewa Valley Council 637
409 N Summit St
Spooner, WI 54801


St Francis De Sales High School
Erie Shores Council 460
2323 W Bancroft St
Toledo, OH 43607


St Francis De Sales School
W.L.A.C.C. 051
13368 Valleyheart Dr
Sherman Oaks, CA 91423


St Francis Desales Catholic Church
Dan Beard Council, Bsa 438
20A Desales Ave
Lebanon, OH 45036


St Francis Desales Catholic Church
Simon Kenton Council 441
66 Granville St
Newark, OH 43055


St Francis Desales Church
Lake Erie Council 440
3434 George Ave
Parma, OH 44134


St Francis Desales Roman Catholic Church
Del Mar Va 081
514 Camden Ave
Salisbury, MD 21801


St Francis Episcopal Church
Great Swest Council 412
2903 Cabezon Blvd Se
Rio Rancho, NM 87124


St Francis Episcopal Church
Istrouma Area Council 211
726 Maple St
Denham Springs, LA 70726


St Francis Episcopal Church
Sam Houston Area Council 576
345 Piney Point Rd
Houston, TX 77024


St Francis Episcopal Church
Silicon Valley Monterey Bay 055
1205 Pine Ave
San Jose, CA 95125


St Francis Home    School
Montana Council 315
P.O. Box 31158
Billings, MT 59107


St Francis In The Fields Episcopal
Lincoln Heritage Council 205
6710 Wolf Pen Branch Rd
Harrods Creek, KY 40027


St Francis Lions Club
Northern Star Council 250
20912 Rum River Blvd
Anoka, MN 55303


St Francis Of Assisi
6804 Edwell Ct
Raleigh, NC 27617


St Francis Of Assisi
Bay‐Lakes Council 635
601 N 8th St
Manitowoc, WI 54220


St Francis Of Assisi
Cradle of Liberty Council 525
600 Hamilton St
Norristown, PA 19401


St Francis Of Assisi
Greater St Louis Area Council 312
4556 Telegraph Rd
Saint Louis, MO 63129


St Francis Of Assisi
Longhorn Council 662
117 Ranch House Rd
Willow Park, TX 76087


St Francis Of Assisi
Occoneechee 421
11401 Leesville Rd
Raleigh, NC 27613


St Francis Of Assisi
Pikes Peak Council 060
2650 Parish Vw
Colorado Springs, CO 80919
St Francis Of Assisi
Western Massachusetts Council 234
10 Park St
Belchertown, MA 01007


St Francis Of Assisi Catholic Church
Alamo Area Council 583
4201 De Zavala Rd
San Antonio, TX 78249


St Francis Of Assisi Catholic Church
Andrew Jackson Council 303
4000 W Tidewater Ln
Madison, MS 39110


St Francis Of Assisi Catholic Church
Chickasaw Council 558
8151 Chimneyrock Blvd
Cordova, TN 38016


St Francis Of Assisi Catholic Church
Crater Lake Council 491
2450 NE 27th St
Bend, OR 97701


St Francis Of Assisi Catholic Church
Greater St Louis Area Council 312
1000 Luebbering Rd
Luebbering, MO 63061


St Francis Of Assisi Catholic Church
Greater Tampa Bay Area 089
P.O. Box 6526
Seffner, FL 33583


St Francis Of Assisi Catholic Church
Last Frontier Council 480
1901 NW 18th St
Oklahoma City, OK 73106


St Francis Of Assisi Catholic Church
San Diego Imperial Council 049
525 W Vista Way
Vista, CA 92083


St Francis Of Assisi Catholic Church
Stonewall Jackson Council 763
118 N New St
Staunton, VA 24401


St Francis Of Assisi Church
Baltimore Area Council 220
3615 Harford Rd
Baltimore, MD 21218


St Francis Of Assisi Church
Greater Niagara Frontier Council 380
4263 St Francis Dr
Athol Springs, NY 14010


St Francis Of Assisi Church
Greater St Louis Area Council 312
203 E Main St
Teutopolis, IL 62467


St Francis Of Assisi Church
Greater Tampa Bay Area 089
4450 County Rd 579
Seffner, FL 33584


St Francis Of Assisi Church
Pacific Skyline Council 031
1425 Bay Rd
East Palo Alto, CA 94303


St Francis Of Assisi Episcopal Ch
Indian Waters Council 553
P.O. Box 265
735 Old Lexington Hwy
Chapin, SC 29036


St Francis Of Assisi Episcopal Church
Heart of America Council 307
P.O. Box 118
Stilwell, KS 66085


St Francis Of Assisi Parish
Baden‐Powell Council 368
1031 Chenango St
Binghamton, NY 13901


St Francis Of Assisi Parish
Chief Seattle Council 609
15226 21st Ave Sw
Burien, WA 98166


St Francis Of Assisi Parish
Last Frontier Council 480
1901 NW 18th St
Oklahoma City, OK 73106


St Francis Of Assisi Parish
Mid Iowa Council 177
107 S 1st St
Marshalltown, IA 50158


St Francis Of Assisi Parish
Southern Shores Fsc 783
2150 Frieze Ave
Ann Arbor, MI 48104


St Francis Of Assisi Parish Council
Mid Iowa Council 177
7075 Ashworth Rd
West Des Moines, IA 50266


St Francis Of Assissi
Greater Niagara Frontier Council 380
4263 Saint Francis Dr
Hamburg, NY 14075


St Francis Of Assissi Catholic Church
Mid Iowa Council 177
7075 Ashworth Rd
West Des Moines, IA 50266
St Francis Of The Lakes Catholic Church
Central Minnesota 296
404 N 9th St
Brainerd, MN 56401


St Francis On The Hill
Yucca Council 573
6280 Los Robles Dr
El Paso, TX 79912


St Francis On The Prairie
Greater Wyoming Council 638
P.O. Box 161
Wright, WY 82732


St Francis Parish
The Spirit of Adventure 227
115 Wheeler Rd
P.O. Box 609
Dracut, MA 01826


St Francis Roman Catholic Church
Northern New Jersey Council, Bsa 333
308 Jefferson St
Hoboken, NJ 07030


St Francis Roman Catholic Church
Southern Sierra Council 030
900 H St
Bakersfield, CA 93304


St Francis School
Capitol Area Council 564
300 E Huntland Dr
Austin, TX 78752


St Francis School PTO
President Gerald R Ford 781
123 E 11th St
Traverse City, MI 49684
St Francis Utd Methodist Church
Mecklenburg County Council 415
4200 Mckee Rd
Charlotte, NC 28270


St Francis Utd Methodist Church
Occoneechee 421
2965 Kildaire Farm Rd
Cary, NC 27518


St Francis Utd Methodist Church
Occoneechee 421
2971 Kildaire Farm Rd
Cary, NC 27518


St Francis Xavier
Greater New York Councils, Bsa 640
1703 Lurting Ave
Bronx, NY 10461


St Francis Xavier Cabrini
Seneca Waterways 397
124 Evergreen St
Rochester, NY 14605


St Francis Xavier Cath Church
Central Minnesota 296
P.O. Box 150
Sartell, MN 56377


St Francis Xavier Catholic
Great Salt Lake Council 590
4501 W 5215 S
Salt Lake City, UT 84118


St Francis Xavier Catholic Church
Coastal Georgia Council 099
405 Howe St
Brunswick, GA 31520


St Francis Xavier Catholic Church
Grand Canyon Council 010
4715 N Central Ave
Phoenix, AZ 85012


St Francis Xavier Catholic Church
Greater Alabama Council 001
2 Xavier Cir
Birmingham, AL 35213


St Francis Xavier Catholic Church
New Birth of Freedom 544
455 Table Rock Rd
Gettysburg, PA 17325


St Francis Xavier Catholic Church
Rainbow Council 702
2500 Arbeiter Rd
Joliet, IL 60431


St Francis Xavier Catholic Church
Southeast Louisiana Council 214
444 Metairie Rd
Metairie, LA 70005


St Francis Xavier Catholic Church
Southwest Florida Council 088
2157 Cleveland Ave
Fort Myers, FL 33901


St Francis Xavier Catholic Parish
Buffalo Trace 156
106 S 3rd St
Vincennes, IN 47591


St Francis Xavier Catholic School
Southeast Louisiana Council 214
215 Betz Pl
Metairie, LA 70005


St Francis Xavier Chapel
Greater Los Angeles Area 033
222 S Hewitt St
Los Angeles, CA 90012
St Francis Xavier Church
Great Trail 433
606 E Washington St
Medina, OH 44256


St Francis Xavier Church
Northeast Illinois 129
524 9th St
Wilmette, IL 60091


St Francis Xavier Church
Northern Star Council 250
219 19th St Nw
Buffalo, MN 55313


St Francis Xavier Church Roman Catholic
Greater New York Councils, Bsa 640
225 6th Ave
Brooklyn, NY 11215


St Francis Xavier Mens Club
Pathway To Adventure 456
124 S Spring Ave
La Grange, IL 60525


St Francis Xavier Mens Club
Pathway To Adventure 456
145 N Waiola Ave
La Grange, IL 60525


St Francis Xavier Parents For Scouting
Heart of America Council 307
1211 W 68th Ter
Kansas City, MO 64113


St Francis Xavier Rc Church
French Creek Council 532
8880 Grubb Rd
Mckean, PA 16426
St Francis Xavier Rc Church
French Creek Council 532
8880 Main St
Mckean, PA 16426


St Francis Xavier Roman Catholic Church
Greater New York Councils, Bsa 640
225 6th Ave
Brooklyn, NY 11215


St Francis Xavier Roman Catholic Church
Lincoln Heritage Council 205
155 Stringer Ln
Mount Washington, KY 40047


St Francis Xavier School
Green Mountain 592
5 Saint Peter St
Winooski, VT 05404


St Francis, Tetons Episc Ch
Grand Teton Council 107
20 Alta School Rd
Alta, Wy 83414


St Francisville Christian Church
Buffalo Trace 156
Rr 1
St Francisville, IL 62460


St Francisville Lodge 588
Mississippi Valley Council 141 141
572 N Martin St
Wayland, MO 63475


St Francois County Board For The Dev‐Dis
Greater St Louis Area Council 312
68 N Washington St
P.O. Box 652
Farmington, MO 63640


St Francois County Vfw Post 2426
Greater St Louis Area Council 312
399 W Oak St
Desloge, MO 63601


St Gabriel Catholic Ch ‐ Parish Council
Bay‐Lakes Council 635
900 Geiger St
Neenah, WI 54956


St Gabriel Catholic Church
Bay‐Lakes Council 635
900 Geiger St
Neenah, WI 54956


St Gabriel Catholic Church
Mecklenburg County Council 415
3016 Providence Rd
Charlotte Nc
Charlotte, NC 28211


St Gabriel Catholic Church
Potawatomi Area Council 651
3733 Hubertus Rd
Hubertus, WI 53033


St Gabriel Church
Mecklenburg County Council 415
3016 Providence Rd
Charlotte, NC 28211


St Gabriel Holy Name Society
Greater Niagara Frontier Council 380
5271 Clinton St
Elma, NY 14059


St Gabriel Of The Sorrowful Mother
Chester County Council 539
P.O. Box 709
8910 Gap Newport Pike
Avondale, PA 19311


St Gabriel Of The Sorrowfull Mother
East Carolina Council 426
3250 Dickinson Ave
Greenville, NC 27834


St Gabriel Parish Youth Ministry
Lake Erie Council 440
9925 Johnnycake Ridge Rd
Mentor, OH 44060


St Gabriel Roman Catholic Church
Lake Erie Council 440
9920 Johnnycake Ridge Rd
Mentor, OH 44060


St Gabriel Roman Catholic Church
Lincoln Heritage Council 205
5505 Bardstown Rd
Louisville, KY 40291


St Gabriel S Episcopal Church
Greater New York Councils, Bsa 640
331 Hawthorne St
Brooklyn, NY 11225


St Gabriel S Parish
Potawatomi Area Council 651
1200 Saint Gabriel Way
Hubertus, WI 53033


St Gabriel School
Dan Beard Council, Bsa 438
18 W Sharon Rd
Cincinnati, OH 45246


St Gabriel School PTA
Crossroads of America 160
224 W 9th St
Connersville, IN 47331


St Gabriel The Archangel
Roman Catholic Parish Cave Creek
32648 N Cave Creek Rd
Cave Creek, AZ 85331


St Gabriel The Archangel Catholic Church
Circle Ten Council 571
110 Saint Gabriel Way
Mckinney, TX 75071


St Gabriel The Archangel Catholic Church
Grand Canyon Council 010
32648 N Cave Creek Rd
Cave Creek, AZ 85331


St Gabriel Womens Club
Northern Star Council 250
6 Interlachen Rd
Hopkins, MN 55343


St Gabriels Catholic Church
Las Vegas Area Council 328
2250 E Maule Ave
Las Vegas, NV 89119


St Gabriels Episcopal Church
Central Florida Council 083
414 Pine St
Titusville, FL 32796


St Gabriels Episcopal Church
Hawk Mountain Council 528
1188 Ben Franklin Hwy E
Douglassville, PA 19518


St Gabriels R C Church
Greater Niagara Frontier Council 380
5271 Clinton St
Elma, NY 14059


St Gabriels Roman Catholic Church
Cradle of Liberty Council 525
233 Mohawk Ave
Norwood, PA 19074
St Gall Catholic Church
Three Fires Council 127
120 W Shannon St
Elburn, IL 60119


St Genevieve Catholic Church
Southeast Louisiana Council 214
815 Barbier Ave
Thibodaux, LA 70301


St Genevieves Rc Church ‐ Cyo
Patriots Path Council 358
200 Monmouth Rd
Elizabeth, NJ 07208


St George Antiochian Orthodox Church
Great Trail 433
3204 Ridgewood Rd
Fairlawn, OH 44333


St George Catholic Church
Chief Seattle Council 609
5117 13th Ave S
Seattle, WA 98108


St George Catholic Church
Flint River Council 095
771 Roscoe Rd
Newnan, GA 30263


St George Catholic Church
Great Rivers Council 653
611 E Main St
Linn, MO 65051


St George Catholic Church
Istrouma Area Council 211
7808 Saint George Dr
Baton Rouge, LA 70809


St George Catholic Church
Northern Lights Council 429
P.O. Box 217
804 Foster Ave Nw
Cooperstown, ND 58425


St George Catholic Church
Pathway To Adventure 456
6707 175th St
Tinley Park, IL 60477


St George Catholic Church
Utah National Parks 591
259 W 200 N
P.O. Box 188
St George, UT 84770


St George Coptic Orthodox Church
Chief Seattle Council 609
13216 NE 100th St
Kirkland, WA 98033


St George Elks Lodge Bpoe 1743
Utah National Parks 591
630 W 1250 N
St George, UT 84770


St George Episcopal Church
Alamo Area Council 583
6904 W Ave
San Antonio, TX 78213


St George Greek Orthodox Cathedral
Daniel Webster Council, Bsa 330
650 Hanover St
Manchester, NH 03104


St George Greek Orthodox Church
Connecticut Yankee Council Bsa 072
238 W Rocks Rd
Norwalk, CT 06851


St George P T O Assoc
French Creek Council 532
1612 Bryant St
Erie, PA 16509


St George RC Church
Connecticut Yankee Council Bsa 072
33 Whitfield St
Guilford, CT 06437


St George Rcc
Narragansett 546
12 Highland Ave
Westport, MA 02790


St George S Church
Chickasaw Council 558
2425 S Germantown Rd
Germantown, TN 38138


St George S Episcopal Church
Chickasaw Council 558
2425 S Germantown Rd
Germantown, TN 38138


St George S Episcopal Church
Connecticut Rivers Council, Bsa 066
393 Tucker Hill Rd
Middlebury, CT 06762


St George S Episcopal Church
Cradle of Liberty Council 525
1 W Ardmore Ave
Ardmore, PA 19003


St George S Episcopal Church
Middle Tennessee Council 560
4715 Harding Pike
Nashville, TN 37205


St George S Episcopal Church
National Capital Area Council 082
19165 Poplarhill Lane
Valley Lee, MD 20692


St George S Episcopal Church And Center
Gulf Stream Council 085
21 W 22nd St
Riviera Beach, FL 33404


St George S Independent School
Chickasaw Council 558
8250 Poplar Ave
Germantown, TN 38138


St George Youth And Scouting Council
Pine Tree Council 218
P.O. Box 332
Tenants Harbor, ME 04860


St Georges Episcopal Church
Cradle of Liberty Council 525
1 W Ardmore Ave
Ardmore, PA 19003


St Georges Episcopal Church
Greater New York Councils, Bsa 640
800 Marcy Ave
Brooklyn, NY 11216


St Georges Episcopal Church
Middle Tennessee Council 560
4715 Harding Pike
Nashville, TN 37205


St Georges Episcopal Church
National Capital Area Council 082
915 N Oakland St
Arlington, VA 22203


St Georges Episcopal Church
Theodore Roosevelt Council 386
319 Front St
Hempstead, NY 11550
St Georges Episcopal Church
Twin Rivers Council 364
912 Route 146
Clifton Park, NY 12065


St Georges Utd Methodist Church
Del Mar Va 081
109 Broad St
Saint Georges, DE 19733


St Georges Utd Methodist Church
Del Mar Va 081
P.O. Box 145
Saint Georges, DE 19733


St Gerald Holy Name Society
Pathway To Adventure 456
9310 S 55th Ct
Oak Lawn, IL 60453


St Geralds School
Mid‐America Council 326
7857 Lakeview St
Ralston, NE 68127


St Gerard Catholic Church
Black Swamp Area Council 449
240 W Robb Ave
Lima, OH 45801


St Gerard Catholic Church
Northern Star Council 250
9600 Regent Ave N
Brooklyn Park, MN 55443


St Gerard Majella Church
Greater St Louis Area Council 312
1969 Dougherty Ferry Rd
Saint Louis, MO 63122


St Gerard Majella Rc Church
Suffolk County Council Inc 404
300 Terryville Rd
Port Jefferson Station, NY 11776


St Gerard Roman Catholic Church
Water and Woods Council 782
4437 W Willow Hwy
Lansing, MI 48917


St Gerards Majella Roman Catholic Church
Laurel Highlands Council 527
530 Hamil Rd
Verona, PA 15147


St Germaine Catholic Church
Pathway To Adventure 456
9711 S Kolin Ave
Oak Lawn, IL 60453


St Gertrude Catholic Church
Pathway To Adventure 456
1420 W Granville Ave
Chicago, IL 60660


St Gertrude Catholic Church School
South Texas Council 577
400 E Caesar Ave
Kingsville, TX 78363


St Gertrude Roman Catholic Church
Dan Beard Council, Bsa 438
7630 Shawnee Run Rd
Cincinnati, OH 45243


St Gertrude Roman Catholic Church
Dan Beard Council, Bsa 438
7630 Shawnee Run Rd
Madeira, OH 45243


St Gertrude School
Greater St Louis Area Council 312
6520 Hwy Yy
Washington, MO 63090


St Gertrudes Catholic Church
Theodore Roosevelt Council 386
28 School St
Bayville, NY 11709


St Gertude Catholic Church
Southeast Louisiana Council 214
17292 Hwy 631
Des Allemands, LA 70030


St Giles Presbyterian Church
Blue Ridge Council 551
1021 Hudson Rd
Greenville, SC 29615


St Giles Roman Catholic Church
Pathway To Adventure 456
1025 Columbian Ave
Oak Park, IL 60302


St Gregory Barbarigo
Hudson Valley Council 374
21 Cinder Rd
Garnerville, NY 10923


St Gregory S Episcopal Church
Denver Area Council 061
6653 W Chatfield Ave
Littleton, CO 80128


St Gregory The Great Catholic Church
Alamo Area Council 583
700 Dewhurst Rd
San Antonio, TX 78213


St Gregory The Great Catholic Church
Greater Los Angeles Area 033
13935 Telegraph Rd
Whittier, CA 90604
St Gregory The Great Catholic Church
San Diego Imperial Council 049
11451 Blue Cypress Dr
San Diego, CA 92131


St Gregory The Great Catholic Church
South Florida Council 084
200 N University Dr
Plantation, FL 33324


St Gregory The Great Catholic Church
Tidewater Council 596
5345 Virginia Beach Blvd
Virginia Beach, VA 23462


St Gregory The Great Church
Greater New York Councils, Bsa 640
242 20 88 Ave
Bellerose, NY 11426


St Gregory The Great Congregation
Three Harbors Council 636
3160 S 63rd St
Milwaukee, WI 53219


St Gregory The Great Parish
Greater Niagara Frontier Council 380
100 Saint Gregory Ct
Williamsville, NY 14221


St Gregory The Great R C Church
Greater Niagara Frontier Council 380
200 Saint Gregory Ct
Williamsville, NY 14221


St Gregory The Great RC Ch
Washington Crossing Council 777
4620 Nottingham Way
Hamilton Square, Nj 08690


St Gregory The Great RC Church
Connecticut Yankee Council Bsa 072
85 Great Plain Rd
Danbury, CT 06811


St Gregory The Great Sr
Greater New York Councils, Bsa 640
2520 Church Ave
Rudolph Cyrus‐Charles
Brooklyn, NY 11226


St Gregorys Catholic Church
Great Alaska Council 610
P.O. Box 495
Sitka, AK 99835


St Gregorys Episcopal Church
Long Beach Area Council 032
6201 E Willow St
Long Beach, CA 90815


St Gregorys Episcopal Church
Northeast Illinois 129
815 Wilmot Rd
Deerfield, IL 60015


St Gregorys Episcopal Church
President Gerald R Ford 781
1200 Seminole Rd
Norton Shores, MI 49441


St Gregorys Parish R C Church
French Creek Council 532
48 S Pearl St
North E, Pa 16428


St Gregorys Roman Catholic Church
The Spirit of Adventure 227
2223 Dorchester Ave
Dorchester Center, MA 02124


St Haralambos Greek Orthodox Church
Pathway To Adventure 456
7373 N Caldwell Ave
Niles, IL 60714


St Hedwig Catholic Church
Orange County Council 039
11482 Los Alamitos Blvd
Los Alamitos, CA 90720


St Hedwig S Church School
Orange County Council 039
11482 Los Alamitos Blvd
Los Alamitos, CA 90720


St Helen Catholic Church
Capitol Area Council 564
2700 E University Ave
Georgetown, TX 78626


St Helen Catholic Church
Miami Valley Council, Bsa 444
605 Granville Pl
Dayton, OH 45431


St Helen Catholic Church
Water and Woods Council 782
2445 N Charles St
Saginaw, MI 48602


St Helen S Catholic Church
Bay Area Council 574
2209 Old Alvin Rd
Pearland, TX 77581


St Helen S Catholic Church
Grand Canyon Council 010
5510 W Cholla St
Glendale, AZ 85304


St Helena Community Assoc
Baltimore Area Council 220
6509 Colgate Ave
Baltimore, MD 21222
St Helena Parish
1315 Olmstread Ave
Bronx, NY 10462


St Helena Parish Sheriff S Offc
Sales Tax Dept
P O Drawer 456
Greensburg, LA 70441‐0456


St Helena Parish Sheriff S Offce
Attn Sales Tax Dept
P.O. Drawer 456
Greensburg, LA 70441‐0456


St Helena Roman Catholic Church
Greater New York Councils, Bsa 640
1315 Olmstead Ave
Bronx, NY 10462


St Helena S Episcopal Church
Pathway To Adventure 456
7600 Wolf Rd
Burr Ridge, IL 60527


St Helenas Catholic Church
Conquistador Council Bsa 413
100 E Bender Blvd
Hobbs, NM 88240


St Helenas Episcopal Church
Alamo Area Council 583
410 N Main St
Boerne, TX 78006


St Helenas Roman Catholic Church
Cradle of Liberty Council 525
6100 N 5th St
Philadelphia, PA 19120


St Helens Lions Club
Cascade Pacific Council 492
58350 Lindsay Ln
Warren, OR 97053


St Helens Pub Lib
375 S 18th St, Ste A
Saint Helens, OR 97051‐2260


St Helens RC Church
Greater New York Councils, Bsa 640
15710 83rd St
Howard Beach, NY 11414


St Helens Roman Catholic Church
Greater New York Councils, Bsa 640
15710 83rd St
Howard Beach, NY 11414


St Henry Catholic Church
Indian Nations Council 488
P.O. Box 181
Owasso, OK 74055


St Henry Holy Name Society
Dan Beard Council, Bsa 438
3813 Dixie Hwy
Elsmere, KY 41018


St Henrys
Miami Valley Council, Bsa 444
6696 Springboro Pike
Dayton, OH 45449


St Henrys Catholic Church
Middle Tennessee Council 560
6401 Harding Pike
Nashville, TN 37205


St Henrys Congregation
Potawatomi Area Council 651
412 N 4th St
Watertown, WI 53094
St Henrys Parish
Mid Iowa Council 177
221 W Olive St
Marshalltown, IA 50158


St Hilary Episcopal Church
Southwest Florida Council 088
5011 Mcgregor Blvd
Fort Myers, FL 33901


St Hilarys Roman Catholic School
Pathway To Adventure 456
5614 N Fairfield Ave
Chicago, IL 60659


St Hubert Catholic Church
Pathway To Adventure 456
729 Grand Canyon St
Hoffman Estates, IL 60169


St Hugh Catholic School
South Florida Council 084
3460 Royal Rd
Miami, FL 33133


St Hugo Of The Hills Catholic Church
Great Lakes Fsc 272
2215 Opdyke Rd
Bloomfield Hills, MI 48304


St Hyacinth Basilica
Pathway To Adventure 456
3640 W Wolfram St
Chicago, IL 60618


St Hyacinth Catholic Church
Sam Houston Area Council 576
2921 Center St
Deer Park, TX 77536
St Ignatius Catholic Church
Greater Tampa Bay Area 089
715 E Orange St
Tarpon Springs, FL 34689


St Ignatius Catholic Church
Mobile Area Council‐Bsa 004
3704 Spring Hill Ave
Mobile, AL 36608


St Ignatius Church
Northeastern Pennsylvania Council 501
339 N Maple Ave
Kingston, PA 18704


St Ignatius College Prepartory School
Longhorn Council 662
8109 Shelton Dr
Fort Worth, TX 76120


St Ignatius LDS Church
Montana Council 315
P.O. Box 166
St Ignatius, MT 59865


St Ignatius Loyola
Hawk Mountain Council 528
2810 Saint Albans Dr
Sinking Spring, PA 19608


St Ignatius Loyola Catholic Church
Dan Beard Council, Bsa 438
5222 N Bend Rd
Cincinnati, OH 45247


St Ignatius Loyola Catholic Church
Sam Houston Area Council 576
7810 Cypresswood Dr
Spring, TX 77379


St Ignatius Loyola Church
Hawk Mountain Council 528
2810 Saint Albans Dr
Sinking Spring, PA 19608


St Ignatius Loyola Parish
Theodore Roosevelt Council 386
129 Broadway
Hicksville, NY 11801


St Ignatius Martyr Catholic Church
Capitol Area Council 564
2309 Euclid Ave
Austin, TX 78704


St Ignatius Of Loyola Catholic Church
National Capital Area Council 082
4103 Prices Distillery Rd
Ijamsville, MD 21754


St Ignatius Roman Catholic Church
Baltimore Area Council 220
533 E Jarrettsville Rd
Forest Hill, MD 21050


St Ignatius School
Evangeline Area 212
180 Church St
Grand Coteau, LA 70541


St Irenaeus Catholic Church
Orange County Council 039
5201 Evergreen Ave
Cypress, CA 90630


St Irene S Catholic Community Of Faith
Three Fires Council 127
28W531 Warrenville Rd
Warrenville, IL 60555


St Isaac Jogues Catholic Church
Central Florida Council 083
4301 S Chickasaw Trl
Orlando, FL 32829
St Isaac Jogues Catholic Church
Garden State Council 690
3 Lord Pl
Marlton, NJ 08053


St Isaac Jogues Men S Club
Great Lakes Fsc 272
21100 Madison St
Saint Clair Shores, MI 48081


St Isaac Jogues Roman Catholic Church
Baltimore Area Council 220
9215 Old Harford Rd
Baltimore, MD 21234


St Isaac Jogues School
Pathway To Adventure 456
306 W 4th St
Hinsdale, IL 60521


St Isidore School
Mt Diablo‐Silverado Council 023
4315 La Gonda Way
Danville, CA 94526


St Isidores Roman Catholic Church
Washington Crossing Council 777
531 W Broad St
Quakertown, PA 18951


St Ita Roman Catholic Church
Pathway To Adventure 456
1220 W Catalpa Ave
Chicago, IL 60640


St Jacobs Church
Black Swamp Area Council 449
P.O. Box 258
Payne, OH 45880
St Jacobs Lutheran Church
Buckeye Council 436
1460 State St Ne
N Canton, OH 44721


St Jacobs Lutheran Church
New Birth of Freedom 544
P.O. Box 216
York New Salem, PA 17371


St Jacobs Utd Church Of Christ
New Birth of Freedom 544
100 E George St
York New Salem, PA 17371


St James Episcopal Church
Cradle of Liberty Council 525
3768 Germantown Pike
Collegeville, PA 19426


St James Episcopal Church
San Francisco Bay Area Council 028
37051 Cabrillo Dr
Fremont, CA 94536


St James African Methodist Episcopal
French Creek Council 532
236 E 11th St
Erie, PA 16503


St James Catholic Church
Alamo Area Council 583
510 S Camp St
Seguin, TX 78155


St James Catholic Church
Cascade Pacific Council 492
1145 NE 1st St
Mcminnville, OR 97128


St James Catholic Church
Flint River Council 095
1000 Hwy 155 N
Boy Scout Troop 66
Mcdonough, GA 30252


St James Catholic Church
Flint River Council 095
1000 Hwy 155 N
Mcdonough, GA 30252


St James Catholic Church
Greater St Louis Area Council 312
405 W Madison St
Millstadt, IL 62260


St James Catholic Church
Heart of America Council 307
309 S Stewart Rd
Liberty, MO 64068


St James Catholic Church
Lincoln Heritage Council 205
307 W Dixie Ave
Elizabethtown, KY 42701


St James Catholic Church
National Capital Area Council 082
905 Park Ave
Falls Church, VA 22046


St James Catholic Church
Pathway To Adventure 456
22412 Torrence Ave
Sauk Village, IL 60411


St James Catholic Church
Pennsylvania Dutch Council 524
505 Woodcrest Ave
Lititz, PA 17543


St James Catholic Church
Sam Houston Area Council 576
22800 Aldine Wfield Rd
Spring, TX 77373


St James Catholic Church
San Diego Imperial Council 049
625 S Nardo Ave
Solana Beach, CA 92075


St James Catholic Church
Trapper Trails 589
495 N Harrison Blvd
Ogden, UT 84404


St James Catholic Church
Water and Woods Council 782
1010 S Lansing St
Mason, MI 48854


St James Catholic Church
Yocona Area Council 748
845 Lakeshire Dr
Tupelo, MS 38804


St James Catholic Parents For Scouting
Pony Express Council 311
5814 King Hill Ave
Saint Joseph, MO 64504


St James Catholic Parish
Potawatomi Area Council 651
830 County Rd Nn E
Mukwonago, WI 53149


St James Catholic School
Last Frontier Council 480
1224 SW 41st St
Oklahoma City, OK 73109


St James Christian Methodist Episcopal
Pine Burr Area Council 304
705 Country Club Rd
Hattiesburg, MS 39401
St James Church
Hudson Valley Council 374
P.O. Box 300
4526 Albany Post Rd
Hyde Park, NY 12538


St James Church
Lincoln Heritage Council 205
3535 Taylor Blvd
Louisville, KY 40215


St James Cme
Water and Woods Council 782
P.O. Box 416
Flint, MI 48501


St James Epiocopal Church
Andrew Jackson Council 303
3921 Oakridge Dr
Jackson, MS 39216


St James Episcopal
National Capital Area Council 082
73 Culpeper St
Warrenton, VA 20186


St James Episcopal Church
Baltimore Area Council 220
1307 N Main St
Mount Airy, MD 21771


St James Episcopal Church
Chief Seattle Council 609
24447 94th Ave S
Kent, WA 98030


St James Episcopal Church
Daniel Boone Council 414
424 W State St
Black Mountain, NC 28711
St James Episcopal Church
Daniel Boone Council 414
766 N Main St
Hendersonville, NC 28792


St James Episcopal Church
Five Rivers Council, Inc 375
30 E Wellsboro St
Mansfield, PA 16933


St James Episcopal Church
Grand Canyon Council 010
975 E Warner Rd
Tempe, AZ 85284


St James Episcopal Church
Greater Los Angeles Area 033
3903 Wilshire Blvd
Los Angeles, CA 90010


St James Episcopal Church
Heart of Virginia Council 602
1205 W Franklin St
Richmond, VA 23220


St James Episcopal Church
Hudson Valley Council 374
1 Saint James Pl
Goshen, NY 10924


St James Episcopal Church
Istrouma Area Council 211
208 N 4th St
Baton Rouge, LA 70801


St James Episcopal Church
Middle Tennessee Council 560
205 Church St
Dickson, TN 37055


St James Episcopal Church
National Capital Area Council 082
11815 Seven Locks Rd
Potomac, MD 20854


St James Episcopal Church
Northern New Jersey Council, Bsa 333
581 Valley Rd
Upper Montclair, NJ 07043


St James Episcopal Church
Northern New Jersey Council, Bsa 333
514 Abbott Ave
Ridgefield, NJ 07657


St James Episcopal Church
Northern New Jersey Council, Bsa 333
Abbott Ave
Ridgefield, NJ 07675


St James Episcopal Church
Sam Houston Area Council 576
1803 Highland Hollow Dr
Conroe, TX 77304


St James Episcopal Church
Sam Houston Area Council 576
3129 Smore Blvd
Houston, TX 77004


St James Episcopal Church
Suffolk County Council Inc 404
260 Beaver Dam Rd
Brookhaven, NY 11719


St James Episcopal Church
The Spirit of Adventure 227
1991 Massachusetts Ave
Cambridge, MA 02140


St James Episcopal Church
Tukabatchee Area Council 005
347 S Central Ave
Alexander City, AL 35010
St James Episcopal Parish
Baltimore Area Council 220
5757 Solomon Isle Rd
Lothian, MD 20711


St James Episcopal Parish
Baltimore Area Council 220
5757 Solomons Island Rd
Lothian, MD 20711


St James Evangelical Lutheran Church
Erie Shores Council 460
165 Timmons Rd
Bradner, OH 43406


St James Evangelical Lutheran Church
Indian Waters Council 553
1358 S Lake Dr
Lexington, SC 29073


St James Lutheran Church
Central N Carolina Council 416
104 Union St S
Concord, NC 28025


St James Lutheran Church
Central N Carolina Council 416
P.O. Box 684
104 Union St S
Concord, NC 28026


St James Lutheran Church
Columbia‐Montour 504
827 E County Rd
Wapwallopen, PA 18660


St James Lutheran Church
Cradle of Liberty Council 525
93 Kugler Rd
Limerick, PA 19468
St James Lutheran Church
Illowa Council 133
3145 31st Ave
Rock Island, IL 61201


St James Lutheran Church
Jersey Shore Council 341
1341 Mays Landing Rd
Hammonton, NJ 08037


St James Lutheran Church
Mid Iowa Council 177
5665 Merle Hay Rd
Johnston, IA 50131


St James Lutheran Church
Minsi Trails Council 502
1213 US Hwy 22
Phillipsburg, NJ 08865


St James Lutheran Church
Mississippi Valley Council 141 141
17th   Jefferson
Quincy, IL 62301


St James Lutheran Church
New Birth of Freedom 544
126 E Market St
Hallam, PA 17406


St James Lutheran Church
New Birth of Freedom 544
P.O. Box 4596
109 York St
Gettysburg, PA 17325


St James Lutheran Church
Northern Star Council 250
3650 Williams Dr
East Entrance Fellowship Hall
Burnsville, MN 55337
St James Lutheran Church
Northern Star Council 250
3650 Williams Dr
Burnsville, MN 55337


St James Lutheran Church
Occoneechee 421
1424 Morganton Rd
Fayetteville, NC 28305


St James Lutheran Church
San Diego Imperial Council 049
866 Imperial Beach Blvd
Imperial Beach, CA 91932


St James Lutheran Church
Simon Kenton Council 441
5660 Trabue Rd
Columbus, OH 43228


St James Lutheran Church
Suffolk County Council Inc 404
230 2nd Ave
Saint James, NY 11780


St James Lutheran Church
Susquehanna Council 533
P.O. Box 577
Pennsdale, PA 17756


St James Lutheran School
Pathway To Adventure 456
2101 N Fremont St
Chicago, IL 60614


St James Operating Co, LLC
617 S Collison Ave
Cimarron, NM 87714


St James Operating Co, LLC
Express St James Hotel
617 S Collison Ave
Cimarron, NM 87714


St James Parish
Potawatomi Area Council 651
W220N6588 Town Line Rd
Menomonee Falls, WI 53051


St James Parish
Samoset Council, Bsa 627
P.O. Box 280
453 S Main St
Amherst, WI 54406


St James Parish School Board
Attn Sales    Use Tax Dept
P.O. Box 368
Lutcher, LA 70071‐0368


St James Parish Women S Club
Pathway To Adventure 456
820 N Arlington Heights Rd
Arlington Heights, IL 60004


St James Parish Women S Club
Pathway To Adventure 456
841 N Arlington Heights Rd
Arlington Heights, IL 60004


St James Presbyterian Church
Great Lakes Fsc 272
25350 W 6 Mile Rd
Redford, MI 48240


St James Presbyterian Church
Indian Nations Council 488
11970 S Elm St
Jenks, OK 74037


St James Presbyterian Church
Mount Baker Council, Bsa 606
910 14th St
Bellingham, WA 98225


St James Presbyterian Church
New Birth of Freedom 544
1425 Orrs Bridge Rd
Mechanicsburg, PA 17050


St James RC Church
Connecticut Yankee Council Bsa 072
2110 Main St
Stratford, CT 06615


St James Rc Church
Theodore Roosevelt Council 386
80 Hicksville Rd
Seaford, NY 11783


St James Roman Catholic Church
Dan Beard Council, Bsa 438
3565 Hubble Rd
Cincinnati, OH 45247


St James Roman Catholic Church
French Creek Council 532
2635 Buffalo Rd
Erie, PA 16510


St James Roman Catholic Church
Greater Los Angeles Area 033
124 N Pacific Coast Hwy
Redondo Beach, CA 90277


St James Roman Catholic Church
Lake Erie Council 440
174000 Nwood Ave
Lakewood, OH 44107


St James Roman Catholic Church
Narragansett 546
33 Div St
Manville, RI 02838
St James Roman Catholic Church
Patriots Path Council 358
45 S Springfield Ave
Springfield, NJ 07081


St James Seton School
Mid‐America Council 326
4720 N 90th St
Omaha, NE 68134


St James Sports Club
Ozark Trails Council 306
1300 Sports Club Dr
Saint James, MO 65559


St James The Apostle
Westchester Putnam 388
12 Gleneida Ave
Carmel, NY 10512


St James The Apostle Catholic Church
Three Fires Council 127
480 S Park Blvd
Glen Ellyn, IL 60137


St James The Apostle Catholic School
Alamo Area Council 583
907 W Theo Ave
San Antonio, TX 78225


St James The Great Catholic Church
Central N Carolina Council 416
139 Manor Ave Sw
Concord, NC 28025


St James The Greater Catholic Church
Chippewa Valley Council 637
2502 11th St
Eau Claire, WI 54703


St James The Less Catholic Church
Simon Kenton Council 441
1652 Oakland Park Ave
Columbus, OH 43224


St James The Less Catholic Church
Verdugo Hills Council 058
4625 Dunsmore Ave
La Crescenta, CA 91214


St James The Less Catholic Church
Verdugo Hills Council 058
4651 Dunsmore Ave
La Crescenta, CA 91214


St James Umc
Northeast Georgia Council 101
900 Mize Rd
Toccoa, GA 30577


St James Utd Church Of Christ
Cradle of Liberty Council 525
321 S Limerick Rd
Limerick, PA 19468


St James Utd Methodist
Coastal Carolina Council 550
512 Saint James Ave
Goose Creek, SC 29445


St James Utd Methodist Ch Bowling Green
Lincoln Heritage Council 205
575 Winfield Dr
Bowling Green, Ky 42103


St James Utd Methodist Ch Little Rock
Quapaw Area Council 018
321 Pleasant Valley Dr
Little Rock, Ar 72212


St James Utd Methodist Church
Atlanta Area Council 092
3000 Webb Bridge Rd
Alpharetta, GA 30009


St James Utd Methodist Church
Atlanta Area Council 092
4400 Peachtree Dunwoody Rd Ne
Atlanta, GA 30342


St James Utd Methodist Church
Bay‐Lakes Council 635
100 W Capitol Dr
Appleton, WI 54911


St James Utd Methodist Church
East Carolina Council 426
2000 E 6th St
Greenville, NC 27858


St James Utd Methodist Church
Greater Tampa Bay Area 089
16202 Bruce B Downs Blvd
Tampa, FL 33647


St James Utd Methodist Church
Miami Valley Council, Bsa 444
401 Carlwood Dr
Miamisburg, OH 45342


St James Utd Methodist Church
North Florida Council 087
400 Reid St
Palatka, FL 32177


St James Utd Methodist Church
Northeast Georgia Council 101
900 Mize Rd
Toccoa, GA 30577


St James Utd Methodist Church
Palmetto Council 549
213 N Lanford Rd
Spartanburg, SC 29301
St James Utd Methodist Church
Pee Dee Area Council 552
312 Pearl St
Darlington, SC 29532


St James Utd Methodist Church
Rip Van Winkle Council 405
35 Pearl St
Kingston, NY 12401


St James Utd Methodist Church
Southwest Florida Council 088
2049 N Honore Ave, Ste A
Sarasota, FL 34235


St James Utd Methodist Church
Theodore Roosevelt Council 386
Saint James Pl   Forest Ave
Lynbrook, NY 11563


St James Utd Methodist Church
Tukabatchee Area Council 005
9045 Vaughn Rd
Montgomery, AL 36117


St James Utd Methodist Mens
Mid‐America Council 326
1501 Franklin St
Bellevue, NE 68005


St Jane De Chantal Holy Name Society
Pathway To Adventure 456
5252 S Austin Ave
Chicago, IL 60638


St Jane Frances Catholic Church
Baltimore Area Council 220
8499 Virginia Ave
Pasadena, MD 21122


St Jane Frances De Chantal Church
National Capital Area Council 082
9701 Old Georgetown Rd
Bethesda, MD 20814


St Jane Frances Dechantal Church
Minsi Trails Council 502
4049 Hartley Ave
Easton, PA 18045


St Jean Vianney Catholic Church
Istrouma Area Council 211
16166 S Harrells Ferry Rd
Baton Rouge, LA 70816


St Jeanne De Lestonnac School
California Inland Empire Council 045
32650 Avenida Lestonnac
Temecula, CA 92592


St Jeanne De Lestonnac School
Orange County Council 039
16791 E Main St
Tustin, CA 92780


St Jerome Catholic Church
Longhorn Council 662
9820 Chapel Rd
Waco, TX 76712


St Jerome Catholic Church
Sam Houston Area Council 576
8825 Kempwood Dr
Houston, TX 77080


St Jerome Catholic Church
South Florida Council 084
2533 SW 9th Ave
Ft Lauderdale, FL 33315


St Jerome S Catholic Church
Alamo Area Council 583
7955 Real Rd
San Antonio, TX 78263


St Jerome S Catholic Church
Grand Canyon Council 010
10815 N 35th Ave
Phoenix, AZ 85029


St Jeromes Catholic Church
National Capital Area Council 082
5205 43rd Ave
Hyattsville, MD 20781


St Jeromes Church
Mayflower Council 251
632 Bridge St
Weymouth, MA 02191


St Jeromes Roman Catholic
National Capital Area Council 082
5205 43rd Ave
Hyattsville, MD 20781


St Joan Of Arc
Great Lakes Fsc 272
22412 Overlake St
Saint Clair Shores, MI 48080


St Joan Of Arc Catholic Church
Buckeye Council 436
4940 Tuscarawas St W
Canton, OH 44708


St Joan Of Arc Catholic Church
Colonial Virginia Council 595
315 Harris Grove Ln
Yorktown, VA 23692


St Joan Of Arc Catholic Church
Crossroads of America 160
4217 Central Ave
Indianapolis, IN 46205
St Joan Of Arc Catholic Church
Garden State Council 690
100 Willow Bend Rd
Marlton, NJ 08053


St Joan Of Arc Catholic Church
Sagamore Council 162
3155 S 200 W
Kokomo, IN 46902


St Joan Of Arc Catholic Church
Three Fires Council 127
820 Div St
Lisle, IL 60532


St Joan Of Arc Catholic School
Gulf Stream Council 085
501 SW 3rd Ave
Boca Raton, FL 33432


St Joan Of Arc Church
Lake Erie Council 440
496 E Washington St
Chagrin Falls, OH 44022


St Joan Of Arc Church
New Birth of Freedom 544
359 W Areba Ave
Hershey, PA 17033


St Joan Of Arc Church
Westmoreland Fayette 512
3423 National Pike
Boy Scouts of America Troop 687
Farmington, PA 15437


St Joan Of Arc Holy Name Society
Greater St Louis Area Council 312
5800 Oleatha Ave
Saint Louis, MO 63139
St Joan Of Arc R C C
Narragansett 546
3357 Mendon Rd
Cumberland, RI 02864


St Joan Of Arc Roman Catholic Church
California Inland Empire Council 045
15512 6th St
Victorville, CA 92395


St Joan Of Arc Roman Catholic Church
Denver Area Council 061
12735 W 58th Ave
Arvada, CO 80002


St Joan Of Arc School
Erie Shores Council 460
5950 Heatherdowns Blvd
Toledo, OH 43614


St Joan Of Arc School
Potawatomi Area Council 651
120 Nashotah Rd
Nashotah, WI 53058


St John Ame Church
Greater St Louis Area Council 312
1908 N Kingshighway Blvd
Saint Louis, MO 63113


St John American Lutheran Church
Sioux Council 733
1912 W 13th St
Sioux Falls, SD 57104


St John And Paul Catholic Church
Laurel Highlands Council 527
2586 Wexford Bayne Rd
Sewickley, PA 15143


St John Apostle And Evangelist Church
Aloha Council, Bsa 104
95‐370 Kuahelani Ave
Mililani, HI 96789


St John Baptist Church
Colonial Virginia Council 595
1397 Penniman Rd
Williamsburg, VA 23185


St John Baptist Church
Golden Spread Council 562
2301 NW 14th Ave
Amarillo, TX 79107


St John Baptist Church
Northeast Georgia Council 101
741 Ee Butler Pkwy
Gainesville, GA 30501


St John Baptist De La Salle Church
W.L.A.C.C. 051
10738 Hayvenhurst Ave
Granada Hills, CA 91344


St John Baptist De La Salle Church
W.L.A.C.C. 051
16545 Chatsworth St
Granada Hills, CA 91344


St John Baptist De Lasalle RC Ch
Hawk Mountain Council 528
Holland St
Shillington, Pa 19607


St John Before Latin Gate Catholic Ch
Cherokee Area Council 469 469
715 S Johnstone Ave
Bartlesville, Ok 74003


St John Berchman Catholic School
Alamo Area Council 583
1147 Cupples Rd
San Antonio, TX 78226
St John Berchmans School
Pathway To Adventure 456
2511 W Logan Blvd
Chicago, IL 60647


St John Bosco Catholic Church
South Florida Council 084
1358 NW 1st St
Miami, FL 33125


St John Bosco Catholic School
Alamo Area Council 583
5630 W Commerce St
San Antonio, TX 78237


St John Bosco Church
Lake Erie Council 440
6480 Pearl Rd
Parma Heights, OH 44130


St John Bosco Home   School Assoc
Pathway To Adventure 456
7113 Columbia Ave
Hammond, IN 46324


St John Bosco Parish
Connecticut Yankee Council Bsa 072
731 Main St
Branford, CT 06405


St John Brebeuf Hns/Knights Of Columbus
Pathway To Adventure 456
8307 N Harlem Ave
Niles, IL 60714


St John Cantius Parish
Cradle of Liberty Council 525
4415 Almond St
Philadelphia, PA 19137
St John Catholic Church
Bay‐Lakes Council 635
413 Saint John St
Green Bay, WI 54301


St John Catholic Church
Cherokee Area Council 469 469
715 S Johnstone Ave
Bartlesville, OK 74003


St John Catholic Church
Dan Beard Council, Bsa 438
9080 Cincinnati Dayton Rd
West Chester, OH 45069


St John Catholic Church
Simon Kenton Council 441
351 N Market St
Logan, OH 43138


St John Catholic Church
Southern Shores Fsc 783
711 N Francis St
Jackson, MI 49201


St John Catholic School PTO
Heart of America Council 307
1208 Kentucky St
Lawrence, KS 66044


St John Chrysostom Church
Cradle of Liberty Council 525
617 S Providence Rd
Wallingford, PA 19086


St John Chrysostom Church
The Spirit of Adventure 227
4740 Washington St
West Roxbury, MA 02132


St John Church Unleashed ‐ Southlake
Longhorn Council 662
1701 W Jefferson St
Grand Prairie, TX 75051


St John Coptic Orthodox Church
Greater Los Angeles Area 033
21329 E Cienega Ave
Covina, CA 91724


St John De Lasalle Roman Catholic Church
Greater Niagara Frontier Council 380
8469 Buffalo Ave
Niagara Falls, NY 14304


St John Episcopal Church
Golden Empire Council 047
2341 Floral Ave
Chico, CA 95926


St John Episcopal Church
Samoset Council, Bsa 627
330 Mcclellan St
Wausau, WI 54403


St John Episcopal Church
Seneca Waterways 397
54 W Main St
Sodus, NY 14551


St John Eudes Roman Catholic Church
W.L.A.C.C. 051
9901 Mason Ave
Chatsworth, CA 91311


St John Evangelical Lutheran Church
Bucktail Council 509
325 Church St
Johnsonburg, PA 15845


St John Evangelical Lutheran Church
Glaciers Edge Council 620
307 6th St
Reedsburg, WI 53959
St John Evangelical Lutheran Church
Pathway To Adventure 456
305 Cir Ave
Forest Park, IL 60130


St John Evangelical Lutheran Church
Susquehanna Council 533
229 S Broad St
Jersey Shore, PA 17740


St John Evangelist Catholic Church
Stonewall Jackson Council 763
344 Maple Ave
Waynesboro, VA 22980


St John Evangelist Catholic Church
The Spirit of Adventure 227
174 Humphrey St
Swampscott, MA 01907


St John Evangelist Hispanic Committee
Baltimore Area Council 220
10431 Twin Rivers Rd
Columbia, MD 21044


St John Evangelist R C Church
National Capital Area Council 082
10103 Georgia Ave
Silver Spring, MD 20902


St John Fisher Chapel Univ Parish
Great Lakes Fsc 272
3665 E Walton Blvd
Auburn Hills, MI 48326


St John Gualberts RC Church
83 Gualbert Ave
Buffalo, NY 14211


St John K Of C 1286
Evangeline Area 212
P.O. Box 90701
Lafayette, LA 70509


St John Kanty
Greater Niagara Frontier Council 380
101 Swinburne St
Buffalo, NY 14212


St John Lalande Catholic Church
Heart of America Council 307
805 NW R D Mize Rd
Blue Springs, MO 64015


St John Lions Club
Pathway To Adventure 456
P.O. Box 331
Saint John, IN 46373


St John Lutheran
Flint River Council 095
1689 US 41 Byp S
Griffin, GA 30224


St John Lutheran Church
Aloha Council, Bsa 104
1004 Kailua Rd
Kailua, HI 96734


St John Lutheran Church
Baltimore Area Council 220
Third St   Washburn
Baltimore, MD 21225


St John Lutheran Church
Bay‐Lakes Council 635
2700 Babcock Rd
Green Bay, WI 54313


St John Lutheran Church
Connecticut Yankee Council Bsa 072
520 Paddock Ave
Meriden, CT 06450


St John Lutheran Church
Cornhusker Council 324
701 N 6th St
Beatrice, NE 68310


St John Lutheran Church
Cradle of Liberty Council 525
1800 Skippack Pike
Blue Bell, PA 19422


St John Lutheran Church
Erie Shores Council 460
207 Adams St
Port Clinton, OH 43452


St John Lutheran Church
Erie Shores Council 460
21140 W Toledo St
P.O. Box 235
Williston, OH 43468


St John Lutheran Church
Erie Shores Council 460
21142 W Toledo St
P.O. Box 235
Williston, OH 43468


St John Lutheran Church
Great Lakes Fsc 272
246 Benjamin St
Romeo, MI 48065


St John Lutheran Church
Greater St Louis Area Council 312
15800 Manchester Rd
Ellisville, MO 63011


St John Lutheran Church
Juniata Valley Council 497
101 Mill St
P.O. Box 439
Millheim, PA 16854


St John Lutheran Church
Juniata Valley Council 497
P.O. Box 216
Bellefonte, PA 16823


St John Lutheran Church
Last Frontier Council 480
3610 N Union Ave
Shawnee, OK 74804


St John Lutheran Church
Minsi Trails Council 502
2915 Fireline Rd
Palmerton, PA 18071


St John Lutheran Church
New Birth of Freedom 544
2580 Mount Rose Ave
York, PA 17402


St John Lutheran Church
Rocky Mountain Council 063
790 Greydene Ave
Canon City, CO 81212


St John Lutheran Church
Sam Houston Area Council 576
520 N Holland St
Bellville, TX 77418


St John Lutheran Church
Samoset Council, Bsa 627
1104 E 3rd St
Merrill, WI 54452


St John Lutheran Church
Samoset Council, Bsa 627
120 Forest Ave
Phillips, WI 54555
St John Lutheran Church
South Texas Council 577
301 E Main
Bishop, TX 78343


St John Lutheran Church
Three Rivers Council 578
2955 S Major Dr
Beaumont, TX 77707


St John Lutheran Church ‐ Madison
Sioux Council 733
122 N Grant Ave
Madison, SD 57042


St John Lutheran Church Elca
Bay‐Lakes Council 635
1700 Lost Dauphin Rd
De Pere, WI 54115


St John Lutheran Church In America
Rainbow Council 702
2650 Plainfield Rd
Joliet, IL 60435


St John Lutheran Ptl
Black Swamp Area Council 449
655 Wayne Ave
Defiance, OH 43512


St John Lutheran School
Great Lakes Fsc 272
1011 W University Dr
Rochester Hills, MI 48307


St John Lutheran School/Church
Pathway To Adventure 456
4939 W Montrose Ave
Chicago, IL 60641
St John Methodist Church Hopkinsville
Lincoln Heritage Council 205
2808 S Virginia St
Hopkinsville, KY 42240


St John Missionary Baptist Church
Last Frontier Council 480
5700 N Kelley Ave
Oklahoma City, OK 73111


St John Missionary Baptist Church
Middle Tennessee Council 560
1833 Tiny Town Rd
Clarksville, TN 37042


St John Nepomucene Rc Church
Suffolk County Council Inc 404
1150 Locust Ave
Bohemia, NY 11716


St John Nepomuk Catholic Church
Last Frontier Council 480
600 Garth Brooks Blvd
Yukon, OK 73099


St John Nepomuk Parish
Three Harbors Council 636
700 English St
Racine, WI 53402


St John Neumann
Orange County Council 039
5101 Alton Pkwy
Irvine, CA 92604


St John Neumann Catholic Church
Great Smoky Mountain Council 557
633 Saint John Ct
Knoxville, TN 37934


St John Neumann Catholic Church
Heart of Virginia Council 602
2480 Batterson Rd
Powhatan, VA 23139


St John Neumann Catholic Church
Indian Waters Council 553
721 Polo Rd
Columbia, SC 29223


St John Neumann Catholic Church
Indian Waters Council 553
P.O. Box 23689
Columbia, SC 29224


St John Neumann Catholic Church
Mecklenburg County Council 415
8451 Idlewild Rd
Charlotte, NC 28227


St John Neumann Catholic Church
Northeast Georgia Council 101
801 Tom Smith Rd
Lilburn, GA 30047


St John Neumann Catholic Church
Sam Houston Area Council 576
2730 Nelwood Dr
Houston, TX 77038


St John Neumann Catholic Church
South Florida Council 084
12125 SW 107th Ave
Miami, FL 33176


St John Neumann Catholic Church
Three Fires Council 127
2900 E Main St
Saint Charles, IL 60174


St John Neumann Catholic Commty
Church
National Capital Area Council 082
11900 Lawyers Rd
Reston, Va 20191


St John Neumann Catholic School
Greater St Louis Area Council 312
142 Wilma Dr
Maryville, IL 62062


St John Neumann Church
Narragansett 546
P.O. Box 718
157 Middleboro Rd
East Freetown, MA 02717


St John Neumann Church
Northeast Georgia Council 101
801 Tom Smith Rd
Lilburn, GA 30047


St John Neumann Parish    Esitec LLC
Potawatomi Area Council 651
1915 Mac Arthur Rd, Ste 2
Waukesha, WI 53188


St John Newmann Catholic
Capitol Area Council 564
5455 Bee Caves Rd
West Lake Hills, TX 78746


St John Newmann Roman Catholic
Grand Canyon Council 010
11545 E 40th St
Yuma, AZ 85367


St John Of Rochester R C Church
Seneca Waterways 397
10 Wickford Way
Fairport, NY 14450


St John Of Rochester Rc Church
Seneca Waterways 397
8 Wickford Way
Fairport, NY 14450
St John Of The Cross
Pathway To Adventure 456
5100 Wolf Rd
Western Springs, IL 60558


St John Of The Cross Parish
Pathway To Adventure 456
708 51st St
Western Springs, IL 60558


St John Paul Ii
Greater St Louis Area Council 312
7748 Mackenzie Rd
Saint Louis, MO 63123


St John Paul Ii Catholic Church
Water and Woods Council 782
511 W Cornell St
Saginaw, MI 48604


St John Progressive Baptist Church
Greater Tampa Bay Area 089
2504 Chipco St
Tampa, FL 33605


St John S
Del Mar Va 081
P.O. Box 236
Fruitland, MD 21826


St John S Cathedral
North Florida Council 087
256 E Church St
Jacksonville, FL 32202


St John S Catholic Church
Westark Area Council 016
1900 W Main St
Russellville, AR 72801
St John S Church Mahoning
Minsi Trails Council 502
826 Mahoning Dr W
Lehighton, PA 18235


St John S Church Of Little Canada
Northern Star Council 250
380 Little Canada Rd E
Little Canada, MN 55117


St John S Church On Morgan Hill
Minsi Trails Council 502
2720 Morgan Hill Rd
Easton, PA 18042


St John S Episcopal Church
Aloha Council, Bsa 104
911 N Marine Corps Dr
Tamuning, GU 96913


St John S Episcopal Church
California Inland Empire Council 045
P.O. Box 152
Corona, CA 92878


St John S Episcopal Church
Connecticut Rivers Council, Bsa 066
523 Hartford Tpke
Vernon, CT 06066


St John S Episcopal Church
Indian Nations Council 488
4200 S Atlanta Pl
Tulsa, OK 74105


St John S Episcopal Church
Indian Waters Council 553
2827 Wheat St
Columbia, SC 29205


St John S Episcopal Church
Last Frontier Council 480
P.O. Box 2088
Norman, OK 73070


St John S Episcopal Church
Monmouth Council, Bsa 347
525 Little Silver Point Rd
Little Silver, NJ 07739


St John S Episcopal Church
Old Hickory Council 427
P.O. Box 645
Valle Crucis, NC 28691


St John S Episcopal Church
Pacific Harbors Council, Bsa 612
7701 Skansie Ave
Gig Harbor, WA 98335


St John S Episcopal Church
Westchester Putnam 388
1 Hudson St
Yonkers, NY 10701


St John S Episcopal Church   School
Orange County Council 039
30382 Via Con Dios
Rancho Santa Margarita, CA 92688


St John S Episopal Church
Patriots Path Council 358
11 S Bergen St
Dover, NJ 07801


St John S Evangelical Lutheran
Capitol Area Council 564
17701 Cameron Rd
Pflugerville, TX 78660


St John S Evangelical Lutheran Church
Central N Carolina Council 416
200 W Innes St
Salisbury, NC 28144
St John S Evangelical Lutheran Church
Glaciers Edge Council 620
100 Oak St
Prairie Du Sac, WI 53578


St John S Evangelical Lutheran Church
Southern Shores Fsc 783
P.O. Box 218
132 S Benjamin St
Fowlerville, MI 48836


St John S Evangelical Lutheran Church
Suffolk County Council Inc 404
48 Greene Ave
Sayville, NY 11782


St John S Hains Utd Church Of Christ
Hawk Mountain Council 528
P.O. Box 148
591 N Church Rd


St John S Lutheran Church
Buffalo Trace 156
5015 E State Rd 56
Dubois, IN 47527


St John S Lutheran Church
Chief Cornplanter Council, Bsa 538
200 Pleasant Dr
Warren, PA 16365


St John S Lutheran Church
Great Rivers Council 653
1000 Dorcas St
Mexico, MO 65265


St John S Lutheran Church
Hawk Mountain Council 528
222 S Tulpehocken St
Pine Grove, PA 17963
St John S Lutheran Church
Hawk Mountain Council 528
33 S Church St
Mohnton, PA 19540


St John S Lutheran Church
Hawk Mountain Council 528
4125 Penn Ave
Sinking Spring, PA 19608


St John S Lutheran Church
Mid‐America Council 326
201 1st Ave Nw
Le Mars, IA 51031


St John S Lutheran Church
Minsi Trails Council 502
37 S 5th St
Allentown, PA 18101


St John S Lutheran Church
Minsi Trails Council 502
P.O. Box 2
Saint Johns, PA 18247


St John S Lutheran Church
Minsi Trails Council 502
P.O. Box 4152
611 N St
Jim Thorpe, PA 18229


St John S Lutheran Church
National Capital Area Council 082
5952 Franconia Rd
Alexandria, VA 22310


St John S Lutheran Church
Palmetto Council 549
415 S Pine St
Spartanburg, SC 29302
St John S Lutheran Church
Potawatomi Area Council 651
20275 Davidson Rd
Brookfield, WI 53045


St John S Lutheran Church
Samoset Council, Bsa 627
B3750 State Hwy 13
Spencer, WI 54479


St John S Lutheran Church
Seneca Waterways 397
888 County Rd 9
Victor, NY 14564


St John S Lutheran Church
Southern Sierra Council 030
4500 Buena Vista Rd
Bakersfield, CA 93311


St John S Lutheran Church
Three Fires Council 127
215 S Lincoln St
Lombard, IL 60148


St John S Lutheran School
Three Fires Council 127
220 S Lincoln Ave
Lombard, IL 60148


St John S Masons Lodge 105
Water and Woods Council 782
915 W State St
Saint Johns, MI 48879


St John S Presbyterian Church
Chester County Council 539
217 Berkley Rd
Devon, PA 19333


St John S Presbyterian Church
W.L.A.C.C. 051
11000 National Blvd
Los Angeles, CA 90064


St John S University
Office of Student Financial Services
8000 Utopia Pkwy
Queens, NY 11439


St John S Utd Church
Lasalle Council 165
225 W Lincoln Ave
Chesterton, IN 46304


St John S Utd Church Of Christ
Crossroads of America 160
7031 S E St
Indianapolis, IN 46227


St John S Utd Church Of Christ
Hawk Mountain Council 528
150 Pine St
Tamaqua, PA 18252


St John S Utd Church Of Christ
Lasalle Council 165
101 Saint John Rd
Michigan City, IN 46360


St John S Utd Church Of Christ
Lasalle Council 165
200 W Buffalo St
New Buffalo, MI 49117


St John S Utd Church Of Christ
Minsi Trails Council 502
1415 Rising Sun Rd
Laurys Station, PA 18059


St John S Utd Methodist Church
Blue Ridge Council 551
515 N Mcduffie St
Anderson, SC 29621
St John S Utd Methodist Church
Indian Waters Council 553
45 Roseborough Rd
Lugoff, SC 29078


St John S Utd Methodist Church
Longhorn Council 662
P.O. Box 168
Rockdale, TX 76567


St John S Utd Methodist Church
Palmetto Council 549
130 Tom Hall St
Fort Mill, SC 29715


St John S Utd Methodist Church
Southwest Florida Council 088
6611 Proctor Rd
Sarasota, FL 34241


St John S Utd Methodist Church
Stonewall Jackson Council 763
1716 N Augusta St
Staunton, VA 24401


St John School
Blue Grass Council 204
General Delivery
Georgetown, KY 40324


St John The Apostle Catholic Church
Cascade Pacific Council 492
417 Washington St
Oregon City, OR 97045


St John The Apostle Catholic Church
Longhorn Council 662
7341 Glenview Dr
Richland Hills, TX 76180
St John The Apostle Catholic Church
Tidewater Council 596
1968 Sandbridge Rd
Virginia Beach, VA 23456


St John The Apostle Church
Quivira Council, Bsa 198
609 E 4th Ave
Saint John, KS 67576


St John The Apostle RC Ch
Del Mar Va 081
506 Seabury Ave
Milford, De 19963


St John The Apostle Rc Church
Patriots Path Council 358
1805 Penbrook Ter
Linden, NJ 07036


St John The Baptist
Chief Seattle Council 609
25810 156th Ave Se
Covington, WA 98042


St John The Baptist
Greater St Louis Area Council 312
10 S Lincoln St
Smithton, IL 62285


St John The Baptist Catholic Ch
K Columbus
Great Salt Lake Council 590
300 E 11800 S
Draper, Ut 84020


St John The Baptist Catholic Church
Anthony Wayne Area 157
4525 Arlington Ave
Fort Wayne, IN 46807


St John The Baptist Catholic Church
Bay‐Lakes Council 635
2561 Glendale Ave
Green Bay, WI 54313


St John The Baptist Catholic Church
Bay‐Lakes Council 635
2597 Glendale Ave
Green Bay, WI 54313


St John The Baptist Catholic Church
Buffalo Trace 156
625 Frame Rd
Newburgh, IN 47630


St John The Baptist Catholic Church
Dan Beard Council, Bsa 438
5351 Dry Ridge Rd
Cincinnati, OH 45252


St John The Baptist Catholic Church
Dan Beard Council, Bsa 438
5361 Dry Ridge Rd
Cincinnati, OH 45252


St John The Baptist Catholic Church
Golden Empire Council 047
416 Chestnut St
Chico, CA 95928


St John The Baptist Catholic Church
Golden Empire Council 047
435 Chestnut St
Chico, CA 95928


St John The Baptist Catholic Church
Greater Alabama Council 001
1055 Hughes Rd
Madison, AL 35758


St John The Baptist Catholic Church
Istrouma Area Council 211
4727 Mchugh Dr
Zachary, LA 70791


St John The Baptist Catholic Church
Istrouma Area Council 211
P.O. Box 248
Brusly, LA 70719


St John The Baptist Catholic Church
Last Frontier Council 480
924 S Littler Ave
Edmond, OK 73034


St John The Baptist Catholic Church
Longs Peak Council 062
342 Emery St
Longmont, CO 80501


St John The Baptist Catholic Church
Montana Council 315
1400 Gerald Ave
Missoula, MT 59801


St John The Baptist Catholic Church
Northern Star Council 250
4625 125th St W
Savage, MN 55378


St John The Baptist Catholic Church
Northern Star Council 250
835 2nd Ave Nw
New Brighton, MN 55112


St John The Baptist Catholic Church
Orange County Council 039
1015 Baker St
Costa Mesa, CA 92626


St John The Baptist Catholic Church
Pine Tree Council 218
132 Mckeen St
Brunswick, ME 04011
St John The Baptist Catholic Church
The Spirit of Adventure 227
17 Chestnut St
Peabody, MA 01960


St John The Baptist Catholic Church
Westchester Putnam 388
670 Yonkers Ave
Yonkers, NY 10704


St John The Baptist Catholic Community
National Capital Area Council 082
12319 New Hampshire Ave
Silver Spring, MD 20904


St John The Baptist Catholic School
Dan Beard Council, Bsa 438
508 Park Ave
Harrison, OH 45030


St John The Baptist Home   School Assoc
Greater Niagara Frontier Council 380
2120 Sandridge Rd
Alden, NY 14004


St John The Baptist Parish
Three Fires Council 127
0S233 Church St
Winfield, IL 60190


St John The Baptist R C Church
Northern New Jersey Council, Bsa 333
69 Valley St
Hillsdale, NJ 07642


St John The Baptist Rc Church
Greater Niagara Frontier Council 380
1085 Englewood Ave
Town of Tonawanda, NY 14223


St John The Baptist Rc Church
Leatherstocking 400
210 E Dominick St
Rome, NY 13440


St John The Baptist Rc Church
Washington Crossing Council 777
4050 Durham Rd
Ottsville, PA 18942


St John The Baptist Roman Catholic
Iroquois Trail Council 376
168 Chestnut St
Lockport, NY 14094


St John The Beloved Catholic Church
Coastal Carolina Council 550
28 Sumter Ave
Summerville, SC 29483


St John The Divine Episcopal Church
Sam Houston Area Council 576
2450 River Oaks Blvd
Houston, TX 77019


St John The Evangelist
Mayflower Council 251
9 Glen Rd
Wellesley Hills, MA 02481


St John The Evangelist
Northeastern Pennsylvania Council 501
35 William St
Pittston, PA 18640


St John The Evangelist
The Spirit of Adventure 227
320 Winthrop St
Winthrop, MA 02152


St John The Evangelist Catholic Church
Baltimore Area Council 220
10431 Twin Rivers Rd
Columbia, MD 21044


St John The Evangelist Catholic Church
Cascade Pacific Council 492
8701 NE 119th St
Vancouver, WA 98662


St John The Evangelist Catholic Church
Central Florida Council 083
5655 Stadium Pkwy
Viera, FL 32940


St John The Evangelist Catholic Church
Istrouma Area Council 211
15208 Hwy 73
Prairieville, LA 70769


St John The Evangelist Catholic Church
Lasalle Council 165
109 W Monroe St
Goshen, IN 46526


St John The Evangelist Catholic Church
Lincoln Heritage Council 205
503 5th St
Carrollton, KY 41008


St John The Evangelist Catholic Church
Longs Peak Council 062
1515 Hilltop Dr
Loveland, CO 80537


St John The Evangelist Catholic Church
National Capital Area Council 082
10103 Georgia Ave
Silver Spring, MD 20902


St John The Evangelist Catholic Church
National Capital Area Council 082
116 E 2nd St
Frederick, MD 21701
St John The Evangelist Catholic Church
National Capital Area Council 082
112 E 2nd St
Frederick, MD 21701


St John The Evangelist Catholic Church
Seneca Waterways 397
55 Martha St
Spencerport, NY 14559


St John The Evangelist Catholic Church
Southwest Florida Council 088
625 111th Ave N
Naples, FL 34108


St John The Evangelist Catholic Church
Stonewall Jackson Council 763
329 Walnut Ave
St Johns Catholic
Waynesboro, VA 22980


St John The Evangelist Catholic Church
Three Fires Council 127
502 S Park Blvd
Streamwood, IL 60107


St John The Evangelist Church
Cape Cod and Islands Cncl 224
841 Shore Rd
Pocasset, MA 02559


St John The Evangelist Church
Istrouma Area Council 211
57805 Main St
Plaquemine, LA 70764


St John The Evangelist Church
Narragansett 546
63 Church St
Slatersville, RI 02876
St John The Evangelist Church
San Diego Imperial Council 049
1001 Encinitas Blvd
Encinitas, CA 92024


St John The Evangelist Church H N S
Three Harbors Council 636
8500 W Coldspring Rd
Milwaukee, WI 53228


St John The Evangelist Greece
Seneca Waterways 397
2400 W Ridge Rd
Rochester, NY 14626


St John The Evangelist Hispanic Ctte
Baltimore Area Council 220
10431 Twin Rivers Rd
Columbia, Md 21044


St John The Evangelist Mens Club
Pathway To Adventure 456
11301 W 93rd Ave
Saint John, IN 46373


St John The Evangelist Parish
Gulf Coast Council 773
1008 Fortune Ave
Panama City, FL 32401


St John The Evangelist Parish
Western Massachusetts Council 234
823 Main St
Agawam, MA 01001


St John The Evangelist Rc
Mayflower Council 251
20 Church St
Hopkinton, MA 01748


St John The Evangelist RC Ch
Baltimore Area Council 220
689 Ritchie Hwy
Severna Park, Md 21146


St John The Evangelist RC Ch
Northern New Jersey Council, Bsa 333
29 N Washington Ave
Bergenfield, Nj 07621


St John The Evangelist RC Ch
Twin Rivers Council 364
806 Union St
Schenectady, Ny 12308


St John The Evangelist Rc Church
Suffolk County Council Inc 404
25 Ocean Ave
Center Moriches, NY 11934


St John The Evangelist Roman Catholic
Baltimore Area Council 220
689 Ritchie Hwy
Severna Park, MD 21146


St John The Theologian Greek Orthodox Ch
Northern New Jersey Council, Bsa 333
353 E Clinton Ave
Tenafly, Nj 07670


St John Utd Church Of Christ
Dan Beard Council, Bsa 438
520 Fairfield Ave
Bellevue, KY 41073


St John Utd Church Of Christ
Greater St Louis Area Council 312
332 Old Sulphur Spring Rd
Manchester, MO 63021


St John Utd Church Of Christ
Greater St Louis Area Council 312
55 W Church St
Mascoutah, IL 62258
St John Utd Church Of Christ
Greater St Louis Area Council 312
21 N Walnut St
Trenton, IL 62293


St John Utd Church Of Christ
Lincoln Douglas School Pto
Blackhawk Area 660
1010 S Park Blvd


St John Utd Methodist Ch Mens Grp
Great Alaska Council 610
1801 Omalley Rd
Anchorage, Ak 99507


St John Utd Methodist Church
Cherokee Area Council 556
3921 Murray Hills Dr
Chattanooga, TN 37416


St John Utd Methodist Church
Great Smoky Mountain Council 557
2201 E Broadway Ave
Maryville, TN 37804


St John Utd Methodist Church
Indian Waters Council 553
P.O. Box 218
Lugoff, SC 29078


St John Utd Methodist Church
South Texas Council 577
5300 S Alameda St
Corpus Christi, TX 78412


St John Utd Methodist Church Men
Sam Houston Area Council 576
400 Jackson St
Richmond, TX 77469
St John Utd Methodist Palmers Crossing
Pine Burr Area Council 304
629 Sullivan Dr
Hattiesburg, Ms 39401


St John Vianney
Water and Woods Council 782
2319 Bagley St
Flint, MI 48504


St John Vianney Catholic Church
Capitol Area Council 564
3201 Sunrise Rd
Round Rock, TX 78665


St John Vianney Catholic Church
Central Florida Council 083
6200 S Orange Blossom Trl
Orlando, FL 32809


St John Vianney Catholic Church
Chief Seattle Council 609
10021 NE 124th St
Kirkland, WA 98034


St John Vianney Catholic Church
Great Lakes Fsc 272
54045 Schoenherr Rd
Shelby Township, MI 48315


St John Vianney Catholic Church
Illowa Council 133
4097 18th St
Bettendorf, IA 52722


St John Vianney Catholic Church
National Capital Area Council 082
105 Vianney Ln
Prince Frederick, MD 20678


St John Vianney Catholic Church
Sam Houston Area Council 576
625 Nottingham Oaks Trl
Houston, TX 77079


St John Vianney Catholic Church
Silicon Valley Monterey Bay 055
4600 Hyland Ave
San Jose, CA 95127


St John Vianney Church
Aloha Council, Bsa 104
920 Keolu Dr
Kailua, HI 96734


St John Vianney Church
Greater Niagara Frontier Council 380
2950 Swestern Blvd
Orchard Park, NY 14127


St John Vianney Church
Lake Erie Council 440
7575 Bellflower Rd
Mentor, OH 44060


St John Vianney Church
Narragansett 546
3655 Diamond Hill Rd
Cumberland, RI 02864


St John Vianney Congregation
Glaciers Edge Council 620
1245 Clark St
Janesville, WI 53545


St John Vianney Home   School Assoc
Patriots Path Council 358
420 Inman Ave
Colonia, NJ 07067


St John Vianney Parish
Katahdin Area Council 216
26 E Main St
Fort Kent, ME 04743
St John Vianney Parish
Potawatomi Area Council 651
1755 N Calhoun Rd
Brookfield, WI 53005


St John Vianney RC Church
2141 Seward Ave
Bronx, NY 10473


St John Xxiii Catholic Parish
Bay‐Lakes Council 635
1800 N Wisconsin St
Port Washington, WI 53074


St John‐Hill Utd Church Of Christ
Hawk Mountain Council 528
620 Hill Church Rd
Boyertown, PA 19512


St Johns Cathedral
Inland Nwest Council 611
127 E 12th Ave
Spokane, WA 99202


St Johns Catholic Church
Black Swamp Area Council 449
P.O. Box 48
Glandorf, OH 45848


St Johns Catholic Church
Cornhusker Council 324
7601 Vine St
Lincoln, NE 68505


St Johns Catholic Church
Mississippi Valley Council 141 141
700 Div St
Burlington, IA 52601


St Johns Catholic Church
Northern Star Council 250
106 N 4th St
Darwin, MN 55324


St Johns Catholic Church
Old Hickory Council 427
340 CC Wright School Rd
North Wilkesboro, NC 28659


St Johns Catholic Church
South Georgia Council 098
800 Gornto Rd
Valdosta, GA 31602


St Johns Catholic Church
Voyageurs Area 286
P.O. Box 549
Grand Marais, MN 55604


St Johns Catholic Church
Yocona Area Council 748
403 University Ave
Oxford, MS 38655


St Johns Christian Church
Cascade Pacific Council 492
8044 N Richmond Ave
Portland, OR 97203


St Johns Church Of Knoxville Tn
Great Smoky Mountain Council 557
413 Cumberland Ave
Knoxville, TN 37902


St Johns Country Day School
North Florida Council 087
3100 Doctors Lake Dr
Orange Park, FL 32073


St Johns County Sheriffs Office
North Florida Council 087
4015 Lewis Speedway
Saint Augustine, FL 32084


St Johns Emergency Services
Grand Canyon Council 010
P.O. Box 1169
Saint Johns, AZ 85936


St Johns Episcopal Church
Baltimore Area Council 220
9120 Frederick Rd
Ellicott City, MD 21042


St Johns Episcopal Church
Blue Ridge Mtns Council 599
P.O. Box 257
Roanoke, VA 24002


St Johns Episcopal Church
Buckskin 617
West Main St
Ripley, WV 25271


St Johns Episcopal Church
Central Florida Council 083
610 Young St
Melbourne, FL 32935


St Johns Episcopal Church
Connecticut Rivers Council, Bsa 066
523 Hartford Tpke Rt30
P.O. Box 2237
Vernon, CT 06066


St Johns Episcopal Church
Connecticut Rivers Council, Bsa 066
7 Whittlesey Ave
New Milford, CT 06776


St Johns Episcopal Church
Connecticut Yankee Council Bsa 072
129 Ledge Hill Rd
Guilford, CT 06437
St Johns Episcopal Church
Connecticut Yankee Council Bsa 072
628 Main St
Stamford, CT 06901


St Johns Episcopal Church
Cradle of Liberty Council 525
576 Concord Rd
Glen Mills, PA 19342


St Johns Episcopal Church
Heart of Virginia Council 602
12201 Richmond St
Chester, VA 23831


St Johns Episcopal Church
Heart of Virginia Council 602
505 Cedar Ln
Hopewell, VA 23860


St Johns Episcopal Church
Indian Nations Council 488
4200 S Atlanta Pl
Tulsa, OK 74105


St Johns Episcopal Church
Mayflower Council 251
322 S Franklin St
P.O. Box 323
Holbrook, MA 02343


St Johns Episcopal Church
Mecklenburg County Council 415
1623 Carmel Rd
Charlotte, NC 28226


St Johns Episcopal Church
National Capital Area Council 082
6715 Georgetown Pike
Mclean, VA 22101
St Johns Episcopal Church
National Capital Area Council 082
P.O. Box 457
6715 Georgetown Pike
Mclean, VA 22101


St Johns Episcopal Church
Rio Grande Council 775
2500 N 10th St
Mcallen, TX 78501


St Johns Episcopal Church
Seneca Waterways 397
183 N Main St
Canandaigua, NY 14424


St Johns Episcopal Church
Three Fires Council 127
750 Aurora Ave
Naperville, IL 60540


St Johns Episcopal Church
Western Massachusetts Council 234
48 Elm St
Northampton, MA 01060


St Johns Episcopal School
Circle Ten Council 571
848 Harter Rd
Dallas, TX 75218


St Johns Ev Lutheran Ch
Algonquin Lions Club
Blackhawk Area 660
300 Jefferson St
Algonquin, Il 60102


St Johns Ev Lutheran Church
Blackhawk Area 660
300 Jefferson St
Algonquin, IL 60102
St Johns Evangelical Church
Black Swamp Area Council 449
211 E Carrol St
Kenton, OH 43326


St Johns Evangelical Lutheran Church
Abraham Lincoln Council 144
2477 W Washington St
Springfield, IL 62702


St Johns Evangelical Lutheran Church
Bay‐Lakes Council 635
101 W Main St
P.O. Box 296
Gillett, WI 54124


St Johns Evangelical Lutheran Church
Cradle of Liberty Council 525
3101 Tyson Ave
Philadelphia, PA 19149


St Johns Evangelical Lutheran Church
Hawk Mountain Council 528
45 N Reading Ave
Boyertown, PA 19512


St Johns Evangelical Lutheran Church
Hawk Mountain Council 528
E. Main   Maple Sts.
Kutztown, PA 19530


St Johns Evangelical Lutheran Church
Minsi Trails Council 502
2745 Morgan Hill Rd
Easton, PA 18042


St Johns Evangelical Lutheran Church
New Birth of Freedom 544
P.O. Box 270
215 St John Rd
Berrysburg, PA 17005
St Johns Evangelical Lutheran Church
Northern New Jersey Council, Bsa 333
145 Mortimer Ave
Rutherford, NJ 07070


St Johns Evangelical Lutheran Church
Simon Kenton Council 441
3220 Columbus St
Grove City, OH 43123


St Johns Evangelical Lutheran Church
Susquehanna Council 533
300 Queen St
Northumberland, PA 17857


St Johns Faith Ucc
Pathway To Adventure 456
21302 Maple St
Matteson, IL 60443


St Johns Holy Angels RC Ch
Del Mar Va 081
82 Possum Park Rd
Newark, De 19711


St Johns Holy Name Society
Samoset Council, Bsa 627
201 W Blodgett St
Marshfield, WI 54449


St Johns Lutheran
Black Hills Area Council 695 695
13275 Fall River Rd
Hot Springs, SD 57747


St Johns Lutheran
Central N Carolina Council 416
200 W Innes St
Salisbury, NC 28144


St Johns Lutheran Ch/Lutheran Sch Assoc
Greater St Louis Area Council 312
2727 N Union Blvd
Decatur, Il 62526


St Johns Lutheran Chuch
Theodore Roosevelt Council 386
47 Winthrop St
Williston Park, NY 11596


St Johns Lutheran Church
440 W Washington
Rushville, IL 62681


St Johns Lutheran Church
Baltimore Area Council 220
3911 Sweet Air Rd
Phoenix, MD 21131


St Johns Lutheran Church
Bay‐Lakes Council 635
1209 W Cir Dr
Beaver Dam, WI 53916


St Johns Lutheran Church
Bay‐Lakes Council 635
222 Stafford St
Plymouth, WI 53073


St Johns Lutheran Church
Black Swamp Area Council 449
1701 Tiffin Ave
Findlay, OH 45840


St Johns Lutheran Church
Black Swamp Area Council 449
655 Wayne Ave
Defiance, OH 43512


St Johns Lutheran Church
Blue Ridge Council 551
P.O. Box 198
Pomaria, SC 29126
St Johns Lutheran Church
Buckeye Council 436
203 E Mansfield St
New Washington, OH 44854


St Johns Lutheran Church
Coastal Georgia Council 099
301 N Columbia Ave
Rincon, GA 31326


St Johns Lutheran Church
East Liverpool
Buckeye Council 436
400 Hill Blvd
East Liverpool, Oh 43920


St Johns Lutheran Church
Garden State Council 690
1002 S Main St
Williamstown, NJ 08094


St Johns Lutheran Church
Glaciers Edge Council 620
625 E Netherwood St
Oregon, WI 53575


St Johns Lutheran Church
Greater New York Councils, Bsa 640
155 Milton St
Brooklyn, NY 11222


St Johns Lutheran Church
Hawk Mountain Council 528
1035 Old River Rd
Birdsboro, PA 19508


St Johns Lutheran Church
Hawk Mountain Council 528
4125 Penn Ave
Sinking Spring, PA 19608
St Johns Lutheran Church
Hawk Mountain Council 528
99 Church St
Hamburg, PA 19526


St Johns Lutheran Church
Hawk Mountain Council 528
Church   Pine Sts
Hamburg, PA 19526


St Johns Lutheran Church
Hawk Mountain Council 528
Main   Maple Sts
Kutztown, PA 19530


St Johns Lutheran Church
Hawk Mountain Council 528
112 W Main St
Ringtown, PA 17967


St Johns Lutheran Church
Hawk Mountain Council 528
33 S Church St
Mohnton, PA 19540


St Johns Lutheran Church
Heart of Virginia Council 602
1301 Milnwood Rd
Farmville, VA 23901


St Johns Lutheran Church
Hoosier Trails Council 145 145
202 N W 1st St
P.O. Box 273
Loogootee, IN 47553


St Johns Lutheran Church
Hoosier Trails Council 145 145
4937 State Rd 48
Lawrenceburg, IN 47025
St Johns Lutheran Church
Longs Peak Council 062
2220 Broadway
Scottsbluff, NE 69361


St Johns Lutheran Church
Miami Valley Council, Bsa 444
122 W National Rd
Vandalia, OH 45377


St Johns Lutheran Church
Miami Valley Council, Bsa 444
248 Wood St
Piqua, OH 45356


St Johns Lutheran Church
Mid‐America Council 326
201 1st Ave Nw
Le Mars, IA 51031


St Johns Lutheran Church
Mid‐America Council 326
902 Montague St
Dunlap, IA 51529


St Johns Lutheran Church
National Capital Area Council 082
5952 Franconia Rd
Alexandria, VA 22310


St Johns Lutheran Church
New Birth of Freedom 544
13 E Main St
Fairfield, PA 17320


St Johns Lutheran Church
Northeast Iowa Council 178
203 Pearl St
Guttenberg, IA 52052


St Johns Lutheran Church
Northeast Iowa Council 178
P.O. Box 819
Guttenberg, IA 52052


St Johns Lutheran Church
Northern Star Council 250
1416 Fairview Ln
Mound, MN 55364


St Johns Lutheran Church
Northern Star Council 250
20165 Heath Ave
Lakeville, MN 55044


St Johns Lutheran Church
Northern Star Council 250
500 3rd St W
Northfield, MN 55057


St Johns Lutheran Church
Orange County Council 039
154 S Shaffer St
Orange, CA 92866


St Johns Lutheran Church
Seneca Waterways 397
153 Church Ave
Farmington, NY 14425


St Johns Lutheran Church
Seneca Waterways 397
888 County Rd 9
Victor, NY 14564


St Johns Lutheran Church
Theodore Roosevelt Council 386
1 Van Roo Ave
Merrick, NY 11566


St Johns Lutheran Church
Washington Crossing Council 777
1203 Pine Grove Rd
Yardley, PA 19067
St Johns Lutheran Church
Western Massachusetts Council 234
60 Broad St
Westfield, MA 01085


St Johns Lutheran Church ‐ Dickinson
Northern Lights Council 429
146 6th Ave W
Dickinson, ND 58601


St Johns Lutheran Church ‐ Jamestown
Northern Lights Council 429
424 1st Ave S
Jamestown, ND 58401


St Johns Lutheran Church ‐ Massillon
Buckeye Council 436
1900 Wales Rd Ne
Massillon, OH 44646


St Johns Lutheran Church And School
Denver Area Council 061
700 S Franklin St
Denver, CO 80209


St Johns Lutheran Church And School
Three Fires Council 127
101 N Spring St
Elgin, IL 60120


St Johns Lutheran Church Elca
Chippewa Valley Council 637
1804 Highland Ave
Eau Claire, WI 54701


St Johns Lutheran Church Of Amherst
Greater Niagara Frontier Council 380
6540 Main St
Williamsville, NY 14221
St Johns Lutheran Highland Church
Laurel Highlands Council 527
311 Cumberland Rd
Pittsburgh, PA 15237


St Johns Lutheran School Parents
At Work For Our School
Three Fires Council 127
109 N Spring St
Elgin, Il 60120


St Johns Masonic Lodge 45
Flint River Council 095
1200 W 3rd St
Jackson, GA 30233


St Johns Methodist Church
Baltimore Area Council 220
216 W Seminary Ave
Lutherville, MD 21093


St Johns Methodist Church
Las Vegas Area Council 328
1730 Kino Ave
Kingman, AZ 86409


St Johns Methodist Men
National Capital Area Council 082
5312 Backlick Rd
Springfield, VA 22151


St Johns Military Sch Historical Museum
Coronado Area Council 192
110 W Otis Ave
P.O. Box 3464
Salina, Ks 67401


St Johns Missionary Baptist Church
Coronado Area Council 192
215 S Chicago St
Salina, KS 67401
St Johns Parish
Juniata Valley Council 497
134 E Bishop St
Bellefonte, PA 16823


St Johns Parish Day School Inc
Greater Tampa Bay Area 089
906 S Orleans Ave
Tampa, FL 33606


St Johns Parish Of Aurora County
Sioux Council 733
P.O. Box 430
Plankinton, SD 57368


St Johns Parish Youth Council
Western Massachusetts Council 234
823 Main St
Agawam, MA 01001


St Johns Presbyterian Church
Nevada Area Council 329
1070 W Plumb Ln
Reno, NV 89509


St Johns Presbyterian Church
North Florida Council 087
4275 Herschel St
Jacksonville, FL 32210


St Johns Presbyterian Church
Sam Houston Area Council 576
5020 W Bellfort St
Houston, TX 77035


St Johns River Base At Echockotee
Watersports
North Florida Council 087
2513 Doctors Lake Dr
Orange Park, Fl 32073


St Johns Roman Catholic Church
Baltimore Area Council 220
43 Monroe St
Westminster, MD 21157


St Johns Roman Catholic Church
Black Swamp Area Council 449
510 Jackson Ave
Defiance, OH 43512


St Johns Roman Catholic Church
Connecticut Rivers Council, Bsa 066
10 Railroad Ave
Plainfield, CT 06374


St Johns Roman Catholic Church
Connecticut Rivers Council, Bsa 066
22 Maple Ave
Uncasville, CT 06382


St Johns School
South Georgia Council 098
800 Gornto Rd
Valdosta, GA 31602


St Johns Utd Ch Christ Farmersville
Minsi Trails Council 502
8065 William Penn Hwy
Easton, Pa 18045


St Johns Utd Church Of Christ
Blackhawk Area 660
1010 S Park Blvd
Freeport, IL 61032


St Johns Utd Church Of Christ
Blackhawk Area 660
401 N Main St
Belvidere, IL 61008


St Johns Utd Church Of Christ
Dan Beard Council, Bsa 438
415 Park Ave
Newport, KY 41071


St Johns Utd Church Of Christ
Hawk Mountain Council 528
236 E Market St
Orwigsburg, PA 17961


St Johns Utd Church Of Christ
Hoosier Trails Council 145 145
300 N Huntersville Rd
Batesville, IN 47006


St Johns Utd Church Of Christ
Minsi Trails Council 502
139 N 4th St
Emmaus, PA 18049


St Johns Utd Church Of Christ
Minsi Trails Council 502
183 S Broad St
Nazareth, PA 18064


St Johns Utd Church Of Christ
New Birth of Freedom 544
161 N Main St
Red Lion, PA 17356


St Johns Utd Church Of Christ
New Birth of Freedom 544
1811 Lincoln Way E
Chambersburg, PA 17202


St Johns Utd Church Of Christ
Rainbow Council 702
11100 2nd St
Mokena, IL 60448


St Johns Utd Church Of Christ
Sam Houston Area Council 576
1513 W St
Rosenberg, TX 77471
St Johns Utd Church Of Christ
Strasburg
Buckeye Council 436
516 N Wooster Ave


St Johns Utd Church Of Christ
Susquehanna Council 533
117 N 8th St
Shamokin, PA 17872


St Johns Utd Church Of Christ
Westmoreland Fayette 512
1230 Brownstone Rd
Larimer, PA 15647


St Johns Utd Church Of Christ ‐ Dover
Buckeye Council 436
409 N Wooster Ave
Dover, OH 44622


St Johns Utd Methodist Ch Georgetown
Capitol Area Council 564
311 E University Ave
Georgetown, Tx 78626


St Johns Utd Methodist Church
Buckskin 617
335 Church St
Spencer, WV 25276


St Johns Utd Methodist Church
Del Mar Va 081
P.O. Box 299
Seaford, DE 19973


St Johns Utd Methodist Church
Del Mar Va 081
P.O. Box 82
Charlestown, MD 21914


St Johns Utd Methodist Church
Great Alaska Council 610
1801 Omalley Rd
Anchorage, AK 99507


St Johns Utd Methodist Church
Great Swest Council 412
2626 Arizona St Ne
Albuquerque, NM 87110


St Johns Utd Methodist Church
Greater St Louis Area Council 312
7372 Marine Rd
Edwardsville, IL 62025


St Johns Utd Methodist Church
Illowa Council 133
109 E 14th St
Davenport, IA 52803


St Johns Utd Methodist Church
Istrouma Area Council 211
230 Renee Dr
Baton Rouge, LA 70810


St Johns Utd Methodist Church
Middle Tennessee Council 560
6300 Charlotte Pike
Nashville, TN 37209


St Johns Utd Methodist Church
New Birth of Freedom 544
165 Firehouse Rd
Grantville, PA 17028


St Johns Utd Methodist Church
Palmetto Council 549
321 S Oakland Ave
Rock Hill, SC 29730


St Johns Utd Methodist Church
South Plains Council 694
1501 University Ave
Lubbock, TX 79401


St Johns Utd Methodist Church
Stonewall Jackson Council 763
1716 N Augusta St
Staunton, VA 24401


St Johns Utd Methodist Men
National Capital Area Council 082
5312 Backlick Rd
Springfield, VA 22151


St Johns Utd Methodist Mens Club
Lincoln Heritage Council 205
12700 W Hwy 42
Prospect, KY 40059


St Johns Westminster Union Church
Dan Beard Council, Bsa 438
1085 Neeb Rd
Cincinnati, OH 45233


St Johns/St Josephs Cathedral
Ore‐Ida Council 106 ‐ Bsa 106
775 N 8th St
Boise, ID 83702


St Joseph Academy, Inc
Three Harbors Council 636
1600 W Oklahoma Ave
Milwaukee, WI 53215


St Joseph Alternative School
Lincoln Heritage Council 205
2823 Frankfort Ave
Louisville, KY 40206


St Joseph Ame Church
Occoneechee 421
2521 Fayetteville St
Durham, NC 27707
St Joseph And Paul Catholic Church
Lincoln Heritage Council 205
609 E 4th St
Owensboro, KY 42303


St Joseph Athletic Assoc
Three Harbors Council 636
12200 W Center St
Milwaukee, WI 53222


St Joseph Catholic Church
Bay‐Lakes Council 635
404 W Lawrence St
Appleton, WI 54911


St Joseph Catholic Church
Black Swamp Area Council 449
135 N Water St
Ft Jennings, OH 45844


St Joseph Catholic Church
Black Swamp Area Council 449
309 Perry St
Wapakoneta, OH 45895


St Joseph Catholic Church
Blue Grass Council 204
248 S Main St
Winchester, KY 40391


St Joseph Catholic Church
Blue Mountain Council 604
520 S Garfield St
Kennewick, WA 99336


St Joseph Catholic Church
Buffalo Trace 156
1020 Kundeck St
Jasper, IN 47546


St Joseph Catholic Church
Buffalo Trace 156
1029 Kundeck St
Jasper, IN 47546


St Joseph Catholic Church
Buffalo Trace 156
215 S Elliott St
Olney, IL 62450


St Joseph Catholic Church
Buffalo Trace 156
410 S Race St
Princeton, IN 47670


St Joseph Catholic Church
Chief Seattle Council 609
220 Mt Park Blvd Sw
Issaquah, WA 98027


St Joseph Catholic Church
Circle Ten Council 571
600 S Jupiter Rd
Richardson, TX 75081


St Joseph Catholic Church
Cornhusker Council 324
505 N E Ave
York, NE 68467


St Joseph Catholic Church
Cornhusker Council 324
P.O. Box 406
Auburn, NE 68305


St Joseph Catholic Church
Crossroads of America 160
125 E Broadway St
Shelbyville, IN 46176


St Joseph Catholic Church
Dan Beard Council, Bsa 438
4011 Alexandria Pike
Cold Spring, KY 41076


St Joseph Catholic Church
Daniel Webster Council, Bsa 330
96 Main St
Belmont, NH 03220


St Joseph Catholic Church
Evangeline Area 212
401 S Adams Ave
Rayne, LA 70578


St Joseph Catholic Church
Evangeline Area 212
P.O. Box 219
Patterson, LA 70392


St Joseph Catholic Church
Evangeline Area 212
P.O. Box 299
Milton, LA 70558


St Joseph Catholic Church
Golden Spread Council 562
4122 S Bonham St
Amarillo, TX 79110


St Joseph Catholic Church
Great Lakes Fsc 272
715 N Lapeer Rd
Lake Orion, MI 48362


St Joseph Catholic Church
Great Smoky Mountain Council 557
P.O. Box 387
3425 Andersonville Hwy
Norris, TN 37828


St Joseph Catholic Church
Great Trail 433
11045 Saint Joseph Blvd
Mantua, OH 44255
St Joseph Catholic Church
Great Trail 433
215 Falls Ave
Cuyahoga Falls, OH 44221


St Joseph Catholic Church
Greater St Louis Area Council 312
802 Middle St
Prairie Du Rocher, IL 62277


St Joseph Catholic Church
Heart of America Council 307
5901 Flint St
Shawnee Mission, KS 66203


St Joseph Catholic Church
Heart of America Council 307
747 Osage St
Leavenworth, KS 66048


St Joseph Catholic Church
Holy Name Society
Bay‐Lakes Council 635
936 9Th St
Green Bay, Wi 54304


St Joseph Catholic Church
Hoosier Trails Council 145 145
629 Clay St
North Vernon, IN 47265


St Joseph Catholic Church
Illowa Council 133
250 S Faith St
Preston, IA 52069


St Joseph Catholic Church
Inland Nwest Council 611
601 S Lincoln Ave
Sandpoint, ID 83864
St Joseph Catholic Church
Istrouma Area Council 211
15710 La Hwy 16
French Settlement, LA 70733


St Joseph Catholic Church
Istrouma Area Council 211
P.O. Box 129
Paulina, LA 70763


St Joseph Catholic Church
Middle Tennessee Council 560
1225 Gallatin Pike S
Madison, TN 37115


St Joseph Catholic Church
National Capital Area Council 082
750 Peachtree St
Herndon, VA 20170


St Joseph Catholic Church
New Birth of Freedom 544
400 E Simpson St
Mechanicsburg, PA 17055


St Joseph Catholic Church
Northern Star Council 250
139000 Biscayne Ave W
Rosemount, MN 55068


St Joseph Catholic Church
Norwela Council 215
211 Atlantic Ave
Shreveport, LA 71105


St Joseph Catholic Church
Orange County Council 039
717 N Bradford Ave
Placentia, CA 92870


St Joseph Catholic Church
Pushmataha Area Council 691
607 University Dr
Starkville, MS 39759


St Joseph Catholic Church
Rio Grande Council 775
114 W Fay St
Edinburg, TX 78539


St Joseph Catholic Church
Sam Houston Area Council 576
600 E 26th St
Bryan, TX 77803


St Joseph Catholic Church
Shenandoah Area Council 598
366 Osouth Queen St
Martinsburg, WV 25401


St Joseph Catholic Church
South Texas Council 577
710 S 19th St
Corpus Christi, TX 78405


St Joseph Catholic Church
Southern Shores Fsc 783
440 E Washington St
Howell, MI 48843


St Joseph Catholic Church
Tukabatchee Area Council 005
511 N Memorial Dr
Prattville, AL 36067


St Joseph Catholic Church
Water and Woods Council 782
109 Linden St
Saint Johns, MI 48879


St Joseph Catholic Church
Westark Area Council 016
1722 N Starr Dr
Fayetteville, AR 72701


St Joseph Catholic Church ‐ Boosters
Erie Shores Council 460
104 W Broadway St
Maumee, OH 43537


St Joseph Catholic Church ‐ Manchester
Greater St Louis Area Council 312
567 Saint Joseph Ln
Manchester, MO 63021


St Joseph Catholic Church Kimmswick
Greater St Louis Area Council 312
6020 Old Antonia Rd
Imperial, MO 63052


St Joseph Catholic Community
Baltimore Area Council 220
915 Liberty Rd
Eldersburg, MD 21784


St Joseph Catholic Community
Longhorn Council 662
1927 SW Green Oaks Blvd
Arlington, TX 76017


St Joseph Catholic Parish
Samoset Council, Bsa 627
208 N Park Ave
Crandon, WI 54520


St Joseph Catholic Parish Council
Southern Shores Fsc 783
211 Church St
Saint Joseph, MI 49085


St Joseph Church
Central Florida Council 083
5320 Babcock St Ne
Palm Bay, FL 32905
St Joseph Church
Erie Shores Council 460
5373 Main St
Sylvania, OH 43560


St Joseph Church
Lasalle Council 165
225 S Mill St
Mishawaka, IN 46544


St Joseph Church
Lasalle Council 165
226 N Hill St
South Bend, IN 46617


St Joseph Church
Rainbow Council 702
P.O. Box 171
Manhattan, IL 60442


St Joseph Church
The Spirit of Adventure 227
790 Salem St
Malden, MA 02148


St Joseph Church ‐ Cottleville
Greater St Louis Area Council 312
1355 Motherhead Rd
Saint Charles, MO 63304


St Joseph Co‐Cathedral
Southeast Louisiana Council 214
P.O. Box 966
Thibodaux, LA 70302


St Joseph Congregation
Three Harbors Council 636
12130 W Hadley St
Milwaukee, WI 53222


St Joseph Episcopal Church
Denver Area Council 061
11202 W Jewell Ave
Lakewood, CO 80232


St Joseph Heritage Healthcare
Dept La 21327
Pasadena, CA 91185‐1327


St Joseph Husband Mary RC Ch
Las Vegas Area Council 328
7260 W Sahara Ave
Las Vegas, Nv 89117


St Joseph Imperial
Greater St Louis Area Council 312
6024 Old Antonia Rd
Imperial, MO 63052


St Joseph Indian School
Sioux Council 733
1301 N Main St
Chamberlain, SD 57325


St Joseph Korean Catholic Center
W.L.A.C.C. 051
20124 Saticoy St
Winnetka, CA 91306


St Joseph Lions Club
Central Minnesota 296
29456 Kale Ct
Saint Joseph, MN 56374


St Joseph Marello Parish
Golden Empire Council 047
7200 Auburn Folsom Rd
Granite Bay, CA 95746


St Joseph Masonic Lodge 970
Prairielands 117
P.O. Box 951
228 1/2 Lincoln
St Joseph Mens Club
San Francisco Bay Area Council 028
43148 Mission Blvd
Fremont, CA 94539


St Joseph Of The Lakes Catholic Churc
Northern Star Council 250
171 Elm St
Lino Lakes, MN 55014


St Joseph Pack 9
Chief Seattle Council 609
732 18th Ave E
Seattle, WA 98112


St Joseph Parish
Buffalo Trace 156
1029 Kundeck St
Jasper, IN 47546


St Joseph Parish
Great Lakes Fsc 272
830 S Lafayette St
South Lyon, MI 48178


St Joseph Parish
Mid‐America Council 326
510 Tipton St
Salix, IA 51052


St Joseph Parish
Northeast Illinois 129
121 E Maple Ave
Libertyville, IL 60048


St Joseph Parish
Quapaw Area Council 018
1115 College Ave
Conway, AR 72032
St Joseph Parish
Southern Shores Fsc 783
3430 Dover St
Dexter, MI 48130


St Joseph Parish Austintown
Great Trail 433
4545 New Rd
Youngstown, OH 44515


St Joseph R C Church
Theodore Roosevelt Council 386
130 5th St
Garden City, NY 11530


St Joseph RC Church
Connecticut Yankee Council Bsa 072
8 Robinson Ave
Danbury, CT 06810


St Joseph Rc Church New Paltz
Rip Van Winkle Council 405
34 S Chestnut St
New Paltz, NY 12561


St Joseph Rcc
Narragansett 546
854 Providence St
West Warwick, RI 02893


St Joseph Roman Catholic Church
Columbia‐Montour 504
18 Center St
Danville, PA 17821


St Joseph Roman Catholic Church
Hawk Mountain Council 528
7 S Broad Mountain Ave
Frackville, PA 17931


St Joseph Roman Catholic Church
Lake Erie Council 440
200 Saint Joseph Dr
Amherst, OH 44001


St Joseph Roman Catholic Church
Narragansett 546
1303 Mendon Rd
Cumberland, RI 02864


St Joseph Roman Catholic Church
Northern New Jersey Council, Bsa 333
305 Elm St
Oradell, NJ 07649


St Joseph Roman Catholic Church
Northern New Jersey Council, Bsa 333
767 Prospect St
Maplewood, NJ 07040


St Joseph Roman Catholic Church ‐ Canton
Buckeye Council 436
2427 Tuscarawas St W
Canton, OH 44708


St Joseph S Catholic Church
Baltimore Area Council 220
1283 Odenton Rd
Odenton, MD 21113


St Joseph S Catholic Church
Chickasaw Council 558
412 Main St
Greenville, MS 38701


St Joseph S Catholic Church
Chippewa Valley Council 637
910 Wilson Ave
Menomonie, WI 54751


St Joseph S Catholic Church
Greater Yosemite Council 059
1813 Oakdale Rd
Modesto, CA 95355
St Joseph S Catholic Church
Pathway To Adventure 456
4824 Highland Ave
Downers Grove, IL 60515


St Joseph S Church
National Capital Area Council 082
47 Depaul St
Emmitsburg, MD 21727


St Joseph S Church ‐ Moorhead
Northern Lights Council 429
218 10th St S
Moorhead, MN 56560


St Joseph S Hospital   Health Center
Northern Lights Council 429
2500 Fairway St
Dickinson, ND 58601


St Joseph S Parish
Pacific Harbors Council, Bsa 612
157 SW 6th St
Chehalis, WA 98532


St Joseph S Parish ‐ Rice Lake
Chippewa Valley Council 637
111 W Marshall St
Rice Lake, WI 54868


St Joseph S Parish Council
Samoset Council, Bsa 627
807 W Lake St
Friendship, WI 53934


St Joseph S Rc Church Of Ronkonkoma
Suffolk County Council Inc 404
45 Church St
Ronkonkoma, NY 11779
St Joseph S Roman Catholic Church
Mayflower Council 251
272 Main St
Kingston, MA 02364


St Joseph S School
Pathway To Adventure 456
5641 S 73rd Ave
Summit, IL 60501


St Joseph S School
Yucca Council 573
1300 Lamar St
El Paso, TX 79903


St Joseph School
Northern New Jersey Council, Bsa 333
305 Elm St
Oradell, NJ 07649


St Joseph School Parent Teacher Org
Lincoln Heritage Council 205
320 W Stephen Foster Ave
Bardstown, KY 40004


St Joseph School PTA
Pathway To Adventure 456
5641 S 73rd Ave
Summit, IL 60501


St Joseph St Thomas RC Ch
Greater New York Councils, Bsa 640
6097 Amboy Rd
Staten Island, Ny 10309


St Joseph The Worker
Ozark Trails Council 306
1796 N State Hwy Nn
Ozark, MO 65721


St Joseph The Worker Catholic Church
California Inland Empire Council 045
10816 Mountain View Ave
Loma Linda, CA 92354


St Joseph The Worker Catholic Church
Northern Star Council 250
7180 Hemlock Ln N
Maple Grove, MN 55369


St Joseph The Worker Catholic Church
Ozark Trails Council 306
1796 N State Hwy Nn
Ozark, MO 65721


St Joseph The Worker Catholic Parish
Ohio River Valley Council 619
229 California Ave
Weirton, WV 26062


St Joseph The Worker R C Church
Minsi Trails Council 502
1879 Applewood Dr
Orefield, PA 18069


St Joseph The Workman RC Cathedral
Gateway Area 624
530 Main St
La Crosse, Wi 54601


St Josephat S Roman Catholic Church
Greater New York Councils, Bsa 640
3432 210th St
Bayside, NY 11361


St Josephs Catholic Church
Atlanta Area Council 092
87 Lacy St Nw
Marietta, GA 30060


St Josephs Catholic Church
Black Swamp Area Council 449
36 Melmore St
Tiffin, OH 44883
St Josephs Catholic Church
Cornhusker Council 324
7607 Trendwood Dr
Lincoln, NE 68506


St Josephs Catholic Church
Glaciers Edge Council 620
1660 Endl Blvd
Fort Atkinson, WI 53538


St Josephs Catholic Church
Greater Alabama Council 001
2300 Beasley Ave Nw
Huntsville, AL 35816


St Josephs Catholic Church
Greater Tampa Bay Area 089
532 Ave M Nw
Winter Haven, FL 33881


St Josephs Catholic Church
Hawkeye Area Council 172
1790 14th St
Marion, IA 52302


St Josephs Catholic Church
Indian Waters Council 553
3512 Devine St
Columbia, SC 29205


St Josephs Catholic Church
Knights Of Columbus
Grand Columbia Council 614
625 S Elliott Ave
Wenatchee, Wa 98801


St Josephs Catholic Church
Long Beach Area Council 032
6180 E Willow St
Long Beach, CA 90815
St Josephs Catholic Church
North Florida Council 087
11730 Old Saint Augustine Rd
Jacksonville, FL 32258


St Josephs Catholic Church
Pony Express Council 311
1001 N 2nd St
Atchison, KS 66002


St Josephs Catholic Church
Shenandoah Area Council 598
233 S Queen St
Martinsburg, WV 25401


St Josephs Catholic Church
The Spirit of Adventure 227
1382 Highland Ave
Needham, MA 02492


St Josephs Catholic Church ‐ Dover
Buckeye Council 436
613 N Tuscarawas Ave
Dover, OH 44622


St Josephs Catholic Church Holy Name
Northeast Iowa Council 178
10204 Key W Dr B
Dubuque, IA 52003


St Josephs Catholic School
Chester County Council 539
460 Manor Ave
Downingtown, PA 19335


St Josephs Catholic School
Greater Tampa Bay Area 089
2200 N Gomez Ave
Tampa, FL 33607


St Josephs Church
Pennsylvania Dutch Council 524
440 Saint Joseph St
Lancaster, PA 17603


St Josephs Home   School Assoc
Central Georgia Council 096
905 High St
Macon, GA 31201


St Josephs Knights Of Columbus
Inland Nwest Council 611
3720 E Colbert Rd
Colbert, WA 99005


St Josephs Odenton RC Congreg ,Inc
Baltimore Area Council 220
1283 Odenton Rd
Odenton, Md 21113


St Josephs Parish Council
Samoset Council, Bsa 627
208 N Park Ave
Crandon, WI 54520


St Josephs Roman Catholic Church
Baltimore Area Council 220
101 Church Ln
Cockeysville, MD 21030


St Josephs Roman Catholic Church
Baltimore Area Council 220
105 Church Ln
Cockeysville, MD 21030


St Josephs Roman Catholic Church
Baltimore Area Council 220
8420 Belair Rd
Baltimore, MD 21236


St Josephs Roman Catholic Church
Baltimore Area Council 220
915 Liberty Rd
Eldersburg, MD 21784


St Josephs Roman Catholic Church
Connecticut Rivers Council, Bsa 066
37 Squire St
New London, CT 06320


St Josephs Roman Catholic Church
Cradle of Liberty Council 525
3255 Concord Rd
Aston, PA 19014


St Josephs Roman Catholic Church
Del Mar Va 081
115 Cleaver Farm Rd
Middletown, DE 19709


St Josephs Roman Catholic Church
Narragansett 546
5 Mann Ave
Newport, RI 02840


St Josephs Roman Catholic Church
Pennsylvania Dutch Council 524
440 Saint Joseph St
Lancaster, PA 17603


St Josephs Roman Catholic Church
Seneca Waterways 397
43 Gebhardt Rd
Penfield, NY 14526


St Josephs Roman Catholic Church
Twin Rivers Council 364
236 1st St
Scotia, NY 12302


St Josephs Roman Catholic Church
Washington Crossing Council 777
1795 Columbia Ave
Warrington, PA 18976
St Josephs University
Attn Laura Savage
5600 City Ave
Philadelphia, PA 19131‐1395


St Jude Catholic Chruch
Norwela Council 215
4700 Palmetto Rd
Benton, LA 71006


St Jude Catholic Church
Anthony Wayne Area 157
2130 Pemberton Dr
Fort Wayne, IN 46805


St Jude Catholic Church
Cherokee Area Council 556
930 Ashland Ter
Chattanooga, TN 37415


St Jude Catholic Church
Circle Ten Council 571
1515 N Greenville Ave
Allen, TX 75002


St Jude Catholic Church
Crossroads of America 160
5353 Mcfarland Rd
Indianapolis, IN 46227


St Jude Catholic Church
Gulf Stream Council 085
21689 Toledo Rd
Boca Raton, FL 33433


St Jude Catholic Church
Norwela Council 215
4700 Palmetto Rd
Benton, LA 71006


St Jude Catholic Church
W D Boyce 138
10811 N Knoxville Ave
Peoria, IL 61615


St Jude Childrens Research Hospital
P.O. Box 50
Memphis, TN 38101‐9929


St Jude Men S Club
Lake Erie Council 440
590 Poplar St
Elyria, OH 44035


St Jude Of The Lake
Northern Star Council 250
700 Mahtomedi Ave
Mahtomedi, MN 55115


St Jude Parish
Bay‐Lakes Council 635
1025 W 5th Ave
Oshkosh, WI 54902


St Jude RC Church
Connecticut Yankee Council Bsa 072
707 Monroe Tpke
Monroe, CT 06468


St Jude Roman Catholic Church
Dan Beard Council, Bsa 438
5924 Bridgetown Rd
Cincinnati, OH 45248


St Jude Roman Catholic Church
Northeastern Pennsylvania Council 501
420 S Mountain Blvd
Mountain Top, PA 18707


St Jude Roman Catholic Church
Patriots Path Council 358
17 Mount Olive Rd
Budd Lake, NJ 07828
St Jude S Catholic Church
Yucca Council 573
4006 Hidden Way
El Paso, TX 79922


St Jude Shrine Of The West Church
San Diego Imperial Council 049
3785 Boston Ave
San Diego, CA 92113


St Jude Thaddeus Parish
Water and Woods Council 782
614 Pine St
Essexville, MI 48732


St Jude The Apostle
Narragansett 546
249 Whittenton St
Taunton, MA 02780


St Jude The Apostle
Three Harbors Council 636
800 Glenview Ave
Milwaukee, WI 53213


St Jude The Apostle Catholic Chr
Istrouma Area Council 211
9150 Highland Rd
Baton Rouge, LA 70810


St Jude The Apostle Catholic Church
Quapaw Area Council 018
2403 Mcarthur Dr
Jacksonville, AR 72076


St Jude The Apostle R C Church
French Creek Council 532
2801 W 6th St
Erie, PA 16505
St Jude The Apostle School
Three Harbors Council 636
822 Glenview Ave
Milwaukee, WI 53213


St Judes Catholic Church
Ventura County Council 057
32032 Lindero Canyon Rd
Westlake Village, CA 91361


St Judes Parish Hall
Montana Council 315
440 7th Ave
Havre, MT 59501


St Judes Roman Catholic Church
Atlanta Area Council 092
7171 Glenridge Dr
Atlanta, GA 30328


St Judes School
Lasalle Council 165
19657 Hildebrand St
South Bend, IN 46614


St Julia Parish Weston/Lincoln
The Spirit of Adventure 227
374 Boston Post Rd
Weston, MA 02493


St Juliana Roman Catholic Church
Pathway To Adventure 456
7200 N Osceola Ave
Chicago, IL 60631


St Julians Episcopal Church
Atlanta Area Council 092
5400 Stewart Mill Rd
Douglasville, GA 30135


St Julias Church
Mayflower Council 251
374 Boston Post Rd
Weston, MA 02493


St Julie Billiart Church
Ventura County Council 057
2475 Borchard Rd
Newbury Park, CA 91320


St Justin
Sam Houston Area Council 576
13350 Ashford Point Dr
Houston, TX 77082


St Justin Catholic Church
Greater St Louis Area Council 312
11910 Eddie and Park Rd
Saint Louis, MO 63126


St Justin Martyr Church
Orange County Council 039
2050 W Ball Rd
Anaheim, CA 92804


St Justin Parish Community
Silicon Valley Monterey Bay 055
2655 Homestead Rd
Santa Clara, CA 95051


St Justin The Martyr Parish
Greater St Louis Area Council 312
11910 Eddie and Park Rd
Saint Louis, MO 63126


St Katharine Drexel Catholic Church
Tidewater Council 596
154 Maple Rd
Maple, NC 27956


St Katharine Drexel Church
National Capital Area Council 082
8428 Opossumtown Pike
Frederick, MD 21702
St Katharine Drexel Men S Society
Bay‐Lakes Council 635
2400 Main Ave
Kaukauna, WI 54130


St Katharine Drexel Mens Society
Bay‐Lakes Council 635
2401 Main Ave
Kaukauna, WI 54130


St Katharine Drexel Parish
Sioux Council 733
1800 S Katie Ave, Ste 1
Sioux Falls, SD 57106


St Katharine Of Siena Church
Cradle of Liberty Council 525
104 S Aberdeen Ave
Wayne, PA 19087


St Katharines Of Siena Church
Cradle of Liberty Council 525
104 S Aberdeen Ave
Wayne, PA 19087


St Katherine Drexel RC Ch
National Capital Area Council 082
8482 Opossumtown Pike
Frederick, Md 21703


St Kevin Catholic Church And School
South Florida Council 084
12525 SW 42nd St
Miami, FL 33175


St Kevins Catholic Church
Narragansett 546
333 Sandy Ln
Warwick, RI 02889
St Kevins Roman Catholic Church
Greater New York Councils, Bsa 640
4521 194th St
Flushing, NY 11358


St Kilian Catholic Church
Bay‐Lakes Council 635
428 Forest St
Hartford, WI 53027


St Kilian Catholic Church
Orange County Council 039
26872 Estanciero Dr
Mission Viejo, CA 92691


St Kilian Church
Samoset Council, Bsa 627
Hwy 10 Box A
Blenker, WI 54415


St Kilian Womens Guild
Theodore Roosevelt Council 386
485 Conklin St
Farmingdale, NY 11735


St Kitts Veterinary Clinic ‐ East Sparta
Buckeye Council 436
10025 Cleveland Ave S
East Sparta, OH 44626


St Landry Parish School Board
Attn Sales    Use Tax Dept
P.O. Box 1210
Opelousas, LA 70571


St Laurence Catholic Church
Sam Houston Area Council 576
3100 Sweetwater Blvd
Sugar Land, TX 77479


St Laurence Church
Longhorn Council 662
519 N Kimball Ave
Southlake, TX 76092


St Laurence Parish
Three Fires Council 127
565 Standish St
Elgin, IL 60123


St Lawrence Catholic Church
Alamo Area Council 583
236 E Petaluma Blvd
San Antonio, TX 78221


St Lawrence Catholic Church
Buffalo Trace 156
1006 Collins Ave
Lawrenceville, IL 62439


St Lawrence Catholic Church
Calcasieu Area Council 209
5505 Pine Island Hwy
Jennings, LA 70546


St Lawrence Catholic Church
Crossroads of America 160
4650 N Shadeland Ave
Indianapolis, IN 46226


St Lawrence Catholic Church
Greater Tampa Bay Area 089
5225 N Himes Ave
Tampa, FL 33614


St Lawrence Catholic Church
Louisiana Purchase Council 213
357 Swartz School Rd
Monroe, LA 71203


St Lawrence Catholic Church
South Florida Council 084
2200 NE 191st St
Miami, FL 33180
St Lawrence Church
Sagamore Council 162
1916 Meharry St
Lafayette, IN 47904


St Lawrence Episcopal Church
Northeast Illinois 129
125 W Church St
Libertyville, IL 60048


St Lawrence Lodge 111 F     Am
Longhouse Council 373
P.O. Box 248
Canton, NY 13617


St Lawrence Martyr Church
Greater Los Angeles Area 033
1940 S Prospect Ave
Redondo Beach, CA 90277


St Lawrence Martyr Church
Narragansett 546
110 Summer St
New Bedford, MA 02740


St Lawrence O Toole R C Church
Connecticut Rivers Council, Bsa 066
494 New Britain Ave
Hartford, CT 06106


St Lawrence Of Brindisi
Greater Los Angeles Area 033
10044 Compton Ave
Los Angeles, CA 90002


St Lawrence Parish And School
Great Lakes Fsc 272
44429 Utica Rd
Utica, MI 48317
St Lawrence Parish Church
Silicon Valley Monterey Bay 055
1971 Saint Lawrence Dr
Santa Clara, CA 95051


St Lawrence RC Church
Connecticut Yankee Council Bsa 072
207 Main St
West Haven, CT 06516


St Lawrence Roman Catholic Church
Dan Beard Council, Bsa 438
3680 Warsaw Ave
Cincinnati, OH 45205


St Lawrence Roman Catholic Church
Lincoln Heritage Council 205
1925 Lewiston Dr
Louisville, KY 40216


St Lawrence Roman Catholic Church
Seneca Waterways 397
1000 N Greece Rd
Rochester, NY 14626


St Lawrence University
Attn Financial Aid Office
23 Romoda Dr
Canton, NY 13617


St Leo Catholic Church
Old Hickory Council 427
335 Springdale Ave
Winston Salem, NC 27104


St Leo S RC Church
Shenandoah Area Council 598
P.O. Box 93
Inwood, WV 25428


St Leo Seton Cath Schl
Evangeline Area 212
502 Saint Leo St
Lafayette, LA 70501


St Leo The Great Catholic Church
National Capital Area Council 082
3700 Old Lee Hwy
Fairfax, VA 22030


St Leo The Great School
Silicon Valley Monterey Bay 055
1051 W San Fernando St
San Jose, CA 95126


St Leonard Catholic Community
Lincoln Heritage Council 205
440 Zorn Ave
Louisville, KY 40206


St Leonard Holy Name Society
Pathway To Adventure 456
3318 Clarence Ave
Berwyn, IL 60402


St Leonards Home   School Assoc
Potawatomi Area Council 651
W173S7777 Wwood Dr
Muskego, WI 53150


St Leos Roman Catholic Church
Bucktail Council 509
111 Depot St
Ridgway, PA 15853


St Leos Roman Catholic Church
Greater Niagara Frontier Council 380
885 Sweet Home Rd
Amherst, NY 14226


St Leos Roman Catholic Church
Northern New Jersey Council, Bsa 333
324 Market St
Elmwood Park, NJ 07407
St Liborius Church
Pathway To Adventure 456
71 W 35th St
Steger, IL 60475


St Linus Church
Mayflower Council 251
119 Hartford St
Natick, MA 01760


St Linus Roman Catholic Church
Pathway To Adventure 456
10300 Lawler Ave
Oak Lawn, IL 60453


St Louis Catholic Academy
Greater St Louis Area Council 312
4720 Carter Ave
Saint Louis, MO 63115


St Louis Catholic Church
Abraham Lincoln Council 144
311 S Elm St
Nokomis, IL 62075


St Louis Catholic Church
Chickasaw Council 558
203 S White Station Rd
Memphis, TN 38117


St Louis Catholic Church
Dan Beard Council, Bsa 438
210 N Broadway
Owensville, OH 45160


St Louis Catholic Church
National Capital Area Council 082
2907 Popkins Ln
Alexandria, VA 22306
St Louis Catholic Church
South Florida Council 084
7270 SW 120th St
Pinecrest, FL 33156


St Louis Catholic Church
Southeast Louisiana Council 214
2226 Bayou Blue Rd
Houma, LA 70364


St Louis Catholic Church
Suwannee River Area Council 664
P.O. Box 4172
Tallahassee, FL 32315


St Louis Catholic School Assoc
Capitol Area Council 564
2114 Saint Joseph Blvd
Austin, TX 78757


St Louis College Of Pharmacy
Attn Patrick Michael Office of
Financial Aid
4588 Parkview Pl
St Louis, MO 63110


St Louis County Collector Of Revenue
41 S Central Ave
St Louis, MO 63105


St Louis County Police
Greater St Louis Area Council 312
232 Vance Rd
Valley Park, MO 63088


St Louis County Police 4Th Precinct
Greater St Louis Area Council 312
3031 Telegraph Rd
Saint Louis, MO 63125


St Louis County Sheriff Explorer Post
Voyageurs Area 286
2030 N Arlington Ave
Duluth, MN 55811


St Louis De Montfort Catholic Church
Los Padres Council 053
5075 Harp Rd
Santa Maria, CA 93455


St Louis De Montfort Catholic School
Crossroads of America 160
11421 Hague Rd
Fishers, IN 46038


St Louis Demonfort Rc Church
Suffolk County Council Inc 404
75 New York Ave
Sound Beach, NY 11789


St Louis King Of France Catholic Church
Southeast Louisiana Council 214
1609 Carrollton Ave
Metairie, LA 70005


St Louis Metro Police
Daria Gray Post 9269
3157 Sublette
St Louis, MO 63129


St Louis Metro Police
Rebecca Smith Post 9230
3157 Sublette
St Louis, MO 63139


St Louis Metro Police Dept
Greater St Louis Area Council 312
1200 Clark Ave
Saint Louis, MO 63103


St Louis Park Lions Club
Northern Star Council 250
5801 Minnetonka Blvd
St Louis Park, MN 55416
St Louis Park Police Dept
Northern Star Council 250
3015 Raleigh Ave
St Louis Park, MN 55416


St Louis Pubilc Schools
Humboldt Academy Of Higher Learning
Greater St Louis Area Council 312
2516 S 9Th St
Saint Louis, Mo 63104


St Louis Public Schools‐Mullanphy Ilc
Greater St Louis Area Council 312
4221 Shaw Blvd
Saint Louis, MO 63110


St Louis The King
Bay‐Lakes Council 635
264 Silver Creek Rd
Marquette, MI 49855


St Louise Catholic Church
Chief Seattle Council 609
141 156th Ave Se
Bellevue, WA 98007


St Louise De Marillac Church
Greater Los Angeles Area 033
1720 E Covina Blvd
Covina, CA 91724


St Louise De Marillac Holy Name Society
Pathway To Adventure 456
1144 Harrison Ave
La Grange Park, IL 60526


St Louise De Marillac Roman Catholic
Laurel Highlands Council 527
312 Mcmurray Rd
Pittsburgh, PA 15241
St Louise De Marillac Roman Catholic
Laurel Highlands Council 527
320 Mcmurray Rd
Pittsburgh, PA 15241


St Lucie County Fire Dept
Gulf Stream Council 085
5160 NW Milner Dr
Port St Lucie, FL 34983


St Lucie County Sheriff
Gulf Stream Council 085
4700 W Midway Rd
Fort Pierce, FL 34981


St Lucie County Sheriffs Dept
Gulf Stream Council 085
4700 W Midway Rd
Fort Pierce, FL 34981


St Lucy Home And School Assoc
Three Harbors Council 636
3035 Drexel Ave
Racine, WI 53403


St Lucys Church
Silicon Valley Monterey Bay 055
2350 Winchester Blvd
Campbell, CA 95008


St Lucys Home And School Assoc
Three Harbors Council 636
3035 Drexel Ave
Racine, WI 53403


St Luke   St Peter S Episcopal Church
Central Florida Council 083
2745 Canoe Creek Rd
Saint Cloud, FL 34772


St Luke Ame Zion Church
Cape Fear Council 425
709 Church St
Wilmington, NC 28401


St Luke Catholic Church
Chief Seattle Council 609
322 N 175th St
Shoreline, WA 98133


St Luke Catholic Church
Mecklenburg County Council 415
13700 Lawyers Rd
Mint Hill, NC 28227


St Luke Catholic Church
Tecumseh 439
1440 N Fairfield Rd
Beavercreek, OH 45432


St Luke Community Methodist Church
Circle Ten Council 571
5710 E R L Thornton Fwy
Dallas, TX 75223


St Luke Community Utd Methodist
Circle Ten Council 571
5710 E R L Thornton Fwy
Dallas, TX 75223


St Luke Evangelical Lutheran Church
Pennsylvania Dutch Council 524
1432 Heidelberg Ave
Schaefferstown, PA 17088


St Luke Lutheran Church
Cradle of Liberty Council 525
35 Wilson Ave
Gilbertsville, PA 19525


St Luke Lutheran Church
Mecklenburg County Council 415
3200 Park Rd
Charlotte, NC 28209


St Luke Lutheran Church
Northern Star Council 250
7000 Hinton Ave S
Cottage Grove, MN 55016


St Luke Lutheran Church
Suffolk County Council Inc 404
20 Candlewood Path
Dix Hills, NY 11746


St Luke Lutheran Church
Susquehanna Council 533
1400 Market St
Williamsport, PA 17701


St Luke Lutheran Church
W.L.A.C.C. 051
5312 Comercio Way
Woodland Hills, CA 91364


St Luke Lutheran Church
Westchester Putnam 388
95 Echester Rd
New Rochelle, NY 10801


St Luke Methodist Church
Tuscarora Council 424
1608 E Pine St
Goldsboro, NC 27530


St Luke Presbyterian Church
Central Florida Council 083
1255 Knox Mcrae Dr
Titusville, FL 32780


St Luke Presbyterian Church
Heart of America Council 307
4301 NE Vivion Rd
Kansas City, MO 64119
St Luke Roman Catholic Church
French Creek Council 532
421 E 38th St
Erie, PA 16504


St Luke S Church
Baltimore Area Council 220
1101 Bay Ridge Ave
Annapolis, MD 21403


St Luke S Episcopal Church
Istrouma Area Council 211
8833 Goodwood Blvd
Baton Rouge, LA 70806


St Luke S Episcopal Church
Longs Peak Council 062
2000 Stover St
Fort Collins, CO 80525


St Luke S Episcopal Church
National Capital Area Council 082
8009 Fort Hunt Rd
Alexandria, VA 22308


St Luke S Hospital
Greater St Louis Area Council 312
232 S Woods Mill Rd
Chesterfield, MO 63017


St Luke S Lutheran Church
Blue Ridge Council 551
4056 Saint Lukes Church Rd
Prosperity, SC 29127


St Luke S Lutheran Church
Cradle of Liberty Council 525
Route 73 Neiffer Rd
Obelisk, PA 19435


St Luke S Lutheran Church
Great Trail 433
2121 6th St
Cuyahoga Falls, OH 44221


St Luke S Lutheran Church
Silicon Valley Monterey Bay 055
1025 the Dalles Ave
Sunnyvale, CA 94087


St Luke S On The Lake Episcopal Church
Capitol Area Council 564
5600 Ranch Rd 620 N
Austin, TX 78732


St Luke S Rc Church
Suffolk County Council Inc 404
266 Wicks Rd
Brentwood, NY 11717


St Luke S University Health Network
Minsi Trails Council 502
240 Union Station Plz
Bethlehem, PA 18015


St Luke S Utd Methodist Church
Chickasaw Council 558
480 S Highland St
Memphis, TN 38111


St Luke S Utd Methodist Church
Last Frontier Council 480
222 NW 15th St
Oklahoma City, OK 73103


St Luke S Warren Hospital Inc
Minsi Trails Council 502
185 Roseberry St
Phillipsburg, NJ 08865


St Luke The Evangelist Catholic Church
Sam Houston Area Council 576
11011 Hall Rd
Houston, TX 77089


St Luke The Evangelist R C Church
Cradle of Liberty Council 525
2316 Fairhill Ave
Glenside, PA 19038


St Luke The Evangelist School
Mid Iowa Council 177
1102 NW Weigel Dr
Ankeny, IA 50023


St Luke Union Church
W D Boyce 138
2101 E Washington St
Bloomington, IL 61701


St Luke Utd Methodist Church
Buckskin 617
320 E Main St
Harrisville, WV 26362


St Luke Utd Methodist Church
Chattahoochee Council 091
1104 2nd Ave
Attention John Laska, Bsa


St Luke Utd Methodist Church
Chattahoochee Council 091
P.O. Box 867
Attention John Laska, Bsa Troop 35


St Luke Utd Methodist Church
Gulf Coast Council 773
1394 E Nine Mile Rd
Rd


St Luke Utd Methodist Church
Juniata Valley Council 497
11927 Taylor Rd
Shade Gap, PA 17255
St Luke Utd Methodist Church
Mid‐America Council 326
11810 Burke St
Omaha, NE 68154


St Luke Utd Methodist Church
Occoneechee 421
2916 Wicker St
Sanford, NC 27330


St Luke Utd Methodist Church
Palmetto Council 549
128 Providence Rd
Lancaster, SC 29720


St Luke Utd Methodist Church
Pee Dee Area Council 552
302 Dunlap Dr
Hartsville, SC 29550


St Luke Utd Methodist Church
Yocona Area Council 748
1400 Clayton Ave
Tupelo, MS 38804


St Lukes   Messiah Lutheran Churches
Laurel Highlands Council 527
144 Jubilee St
Rockwood, PA 15557


St Lukes Ame Church
Heart of America Council 307
900 New York St
Lawrence, KS 66044


St Lukes Asbury Utd Methodist Church
Last Frontier Council 480
1320 SW 38th St
Oklahoma City, OK 73119


St Lukes Catholic Church
Alamo Area Council 583
4603 Manitou
San Antonio, TX 78228


St Lukes Catholic Church
Circle Ten Council 571
202 S Macarthur Blvd
Irving, TX 75060


St Lukes Catholic Church
Greater Los Angeles Area 033
5406 Cloverly Ave
Temple City, CA 91780


St Lukes Catholic Church
Greater Los Angeles Area 033
5605 Cloverly Ave
Temple City, CA 91780


St Lukes Catholic School
Crossroads of America 160
7650 N Illinois St
Indianapolis, IN 46260


St Lukes Church
Connecticut Rivers Council, Bsa 066
141 Maple St
Ellington, CT 06029


St Lukes Episcopal Church
Alamo Area Council 583
11 Saint Lukes Ln
San Antonio, TX 78209


St Lukes Episcopal Church
Allegheny Highlands Council 382
410 N Main St
Jamestown, NY 14701


St Lukes Episcopal Church
Cascade Pacific Council 492
120 SW Towle Ave
Gresham, OR 97080


St Lukes Episcopal Church
Central Florida Council 083
5555 N Tropical Trl
Merritt Island, FL 32953


St Lukes Episcopal Church
Central Florida Council 083
P.O. Box 541025
Merritt Island, FL 32954


St Lukes Episcopal Church
Circle Ten Council 571
5923 Royal Ln
Dallas, TX 75230


St Lukes Episcopal Church
Coastal Georgia Council 099
155 Goshen Rd
Rincon, GA 31326


St Lukes Episcopal Church
Connecticut Rivers Council, Bsa 066
915 Main St
South Glastonbury, CT 06073


St Lukes Episcopal Church
Grand Canyon Council 010
2000 Shepherds Ln
Prescott, AZ 86301


St Lukes Episcopal Church
Heart of America Council 307
5325 Nieman Rd
Shawnee, KS 66203


St Lukes Episcopal Church
Inland Nwest Council 611
501 E Wallace Ave
Coeur D Alene, ID 83814
St Lukes Episcopal Church
Lincoln Heritage Council 205
1206 Maple Ln
Anchorage, KY 40223


St Lukes Episcopal Church
Mobile Area Council‐Bsa 004
1050 Azalea Rd
Mobile, AL 36693


St Lukes Episcopal Church
Northern Star Council 250
615 Vermillion St
Hastings, MN 55033


St Lukes Episcopal Church
Overland Trails 322
2304 2nd Ave
Kearney, NE 68847


St Lukes Episcopal Church
Pine Tree Council 218
P.O. Box 249
Farmington, ME 04938


St Lukes Episcopal Church
Theodore Roosevelt Council 386
253 Glen Ave
Sea Cliff, NY 11579


St Lukes Episcopal Church Grayson
Circle Ten Council 571
427 W Woodard St
Denison, TX 75020


St Lukes Episcopal Parish
Del Mar Va 081
P.O. Box 38
Church Hill, MD 21623


St Lukes Episopal Church
Patriots Path Council 358
17 Oak Ave
Metuchen, NJ 08840


St Lukes Epsicopal Church Mens Club
Mobile Area Council‐Bsa 004
980 Azalea Rd
Mobile, AL 36693


St Lukes Evangelical Lutheran
National Capital Area Council 082
1200 Old Rixeyville Rd
Culpeper, VA 22701


St Lukes Evangelical Lutheran Church
Baltimore Area Council 220
1805 Dundalk Ave
Baltimore, MD 21222


St Lukes Evangelical Lutheran Church
Baltimore Area Council 220
800 W 36th St
Baltimore, MD 21211


St Lukes Evangelical Lutheran Church
Erie Shores Council 460
20 S Yondota Rd
Curtice, OH 43412


St Lukes Evangelical Lutheran Church
National Capital Area Council 082
17740 Muncaster Rd
Rockville, MD 20855


St Lukes Hospital
Erie Shores Council 460
5901 Monclova Rd
Maumee, OH 43537


St Lukes Hospital‐Anderson Campus Day
Minsi Trails Council 502
1872 St Lukes Blvd
Easton, PA 18045


St Lukes Lutheran Church
Baltimore Area Council 220
1803 Dundalk Ave
Baltimore, MD 21222


St Lukes Lutheran Church
Baltimore Area Council 220
701 Green Valley Rd
New Windsor, MD 21776


St Lukes Lutheran Church
Baltimore Area Council 220
P.O. Box 447
New Windsor, MD 21776


St Lukes Lutheran Church
Blue Ridge Council 551
4056 Saint Lukes Church Rd
Prosperity, SC 29127


St Lukes Lutheran Church
Central Florida Council 083
2021 W State Rd 426
Oviedo, FL 32765


St Lukes Lutheran Church
Columbia‐Montour 504
9 St Lukes Way
Bloomsburg, PA 17815


St Lukes Lutheran Church
Cradle of Liberty Council 525
Rte 73   Neiffer Rd
Obelisk, PA 19492


St Lukes Lutheran Church
Glaciers Edge Council 620
7337 Hubbard Ave
Middleton, WI 53562
St Lukes Lutheran Church
Mid‐America Council 326
211 E 2nd St
Emerson, NE 68733


St Lukes Lutheran Church
Mt Diablo‐Silverado Council 023
2491 San Miguel Dr
Walnut Creek, CA 94596


St Lukes Lutheran Church
Theodore Roosevelt Council 386
145 Prospect St
Farmingdale, NY 11735


St Lukes Lutheran Church
Three Fires Council 127
63 Fernwood Rd
Montgomery, IL 60538


St Lukes Lutheran Church And School
National Capital Area Council 082
1200 Rixeyville Rd
Culpeper, VA 22701


St Lukes Lutheran School
Three Fires Council 127
63 Fernwood Rd
Montgomery, IL 60538


St Lukes Methodist Church
Buffalo Trail Council 567
3011 W Kansas Ave
Midland, TX 79701


St Lukes Methodist Church
Del Mar Va 081
100 S 5th Ave
Denton, MD 21629


St Lukes Methodist Church
Piedmont Council 420
52 16th Ave Nw
Hickory, NC 28601


St Lukes Presbyterian Church
Atlanta Area Council 092
1978 Mount Vernon Rd
Dunwoody, GA 30338


St Lukes Presbyterian Church
Sam Houston Area Council 576
8915 Timberside Dr
Houston, TX 77025


St Lukes Roman Catholic Church
Greater New York Councils, Bsa 640
1632 Clintonville St
Whitestone, NY 11357


St Lukes Roman Catholic Church
Greater New York Councils, Bsa 640
1634 Clintonville St
Whitestone, NY 11357


St Lukes U C C Mens Brotherhood
Three Harbors Council 636
2200 18th Ave
South Milwaukee, WI 53172


St Lukes Utd Church Of Christ
Cradle of Liberty Council 525
200 W Main St
Trappe, PA 19426


St Lukes Utd Methodist Church
Andrew Jackson Council 303
621 Duling Ave
Jackson, MS 39216


St Lukes Utd Methodist Church
Blue Ridge Mtns Council 599
3090 N Main St
Danville, VA 24540


St Lukes Utd Methodist Church
Christ Church ST Michaels
Del Mar Va 081
103 Willow St


St Lukes Utd Methodist Church
Colonial Virginia Council 595
300 Ella Taylor Rd
Yorktown, VA 23692


St Lukes Utd Methodist Church
Crossroads of America 160
100 W 86th St
Indianapolis, IN 46260


St Lukes Utd Methodist Church
Denver Area Council 061
8817 S Broadway
Highlands Ranch, CO 80129


St Lukes Utd Methodist Church
East Texas Area Council 585
401 E Main St
Kilgore, TX 75662


St Lukes Utd Methodist Church
Greater Tampa Bay Area 089
4444 5th Ave N
St Petersburg, FL 33713


St Lukes Utd Methodist Church
Heart of Virginia Council 602
4101 Fordham Rd
Richmond District


St Lukes Utd Methodist Church
Sam Houston Area Council 576
P.O. Box 22013
Houston, TX 77227
St Lukes Utd Methodist Men
Central Florida Council 083
4851 S Apopka Vineland Rd
Orlando, FL 32819


St Lukes Utd Methodist Mens Club
Heart of America Council 307
9420 James A Reed Rd
Kansas City, MO 64138


St Luke‐Simpson Utd Methodist Church
Calcasieu Area Council 209
1500 Country Club Rd
Lake Charles, LA 70605


St Madeleine Sophie RC Ch
Twin Rivers Council 364
3500 Carman Rd
Schenectady, Ny 12303


St Madelines Roman Catholic Church
Cradle of Liberty Council 525
110 Park St
Ridley Park, PA 19078


St Malachy Catholic Church
Crossroads of America 160
9833 E County Rd 750 N
Brownsburg, IN 46112


St Malachy S Catholic Church
Laurel Highlands Council 527
343 Forest Grove Rd
Coraopolis, PA 15108


St Margaret Catholic School
Calcasieu Area Council 209
2510 Enterprise Blvd
Lake Charles, LA 70601


St Margaret Episcopal Church
Orange County Council 039
31641 La Novia Ave
San Juan Capistrano, CA 92675


St Margaret Mary
Mid‐America Council 326
6116 Dodge St
Omaha, NE 68132


St Margaret Mary Alacoque Church
Greater St Louis Area Council 312
4900 Ringer Rd
Saint Louis, MO 63129


St Margaret Mary Catholic Church
Bay‐Lakes Council 635
439 Washington Ave
Neenah, WI 54956


St Margaret Mary Catholic Church
Capitol Area Council 564
1101 W New Hope Dr
Cedar Park, TX 78613


St Margaret Mary Catholic Church
Southeast Louisiana Council 214
1050 Robert Blvd
Chruch Office
Slidell, LA 70458


St Margaret Mary Catholic Church
Three Fires Council 127
1450 Green Trails Dr
Naperville, IL 60540


St Margaret Mary Catholic Church
Three Harbors Council 636
3970 N 92nd St
Milwaukee, WI 53222


St Margaret Mary Church
New Birth of Freedom 544
2848 Herr St
Harrisburg, PA 17103


St Margaret Mary Holy Name Society
Greater Los Angeles Area 033
25511 Eshelman Ave
Lomita, CA 90717


St Margaret Mary Roman Catholic Church
Central Florida Council 083
526 N Park Ave
Winter Park, FL 32789


St Margaret Mary Roman Catholic Church
Laurel Highlands Council 527
1 Parish Pl
Moon Twp, PA 15108


St Margaret Mary Roman Catholic Church
Lincoln Heritage Council 205
7813 Shelbyville Rd
Louisville, KY 40222


St Margaret Marys Capital Campaign
1314 Fair Ave
San Antonio, TX 78223


St Margaret Marys Catholic Church
Alamo Area Council 583
1314 Fair Ave
San Antonio, TX 78223


St Margaret Of Scotland
Greater St Louis Area Council 312
3854 Flad Ave
Saint Louis, MO 63110


St Margaret Of York Catholic Church
Dan Beard Council, Bsa 438
9499 Columbia Rd
Loveland, OH 45140
St Margaret Of York Catholic School
Dan Beard Council, Bsa 438
9495 Columbia Rd
Loveland, OH 45140


St Margaret Parish
The Spirit of Adventure 227
374 Stevens St
Lowell, MA 01851


St Margaret Roman Catholic Church
Greater New York Councils, Bsa 640
6605 79th Pl
Middle Village, NY 11379


St Margaret S Church
Baden‐Powell Council 368
14 Copeland Ave
Homer, NY 13077


St Margaret S Episcopal Church
Alamo Area Council 583
5310 Stahl Rd
San Antonio, TX 78247


St Margaret S Episcopal Church
Central N Carolina Council 416
8515 Rea Rd
Waxhaw, NC 28173


St Margaret Scotland RC Ch
Del Mar Va 081
2431 Frazer Rd
Newark, De 19702


St Margaret Scotland RC Ch
Laurel Highlands Council 527
310 Mansfield Ave
Pittsburgh, Pa 15220


St Margarets Catholic Church
Narragansett 546
1098 Pawtucket Ave
Rumford, RI 02916


St Margarets Episcopal Church
California Inland Empire Council 045
47535 Hwy 74
Palm Desert, CA 92260


St Margarets Episcopal Church
Heart of America Council 307
5700 W 6th St
Lawrence, KS 66049


St Margarets Mens Club
Great Lakes Fsc 272
21101 E 13 Mile Rd
Saint Clair Shores, MI 48082


St Margarets Roman Catholic Church
Baltimore Area Council 220
141 N Hickory Ave
Bel Air, MD 21014


St Margarets School
Longhouse Council 373
200 Roxboro Rd
Mattydale, NY 13211


St Marguerite D Youville Catholic Miss
Northeast Georgia Council 101
85 Gloster Rd
Lawrenceville, GA 30044


St Marguerite D Youville Parish
The Spirit of Adventure 227
1340 Lakeview Ave
Dracut, MA 01826


St Maria Goretti Catholic Church
Crossroads of America 160
17102 Spring Mill Rd
Westfield, IN 46074


St Maria Goretti Catholic Church
Glaciers Edge Council 620
5405 Flad Ave
Madison, WI 53711


St Maria Goretti Catholic Church
Longhorn Council 662
1200 S Davis Dr
Arlington, TX 76013


St Maria Goretti Church
Long Beach Area Council 032
3954 Palo Verde Ave
Long Beach, CA 90808


St Maria Goretti Church
Silicon Valley Monterey Bay 055
2980 Senter Rd
San Jose, CA 95111


St Maria Goretti Roman Catholic Church
Cradle of Liberty Council 525
1601 Derstine Rd
Hatfield, PA 19440


St Mariana De Paredes Church
Greater Los Angeles Area 033
7922 Passons Blvd
Pico Rivera, CA 90660


St Marianne De Paredes Church
Greater Los Angeles Area 033
7922 Passons Blvd
Pico Rivera, CA 90660


St Maries River Railroad
Inland Nwest Council 611
318 N 10th St
St Maries, ID 83861
St Marina Coptic Orthodox Church
Orange County Council 039
5 Wrigley
Irvine, CA 92618


St Mark Catholic Church
Cape Fear Council 425
1011 Ewood Rd
Wilmington, NC 28403


St Mark Catholic Church
Greater St Louis Area Council 312
8300 Morganford Rd
Saint Louis, MO 63123


St Mark Catholic Church
Mecklenburg County Council 415
14740 Stumptown Rd
Huntersville, NC 28078


St Mark Catholic Church
National Capital Area Council 082
9970 Vale Rd
Vienna, VA 22181


St Mark Catholic Church
South Florida Council 084
5601 S Flamingo Rd
Southwest Ranches, FL 33330


St Mark Catholic School
South Florida Council 084
5601 S Flamingo Rd
Southwest Ranches, FL 33330


St Mark Church
Blue Grass Council 204
628 W Main St
Richmond, KY 40475


St Mark Church
Laurel Highlands Council 527
410 6th Ave
Altoona, PA 16602


St Mark Evangelical Lutheran Church
Pathway To Adventure 456
11007 S 76th Ave
Worth, IL 60482


St Mark Lutheran Church
Great Alaska Council 610
3230 Lake Otis Pkwy
Anchorage, AK 99508


St Mark Lutheran Church
Great Trail 433
1330 N Carpenter Rd
Brunswick, OH 44212


St Mark Lutheran Church
Greater Niagara Frontier Council 380
1135 Oliver St
North Tonawanda, NY 14120


St Mark Lutheran Church
President Gerald R Ford 781
1934 52nd St Se
Kentwood, MI 49508


St Mark Lutheran Church Of Annville
Pennsylvania Dutch Council 524
200 E Main St
Annville, PA 17003


St Mark Methodist Church
Blue Ridge Council 551
616 Quincy Rd
Seneca, SC 29678


St Mark Methodist Church
Pine Burr Area Council 304
3350 28th St
Gulfport, MS 39501


St Mark Parish
Samoset Council, Bsa 627
602 Military Rd
Rothschild, WI 54474


St Mark Parish Church
Chief Seattle Council 609
18033 15th Ave Ne
Shoreline, WA 98155


St Mark Presbyterian Church
Greater St Louis Area Council 312
601 Claymont Dr
Ballwin, MO 63011


St Mark Presbyterian Church
Texas Swest Council 741
2506 Johnson Ave
2506 Johnson St
San Angelo, TX 76904


St Mark Roman Catholic Church
Baltimore Area Council 220
30 Melvin Ave
Catonsville, MD 21228


St Mark Roman Catholic Church
Greater Niagara Frontier Council 380
401 Woodward Ave
Buffalo, NY 14214


St Mark S Church
Mayflower Council 251
27 Main St
Southborough, MA 01772


St Mark S Episcopal Church
Crossroads of America 160
710 E Buchanan St
Plainfield, IN 46168
St Mark S Episcopal Church
National Capital Area Council 082
6744 S Kings Hwy
Alexandria, VA 22306


St Mark S Episcopal Church
North Florida Council 087
P.O. Box 370
Palatka, FL 32178


St Mark S Episcopal Church
Three Rivers Council 578
680 Calder St
Beaumont, TX 77701


St Mark S Lutheran Church
Erie Shores Council 460
315 S College Dr
Bowling Green, OH 43402


St Mark S Lutheran Church
Greater St Louis Area Council 312
442 W 4th St
Eureka, MO 63025


St Mark S Lutheran Church
National Capital Area Council 082
5800 Backlick Rd
Springfield, VA 22150


St Mark S Methodist Church
Yucca Council 573
5005 Love Rd
El Paso, TX 79922


St Mark S Umc Men S Club
Middle Tennessee Council 560
1267 N Rutherford Blvd
Murfreesboro, TN 37130
St Mark S Utd Methodist Church
Last Frontier Council 480
8140 NW 36th St
Bethany, OK 73008


St Mark School
Connecticut Yankee Council Bsa 072
500 Wigwam Ln
Stratford, CT 06614


St Mark The Evangelist Catholic Church
Greater Tampa Bay Area 089
9724 Cross Creek Blvd
Tampa, FL 33647


St Mark The Evangelist Catholic Church
Last Frontier Council 480
P.O. Box 722217
3939 W Tecumseh Rd
Norman, OK 73072


St Mark The Evangelist Church
Patriots Path Council 358
59 Spring Ln
Long Valley, NJ 07853


St Mark The Evangelist R C Church
French Creek Council 532
695 Smithson Ave
Erie, PA 16511


St Mark The Evangelist School
Greater New York Councils, Bsa 640
55 W 138th St
New York, NY 10037


St Mark Utd Church Of Christ
Greater St Louis Area Council 312
1861 Missouri State Rd
Arnold, MO 63010


St Mark Utd Methodist Church
Blue Ridge Council 551
550 Hwy 72 Bypass Nw
Greenwood, SC 29649


St Mark Utd Methodist Church
Georgia‐Carolina 093
2367 Washington Rd
Augusta, GA 30904


St Mark Utd Methodist Church
Great Smoky Mountain Council 557
7001 S Nshore Dr
Knoxville, TN 37919


St Mark Utd Methodist Church
Greater Alabama Council 001
1320 Golden Springs Rd
Anniston, AL 36207


St Mark Utd Methodist Church
Los Padres Council 053
3942 La Colina Rd
Santa Barbara, CA 93110


St Mark Utd Methodist Church
Pathway To Adventure 456
8441 S Saint Lawrence Ave
Chicago, IL 60619


St Mark Utd Methodist Church
Rainbow Council 702
1200 W Calista St
Kankakee, IL 60901


St Mark Utd Methodist Church
Rio Grande Council 775
301 Pecan Blvd
Mcallen, TX 78501


St Mark Utd Methodist Church
Tidewater Council 596
4320 Twin Pines Rd
Portsmouth, VA 23703


St Mark Utd Methodist Church
Washington Crossing Council 777
465 Paxson Ave
Hamilton Square, NJ 08690


St Mark Youth Enrichment
Northeast Iowa Council 178
1201 Locust St
Dubuque, IA 52001


St Marks At The Crossing Episc Ch
Garden State Council 690
131 W Malaga Rd
Williamstown, Nj 08094


St Marks Cathedral School
Norwela Council 215
2785 Fairfield Ave
Shreveport, LA 71104


St Marks Catholic Church
Baltimore Area Council 220
812 Reckord Rd
Fallston, MD 21047


St Marks Catholic Church
Circle Ten Council 571
1201 Alma Dr
Plano, TX 75075


St Marks Catholic Church
National Capital Area Council 082
9970 Vale Rd
Vienna, VA 22181


St Marks Catholic Church
Ore‐Ida Council 106 ‐ Bsa 106
7960 W Nview St
Boise, ID 83704
St Marks Catholic Church
Water and Woods Council 782
P.O. Box 131
Au Gres, MI 48703


St Marks Catholic School
Circle Ten Council 571
1201 Alma Dr
Plano, TX 75075


St Marks Church
Three Fires Council 127
320 Franklin St
Geneva, IL 60134


St Marks Episcopal Church
Connecticut Yankee Council Bsa 072
111 Oenoke Rdg
New Canaan, CT 06840


St Marks Episcopal Church
Greater Los Angeles Area 033
1014 E Altadena Dr
Altadena, CA 91001


St Marks Episcopal Church
Greater New York Councils, Bsa 640
3350 82nd St
Jackson Heights, NY 11372


St Marks Episcopal Church
Greater Tampa Bay Area 089
13312 Cain Rd
Tampa, FL 33625


St Marks Episcopal Church
Gulf Stream Council 085
3395 Burns Rd
Palm Beach Gardens, FL 33410


St Marks Episcopal Church
North Florida Council 087
4129 Oxford Ave
Jacksonville, FL 32210


St Marks Episcopal Church
Sam Houston Area Council 576
3816 Bellaire Blvd
Houston, TX 77025


St Marks Episcopal Church
Suffolk County Council Inc 404
754 Main St
Islip, NY 11751


St Marks Episcopal Church
Three Fires Council 127
393 N Main St
Glen Ellyn, IL 60137


St Marks Episcopal Church Little Rock
Quapaw Area Council 018
1000 N Mississippi St
Little Rock, AR 72207


St Marks Evangelical Lutheran Church
Juniata Valley Council 497
573 Alfarata Rd
Lewistown, PA 17044


St Marks Evangelical Lutheran Church
New Birth of Freedom 544
117 W Keller St
Mechanicsburg, PA 17055


St Marks Evangelical Lutheran Church
Northeast Illinois 129
3350 N Delany Rd
Waukegan, IL 60087


St Marks Lutheran Brotherhood In Cuero
Elca
Capitol Area Council 564
P.O. Box 248
Cuero, Tx 77954


St Marks Lutheran Church
Conquistador Council Bsa 413
2911 N Main St
Roswell, NM 88201


St Marks Lutheran Church
Cradle of Liberty Council 525
508 Harry St
Conshohocken, PA 19428


St Marks Lutheran Church
Erie Shores Council 460
611 Woodville Rd
Toledo, OH 43605


St Marks Lutheran Church
Glaciers Edge Council 620
324 S Sanborn Ave
Jefferson, WI 53549


St Marks Lutheran Church
Greater Los Angeles Area 033
2323 Las Lomitas Dr
Hacienda Heights, CA 91745


St Marks Lutheran Church
Hawk Mountain Council 528
5 Brooke Mnr
Birdsboro, PA 19508


St Marks Lutheran Church
Longhouse Council 373
2840 Cold Springs Rd
Baldwinsville, NY 13027


St Marks Lutheran Church
Mason Dixon Council 221
601 Washington Ave
Hagerstown, MD 21740
St Marks Lutheran Church
National Capital Area Council 082
5800 Backlick Rd
Springfield, VA 22150


St Marks Lutheran Church
Northern Lights Council 429
715 24th Ave S
Grand Forks, ND 58201


St Marks Lutheran Church
Northern Star Council 250
2499 Helen St N
North Saint Paul, MN 55109


St Marks Lutheran Church
Northern Star Council 250
28595 Randolph Blvd
Randolph, MN 55065


St Marks Lutheran Church
Piedmont Council 420
454 Fieldstone Rd
Mooresville, NC 28115


St Marks Lutheran Church
Susquehanna Council 533
225 N Market St
Elysburg, PA 17824


St Marks Lutheran Church Elca
Northern Lights Council 429
715 24th Ave S
Grand Forks, ND 58201


St Marks Lutheran Church By The Narrows
Pacific Harbors Council, Bsa 612
6730 N 17th St
Tacoma, WA 98406
St Marks Methodist Church
Black Warrior Council 006
1421 Mcfarland Blvd
Northport, AL 35476


St Marks Methodist Church
Last Frontier Council 480
8140 NW 36th St
Bethany, OK 73008


St Marks Parents For Catholic Scouting
Heart of America Council 307
3736 S Lees Summit Rd
Independence, MO 64055


St Marks Parish
Ore‐Ida Council 106 ‐ Bsa 106
7503 W Nview St
Boise, ID 83704


St Marks Parish
Three Harbors Council 636
7117 14th Ave
Kenosha, WI 53143


St Marks Presbyterian Church
Central Florida Council 083
1021 Palm Springs Dr
Altamonte Springs, FL 32701


St Marks Presbyterian Church
Greater Tampa Bay Area 089
7922 State Rd 52
Hudson, FL 34667


St Marks R C Church
Seneca Waterways 397
54 Kuhn Rd
Rochester, NY 14612


St Marks Roman Catholic Church
Lake Erie Council 440
15800 Montrose Ave
Cleveland, OH 44111


St Marks School
Circle Ten Council 571
10600 Preston Rd
Dallas, TX 75230


St Marks School Of Texas
Circle Ten Council 571
10600 Preston Rd
Dallas, TX 75230


St Marks The Evangelist Catholic Church
Alamo Area Council 583
1602 Thousand Oaks Dr
San Antonio, TX 78232


St Marks The Evangelist Catholic Church
Greater Alabama Council 001
7840 Cahaba Valley Rd
Birmingham, AL 35242


St Marks Utd Church Of Christ
Lincoln Heritage Council 205
222 E Spring St
New Albany, IN 47150


St Marks Utd Methodist Church
Alamo Area Council 583
1902 Vance Jackson Rd
San Antonio, TX 78213


St Marks Utd Methodist Church
Andrew Jackson Council 303
400 Grants Ferry Rd
Brandon, MS 39047


St Marks Utd Methodist Church
Black Swamp Area Council 449
800 S Main St
Findlay, OH 45840
St Marks Utd Methodist Church
Blue Ridge Council 551
304 N Franklin Rd
Greenville, SC 29609


St Marks Utd Methodist Church
Blue Ridge Mtns Council 599
19 Cedar Ridge Dr
Daleville, VA 24083


St Marks Utd Methodist Church
Cherokee Area Council 556
701 Mississippi Ave
Chattanooga, TN 37405


St Marks Utd Methodist Church
Circle Ten Council 571
3117 Motley Dr
Mesquite, TX 75150


St Marks Utd Methodist Church
Cornhusker Council 324
8550 Pioneers Blvd
Lincoln, NE 68520


St Marks Utd Methodist Church
Cradle of Liberty Council 525
2220 Sproul Rd
Broomall, PA 19008


St Marks Utd Methodist Church
Dan Beard Council, Bsa 438
4601 Fairfield Ave
Fairfield, OH 45014


St Marks Utd Methodist Church
Del Mar Va 081
100 Peach Blossom Ln
Easton, MD 21601
St Marks Utd Methodist Church
Del Mar Va 081
1700 Limestone Rd
Wilmington, DE 19804


St Marks Utd Methodist Church
Hawkeye Area Council 172
2675 E Washington St
Iowa City, IA 52245


St Marks Utd Methodist Church
Hawkeye Area Council 172
4700 Johnson Ave Nw
Cedar Rapids, IA 52405


St Marks Utd Methodist Church
Heart of America Council 307
603 N Jennings Rd
Independence, MO 64056


St Marks Utd Methodist Church
Heart of America Council 307
6422 Santa Fe Dr
Overland Park, KS 66202


St Marks Utd Methodist Church
Heart of Virginia Council 602
11551 Lucks Ln
Midlothian, VA 23114


St Marks Utd Methodist Church
Hoosier Trails Council 145 145
100 N State Rd 46
Bloomington, IN 47408


St Marks Utd Methodist Church
Northwest Texas Council 587
4319 Mcniel Ave
Wichita Falls, TX 76308


St Marks Utd Methodist Church
Occoneechee 421
4801 Six Forks Rd
Raleigh, NC 27609


St Marks Utd Methodist Church
Sam Houston Area Council 576
3811 N Main St
Baytown, TX 77521


St Marks Utd Methodist Church
Sam Houston Area Council 576
600 Pecore St
Houston, TX 77009


St Marks Utd Methodist Church
San Diego Imperial Council 049
3502 Clairemont Dr
San Diego, CA 92117


St Marks Utd Methodist Church
Yucca Council 573
5005 Love Rd
El Paso, TX 79922


St Marks Utd Methodist Church Orinda
Mt Diablo‐Silverado Council 023
451 Moraga Way
Orinda, CA 94563


St Marks Utd Methodist Men
Louisiana Purchase Council 213
600 Hwy 139
Monroe, LA 71203


St Marks Utd Methodist Mens Group
Crossroads of America 160
4780 E 126th St
Carmel, IN 46033


St Martha Catholic Church
Sam Houston Area Council 576
4301 Woodridge Pkwy
Porter, TX 77365
St Martha Church
Southeast Louisiana Council 214
2555 Apollo Ave
Harvey, LA 70058


St Martha Roman Catholic Church
Lincoln Heritage Council 205
2825 Klondike Ln
Louisville, KY 40218


St Martha S Catholic Church
California Inland Empire Council 045
37200 Whitewood Rd
Murrieta, CA 92563


St Martha S Episcopal Church
Denver Area Council 061
P.O. Box 271
Westminster, CO 80036


St Martha S Episcopal Church
Mid‐America Council 326
780 Pinnacle Dr
Papillion, NE 68046


St Marthas Church
Narragansett 546
2595 Pawtucket Ave
East Providence, RI 02914


St Martin De Porres Catholic Church
Capitol Area Council 564
P.O. Box 1062
Dripping Springs, TX 78620


St Martin De Porres Church
Orange County Council 039
19767 Yorba Linda Blvd
Yorba Linda, CA 92886
St Martin Deporres
Theodore Roosevelt Council 386
530 Hempstead Blvd
Uniondale, NY 11553


St Martin Deporres Catholic Church
Great Lakes Fsc 272
31555 Hoover Rd
Warren, MI 48093


St Martin Deporres Church
Greater Niagara Frontier Council 380
555 Nampton St
Buffalo, NY 14208


St Martin In The Field
Greater Niagara Frontier Council 380
2587 Baseline Rd
Grand Island, NY 14072


St Martin Lions Club
Pine Burr Area Council 304
12404 Cambridge Blvd
Ocean Springs, MS 39564


St Martin Lions Club
Pine Burr Area Council 304
Lemoyne Blvd
Biloxi, MS 39532


St Martin Of Tours
Great Trail 433
1800 Station Rd
Valley City, OH 44280


St Martin Of Tours Catholic Church
San Diego Imperial Council 049
7710 El Cajon Blvd
La Mesa, CA 91942


St Martin Of Tours Catholic Church
Silicon Valley Monterey Bay 055
200 Oconnor Dr
San Jose, CA 95128


St Martin Of Tours Catholic School
W.L.A.C.C. 051
11955 W Sunset Blvd
Los Angeles, CA 90049


St Martin Of Tours Church
Lake Erie Council 440
14600 Turney Rd
Maple Heights, OH 44137


St Martin Of Tours Roman Cath Church
Cradle of Liberty Council 525
5450 Roosevelt Blvd
Philadelphia, PA 19124


St Martin Parish School Board
Attn Sales Tax Dept
P.O. Box 1000
Breaux Bridge, LA 70517


St Martin S Episcopal Church
Greater St Louis Area Council 312
15764 Clayton Rd
Ellisville, MO 63011


St Martin S Episcopal School
Southeast Louisiana Council 214
225 Green Acres Rd
Metairie, LA 70003


St Martin S Lutheran Church
Central N Carolina Council 416
P.O. Box 429
Oakboro, NC 28129


St Martin Utd Church Of Christ
Greater St Louis Area Council 312
7890 Dittmer Ridge Rd
Dittmer, MO 63023
St Martins Catholic Church
Great Rivers Council 653
7148 Business 50 W
Jefferson City, MO 65109


St Martins Catholic Church
Great Trail 433
1824 Station Rd
Valley City, OH 44280


St Martins Catholic Church
National Capital Area Council 082
201 S Frederick Ave
Gaithersburg, MD 20877


St Martins Catholic Com
National Capital Area Council 082
201 S Frederick Ave
Gaithersburg, MD 20877


St Martins Episcopal Church
Greater St Louis Area Council 312
P.O. Box 31006
Saint Louis, MO 63131


St Martins Episcopal Church
Heart of Virginia Council 602
9000 St Martins Ln
Richmond, VA 23294


St Martins Episcopal Church
Sam Houston Area Council 576
717 Sage Rd
Houston, TX 77056


St Martins Episcopal School
Atlanta Area Council 092
3110 Ashford Dunwoody Rd NE, Ste A
Brookhaven, GA 30319
St Martins Episcopal School
Southeast Louisiana Council 214
225 Green Acres Rd
Metairie, LA 70003


St Martins Evangelical Lutheran Church
Baltimore Area Council 220
1120 Spa Rd
Annapolis, MD 21403


St Martins Evangelical Lutheran Church
Seneca Waterways 397
P.O. Box 8057
Webster, NY 14580


St Martins In The Field Episcopal Church
Baltimore Area Council 220
375 Benfield Rd
Severna Park, MD 21146


St Martins In The Fields
Longhorn Council 662
223 S Pearson Lane
Southlake, TX 76092


St Martins In The Fields Episc Ch
Indian Waters Council 553
5220 Clemson Ave
Columbia, Sc 29206


St Martins Lutheran Church
Black Swamp Area Council 449
203 S Defiance St
Archbold, OH 43502


St Martins Roman Catholic Church
Greater Niagara Frontier Council 380
1140 Abbott Rd
Buffalo, NY 14220


St Martins Utd Church Of Christ
Greater St Louis Area Council 312
7890 Dittmer Ridge Rd
Dittmer, MO 63023


St Mary   St Athanasius Coptic Orthodox
W.L.A.C.C. 051
17431 Roscoe Blvd
Northridge, CA 91325


St Mary   St Martha Bethany Episc Ch
Northeast Georgia Council 101
4346 Ridge Rd
Buford, Ga 30519


St Mary   St Martha Of Bethany
Northeast Georgia Council 101
4346 Ridge Rd
Buford, GA 30519


St Mary Arts And Humanities Council
Evangeline Area 212
P.O. Box 2119
Morgan City, LA 70381


St Mary Basha Catholic School
Grand Canyon Council 010
200 W Galveston St
Chandler, AZ 85225


St Mary Basilica
Andrew Jackson Council 303
107 S Union St
Natchez, MS 39120


St Mary Catholic Church
Black Swamp Area Council 449
P.O. Box 355
Edgerton, OH 43517


St Mary Catholic Church
Blackhawk Area 660
10307 Dundee Rd
Huntley, IL 60142
St Mary Catholic Church
Buffalo Trace 156
P.O. Box 67
Ireland, IN 47545


St Mary Catholic Church
Cornhusker Council 324
580 I St
David City, NE 68632


St Mary Catholic Church
Great Lakes Fsc 272
34530 W Michigan Ave
Wayne, MI 48184


St Mary Catholic Church
Hawkeye Area Council 172
1749 Racine Ave Ne
Solon, IA 52333


St Mary Catholic Church
Lake Erie Council 440
731 Exchange St
Vermilion, OH 44089


St Mary Catholic Church
Mayflower Council 251
1 Church Sq
Franklin, MA 02038


St Mary Catholic Church
Quivira Council, Bsa 198
2300 E Meadowlark Blvd
Derby, KS 67037


St Mary Catholic Community School
Pathway To Adventure 456
321 E Joliet St
Crown Point, IN 46307
St Mary Catholic Parish
Longs Peak Council 062
2215 23rd Ave
Greeley, CO 80634


St Mary Catholic School
Crossroads of America 160
226 E 5th St
Rushville, IN 46173


St Mary Church
Connecticut Rivers Council, Bsa 066
42 Spring St
Windsor Locks, CT 06096


St Mary Church
Dan Beard Council, Bsa 438
2853 Erie Ave
Cincinnati, OH 45208


St Mary Church
Mt Diablo‐Silverado Council 023
2039 Mt Diablo Blvd
Walnut Creek, CA 94596


St Mary Church
Sioux Council 733
2001 S 5th Ave
Sioux Falls, SD 57105


St Mary Gate Of Heaven Rcc
Greater New York Councils, Bsa 640
10312 101st Ave
Ozone Park, NY 11416


St Mary Help Of Christians Church
Georgia‐Carolina 093
219 York St Se
Aiken, SC 29801


St Mary Immaculate Parish
Rainbow Council 702
15629 S Route 59
Plainfield, IL 60544


St Mary Magdalen
Southern Shores Fsc 783
2201 S Old US Hwy 23
Brighton, MI 48114


St Mary Magdalen Catholic Church
Evangeline Area 212
P.O. Box 1507
Abbeville, LA 70511


St Mary Magdalen Catholic Church
Greater St Louis Area Council 312
2618 S Brentwood Blvd
Saint Louis, MO 63144


St Mary Magdalen Catholic Church
President Gerald R Ford 781
1253 52nd St Se
Grand Rapids, MI 49508


St Mary Magdalen Catholic Church
Southeast Louisiana Council 214
6425 W Metairie Ave
Metairie, LA 70003


St Mary Magdalen Church
4924 Bancroft
St Louis, MO 63109


St Mary Magdalen Church
Central Florida Council 083
861 Maitland Ave
Altamonte Springs, FL 32701


St Mary Magdalen Church
Connecticut Rivers Council, Bsa 066
145 Buckingham St
Oakville, CT 06779
St Mary Magdalen Church
Greater St Louis Area Council 312
2618 S Brentwood Blvd
Brentwood, MO 63144


St Mary Magdalen Parish
Alamo Area Council 583
1710 Clower
San Antonio, TX 78201


St Mary Magdalen Parish Rc
Mount Baker Council, Bsa 606
8717 7th Ave Se
Everett, WA 98208


St Mary Magdalen Roman Catholic Church
Del Mar Va 081
7 Sharpley Rd
Wilmington, DE 19803


St Mary Magdalene Catholic Church
Bay‐Lakes Council 635
N2845 Shadow Rd
Waupaca, WI 54981


St Mary Magdalene Catholic Church
Blue Ridge Council 551
2252 Woodruff Rd
Simpsonville, SC 29681


St Mary Magdalene Catholic School
Sam Houston Area Council 576
530 Ferguson St
Humble, TX 77338


St Mary Magdalene Church
Occoneechee 421
625 Magdala Pl
Apex, NC 27502


St Mary Magdalene Episcopal Church
Middle Tennessee Council 560
P.O. Box 150
106 E Washington St
Fayetteville, TN 37334


St Mary Magdelene Catholic Church
Blue Ridge Council 551
2252 Woodruff Rd
Simpsonville, SC 29681


St Mary Mother Of The Church
Evangeline Area 212
419 Doucet Rd
Lafayette, LA 70503


St Mary Mother Of The Church
Hudson Valley Council 374
103 Jackson St
Fishkill, NY 12524


St Mary Mystical Rose Church
Great Lakes Fsc 272
24040 Armada Ridge Rd
Armada, MI 48005


St Mary Of Carmel Catholic School
Circle Ten Council 571
1716 Singleton Blvd
Dallas, TX 75212


St Mary Of Nazareth
Mid Iowa Council 177
4600 Meredith Dr
Des Moines, IA 50310


St Mary Of The Angels
Bay‐Lakes Council 635
645 S Irwin Ave
Green Bay, WI 54301


St Mary Of The Angels Rc Church
Allegheny Highlands Council 382
202 S Union St
Olean, NY 14760


St Mary Of The Assumption
Dan Beard Council, Bsa 438
8246 E Main St
Alexandria, KY 41001


St Mary Of The Assumption Catholic Ch
Anthony Wayne Area 157
414 Madison St
Decatur, IN 46733


St Mary Of The Assumption Church
Greater Los Angeles Area 033
7215 Newlin Ave
Whittier, CA 90602


St Mary Of The Assumption Rc Church
Patriots Path Council 358
144 Washington Ave
Elizabeth, NJ 07202


St Mary Of The Assumption Rcc
Del Mar Va 081
P.O. Box 1240
Hockessin, DE 19707


St Mary Of The Bay
Narragansett 546
645 Main St
Warren, RI 02885


St Mary Of The Falls
Lake Erie Council 440
25615 Bagley Rd
Olmsted Falls, OH 44138


St Mary Of The Hills Catholic Church
Great Lakes Fsc 272
2675 John R Rd
Rochester Hills, MI 48307
St Mary Of The Hills Parish
The Spirit of Adventure 227
250 Brook Rd
Milton, MA 02186


St Mary Of The Knobs Catholic Church
Lincoln Heritage Council 205
3033 Martin Rd
Floyds Knobs, IN 47119


St Mary Of The Lake Holy Name Society
Greater Niagara Frontier Council 380
5320 Lake Shore Rd
Hamburg, NY 14075


St Mary Of The Lakes Catholic Church
Garden State Council 690
40 Jackson Rd
Medford, NJ 08055


St Mary Of The Mills Church
National Capital Area Council 082
114 Saint Marys Pl
Laurel, MD 20707


St Mary Of The Rosary Parish
Inland Nwest Council 611
P.O. Box 26
Chewelah, WA 99109


St Mary Of The Snow Rc Church
Rip Van Winkle Council 405
36 Cedar St
Saugerties, NY 12477


St Mary Of The Wood Catholic Church
President Gerald R Ford 781
150 W Church Rd
Twin Lake, MI 49457
St Mary Of The Woods Church
W D Boyce 138
407 S Walnut St
Princeville, IL 61559


St Mary On The Hill Catholic Church
Georgia‐Carolina 093
1420 Monte Sano Ave
Augusta, GA 30904


St Mary Parish
Attn Sales     Use Tax Dept
P.O. Box 1142
Morgan City, LA 70381‐1142


St Mary Parish
Daniel Webster Council, Bsa 330
32 Pearl St
Claremont, NH 03743


St Mary Parish
Pathway To Adventure 456
10 N Buffalo Grove Rd
Buffalo Grove, IL 60089


St Mary Parish
Silicon Valley Monterey Bay 055
11 1st St
Gilroy, CA 95020


St Mary Parish School
Golden Empire Council 047
1351 58th St
Sacramento, CA 95819


St Mary Roman Catholic Church
Cradle of Liberty Council 525
40 Spring Mount Rd
Schwenksville, PA 19473


St Mary Roman Catholic Church
Great Lakes Fsc 272
628 S Lafayette Ave
Royal Oak, MI 48067


St Mary S Cathedral Catholic Church
South Florida Council 084
7525 NW 2nd Ave
Miami, FL 33150


St Mary S Catholic Church
Bay‐Lakes Council 635
P.O. Box 70
4805 Sportsman Dr
De Pere, WI 54115


St Mary S Catholic Church
Blue Ridge Council 551
338 W Washington St
Greenville, SC 29601


St Mary S Catholic Church
Blue Ridge Mtns Council 599
1205 Old Mill Rd
Blacksburg, VA 24060


St Mary S Catholic Church
Grand Canyon Council 010
230 W Galveston St
Chandler, AZ 85225


St Mary S Catholic Church
Lasalle Council 165
219 S State St
Niles, MI 49120


St Mary S Catholic Church
Longhorn Council 662
1018 S 7th St
Temple, TX 76504


St Mary S Catholic Church
San Diego Imperial Council 049
426 E 7th St
National City, CA 91950


St Mary S Catholic Church
Simon Kenton Council 441
684 S 3rd St
Columbus, OH 43206


St Mary S Catholic Church
Three Fires Council 127
244 Waterman St
Sycamore, IL 60178


St Mary S Catholic Church
Three Fires Council 127
302 Fisk Ave
Dekalb, IL 60115


St Mary S Catholic Church
Trapper Trails 589
4050 S 3900 W
West Haven, UT 84401


St Mary S Catholic Church ‐ Menasha
Bay‐Lakes Council 635
528 2nd St
Menasha, WI 54952


St Mary S Catholic School
Longs Peak Council 062
2200 Oneil Ave
Cheyenne, WY 82001


St Mary S Church
Blackhawk Area 660
10307 Dundee Rd
Huntley, IL 60142


St Mary S Church
Buffalo Trace 156
317 N Washington St
Huntingburg, IN 47542
St Mary S Church
Hudson Valley Council 374
2 Father Tierney Cir
Washingtonville, NY 10992


St Mary S Church
Northern New Jersey Council, Bsa 333
91 Home Ave
Rutherford, NJ 07070


St Mary S Church
Pine Tree Council 218
P.O. Box 368
Wells, ME 04090


St Mary S Church
Suffolk County Council Inc 404
175 Broadway
Amityville, NY 11701


St Mary S Church
Tuscarora Council 424
1000 N Jefferson Ave
Goldsboro, NC 27530


St Mary S Episcopal
Evangeline Area 212
P.O. Box 95
Franklin, LA 70538


St Mary S Episcopal Church
De Soto Area Council 013
512 Champagnolle Rd
El Dorado, AR 71730


St Mary S Episcopal Church
Last Frontier Council 480
325 E 1st St
Edmond, OK 73034


St Mary S Episcopal Church
Overland Trails 322
212 S Clark St
Bassett, NE 68714


St Mary S Episcopal Church
Overland Trails 322
88486 440th Ave
Bassett, NE 68714


St Mary S Health Care System, Inc
Northeast Georgia Council 101
1230 Baxter St
Athens, GA 30606


St Mary S Nativity Church
Southeast Louisiana Council 214
3500 Hwy 1
Raceland, LA 70394


St Mary S Of Hannah
President Gerald R Ford 781
2912 W M 113
Kingsley, MI 49649


St Mary S Parish
National Capital Area Council 082
P.O. Box 207
47477 Trinity Church Rd
St Marys City, MD 20686


St Mary S Parish
Potawatomi Area Council 651
N89W16297 Cleveland Ave
Menomonee Falls, WI 53051


St Mary S Rc Church
Greater Niagara Frontier Council 380
6919 Transit Rd
Swormsville, NY 14051


St Mary S Rc Church
Suffolk County Council Inc 404
20 Harrison Ave
East Islip, NY 11730


St Mary S Roman Catholic Church
Baltimore Area Council 220
109 Duke of Gloucester St
Annapolis, MD 21401


St Mary S Roman Catholic Church
Buckeye Council 436
251 N Main St
Marion, OH 43302


St Mary S Roman Catholic Church
Mountaineer Area 615
P.O. Box 4204
Morgantown, WV 26504


St Mary S School
Capitol Area Council 564
910 San Jacinto Blvd
Austin, TX 78701


St Mary S School
Crater Lake Council 491
816 Black Oak Dr
Medford, OR 97504


St Mary S School
Great Swest Council 412
224 7th St Nw
Albuquerque, NM 87102


St Mary S Star Of The Sea Church
San Diego Imperial Council 049
609 Pier View Way
Oceanside, CA 92054


St Mary S‐ Stony Hill Rc Church
c/o Rev. Brian J. Nolan
Patriots Path Council 358
225 Mountain Blvd
Watchung, NJ 07069


St Mary S Utd Methodist Church
Buckskin 617
P.O. Box 3432
Beckley, WV 25801


St Mary Star Of The Sea Hns
Pathway To Adventure 456
6435 S Kilbourn Ave
Chicago, IL 60629


St Mary Star Of The Sea School
Colonial Virginia Council 595
14 N Willard Ave
Hampton, VA 23663


St Mary, Mother Of The Redeemer
Connecticut Rivers Council, Bsa 066
69 Groton Long Point Rd
Groton, CT 06340


St Mary, Star Of The Sea
Connecticut Rivers Council, Bsa 066
16 Bidwell Sq
Unionville, CT 06085


St Marys Cathedral Parish
Sagamore Council 162
1207 Columbia St
Lafayette, IN 47901


St Marys Catholic Cathedral
Golden Spread Council 562
1200 S Washington St
Amarillo, TX 79102


St Marys Catholic Ch
Auburndale Lions Club
Samoset Council, Bsa 627
5866 Main St
Auburndale, Wi 54412
St Marys Catholic Church
Bay Area Council 574
1604 Ave N
Texas City, TX 77590


St Marys Catholic Church
Black Swamp Area Council 449
316 Chicago Ave
Holgate, OH 43527


St Marys Catholic Church
Black Swamp Area Council 449
707 Jefferson Ave
Defiance, OH 43512


St Marys Catholic Church
Blue Ridge Council 551
338 W Washington St
Greenville, SC 29601


St Marys Catholic Church
Buckeye Council 436
206 Cherry Rd Ne
Massillon, OH 44646


St Marys Catholic Church
Coronado Area Council 192
230 E Cloud St
Salina, KS 67401


St Marys Catholic Church
Denver Area Council 061
1855 Saint Marys Dr
Montrose, CO 81401


St Marys Catholic Church
Denver Area Council 061
6853 S Prince St
Littleton, CO 80120
St Marys Catholic Church
Glaciers Edge Council 620
837 Parkview Dr
Milton, WI 53563


St Marys Catholic Church
Greater St Louis Area Council 312
115 N 14th St
Mount Vernon, IL 62864


St Marys Catholic Church
Greater St Louis Area Council 312
1802 Madison Ave
Edwardsville, IL 62025


St Marys Catholic Church
Greater Tampa Bay Area 089
15520 N Blvd
Tampa, FL 33613


St Marys Catholic Church
Heart of Virginia Council 602
9505 Gayton Rd
St Marys Catholic Church
Richmond, VA 23229


St Marys Catholic Church
Lake Erie Council 440
429 Central Ave
Sandusky, OH 44870


St Marys Catholic Church
Mayflower Council 251
8 Church St
Holliston, MA 01746


St Marys Catholic Church
Ozark Trails Council 306
3035 S Central City Rd
Joplin, MO 64804


St Marys Catholic Church
Pathway To Adventure 456
126 Herrick Rd
Riverside, IL 60546


St Marys Catholic Church
Potawatomi Area Council 651
1260 Church St
Elm Grove, WI 53122


St Marys Catholic Church
Potawatomi Area Council 651
225 S Hartwell Ave
Waukesha, WI 53186


St Marys Catholic Church
Quivira Council, Bsa 198
106 E 8th St
Newton, KS 67114


St Marys Catholic Church
Simon Kenton Council 441
61 S Paint St
Chillicothe, OH 45601


St Marys Catholic Church
The Spirit of Adventure 227
8 S Common St
Lynn, MA 01902


St Marys Catholic Church
Three Harbors Council 636
7307 40th Ave
Kenosha, WI 53142


St Marys Catholic Church
Three Rivers Council 578
702 E Houston St
Cleveland, TX 77327


St Marys Catholic Church
Water and Woods Council 782
1505 Ballentine St
Port Huron, MI 48060


St Marys Catholic Church
West Tennessee Area Council 559
1665 US Hwy 45 By Pass
Jackson, TN 38305


St Marys Catholic Church Mens Club
Arbuckle Area Council 468
101 E St Sw
Ardmore, OK 73401


St Marys Catholic Church/Mens Club
Lake Erie Council 440
8560 Mentor Ave
Mentor, OH 44060


St Marys Catholic School
Hoosier Trails Council 145 145
1331 Hunter Robbins Way
Greensburg, IN 47240


St Marys Catholic School
National Capital Area Council 082
2182 Queen St
Christiansted, VI 00820


St Marys Catholic School
Rio Grande Council 775
1300 E Los Ebanos Blvd
Brownsville, TX 78520


St Marys Catholic School Cathedral
Greater St Louis Area Council 312
629 William St
Cape Girardeau, MO 63703


St Marys Ch‐ Balboa Heights
Panama Canal Area
National Capital Area Council 082
Balboa Heights St Paul St
P.O. Box 0843‐03070
Panama


St Marys Church
Baltimore Area Council 220
109 Duke of Gloucester St
Annapolis, MD 21401


St Marys Church
Blackhawk Area 660
1401 N Richmond Rd
Mchenry, IL 60050


St Marys Church
Great Smoky Mountain Council 557
327 Vermont Ave
Oak Ridge, TN 37830


St Marys Church
Inland Nwest Council 611
304 S Adams Rd
Spokane Valley, WA 99216


St Marys Church
Lake Erie Council 440
411 N St
Chardon, OH 44024


St Marys Church
Mason Dixon Council 221
224 W Washington St
Hagerstown, MD 21740


St Marys Church
Mobile Area Council‐Bsa 004
1453 Old Shell Rd
Mobile, AL 36604


St Marys Church
President Gerald R Ford 781
406 E Savidge St
Spring Lake, MI 49456
St Marys Church
Southern Shores Fsc 783
127 N Monroe St
Monroe, MI 48162


St Marys Church
Twin Rivers Council 364
62 Warren St Fl 3
Glens Falls, NY 12801


St Marys Church
Twin Rivers Council 364
East St
Galway, NY 12074


St Marys Church
Western Massachusetts Council 234
519 Longmeadow St
Longmeadow, MA 01106


St Marys Congregation
Potawatomi Area Council 651
225 W Newhall Ave
Waukesha, WI 53186


St Marys Council Of Catholic Women
Pathway To Adventure 456
444 Wilson St
Downers Grove, IL 60515


St Marys County Lodge 2092 Bpoe
National Capital Area Council 082
45779 Fire Dept Ln
P.O. Box 277


St Marys Elk Lodge
Muskingum Valley Council, Bsa 467
P.O. Box 491
Saint Marys, WV 26170


St Marys Episcopal Church
Baltimore Area Council 220
1 Saint Marys Church Rd
Abingdon, MD 21009


St Marys Episcopal Church
Connecticut Rivers Council, Bsa 066
41 Park St
Manchester, CT 06040


St Marys Episcopal Church
Garden State Council 690
501 Green St
Haddon Heights, NJ 08035


St Marys Episcopal Church
Great Alaska Council 610
2222 E Tudor Rd
Anchorage, AK 99507


St Marys Episcopal Church
Laurel Highlands Council 527
509 6th St
Charleroi, PA 15022


St Marys Episcopal Church
Narragansett 546
324 E Main Rd
Portsmouth, RI 02871


St Marys Episcopal Church
Orange County Council 039
428 Park Ave
Laguna Beach, CA 92651


St Marys Episcopal Church
Pacific Harbors Council, Bsa 612
10630 Gravelly Lake Dr Sw
Lakewood, WA 98499


St Marys Episcopal Church
Suffolk County Council Inc 404
315 Lake Shore Rd
Ronkonkoma, NY 11779


St Marys Evangelical Lutheran Church
Baltimore Area Council 220
3798 Littlestown Pike
Westminster, MD 21158


St Marys H   S Assoc
Three Harbors Council 636
9553 W Edgerton Ave
Hales Corners, WI 53130


St Marys Hall
Alamo Area Council 583
9401 Starcrest Dr
San Antonio, TX 78217


St Marys Holy Name Society
Pathway To Adventure 456
525 N Broad St
Griffith, IN 46319


St Marys Home   School
Blackhawk Area 660
130 W Cedar St
Platteville, WI 53818


St Marys Hospital
Twin Rivers Council 364
427 Guy Park Ave
Amsterdam, NY 12010


St Marys Immaculate Conception
Buckeye Council 436
527 Beall Ave
Wooster, OH 44691


St Marys Immaculate Conception
Three Harbors Council 636
108 Mchenry St
Burlington, WI 53105
St Marys In The Hills
Great Lakes Fsc 272
2512 Joslyn Ct
Lake Orion, MI 48360


St Marys International School
Far E Council 803
1‐16‐19 Seta
Setagaya‐Ku
Tokyo, 15800
Japan


St Marys International School
Far E Council 803
1‐6‐19 Seta
Setagaya‐Ku
Tokyo, 15886
Japan


St Marys In‐The‐Hills Episcopal Church
Great Lakes Fsc 272
2512 Joslyn Ct
Lake Orion, MI 48360


St Marys Lutheran Church Elca
Three Harbors Council 636
2001 80th St
Kenosha, WI 53143


St Marys Of Gostyn
Pathway To Adventure 456
444 Wilson St
Downers Grove, IL 60515


St Marys Of Hannah School
President Gerald R Ford 781
2912 W M 113
Kingsley, MI 49649


St Marys Of The Lake
Greater Niagara Frontier Council 380
4737 Lake Shore Rd
Hamburg, NY 14075


St Marys Parents For Catholic Scouting
Heart of America Council 307
2422 N Mcbride Ave
Sugar Creek, MO 64050


St Marys Parish
Inland Nwest Council 611
304 S Adams Rd
Spokane Valley, WA 99216


St Marys Parish
The Spirit of Adventure 227
94 Andover St 133
Georgetown, MA 01833


St Marys Parish
Western Massachusetts Council 234
30 Bartlett St
Westfield, MA 01085


St Marys Parish Our Lady Perpetual Help
Cascade Pacific Council 492
706 Ellsworth St Sw
Albany, Or 97321


St Marys Piscataway Catholic Church
National Capital Area Council 082
13401 Piscataway Rd
Clinton, MD 20735


St Marys R C C
Narragansett 546
148 Sycamore St
Fairhaven, MA 02719


St Marys Rc Church
Greater Niagara Frontier Council 380
6919 Transit Rd
East Amherst, NY 14051
St Marys Rc Church
Narragansett 546
14 Park St
North Attleboro, MA 02760


St Marys Rc Church
Patriots Path Council 358
425 W Blackwell St
Dover, NJ 07801


St Marys Rc Church
Theodore Roosevelt Council 386
1300 Nern Blvd
Manhasset, NY 11030


St Marys RC Church   Closter Elks
Northern New Jersey Council, Bsa 333
20 Legion Pl
Closter, NJ 07624


St Marys Rcc ‐ Middletown
Connecticut Rivers Council, Bsa 066
79 S Main St
Middletown, CT 06457


St Marys Rcc Bristol
Narragansett 546
330 Wood St
Bristol, RI 02809


St Marys Rectory
Buffalo Trace 156
317 N Washington St
Huntingburg, IN 47542


St Marys Road Utd Methodist Church
Chattahoochee Council 091
3993 Saint Marys Rd
Columbus, GA 31907


St Marys Roman Catholic
W D Boyce 138
527 W Jackson St
Bloomington, IL 61701


St Marys Roman Catholic Church
Baltimore Area Council 220
1021 Saint Marys Rd
Pylesville, MD 21132


St Marys Roman Catholic Church
Baltimore Area Council 220
5502 York Rd
Baltimore, MD 21212


St Marys Roman Catholic Church
Black Swamp Area Council 449
85 S Sandusky St
Tiffin, OH 44883


St Marys Roman Catholic Church
Connecticut Rivers Council, Bsa 066
15 Marshall St
Putnam, CT 06260


St Marys Roman Catholic Church
Connecticut Rivers Council, Bsa 066
34 N Main St
Jewett City, CT 06351


St Marys Roman Catholic Church
Connecticut Rivers Council, Bsa 066
940 Hopmeadow St
Simsbury, CT 06070


St Marys Roman Catholic Church
Crossroads of America 160
815 W Main St
Richmond, IN 47374


St Marys Roman Catholic Church
Hudson Valley Council 374
46 Ball St
Port Jervis, NY 12771


St Marys Roman Catholic Church
Jersey Shore Council 341
P.O. Box 609
747 W Bay Ave
Barnegat, NJ 08005


St Marys Roman Catholic Church
Lake Erie Council 440
250 Kraft St
Berea, OH 44017


St Marys Roman Catholic Church
Longhouse Council 373
47 Syracuse St
Baldwinsville, NY 13027


St Marys Roman Catholic Church
Mayflower Council 251
130 S St
Wrentham, MA 02093


St Marys Roman Catholic Church
Narragansett 546
330 Pratt St
Mansfield, MA 02048


St Marys Roman Catholic Church
Narragansett 546
71 Mendon St
Uxbridge, MA 01569


St Marys Roman Catholic Church
The Spirit of Adventure 227
25 N Rd
Chelmsford, MA 01824


St Marys Roman Catholic Church
Twin Rivers Council 364
119 Broad St
Waterford, NY 12188
St Marys Roman Catholic Church
Westmoreland Fayette 512
61 N Mount Vernon Ave
Uniontown, PA 15401


St Marys Sacred Heart Hospital
Northeast Georgia Council 101
367 Clear Creek Pkwy
Lavonia, GA 30553


St Marys Utd Methodist Church
Muskingum Valley Council, Bsa 467
104 Washington St
Saint Marys, WV 26170


St Marys Visitation RC Ch
Northeastern Pennsylvania Council 501
1090 Carmalt St
Dickson City, Pa 18519


St Mathews Utd Methodist Chruch
Alamo Area Council 583
2738 Macarthur Vw
San Antonio, TX 78217


St Matthew Ame Church
Northern New Jersey Council, Bsa 333
336 Oakwood Ave
Orange, NJ 07050


St Matthew Baptist Church
Coastal Carolina Council 550
2005 Reynolds Ave
Charleston, SC 29405


St Matthew Cathedral
Lasalle Council 165
1701 Miami St
South Bend, IN 46613
St Matthew Catholic Church
Jayhawk Area Council 197
2700 SE Virginia Ave
Topeka, KS 66605


St Matthew Catholic Church
Mecklenburg County Council 415
8015 Ballantyne Commons Pkwy
Charlotte, NC 28277


St Matthew Catholic Church
Middle Tennessee Council 560
535 Sneed Rd W
Franklin, TN 37069


St Matthew Catholic Church
Occoneechee 421
1001 Mason Rd
Durham, NC 27712


St Matthew Catholic Church
Prairielands 117
1303 Lincolnshire Dr
Champaign, IL 61821


St Matthew Catholic Church
Sam Houston Area Council 576
9915 Hollister St
Houston, TX 77040


St Matthew Catholic School
Middle Tennessee Council 560
535 Sneed Rd W
Franklin, TN 37069


St Matthew Church
Great Trail 433
2603 Benton Ave
Akron, OH 44312


St Matthew Church
Laurel Highlands Council 527
1105 Cameron Ave
Tyrone, PA 16686


St Matthew Elementary School
Cascade Pacific Council 492
221 SE Walnut St
Hillsboro, OR 97123


St Matthew Episcopal Church
Connecticut Yankee Council Bsa 072
36 New Canaan Rd
Wilton, CT 06897


St Matthew Episcopal Church Mens Group
Longhouse Council 373
P.O. Box 367
Moravia, NY 13118


St Matthew Evangelical Lutheran Church
Laurel Highlands Council 527
P.O. Box 356
115 E Penn St
Martinsburg, PA 16662


St Matthew Lutheran Church
Cascade Pacific Council 492
10390 SW Canyon Rd
Beaverton, OR 97005


St Matthew Lutheran Church
Cascade Pacific Council 492
716 Washougal River Rd
Washougal, WA 98671


St Matthew Lutheran Church
Chattahoochee Council 091
4026 Macon Rd
Columbus, GA 31907


St Matthew Lutheran Church
Dan Beard Council, Bsa 438
4411 Hamilton Richmond Rd
Oxford, OH 45056


St Matthew Lutheran Church
Mt Diablo‐Silverado Council 023
399 Wiget Ln
Walnut Creek, CA 94598


St Matthew Lutheran Church
New Birth of Freedom 544
30 W Chestnut St
Hanover, PA 17331


St Matthew Lutheran Church
New Birth of Freedom 544
839 W Market St
York, PA 17401


St Matthew Lutheran Church
Pathway To Adventure 456
24500 N Old Mchenry Rd
Hawthorn Woods, IL 60047


St Matthew Lutheran Church
Washington Crossing Council 777
3668 Ridge Rd
Perkasie, PA 18944


St Matthew Parish
Chief Seattle Council 609
1240 NE 127th St
Seattle, WA 98125


St Matthew Roman Catholic Church
Crossroads of America 160
4100 E 56th St
Indianapolis, IN 46220


St Matthew S Catholic Church
Alamo Area Council 583
P.O. Box 670
Jourdanton, TX 78026
St Matthew S Episcopal Cathedral
Longs Peak Council 062
104 S 4th St
Laramie, WY 82070


St Matthew S Episcopal Church
Central Florida Council 083
5873 N Dean Rd
Orlando, FL 32817


St Matthew S Episcopal Church
W.L.A.C.C. 051
1031 Bienveneda Ave
Pacific Palisades, CA 90272


St Matthew S Rc Church
Suffolk County Council Inc 404
35 N Service Rd
Dix Hills, NY 11746


St Matthew S Utd Methodist
Southeast Louisiana Council 214
6017 Camphor St
Metairie, LA 70003


St Matthew The Apostle Catholic Church
Southeast Louisiana Council 214
10021 Jefferson Hwy
River Ridge, LA 70123


St Matthew The Apostle Parish
Patriots Path Council 358
335 Dover Chester Rd
St. Matthew the Apostle Church
Randolph, NJ 07869


St Matthew Utd Methodist Church
Andrew Jackson Council 303
7427 Old Canton Rd
Madison, MS 39110
St Matthew Utd Methodist Church
Crossroads of America 160
1951 Wilshire Dr
Frankfort, IN 46041


St Matthew Utd Methodist Church
Grand Canyon Council 010
2540 W Baseline Rd
Mesa, AZ 85202


St Matthews Catholic Church
Alamo Area Council 583
10703 Wurzbach Rd
San Antonio, TX 78230


St Matthews Catholic Church
California Inland Empire Council 045
2140 W Ontario Ave
Corona, CA 92882


St Matthews Catholic Church
North Florida Council 087
1773 Blanding Blvd
Jacksonville, FL 32210


St Matthews Catholic Church
Pacific Skyline Council 031
1 Notre Dame Ave
San Mateo, CA 94402


St Matthews Catholic Church
Pathway To Adventure 456
1001 E Schaumburg Rd
Schaumburg, IL 60194


St Matthews Catholic Church
Water and Woods Council 782
510 W Cornell
Saginaw, MI 48604


St Matthews Elementary
Lincoln Heritage Council 205
601 Browns Ln
Louisville, KY 40207


St Matthews Episcipal Church
Middle Tennessee Council 560
105 Edgewood Ave
Mcminnville, TN 37110


St Matthews Episcopal Church
Capitol Area Council 564
8134 Mesa Dr
Austin, TX 78759


St Matthews Episcopal Church
Crossroads of America 160
8320 E 10th St
Indianapolis, IN 46219


St Matthews Episcopal Church
Denver Area Council 061
19580 Pilgrims Pl
Parker, CO 80138


St Matthews Episcopal Church
Golden Spread Council 562
727 W Browning Ave
Pampa, TX 79065


St Matthews Episcopal Church
Middle Tennessee Council 560
105 Edgewood Ave
Mcminnville, TN 37110


St Matthews Episcopal Church
Narragansett 546
87 Narragansett Ave
Jamestown, RI 02835


St Matthews Episcopal Church
Northeast Georgia Council 101
1520 Oak Rd
Snellville, GA 30078
St Matthews Episcopal Church
Northeast Illinois 129
2120 Lincoln St
Evanston, IL 60201


St Matthews Episcopal Church
Oregon Trail Council 697
4110 River Rd
Eugene, OR 97404


St Matthews Episcopal Church
Quapaw Area Council 018
1112 Alcoa Rd
Benton, AR 72015


St Matthews Episcopal Church
W D Boyce 138
1920 E Oakland Ave
Bloomington, IL 61701


St Matthews Episcopal Church
W.L.A.C.C. 051
1031 Bienveneda Ave
Pacific Palisades, CA 90272


St Matthews Episcopal Church/Snellville
Northeast Georgia Council 101
1520 Oak Rd
Snellville, GA 30078


St Matthews Episcopal School
Rio Grande Council 775
2620 Crestview Dr
Edinburg, TX 78539


St Matthews Fathers Club
Patriots Path Council 358
81 Seymour Ave
Edison, NJ 08817
St Matthews Holy Name Society
Three Harbors Council 636
9329 S Chicago Rd
Oak Creek, WI 53154


St Matthews Lutheran Church
Cape Fear Council 425
612 S College Rd
Wilmington, NC 28403


St Matthews Lutheran Church
Central N Carolina Council 416
9275 Bringle Ferry Rd
Salisbury, NC 28146


St Matthews Lutheran Church
Chester County Council 539
2440 Conestoga Rd
Chester Springs, PA 19425


St Matthews Lutheran Church
Cradle of Liberty Council 525
400 Lynbrooke Rd
Springfield, PA 19064


St Matthews Lutheran Church
Great Salt Lake Council 590
2654 W Builders Dr
Taylorsville, UT 84129


St Matthews Lutheran Church
Minsi Trails Council 502
222 Church St
Weissport, PA 18235


St Matthews Lutheran Church
National Capital Area Council 082
12351 All Saints Pl
Woodbridge, VA 22192


St Matthews Lutheran Church
New Birth of Freedom 544
30 W Chestnut St
Hanover, PA 17331


St Matthews Methodist Church
Piedmont Council 420
201 Shady Rest Rd
Morganton, NC 28655


St Matthews Roman Catholic Church
Connecticut Rivers Council, Bsa 066
120 Church Ave
Bristol, CT 06010


St Matthews Roman Catholic Church
Narragansett 546
1303 Elmwood Ave
Cranston, RI 02910


St Matthews School
Tidewater Council 596
3316 Sandra Ln
Virginia Beach, VA 23464


St Matthews Umc Of Valley Forge
Chester County Council 539
600 Walker Rd
Wayne, PA 19087


St Matthews Utd Methodist
Old N State Council 070
600 E Florida St
Greensboro, NC 27406


St Matthews Utd Methodist Church
Alamo Area Council 583
2738 Macarthur Vw
San Antonio, TX 78217


St Matthews Utd Methodist Church
Andrew Jackson Council 303
7427 Old Canton Rd
Madison, MS 39110
St Matthews Utd Methodist Church
Attn Admin Assistant
Greater Los Angeles Area 033
15653 Newton St


St Matthews Utd Methodist Church
Baltimore Area Council 220
101 Avon Beach Rd
Baltimore, MD 21222


St Matthews Utd Methodist Church
Great Lakes Fsc 272
30900 6 Mile Rd
Livonia, MI 48152


St Matthews Utd Methodist Church
Lincoln Heritage Council 205
319 Browns Ln
Louisville, KY 40207


St Matthews Utd Methodist Church
National Capital Area Council 082
14900 Annapolis Rd
Bowie, MD 20715


St Matthews Utd Methodist Church
National Capital Area Council 082
8617 Little River Tpke
Annandale, VA 22003


St Matthews Utd Methodist Church
Sam Houston Area Council 576
4300 N Shepherd Dr
Houston, TX 77018


St Matthews Utd Methodist Church
Ventura County Council 057
1360 S Wendy Dr
Newbury Park, CA 91320
St Matthias Catholic Church
Simon Kenton Council 441
1582 Ferris Rd
Columbus, OH 43224


St Matthias Church
Greater Los Angeles Area 033
7056 Washington Ave
Whittier, CA 90602


St Matthias Church
Pathway To Adventure 456
4927 N Claremont Ave
Chicago, IL 60625


St Matthias Church
Pikes Peak Council 060
18320 Furrow Rd
Monument, CO 80132


St Matthias Episcopal Church
Heart of Virginia Council 602
11300 W Huguenot Rd
Midlothian, VA 23113


St Matthias Home    School Assoc
Three Harbors Council 636
9300 W Beloit Rd
Milwaukee, WI 53227


St Matthias R C Church
Moraine Trails Council 500
426 E Main St
Evans City, PA 16033


St Matthias Rc Church
Greater New York Councils, Bsa 640
5815 Catalpa Ave
Ridgewood, NY 11385


St Matthias Roman Catholic Church
Greater New York Councils, Bsa 640
5815 Catalpa Ave
Ridgewood, NY 11385


St Matthias School
Simon Kenton Council 441
1582 Ferris Rd
Columbus, OH 43224


St Maximilian Kolbe Catholic
W.L.A.C.C. 051
5801 Kanan Rd
Westlake Village, CA 91362


St Maximilian Kolbe Catholic Church
Central Florida Council 083
1501 N Alafaya Trl
Orlando, FL 32828


St Maximilian Kolbe Catholic Church
Dan Beard Council, Bsa 438
5720 Hamilton Mason Rd
Liberty Twp, OH 45011


St Maximilian Kolbe Catholic Church
South Florida Council 084
701 N Hiatus Rd
Pembroke Pines, FL 33026


St Maximilian Kolbe Catholic Community
Sam Houston Area Council 576
10135 W Rd
Houston, TX 77064


St Maximilian Kolbe Parish
Iroquois Trail Council 376
18 W Main St
Corfu, NY 14036


St Maximillian Kolbe Church
Dan Beard Council, Bsa 438
5720 Hamilton Mason Rd
Liberty Twp, OH 45011
St Meinrad Catholic Church
Buffalo Trace 156
19630 N 4th St
Saint Meinrad, IN 47577


St Meinrad Catholic Church
Buffalo Trace 156
P.O. Box 8
Saint Meinrad, IN 47577


St Mel Church
W.L.A.C.C. 051
20870 Ventura Blvd
Woodland Hills, CA 91364


St Mel Parish
Golden Empire Council 047
P.O. Box 1180
Fair Oaks, CA 95628


St Michael   All Angel Episcopal Church
Atlanta Area Council 092
6780 James B Rivers Dr
Stone Mtn, GA 30083


St Michael   All Angels
Atlanta Area Council 092
6780 James B Rivers Dr
Stone Mountain, GA 30083


St Michael   All Angels Episc Ch
Tukabatchee Area Council 005
5941 Main St
Millbrook, Al 36054


St Michael    All Angels Episcopal Church
Heart of America Council 307
6630 Nall Ave
Shawnee Mission, KS 66202
St Michael Academy
North Florida Council 087
228 N 4th St
Fernandina Beach, FL 32034


St Michael Archangel Church
Washington Crossing Council 777
66 Levittown Pkwy
Levittown, PA 19054


St Michael Catholic Church
Circle Ten Council 571
950 Trails Pkwy
Garland, TX 75043


St Michael Catholic Church
Greater St Louis Area Council 312
7622 Sutherland Ave
Saint Louis, MO 63119


St Michael Catholic Church
Lake Erie Council 440
6906 Chestnut Rd
Independence, OH 44131


St Michael Catholic Church
Laurel Highlands Council 527
P.O. Box 103
Saint Michael, PA 15951


St Michael Catholic Church
Longhorn Council 662
3713 Harwood Rd
Bedford, TX 76021


St Michael Catholic Church
Sam Houston Area Council 576
1801 Sage Rd
Houston, TX 77056


St Michael Catholic Church
Simon Kenton Council 441
5750 N High St
Worthington, OH 43085


St Michael Catholic Church
Southern Shores Fsc 783
502 W Front St
Monroe, MI 48161


St Michael Church
Dan Beard Council, Bsa 438
11144 Spinner Ave
Cincinnati, OH 45241


St Michael Fire
Northern Star Council 250
216 Main St S
Saint Michael, MN 55376


St Michael Holy Name Society
Pathway To Adventure 456
1 E Wilhelm St
Schererville, IN 46375


St Michael Lions Club
Northern Star Council 250
P.O. Box 355
Saint Michael, MN 55376


St Michael Lutheran Church
Baltimore Area Council 220
9534 Belair Rd
Nottingham, MD 21236


St Michael Lutheran Church
Blue Ridge Mtns Council 599
2308 Merrimac Rd
Blacksburg, VA 24060


St Michael Lutheran Church Of Canton Twp
School
Great Lakes Fsc 272
7000 N Sheldon Rd
Canton, Mi 48187


St Michael Lutheran School
Southern Shores Fsc 783
7211 Oakland Dr
Portage, MI 49024


St Michael Men S Club
Denver Area Council 061
19099 E Floyd Ave
Aurora, CO 80013


St Michael Parish
Ohio River Valley Council 619
1225 National Rd
Wheeling, WV 26003


St Michael Parish Livonia
Great Lakes Fsc 272
11441 Hubbard St
Livonia, MI 48150


St Michael Parish School
Chickasaw Council 558
3880 Forrest Ave
Memphis, TN 38122


St Michael Roman Catholic Church
Lincoln Heritage Council 205
3705 Stone Lakes Dr
Louisville, KY 40299


St Michael Roman Catholic Church
Water and Woods Council 782
345 Edwards St
Grand Ledge, MI 48837


St Michael Roman The Arc Angel Church
Baltimore Area Council 220
2 Willow Ave
Baltimore, MD 21206
St Michael S Catholic Church
Evangeline Area 212
224 W 5th St
Crowley, LA 70526


St Michael S Catholic Church
Great Rivers Council 653
13321 Railroad Ave
Russellville, MO 65074


St Michael S Catholic Church
Lincoln Heritage Council 205
101 Saint Michaels Dr
Charlestown, IN 47111


St Michael S Catholic Church
Mid‐America Council 326
1503 10th St
Harlan, IA 51537


St Michael S Catholic Church
South Florida Council 084
2987 W Flagler St
Miami, FL 33135


St Michael S Catholic School
Chickasaw Council 558
405 N Missouri St
West Memphis, AR 72301


St Michael S Church
French Creek Council 532
85 N High St
Greenville, PA 16125


St Michael S Church
Laurel Highlands Council 527
301 Spruce St
Hollidaysburg, PA 16648


St Michael S Episcopal Church
Central Florida Council 083
2499 N Wmoreland Dr
Orlando, FL 32804


St Michael S Episcopal Church
Central Florida Council 083
2500 N Wmoreland Dr
Orlando, FL 32804


St Michael S Episcopal Church
Last Frontier Council 480
1601 W Imhoff Rd
Norman, OK 73072


St Michael S Episcopal Church
Middle Tennessee Council 560
640 N Washington Ave
Cookeville, TN 38501


St Michael S Episcopal Church
Monmouth Council, Bsa 347
3402 Woodfield Ave
Wall Township, NJ 07719


St Michael S Episcopal Church
Three Harbors Council 636
4701 Erie St
Racine, WI 53402


St Michael S Estates Homeowners Assoc
Circle Ten Council 571
220 Saint Michaels Way
Rockwall, TX 75032


St Michael S Men S Club
Bay‐Lakes Council 635
401 W Kaye Ave
Marquette, MI 49855


St Michael S Parents Org
Three Fires Council 127
315 W Illinois St
Wheaton, IL 60187


St Michael S Parish
Sioux Council 733
1600 S Marion Rd
Sioux Falls, SD 57106


St Michael S Roman Catholic Church
French Creek Council 532
85 N High St
Greenville, PA 16125


St Michael S Roman Catholic Church
Patriots Path Council 358
40 Alden St
Cranford, NJ 07016


St Michael S The Archangel
National Capital Area Council 082
824 Pershing Dr
Silver Spring, MD 20910


St Michael School
Dan Beard Council, Bsa 438
300 Market St
Ripley, OH 45167


St Michael The Archangel Catholic Church
Aloha Council, Bsa 104
75‐5769 Alii Dr
Kailua Kona, HI 96740


St Michael The Archangel Catholic Church
Circle Ten Council 571
2910 Corn Valley Rd
Grand Prairie, TX 75052


St Michael The Archangel Catholic Church
Circle Ten Council 571
950 Trails Pkwy
Garland, TX 75043
St Michael The Archangel Catholic Church
Occoneechee 421
804 High House Rd
Cary, NC 27513


St Michael The Archangel Catholic Parish
Heart of America Council 307
14201 Nall Ave
Overland Park, KS 66223


St Michael The Archangel Church
Grand Canyon Council 010
25394 N Poseidon Rd
Florence, AZ 85132


St Michael The Archangle Catholic Church
2910 Corn Valley Rd
Grand Prairie, TX 75052


St Michaels Catholic Church
Baltimore Area Council 220
1125 Saint Michaels Rd
Mount Airy, MD 21771


St Michaels Catholic Church
Bay Area Council 574
100 Oak Dr S
Lake Jackson, TX 77566


St Michaels Catholic Church
Black Swamp Area Council 449
206 N Broad St
Kalida, OH 45853


St Michaels Catholic Church
Black Swamp Area Council 449
750 Bright Rd
Findlay, OH 45840


St Michaels Catholic Church
Circle Ten Council 571
1403 E 1st St
Mt Pleasant, TX 75455


St Michaels Catholic Church
Heart of Virginia Council 602
4491 Springfield Rd
Glen Allen, VA 23060


St Michaels Catholic Church
Longhouse Council 373
4782 W Seneca Tpke
Syracuse, NY 13215


St Michaels Catholic Church
Miami Valley Council, Bsa 444
33 Elm St
Fort Loramie, OH 45845


St Michaels Catholic Church
Northern Star Council 250
611 3rd St S
Stillwater, MN 55082


St Michaels Catholic Church
Pathway To Adventure 456
14327 Highland Ave
Orland Park, IL 60462


St Michaels Catholic Church
San Diego Imperial Council 049
15546 Pomerado Rd
Poway, CA 92064


St Michaels Catholic Church
South Plains Council 694
316 E Washington St
Levelland, TX 79336


St Michaels Catholic Church
The Spirit of Adventure 227
196 Main St
North Andover, MA 01845
St Michaels Catholic Church ‐ Men S Club
Buckeye Council 436
3430 Saint Michaels Blvd Nw
Canton, OH 44718


St Michaels Catholic Church Mens Club
Northern Lights Council 429
520 N 6th St
Grand Forks, ND 58203


St Michaels Catholic School
Chickasaw Council 558
P.O. Box 899
West Memphis, AR 72303


St Michaels Church
Denver Area Council 061
628 Meeker St
Delta, CO 81416


St Michaels Church
Great Trail 433
300 N Broad St
Canfield, OH 44406


St Michaels Church
Hawk Mountain Council 528
529 Saint Michaels Rd
Hamburg, PA 19526


St Michaels Church
Overland Trails 322, 7th      Creighton
Hastings, NE 68901


St Michaels Episcopal Church
Capitol Area Council 564
1500 N Capital of Texas Hwy
Austin, TX 78746


St Michaels Episcopal Church
Coastal Georgia Council 099
3101 Waters Ave
Savannah, GA 31404


St Michaels Episcopal Church
Connecticut Rivers Council, Bsa 066
210 Church St
Naugatuck, CT 06770


St Michaels Episcopal Church
Crossroads of America 160
444 S Harbour Dr
Noblesville, IN 46062


St Michaels Episcopal Church
Golden Empire Council 047
2140 Mission Ave
Carmichael, CA 95608


St Michaels Episcopal Church
Heart of Virginia Council 602
8706 Quaker Ln
North Chesterfield, VA 23235


St Michaels Episcopal Church
San Diego Imperial Council 049
2775 Carlsbad Blvd
Carlsbad, CA 92008


St Michaels Episcopal Church
The Spirit of Adventure 227
112 Randolph Ave
Milton, MA 02186


St Michaels Lutheran Church
Pathway To Adventure 456
500 E 31st St
La Grange Park, IL 60526


St Michaels Lutheran Church
Washington Crossing Council 777
25 E Church St
Sellersville, PA 18960


St Michaels Parish
Connecticut Rivers Council, Bsa 066
210 Church St
Naugatuck, CT 06770


St Michaels Parish Council
Crossroads of America 160
519 Jefferson Blvd
Greenfield, IN 46140


St Michaels Roman Catholic Church
Narragansett 546
60 Liberty St
Pawcatuck, CT 06379


St Michaels Roman Catholic Church
Western Massachusetts Council 234
127 Maple St
East Longmeadow, MA 01028


St Mina Coptic Church
Middle Tennessee Council 560
476 Mcmurray Dr
Nashville, TN 37211


St Miriam Catholic Apostolic Church
Cradle of Liberty Council 525
654 Bethlehem Pike
Flourtown, PA 19031


St Monica Catholic Church
Circle Ten Council 571
9933 Midway Rd
Dallas, TX 75220


St Monica Catholic Church
Greater St Louis Area Council 312
12136 Olive Blvd
Saint Louis, MO 63141
St Monica Catholic Church
Last Frontier Council 480
2001 N Wern Ave
Edmond, OK 73012


St Monica Church
The Spirit of Adventure 227
212 Lawrence St
Methuen, MA 01844


St Monica Congregation
Three Harbors Council 636
160 E Silver Spring Dr
Milwaukee, WI 53217


St Monica Parish
Southern Shores Fsc 783
4408 S Wnedge Ave
Kalamazoo, MI 49008


St Monica Roman Catholic Church
Lake Erie Council 440
13623 Rockside Rd
Garfield Hts, OH 44125


St Monica Roman Catholic Church
Northeastern Pennsylvania Council 501
363 W 8th St
West Wyoming, PA 18644


St Monica Roman Catholic Church
Pathway To Adventure 456
5136 N Nottingham Ave
Chicago, IL 60656


St Monicas Catholic Ch Mens Club
Mt Diablo‐Silverado Council 023
1001 Camino Pablo
Moraga, CA 94556


St Monicas Episcopal Church
Southwest Florida Council 088
7070 Immokalee Rd
Naples, FL 34119


St Monicas Recreation Center
Dan Beard Council, Bsa 438
10022 Chester Rd
Cincinnati, OH 45215


St Moritz Watch Co Inc
264 H St, Ste D
Blaine, WA 98230


St Moritz Watch Corp
1140 W 7th Ave
Vancouver, BC V6H 1B4
Canada


St Mother Teresa Of Calcutta Church
California Inland Empire Council 045
31579 Vintners Pointe Ct
Winchester, CA 92596


St Nektarios Greek Orthodox Church
Mecklenburg County Council 415
5108 Kuykendall Rd
Charlotte, NC 28270


St Nicholas Episcopal Church
Chattahoochee Council 091
69 Mobley Rd
Hamilton, GA 31811


St Nicholas Greek Orthodox Church
Greater New York Councils, Bsa 640
19610 Nern Blvd
Flushing, NY 11358


St Nicholas Greek Orthodox Church
Greater Tampa Bay Area 089
18 Hibiscus St
Tarpon Springs, FL 34689
St Nicholas Of Myra
Narragansett 546
499 Spring St
North Dighton, MA 02764


St Nicholas Of Tolentine
2345 University Ave
Bronx, NY 10468


St Nicholas Of Tolentine Holy Name Socty
Pathway To Adventure 456
3721 W 62nd St
Chicago, IL 60629


St Nicholas Of Tolentine Rc Church
Greater New York Councils, Bsa 640
15075 Goethals Ave
Jamaica, NY 11432


St Nicholas Roman Catholic Church
Laurel Highlands Council 527
P.O. Box 37
Nicktown, PA 15762


St Nicholas Roman Catholic Church
Minsi Trails Council 502
1152 Oak Rd
Walnutport, PA 18088


St Nicholas Roman Catholic Church
Northeastern Pennsylvania Council 501
226 S Washington St
Wilkes Barre, PA 18701


St Nicholas Russian Orthodox Church
Great Trail 433
755 S Cleveland Ave
Mogadore, OH 44260


St Norbert Catholic Church
Greater St Louis Area Council 312
16455 New Halls Ferry Rd
Florissant, MO 63031


St Norbert S Catholic Church
Orange County Council 039
300 E Taft Ave
Orange, CA 92865


St Norberts Roman Catholic Mens Club
Northeast Illinois 129
1809 Walters Ave
Northbrook, IL 60062


St Odilia Catholic Church
Northern Star Council 250
3495 Victoria St N
Shoreview, MN 55126


St Olaf Lutheran Church Men
Northern Lights Council 429, 6th St Ne
Devils Lake, ND 58301


St Olaf Luthern Church
Northern Lights Council 429, 6th St Ne
Devils Lake, ND 58301


St Olaf Patron Of Norway
Colonial Virginia Council 595
104 Norge Ln
Williamsburg, VA 23188


St Olaf S Cub Scout Pack 4030
Great Salt Lake Council 590
1793 Orchard Dr
Bountiful, UT 84010


St Oliver Plunkett Church
Northeast Georgia Council 101
3200 Brooks Dr
Snellville, GA 30078
St P Communication Inc
320 Springside Dr, Ste 150
Fairlawn, OH 44333


St Padre Pio Catholic Church
Alamo Area Council 583
20770 US Hwy 281 N, Ste 108
PMB 611
San Antonio, TX 78258


St Pancras R C Church
Greater New York Councils, Bsa 640
7222 68th St
Glendale, NY 11385


St Pancratius Knights Of Columbus
Long Beach Area Council 032
3519 Saint Pancratius Pl
Lakewood, CA 90712


St Paris Utd Methodist Church
Tecumseh 439
208 W Walnut
Saint Paris, OH 43072


St Pascal Holy Name Society
Pathway To Adventure 456
3935 N Melvina Ave
Chicago, IL 60634


St Pascals Mens Club
Northern Star Council 250
1757 Conway St
Saint Paul, MN 55106


St Paschal Baylon
Lake Erie Council 440
5384 Wilson Mills Rd
Highland Heights, OH 44143


St Paschal Baylon Church Mens Club
Ventura County Council 057
154 E Janss Rd
Thousand Oaks, CA 91360


St Patricia Parish
Pathway To Adventure 456
9000 S 86th Ave
Hickory Hills, IL 60457


St Patricia PTO
President Gerald R Ford 781
96 S Div St
P. St Clair Elementary


St Patrick Catholic Church
Black Swamp Area Council 449
610 S Portland St
Bryan, OH 43506


St Patrick Catholic Church
East Texas Area Council 585
2118 Lowery St
Lufkin, TX 75901


St Patrick Catholic Church
Istrouma Area Council 211
12424 Brogdon Ln
Baton Rouge, LA 70816


St Patrick Catholic Church
Lincoln Heritage Council 205
1000 N Beckley Station Rd
Louisville, KY 40245


St Patrick Catholic Church
Miami Valley Council, Bsa 444
409 E Main St
Troy, OH 45373


St Patrick Catholic Church
Northern Star Council 250
19921 Nightingale St Nw
Oak Grove, MN 55011


St Patrick Catholic Church
Occoneechee 421
2840 Village Dr
Fayetteville, NC 28304


St Patrick Catholic Church
President Gerald R Ford 781
4333 Parnell Ave Ne
Ada, MI 49301


St Patrick Catholic Church
Southern Shores Fsc 783
711 Rickett Rd
Brighton, MI 48116


St Patrick Catholic Church
The Spirit of Adventure 227
9 Pomeworth St
Stoneham, MA 02180


St Patrick Catholic Church
Three Fires Council 127
6N487 Crane Rd
St Charles, IL 60175


St Patrick Catholic Church And School
Lasalle Council 165
638 N Calumet Rd
Chesterton, IN 46304


St Patrick Catholic Of Mt Dora
Central Florida Council 083
6803 Old Hwy 441 S
Mount Dora, FL 32757


St Patrick Church
Black Swamp Area Council 449
P.O. Box 226
Bascom, OH 44809
St Patrick Church
Golden Empire Council 047
3109 Sacramento St
Placerville, CA 95667


St Patrick Church
Heart of America Council 307
1357 NE 42nd Ter
Kansas City, MO 64116


St Patrick Church
South Texas Council 577
3350 S Alameda St
Corpus Christi, TX 78411


St Patrick Church Mens Club
Circle Ten Council 571
9643 Ferndale Rd
Dallas, TX 75238


St Patrick Church Mens Club
Great Lakes Fsc 272
9086 Hutchins St
White Lake, MI 48386


St Patrick Episcopal Church
Istrouma Area Council 211
1322 Church St
Zachary, LA 70791


St Patrick Parish
Ozark Trails Council 306
17 Saint Patrick Ln
Rolla, MO 65401


St Patrick Proto‐Cathedral
Silicon Valley Monterey Bay 055
389 E Santa Clara St
San Jose, CA 95113


St Patrick Roman Catholic Church
Greater St Louis Area Council 312
407 E Eldorado St
Decatur, IL 62523


St Patrick Roman Catholic Church
Laurel Highlands Council 527
317 W Pike St
Canonsburg, PA 15317


St Patrick S Catholic Church
Mid‐America Council 326
215 N 7th St
Missouri Valley, IA 51555


St Patrick S Catholic Church
Overland Trails 322
415 N Chestnut St
North Platte, NE 69101


St Patrick S Catholic Church
San Diego Imperial Council 049
3821 Adams St
Carlsbad, CA 92008


St Patrick S Catholic Church
San Diego Imperial Council 049
3821 Adams Ave
San Diego, CA 92116


St Patrick S Church
Western Massachusetts Council 234
15 School St
South Hadley, MA 01075


St Patrick S Episcopal
North Florida Council 087
1221 State Rd 13
Saint Johns, FL 32259


St Patrick S Episcopal Church
National Capital Area Council 082
4700 Whitehaven Pkwy Nw
Foxhall Rd
Washington, DC 20007


St Patrick S Parish
Pacific Harbors Council, Bsa 612
1122 N J St
Tacoma, WA 98403


St Patrick S Parish
Twin Rivers Council 364
17 S Park St
Cambridge, NY 12816


St Patrick S Rc Church Of Bay Shore
Suffolk County Council Inc 404
9 N Clinton Ave
Bay Shore, NY 11706


St Patrick S Rc Church Of Huntington
Suffolk County Council Inc 404
400 W Main St
Huntington, NY 11743


St Patrick S Roman Catholic Church
Chester County Council 539
104 Channing Ave
Malvern, PA 19355


St Patrick S Roman Catholic Church
Patriots Path Council 358
41 Oliver St
Chatham, NJ 07928


St Patricks Catholic Church
Choctaw Area Council 302
2601 Davis St
Meridian, MS 39301


St Patricks Catholic Church
Mid‐America Council 326
20500 W Maple Rd
Elkhorn, NE 68022
St Patricks Catholic Church
National Capital Area Council 082
4101 Norbeck Rd
Rockville, MD 20853


St Patricks Catholic Church
North Florida Council 087
500 NE 16th Ave
Gainesville, FL 32601


St Patricks Catholic Church
Occoneechee 421
2844 Village Dr
Fayetteville, NC 28304


St Patricks Catholic Church
Overland Trails 322
415 N Chestnut St
North Platte, NE 69101


St Patricks Catholic Church Mens Club
Attn Scott Thompson
Circle Ten Council 571
9643 Ferndale Rd
Dallas, TX 75238


St Patricks Catholic Mens Club
Circle Ten Council 571
9642 Ferndale Rd
Dallas, TX 75238


St Patricks Church
Northeast Illinois 129
15000 W Wadsworth Rd
Wadsworth, IL 60083


St Patricks Episcopal Church
Greater Niagara Frontier Council 380
1395 George Urban Blvd
Cheektowaga, NY 14225
St Patricks Episcopal Church
Ventura County Council 057
1 Church Rd
Thousand Oaks, CA 91362


St Patricks Heatherdowns Catholic Ch
Erie Shores Council 460
4201 Heatherdowns Blvd
Toledo, Oh 43614


St Patricks Ladies Guild
Western Massachusetts Council 234
30 Main St
South Hadley, MA 01075


St Patricks Parish
Greater St Louis Area Council 312
405 S Church St
Wentzville, MO 63385


St Patricks Parish Council‐Catholic
Blackhawk Area 660
3500 Washington St
Mchenry, IL 60050


St Patricks R C C
Narragansett 546
82 High St
Wareham, MA 02571


St Patricks Rc Church Of Smithtown
Suffolk County Council Inc 404
280 E Main St
Smithtown, NY 11787


St Patricks Roman Catholic Church
Hawk Mountain Council 528
319 Mahantongo St
Pottsville, PA 17901


St Patricks Roman Catholic Church
Inland Nwest Council 611
5021 N Nelson St
Spokane, WA 99217


St Patricks Roman Catholic Church
Inland Nwest Council 611
505 W Saint Thomas More Way
Spokane, WA 99208


St Patricks Roman Catholic Church
New Birth of Freedom 544
152 E Pomfret St
Carlisle, PA 17013


St Patricks Roman Catholic Church
Westchester Putnam 388
137 Moseman Rd
Yorktown Heights, NY 10598


St Paul African Methodist Episc Ch
Middle Tennessee Council 560
3340 W Hamilton Ave
Nashville, Tn 37218


St Paul African Methodist Episc Ch
South Texas Council 577
531 W Warren Ave
Kingsville, Tx 78363


St Paul Alumni Mentor Assoc
Westark Area Council 016
P.O. Box 334
Elkins, AR 72727


St Paul Ame Church
Greater Alabama Council 001
300 4th Ct N
Birmingham, AL 35204


St Paul Ame Church
Indian Waters Council 553
835 Kennerly Rd
Irmo, SC 29063


St Paul American Legion
Overland Trails 322
804 Howard Ave
1220 Farnum St
Saint Paul, NE 68873


St Paul Baptist Church
Mecklenburg County Council 415
1401 Allen St
Charlotte, NC 28205


St Paul Baptist Church
W D Boyce 138
114 W Forrest Hill Ave
Peoria, IL 61604


St Paul Blvd Fire Assoc
Seneca Waterways 397
433 Cooper Rd
Rochester, NY 14617


St Paul Catholic Church
Alamo Area Council 583
350 Sutton Dr
San Antonio, TX 78228


St Paul Catholic Church
Buffalo Trace 156
814 Jefferson St
Tell City, IN 47586


St Paul Catholic Church
Greater St Louis Area Council 312
15 Forest Knoll Dr
Fenton, MO 63026


St Paul Catholic Church
Greater Tampa Bay Area 089
12708 N Dale Mabry Hwy
Tampa, FL 33618
St Paul Catholic Church
Gulf Coast Council 773
1700 Conway Dr
Pensacola, FL 32503


St Paul Catholic Church
Heart of America Council 307
900 S Honeysuckle Dr
Olathe, KS 66061


St Paul Catholic Church
North Florida Council 087
224 5th St N
Jacksonville Beach, FL 32250


St Paul Catholic Church
Pathway To Adventure 456
2127 W 22nd Pl
Chicago, IL 60608


St Paul Catholic Church
Samoset Council, Bsa 627
603 4th St
Mosinee, WI 54455


St Paul Catholic Church
Simon Kenton Council 441
313 N State St
Westerville, OH 43082


St Paul Ccw‐St Pauls      Tell City Jaycees
Buffalo Trace 156
1111 34th St
Tell City, IN 47586


St Paul Chong Hasang Catholic Church
Longhorn Council 662
1000 E Fm 2410 Rd
Harker Heights, TX 76548
St Paul Christian Academy
Middle Tennessee Council 560
5035 Hillsboro Pike
Nashville, TN 37215


St Paul City School
Northern Star Council 250
643 Virginia St
Saint Paul, MN 55103


St Paul Community Church
Pathway To Adventure 456
18200 Dixie Hwy
Homewood, IL 60430


St Paul Douglas Missionary Baptist Ch
Chickasaw Council 558
1543 Brookins St
Memphis, Tn 38108


St Paul Episcopal Church
Circle Ten Council 571
624 Ovilla Rd
Waxahachie, TX 75167


St Paul Episcopal Church
Mountaineer Area 615
206 E 2nd St
Weston, WV 26452


St Paul Evangelical Lutheran Church
Great Lakes Fsc 272
201 Elm St
Northville, MI 48167


St Paul Evangelical Lutheran Church
Greenwich 067
286 Delavan Ave
Greenwich, CT 06830


St Paul Evangelical Lutheran Church
New Birth of Freedom 544
201 W Louther St
Carlisle, PA 17013


St Paul Evangelical Lutheran Church
Northeast Iowa Council 178
401 S Egbert St
Monona, IA 52159


St Paul Evangelical Lutheran Church
Pennsylvania Dutch Council 524
200 W Orange St
Lititz, PA 17543


St Paul Evangelical Lutheran Church
Seneca Waterways 397
158 E Ave
Hilton, NY 14468


St Paul Evangelical Lutheran Church
Washington Crossing Council 777
79 One Mile Rd Ext
East Windsor, NJ 08520


St Paul Fire Dept
Northern Star Council 250
645 Randolph Ave
Saint Paul, MN 55102


St Paul Freewill Baptist Church
Tuscarora Council 424
14061 Hobbton Hwy
Newton Grove, NC 28366


St Paul High School
Greater Los Angeles Area 033
9635 Greenleaf Ave
Santa Fe Springs, CA 90670


St Paul Lutheran ‐ Men Of The Church
Glaciers Edge Council 620
617 Saint Lawrence Ave
Beloit, WI 53511
St Paul Lutheran Church
Baden‐Powell Council 368
49 Hamlin St
Cortland, NY 13045


St Paul Lutheran Church
Capitol Area Council 564
401 W 7th St
Taylor, TX 76574


St Paul Lutheran Church
Cascade Pacific Council 492
3880 SE Brooklyn St
Portland, OR 97202


St Paul Lutheran Church
Dan Beard Council, Bsa 438
106 Maple St
Wyoming, OH 45215


St Paul Lutheran Church
Gamehaven 299
214 3rd St Sw
Pine Island, MN 55963


St Paul Lutheran Church
Glaciers Edge Council 620
727 8th St
Baraboo, WI 53913


St Paul Lutheran Church
Greater Niagara Frontier Council 380
453 Old Falls Blvd
North Tonawanda, NY 14120


St Paul Lutheran Church
Gulf Stream Council 085
701 W Palmetto Park Rd
Boca Raton, FL 33486
St Paul Lutheran Church
Hoosier Trails Council 145 145
6045 E State St
Columbus, IN 47201


St Paul Lutheran Church
Miami Valley Council, Bsa 444
P.O. Box 508
Botkins, OH 45306


St Paul Lutheran Church
Northeast Iowa Council 178
2025 Jackson St
Dubuque, IA 52001


St Paul Lutheran Church
Northern Star Council 250
5879 Wyoming Trl
Wyoming, MN 55092


St Paul Lutheran Church
Pathway To Adventure 456
5201 Galitz St
Skokie, IL 60077


St Paul Lutheran Church
Pathway To Adventure 456
5650 N Canfield Ave
Chicago, IL 60631


St Paul Lutheran Church
Rio Grande Council 775
602 Morgan Blvd
Harlingen, TX 78550


St Paul Lutheran Church
Simon Kenton Council 441
55 Pasadena Ave
Columbus, OH 43228


St Paul Lutheran Church
South Florida Council 084
580 Indian Trce
Weston, FL 33326


St Paul Lutheran Church
Three Fires Council 127
37 W Army Trail Blvd
Addison, IL 60101


St Paul Lutheran Church
W D Boyce 138
326 S Oak St
Forrest, IL 61741


St Paul Lutheran Church
Western Massachusetts Council 234
181 Elm St
East Longmeadow, MA 01028


St Paul Lutheran Church Trenton
Great Lakes Fsc 272
2550 Edsel St
Trenton, MI 48183


St Paul Lutheran Church Youth Committee
Lake Erie Council 440
2211 Mills St
Sandusky, OH 44870


St Paul Lutheran Mens Club
Greater St Louis Area Council 312
6550 Old State Route 21
Imperial, MO 63052


St Paul Lutheran Mens Club Of Jackson
Greater St Louis Area Council 312
223 W Adams St
Jackson, MO 63755


St Paul Mens Club
Greater St Louis Area Council 312
15 Forest Knoll Dr
Fenton, MO 63026
St Paul Methodist Church
Coastal Carolina Council 550
P.O. Box 550
Ridgeland, SC 29936


St Paul Methodist Mens Club
Blue Ridge Mtns Council 599
220 W Main St
Christiansburg, VA 24073


St Paul Of The Cross Catholic Church
Anthony Wayne Area 157
315 S Line St
Columbia City, IN 46725


St Paul Of The Cross Catholic Church
Pathway To Adventure 456
320 S Washington Ave
Park Ridge, IL 60068


St Paul Of The Cross Catholic Church
Pathway To Adventure 456
324 S Washington Ave
Park Ridge, IL 60068


St Paul Of The Cross R C Church
Northern New Jersey Council, Bsa 333
156 Hancock Ave
Jersey City, NJ 07307


St Paul On The Lake
Great Lakes Fsc 272
157 Lake Shore Rd
Grosse Pointe Farms, MI 48236


St Paul Police
Explorer Post 9454
367 Grove St
St Paul, MN 55101
St Paul Police Dept
Northern Star Council 250
367 Grove St
Saint Paul, MN 55101


St Paul Presbyterian Church
Mid Iowa Council 177
6426 Merle Hay Rd
Johnston, IA 50131


St Paul Roman Catholic Church
Dan Beard Council, Bsa 438
7301 Dixie Hwy
Florence, KY 41042


St Paul Roman Catholic Church
Minsi Trails Council 502
920 S 2nd St
Allentown, PA 18103


St Paul Roman Catholic Church
Moraine Trails Council 500
128 N Mckean St
Butler, PA 16001


St Paul Rotary Club
Overland Trails 322
505 N St
Saint Paul, NE 68873


St Paul S Catholic Church
Great Trail 433
1580 Brown St
Akron, OH 44301


St Paul S Catholic Church
Greater New York Councils, Bsa 640
234 Congress St
Brooklyn, NY 11201


St Paul S Catholic Church
Greater Tampa Bay Area 089
1800 12th St N
St Petersburg, FL 33704


St Paul S Catholic Church
President Gerald R Ford 781
20811 Washington Ave
Onaway, MI 49765


St Paul S Chapel Church Utd Methodist
New Birth of Freedom 544
3050 Cape Horn Rd
Troop 155


St Paul S Chapel Episcopal Church
Mobile Area Council‐Bsa 004
P.O. Box 2
Magnolia Springs, AL 36555


St Paul S Christian Women
Central Minnesota 296
1125 11th Ave N
Saint Cloud, MN 56303


St Paul S Church
Coastal Carolina Council 550
111 Waring St
Summerville, SC 29483


St Paul S Episcopal Church
Great Trail 433
1361 W Market St
Akron, OH 44313


St Paul S Episcopal Church
Greater Niagara Frontier Council 380
4275 Harris Hill Rd
Buffalo, NY 14221


St Paul S Episcopal Church
Lake Erie Council 440
2747 Fairmount Blvd
Cleveland Heights, OH 44106
St Paul S Episcopal Church
Lasalle Council 165
1001 Michigan Ave
La Porte, IN 46350


St Paul S Episcopal Church
Longhorn Council 662
517 Columbus Ave
Waco, TX 76701


St Paul S Episcopal Church
Northern Lights Council 429
319 S 5th St
Grand Forks, ND 58201


St Paul S Episcopal Church
Patriots Path Council 358
29 Hillview Ave
Morris Plains, NJ 07950


St Paul S Episcopal Church
Quapaw Area Council 018
623 Water St
Batesville, AR 72501


St Paul S Episcopal Church
Southeast Louisiana Council 214
6249 Canal Blvd
New Orleans, LA 70124


St Paul S Episcopal Church Elko
Nevada Area Council 329
777 Sage St
Elko, NV 89801


St Paul S Episcopal Church Men S Club
Voyageurs Area 286
1710 E Superior St
Duluth, MN 55812
St Paul S Ev Lutheran Church
Bay‐Lakes Council 635
730 County Rd Pp
Sheboygan Falls, WI 53085


St Paul S Ev Lutheran Church
c/o Rev Mark Janzen
Bay‐Lakes Council 635
730 County Rd Ppp
Sheboygan Falls, WI 53085


St Paul S Evangelical Lutheran Church
Buckeye Council 436
2307 State Route 602
North Robinson, OH 44827


St Paul S Evangelical Lutheran Church
Greater New York Councils, Bsa 640
2801 W 8th St
Brooklyn, NY 11224


St Paul S Evangelical Lutheran Church
Leatherstocking 400
P.O. Box 491
Richmondville, NY 12149


St Paul S Evangelical Lutheran Church
New Birth of Freedom 544
201 S Main St
Spring Grove, PA 17362


St Paul S Evangelical Lutheran Church
New Birth of Freedom 544
25 Franklin St
Biglerville, PA 17307


St Paul S Lutheran
Greater St Louis Area Council 312
12345 Manchester Rd
Saint Louis, MO 63131


St Paul S Lutheran
Longswamp United Church OF Christ
Hawk Mountain Council 528
50 Luther Dr
Mertztown, Pa 19539


St Paul S Lutheran Blue Church
Minsi Trails Council 502
5900 Applebutter Hill Rd
Coopersburg, PA 18036


St Paul S Lutheran Chruch
Colonial Virginia Council 595
807 W Mercury Bvld
Hampton, VA 23666


St Paul S Lutheran Church
Abraham Lincoln Council 144
103 N Main St P.O. Box 266
Hillsboro, IL 62049


St Paul S Lutheran Church
Baltimore Area Council 220
11795 Scaggsville Rd
Fulton, MD 20759


St Paul S Lutheran Church
Erie Shores Council 460
112 E Wayne St
Maumee, OH 43537


St Paul S Lutheran Church
French Creek Council 532
201 E S St
Corry, PA 16407


St Paul S Lutheran Church
Mid‐America Council 326
527 Main St
Rockwell City, IA 50579


St Paul S Lutheran Church
Minsi Trails Council 502
139 Craigs Meadow Rd
East Stroudsburg, PA 18301


St Paul S Lutheran Church
National Capital Area Council 082
37707 New Market Turner Rd
Mechanicsville, MD 20659


St Paul S Lutheran Church
New Birth of Freedom 544
127 York St
Hanover, PA 17331


St Paul S Lutheran Church
Occoneechee 421
1200 W Cornwallis Rd
Durham, NC 27705


St Paul S Lutheran Church
Suffolk County Council Inc 404
120 Vernon Valley Rd
East Nport, NY 11731


St Paul S Lutheran Church
W D Boyce 138
1427 W Lake Ave
Peoria, IL 61614


St Paul S Lutheran Church
Water and Woods Council 782
200 N Cedar St
Imlay City, MI 48444


St Paul S Lutheran Church
Westchester Putnam 388
761 King St
Rye Brook, NY 10573


St Paul S Lutheran Family
Nevada Area Council 329
1201 N Saliman Rd
Carson City, NV 89701
St Paul S Lutheran Mens Club
W D Boyce 138
121 N Pearl St
Havana, IL 62644


St Paul S Of Summerville
Coastal Carolina Council 550
111 Waring St
Summerville, SC 29483


St Paul S Presbyterian Church
Sam Houston Area Council 576
P.O. Box 389
Needville, TX 77461


St Paul S Roman Catholic Church
Greenwich 067
84 Sherwood Ave
Greenwich, CT 06831


St Paul S Roman Catholic Church
Northern New Jersey Council, Bsa 333
200 Wyckoff Ave
Ramsey, NJ 07446


St Paul S Roman Catholic Church   School
Lasalle Council 165
P.O. Box 1475
Valparaiso, IN 46384


St Paul S Roman Catholic Parish Phoenix
Grand Canyon Council 010
330 W Coral Gables Dr
Phoenix, AZ 85023


St Paul S School
Sequoia Council 027
6101 W Goshen Ave
Visalia, CA 93291
St Paul S Third Lutheran Church
Minsi Trails Council 502
2561 Newburg Rd
Easton, PA 18045


St Paul S Utd Church Of Christ
Bay‐Lakes Council 635
1250 Leonard Point Rd
Oshkosh, WI 54904


St Paul S Utd Church Of Christ
Chester County Council 539
101 Worthington Rd
Exton, PA 19341


St Paul S Utd Church Of Christ
Hawk Mountain Council 528
1235 Summer Hill Rd
Auburn, PA 17922


St Paul S Utd Church Of Christ
Hawk Mountain Council 528
300 W 1st St
Birdsboro, PA 19508


St Paul S Utd Church Of Christ
Hawk Mountain Council 528
5 W Arch St
Fleetwood, PA 19522


St Paul S Utd Church Of Christ
Pathway To Adventure 456
5739 Dunham Rd
Downers Grove, IL 60516


St Paul S Utd Methodist Church
Great Swest Council 412
9500 Constitution Ave Ne
Albuquerque, NM 87112


St Paul S Utd Methodist Church
Greater Tampa Bay Area 089
1199 Highland Ave N
Largo, FL 33770


St Paul S Utd Methodist Church
New Birth of Freedom 544
45 1st Ave
Red Lion, PA 17356


St Paul S Utd Methodist Church
North Florida Council 087
800 SE 41st Ave
Ocala, FL 34471


St Paul S Utd Methodist Church
Northern Lights Council 429
1000 5th Ave Ne
Jamestown, ND 58401


St Paul S Utd Methodist Church
Pennsylvania Dutch Council 524
100 W Main St
Mountville, PA 17554


St Paul S Utd Methodist Church
Pikes Peak Council 060
2111 Carlton Ave
Colorado Springs, CO 80909


St Paul S Utd Methodist Church
Southern Shores Fsc 783
P.O. Box 456
63855 M 40


St Paul S Utd Methodist Church
Suffolk County Council Inc 404
270 Main St
Northport, NY 11768


St Paul S Utd Methodist Men
National Capital Area Council 082
10401 Armory Ave
Kensington, MD 20895
St Paul School
Illowa Council 133
322 W Washington St
Macomb, IL 61455


St Paul School
Washington Crossing Council 777
218 Nassau St
Princeton, NJ 08542


St Paul Schs Grand Lodge Masons Mn
Northern Star Council 250
11501 Masonic Home Dr
Bloomington, Mn 55437


St Paul The Apostle
Westchester Putnam 388
77 Lee Ave
Yonkers, NY 10705


St Paul The Apostle Catholic Church
California Inland Empire Council 045
14085 Peyton Dr
Chino Hills, CA 91709


St Paul The Apostle Catholic Church
Circle Ten Council 571
709 James Dr
Richardson, TX 75080


St Paul The Apostle Catholic Church
Circle Ten Council 571
720 S Floyd Rd
Richardson, TX 75080


St Paul The Apostle Catholic Church
Katahdin Area Council 216
217 York St
Bangor, ME 04401
St Paul The Apostle Catholic Church
Louisiana Purchase Council 213
1879 Leglise St
Mansura, LA 71350


St Paul The Apostle Catholic Church
Old N State Council 070
2715 Horse Pen Creek Rd
Greensboro, NC 27410


St Paul The Apostle Catholic Church
South Florida Council 084
2700 NE 36th St
Lighthouse Point, FL 33064


St Paul The Apostle Catholic Church
South Texas Council 577
2233 Waldron Rd
Corpus Christi, TX 78418


St Paul The Apostle Ch‐Knights Columbus
Northeast Illinois 129
6401 Gages Lake Rd
Gurnee, Il 60031


St Paul The Apostle Church
Illowa Council 133
916 E Rusholme St
Davenport, IA 52803


St Paul The Apostle Church
Middle Tennessee Council 560
103 Lemont Ln
Tullahoma, TN 37388


St Paul The Apostle Church/School
W.L.A.C.C. 051
1536 Selby Ave
Los Angeles, CA 90024


St Paul The Apostle Orthodox Church
Las Vegas Area Council 328
5400 Annie Oakley Dr
Las Vegas, NV 89120


St Paul The Apostle Roman Catholic
Westchester Putnam 388
602 Mclean Ave
Yonkers, NY 10705


St Paul Ucc   Wapakoneta Noon Optimist
Black Swamp Area Council 449
P.O. Box 147
Wapakoneta, OH 45895


St Paul Un Methodist Ch   Mens Brthrhood
c/o Todd Pliner
Bay‐Lakes Council 635
341 Wilson Ave
Green Bay, WI 54303


St Paul Utd Ch Christ St Clair
Greater St Louis Area Council 312
123 E Dee St
Lebanon, Il 62254


St Paul Utd Church Of Christ
Black Swamp Area Council 449
119 N Franklin St
New Bremen, OH 45869


St Paul Utd Church Of Christ
Dan Beard Council, Bsa 438
5312 Old Blue Rock Rd
Cincinnati, OH 45247


St Paul Utd Church Of Christ
Dan Beard Council, Bsa 438
6997 Hamilton Ave
Cincinnati, OH 45231


St Paul Utd Church Of Christ
Greater St Louis Area Council 312
200 N Main St
Waterloo, IL 62298


St Paul Utd Church Of Christ
Greater St Louis Area Council 312
903 Meier Rd
Old Monroe, MO 63369


St Paul Utd Church Of Christ
Pathway To Adventure 456
144 E Palatine Rd
Palatine, IL 60067


St Paul Utd Methodist Ch
Chattahoochee Council 091
P.O. Box 5116
2101 Wildwood Ave


St Paul Utd Methodist Ch Little Rock
Quapaw Area Council 018
2223 Durwood Rd
Little Rock, Ar 72207


St Paul Utd Methodist Church
Atlanta Area Council 092
501 Grant St Se
Atlanta, GA 30312


St Paul Utd Methodist Church
Blue Ridge Council 551
P.O. Box 66
Ninety Six, SC 29666


St Paul Utd Methodist Church
Buffalo Trail Council 567
4501 Thomason Dr
Midland, TX 79703


St Paul Utd Methodist Church
Cape Fear Council 425
P.O. Box 622
Tabor City, NC 28463
St Paul Utd Methodist Church
Chattahoochee Council 091
P.O. Box 5116
Columbus, GA 31906


St Paul Utd Methodist Church
Chickasaw Council 558
2949 Davies Plantation Rd
Lakeland, TN 38002


St Paul Utd Methodist Church
Golden Spread Council 562
4317 W Interstate 40
Amarillo, TX 79106


St Paul Utd Methodist Church
Greater St Louis Area Council 312
10 N Center St
East Alton, IL 62024


St Paul Utd Methodist Church
Hoosier Trails Council 145 145
4201 W 3rd St
Bloomington, IN 47404


St Paul Utd Methodist Church
Lincoln Heritage Council 205
2000 Douglass Blvd
Louisville, KY 40205


St Paul Utd Methodist Church
Longhorn Council 662
852 W Bedford Euless Rd
Hurst, TX 76053


St Paul Utd Methodist Church
National Capital Area Council 082
11000 Hg Trueman Rd
Lusby, MD 20657


St Paul Utd Methodist Church
National Capital Area Council 082
1400 G St
Woodbridge, VA 22191


St Paul Utd Methodist Church
National Capital Area Council 082
21720 Laytonsville Rd
Laytonsville, MD 20882


St Paul Utd Methodist Church
North Florida Council 087
8264 Lone Star Rd
Jacksonville, FL 32211


St Paul Utd Methodist Church
Palmetto Council 549
1320 Fernwood‐Glen‐
Dale Rd


St Paul Utd Methodist Church
Pee Dee Area Council 552
1629 W Palmetto St
Florence, SC 29501


St Paul Utd Methodist Church
Pine Burr Area Council 304
696 Martin Luther King Blvd
Biloxi, MS 39530


St Paul Utd Methodist Church
Pony Express Council 311
18681 Hwy 59
Country Club, MO 64505


St Paul Utd Methodist Church
Quivira Council, Bsa 198
1356 N Broadway St
Wichita, KS 67214


St Paul Utd Methodist Church
Texas Trails Council 561
525 Beech St
Abilene, TX 79601


St Paul Utd Methodist Church
Three Rivers Council 578
1155 W Round Bunch Rd
Bridge City, TX 77611


St Paul Utd Methodist Church
Tuscarora Council 424
204 E Chestnut St
Goldsboro, NC 27530


St Paul Utd Methodist Men
Blue Ridge Mtns Council 599
220 W Main St
Christiansburg, VA 24073


St Pauls Catholic Church
Buckeye Council 436
241 S Main St
North Canton, OH 44720


St Pauls Catholic Church
Capitol Area Council 564
10000 David Moore Dr
Austin, TX 78748


St Pauls Catholic Church
Greater New York Councils, Bsa 640
234 Congress St
Brooklyn, NY 11201


St Pauls Catholic Church
Narragansett 546
116 Danielson Pike
Foster, RI 02825


St Pauls Catholic Church
Ore‐Ida Council 106 ‐ Bsa 106
1515 8th St S
Nampa, ID 83651
St Pauls Catholic Church
Potawatomi Area Council 651
P.O. Box 95
S38W31602 Hwy D
Genesee Depot, WI 53127


St Pauls Catholic Church
Potawatomi Area Council 651
S38W31602 Wern Way
Waukesha, WI 53189


St Pauls Catholic Church
Twin Valley Council Bsa 283
P.O. Box 428
Nicollet, MN 56074


St Pauls Catholic School Rcc
Narragansett 546
1789 Broad St
Cranston, RI 02905


St Pauls Chapel Church Utd Methodist
New Birth of Freedom 544
3050 Cape Horn Rd
Red Lion, PA 17356


St Pauls Christian Church
Occoneechee 421
3331 Blue Ridge Rd
Raleigh, NC 27612


St Pauls E L C A
Winnebago Council, Bsa 173
301 1st St Nw
Waverly, IA 50677


St Pauls Episcopal Church
Baden‐Powell Council 368
117 Main St
Owego, NY 13827
St Pauls Episcopal Church
Baden‐Powell Council 368
276 Church St
Montrose, PA 18801


St Pauls Episcopal Church
Blue Mountain Council 604
1609 W 10th Ave
Kennewick, WA 99336


St Pauls Episcopal Church
Blue Mountain Council 604
323 Catherine St
Walla Walla, WA 99362


St Pauls Episcopal Church
Capitol Area Council 564
511 E Pflugerville Pkwy
Pflugerville, TX 78660


St Pauls Episcopal Church
Cascade Pacific Council 492
1444 Liberty St Se
Salem, OR 97302


St Pauls Episcopal Church
Connecticut Rivers Council, Bsa 066
294 Main St S
Woodbury, CT 06798


St Pauls Episcopal Church
Connecticut Yankee Council Bsa 072
145 Main St
Southington, CT 06489


St Pauls Episcopal Church
Connecticut Yankee Council Bsa 072
174 Whisconier Rd
Brookfield, CT 06804


St Pauls Episcopal Church
Connecticut Yankee Council Bsa 072
65 N Main St
Wallingford, CT 06492


St Pauls Episcopal Church
Crossroads of America 160
6050 N Meridian St
Indianapolis, IN 46208


St Pauls Episcopal Church
Greater New York Councils, Bsa 640
157 Saint Pauls Pl
Brooklyn, NY 11226


St Pauls Episcopal Church
Laurel Highlands Council 527
1066 Washington Rd
Pittsburgh, PA 15228


St Pauls Episcopal Church
Mason Dixon Council 221
209 W Main St
Sharpsburg, MD 21782


St Pauls Episcopal Church
Miami Valley Council, Bsa 444
33 W Dixon Ave
Oakwood, OH 45419


St Pauls Episcopal Church
Middle Tennessee Council 560
116 N Academy St
Murfreesboro, TN 37130


St Pauls Episcopal Church
Mobile Area Council‐Bsa 004
4051 Old Shell Rd
Mobile, AL 36608


St Pauls Episcopal Church
National Capital Area Council 082
25 Church St
P.O. Box 99
Prince Frederick, MD 20678


St Pauls Episcopal Church
Norwela Council 215
275 Sfield Rd
Shreveport, LA 71105


St Pauls Episcopal Church
Old Hickory Council 427
520 Summit St
Winston Salem, NC 27101


St Pauls Episcopal Church
Seneca Waterways 397
101 E Williams St
Waterloo, NY 13165


St Pauls Episcopal Church
South Georgia Council 098
212 N Jefferson St
Albany, GA 31701


St Pauls Episcopal Church
Stonewall Jackson Council 763
P.O. Box 37
Ivy, VA 22945


St Pauls Episcopal Church
Suffolk County Council Inc 404
31 Rider Ave
85 Monroe Ave
Patchogue, NY 11772


St Pauls Episcopal Church
Ventura County Council 057
3290 Loma Vista Rd
Ventura, CA 93003


St Pauls Episcopal Church Mens Club
Connecticut Yankee Council Bsa 072
174 Whisconier Rd
Brookfield, CT 06804
St Pauls Episcopal School
Mobile Area Council‐Bsa 004
161 Dogwood Ln
Mobile, AL 36608


St Pauls Evangelical Covenant Church
Pathway To Adventure 456
3342 Calwagner St
Franklin Park, IL 60131


St Pauls Evangelical Lutheran Church
Black Swamp Area Council 449
601 Flat Rock Dr
Paulding, OH 45879


St Pauls Evangelical Lutheran Church
Cradle of Liberty Council 525
5900 N 5th St
Philadelphia, PA 19120


St Pauls Evangelical Lutheran Church
Cradle of Liberty Council 525
Easton Rd   Mt Carmel
Glenside, PA 19038


St Pauls Evangelical Lutheran Church
Cradle of Liberty Council 525
P.O. Box 47
Frye   St Paul Church Rd
Red Hill, PA 18076


St Pauls Evangelical Lutheran Church
Greater New York Councils, Bsa 640
2801 W 8th St
Brooklyn, NY 11224


St Pauls Evangelical Lutheran Church
New Birth of Freedom 544
530 Bridge St
New Cumberland, PA 17070
St Pauls Evangelical Lutheran Church
Sam Houston Area Council 576
305 W 3rd St
Brenham, TX 77833


St Pauls Evangelical Lutheran Church
W D Boyce 138
509 E Broadway St
Streator, IL 61364


St Pauls Greek Orthodox Church
Theodore Roosevelt Council 386
110 Cathedral Ave
Hempstead, NY 11550


St Pauls Lutheran Church
Buckeye Council 436
127 Cherry Rd Ne
Massillon, OH 44646


St Pauls Lutheran Church
Chester County Council 539
104 S Village Ave
Exton, PA 19341


St Pauls Lutheran Church
Cornhusker Council 324, 20th     Towle
Falls City, NE 68355


St Pauls Lutheran Church
Crossroads of America 160
121 S 18th St
Richmond, IN 47374


St Pauls Lutheran Church
Del Mar Va 081
701 S College Ave
Newark, DE 19713


St Pauls Lutheran Church
Erie Shores Council 460
17050 Middleton Pike
Bowling Green, OH 43402


St Pauls Lutheran Church
Garden State Council 690
910 Marne Hwy
Hainesport, NJ 08036


St Pauls Lutheran Church
Greater Yosemite Council 059
701 S Pleasant Ave
Lodi, CA 95240


St Pauls Lutheran Church
Jersey Shore Council 341
130 Cable Ave
Beachwood, NJ 08722


St Pauls Lutheran Church
Mid Iowa Council 177
335 N 8th St
Albia, IA 52531


St Pauls Lutheran Church
Minsi Trails Council 502
418 Berwick St
White Haven, PA 18661


St Pauls Lutheran Church
Nevada Area Council 329
1201 N Saliman Rd
Carson City, NV 89701


St Pauls Lutheran Church
Northeastern Pennsylvania Council 501
405 Church St
Hawley, PA 18428


St Pauls Lutheran Church
Northern Star Council 250
P.O. Box 8
10224 Church St
Hanover, MN 55341


St Pauls Lutheran Church
Orange County Council 039
901 E Heim Ave
Orange, CA 92865


St Pauls Lutheran Church
Overland Trails 322
1515 S Harrison St
Grand Island, NE 68803


St Pauls Lutheran Church
Pennsylvania Dutch Council 524
P.O. Box 385
80 E Main St
Adamstown, PA 19501


St Pauls Lutheran Church
Piedmont Council 420
3761 Startown Rd
Newton, NC 28658


St Pauls Lutheran Church
Piedmont Council 420
531 Hardin Rd
Dallas, NC 28034


St Pauls Lutheran Church
President Gerald R Ford 781
727 S 2nd Ave
Alpena, MI 49707


St Pauls Lutheran Church
Samoset Council, Bsa 627
321 N Park Ave
Medford, WI 54451


St Pauls Lutheran Church
Seneca Waterways 397
28 Lincoln Ave
Pittsford, NY 14534
St Pauls Lutheran Church
Southern Shores Fsc 783
7701 M‐36
Hamburg, MI 48139


St Pauls Lutheran Church
Winnebago Council, Bsa 173
P.O. Box 433
17 2nd St Ne
Hampton, IA 50441


St Pauls Lutheran Church Eica
Buckeye Council 436
29 Spruce St
Leetonia, OH 44431


St Pauls Roman Catholic Church
Buckeye Council 436
935 E State St
Salem, OH 44460


St Pauls Roman Catholic Church
Narragansett 546
48 Saint Paul St
Blackstone, MA 01504


St Pauls Ucc
Greater St Louis Area Council 312
103 S 2nd St
Marthasville, MO 63357


St Pauls Union Church
Pathway To Adventure 456
1960 W 94th St
Chicago, IL 60643


St Pauls Utd Church
Hawk Mountain Council 528
5 W Arch St
Fleetwood, PA 19522
St Pauls Utd Church
Miami Valley Council, Bsa 444
707 N Ohio Ave
Sidney, OH 45365


St Pauls Utd Church Of Christ
Black Swamp Area Council 449
201 N Perry St
Saint Marys, OH 45885


St Pauls Utd Church Of Christ
Buffalo Trace 156
8701 Big Cynthiana Rd
Evansville, IN 47720


St Pauls Utd Church Of Christ
Columbia‐Montour 504
164 Picnic Grove Rd
Catawissa, PA 17820


St Pauls Utd Church Of Christ
Cradle of Liberty Council 525
927 N Franklin St
Pottstown, PA 19464


St Pauls Utd Church Of Christ
Dan Beard Council, Bsa 438
1 N Jefferson St
Alexandria, KY 41001


St Pauls Utd Church Of Christ
Great Rivers Council 653
P.O. Box 352
Hermann, MO 65041


St Pauls Utd Church Of Christ
Greater St Louis Area Council 312
101 S 2nd St
Marthasville, MO 63357


St Pauls Utd Church Of Christ
Greater St Louis Area Council 312
7 N Belleville St
Freeburg, IL 62243


St Pauls Utd Church Of Christ
Hawk Mountain Council 528
1312 Old Swede Rd
Douglassville, PA 19518


St Pauls Utd Church Of Christ
Hawk Mountain Council 528
1315 Old Swede Rd
Douglassville, PA 19518


St Pauls Utd Church Of Christ
Illowa Council 133
315 N Main St
Wheatland, IA 52777


St Pauls Utd Church Of Christ
Minsi Trails Council 502
1856 Lincoln Ave
Northampton, PA 18067


St Pauls Utd Church Of Christ
Minsi Trails Council 502
787 Almond Rd
Walnutport, PA 18088


St Pauls Utd Church Of Christ
New Birth of Freedom 544
205 W Main St
Dallastown, PA 17313


St Pauls Utd Church Of Christ
Pennsylvania Dutch Council 524
P.O. Box 177
133 Church St


St Pauls Utd Church Of Christ
Potawatomi Area Council 651
N89W16856 Appleton Ave
Menomonee Falls, WI 53051


St Pauls Utd Methodist Church
Baltimore Area Council 220
7538 Main St
Sykesville, MD 21784


St Pauls Utd Methodist Church
Bay‐Lakes Council 635
341 Wilson Ave
Green Bay, WI 54303


St Pauls Utd Methodist Church
Black Swamp Area Council 449
400 Wayne Ave
Defiance, OH 43512


St Pauls Utd Methodist Church
Buffalo Trace 156
P.O. Box 38
Poseyville, IN 47633


St Pauls Utd Methodist Church
Cape Fear Council 425
P.O. Box 429
Maxton, NC 28364


St Pauls Utd Methodist Church
Central Florida Council 083
1591 Highland Ave
Melbourne, FL 32935


St Pauls Utd Methodist Church
Columbia‐Montour 504
1000 Orange St
Berwick, PA 18603


St Pauls Utd Methodist Church
Daniel Boone Council 414
223 Hillside St
Asheville, NC 28801
St Pauls Utd Methodist Church
Del Mar Va 081
1314 Foulk Rd
Wilmington, DE 19803


St Pauls Utd Methodist Church
Del Mar Va 081
P.O. Box 253
Odessa, DE 19730


St Pauls Utd Methodist Church
Five Rivers Council, Inc 375
P.O. Box 121
Liberty, PA 16930


St Pauls Utd Methodist Church
Great Lakes Fsc 272
620 Romeo Rd
Rochester, MI 48307


St Pauls Utd Methodist Church
Great Smoky Mountain Council 557
P.O. Box 581
Etowah, TN 37331


St Pauls Utd Methodist Church
Great Swest Council 412
9500 Constitution Ave Ne
Albuquerque, NM 87112


St Pauls Utd Methodist Church
Green Mountain 592
11 Church St
Saint Albans, VT 05478


St Pauls Utd Methodist Church
Hawk Mountain Council 528
19 E Pottsville St
Pine Grove, PA 17963


St Pauls Utd Methodist Church
Hawk Mountain Council 528
21 E Pottsville St
Pine Grove, PA 17963


St Pauls Utd Methodist Church
Heart of America Council 307
7740 Lackman Rd
Lenexa, KS 66217


St Pauls Utd Methodist Church
Heart of America Council 307
P.O. Box 377
1111 W Foxwood Dr


St Pauls Utd Methodist Church
Juniata Valley Council 497
250 E College Ave
State College, PA 16801


St Pauls Utd Methodist Church
Longs Peak Council 062
4215 Grinnell Ave
Boulder, CO 80305


St Pauls Utd Methodist Church
Louisiana Purchase Council 213
1901 Lexington Ave
Monroe, LA 71201


St Pauls Utd Methodist Church
Mid Iowa Council 177
Community Center
104 S Columbus St


St Pauls Utd Methodist Church
Mid‐America Council 326
324 S Jackson St
Papillion, NE 68046


St Pauls Utd Methodist Church
New Birth of Freedom 544
750 Norland Ave
Chambersburg, PA 17201


St Pauls Utd Methodist Church
Palmetto Council 549
1320 Fernwood Glendale Rd
Spartanburg, SC 29307


St Pauls Utd Methodist Church
President Gerald R Ford 781
3334 Breton Rd Se
Grand Rapids, MI 49512


St Pauls Utd Methodist Church
Samoset Council, Bsa 627
600 Wilshire Blvd
Stevens Point, WI 54481


St Pauls Utd Methodist Church
Southern Shores Fsc 783
201 S Monroe St
Monroe, MI 48161


St Pauls Utd Methodist Church
Stonewall Jackson Council 763
2000 Shutterlee Mill Rd
Staunton, VA 24401


St Pauls Utd Methodist Church
Tidewater Council 596
437 Providence Rd
Chesapeake, VA 23325


St Pauls Utd Methodist Church
Washington Crossing Council 777
2131 Palomino Dr
Warrington, PA 18976


St Pauls Utd Methodist Men
National Capital Area Council 082
10401 Armory Ave
Kensington, MD 20895
St Pauls Waccamaw Utd Methodist Ch
Coastal Carolina Council 550
180 Saint Pauls Pl
Pawleys Island, Sc 29585


St Peter   Paul Catholic Church
Alamo Area Council 583
386 N Castell Ave
New Braunfels, TX 78130


St Peter   Paul Catholic Church
Central Florida Council 083
5300 Old Howell Branch Rd
Winter Park, FL 32792


St Peter   Paul Catholic Church
South Florida Council 084
900 SW 26th Rd
Miami, FL 33129


St Peter   Paul Roman Catholic Church
Garden State Council 690
P.O. Box 1022
Turnersville, NJ 08012


St Peter   St George Coptic Orthodox
Lake Erie Council 440
25800 Hilliard Blvd
Westlake, OH 44145


St Peter   St Paul Episcopal Church
Rio Grande Council 775
2310 N Stewart Rd
Mission, TX 78574


St Peter And All Saints Episcopal Church
Heart of America Council 307
100 E Red Bridge Rd
Kansas City, MO 64114


St Peter And Paul Catholic Church
Sioux Council 733
304 N Euclid Ave
Pierre, SD 57501


St Peter And Paul Youth Ministry
Golden Empire Council 047
4450 Granite Dr
Rocklin, CA 95677


St Peter And St Paul Church
California Inland Empire Council 045
9135 Banyan St
Alta Loma, CA 91737


St Peter And St Paul Episcopal Church
Atlanta Area Council 092
1675 Johnson Ferry Rd
Marietta, GA 30062


St Peter Catholic Church
Alamo Area Council 583
202 W Kronkosky St
Boerne, TX 78006


St Peter Catholic Church
Greater St Louis Area Council 312
243 W Argonne Dr
Kirkwood, MO 63122


St Peter Catholic Church
Greater St Louis Area Council 312
243 W Argonne Dr
Saint Louis, MO 63122


St Peter Catholic Church
Mississippi Valley Council 141 141
2600 Maine St
Quincy, IL 62301


St Peter Catholic Church
Sagamore Council 162
401 N Monticello St
Winamac, IN 46996


St Peter Catholic Church
Three Fires Council 127
1891 Kaneville Rd
Geneva, IL 60134


St Peter Catholic Church ‐ Cameron
Chippewa Valley Council 637
1618 20th St
Cameron, WI 54822


St Peter Chanel Catholic Church
Atlanta Area Council 092
11330 Woodstock Rd
Roswell, GA 30075


St Peter Church
Northeast Illinois 129
557 Lake St
Antioch, IL 60002


St Peter Claver Catholic Church
Bay‐Lakes Council 635
1444 S 11th St
Sheboygan, WI 53081


St Peter Claver Catholic Church
East Texas Area Council 585
1403 N Tenneha Ave
Tyler, TX 75702


St Peter Claver Catholic Church
Northern Star Council 250
375 Oxford St N
Saint Paul, MN 55104


St Peter Claver Catholic Church
Southeast Louisiana Council 214
1910 Ursulines Ave
New Orleans, LA 70116
St Peter Claver Catholic Church
Ventura County Council 057
2380 Stow St
Simi Valley, CA 93063


St Peter Episcopal Church
Blue Grass Council 204
311 High St
Paris, KY 40361


St Peter Episcopal Church
Lake Erie Council 440
4901 Main Ave
Ashtabula, OH 44004


St Peter Evangelical Lutheran Church
Baltimore Area Council 220
7834 Eern Ave
Baltimore, MD 21224


St Peter Evangelical Lutheran Church
Lake Erie Council 440
243 Benedict Ave
Norwalk, OH 44857


St Peter Home And School Org
Glaciers Edge Council 620
320 Elmwood Ave
South Beloit, IL 61080


St Peter Lutheran Church
Denver Area Council 061
9300 E Belleview Ave
Greenwood Village, CO 80111


St Peter Lutheran Church
Pathway To Adventure 456
202 E Schaumburg Rd
Schaumburg, IL 60194


St Peter Lutheran Church
Pathway To Adventure 456
208 E Schaumburg Rd
Schaumburg, IL 60194


St Peter Lutheran Church
Sam Houston Area Council 576
3000 9th St
Bay City, TX 77414


St Peter Lutheran Church
Shenandoah Area Council 598
Hwy 340 N
Shenandoah, VA 22849


St Peter Lutheran Laymens League
Pathway To Adventure 456
111 W Olive St
Arlington Heights, IL 60004


St Peter Of Alcantara
Theodore Roosevelt Council 386
1321 Port Washington Blvd
Port Washington, NY 11050


St Peter Prince/Apostle Catholic Church
Alamo Area Council 583
111 Barilla Pl
San Antonio, TX 78209


St Peter Rc Church
Chester County Council 539
2835 Manor Rd
West Brandywine, PA 19320


St Peter S Baptist Church
Heart of Virginia Council 602
2040 Mountain Rd
Glen Allen, VA 23060


St Peter S By The Sea Presbyterian Ch
Greater Los Angeles Area 033
6410 Palos Verdes Dr S
Rancho Palos Verdes, Ca 90275


St Peter S Catholic Church
Bay‐Lakes Council 635
200 E Washington St
Slinger, WI 53086


St Peter S Catholic Church
Green Mountain 592
85 S Maple St
Vergennes, VT 05491


St Peter S Catholic Church
Oregon Trail Council 697
1150 Maxwell Rd
Eugene, OR 97404


St Peter S Catholic Church
Utah National Parks 591
634 N 600 E
American Fork, UT 84003


St Peter S Church Of Waldorf
National Capital Area Council 082
3320 Saint Peters Dr
Waldorf, MD 20601


St Peter S Church Of Waldorf
National Capital Area Council 082
3320 St Peters Church Dr
Waldorf, MD 20601


St Peter S Episcopal Church
Blue Ridge Council 551
910 Hudson Rd
Greenville, SC 29615


St Peter S Episcopal Church
Central Florida Council 083
700 Rinehart Rd
Lake Mary, FL 32746
St Peter S Episcopal Church
Great Alaska Council 610
P.O. Box 676
Seward, AK 99664


St Peter S Episcopal Church
National Capital Area Council 082
P.O. Box 546
Purcellville, VA 20134


St Peter S Evangelical Lutheran Church
Hawk Mountain Council 528
1931 Wiconisco St
Tower City, PA 17980


St Peter S Lutheran Church
Black Swamp Area Council 449
P.O. Box 205
201 N Church St
Edon, OH 43518


St Peter S Lutheran Church
Glaciers Edge Council 620
345 N Pine St
Reedsburg, WI 53959


St Peter S Utd Church Of Christ
Hawk Mountain Council 528
Curtis Rd   Dwight
Wilshire


St Peter S Utd Church Of Christ
Lake Erie Council 440
582 Church St
Amherst, OH 44001


St Peter S Utd Church Of Christ
Three Fires Council 127
125 W Church St
Elmhurst, IL 60126
St Peter School
Istrouma Area Council 211
130 E Temperance St
Covington, LA 70433


St Peter Sea Utd Method Men
6322 Kristin Dr
Corpus Christi, TX 78414


St Peter The Apostle
Lincoln Heritage Council 205
10800 Beatrice Way
Louisville, KY 40272


St Peter The Apostle
Lincoln Heritage Council 205
5431 Johnsontown Rd
Louisville, KY 40272


St Peter The Apostle Catholic Church
Alamo Area Council 583
202 W Kronkosky St
Boerne, TX 78006


St Peter The Apostle Catholic Church
Greater Alabama Council 001
2061 Patton Chapel Rd
Birmingham, AL 35216


St Peter The Apostle Catholic Church
Quivira Council, Bsa 198
11000 Swest Blvd
Wichita, KS 67215


St Peter The Apostle Catholic Parish
San Diego Imperial Council 049
450 S Stage Coach Ln
Fallbrook, CA 92028


St Peter The Apostle Church
Patriots Path Council 358
179 Baldwin Rd
Parsippany, NJ 07054


St Peter The Apostle Parish
Del Mar Va 081
521 Harmony St
New Castle, DE 19720


St Peter The Apostle RC Ch
Northern New Jersey Council, Bsa 333
445 5Th Ave
River Edge, Nj 07661


St Peter The Fisherman ‐ Mens Club
Bay‐Lakes Council 635
3210 Tannery Rd
Two Rivers, WI 54241


St Peter Umc
Chattahoochee Council 091
6507 Moon Rd
Columbus, GA 31909


St Peter Utd Church Of Christ
Chester County Council 539
P.O. Box 208
Saint Peters, PA 19470


St Peter Utd Church Of Christ
Greater St Louis Area Council 312
415 Madison St
Red Bud, IL 62278


St Peter Utd Church Of Christ
Pathway To Adventure 456
47 Church St
Lake Zurich, IL 60047


St Peter Utd Church Of Christ
Sam Houston Area Council 576
9022 Long Point Rd
Houston, TX 77055
St Peter Vietnamese Catholic Church
Circle Ten Council 571
10038 Beckleycrest Ave
Dallas, TX 75232


St Peters   St Marys Roman Catholic
Simon Kenton Council 441
122 Church St
Chillicothe, OH 45601


St Peters Anglican Cathedral
Suwannee River Area Council 664
4784 Thomasville Rd
Tallahassee, FL 32309


St Peters Anglican Church
Greater Alabama Council 001
3207 Montevallo Rd
Birmingham, AL 35223


St Peters By The Sea
Suffolk County Council Inc 404
500 W Montauk Hwy
Bay Shore, NY 11706


St Peters By The Sea Church
Narragansett 546
72 Central St
Narragansett, RI 02882


St Peters By The Sea Utd Methodist Ch
South Texas Council 577
1541 Waldron Rd
Corpus Christi, Tx 78418


St Peters Cathedral
Blackhawk Area 660
1243 N Church St
Rockford, IL 61103


St Peters Catholic Church
Buckeye Council 436
104 W 1st St
Mansfield, OH 44902


St Peters Catholic Church
Cascade Pacific Council 492
P.O. Box 41
1222 W 10th St
The Dalles, OR 97058


St Peters Catholic Church
Central Florida Council 083
359 W New York Ave
Deland, FL 32720


St Peters Catholic Church
Cornhusker Council 324
4500 Duxhall Dr
Lincoln, NE 68516


St Peters Catholic Church
East Carolina Council 426
121 Harell St
Knights of Columbus
Greenville, NC 27858


St Peters Catholic Church
East Carolina Council 426
2700 E 4th St
Greenville, NC 27858


St Peters Catholic Church
Evangeline Area 212
P.O. Box 40
Carencro, LA 70520


St Peters Catholic Church
Garden State Council 690
43 W Maple Ave
Merchantville, NJ 08109


St Peters Catholic Church
Great Lakes Fsc 272
98 New St
Mount Clemens, MI 48043


St Peters Catholic Church
Greater St Louis Area Council 312
243 W Argonne Dr
Saint Louis, MO 63122


St Peters Catholic Church
Lake Erie Council 440
35777 Center Ridge Rd
North Ridgeville, OH 44039


St Peters Catholic Church
Longhorn Council 662
P.O. Box 148
Lindsay, TX 76250


St Peters Catholic Church
Miami Valley Council, Bsa 444
6185 Chambersburg Rd
Huber Heights, OH 45424


St Peters Catholic Church
National Capital Area Council 082
313 2nd St Se
Washington, DC 20003


St Peters Catholic Church
Northern Star Council 250
1250 S Shore Dr
Forest Lake, MN 55025


St Peters Catholic Church
Northern Star Council 250
P.O. Box 50679
1405 Hwy 13
Mendota, MN 55150


St Peters Catholic Church
Sequoia Council 027
870 N Lemoore Ave
Lemoore, CA 93245


St Peters Catholic Church
Utah National Parks 591
634 N 600 E
American Fork, UT 84003


St Peters Catholic Church For Pack
East Carolina Council 426
2700 E 4th St
Use For Pack
Greenville, NC 27858


St Peters Church
Inland Nwest Council 611
3520 E 18th Ave
Spokane, WA 99223


St Peters Church
Northern Star Council 250
2600 Margaret St N
North Saint Paul, MN 55109


St Peters Church Mens Club
Buckeye Council 436
726 Cleveland Ave Nw
Canton, OH 44702


St Peters Elementary School PTA
Greater St Louis Area Council 312
400 Mcmenamy Rd
Saint Peters, MO 63376


St Peters Episc Ch, Livingston, Nj
Northern New Jersey Council, Bsa 333
94 E Mount Pleasant Ave
Livingston, Nj 07039


St Peters Episcopal
National Capital Area Council 082
P.O. Box 546
Purcellville, VA 20134


St Peters Episcopal Church
Connecticut Rivers Council, Bsa 066
99 Sand Hill Rd
South Windsor, CT 06074


St Peters Episcopal Church
Laurel Highlands Council 527
4048 Brownsville Rd
Pittsburgh, PA 15227


St Peters Episcopal Church
Middle Tennessee Council 560
311 W 7th St
Columbia, TN 38401


St Peters Episcopal Church
National Capital Area Council 082
P.O. Box 7974
Christiansted, VI 00823


St Peters Episcopal Church
Patriots Path Council 358
183 Rector St
Perth Amboy, NJ 08861


St Peters Evangelical Lutheran Church
Cradle of Liberty Council 525
3025 Church Rd
Lafayette Hill, PA 19444


St Peters Evangelical Lutheran Church
Minsi Trails Council 502
1933 Hanover Ave
Allentown, PA 18109


St Peters Evangelical Lutheran Church
Pennsylvania Dutch Council 524
10 Delp Rd
Lancaster, PA 17601
St Peters Evangelical Lutheran Church
Simon Kenton Council 441
105 E Mulberry St
Lancaster, OH 43130


St Peters Evangelical Utd Ch Christ
Ozark Trails Council 306
P.O. Box 250
Billings, Mo 65610


St Peters Friends Of Scouting
Heart of America Council 307
208 W 70th Ter
Kansas City, MO 64113


St Peters Holy Name Society
Samoset Council, Bsa 627
400 4th Ave
Stevens Point, WI 54481


St Peters Lutheran Church
Blackhawk Area 660
1075 Adams St
Fennimore, WI 53809


St Peters Lutheran Church
Greater Yosemite Council 059
2400 Oxford Way
Lodi, CA 95242


St Peters Lutheran Church
National Capital Area Council 082
1201 Courthouse Rd
Stafford, VA 22554


St Peters Lutheran Church
Northeast Iowa Council 178
3200 Asbury Rd
Dubuque, IA 52001


St Peters Lutheran Church
Southern Shores Fsc 783
1079 Riverside Dr
Battle Creek, MI 49015


St Peters Lutheran Church
Susquehanna Council 533
1 W St
Freeburg, PA 17827


St Peters Lutheran Church
Susquehanna Council 533
Kreamer Ave
Kreamer, PA 17833


St Peters Lutheran Church Elgin ‐ Elca
Capitol Area Council 564
P.O. Box 187
401 E 8th St
Elgin, TX 78621


St Peters Lutheran Church L W M L
Piedmont Council 420
6175 St Peters Church Rd
Conover, NC 28613


St Peters Lutheran Laymens League
Piedmont Council 420
6175 St Peters Church Rd
Conover, NC 28613


St Peters Lutheran School
Great Lakes Fsc 272
17051 24 Mile Rd
Macomb, MI 48042


St Peters Methodist Church
Columbia‐Montour 504
240 Sunbury Rd
Riverside, PA 17868


St Peters Methodist Church‐Mens Bible Cl
Columbia‐Montour 504
240 Sunbury Rd
Riverside, PA 17868


St Peters Parish Catholic Church
National Capital Area Council 082
313 2nd St Se
Washington, DC 20003


St Peters Roman Catholic Church
Hudson Valley Council 374
115 Broadway
Haverstraw, NY 10927


St Peters Roman Catholic Church
Narragansett 546
350 Fair St
Warwick, RI 02888


St Peters University Hospital
Patriots Path Council 358
254 Eon Ave
New Brunswick, NJ 08901


St Peters Utd Church Of Christ
Greater St Louis Area Council 312
20 E 5th St
Washington, MO 63090


St Peters Utd Church Of Christ
Hawk Mountain Council 528
2901 Curtis Rd
West Lawn, PA 19609


St Peters Utd Church Of Christ
Hawk Mountain Council 528
275 S Tulpehocken St
Pine Grove, PA 17963


St Peters Utd Church Of Christ
Hawk Mountain Council 528
277 S Tulpehocken St
Pine Grove, PA 17963
St Peters Utd Church Of Christ
Prairielands 117
905 S Russell St
Champaign, IL 61821


St Peters Utd Methodist Church
Buffalo Trace 156
2800 Saint Philip Rd S
Evansville, IN 47712


St Peters Utd Methodist Church
Chief Seattle Council 609
17222 NE 8th St
Bellevue, WA 98008


St Peters Utd Methodist Church
Heart of Virginia Council 602
15599 Mountain Rd
Montpelier, VA 23192


St Peters Utd Methodist Church
Sam Houston Area Council 576
20775 Kingsland Blvd
Katy, TX 77450


St Peters Utd Methodist Men
Gulf Stream Council 085
12200 Forest Hill Blvd
Wellington, FL 33414


St Petersburg College
Attn Private Donor Scolarships
P.O. Box 13489
St Petersburg, FL 33733


St Petersburg Fire Dept
Greater Tampa Bay Area 089
400 Dr Martin Luther King Jr St S
St Petersburg, FL 33701
St Petersburg Police Dept
Greater Tampa Bay Area 089
1300 1st Ave N
Saint Petersburg, FL 33705


St Petri Lutheran Church
Erie Shores Council 460
3120 S Byrne Rd
Toledo, OH 43614


St Philip   St James School
Minsi Trails Council 502
137 Roseberry St
Phillipsburg, NJ 08865


St Philip Benizi Catholic Church
Atlanta Area Council 092
591 Flint River Rd
Jonesboro, GA 30238


St Philip Catholic Church
Middle Tennessee Council 560
113 2nd Ave S
Franklin, TN 37064


St Philip Catholic School
Last Frontier Council 480
1121 Felix Pl
Midwest City, OK 73110


St Philip Lutheran Church
Denver Area Council 061
7531 S Kendall Blvd
Littleton, CO 80128


St Philip Lutheran Church
Occoneechee 421
7304 Falls of Neuse Rd
Raleigh, NC 27615


St Philip Neri
Baltimore Area Council 220
6405 S Orchard Rd
Linthicum, MD 21090


St Philip Neri Catholic Church
Southeast Louisiana Council 214
6500 Kawanee Ave
Metairie, LA 70003


St Philip Neri Catholic School
Crossroads of America 160
545 Eern Ave
Indianapolis, IN 46201


St Philip Neri Roman Catholic Church
Cradle of Liberty Council 525
1325 Klinerd Rd
Pennsburg, PA 18073


St Philip Neri School
Mid‐America Council 326
8202 N 31st St
Omaha, NE 68112


St Philip Presbyterian Church
Longhorn Council 662
745 W Pipeline Rd
Hurst, TX 76053


St Philip S Church
Voyageurs Area 286
702 Beltrami Ave Nw
Bemidji, MN 56601


St Philip S Episcopal Church
Greater New York Councils, Bsa 640
1072 80th St
Brooklyn, NY 11228


St Philip S Episcopal Church
Ozark Trails Council 306
706 Byers Ave
Joplin, MO 64801
St Philip S Episcopal Church
South Florida Council 084
1121 Andalusia Ave
Coral Gables, FL 33134


St Philip The Apostle Catholic Church
Pennsylvania Dutch Council 524
2111 Millersville Pike
Lancaster, PA 17603


St Philip The Apostle Catholic Church
South Texas Council 577
3513 Cimarron Blvd
Corpus Christi, TX 78414


St Philip The Apostle Church
Connecticut Rivers Council, Bsa 066
64 Pompey Rd
Ashford, CT 06278


St Philip The Apostle Church
Connecticut Rivers Council, Bsa 066
64 Pompey Hollow Rd
Ashford, CT 06278


St Philip The Apostle Church
Southern Sierra Council 030
7100 Stockdale Hwy
Bakersfield, CA 93309


St Philip The Apostle RC Ch
Northern New Jersey Council, Bsa 333
797 Valley Rd
Clifton, Nj 07013


St Philip The Deacon Lutheran Church
Northern Star Council 250
17205 County Rd 6
Plymouth, MN 55447
St Philips Catholic Church
Greater Los Angeles Area 033
151 S Hill Ave
Pasadena, CA 91106


St Philips Elementary School
Dan Beard Council, Bsa 438
1400 Mary Ingles Hwy
Melbourne, KY 41059


St Philips Episcopal Church
Andrew Jackson Council 303
5400 Old Canton Rd
Jackson, MS 39211


St Philips Episcopal Church
Circle Ten Council 571
6400 Stonebrook Pkwy
Frisco, TX 75034


St Philips Episcopal Church
Great Lakes Fsc 272
100 Romeo Rd
Rochester, MI 48307


St Philips Episcopal Church
Greater New York Councils, Bsa 640
265 Decatur St
Brooklyn, NY 11233


St Philips Episcopal Church
Middle Tennessee Council 560
85 Fairway Dr
Nashville, TN 37214


St Philips Lutheran Church
Northern Star Council 250
1401 15th St W
Hastings, MN 55033


St Philips School And Community Center
Circle Ten Council 571
1600 Pennsylvania Ave
Dallas, TX 75215


St Philips Utd Methodist Church
Capitol Area Council 564
16321 S Great Oaks Dr
Round Rock, TX 78681


St Philips Utd Methodist Church
Sam Houston Area Council 576
5501 Beechnut St
Houston, TX 77096


St Phillip Neri Catholic Church
Palmetto Council 549
292 Munn Rd E
Fort Mill, SC 29715


St Phillip Neri Rc Church
Cradle of Liberty Council 525
427 Ridge Pike
Lafayette Hill, PA 19444


St Phillip The Apostle Church
Circle Ten Council 571
8131 Military Pkwy
Dallas, TX 75227


St Phillip, St Joseph   St Jerome Parish
Southern Shores Fsc 783
92 Capital Ave Ne
Battle Creek, MI 49017


St Philomena Catholic Church
W D Boyce 138
3300 N Twelve Oaks Dr
Peoria, IL 61604


St Philomena Catholic Church
W D Boyce 138
Peoria Il
Peoria, IL 61604
St Philomenas Roman Catholic Church
Northern New Jersey Council, Bsa 333
386 S Livingston Ave
Livingston, NJ 07039


St Philopateer Coptic Orthodox Chruch
Circle Ten Council 571
1450 E Campbell Rd
Richardson, TX 75081


St Pius Catholic Church
Great Rivers Council 653
210 S Williams St
Moberly, MO 65270


St Pius Catholic Church
Rio Grande Council 775
600 S Oklahoma Ave
St. Pius X Catholic Chruch
Weslaco, TX 78596


St Pius Elementary School
Evangeline Area 212
205 E Bayou Pkwy
Lafayette, LA 70508


St Pius Parish Council
National Capital Area Council 082
3300 Moreland Pl
Bowie, MD 20715


St Pius Roman Catholic Church
Narragansett 546
55 Elmhurst Ave
Providence, RI 02908


St Pius Tenth Catholic Church Owensboro
Lincoln Heritage Council 205
3512 E 6th St
Owensboro, KY 42303
St Pius V Catholic Church
The Spirit of Adventure 227
215 Maple St
Lynn, MA 01904


St Pius V Roman Catholic Church
North Florida Council 087
2110 Blue Ave
Jacksonville, FL 32209


St Pius X And St Elizabeth Ann Seton
Hawkeye Area Council 172
1350 Lyndhurst Dr
Hiawatha, IA 52233


St Pius X Catholic Ch‐Holy Name Society
Three Fires Council 127
1025 E Madison St
Lombard, Il 60148


St Pius X Catholic Church
Alamo Area Council 583
3303 Urban Crest Dr
San Antonio, TX 78209


St Pius X Catholic Church
Atlanta Area Council 092
2621 Hwy 20 Se
Conyers, GA 30013


St Pius X Catholic Church
Baltimore Area Council 220
6428 York Rd
Baltimore, MD 21212


St Pius X Catholic Church
Bay‐Lakes Council 635
500 W Marquette St
Appleton, WI 54911


St Pius X Catholic Church
Cascade Pacific Council 492
1280 NW Saltzman Rd
Portland, OR 97229


St Pius X Catholic Church
Circle Ten Council 571
3030 Gus Thomasson Rd
Dallas, TX 75228


St Pius X Catholic Church
Dan Beard Council, Bsa 438
348 Dudley Pike
Edgewood, KY 41017


St Pius X Catholic Church
Grand Columbia Council 614
805 Central Ave S
Quincy, WA 98848


St Pius X Catholic Church
Illowa Council 133
2502 29th Ave
Rock Island, IL 61201


St Pius X Catholic Church
Indian Nations Council 488
1727 S 75th E Ave
Tulsa, OK 74112


St Pius X Catholic Church
Inland Nwest Council 611
625 E Haycraft Ave
Coeur D Alene, ID 83815


St Pius X Catholic Church
Lasalle Council 165
52553 Fir Rd
Granger, IN 46530


St Pius X Catholic Church
Mid Iowa Council 177
3663 66th St
Urbandale, IA 50322


St Pius X Catholic Church
Mid‐America Council 326
6905 Blondo St
Omaha, NE 68104


St Pius X Catholic Church
Northern Star Council 250
3878 Highland Ave
White Bear Lake, MN 55110


St Pius X Catholic Church
Old N State Council 070
2210 N Elm St
Greensboro, NC 27408


St Pius X Catholic Church
Simon Kenton Council 441
1051 Waggoner Rd
Reynoldsburg, OH 43068


St Pius X Catholic Church
Southeast Louisiana Council 214
6666 Spanish Fort Blvd
New Orleans, LA 70124


St Pius X Catholic Church
Three Fires Council 127
1025 E Madison St
Lombard, IL 60148


St Pius X Catholic Church
Tidewater Council 596
7800 Halprin Dr
Norfolk, VA 23518


St Pius X Catholic Church Of Rochester
1315 12th Ave NW
Rochester, MN 55901
St Pius X Catholic School
Yucca Council 573
1007 Geronimo Dr
El Paso, TX 79905


St Pius X Church
South Texas Council 577
5620 Gollihar Rd
Corpus Christi, TX 78412


St Pius X Church
Twin Rivers Council 364
23 Crumitie Rd
Loudonville, NY 12211


St Pius X Church
Yucca Council 573
1007 Geronimo Dr
El Paso, TX 79905


St Pius X Congregation
Three Harbors Council 636
2506 N Wauwatosa Ave
Milwaukee, WI 53213


St Pius X Freshman Class
Greater St Louis Area Council 312
1030 Saint Pius Dr
Festus, MO 63028


St Pius X Parish
Great Lakes Fsc 272
14101 Superior St
Southgate, MI 48195


St Pius X Parish
Mount Baker Council, Bsa 606
22301 58th Ave W
Mountlake Terrace, WA 98043


St Pius X R C Church
Seneca Waterways 397
3001 Chili Ave
Rochester, NY 14624


St Pius X R C Church
Seneca Waterways 397
3010 Chili Ave
Rochester, NY 14624


St Pius X Roman Catholic Church
Cape Cod and Islands Cncl 224
5 Barbara St
South Yarmouth, MA 02664


St Pius X Roman Catholic Church
Cradle of Liberty Council 525
200 Lawrence Rd
Broomall, PA 19008


St Pius X Roman Catholic Church
Cradle of Liberty Council 525
220 Lawrence Rd
Broomall, PA 19008


St Pius X Roman Catholic Church
Narragansett 546
44 Elm St
Westerly, RI 02891


St Pius X Roman Catholic Church
Theodore Roosevelt Council 386
1 Saint Pius Ct X
Plainview, NY 11803


St Priscilla Church
Great Lakes Fsc 272
19120 Purlingbrook St
Livonia, MI 48152


St Raphael Catholic Church
Lake Erie Council 440
525 Dover Center Rd
Bay Village, OH 44140
St Raphael Catholic Church
Three Fires Council 127
1215 Modaff Rd
Naperville, IL 60540


St Raphael Catholic Church
Westark Area Council 016
1386 S W End St
Springdale, AR 72764


St Raphael Church
Daniel Webster Council, Bsa 330
103 Walker St
Manchester, NH 03102


St Raphael Mens Club
Greater St Louis Area Council 312
6047 Bishops Pl
Saint Louis, MO 63109


St Raphael S Catholic Church
Bay‐Lakes Council 635
830 S Whaven Dr
Oshkosh, WI 54904


St Raphael S Church
Voyageurs Area 286
5779 Seville Rd
Duluth, MN 55811


St Raphael S Parish
Voyageurs Area 286
5779 Seville Rd
Duluth, MN 55811


St Raphael School
Los Padres Council 053
160 Saint Josephs St
Santa Barbara, CA 93111
St Raphael School
National Capital Area Council 082
1513 Dunster Rd
Rockville, MD 20854


St Raphael Svc Ctte, Parish Council
Lincoln Heritage Council 205
2141 Lancashire Ave
Louisville, Ky 40205


St Raphaels Catholic Church
Montana Council 315
402 3 Ave N
Glasgow, MT 59230


St Raphaels Catholic Church
Northern Star Council 250
7301 Bass Lake Rd
Crystal, MN 55428


St Raphaels Catholic Church
Occoneechee 421
5801 Falls of Neuse Rd
Raleigh, NC 27609


St Raphaels Parish Mens Club
Yucca Council 573
2301 Zanzibar Rd
El Paso, TX 79925


St Raphaels Rc Church
Theodore Roosevelt Council 386
600 Newbridge Rd
East Meadow, NY 11554


St Raphaels Roman Catholic Church
Greater Tampa Bay Area 089
1376 Snell Isle Blvd Ne
St Petersburg, FL 33704


St Raphaels Roman Catholic Church
National Capital Area Council 082
1513 Dunster Rd
Rockville, MD 20854


St Raphaels School
Yucca Council 573
11809 Pueblo Lindo Ct
El Paso, TX 79936


St Raymond Catholic Church
South Florida Council 084
3475 SW 17th St
Miami, FL 33145


St Raymond Catholic Parish
San Francisco Bay Area Council 028
11555 Shannon Ave
Dublin, CA 94568


St Raymond Church
Pathway To Adventure 456
301 S I Oka Ave
Mount Prospect, IL 60056


St Raymond S Elementary School
Greater New York Councils, Bsa 640
2380 E Tremont Ave
Bronx, NY 10462


St Raymonds Cathedral
Rainbow Council 702
604 N Raynor Ave
Joliet, IL 60435


St Raymonds Catholic Church
Abraham Lincoln Council 144
306 S Mcelroy Po 349
Raymond, IL 62560


St Raymonds Rc Church
Theodore Roosevelt Council 386
263 Atlantic Ave
East Rockaway, NY 11518
St Regis Canoe Outfitters
73 Dorsey St
Saranac Lake, NY 12983


St Regis Crystal
Dept Ch 19579
Palatine, IL 60055‐9579


St Regis Parents For Scouting
Heart of America Council 307
8408 Hawthorne Pl
Raytown, MO 64138


St Richard S Episcopal School
Crossroads of America 160
33 E 33rd St
Indianapolis, IN 46205


St Richard School
Pathway To Adventure 456
5025 S Kenneth Ave
Chicago, IL 60632


St Richards Catholic Church
Andrew Jackson Council 303
1242 Lynwood Dr
Jackson, MS 39206


St Richards Catholic Church
Andrew Jackson Council 303
P.O. Box 16547
Jackson, MS 39236


St Richards Catholic Church
Hawk Mountain Council 528
799 Barnesville Dr
Barnesville, PA 18214


St Richards Episcopal Church
Capitol Area Council 564
1420 E Palm Valley Blvd
Round Rock, TX 78664


St Richards Parish
Erie Shores Council 460
333 Brookside Dr
Swanton, OH 43558


St Rita Catholic Church
Greater Los Angeles Area 033
322 N Baldwin Ave
Sierra Madre, CA 91024


St Rita Catholic Church
Gulf Coast Council 773
137 Moll Dr
Santa Rosa Beach, FL 32459


St Rita Catholic Church
Lincoln Heritage Council 205
8709 Preston Hwy
Louisville, KY 40219


St Rita Catholic Church
Southeast Louisiana Council 214
160 Imperial Woods Dr
Harahan, LA 70123


St Rita Of Cascia Church
Three Fires Council 127
750 Old Indian Trl
Aurora, IL 60506


St Rita Roman Catholic Church
Baltimore Area Council 220
2903 Dunleer Rd
Dundalk, MD 21222


St Rita S Catholic Church
Longhorn Council 662
5550 E Lancaster Ave
Fort Worth, TX 76112
St Rita S R C Church
Seneca Waterways 397
1008 Maple Dr
Webster, NY 14580


St Ritas Catholic Church
San Diego Imperial Council 049
5124 Churchward St
San Diego, CA 92114


St Ritas Catholic Church
Three Harbors Council 636
2318 S 61st St
Milwaukee, WI 53219


St Ritas Catholic Church
Three Harbors Council 636
4339 Douglas Ave
Racine, WI 53402


St Ritas Roman Catholic Church
Three Harbors Council 636
4433 Douglas Ave
Racine, WI 53402


St Robert Bellarmine Catholic Church
Narragansett 546
1804 Atwood Ave
Johnston, RI 02919


St Robert Bellarmine Catholic Church
Nevada Area Council 329
625 Desert Shadows Ln
Fernley, NV 89408


St Robert Bellarmine Catholic Church
Ozark Trails Council 306
367 Old Route 66
Saint Robert, MO 65584
St Robert Bellarmine Catholic Church
The Spirit of Adventure 227
198 Haggetts Pond Rd
Andover, MA 01810


St Robert Bellarmine Ch
Holy Name Society
Laurel Highlands Council 527
1313 5Th Ave
East Mc Keesport, Pa 15035


St Robert Bellarmine Church And School
Pathway To Adventure 456
4646 N Austin Ave
Chicago, IL 60630


St Robert Bellarmine Parish
Mid‐America Council 326
11802 Pacific St
Omaha, NE 68154


St Robert Bellarmine R C Church
Laurel Highlands Council 527
1313 5th Ave
East Mc Keesport, PA 15035


St Robert Bellarmine Roman Catholic
Greater New York Councils, Bsa 640
5615 213th St
Bayside Hills, NY 11364


St Robert Of Newminster Catholic Church
President Gerald R Ford 781
6477 Ada Dr Se
Ada, MI 49301


St Roberts Bellarmine Catholic Church
Greater New York Councils, Bsa 640
5615 213th St
Bayside Hills, NY 11364


St Roberts Catholic Church Mens Club
Water and Woods Council 782
310 N Cherry St
Flushing, MI 48433


St Roberts Catholic Mens Club
Water and Woods Council 782
301 N Cherry St
Flushing, MI 48433


St Roberts Church
Three Harbors Council 636
2200 E Capitol Dr
Milwaukee, WI 53211


St Rocco Parish
Chester County Council 539
9016 Gap Newport Pike
Avondale, PA 19311


St Rocco Roman Catholic Church
Northern New Jersey Council, Bsa 333
4206 Kennedy Blvd
Union City, NJ 07087


St Roch Parish
Greater St Louis Area Council 312
6052 Waterman Blvd
Saint Louis, MO 63112


St Rose Catholic Church
Black Swamp Area Council 449
479 N W St
Lima, OH 45801


St Rose Catholic Church
Erie Shores Council 460
215 E Front St
Perrysburg, OH 43551


St Rose Delima Church
Western Massachusetts Council 234
600 Grattan St
Chicopee, MA 01020


St Rose Lima Catholic Church
Ventura County Council 057
1305 Royal Ave
Simi Valley, CA 93065


St Rose Lima RC Ch Short Hills
Northern New Jersey Council, Bsa 333
50 Short Hills Ave
Short Hills, Nj 07078


St Rose Of Lima ‐ Catholic Church
Trapper Trails 589
210 Chapel St
Layton, UT 84041


St Rose Of Lima Catholic Church
Crossroads of America 160
114 Lancelot Dr
Franklin, IN 46131


St Rose Of Lima Catholic Church
Gulf Coast Council 773
6451 Park Ave
Milton, FL 32570


St Rose Of Lima Catholic Church
Middle Tennessee Council 560
1601 N Tennessee Blvd
Murfreesboro, TN 37130


St Rose Of Lima Catholic Church
Sam Houston Area Council 576
3600 Brinkman St
Houston, TX 77018


St Rose Of Lima Catholic Church
San Diego Imperial Council 049
293 H St
Chula Vista, CA 91910
St Rose Of Lima Catholic Church
South Florida Council 084
415 NE 105th St
Miami Shores, FL 33138


St Rose Of Lima Church
Longhouse Council 373
407 S Main St
Syracuse, NY 13212


St Rose Of Lima Church
Pine Tree Council 218
1 Church St
Jay, ME 04239


St Rose Of Lima Parish
Northern Star Council 250
2048 Hamline Ave N
Roseville, MN 55113


St Rose Of Lima RC Church
Connecticut Yankee Council Bsa 072
46 Church Hill Rd
Newtown, CT 06470


St Rose Of Lima Rc Church
Theodore Roosevelt Council 386
2 Bayview Ave
Massapequa, NY 11758


St Rose Of Lima Roman Catholic Church
Monmouth Council, Bsa 347
16 Mclean St
Freehold, NJ 07728


St Rose Of Lima Roman Catholic Church
Northeastern Pennsylvania Council 501
Church St
Carbondale, PA 18407


St Rose Of Lima Roman Catholic Church
Northeastern Pennsylvania Council 501
6 N Church St
Carbondale, PA 18407


St Rose Of Lima School
Cradle of Liberty Council 525
1522 N Wanamaker St
Philadelphia, PA 19131


St Rose Philippine Duchesne
Greater St Louis Area Council 312
1210 Paddock Dr
Florissant, MO 63033


St Rose Phillippine Duchesne
Grand Canyon Council 010
2825 W Rose Canyon Cir
Anthem, AZ 85086


St Rose Roman Catholic Church
Great Trail 433
48 E Main St
Girard, OH 44420


St Sabina Academy
Pathway To Adventure 456
7801 S Throop St
Chicago, IL 60620


St Sabina Catholic Church
Greater St Louis Area Council 312
1365 Harkee Dr
Florissant, MO 63031


St Sabina Catholic Church
Greater St Louis Area Council 312
1625 Swallow Ln
Florissant, MO 63031


St Sabina Catholic Church Belton
Heart of America Council 307
700 Trevis Ave
Belton, MO 64012


St Sabina Mens Activities Club
Great Lakes Fsc 272
25555 Ann Arbor Trail
Dearborn Heights, MI 48127


St Sabina Mens Club
Great Lakes Fsc 272
25555 Ann Arbor Trail
Dearborn Heights, MI 48127


St Scholastica Catholic Church
Longs Peak Council 062
615 Main St
Erie, CO 80516


St Scholastica Catholic Church
Three Fires Council 127
7800 Janes Ave
Woodridge, IL 60517


St Sebastian Booster Club
Great Lakes Fsc 272
3965 Merrick St
Dearborn Heights, MI 48125


St Sebastian Boosters Club
Great Lakes Fsc 272
3965 Merrick St
Dearborn Heights, MI 48125


St Sebastian By‐The Sea‐ Episc Ch
Central Florida Council 083
2010 Oak St
Melbourne Beach, Fl 32951


St Sebastian Catholic Church
Gulf Stream Council 085
13075 US Hwy 1
Sebastian, FL 32958
St Sebastian Church
Ventura County Council 057
235 N 9th St
Santa Paula, CA 93060


St Sebastian Roman Catholic Church
Great Trail 433
476 Mull Ave
Akron, OH 44320


St Sebastian Roman Catholic Church
Laurel Highlands Council 527
311 Siebert Rd
Pittsburgh, PA 15237


St Sebastian Roman Catholic Church
Laurel Highlands Council 527
801 Broad Ave
Belle Vernon, PA 15012


St Sebastians Home   School Assoc
Three Harbors Council 636
5400 W Washington Blvd
Milwaukee, WI 53208


St Simon   Jude
Orange County Council 039
20444 Magnolia St
Huntington Beach, CA 92646


St Simon   Jude Catholic Church
Sam Houston Area Council 576
26777 Glen Loch Dr
The Woodlands, TX 77381


St Simon Episcopal Church
Pathway To Adventure 456
717 W Kirchhoff Rd
Arlington Heights, IL 60005


St Simon Holy Name Society
Greater St Louis Area Council 312
11011 Mueller Rd
Saint Louis, MO 63123


St Simon S Catholic Church
President Gerald R Ford 781
702 E Bryant Rd
Ludington, MI 49431


St Simon The Apostle Catholic Church
Crossroads of America 160
8155 Oaklandon Rd
Indianapolis, IN 46236


St Stanislaus   Nativity Bvm
Greater New York Councils, Bsa 640
10141 91st St
Ozone Park, NY 11416


St Stanislaus Holy Name Society
Pathway To Adventure 456
808 W 150th St
East Chicago, IN 46312


St Stanislaus Holy Name Society
Samoset Council, Bsa 627
838 Fremont St
Stevens Point, WI 54481


St Stanislaus Kostka School
Pathway To Adventure 456
1255 N Noble St
Chicago, IL 60642


St Stanislaus Of Kostka Holy Name Rcc
Greater New York Councils, Bsa 640
5715 61st St
St Stanislaus Kostka Rc Church
Maspeth, NY 11378


St Stanislaus Polish Natl Catholic Ch
Northeastern Pennsylvania Council 501
529 E Locust St
Scranton, Pa 18505


St Stanislaus Roman Catholic Church
Cradle of Liberty Council 525
51 Lansdale Ave
Lansdale, PA 19446


St Stephan The Martyr Catholic Church
Mid‐America Council 326
16701 S St
Omaha, NE 68135


St Stephen A M E Church
Mobile Area Council‐Bsa 004
2707 Josephine St
Mobile, AL 36607


St Stephen Ame Church
Mobile Area Council‐Bsa 004
2707 Josephine St
Mobile, AL 36607


St Stephen Catholic Church
Greater Tampa Bay Area 089
101138 St Stephens Cir
Riverview, FL 33569


St Stephen Catholic Community
Middle Tennessee Council 560
14544 Lebanon Rd
Old Hickory, TN 37138


St Stephen Church
Connecticut Yankee Council Bsa 072
6948 Main St
Trumbull, CT 06611


St Stephen Church
Great Trail 433
44 Britton St
West Salem, OH 44287
St Stephen Church
Muskingum Valley Council, Bsa 467
1036 Belford St
P.O. Box 286
Caldwell, OH 43724


St Stephen Episcopal Church
Great Lakes Fsc 272
2803 1st St
Wyandotte, MI 48192


St Stephen Holy Name Society
Greater St Louis Area Council 312
3949 Wilmington Ave
Saint Louis, MO 63116


St Stephen Lutheran Church
Cascade Pacific Council 492
290 W Gloucester St
Gladstone, OR 97027


St Stephen Lutheran Church
Central Florida Council 083
2140 W State Rd 434
Longwood, FL 32779


St Stephen Lutheran Church
Great Trail 433
3725 Kent Rd
Stow, OH 44224


St Stephen Lutheran Church
New Birth of Freedom 544
30 W Main St
New Kingstown, PA 17072


St Stephen Lutheran Church
Northern Star Council 250
8400 France Ave S
Bloomington, MN 55431
St Stephen Lutheran Church Men
Indian Waters Council 553
119 N Church St
Lexington, SC 29072


St Stephen Martyr Roman Catholic Church
Lincoln Heritage Council 205
2931 Pindell Ave
Louisville, KY 40217


St Stephen Missionary Baptist Church
Old Hickory Council 427
5000 Noble St
Winston Salem, NC 27105


St Stephen Presbyterian Church
Central Florida Council 083
8601 Lake Underhill Rd
Orlando, FL 32825


St Stephen Presbyterian Church
Longhorn Council 662
2700 Mcpherson Ave
Fort Worth, TX 76109


St Stephen Roman Catholic Church
French Creek Council 532
210 Reed St
Oil City, PA 16301


St Stephen S Catholic Church
Buffalo Trail Council 567
4601 Neely Ave
Midland, TX 79707


St Stephen S Catholic Church
President Gerald R Ford 781
750 Gladstone Dr Se
Grand Rapids, MI 49506


St Stephen S Episcopal Church
Greater St Louis Area Council 312
33 N Clay Ave
Ferguson, MO 63135


St Stephen S Episcopal Church
Longs Peak Council 062
1303 S Bross Ln
Longmont, CO 80501


St Stephen S Episcopal Church
Westchester Putnam 388
50 Bedford Rd
Armonk, NY 10504


St Stephen S Lutheran Church
Central N Carolina Council 416
4401 St Stephens Church Rd
Gold Hill, NC 28071


St Stephen S Lutheran Church
Hawkeye Area Council 172
610 31st St Se
Cedar Rapids, IA 52403


St Stephen Utd Church Of Christ
Lincoln Heritage Council 205
1875 Farnsley Rd
Louisville, KY 40216


St Stephen Utd Methodist Church
Chickasaw Council 558
3981 Macon Rd
Memphis, TN 38122


St Stephen Utd Methodist Church
Golden Spread Council 562
4600 S Wern St
Amarillo, TX 79109


St Stephen Utd Methodist Church
Mecklenburg County Council 415
6800 Sardis Rd
Charlotte, NC 28270


St Stephens   St Agnes School
National Capital Area Council 082
4401 W Braddock Rd
Middle School
Alexandria, VA 22304


St Stephens   St Agnes Schools
National Capital Area Council 082
400 Fontaine St
Alexandria, VA 22302


St Stephens Anglican Catholic Church
Northeast Georgia Council 101
800 Timothy Rd
Athens, GA 30606


St Stephens Anglican Church
Northeast Georgia Council 101
800 Timothy Rd
Athens, GA 30606


St Stephens Catholic Church
Northern Star Council 250
525 Jackson St
Anoka, MN 55303


St Stephens Church
Greater Tampa Bay Area 089
1820 E County Rd 540A
Lakeland, FL 33813


St Stephens Episcopal Church
Baltimore Area Council 220
1110 Saint Stephens Church Rd
Crownsville, MD 21032


St Stephens Episcopal Church
Connecticut Yankee Council Bsa 072
351 Main St
Ridgefield, CT 06877
St Stephens Episcopal Church
French Creek Council 532
1070 Dutch Rd
Fairview, PA 16415


St Stephens Episcopal Church
Garden State Council 690
324 Bridgeboro St
Riverside, NJ 08075


St Stephens Episcopal Church
Garden State Council 690
51 N Main St
Mullica Hill, NJ 08062


St Stephens Episcopal Church
Great Smoky Mountain Council 557
212 N Tulane Ave
Oak Ridge, TN 37830


St Stephens Episcopal Church
Heart of Virginia Council 602
6000 Grove Ave
Richmond, VA 23226


St Stephens Episcopal Church
Heart of Virginia Council 602
P.O. Box 40
Heathsville, VA 22473


St Stephens Episcopal Church
Jersey Shore Council 341
180 Route 539
Whiting, NJ 08759


St Stephens Episcopal Church
Jersey Shore Council 341
367 Rt 9
Waretown, NJ 08758
St Stephens Episcopal Church
Marin Council 035
3 Bayview Ave
Belvedere, CA 94920


St Stephens Episcopal Church
Sam Houston Area Council 576
1805 W Alabama St
Houston, TX 77098


St Stephens Episcopal Church
Silicon Valley Monterey Bay 055
651 Broadway
Gilroy, CA 95020


St Stephens Esp
Greater Tampa Bay Area 089
1820 E County Rd 540A
Lakeland, FL 33813


St Stephens Evangelical Lutheran Church
Twin Rivers Council 364
751 County Route 7
P.O. Box 213
East Schodack, NY 12063


St Stephens Fire Dept
Piedmont Council 420
4060 Springs Rd
Conover, NC 28613


St Stephens Lutheran Church
Garden State Council 690
230 N Evergreen Ave
Woodbury, NJ 08096


St Stephens Lutheran Church
Glaciers Edge Council 620
5700 Pheasant Hill Rd
Monona, WI 53716


St Stephens Lutheran Church
Golden Empire Council 047
1001 Olson Ln
El Dorado Hills, CA 95762


St Stephens Lutheran Church
Northern Star Council 250
1575 Charlton St
West St Paul, MN 55118


St Stephens Parish Council
Samoset Council, Bsa 627
1401 Clark St
Stevens Point, WI 54481


St Stephens Parish Life
Chief Seattle Council 609
13055 SE 192nd St
Renton, WA 98058


St Stephens Presbyterian Church
Last Frontier Council 480
2424 NW 50th St
Oklahoma City, OK 73112


St Stephens Roman Catholic Church
Baltimore Area Council 220
P.O. Box 62
8030 Bradshaw Rd
Bradshaw, MD 21087


St Stephens Roman Catholic Church
Greater Niagara Frontier Council 380
2100 Baseline Rd
Grand Island, NY 14072


St Stephens Utd Church Of Christ
Samoset Council, Bsa 627
903 E 2nd St
Merrill, WI 54452


St Stephens Utd Methodist
Great Swest Council 412
4601 Juan Tabo Blvd Ne
Albuquerque, NM 87111


St Stephens Utd Methodist Church
Great Swest Council 412
4601 Juan Tabo Blvd Ne
Albuquerque, NM 87111


St Stephens Utd Methodist Church
Indian Nations Council 488
400 W New Orleans St
Broken Arrow, OK 74011


St Stephens Utd Methodist Church
National Capital Area Council 082
9203 Braddock Rd
Burke, VA 22015


St Stephens Utd Methodist Church
Sam Houston Area Council 576
2003 W 43rd St
Houston, TX 77018


St Stephens Utd Methodist Church
The Spirit of Adventure 227
67 Cornell Rd
Marblehead, MA 01945


St Susanna Catholic Church
Crossroads of America 160
1210 E Main St
Plainfield, IN 46168


St Susanna Catholic Church
Dan Beard Council, Bsa 438
616 Reading Rd
Mason, OH 45040


St Sylvester Catholic Church
Gulf Coast Council 773
6464 Gulf Breeze Pkwy
Gulf Breeze, FL 32563
St Sylvester RC Church
Greater New York Councils, Bsa 640
854 Targee St
Staten Island, NY 10304


St Sylvester Roman Catholic Church
Laurel Highlands Council 527
3754 Brownsville Rd
Pittsburgh, PA 15227


St Sylvesters Roman Catholic Church
Greater New York Councils, Bsa 640
854 Targee St
Staten Island, NY 10304


St Symphorosa Roman Catholic Church
Pathway To Adventure 456
6135 S Austin Ave
Chicago, IL 60638


St Tammany Parish Sheriff Office
Southeast Louisiana Council 214
300 Brownswitch Rd
Slidell, LA 70458


St Tammany Parish Sheriff S Dpt
Attn Sales Tax Dept
P.O. Box 479
Covington, LA 70434‐0479


St Tarcissus Holy Name Society
Pathway To Adventure 456
6020 W Ardmore Ave
Mick Aleksic
Chicago, IL 60646


St Teresa Benedicta Of The Cross
Hoosier Trails Council 145 145
23455 Gavin Ln
Lawrenceburg, IN 47025
St Teresa Catholic Church St Clair
Greater St Louis Area Council 312
1201 Lebanon Ave
Belleville, IL 62221


St Teresa Home   School Assc
South Florida Council 084
2701 Indian Mound Trl
Coral Gables, FL 33134


St Teresa Of Avila Catholic Parish
Nevada Area Council 329
3000 N Lompa Ln
Carson City, NV 89706


St Teresa Of Avila Church
Laurel Highlands Council 527
1000 Avila Ct
Pittsburgh, PA 15237


St Teresa Of Avila Roman Catholic Church
Dan Beard Council, Bsa 438
1175 Overlook Ave
Cincinnati, OH 45238


St Teresa Of Avila Roman Catholic Church
Patriots Path Council 358
306 Morris Ave
Summit, NJ 07901


St Teresa Of The Child Jesus Church
Narragansett 546
Newport Ave
Rectory
Pawtucket, RI 02861


St Teresa Roman Catholic Church
Greater New York Councils, Bsa 640
5020 45th St
Woodside, NY 11377
St Teresas Catholic Church
Cornhusker Council 324
735 S 36th St
Lincoln, NE 68510


St Teresas Catholic Church
South Georgia Council 098
421 Edgewood Ln
Albany, GA 31707


St Teresas Church
Greater New York Councils, Bsa 640
1634 Victory Blvd
Staten Island, NY 10314


St Thecla Parish
Great Lakes Fsc 272
20740 S Nunneley Rd
Clinton Township, MI 48035


St Thecla Roman Catholic Church
Pathway To Adventure 456
6725 W Devon Ave
Chicago, IL 60631


St Theresa
Aloha Council, Bsa 104
712 N School St
Honolulu, HI 96817


St Theresa Catholic Church
Atlanta Area Council 092
4401 Prestley Mill Rd
Douglasville, GA 30135


St Theresa Catholic Church
Coastal Carolina Council 550
11001 Dorchester Rd
Summerville, SC 29485


St Theresa Catholic Church
Heart of Virginia Council 602
709 Buffalo St
St Theresa Catholic
Farmville, VA 23901


St Theresa Catholic Church
Pacific Harbors Council, Bsa 612
3939 SW 331st St
Federal Way, WA 98023


St Theresa Church
National Capital Area Council 082
21370 St Theresa Ln
Ashburn, VA 20147


St Theresa Of Avila Catholic Church
Istrouma Area Council 211
1022 N Burnside Ave
Gonzales, LA 70737


St Theresa Parent Teacher Club
Mid Iowa Council 177
5810 Carpenter Ave
Des Moines, IA 50311


St Theresa Parish
Daniel Webster Council, Bsa 330
158 Old W Hopkinton Rd
P.O. Box 729
Henniker, NH 03242


St Theresa Parish And School
Grand Canyon Council 010
5045 E Thomas Rd
Phoenix, AZ 85018


St Theresa RC Church
Connecticut Yankee Council Bsa 072
5301 Main St
Trumbull, CT 06611


St Theresa Roman Catholic Church
New Birth of Freedom 544
1300 Bridge St
New Cumberland, PA 17070


St Theresa S Catholic Church
Capitol Area Council 564
4311 Small Dr
Austin, TX 78731


St Theresa S Catholic Church
National Capital Area Council 082
21371 St Theresa Ln
Ashburn, VA 20147


St Theresa S Catholic Church
Quapaw Area Council 018
629 Baseline Rd
Little Rock, AR 72209


St Theresa S Catholic Church
Sam Houston Area Council 576
1200 7th St
Sugar Land, TX 77478


St Theresa S Roman Catholic Church
Patriots Path Council 358
541 Washington Ave
Kenilworth, NJ 07033


St Theresa School
Greater New York Councils, Bsa 640
2872 Saint Theresa Ave
Bronx, NY 10461


St Theresa School Board
Pathway To Adventure 456
445 N Benton St
Palatine, IL 60067


St Theresas Catholic Church
Mid Iowa Council 177
1230 Merle Hay Rd
Des Moines, IA 50311
St Theresas Parish
The Spirit of Adventure 227
63 Winter St
North Reading, MA 01864


St Theresas Roman Catholic Church
The Spirit of Adventure 227
470 Boston Rd
Billerica, MA 01821


St Therese Catholic Church
President Gerald R Ford 781
128 Cedar St
Wayland, MI 49348


St Therese Catholic Church
South Texas Council 577
315 Pugh St
P.O. Box 1076
Woodsboro, TX 78393


St Therese Catholic Church
South Texas Council 577
315 Pugh St
Woodsboro, TX 78393


St Therese Catholic School
Great Swest Council 412
311 Shropshire Ave Nw
Albuquerque, NM 87107


St Therese Church
Black Hills Area Council 695 695
532 Adams St
Rapid City, SD 57701


St Therese Church Holy Name Society
Dan Beard Council, Bsa 438
11 Temple Pl
Southgate, KY 41071
St Therese De Lisieux Catholic Church
Gulf Stream Council 085
11800 Lake Worth Rd
Wellington, FL 33449


St Therese L Isieux Parish
Pine Tree Council 218
10 St Ignatius St
Sanford, ME 04073


St Therese Of Carmel Catholic Church
San Diego Imperial Council 049
4355 Del Mar Trails Rd
San Diego, CA 92130


St Therese Of Lisieux Carmelite Parish
Northern New Jersey Council, Bsa 333
120 Monroe Ave
Cresskill, NJ 07626


St Therese Parish
San Diego Imperial Council 049
6016 Camino Rico
San Diego, CA 92120


St Therese R C Church
Laurel Highlands Council 527
1 Saint Therese Ct
Munhall, PA 15120


St Therese Roman Catholic Church
Lake Erie Council 440
5276 E 105th St
Garfield Heights, OH 44125


St Therese Scout Parents Inc
Heart of America Council 307
P.O. Box 14342
Parkville, MO 64152


St Thomas Aquinas
Greater New York Councils, Bsa 640
1550 Hendrickson St
Brooklyn, NY 11234


St Thomas Aquinas
Water and Woods Council 782
955 Alton Rd
East Lansing, MI 48823


St Thomas Aquinas Catholic Church
Atlanta Area Council 092
535 Rucker Rd
Alpharetta, GA 30004


St Thomas Aquinas Catholic Church
Cascade Pacific Council 492
324 NE Oak St
Camas, WA 98607


St Thomas Aquinas Catholic Church
Central Florida Council 083
700 Brown Chapel Rd
Saint Cloud, FL 34769


St Thomas Aquinas Catholic Church
Grand Canyon Council 010
13720 W Thomas Rd
Avondale, AZ 85392


St Thomas Aquinas Catholic Church
Greater Tampa Bay Area 089
8320 Old County Rd 54
New Port Richey, FL 34653


St Thomas Aquinas Catholic Church
Mid Iowa Council 177
210 Route 63 Hwy
Indianola, IA 50125


St Thomas Aquinas Catholic Church
Northern Star Council 250
920 Holley Ave
Saint Paul Park, MN 55071


St Thomas Aquinas Catholic Church
Quivira Council, Bsa 198
1321 N Stratford Ln
Wichita, KS 67206


St Thomas Aquinas Church
Baltimore Area Council 220
1008 W 37th St
Baltimore, MD 21211


St Thomas Aquinas Church
Muskingum Valley Council, Bsa 467
144 N 5th St
Zanesville, OH 43701


St Thomas Aquinas Church
Three Harbors Council 636
301 S 1st St
Waterford, WI 53185


St Thomas Aquinas Dar Catholic Church
Great Swest Council 412
1502 Sara Rd Se
Rio Rancho, NM 87124


St Thomas Aquinas Holy Name Society
Circle Ten Council 571
6306 Kenwood Ave
Dallas, TX 75214


St Thomas Aquinas Holy Name Society
Circle Ten Council 571
6347 Velasco Ave
Dallas, TX 75214


St Thomas Aquinas Roman Catholic Church
Mecklenburg County Council 415
1400 Suther Rd
Charlotte, NC 28213
St Thomas Church
Dan Beard Council, Bsa 438
26 E Villa Pl
Fort Thomas, KY 41075


St Thomas Church
Dan Beard Council, Bsa 438
500 S Fort Thomas Ave
Fort Thomas, KY 41075


St Thomas Church
Hawk Mountain Council 528
536 N Main St
Bernville, PA 19506


St Thomas Episc Ch Farmingdale
Theodore Roosevelt Council 386
298 Conklin St
Farmingdale, Ny 11735


St Thomas Episcopal Church
Alamo Area Council 583
1416 N 1604 E
San Antonio, TX 78232


St Thomas Episcopal Church
Baltimore Area Council 220
1108 Providence Rd
Towson, MD 21286


St Thomas Episcopal Church
Bay‐Lakes Council 635
226 Washington St
Menasha, WI 54952


St Thomas Episcopal Church
Chief Seattle Council 609
P.O. Box 124
Medina, WA 98039


St Thomas Episcopal Church
Connecticut Yankee Council Bsa 072
95 Greenwood Ave
Bethel, CT 06801


St Thomas Episcopal Church
Dan Beard Council, Bsa 438
100 Miami Ave
Terrace Park, OH 45174


St Thomas Episcopal Church
Greater Alabama Council 001
12200 Bailey Cove Rd Se
Huntsville, AL 35803


St Thomas Episcopal Church
Pennsylvania Dutch Council 524
301 Saint Thomas Rd
Lancaster, PA 17601


St Thomas Episcopal Church
Sam Houston Area Council 576
4900 Jackwood St
Houston, TX 77096


St Thomas Episcopal Church
Sam Houston Area Council 576
906 George Bush Dr
College Station, TX 77840


St Thomas Episcopal Church
Southern Shores Fsc 783
16 Van Buren St E
Battle Creek, MI 49017


St Thomas Episcopal Church
Twin Rivers Council 364
8 Brentwood Ave
Tupper Lake, NY 12986


St Thomas Episcopal Parish
South Florida Council 084
5690 N Kendall Dr
Coral Gables, FL 33156


St Thomas Lutheran Church
Jersey Shore Council 341
135 Salmon St
Brick, NJ 08723


St Thomas Men S Club
W D Boyce 138
4229 N Monroe Ave
Peoria Heights, IL 61616


St Thomas More Cathedral
National Capital Area Council 082
3901 Cathedral Ln
Arlington, VA 22203


St Thomas More Catholic Church
Bay‐Lakes Council 635
1810B N Mcdonald St
Appleton, WI 54911


St Thomas More Catholic Church
Capitol Area Council 564
10205 N Fm 620 Rd
Austin, TX 78726


St Thomas More Catholic Church
Denver Area Council 061
8035 S Quebec St
Englewood, CO 80112


St Thomas More Catholic Church
Great Salt Lake Council 590
3015 E Creek Rd
Sandy, UT 84093


St Thomas More Catholic Church
Istrouma Area Council 211
11441 Goodwood Blvd
Baton Rouge, LA 70815
St Thomas More Catholic Church
Occoneechee 421
940 Carmichael St
Chapel Hill, NC 27514


St Thomas More Catholic Church
Sam Houston Area Council 576
10330 Hillcroft St
Houston, TX 77096


St Thomas More Catholic Church
Sioux Council 733
1700 8th St S
Brookings, SD 57006


St Thomas More Catholic Church
Southwest Florida Council 088
2506 Gulf Gate Dr
Sarasota, FL 34231


St Thomas More Catholic Church
Three Fires Council 127
215 Thomas More Dr
Elgin, IL 60123


St Thomas More Catholic Community
Las Vegas Area Council 328
130 N Pecos Rd
Henderson, NV 89074


St Thomas More Center
Denver Area Council 061
8035 S Quebec St
Centennial, CO 80112


St Thomas More Church
Dan Beard Council, Bsa 438
800 Ohio Pike
Cincinnati, OH 45245


St Thomas More Church
Lake Erie Council 440
4170 N Amber Dr
Brooklyn, OH 44144


St Thomas More Church
Suffolk County Council Inc 404
115 Kings Hwy
Hauppauge, NY 11788


St Thomas More Holy Name Society
Pathway To Adventure 456
8501 Calumet Ave
Munster, IN 46321


St Thomas More Newman Center
Great Rivers Council 653
602 Turner Ave
Columbia, MO 65201


St Thomas More Parents For Scouting Inc
Heart of America Council 307
11822 Holmes Rd
Kansas City, MO 64131


St Thomas More Parish
Dan Beard Council, Bsa 438
800 Ohio Pike
Cincinnati, OH 45245


St Thomas More Parish
Minsi Trails Council 502
1040 Flexer Ave
Allentown, PA 18103


St Thomas More Parish Council
Northern Star Council 250
1079 Summit Ave
Saint Paul, MN 55105


St Thomas More Roman Catholic Church
Monmouth Council, Bsa 347
186 Gordons Corner Rd
Rev. Mark W Crane
Manalapan, NJ 07726


St Thomas More School
Greater Los Angeles Area 033
2510 S Fremont Ave
Alhambra, CA 91803


St Thomas More School
Three Fires Council 127
1625 W Highland Ave
Elgin, IL 60123


St Thomas Of Canterbury
Suffolk County Council Inc 404
90 Edgewater Ave
Smithtown, NY 11787


St Thomas Of Villanova
The Spirit of Adventure 227
11 Harden St
Wilmington, MA 01887


St Thomas Parish Men S Club
W D Boyce 138
904 E Lake Ave
Peoria Heights, IL 61616


St Thomas Presbyterian Church
Sam Houston Area Council 576
14100 Memorial Dr
Houston, TX 77079


St Thomas School
Prairielands 117
311 E Madison St
Philo, IL 61864


St Thomas Smc Church
Cradle of Liberty Council 525
608 Welsh Rd
Philadelphia, PA 19115
St Thomas Swimming Assoc
6501 Red Hook Plz, Ste 201
St Thomas, VI 00802


St Thomas The Apostle
Twin Rivers Council 364
35 Adams Pl
Delmar, NY 12054


St Thomas The Apostle Catholic Church
California Inland Empire Council 045
3774 Jackson St
Riverside, CA 92503


St Thomas The Apostle Catholic Church
Golden Spread Council 562
4100 S Coulter St
Amarillo, TX 79109


St Thomas The Apostle Catholic Church
Grand Canyon Council 010
2312 E Campbell Ave
Phoenix, AZ 85016


St Thomas The Apostle Catholic Church
Grand Canyon Council 010
4510 N 24th St
Phoenix, AZ 85016


St Thomas The Apostle Catholic Church
Great Smoky Mountain Council 557
1580 Saint Thomas Way
Lenoir City, TN 37772


St Thomas The Apostle Catholic Church
Lasalle Council 165
1405 N Main St
Elkhart, IN 46514


St Thomas The Apostle Catholic Church
Sam Houston Area Council 576
1603 Ave N
Huntsville, TX 77340


St Thomas The Apostle Catholic Church
Three Fires Council 127
1500 Brookdale Rd
Naperville, IL 60563


St Thomas The Apostle Church
Cradle of Liberty Council 525
430 Valleybrook Rd
Glen Mills, PA 19342


St Thomas The Apostle Church
Lasalle Council 165
1405 N Main St
Elkhart, IN 46514


St Thomas The Apostle Church
Northern Star Council 250
2914 W 44th St
Minneapolis, MN 55410


St Thomas The Apostle Church
Southern Shores Fsc 783
530 Elizabeth St
Ann Arbor, MI 48104


St Thomas The Apostle Episcopal Church
Heart of America Council 307
12251 Antioch Rd
Overland Park, KS 66213


St Thomas The Apostle Episcopal Church
Sam Houston Area Council 576
18300 Upper Bay Rd
Houston, TX 77058


St Thomas The Apostle Parish
Great Lakes Fsc 272
31530 Beechwood St
Garden City, MI 48135


St Thomas The Apostle R C Church
Northern New Jersey Council, Bsa 333
60 Byrd Ave
Bloomfield, NJ 07003


St Thomas The Apostle Rc Church
Connecticut Yankee Council Bsa 072
203 E Ave
Norwalk, CT 06855


St Thomas The Apostle Rc Church
Theodore Roosevelt Council 386
24 Wminster Rd
West Hempstead, NY 11552


St Thomas Utd Church Of Christ
New Birth of Freedom 544
6490 Linglestown Rd
Harrisburg, PA 17112


St Timothy Catholic Church
Grand Canyon Council 010
1730 W Guadalupe Rd
Mesa, AZ 85202


St Timothy Catholic Church
South Florida Council 084
5400 SW 102nd Ave
Miami, FL 33165


St Timothy Chuch
Simon Kenton Council 441
1088 Thomas Ln
Columbus, OH 43220


St Timothy Community Church
Pathway To Adventure 456
1600 W 25th Ave
Gary, IN 46404
St Timothy Cumberland Presbyterian Ch
Longhorn Council 662
3001 Forest Ridge Dr
Bedford, Tx 76021


St Timothy Episcopal Church
Mt Diablo‐Silverado Council 023
1550 Diablo Rd
Danville, CA 94526


St Timothy Episcopal Church
National Capital Area Council 082
3601 Alabama Ave Se
Washington, DC 20020


St Timothy Lutheran Church
Cradle of Liberty Council 525
7965 Fillmore St
Philadelphia, PA 19111


St Timothy Lutheran Church
Long Beach Area Council 032
4645 Woodruff Ave
Lakewood, CA 90713


St Timothy Lutheran Church
New Birth of Freedom 544
4200 Carlisle Pike
Camp Hill, PA 17011


St Timothy Lutheran Church
Sam Houston Area Council 576
14225 Hargrave Rd
Houston, TX 77070


St Timothy Lutheran Church
Three Fires Council 127
1313 N Mill St
Naperville, IL 60563


St Timothy Parish
Dan Beard Council, Bsa 438
10272 US Hwy 42
Union, KY 41091


St Timothy Parish
Simon Kenton Council 441
1088 Thomas Ln
Columbus, OH 43220


St Timothy S Anglican Church
Sam Houston Area Council 576
6819 Louetta Rd
Spring, TX 77379


St Timothy S Catholic Church
Orange County Council 039
29102 Crown Valley Pkwy
Pkwy
Laguna Niguel, CA 92677


St Timothy S Episcopal
Cherokee Area Council 556
630 Mississippi Ave
Signal Mountain, TN 37377


St Timothy S Episcopal Church
Denver Area Council 061
1401 E Dry Creek Rd
Centennial, CO 80122


St Timothy S Episcopal Church
San Diego Imperial Council 049
10125 Azuaga St
San Diego, CA 92129


St Timothy S Evangelical Lutheran Church
Indian Waters Council 553
1301 Mill St
Camden, SC 29020


St Timothy S Lutheran Church
Minsi Trails Council 502
140 S Ott St
Allentown, PA 18104


St Timothy S Roman Catholic Church
Cradle of Liberty Council 525
3001 Levick St
Philadelphia, PA 19149


St Timothy S School
Occoneechee 421
4523 Six Forks Rd
Raleigh, NC 27609


St Timothy School
National Capital Area Council 082
13809 Poplar Tree Rd
Chantilly, VA 20151


St Timothy Utd Methodist Ch‐E Campus
Istrouma Area Council 211
335 Asbury Dr
Mandeville, La 70471


St Timothy Utd Methodist Church
Atlanta Area Council 092
5365 Memorial Dr
Stone Mountain, GA 30083


St Timothy Utd Methodist Church
Istrouma Area Council 211
335 Asbury Dr
Mandeville, LA 70471


St Timothy Utd Methodist Church
Sam Houston Area Council 576
8787 N Houston Rosslyn Rd
Houston, TX 77088


St Timothy Youth Ministries
National Capital Area Council 082
13807 Poplar Tree Rd
Chantilly, VA 20151
St Timothys Catholic Church
Heart of Virginia Council 602
413 Saint Timothy Ln
Tappahannock, VA 22560


St Timothys Episcopal Church
Chickasaw Council 558
8245 Getwell Rd
Southaven, MS 38672


St Timothys Episcopal Church
Dan Beard Council, Bsa 438
8101 Beechmont Ave
Cincinnati, OH 45255


St Timothys Episcopal Church
East Carolina Council 426
107 Louis St
Greenville, NC 27858


St Timothys Episcopal Church
Mid Iowa Council 177
1020 24th St
West Des Moines, IA 50266


St Timothys Episcopal Church
National Capital Area Council 082
432 Van Buren St
Herndon, VA 20170


St Timothys Lutheran Church
Silicon Valley Monterey Bay 055
5100 Camden Ave
San Jose, CA 95124


St Timothys Saint Lutheran
Sam Houston Area Council 576
14225 Hargrave Rd
Houston, TX 77070
St Tobias Catholic Church
Bucktail Council 509
1121 Hewitt St
Brockway, PA 15824


St Ursula Villa
Dan Beard Council, Bsa 438
3660 Vineyard Pl
Cincinnati, OH 45226


St Ursulas Roman Catholic Church
Baltimore Area Council 220
8801 Harford Rd
Baltimore, MD 21234


St Veronica Church
Dan Beard Council, Bsa 438
4473 Mount Carmel Tobasco Rd
Cincinnati, OH 45244


St Veronicas Parish ‐ Usher Society
Three Harbors Council 636
353 E Norwich St
Milwaukee, WI 53207


St Veronicas Roman Catholic Church
Monmouth Council, Bsa 347
4215 US Hwy 9
Howell, NJ 07731


St Viator Roman Catholic Church
Pathway To Adventure 456
4170 W Addison St
Chicago, IL 60641


St Viators Catholic Church
Las Vegas Area Council 328
2461 E Flamingo Rd
Las Vegas, NV 89121


St Victors Catholic Church
Silicon Valley Monterey Bay 055
3108 Sierra Rd
San Jose, CA 95132


St Vincent Catholic Church
Anthony Wayne Area 157
1502 E Wallen Rd
Fort Wayne, IN 46825


St Vincent Catholic Mens Assoc
Greater St Louis Area Council 312
1919 Ritter Dr
Cape Girardeau, MO 63701


St Vincent De Paul Catholic Church
Alamo Area Council 583
4222 SW Loop 410
San Antonio, TX 78227


St Vincent De Paul Catholic Church
Capitol Area Council 564
9500 Neenah Ave
Austin, TX 78717


St Vincent De Paul Catholic Church
Mecklenburg County Council 415
6828 Old Reid Rd
Charlotte, NC 28210


St Vincent De Paul Catholic Church
Ohio River Valley Council 619
21 Rosary Rd
New Martinsville, WV 26155


St Vincent De Paul Catholic Church
Quivira Council, Bsa 198
123 N Andover Rd
Andover, KS 67002


St Vincent De Paul Catholic Church
Sam Houston Area Council 576
6800 Buffalo Speedway
Houston, TX 77025
St Vincent De Paul Catholic Church
Westark Area Council 016
1416 W Poplar St
Rogers, AR 72758


St Vincent De Paul Church
Ohio River Valley Council 619
21 Rosary Rd
New Martinsville, WV 26155


St Vincent De Paul Elementary School
Samoset Council, Bsa 627
831 12th St S
Wisconsin Rapids, WI 54494


St Vincent De Paul Men S Club
W D Boyce 138
7535 N Knoxville Ave
Peoria, IL 61614


St Vincent De Paul Parish
Narragansett 546
1 Saint Johns Pl
Attleboro, MA 02703


St Vincent De Paul Parish Council
Denver Area Council 061
2375 E Arizona Ave
Denver, CO 80210


St Vincent De Paul R C Church
Narragansett 546
6 Saint Vincent De Paul St
Coventry, RI 02816


St Vincent De Paul Rc Parish
Theodore Roosevelt Council 386
1510 Depaul St
Elmont, NY 11003
St Vincent De Paul Roman Catholic Church
Northern New Jersey Council, Bsa 333
979 Ave C
93 W 39th St
Bayonne, NJ 07002


St Vincent Depaul
Samoset Council, Bsa 627
820 13th St S
Wisconsin Rapids, WI 54494


St Vincent Depaul Catholic Church
Lake Erie Council 440
13400 Lorain Ave
Cleveland, OH 44111


St Vincent Depaul Catholic Church
Mid‐America Council 326
14330 Eagle Run Dr
Omaha, NE 68164


St Vincent Depaul Church
Westark Area Council 016
1416 W Poplar St
Rogers, AR 72758


St Vincent Depaul Men S Club
W D Boyce 138
6001 N University St
Svdp School c/o Rick Russo
Peoria, IL 61614


St Vincent Depaul Parish
Pacific Harbors Council, Bsa 612
30525 8th Ave S
Federal Way, WA 98003


St Vincent Depaul Roman Catholic Church
Baden‐Powell Council 368
465 Clubhouse Rd
Vestal, NY 13850
St Vincent Depaul Roman Catholic Church
New Birth of Freedom 544
220 3rd St
Hanover, PA 17331


St Vincent Elementary School
Great Trail 433
17 S Maple St
Akron, OH 44303


St Vincent Ferrer Catholic Church
Dan Beard Council, Bsa 438
7754 Montgomery Rd
Cincinnati, OH 45236


St Vincent Ferrer Roman Catholic Church
Connecticut Rivers Council, Bsa 066
1006 New Haven Rd
Naugatuck, CT 06770


St Vincent Ferrer School
Pathway To Adventure 456
1515 Lathrop Ave
River Forest, IL 60305


St Vincent Hospital
P.O. Box 842201
Dallas, TX 75284‐2201


St Vincent Indianapolis Hospital
Crossroads of America 160
2001 W 86th St
Indianapolis, IN 46260


St Vincent Medical Center
Greater Los Angeles Area 033
12408 Deerbrook Ln
Los Angeles, CA 90049


St Vincent Pallotti
Three Harbors Council 636
201 N 76th St
Milwaukee, WI 53213


St Vincents Cathedral And School
Longhorn Council 662
1300 Forest Ridge Dr
Bedford, TX 76022


St Vincents PTO
Mississippi Valley Council 141 141
2981 Plank Rd
Keokuk, IA 52632


St Vivian Church
Dan Beard Council, Bsa 438
7600 Winton Rd
Cincinnati, OH 45224


St Walters Catholic Church
Three Fires Council 127
130 W Pine Ave
Roselle, IL 60172


St Wenceslaus Catholic Church
Greater St Louis Area Council 312
3014 Oregon Ave
Saint Louis, MO 63118


St Wendel Catholic Church
Knights Of St John
Buffalo Trace 156
4725 Saint Wendel Cynthiana Rd
Wadesville, In 47638


St Wendelin Roman Catholic Church
Black Swamp Area Council 449
222 N Wood St
Fostoria, OH 44830


St William Catholic Church
Montana Council 315
705 Scott St W
Livingston, MT 59030
St William Roman Catholic Church
Cradle of Liberty Council 525
6200 Rising Sun Ave
Philadelphia, PA 19111


St William The Abbot Rc Church
Theodore Roosevelt Council 386
2000 Jackson Ave
Seaford, NY 11783


St Williams
Pathway To Adventure 456
2600 N Sayre Ave
Chicago, IL 60707


St Williams Parish
Glaciers Edge Council 620
1815 Ravine St
Janesville, WI 53548


St Williams Parish
Great Lakes Fsc 272
531 Common St
Walled Lake, MI 48390


St Williams Roman Catholic Church
The Spirit of Adventure 227
1351 Main St
Tewksbury, MA 01876


St Xavier Catholic Youth Org
Coronado Area Council 192
218 N Washington St
Junction City, KS 66441


St Xavier High School
Lincoln Heritage Council 205
1609 Poplar Level Rd
Louisville, KY 40217
St Zachary Parish
Pathway To Adventure 456
567 W Algonquin Rd
Des Plaines, IL 60016


St. Louis County Schools
Isd 2142 1701 N 9th St
Virginia, MN 55792‐2172


Sta‐Brite Electronics
560 N Bullard Ave, Ste E50
Goodyear, AZ 85338


Stacey Buller
Address Redacted


Stacey Davis
Address Redacted


Stacey Denice Davis
Address Redacted


Stacey Franken
Address Redacted


Stacey Hersh‐Ehling
Address Redacted


Stacey Hodges
Address Redacted


Stacey Lupo
Address Redacted


Stacey Mcgill
Address Redacted


Stacey Ruppert
Address Redacted
Stacey Schroeberl
Address Redacted


Stacey Smith
Address Redacted


Stacie Collins
Address Redacted


Stackpole Books
5067 Rutter Rd
Mechanicsburg, PA 17055


Stacy Benezra
Address Redacted


Stacy Brandon
Address Redacted


Stacy Cole Law PC
7929 Brookriver Dr, Ste 605
Dallas, TX 75247


Stacy Concerned Citizens Group
Northern Star Council 250
P.O. Box 244
Stacy, MN 55079


Stacy Hall
Address Redacted


Stacy Huff
Address Redacted


Stacy L Lee
Address Redacted
Stacy La Joie
Address Redacted


Stacy Lions Club
Northern Star Council 250
30385 Forest Blvd
Stacy, MN 55079


Stacy Moore
Address Redacted


Stacy Rosson
Address Redacted


Stacy Smith
Address Redacted


Stacy Suiter
Address Redacted


Stacy Summerton
Address Redacted


Stadium Sports
933 E 3rd Ave
Spokane, WA 99202


Stadri Emblems Inc
1760 Glasco Turnpike
Woodstock, NY 12498


Stadtjugendring Heidelberg
Transatlantic Council, Bsa 802
Harbigweg 5
Heidelberg,
Germany


Staff Design
P.O. Box 912388
Denver, CO 80291‐2388
Staffmark
Attn US Bank
P.O. Box 952386
St Louis, MO 63195


Staffmasters Inc
P.O. Box 19306
Charlotte, NC 28219


Stafford County Christian Church
National Capital Area Council 082
1813 Mountain View Rd
Stafford, VA 22554


Stafford Crossing Community Church
National Capital Area Council 082
1420 Forbes St
Fredericksburg, VA 22405


Stafford Fire Dept 1
Connecticut Rivers Council, Bsa 066
P.O. Box 147A
Staffordville, CT 06077


Stafford Police
Sam Houston Area Council 576
2702 S Main St
Stafford, TX 77477


Stage‐Gate Innovation Summit
1425 Osprey Dr, Ste 201
Ancaster, On L9G 4V5
Canada


Stahl S Dfc
6353 W 14 Rd
Sterling Heights, MI 48312


Stahlis, Inc
dba Virginia Surplus
105 N 3rd Ave
Virginia, MN 55792


Stahls Dfc
6353 E 14 Mile Rd
Sterling Heights, MI 48312


Staley Electric
P.O. Box 117
Lowell, AR 72745‐0117


Stallbrook PTO
Mayflower Council 251
342 Hartford Ave
Bellingham, MA 02019


Stallings Refrigeration Inc
P.O. Box 26428
6109 Hunter Ave
Charlotte, NC 28221


Stallsville Utd Methodist Mens Club
Coastal Carolina Council 550
255 Stallsville Rd
Summerville, SC 29485


Stamats Buildings Media Inc
615 Fifthe St SE P.O. Box 1888
Cedar Rapids, IA 52406‐1888


Stamford American International School
Far E Council 803
1 Woodleigh Lane
Singapore, 347691
Singapore


Stamford Volunteer Fire Dept
Leatherstocking 400
111 Main St
Stamford, NY 12167
Stamping Ground Elem/Pta
Blue Grass Council 204
3233 Main St
Stamping Ground, KY 40379


Stamps.Com
P.O. Box 202921
Dallas, TX 75320‐2921


Stamps.Com, Inc
1990 E Grand Ave
El Segundo, CA 90245


Stan K Doty DDS
Black Swamp Area Council 449
811 S Main St
Findlay, OH 45840


Stancil Painting    Services Inc
4012 Dearborn Pl Nw
Concord, NC 28027


Standard Coffee Service Co
P.O. Box 10696
Tempe, AZ 85281‐0012


Standard Lighting Dist
P.O. Box 30726
Charlotte, NC 28230‐0726


Standard Register Co
P.O. Box 71302
Chicago, IL 60694‐1302


Standard Register Co
P.O. Box 840655
Dallas, TX 75284‐0655


Standard Waste Systems, Ltd
P.O. Box 560927
Dallas, TX 75356‐0927
Standing Chapter 13 Trustee
Tom Powers Chapter 13 Trustee
P.O. Box 1958
Memphis, TN 38101‐1958


Standing Stone Chapter 201
Juniata Valley Council 497
6392 Leister Ln
Huntingdon, PA 16652


Standish Commty
United Methodist Church
Water And Woods Council 782
201 S Forest St
Standish, Mi 48658


Standish Congregational Church
Pine Tree Council 218
P.O. Box 68
Standish, ME 04084


Standish Lions Club
Pine Tree Council 218
P.O. Box 286
Standish, ME 04084


Standley Quartet    Stefan
5262 Middleton Rd
San Diego, CA 92109


StAndre Bessette Parish
Daniel Webster Council, Bsa 330
291 Union Ave
Laconia, NH 03246


Standrew S Episcopal Church
Daniel Webster Council, Bsa 330
P.O. Box 436
Tamworth, NH 03886
Stanfield, Patrick   Janice
5055 Akins Rd
North Royalton, OH 44133


Stanford Heights Fire Dept
Twin Rivers Council 364
2240 Central Ave
Schenectady, NY 12304


Stanford Rotary Club
Blue Grass Council 204
326 Choctaw Trl
Stanford, KY 40484


Stanford Uni Dept Public Safety
Pacific Skyline Council 031
711 Serra St
Stanford, Ca 94305


Stanford University
Attn Financial Aid Office/Scholarship
Montag Hall 355 Galvez
Stanford, CA 94305‐6106


Stanford University
c/o Stanford Social Innovation Review
P.O. Box 3099
Langhorne, PA 19047‐9199


Stange Co Inc
2324 Weldon Pkwy
St Louis, MO 63146


Stanislaus Consolidated Fire P D
Greater Yosemite Council 059
3324 Topeka St
Riverbank, CA 95367


Stanislaus County Treasurer   Tax Coll
1100 H St
P.O. Box 859
Modesto, CA 95353‐0859
Stanley Access Tech LLC
P.O. Box 0371595
Pittsburgh, PA 15251‐7595


Stanley Congregational Church, Ucc
Patriots Path Council 358
94 Fairmount Ave
Chatham, NJ 07928


Stanley Convergent Security Solution Inc
Dept Ch 10651
Palatine, IL 60055


Stanley Elementary PTO
The Spirit of Adventure 227
250 S St
Waltham, MA 02453


Stanley Environmental Solutions, Inc
P.O. Box 184
Stanley, NC 28164


Stanley Feldman
Address Redacted


Stanley Gellineau
Address Redacted


Stanley Haynes
Address Redacted


Stanley K Ndungu
Address Redacted


Stanley Lions Club
Chippewa Valley Council 637
518 W Maple St
Stanley, WI 54768
Stanley Methodist Church
Piedmont Council 420
217 N Main St
Stanley, NC 28164


Stanley Rathbun
Address Redacted


Stanley Robertson
Address Redacted


Stanley School PTO
Heart of America Council 307
6121 W 158th St
Stanley, KS 66223


Stanley Security Solutions Inc
Dept Ch 14210
Palatine, IL 60055‐4210


Stanley Steemer Inc
4040 SW Adams
Peoria, IL 61603


Stanley Steemer Inc Tulsa 8
2341 W Albany St, Ste D
Broken Arrow, OK 74012


Stanley Switlik Elementary
3400 Overseas Hwy
Marathon, FL 33050


Stanley Tadakuma
Address Redacted


Stanley Taylor Inc
P.O. Box 468
Wayne, NJ 07474‐0468
Stanley Todd Robertson
Address Redacted


Stanley Utd Methodist Church
Piedmont Council 420
217 N Main St
Stanley, NC 28164


Stanley Watanabe
Address Redacted


Stanley White Presbyterian Church
East Carolina Council 426
601 Ashton St
Roanoke Rapids, NC 27870


Stanley Willey
Address Redacted


Stanly County Family Ymca
Central N Carolina Council 416
412 N 1st St
Albemarle, NC 28001


Stansport
2801 E 12th St
Los Angeles, CA 90023‐3621


Stantec Consulting Services Inc
13980 Collections Ctr Dr
Chicago, IL 60693


Stanthony Roman Catholic Church
Daniel Webster Council, Bsa 330
172 Belmont St
Manchester, NH 03103


Stanton County Fair Board
Mid‐America Council 326
702 Locust St Us
Stanton, NE 68779
Stanton Galbraith
Address Redacted


Stanton Reformed Church
Washington Crossing Council 777
P.O. Box 114
Stanton, NJ 08885


Stanton William Galbraith
Address Redacted


Stanwood Free Methodist Church
President Gerald R Ford 781
7486 Stanwood Dr
Stanwood, MI 49346


Stanwood Lions Club
Mount Baker Council, Bsa 606
P.O. Box 1211
Stanwood, WA 98292


Stanwood‐Camano Kiwanis
Mount Baker Council, Bsa 606
P.O. Box 583
Stanwood, WA 98292


Stanwyn Carter
Address Redacted


Staples
Dept00‐02001220
P.O. Box 6721
The Lakes, NV 88901‐6721


Staples
Dept00‐02157568
P.O. Box 6721
The Lakes, NV 88901‐6721
Staples
P.O. Box 660406
Dallas, TX 75266


Staples
P.O. Box 95230
Chicago, IL 60694


Staples Advantage
Dept Dc
P.O. Box 415256
Boston, MA 02241‐5256


Staples Advantage Inc
P.O. Box 95708
Chicago, IL 60694‐5708


Staples Business Advantage Dept La1368
Dept La
Chicago, IL 60696‐3689


Staples Business Credit
P.O. Box 105638
Atlanta, GA 30348‐5638


Staples Inc
dba Staples Contract      Commerc
P.O. Box 660409
Dallas, TX 75266‐0409


Staples Inc
dba Staples Contract      Commercial
500 Staples Dr
Framingham, MA 01702


Staples Industrial Formerly Chiswick
P.O. Box 414524
Boston, MA 02241‐4524


Staples Rotary Club
Central Minnesota 296
P.O. Box 40
Staples, MN 56479


Staples, Inc
Dept 00‐04014775
P.O. Box 6721
The Lakes, NV 88901‐6721


Star 12
P.O. Box 419107
Kansas City, MO 64141‐6107


Star 2Nd Ward ‐ Burley West Stake
Snake River Council 111
100 S 200 W
Burley, ID 83318


Star City Communications Inc
21430 Timberlake Rd, Ste 329
Lynchburg, VA 24502‐3350


Star City Utd Methodist Church
Sagamore Council 162
2347 E Main St
Star City, IN 46985


Star Food Mart
2302 W Walnut Hill
Irving, TX 75038


Star Of America Charter Service
8111 N State Rd 37
Bloomington, IN 47404


Star Of Bethlehem Lutheran Church
Minsi Trails Council 502
514 3rd Ave
Bethlehem, PA 18018


Star Presbyterian Church
Central N Carolina Council 416
766 Tarry Church Rd
Star, NC 27356


Star Stationers
P.O. Box 690070
Charlotte, NC 28227


Star Thrower Distribution
26 E Exchange St ‐, Ste 600
St Paul, MN 55101


Star Tv   Appliance
Sam Houston Area Council 576
13955 Murphy Rd, Ste 125
Stafford, TX 77477


Star Ward‐ Burley West Stake
Snake River Council 111
100 S 200 W
Burley, ID 83318


Starbuck Middle Lighted Schoolhouse
Three Harbors Council 636
3109 Mount Pleasant St
Racine, WI 53404


Starbuzz, LLC
10960 Wilshire Blvd 5th Fl
Los Angeles, CA 90024


Star‐C Programs
Atlanta Area Council 092
1201 Peachtree St NE, Ste 1110
Atlanta, GA 30361


Starclaire House Of Flowers
1421 Emerywood Dr
Charlotte, NC 28210


Starcom
Attn Michelle Silva/Resources Usa
79 Madison Ave
New York, NY 10016‐7802


Starcom Worldwide
Attn Lisa Stearn
150 W Jefferson, Ste 400
Detroit, MI 48226


Stardust Drive In Theatre
Middle Tennessee Council 560
P.O. Box 968
Lebanon, TN 37088


Stare Treasurer/Notary Public Section
Department of Treasury
P.O. Box 452
Trenton, NJ 08646


Stark   Stark
Attn Michael G. Donahue
993 Lenox Dr, Bldg 2
Princeton, NJ 08648


Stark County Park District
Ranger Headquarters
Buckeye Council 436
5300 Tyner Ave Nw
Canton, Oh 44708


Stark County Sheriff Office
Buckeye Council 436
4500 Atlantic Blvd Ne
Canton, OH 44705


Starkdale Presbyterian Church
Ohio River Valley Council 619
4600 Sunset Blvd
Steubenville, OH 43953


Starke First Utd Methodist Church
North Florida Council 087
200 N Walnut St
Starke, FL 32091


Starke Rotary Club
North Florida Council 087
Call St
Starke, FL 32091


Starkville Rotary Club
Pushmataha Area Council 691
P.O. Box 80002
Starkville, MS 39760


Starlight Christian Youth Leadership Cor
Denver Area Council 061
6657 W Ottawa Ave, Ste B5
Littleton, Co 80128


Starline Printing
P.O. Box 1045
Albuquerque, NM 87103


Starlyn Frank
Address Redacted


Starms Discovery Learning Center
Three Harbors Council 636
2035 N 25th St
Milwaukee, WI 53205


Starnes Pallet Service, Inc
P.O. Box 5484
Charlotte, NC 28299


Starr Pass Golf Suites
Attn Accounting Dept
3645 W Starr Pass Blvd
Tucson, AZ 85745


Starr School
Erie Shores Council 460
3230 Starr Ave
Oregon, OH 43616


Starr Sign Design
1485 Pomona Rd A
Corona, CA 92882


Start   Stark
Attn Michael G Donahue, III
re Plaintiff
P.O. Box 5315
Princeton, NJ 08543


Start   Stark
Attn Michael G Donahue, III
re Plaintiff
993 Lenox Dr
Lawrenceville, NJ 08648


Star‐Telegram
P.O. Box 901030
Fort Worth, TX 76101‐2030


Stary‐Yerka Vfw Post 5727
Gamehaven 299
25 E 1st St
Zumbrota, MN 55992


Stasha B Beermann
Address Redacted


Stat Promo Solutions
8550 N W 47th Court
Lauderhill, FL 33351‐5437


Stat Promo Solutions
8550 NW 47th Court
Lauderhill, FL 33351


State Bank Of The Lakes
Blackhawk Area 660
1906 Holian Dr
Spring Grove, IL 60081


State Bar Of Georgia
P.O. Box 102054
Atlanta, GA 30368


State Bar Of Michigan
Drawer 1406
Grand Rapids, MI 49501‐1406


State Board Of Equalization
California Sales Tax
P.O. Box 863
Sacramento, CA 95804


State Center Fire    Ems
Mid Iowa Council 177
Jim Eckhardt
127 Main St W
State Center, IA 50247


State College Presbyterian Church
Juniata Valley Council 497
132 W Beaver Ave
State College, PA 16801


State Controller S Office
Division of Collections
P.O. Box 942850
Sacramento, CA 94250‐5873


State Court Of Cobb County
12 E Park Square
Marietta, GA 30090‐9630


State Electric Supply Co
P.O. Box 890889
Charlotte, NC 28289‐0889


State Fair Of Texas
Attn Advance Group Sales
P.O. Box 150009
Dallas, TX 75315


State Farm Insurance ‐ Dave Hatch
Sequoia Council 027
1437 W Shaw Ave
Fresno, CA 93711


State Insurance Fund Corp
Oficiana Regional De San Juan
P.O. Box 42006
San Juan, PR 00940‐2006


State Line Lighting Inc
P.O. Box 2077
Ft Mill, SC 29716


State Line Tack
1 Maplewood Dr
Hazle Township, PA 18202


State Of Alabama
P.O. Box 327750
Montgomery, AL 36132


State Of Alaska
1031 W 4th Ave, Suite 200
Anchorage, AK 99501‐1994


State Of Alaska
P.O. Box 11808
Juneau, AK 99811


State Of California
Attn Dept of Insurance
P.O. Box 1799
Sacramento, CA 95812‐1799


State Of California
Department of Insurance
P.O. Box 1799
Sacramento, CA 95812‐1799


State Of California
Employment Development Dept
P.O. Box 826276
Sacramento, CA 94230‐6276


State Of California
Franchise Tax Board
P.O. Box 942857
Sacramento, CA 94257‐0701


State Of California
Franchise Tax Board
P.O. Box 1328
Rancho Cordova, CA 95741‐1328


State Of California
Franchise Tax Board
P.O. Box 942840
Sacramento, CA 94240


State Of Colorado
Unclaimed Property Div
1560 Broadway, Ste 1225
Denver, CO 80202


State Of Connecticut
Attn Dept of Revenue Services
P.O. Box 5030
Hartford, CT 06102‐5030


State Of Connecticut
Department of Revenue Services
P.O. Box 5030
Hartford, CT 06102‐5030


State Of Connecticut
Public Charities
450 Columbus Blvd, Ste 801
Hartford, CT 06103
State Of Delaware
Attn Div of Corps
P.O. Box 5509
Binghamton, NY 13902‐5509


State Of Deleware
Bureau of Abandoned Property
P.O. Box 8931
Wilmington, DE 19899


State Of Fl Dept Of Transportation
1000 Nw 111th Ave
Miami, FL 33172


State Of Fl Dept Of Transportation
605 Suwannee St
Tallahassee, FL 32399


State Of Florida
Bureau of Unclaimed Property
P.O. Box 6350
Tallahassee, FL 32314‐6350


State Of Florida ‐ Dep
Storage Tank Registration
P.O. Box 3070
Tallahassee, FL 32315‐3070


State Of Georgia
Attn Dept of Revenue
P.O. Box 105296
Atlanta, GA 30348


State Of Georgia
Dept of Revenue
P.O. Box 105296
Atlanta, GA 30348


State Of Hawaii
P.O. Box 40
Honolulu, HI 96810
State Of Hawaii
Unclaimed Property Offices
P.O. Box 150
Honolulu, HI 96810‐0150


State Of Illinois Treasurer
Unclaimed Property Div
P.O. Box 19496
Springfield, IL 62794‐9496


State Of Indiana
100 N Senate
Igcn, Rm N105
Indianapolis, IN 46204


State Of Kansas
Unclaimed Property Div
900 Jackson, Ste 201
Topeka, KS 66612‐1235


State Of Louisiana
Dept of Labor P.O. Box 44127
Baton Rouge, LA 70804


State Of Maine
35 State House Station
Augusta, ME 04333‐0035


State Of Maryland
Dept of Assessments      Taxation
301 W Preston
Baltimore, MD 21201


State Of Maryland
P.O. Box 17405
Baltimore, MD 21297‐1405


State Of Maryland
Unclaimed Property Section
301 W Preston St
Baltimore, MD 21201‐2385


State Of Michigan
Bureau of Commercial Services
P.O. Box 30481
Lansing, MI 48909‐7981


State Of Michigan
P.O. Box 30767
Lansing, MI 48909


State Of Michigan Unemploy Ins Agency
Tax Office‐Reimbursing Unt, Ste 11‐500
3024 W Grand Blvd
Detroit, MI 48202


State Of Michigan‐Co
P.O. Box 30158
Lansing, MI 48909‐7658


State Of Minnesota
Attn Attorney General‐Charities Div
445 Minnesota St, Ste 1200
St Paul, MN 55101‐2130


State Of Mississippi
Unclaimed Property Div
P.O. Box 138
Jackson, MS 39205‐0138


State Of Montana Dept Of Reven
Unclaimed Property Div
P.O. Box 5805
Helena, MT 59604‐5805


State Of Nc/Haw River State Park
339 Conference Ctr Dr
Brown Summit, NC 27214


State Of Nevada
Unclaimed Property Div
555 E Washington Ave, Ste 4200
Las Vegas, NV 89101‐1070


State Of New Hampshire
Attn Attorney General
Charitable Trust Unit
33 Capitol St
Concord, NH 03301


State Of New Hampshire
Corporate Div
107 N Main St
Concord, NH 03301‐4989


State Of New Hampshire
Unclaimed Property Div
25 Capitol St, Rm 205
Concord, NH 03301‐6312


State Of New Jersey
Dept of Labor
P.O. Box 059
Trenton, NJ 08625‐0059


State Of New Jersey
Dept of Treasury‐Unclaimed Property
P.O. Box 214
Trenton, NJ 08695‐0214


State Of New Jesery
Attn Dept of Treasury ‐ Revenue Div
P.O. Box 302
Trenton, NJ 08646‐0302


State Of New Jesery
Dept of Treasury ‐ Revenue Div
P.O. Box 302
Trenton, NJ 08646‐0302


State Of New Mexico
P.O. Box 1928
Albuquereque, NM 87103
State Of New Mexico
Tax   Rev Dept ‐ Unclaimed Prop
P.O. Box 25123
Santa Fe, NM 87504‐5123


State Of New Mexico Dept Of Health
2040 S Pacheco St, 2nd Fl, Rm 4B
Santa Fe, NM 87505


State Of New Mexico Taxation      Revenue
Attn Call Center Bureau
P.O. Box 8485
Albuquerque, NM 87198


State Of New York
Office of Unclaimed Funds
Alfred E Smith Bldg, 9th Fl
Albany, NY 12236


State Of Nj‐Sales   Use Tax
P.O. Box 999
Trenton, NJ 08646‐0999


State Of North Dakota
600 E Blvd Ave, Dept 108
Bismarck, ND 58505


State Of Ohio
Charitable Law Section
30 E Broad St, 14th Fl
Columbus, OH 43215


State Of Ohio
Division of Unclaimed Funds
77 S High St
Columbus, OH 43266‐0545


State Of Ohio Dept Of Commerce
Division of Unclaimed Funds
77 S High St, 20th Fl
Columbus, OH 43215‐6108


State Of Oregon
Unclaimed Property Program
775 Summer St Ne, Ste 100
Salem, OR 97301


State Of Oregon
Unclaimed Property Unit
775 Summer St, Ne
Salem, OR 97310


State Of Puerto Rico
Unclaimed Property Div
P.O. Box 11855
San Juan, PR 00910‐3855


State Of Rhode Island
Unclaimed Property Div
P.O. Box 1435
Providence, RI 02901‐1435


State Of Rhode Island Div/ Taxation
One Capitol Hill, Ste 36
Providence, RI 02908‐5829


State Of Rhode Island General Treasurer
John O Pastore Center
1511 Pontiac Ave Bldg 69‐1
Cranston, RI 02920


State Of Tennesee Treasury Dept
Unclaimed Property Div
P.O. Box 198649
Nashville, TN 37219‐8649


State Of Tennessee
312 Rosa L Parks Ave, 8th Fl
Nashville, TN 37243‐0308


State Of Tennessee
Unclaimed Property Div
Andrew Jackson Bldg, 9th Fl
Nashville, TN 37243‐0242


State Of Utah
Dept of Commerce
160 E 300 S
Salt Lake City, UT 84111‐2305


State Of Utah
P.O. Box 146705
Salt Lake City, UT 84114


State Of Washington
Employment Security Dept
P.O. Box 9046
Olympia, WA 98507‐9046


State Of Washington Dept Of Labor
Employer Services Div
P.O. Box 44140
Olympia, WA 98504‐4140


State Of Washington Dept Of Revenue
P.O. Box 34052
Seattle, WA 98124‐1052


State Of Wisconsin
Attn Dept. of Financial Institutions
P.O. Box 7846
Madison, WI 53707‐7846


State Of Wisconsin
Dept Of Financial Institutions
P.O. Box 7846
Madison, WI 53707‐7846


State Of Wisconsin
Dept. of Revenue
P.O. Box 8902
Madison, WI 53708‐8902
State Of Wisconsin
Office of the Commissioner of Insurance
P.O. Box 7873
Madison, WI 53707‐7873


State Of Wisconsin Treasurers Office
Unclaimed Property Ms 3‐Up
P.O. Box 8982
Madison, WI 53708‐8982


State Of Wyoming
Attn Dept of Revenue
Herschler Building
Cheyenne, WY 82002‐0110


State Of Wyoming
Dept of Revenue
Herschler Building
Cheyenne, WY 82002‐0110


State Oil Co, Inc
Highway 87
Raton, NM 87740


State Public Regulation Commission
Corporation Bureau
P.O. Box 1269
Santa Fe, NM 87504‐1269


State Road School PTO
Gateway Area 624
3900 Pammel Creek Rd
La Crosse, WI 54601


State Road Volunteer Fire Dept
Old Hickory Council 427
P.O. Box 1
State Rd, NC 28676


State Street Bank
Attn Ms. Kristine Gusz
100 Plaza One, Ms Jcy03‐0407
Jersey City, NJ 07311


State Street Global Advisors
Attn Accounts Receivable Dept
Box 5488
Boston, MA 02206


State Street Utd Methodist Church
Longhouse Council 373
357 State St
Fulton, NY 13069


State Street Utd Methodist Church
Sequoyah Council 713
300 W Valley Dr
Bristol, VA 24201


State Street Utd Methodist Men
Lincoln Heritage Council 205
1101 State St
Bowling Green, KY 42101


State Tax Commission
P.O. Box 960
Jackson, MS 39205‐0960


State Tax Commission Idaho
P.O. Box 83784
Boise, ID 83707‐3784


State Treasurer West Virginia
Unclaimed Property Div
P.O. Box 3328
Charleston, WV 25333


State University Of New York At Buffalo
Attn Student Response Center
232 Capen Hall
Buffalo, NY 14260‐1660
State University Of Ny At Stony Brook
Attn Campus Financial Service
P.O. Box 619
Stony Brook, NY 11790‐0619


Statement Systems Inc
Attn John White
1900 Diplomat Dr
Farmers Branch, TX 75234


Statesboro New Covenant Church
Coastal Georgia Council 099
108 Lakeland Dr
Statesboro, GA 30458


Statesville Police Dept
Piedmont Council 420
330 S Tradd St
Statesville, NC 28677


Statewide Insurance Group
c/o Tim Baxley
P.O. Box 609
Chapin, SC 29036


Statewide Restoration Inc
P.O. Box 75
Parlin, NJ 08859


Statewide Roofing Incorporated
Suffolk County Council Inc 404
2120 5th Ave
Ronkonkoma, NY 11779


Station Camp Elementary PTO
Middle Tennessee Council 560
1020 Bison Trl
Gallatin, TN 37066


Statpacks, Inc
1509 S Sandhill Dr
Washington, UT 84780
Staunton Bridge Community Center
Blue Ridge Council 551
4806 Old Spartanburg Rd
Taylors, SC 29687


Staunton Chamber Of Commerce
Greater St Louis Area Council 312
229 W Main St
Staunton, IL 62088


Stavros Center For Independent Living
Western Massachusetts Council 234
210 Old Farm Rd
Amherst, MA 01002


Stay Fly Inshore Fishing
Attn Charles Tindall
117 Royal Ln
Islamorada, FL 33036


Staybridge Suites Cranbury
1727 S River Rd
Cranbury, NJ 08512


StBernards Rc Church
Greater New York Councils, Bsa 640
2055 E 69th St
Brooklyn, NY 11234


Stcatherine Roman Catholic Church
Daniel Webster Council, Bsa 330
207 Hemlock St
Manchester, NH 03104


Stchristopher Roman Catholic Church
Daniel Webster Council, Bsa 330
62 Manchester St
Nashua, NH 03064


Steak Escape 209
65 Crossroads Mall
Mt Hope, WV 25880


Stealth Concealment Solutions Inc
3034‐A Ashley Phosphate Rd
North Charleston, SC 29418


Steam Academy Of Warren
Great Trail 433
261 Elm Rd Ne
Warren, OH 44483


Steamboat Springs Kiwanis Club
Denver Area Council 061
P.O. Box 772514
Steamboat Springs, CO 80477


Stearns County Sheriffs Office
Central Minnesota 296
807 Courthouse Square
St Cloud, MN 56301


Stearns Inc
P.O. Box 1498
St Cloud, MN 56302


Steel City Pops Dxt LLC
2012 Greenville Ave
Dallas, TX 75206


Steel Dynamics Structural Div
1282
36260 Treasury Center
Chicago, IL 60694


Steel Technology, LLC
525 NW York Dr
Bend, OR 97703


Steel Technology, LLC
Dba Hydro Flask
P.O. Box 741037
Los Angeles, CA 90074‐1037


Steel Workers Of America Local 1899
Greater St Louis Area Council 312
2014 A State St
Granite City, IL 62040


Steelcon Supply Co
265 Industrial Dr
Beckley, WV 25801


Steele Creek Athletic Assoc
Mecklenburg County Council 415
13530 Choate Cir
Charlotte, NC 28273


Steele K Jacobs
Address Redacted


Steele Memorial Utd Methodist Church
Buckskin 617
733 Shaw St
Barboursville, WV 25504


Steele Street School PTO
Water and Woods Council 782
531 Steele St
Mason, MI 48854


Steele Tradeshow Services Inc
77‐775 Jackal Dr, Ste F
Palm Desert, CA 92260


Steelton Highspire Senior High School
New Birth of Freedom 544
250 Reynders St
Steelton, PA 17113


Steelville Presbyterian Church
Greater St Louis Area Council 312
P.O. Box 860
Steelville, MO 65565


Steeple Run Home   School Assoc
Three Fires Council 127
6S151 Steeple Run Dr
Naperville, IL 60540


Stefan A Schneider
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Stefanee T Cordova
Address Redacted


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Stefanie Mae Hill
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Stefany Fuge
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Steffen E Lindauer
Address Redacted


Steffens Electric
4902 N Lynndale Dr
Appleton, WI 54913


Steger Fire Dept
Pathway To Adventure 456
35 W 34th St
Steger, IL 60475


Steger Kiwanis Club
Pathway To Adventure 456
P.O. Box 236
Steger, IL 60475


Steilacoom Community Church
Pacific Harbors Council, Bsa 612
1603 Rainier St
Steilacoom, WA 98388


Steilacoom Community Church
Pacific Harbors Council, Bsa 612
P.O. Box 1026
Steilacoom, WA 98388


Steiner Ranch Master Assoc
Capitol Area Council 564
12550 Country Trl
Austin, TX 78732


Steinger, Iscoe   Green, P.A.
Attn Michael S Steinger
1645 Palm Beach Lakes Blvd, 9th Fl
West Palm Beach, FL 33401


Stella Arebalo
Address Redacted


Stella Carter
Address Redacted


Stella Maris Catholic Church
Coastal Carolina Council 550
P.O. Box 280
Sullivans Island, SC 29482


Stella P Bolton
Address Redacted
Stella Serna
Address Redacted


Stella Services, Inc
75 Broad St, 10 Fl, Ste 1010
New York, NY 10004


Stella Utd Methodist Church
Ozark Trails Council 306
853 Carter St
Stella, MO 64867


Stem Academy
National Capital Area Council 082
21042 Lowell Ct
Sterling, VA 20164


Stem Adventures LLC
Northern New Jersey Council, Bsa 333
720 Monroe St 6314B
Hoboken, NJ 07030


Stem Avengers
Circle Ten Council 571
6494 Kasba Ln
Frisco, TX 75035


Stem Gems
Circle Ten Council 571
13256 Bigelow Ln
Frisco, TX 75035


Stem Middle Prep Academy
Middle Tennessee Council 560
1162 Foster Ave
Nashville, TN 37210


Stem Premier Inc
474 Wando Park Blvd, Ste 204
Mount Pleasant, SC 29464
Stem Prep Academy Bio Tn
Middle Tennessee Council 560
1162 Foster Ave
Nashville, TN 37210


Stem Scouts Committee
Silicon Valley Monterey Bay 055
970 W Julian St
San Jose, CA 95126


Stemfinity
504 S 11th St
Boise, ID 83702


Step Academy
Northern Star Council 250
835 5th St E
Saint Paul, MN 55106


Step Ahead Academy
Crossroads of America 160
3200 E Raymond St
Indianapolis, IN 46203


Step‐By‐Step Inc
Laurel Highlands Council 527
270 Curry Hollow Rd
Pittsburgh, PA 15236


Stephanie Brooks
Address Redacted


Stephanie Christianson
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Stephanie Coulter
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Stephanie Daniels
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Stephanie Day
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Stephanie Evans
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Stephen A Harrison
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Stephen A Reynolds
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Stephen A Saunders
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Stephen Abbott
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Stephen Allen
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Stephen Barnes
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Stephen Barranco
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Stephen Becker
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Stephen Blakely Sr
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Stephen Bortz Jr
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Stephen Boscardin
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Stephen Brown
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Stephen Carlton
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Stephen Chandler Inc
1124 N Gibson St
Gilbert, AZ 85234


Stephen Cooper
Address Redacted


Stephen Corbett
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Stephen Craig
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Stephen Davis
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Stephen Deleon
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Stephen Donnelly
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Stephen Eriksen
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Stephen F Austin State Univ
Attn Financial Aid Office
Sfa Box 13052
Nacogdoches, TX 75962


Stephen F Willis
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Stephen Fossler Co
500 Main St
Groton, MA 01471


Stephen Freeman
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Stephen Gould Coportation
35 S Jefferson
Whippany, NJ 07981


Stephen Gray
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Stephen Hambleton
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Stephen Hammonds
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Stephen Hart
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Stephen Heck
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Stephen Henning
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Stephen J Kolek
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Stephen J Sampsell
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Stephen Kasdorf
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Stephen Kelly
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Stephen Lamoin Medlicott
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Stephen Lee Hart
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Stephen Mallory
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Stephen Mayberry
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Stephen Mayne
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Stephen Medlicott
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Stephen Melowsky
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Stephen Meng
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Stephen Miller
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Stephen Nease
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Stephen Olson
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Stephen Or Lorena Morris
N11536 County Rd S
Wheeler, WI 54772


Stephen Owen
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Stephen Owensby
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Stephen Pearsall
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Stephen Perry
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Stephen Polacheck
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Stephen Porter
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Stephen Powell
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Stephen R Lewis Dba Eagle Trail Press
3301 S Goldfield Rd, Lot 3041
Apache Junction, AZ 85119


Stephen Rigby
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Stephen Roberts
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Stephen Roosevelt
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Stephen Schiller
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Stephen Schott
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Stephen Sells
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Stephen Shaw
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Stephen Shields
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Stephen Simmons
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Stephen Slazak
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Stephen T Summers
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Stephen Taylor
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Stephen V Nguyen
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Stephen W Haskew
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Stephen Warren
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Stephen Weisenreder
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Stephen White
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Stephen Whitehead
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Stephen Wilburn
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Stephen Wilkinson
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Stephen Williams
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Stephen Zimmer
Address Redacted
Stephens City Moose Lodge 2483
Shenandoah Area Council 598
357 Fairfax Pike
Stephens City, VA 22655


Stephens City Utd Methodist Church
Shenandoah Area Council 598
P.O. Box 428
Stephens City, VA 22655


Stephens County Fire Services
Northeast Georgia Council 101
P.O. Box 386
Toccoa, GA 30577


Stephens County Hospital
Northeast Georgia Council 101
163 Hospital Dr
Toccoa, GA 30577


Stephens County Sheriff Office
Northeast Georgia Council 101
70 N Alexander St, Ste 205
Toccoa, GA 30577


Stephensburg Community Inc
Lincoln Heritage Council 205
10601 Leitchfield Rd
Stephensburg, KY 42724


Stephenson Printing Inc
P.O. Box 75266
Charlotte, NC 28275‐0266


Stephenville Lions Club
Texas Trails Council 561
P.O. Box 1891
Stephenville, TX 76401


Stephn F Cory
Address Redacted
Stepney Elementary School PTO
Connecticut Yankee Council Bsa 072
180 Old Newtown Rd
Monroe, CT 06468


Stepney Volunteer Fire Dept
Connecticut Yankee Council Bsa 072
88 Main St
Monroe, CT 06468


Stepping Stones Montessori School
Pine Tree Council 218
195 Hallowell Rd
Chelsea, ME 04330


Stepstone Academy
Lake Erie Council 440
3328 Carnegie Ave
Cleveland, OH 44115


Steptoe   Johnson PLLC
P.O. Box 247
Bridgeport, WV 26330‐0247


Steptoe   Johnson, LLC
Huntington Center, Ste 2200
41 S High St
Columbus, OH 43215


Stericycle Environmental Sol Inc
28161 N Keith Dr
Lake Forest, IL 60045


Stericycle Environmental Sol Inc
dba Psc Recovery Systems LLC
29338 Network Pl
Chicago, IL 60673‐1293


Stericycle Inc
P.O. Box 6575
Carol Stream, IL 60197‐6575


Stericycle Inc
P.O. Box 9001590
Louisville, KY 40290‐1590


Sterilite Corp
P.O. Box 405000
Atlanta, GA 30384‐5000


Sterling Assoc
55 Waugh Dr, Ste 601
Houston, TX 77007


Sterling Attorneys At Law PC
33 Bloomfield Hills Pkwy, Ste 250
Bloomfield Hills, MI 48304


Sterling Community Center
Blue Ridge Council 551
113 Minus St
Greenville, SC 29601


Sterling Computer Products
16135 Covello St
Van Nuys, CA 91406


Sterling Consulting And Management, LLC
Las Vegas Area Council 328
224 Deer Crossing Way
Henderson, NV 89012


Sterling Heights Utd Methodist Church
Great Lakes Fsc 272
11333 16 1/2 Mile Rd
Sterling Heights, MI 48312


Sterling Hts Police Dept
Great Lakes Fsc 272
40333 Dodge Park Rd
Sterling Heights, MI 48313
Sterling Park Christian Church
National Capital Area Council 082
800 E Staunton Ave
Sterling, VA 20164


Sterling Police Dept
Blackhawk Area 660
212 3rd Ave
Sterling, IL 61081


Sterling Police Dept
Longs Peak Council 062
421 N 4th St
Sterling, CO 80751


Sterling Protective Services Inc
3799 Pkwy Ln
Hilliard, OH 43026


Sterling Rope Co, Inc
26 Morin St
Biddeford, ME 04005


Sterling Security Systems, Inc
211 Schraffts Dr
Waterbury, CT 06705‐3222


Sterling Utd Methodist Church
National Capital Area Council 082
304 E Church Rd
Sterling, VA 20164


Sterling Volunteer Fire Co 67
Connecticut Rivers Council, Bsa 066
225 Main St
Sterling, CT 06377


Sterling‐American Legion Post 189
Heart of New England Council 230
32 School St
Sterling, MA 01564


Sterling‐First Church In Sterling
Heart of New England Council 230
P.O. Box 40
6 Meetinghouse Hill Rd
Sterling, MA 01564


Sterlington High School
Louisiana Purchase Council 213
206 High Ave
Sterlington, LA 71280


Stetser Elementary School
Cradle of Liberty Council 525
808 E 17th St
Chester, PA 19013


Stetson University
Attn Stetson Financial Aid Office
421 N Woodland Blvd, Unit 8379
Deland, FL 32723


Steve Carlin
Address Redacted


Steve Disher Enterprises, Inc
15521 Hilltop Dr
Brighton, CO 80601


Steve Disher Enterprises, Inc
S/D Enterprises, Inc
P.O. Box 1844
Commerce City, CO 80037


Steve E Bourgeois
Address Redacted


Steve Flynn
Address Redacted
Steve Jones
Address Redacted


Steve Jones Photography
1016 Meda St
Memphis, TN 38104


Steve Luna
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Steve M Weis
Address Redacted


Steve Mcgowan
Address Redacted


Steve Rabb
Address Redacted


Steve Wewerka Photography
2242 University Ave 311
St Paul, MN 55114


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Steven A Yackel
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Steven Adams
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Steven Allred
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Steven Anderson
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Steven Bailey
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Steven Bell
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Steven Benini
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Steven E Weekes
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Steven Garza
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Steven Gerber
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Steven Godwin
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Steven Hanson
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Steven Harris
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Steven Heden
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Steven Henderson
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Steven Hessmann
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Steven Hill
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Steven Jaeger
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Steven Jindra
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Steven Jones Dba Steve Jones Marine Svc
P.O. Box 1906
Islamorada, FL 33036


Steven K Szaal
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Steven Kay
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Steven Knollenberg
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Steven Kyle Chandler
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Steven L Courtright
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Steven Leland
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Steven Leonardi
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Steven Leth
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Steven Llano
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Steven Lowe
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Steven Lujan
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Steven Malone
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Steven Martin
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Steven Maternick
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Steven Mcewan
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Steven Mcmillian
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Steven Merrill Sawyer
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Steven Miller
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Steven Minnig
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Steven Montgomery
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Steven Morton
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Steven Nagel
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Steven Nelson
Address Redacted


Steven Orlovsky
Address Redacted


Steven P Belew
Address Redacted


Steven Parks
Address Redacted


Steven Peper
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Steven Pomerantz
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Steven R Hoffer
Address Redacted


Steven R Nelson
Address Redacted


Steven Rankin
Address Redacted
Steven Rendle
Address Redacted


Steven Richards
Address Redacted


Steven Roberts
Address Redacted


Steven Royster
Address Redacted


Steven Rumage
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Steven S Warrick
Address Redacted


Steven Sawyer
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Steven Sayers
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Steven School P T O
Connecticut Rivers Council, Bsa 066
322 Orchard St
Rocky Hill, CT 06067


Steven Scudder
Address Redacted


Steven Silverman
Address Redacted


Steven Simpson
Address Redacted
Steven Smith
Address Redacted


Steven Snyder
Address Redacted


Steven Solberg
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Steven Steinmetz
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Steven Stobbs
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Steven Stone
Address Redacted


Steven Stoner
Address Redacted


Steven Sutherland
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Steven T Peters
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Steven Topel
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Steven Utter
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Steven W Bollinger
Address Redacted
Steven Whitney
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Steven Williams
Address Redacted


Steven Willis
Address Redacted


Steven Zavalney
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Stevens Ave Congregational Church
Pine Tree Council 218
790 Stevens Ave
Portland, ME 04103


Stevens Avenue Utd Church Of Christ
Pine Tree Council 218
790 Stevens Ave
Portland, ME 04103


Stevens County Sheriff S Office
Inland Nwest Council 611
P.O. Box 186
Colville, WA 99114


Stevens Creek PTO
Georgia‐Carolina 093
3780 Evans To Locks Rd
Martinez, GA 30907


Stevens Institute Of Technology
Attn Student Service Center
1 Castle Pont On Hudson
Hoboken, NJ 07030


Stevens Point Fire Dept
Samoset Council, Bsa 627
1701 Franklin St
Stevens Point, WI 54481
Stevenson Inc
P.O. Box 4528
Sioux City, IA 51104


Stevenson, Inc
3133 Floyd Blvd
Sioux City, IA 51108


Stevensville Utd Methodist Church
Southern Shores Fsc 783
5506 Ridge Rd
Stevensville, MI 49127


Steves Auto Parts LLC
1808 E Main St
Oak Hill, WV 25901


Steves Bicycles And Sports
1401 S Weslyan Blvd
Rocky Mount, NC 27803


Stewards Of Liberty
Utah National Parks 591
8744 N W Dr
Eagle Mountain, UT 84005


Stewardson Strasburg Fire Prot Dist
Greater St Louis Area Council 312
P.O. Box 37
214 N Pine St
Stewardson, IL 62463


Stewart   Stevenson
1631 Chalk Hill Rd
Dallas, TX 75212


Stewart   Stevenson Services Inc
P.O. Box 301063
Dallas, TX 75303‐1063
Stewart Alternative Elementary
Simon Kenton Council 441
40 Stewart Ave
Columbus, OH 43206


Stewart Avenue Lutheran Church
Laurel Highlands Council 527
2810 Brownsville Rd
Pittsburgh, PA 15227


Stewart Business Forms
Indian Nations Council 488
5110 S 95th E Ave
Tulsa, OK 74145


Stewart Business Systems
105 Connecticut Dr
Burlington, NJ 08016‐4103


Stewart Lambert
Address Redacted


Stewart Mayers Iii
Address Redacted


Stewart Office Machines
1545 W Irving Blvd
Irving, TX 75061


Stewart Simmons Volunteer Fire Dept
Deerfield Methodist Mens Club
Old Hickory Council 427
1184 Deerfield Rd
Boone, Nc 28607


Stewart Thompson
Address Redacted


Stewart Wright
Address Redacted
Stewart‐Cooper‐Newell Architects Pa
719 E 2nd Ave
Gastonia, NC 28054


Stewarts Creek Elementary School PTO
Middle Tennessee Council 560
200 Red Hawk Blvd
Smyrna, TN 37167


Stewartstown Lions Club
New Birth of Freedom 544
19779 Dutton Rd
Stewartstown, PA 17363


Stewartstown Presbyterian Church
New Birth of Freedom 544
College Ave
Stewartstown, PA 17363


Stewartsville Presbyterian Church
Minsi Trails Council 502
550 N Main St
Stewartsville, NJ 08886


Stewartville Lions Club
Gamehaven 299
208 Highland Ct Se
Stewartville, MN 55976


Stg Commercial Credit
P.O. Box 419327
Kansas City, MO 64141


StGermain Evangelical Free Church
Samoset Council, Bsa 627
6065 State Hwy 70 E
Saint Germain, WI 54558


Sti Holdings Inc
P.O. Box 669388
Charlotte, NC 28266‐9388


Stich Angell Kreidler Unke      Scattergood
The Crossing, Ste 120
250 2nd Ave S
Minneapolis, MN 55401‐2190


Stiff Williams Education Consulting LLC
5830 Spinnaker Cove Rd
Midlothian, VA 23112


Stigler Eastern Star 16
Indian Nations Council 488
203 NW A St
Stigler, OK 74462


Stiles Elementary School
Simon Kenton Council 441
4700 Stiles Ave
Columbus, OH 43228


Stillman Valley Lions
Blackhawk Area 660
P.O. Box 455
Stillman Valley, IL 61084


Stillman Valley Lions Club
Stillman Valley Fireman Assoc
Blackhawk Area 660
200 S Rural St
Stillman Valley, Il 61084


Stillwater 1St Ward
Church Of Jesus Christ Latter‐Day Saints
Cimarron Council 474
3312 W 56Th St
Stillwater, Ok 74074


Stillwater Diving LLC
Potawatomi Area Council 651
2410 Milwaukee St
Delafield, WI 53018
Stillwater First Utd Methodist Church
Cimarron Council 474
400 W 7th Ave
Stillwater, OK 74074


Stillwater Noon Lions
Cimarron Council 474
524 N Stallard St
Stillwater, OK 74075


Stillwater Utd Church
Twin Rivers Council 364
135 Hudson Ave
P.O. Box 480


Stillwell Midgley Plcc
69 Delaware Ave, Ste 500
Buffalo, NY 14202


Stilwell Utd Methodist Church
Heart of America Council 307
19335 Metcalf Ave
Stilwell, KS 66085


Stimerlys LLC
dba Fusion Performance Mktg
555 Maryville University Dr, Ste 225
St Louis, MO 63141


Stimpson Co, Inc
1515 SW 13th Ct
Pampano Beach, FL 33069‐4789


Stimulys LLC
dba Fusion Performance Mktg
6505 Windcrest Dr, Ste 200
Plano, TX 75024


Stine Elementary School Parents Club
Southern Sierra Council 030
4300 Wilson Rd
Bakersfield, CA 93309


Stineman Ribbon Co
128 Ribbon Ln
South Fork, PA 15956


Stinesville Lions Club
Hoosier Trails Council 145 145
107 S Indiana Ave
Dept of Biology ‐ Jordan Hall, Rm 142
Bloomington, IN 47405


Stinson Morrison   Hecker, LLP
P.O. Box 419251
Kansas City, MO 64141‐6251


Stitch N Time LLC
1213 S Military Ave
Green Bay, WI 54304


Stites   Harbison PLLC
400 W Market St, Ste 1800
Louisville, KY 40202‐3352


Stix Early Childhood Center
Greater St Louis Area Council 312
647 Tower Grove Ave
Saint Louis, MO 63110


Stjames Methodist Church
Daniel Webster Council, Bsa 330
Dw Hwy
Merrimack, NH 03054


Stjohn Neumann Parish
Daniel Webster Council, Bsa 330
708 Milford Rd
Merrimack, NH 03054


StJoseph Church
Housatonic Council, Bsa 069
50 Fairmont Pl
Shelton, CT 06484


Stjoseph Halfway RC Congreg
Mason Dixon Council 221
17630 Virginia Ave
Hagerstown, Md 21740


StJoseph Parish Roman Catholic Church
Golden Empire Council 047
2040 Walnut Ave
Redding, CA 96001


Stjoseph Roman Catholic Church
Daniel Webster Council, Bsa 330
777 W Hollis St
Nashua, NH 03062


Stkathryns Roman Catholic Church
Daniel Webster Council, Bsa 330
4 Dracut Rd
Hudson, NH 03051


Stmark The Evangelist Catholic Church
Daniel Webster Council, Bsa 330
1 S Rd
Londonderry, NH 03053


Stmartin Roman Catholic Church
Daniel Webster Council, Bsa 330
120 Maple St Ext
Somersworth, NH 03878


Stmatthew Parish
Daniel Webster Council, Bsa 330
46 Langdon St
Plymouth, NH 03264


Stmichael Roman Catholic Church
Daniel Webster Council, Bsa 330
9 Lincoln St
Exeter, NH 03833


Stober Elementary PTA
Denver Area Council 061
2300 Urban St
Lakewood, CO 80215


Stobierski   Connor
Attn John Connor
377 Main St
Greenfield, MA 01301


Stobierski   Connor
Attn John P Connor, Esq
re Plaintiff
377 Main St
Greenfield, MA 01301


Stockbridge Medical Services
Water and Woods Council 782
125 S Ctr
P.O. Box 336
Stockbridge, MI 49285


Stockbridge Presbyterian Church
Flint River Council 095
4740 N Henry Blvd
Stockbridge, GA 30281


Stockdale Volunteer Fire Dept
Simon Kenton Council 441
119 State Route 335
Beaver, OH 45613


Stocks Enterprises
P.O. Box 570
Ely, MN 55731


Stockton Lions Club
Blackhawk Area 660
115 W Front Ave
Stockton, IL 61085
Stockton Lions Club
Greater Yosemite Council 059
P.O. Box 1865
Stockton, CA 95201


Stockton Police Youth Activities
Greater Yosemite Council 059
22 E Market St
Stockton, CA 95202


Stockton Springs Ambulance Dept
Katahdin Area Council 216
11 Station St
Stockton Springs, ME 04981


Stockton Unified Police Dept
Greater Yosemite Council 059
640 N San Joaquin St
Stockton, CA 95202


Stockton Utd Methodist Church
Ozark Trails Council 306
708 W Hwy 32
Stockton, MO 65785


Stockwell Place Elem School PTO
Norwela Council 215
5801 Shed Rd
Bossier City, LA 71111


Stokes County Sheriff S Dept
Old Hickory Council 427
P.O. Box 118
Danbury, NC 27016


Stokesburg Methodist Church
Old Hickory Council 427
P.O. Box 444
Walnut Cove, NC 27052
Stokesburg Methodist Mens Club
Old Hickory Council 427
1070 Wildwood Rd
Walnut Cove, NC 27052


Stokesdale Christian Church
Old N State Council 070
8607 Stokesdale St
Stokesdale, NC 27357


Stoller Middle School Parent Teacher Org
Cascade Pacific Council 492
14141 NW Laidlaw Rd
Portland, OR 97229


Stone Bridge Lions Club
Baden‐Powell Council 368
P.O. Box 345
Susquehanna, PA 18847


Stone Church Community Of Christ
Heart of America Council 307
1012 W Lexington Ave
Independence, MO 64050


Stone Church Of The Brethren
Juniata Valley Council 497
1623 Moore St
Huntingdon, PA 16652


Stone Concerned Citizens
Water and Woods Council 782
1006 State St
Saginaw, MI 48602


Stone Gardens Apartments
Mississippi Valley Council 141 141
2312 Valley St
Burlington, IA 52601


Stone Memorial Christian Church
Blue Ridge Mtns Council 599
3030 Virginia Ave
Collinsville, VA 24078


Stone Oak Business Assoc
Alamo Area Council 583
9801 Mccullough Ave
San Antonio, TX 78216


Stone Ridge Church
Grand Canyon Council 010
6300 E 24th St
Yuma, AZ 85365


Stone Ridge Construction
Grand Teton Council 107
3367 Trail Canyon Rd
Soda Springs, ID 83276


Stone River Inc
c/o Stone River Insurance Div
24971 Network Pl
Chicago, IL 60673‐1249


Stone Robinson Sch Parent
Teachers Org
Stonewall Jackson Council 763
958 N Milton Rd
Charlottesville, Va 22911


Stonebridge Utd Methodist Church
Circle Ten Council 571
1800 S Stonebridge Dr
Mckinney, TX 75070


Stonecreek Christian Church
Orange County Council 039
30161 Avenida De Las Bandera, Ste B
Rancho Santa Margarita, CA 92688


Stonegate PTA
Orange County Council 039
100 Honors
Irvine, CA 92620


Stonehill College
Attn Bursars Office
320 Washington St
Easton, MA 02357


Stoner Creek Elementary PTO
Middle Tennessee Council 560
1035 N Mount Juliet Rd
Mount Juliet, TN 37122


Stoneriver Inc
P.O. Box 504591
St. Louis, MO 63150‐4591


Stoneriver Pharmacy Solutions
P.O. Box 504591
St Louis, MO 63150‐4591


Stoneville Rotary Club
Old N State Council 070
P.O. Box 634
Stoneville, NC 27048


Stonewall Baptist Church Bossier
Norwela Council 215
807 Eatman St
Bossier City, LA 71111


Stonewall Jackson Area
801 Hopeman Pkwy
Waynesboro, VA 22980


Stonewall Jackson Area Cncl 763
801 Hopeman Pkwy
Waynesboro, VA 22980


Stoney Cooper
Address Redacted
Stoney Creek Elem School PTO
President Gerald R Ford 781
200 Lantern Dr Nw
Comstock Park, MI 49321


Stoney Creek Inn
1100 Imperial Ave
Rothschild, WI 54474


Stoney Point Baptist Church
Occoneechee 421
6554 Rockfish Rd
Fayetteville, NC 28306


Stoney Ross Cooper
Address Redacted


Stonington Community Center
Connecticut Rivers Council, Bsa 066
P.O. Box 236
28 Cutler St
Stonington, CT 06378


Stony Brook Fire Dept
Suffolk County Council Inc 404
147 Main St
Stony Brook, NY 11790


Stony Creek Elementary PTO
Denver Area Council 061
7203 S Everett St
Littleton, CO 80128


Stony Creek Elementary School PTO
Crossroads of America 160
1350 Greenfield Ave
Noblesville, IN 46060


Stony Creek Volunteer Fire Co
Twin Rivers Council 364
42 Harrisburg Rd
Stony Creek, NY 12878


Stony Point Christian Church
Heart of America Council 307
149 S 78th St
Kansas City, KS 66111


Stony Point Elementary School PTA
Hudson Valley Council 374
7 Gurnee Dr
Stony Point, NY 10980


Stony Point Ruritan
Stonewall Jackson Council 763
2835 Watts Passage
Charlottesville, VA 22911


Stonybrook Middle High School
Crossroads of America 160
11300 Stony Brook Dr
Indianapolis, IN 46229


Stonybrook Utd Methodist Church
Simon Kenton Council 441
485 Cherry Bottom Rd
Gahanna, OH 43230


Stopher Elementary
Lincoln Heritage Council 205
14417 Aiken Rd
Louisville, KY 40245


Stopher Elementary Parent Teacher Assoc
Lincoln Heritage Council 205
14417 Aiken Rd
Louisville, KY 40245


Storage Assessments LLC
P.O. Box 864017
Plano, TX 75086
Storage Assessments, LLC
P.O. Box 864017
John Little
Plano, TX 75086‐4017


Storage Mobility Of Sacramento LLC
9325 E 33rd St
Indianapolis, IN 46235


Storage Tank Fund
1301 Silver Rd Bldg B
Santa Fe, NM 87507


Stor‐A‐Way ‐Bedford
2905 Crystal Springs
Bedford, TX 76021


Store Supply Warehouse Inc
P.O. Box 110280
P.O. Box 88280
Milwaukee, WI 53288‐8280


Store Supply Warehouse, Inc
9801 Page Ave
St. Louis, MO 63132‐1428


Storehouse Church
Cradle of Liberty Council 525
1090 Germantown Pike
Plymouth Meeting, PA 19462


Storey County Volunteer Fire Dept
Nevada Area Council 329
P.O. Box 603
Virginia City, NV 89440


Stork‐Herron Testing Lab
15361 Collection Ctr Dr
Chicago, IL 60693


Storm King Engine Co
Hudson Valley Council 374
Hudson St
Cornwall On Hudson, NY 12520


Storme Nelson
Address Redacted


Sto‐Rox Elementary School
Laurel Highlands Council 527
300 Ewing Rd
Mc Kees Rocks, PA 15136


Story City LDS Church
Mid Iowa Council 177
1026 Elm Ave
Story City, IA 50248


Story Elementary Neighborhood House Clc
Three Harbors Council 636
2819 W Richardson Pl
Milwaukee, WI 53208


Stout Memorial Utd Methodist Church
Buckskin 617
3329 Broad St
Parkersburg, WV 26104


Stow Utd Methodist Church
Great Trail 433
4880 Fishcreek Rd
Stow, OH 44224


Stpatrick Roman Catholic Church
Daniel Webster Council, Bsa 330
29 Spring St
Nashua, NH 03060


Stpatrick S Church
Daniel Webster Council, Bsa 330
16 Amherst St
Milford, NH 03055
Stpaul S Episcopal Church
Daniel Webster Council, Bsa 330
21 Centre St
Concord, NH 03301


Stpius X Roman Catholic Church
Daniel Webster Council, Bsa 330
575 Candia Rd
Manchester, NH 03109


Strafford Elementary
Ozark Trails Council 306
310 W Mccabe St
Strafford, MO 65757


Straight From The Heart Inc
5404 N Montana Ave
Portland, OR 97217


Straight No Chaser
BsaAttn    Anthony Gibbs
P.O. Box 3085
Naperville, IL 60566


Stranahan School PTA
Erie Shores Council 460
3840 N Holland Sylvania Rd
Road
Toledo, OH 43615


Strasburg Christian Church
Shenandoah Area Council 598
165 High St
Strasburg, VA 22657


Strasburg Lions
Greater St Louis Area Council 312
Po 212
Strasburg, IL 62465


Strasburg Rotary Club
Shenandoah Area Council 598
P.O. Box 266
Strasburg, VA 22657


Strasburg Utd Methodist Church Men
Shenandoah Area Council 598
361 S Massanutten St
Strasburg, VA 22657


Strasburger    Price, LLP
P.O. Box 50100
Dallas, TX 75250‐9989


Strategic Events Solutions Inc
4416 S St Lawrence Ave
Chicago, IL 60653


Strategic Media
P.O. Box 251 H
Scarsdale, NY 10583‐8751


Strategic Orient Sourcing
Room 910 Concordia Plz No 1
Science Museum Rd Tsim Sha Tsui E
Kowloon,
Hong Kong


Strategic Paper Group
P.O. Box 677319
Dallas, TX 75267‐7319


Strategic Properties
Atlanta Area Council 092
445 Cleveland Ave Se
Atlanta, GA 30354


Strategies 360 Inc
1505 Wlake Ave N, Ste 1000
Seattle, WA 98109


Strategyn Institute LLC
1500 Gateway Blvd, Ste 220
Boynton Beach, FL 33426


Stratford Athletic Org
Garden State Council 690
P.O. Box 75
Stratford, NJ 08084


Stratford Ems
Connecticut Yankee Council Bsa 072
2712 Main St
Stratford, CT 06615


Stratford Lions Club
Samoset Council, Bsa 627
M646 Staadt Ave
Stratford, WI 54484


Stratford Middle School PTA
Three Fires Council 127
251 Butterfield Dr
Bloomingdale, IL 60108


Stratford Richardson Ymca
Mecklenburg County Council 415
1946 W Blvd
Charlotte, NC 28208


Stratford School Of Morgan Hill
Silicon Valley Monterey Bay 055
410 Llagas Rd
Morgan Hill, CA 95037


Stratford Utd Methodist Church
Connecticut Yankee Council Bsa 072
2600 Main St
Stratford, CT 06615


Stratford Utd Methodist Church
Garden State Council 690
122 Union Ave
Stratford, NJ 08084
Stratham Volunteer Fire Dept
Daniel Webster Council, Bsa 330
4 Winnicut Rd
Stratham, NH 03885


Stratham Volunteer Fire Dept
Daniel Webster Council, Bsa 330
Winnicut Rd
Stratham, NH 03885


Strathmoor Presbyterian Church
Lincoln Heritage Council 205
2201 Hawthorne Ave
Louisville, KY 40205


Strathmore‐Bel Pre Civic Assoc
National Capital Area Council 082
2604 Bainbridge Ln
Silver Spring, MD 20906


Strathmore‐Bel Pre Civic Assoc
National Capital Area Council 082
2701 Bellmawr Ct
Silver Spring, MD 20906


Stratton Elementary PTA
Pikes Peak Council 060
2460 Paseo Rd
Colorado Springs, CO 80907


Stratus Midco, Inc
dba Contegix
210 N Tucker, 6th Fl
St. Louis, MO 63101


Straus Co
3223 13th Ave Swest
Fargo, ND 58103‐3402


Strauss Productions LLC
Utah National Parks 591
458 N 1210 E
Spanish Fork, UT 84660


Strausstown Lions Club
Hawk Mountain Council 528
P.O. Box 268
Strausstown, PA 19559


Strawberry Crest Hs Ajrotc
Greater Tampa Bay Area 089
4691 Gallagher Rd
Dover, FL 33527


Strawbridge Utd Methodist Church
Sam Houston Area Council 576
5629 Kingwood Dr
Kingwood, TX 77345


Streamlight
30 Eagleville Rd
Eagleville, PA 19403‐3996


Streamwood Fire Dept
Three Fires Council 127
1095 E Schaumburg Rd
Streamwood, IL 60107


Streets To Success
Central Georgia Council 096
4002 Vineville Ave
Macon, GA 31204


Strength For Service
1000 17th Ave S
Nashville, TN 37212


Strictly Pet Supplies
546 E Nwest Hwy
Palatine, IL 60074
Strike Zone Charter Inc
29675 Overseas Hwy
Big Pine Key, FL 33043


Strikemaster Corp
17217 198th Ave
Big Lake, MN 55309


Stringfield Industries, Inc
dba My Service Depot
8774 Cotter St
Lewis Center, OH 43035


Striping Unlimited
8335 River Birch Dr 102
Charlotte, NC 28210


Stripling Warriors
Pacific Harbors Council, Bsa 612
2024 Arena Ct Se
Tumwater, WA 98501


Strode Station Elementary PTO
Blue Grass Council 204
1750 Martin Luther King Jr Dr
Winchester, KY 40391


Stromsburg Lions Club
Cornhusker Council 324
221 Main St
Stromsburg, NE 68666


Strong And Couragous Youth
Great Swest Council 412
8148 Ventana Azul Ave Nw
Albuquerque, NM 87114


Strong Communications
1235 Tradeport Dr
Orlando, FL 32824
Strong Tower Christian Fellowship
Central Florida Council 083
94 S Ridgewood Ave
Ormond Beach, FL 32174


Strong Tower Church Lafayette Campus
Middle Tennessee Council 560
402 Tn‐52 Bypass
Lafayette, TN 37083


Stronghold Christian Church
Atlanta Area Council 092
724 Rock Chapel Rd
Lithonia, GA 30058


Strongsville Historical Society
Lake Erie Council 440
13305 Pearl Rd
Strongsville, OH 44136


Strongsville Utd Methodist Church
Lake Erie Council 440
13500 Royalton Rd
Strongsville, OH 44136


Stroud First Utd Methodist Church
Cimarron Council 474
324 N 2nd Ave
Stroud, OK 74079


Stroudsburg Utd Methodist Church
Minsi Trails Council 502
547 Main St
Stroudsburg, PA 18360


Str‐Responsible Sourcing Or Cscc
5777 W Century Blvd, Ste 1790
Los Angeles, CA 90045


Structural Products   Ind Supplies
Greater Los Angeles Area 033
6266 Peachtree St
Commerce, Ca 90040


Structuretone, Inc
Greater New York Councils, Bsa 640
330 W 34th St Fl 12
New York, NY 10001


Strunk Ace Hardware
1101 Eaton St
Key W, Fl 33040


Struthers Presbyterian Church
Great Trail 433
110 Poland Ave
Struthers, OH 44471


Stryker Sales Corp
P.O. Box 93308
Chicago, IL 60673‐3308


Strykersville Volunteer Fire Co Inc
Iroquois Trail Council 376
594 Minkel Rd
P.O. Box 38
Strykersville, NY 14145


Sts Anne   Joachim Catholic Church
Northern Lights Council 429
5202 25th St S
Fargo, ND 58104


Sts Constantine/Helen Greek Orthodix Ch
San Diego Imperial Council 049
3459 Manchester Ave
Encinitas, Ca 92007


Sts Constantine/Helen Greek Orthodix Ch
San Diego Imperial Council 049
3459 Manchester Ave
Cardiff By The Sea, Ca 92007
Sts Francis   Anne Catholic Church
Louisiana Purchase Council 213
143 B. Miller
Deville, LA 71328


Sts Joachim    Ann Catholic Church
Greater St Louis Area Council 312
4112 Mcclay Rd
Saint Charles, MO 63304


Sts Joachim And Anne Catholic Parish
Northern Star Council 250
2700 17th Ave E
Shakopee, MN 55379


Sts John   Paul Roman Catholic Church
Narragansett 546
341 S Main St
Coventry, RI 02816


Sts John And James Roman Catholic Church
Narragansett 546
20 Washington St
West Warwick, RI 02893


Sts Martha And Mary Church
Narragansett 546
354 Bedford St
Lakeville, MA 02347


Sts Peter   Paul Catholic Church
Blackhawk Area 660
410 1st St
Cary, IL 60013


Sts Peter   Paul Catholic Church
Buffalo Trace 156
203 N Vine St
Haubstadt, IN 47639


Sts Peter   Paul Catholic Church
Buffalo Trace 156
211 N Vine St
Haubstadt, IN 47639


Sts Peter    Paul Catholic Church
Cimarron Council 474
P.O. Box 179
Kingfisher, OK 73750


Sts Peter And Paul Catholic Church
Stonewall Jackson Council 763
4309 Thomas Jefferson Pkwy
Palmyra, VA 22963


Sts Peter And Paul Roman Catholic Church
Connecticut Rivers Council, Bsa 066
181 Elizabeth St
Norwich, CT 06360


Sts Philip    James Rc Church
Chester County Council 539
107 N Ship Rd
Exton, PA 19341


Sts Philip And James Rc Church
Greater New York Councils, Bsa 640
1160 E 213th St
Bronx, NY 10469


Sts Rose And Clement Parish
Narragansett 546
111 Long St
Warwick, RI 02886


Sts Simon   Jude Parish Council
Grand Canyon Council 010
6351 N 27th Ave
Phoenix, AZ 85017


Sts Simon   Jude Rc Church
Chester County Council 539
8 Cavanaugh Ct
West Chester, PA 19382
Stthomas Aquinas Church
Daniel Webster Council, Bsa 330
26 Crystal Ave
Derry, NH 03038


Stthomas Aquinas Church
Daniel Webster Council, Bsa 330
28 Crystal Ave
Derry, NH 03038


Stuart Bond
Address Redacted


Stuart C Hahn
Address Redacted


Stuart Cottrell
Address Redacted


Stuart Goins
Address Redacted


Stuart Hall School For Boys
Southeast Louisiana Council 214
2032 S Carrollton Ave
New Orleans, LA 70118


Stuart M Boggess
Address Redacted


Stuart M Steinberg, PC
Sheralven Building
2 Rodeo Dr
Edgewood, NY 11717


Stuart Meade
Address Redacted
Stuart Middle School
Lincoln Heritage Council 205
4601 Valley Station Rd
Louisville, KY 40272


Stuart Middle School Builders Club
Gulf Stream Council 085
575 SE Georgia Ave
Stuart, FL 34994


Stuart Place Elementary PTA
Rio Grande Council 775
6701 W Business 83
Stuart Pl School
Harlingen, TX 78552


Stuart Police Dept
Gulf Stream Council 085
830 SE Martin Luther King Jr Blvd
Stuart, FL 34994


Stuart Potter Iii
Address Redacted


Stuart Rotary Club
Blue Ridge Mtns Council 599
P.O. Box 562
Stuart, VA 24171


Stuart Schnettler
Address Redacted


Stuart Schwarzer
Address Redacted


Stuart Tuttle
Address Redacted


Stuart Tyson
Address Redacted
Stuart Williams
Address Redacted


Stuart/Mt Vernon Methodist Church
Mid Iowa Council 177
221 N Harrison St
P.O. Box 26
Stuart, IA 50250


Stubbeman Mcrae Sealy Laughlin
Browder, Inc
550 W Texas Ave, Ste 800
Midland, TX 79701


Stucco Renovations Of Arizona LLC
32 W Krista Way
Tempe, AZ 85284


Student Solutions
Greater Tampa Bay Area 089
950 Pinewood Ave
Lakeland, FL 33815


Students Of Bruce Elementary
Central Georgia Council 096
3660 Houston Ave
Macon, GA 31206


Studio Displays Inc
10600 Sern Loop Blvd
Pineville, NC 28134


Stuffed Animal House Ltd
P.O. Box 1850
1750 Grant Ave
Blaine, WA 98230


Sturbridge
St Annes And St Patricks Parish
Heart Of New England Council 230
16 Church St
Fiskdale, Ma 01518


Sturbridge Champeau
Vilandre American Legion Post 109
Heart Of New England Council 230
P.O. Box 83
Fiskdale, Ma 01518


Sturbridge Host Hotel      Conf Ctr
366 Main St
Sturbridge, MA 01566


Sturdy Flagstand     Barricade Mfg
24214 Gardina Dr
Madera, CA 93638


Sturgeon Bay Police Dept
Bay‐Lakes Council 635
421 Michigan St
Sturgeon Bay, WI 54235


Sturgis Police Reserve Assoc
Black Hills Area Council 695 695
1400 Main St
Sturgis, SD 57785


Sturm Ruger    Co, Inc
411 Sunapee St
Newport, NH 03773


Sturtz Lock   Safe
1200 4th St, Ste 565
Key W, Fl 33040


Stv Incorporated
Greater New York Councils, Bsa 640
225 Park Ave S
New York, NY 10003


Suanne Ressler
Address Redacted
Subia
6612 Gulton Court Ne
Albuquerque, NM 87109


Sublette Rotary Club
Santa Fe Trail Council 194
P.O. Box 183
Sublette, KS 67877


Subrogation Management Team Ltd
204 E Rhapsody
San Antonio, TX 78216


Subscriber Services
P.O. Box 61331
Tampa, FL 33661‐1331


Subscriber Services
P.O. Box 62120
Tampa, FL 33663‐1203


Suburban Hospital
National Capital Area Council 082
8600 Old Georgetown Rd
Bethesda, MD 20814


Suburban Propane
P.O. Box 260
Whippany, NJ 07981


Subway   Wake Tech
9101 Fayetteville Rd
Raleigh, NC 27603


Subway Sandwiches      Salads 16485
1307 E Sheridan St
Ely, MN 55731


Success Academy
Southwest Florida Council 088
3650 Michigan Ave
Fort Myers, FL 33916


Success Foundation
Chief Seattle Council 609
14220 Interurban Ave S, Ste 134
Tukwila, WA 98168


Successful Events
P.O. Box 190
Hagaman, NY 12086


Succession Solutions Inc
11108 Downs Rd
Pineville, NC 28134


Successories
5109‐I NW 39th Ave
Gainesville, FL 32606


Successories, LLC
38646 Eagle Way
Chicago, IL 60678‐1386


Suda Large
Address Redacted


Sudbury Utd Methodist Church
Mayflower Council 251
251 Old Sudbury Rd
Sudbury, MA 01776


Suddenlink
P.O. Box 660365
Dallas, TX 75266‐0365


Sudie Moore
Address Redacted
Sudley Elementary School PTO
National Capital Area Council 082
9744 Copeland Dr
Manassas, VA 20109


Sudley Utd Methodist Men
National Capital Area Council 082
5308 Sudley Rd
Catharpin, VA 20143


Sudlow Intermediate PTA
Illowa Council 133
1414 E Locust St
Davenport, IA 52803


Sue Adams
Address Redacted


Sue Austin
Address Redacted


Sue Bee Home Deco, LLC
25 Front St, P.O. Box 1463
Nashua, NH 03061


Sue Cason
Address Redacted


Sue Garrett
Address Redacted


Sue Hawkins
Address Redacted


Sue Peterson
Address Redacted


Sue Sanders
Address Redacted
Sue Shaw
Address Redacted


Suekyoung Bae
Address Redacted


Suffield Township Fire Dept
Great Trail 433
1256 Waterloo Rd
Mogadore, OH 44260


Suffield Utd Church Of Christ
Great Trail 433
1115 State Route 43
Mogadore, OH 44260


Suffolk County
7 Scouting Blvd
Medford, NY 11763


Suffolk County Cncl 404
7 Scouting Blvd
Medford, NY 11763‐2241


Suffolk County Police Dept 1St Precinct
Suffolk County Council Inc 404
555 Route 109
West Babylon, NY 11704


Suffolk County Police Dept 2Nd Precinct
Suffolk County Council Inc 404
1071 Park Ave
Huntington, NY 11743


Suffolk County Police Dept 3Rd Precinct
Suffolk County Council Inc 404
1630 5th Ave
Bay Shore, NY 11706


Suffolk County Police Dept 4Th Precinct
Suffolk County Council Inc 404
Old Willets Path
Hauppauge, NY 11788


Suffolk County Police Dept 5Th Precinct
Suffolk County Council Inc 404
125 Waverly Ave
Patchogue, NY 11772


Suffolk County Police Dept 6Th Precinct
Suffolk County Council Inc 404
400 Middle Country Rd
Selden, NY 11784


Suffolk County Police Dept 7Th Precinct
Suffolk County Council Inc 404
1491 William Floyd Pkwy
Shirley, NY 11967


Suffolk County Police Dept Amp
30 Yaphank Ave
Yaphank, NY 11980


Suffolk County Sheriff S Office
Suffolk County Council Inc 404
100 Center Dr
Riverhead, NY 11901


Suffolk Professional Fire   Rescue, Inc
Colonial Virginia Council 595
P.O. Box 3279
Suffolk, VA 23439


Sugar Creek Baptist Church
Sam Houston Area Council 576
13333 Swest Frwy
Sugar Land, TX 77478


Sugar Creek Elementary 21St Century
Greater Alabama Council 001
26595 Salem Minor Hill Rd
Lester, AL 35647
Sugar Creek Utd Methodist Church
Abraham Lincoln Council 144
1022 New City Rd
Chatham, IL 62629


Sugar Grove American Legion Post No 758
Chief Cornplanter Council, Bsa 538
P.O. Box 386
Sugar Grove, PA 16350


Sugar Grove Church Of Christ
Sam Houston Area Council 576
11600 W Airport Blvd
Meadows Pl, TX 77477


Sugar Grove Free Methodist Church
Chief Cornplanter Council, Bsa 538
210 Jamestown St
Sugar Grove, PA 16350


Sugar Grove Utd Methodist Church
Three Fires Council 127
178 Main St
Sugar Grove, IL 60554


Sugar Hill Animal Hospital
Northeast Georgia Council 101
5305 Nelson Brogdon Blvd
Sugar Hill, GA 30518


Sugar Hill Utd Methodist Church
Northeast Georgia Council 101
4600 Nelson Brogdon
Sugar Hill, GA 30518


Sugar Land Baptist Church
Sam Houston Area Council 576
16755 Swest Fwy
Sugar Land, TX 77479
Sugar Land Dive Center
Sam Houston Area Council 576
3362 Hwy 6
Sugar Land, TX 77478


Sugar Land Lions Club
Sam Houston Area Council 576
P.O. Box 51
Sugar Land, TX 77487


Sugar Plain Friends Church
Crossroads of America 160
8980 W State Rd 47
Thorntown, IN 46071


Sugar River Utd Methodist Church
Glaciers Edge Council 620
415 W Verona Ave
Verona, WI 53593


Sugarloaf Utd Methodist Church
Atlanta Area Council 092
1795 Old Peachtree Rd
Duluth, GA 30097


Sugaw Creek Recreation Center
Mecklenburg County Council 415
943 W Sugar Creek Rd
Charlotte, NC 28213


Suisun Fire Protection District
Mt Diablo‐Silverado Council 023
445 Jackson St
Fairfield, CA 94533


Suite Blue Sailing
802 Catherine St
Key W, Fl 33040


Suite Blue Sailing
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Suitland Elementary School
National Capital Area Council 082
4650 Homer Ave
Suitland, MD 20746


Sujay Rajkumar
Address Redacted


Sukothai Inc
dba New Horizons Clc of Charlotte Nc
5001 Louise Dr, Ste 100
Mechanicsburg, PA 17055


Sul Ross PTO
Sam Houston Area Council 576
3300 Pkwy Ter
Bryan, TX 77802


Sulligent Masonic Lodge 532
Black Warrior Council 006
P.O. Box 144
Sulligent, AL 35586


Sullivan Ambucs
Greater St Louis Area Council 312
P.O. Box 83
Sullivan, IL 61951


Sullivan Candy    Supply
1206 E 25th St
Hibbing, MN 55746


Sullivan County Sheriff S Office
Sequoyah Council 713
P.O. Box 589
Blountville, TN 37617


Sullivan First Utd Methodist Church
Crossroads of America 160
107 N Court St
Sullivan, IN 47882


Sullivan Jones Vfw Post 7466
Twin Rivers Council 364
25 Veterans St
Poestenkill, NY 12140


Sullivan Perkins Inc
2811 Mckinney Ave, Ste 320, Lb 111
Dallas, TX 75204


Sullivan Vfw Post 398
Greater St Louis Area Council 312
378 S 185
Sullivan, MO 63080


Sullivan Worldwide Marketing Grp
139 Exec Cir, Ste 202
Daytona Beach, FL 32114


Sullivan, Ward, Asher   Patton, P.C.
25800 Nwestern Hwy
P.O. Box 222
Southfield, MI 48037‐0222


Sulphur Grove Utd Methodist
Miami Valley Council, Bsa 444
7505 Taylorsville Rd
Huber Heights, OH 45424


Sulphur Grove Utd Methodist Church
Miami Valley Council, Bsa 444
7505 Taylorsville Rd
Huber Heights, OH 45424


Sulphur Utd Methodist Church
Arbuckle Area Council 468
P.O. Box 657
2022 W 14th St
Sumach Cumberland Presbyterian Church
Northwest Georgia Council 100
P.O. Box 804
Chatsworth, GA 30705


Summer A Murray
Address Redacted


Summer Camp Floodwood Scout Reservation
Northern New Jersey Council, Bsa 333
25 Ramapo Valley Rd
Oakland, NJ 07436


Summer Camp Lewis
Northern New Jersey Council, Bsa 333
25 Ramapo Valley Rd
Oakland, NJ 07436


Summer Camp Staff No‐Be‐Bo‐Sco
Northern New Jersey Council, Bsa 333
25 Ramapo Valley Rd
Oakland, NJ 07436


Summer Camp Staff Turrell
Northern New Jersey Council, Bsa 333
25 Ramapo Valley Rd
Oakland, NJ 07436


Summer Camp Staff Yaw Paw
Northern New Jersey Council, Bsa 333
25 Ramapo Valley Rd
Oakland, NJ 07436


Summer Creek Baptist Church
Sam Houston Area Council 576
12159 W Lake Houston Pkwy
Houston, TX 77044


Summer Grove Utd Methodist Church
Norwela Council 215
9119 Dean Rd
Shreveport, LA 71118
Summer Robinson
Address Redacted


Summerfield First Baptist Church
Old N State Council 070
2300 Scalesville Rd
Summerfield, NC 27358


Summerfield Suites ‐ Las Colinas
5901 N Macarthur Blvd
Irving, TX 75039


Summerland Hardware
P.O. Box 420289
Summerland Key, FL 33042


Summerside Umc
Dan Beard Council, Bsa 438
638 Old State Route 74
Cincinnati, OH 45244


Summersville Baptist Church
Buckskin 617
422 Spruce   Main St
Summersville, WV 26651


Summersville Inn   Suites
106 Merchants Walk
Summersville, WV 26651


Summersville Veterans Of Foriegn Wars
Ozark Trails Council 306
6022 Hwy Kk
Summersville, MO 65571


Summersville Vfw Post 7222
Ozark Trails Council 306
P.O. Box 131
Summersville, MO 65571
Summerville Baptist Church
Chattahoochee Council 091
3500 Summerville Rd
Phenix City, AL 36867


Summerville Fire Rescue
Coastal Carolina Council 550
300 W 2nd N St
Summerville, SC 29483


Summerville First Utd Metodist Church
Northwest Georgia Council 100
P.O. Box 187
Summerville, GA 30747


Summerville Police Dept
Coastal Carolina Council 550
300 W 2nd N St
Summerville, SC 29483


Summerville Presbyterian Church
Seneca Waterways 397
4845 Saint Paul Blvd
Rochester, NY 14617


Summit Academy Ptst
Dan Beard Council, Bsa 438
1660 Sternblock Ln
Cincinnati, OH 45237


Summit Baptist Church
Narragansett 546
1176 Victory Hwy
Greene, RI 02827


Summit Bechtel Reserve
2550 Jack Furst Dr
Glen Jean, WV 25846


Summit Bechtel Reserve PC
2550 Jack Furst Dr
Glen Jean, WV 25846


Summit Business Media Inc
Attn Events Custsomer Service
5081 Olympic Blvd
Erianger, KY 41018


Summit Christian Center
Pacific Harbors Council, Bsa 612
2824 112th St E
Tacoma, WA 98445


Summit Club Of Flower Mound
Longhorn Council 662
709 Crestbrook Dr
Flower Mound, TX 75028


Summit County Rotary Club
Denver Area Council 061
P.O. Box 8827
Breckenridge, CO 80424


Summit County Sheriffs Office
Denver Area Council 061
P.O. Box 210
Breckenridge, CO 80424


Summit Distribution, LLC
6290 Nern Blvd
East Norwich, NY 11732


Summit Elementary School PTA
Potawatomi Area Council 651
1420 E Valley Rd
Lisa Cortese
Oconomowoc, WI 53066


Summit Elementary School Ptso
Pikes Peak Council 060
490 Meadow Park Dr
Divide, CO 80814
Summit Family Ymca
Flint River Council 095
1765 Hwy 34 E
Newnan, GA 30265


Summit Group LLC
Division 30
8252 Solutions Ctr
Chicago, IL 60677‐8002


Summit Heights Utd Methodist Church
Lincoln Heritage Council 205
7400 Outer Loop
Louisville, KY 40228


Summit Helicopters Inc
P.O. Box 39
Cloverdale, VA 24077


Summit Hills Baptist Church
Lincoln Heritage Council 205
4507 Summers Dr
Louisville, KY 40229


Summit Hotel Op, LP
dba Las Colinas Hyatt Pl
5455 Green Park Dr
Irving, TX 75038


Summit Keys LLC
dba Mangrove Marina
200 Florida Ave
Tavernier, FL 33070


Summit Keys LLC
dba Mangrove Marina
4521 Pga Blvd, 403
Palm Beach Gardens, FL 33418


Summit Lake Community Center
Great Trail 433
380 W Crosier St
Akron, OH 44311


Summit Lodge 213
Lake Erie Council 440
9545 Shepard Rd
Twinsburg, OH 44087


Summit Lodge No 263
Heart of America Council 307
2409 S State Route 291
Lees Summit, MO 64082


Summit Metro Parks
Great Trail 433
975 Treaty Line Rd
Akron, OH 44313


Summit Of Peace Lutheran Church
Denver Area Council 061
4661 E 136th Ave
Thornton, CO 80602


Summit Parent Scouting Committee
Great Lakes Fsc 272
28025 Riverbridge Dr
Romulus, MI 48174


Summit Parkland Youth Assoc
Pacific Harbors Council, Bsa 612
315 129th St S
Tacoma, WA 98444


Summit Presbyterian Church
National Capital Area Council 082
256 Shelton Shop Rd
Stafford, VA 22554


Summit Ridge 4Th Ward
Utah National Parks 591
591 Summt Ridge Pkwy
Santaquin, UT 84655
Summit School PTO
Gateway Area 624
1800 Lakeshore Dr
La Crosse, WI 54603


Summit Station Utd Methodist Church
Simon Kenton Council 441
6626 Summit Rd Sw
Pataskala, OH 43062


Summit Station Utd Methodist Church
Simon Kenton Council 441
6626 Summit Rd Sw
Summit Station, OH 43073


Summit Supply Inc
920 Ragland Rd
Beckley, WV 25801


Summit Terragraphics, Inc
2508 Whitings Neck Rd
Martinsburg, WV 25404


Summit Twp Volunteer Fire Dept
French Creek Council 532
P.O. Box 251
Harmonsburg, PA 16422


Summit Utd Methodist Church
Del Mar Va 081
554 Old Summit Bridge Rd
Middletown, DE 19709


Summit Utd Methodist Church
French Creek Council 532
1510 Townhall Rd W
Erie, PA 16509


Summit View PTO
Potawatomi Area Council 651
2100 Summit Ave
Waukesha, WI 53188


Summitt Club
Longhorn Council 662
3631 Long Prarie Rd, Ste 108‐104
Flower Mound, TX 75028


Summitt Elementary PTA
Capitol Area Council 564
12207 Brigadoon Ln
Austin, TX 78727


Summitville Christian Church
Crossroads of America 160
P.O. Box 176
Summitville, IN 46070


Sumner Civitans Club
Old N State Council 070
2325 Concord Church Rd
Greensboro, NC 27406


Sumner Community Council
Greater St Louis Area Council 312
4248 Cottage Ave
Saint Louis, MO 63113


Sumner Group, Inc
dba Datamax of Texas
800 Freeport Pkwy, Ste 400
Coppell, TX 75019


Sumner Morse
Address Redacted


Sumpter Parent Club
Cascade Pacific Council 492
6475 13th Ave Se
Salem, OR 97306
Sumter County Fire Dept
Pee Dee Area Council 552
315 N Lafeytte Dt
Sumter, SC 29150


Sumter County Sheriff Office
Pee Dee Area Council 552
1281 N Main St
Sumter, SC 29153


Sun Advocate
845 E Main
Price, UT 84501


Sun Badge Co
2248 S Baker Ave
Ontario, CA 91761


Sun Belt Office   Data Suppliers, Inc
200 Sside Dr
Charlotte, NC 28217‐1728


Sun Belt Office Suppliers Inc
438 Crompton St
Charlotte, NC 28273


Sun Blaze Elementary PTA
Central Florida Council 083
9101 Randal Park Blvd
Orlando, FL 32832


Sun City Elks Lodge 2559
Grand Canyon Council 010
10760 W Union Hills Dr
Sun City, AZ 85373


Sun City Lodge 72 F Am
Grand Canyon Council 010
18810 N 107th Ave
Sun City, AZ 85373
Sun Gold Trophies
Attn Accts Payable
P.O. Box 1323
Mitchell, SD 57301


Sun King Window Tinting Inc
320 US Hwy One
Lake Park, FL 33403


Sun Ridge Elementary PTO
Central Florida Council 083
14455 Sunridge Blvd
Winter Garden, FL 34787


Sun Utd Methodist Church
Istrouma Area Council 211
P.O. Box 928
84005 Hwy 2


Sun Valley Presbyterian Church
Glaciers Edge Council 620
1650 Sun Valley Dr
Beloit, WI 53511


Sun Valley Youth Center
Denver Area Council 061
1230 Decatur St
Denver, CO 80204


Sunbank Solar, Inc
850 Front St, 7212
Santa Cruz, CA 95060


Sunbeam School
Lake Erie Council 440
Sunbeam
11731 Mount Overlook Ave
Cleveland, OH 44120


Sunbelt Letterpress
11252 Leo Ln
Dallas, TX 75229
Sunbelt Rentals
P.O. Box 409211
Atlanta, GA 30384‐9211


Sunbelt Usa, Inc
P.O. Box 760
La Verne, CA 91750


Sunburst Books Inc
700 S John Rodes Blvd, A‐8
West Melbourne, FL 32904


Sunbury Utd Methodist Church
Simon Kenton Council 441
100 W Cherry St
Sunbury, OH 43074


Suncook Valley Explorers
Daniel Webster Council, Bsa 330
59 Main St
Pittsfield, NH 03263


Suncreek Utd Methodist Church
Circle Ten Council 571
1517 W Mcdermott Dr
Allen, TX 75013


Suncrest Elementary School PTA
Crossroads of America 160
1608 W Kyger St
Frankfort, IN 46041


Suncrest Um Church
Drummond Chapel Campus
Mountaineer Area 615
479 Van Voorhis Rd
Morgantown, Wv 26505


Sundara Vinayagam Baskaran
Address Redacted
Sunderland Firemans Assoc
Western Massachusetts Council 234
105 River Rd
Sunderland, MA 01375


Sunderland Mens Club
Western Massachusetts Council 234
73 S Plain Rd
Sunderland, MA 01375


Sunera LLC
201 E Kennedy Blvd, Ste 415
Tampa, FL 33602


Sunflower
P.O. Box 5502
Topeka, KS 66605‐0502


Sunflower Elementary PTA
Heart of America Council 307
8955 Loiret Blvd
Lenexa, KS 66219


Sunflower Village Homes Assoc
Great Lakes Fsc 272
45800 Hanford Rd
Canton, MI 48187


Sung Ja King
Address Redacted


Sung King
Address Redacted


Sungard Corbel
P.O. Box 98698
Chicago, IL 60693


Sungold Foods, Inc
11505 S 38th St
Horace, ND 58047


Sungold Foods, Inc
P.O. Box 1187
Fargo, ND 58107‐1187


Sunman Community Fish And Game Inc
Hoosier Trails Council 145 145
8101 E County Rd 1250 N
Sunman, IN 47041


Sunny Days Catamarans Inc
201 Williams St Box 9
Key W, Fl 33040


Sunny Hill Elementary School PTO
Three Fires Council 127
2500 Helm Rd
Carpentersville, IL 60110


Sunny Isles Beach Elementary
201 182nd St
Sunny Isles Beach, FL 33160


Sunny Willow Swim Club
Cradle of Liberty Council 525
P.O. Box 79
Willow Grove, PA 19090


Sunnycrest Utd Methodist Church
Sioux Council 733
4801 W 41st St
Sioux Falls, SD 57106


Sunnylane Methodist Church
Last Frontier Council 480
2020 S Sunnylane Rd
Del City, OK 73115


Sunnylane Methodist Church Mens Club
Last Frontier Council 480
2020 S Sunnylane Rd
Del City, OK 73115


Sunnyside Alliance Church
Del Mar Va 081
P.O. Box 9
Secretary, MD 21664


Sunnyside Booster Club
Heart of America Council 307
16025 S Lindenwood Dr
Olathe, KS 66062


Sunnyside Elementary School
Crossroads of America 160
6345 Sunnyside Rd
Indianapolis, IN 46236


Sunnyside Elementary School As
Crossroads of America 160
6345 Sunnyside Rd
Indianapolis, IN 46236


Sunnyside Free Lutheran Church
Northern Star Council 250
22745 Typo Creek Dr Ne
Linwood, MN 55079


Sunnyside Hardward   Grocery, Inc
P.O. Box 715
Springer, NM 87747


Sunnyside Methodist Church
Flint River Council 095
P.O. Box 455
Sunny Side, GA 30284


Sunnyside Presbyterian Church
Grand Columbia Council 614
P.O. Box 373
Sunnyside, WA 98944
Sunnyside Reformed Church
Greater New York Councils, Bsa 640
4803 Skillman Ave
Sunnyside, NY 11104


Sunnyside School PTA
Bay‐Lakes Council 635
720 County Rd C
Sobieski, WI 54171


Sunnyside School PTA
Housatonic Council, Bsa 069
418 River Rd
Shelton, CT 06484


Sunnyside School PTO
Mississippi Valley Council 141 141
2040 Sunnyside Ave
Burlington, IA 52601


Sunnyvale Elks 2128
Silicon Valley Monterey Bay 055
375 N Pastoria Ave
Sunnyvale, CA 94085


Sunnyvale Moose Lodge
Silicon Valley Monterey Bay 055
905 Kifer Rd
Sunnyvale, CA 94086


Sunnyvale Presbyterian Church
Silicon Valley Monterey Bay 055
728 W Fremont Ave
Sunnyvale, CA 94087


Sunnyvale Public Safety Dept
Silicon Valley Monterey Bay 055
700 All America Way
Sunnyvale, CA 94086
Sunol Business Guild
San Francisco Bay Area Council 028
P.O. Box 94
Sunol, CA 94586


Sunridge Apts Charlotte Housing Auth
Mecklenburg County Council 415
4005 Sunridge Ln
Charlotte, Nc 28215


Sunrise Clothiers
916 Milwaukee Ave
South Milwaukee, WI 53172


Sunrise Elementary ‐ Gifw
Longhorn Council 662
4409 Stalcup Rd
Fort Worth, TX 76119


Sunrise Elementary School
Central Florida Council 083
1651 Mara Loma Blvd Se
Palm Bay, FL 32909


Sunrise Leadership Alliance
Alamo Area Council 583
525 County Rd 375
San Antonio, TX 78253


Sunrise Lions Lacey
Pacific Harbors Council, Bsa 612
P.O. Box 3366
6910 34th Ave Se
Lacey, WA 98509


Sunrise Optimist Club Of Lakewood
Denver Area Council 061
9364 W Colorado Ave
Lakewood, CO 80232


Sunrise Police Explorers
South Florida Council 084
10440 W Oakland Park Blvd
Sunrise, FL 33351


Sunrise Presbyterian Church
Coastal Carolina Council 550
3222 Middle St
Sullivans Island, SC 29482


Sunrise Presbyterian Church
South Florida Council 084
18400 NW 68th Ave
Hialeah, FL 33015


Sunrise PTO
Northern Lights Council 429
3800 Nickerson Ave
Bismarck, ND 58503


Sunrise Rotary
California Inland Empire Council 045
P.O. Box 2332
Blue Jay, CA 92317


Sunrise Rotary Club
East Texas Area Council 585
P.O. Box 8383
Tyler, TX 75711


Sunrise Rotary Club
Orange County Council 039
18935 Sunny Slope
Yorba Linda, CA 92886


Sunrise Rotary Of Camarillo
Ventura County Council 057
P.O. Box 3512
Camarillo, CA 93011


Sunrise School
Laurel Highlands Council 527
550 Aura Dr
Monroeville, PA 15146
Sunrise Scouters, Inc
South Florida Council 084
P.O. Box 450783
Fort Lauderdale, FL 33345


Sunrise Square Club 751
Suffolk County Council Inc 404
51 Forest Ave
West Babylon, NY 11704


Sunrise Utd Methodist Church
Grand Canyon Council 010
19234 N 7th Ave
Phoenix, AZ 85027


Sunrise Utd Methodist Church
Northern Star Council 250
7687 Long Lake Rd
Mounds View, MN 55112


Sunrise Utd Methodist Church
Occoneechee 421
5420 Sunset Lake Rd
Holly Springs, NC 27540


Sunrise Utd Methodist Church
Pacific Harbors Council, Bsa 612
150 S 356th St
Federal Way, WA 98003


Sunrise Utd Methodist Church
Pikes Peak Council 060
2655 Briargate Blvd
Colorado Springs, CO 80920


Sunrise Valley Elementary School PTA
National Capital Area Council 082
10824 Cross School Rd
Reston, VA 20191
Sunriser Lions
Montana Council 315
P.O. Box 905
Kalispell, MT 59903


Sunrisers Kiwanis Club
Pacific Harbors Council, Bsa 612
11828 120th Ave E
Puyallup, WA 98374


Sunrisers Kiwanis Club Of Corvallis
Oregon Trail Council 697
1180 NW Country Ct
Corvallis, OR 97330


Suns Of Tipton Kiwanis
Crossroads of America 160
935 Market Rd
Tipton, IN 46072


Sunsect, Inc
2910 Kerry Forest Pkwy D‐4 382
Tallahassee, FL 32309


Sunset Bible Church
Pacific Harbors Council, Bsa 612
5000 67th Ave W
University Pl, WA 98467


Sunset Business Communications Inc
Pee Dee Area Council 552
1001 Antlers Dr
Sumter, SC 29150


Sunset Canyon Baptist Church
Capitol Area Council 564
4000 E Hwy 290
Dripping Springs, TX 78620


Sunset Church Of Christ
South Florida Council 084
12001 SW 72nd St
Miami, FL 33183


Sunset Drive Utd Methodist Church
Stonewall Jackson Council 763
P.O. Box 381
Broadway, VA 22815


Sunset Elementary
East Texas Area Council 585
4378 State Hwy 149
Beckville, TX 75631


Sunset Elementary PTO
Cascade Pacific Council 492
9001 NE 95th St
Vancouver, WA 98662


Sunset Embroidery    Screen Printing
4001 N Runway Dr 115
Tucson, AZ 85705


Sunset Hill Stoneware LLC
1416 S Commercial St
Neenah, WI 54956


Sunset Hill Stoneware LLC
1416 S Commercial St, Ste A
Neenah, WI 54956‐4664


Sunset Hills Community Club
Mid‐America Council 326
9503 Walnut St
Omaha, NE 68124


Sunset Hills School Community Club
Mid‐America Council 326
9503 Walnut St
Omaha, NE 68124


Sunset Hills Utd Presbyterian Church
Laurel Highlands Council 527
900 Country Club Dr
Pittsburgh, PA 15228


Sunset Masonic Lodge
Cherokee Area Council 469 469
218 N Maple St
Nowata, OK 74048


Sunset Park Elementary School
Central Florida Council 083
12050 Overstreet Rd
Windermere, FL 34786


Sunset Ridge PTO
Heart of America Council 307
8110 W 144th Pl
Overland Park, KS 66223


Sunset Ridge School PTA
Northeast Illinois 129
525 Sunset Ridge Rd
Sunset Ridge School
Northfield, IL 60093


Sunset School Parent Teacher Org
San Francisco Bay Area Council 028
1671 Frankfurt Way
Livermore, CA 94550


Sunset Valley Elementery
Westmoreland Fayette 512
11605 Dickens Dr
North Huntingdon, PA 15642


Sunshine Center, Inc
Bay Area Council 574
1726 21st St
Galveston, TX 77550


Sunshine Coast Adventures
229 Banyan Ln
Tavernier, FL 33070
Sunshine Committee Scouts
Indian Nations Council 488
6703 E King St
Tulsa, OK 74115


Sunshine Emblem   Decal Inc
3363 Sheridan St, Ste 210
Hollywood, FL 33021


Sunshine Marine Canvas
271 Hibiscus St
Tavernier, FL 33070


Sunshine Utd Methodist Church
Simon Kenton Council 441
16 Tygarts Bend Rd
South Shore, KY 41175


Sunstone Press
P.O. Box 2321
Santa Fe, NM 87504‐2321


Suntreat
P.O. Box 562
Hurley, NM 88043


Suntree Utd Methodist Church
Central Florida Council 083
7400 N Wickham Rd
Melbourne, FL 32940


Sunwest Construction Specialties, Inc
1254 Calle De Comercio
Santa Fe, NM 87507


Suny Binghamton
Attn Financial Aid Services
P.O. Box 6000
Binghamton, NY 13902
Suny Cobleskill
Leatherstocking 400
1 State Route 7
Cobleskill, NY 12043


Suny Orange
Hudson Valley Council 374
1 Washington Ctr
Newburgh, NY 12550


Supabenja Digital Inc
2015 Redding Ln
Durham, NC 27712


Super Laundry
dba Csc Service Works
35 Corporate Dr, Ste 220
Burlington, MA 01803


Super Sailmakers
4710‐C NW 15th Ave
Ft Lauderdale, FL 33309


Super Shuttle
1840 W Airfield Dr
Dallas, TX 75261


Superior Building Services Inc
3158 S 108th Ave, Ste 274
Tulsa, OK 74146


Superior Building Services Inc
dba First Maintenance Co
P.O. Box 470548
Tulsa, OK 74147


Superior Carpet Cleaning
282 Baltzer Rd
Wetumpka, AL 36092
Superior Electric Of Fl Keys Inc
935 107th St, Warehouse D
Marathon, FL 33050


Superior Electric Of Fl Keys Inc
c/o David Rodriguez
P.O. Box 522672
Marathon Shores, FL 33052


Superior Elementary School
Lake Erie Council 440
1865 Garfield Rd
East Cleveland, OH 44112


Superior Equipment Solutions
7039 E Slauson Ave
Commerce, CA 90040


Superior Imprints Inc
4226 6th Ave S
Seattle, WA 98108


Superior Lamp Inc
P.O. Box 566
Moorhead, MN 56561‐0566


Superior Lending Assoc
Utah National Parks 591
1031 W Center St, Ste 202
Orem, UT 84057


Superior Livestock Auction
1155 N Colorado Ave
Brush, CO 80723


Superior Plumbing Svc Inc
3991 Royal Dr
Kennesaw, GA 30144


Superior Portage Pads
1110 N 8th St
Superior, WI 54880


Superior Press
11930 Hamden Pl
Santa Fe Springs, CA 90670


Superior Products
P.O. Box 64177
St Paul, MN 55164


Superior Propane
P.O. Box 4568, Stn A
Toronto, On M5W 0J5
Canada


Superior Van   Mobility LLC
1506 Lakeshore Ct
Louisville, KY 40223


Superior Van   Mobility LLC
5410 Madison Ave
Indianapolis, IN 46227


Superlogics Inc
dba Superlogics
9 Mercer Rd
Natick, MA 01760


Supermedia LLC
Attn Acct Receivable Dept
P.O. Box 619009
Dfw Airport, TX 75261‐9009


Supernova Foto LLC
6646 NW 1st St
Margate, FL 33063


Superstition Foothills Baptist Church
Grand Canyon Council 010
6338 S Kings Ranch Rd
Gold Canyon, AZ 85118
Supervalu Inc
11840 Valley View Rd
Eden Prairie, MN 55344


Supervalu Inc
dba Associated Grocers of Fl Inc
1141 SW 12th Ave
Pompano Beach, FL 33069


Supervalu Inc
dba Associated Grocers of Fl Inc
11840 Valley View Rd
Eden Prairie, MN 55344


Supervalu Inc
P.O. Box 746206
Atlanta, GA 30374‐6206


Suppers 469, Trinity Presbyterian Ch
Atlanta Area Council 092
8014 Cumming Hwy 403‐325
Canton, Ga 30115


Supplee Memorial Presbyterian Church
Cradle of Liberty Council 525
855 E Welsh Rd
Maple Glen, PA 19002


Supply Depot
Accounts Payable
310 SE Railroad St
Bend, OR 97702‐1330


Supply Sergeant
1115 Ludington St
Escanaba, MI 49829


Supply Special Events
68 Crossroads Mall
Mount Hope, WV 25880
Supplyone Rockwell, Inc
P.O. Box 534331
Atlanta, GA 30353‐5331


Supplyworks
P.O. Box 848392
Dallas, TX 75284‐8392


Supporters Of 2911
Five Rivers Council, Inc 375
333 E Water St, Ste 200
Elmira, NY 14901


Supporters Of Awsu Netopolis Chapter
Lincoln Heritage Council 205
708 Wport Rd
Elizabethtown, KY 42701


Supporters Of BSA Troop 278
Longs Peak Council 062
1607 S Elbert Ct
Superior, CO 80027


Supporters Of Pack And Troop 714
Attn Shawn Harmer
Pony Express Council 311
303 Perrin St
Edgerton, MO 64444


Supporters Of Troop 278
Longs Peak Council 062
1607 S Elbert Ct
Superior, CO 80027


Supportive Citizens Of Grove Valley
Last Frontier Council 480
20319 Antler Farms Dr
Edmond, OK 73012


Supreme Products Inc
P.O. Box 550
Sterling Heights, MI 48311


Supreme Security Systems Inc
P.O. Box 775
Union, NJ 07083‐0775


Surefire, LLC
18300 Mt. Baldy Cir
Accounts Receivable
Fountain Valley, CA 92708


Sureride Inc
1523 Wilson Ave
National City, CA 91950


Surfside Hotel Of Daytona Beach Shores
3209 S Atlantic Ave
Daytona Beach Shores, FL 32118


Surfside Prints Inc
Ventura County Council 057
2686 Johnson Dr, Ste D
Ventura, CA 93003


Surfside Utd Methodist Church
Pee Dee Area Council 552
800 13th Ave N
Surfside Beach, SC 29575


Surplus Outlet Inc
200 Sheldon
Houghton, MI 49931


Surprise Police Dept
Grand Canyon Council 010
14250 W Statler Plaza
Surprise, AZ 85374


Surry Youth Leadership
Surry Central Hosa
Old Hickory Council 427
716 S Main St
Dobson, Nc 27017


Survey Analytics LLC
3518 Fremont Ave N 598
Seattle, WA 98103


SurveymonkeyCom LLC
c/o Bank of America P.O. Box Services
15765 Collections Ctr Dr
Chicago, IL 60693


Surveyors Supply Superstore, Inc
3806 Carlisle Blvd Ne
Albuquerque, NM 87107


Survivor Firestarters
5423 Timberview Way
Marlborough, MA 01752


Susan Ambrosy
Address Redacted


Susan Ashley
Address Redacted


Susan Ayling
Address Redacted


Susan Baczewski
Address Redacted


Susan Barton
Address Redacted


Susan Bazdor
Address Redacted
Susan Bennett‐Loftus
Address Redacted


Susan Berg
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Susan Bethune
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Susan Biondolino
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Susan Bollinger
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Susan Boone Amos
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Susan Boot
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Susan Brown
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Susan Eckbloom
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Susan Emerson
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Susan Fitzhugh
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Susan Gamalski
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Susan Grace
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Susan Hardin
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Susan Harmon
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Susan Hart
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Susan Henry Walters
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Susan Hodges‐Andrews
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Susan Hrutky
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Susan Hunt
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Susan Hurley
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Susan Hutter
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Susan J Thalheimer
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Susan Jackson
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Susan Jeter
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Susan Jones
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Susan Juber
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Susan Kempf
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Susan L Nettles
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Susan Larsen
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Susan Larson
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Susan Leibowitz
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Susan Loveland
Dba Acorn Counseling Pllc
136 Old San Antonio Rd, Ste 103
Boerne, TX 78006


Susan Lynn Mcculley
Address Redacted


Susan M Duncan Family Ymca
Denver Area Council 061
6350 Eldridge St
Arvada, CO 80004


Susan Martin
Address Redacted


Susan Massey
Address Redacted


Susan Mccaughan
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Susan Mckimmy
Address Redacted
Susan Mellor
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Susan Meyer
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Susan Miller
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Susan Mullin
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Susan Myers
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Susan Nagy
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Susan Newville
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Susan Osuna
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Susan Petrehn
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Susan Pfeiffer
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Susan Pitman
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Susan Porter
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Susan Posey
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Susan Ranspot
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Susan Ratcliff
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Susan Remine
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Susan Rivera
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Susan Roman
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Susan Romney
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Susan Rutty
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Susan Sallee
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Susan Scheideman
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Susan Schneider
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Susan Settle
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Susan Shaffer
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Susan Shiells
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Susan Shoemaker
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Address Redacted


Susan Spalter
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Susan Spatt
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Susan Stevens
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Susan Stone
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Susan Sutton
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Susan Thompson
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Susan Thwaite
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Susan Treganza
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Susan Vyskocil
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Susan Wagner
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Susan Walker
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Susan Ward
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Susan Wattier
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Susan Williams
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Susan Williamson
Address Redacted


Susann Mcelroy
Address Redacted
Susanna Mikkelson
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Susanna Wesley Utd Methodist Church
Jayhawk Area Council 197
7433 SW 29th St
Topeka, KS 66614


Susannah Johnson
Address Redacted


Susannah Rose Tuminelli
Address Redacted


Susanville Police Dept
Nevada Area Council 329
1801 Main St
Susanville, CA 96130


Susanville Volunteer Fire Dept
Nevada Area Council 329
1505 Main St
Susanville, CA 96130


Suse F Bell
Address Redacted


Susick School PTO
Great Lakes Fsc 272
2200 Castleton Dr
Troy, MI 48083


Susie D Lutt
Address Redacted


Suspenz Inc
8725 Roswell Rd O‐220
Atlanta, GA 30350


Susquehanna
815 Nway Rd
Williamsport, PA 17701


Susquehanna Cncl 533
815 Nway Rd
Williamsport, PA 17701‐3815


Susquehanna Community Elementary School
Baden‐Powell Council 368
3192 Turnpike St
Susquehanna, PA 18847


Susquehanna University
514 University Ave
Selinsgrove, PA 17870


Sussex Kiwanis
Patriots Path Council 358
7 Up A Way Dr
Sussex, NJ 07461


Sussex Lions Club
Potawatomi Area Council 651
W220N5393 Town Line Rd
Sussex, WI 53089


Sussex Utd Methodist Church
Patriots Path Council 358
15 Bank St
Sussex, NJ 07461


Sustainable Development
1007 Century St
Winnipeg, Mb R3H 0W4
Canada


Sustainable Food Systems LLC
88 S Main St
Wallingford, CT 06492


Sustainable Forestry Initiative Inc
P.O. Box 424048
Washington, DC 20042‐4048


Sustainable Forestry Initiative, Inc
2121 K St Nw, Ste 750
Washington, DC 20037


Sustainable Life Media, Inc
608 Burlingame Ave
Burlingame, CA 94010


Sustainable Life Media, Inc
Amalgamated Bank
255 California St, Ste 600
San Francisco, CA 94111


Sutherland Lions Club
Overland Trails 322
P.O. Box 121
Sutherland, NE 69165


Sutherland Ruritan Club
Heart of Virginia Council 602
P.O. Box 57
Sutherland, VA 23885


Sutter Lions Club
Golden Empire Council 047
P.O. Box 503
Sutter, CA 95982


Sutter Roofing   Metal Co Inc
P.O. Box 2036
Clarksburgh, WV 26302


Sutton ‐ Fire Dept
Heart of New England Council 230
4 Uxbridge Rd
Sutton, MA 01590


Sutton ‐ First Congregational Church
Heart of New England Council 230
Boston Rd At Common
Sutton, MA 01590


Sutton ‐ St Marks Roman Catholic Church
Heart of New England Council 230
356 Boston Rd
Sutton, MA 01590


Sutton Bible Church
Great Alaska Council 610
P.O. Box 250
Sutton, AK 99674


Sutton Fire   Rescue
Daniel Webster Council, Bsa 330
P.O. Box 158
North Sutton, NH 03260


Suttons Bay Rotary Club
President Gerald R Ford 781
P.O. Box 45
Suttons Bay, MI 49682


Suunto Usa
P.O. Box 3137
Carol Stream, IL 60132‐3137


Suwannee River Area
2032 Thomasville Rd
Tallahassee, FL 32308‐0734


Suwannee River Cncl 664
2032 Thomasville Rd
Tallahassee, FL 32308


Suzana Sandoval
Address Redacted


Suzann Young
Address Redacted
Suzannah Stulberg‐Rudesill
Address Redacted


Suzanne Baldwin
Address Redacted


Suzanne Bishopp
Address Redacted


Suzanne Blair
Address Redacted


Suzanne Blake
Address Redacted


Suzanne Blakeley
Address Redacted


Suzanne Braun
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Suzanne Brown
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Suzanne Carl
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Suzanne Carr
Address Redacted


Suzanne Craig
Address Redacted


Suzanne Craig Represents, Inc
4015 E 53rd St
Tulsa, OK 74135
Suzanne Cummings
Address Redacted


Suzanne Herrmann
Address Redacted


Suzanne Morrison
Address Redacted


Suzanne Newton
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Suzanne Parisi Rose
Address Redacted


Suzanne Rees
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Suzanne Robinson
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Suzanne Stalker
Address Redacted


Suzanne Trigonis
Address Redacted


Suzanne Voss
Address Redacted


Suzanne Weaver‐Ross
Address Redacted


Suzette Vanosdall
Address Redacted


Suzhou Singapore International School
Far E Council 803
208 Zhong Nan St
Suzhou,
China


Svante Palm Elementary Ace
Capitol Area Council 564
7601 Dixie Dr
Austin, TX 78744


Sven Gilkey
Address Redacted


Sw Carver County Fire Explorers
Northern Star Council 250
907 Serenity Cir
Norwood Young America, MN 55397


Sw Concerned Parents Of Randolph
Atlanta Area Council 092
5320 Campbellton Rd Sw
Atlanta, GA 30331


Sw Det Community School
Great Lakes Fsc 272
4001 29th St
Detroit, MI 48210


Sw Photographic
3115 Mapleleaf Ln
Dallas, TX 75233


Swafford Services
411 Whispering Hills Dr
Coppell, TX 75019


Swagelok Co
Lake Erie Council 440
29500 Solon Rd
Solon, OH 44139
Swain S Outdoor
Attn A/P
551 W Washington St, Ste 3
Sequim, WA 98382


Swamp Lutheran Church
Pennsylvania Dutch Council 524
275 Swamp Church Rd
Reinholds, PA 17569


Swampfox Motorsports Inc
2649 Maple Acres Rd
Princeton, WV 24740


Swan Hillman School PTO
Blackhawk Area 660
3701 Green Dale Dr
Rockford, IL 61109


Swan Lake Memorial Park Cemetery
Heart of America Council 307
30000 Valor Dr
Grain Valley, MO 64029


Swann‐Gehr Post 197 American Legion
Blackhawk Area 660
807 Exchange St
Brodhead, WI 53520


Swans Creek Elementary School
National Capital Area Council 082
17700 Swans Creek Ln
Dumfries, VA 22026


Swansboro Utd Methodist Men
East Carolina Council 426
665 W Corbett Ave
Swansboro, NC 28584


Swansea Fire Dept
Greater St Louis Area Council 312
1350 N Illinois St
Swansea, IL 62226


Swanson Elementary School PTO
Potawatomi Area Council 651
305 N Calhoun Rd
Brookfield, WI 53005


Swanson S Moving And Delivery
Catalina Council 011
8300 E Valencia Rd, Unit 6
Tucson, AZ 85747


Swanton Chamber Of Commerce
Green Mountain 592
Merchants Row
Swanton, VT 05488


Swanton Community Center
Laurel Highlands Council 527
P.O. Box 154
Swanton, MD 21561


Swanton Vfw Post 778
Green Mountain 592
8 Merchants Row
Swanton, VT 05488


Swanville Lions Club
Central Minnesota 296
P.O. Box 243
Swanville, MN 56382


Swanzey First Congregational Church
Daniel Webster Council, Bsa 330
679 Old Homestead Hwy
Swanzey, NH 03446


Swarm Builder, Inc
224 S 200 W, Ste 230
Salt Lake City, UT 84101
Swarmbuilder, Inc
75 Remittance Dr, Ste 6025
Chicago, IL 60675‐6025


Swarthmore College
Attn Student Accounts
500 College Ave
Swarthmore, PA 19081


Swarthmore Presbyterian Church
Cradle of Liberty Council 525
727 Harvard Ave
Swarthmore, PA 19081


Swartz   Swartz, P.C, And
Paul Mones, PC
re Plaintiff
10 Marshall St
Boston, MA 02108


Swartz   Swartz, P.C, And
Paul Mones, PC
re Plaintiff
13101 Washington Blvd
Los Angeles, CA 90066


Swartz   Swartz, PC
Attn James A. Swartz
10 Marshall St
Boston, MA 02108


Swartz Creek Methodist Men‐Methodist
Water and Woods Council 782
7400 Miller Rd
Swartz Creek, MI 48473


Swc At Academie Lafayette Cherry
Heart of America Council 307
2803 E 51st St
Kansas City, MO 64130


Swc At Academie Lafayette Oak
Heart of America Council 307
6903 Oak St
Kansas City, MO 64113


Swc At Brush Creek Community Center
Heart of America Council 307
3801 Brush Creek Blvd
Kansas City, MO 64130


Swc Enterprises LLC
dba Seattle Pump and Equip Co/Jetters Nw
2222 15th Ave Wast
Seattle, WA 98119


Swc Inc
7351 Coca Cola Dr, Ste 100
Hanover, MD 21076


Swc Inc
dba Pebble Beach
P.O. Box 37588
Baltimore, MD 21297‐3588


Swc, Inc/Design In Motion, Inc
7351 Coca Cola Dr, Ste 100
Hanover, MD 21076


Swedish American Hospital
Blackhawk Area 660
1401 E State St
Rockford, IL 61104


Swedish Guide    Scout Council
Box 420 34
Stockholm, 12612
Sweden


Sweeney, Reich   Bolz, LLP
Attn Michael G Dowd, Gerard J Sweeney
re Plaintiff
600 3rd Ave, 15th Fl
New York, NY 10016
Sweeney, Reich   Bolz, LLP
Attn Michael G Dowd, Gerard J Sweeney
re Plaintiff
1981 Marcus Ave, Ste 200
Lake Success, NY 11042


Sweeny Lions Club
Bay Area Council 574
707 Twin Oak St
Sweeny, TX 77480


Sweeny Reich   Bolz, LLP
Attn Gerard Sweeney
1981 Marcus Ave, Ste 200
Lake Success, NY 11042


Sweet Fern Soap Co
P.O. Box 91
Ely, MN 55731


Sweet Gum Ame Zion Church
Tukabatchee Area Council 005
560 Old Montgomery Hwy
Shorter, AL 36075


Sweet Haven Worshop LLC
Sequoyah Council 713
19134 US Hwy 23 N
Duffield, VA 24244


Sweet Home Middle School PTA
Greater Niagara Frontier Council 380
4150 Maple Rd
Amherst, NY 14226


Sweet Nut Hut   Invitation Station
1938 Deer Park Ave
Deer Park, NY 11729


Sweet Revenge Bbq Co
Lasalle Council 165
P.O. Box 300
New Carlisle, IN 46552


Sweet Understandings , LLC
P.O. Box 278
Portales, NM 88130


Sweet Valley Church Of Christ
Northeastern Pennsylvania Council 501
5439 Main Rd
Sweet Valley, PA 18656


Sweeteez LLC
c/o Sharon K Gravely
241 Fairview Ave
Beckley, WV 25801


Sweetwater Sound, Inc
5501 US Hwy 30 W
Fort Wayne, IN 46818


Sweetwater Vigil Aliance
Atlanta Area Council 092
3161 Cedardale Dr
Douglasville, GA 30135


Sweetwood Cattle Co, Inc
2670 Copper Ridge Cir 3
Steamboat Springs, CO 80487


Swenke PTO
Sam Houston Area Council 576
22400 Fairfield Pl Dr
Cypress, TX 77433


Swepsonville Vol Fire Dept Inc
Old N State Council 070
2744 Darrell Newton Dr
Graham, NC 27253
Swept Away Coach And Tours
P.O. Box 22757
Savannah, GA 31403


Swibco Inc
4810 Venture St
Lisle, IL 60532


Swift Creek Mill Theater
P.O. Box 41
Colonial Heights, VA 23834


Swift Shopper Inc
274 E Eau Gallie 370
Indian Harbour Beach, FL 32937


Swim Creative LLC
310 E Superior St, Ste 220
Duluth, MN 55802


Swing Frame Mfg
151 S Main St
Freeport, NY 11520


Swing Lift Usa, Inc
417 1st Ave
Dallas, TX 75226


Swire Pacific Holdings Inc
12634 S 265 W
Draper, UT 84020


Swire Pacific Holdings Inc
Swire Coca‐Cola Usa
P.O. Box 912906
Denver, CO 80291‐2906


Switlik School
Jersey Shore Council 341
75 W Veterans Hwy
Jackson, NJ 08527
Switzer Parent Teacher Org
Great Lakes Fsc 272
53200 Shelby Rd
Shelby Township, MI 48316


Swk Properties, LLC
dba Holiday Inn Orange County Airport
2726 S Grand Ave
Santa Ana, CA 92705


Swope Construction Co Inc
1325 Bluefield Ave
Bluefield, WV 24701


Swoyersville Volunteer Hose Co
Northeastern Pennsylvania Council 501
299 Slocum St
Swoyersville, PA 18704


Swreg Inc
88228 Expedite Way
Chicago, IL 60695‐0001


SY Lee   Assoc
W.L.A.C.C. 051
216 S Jackson St, Ste 101
Glendale, CA 91205


Sybene Independent Missionary Baptist Ch
Buckskin 617
9231 County Rd 1
South Point, Oh 45680


Sycamore Police Dept
Three Fires Council 127
535 Dekalb Ave
Sycamore, IL 60178


Sycamore School
Crossroads of America 160
1750 W 64th St
Indianapolis, IN 46260


Sycamore Shoals State Historic Area
Sequoyah Council 713
1651 W Elk Ave
Elizabethton, TN 37643


Sycamore Sportsman Club
Three Fires Council 127
1773 W Motel Rd
Sycamore, IL 60178


Sycamore Trail Pts
Three Fires Council 127
1025 Sycamore Ln
Bartlett, IL 60103


Sycamore Tree Utd Methodist Church
Great Smoky Mountain Council 557
1830 Clydesdale St
Maryville, TN 37801


Sycamore Utd Methodist Church
Three Fires Council 127
160 Johnson Ave
Education Commission


Syclone Corp
P.O. Box 6224
Reno, NV 89513


Sydenstricker Utd Methodist Church
National Capital Area Council 082
8507 Hooes Rd
Springfield, VA 22153


Sydenstricker Utd Methodist Church
National Capital Area Council 082
8508 Hooes Rd
Springfield, VA 22153
Sydney E Hamlett
Address Redacted


Sydney L Clark
Address Redacted


Sydney L Shaller
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Sydney O Schaus
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Sydney P Becker
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Sydney Pastore
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Sydney Slade
Address Redacted


Syed Naqvi
Address Redacted


Sykesville Lions Club
Bucktail Council 509
P.O. Box 115
Sykesville, PA 15865


Sykesville‐Freedom District Fire Dept
Baltimore Area Council 220
P.O. Box 275
6680 Sykesville Rd
Sykesville, MD 21784


Sylmar Civic Assoc
W.L.A.C.C. 051
P.O. Box 923491
Sylmar, CA 91392


Sylvan Hills Church Of Christ
Quapaw Area Council 018
117 W Maryland Ave
Sherwood, AR 72120


Sylvan Ruritans
Old N State Council 070
722 E Greensboro Chapel Hill Rd
Snow Camp, NC 27349


Sylvania Area Family Services
Erie Shores Council 460
5440 Marshall Rd
Sylvania, OH 43560


Sylvania Police Dept
Erie Shores Council 460
6635 Maplewood Ave
Sylvania, OH 43560


Sylvania Utd Methodist Church
Erie Shores Council 460
7000 Erie St
Sylvania, OH 43560


Sylvester Love
Address Redacted


Sylvester Springs
Address Redacted


Sylvia Ader
Address Redacted


Sylvia D Flores
Address Redacted


Sylvia Jackson
Address Redacted


Sylvia Johnson
Address Redacted


Sylvia Llora
Address Redacted


Sylvia Mccullar
Address Redacted


Sylvia Robinson
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Sylvia Shockley
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Sylvia Torres
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Sylvia Ward
Address Redacted


Sylvia Whaley
Address Redacted


Symantec
555 International Way
Springfield, OR 97477


Symbol Arts LLC
6083 S 1550 E
Ogden, UT 84405


Symbol Technologies Inc
P.O. Box 198586
Atlanta, GA 30384‐8586
Symphonix Solutions
127 W Worthington Ave, Ste 230
Charlotte, NC 28203


Symphonix Solutions, Inc
623 S Cedar St
Charlotte, NC 28202


Synaptic Cleft Inc
2268 N Beachwood Dr
Hollywood, CA 90068


Syncb/Amazon
P.O. Box 530958
Atlanta, GA 30353‐0958


Synchronet Intermodal Services Inc
4473 Willow Rd, Ste 250
Pleasanton, CA 94588


Synchrony Bank
C/O Pra Receivables Management, Llc
Attn Valerie Smith
P.O. Box 41021
Norfolk, VA 23541


Syndics Research Corp
5164 Village Creek, Ste 300
Plano, TX 75093


Syneva Economics
25 Saddlebrook Ln
Clyde, NC 28721


Synnamon Taylor
Address Redacted


Synnestvedt Lechner   Woodbridge, LLP
1101 Market St, Ste 2600
Philadelphia, PA 19107‐2950
Synovus Bank
Suwannee River Area Council 664
601 N Monroe St
Tallahassee, FL 32301


Syosset‐Woodbury Rotary Club
Theodore Roosevelt Council 386
31 Meadowbrook Rd
Syosset, NY 11791


Syracuse University
Attn Office of Aid and Scholarships
200 Archbold N
Syracuse, NY 13244‐1140


Syracuse University
Attn Scholarship Office
216 Archbold N
Syracuse, NY 13244‐1140


Syracuse‐Wawasee Rotary
Charitable Fndn Inc
Anthony Wayne Area 157
P.O. Box 3
10344 N 500 E
Syracuse, In 46567


Sysco
P.O. Box 25887
Albuquerque, NM 87125‐5887


Sysco Food Services ‐ Winnipeg
P.O. Box 130 Station Main
Winnipeg, Mb R3C 2G1
Canada


Sysco Food Services‐Va LLC
P.O. Box 20020
Harrisonburg, VA 22801


Sysco Foods Of Kansas City
1915 E Kansas City Rd
Olathe, KS 66061‐5858


Sysco Minnesota Inc
P.O. Box 49730
Blaine, MN 55449‐0730


Sysco South Florida Inc
P.O. Box 64000‐A
Miami, FL 33164


Sysco/Louisville
P.O. Box 32470
Louisville, KY 40232‐2470


Syska Hennessy Group Inc
Greater New York Councils, Bsa 640
1515 Broadway 15th Fl
New York, NY 10036


Systems Support Inc
dba Disaster Recovery Journal
1862 Old Lemay Ferry Rd
Arnold, MO 63010


Syt Global Inc
Cradle of Liberty Council 525
699 Ranstead St, Ste 1
Philadelphia, PA 19106


T   N Printing
205 12th St Ne
Charlottesville, VA 22902


T B Equipment Co Inc
11065 Leadbetter Rd
Ashland, VA 23005


T Bar M Resort
2549 Hwy 46 W
New Braunfels, TX 78132
T Clay Wood Elementary School
National Capital Area Council 082
10600 Kettle Run Rd
Nokesville, VA 20181


T Eppard
Address Redacted


T G Terry Special Education
Circle Ten Council 571
6661 Greenspan Ave
Dallas, TX 75232


T Gray
Address Redacted


T Gray Electric Co Inc
3404 Jane Ln
Dallas, TX 75247


T Gregory Taylor
Address Redacted


T I P S Technical Publishing Inc
108 E Main St, Ste 4
Carrboro, NC 27510


T L Pink PTO
Sam Houston Area Council 576
1001 Collins Rd
Richmond, TX 77469


T M Express
P.O. Box 2133
Grapevine, TX 76099


T M Pierce Elementary School
Cradle of Liberty Council 525
2300 W Cambria St
Philadelphia, PA 19132


T Maks International Inc
2100 Corporate Square Blvd, Ste 100
Jacksonville, FL 32216


T Michael King
Address Redacted


T Q L Inc
4845 Cash Rd
Dallas, TX 75247


T S Storage Containers Inc
P.O. Box 3781
Omaha, NE 68103


T Shon Young
Address Redacted


T W Ogg Elementary School
Bay Area Council 574


T White Construction LLC
201 A Hartsook Rd
Clintonville, WV 24931


T Willis
Address Redacted


T623 Leadership Oversight Panel
California Inland Empire Council 045
1749 W 13th St
Upland, CA 91786


Ta Meka Nichole Vickers
Address Redacted


TA Sims Elementary ‐ Gifw
Longhorn Council 662
3500 Crenshaw Ave
Fort Worth, TX 76105


Taadhameka Kennedy Robinson
Address Redacted


Taase Boese
Address Redacted


Taase Talalupe Boese
Address Redacted


Tabatha Hensley
Address Redacted


Taberg Volunteer Fire Co
Leatherstocking 400
P.O. Box 26
Taberg, NY 13471


Tabernacle Baptist Church
Hawkeye Area Council 172
2050 12th Ave
Coralville, IA 52241


Tabernacle Fire Co
Garden State Council 690
76 Hawkin Rd
Tabernacle, NJ 08088


Tabernacle Missionary Baptist Church
Gulf Stream Council 085
801 8th St
West Palm Beach, FL 33401


Tabernacle Of The Lord Jesus Christ
Miami Valley Council, Bsa 444
1502 Waco St
Troy, OH 45373
Tabernacle Presbyterian Church
Crossroads of America 160
418 E 34th St
Indianapolis, IN 46205


Tabernacle Rescue Squad Inc
Garden State Council 690
134 New Rd
Tabernacle, NJ 08088


Tabernacle Umc Methodist Men S Club
National Capital Area Council 082
7310 Old Plank Rd
Fredericksburg, VA 22407


Tabernacle Utd Methodist Church
Alabama‐Florida Council 003
4205 S Brannon Stand Rd
Taylor, AL 36305


Tabernacle Utd Methodist Church
Colonial Virginia Council 595
831 Poquoson Ave
Poquoson, VA 23662


Tabernacle Utd Methodist Church
Garden State Council 690
702 Seashore Rd
Cape May, NJ 08204


Tabernacle Utd Methodist Church
Old N State Council 070
5721 Methodist Rd
Greensboro, NC 27406


Tabitha Alexander
Address Redacted


Tabitha Brown
Address Redacted
Table Mound School PTA
Northeast Iowa Council 178
100 Tower Dr
Dubuque, IA 52003


Tableau Software Inc
P.O. Box 204021
Dallas, TX 75320‐4021


Tables   Chairs Inc
2135 American Industrial Way
Atlanta, GA 30341


Tabletop Generals LLC
Alamo Area Council 583
2543 Jackson Keller Rd
San Antonio, TX 78230


Tabor Lutheran Church
Connecticut Yankee Council Bsa 072
45 Tabor Dr
Branford, CT 06405


Tabor Utd Methodist Church
Mid‐America Council 326
P.O. Box 370
516 Orange St


Tac Booster Club Inc
Southwest Florida Council 088
1201 N Beneva Rd
Sarasota, FL 34232


Tacoma Police Dept
Pacific Harbors Council, Bsa 612
3701 S Pine St
Tacoma, WA 98409


TADooley Council 5303 Knights Of Col
Greater Yosemite Council 059
112 Reed Rd
Oakdale, CA 95361


Tadpole Investment Properties LLC
dba Creek Stewart
1811 Wood Valley Dr
Carmel, IN 46032


Tadpole Investment Properties LLC
dba Creek Stewart
2867 N 200 E
Anderson, IN 46012


Taduntada Productions LLC
Circle Ten Council 571
408 N Village Dr
Mckinney, TX 75071


Taeko Singer
Address Redacted


Taft Elementary School
Pacific Skyline Council 031
903 10th Ave
Redwood City, CA 94063


Taft Midway Lodge 426 F Am
Southern Sierra Council 030
521 N St
Taft, CA 93268


Taft PTA
Cimarron Council 474
1002 Sequoyah Dr
Enid, OK 73703


Tafton Fire Co Inc
Northeastern Pennsylvania Council 501
P.O. Box 500
Paupack, PA 18451


Tagen Vine
Address Redacted


Tahosa Alumni Assoc
Denver Area Council 061
P.O. Box 102938
Denver, CO 80250


Tahsin Industrial Corp Usa
111 Howard Blvd, Ste 206
Mount Arilington, NJ 07856


Tailfin Creations LLC
Crater Lake Council 491
3073 E Evans Creek Rd
Rogue River, OR 97537


Tailored Lighting Inc
50 Bermar Park, Ste 4A
Rochester, NY 14624


Tailors House, Inc
481 Charlie Smith Sr Hwy
St Marys, GA 31558


Taipei Youth Program Assn
Far E Council 803
800 Chung Shan N Rd Sec 6, 11152
Taipei, 11135
Taiwan


Taishoji Soto Mission
Aloha Council, Bsa 104
275 Kinoole St
Hilo, HI 96720


Take It Outside
Heart of America Council 307
110 S Main St
Ottawa, KS 66067


Takkt America Holding, Inc
dba Retail Resource
25180 Network Pl
Chicago, IL 60673‐1251


Takkt America Holding, Inc
dba Retail Resource
770 S 70th St
Milwaukee, WI 53214


Takoma Park Presbyterian Church
National Capital Area Council 082
310 Tulip Ave
Takoma Park, MD 20912


Talas
330 Morgan Ave
Brooklyn, NY 11211


Talbott Steam Innovation School Psp
Pikes Peak Council 060
401 Dean Dr
Colorado Springs, CO 80911


Taleff Law Office
300 River Dr N, Ste 5
Great Falls, MT 59401


Talend Inc
Dept 34504
P.O. Box 39000
San Francisco, CA 94139


Talented Tenth Young Inventors
Pathway To Adventure 456
8952 S May St
Chicago, IL 60620


Talkington Boys   Girls Club
South Plains Council 694
2603 Kewanee
Lubbock, TX 79407
Tall Pines Baptist Church
Coastal Carolina Council 550
645 Treeland Dr
Ladson, SC 29456


Tall Ships Portland
Pine Tree Council 218
P.O. Box 517
30 Danforth St,Me 04101
Portland, ME 04112


Tallahassee Exchange Club
Suwannee River Area Council 664
P.O. Box 1371
Tallahassee, FL 32302


Tallahassee Heights Umc
Suwannee River Area Council 664
3004 Mahan Dr
Tallahassee, FL 32308


Tallahassee Heights Utd Methodist
Suwannee River Area Council 664
3004 Mahan Dr
Tallahassee, FL 32308


Tallahassee Police Dept
Suwannee River Area Council 664
234 E 7th Ave
Tallahassee, FL 32303


Tallassee Fire Dept
Tukabatchee Area Council 005
123 N Ann Ave
Tallassee, AL 36078


Talley Law Firm P.A.
134 Oakland Ave
Spartanburg, SC 29302


Tallman Pro Shop
James Tallman
716 Harrison St
Jerseyville, IL 62052


Talmon Butler
Address Redacted


Talon B Parker
Address Redacted


Tamalpais Valley Community District
Marin Council 035
305 Bell Ln
Mill Valley, CA 94941


Tamara Bush
Address Redacted


Tamara Buss
Address Redacted


Tamara Dreger
Address Redacted


Tamara Genin
Address Redacted


Tamara Letitia Hill
Address Redacted


Tamara Lowry
Address Redacted


Tamara Patricia Schieberl
Address Redacted


Tamara Schieberl
Address Redacted
Tamarack Conference Center
One Tamarack Park
Beckley, WV 25801


Tamarack Hollow
Western Massachusetts Council 234
P.O. Box 115
Windsor, MA 01270


Tamarack PTO
Sequoia Council 027
1000 S Union Ave
Avenal, CA 93204


Tamarack Resort
P.O. Box 303
Ely, MN 55731


Tami Ellis
Address Redacted


Tami Frerichs
Address Redacted


Tami Kinn
Address Redacted


Tami Perry
Address Redacted


Tamica Blair
Address Redacted


Tamkeen
Chief Seattle Council 609
13016 NE 87th St
Kirkland, WA 98033


Tammi Seymour
Address Redacted


Tammi Wehrenberg
Address Redacted


Tammie Brooks
Address Redacted


Tammie Lynne Brooks
Address Redacted


Tammie Moore
Address Redacted


Tammy Brattin
Address Redacted


Tammy Chapman
Address Redacted


Tammy Crass
Address Redacted


Tammy Erickson
Address Redacted


Tammy Farmer
Address Redacted


Tammy Harvey
Address Redacted


Tammy Kvidera
Address Redacted


Tammy L Davis
Address Redacted
Tammy Morrow
Address Redacted


Tammy Nicholson
Address Redacted


Tammy Oliver‐Duncan
Address Redacted


Tammy S Truesdale
Address Redacted


Tammy Schmitz
Address Redacted


Tammy Stanley
Address Redacted


Tammy Truckenbrod
Address Redacted


Tammy Washington
Address Redacted


Tampa Bay Blvd PTA
Greater Tampa Bay Area 089
3111 N Tampa St
Tampa, FL 33603


Tampa Fire Rescue
Greater Tampa Bay Area 089
808 E Zack St
Tampa, FL 33602


Tampa Housing And Tampa Police Dept
Greater Tampa Bay Area 089
1800 N Rome Ave
Tampa, FL 33607
Tampa Housing Authority
Greater Tampa Bay Area 089
110 E Kirby St
The Oaks At Riverview
Tampa, FL 33604


Tampa Interbay Rotary
Greater Tampa Bay Area 089
P.O. Box 320843
Tampa, FL 33679


Tampa Jesuit High School
4701 N Hines Ave
Tampa, FL 33614


Tampa Marriott Waterside
Attn Brian Conboy, Sales Mgr
700 S Florida Ave
Tampa, FL 33602


Tampa Police Dept
Greater Tampa Bay Area 089
116 S 34th St
Tampa Police Explorers Post 275
Tampa, FL 33605


Tampa Sailing Squadron
Greater Tampa Bay Area 089
P.O. Box 3277
Apollo Beach, FL 33572


Tamra Horton
Address Redacted


Tana Higginbotham
Address Redacted


Tanager Place
Hawkeye Area Council 172
2309 C St Sw
Cedar Rapids, IA 52404
Tanasha Goode‐Wams
Address Redacted


Tandem Logistics Inc
595 Round Rock W, Ste 501
Round Rock, TX 78681


Tandy Gilliam
Address Redacted


Tandy Leather 109
10220 E Nwest Hwy
Dallas, TX 75238


Tandy Leather Co LP
1900 SE Loop 820
Fort Worth, TX 76140


Tandy Leather Co LP
Dept 41720
P.O. Box 650823
Dallas, TX 75265


Tandy Leather Factory
Dept 41720
P.O. Box 650823
Dallas, TX 75265


Tanganyika Wildlife Park
Quivira Council, Bsa 198
1000 S Hawkins Ln
Goddard, KS 67052


Tangelo Park Elementary School PTA
Central Florida Council 083
5115 Anzio St
Orlando, FL 32819


Tangiloo S Elite Catering LLC
4101 International Pkwy
Carrollton, TX 75007


Tangipahoa Parish School System
Attn Sales    Use Tax Div
P.O. Box 159
Amite, LA 70422‐0159


Tangle, Inc
310 Littlefield Ave
South San Francisco, CA 94080


Tanglewood Elementary
Southwest Florida Council 088
1620 Manchester Blvd
Fort Myers, FL 33919


Tanglewood Resort   Conference Ctr
290 Tanglewood Cir
Pottsboro, TX 75076


Tanit Translation Services
dba Intercultural Translations
900 N Bishop Ave
Dallas, TX 75208


Tanja Feeney
Address Redacted


Tanker Airlift Control Ctr Booster Club
Greater St Louis Area Council 312
402 Scott Dr
Scott Afb, Il 62225


Tanner Chapel Ame Church
Grand Canyon Council 010
20 S 8th St
Phoenix, AZ 85034


Tanner E Elliott
Address Redacted
Tanner Elementary PTO
Greater Alabama Council 001
12067 Dowd St
Tanner, AL 35671


Tanner George Lashinsky
Address Redacted


Tanner Ronald Hill
Address Redacted


Tanner W Hunt
Address Redacted


Tanner Williams Utd Methodist Church
Mobile Area Council‐Bsa 004
1550 Grand Bay Wilmer Rd N
Mobile, AL 36608


Tanners Grove Utd Methodist Church
Piedmont Council 420
P.O. Box 445
Forest City, NC 28043


Tanque Verde Lutheran Church
Catalina Council 011
8625 E Tanque Verde Rd
Tucson, AZ 85749


Tanque Verde Ward ‐ LDS Rincon Stake
Catalina Council 011
9555 E Snyder Rd
Tucson, AZ 85749


Tanque Verde Youth Services Inc
Catalina Council 011
2141 N Tanque Verde Loop Rd
Tucson, AZ 85749
Tanya Acker
Address Redacted


Tanya Brown
Address Redacted


Tanya F Locke
Address Redacted


Tanya Hofhenke
Address Redacted


Tanya Jones
Address Redacted


Tanzie Faison
Address Redacted


Taos County Economic Development Corp
P.O. Box 1389
Taos, NM 87571


Taos Dawn Designs
Rt 1 Box 2
Taos, NM 87571


Taos Mountain Radiology
12687 W Cedar Dr
Lakewood, CO 80228


Taos Orthopaedic Institute P
1219‐A Gusdorf Rd
Taos, NM 87571


Taos Professional Services, LLC
P.O. Box 11680
Belfast, ME 04915‐4007


Tapanga M Ludlow
Address Redacted


Tape Products Co
P.O. Box 644917
Pittsburgh, PA 15264‐4917


Tapp Memorial Methodist Church
Caddo Area Council 584
P.O. Box 35
New Boston, TX 75570


Tapply‐Thompson Community Center
Daniel Webster Council, Bsa 330
30 N Main St
Bristol, NH 03222


Tara A Kelly
Address Redacted


Tara Carr
Address Redacted


Tara Corns
Address Redacted


Tara Fowler Photography
295 4 H Camp Rd
Fayetteville, WV 25840


Tara J Stockton
Address Redacted


Tara Lopez
Address Redacted


Tara Toy Corp
P.O. Box 842665
Boston, MA 02284‐2665
Taras Corp Inc
Silicon Valley Monterey Bay 055
573 Hacienda Dr
Scotts Valley, CA 95066


Target
1000 Nicollet Mall
Minneapolis, MN 55403


Target Bank
Business Card Services
P.O. Box 59228
Minneapolis, MN 55459‐0228


Target Creative Group Inc
151 N Nob Hill Rd
Plantation, FL 33324


Tarheel Challenge Academy
Cape Fear Council 425
P.O. Box 39
Salemburg, NC 28385


Tarheel Challenge Academy
Central N Carolina Council 416
215 N Main St
New London, NC 28127


Tari Laurell‐Kibby
Address Redacted


Tariq Toran
Address Redacted


Tarkio Rotary Club
Attn Craig Livengood
Pony Express Council 311
411 N 9th St
Tarkio, MO 64491


Tarleton State
P.O. Box T550
Stephenville, TX 76402


Taross Thomas
Address Redacted


Tarpley Music Co, Inc
2200 W Beauregard Ave
San Angelo, TX 76901


Tarpy S Roadhouse
299 Monterey‐Salinas Hwy
Monterey, CA 93940


Tarrant City School System
Greater Alabama Council 001
1318 Alabama St
Tarrant, AL 35217


Tarrant City Schools
Greater Alabama Council 001
1318 Alabama St
Tarrant, AL 35217


Tarrant Co Assn For Christian Scouting
Longhorn Council 662
1206 Oakwood Trl
Southlake, TX 76092


Tarrant County Clerk
200 Taylor St, Ste 301
Fort Worth, TX 76196


Tarrant County College Foundation
1500 Houston St
Fort Worth, TX 76102


Tarrant County College Foundation
Attn Tcc Foundation
4801 Marine Creek Pkwy
Fort Worth, TX 76179
Tarrant County Tax Assessor ‐Collector
Betsy Price
100 E Weatherford
Ft Worth, TX 76196‐0001


Tarrant County Tax Assessor‐Collector
100 E Weatherford
Ft Worth, TX 76196‐0001


Tarrant County Tax Assessor‐Collector
Tarrant Cnty Tax Assessor/Collector
100 E Weatherford
Ft Worth, TX 76196‐0001


Tarrant Elementary After School Program
Greater Alabama Council 001
1269 Portland St
Birmingham, AL 35217


Tarryn J Walker
Address Redacted


Tarrytown House Estate
Conference Ctr
49 E Sunnyside Ln
Tarrytown, NY 10591


Tarrytown Utd Methodist Church
Capitol Area Council 564
2601 Exposition Blvd
Austin, TX 78703


Tarsco Bolted Tank Inc
5897 State Hwy 59
Goodman, MO 64843


Tarver Elementary PTO
Denver Area Council 061
3500 Summit Grove Pkwy
Thornton, CO 80241
Tary Clump
Address Redacted


Tasa
P.O. Box 400
Austin, TX 78767‐0400


Tascosa Office Machines
126 S 2nd St
Raton, NM 87740


Tasha Dekock
Address Redacted


Tasha Oanes
Address Redacted


Tashara Wilson
Address Redacted


Tasmine Stebbins
Address Redacted


Taso Distributing Co
dba Teds Army Surplus
806 S Main St
Columbia, TN 38401


Tate Allen Rench
Address Redacted


Tate H Stoeckmann
Address Redacted


Tate Medina
Address Redacted
Tates Creek Christian Church
Blue Grass Council 204
3150 Tates Creek Rd
Lexington, KY 40502


Tates Creek Presbyterian Church
Blue Grass Council 204
3900 Rapid Run Dr
Lexington, KY 40515


Tau Beta Pi Michigan Gamma Chapter
Southern Shores Fsc 783
1301 Beal Ave
1226A Eecs Building
Ann Arbor, MI 48109


Taunton Family Childrens Home
P.O. Box 870
Wewahitchka, FL 32465


Taunton Lodge Of Elks 150
Narragansett 546
119 High St
Taunton, MA 02780


Taurus Technologies Inc
P.O. Box 2261
Grapevine, TX 76099


Tav Mower LLC
91940 Overseas Hwy Mm92
Tavernier, FL 33070


Tax Collector Monroe County Fl
Attn Danise D. Henriquez Cfc
P.O. Box 1129
Key W, Fl 33041‐1129


Tax Trust Account
Alatax, Sales Tax Div
P.O. Box 830725
Birmingham, AL 35283‐0725
Taxation   Revenue Dept
P.O. Box 123
Monroe, LA 71210‐0123


Taxation   Revenue Dept
P.O. Box 2527
Santa Fe, NM 87504‐2527


Taxware, LLC
200 Ballardvale St
Bldg 1, 4th Fl
Wilmington , MA 01887


Taxwise Giving
P.O. Box 299
Old Greenwich, CT 06870


Taylah Bailey
Address Redacted


Tayler Isaacs
Address Redacted


Taylor   Francis Group LLC
P.O. Box 409267
Atlanta, GA 30384‐9267


Taylor C Horton
Address Redacted


Taylor Chapel Utd Methodist Church
Anthony Wayne Area 157
10145 Maysville Rd
Fort Wayne, IN 46835


Taylor Corp
600 Albany St
Dayton, OH 45417
Taylor Corp
dba Taylor Communications Inc
P.O. Box 840655
Dallas, TX 75284‐0655


Taylor Drake
Address Redacted


Taylor J Giles
Address Redacted


Taylor Kammerer
Address Redacted


Taylor L Kurtz
Address Redacted


Taylor Lake Christian Church
Sam Houston Area Council 576
1730 Old Kirby Rd
Seabrook, TX 77586


Taylor M Mcdaniel
Address Redacted


Taylor M Siskind
Address Redacted


Taylor Marie Cole
Address Redacted


Taylor Masonic Lodge 98
W D Boyce 138
119 N Wilmor Rd
P.O. Box 212


Taylor Mccann Morrissey
Address Redacted
Taylor Mill Elementary School PTA
Dan Beard Council, Bsa 438
5907 Taylor Mill Rd
Covington, KY 41015


Taylor Morgan
Address Redacted


Taylor Oliver
Address Redacted


Taylor Porter Brooks    Phillips LLP
P.O. Box 2471
Baton Rouge, LA 70821


Taylor Precision Products LP
62364 Collections Ctr Dr
Chicago, IL 60693‐0623


Taylor PTA
Hawkeye Area Council 172
720 7th Ave Sw
Cedar Rapids, IA 52404


Taylor Publishing Co
1550 W Mockingbird Ln
Dallas, TX 75235


Taylor Publishing Co
dba Balfour/Balfour Publishing
P.O. Box 911514
Dallas, TX 75391‐1514


Taylor R Bledsue
Address Redacted


Taylor Regional Hospital
Lincoln Heritage Council 205
1700 Old Lebanon Rd
Campbellsville, KY 42718
Taylor S   Co, Inc
304 Lenoir Dr
Winchester, VA 22603


Taylor S Hunt
Address Redacted


Taylor Security   Lock Co, Inc
P.O. Box 5012
Greensburg, PA 15601‐2180


Taylor Sidney
Address Redacted


Taylor Thomas
Address Redacted


Taylor University
Attn Bursar
236 W Reade Ave
Upland, IN 46989


Taylor Utd Methodist Church
Laurel Highlands Council 527
610 Old National Pike
Brownsville, PA 15417


Taylors Bridge Grange 1066
Tuscarora Council 424
4716 Taylors Bridge Hwy
Highway


Taylorsville 11Th Ward Portuguese
Taylorsville Ut South Stake
Great Salt Lake Council 590


Taylorsville Presbyterian Church
Piedmont Council 420
279 Main Ave Dr
Taylorsville, NC 28681


Taylorsville Utd Methodist Church
Hoosier Trails Council 145 145


Taylorville Fire Dept
Abraham Lincoln Council 144
202 N Main St
Taylorville, IL 62568


Taymouth Volunteer Fire Dept
Water and Woods Council 782
4343 Birch Run Rd
Birch Run, MI 48415


Tayon Collier
Address Redacted


Taysha Williams
Address Redacted


Tazewell Presbyterian Church
Buckskin 617
P.O. Box 26
Tazewell, VA 24651


Tbaytel
1046 Lithium Dr
Thunder Bay, ON
Canada


Tbaytel
P.O. Box 10074
Thunder Bay, On P7B 6T6
Canada


Tbk Bank
Longs Peak Council 062
141 Main St
Mead, CO 80542
Tbk Bank Ssb
Pikes Peak Council 060
P.O. Box 286
Stratton, CO 80836


T‐Bone Racing Enterprises LLC
dba Atv Parts Plus
925 Ewart Ave
Beckley, WV 25801


Tbpc
607 N Amy Dr
Walnut, CA 91789


Tc 2
Attn Elizabeth Salisbury
211 Gregson Dr
Cary, NC 27511


Tca North Elementary PTO
Pikes Peak Council 060
975 Stout Rd
Colorado Springs, CO 80921


Tcb Encore LLC
1011 Lake Country Dr
Greensboro, GA 30642


Tcf Equipment Finance, Inc
11100 Wayzata Blvd, Ste 801
Minnetonka, MN 55305


Tcl Printing Co Inc
P.O. Box 121
Chicota, TX 75425


Tcnj, Student Accounts
P.O. Box 7718
Ewiing, NJ 08628‐0718
Tcr Property LLC
dba the Claremont Hotel Club   Spa
41 Tunnel Rd
Berkeley, CA 94705


Tctc
Attn Tctc Financial Office
P.O. Box 587
Pendleton, SC 29670


TD Bank
P.O. Box 1377
Lewiston, ME 04243‐1377


Td Industrial Coverings
Great Lakes Fsc 272
6220 18 1/2 Mile Rd
Sterling Heights, MI 48314


Tdindustries
P.O. Box 300008
Dallas, TX 75303‐0008


Tea Volunteer Fire Dept
Sioux Council 733
P.O. Box 248
Tea, SD 57064


Teach Fndn‐Sside Early Childhood Ctr
Pee Dee Area Council 552
1615 Blanding Dr
Hartsville, Sc 29550


Teach Foundation‐Thornwell
Pee Dee Area Council 552
214 N 5th St
Hartsville, SC 29550


Teach Foundation‐Washington Street
Pee Dee Area Council 552
214 N 5th St
Hartsville, SC 29550
Teach Foundation‐West Hartsville
Pee Dee Area Council 552
214 N 5th St
Hartsville, SC 29550


Teague Grewell
Address Redacted


Team Air Express Inc
P.O. Box 668
Winnsboro, TX 75494


Team Building With Taste Texas LLC
18101 Preston Rd, Ste 302
Dallas, TX 75252


Team Eagle Foundation
Patriots Path Council 358
198 Kings Rd
Madison, NJ 07940


Team Mildenhall First Sergeant Assoc
Transatlantic Council, Bsa 802
Unit 4835 Box 305
Apo Ae, 09459


Team People
4455 Connecticut Ave Nw, Suite C‐100
Washington, DC 20008


Team Shana
Pennsylvania Dutch Council 524
708 N President Ave
Lancaster, PA 17603


Team Slr
71 Carrera St
St Augustine, FL 32084
Team Systems Inc
7725 W 26 Ave Bay 1
Hialeah, FL 33016


Team Viewer Gmbh
Jahnstr 30
Goeppingen, 73037
Germany


Team Viewer Gmbh
P.O. Box 743135
Atlanta, GA 30374‐3135


Teamquest Staffing Service, Inc
2901 W Macarthur Blvd, Ste 203
Santa Ana, CA 92704


Teamview, Inc
3001 N Rocky Point Dr E, Ste 200
Tampa, FL 33607


Team‐Wise Ltd Uk
Gleberfield Church Bank
Felton, Nthumb, Ne65 9Hp
United Kingdom


Teaneck Jewish Center
Northern New Jersey Council, Bsa 333
70 Sterling Pl
Teaneck, NJ 07666


Teaneck Utd Methodist Church
Northern New Jersey Council, Bsa 333
201 Degraw Ave
Teaneck, NJ 07666


Teasleys Convention Florist
7159 Old Hickory Blvd
White Creek, TN 37189‐9160


Teays Valley Presbyterian Church
Buckskin 617
P.O. Box 100
4122 Teays Valley Rd
Scott Depot, WV 25560


Teays Valley Ward
Buckskin 617
1070 Mount Vernon Rd
Hurricane, WV 25526


Tec Art Industries Inc
46925 W Rd
Wixom, MI 48393


Tecc Security Inc
P.O. Box 7757
Appleton, WI 54912


Tech It Out, LLC
10 E Centennial Dr
Medford, NJ 08055


Tech Plan, Inc
717 Taylor Dr
Plano, TX 75074‐6778


Tech Team Ny LLC
143 W 29th St 4th Fl
New York, NY 10001


Tech Valley Technologies Inc
267 Ballard Rd, Ste 2
Wilton, NY 12831‐1357


Techmedia LLC
P.O. Box 746471
Atlanta, NC 30374‐6471


Technical Expo Account Management LLC
Cts
6455 S Dean Martin Dr, Ste C
Las Vegas, NV 89118


Technology And Business Services Inc
Greater Los Angeles Area 033
12615 193rd St
Cerritos, CA 90703


Technology Review
P.O. Box 16327
North Hollywood, CA 91615‐6327


Technology Services Inc
8334‐103 Pineville Matthews Rd, Ste 248
Charlotte, NC 28226


Techsmith Corp
2405 Woodlake Dr
Okemos, MI 48864‐5910


Techsoup
435 Brannan St, Ste 100
San Francisco, CA 94107


Tecno Display Inc
676 Dunn Cir
Sparks, NV 89431


Tecra Tools Inc
2925 S Umatilla St
Englewood, CO 80110


Tecumseh
326 S Thompson Ave
Springfield, OH 45506‐1198


Tecumseh Cncl 439
326 S Thompson
Springfield, OH 45506‐1198


Tecumseh Council
1693 Shady Ln Dr
Beavercreek, OH 45432


Tecumseh School Parent Teacher Group
Longhouse Council 373
5250 Longridge Rd
Joseph Richer
Jamesville, NY 13078


Tecumseh South PTO
Jayhawk Area Council 197
3346 SE Tecumseh Rd
Tecumseh, KS 66542


Tecumseh Utd Methodist Church
Jayhawk Area Council 197
334 SE Tecumseh Rd
Tecumseh, KS 66542


Tecumseh‐Harrison Elementary School PTO
Buffalo Trace 156
2116 N 2nd St
Vincennes, IN 47591


Tecza Landscape Group, Inc
12N442 Switzer Rd
Elgin, IL 60124


Ted Bezanis Dba Waterview Inc
P.O. Box 1906
Islamorada, FL 33036


Ted Borcherding
Address Redacted


Ted Bullock
Address Redacted


Ted D Miller Assoc, Inc
611 Corporate Cir, Ste J
Golden, CO 80401
Ted Julius
Address Redacted


Ted Knight
1110 N Rockingham St
Arlington , VA 22205


Ted Morrison
Address Redacted


Ted North
Address Redacted


Ted Yarbrough
Address Redacted


Teddie White
Address Redacted


Teddy Johnson
Address Redacted


Teddy Mabry
Address Redacted


Teddy Williams
Address Redacted


Tedesco   Affiliates LLC
dba Donorsearchnet
11245 Dovedale Ct
Marriottsville, MD 21104


Tedford S Inc
Twin Rivers Council 364
3439 State Route 3
Saranac, NY 12981
Tee Shirts Of Nevada
3089 S Valley View Blvd
Las Vegas, NV 89104


Teen Challenge Adventure Ranch
Westark Area Council 016
P.O. Box 20
Morrow, AR 72749


Teen Court / Group Of Citizens
Sioux Council 733
3200 W 49th St
Sioux Falls, SD 57106


Teen Court Defendants
Sioux Council 733
415 N Dakota Ave
Sioux Falls, SD 57104


Teen Court Of Northeast Louisiana
Louisiana Purchase Council 213
P.O. Box 999
Monroe, LA 71210


Teen Venture Center
Buckskin 617
217 Railroad Ave
Richlands, VA 24641


Teena Damron
Address Redacted


Teens At Work
Atlanta Area Council 092
1622 Ware Ave
East Point, GA 30344


Teex‐Its
P.O. Box 40006
College Station, TX 77842
Teg Holdings Inc
dba the Encompass Group
405 State Hwy 121 Bypass, Ste D120
Lewisville, TX 75067


Tehachapi First Baptist Church
Southern Sierra Council 030
1049 S Curry St
Tehachapi, CA 93561


Tehachapi Kiwanis Club
Southern Sierra Council 030
P.O. Box 436
Tehachapi, CA 93581


Tehachapi Police Dept
Southern Sierra Council 030
200 W C St
Tehachapi, CA 93561


Tejada Holding Co
dba Sheri Griffith Expeditions
P.O. Box 1324
Moab, UT 84532


Tejas Lodge 72
c/o E Texas Area Council
1331 E 5th St
Tyler, TX 75701‐3427


Tek E Kreidler
Address Redacted


Tekoppel Community Group Of Citizens
Buffalo Trace 156
247 S Tekoppel Ave
Evansville, IN 47712


Teksystems
P.O. Box 198568
Atlanta, GA 30384‐8568
Tektite Industries Inc
309 N Clinton Ave
Trenton, NJ 08638‐5122


Telecopy Inc
1420 Valwood Pkwy, Ste 110
Carrollton, TX 75006


Tele‐Pak Inc
P.O. Box 430
Monsey, NY 10952‐0430


Telephonetics Inc
P.O. Box 116766
Atlanta, GA 30368‐6766


Telford Vfw Post 5308
Cradle of Liberty Council 525
395 W Broad St
Telford, PA 18969


Tell Steel
2345 W 17th St
Long Beach, CA 90813


Telligent Systems Inc
17950 Preston Rd, Ste 310
Dallas, TX 75252


Telsco Industries Inc
3301 W Kingsley Rd
Garland, TX 75041


Telsco Industries Inc
dba Weathermatic
Po B Ox 671127
Dallas, TX 75267‐1127


Telvent Dtn, LLC
9110 W Dodge Rd, Ste 100
Omaha, NE 68114


Temco Machinery Inc
Three Fires Council 127
1401 N Farnsworth Ave
Aurora, IL 60505


Temecula California Highway Patrol
California Inland Empire Council 045
27685 Commerce Center Dr
Temecula, CA 92590


Temecula Catalina Island Masonic Lodge
California Inland Empire Council 045
27895 Diaz Rd, Ste F
Temecula, CA 92590


Temecula Valley Hospital
California Inland Empire Council 045
31700 Temecula Pkwy
Temecula, CA 92592


Tempe Chamber Of Commerce
P.O. Box 28500
Tempe, AZ 85285‐8500


Tempe Trophy
402 E Sern Ave
Tempe, AZ 85282


Templar Shooting Sports
Middle Tennessee Council 560
1101 S Jackson St
Tullahoma, TN 37388


Temple Assoc Masonic
Three Fires Council 127
130 Hwy 23
Genoa, IL 60135
Temple Baptist Church
Sequoyah Council 713
P.O. Box 3100
Kingsport, TN 37664


Temple Baptist Church
West Tennessee Area Council 559
9105 E Van Hook St
Milan, TN 38358


Temple Beit Torah
Pikes Peak Council 060
522 E Madison St
Colorado Springs, CO 80907


Temple Beth El
Seneca Waterways 397
139 Winton Rd S
Rochester, NY 14610


Temple Beth El
Western Massachusetts Council 234
979 Dickinson St
Springfield, MA 01108


Temple Beth Hillel
W.L.A.C.C. 051
12326 Riverside Dr
Valley Village, CA 91607


Temple Beth Israel
Greater Los Angeles Area 033
3033 N Towne Ave
Pomona, CA 91767


Temple Beth Shalom
Long Beach Area Council 032
3635 Elm Ave
Long Beach, CA 90807


Temple Beth Sholom
Garden State Council 690
1901 Kresson Rd
Cherry Hill, NJ 08003


Temple Beth Sholom
Theodore Roosevelt Council 386
401 Roslyn Rd
Roslyn Heights, NY 11577


Temple Beth‐El
Central Florida Council 083
579 N Nova Rd
Ormond Beach, FL 32174


Temple Bnai Torah
Theodore Roosevelt Council 386
2900 Jerusalem Ave
Wantagh, NY 11793


Temple Emanu‐El
Catalina Council 011
225 N Country Club Rd
Tucson, AZ 85716


Temple Israel
Chickasaw Council 558
1376 E Massey Rd
Memphis, TN 38120


Temple Israel
Greater St Louis Area Council 312
1 Rabbi Alvan D Rubin Dr
Saint Louis, MO 63141


Temple Lodge 16 Af   Am
Connecticut Rivers Council, Bsa 066
9 Country Club Rd
Cheshire, CT 06410


Temple Lodge 46
W D Boyce 138
2900 W Lake Ave
Peoria, IL 61615
Temple Lodge No25 AF And AM
Pine Tree Council 218
1138 Main St
Readfield, ME 04355


Temple Masonic Lodge
Atlanta Area Council 092
40 James St
Temple, GA 30179


Temple Of Faith Inc
Central Florida Council 083
1028 S Lake Ave
Apopka, FL 32703


Temple Of Prayer
Cradle of Liberty Council 525
1301 Hilltop Rd
Pottstown, PA 19464


Temple Oheb Shalom
Baltimore Area Council 220
7310 Park Heights Ave
Pikesville, MD 21208


Temple Reyim
Mayflower Council 251
1860 Washington St
Auburndale, MA 02466


Temple Shalom
Southwest Florida Council 088
23190 Utica Ave
Punta Gorda, FL 33980


Temple Shir Shalom
North Florida Council 087
3855 NW 8th Ave
Gainesville, FL 32605
Temple Sinai
Cradle of Liberty Council 525
1401 Limekiln Pike
Dresher, PA 19025


Temple Sinai
Las Vegas Area Council 328
9001 Hillpointe Rd
Las Vegas, NV 89134


Temple Terrace Post No 10140 Vfw
Greater Tampa Bay Area 089
8414 N 40th St
Tampa, FL 33604


Temple Terrace Presbyterian
Greater Tampa Bay Area 089
420 Bullard Pkwy
Temple Terrace, FL 33617


Temple Terrace Utd Methodist Church
Greater Tampa Bay Area 089
5030 E Busch Blvd
Tampa, FL 33617


Temple University
Attn Pam Watters‐3rd Party Billing
1803 N Broad St ‐ 216 Carnell Hall
Philadelphia, PA 19122


Temple Utd Methodist Church
Chickasaw Council 558
4404 Sykes Rd
Millington, TN 38053


Temple, Inc
1524 6th Ave
Moline, IL 61265


Templeton‐Holy Cross Church
Heart of New England Council 230
25 Lake Ave
P.O. Box 418
E Templeton, MA 01438


Temporary Staffing By Suzanne
P.O. Box 75343
Chicago, IL 60675‐5343


Ten Eighty Media
2300 Mcdermott Rd, Suite 200‐383
Plano, TX 75025


Ten Ring Shooting Org
Northern Star Council 250
12832 Able St Ne
Blaine, MN 55434


Ten80Education
26F Congress St 338
Saratoga Springs, NY 12866


Tenable Network Security, Inc
7063 Columbia Gateway Dr, Ste 100
Columbia, MD 21046


Tenants Assoc Of Park Spring
Chester County Council 539
1800 Park Springs Blvd
Spring City, PA 19475


Tenants Org Of Park Spring
Chester County Council 539
1800 Park Springs Blvd
Spring City, PA 19475


Tenbroeck Community Club
Greater Alabama Council 001
3674 Main St
Fyffe, AL 35971


Tender Corp
944 Industrial Park Rd
Littleton, NH 03561


Tenea Andersen
Address Redacted


Tenika Manuel
Address Redacted


Tenino Lions Club International
Pacific Harbors Council, Bsa 612
P.O. Box 568
Tenino, WA 98589


Tenis Tennyson
Address Redacted


Tennant Sales   Service Co
P.O. Box 71414
Chicago, IL 60694‐1414


Tennessee Comptroller Of The Treasury
505 Deaderick St, Ste 1700
James K Polk Office Bldg
Nashville, TN 37243‐1402


Tennessee Dept Of Commerce
And Insurance
Division of Consumer Protection
160 E 300 S


Tennessee Dept Of Revenue
Andrew Jackson State Office Bld
500 Deaderick St
Nashville, TN 37242‐0700


Tennessee Dept Of Revenue
Andrew Jackson State Office Bldg
500 Deaderick St
Nashville, TN 37242‐1399
Tennessee Dept Of State
Charitable Solicitations
312 8th Ave N
8th Fl, Wm. Snodgrass Tower
Nashville, TN 37243‐0308


Tennessee Gun Country
Middle Tennessee Council 560
1435 Fort Campbell Blvd
Clarksville, TN 37042


Tennessee Highway Patrol
Middle Tennessee Council 560
1150 Foster Ave
Nashville, TN 37243


Tennessee Secretary Of State
312 Rosa L Parks Ave
6th Fl, William R Snodgrass Tower
Nashville, TN 37243


Tennessee Secretary Of State
Corporate Filings/Div Bus Services
312 8th Ave N, 6th Fl
William R. Snodgrass Tower
Nashville, TN 37243


Tennessee State Attorneys General
500 Charlotte Ave
Nashville, TN 37243


Tennessee State University
3500 John A Merritt Blvd
Nashville, TN 37209


Tennessee Technological University
Attn Accounts Receivable
P.O. Box 5037
Cookeville, TN 38505


Tennille Casillas
Address Redacted
Tennisson Memorial Utd Methodist
Circle Ten Council 571
313 N Church Ave
Mount Pleasant, TX 75455


Tennova Healthcare ‐ Shelbyville
Middle Tennessee Council 560
2835 Hwy 231 N
Shelbyville, TN 37160


Tennova Healthcare‐Clarskville
Middle Tennessee Council 560
651 Dunlop Ln
Clarksville, TN 37040


Tennsco
P.O. Box 306162
Nashville, TN 37230‐6162


Tennyson Center For Children
Denver Area Council 061
2950 Tennyson St
Denver, CO 80212


Tensas Parish Police Jury
Sales Tax Dept
P.O. Box 430
Vidalia, LA 71373


Tension Envelope Corp
P.O. Box 802812
Kansas City, MO 64184‐2812


Tent   Trailer City Hempstead
236 Front St
Hempstead, NY 11550


Tentcraft
P.O. Box 633723
Cincinnati, OH 48263‐3723
Tenth Legion Mt Valley Ruritan Club
Stonewall Jackson Council 763
1037 Mauzy Athlone Rd
Broadway, VA 22815


Tenth Street Elementary Sn
Crossroads of America 160
3124 E 10th St
Anderson, IN 46012


Terance J Danaher
Address Redacted


Terence Baity‐Sutler
Address Redacted


Terence Gabbidon
Address Redacted


Terence Kelley
Address Redacted


Terence Meehan
Address Redacted


Terence Paicer
Address Redacted


Terence Vlach
Address Redacted


Teresa Amabile
Address Redacted


Teresa Baker
Address Redacted
Teresa Brown
Address Redacted


Teresa Condon
Address Redacted


Teresa Duran‐Norvick
Address Redacted


Teresa Eggers
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Teresa Guerra
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Teresa Hamblin
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Teresa Hardin
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Teresa Hurst
Address Redacted


Teresa Jones
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Teresa Knapp
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Teresa Krus
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Teresa Lewis
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Teresa Lynn Condon
Address Redacted
Teresa Mcgaughey
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Teresa Miller
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Teresa Moreland
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Teresa Pingley
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Teresa Shell
Address Redacted


Teresa Smith
Address Redacted


Teresa Stephens
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Teresa Talford
Address Redacted


Teresa White
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Teresa Young
Address Redacted


Terese Kwolek
Address Redacted


Teressa Landin
Address Redacted
Teri Carrano
Address Redacted


Teri Cramlet
Address Redacted


Teri Murphy
Address Redacted


Terilyn Cortez
Address Redacted


Terin Smith
Address Redacted


Teris
504 Lavaca, Ste 965
Austin, TX 78701


Terminix Service, Inc
P.O. Box 2627
Columbia, SC 29202


Termite And Fumigation Div Inc
P.O. Box 960537
Miami, FL 33296‐0537


Terra Linda Parent Teacher Club
Cascade Pacific Council 492
1998 NW 143rd Ave
Portland, OR 97229


Terracare Assoc
550 S Hope St, Ste 1675
Los Angeles, CA 90071


Terracare Assoc
c/o Monarch Landscape Holdings
P.O. Box 102180
Pasadena, CA 91189‐2180
Terrace Utd Methodist Church
Sam Houston Area Council 576
1203 Wirt Rd
Houston, TX 77055


Terrace View Long Term Care
Nursing Facility
Greater Niagara Frontier Council 380
462 Grider St
Buffalo, Ny 14215


Terracon Consultants, Inc
P.O. Box 959673
St Louis, MO 63195‐9673


Terradon Corp
P.O. Box 519
Nitro, WV 25143


Terrain
Denver Area Council 061
701 Oakwood Dr
Castle Rock, CO 80104


Terrain
Denver Area Council 061
7010 Oakwood Dr
Castle Rock, CO 80104


Terramar Environment Services Inc
1241 Crane Blvd
Sugarloaf Key, FL 33042


Terramar Sports Inc
P.O. Box 392613
Pittsburgh, PA 15251‐9613


Terrance A Ghigo
Address Redacted
Terrance Banks
Address Redacted


Terrance Malochee
Address Redacted


Terrance Wright
Address Redacted


Terranova Church
Orange County Council 039
7 Whatney, Ste 1
Irvine, CA 92618


Terraset Parent Teacher Org
National Capital Area Council 082
11411 Ridge Heights Rd
Reston, VA 20191


Terre Town Elementary School PTO
Crossroads of America 160
2121 Boston Ave
Terre Haute, IN 47805


Terrell Bailey
Address Redacted


Terrell Crawford
Address Redacted


Terrence Booth
Address Redacted


Terrence Cavenas
Address Redacted


Terrence Dunn
Address Redacted
Terrence Gotz
Address Redacted


Terrence Hamilton
Address Redacted


Terrence Lofton
Address Redacted


Terrence Pointer
Address Redacted


Terrence Richardson
Address Redacted


Terrence Taylor
Address Redacted


Terresa G Tate
Address Redacted


Terri Anderson
Address Redacted


Terri Blake
Address Redacted


Terri Boston
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Terri Comber
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Terri Conley
Address Redacted


Terri Flores
Address Redacted


Terri Gregson
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Terri Hearn
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Terri Jay
Address Redacted


Terri Jolly
Address Redacted


Terri O Neal
Address Redacted


Terri Perry
Address Redacted


Terri Schultz
Address Redacted


Terri Swenson
Address Redacted


Terri Towle
Address Redacted


Terrie Coshatt
Address Redacted


Territorial Surveying Co
9204 James Pl Ne
Albuquerque, NM 87111


Terry Anderson
Address Redacted
Terry B Miller
Address Redacted


Terry Bussard
Address Redacted


Terry Clark
Address Redacted


Terry Coffman
Address Redacted


Terry Ellis
Address Redacted


Terry Faulk
Address Redacted


Terry Finchum
Address Redacted


Terry Fittje
Address Redacted


Terry H Hairston Jr
Address Redacted


Terry Halbert
Address Redacted


Terry Hall
Address Redacted


Terry Herrod
Address Redacted
Terry Hoopes
Address Redacted


Terry Jones
Address Redacted


Terry King
Address Redacted


Terry Koontz
Address Redacted


Terry L Kurkowski
Address Redacted


Terry L Tidwell Plumbing Inc
19 B E Cir Dr
Key W, Fl 33040


Terry Landry
Address Redacted


Terry Lewis‐Birkett
Address Redacted


Terry Maynord
Address Redacted


Terry Mcintire
Address Redacted


Terry Meyers
Address Redacted


Terry Parke
Address Redacted


Terry Pew
Address Redacted


Terry Plotz
Address Redacted


Terry Polis Dba Terry S Chimney Service
314 D Paseo Del Pueblo Norte
Taos, NM 87571


Terry Quackenbush
Address Redacted


Terry Schocke
Address Redacted


Terry Seamon
Address Redacted


Terry Shaffer
Address Redacted


Terry Sharp
Address Redacted


Terry Trout
Address Redacted


Terry Wagner
Address Redacted


Terry Whetzel
Address Redacted


Terry Whitaker
Address Redacted


Terrycomm
Central Florida Council 083
P.O. Box 361725
Melbourne, FL 32936


Terrytown Elementary PTO
Southeast Louisiana Council 214
550 E Forest Lawn Dr
Terrytown, LA 70056


Terryville Congregational Church
Connecticut Rivers Council, Bsa 066
233 Main St
Terryville, CT 06786


Terryville Fire Dept
Suffolk County Council Inc 404
19 Jayne Blvd
Port Jefferson Station, NY 11776


Tervis Tumbler Co
P.O. Box 530018
Atlanta, GA 30353‐0018


Teryl Benge
Address Redacted


Tesendre English
Address Redacted


Tessa S Highstrom
Address Redacted


Tessa V Senel
Address Redacted


Tessco Inc
P.O. Box 102885
Atlanta, GA 30368‐2885


Test Academy
Central Georgia Council 096
Testor Corp
P.O. Box 931946
Cleveland, OH 44193


Testout Corp
50 S Main St
Pleasant Grove, UT 84062


Tesuque Glassworks, Inc
P.O. Box 146
Tesuque, NM 87574‐0146


Tesuque PTA
Great Swest Council 412
1555 Bishops Lodge Rd
Tesuque, NM 87574


Teters Faucet Parts Corp
6337 Oram St
P.O. Box 141075
Dallas, TX 75214


Teton County School District
Attn Pamela Shea Super
P.O. Box 568
Jackson, WY 83001


Teton County Volunteer Search And Rescue
c/o Mike Estes
Grand Teton Council 107
P.O. Box 3852
Jackson, WY 83001


Teton Mountain Bike Tours
P.O. Box 7027
Jackson, WY 83002


Teton Stage Lines
1425 Lindsay Blvd
P.O. Box 51455
Idaho Falls, ID 83402


Teton Stage Lines
Grand Teton Council 107
5 N 550 W
Blackfoot, ID 83221


Teton Whitewater LLC
P.O. Box 58656
Salt Lake City, UT 84158


Tetrazzina Smith
Address Redacted


Tewksbury Congregational Church
The Spirit of Adventure 227
10 E St
Tewksbury, MA 01876


Texarkana Arkansas Police Dept
Caddo Area Council 584
P.O. Box 1885
Texarkana, TX 75504


Texarkana College Stem
Caddo Area Council 584
2500 N Robison Rd
Texarkana, TX 75599


Texarkana Country Club
1 Country Club Ln
Texarkana, AR 71854


Texarkana Sunrise Rotary
Caddo Area Council 584
2801 Bethany Ln
Texarkana, TX 75503


Texarkana Texas Police Dept
Caddo Area Council 584
100 N State Line Ave
Texarkana, TX 75504


Texas A M Kingsville
700 University Blvd
Msc 106
Kingsville, TX 78363


Texas A M Univeristy San Antonio
1 University Way
San Antonio, TX 78224


Texas A M University
Attn Student Financial Aid Affairs
P.O. Box 30016
College Station, TX 77842‐3016


Texas A M University
San Antonio Police Dept
Alamo Area Council 583
1 University Way
San Antonio, Tx 78224


Texas A M University ‐ Camp Day
Dept of Rec‐Parks And
Tourism Sciences 2261
College Station, TX 77843‐2261


Texas A M University ‐ Texarkana
Caddo Area Council 584
7101 University Ave
Texarkana, TX 75503


Texas A M University Galveston
Attn Financial Aid ‐ Scholarships
P.O. Box 1675
Galveston, TX 77553


Texas A M‐Kingsville
Attn Tamuk Bsnofc Finance/Budget
700 Univ Blvd Msc 104
Kingsville, TX 78363‐8202
Texas Agrilife Research
Attn Accounts Receivable
4467 Tamu‐Veterinary Pathobiology
College Station, TX 77843‐4467


Texas Art Supply Co
2001 Montrose Blvd
Houston, TX 77006


Texas Auto Writers Assoc
9597 Jones Rd 141
Houston, TX 77065


Texas Can Academies Farmers Branch
Circle Ten Council 571
2720 Hollandale Ln
Farmers Branch, TX 75234


Texas Can Academies Of Pleasant Grove
Circle Ten Council 571
325 W 12th St
Dallas, TX 75208


Texas Carpenters/Millwrights Trng Ttrust
Sam Houston Area Council 576
5500 Spencer Hwy
Pasadena, Tx 77505


Texas Christian University
Attn Office of Scholarships
Student Fin Aid
P.O. Box 297012
Ft Worth, TX 76129


Texas City Fire Dept
Bay Area Council 574
1725 N Logan St
Texas City, TX 77590


Texas City High School
Bay Area Council 574
1800 9th Ave N
Texas City, TX 77590


Texas City Independent School District
Roosevelt Wilson
Bay Area Council 574
1401 9Th Ave N
Texas City, Tx 77590


Texas City Police Dept
Bay Area Council 574
1004 9th Ave N
Texas City, TX 77590


Texas Dept Of Insurance
P.O. Box 12875
Austin, TX 78711‐2875


Texas Dept Of Licensing      Regulation
P.O. Box 12157
Austin, TX 78711


Texas Entertainment Services LLC
1135 S Lamar
Dallas, TX 75215


Texas Envelope Co
10655 Shady Trail
Dallas, TX 75220


Texas Forest Service
Attn Rich Gray
P.O. Box 1991
Bastrop, TX 78602


Texas Furniture Source Inc
2521 Hickory Ridge Dr
Plano, TX 75093


Texas General Counsel Forum
P.O. Box 131263
Dallas, TX 75313


Texas Highways
P.O. Box 8559
Big Sandy, FL 75755‐9866


Texas Ice Machine Co Inc
3935 Main St
Dallas, TX 75226‐1229


Texas Juvenille Justice Dept
Circle Ten Council 571
1131 Lavender Rd
Lancaster, TX 75146


Texas Library Assoc
3355 Bee Cave Rd, Ste 401
Austin, TX 78746‐6763


Texas Medical Legal Consultants
P.O. Box 782173
San Antonio, TX 78278


Texas Monthly
P.O. Box 421935
Palm Coast, FL 32142‐1935


Texas Motor Speedway
Attn Kim Spring
P.O. Box 500
Fort Worth, TX 76101‐2500


Texas Parks   Wildlife Magazine
P.O. Box 421103
Palm Coast, FL 32142‐1103


Texas Payroll Conference
P.O. Box 191473
Dallas, TX 75219
Texas Payroll Conference, Inc
P.O. Box 1047
Waller, TX 77484


Texas Pro Lease LLC
Longhorn Council 662
11068 S US Hwy 287
Rhome, TX 76078


Texas Rangers Baseball Club
1000 Ballpark Way, Ste 400
Arlington, TX 76011


Texas Relocation Network
3509 University Dr
Garland, TX 75043


Texas Secretary Of State
Reports Unit
P.O. Box 12028
Austin, TX 78711‐2028


Texas Southwest
P.O. Box 1584
San Angelo, TX 76902‐1584


Texas Southwest Cncl No 741
P.O. Box 1584
San Angelo, TX 76902‐1584


Texas State Board Of Public Accountancy
333 Guadalupe Tower III, Ste 900
Austin, TX 78701‐3900


Texas State Comptroller
Attn Comptroller of Public Accounts
Capitol Station
Austin, TX 78774‐0100


Texas State Comptroller
P.O. Box 13528 Capitol Station
Austin, TX 78711‐3528


Texas State Senate
P.O. Box 12068
Austin, TX 78711


Texas State University
601 University Dr
Lbjsc, Rm 5‐71
San Marcos, TX 78666


Texas Tech Uni Dept Arts    Sciences
South Plains Council 694
1011 Boston Ave
Lubbock, Tx 79409


Texas Tech University
Scholarship Office
Box 49011
Lubbock, TX 79409‐5011


Texas Township Fire Dept
Southern Shores Fsc 783
7110 W Q Ave
Kalamazoo, MI 49009


Texas Trails
3811 N 1st St
Abilene, TX 79603


Texas Trails Council, BSA
Texas Trails Council 561
3811 N 1st St
Abilene, TX 79603


Texas Trls Council 561
3811 N 1st St
Abilene, TX 79603


Texas Women S University
P.O. Box 425408
Denton, TX 76204


Texas Workforce Commission
Revenue   Trust Management
Austin, TX 78778‐0091


Texas Workforce Commission
Tax Dept
101 E 15th St
Austin, TX 78778‐0091


Texprompt Inc
1608 Hart St ‐, Ste 302
Southlake, TX 76092


Tfi Resources
P.O. Box 4346 Dept 517
Houston, TX 77210‐4346


Tfo Holdings, LLC
8105 Sovereign Row
Dallas, TX 75247


Tfs Management Group LLC
dba New Wave Acrylics
4717 Brookshire Blvd
Charlotte, NC 28216


Tfs Management LLC
dba New Wave Acrylics
4717 Brookshire Blvd
Charlotte, NC 28216


Tg Smith Elementary PTA
Westark Area Council 016, 40th   Falcon
Springdale, AR 72764


Tha Architects/Engineers
817 E Kearsley St
Flint, MI 48503
Thaddeus Cobb
Address Redacted


Thalia Utd Methodist Church
Tidewater Council 596
4321 Virginia Beach Blvd
Virginia Beach, VA 23452


Thames   Kosmos, LLC
99 Ship St
Providence, RI 02903


Thang Long Youth Education Group
Orange County Council 039
11642 Dorada Ave
Garden Grove, CA 92840


Thanh Nguyen Vu
Address Redacted


Thanhnga Vu
Address Redacted


Thanksgiving Baptist Church
Tuscarora Council 424
6701 Nc Hwy 42 E
Selma, NC 27576


Thanksgiving Lutheran Church
Mid‐America Council 326
3702 370 Plz
Bellevue, NE 68123


Thao Nguyen
Address Redacted


Tharco
Dept 1510
Denver, CO 80291‐1510
Thats Great News
900 Nrop Rd, P.O. Box 5021
Wallingford, CT 06492


Thayer Phillips
Director of Transportation
108 N Virginia Ave
Falls Church, VA 22046


The 1st Congregal Ch
Canton Center
Connecticut Rivers Council, Bsa 066
184 Cherry Brook Rd
Canton, Ct 06019


The 1st Congregal Ch In Plympton, Ucc
Mayflower Council 251
254 Main St
Plympton, Ma 02367


The 1st Utd Methodist Ch Owasso
Indian Nations Council 488
13800 E 106Th St N
Owasso, Ok 74055


The A588   A572 Steel Co
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3791 Route 446
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New Birth Of Freedom 544
28 Shepard Rd
Newville, Pa 17241


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Central Florida Council 083
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West Virginia Chapter
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Asheville, NC 28801


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Sam Houston Area Council 576
P.O. Box 326
Bryan, TX 77806


The American Legion Gold Star Post 191
National Capital Area Council 082
P.O. Box 24
801 Prospect Rd


The American Legion Haggin Post 521
Golden Empire Council 047
6700 8th St
Rio Linda, CA 95673


The American Legion Harry Doble Post 664
Nevada Area Council 329
P.O. Box 1112
Chester, CA 96020


The American Legion High Desert Post 56
Nevada Area Council 329
P.O. Box 2848
Carson City, NV 89702


The American Legion Post 172
Rio Grande Council 775
321 S Ohio Ave
Mercedes, TX 78570


The American Legion Post 179
Marin Council 035
120 Veterans Pl
San Anselmo, CA 94960


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P.O. Box 70
Middletown, DE 19709


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Montana Council 315
31 W Main St
Belgrade, MT 59714


The American Legion Post 356
Gulf Coast Council 773
400 Aberdeen Pkwy
Panama City, FL 32405


The American Legion Post 390
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211 W Hidalgo Ave
Raymondville, TX 78580


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Golden Empire Council 047
P.O. Box 1
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2025 E ST Nw
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Transatlantic Council, Bsa 802
Rijksstraatweg 200
2241 Bx Wassenaar
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Northwest Texas Council 587
3115 Buchanan St
Wichita Falls, TX 76308


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Greater Los Angeles Area 033
931 S Maple Ave
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Bay Area Council 574
3270 Gulf Freeway
Dickinson, TX 77539


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5761 E Colorado St
Long Beach, Ca 90814


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Palm Coast, FL 32142‐6573


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Greenland, NH 03840


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The Spirit of Adventure 227
23 Clark Rd
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The Ballet Foundation
2650 Midway Rd, Ste 112
Carrollton, TX 75006


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443 Kempsville Rd
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1155 Front St, Ste 5
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1100 W Town and Country Rd, Ste 1250
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8905 208th Ave Ne
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New York, NY 10128


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Bixby, OK 74008


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Mount Baker Council, Bsa 606
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Snohomish, WA 98290


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Sequoyah Council 713
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Rogersville, TN 37857


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Dan Beard Council, Bsa 438
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Alexandria, KY 41001


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Stevenson, WA 98648


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Reston, VA 20190


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Washington, DC 20001


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Leland, NC 28451


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5296 Schoolway Dr
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Gamehaven 299
1002 16Th St Se


The Ch Jesus Christ LDS
2Nd Ward
Gamehaven 299
2300 Viola Heights Dr Ne


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Gamehaven 299
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Gamehaven 299
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Gamehaven 299
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Gamehaven 299
1002 16Th St Se


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Montana Council 315
2201 St Charles St
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The Ch Jesus Christ LDS
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Pine Burr Area Council 304
11148 Klein Rd


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Hattiesburg
Pine Burr Area Council 304
2215 Broadway Dr


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Hburg 1St Ward
Stonewall Jackson Council 763
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Greater Tampa Bay Area 089
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Gastonia, Nc 28056


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Pine Burr Area Council 304
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315 Skeetfield Rd
Oxford, Me 04270


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Pine Tree Council 218
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Liberal, Ks 67901


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Powell, Oh 43065


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20 Mickelson Dr
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Altamonte Springs, FL 32714


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Vestavia, AL 35242


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116 Sarah St
Winder, GA 30680


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Winder, GA 30680


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Great Trail 433
146 S Chillicothe Rd
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Central Minnesota 296
42942 125th Ave
Holdingford, MN 56340


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Greater New York Councils, Bsa 640
152 W 71st St
New York, NY 10023


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Blackhawk Area 660
5211 Bull Valley Rd
Mchenry, IL 60050


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245 Prospect Park W
Brooklyn, NY 11215


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Gamehaven 299
1002 16th St Se
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Pee Dee Area Council 552
1620 Malden Dr
Florence, SC 29501


The Church Of Jesus Christ LDS, Sumter
Pee Dee Area Council 552
1770 Hwy 15 S
Sumter, SC 29150


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Andrew Jackson Council 303
P.O. Box 524
Liberty, MS 39645


The Church Of Jesus Christ Of LDS
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P.O. Box 564
Liberty, MS 39645


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Black Warrior Council 006, 18th Ave Nw
Jasper, AL 35501


The Church Of Jesus Christ Of LDS
Cape Cod and Islands Cncl 224
94 Freemans Way
Brewster, MA 02631


The Church Of Jesus Christ Of LDS
Coastal Georgia Council 099
113 Hunters Way
Statesboro, GA 30461


The Church Of Jesus Christ Of LDS
Coastal Georgia Council 099
1200 King George Bvd
Savannah, GA 31406


The Church Of Jesus Christ Of LDS
Coastal Georgia Council 099
220 Sandy Run Dr
Hinesville, GA 31313


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Coastal Georgia Council 099
613 E Montgomery Xrd
Savannah, GA 31406


The Church Of Jesus Christ Of LDS
Coastal Georgia Council 099
617 Ogeechee Dr W
Statesboro, GA 30461
The Church Of Jesus Christ Of LDS
Coastal Georgia Council 099
903 Fort Howard Rd
Rincon, GA 31326


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Gamehaven 299
120 Pleasant Hill Dr
Winona, MN 55987


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Greater Tampa Bay Area 089
7851 Lutz Lake Fern Rd
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Greensburg Ward 45160
Greensburg, PA 15601


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6339 Hamm Rd
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Mountaineer Area 615
Rr 1 Box 216M
Beverly, WV 26253


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292 Bailey Dr
Manchester, IA 52057


The Church Of Jesus Christ Of LDS
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505 Griffin Pond Rd
South Abington Township, PA 18411


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Northeastern Pennsylvania Council 501
Manor Dr
Trucksville, PA 18708


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Northern New Jersey Council, Bsa 333
62 E Forest Ave
Englewood, NJ 07631


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Northwest Georgia Council 100
455 Mcdaniel Station Rd Sw
Road


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Pee Dee Area Council 552
1411 Leroy Ln
Myrtle Beach, SC 29577


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Piedmont Council 420
1050 21st Ave Nw
Hickory, NC 28601


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Piedmont Council 420
4065 N Center St
Hickory, NC 28601


The Church Of Jesus Christ Of LDS
Piedmont Council 420
901 Bethel Rd
Morganton, NC 28655


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Rip Van Winkle Council 405
184 State Route 32 S
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Samoset Council, Bsa 627
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Wausau, WI 54401
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Stonewall Jackson Council 763
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9214 Landis Ln
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981 W Carolina Ave
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Wayzata, MN 55391


The Church Of The Annunciation
Westchester Putnam 388
470 Wchester Ave
Crestwood, NY 10707


The Church Of The Ascension Episcopal
Piedmont Council 420
726 1st Ave Nw
Hickory, NC 28601


The Church Of The Assumption Bvm
Patriots Path Council 358
91 Maple Ave
Morristown, NJ 07960


The Church Of The Blessed Sacrament
Greater New York Councils, Bsa 640
152 W 71st St
New York, NY 10023


The Church Of The Epiphany
Aloha Council, Bsa 104
1041 10th Ave
Honolulu, HI 96816


The Church Of The Epiphany
National Capital Area Council 082
3301 Hidden Meadow Dr
Oak Hill, VA 20171


The Church Of The Epiphany
Northern Star Council 250
1900 111th Ave Nw
Coon Rapids, MN 55433


The Church Of The Epiphany Of The Lord
Last Frontier Council 480
7336 W Britton Rd
Oklahoma City, OK 73132


The Church Of The Good Shepherd
Northeast Georgia Council 101
3740 Holtzclaw Rd
Cumming, GA 30041


The Church Of The Holy Cross
Coastal Carolina Council 550
299 Seven Farms Dr
Charleston, SC 29492


The Church Of The LDS
Cimarron Council 474
419 N Eisenhower St
Enid, OK 73703


The Church Of The Sacred Heart
Northern New Jersey Council, Bsa 333
15 Forest Pl
Rochelle Park, NJ 07662


The Church Of The Saviour
Lake Erie Council 440
2537 Lee Rd
Cleveland Heights, OH 44118


The Church Without Walls
Sam Houston Area Council 576
5725 Queenston Blvd
Houston, TX 77084


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Charlotte, NC 28201‐1036
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1 Cit Dr, Ms 2108‐A
Livingston, NJ 07039


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Hi‐Tec Sports Usa
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Charlotte, NC 28201‐1036


The Citizen Hotel
926 J St
Sacramento, CA 95814


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Central Georgia Council 096
3290 Ingleside Ave
Macon, GA 31204


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160 Convent Ave
New York, NY 10031


The City Of Aurora
P.O. Box 2697
Aurora, IL 60507‐2697


The City Of Centennial
13133 E Arapahoe Rd
Centennial, CO 80112


The City Of Cortez
123 Roger Smith Ave
Cortez, CO 81321


The City Of Edgewater
1800 Harlan St
Edgewater, CO 80214


The Classic Catering People
99 Painters Mill Rd
Owings Mills, MD 21117
The Cliffs Resort
160 Cliffs Dr
Graford, TX 76449


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6501 E Nohl Ranch Rd
Anaheim, CA 92807


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Dallas, TX 75207


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115 S 2nd St
P.O. Box 7200
Couer D Alene, ID 83816‐1941


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Five Rivers Council, Inc 375
25 Laurel St
Corning, NY 14830


The Colony Police Dept
Longhorn Council 662
5151 N Colony Blvd
The Colony, TX 75056


The Columbia Utd Methodist Church
Lake Erie Council 440
25484 Royalton Rd
Columbia Station, OH 44028


The Columubian Center Of Owatonna
Gamehaven 299
820 S Elm Ave
Owatonna, MN 55060


The Community Building Institute
Dan Beard Council, Bsa 438
800 Lafayette Ave
Middletown, OH 45044


The Community Church Of Harrington Park
Northern New Jersey Council, Bsa 333
1 Spring St
P.O. Box 1851
Harrington Park, NJ 07640


The Community Presbyterian Church
Northern New Jersey Council, Bsa 333
145 Carletondale Rd
Ringwood, NJ 07456


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Quapaw Area Council 018
105 N 3rd St
Heber Springs, AR 72543


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Connecticut Rivers Council, Bsa 066
Rte 81
Killingworth, Ct 06419


The Congregational Church Of Batavia
Three Fires Council 127
21 S Batavia Ave
Batavia, IL 60510


The Congregational Church Of Christ
Piedmont Council 420
210 Melrose Ave
Tryon, NC 28782


The Congregational Church Of Huntington
Suffolk County Council Inc 404
P.O. Box 304
Huntington, NY 11743


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Connecticut Rivers Council, Bsa 066
P.O. Box 42
North Stonington, CT 06359
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South Florida Council 084
1215 Country Club Prado
Coral Gables, Fl 33134


The Cornerstone Church
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855 W 5000N Rd
Bourbonnais, IL 60914


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1275 K St NW, 1050
Washington, DC 20005


The Cosmopolitan Club
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3961 Cay Creek Rd
Midway, GA 31320


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P.O. Box 165
Lake Waccamaw, NC 28450


The County Commission Of Fayette County
Attn John Stump, Esq
Chase Tower ‐ 8th Fl
707 Virginia St E.
Charleston, WV 25301


The County Commission Of Fayette County
Attn President
P.O. Box 307
Fayetteville, WV 25840


The County Commission Of Fayette County
c/o Steptoe   Johnson Pllc
Attn John Stump, Esq.
Chase Tower ‐ Eighth Fl
707 Virginia St E.
Charleston, WV 25301
The County Commission Of Fayette County
P.O. Box 307
Fayetteville, WV 25840


The Cpe Store
819 Village Square Dr
Tomball, TX 77375


The Creative Center Inc
Mid‐America Council 326
10826 Emmet St
Omaha, NE 68164


The Creative Group
12400 Collections Ctr Dr
Chicago, IL 60693


The Creative Group
File 73484
P.O. Box 60000
San Francisco, CA 94160‐3484


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P.O. Box 743295
Los Angeles, CA 90074‐3295


The Crossing Baptist Church
Circle Ten Council 571
1060 Clay Mathis Rd
Mesquite, TX 75181


The Crossing Community Church
Gulf Stream Council 085
8103 Indrio Rd
Fort Pierce, FL 34951


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Charleston, VA 25305‐0300
The Custom Companies, Inc
94338 Eagle Way
Chicago, IL 60678‐9430


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Verdugo Hills Council 058
1728 Canada Blvd
Glendale, CA 91208


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Des Peres, MO 63131


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Attn Toni Messer
Utd Office of Internal Audits
P.O. Box 830688 Ad 32
Richardson, TX 75083‐0688


The Dallas Morning News
P.O. Box 630054
Dallas, TX 75263‐0054


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Simon Kenton Council 441
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Newark, OH 43056


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First Colonie Co
660 Albany‐Shaker Rd
Albany, NY 12211


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dba the Dimension Group
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Dallas, TX 75355
The Dimensions Edge Inc
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Sequoia Council 027
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Simon Kenton Council 441
651 W Broad St
Columbus, OH 43215


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Far E Council 803
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Yongsan Gu
Seoul,
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140 E Walton Pl
Chicago, IL 60611


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655 W 1st Ave
Junction City, OR 97448


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Arvada, CO 80002‐2821


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Washington, DC 20005


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Dallas, TX 75248
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Ely, MN 55731


The Ely Shopper Inc
243 E Chapman St
Ely, MN 55731


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Winston Salem, NC 27103


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Longs Peak Council 062
P.O. Box 1864
Cheyenne, WY 82003


The Episc Ch St Francis Assisi
Greater Alabama Council 001
3545 Cahaba Valley Rd
Pelham, Al 35124


The Episc Ch St Simon   St Jude
Indian Waters Council 553
1110 Kinley Rd
Irmo, Sc 29063


The Episc Ch, Good Shepherd
Circle Ten Council 571
11122 Midway Rd
Dallas, Tx 75229


The Episcopal Church Of
St Martin In The Fields, Inc
Atlanta Area Council 092
3110 Ashford Dunwoody Rd Ne
Brookhaven, Ga 30319


The Episcopal Church Of St Anne
Greater Yosemite Council 059
1020 W Lincoln Rd
Stockton, CA 95207
The Episcopal Church Of St Simon‐St Jude
Indian Waters Council 553
1110 Kinley Rd
Irmo, SC 29063


The Episcopal Church Of The Annunciation
Longhorn Council 662
602 N Old Orchard Ln
Lewisville, TX 75077


The Episcopal Church Of The Annunciation
Longhorn Council 662
P.O. Box 292967
Lewisville, TX 75029


The Episcopal Church Of The Ascension
Greater Alabama Council 001
1912 Canyon Rd
Vestavia, AL 35216


The Episcopal Church Of The Epiphany
Blue Ridge Mtns Council 599
115 Jefferson Ave
Danville, VA 24541


The Episcopal Church Of The Epiphany
Circle Ten Council 571
421 Custer Rd
Richardson, TX 75080


The Episcopal Church Of The Holy Spirit
Alamo Area Council 583
11093 Bandera Rd
San Antonio, TX 78250


The Episcopal Church Of Transfiguration
National Capital Area Council 082
13925 New Hampshire Ave
Silver Spring, MD 20904
The Evangelical Lutheran Church
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233 S Highwood Ave
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31 Mesa Oak
Littleton, CO 80127


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United Kingdom


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Cascade Pacific Council 492
935 NE 33rd Ave
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Dba Hyde Valley Umc
Pony Express Council 311
202 W Hyde Park Ave
Saint Joseph, Mo 64504


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220 E 23rd St, Ste 600
New York, NY 10010


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Irving, TX 75063


The Fairmont Royal York
100 Front St W
Toronto, On M5J 1E3
Canada


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National Capital Area Council 082
115 E Fairfax St
Falls Church, VA 22046


The Family Church
Louisiana Purchase Council 213
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Winnfield, LA 71483


The Family Church
North Florida Council 087
2022 SW 122nd St
Gainesville, FL 32607


The Family School ‐ Ps 433 Sr
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Bronx, NY 10456


The Federalist Society
1015 18th St NW, Ste 425
Washington, DC 20036


The Federated Church Of Brookston
Sagamore Council 162
202 S Wood St
Brookston, IN 47923


The Fellowship Of Presybyterians
8134 New Lagrange Rd, Ste 227
Louisville, KY 40222


The Fellowship Of San Antonio
Alamo Area Council 583
23755 Canyon Golf Rd
San Antonio, TX 78258


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North Florida Council 087
102 Suwannee Ave Sw
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9 Metrotech Ctr
Brooklyn, NY 11201


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8240 Buffalo Rd
Bergen, NY 14416


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Mount Baker Council, Bsa 606
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Bellingham, WA 98229


The First Baptist Church
Tuscarora Council 424
202 S 4th St
Smithfield, NC 27577


The First Baptist Church Of Lebanon
Crossroads of America 160
207 E Washington St
Lebanon, IN 46052


The First Baptist Church Of Randolph
Mayflower Council 251
528 N Main St
Randolph, MA 02368


The First Christian Church
Great Smoky Mountain Council 557
328 W Rockwood St
Rockwood, TN 37854


The First Christian Church
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202 S 6th St
Chickasha, OK 73018
The First Church In Wenham
The Spirit of Adventure 227
1 Arbor St
Wenham, MA 01984


The First Church Of Swampscott
The Spirit of Adventure 227
40 Monument Ave
Swampscott, MA 01907


The First Church Windsor
Connecticut Rivers Council, Bsa 066
107 Palisado Ave
Windsor, CT 06095


The First Congregational Church Of
Cape Cod and Islands Cncl 224
329 Route 6A
Yarmouth Port, MA 02675


The First Presbyterian Church
Greater Niagara Frontier Council 380
9 Paine St
East Aurora, NY 14052


The First Presbyterian Church
Patriots Path Council 358
16 Hilltop Rd
Mendham, NJ 07945


The First Presbyterian Church Men S Club
Pathway To Adventure 456
302 N Dunton Ave
Arlington Heights, IL 60004


The First Presbyterian Church Of Sparta
Patriots Path Council 358
32 Main St
Sparta, NJ 07871


The First Reformed Church
Westchester Putnam 388
18 Farragut Ave
Hastings On Hudson, NY 10706


The First Utd Methodist Church
Connecticut Rivers Council, Bsa 066
8 Church St
Stafford Springs, CT 06076


The First Utd Methodist Church
Longhorn Council 662
114 Paula Dr
Joshua, TX 76058


The Fishing Club
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1485 Valley Forge Rd
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The Fitness Superstore
4840 Pan American Fwy Ne
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Greater Tampa Bay Area 089
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The Flag Store
2116 N Haskell Ave
Dallas, TX 75204


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Tempe, AZ 85283


The Flying Tigers Parent Assn
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The Food Architects LLC
1665 Stelton Rd
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The Fort Bend Church
Sam Houston Area Council 576
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Sugar Land, TX 77487


The Foundry School
Flint River Council 095
104 Parsons Pl
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The Frame Shop
2132 N Rock Rd 104
Wichita, KS 67206


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454 Pulis Ave
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The Freedom Networks
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17558 Mitchell St
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Waynesboro, VA 22980


The Friedman Group Inc
5759 Uplander Way
Culver City, CA 90230
The Friends Of Camp Baker
Oregon Trail Council 697
1300 SE Magnolia Dr
Roseburg, OR 97470


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W.L.A.C.C. 051
P.O. Box 14092
Van Nuys, CA 91409


The Friends Of Pack 324
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4601 N 34th St
Phoenix, AZ 85018


The Friends Of Pack 365
Gulf Stream Council 085
22356 Collington Dr
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P.O. Box 30843
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Ridgefield Park, NJ 07660‐0360


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Omaha, NE 68102


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Little Trees Scout Centre
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122 Rosehill Ave
West Grove, PA 19390


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122 Rosehill Ave
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6000 Garlands Ln
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38 Romney St
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Atlanta Area Council 092
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Orlando, FL 32807


The Good Shepherd Catholic Montessori
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Akron, OH 44316


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4650 Flat Shoals Pkwy
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c/o Winstead Pc
N.R. Block, 600 Travis St, Ste 1100
Houston, TX 77002


The Green Bar Bill Hillcourt Foundation
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N.R. Block, 600 Travis St, Ste 5200
Houston, TX 77002


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600 Travis St
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300 W Main St
White Sulphur Springs, WV 24986


The Greenwich Workshop, Inc
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The Grove Church
Daniel Boone Council 414
1127 Franklin Grove Church Rd
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The Grove Community Church
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Riverside, CA 92508


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Worcester, MA 01653‐0002


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Worchester , MA 01653


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Credit Risk Analysis Unit
One Hartford Plaza
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Dallas, TX 75312‐1124


The Hertz Corp
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Dallas, TX 75312‐1056


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Pasadena, CA 91105‐2015


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11051 St Marys Rd
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The High Adventure Club
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601 Clinton Ln
Highland Hts, OH 44143


The High Road On Dawson
Capitol Area Council 564
700 Dawson Rd
Austin, TX 78704


The Highlands Community Of Christ
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7615 N Platte Purchase Dr
Kansas City, MO 64118
The Highlands Day School Foundation
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4901 Old Leeds Rd
Mountain Brk, AL 35213


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P.O. Box 1593
Charleston, WV 25326


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33 W Bacon St
Plainville, MA 02762


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5222 Seawall Blvd
Galveston, TX 77551


The Hilton Oceanfront Resort
23 Ocean Ln
Hilton Head, SC 29928


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301 NW 9th St
Miami, FL 33136


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15439 95th Ln N
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103 Mitchell St
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The Hobby Corner
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1606 Sycamore St
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The Horne Agency
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Shelton, CT 06484


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Suffolk County Council Inc 404
2 Railroad St
Huntington Station, NY 11746


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Los Angeles, CA 90051‐5203


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7040 Pine Blvd
Pembroke Pines, FL 33024


The Ink House Printing Co
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The Institute Of Internal Auditors, Inc
c/o Sun Trust Banks
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Stonepay Royal Park
Yeni Yasamal
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Transatlantic Council, Bsa 802
Kattenberg 19
Brussels, 1170
Belgium


The Irvine Ranch Outdoor Education Ctr
Orange County Council 039
2 Irvine Park Rd
Orange, CA 92869


The Islamorada Resort
80001 Overseas Hwy
Islamorada, FL 33036


The Ispot Com
53 W 36th St, Ste 306
New York, NY 10018


The Italian American Banquet   Conferenc
39200 W Five Mile Rd
Livonia, MI 48154


The Izaak Walton League Arlington
Fairfax Chapter
National Capital Area Council 082
P.O. Box 366
Centreville, Va 20122


The Izaak Walton League Of America
National Capital Area Council 082
P.O. Box 118
Wildlife Achievement Chapter
Damascus, MD 20872


The IzaakWalton League Prince William Ch
National Capital Area Council 082
P.O. Box 366
Centreville, Va 20122


The James F Lincoln Arc Welding Foundati
P.O. Box 17188
Cleveland, OH 44117


The Jason Project
Dept 1090
P.O. Box 4110
Woburn, MA 01888


The Jefferson Historical Society
Leatherstocking 400
2 Creamery St
Jefferson, NY 12093


The Jersey Surf Drum   Bugle Corps
c/o Robert J Jacobs Exec Dir
34 Mill St, Ste E
Mount Holly, NJ 08060


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P.O. Box 35207
Charlotte, NC 28235


The Johnson Group Inc
6861 Moon Light Cir
Sun Prairie, MI 53590


The Jones County Kiwanis Club
Central Georgia Council 096
P.O. Box 128
Gray, GA 31032


The Journal Of Light Construction
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Harlan, IA 51593‐5353


The Journey Utd Methodist
Quapaw Area Council 018
15361 Hwy 5, Apt B
Cabot, AR 72023


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P.O. Box 262365
Plano, TX 75026


The Kaust School
Transatlantic Council, Bsa 802
4700 Kaust Box 1512
Thuwal, 23955
Saudi Arabia


The Kennedy Center
P.O. Box 101510
Arlington, VA 22210


The Kindezi School West
Atlanta Area Council 092
286 Wilson Mill Rd Sw
Atlanta, GA 30331


The Kings College
Attn Financial Aid Office
350 5th Ave, Ste 1500
New York, NY 10118


The Kings Enterprises Of The Keys Inc
P.O. Box 500849
Marathon, FL 33050‐0849


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South Florida Council 084
1215 Country Club Prado
Coral Gables, FL 33134


The Kiwanis Club Of Lindsborg
Quivira Council, Bsa 198
P.O. Box 502
Keith Kandt
Lindsborg, KS 67456
The Krelman Co LLC
291 Merrimon Ave
Weaverville, NC 28787


The La Office
8981 Sunset Blvd, Ste 501
Los Angeles, CA 90069


The Lake Of The Woods Church
Stonewall Jackson Council 763
1 Church Ln
Locust Grove, VA 22508


The Lakeway Church
Capitol Area Council 564
2203 Lakeway Blvd
Lakeway, TX 78734


The Lamplighter School
Circle Ten Council 571
11611 Inwood Rd
Dallas, TX 75229


The Language Academy Ofthe Carolinas Inc
P.O. Box 5672
Charlotte, NC 28299


The Las Colinas Assoc
P.O. Box 203264
Dallas, TX 75320‐3264


The Law Firm Of Leisawitz Heller
Attn Kenneth Millman
2755 Century Blvd
Wyomissing, PA 19610


The Lead Foundation
Northeast Georgia Council 101
468 Musical Ct
Lawrenceville, GA 30044
The Leadership Assoc Of Parents
Orange County Council 039
1725 Nogales St, Ste 103
Rowland Heights, CA 91748


The Learning Ladder
Lincoln Heritage Council 205
6408 N Preston Hwy
Louisville, KY 40229


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2412 Candelaria Ne
Albuquerque, NM 87107


The Leather Factory 10
P.O. Box 974354
Dallas, TX 75397‐4354


The Ledge LLC
369 So 6th St
Klamath Falls, OR 97601


The Legendary Value Institute
7B ‐ 1568 12th Ave W
Vancouver, BC V6J 2E1
Canada


The Lemaster Group Ltd
15455 N Dallas Pkwy, Ste 600
Addison, TX 75001


The Leukemia   Lymphoma Society Inc
P.O. Box 23438
Little Rock, AR 72221


The Liaison Capitol Hill
415 New Jersey Ave Nw
Washington, DC 20001


The Licensing Center
160 Mercer St 3rd Fl
New York, NY 10012‐3212


The Lighthouse Church
Sam Houston Area Council 576
6650 Rankin Rd
Humble, TX 77396


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17304 Preston Rd, Ste 800
Dallas, TX 75252


The Lions Club
Buckskin 617
P.O. Box 99
Harrisville, WV 26362


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3098 Piedmont Rd NE, Ste 200
Atlanta, GA 30305


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Great Smoky Mountain Council 557
201 Harriet Tubman St
Knoxville, TN 37915


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Simon Kenton Council 441
500 E Market St
Baltimore, OH 43105


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P.O. Box 163627
Austin, TX 78716


The Living Well
Buckeye Council 436
1620 Maple Ave
Wellsville, OH 43968


The Locke Group Inc
47A Shoreland Dr
Key Largo, FL 33037


The Locksmith Inc
149 Concord St 6
Framingham, MA 01702


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4355 State St Rd
Shaneateles Falls, NY 13153‐0220


The Lodge Of Gunter Hollow
Middle Tennessee Council 560
149 Gunter Hollow Rd
Fayetteville, TN 37334


The Lomond Assoc
Lake Erie Council 440
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Shaker Heights, OH 44120


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4075 Paces Ferry Rd Nw
Atlanta, GA 30327


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P.O. Box 1477
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Greater New York Councils, Bsa 640
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The Lutheran Ch, Atonement‐Men S Club
Greater St Louis Area Council 312
1285 N New Florissant Rd
Florissant, Mo 63031


The Lutheran Church Of Our Saviour
Seneca Waterways 397
2415 Chili Ave
Rochester, NY 14624


The Lutheran Church Of The Holy Spirit
Jersey Shore Council 341
333 N Main St
Manahawkin, NJ 08050


The Lutheran‐Presbyterian Parish
Inland Nwest Council 611
P.O. Box 306
Luthern‐Presbyterion Parish Assoc
Potlatch, ID 83855


The Madison A Loews Hotel
1177 Fifteenth St Nw
Washington, DC 20005


The Main Event Of Barrington Ltd
401 Martin Court
Barrington, IL 60010


The Manahawkin Utd Methodist Church
Jersey Shore Council 341
P.O. Box 487
Manahawkin, NJ 08050


The Map Center
671 N Main St
Providence, RI 02904


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5409 Overseas Hwy, 343
Marathon, FL 33050


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Theodore Roosevelt Council 386
207 Grove Ave
Cedarhurst, NY 11516
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P.O. Box 583
Martin, TN 38237


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Attn Financial Aid Office
21726 Plrita Canyon Rd, Box 38
Santa Clarita, CA 91321


The Masters School
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1664 Center Point Rd
San Marcos, TX 78666


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1144 State St
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116 Loudoun St Mall
Winchester, VA 22601


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209 Delburg St, Ste 203
Davidson, NC 28036


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P.O. Box 36369
Charlotte, NC 36369


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9111 Shadow Ln
Bull Valley, IL 60097‐9462


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National Capital Area Council 082
8800 Jarrett Valley Dr
Vienna, VA 22182
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Denver Area Council 061
3033 E 1st Ave, Ste 840
Denver, CO 80206


The Memory Co
Wells Fargo Trade Capital, Po912150
Denver, CO 80291


The Mens Club
Grant United Methodist Church
Katahdin Area Council 216
79 Fleetwood St
Presque Isle, Me 04769


The Mens Club, 1st Methodist Ch
Central Georgia Council 096
366 Log Cabin Rd Ne
Milledgeville, Ga 31061


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875 Bordeaux Way
Napa, CA 94558


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4200 N Kentucky Ave
P.O. Box 4169
Evansville, IN 47724‐0169


The Methodist Temple
Buffalo Trace 156
2109 Lincoln Ave
Evansville, IN 47714


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2480 Browncroft Blvd
Rochester, NY 14625


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Educational Trust Inc
Chester County Council 539
1730 Conestoga Rd
Chester Springs, Pa 19425


The Milligan Group Intl
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13605 114th Ave E
Puyallup, WA 98374


The Milton S Hershey Medical Ctr
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500 University Dr
Hershey, PA 17033


The Mix   Arbor Place
Pennsylvania Dutch Council 524
520 N St
Lancaster, PA 17602


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112 Yeargen Pl
Chapel Hill, NC 27516


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90 Main St, Ste 204
Centerbrook, CT 06409


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702 S Beckley
Dallas, TX 75203


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Pittsburg, PA 15215


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1720 Gendy St
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The National Presbyterian Church
National Capital Area Council 082
4101 Nebraska Ave Nw
Washington, DC 20016


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Sam Houston Area Council 576
8708 Technology Forest Pl, Ste 100
The Woodlands, TX 77381


The Nebraska Medical Center
Mid‐America Council 326
988144 Nebraska Medical Ctr
Omaha, NE 68198
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Kingsford, MI 49802


The Nelson Paint Co
P.O. Box 517
Iron Mountain, MI 49801


The Nepal Project
Central N Carolina Council 416
5101 Sugar and Wine Rd
Monroe, NC 28110


The Nett At Berkmar
Northeast Georgia Council 101
678 Pleasant Hill Rd
Lilburn, GA 30047


The Neuberger Firm
Attn Thomas S. Neuberger
Attn Stephen J. Neuberger
17 Harlech Dr
Wilmington, DE 19807


The New American School
Denver Area Council 061
5806 W Alameda Ave
Lakewood, CO 80226


The New Birth Of Freedom Cncl 544
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Mechanicsburg, PA 17050


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924 3rd Ave
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Richmond, Bc V6V 1Y8
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Nogales, AZ 85628


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W.L.A.C.C. 051
38745 Sunnyvale St
Palmdale, CA 93551


The Northern Trust Co
50 S La Salle St, B‐7
Chicago, IL 60603


The Northern Trust Co
Attn Fee Processing C4N
P.O. Box 92989
Chicago, IL 60675


The Northern Trust Co
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Credit Specialist C2N
801 S Canal St
Chicago, IL 60607


The Northwestern Mutual Life Ins Co
720 E Wisconsin Ave
Milwaukee, WI 53202


The Nsoro Educational Foundation Inc
1720 Peachtree St, Ste 629
Atlanta, GA 30309


The Nsoro Educational Foundation Inc
P.O. Box 7244445
Atlanta, GA 31139


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P.O. Box 804
Nyack, NY 10960


The Nyc Dept Of Buildings
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New York, NY 10007


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Laramie, WY 82070


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Lexington, VA 24450


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120 Church Rd
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Deer Park, WA 99006


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Baltimore Area Council 220
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4528 N Point Blvd
Baltimore, MD 21219


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4000 Macarthur Blvd, Ste 900
Newport Beach, CA 92660


The O‐Ring Store LLC
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Clarkston, WA 99403


The Orvis Co
178 Conversation Way
Sunderland, VT 05250‐4165


The Outdoor Committee
Pacific Skyline Council 031
1150 Chess Dr
Foster City, CA 94404


The Outdoor Recreation Group
P.O. Box 772962
Chicago, IL 60677‐0262


The Outfitters In Leather
P.O. Box 511, Coca St
Cimarron, NM 87714


The Outside World
8875 Maple Run Trl
Gainesville, GA 30506


The Owl Post
Montana Council 315
6100 Lakeview Dr
Helena, MT 59602


The Owl Post
Montana Council 315
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Helena, MT 59624


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44 E Granada Ave ‐, Ste 1100
Hershey, PA 17033


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Eagar, AZ 85925


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National Capital Area Council 082
5200 Cathedral Ave Nw
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The Palmer Building
2601 E 7th St
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The Panitch Law Group, PC
Attn Esther Panitch
4243 Dunwoody Club Dr, Ste 205
Atlanta, GA 30350


The Parents Of Pack 344
Grand Canyon Council 010
16558 N 104th Way
Scottsdale, AZ 85255


The Parents Of Troop 303
W.L.A.C.C. 051
29072 Gladiolus Dr
Canyon Country, CA 91387


The Parents Of Troop 319
Verdugo Hills Council 058
3859 4th Ave
Tracy Anne Brown
La Crescenta, CA 91214


The Parents Of Troop 517
Pathway To Adventure 456
P.O. Box 342
Saint John, IN 46373


The Parish Church Of St Jerome
Indian Nations Council 488
205 W King St
Tulsa, OK 74106


The Parish Community Of St Joseph
Northern Star Council 250
8701 36th Ave N
New Hope, MN 55427
The Parish Of Christ Church
The Spirit of Adventure 227
25 Central St
Andover, MA 01810


The Parish St Mary Magdalene Catholic Ch
Grand Canyon Council 010
2654 E Williams Field Rd
Gilbert, Az 85295


The Park Ave Club
184 Park Ave
Florham Park, NJ 07932


The Park Church
Mecklenburg County Council 415
6029 Beatties Ford Rd
Charlotte, NC 28216


The Park Church Utd Methodist
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69 W Foster Maineville Rd
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Apopka, FL 32703


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3 Hilltop Rd
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Dekalb, IL 60115


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Patriots Path Council 358
547 Morris Ave
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2678 Sumac Ridge
White Bear Lake, MN 55110‐7001


The Peoples Church
Water and Woods Council 782
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The Peoples Community Baptist Church
National Capital Area Council 082
31 Norwood Rd
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11000 Roosevelt Blvd
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The Piedmont Community Church
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400 Highland Ave
Piedmont, CA 94611


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Piedmont, CA 94611


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The Play Well Group, Inc
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511 Pintail Point Farm Ln
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The Point Church
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The Porch
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119 N 2nd St
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The Presbyterian Church
Jersey Shore Council 341
1070 Hooper Ave
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The Presbyterian Church
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39 N Broadway
White Plains, NY 10601


The Presbyterian Church At Hammonton
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326 Bellevue Ave
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The Presbyterian Church In Geneva
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24 Park Pl
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Easton, MD 21601


The Presbyterian Church Of Marion Center
Laurel Highlands Council 527
206 High St
Marion Center, PA 15759


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P.O. Box 285
115 Church St
Prospect, PA 16052
The Presbyterian Church Of Sewickley
Laurel Highlands Council 527
414 Grant St
Sewickley, PA 15143


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Greater New York Councils, Bsa 640
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Crossroads of America 160
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Dallas, TX 75254


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National Capital Area Council 082
14600 Washington St
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500 Leisure Ln
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Sioux Council 733
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The Reformed Church Of The Tarrytowns
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Sam Houston Area Council 576
7330 Wview Dr
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The Restaurant Store
1111 Eaton St
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Orangeville, UT 84537


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The Rgu Group Inc
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Carrollton, TX 75006


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Mililani, HI 96789


The Right Flight Services LLC
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Kapolei, HI 96707


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Chippewa Valley Council 637
P.O. Box 442
Minong, WI 54859


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Alamo Area Council 583
3302 E Scross Blvd
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The Rock Baptist Church
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P.O. Box 519
6188 Hwy 42
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6801 S Anderson Rd
Oklahoma City, OK 73150


The Rocky Mountain Conference Of
United Methodist Church
3341 W 94th Ave
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North Dartmouth, MA 02747


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Sherman Oaks, CA 91403


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Patriots Path Council 358
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Berkeley Heights, NJ 07922
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Capitol Area Council 564
410 E University Ave 6825
Georgetown, TX 78626


The Rotary Club Of Georgetown
Capitol Area Council 564
P.O. Box 921
Georgetown, TX 78627


The Rotary Club Of Hermosa Beach Inc
Greater Los Angeles Area 033
2521 Valley Dr 204
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The Rotary Club Of Kalispell
Montana Council 315
P.O. Box 481
Kalispell, MT 59903


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Miami Valley Council, Bsa 444
8137 N Main St
Englewood, OH 45322


The Rotary Club Of Snoqualmie Valley
Chief Seattle Council 609
P.O. Box 1463
North Bend, WA 98045


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P.O. Box 38572
Colorado Springs, Co 80937


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874 Helenhurst Ct
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Dallas, TX 75357


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The Sailors Tailor Inc
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8495 SE Monterey Ave, 9
Happy Valley, OR 97086


The Salvation Army
Daniel Webster Council, Bsa 330
18 Folsom Rd
Derry, NH 03038


The Salvation Army
Montana Council 315
1000 17th Ave S
Great Falls, MT 59405


The Salvation Army
President Gerald R Ford 781
1281 Shonat St
Muskegon, MI 49442


The Salvation Army
San Diego Imperial Council 049
3935 Lake Blvd
Oceanside, CA 92056


The Salvation Army
Simon Kenton Council 441
760 Worthington Woods Blvd
Columbus, OH 43085


The Salvation Army
South Georgia Council 098
320 Smithland Pl
Valdosta, GA 31601


The Salvation Army
W D Boyce 138
243 Derby St
Pekin, IL 61554


The Salvation Army Belmont County
Ohio River Valley Council 619
P.O. Box 489
315 37th St
Bellaire, OH 43906


The Salvation Army Boston Kroc Center
The Spirit of Adventure 227
650 Dudley St
Dorchester, MA 02125


The Salvation Army Citadel
Dan Beard Council, Bsa 438
3503 Warsaw Ave
Cincinnati, OH 45205


The Salvation Army Covington
Dan Beard Council, Bsa 438
1806 Scott Blvd
Covington, KY 41014


The Salvation Army Huntingdon
Juniata Valley Council 497
2514 Shadyside Ave
Huntingdon, PA 16652


The Salvation Army Hyannis Corps
Cape Cod and Islands Cncl 224
P.O. Box 369
100 N St
Hyannis, MA 02601


The Salvation Army Memorial Commty
Center
East Carolina Council 426
2110 N Queen St
Kinston, Nc 28501


The Salvation Army Oceanside Corps
San Diego Imperial Council 049
3935 Lake Blvd
Oceanside, CA 92056


The Salvation Army Of Amarillo
Golden Spread Council 562
P.O. Box 2490
Amarillo, TX 79105


The Salvation Army Pahrump
Las Vegas Area Council 328
721 Buol Rd
Pahrump, NV 89048


The Salvation Army Ray/Joan Kroc Ctr Sf
San Francisco Bay Area Council 028
240 Turk St
San Francisco, Ca 94102


The Salvation Army Service Extension
Mid Iowa Council 177
505 W Main St
Ottumwa, IA 52501


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Bay‐Lakes Council 635
P.O. Box 1207
710 Pennsylvania Ave
Sheboygan, WI 53082


The Salvation Army‐Bedford Stuyvesant
Greater New York Councils, Bsa 640
601 Lafayette Ave
Brooklyn, NY 11216


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5222 Seawall Blvd
Galveston, TX 77551


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National Capital Area Council 082
9171 Central Ave
Capitol Heights, MD 20743


The Sandersville Lions Club
Central Georgia Council 096
P.O. Box 1134
Sandersville, GA 31082


The Savoy Hotel Ltd
Strand
London, Wc2R 0Eu
United Kingdom


The Scalawags
Cascade Pacific Council 492
30290 Berlin Rd
Lebanon, OR 97355


The School Administrator
The Townsend Group Inc
7315 Wisconsin Ave, Ste W 750
Bethesda, MD 20814


The Scout Assoc
Gilwell Park Bury Rd
Chingford
London, E4 7QW


The Scout Assoc Of Mongolia
Unit 43 Diplomat Bldg 95 6th Khoroo
P.O. Box 43
Chingeltei District


The Scout Assoc Of Nigeria
1 Makoko Rd
Off Herbert Macaulay St
Adekunle Yaba
The Scouting Ministry 771, Inc
Longhorn Council 662
4300 Bordeaux Way
Flower Mound, TX 75022


The Scouting Parents Wern Avenue Sch
Three Fires Council 127
2041 Bent Tree Dr
Geneva, Il 60134


The Seabrook Assoc
Sam Houston Area Council 576
P.O. Box 1107
Seabrook, TX 77586


The Sedalia Center
Blue Ridge Mtns Council 599
1108 Sedalia School Rd
Big Island, VA 24526


The Select Group Us, LLC
5520 Capital Center Dr
Raleigh, NC 27605


The Select Group Us, LLC
P.O. Box 203657
Dallas, TX 75320‐3657


The Session Of Brevard‐Davidson River
Daniel Boone Council 414
249 E Main St
Presbyterian Church
Brevard, NC 28712


The Session‐Trinity Presbyterian Church
Great Rivers Council 653
1600 W Rollins Rd
Columbia, MO 65203


The Settlement Preschool      Kindergarten
Middle Tennessee Council 560
2724 Trenton Rd
Clarksville, TN 37040


The Shadyside Community Center
Baltimore Area Council 220
1431 Snug Harbor Rd
Shady Side, MD 20764


The Sharper Image
140 Court St
P.O. Box 210
Fayetteville, WV 25840


The Sheridan Press Inc
P.O. Box 419813
Boston, MA 02241‐9813


The Shores Homeowners Assoc
Circle Ten Council 571
P.O. Box 75087
Rockwall, TX 75087


The Sign Shop Inc
1878 W Mockingbird Ln
Dallas, TX 75235


The Skyscraper Museum
39 Battery Pl
New York, NY 10280


The Soaring Hawks Foundation
Dan Beard Council, Bsa 438
3236 Columbia Pkwy
Cincinnati, OH 45226


The Special Event Co
6112 Saint Giles St
Raleigh, NC 27612


The Special Event Co
6112 St Giles St
Raleigh, NC 27612


The Special Event Co, Inc
1223 Walnut St
Cary, NC 27511


The Spirit Of Adventure Cncl 227
600 W Cummings Park, Ste 2750
Woburn, MA 01801


The Spirit Of Adventure Council
2 Tower Office Park
Woburn, MA 01801


The Springs Church Of South Mississippi
Pine Burr Area Council 304
4664 Hwy 589
Sumrall, MS 39482


The St Philips Lutheran Church
Pee Dee Area Council 552
6200 N Kings Hwy
Myrtle Beach, SC 29572


The State Club Inc
Attn Wendy Dorman
2450 Alumni Dr, Ste 114
Raleigh, NC 27606‐3116


The Steve Show Inc
3636 Purdue Ave
Dallas, TX 75225


The Stone Garage, Inc
Chester County Council 539
115 S Union St
Kennett Square, PA 19348


The Stratega Group, LLC
3286 Ashworth Ave
Littleton, CO 80126


The Streetsboro Utd Methodist Church
Great Trail 433
8940 State Route 43
Streetsboro, OH 44241


The Study Hall
Atlanta Area Council 092
1010 Crew St Sw
Atlanta, GA 30315


The Suddath Companies
P.O. Box 10489
Jacksonville, FL 32247


The Sullivan Law Firm
701 5th Ave, Ste 4600
Seattle, WA 98104


The Sullivan Law Firm In Trust For
James Michael Sundsmo
701 5th Ave, Ste 4600
Seattle, WA 98104


The Sulzbacher Center
North Florida Council 087
611 E Adams St
Jacksonville, FL 32202


The Summit
P.O. Box 2007
Tulsa, OK 74101


The Summit Country Day School, Inc
Dan Beard Council, Bsa 438
2161 Grandin Rd
Cincinnati, OH 45208


The Table Group Inc
250 Lafayette Cir, Ste 300
Lafayette, CA 94549


The Tape Co
P.O. Box 95169
Palatine, IL 60095‐0169


The Tatnall School
Del Mar Va 081
1501 Barley Mill Rd
Wilmington, DE 19807


The Tema Group Inc
3105 W 135th St
Burnsville, MN 55337


The Temple
Lincoln Heritage Council 205
5101 US Hwy 42
Louisville, KY 40241


The Texas Chautauqua Assoc
Capitol Area Council 564
710 Wonder St
Round Rock, TX 78681


The Texas Gypsies
5834 Clendenin Ave
Dallas, TX 75228


The Texas State Comptroller
Attorney Occupation Tax
P.O. Box 12030
Austin, TX 78711‐2030


The Thalassa Group LLC
1207 Varela St
Key W, Fl 33040


The Thalassa Group LLC
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


The Thrasher Group, Inc
600 White Oaks Blvd
Bridgeport, WV 26330


The Thrasher Group, Inc
P.O. Box 940
Bridgeport, WV 26330


The Time Corners Kiwanis Club
Anthony Wayne Area 157
12525 Rockridge Pl
Fort Wayne, IN 46814


The Timmerman School
Indian Waters Council 553
2219 Atascadero Dr
Columbia, SC 29206


The Tk Group
P.O. Box 9660
Salt Lake City, UT 84109‐9660


The Traditional Congregration Mount Dora
Central Florida Council 083
848 N Donnelly St
Mount Dora, Fl 32757


The Training Assoc Corp
287 Turnpike Rd, Ste 300
Westborough, MA 01581


The Training Network, Inc
106 Capitola Dr
Durham, NC 27713


The Travelers Companies, Inc
485 Lexington Ave
New York, NY 10017
The Travelers Companies, Inc
One Tower Square
Hartford, CT 06183


The Treo At Encore Of The Tha
Greater Tampa Bay Area 089
1101 Ray Charles Bl
Tampa, FL 33602


The Tribute At The Colony
1000 Lebanon Rd
The Colony, TX 75056


The Trinity Utd Methodist
Black Swamp Area Council 449
137 E High St
Hicksville, OH 43526


The Trout Spot
1311 Ca‐4
Arnold, CA 95223


The Trustees Of Indiana University
400 E 7th St
Poplars, Rm 408
Bloomington, IN 47405


The Trustees Of Princeton University
One Nassan Hall
Princeton, NJ 08544


The Trustees Of Princeton University
Princeton University
330 Alexander St
Princeton, NJ 08540


The Trustees Of Purdue University
2 1281 Win Hentschel Blvd, Ste 1100
West Layfayette, IN 47906‐4182
The Trustees Of Purdue University
dba Purdue University
24025 Network Pl
Chicago, IL 60673‐1240


The Uni Ch After Sch Program
Erie Shores Council 460
4747 Hill Ave
Toledo, Oh 43615


The University Of Chicago
Attn Office of Bursar
75 Remittance Dr, Ste 1958
Chicago, IL 60675‐1958


The University Of Michigan
Office of Financial Aid
2500 Student Activities Bldg
515 E Jefferson St
Ann Arbor, MI 48109‐1316


The University Of Rio Grande
Office of Financial Aid
218 N College Ave
Rio Grande, OH 45674


The University Of Tennessee ‐ Knoxville
Attn Office of Financial Aid
115 Student Services Bldg
Knoxville, TN 37996‐0210


The University Of Texas At Arlington
701 W Dedderman Dr
Arlington, TX 76019


The University Of Texas At Austin
100 W Dean Keeton St, E3700
Austin, TX 78712‐1712


The University Of The South
Attn Office of Financial Aid
735 University Ave
Sewanee, TN 37383‐1000


The University Of Virginia
Attn Student Accounts
P.O. Box 400204
Charlottesville, VA 22904‐4204


The Ups Store
1038 N Eisenhower Dr
Beckley, WV 25801


The Ups Store 6841
Gulf Coast Council 773
16400 US Hwy 331 S, Unit B2
Freeport, FL 32439


The Us Stem Foundation
National Capital Area Council 082
7371 Atlas Walk Way 242
Gainesville, VA 20155


The Utd Methodist Ch W Covina
Greater Los Angeles Area 033
718 S Azusa Ave
West Covina, Ca 91791


The Utd Methodist Ch Yorba Linda
Orange County Council 039
19002 Yorba Linda Blvd
Yorba Linda, Ca 92886


The Utd Methodist Church
1000 17th Ave S
Nashville, TN 37212


The Utd Methodist Church
Arbuckle Area Council 468
401 N Willow
Pauls Valley, OK 73075


The Utd Methodist Church
Central Florida Council 083
450 Lee Ave
Satellite Beach, FL 32937


The Utd Methodist Church
Longhouse Council 373
34 Grove St
Gouverneur, NY 13642


The Utd Methodist Church
Northern New Jersey Council, Bsa 333
8 Academy Rd
Caldwell, NJ 07006


The Utd Methodist Church At Lakewood
Pacific Harbors Council, Bsa 612
6900 Steilacoom Blvd Sw
Lakewood, WA 98499


The Utd Methodist Church Of Chartley
Narragansett 546
76 S Worcester St
Norton, MA 02766


The Venetian Resort Hotel  Casino
Attn Accts Receivables/Credit
3355 Las Vegas Blvd, S
Las Vegas, NV 89109


The Venues
Ozark Trails Council 306
2616E Battlefied Rd
Springfield, MO 65804


The Verland Foundation
Laurel Highlands Council 527
212 Iris Rd
Sewickley, PA 15143


The Verland Foundation CLA
Laurel Highlands Council 527
934 Brodhead Rd
Coraopolis, PA 15108


The Vernon Co
Dept C ‐ One Promotion Pl
P.O. Box 600
Newton, IA 50208‐2065


The Vestry Of St Lukes Episcopal
Greater Alabama Council 001
3736 Montrose Rd
Mountain Brk, AL 35213


The Vestry Of St Pauls Episcopal Church
Patriots Path Council 358
414 E Broad St
Westfield, NJ 07090


The Veteran Journal, Inc
11024 Balboa Blvd PMB 417
Granada Hills, CA 91344


The Veterans Of Foreign Wars Post 9334
Transatlantic Council, Bsa 802
Cmr 411 Box 2416
Apo Ae, 09112


The Victory Celebration Church
North Florida Council 087
3220 New Berlin Rd
Jacksonville, FL 32226


The View First Baptist Church
Greater St Louis Area Council 312
725 S Lewis Ln
Carbondale, IL 62901


The Village Church
North Florida Council 087
4225 Pacetti Rd
Saint Augustine, FL 32092
The Village Presbyterian Church
San Diego Imperial Council 049
P.O. Box 704
Rancho Santa Fe, CA 92067


The Vine Utd Methodist Church
Northeast Georgia Council 101
6553 Spout Springs Rd
Flowery Branch, GA 30542


The Vintage
c/o Ron Tippin
Waterford, MI 48327


The Virginian Lodge
1000 Pondarosa Dr
Jackson, WY 83001


The Vocal Majority Chorus
P.O. Box 3063
Coppell, TX 75019


The Wagnalls Memorial
Simon Kenton Council 441
150 E Columbus St
Lithopolis, OH 43136


The Wakonda Club
3915 Fleur Dr
Des Moines, IA 50321


The Walker School
Atlanta Area Council 092
700 Cobb Pkwy N
Marietta, GA 30062


The Wall St Journal
200 Burnett Rd
Chicopee, MA 01020


The Wandering Bull, LLC
312 Martin Rd
Washington, NH 03280


The Washington, Dc National Memorial
Foundation, Inc
401 F St Nw, Ste 334
Washington, DC 20001


The Water Coolers
2622 Amanda Ct
Vienna, VA 22180


The Webster Group Inc
5185 Macarthur Blvd Nw, Ste 250
Washington, DC 20016


The Week
P.O. Box 421215
Palm Coast, FL 32142‐1215


The Weekly Media Group, LLC
5450 Macdonald Ave, Ste 5
Key W, Fl 33040


The Weekly Media Group, LLC
dba the Weekly Newspapers
9709 Overseas Hwy
Marathon, FL 33050


The Weiss School PTO
Gulf Stream Council 085
4176 Burns Rd
Palm Beach Gardens, FL 33410


The Well At Lewisburg
Chickasaw Council 558
56 Vaughn Ln
Olive Branch, MS 38654


The Wellsville Foundation
Trapper Trails 589
P.O. Box 166
Wellsville, UT 84339


The West Jefferson Methodist Church
Simon Kenton Council 441
58 S Center St
West Jefferson, OH 43162


The Westhaven Foundation
Middle Tennessee Council 560
188 Front St Box 25
Franklin, TN 37064


The Westin Dfw
4545 West John Carpenter Frwy
Irving, TX 75063


The Westin Maui Resort      Spa
2365 Kaanapali Pkwy
Lahaina, HI 96761


The Westin Pasadena Hotel
191 N Los Robles Ave
Pasadena, CA 91101


The Westminster Schools
Atlanta Area Council 092
1424 W Paces Ferry Rd Nw
Atlanta, GA 30327


The Westside Foundation
Mid‐America Council 326
1101 S 90th St
Omaha, NE 68124


The Westview School
Sam Houston Area Council 576
1830 Kersten Dr
Houston, TX 77043


The Westwood First Presbyterian Church
Dan Beard Council, Bsa 438
3011 Harrison Ave
Cincinnati, OH 45211


The Whaleing Co
494 Mclaws Cir
Williamsburg, VA 23185


The Whitlock Group
3900 Gaskins Rd
Richmond, VA 23233


The Windermere Union Church‐Church Of
Central Florida Council 083
10710 Park Ridge Gotha Rd
Windermere, FL 34786


The Wingman Foundation
10915 Via Brescia, Unit 909
San Diego, CA 92129


The Winnifred H Herman Trust
c/o Davis   Wojcik
1001 E Morton Pl, Ste A
Hemet, CA 92543


The Winston School
Alamo Area Council 583
8565 Ewing Halsell Dr
San Antonio, TX 78229


The Wisconsin Union
Attn Hoofers
800 Langdon St
Madison, WI 53706


The Wood Utd Methodist Church
Circle Ten Council 571
1350 Bardin Rd
Grand Prairie, TX 75052
The Woodlands Commty
Presbyterian Church
Sam Houston Area Council 576
4881 W Panther Creek Dr
The Woodlands, Tx 77381


The Woodlands Utd Methodist Church
Sam Houston Area Council 576
2200 Lake Woodlands Dr
The Woodlands, TX 77380


The Woods Utd Methodist Church
Circle Ten Council 571
1350 Bardin Rd
Grand Prairie, TX 75052


The Works Service Co
515 N Interurban St 105
Richardson, TX 75081


The World Bird Sanctuary
Greater St Louis Area Council 312
125 Bald Eagle Ridge Rd
Valley Park, MO 63088


The Write Stuff Inc
Attn Student Finan Serv
Andrea Stewart Douglas
One Bookings Dr
Sandy, UT 63130‐4899


The Wyckoff Reformed Church
Northern New Jersey Council, Bsa 333
580 Wyckoff Ave
Wyckoff, NJ 07481


The Yale Peabody Museum
P.O. Box 208118
New Haven, CT 06520‐8118


The Yearlings Club
Lincoln Heritage Council 205
4309 W Broadway
Louisville, KY 40211


The Zuni Youth Enrichment Project
Great Swest Council 412
P.O. Box 467
Eye Clinic, Route 301 N B St
Zuni, NM 87327


Thear Suzuki
Address Redacted


Theiss PTO Inc
Sam Houston Area Council 576
18231 Theiss Mail Route Rd
Spring, TX 77379


Thelen Heating   Roofing Inc
1717 13th St Se
Brainerd, MN 56401


Thelma Barker Elementary
West Tennessee Area Council 559
1470 Ashport Rd
Jackson, TN 38305


Thelma Fahland
Address Redacted


Thelma Huggins
Address Redacted


Thelma Russell
Address Redacted


Theme Park Safety Consulting LLC
2257 N Loop W, Ste 140‐375
Conroe, TX 77304


Themed Development Management LLC
2828 Cochran St 267
Simi Valley, CA 93065


Theodora Scaglia
Address Redacted


Theodore A Londeen
Address Redacted


Theodore Anderson
Address Redacted


Theodore Apostle
Address Redacted


Theodore Bowden Jr
Address Redacted


Theodore Brown
Address Redacted


Theodore Collins
Address Redacted


Theodore Cormier‐Lger
Address Redacted


Theodore G Reimann
Address Redacted


Theodore Hanley
Address Redacted


Theodore Henderson
Address Redacted


Theodore Hicks
Address Redacted
Theodore High School Jrotc
Mobile Area Council‐Bsa 004
6201 Swedetown Rd N
Theodore, AL 36582


Theodore Jameson Elementary School
Northern Lights Council 429
3315 University Dr
Bismarck, ND 58504


Theodore Klick
Address Redacted


Theodore Krisanda
Address Redacted


Theodore N Thomas
Address Redacted


Theodore Olson
Address Redacted


Theodore Rael
Address Redacted


Theodore Robert Goldstein
Address Redacted


Theodore Roosevelt
544 Broadway
Massapequa, NY 11758‐5010


Theodore Roosevelt Cncl 386
544 Broadway
Massapequa, NY 11758‐5010


Theodore Roosevelt Council 386
544 Broadway
Massapequa, NY 11758‐5010


Theodore Roosevelt Lodge 219
Patriots Path Council 358
P.O. Box 296
Carteret, NJ 07008


Theodore Roosevelt Middle School
Verdugo Hills Council 058
222 E Acacia Ave
Glendale, CA 91205


Theodore Roosevelt Parent Teacher Org
Coronado Area Council 192
14th   Houston
Manhattan, KS 66502


Theodore Snow
Address Redacted


Theodore Sullivan
Address Redacted


Theodore Terwilliger
Address Redacted


Theodore Tunick   Co
The Tunick Bldg, Ste 300
St Thomas, VI 00802


Theodore Utd Methodist Church
Mobile Area Council‐Bsa 004
6255 Swedetown Rd
Theodore, AL 36590


Theodore W Hartley
Address Redacted


Theona Logan
Address Redacted
Theres That Films LLC
c/o Brett Davidson
1116 Wentwood Dr
Irving, TX 75061


Theresa Appleby
Address Redacted


Theresa Apponey
Address Redacted


Theresa B Dixon
Address Redacted


Theresa Ballard
Address Redacted


Theresa Bizoe
Address Redacted


Theresa Escobedo
Address Redacted


Theresa Forrest
Address Redacted


Theresa Hawk
Address Redacted


Theresa Hubert
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Theresa Jackson
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Theresa James
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Theresa Jones
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Theresa Keen
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Theresa Krause
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Theresa Nelson
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Theresa Powell
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Theresa Turner
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Theresa Verdi
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Theresa Vesel
Address Redacted


Theresa Willett
Address Redacted


Therese Bowers
Address Redacted
Therese Cochran
Address Redacted


Therese O Neill
Address Redacted


Therese Traylor
Address Redacted


Thermacell Repellants, Inc
26 Crosby Dr
Bedford, MA 01730


Thermo Fisher Scientific
Gulf Stream Council 085
1400 Npoint Pkwy
West Palm Beach, FL 33407


Thermon Manufacturing Co
Capitol Area Council 564
100 Thermon Dr
San Marcos, TX 78666


Thermopatch Corp
P.O. Box 8007
Syracuse, NY 13217‐8007


Theron Jones Community
Caddo Area Council 584
2600 W 15th St
Texarkana, TX 75501


Theron Jones Early Literacy Center
Caddo Area Council 584
2600 W 15th St
Texarkana, TX 75501


Theta Omicron Pika Housing Corp
Crossroads of America 160
868 N 7th St
Terre Haute, IN 47807
Thiel Law Office PLLC
Iolta Trust Account
327 W Pine St
Missoula, MT 59802


Thiells Garnerville Umc
Hudson Valley Council 374
102 Rosman Rd
Thiells, NY 10984


Thin Blue Line Foundation
Sam Houston Area Council 576
P.O. Box 534
Huffman, TX 77336


Thinkgreen
27411 Bunkerhill Dr
Corona, CA 92883


Thinkwell Group Inc
695 S Glenwood Pl
Burbank, CA 91506


Third Baptist Church Of Chicago
Pathway To Adventure 456
1551 W 95th St
Chicago, IL 60643


Third Circuit Court
Great Lakes Fsc 272
2 Woodward Ave, Rm 711
Detroit, MI 48226


Third Congregational Church
Connecticut Rivers Council, Bsa 066
94 Miner St
Middletown, CT 06457


Third District Volunteer Fire Dept
Southeast Louisiana Council 214
10423 Jefferson Hwy
River Ridge, LA 70123


Third Door Media Inc
279 Newtown Turnpike
Redding, CT 06896


Third Party Solutions Inc
P.O. Box 504591
St Louis, MO 63150‐4591


Third Presbyterian Church
Blackhawk Area 660
1221 Custer Ave
Rockford, IL 61103


Third Presbyterian Church
Seneca Waterways 397
4 Meigs St
Rochester, NY 14607


Third Presbyterian Church
Westmoreland Fayette 512
425 Union St
Uniontown, PA 15401


Third Reformed Church
Twin Rivers Council 364
20 Ten Eyck Ave
Albany, NY 12209


Third Street Academy
East Carolina Council 426
600 W 3rd St
Greenville, NC 27834


Thirteen Enterprises LLC
245 N Beverly Dr
Beverly Hills, CA 90210


Thirteen Enterprises LLC
Attn Accounting
1849 Centinela Ave
Santa Monica, CA 90404


Thirty Six Club
Connecticut Rivers Council, Bsa 066
Sr 156
Waterford, CT 06385


Thistle Heathrow Ltd
Bath Rd
Longford London, Ub7 0Eq
United Kingdom


Thistledew Farm
7901 Proctor Creed Rd
Proctor, WV 26055


Thoams C Edwards
Address Redacted


Thoburn Utd Methodist Church
Ohio River Valley Council 619
P.O. Box 4
209 E Main St


Tholen Custom Homes Inc
4882 S 1130 W
Taylorsville, UT 84123


Thomas   Hutton Engineering
Coastal Georgia Council 099
50 Park of Commerce Way
Savannah, GA 31405


Thomas A Culpepper
Address Redacted


Thomas A Edison Charter School
Del Mar Va 081
2200 N Locust St
Wilmington, DE 19802


Thomas A Hendricks PTO
Crossroads of America 160
1111 Saint Joseph St
Shelbyville, IN 46176


Thomas A Nicholson
Address Redacted


Thomas Aldric Simms
Address Redacted


Thomas Anderson
Address Redacted


Thomas Andrew Knapp
Address Redacted


Thomas Andriani
Address Redacted


Thomas Ashford
Address Redacted


Thomas Atkinson
Address Redacted


Thomas Balensiefer
Address Redacted


Thomas Bannon
Address Redacted


Thomas Barnes
Address Redacted


Thomas Barrington
Address Redacted


Thomas Barry
Address Redacted


Thomas Bates Des/Bates Accessories Inc
P.O. Box 468
Greenland, NH 03840


Thomas Beach
Address Redacted


Thomas Beckham
Address Redacted


Thomas Beightol
Address Redacted


Thomas Bird
Address Redacted


Thomas Blackmon
Address Redacted


Thomas Blades Elementary PTO
Greater St Louis Area Council 312
5140 Patterson Rd
Saint Louis, MO 63129


Thomas Bongard
Address Redacted


Thomas Boswell
Address Redacted


Thomas Botts
Address Redacted
Thomas Brandon
Address Redacted


Thomas Bringle
Address Redacted


Thomas Brooks Jr
Address Redacted


Thomas Brown
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Thomas Broyles
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Thomas Buckley
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Thomas Burgess
Address Redacted


Thomas Burggrabe‐Brossia
Address Redacted


Thomas Cantarine
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Thomas Christianson
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Thomas Cloninger
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Thomas Cook
Address Redacted
Thomas Corbett
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Thomas Cordero
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Thomas Cowley
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Thomas Craig
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Thomas Daggers
Address Redacted


Thomas Deimler
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Thomas Deyoung
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Thomas Dintaman Jr
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Thomas Dishaw
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Thomas Doherty
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Thomas Donlin
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Thomas Duane Rugh
Address Redacted
Thomas Dugger
Address Redacted


Thomas Dunbar
Address Redacted


Thomas E Mejia
Address Redacted


Thomas E Mondragon
Address Redacted


Thomas E Mullinix
Address Redacted


Thomas E Ryan
Address Redacted


Thomas Edison PTA
Greater Niagara Frontier Council 380
236 Grayton Rd
Tonawanda, NY 14150


Thomas Edison School
Northern New Jersey Council, Bsa 333
507 5th St
Union City, NJ 07087


Thomas Elementary School PTO
Simon Kenton Council 441
4671 Tuttle Rd
Dublin, OH 43017


Thomas Elijah Cunningham
Address Redacted


Thomas Equipment    Party Rentals Inc
3435 S Blvd
Charlotte, NC 28209
Thomas Ewan
Address Redacted


Thomas Farmery
Address Redacted


Thomas Fiorini
Address Redacted


Thomas Fitzgibbon
Address Redacted


Thomas Foley
Address Redacted


Thomas Franklin
Address Redacted


Thomas Friedel
Address Redacted


Thomas G Copeland
Address Redacted


Thomas G Giugni
Address Redacted


Thomas Gamble
Address Redacted


Thomas Gibson
Address Redacted


Thomas Gonzalez Jr
Address Redacted


Thomas Gregg
Address Redacted


Thomas H Clapham American Legion No 410
Susquehanna Council 533
320 Chestnut St
Mifflinburg, PA 17844


Thomas H Ghiringhelli
Address Redacted


Thomas Halazon
Address Redacted


Thomas Hall
Address Redacted


Thomas Hamer
Address Redacted


Thomas Hanna Jr
Address Redacted


Thomas Harrington
Address Redacted


Thomas Harrover
Address Redacted


Thomas Hartmann
Address Redacted


Thomas Helwig
Address Redacted


Thomas Hjellming
2031 Cromwell Dr
Wheaton, IL 60189
Thomas Hoogland
Address Redacted


Thomas Hooker Elementary Ptg
Connecticut Yankee Council Bsa 072
34 Ridgewood Rd
Meriden, CT 06450


Thomas Hopkins
Address Redacted


Thomas Housen
Address Redacted


Thomas Howard Sr
Address Redacted


Thomas Huether
Address Redacted


Thomas Hunsaker
Address Redacted


Thomas Hunter Allen
Address Redacted


Thomas Hurley
Address Redacted


Thomas I Scherphorn
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Thomas J Conroy
Address Redacted


Thomas J Cuesta
Address Redacted
Thomas J Davis
Address Redacted


Thomas J Gallegos
Address Redacted


Thomas J Hogan
Address Redacted


Thomas J Schnettler
Address Redacted


Thomas J Stolz
Address Redacted


Thomas James
Address Redacted


Thomas James Edwards
Address Redacted


Thomas Jansen
Address Redacted


Thomas Jefferson Elementary School PTA
Lasalle Council 165
1700 Roosevelt Rd
Valparaiso, IN 46383


Thomas Jefferson Elementary School PTO
Sam Houston Area Council 576
5000 Sharman St
Houston, TX 77009


Thomas Jefferson High School
Denver Area Council 061
3950 S Holly St
Denver, CO 80237
Thomas Jefferson Middle School
Lincoln Heritage Council 205
4401 Rangeland Rd
Louisville, KY 40219


Thomas Jensen
Address Redacted


Thomas John Merkle
Address Redacted


Thomas John White
Address Redacted


Thomas Johnson
Address Redacted


Thomas Johnston
Address Redacted


Thomas Joseph Sander
Address Redacted


Thomas Joseph Welsh Jr
Address Redacted


Thomas Kenney
Address Redacted


Thomas Kerpics
Address Redacted


Thomas Kerschner
Address Redacted


Thomas Kessler
Address Redacted
Thomas Kolin
Address Redacted


Thomas Kroenung
Address Redacted


Thomas L Jasper
Address Redacted


Thomas L Marsalis Elementary
Circle Ten Council 571
5640 S Marsalis Ave
Dallas, TX 75241


Thomas Labayewski
Address Redacted


Thomas Larson
Address Redacted


Thomas Lau
Address Redacted


Thomas Law Office, PLLC
Attn Tad Thomas
9418 Norton Commons Blvd, Ste 200
Louisville, KY 40059


Thomas Law Offices, PLLC
Attn Tad Thomas, Lindsay Anne Cordes
re Plaintiff
9418 Norton Commons Blvd, Ste 200
Louisville, KY 40059


Thomas Lay
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Thomas Lee
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Thomas Leet
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Thomas Leitz
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Thomas Lockard
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Thomas Longenecker
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Thomas Lowden
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Thomas M Meiners
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Thomas M, Incorvaia
15 Ithan Ln
Aberdeen, NJ 07747


Thomas Mahoney
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Thomas Mcdermott
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Thomas Mcelwee
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Thomas Mcgehee Jr
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Thomas Mcgrath
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Thomas Mcveigh
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Thomas Mesko
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Thomas Metcalf
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Thomas Meyering
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Thomas Mihalis Memorial Vfw Post 1079
Lake Erie Council 440
500 Abbe Rd S
Elyria, OH 44035


Thomas Miller
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Thomas Montiel
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Thomas Mullen
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Thomas Nehls
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Thomas Oberle
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Thomas Oleniacz
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Thomas P Orrison
Address Redacted


Thomas P Ryan Community Center
Seneca Waterways 397
530 Webster Ave
Rochester, NY 14609


Thomas Peaco
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Thomas Pendleton
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Thomas Pickens
Address Redacted
Thomas Powell
Address Redacted


Thomas Presbyterian Church
Laurel Highlands Council 527
1068 Linden Rd
Eighty Four, PA 15330


Thomas Prescott
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Thomas Przybylski
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Thomas R Hickey
Address Redacted


Thomas R Lawrence
Address Redacted


Thomas R Meade
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Thomas Randall
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Thomas Reprographics Inc
P.O. Box 740967
Dallas, TX 75374‐0967


Thomas Rice
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Thomas S Monson
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Thomas Saldivar
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Thomas Sprowls Jr
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Thomas Stone Jr
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Thomas Township Police Dept
Water and Woods Council 782
8215 Shields Dr
Saginaw, MI 48609


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Thomas Wahlsmith
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Thomas Wainwright
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Thomas Walker Volunteer Fire Dept
Sequoyah Council 713
Old Hwy 58
Ewing, VA 24248


Thomas Walsh
Address Redacted


Thomas Wangeman
Address Redacted


Thomas Washington
Address Redacted


Thomas Wayne Peacemaker
Address Redacted


Thomas Wayne Sykes Jr
Address Redacted


Thomas Wilson
Address Redacted


Thomas Woods American Legion Post 223
Winnebago Council, Bsa 173
113 E 1st St
Sumner, IA 50674


Thomas Wright
Address Redacted


Thomas Wynn Jefferson
Address Redacted


Thomas Yarboro
Address Redacted


Thomas Young
Address Redacted


Thomas Youngblood
Address Redacted


Thomaston Fire Dpt
Connecticut Rivers Council, Bsa 066
245 S Main St
Thomaston, CT 06787


Thomasville Heights
Purpose Built Schools
Atlanta Area Council 092
1820 Henry Thomas Dr Se
Atlanta, Ga 30315


Thomasville Utd Methodist Church
Mobile Area Council‐Bsa 004
P.O. Box 185
Thomasville, AL 36784


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P.O. Box 4346
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P.O. Box 660684
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12100 Wilshire Blvd, Ste 1200
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700 N Pearl St, 25th Fl
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Thompson Gas Propane Partners LLC
5260 Wview Dr, Ste 200
Frederick, MD 21703
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P.O. Box 774
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805 15th St NW 3rd Fl
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59008 Hwy 433
Slidell, LA 70460


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P.O. Box 71
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1 Corporate Plaza
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P.O. Box 1991, Station B
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Carol Stream, IL 60197‐6292


Thonisha Barnes
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P.O. Box 733909
Dallas, TX 75373‐3909


Thornapple Elem School PTO
President Gerald R Ford 781
6932 Bridgewater Dr Se
Grand Rapids, MI 49546


Thorne Elementary School Stem Program
Great Lakes Fsc 272
25251 Annapolis St
Dearborn Heights, MI 48125


Thornhill Catering
2156 W Nwest Hwy 312
Dallas, TX 75220


Thornridge Community Church
Washington Crossing Council 777
7 Thornridge Pl
Levittown, PA 19054


Thornton Anesthesia LLC
Bay‐Lakes Council 635
W8710 Birdie Ln
Beaver Dam, WI 53916
Thornton Heights Utd Methodist Church
Pine Tree Council 218
100 Wbrook St
South Portland, ME 04106


Thornton Police Dept
Denver Area Council 061
9551 Civic Center Dr
Thornton, CO 80229


Thornton Rotary
Denver Area Council 061
P.O. Box 958
Eastlake, CO 80241


Thornville Masonic Lodge 521
Muskingum Valley Council, Bsa 467
44 E Columbus St
Thornville, OH 43076


Thornwood Fire Co 1
Westchester Putnam 388
770 Commerce St
Thornwood, NY 10594


Thornydale Ward ‐ LDS Tucson West Stake
Catalina Council 011
3530 W Magee Rd
Tucson, AZ 85741


Thorofare Volunteer Fire Co   1
Garden State Council 690
P.O. Box 63
61 Firehouse Ln


Thorp Lions Club
Chippewa Valley Council 637
General Delivery
Thorp, WI 54771


Thousand Hills Church
Longhorn Council 662
3201 Tower Ridge Dr, Unit A
Corinth, TX 76210


Thousand Oaks Utd Methodist Mens Club
Ventura County Council 057
1000 E Janss Rd
Thousand Oaks, CA 91360


Thousand Springs ‐ Filer Stake
Snake River Council 111
501 Main St
Buhl, ID 83316


Thrasher Memorial Utd Methodist
Blue Ridge Mtns Council 599
707 E Washington Ave
Vinton, VA 24179


Thread
Baltimore Area Council 220
P.O. Box 1584
Baltimore, MD 21203


Thread Shed Clothing Co
133 S Main St
Salisbury, NC 28144


Threadgill Elementary School PTO
Chickasaw Council 558
1001 Broad St
Greenwood, MS 38930


Three Bridges Reformed Church
Washington Crossing Council 777
P.O. Box 235
470 Main St
Three Bridges, NJ 08887


Three Chopt Presbyterian Church
Heart of Virginia Council 602
9315 Three Chopt Rd
Richmond, VA 23229
Three Coin Productions Inc
Steep Mountain Dr
Draper, UT 84020


Three Fires
4 S 100 Route 59, Ste 4
Naperville, IL 60563


Three Fires Cncl 127
415 N 2nd St
St Charles, IL 60174‐9990


Three Fires Council 127
415 N 2nd St
Saint Charles, IL 60174‐9990


Three Fires Council‐Camp Freeland Leslie
Three Fires Council 127
415 N 2nd St
St Charles, IL 60174


Three Forks Utd Methodist Church
Montana Council 315
P.O. Box 265
Three Forks, MT 59752


Three Forty Two Dads Club
Greater Los Angeles Area 033
251 S Lake Ave, Ste 520
Pasadena, CA 91101


Three Harbors
330 S 84th St
Milwaukee, WI 53214‐1468


Three Harbors Cncl 636
330 S 84th St
Milwaukee, WI 53214‐1468
Three Hierarchs Church
Greater New York Councils, Bsa 640
1724 Ave P
Brooklyn, NY 11229


Three Hierarchs Greek Orthodox Church
Greater New York Councils, Bsa 640
1724 Ave P
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Three In A Box Inc
67 Mowat Ave, Ste 236
Toronto, On M6K 3E3
Canada


Three Lakes Lions Foundation Inc
Samoset Council, Bsa 627
P.O. Box 441
Three Lakes, WI 54562


Three Oaks Middle School
c/o Learning For Life.Attn    April
Southwest Florida Council 088
18500 3 Oaks Pkwy
Fort Myers, FL 33912


Three Rivers
4650 Cardinal Dr
Beaumont, TX 77705‐2797


Three Rivers Cncl 578
4650 Cardinal Dr
Beaumont, TX 77705‐2797


Three Rivers Hotel Co
Marriott Pittsburgh N
100 Cranberry Woods Dr
Cranberry Township, PA 16066


Three Rivers Kiwanis
Katahdin Area Council 216
P.O. Box 143
Milo, ME 04463


Three Springs Lions Club
Juniata Valley Council 497
P.O. Box 34
Three Springs, PA 17264


Three Steeples Utd Methodist Church
Twin Rivers Council 364, Route 11
Champlain, NY 12919


Three Thirteen Parent S Club
Greater St Louis Area Council 312
1209 Ruth Dr
Saint Louis, MO 63122


Three Thirteen Parents Club
Greater St Louis Area Council 312
12325 Manchester Rd
Des Peres, MO 63131


Three Z Printing Co
P.O. Box 840007
Kansas City, MO 64184‐0007


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2600 6th Ave N
Billings, MT 59101


Thrifty Car Rental
Subrogation Dept‐Dtg Operations Inc
Dept 927
Tulsa, OK 74182


Thrifty Car Rental Jackson
1255 Hwy 22
Jackson, WY 83001


Thrive Christian Church
Crossroads of America 160
15091 Towne Rd
Westfield, IN 46074


Thrive Christian Church Inc
Central Florida Council 083
10524 Moss Park Rd, Ste 204
Orlando, FL 32832


Thru Hull
10550 SE Federal Hwy
Hobe Sound, FL 33455


Thsc State Convention
P.O. Box 6747
Lubbock, TX 79493‐6747


Thunderbird Atlatl, LLC
P.O. Box 764
Candor, NY 13743


Thunderbird Lions Club
Grand Canyon Council 010
2824 N Power Rd, Ste 113‐278
Mesa, AZ 85215


Thunderbird Outdoor Club‐ Pryor
Indian Nations Council 488
417 S Elliott St
Pryor, OK 74361


Thunderbird Supply Co
1907 W Historic Route 66
Gallup, NM 87301‐6612


Thunderbox, Inc / Sea To Summit
1901 Central Ave
Boulder, CO 80301


Thurber Greenwood Post 1916 Vfw
Glaciers Edge Council 620
P.O. Box 51
Reedsburg, WI 53959
Thurgood Marshall Es
Sam Houston Area Council 576
6200 Winfield Rd
Houston, TX 77050


Thurman Bike   Sport Shop
1104 3rd Corso
Nebraska City, NE 68410‐2710


Thurmond Community Center, Inc
Old Hickory Council 427
796 US Hwy 21
Thurmond, NC 28683


Thurmond Land Co
2 Riverfront Pl
Thurmond, WV 25936


Thurmont Community Ambulance Service
National Capital Area Council 082
27 N Church St
Thurmont, MD 21788


Thurmont Lions Club
National Capital Area Council 082
105 Dogwood Ave
Thurmont, MD 21788


Thursday Noon Optimist Club
Hawkeye Area Council 172
P.O. Box 1506
Cedar Rapids, IA 52406


Thurston School PTO
Southern Shores Fsc 783
2300 Prairie St
Ann Arbor, MI 48105


Thyatira Presbyterian Church
Central N Carolina Council 416
220 White Rd
Salisbury, NC 28147


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Thyssenkrupp Elevator Corp
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Atlanta, GA 31193‐3004


Tia Mallard
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Tiaa Commercial Finance Inc
P.O. Box 911608
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Tiaa Commercial Finance, Inc
10 Waterview Blvd
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Tiara Hollifield
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Tibbals Parents
Circle Ten Council 571
304 Creekside Dr
Murphy, TX 75094


Tiburon Baptist Church
Marin Council 035
445 Greenwood Beach Rd
Tiburon, CA 94920


Tic Toc
1999 Bryan St, Ste 1900
Dallas, TX 75201
Tic Toc Rocks
127 Romero
Santa Fe, NM 87501


Tice Elementary PTO
Southwest Florida Council 088
4524 Tice St
Fort Myers, FL 33905


Tichigan Volunteer Fire Co
Three Harbors Council 636
8205 Big Bend Rd
Waterford, WI 53185


Tico Perez
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Tidal Creek Fellowship
Coastal Carolina Council 550
290 Brickyard Point Rd S
Beaufort, SC 29907


Tidewater
1032 Heatherwood Dr
Virginia Beach, VA 23455‐6675


Tidewater Cncl 596
1032 Heatherwood Dr
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Tidewater Incentives Group Ltd
211 Calvary Rd
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Tidy Aire Incorporated
P.O. Box 850533
Richardson, TX 75085‐0533


Tidy Coast Containers
13150 SE Flora Ave
Hobe Sound, FL 33455


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Sussex, WI 53089


Tierrasanta Lutheran Church
San Diego Imperial Council 049
11240 Clairemont Mesa Blvd
San Diego, CA 92124


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Tifani Boucher
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Tiferet Bet Israel Synagogue
Cradle of Liberty Council 525
1920 Skippack Pike
Blue Bell, PA 19422


Tiffany Bailey
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Tiffany Coakley
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Tiffany Deygoo
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Tiffany Edmiston
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Tiffany Gravelle
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Tiffany Sage Dba Sage Distributing
P.O. Box 148
Gurley, NE 69141


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Tiffany Turner
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Tiffany Viduya
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Tiffany Williams
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Tiffin Elementary School
Simon Kenton Council 441
145 S Bridge St
Chillicothe, OH 45601


Tiffin Elks Lodge 94
Black Swamp Area Council 449
106 E Perry St
Tiffin, OH 44883


Tiffin University
Attn Bursars Office
155 Miami St
Tiffin, OH 44883


Tifie Humanitarian
Trapper Trails 589
6100 S Hwy 66
Morgan, UT 84050


Tift Co Sheriff S Office
South Georgia Council 098
500 Morgan Dr
Tifton, GA 31794


Tigard Utd Methodist Church
Cascade Pacific Council 492
9845 SW Walnut Pl
Tigard, OR 97223


Tiger Academy PTA
North Florida Council 087
6079 Bagley Rd
Jacksonville, FL 32209


Tiger Bay Management Inc
Greater Los Angeles Area 033
4000 Palos Verdes Dr N, Ste 201
Rolling Hills Estates, CA 90274


Tiger Direct
c/o Syx Services
P.O. Box 449001
Miami, FL 33144‐9001


Tiger Direct Com
175 Ambassador Dr
Naperville, IL 60540


Tiger Direct Com
c/o Syx Service
P.O. Box 449001
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Tiger Rock Colorado Springs
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7615 N Union Blvd
Colorado Springs, CO 80920


Tigerdirect Inc
P.O. Box 935313
Atlanta, GA 31193‐5313


Tigershark Cs Civil Air Patrol
Golden Spread Council 562
11001 Airport Blvd
Amarillo, TX 79111


Tight Ship LLC
1013 Gilbert Ln
Ventura, CA 93003


Tiki Huts
19401 SW 187 Ave
Miami, FL 33187


Tiki Water Sports Inc
94381 Overseas Hwy
P.O. Box 372708
Key Largo, FL 33037


Tilden S Scuba Center Marathon
4650 Overseas Hwy
Marathon, FL 33050


Tilgman‐Angle Smith American Legion 851
Hudson Valley Council 374
Ballpark Rd
Dingmans Ferry, PA 18328


Tillamook Police Cadet Program
Cascade Pacific Council 492
207 Madrona Ave
Tillamook, OR 97141


Tillman House
Smyrna First United Methodist Church
Atlanta Area Council 092
940 Concord Rd Se
Smyrna, Ga 30080


Tilton‐Northfield Rotary Club
Daniel Webster Council, Bsa 330
P.O. Box 679
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Miami Beach, FL 33139


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Tim G Lawler
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Tim Herndon Plumbing
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Inverness, FL 34450


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Tim Potts
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Poulsbo, WA 98370


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Tima Brands Inc
9098 E Mohawk Ln
Scottsdale, AZ 85255


Timaeus Group LLC
15243 La Cruz Dr 1432
Pacific Palisades, CA 90272


Timaeus Group LLC
350 Beirut Ave
Pacific Palisades, CA 90272


Timber Creek Elementary PTA
Heart of America Council 307
16451 Flint St
Overland Park, KS 66221


Timber Lane Utility District
Sam Houston Area Council 576
2727 Allen Pkwy, Ste 1100
Houston, TX 77019


Timber Ridge Residential Traetment Ctr
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1463 New Hope Rd
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Timberjay, Inc
414 Main St P.O. Box 636
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Blue Ridge Mtns Council 599
21649 Timberlake Rd
Lynchburg, VA 24502


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North Florida Council 087
555 Pine Tree Ln
St Augustine, FL 32092


Timberline Church
Longs Peak Council 062
2908 S Timberline Rd
Fort Collins, CO 80525


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Winter Springs, FL 32708


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Conifer, CO 80433


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Riverview, FL 33578‐8652


Time Warner Cable
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Time Warner Cable
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Time Warner Cable
P.O. Box 650063
Dallas, TX 75265‐0063


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San Angelo, TX 76904


Timely Early Age Mentoring
Capitol Area Council 564
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Austin, TX 78715


Timepayment Corp
P.O. Box 3069
Woburn, MA 01888‐1969


Timex Group Usa, Inc
P.O. Box 60509
Charlotte, NC 28260


Timex Group Usa, Inc
P.O. Box 79280
City of Industry, CA 91716‐9280


Timken Co ‐ Canton
Buckeye Council 436
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Canton, OH 44706


Timmerman School PTO
Jayhawk Area Council 197
2901 Timmerman Dr
Emporia, KS 66801


Timmins Engineering LLC
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Big Pine Key, FL 33043


Timonium Utd Methodist Church
Baltimore Area Council 220
2300 Pot Spring Rd
Timonium, MD 21093


Timothy A Lapointe
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Timothy Anders
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Timothy Douglas Crofton
6712 Dodd Pl Ne
Albuquerque, NM 87110


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Timothy La Salvia
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Timothy Labar
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Timothy Laffoon
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Timothy Lutheran Church
Buckeye Council 436
3004 Marion Mount Gilead Rd
Marion, OH 43302


Timothy Lutheran Church
Heart of America Council 307
425 NW R D Mize Rd
Blue Springs, MO 64014


Timothy Lutheran Church South
Heart of America Council 307
301 E Wyatt Rd
Blue Springs, MO 64014
Timothy M Daniel
Address Redacted


Timothy M Doherty
Address Redacted


Timothy M Loosbrock
Address Redacted


Timothy M Rogers
Address Redacted


Timothy M Tallmadge
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Timothy Manard
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Timothy Mason
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Timothy Matthew Bowersox
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Timothy Mccandless
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Timothy Mcclure
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Timothy Mcmahan
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Timothy Mcwilliams
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Timothy Melton
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Timothy Mummaw
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Timothy Neeck
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Timothy Nicholson
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Timothy O Donnell
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Timothy P Molinari
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Timothy Patrick
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Timothy Quinn
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Timothy R Carroll
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Timothy Rehrauer
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Timothy Rice
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Timothy Richardson
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Timothy Roche
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Timothy Rose Jr
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Timothy Rupert
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Timothy Schwartz
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Timothy Spice
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Timothy Stanfill
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Timothy Steinert
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Timothy Streagle
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Timothy Swenson
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Timothy Taylor
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Timothy Thomton
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Timothy W Peck
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Timothy Wells
Address Redacted


Timothy Welty
Address Redacted


Timothy Werner
Address Redacted


Timothy Williams
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Timothy Wrozek
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Timothy Wuertzer
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Timpanogos Regional Hospital
Utah National Parks 591
750 W 800 N B
Orem, UT 84057


Timpanogos Valley Theatre
Utah National Parks 591
90 N 100 W
Heber City, UT 84032
Timpeepost No 23 American Legion
Mid‐America Council 326
1102 15th St
Spirit Lake, IA 51360


Tims Memorial Presbyterian Church
Greater Tampa Bay Area 089
601 Sunset Ln
Lutz, FL 33549


Tims Truck    Auto Inc
46 W Camp St
Ely, MN 55731


Tin Fulton Walker   Owen PLLC
301 E Park Ave
Charlotte, NC 28203


Tina Archuleta
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Tina Brendle
Address Redacted


Tina Carroll
Address Redacted


Tina Conard
Address Redacted


Tina Crawford Travel
520 Fox Creek Court
Denton, TX 76209


Tina Grimm
Address Redacted


Tina Harris
Address Redacted
Tina Hogue
Address Redacted


Tina Landfair
Address Redacted


Tina Long
Address Redacted


Tina Maria Archuleta
Address Redacted


Tina Nguyen
Address Redacted


Tina Pegler
Address Redacted


Tina Weber Rabreau
Address Redacted


Tina Wong
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Tindal Activity Center
Great Lakes Fsc 272
10301 W 7 Mile Rd
Detroit, MI 48221


Tindley Collegiate Academy ‐ Exploring
Crossroads of America 160
4010 N Sherman Dr
Indianapolis, IN 46226


Tindley Genesis Academy
Crossroads of America 160
2540 N Capitol Ave
Indianapolis, IN 46208
Tindley Preparatory Academy ‐ As
Crossroads of America 160
4010 N Sherman Dr
Indianapolis, IN 46226


Tindley Renaissance Academy ‐ As
Crossroads of America 160
4020 N Sherman Dr
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Tindley Summit Academy
Crossroads of America 160
3698 Dubarry Rd
Indianapolis, IN 46226


Tinker Scientist   Eng Leadership Assoc
Last Frontier Council 480
7118 Se 15Th St
Midwest City, Ok 73110


Tinkling Spring Presbyterian Church
Stonewall Jackson Council 763
30 Tinkling Spring Dr
Fishersville, VA 22939


Tinley Park Community Church
Pathway To Adventure 456
7939 167th St
Tinley Park, IL 60477


Tinton Falls Junior Firefighters
Monmouth Council, Bsa 347
2 Volunteer Way
Tinton Falls, NJ 07753


Tioga First Baptist Church
Louisiana Purchase Council 213
1309 Singer Dr
Ball, LA 71405


Tionesta Utd Methodist Church
French Creek Council 532
P.O. Box 79
Tionesta, PA 16353


Tiphany Myers
Address Redacted


Tipp City Utd Methodist Church
Miami Valley Council, Bsa 444
8 W Main St
Tipp City, OH 45371


Tippecanoe County Sheriff Dept
Sagamore Council 162
2640 Duncan Rd
Lafayette, IN 47904


Tipping Point Initiative
President Gerald R Ford 781
2531 Barfield Dr Se
Grand Rapids, MI 49546


Tipton Elementary School PTO
Crossroads of America 160
1099 S Main St
Tipton, IN 46072


Tipton Rotary Club
Crossroads of America 160
345 E 200 S
Tipton, IN 46072


Tipton Rotary Club
Hawkeye Area Council 172
600 Mulberry St
Attention David Lorenzon
Tipton, IA 52772


Tipton‐Durant Middle School
Tukabatchee Area Council 005
2500 Tipton St
Selma, AL 36701
Tishomingo Lions Club
Arbuckle Area Council 468
103 N Neshoba St
Tishomingo, OK 73460


Tishomingo Lions Club
Arbuckle Area Council 468
P.O. Box 25
Jana Wakefield
Tishomingo, OK 73460


Titan Legal Services Inc
P.O. Box 867
Torrance, CA 90508


Titan Propane
500 Meijer Dr, Ste 200
Florence, KY 41042


Titan Services
P.O. Box 2719
Grapevine, TX 76099


Title Services Inc
P.O. Box 696
Raton, NM 87740


Titusville Police Dept
Central Florida Council 083
1100 John Glenn Blvd
Titusville, FL 32780


Tiverton Police Dept
Narragansett 546
20 Industrial Way
Tiverton, RI 02878


Tiwald Law, PC
Attn John Tiwald
6121 Indian School Rd Ne, Ste 210
Albuquerque, NM 87110


Tiwald Law, PC
Attn John Tiwald, John R Reidy
re Plaintiff
6121 Indian School Rd Ne, Ste 210
Albuquerque, NM 87110‐3179


Tj Austin Elementary School PTA
East Texas Area Council 585
1105 W Franklin St
Tyler, TX 75702


Tj Davis LLC
Central Florida Council 083
359 Water Oak Ln
Ormond Beach, FL 32174


Tjac 372
Black Warrior Council 006
9410 Hwy 82 E
Duncanville, AL 35456


Tjv Balloons Inc
1115 N College Ave
Bloomington, IN 47404


Tko Locks   Doors Inc
700 3rd Ave
Brooklyn, NY 11232


Tlc Event Rentals    Productions LLC
740 W Mockingbird Ln
Dallas, TX 75247


Tm Shea Products Inc
1950 Austin Dr
Troy, MI 48083


Tm Television
2440 Lacy Ln, Ste 110
Carrollton, TX 75006


Tmb Charitable Foundation Inc
1117 Sandler Ridge Rd
Tallahassee, FL 32317


Tmc Maintenance Co LLC
70 S Val Vista Dr, Ste A3‐614
Gilbert, AZ 85234


T‐Mobile Hotspot
T‐Mobile Usa
P.O. Box 84271
Seattle, WA 98124‐5571


Tn College Of Applied Tech Nashville
100 White Bridge Rd
Nashville, TN 37209


Tn Dept Of Labor   Workforce Development
P.O. Box 24827
Nashville, TN 37202‐4827


Tn Secretary Of State
State Capitol
Nashville, TN 37243‐1102


Tnb Tucson
Sheraton Tucson Hotel    , Ste s
5151 E Grant Rd
Tucson, AZ 85712


Tnt Generators
Great Smoky Mountain Council 557
432 Chisholm Trl
Knoxville, TN 37919


Tobin Truslow
Address Redacted
Toby Farms Middle School
Cradle of Liberty Council 525
201 Bridgewater Rd
Brookhaven, PA 19015


Toby H Brown
Address Redacted


Tobyhanna Township Volunteer Fire Co
Minsi Trails Council 502
P.O. Box 388
Pocono Pines, PA 18350


Today, Tomorrow, Forever Foundation
Mount Baker Council, Bsa 606
1801 72nd Pl Se
Everett, WA 98203


Todd Bolick
Address Redacted


Todd Bullman
Address Redacted


Todd Campbell
Address Redacted


Todd Davis
Address Redacted


Todd Eipperle
Address Redacted


Todd Elementary School ‐ PTO
Glaciers Edge Council 620
1621 Oakwood Ave
Beloit, WI 53511


Todd Greene
Address Redacted
Todd Heyn
Address Redacted


Todd Hillmer
Address Redacted


Todd Huston LLC
P.O. Box 702870
Tulsa, OK 74170


Todd Kennedy
Address Redacted


Todd Lamison
Address Redacted


Todd Lassig
Address Redacted


Todd Martin
Address Redacted


Todd Mcdonald
Address Redacted


Todd Peine
Address Redacted


Todd R Mcgregor
Address Redacted


Todd Salerno
Address Redacted


Todd Schieberl
Address Redacted
Todd Shealy
Address Redacted


Todd Signs LLC
5147 Miller Trunk Hwy
Duluth, MN 55811


Todd Steele Photoart, LLC
1539 S Mason Rd 74
Katy, TX 77450


Todd Upchurch C/O Mary Collins Agency
2909 Cole Ave, Ste 250
Dallas, TX 75204


Todd Vanhoover
Address Redacted


Todd Weidner
Address Redacted


Todd Whalen
Address Redacted


Todd Wheeler
Address Redacted


Todd Williams
Address Redacted


Todd Wordel
Address Redacted


Tog Hotels Downtown Dallas LLC
Crowne Plaza Dallas
1015 Elm St
Dallas, TX 75202
Together In Pajaro
Silicon Valley Monterey Bay 055
36 Porter Dr
Royal Oaks, CA 95076


Together Inc
The Pin Man
802 E 6th St
Tulsa, OK 74120


Tohono O Odham Nation Fire Dept
Explorer Post 99
P.O. Box 400
Sells, AZ 85634


Tokuyo Rogers
Address Redacted


Tokyo American Club
Far E Council 803
2‐1‐2 Azabudai
Minato‐Ku
Tokyo, 10686
Japan


Tokyo American Club
Far E Council 803
4‐25‐46 Takanawa
Minato‐Ku,
Japan


Toledo Buzzards
Light Sport Aircraft Club
20526 Caris Rd
Bowling Green, OH 43402


Toledo Lucas Cnty Police Athletic League
Erie Shores Council 460
525 N Erie
Toledo, Oh 43604


Toledo Police Dept
Erie Shores Council 460
525 N Erie St
Toledo, OH 43624


Toledo Police Dept
Oregon Trail Council 697
250 W Hwy 20
Toledo, OR 97391


Toledo Second Ward LDS
Erie Shores Council 460
1545 Egate Rd
Toledo, OH 43614


Toledo Smart Adelante
Erie Shores Council 460
1850 Airport Hwy
Toledo, OH 43609


Toledo Volunteers
Greater St Louis Area Council 312
P.O. Box 127
Toledo, IL 62468


Toll Gate Elementary PTO
Simon Kenton Council 441
12183 Tollgate Rd
Pickerington, OH 43147


Tolland Fire Explorer Post 40
Connecticut Rivers Council, Bsa 066
P.O. Box 827
Tolland, CT 06084


Tolland Middle School
Connecticut Rivers Council, Bsa 066
96 Old Post Rd
Tolland, CT 06084


Toll‐By‐Plate
P.O. Box 105477
Atlanta, GA 30348‐5477
Tolleson Police Dept
Grand Canyon Council 010
8350 W Van Buren St
Tolleson, AZ 85353


Tolon E Berry
Address Redacted


Tolono Utd Methodist Men
Prairielands 117
301 N Bourne St
P.O. Box 1


Tolsia High School Jrotc
Buckskin 617
1 Rebel Dr
Fort Gay, WV 25514


Toltz King Duvall Anderson     Assoc Inc
444 Cedar St, Ste 1500
Saint Paul, MN 55101


Tom Bean Volunteer Fire Dept
Circle Ten Council 571
101 W Garner St
Tom Bean, TX 75489


Tom Cardiff
Address Redacted


Tom Grimes
Address Redacted


Tom Growney Equipment Inc
P.O. Box 6157
Albuquerque, NM 87197‐6157


Tom Hulcy
Address Redacted
Tom Hussey Photography, LLC
154 Express
Dallas, TX 75207


Tom Joy Tigers
Middle Tennessee Council 560
2201 Jones Ave
Nashville, TN 37207


Tom King, Inc
9740 Kilgore Rd
Orlando, FL 32836


Tom Knight
Address Redacted


Tom Park / Park Construction
P.O. Box 155
Cimarron, NM 87714


Tom S Trim   Repair
P.O. Box 165
Springer, NM 87747


Tom Smith Music Productions
P.O. Box 821043
Dallas, TX 75382‐1043


Tom Tomkinson Illustration
P.O. Box 4002
Jackson, WY 83001


Tom Vang
Address Redacted


Tom White Studios Inc
13770 E Mingus Vista Dr
Prescott Valley, AZ 86315
Tomahawk Elementary PTA
Heart of America Council 307
6301 W 78th St
Overland Park, KS 66204


Tomahawk Lions Club
Samoset Council, Bsa 627
P.O. Box 754
Tomahawk, WI 54487


Tomahawk PTO Booster Club
Heart of America Council 307
13820 S Brougham Dr
Olathe, KS 66062


Tomales Presbyterian Church
Marin Council 035
11 Church St
Tomales, CA 94971


Tomas F Sommer
Address Redacted


Tomas Perez
Address Redacted


Tomball Police Dept
Sam Houston Area Council 576
400 Fannin St
Tomball, TX 77375


Tomball Utd Methodist Church
Sam Houston Area Council 576
1603 Baker Dr
P.O. Box 1689


Tomcat Consultants
P.O. Box 317
111 S 4th St
Rosebud, MO 63091
Tomek‐Otto American Legion Post 72
Mid‐America Council 326
222 N 5th St
Pierce, NE 68767


Tommie Carter
Address Redacted


Tommie Daniel Jr
Address Redacted


Tommie Enlow
Address Redacted


Tommie Suganuma
Address Redacted


Tommy   Sam Howells
9706 S Ruskin Cir
Sandy, UT 84092‐3569


Tommy Bacote
Address Redacted


Tommy Grubb
Address Redacted


Tommy Lynam
Address Redacted


Tommy Miles
Address Redacted


Tommy Sprayberry
Address Redacted


Tommy Williams
Address Redacted
Tomorrow River Lions Club
Samoset Council, Bsa 627
P.O. Box 39
Amherst, WI 54406


Tomorrows Aeronautical Museum
dba Aero Squad
961 W Alondra Blvd
Compton, CA 90220


Toms River Fire Co 2
Jersey Shore Council 341
45 W Water St
Toms River, NJ 08753


Tonda Benton
Address Redacted


Tonda Kaye Owings
Address Redacted


Tonda Owings
Address Redacted


TonerpriceCom
6200 E Canyon Rim Rd, Ste 215
Anaheim Hills, CA 92807


Toney Fire   Rescue Explorers
Greater Alabama Council 001
P.O. Box 65
Toney, AL 35773


Toney Utd Methodist Church
Greater Alabama Council 001
5465 Old Railroad Bed Rd
Toney, AL 35773


Toni Atwell
Address Redacted


Toni Roslund
Address Redacted


Toni Schultheiss
Address Redacted


Toni Susette Atwell
Address Redacted


Tonia Brown
Address Redacted


Tonia Denise Brown
Address Redacted


Tonica Utd Methodist Church
W D Boyce 138
P.O. Box 98
423 E Wauponis


Tonnie Carter
Address Redacted


Tony A King Dba Big T Services
Box 463
Springer, NM 87747


Tony Nokeo
Address Redacted


Tony Salcido
Address Redacted


Tony Smith
Address Redacted
Tony Van Helmond
Address Redacted


Tony Wesley
Address Redacted


Tonya Bryant
Address Redacted


Tonya Carpenter
Address Redacted


Tonya Correll
Address Redacted


Tonya Dobbins
Address Redacted


Tonya Downing
Address Redacted


Tonya Finney
Address Redacted


Tonya Kellogg
Address Redacted


Tonya Klemm
Address Redacted


Tonya Longmire
Address Redacted


Tonya Manney
Address Redacted


Tonya Paul
Address Redacted
Tonya Pharr
Address Redacted


Tonya Rene Pharr
Address Redacted


Tonya Reynolds
Address Redacted


Tonya Sharp
Address Redacted


Tonya Smith
Address Redacted


Tonys Locksmith   Safe Service
429 Avenida De La Estrella
San Clemente, CA 92672


Tooele Elks 1673
Great Salt Lake Council 590
105 S 6th St
Tooele, UT 84074


Tools Plus
60 Scott Rd
Prospect, CT 06712


Toombs, Inc Dba Arkansas Police Supply
5226 E Nettleton Ave
Jonesboro, AR 72401


Top Cut Comic Chicago LLC
Pathway To Adventure 456
7122 Ogden Ave, Ste B
Berwyn, IL 60402


Top Golf‐ The Colony
3760 Blair Oaks Dr
The Colony, TX 75056


Top Level Printing Ink
9110 Premier Row
Dallas, TX 75247


Top O Lake Sporting Goods
206 Cedar St
Manistique, MI 49854


Top Of The Market
750 N Harbor Dr
San Diego, CA 92101


Topanga Community Club
W.L.A.C.C. 051
P.O. Box 652
1440 N Topanga Canyon Blvd
Topanga, CA 90290


Topar, Inc
13747 Hwy 350
Trinidad, CO 81082


Topeka Correctional Facility
Jayhawk Area Council 197
815 SE Rice Rd
Topeka, KS 66607


Topeka High School
Jayhawk Area Council 197
800 SW Polk St
Topeka, KS 66612


Topeka Police Dept
Jayhawk Area Council 197
320 S Kansas Ave, Ste 100
Topeka, KS 66603


Topeka Zoo   Conservation Center
Jayhawk Area Council 197
635 SW Gage Blvd
Topeka, KS 66606


Topet Group
P.O. Box 78135
Winter Garden, FL 34778


Torah Day School Of Atlanta
Atlanta Area Council 092
1985 Lavista Rd Ne
Atlanta, GA 30329


Torin M Rockwell
Address Redacted


Torkildson Katz Moore Hetherington
Harris Attorneys
700 Bishop St 15th Fl
Honolulu, HI 96813‐4187


Torlaf Conner
Address Redacted


Torpedo Farms Swine Genetics
35269 Ford Rd
Pueblo, CO 81006


Torrance Fire Dept
Greater Los Angeles Area 033
1701 Crenshaw Blvd
Torrance, CA 90501


Torrance Police Dept
Greater Los Angeles Area 033
3300 Civic Center Dr N
Torrance, CA 90503


Torrance Rotary
Greater Los Angeles Area 033
P.O. Box 4
Torrance, CA 90507


Torrence Creek Elementary
Mecklenburg County Council 415
14550 Ranson Rd
Huntersville, NC 28078


Torrey Pines Church
San Diego Imperial Council 049
8320 La Jolla Scenic Dr N
La Jolla, CA 92037


Torrey Pines Kiwanis Club
San Diego Imperial Council 049
8677 Via La Jolla Dr 1144
La Jolla, CA 92037


Torrey Rueger
Address Redacted


Torstenson Wildlife Center
P.O. Box 527
Datil, NM 87821


Tortolita Ward ‐ LDS Tucson West Stake
Catalina Council 011
3500 W Sumter Dr
Tucson, AZ 85742


Tortuga Preserve Elementary
Southwest Florida Council 088
1711 Gunnery Rd N
Lehigh Acres, FL 33971


Tosh Farms
West Tennessee Area Council 559
P.O. Box 308
Henry, TN 38231


Toshiye Estes
Address Redacted
Total Blinds   Window Tinting
5409 Hummingbird Ln Nw
Albuquerque, NM 87120


Total Equipment   Rental Of Albuquerque
16301 N Rockwell Ave
Edmond, OK 73013


Total Equipment   Rental Of Albuquerque
Bobcat of Albuquerque
8800 N I‐35 Service Rd
Oklahoma City, OK 73131


Total Fixture Services LLC
3410 W Samaria Rd
Temperance, MI 48182


Total Home Revisions
10521 Washam Potts Rd
Cornelius, NC 28031


Total Quality Labels
4845 Cash Rd
Dallas, TX 75247


Totalfunds By Hasler
P.O. Box 30193
Tampa, FL 33630‐3193


Totem Falls Parents Group
Mount Baker Council, Bsa 606
14313 Cascade Dr Se
Snohomish, WA 98296


Touchette Regional Hospital
Greater St Louis Area Council 312
5900 Bond Ave
East Saint Louis, IL 62207
Touchpoints
c/o Spaces‐Floor 2
1500 N Halsted St
Chicago, IL 60642


Touchstone Financial
273 W 500 S, Suite 17
Bouniful, UT 84010


Toulon Lions Club
Illowa Council 133
305 S Henderson St
Toulon, IL 61483


Toulon Utd Methodist Church
Illowa Council 133
228 W Main St
Toulon, IL 61483


Tour 18 Golf Club
c/o Dennis   Sun Lee
8718 Amen Corner
Flower Mound, TX 75022


Tourguide Tim, Inc
7319 Calle Cristobal 142
San Diego, CA 92126


Towanda Rotary Club
Five Rivers Council, Inc 375
428 Main St
Towanda, PA 18848


Towanna Williams
Address Redacted


Tower Legal Staffing Inc
65 Broadway, Ste 1703
New York, NY 10006


Tower Legal Staffing Inc
P.O. Box 2273
Hicksville, NY 11802


Towers Perrin
William E Brooks
12377 Merit Dr, Ste 1200
Dallas, TX 75251‐3234


Towers Perrin Inc
P.O. Box 8500, S‐6110
Philadelphia, PA 19178


Towers Watson
500 N Akard St
Dallas, TX 75201


Towers Watson
500 N Akard St, Ste 4100
Dallas, TX 75201


Towers Watson Delaware, Inc
P.O. Box 28025
28025 Network Pl
Chicago, IL 60673‐1280


Town   Country Club
Northern Lights Council 429
123 2nd St Sw
Rothsay, MN 56579


Town   Country Electric Inc
1116 8th St S
Virginia, MN 55792


Town   Country Optimist Club
Capitol Area Council 564
1900 Meadowheath Dr
Austin, TX 78729


Town   Country Resort      Convention Ctr
500 Hotel Cir N
San Diego, CA 92108


Town Center Elementary PTO
Circle Ten Council 571
185 N Heartz Rd
Coppell, TX 75019


Town Creek School PTA
National Capital Area Council 082
110 Dent Dr
Lexington Park, MD 20653


Town Hill Methodist Church
Columbia‐Montour 504
417 Town Hill Rd
Shickshinny, PA 18655


Town Line Lutheran Church
Greater Niagara Frontier Council 380
1159 Town Line Rd
Alden, NY 14004


Town N Country Memorial AL Post 152
Greater Tampa Bay Area 089
11211 Sheldon Rd
Tampa, Fl 33626


Town Of Afton
Cherokee Area Council 469 469
P.O. Box 250
Afton, OK 74331


Town Of Avon
100 Mikaela Way
P.O. Box 975
Avon, CO 81620


Town Of Bloomsburg
Columbia‐Montour 504
301 E 2nd St
Bloomsburg, PA 17815
Town Of Breckenridge
P.O. Box 1517
Breckenridge, CO 80424


Town Of Burlington Fire Dept 2
Three Harbors Council 636
34225 Euclid Dr
Burlington, WI 53105


Town Of Castle Rock
100 N Wilcox St
Castle Rock, CO 80104


Town Of Corinth Emergency Squad
Twin Rivers Council 364
600 Palmer Ave
Corinth, NY 12822


Town Of Delta
360 Main St
Delta, CO 81416


Town Of Drexel
Piedmont Council 420
102 Church St
Drexel, NC 28619


Town Of Drexel
Piedmont Council 420
213 Settlemyre Rd
Morganton, NC 28655


Town Of Ephratah
Twin Rivers Council 364
3782 State Hwy 10
Saint Johnsville, NY 13452


Town Of Eva
P.O. Box 456
Decatur, AL 35602
Town Of French Camp
Pushmataha Area Council 691
Hwy 413
French Camp, MS 39745


Town Of Gypsum
50 Lundgren Blvd
P.O. Box 130
Gypsum, CO 81637


Town Of Howey In The Hills
Central Florida Council 083
101 N Palm Ave
Howey In the Hills, FL 34737


Town Of Hudson
Hudson Town Hall
P.O. Box 56
Hudson, WY 82515


Town Of Kent Police Cadet Corp
Westchester Putnam 388
40 Sybils Xing
Kent Lakes, NY 10512


Town Of Larkspur
P.O. Box 310
Larkspur, CO 80118


Town Of Little Elm Fire Dept
Longhorn Council 662
100 W Eldorado Pkwy
Little Elm, TX 75068


Town Of Manlius Police Dept
Longhouse Council 373
1 Arkie Albanese Ave
Manlius, NY 13104


Town Of Marilla
Greater Niagara Frontier Council 380
1740 Two Rod Rd
Marilla, NY 14102


Town Of Milton
525 Canton Ave
Milton, MA 02186


Town Of Mina
Allegheny Highlands Council 382
P.O. Box 38
Findley Lake, NY 14736


Town Of Moffat Colorado
Rocky Mountain Council 063
401 Lincoln Ave
Moffat, CO 81143


Town Of Mount Crested Butte
P.O. Box 5800
Mt. Crested Butte, CO 81225


Town Of Mountain Village
455 Mountain Village Rd, Ste A
Mountain Village, CO 81435


Town Of Norwood Redevelopment
Central N Carolina Council 416
116 S Main St
Norwood, NC 28128


Town Of Pantego
1614 S Bowen Rd
Pantego, TX 76013


Town Of Parker
Attn Sales Tax Admin
P.O. Box 5602
Denver, CO 80217‐5602


Town Of Randall Fire Dept
Three Harbors Council 636
9575 336th Ave
Bassett, WI 53101


Town Of Ridgway
201 N Railroad St
P.O. Box 10
Ridgway, CO 81432


Town Of Rock Hall Maryland
Del Mar Va 081
5855 N Main St
Rock Hall, MD 21661


Town Of Sabattus
Pine Tree Council 218
190 Middle Rd
Sabattus, ME 04280


Town Of Silverthorne
604 Ctr Cir
P.O. Box 1309
Silverthorne, CO 80498


Town Of Sophia
Buckskin 617
P.O. Box 700
Sophia, WV 25921


Town Of Timnath
4800 Goodman St
Timnath, CO 80547


Town Of Tonawanda Police Club
Greater Niagara Frontier Council 380
1835 Sheridan Dr
Buffalo, NY 14223


Town Of Trinity
P.O. Box 302
Decatur, AL 35602
Town Of Vail.
75 S Frontage Rd
Vail, CO 81657


Town Of Vanleer
Middle Tennessee Council 560
4455 Hwy 49 W
Vanleer, TN 37181


Town Of Wilson Black River Fire Dept
Bay‐Lakes Council 635
5536 Evergreen Dr
Sheboygan, WI 53081


Town Of Windsor
301 Walnut St
Windsor, CO 80550


Town Of Winter Park
P.O. Box 3327
Winter Park, CO 80482


Town Of Woodbury Lions Club
Hudson Valley Council 374
P.O. Box 538
Central Valley, NY 10917


Town Sports International Holdings, Inc
399 Exec Blvd
Elmsford, NY 10523


Town Square Inc
Greater New York Councils, Bsa 640
101 Walton St
Brooklyn, NY 11206


Towne And Country Optimist
Alamo Area Council 583
234 Harwood Dr
San Antonio, TX 78213
Towne Transport LLC
P.O. Box 3247
Annapollis, MD 21403


Townley Elementary ‐ Gifw
Longhorn Council 662
2200 Mcpherson Rd
Fort Worth, TX 76140


Townplace Suites By Marriott Naperville
1843 W Diehl Rd
Naperville, IL 60563


Townsend Boys N Girls Club
Three Harbors Council 636
3360 N Sherman Blvd
Milwaukee, WI 53216


Townsend‐Congregational Church
Heart of New England Council 230
3 Brookline St
Townsend, MA 01469


Townsend‐St John S Church
Heart of New England Council 230
1 School St
Townsend, MA 01469


Township Of Middletown E M S
Monmouth Council, Bsa 347
1 Kings Hwy
Middletown, NJ 07748


Township Of Monroe Utility Dept
Monroe Township Utilities Authority
143 Union Valley Rd
Monroe Twp, NJ 08831


Township Of Morris Fire Dept
Patriots Path Council 358
P.O. Box 7603
Dwyer Lane
Convent Station, NJ 07961


Township Of Parsippany Police Dept
Patriots Path Council 358
3339 US Hwy 46
Parsippany, NJ 07054


Township Of Union Police Dept
Patriots Path Council 358
981 Caldwell Ave
Union, NJ 07083


Townville Lions Club
French Creek Council 532
32089 State Hwy 408
Townville, PA 16360


Towson Presbyterian Church
Baltimore Area Council 220
400 W Chesapeake Ave
Towson, MD 21204


Towson University
Office of the Bursar
8000 York Rd
Towson, MD 21252‐0001


Towson Utd Methodist Church
Baltimore Area Council 220
501 Hampton Ln
Towson, MD 21286


Toxic Audio, Inc
P.O. Box 767
Windermere, FL 34786


Toyota Of South Florida
9775 NW 12th St
Doral, FL 33172


Toysmith
3101 W Valley Hwy E
Summer, WA 98390


Tp Pump   Pipe Co
P.O. Box 25144
Albuquerque, NM 87125‐0144


Tpc San Antonio
23808 Resort Pkwy
San Antonio, TX 78261


Tpc Wakefield Plantation Country Club
2201 Wakefield Plantation Dr
Raleigh, NC 27614


Tpc‐Dpvc Joint Venture
415 N 2nd St
St Charles, IL 60175


Tpm
P.O. Box 669043
Charlotte, NC 28266


Tps Construction, LLC
163 Lambert Hills
Cimarron, NM 87714


TR Hoover Center
Circle Ten Council 571
5106 Bexar St
Dallas, TX 75215


Tr Sanders Elementary School PTA
Chickasaw Council 558
P.O. Box 366
Hollandale, MS 38748


Trace M Lund Dds PC
Utah National Parks 591
1643 N 1100 W
Mapleton, UT 84664
Tracey Brown
Address Redacted


Tracey Burkey
Address Redacted


Tracey Hunstein
Address Redacted


Tracey Mundel
Address Redacted


Tracey Pearson
Address Redacted


Tracey Wyatt Recreation Center
Atlanta Area Council 092
2300 Godby Rd
College Park, GA 30349


Tracey Y Williams
Address Redacted


Traci Bridwell
Address Redacted


Traci F Stanley
Address Redacted


Traci Hunt
Address Redacted


Traci Shepherd
Address Redacted


Traci Wagner
Address Redacted
Track Of The Wolf, Inc
18308 Joplin St N.W.
Elk River, MN 55330


Track1099 LLC
705 Lakeview Way
Emerald Hills, CA 94062


Tractor Supply Credit Plan
Dept 30 ‐ 1105082950
P.O. Box 78004
Phoenix, AZ 85062‐8004


Tracy A Slocum
Address Redacted


Tracy B Marlow
Address Redacted


Tracy Brandt
Address Redacted


Tracy Burton
Address Redacted


Tracy Culberson
Address Redacted


Tracy Davis
Address Redacted


Tracy Dillon
Address Redacted


Tracy Elks Lodge 2031
Greater Yosemite Council 059
P.O. Box 461
Tracy, CA 95378
Tracy Ferguson
Address Redacted


Tracy Fire Dept
Greater Yosemite Council 059
835 N Central Ave
Tracy, CA 95376


Tracy Fowler
Address Redacted


Tracy Good
Address Redacted


Tracy Henderson
Address Redacted


Tracy Hurd
Address Redacted


Tracy James
Address Redacted


Tracy Jones
Address Redacted


Tracy Kapelski
Address Redacted


Tracy Launders
Address Redacted


Tracy Police Dept
Greater Yosemite Council 059
1000 Civic Center Dr
Tracy, CA 95376
Tracy Reimann
Address Redacted


Tracy Robinson
Address Redacted


Tracy Techau
Address Redacted


Tracy Thornton
Address Redacted


Tracy Waters
Address Redacted


Tracy Yost
Address Redacted


Tracy Youden
Address Redacted


Tracy Yvonne Waters
Address Redacted


Trade Show Technical
Attn Rich Cornish
530 E Pamalyn Ave, Ste E
Las Vegas, NV 89119


Trader Bay Scout Outfitters
Pathway To Adventure 456
1901 N 73rd Ave
Elmwood Park, IL 60707


Traders Point Christian Church
Crossroads of America 160
6590 S Indianapolis Rd
Whitestown, IN 46075
Tradeshow Go
4150 Oak Cir
Boca Raton, FL 33431


Tradeshow Multimedia, Inc
Attn Poli Event Staff
4350 Renaissance Pkwy, Ste D
Warrensville, OH 44128


Trading Post Of Islamorada, Inc
P.O. Box 182
Islamorada, FL 33036


Traer Utd Presbyterian Church
Mid Iowa Council 177
307 Walnut St
Traer, IA 50675


Trafalgar Christian Church
Crossroads of America 160
300 W Pearl St
Trafalgar, IN 46181


Trafalgar Utd Methodist Church
Crossroads of America 160
375 Pleasant St
Trafalgar, IN 46181


Trail Services, LLC
P.O. Box 8057
Bangor, ME 04402


Trail Tek, Inc
1221 Orkney Dr
Va Beach, VA 23464‐5723


Trail Winds Ward, Denver North Stake
Denver Area Council 061
4207 E 130th Dr
Thornton, CO 80241
Trailblazer Elementary PTA
Pikes Peak Council 060
2015 Wickes Rd
Colorado Springs, CO 80919


Trailblazer Studios Nc Inc
1610 Midtown Pl
Raleigh, NC 27609


Trailblazers
Trapper Trails 589
350 Mansface St
P.O. Box 400
Green River, WY 82935


Trailblazers/Parent Club
Southern Sierra Council 030
7800 Darrin Ave
Bakersfield, CA 93308


Trailer Delivery Service
704B N Silver St
Lexington, NC 27292


Trailer Life
P.O. Box 5859
Harlan, IA 51593‐5359


Trailhead Youth Foundation
Grand Canyon Council 010
P.O. Box 72567
Phoenix, AZ 85050


Trails End Market
P.O. Box 184
Magdalena, NM 87825


Trailside Games, LLC
3005 Camrose Crossing Ln
Matthew, NC 28104
Trainer S Warehouse
Steve Davidek
9035 Spanish Trail Dr
Sparks, NV 89441


Trainham Cattle Co
P.O. Box 455
Folsom, NM 88419


Training Committee
Silicon Valley Monterey Bay 055
970 W Julian St
San Jose, CA 95126


Training Resources Ltd
San Diego Imperial Council 049
3980 Sherman St, Ste 100
San Diego, CA 92110


Trainsignal
152 W Ctr Ct
Schaumburg, IL 60195


Tran Md F A C E, Inc
Orange County Council 039
8317 Davis St, Unit B
Downey, CA 90241


Tran Tran
Address Redacted


Trancy Ryan
Address Redacted


Trane Us Inc
P.O. Box 406469
Atlanta, GA 30384‐6469


Tranquility Methodist Church
Patriots Path Council 358
P.O. Box 15
5 Kennedy Rd
Tranquility, NJ 07879


Trans Tech Systems Inc
Twin Rivers Council 364
1594 State St, Ste 3
Schenectady, NY 12304


Transatlantic
Bsa/Usag Brussels/Unit 28100, Box 24
Apo, Ae 09714
Belgium


Transatlantic Cncl 802
Usag Brussels, Unit 28100 Box 24
Apo Ae, 09714


Transatlantic Council 802
Cmr 416 Box Rr
Apo Ae, 09140


Transatlantic Council 802
Usag Brussels, Unit 28100 Box 24
Apo Ae, 09714


Transcend‐Mcmillen
90 Mcmillen Rd
Antioch, IL 60002


Transfer Express, Inc
dba Stahls Transfer Express
7650 Tyler Blvd
Mentor, OH 44060


Transfiguration Catholic Church
Atlanta Area Council 092
1815 Blackwell Rd
Marietta, GA 30066


Transfiguration Lutheran Church
Indian Waters Council 553
1301 12th St
Cayce, SC 29033


Transfiguration Lutheran Church
Northern Star Council 250
11000 France Ave S
Bloomington, MN 55431


Transfiguration Lutheran Church
Seneca Waterways 397
3760 Culver Rd
Rochester, NY 14622


Transfiguration Parish
National Capital Area Council 082
13925 New Hampshire Ave
Silver Spring, MD 20904


Transgraphics Consulting, LLC
3115 43rd Ave E
Bradenton, FL 34208


Transitions Center
Indian Waters Council 553
2025 Main St
Columbia, SC 29201


Translators Usa, LLC
863 Spyglass Dr
New Braunfels, TX 78130


Transource
P.O. Box 931898
Atlanta, GA 31193‐1898


Transperfect Translations
2 Park Ave, 40th Fl
New York, NY 10016


Transperfect Translations
International Inc
3 Park Ave, 39th Fl
New York, NY 10016


Transportation Management Services
17810 Meeting House Rd, Ste 200
Sandy Spring, MD 20860


Transportation Management Services, Inc
17810 Meetinghouse Rd, Ste 200
Sandy Springs, MD 20860


Transworld Systems Inc
Attn Br‐938
P.O. Box 5505
Carol Stream, IL 60197‐5505


Transworld Systems Inc
P.O. Box 14010
Santa Rosa, CA 95402‐6010


Transworld Systems Inc
P.O. Box 15618
Wilmington, DE 19850


Transworld Systems, Inc
5300 Hollister, Ste 500
Houston, TX 77040


Transylvania University
300 N Broadway
Lexington, KY 40508


Traphill Volunteer Fire Dept
Old Hickory Council 427
8899 Traphill Rd
Traphill, NC 28685


Trapp Family Lodge
A/R Pamela Towne
P.O. Box 1428
Stowe, VT 05672
Trapper Trails
1200 E 5400 S
Ogden, UT 84403‐4599


Trapper Trails Cncl 589
1200 E 5400 S
Ogden, UT 84403‐4599


Trapper Trls Cncl 589
1200 E 5400 S
Ogden, UT 84403‐4599


Traut Core Knowledge Parent Adv Board
Longs Peak Council 062
2515 Timberwood Dr
Fort Collins, Co 80528


Trautwein School PTO
Greater St Louis Area Council 312
5011 Ambs Rd
Saint Louis, MO 63128


Travel   Leisure
P.O. Box 62160
Tampa, FL 33663‐1603


Travel Chair, Inc
5709 34th Ave Nw
Gig Harbor, WA 98335‐8566


Travel Document Systems Inc
1625 K St Nw
Washington, DC 20006


Travel Planners Inc
381 Park Ave S, 3rd Fl
New York, NY 10016


Travel The World Visas
6601 Michaels Dr
Bethesda, MD 20817


Travelers Bond   Specialty Insurance
Attn Operations Unit
One Tower Square Mailstop S102A
Hartford, CT 06183


Travelers Casualty   Insurance Co
c/o Solberg   Kennedy ‐ Mike Harney
14040 N Cave Creek Rd, Ste 210
Phoenix, AZ 85022


Travelers Rest Utd Methodist Church
Blue Ridge Council 551
19 S Main St
Travelers Rest, SC 29690


Travelink, Inc
404 Bna Dr, Ste 650
Nashville, TN 37217


Travell School‐Home   School Assoc
Northern New Jersey Council, Bsa 333
340 Bogert Ave
Ridgewood, NJ 07450


Traverse Bay Utd Methodist Church
President Gerald R Ford 781
1200 Ramsdell St
Traverse City, MI 49684


Traverse City Area Chamber Of Commerce
President Gerald R Ford 781
202 E Grandview Pkwy
Traverse City, MI 49684


Travin Ware
Address Redacted


Travis Baptist Church
South Texas Council 577
5802 Weber Rd
Corpus Christi, TX 78413


Travis Briner
Address Redacted


Travis Brown
Address Redacted


Travis Bush
Address Redacted


Travis Chapman
Address Redacted


Travis Christopher
Address Redacted


Travis Co Constable PCt 2
Capitol Area Council 564
10409 Burnet Rd, Ste 150
Austin, TX 78758


Travis Coleman
Address Redacted


Travis County Esd 10
Capitol Area Council 564
353 S Commons Ford Rd
Austin, TX 78733


Travis County Sheriffs Dept
Capitol Area Council 564
P.O. Box 1748
Austin, TX 78767


Travis David Peterson
Address Redacted
Travis Emery
Address Redacted


Travis Fredrick Benson
Address Redacted


Travis Galvan
Address Redacted


Travis John Ball
Address Redacted


Travis Lee Bradford
Address Redacted


Travis M Thompson
Address Redacted


Travis Mccormick
Address Redacted


Travis Meier
Address Redacted


Travis Nagorski
Address Redacted


Travis Rubelee
Address Redacted


Travis Smith
Address Redacted


Travis Supply
Bucktail Council 509
938 W Clara St
Houtzdale, PA 16651
Travis Sutten
Address Redacted


Travis Taber
Address Redacted


Travis Terrell Allen
Address Redacted


Travis Weininger
Address Redacted


Travis William Ice
Address Redacted


Travis Wyatt
Address Redacted


Trax Av
763 N Marshall Way
Layton, UT 84041


Trease Clements
P.O. Box 1906
Islamorada, FL 33036


Treasure Coast Community Church Tc3
Gulf Stream Council 085
20 NE Dixie Hwy
Stuart, FL 34994


Treasure Harbor Inc
P.O. Box 1906
Islamorada, FL 33036


Treasure Harbor Marine Inc
200 Treasure Harbor Dr
Islamorada, FL 33036
Treasure Hills Presbyterian Church
Rio Grande Council 775
2120 N Ed Carey Dr
Harlingen, TX 78550


Treasure Valley Factors LLC
P.O. Box 890
Fruitland, ID 83619


Treasure Valley Traditional Scouters
Ore‐Ida Council 106 ‐ Bsa 106
11842 W Tioga St
Boise, ID 83709


Treasurer City Of Pittsburgh
Institution   Service Privilege Tax
P.O. Box 642163
Pittsburgh, PA 15264‐2163


Treasurer City Of Pittsburgh
Institution   Service Privilege Tax
414 Grant St
Pittsburgh, PA 15219‐2476


Treasurer City Of Pittsburgh
Wage Tax Due
P.O. Box 642595
Pittsburgh, PA 15264‐2595


Treasurer City Of Roanoke
P.O. Box 1451
Roanoke, VA 24007


Treasurer Of Spotsylvania
P.O. Box 65
Spotsylvania, VA 22553


Treasurer Of The State Of Ohio
150 E Gay St, 23rd Fl
Columbus, OH 43215‐3130
Treasurer Of Va Div Of Child Support Enf
P.O. Box 570
Richmond, VA 23218‐0570


Treasurer Of Virginia
Dept of Agriculture   Consumer Serv
P.O. Box 526
Richmond, VA 23218‐0526


Treasurer Of Virginia
Dept of Agriculture   Consumer Serv
102 Governor St, Lower Level
Richmond, VA 23219


Treasurer Of Virginia
Office of Consumer Affairs
Dept of Ag    Consumer Svcs
P.O. Box 1163
Richmond, VA 23218‐0526


Treasurer Of Virginia
State Corp Comm‐Clerks Office
P.O. Box 85022
Richmond, VA 23261‐5022


Treasurer Of Virginia
Virginia Dept of Health
Profession Board of Med
9960 Mayland Dr, Ste 300
Henrico, VA 23233


Treasurer Of Virginia Tech
800 Washington St Sw
Blacksburg, VA 24061


Treasurer Stark County
110 Central Plz S, Ste 250
Canton, OH 44702‐1410


Treasurer State Of Connecticut
165 Capitol Ave
Hartford, CT 06106


Treasurer State Of Connecticut
Unclaimed Property Div
P.O. Box 150435
Hartford, CT 06115‐0435


Treasurer State Of Maine
Attn Unclaimed Property
39 State House Station
Augusta, ME 04333‐0039


Treasurer State Of Ohio
6606 Tussing Rd
P.O. Box 4009
Reynoldsburg, OH 43068‐9009


Treasurer State Of Ohio
P.O. Box 15098
Columbus, OH 43215‐0098


Treasurer Usma
646 Swift Rd
West Point, NY 10996‐1905


Treasurer, City Of Memphis
P.O. Box 185
Memphis, TN 38101‐0185


Treasurer, City Of Pittsburgh
Payroll Expense Tax
P.O. Box 643780
Pittsburgh, PA 15264‐3780


Treasurer, Cuyahoga County
P.O. Box 94541
Cleveland, OH 44101‐4541


Trebor Rusch
Address Redacted
Tree Of Life Church
Southwest Florida Council 088
2132 Shadowlawn Dr
Naples, FL 34112


Tree Of Life Lutheran Church
New Birth of Freedom 544
1492 Linglestown Rd
Harrisburg, PA 17110


Trek Bicycle Corp
P.O. Box 28002 Nework Pl
Chicago, IL 60673‐1280


Treksta Usa
2009 S Main St
Moscow, ID 83843


Trembaths Machine And Welding
2110 E Sheridan St
Ely, MN 55731


Tremont Anderson
Address Redacted


Tremont Lions Club
W D Boyce 138
216 S Samson
Tremont, IL 61568


Tremont Sheldon Robinson Mahoney P.C.
Attn Cindy L Robinson
re Plaintiff
64 Lyon Terrace
Bridgeport, CT 06604


Tremont, Sheldon, Robinson, Mahoney, PC
Attn Cindy Robinson
64 Lyon Terrace
Bridgeport, CT 06604
Trempealeau Lions Club
Gateway Area 624
N12564 County Rd M
Galesville, WI 54630


Trenary Lions Club
Bay‐Lakes Council 635
General Delivery
Trenary, MI 49891


Trend Offset Printing Services Inc
File 51121
Los Angeles, CA 90074‐1121


Trendline Interactive, LLC
12400 State Hwy 71 W, Ste 350‐331
Bee Cave, TX 78738


Trent Nichols
Address Redacted


Trent Zellmer
Address Redacted


Trenton Ashizawa
Address Redacted


Trenton Elementary PTO
Pony Express Council 311
1716 Hillcrest Dr
801 W 4th Ter


Trenton Exchange Club
Great Lakes Fsc 272
P.O. Box 98
Trenton, MI 48183


Trenton First Utd Methodist Church
Circle Ten Council 571
P.O. Box 216
Trenton, TX 75490


Trenton Fish And Game Club
Leatherstocking 400
8001 Wood Rd
Holland Patent, NY 13354


Trenton Gerads
Address Redacted


Trenton M Sabo
Address Redacted


Trenton Mcclure
Address Redacted


Trenton Street Baptist Church
Great Smoky Mountain Council 557
519 Trenton St
Harriman, TN 37748


Trenton Thieneman
Address Redacted


Trenton Utd Methodist
Cherokee Area Council 556
12500 N Main St
Trenton, GA 30752


Trenton Utd Methodist Church
Cherokee Area Council 556
P.O. Box 6
Trenton, GA 30752


Trentville Utd Methodist Church
Great Smoky Mountain Council 557
9215 Strawberry Plains Pike
Strawberry Plains, TN 37871


Treptow Post 230
Mid‐America Council 326
207 N 2nd St
Cherokee, IA 51012


Tres Brisas Beef, LLC
Grand Canyon Council 010
P.O. Box 9
Camp Verde, AZ 86322


Tresea Todd
Address Redacted


Tressa Card
Address Redacted


Tressa Rosene Theis
Address Redacted


Treva Hankins
Address Redacted


Trevor A Samberg
Address Redacted


Trevor Courneya
Address Redacted


Trevor Dean Thornburgh
Address Redacted


Trevor Fire Dept
Three Harbors Council 636
11252 254th Ct
Trevor, WI 53179


Trevor Fulham
Address Redacted


Trevor H Dubard
Address Redacted


Trevor Hylton
Address Redacted


Trevor J Godfrey
Address Redacted


Trevor J Lombardi
Address Redacted


Trevor Michael Galligan
Address Redacted


Trevor Redmond
Address Redacted


Trey Moore Iii
Address Redacted


Trey Smith
Address Redacted


Treynor Legion Post 725
Mid‐America Council 326
General Delivery
Treynor, IA 51575


Treynor Optimists
Mid‐America Council 326
General Delivery
Treynor, IA 51575


Treyten Albert Chiglo
Address Redacted


Tri Air Testing, Inc
P.O. Box 207101
Dallas, TX 75320‐7101
Tri City Fire Explorers
Oregon Trail Council 697
P.O. Box 1270
Myrtle Creek, OR 97457


Tri City Gun Club
Last Frontier Council 480
P.O. Box 1362
Norman, OK 73070


Tri City Vfw Post 2298
Three Fires Council 127
117 S 1st St
West Dundee, IL 60118


Tri Community And Youth Agency
Suffolk County Council Inc 404
809 New York Ave
Huntington, NY 11743


Tri Community Utd Methodist Church
Mid‐America Council 326
6001 Fontenelle Blvd
Omaha, NE 68111


Tri County Fire Corps
Mid‐America Council 326
1210 Goldengate Dr
Papillion, NE 68046


Tri County Fire Fighters Local 4965
Blue Mountain Council 604
P.O. Box 4124
Pasco, WA 99302


Tri Glow Inc
2140 Sunnydale Blvd, Ste B
Clearwater, FL 33765


Tri State Aero Inc
Buffalo Trace 156
6101 Flightline Dr
Evansville, IN 47711


Tri Town Masonic Lodge
Baden‐Powell Council 368
27 N Main St
Bainbridge, NY 13733


Tri Valley Lions Club
Hudson Valley Council 374
State Route 55
Grahamsville, NY 12740


Tri Vantage LLC
P.O. Box 934832
Atlanta, GA 31193‐4832


Trialgraphix Inc
P.O. Box 202632
Dallas, TX 75320‐2632


Triangle Embroidery LLC
6514 Old Wake Forest Rd 100
Raleigh, NC 27616


Triangle Home And School Assoc
Patriots Path Council 358
478 New Center Rd
Hillsborough, NJ 08844


Triangle Mfg Inc
25 Pkwy
Upper Saddle River, NJ 07458


Triangle Stores
182 Flatbrush Ave
Brooklyn, NY 11217


Tribe Of Mic‐O‐Say
Pony Express Council 311
P.O. Box 8157
Saint Joseph, MO 64508


Tribe Of Tahquitz
Long Beach Area Council 032
P.O. Box 7432
Long Beach, CA 90807


Tribe Of The Silver Tomahawk
Mississippi Valley Council 141 141
3007 Flint Hills Dr
Burlington, IA 52601


Tribes Hill Presbyterian
Twin Rivers Council 364
116 Elizabeth St
Tribes Hill, NY 12177


Tri‐Boro First Aid Squad
Patriots Path Council 358
P.O. Box 222
Butler, NJ 07405


Tribune Press
P.O. Box 68
Springer, NM 87747


Tribune Utd Methodist Church
Santa Fe Trail Council 194
P.O. Box 217
Tribune, KS 67879


Tri‐Cities Post 6872 Vfw
Longhorn Council 662
P.O. Box 315
Crowley, TX 76036


Tri‐City Elks 2541
Longs Peak Council 062
525 Main St
Louisville, CO 80027
Tri‐City Enterprises LLC
4701 Creek Rd, Ste 225
Cincinnati, OH 45242


Tri‐City Pride Athletic Boosters Club
Abraham Lincoln Council 144
324 W Charles St
Buffalo, IL 62515


Tri‐County Animal Clinic
West Tennessee Area Council 559
40 Connie Allen Rd
Mc Kenzie, TN 38201


Tri‐County Baptist Church
Great Lakes Fsc 272
655 S Main St
Clawson, MI 48017


Tri‐County Church
Bucktail Council 509
1881 Old 255 Rd
Du Bois, PA 15801


Tri‐County Electric Co‐Op, Inc
600 NW Pkwy
Azle, TX 76020


Tri‐County Electric Cooperative Inc
600 N.W. Pkwy
Azle, TX 76020


Tri‐County Electric Cooperative Inc
P.O. Box 961032
Fort Worth, TX 76161‐0032


Tri‐County Gun Club
Cascade Pacific Council 492
P.O. Box 99
Sherwood, OR 97140
Tri‐County Sportsman League
Southern Shores Fsc 783
8640 Moon Rd
Saline, MI 48176


Trident
9616 Owensmouth Ave
Chatsworth, CA 91311


Trident Diving Equipment
9616 Owensmouth Ave
Chatsworth, CA 91311


Trident Psychological Services LLC
172 Taunton Ave, Ste 208
East Providence, RI 02914‐4541


Triestch Memorial Utd Methodist Ch
Longhorn Council 662
6101 Morriss Rd
Flower Mound, Tx 75028


Trietsch Memorial Utd Methodist
Longhorn Council 662
6101 Morriss Rd
Flower Mound, TX 75028


Trietsch Memorial Utd Methodist Ch
Longhorn Council 662
6101 Morriss Rd
Flower Mound, Tx 75028


Tri‐Key
Old N State Council 070
1803 Wendover E
Greensboro, NC 27405


Tri‐Lakes Christian Church
Ozark Trails Council 306
116 Pathway Rd
Branson, MO 65616
Trilakes Utd Methodist Church
Pikes Peak Council 060
20268 Hunting Downs Way
Monument, CO 80132


Trilby Utd Methodist Church
Erie Shores Council 460
5918 Secor Rd
Toledo, OH 43623


Trimble, Inc
935 Stewart Dr
Sunnyvale, CA 94085


Trina Carlile
Address Redacted


Trine University
Attn Lorne Simmons, Business Office
One University Ave
Angola, IN 46703


Trinh Tran
Address Redacted


Trinidad Builders Supply
108 W Colorado
P.O. Box 787
Trinidad, CO 81082


Trinidad Elks Lodge
Rocky Mountain Council 063
P.O. Box 77
Trinidad, CO 81082


Trinita Wilson
Address Redacted


Trinitarian Congregational Church
The Spirit of Adventure 227
72 Elm St
North Andover, MA 01845


Trinity
Crossroads of America 160
303 N Walnut St
Hartford City, IN 47348


Trinity Academy
Potawatomi Area Council 651
W225N3131 Duplainville Rd
Pewaukee, WI 53072


Trinity African Methodist Episc Zion Ch
Laurel Highlands Council 527
3105 Allendale St
Pittsburgh, Pa 15204


Trinity Ame Zion Church
Old N State Council 070
631 E Florida St
Greensboro, NC 27406


Trinity Anglican Episcopal Church
Twin Rivers Council 364
19 Woodside Ave
Mayfield, NY 12117


Trinity Area School District
Laurel Highlands Council 527
231 Park Ave
Washington, PA 15301


Trinity Ave Presbyterian Church
Occoneechee 421
927 W Trinity Ave
Durham, NC 27701


Trinity Baptist Church
Central N Carolina Council 416
120 Maple Hill Rd
Monroe, NC 28110


Trinity Baptist Church
Grand Canyon Council 010
2130 E University Dr
Mesa, AZ 85213


Trinity Baptist Church
Jayhawk Area Council 197
16655 W US Hwy 24
Wamego, KS 66547


Trinity Baptist Church
Longhorn Council 662
1506 W Main St
Gatesville, TX 76528


Trinity Baptist Church
Montana Council 315
1145 Nutter Blvd
Billings, MT 59105


Trinity Baptist Church
Northern Star Council 250
2220 Edgerton St
Maplewood, MN 55117


Trinity Baptist Church
Sam Houston Area Council 576
10000 Spring Green Blvd
Katy, TX 77494


Trinity Baptist Church
Tidewater Council 596
1023 Deep Creek Blvd
Chesapeake, VA 23323


Trinity Baptist Church
Tuscarora Council 424
7538 Nc 50 S
Benson, NC 27504
Trinity Bible Church
Circle Ten Council 571
400 W Campbell Rd
Richardson, TX 75080


Trinity Catholic School
Suwannee River Area Council 664
706 E Brevard St
Tallahassee, FL 32308


Trinity Christian Academy
Circle Ten Council 571
17001 Addison Rd
Addison, TX 75001


Trinity Christian Center
Heart of America Council 307
5005 N Brighton Ave
Kansas City, MO 64119


Trinity Christian College
6601 W College Dr
Palos Heights, IL 60463


Trinity Christian Fellowship
Blue Grass Council 204
537 W Main St
Morehead, KY 40351


Trinity Christian School
Caddo Area Council 584
3107 E 58th St
Texarkana, AR 71854


Trinity Church
Mayflower Council 251
23 Main St
Northborough, MA 01532


Trinity Church
Middle Tennessee Council 560
3011 Longford Dr
Spring Hill, TN 37174


Trinity Church
Northern New Jersey Council, Bsa 333
141 Broadway
Bayonne, NJ 07002


Trinity Church
Old N State Council 070
5200 W Friendly Ave
Greensboro, NC 27410


Trinity Church ‐ Utd Methodist
Bay‐Lakes Council 635
308 Oneida St
Beaver Dam, WI 53916


Trinity Church Of Lake Nona
Central Florida Council 083
9218 Cromwell Park Pl
Orlando, FL 32827


Trinity Church Of The Brethren
Blue Ridge Mtns Council 599
P.O. Box 128
Daleville, VA 24083


Trinity Church Parish Center
Greater New York Councils, Bsa 640
2 Rector St
New York, NY 1006


Trinity Cme
Georgia‐Carolina 093
2930 Glenn Hills Dr
Augusta, GA 30906


Trinity College
300 Summit St
Financial Aid Office
Hartford, CT 06106
Trinity Community Church
Crossroads of America 160
13801 W Main St
Daleville, IN 47334


Trinity Community Church
Dan Beard Council, Bsa 438
3850 E Galbraith Rd
Cincinnati, OH 45236


Trinity Community Church
Pathway To Adventure 456
7022 Riverside Dr
Berwyn, IL 60402


Trinity Construction Products
806 E 13th St
Apopka, FL 32703


Trinity Envioronmental Academy
Circle Ten Council 571
P.O. Box 570975
Dallas, TX 75357


Trinity Environmental Academy
Circle Ten Council 571
3837 Simpson Stuart Rd
Dallas, TX 75241


Trinity Environmental Solution
P.O. Box 1565
Birmingham, MI 48012


Trinity Episc Ch Saint Mary S Parish
National Capital Area Council 082
P.O. Box 207
47477 Trinity Church Rd
St Marys City, Md 20686


Trinity Episcopal Church
Baltimore Area Council 220
7474 Washington Blvd
Elkridge, MD 21075


Trinity Episcopal Church
Bay Area Council 574
2216 Ball St
Galveston, TX 77550


Trinity Episcopal Church
Buckskin 617
520 11th St
Huntington, WV 25701


Trinity Episcopal Church
California Inland Empire Council 045
419 S 4th St
Redlands, CA 92373


Trinity Episcopal Church
Chattahoochee Council 091
1130 1st Ave
Columbus, GA 31901


Trinity Episcopal Church
Connecticut Rivers Council, Bsa 066
P.O. Box 276
7 Providence Rd
Brooklyn, CT 06234


Trinity Episcopal Church
Connecticut Yankee Council Bsa 072
1109 Main St
Branford, CT 06405


Trinity Episcopal Church
Connecticut Yankee Council Bsa 072
651 Pequot Ave
Southport, CT 06890


Trinity Episcopal Church
Cradle of Liberty Council 525
708 S Bethlehem Pike
Ambler, PA 19002


Trinity Episcopal Church
Dan Beard Council, Bsa 438
16 E 4th St
Covington, KY 41011


Trinity Episcopal Church
East Carolina Council 426
P.O. Box 332
Chocowinity, NC 27817


Trinity Episcopal Church
East Texas Area Council 585
106 N Grove St
Marshall, TX 75670


Trinity Episcopal Church
East Texas Area Council 585
906 Padon St
Longview, TX 75601


Trinity Episcopal Church
Glaciers Edge Council 620
411 E Court St
Janesville, WI 53545


Trinity Episcopal Church
Golden Empire Council 047
201 Nevada St
Nevada City, CA 95959


Trinity Episcopal Church
Golden Empire Council 047
801 Figueroa St
Folsom, CA 95630


Trinity Episcopal Church
Greater St Louis Area Council 312
318 S Duchesne Dr
Saint Charles, MO 63301
Trinity Episcopal Church
Heart of America Council 307
409 N Liberty St
Independence, MO 64050


Trinity Episcopal Church
Housatonic Council, Bsa 069
91 Church St
Seymour, CT 06483


Trinity Episcopal Church
Istrouma Area Council 211
3552 Morning Glory Ave
Baton Rouge, LA 70808


Trinity Episcopal Church
Longhorn Council 662
3401 Bellaire Dr S
Fort Worth, TX 76109


Trinity Episcopal Church
Mayflower Council 251
3 Goddard Ave
Rockland, MA 02370


Trinity Episcopal Church
Mayflower Council 251
47 E St
Wrentham, MA 02093


Trinity Episcopal Church
Narragansett 546
251 Danielson Pike
North Scituate, RI 02857


Trinity Episcopal Church
North Florida Council 087
P.O. Box 361
Melrose, FL 32666
Trinity Episcopal Church
Pacific Skyline Council 031
330 Ravenswood Ave
Menlo Park, CA 94025


Trinity Episcopal Church
Piedmont Council 420
801 Henkel Rd
Statesville, NC 28677


Trinity Episcopal Church
Shenandoah Area Council 598
379 Gay St
Washington, VA 22747


Trinity Episcopal Church
Shenandoah Area Council 598
P.O. Box 124
Washington, VA 22747


Trinity Episcopal Church
Suffolk County Council Inc 404
130 Main St
Northport, NY 11768


Trinity Episcopal Church
Three Fires Council 127
130 N W St
Wheaton, IL 60187


Trinity Episcopal Church
Tukabatchee Area Council 005
205 W Bridge St
Wetumpka, AL 36092


Trinity Episcopal Church
Western Massachusetts Council 234
88 Walker St
Lenox, MA 01240


Trinity Episcopal Church Belleville
Great Lakes Fsc 272
11575 Belleville Rd
Belleville, MI 48111


Trinity Episcopal Church Of Edna
South Texas Council 577
P.O. Box 305
Edna, TX 77957


Trinity Episcopal Church Oshkosh
Bay‐Lakes Council 635


Trinity Episcopal Church The Woodlands
Sam Houston Area Council 576
3901 S Panther Creek Dr
The Woodlands, TX 77381


Trinity Episcopal Of The Woodlands
Sam Houston Area Council 576
3901 S Panther Creek Dr
The Woodlands, TX 77381


Trinity Episcopal Parish Of Stoughton
Mayflower Council 251
414 Sumner St
Stoughton, MA 02072


Trinity Episcopal Scouts
Pine Burr Area Council 304
P.O. Box 1483
Hattiesburg, MS 39403


Trinity Episopal School
Capitol Area Council 564
3901 Bee Caves Rd
West Lake Hills, TX 78746


Trinity Evangelical Congregal Ch
New Birth Of Freedom 544
165 N 67Th St
Harrisburg, Pa 17111
Trinity Evangelical Luth Church ‐ Tea
Sioux Council 733
P.O. Box 62
Tea, SD 57064


Trinity Evangelical Lutheran Church
Black Swamp Area Council 449
P.O. Box 339
117 E Tully
Convoy, OH 45832


Trinity Evangelical Lutheran Church
Cradle of Liberty Council 525
1000 W Main St
Lansdale, PA 19446


Trinity Evangelical Lutheran Church
Cradle of Liberty Council 525
235 Summit Ave
Fort Washington, PA 19034


Trinity Evangelical Lutheran Church
Hawk Mountain Council 528
1220 W Maple St
Valley View, PA 17983


Trinity Evangelical Lutheran Church
Hawk Mountain Council 528
1749 S Main St
Bechtelsville, PA 19505


Trinity Evangelical Lutheran Church
Hawkeye Area Council 172
120 W 7th St
Tipton, IA 52772


Trinity Evangelical Lutheran Church
Laurel Highlands Council 527
1001 10th Ave
New Brighton, PA 15066


Trinity Evangelical Lutheran Church
Laurel Highlands Council 527
P.O. Box 462
1033 6th Ave
New Brighton, PA 15066


Trinity Evangelical Lutheran Church
Los Padres Council 053
909 N La Cumbre Rd
Santa Barbara, CA 93110


Trinity Evangelical Lutheran Church
Minsi Trails Council 502
100 N Church St
Hazleton, PA 18201


Trinity Evangelical Lutheran Church
Minsi Trails Council 502
175 S 3rd St
Lehighton, PA 18235


Trinity Evangelical Lutheran Church
Missouri Synod Lutheran
Mid‐America Council 326
1546 N Luther Rd
Fremont, Ne 68025


Trinity Evangelical Lutheran Church
Muskingum Valley Council, Bsa 467
128 S 7th St
Zanesville, OH 43701


Trinity Evangelical Lutheran Church
New Birth of Freedom 544
2000 Chestnut St
Camp Hill, PA 17011


Trinity Evangelical Lutheran Church
New Birth of Freedom 544
431 Philadelphia Ave
Chambersburg, PA 17201


Trinity Evangelical Lutheran Church
Northeast Illinois 129
25519 W Il Route 134
Ingleside, IL 60041


Trinity Evangelical Lutheran Church
Pathway To Adventure 456
9701 Brandt Ave
Oak Lawn, IL 60453


Trinity Evangelical Lutheran Church
Suffolk County Council Inc 404
716 Route 25A
Rocky Point, NY 11778


Trinity Evangelical Lutheran Church
Susquehanna Council 533
100 Mahoning St
Milton, PA 17847


Trinity Evangelical Lutheran Church
Susquehanna Council 533
122 S Main St
Hughesville, PA 17737


Trinity Evangelical Lutheran Church
Theodore Roosevelt Council 386
40 W Nicholai St
Hicksville, NY 11801


Trinity Evangelical Lutheran Church
W D Boyce 138
301 E Chestnut St
Canton, IL 61520


Trinity Evangelical Lutheran Church
Washington Crossing Council 777
102 N Hellertown Ave
Quakertown, PA 18951


Trinity Evangelical Lutheran Church
Westmoreland Fayette 512
126 E Fairview Ave
Connellsville, PA 15425


Trinity Evangelical Luthern Church
Muskingum Valley Council, Bsa 467
128 S 7th St
Zanesville, OH 43701


Trinity Evangelical Luthran Church
Ohio River Valley Council 619
P.O. Box 221
302 Bennett St
Bridgeport, OH 43912


Trinity Friends Church ‐ Lisbon
Buckeye Council 436
33937 US Route 30
Lisbon, OH 44432


Trinity Heights Utd Methodist Church
Grand Canyon Council 010
3600 N 4th St
Flagstaff, AZ 86004


Trinity Heights Utd Methodist Church
Quivira Council, Bsa 198
1200 Boyd Ave
Newton, KS 67114


Trinity Hill Utd Methodist Church
Blue Grass Council 204
3600 Tates Creek Rd
Lexington, KY 40517


Trinity Innovations Ltd
2 Deenystown, Woodlands
Letterkenny, Dnegal
Ireland


Trinity Lions Club
Sam Houston Area Council 576
P.O. Box 2213
Trinity, TX 75862
Trinity Lutheran Brotherhood
Buckeye Council 436
4535 Smeltzer Rd
Marion, OH 43302


Trinity Lutheran Church
5601 W 62nd St
Mission, KS 66202


Trinity Lutheran Church
Abraham Lincoln Council 144
P.O. Box 207
402 N Monroe St
Harvel, IL 62538


Trinity Lutheran Church
Abraham Lincoln Council 144
P.O. Box 259
Edinburg, IL 62531


Trinity Lutheran Church
American Legion Post 21
Northern Lights Council 429
210 7Th St S
Moorhead, Mn 56560


Trinity Lutheran Church
Attn John Rincones
Crossroads of America 160
8540 E 16th St
Indianapolis, IN 46219


Trinity Lutheran Church
Baltimore Area Council 220
109 Main St
Reisterstown, MD 21136


Trinity Lutheran Church
Baltimore Area Council 220
117 Main St
Reisterstown, MD 21136
Trinity Lutheran Church
Bay‐Lakes Council 635
206 E Badger St
Waupaca, WI 54981


Trinity Lutheran Church
Black Swamp Area Council 449
18974 State Route 12
Arcadia, OH 44804


Trinity Lutheran Church
Black Swamp Area Council 449
P.O. Box 727
509 Center St
Bryan, OH 43506


Trinity Lutheran Church
Cascade Pacific Council 492
507 W Powell Blvd
Gresham, OR 97030


Trinity Lutheran Church
Central Minnesota 296
1420 S 6th St
Brainerd, MN 56401


Trinity Lutheran Church
Cherokee Area Council 556
5001 Hixson Pike
Hixson, TN 37343


Trinity Lutheran Church
Chippewa Valley Council 637
1314 E Lexington Blvd
Eau Claire, WI 54701


Trinity Lutheran Church
Coastal Georgia Council 099
12391 Mercy Blvd
Savannah, GA 31419
Trinity Lutheran Church
Crater Lake Council 491
2550 NE Butler Market Rd
Bend, OR 97701


Trinity Lutheran Church
Crossroads of America 160
P.O. Box 606
2300 W Main St
Richmond, IN 47375


Trinity Lutheran Church
Gateway Area 624
1010 Sill St
La Crosse, WI 54603


Trinity Lutheran Church
Gateway Area 624
P.O. Box 188
Spring Grove, MN 55974


Trinity Lutheran Church
Glaciers Edge Council 620
1904 Winnebago St
Madison, WI 53704


Trinity Lutheran Church
Great Rivers Council 653
3201 Swest Blvd
Sedalia, MO 65301


Trinity Lutheran Church
Greater Los Angeles Area 033
11716 Floral Dr
Whittier, CA 90601


Trinity Lutheran Church
Greater Los Angeles Area 033
6868 N San Gabriel Blvd
San Gabriel, CA 91775
Trinity Lutheran Church
Greater New York Councils, Bsa 640
3118 37th St
Astoria, NY 11103


Trinity Lutheran Church
Greater New York Councils, Bsa 640
6370 Dry Harbor Rd
Middle Village, NY 11379


Trinity Lutheran Church
Hawk Mountain Council 528
104 E Abbott St
P.O. Box 58
Lansford, PA 18232


Trinity Lutheran Church
Hawk Mountain Council 528
108 S Robeson St
Robesonia, PA 19551


Trinity Lutheran Church
Hawk Mountain Council 528
121 S Home Ave
Topton, PA 19562


Trinity Lutheran Church
Hawk Mountain Council 528
527 Washington St
Reading, PA 19601


Trinity Lutheran Church
Hawk Mountain Council 528
Hill Rd   Walnut St
Wernersville, PA 19565


Trinity Lutheran Church
Inland Nwest Council 611
6784 Cody St
Bonners Ferry, ID 83805


Trinity Lutheran Church
Istrouma Area Council 211
10925 Florida Blvd
Baton Rouge, LA 70815


Trinity Lutheran Church
Lake Erie Council 440
121 Broad St
Monroeville, OH 44847


Trinity Lutheran Church
Longs Peak Council 062
301 E Stuart St
Fort Collins, CO 80525


Trinity Lutheran Church
Mason Dixon Council 221
15 Randolph Ave
Hagerstown, MD 21740


Trinity Lutheran Church
Master Post 217 American Legion
Hawk Mountain Council 528
133 Centre Ave
Topton, Pa 19562


Trinity Lutheran Church
Miami Valley Council, Bsa 444
511 N Commerce St
Lewisburg, OH 45338


Trinity Lutheran Church
Mid‐America Council 326
1546 N Luther Rd
Fremont, NE 68025


Trinity Lutheran Church
Mid‐America Council 326
330 W Halleck St
Papillion, NE 68046


Trinity Lutheran Church
Minsi Trails Council 502
2 Jackson Ave
West Hazleton, PA 18202


Trinity Lutheran Church
Moraine Trails Council 500
120 Sunset Dr
Butler, PA 16001


Trinity Lutheran Church
National Capital Area Council 082
11200 Old Georgoetown Rd
Bethesda, MD 20852


Trinity Lutheran Church
New Birth of Freedom 544
P.O. Box 309
38 N High St
Arendtsville, PA 17303


Trinity Lutheran Church
Northeast Georgia Council 101
1826 Killian Hill Rd Sw
Lilburn, GA 30047


Trinity Lutheran Church
Northeast Illinois 129
3637 Golf Rd
Evanston, IL 60203


Trinity Lutheran Church
Northern Lights Council 429
205 S Broadway
Crookston, MN 56716


Trinity Lutheran Church
Northern Star Council 250
115 4th St N
Stillwater, MN 55082


Trinity Lutheran Church
Northern Star Council 250
2060 County Rd 6
Long Lake, MN 55356


Trinity Lutheran Church
Northern Star Council 250
220 S 13th St
Montevideo, MN 56265


Trinity Lutheran Church
Occoneechee 421
525 Carthage St
Sanford, NC 27330


Trinity Lutheran Church
Overland Trails 322
502 Sanders Ave
Hildreth, NE 68947


Trinity Lutheran Church
Pony Express Council 311
603 N 8th St
Atchison, KS 66002


Trinity Lutheran Church
President Gerald R Ford 781
955 James St
Frankfort, MI 49635


Trinity Lutheran Church
Quivira Council, Bsa 198
119 N Elm St
Mcpherson, KS 67460


Trinity Lutheran Church
Quivira Council, Bsa 198
2701 24th St
Great Bend, KS 67530


Trinity Lutheran Church
Shenandoah Area Council 598
1643 Pitzers Chapel Rd
Martinsburg, WV 25403
Trinity Lutheran Church
Simon Kenton Council 441
311 E 6th St
Marysville, OH 43040


Trinity Lutheran Church
Sioux Council 733
918 1st Ave E
Mobridge, SD 57601


Trinity Lutheran Church
Snake River Council 111
1602 E 1100 S
Eden, ID 83325


Trinity Lutheran Church
South Texas Council 577
106 N De Leon St
Victoria, TX 77901


Trinity Lutheran Church
Susquehanna Council 533
6 E Specht St
P.O. Box 168
Mc Clure, PA 17841


Trinity Lutheran Church
The Spirit of Adventure 227
170 Old Wford Rd
Chelmsford, MA 01824


Trinity Lutheran Church
Three Fires Council 127
1101 Kimberly Way
Lisle, IL 60532


Trinity Lutheran Church
Three Fires Council 127
405 Rush St
Roselle, IL 60172
Trinity Lutheran Church
Three Harbors Council 636
7104 39th Ave
Kenosha, WI 53142


Trinity Lutheran Church
Tukabatchee Area Council 005
1900 Marie Foster St
Selma, AL 36703


Trinity Lutheran Church
Twin Valley Council Bsa 283
406 W Main St
Madelia, MN 56062


Trinity Lutheran Church
Voyageurs Area 286
1108 E 8th St
Duluth, MN 55805


Trinity Lutheran Church
Voyageurs Area 286
231 2nd St Se
Cook, MN 55723


Trinity Lutheran Church
W D Boyce 138
301 E Chestnut St
Canton, IL 61520


Trinity Lutheran Church
W D Boyce 138
717 Chambers St
Ottawa, IL 61350


Trinity Lutheran Church
W D Boyce 138
801 S Madison St
Bloomington, IL 61701


Trinity Lutheran Church
Willow River Parent Group
Northern Star Council 250
1205 6Th St
Hudson, Wi 54016


Trinity Lutheran Church
Winnebago Council, Bsa 173
213 N Pennsylvania Ave
Mason City, IA 50401


Trinity Lutheran Church
Winnebago Council, Bsa 173
223 S Water Ave
New Hampton, IA 50659


Trinity Lutheran Church   School
Central Florida Council 083
3016 W Vine St
Kissimmee, FL 34741


Trinity Lutheran Church      School
Crater Lake Council 491
2550 NE Butler Market Rd
Bend, OR 97701


Trinity Lutheran Church      School
Gulf Stream Council 085
400 N Swinton Ave
Delray Beach, FL 33444


Trinity Lutheran Church ‐ Birchwood
Chippewa Valley Council 637
501 E Chetac Ave
Birchwood, WI 54817


Trinity Lutheran Church ‐ Boyceville
Chippewa Valley Council 637
1039 Nordveien Dr
P.O. Box 247
Boyceville, WI 54725


Trinity Lutheran Church ‐ Carlos
Northern Lights Council 429
16 Douglas Ave
Carlos, MN 56319


Trinity Lutheran Church ‐ Madison
Sioux Council 733
203 N Harth Ave
Madison, SD 57042


Trinity Lutheran Church ‐ Moorhead
Northern Lights Council 429
P.O. Box 188
Moorhead, MN 56561


Trinity Lutheran Church ‐ Pelican Rapids
Northern Lights Council 429
P.O. Box 431
313 E Ml
Pelican Rapids, MN 56572


Trinity Lutheran Church And School
Pathway To Adventure 456
900 Luther Dr
Hobart, IN 46342


Trinity Lutheran Church Board Of Youth
Water and Woods Council 782
3701 Jefferson Ave
Midland, MI 48640


Trinity Lutheran Church Council
Gateway Area 624
612 N Water St
Sparta, WI 54656


Trinity Lutheran Church Council
Northern Star Council 250
13025 Newell Ave
Lindstrom, MN 55045


Trinity Lutheran Church Council
Samoset Council, Bsa 627
1410 Rogers St
Stevens Point, WI 54481


Trinity Lutheran Church Dallas
Cascade Pacific Council 492
320 SE Fir Villa Rd
Dallas, OR 97338


Trinity Lutheran Church Hillsboro
Cascade Pacific Council 492
2194 SE Minter Bridge Rd
Hillsboro, OR 97123


Trinity Lutheran Church Mens Club
Greater St Louis Area Council 312
100 N Frederick St
Cape Girardeau, MO 63701


Trinity Lutheran Church Of Anaheim Hills
Orange County Council 039
4101 E Nohl Ranch Rd
Anaheim, CA 92807


Trinity Lutheran Church Of Sheridan
Greater Wyoming Council 638
135 Crescent Dr
Sheridan, WY 82801


Trinity Lutheran Church School
Rocky Mountain Council 063
701 W Evans Ave
Pueblo, CO 81004


Trinity Lutheran Church Shawnee Campus
Heart of America Council 307
21320 Midland Dr
Shawnee, KS 66218


Trinity Lutheran Church‐Clinton Township
Great Lakes Fsc 272
38900 Harper Ave
Clinton Township, MI 48036
Trinity Lutheran Church‐Utica
Great Lakes Fsc 272
45160 Van Dyke Ave
Utica, MI 48317


Trinity Lutheran Elca ‐ Yankton
Sioux Council 733
403 Broadway Ave
Yankton, SD 57078


Trinity Lutheran Mens Group
Northern Lights Council 429
523 4th Ave Se
Jamestown, ND 58401


Trinity Lutheran Of Lake Johanna
Northern Star Council 250
3245 New Brighton Rd
Arden Hills, MN 55112


Trinity Lutheran School
Cascade Pacific Council 492
5520 NE Killingsworth St
Portland, OR 97218


Trinity Lutheran School
Illowa Council 133
1122 W Central Park Ave
Davenport, IA 52804


Trinity Lutheran School
President Gerald R Ford 781
1003 S Maple St
Traverse City, MI 49684


Trinity Lutheran School
Samoset Council, Bsa 627
501 Stewart Ave
Wausau, WI 54401


Trinity Lutheran School‐Mens Club
Greater St Louis Area Council 312
100 N Frederick St
Cape Girardeau, MO 63701


Trinity Mens Club‐Trinity Episc Ch
Housatonic Council, Bsa 069
91 Church St
Seymour, Ct 06483


Trinity Mens Club‐Trinity Episcopal
Housatonic Council, Bsa 069
91 Church St
Seymour, CT 06483


Trinity Methodist Church
Circle Ten Council 571
101 E US Hwy 69
Denison, TX 75021


Trinity Methodist Church
Mississippi Valley Council 141 141
P.O. Box 161
Montrose, IA 52639


Trinity Methodist Church
Pee Dee Area Council 552
226 W Liberty St
Sumter, SC 29150


Trinity Methodist Church
Pine Burr Area Council 304
5007 Lawson Ave
Gulfport, MS 39507


Trinity Methodist Church
Pine Burr Area Council 304
5009 Lawson Ave
Gulfport, MS 39507


Trinity Methodist Church
Winnebago Council, Bsa 173
1400 W Bremer Ave
Waverly, IA 50677


Trinity Methodist Church Mens Club
Water and Woods Council 782
1310 N Main St
Lapeer, MI 48446


Trinity Moravian Church
Old Hickory Council 427
220 E Sprague St
Winston Salem, NC 27127


Trinity Mother Frances Hospital
Glass Center
East Texas Area Council 585
501 W 32Nd St
Tyler, Tx 75702


Trinity On The Hill Umc
Chattahoochee Council 091
101 N Davis Rd
Lagrange, GA 30241


Trinity Park Utd Methodist Church
Crossroads of America 160
207 W Park Ave
Greenfield, IN 46140


Trinity Presbyterian Ch Seven Spgs
Greater Tampa Bay Area 089
4651 Little Rd
New Port Richey, Fl 34655


Trinity Presbyterian Church
Atlanta Area Council 092
3003 Howell Mill Rd Nw
Atlanta, GA 30327


Trinity Presbyterian Church
Central Florida Council 083
156 Florida Park Dr N
Palm Coast, FL 32137
Trinity Presbyterian Church
Circle Ten Council 571
5871 Virginia Pkwy
Mc Kinney, TX 75071


Trinity Presbyterian Church
Daniel Boone Council 414
17 Shawnee Trl
Asheville, NC 28805


Trinity Presbyterian Church
Daniel Boone Council 414
900 Blythe St
Hendersonville, NC 28791


Trinity Presbyterian Church
Denver Area Council 061
7755 Vance Dr
Arvada, CO 80003


Trinity Presbyterian Church
East Carolina Council 426
206 Miller Blvd
Havelock, NC 28532


Trinity Presbyterian Church
Garden State Council 690
499 Marlton Pike E
Cherry Hill, NJ 08034


Trinity Presbyterian Church
Great Alaska Council 610
12310 Lorraine St
Anchorage, AK 99516


Trinity Presbyterian Church
Great Rivers Council 653
1600 W Rollins Rd
Columbia, MO 65203
Trinity Presbyterian Church
Longhorn Council 662
1200 Clover Hill Rd
Mansfield, TX 76063


Trinity Presbyterian Church
Longhorn Council 662
1452 W Slake Blvd
Southlake, TX 76092


Trinity Presbyterian Church
Longhorn Council 662
5500 Morriss Rd
Flower Mound, TX 75028


Trinity Presbyterian Church
Monmouth Council, Bsa 347
367 Cranbury Rd
East Brunswick, NJ 08816


Trinity Presbyterian Church
Moraine Trails Council 500
107 Staley Ave
Butler, PA 16001


Trinity Presbyterian Church
National Capital Area Council 082
5533 16th St N
Arlington, VA 22205


Trinity Presbyterian Church
National Capital Area Council 082
651 Dranesville Rd
Herndon, VA 20170


Trinity Presbyterian Church
Occoneechee 421
3120 N New Hope Rd
Raleigh, NC 27604


Trinity Presbyterian Church
Pushmataha Area Council 691
607 Hospital Rd
Starkville, MS 39759


Trinity Presbyterian Church
Quivira Council, Bsa 198
2258 N Marigold Ln
Wichita, KS 67204


Trinity Presbyterian Church
Sagamore Council 162
P.O. Box 248
West Lebanon, IN 47991


Trinity Presbyterian Church
Silicon Valley Monterey Bay 055
420 Melrose Ave
Santa Cruz, CA 95062


Trinity Presbyterian Church
South Georgia Council 098
3501 Bemiss Rd
Valdosta, GA 31605


Trinity Presbyterian Church
Tidewater Council 596
1600 Colonial Ave
Norfolk, VA 23517


Trinity Presbyterian Church
Trapper Trails 589
140 N Tyler Ave
Ogden, UT 84401


Trinity Presbyterian Church
Ventura County Council 057
2304 Antonio Ave
Camarillo, CA 93010


Trinity Rebar   Concrete Supplies LLC
P.O. Box 56
Spencer, WV 25276
Trinity Reformed Church Of Hublersburg
Juniata Valley Council 497
378 Hublersburg Rd
Bellefonte, PA 16823


Trinity River Mission
Circle Ten Council 571
2060 Singleton Blvd, Ste 104
Dallas, TX 75212


Trinity Turf Inc
P.O. Box 9
Mt Crawford, VA 22841


Trinity Umc
Northwest Georgia Council 100
606 Turner Mccall Blvd Sw
Rome, GA 30165


Trinity Umc
Northwest Georgia Council 100
P.O. Box 628
Rome, GA 30162


Trinity University
Office of Financial Aid
1 Trinity Pl
San Antonio, TX 78212‐7000


Trinity Utd Church Of Christ
Black Swamp Area Council 449
8919 S State Route 53
Mccutchenville, OH 44844


Trinity Utd Church Of Christ
Buffalo Trace 156
505 Mulberry St
Mount Vernon, IN 47620


Trinity Utd Church Of Christ
Canal Fulton
Buckeye Council 436
8101 Manchester Ave Nw


Trinity Utd Church Of Christ
Cradle of Liberty Council 525
101 S Main St
Telford, PA 18969


Trinity Utd Church Of Christ
Great Trail 433
915 N Main St
Akron, OH 44310


Trinity Utd Church Of Christ
Greater St Louis Area Council 312
47 N Douglas Ave
Belleville, IL 62220


Trinity Utd Church Of Christ
Mason Dixon Council 221
30 W N St
Waynesboro, PA 17268


Trinity Utd Church Of Christ
Minsi Trails Council 502
81 E N St
Bethlehem, PA 18018


Trinity Utd Church Of Christ
New Birth of Freedom 544
60 E High St
Gettysburg, PA 17325


Trinity Utd Church Of Christ
Pennsylvania Dutch Council 524
2340 State St
East Petersburg, PA 17520


Trinity Utd Church Of Christ
Pennsylvania Dutch Council 524
40 W Pine St
Palmyra, PA 17078
Trinity Utd Church Of Christ
Potawatomi Area Council 651
4435 N Calhoun Rd
Brookfield, WI 53005


Trinity Utd Church Of Christ
Susquehanna Council 533
602 Main St
Watsontown, PA 17777


Trinity Utd Church Of Christ ‐ Canton
Buckeye Council 436
3909 Blackburn Rd Nw
Canton, OH 44718


Trinity Utd Methodist
Blue Ridge Council 551
403 S Won St
Fountain Inn, SC 29644


Trinity Utd Methodist
Greater Alabama Council 001
771 6th St S
Sylvania, AL 35988


Trinity Utd Methodist
Longhorn Council 662
1200 W Green Oaks Blvd
Arlington, TX 76013


Trinity Utd Methodist
President Gerald R Ford 781
1100 Lake Dr Se
Grand Rapids, MI 49506


Trinity Utd Methodist Ch Men S Club
Middle Tennessee Council 560
2303 Jones Blvd
Murfreesboro, Tn 37129
Trinity Utd Methodist Church
Alamo Area Council 583
6800 Wurzbach Rd
San Antonio, TX 78240


Trinity Utd Methodist Church
Allegheny Highlands Council 382
307 N Main St
Port Allegany, PA 16743


Trinity Utd Methodist Church
Anthony Wayne Area 157
229 S State St
Kendallville, IN 46755


Trinity Utd Methodist Church
Anthony Wayne Area 157
832 E Center St
Warsaw, IN 46580


Trinity Utd Methodist Church
Baltimore Area Council 220
1300 W St
Annapolis, MD 21401


Trinity Utd Methodist Church
Bay‐Lakes Council 635
300 Church St
Lomira, WI 53048


Trinity Utd Methodist Church
Bay‐Lakes Council 635
363 S Main St
Fond Du Lac, WI 54935


Trinity Utd Methodist Church
Buckeye Council 436
75 E High St
Mount Gilead, OH 43338


Trinity Utd Methodist Church
Buckskin 617
401 College Ave
Bluefield, WV 24701


Trinity Utd Methodist Church
Buckskin 617
615 Viand St
Point Pleasant, WV 25550


Trinity Utd Methodist Church
Buffalo Trace 156
512 N Mulberry St
Mount Carmel, IL 62863


Trinity Utd Methodist Church
Buffalo Trace 156
518 N Mulberry St
Mount Carmel, IL 62863


Trinity Utd Methodist Church
Cape Fear Council 425
204 E 3rd Ave
Red Springs, NC 28377


Trinity Utd Methodist Church
Cape Fear Council 425
209 E Nash St
Methodist Men


Trinity Utd Methodist Church
Cape Fear Council 425
209 E Nash St
Southport, NC 28461


Trinity Utd Methodist Church
Cape Fear Council 425
307 Trinity St
Fairmont, NC 28340


Trinity Utd Methodist Church
Cape Fear Council 425
P.O. Box 48
Red Springs, NC 28377
Trinity Utd Methodist Church
Central Florida Council 083
306 W Wisconsin Ave
Deland, FL 32720


Trinity Utd Methodist Church
Central Georgia Council 096
129 S Houston Rd
Warner Robins, GA 31088


Trinity Utd Methodist Church
Central N Carolina Council 416
234 N Russell St
Troy, NC 27371


Trinity Utd Methodist Church
Central N Carolina Council 416
416 E 1st St
Kannapolis, NC 28083


Trinity Utd Methodist Church
Chattahoochee Council 091
800 2nd Ave
Opelika, AL 36801


Trinity Utd Methodist Church
Chickasaw Council 558
1738 Galloway Ave
Memphis, TN 38112


Trinity Utd Methodist Church
Chief Seattle Council 609
100 S Blake Ave
Sequim, WA 98382


Trinity Utd Methodist Church
Chippewa Valley Council 637
201 W Central St
Chippewa Falls, WI 54729
Trinity Utd Methodist Church
Colonial Virginia Council 595
201 Cedar St
Smithfield, VA 23430


Trinity Utd Methodist Church
Colonial Virginia Council 595
P.O. Box 162
201 Cedar St


Trinity Utd Methodist Church
Columbia‐Montour 504
84 Lombard Ave
Danville, PA 17821


Trinity Utd Methodist Church
Connecticut Rivers Council, Bsa 066
180 Park Ave
Trinity United Methodist Church


Trinity Utd Methodist Church
Cornhusker Council 324
7130 Kentwell Ln
Lincoln, NE 68516


Trinity Utd Methodist Church
Coronado Area Council 192
901 E Neal Ave
Salina, KS 67401


Trinity Utd Methodist Church
Crossroads of America 160
500 S Mulberry St
Muncie, IN 47305


Trinity Utd Methodist Church
Dan Beard Council, Bsa 438
5767 Pleasant Hill Rd
Milford, OH 45150


Trinity Utd Methodist Church
Daniel Boone Council 414
587 Haywood Rd
Asheville, NC 28806


Trinity Utd Methodist Church
Del Mar Va 081
P.O. Box 196
450 3rd St


Trinity Utd Methodist Church
East Carolina Council 426
301 N Marine Blvd
Jacksonville, NC 28540


Trinity Utd Methodist Church
Erie Shores Council 460
135 Adams St
Port Clinton, OH 43452


Trinity Utd Methodist Church
Erie Shores Council 460
200 E Madison St
Gibsonburg, OH 43431


Trinity Utd Methodist Church
French Creek Council 532
P.O. Box 88
Conneaut Lake, PA 16316


Trinity Utd Methodist Church
Garden State Council 690
20 Route US 9 N
Marmora, NJ 08223


Trinity Utd Methodist Church
Garden State Council 690
284 Cedar Rd
Mullica Hill, NJ 08062


Trinity Utd Methodist Church
Garden State Council 690
P.O. Box 171
Pennsville, NJ 08070
Trinity Utd Methodist Church
Glaciers Edge Council 620
1123 Vilas Ave
Madison, WI 53715


Trinity Utd Methodist Church
Golden Empire Council 047
285 E 5th St
Chico, CA 95928


Trinity Utd Methodist Church
Great Lakes Fsc 272
18303 Common Rd
Roseville, MI 48066


Trinity Utd Methodist Church
Great Salt Lake Council 590
4290 W 5415 S
Kearns, UT 84118


Trinity Utd Methodist Church
Great Salt Lake Council 590
P.O. Box 701289
3610 S 4400 W


Trinity Utd Methodist Church
Great Smoky Mountain Council 557
100 E College St
Athens, TN 37303


Trinity Utd Methodist Church
Great Smoky Mountain Council 557
5613 Wern Ave
Knoxville, TN 37921


Trinity Utd Methodist Church
Greater Alabama Council 001
1400 Oxmoor Rd
Homewood, AL 35209
Trinity Utd Methodist Church
Greater Alabama Council 001
808 E St S
Talladega, AL 35160


Trinity Utd Methodist Church
Greater New York Councils, Bsa 640
113 Bay St
Bronx, NY 10464


Trinity Utd Methodist Church
Greater Niagara Frontier Council 380
2110 Whitehaven Rd
Grand Island, NY 14072


Trinity Utd Methodist Church
Greater Tampa Bay Area 089
33425 State Rd 54
Wesley Chapel, FL 33543


Trinity Utd Methodist Church
Gulf Coast Council 773
403 Racetrack Rd Nw
Fort Walton Beach, FL 32547


Trinity Utd Methodist Church
Gulf Coast Council 773
403 Racetrack Rd Nw
Ft Walton Bch, FL 32547


Trinity Utd Methodist Church
Gulf Stream Council 085
9625 N Military Trl
Palm Beach Gardens, FL 33410


Trinity Utd Methodist Church
Heart of America Council 307
630 N Cedar St
Ottawa, KS 66067


Trinity Utd Methodist Church
Heart of Virginia Council 602
6600 Greenyard Rd
Chester, VA 23831


Trinity Utd Methodist Church
Heart of Virginia Council 602
903 Forest Ave
Richmond, VA 23229


Trinity Utd Methodist Church
Heart of Virginia Council 602
P.O. Box 233
Farmville District


Trinity Utd Methodist Church
Heart of Virginia Council 602
P.O. Box 263
Amelia Court House, VA 23002


Trinity Utd Methodist Church
Hudson Valley Council 374
8 S Cross Rd
Lagrangeville, NY 12540


Trinity Utd Methodist Church
Indian Waters Council 553
185 Blvd St
Orangeburg, SC 29115


Trinity Utd Methodist Church
Indian Waters Council 553
P.O. Box 864
90 Boney Rd


Trinity Utd Methodist Church
Indian Waters Council 553
P.O. Box 864
Blythewood, SC 29016


Trinity Utd Methodist Church
Lasalle Council 165
2715 E Jackson Blvd
Elkhart, IN 46516
Trinity Utd Methodist Church
Lasalle Council 165
425 S Michigan St
Plymouth, IN 46563


Trinity Utd Methodist Church
Last Frontier Council 480
211 N 2nd Ave
Purcell, OK 73080


Trinity Utd Methodist Church
Laurel Highlands Council 527
434 E Main St
Roaring Spring, PA 16673


Trinity Utd Methodist Church
Laurel Highlands Council 527
P.O. Box 1080
Fort Ashby, WV 26719


Trinity Utd Methodist Church
Lincoln Heritage Council 205
2796 Charlestown Rd
New Albany, IN 47150


Trinity Utd Methodist Church
Louisiana Purchase Council 213
1000 Woodward Ave
Ruston, LA 71270


Trinity Utd Methodist Church
Mid‐America Council 326
838 N 25th St M
Fort Dodge, IA 50501


Trinity Utd Methodist Church
Middle Tennessee Council 560
2023 Jones Blvd
Murfreesboro, TN 37129
Trinity Utd Methodist Church
Middle Tennessee Council 560
2084 Wilson Pike
Franklin, TN 37067


Trinity Utd Methodist Church
Minsi Trails Council 502
213 Main St
Hackettstown, NJ 07840


Trinity Utd Methodist Church
Mississippi Valley Council 141 141
2330 Plank Rd
Keokuk, IA 52632


Trinity Utd Methodist Church
Mountaineer Area 615
112 E Main St
Glenville, WV 26351


Trinity Utd Methodist Church
National Capital Area Council 082
13400 Shaffer Rd
Germantown, MD 20874


Trinity Utd Methodist Church
National Capital Area Council 082
13700 Schaeffer Rd
Germantown, MD 20874


Trinity Utd Methodist Church
National Capital Area Council 082
2911 Cameron Mills Rd
Alexandria, VA 22302


Trinity Utd Methodist Church
National Capital Area Council 082
703 W Patrick St
Frederick, MD 21701


Trinity Utd Methodist Church
National Capital Area Council 082
705 W Patrick St
Frederick, MD 21701


Trinity Utd Methodist Church
National Capital Area Council 082
90 Church St
P.O. Box 2142


Trinity Utd Methodist Church
New Birth of Freedom 544
210 W Main St
Hummelstown, PA 17036


Trinity Utd Methodist Church
New Birth of Freedom 544
421 Bridge St
New Cumberland, PA 17070


Trinity Utd Methodist Church
North Florida Council 087
4000 NW 53rd Ave
Gainesville, FL 32653


Trinity Utd Methodist Church
Northeast Illinois 129
1024 Lake Ave
Wilmette, IL 60091


Trinity Utd Methodist Church
Northwest Georgia Council 100
P.O. Box 1414
Cartersville, GA 30120


Trinity Utd Methodist Church
Oregon Trail Council 697
440 Maxwell Rd
Eugene, OR 97404


Trinity Utd Methodist Church
Orrville
Buckeye Council 436
1556 Rex Dr
Trinity Utd Methodist Church
Palmetto Council 549
626 Norwood St
Spartanburg, SC 29302


Trinity Utd Methodist Church
Pathway To Adventure 456
605 W Golf Rd
Mount Prospect, IL 60056


Trinity Utd Methodist Church
Pennsylvania Dutch Council 524
420 Main St
Denver, PA 17517


Trinity Utd Methodist Church
Piedmont Council 420
1513 Florida St
Gastonia, NC 28052


Trinity Utd Methodist Church
Pine Tree Council 218
612 Farmington Falls Rd
Farmington, ME 04938


Trinity Utd Methodist Church
President Gerald R Ford 781
1100 Lake Dr Se
Grand Rapids, MI 49506


Trinity Utd Methodist Church
Quivira Council, Bsa 198
1602 N Main St
Hutchinson, KS 67501


Trinity Utd Methodist Church
Quivira Council, Bsa 198
430 Eunice St
El Dorado, KS 67042
Trinity Utd Methodist Church
Quivira Council, Bsa 198
5700 Broadway Ave
Great Bend, KS 67530


Trinity Utd Methodist Church
Sequoyah Council 713
524 Tusculum Blvd
Greeneville, TN 37745


Trinity Utd Methodist Church
Sequoyah Council 713
P.O. Box 16
Big Stone Gap, VA 24219


Trinity Utd Methodist Church
Shenandoah Area Council 598
220 W Martin St
Martinsburg, WV 25401


Trinity Utd Methodist Church
Silicon Valley Monterey Bay 055
581 E Fremont Ave
Sunnyvale, CA 94087


Trinity Utd Methodist Church
Simon Kenton Council 441
1581 Cambridge Blvd
Columbus, OH 43212


Trinity Utd Methodist Church
Simon Kenton Council 441
24 S Mulberry St
Chillicothe, OH 45601


Trinity Utd Methodist Church
Simon Kenton Council 441
4850 Haughn Rd
Grove City, OH 43123


Trinity Utd Methodist Church
Simon Kenton Council 441
6389 Blacklick Eern Rd
Pickerington, OH 43147


Trinity Utd Methodist Church
Southwest Florida Council 088
304 E Oak St
Arcadia, FL 34266


Trinity Utd Methodist Church
Suffolk County Council Inc 404
P.O. Box 92
Coram, NY 11727


Trinity Utd Methodist Church
Susquehanna Council 533
1407 Allegheny St
Jersey Shore, PA 17740


Trinity Utd Methodist Church
Tukabatchee Area Council 005
610 Fairview Ave
Prattville, AL 36066


Trinity Utd Methodist Church
United Methodist Men
Old Hickory Council 427
725 W Dalton Rd


Trinity Utd Methodist Church
Water and Woods Council 782
720 S Shiawassee St
Owosso, MI 48867


Trinity Utd Methodist Church
West Tennessee Area Council 559
409 N Wilson St
Paris, TN 38242


Trinity Utd Methodist Church
Western Massachusetts Council 234
361 Sumner Ave
Springfield, MA 01108
Trinity Utd Methodist Men
National Capital Area Council 082
1205 Dolley Madison Blvd
Mclean, VA 22101


Trinity Utd Methodist Men S
Longs Peak Council 062
P.O. Box 207
Kimball, NE 69145


Trinity Utd Methodist Men S Club
Pathway To Adventure 456
605 W Golf Rd
Mount Prospect, IL 60056


Trinity Utd Methodist Men‐Trinity
Garden State Council 690
36 W Maple Ave
Merchantville, NJ 08109


Trinity Utd Presbyterian Church
Cradle of Liberty Council 525
360 N Oak Ave
Clifton Heights, PA 19018


Trinity Utd Presbyterian Church
Heart of America Council 307
1400 W Sheley Rd
Independence, MO 64052


Trinity Utd Presbyterian Church
Orange County Council 039
13922 Prospect Ave
Santa Ana, CA 92705


Trinity Wesleyan Church
Andrew Jackson Council 303
6950 S Siwell Rd
Byram, MS 39272
Trinity Works LLC
P.O. Box 12206
Ft Worth, TX 76110


Trint
4th Fl, 38‐40 Commercial Rd
London, E1 1LN
United Kingdom


Trinty Asbury Utd Methodist Church
Shenandoah Area Council 598
P.O. Box 672
106 Wilkes St


Trinty Lutheran Church
Simon Kenton Council 441
135 E Mound St
Circleville, OH 43113


Trinty Utd Methodist Church
Shenandoah Area Council 598
220 W Martin St
Martinsburg, WV 25401


Trion Industries Inc
P.O. Box 640764
Pittsburgh, PA 15264‐0764


Trion Industries, Inc
297 Laird St
Wilkes‐Barre, PA 18702


Triple B Clays, Shotgun Sports Park
831 Rosemead Blvd
So El Monte, CA 91733


Triple Eight Distribution
20W Vanderventer Ave
Port Washington, NY 11050


Triple Eight Distribution Inc
20W Vanderventer Ave, Ste 101
Port Washington, NY 11050


Triple R Locksmith
115A S Main St
Grapevine, TX 76051


Triscari Productions Inc
59 Central Blvd
Camp Hill, PA 17011


Trisha Dalal
Address Redacted


Trisha Schneider
Address Redacted


Trisha Shepherd
Address Redacted


Tristan Bone
Address Redacted


Tristan Carlson
Address Redacted


Tristan Crawford
Address Redacted


Tristan Retzlaff
Address Redacted


Tristan S Acceleration Academy
North Florida Council 087
1039 Bains Lake Dr
Jacksonville, FL 32218


Tristan Taylor Keen
Address Redacted
Tri‐State Envelope Corp
P.O. Box 433
Beltsville, MD 20704‐0433


Tri‐State Outfitters
P.O. Box 8008
Moscow, ID 83843


Tri‐State Roofing    Sheet Metal
P.O. Box 1231
Charleston, WV 25324


Trisum Sailing Llg
Alamo Area Council 583
1 Boerne Lake Rd
Boerne, TX 78006


Tri‐Tek Security Systems
3805 Ridgeway Pl Nw
Bremerton, WA 98312


Tri‐Town Fire Dept
Allegheny Highlands Council 382
P.O. Box 277
Ulysses, PA 16948


Tritt Elementary School
Atlanta Area Council 092
4435 Post Oak Tritt Rd
Marietta, GA 30062


Triumph Academy PTO
Southern Shores Fsc 783
3000 Vivian Rd
Monroe, MI 48162


Triumph Baptist Church
Cradle of Liberty Council 525
1648‐52 W Hunting Park Ave
Philadelphia, PA 19140
Triumph Systems, Inc
710 N Tucker Blvd
St Louis, MO 63101


Trivalley Vfw Post 8449
Denver Area Council 061
P.O. Box 327
Bennett, CO 80102


Trondhjem Lutheran Church
Northern Star Council 250
7525 Garfield Ave
Lonsdale, MN 55046


Trong Tran
Address Redacted


Troop 10 Committee
President Gerald R Ford 781
7018 Putney Rd
Arcadia, MI 49613


Troop 101 Foundation
Longs Peak Council 062
2614 Van Lennen Ave
Cheyenne, WY 82001


Troop 12 Inc
Greater Tampa Bay Area 089
P.O. Box 7
Lutz, FL 33548


Troop 133 Committee
Cradle of Liberty Council 525
7016 Windswept Ln
Jeffersonville, PA 19403


Troop 1692 Parents Committee
Heart of America Council 307
912 W Ryan Rd
Grain Valley, MO 64029


Troop 17 Activities Committee Inc
Greater New York Councils, Bsa 640
4925 87th St
Elmhurst, NY 11373


Troop 175 ‐ Midland, Texas, Inc
Buffalo Trail Council 567
P.O. Box 5381
Midland, TX 79704


Troop 219 Parents Club
Mt Diablo‐Silverado Council 023
3844 Happy Valley Rd
Lafayette, CA 94549


Troop 24 Inc
Colonial Virginia Council 595
38411 Rocky Hock Rd
Wakefield, VA 23888


Troop 241 Parent Committee
Mt Diablo‐Silverado Council 023
1957 Beacon Ridge Ct
Walnut Creek, CA 94597


Troop 276 The Mtn Men Leadership Project
California Inland Empire Council 045
210 Whalers Walk
San Pedro, Ca 90731


Troop 3 Alumni Assoc
Cathay Post 384 American Legion
San Francisco Bay Area Council 028
1524 Powell St
San Francisco, Ca 94133


Troop 313 Inc
Ore‐Ida Council 106 ‐ Bsa 106
2680 S Eagle Rd, Ste 150
Meridian, ID 83642
Troop 333 Parents Assoc
San Francisco Bay Area Council 028
1767 41st Ave
San Francisco, CA 94122


Troop 425 Boosters
Greater Yosemite Council 059
1100 Sherrie Ct
Lathrop, CA 95330


Troop 43 Alumni Assoc
Yocona Area Council 748
221 Smith Rd
Waterford, MS 38685


Troop 437 Inc
c/o Hunter Miller
Circle Ten Council 571
926 Wedgewood Way
Richardson, TX 75080


Troop 437 Inc
Circle Ten Council 571
2205 Molly Ln
Plano, TX 75074


Troop 44 Matunuck Alumni Assoc
Narragansett 546
40 Wild Rose Ct
Wakefield, RI 02879


Troop 457 Of Greenwood Village,Inc
Denver Area Council 061
5625 S Newport St
Greenwood Village, CO 80111


Troop 565 Friends Of Scouting
Denver Area Council 061
10214 Charissglen Ln
Highlands Ranch, CO 80126
Troop 692 Parents Committee
Heart of America Council 307
2535 NE Springbrook St
Blue Springs, MO 64014


Troop 692 Parents Committee Inc
Heart of America Council 307
912 W Ryan Rd
Grain Valley, MO 64029


Troop 71 Building Assoc Inc
Monmouth Council, Bsa 347
70 Larkin Pl
Oakhurst, NJ 07755


Troop 76 Assoc
Pacific Skyline Council 031
1078 Morningside Dr
Sunnyvale, CA 94087


Troop 874 Trailblazing Parents Assoc
Mt Diablo‐Silverado Council 023
609 Royal Coach Ct
San Ramon, CA 94582


Troop 90‐California Inland Empire Cncl
Attn Kenneth Campbell
3082 Arlington Ave
Riverside, CA 92506


Troop One Stow Alumni Inc
Mayflower Council 251
P.O. Box 75
Stow, MA 01775


Troop Three Forty‐Six Land Co
Heart of America Council 307
201 N Spring St
Independence, MO 64050


Troop/Post Parents Org, Inc
Indian Nations Council 488
112 E College St
Broken Arrow, OK 74012


Trophies   More
505 Industrial Blvd, Ste 500
Bedford, TX 76021


Trophy Club Country Club
500 Trophy Club Dr
Trophy Club, TX 76262


Trophy Club Muds
100 Muncipal Dr
Trophy Club, TX 76262


Trophy Club Muds
100 Municipal Dr
Trophy Club, TX 76262‐5420


Trophy Club Police Dept
Longhorn Council 662
100 Municipal Dr
Trophy Club, TX 76262


Trophy Lawns Inc
P.O. Box 394
Roanoke, TX 76262


Tropic Gold Brand Emblems
P.O. Box 4913
Key W, Fl 33041‐4913


Tropic Isles Elementary School
5145 Orange Grove Blvd
Ft Myers, FL 33903


Tropic Trades, Inc
9696 Swest 40th St
Miami, FL 33165
Tropical Seas
P.O. Box 730539
Ormond Beach, FL 32173‐0539


Tropicana Casino And Resort
Attn Collections
P.O. Box 7246
Atlantic City, NJ 08404‐9896


Trossen Robotics, LLC
2854 Hitchcock Ave
Downers Grove, IL 60515‐4016


Trotter Elementary School PTO
The Spirit of Adventure 227
135 Humboldt Ave
Dorchester, MA 02121


Troup County Sheriff S Office
Chattahoochee Council 091
130 Sam Walker Dr
Lagrange, GA 30241


Troup High School Band
Chattahoochee Council 091
1920 Hamilton Rd
Lagrange, GA 30241


Trout Unlimited
Enchanted Cir Chapter
15 E Cito Rd
Cimarron, NM 87714


Troutman Sanders Llp
Attn Harris B. Winsberg
Attn Matthew G. Roberts
600 Peachtree St Ne, Ste 3000
Atlanta, GA 30308


Troutville Church Of The Brethren
Blue Ridge Mtns Council 599
P.O. Box 156
Troutville, VA 24175


Trouvaille Investments
Denver Area Council 061
25 W Dry Creek Cr 600
Littleton, CO 80120


Troy Anning
Address Redacted


Troy D Manz
Address Redacted


Troy Fire Dept
Great Lakes Fsc 272
500 W Big Beaver Rd
Troy, MI 48084


Troy Fire Station No 2
Great Lakes Fsc 272
5600 Livernois Rd
Troy, MI 48098


Troy First Utd Methodist Church
Great Lakes Fsc 272
6363 Livernois Rd
Troy, MI 48098


Troy Fish   Game Club
Miami Valley Council, Bsa 444
2618 Lefevre Rd
Troy, OH 45373


Troy Fritz
Address Redacted


Troy G Baker
Address Redacted
Troy Group Inc
940 S Coast Dr, Ste 200
Costa Mesa, CA 92626


Troy Group, Inc
Attn Contracts Admin
3 Bryan Dr
Wheeling, WV 26003


Troy Johnson
Address Redacted


Troy Kiwanis
Greater St Louis Area Council 312
92 Professional Pkwy
Troy, MO 63379


Troy Lions Club
Greater St Louis Area Council 312
P.O. Box 238
Troy, IL 62294


Troy M Findlay
Address Redacted


Troy Nature Society
Great Lakes Fsc 272
P.O. Box 99302
Troy, MI 48099


Troy Police Dept
Greater St Louis Area Council 312
116 E Market St
Troy, IL 62294


Troy School District 30C
Rainbow Council 702
5800 Theodore Dr
Plainfield, IL 60586


Troy Seehafer
Address Redacted


Troy Township Volunteer Fire Dept
Erie Shores Council 460
P.O. Box 275
311 Krotzer Ave
Luckey, OH 43443


Troy Township Volunteer Fire Dept
Lake Erie Council 440
14019 Nash Rd
Burton, OH 44021


Troy University
116 Adams Admin Bldg
Troy, AL 36082


Troy Utd Methodist Church
Greater St Louis Area Council 312
407 Edwardsville Rd
Troy, IL 62294


Troy Utd Methodist Church
Longhorn Council 662
P.O. Box 9
2500 Fm 935


Troy Utd Methodist Church
Longhorn Council 662
P.O. Box 9
Troy, TX 76579


Troy‐Webster American Legion Post 240
Erie Shores Council 460
335 Park Dr
Luckey, OH 43443


Trs Trash Removal Services LLC
P.O. Box 2185
Bremerton, WA 98310
Trt Banners LLC
14300 N Industrial Ave
Maple Heights, OH 44137


Trublue LLC
1835 38th St
Boulder, CO 80301


Trublue Trimming Inc
P.O. Box 370295
Key Largo, FL 33037


Truc‐Dao Au
Address Redacted


Truck Country
Northeast Iowa Council 178
2099 Spark Ct, Ste 2
Dubuque, IA 52003


Truckee Optimist Club
Nevada Area Council 329
P.O. Box 1859
Truckee, CA 96160


Trucksville Utd Methodist Church
Northeastern Pennsylvania Council 501
40 Knob Hill Rd
Trucksville, PA 18708


Trudegree
223 Bacon St
Raton, NM 87740


Trudi Jenkins
Address Redacted


Trudie Kesler
Address Redacted
Trudy Barton
Address Redacted


Trudy Everage
Address Redacted


Trudy Holloway
Address Redacted


Trudy Matulewic
Address Redacted


Trudy S Texas Star Inc
13059 Four Star Blvd
Austin, TX 78737


Trudy S Texas Star Inc
8133 Mesa Dr, Ste 206
Austin, TX 78729


Trudy Vangi
Address Redacted


True Bethel Baptist Church
Greater Niagara Frontier Council 380
907 E Ferry St
Buffalo, NY 14211


True Deliverance Church
Chattahoochee Council 091
P.O. Box 57
Auburn, AL 36831


True Digital Security Inc
P.O. Box 628728
Orlando, FL 32862‐8728


True Digital Security, Inc
1350 S Boulder Ave, Ste 1100
Tulsa, OK 74119
True Digital Security, Inc
P.O. Box 35623
Tulsa, OK 74153


True Life Baptist Church
Greater Alabama Council 001
275 Chickasaw Dr
Birmingham, AL 35214


True Life Community Church
Pikes Peak Council 060
2525 Canada Dr
Colorado Springs, CO 80922


True Light Lutheran Church
Greater New York Councils, Bsa 640
195 Worth St
New York, NY 10013


True Love Christian Ministries
Atlanta Area Council 092
2001 Jabco Ct
Lithonia, GA 30058


True North
President Gerald R Ford 781
6308 S Warner Ave
Fremont, MI 49412


True Power Electric LLC
9201 N 29th Ave 63‐307
Phoenix, AZ 85051


True Productions
3731 Ncrest Rd, Ste 30
Atlanta, GA 30340


True Solutions Inc
5001 Lbj Freeway, Ste 125
Dallas, TX 75244
Trueballot Inc
3 Bethesda Metro Ctr, Ste 700
Bethesda, MD 20814


Truelight Baptist Church
Pine Burr Area Council 304
804 N Main St
Hattiesburg, MS 39401


Truitt Key
Address Redacted


Truly Nolen Branch 042
135 E Ray Rd, Ste 7
Chandler, AZ 85225‐3376


Truly Nolen Branch 045
1005 N Stadem, Ste 202
Tempe, AZ 85281


Truly Nolen Branch 072
P.O. Box 600289
Jacksonville, FL 32260‐0289


Truly Nolen Of America Inc
P.O. Box 3010
Scottsdale, AZ 85271‐3010


Truman Elementary PTA
Last Frontier Council 480
600 Parkside Rd
Norman, OK 73072


Truman Fire Dept
Twin Valley Council Bsa 283
101 E Ciro St
Truman, MN 56088


Truman Magley
Address Redacted


Truman Medical Center Lakewood
Heart of America Council 307
7900 Lees Summit Rd
Kansas City, MO 64139


Truman PTA
Illowa Council 133
5506 N Pine St
Davenport, IA 52806


Truman PTO
Hawkeye Area Council 172
441 W Post Rd Nw
Cedar Rapids, IA 52405


Truman State University
Attn Financial Aid
100 E Normal
Kirksville, MO 63501


Trumann Lions Club
Quapaw Area Council 018
P.O. Box 1
Trumann, AR 72472


Trumark Mgf Co, Inc
5541 Central Ave 130
Boulder, CO 80301


Trumbauersville Lions Club
Washington Crossing Council 777
P.O. Box 33
Trumbauersville, PA 18970


Trumbull Board Of Education
Connecticut Yankee Council Bsa 072
6254 Main St
Trumbull, CT 06611
Trumbull County Family Court
Great Trail 433
220 Main Ave Sw
P.O. Box 1209
Warren, OH 44481


Trumbull Family Fitness
Great Trail 433
210 High St Nw
Warren, OH 44481


Trumm Drug, Inc
600 Fillmore St
Alexandria, MN 56308


Truong Giang
Silicon Valley Monterey Bay 055
1161 Ringwood Ct, Ste 130
San Jose, CA 95131


Truro Church
National Capital Area Council 082
10520 Main St
Fairfax, VA 22030


Truro Homes Assoc
National Capital Area Council 082
4146 Elizabeth Ln
Annandale, VA 22003


Trussville Fire   Rescue
421 Cherokee Dr
Trussville, AL 35173


Trussville Fire   Rescue
Greater Alabama Council 001
421 Cherokee Dr
Trussville, AL 35173


Trussville Parks   Recreation Board
Greater Alabama Council 001
5381 Trussville Clay Rd
Trussville, AL 35173


Trust Account Of The Law Firm Of
Norman Dowler LLP
840 County Square Dr
Ventura, CA 93003


Trust Event Solutions Inc
2689 NE 165th St
North Miami Beach, FL 33160


Truste Renewal
Attn Accounts Receivable
835 Market St, Ste 800, Box 137
San Francisco, CA 94103


Trusts   Estates
116 Ave of the Americas, 10th Fl
New York, NY 10036‐2708


Truth Graphics LLC
3223‐A Commander Dr
Carrollton, TX 75006


Ts Dock And Lift
Northern Lights Council 429
1682 Hwy 10 E
Detroit Lakes, MN 56501


Ts Printing Co Inc
P.O. Box 560161
Dallas, TX 75356‐0161


Tsaohn Inc
Tsaohn Treasurer
1920 Hawken Dr
Plano, TX 72023‐1700


Tsc Apparel
P.O. Box 632505
Cincinnati, OH 45263‐2505
Tscpa
P.O. Box 797488
Dallas, TX 75379‐7488


Tscpa
P.O. Box 803309
Dallas, TX 75380‐3309


Tscpa Cpe Foundation Inc
14651 Dallas Pkwy, Ste 700
Dallas, TX 75254


Tscpa Cpe Foundation Inc
P.O. Box 797308
Dallas, TX 75379


Tsg Reporting Inc
747 3rd Ave, Ste 10A
New York, NY 10017


T‐Shirt Express
Lincoln Heritage Council 205
117 W Main St
Leitchfield, KY 42754


T‐Shirt Express
Lincoln Heritage Council 205
1307 Saint Augustine Rd
Clarkson, KY 42726


Tsongas Litigation Consulting, Inc
One SW Columbia, Ste 600
Portland, OR 97258


Tst Educational And Community Foundation
Great Lakes Fsc 272
27349 Everett St
Southfield, MI 48076
Tt Knight Middle School
Lincoln Heritage Council 205
9803 Blue Lick Rd
Louisville, KY 40229


Tta Research   Guidance
P.O. Box 71687
Chicago, IL 60694‐1687


Ttr Shipping
1000 Campus Dr, Ste 300
Stow, OH 44224


Ttr Shipping
1000 Campus Dr, Ste 300
Stowe, OH 44244


Tualatin Lions Club
Cascade Pacific Council 492
P.O. Box 24
Tualatin, OR 97062


Tualatin Plains Presbyterian Church
Cascade Pacific Council 492
30685 NW Scotch Church Rd
Hillsboro, OR 97124


Tualatin Scouters
Cascade Pacific Council 492
16120 SW Cameron Ct
Tigard, OR 97223


Tube Pro, Inc
515 Beaver Creek Rd
Waterloo, ON N2V 2L3
Canada


Tuck Mapping Solutions Inc
P.O. Box 760
Big Stone Gap, VA 24219
Tuckahoe Common School
Suffolk County Council Inc 404
468 Magee St
Southampton, NY 11968


Tuckahoe Police Dept
Westchester Putnam 388
65 Main St
Tuckahoe, NY 10707


Tuckahoe Volunteer Fire Co
Garden State Council 690
2170 Nj 50
Woodbine, NJ 08270


Tucker County Rotary
Mountaineer Area 615
850 William Ave
Davis, WV 26260


Tucker J Baker
Address Redacted


Tucker Laprade
Address Redacted


Tucker Street Church
West Tennessee Area Council 559
454 Tucker St
Dyersburg, TN 38024


Tuckerman Fire Dept
Quapaw Area Council 018
P.O. Box 779
Tuckerman, AR 72473


Tuckertown Fire Dept Auxiliary
Narragansett 546
1116 Ministerial Rd
Wakefield, RI 02879
Tuckness Productions
Heart of America Council 307
7534 Twilight Ln
Lenexa, KS 66217


Tuckston Utd Methodist Church
Northeast Georgia Council 101
4175 Lexington Rd
Athens, GA 30605


Tuckwiller Well Drilling
132A Shoestring Trail
Crawley, WV 24931


Tucson Az East Stake
Catalina Council 011
6901 E Kenyon Dr
Tucson, AZ 85710


Tucson Carleston LLC
Charleston Embassy, Ste s
300 Court St
Charleston, WV 25301


Tucson Optimists Club
Catalina Council 011
1914 W Desert Highlands Dr
Oro Valley, AZ 85737


Tucson Police Dept
Catalina Council 011
270 S Stone Ave
Tucson, AZ 85701


Tucumcari Feed Efficiency Test, LLC
75 A Pueblo Rd N
Moriarty, NM 87035


Tuesday Study Club
Texas Trails Council 561
1602 Parker St
Goldthwaite, TX 76844
Tufts University Bursar S Office
Attn Financial Services
Albert Mangini
Dowling Hall 7th Fl
Waldorf, MD 20603


Tuggle Elementary School PTA
Greater Alabama Council 001
412 12th Ct N
Birmingham, AL 35204


Tuition Angel Fund
Saints Peter   Paul School
240 Dover St
Fall River, MA 02721


Tukabatchee Area
P.O. Box 11106
Montgomery, AL 36111‐0106


Tukabatchee Area Cncl 5
3067 Carter Hill
P.O. Box 11106
Montgomery, AL 36111‐0106


Tukatech Inc
5462 Jillson St
Commerce, CA 90040


Tukatech, Inc
5462 Jilson ST
Los Angeles , CA 90040


Tukwila Fire Dept
Chief Seattle Council 609
444 Andover Park E
Tukwila, WA 98188


Tulane Law School Cle
Attn Multi‐State Labor
Employment Law Seminar
7016 Zimple St
New Orleans, LA 70118


Tulane University
6823 St Charles Ave, Bldg 14, Rm 205
New Orleans, LA 70018


Tulare County Fire Dept
Sequoia Council 027
1551 E Success Dr
Porterville, CA 93257


Tulare County Sheriff
Sequoia Council 027
833 S Akers St
Visalia, CA 93277


Tulare County Sheriffs Dept
Explorer Post 355
2404 W Burrell Ave
Visalia, CA 93291


Tulare Fire Dept
Sequoia Council 027
800 S Blackstone St
Tulare, CA 93274


Tulare Noontime Kiwanis
Sequoia Council 027
P.O. Box 505
Tulare, CA 93275


Tulare Police Explorers
Sequoia Council 027
260 S M St
Tulare, CA 93274


Tulare Utd Methodist Church
Sequoia Council 027
228 W Kern Ave
Tulare, CA 93274
Tully Elementary School
Lincoln Heritage Council 205
3300 College Dr
Louisville, KY 40299


Tully Utd Community Church
Longhouse Council 373
Meetinghouse Rd
Tully, NY 13159


Tulsa 26 Scouts Inc
Indian Nations Council 488
1701 S Newport Ave
Tulsa, OK 74120


Tulsa Boys Home
Indian Nations Council 488
2727 S 137th W Ave
Sand Springs, OK 74063


Tulsa Community College
Office of the Bursar
909 S Boston, Rm 126
Tulsa, OK 74119


Tulsa County Clerk
500 S Denver 120
Tulsa, OK 74103


Tulsa Dream Center
Indian Nations Council 488
200 W 46th St N
Tulsa, OK 74126


Tulsa Hills Church Of The Nazarene
Indian Nations Council 488
840 W 81st St
Tulsa, OK 74132


Tulsa Legacy Charter School Primary
Indian Nations Council 488
105 E 63rd St N
Tulsa, OK 74126


Tulsa Moose Lodge 862
Indian Nations Council 488
11106 E 7th St
Tulsa, OK 74128


Tulsa Police Explorers
c/o Tulsa Police Academy
Indian Nations Council 488
6066 E 66th St N
Tulsa, OK 74117


Tumwater Utd Methodist Church
Pacific Harbors Council, Bsa 612
1401 Lake Park Dr Sw
Tumwater, WA 98512


Tunesat, LLC
1650 Broadway, Ste 1108
New York, NY 10019


Tung D Nguyen, Md
National Capital Area Council 082
6404 Seven Corners Pl, Ste K
Falls Church, VA 22044


Tung Duc Nguyen Md
National Capital Area Council 082
6404 Seven Corners Pl, Ste K
Falls Church, VA 22044


Tunica Rotary Club
Chickasaw Council 558
P.O. Box 1914
Tunica, MS 38676


Tunica Utd Methodist Church
Chickasaw Council 558
P.O. Box 1226
Tunica, MS 38676


Tunnel Hill Christian Church And Board
Lincoln Heritage Council 205
5105 Old Georgetown Rd
Georgetown, IN 47122


Tunnel Hill Utd Methodist Church
Northwest Georgia Council 100
P.O. Box 146
Tunnel Hill, GA 30755


Tunnell Companies LP
Del Mar Va 081
Long Neck Rd
Long Neck, DE 19966


Tuolumne County Fire Dept
Greater Yosemite Council 059
19500 Hillsdale Dr
Sonora, CA 95370


Tuolumne County Sheriff S Office
Greater Yosemite Council 059
28 N Lower Sunset
Sonora, CA 95370


Tuolumne County Sheriff S Posse
Greater Yosemite Council 059
16999 Columbia River Dr
Sonora, CA 95370


Turin Utd Methodist Church
Flint River Council 095
20 Long St
Turin, GA 30289


Turkey Hill School PTO
Connecticut Yankee Council Bsa 072
441 Turkey Hill Rd
Orange, CT 06477
Turlington Elementary School
Sam Houston Area Council 576
23400 Hegar Rd
Hockley, TX 77447


Turlock Police Dept
Greater Yosemite Council 059
244 N Broadway
Turlock, CA 95380


Turnagain Utd Methodist Church
Great Alaska Council 610
3300 W Nern Lights Blvd
Anchorage, AK 99517


Turnbridge Public Charter
Baltimore Area Council 220
5504 York Rd
Baltimore, MD 21212


Turner And Jacobs
11167 Ables Ln
Dallas, TX 75229


Turner Chapel A M E Church
Atlanta Area Council 092
492 N Marietta Pkwy Ne
Marietta, GA 30060


Turner Christian Church
Cascade Pacific Council 492
7871 Marion Rd Se
Turner, OR 97392


Turner Construction
Mid‐America Council 326
12506 S 50th St
Springfield, NE 68059


Turner Elementary School
Central Florida Council 083
3175 Jupiter Blvd Se
Palm Bay, FL 32909


Turner Holdings Ltd Partnership I
dba Vermejo Park, LLC
P.O. Box Drawer E
Raton, NM 87740


Turner Leasing Co Inc
dba Storage To Go
34121 Lee Hwy P.O. Box 1023
Glade Spring, VA 24340


Turner S Nbo
843‐45 E New Hvn
Melbourne, FL 32901


Turner/Lockhart Elementary PTO
Sam Houston Area Council 576
3200 Rosedale St
Houston, TX 77004


Turner‐Barker Insurance Co
Pine Tree Council 218
1 India St
Portland, ME 04101


Turners
843‐45 E New Haven
Melbourne, FL 32901


Turning Stone Resort Casino LLC
P.O. Box 126
Verona, NY 13478


Turnkey Project Services LLC
14301 Faa Blvd, Ste 111
Fort Worth, TX 76155‐2520


Turtle Creek Campus LP
dba 3000 Turtle Creek Services LLC
3000 Turtle Creek Blvd
Dallas, TX 75219


Turtle Lake Lions Club
Chippewa Valley Council 637
P.O. Box 401
Turtle Lake Lions Club
Turtle Lake, WI 54889


Tuscaloosa Apprentice Committee
Black Warrior Council 006
9410 Hwy 82 E
Tuscaloosa, AL 35456


Tuscaloosa County
P.O. Box 20738
Tuscaloosa, AL 35402


Tuscaloosa County High School Jrotc
Black Warrior Council 006
12500 Wildcat Dr
Northport, AL 35475


Tuscarawas Co Sheriff Dept
Buckeye Council 436
2295 Reiser Ave Se
New Philadelphia, OH 44663


Tuscarora
P.O. Box 1436
Goldsboro, NC 27533‐1436


Tuscarora Cncl 424
316 E Walnut St
P.O. Box 1436
Goldsboro, NC 27533‐1436


Tuscarora Inn   Conference Center
3300 River Rd
Mt Bethel, PA 18343
Tuscola Rotary Club
Prairielands 117
P.O. Box 21
Tuscola, IL 61953


Tuscola Utd Methodist Church
Prairielands 117
901 N Prairie St
Tuscola, IL 61953


Tuscola Utd Methodist Church
Texas Trails Council 561
P.O. Box 205
Tuscola, TX 79562


Tuskawilla Presbyterian Church
Central Florida Council 083
3600 Aloma Ave
Oviedo, FL 32765


Tuskegee Airmen Global Academy
Atlanta Area Council 092
16545 S Alvarado Terrace Sw
Atlanta, GA 30311


Tuskegee University
Tukabatchee Area Council 005
308 Kresge Center
Tuskegee Inst, AL 36088


Tustin Presbyterian Church
Orange County Council 039
225 W Main St
Tustin, CA 92780


Tustin/Santa Ana Rotary
Orange County Council 039
P.O. Box 14
Tustin, CA 92781


Tuttle Elementary PTO
Southwest Florida Council 088
2863 8th St
Sarasota, FL 34237


Tuttle Masonic Lodge 405
Last Frontier Council 480
P.O. Box 386
Tuttle, OK 73089


Tuxedo Park Baptist Church
Crossroads of America 160
29 N Grant Ave
Indianapolis, IN 46201


Tveyes Inc
2150 Post Rd
Fairfield, CT 06824


Tw Design Inc
1300 Crampton St
Dallas, TX 75207


Tw Images Inc Dba 9 Surf Studios
603 Mattison Ave, Ste 4300
Asbury Park, NJ 07712


Twain Harte Rotary Club
Greater Yosemite Council 059
P.O. Box 1462
Twain Harte, CA 95383


Tweedle Park And Playground Assoc
Minsi Trails Council 502
70 Franklin St
Weatherly, PA 18255


Tweet Myjobs, LLC
15414 Brem Ln, Ste 200
Charlotte, NC 28277


Twelve Apostles Catholic Church
Heart of America Council 307
17900 Humphreys Rd
Platte City, MO 64079


Twelve Corners Presbyterian Church
Seneca Waterways 397
1200 Winton Rd S
Rochester, NY 14618


Twelve Points Foundation
California Inland Empire Council 045
1820 W Orangewood
Orange, CA 92868


Twenty First Century Charter School PTO
Pathway To Adventure 456
556 Washington St
Gary, IN 46402


Twill Printing Services
22 Russo Pl
Berkeley Heights, NJ 07922


Twilla Satterthwaite
Address Redacted


Twin Chimneys Elementary School PTO
Greater St Louis Area Council 312
7396 Twin Chimneys Blvd
O Fallon, MO 63368


Twin Cities Lions Club
Seneca Waterways 397
3906 State Route 96
Shortsville, NY 14548


Twin Cities Rotary Club
Pacific Harbors Council, Bsa 612
P.O. Box 6
Chehalis, WA 98532


Twin Cities Scout Shop ‐ Opc
2218 County Hwy 10
Mounds View, MN 55112


Twin Cities Ward
Greater Yosemite Council 059
972 Vintage Oak Ave
Galt, CA 95632


Twin City Filter Service Inc
2529 25th Ave S
Minneapolis, MN 55406


Twin City Lions
Greater St Louis Area Council 312
P.O. Box 1
Herculaneum, MO 63048


Twin District Volunteer Fire Co Inc
Greater Niagara Frontier Council 380
4999 William St
Lancaster, NY 14086


Twin Falls 10Th Ward
Twin Falls South Stake
Snake River Council 111
229 Park Ave
Twin Falls, Id 83301


Twin Falls 11Th Ward ‐ Twin Falls Stake
Snake River Council 111
723 Hankins Rd
Twin Falls, ID 83301


Twin Falls 12Th Ward
Twin Falls West Stake
Snake River Council 111
1134 N College Rd
Twin Falls, Id 83301


Twin Falls 13Th Ward ‐ Twin Falls Stake
Snake River Council 111
2085 S Temple St
Twin Falls, ID 83301


Twin Falls 14Th Ward
Twin Falls West Stake
Snake River Council 111
824 Caswell Ave W
Twin Falls, Id 83301


Twin Falls 15Th Ward ‐Twin Falls Stake
Snake River Council 111
2085 S Temple
Twin Falls, ID 83301


Twin Falls 16Th Ward
Twin Falls South Stake
Snake River Council 111
541 Harrison St S
Twin Falls, Id 83301


Twin Falls 17Th Ward
Twin Falls South Stake
Snake River Council 111
2680 Elizabeth Blvd
Twin Falls, Id 83301


Twin Falls 18Th Ward Twin Falls W Stake
Snake River Council 111
824 Caswell Ave W
Twin Falls, Id 83301


Twin Falls 1St Ward ‐ Twin Falls Stake
Snake River Council 111
847 Eland Dr
Twin Falls, ID 83301


Twin Falls 2Nd Ward
Twin Falls South Stake
Snake River Council 111
851 Harrison St S
Twin Falls, Id 83301


Twin Falls 3Rd Ward
Twin Falls South Stake
Snake River Council 111
3150 Elizabeth Blvd E
Twin Falls, Id 83301


Twin Falls 4Th Ward
Twin Falls West Stake
Snake River Council 111
667 Harrison St
Twin Falls, Id 83301


Twin Falls 5Th Ward ‐ Twin Falls Stake
Snake River Council 111
2085 S Temple Dr
Twin Falls, ID 83301


Twin Falls 6Th Ward
Twin Falls West Stake
Snake River Council 111
667 Harrison St
Twin Falls, Id 83301


Twin Falls 7Th Ward ‐ Twin Falls Stake
Snake River Council 111
847 Eland Dr N
Twin Falls, ID 83301


Twin Falls 8Th Ward
Twin Falls West Stake
Snake River Council 111
667 Harrison St
Twin Falls, Id 83301


Twin Falls 9Th Ward
Twin Falls South Stake
Snake River Council 111
3150 Elizabeth Blvd
Twin Falls, Id 83301


Twin Falls S Stake‐Twin Falls 24Th Ward
Snake River Council 111
3485 N 2983 E
Twin Falls, Id 83301
Twin Falls Utd Methodist Church
Great Trail 433
60 N River Rd
Munroe Falls, OH 44262


Twin Lakes American Legion Post 544
Three Harbors Council 636
P.O. Box 907
Twin Lakes, WI 53181


Twin Oaks Utd Methodist Church
Black Swamp Area Council 449
201 E Harmon St
Oakwood, OH 45873


Twin Particle LLC
dba Gather Digital
1512 E Franklin St, Ste 100
Chapel Hill, NC 27514


Twin Rivers
253 Washington Ave Extension
Albany, NY 12205


Twin Rivers Cncl No 364
253 Washington Ave
Albany, NY 12205‐5504


Twin Rivers Scout Shop ‐ Opc
253 Washington Ave
Albany, NY 12205


Twin Valley
810 Madison Ave
Mankato, MN 56001


Twin Valley Cncl 283
810 Madison Ave
Mankato, MN 56001‐6195
Twincity Refresments
637 Squier St
Thunder Bay, On P7B 4A7
Canada


Twinhill
P.O. Box 840113
Dallas, TX 75284‐0113


Twinsburg Fire Dept
Lake Erie Council 440
10069 Ravenna Rd
Twinsburg, OH 44087


Twinsburg Police Dept
Lake Erie Council 440
10075 Ravenna Rd
Twinsburg, OH 44087


Twinsburg Vfw Post 4929
Lake Erie Council 440
9825 Ravenna Rd
Twinsburg, OH 44087


Two Brothers Screen Printing
P.O. Box 1414
Ingleside, TX 78362


Two Foxes Trading Post
Capitol Area Council 564
P.O. Box 671
Bastrop, TX 78602


Two Harbors Enterprises, Inc
P.O. Box 5086
Avalon, CA 90704


Two Harbors Moose Lodge    1463
Voyageurs Area 286
General Delivery
Two Harbors, MN 55616
Two Point Enterprise
Dba Atx Power Supplies
P.O. Box 131
Haughton, LA 71037


Two Way Radio Inc
P.O. Box 634
Wytheville, VA 24382


Two‐Way Radio Inc
P.O. Box 634
Wytheville, VA 24382


Tx Office Installation Services Inc
2515 Gravel Dr
Fort Worth, TX 76118


Tx Periodic Report
Attn Texas Secretary of State
P.O. Box 12887
Austin, TX 78711‐2887


Txtag
P.O. Box 650749
Dallas, TX 75265‐0749


Txu Energy
P.O. Box 650638
Dallas, TX 75265‐0638


Txu Energy
P.O. Box 650700
Dallas, TX 75265‐0700


Ty Nathanael Grewell
Address Redacted


Ty Page
Address Redacted
Ty Roberts
Address Redacted


Tyco Fire   Security Mgmt Inc
6600 Congress Ave
Boca Raton, FL 33487


Tyco Fire   Security Mgmt Inc
dba Johnson Controls Fire Protection LP
Dept Ch 10320
Palatine, IL 60055‐0320


Tyco Integrated Security LLC
P.O. Box 371967
Pittsburgh, PA 15250‐7967


Tye Pameticky
Address Redacted


Tye Wise
Address Redacted


Tyesha Barnett
Address Redacted


Tygh Valley Community Center
Cascade Pacific Council 492
57594 Tygh Valley Rd
Tygh Valley, OR 97063


Tyler A Rayburn
Address Redacted


Tyler Allen Chaney
Address Redacted


Tyler Bonino
Address Redacted
Tyler Burns
Address Redacted


Tyler D Sanders
Address Redacted


Tyler Davis
Address Redacted


Tyler Egeland
Address Redacted


Tyler Elementary School
National Capital Area Council 082
14500 John Marshall Hwy
Gainesville, VA 20155


Tyler Fine
Address Redacted


Tyler Fuchs
Address Redacted


Tyler Giblin
Address Redacted


Tyler H Blechschmid
Address Redacted


Tyler J Byrd
Address Redacted


Tyler J Wertz
Address Redacted


Tyler J Wilkins
Address Redacted
Tyler Joseph Girard
Address Redacted


Tyler Joseph Higginbotham
Address Redacted


Tyler Korpisz
Address Redacted


Tyler Leeanne Landry
Address Redacted


Tyler M Vincent
Address Redacted


Tyler Police Dept
East Texas Area Council 585
711 W Ferguson St
Tyler, TX 75702


Tyler S Fox
Address Redacted


Tyler Schmoe
Address Redacted


Tyler Stenzel
Address Redacted


Tyler Terry
Address Redacted


Tyler W Battenfield
Address Redacted


Tyler Yacht Club
East Texas Area Council 585
P.O. Box 130906
Tyler, TX 75713


Tyler Yankey
Address Redacted


Tylertown Rotary Club
Andrew Jackson Council 303
General Delivery
Tylertown, MS 39667


Tyner Utd Methodist Church
Cherokee Area Council 556
6805 Standifer Gap Rd
Chattanooga, TN 37421


Tyngsboro Firefighters Assoc
The Spirit of Adventure 227
26 Kendall Rd
Tyngsboro, MA 01879


Tyra Richardson
Address Redacted


Tyrone Black
Address Redacted


Tyrone Manning
Address Redacted


Tyry, Inc
P.O. Box 1799
Rocklin, CA 95677


Tyson Coble
Address Redacted


Tyson David Stonehocker
Address Redacted
Tyson Stonehocker
Address Redacted


U Of Kansas   Steven N Levitt
Attn Elaine Schuler‐Student Fin Aid
1450 Jayhawk Blvd, Rm 50 Strong Hall
Lawrence, KS 60045


U S Art Co Inc
66 Pacella Park Dr
Randolph, MA 02368


U S Border Patrol
Rio Grande Council 775
3000 W Military Hwy
Mcallen, TX 78503


U S Border Patrol
South Texas Council 577
9001 San Dario Ave
Laredo, TX 78045


U S Border Patrol‐Del Rio
Texas Swest Council 741
2300 E Hwy 90
Del Rio, TX 78840


U S Border Patrol‐Eagle Pass N Sta
Texas Swest Council 741
2285 Del Rio Blvd
Eagle Pass, Tx 78852


U S Border Patrol‐Eagle Pass S Sta
Texas Swest Council 741
Eagle Pass S Station
4156 El Indio Hwy
Eagle Pass, Tx 78852


U S Customs   Border Protection
South Florida Council 084
6601 NW 25th St
Miami, FL 33122


U S Customs   Border Protection‐Broward
South Florida Council 084
1800 Eller Dr, Ste 300
Fort Lauderdale, FL 33316


U S Customs Explorer Post
Pathway To Adventure 456
610 S Canal
Chicago, IL 60607


U S Customs‐Del Rio
Texas Swest Council 741
3140 Texas Spur 239
Del Rio, TX 78840


U S Customs‐Eagle Pass
Texas Swest Council 741
160 Garrison St
Eagle Pass, TX 78852


U S Geological Survey
Information Services
P.O. Box 25286
Denver, CO 80225


U S Post Office
210 E 9th St
Cimarron, NM 87714


U S Post Office
901 W Walnut Hill Ln
Irving, TX 75038


U S Post Office
P.O. Box 9999
Ute Park, NM 87749


U S Postal Service
Central Post Office
2300 W Story Rd
Irving, TX 75038‐9998


U S Postal Service
Cmrs‐Pbp
P.O. Box 0566
Carol Stream, IL 60132‐0566


U S Postmaster
Business Mail Entry/Permit Renewals
401 Tom Landry Hwy, Rm 735
Dallas, TX 75260‐9651


U S Sailing
P.O. Box 1260
Portsmouth, RI 02871


U S Security Assoc Inc
P.O. Box 931703
Atlanta, GA 31193


U S Water Services Corp
4939 Cross Bayou Blvd
New Port Richey, FL 34652


U U Bar Ranch
1115 State Hwy 21
Cimarron, NM 87714


U.S. Dept Of Education
National Payment Center
P.O. Box 4142
Greenville, TX 75403‐4142


U.S. Dept Of Health   Human Services
200 Independence Ave, S.W.
Washington, DC 20201


U.S. Dept Of Justice
950 Pennsylvania Ave, Nw
Washington, DC 20530
U.S. Dept Of The Treasury
1500 Pennsylvania Ave, Nw
Washington, DC 20220


U.S. Enviromental Protection Agency
Ariel Rios Building
1200 Pennsylvania Ave Nw
Washington, DC 20460


U.S. Equal Employment And
Opportunity Commission
1801 L St Nw
Washington, DC 20507


Uaw Local 1853
Middle Tennessee Council 560
P.O. Box 459
Spring Hill, TN 37174


Uaw Local 2209
Anthony Wayne Area 157
5820 E 900 N
Roanoke, IN 46783


Ub Kinsey Commty
Elementary School Pto
Gulf Stream Council 085
800 W 1St St
West Palm Beach, Fl 33404


Ubm LLC
1983 Marcus Ave, Ste 250
Lake Success, NY 11042


Ubm LLC
P.O. Box 9064
New York, NY 10087‐9064


Ubs Financial Services Inc
201 Settlers Trace Blvd, Ste 3004
Lafayette, LA 70508


Uc Regents
Box 957089, 1125 Murphy Hall
405 Hilgard Ave
Los Angeles, CA 90095‐7089


Uc Regents
Student Business Services
9500 Gilman Dr
La Jolla, CA 92093‐0026


Uceda School
Las Vegas Area Council 328
320 N Nellis Blvd
Las Vegas, NV 89110


Ucp Childrens Learning Center Of Nassau
Theodore Roosevelt Council 386
380 Washington Ave
Roosevelt, NY 11575


Ucpc, For Drew Barzman, M.D.
3200 Burnet Ave
Cincinnati, OH 45229


UDAF
350 N Redwood Rd
P.O. Box 146500
Salt Lake City, UT 84114‐6500


Ufcw Local 1625
Greater Tampa Bay Area 089
705 E Orange St
Lakeland, FL 33801


Uga Career Center
The University of Georgia
Clark Howell Hall
Athens, GA 30602‐3332
Uganda Scout Assoc
Baden Powell House
Buganda Rd
Kampala


Ugly Mugz
2300 S 13
Clinton, OK 73601


U‐Haul
700 S Hwy 89
Jackson, WY 83001


Uheaa
P.O. Box 145107
Salt Lake City, UT 84114‐5107


Uhland Elementary School PTA
Capitol Area Council 564
2301 High Rd
Kyle, TX 78640


Uinta County Peace Officer S Assoc
Trapper Trails 589
77 County Rd 109
Evanston, WY 82930


Ujimaa Foundation
San Francisco Bay Area Council 028
3994 Burckhalter Ave
Oakland, CA 94605


Ukiah Elks Lodge 1728
Redwood Empire Council 041
P.O. Box 32
Ukiah, CA 95482


Ukiah Valley Fire Authority
Redwood Empire Council 041
1500 S State St
Ukiah, CA 95482
Ukrainian National Home
Garden State Council 690
1506 Fairton Rd
Millville, NJ 08332


Ul Verification Services Inc
62045 Collections Ctr Dr
Chicago, IL 60693‐0620


Uline
P.O. Box 88741
Chicago, IL 60680


Uline Canada Corp
Box 3500
Rpo Stsville
Mississauga, On L5M 0S8


Uline Inc
Accounts Receivables
P.O. Box 88741
Chicago, IL 60680‐1741


Uline Shipping Supplies
Accounts Receivables
P.O. Box 88741
Chicago, IL 60680‐1741


Ullenbruch Flowers And Gifts
Water and Woods Council 782
1839 Lapeer Ave
Port Huron, MI 48060


Ulmstead Club Inc
Baltimore Area Council 220
911 Lynch Dr
Arnold, MD 21012


Ulster County Sheriffs Office
Rip Van Winkle Council 405
380 the Blvd
Kingston, NY 12401


Ultimate
260 W Nyack Rd
West Nyack, NJ 10994


Ultimate Office
P.O. Box 688
Farmingdale, NJ 07727‐0688


Ultimate Scouting Assoc
Pine Tree Council 218
P.O. Box 354
Shapleigh, ME 04076


Ultimate Systems Limited
4335 N Santa Fe Dr
Kingman, AZ 84601


Ulysses Utd Methodist Church
Allegheny Highlands Council 382
North St
Ulysses, PA 16948


Um Church Of The Good Shepherd
Last Frontier Council 480
10928 SW 15th St
Yukon, OK 73099


Umc Of The Resurrection Blue Springs
Heart of America Council 307
601 NE Jefferson St
Blue Springs, MO 64014


Ume Preparatory Academy
Circle Ten Council 571
3838 Spur 408
Dallas, TX 75236


Umkc School Of Dentistry
Heart of America Council 307
650 E 25th St
Kansas City, MO 64108


Umm 1st Utd Methodist Ch Cary
Occoneechee 421
117 S Academy St
Cary, Nc 27511


Umm 1st Utd Methodist Ch Cary
Occoneechee 421
P.O. Box 396
117 S Academy St
Cary, Nc 27512


Umphress Road Utd Methodist Church
Circle Ten Council 571
7224 Umphress Rd
Dallas, TX 75217


Umphrey Lee Elementary
Circle Ten Council 571
7808 Racine Dr
Dallas, TX 75232


Umpqua Survival    Off Grid Living LLC
2876 NE Diamond Lake Blvd
Roseburg, OR 97470


Un Methodist Church
American Leg Post 682
Mid Iowa Council 177
602 5Th Ave Sw
Altoona, Ia 50009


Una Rotc Cadet Club
Greater Alabama Council 001
Una Box 5024
1 Harrison Plz
Florence, AL 35632


Una Teter
Address Redacted
Unadilla Fire Co
Leatherstocking 400
77 Clifton St
Unadilla, NY 13849


Unadilla Fire Dept
Leatherstocking 400
P.O. Box
Unadilla, NY 13849


Unadilla Presbyterian Church
Leatherstocking 400
156 Main St
Unadilla, NY 13849


Unblind Productions Inc
7212 Marantha Ct
Colleyville, TX 76034


Unc Career Service Center
Univ. of Nern Colorado
Univ. Center ‐ Campus Box 58
Greeley, CO 80639


Unc Charlotte College Of Engineering
Mecklenburg County Council 415
9201 University City Blvd
Charlotte, NC 28223


Uncaged Ergonomics
Box 1307
Cumberland, MD 21501


Uncle Jacks Bouncers, LLC
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Cimarron, NM 87714


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5733 S Sassaman Rd
Mesa, AZ 85212
Under Armour
P.O. Box 791022
Baltimore, MD 21279‐1022


Under Water Adventures
Central Florida Council 083
400 W Magnolia St
Leesburg, FL 34748


Underberg And Kessler
Seneca Waterways 397
300 Bausch and Lomb Pl
Rochester, NY 14604


Underhill‐Jericho Fire Dept
Green Mountain 592
420 Vt Route 15
P.O. Box 150
Underhill, VT 05489


Underwater Dive Center Inc
Lake Erie Council 440
42551 N Ridge Rd
Elyria, OH 44035


Underwood Lutheran Church
Mid‐America Council 326
10 3rd Ave
Underwood, IA 51576


Underwood Petersville Vol Fire Dept
Greater Alabama Council 001
4661 Hwy 157
Florence, Al 35633


Unemployment Insurance Agency
P.O. Box 33598
Detroit, MI 48232‐5598


Uni Alabama Health Svcs Fndn
Greater Alabama Council 001
619 19Th St S
Birmingham, Al 35233


Uni Carillon Utd Methodist Ch
Central Florida Council 083
P.O. Box 678841
Orlando, Fl 32867


Uni Christian High Sch Model Un
Piedmont Council 420
602 7Th Ave Ne
Hickory, Nc 28601


Uni Findlay Animal Science   Prev Vet
Black Swamp Area Council 449
1000 N Main St
Findlay, Oh 45840


Uni Heights Utd Methodist Ch
Atlanta Area Council 092
1267 Balsam Dr
Decatur, Ga 30033


Uni Presbyterian Ch Rochester Hills
Great Lakes Fsc 272
1385 S Adams Rd
Rochester Hills, Mi 48309


Uni Rochester Sch Nursing
Seneca Waterways 397
255 Crittenden Blvd
Rochester, Ny 14642


Uni S Florida Sch Health
Greater Tampa Bay Area 089
12901 Bruce B Downs Blvd
Tampa, Fl 33612


Unic Industrial   Trading Corp
dba Treasure of Nature
895 S Rockefeller Ave 106
Ontario, CA 91761


Unico
Northern New Jersey Council, Bsa 333
42 Linda Vista Ave
North Haledon, NJ 07508


Uniexpress Pvt Ltd
Prakash Deep Building
7, Tolstoy Marg
New Delhi, 110001
India


Unifi Equipment Finance, Inc
3893 Research Park Dr
Ann Arbor, MI 48108


Unifi Equipment Finance, Inc
P.O. Box 7365
Ann Arbor, MI 48107‐7365


Unified Solution Group LLC
550 Cleveland Ave, Ste 101
Chambersburg, PA 17201


Unifirst Corp
P.O. Box 584
Newell, NC 28126


Uniformity Of Nevada, LLC
dba Uniforms of Las Vegas
1471 Sgate Dr
Gardnerville, NV 89410‐5702


Union 1St Presbyterian Church
Moraine Trails Council 500
P.O. Box 217
Cowansville, PA 16218


Union Arp Church
Palmetto Council 549
3594 Lancaster Hwy
Richburg, SC 29729


Union Baptist Church
Colonial Virginia Council 595
9254 Guinea Rd
Hayes, VA 23072


Union Baptist Church
Norwela Council 215
P.O. Box 60
9740 Hwy 175
Belmont, LA 71406


Union Baptist Church
Occoneechee 421
904 N Roxboro St
Durham, NC 27701


Union Baptist Church
Old Hickory Council 427
1200 N Trade St
Winston Salem, NC 27101


Union Center Utd Methodist Church
Baden‐Powell Council 368
128 Maple Dr
Endicott, NY 13760


Union Chapel Mb Church
Greater Alabama Council 001
315 Winchester Rd Ne
Huntsville, AL 35811


Union Chapel Utd Methodist Church
Northeast Georgia Council 101
2625 Pannell Rd
Monroe, GA 30655


Union Church In Waban
Mayflower Council 251
14 Collins Rd
Waban, MA 02468


Union Church Neffs
Minsi Trails Council 502
P.O. Box 66
5550 Route 873
Neffs, PA 18065


Union Church Of Hinsdale
Pathway To Adventure 456
137 S Garfield St
Hinsdale, IL 60521


Union City Police Dept
Last Frontier Council 480
101 N Elm
Union City, OK 73090


Union City Police Dept
San Francisco Bay Area Council 028
34009 Alvarado Niles Rd
Union City, CA 94587


Union City Presbyterian Church
French Creek Council 532
37 W High St
Union City, PA 16438


Union City Rotary Club
Southern Shores Fsc 783
1737 10 1/2 Mile Rd
Union City, MI 49094


Union City Utd Methodist Church
Atlanta Area Council 092
6410 Watson St
Union City, GA 30291


Union Colony Prep School
Longs Peak Council 062
2000 Clubhouse Dr
Greeley, CO 80634
Union Congregational
Seneca Waterways 397, Route 14A
Hall, NY 14463


Union Congregational Church
Central Florida Council 083
302 N Saint Clair Abrams Ave
Tavares, FL 32778


Union Congregational Church
Daniel Webster Council, Bsa 330
80 Main St
Union, NH 03887


Union Congregational Church
Greater Tampa Bay Area 089
106 N Butler Ave
Avon Park, FL 33825


Union Congregational Church
Mayflower Council 251
105 Pleasant St
East Bridgewater, MA 02333


Union Congregational Church
Mayflower Council 251
55 Rhoades Ave
East Walpole, MA 02032


Union Congregational Church
Northern New Jersey Council, Bsa 333
176 Cooper Ave
Montclair, NJ 07043


Union Congregational Church
Northern New Jersey Council, Bsa 333
176 Cooper Ave
Upper Montclair, NJ 07043


Union Congregational Church
The Spirit of Adventure 227
148 Haverhill St
North Reading, MA 01864


Union Congregational Church Of Oakville
Connecticut Rivers Council, Bsa 066
167 Buckingham St
Oakville, CT 06779


Union Congregational Ucc
Gulf Stream Council 085
5088 Summit Blvd
West Palm Beach, FL 33415


Union County Dept Of Tax Collections
P.O. Box 38
Monroe, NC 28111‐0038


Union County Sheriff Office
Central N Carolina Council 416
3344 Presson Rd
Monroe, NC 28112


Union County Sheriff S Dept
Great Smoky Mountain Council 557
901 Main St
Maynardville, TN 37807


Union County Shriners Club
Great Smoky Mountain Council 557
P.O. Box 303
Maynardville, TN 37807


Union Deposit Utd Methodist Church
New Birth of Freedom 544
34 W Main St
Hershey, PA 17033


Union Elementary PTO
Crossroads of America 160
8707 W US Hwy 36
Modoc, IN 47358
Union Ems
Central N Carolina Council 416
P.O. Box 633
Monroe, NC 28111


Union Evangelical
Mayflower Council 251
25 Dutcher St
Hopedale, MA 01747


Union Evangelical Church
National Capital Area Council 082
Paseo De La Reforma 870
Mexico City,
Mexico


Union For Reform Judiasm
633 3rd Ave, 7th Fl
New York, NY 10017


Union Grove Amish Church
Old Hickory Council 427
3070 Mullis Rd
Hamptonville, NC 27020


Union Grove Kiwanis
Three Harbors Council 636
1133 Pheasant Run
Union Grove, WI 53182


Union Grove Lions Club
Three Harbors Council 636
330 S 84th St
Milwaukee, WI 53214


Union Grove Utd Methodist Church
Occoneechee 421
6407 Union Grove Church Rd
Hillsborough, NC 27278
Union Grove Utd Methodist Church
Piedmont Council 420
P.O. Box 55
Union Grove, NC 28689


Union Hill Presbyterian Church
Patriots Path Council 358
427 Franklin Rd
Denville, NJ 07834


Union Hill Primitive Baptist Church
Greater Alabama Council 001
2115 Winchester Rd Nw
Huntsville, AL 35810


Union Hill Utd Methodist Church
Atlanta Area Council 092
2000 A J Land Rd
Canton, GA 30115


Union Hill Volunteer Firemens Assoc
Ambulance
Seneca Waterways 397
P.O. Box 112
Union Hill, Ny 14563


Union Hospital
Del Mar Va 081
106 Bow St
Elkton, MD 21921


Union League Of Philadelphia
140 S Broad St
Philadelphia, PA 19102‐3083


Union Lions Club
Greater St Louis Area Council 312
204 River Rock Dr
Union, MO 63084


Union Lutheran Church
Central N Carolina Council 416
4770 Bringle Ferry Rd
Salisbury, NC 28146


Union Missionary Baptist Church
Crossroads of America 160
100 N Macedonia Ave
Muncie, IN 47303


Union Of Concerned Scientists
Two Brattle Square
Cambridge, MA 02238‐9105


Union Parish
Attn Sales Tax Dept
P.O. Box 545
Farmersville, LA 71241‐0545


Union Park Elementary School
1600 N Dean Rd
Orlando, FL 32825‐5599


Union Presbyterian Church
Bay‐Lakes Council 635
P.O. Box 217
De Tour Village, MI 49725


Union Presbyterian Church
Dan Beard Council, Bsa 438
10259 US Hwy 42
Union, KY 41091


Union Presbyterian Church
Garden State Council 690
254 Shell Rd
Carneys Point, NJ 08069


Union Presbyterian Church
Greater Wyoming Council 638
329 N Bent St
Powell, WY 82435
Union Rotary Club
Greater St Louis Area Council 312
1401 W Springfield Ave
Union Fire Station 1
Union, MO 63084


Union Springs Elem Parent Teacher
Longhouse Council 373
255 Wheat St
Organization
Cayuga, NY 13034


Union Stingers Rifle Club Lfl Program
Palmetto Council 549
1163 Lakeside Dr
Union, SC 29379


Union Temple
South Georgia Council 098
602 N Main St
Fitzgerald, GA 31750


Union Township Fire
Simon Kenton Council 441
12034 Pleasant Valley Rd
Chillicothe, OH 45601


Union University
Attn Student Financial Planning
1050 Union University Dr
Jackson, TN 38305


Union University Church
c/o Peter Finley
Five Rivers Council, Inc 375
Church St
Alfred, NY 14802


Union Utd Methodist Church
Choctaw Area Council 302
303 E Jackson Rd
Union, MS 39365
Union Utd Methodist Church
Cradle of Liberty Council 525
200 Brookline Blvd
Havertown, PA 19083


Union Utd Methodist Church
Crossroads of America 160
19090 Deshane Ave
Noblesville, IN 46060


Union Utd Methodist Church
Del Mar Va 081
301 N Main St
Federalsburg, MD 21632


Union Utd Methodist Church
Greater Alabama Council 001
4320 Hwy 32
Wilsonville, AL 35186


Union Utd Methodist Church
Indian Waters Council 553
7582 Woodrow St
Irmo, SC 29063


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Greater St Louis Area Council 312
721 E Main St
Belleville, IL 62220


Union Volunteer Emergency Squad Inc
Baden‐Powell Council 368
8 S Ave B
Endwell, NY 13760


Union Volunteer Fire Dept Inc
Connecticut Rivers Council, Bsa 066
1049 Buckley Hwy
Union, CT 06076


Unions First
1880 Greenwood Rd
Independence, OR 97351


Unionville Elementary School PTO
Hoosier Trails Council 145 145
8144 E State Rd 45
Unionville, IN 47468


Unionville Presbyterian Church
Chester County Council 539
814 Wollaston Rd
Kennett Square, PA 19348


Unionville Utd Medthodist Church
Laurel Highlands Council 527
Rd 1
Rochester, PA 15074


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1565 Egypt Pike
Chillicothe, OH 45601


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496 Remington Dr
Evanston, WY 82930


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25 Beacon St
Boston, MA 02108‐2824


Unitarian Universalist Congreg Gwinnett
Northeast Georgia Council 101
12 Bethesda Church Rd
Lawrenceville, Ga 30044


Unitarian Universalist Congreg York
New Birth Of Freedom 544
925 S George St
York, Pa 17403


Unitarian Universalist Fellowship
Bell Cnty
Longhorn Council 662
1726 Morgans Point Rd
Belton, Tx 76513


Unitarian Universalist Fellowship
Wayne Cnty
Buckeye Council 436
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Wooster, Oh 44691


Unitarian Universalist Scouters
847 Washington St
Holliston, MA 01748
Unite U Technologies
12 Pine Cone Dr
Pittsford, NY 14534


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Northeast Iowa Council 178
3450 Central Ave
Dubuque, IA 52001


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1795 Lafayette St
Janesville, WI 53546


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Mesquite, TX 75185‐0284


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Twin Valley Council Bsa 283
501 S 2nd St
Mankato, MN 56001


United Christian Church
Miami Valley Council, Bsa 444
8611 Hoke Rd
Clayton, OH 45315


United Christian Parish
National Capital Area Council 082
11508 N Shore Dr
Reston, VA 20190


United Christian Presbyterian Church
Heart of America Council 307
305 E 4th St
Lawson, MO 64062
United Church Of Big Rapids
President Gerald R Ford 781
120 S State St
Big Rapids, MI 49307


United Church Of Broomfield
Denver Area Council 061
825 Kohl St
Broomfield, CO 80020


United Church Of Chester
Connecticut Rivers Council, Bsa 066
29 W Main St
Chester, CT 06412


United Church Of Christ
Connecticut Rivers Council, Bsa 066
280 Main St N
Southbury, CT 06488


United Church Of Christ
Daniel Webster Council, Bsa 330
23 Central Sq
Keene, NH 03431


United Church Of Christ
Great Trail 433
1400 E Main St
Kent, OH 44240


United Church Of Christ
Green Mountain 592
4335 Main St
Waitsfield, VT 05673


United Church Of Christ
Lake Erie Council 440
32801 Electric Blvd
Avon Lake, OH 44012


United Church Of Christ
Lake Erie Council 440
P.O. Box 212
Conneaut, OH 44030


United Church Of Christ
Longhouse Council 373
215 Blackberry Rd
Liverpool, NY 13090


United Church Of Christ
Mayflower Council 251
Main St
Medfield, MA 02052


United Church Of Christ
New Birth of Freedom 544
104 E Main St
Hummelstown, PA 17036


United Church Of Christ
Northern Star Council 250
206 Locust St N
Prescott, WI 54021


United Church Of Christ
Pennsylvania Dutch Council 524
2723 Willow St Pike N
Willow St, PA 17584


United Church Of Christ
Rocky Mountain Council 063
P.O. Box 610
Buena Vista, CO 81211


United Church Of Christ
Seneca Waterways 397
8758 Main St
Honeoye, NY 14471


United Church Of Christ ‐ Canal Fulton
Buckeye Council 436
8101 Manchester Ave Nw
Canal Fulton, OH 44614


United Church Of Christ ‐ Vermillion
Sioux Council 733
226 E Main St
Vermillion, SD 57069


United Church Of Christ Cong
Lake Erie Council 440
P.O. Box 228
Vermilion, OH 44089


United Church Of Christ Congregation
Glaciers Edge Council 620
123 E Washington St
Delavan, WI 53115


United Church Of Christ Congregational
Great Trail 433
217 E Liberty St
Medina, OH 44256


United Church Of Christ Congregational
Seneca Waterways 397
570 Klem Rd
Webster, NY 14580


United Church Of Christ Congregational
The Spirit of Adventure 227
6 Lexington St
Burlington, MA 01803


United Church Of Christ East Goshen
Chester County Council 539
1201 N Chester Rd
West Chester, PA 19380


United Church Of Christ In North Hampton
Daniel Webster Council, Bsa 330
295 Atlantic Ave
North Hampton, NH 03862
United Church Of Christ Parker Hilltop
Denver Area Council 061
10926 Democrat Rd
Parker, CO 80134


United Church Of Cornish
Daniel Webster Council, Bsa 330
P.O. Box 40
Cornish Flat, NH 03746


United Church Of Crawfordsville
Mississippi Valley Council 141 141
P.O. Box 95
Crawfordsville, IA 52621


United Church Of Fairfax
Green Mountain 592
10 School St
Fairfax, VT 05454


United Church Of Geneva
Lake Erie Council 440
75 S Broadway
Geneva, OH 44041


United Church Of Hinesburg
Green Mountain 592
P.O. Box 39
Hinesburg, VT 05461


United Church Of Hinesburg
Green Mountain 592
Rt 116
Hinesburg, VT 05461


United Church Of Hyde Park
Pathway To Adventure 456
1448 E 53rd St
Chicago, IL 60615


United Church Of Milton
Green Mountain 592
P.O. Box 107
51 Main St
Milton, VT 05468


United Church Of Monmouth
Pine Tree Council 218
772 Main St
Monmouth, ME 04259


United Church Of Oxford
Baden‐Powell Council 368
P.O. Box 566
Oxford, NY 13830


United Church Of Penacook
Daniel Webster Council, Bsa 330
21 Merrimack St
Penacook, NH 03303


United Church Of Rockville Centre
Theodore Roosevelt Council 386
430 Morris Ave
Rockville Centre, NY 11570


United Church Of South Vienna
Tecumseh 439
227 E Main St
P.O. Box 526
South Vienna, OH 45369


United Church Of South Vienna
Tecumseh 439
P.O. Box 526
131 E Main St
South Vienna, OH 45369


United Church Of Underhill
Green Mountain 592
P.O. Box 265
Underhill, VT 05489
United Churches Of Durham
Connecticut Rivers Council, Bsa 066
228 Main St
Durham, CT 06422


United Communities
Garden State Council 690
3700A Cir Dr
Joint Base MDl, NJ 08641


United Community Church Of God
Laurel Highlands Council 527
124 3rd St
Confluence, PA 15424


United Community Methodist Church
Montana Council 315
413 2nd St S
Shelby, MT 59474


United Congregational Church
Connecticut Rivers Council, Bsa 066
1622 Torringford St
Torrington, CT 06790


United Congregational Church
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45 Tolland Grn
Tolland, CT 06084


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United Dr Martin Luther Lutheran Church
Elca
Capitol Area Council 564
P.O. Box 26
1103 N Ave B
Shiner, Tx 77984


United Faith Presbyterian Church
Anthony Wayne Area 157
1616 W Main St
Fort Wayne, IN 46808


United First Methodist Chur
Black Warrior Council 006
1800 3rd Ave S
Jasper, AL 35501


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Point, TX 75472


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454 W Mockingbird Ln
Dallas, TX 75247‐6614


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22703 Network Pl
Chicago, IL 60673‐1227


United Healthcare
P.O. Box 13698
Newark, NJ 07188‐0698


United Healthcare Services, Inc
185 Asylum St
Hartford, CT 06103‐3408


United In Christ Lutheran/St Peter Ucc
Susquehanna Council 533
P.O. Box 95
West Milton, PA 17886


United In Faith Lutheran Church
Pathway To Adventure 456
6525 W Irving Park Rd
Chicago, IL 60634


United Lubavatcher Yeshiva Of Ocean Pk
Greater New York Councils, Bsa 640
841 Ocean Pkwy
Brooklyn, NY 11230


United Lutheran Church
Bay‐Lakes Council 635
Superior Ave
Crystal Falls, MI 49920


United Lutheran Church
Pacific Harbors Council, Bsa 612
1231 S 76th St
Tacoma, WA 98408


United Lutheran Church
Susquehanna Council 533
167 Seven Points Rd
Sunbury, PA 17801


United Lutheran Church Of Proctor
Voyageurs Area 286
701 3rd Ave
Proctor, MN 55810


United Maxxon Inc
104 Exchange Pl
Pomona, CA 91768


United Meth Church
Overland Trails 322
424 E 4th St
Imperial, NE 69033
United Methodist ‐ Shawano
Bay‐Lakes Council 635
1000 Engel Dr
Shawano, WI 54166


United Methodist Church
Abraham Lincoln Council 144
200 S Walnut St
Taylorville, IL 62568


United Methodist Church
Allegheny Highlands Council 382
10 N Main St
Portville, NY 14770


United Methodist Church
Allegheny Highlands Council 382
P.O. Box Q
Mount Jewett, PA 16740


United Methodist Church
Anthony Wayne Area 157
750 N Main St
Churubusco, IN 46723


United Methodist Church
Anthony Wayne Area 157
P.O. Box 386
South Whitley, IN 46787


United Methodist Church
Attn David Lucas
Pony Express Council 311
502 Cherry St
Maysville, MO 64469


United Methodist Church
Blackhawk Area 660
1065 Lancaster St
Platteville, WI 53818


United Methodist Church
Blackhawk Area 660
200 W Lincolnway
Morrison, IL 61270


United Methodist Church
Blackhawk Area 660
2227 4th St
Monroe, WI 53566


United Methodist Church
Blackhawk Area 660
P.O. Box 217
Poplar Grove, IL 61065


United Methodist Church
Blackhawk Area 660
P.O. Box 80
507 Main St
Steward, IL 60553


United Methodist Church
Blue Mountain Council 604
1919 2nd St
Baker City, OR 97814


United Methodist Church
Buckskin 617
202 3rd St E
South Point, OH 45680


United Methodist Church
Bucktail Council 509
306 S Spruce St
Emporium, PA 15834


United Methodist Church
Bucktail Council 509
P.O. Box 304
Big Run, PA 15715


United Methodist Church
c/o David Crow
Mid Iowa Council 177
916 5th Ave
Grinnell, IA 50112


United Methodist Church
California Inland Empire Council 045
15150 La Paz Dr
Victorville, CA 92395


United Methodist Church
California Inland Empire Council 045
35177 Beech Ave
Yucaipa, CA 92399


United Methodist Church
Cape Cod and Islands Cncl 224
3200 State Hwy
Eastham, MA 02642


United Methodist Church
Cape Cod and Islands Cncl 224
40 Trinity Park
Oak Bluffs, MA 02568


United Methodist Church
Chippewa Valley Council 637
2709 Bongey Dr
Menomonie, WI 54751


United Methodist Church
Circle Ten Council 571
800 S 9th St
Midlothian, TX 76065


United Methodist Church
Connecticut Rivers Council, Bsa 066
305 Main St
Watertown, CT 06795


United Methodist Church
Connecticut Yankee Council Bsa 072
92 Church Hill Rd
Sandy Hook, CT 06482


United Methodist Church
Cornhusker Council 324
220 W Pine St
Rising City, NE 68658


United Methodist Church
Cornhusker Council 324
605 E St
Fairbury, NE 68352


United Methodist Church
Cornhusker Council 324
610 2nd St
Milford, NE 68405


United Methodist Church
Crossroads of America 160
128 N Market St
Rockville, IN 47872


United Methodist Church
Daniel Webster Council, Bsa 330
34 S Main St
Rochester, NH 03867


United Methodist Church
Daniel Webster Council, Bsa 330
P.O. Box 304
Hillsboro, NH 03244


United Methodist Church
Del Mar Va 081
107 N Central Ave
Ridgely, MD 21660


United Methodist Church
Five Rivers Council, Inc 375
36 Main St
Wellsboro, PA 16901
United Methodist Church
French Creek Council 532
113 High St
Edinboro, PA 16412


United Methodist Church
Gamehaven 299
212 Saint Anthony St N
Preston, MN 55965


United Methodist Church
Gamehaven 299
507 1st Ave Nw
Byron, MN 55920


United Methodist Church
Gateway Area 624
204 Riverview Dr
Elroy, WI 53929


United Methodist Church
Gateway Area 624
614 Suszycki Dr
Mauston, WI 53948


United Methodist Church
Glaciers Edge Council 620
525 Lincoln Ave
Stoughton, WI 53589


United Methodist Church
Glaciers Edge Council 620
912 Geneva St
Lake Geneva, WI 53147


United Methodist Church
Golden Empire Council 047
209 N Jefferson St
Dixon, CA 95620


United Methodist Church
Golden Empire Council 047
9849 Fair Oaks Blvd
Fair Oaks, CA 95628


United Methodist Church
Great Swest Council 412
P.O. Box 300
Pagosa Springs, CO 81147


United Methodist Church
Greater Los Angeles Area 033
26438 Crenshaw Blvd
Rolling Hills, CA 90274


United Methodist Church
Greater Los Angeles Area 033
3205 D St
La Verne, CA 91750


United Methodist Church
Greater St Louis Area Council 312
1220 W Main St
Mount Zion, IL 62549


United Methodist Church
Greater St Louis Area Council 312
214 N Cedar St
Stewardson, IL 62463


United Methodist Church
Greater Tampa Bay Area 089
1210 W Del Webb Blvd
Sun City Center, FL 33573


United Methodist Church
Greater Yosemite Council 059
1041 Poplar St
Oakdale, CA 95361


United Methodist Church
Greater Yosemite Council 059
P.O. Box 129
Hughson, CA 95326


United Methodist Church
Greater Yosemite Council 059
P.O. Box 248
Mariposa, CA 95338


United Methodist Church
Hawkeye Area Council 172
823 Summit St
Center Point, IA 52213


United Methodist Church
Inland Nwest Council 611
337 College
Orofino, ID 83544


United Methodist Church
Inland Nwest Council 611
P.O. Box 147
Colfax, WA 99111


United Methodist Church
Inland Nwest Council 611
S Mill   Canyon
Colfax, WA 99111


United Methodist Church
Iroquois Trail Council 376
11004 W Center St Ext
Medina, NY 14103


United Methodist Church
Iroquois Trail Council 376
P.O. Box 483
Lyndonville, NY 14098


United Methodist Church
Jayhawk Area Council 197
207 S 6th St
Burlington, KS 66839
United Methodist Church
Jayhawk Area Council 197
300 E Main St
Meriden, KS 66512


United Methodist Church
Juniata Valley Council 497
P.O. Box K
Mill Creek, PA 17060


United Methodist Church
Leatherstocking 400
P.O. Box 254
Esperance, NY 12066


United Methodist Church
Longhouse Council 373
34 Grove St
Gouverneur, NY 13642


United Methodist Church
Longhouse Council 373
8510 S St Rd
Port Byron, NY 13140


United Methodist Church
Longhouse Council 373
Co Rt 12
Central Square, NY 13036


United Methodist Church
Miami Valley Council, Bsa 444
120 N Maple St
Eaton, OH 45320


United Methodist Church
Miami Valley Council, Bsa 444
8 W Main St
Tipp City, OH 45371


United Methodist Church
Mid‐America Council 326
506 8th Ave
Sheldon, IA 51201


United Methodist Church
Mid‐America Council 326
509 Lincolnway St
Woodbine, IA 51579


United Methodist Church
Mississippi Valley Council 141 141
745 Bainbridge St
Barry, IL 62312


United Methodist Church
Monmouth Council, Bsa 347
47 N Main St
Milltown, NJ 08850


United Methodist Church
Montana Council 315
512 W Broadway St
Lewistown, MT 59457


United Methodist Church
Moraine Trails Council 500
Franklin   Maple St
Slippery Rock, PA 16057


United Methodist Church
Northeast Georgia Council 101
P.O. Box 85
Blue Ridge, GA 30513


United Methodist Church
Oregon Trail Council 697
48137 E 1st St
Oakridge, OR 97463


United Methodist Church
Overland Trails 322
1000 S 3rd Ave
Broken Bow, NE 68822


United Methodist Church
Overland Trails 322
1302 M St
Franklin, NE 68939


United Methodist Church
Overland Trails 322
1600 W E St
North Platte, NE 69101


United Methodist Church
Overland Trails 322
207 A St
P.O. Box 310
Shelton, NE 68876


United Methodist Church
Overland Trails 322
304 7th St
Alma, NE 68920


United Methodist Church
Overland Trails 322
340 N Newell Ave
Minden, NE 68959


United Methodist Church
Overland Trails 322
448 N Kansas St
Superior, NE 68978


United Methodist Church
Overland Trails 322
4500 Linden Dr
Kearney, NE 68847


United Methodist Church
Overland Trails 322
500 Warren Ave
Grant, NE 69140
United Methodist Church
Ozark Trails Council 306
330 W Maple St
Columbus, KS 66725


United Methodist Church
Ozark Trails Council 306
500 S College St
Nevada, MO 64772


United Methodist Church
Ozark Trails Council 306
P.O. Box 7
Aurora, MO 65605


United Methodist Church
Pacific Harbors Council, Bsa 612
100 E 2nd St
Aberdeen, WA 98520


United Methodist Church
Patriots Path Council 358
22 Church St
Bernardsville, NJ 07924


United Methodist Church
Patriots Path Council 358
91 Main St
Succasunna, NJ 07876


United Methodist Church
Pine Tree Council 218
238 Harold L Dow Hwy
Eliot, ME 03903


United Methodist Church
Pony Express Council 311
1414 Walnut St
Chillicothe, MO 64601
United Methodist Church
Pony Express Council 311
301 W Broadway St
Plattsburg, MO 64477


United Methodist Church
Pony Express Council 311
508 N Park St
Stanberry, MO 64489


United Methodist Church
Prairielands 117
P.O. Box 1
Tolono, IL 61880


United Methodist Church
President Gerald R Ford 781
111 Church St
Middleville, MI 49333


United Methodist Church
President Gerald R Ford 781
409 Trowbridge St
Allegan, MI 49010


United Methodist Church
President Gerald R Ford 781
701 E Div St
Cadillac, MI 49601


United Methodist Church
Quivira Council, Bsa 198
103 S 4th St
P.O. Box 550
Towanda, KS 67144


United Methodist Church
Quivira Council, Bsa 198
137 N Broadway Ave
Sterling, KS 67579


United Methodist Church
San Diego Imperial Council 049
312 S 8th St
El Centro, CA 92243


United Methodist Church
Seneca Waterways 397
1 E Main St
Clifton Springs, NY 14432


United Methodist Church
Seneca Waterways 397
3671 Walworth Rd
Walworth, NY 14568


United Methodist Church
Seneca Waterways 397
Dresden United Methodist Church
58 Cornelia St
Dresden, NY 14441


United Methodist Church
Simon Kenton Council 441
36 S Center St
West Jefferson, OH 43162


United Methodist Church
Southern Shores Fsc 783
1245 W Maple Ave
Adrian, MI 49221


United Methodist Church
Southern Shores Fsc 783
258 Green St
Springport, MI 49284


United Methodist Church
Southwest Florida Council 088
14036 Matanzas Dr
Fort Myers, FL 33905


United Methodist Church
Theodore Roosevelt Council 386
35 Middleneck Rd
Port Washington, NY 11050


United Methodist Church
Trapper Trails 589
163 W 4800 S
Washington Terrace, UT 84405


United Methodist Church
Trapper Trails 589
P.O. Box 704
910 Sage Ave
Kemmerer, WY 83101


United Methodist Church
Twin Valley Council Bsa 283
119 E 2nd St
Fairmont, MN 56031


United Methodist Church
Ventura County Council 057
1049 S Wlake Blvd
Westlake Village, CA 91361


United Methodist Church
W D Boyce 138
112 W Main St
Wyanet, IL 61379


United Methodist Church
W D Boyce 138
701 S Columbia St
Dwight, IL 60420


United Methodist Church
W D Boyce 138
P.O. Box 147
Sheridan, IL 60551


United Methodist Church
W.L.A.C.C. 051
26640 Bouquet Canyon Rd
Saugus, CA 91350


United Methodist Church
Westark Area Council 016
195 Huntsville Rd
Eureka Springs, AR 72632


United Methodist Church
Westark Area Council 016
400 Eureka Ave
Berryville, AR 72616


United Methodist Church
Winnebago Council, Bsa 173
301 Hansen Blvd
West Union, IA 52175


United Methodist Church
Winnebago Council, Bsa 173
305 S Clark St
Forest City, IA 50436


United Methodist Church
Winnebago Council, Bsa 173
P.O. Box 484
Hampton, IA 50441


United Methodist Church      Federated
Mid‐America Council 326
2710 14th St
Columbus, NE 68601


United Methodist Church   Kiwanis Club
Water and Woods Council 782
2490 W State Rd
West Branch, MI 48661


United Methodist Church      Knights Of
Utah National Parks 591
10 N 200 E
Price, UT 84501
United Methodist Church   Tawas Kiwanis
Water and Woods Council 782
20 E M‐55
Tawas City, MI 48763


United Methodist Church ‐ Beach City
Buckeye Council 436
P.O. Box 336
Beach City, OH 44608


United Methodist Church ‐ Clinton
Last Frontier Council 480
1001 Frisco Ave
Clinton, OK 73601


United Methodist Church ‐ Elk City
Last Frontier Council 480
720 W Country Club Blvd
Elk City, OK 73644


United Methodist Church ‐ Erie
Longs Peak Council 062
604 Holbrook St
Erie, CO 80516


United Methodist Church ‐ Fort Morgan
Longs Peak Council 062
117 E Bijou Ave
Fort Morgan, CO 80701


United Methodist Church ‐ Mens Club
Bay‐Lakes Council 635
856 Michigan St
Sturgeon Bay, WI 54235


United Methodist Church ‐ Mequon
Bay‐Lakes Council 635
11011 N Oriole Ln
Mequon, WI 53092


United Methodist Church ‐ Methodist Men
South Texas Council 577
111 N Adams St
Alice, TX 78332


United Methodist Church ‐ Remington
Sagamore Council 162
121 S Ohio St
Remington, IN 47977


United Methodist Church ‐ Selah
Grand Columbia Council 614
1061 Selah Loop Rd
Selah, WA 98942


United Methodist Church ‐ Suamico
Bay‐Lakes Council 635
3266 Lakeview Dr
Suamico, WI 54173


United Methodist Church Admin Board
Mississippi Valley Council 141 141
3rd and Knox
Oquawka, IL 61469


United Methodist Church Bear Creek Umc
Sam Houston Area Council 576
16000 Rippling Water Dr
Houston, TX 77084


United Methodist Church Berthoud
Longs Peak Council 062
820 9th St
Berthoud, CO 80513


United Methodist Church Bushnell
Illowa Council 133
390 N Crafford St
Bushnell, IL 61422


United Methodist Church Central City
Lincoln Heritage Council 205
200 E Broad St
Central City, KY 42330


United Methodist Church Chelan
Grand Columbia Council 614
P.O. Box 1236
Chelan, WA 98816


United Methodist Church Dike
Winnebago Council, Bsa 173
439 Church St
Dike, IA 50624


United Methodist Church Frankston
East Texas Area Council 585
P.O. Box 355
Frankston, TX 75763


United Methodist Church Good Fellowship
Pine Tree Council 218
P.O. Box 447
Naples, ME 04055


United Methodist Church Hawesville
Lincoln Heritage Council 205
P.O. Box 365
Hawesville, KY 42348


United Methodist Church In Stow
Great Trail 433
4880 Fishcreek Rd
Stow, OH 44224


United Methodist Church Liberty
Hudson Valley Council 374
170 N Main St
Liberty, NY 12754


United Methodist Church Magnolia
Sam Houston Area Council 576
419 Commerce St
Magnolia, TX 77355
United Methodist Church Men S Club
Alliance, Longs Peak Council 062
704 Box Butte Ave
507 Sweetwater Ave
Alliance, Ne 69301


United Methodist Church Men S Club
Andrew Jackson Council 303
P.O. Box 68
Forest, MS 39074


United Methodist Church Men S Club
Last Frontier Council 480
P.O. Box 397
Prague, OK 74864


United Methodist Church Men S Club
President Gerald R Ford 781
1804 E Mitchell Rd
Petoskey, MI 49770


United Methodist Church Mens Club
Heart of America Council 307
209 S Silver St
Paola, KS 66071


United Methodist Church Mens Club
Snake River Council 111
805 Main St
Gooding, ID 83330


United Methodist Church Murphysboro
Greater St Louis Area Council 312
1500 Pine St
Murphysboro, IL 62966


United Methodist Church Northridge
W.L.A.C.C. 051
9650 Reseda Blvd
Northridge, CA 91324
United Methodist Church Of 29 Palms
California Inland Empire Council 045
6250 Mesquite Springs Rd
Twentynine Palms, CA 92277


United Methodist Church Of Anacortes
Mount Baker Council, Bsa 606
2200 H Ave
Anacortes, WA 98221


United Methodist Church Of Andover
Lake Erie Council 440
P.O. Box 207
Andover, OH 44003


United Methodist Church Of Anna
Greater St Louis Area Council 312
111 W Monroe St
Anna, IL 62906


United Methodist Church Of Atwater
Greater Yosemite Council 059
1763 Augusta Ln
Atwater, CA 95301


United Methodist Church Of Auburn
Pine Tree Council 218
439 Park Ave
Auburn, ME 04210


United Methodist Church Of Belle Plaine
Quivira Council, Bsa 198
124 E 10th Ave
Belle Plaine, KS 67013


United Methodist Church Of Berea
Lake Erie Council 440
170 Seminary St
Berea, OH 44017


United Methodist Church Of Berthoud
Longs Peak Council 062
820 9th St
Berthoud, CO 80513


United Methodist Church Of Caddo Mills
Circle Ten Council 571
2500 1st St
Caddo Mills, TX 75135


United Methodist Church Of Canfield
Great Trail 433
27 S Broad St
Canfield, OH 44406


United Methodist Church Of Chagrin Falls
Lake Erie Council 440
20 S Franklin St
Chagrin Falls, OH 44022


United Methodist Church Of Charleston
Greater St Louis Area Council 312
1700 E Marshall St
Charleston, MO 63834


United Methodist Church Of Cheney
Quivira Council, Bsa 198
406 W 3rd Ave
Cheney, KS 67025


United Methodist Church Of Cheney
Quivira Council, Bsa 198
P.O. Box 237
Cheney, KS 67025


United Methodist Church Of Christ
Quivira Council, Bsa 198
103 S 4th St
Towanda, KS 67144


United Methodist Church Of Clearwater
Quivira Council, Bsa 198
130 N 1st St
P.O. Box 157
Clearwater, KS 67026


United Methodist Church Of Clinton
Connecticut Rivers Council, Bsa 066
10 Commerce St
Clinton, CT 06413


United Methodist Church Of Clinton
Connecticut Rivers Council, Bsa 066
12 Commerce St
Clinton, CT 06413


United Methodist Church Of Cochranton
French Creek Council 532
114 E Adams St
Cochranton, PA 16314


United Methodist Church Of Cucamonga
California Inland Empire Council 045
7690 Archibald Ave
Rancho Cucamonga, CA 91730


United Methodist Church Of Delta
Black Swamp Area Council 449
101 Nwood Dr
Delta, OH 43515


United Methodist Church Of Ebensburg
Laurel Highlands Council 527
100 E Highland Ave
Ebensburg, PA 15931


United Methodist Church Of Farmington
W D Boyce 138
187 W Fulton St
Farmington, IL 61531


United Methodist Church Of Fayetteville
Longhouse Council 373
601 E Genesee St
Fayetteville, NY 13066
United Methodist Church Of Fayetteville
Longhouse Council 373
P.O. Box 158
601 E Genesee St
Fayetteville, NY 13066


United Methodist Church Of Gales Ferry
Connecticut Rivers Council, Bsa 066
10 Chapman Ln
Gales Ferry, CT 06335


United Methodist Church Of Glidden
Mid‐America Council 326
110 E US Hwy 30
P.O. Box 449
Glidden, IA 51443


United Methodist Church Of Hibbing
Voyageurs Area 286
303 E 23rd St
Hibbing, MN 55746


United Methodist Church Of Hugoton Ks
Santa Fe Trail Council 194
828 S Main St
Hugoton, KS 67951


United Methodist Church Of Hyde Park
Hudson Valley Council 374
1 Church St
Hyde Park, NY 12538


United Methodist Church Of Kent
Great Trail 433
1435 E Main St
P.O. Box 646
Kent, OH 44240


United Methodist Church Of Lander
Greater Wyoming Council 638
262 N 3rd St
Lander, WY 82520
United Methodist Church Of Lemars
Mid‐America Council 326
901 3rd Ave Se
Le Mars, IA 51031


United Methodist Church Of Libertyville
Northeast Illinois 129
429 Brainerd Ave
Libertyville, IL 60048


United Methodist Church Of Lindsay
Last Frontier Council 480
P.O. Box 184
114 W Chickasaw St
Lindsay, OK 73052


United Methodist Church Of Los Altos
Pacific Skyline Council 031
655 Magdalena Ave
Los Altos Hills, CA 94024


United Methodist Church Of Lowry City
Heart of America Council 307
First and Main
Lowry City, MO 64763


United Methodist Church Of Ludington
President Gerald R Ford 781
5810 Bryant Rd
Ludington, MI 49431


United Methodist Church Of Macedonia
Lake Erie Council 440
1280 E Aurora Rd
Macedonia, OH 44056


United Methodist Church Of Madera
Sequoia Council 027
500 Sunset Ave
Madera, CA 93637
United Methodist Church Of Manton
President Gerald R Ford 781
102 N Michigan Ave
Manton, MI 49663


United Methodist Church Of Mims
Central Florida Council 083
3302 Green St
Mims, FL 32754


United Methodist Church Of Neosho
Ozark Trails Council 306
P.O. Box 509
Neosho, MO 64850


United Methodist Church Of New Canaan
Connecticut Yankee Council Bsa 072
165 S Ave
New Canaan, CT 06840


United Methodist Church Of New Lenox
Rainbow Council 702
P.O. Box 856
New Lenox, IL 60451


United Methodist Church Of Nichols Hills
Last Frontier Council 480
1212 Bedford Dr
Nichols Hills, OK 73116


United Methodist Church Of Niota
Great Smoky Mountain Council 557
P.O. Box 190
Niota, TN 37826


United Methodist Church Of North Ontario
Seneca Waterways 397
7200 Ontario Center Rd
Ontario, NY 14519


United Methodist Church Of Novato
Marin Council 035
1473 S Novato Blvd
Novato, CA 94947


United Methodist Church Of Oak Harbor
Erie Shores Council 460
360 E Ottawa St
Oak Harbor, OH 43449


United Methodist Church Of Old Town
Katahdin Area Council 216
629 Stillwater Ave
Old Town, ME 04468


United Methodist Church Of Palm Springs
California Inland Empire Council 045
P.O. Box 2007
Palm Springs, CA 92263


United Methodist Church Of Palmdale
W.L.A.C.C. 051
39055 10th St W
Palmdale, CA 93551


United Methodist Church Of Piedmont
Greater St Louis Area Council 312
Hwy 34 E
Piedmont, MO 63957


United Methodist Church Of Pine Island
Southwest Florida Council 088
5701 Pine Island Rd Nw
Bokeelia, FL 33922


United Methodist Church Of Preemption
Illowa Council 133
2652 170th Ave
Preemption, IL 61276


United Methodist Church Of Queensbury
Twin Rivers Council 364
460 Aviation Rd
Queensbury, NY 12804


United Methodist Church Of Randle
Pacific Harbors Council, Bsa 612
P.O. Box 457
Randle, WA 98377


United Methodist Church Of Ridgecrest
Southern Sierra Council 030
639 N Norma St
Ridgecrest, CA 93555


United Methodist Church Of Riverton
Greater Wyoming Council 638
1116 W Park Ave
Riverton, WY 82501


United Methodist Church Of Saint Francis
Coronado Area Council 192
P.O. Box 805
Saint Francis, KS 67756


United Methodist Church Of Saint Thomas
New Birth of Freedom 544
P.O. Box 248
360 Saint Thomas Edenville Rd
Saint Thomas, PA 17252


United Methodist Church Of Savage
Baltimore Area Council 220
9050 Baltimore St
Savage, MD 20763


United Methodist Church Of Sea Isle City
Garden State Council 690
4102 Central Ave
Sea Isle City, NJ 08243


United Methodist Church Of Sedgwickville
Greater St Louis Area Council 312
1 Main St
Sedgwickville, MO 63781
United Methodist Church Of Shrub Oak
Westchester Putnam 388
1176 E Main St
Shrub Oak, NY 10588


United Methodist Church Of Southampton
Suffolk County Council Inc 404
160 Main St
Southampton, NY 11968


United Methodist Church Of Springdale
Connecticut Yankee Council Bsa 072
1116 Hope St
Stamford, CT 06907


United Methodist Church Of Strong
Pine Tree Council 218
P.O. Box 16
Strong, ME 04983


United Methodist Church Of Succasunna
Patriots Path Council 358
91 Main St
Succasunna, NJ 07876


United Methodist Church Of Sumner
Pacific Harbors Council, Bsa 612
901 Wood Ave
Sumner, WA 98390


United Methodist Church Of The Servant
Last Frontier Council 480
14343 N Macarthur Blvd
Oklahoma City, OK 73142


United Methodist Church Of Tonganoxie
Heart of America Council 307
328 E 4th St
Tonganoxie, KS 66086
United Methodist Church Of Vero Beach
Gulf Stream Council 085
1750 20th St
Vero Beach, FL 32960


United Methodist Church Of Villa Grove
Prairielands 117
302 2nd St
Villa Grove, IL 61956


United Methodist Church Of Vista
San Diego Imperial Council 049
490 S Melrose Dr
Vista, CA 92081


United Methodist Church Of Waterman
Three Fires Council 127
P.O. Box 296
210 W Garfield St
Waterman, IL 60556


United Methodist Church Of Waverly
Middle Tennessee Council 560
115 W Main St
P.O. Box 247
Waverly, TN 37185


United Methodist Church Of Wellsville
Heart of America Council 307
302 Locust
Wellsville, KS 66092


United Methodist Church Of West Hartford
Connecticut Rivers Council, Bsa 066
1358 New Britain Ave
West Hartford, CT 06110


United Methodist Church Of West Point
Heart of Virginia Council 602
P.O. Box 736
West Point, VA 23181
United Methodist Church Of Westbury
Theodore Roosevelt Council 386
265 Asbury Ave
Westbury, NY 11590


United Methodist Church Of Westfield
Five Rivers Council, Inc 375
158 Church St
Westfield, PA 16950


United Methodist Church Of Westford
The Spirit of Adventure 227
P.O. Box 231
6 Church St
Westford, MA 01886


United Methodist Church Prosser
Grand Columbia Council 614
824 6th St
Prosser, WA 99350


United Methodist Church Redwater
Caddo Area Council 584
126 Church St
Redwater, TX 75573


United Methodist Church Yucca Valley
California Inland Empire Council 045
57273 Onaga Trl
P.O. Box 1468
Yucca Valley, CA 92284


United Methodist Church/Rancho Cordova
Golden Empire Council 047
2101 Zinfandel Dr
Rancho Cordova, CA 95670


United Methodist Church‐Administrative
Blackhawk Area 660
1065 Lancaster St
Platteville, WI 53818
United Methodist Church‐Beverly Hills
Great Lakes Fsc 272
20000 W 13 Mile Rd
Beverly Hills, MI 48025


United Methodist Church‐West Bloomfield
Great Lakes Fsc 272
4100 Walnut Lake Rd
West Bloomfield, MI 48323


United Methodist Community House
President Gerald R Ford 781
801 Oakland Ave Sw
Grand Rapids, MI 49503


United Methodist Lovers Lane Mens Club
Circle Ten Council 571
9200 Inwood Rd
Dallas, TX 75220


United Methodist Men
Bay‐Lakes Council 635
325 E Franklin St
Appleton, WI 54911


United Methodist Men
Church Of The Foothills
Greater Los Angeles Area 033
1014 Highland Ave
Duarte, Ca 91010


United Methodist Men
Cornhusker Council 324
1023 1st Ave
Nebraska City, NE 68410


United Methodist Men
Coronado Area Council 192
12th   Sherman
Goodland, KS 67735


United Methodist Men
Coronado Area Council 192
P.O. Box 92
Quinter, KS 67752


United Methodist Men
Crater Lake Council 491
607 W Main
Medford, OR 97504


United Methodist Men
First United Methodist Ch Of Dunnellon
North Florida Council 087
21501 W Hwy 40
Dunnellon, FL 34431


United Methodist Men
Greater Alabama Council 001
1105 S Broad St
Scottsboro, AL 35768


United Methodist Men
Greater Yosemite Council 059
1660 Arbor Way
Turlock, CA 95380


United Methodist Men
Heart of America Council 307
141 E Gay St
Warrensburg, MO 64093


United Methodist Men
Longhorn Council 662
Elm St
Hillsboro, TX 76645


United Methodist Men
Mid Iowa Council 177
106 W S St
Richland, IA 52585


United Methodist Men
Mid‐America Council 326
211 E 3rd St
Storm Lake, IA 50588


United Methodist Men
Montana Council 315
216 College St
Stevensville, MT 59870


United Methodist Men
Overland Trails 322
2601 18th Ave
Central City, NE 68826


United Methodist Men
Overland Trails 322
4190 W Capital Ave
Grand Island, NE 68803


United Methodist Men
Ozark Trails Council 306
1600 N Central Ave
Monett, MO 65708


United Methodist Men
P.O. Box 860
Nashville, TN 97202‐0860


United Methodist Men
Pushmataha Area Council 691
First United Methodist Church
Aberdeen, MS 39730


United Methodist Men
Three Rivers Council 578
501 N Main St
Vidor, TX 77662


United Methodist Men
W D Boyce 138
1023 N 6th St
Chillicothe, IL 61523
United Methodist Men
Winnebago Council, Bsa 173
508 2nd Ave N
Clear Lake, IA 50428


United Methodist Men Church Of The Dune
President Gerald R Ford 781
717 Sheldon Rd
Grand Haven, MI 49417


United Methodist Men Club
Coastal Georgia Council 099
195 Wilmington Island Rd
Savannah, GA 31410


United Methodist Men Colville Umc
Inland Nwest Council 611
930 S Elm St
Colville, WA 99114


United Methodist Men First Umc Sealy
Sam Houston Area Council 576
200 Atchison St
Sealy, TX 77474


United Methodist Men Of
Christ United Methodist Church
Gulf Coast Council 773
5983 Dogwood Dr
Milton, Fl 32570


United Methodist Men Of
Trinity United Methodist Church
Laurel Highlands Council 527
530 Center Church Rd
Mcmurray, Pa 15317


United Methodist Men Of Brentwood
Mt Diablo‐Silverado Council 023
809 2nd St
Brentwood, CA 94513
United Methodist Men Of Fayette
Great Rivers Council 653
409 N Church St
Fayette, MO 65248


United Methodist Men Of Northville
Twin Rivers Council 364
P.O. Box 476
Northville, NY 12134


United Methodist Men Of Ocala West Umc
North Florida Council 087
9330 SW 105th St
Ocala, FL 34481


United Methodist Men Of Thomasville
Suwannee River Area Council 664
P.O. Box 975
Thomasville, GA 31799


United Methodist Men Of Trinity Church
Minsi Trails Council 502
213 Main St
Hackettstown, NJ 07840


United Methodist Men S Club
Chief Seattle Council 609
18515 92nd Ave Ne
Bothell, WA 98011


United Methodist Men S Club
Montana Council 315
300 E Front St
Missoula, MT 59804


United Methodist Men S Group
Overland Trails 322
2601 18th Ave
Central City, NE 68826


United Methodist Men Silver City
Yucca Council 573
300 College Ave
Silver City, NM 88061


United Methodist Men St Luke Methodist
Pee Dee Area Council 552
302 Dunlap Dr
Hartsville, SC 29550


United Methodist Men Trinity Umc
Sam Houston Area Council 576
2600 Holman St
Houston, TX 77004


United Methodist Men Umc Cave Spring
Northwest Georgia Council 100
P.O. Box 305
Cave Spring, GA 30124


United Methodist Mens
South Georgia Council 098
307 Flint Ave
Albany, GA 31701


United Methodist Mens Club
Colonial Virginia Council 595
1 Salt Pond Rd
Hampton, VA 23664


United Methodist Mens Club
Illowa Council 133
P.O. Box 187
New Boston, IL 61272


United Methodist Mens Club
Katahdin Area Council 216
726 Stillwater Ave
Old Town, ME 04468


United Methodist Mens Club
Longhouse Council 373
Church St
Moravia, NY 13118


United Methodist Mens Club
Pathway To Adventure 456
123 N Plum Grove Rd
Palatine, IL 60067


United Methodist Mens Club
Rainbow Council 702
339 W Haven Ave
New Lenox, IL 60451


United Methodist Mens Club
South Texas Council 577
P.O. Box 688
Ingleside, TX 78362


United Methodist Mens Club
Three Fires Council 127
37W040 Highland Ave
Elgin, IL 60124


United Methodist Mens Club
W D Boyce 138
1023 N 6th St
Chillicothe, IL 61523


United Methodist Mens Club Heber Springs
Quapaw Area Council 018
1099 W Pine St
Heber Springs, AR 72543


United Methodist Mens Club White Plains
Occoneechee 421
313 SE Maynard Rd
Cary, NC 27511


United Methodist Mens Group
Montana Council 315
121 S Willson Ave
Bozeman, MT 59715
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Northeast Georgia Council 101
Lavonia United Methodist Church
Lavonia, GA 30553


United Methodist Mens Org
Three Rivers Council 578
501 N Main St
Vidor, TX 77662


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395 S Main St
Russellville, KY 42276


United Methodist Temple
Three Rivers Council 578
4101 Hwy 73
Port Arthur, TX 77642


United Methodistchurch In Huntington
Coldspringharbor
Suffolk County Council Inc 404
180 W Neck Rd
Huntington, Ny 11743


United Migrant Opportunity Services
Bay‐Lakes Council 635
3475 Omro Rd
Oshkosh, WI 54904
United Ministry Church Of Delhi
Leatherstocking 400
46 Church St
Delhi, NY 13753


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2400 Washington St
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5905 Stonewall St
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Blairsville, PA 15717


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111 N W St
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525 E Front St
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Santa Fe Trail Council 194
1719 E Texas St
Garden City, KS 67846


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Voyageurs Area 286
229 N 28th St
Superior, WI 54880


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Crossroads of America 160
P.O. Box 206
Clinton, IN 47842


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Longs Peak Council 062
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310 S Wyoming St
Guernsey, WY 82214


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Washington Crossing Council 777
12 Yardville Hamilton Squ Rd
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Patriots Path Council 358
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730 Border Patrol Ln
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St Louis, MO 63197‐9000


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Washington, DC 20530‐0001


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Ft Worth, TX 76102‐6897
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500 Pearl St, Ste 400
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Internal Revenue Service
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Stop 5000Ausc
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P.O. Box 192
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Rockville, MD 20852


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Northern New Jersey Council, Bsa 333
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Snake River Council 111
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Burley, ID 83318


Unity 2Nd Ward ‐ Burley Stake
Snake River Council 111
250 S 250 E
Burley, ID 83318


Unity 3Rd Ward ‐ Burley Stake
Snake River Council 111
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Evansville, IN 47732


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1800 Lincoln Ave
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Northern Star Council 250
713 S Cedar St
Monticello, MN 55362


Ust Brand
P.O. Box 95000‐1007
Philadelphia, PA 19195‐1107


U‐Store‐It 0737
1201 N Hwy 377
Roanoke, TX 76262
Ut Battelle
Great Smoky Mountain Council 557
1 Bethel Valley Rd
Oak Ridge, TN 37830


Ut Dallas Accounts Receivable
800 W Campbell Rd, Sp2 27
Richardson, TX 75080


Ut Pan American
1201 W University Dr
Edinburg, TX 78539


Ut Southwestern Medical Ctr
Circle Ten Council 571
5323 Harry Hines Blvd
Dallas, TX 75390


Utah Correctional Industries
P.O. Box 850
Draper, UT 84020


Utah Dept Of Commerce
160 E 300 S
Salt Lake City, UT 84114‐6704


Utah Dept Of Commerce
Consumer Litigation Section
900 E Main St
Richmond, VA 23219


Utah Dept Workforce Services
Ui Collections Unit
P.O. Box 45288
Salt Lake City, UT 84145‐0288


Utah Gang Investigators Assn
Great Salt Lake Council 590
1898 W Bridgecrest Cir
Salt Lake City, UT 84116
Utah Heritage Hwy 89 Alliance
Utah National Parks 591
P.O. Box 344
Richfield, UT 84701


Utah National Parks
748 N 1340 W
Orem, UT 84057


Utah National Parks Cncl 591
748 N 1340 W
Orem, UT 84057


Utah Property Management Assoc LLC
P.O. Box 112130
Salt Lake City, UT 84147‐2130


Utah State Attorneys General
State Capitol, Rm. 236
Salt Lake City, UT 84114‐2320


Utah State Bar
Licensing Dept
645 S 200 E
Salt Lake City, UT 84111‐3834


Utah State Treasurer
Unclaimed Property ‐ Holder Reports
P.O. Box 142321
Salt Lake City, UT 84114‐2321


Utah State Treasurer S Office
Unclaimed Property Div
168 N 1950 W
P.O. Box 140530
Salt Lake City, UT 84116


Utah State Univ ‐ Eastern
Attn Scholarship Dir
451 E 400 N
Price, UT 84501


Utah State University
Attn Scholarships Office
1800 Old Main Hill, Tsc 106
Logan, UT 84322‐1800


Utah Valley University
Attn Bursars Office
800 W University Pkwy
Orem, UT 84058


Utd Food   Commercial Workers Local 1625
Greater Tampa Bay Area 089
705 E Orange St
Lakeland, Fl 33801


Utd Methodist Ch Aldersgate Scouts
Pine Burr Area Council 304
27 Honors Ln
Hattiesburg, Ms 39402


Utd Methodist Ch Bonner Spgs
Heart Of America Council 307
425 W Morse Ave
Bonner Springs, Ks 66012


Utd Methodist Ch Marthas Vineyard
Cape Cod And Islands Cncl 224
P.O. Box 2480
40 Trinity Park
Oak Bluffs, Ma 02557


Utd Methodist Ch, Good Shepherd
Last Frontier Council 480
10928 Sw 15Th St
Yukon, Ok 73099


Utd Methodist Men Renton 1st Utd
Chief Seattle Council 609
2201 Ne 4Th St
Renton, Wa 98056
Utd Methodist Men‐Utd Methodist Ch
Twin Rivers Council 364
127 Beekman St
Plattsburgh, Ny 12901


Utd Metropolitan Missionary Baptist Ch
Old Hickory Council 427
450 Metropolitan Dr
Winston Salem, Nc 27101


Ute Meadows Elementary PTA
Denver Area Council 061
11050 W Meadows Dr
Littleton, CO 80127


Ute Park Home Owners Assoc
P.O. Box 86
Ute Park, NM 87749


Utica Church Of Christ
Simon Kenton Council 441
115 Central Ave N
Utica, OH 43080


Utica College
1600 Burrstone Rd
117 Hubbard Hall
Utica, NY 13502


Utica Community Scouts
Andrew Jackson Council 303
1529 Cayuga Rd
Utica, MS 39175


Utica Elementary
Lincoln Heritage Council 205
210 Maplehurst Dr
Jeffersonville, IN 47130


Utica Shelby Township Kiwanis
Great Lakes Fsc 272
43421 Garfield Rd, Ste 200
Clinton Township, MI 48038


Utica Utd Methodist Church
Great Lakes Fsc 272
8650 Canal Rd
Sterling Heights, MI 48314


Utica Utd Methodist Church
Simon Kenton Council 441
626 N St
Utica, OH 43080


Utility Marketing Concepts, Inc
P.O. Box 5186
Fort Wayne, IN 46895


Utility Supply Of Amer Dba Usa Bluebook
P.O. Box 9004
Gurnee, IL 60031‐9004


Uvalde Baptist Church
Sam Houston Area Council 576
901 Uvalde Rd
Houston, TX 77015


Uvalde Kiwanis Club
Texas Swest Council 741
117 Studer St
Uvalde, TX 78801


Uvieja G Leighton Phd
Address Redacted


Uvieja Leighton
Address Redacted


Uw Eau Claire Hmong Student Assoc
Chippewa Valley Council 637
220 Davies Center
Eau Claire, WI 54701


Uwchlan Ambulance Corps
Chester County Council 539
70 W Welsh Pool Rd
Exton, PA 19341


Uwchlan Hills Elem Sch‐Home    Sch Assn
Chester County Council 539
50 Peck Rd
Downingtown, Pa 19335


Uwec Alpha Phi Omega
Chippewa Valley Council 637
105 Garfield Ave
Alpha Phi Omega, 220 Davies Center
Eau Claire, WI 54701


Uwec Blugold Beginnings
Chippewa Valley Council 637
131 Garfield Ave
Brewer Hall 271
Eau Claire, WI 54701


Uw‐Madison
333 E Campus Mall 10501
Madison, WI 53715


Uw‐Superior Career Services
Swenson Hall, 1061 Belknap    Catlin
P.O. Box 2000
Superior, WI 54880


Uzzi Amphibious Gear LLC
205 Ansin Blvd
Hallandale, FL 33009


Uzzi Amphibious Gear LLC
c/o Milberg Factors Inc
99 Park Ave
New York, NY 10016
V Bowers
Address Redacted


V F W Auxiliary Post 6007 ‐ Plainfield
c/o Bernadette Sherman
Bay‐Lakes Council 635
327 S E St
Plainfield, WI 54966


V F W Post 10125
Golden Empire Council 047
P.O. Box 898
Rancho Cordova, CA 95741


V F W Post 1230 ‐ Wolf Olson ‐ Sheboygan
Bay‐Lakes Council 635
1138 Union Ave
Sheboygan, WI 53081


V F W Post 1393 ‐ West Bend
Bay‐Lakes Council 635
255 E Washington St
West Bend, WI 53095


V F W Post 152
Narragansett 546
P.O. Box 351
North Kingstown, RI 02852


V F W Post 2010
Longhorn Council 662
P.O. Box 916
Cameron, TX 76520


V F W Post 2778 ‐ Appleton
Bay‐Lakes Council 635
501 N Richmond St
Appleton, WI 54911


V F W Post 3153 ‐ Chilton
Bay‐Lakes Council 635
Calumet County
Post 3153
Chilton, WI 53014


V F W Post 3358 ‐ Zunker/Held ‐ Slinger
Bay‐Lakes Council 635
201 Kettle Moraine Dr S
Slinger, WI 53086


V F W Post 3368
Westmoreland Fayette 512
416 W Main St
Mount Pleasant, PA 15666


V F W Post 4117
Northeast Iowa Council 178
105 Allamakee St
Waukon, IA 52172


V F W Post 6007
Bay‐Lakes Council 635
410 S E St
Plainfield, WI 54966


V F W Post 6705 ‐ Denmark
Bay‐Lakes Council 635
P.O. Box 482
Denmark, WI 54208


V F W Post 7692 ‐ Freedom
Bay‐Lakes Council 635
N3920 State Hwy 55
Freedom, WI 54130


V S G Video
11126 Lindbergh Business Ct
St Louis, MO 63123


V.I. Employment Security Agency
P.O. Box 303159
St. Thomas, VI 00803
Va Ave Methodist Church
Buckskin 617
1900 Virginia Ave
Bluefield, VA 24605


Va Polytechnic Inst   State Univ
Student Services Bldg, Ste 200
800 Washington St Sw
Blacksburg, VA 24061


Va Romo Vfw Post 3165
Bay‐Lakes Council 635
P.O. Box 111
Negaunee, MI 49866


Vacaville Community Presbyterian Church
Golden Empire Council 047
425 Hemlock St
Vacaville, CA 95688


Vacaville Sunrise Rotary
Golden Empire Council 047
560 Main St
Vacaville, CA 95688


Vachagan Gasparyants
Dba Charlotte Concrete Resurfacing
4071 Hiddenbrook Dr
Charlotte, NC 28205


Vadnais Heights Lions Club
Northern Star Council 250
800 County Rd E E
Vadnais Heights, MN 55127


Vaibhav Vinukonda
Address Redacted


Vail Baptist Church
Denver Area Council 061
P.O. Box 2676
Edwards, CO 81632


Vail Fire And Emergency Services
Denver Area Council 061
2399 N Frontage Rd W
Vail, CO 81657


Vail School District ‐ Stem Labs
Catalina Council 011
13801 E Benson Hwy
Vail, AZ 85641


Vail Ward ‐ LDS South Stake
Catalina Council 011
1655 S Melpomene Way
Tucson, AZ 85748


Vails Gate Fire Co
Hudson Valley Council 374
P.O. Box 101
874 Blooming Grove Turnpike


Val Jennings
Address Redacted


Val Verde School Police Dept
California Inland Empire Council 045
975 Morgan St
Perris, CA 92571


Val Vista Academy
Grand Canyon Council 010
4120 S Val Vista Dr
Gilbert, AZ 85297


Vala Allen
Address Redacted


Valcom Motor Sports Of Trinidad
13840 Hwy 350
Trinidad, CO 81082
Valdese First Utd Methodist Church
Piedmont Council 420
P.O. Box 637
Valdese, NC 28690


Valdosta State University
Financial Aid Office
1500 N Patterson St
Valdosta, GA 31698‐0167


Vale Utd Methodist Church
National Capital Area Council 082
11444 Norwegian Mill Ct
Oakton, VA 22124


Vale Utd Methodist Church
National Capital Area Council 082
11528 Vale Rd
Oakton, VA 22124


Valencia College
Attn Financial Aid Office
West Campus 1800, S Kirkman Rd
Orlando, FL 32811


Valencia Ward ‐ LDS South Stake
Catalina Council 011
105 N Norton Ave
Tucson, AZ 85719


Valencia Way
North Florida Council 087
5150 Hollycrest Dr
Jacksonville, FL 32205


Valenia Merton
Address Redacted


Valentine Utd Methodist
Overland Trails 322
804 E 5th St
Valentine, NE 69201


Valerie Acosta
Address Redacted


Valerie Ann De Jesus
Address Redacted


Valerie Gregg
Address Redacted


Valerie Herr
Address Redacted


Valerie Kutz
Address Redacted


Valerie Marks
Address Redacted


Valerie Mendoza
Address Redacted


Valerie Nicole Eaton
Address Redacted


Valerie Noe
Address Redacted


Valerie Perez
Address Redacted


Valerie Ridgers
Address Redacted


Valerie Robinson
Address Redacted
Valerie S Mccarn
Address Redacted


Valerie Schoeller
Address Redacted


Valerie Seitz
Address Redacted


Valerie Villanueba
Address Redacted


Valero Energy Flight Dept
Alamo Area Council 583
1000 Skyplace Blvd
San Antonio, TX 78216


Valery Rivera Figueroa
Address Redacted


Valhalla Parents Faculty Assoc
Mt Diablo‐Silverado Council 023
530 Kiki Dr
Pleasant Hill, CA 94523


Valle Lutheran Church
Northern Lights Council 429
P.O. Box 66
Rolette, ND 58366


Valle Vidal Grazing Assoc
P.O. Box 1001
Angel Fire, NM 87710


Vallejo Fire Dept
Mt Diablo‐Silverado Council 023
1220 Marin St
Vallejo, CA 94590
Vallejo Suburban Kiwanis
Mt Diablo‐Silverado Council 023
186 Allison Ct
Vallejo, CA 94589


Valley Bank Of Helena
c/o Jolene Giarde
Montana Council 315
P.O. Box 5269
Helena, MT 59604


Valley Bible Evangelical Free Church
Connecticut Rivers Council, Bsa 066
220 Turkey Hill Rd
Haddam, CT 06438


Valley Builders, LLC
Crater Lake Council 491
1121 Sierra Vista St
Central Point, OR 97502


Valley Care Health System
San Francisco Bay Area Council 028
1111 E Stanley Blvd
Livermore, CA 94550


Valley Catholic Elementary School
Cascade Pacific Council 492
4420 SW St Marys Dr
Beaverton, OR 97078


Valley Chapel Utd Methodist Church
Mountaineer Area 615
1511 Pleasant Valley Rd
Rd


Valley Christian Church
Northern Lights Council 429
611 37th Ave S
Moorhead, MN 56560
Valley Christian Reformed Church
Baden‐Powell Council 368
1452 River Rd
Binghamton, NY 13901


Valley Christian School
Inland Nwest Council 611
10212 E 9th Ave
Spokane Valley, WA 99206


Valley Church
Mid Iowa Council 177
4343 Fuller Rd
West Des Moines, IA 50265


Valley Church
President Gerald R Ford 781
5980 Lake Michigan Dr
Allendale, MI 49401


Valley City Fire Dept
Great Trail 433
6700 Center Rd
Valley City, OH 44280


Valley Community Church
Rocky Mountain Council 063
4253 Mercantile St
P.O. Box 20407
Colorado City, CO 81019


Valley Community Utd Presby Church
Cascade Pacific Council 492
8060 SW Brentwood St
Portland, OR 97225


Valley Crest Preserve Inc
Washington Crossing Council 777
14 Allerton Rd
Lebanon, NJ 08833


Valley Ctr Fire Protection District
San Diego Imperial Council 049
28234 Lilac Rd
Valley Center, CA 92082


Valley Ctr Optimist
San Diego Imperial Council 049
13300 Blueberry Hill Ln
Valley Center, CA 92082


Valley Ctr Optimist Club
San Diego Imperial Council 049
P.O. Box 556
13300 Blueberry Hill Ln
Valley Center, CA 92082


Valley Ctr Utd Methodist Church
Quivira Council, Bsa 198
560 N Park Ave
Valley Center, KS 67147


Valley Elementary School PTO
Washington Crossing Council 777
3100 Donallen Dr
Bensalem, PA 19020


Valley Falls Rotary Club
Jayhawk Area Council 197
P.O. Box 188
Valley Falls, KS 66088


Valley Falls Volunteer Fire Co
Twin Rivers Council 364
9 Charles St
Valley Falls, NY 12185


Valley Forge Military Academy
Cradle of Liberty Council 525
1001 Eagle Rd
Wayne, PA 19087


Valley Forge Scout Shop ‐ Opc
1485 Valley Forge Rd
Wayne, PA 19087


Valley Forge Security Center
Linroki Service Inc
117 Town Center Rd
King of Prussia, PA 19406


Valley Forge Volunteer Fire Co
Chester County Council 539
P.O. Box 62
630 Valley Park Rd
Valley Forge, PA 19481


Valley Gardens Inc
P.O. Box 5569
Charleston, WV 25361


Valley Guns Ii
Shenandoah Area Council 598
998 Arden Nollville Rd
Inwood, WV 25428


Valley Hanaro Church
W.L.A.C.C. 051
8131 Tampa Ave
Reseda, CA 91335


Valley Hope Ctr
Lincoln Heritage Council 205
10801 Deering Rd
Louisville, KY 40272


Valley Lake
Northern Lights Council 429
P.O. Box 411
Breckenridge, MN 56520


Valley Lodge 145 F   Am
Muskingum Valley Council, Bsa 467
4360 N Church Rd Nw
Malta, OH 43758
Valley Lodge 95, Ioof
Quivira Council, Bsa 198
2023 Forrest
P.O. Box 718


Valley Loop Services Inc
Tecumseh 439
2301 Valley Loop Rd
Springfield, OH 45504


Valley Methodist Mens Club
Inland Nwest Council 611
Main   Raymond
Spokane, WA 99206


Valley Mills Christian Church
Crossroads of America 160
5555 Kentucky Ave
Indianapolis, IN 46221


Valley Of Peace Lutheran Church
Northern Star Council 250
4735 Bassett Creek Dr D
Golden Valley, MN 55422


Valley Of The Moon Lions Club
Redwood Empire Council 041
P.O. Box 1737
Sonoma, CA 95476


Valley Office Systems
2050 1st St
Idaho Falls, ID 83401


Valley Park Middle PTO
Greater St Louis Area Council 312
1 Main St
Valley Park, MO 63088


Valley Park PTA
Heart of America Council 307
12301 Lamar Ave
Overland Park, KS 66209


Valley Presbyterian Church
Grand Canyon Council 010
6947 E Mcdonald Dr
Paradise Valley, AZ 85253


Valley Road School PTA
Patriots Path Council 358
Valley Rd
Clark, NJ 07066


Valley School PTO
Tecumseh 439
3601 Jonathon Dr
Beavercreek, OH 45434


Valley Sportsman Club Of Oliver
Westmoreland Fayette 512
3 Oliver Hts
Uniontown, PA 15401


Valley Traditional High School
Lincoln Heritage Council 205
10200 Dixie Hwy
Louisville, KY 40272


Valley Utd Methodist Church
French Creek Council 532
P.O. Box 304
1118 Main St


Valley Utd Methodist Church
Mid Iowa Council 177
4201 Ashworth Rd
West Des Moines, IA 50265


Valley Utd Methodist Church
Simon Kenton Council 441
1123 Hogan St
Portsmouth, OH 45662
Valley Vet Supply
1118 Pony Express Hwy
Marysville, KS 66508


Valley Veterans Assoc
Laurel Highlands Council 527
108 E Beaver St
Sewickley, PA 15143


Valley View Elementary Parent Council
Southern Shores Fsc 783
960 Ave A
Springfield, MI 49037


Valley View Evangelical Church
Cascade Pacific Council 492
11501 SE Sunnyside Rd
Clackamas, OR 97015


Valley View Leadership Adventure Club
Lake Erie Council 440
17200 Valleyview Ave
Cleveland, OH 44135


Valley View Rotary
Gateway Area 624
P.O. Box 545
La Crosse, WI 54602


Valley View Utd Methodist Church
Great Smoky Mountain Council 557
815 Old Edgemoor Ln
Clinton, TN 37716


Valley View Utd Methodist Church
Heart of America Council 307
8412 W 95th St
Shawnee Mission, KS 66212


Valniteco
California Inland Empire Council 045
7000 W Florida Ave
Hemet, CA 92545


Valor Hospitality Holdings LLC
330 Innovation Dr, Ste 206
Memphis, TN 38152


Valor Hospitality Holdings LLC
dba Holiday Inn Univ of Memphis
3700 Central Ave
Memphis, TN 38152


Valorie Ashburn
Address Redacted


Valuemags
212 W Superior St, Ste 202
Chicago, IL 60654‐5812


Valutec
113 Seaboard Ln, Ste A‐200
Franklin, TN 37067‐4830


Valverde Elementary
Denver Area Council 061
2030 W Alameda Ave
Denver, CO 80223


Valwood School
South Georgia Council 098
4380 US Hwy 41 N
Hahira, GA 31632


Van Andel S, Inc
210 W 7th St
Hanford, CA 93230‐4524


Van Anderson
Address Redacted
Van Asselt Community Ctr
Chief Seattle Council 609
2820 S Myrtle St
Seattle, WA 98108


Van Avery Prep
California Inland Empire Council 045
29851 Santiago Rd
Temecula, CA 92592


Van Buren Utd Methodist Church
Black Swamp Area Council 449
201 S Main St
Van Buren, OH 45889


Van C Lucas
Address Redacted


Van Dyke S Restorers
P.O. Box 52
Louisiana, MO 63353


Van Gennep‐Media Automation Consulting
Burgemeester Stramanweg 105
Burg Stramanweg 105
Amsterdam, 1101 Aa
Netherlands


Van Holton School PTO
Patriots Path Council 358
Van Holten Rd
Bridgewater, NJ 08807


Van Horne Lions Club
Hawkeye Area Council 172
104 Elm St
Van Horne, IA 52346


Van Lucero
Address Redacted
Van Meter American Legion
Mid Iowa Council 177
910 Main St
Van Meter, IA 50261


Van Meter American Legion Post 403
Mid Iowa Council 177
214 Van Buren Dr
Van Meter, IA 50261


Van Methodist Church
Buckskin 617
4944 Main Hewett Creek Rd
Hewett, WV 25108


Van Nuys Airport Optimist Club
W.L.A.C.C. 051
30535 Hasley Canyon Rd
Castaic, CA 91384


Van S Welding   Maintenance Service Inc
P.O. Box 419
Mechanicsville, VA 23111


Van Sciver Parent Teacher Assoc
Garden State Council 690
625 Rhoads Ave
Haddonfield, NJ 08033


Van Utd Methodist Church
Circle Ten Council 571
P.O. Box 1919
Van, TX 75790


Van Utd Methodist Church
Circle Ten Council 571
P.O. Box 1919
326 W Main St


Van Wert County Sheriffs Dept
Black Swamp Area Council 449
113 N Market St
Van Wert, OH 45891


Van Wert Fire Dept
Black Swamp Area Council 449
515 E Main St
Van Wert, OH 45891


Van Zandt‐Guinn Elementary ‐ Gifw
Longhorn Council 662
501 Missouri Ave
Fort Worth, TX 76104


Van Zanten   Onik, LLC.
Attn Hans H Van Zanten, Thomas R Onik
re Plaintiff
1100 Main St, Ste 1645
Kansas City, MO 64105


Vance Hein
Address Redacted


Vance High School
Mecklenburg County Council 415
7600 Ibm Dr
Charlotte, NC 28262


Vance Lackey
Address Redacted


Vance Matzke
Address Redacted


Vance Memorial Presbyterian
Ohio River Valley Council 619
905 National Rd
Wheeling, WV 26003


Vance Whittington
Address Redacted
Vanceboro Rotary Club
East Carolina Council 426
General Delivery
Vanceboro, NC 28586


Vanceboro Utd Methodist Church
East Carolina Council 426
General Delivery
637 Farm Life Ave


Vanceburg Utd Methodist Church
Blue Grass Council 204
104 Front St
Vanceburg, KY 41179


Vancleave Mt Pleasant Utd Methodist Ch
Pine Burr Area Council 304
P.O. Box 5141
Vancleave, Ms 39565


Vancleave Utd Methodist Church
Pine Burr Area Council 304
P.O. Box 5141
Vancleave, MS 39565


Vancouver 1st Ch God‐Mens Ministry
Cascade Pacific Council 492
3300 Ne 78Th St
Vancouver, Wa 98665


Vandalia Bronze LLC
100 Rotan St
Fayetteville, WV 25840


Vandalia Bus Lines Inc
312 W Morris St
Caseyville, IL 62232


Vandalia Bus Lines Inc
P.O. Box 400
Caseyville, IL 62232
Vandalia Div Of Police
Miami Valley Council, Bsa 444
245 James E Bohanan Memorial Dr
Vandalia, OH 45377


Vandalia Rotary Club
Miami Valley Council, Bsa 444
P.O. Box 344
Vandalia, OH 45377


Vande Walles Candies Inc
400 Mall Dr
Appleton, WI 54913


Vanden Bos   Chapman LLP
319 SW Washington St, 520
Portland, OR 97204‐2690


Vanden Kane Rackley
Address Redacted


Vanderbilt Presbyterian Church
Southwest Florida Council 088
1225 Piper Blvd
Naples, FL 34110


Vanderbilt University
Office of Financial Aid      Scholarships
2309 W End Ave
Nashville, TN 37203‐1725


Vanderbilt University Medical Ctr
Middle Tennessee Council 560
1500 21st Ave S, Ste 1516
Nashville, TN 37212


Vanderburg Drafting Supply
P.O. Box 810438
Dallas, TX 75381‐0438
Vanderburg Utd Methodist Church
Piedmont Council 420
1809 Charlotte Hwy
Mooresville, NC 28115


Vanderburgh County Sheriff S Office
Buffalo Trace 156
3500 N Harlan Ave
Evansville, IN 47711


Vandergriff Elementary PTO
Westark Area Council 016
2200 Vandergriff Ln
Fayetteville, AR 72703


Vandergrift Boys Lacrosse Booster Club
Capitol Area Council 564
P.O. Box 340206
Austin, TX 78734


Vanderkamp Ctr
Longhouse Council 373
337 Martin Rd
Cleveland, NY 13042


Vanessa Ann Savoy
Address Redacted


Vanessa Batista
Address Redacted


Vanessa Corona
Address Redacted


Vanessa Figueroa‐Fuentes
Address Redacted


Vanessa Isleib
Address Redacted
Vanessa Kau
Address Redacted


Vanessa M Warren
Address Redacted


Vanessa Marie Marin
Address Redacted


Vanessa Mcdougall
Address Redacted


Vanessa Mohorne
Address Redacted


Vanessa Savoy
Address Redacted


Vanguard Charter Academy
President Gerald R Ford 781
1620 52nd St Sw
Wyoming, MI 49519


Vanguard Modular Building Systems LLC
3 Great Valley Pkwy, Ste 170
Malvern, PA 19355


Vanguard Modular Building Systems LLC
P.O. Box 827527
Philadelphia, PA 19182‐7527


Vanity Fair
P.O. Box 37713
Boone, IA 50037‐4713


Vann Ford
Address Redacted
Vannoy School Parents Club
c/o Vannoy Elementary School
San Francisco Bay Area Council 028
5100 Vannoy Ave
Castro Valley, CA 94546


Vanport Volunteer Fire Dept
Laurel Highlands Council 527
P.O. Box 161
Beaver, PA 15009


Vantage Point Church
California Inland Empire Council 045
7557 Scholar Way
Eastvale, CA 92880


Vapur, Inc
31344 Via Colinas, Ste 104
Westlake Village, CA 91362


Vargo Outdoor
1325 Walnut Hill Ln
Irving, TX 75038


Vari Sales Corp
1221 S Belt Line Rd, Ste 500
Coppell, TX 75019


Vari Sales Corp
P.O. Box 660050
Dallas, TX 75266


Varick Memorial Ame Zion Church
North Florida Council 087
7013 Blackard Rd
Jacksonville, FL 32211


Varidesk LLC
117 Wrangler Dr, Ste 100
Coppell, TX 75019
Varidesk LLC
P.O. Box 660050
Dallas, TX 75266


Varidoc
737 Regal Row
Dallas, TX 75247


Variety Boys And Girls Club Of Queens
Greater New York Councils, Bsa 640
2112 30th Rd
Long Island City, NY 11102


Varnell Utd Methodist Church
Northwest Georgia Council 100
250 Georgia Hwy 2
Varnell, GA 30756


Varsity Lakes Middle School
Southwest Florida Council 088
801 Gunnery Rd N
Lehigh Acres, FL 33971


Varteni Yerjanian
Address Redacted


Vashon Island Fire   Rescue
Chief Seattle Council 609
P.O. Box 1150
Vashon, WA 98070


Vashon Sportsman S Club
Chief Seattle Council 609
19720 Singer Rd Sw
Vashon, WA 98070


Vashti Wilson
Address Redacted


Vassalboro Utd Methodist Church
Pine Tree Council 218
614 Main St
Vassalboro, ME 04989


Vassar College
Attn Financial Aid Office
124 Raymond Ave
Poughkeepsie, NY 12604


Vaughn Charter Next Century Learning Ctr
W.L.A.C.C. 051
13330 Vaughn St
San Fernando, CA 91340


Vaughn College Of Aeronautics And Tech
Greater New York Councils, Bsa 640
8601 23rd Ave
East Elmhurst, NY 11369


Vaughn Neiley
Address Redacted


Vaughn Tidwell   O Donnell Clark
Crew Trust Acct
1650 NW Naito Pkwy, Ste 302
Portland, OR 97209


Vb Lions Club   Vb U Meth Church
Black Swamp Area Council 449
County Rd 236
Van Buren, OH 45889


Vc 214 C/O Lisa Wilson
4002 Metzerott Rd
College Park, MD 20740


Vcc
P.O. Box 2124
Las Cruces, NM 88004


Vcc Community College Football
1900 E Camp St
Ely, MN 55731


Vcu Health System
Attn Karen Hill
Heart of Virginia Council 602
P.O. Box 980066
Richmond, VA 23298


VDH ‐ Bedding
P.O. Box 2448, Rm 521
Richmond, VA 23218


Vector Security Inc
P.O. Box 89462
Cleveland, OH 44101‐6462


Veer A Div Of Corbis Corp
13159 Collections Ctr Dr
Chicago, IL 60693


Velasco Elementary School
Bay Area Council 574
401 N Gulf Blvd
Freeport, TX 77541


Velda C Howard
Address Redacted


Velda Rose Utd Methodist Church
Grand Canyon Council 010
5540 E Main St
Mesa, AZ 85205


Velda Truitt
Address Redacted


Velma D Cooks
Address Redacted


Velma Lindsay
Address Redacted


Velocity Design Group
46 N Stapley Dr
Mesa, AZ 85203‐8841


Vendor 121766
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Vendor 121969
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Vend‐Rite Mfg Co Inc
6029 W 31st St
Cicero, IL 60804


Venetian Terrace
215 Mandalay Canal
Las Colinas, TX 75039


Venia Chapel Church
Sequoyah Council 713
1094 Venia Church Rd
Honaker, VA 24260


Venice Hongwanji Buddhist Church
W.L.A.C.C. 051
12371 Braddock Dr
Culver City, CA 90230
Venice Presbyterian Church
Dan Beard Council, Bsa 438
P.O. Box 41
4244 Layhigh Rd
Ross, OH 45061


Ventana Ranch Neighborhood Assoc
Great Swest Council 412
7224 Cascada Rd Nw
Albuquerque, NM 87114


Ventana Ranch Neightborhood Assoc
Great Swest Council 412
P.O. Box 65446
Albuquerque, NM 87193


Ventiv Technology Inc
75 Remittance Dr, Dept 3294
Chicago, IL 60675‐3294


Ventura Cnty Sheriff Dept E Cnty Sta
Ventura County Council 057
2101 E Olsen Rd
Thousand Oaks, Ca 91360


Ventura Cnty Sheriff Dept‐Camarillo Sta
Ventura County Council 057
3701 Las Posas Rd
Camarillo, Ca 93010


Ventura Co Community Fndn
4001 Mission Oaks Blvd, Ste A
Camarillo, CA 93012


Ventura County
509 E Daily Dr
Camarillo, CA 93010‐5820


Ventura County Cncl 57
509 E Daily Dr
Camarillo, CA 93010
Ventura County Cncl/Dist 057 Ventura Co
509 E Daily Dr
Camarillo, CA 93010‐5820


Ventura County Council Bsa
509 E Daily Dr
Camarillo, CA 93010


Ventura County Fire Protection District
Ventura County Council 057
165 Durley Ave
Camarillo, CA 93010


Ventura County Sheriff
Santa Clara Valley
Ventura County Council 057
524 Sespe Ave
Fillmore, Ca 93015


Ventura County Sheriff Dept
Moorpark Station
Ventura County Council 057
610 Spring Rd
Moorpark, Ca 93021


Ventura County Sheriff Dept
Ventura County Council 057
800 S Victoria Ave
Ventura, CA 93009


Ventura County Sheriff Dept ‐ Ojai
Ventura County Council 057
402 S Ventura St
Ojai, CA 93023


Ventura Downtown Lions Club
Ventura County Council 057
P.O. Box 3174
Ventura, CA 93006


Ventura Elks Lodge 1430
Ventura County Council 057
2126 Knoll Dr
Ventura, CA 93003


Venture Back To Nature
Sequoyah Council 713
610 Terry Dr
Richlands, VA 24641


Venture Church
Longhorn Council 662
801 Keller Pkwy
Keller, TX 76248


Venture Crew 70
c/o Michael Herde
1 Steamboat Ln
Hingham, MA 02043


Venture Crew 820 Inc
Central Florida Council 083
2178 Mosswood Dr
Melbourne, FL 32935


Venture Graphics
1800 Preble Ave
Pittsburgh, PA 15233


Venture Richmond Inc
River District Canal Cruises
200 S 3rd St 2nd Fl
Richmond, VA 23219


Veolia Environmental Services
88005 Overseas Hwy, Ste 10‐189
Islamorada, FL 33036


Veolia Es Solid Waste Southeast Inc‐W4
P.O. Box 6484
Carol Stream, IL 60197‐6484
Ver Duins Inc
P.O. Box 658
Grand Haven, MI 49417‐0658


Vera G Scott Elementary School PTA
Pikes Peak Council 060
6175 Whetstone Dr
Colorado Springs, CO 80923


Vera Love
Address Redacted


Vera Tetherow
Address Redacted


Vera Wilkinson
Address Redacted


Verde Elementary PTA
Gulf Stream Council 085
6590 Verde Trl
Boca Raton, FL 33433


Verde Riverwalk Apartments LP
3900 Grapevine Mills Pkwy
Grapevine, TX 76051


Verde Valley Moose Lodge 1449
Grand Canyon Council 010
1051 S Broadway
Clarkdale, AZ 86324


Verdugo Hills
1325 Grandview Ave
Glendale, CA 91201‐2297


Verdugo Hills Cncl 58
1325 Grandview Ave
Glendale, CA 91201‐2297
Verginia Copen
Address Redacted


Verifone
300 S Park Pl Blvd
Clearwater, FL 33759


Verifone
P.O. Box 774060
4060 Solutions Center
Chicago, IL 60677


Verifone, Inc
88 W Plumeria Dr
San Jose, CA 95134


Verilon Products Co
452 Diens Dr
Wheeling, IL 60090


Veriship, Inc
8880 Ward Pkwy, 300
Kansas City, MO 64114


Verisign Inc
P.O. Box 841032
Dallas, TX 75284‐1032


Veristitch Inc
P.O. Box 106
Terrell, NC 28682


Veristitch, Inc
P.O. Box 1304
Hutchinson, KS 67504‐1304


Veristor Capital, LLC
4850 River Green Pkwy
Duluth, GA 30096
Veristor Systems Inc
L‐3989
Columbus, GA 43260‐3989


Verita Robinson
Address Redacted


Veritext Corporate Services Inc
P.O. Box 71303
Chicago, IL 60694‐1303


Verity Group
P.O. Box 940361
Plano, TX 75094‐0361


Verizon
P.O. Box 1
Worcester, MA 01654‐0001


Verizon
P.O. Box 1100
Albany, NY 12250‐0001


Verizon
P.O. Box 660818
Dallas, TX 75266‐0818


Verizon ‐ 4833
P.O. Box 4833
Trenton, NJ 08650‐4833


Verizon 15124
P.O. Box 15124
Albany, NY 12212‐5124


Verizon 28000
P.O. Box 28000
Lehigh Valley, PA 18002‐8000


Verizon   4836
P.O. Box 4836
Trenton, NJ 08650‐4836


Verizon 650457
P.O. Box 650457
Dallas, TX 75265‐0457


Verizon 660748
P.O. Box 660748
Dallas, TX 75266‐0748


Verizon 920041
P.O. Box 920041
Dallas, TX 75392‐0041


Verizon‐ 660720
P.O. Box 660720
Dallas, TX 75266‐0720


Verizon Business Network Services, Inc
Attn Customer Service
6415‐6455 Business Center Dr
Highlands Ranch, CO 80130


Verizon Business Services
Attn Customer Service
6415‐6455 Business Center Dr
Highlands Rance, CO 80130


Verizon Business Services
Attn Customer Service
6415‐6455 Business Center Dr
Highlands Ranch, CO 80130


Verizon Business Services
Attn VP, Legal
22001 Loudon County Pkwy
Ashburn , VA 20147


Verizon Business Services
Attn VP, Legal
22001 Loudoun County Pkwy
Ashburn, VA 20147


Verizon Business Services
Vice President, Legal
22001 Loudoun County Pkwy
Ashburn, VA 20147


Verizon North
P.O. Box 9688
Mission Hills, CA 91346‐9688


Verizon Online
P.O. Box 12045
Trenton, NJ 08650‐2045


Verizon Southwest
P.O. Box 920041
Dallas, TX 75392‐0041


Verizon Wireless
1095 Ave of the Americas
New York, NY 10013


Verizon Wireless
P.O. Box 25505
Lehigh Valley, PA 18002‐5505


Verizon Wireless
P.O. Box 660108
Dallas, TX 75266‐0108


Verizon Wireless
P.O. Box 9622
Mission Hills, CA 91346‐9622


Verizon Wireless‐ 9622
P.O. Box 9622
Mission Hills, CA 91346‐9622
Verlene Sawyers
Address Redacted


Verlyn Haahr
Address Redacted


Vermeer
436 S Hamilton Ct
Gilbert, AZ 85233


Vermejo Park Ranch
P.O. Box E
Raton, NM 87740


Vermilion Church Of The Nazarene
Lake Erie Council 440
14907 Kneisel Rd
Vermilion, OH 44089


Vermilion Community College
1900 E Camp StAttn    Anne F
Ely, MN 55731


Vermilion County Pheaasants Forever
Prairielands 117
29 Champaign
Westville, IL 61883


Vermilion Evangelical   Reformed Church
Lake Erie Council 440
752 Grand St
Vermilion, OH 44089


Vermilion Fire Dept
Lake Erie Council 440
385 Overlook Rd
Vermilion, OH 44089


Vermillion Parish School Board
Attn Sales Tax Div
Drawer 520
Abbeville, LA 70511‐0520


Vermont Dept Of Taxes
P.O. Box 547
Montpelier, VT 05601‐0547


Vermont Secretary Of State
128 State St
Montpelier, VT 05633‐1101


Vermont State Police
Green Mountain 592
96 Airport Rd
Shaftsbury, VT 05262


Vermont State Treasurer S Office
Unclaimed Property Div
109 State St 4th Fl
Montpelier, VT 05609‐6200


Vermont Timber Works, Inc
16 Fairbanks Rd
North Springfield, VT 05150‐9743


Vermontville Lions Club
Water and Woods Council 782
7160 N Ionia Rd
Vermontville, MI 49096


Verna Brock
Address Redacted


Verna Dumbolton
Address Redacted


Verna Eskridge
Address Redacted


Verna Kern
Address Redacted
Verna M Carter
Address Redacted


Verna Popp
Address Redacted


Vernard Taylor
Address Redacted


Verndale Lions Club
Central Minnesota 296
P.O. Box 135
Verndale, MN 56481


Vernell Bradley
Address Redacted


Vernell Pate
Address Redacted


Verner A Hedeen
Address Redacted


Vernetta Bethers
Address Redacted


Vernetta Theus
Address Redacted


Vernis   Bowling Of The Fl Keys
1680 NE 135th St
Miami, FL 33181


Vernon Baptist Church
Hoosier Trails Council 145 145
P.O. Box 395
Vernon, IN 47282
Vernon Computer Source
9241 Globe Ctr Dr, Unit 100
Morrisville, NC 27560


Vernon Deas
Address Redacted


Vernon Fire Dept
Potawatomi Area Council 651
W230S9175 Nevins St
Big Bend, WI 53103


Vernon Hills Police Dept
Northeast Illinois 129
754 Lakeview Pkwy
Vernon Hills, IL 60061


Vernon Joel Born
Address Redacted


Vernon Parish School Board
Attn Sales Tax Dept
117 Belview Rd
Leesville, LA 71446‐2902


Vernon Police Dept
Connecticut Rivers Council, Bsa 066
725 Hartford Tpke
Vernon Rockville, CT 06066


Vernon Twp Fire Dept Co No 1
Patriots Path Council 358
P.O. Box 461
Vernon, NJ 07462


Vernon Volunteer Fire Dept
Green Mountain 592
P.O. Box 443
Vernon, VT 05354
Vernon Volunteer Fire Services
Connecticut Rivers Council, Bsa 066
P.O. Box 54
Vernon, CT 06066


Vernon Womack
Address Redacted


Verona Utd Methodist Church
Stonewall Jackson Council 763
406 Lee Hwy
P.O. Box 47


Verona Utd Methodist Church
Stonewall Jackson Council 763
P.O. Box 47
Verona, VA 24482


Verona Volunteer Fire Dept Inc
Leatherstocking 400
1 Volunteer Ave
Verona, NY 13478


Veronica A Salazar
Address Redacted


Veronica Bramlett
Address Redacted


Veronica Burke
Address Redacted


Veronica Coyle
Address Redacted


Veronica Martinez
Address Redacted


Veronica Mendoza
Address Redacted
Veronica Porterfield
Address Redacted


Veronica R Farmer
Address Redacted


Veronica R Fye
Address Redacted


Veronique Hart‐Saxton
Address Redacted


Verrado Assembly
Grand Canyon Council 010
1495 S Verrado Way
Buckeye, AZ 85326


Versailles Kiwanis Club
Blue Grass Council 204
P.O. Box 1583
Versailles, KY 40383


Versailles Lions Club
Miami Valley Council, Bsa 444
106 S Center St
Versailles, OH 45380


Versailles Lions Club
Mississippi Valley Council 141 141
P.O. Box 242
Versailles, IL 62378


Versailles Utd Methodist Church
Blue Grass Council 204
110 N Court St
Versailles, KY 40383


Versailles Utd Methodist Church
Great Rivers Council 653
210 N Monroe St
Versailles, MO 65084


Versailles Vets Club
Miami Valley Council, Bsa 444
106 S Center St
Versailles, OH 45380


Versia Williams Elementary ‐ Gfwar
Longhorn Council 662
901 Baurline St
Fort Worth, TX 76111


Ver‐Tech Inc
P.O. Box 270107
Minneapolis, MN 55427‐0107


Vertex Inc
P.O. Box 25528
25528 Network Pl
Chicago, IL 60673‐1255


Vertex, Inc
Attn Contracts Administrator
1041 Old Cassatt Rd
Berwyn, PA 19312


Vertical Source, Inc
c/o P2B Investor
P.O. Box 173939
Denver, CO 80217‐3939


Vertie Fisher
Address Redacted


Vertiv Services Inc
610 Exec Campus Dr
Westerville, OH 43082


Vertiv Services Inc
P.O. Box 70474
Chicago, IL 60673


Verve Church
Las Vegas Area Council 328
7850 Dean Martin Dr, Ste 503
Las Vegas, NV 89139


Vesta Whitney
Address Redacted


Vestaburg Lions Club
President Gerald R Ford 781
P.O. Box 262
Vestaburg, MI 48891


Vestal Ctr Methodist Church
Baden‐Powell Council 368
478 W Hill Rd
Vestal, NY 13850


Vestal Methodist Church
Baden‐Powell Council 368
328 Main St
Vestal, NY 13850


Vestavia Hills Utd Methodist Church
Greater Alabama Council 001
2061 Kentucky Ave
Vestavia, AL 35216


Vester Studio
2120 S Rural Rd, Ste 7
Tempe, AZ 85282


Vestil Manufacturing Corp
P.O. Box 507
Angola, IN 46703‐0507


Vet Net Zero LLC
4544 Harding Pike
Nashville, TN 37220
Veteran Advocates Of Ore‐Ida
Ore‐Ida Council 106 ‐ Bsa 106
484 SW 4th Ave
Ontario, OR 97914


Veteran Foreign Wars
Silicon Valley Monterey Bay 055
649 San Benito St
Hollister, CA 95023


Veteran Foreign Wars Post 6445
Georgia‐Carolina 093
P.O. Box 175
Harlem, GA 30814


Veteran Of Foregin Wars Post 4676
Alamo Area Council 583
202 W Aviation Blvd
Universal City, TX 78148


Veteran Of Foreign Wars
Black Swamp Area Council 449
P.O. Box 974
105 Railroad St
Antwerp, OH 45813


Veteran Of Foreign Wars Post 12138
Aloha Council, Bsa 104
91‐1083 Waiemi St
Ewa Beach, HI 96706


Veteran Of Foreign Wars Post 2195
Circle Ten Council 571
P.O. Box 284
Allen, TX 75013


Veteran Of Foreign Wars Post 4437
Gulf Coast Council 773
25 S 25th St
Defuniak Springs, FL 32435
Veteran Of Foreign Wars Post 491
Washington Crossing Council 777
9 Fisher Pl
Hamilton, NJ 08620


Veteran S Of Foreign Wars Post 283
Northeastern Pennsylvania Council 501
757 Wyoming Ave
Kingston, PA 18704


Veterans Ctr Of Menomonie
Chippewa Valley Council 637
E4710 County Rd Bb
Menomonie, WI 54751


Veterans Elementary Men Of Valor
Central Georgia Council 096
4901 Faubus Ave
Macon, GA 31204


Veterans Elementary Ptc
Southern Sierra Council 030
6301 Old Farm Rd
Bakersfield, CA 93312


Veterans Foreign Wars Post 10789
Mt Diablo‐Silverado Council 023
P.O. Box 1326
Brentwood, CA 94513


Veterans Foriegn War Post 1533
Alamo Area Council 583
107 Elmhurst Ave
San Antonio, TX 78209


Veterans Helping Veterans
Great Swest Council 412
P.O. Box 4915
Gallup, NM 87305


Veterans Memorial 21St Century Program
Narragansett 546
150 Fuller Ave
Central Falls, RI 02863


Veterans Memorial Assoc Of Congers
Hudson Valley Council 374
65 Lake Rd
Congers, NY 10920


Veterans Memorial Assoc Of Congers, Inc
Hudson Valley Council 374
P.O. Box 161
65 Lake Rd
Congers, NY 10920


Veterans Memorial Post 205
Pine Tree Council 218
400 Eern Ave
Augusta, ME 04330


Veterans Of Foreign Affairs Post 1481
Trapper Trails 589
907 W 12th St
Ogden, UT 84404


Veterans Of Foreign War
Green Mountain 592
Post 9653
Pleasant St
Morrisville, VT 05661


Veterans Of Foreign War
Northern Star Council 250
705 14th St E
Glencoe, MN 55336


Veterans Of Foreign War
Northern Star Council 250
P.O. Box 330
E Hwy 12
Willmar, MN 56201
Veterans Of Foreign War
Southern Shores Fsc 783
P.O. Box 15
700 Carleton Rockwood Rd
Carleton, MI 48117


Veterans Of Foreign War Post 2571
Green Mountain 592
97 S Main St
White River Junction, VT 05001


Veterans Of Foreign War Post 3010
Golden Empire Council 047
541 5th St
Lincoln, CA 95648


Veterans Of Foreign War Post 4647
Golden Empire Council 047
3300 U St
Antelope, CA 95843


Veterans Of Foreign War Post 4992
Chief Seattle Council 609
980 Box 186
Silverdale, WA 98383


Veterans Of Foreign War Post 8577
Longhorn Council 662
1506 Veterans Ave
Copperas Cove, TX 76522


Veterans Of Foreign War Post 9399
Grand Canyon Council 010
133 N Saguaro Dr
Apache Junction, AZ 85120


Veterans Of Foreign War‐Post 2543
Mid‐America Council 326
136 S 6th St
Plattsmouth, NE 68048


Veterans Of Foreign Wars
Blue Grass Council 204
1494 Leestown Rd
Lexington, KY 40511


Veterans Of Foreign Wars
Chief Seattle Council 609
P.O. Box 13034
Burton, WA 98013


Veterans Of Foreign Wars
Far E Council 803
Psc 473 Box 129
Fpo Ap, 96349


Veterans Of Foreign Wars
Far E Council 803
Psc 704 Box 3229
Apo Ap, 96338


Veterans Of Foreign Wars
Greater Tampa Bay Area 089
2441 7th St Sw
Winter Haven, FL 33880


Veterans Of Foreign Wars
Greater Tampa Bay Area 089
9398 US Hwy 98 N
Lakeland, FL 33809


Veterans Of Foreign Wars
Inland Nwest Council 611
1104 Warner Ave
Lewiston, ID 83501


Veterans Of Foreign Wars
Longhorn Council 662
136 S Ash St
Muenster, TX 76252


Veterans Of Foreign Wars
Mid‐America Council 326
316 W Braasch Ave
Norfolk, NE 68701


Veterans Of Foreign Wars
Mid‐America Council 326
P.O. Box 152
742 N Main St
North Bend, NE 68649


Veterans Of Foreign Wars
Northeast Illinois 129
703 N US Hwy 12
Fox Lake, IL 60020


Veterans Of Foreign Wars
Northern Lights Council 429
302 4th St Se
Hillsboro, ND 58045


Veterans Of Foreign Wars
Northern Star Council 250
1919 Coon Rapids Blvd Nw
Coon Rapids, MN 55433


Veterans Of Foreign Wars
Patriots Path Council 358
66 Fox Ridge Rd
Sparta, NJ 07871


Veterans Of Foreign Wars
Winnebago Council, Bsa 173
204 E Main St
Belmond, IA 50421


Veterans Of Foreign Wars
Winnebago Council, Bsa 173
803 S Main St
Tripoli, IA 50676


Veterans Of Foreign Wars ‐ Post   2718
Theodore Roosevelt Council 386
68 Lincoln Rd
Franklin Square, NY 11010
Veterans Of Foreign Wars ‐ Post 2381
Nevada Area Council 329
1205 Main St
Susanville, CA 96130


Veterans Of Foreign Wars ‐ Post 7916
National Capital Area Council 082
204 Mill St
P.O. Box D
Occoquan, VA 22125


Veterans Of Foreign Wars ‐ Post 816
Daniel Webster Council, Bsa 330
P.O. Box 562
Littleton, NH 03561


Veterans Of Foreign Wars 1146
Great Lakes Fsc 272
28404 Jefferson Ave
Saint Clair Shores, MI 48081


Veterans Of Foreign Wars 12138
Aloha Council, Bsa 104
5787 Erne Ave A
Ewa Beach, HI 96706


Veterans Of Foreign Wars 3848
Las Vegas Area Council 328
401 W Lake Mead Pkwy
Henderson, NV 89015


Veterans Of Foreign Wars 4084
Southern Sierra Council 030
117 N Alvord St
Ridgecrest, CA 93555


Veterans Of Foreign Wars 5917
Rainbow Council 702
216 Plymouth Ln
Bolingbrook, IL 60440
Veterans Of Foreign Wars 7573
Great Lakes Fsc 272
35011 23 Mile Rd
New Baltimore, MI 48047


Veterans Of Foreign Wars 8641
Daniel Webster Council, Bsa 330
282 Daniel Webster Hwy
Merrimack, NH 03054


Veterans Of Foreign Wars Of Greencastle
Mason Dixon Council 221
408 S Washington St
Greencastle, PA 17225


Veterans Of Foreign Wars Post     4551
Northeast Illinois 129
75 N Ave
Antioch, IL 60002


Veterans Of Foreign Wars Post 1
Denver Area Council 061
P.O. Box 13170
Denver, CO 80201


Veterans Of Foreign Wars Post 10047
Las Vegas Area Council 328
4082 Paramount St
Las Vegas, NV 89115


Veterans Of Foreign Wars Post 10139
Central Florida Council 083
P.O. Box 660192
Chuluota, FL 32766


Veterans Of Foreign Wars Post 10154
Aloha Council, Bsa 104
46‐280 Heeia St
Kaneohe, HI 96744


Veterans Of Foreign Wars Post 10169
Connecticut Rivers Council, Bsa 066
P.O. Box 304
Durham, CT 06422


Veterans Of Foreign Wars Post 10210
Gulf Stream Council 085
815 Louisiana Ave
Sebastian, FL 32958


Veterans Of Foreign Wars Post 10236
Northeast Illinois 129
1526 Chapel Ct
Northbrook, IL 60062


Veterans Of Foreign Wars Post 1024
Chief Seattle Council 609
216 S Francis St
Port Angeles, WA 98362


Veterans Of Foreign Wars Post 10245
Pacific Skyline Council 031
555 Buel Ave
Pacifica, CA 94044


Veterans Of Foreign Wars Post 10254
Catalina Council 011
10111 S Sasabe Rd
Tucson, AZ 85736


Veterans Of Foreign Wars Post 10281
Lincoln Heritage Council 205
129 Pawley Ln
Rineyville, KY 40162


Veterans Of Foreign Wars Post 1046
Mayflower Council 251
283 N Quincy St
Brockton, MA 02302


Veterans Of Foreign Wars Post 10614
Transatlantic Council, Bsa 802
Unit 23152
Apo Ae, 09067


Veterans Of Foreign Wars Post 10810
Transatlantic Council, Bsa 802
Cmr 480 Box Gd
Apo Ae, 09128


Veterans Of Foreign Wars Post 1111
Hoosier Trails Council 145 145
411 S Indiana St
Mooresville, IN 46158


Veterans Of Foreign Wars Post 11173
Old Hickory Council 427
1449 Lackey Rd
Danbury, NC 27016


Veterans Of Foreign Wars Post 12061
Utah National Parks 591
244 S 400 W
Payson, UT 84651


Veterans Of Foreign Wars Post 133
Monmouth Council, Bsa 347
485 Cranbury Rd
East Brunswick, NJ 08816


Veterans Of Foreign Wars Post 1349
Tukabatchee Area Council 005
1077 S Memorial Dr
Prattville, AL 36067


Veterans Of Foreign Wars Post 1381
Crater Lake Council 491
810 H St
Crescent City, CA 95531


Veterans Of Foreign Wars Post 1384
Theodore Roosevelt Council 386
675 W Park Ave
Long Beach, NY 11561
Veterans Of Foreign Wars Post 1385
Narragansett 546
P.O. Box 204
Uxbridge, MA 01569


Veterans Of Foreign Wars Post 1487
Golden Empire Council 047
110 Park Dr
Roseville, CA 95678


Veterans Of Foreign Wars Post 1537
Greater Yosemite Council 059
P.O. Box 1123
Tracy, CA 95378


Veterans Of Foreign Wars Post 1672
Connecticut Rivers Council, Bsa 066
11 Avery Rd
New Milford, CT 06776


Veterans Of Foreign Wars Post 17
Sioux Council 733
P.O. Box 334
Aberdeen, SD 57402


Veterans Of Foreign Wars Post 1791
Northern Star Council 250
620 Creek Rd
Chaska, MN 55318


Veterans Of Foreign Wars Post 1822
Mayflower Council 251
22 Seven Hills Rd
Plymouth, MA 02360


Veterans Of Foreign Wars Post 1839
Three Rivers Council 578
General Delivery
Cleveland, TX 77327


Veterans Of Foreign Wars Post 1917
San Francisco Bay Area Council 028
37154 2nd St
Fremont, CA 94536


Veterans Of Foreign Wars Post 1929
Redwood Empire Council 041
P.O. Box 1929
Petaluma, CA 94952


Veterans Of Foreign Wars Post 1974
Lake Erie Council 440
4305 Woodrow Ave
Parma, OH 44134


Veterans Of Foreign Wars Post 1981
Sequoia Council 027
2026 N Granada Dr
Madera, CA 93637


Veterans Of Foreign Wars Post 1982
Evangeline Area 212
P.O. Box 10623
New Iberia, LA 70562


Veterans Of Foreign Wars Post 220
Jersey Shore Council 341
P.O. Box 689
Route 50
Mays Landing, NJ 08330


Veterans Of Foreign Wars Post 2207
Crater Lake Council 491
272 Franklin Ave
Fortuna, CA 95540


Veterans Of Foreign Wars Post 239
Chief Seattle Council 609
190 Dora Ave
Bremerton, WA 98312


Veterans Of Foreign Wars Post 2727
San Francisco Bay Area Council 028
200 Grand Ave
Oakland, CA 94610


Veterans Of Foreign Wars Post 2838
Pathway To Adventure 456
P.O. Box 955
Westmont, IL 60559


Veterans Of Foreign Wars Post 2856
Northern New Jersey Council, Bsa 333
95 W Mount Pleasant Ave
Livingston, NJ 07039


Veterans Of Foreign Wars Post 3012
Grand Teton Council 107
203 N 5th W
Rexburg, ID 83440


Veterans Of Foreign Wars Post 3283
Miami Valley Council, Bsa 444
5074 Nebraska Ave
Huber Heights, OH 45424


Veterans Of Foreign Wars Post 3377
Capitol Area Council 564
P.O. Box 808
I P Sarge Bell Memorial Post 3377
Manchaca, TX 78652


Veterans Of Foreign Wars Post 3436
Chief Seattle Council 609
4630 167th Ave Se
Bellevue, WA 98006


Veterans Of Foreign Wars Post 352
Aloha Council, Bsa 104
P.O. Box 894513
Mililani, HI 96789


Veterans Of Foreign Wars Post 3693
Istrouma Area Council 211
42430 Church Point Rd
Gonzales, LA 70737


Veterans Of Foreign Wars Post 3755
Overland Trails 322
P.O. Box 213
Ogallala, NE 69153


Veterans Of Foreign Wars Post 3783
San Diego Imperial Council 049
2247 Kelly Ave
Ramona, CA 92065


Veterans Of Foreign Wars Post 387
Lake Erie Council 440
3580 W 140th St
Cleveland, OH 44111


Veterans Of Foreign Wars Post 3892
Longhorn Council 662
1407 E Veterans Memorial Blvd
Harker Heights, TX 76548


Veterans Of Foreign Wars Post 3928
Mt Diablo‐Silverado Council 023
1150 1st St
Benicia, CA 94510


Veterans Of Foreign Wars Post 3970
Oregon Trail Council 697, 2nd and Oak
Oakland, OR 97462


Veterans Of Foreign Wars Post 4011
Circle Ten Council 571
P.O. Box 9032
Greenville, TX 75404


Veterans Of Foreign Wars Post 4129
Laurel Highlands Council 527
603 Lower Main St
Saxton, PA 16678
Veterans Of Foreign Wars Post 4159
President Gerald R Ford 781
P.O. Box 774
Roscommon, MI 48653


Veterans Of Foreign Wars Post 423
Southern Shores Fsc 783
3230 S Wagner Rd
Ann Arbor, MI 48103


Veterans Of Foreign Wars Post 4308
Northeast Illinois 129
130 E Grand Ave
Lake Villa, IL 60046


Veterans Of Foreign Wars Post 4351
North Florida Council 087
96086 Wades Pl
Fernandina Beach, FL 32034


Veterans Of Foreign Wars Post 4372
Buffalo Trail Council 567
208 E Vfw Ln
Odessa, TX 79762


Veterans Of Foreign Wars Post 4409
Heart of America Council 307
1804 N Commercial St
Harrisonville, MO 64701


Veterans Of Foreign Wars Post 4437
Gulf Coast Council 773
25 S 25th St
Defuniak Springs, FL 32435


Veterans Of Foreign Wars Post 4443
Capitol Area Council 564
7614 Thomas Springs Rd
Austin, TX 78736


Veterans Of Foreign Wars Post 4487
Narragansett 546
52 Underwood Ln
Middletown, RI 02842


Veterans Of Foreign Wars Post 4488
Chickasaw Council 558
220 V F W Rd
Grenada, MS 38901


Veterans Of Foreign Wars Post 4574
Arbuckle Area Council 468
529 S Washington St
Ardmore, OK 73401


Veterans Of Foreign Wars Post 4703
Jersey Shore Council 341
54 Magnolia Dr
Jackson, NJ 08527


Veterans Of Foreign Wars Post 4709
Sam Houston Area Council 576
P.O. Box 122
1103 W Semands St
Conroe, TX 77301


Veterans Of Foreign Wars Post 4868
Winnebago Council, Bsa 173
219 Main Ave
Clear Lake, IA 50428


Veterans Of Foreign Wars Post 5119
Washington Crossing Council 777
179 Main St
Glen Gardner, NJ 08826


Veterans Of Foreign Wars Post 5252
Northern Lights Council 429
General Delivery
Pelican Rapids, MN 56572


Veterans Of Foreign Wars Post 5290
Atlanta Area Council 092
1432 Vfw Dr Sw
Conyers, GA 30012


Veterans Of Foreign Wars Post 5408
Atlanta Area Council 092
4764 Cobb Pkwy Nw
Acworth, GA 30101


Veterans Of Foreign Wars Post 547
Iroquois Trail Council 376
67 Hopkins St
Mount Morris, NY 14510


Veterans Of Foreign Wars Post 5538
Leatherstocking 400
105 Park Ave
Boonville, NY 13309


Veterans Of Foreign Wars Post 5665
Black Swamp Area Council 449
P.O. Box 4587
Sherwood, OH 43556


Veterans Of Foreign Wars Post 5700
Washington Crossing Council 777
140 Dutch Neck Rd
Hightstown, NJ 08520


Veterans Of Foreign Wars Post 5766
Lincoln Heritage Council 205
P.O. Box 134
Hartford, KY 42347


Veterans Of Foreign Wars Post 5788
Rainbow Council 702
1026 E 9th St
Lockport, IL 60441


Veterans Of Foreign Wars Post 6008
Longhorn Council 662
725 Sun Valley Blvd
Hewitt, TX 76643
Veterans Of Foreign Wars Post 6063
Jersey Shore Council 341
210 Court House Ln
Toms River, NJ 08753


Veterans Of Foreign Wars Post 6152
Sequoia Council 027
1551 6th Ave Dr
Kingsburg, CA 93631


Veterans Of Foreign Wars Post 6218
Lincoln Heritage Council 205
P.O. Box 431
Edmonton, KY 42129


Veterans Of Foreign Wars Post 6298
San Francisco Bay Area Council 028
301 Main St
Pleasanton, CA 94566


Veterans Of Foreign Wars Post 6298
San Francisco Bay Area Council 028
P.O. Box 65
Pleasanton, CA 94566


Veterans Of Foreign Wars Post 6309
Silicon Valley Monterey Bay 055
74 W 6th St
Gilroy, CA 95020


Veterans Of Foreign Wars Post 6441
Capitol Area Council 564
P.O. Box 826
Wimberley, TX 78676


Veterans Of Foreign Wars Post 6650
Jersey Shore Council 341
1501 Bay Ave
Ocean City, NJ 08226


Veterans Of Foreign Wars Post 6849
Silicon Valley Monterey Bay 055
P.O. Box 7253
Spreckels, CA 93962


Veterans Of Foreign Wars Post 6885
W.L.A.C.C. 051
16208 Sierra Hwy
Canyon Country, CA 91351


Veterans Of Foreign Wars Post 7108
Alamo Area Council 583
P.O. Box 324
Helotes, TX 78023


Veterans Of Foreign Wars Post 7116
Coastal Georgia Council 099
112 N Community Dr
Sylvania, GA 30467


Veterans Of Foreign Wars Post 7155
Cradle of Liberty Council 525
301 W 3rd St
Trappe, PA 19426


Veterans Of Foreign Wars Post 7244
Golden Empire Council 047
549 Merchant St
Vacaville, CA 95688


Veterans Of Foreign Wars Post 7244
Golden Empire Council 047
868 Arbor Oaks Dr
Vacaville, CA 95687


Veterans Of Foreign Wars Post 75
Mt Diablo‐Silverado Council 023
400 Hartz Ave
Danville, CA 94526


Veterans Of Foreign Wars Post 7647
Lake Erie Council 440
30036 Lorain Rd
North Olmsted, OH 44070


Veterans Of Foreign Wars Post 7829
Pikes Peak Council 060
1865 Woodmoor Dr
Monument, CO 80132


Veterans Of Foreign Wars Post 7916
National Capital Area Council 082
204 Mill St
Occoquan, VA 22125


Veterans Of Foreign Wars Post 796
Water and Woods Council 782
1711 Pine Grove Ave
Port Huron, MI 48060


Veterans Of Foreign Wars Post 806
Central Minnesota 296
133 N Rum River Dr
Princeton, MN 55371


Veterans Of Foreign Wars Post 8063
Mt Diablo‐Silverado Council 023
3780 Mt Diablo Blvd
Lafayette, CA 94549


Veterans Of Foreign Wars Post 8273
Circle Ten Council 571
P.O. Box 2848
Frisco, TX 75034


Veterans Of Foreign Wars Post 8315
Alamo Area Council 583
1000 Fm 78
Schertz, TX 78154


Veterans Of Foreign Wars Post 8681
Greater Tampa Bay Area 089
18940 Brayton St
Spring Hill, FL 34610
Veterans Of Foreign Wars Post 8720
Istrouma Area Council 211
21470 Mire Dr
Abita Springs, LA 70420


Veterans Of Foreign Wars Post 8734
Allegheny Highlands Council 382
5460 Rt. 353
Little Valley, NY 14755


Veterans Of Foreign Wars Post 8787
Capitol Area Council 564
500 V F W Rd
Austin, TX 78753


Veterans Of Foreign Wars Post 8787
Capitol Area Council 564
8503 N Interstate 35
Austin, TX 78753


Veterans Of Foreign Wars Post 8800
Alamo Area Council 583
7755 Lorine Dr
Canyon Lake, TX 78133


Veterans Of Foreign Wars Post 9111
Monmouth Council, Bsa 347
11 Henderson Rd
Kendall Park, NJ 08824


Veterans Of Foreign Wars Post 912
Sam Houston Area Council 576
8204 N Main St
Baytown, TX 77521


Veterans Of Foreign Wars Post 9133
East Carolina Council 426
1450 Piney Green Rd
Jacksonville, NC 28546


Veterans Of Foreign Wars Post 9375
Southern Sierra Council 030
21016 Neuralia Rd
California City, CA 93505


Veterans Of Foreign Wars Post 9430 11329
Chief Seattle Council 609
7421 S 126th St
Seattle, WA 98178


Veterans Of Foreign Wars Post 9503
Jersey Shore Council 341
383 Veterans Blvd
Bayville, NJ 08721


Veterans Of Foreign Wars Post 9539
Palmetto Council 549
325 Carolina Dr Ext
Spartanburg, SC 29376


Veterans Of Foreign Wars Post 9650
Golden Empire Council 047
West Center St
Anderson, CA 96007


Veterans Of Foreign Wars Post 9907
Grand Canyon Council 010
381 N Central Ave
Show Low, AZ 85901


Veterans Of Foreign Wars Post 9914
Great Lakes Fsc 272
3200 N Duck Lake Rd
Highland, MI 48356


Veterans Of Foreign Wars Post 9972
Catalina Council 011
549 Veterans Dr
Sierra Vista, AZ 85635


Veterans Of Foreign Wars Post3000
W.L.A.C.C. 051
4342 W Ave L
Lancaster, CA 93536


Veterans Of Foreign Wars Romulus
Great Lakes Fsc 272
18995 Hannan Rd
New Boston, MI 48164


Veterans Of Foreign Wars, Post 1351
Mt Diablo‐Silverado Council 023
930 Ward St
Martinez, CA 94553


Veterans Of Foreign Wars, Post 7743
Coronado Area Council 192
427 W New Hampshire St
Osborne Memorial


Veterans Of Foriegn Wars Post 6763
Patriots Path Council 358
Vfw Post 6763
P.O. Box 1137
South Plainfield, NJ 07080


Veterans Org Post 4222
Evangeline Area 212
1504 Sandra St
Morgan City, LA 70380


Veterans Service
Chester County Council 539
208 E State St
Kennett Square, PA 19348


Veteransforeignwars‐Post1525 Herms
Mt Diablo‐Silverado Council 023
1821 Yolanda Cir
Clayton, CA 94517


Veteransof Foreign Wars Post 1773
Heart of America Council 307
104 Walnut Hills Dr
Carrollton, MO 64633
Veterens Of Foreign Wars Post 8762
Golden Empire Council 047
905 Drever St
West Sacramento, CA 95691


Vetrans Of Foreign Wars Post 3312
Black Hills Area Council 695 695
P.O. Box 276
Belle Fourche, SD 57717


Vets Fgn Wars Edward Kuhlman
Post 7168
Sequoia Council 027
18615 Watts Valley Rd
Sanger, Ca 93657


Vets Foreign Wars Cherrland Post 2780
President Gerald R Ford 781
3400 Veterans Dr
Traverse City, Mi 49684


Vets Foreign Wars Sgt Frank Lillard Post
Silicon Valley Monterey Bay 055
599 Bitterwater Rd
King City, Ca 93930


Vets Foreign Wars State Illinois
Northeast Illinois 129
S Main St
Wauconda, Il 60084


Vets Foreign Wars‐Castro Vly Post
San Francisco Bay Area Council 028
20835 Rutledge Rd
Castro Valley, Ca 94546


Vets Of Foreign Wars Nisei Post     8985
Golden Empire Council 047
1514 4th St
Sacramento, CA 95814
Vets Of Foreign Wars Nisei Post   8985
Golden Empire Council 047
1515 4th St
Sacramento, CA 95814


Vex Robotics
1519 Interstate 30 W
Greenville, TX 75402


Vf Outdoor
dba Smartwool
32842 Collections Center Dr
Chicago, IL 60693


Vf Outdoor / Smartwool
Vf Outdoor, Inc
32842 Collection Center Dr
Chicago, IL 60693‐0328


Vf Outdoor, Inc
13911 Collections Center Dr
Chicago, IL 60693


V‐Forward Inc
18608 Durbin Rd
Noblesville, IN 46060


Vfw
California Inland Empire Council 045
29845 Camino Del Sol Dr
Temecula, CA 92592


Vfw
Sagamore Council 162
503 N 3rd St
Monticello, IN 47960


Vfw ‐ Ashland 1067
Buckeye Council 436
125 E Main St
Ashland, OH 44805
Vfw ‐ Davis Post 6949
Golden Empire Council 047
P.O. Box 415
Davis, CA 95617


Vfw ‐ New Philadelphia 1445
Buckeye Council 436
P.O. Box 605
New Philadelphia, OH 44663


Vfw 10140
Greater Tampa Bay Area 089
8414 N 40th St
Tampa, FL 33604


Vfw 1216
Twin Valley Council Bsa 283
300 4th Ave Ne
Austin, MN 55912


Vfw 2105   Utd Methodist Church
Oregon Trail Council 697
710 Smith St
Harrisburg, OR 97446


VFW 2494
Circle Ten Council 571
3375 N Belt Line Rd
Irving, TX 75062


Vfw 524
Five Rivers Council, Inc 375
281 Baker St
Corning, NY 14830


Vfw 5990 Avra Valley/Marana
Catalina Council 011
15850 W El Tiro Rd
Marana, AZ 85653
Vfw 7721 Golden Gate
Southwest Florida Council 088
800 Neffs Way
Naples, FL 34119


Vfw 8375 Brandes Memorial Post
Three Harbors Council 636
P.O. Box 952
Silver Lake, WI 53170


Vfw 8785
Circle Ten Council 571
509 W Main St
Mesquite, TX 75149


Vfw 9644 Auxillary
Denver Area Council 061
2680 W Hampden Ave
Sheridan, CO 80110


Vfw Adams Budz Post Home Inc
Western Massachusetts Council 234
Park St
Housatonic, MA 01236


Vfw Ar Post 2952
Westark Area Council 016
1006 N Thompson St
Springdale, AR 72764


Vfw Aux Post 6751
Anthony Wayne Area 157
P.O. Box 423
740 E Line St
Geneva, IN 46740


Vfw Auxilary 12058
Capitol Area Council 564
191 Greenbrier Dr
Kyle, TX 78640


Vfw Auxiliary ‐ Ada
Northern Lights Council 429
415 W Main St
Ada, MN 56510


Vfw Auxiliary Post 3987
Greater St Louis Area Council 312
378 S Hwy 185
Sullivan, MO 63080


Vfw Barney Figueroa Post 6271
Catalina Council 011
233 E 5th St
Benson, AZ 85602


Vfw Benbrook Post 10429
Longhorn Council 662
1000 Stevens Dr
Benbrook, TX 76126


Vfw Bowersock Brothers Post 6772
Black Swamp Area Council 449
130 S Broadway St
Spencerville, OH 45887


Vfw Casey Joyce Post 4380
Circle Ten Council 571
221 W Parker Rd, Ste 550
Plano, TX 75023


Vfw Century Post 503
Pathway To Adventure 456
5101 Belmont Rd
Downers Grove, IL 60515


Vfw Conrad Osthum Post 141
Gamehaven 299
601A 2nd St
Kenyon, MN 55946


Vfw David G Snyder Post 8681
Greater Tampa Bay Area 089
18940 Drayton St
Spring Hill, FL 34610


Vfw Donald Michels Jr Post 6180
Greater Tampa Bay Area 089
11551 Osceola Dr
New Port Richey, FL 34654


Vfw Edwin Frohmader Post 1879
Glaciers Edge Council 620
N 2074 Vets Ln
Fort Atkinson, WI 53538


Vfw Elwood Perkins Post 8336
Las Vegas Area Council 328
P.O. Box 1235
Logandale, NV 89021


Vfw Faith Gray Mcardle Post 4584
Westmoreland Fayette 512
115 River Ave
Masontown, PA 15461


Vfw Fisher Hewin Post 6249
Suffolk County Council Inc 404
King and Garland Rd
Rocky Point, NY 11778


Vfw Gardnerville
Nevada Area Council 329
Patricia
Gardnerville, NV 89460


Vfw Granite Post 428
Central Minnesota 296
9 18th Ave N
Saint Cloud, MN 56303


Vfw Henderschott Manness Post 374
Iroquois Trail Council 376
550 Main St
Arcade, NY 14009
Vfw Hill 303 Memorial Post 10033
Far E Council 803, Unit 15748 Box 549
Apo Ap, 96260


Vfw Hulet Bravender Post 5587
Great Lakes Fsc 272
201 Airport Dr
Holly, MI 48442


Vfw Jack E Carleton Post 2111
San Diego Imperial Council 049
299 I St
Chula Vista, CA 91910


Vfw John Boyd Post 7318
Occoneechee 421
615 S Page St
Southern Pines, NC 28387


Vfw Leblanc‐Junkins Post 9699
Katahdin Area Council 216
P.O. Box 520
Ashland, ME 04732


Vfw Linden Tripkos Memorial 6654
Heart of America Council 307
P.O. Box 651
33725 W 84th St
De Soto, KS 66018


Vfw Lone Star Post 2150
Circle Ten Council 571
1710 N Church St
Mckinney, TX 75069


Vfw Mattatuck Post 8075
Connecticut Rivers Council, Bsa 066
218 Cheshire Rd
Prospect, CT 06712


Vfw Memorial Park Post 764
Laurel Highlands Council 527
460 Valley Brook Rd
Canonsburg, PA 15317


Vfw Memorial Post 10184
Patriots Path Council 358
10 Glenwood Ave
Lake Hiawatha, NJ 07034


Vfw Memorial Post 4956
Ozark Trails Council 306
P.O. Box 407
Crocker, MO 65452


Vfw Memorial Post 7333
Patriots Path Council 358
Carrell Rd
Randolph, NJ 07869


Vfw Memorial Post 8677
Greater St Louis Area Council 312
5325 N Illinois St
Fairview Heights, IL 62208


Vfw Memorial Post 8724
Laurel Highlands Council 527
1665 Newry Ln
P.O. Box 128
Duncansville, PA 16635


Vfw Montgomery Memorial Post 7452
Three Fires Council 127
121 N River St
Montgomery, IL 60538


Vfw Mt Blanca Post 899
Rocky Mountain Council 063
519 Main St
Alamosa, CO 81101


Vfw Oconnor Regenwether Post 3633
Illowa Council 133
18777 137th St
Maquoketa, IA 52060


Vfw Of Beresford Post 2975
Sioux Council 733
206 N 16th St
Beresford, SD 57004


Vfw Of Ohio Post 4027
Muskingum Valley Council, Bsa 467
P.O. Box 403
306 W Chestnut
Mount Vernon, OH 43050


Vfw Of Usa Albritton Carter Post 5442
Louisiana Purchase Council 213
100 Hudson Rd
Farmerville, LA 71241


Vfw Of Vermillion 3061
Sioux Council 733
421 S University St
Vermillion, SD 57069


Vfw Of Yankton
Sioux Council 733
209 Cedar St
Yankton, SD 57078


Vfw Old Settlers Post 4659
Great Lakes Fsc 272
8311 Wilson St
Shelby Township, MI 48316


Vfw Oxbow Post 4156 Auxilliary
Great Lakes Fsc 272
321 Union Lake Rd
White Lake, MI 48386


Vfw Pat Hannon Post 4666
Denver Area Council 061
5748 S Gallup St
Littleton, CO 80120


Vfw Peter Graham Post 2948
Voyageurs Area 286
1416 3rd Ave E
International Falls, MN 56649


Vfw Pioneer Post 2121
Longs Peak Council 062
2514 7th Ave
Greeley, CO 80631


Vfw Post 2359 Charles W Davis
The Spirit of Adventure 227
5 Conant St
Danvers, MA 01923


Vfw Post 5896, Farmington Mo
Greater St Louis Area Council 312
814 E Karsch Blvd
Farmington, MO 63640


Vfw Post 7439
President Gerald R Ford 781
Old US 27 S
Indian River, MI 49749


Vfw Post 8175
Del Mar Va 081
208 W High St
Elkton, MD 21921


Vfw Post 8185 Jerry Skrivanek
Del Mar Va 081
P.O. Box 44
Port Deposit, MD 21904


Vfw Post 10003
Crossroads of America 160
12863 Old Meridian St
Carmel, IN 46032
Vfw Post 10054
Las Vegas Area Council 328
4651 Homestead Rd
Pahrump, NV 89048


Vfw Post 10094
Greater Tampa Bay Area 089
P.O. Box 133
Indian Rocks Beach, FL 33785


Vfw Post 10209
Greater Tampa Bay Area 089
14736 Edward R Noll Dr
Spring Hill, FL 34609


Vfw Post 10216 Osan
Far E Council 803
Boy Scout Troop 86
Apo Ap, 96278


Vfw Post 10223
Far E Council 803, Unit 15212 Box 1422
Amalia Mayoral
Apo Ap, 96271


Vfw Post 10223 Camp Hump
Far E Council 803, Unit 15215 Box 20
Apo Ap, 96271


Vfw Post 1027
Mayflower Council 251
3 Palmieri Dr
Hudson, MA 01749


Vfw Post 10300
Inland Nwest Council 611
P.O. Box 386
Potlatch, ID 83855


Vfw Post 1040
Mount Baker Council, Bsa 606
P.O. Box 45
Lynnwood, WA 98046


Vfw Post 10406
Gateway Area 624
100 Michaels St
Cochrane, WI 54622


Vfw Post 10427
Capitol Area Council 564
8760 Ranch Rd 2243
Leander, TX 78641


Vfw Post 10460
Longhorn Council 662
501 Thompson Dr
Lake Dallas, TX 75065


Vfw Post 10557
Transatlantic Council, Bsa 802
Cmr 414
General Delivery
Apo Ae, 09173


Vfw Post 10568
Chippewa Valley Council 637
N8593 County Rd M
Springbrook, WI 54875


Vfw Post 10580 Fort Stevens
Cascade Pacific Council 492
91727 Sunnyside Rd
Warrenton, OR 97146


Vfw Post 10614 Kaiserslautern
Transatlantic Council, Bsa 802
Unit 23152
Apo Ae, 09067


Vfw Post 10657
Heart of Virginia Council 602
11568 Cedar Ln
Ashland, VA 23005


Vfw Post 10692
Transatlantic Council, Bsa 802
Cmr 415
Box
Apo Ae, 09114


Vfw Post 10692 Grafenwoehr
Transatlantic Council, Bsa 802
Cmr 415 Box 3470
Apo Ae, 09114


Vfw Post 10810
Transatlantic Council, Bsa 802
Cmr 480 Box 985
Apo Ae, 09128


Vfw Post 10810 Stuttgart Post
Transatlantic Council, Bsa 802
Cmr 480 Box General Delivery
Apo Ae, 09128


Vfw Post 10906
Heart of America Council 307
7027 N Locust St
Kansas City, MO 64118


Vfw Post 11038 Aspinall‐Bair‐Stober
Three Harbors Council 636
P.O. Box 437
Rochester, WI 53167


Vfw Post 1114
Buffalo Trace 156
110 N Wabash Ave
Evansville, IN 47712


Vfw Post 1127
Crossroads of America 160
6777W St Rd 340
Brazil, IN 47834
Vfw Post 11326
Inland Nwest Council 611
P.O. Box 338
Cheney, WA 99004


Vfw Post 11374
Coronado Area Council 192
P.O. Box 218
Ogden, KS 66517


Vfw Post 11388
San Diego Imperial Council 049
P.O. Box 500902
San Diego, CA 92150


Vfw Post 1140
Central Minnesota 296
111 1st St S
Long Prairie, MN 56347


Vfw Post 11402 ‐ Lacey
Pacific Harbors Council, Bsa 612
P.O. Box 5458
Lacey, WA 98509


Vfw Post 11406
North Florida Council 087
17 Ponce Blvd N
Jacksonville, FL 32218


Vfw Post 1146 Cpl Walter F Bruce
Great Lakes Fsc 272
28404 Jefferson Ave
Cpl. Walter F. Bruce Vfw Post 1146
Saint Clair Shores, MI 48081


Vfw Post 1166
Rocky Mountain Council 063
16791 Cty Rd 306
Buena Vista, CO 81211
Vfw Post 12024
Sam Houston Area Council 576
P.O. Box 8341
The Woodlands, TX 77387


Vfw Post 12058
Capitol Area Council 564
P.O. Box 2725
Kyle, TX 78640


Vfw Post 12134
Nevada Area Council 329
P.O. Box 19078
Reno, NV 89511


Vfw Post 1241 Piasa
Greater St Louis Area Council 312
120 E Henry St
Staunton, IL 62088


Vfw Post 1274
Mayflower Council 251
113 W Central St
Natick, MA 01760


Vfw Post 1308 Piasa Bird
Greater St Louis Area Council 312
4445 Alby St
Alton, IL 62002


Vfw Post 1324 Oregon City
Cascade Pacific Council 492
211 Tumwater Dr
Oregon City, OR 97045


Vfw Post 1326
Northern Lights Council 429
1235 S 12th St
Bismarck, ND 58504


Vfw Post 1452
Water and Woods Council 782
10380 N Saginaw Rd
Clio, MI 48420


Vfw Post 1503
National Capital Area Council 082
14631 Minnieville Rd
Dale City, VA 22193


Vfw Post 1508
California Inland Empire Council 045
21180 Waite St
Wildomar, CA 92595


Vfw Post 1564
Chester County Council 539
200 Starr St
Phoenixville, PA 19460


Vfw Post 1585
Mount Baker Council, Bsa 606
625 N State St
Bellingham, WA 98225


Vfw Post 1647
Central Minnesota 296
309 S 6th St
Brainerd, MN 56401


Vfw Post 1656
Northern Star Council 250
710 W 2nd St
Madison, MN 56256


Vfw Post 1683
Hawkeye Area Council 172
14495 190th St
Monticello, IA 52310


Vfw Post 1704 Louie E Higdon
Grand Canyon Council 010
707 S Broad St
Globe, AZ 85501


Vfw Post 1738
Heart of America Council 307
901 E 23rd St
Independence, MO 64055


Vfw Post 1771 Mile High
Longs Peak Council 062
110 E S Boulder Rd
Lafayette, CO 80026


Vfw Post 1788 Of Rockland
Mayflower Council 251
22 Church St
Rockland, MA 02370


Vfw Post 1863
Lake Erie Council 440
6340 Melbury Ave
Solon, OH 44139


Vfw Post 1865
Three Harbors Council 636
6618 39th Ave
Kenosha, WI 53142


Vfw Post 1901
Northern Star Council 250
P.O. Box 278
Montrose, MN 55363


Vfw Post 1915
Gateway Area 624
24423 3rd St
Trempealeau, WI 54661


Vfw Post 1924
San Diego Imperial Council 049
1175 Old Stage Rd
Fallbrook, CA 92028
Vfw Post 1927 Woodland
Cascade Pacific Council 492
P.O. Box 366
Woodland, WA 98674


Vfw Post 1949 ‐ Enumclaw
Pacific Harbors Council, Bsa 612
P.O. Box 14
44426 244th Ave Se


Vfw Post 1956 Menifee
California Inland Empire Council 045
P.O. Box 321
Menifee, CA 92586


Vfw Post 1963
Garden State Council 690
301 John F Kennedy Blvd
Sea Isle City, NJ 08243


Vfw Post 1989
Laurel Highlands Council 527
824 Indian Springs Rd
Indiana, PA 15701


Vfw Post 2017 Uss Jacob Jones
The Spirit of Adventure 227
P.O. Box 427
84 Eern Ave
Dedham, MA 02026


Vfw Post 2027
Cimarron Council 474
5505 W 6th Ave
Stillwater, OK 74074


Vfw Post 2059
Alamo Area Council 583
3202 Ackerman Rd
Kirby, TX 78101
Vfw Post 210
Northern Star Council 250
P.O. Box 308
Lakeville, MN 55044


Vfw Post 2102
Laurel Highlands Council 527
2102 Main St
Wardensville, WV 26851


Vfw Post 2113 ‐ Depere
Bay‐Lakes Council 635
2152 Dollar Rd
De Pere, WI 54115


Vfw Post 212
Allegheny Highlands Council 382
94 Barbour St
Bradford, PA 16701


Vfw Post 2195
Circle Ten Council 571
600 E Main St
Allen, TX 75002


Vfw Post 2224 ‐ Puyallup Valley
Pacific Harbors Council, Bsa 612
120 2nd St Ne
Puyallup, WA 98372


Vfw Post 2227
Samoset Council, Bsa 627
209 N 1st St
Colby, WI 54421


Vfw Post 2269
Great Lakes Fsc 272
2652 Loon Lake Rd
Wixom, MI 48393


Vfw Post 2272
Water and Woods Council 782
923 N Saginaw St
Durand, MI 48429


Vfw Post 2280 Honor Guard
Mid‐America Council 326
P.O. Box 1105
Bellevue, NE 68005


Vfw Post 2323
W.L.A.C.C. 051
17522 Chatsworth St
Granada Hills, CA 91344


Vfw Post 2345
Mountaineer Area 615
P.O. Box 285
Tunnelton, WV 26444


Vfw Post 2462
Baltimore Area Council 220
1720 Bayside Beach Rd
Pasadena, MD 21122


Vfw Post 2485 District 7 Dept Of Pac
Far E Council 803
310 Santol Rd
Angeles City,
Philippines


Vfw Post 2494
Circle Ten Council 571
3375 N Belt Line Rd
Irving, TX 75062


Vfw Post 2498 Lt Mason H Carter
The Spirit of Adventure 227
20 Junction St
Needham, MA 02492


Vfw Post 2503
Mid‐America Council 326
8904 Military Rd
Omaha, NE 68134


Vfw Post 2541
Mid‐America Council 326
414 E State St
Algona, IA 50511


Vfw Post 2553
Twin Valley Council Bsa 283
P.O. Box 23
Redwood Falls, MN 56283


Vfw Post 2566
Transatlantic Council, Bsa 802
Cmr 405 Box 7503
Apo Ae, 09034


Vfw Post 2593
Greater St Louis Area Council 312
2301 Church Rd
Arnold, MO 63010


Vfw Post 2632
National Capital Area Council 082
23282 Three Notch Rd
P.O. Box 86
California, MD 20619


Vfw Post 2645
Great Lakes Fsc 272
19301 W 12 Mile Rd
Lathrup Village, MI 48076


Vfw Post 27, Wiesbaden
Transatlantic Council, Bsa 802
Cmr 467
Box 7000


Vfw Post 27, Wiesbaden
Transatlantic Council, Bsa 802
Cmr 467 Box Gd
Apo Ae, 09096
Vfw Post 27, Wiesbaden
Transatlantic Council, Bsa 802
Unit 4355
Apo Ae, 09096


Vfw Post 2717‐Ely
Voyageurs Area 286
2 W Sheridan St
Ely, MN 55731


Vfw Post 2718
Theodore Roosevelt Council 386
68 Lincoln Rd
Franklin Square, NY 11010


Vfw Post 2777    Marines Taking Care Kids
Water And Woods Council 782
2260 S Belsay Rd
Burton, Mi 48519


Vfw Post 2801 Villa Park
Three Fires Council 127
39 E Saint Charles Rd
Villa Park, IL 60181


Vfw Post 2848 Kilchis‐Tillamook Bay
Cascade Pacific Council 492
P.O. Box 3152
Bay City, OR 97107


Vfw Post 2859 Piasa
Greater St Louis Area Council 312
231 E Edwardsville Rd
Wood River, IL 62095


Vfw Post 2876
Prairielands 117
9 S Main St
Villa Grove, IL 61956
Vfw Post 2924
California Inland Empire Council 045
10184 Hesperia Rd
Hesperia, CA 92345


Vfw Post 2925 ‐ Berlin
Bay‐Lakes Council 635
420 N Wisconsin St
Wells‐Krause Post
Berlin, WI 54923


Vfw Post 296
Connecticut Rivers Council, Bsa 066
P.O. Box 325
Winsted, CT 06098


Vfw Post 2964
President Gerald R Ford 781
129 E Osceola Ave
Reed City, MI 49677


Vfw Post 3000 Auxillary
W.L.A.C.C. 051
4342 W Ave L
Lancaster, CA 93536


Vfw Post 308
Connecticut Yankee Council Bsa 072
18 Tinkerfield Rd
Newtown, CT 06470


Vfw Post 3087
Water and Woods Council 782
G4138 Corunna Rd
Flint, MI 48532


Vfw Post 3127 Of Chaffee
Greater St Louis Area Council 312
217 S Frisco St
Chaffee, MO 63740


Vfw Post 3153 ‐ Chilton
Bay‐Lakes Council 635
1041 E Chestnut St
Chilton, WI 53014


Vfw Post 3168
Ozark Trails Council 306
26050 Swindell Dr
Richland, MO 65556


Vfw Post 318 ‐ Olympia
Pacific Harbors Council, Bsa 612
2902 Martin Way E
Olympia, WA 98506


Vfw Post 3227
Central Florida Council 083
801 Maryland Ave
Saint Cloud, FL 34769


Vfw Post 323/1St Presbyterian Church
Northern Star Council 250
6201 Osgood Ave N
Stillwater, MN 55082


Vfw Post 3256
President Gerald R Ford 781
9370 Walsh Rd
Montague, MI 49437


Vfw Post 3386
Inland Nwest Council 611
P.O. Box 149
Airway Heights, WA 99001


Vfw Post 3404
Ozark Trails Council 306
1136 E Atlantic St
Springfield, MO 65803


Vfw Post 3533
Mid‐America Council 326
41553 170th Ave
Laurens, IA 50554


Vfw Post 3619
Calcasieu Area Council 209
P.O. Box 711
Deridder, LA 70634


Vfw Post 3631
Denver Area Council 061
18545 E Colfax Ave
Aurora, CO 80011


Vfw Post 3649
Indian Nations Council 488
105 NW 1st St
Wilburton, OK 74578


Vfw Post 3723
Gamehaven 299
1226 Bellflower Ln
Owatonna, MN 55060


Vfw Post 3724
Water and Woods Council 782
3540 W Huron Rd
Standish, MI 48658


Vfw Post 3736
President Gerald R Ford 781
709 Plum St
Grayling, MI 49738


Vfw Post 3770
Ozark Trails Council 306
8783 Canary Ln
Mountain Grove, MO 65711


Vfw Post 3777 Rfd 5 / Twin Cities Lions
Greater St Louis Area Council 312
P.O. Box 265
Festus, MO 63028
Vfw Post 3783 Ramona
San Diego Imperial Council 049
2247 Kelly Ave
Ramona, CA 92065


Vfw Post 3795
San Diego Imperial Council 049
212 W Mission Rd
San Marcos, CA 92069


Vfw Post 3838
Greater St Louis Area Council 312
1049 N Kingshighway St
Cape Girardeau, MO 63701


Vfw Post 3838 Of Cape Girardeau
Greater St Louis Area Council 312
1049 N Kingshighway St
Cape Girardeau, MO 63701


Vfw Post 3873 ‐ Judd Kendall
Three Fires Council 127
908 Jackson Ave
Naperville, IL 60540


Vfw Post 388
Samoset Council, Bsa 627
P.O. Box 388
Wausau, WI 54402


Vfw Post 3901
Water and Woods Council 782
1005 Pointe Tremble Rd
Algonac, MI 48001


Vfw Post 3966
Alamo Area Council 583
P.O. Box 594
Devine, TX 78016


Vfw Post 3973 Molalla
Cascade Pacific Council 492
P.O. Box 158
Molalla, OR 97038


Vfw Post 4008
Longhorn Council 662
1311 S Pearl St
Belton, TX 76513


Vfw Post 4012
Great Lakes Fsc 272
438 S Main St
Northville, MI 48167


Vfw Post 4012 Northville
Great Lakes Fsc 272
438 S Main St
Northville, MI 48167


Vfw Post 4015 Newberg
Cascade Pacific Council 492
111 S Howard St
Newberg, OR 97132


Vfw Post 4087
Water and Woods Council 782
9474 Lapeer Rd
Davison, MI 48423


Vfw Post 4090
Water and Woods Council 782
1324 E Bridge St
Portland, MI 48875


Vfw Post 41
Longs Peak Council 062
305 Cleveland Ave
Loveland, CO 80537


Vfw Post 41 ‐ Loveland
Longs Peak Council 062
P.O. Box 141
Loveland, CO 80539


Vfw Post 4182
Great Rivers Council 653
108 State Hwy 100 W
Hermann, MO 65041


Vfw Post 4183
Greater St Louis Area Council 312
1516 Old State Route 158
Belleville, IL 62221


Vfw Post 4194
Gulf Stream Council 085
2464 SE Veterans Ave
Stuart, FL 34994


Vfw Post 4219
Greater St Louis Area Council 312
6030 N Hwy 94
Saint Charles, MO 63301


Vfw Post 4238
Ozark Trails Council 306
P.O. Box 1125
Dixon, MO 65459


Vfw Post 4254 Auxillary
Southwest Florida Council 088
10972 K Nine Dr
Bonita Springs, FL 34135


Vfw Post 4278 Schick‐Ogle Camas
Cascade Pacific Council 492
P.O. Box 579
Camas, WA 98607


Vfw Post 4282
Greater St Louis Area Council 312
P.O. Box 13
Perryville, MO 63775
Vfw Post 4289 Winter Haven
Greater Tampa Bay Area 089
2441 7th St Sw
Winter Haven, FL 33880


Vfw Post 4343
Longs Peak Council 062
3216 S Greeley Hwy
Cheyenne, WY 82007


Vfw Post 4452 Of Cannon Falls
Gamehaven 299
P.O. Box 12
218 4th St N
Cannon Falls, MN 55009


Vfw Post 4480
Chester County Council 539
406 4th Ave
Parkesburg, PA 19365


Vfw Post 454
W D Boyce 138
1006 E Lincoln St
Bloomington, IL 61701


Vfw Post 4561
Winnebago Council, Bsa 173
Hwy 9 W
Cresco, IA 52136


Vfw Post 4582
Northern Lights Council 429
P.O. Box 190
Starbuck, MN 56381


Vfw Post 4600
Blackhawk Area 660
3002 W Il Route 120
Mchenry, IL 60051
Vfw Post 4646
President Gerald R Ford 781
P.O. Box 152
223 E Bridge St
Lyons, MI 48851


Vfw Post 4699
Monmouth Council, Bsa 347
575 Jernee Mill Rd
Sayreville, NJ 08872


Vfw Post 4706
Atlanta Area Council 092
5362 Covington Hwy
Decatur, GA 30035


Vfw Post 4743
Twin Valley Council Bsa 283
405 N Hwy 86
Lakefield, MN 56150


Vfw Post 4837 And Auxilliary
Water and Woods Council 782
2942 Main St
Marlette, MI 48453


Vfw Post 4931 Dept Of Ohio
Simon Kenton Council 441
2436 Walcutt Rd
Columbus, OH 43228


Vfw Post 4939
West Tennessee Area Council 559
9750 Cherrywood Ave
Mc Kenzie, TN 38201


Vfw Post 5010
Minsi Trails Council 502
341 Centre St
Freeland, PA 18224


Vfw Post 5095
Connecticut Rivers Council, Bsa 066
20 N Maple St
East Hampton, CT 06424


Vfw Post 51 Auxiliary
Inland Nwest Council 611
300 W Mission
Spokane, WA 99205


Vfw Post 5255
Northeast Georgia Council 101
368 Grayson Hwy
Lawrenceville, GA 30045


Vfw Post 5327 Of Wentzville
Greater St Louis Area Council 312
1414 Hwy Z
Wentzville, MO 63385


Vfw Post 5448
Flint River Council 095
1205 W Poplar St
Griffin, GA 30224


Vfw Post 5518
Central Minnesota 296
P.O. Box 66
Elk River, MN 55330


Vfw Post 5540
Longhouse Council 373
70 Culvert St
Phoenix, NY 13135


Vfw Post 5547 Midcounty Post
Cornhusker Council 324
527 5th St
Syracuse, NE 68446


Vfw Post 5580
Pacific Harbors Council, Bsa 612
P.O. Box 1396
Yelm, WA 98597


Vfw Post 5598
President Gerald R Ford 781
511 N 68th St
Coopersville, MI 49404


Vfw Post 5612
Bay‐Lakes Council 635
337 Stafford St
Plymouth, WI 53073


Vfw Post 5658 Auxiliary
Mobile Area Council‐Bsa 004
24730 US Hwy 98
Elberta, AL 36530


Vfw Post 5691
Greater St Louis Area Council 312
1234 Vandalia St
Collinsville, IL 62234


Vfw Post 5790
Greater St Louis Area Council 312
21294 Route 138
Mount Olive, IL 62069


Vfw Post 5796
Suffolk County Council Inc 404
40 Church St
Kings Park, NY 11754


Vfw Post 5857
President Gerald R Ford 781
3685 Veterans Dr
Onaway, MI 49765


Vfw Post 5867
San Diego Imperial Council 049
12650 Lindo Ln
Lakeside, CA 92040
Vfw Post 587
Black Swamp Area Council 449
214 N Water St
Paulding, OH 45879


Vfw Post 5896, Farmington Mo
Greater St Louis Area Council 312
842 E Karsch Blvd
Farmington, MO 63640


Vfw Post 5901
Heart of America Council 307
P.O. Box 683
59 N Hwy
Ottawa, KS 66067


Vfw Post 591
Connecticut Yankee Council Bsa 072
23 Prince St
Wallingford, CT 06492


Vfw Post 5923
Great Rivers Council 653
65 Vfw Rd
Camdenton, MO 65020


Vfw Post 5969
Black Hills Area Council 695 695
P.O. Box 443
Deadwood, SD 57732


Vfw Post 6024
Orange County Council 039
21001 Rancho Trabuco
Rancho Santa Margarita, CA 92688


Vfw Post 6056
Southern Shores Fsc 783
230 Mechanic St
Springport, MI 49284
Vfw Post 607
President Gerald R Ford 781
1316 W 3rd St
Rogers City, MI 49779


Vfw Post 6152
Sequoia Council 027
1300 California St
Kingsburg, CA 93631


Vfw Post 6274
Greater St Louis Area Council 312
115 Mimosa Ln
Ballwin, MO 63011


Vfw Post 63
Ore‐Ida Council 106 ‐ Bsa 106
8931 W Ardene St
Boise, ID 83709


Vfw Post 63
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 8966
Boise, ID 83707


Vfw Post 6352   Auxillary
Samoset Council, Bsa 627
403 N Weber Ave
Stratford, WI 54484


Vfw Post 6393
Washington Crossing Council 777
1444 Yardley Newtown Rd
Yardley, PA 19067


Vfw Post 6504 Auxiliary
Greater St Louis Area Council 312
406 Veterans Dr
Waterloo, IL 62298


Vfw Post 6579
Water and Woods Council 782
P.O. Box 163
New Lothrop, MI 48460


Vfw Post 6590
Garden State Council 690
P.O. Box 265
Cookstown, NJ 08511


Vfw Post 6611
Allegheny Highlands Council 382
221 Germania St Ext
Galeton, PA 16922


Vfw Post 6615
Minsi Trails Council 502
3 Vfw Rd
White Haven, PA 18661


Vfw Post 6624
Longs Peak Council 062
3501 State St
Evans, CO 80620


Vfw Post 6624/Moose Lodge 909
Longs Peak Council 062
3501 State St
Evans, CO 80620


Vfw Post 6643 Freetown Memorial Post
Narragansett 546
P.O. Box 511
East Freetown, MA 02717


Vfw Post 6663
Three Fires Council 127
P.O. Box 296
Glen Ellyn, IL 60138


Vfw Post 6695
Great Lakes Fsc 272
1426 S Mill St
Plymouth, MI 48170
Vfw Post 6753 ‐ Howard S Lines
Five Rivers Council, Inc 375
Knoxville Area Youth Organization
Knoxville, PA 16928


Vfw Post 6851
Connecticut Rivers Council, Bsa 066
104 S Canaan Rd
Canaan, CT 06018


Vfw Post 6858
Blackhawk Area 660
804 E Exchange St
Brodhead, WI 53520


Vfw Post 6917
Yucca Council 573
5485 Battaan Memorial W
Las Cruces, NM 88012


Vfw Post 6919
Lasalle Council 165
108 E Washington St
Culver, IN 46511


Vfw Post 6935
Blue Grass Council 204
P.O. Box 293
Harrodsburg, KY 40330


Vfw Post 6992
Central Minnesota 296
901 N Benton Dr
Sauk Rapids, MN 56379


Vfw Post 7050
Central Minnesota 296
416 E Main St
Melrose, MN 56352
Vfw Post 7108
Alamo Area Council 583
P.O. Box 324
Helotes, TX 78023


Vfw Post 7119
Crossroads of America 160
6525 Lee Rd
Indianapolis, IN 46236


Vfw Post 7122
Greater Tampa Bay Area 089
8237 S Florida Ave
Floral City, FL 34436


Vfw Post 725
Rainbow Council 702
P.O. Box 216
19852 Wolf Rd
Mokena, IL 60448


Vfw Post 7302
Water and Woods Council 782
17595 Gratiot Rd
Hemlock, MI 48626


Vfw Post 7376
Moraine Trails Council 500
572 W Main St
Saxonburg, PA 16056


Vfw Post 7397
Heart of America Council 307
9550 Pflumm Rd
Shawnee Mission, KS 66215


Vfw Post 7402
Atlanta Area Council 092
P.O. Box 157
Buchanan, GA 30113


Vfw Post 7564
Northern Lights Council 429
308 Sheyenne St
West Fargo, ND 58078


Vfw Post 7573 Lempke‐Blackwell
Great Lakes Fsc 272
35011 23 Mile Rd
New Baltimore, MI 48047


Vfw Post 7589
National Capital Area Council 082
9268 Matthew Dr
Manassas Park, VA 20111


Vfw Post 76
Alamo Area Council 583
10 10th St
San Antonio, TX 78215


Vfw Post 7662
Northern Star Council 250
421 3rd St
Farmington, MN 55024


Vfw Post 7720
Northeast Georgia Council 101
423 Vfw Post Rd
Cornelia, GA 30531


Vfw Post 7728
National Capital Area Council 082
12496 Harpers Run Rd
Bealeton, VA 22712


Vfw Post 7766
San Diego Imperial Council 049
12463 Rancho Bernardo Rd 531
San Diego, CA 92128


Vfw Post 7788
Connecticut Yankee Council Bsa 072
422 Naugatuck Ave
Milford, CT 06460


Vfw Post 7798
Trapper Trails 589
P.O. Box 233
322 2nd St
Mountain View, WY 82939


Vfw Post 7807
Northeast Georgia Council 101
P.O. Box 927
Hiawassee, GA 30546


Vfw Post 7822
Greater St Louis Area Council 312
P.O. Box 214
Puxico, MO 63960


Vfw Post 7830
Coronado Area Council 192
P.O. Box 264
Jewell, KS 66949


Vfw Post 7916
National Capital Area Council 082
204 Mill St
Occoquan, VA 22125


Vfw Post 7968
Grand Canyon Council 010
250 S Phelps Dr
Apache Junction, AZ 85120


Vfw Post 8064 ‐ Akron
Longs Peak Council 062
275 E 1st St
Akron, CO 80720


Vfw Post 8093
Central Florida Council 083
351 S Charles Richard Beall Blvd
Debary, FL 32713
Vfw Post 8108
Greater Tampa Bay Area 089
P.O. Box 2513
Riverview, FL 33568


Vfw Post 8180
Far E Council 803
Psc 450 Box 515
W
Apo Ap, 96206


Vfw Post 8195
South Florida Council 084
4414 Pembroke Rd
Hollywood, FL 33021


Vfw Post 822 Men S Auxiliary
Water and Woods Council 782
G‐5065 S Saginaw Rd
Flint, MI 48507


Vfw Post 8276
Del Mar Va 081
200 W State St
Delmar, MD 21875


Vfw Post 828
Illowa Council 133
101 S Linwood Ave
Davenport, IA 52802


Vfw Post 8300
Suffolk County Council Inc 404
330 N Dunton Ave
East Patchogue, NY 11772


Vfw Post 8343
Three Harbors Council 636
7740 W View Dr
Wind Lake, WI 53185
Vfw Post 8349
The Spirit of Adventure 227
26 River St
Methuen, MA 01844


Vfw Post 8422‐Smyrna
Middle Tennessee Council 560
P.O. Box 95
Smyrna, TN 37167


Vfw Post 8547
California Inland Empire Council 045
22616 Alessandro Blvd
Moreno Valley, CA 92553


Vfw Post 8647
Allegheny Highlands Council 382
P.O. Box 72
Mayville, NY 14757


Vfw Post 8675/American Legion Post 49
Five Rivers Council, Inc 375
1 Veterans Dr
Troy, PA 16947


Vfw Post 8680
California Inland Empire Council 045
8751 Industrial Ln
Rancho Cucamonga, CA 91730


Vfw Post 8686
Lake Erie Council 440
577 Harris Rd
Sheffield Lake, OH 44054


Vfw Post 878 Of Blooming Prairie
Gamehaven 299
P.O. Box 211
Blooming Prairie, MN 55917


Vfw Post 8793
Twin Rivers Council 364
P.O. Box 147
88 Old State Rd
Ellenburg Depot, NY 12935


Vfw Post 888
California Inland Empire Council 045
P.O. Box 238
Perris, CA 92572


Vfw Post 8890
Illowa Council 133
1810 1st St
East Moline, IL 61244


Vfw Post 8900
Sequoia Council 027
3585 N Blythe Ave
Fresno, CA 93722


Vfw Post 891 / Sgt Daniel Frank Hyatt Sr
Daniel Boone Council 414
P.O. Box 17754
Asheville, NC 28816


Vfw Post 8971
Evangeline Area 212
P.O. Box 492
Eunice, LA 70535


Vfw Post 91
Pacific Harbors Council, Bsa 612
2000 S Union Ave
Tacoma, WA 98405


Vfw Post 9122
Andrew Jackson Council 303
2472 Simpson Hwy 49
Mendenhall, MS 39114


Vfw Post 9143
Northeast Georgia Council 101
1045 Dahlonega Hwy
Cumming, GA 30040


Vfw Post 9167
Circle Ten Council 571
P.O. Box 601
414 N 4th St
Princeton, TX 75407


Vfw Post 9168
Longhorn Council 662
997 E State Hwy 121
Lewisville, TX 75057


Vfw Post 9222 Berkley
Great Lakes Fsc 272
3025 Coolidge Hwy
Berkley, MI 48072


Vfw Post 9299
Longhorn Council 662
P.O. Box 422
6732 E Hwy 67
Alvarado, TX 76009


Vfw Post 9334
Transatlantic Council, Bsa 802
Vilseck
Cmr 411 Box 42
Apo Ae, 09112


Vfw Post 9362
Glaciers Edge Council 620
P.O. Box 2
349 S Walker Way


Vfw Post 9363
Great Lakes Fsc 272
25570 Telegraph Rd
Flat Rock, MI 48134


Vfw Post 9439
Greater Wyoming Council 638
1800 Bryan Stock Trl
Casper, WY 82601


Vfw Post 9455
Water and Woods Council 782
519 S Chipman St
Owosso, MI 48867


Vfw Post 9474 Streets‐Pike
Mount Baker Council, Bsa 606
2254 Hawthorne St
Ferndale, WA 98248


Vfw Post 9482 Copiague
Suffolk County Council Inc 404
270 Trouville Rd
Copiague, NY 11726


Vfw Post 9509
Coastal Carolina Council 550
1142 S Live Oak Dr
Moncks Corner, SC 29461


Vfw Post 9555 Yokota
Far E Council 803
Yokota Air Base
Apo Ap, 96328


Vfw Post 9571
Great Trail 433
11397 Ellsworth Rd
Ellsworth, OH 44416


Vfw Post 9607
Twin Valley Council Bsa 283
1413 2nd Ave
Mountain Lake, MN 56159


Vfw Post 9644
Denver Area Council 061
2680 W Hampden Ave
Englewood, CO 80110


Vfw Post 9644 Mens Auxillary
Denver Area Council 061
2680 W Hampden Ave
Englewood, CO 80110


Vfw Post 9713
Twin Valley Council Bsa 283
1900 N Riverfront Dr
Mankato, MN 56001


Vfw Post 9723 Okinawajapan
Far E Council 803
Okinawa/Lcpl. Frank C. Allen Memorial
Post 9723, Psc 556 Box 776
Fpo, Ap 96372


Vfw Post 9723 Okinawajapan
Far E Council 803
Psc 556 Box 776
Apo Ap, 96386


Vfw Post 976
Greater St Louis Area Council 312
123 W Market St A
Troy, IL 62294


Vfw Post 9760
Shenandoah Area Council 598
P.O. Box 331
425 S Buckmarsh St
Berryville, VA 22611


Vfw Post 9871
Lake Erie Council 440
6805 Lear Nagle Rd
North Ridgeville, OH 44039


Vfw Post 9885
Great Lakes Fsc 272
6440 N Hix Rd
Westland, MI 48185


Vfw Post 9948
Three Harbors Council 636
7802 Durand Ave
Mount Pleasant, WI 53177


Vfw Post 9981
Great Alaska Council 610
9191 Old Seward Hwy
Anchorage, AK 99515


Vfw Post Horne‐Mudlitz
Potawatomi Area Council 651
W232N6342 Waukesha Ave
Sussex, WI 53089


Vfw Post Menge 6756
Great Lakes Fsc 272
Cpl. Richard W Menge Vfw Post 6756
25500 Sherwood
Center Line, MI 48015


Vfw Rushmore Post 1273
Black Hills Area Council 695 695
420 Main St
Rapid City, SD 57701


Vfw Samuel Cimino Post
Allegheny Highlands Council 382
13 N Main St
Silver Creek, NY 14136


Vfw Sgt John W Cooke Post 395
Suffolk County Council Inc 404
P.O. Box 126
Saint James, NY 11780


Vfw Stone City Post 2199
Rainbow Council 702
124 Stone City Dr
Joliet, IL 60436
Vfw Thomas J Kavanaugh Post 2290
Patriots Path Council 358
600 Washington Ave
Manville, NJ 08835


Vfw Victory Post 414
Suffolk County Council Inc 404
437 Main St
Center Moriches, NY 11934


Vfw Wade Burns Post 7279
Suffolk County Council Inc 404
560 N Delaware Ave
Lindenhurst, NY 11757


Vfw Wilde Post 3728
Sioux Council 733
P.O. Box 525
Freeman
Freeman, SD 57029


VFW William B Doughty Post 5723
Pine Tree Council 218
3 Cook St
Jackman, ME 04945


Vfw Winter Springs Post 5405
Central Florida Council 083
420 N Edgemon Ave
Winter Springs, FL 32708


Vfw, Vicenza It
Transatlantic Council, Bsa 802
Cmr 427 Box 641
Apo Ae, 09630


Vfw, Walsh Post No 4499
President Gerald R Ford 781
1211 28th St
Manistee, MI 49660
Vfw5520 Faith Utd Methodist Pack 147
Prairielands 117
1719 S Prospect Ave
Champaign, IL 61820


Vhanna Lancaster
Address Redacted


Vi Bureau Of Internal Revenue
6115 Estate Smith Bay, Ste 225
St Thomas, VI 00802‐1332


Vi Cargo Services LLC
11401 NW 107 St, Ste 200
Miami, FL 33178


Via Real Inc
4020 N Macarthur Blvd, Ste 100
Irving, TX 75038


Vial Fotheringham LLP
17355 SW Boones Ferry Rd, Ste A
Lake Oswego, OR 97035


Vial Fotheringham LLP
515 S 400 E, Ste 200
Salt Lake City, UT 84111


Vianney Vocations LLC
Samuel F Alzheimer
505 N Toombs St
Valdosta, GA 31601


Vice President, Commercial Law
Centurylink Law Dept
600 New Century Pkwy
New Century , KS 66031


Vickers Elementary
South Texas Council 577
708 Glascow St
Victoria, TX 77904


Vickery Creek Elementary PTA
Northeast Georgia Council 101
6280 Post Rd
Cumming, GA 30040


Vicki Baxter
Address Redacted


Vicki Bontrager
Address Redacted


Vicki Daniels
Address Redacted


Vicki Evans
Address Redacted


Vicki Fisher
Address Redacted


Vicki Gerson   Assoc, Inc
2978 Acorn Ln
Northbrook, IL 60062


Vicki Jacobs
Address Redacted


Vicki Kallok
Address Redacted


Vicki Larrick
Address Redacted


Vicki Mengelkamp
Address Redacted
Vicki Moore
Address Redacted


Vicki Mower
Address Redacted


Vicki Rimkus
Address Redacted


Vicki Sanchez
Address Redacted


Vicki Sherman
Address Redacted


Vicki Smith
Address Redacted


Vicki Wilkins
Address Redacted


Vicki Woods
Address Redacted


Vickie Allen
Address Redacted


Vickie Bussard
Address Redacted


Vickie Caldwell
Address Redacted


Vickie Floyd
Address Redacted


Vickie Geiger
Address Redacted


Vickie Harless
Address Redacted


Vickie Lynne Harless
Address Redacted


Vickie Manson
Address Redacted


Vickie Monroe
Address Redacted


Vickie Owens
Address Redacted


Vickie Randalls
Address Redacted


Vickie Sheubrooks
Address Redacted


Vickies Hidden Treasures
Bay Area Council 574
11 S Algeria St
Texas City, TX 77591


Vicksburg Co 898 Knights Of Columbus
Andrew Jackson Council 303
P.O. Box 802425
Vicksburg, MS 39182


Vicksburg Council 898‐Knights Of
Andrew Jackson Council 303
P.O. Box 820425
Vicksburg, MS 39182


Vicksburg Utd Methodist Church
Southern Shores Fsc 783
7794 Ts Ave E
Scotts, MI 49088


Vicky Boyd
Address Redacted


Vicky Doering
Address Redacted


Vicky Ferguson
Address Redacted


Vicky Tucker
Address Redacted


Victaulic Co Of America
Minsi Trails Council 502
4901 Kesslersville Rd
Easton, PA 18040


Victor Arsenault
Address Redacted


Victor Candlin American Legion Post 18
Longs Peak Council 062
809 30th Ave
Greeley, CO 80634


Victor Carbonneau
Address Redacted


Victor Carpenter
Address Redacted


Victor Correa
Address Redacted


Victor Durrah Jr
Address Redacted


Victor Enchelmayer
Address Redacted


Victor George
Address Redacted


Victor Graphics Inc
1211 Bernard Dr
Baltimore, MD 21223


Victor Heiden
Address Redacted


Victor J Estrella‐Hernandez
Address Redacted


Victor Korelstein
Address Redacted


Victor L Bracone Vfw Post 5913
Hudson Valley Council 374
8 School St
Wappingers Falls, NY 12590


Victor Lions Club
Hawkeye Area Council 172
623 Williams St
P.O. Box 507
Victor, IA 52347


Victor Lions Club
Seneca Waterways 397
P.O. Box 85
Victor, NY 14564


Victor Nthato Manly
Address Redacted
Victor P Closson
Address Redacted


Victor Pooler
Address Redacted


Victor Rivera
Address Redacted


Victor Rodriguez
Address Redacted


Victor Rowberry
Address Redacted


Victor Transmission
W.L.A.C.C. 051
1246 San Fernando Rd
San Fernando, CA 91340


Victor Valley Parent Assoc
California Inland Empire Council 045
P.O. Box 2127
Victorville, CA 92393


Victor Valley Womens Club
California Inland Empire Council 045
P.O. Box 2469
Victorville, CA 92393


Victor Will
Address Redacted


Victor Zuniga
Address Redacted


Victoria B Swantek
Address Redacted
Victoria Box
Address Redacted


Victoria Christian Church
Heart of Virginia Council 602
2100 Lee Ave
Victoria, VA 23974


Victoria Contreras
Address Redacted


Victoria Detwiler
Address Redacted


Victoria Esckelson
Address Redacted


Victoria F Sellers
Address Redacted


Victoria G Chambers
Address Redacted


Victoria Group Inc
dba Victoria of Rosemont
6600 N Mannheim Rd
Rosemont, IL 60018‐3625


Victoria Hills Community Church
Blue Ridge Council 551
209 Victor Ave
Greer, SC 29651


Victoria Johnson‐Anderson
Address Redacted


Victoria L Bradford
Address Redacted
Victoria L Geoghagan
Address Redacted


Victoria L Hill
Address Redacted


Victoria Lion S Club
Northern Star Council 250
P.O. Box 315
Victoria, MN 55386


Victoria Marie Contreras
Address Redacted


Victoria Mccleery
Address Redacted


Victoria Montgomery
Address Redacted


Victoria Morris
Address Redacted


Victoria N Kramer
Address Redacted


Victoria Papke
Address Redacted


Victoria Police Dept
South Texas Council 577
306 S Bridge St
Victoria, TX 77901


Victoria Presbyterian Church
California Inland Empire Council 045
6091 Victoria Ave
Riverside, CA 92506
Victoria R Parsons
Address Redacted


Victoria Rotary Club
South Texas Council 577
P.O. Box 7114
Victoria, TX 77903


Victoria Ryan
Address Redacted


Victoria Stodgell
Address Redacted


Victoria Vinton
Address Redacted


Victorinox Swiss Army Inc
7 Victoria Dr
Monroe, CT 06468


Victorinox Swiss Army Inc
P.O. Box 845362
Boston, MA 02284‐5362


Victory Baptist Church Of Myrtle Beach
Pee Dee Area Council 552
950 38th Ave N
Myrtle Beach, SC 29577


Victory Bible Church Of Hammonton
Jersey Shore Council 341
P.O. Box 833
Hammonton, NJ 08037


Victory Congregational Methodist Church
Andrew Jackson Council 303
125 Hwy 469 N
Florence, MS 39073
Victory Elementary School
National Capital Area Council 082
12001 Tygart Lake Dr
Bristow, VA 20136


Victory Management Group
8223 Village Harbor Dr
Cornelius, NC 28031


Victory Memorial Utd Methodist Church
Golden Spread Council 562
P.O. Box 881
Guymon, OK 73942


Victory Pointe Boys And Girls Club
North Florida Council 087
6750 Ramona Blvd
Jacksonville, FL 32205


Victory Villa Baptist Church
Baltimore Area Council 220
75 Chandelle Rd
Middle River, MD 21220


Victory World Christian School
Northeast Georgia Council 101
5905 Brook Hollow Pkwy
Norcross, GA 30071


Vidalia Kiwanis Club
Coastal Georgia Council 099
P.O. Box 1183
Vidalia, GA 30475


Video Assist Dallas
141 Regal Row
Dallas, TX 75247


Video City
7205 S Cooper St 101
Arlington, TX 76001
Video Copy Services Inc
4000 Dekalb Technology Pkwy
Bldg 500, Ste 500
Atlanta, GA 30340


Video Monitoring Services Of America, LP
P.O. Box 34618
Newark, NJ 07189‐4618


Video Post   Transfer Inc
2727 Inwood Rd
Dallas, TX 75235


Vidor Law Enforcement Explorers
Three Rivers Council 578
695 E Railroad St
Vidor, TX 77662


Vieau School ‐ Clc
Three Harbors Council 636
823 S 4th St
Milwaukee, WI 53204


Viejas Fire Dept
San Diego Imperial Council 049
19860 Viejas Grade Rd
Alpine, CA 91901


Vienna Baptist Church
Buckskin 617
3400 Grand Central Ave
Vienna, WV 26105


Vienna First Baptist Church
Greater St Louis Area Council 312
P.O. Box 727
Vienna, IL 62995


Vienna Presbyterian Church
National Capital Area Council 082
124 Park St Ne
Vienna, VA 22180


Vienna Utd Methodist Church
Leatherstocking 400
P.O. Box 64
North Bay, NY 13123


Vienna Utd Methodist Church
Minsi Trails Council 502
P.O. Box 34
Vienna, NJ 07880


Viers Mill Baptist Church
National Capital Area Council 082
12221 Veirs Mill Rd
Silver Spring, MD 20906


Viet
Southeast Louisiana Council 214
13435 Granville St
New Orleans, LA 70129


Vietnam Committee On Scouting
Golden Empire Council 047
P.O. Box 163
Fair Oaks, CA 95628


Vietnam Veterans Assoc Chapter 794
Greater St Louis Area Council 312
P.O. Box 2700
Florissant, MO 63032


Vietnam Veterans Assoc/Chp 786
Black Warrior Council 006
P.O. Box 1032
Winfield, AL 35594


Vietnam Veterans Chapter 794
Greater St Louis Area Council 312
P.O. Box 2700
Florissant, MO 63032
Vietnam Veterans Of America ‐ Chap 351
Bay‐Lakes Council 635
N2241 Mayflower Rd
Appleton, WI 54913


Vietnam Veterans Of America ‐ Chap 351
Bay‐Lakes Council 635
P.O. Box 1862
Appleton, WI 54912


Vietnam Veterans Of America Chapter 292
Three Rivers Council 578
P.O. Box 1071
Beaumont, TX 77704


Vietnam Veterens Of America Ch925
Pee Dee Area Council 552
P.O. Box 16142
Surfside Beach, SC 29587


View 1St Ward ‐ Oakley Stake
Snake River Council 111
551 E 400 S
Burley, ID 83318


View 2Nd Ward ‐ Oakley Stake
Snake River Council 111
550 S 490 E
Burley, ID 83318


View Acres PTO
Cascade Pacific Council 492
4828 SE View Acres Rd
Portland, OR 97267


Vigilant Fire Co
Greater Niagara Frontier Council 380
666 Main St
Buffalo, NY 14224
Vigilant Hose Co 1
Laurel Highlands Council 527
1800 Romine Ave
Mckeesport, PA 15133


Vigilant Hose Co Of Port Vue
Laurel Highlands Council 527
1800 Romine Ave
Mckeesport, PA 15133


Vigna Information System LLC
5105 Mystic Hollow Ct
Flower Mound, TX 75028


Vigo County Conservation Club Inc
Crossroads of America 160
10382 Grotto Rd
Terre Haute, IN 47805


Vijay K Challa
Address Redacted


Vijay Krishnaraj
Address Redacted


Vijay S Nair
Address Redacted


Vikik Forney
Address Redacted


Viking Billing Service, Inc
P.O. Box 59207
Minneapolis, MN 55459


Viking Bow   Gun Club Inc
Bay‐Lakes Council 635
P.O. Box 346
Valders, WI 54245
Viking Cleaners, Inc
3201 E Indian School Rd
Phoenix, AZ 85018


Villa D Este Spa
Via Regina 40
Cernobbio Como , 22012
Italy


Villa Madonna Academy
Dan Beard Council, Bsa 438
2500 Amsterdam Rd
Villa Hills, KY 41017


Villa Maria Academy
Greater New York Councils, Bsa 640
3335 Country Club Rd
Bronx, NY 10465


Villa Of Hope
Seneca Waterways 397
3300 Dewey Ave
Rochester, NY 14616


Villa Park Police Dept
Three Fires Council 127
40 S Ardmore Ave
Villa Park Police Station
Villa Park, IL 60181


Villa Rica First Utd Methodist Church
Atlanta Area Council 092
1789 Carrollton Villa Rica Hwy
Villa Rica, GA 30180


Villa Rica Lions Club
Atlanta Area Council 092
56 Blackstock Rd
Randy Boyd
Villa Rica, GA 30180


Villa Rica Police Dept
Atlanta Area Council 092
101 Main St
Villa Rica, GA 30180


Villa Rica Ward
Atlanta Area Council 092
205 Ensign Dr
Dallas, GA 30157


Village Antioch Presbyterian Church
Heart of America Council 307
14895 Antioch Rd
Overland Park, KS 66221


Village Christian School
Verdugo Hills Council 058
8930 Village Ave
Sun Valley, CA 91352


Village Church Of La Grange Park Ucc
Pathway To Adventure 456
1150 Meadowcrest Rd
La Grange Park, IL 60526


Village Elementary School PTO
Jayhawk Area Council 197
2302 W 15th Ave
Emporia, KS 66801


Village Gourmet
1410 Colonial Life Bldg, Ste 150
Columbia, SC 29210


Village Heights Commty
Of Christ Church
Heart Of America Council 307
1009 N Farview Dr
Independence, Mo 64056


Village Meadows Baptist Church
Catalina Council 011
1407 El Camino Real
Sierra Vista, AZ 85635


Village Oaks Common Area Assoc
Great Lakes Fsc 272
22859 Brookforest
Novi, MI 48375


Village Of Angel Fire
3388 Mountain View Blvd
Angel Fire, NM 87710


Village Of Arlington Heights
P.O. Box 215
Jonesborough, IN 37659


Village Of Athens
Rip Van Winkle Council 405
2 1st St
Athens, NY 12015


Village Of Camillus
Longhouse Council 373
37 Main St
Camillus, NY 13031


Village Of Cimarron
356B E 9th St
P.O. Box 654
Cimarron, NM 87714


Village Of Cimarron
P.O. Box 654
Cimarron, NM 87714


Village Of Depew Fire Dept
Greater Niagara Frontier Council 380
85 Manitou St
Depew, NY 14043


Village Of Grafton ‐ Fire Dept
Bay‐Lakes Council 635
1431 13th Ave
Grafton, WI 53024


Village Of La Grange
53 S La Grange Rd
La Grange, IL 60525


Village Of Lake Zurich Police Dept
c/o Lz Police Dept
Pathway To Adventure 456
200 Mohawk Trl
Lake Zurich, IL 60047


Village Of Mamaroneck Fire Dept
Westchester Putnam 388
123 Mamaroneck Ave
Mamaroneck, NY 10543


Village Of Midlothian
14801 S Pulaski Rd
Midlothian, IL 60445


Village Of Mount Prospect
100 S Emerson St
Mount Prospect, IL 60056


Village Of Mount Prospect
50 S Emerson St
Mount Prospect, IL 60056


Village Of Mukwonago Police Dept
Potawatomi Area Council 651
627 S Rochester St
Mukwonago, WI 53149


Village Of Oxford Fire Dept
Baden‐Powell Council 368
P.O. Box 570
Oxford, NY 13830


Village Of Quogue Fire Dept
Suffolk County Council Inc 404
117 Jessup Ave
Quogue, NY 11959


Village Of Scarsdale Fire Dept
Westchester Putnam 388
50 Tompkins Rd
Scarsdale, NY 10583


Village Of Searights
Westmoreland Fayette 512
302 Village of Searights
Uniontown, PA 15401


Village Of South Salem Town Council
Simon Kenton Council 441
P.O. Box 29
South Salem, OH 45681


Village Of Walbridge
Erie Shores Council 460
704 N Main St
Walbridge, OH 43465


Village Of Willowbrook
Pathway To Adventure 456
7760 S Quincy St
Willowbrook, IL 60527


Village Office Supply
600 Apgar Dr
Somerset, NJ 08873


Village Prep Willard
Lake Erie Council 440
2220 W 95th St
Cleveland, OH 44102


Village Presbyterian Church
Heart of America Council 307
6641 Mission Rd
Prairie Village, KS 66208
Village Presbyterian Church
Northeast Illinois 129
1300 Shermer Rd
Northbrook, IL 60062


Village School Psa
Monmouth Council, Bsa 347
67 Mccampbell Rd
Village School Psa
Holmdel, NJ 07733


Village Tech School
Circle Ten Council 571
1010 E Parkerville Rd
Cedar Hill, TX 75104


Village Utd Methodist Church
Quapaw Area Council 018
200 Carmona Rd
Hot Springs Village, AR 71909


Villager Book Publishing
P.O. Box 2061
Dallas, TX 75248


Villages Of Kapolei Assoc
Aloha Council, Bsa 104
91‐1111 Kamaaha Loop
Kapolei, HI 96707


Villages Of The Mills Northeast Hoa
Crossroads of America 160
3615 Sherman Forest Dr
Indianapolis, IN 46205


Villanova University
Attn Bursars Office Kennedy Hall
800 Lancaster Ave
Villanova, PA 19085
Villas Elementary
Southwest Florida Council 088
8385 Beacon Blvd
Fort Myers, FL 33907


Vilonia Utd Methodist Church
Quapaw Area Council 018
1112 Main St
Vilonia, AR 72173


Vinay Manda
Address Redacted


Vince Armstrong
Address Redacted


Vince Deconna Distributing, Inc
P.O. Box 39
Orange Lake, FL 32681


Vincennes University
Buffalo Trace 156
1002 N 1st St
Vincennes, IN 47591


Vincent Ballard
Address Redacted


Vincent Bath
Address Redacted


Vincent Borrelli
Address Redacted


Vincent Bradley
Address Redacted


Vincent Cozzone
Address Redacted
Vincent Dorsey
Address Redacted


Vincent Kirsch
Address Redacted


Vincent L Gatto
Address Redacted


Vincent Lambert
Address Redacted


Vincent Manning
Address Redacted


Vincent Manno
Address Redacted


Vincent Miller
Address Redacted


Vincent Montgomery
Address Redacted


Vincent P Rico Assoc
92 Lake St
Shrewsbury, MA 01545


Vincent Redden
Address Redacted


Vincent Robinson
Address Redacted


Vincent Utd Methodist Church
Northern New Jersey Council, Bsa 333
100 Vincent Pl
Nutley, NJ 07110
Vincent Zawada Illustration
8827 Rockaway Rd
Richmond, VA 23235


Vincentown Utd Methodist Church
Garden State Council 690
97 Main St
Southampton, NJ 08088


Vine And Branches Lutheran Church
National Capital Area Council 082
25615 Lennox Hale Dr
Aldie, VA 20105


Vine Congregational Church
Cornhusker Council 324
1800 Twin Ridge Rd
Lincoln, NE 68506


Vine Grove Utd Methodist Church
Lincoln Heritage Council 205
306 High St
Vine Grove, KY 40175


Vineyard Church
Tecumseh 439
4051 Indian Ripple Rd
Beavercreek, OH 45440


Vineyard Church Of Salinas
Silicon Valley Monterey Bay 055
1122 E Alisal St
Salinas, CA 93905


Vineyard Ward
Greater Yosemite Council 059
1510 W Century Blvd
Lodi, CA 95242


Vinita Masonic Lodge 5
Cherokee Area Council 469 469
237 N Foreman St
Vinita, OK 74301


Vinnell Arabia LLC
Transatlantic Council, Bsa 802
P.O. Box 5396
Riyadh,


Vinnie Farina Signs
630 Little Britain Rd
New Windsor, NY 12553


Vinson   Elkins LLP
P.O. Box 301019
Dallas, TX 75303‐1019


Vinson Brown
Address Redacted


Vinton Lions Club
Hawkeye Area Council 172
205 W 4th St
Lions Club c/o Kerdus    Barron Pc
Vinton, IA 52349


Vinton Noon Kiwanis Club
Hawkeye Area Council 172
509 W 12th St
Vinton, IA 52349


Vinyl Art Inc
15300 28th Ave N
Plymouth, MN 55447


Viola Blythe Community Service Ctr
San Francisco Bay Area Council 028
P.O. Box 362
Newark, CA 94560


Viola Rod And Gun Club, Inc
Hudson Valley Council 374
26 Forest Dr
Hyde Park, NY 12538


Violet Litwinski
Address Redacted


Violet Parrott
Address Redacted


Violet Township Fire Dept
Simon Kenton Council 441
8700 Refugee Rd
Pickerington, OH 43147


Vip Courier Express LLC
3401 International Airport Dr, Ste 100
Charlotte, NC 28208


Virgil I Grissom Elementary
Sam Houston Area Council 576
4900 Simsbrook Dr
Houston, TX 77045


Virgin Island Police Dept
National Capital Area Council 082
P.O. Box 503241
Police Commissioners Office
St Thomas, VI 00805


Virgin Islands Bureau Internal Revenue
6115 Estate Smith Bay, Ste 225
St Thomas, Vi 00802‐1332


Virgin Mary    St Pachomius
Coptic Orthodox Ch
Hudson Valley Council 374
3 Swim Club Rd
Stony Point, Ny 10980


Virginia Alley
Address Redacted


Virginia Artesian Bottling Co
4300 Spring Run Rd
Mechanicsville, VA 23116


Virginia Avenue Utd Methodist Church
Sequoyah Council 713
1127 Virginia Ave
Bristol, TN 37620


Virginia Beach Moose Family Ctr 1198
Tidewater Council 596
3133 Shipps Corner Rd
Virginia Beach, VA 23453


Virginia Beach Utd Methodist Church
Tidewater Council 596
212 19th St
Virginia Beach, VA 23451


Virginia Brandsma
Address Redacted


Virginia Bunce
Address Redacted


Virginia Cottone
Address Redacted


Virginia Dept Of Transportation
1401 E Broad St
Richmond, VA 23219


Virginia Dept Of Treasury
Division of Unclaimed Property
P.O. Box 2478
Richmond, VA 23218


Virginia Doyle
Address Redacted


Virginia Edwards Cummunity Ctr
Southern Shores Fsc 783
925 Buss Ave
Benton Harbor, MI 49022


Virginia Farmer
Address Redacted


Virginia Fire Dept
Voyageurs Area 286
115 N 4th Ave
Virginia, MN 55792


Virginia Fitzgerald
Address Redacted


Virginia Golf Cars Inc
4445 Early Rd
Harrisonburg, VA 22801


Virginia Gorby
Address Redacted


Virginia H Gohrband
Address Redacted


Virginia Hall
Address Redacted


Virginia Hansel
Address Redacted


Virginia Holland
Address Redacted


Virginia Isaac
Address Redacted
Virginia J Bradley
Address Redacted


Virginia Johnson
Address Redacted


Virginia Leeman
Address Redacted


Virginia Legowik
Address Redacted


Virginia Lujan
Address Redacted


Virginia Mate
Address Redacted


Virginia Military Institute
Attn Student Accounts
Student Accounting Dept Smith Hall
Lexington, VA 24450


Virginia Molina
Address Redacted


Virginia Museum Of Fine Arts
Special Events Office
200 N Blvd
Richmond, VA 23220


Virginia O Shaughnessy
Address Redacted


Virginia Office Of The Attorney General
Consumer Resource Center
800 5th Ave, Ste 2000
Seattle, WA 98104
Virginia Palladino
Address Redacted


Virginia Polytechnic Inst   State Univ
dba Virginia Tech
800 Washington St Sw, Ste 150
Blacksburg, VA 24061


Virginia Raymond‐Fleisher
Address Redacted


Virginia Reyna
Address Redacted


Virginia Richardson
Address Redacted


Virginia Run Homeowners Assoc
National Capital Area Council 082
15355 Wetherburn Ct
Centreville, VA 20120


Virginia Sansoucie
Address Redacted


Virginia State Attorneys General
900 E Main St
Richmond, VA 23219


Virginia Steel    Fabrication Inc
36 Progress Dr
Bastian, VA 24314


Virginia Strickland
Address Redacted


Virginia Striley
Address Redacted
Virginia Tech Corps Of Cadets
Blue Ridge Mtns Council 599
Eagle Scout Assoc
Lane Hall, Rm 141
Blacksburg, VA 24061


Virginia Toogood
Address Redacted


Virginia Utd Methodist Church
Abraham Lincoln Council 144
401 E Broadway St
Virginia, IL 62691


Virginia Wightman
Address Redacted


Virtue Cumberland Presbyterian Church
Great Smoky Mountain Council 557
725 Virtue Rd
Knoxville, TN 37934


Visalia Breakfast Rotary
Sequoia Council 027
2402 W Main St
Visalia, CA 93291


Visalia Kiwanis
Sequoia Council 027
P.O. Box 942
Visalia, CA 93279


Visalia Police Dept
Sequoia Council 027
303 S Johnson St
Visalia, CA 93291


Visalia Sportsman S Assoc
Sequoia Council 027
536 E Roosevelt Ave
Visalia, CA 93291


Visalia Utd Methodist Church
Sequoia Council 027
5200 W Caldwell Ave
Visalia, CA 93277


Vision Business Products
P.O. Box 79034
City of Industry, CA 91716‐9034


Vision Communications
Southeast Louisiana Council 214
P.O. Box 188
Larose, LA 70373


Vision Of Faith Church
Indian Nations Council 488
8730 S Lynn Lane Rd
Broken Arrow, OK 74012


Vision Of Hope Umc
Stonewall Jackson Council 763
1723 Port Republic Rd
Rockingham, VA 22801


Vision Quest Productions Inc
P.O. Box 1896
Wayne, NJ 07470‐1896


Vision Service Plan
File 73280
P.O. Box 742788
Los Angeles, CA 90074‐2788


Vision Source
Las Vegas Area Council 328
4840 E Bonanza Rd, Ste 6
Las Vegas, NV 89110


Vision Wifi
Grand Teton Council 107
977 W 100 N
Blackfoot, ID 83221


Visionpoint
11112 Aurora Ave
Des Moines, IA 50322‐7903


Visit Southern West Virginia
1408 Harper Rd
Beckley, WV 25801


Visitation Catholic Parish And School
Pacific Harbors Council, Bsa 612
3314 S 58th St
Tacoma, WA 98409


Visitation Catholic School
Cascade Pacific Council 492
4189 NW Visitation Rd
Forest Grove, OR 97116


Visitation Church
Greater Los Angeles Area 033
6561 W 88th St
Los Angeles, CA 90045


Visitation Of Our Lady Catholic Church
Southeast Louisiana Council 214
3500 Ames Blvd
Marrero, LA 70072


Visitation Parish Council
Three Fires Council 127
851 S York St
Elmhurst, IL 60126


Visitation, Blessed Virgin Mary Parish
Cradle Of Liberty Council 525
196 N Trooper Rd
Norristown, Pa 19403
Vista Academy
Denver Area Council 061
4800 Telluride St Bldg 6
Denver, CO 80249


Vista De La Montana Utd Methodist Ch
Catalina Council 011
3001 E Miravista Ln
Tucson, Az 85739


Vista Del Futuro Charter School
Yucca Council 573
1671 Bob Hope Dr
El Paso, TX 79936


Vista Outdoor Sales LLC
262 N University Ave
Farmington, UT 84025


Vista Outdoor Sales LLC
P.O. Box 734147
Chicago, IL 60673‐4147


Vista Outdoor Sales, LLC
dba Gold Tip
9200 Cody
Overland Park, KS 66214


Vista Outdoor Sales, LLC
Sds 12‐0312 P.O. Box 86
Minneapolis, MN 55486‐0312


Vista Print Usa
Attn Payment Processing
100 Hayden Ave
Lexington, MA 02421


Vista Ridge Utd Methodist Church
Longhorn Council 662
2901 Denton Tap Rd
Lewisville, TX 75067
Vista Volunteer Fire Dept
Westchester Putnam 388
377 Smith Ridge Rd
South Salem, NY 10590


Vista Ysleta Utd Methodist Church
Yucca Council 573
11860 Rojas Dr
El Paso, TX 79936


Vistabooks
0637 Blue Ridge Rd
Silverthorne, CO 80498‐8927


Vistamation, Inc
40011 Via View
Temecula, CA 92592


Visual Electronics Ltd
8200 E Pacific Pl, Ste 103
Denver, CO 80231


Visual Learning Systems, Inc
P.O. Box 905534
Charlotte, NC 28290‐5534


Visual Retailing LLC
731 Lunns Way
Plymouth, MA 02360


Visual Techniques
2200 Jahan Trail
Longview, TX 75604


Visuals Unlimited
27 Meadow Dr
Hollis, NH 03049


Vitec Online
P.O. Box 678287
Dallas, TX 75267‐8287


Viva Mcfarland
Address Redacted


Vivian B Adams PTA
Alabama‐Florida Council 003
2047 Stuart Tarter Rd
Ozark, AL 36360


Vivian Braswell
Address Redacted


Vivian Ingram
Address Redacted


Vivian Skinner
Address Redacted


Viyu Network Solutions
1263 N Plano Rd
Richardson, TX 75081


Vizion Interactive Inc
7500 W 151st St
P.O. Box 24262
Overland Park, KS 66283


Vk Foundation
San Diego Imperial Council 049
7305 Calle Conifera
Carlsbad, CA 92009


Vkernel Corp
300 Brickstone Sq, Ste 503
Andover, MA 01810


Vly Presbyterian Ch Portola Vly
Pacific Skyline Council 031
945 Portola Rd
Portola Valley, Ca 94028


Vmi Productions Inc
209 D St
South Charleston, WV 25303


Vmp Foundation Inc
Three Harbors Council 636
3023 S 84th St
West Allis, WI 53227


Vmware, Inc
Dept Ch10806
Palatine, IL 60055‐0806


Vni Software Inc
14091 Goldenwest
Westminster, CA 92683


Vnr‐1 Communications Inc
711 Stadium Dr, Ste 210
Arlington, TX 76011


Vogt Elementary School PTO
Greater St Louis Area Council 312
200 Church St
Saint Louis, MO 63135


Voice Of Vietnamese Americans
National Capital Area Council 082
3107 Collie Ln
Falls Church, VA 22044


Voice Trax West Inc
12215 Ventura Blvd, Ste 205
Studio City, CA 91604


Voight S Bus Service Inc
P.O. Box 1
St Cloud, NM 56302‐0001
Voigt S Bus Companies
Central Minnesota 296
P.O. Box 1
Saint Cloud, MN 56302


Volcano Discovery Gbr
Kronenstr 2
Troisdorf, 53840
Germany


Volga Community Fire Dept
Northeast Iowa Council 178
300 Lafayette St
Volga, IA 52077


Voltz
5 N Central Ave
Ely, MN 55731


Volunteer Fire Dep Fayal
Voyageurs Area 286
4375 Shady Ln
Eveleth, MN 55734


Volunteer Medical Services Corps
Cradle of Liberty Council 525
175 Medical Campus Dr
Lansdale, PA 19446


Volunteers Of Fenton Police Dept
Water and Woods Council 782
311 S Leroy St
Fenton, MI 48430


Volunters Of America
Nevada Area Council 329
335 Record St
Reno, NV 89512


Voluntown Fire Dept
Connecticut Rivers Council, Bsa 066
Route 165
Voluntown, CT 06384


Voluntown Peace Trust
Connecticut Rivers Council, Bsa 066
539 Beach Pond Rd
Voluntown, CT 06384


Voluntown Scouts Inc
Connecticut Rivers Council, Bsa 066
286 Shetucket Tpke
Voluntown, CT 06384


Volusia County Sheriffs Office
Central Florida Council 083
1691 Providence Blvd
Deltona, FL 32725


Vomela Specialty
dba Fusion Imaging
601 W Boro St
Kaysville, UT 84037


Von Hoffmann Corp
P.O. Box 7060
St Louis, MO 63195‐7060


Von Oven Scout Reservation Inc
Three Fires Council 127
1621 Fender Rd
Naperville, IL 60565


Vona Morstein
Address Redacted


Vonda Hiland
Address Redacted


Vong Thor
Address Redacted
Vortex
2210 Hutton Dr, Ste 103
Carrollton, TX 75006


Vortex Colorado Inc
File 1525
1801 W Olympic Blvd
Pasadena, CA 91199‐1525


Voyageur Bait   Tackle
2001 Hwy 11B
P.O. Box 1552
Atikokan, On P0T 1C0
Canada


Voyageur Lumber Inc
101 W Sheridan
Ely, MN 55731


Voyageurs Area
3877 Stebner Rd
Hermantown, MN 55811‐1733


Voyageurs Area Cncl 286
3877 Stebner Rd
Hermantown, MN 55811‐1733


Vp Imaging, Inc
dba Docunav Solutions
8501 Wade Blvd, Ste 760
Frisco, TX 75034‐5894


Vp Imaging, Inc
dba Docunav Solutions
8502 Wade Blvd, Ste 760
Frisco, TX 75034


Vp S Portable Toilets Inc
Box 315
Ely, MN 55731
Vsg Inc
11126 Lindbergh Business Court
St. Louis, MO 63123


Vsp
5700 Granite Pkwy, Ste 350
Plano, TX 75024


Vtp
2721 W Magnolia Blvd
Burbank, CA 91505


Vu Ryte Inc
1530 S S W Loop 323, Ste 111
Tyler, TX 75701


Vulcan Information Packaging
Drawer 2301, P.O. Box 5935
Troy, MI 48007‐5935


Vulcan Information Packaging
P.O. Box 29
Vincent, AL 35178‐0029


Vulcan Information Packaging
P.O. Box 29 1 Looseleaf Ln
Vincent, AL 35178‐0029


Vumc Laboraties
Middle Tennessee Council 560
1301 Medical Center Dr Tvc 4605
Nashville, TN 37232


W A Fisher Co
123 Chestnut St, Box 1107
Virginia, MN 55792‐1107


W B Mason Co Inc
P.O. Box 981101
Boston, MA 02298‐1101


W B Strong Fire Co Inc
Baden‐Powell Council 368
Union St
Freeville, NY 13068


W Boyd Giles
Address Redacted


W Boylston
Masonic Charityand Education Assoc Inc
Heart Of New England Council 230
P.O. Box 225
West Boylston, Ma 01583


W Brookfield
Our Lady Of The Sacred Heart
Heart Of New England Council 230
10 Mill Rd
West Brookfield, Ma 01585


W Brookfield
Wickaboag Sportsman S Club
Heart Of New England Council 230
P.O. Box 462
89 New Braintree Rd
West Brookfield, Ma 01585


W Brooks
Address Redacted


W Christopher Earl
Address Redacted


W D Boyce Cncl 138
614 N E Madison
Peoria, IL 61603‐3886


W D Boyce Cncl 138 Kevin Cook
614 NE Madison Ave
Peoria, IL 61603‐3886


W D S Construction, Inc
111 Rowell St
Beaver Dam, WI 53916


W Dan Hauser Dds
Ore‐Ida Council 106 ‐ Bsa 106
4603 Skyway St, Ste 101
Caldwell, ID 83605


W Douglas Cnty Fire Prot Distr
Denver Area Council 061
4037 W Platte Ave
Sedalia, Co 80135


W E Fuller Co
45 Main St
Amesbury, MA 01913


W Frank Risell
Address Redacted


W Glen Despain
Address Redacted


W H Edwards Co
Midwest Distribution
313 SE Oldham Pkwy
Lees Summit, MO 64081


W Hartley Pierson
Address Redacted


W Hofmann
Address Redacted


W Hurt
Address Redacted
W J Turner Elementary ‐ Gfwar
Longhorn Council 662
3000 NW 26th St
Fort Worth, TX 76106


W Joe Shaw, Ltd
dba Medsafe
P.O. Box 1929
Marshall, TX 75671‐1929


W M Enviromental Group Inc
906 E 18th St, Ste 100
Plano, TX 75074


W M Serazio Co, Inc
P.O. Box 1192
Raton, NM 87740


W Oakey
Address Redacted


W R Cannon Utd Methodist Church
Northeast Georgia Council 101
2424 Webb Gin House
Road


W R Case   Sons Cutlery Co
P.O. Box 4000
Bradford, PA 16701


W R Murdock   Sons Inc
220 Laurel Creek Rd
Fayetteville, WV 25840


W Ralph Mcnulty Vfw Post 214
Laurel Highlands Council 527
318 52nd St
Pittsburgh, PA 15201


W Robert Booker
Address Redacted


W Robert Cree
Address Redacted


W Robert Hofmann
Address Redacted


W S Darley   Co
325 Spring Lake Dr
Itasca, IL 60143‐2072


W S Sign Design Corp
884 Alden St
Springfield, MA 01109


W Smith Junior PTO
Southeast Louisiana Council 214
6701 E Saint Bernard Hwy
Violet, LA 70092


W T Cox Subscriptions
201 Village Rd
Shallotte, NC 28470‐4441


W T Lewis Elementary School Boosters
Norwela Council 215
4701 Modica Lott Rd
Bossier City, LA 71111


W Terrace Parent Supp Grp Special Needs
Buffalo Trace 156
8000 W Terrace Dr
Evansville, In 47712


W Todd Walter
Address Redacted


W V Div Of Forestry
Clements State Tree Nursery
624 Forestry Dr
West Columbia, WV 25287


W V Secretary Of State
1615 E Washington St
Charleston, WV 25311


W Va Electric Supply Co
5710 Robert C Byrd Dr
Bradley, WV 25818


W Virginia Office, State Treasurer
Unclaimed Property Div
Capitol Complex
Charleston, Wv 25305


W W Bushman Special Education
Circle Ten Council 571
4200 Bonnie View Rd
Dallas, TX 75216


W W Cannon Inc
P.O. Box 540006
Dallas, TX 75354


W W Grainger
Dept 802392720
P.O. Box 419267
Kansas City, MO 64141‐6267


W W Grainger, Inc
P.O. Box 419267
Kansas City, MO 64141‐6267


W Walter
Address Redacted


W. R. Berkley Corp
475 Steamboat Rd
Greenwich, CT 06830
W2007 Mvp Dallas, LLC
dba Sheraton Dallas
400 N Olive St
Dallas, TX 75201


Wa Dept Of Veterans Affairs
Wa Soldiers Home
Pacific Harbors Council, Bsa 612
1301 Orting Kapowsin Hwy E
Orting, Wa 98360


WA Office Of The Attorney General
P.O. Box 8911
2811 Agriculture Dr
Madison, WI 53708‐8911


Wabash Conservation Club Inc
Sagamore Council 162
5000 W Millcreek Pike
Wabash, IN 46992


Wabash Elks Lodge 471
Sagamore Council 162
P.O. Box 263
225 W Main St
Wabash, IN 46992


Wabash Valley After School Program
Crossroads of America 160
501 S 25th St
Terre Haute, IN 47803


Wachtell, Lipton, Rosen   Katz
Attn Douglas K. Mayer
51 W 52nd St
New York, NY 10019


Wachtell, Lipton, Rosen  Katz
Attn Joseph C. Celentino
51 W 52nd St
New York, NY 10019
Wachtell, Lipton, Rosen     Katz
Attn Richard G. Mason
51 W 52nd St
New York, NY 10019


Wachtell, Lipton, Rosen  Katz
Attn Richard Mason/Douglas Mayer
Attn Joseph C. Celentino
51 W 52nd St
New York, NY 10019


Waco Montessori School
Longhorn Council 662
1920 Columbus Ave
Waco, TX 76701


Waco Police Dept
Longhorn Council 662
3115 Pine Ave
Waco, TX 76708


Waconia Lions Club
Northern Star Council 250
P.O. Box 21
Waconia, MN 55387


Wacousta Commty
United Methodist Church
Water And Woods Council 782
9180 W Herbison Rd
Eagle, Mi 48822


Waddell   Reed, Inc
P.O. Box 29219
Shawnee Mission, KS 66201‐9219


Waddy Ruritan Club
Lincoln Heritage Council 205
1171 Kings Hwy
Waddy, KY 40076
Wade Bastian
Address Redacted


Wade Elder
Address Redacted


Wade Hatch
Address Redacted


Wade Jarvis
Address Redacted


Wadena Lions Club
Central Minnesota 296
1038 Juniper Ave
Wadena, MN 56482


Wadesboro Housing Authority
Central N Carolina Council 416
200 W Short Plz
Wadesboro, NC 28170


Wading River Fire Dept
Suffolk County Council Inc 404
1503 N Country Rd
Wading River, NY 11792


Wadsworth Magnet School PTA
Atlanta Area Council 092
3039 Santa Monica Dr
Decatur, GA 30032


Wadsworth Masonic Lodge 385
Great Trail 433
660 High St
Bruce Sours


Wadsworth Utd Methodist Church
Great Trail 433
195 Broad St
Wadsworth, OH 44281
Waeman Owens
Address Redacted


Wafwa
P.O. Box 1975
Minden, NV 89423


Wagento Creative LLC
7600 Wayzata Blvd, Ste 1B
Golden Valley, MN 55426


Wageworks Inc
1100 Park Pl, Ste 400
San Mateo, CA 94403


Wageworks Inc
P.O. Box 8363
Pasadena, CA 91109‐8363


Waggoner PTO
Grand Canyon Council 010
1050 E Carver Rd
Tempe, AZ 85284


Wagnalls Memorial
Simon Kenton Council 441
150 Columbus St
Lithopolis, OH 43136


Wagner Cat Equipment
4000 Osuna Rd
Albuquerque, NM 87125


Wagner Equipment Co
P.O. Box 919000
Denver, CO 80291‐9000


Wagner Rotary
Sioux Council 733
39322 Sd Hwy 46
Wagner, SD 57380


Wagon Mound Ranch
P.O. Box 5A
Solano, NM 87746


Wagon Mound Ranch Supply
P.O. Box 5A
Solano, NM 87746


Wagon Wheel
Attn Ed Trompeter
Pony Express Council 311
9824 Hwy K7
Atchison, KS 66002


Wagon Wheel Grocery
Oregon Trail Council 697
69845 Wildwood Rd
North Bend, OR 97459


Wagram Utd Methodist Church
Simon Kenton Council 441
9535 Mink St Sw
Etna, OH 43068


Wagstaff Incorporated
Inland Nwest Council 611
N 3910 Flora Rd
Spokane, WA 99216


Wahoo Media Inc
3734 Richmond St
San Diego, CA 92103


Wahpeton Ace Hardware
1005 Dakota Ave
Wahpeton, ND 58075


Wahpeton Friends Inc
Denver Area Council 061
1364 W 101st Ave
Northglenn, CO 80260


Waiakea Lions Club
Aloha Council, Bsa 104
56 Pamala Pl
Pahoa, HI 96778


Waiakea Lions Club
Aloha Council, Bsa 104
P.O. Box 1895
Hilo, HI 96721


Waianae Store
Aloha Council, Bsa 104
85‐863 Farrington Hwy
Waianae, HI 96792


Waikoloa Lion Club
Aloha Council, Bsa 104
68‐1754 Melia St, Apt B212
Waikoloa, HI 96738


Wailuku Elementary School PTA
Aloha Council, Bsa 104
355 S High St
Wailuku, HI 96793


Wailuku Hongwanji Mission‐Buddhist
Aloha Council, Bsa 104
1828 E Vineyard St
Wailuku, HI 96793


Waipuna Chapel
Aloha Council, Bsa 104
17 Omaopio Rd
Kula, HI 96790


Waipuna Chapel
Aloha Council, Bsa 104
Rr3 Box 600
Kula, HI 96790


Waiting Room Subscription Services LLC
653 W Fallbrook Ave, Ste 101
Fresno, CA 93711


Wakarusa Utd Methodist Church
Lasalle Council 165
P.O. Box 414
309 S Elkhart St


Wake Chapel Church
Occoneechee 421
3805 Tarheel Club Rd
Raleigh, NC 27604


Wake Forest Baptist Medical Center
315 Bethel Church Rd
Mocksville, NC 27028


Wake Forest Police Dept
Occoneechee 421
225 S Taylor St
Wake Forest, NC 27587


Wake Forest Presbyerian Church
Occoneechee 421
12605 Capital Blvd
Wake Forest, NC 27587


Wake Forest Presbyterian Church
Occoneechee 421
12605 Capital Blvd
Wake Forest, NC 27587


Wake Forest Utd Methodist Church
Occoneechee 421
905 S Main St
Wake Forest, NC 27587


Wakefield Baptist Fellowship
Coronado Area Council 192
P.O. Box 174
Wakefield, KS 67487


Wakefield‐Lynnfield Utd Methodist
The Spirit of Adventure 227
273 Vernon St
Wakefield, MA 01880


Wakelee School P T A
Connecticut Rivers Council, Bsa 066
12 Hemple Dr
Wolcott, CT 06716


Wakely Actuarial Services, Inc
34125 U.S. Hwy 19 N, Ste 310
Palm Harbor, FL 34684


Wakeman Congregational Church ‐ Ucc
Lake Erie Council 440
14 Abbott St
Wakeman, OH 44889


Walbrown Real Estate   Appraisal
Services Inc
114 Main St W
Oak Hill, WV 25901


Walcott American Legion Post 548
Illowa Council 133
121 W Bryant St
Walcott, IA 52773


Walden Community Church
Sam Houston Area Council 576
12400 Walden Rd
Montgomery, TX 77356


Walden Fire Dept
Hudson Valley Council 374
230 Old Orange Ave
Walden, NY 12586
Walden School
Lincoln Heritage Council 205
4238 Wport Rd
Louisville, KY 40207


Waldensian Presbyterian Church
Piedmont Council 420
109 Main St E
Valdese, NC 28690


Waldensian Presbyterian Church
Piedmont Council 420
P.O. Box 216
Valdese, NC 28690


Waldhotel Doldenhorn
Doldenhornstrasse 26
Kandersteg, Be, 3718
Switzerland


Waldoboro Scout Assoc
Pine Tree Council 218
190 Beechwood St
Warren, ME 04864


Waldoboro Scout Associiation
Pine Tree Council 218
190 Beechwood St
Warren, ME 04864


Waldolf Elks Lodge 2421
National Capital Area Council 082
2210 Old Washington Rd
Waldorf, MD 20601


Waldport Lions Club
Oregon Trail Council 697
P.O. Box 660
Waldport, OR 97394
Waldron Baptist Church
Crossroads of America 160
P.O. Box 36
102 E Grant St
Shelbyville, IN 46176


Waldron Community Club Inc
Crossroads of America 160
6496 N 75 W
Shelbyville, IN 46176


Waldron Utd Methodist Church
Westark Area Council 016
P.O. Box 279
Waldron, AR 72958


Waldwick Lions Club
Northern New Jersey Council, Bsa 333
50 Grove St
Waldwick, Nj
Waldwick, NJ 07463


Waldwick Lions Club
Northern New Jersey Council, Bsa 333
P.O. Box 156
Waldwick, NJ 07463


Waldwick Utd Methodist Church
Northern New Jersey Council, Bsa 333
Franklin Tpke
Waldwick, NJ 07463


Wales Baptist Church
Western Massachusetts Council 234
23 Main St
Wales, MA 01081


Wales Ctr Vol Fire Co
Greater Niagara Frontier Council 380
12300 Big Tree Rd
Wales Center, NY 14167
Wales Elementary School PTO
Potawatomi Area Council 651
219 N Oak Crest Dr
Wales, WI 53183


Wales‐Genesee Lions Club
Potawatomi Area Council 651
S42W31400 5th 83
Genesee Depot, WI 53127


Waleska Utd Methodist Church
Atlanta Area Council 092
7340 Reinhardt College Pkwy
P.O. Box 8


Walgreen Co
P.O. Box 90484
Chicago, IL 60696‐0484


Walgreen Co Store 910
Attn Nicole Cook Ms‐745
1901 Voorhees
Danville, IL 61834


Walhalla Volunteer Fire Dept
Blue Ridge Council 551
207 E N Broad St
Walhalla, SC 29691


Walk Slo, Inc
Dba Sloan Brands
304 Oak Wood Dr
Grandbury, TX 76049


Walker Baptist Medical Ctr
Black Warrior Council 006
P.O. Box 3547
Jasper, AL 35502


Walker Chapel Utd Methodist Church
National Capital Area Council 082
4102 N Glebe Rd
Arlington, VA 22207


Walker Charter Academy PTO
President Gerald R Ford 781
1801 3 Mile Rd Nw
Grand Rapids, MI 49544


Walker County
P.O. Box 1447
Jasper, AL 35502‐1447


Walker County Emergency Services
Cherokee Area Council 556
P.O. Box 130
Chickamauga, GA 30707


Walker County Sheriff Office
Black Warrior Council 006
2001 2nd Ave S
Jasper, AL 35501


Walker County Special Needs
Black Warrior Council 006
110 School Rd
Cordova, AL 35550


Walker Creek Ranch
1700 Marshall/Petaluma Rd
Petaluma, CA 94952


Walker Farms
Circle Ten Council 571
1563 County Rd 1135
Ravenna, TX 75476


Walker Lions Club
Hawkeye Area Council 172
P.O. Box 7
Walker, IA 52352


Walker Sand   Stone Inc
19238 Inglewood Rd
Culpeper, VA 22701


Walkersville Utd Methodist Church
National Capital Area Council 082
22 Main St
Walkersville, MD 21793


Walkertown Middle School
Old Hickory Council 427
5240 Sullivantown Rd
Walkertown, NC 27051


Walkill Valley Memorial Post 8441 Vfw
Patriots Path Council 358
P.O. Box 414
Vernon, NJ 07462


Wall Brethren Church
Texas Swest Council 741
P.O. Box 195
Wall, TX 76957


Wall Street Utd Methodist Church
Lincoln Heritage Council 205
240 Wall St
Jeffersonville, IN 47130


Wallace Air Conditioning   Heating Inc
131‐16A Tomahawk Dr
Indian Harbour Beach, FL 32937


Wallace Bowman
Address Redacted


Wallace Chastain
Address Redacted


Wallace Jeffers Post
Iroquois Trail Council 376
753 Main St
Castile, NY 14427


Wallace Lee
Address Redacted


Wallace Pruitt Recreation Ctr
Mecklenburg County Council 415
440 Wesley Heights Way
Charlotte, NC 28208


Wallace Rotary Club
Tuscarora Council 424
316 E Murray St
Wallace, NC 28466


Wallace Rotary Club
Tuscarora Council 424
P.O. Box 404
Wallace, NC 28466


Wallace State Community College
P.O. Box 2000
801 Main St Nw
Hanceville, AL 35077


Walled Lake Fire Dept
Great Lakes Fsc 272
1499 E W Maple Rd
Walled Lake, MI 48390


Walled Lake Utd Methodist Church
Great Lakes Fsc 272
313 Nport St
Walled Lake, MI 48390


Waller Utd Methodist Church
Sam Houston Area Council 576
1206 Smith St
Waller, TX 77484


Waller Vol Fire Dept
Sam Houston Area Council 576
612 Walnut St
P.O. Box 1574
Waller, TX 77484


Waller Williams Elementary
Lincoln Heritage Council 205
2415 Rockford Ln
Louisville, KY 40216


Wallers Baptist Church
National Capital Area Council 082
4001 Partlow Rd
Spotsylvania, VA 22534


Wallingford Dept Of Fire Services
Connecticut Yankee Council Bsa 072
75 Masonic Ave
Wallingford, CT 06492


Wallingford Presbyterian Church
Cradle of Liberty Council 525
110 E Brookhaven Rd
Wallingford, PA 19086


Wallington Fire Dept
Northern New Jersey Council, Bsa 333
115 Johnson Ave
Wallington, NJ 07057


Wallis Brothers Framing
714 W 3200 S
Nibley, UT 84321


Wallis Lions Club
Sam Houston Area Council 576
P.O. Box 134
Wallis, TX 77485


Wallkill Hook Ladder And Hose
Rip Van Winkle Council 405
P.O. Box 460
Wallkill, NY 12589


Wallkill Reformed Church
Rip Van Winkle Council 405
P.O. Box 54
Wallkill, NY 12589


Walmart Community
P.O. Box 530933 Dept 87
Atlanta, GA 30353‐0933


Walmart Supercenter
1330 N Eisenhower Dr
Beckley, WV 25801


Walmart, Inc
For Secured Card Only
1635 Market Pl Blvd
Irving, TX 75063


Walnut Blessing Church
Greater Los Angeles Area 033
20801 La Puente Rd
Walnut, CA 91789


Walnut Commty Club
Amvets Post 45 Iowa Dept
Mid‐America Council 326
607 Highland St
P.O. Box 155
Walnut, Ia 51577


Walnut Creek Parents Assoc
Simon Kenton Council 441
5600 Grand Oak Blvd
Galena, OH 43021


Walnut Creek Presbyterian Church
Mt Diablo‐Silverado Council 023
1720 Oakland Blvd
Walnut Creek, CA 94598
Walnut Creek PTO
Mid‐America Council 326
720 Fenwick St
Papillion, NE 68046


Walnut Grove Baptist Church
Mid‐America Council 326
1001 N 29th St
Council Bluffs, IA 51501


Walnut Grove Parent Teacher Org
Heart of America Council 307
11800 S Pflumm Rd
Olathe, KS 66062


Walnut Grove Utd Methodist Church
Northeast Georgia Council 101
940 Church Way
Loganville, GA 30052


Walnut Hill Community Church
Connecticut Rivers Council, Bsa 066
274 Bunker Hill Ave
Waterbury, CT 06708


Walnut Hill Elementary PTA
Circle Ten Council 571
10115 Midway Rd
Dallas, TX 75229


Walnut Hill Paint Co
2720 Royal Ln, Ste 172
Dallas, TX 75229


Walnut Hill Utd Methodist Church
Simon Kenton Council 441
975 Rathmell Rd
Columbus, OH 43207


Walnut Hills Civic Assoc
Denver Area Council 061
P.O. Box 3436
Englewood, CO 80155


Walnut Hills Elementary PTO
Mid Iowa Council 177
4240 156th St
Urbandale, IA 50323


Walnut Hollow Farm, Inc
1409 State Rd 23
Dodgeville, WI 53533


Walnut Park District
W D Boyce 138
P.O. Box 364
Walnut, IL 61376


Walnut Park District
W D Boyce 138
P.O. Box 536
Walnut, IL 61376


Walnut St Methodist Church
Juniata Valley Council 497
203 N Walnut St
Burnham, PA 17009


Walnut St School PTO
Jersey Shore Council 341
60 Walnut St
Toms River, NJ 08753


Walnut Street Elementary School Ptfs
Cradle of Liberty Council 525
224 S 6th St
Darby, PA 19023


Walnut Youth Development League
Yocona Area Council 748
130 James St
Walnut, MS 38683
Walpole Fire Dept
Daniel Webster Council, Bsa 330
Old Bellows Falls Rd
Walpole, NH 03608


Walpole Lions Club
Mayflower Council 251
360 High St
Walpole, MA 02081


Walpole Sportsman S Assoc Inc
Mayflower Council 251
P.O. Box 91
Walpole, MA 02081


Walser Blackwood Iii
Address Redacted


Walsh Assoc Inc
dba Walsh Branding
410 W 7th St, Ste 330
Tulsa, OK 74103


Walsh School PTO
Connecticut Rivers Council, Bsa 066
55 Dikeman St
Waterbury, CT 06704


Walsh University
Attn Financial Aid Office
2020 E Maple St
North Canton, OH 44720


Walsworth / Donning Publishing Co
P.O. Box 310287
Des Moines, IA 50331‐0287


Walsworth Publishing Co, Inc
306 N Kansas Ave
Marceline, MO 64658
Walt Centers
314 Allatoona Ridge Rd
Woodstock, GA 30189


Walt Disney Parent Org
Seneca Waterways 397
175 Coldwater Rd
Rochester, NY 14624


Walt Disney PTO
Mid‐America Council 326
5717 S 112th St
Omaha, NE 68137


Walt Mcdonald Iii
S W Ltd 8112 Lakeview Dr
Wilmington, NC 28412‐3310


Walter Armstrong
Address Redacted


Walter Bank
Address Redacted


Walter Boger
Address Redacted


Walter Bruckner
Address Redacted


Walter Butler Community Ctr
Central Florida Council 083
4201 N Hwy 1
Cocoa, FL 32927


Walter Cary
Address Redacted


Walter Deecki
Address Redacted


Walter Dobbs
Address Redacted


Walter E Cole American Legion Post 187
Occoneechee 421
225 E Holding Ave
Wake Forest, NC 27587


Walter G Byers
Mecklenburg County Council 415
1415 Hamilton St
Charlotte, NC 28206


Walter G Byers Middle
Mecklenburg County Council 415
1415 Hamilton St
Charlotte, NC 28206


Walter Garfield
Address Redacted


Walter Gorham Jr
Address Redacted


Walter H Mees
Address Redacted


Walter Jones Sr
Address Redacted


Walter Kaleb Denny
Address Redacted


Walter Kenton
Address Redacted


Walter Klaus
Address Redacted


Walter Krack
Address Redacted


Walter Lester
Address Redacted


Walter Martinez
Address Redacted


Walter Mckee
Address Redacted


Walter Merna
Address Redacted


Walter Mueller
Address Redacted


Walter P Calahan Photography, Inc
2856 Salem Bottom Rd
Westminster, MD 21157‐7504


Walter P Calahan Photography, Inc
803 Gist Ave
Silver Spring, MD 20910‐4921


Walter P Carter Elementary/Middle School
Baltimore Area Council 220
820 E 43rd St
Baltimore, MD 21212


Walter Pralle Ii
Address Redacted


Walter Purk
Address Redacted
Walter R Craig Post 60‐American Legion‐
Blackhawk Area 660
215 N Main St
Memorial Hall


Walter S Guerrero
Address Redacted


Walter Schneider
Address Redacted


Walter Scott Erickson AL Post 557
Central Minnesota 296
23659 Forest Rd
Deerwood, Mn 56444


Walter Sessums
Address Redacted


Walter Skibitsky
Address Redacted


Walter Stanford
Address Redacted


Walter Updike
Address Redacted


Walter W Martin, LLC
1900 Federal Blvd
Denver, CO 80204‐1794


Walter Weaver Iii
Address Redacted


Walter Wolak
Address Redacted
Walter Young
Address Redacted


Walterboro Elks Lodge 1988
Coastal Carolina Council 550
P.O. Box 202
Walterboro, SC 29488


Walters Balido And Crain, LLP
Meadow Park Tower 15th Fl
10440 N Central Expressway
Dallas, TX 75231


Walters Church Of The Nazarene
Last Frontier Council 480
210 E Colorado St
Walters, OK 73572


Walterville Grange 416
Oregon Trail Council 697
P.O. Box 262
Walterville, OR 97489


Waltham Presbyterian Church
W D Boyce 138
809 N 3450th Rd
Utica, IL 61373


Walton County Sheriff S Dept
Northeast Georgia Council 101
1425 S Madison Ave
Monroe, GA 30655


Walton Crossing
Atlanta Area Council 092
2181 New Market Pkwy Se
Marietta, GA 30067


Walton Emc Natural Gas
P.O. Box 1347
Monroe, GA 30655‐1347
Walton Fire Assoc
Dan Beard Council, Bsa 438
P.O. Box 7
Walton, KY 41094


Walton Fire Dept
Leatherstocking 400
59 W St
Walton, NY 13856


Walton Lions Club
Sagamore Council 162
807 Bates St
Logansport, IN 46947


Walvid King
Address Redacted


Walworth Rotary Club
Glaciers Edge Council 620
W5685 Bonner Ln
Walworth, WI 53184


Wamba Caravan 89 Alhambra
Laurel Highlands Council 527
P.O. Box 432
Cumberland, MD 21501


Wamego Lions Club
Jayhawk Area Council 197
2020 Cat Creek Cir
Wamego, KS 66547


Wamesit Masonic Assoc
The Spirit of Adventure 227
P.O. Box 35
Tewksbury, MA 01876


Wanamassa Elementary School PTA
Monmouth Council, Bsa 347
901 Bendermere Ave
Ocean, NJ 07712


Wanamingo Firefighters Relief Assoc
Gamehaven 299
P.O. Box 304
Wanamingo, MN 55983


Wanamingo Lutheran Church
Gamehaven 299
P.O. Box 318
Wanamingo, MN 55983


Wanda Bohannon
Address Redacted


Wanda Fleming
Address Redacted


Wanda Forbus‐Ellis
Address Redacted


Wanda Gooch
Address Redacted


Wanda Gray Elementary School PTA
Ozark Trails Council 306
2101 W Plainview Rd
Springfield, MO 65810


Wanda Herring
Address Redacted


Wanda Irene Van Den Ende
Address Redacted


Wanda Ivins
Address Redacted


Wanda Knauff
Address Redacted


Wanda Norman
Address Redacted


Wanda Patterson
Address Redacted


Wander, Inc
6311 Romaine St, Ste 7232D
Los Angeles, CA 90038


Wanger Jones Helsley, Pc.
Attn Riley C. Walter
265 E River Park Circle, Ste 310
Fresno, CA 93720


Wanita Schenk
Address Redacted


Wantagh Fire Dept
Theodore Roosevelt Council 386
2995 Jerusalem Ave
Wantagh, NY 11793


Wantagh Memorial Congregational Church
Theodore Roosevelt Council 386
1845 Wantagh Ave
Wantagh, NY 11793


Wapello Presbyterian Church
Mississippi Valley Council 141 141
127 N Main St
Wapello, IA 52653


Waples Memorial Utd Methodist Church
Circle Ten Council 571
830 W Main St
Denison, TX 75020
Wapping Community Church
Connecticut Rivers Council, Bsa 066
1790 Ellington Rd
South Windsor, CT 06074


Wapping Elementary School
Connecticut Rivers Council, Bsa 066
91 Ayers Rd
South Windsor, CT 06074


Wapsi Fly, Inc
27 Cr 458
Mountain Home, AR 72653


Waquoit Congregational Church
Cape Cod and Islands Cncl 224
15 Parsons Ln
East Falmouth, MA 02536


Ward   Probst, Inc
3119 S Dr
Wichita Falls, TX 76306‐4011


Ward Plumbing, Heating      Cooling Inc
205 E Martin Ave
Oak Hill, WV 25901


Ward S Natural Science
P.O. Box 644312
Pittsburgh, PA 15264‐4312


Wardsville Lions Club
Great Rivers Council 653
3505 E Route M
Jefferson City, MO 65109


Ware ‐ Amvets Post 2577
Heart of New England Council 230
81 Greenwich Rd
Ware, MA 01082
Ware ‐ Nenameseck Sportsmens Club
Heart of New England Council 230
P.O. Box 284
150 Bacon Rd
Palmer, MA 01069


Ware Earl A Howe
American Legion Post 123
Heart Of New England Council 230
45 Maple St
Ware, Ma 01082


Ware Episcopal Ch    1St Presbyterian Ch
Colonial Virginia Council 595
P.O. Box 616
Gloucester, VA 23061


Ware Episcopal Church
Colonial Virginia Council 595
P.O. Box 616
Gloucester, VA 23061


Ware Shoals Fire Dept
Blue Ridge Council 551
39 E Main St
Ware Shoals, SC 29692


Ware Shoals Lion Club
Blue Ridge Council 551
42 Sparks Ave
Ware Shoals, SC 29692


Ware Shoals Lions Club
Blue Ridge Council 551
P.O. Box 478
Ware Shoals, SC 29692


Wares Chapel Utd Methodist Church
Miami Valley Council, Bsa 444
1060 Foos Rd
West Manchester, OH 45382
Warm Springs Cabana Club
San Francisco Bay Area Council 028
251 Goldenrain Ave
Fremont, CA 94539


Warminster Township Library
1076 Emma Ln
Warminster, PA 18974‐2697


Warner Fire Rescue
Indian Nations Council 488
P.O. Box 170
Warner, OK 74469


Warner Grange 117
Cascade Pacific Council 492
10100 S New Era Rd
Canby, OR 97013


Warner Law Firm
Attn Robert W Warner
P.O. Box 1055
Troy, MI 48099‐1055


Warners Volunteer Fire Dept
Longhouse Council 373
6444 Newport Rd
Warners, NY 13164


Warren ‐ Firemans Assoc
Heart of New England Council 230
P.O. Box 608
Warren, MA 01083


Warren / Holyfield Boys      Girls Club
Atlanta Area Council 092
790 Berne St Se
Atlanta, GA 30316


Warren Amercian Legion Post 27
Northern Lights Council 429
424 N 1st St
Warren, MN 56762


Warren American Legion Post 27
Northern Lights Council 429
424 N 1st St
Warren, MN 56762


Warren American Legion/Warren Lions Club
Blackhawk Area 660
811 Anson St
Warren, IL 61087


Warren Carey
Address Redacted


Warren Central High School
Crossroads of America 160
9500 E 16th St
Indianapolis, IN 46229


Warren City Police Dept
Chief Cornplanter Council, Bsa 538
318 W 3rd Ave
Warren, PA 16365


Warren Community Church
Catalina Council 011
201 Arizona St
Bisbee, AZ 85603


Warren County Fire Assocation
Occoneechee 421
P.O. Box 563
Warrenton, NC 27589


Warren County Historical Society
Sagamore Council 162
408 State Rd 28 E
Williamsport, IN 47993


Warren Danzer
Address Redacted


Warren Easton Football
Southeast Louisiana Council 214
3019 Canal St
New Orleans, LA 70119


Warren Elementary School PTA
Muskingum Valley Council, Bsa 467
16855 State Route 550
Marietta, OH 45750


Warren G Harding Masonic Lodge 260
Chief Seattle Council 609
P.O. Box 181
Poulsbo, WA 98370


Warren Garden Club
Great Lakes Fsc 272
13039 Burgundy Ave
Warren, MI 48089


Warren Gilfillan
Address Redacted


Warren Hunterdon Christian Homeschoolers
Minsi Trails Council 502
14 Spring Run Ln
Stewartsville, NJ 08886


Warren Johnson
Address Redacted


Warren Kelly
Address Redacted


Warren Kiwanis Club
Great Trail 433
P.O. Box 891
Warren, OH 44482
Warren Lions Club
Blackhawk Area 660
419 Staver St
Warren, IL 61087


Warren Lyons Club
Great Lakes Fsc 272
14628 Maisano Dr
Sterling Heights, MI 48312


Warren Martin
Address Redacted


Warren Point Pres Church
Northern New Jersey Council, Bsa 333
17th St   Broadway
Fair Lawn, NJ 07410


Warren Police Dept
Great Lakes Fsc 272
29900 S Civic Center Blvd
Warren, MI 48093


Warren Reed
Address Redacted


Warren Richter
Address Redacted


Warren Shepherd
Address Redacted


Warren Student Union
Chief Cornplanter Council, Bsa 538
330 Hickory St
Warren, PA 16365


Warren Tech Fire Science     1st Responder
Denver Area Council 061
13300 W 2Nd Pl
Lakewood, Co 80228


Warren Technical High School
Atlanta Area Council 092
3075 Alton Rd
Atlanta, GA 30341


Warren Township Police Dept
Patriots Path Council 358
44 Mountain Blvd
Warren, NJ 07059


Warren Twp Trustees And Warren Twp Vol
Muskingum Valley Council, Bsa 467
95 Coffman Rd
Marietta, OH 45750


Warren Utd Methodist Church
Calcasieu Area Council 209
1800 Orchid St
Lake Charles, LA 70601


Warren Wenner Iii
Address Redacted


Warren Woods Baptist Church
Great Lakes Fsc 272
14251 E 12 Mile Rd
Warren, MI 48088


Warrenton Methodist Church
National Capital Area Council 082
341 Church St
Warrenton, VA 20186


Warrenton Police Dept
Greater St Louis Area Council 312
200 W Booneslick Rd
Warrenton, MO 63383


Warrenton Presbyterian Church
National Capital Area Council 082
91 Main St
Warrenton, VA 20186


Warrenton Utd Methodist Church
National Capital Area Council 082
341 Church St
Warrenton, VA 20186


Warrenville Memorial Vfw Post 8081
Three Fires Council 127
3S371 Mignin Dr
Warrenville, IL 60555


Warrenville Police Dept
Three Fires Council 127
3S245 Warren Ave
Warrenville, IL 60555


Warrienne Dutton
Address Redacted


Warrior Academy
Mid‐America Council 326
2404 Denver St
Schuyler, NE 68661


Warrior Supporters Parents Club
Greater St Louis Area Council 312
1340 W Outer 21 Rd
Arnold, MO 63010


Warriors Mark Utd Methodist Church
Laurel Highlands Council 527
P.O. Box 134
1840 Centre Line Rd


Warroad Branch, Winnipeg Mb Stake
Northern Lights Council 429
29786 600th Ave
Warroad, MN 56763
Warsaw Christian Church
Dan Beard Council, Bsa 438
207 W High St
Warsaw, KY 41095


Warsaw Fire Dept
Iroquois Trail Council 376
P.O. Box 229
Warsaw, NY 14569


Warsaw Kiwanis Club
Iroquois Trail Council 376
44 Brooklyn St
Warsaw, NY 14569


Warsaw Lions Club
Attn Louie Zinn
Mississippi Valley Council 141 141
315 Clay St
Warsaw, IL 62379


Warsaw Lions Club
Attn Perry Harrison
Mississippi Valley Council 141 141
Harrison St
Warsaw, IL 62379


Warsaw Lions Club
Great Rivers Council 653
P.O. Box 1985
Warsaw, MO 65355


Warsaw Lions Club
Muskingum Valley Council, Bsa 467
P.O. Box 56
Warsaw, OH 43844


Warsaw Lodge Number 549 F And Am
Iroquois Trail Council 376
75 S Main St
Warsaw, NY 14569
Warsaw Utd Methodist Church
Heart of Virginia Council 602
287 Main St
Warsaw, VA 22572


Wartburg College
Attn Business Office
100 Wartburg Blvd P.O. Box 1003
Waverly, IA 50677‐0903


Warwick Community Ambulance Assoc Inc
Pennsylvania Dutch Council 524
151 N Ln
Lititz, PA 17543


Warwick Lions
Colonial Virginia Council 595
1 Singleton Dr
Hampton, VA 23666


Warwick Lions Club
Hudson Valley Council 374
P.O. Box 208
Warwick, NY 10990


Warwick Memorial Utd Methodist Church
Colonial Virginia Council 595
38 Hoopes Rd
Newport News, VA 23602


Warwick Memorial Utd Methodist Men
Colonial Virginia Council 595
38 Hoopes Rd
Newport News, VA 23602


Warwick Moose Lodge 1711
Colonial Virginia Council 595
1711 Warwick Moose Ln
Newport News, VA 23606


Warwick Police Dept
Narragansett 546
99 Veterans Memorial Dr
Warwick, RI 02886


Warwick Utd Methodist Church
Hudson Valley Council 374
135 Forester Ave
Warwick, NY 10990


Warwood Utd Methodist Church
Ohio River Valley Council 619
1438 Warwood Ave
Wheeling, WV 26003


Wasatch Forestry Solution LLC
Utah National Parks 591
2667 E Hwy 6
Price, UT 84501


Wasatch Front Scouting
Great Salt Lake Council 590
13953 S Rosaleen Ln
Herriman, UT 84096


Wasatch Presbyterian Church
Great Salt Lake Council 590
1626 S 1700 E
Salt Lake City, UT 84108


Wasatch Tech Group, Inc
Utah National Parks 591
1171 Expressway Ln
Spanish Fork, UT 84660


Wasatch Youth Leadership Foundation
Utah National Parks 591
458 E 100 N
Heber City, UT 84032


Wascar Montilla
Address Redacted
Wasco Elks Lodge 2419
Southern Sierra Council 030
P.O. Box 824
Wasco, CA 93280


Wasco School PTO
Three Fires Council 127
P.O. Box 83
Wasco, IL 60183


Washburn Rotary Club
Katahdin Area Council 216
P.O. Box 471
Washburn, ME 04786


Washburn University
Attn W U Financial Aid
1700 SW College Ave
Topeka, KS 66621


Washington Assoc Inc Of Warren
Narragansett 546
39 Baker St
Warren, RI 02885


Washington Assoc Of Future Firefighters
Chief Seattle Council 609
9401 Myers Way S
Seattle, WA 98108


Washington Charities
Pooled Trust Fbo Rex Simons
1 Civic Center Dr, Ste 310
San Marcos, CA 92069


Washington City Lions Club
Utah National Parks 591
1733 Cottam Ct
Saint George, UT 84790


Washington College
Attn Office of Student Aid
300 Washington Ave
Chestertown, MD 21620‐1197


Washington County Clerk
Doyle Cloyd, County Clerk
P.O. Box 218
Jonesborough, TN 37659


Washington County Moose Family Ctr 1966
Sequoyah Council 713
P.O. Box 321
Abingdon, VA 24212


Washington County Sheriff
Plymouth Police Office
East Carolina Council 426
132 E Water St
Plymouth, Nc 27962


Washington County Sheriff Office
Cascade Pacific Council 492
P.O. Box 513
Hillsboro, OR 97123


Washington County Sheriff S Office
Utah National Parks 591
750 S 5400 W
Hurricane, UT 84737


Washington County Sheriffs Office
Northern Star Council 250
15015 62nd St N
P.O. Box 3801
Stillwater, MN 55082


Washington County Trustee
P.O. Box 215
Jonesborough, TN 37659


Washington Crossing
1 Scout Way
Doylestown, PA 18901‐4890


Washington Crossing Cncl 777
1 Scout Way
Doylestown, PA 18901‐4915


Washington Dept Of Revenue
Business Licensing Service
P.O. Box 34456
Seattle, WA 98124‐1456


Washington Dept Of Revenue
Unclaimed Property Section
1101 S Eside St
P.O. Box 448


Washington El Friends‐Mt Carmel Lutheran
Attn Jamie Larson‐Mcloone
Three Harbors Council 636
8424 W Center St
Milwaukee, WI 53222


Washington Elementary School
Concerned Parents Pack 251
Greater Los Angeles Area 033
300 N San Marino Ave
San Gabriel, Ca 91775


Washington Elementary School PTA
Greater Alabama Council 001
115 4th Ave S
Birmingham, AL 35205


Washington Elementary School PTA
Mid‐America Council 326
P.O. Box 1763
Norfolk, NE 68702


Washington Ethical Society
National Capital Area Council 082
7750 16th St Nw
Washington, DC 20012
Washington Family Resource Ctr
Connecticut Rivers Council, Bsa 066
685 Baldwin St
Waterbury, CT 06706


Washington Fields 15Th Ward
Utah National Parks 591
2562 S 400 W
Washington, UT 84780


Washington Gifted Academy PTO
Blackhawk Area 660
1421 W St
Rockford, IL 61102


Washington Heights Baptist Church
Trapper Trails 589
1770 E 6200 S
Ogden, UT 84405


Washington High School
East Carolina Council 426
400 Slatestone Rd
Washington, NC 27889


Washington Hilton
1919 Connecticut Ave, Nw
Washington, DC 20009


Washington Hospital Foundation
San Francisco Bay Area Council 028
2000 Mowry Ave
Fremont, CA 94538


Washington Kiwanis Club
Georgia‐Carolina 093
P.O. Box 113
Washington, GA 30673


Washington Lions Club
Coronado Area Council 192
1548 17th Rd
Washington, KS 66968


Washington Lions Club
Great Lakes Fsc 272
58000 Van Dyke Rd
Washington, MI 48094


Washington Metropolitan Ame Zion Church
Greater St Louis Area Council 312
613 N Garrison Ave
Saint Louis, MO 63103


Washington Middle School
Buffalo Trace 156
1801 Washington Ave
Evansville, IN 47714


Washington Middle School PTO
Greater St Louis Area Council 312
5165 Ambs Rd
Saint Louis, MO 63128


Washington Mill PTA
National Capital Area Council 082
9100 Cherrytree Dr
Alexandria, VA 22309


Washington Montessori
Greater St Louis Area Council 312
1130 N Euclid Ave
Saint Louis, MO 63113


Washington Montessori Elementary
Southeast Louisiana Council 214
606 Clay St
Kenner, LA 70062


Washington Non‐Profit Legal   Tax Conf
P.O. Box 27315
Washington, DC 20038‐7315
Washington Office Of Insurance
P.O. Box 40256
Olympia, WA 98504


Washington Optimist Club
Hawkeye Area Council 172
P.O. Box 26
909 S 3rd Ave
Washington, IA 52353


Washington Parish
Attn Sales Tax Dept
P.O. Box 508
Franklinton, LA 70438


Washington Park Community Ct
Blackhawk Area 660
3617 Delaware St
Rockford, IL 61102


Washington Park Community Ctr
Narragansett 546
42 Jillson St
Providence, RI 02905


Washington Parks Academy
Great Lakes Fsc 272
11685 Appleton
Redford, MI 48239


Washington Pike Utd Methodist Church
Great Smoky Mountain Council 557
2241 Washington Pike
Knoxville, TN 37917


Washington Police Dept
Greater St Louis Area Council 312
301 Jefferson St
Washington, MO 63090
Washington Presbyterian Church
W D Boyce 138
105 S Elm St
Washington, IL 61571


Washington Rose Elementary
Theodore Roosevelt Council 386
2 Rose Ave
Roosevelt, NY 11575


Washington Rotary Club
Coronado Area Council 192
200 W 4th St
Washington, KS 66968


Washington School Parent School Org
Northern New Jersey Council, Bsa 333
44 School St
Township of Washington, NJ 07676


Washington School Parent Teacher Org
Patriots Path Council 358
153 Winthrop Rd
Edison, NJ 08817


Washington School PTA
Northern Lights Council 429
1725 Broadway N
Fargo, ND 58102


Washington School PTA
Patriots Path Council 358
624 E Broad St
Westfield, NJ 07090


Washington Secretary Of State
801 Capital Way S
Olympia, WA 98501‐1226


Washington Secretary Of State
801 Capitol Way S
Olympia, WA 98504
Washington Secretary Of State
Charities Program
801 Capital Way S
Olympia, WA 98501‐1226


Washington Secretary Of State
Corporations Div
801 Capitol Way S
P.O. Box 40234
Olympia, WA 98504‐0234


Washington Shores Elementary School PTA
Central Florida Council 083
944 W Lake Mann Dr
Orlando, FL 32805


Washington Speakers Bureau Inc
1663 Prince St
Alexandria, VA 22314


Washington State Attorneys General
1125 Washington St Se,
P.O. Box 40100
Olympia, WA 98504‐0100


Washington State Support Registry
P.O. Box 45868
Olympia, WA 98504‐5868


Washington State Treasurer
Dept. of Licensing
P.O. Box 9034
Olympia, WA 98507‐9034


Washington State University
P.O. Box 641068
Pullman, WA 99164


Washington State University
P.O. Box 646243
Pullman, WA 99164


Washington Street Baptist Church
Lincoln Heritage Council 205
721 Washington St
Paducah, KY 42003


Washington Street Community Ctr
Atlanta Area Council 092
4138 School St Sw
Covington, GA 30014


Washington Student Teacher Parent
Water and Woods Council 782
905 16th St
Marysville, MI 48040


Washington Talent Agency
14670 Rothgeb Dr
Rockville, MD 20850‐5311


Washington Township Avon Fire Dept
Crossroads of America 160
7222 E US Hwy 36
Avon, IN 46123


Washington Township Fire Dept
Garden State Council 690
213 E Holly Ave
Sewell, NJ 08080


Washington Township Parent Teacher Assn
Minsi Trails Council 502
16 Castle St
Brass Castle Elementary School
Washington, NJ 07882


Washington Township Police
Garden State Council 690
1 Mcclure Dr
Sewell, NJ 08080
Washington Township Police Dept
Patriots Path Council 358
1 E Springtown Rd
Long Valley, NJ 07853


Washington Township Vol Fire Co
Laurel Highlands Council 527
Dull and Axton
Streets
Belle Vernon, PA 15012


Washington Township Vol Fire Dept, Inc
Lasalle Council 165
380 E State Rd 2
Valparaiso, In 46383


Washington Township Volunteer Fire
Moraine Trails Council 500
4078 State Route 66
Apollo, PA 15613


Washington Twp Fire Dept
Erie Shores Council 460
Main St
Tontogany, OH 43565


Washington Union Alliance Church
Moraine Trails Council 500
2119 W Washington St
New Castle, PA 16101


Washington University In St Louis
Attn Biology Teresa Adams
1 Brookings Dr, Box 1137
St Louis, MO 63130


Washington University In St Louis
Attn Spcs Accounting Manager
6515 Wydown Blvd, Campus Box 1250
St Louis, MO 63105‐2298
Washington University In St Louis
Student Financial Services
One Booking Dr, Campus Box 1041
St Louis, MO 63130‐4899


Washington Utd Methodist
Buckskin 617
P.O. Box 218
10468 Dupont Rd


Washington Utd Methodist Church
Blue Grass Council 204
1917 US 68
Maysville, KY 41056


Washington Utd Methodist Church
Hawkeye Area Council 172
206 W 2nd St
Washington, IA 52353


Washington Vfw
Greater St Louis Area Council 312
811 Jefferson St
Washington, MO 63090


Washington Volunteer Fire Dept
Greater St Louis Area Council 312
P.O. Box 529
Washington, MO 63090


Washington‐ParentTeacher‐Activities Ctte
Samoset Council, Bsa 627
2911 Washington St
Wisconsin Rapids, Wi 54494


Washtenaw Co Sheriff S
Southern Shores Fsc 783
2201 Hogback Rd
Ann Arbor, MI 48105


Wasmer Afterschool Program
Overland Trails 322
2808 O Flannagan St
Grand Island, NE 68803


Wass Elementary School PTO
Great Lakes Fsc 272
2340 Willard Dr
Troy, MI 48085


Waste    Water Logistics
58N 100E
Roosevelt, UT 84066


Waste Connections Inc
dba Ace Solid Waste, Inc
6601 Mckinley St Nw
Ramsey, MN 55303‐4302


Waste Connections Inc
Des Moines District
P.O. Box 660177
Dallas, TX 75266


Waste Connections, Inc
Dept 1433
Los Angeles, CA 90084‐1433


Waste Industries
P.O. Box 580495
Charlotte, NC 28258‐0495


Waste Management
1001 Fannnin, Suite 4000
Houston, TX 77002


Waste Management
P.O. Box 13648
Philadelphia, PA 19101‐3648


Waste Management
P.O. Box 78251
Phoenix, AZ 85062‐8251
Waste Management
Wm Dallas
P.O. Box 660345
Dallas, TX 75266


Waste Management ‐ Blaine Mn
P.O. Box 105453
Atlanta, GA 30348


Waste Management Florida
P.O. Box 4648
Carol Stream, IL 60197‐4648


Waste Management‐ Ft Worth Hauling
P.O. Box 660345
Dallas, TX 75266‐0345


Waste Management Lewisville Hauling
P.O. Box 660345
Dallas, TX 75266‐0345


Waste Management Of Denver
P.O. Box 78251
Phoenix, AZ 85062‐8251


Waste Management Of Michigan Inc
P.O. Box 4648
Carol Stream, IL 60197‐4648


Wat Lao Phothikaram
Blackhawk Area 660
6925 S Mulford Rd
Cherry Valley, IL 61016


Watauga County Sheriff S Dept
Old Hickory Council 427
184 Hodges Gap Rd
Boone, NC 28607
Watauga Police Dept
Longhorn Council 662
7101 Whitley Rd
Watauga, TX 76148


Watch City Aerie 1047 F O E
Three Fires Council 127
325 Raymond St
Gilberts, IL 60136


Watchung Avenue Presbyterian Church
Patriots Path Council 358
170 Watchung Ave
North Plainfield, NJ 07060


Watchung Day Camp
Patriots Path Council 358
1 Saddle Rd
Cedar Knolls, NJ 07927


Watchung Hills Elks Lodge 885
Patriots Path Council 358
1 Elks Trl
Warren, NJ 07059


Watco Usa, Inc
Dba Rust‐Oleum Industrial Fling
P.O. Box 932154
Cleveland, OH 44193


Wate Tv Explorer Post
Great Smoky Mountain Council 557
1306 N Broadway St
Knoxville, TN 37917


Water   Woods Fsc 782
4205 E Ct St
Burton, MI 48509‐1719


Water And Woods Fsc
4205 E Court St
Burton, MI 48509
Water Drop Storage Systems
dba Dan Fleming
9895 Benson Rd
Menard, TX 76859


Water Of Life Community Church
California Inland Empire Council 045
7625 E Ave
Fontana, CA 92336


Water S Edge Lutheran Church
Circle Ten Council 571
P.O. Box 894
5475 Coit Rd
Frisco, TX 75034


Water S Edge Marina LLC
dba Marathon Marina
1021 11th St Ocean
Marathon, FL 33050


Water Water
5178‐2 U S 1
Stock Island, FL 33040


Waterbrook Brethren Church
Shenandoah Area Council 598
4392 Palmyra Church Rd
Edinburg, VA 22824


Waterbury Arc
Connecticut Rivers Council, Bsa 066
1929 E Main St
Waterbury, CT 06705


Waterbury Police Dept
Connecticut Rivers Council, Bsa 066
255 E Main St
Waterbury, CT 06702
Waterbury/Keeneyville PTO
Three Fires Council 127
355 Rodenburg Rd
Roselle, IL 60172


Waterdogs Scuba And Safety LLC
Middle Tennessee Council 560
681 N Spring St
Clarksville, TN 37040


Waterfall Canyon Academy
Trapper Trails 589
818 N 950 E
Ogden, UT 84404


Waterford Grange No 231
Muskingum Valley Council, Bsa 467
3900 Righteous Ridge Rd
Waterford, OH 45786


Waterford Lions Club
Greater Yosemite Council 059
P.O. Box 444
Waterford, CA 95386


Waterford Police Dept
Alarm Registration
5150 Civic Center Dr
Waterford, MI 48329


Waterford Press
1123 Overcash Dr
Dunedin, FL 34698‐5522


Waterford Publishing Group LLC
dba Waterford Press
P.O. Box 1195
Dunedin, FL 34697


Waterford Township Fire Dept
Garden State Council 690
2121 Auburn Ave
Atco, NJ 08004


Waterford Utd Methodist Church
Muskingum Valley Council, Bsa 467
Main St   Marietta
Waterford, OH 45786


Waterfront Services Inc
Gulf Stream Council 085
900 10th St
Lake Park, FL 33403


Waterloo Volunteer Fire District
Greater Alabama Council 001
P.O. Box 178
Waterloo, AL 35677


Waterman Volunteer Fire Dept
Three Fires Council 127
P.O. Box 175
160 N Cedar St
Waterman, IL 60556


Watermark Grill
1818 N Loop 1604 W
San Antonio, TX 78248


Watermatic LLC
245 W 17th St 5th Fl
New York, NY 10011


Waters Elementary PTA
South Plains Council 694
3006 78th St
Lubbock, TX 79423


Waters Memorial Utd Methodist Church
National Capital Area Council 082
5400 Mackall Rd
Saint Leonard, MD 20685
Waterstone Community Church
Denver Area Council 061
5890 S Alkire St
Littleton, CO 80127


Waterstone, Inc
101 E Wiseman Ave
Fayetville, WV 25840


Watertown Group Of Concerned Citizens
Middle Tennessee Council 560
830 Barrett Rd
Watertown, TN 37184


Watertown Lions Club
Northern Star Council 250
P.O. Box 791
Watertown, MN 55388


Watertown Police Dept
Potawatomi Area Council 651
106 Jones St
Watertown, WI 53094


Watertown Police Dept
Sioux Council 733
128 N Maple
Watertown, SD 57201


Watertown Rotary Club
Potawatomi Area Council 651
1316 Neenah St
Watertown, WI 53094


Watertown Savings Bank
Longhouse Council 373
111 Clinton St
Watertown, NY 13601


Watertown Sportsmen Inc
Longhouse Council 373
P.O. Box 485
Watertown, NY 13601


Waterville Lions Club
Northern Star Council 250
203 E Bloomer St
Morristown, MN 55052


Waterville Rotary Club
Erie Shores Council 460
P.O. Box 212
Waterville, OH 43566


Waterville Rotary Club
Leatherstocking 400
Rt 20
Sangerfield, NY 13455


Waterville Utd Methodist Church
Erie Shores Council 460
102 N 5th St
Waterville, OH 43566


Watford City Ward, Bismarck Nd Stake
Northern Lights Council 429
P.O. Box 1161
Watford City, ND 58854


Watkins Elementary School PTO
Simon Kenton Council 441
1520 Watkins Rd
Columbus, OH 43207


Watkins Glen Elks Lodge 1546
Five Rivers Council, Inc 375
300 N Madison Ave
Watkins Glen, NY 14891


Watkins Memorial Utd Methodist Church
Lincoln Heritage Council 205
9800 Wport Rd
Louisville, KY 40241
Watkins Park Community Ctr
Middle Tennessee Council 560
616 17th Ave N
Nashvillle, TN 37203


Watkinsville Utd Methodist Church
Northeast Georgia Council 101
123 New High Shoals Rd
Watkinsville, GA 30677


Watlow Electric Mfg Co
Greater St Louis Area Council 312
12001 Lackland Rd
Saint Louis, MO 63146


Watonga Lions Club
Cimarron Council 474
Rt 1 Box 41
Watonga, OK 73772


Watson School Unite ‐ Parents Org
Buckeye Council 436
515 Marion Ave Nw
Massillon, OH 44646


Watson Welding    Mfg, Inc
P.O. Box 397
Morrill, NE 69358


Watson Wyatt Data Services
218 Route 17 N
Rochelle Park, NJ 07662


Watsontown Utd Methodist Church
Susquehanna Council 533
1319 8th St Dr
Watsontown, PA 17777


Watsonville Buddhist Temple
Silicon Valley Monterey Bay 055
423 Bridge St
Watsonville, CA 95076


Watsonville Fire Dept
Silicon Valley Monterey Bay 055
372 Airport Blvd
Watsonville, CA 95076


Watsonville Police Dept
Silicon Valley Monterey Bay 055
P.O. Box 1930
Watsonville, CA 95077


Wattles Park Men S Club
Southern Shores Fsc 783
13166 11 Mile Rd
Ceresco, MI 49033


Wattles School P T O
Great Lakes Fsc 272
3555 Ellenboro Dr
Troy, MI 48083


Watts Caney Volunteer Fire Dept
Blue Grass Council 204
P.O. Box 68
Lost Creek, KY 41348


Watts Chapel Baptist Church
Occoneechee 421
3703 Tryon Rd
Raleigh, NC 27606


Watts Street Baptist Church
Occoneechee 421
800 Watts St
Durham, NC 27701


Wauconda Police Deptment
Northeast Illinois 129
311 S Main St
Wauconda, IL 60084
Waukazoo PTA
President Gerald R Ford 781
1294 W Lakewood Blvd
Holland, MI 49424


Waukee American Legion Post 737
Mid Iowa Council 177
410 6th St
Waukee, IA 50263


Waukee Rotary Club
Mid Iowa Council 177
P.O. Box 991
Waukee, IA 50263


Waukegan School District 60
Northeast Illinois 129
1201 N Sheridan Rd
Waukegan, IL 60085


Waukesha County Sheriff Dept
Potawatomi Area Council 651
515 W Moreland Blvd
Waukesha, WI 53188


Waukesha Kiwanis
Potawatomi Area Council 651
P.O. Box 1072
Waukesha, WI 53187


Waukesha Memorial Hospital
P.O. Box 1601
Waukesha, WI 53187


Waukesha Noon Kiwanis
Potawatomi Area Council 651
P.O. Box 1072
Waukesha, WI 53187


Waupun Area Recreation Project    Warp
Bay‐Lakes Council 635
721 Buwalda Dr
Waupun, WI 53963


Wausau Fire Dept
Samoset Council, Bsa 627
606 E Thomas St
Wausau, WI 54403


Wausau Flying Service Inc
Samoset Council, Bsa 627
725 Woods Pl
Wausau, WI 54403


Wausau Noon Kiwanis
Samoset Council, Bsa 627
5005 County Rd Z
Wausau, WI 54403


Wausau Window And Wall Systems
Samoset Council, Bsa 627
7800 International Dr
Wausau, WI 54401


Wauseon Police Dept
Black Swamp Area Council 449
230 Clinton St, Ste 207
Wauseon, OH 43567


Wauwatosa Ave Utd Methodist Church
Three Harbors Council 636
1529 N Wauwatosa Ave
Wauwatosa, WI 53213


Waveland Church Of Jesus Christ Of LDS
Pine Burr Area Council 304
1911 Mclaurin St
Waveland, MS 39576


Waverly Belmont PTO
Middle Tennessee Council 560
2301 10th Ave S
Nashville, TN 37204
Waverly First Utd Methodist Church
Abraham Lincoln Council 144
190 E State St
Waverly, IL 62692


Waverly Hall Umc
Chattahoochee Council 091
7580 Ga Hwy 208
Waverly Hall, GA 31831


Waverly Johnson Ii
Address Redacted


Waverly Masonic Lodge
Baltimore Area Council 220
5585 Levering Ave
Elkridge, MD 21075


Waverly Park ‐ Gfwar
Longhorn Council 662
2650 Parkview Dr
Fort Worth, TX 76102


Waverly Utd Methodist Church
Five Rivers Council, Inc 375
158 Chemung St
Waverly, NY 14892


Waverly Utd Methodist Church
Heart of America Council 307
116 E Kelling Ave
Waverly, MO 64096


Wavetronix, LLC
Utah National Parks 591
78 E 1700 S
Provo, UT 84606


Wavicle Inc
224 W 35th St, Ste 1102
New York, NY 10001


Wawayanda Volunteer Fire Co
Hudson Valley Council 374
1975 Route 284
Slate Hill, NY 10973


Wax Works, Inc
325 E 3rd St
Owensboro, KY 42303


Waxhaw Animal Hospital
Central N Carolina Council 416
P.O. Box 275
Waxhaw, NC 28173


Waxhaw Police Dept
Central N Carolina Council 416
3620 Providence Rd S
Waxhaw, NC 28173


Waxhaw Un Meth Ch
Central N Carolina Council 416
P.O. Box 9
Waxhaw, NC 28173


Waxhaw Utd Methodist Church
Central N Carolina Council 416
200 Mcdonald St
Waxhaw, NC 28173


Way Faith Community Inc
Ozark Trails Council 306
903 W Ratella
Springfield, MO 65807


Wayland Scouters Inc
Mayflower Council 251
25 Parkland Dr
Wayland, MA 01778
Wayland Temple Baptist Church
Cradle of Liberty Council 525
2500 Cecil B Moore Ave
Philadelphia, PA 19121


Wayland Utd Methodist Church
President Gerald R Ford 781
200 Church St
Wayland, MI 49348


Waymouth Farms Inc
P.O. Box 581279
Minneapolis, MN 55458‐1279


Wayne Adrian Davis
273 W Grand Ave
Rahway, NJ 07065


Wayne Anderson
Address Redacted


Wayne Bogue
Address Redacted


Wayne Brooks
Address Redacted


Wayne Brown
Address Redacted


Wayne Burton
Address Redacted


Wayne City First Utd Methodist Church
Greater St Louis Area Council 312
106 Race St
Wayne City, IL 62895


Wayne Cnty Society, Handicapped Citizens
Buckeye Council 436
266 Oldman Rd
Wooster, Oh 44691


Wayne Co Sheriffs Dept
Crossroads of America 160
200 E Main St
Richmond, IN 47374


Wayne County Bank
Middle Tennessee Council 560
P.O. Box 247
Waynesboro, TN 38485


Wayne County Sheriffs Dept
Seneca Waterways 397
7376 State Route 31
Lyons, NY 14489


Wayne Deese
Address Redacted


Wayne Doughty
Address Redacted


Wayne Fowler
Address Redacted


Wayne Getman
Address Redacted


Wayne Heple
Address Redacted


Wayne Holmes
Address Redacted


Wayne Julian
Address Redacted
Wayne Kremenak
Address Redacted


Wayne Mcleland
Address Redacted


Wayne Miller
Address Redacted


Wayne Nieman
Address Redacted


Wayne Ottinger
Address Redacted


Wayne Pancoast
Address Redacted


Wayne Pantini
Address Redacted


Wayne Pba Local 136
Northern New Jersey Council, Bsa 333
475 Valley Rd
Wayne, NJ 07470


Wayne Perry
Address Redacted


Wayne Presbyterian Church
Cradle of Liberty Council 525
125 E Lancaster Ave
Wayne, PA 19087


Wayne Rutherford General Contractor, Inc
800 Bond Dr 2
Taos, NM 87571


Wayne Schuver
Address Redacted


Wayne Shell
Address Redacted


Wayne State University
Attn Jeff Bolton ‐ Financial Aid
42 W Warren
Detroit, MI 48202


Wayne State University C2 Pipeline
Great Lakes Fsc 272
5557 Cass Ave
Detroit, MI 48202


Wayne Township Fire Dept
Crossroads of America 160
700 N High School Rd
Indianapolis, IN 46214


Wayne Utd Methodist Church
Buckskin 617
P.O. Box 246
Wayne, WV 25570


Wayne Utd Methodist Church
Cradle of Liberty Council 525
210 S Wayne Ave
Wayne, PA 19087


Wayne Utd Methodist Church
Northern New Jersey Council, Bsa 333
99 Parish Dr
Wayne, NJ 07470


Wayne Utd Methodist Men
Erie Shores Council 460
206 E Main St
Wayne, OH 43466


Wayne Wrilen Webb
Address Redacted


Waynedale Utd Methodist Church
Anthony Wayne Area 157
2500 Church St
Fort Wayne, IN 46809


Waynedale Utd Methodist Church
Anthony Wayne Area 157
2501 Church St
Fort Wayne, IN 46809


Waynes Welding
Gulf Coast Council 773
1277 Leavins Rd
Westville, FL 32464


Waynesboro Eagles Club Incorporated
Mason Dixon Council 221
16 E Main St
Waynesboro, PA 17268


Waynesboro Rotary Club
Georgia‐Carolina 093
P.O. Box 848
Waynesboro, GA 30830


Waynesburg Vfw Post 4793
Laurel Highlands Council 527
445 E Lincoln St
Waynesburg, PA 15370


Waynesville Utd Methodist Church
Dan Beard Council, Bsa 438
P.O. Box 634
Waynesville, OH 45068


Waynesville Utd Methodist Church
Ozark Trails Council 306
301 Hwy T
Waynesville, MO 65583
Waynetown Merchants Assoc
Crossroads of America 160
100 W Washington St
Waynetown, IN 47990


Waynewood Elementary School PTA
National Capital Area Council 082
1205 Waynewood Blvd
Alexandria, VA 22308


Wayside Altamira Academy
Capitol Area Council 564
220 Foremost Dr
Austin, TX 78745


Wayside Christian Mission
Lincoln Heritage Council 205
432 E Jefferson St
Louisville, KY 40202


Wayside Church Of The Nazarene
Sequoia Council 027
1929 E Bardsley Ave
Tulare, CA 93274


Wayside Methodist Church
Buckskin 617
3100 Grand Central Ave
Ave
Vienna, WV 26105


Wayside Methodist Church
Monmouth Council, Bsa 347
1215 W Park Ave
Ocean, NJ 07712


Wayside Presbyterian Church
French Creek Council 532
1208 Asbury Rd
Erie, PA 16505
Wayside Utd Methodist Church
Monmouth Council, Bsa 347
1215 W Park Ave
Ocean, NJ 07712


Wayves
Aloha Council, Bsa 104
4491 Kikiaola Pl
Kekaha, HI 96752


Wayzata Community Church
Northern Star Council 250
125 Wayzata Blvd E
Wayzata, MN 55391


Wayzata Community Church Ucc
Northern Star Council 250
125 Wayzata Blvd E
Wayzata, MN 55391


Wazhazee Lodge 366
Attn Glenn Benjamin
254 Bramblebush Ln
Royal, AR 71968


Wb Land Co Ltd
dba Wb Ranch
139 Pr 214
Whitney, TX 76692


Wb Wood
Greater New York Councils, Bsa 640
225 Park Ave So
New York, NY 10003


Wbs Imports LLC
209 N Ebrite
Mesquite, TX 75149


Wbtv
1 Julian Price Pl
Charlotte, NC 28208
Wbtv
Po B Ox 11407, Dept 1497
Birmingham, AL 35246‐1497


Wc Ygnacio Vly Commuters Lions Club
Mt Diablo‐Silverado Council 023
20 Menosse Ct
Vallejo, CA 94590


Wcb
333 Broadway
Winnipeg, Mb R3C 4W3
Canada


WD Boyce
614 NE Madison Ave
Peoria, IL 61603‐3886


Wd Kelley Elementary
Cradle of Liberty Council 525
1601 N 28th St
Philadelphia, PA 19121


Wdl Systems LLC
P.O. Box 890030
Charlotte, NC 28289


We Are One Utd Methodist Church
Andrew Jackson Council 303
1315 W Mcdowell Rd
Jackson, MS 39204


We Are Roleplayers
Simon Kenton Council 441
122 Columbia Ave
Wheeling, WV 26003


We Baggs Vfw Post 9960
East Carolina Council 426
246 Vfw Rd
Swansboro, NC 28584


We Heart Websites
938 S Kingsley Dr
Los Angeles, CA 90006


We Who Care Of Marion County Inc
North Florida Council 087
535 NE 57th St
Ocala, FL 34479


Wealth Engine Inc
P.O. Box 775981
Chicago, IL 60677‐5981


Wealth‐X LLC
142 W 36th St, 12th Fl
New York, NY 10018


Wealth‐X LLC
Attn Legal Dept
142 W 36th St, 12th Fl
New York, NY 10018


Wealth‐X Pte Ltd
8 Marina Blvd, Ste 05‐02
Marina Ray Financial Centre
Singapore, 018981
Singapore


Wealth‐X Pte Ltd
8 Marina Blvd, Ste 05‐02
Marina Bay Financial Centre
018981
Singapore


Weatherford Federated Church
Last Frontier Council 480
302 N Custer St
Weatherford, OK 73096
Weatherford Police Dept
Longhorn Council 662
801 Santa Fe Dr
Weatherford, TX 76086


Weatherford Rotary Club
Last Frontier Council 480
P.O. Box 93
Weatherford, OK 73096


Weaver First Utd Methodist Church
Greater Alabama Council 001
P.O. Box 1087
Weaver, AL 36277


Weaver Fundraising, LLC
4485 S Perry Worth Rd
Whitestown, IN 46075


Weaver Fundraising, LLC
75 Remittance Dr, Ste 1083
Chicago, IL 60675‐1083


Weaver Middle School
Central Georgia Council 096
2570 Heath Rd
Macon, GA 31206


Weaver Middle School Jlc
Central Georgia Council 096
2570 Heath Rd
Macon, GA 31206


Weaver Popcorn Co, Inc
14470 Bergen Blvd, Ste 100
Noblesville, IN 46060‐3377


Weaver Popcorn Co, Inc
9850 Wpoint Dr, Ste 100
Indianapolis, IN 46256
Weaver School Apt
Northern Star Council 250
2135 Birmingham St
Saint Paul, MN 55109


Weaverland Valley Fire Dept
Pennsylvania Dutch Council 524
P.O. Box 421
Terre Hill, PA 17581


Weaverville Lions Club
Golden Empire Council 047
P.O. Box 386
Weaverville, CA 96093


Weaverville Utd Methodist Church
Daniel Boone Council 414
P.O. Box 37
Weaverville, NC 28787


Web Dubois Academy Family Resource Ctr
Lincoln Heritage Council 205
4425 Preston Hwy
Louisville, KY 40213


Web Mason Incorporated
P.O. Box 62414
Baltimore, MD 21264‐2414


Webb Bridge Ward Roswell Ga Stake
Atlanta Area Council 092
510 Brannon Rd
Cumming, GA 30041


Webb Co Inc
315 S Main
Aberdeen, SD 57401‐4318


Webb County Sheriff Dept
South Texas Council 577
902 Victoria St
Laredo, TX 78040
Webb County Sheriff Explorers Club
South Texas Council 577
902 Victoria St
Laredo, TX 78040


Webb Design
130 S Prospect Ave
Tustin, CA 92780


Webb School
Great Smoky Mountain Council 557
9800 Webb School Ln
Webb Lower School
Knoxville, TN 37923


Webb School Of Knoxville
Great Smoky Mountain Council 557
9800 Webb School Ln
Knoxville, TN 37923


Webber Elementary PTO
Great Lakes Fsc 272
3191 W Clarkston Rd
Lake Orion, MI 48362


Webberville Utd Methodist Church
Water and Woods Council 782
4215 E Holt Rd
Webberville, MI 48892


Webbs Chapel Baptist Church
East Carolina Council 426
2771 Webbs Chapel Rd
P.O. Box 336
Macclesfield, NC 27852


Webbs Water Gardens, Inc
1021 Old Fallston Rd
Fallston, MD 21047
Webby Awards Processing Center
1212 Bath Ave, Ste 301
Ashland, KY 41101


Weber County Pats Program
Trapper Trails 589
5470 S 2700 W
Roy, UT 84067


Weber State University
2108 University Cir
Ogden, UT 84408


Weber State University
Financial Aid   Scholarship Office
3885 W Campus Dr 1136
Ogden, UT 84408


Webers Inn
3050 Jackson Rd
Ann Arbor, MI 48103


Weberwood Elementary School
Buckskin 617
732 Gordon Dr
Charleston, WV 25303


Webstaurantstore Inc
40 Citation Ln
Lititz, PA 17543


Webster ‐ St Joseph Basilica
Heart of New England Council 230
53 Whitcomb St
Webster, MA 01570


Webster Avenue School P T O
Narragansett 546
191 Webster Ave
Providence, RI 02909
Webster City Kiwanis/Rotary
c/o Richard Peterson
Mid Iowa Council 177
1720 Lynx Ave, Apt 201
Webster City, IA 50595


Webster Fairport Elks Bpoe 2396
Seneca Waterways 397
1066 Jackson Rd
Webster, NY 14580


Webster Fire Dept
Seneca Waterways 397
35 S Ave
Webster, NY 14580


Webster Groves Presbyterian Church
Greater St Louis Area Council 312
45 W Lockwood Ave
Saint Louis, MO 63119


Webster Hill School P T O
Connecticut Rivers Council, Bsa 066
125 Webster Hill Blvd
West Hartford, CT 06107


Webster Parish School Board
Attn Sales Tax Dept
P.O. Box 357
Minden, LA 71058‐0357


Webster Police Dept
Seneca Waterways 397
1000 Ridge Rd
Webster, NY 14580


Webster Presbyterian Church
Seneca Waterways 397
550 Webster Rd
Webster, NY 14580


Webster PTA
Greater St Louis Area Council 312
108 W Church St
Collinsville, IL 62234


Webster University
Attn Office of the Registrar
470 E Lockwood Ave
St Louis, MO 63119‐3194


Webster Utd Church Of Christ
Southern Shores Fsc 783
5484 Webster Church Rd
Dexter, MI 48130


Webster Utd Methodist Ch Webster Groves
Greater St Louis Area Council 312
600 N Bompart Ave
Saint Louis, Mo 63119


Weddington Utd Methodist Ch
Central N Carolina Council 416
13901 Providence Rd
Matthews, NC 28104


Weddington Utd Methodist Church
Central N Carolina Council 416
13901 Providence Rd
Matthews, NC 28104


Wedgewood Doulton Usa Acquo 2
Fiskards Living US LLC
1330 Campus Pkwy
Wall, NJ 07753


Wedgewood Travel
7 Prescott St
London, E1 8Ay
United Kingdom


Wedgewood Utd Methodist Church
Great Trail 433
2350 Wedgewood Dr
Akron, OH 44312


Wedgwood Presbyterian Church
Chief Seattle Council 609
8008 35th Ave Ne
Seattle, WA 98115


Wedgwood School PTO
Garden State Council 690
236 Hurffville Rd
Sewell, NJ 08080


Wee Friends Preschool
Trapper Trails 589
197 W 500 S
Logan, UT 84321


Weed Building Supply
700 Shastina Dr
Weed, CA 96094


Weed Rental Inc
700 Shastina Dr
Weed, CA 96094


Weeder Landrum
Address Redacted


Weedville Wesleyan Church
Bucktail Council 509
18945 Bennetts Valley Hwy
Weedville, PA 15868


Weekes Forest Products
Nw9356 P.O. Box 1450
Minneapolis, MN 55485‐9356


Weeksville Lions Club
Tidewater Council 596
2760 Peartree Rd
Elizabeth City, NC 27909
Weequahic Family Success Ctr
Northern New Jersey Council, Bsa 333
1065 Bergen St
Newark, NJ 07112


Wegmans School Of Pharmacy
Seneca Waterways 397
3690 E Ave
Rochester, NY 14618


Weimar Rotary Club
Sam Houston Area Council 576
P.O. Box 153
Weimar, TX 78962


Weirsdale Presbyterian Church
North Florida Council 087
P.O. Box 527
Weirsdale, FL 32195


Weiser Lions Club
Ore‐Ida Council 106 ‐ Bsa 106
11250 Pioneer
Weiser, ID 83672


Weiser Lions Club
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 286
Weiser, ID 83672


Wekiva Presbyterian Church
Central Florida Council 083
211 Wekiva Springs Ln
Longwood, FL 32779


Welborne Utd Methodist Church
Heart of Virginia Council 602
920 Maybeury Dr
Richmond, VA 23229
Welby Gardens Co
2761 E 74th Ave
Denver, CO 80229


Welcome Wesleyan Church
Blue Ridge Council 551
1040 Ebenezer Rd
Seneca, SC 29672


Weld LLC
90 S 400 W, Ste 300
Salt Lake City, UT 84101


Welding By K   K, LLC
54 Lebaron
Waukegan, IL 60085


Weldon, Huston   Keyser, LLP
76 N Mulberry St
Mansfield, OH 44902‐1241


Weldons Office Supply
301 Main St
New Martinsville, WV 26155


WeLLCo Enteprises Inc
5968 Commerce Blvd
Morristown, TN 37814


Weller S Men S Wear Inc
3113 W Broadway
Sedalia, MO 65301


Wellington Community Fair Inc
Heart of America Council 307
P.O. Box 15
Wellington, MO 64097


Wellington Elementary School
Lincoln Heritage Council 205
4800 Kaufman Ln
Louisville, KY 40216


Wellington Elementary School PTO
Gulf Stream Council 085
13000 Paddock Dr
Wellington, FL 33414


Wellpet
Lasalle Council 165
1011 W 11th St
Mishawaka, IN 46544


Wells Branch Community Church
Capitol Area Council 564
2113 Wells Branch Pkwy
Austin, TX 78728


Wells Branch Homestead Corp
Capitol Area Council 564
14611 Wells Port Dr
Wells Branch Annex


Wells Community Boys And Girls Club
Anthony Wayne Area 157
1532 N Main St
Bluffton, IN 46714


Wells Congregational Church
Pine Tree Council 218
1695 Post Rd
P.O. Box 759
Wells, ME 04090


Wells Fargo
Attn Nicholas London
1445 Ross Ave, 23rd Fl, Ste 2314
Dallas, TX 75202


Wells Fargo
Attn Shirley Hooper
31062 Hwy 64
Cimarron, NM 87714
Wells Fargo
Elite Card Payment Ctr
P.O. Box 77066
Minneapolis, MN 55480‐7766


Wells Fargo
Payment Remittance Ctr
P.O. Box 6415
Carol Stream, IL 60197‐6415


Wells Fargo Bank
Attn Seton Estates Account
241 Washington St
Santa Fe, NM 84501


Wells Fargo Banks
Account Analysis
Nw 7091 P.O. Box 1450
Minneapolis, MN 55485


Wells Fargo Financial
800 Walnut St
Des Moines, IA 50309


Wells Fargo Financial Leasing Inc
P.O. Box 6434
Carol Stream, IL 60197‐6434


Wells Fargo Financial Leasing, Inc
800 Walnut St
Mac N0005‐044
Des Moines, IA 50309


Wells Fargo NA
Mecklenburg County Council 415
401 S Tryon St
Charlotte, NC 28202


Wells Fargo Vendor Fin Serv
P.O. Box 70239
Philadelphia, PA 19178‐0239


Wellsburg Elks Lodge 1553
Ohio River Valley Council 619
P.O. Box 27
834 Charles St
Wellsburg, WV 26070


Wellspring Anglican Church
Greater Yosemite Council 059
1548 Cummins Dr
Modesto, CA 95358


Wellspring Ministries
Ozark Trails Council 306
2469 N Honeysuckle Way
Springfield, MO 65802


Wellspring Utd Methodist Church
Capitol Area Council 564
6200 Williams Dr
Georgetown, TX 78633


Wellstar Spalding Regional Hospital
Flint River Council 095
601 S 8th St
Griffin, GA 30224


Wellston Brethren Kaleva School Parents
President Gerald R Ford 781
4400 Highbridge Rd
P.O. Box 36
Brethren, MI 49619


Wellsville Fire Dept
Heart of America Council 307
730 Main St
Wellsville, KS 66092


Wellsville Volunteer Fire Co
New Birth of Freedom 544
95 Community St
Wellsville, PA 17365


Welsh Congregational Church
Minsi Trails Council 502
1 S Hazle St
Hazle Township, PA 18201


Wendel Lathrop
Address Redacted


Wendell 1St Ward ‐ Wendell Stake
Snake River Council 111
605 N Idaho St
Wendell, ID 83355


Wendell 2Nd Ward ‐ Wendell Stake
Snake River Council 111
65 N Idaho St
Wendell, ID 83355


Wendell Stake ‐ Fairfield Ward
Snake River Council 111
400 Alturas Ave W
Fairfield, ID 83327


Wendy Bihler
Address Redacted


Wendy Cook
Address Redacted


Wendy Ewald
Address Redacted


Wendy Islas
Address Redacted


Wendy J Chien
Address Redacted
Wendy K Wandersee
Address Redacted


Wendy Long
Address Redacted


Wendy M Kurten
Address Redacted


Wendy Meadows
Address Redacted


Wendy Nelson
Address Redacted


Wendy Perez
Address Redacted


Wendy Shaw
Address Redacted


Wendy Smith
Address Redacted


Wendy Stinnett
Address Redacted


Wendy Suzanne Matkin
Address Redacted


Wendy Thomas
Address Redacted


Wendy Wendt
Address Redacted


Wendy Wolfe
Address Redacted


Wendy Yalen
Address Redacted


Wenger
P.O. Box 10575
Newark, NJ 07193‐0575


Wenona Rotary Club
W D Boyce 138
207 Sunset View St
Wenona, IL 61377


Wenona Rotary Club
W D Boyce 138
5 Cir Dr
Wenona, IL 61377


We‐No‐Nah Canoe
P.O. Box 247
Winona, MN 55987‐0247


Wenonah Methodist Church
Garden State Council 690
105 E Willow St
Wenonah, NJ 08090


Wente Southern Annex Group
San Francisco Bay Area Council 028
1001 Davis St
San Leandro, CA 94577


Wentworth Institute Of Technology
Attn Office of Financial Aid
550 Huntington Ave
Boston, MA 02115


Wentzville Christian Church
Greater St Louis Area Council 312
1507 Hwy Z
Wentzville, MO 63385


Wentzville Police Explorers
Greater St Louis Area Council 312
1019 Schroeder Creek Blvd
Wentzville, MO 63385


Wepay, Inc
350 Convention Way, Ste 200
Redwood City, CA 94063


Wern Illinois Univ Police Fop Lodge 169
Illowa Council 133
P.O. Box 233
Macomb, Il 61455


Wern Star Lodge No 304 F      A M PA
Attn Terry Barton
French Creek Council 532
9159 Crane Rd
Cranesville, Pa 16410


Werner Wolff
Address Redacted


Werther International Inc
8614 Veterans Memorial
Houston, TX 77088


Wes Family Resource Ctr
Lincoln Heritage Council 205
4008 State Route 85 E
Centertown, KY 42328


Wes Spur Tree Equipment Inc
2121 Iron St
Bellingham, WA 98225


Wesco Receivables Corp
P.O. Box 641447
Pittsburgh, PA 15264‐1447
Wesconnett Utd Methodist Church
North Florida Council 087
5630 Wesconnett Blvd
Jacksonville, FL 32244


Wes‐Del Elementary PTO
Crossroads of America 160
500 E Jackson St
Gaston, IN 47342


Weslaco 2 LDS Church
Rio Grande Council 775
210 S Wgate Dr
Weslaco, TX 78596


Weslaco 2 LDS Church
Rio Grande Council 775
701 Palacios Dr
Edinburg, TX 78539


Weslaco Border Patrol Station
Rio Grande Council 775
1501 E Expressway 83
Weslaco, TX 78599


Wesley Bingenheimer
Address Redacted


Wesley Blake
Address Redacted


Wesley C Walton
Address Redacted


Wesley Chapel Utd Methodist Church
Atlanta Area Council 092
4495 Sandy Plains Rd
Marietta, GA 30066
Wesley Chapel Utd Methodist Men
Heart of Virginia Council 602
9227 River Rd
South Chesterfield, VA 23803


Wesley Coleman
Address Redacted


Wesley Community Ctr Inc Of Houston
Sam Houston Area Council 576
1410 Lee St
Houston, TX 77009


Wesley Cs Mccain
Address Redacted


Wesley D Townsend
Address Redacted


Wesley Elementary
Sam Houston Area Council 576
800 Dillard St
Houston, TX 77091


Wesley Free Methodist Church
Crossroads of America 160
3017 W 8th St
Anderson, IN 46011


Wesley Freedom Utd Methodist Church
Baltimore Area Council 220
961 Johnsville Rd
Sykesville, MD 21784


Wesley G Haas
Address Redacted


Wesley Grove Utd Methodist Church
Baltimore Area Council 220
1320 Dorsey Rd
Hanover, MD 21076
Wesley Grove Utd Methodist Church
National Capital Area Council 082
23640 Woodfield Rd
Gaithersburg, MD 20882


Wesley Heu
Address Redacted


Wesley House Community Ctr
Great Smoky Mountain Council 557
1719 Reynolds St
Knoxville, TN 37921


Wesley J Smith
Address Redacted


Wesley Jurey
Address Redacted


Wesley Memorial Utd Methodist Church
Cape Fear Council 425
1401 S College Rd
Wilmington, NC 28403


Wesley Memorial Utd Methodist Church
Cherokee Area Council 556
3405 Peerless Rd Nw
Cleveland, TN 37312


Wesley Memorial Utd Methodist Church
Cherokee Area Council 556
6314 E Brainerd Rd
Chattanooga, TN 37421


Wesley Memorial Utd Methodist Church
Great Smoky Mountain Council 557
Rr 1
Etowah, TN 37331
Wesley Memorial Utd Methodist Church
Greater Alabama Council 001
1211 Wmead St Sw
Decatur, AL 35601


Wesley Memorial Utd Methodist Church
Greater Tampa Bay Area 089
6100 Memorial Hwy
Tampa, FL 33615


Wesley Memorial Utd Methodist Church
Old N State Council 070
1225 Chestnut Dr
High Point, NC 27262


Wesley Memorial Utd Methodist Church
Piedmont Council 420
825 Wesley Dr
Statesville, NC 28677


Wesley Memorial Utd Methodist Church
Tidewater Council 596
288 E Little Creek Rd
Norfolk, VA 23505


Wesley Methodist Church
Daniel Webster Council, Bsa 330
79 Clinton St
Concord, NH 03301


Wesley Methodist Church
Greater St Louis Area Council 312
3551 US Hwy 61
Festus, MO 63028


Wesley Methodist Church
Last Frontier Council 480
322 E Independence
Shawnee, OK 74804


Wesley Methodist Church
Voyageurs Area 286
303 E 32Rd St
Hibbing, MN 55746


Wesley Patterson
Address Redacted


Wesley Quandt Jr
Address Redacted


Wesley Stowers
Address Redacted


Wesley Utd Methodist Ch
Greater St Louis Area Council 312
2206 4th St
Charleston, IL 61920


Wesley Utd Methodist Ch In Nescopeck
Columbia‐Montour 504
401 Broad St
Nescopeck Borough
Nescopeck, Pa 18635


Wesley Utd Methodist Ch Methodist Men
Mountaineer Area 615
107 W High St
Kingwood, Wv 26537


Wesley Utd Methodist Church
Baltimore Area Council 220
3239 Carrollton Rd
Hampstead, MD 21074


Wesley Utd Methodist Church
Bay‐Lakes Council 635
761 Florida Ave
Oshkosh, WI 54902


Wesley Utd Methodist Church
Central Florida Council 083
2075 Meadowlane Ave
Melbourne, FL 32904


Wesley Utd Methodist Church
Circle Ten Council 571
P.O. Box 864
Greenville, TX 75403


Wesley Utd Methodist Church
Coastal Georgia Council 099
6520 Frederica Rd
Saint Simons Island, GA 31522


Wesley Utd Methodist Church
Columbia‐Montour 504
130 W 3rd St
Bloomsburg, PA 17815


Wesley Utd Methodist Church
Del Mar Va 081
102 E Laurel St
Georgetown, DE 19947


Wesley Utd Methodist Church
Gamehaven 299
114 W Broadway St
Winona, MN 55987


Wesley Utd Methodist Church
Georgia‐Carolina 093
825 N Belair Rd
Evans, GA 30809


Wesley Utd Methodist Church
Grand Columbia Council 614
14 N 48th Ave
Yakima, WA 98908


Wesley Utd Methodist Church
Heart of Virginia Council 602
3701 Conduit Rd
Colonial Heights, VA 23834
Wesley Utd Methodist Church
Illowa Council 133
1212 W Calhoun St
Macomb, IL 61455


Wesley Utd Methodist Church
Illowa Council 133
400 Iowa Ave
Muscatine, IA 52761


Wesley Utd Methodist Church
Istrouma Area Council 211
544 Government St
Baton Rouge, LA 70802


Wesley Utd Methodist Church
Last Frontier Council 480
302 E Independence St
Shawnee, OK 74804


Wesley Utd Methodist Church
Laurel Highlands Council 527
1229 Prescott St
White Oak, PA 15131


Wesley Utd Methodist Church
National Capital Area Council 082
711 Spring St Se
Vienna, VA 22180


Wesley Utd Methodist Church
Oregon Trail Council 697
1385 Oakway Rd
Eugene, OR 97401


Wesley Utd Methodist Church
Ozark Trails Council 306
922 W Republic Rd
Springfield, MO 65807


Wesley Utd Methodist Church
Patriots Path Council 358
1500 Plainfield Ave
South Plainfield, NJ 07080


Wesley Utd Methodist Church
Pennsylvania Dutch Council 524
40 W Main St
Strasburg, PA 17579


Wesley Utd Methodist Church
Pine Burr Area Council 304
8900 Old Spanish Trl
Ocean Springs, MS 39564


Wesley Utd Methodist Church
Pony Express Council 311
3409 Ajax Rd
Saint Joseph, MO 64503


Wesley Utd Methodist Church
Pony Express Council 311
9th   Washington
Trenton, MO 64683


Wesley Utd Methodist Church
Quivira Council, Bsa 198
500 Leawood Dr
Parsons, KS 67357


Wesley Utd Methodist Church
Rocky Mountain Council 063
85 Stanford Ave
Pueblo, CO 81005


Wesley Utd Methodist Church
Silicon Valley Monterey Bay 055
566 N 5th St
San Jose, CA 95112


Wesley Utd Methodist Church
Southwest Florida Council 088
350 S Barfield Dr
Marco Island, FL 34145


Wesley Utd Methodist Church
The Spirit of Adventure 227
8 N St
Salem, MA 01970


Wesley Utd Methodist Church
Theodore Roosevelt Council 386
619 Fenworth Blvd
Franklin Square, NY 11010


Wesley Utd Methodist Church
Three Harbors Council 636
4600 60th St
Kenosha, WI 53144


Wesley Utd Methodist Church
Three Rivers Council 578
3810 N Major Dr
Beaumont, TX 77713


Wesley Utd Methodist Church
W D Boyce 138
502 E Front St
Bloomington, IL 61701


Wesley Utd Methodist Church
Westark Area Council 016
2200 Phoenix Ave
Fort Smith, AR 72901


Wesley Utd Methodist Men
National Capital Area Council 082
8412 Richmond Ave
Alexandria, VA 22309


Wesley Utd Methodist Men
Three Fires Council 127
14 N May St
Aurora, IL 60506
Wesley Utd Methodist Men
Three Fires Council 127
21 E Franklin Ave
Naperville, IL 60540


Wesley Utd Methodist Men
Westark Area Council 016
300 N Cumberland Ave
Russellville, AR 72801


Wesley Utd Methodist Mens Club
Central Georgia Council 096
4256 Hartley Bridge Rd
Macon, GA 31216


Wesley Utd Methodist Mens Club
Winnebago Council, Bsa 173
14th   S Penn Ave
Mason City, IA 50401


Wesley Wallace
Address Redacted


Wesley Way Utd Methodist Church
Flint River Council 095
150 John Wesley Way
Mcdonough, GA 30252


Wesley Weems
Address Redacted


Wesley/Golden Gate Youth Services
Grand Canyon Council 010
1625 N 39th Ave
Phoenix, AZ 85009


Wesleyan Academy
Puerto Rico Council 661
P.O. Box 1489
Guaynabo, PR 00970
Wesleyan Chapel Utd Methodist Church
Cape Fear Council 425
10255 US Hwy 17
Wilmington, NC 28411


Wesleyan School Inc
Atlanta Area Council 092
5405 Spalding Dr
Peachtree Corners, GA 30092


Wesleyan University
237 High St
Middletown, CT 06459


Wessagusset Yacht Club
Mayflower Council 251
P.O. Box 74
N Weymouth, MA 02191


West
P.O. Box 64833
St Paul, MN 55164‐0833


West Albany Fire District
Twin Rivers Council 364
113 Sand Creek Rd
Albany, NY 12205


West Alexandria Lion Club
Miami Valley Council, Bsa 444
16 W Main St
West Alexandria, OH 45381


West Allegheny School District
Laurel Highlands Council 527
101 Bruno Lane
Imperial, PA 15126


West Allis Rotary Club
Three Harbors Council 636
1323 S 65th St
Milwaukee, WI 53214


West Angeles Church Of God In Christ
Greater Los Angeles Area 033
3010 Crenshaw Blvd
Los Angeles, CA 90016


West Asheboro Baptist Church
Old N State Council 070
831 Uwharrie St
Asheboro, NC 27203


West Ashley High School Njrotc
Coastal Carolina Council 550
4060 Wildcat Blvd
Charleston, SC 29414


West Avon Congregational Church
Connecticut Rivers Council, Bsa 066
280 Country Club Rd
Avon, CT 06001


West Babylon Lions Club
Suffolk County Council Inc 404
399 Little E Neck Rd
West Babylon, NY 11704


West Barre Utd Methodist Church
Iroquois Trail Council 376
5377 Eagle Harbor Rd
Albion, NY 14411


West Baton Rouge Parish
Attn Sales Tax Dept
P.O. Box 53
Port Allen, LA 70767‐0053


West Bemis Middle School
West Tennessee Area Council 559
324 2nd St
Jackson, TN 38301
West Bend Medical
Bay‐Lakes Council 635
551 S Silverbrook Dr
West Bend, WI 53095


West Bend Police Dept
Bay‐Lakes Council 635
350 Vine St
West Bend, WI 53095


West Bloomfield Utd Methodist Church
Great Lakes Fsc 272
4100 Walnut Lake Rd
West Bloomfield, MI 48323


West Bloomfield Volunteer Fire Dept
Seneca Waterways 397
P.O. Box 24
County Rd 37
West Bloomfield, NY 14585


West Branch Lions Club
Hawkeye Area Council 172
239 290th St
West Branch, IA 52358


West Bristol PTO
Connecticut Rivers Council, Bsa 066
500 Clark Ave
Bristol, CT 06010


West Broad Street Ymca
Coastal Georgia Council 099
1110 May St
Savannah, GA 31401


West Broward Masonic Lodge No 253
South Florida Council 084
927 NW 178th Ave
Pembroke Pines, FL 33029
West Burlington Utd Methodist Church
Mississippi Valley Council 141 141
308 Broadway St
West Burlington, IA 52655


West Caldwell Njrotc
Piedmont Council 420
300 W Caldwell Dr
Lenoir, NC 28645


West Cape May Fire Co
Garden State Council 690
732 Broadway
Cape May, NJ 08204


West Carroll Parish School Board
Sales Tax Dept
P.O. Box 1318
Oak Grove, LA 71263‐1318


West Carrollton Police Explorers
Miami Valley Council, Bsa 444
300 E Central Ave
West Carrollton, OH 45449


West Charleston Church
Miami Valley Council, Bsa 444
4817 S State Route 202
Tipp City, OH 45371


West Charleston Church Of The Brethren
Miami Valley Council, Bsa 444
4817 S State Route 202
Tipp City, OH 45371


West Charlotte High School
Mecklenburg County Council 415
2219 Senior Dr
Charlotte, NC 28216


West Charlotte High School Group A
Mecklenburg County Council 415
2219 Senior Dr
Charlotte, NC 28216


West Charlotte High School Group B
Mecklenburg County Council 415
2219 Senior Dr
Charlotte, NC 28216


West Charlotte High School Group C
Mecklenburg County Council 415
2219 Senior Dr
Charlotte, NC 28216


West Chelmsford Utd Methodist Church
The Spirit of Adventure 227
242 Main St
N Chelmsford, MA 01863


West Chester Methodist Church
Chester County Council 539
129 S High St
West Chester, PA 19382


West Chester Nazarene
Dan Beard Council, Bsa 438
7951 Tylersville Rd
West Chester, OH 45069


West Chester Police
Dan Beard Council, Bsa 438
9577 Beckett Rd
West Chester, OH 45069


West Chester Society Of Friends
Chester County Council 539
Gym
415 N High E Marshall St
West Chester, PA 19380


West Chester University
Attn Office of the Bursar
25 University Ave
West Chester, PA 19383


West Chestnut Baptist Church
Lincoln Heritage Council 205
1725 W Chestnut St
Louisville, KY 40203


West Chicago Police Dept
Three Fires Council 127
325 Spencer St
West Chicago, IL 60185


West Citrus Elks Lodge 2693
Greater Tampa Bay Area 089
P.O. Box 3719
Homosassa Springs, FL 34447


West Coast Adjustors
P.O. Box 569
Lynnwood, WA 98046


West Coast Novelty
2401 Monarch St
Alameda, CA 94501


West Coast Novelty
c/o Wells Fargo Trade Capital
P.O. Box 360286
Pittsburgh, PA 15250‐6286


West Columbia 1St Ward
Indian Waters Council 553
1330 Whippoorwill Dr
West Columbia, SC 29169


West Congregational Church
The Spirit of Adventure 227
767 Broadway
Haverhill, MA 01832


West Corpus Christi Rotary
South Texas Council 577
P.O. Box 4613
Corpus Christi, TX 78469


West County Middle School
Greater St Louis Area Council 312
1124 Main St
Leadwood, MO 63653


West Covina Fire Explorers
Greater Los Angeles Area 033
1435 W Puente Ave
West Covina, CA 91790


West Covina Police Dept
Greater Los Angeles Area 033
1444 W Garvey Ave S
West Covina, CA 91790


West Dallas Community Church
Circle Ten Council 571
2215 Canada Dr
Dallas, TX 75212


West De Pere PTO
Bay‐Lakes Council 635
1155 Wwood Dr
De Pere, WI 54115


West Deptford Lions Club
Garden State Council 690
P.O. Box 273
Thorofare, NJ 08086


West Des Moines Utd Methodist Church
Mid Iowa Council 177
720 Grand Ave
West Des Moines, IA 50265


West Dover Congregational Church Ucc
Green Mountain 592
P.O. Box 710
West Dover, VT 05356


West Dover PTO
Jersey Shore Council 341
50 Blue Jay Dr
Toms River, NJ 08755


West Earl Lions Club
c/o Abram Shrom
Pennsylvania Dutch Council 524
410 Rose Hill Rd
Ephrata, PA 17522


West Edgecombe Ruritan Club
East Carolina Council 426
P.O. Box 216
Rocky Mount, NC 27802


West Elementary After School Program
Middle Tennessee Council 560
400 Clark Blvd
Mc Minnville, TN 37110


West Elementary PTO
Middle Tennessee Council 560
9315 Lebanon Rd
Mount Juliet, TN 37122


West Elementary PTO
President Gerald R Ford 781
1840 38th St Sw
Wyoming, MI 49519


West Elementary PTO
Simon Kenton Council 441
41 Central Ave
Athens, OH 45701


West Emory Presbyterian Church
Great Smoky Mountain Council 557
1035 Emory Church Rd
Knoxville, TN 37922
West End Academy PTA
Greater Alabama Council 001
1840 Pearson Ave Sw
Birmingham, AL 35211


West End Baptist Church
Heart of Virginia Council 602
6506 Boydton Plank Rd
Dinwiddie, VA 23803


West End Collegiate Church
Greater New York Councils, Bsa 640
245 W 77th St
New York, NY 10024


West End Methodist Church
Occoneechee 421
P.O. Box 276
West End, NC 27376


West End Neighborhood House
Del Mar Va 081
710 Lincoln St
Wilmington, DE 19805


West End School PTA
Patriots Path Council 358
447 Greenbrook Rd
North Plainfield, NJ 07063


West End Utd Methodist Church
Occoneechee 421
P.O. Box 276
West End, NC 27376


West Essex Youth Assoc
Northern New Jersey Council, Bsa 333
24 Cambridge Dr
North Caldwell, NJ 07006
West Fargo Exchange Club
Northern Lights Council 429
P.O. Box 522
West Fargo, ND 58078


West Fargo Police Dept
Northern Lights Council 429
800 4th Ave E, Ste 2
West Fargo, ND 58078


West Feliciana Parish School Bd
Attn Sales Tax Dept
P.O. Box 1910
St Francisville, LA 70775‐1910


West Fork Community Church
Westark Area Council 016
288 Main St
West Fork, AR 72774


West Fort Ann Utd Methodist Church
Twin Rivers Council 364
1011 Copeland Pond Rd
Fort Ann, NY 12827


West Frankfort Fire Dept
Katahdin Area Council 216
240 Swanville Rd
Frankfort, ME 04438


West Freehold PTO
Monmouth Council, Bsa 347
100 Castranova Way
West Freehold School


West Friendship Volunteer Fire Dept
Baltimore Area Council 220
12535 State Route 99/Old Frederick Rd
Sykesville, MD 21784


West Gardiner Rod   Gun Club
Pine Tree Council 218
Collins Mills Rd
West Gardiner, ME 04345


West Gardiner Rod And Gun Club
Pine Tree Council 218
297 Collins Mills Rd
West Gardiner, ME 04345


West Goshen Lions Club
Chester County Council 539
511 Veronica Rd
West Chester, PA 19380


West Greenville Community Ctr
Blue Ridge Council 551
8 Rochester St
Greenville, SC 29611


West Grove Presbyterian Church
Chester County Council 539
139 W Evergreen St
West Grove, PA 19390


West Grove Utd Methodist Church
Chester County Council 539
300 N Guernsey Rd
West Grove, PA 19390


West Handley Elementary ‐ Gifw
Longhorn Council 662
2749 Putnam St
Fort Worth, TX 76112


West Haven Presbyterian Church
East Carolina Council 426
1001 W Haven Blvd
Rocky Mount, NC 27803


West Heights Utd Methodist Church
Quivira Council, Bsa 198
745 N Wlink Ave
Wichita, KS 67212
West Helena Utd Methodist Church
Quapaw Area Council 018
109 N Sixth
West Helena, AR 72390


West Hempfield Fire   Rescue Co
Pennsylvania Dutch Council 524
3519 Marietta Ave
Lancaster, PA 17601


West Hempfield Presbyterian Church
Westmoreland Fayette 512
8 W Hempfield Dr
Irwin, PA 15642


West High School Jrotc
Denver Area Council 061
951 Elati St
Denver, CO 80204


West Highlands Utd Methodist Church
Blue Mountain Council 604
17 S Union St
Kennewick, WA 99336


West Hills Baptist Church
Great Smoky Mountain Council 557
409 N Winston Rd
Knoxville, TN 37909


West Iredell Jrotc
Piedmont Council 420
213 Warrior Dr
Statesville, NC 28625


West Jefferson Utd Methodist Church
Old Hickory Council 427
107 W 2nd St
P.O. Box 826
West Kingston Fire Dept
Narragansett 546
P.O. Box 233
Fairgrounds Rd
West Kingston, RI 02892


West Lafayette Utd Methodist Church
Muskingum Valley Council, Bsa 467
120 W Union Ave
West Lafayette, OH 43845


West Laurel Civic Assoc
National Capital Area Council 082
P.O. Box 387
Laurel, MD 20725


West Lawn Utd Methodist Church
Hawk Mountain Council 528
15 Woodside Ave
West Lawn, PA 19609


West Lebanon Christian Church
Sagamore Council 162
201 S Clinton
West Lebanon, IN 47991


West Liberty Rotary Club
Illowa Council 133
205 W 6th St
West Liberty, IA 52776


West Liberty Utd Methodist Church
Baltimore Area Council 220
20400 W Liberty Rd
White Hall, MD 21161


West Lincoln Elementary ‐ Clc
Cornhusker Council 324
630 W Dawes Ave
Lincoln, NE 68521


West Lincoln Hs Jrotc
Piedmont Council 420
172 Shoal Rd
Lincolnton, NC 28092


West Lincoln Kiwanis Club
Cornhusker Council 324
210 O St
Lincoln, NE 68508


West Linn Lions Club
Cascade Pacific Council 492
19363 Willamette Dr Box 163
West Linn, OR 97068


West Main Hotel Investors LLC
Newport Beach Hotel , Ste s
1 Wave Ave
Middletown, RI 02842


West Manheim PTO
New Birth of Freedom 544
2000 Baltimore Pike
Hanover, PA 17331


West Manor Youth
Atlanta Area Council 092
570 Lynhurst Dr Sw
Atlanta, GA 30311


West Marine Products Inc
500 Wridge Dr
Watsonville, CA 95076


West Marine Products Inc
dba W Marine Pro
P.O. Box 50060
Watsonville, CA 95077‐5060


West Marine Products, Inc
P.O. Box 50060
Watsonville, CA 95077
West Mesa Emergency Products
122 Frontage Rd
Rio Rancho, NM 87124


West Metro District Fire‐Rescue
Northern Star Council 250
4251 Xylon Ave N
New Hope, MN 55428


West Middleton Lutheran Church
Glaciers Edge Council 620
3763 Pioneer Rd
Verona, WI 53593


West Milford Presbyterian Church
Northern New Jersey Council, Bsa 333
1452 Union Valley Rd
West Milford, NJ 07480


West Milford Utd Methodist Church
Mountaineer Area 615
P.O. Box 28
West Milford, WV 26451


West Monroe Community Ctr
Louisiana Purchase Council 213
400 S 5th St
West Monroe, LA 71292


West Monroe Vol Fire Dept Inc
Longhouse Council 373
County Route 11
West Monroe, NY 13167


West Mound School PTO
Simon Kenton Council 441
2051 W Mound St
Columbus, OH 43223


West Muskingum Es Boosters
Muskingum Valley Council, Bsa 467
200 Kimes Rd
Zanesville, OH 43701


West New York Police Dept
Northern New Jersey Council, Bsa 333
428 60th St
West New York, NJ 07093


West Newton Utd Methodist Church
Crossroads of America 160
6843 Mendenhall Rd
Indianapolis, IN 46221


West Orange Elks Lodge 1590
Northern New Jersey Council, Bsa 333
424 Main St
West Orange, NJ 07052


West Orthodontics
Greater Yosemite Council 059
1500 Mchenry Ave
Modesto, CA 95350


West Oso Concerned Parent Group
South Texas Council 577
1102 Villarreal Dr
Corpus Christi, TX 78416


West Ouachita High School
Louisiana Purchase Council 213
4061 Caples Rd
West Monroe, LA 71292


West Palm Beach Alumni Kappa League
Gulf Stream Council 085
P.O. Box 126
West Palm Beach, FL 33402


West Palm Beach Police Dept
Gulf Stream Council 085
600 Banyan Blvd
West Palm Beach, FL 33401
West Parish Church
The Spirit of Adventure 227
129 Reservation Rd
Andover, MA 01810


West Park Lutheran School
Lake Erie Council 440
4260 Rocky River Dr
Cleveland, OH 44135


West Penn Youth Ctr Corp
Hawk Mountain Council 528
740 Orchard Rd
New Ringgold, PA 17960


West Peoria Residents Assoc
W D Boyce 138
2305 W Ayres Ave
West Peoria, IL 61604


West Peoria Residents Assoc
W D Boyce 138
2506 W Rohmann Ave
West Peoria, IL 61604


West Plains Lions Club
Ozark Trails Council 306
2220 Lexington St
West Plains, MO 65775


West Plains Optimist Club
Ozark Trails Council 306
P.O. Box 873
West Plains, MO 65775


West Plains Optimist Club
Ozark Trails Council 306
P.O. Box 926
West Plains, MO 65775
West Plano Presbyterian Church
Circle Ten Council 571
2709 Custer Rd
Plano, TX 75075


West Point Assoc Of Graduates
Aiad Program
698 Mills Rd
West Point, NY 10996


West Point Eagles
Mid‐America Council 326
465 S Lincoln St
West Point, NE 68788


West Point First Utd Methodist Church
Chattahoochee Council 091
306 E 7th St
West Point, GA 31833


West Point Foundation
Cradle of Liberty Council 525
P.O. Box 168
1926 W Point Pike
West Point, PA 19486


West Point Fund
c/o Assoc of Graduates
698 Mills Rd
West Point, NY 10996


West Point Fund
Office of DeanAttn       Vicki Kiernan
Taylor Hall
West Point, NY 10996


West Point Presbyterian Church
Chattahoochee Council 091
1002 5th Ave
West Point, GA 31833


West Point Tours Inc
P.O. Box 268
Highland Falls, NY 10928


West Point Utd Methodist Church
Heart of Virginia Council 602
1020 Main St
West Point, VA 23181


West Police Dept
Longhorn Council 662
110 N Reagan St
West, TX 76691


West Portland Utd Methodist Church
Cascade Pacific Council 492
4729 SW Taylors Ferry Rd
Portland, OR 97219


West Preparatory Academy
Lake Erie Council 440
13111 Crossburn Ave
Cleveland, OH 44135


West Redding Volunteer Fire Co 2
Connecticut Yankee Council Bsa 072
306 Umpawaug Rd
Redding, CT 06896


West Richmond Church Of The Brethren
Heart of Virginia Council 602
7612 Wanymala Rd
Richmond, VA 23229


West Ridge Church
Atlanta Area Council 092
3522 Hiram Acworth Hwy
Dallas, GA 30157


West Ridge Elementary PTO
Denver Area Council 061
13102 Monaco St
Thornton, CO 80602
West Ridge Fire Dept
French Creek Council 532
3142 W 26th St
Erie, PA 16506


West Ridge Presbyterian Church
Sequoyah Council 713
P.O. Box 1666
Mount Carmel, TN 37645


West Ridge U Meth   St Margaret Mary Rcc
Pathway To Adventure 456
2324 W Chase Ave
Chicago, IL 60645


West Ripley Baptist Church
Buckskin 617
611 Main St W
Ripley, WV 25271


West River Utd Methodist Ctr
Baltimore Area Council 220
5100 Chalk Point Rd
Churchton, MD 21028


West Rockingham Ruritan Club
Stonewall Jackson Council 763
6040 Mount Clinton Pike
Rockingham, VA 22802


West Rutland American Legion
Green Mountain 592
P.O. Box 35
West Rutland, VT 05777


West Rutland Rotary Club
Green Mountain 592
249 Skyline Dr
West Rutland, VT 05777
West Salem Lions Club
Cascade Pacific Council 492
5891 Ballymeade St Se
Salem, OR 97306


West Salem Lions Club
Gateway Area 624
P.O. Box 130
West Salem, WI 54669


West School Parent Teachers Assoc
Great Rivers Council 653
100 Dix Rd
Jefferson City, MO 65109


West Seattle Lions Club
Chief Seattle Council 609
P.O. Box 46070
Seattle, WA 98146


West Seneca American Legion Post 735
Greater Niagara Frontier Council 380
35 Legion Pkwy
West Seneca, NY 14224


West Shore Bureau Of Fire
New Birth of Freedom 544
510 Herman Ave, Ste 3
Lemoyne, PA 17043


West Side Baptist Church
Quivira Council, Bsa 198
304 S Seneca St
Wichita, KS 67213


West Side Christian Church
Buffalo Trace 156
1200 N Red Bank Rd
Evansville, IN 47720


West Side Church Of Richland Wa
Blue Mountain Council 604
615 Wright Ave
Richland, WA 99352


West Side Lions Club
Buffalo Trail Council 567
4312 Thomason Dr
Midland, TX 79703


West Side Lutheran Church
Sioux Council 733
3901 N Oklahoma Ave
Sioux Falls, SD 57107


West Side Presbyterian Church
Chief Seattle Council 609
3601 California Ave Sw
Seattle, WA 98116


West Side Presbyterian Church
Northern New Jersey Council, Bsa 333
6 S Monroe St
Ridgewood, NJ 07450


West Side Umc
Quivira Council, Bsa 198
1313 W Lydia St
Wichita, KS 67213


West Side Utd Methodist Church
Patriots Path Council 358
16 Maxim Dr
Hopatcong, NJ 07843


West Side Utd Methodist Church
Quivira Council, Bsa 198
1313 W Lydia St
Wichita, KS 67213


West Smithfield Elementary PTO
Tuscarora Council 424
2665 Galilee Rd
Smithfield, NC 27577
West Springfield Utd Methodist Church
Western Massachusetts Council 234
800 Amostown Rd
West Springfield, MA 01089


West Stafford Fire Dept
Connecticut Rivers Council, Bsa 066
144 W Stafford Rd
Stafford Springs, CT 06076


West Stanislaus Fire District
Greater Yosemite Council 059
344 W Las Palmas Ave
Patterson, CA 95363


West Tacoma Optimist Club
Pacific Harbors Council, Bsa 612
4344 Memory Ln W
University Pl, WA 98466


West Tampa Elementary School PTA
Greater Tampa Bay Area 089
2700 W Cherry St
Tampa, FL 33607


West Tennessee Area
1995 Hollywood Dr
Jackson, TN 38305‐4324


West Tennessee Cncl 559
1995 Hollywood Dr
Jackson, TN 38305‐4325


West Tennessee Healthcare
West Tennessee Area Council 559
620 Skyline Dr
Jackson, TN 38301


West Texas A   M University
Student Employment Services
Wtamu Box 60728
Canyon, TX 79016


West Texas A M University
Attn Office of Financial
Wtamu Box 60939
Canyon, TX 79016


West Texas Express
P.O. Box 27031
El Paso, TX 79926


West Trenton Presbyterian Church
Washington Crossing Council 777
490 Grand Ave
Ewing, NJ 08628


West Tualatin View Ptc
Cascade Pacific Council 492
8800 SW Leahy Rd
Portland, OR 97225


West Union Lions Club
Simon Kenton Council 441
P.O. Box 555
West Union, OH 45693


West Unity American Legion Post 669
Black Swamp Area Council 449
E Jackson St
West Unity, OH 43570


West University Church Of Christ
Buffalo Trail Council 567
10137 W University Blvd
Odessa, TX 79764


West University Utd Methodist Church
Sam Houston Area Council 576
3611 University Blvd
Houston, TX 77005
West Valley Christian Church
W.L.A.C.C. 051
22450 Sherman Way
West Hills, CA 91307


West Valley Presbyterian Church
Silicon Valley Monterey Bay 055
6191 Bollinger Rd
Cupertino, CA 95014


West View Utd Methodist Church
Laurel Highlands Council 527
Cornell   Princeton Ave
Pittsburgh, PA 15229


West Virginia Adventures
P.O. Box 243
Glen Jean, WV 25846


West Virginia American Water
1600 Pennsylvania Ave
Charleston, WV 25302


West Virginia American Water
P.O. Box 2738
Camden, NJ 08120


West Virginia American Water
P.O. Box 371880
Pittsburgh, PA 15250‐7800


West Virginia American Water Co
1600 Pennsylvania Ave
Charleston, WV 25302


West Virginia Div Of Highways
1900 Kanawha Blvd E, Bldg 5, Rm 110
Charleston, WV 25305


West Virginia Div Of Labor
1900 Kanawha Blvd E
Charleston, WV 25305


West Virginia Div Of Labor
1900 Kanawha Blvd E
State Capitol Complex, Bldg 3, Rm 200
Charleston, WV 25305


West Virginia Div Of Motor Vehicles
5707 Maccorkle Ave Se
P.O. Box 17710
Charleston, WV 25317‐7710


West Virginia Forestry Assoc
2008 Quarrier St
Charleston, WV 25311


West Virginia Land Trust Inc
P.O. Box 11823
Charleston, WV 25339‐1823


West Virginia Paving Inc
P.O. Box 277519
Atlanta, GA 30384‐7519


West Virginia Raptor Rehab Center
2290 Bunner Ridge Rd
Fairmont, WV 26554


West Virginia Secretary Of State
1900 Kanawha Blvd E
State Capitol Complex, Bldg1, Ste 157‐K
Charleston, WV 25305


West Virginia Secretary Of State
Attn Business and Licensing Div
P.O. Box 40300
Charleston, WV 25364


West Virginia State Attorneys General
State Capitol
1900 Kanawha Blvd E.
Charleston, WV 25305


West Virginia State Fire Marshall
1207 Quarrier St, 2nd Fl
Charleston, WV 25301


West Virginia State Tax Dept
Attn Accounting Div
P.O. Box 1667
Charleston, WV 25326‐1667


West Virginia State University
P.O. Box 1000
306 Ferrell Hall
Institute, WV 25112


West Virginia Univ Foundation
1 Waterfront Pl, 7th Fl
Morgantown, WV 26507


West Virginia University
1 Waterfront Pl, P.O. Box 6005
Morgantown, WV 26506‐6005


West Virginia University
Wvu Mountaineer Hub
P.O. Box 6004
Morgantown, WV 26506


West Virginia Wesleyan College
Attn Office of Admissions
59 College Ave
Buckhannon, WV 26201


West Walworth Volunteer Fire Dept
Seneca Waterways 397
3870 W Walworth Rd
Macedon, NY 14502


West Webster Vol Firemens Assoc
Seneca Waterways 397
1051 Gravel Rd
Webster, NY 14580


West Willow Utd Methodist
Pennsylvania Dutch Council 524
P.O. Box 62
118 W Willow Rd


West Wind Services
P.O. Box 781
Islamorada, FL 33036


West Windsor Township Lions Club
Washington Crossing Council 777
P.O. Box 295
West Windsor, NJ 08550


West Winfield Rotary Club
Leatherstocking 400
P.O. Box 53
Main St
West Winfield, NY 13491


West Wyoming Hose Co No 1
Northeastern Pennsylvania Council 501
W 8th St
West Wyoming, PA 18644


Westacres Parents
Great Lakes Fsc 272
3700 Wacres Dr
West Bloomfield, MI 48324


Westampton Twp Recreation Commission
Garden State Council 690
710 Rancocas Rd
Westampton, NJ 08060


Westark Area
1401 Old Greenwood Rd
Fort Smith, AR 72901‐4251
Westark Area Cncl 16
1401 Old Greenwood Rd
Fort Smith, AR 72901


Westborough Firefighters Assoc
Mayflower Council 251
42 Milk St
Westborough, MA 01581


Westbriar School PTA
National Capital Area Council 082
1741 Pine Valley Dr
Vienna, VA 22182


Westbrook Grange 1016
Tuscarora Council 424
1895 Easy St
Dunn, NC 28334


Westbrook Lodge Bpoe 1784
Connecticut Rivers Council, Bsa 066
142 Seaside Ave
Westbrook, CT 06498


Westbury Utd Methodist Church
Sam Houston Area Council 576
5200 Willowbend Blvd
Houston, TX 77096


Westby Lions Club
Gateway Area 624
400 Melby St
Westby, WI 54667


Westcave Printing Corp
dba Horizon Printing
2111 Grand Ave Pkwy
Austin, TX 78728


Westchester Community Church
Pathway To Adventure 456
1840 Wchester Blvd
Westchester, IL 60154


Westchester Congregational Church
Connecticut Rivers Council, Bsa 066
95 Cemetery Rd
Colchester, CT 06415


Westchester School PTO
Greater St Louis Area Council 312
1416 Woodgate Dr
Kirkwood, MO 63122


Westchester Utd Methodist Church
W.L.A.C.C. 051
8065 Emerson Ave
Los Angeles, CA 90045


Westchester‐Putnam
41 Saw Mill River Rd
Hawthorne, NY 10532‐1519


Westchester‐Putnam Cncl 388
41 Saw Mill River Rd
Hawthorne, NY 10532‐1519


Westchester‐Putnam Council,Bsa
41 Saw Mill River Rd
Hawthorne, NY 10532‐1519


West‐Day Post 123
Pine Tree Council 218
31 Mountainview Ave
Porter, ME 04068


Westend School
Lincoln Heritage Council 205
3628 Virginia Ave
Louisville, KY 40211
Westerly Communities In Schools
Mecklenburg County Council 415
4420 Denver Ave
Charlotte, NC 28208


Westerly High School
Narragansett 546
23 Ward Ave
Westerly, RI 02891


Westerly Police Dept
Narragansett 546
60 Airport Rd
Westerly, RI 02891


Western Adirondack Presbyterian Church
Longhouse Council 373
11 Youngs Rd
P.O. Box 186
Star Lake, NY 13690


Western Alamance Njrotc Booster Club
Old N State Council 070
1731 N Nc Hwy 87
Elon, NC 27244


Western Blvd Presbyterian Church
Occoneechee 421
4900 Kaplan Dr
Raleigh, NC 27606


Western ‐Brw
P.O. Box 847642
Dallas, TX 75284‐7642


Western Carolina University
Attn Financial Aid Dir
118 Killian Annex
Cullowhee, NC 28723


Western Colorado Cncl 64
839 Grand Ave
Grand Junction, CO 81501‐3424


Western Colorado Council Soar
Denver Area Council 061
839 Grand Ave
Grand Junction, CO 81501


Western Dairyland Commty
Action Agency
Chippewa Valley Council 637
418 Wisconsin St
Eau Claire, Wi 54703


Western Heights Church Of Christ
Circle Ten Council 571
800 Baker Park Dr
Sherman, TX 75092


Western Hills Christian Church
Alamo Area Council 583
8535 Huebner Rd
San Antonio, TX 78240


Western Hills Church Of Christ
Middle Tennessee Council 560
7565 Charlotte Pike
Nashville, TN 37209


Western Hills Elementary ‐ Gfwar
Longhorn Council 662
2805 Laredo Dr
Fort Worth, TX 76116


Western Hills Utd Methodist Church
Yucca Council 573
524 Thunderbird Dr
El Paso, TX 79912


Western Hotel Supply
Tidmore Flags
P.O. Box 1555
Aberdeen, SD 57402‐1555
Western Illinois University
1 University Cir
Macomb, IL 61455


Western Kentucky Door And Specialties
320 New Porter Pike
Bowling Green, KY 42103


Western Kentucky University
Attn Student Financial Assistance
1906 College Heights Blvd
Bowling Green, KY 42101


Western Lakes Fire District
Potawatomi Area Council 651
1400 Oconomowoc Pkwy
Oconomowoc, WI 53066


Western Laundry Equipment, LLC
2270 Wyoming NE 325
Albuquerque, NM 87112


Western Los Angeles County
16525 Sherman Way, Ste C‐8
Van Nuys, CA 91406‐3753


Western Los Angeles County Cncl 51
16525 Sherman Way, Ste C‐8
Van Nuys, CA 91406‐3753


Western Massachusetts
1 Arch Rd, Ste 5
Westfield, MA 01085


Western Massachusetts Cncl 234
1 Arch Rd, Ste 5
Westfield, MA 01085


Western Michigan Uiversity
Attn Student Financial Aid
1903 W Michigan Ave
Kalamazoo, MI 49008‐5337


Western Middle School
Lincoln Heritage Council 205
2201 W Main St
Louisville, KY 40212


Western Military Living History Assoc.
Dennis Chappell
26 Verdosa Dr
Pueblo, CO 81005‐2943


Western Monmouth Utilities Authority
Monmouth Council, Bsa 347
103 Pension Rd
Manalapan, NJ 07726


Western Museum Of Mining And Industry
Pikes Peak Council 060
1025 N Gate Rd
Colorado Springs, CO 80921


Western Native Seed
P.O. Box 188
Coaldale, CO 81222


Western New Mexico Telephone
P.O. Box 150
Cliff, NM 88028‐0150


Western Pa Psych Care
Laurel Highlands Council 527
1607 3rd St
Beaver, PA 15009


Western Pa School For Blind Children
Laurel Highlands Council 527
201 N Bellefield Ave
Pittsburgh, PA 15213
Western Pellet Products, LLC
P.O. Box 219
Raton, NM 87740


Western Pennsylvania School For The Deaf
Laurel Highlands Council 527
300 E Swissvale Ave
Pittsburgh, PA 15218


Western Pest Services
423 Shrewsbury Ave
Shrewsbury, NJ 07702


Western Publications Assoc
823 Rim Crest Dr
Westlake Village, CA 91361


Western Region Bsa
P.O. Box 22019
Tempe, AZ 85285‐2019


Western Springs Fire Dept
Pathway To Adventure 456
4353 Wolf Rd
Western Springs, IL 60558


Western Springs Police Dept
Pathway To Adventure 456
740 Hillgrove Ave
Western Springs, IL 60558


Western State College
Career Services/ Ute Hall 128
600 N Adams St
Gunnison, CO 81231


Western Washington University
Attn University Cashier
516 High St Old Main 245
Bellingham, WA 98225‐9004
Western Wholesale
P.O. Box 229
Stockyard Rd 1
Magdalena, NM 87825


Western Wood Products Inc
181 Nm State Hwy 555
Raton, NM 87740


Western Writers Of America Inc
c/o Rod Miller
1665 E Julho St
Sandy, UT 84093


Western Writers Of America Inc
Msco6 3770
1 University of New Mexico
Albuquerque, NM 87131‐0001


Westerville Area Civitan Club
Simon Kenton Council 441
5790 Stoneshead Ct
Westerville, OH 43081


Westerville Commty
United Church Of Christ
Simon Kenton Council 441
770 County Line Rd
Westerville, Oh 43081


Westerville Div Of Police
Simon Kenton Council 441
29 S State St
Westerville, OH 43081


Westfield Congregational Church, Ucc
Connecticut Rivers Council, Bsa 066
210 Main St
Danielson, CT 06239


Westfield Fire Dept
Sam Houston Area Council 576
4105 Lauder Rd
Houston, TX 77039


Westfield Insurance
P.O. Box 9001566
Louisville, KY 40290‐1566


Westfield Lion S Club
Crossroads of America 160
120 Jersey St
Westfield, IN 46074


Westford Rotary Club Inc
The Spirit of Adventure 227
P.O. Box 231
Westford, MA 01886


Westford Sportsmens Club
The Spirit of Adventure 227
P.O. Box 742
Westford, MA 01886


Westgate Church Of Christ
Alabama‐Florida Council 003
619 Wgate Pkwy
Dothan, AL 36303


Westgate Elementary Pso
Mount Baker Council, Bsa 606
9601 220th St Sw
Edmonds, WA 98020


Westgate Elementary PTA
Denver Area Council 061
8550 W Vassar Dr
Lakewood, CO 80227


Westhampton Volunteer Firefighters Assoc
Western Massachusetts Council 234
48 Stage Rd
Westhampton, MA 01027
Westhaven Foundation
Middle Tennessee Council 560
P.O. Box 1535
Franklin, TN 37065


Westhaven Presbyterian Church
East Carolina Council 426
1001 W Haven Blvd
The Troop 11
Rocky Mount, NC 27803


Westhills Elementary PTA
Greater Alabama Council 001
710 Glenn Rd
Bessemer, AL 35022


Westhills Elementary School
Greater Alabama Council 001
710 Glenn Rd
Bessemer, AL 35022


Westhoff Elementary Ptc
Greater St Louis Area Council 312
900 Homefield Blvd
O Fallon, MO 63366


Westhope Public School
Northern Lights Council 429
325 Main St
Westhope, ND 58793


Westhost Inc
164 N Gateway Dr
Providence, UT 84332


Westin Dallas Fort Worth Airport
4545 W John Carpenter Freeway
Irving, TX 75063


Westin Dallas Fort Worth Airport
4545 W John Carpenter Frwy
Irving, TX 75063


Westin Galleria Dallas
13340 Dallas Pkwy
Dallas, TX 75240


Westin Long Beach Hotel
333 E Ocean Blvd
Long Beach, CA 90802


Westin Stonebriar Resort
1549 Legacy Dr
Frisco, TX 75034


Westlake Hardware, Inc
14000 Marshall Dr
Lenexa, KS 66219


Westlake Hills Presbyterian Church
Capitol Area Council 564
7127 Bee Cave Rd
Austin, TX 78746


Westlake Inc
P.O. Box 638
Lynchburg, VA 24505‐0638


Westlake Rotary Club
Capitol Area Council 564
5455 Bee Caves Rd
West Lake Hills, TX 78746


Westlake School
Patriots Path Council 358
1571 Lamberts Mill Rd
Westfield, NJ 07090


Westlake Troop 8 Bsa Memorial Foundation
c/o Peter Hutt
National Capital Area Council 082
7117 Nevis Rd
Bethesda, MD 20817


Westlake Utd Methodist Church
Calcasieu Area Council 209
704 Johnson St
Westlake, LA 70669


Westlake Volunteer Fire Dept Inc
Sam Houston Area Council 576
19703 Saums Rd
Houston, TX 77084


Westland Baptist Church
Sam Houston Area Council 576
1407 W Grand Pkwy S
Katy, TX 77494


Westland Baptist Church
Sam Houston Area Council 576
22807 Wheimer Pkwy
Katy, TX 77494


Westland Utd Methodist Church
Middle Tennessee Council 560
110 Dawson Ln
Lebanon, TN 37087


Westlawn School PTA
National Capital Area Council 082
3200 Wley Rd
Falls Church, VA 22042


Westley Veazie
Address Redacted


Westminister Presbyterian Church
Connecticut Rivers Council, Bsa 066
2080 Blvd
West Hartford, CT 06107
Westminister Presbyterian Church
Greater Los Angeles Area 033
9642 Live Oak Ave
Temple City, CA 91780


Westminister Presbyterian Church
Las Vegas Area Council 328
4601 W Lake Mead Blvd
Las Vegas, NV 89108


Westminister Presbyterian Church
Laurel Highlands Council 527
2040 Washington Rd
Pittsburgh, PA 15241


Westminister Presbyterian Church
Pathway To Adventure 456
8955 Columbia Ave
Munster, IN 46321


Westminister Presbyterian Church
Quapaw Area Council 018
3819 Central Ave
Hot Springs, AR 71913


Westminister Presbyterian Church
Sequoia Council 027
50 E Santa Ana Ave
Fresno, CA 93704


Westminster Baptist Church
Blue Ridge Council 551
P.O. Box 375
Westminster, SC 29693


Westminster Christian Academy
Northeast Georgia Council 101
1640 New High Shoals Rd
Watkinsville, GA 30677


Westminster Church Of Port Huron
Water and Woods Council 782
2501 Stone St
Port Huron, MI 48060


Westminster College
Attn Financial Aid
501 Wminster Ave
Fulton, MO 65251


Westminster Elks 2346
Orange County Council 039
6391 Industry Way
Westminster, CA 92683


Westminster Police Dept
Orange County Council 039
8200 Wminster Blvd
Westminster, CA 92683


Westminster Presbyterian
Last Frontier Council 480
4400 N Shartel Ave
Oklahoma City, OK 73118


Westminster Presbyterian
Twin Valley Council Bsa 283
802 4th St Sw
Austin, MN 55912


Westminster Presbyterian Church
Buckeye Council 436
353 E Pine St
Wooster, OH 44691


Westminster Presbyterian Church
Calcasieu Area Council 209
301 Center Cir
Sulphur, LA 70663


Westminster Presbyterian Church
Chester County Council 539
10 W Pleasant Grove Rd
West Chester, PA 19382
Westminster Presbyterian Church
Circle Ten Council 571
8200 Devonshire Dr
Dallas, TX 75209


Westminster Presbyterian Church
Coastal Carolina Council 550
1157 Sam Rittenberg Blvd
Charleston, SC 29407


Westminster Presbyterian Church
Connecticut Rivers Council, Bsa 066
2080 Blvd
West Hartford, CT 06107


Westminster Presbyterian Church
Denver Area Council 061
3990 W 74th Ave
Westminster, CO 80030


Westminster Presbyterian Church
Great Trail 433
119 Stadium Dr
Youngstown, OH 44512


Westminster Presbyterian Church
Greater Los Angeles Area 033
1757 N Lake Ave
Pasadena, CA 91104


Westminster Presbyterian Church
Heart of Virginia Council 602
4103 Monument Ave
Richmond, VA 23230


Westminster Presbyterian Church
Indian Waters Council 553
1715 Broad River Rd
Columbia, SC 29210
Westminster Presbyterian Church
Last Frontier Council 480
4400 N Shartel Ave
Oklahoma City, OK 73118


Westminster Presbyterian Church
Last Frontier Council 480
7110 W Gore Blvd
Lawton, OK 73505


Westminster Presbyterian Church
Laurel Highlands Council 527
2040 Washington Rd
Pittsburgh, PA 15241


Westminster Presbyterian Church
Longhorn Council 662
1330 S Fielder Rd
Arlington, TX 76013


Westminster Presbyterian Church
Longhorn Council 662
7100 Trail Lake Dr
Fort Worth, TX 76123


Westminster Presbyterian Church
Miami Valley Council, Bsa 444
325 W Ash St
Piqua, OH 45356


Westminster Presbyterian Church
Mid‐America Council 326
3416 Woolworth Ave
Omaha, NE 68105


Westminster Presbyterian Church
Mid‐America Council 326
517 S 32nd St
Council Bluffs, IA 51501


Westminster Presbyterian Church
Middle Tennessee Council 560
3900 W End Ave
Nashville, TN 37205


Westminster Presbyterian Church
National Capital Area Council 082
2701 Cameron Mills Rd
Alexandria, VA 22302


Westminster Presbyterian Church
Northeast Georgia Council 101
2208 Main St E
Snellville, GA 30078


Westminster Presbyterian Church
Northeast Iowa Council 178
2155 University Ave
Dubuque, IA 52001


Westminster Presbyterian Church
Northern Star Council 250
1200 Marquette Ave
Minneapolis, MN 55403


Westminster Presbyterian Church
Northwest Georgia Council 100
1941 Shorter Ave Sw
Rome, GA 30165


Westminster Presbyterian Church
Occoneechee 421
2505 Village Dr
Fayetteville, NC 28304


Westminster Presbyterian Church
Occoneechee 421
3639 Old Chapel Hill Rd
Durham, NC 27707


Westminster Presbyterian Church
Oregon Trail Council 697
777 Coburg Rd
Eugene, OR 97401
Westminster Presbyterian Church
Ozark Trails Council 306
1551 E Portland St
Springfield, MO 65804


Westminster Presbyterian Church
Palmetto Council 549
309 Fernwood Dr
Spartanburg, SC 29307


Westminster Presbyterian Church
Pine Burr Area Council 304
5005 Lawson Ave
Gulfport, MS 39507


Westminster Presbyterian Church
Quapaw Area Council 018
3819 Central Ave
Hot Springs, AR 71913


Westminster Presbyterian Church
Rocky Mountain Council 063
10 University Cir
Pueblo, CO 81005


Westminster Presbyterian Church
Sequoia Council 027
50 E Santa Ana Ave
Fresno, CA 93704


Westminster Presbyterian Church
South Plains Council 694
3321 33rd St
Lubbock, TX 79410


Westminster Presbyterian Church
Stonewall Jackson Council 763
1904 Mount Vernon St
Waynesboro, VA 22980
Westminster Presbyterian Church
Tecumseh 439
990 Old Springfield Pike
Xenia, OH 45385


Westminster Presbyterian Church
W.L.A.C.C. 051
32111 Watergate Rd
Westlake Village, CA 91361


Westminster Presbyterian Church
Water and Woods Council 782
103 E Midland St
Bay City, MI 48706


Westminster Presbyterian Church
Winnebago Council, Bsa 173
1301 Kimball Ave
Waterloo, IA 50702


Westminster Presbyterian Church‐Lincoln
Cornhusker Council 324
2110 Sheridan Blvd
Lincoln, NE 68502


Westminster Schools
Atlanta Area Council 092
1424 W Paces Ferry Rd Nw
Atlanta, GA 30327


Westminster Utd Methodist Church
Baltimore Area Council 220
165 E Main St
Westminster, MD 21157


Westminster Utd Methodist Church
Denver Area Council 061
3585 W 76th Ave
76th Ave   Lowell Blvd


Westminster Utd Methodist Church
East Carolina Council 426
P.O. Box 1007
Carey Rd


Westminster Utd Methodist Mens
Denver Area Council 061
3585 W 76th Ave
Westminster, CO 80030


Westminster Utd Presbyterian Church
Cascade Pacific Council 492
3737 Liberty Rd S
Salem, OR 97302


Westminster Ward LDS Frederick
Baltimore Area Council 220
595 Johahn Dr
Westminster, MD 21158


Westminster, Inc
159 Armour Dr Ne
Atlanta, GA 30324


Westminster‐St Edward S Church
Heart of New England Council 230
P.O. Box 465
Westminster, MA 01473


Westminster‐Veterans Of Foreign Wars
Heart of New England Council 230
1 Eaton St
Westminster, MA 01473


Westmont Christian Church
South Plains Council 694
4808 Utica Ave
Lubbock, TX 79414


Westmont College
Attn Financial Aid Dept
955 La Paz Rd
Santa Barbara, CA 93108
Westmont College
Attn Financial Dept
955 La Paz Rd
Santa Barbara, CA 93108


Westmont Elementary PTO
Mid‐America Council 326
13210 Glenn St
Omaha, NE 68138


Westmont Fire Co
Garden State Council 690
120 Haddon Ave
Haddon Township, NJ 08108


Westmont Hilltop Elementary PTO
Laurel Highlands Council 527
675 Goucher St
Johnstown, PA 15905


Westmont Utd Methodist Church
Garden State Council 690
200 Emerald Ave
Haddon Township, NJ 08108


Westmoore Community Church
Last Frontier Council 480
12609 S Wern Ave
Oklahoma City, OK 73170


Westmore Vfw Post 9806
Middle Tennessee Council 560
2605 Epperson Springs Rd
Westmoreland, TN 37186


Westmoreland County Housing Authority
West Hempfield Towers
Westmoreland Fayette 512
154 S Greengate Rd
Greensburg, Pa 15601
Westmoreland Fayette Cncl 512
2 Garden Center Dr
Greensburg, PA 15601


Westmoreland Service Club
c/o Farmers State Bank
Jayhawk Area Council 197
P.O. Box 330
Westmoreland, KS 66549


Westmoreland‐Fayette
2 Garden Center Dr
Greensburg, PA 15601


Westmorland Fire Dept
San Diego Imperial Council 049
P.O. Box 697
Westmorland, CA 92281


Weston Church Of Christ
Erie Shores Council 460
P.O. Box 344
Weston, OH 43569


Weston Elementary School
Crossroads of America 160
140 Polk Ave
Greenfield, IN 46140


Weston Hamilton
Address Redacted


Weston Solutions, Inc
1400 Won Way
West Chester, PA 19380


Weston Solutions, Inc
3840 Commons Ave, Ne
Albuquerque, NM 87109


Weston Solutions, Inc
P.O. Box 536121
Pittsburgh, PA 15253‐5903


Weston Trap Club
Samoset Council, Bsa 627
9105 Zinzer St
Schofield, WI 54476


Weston Volunteer Fire Dept
Connecticut Yankee Council Bsa 072
52 Norfield Rd
Weston, CT 06883


Westover Baptist Church
National Capital Area Council 082
1125 Patrick Henry Dr
Arlington, VA 22205


Westover Methodist Church
Mountaineer Area 615
28 N St
Westover, WV 26501


Westpark Elementary School PTA
Orange County Council 039
25 San Carlo
Irvine, CA 92614


Westport Corp
331 Changebridge Rd
P.O. Box 2002
Pine Brook, NJ 07058


Westport Fire Dept
Narragansett 546
P.O. Box 3470
54 Hix Bridge Rd
Westport, MA 02790


Westport Point Utd Methodist Church
Narragansett 546
1912 Main Rd
P.O. Box 2


Westport Presbyterian Church
Heart of America Council 307
201 Wport Rd
Kansas City, MO 64111


Westport Road Church Of Christ
Lincoln Heritage Council 205
4500 Wport Rd
Louisville, KY 40207


Westridge Elementary School PTO
Mid‐America Council 326
3100 N 206th St
Elkhorn, NE 68022


Westridge Elementary School PTO
National Capital Area Council 082
12400 Knightsbridge Dr
Woodbridge, VA 22192


Westridge Middle School PTA
Central Florida Council 083
3800 W Oak Ridge Rd
Orlando, FL 32809


Westridge School PTO
Greater St Louis Area Council 312
908 Crestland Dr
Ballwin, MO 63011


Westside Academy
Simon Kenton Council 441
4330 Clime Rd N
Columbus, OH 43228


Westside Academy
Three Harbors Council 636
1945 N 31st St
Milwaukee, WI 53208
Westside Academy Clc/Coa
Three Harbors Council 636
1945 N 31st St
Milwaukee, WI 53208


Westside Baptist Church
Longhorn Council 662
802 Bellaire Blvd
Lewisville, TX 75067


Westside Business Assoc
South Texas Council 577
P.O. Box 5485
Corpus Christi, TX 78465


Westside Christian Church
Southeast Louisiana Council 214
4000 Macarthur Blvd
New Orleans, LA 70114


Westside Church Of Christ
Southern Sierra Council 030
7300 Stockdale Hwy
Bakersfield, CA 93309


Westside Cleaners   Tailors
951 Chase Pkwy
Waterbury, CT 06708


Westside Missionary Baptist Church
Greater St Louis Area Council 312
4675 Page Blvd
Saint Louis, MO 63113


Westside Presbyterian Church
Heart of America Council 307
1024 Kasold Dr
Lawrence, KS 66049


Westside School PTO
Montana Council 315
2290 Farm To Market Rd
Kalispell, MT 59901


Westside Utd Methodist Church
Alabama‐Florida Council 003
1010 W Maple Ave
Geneva, AL 36340


Westview Alliance Church
Anthony Wayne Area 157
9804 Illinois Rd
Fort Wayne, IN 46804


Westview Community Assoc
Crossroads of America 160
3401 W Gilbert St
Muncie, IN 47304


Westview School PTO
Northern Star Council 250
225 Garden View Dr
Apple Valley, MN 55124


Westview Utd Methodist Church
Middle Tennessee Council 560
7107 Wview Dr
Fairview, TN 37062


Westville Lions Club
Prairielands 117
P.O. Box 368
Westville, IL 61883


Westwind Church
Longhorn Council 662
1300 Sarah Brooks Dr
Keller, TX 76248


Westwood Baptist
Middle Tennessee Council 560
2510 Albion St
Nashville, TN 37208
Westwood Baptist Church
Greater Alabama Council 001
P.O. Box 368
Adamsville, AL 35005


Westwood Baptist Church
Occoneechee 421
200 Whigh St
Cary, NC 27513


Westwood Building Ctr
Voyageurs Area 286
1123 Central St W
Bagley, MN 56621


Westwood Church Of God
Southern Shores Fsc 783
811 Gorham Ln
Kalamazoo, MI 49006


Westwood Elementary School
Crossroads of America 160
1015 S Greensboro Pike
New Castle, IN 47362


Westwood Elementary School
Crossroads of America 160
899 S Honey Creek Rd
Greenwood, IN 46143


Westwood First Presbyterian Church
Dan Beard Council, Bsa 438
3011 Harrison Ave
Cincinnati, OH 45211


Westwood Lumber
Voyageurs Area 286
1123 Central St W
Bagley, MN 56621
Westwood Ministerial Assoc
Mid‐America Council 326
216 Buckley St
Sloan, IA 51055


Westwood Police Dept
The Spirit of Adventure 227
588 High St
Westwood, MA 02090


Westwood Presbyterian Church
Dan Beard Council, Bsa 438
1068 Stahlheber Rd
Hamilton, OH 45013


Westwood Presbyterian Church Usa
Quivira Council, Bsa 198
8007 W Maple St
Wichita, KS 67209


Westwood Rangers
Norwela Council 215
7325 Jewella Ave
Shreveport, LA 71108


Westwood Utd Methodist Church
Northern New Jersey Council, Bsa 333
105 Fairview Ave
Westwood, NJ 07675


Westwood Village Rotary Club Foundation
W.L.A.C.C. 051
P.O. Box 24114
Los Angeles, CA 90024


Wetherbee School PTA
The Spirit of Adventure 227
75 Newton St
Lawrence, MA 01843


Wetzel Brothers Inc
2401 E Edgerton Ave
Cudahy, WI 53110


Wewoka Police Dept
Last Frontier Council 480
114 W 4th St
Wewoka, OK 74884


Wexford Ward LDS Church
Laurel Highlands Council 527
2210 Reis Run Rd
Pittsburgh, PA 15237


Wexler Packaging Products
777 M Schwab Rd
Hatfield, PA 19440


Weyauwega Scouting, Inc
Bay‐Lakes Council 635
304 E Ann St
P.O. Box 112
Weyauwega, WI 54983


Weymouth Heights Club
Mayflower Council 251
598 N St
Weymouth, MA 02189


Wgb And Assoc, Inc
P.O. Box 1906
Islamorada, FL 33036


Wges LLC
4800 Colorado Blvd
Denver, CO 80216


Wha Wadesboro Housing Authority
Central N Carolina Council 416
200 W Short Plz
Wadesboro, NC 28170


Wharton High School Njrotc
Greater Tampa Bay Area 089
20150 Bruce B Downs Blvd
Tampa, FL 33647


Wharton Lions Club
Sam Houston Area Council 576
P.O. Box 106
Wharton, TX 77488


Wharton Utd Commty
Church At St John S
Patriots Path Council 358
20 Church St


Whatcoat Utd Methodist Church
Del Mar Va 081
16 N Main St
Camden, DE 19934


Wheat Ridge Police Dept
Denver Area Council 061
7500 W 29th Ave
Wheat Ridge, CO 80033


Wheatland Fire Dept
Illowa Council 133
P.O. Box 474 206 E Madison
Wheatland, IA 52777


Wheatland Salem Methodist Church‐ Oswego
Three Fires Council 127
1217 Wolf Rd
Oswego, IL 60543


Wheatland Salem Utd Methodist Men
Three Fires Council 127
1852 95th St
Naperville, IL 60564


Wheatland Utd Methodist Church
Longs Peak Council 062
909 9th St
Wheatland, WY 82201


Wheaton College
Attn Student Accounts
501 College Ave
Wheaton, IL 60187‐5593


Wheaton Elks Lodge 2258
Three Fires Council 127
0N772 Papworth St
Wheaton, IL 60187


Wheaton Volunteer Rescue Squad
National Capital Area Council 082
2400 Arcola Ave
Silver Spring, MD 20902


Wheaton Wesleyan Church
Three Fires Council 127
1300 S President St
Wheaton, IL 60189


Wheelchair Getaway Inc
5410 S Madison Ave
Indianapolis, IN 46227


Wheeler Avenue Baptist Church
Sam Houston Area Council 576
3826 Wheeler St
Houston, TX 77004


Wheeler Banking Ctr
Golden Spread Council 562
P.O. Box 1040
Wheeler, TX 79096


Wheeler Building Service , Inc
P.O. Box 168532
Irving, TX 75016‐8532


Wheeler Building Service , Inc
P.O. Box 630673
Irving, TX 75063


Wheeler Distribution, LLC
Dba Snap‐On Tools c/o Matthew J Wheeler
69 Bird Ln
Fayetteville, WV 25840


Wheeler High School Outdoor Club
Atlanta Area Council 092
375 Holt Rd Ne
Marietta, GA 30068


Wheeler Trigg O Donnell, LLP
370 17th St, Ste 4500
Denver, CO 80202‐5647


Wheeler Utd Methodist Church
Sequoyah Council 713
211 Sanders St
Blountville, TN 37617


Wheeler Utd Methodist Church
Sequoyah Council 713
2376 Hwy 75
Blountville, TN 37617


Wheeler Utd Methodist Church
Yocona Area Council 748
649 Cr 5031
Booneville, MS 38829


Wheelersburg Utd Methodist Church
Simon Kenton Council 441
8310 Gallia St
Wheelersburg, OH 45694


Wheeling Jesuit University
Attn Office of Financial Aid
316 Washington Ave
Frederick, MD 21703
Wheeling Police Dept
Ohio River Valley Council 619
1500 Chapline St
Wheeling, WV 26003


Wheels Of America
Orange County Council 039
6430 Dale St, Apt 3
Buena Park, CA 90621


Where He Leads Uganda
Transatlantic Council, Bsa 802
P.O. Box 758
Fort Portal,
Uganda


Whetstone Church
Crossroads of America 160
5940 S Madison Ave
Anderson, IN 46013


Whigham Umc / Whigham Community Club
Suwannee River Area Council 664
146 W Broad Ave
Whigham, GA 39897


Whigham Utd Methodist Church
Suwannee River Area Council 664
P.O. Box 4
Whigham, GA 39897


Whipple Heights Elementary PTO
Buckeye Council 436
4800 12th St Nw
Canton, OH 44708


Whispering Bean Coffee Roasters LLC
10701 Corrales St Nw, Ste 3
Albuquerque, NM 87114


Whispering Forest Elementary PTA
Southeast Louisiana Council 214
38374 Spiehler Rd
Slidell, LA 70458


Whispering Needles
President Gerald R Ford 781
P.O. Box 649
107 Blair St
Kingsley, MI 49649


Whispering Pines Baptist Church
Georgia‐Carolina 093
P.O. Box 1023
Hephzibah, GA 30815


Whistle Creek
P.O. Box 3107
Estes Park, CO 80517


Whistles For Life, LLC
61535 S Hwy 97, Ste 5‐515
Bend, OR 97702‐2154


Whitco Cleaning Equipment, Inc
P.O. Box 283
Beckley, WV 25802‐0283


Whitcomb Clinic
Circle Ten Council 571
2461 Robinson Rd
Grand Prairie, TX 75051


Whitcomb‐Baker Post 4633 Vfw
Katahdin Area Council 216
P.O. Box 555
Hampden, ME 04444


White And Williams, LLP
1650 Market St
1 Liberty Pl, Ste 1800
Philadelphia, PA 19103‐7395
White Bear Lake Fire Dept
Northern Star Council 250
4700 Miller Ave
Saint Paul, MN 55110


White Bear Lake Rotary Club
Northern Star Council 250
4701 Hwy 61 N
White Bear Lake, MN 55110


White Bluff Presbyterian Church
Coastal Georgia Council 099
10710 White Bluff Rd
Savannah, GA 31406


White Bluff Resort
20022 Misty Valley Cir
Whitney, TX 76692


White Chapel Church Of God
Central Florida Council 083
1730 S Ridgewood Ave
South Daytona, FL 32119


White City Community Improvement Assoc
Crater Lake Council 491
P.O. Box 2403
White City, OR 97503


White Eagle Homeowners Assoc
Three Fires Council 127
3000 White Eagle Dr
Naperville, IL 60564


White Hall Elementary
Blue Grass Council 204
2166 Lexington Rd
Richmond, KY 40475


White Hall Lions Club
Abraham Lincoln Council 144
Rr 1 Box 168
White Hall, IL 62092


White Hall Police Assoc
Quapaw Area Council 018
9011 Dollarway Rd
White Hall, AR 71602


White Hosue Police Dept
Middle Tennessee Council 560
303 N Palmers Chapel Rd
White House, TN 37188


White Lake Middle School
Parent Council
Great Lakes Fsc 272
1450 Bogie Lake Rd
White Lake, Mi 48383


White Lake Presbyterian Church
Great Lakes Fsc 272
4805 Highland Rd
White Lake, MI 48383


White Meadow Lake Property Owners Assoc
Patriots Path Council 358
100 White Meadow Rd
Rockaway, NJ 07866


White Memorial Church
Juniata Valley Council 497
68 S Main St
Milroy, PA 17063


White Memorial Presbyterian Church
Occoneechee 421
1704 Oberlin Rd
Raleigh, NC 27608


White Mountain Nature Ctr
Grand Canyon Council 010
425 S Woodland Rd
Lakeside, AZ 85929


White Oak Ame Zion Church
Palmetto Council 549
P.O. Box 28
Van Wyck, SC 29744


White Oak Catering LLC
dba the Red Oak Grill
P.O. Box 45
Fayetteville, WV 25840


White Oak Lions Club
East Texas Area Council 585
209 E Sally St
White Oak, TX 75693


White Oak Public Service District
20 Old Farm Rd
Scarbro, WV 25917


White Oak Public Service District
P.O. Box 358
Scarbro, WV 25917‐0358


White Oak Volunteer Fire Dept
National Capital Area Council 082
12 Newton Rd
Fredericksburg, VA 22405


White Pigeon Rotary Club
Southern Shores Fsc 783
P.O. Box 18
White Pigeon, MI 49099


White Pine Elementary PTO
Ore‐Ida Council 106 ‐ Bsa 106
401 E Linden St
Boise, ID 83706


White Plains Baptist Church
National Capital Area Council 082
P.O. Box 156
8470 Marshall Corner Rd
Pomfret, MD 20675


White Plains Ruritan Club
Old Hickory Council 427
1582 Old Hwy 601
Mount Airy, NC 27030


White Plains Ruritan Club
Old Hickory Council 427
998 Old Hwy 601
Mount Airy, NC 27030


White Plains Utd Methodist Men
Occoneechee 421
313 SE Maynard Rd
Cary, NC 27511


White River Elementary PTO
Crossroads of America 160
19000 Cumberland Rd
Noblesville, IN 46060


White River Health System
Quapaw Area Council 018
1710 Harrison St
Batesville, AR 72501


White Rock Baptist Church
Cradle of Liberty Council 525
5240 Chestnut St
Philadelphia, PA 19139


White Rock Baptist Church
Occoneechee 421
3400 Fayetteville St
Durham, NC 27707


White Rock Boat Club
Circle Ten Council 571
P.O. Box 38416
Dallas, TX 75238


White Rock Methodist Church
Circle Ten Council 571
1450 Old Gate Ln
Dallas, TX 75218


White Rock Methodist Church
Great Swest Council 412
580 Meadow Ln
Los Alamos, NM 87547


White Rock Utd Methodist Church
Circle Ten Council 571
1450 Old Gate Ln
Dallas, TX 75218


White Rock Valley Neighborhood Assoc
Circle Ten Council 571
9661 Audelia Rd, Ste 333‐2
Dallas, TX 75238


White S Chapel Utd Methodist Church
Longhorn Council 662
185 S White Chapel Blvd
Southlake, TX 76092


White Salmon Utd Methodist Church
Cascade Pacific Council 492
341 N Main Ave
White Salmon, WA 98672


White Sands Homes
Yucca Council 573
1000 Rock Island Ave
White Sands Missile Range, NM 88002


White Settlement Parks And Recreation
Longhorn Council 662
8213 White Settlement Rd
Fort Worth, TX 76108
White Sound Press
379 Wild Orange Dr
New Smyrna Beach, FL 32168


White Stag Assoc
Golden Empire Council 047
7959 Hansom Dr
Oakland, CA 94605


White Stag Assoc
San Francisco Bay Area Council 028
7959 Hansom Dr
Oakland, CA 94605


White Stag Leadership Development
Mt Diablo‐Silverado Council 023
7959 Hansom Dr
Oakland, CA 94605


White Stag Leadership Devt Academy
Silicon Valley Monterey Bay 055
P.O. Box 4375
Carmel, Ca 93921


White Stag Leadership Devt Academy Inc
Alameda Council Bsa 022
33 Soledad Dr
Monterey, Ca 93940


White Sulphur Spgs Utd Methodist Ch
Hudson Valley Council 374
P.O. Box 201
White Sulphur Springs, Ny 12787


White Sulphur Springs Rotary Club
Buckskin 617
130 W Main St
White Sulphur Springs, WV 24986


White Utd Methdosit Church Mens Group
Northwest Georgia Council 100
3411 Hwy 411 Ne
White, GA 30184


White Wilderness Inc
P.O. Box 727
Ely, MN 55731‐0727


Whited Crane Service
778 Bellview Estate Rd
Frankford, WV 24938


Whiteface Vol Fire Dept
South Plains Council 694
105 W 2nd Box 248
Whiteface, TX 79379


Whitefield Academy
Atlanta Area Council 092
1 Whitefield Dr Se
Mableton, GA 30126


Whitefield Ministries
Arbuckle Area Council 468
5552 Sunshine Rd
Davis, OK 73030


Whitefish Church Of The Nazarene
Montana Council 315
1125 7th St
Whitefish, MT 59937


Whiteford Elementary Parent Teacher Org
Erie Shores Council 460
4708 Whiteford Rd
Toledo, OH 43623


Whiteford Wesleyan Church
Southern Shores Fsc 783
10285 Sylvania Petersburg Rd
Ottawa Lake, MI 49267
Whiteford, Taylor   Preston, LLP
7 St Paul St
Baltimore, MD 21202


Whitehall Township Police Dept
Minsi Trails Council 502
3731 Lehigh St
Whitehall, PA 18052


Whitehead Boys    Girls Club
Atlanta Area Council 092
1900 Lakewood Ave Se
Atlanta, GA 30315


Whitehead School PTO
Blackhawk Area 660
2325 Ohio Pkwy
Rockford, IL 61108


Whitehouse Umc Methodist Men
East Texas Area Council 585
405 W Main St
Whitehouse, TX 75791


Whiteland Utd Methodist Church
Crossroads of America 160
309 Main St
Whiteland, IN 46184


Whiteman Afb Cgoc
Heart of America Council 307
509 Spirit Blvd
Whiteman Air Force Base, MO 65305


Whites Manufacturing Ltd
6820 Kirkpatrick Crescent
Saanichton, Bc V8M 1Z9
Canada


Whitestown American Legion Post 410
Crossroads of America 160
5 Linville Ave
Whitestown, IN 46075


Whitestown Post 1113 American Legion
Leatherstocking 400
110 Main St
Whitesboro, NY 13492


Whitesville Lions Club
Lincoln Heritage Council 205
9421 Mccamish Rd
Whitesville, KY 42378


Whitesville Rural Volunteer Fire Dept
Coastal Carolina Council 550
115 Sunview Ln
Moncks Corner, SC 29461


Whitetail Institute Of North America LLC
239 Whitetail Trl
Hope Hull, AL 36043


Whiteville Methodist Mens Club
Cape Fear Council 425
902 Pinckney St
Whiteville, NC 28472


Whiteville Utd Methodist Church
Cape Fear Council 425
902 Pinckney St
Whiteville, NC 28472


Whitewater Parks International
Box 3083
Glenwood Springs, CO 81602


Whitewater Photography
P.O. Box 210
Fayetteville, WV 25840


Whitewood Volunteer Fire Dept
Sequoyah Council 713
P.O. Box 297
Pilgrims Knob, VA 24634


Whitey S Army Navy Stores Inc
2 Public Square
Medina, OH 44256


Whiting Elks 1273
Pathway To Adventure 456
P.O. Box 668
Whiting, IN 46394


Whiting Lane School P T O
Connecticut Rivers Council, Bsa 066
47 Whiting Ln
West Hartford, CT 06119


Whitinsville
St Patricks Roman Catholic Church
Heart Of New England Council 230
1 Cross St
Whitinsville, Ma 01588


Whitinsville
Village Congregational Church
Heart Of New England Council 230
P.O. Box 417
25 Church St
Whitinsville, Ma 01588


Whitish Funk American Legion Post 184
Blackhawk Area 660
860 Lincoln Ave
Fennimore, WI 53809


Whitley Memorial Utd Methodist Church
Tuscarora Council 424
300 Wilsons Mills Rd
Smithfield, NC 27577


Whitley Monahan Handle, LLC
P.O. Box 112
Midland, NC 28107


Whitman Academy
Transatlantic Council, Bsa 802
P.O. Box 14201
Amman, 11814
Jordan


Whitman College
Attn Tyson Harlow, Asst Financial Aid
345 Boyer Ave
Walla Walla, WA 99362


Whitman Middle School Ptsa
Chief Seattle Council 609
9201 15th Ave Nw
Seattle, WA 98117


Whitman Square Community Club
Garden State Council 690
156 Whitman Dr
Turnersville, NJ 08012


Whitmell Utd Methodist Mens Club
Blue Ridge Mtns Council 599
2168 Whitmell School Rd
Dry Fork, VA 24549


Whitmire Rescue Squad
Blue Ridge Council 551
26350 Sc Hwy 121
Whitmire, SC 29178


Whitnel Utd Methodist Church
Piedmont Council 420
1373 Delwood Dr Sw
Lenoir, NC 28645


Whitney Curtis Photography LLC
2700 S Jefferson Ave 13227
St Louis, MO 63157
Whitney Electric Co
3100 N El Paso St
Colorado Springs, CO 80901


Whitney G Dumford
Address Redacted


Whitney Howard Designs
7236 Owensmouth Ave, Studio B
Canoga Park, CA 91306


Whitney Howard Designs
P.O. Box 8061
Calabasas, CA 91372


Whitney Jensen
Address Redacted


Whitney Police Dept
Longhorn Council 662
102 N Colorado St
Whitney, TX 76692


Whitney Rann
Address Redacted


Whitney Riley
Address Redacted


Whitney Smith Co Inc
301 Commerce St, Ste 1950
Fort Worth, TX 76102


Whitney Utd Methodist Church
Ore‐Ida Council 106 ‐ Bsa 106
3315 W Overland Rd
Boise, ID 83705
Whittaker S Insurance
Silicon Valley Monterey Bay 055
20395 Pacifica Dr, Ste 108
Cupertino, CA 95014


Whitter School
Montana Council 315
511 N 5th Ave
Bozeman, MT 59715


Whittier Education Campus
National Capital Area Council 082
6201 5th St Nw
Washington, DC 20011


Whittier Parent Teacher Org
Mid Iowa Council 177
1306 W Salem Ave
Indianola, IA 50125


Whittier Police Dept
Greater Los Angeles Area 033
13200 Penn St
Whittier, CA 90602


Whittier School PTA
Three Harbors Council 636
8542 Cooper Rd
Pleasant Prairie, WI 53158


Whittier/Wilson Vance PTO
Black Swamp Area Council 449
610 Bristol Dr
Findlay, OH 45840


Whitty Protective Services, Inc
2710 Whispering Hills Dr
Washington Twp, MI 48094‐1042


Whitworth Presbyterian
Inland Nwest Council 611
312 W Hawthorne Rd
Spokane, WA 99218


Whitworth University
Attn Student Accounting Services
300 W Hawthorne Rd
Spokane, WA 99251


Whole Solutions
1241 Sheep Hill Rd
Pottstown, PA 19465


Wi Dept Of Financial Institutions
Attn Charitable Organizations
201 W Washington Ave, Ste 500
Madison, WI 53703


Wi Dept Of Finc Institutions
4822 Madison Yards Way, N Tower
Madison, WI 53705


Wi Dept Of Revenue
P.O. Box 8960
Madison, WI 53708‐8960


Wi Dept Of Safety   Prof Services
Charitable Organizations
P.O. Box 8935
Madison, WI 53708‐8935


Wi3Gnd Ham Radio Club
Denver Area Council 061
3770 S Mission Pkway 10
Aurora, CO 80013


Wibaux Bible Church
Montana Council 315
101 N Wibaux
Wibaux, MT 59353


Wicheta Dental Clinic
Capitol Area Council 564
3301 Nland Dr, Ste 315
Austin, TX 78731


Wichita Collegiate School
Quivira Council, Bsa 198
9115 E 13th St N
Wichita, KS 67206


Wichita Fire Dept
Quivira Council, Bsa 198
455 N Main
Wichita, KS 67202


Wichita Lodge 35
c/o Nwest Texas Council
3604 Maplewood
Wichita Falls, TX 76308


Wichita Northwest Lions Club
Quivira Council, Bsa 198
805 W Rynder Ln
Wichita, KS 67204


Wichita State University
1845 Fairmont, Box 24
Office of Financial Aid
Wichita, KS 67260‐0024


Wicker,Smith,O Hara,Mccoy, Ford Pa
2800 Ponce De Leon Blvd, Ste 800
Coral Gables, FL 33134


Wickliffe Elementary School PTO
Simon Kenton Council 441
2405 Wickliffe Rd
Columbus, OH 43221


Wickliffe Presbyterian Church
Lake Erie Council 440
29955 Ridge Rd
Wickliffe, OH 44092
Wickline Utd Methodist Church
Last Frontier Council 480
417 Mid America Blvd
Midwest City, OK 73110


Wicomico Sheriff Office
Del Mar Va 081
401 Naylor Mill Rd
Salisbury, MD 21801


Wide Awake Grange
Seneca Waterways 397
1004 State Route 88
Phelps, NY 14532


Widener Memorial School
Cradle of Liberty Council 525
1450 W Olney Ave
Philadelphia, PA 19141


Widener Ward ‐ LDS
Cradle of Liberty Council 525
415 E 22nd St
Chester, PA 19013


WideoCo
444 Castro St
Mountain View, CA 94041


Wideopenwest Inc
dba Wow Business
1241 Og Skinner Dr
West Point, GA 31833


Wideopenwest Inc
dba Wow Business
P.O. Box 4350
Carol Stream, IL 60197‐4350


Widmer S Inc
P.O. Box 145499
Cincinnati, OH 45250‐5499


Wiesner Corp
dba Allied Locksmith Supply
P.O. Box 3137
Youngstown, OH 44513‐3137


Wig Properties Ll‐Bell1
dba Hilton Bellevue
300 112th Ave Se
Bellevue, WA 98004


Wig Properties Ll‐Bell1
dba Hilton Bellevue
4811 134th Pl Se
Bellevue, WA 98006


Wiggin   Dana LLP
265 Church St
New Haven, CT 06510


Wiggin   Dana LLP
Attn Accounts Receivable
P.O. Box 1832
New Haven, CT 06508‐1832


Wiggins Presbyterian Church
Pine Burr Area Council 304
331 College Ave E
Wiggins, MS 39577


Wigwam Mills Inc
3402 Crocker Ave
Sheboygan, WI 53081


Wigwam Mills Inc
P.O. Box 818
Sheboygan, WI 53082‐0818


Wiilliams   Assoc
1608 5th St Nw
Alburquerque, NM 87102


Wilber Lions Club
Cornhusker Council 324
P.O. Box
Wilber, NE 68465


Wilbraham Utd Church
Western Massachusetts Council 234
500 Main St
Wilbraham, MA 01095


Wilbur Furbush
Address Redacted


Wilbur L Anderson Inc
320 W 26th St
San Angelo, TX 76903


Wilbur L Anderson Inc
dba Wern Towers
P.O. Box 2040
San Angelo, TX 76902


Wilbur Lions Club
Inland Nwest Council 611
37475 Sherman Draw Rd N
Wilbur, WA 99185


Wilbur Smith Assoc Inc
P.O. Box 7993
Columbus, SC 29202‐7993


Wilbur Suggs
Address Redacted


Wilbur Vickery Jr
Address Redacted


Wilbur Wright Elementary ‐ Lfl
Crossroads of America 160
1950 Washington St
New Castle, IN 47362


Wilchester Elem School PTO
Sam Houston Area Council 576
13618 Saint Marys Ln
Houston, TX 77079


Wilcom America
4828 Tibbs Bridge Rd Se
Dalton, GA 30721


Wild Blue Wv
dba Paddle House
P.O. Box 28
Lansing, WV 25862


Wild Country, Inc
203 S Linden
Normal, IL 61761


Wild Dunes Resort
Attn Ar
5757 Palm Blvd
Isle of Palms, SC 29451


Wild Goose Chase
Pathway To Adventure 456
9955 Virginia Ave
Chicago Ridge, IL 60415


Wild Horse PTO
Greater St Louis Area Council 312
16695 Wild Horse Creek Rd
Chesterfield, MO 63005


Wild Mountain Soap Co LLC
523 Hinkle Rd, Ste A
Fayetteville, WV 25840
Wild Rose Lions Club
Bay‐Lakes Council 635
1100 Main St
Wild Rose, WI 54984


Wild Rose School PTO
Three Fires Council 127
36W730 Red Haw Ln
St Charles, IL 60174


Wild West
P.O. Box 420235
Palm Coast, FL 32142‐0235


Wild West
P.O. Box 420465
Palm Coast, FL 32142‐0465


Wilda Murphy
Address Redacted


Wildcat Wrangler Parent Club
9920 Robin Hill Ln
Dallas, TX 75238


Wilder T Manion
Address Redacted


Wilderness   Waves
Crater Lake Council 491
2725 W Main St
Medford, OR 97501


Wilderness Adventures
222 Danforth Corners Rd
Hillsboro, NH 03244


Wilderness Community Church
National Capital Area Council 082
10501 Plank Rd
Spotsylvania, VA 22553
Wilderness Experiences Unlimited, Inc
Western Massachusetts Council 234
499 Loomis St
Westfield, MA 01085


Wilderness Medical Ass Usa
20 Mussey Rd, Ste 3
Scarborough, ME 04074


Wilderness Medical Assoc
400 Riverside St, Ste A‐6
Portland, ME 04103


Wilderness Medical Assoc Intl
1 Forest Ave
Portland, ME 04101‐2810


Wilderness Medical Assoc Usa
20 Mussey Rd, Ste 1
Scarborough, ME 04074‐9570


Wilderness Medical Society
2150 S 1300 E, Ste 500
Salt Lake City, UT 84106


Wilderness Medical Society
P.O. Box 7065
Lawrence, KS 66044‐7065


Wilderness Medicine Outfitters
2477 Co Rd 132
Elizabeth, CO 80107


Wilderness Outfitters
221 W Michigan
Mt Pleasant, MI 48858


Wildewood Christian Church
Mid‐America Council 326
1255 Royal Dr
Papillion, NE 68046


Wildlands Conservancy
Minsi Trails Council 502
3701 Orchid Pl
Emmaus, PA 18049


Wildlands School
Chippewa Valley Council 637
E19320 Bartig Rd
Augusta, WI 54722


Wildlife Artists, Inc
3 Pomperaug Office Park 105
Southbury, CT 06488‐2287


Wildlife Conservation Society
P.O. Box 421710
Palm Coast, FL 32142‐8316


Wildman Art Framing Inc
1715 Market Center Blvd
Dallas, TX 75207


Wildrose Graphics
134 N Madelia St
Spokane, WA 99202


Wildrose Graphics
P.O. Box 3945
Spokane, WA 99220‐3945


Wildrose Kennels Inc
260 Cr 425
Oxford, MS 38655


Wildwood Area Lions Club
Greater St Louis Area Council 312
1655 Timber Hollow Dr
Wildwood, MO 63011
Wildwood Area Lions Club
Greater St Louis Area Council 312
P.O. Box 31006
Saint Louis, MO 63131


Wildwood Elementary PTO
Great Lakes Fsc 272
500 N Wildwood St
Westland, MI 48185


Wildwood Park District
Northeast Illinois 129
P.O. Box 375
33325 N Sears Blvd
Grayslake, IL 60030


Wildwood Park Ward
Ventura County Council 057
Wildwood Park Ward
3645 N Moopark Rf
Moorpark, CA 91360


Wildwood Presbyterian Church
Northeast Illinois 129
18630 W Old Gages Lake Rd
Grayslake, IL 60030


Wildwood School Dads Club
Piedmont Council 042
301 Wildwood Ave
Piedmont, CA 94611


Wildwood Umc
Sam Houston Area Council 576
8911 Fm 1488 Rd
Magnolia, TX 77354


Wiley Magnet Middle School
Old Hickory Council 427
1400 W Nwest Blvd
Winston Salem, NC 27104
Wilford Mcallister
Address Redacted


Wilfred Kirsch
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Wilfredo Rivera
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Wilhelmina M Jordan
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Wilkerson Elementary
Lincoln Heritage Council 205
5601 Johnsontown Rd
Louisville, KY 40272


Wilkes Barre City Police Dept
Northeastern Pennsylvania Council 501
15 N Washington St
Wilkes Barre, PA 18701


Wilkes Barre General Hospital
Northeastern Pennsylvania Council 501
575 N River St
Wilkes Barre, PA 18764


Wilkes University
Financial Aid Award
84 W S St
Wilkes‐Barre, PA 18766


Wilkesboro Police Dept
Old Hickory Council 427
100 W St
Wilkesboro, NC 28697


Wilkesboro Utd Methodist Church
Old Hickory Council 427
309 W Main St
Wilkesboro, NC 28697


Wilkins Schneller Law LLC
1926 Choteau Ave
St Louis, MO 63103


Wilkinson Animal Hospital
Piedmont Council 420
513 Ledwell St
Gastonia, NC 28056


Wilkinson Early Childhood PTO
Greater St Louis Area Council 312
1921 Prather Ave
Saint Louis, MO 63139


Wilkinson Family Farms
Heart of America Council 307
924 NW 1801st Rd
Bates City, MO 64011


Wilkinson Memorial Utd Meth Church
Washington Crossing Council 777
1601 State Rd
Croydon, PA 19021


Will Adams
Address Redacted


Will Cnty Sheriff Deputies Union Fop 738
Rainbow Council 702
P.O. Box 3441
Joliet, Il 60434


Will County Sheriff Office
Rainbow Council 702
20 W Washington St
Joliet, IL 60432


Will Moir Video Productions
12 Monticello Dr Ne
Albuquerque, NM 87123


Will Of God Ministries
Norwela Council 215
113 Calliope St
Coushatta, LA 71019


Will Rogers Elementary School
Arbuckle Area Council 468
P.O. Box 1709
Ardmore, OK 73402


Will Rogers Elementary School PTA
Cimarron Council 474
1211 N Washington St
Stillwater, OK 74075


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Address Redacted


Willamette University
900 State St
Office of Financial Aid
Salem, OR 97301


Willard Community Ctr
Cornhusker Council 324
1245 S Folsom St
Lincoln, NE 68522


Willard Hansen
Address Redacted


Willard Intercontinental Washington, Dc
1401 Pennsylvania Ave, Nw
Washington , DC 20004


Willbern Elementary PTO
Sam Houston Area Council 576
10811 Goodspring Dr
Houston, TX 77064


WiLLCox 1St Ward ‐ LDS St David Stake
Catalina Council 011
900 S Encanto St
Willcox, AZ 85643


WiLLCox 2Nd Ward ‐ LDS St David Stake
Catalina Council 011
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Willialm Mills‐Curran
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William Albrecht
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William Alexander Watson
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William Allen High School Rotc
Minsi Trails Council 502
106 N 17th St
Allentown, PA 18104


William Amidon
Address Redacted


William Anderson
Address Redacted


William Anderson‐Horecka
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William Annand
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William Arnold
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William B Barror
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William B Hamilton
Address Redacted


William B Hanna
Address Redacted


William B Wallace
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William Bains
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William Bargeron
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William Barnes
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William Bauer
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William Beaumont
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William Belcher
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William Benson
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William Betz
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William Bland
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William Blunt
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William Bolan
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William Bolton
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William Boyle
Address Redacted
William Bradford Turner Post 265
Theodore Roosevelt Council 386
111 Nassau Blvd
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William Brashear
Address Redacted


William Broadrick Jr
Address Redacted


William Broome
Address Redacted


William Brush
Address Redacted


William Bryant Jr
Address Redacted


William Bull
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William Burgess
Address Redacted


William Burgin Hardin
Address Redacted


William Butler
Address Redacted


William Butterworth
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William C Anderson Jr Al Post 0331
Ozark Trails Council 306
484 Saint Robert Outer Rd
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William C Klein
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William C Mckinney
Address Redacted


William C Newton
Address Redacted


William C Westlake Foundation
National Capital Area Council 082
10117 Parkwood Ter
Bethesda, MD 20814


William Calhoun Jr
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William Calvin Woodard
Address Redacted


William Camp
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William Carr
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William Carron
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William Carter
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William Chapel Utd Methodist Church
Pine Burr Area Council 304
1345 Hwy 503
Vossburg, MS 39366
William Clark
Address Redacted


William Coffee
Address Redacted


William Comstock
Address Redacted


William Corder Jr
Address Redacted


William Couthran
Address Redacted


William Cover
Address Redacted


William Covington
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William Cowles
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William Craig
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William Crowell
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William Cunningham
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William Curtis
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William D De Hart
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William D Edgar
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William D Ostergard
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William D Whisler
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William Daley
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William Dallas Rud
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William Dalton
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William Dannenberg
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William Davidson
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William Davis
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William Day
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William Dean
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William Deany
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William Deere
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William Dejacimo Ii
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William Dickson
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William Ditchey
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William Dixon
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William Dowell
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William Dowling
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William Duane
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William Dunbar
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William Dunkelberg
Address Redacted


William Dunn
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William Dwyer Iii
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William E Bennett
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William E Laird
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P.O. Box 610314
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William Eck
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William Egan
Address Redacted


William English
Address Redacted


William Ernest Horton
Address Redacted


William Eskildsen
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William Etheridge
Address Redacted


William Eubanks
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William Evans
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William Evatt
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William Everett
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William F Rabsey
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William F Stange
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William Fish
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William Fisher
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William Folts
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William Foster
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William Freeland
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William G Miller
Address Redacted


William Gamble
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William Garrett
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William Garth Dowling
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William Gesaman
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William Gilliland
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William Givler Iv
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William Gonzalez Jr
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William Goonan
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William Gosselin
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William Gowin Ii
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William Graham
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William Gregorcyk
Address Redacted


William Grennell
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William Griffin
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William Gurkin
Address Redacted


William Guthrie
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William H Byrne
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William H Cain Post 1287
Leatherstocking 400
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William H Hetfield 2007, LLC
727 Watchung Ave
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Cradle of Liberty Council 525
2400 N Front St
Philadelphia, PA 19133


William H Talley   Son Inc
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Petersburg, VA 23804‐0751


William Haines
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William Hall
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William Hamlin
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William Hartley
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William Hartsfield
Address Redacted


William Havyer
Address Redacted


William Hawlk Iii
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William Hayes
Address Redacted


William Hayes Jr
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William Henderson
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William Henderson Michalak
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William Hendrickson Iii
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William Heneks
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William Hepfer
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William Hopkins
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William Howard Taft Elementary
Dan Beard Council, Bsa 438
270 Sern Ave
Cincinnati, OH 45219


William Hull
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William J Shepherd
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William J Varney Post 0862
Twin Rivers Council 364
P.O. Box 208
379 Lake Ave /
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William Jarman
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William Jennings
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William Jentink
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William Jodeit
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William Joeckel
Address Redacted


William Johnson
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William Joseph Cuddy
Address Redacted
William K Annis
Address Redacted


William K Signet
Address Redacted


William Kane Skipworth
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William Kaufmann
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William Keen Jr
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William Kelly
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William Kemp
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William King Masonic Lodge
Sequoyah Council 713
688 Upper Poore Valley Rd
Saltville, VA 24370


William King Sr
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William Kinner Sr
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William Kiracofe
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William Koby Morrow
Address Redacted
William Koch
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William Kohl
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William Kraus
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William Kwolek
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William L Foor
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William L Swift
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William L Taylor
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William L Thiele
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William Landrum
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William Lappin
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William Lawrence
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William Lee
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William Lesshafft
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William Licht
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William Locke
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William Luc
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William Lucas
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William M Banta Attorney At Law
Denver Area Council 061
8101 E Prentice Ave, Ste 650
Greenwood Village, CO 80111


William Maccormac
Address Redacted


William Manning
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William Markert
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William Markgraf
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William Marshak
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William Mccahill
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William Mccarty
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William Mccleery
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William Mccormick
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William Mcelroy
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William Mclaughlin
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William Mcmahon
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William Meeks
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William Micalizzi
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William Michael Eck
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William Minarik
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William Mischke
Address Redacted


William Montanaro
Address Redacted


William Moran
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William Morgan
Address Redacted


William Morris
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William Morris Endeavor Entertainment
Llc
1600 Div St, Ste 300
Nashville, TN 37203


William Morris Jr
Address Redacted


William Morrison
Address Redacted


William Mountford
Address Redacted


William Murphy
Address Redacted


William N Chambers
Address Redacted


William N Chitty
Address Redacted
William N Coffee
320 S Madison Ave
La Grange, IL 60525


William N Martinez
Address Redacted


William Nabors
Address Redacted


William Nichols
Address Redacted


William Ogie Daffin
Address Redacted


William Oliver
Address Redacted


William Ore
Address Redacted


William Ortt
Address Redacted


William Osborn
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William Osgood Iv
Address Redacted


William Oswald
Address Redacted


William Owen
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William P Bancroft Elementary School
Del Mar Va 081
700 N Lombard St
Wilmington, DE 19801


William P Franke
Address Redacted


William P Nicholson
Address Redacted


William P Pearson
Address Redacted


William P Senseman
Address Redacted


William Pace
Address Redacted


William Page
Address Redacted


William Palmeter
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William Park
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William Parkinson
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William Parrish
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William Partridge
Address Redacted


William Pattison
Address Redacted


William Pavesic
Address Redacted


William Peppler
Address Redacted


William Perrine Landscape Svcs Inc
7 Fairview Rd
Robbinsville, NJ 08691


William Philip Olson
Address Redacted


William Popham
Address Redacted


William Posey
Address Redacted


William Price Jr
Address Redacted


William R Goodall
Address Redacted


William R Harper School
Lake Erie Council 440
5515 Ira Ave
Cleveland, OH 44144


William R Osborne
Address Redacted


William R Thompson
Address Redacted
William Radley
Address Redacted


William Randall
Address Redacted


William Ray
Address Redacted


William Rayl
Address Redacted


William Remington
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William Restrepo
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William Reyes
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William Richard Folts Jr
Address Redacted


William Ridge
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William Rios
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William Ritchie Jr
Address Redacted


William Roach
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William Roberson
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William Robert Tigard
Address Redacted


William Rochester
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William Rogers Jr
Address Redacted


William Roloff
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William Rosner
Address Redacted


William Rowley
Address Redacted


William Ruth Iv
Address Redacted


William Rutter
Address Redacted


William S James
Address Redacted


William Scanlan
Address Redacted


William Schmitz
Address Redacted


William Scott
Address Redacted
William Scott Elementary
Atlanta Area Council 092
1752 Hollywood Rd Nw
Atlanta, GA 30318


William Sexton
Address Redacted


William Smigelski
Address Redacted


William Soinski
Address Redacted


William Stanberry
Address Redacted


William Stephens
Address Redacted


William Stevens
Address Redacted


William Stone
Address Redacted


William Street Church Utd Methodist
Simon Kenton Council 441
28 W William St
Delaware, OH 43015


William Stresemann
Address Redacted


William Sullivan
Address Redacted


William Swaim
Address Redacted
William Swedenburg
Address Redacted


William T Dugger
Address Redacted


William T Hahn
Address Redacted


William T Machan
Grand Canyon Council 010
2140 E Virginia Ave
Phoenix, AZ 85006


William Tao   Assoc Inc
349 Marshall Ave, Ste 200
St Louis, MO 63119


William Tatsch
Address Redacted


William Terry
Address Redacted


William Thomas Arnone Iii
Address Redacted


William Thompson Horstmann
Address Redacted


William Tiebout
Address Redacted


William Tigard
Address Redacted


William U Pearson Ctr
Las Vegas Area Council 328
1735 D St
Las Vegas, NV 89106


William Vincent Mach
Address Redacted


William W Campbell
Address Redacted


William W Stark Jr
Address Redacted


William W Wells
Address Redacted


William Waits
Address Redacted


William Walker
Address Redacted


William Wallace
Address Redacted


William Wallace Iii
Address Redacted


William Walters
Address Redacted


William Wangsgard
Address Redacted


William Wasekanes Jr
Address Redacted


William Waters
Address Redacted


William Watt
Address Redacted


William Wheatley
Address Redacted


William Wilson
Address Redacted


William Winkler
Address Redacted


William Wiseman
Address Redacted


William Wood
Address Redacted


William Young
Address Redacted


William Zinky
Address Redacted


Williams   Assoc
247 S Wilmot
Tucson, AZ 85711


Williams Baptist College
Attn Financial Aid Office
60 W Fulbright
Walnut Ridge, AR 72476


Williams Bay Lutheran Church
Glaciers Edge Council 620
11 Collie St
Williams Bay, WI 53191
Williams Chapel Umc
Pine Burr Area Council 304
689 Hwy 503
Vossburg, MS 39366


Williams Elementary School
Pathway To Adventure 456
1320 E 19th Ave
Gary, IN 46407


Williams Express Printing, Inc
P.O. Box 25415
Dallas, TX 75225‐1415


Williams Forestry   Assoc, LLC
P.O. Box 1543
Calhoun, GA 30703


Williams Lions Club
Grand Canyon Council 010
P.O. Box 223
711 S 2nd St
Williams, AZ 86046


Williams Memorial Utd Methodist
Caddo Area Council 584
4000 Moores Ln
Texarkana, TX 75503


Williams Memorial Utd Methodist Ch
Caddo Area Council 584
Moores Ln
Texarkana, Tx 75503


Williams Mullen Clark And Dobbins P.C.
200 S 10th St, Ste 1600
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Williams Prepatory
Circle Ten Council 571
1750 Viceroy Dr
Dallas, TX 75235


Williams Prepatory School
Circle Ten Council 571
1919 Burbank St
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Williams Scotsman Inc
P.O. Box 91975
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Williams Scotsman, Inc
8211 Town Ctr Dr
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Williams, LLC
dba Cafe One Ten
110 Main St W
Oak Hill, WV 25901


Williamsburg Baptist Church
Colonial Virginia Council 595
227 Richmond Rd
Williamsburg, VA 23185


Williamsburg Memorial Vfw Post 6086
Laurel Highlands Council 527
197 Linda Ln
Williamsburg, PA 16693


Williamsburg Utd Methodist Church
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500 Jamestown Rd
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Williamsburg Utd Methodist Church
Dan Beard Council, Bsa 438
330 Gay St
Williamsburg, OH 45176
Williamsburg Utd Methodist Church
Pine Burr Area Council 304
220 Yates Rd
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Williamsburg Vol Firefighters Assoc
Western Massachusetts Council 234
P.O. Box 136
Williamsburg, Ma 01096


Williamson Ch Utd Methodist Ch
Piedmont Council 420
575 Brawley School Rd
Mooresville, Nc 28117


Williamson Chapel Utd Methodist Ch
Piedmont Council 420
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Williamson County Ems
Capitol Area Council 564
3189 SE Inner Loop
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Williamson County Fire Prot Dist
Greater St Louis Area Council 312
3232 5 Park Ave
Herrin, IL 62948


Williamson County Sheriff Office
Middle Tennessee Council 560
408 Century Ct
Franklin, TN 37064


Williamson County Sheriff S Office
Greater St Louis Area Council 312
404 N Van Buren St
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Williamson County Sheriffs Office
Capitol Area Council 564
508 S Rock St
Georgetown, TX 78626


Williamson Flying Club
Seneca Waterways 397
P.O. Box 148
Williamson, NY 14589


Williamson Kiwanis Club
Buckskin 617
P.O. Box 111
Williamson, WV 25661


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Middle Tennessee Council 560
4321 S Carothers Rd
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Franklin, TN 37064


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c/o Landry Marks Partners LP
P.O. Box 25415
Dallas, TX 75225‐1415


Williamson Rotary Club
Seneca Waterways 397
P.O. Box 136
Williamson, NY 14589


Williamsport Utd Methodist Church
Mason Dixon Council 221
25 E Church St
Williamsport, MD 21795


Williamsport Utd Methodist Men
Mason Dixon Council 221
27 E Church St
Williamsport, MD 21795


Williamston Fire   Rescue Dept
East Carolina Council 426
901 Washington St
Williamston, NC 27892


Williamston Fire Dept
Blue Ridge Council 551
120 W Main St
Williamston, SC 29697


Williamston Lions Club Inc
East Carolina Council 426
107 E Church St
Williamston, NC 27892


Williamston Sunrise Rotary
Water and Woods Council 782
4440 Beeman Rd
Williamston, MI 48895


Williamstown Christian Church
Dan Beard Council, Bsa 438
318 N Main St
Williamstown, KY 41097


Williamstown Christian Church
Dan Beard Council, Bsa 438
P.O. Box 7
Williamstown, KY 41097


Williamsville Utd Methodist Church
Greater Niagara Frontier Council 380
5681 Main St
Williamsville, NY 14221


WilliamWatters Memorial Utd Methodist Ch
Baltimore Area Council 220
1452 Jarrettsville Rd
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Willie Clanton
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Willie Iles Jr
Address Redacted


Willie Smith
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Willie Tenison
Address Redacted


Willinger Willinger    Bucci PC
855 Main St, Ste 5
Bridgeport, CT 06604


Willington Hill Fire Dept Inc
Connecticut Rivers Council, Bsa 066
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Willington, CT 06279


Willis Lions Club
Sam Houston Area Council 576
P.O. Box 250
Willis, TX 77378


Willis Towers Watson
500 N Akard St, Ste 4100
Dallas, TX 75201


Willis Towers Watson
Attn Dean M Crawford, Ste 4100
500 N Akard ST
Dallas, TX 75201


Willis Towers Watson
Attn General Counsel
901 N Glebe Rd
Arlington, VA 22203


Willis Towers Watson Us LLC
500 N Akard St, Ste 4100
Dallas, TN 75201
Williston 1St Ward Minot Nd Stake
Northern Lights Council 429
P.O. Box 288
Williston, ND 58802


Williston 2Nd Ward, Minot Nd Stake
Northern Lights Council 429
P.O. Box 6405
Williston, ND 58802


Williston 3Rd Ward Minot Nd Stake
Northern Lights Council 429
1805 26th St W
Williston, ND 58801


Williston Federated Church
Green Mountain 592
44 N Williston Rd
Williston, VT 05495


Willits Lions Club And American Legion
Redwood Empire Council 041
P.O. Box 1353
Willits, CA 95490


Willits Troop 0088 Parents Group
Redwood Empire Council 041
441 N St
Willits, CA 95490


Willkie Farr   Gallagher LLP
787 7th Ave, Fl 2
New York, NY 10019‐6099


Willmar Fire Dept
Northern Star Council 250
515 2nd St Sw
Willmar, MN 56201


Willmar Police Dept
Northern Star Council 250
2201 23rd St NE, Ste 102
Willmar, MN 56201


Willoughby Police Dept
Lake Erie Council 440
36700 Euclid Ave
Willoughby, OH 44094


Willow Brook Christian Church
Seneca Waterways 397
619 High St
Victor, NY 14564


Willow Brook PTO
Greater St Louis Area Council 312
11022 Schuetz Rd
Saint Louis, MO 63146


Willow Creek Presbyterian Church PCa
Central Florida Council 083
4725 E Lake Dr
Winter Springs, FL 32708


Willow Creek PTA Committee
Sam Houston Area Council 576
2002 Willow Terrace Dr
Kingwood, TX 77345


Willow Creek Utd Methodist Church
Lasalle Council 165
14010 Jefferson Blvd
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Willow Elementary
Lake Erie Council 440
5004 Glazier Ave
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Willow Glen Post 318 American Legion
Silicon Valley Monterey Bay 055
1504 Minnesota Ave
San Jose, CA 95125
Willow Glen Utd Methodist Church
Silicon Valley Monterey Bay 055
1420 Newport Ave
San Jose, CA 95125


Willow Hill Utd Methodist Church
W D Boyce 138
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Willow Mountain Ward LDS
Montana Council 315
957 Eside Hwy
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Willow Mountain Ward LDS
Montana Council 315
957 Eside Hughway
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3223 Walkup Ave, Apt CC
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Willow Ridge Civic Assoc
Greater Niagara Frontier Council 380
235 Kaymar Dr
Amherst, NY 14228


Willow Ridge Civic Assoc Inc
Greater Niagara Frontier Council 380
Willow Ridge School
Amherst, NY 14228


Willow Ridge Elementary School PTA
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Willow Springs Electric
1100 N 4Th
Raton, NM 87740


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5400 Willow Springs School Rd
Fairfax, VA 22030


Willow Springs Rotary Club
Ozark Trails Council 306
P.O. Box 192
Willow Springs, MO 65793


Willow Street Lions Club
c/o John F. Pyfer, Jr
Pennsylvania Dutch Council 524
1100 Little Brook Rd
Lancaster, PA 17603


Willow View Utd Methodist Ch Enid
Cimarron Council 474
3525 W Purdue Ave
Enid, Ok 73703


Willowbrook Police Dept
Michelle Strugala Post 500
7760 Quincy St
Willowbrook, IL 60527


Willowdale Elementary School PTO
Mid‐America Council 326
16901 P St
Omaha, NE 68135


Willowfork Fire Dept
Sam Houston Area Council 576
24655 Wheimer Pkwy
Katy, TX 77494


Willowick‐ Elake Post 678 AL
Lake Erie Council 440
570 E 328Th St
Willowick, Oh 44095


Willowick Food Pantry
Lake Erie Council 440
P.O. Box 5067
Eastlake, OH 44095


Willows Kiwanis Club
Golden Empire Council 047
P.O. Box 922
Willows, CA 95988


Willowvale Fire Co
Leatherstocking 400
3459 Oneida St
Chadwicks, NY 13319


Willsea O Brien Glass, Inc
8415 Garlinghouse Rd
Naples, FL 14512


Wilma Mathison
Address Redacted


Wilma Morrison
Address Redacted


Wilma Tongay
Address Redacted


Wilma Truckenmiller
Address Redacted


Wilma Yonkers
Address Redacted


Wilmar Volunteer Fire Dept
Redwood Empire Council 041
3825 Bodega Ave
Petaluma, CA 94952
Wilmer Cutler Pickering Hale      Dorr Llp
Attn Craig Goldblatt
1875 Pennsylvania Ave Nw
Washington, DC 20006


Wilmer Explorers
Mobile Area Council‐Bsa 004
13040 Moffett Rd
Wilmer, AL 36587


Wilmer Louviere
Address Redacted


Wilmette American Legion Post 46
Northeast Illinois 129
P.O. Box 42
Wilmette, IL 60091


Wilmette Community Church
Northeast Illinois 129
1020 Forest Ave
Wilmette, IL 60091


Wilmington Lions Club
Rainbow Council 702
P.O. Box 662
Wilmington, IL 60481


Wilmington Police Dept
The Spirit of Adventure 227
1 Adelaide St
Wilmington, MA 01887


Wilmington Star‐News
P.O. Box 840
Wilmington, NC 28402


Wilmington Utd Methodist Church
Tecumseh 439
61 E Main St, Ste 4
Wilmington, OH 45177


Wilmington Utd Methodist Church
Tecumseh 439
P.O. Box 927
Wilmington, OH 45177


Wilmington Utd Methodist Church
The Spirit of Adventure 227
87 Church St, Route 62
Wilmington, MA 01887


Wilmore Davis Elementary
Denver Area Council 061
7975 W 41st Ave
Wheat Ridge, CO 80033


Wilshire Assoc Inc
Attn Accounts Receivables
1299 Ocean Ave, Ste 700
Santa Monica, CA 90401‐1085


Wilshire Assoc, Incorporated
1299 Ocean Ave, Ste 700
Santa Monica, CA 90401‐1085


Wilshire Utd Methodist Church
Cascade Pacific Council 492
3917 NE Shaver St
Portland, OR 97212


Wilson   Sons
Piedmont Council 420
175 Silver Creek Rd
Mill Spring, NC 28756


Wilson Aspire PTO
Blackhawk Area 660
520 N Pierpont Ave
Rockford, IL 61101
Wilson Boys And Girls Club
South Plains Council 694
3221 59th St
Lubbock, TX 79413


Wilson Brothers Inc
dba Wilsons Auto    Supply
8482 Seneca Trl S
Ronceverte, WV 24970


Wilson Chapel Ame Church
Chickasaw Council 558
80 E Shelby Dr
Memphis, TN 38109


Wilson Co Voc Ctr Afjrotc
Middle Tennessee Council 560
418 Harding Dr
Lebanon, TN 37087


Wilson Conference Center
dba Fogelman Exec Ctr
330 Innovation Dr, Ste 206
Memphis, TN 38152‐6481


Wilson Conservation Club Inc
Iroquois Trail Council 376
2934 Wilson Cambria Rd
Wilson, NY 14172


Wilson County Sheriffs Office
Middle Tennessee Council 560
105 E High St
Lebanon, TN 37087


Wilson E Triplett
Address Redacted


Wilson El Schl/V F W Post 1912/ W A
Three Harbors Council 636
8710 W Orchard St
Milwaukee, WI 53214
Wilson Elementary PTO
Circle Ten Council 571
200 S Coppell Rd
Coppell, TX 75019


Wilson Elementary PTO
Sam Houston Area Council 576
18015 Kieth Harrow Blvd
Houston, TX 77084


Wilson Elser Moskowitz
Edelman   Dicker LLP
150 E 42nd St
New York, NY 10017‐5639


Wilson Enterprises
W2119 Us‐2
Wilson, MI 49896


Wilson Focus School Clc
Mid‐America Council 326
5141 F St
Omaha, NE 68117


Wilson Hill School PTO
Simon Kenton Council 441
6500 Nland Rd
Worthington, OH 43085


Wilson K 8 Parent Teacher Org
Catalina Council 011
2330 W Glover Rd
Oro Valley, AZ 85742


Wilson Middle School
Mecklenburg County Council 415
7020 Tuckaseegee Rd
Charlotte, NC 28214


Wilson Police Dept
East Carolina Council 426
P.O. Box 10
Wilson, NC 27894


Wilson Pride Inc
Coronado Area Council 192
P.O. Box 7
Wilson, KS 67490


Wilson Primary PTO
Lasalle Council 165
56660 Oak Rd
South Bend, IN 46619


Wilson Quan
Address Redacted


Wilson Safe Co
3031 Island Ave P.O. Box 5310
P.O. Box 5310
Philadelphia, PA 19153


Wilson Schl Concrnd Parents/Cub Scts Inc
Three Harbors Council 636
1060 Glenview Ave
Wauwatosa, WI 53213


Wilson School PTA
Patriots Path Council 358
301 Linden Ave
Westfield, NJ 07090


Wilson School PTO
Connecticut Rivers Council, Bsa 066
235 Birch St
Waterbury, CT 06704


Wilson Trucking
P.O. Box 200
Fishersville, VA 22939‐0200
Wilson Utd Methodist Church
Pikes Peak Council 060
6460 Flying W Ranch Rd
Colorado Springs, CO 80919


Wilsons Business Solutions
P.O. Box 3005
32 King St
Dryden, On P8N 2Z6
Canada


Wilsons Farm
6250 Mapleshade Ln
Dallas, TX 75252


Wilsons Jewelry   Gifts
13 E Market St
Lewistown, PA 17044


Wilsons Remodel
1101 Judy Ave
Benbrook, TX 76133


Wilsonville Utd Methodist Church
Greater Alabama Council 001
P.O. Box 530
Wilsonville, AL 35186


Wilton Congregational Church
Connecticut Yankee Council Bsa 072
70 Ridgefield Rd
Wilton, CT 06897


Wilton Firefighters Assoc
Golden Empire Council 047
P.O. Box 768
Wilton, CA 95693


Wilton Legion Post 10 B
Daniel Webster Council, Bsa 330
24 Maple St
P.O. Box 381
Wilton, NH 03086


Wimberley Lions Club
Capitol Area Council 564
P.O. Box 1749
Wimberley, TX 78676


Wimberly, Lawson, Steckel,Nelson
Schneider, P.C, Ste 400 Lenox Towers
3400 Peachtree Rd N E
Atlanta, GA 30326‐1107


Winchell PTO
Southern Shores Fsc 783
2316 Winchell Ave
Kalamazoo, MI 49008


Winchendon‐American Legion Post 193
Heart of New England Council 230
P.O. Box 116
295 School St


Winchester Ammunition
Bank of America‐Olin Corp‐Winchester
5065 Collections Center Dr
Chicago, IL 60693


Winchester B York
Address Redacted


Winchester First Utd Methodist Church
Middle Tennessee Council 560
100 S Jefferson St
Winchester, TN 37398


Winchester Homeland Town Assoc
California Inland Empire Council 045
P.O. Box 122
Winchester, CA 92596


Winchester Medical Ctr
Shenandoah Area Council 598
P.O. Box 3340
Winchester, VA 22604


Winchester Police Dept
Blue Grass Council 204
16 S Maple St
Winchester, KY 40391


Winchester Police Dept
The Spirit of Adventure 227
30 Mount Vernon St
Winchester, MA 01890


Winchester Utd Methodist Mens Group
Abraham Lincoln Council 144
20 N Walnut St
Winchester, IL 62694


Winchester Volunteer Fire Co
Greater Niagara Frontier Council 380
514 Harlem Rd
West Seneca, NY 14224


Wind River Video Productions Inc
dba Melinda Mercer Photography
5 Lackawanna Ct
Spanish Fort, AL 36527


Wind Rush Ventures Ltd
6636 Briar Cove Dr
Dallas, TX 75254


Wind Star Sailing Inc
646 Scotland St
Dunedin, FL 34698


Wind Star Sailing Inc
c/o Harry Matthues
73800 Overseas Hwy
Islamorada, FL 33036
Windber Calvary Utd Methodist Church
Laurel Highlands Council 527
1800 Stockholm Ave
Windber, PA 15963


Windcrest Utd Methodist Church
Alamo Area Council 583
8101 Midcrown Dr
Windcrest, TX 78239


Winder First Methodist Church
Northeast Georgia Council 101
280 N Broad St
Winder, GA 30680


Winder First Utd Methodist Church
Northeast Georgia Council 101
280 N Broad St
Winder, GA 30680


Windermere Elementary
Greater Niagara Frontier Council 380
291 Windermere Blvd
Buffalo, NY 14226


Windermere Presbyterian Church
Cape Fear Council 425
104 Windemere Rd
Wilmington, NC 28405


Windermere Union Church
Central Florida Council 083
10710 Park Ridge Gotha Rd
Windermere, FL 34786


Windham Ctr Fire Dept
Connecticut Rivers Council, Bsa 066
Windham Center Fire Dept
Windham Center, CT 06280


Windham Endowment For Commty
Advancement
Daniel Webster Council, Bsa 330
P.O. Box 4315
Windham, Nh 03087


Windham Hill Utd Church Of Christ
Pine Tree Council 218
140 Windham Center Rd
Windham, ME 04062


Windham Veterans Of Foreign Wars
Pine Tree Council 218
P.O. Box 1583
Windham, ME 04062


Winding Brook Condominiums Assoc, Inc
National Capital Area Council 082
4101 Chantilly Rd
Chantilly, VA 20151


Winding Ridge Elementary As
Crossroads of America 160
11825 E 46th St
Indianapolis, IN 46235


Windmill Slatwall Products
200 Balsam Rd
Sheboygan Falls, WI 53085


Windom Volunteer Fire Co
Greater Niagara Frontier Council 380
3736 Abbott Rd
Orchard Park, NY 14127


Windover Hills Utd Methodist Church
Laurel Highlands Council 527
6751 Ridge Rd
Pittsburgh, PA 15236


Windows Decor   Designs
3125 53rd Ave E Sr70
Bradenton, FL 34203
Windrow Homeowners Assoc
Mecklenburg County Council 415
P.O. Box 186
Matthews, NC 28106


Windrush Ventures, LLC
Dba Windrush Publishers
6636 Briar Cove Dr
Dallas, TX 75254


Windsong Place Apartments
25 Spring Meadow Dr
Williamsville, NY 14221


Windsor Charter Academy School
Longs Peak Council 062
680 Academy Ct
Windsor, CO 80550


Windsor Christian Church
Colonial Virginia Council 595
4 N Court St
Windsor, VA 23487


Windsor Congregational Church
Western Massachusetts Council 234
P.O. Box 162
Windsor, MA 01270


Windsor Grange 410
Redwood Empire Council 041
P.O. Box 2235
Windsor, CA 95492


Windsor Hills Utd Methodist Church
Blue Ridge Mtns Council 599
3591 Windsor Rd Sw
Roanoke, VA 24018


Windsor Historical Society
Pine Tree Council 218
32 Choate Rd
Windsor, ME 04363


Windsor Locks Police Dept
Connecticut Rivers Council, Bsa 066
4 Volunteer Dr
Windsor Locks, CT 06096


Windsor Lodge 442‐ F   A
Baden‐Powell Council 368
P.O. Box 304
Airport Rd
Windsor, NY 13865


Windsor Methodist Church
Mid Iowa Council 177
6222 University Ave
Des Moines, IA 50311


Windsor Parent Teachers Club
Glaciers Edge Council 620
4352 Windsor Rd
Windsor, WI 53598


Windsor Park Elementary PTA
South Texas Council 577
4525 S Alameda St
Corpus Christi, TX 78412


Windsor Police Dept
Redwood Empire Council 041
9291 Old Redwood Hwy, Ste 300B
Windsor, CA 95492


Windsor PTA
Golden Spread Council 562
6700 Hyde Pkwy
Amarillo, TX 79109


Windsor Rotary Club
Green Mountain 592
P.O. Box 296
Windsor, VT 05089


Windsor Ruritan Club
Colonial Virginia Council 595
200 Community Dr
Windsor, VA 23487


Windsor Utd Methodist Church
Indian Waters Council 553
9500 Windsor Lake Blvd
Columbia, SC 29223


Windsor Utd Methodist Church
Mid Iowa Council 177
6222 University Ave
Des Moines, IA 50311


Windsor Village Utd Methodist Church
Sam Houston Area Council 576
6011 W Orem Dr
Houston, TX 77085


Windsor‐Freer Parent Assoc
Greater St Louis Area Council 312
6208 US Hwy 61 67
Imperial, MO 63052


Windstream Communications
P.O. Box 70526
Charlotte, NC 28272‐0526


Windstream Communications Inc
4001 N Rodney Parham Rd
Little Rock, AR 72212‐2442


Windstream Communications Inc
P.O. Box 9001908
Louisville, KY 40290‐1908


Windstream Holdings Inc
4001 N Rodney Parham Rd
Little Rock, AR 72212‐2442


Windstream Holdings Inc
P.O. Box 88104
Chicago, IL 60680‐1104


Windswept A/C   Appliances
2735 Overseas Hwy
Marathon, FL 33050


Windward Lake Club
Atlanta Area Council 092
2001 Lake Windward Dr
Alpharetta, GA 30005


Windy City Flyers, Inc
Pathway To Adventure 456
1098 S Milwaukee Ave, Ste 301
Wheeling, IL 60090


Windy Day Plumbing Co Inc
82891 Overseas Hwy
P.O. Box 569
Islamorada, FL 33036


Winegard Elementary School PTA
Central Florida Council 083
7055 Winegard Rd
Orlando, FL 32809


Winelco Inc
6141 Centre Park Dr
West Chester, OH 45069


Winfield Commty
Volunteer Fire Dept Inc
Baltimore Area Council 220
1320 W Old Liberty Rd
Sykesville, Md 21784
Winfield Elementary Parent Teachers
Baltimore Area Council 220
4401 Salem Bottom Rd
Westminster, MD 21157


Winfield Lions Club
Mississippi Valley Council 141 141
106 S Bashford St
Winfield, IA 52659


Winfield Utd Methodist
Buckskin 617
20 Radwin Dr
Winfield, WV 25213


Winfield Utd Methodist Church
Quapaw Area Council 018
20100 Cantrell Rd
Little Rock, AR 72223


Winfred Baron
Address Redacted


Winfred E Denham / F A M E
Atlanta Area Council 092
2046 Richard Allen Ln Se
Atlanta, GA 30316


Wingate By Wyndham
850 W Walnut Hill Ln
Irving, TX 75038


Wingate By Wyndham 1‐77      Tyvola
Charlotte Airport S
6050 Tyvola Glen Cir
Charlotte, NC 28217


Wingate Utd Methodist
Central N Carolina Council 416
P.O. Box 633
Wingate, NC 28174
Wingate Utd Methodist Church
Central N Carolina Council 416
111 Hinson St
Wingate, NC 28174


Wingfield High School Jrotc
Andrew Jackson Council 303
1985 Scanlon Dr
Jackson, MS 39204


Wingman Enterprises Inc
2636 Poplar Lake Tr
Atlanta, GA 30360


Wings And Rotors Air Museum
California Inland Empire Council 045
37350 Sky Canyon Dr
Murrieta, CA 92563


Wings Like Eagle
Pikes Peak Council 060
15050 Woodcarver Rd
Monument, CO 80132


Wings Of Dreams Aviation Museum
North Florida Council 087
7100 Airport Rd
Starke, FL 32091


Wings Of Honor Museum
Quapaw Area Council 018
70 Beacon Rd
Walnut Ridge, AR 72476


Wings Of Truth Full Gospel Church
Great Lakes Fsc 272
252 Tuxedo St
Highland Park, MI 48203


Winifred Anderson
Address Redacted
Winmo
List Partners LLC
3098 Piedmont Rd Ne, Ste 200
Atlanta, GA 30305


Winn Brook School PTA Assoc
The Spirit of Adventure 227
97 Waterhouse Rd
Belmont, MA 02478


Winn Parish
Attn School Board
P.O. Box 430
Winnfield, LA 71483‐0430


Winnebago
2929 Airport Blvd
Waterloo, IA 50703‐9627


Winnebago Cncl 173
2929 Airport Blvd
Waterloo, IA 50703‐9627


Winnebago County Sheriff S Dept
Blackhawk Area 660
650 W State St
Rockford, IL 61102


Winnebago Presbyterian Church
Blackhawk Area 660
P.O. Box 38
Winnebago, IL 61088


Winnebago Scout Camp
Patriots Path Council 358
102 Timberbrook Rd
Rockaway, NJ 07866


Winnetka Congregational Church
Northeast Illinois 129
725 Pine St
Winnetka, IL 60093


Winnieluci Co
315 Oakcrest Dr
Richardson, TX 75080


Winnitex, Ltd
Unit 3601‐5 36/F Cable Tv Tower
9 Hoi Shing Rd
Tsuen Wan,
Hong Kong


Winnsboro Lion Club
Louisiana Purchase Council 213
P.O. Box 970
Winnsboro, LA 71295


Winnsboro Lions Club
Louisiana Purchase Council 213
304 Prairie St
Winnsboro, LA 71295


Winona Darling
Address Redacted


Winona Elks Lodge
Gamehaven 299
P.O. Box 329
Winona, MN 55987


Winona Lee
Address Redacted


Winona State University
P.O. Box 5838
Winona, MN 55987


Winside AL   Fire   Rescue
Mid‐America Council 326
204 Main St
Winside, Ne 68790


Winslow Township Fire Dept
Garden State Council 690
9 Cedar Brook Rd
Sicklerville, NJ 08081


Winslow Veterans Of Foreign Wars
Pine Tree Council 218
175 Veteran Dr
Winslow, ME 04901


Winslow Volunteer Fire Co No1
Garden State Council 690
55 Hall St
Winslow, NJ 08095


Winstead Elementary PTO Inc
Middle Tennessee Council 560
4080 Columbia Pike
Franklin, TN 37064


Winstead Methodist Church
East Carolina Council 426
1407 Tarboro St Sw
Wilson, NC 27893


Winstead PC
5400 Renaissance Tower
1201 Elm St
Dallas, TX 75270‐2199


Winsted American Legion
Northern Star Council 250
Co Rd 9   212th St
Winsted, MN 55395


Winsted Fire Dept
Connecticut Rivers Council, Bsa 066
27 Elm St
Winsted, CT 06098
Winsted Lions Club
Connecticut Rivers Council, Bsa 066
P.O. Box 241
Winsted, CT 06098


Winston   Strawn LLP
35 W Wacker Dr
Chicago, IL 60601‐9703


Winston Carnes
Address Redacted


Winston Christian Academy
Atlanta Area Council 092
7425 Us‐78
Winston, GA 30187


Winston Knolls Civic Assoc
National Capital Area Council 082
P.O. Box 2893
Springfield, VA 22152


Winston Ng
403 Scarlet Maple Dr
Sugarland, TX 77479‐5006


Winston Ng
Address Redacted


Winston Park Homeowners Assoc
South Florida Council 084
8100 SW 132nd Ave
Miami, FL 33183


Winston Salem Dash/Carolina Thunderbirds
Old Hickory Council 427
926 Brookstown Ave
Winston Salem, NC 27101


Winston Utd Methodist Church
Pony Express Council 311
205 E 2nd St
Winston, MO 64689


Winston‐Salem Fire Dept
Old Hickory Council 427
725 N Cherry St
Winston Salem, NC 27101


Winston‐Salem Police Dept
Old Hickory Council 427
P.O. Box 3114
Winston Salem, NC 27102


Winter Garden Police Dept
Central Florida Council 083
251 W Plant St
Winter Garden, FL 34787


Winter Haven Hs Ajrotc
Greater Tampa Bay Area 089
600 6th St Se
Winter Haven, FL 33880


Winter Haven Police Dept
Greater Tampa Bay Area 089
125 N Lake Silver Dr Nw
Winter Haven, FL 33881


Winter Livestock Co
P.O. Box 308
La Junta, CO 81050


Winter Park Masonic Lodge 239 F   Am
Central Florida Council 083
1495 Grand Rd
Winter Park, FL 32792


Winter Park Presbyterian Church
Cape Fear Council 425
4501 Wrightsville Ave
Wilmington, NC 28403
Winter Park Presbyterian Church
Central Florida Council 083
400 S Lakemont Ave
Winter Park, FL 32792


Winter Sports
P.O. Box 918
Angel Fire, NM 87710


Winter Springs Police Dept
Central Florida Council 083
300 N Moss Rd
Winter Springs, FL 32708


Winterfield Utd Methodist Church
East Texas Area Council 585
2616 Tryon Rd
Longview, TX 75605


Wintergreen Designs Inc
205 E Sheridan St
Ely, MN 55731


Winters Lions Club
Texas Trails Council 561
P.O. Box 744
Winters, TX 79567


Winterstown Utd Methodist Church
New Birth of Freedom 544
12187 Winterstown Rd
Felton, PA 17322


Winterville Civitan Club
Northeast Georgia Council 101
101 Margold Ln
Winterville, GA 30683


Winterville Civitan Club
Northeast Georgia Council 101
P.O. Box 62
Winterville, GA 30683


Winterville Rescue    Ems Aux
East Carolina Council 426
P.O. Box 613
Winterville, NC 28590


Winthrop Community Club
Winnebago Council, Bsa 173
P.O. Box 178
Winthrop, IA 50682


Winthrop Congregational Church
Mayflower Council 251
16 N Franklin St
Holbrook, MA 02343


Winthrop Harbor Fire Dept
Northeast Illinois 129
830 Sheridan Rd
Winthrop Harbor, IL 60096


Winthrop Harbor Lions Club Inc
Northeast Illinois 129
P.O. Box 222
Winthrop Harbor, IL 60096


Winthrop Police Dept
Explorer Post 99
3 Metcalf Square
Winthrop, MA 02152


Winthrop Police Dept
The Spirit of Adventure 227
3 Metcalf Sq
Winthrop, MA 02152


Winton Hills Academy
Dan Beard Council, Bsa 438
5300 Winneste Ave
Cincinnati, OH 45232
Wire Nuts Electric Of South Florida Inc
237 La Paloma Rd
Key Largo, FL 33037


Wired
P.O. Box 37680
Boone, IA 50037‐4680


Wired Steeples Christian Church
Last Frontier Council 480
400 NE 3rd St
Tipton, OK 73570


Wireworks/Screenworks
Division of Rwireworks Inc
P.O. Box 1118
Elmira, NY 14902‐1118


Wis American Legion Post 471
Samoset Council, Bsa 627
7865 County Rd II
Hatley, WI 54440


Wisawanik Lodge 190
c/o Arbuckle Area Council
P.O. Box 5309
Ardmore, OK 73403‐0309


Wisconsin Army National Guard
Bay‐Lakes Council 635
2801 W 2nd St
Appleton, WI 54914


Wisconsin Dells Kiwanis Club
Glaciers Edge Council 620
P.O. Box 524
Wisconsin Dells, WI 53965


Wisconsin Dept Consumer Protection
Consumer Protection Div
P.O. Box 1789
Charleston, WV 25326‐1789


Wisconsin Dept Of Revenue
P.O. Box 930931
Milwaukee, WI 53293‐0931


Wisconsin Dept Of Revenue
P.O. Box 93389
Milwaukee, WI 53293‐0389


Wisconsin Law Enforcement Explorer
Advisors Assoc Inc
W182 S8200 Racine Ave
Muskego, WI 53150


Wisconsin Rapids Area Catholic Schools
Samoset Council, Bsa 627
445 Chestnut St
Wisconsin Rapids, WI 54494


Wisconsin River Orthopaedics
Samoset Council, Bsa 627
140 24th St S
Wisconsin Rapids, WI 54494


Wisconsin State Attorneys General
State Capitol, Ste 114 E.
P.O. Box 7857
Madison, WI 53707‐7857


Wisconsin State Treasurer S Office
Unclaimed Property Div
P.O. Box 2114
Madison, WI 53701‐2114


Wise County Sheriff S Dept
Longhorn Council 662
200 Rook Ramsey Dr
Decatur, TX 76234
Wise County Sheriff S Office
Sequoyah Council 713
5605 Patriot Dr
Wise, VA 24293


Wise Foods
3676 W California Ave, Ste B100
Salt Lake City, UT 84104


Wise Lions Club
Sequoyah Council 713
P.O. Box 914
Wise, VA 24293


Wise Police Dept
Sequoyah Council 713
P.O. Box 1100
Wise, VA 24293


Wiseman Excavating Inc
Rt 1, Box 190
Liberty, WV 25124


Wissinoming Presbyterian Church
Cradle of Liberty Council 525
5825 Torresdale Ave
Philadelphia, PA 19135


Wissota Hardware Inc
111 W Columbia St
Chippewa Falls, WI 54729


Without Walls Vineyard
President Gerald R Ford 781
8485 Homestead Dr
Zeeland, MI 49464


Withrow Education Assoc
Northern Star Council 250
10158 122nd St N
Withrow Elementary School
Hugo, MN 55038
Wittenberg Lions Club
Samoset Council, Bsa 627
N7951 Regina Rd
Wittenberg, WI 54499


Wittenberg Lutheran Church Men Club
Indian Waters Council 553
P.O. Box 306
Ridge Spring, SC 29129


Wittenberg Sportsmens Club Inc
Rip Van Winkle Council 405
P.O. Box 930
Woodstock, NY 12498


Wizard Global Events
4415 Serena Cir
St. Augustine, FL 32804


Wjct Inc
100 Festival Park Ave
Jacksonville, FL 32202


Wjs Adventures, Inc
Greater Tampa Bay Area 089
3435 Reserve Cir N
Saint Petersburg, FL 33713


Wlhc, Inc
Weaver Leather, LLC
P.O. Box 68 / 7540 County Rd 201
Mount Hope, OH 44660


Wm A Carleton Memorial Vfw Post 2513
Heart of America Council 307
P.O. Box 593
Warrensburg, MO 64093


Wm Archer   Sons Inc Plumbing
36 Old Matawan Rd
Old Bridge, NJ 08857


Wm Banta
Address Redacted


Wm Lamp Tracker, Inc
P.O. Box 932962
Atlanta, GA 31193‐2962


Wm Renton Lodge No 29
Free   Accepted Masons
Chief Seattle Council 609
1299 Grow Ave Nw
Bainbridge Island, Wa 98110


Wm Sales
124 W Fairmeadows
Duncanville, TX 75116


W‐M Sales Co
124 W Fairmeadows
Duncanville, TX 75116


WM Serazio Co
P.O. Box 1192
Raton, NM 87740


Wm Travis American Legion Post
Allegheny Highlands Council 382
144 S Erie St
Mayville, NY 14757


Wm W Fahey American Legion Post 491
Chester County Council 539
208 E State St
Kennett Square, PA 19348


Wmei Wayne Murphree Inc
25735 Alabama Hwy 71
Flat Rock, AL 35966
Wminster Utd Methodist Ch Men S Grp
Denver Area Council 061
3585 W 76Th Ave
Westminster, Co 80030


Wmoreland Housing Auth Derry Townhouses
Westmoreland Fayette 512
154 S Greengate Rd
Greensburg, Pa 15601


Wmoreland Housing Auth Pleasant Manor
Westmoreland Fayette 512
154 Pleasant Mnr
Mount Pleasant, Pa 15666


Wmt Corporate Accounting
420 Montgomery St
San Francisco, CA 94104‐1298


Wnet/Educational Broadcasting
327 Holly Ct , Ste 20
Williston, VT 05495‐7857


Woden Baptist Church
East Texas Area Council 585
P.O. Box 45
Woden, TX 75978


Woerner Elementary PTO
Greater St Louis Area Council 312
6131 Leona St
Saint Louis, MO 63116


Wofford College
Attn Office of the Controller
429 N Church St
Spartanburg, SC 29303‐3663


Wohlwend School PTO
Greater St Louis Area Council 312
5966 Telegraph Rd
Saint Louis, MO 63129


Wolcott Grange No 173
Connecticut Rivers Council, Bsa 066
313 Bound Line Rd
Wolcott, CT 06716


Wolcott Lions Club
Sagamore Council 162
P.O. Box 219
Wolcott, IN 47995


Wolcott School P T O
Connecticut Rivers Council, Bsa 066
71 Wolcott Rd
West Hartford, CT 06110


Wolf Branch District 113 Ptc
Greater St Louis Area Council 312
125 Huntwood Rd
Swansea, IL 62226


Wolf Camera Inc
P.O. Box 277535
Atlanta, GA 30384‐7535


Wolf Cyclery Of Sheboygan Ltd
1702 S 12th St
Sheboygan, WI 53081


Wolf Lake Utd Methodist Church
President Gerald R Ford 781
370 Vista Ter
Muskegon, MI 49442


Wolf Springs PTO
Heart of America Council 307
9300 W 178th St
Overland Park, KS 66013


Wolf Swamp School PTO
Western Massachusetts Council 234
62 Wolf Swamp Rd
Longmeadow, MA 01106


Wolfeboro Lions Club
Daniel Webster Council, Bsa 330
P.O. Box 325
Wolfeboro, NH 03894


Wolfeboro Rotary Club
Daniel Webster Council, Bsa 330
Rotary Club
Wolfeboro, NH 03894


Wolfforth Utd Methodist
South Plains Council 694
102 Donald Preston Dr
Wolfforth, TX 79382


Wolflin Elementary PTA
Golden Spread Council 562
2026 S Hughes St
Amarillo, TX 79109


Wolftree Programs
Western Massachusetts Council 234
P.O. Box 44
Montague, MA 01351


Wollrich Inc
2 Mill St
Woolrich, PA 17779


Wollrich Inc
P.O. Box 360
Woolrich, PA 17779


Wolper Subscription Service Inc
360 Nampton St
Easton, PA 18042
Wolper Subscription Services, Inc
6 Centre Sq, Ste 202
Easton, PA 18042‐3691


Wolters Kluwer Law      Business
4829 Innovation Way
Chicago, IL 60682


Wolverine World Wide, Inc
25759 Network Pl
Chicago, IL 60673‐1257


Womans Club Of Temple City
Greater Los Angeles Area 033
9703 Woodruff Ave
Temple City, CA 91780


Womble Bond Dickinson Us Llp
Attn Matthew Ward/Morgan Patterson
1313 N Market St, Ste 1200
Wilmington, DE 19801


Women For Hire LLC
545 8th Ave, Ste 1220
New York, NY 10018


Women Of The Moose Chapter 47
Mansfield
Buckeye Council 436
970 Lucas Rd
Mansfield, Oh 44905


Womens Club Peoples Methodist Church
Pine Tree Council 218
310 Broadway
South Portland, ME 04106


Womens Club Peoples Utd Methodist Ch
Pine Tree Council 218
310 Broadway
South Portland, Me 04106
Womens Ctr
Atlanta Area Council 092
631 Promise Path
Conyers, GA 30012


Womens Huron Valley
Southern Shores Fsc 783
3201 Bemis Rd
Ypsilanti, MI 48197


Womens Resource Center
1325 W Walnut Hill Ln
Irving, TX 75038


Won Door Corp
P.O. Box 27484
Salt Lake City, UT 84127‐0484


Wonder Lake Fire Protection District
Blackhawk Area 660
P.O. Box 447
Wonder Lake, IL 60097


Wonder Lake Firefighters Assoc
Blackhawk Area 660
P.O. Box 447
Wonder Lake, IL 60097


Wonderview Elementary School PTO
Quapaw Area Council 018
2436 Hwy 95
Hattieville, AR 72063


Won‐Mee Goodman
Address Redacted


Wood County Constable Precint 2
East Texas Area Council 585
716 Greenville Ave
Mineola, TX 75773
Wood County Sheriff S Office
Erie Shores Council 460
1960 E Gypsy Lane Rd
Bowling Green, OH 43402


Wood Dale Lions Club
Three Fires Council 127
P.O. Box 14
Wood Dale, IL 60191


Wood Group Americas
Sam Houston Area Council 576
17325 Park Row
Houston, TX 77084


Wood Group Kenny
Sam Houston Area Council 576
15115 Park Row Blvd
Houston, TX 77064


Wood Preservers Inc
P.O. Box 158
Warsaw, VA 22572


Wood Ridge Pba Local 313
Northern New Jersey Council, Bsa 333
85 Humboldt St
Wood Ridge, NJ 07075


Wood River After School Program
Overland Trails 322
1003 Lilly St
Wood River, NE 68883


Woodberry Forest School
Stonewall Jackson Council 763
Rt 622
898 Woodberry Forest Rd
Woodberry Forest, VA 22989


Woodbine Utd Methodist Church
Gulf Coast Council 773
5200 Woodbine Rd
Pace, FL 32571


Woodbine Volunteer Fire Co
Garden State Council 690
636 Monroe Ave
Woodbine, NJ 08270


Woodbridge Elks Lodge No 2355
National Capital Area Council 082
14602 Minnieville Rd
Woodbridge, VA 22193


Woodbridge Glass
14312 Jefferson Davis Hwy
Woodbridge, VA 22191


Woodbridge PTA
Greater Tampa Bay Area 089
8301 Woodbridge Blvd
Tampa, FL 33615


Woodbridge Volunteer Fire Assoc
Connecticut Yankee Council Bsa 072
Meeting House Ln
Woodbridge, CT 06525


Woodbury Baptist Church
Northern Star Council 250
6695 Upper Afton Rd
Woodbury, MN 55125


Woodbury Church Of Christ
Northern Star Council 250
4920 Woodbury Dr
Woodbury, MN 55129


Woodbury Heights Fire Dept
Garden State Council 690
534 Elm Ave
Woodbury Heights, NJ 08097
Woodbury Lutheran Church
Northern Star Council 250
7380 Afton Rd
Woodbury, MN 55125


Woodbury Police Dept
Northern Star Council 250
2100 Radio Dr
Woodbury, MN 55125


Woodbury Presbyterian Church
Central Florida Council 083
1501 Woodbury Rd
Orlando, FL 32828


Woodbury Public Safety Fire
Northern Star Council 250
2100 Radio Dr
Woodbury, MN 55125


Woodbury Union Church
Narragansett 546
58 Beach Ave
Warwick, RI 02889


Woodcliff Community Church
Northern New Jersey Council, Bsa 333
7605 Palisade Ave
North Bergen, NJ 07047


Woodcraft
1430 Jacqueline Dr
Columbus, GA 31907


Woodcraft
P.O. Box 1686
Parkersburg, WV 26102‐1686


Woodcraft Supply LLC 333
1445 Towne Square Blvd
Roanoke, VA 24012


Woodcrest Church
Northern Star Council 250
525 Cliff Rd
Eagan, MN 55123


Wooddale Lutheran Church
Northern Star Council 250
4003 Wooddale Ave S
Wooddale Lutheran Church
St Louis Park, MN 55416


Wooded River Inc
P.O. Box 600
Pequot Lakes, MN 56472


Wooded River Inc
P.O. Box 605
Pequot Lakes, MN 56472


Wooden Boat Foundation
Chief Seattle Council 609
431 Water St
Port Townsend, WA 98368


Wooden Cross Lutheran Church
Chief Seattle Council 609
17401 198th Ave Ne
Woodinville, WA 98077


Woodfield Scout Preservation
Staff Alumni
Old N State Council 070
491 Woodfield Scout Trl
Asheboro, Nc 27205


Woodford County Sheriff
W D Boyce 138
111 E Court St
Eureka, IL 61530
Woodford‐Burdick AL Post 894
Leatherstocking 400
1651 Seminary St
De Ruyter, Ny 13052


Woodforest National Bank
Capitol Area Council 564
1030 Norwood Park Blvd
Austin, TX 78753


Woodforest Presbyterian Church
Sam Houston Area Council 576
15330 Wallisville Rd
Houston, TX 77049


Woodhaven Baptist Church
Occoneechee 421
4000 Kildaire Farm Rd
Apex, NC 27539


Woodhaven Custom Calls LLC
1 Perimeter Park S, Ste 450N
Birmingham, AL 35243


Woodhaven Custom Calls LLC
P.O. Box 7
Heflin, AL 36264


Woodhaven Moose
Great Lakes Fsc 272
22951 Van Horn Rd
Woodhaven, MI 48183


Woodhaven Presbyterian Church
Circle Ten Council 571
3650 N O Connor Rd
Irving, TX 75062


Woodinville Ares Group
Chief Seattle Council 609
22909 NE 202nd St
Woodinville, WA 98077


Woodinville Fire Explorers
17718 Woodinville Snohomish Rd
Woodinville, WA 98072


Woodinville Lions Club
Chief Seattle Council 609
P.O. Box 2064
Woodinville, WA 98072


Woodlake Lutheran Church
Northern Star Council 250
2120 76th St W
Richfield, MN 55423


Woodlake Medical Management Inc
10400 Yellow Cir Dr, Ste 502
Minnetonka, MN 55343


Woodlake Utd Methodist Church
Heart of Virginia Council 602
15640 Hampton Park Dr
Chesterfield, VA 23832


Woodland Art LLC
dba Collectors Covey
6071 Sherry Ln
Dallas, TX 75225


Woodland Ave Utd Methodist Church
Bucktail Council 509
201 Woodland Ave
Punxsutawney, PA 15767


Woodland Baptist Church
Alamo Area Council 583
15315 Huebner Rd
San Antonio, TX 78248


Woodland Dunes Nature Ctr
Bay‐Lakes Council 635
P.O. Box 486
Two Rivers, WI 54241


Woodland Elemantary
Greater St Louis Area Council 312
8420 Sunbury Ave
Jennings, MO 63136


Woodland Elementary PTA
Pacific Harbors Council, Bsa 612
4630 Carpenter Rd Se
Lacey, WA 98503


Woodland Elk Lodge Bpoe 1299
Golden Empire Council 047
500 Bush St
Woodland, CA 95695


Woodland Elks Bpoe 1299
Golden Empire Council 047
500 Bush St
Woodland, CA 95695


Woodland Hanrahan Ptso
Greater St Louis Area Council 312
8920 Old Lucas Rd
Jennings, MO 63136


Woodland Hills Com Congregational Church
W.L.A.C.C. 051
21338 Dumetz Rd
Woodland Hills, CA 91364


Woodland Hills E‐ Prep      V‐Prep
Lake Erie Council 440
9201 Crane Ave
Cleveland, OH 44105


Woodland Hills Elem School PTA
Sam Houston Area Council 576
2222 Tree Ln
Kingwood, TX 77339


Woodland Hills Private School
W.L.A.C.C. 051
22555 Oxnard St
Woodland Hills, CA 91367


Woodland Home And School Assoc
Cradle of Liberty Council 525
2700 Woodland Elementary
Norristown, PA 19403


Woodland Host Lions
Golden Empire Council 047
P.O. Box 795
Woodland, CA 95776


Woodland Lakes Community Church
Quivira Council, Bsa 198
770 S Greenwich Rd
Wichita, KS 67207


Woodland Life Ctr A Ch, Nazarene
Pikes Peak Council 060
900 Evergreen Heights Dr
Woodland Park, Co 80863


Woodland Lions Club
Golden Empire Council 047
P.O. Box 795
Woodland, CA 95776


Woodland Mill Lake Parent Teacher Org
Monmouth Council, Bsa 347
Monmouth Rd
Monroe Twp, NJ 08831


Woodland Park American Legion Post 238
Northern New Jersey Council, Bsa 333
410 Mount Pleasant Ave
Woodland Park, NJ 07424
Woodland Park Church
Great Smoky Mountain Council 557
3165 Little Ave Gap Rd
Louisville, TN 37777


Woodland Park Community Church
Pikes Peak Council 060
800 Valley View Dr
Woodland Park, CO 80863


Woodland Power Products
72 Acton St
West Haven, CT 06516


Woodland Presbyterian Church
Chickasaw Council 558
5217 Park Ave
Memphis, TN 38119


Woodland Reveille Lions Club
Golden Empire Council 047
P.O. Box 553
Woodland, CA 95776


Woodland Scenics
P.O. Box 98
Linn Creek, MO 65052


Woodland School PTO
Southern Shores Fsc 783
1401 Woodland Dr
Portage, MI 49024


Woodland Trace Church Of Christ
Black Warrior Council 006
601 the Mall Way
Jasper, AL 35504


Woodland Trails Scout Reservation
Miami Valley Council, Bsa 444
265 Gasper Somers Rd
Camden, OH 45311


Woodland Utd Methodist Church
Mountaineer Area 615
1846 Mileground Rd
Morgantown, WV 26505


Woodland Utd Methodist Church
Palmetto Council 549
801 Cherry Rd
Rock Hill, SC 29732


Woodland Utd Methodist Church
Tuscarora Council 424
2695 Tram Rd
Albertson, NC 28508


Woodland West Church Of Christ
Longhorn Council 662
8107 W Park Row Dr
Arlington, TX 76013


Woodlands Elementary PTO
Golden Spread Council 562
2501 N Coulter St
Amarillo, TX 79124


Woodlane
Erie Shores Council 460
1921 E Gypsy Lane Rd
Bowling Green, OH 43402


Woodlawn Baptist Church
Capitol Area Council 564
4600 Manchaca Rd
Austin, TX 78745


Woodlawn Christian Church
Alamo Area Council 583
1744 W Gramercy Pl
San Antonio, TX 78201
Woodlawn Christian Church
Great Smoky Mountain Council 557
4339 Woodlawn Pike
Knoxville, TN 37920


Woodlawn Christian Church
Greater St Louis Area Council 312
P.O. Box 300
Woodlawn, IL 62898


Woodlawn Presbyterian Church
Palmetto Council 549
P.O. Box 189
Sharon, SC 29742


Woodlawn Utd Methodist Church
Blue Ridge Mtns Council 599
2916 Corbieshaw
Roanoke, VA 24015


Woodlawn Utd Methodist Church
Lincoln Heritage Council 205
1120 Woodlawn Ave
Owensboro, KY 42301


Woodlawn Utd Methodist Church
Quivira Council, Bsa 198
431 S Woodlawn Blvd
Derby, KS 67037


Woodleaf Civitan
Central N Carolina Council 416
P.O. Box 2
Woodleaf, NC 27054


Woodleaf Utd Methodist Church
Central N Carolina Council 416
P.O. Box 299
Woodleaf, NC 27054


Woodlyn Troop 43 Group Of Citizens Inc
Cradle of Liberty Council 525
507 Milmont Ave
Folsom, PA 19033


Woodlynde School
Chester County Council 539
445 Upper Gulph Rd
Strafford, PA 19087


Woodman Of The World
Blue Ridge Council 551
1420 Civitan Rd
Newberry, SC 29108


Woodman Valley Chapel
Pikes Peak Council 060
290 E Woodmen Rd
Colorado Springs, CO 80919


Woodmen Hills Elementary PTA
Pikes Peak Council 060
8308 Del Rio Rd
Peyton, CO 80831


Woodmen Life
Middle Tennessee Council 560
559 Polly Dr
Cookeville, TN 38501


Woodmen Life Chapter 94
Pushmataha Area Council 691
18285 U S Hwy 82
Mathiston, MS 39752


Wood‐Mizer
8180 W 10th St
Indianapolis, IN 46214


Woodmont Baptist Church
Middle Tennessee Council 560
2100 Woodmont Blvd
Nashville, TN 37215
Woodmont Christian Church
Middle Tennessee Council 560
3601 Hillsboro Pike
Nashville, TN 37215


Woodmont Utd Methodist Ch Men Fellowship
Old N State Council 070
1926 Richardson Dr
Reidsville, Nc 27320


Wood‐N‐Garden
1014 Platinum Dr
Fort Mill, SC 29708


Woodridge Community Assoc
Chief Seattle Council 609
1527 121st Ave Se
Bellevue, WA 98005


Woodridge Elementary School PTO
Great Trail 433
3313 Nampton Rd
Cuyahoga Falls, OH 44223


Woodridge Ptso
Inland Nwest Council 611
5100 W Shawnee Ave
Spokane, WA 99208


Woodridge Utd Methodist Church
Three Fires Council 127
2700 75th St
Woodridge, IL 60517


Woodrow Utd Methodist Church
Greater New York Councils, Bsa 640
1075 Woodrow Rd
Staten Island, NY 10312


Woodrow Utd Methodist Church
Greater New York Councils, Bsa 640
1109 Woodrow Rd
Staten Island, NY 10312


Woodrow Wilson Elementary
Cherokee Area Council 469 469
245 N Spruce Ave
Bartlesville, OK 74006


Woodrow Wilson Elementary PTO
Cherokee Area Council 469 469
245 N Spruce Ave
Bartlesville, OK 74006


Woodrow Wilson Elementary School
Mayflower Council 251
169 Leland St
Framingham, MA 01702


Woodrow Wilson H S Jrotc
Circle Ten Council 571
100 S Glasgow Dr
Dallas, TX 75214


Woodrow Wilson Parent Teacher Assoc
Mid Iowa Council 177
801 S 8th Ave W
Newton, IA 50208


Woodrow Wilson School Parent Teacher
Coronado Area Council 192
312 N Juliette Ave
Manhattan, KS 66502


Woodrun Homeowners Assoc
Central N Carolina Council 416
118 Dennis Dr
Woodrun On Tillery
Mount Gilead, NC 27306


Woods Chapel Community Of Christ
Heart of America Council 307
500 NE Woods Chapel Rd
Lees Summit, MO 64064


Woods Chapel Untd Meth Chur Lees Summit
Heart of America Council 307
5413 Blue Ridge Cut Off
Raytown, MO 64133


Woods Chapel Utd Methodist Church
Heart of America Council 307
4725 NE Lakewood Way
Lees Summit, MO 64064


Woods Memorial Presbyterian Church
Baltimore Area Council 220
611 Baltimore Annapolis Blvd
Severna Park, MD 21146


Woods Men   Boys
658 Suffolk Ave
Brentwood, NY 11717


Woods Oviatt Gilman LLP
Seneca Waterways 397
2 State St
Rochester, NY 14614


Woods Oviatt Gilman, LLP
700 Crossroads Building
2 State St
Rochester, NY 14614


Woods Services
Washington Crossing Council 777
P.O. Box 36
Langhorne, PA 19047


Woodside Elementary PTO
President Gerald R Ford 781
2591 N Div Ave
Holland, MI 49424
Woodside Parent Faculty Club
Mt Diablo‐Silverado Council 023
761 San Simeon Dr
Concord, CA 94518


Woodside Presbyterian Church
Washington Crossing Council 777
Edgewood Rd
Yardley, PA 19067


Woodside School Parent Teachers
Samoset Council, Bsa 627
611 Two Mile Ave
Wisconsin Rapids, WI 54494


Woodson Elementary PTA
Atlanta Area Council 092
1605 Donald Lee Hollowell Pkwy Nw
Atlanta, GA 30318


Woodstock Christian Church
Atlanta Area Council 092
7700 Hwy 92
Woodstock, GA 30189


Woodstock Community Church
Atlanta Area Council 092
216 Rope Mill Rd
Woodstock, GA 30188


Woodstock Community Church
Atlanta Area Council 092
237 Rope Mill Rd
Woodstock, GA 30188


Woodstock Moose Lodge 575
Shenandoah Area Council 598
152 Moose Rd
Woodstock, VA 22664


Woodstock Police Dept
Atlanta Area Council 092
12453 Hwy 92
Woodstock, GA 30188


Woodstock Police Dept
Blackhawk Area 660
656 Lake Ave
Woodstock, IL 60098


Woodstock Police Dept.
Attn Explorer Post 1609
12453 Hwy 92
Woodstock, GA 30189


Woodstock Rotary Club
Green Mountain 592
P.O. Box 581
Woodstock, VT 05091


Woodstock Utd Methodist Church
Black Warrior Council 006
73 Strickland Dr
Woodstock, AL 35188


Woodstock Utd Methodist Church
Shenandoah Area Council 598
P.O. Box 170
Woodstock, VA 22664


Woodstone Of San Antonio Hoa Inc
Alamo Area Council 583
13618 Dreamwood Dr
San Antonio, TX 78233


Woodstown Presbyterian Church
Garden State Council 690
46 Auburn St
Woodstown, NJ 08098


Woodstream Church
National Capital Area Council 082
9800 Lottsford Rd
Bowie, MD 20721


Woodville Utd Methodist Church
Three Rivers Council 578
508 W Bluff St
Woodville, TX 75979


Woodward Academy
Atlanta Area Council 092
1662 Rugby Ave
College Park, GA 30337


Woodward Church Of Jesus Christ LDS
Cimarron Council 474
3625 Qual Dr
Woodward, OK 73801


Woodward County Sheriffs Dept
Cimarron Council 474
1600 Main
Woodward, OK 73801


Woodward Crossing Inc
133 Jackson Hill Rd
Aaronsburg, PA 16820


Woodward Elementary School
Atlanta Area Council 092
3034 Curtis Dr Ne
Atlanta, GA 30319


Woodward Elementary School PTO
Southern Shores Fsc 783
606 Stuart Ave
Kalamazoo, MI 49007


Woodward Methodist Mens Club
Cimarron Council 474
1111 Downs Ave
3425 Robin Dr
Woodward, OK 73801
Woodward North Academy
Atlanta Area Council 092
6565 Boles Rd
Johns Creek, GA 30097


Woodward Parkway Elementary School
Theodore Roosevelt Council 386
Woodward Pky And
Spielman Av
Farmingdale, NY 11735


Woodward Turf Farms Inc
P.O. Box 400
Nokesville, VA 20182


Woodway Utd Methodist Church
Longhorn Council 662
21000 Woodway Dr
Woodway, TX 76712


Woodworker S Supply
5604 Alameda Pl Ne
Albuquerque, NM 87113


Woodworth Elementary School PTO
Water and Woods Council 782
212 Pennsylvania St
Leslie, MI 49251


Woody S Furniture
139 S Second
Raton, NM 87740


Wooley Springs Baptist
Greater Alabama Council 001
28025 Bethel Rd
Toney, AL 35773


Woolrich Comm Utd Methodist Church
Susquehanna Council 533
1080 Park Ave
P.O. Box 136


Woolwich Fire Dept Auxiliary
Pine Tree Council 218
10 Nequasset Rd
Woolwich, ME 04579


Woolwine Utd Methodist Church
Blue Ridge Mtns Council 599
10205 Woolwine Hwy
Woolwine, VA 24185


Woonsocket Police Dept
Narragansett 546
242 Clinton St
Woonsocket, RI 02895


Wooster Township Fire    Rescue
Buckeye Council 436
1917 Millersburg Rd
Wooster, OH 44691


Wooten Elementary Prime Time
Capitol Area Council 564
1406 Dale Dr
Austin, TX 78757


Worcester
Epworth United Methodist Church
Heart Of New England Council 230
64 Salisbury St
Worcester, Ma 01609


Worcester
Hadwen Park Congregational Church
Heart Of New England Council 230
6 Clover St
Worcester, Ma 01603


Worcester ‐ Christ The King Church
Heart of New England Council 230
1052 Pleasant St
Worcester, MA 01602


Worcester ‐ Emanuel Lutheran Church
Heart of New England Council 230
200 Greenwood St
Worcester, MA 01607


Worcester ‐ Greendale Peoples Church
Heart of New England Council 230
25 Francis St
Worcester, MA 01606


Worcester ‐ Immaculate Conception Church
Heart of New England Council 230
353 Grove St
Worcester, MA 01605


Worcester ‐ Lithuanian Scouting Assoc
Heart of New England Council 230
17 Agate Ave
Worcester, MA 01604


Worcester ‐ Nativity School
Heart of New England Council 230
67 Lincoln St
Worcester, MA 01605


Worcester ‐ Our Lady Of Lourdes Church
Heart of New England Council 230
35 Hamilton St
Worcester, MA 01604


Worcester ‐ Southeast Asian Coalition
Heart of New England Council 230
484 Main St, Ste 400
Worcester, MA 01608


Worcester ‐ Venerini Academy
Heart of New England Council 230
27 Edward St
Worcester, MA 01605
Worcester Hose Co Inc
Leatherstocking 400
10 Church St
Worcester, NY 12197


Word Of Life South
Quivira Council, Bsa 198
2020 E Blake St
Wichita, KS 67211


Word Of Peace Lutheran Church
Northern Star Council 250
21705 129th Ave N
Rogers, MN 55374


Work Care Clinic
2390 S Redwood Rd
Salt Lake City, UT 84119


Workbright
P.O. Box 337
Boulder, CO 80306


Workforce West Virginia
Unemployment Compensation Div
P.O. Box 106
Charleston, WV 25321‐0106


Working Mother
P.O. Box 5242
Harlan, IA 51593‐4742


Working Through Inc
4568 S Highland Dr, Ste 100
Salt Lake City, UT 84117‐4234


Workman Parents
Great Lakes Fsc 272
391 Sylvan Dr
Canton, MI 48188
Workman Publishing
P.O. Box 21142
New York, NY 10087‐1142


Workmans Dept Store Inc
235 N Muskogee
Tahlequah, OK 74464


Workmans Pallet Service LLC
2010 Ogden Rd
Rock Hill, SC 29730


Workplace Answers Inc
One Montgomery St, Ste 2350
San Francisco, CA 94104


Workplace Resource Of Dallas
2941 Trade Ctr Dr, Ste 120
Carrollton, TX 75007


Workplace Safety    Ins Board
P.O. Box 4115 Stn A
Toronto, On M5W 2V3
Canada


Workplace Solutions
2651 N Harwood, Ste 300
Dallas, TX 75201


Workshop Coop Inc
Lincoln Heritage Council 205
2441 Tom Lane Rd
Benton, KY 42025


Workspace Dynamics Inc
4711 Lomas Blvd Ne
Albuquerque, MN 87110


Workville LLC
1178 Broadway, 5th Fl
New York, NY 10001


Workville LLC
1412 Broadway, 21st Fl
New York, NY 10018


Workville LLC
Co Ab Sons
25 W 36th St, 2nd Fl
New York, NY 10018


World Class Shipping
210 Sunrise Hwy, Ste 203
Valley Stream, NY 11581


World Color
P.O. Box 98668
Chicago, IL 60693‐8668


World Color Usa Corp
P.O. Box 98668
Chicago, IL 60693‐8668


World Harvest Family Church
Rio Grande Council 775
1000 Las Alamedas
Edinburg, TX 78541


World Organization Of The Scout Movement
P.O. Box 2492‐00200
Nairobi
Kenya


World Outreach Church For All Nations
Northeast Georgia Council 101
1710 Stoneoak Cir
Lawrenceville, GA 30043


World Scout Bureau
38th Fl, Menara Maybank
100 Jalan Tun Perak
Kuala Lumpur, 50050
Malaysia


World Scout Bureau
P.O. Box 241, Ch‐1211
Geneva
Switzerland


World Scout Bureau
Rue De Pre‐Jerome 5
P.O. Box 91
4 Plainpalais
Geneva, Ch 1211
Switzerland


World Scout Foundation
1 Rue De La Navigation
Geneva, Ch‐1201
Switzerland


World Scout Foundation
P.O. Box 2116
Geneva 1, Ch‐1211
Switzerland


World Scout Shop Ltd
75 Marlborough Rd
Lancing Business Park
Lancing, W Susx, Bn158Ug
United Kingdom


World Scout Shop Ltd
75 Marlborough Rd
Lancing Business Park
Lancing, W Sussex BN15 8UG
United Kingdom


World War Ii Recreation Assoc
Garden State Council 690
15 Winding Way
Mount Holly, NJ 08060
World Wide Products Co
239 4th St
Pottsboro, TX 75076


World Wide Products, Co
50015 N Hwy 289, Ste 101
Pottsboro, TX 75076


World Wide Sportsman
P.O. Box 787
Islamorada, FL 33036


World Wrestling Entertainment
Wwe Kids Magazine
P.O. Box 383
Mt Morris, IL 61054‐0383


World Youth Foundation
P.O. Box 884
Houston, TX 77001


Worldatwork
P.O. Box 29312
Phoenix, AZ 85038‐9312


Worldwide Corporate Housing LP
2222 Corinth Ave
Los Angeles, CA 90064


Worldwide Corporate Housing LP
dba Oakwood Worldwide
P.O. Box 31001‐2526
Pasadena, CA 91110‐2526


Worldwide Erc
4401 Wilson Blvd, Ste 510
Arlington, VA 22203‐1820


Worldwide Ltd
30355 Durand Ave
Burlington, WI 53105
Worldwide Wildlife Products
5000 Crescent Technical Ct
St Augustine, FL 32086


Worley Bird Tours Inc
P.O. Box 331847
Nashville, TN 37203


Worley Elementary School PTA
Buckeye Council 436
1340 23rd St Nw
Canton, OH 44709


Worth
P.O. Box 16329
North Hollywood, CA 91615‐6329


Wortham Oaks Elementary PTO
Alamo Area Council 583
5710 Carriage Cape
San Antonio, TX 78261


Worthington Christian Church
Simon Kenton Council 441
8145 N High St
Columbus, OH 43235


Worthington Direct
P.O. Box 140038
6301 Gaston Ave, Ste 670
Dallas, TX 75214‐0038


Worthington Estates School PTA
Simon Kenton Council 441
6760 Rieber St
Worthington, OH 43085


Worthington Hills PTA
Simon Kenton Council 441
1221 Candlewood Dr
Columbus, OH 43235


Worthington Park PTA
Simon Kenton Council 441
500 Park Rd
Westerville, OH 43081


Worthington Presbyterian Church
Simon Kenton Council 441
773 High St
Worthington, OH 43085


Worthington Utd Methodist Church
Simon Kenton Council 441
600 High St
Worthington, OH 43085


Worthy Hotels Inc
dba Davenport Hotel Opco LLC
10 S Post St
Spokane, WA 99201


Wossman High School
Louisiana Purchase Council 213
1600 Arizona Ave
Monroe, LA 71202


Wow Business
1241 Og Skinner Dr
West Point, GA 31833‐1789


Wp Engine Inc
P.O. Box 734427
Dallas, TX 75373‐4427


WP Faist Volunteer Ambulance
Hudson Valley Council 374
3 Red Schoolhouse Rd
Chestnut Ridge, NY 10977


Wpa Maggie Banquet
823 Rim Crest Dr
Westlake Village, CA 91361


Wpms Highlands School PTA
Westchester Putnam 388
128 Grandview Ave
White Plains, NY 10605


Wr Cannon Methodist Church
Northeast Georgia Council 101
2424 Webb Gin House
Snellville, GA 30078


Wr Case   Sons Cutlery Co
P.O. Box 4000
Bradford, PA 16701


Wr Jewish Committee On Scouting
10837 Intro Ave
Las Vegas, NV 89135


Wren E Stiner
Address Redacted


Wren Hollow Elementary School PTO
Greater St Louis Area Council 312
655 Wren Ave
Ballwin, MO 63021


Wren Hollow PTO
Greater St Louis Area Council 312
655 Wren Ave
Ballwin, MO 63021


Wright County Sheriff S Office
Northern Star Council 250
3800 Braddock Ave Ne
Buffalo, MN 55313


Wrights Corners Fire Co
Iroquois Trail Council 376
4043 Lake Ave
Lockport, NY 14094


Wrights Media
2407 Timberloch Pl, Ste B
The Woodlands, TX 77380‐1039


Wrightsboro Baptist Church
Cape Fear Council 425
2736 Castle Hayne Rd
Wilmington, NC 28401


Wrightsboro Utd Methodist Church
Cape Fear Council 425
3300 N Kerr Ave
Wilmington, NC 28405


Wrightson Johnson Haddon     Williams Inc
3424 Midcourt Rd, Ste 124
Carrollton, TX 75006


Wrightsville Hope Umc
New Birth of Freedom 544
404 Hellam St
Wrightsville, PA 17368


Wrightsville Housing Authority
Central Georgia Council 096
100 Fulghum Dr
Wrightsville, GA 31096


Wrightsville Utd Methodist Church
Cape Fear Council 425
4 Live Oak Dr
Wrightsville Beach, NC 28480


Wrightwood Utd Methodist Church/Camp
California Inland Empire Council 045
P.O. Box 62
Wrightwood, CA 92397
Wrike, Inc
70 N 2nd St
San Jose, CA 95113


Wrike, Inc
Attn Legal Dept
70 N 2nd St
San Jose, CA 95113


Ws Live, LLC
131 W 10th St 400
Dubuque, IA 52001‐4814


Wsfa Television
Tukabatchee Area Council 005
12 E Delano Ave
Montgomery, AL 36105


Wsi
Workforce Safety   Insurance
P.O. Box 5585
Bismarck, ND 58506‐5585


Wside Elem Roanoke City Public Schs PTA
Blue Ridge Mtns Council 599
40 Douglas Ave Nw
Roanoke, Va 24012


Wsp
Mecklenburg County Council 415
1001 Morehead Square Dr
Charlotte, NC 28278


Wsp/ Parsons Brinckerhoff
Greater New York Councils, Bsa 640
1 Penn Plaza 2Fl
Ny, NY 10119


Wsu Career Services
Weber State University
1105 University Cir
Ogden, UT 84408‐1105
Wswhe Boces Teaching    Learning Ctr   Jr
Middle School
Twin Rivers Council 364
10 Sanford St
Glens Falls, Ny 12801


Wt Cox Subscriptions
201 Village Rd
Shallote, NC 28470


Wt Shooting Sports Club
Golden Spread Council 562
2620 Russell Long Blvd
Canyon, TX 79016


Wv Dhhr Bureau For Public Health
Attn Brenda Franklin
350 Capitol St, Rm 206
Charleston, WV 25301


Wv Div Of Homeland Security
And Emergency Management
1900 Kanawha Blvd, Bldg 1, Rm Eb‐80
Charleston, WV 25305


Wv Div Of Natural Resources
Law Enforcement Section
2006 Robert C Byrd Dr
Beckley, WV 25801


Wv Div Of Natural Resources
Law Enforcement Section
324 4th Ave
South Charleston, WV 25303‐1228


WV Office Of The Attorney General
Consumer Affairs Section
500 Dexter Ave
Montgomery, AL 36130
Wv Parkways Authority
Wvpedta Customer Service Ctr
P.O. Box 1469
Charleston, WV 25325‐1469


Wv Secretary Of State
1615 E Washington St
Charleston, WV 25311


Wv State Fire Marshall
Plans Review Div
1207 Quarrier St 2nd Fl
Charleston, WV 25301


Wv Truck Tire, Inc
5371 Robert C Byrd Dr
Mount Hope, WV 25880


Wvacvb
P.O. Box 3312
Charleston, WV 25333


Wveimar Zapata
Address Redacted


Wvu Career Services Center
Attn Sarah Rotruck
P.O. Box 6008
Morgantown, WV 26506‐6008


Wvu Institute Of Technology
1 Waterfront Pl, P.O. Box 6005
Morgantown, WV 26506‐6005


Wvu Institute Of Technology
Career Svcs    Cooperative Ed
410 Neville St
Beckley, WV 25801


Wvu Student Affairs
Business Operations/Accounts Receivable
P.O. Box 6413
Morgantown, WV 26506‐6413


Ww Cannon Inc
P.O. Box 540006
Dallas, TX 75354


WwwBagsforgiftsCom
Las Vegas Area Council 328
7234 Bird Cherry St
Las Vegas, NV 89148


Wxew Radio Victoria Inc
Puerto Rico Council 661
P.O. Box 8536
Humacao, PR 00792


Wyandanch Wheatley Heights
Ambulance Corp
Suffolk County Council Inc 404
P.O. Box 527
Wyandanch, Ny 11798


Wyandot Elem School PTO
Simon Kenton Council 441
5620 Dublinshire Dr
Dublin, OH 43017


Wyandotte Kiwanis 1000
Great Lakes Fsc 272
P.O. Box 343
Wyandotte, MI 48192


Wyandotte Nation
Cherokee Area Council 469 469
64700 E Hwy 60
Wyandotte, OK 74370


Wyandotte Utd Methodist Church
Heart of America Council 307
7901 Oakland Ave
Kansas City, KS 66112
Wyatt A Jamison
Address Redacted


Wyatt Christian Stiner
Address Redacted


Wyatt D Hill
Address Redacted


Wyatt D Wallace
Address Redacted


Wyatt Gregory Cravatas
Address Redacted


Wyatt M Wells
Address Redacted


Wyatt Park Christian Church
Pony Express Council 311
2623 Mitchell Ave
Saint Joseph, MO 64507


Wyckoff Midland Park Rotary Club
Northern New Jersey Council, Bsa 333
P.O. Box 111
Wyckoff, NJ 07481


Wyckoff Reformed Church
Northern New Jersey Council, Bsa 333
580 Wyckoff Ave
Wyckoff, NJ 07481


Wycliffe Presbyterian Church
Tidewater Council 596
1445 N Great Neck Rd
Virginia Beach, VA 23454
Wydown School PTO
Greater St Louis Area Council 312
6500 Wydown Blvd
Saint Louis, MO 63105


Wyland School PTO
Greater St Louis Area Council 312
2200 Brown Rd
Saint Louis, MO 63114


Wylie Baptist Church
Texas Trails Council 561
6097 Buffalo Gap Rd
Abilene, TX 79606


Wylie Fire Rescue
Circle Ten Council 571
1401 S Ballard Ave
Wylie, TX 75098


Wylie Lions Evening Club
Circle Ten Council 571
2804 Deerborn St
Wylie, TX 75098


Wylie Utd Methodist Church
Circle Ten Council 571
1401 Fm 1378
Wylie, TX 75098


Wylma Lewis
Address Redacted


Wyndcroft PTO
Cradle of Liberty Council 525
1395 Wilson St
Pottstown, PA 19464


Wyndham Boston Andover Hotel
123 Old River Rd
Andover, MA 01810
Wyndham Dfw Airport North
4441 W John Carpenter Frwy
Irving, TX 75063


Wyndham Parc 55
55 Cyril Magnin St
San Francisco, CA 94102


Wyndham Princeton Forrestal Hotel   Conf
900 Scudders Mill Rd
Plainsboro, NJ 08536


Wynhoven Benevolent Assoc
Southeast Louisiana Council 214
465 Ave B
Westwego, LA 70094


Wynn Riffle
Address Redacted


Wynne Kiwanis Club
Quapaw Area Council 018
916 Bridges Ave E
Wynne, AR 72396


Wynne S Place Ltd
5 Annex St 5
Bissett, Mb R0E 0J0
Canada


Wynnewood Ritch
Address Redacted


Wynnwood/Dma
1717 N Harwood St
Dallas, TX 75201


Wynona Burgstiner
Address Redacted
Wyoming Area Kiwanis
Northeastern Pennsylvania Council 501
1030 Exeter Ave
Exeter, PA 18643


Wyoming Catholic College
Attn Undergraduate Office of Fin Aid
P.O. Box 750
Lander, WY 82520


Wyoming Moose Lodge 763
President Gerald R Ford 781
2630 Burlingame Ave Sw
Wyoming, MI 49509


Wyoming Secretary Of State
200 W 24th St, Rm 110
Cheyenne, WY 82002


Wyoming Secretary Of State
Herschier Bldg E, Ste 100‐101
Cheyenne, WY 82002


Wyoming State Treasurer S Office
Unclaimed Property Div
2515 Warren Ave, Ste 502
Cheyenne, WY 82002


Wyoming Utd Methodist Church
Del Mar Va 081
216 Wyoming Mill Rd
Dover, DE 19904


Wyoming Weed   Pest Control
P.O. Box 728
Douglas, WY 82633


Wytheville Presbyterian Church
Blue Ridge Mtns Council 599
285 Church St
Wytheville, VA 24382
Xanterra Parks   Resorts
P.O. Box 527
Yellowstone Nat L Park, WY 82190‐0527


Xavier D Franczyk
Address Redacted


Xcel Energy
414 Nicollet Mall
Minneapolis, MN 55401


Xcel Energy
P.O. Box 9477
Minneapolis, MN 55484‐9477


Xceler8 Performance Group
12324 Bella Vino Dr
Fort Worth, TX 76126


Xena Guzman‐Mendizabal
Address Redacted


Xencom Energy Management LLC
P.O. Box 972674
Dallas, TX 75397‐2674


Xeriscope Council Of New Mexico
P.O. Box 14311
Albuquerque, NM 87191


Xerox
Office of General Counsel
Xerox Corp
45 Glover Ave
Norwalk, CT 06856‐4505


Xerox Corp
P.O. Box 650361
Dallas, TX 75265‐0361
Xerox Corp
P.O. Box 802555
Chicago, IL 60680‐2555


Xerox Corp
P.O. Box 827598
Philadelphia, PA 19182‐7598


Xerox Corp
P.O. Box 829166
Philadelphia, PA 19182‐9166


Xerox Corp‐California
P.O. Box 7405
Pasadena, CA 91109‐7405


Xerox Corp‐Dallas
P.O. Box 660303
Dallas, TX 75266‐0303


Xerxes Corp
Nw 5319
P.O. Box 1450
Minneapolis, MN 55485


Xia Yang
Address Redacted


Xiamen Soothingware Sanitary
5F No 368 Banqiao Rd
Jimei N Industrial Park
Xiamen, Fujian
China


Xleds Usa
3815 N Brookfield Rd, Ste 104‐144
Brookfield, WI 53045


Xo Communications
14239 Collections Ctr Dr
Chicago, IL 60693


Xpedx
P.O. Box 677319
Dallas, TX 75267‐7319


Xplore Risd ‐ Mark Twain
Circle Ten Council 571
701 W Belt Line Rd
Richardson, TX 75080


Xplore Risd Carolyn Bukhair
Circle Ten Council 571
701 W Belt Line Rd
Richardson, TX 75080


Xploreky LLC
dba Mint Julep Tours
6704 Greenlawn Rd
Louisville, KY 40222


Xplornet Communications Inc
300 Lockhart Mill Rd
P.O. Box 9060
Woodstock, NB E7M 6B5
Canada


Xpressmyself.Com, LLC
300 Cadman Plz W, Ste 1303
Brooklyn, NY 11201


Xpressodcs Partners, Ltd
P.O. Box 671251
Dallas, TX 75267‐1251


Xs Scuba, Inc
4040 W Chandler Ave
Santa Ana, CA 92704


Xtend Communications Corp
171 Madison Ave
New York, NY 10016


Xtento Gmbh   Co Kg
Erlanger Str 66A
Moehrendorg, D‐91096
Germany


Xtraordin Air Toys Inc
2248 W Belmont Ave, 28
Chicago, IL 60618


Xy Co
623 Mckenzie Ave, Box 1693
Atikokan, ON P0T 1C0
Canada


Xyratex International Inc
860 Embarcadero Dr, Ste 80
West Sacramento, CA 95605‐1503


Y After School At Ps 19‐Ymca
Greater New York Councils, Bsa 640
780 Post Ave
Staten Island, NY 10310


Y S Craft Inc
39 E 13 St, Ste 5M
New York, NY 10003


Ya Ya Creations Inc
13155 Railroad Ave
City of Industry, CA 91746


Yadgarov   Assoc PLLC
608 5th Ave, Ste 1000
New York, NY 10020


Yadira Rodriguez‐De La Torre
63 W Cedar Dr
Chandler, AZ 85248
Yadkin Bank Of Monroe
Central N Carolina Council 416
2593 W Roosevelt Blvd
Monroe, NC 28110


Yadkin Baptist Church
Piedmont Council 420
P.O. Box 37
Patterson, NC 28661


Yadkinville Utd Methodist Church
Old Hickory Council 427
P.O. Box 25
Yadkinville, NC 27055


Yahoo Inc
P.O. Box 3003
Carol Stream, IL 60132‐3003


Yakima Federal Savings   Loan Associatio
118 E Yakima Ave
Yakima, WA 98901


Yakima West Valley Lions Club
Grand Columbia Council 614
P.O. Box 8058
Yakima, WA 98908


Yale Carolinas Inc
dba Wheeler Material Handling
9839 S Tryon St
Charlotte, NC 28273


Yale University
c/o Student Accounts
P.O. Box 208288
New Hvn, CT 06520‐8288


Yanick Jeanty
Address Redacted
Yanira Sabates
Address Redacted


Yankee Fleet Inc
dba Yankee Freedom III LLC
201 Front St, Ste 107
Key W, FL 33040


Yankee Fleet Inc
dba Yankee Freedom III LLC
240 Margaret St
Key W, Fl 33040


Yankee Road First Church Of God
Dan Beard Council, Bsa 438
3029 Yankee Rd
Middletown, OH 45044


Yaphank Fire Dept
Suffolk County Council Inc 404
31 Main St
Yaphank, NY 11980


Yarmouth Fire Rescue
Pine Tree Council 218
178 N Rd
Yarmouth, ME 04096


Yarmouth Police
Cape Cod and Islands Cncl 224
1 Brad Erickson Way
West Yarmouth, MA 02673


Yarrow Hotel
P.O. Box 681010
Park City, UT 84068


Yash   Lujan Consulting Inc
Y L Consulting Inc
7550 Ih 10 W, Ste 940
San Antonio, TX 78229


Yasseline Diaz
Address Redacted


Yazoo City High School
Andrew Jackson Council 303
1825 Martin Luther King Dr
Yazoo City, MS 39194


Ybc 129
Greater St Louis Area Council 312
2988 Jesse Ln
Fenton, MO 63026


Ycare‐Ramirez
South Plains Council 694
3101 35th St
Lubbock, TX 79413


Ycare‐Roberts
South Plains Council 694
3101 35th St
Lubbock, TX 79413


Ycare‐Waters
South Plains Council 694
3101 35th St
Lubbock, TX 79413


Ycc Services, Inc
P.O. Box 9244
Yakima, WA 98909


Ye Ole Bbq
Northern Star Council 250
5415 132nd Ln
Savage, MN 55378


Ye Ole Locksmith Shoppe Inc
177 Central Ave
Albany, NY 12205


Yeadon Presbyterian Church
Cradle of Liberty Council 525
541 Holly Rd
Yeadon, PA 19050


Yeager Methodist Protestant Church
Louisiana Purchase Council 213
3271 Arkansas Rd
West Monroe, LA 71291


Yeamans Park Presbyterian Church‐Hanahan
Coastal Carolina Council 550
5931 Murray Dr
Hanahan, SC 29410


Yehudy Diaz
Address Redacted


Yell County Record
Westark Area Council 016
P.O. Box 189
Danville, AR 72833


Yell County Wildlife Federation
Westark Area Council 016
10035 Wildlife Ln
Dardanelle, AR 72834


Yellow Freight System
P.O. Box 730333
Dallas, TX 75373‐0333


Yellow Freight System Inc
P.O. Box 905175
Charlotte, NC 28290‐5175


Yellowstone Academy
Sam Houston Area Council 576
3727 Jardin St
Houston, TX 77005


Yellowstone County Ducks Unlimited
Montana Council 315
4975 Chief Brave Wolf Trl
Laurel, MT 59044


Yellowstone Track
615 Obsidian Ave
P.O. Box 29
West Yellowstone, MT 59758


Yelm Lions Club International
Pacific Harbors Council, Bsa 612
P.O. Box 1199
Yelm, WA 98597


Yeng Her
Address Redacted


Yesenia Varela
Address Redacted


Yeshiva Day School Of Las Vegas
Las Vegas Area Council 328
55 N Valle Verde Dr
Henderson, NV 89074


Yeti Coolers LLC
5301 Swest Pkwy 200
Austin, TX 78735


Yeti Holdings, Inc
7601 Swest Pkwy
Austin, TX 78735


Yfd Explorer Club
Grand Canyon Council 010
P.O. Box 581
Yarnell, AZ 85362
Yippie Ky A Adventures Inc
4131 Louis Ave, Ste 7
Holiday, FL 34691


Yippie Ky A Adventures Inc
c/o Florida Sea Base
73800 Overseas Hwy
Islamorada, FL 33036


Y‐Kiki Divers
Greater St Louis Area Council 312
13001 Olive Blvd
Saint Louis, MO 63141


Ylastic LLC
11340 Lakefield Dr, Ste 200
Johns Creek, GA 30097


Yldp Lawson State Commty
College Bessemer Campus
Greater Alabama Council 001
3060 Wilson Rd Sw
Birmingham, AL 35221


Yldp Lawson State Commty
College Pell City Campus
Greater Alabama Council 001
3060 Wilson Rd Sw
Birmingham, AL 35221


Yldp Wallace State Community College
Greater Alabama Council 001
801 Main St Nw
Hanceville, AL 35077


Yma Monarch Accordions
9255 N Washington St
Thornton, CO 80229


Ymca
Anthony Wayne Area 157
1117 S Clinton St
Fort Wayne, IN 46802


Ymca
Pine Burr Area Council 304
3719 Veterans Memorial Dr
Hattiesburg, MS 39401


Ymca ‐ Dover
Buckeye Council 436
600 Monroe St
Dover, OH 44622


Ymca At Croft Middle School
Middle Tennessee Council 560
713 Ramsey St
Nashville, TN 37206


Ymca At East Literature Magnet Middle
Middle Tennessee Council 560
2000 Greenwood Ave
Nashville, TN 37206


Ymca At School 33
Seneca Waterways 397
500 Webster Ave
Rochester, NY 14609


Ymca At The Carlson Metro Ctr
Seneca Waterways 397
444 E Main St
Rochester, NY 14604


Ymca Butler
Moraine Trails Council 500
339 N Washington St
Butler, PA 16001


Ymca Caldwell
Buffalo Trace 156
1925 S Garvin St
Evansville, IN 47713
Ymca Camp Classen
10840 Main Camp Rd
Davis, OK 73030


Ymca Camp Hanes
1225 Camp Hanes Rd
King, NC 27021


Ymca Camp Weaver
4924 Tapawingo Trail
Greensboro, NC 27406


Ymca Ctr Twp
Moraine Trails Council 500
950 Mercer Rd
Butler, PA 16001


Ymca Early Salc
Northern Lights Council 429
1132 28th Ave S
Moorhead, MN 56560


Ymca Elroy Elementary
Laurel Highlands Council 527
195 Montour Run Rd
Coraopolis, PA 15108


Ymca Greater Cincinnati Midway
Dan Beard Council, Bsa 438
3156 Glenmore Ave
Cincinnati, OH 45211


Ymca Greater Louisville Oldham Cnty Br
Lincoln Heritage Council 205
20 Quality Pl
Buckner, KY 40010


Ymca Greater Pgh ‐ Greenfield Elm
Laurel Highlands Council 527
1 Alger St
Pittsburgh, PA 15207


Ymca Head Magnet Middle
Middle Tennessee Council 560
1830 Jo Johnston Ave
Nashville, TN 37203


Ymca Huntington
Suffolk County Council Inc 404
60 Main St
Huntington, NY 11743


Ymca Mcquistion
Moraine Trails Council 500
210 Mechling Dr
Butler, PA 16001


Ymca New Castle
Crossroads of America 160
300 Wittenbraker Ave
New Castle, IN 47362


Ymca Of Calhoun County
Greater Alabama Council 001
29 W 14th St
Anniston, AL 36201


Ymca Of Georgias Piedmont
Northeast Georgia Council 101
50 Brad Akins Dr
Winder, GA 30680


Ymca Of Greater Cincinnati
Dan Beard Council, Bsa 438
1105 Elm St
Cincinnati, OH 45202


Ymca Of Greater Cincinnati Parker Woods
Dan Beard Council, Bsa 438
4370 Beech Hill Ave
Cincinnati, OH 45223
Ymca Of Greater Providence A Carnevale
Narragansett 546
640 Broad St
Providence, RI 02907


Ymca Of Greater Providence Fortes
Narragansett 546
371 Pine St
Providence, RI 02903


Ymca Of Greater Providence Meeting St
Narragansett 546
21 Peace St Fl 6Tgh
Providence, RI 02907


Ymca Of Greater Providence R Bailey
Narragansett 546
65 Gordon Ave
Providence, RI 02905


Ymca Of Greater Rochester At School 43
Seneca Waterways 397
1305 Lyell Ave
Rochester, NY 14606


Ymca Of Greater Rochester At School 8
Seneca Waterways 397
444 E Main St
Rochester, NY 14604


Ymca Of Greater San Antonio‐Graebner
Alamo Area Council 583
835 W Scross Blvd
San Antonio, TX 78211


Ymca Of Greater San Antonio‐Sarah King
Alamo Area Council 583
231 E Rhapsody Dr
San Antonio, TX 78216


Ymca Of Greater Seattle
Chief Seattle Council 609
909 4th Ave
Seattle, WA 98104


Ymca Of Greater Toledo Glenwood
Erie Shores Council 460
1500 N Superior
Toledo, OH 43604


Ymca Of Greenwich
Greenwich 067
50 E Putnam Ave
Greenwich, CT 06830


Ymca Of Metropolitan Atlanta
Atlanta Area Council 092
3655 Preston Ridge Rd
Alpharetta, GA 30005


Ymca Of Middle Tennessee
1000 Church St
Nashville, TN 37203


Ymca Of Middle Tennessee
Joe C Davis Ymca Outdoor Center
3088 Smith Springs Rd
Antioch, TN 37013


Ymca Of Reading And Berks County
Hawk Mountain Council 528
631 Washington St
Reading, PA 19601


Ymca Of Salina
Coronado Area Council 192
570 Ymca Dr
Salina, KS 67401


Ymca Of So Alabama
Mobile Area Council‐Bsa 004
8051 Whispering Pines Rd
Daphne, AL 36526
Ymca Of Trenton
Washington Crossing Council 777
431 Pennington Ave
Trenton, NJ 08618


Ymca Of Wabash Valley
Crossroads of America 160
951 Dresser Dr
Terre Haute, IN 47807


Ymca Of Wells County
Anthony Wayne Area 157
1935 Indiana 1
Bluffton, IN 46714


Ymca Sb
Moraine Trails Council 500
339 N Washington St
Butler, PA 16001


Ymca Twin Rivers
East Carolina Council 426
100 Ymca Ln
New Bern, NC 28560


Ymca‐Crockett
Alamo Area Council 583
5538 Walzem Rd
San Antonio, TX 78218


Yoakum American Legion Post 395
Capitol Area Council 564
P.O. Box 135
Yoakum, TX 77995


Yocona Area
505 Air Park Rd
Tupelo, MS 38801


Yocona Area Cncl 748
505 Air Park Rd
Tupelo, MS 38801


Yoder Blacksmith Supplies
8900 Township Rd 652
Fredericksburg, OH 44627


Yoder S Country Kettle LLC
538 Main St
Rainelle, WV 25962


Yokohama Tire
Las Vegas Area Council 328
18 Sunmist Dr
Henderson, NV 89074


Yokota Top Three
Far E Council 803
Yokota Air Base Japan
Apo, AP 96326


Yolanda Albertie
Address Redacted


Yolanda Morrow
Address Redacted


Yolanda Tristan
Address Redacted


Yolande Sherrod
Address Redacted


Yoldel
Inland Nwest Council 611
P.O. Box 48703
Spokane, WA 99228


Yolo Board LLC
11610 US Hwy 98 W
Miramar Beach, FL 32550


Yonah Wasik
Address Redacted


Yonaton Sunshine
Address Redacted


Yoncalla Elementary School
Oregon Trail Council 697
401 1st St
Yoncalla, OR 97499


Yorba Linda Sunrise Rotary
Orange County Council 039
P.O. Box 924
Yorba Linda, CA 92885


York ‐ Poquoson Sheriff S Office
Colonial Virginia Council 595
301 Goodwin Neck Rd
Yorktown, VA 23692


York Adams Area Cncl   544
2139 White St
York, PA 17404‐4940


York Bridge Concepts Inc
2420 Brunello Trace
Lutz, FL 33558


York County Fish And Game
Pine Tree Council 218
600 Goodwins Mills Rd
Lyman, ME 04002


York Fire Dept Inc
Iroquois Trail Council 376
P.O. Box 92
Retsof, NY 14539
York Grace Evangelical Lutheran Church
New Birth of Freedom 544
498 Church Rd
York, PA 17406


York Leicester Kiwanis
c/o Dale Worden Secretary
Iroquois Trail Council 376
P.O. Box 54
Leicester, NY 14481


York Lodge No 22 AF And AM
Pine Tree Council 218
P.O. Box 55
West Kennebunk, ME 04094


York Utd Methodist Church
Great Trail 433
6566 Norwalk Rd
Medina, OH 44256


York Waste Disposal 611
P.O. Box 9001099
Louisville, KY 40290‐1099


Yorkminster Presbyterian Church
Colonial Virginia Council 595
6218 George Washington Mem Hwy
Yorktown, VA 23692


Yorkshire Utd Methodist Church
New Birth of Freedom 544
125 Edgewood Rd
York, PA 17402


Yorktown Christian Academy
South Texas Council 577
5025A Yorktown Blvd
Corpus Christi, TX 78413


Yorktown Grange 862
Westchester Putnam 388
99 Moseman Rd
Yorktown Heights, NY 10598


Yorktown Methodist Church
Westchester Putnam 388
2300 Crompond Rd
Yorktown Heights, NY 10598


Yorktown Utd Methodist Church
Crossroads of America 160
2301 S Broadway St
Yorktown, IN 47396


Yorktown Ward‐Nn Stake‐Lds
Colonial Virginia Council 595
902 Denbigh Blvd
Newport News, VA 23608


Yorkville American Legion Post 489
Three Fires Council 127
9054 E Veterans Pkwy
Yorkville, IL 60560


Yorkville Lions Club
Three Fires Council 127
P.O. Box 48
908 Game Farm Rd
Yorkville, IL 60560


Yorkville Utd Methodist Church
Three Harbors Council 636
17645 Old Yorkville Rd
Union Grove, WI 53182


Yoseph D Maguire
Address Redacted


Yost Financial LLC
Grand Teton Council 107
581 E 1445 N
Shelley, ID 83274
You Are Here LLC
150 Interstate N Pkwy
Atlanta, GA 30339


Young   Nichols
Southern Sierra Council 030
1901 Truxtun Ave
Bakersfield, CA 93301


Young Achievers Christian Academy
Last Frontier Council 480
1025 NE 15th St
Oklahoma City, OK 73117


Young Americans Ctr For Financial Edu
Denver Area Council 061
3550 E 1St Ave
Denver, CO 80206


Young Conaway Stargatt   Taylor
Attn Edwin J. Harron
Rodney Square
1000 N King St
Wilmington, DE 19801


Young Conaway Stargatt   Taylor
Attn James L. Patton, Jr
Rodney Square
1000 N King St
Wilmington, DE 19801


Young Conaway Stargatt   Taylor
Attn James L. Patton, Jr
Attn Robert Brady/Edwin Harron
Rodney Square
1000 N King St
Wilmington, DE 19801


Young Conaway Stargatt   Taylor
Attn Robert S Brady
Rodney Square
1000 N King St
Wilmington, DE 19801


Young Conaway Stargatt   Taylor LLP
Rodney Square N
1000 N King St
Wilmington, DE 19801


Young Harris Memorial Utd Methodist
Northeast Georgia Council 101
973 Prince Ave
Athens, GA 30606


Young Israel Of Elkins Park
Cradle of Liberty Council 525
7715 Montgomery Ave
Elkins Park, PA 19027


Young Israel Of Hollywood‐Ft Lauderdale
South Florida Council 084
3291 Stirling Rd
Fort Lauderdale, FL 33312


Young Life S Lake Champion
Hudson Valley Council 374
247 Mohican Lake Rd
Glen Spey, NY 12737


Young Men Leadership Academy
Northern New Jersey Council, Bsa 333
13 Wagaraw Blvd
Prospect Park, NJ 07508


Young Men S Christian Assoc Of Gr Dayton
dba Ymca of Greater Dayton ‐ Camp Kern
5291 State Route 350
Oregonia, OH 45054


Young Mens   Young Womens Hebrew Assoc
Library
1395 Lexington Ave
New York, NY 10128‐1612
Young Mens Christian Assoc
Susquehanna Council 533
826 Allegheny St
Jersey Shore, PA 17740


Young Mens Christian Assoc Of Ashland
Crater Lake Council 491
540 Ymca Way
Ashland, OR 97520


Young Mens Christian Assoc Of Gr Twn Cit
dba Ymca Camp St Croix
532 County Rd F
Hudson, WI 54016


Young Mens College Prep At EO Smith
Sam Houston Area Council 576
1701 Bringhurst St
Houston, TX 77020


Young Mens Leadership Academy
Alamo Area Council 583
545 S W White Rd
San Antonio, TX 78220


Young Mens Leadership Academy
At Eugene Butler Middle
North Florida Council 087
900 Acorn St
Jacksonville, FL 32209


Young Sook Byun Dba Cleaner Plus
640 Bridge St
Phoenixville, PA 19460


Young Town Childrens Center
P.O. Box 294
Hudson, NY 12534


Young Womens Christian Assoc
Montana Council 315
220 2nd St N
Great Falls, MT 59401


Young Womens Leadership Academy
Alamo Area Council 583
2123 W Huisache Ave
San Antonio, TX 78201


Youngmoo Baek
Address Redacted


Youngs Utd Methodist
New Birth of Freedom 544
101 Youngs Church Rd
Shermans Dale, PA 17090


Youngstown State University
Attn Office of the University Bursar
One University Plaza
Youngstown, OH 44555


Youngstown Volunteer Fire Co, Inc
Greater Niagara Frontier Council 380
625 3rd St 387
Youngstown, NY 14174


Youngsville Free Methodist Church
Chief Cornplanter Council, Bsa 538
179 Davis St
Youngsville, PA 16371


Your Corporate Image
67159 Industry Ln, Ste B
Covington, LA 70433


Your Local News Inc
Northeast Georgia Council 101
511 Mcdaniel St
Monroe, GA 30655
YourmembershipCom Inc
dba Jobtarget
Dept 3461 P.O. Box 123461
Dallas, TX 75312‐3461


Yousendit Inc
1919 Bascom Ave 3rd Fl
Campbell, CA 95008


Youth Advocacy Coalition
Ore‐Ida Council 106 ‐ Bsa 106
P.O. Box 1761
Mccall, ID 83638


Youth And Shelter Services   Ballard
Mid Iowa Council 177
420 Kellogg Ave
Ames, IA 50010


Youth And Shelter Services ‐ Story City
Mid Iowa Council 177
420 Kellogg Ave
Ames, IA 50010


Youth And Shelter Services Inc
Mid Iowa Council 177
420 Kellogg Ave
Ames, IA 50010


Youth Board St Matthew Lutheran Ch
Prairielands 117
2200 Philo Rd
Urbana, IL 61802


Youth Commission Of Melrose Park
Pathway To Adventure 456
1000 N 25th Ave
Melrose Park, IL 60160


Youth Council Grace Lutheran Church
Great Smoky Mountain Council 557
131 W Gettysburg Ave
Oak Ridge, TN 37830


Youth Development
Utah National Parks 591
940 S 940 W
Richfield, UT 84701


Youth Development Through Scouting
Orange County Council 039
P.O. Box 4554
Huntington Beach, CA 92605


Youth Empowerment Strategies
Northern New Jersey Council, Bsa 333
555 Mount Prospect Ave, Suite 95
Newark, NJ 07104


Youth Leadership Alliance
Heart of America Council 307
10317 W 48th Ter
Shawnee, KS 66203


Youth Leadership Surry
Old Hickory Council 427
118 Hamby Rd 146
Surry County Economic Development
Dobson, NC 27017


Youth Museum Of Southern Wv
1325 W Walnut Hill Ln
Irving, TX 75038


Youth Of Finch Elementary
Atlanta Area Council 092
1114 Avon Ave Sw
Atlanta, GA 30310


Youth Of Nc Inc
1402 Wridge Rd
Greensboro, NC 27410
Youth Of Nickerson Gardens
Greater Los Angeles Area 033
11251 Compton Ave
Los Angeles, CA 90059


Youth Public Organization
Dyrekciya Sviatkuvannia 100
Littia Plastu
Ukraine


Youth Service America
Attn Youth Serv Institute Staff
1101 15th St NW, Ste 200
Washington, DC 20005


Youth Services Assoc
Orange County Council 039
469 E 18th St
Costa Mesa, CA 92627


Youth Services System Helinski Shelter
Ohio River Valley Council 619
110 N York St
Wheeling, WV 26003


Youth Services System Samaritan House
Ohio River Valley Council 619
1050 Eoff St
Wheeling, WV 26003


Yp
P.O. Box 5010
Carol Stream, IL 60197‐5010


Yrc
P.O. Box 730375
Dallas, TX 75373‐0375


Yrc
P.O. Box 93151
Chicago, IL 60673‐3151
Yrc Rdwy Yellow     Rdway
P.O. Box 905587
Charlotte, NC 28290‐5587


Yss Kids Club
Mid Iowa Council 177
420 Kellogg Ave
Ames, IA 50010


Yss Kids Club ‐ Gilbert
Mid Iowa Council 177
420 Kellogg Ave
Ames, IA 50010


Yuba Bicycles LLC
374 Blodgett St, Ste 4
Cotati, CA 94931


Yuba Sutter California Highway Patrol
Golden Empire Council 047
1619 Poole Blvd
Yuba City, CA 95993


Yucca
7601 Lockheed Dr
El Paso, TX 79997‐1056


Yucca Cncl 573
P.O. Box 971056
7601 Lockheed Dr
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Yucca Telecommunications Systems, Inc
Dba Yucca Telecom
P.O. Box 867
Portales, NM 88130‐0867


Yugenia Krivogorskaya
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Yukon Fraternal Order Of Police
Last Frontier Council 480
P.O. Box 850806
Yukon, OK 73085


Yukon Utd Methodist Church
Last Frontier Council 480
400 Elm Ave
Yukon, OK 73099


Yukon Volunteer Fire Co
Westmoreland Fayette 512
P.O. Box 457
Yukon, PA 15698


Yulea Juul Fadum
Address Redacted


Yulee Lions Club
North Florida Council 087
851023 US Hwy 17
Yulee, FL 32097


Yuriko Prentice
Address Redacted


Yvonne Bassett
Address Redacted


Yvonne Donaldson
Address Redacted


Yvonne Douthit
Address Redacted


Yvonne Enloe/Crossroads Of Style
645 E 7th St
P.O. Box 373
Cimarron, NM 87714
Yvonne Fisher
Address Redacted


Yvonne Graham
Address Redacted


Yvonne Hinman
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Yvonne Lee
Address Redacted


Yvonne Trainor
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Ywca
Trapper Trails 589
1035 Jackson St
Rock Springs, WY 82901


Ywca Albemarle Road Rec Ctr
Mecklenburg County Council 415
3420 Park Rd
Charlotte, NC 28209


Ywca Central Carolinas
Central N Carolina Council 416
500 S Johnson St
Monroe, NC 28112


Ywca Mclean County
W D Boyce 138
1201 N Hershey Rd
Bloomington, IL 61704


Ywca Of Jamestown
Allegheny Highlands Council 382
401 N Main St
Jamestown, NY 14701
Ywca Tri‐County Area
Cradle of Liberty Council 525
315 King St
Pottstown, PA 19464


Yzza Ramos
Address Redacted


Z Alexander Looby Ctr
Middle Tennessee Council 560
2301 Metrocenter Blvd
Nashville, TN 37228


Z Best Pizza
dba Dominos Pizza
106 Old Fayette Rd
Oak Hill, WV 25901


Zablocki Elementary School Clc
Three Harbors Council 636
1016 W Oklahoma Ave
Milwaukee, WI 53215


Zabrina Sneed
Address Redacted


Zach Beuthien
Address Redacted


Zach Razavi
Address Redacted


Zach W Didat
Address Redacted


Zachariah A Roberts
Address Redacted


Zachariah George Kirk
Address Redacted
Zachariah Rhodes‐Price
Address Redacted


Zachary A Kruse
Address Redacted


Zachary A Morey
Address Redacted


Zachary A Read
Address Redacted


Zachary A Seeger
Address Redacted


Zachary Aaron Mccracken
Address Redacted


Zachary Allen Cheyney
Address Redacted


Zachary B Young
Address Redacted


Zachary Bryce Lockwood
Address Redacted


Zachary C Koerth
Address Redacted


Zachary Charles Flanigan
Address Redacted


Zachary D Clarida
Address Redacted
Zachary D Greene
Address Redacted


Zachary Daigle
Address Redacted


Zachary Davis
Address Redacted


Zachary E Blume
Address Redacted


Zachary E Marti
Address Redacted


Zachary Edward Schmitt
Address Redacted


Zachary Fisher
Address Redacted


Zachary Gottula
Address Redacted


Zachary Griffin
Address Redacted


Zachary H Hoffman
Address Redacted


Zachary Hendrick
Address Redacted


Zachary Hinson
Address Redacted


Zachary J Fedewa
Address Redacted
Zachary J Johns
Address Redacted


Zachary J Zernik
Address Redacted


Zachary Johnson
Address Redacted


Zachary K Isleib
Address Redacted


Zachary Knoch
Address Redacted


Zachary Larsen
Address Redacted


Zachary Lollar
Address Redacted


Zachary M Vig
Address Redacted


Zachary Michael Martin
Address Redacted


Zachary Norton
Address Redacted


Zachary Oman
Address Redacted


Zachary P Zeller
Address Redacted
Zachary Palaszynski
Address Redacted


Zachary Pearson
Address Redacted


Zachary Q Fish
Address Redacted


Zachary R Donahoe
Address Redacted


Zachary R Tremblay
Address Redacted


Zachary Ross
Address Redacted


Zachary Ryan Fortier
Address Redacted


Zachary Ryan Potter
Address Redacted


Zachary S Morris
Address Redacted


Zachary Schott
Address Redacted


Zachary Simmons
Address Redacted


Zachary Slade Halsey
Address Redacted


Zachary Steele
Address Redacted
Zachary Van Amburgh
Address Redacted


Zachary W Younggren
Address Redacted


Zachary Walberg
Address Redacted


Zack T Mccormick
Address Redacted


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Great Rivers Council 653
852 American Legion Dr
Sunrise Beach, MO 65079


Zackary Williams
Address Redacted


Zackery Perez
Address Redacted


Zacuto
401 W Ontario, Ste 250
Chicago, IL 60654


Zafa Shrine Temple 176
Occoneechee 421
2312 S Alston Ave
Durham, NC 27707


Zaida Sanguesa
Address Redacted


Zainab Ctr
Mount Baker Council, Bsa 606
5723 198th St Sw
Lynnwood, WA 98036


Zambelli Fireworks Mfg Co
20 S Mercer St
New Castle, PA 16101


Zan Holmes Community Outreach Ministry
Circle Ten Council 571
4827 Hovenkamp Dr
Dallas, TX 75227


Zane A Davis
Address Redacted


Zane Alexander Edington Lewis
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Zaner‐Bloser Inc
P.O. Box 182186
Columbus, OH 43218‐2186


Zanesville Utd Methodist Church
Anthony Wayne Area 157
11811 N Wayne St
P.O. Box 4
Zanesville, IN 50325


Zanfel Laboratories Inc
1370 NW 114th St, 204
Clive, IA 50325


Zasio Enterprises
P.O. Box 2089
Eagle, ID 83616


Zasio Enterprises, Inc
401 W Front St, Ste 305
Boise, ID 83702


Zaxwerks Inc
5724 Camellia Ave
Temple City, CA 91780


ZazzleCom Inc
1900 Seaport Blvd 4th Flr
Redwood City, CA 94063


Zealand Corp
393 Totten Pond Rd, Ste 403
Waltham, MA 02451


Zearing Christian Church
c/o James Chance Sr
Mid Iowa Council 177
68239 110th St
Zearing, IA 50278


Zebra
Suffolk County Council Inc 404
1 Motorola Plz
Holtsville, NY 11742


Zebulon Baptist Church
Occoneechee 421
400 N Arendell Ave
Zebulon, NC 27597


Zebulon Fire Dept
Occoneechee 421
113 E Vance St
Zebulon, NC 27597


Zebulon Utd Methodist Church
Occoneechee 421
121 W Gannon Ave
Zebulon, NC 27597


Zebulun J Aronstein
Address Redacted


Zed Walton
Address Redacted


Zee
P.O. Box 8310
Fargo, ND 58109‐8310


Zee Medical Inc
P.O. Box 781525
Indianapolis, IN 46278‐8525


Zejj Hospitality Group LLC
dba Sbb
6501 Red Hook Plz, Ste 201
St Thomas, VI 00802


Zelenia Alvarez
Address Redacted


Zelienople Church Of The Nazarene
Laurel Highlands Council 527
115 Nazarene Court
Fombell, PA 16123


Zeller S Cleaners
401 S 2nd St
Raton, NM 87740


Zellwood Community Ctr
Central Florida Council 083
P.O. Box 832
3160 Union St
Zellwood, FL 32798


Zellwood Utd Methodist Church
Central Florida Council 083
5538 Jones Ave
Zellwood, FL 32798


Zelma Prince
Address Redacted
Zeman PTA
Cornhusker Council 324
4900 S 52nd St
Lincoln, NE 68516


Zena Korba
Address Redacted


Zephyrhills Rotary Club
Greater Tampa Bay Area 089
38938 5th Ave
Zephyrhills, FL 33542


Zerofootprint A Not For Profit Comp
862 Richmond St W 302
Toronto, ON M6J 1C9
Canada


Zerorez Dfw LLC
1000 W Crosby Rd, Ste 124
Carrollton, TX 75006


Zerorez Of Atlanta
6145‐A Nbelt Pkwy
Norcross, GA 30071


Zhouli Yuan
Address Redacted


Zia Natural Gas Co
100 Short Dr
Ruidoso Downs, NM 88346


Zia Natural Gas Co
707 Short Dr
P.O. Box 888
Ruidoso Downs, NM 88346


Ziegels Union Church
Minsi Trails Council 502
9990 Ziegels Church Rd
Breinigsville, PA 18031


Ziegler Inc
Sds 12‐0436
P.O. Box 86
Minneapolis, MN 55486‐0436


Ziklaly Vazquez
Address Redacted


Zilwaukee School PTO
Water and Woods Council 782
500 W Johnson St
Saginaw, MI 48604


Zim International
1828 S Cobb Industrial Blvd
Smyrna, GA 30082


Zimmer Club Youth Conservation Inc
Greater New York Councils, Bsa 640
4411 Arthur Kill Rd
Staten Island, NY 10309


Zinser Elementary PTO
President Gerald R Ford 781
1234 Kinney Ave Nw
Grand Rapids, MI 49534


Zion Baptist Church
Cherokee Area Council 556
953 Parksville Rd
Benton, TN 37307


Zion Baptist Church
Cradle of Liberty Council 525
221 W Spring Ave
Ardmore, PA 19003


Zion Baptist Church
Cradle of Liberty Council 525
3600 N Broad St
Philadelphia, PA 19140


Zion Baptist Church
Greater New York Councils, Bsa 640
523 Washington Ave
Brooklyn, NY 11238


Zion Baptist Church
Piedmont Council 420
525 W Zion Church Rd
Shelby, NC 28150


Zion Covenant Church
Northern Star Council 250
210 N Beulah St
Ellsworth, WI 54011


Zion Ev Lutheran Church
Lake Erie Council 440
503 Columbus Ave
Sandusky, OH 44870


Zion Evangelical Lutheran
Northeast Illinois 129
10 Deerfield Rd
Deerfield, IL 60015


Zion Evangelical Lutheran Church
Greater Niagara Frontier Council 380
9535 Clarence Center Rd
Clarence Center, NY 14032


Zion Evangelical Lutheran Church
Hawk Mountain Council 528
300 W High St
Womelsdorf, PA 19567


Zion Evangelical Lutheran Church
Laurel Highlands Council 527
P.O. Box 225
Baker, WV 26801


Zion Evangelical Lutheran Church
Miami Valley Council, Bsa 444
5150 Munger Rd
Miami Township, OH 45459


Zion Evangelical Lutheran Church
Minsi Trails Council 502
19th   Main Sts
Northampton, PA 18067


Zion Evangelical Lutheran Church
Montana Council 315
401 Riverview Ave
Glendive, MT 59330


Zion Evangelical Lutheran Church
Northern New Jersey Council, Bsa 333
120 E Pleasant Ave
Maywood, NJ 07607


Zion Evangelical Lutheran Church
Pennsylvania Dutch Council 524
18 Quarry Rd
Leola, PA 17540


Zion Evangelical Lutheran Church
Pennsylvania Dutch Council 524
2 S Hazel St
Manheim, PA 17545


Zion Evangelical Lutheran Church
Piedmont Council 420
1911 Zion Church Rd
Hickory, NC 28602


Zion Evangelical Lutheran Church
Susquehanna Council 533
11th   Huron Ave
Renovo, PA 17764
Zion Evangelical Lutheran Church
Tecumseh 439
1500 Broadway St
Springfield, OH 45504


Zion Evangelical Lutheran Church
Washington Crossing Council 777
P.O. Box 81
Zionhill, PA 18981


Zion Free Lutheran Church
Northern Lights Council 429
221 N Main St
Tioga, ND 58852


Zion Hill Baptist Church
Andrew Jackson Council 303
8081 Martinsville Rd
Wesson, MS 39191


Zion Hope Primitive Baptist Church
Gulf Coast Council 773
201 W Leonard St
Pensacola, FL 32501


Zion Luth Ch‐Turbotville Cemetary Assoc
Susquehanna Council 533
39 Paradise St 277
Turbotville, PA 17772


Zion Lutheran Ch   Sch San Francisco
San Francisco Bay Area Council 028
495 9Th Ave
San Francisco, CA 94118


Zion Lutheran Church
408 S Ridge Cir
Georgetown, TX 78628


Zion Lutheran Church
Alamo Area Council 583
1106 Fiorella St
Castroville, TX 78009


Zion Lutheran Church
Anthony Wayne Area 157
1010 W Monroe St
Decatur, IN 46733


Zion Lutheran Church
Bay‐Lakes Council 635
2714 James St
Marinette, WI 54143


Zion Lutheran Church
Bay‐Lakes Council 635
316 Lake St
Manistique, MI 49854


Zion Lutheran Church
Bay‐Lakes Council 635
435 Oak St
Manistique, MI 49854


Zion Lutheran Church
Black Swamp Area Council 449
210 N Wayne St
Saint Marys, OH 45885


Zion Lutheran Church
Blackhawk Area 660
1300 Pearl St
Belvidere, IL 61008


Zion Lutheran Church
Buckeye Council 436
222 E Main St
Loudonville, OH 44842


Zion Lutheran Church
Buckeye Council 436
301 N Market St
Wooster, OH 44691
Zion Lutheran Church
Capitol Area Council 564
6001 Fm 1105
Georgetown, TX 78626


Zion Lutheran Church
Chief Seattle Council 609
25105 132nd Ave Se
Kent, WA 98042


Zion Lutheran Church
Coastal Georgia Council 099
121 Noel C Conaway Rd
Guyton, GA 31312


Zion Lutheran Church
Connecticut Rivers Council, Bsa 066
183 William St
Portland, CT 06480


Zion Lutheran Church
Coronado Area Council 192
492 7th St
Phillipsburg, KS 67661


Zion Lutheran Church
Dan Beard Council, Bsa 438
10 N Breiel Blvd
Middletown, OH 45044


Zion Lutheran Church
Del Mar Va 081
2101 Lancaster Ave
Wilmington, DE 19805


Zion Lutheran Church
Great Trail 433
490 E Clinton St
Doylestown, OH 44230
Zion Lutheran Church
Greater St Louis Area Council 312
625 Church Dr
Bethalto, IL 62010


Zion Lutheran Church
Hawk Mountain Council 528
354 Zions Church Rd
Shoemakersville, PA 19555


Zion Lutheran Church
Illowa Council 133
513 Sycamore St
Muscatine, IA 52761


Zion Lutheran Church
Indian Waters Council 553
226 Corley Mill Rd
Lexington, SC 29072


Zion Lutheran Church
Inland Nwest Council 611
1007 Washington St
Davenport, WA 99122


Zion Lutheran Church
Longs Peak Council 062
815 E 16th St
Loveland, CO 80538


Zion Lutheran Church
Longs Peak Council 062
8322 2nd St
Wellington, CO 80549


Zion Lutheran Church
Miami Valley Council, Bsa 444
5550 Munger Rd
Dayton, OH 45459


Zion Lutheran Church
Montana Council 315
310 N Kendrick Ave
P.O. Box 584
Glendive, MT 59330


Zion Lutheran Church
New Birth of Freedom 544
2215 Brandywine Ln
York, PA 17404


Zion Lutheran Church
Northern Star Council 250
1601 4th Ave
Anoka, MN 55303


Zion Lutheran Church
Orange County Council 039
222 N E St
Anaheim, CA 92805


Zion Lutheran Church
Pathway To Adventure 456
17150 69th Ave
Tinley Park, IL 60477


Zion Lutheran Church
Pennsylvania Dutch Council 524
85 E Brandt Blvd
Landisville, PA 17538


Zion Lutheran Church
Pony Express Council 311
707 S 3rd St
Hiawatha, KS 66434


Zion Lutheran Church
President Gerald R Ford 781
582 Lamoreaux Dr Nw
Comstock Park, MI 49321


Zion Lutheran Church
San Diego Imperial Council 049
1405 E Fallbrook St
Fallbrook, CA 92028


Zion Lutheran Church
Shenandoah Area Council 598
321 Headquarters Rd
Edinburg, VA 22824


Zion Lutheran Church
Sioux Council 733
1400 S Duluth Ave
Sioux Falls, SD 57105


Zion Lutheran Church
Sioux Council 733
1732 S Main St
Aberdeen, SD 57401


Zion Lutheran Church
South Florida Council 084
959 SE 6th Ave
Deerfield Beach, FL 33441


Zion Lutheran Church
Susquehanna Council 533
15 S 5th St
Sunbury, PA 17801


Zion Lutheran Church
Susquehanna Council 533
39 Paradise St
Turbotville, PA 17772


Zion Lutheran Church
Susquehanna Council 533
4298 Route 204
Selinsgrove, PA 17870


Zion Lutheran Church
Voyageurs Area 286
17480 Grassy Island Ln Ne
Hines, MN 56647
Zion Lutheran Church
W D Boyce 138
200 W N St
Danvers, IL 61732


Zion Lutheran Church
Washington Crossing Council 777
P.O. Box 41
Oldwick, NJ 08858


Zion Lutheran Church
Water and Woods Council 782
510 W Ivy St
Bay City, MI 48706


Zion Lutheran Church
Western Massachusetts Council 234
74 1st St
Pittsfield, MA 01201


Zion Lutheran Church
Winnebago Council, Bsa 173
112 N 4th St
Clear Lake, IA 50428


Zion Lutheran Church ‐ Minot
Northern Lights Council 429
1800 Hiawatha St
Minot, ND 58701


Zion Lutheran Church Pevely
Greater St Louis Area Council 312
P.O. Box 29
310 Central St
Pevely, MO 63070


Zion Lutheran Church ‐ Trf
Northern Lights Council 429
505 Main Ave N
Thief River Falls, MN 56701
Zion Lutheran Church Council
Bay‐Lakes Council 635
400 N Sawyer St
Oshkosh, WI 54902


Zion Lutheran Church Elca
Northern Star Council 250
8500 Hillside Trl S
Cottage Grove, MN 55016


Zion Lutheran Church Of Long Valley
Patriots Path Council 358
11 Schooleys Mountain Rd
Long Valley, NJ 07853


Zion Lutheran Church Of Maywood
Northern New Jersey Council, Bsa 333
120 E Pleasant Ave
Maywood, NJ 07607


Zion Lutheran Church Of Painesville
Lake Erie Council 440
508 Mentor Ave
Painesville, OH 44077


Zion Lutheran Church Of Wallingford
Connecticut Yankee Council Bsa 072
235 Pond Hill Rd
Wallingford, CT 06492


Zion Lutheran School
Northern New Jersey Council, Bsa 333
64 1st Ave
Westwood, NJ 07675


Zion Mennonite Church
Cradle of Liberty Council 525
149 E Cherry Ln
Souderton, PA 18964


Zion Missionary Baptist Church
Atlanta Area Council 092
888 Zion Cir
Roswell, GA 30075


Zion Professional Firefighters Associate
Northeast Illinois 129
P.O. Box 501
Zion, IL 60099


Zion Spies Evangelical Lutheran Church
Hawk Mountain Council 528
310 Spies Church Rd
Reading, PA 19606


Zion Tabernacle Faith Ministries
Southern Shores Fsc 783
1380 Napier
Benton Harbor, MI 49022


Zion Temple Christian Academy
Dan Beard Council, Bsa 438
3771 Reading Rd
Cincinnati, OH 45229


Zion Utd Church Of Christ
Crossroads of America 160
8916 E Troy Ave
Indianapolis, IN 46239


Zion Utd Church Of Christ
Dan Beard Council, Bsa 438
2301 Indian Mound Ave
Norwood, OH 45212


Zion Utd Church Of Christ
Education Committee
Buckeye Council 436
415 S Main St
North Canton, OH 44720


Zion Utd Church Of Christ
Greater St Louis Area Council 312
11 N Railway St
New Baden, IL 62265


Zion Utd Church Of Christ
New Birth of Freedom 544
3 Gettysburg St
Arendtsville, PA 17303


Zion Utd Church Of Christ
Pathway To Adventure 456
14804 113th Ave
Dyer, IN 46311


Zion Utd Church Of Christ Marion
Greater St Louis Area Council 312
930 W Cherry St
Marion, IL 62959


Zion Utd Methodist
Samoset Council, Bsa 627
County Hwy E
Marshfield, WI 54449


Zion Utd Methodist Church
Bay‐Lakes Council 635
200 E Bluff St
Neshkoro, WI 54960


Zion Utd Methodist Church
Bay‐Lakes Council 635
421 Jackson St
Mishicot, WI 54228


Zion Utd Methodist Church
Black Swamp Area Council 449
9009 W State Route 12
Findlay, OH 45840


Zion Utd Methodist Church
Blue Ridge Council 551
5708 Hwy 187
Anderson, SC 29625
Zion Utd Methodist Church
Colonial Virginia Council 595
2109 Seaford Rd
Seaford, VA 23696


Zion Utd Methodist Church
Del Mar Va 081
168 W Main St
Cecilton, MD 21913


Zion Utd Methodist Church
Moraine Trails Council 500
438 Bear Creek Rd
Sarver, PA 16055


Zion Utd Methodist Church Of Iona
Pennsylvania Dutch Council 524
1920 S 5th Ave
Lebanon, PA 17042


Zions Reformed Church
Hawk Mountain Council 528
2400 Centre St
Ashland, PA 17921


Zions View Athletic Assoc
New Birth of Freedom 544
140 Copenhaffer Rd
York, PA 17404


Zionsville Christian Church
Crossroads of America 160, 9th St
Zionsville, IN 46077


Ziprecruitter
604 Arizona Ave
Santa Monica, CA 90401


Zita Funk
Address Redacted
Ziyad Brothers Importing
5400 W 35th St
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Zoar Evangelical Lutheran Church
Cascade Pacific Council 492
190 SW 3rd Ave
Canby, OR 97013


Zoar Utd Methodist Church
Blue Ridge Council 551
P.O. Box 333
Greer, SC 29652


Zoar Utd Methodist Church
Northeast Georgia Council 101
3895 Zoar Church Rd
Snellville, GA 30039


Zod Robinson
Address Redacted


Zoe J Siemens
Address Redacted


Zoe L Hambley
Address Redacted


Zoe Senecal
Address Redacted


Zoftec, LLC
dba Veras Retail
Attn Rohit Vir
22044 N 44th St, Ste 120
Phoenix, AZ 85050


Zohar Lazar Inc
P.O. Box 275
Kinderhook, NY 12106
Zoho Corp
4141 Hacienda Dr
Pleasanton, CA 94588


Zoho Corp
P.O. Box 894926
Los Angeles, CA 90189‐4926


Zoho Corp Pvt Ltd
4141 Hacienda Dr
Pleasanton, CA 94588


Zoller School Pt0
Twin Rivers Council 364
1880 Lancaster St
Schenectady, NY 12308


Zomi Christian Church
Simon Kenton Council 441
5918 Sharon Woods Blvd
Columbus, OH 43229


Zone 6
P.O. Box 293
Delmont, PA 15626


Zone West Enterprise Ltd
104 ‐ 20145 Stewart Cres
Maple Ridge, BC V2X 0T6
Canada


Zones
P.O. Box 34740
Seattle, WA 98124‐1740


Zones Inc K Williams
1102 15th St SW, Ste 102
Auburn, WA 98001
Zook‐Farrington American Legion Post 434
Lasalle Council 165
P.O. Box 434
Kingsford Heights, IN 46346


Zoological Society Of San Diego
c/o Licensing Dept
1455 Frazee Rd, Ste 200
San Diego, CA 92108


Zoom Media Corp
Attn Accounts Receivable
8 Penn Ctr W, Ste 100
Pittsburgh, PA 15276


Zoom Video Communications Inc
P.O. Box 398843
San Francisco, CA 97139‐8843


Zoomerang
c/o Markettools, Inc Ar Dept
150 Spear St, Ste 600
One Belvedere Pl
San Francisco, CA 94105


Zooniversity, LLC
P.O. Box 781642
Dallas, TX 75378


Zootah
Trapper Trails 589
419 W 700 S
Logan, UT 84321


Zoran Lazic
Address Redacted


Zorrel International Inc
13500 15th St
Grandview, MO 64030
Zq LLC
Greater Niagara Frontier Council 380
5500 N Bailey Ave, Unit 1699
Buffalo, NY 14226


Zuckerman Spaeder, LLP
Attn Kravitz, Mehta, Goelman
Goldfard, Dicarlo, Pollard
re Plaintiff
1800 M St Nw, Ste 1000
Washington, DC 20036


Zuma   Sons Distributor Corp
10800 NW 100 St, Ste 1
Miami, FL 33178


Zumbro Lutheran Church
Gamehaven 299
624 3rd Ave Sw
Rochester, MN 55902


Zup S Fishing Resort      Canoe Outfitters
Hc 3 Box 80
Crane Lake, MN 55725


Zup S Food Market
303 E Sheridan St
Ely, MN 55731


Zuri B Garcia
Address Redacted


Zuri Group, Inc
328 NW Bond St Upper Fl
Bend, OR 97701


Zuri Group, LLC
328 NW Bond St, Ste 204
Bend, OR 97703


Zuri Group, LLC
Attn John Murphy
328 NW Bond St
Bend, OR 97701


Zurich American Insurance Co
Attn Direct Collateral Unit
1299 Zurich Way, 5th Fl‐West
Shaumburg, IL 60196


Zurich Financial Usa   Group
1299 Zurich Way
Schaumburg, IL 60196


Zurich North America
8734 Paysphere Cir
Chicago, IL 60674


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1000 Ljubljana,
Slovenia


Zwingli Utd Church Of Christ
Blackhawk Area 660
416 E Lake Ave
Monticello, WI 53570


Zwingli Utd Church Of Christ
Cradle of Liberty Council 525
350 Wile Ave
Souderton, PA 18964
